                 Case 23-11069-CTG          Doc 655        Filed 09/25/23        Page 1 of 2156




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 11

    YELLOW CORPORATION, et al.,1                                      Case No. 23-11069 (CTG)

               Debtors.                                               (Jointly Administered)

                                                                      Ref. Docket No. 223

                            SUPPLEMENTAL CERTIFICATE OF SERVICE

I, JANICE LIVINGSTONE, hereby certify that:

1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, with
   their principal office located at 777 Third Avenue, New York, New York 10017. I am over
   the age of eighteen years and am not a party to the above-captioned action.

2. On August 18, 2023, I caused to be served the:

      a. “Notice of Chapter 11 Bankruptcy Case,” filed on August 11, 2023 [Docket No. 223],
         (the “341 Notice”), and

      b. Personalized slip sheet indicating a consolidated affected party list, sent to the
         attention of one unique mailing address, a sample of which is annexed hereto as
         Exhibit A, (the “Slip Sheet”),

by causing true and correct copies of the:

          i.    341 Notice and Slip Sheet to be enclosed securely in a postage pre-paid envelope
                and delivered via first class mail to the party listed on the annexed Exhibit B, and

         ii.    341 Notice to be enclosed securely in a postage pre-paid envelope and delivered
                via first class mail to the parties listed on the annexed Exhibit C, and 5 parties
                whose names and addresses are confidential and therefore not included, and

        iii.    341 Notice to be delivered via electronic mail to the parties on the annexed Exhibit
                D and 39,855 parties whose names and e-mail addresses are confidential and
                therefore not included.



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
Overland Park, Kansas 66211.
           Case 23-11069-CTG         Doc 655     Filed 09/25/23    Page 2 of 2156




3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                           /s/ Janice Livingstone
                                                           Janice Livingstone
Case 23-11069-CTG   Doc 655   Filed 09/25/23   Page 3 of 2156




                    EXHIBIT A
           Case 23-11069-CTG         Doc 655     Filed 09/25/23    Page 4 of 2156




YELLOW CORPORATION
ATTN: GENERAL COUNSEL
11500 OUTLOOK ST STE 400
OVERLAND PARK, KS 66211



       In re: YELLOW CORPORATION, Chapter 11 Case No. 23-11069 (CTG)

You are receiving the enclosed “NOTICE OF CHAPTER 11 BANKRUPTCY CASE”
[Docket No. 223] in the above-referenced matter on behalf of the following parties with an
address located at 11500 Outlook St. STE 400, Overland Park, KS 66211:


 No. Name
 1    BRIDGES, MARCUS
 2    CYTEC DE MEXICO
 3    EUBANKS, LEE
 4    FIERRO, JONATHAN
 5    GLOBAL 2 RR, TRL 249360
 6    GLOBAL TWO- UPRR
 7    HEATH, ANDREW
 8    HNRY INTRA SUP
 9    HNRY LOGISTICS
 10   HZM- JK MFG STRUCK FREIGHT
 11   KNOTT, MARK
 12   MISHLER, JOSH
 13   MUIR, EDWARD
 14   NEW PENN MOTOR EXPRESS, INC
 15   PARKER, PARKER
 16   POLITICAL ACTION COMMITTEE
 17   SCHUT, CHRISTOPHER
 18   THRELFALL, KYLE
 19   WHICH RR DID DAMAGE
 20   YELLOW LOGISTICS INC
 21   YELLOW LOGISTICS RESI
 22   YELLOW LOGISTICS
 23   YELLOW LOGISTICS
 24   YELLOW LOGISTICS
 25   YELLOW, TERMINAL 880
 26   YRC FREIGHT - CARTAGE ONLY
 27   YRC FREIGHT - INTERLINES
 28   YRC FREIGHT - UPGRADES

                                                                                      Page 1 of 2
         Case 23-11069-CTG    Doc 655   Filed 09/25/23   Page 5 of 2156




No. Name
29   YRC INC
30   YRC WORLDWIDE EMPLOYEES CLUB
31   YRC WORLDWIDE INC




                                                                          Page 2 of 2
Case 23-11069-CTG   Doc 655   Filed 09/25/23   Page 6 of 2156




                    EXHIBIT B
          Case 23-11069-CTG    Doc 655      Filed 09/25/23     Page 7 of 2156

                               Yellow Corpora on, et al.
                               Case No. 23‐11069 (CTG)
                          First Class Mail Addi onal Service

YELLOW CORPORATION
ATTN; GENERAL COUNSEL
1500 OUTLOOK ST STE 400
OVERLAND PARK, KS 66211
Case 23-11069-CTG   Doc 655   Filed 09/25/23   Page 8 of 2156




                    EXHIBIT C
                                               Yellow Corporation
                        Case 23-11069-CTG       DocService
                                                    655 Filed
                                                           List
                                                                09/25/23         Page 9 of 2156

Claim Name                              Address Information
001 DC OKLAHOMA CITY                    ATTN: ALYCE PETTY 1300 SE 82ND ST OKLAHOMA CITY OK 73149
001 HIPCO LOS ANGELES                   10440 ONTIVEROS PL STE 2 SANTA FE SPRINGS CA 90670
007 TRUCKING LLC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
015 EXPEDITED INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
015 LOGISTICS INC                       OR RDS FUNDING LLC 500 W PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
015 LOGISTICS INC                       OR TRU FUNDING LLC PO BOX 151013 OGDEN UT 84415
018                                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
0206 LOGISTICS                          OR TAFS INC PO BOX 872632 KANSAS CITY MO 64187
1 800 RADIATOR                          PO BOX 2479 SPRINGFIELD MO 65801
1 800 RADIATOR OF CENTRAL MISSISSIPPI   5000 HWY 80 E BLDG 5A PEARL MS 39208
1 BOSSES TRANSPORTATION LLC             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
1 MILE A MINUTE LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
1 NATION UNDERGOD TRANSPORTATION        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
1 RELIABLE TRANSPORTATION INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
1 SOURCE FREIGHT AND LOGISTICS LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
1 STOP ELECTRONICS CENTER, INC          1870 BATH AVE BROOKLYN NY 11214
1 TRUCK DOCTOR                          HC1 BOX 347 NIPTON CA 92364
1 TRUCK DOCTOR                          PO BOX 185 SAN MARTIN CA 95046
1 UNIT TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
1 UNIVERSAL TRUCKING, LLC               OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
1 WAY LANE LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
1 XTREME PURPOSE LOGISTICS              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
1-800 RADIATOR                          D/B/A: 1 800 RADIATOR PO BOX 2479 SPRINGFIELD MO 65801
1-800 RADIATOR & A/C                    PO BOX 271552 OKLAHOMA CITY OK 73137
1-800-RADIATOR & A/C                    PO BOX 709 SPRINGFIELD MO 65801
1-800-RADIATOR & A/C                    5549 PEARL STREET DENVER CO 80216
1-R EXPRESS INC                         16753 W ONEIDA DR LOCKPRT IL 60441
1-WAY TRANSPORT INC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
10 13 TRUCKING                          435 ADELINE WAY WOODLAND WA 98674-8352
10 ROADS EXPRESS                        2200 ABBOTT DR CARTER LAKE IA 51510
10 SPEED TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
10 WEST EXPRESS INC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
10-21 SUNRISE DELIVERY INC.             5284 THUNDER RD CARLSBAD SPRINGS ON K0A 1K0 CANADA
10-4 ALLIANCE, LLC.                     OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
10-52 CLEAR TRANSPORTING LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
100 CORPORATION LLC                     11903 AUBURN RD STE B LAREDO TX 78045
10000 LAKES TRANSPORTATIONS LLC         OR ALADDIN FINANCIAL, PO BOX 1394 SIOUX FALLS SD 57101
10001581 MANITOBA LTD                   279 ABERDEEN AVE WINNIPEG MB R2W 1V2 CANADA
10039224 MANITOBA LTD                   170 WYATT ROAD WINNIPEG MB R2X 2X6 CANADA
101 LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
101 US SUPPLY TRANSPORTATION LLC        4228 SIBLEY AVE COLUMBUS OH 43227
10510866 CANADA INC                     15 INNSBRUK WAY WINNIPEG MB R2P 2T7 CANADA
1099 PRO LLC                            DEPARTMENT 1900, PO BOX 4106 WOBURN MA 01888
10M TRANSPORT INC                       OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
10XYOURBIZNOW LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
11 TRANSPORT USA LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
1100 OAKLAND, LLC                       96 TEAM USA PORT JERVIS NY 12771
1107 XPRESS LOGISTICS LLC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                      Page 1 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23         Page 10 of 2156

Claim Name                             Address Information
1120 LOGISTICS LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
11634941 CANADA INC                    OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
119 PROFESSIONAL UNIT OWNERS           1265 WAYNE AVE. INDIANA PA 15701
123 FREIGHT CORP                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
123 MOVING SOLUTIONS INC               2149 VISCOUNT ROW ORLANDO FL 32809
12610272 CANADA INC                    1803 32 AVENUE NORTHWEST EDMONTON AB T6T 0H3 CANADA
12TH DISTRICT COURT                    312 S JACKSON ST JACKSON MI 49201
12WHEELS LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
1313 GRAND STREET REALTY LLC           ATTN: ANNA SMAGACZ 203 MESEROLE AVENUE BROOKLYN NY 11222
1313 TRANSPORT LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
1337632 BC LTD                         16 16589 25 AVE SURREY BC V3Z 9W9 CANADA
1460 E KEARNEY OWNER LP                5575 S SEMORAN BLVD STE 5010 ORLANDO FL 32822
1578670 ONTARIO LIMITED                3700 HIGHWAY 7 WOODBRIDGE ON L4L 0G8 CANADA
1776 SHIPPING AND LOGISTICS, LLC       OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
1791063 ONTARIO INC OA ECG UTILITIES   6-470 KING ST W, STE 193 OSHAWA ON L1J 2K9 CANADA
18 SMOKED WHEELS TRANSPORT INC         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
18 WHEEL TRUCKING LLC                  OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
18 WHEELER TRANSPORTATION INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
18 WHEELER TRUCKING, INC.              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
18 WHEELS TRANS INC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
1800 RADIATOR SHOP                     1048 STANTON RD. STE. D DAPHNE AL 36526
1804 VENTURES LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
181 W JOHNSON OPERATING LLC            500 FRANK W BURR BLVD STE 47 TEANECK NJ 07666
18TH COMPANY INC                       11662 ARNOLD PALMER DR BLAINE MN 55449
1917 LOGISTICS                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
1962 TRUCK TRANSPORT INCORPORATED      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
1962272 ALBERTA CORP                   C/O RODNEY REMPLE, 186 PRAIRIE SPRINGS AIRDRIE AB T4B 0G1 CANADA
1985 CARRIER LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
1990244 ALBERTA LTD                    OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA AB L4Z 1X8
                                       CANADA
1A1 TRANSPORT                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
1HEALTH.IO INC.                        201 SPEAR ST, SUITE 1100 SAN FRANCISCO CA 94105
1HEALTH.IO INC.                        388 MARKET STREET SUITE 1300 SAN FRANCISCO CA 94111
1ITX,LLC                               OR PETERSON FUNDING CO, PO BOX 433 VALLEY PARK MO 63088
1MC LOGISTICS, LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
1MTX LLC                               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
1SL TRANSPORT LINES INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
1SOURCE SOLUTION LOGISTICS LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
1ST CHOICE DRUG TESTING &              OCCUP HEALTH SVCS INC 6400 SCOTT HAMILTON DRIVE LITTLE ROCK AR 72209
1ST CHOICE EXPRESS INC                 43 E PINE RD ROSELLE IL 60172
1ST CLASS EXPRESS INC                  OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
1ST CLASS LOGISTICS LLC                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
1ST CLASS TRUCKING INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
1ST DISTRICT COURT                     12277 S TELEGRAPH RD ERIE MI 48133
1ST GEN TRUCKING, LLC                  1031 COUNTY ROAD 26 GIBSONBURG OH 43431
1ST KLASS SERVICES CORP                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
1ST LOGISTICS LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
1ST PLACE LOGISTICS LLC                OR PROVIDENT COMMERCIAL FINANCE, LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                       35246-2659



Epiq Corporate Restructuring, LLC                                                                    Page 2 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 11 of 2156

Claim Name                            Address Information
1ST PLATINUM FREIGHT INC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
1ST PRIORITY TRANSPORT                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
1ST RESPONSE TOWING INC               3975 W HACIENDA AVE LAS VEGAS NV 89118
1ST SOLUTION LOGISTICS INC            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
1ST STATE EXPRESS LLC                 4308 TRADE CENTER BLVD. LAREDO TX 78045
1ST TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
1STCHOICE MOVERS & TRANSPORT LLC      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
2 B SQUARE LLC                        OR G SQUARED FUNDING LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
2 BEAGLES TRANSPORTATION INC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
2 BEST LOADS INC                      OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
2 BROTHERS FENCING LLC                4698 AQUADUCT DR GREENWOOD IN 46142
2 COUSINS TRUCKING LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
2 CROWS TRUCKING LLC                  P O BOX 13 BRADY TX 76825
2 DOTS TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
2 FAST 2 SERIOUS TRUCKING LLC         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
2 FIVE TRANSPORT LLC                  OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
2 G EXPRESS LLC                       OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
2 GIRLS AND OUR TRUCKS LLC            OR INTERNET TRUCKSTOP PAYMENTS, LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
2 GUYS ENTERPRISES LLC                OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
2 KINGS TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
2 KINGZ ELITE TRUCKING LLC            OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
2 LEO TRUCKING LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
2 SONS TRANSPORTATION LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
2 THE TOP TRUCKING INC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
2 TIMES INC                           OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
2 URBAN TRANSPORTATION LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
2 WAY TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
2 WAY TRUCKING EXPRESS LLC            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
2-GETHER LOGISTIC LLC                 OR THIRD COAST COMMERCIAL CAPITAL INC PO BOX 14910 DEPT 2111 HUMBLE TX
                                      77347-4910
20 DASH 13 UNLIMITED LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
2003 ANGEL EXPRESS LLC                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
2010 PRODUCTS                         3049 INDUSTRIAL WAY NE SALEM OR 97301
2020 CARRIERS                         OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
203K LOGISTICS LLC                    OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
2078081 ALBERTA LTD                   9219 35 AVE NW EDMONTON AB T7E 5Y1 CANADA
21 EXPRESS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
21 LOGISTICS INC                      OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
210 TRANSPORT                         OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
2121 LOGISTICS LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
2138817 ONTARIO INC                   934 LAKEWOOD CREST, 934 LAKEWOOD CREST BELLE RIVER ON N0R1A0 CANADA
2167900 ALBERTA LTD                   DBA RTI EXPRESS, 32 RED EMBERS RD NE CALGARY AB T3N 1K7 CANADA
2169425 ONTARIO INC                   BOX 23 SOUTH RIVER ON P0A 1X0 CANADA
21ST CENTURY LIGHTING LLC             ATTN: RENEE 1352 S BERETANIA ST HONOLULU HI 96814
21ST CENTURY SCIENTIFIC               4931 N MANUFACTURING WAY COEUR D ALENE ID 83815
21ST CENTURY TRUCKING LLC             OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
22 TRANSPORT L L C                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
220 BUSINESS VENTURES LLC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
225 LIFE LLC                          13901 MIDWAY RD STE 102-368 DALLAS TX 75244



Epiq Corporate Restructuring, LLC                                                                     Page 3 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23        Page 12 of 2156

Claim Name                            Address Information
225 LOGISTICS LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
228 LOGISTICS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
2285968 ONTARIO INC                   12 ACADIAN HEIGHTS BRAMPTON ON L6Y4H4 CANADA
237 UNITED LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
2373359 ONTARIO INC                   OR BVD CAPITAL CORPORATION, 8177 TORBRAM RD BRAMPTON ON L6T 5C5 CANADA
24 EXPRESS LLC                        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
24 HOUR, LTD.                         8911 DIRECTORS ROW DALLAS TX 75247
24 HR ROAD SERVICE                    PO BOX 2421 CERES CA 95307
24- 7 ON TIME CARGO COMPANY LLC       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
24/7 MARTINEZ EXPRESS INC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
2449248 ONTARIO INC                   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
247 GO GETTAZ LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
24ON7 TRANSPORT SOLUTIONS INC         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
24SL                                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
24X7 RIDERS TRANSPORT INC             231 OAK POINT HIGHWAY WINNIPEG MB R2R 1T7 CANADA
250 LOGISTICS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
2538-9818 QUEBEC INC.                 525 CHEMIN DU BRAS ST-NICOLAS MONTMAGNY QC G5V 3R9 CANADA
254 CARRIERS LLC                      OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX
                                      76116
254 LOGISTICS LLC                     OR TRANSAM FINANCIAL SERVICES, INC. PO BOX 872632 KANSAS CITY MO 64187
2568454 ONTARIO INC                   170 DAIMLER DRIVE KITCHENER ON N2A 4C7 CANADA
2580331 ONTARIO INC                   54 ALENTEJO STREET TORONTO ON M6N5G9 CANADA
25TH DYNASTY ENTERPRISE LLC           OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
26 FT PRO LOGISTICS LLC               OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
2621419 ONTARIO INC                   OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074-1791
270 WEST HOLDINGS                     116 WEST AVE PATCHOGUE NY 11772
272 NW ARKANSAS SCP DIST              1078 FLORENCE AVE SPRINGDALE AR 72762
27EXPRESS LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
298 ASTOR ROAD LLC                    265 PEMBROKE COURT RICHMOND VA 23238
2A GROUP LLC                          OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
2A TRANSPORT INC                      8945 SW 227TH TER CUTLER BAY FL 33190
2A TRUCKING LLC                       OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
2AM GROUP INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
2C HEAVY TRANSPORT                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
2DIAMOND SERVICES LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
2GO DISTRIBUTION LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
2H TRUCKING LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
2K CARRIER INC                        OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINATTI OH 45263-9565
2K LOGISTICS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
2M COMPANY                            1215 CORDOVA ST BILLINGS MT 59101
2M ELITE CORP                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
2M TRANSPORT LLC                      2741 CROWN HILL SUITE B EAGLE PASS TX 78852
2ND CHANCE EXPRESS LLC                OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
2ND SHOT LOGISTICS LLC                2295 UNDERWOOD AVE ST CLOUD FL 34771
2SONS TRUCKING LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
2XB TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
3 0 GB TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
3 ARROWS TRUCKING LLC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                                     Page 4 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 13 of 2156

Claim Name                            Address Information
3 BROTHERS EXPRESS INC                OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
3 CHIEF TRUCKING LLC                  OR CHUGH CAPITAL, LLC, PO BOX 4437 WARREN NJ 07059
3 CROWNS GLOBAL LLC                   5650 BLAZER PKWY 3050 DUBLIN OH 43017
3 FILLYS TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
3 GT COMPANY                          OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
3 HORN NEWBORN TRUCKING LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
3 LOGISTICS LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
3 OFEM, LLC                           OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
3 RS PORTABLE WELDING INC             6285 HEYER ST ROMULUS MI 48174
3 RS PORTABLE WELDING INC             11855 N ADRIAN HWY CLINTON MI 49236
3 SAVI LLC                            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
3 STAR TRANSPORT INC                  OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
3 STOP TRUCKING INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
3 WOMEN WAY LLC                       SMARTTRUCKER LLC, PO BOX 30516 DEPT 506 LANSING MI 48909-8016
3000 TRUCKING COMPANY LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
305 SOLUTION INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
305TRUCKING LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
31 DIESEL TRUCK & WRECKER SERVICE     PO BOX 1253 SEYMOUR IN 47274
31 INC                                ATTN: KENDRA SHAW 100 ENTERPRISE DR NEWCOMERSTOWN OH 43832
317 TRANSPORT INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
326 CORDELE LLC                       8726 S SEPULVEDA BLVD STE D284 LOS ANGELES CA 90045
34TH STREET LOGISTICS LLC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
3525 LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
360 CARRIER LLC                       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
360 LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
360 TRANSPORTATION GROUP INC          OR ALTHON FACTORING SERVICES, LLC PO BOX 1719 MCALLEN TX 78505
365 GROUP INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
365 HOTSHOT LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
365 LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
365 TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
369 ROLLING LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
381 EXPEDITE LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
381 LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
381 LOGISTICS LLC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
39TH DISTRICT COURT FRASER            29733 GRATIOT ROSEVILLE MI 48066
3A DELIVERY SOLUTIONS LLC             OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
3A LOGISTICS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
3CORD TRANSPORTATION SOLUTIONS LLC    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
3D CARGO INC                          2250 MOEN AVE ROCKDALE IL 60436
3D EQUIPMENT                          280 WATERVILLE RD NORRIDGEWOCK ME 04957
3D EXPRESS TRUCKING                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
3D LOGISTICS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
3D TRANSPORT LLC                      1699 GREENTREE AVE NORTH PORT FL 34286
3D TRANSPORT LTD                      19370 32ND AVENUE SURREY BC V3Z 1A6 CANADA
3D TRUCKING LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
3DM EXPRESS INC.                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
3DS TRUCKING COMPANY LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
3G CARRIERS                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                     Page 5 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23       Page 14 of 2156

Claim Name                            Address Information
3G LOGISTICS LLC                      OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
3GABE EXPRESS TRANSPORTATION LLC      OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
3GMS TRUCKING INC.                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
3GTMS, INC.                           PO BOX 8010 CAROL STREAM IL 60197
3GTMS, INC.                           PO BOX 7410118 CHICAGO IL 60674
3I INC.                               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
3JB LOGISTICS LLC                     27672 COMMANDER CT ROMOLAND CA 92585-3702
3K LOGISTICS LLC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
3LN EXPRESS LLC                       500 SARAJANE LN LAS VEGAS NV 89107-1597
3M                                    ATTN: CRYSTAL WINCLECHTER CDS 171 WEST WING STREETSUITE 204A ARLINGTON HEIGHTS
                                      IL 60005
3M                                    C/O CDS, 171 WING ST STE 204A ARLINGTON HEIGHTS IL 60005
3M                                    CDS 171 WEST WING STREET 204 A ARLINGTON HEIGHTS IL 60005
3M                                    CDS 171WEST WING STREET SUITE 204A ARLINGTON HEIGHTS IL 60005
3M                                    DATA2LOGISTICSLLC, PO BOX 61050 FORT MYERS FL 33906
3M C/O CDS                            171 WEST WING ST STE 204A ARLINGTON HEIGHTS IL 60005
3M COMPANY                            BRENDA RODRIGUEZ, PO BOX 33000 ST PAUL MN 55133
3M EXPRESS LLC                        D/B/A: SARAC TRANSPORT LLC P.O. BOX 515084 ST. LOUIS MO 63151
3M TRANSIT LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
3M TRUCKING                           OR S. S BROWNFUNDING, P.O. BOX 1267 MANSFIELD TX 76063
3MJ EXPRESS LLC                       OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
3MS LOGISTICS LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
3MS LOGISTICS LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
3N TRANS LLC                          OR ASSIST FINANCIAL SERVICES, INC. PO BOX 347 MADISON SD 57042
3PARKS TRANSPORT                      OR GENERAL BUSINESS CREDIT 110 E. 9THST, STE C-900 LOS ANGELES CA 90079
3POWER                                4270 SAN VISCAYA CIRCLE CORONA CA 92882
3RD EYE TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
3RD EYE TRUCKING INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
3RD GENERATION CARRIERS LLC           OR TAB BANK, PO BOX 150830 OGDEN UT 84415
3SIX5 TRANSPORTATION                  OR BLACKJACK EXPRESS, INC., PO BOX 5699 CAROL STREAM IL 60197-5699
3SIX5 TRANSPORTATION                  OR EDEN TRANSPORT CAPITAL, LLC PO BOX 5699 CAROL STREAM IL 60197-5699
3T LLC                                PO BOX 47656 WICHITA KS 67201
3T&AJ TRANSPORT LLC                   8914 PALMETTO PARK CONVERSE TX 78109
3T-FREIGHT EXPRESS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
3WH LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
3YYY TRUCKING COMPANY INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
3Z TRANSPORT AND SERVICES LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
4 ACES LOGISTICS INC                  OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
4 ACES LOGISTICS INC                  OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
4 BROTHERS TRUCKING IV LLC            OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
4 COMMA INVESTMENT GROUP LLC          OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
4 G TRANSPORT                         8873 5TH AVE HESPERIA CA 92345
4 GIRLS AND A TRUCK LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
4 GS EXPRESS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
4 POINT TRANSPORTERS                  9807 RANCH RD 620 N AUSTIN TX 78726
4 POINTS TRANSPORTATION LLC           OR T-PINE FINANCIAL SERVICES 6050 DIXIE RD MISSISSAUGA ON L5T1A6 CANADA
4 SEASONS TRANSPORT LLC               OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
4 TRANSPORTATION SERVICES, INC.       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
4 WAY RUNNER LLC                      OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                                     Page 6 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23       Page 15 of 2156

Claim Name                            Address Information
4 WAY TRANS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
4-JEYLAM EXPRESS LLC                  OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
4-WAY TRUCKING LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
40 ACRES TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
407 ETR EXPRESS TOLL ROUTE            PO BOX 407 STN D SCARBOROUGH ON M1R 5J8 CANADA
410 TRUCKING                          OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
420 ODOR ELIMINATOR LLC               ATTN: KEN MANSOUR 292 LAKE DAISY LOOP WINTER HAVEN FL 33884
4200 MKE LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
4301 W SELTICE WAY LLC                PO BOX 889 EUGENE OR 97440
4410840 MANITOBA LTD                  204 24 ARDEN AVENUE WINNIPEG MB R2M 2J9 CANADA
442 LOGISTICS LLC                     211 PLEASANT ST PALMETTO GA 30268
442 LOGISTICS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
445 HOLLYWOOD AVENUE LLC              480 DUNCAN AVENUE LLC JERSEY CITY NJ 07306
445 HOLLYWOOD AVENUE, LLC             ATTN: JUSTINE DESANTIS 480 DUNCAN AVENUE JERSEY CITY NJ 07306
448 COURIERS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
45 WRECKER SERVICE LLC                2113 HIGHWAY 145 N SALTILLO MS 38866
46 LOGISTICS INC                      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
462 EXPRESS LLC                       3725 N 128TH AVE AVONDALE AZ 85392
478 ELITE TRANSPORT LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
48 BARRIERS                           3859 S COX RD SPRINGFIELD MO 65807
48 XPRESS INC                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
48 XPRESS LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
495 GARAGE DOOR                       1813 ARCONA AVE. SILVER SPRING MD 20902
495 TRUCK CENTER                      400 S ST, P.O. BOX 25 MARLBOROUGH MA 01752
4AM LLC                               OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
4APURPOSE LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
4BS TRUCKING LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
4D PRODUCTION INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
4D TRANSPORTATION, INC.               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
4DS MOBILE SERVICE LLC                PO BOX 435 WHEAT RIDGE CO 80034
4FRONT                                ATTN: ANN MARIE ANDERS W183 S8253 RACINE AVE MUSKEGO WI 53150
4G EXPRESS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
4G PLUMBING & HEATING                 P.O. BOX 17140 MISSOULA MT 59808
4J LOGISTICS GROUP LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
4JRS CARGO SOLUTIONS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
4JRS CARGO SOLUTIONS LLC              29 CROSSINGS CIR APT A BOYNTON BEACH FL 33435-2186
4K & V EXPRESS INC                    10221 RUSSELL AVE GARDEN GROVE CA 92843
4K TRANSPORTATION INC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
4L DISTRIBUTORS                       P.O. BOX 451425 LAREDO TX 78045
4LEAF TRUCKING LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
4M TRUCKING                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
4MDT TRANSPORTATION INC               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
4MIC TRUCKING INC                     OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
4MK TRANSPORT                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
4P TRANSPORTATION AND CARRIER LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
4PR INVESTMENTS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
4R TRANSPORTATION                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
4REFUEL CANADA LP                     M9040C CASE POSTALE 11454 DEPT 16 SUCCURSALE CENTRE-VILLE MONTREAL QC H3C 5K8
                                      CANADA



Epiq Corporate Restructuring, LLC                                                                     Page 7 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 16 of 2156

Claim Name                            Address Information
4REFUEL CANADA LP                     19100 94 AVENUE SURREY BC V4N 5C3 CANADA
4SA TRUCCIN LLC                       OR CARRIERHQ FUNDING LLC 155 E MARKET ST STE 220 INDIANAPOLIS IN 46204
4SHO MOBILE DRUG TESTING PROF CORP    833 CASCADE AVE SW ATLANTA GA 30311
4TH QTR LOGISTIC LLC                  560 MULBERRY BANKS DR CLAYTON NC 27527
4TH QUARTER LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
4TRANS INC                            OR GREAT PLAINS TRANSPORATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
4US CORP                              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
4WAY MOTORS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
4X4 TRANSPORT INC                     19 MOMM CT, 0 IRVINGTON NJ 07111
5 LIONS LLC                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
5 LOGISTICS LLC                       6750 E 46TH AVENUE DR STE 400 DENVER CO 80216
5 LOGISTICS LTD                       6750 E 46TH AVE DR 400 DENVER CO 80216
5 STAR ENERGY SERVICE                 W228S7055 ENTERPRISE DR VERNON 53103
5 STAR EXPRESS LLC (MC1092924)        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
5 STAR LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
5 STAR QUALITY TRANSPORTATION LLC     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
5 STAR TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
5 STAR TRUCKING OF PA LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
5 STARS CALIFORNIA LOGISTICS          OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
5 STARS LOGISTICS LLC                 OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
5 STRING SOLUTIONS LLC                PO BOX 1415 HIGHLAND PARK IL 60035
5 UNITS TRANSPORTATION LLC            OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
5-STAR TRANSPORT LLC                  12823 STONERIDGE DR BLACK JACK MO 63033
50 STAR TRANS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
50 STARS EXPRESS LLC                  OR TREADSTONE US CAPITAL, LLC PO BOX 32160 DEPT 128 LOUISVILLE KY 40232
50 STARS EXPRESS LLC                  OR TRANSPORTATION FINANCE CORP 14007 S BELL RD 169 HOMER GLEN IL 60491
500 TRUCKS LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
5018439 MANITOBA LTD                  130 VADEBONCOEUR DRIVE WINNIPEG MB R2N 4P8 CANADA
503 HOTSHOT TRUCKING LLC              OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
51 TRUCKING INCORPORATED              OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
511 TRANSPORTATION INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
52 TDO LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
524 LOGISTICS LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
528 TRUCKING LLC                      OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
5289514 MANITOBA LTD                  OR BARON FINANCE HEAD OFFICE 27 ROYTEC RD UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
52ND DISTRICT COURT 1ST DIVISION      48150 GRAND RIVER AVE NOVI MI 48374
5459801 MANITOBA LTD                  602 1106 ST. MARYS ROAD WINNIPEG MB R2M 3T5 CANADA
5AAB TRANSPORT LLC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
5AB CARRIER LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
5B INTERNATIONAL SERVICE INC          OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
5BG TRANSPORTATION SERVICES INC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
5C TRANSPORT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
5G TRUCKING LLC                       OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
5K KOMBS EXPRESS LLC                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
5K MMR LLC                            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
5M SCS INC                            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
5M TRANSPORTATION LLC                 OR INTERNET TRUCKSTOP PAYMENTS, DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                      IL 60674-0411
5N LOGISTICS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                    Page 8 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 17 of 2156

Claim Name                            Address Information
5STARS TRANSP & LOGISTICS SVCS LLC    OR SUMMAR FINANCIAL LLC PO BOX 748841 ATLANTA GA 30374-8841
5TH CITY LOGISTICS INCORPORATED       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
5TH DIMENSION LOGISTIX INC            82 BETHANY RD 10 HAZLET NJ 07730
5TH WHEEL TRANSPORTATION              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
6 - 9S TRANSPORT LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
6 STAR LOGISTICS INC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
60 HOURS TRANSPORTS                   OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
60 MILES DEDICATED                    3155 SENECA STREET BUFFALO NY 14224
611 TRANSPORT INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
624889 B. C. LTD.                     OR ECAPITAL ORILLIA (CAN) 174 W ST S 2ND FL ORILLIA ON L3V 6L4 CANADA
624889 B. C. LTD.                     1104 12 AVE COALDALE AB T1M 0G3 CANADA
654 TRUCKING LLC                      OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
6560297 MANITOBA LTD                  134 VILLAGE COVE WINNIPEG MB R2J 4B7 CANADA
662 LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
6717251 MANITOBA LTD                  BOX 17, GRP. 351 R.R. 3 WINNIPEG MB R3C 2E7 CANADA
68 TRANSPORT LLC                      4301 TIPPERARY PI CHARLOTTE NC 28215
6873635 MANITOBA LTD                  BOX 178 TYNDALL MB R0E 2B0 CANADA
6885854 MANITOBA LTD                  71 COBOURG AVE WINNIPEG MB R2L 0H4 CANADA
68TH STREET SITE WORK GROUP           C/O: STUART D. KAPLOW, P.A. 11426 YORK ROAD, FLOOR 1 COCKEYSVILLE MD 21030
68TH STREET SITE WORK GROUP           ATTN: GENERAL COUNSEL P.O. BOX 3408 CRESTED BUTTE CO 81224
6BT                                   7313 SUMMER GROVE AVE LAS VEGAS NV 89117
6IX TRUCKLINE                         OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
6M TRANSPORT SERVICES INC             OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
7 - TRANSPORTATION & LOGISTICS        OR TAB BANK, PO BOX 150830 OGDEN UT 84415
7 BROTHERS TRUCK LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
7 ELEVEN, INC.                        ATTN: GENERAL COUNSEL 3200 HACKBERRY RD IRVING TX 75063
7 GOLD STAR LOGISTICS LLC             17425 34TH PL S SEATAC WA 98188
7 MOTORS TRANSPORTATION INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
7 OCEAN EXPRESS INC                   OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
7 OIL COMPANY INC                     PO BOX 2526 CINNAMINSON NJ 08077
7 STAR TRUCKING LLC                   OR FLAT RATE FUNDING GROUP, LLC PO BOX 150581 OGDEN UT 84415
7 STAR TRUCKING LLC (MURPHY TX)       1214 IOWA RD MURPHY TX 75094-3698
701 TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
704GLOBALENTERPRISES L.L.C.           OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
707 HP TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                      IL 60674-0411
71 POUNDS, INC.                       7900 NOVA DR, SUITE 208 FORT LAUDERDALE FL 33324
71 POUNDS, INC.                       510 SHOTGUN RD 301 SUNRISE FL 33326
7111495 CANADA INC                    265 BREITHAUPT ST UNIT 4 KITCHENER ON N2H 5H3 CANADA
720 INVESTMENT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
7333111 MANITOBA INC                  OR ECAPITAL ORILLIA (CAN) 174 W ST S 2ND FL ORILLIA ON L3V6L4 CANADA
74 TRANSPORT LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
777 FREIGHT HAUL LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
77SPACE INC                           10160 LANARK ST SUN VALLEY CA 91352
786 TRANSPORTATION,LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
7D7 TRUCKING & LOGISTICS LLC          OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
7FIVE2 GLOBAL CONCEPT                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
7FREIGHT TRANSPORT LLC                OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
7MST LOGISTICS CORP                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                     Page 9 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 18 of 2156

Claim Name                            Address Information
7T TRUCKING EXPRESS LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
7TH WAY LLC                           OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
8 VINI WINE INC                       1250 BUSINESS CENTER DR SAN LEANDRO CA 94577
8 WHITE TRANSPORT INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
805 TRANSPORT INC                     301 LAMBERT ST UNIT B OXNARD CA 93036
81 FREIGHT SOLUTIONS CORP             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
8118 BUILDING LLC                     8118 189TH STREET MOKENA IL 60448
82 DIESEL LLC                         28400 W US 82 SHERMAN TX 75092
84 LUMBER                             569 HILLIARD ROME ROAD COLUMBUS OH 43228
86 TRANSPORTATION LLC                 OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
8745200 CANADA CORPORATION            PO BOX 68514 GREAT LAKES DR BRAMPTON ON L6R 2K7 CANADA
876 LOGISTICS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
876 TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
88 FR8 INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
88 TRUCKING INC                       5917 OAK AVE UNIT 333 TEMPLE CITY CA 91780
88 TRUCKING LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
88MIKELLC                             156 W. MICHIGAN AVE UNIT 269 JACKSON MI 49201
8AM TRANSPORTS                        OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
9 IRON TRUCKING LLC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
9022317 CANADA INC                    OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                      CANADA
904 LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
918 HEAVY RECOVERY LLC                2992 N HWY 167 CATOOSA OK 74015
9206-7586 QUEBEC INC                  6370 RUE RENOIR MONTREAL QC H1G 2P5 CANADA
9303-8552 QUEBEC INC.                 DURAMACH DIESEL C.P. 542 SUCC BROMPTONVILLE SHERBROOKE QC J1C 1A1 CANADA
9334866 CANADA INC                    OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                      CANADA
936 LLC                               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
9367-0784 QUEBEC INC                  420, BOUL. ROLAND-DURAND ROSEMERE QC J7A 4L4 CANADA
938 CORP                              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
9396-4302 QUEBEC INC.                 6, RUE PILON SAINT-STANISLAS-DE-KOSTKA QC J0S 1W0 CANADA
94 LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
9429328 CANADA INC                    3006 SINCLAIR STREET WINNIPEG MB R2V 4K8 CANADA
9474-4265 QUEBEC INC                  840 RUE SIMEON LAVAL QC H7R 6E1 CANADA
95 TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
95 XPRESS LINE CORP                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
9551930 CANADA INC.                   ATTN: VAL MILITO 100-888 BELFAST ROAD OTTAWA ON K1G 0Z6 CANADA
956 LOGISTICS LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
988 CARRIER LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
99 EXPRESS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
99 FREIGHT INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
9KSTRG TRUCKING LLC                   OR OPERATION FINANCE INC, PO BOX 227352 DALLAS TX 75222-7352
A & A CAR TRANSPORTATION LLC          OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
A & A DELIVERY LLC                    1621 NE VISTA CT ANKENY IA 50021
A & A EXPRESS                         20818 103RD PL SE KENT WA 98031
A & A EXPRESS TRUCKING LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
A & A LOGISTICS EXPRESS CORP          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A & A PUMP COMPANY                    5747 DIETRICH RD. SAN ANTONIO TX 78219
A & A ROAD SERVICES OF SW FL CORP     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                   Page 10 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23        Page 19 of 2156

Claim Name                             Address Information
A & A SAFE LOCK & DOOR                 D/B/A: DOOR RESOURCES 5025 COURTNEY DR FOREST PARK GA 30297
A & A SAFE TRANSPORTATION INC          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A & A SAFETY                           16000 MILES AVE CLEVELAND OH 44128
A & A TRAILER REPAIR AND MORE          C/O ARTURO AGUILERA, 6163 BEARCAT DR. SPARKS NV 89436
A & A TRANSPORT & STORAGE, INC.        5404 STONE TRACE GAINESVILLE GA 30504
A & A TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A & A TRUCKING CO                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
A & A TRUCKING CO                      OR AMERICAN BANK, PO BOX 650755 DALLAS TX 75265-0755
A & B DELIVERY SERVICES LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A & B DOOR SALES & SERVICE, INC.       693 SOUTH MOUNTAIN BLVD. MOUNTAIN TOP PA 18707
A & B LINE LLC                         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
A & B LOCKSMITH                        5858 PELHAM RD TAYLOR MI 48180
A & B PALLET SUPPLIERS OF WESTERN AR   PO BOX 655 MANSFIELD AR 72944
LLC
A & B TOPS SERVICES INC                210 GAINSBOROLUGH CIRCLE FOLSOM CA 95630
A & B TOWING CO                        D/B/A: A&B TOWING & RECOVERY PO BOX 2080 OREGON CITY OR 97045
A & B TRANSPORT                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A & B TRANSPORT INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A & B TRUCKING LLC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
A & C FIRE EQUIPMENT CO                4822 NEPTUNE ST CORPUS CHRISTI TX 78405
A & C MOBILE TRUCK SERVICE LLC         9440 N 75TH AVE PEORIA AZ 85345
A & C TOWING LLC                       PO BOX 205 WAMSUTTER WY 82336
A & D ENVIRONMENTAL &                  PO BOX 484 HIGH POINT NC 27261
A & D EXPRESS LLC                      4804 LAUREL CANYON BLVD SUITE 128 VALLEY VILLAGE CA 91607-3717
A & D TRUCKING EXPRESS LLC             OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
A & D TRUCKING LLC                     119 NOB HILL RD DOVER DE 19901
A & F LOGISTICS SERVICES LLC           OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
A & F TRUCKING LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
A & F TRUCKING LLC                     OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
A & G DIESEL & FLEET MANAGEMENT        424 BELLAMY LANE CLARKSVILLE TN 37043
A & H FREIGHT COMPANY INC.             12345 SLAUSON AVE WHITTIER CA 90606
A & H TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL DALLAS TX 75261-0028
A & H TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A & I PRODUCTS                         PO BOX 8 ROCK VALLEY IA 51247
A & I TRUST IN GOD TRANSPORT INC.      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
A & J BROTHERS INC                     OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
A & J CLEANING SERVICES                66 LOUGHLIN HILL CRESCENT AJAX ON L1Z 1P9 CANADA
A & J FARMS INC                        PO BOX 553 EAGLE POINT OR 97524
A & J SEWER SERVICE, INC.              1055 COURTESY LANE WHEELING IL 60090
A & J TOWING & AUTO BODY INC           21 SAW MILL RIVER RD YONKERS NY 10701
A & J TRANSPORT SERVICES LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A & J TRUCKING                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A & K EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
A & K MELGAR TRUCKING INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
A & K TRANSPORT LLC                    2414 CEDARMILL DR FRANKLIN IN 46131
A & K TRANSPORTATION INC               OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
A & K TRANSPORTATION LLC               123 FAIRMONT AVENUE HACKENSACK NJ 07601
A & K TRUCKING                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A & K TRUCKING OF ATLANTA              PO BOX 2273 ALPHARETTA GA 30023



Epiq Corporate Restructuring, LLC                                                                    Page 11 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23        Page 20 of 2156

Claim Name                             Address Information
A & K1EXPRESS LLC                      OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
A & L TRANSIT INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
A & L TRANSPORTATION LLC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
A & L TRUCKIN SYSTEMS INC.             OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
A & L TRUCKING OF PALM BEACH LLC       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
A & M ENGINEERING AND ENVIR SERVICES   10010 E 16TH ST TULSA OK 74128
INC
A & M EXTERMINATING SERVICE            6075 69TH LN MASPETH NY 11378
A & M EXTERMINATING SERVICE            C/O PEST AND TERMITE CONTROL 60-75 69TH LANE MASPETH NY 11378
A & M GROUP ENTERPRISES, INC.          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A & M INTERNATIONAL, INC.              OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
A & M MASONRY & CONCRETE               410 HARTFORD DR CINNAMINSON NJ 08077
A & M MASSEY TRUCKING LLC              OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
A & M MECHANICAL SERVICES INC          6035 PANAMA DR HERMITAGE TN 37076
A & M TRUCK & TRAILER REPAIR, INC.     259 US HIGHWAY 250 GREENWICH OH 44837
A & M TRUCKING (MC554468)              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
A & M TRUCKING LOGISTIC INC            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A & M VENDING                          323 W INTERSTATE RD ADDISON IL 60101
A & M WORLD INC                        OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
A & O TRANSPORTATION LLC               OR ITHRIVE FUNDING, LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148
A & P LOGISTICS LLC                    OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
A & P TRANSPORTATION CO.               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
A & P TRUCKING FREIGHT SYSTEMS INC     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
A & R MOTOR EXPRESS, INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
A & R SERRANO TRUCKING INC.            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
A & R TEXAS TRANSPORT LLC              OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
A & R TRANSPORTATION LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A & R TRANSPORTATIONS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A & R TRUCKING HAULING LLC             1820 JASON DR COLUMBUS OH 43227
A & R TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A & S EXPRESS LLC                      1313 W 16TH ST SEDALIA MO 65301
A & S EXPRESS TRANSPORT LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A & S MECHANICAL                       8220 STATE ROUTE 405 MILTON PA 17847
A & S SECURITY SERVICES INC./AES       1247 WARD AVE STE 300 WEST CHESTER PA 19380
SQUARED
A & S SECURITY SERVICES INC./AES       C\O ALARM CONNECTIONS PAYMENT CNTR 1067 PO BOX 744950 ATLANTA GA 30374
SQUARED
A & S SECURITY SERVICES INC./AES       C\O ALARM CONNECTIONS PAYMENT CNTR 1067 PO BOX 936942 ATLANTA GA 31193
SQUARED
A & S TRUCKING COMPANY LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A & S TRUCKING LLC                     29222 LYON OAKS DRIVE WIXOM MI 48393
A & S TRUCKING LLC (MC1223533)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A & SONS TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
A & T BROTHERS INC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
A & T LOGISTICS CORP                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A & T ROAD SERVICE INC                 1245 ILLINOIS STREET FAIRFIELD CA 94533
A & T TRANSPORTATION LLC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
A & T TRUCKING CO.                     2129 W 21ST STREET UNIT A BROADVIEW IL 60155
A & V EXPRESS INC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
A & W HEAVY HAUL INC                   PO BOX 638 CHANNAHON IL 60410


Epiq Corporate Restructuring, LLC                                                                   Page 12 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 21 of 2156

Claim Name                               Address Information
A & W PLUMBING, INC.                     P.O. BOX 14268 BATON ROUGE LA 70898
A & Y TRANS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A & Y TRANSPORT LOGISTIC, LLC            OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
A - C MOTOR EXPRESS                      339-C BLISS ST WEST SPRINGFIELD MA 01089
A 1 LOCKSMITHS & SECURITY LTD            310 PINE ST NORMAL IL 61761
A 2 B TRUCKING LLC (MC1102984)           OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
A 2 Z TRUCKING LLC                       OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
A A M TRUCKING INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A A MIKHAEL LLC                          OR COMPASS FUNDING SOLUTIONS 115 W. 55 TH STREET, SUITE 301 CLARENDON HILLS IL
                                         60514
A ACCURATE AUTO GLASS                    9923 S RIDGELAND AVE, SUITE 142 CHICAGO RIDGE IL 60415
A ACT FAST LOCKSMITH                     PO BOX 3003 CLACKAMAS OR 97015
A AND B PURE WATER                       1600 NORTH A AVE SIOUX FALLS SD 57104
A AND B PURE WATER                       C/O A & B BUSINESS INC., PO BOX 3157 OMAHA NE 68103
A AND B PURE WATER                       PO BOX 3157 OMAHA NE 68103
A AND D TRUCKERS GROUP LLC               OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
A AND F TRANSPORT SERVICES LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
A AND G TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A AND H LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
A AND M TOWING & ROAD SERVICE, INC.      1200 S. STATE STREET, P.O. BOX 115 GIRARD OH 44420
A AND S EXPRESS TRANSPORT INC            PO BOX 30368 ELMONT NY 11003
A ANTHONY CORP                           800 VALLEY PLAZA, SUITE 8 JOHNSON CITY NY 13790
A ANYTIME ANYWHERE                       24H TRUCK REPAIR OF GA LLC PO BOX 1407 FORSYTH GA 31029
A ANYTIME ANYWHERE 24 HOUR TRUCK         REPAIR OF GEORGIA, LLC PO BOX 1407 FORSYTH GA 31029
A ARREDONDO TRUCKING LLC                 OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
A B B TRUCKING LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A B DATA LTD                             PO BOX 170062 GLENDALE WI 53217
A B E AREA GLASS LLC                     4055 WILLIAM PENN HWY EASTON PA 18045
A B E PARKING LOT STRIPING CO            PO BOX 241 EASTON PA 18044
A B E PAVING LLC                         PO BOX 134 PHILLIPSBURG NJ 08865
A B TRANS LLC                            OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
A BEST TERMITE &                         PEST CONTROL SUPPLIES INC 891 GORGE BLVD AKRON OH 44310
A BEST TERMITE & PEST CONTROL SUPPLIES   D/B/A: A BEST TERMITE & PEST CONTROL 891 GORGE BLVD AKRON OH 44310
A BLACK CAB                              966 PANTERA DR UNIT 6 MISSISSAUGA ON L4W 2S1 CANADA
A BREAZY TRANSPORT LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
A BROS FREIGHT INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A C C O TRANSPORTATION LLC               8927 HYPOLUXO RD A4 LAKE WORTH FL 33467
A C ELECTRIC INC                         729 S KILBY CT SALT LAKE CITY UT 84101
A CLASS ABOVE LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A CLASS RENTALS LLC                      4311 N PAULINA ST APT 1B CHICAGO IL 60613-1227
A CLASS TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A COMFORT ZONE FREIGHT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A COMMUNITY SANITATION SERVICES          PO BOX 1239 WESTFORD MA 01886
A CUT ABOVE LANDSCAPING                  27 SHADY LANE DANVILLE IL 61832
A D HELMS CAULKING & REPAIR SERVICES     180 STEELE ST STE E GRAND RAPIDS MI 49534
LLC
A D MICHEL                               11872 ADIE RD. MARYLAND HEIGHTS MO 63043
A D N TRANSPORT & FREIGHT INC.           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
A DIVISION OF KODIAK GROUP HOLDINGS CO   C/O T10536, PO BOX 4388 STN A TORONTO ON M5W 3S1 CANADA



Epiq Corporate Restructuring, LLC                                                                     Page 13 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 22 of 2156

Claim Name                               Address Information
A DIVISION OF KODIAK GROUP HOLDINGS CO   415 THOMPSON DR CAMBRIDGE ON N1T 2K7 CANADA
A DUARTE LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A DUFFY LOGISTICS LLC                    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
A EXCELLENCE SERVICE                     5630 WEST 65TH STREET CHICAGO IL 60638
A F F TRANS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A F I EXPRESS                            21800 RIVER OAKS DR 202-A ROCKY RIVER OH 44116
A F TRASPORTATION LLC                    OR 18 WHEEL FUNDING LLC, DEPT 6029 PO BOX 4517 HOUSTON TX 77210-4517
A G H LOGISTICS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A G L HAULING CORP                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A G M TRANSPORT INC                      PO BOX 3693 JOLIET IL 60434
A G N TRANSPORT LLC                      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
A G TRANSPORTATION INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A GREEN SERVICES LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A HARTRODT INC                           C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
A HOP TRUCKING LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A HUNTER MOVEMENT LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
A J A CHARLEMAGNE LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A J EXPRESS LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A J MADISON DIST                         ATTN: MARIA T. CLAIMS 30 LAKE DR E WINDSOR NJ 08520
A J TRUCKING USA LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A JANITORS CLOSET,INC.                   C/O GROELLE & SALMON, P.A ATTN: STAN ABRAMENKO, ESQ 646 94TH AVENUE NORTH ST.
                                         PETERSBURG FL 33702
A JUAREZ TRANSPORTATION LLC              OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
A K B TRANSPORT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A K M TRANSPORTATION INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A K TRANS LINES INC                      3452 WRENWOOD AVE CLOVIS CA 93619-8980
A K TRUCKING & LOGISTICS LLC             1213 MARIN AVE MODESTO CA 95358
A KYU LLC                                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368
A L AUTO TRANSPORT                       DBA 5 STAR EXPRESS INC, 842 S EASTRIDGE NIXA MO 65714
A L AUTO TRANSPORT                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
A L LOGISTICS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A LEONARD, DAVID                         ADDRESS ON FILE
A LIGHTNING TRUCKING LLC                 OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
A LIST TRANSPORTATION LLC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
A LITTLE STUPID LLC                      OR OPENROAD FINANCIAL SERVICES, INC. PO BOX 484 DALLAS OR 97338
A LONG HAUL TRUCKING LLC                 11 WARREN STREET MERIDEN CT 06450
A M A LOGISTICS INC                      OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
A M BEST TRANSPORTATION INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A M BRASWELL JR FOOD CO INC              ATTN: PATSY LARISCEY 226 N ZETTEROWER AVE STATESBORO GA 30458
A M CASTLE & COMPANY                     ATTN: TIM YAGATICH 1625 TILLIE LEWIS DR STOCKTON CA 95206
A M P TRUCKING INC                       2873 LARKIN AVE CLOVIS CA 93612
A M Q CARRIERS LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
A M TRUCKING INC                         5105 ROCKCREST RD KNOXVILLE TN 37918
A MAP TRANSPORTATION INC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
A MARAVILLA TRANSPORT                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A MCFADDEN EXPRESS LLC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
A MOBILE MAINTENANCE                     120 PEACH ORCHARD RD. CARTERSVILLE GA 30121
A MOBILE MAINTENANCE                     2774 N COBB PARKWAY STE 109-409 KENNESAW GA 30152



Epiq Corporate Restructuring, LLC                                                                     Page 14 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 23 of 2156

Claim Name                               Address Information
A MODERN GLASS CO                        PO BOX 192 CONLEY GA 30288
A N D TRANSPORT INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
A N DERINGER                             ATTN: JESSICA BIGELOW 178 W SERVICE RD CHAMPLAIN NY 12919
A N T LOGISTICS LLC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
A NEW BEGINNING VENTURES INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A ONE TRANSPORT                          OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
A OUTDOOR SERVICES                       1551 164TH LN NE HAM LAKE MN 55304
A P CARRIERS                             OR JD FACTOERS, 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8 CANADA
A P TRUCK LINES LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A PLUS GARAGE DOORS LLC                  8763 S SANDY PKWY SANDY UT 84070
A PLUS LOGISTICS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
A PLUS PAVING LLC                        PO BOX 1352 SALEM NH 03079
A PLUS TOWING AND RECOVERY SERVICE LLC   2245 BOYD AVE BROWNSVILLE TN 38012
A PLUS TRUCKING LLC (MC1245833)          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A PLUS URGENT CARE                       BILLING DEPARTMENT, PO BOX 572524 MURRAY UT 84157
A QUEEN OF KINGZ LLC                     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
A RAYMOND PLUMBING INC                   2740 9TH AVE COUNCIL BLUFFS IA 51501
A RED TRUCKING LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A RIFKIN COMPANY                         PO BOX 878 WILKES-BARRE PA 18703
A ROYAL FLUSH, INC.                      181 OLD POST ROAD SOUTHPORT CT 06890
A ROYAL FLUSH, INC.                      PO BOX 3126 BRIDGEPORT CT 06605
A ROYAL TRANSPORT LLC                    OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V 6L4
                                         CANADA
A S & D AGRICULTURAL SVCS AND DEV INC    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
A S & I TRANSPORT                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A S JONES & CO INC                       PO BOX 34 MENDON MA 01756
A S KLASSICS TRUCKING                    12841 OAKS AVE CHINO CA 91710
A S L V TRUCKING LLC                     OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
A S REPAIR SALES AND SERVICE             67104 WILLOW DALE RD COOKS CREEK MB R5M 0G5 CANADA
A S TRANSPORTATION INC                   OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
A SHIPPING LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A STAR TRUCK LINES INC                   4076 SPICEBUSH DR TIPP CITY OH 45371
A STRIPPE ABOVE                          PO BOX 16143 MISSOULA MT 59808
A T B O INC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A T C HEAVY DUTY TOWING AND RECOVERY     7521 ALMA HWY, P O BOX 1898 ALMA AR 72921
INC
A T I EXPRESS INC                        OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
A TEAM LOGISTICS                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A TEC RECYCLING INC                      PO BOX 57580 PLEASANT HILL IA 50317
A TO B LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A TO Z AWNINGS                           ATTN: DANIEL CRAMER 899 NE 42ND ST OAKLAND PARK FL 33334
A TO Z MOVING SERVICE COMPANY LLC        OR VIVA CAPITAL FUNDING, INC. PO BOX 17548 EL PASO TX 79917
A TO Z PARTY RENTAL                      426 STUMP RD. MONTGOMERYVILLE PA 18936
A TO Z THEATRICAL SUPPLY & SERVICE       800 E. MEYER BLVD. KANSAS CITY MO 64131
A TO Z TRANSPORTS LLC                    OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
A TO Z TRUCKING LLC (ST LOUIS MO)        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A TOWN EXPRESS INC                       2757 N KOSTNER AVE APT2 CHICAGO IL 60639
A TRANSPORT USA INC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A TUCKER TRANSPORT                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                      Page 15 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 24 of 2156

Claim Name                              Address Information
A TWO Z TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A W & SONS LOGISITICS LLC               OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
A W PEARL LLC                           2803 EWING LN CABOT AR 72023-2114
A Y TRUCKING LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
A& J PLUS LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A&A BENITEZ TRUCKING LLC                OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
A&A BROS INC                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A&A CARRIER LLC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A&A DELIVERY LLC                        730 IRONTON ST AURORA CO 80010
A&A FREIGHT LLC                         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
A&A GLOBAL INDUSTRIES INC               ATTN: WANDA BARKMAN 17 STENERSEN LN COCKEYSVILLE MD 21030
A&A TOWING                              PO BOX 143, 26 OLD RT. 66 LOOP CONTINENTAL DIVIDE NM 87312
A&A TRANSPORTATION AND DELIVERIES LLC   9582 S FOREST AVE CHICAGO IL 60628
A&A TRANSPORTATION LLC                  12659 S RACE STREET OLATHE KS 66061
A&A TRUCKING LLC                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
A&A X-PRESS INC                         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
A&B TOWING & RECOVERY                   PO BOX 2080 OREGON CITY OR 97045
A&B TRUCKING SERVICES INC               421 LAKE DAVENPORT BLVD DAVENPORT FL 33897
A&C EXPRESS TRANSPORT LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A&C FIRST SOLUTIONS LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
A&C TRANSPORT LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A&C TRANSPORTATION LLC                  OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
A&C TRUCKING                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
A&C TRUCKING EXPRESS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A&C URGENT CARE                         1000 S ANAHEIM BLVD 200 ANAHEIM CA 92805
A&D CARRIER INC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
A&D LOGISTICS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A&D OUTLAW HAULING SERVICES LLC         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A&D SOURCING LLC                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
A&D TRANSPORT EXPERTS LLC               OR ROYALTY CAPITAL, INC. P.O. BOX 842205 DALLAS TX 75284
A&E EXPRESS LLC (GLENDALE AZ)           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A&E EXPRESS LLC (LAWRENCEVILLE GA)      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A&E TRUCKING LLC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
A&F CARGO LLC                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A&F EXPRESS LLC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
A&F EXPRESS LLC (MC1192731)             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
A&F TRUCKING                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A&G FREIGHT SERVICE LLC                 2209 SAN SIMEON DR MESQUITE TX 75181
A&H FREIGHT GROUP LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
A&H FREIGHT LLC                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
A&I DISTRIBUTORS                        12350 SW MYSLONY ST TUALATIN OR 97062
A&J DIAMOND LOGOSTIC                    OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
A&J EXPRESS                             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
A&J EXPRESS FREIGHT                     OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
A&J INTERSTATE TRUCKING INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A&K LOGISTICS GROUP LLC                 OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
A&K TRANSPORTATION SERVICES LLC         OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
A&K TRANSPORTS LLC                      OR LOVES SOLUTION SLLC, PO BOX 639565 CINCINNATI OH 45263-9565
A&K TRUCKING                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                    Page 16 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 25 of 2156

Claim Name                              Address Information
A&L LOGISTICS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A&M CARRIERS INC                       OR CAPITAL DEPOT 8930 N. WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
A&M CARRIERS LLC                       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
A&M COBBS TRUCKING COMPANY LLC         OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
A&M EXPRESS TRANSPORTATION SERVICES LLC OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A&M ROYAL TRANSPORT LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A&M TRANSPORT (MC099706)               OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
A&M TRANSPORT LLC                      2948 KIRK RD STE 106-273 AURORA IL 60502
A&M TRUCKING                           11724 W DODGE RD OMAHA NE 68154
A&M TRUCKING LLC                       OR TAB BANK, PO BOX 150830 OGDEN UT 84415-0830
A&M TRUCKING LLC (MC955560)            OR CAPITAL DEPOT 8930 N WAUKEGAN RD UNIT 230 MORTON GROVE IL 60053
A&P WAREHOUSING LLC                    748 CADENCE VIEW WAY HENDERSON NV 89011
A&P WAREHOUSING LLC                    D/B/A: A&P WAREHOUSE 748 CADENCE VIEW WAY HENDERSON NV 89011
A&R CORONADOS TRANSPORT CORP           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
A&R GARCIA TRUCKING, LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
A&R HORNE EXPRESS                      2008 DAYBREAK CIRCLE HARRISBURG PA 17110
A&R LOGISTICS                          6736 MILE 17 1/2 N EDCOUCH TX 78538
A&R PAVING COMPANY                     8610 WOLF TRACE LN BARTLETT TN 38133
A&R TRANS INC                          OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
A&R TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A&R TRUCKLINE                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A&S RIVERA HOTSHOT SERVICES LLC        OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
A&S TRANSPORT LLC                      2609 S 275TH PL FEDERAL WAY WA 98003
A&T FAMILY TRUCKING INC                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
A&T TRANSPORT INC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
A&T TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A&V EXPRESS LLC                        OR ASSET FUNDING SOURCE, PO BOX 497 ANKENY IA 50021
A&V PALACIO TRUCK LINES                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A&W CLEANING                           818 MATHESON AVE CHARLOTTE NC 28205
A&W ENTERPRISES LLC                    1062 WATSON SCHOOL RD WEST MONROE LA 71292
A&W ENTERPRISES LLC                    PO BOX 2832 WEST MONROE LA 71294
A&W FREIGHT LINE AND BROKERAGE LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A&Z TRANSPORTATION LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
A-1 BASE                               4980 NIAGARA ST COMMERCE CITY CO 80022
A-1 CARRIER LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A-1 CLEANING                           21640 KALE RD SPARTA WI 54656
A-1 DELIVERY INC                       1117 SE 12TH PLACE CAPE CORAL FL 33990
A-1 DIESEL SERVICE                     117 E. 13TH STREET LUBBOCK TX 79403
A-1 DYNASTY TRUCKING, LLC              OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
A-1 ELECTRIC CO. OF CHARLOTTE, INC.    6120-L BROOKSHIRE BLVD CHARLOTTE NC 28216
A-1 ELECTRIC SERVICE INC               2525-B E LIVINGSTON ST SPRINGFIELD MO 65803
A-1 EQUIPMENT SALES & SERVICE          1002 COURTAULDS, UNIT C WOODSTOCK IL 60098
A-1 FREEMAN RELOCATION, INC.           11517 NORTH BROADWAY OKLAHOMA CITY OK 73114
A-1 HYDRAULICS SERVICE INC             1695 FOREST PKWY LAKE CITY GA 30260
A-1 HYDRAULICS SERVICE INC             6030 GA HWY 85 STE 616 RIVERDALE GA 30274
A-1 LOCK & KEY                         313 WEST 5TH STREET TOPEKA KS 66603
A-1 PRODUCTS                           2020 AVE F BIRMINGHAM AL 35218
A-1 RADIATOR REPAIR                    875 E 2ND STREET RENO NV 89502
A-1 SIGN                               4610 PLANNED INDUSTRAIL DRIVE SAINT LOUIS MO 63120



Epiq Corporate Restructuring, LLC                                                                  Page 17 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 26 of 2156

Claim Name                              Address Information
A-1 SINGH TRUCKING INC                 12900 INKSTER RD ROMULUS MI 48174
A-1 TOWING & TRUCK REPAIR              D/B/A: A1 TOWING & TRUCK REPAIR 601 B ALBEMARLE ST CHARLOTTESVILLE VA 22903
A-1 TRAILER & TRUCK REPAIR LTD.        2314 B NORTHRIDGE DRIVE SASKATOON SK S7K 4R5 CANADA
A-1 TRANSPORTATION SERVICES            172 W 9400 S SANDY UT 84070
A-1 TRUCKING, INC.                     PO BOX 3227 ROME GA 30164
A-ASSURED LOCK SHOP                    C\O PRECISION LOCKSMITH 311 B AVE. SUITE E LAKE OSWEGO OR 97034
A-BAZNIAN EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
A-C ELECTRIC COMPANY                   PO BOX 81977 BAKERSFIELD CA 93380
A-C ELECTRIC SUPPLY                    ATTN: JORDIN BASSUK 741 SMITHTOWN BYPASS SMITHTOWN NY 11787
A-JACKS AUTO SERVICES & TOWING LLC     1948 N 4TH AVE PASCO WA 99301
A-LINE EXPRESS LLC (NEW BERLIN WI)     2188 S SANCTUARY DR NEW BERLIN WI 53151
A-LINE FRAME AND ALIGNMENT SERVICES LTD 3246 MILLAR AVE SASKATOON SK S7K 5Y2 CANADA
A-LIST TRUCKING LLC                    OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
A-N-B LOGISTICS LLC                    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
A-N-K TRUCKING LLC                     OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
A-ONE MOVE LLC                         6900 HOUSTON RD, SUITE 43 FLORENCE KY 41042
A-ONE TRUCKING MULTI SERVICES LLC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A-PLUS TRUCKING LLC                    OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
A-PLUS TRUCKING LLC                    OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A-S TRUCKING LLC                       7626 FRENCHMANS BAY AVE LAS VEGAS NV 89179
A-STR TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
A-TEAM EXPRESS ENTERPRISES INC         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
A-TECH PACKAGING & SHIPPING CO         PO BOX 6836 SANTA ROSA CA 95401
A-TEK PEST CONTROL                     931 NW 41 AVE MIAMI FL 33126
A-WON LOGISTICS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A. & D. TRANSPORTATION, INC.           PO BOX 246 DRIFTING PA 16834
A. C. TRUCKING                         405 S VASCONCELLOS AVE MANTECA CA 95336
A. C. TRUCKING, INC.                   133 TR HUGHES BLVD OFALLON MO 63366
A. DUIE PYLE, INC.                     ADDRESS ON FILE
A. J. TRANSPORTATION, INC.             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A. M. EXPRESS, INC.                    3000 29TH AVE N ESCANABA MI 49829
A. M. SALES TRANSPORT LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
A. PLUS                                3490 BUSKIRK AVENUE PLEASANT HILL CA 94523
A. S. LOGISTICS CORP.                  OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
A. V. TRANSPORTATION, INC.             2103 9TH AVENUE CAMANCHE IA 52730
A. VARGAS LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A.A.A. TRUCKING LLC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
A.C. KLOPF, INC.                       524 S. FRANKLIN SAGINAW MI 48607
A.D. LIFT TRUCK                        2588 SOLUTIONS CENTER CHICAGO IL 60677
A.D. ROMEROS TRUCKING                  OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
A.E. SERVICES                          537 HOUSTON ST WEST SACRAMENTO CA 95691
A.E.T                                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A.I.M. LOGISTICS                       7127 HOMESTEAD RD, SUITE B FORT WAYNE IN 46814
A.J TRUCKING SERVICES LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A.J. PROIA & SON ASPHALT PAVING INC    301 CONCORD ROAD BILLERICA MA 01821
A.L.L. TRANSPORT LLC                   OR FIVE STAR FACTORING LLC 5323 HIGHWAY N. PO BOX 45 COTTLEVILLE MO 63338
A.M.V. TRANSPORT                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
A.NEBLETT TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411



Epiq Corporate Restructuring, LLC                                                                    Page 18 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 27 of 2156

Claim Name                            Address Information
A.NEBLETT TRUCKING LLC                CHICAGO IL 60674-0411
A.P.O.W. EQUIPMENT                    844 NEPPERHAN AVE YONKERS NY 10703
A.R. AND SONS TRANSPORT, INC.         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
A.S.A TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A.S.A.P. ROADSIDE REPAIR              2301 SHINARUMP DRIVE GOLDEN VALLEY AZ 86413
A.S.L. GLOBAL LOGISTICS               11 BLAIR DRIVE BRAMPTON ON L6T2H4 CANADA
A/T TRANSPORTATION, LLC               PO BOX 275 FERDINAND IN 47532
A1 ABLE PEST DOCTORS                  PO BOX 2832 SPRINGFIELD OH 45501
A1 CARGO CORPORATION                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
A1 CARGO FREIGHT LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
A1 CARRIERS INC.                      132 STURBRIDGE LANE GRAND ISLAND NY 14072
A1 CARRIERS, LLP                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
A1 CONCRETE LEVELING & FOUNDATION     8529 CLEVELAND AVE NORTH CANTON OH 44720
REPAIR
A1 ELITE LOGISTICS INC                3808 MONROE ST DEARBORN MI 48124
A1 FREEMAN NORTH AMERICAN INC         11517 N BROADWAY EXT OKLAHOMA CITY OK 73114
A1 FREIGHT INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
A1 FREIGHT LLC                        18880 MARSH LN APT 505 DALLAS TX 75287
A1 GLOBAL TRUCKING LLC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
A1 PLUS DELIVERY SERVICE INC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
A1 TOWING & RECOVERY LLC              PO BOX 888 DOUGLAS WY 82633
A1 TOWING & TRUCK REPAIR              601 B ALBEMARLE ST CHARLOTTESVILLE VA 22903
A1 TRANS LLC                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
A1 TRANS LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
A1 TRANSPORT                          OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
A1 TRANSPORT LLC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
A1 TRANSPORTATION                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A1 TRANSPORTS LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
A1 TRUCKING ADVANTAGE                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
A1 TRUCKING LANE LLC                  42663 WOODWIND LANE CANTON MI 48188
A1 TRUCKING LLC                       OR TRANSAM FINANCIAL SERVICES, INC. PO BOX 872632 KANSAS CITY MO 64187
A1 WATER QUALITY                      1950 E. PACHECO BLVD. LOS BANOS CA 93635
A12 LOGISTICS LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
A1304 TRANSPORT INC                   PO BOX 200932 SAN ANTONIO TX 78220
A1A CARGO INC                         OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
A1A TRANSPORT INC                     417 SPRINGFIELD ST STE 211 AGAWAM MA 01001
A2-21 1333 NORTH MARKET LLC           2202 W 166TH ST MARKHAM IL 60428
A2.21 1333 NORTH MARKET LLC           ATTN: JONATHAN FRIEDMAN 2202 WEST 166TH STREET MARKHAM IL 60428
A2B EXPRESS INC                       OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
A2B LOGISTICS LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
A2B SERVICES LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A2B SYNCHRONIZED LOGISTICS, INC       209 DESOTO AVE MORRISTOWN TN 37813
A2B TRUCKING LLC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, STE 230 MORTON GROVE IL 60053
A2C LOGISTICS CO                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
A2E LOGISTICS INC                     ECAPITAL ORILLIA (CAN) 174 W ST S 2ND FL ORILLIA ON L3V6L4 CANADA
A2E TRANSPORT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
A2EXPRESS TRANSPORT INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
A2J TOWING & RECOVERY LLC             615 ELM STREET BUHL ID 83316
A2Z CARGO INC                         126 HAMPTON AVE WESTMONT IL 60559



Epiq Corporate Restructuring, LLC                                                                   Page 19 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 28 of 2156

Claim Name                              Address Information
A2Z CARRIER LLC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
A2Z LOGISTICS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
A2Z STAFFING SOLUTIONS INC              217 7895 TRANMERE DRIVE MISSISSAUGA ON L5S 1V9 CANADA
A2Z STAFFING SOLUTIONS INC              219-1300 STEELES AVE. EAST BRAMPTON ON L6T 1A2 CANADA
A3 LOGISTICS AND FREIGHT SERVICES LLC   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
A3M TRANSPORTATION INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
A4 TRUCKING LLC                         OR VIVA CAPITAL FUNDING, INC. PO BOX 17548 EL PASO TX 79917
A5 TRANSPORT INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AA CARRIERS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AA EXPRESS INC                          AA EXPRESS & LOGISTICS LLC 433 THATCHER AVE SAINT LOUIS MO 63147
AA EXPRESS LLC                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
AA FREIGHT INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AA INSULATION                           407 BOARDMAN ST. MEDFORD OR 97501
AA LOCKSMITH                            1054 LONSDALE AVE CENTRAL FALLS RI 02863
AA LOGISTICS GROUP INC                  8384 EDGEWOOD STREET CHINO CA 91708
AA ON SITE ROAD SERVICE                 1701 W WASHINGTON ST BLOOMINGTON IL 61701
AA PLUMBING                             6701 DIXIE HWY FAIRFIELD OH 45014
AA ROBS PLUMBING SERVICES               1000 BURCH DR MOSCOW TN 38057
AA ROBS PLUMBING SVC                    D/B/A: AA ROBS PLUMBING SERVICES 6205 MCKINSTRY RD MOSCOW TN 38057
AA SERVICES                             2725 BAPTIST ROAD NESBIT MS 38651
AA STAR TRUCKING                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
AA SYSTEMS TRUCK & BUS                  110 WYANDANCH AVE WYANDANCH NY 11798
AA TRANS                                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AA TRANS LLC (MC1380066)                OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 96-0479 OKLAHOMA CITY OK
                                        73196-0479
AA TRANSPORT INC                        223 HARNESS WAY DELWARE OH 43015
AA TRANSPORTATION LLC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
AA TRUCKING LLC (MC010294)              OR MDR CAPITAL LLC, PO BOX 686 FORT JONES CA 96032
AA&A SOUTHEASTERN TRANSPORTS LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AA&M SERVICES LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AA-EXPRESS LLC                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AAA                                     DITCHEY GEIGER, LLC 7123 PEARL ROAD, SUITE400 CLEVELAND OH 44130
AAA A-1 TRANSPORTATION LLC              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
AAA AUTO GLASS INC                      4030 HIGHWAY 31 W COTTONTOWN TN 37048
AAA AUTO TRANSPORT INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AAA CARRIER EXPRESS INC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
AAA CLEANING                            417 APPLEBLOSSOM BLVD. PEORIA IL 61604
AAA COOPER TRANSPORTATION               1751 KINSEY RD, PO BOX 6827 DOTHAN AL 36302
AAA EXPEDITED SERVICES LLC              OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AAA EXPRESS INC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AAA FENCE COMPANY OF CHARLESTON         PO BOX 2045 MT. PLEASANT SC 29465
AAA FIRE EXTINGUISHER CO INC            70 BACON ST PAWTUCKET RI 02860
AAA FIRE EXTINGUISHER CO INC            328 RODMAN RD AUBURN ME 04211
AAA FREIGHT INC                         AAA FREIGHT INC, PO BOX 14470 ST LOUIS MO 63178-4470
AAA LOGISTICS GROUP INC                 OR ASSIST FINANCIAL SERVICES, INC PO BOX 347 MADISON SD 57042
AAA LOGISTICS INC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
AAA PEST PROS                           PO BOX 20235 BOULDER CO 80308
AAA PUMP SERVICE INC.                   93 DEPOT RD MANCHESTER NH 03103



Epiq Corporate Restructuring, LLC                                                                     Page 20 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23       Page 29 of 2156

Claim Name                              Address Information
AAA SEMI TRUCK & TRAILER REPAIRS, LLC   11235 NORTHERN AVE LEESBURG FL 34788
AAA SOLUTIONS GROUP                     751 KETTERING RD COLUMBUS OH 43202
AAA SOLUTIONS GROUP                     650 MARION RD SHADYSIDE OH 43207
AAA STARS LOGISTICS LLC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AAA SUPPLY CORPORATION                  608 ROUTE 41 SCHERERVILLE IN 46375
AAA TIRE COMPANY INC                    127 MAIN STREET WILMINGTON MA 01887
AAA TRAILER LEASING LLC                 13571 SAINT CHARLES ROCK RD BRIDGETON MO 63044
AAA TRAILER LEASING LLC                 13816 MISSOURI BOTTOM RD BRIDGETON MO 63044
AAA TRAILER LEASING LLC                 13816 MISSOURI BOTTOM ROAD BRIDGETON IN 63044
AAA TRAILER SERVICES, INC               4605 CROSSROADS INDUSTRIAL DR BRIDGETON MO 63044
AAA TRANSIT GROUP LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AAA TRANSPORT INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AAA TRUCK REPAIR                        4702 E APACHE TULSA OK 74115
AAA TRUCKING INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AAA TRUCKING LLC (AUBURN WA)            16006 SE LAKE MONEYSMITH RD AUBURN WA 98902
AAA WHOLESALE FENCE CO                  4131 CURTIS LN SHREVEPORT LA 71109
AAAA EXPRESS TRANSPORT LLC              OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
AAAK TRUCKING LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AAAK TRUCKING LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AAAT TRUCKERS INC                       6555 EAST CHRISTINE AVE FRESNO CA 93727
AABBOTT-MICHELLI TECHNOLOGIES, INC      15050 W DR HOUSTON TX 77053
AAC TRANSPORT                           3820 W HAPPY VALLEY RD 452 GLENDALE AZ 85310
AAD TRUCKING & LOGISTICS LLC            OR G SQUARED FUNDING LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
AAF TRUCKING INC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AAF TRUCKING INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AAG SERVICES INC                        8309 LAUREL CANYON BLVD 184 SUN VALLEY CA 91352
AAG TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AAH EXPRESS LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AAJ TRUCKING LLC                        OR OPENROAD FINANCIAL SERVICES, INC PO BOX 484 DALLAS OR 97338
AAK EXPRESS LLC                         OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
AALIN LLC                               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AAM NETWORK INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AAM SOLUTIONS LLC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
AAM TRUCKING INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AAM TRUCKING LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AAMCO                                   ATTN: RAQUEL KNOLL 200 BUFFALO AVE FREEPORT NY 11520
AAMIR KHAN                              ADDRESS ON FILE
AAMM LOGISTICS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AAMR LLC                                OR REV CAPITAL, P.O.BOX 741791 LOS ANGELES CA 90074-1791
AAN TRUCKING INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AANA TRUCKING L.L.C.                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
AANENSON, MICHELLE                      ADDRESS ON FILE
AAO TRANSPO LLC                         OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
AAO TRANSPORTATION LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AAP TRANSPORT LLC                       52 ALBERT ST GARFIELD NJ 07026
AAR                                     P.O. BOX 426015 WASHINGTON DC 20042
AAR OF NORTH CAROLINA, INC.             655 PEDDYCORD ROAD KERNERSVILLE NC 27284
AAR TRUCKING INC                        OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320
AARAN LOGISTICS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101



Epiq Corporate Restructuring, LLC                                                                     Page 21 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 30 of 2156

Claim Name                            Address Information
AARD PEST CONTROL INC                 6019 212TH ST SW LYNNWOOD WA 98036
AARDEMA DEVELOPMENTS LLC              4255 RUFFIN RD SAN DIEGO CA 92123
AARDEMA, LYNN                         ADDRESS ON FILE
AARDVARK SWEEPING SERVICE LLC         5461 HOLMES RD MEMPHIS TN 38118
AARGUS PLASTIC CO                     540 ALLENDALE DR STE 100A WHEELING IL 60090
AARON & SONS ELECTRIC                 200 W38TH ST WILMINGTON DE 19802
AARON BURKS                           ADDRESS ON FILE
AARON CARRIER                         ADDRESS ON FILE
AARON COWART                          ADDRESS ON FILE
AARON EXPRESS LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AARON FALLON                          ADDRESS ON FILE
AARON FREIGHT SYSTEM                  10 PENDERGAST COURT BRAMPTON ON L6P 4G7 CANADA
AARON J GOODWIN                       ADDRESS ON FILE
AARON K NICHOLS                       ADDRESS ON FILE
AARON K WILLIAMS                      ADDRESS ON FILE
AARON L SMIRNOW                       ADDRESS ON FILE
AARON LORA                            ADDRESS ON FILE
AARON M JONES                         ADDRESS ON FILE
AARON M MCELVANY                      ADDRESS ON FILE
AARON P GRAHAM                        ADDRESS ON FILE
AARON P WHITE                         ADDRESS ON FILE
AARON TRANSPORT GROUP LLC             OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
AARON V ASCHER                        ADDRESS ON FILE
AARON VAVRA                           ADDRESS ON FILE
AARON W MOLLOHAN                      ADDRESS ON FILE
AARON W MOLLOHAN                      ADDRESS ON FILE
AARON, CORY                           ADDRESS ON FILE
AARON, RHYTHM                         ADDRESS ON FILE
AARON, RICHARD                        ADDRESS ON FILE
AARONS SEMI REPAIR INC                426 US HIGHWAY 191 ROCK SPRINGS WY 82901
AARONS TOWING LLC                     4265 BURROUGH DRIVE WARRENTON VA 20187
AARVIG, BRANT                         ADDRESS ON FILE
AARZA EXPRESS                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AARZA EXPRESS                         1903 MARINA DR LATHROP CA 95330
AAS CARRIER INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AAS LOGISTICS LLC                     OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
AASB LOGISTICS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AASLA TRANSPORT LTD                   OR AASLA TRANSPORT LTD, 5412 AERIAL CRES REGINA SK S4W0C9 CANADA
AAT TRUCKING LLC                      OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
AAVALOR TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AAVANT TRANSPORTATION LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                      IL 60674-0411
AAW TRANSPORTATION INC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AAZ EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AB & M TRUCKING LLC                   OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
AB AND JOE LLC                        605 PRIVETTE ST NE WILSON NC 27893
AB DELIVERIES LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AB ENTERPRISE LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AB EXPRESS USA LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320



Epiq Corporate Restructuring, LLC                                                                  Page 22 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG       DocService
                                                  655 Filed
                                                          List
                                                               09/25/23         Page 31 of 2156

Claim Name                             Address Information
AB FLAT EXPRESS CORP                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
AB ND LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AB PLUMBING                            507 OXFORD ST SAN FRANCISCO CA 94134
AB ROBINSON LOGISTICS LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AB SEALER                              N7212 FARWELL RD. BEAVER DAM WI 53916
AB TRUCK LINES INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AB& K TRUCKING LLC                     34 MERCER STR APT 1L WALLINGTON NJ 07057
AB&R (AMERICAN BARCODE AND RFID INC)   3431 E. ELWOOD ST. PHOENIX AZ 85040
ABAA TRANSPORTATION LLC                1700 MARTINIQUE DR MANSFIELD TX 76063
ABACHICHE, ERNEST                      ADDRESS ON FILE
ABACUS SEARCH & STAFFING LLC           10100 W 87TH ST 315 OVERLAND PARK KS 66212
ABAGAIL STEVENS                        ADDRESS ON FILE
ABAL MATERIAL HANDLING INC.            1401 PLANTATION RD NE ROANOKE VA 24012
ABANUKAM, AFAMDI                       ADDRESS ON FILE
ABAR, JAMES                            ADDRESS ON FILE
ABARCA, ANDREW                         ADDRESS ON FILE
ABARCA, DAVID                          ADDRESS ON FILE
ABARCA, JUAN                           ADDRESS ON FILE
ABAS BROTHERS LLC                      OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
ABATTI COMPANIES                       2015 SILSBEE ROAD EL CENTRO CA 92243
ABAY LOGISTICS LLC                     OR 18 WHEEL FUNDING LLC, DEPT 6029 PO BOX 4517 HOUSTON TX 77210-4517
ABAY RIVER TRUCKING LLC                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ABAYOMI P OLATUNJI                     ADDRESS ON FILE
ABB INC                                ATTN: LUIS RODRIGUEZ 2018 POWERS FERRY RD SE ATLANTA GA 30339
ABB MOTORS & MECHANICAL INC            PO BOX 2400 FORT SMITH AR 72902
ABB MOTORS AND MECHANICAL              139 COX AVE CROSSVILLE TN 38555
ABBA FUELS                             237 ALBANY ST SPRINGFIELD MA 01105
ABBA FUELS, INC.                       P.O. BOX 5212 ESSEX JUNCTION VT 05453
ABBAS LOGISTICS INC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
ABBAS, SALMAN                          ADDRESS ON FILE
ABBH TRUCKING INC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ABBIE TAN                              ADDRESS ON FILE
ABBOS INC                              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ABBOS TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ABBOT INDUSTRIAL                       11604 HART S NORTH HOLLYWOOD CA 91605
ABBOT TECHNOLOGIES, INC                8203 VINELAND AVENUE SUN VALLEY CA 91352
ABBOTT FURNACE CO                      1068 TROUT RUN RD, PO BOX 967 SAINT MARYS PA 15857
ABBOTT LUIS TRUCKING LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ABBOTT OIL COMPANY, INC.               PO BOX 3639 AUGUSTA GA 30914
ABBOTT, SHANON                         ADDRESS ON FILE
ABBOTT, SHAWN                          ADDRESS ON FILE
ABBOTT, STEVEN                         ADDRESS ON FILE
ABBOTT, STEVEN                         ADDRESS ON FILE
ABBOTT, VICTOR                         ADDRESS ON FILE
ABBOTT, WESLEY                         ADDRESS ON FILE
ABBOTT, WILLIAM                        ADDRESS ON FILE
ABBVIE                                 ATTN: KELLY BROWN 1401 SHERIDAN RD. NORTH CHICAGO IL 60044
ABBY TRUCKING LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ABC CARGO INC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                   Page 23 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 32 of 2156

Claim Name                            Address Information
ABC CORPORATION                       94-085 LEONUI ST WAIPAHU HI 96797
ABC DOORS                             PO BOX 20485 HOUSTON TX 77225
ABC FIRE EXTINGUISHER INC             4848 NE 102ND AVENUE PORTLAND OR 97220
ABC FIRE EXTINGUISHER, INC.           4641 PEOPLES RD PITTSBURGH PA 15237
ABC FIRE INC.                         10250 ROYALTON RD NORTH ROYALTON OH 44133
ABC FIRE PROTECTION                   PO BOX 461031 PAPILLION NE 68046
ABC FIRE PROTECTION                   P.O. BOX 951 FREMONT CA 94537
ABC GREAT LOGISTICS INC               17128 COLIMA RD 432 HACIENDA HEIGHTS CA 91745
ABC HOME & COMMERCIAL SERVICES        ATTN: CORPUS CHRISTI, 9475 E HWY 290 AUSTIN TX 78724
ABC LIGHTNING EXPRESS, LLC            OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
ABC PLUMBING HEATING & AC             205 22ND ST SACRAMENTO CA 95816
ABC STAMP SIGNS & AWARDS              407 N ORCHARD ST BOISE ID 83706
ABC SUPPLY                            3810 W. RIVER DR. DAVENPORT IA 52802
ABC SUPPLY                            2233 PRODUCTION DR. ROCA NE 68430
ABC SUPPLY 008                        150 STATE ST ST PAUL MN 55107
ABC TOWING                            10315 E MARGINAL WAY S TUKWILA WA 98168
ABC TOWING & TRANSPORT                OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
ABC TRANSPIRATION LLC                 OR ASSIST FINANCIAL SERVICES, INC PO BOX 347 MADISON SD 57042
ABC TRANSPORTATION LLC                OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
ABC TRUCKING INC                      OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
ABC TURN KEY CONSTRUCTION             517 MADISON AVE GLENCOE IL 60022
ABC WATER SPECIALTY INC               2918 CAVALERO RD LAKE STEVENS WA 98258
ABCK TRUCKING LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ABCO SERVICES                         701 N WESTWOOD AVE TOLEDO OH 43607
ABDALLAH, MOHAMMED                    ADDRESS ON FILE
ABDEL AZIZ, JASMIN                    ADDRESS ON FILE
ABDERRAHIM MOUDRIK                    ADDRESS ON FILE
ABDESHO KAVSI, ANLIL                  ADDRESS ON FILE
ABDO, RICKY                           ADDRESS ON FILE
ABDOLOS, ABDOLROHMAN                  ADDRESS ON FILE
ABDUL AZIZ                            ADDRESS ON FILE
ABDUL LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ABDUL RAFAY                           ADDRESS ON FILE
ABDUL TRUCKING                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ABDUL-AZIZ, YUSAF                     ADDRESS ON FILE
ABDUL-WAHHAB, HEBA                    ADDRESS ON FILE
ABDULKADIR MOHAMED                    ADDRESS ON FILE
ABDULLAH, ALI                         ADDRESS ON FILE
ABDULLAH, HASSAN                      ADDRESS ON FILE
ABDULLAH-RAUF, YUSUF                  ADDRESS ON FILE
ABDUS TRUCKING LLC                    1205 DOMINIC ST MANVILLE NJ 08835
ABDUS-SHAKUR, JASIR                   ADDRESS ON FILE
ABE EXPRESS INC                       865 W TORREON WAY LINCOLN NE 68523
ABE EXPRESS INC                       OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
ABE TECH, INC.                        12560 FLETCHER LN STE 100 ROGERS MN 55374
ABE TRANSPORTS                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ABE, INC.                             5019 N. 56TH ST. MILWAUKEE WI 53218
ABEBE, FULLAS                         ADDRESS ON FILE
ABEL M VERTIZ                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 24 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23      Page 33 of 2156

Claim Name                              Address Information
ABEL SCHAFER                            ADDRESS ON FILE
ABEL, BARBARA                           ADDRESS ON FILE
ABEL, JAMES                             ADDRESS ON FILE
ABEL, KEVIN                             ADDRESS ON FILE
ABEL, MATTHEW                           ADDRESS ON FILE
ABELEXPRESS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ABELL PEST CONTROL INC                  2990 RUE HALPERN SAINT-LAURENT QC H4S 1R2 CANADA
ABELL PEST CONTROL INC                  3075 RIDGEWAY DR UNIT 27 MISSISSAUGA ON L5L 5M6 CANADA
ABELL PEST CONTROL INC                  1353 SPRUCE ST WINNIPEG MB R3E 2V8 CANADA
ABELL PEST CONTROL INC                  109- 3851 MANCHESTER RD S E CALGARY AB T2G 3Z8 CANADA
ABELLARD, SEENDY                        ADDRESS ON FILE
ABELN, DEREK                            ADDRESS ON FILE
ABELS TRANSPORT LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ABENITY, INC.                           725 COOL SPRINGS BLVD. SUITE 600 FRANKLIN TN 37067
ABENJ TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ABERCROMBIE, WILLIAM                    ADDRESS ON FILE
ABERDEEN EXPRESS, INC.                  2490 COMMERCE BLVD SHARONVILLE OH 45241
ABERNATHY COMPANY                       1033 JACK WELLS BLVD SHREVEPORT LA 71107
ABERNATHY COMPANY                       ABERNATHY SHREVEPORT DISTRIBUTIONS 3820 EAST 19TH ST TEXARKANA AR 71854
ABERNATHY, DARRELL D                    ADDRESS ON FILE
ABERNATHY, JOHN                         ADDRESS ON FILE
ABERNATHY, KURT                         ADDRESS ON FILE
ABERNATHY, KURT                         ADDRESS ON FILE
ABERNATHY, PIERRE                       ADDRESS ON FILE
ABERNATHY, RICK J                       ADDRESS ON FILE
ABERNATHY, ROBERT                       ADDRESS ON FILE
ABERNATHY, ROY                          ADDRESS ON FILE
ABERNATHY, STUART                       ADDRESS ON FILE
ABERNETHY, SEAN                         ADDRESS ON FILE
ABERS TOWING & CRANE SERVICE            1180 COMMERCE PKWY ASHLAND OH 44805
ABERT, DAVID                            ADDRESS ON FILE
ABESCO FIRE LLC                         ATTN: DALE REDMOND PO BOX 555647 ORLANDO FL 32855
ABESTE TRUCKING LLC                     OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ABETTAMI LLC                            OR TAB BANK, PO BOX 150830 OGDEN UT 84415
ABEVERIDGE, PHILLIP                     ADDRESS ON FILE
ABEYTA, DOMINIC                         ADDRESS ON FILE
ABF                                     10995 CANAL RD. CINCINNATI OH 45241
ABF FREIGHT SYSTEM, INC.                ATTN: MIKE ROGERS 3801 OLD GREENWOOD ROAD FORT SMITH AR 72903
ABF FREIGHT SYSTEM, INC.                ATTN: REAL ESTATE DEPT 3801 OLD GREENWOOD RD FORT SMITH AR 72903
ABH LOGISTICS COMPANY LLC               OR S. S BROWNFUNDING, PO BOX 173398 ARLINGTON TX 76003
ABH WORLDWIDE LLC                       812 MOHICAN DRIVE EASTON PA 18040
ABI BROTHERS LLC                        OR RTS FINACIAL SERIVCE, INC PO BOX 840267 DALLAS TX 75284
ABI EXPRESS INC                         OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
ABI IGLESIAS TRANSPORT INC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ABI TRUCKING                            OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
ABI TRUCKING INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ABIIB LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ABILENE GASOLINE & DIESEL SERVICE LLC   8664 INTERSTATE 20 MERKEL TX 79536
ABILI, EDWARD                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 25 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23      Page 34 of 2156

Claim Name                               Address Information
ABILI, EDWARD                            ADDRESS ON FILE
ABILITY FIRST                            789 NORTH FAIR OAKS AVE PASADENA CA 91103
ABIQUA ELECTRIC LLC                      PO BOX 9212 BROOKS OR 97305-0212
ABIR TRUCKING CORP                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ABJ LOGISTICS INC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ABJ TRANSPORT                            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ABK LOGISTICS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ABL EMPLOYMENT                           PEOPLE2.0 WORKFORCE SERVICES PO BOX 57584 STN A TORONTO ON M5W 5M5 CANADA
ABL TRANSPORT                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ABL TRANSPORT LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ABL TRUCKING LLC                         901 S 1800 W WOODS CROSS UT 84087
ABLE DISTRIBUTION                        ATTN: CHRIS HAGLUND 1650 S 108TH STREET WEST ALLIS WI 53214-4021
ABLE EQUIPMENT RENTAL INC                PO BOX 69335 BALTIMORE MD 21264
ABLE LOGISTICS LLC (RALEIGH NC)          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ABLE SR, JAMES                           ADDRESS ON FILE
ABLE TRANSIT LLC                         OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ABLE TRANSIT LTD                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
ABM                                      3500 S LAFOUNTAIN STREET KOKOMO IN 46902
ABM BUILDING SERVICES LLC                PO BOX 74008829 CHICAGO IL 60674
ABM CARRIER                              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ABM EXPRESS INC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ABM TRANSPORT LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ABM TRUCKING LLC                         10898 QUEENS ARBOR DR RANCHO CORDOVA CA 95670
ABMAIGA LLC                              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ABN AMROCC (0695)                        ATT PROXY DEPT 175 W. JACKSON BLVD STE 2050 CHICAGO IL 60605
ABN LOGISTICS LLC                        2805 HICKORY DR EASTON PA 18040
ABN LOGISTICS LLC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ABN TRANSPORT INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ABNA LOGISTICS LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ABNER, PAUL                              ADDRESS ON FILE
ABO EXPRESS INC                          OR MCDOWELL FACTOR & CAPITAL SVICS, LLC ALTAMONTE SPRINGS FL 32716-1086
ABO LOGISTICS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ABO LOGISTICS INC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ABO TRANSPORT LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ABO TRANSPORT LLC (MC1012418)            OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
ABODE CRESPO, ANTHONY                    ADDRESS ON FILE
ABONCE, AGUSTIN                          ADDRESS ON FILE
ABOOSTO TRUCKING LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ABOTSI, JEFFREY                          ADDRESS ON FILE
ABOUT LOGISTICS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ABOUT TIME LLC                           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
ABOVE ALL CLEANING, INC.                 PO BOX 435 AUSTIN MN 55912
ABOVE ALL TRUCKING INC                   OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FL ORILLIA ON L3V 6L4 CANADA
ABOVE AND BEYOND DRAINS & PLUMBING INC   1671 FALCON PEAK ST CHULA VISTA CA 91913
ABOVE BOARD LOGISTICS INC                OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ABR TRANSPORTATION LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ABRACADABRA LOGISTICS                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ABRAHAM                                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ABRAHAM FREIGHT LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                      Page 26 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 35 of 2156

Claim Name                               Address Information
ABRAHAM, AHMED                           ADDRESS ON FILE
ABRAHAM, APRIL                           ADDRESS ON FILE
ABRAHAM, JEREMY                          ADDRESS ON FILE
ABRAHAM, KYLE                            ADDRESS ON FILE
ABRAHAM, LAWANNA                         ADDRESS ON FILE
ABRAHAMSON, RICHARD                      ADDRESS ON FILE
ABRAM EXPEDITED LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ABRAMS                                   124 LEPAGE COURT TORONTO ON M3J 1Z9 CANADA
ABRAMS, LUCEION                          ADDRESS ON FILE
ABRAXUS SALT LLC                         PO BOX 30550 CLEVELAND OH 44130
ABRE CAMINO EXPRESS LLC                  OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
ABREGO TRANSPORT LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ABREMMS SHIPPING LLC                     OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ABREU, THOMAS                            ADDRESS ON FILE
ABRHIM TRUCKING LLC                      6711 HORNWOOD DR APT 247 HOUSTON TX 77074
ABRIL, ERIK                              ADDRESS ON FILE
ABRR EXPRESS LLC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ABRUZZINI, DAVID                         ADDRESS ON FILE
ABS TRANS INC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ABS TRANSPORT & LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ABS TRANSPORT INC                        OR BP FINANCIAL LLC 161 ROUTE 59 STE 203A MONSEY NY 10952
ABS TRANSPORT INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ABS TRANSPORTS LIMITED                   150 SEINE ROAD STE ANNE MB R5H 1C7 CANADA
ABS TRUCKING                             PO BOX 292324 SACRAMENTO CA 95829
ABS TRUCKING LLC                         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ABSCO ALARMS, INCORPORATED               PO BOX 2246 LYNNWOOD WA 98036
ABSD TRANSPORT INC                       OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
ABSHAY TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ABSHIRE, CHRISTOPHER                     ADDRESS ON FILE
ABSOLUTE ADVERTISING                     14052 W. 90TH AVE SAINT JOHN IN 46373
ABSOLUTE COMFORT INC                     PO BOX 1666 MINOT ND 58703
ABSOLUTE DEPENDABLE TRANSPORTATION LLC   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ABSOLUTE EXPRESS INC                     OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
ABSOLUTE LOCK & SAFE                     PO BOX 200144 SAN ANTONIO TX 78220
ABSOLUTE NEW YORK                        19 HARBOR PARK DR PORT WASHINGTON NY 11050
ABSOLUTE PEST CONTROL                    10 WILLOW TREE LN POUGHKEEPSIE NY 12601
ABSOLUTE POWER                           725 N 26TH AVE PASCO WA 99301
ABSOLUTE SOLUTIONS                       1113 MOOTY BRIDGE RD LAGRANGE GA 30240
ABSOLUTE SPILL RESPONSE LLC              PO BOX 309, 21 METRO WAY, SUITE 2 BARRE VT 05641
ABSOLUTE TOTAL SERVICES LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ABSOLUTE TRANSPORTATION, INC.            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ABSOLUTE TRUCKING INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ABSOLUTE WORLDWIDE LOGISTICS, INC.       PO BOX 7474 BALTIMORE MD 21227
ABSOPURE WATER CO                        DEPT 489998, PO BOX 701760 PLYMOUTH MI 48170
ABSOPURE WATER COMPANY                   DEPT 11 489998, PO BOX 701760 PLYMOUTH MI 48170
ABT BROTHERS LLC                         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
ABT CONTRACT INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ABT ELECTRONICS ECHO                     ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ABTK TRANSPORTS LLC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411



Epiq Corporate Restructuring, LLC                                                                      Page 27 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 36 of 2156

Claim Name                            Address Information
ABTS, DOUGLAS                         ADDRESS ON FILE
ABU RAHMAN TRUCKING LLC               OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
ABU-ALI, OSAMA                        ADDRESS ON FILE
ABU-DAKAR, SHUHAB                     ADDRESS ON FILE
ABU-GHANNAM, KHALED                   ADDRESS ON FILE
ABU-GHANNAM, MOHAMMAD                 ADDRESS ON FILE
ABUBAKAR, AMIR                        ADDRESS ON FILE
ABUKERE, MORRISON                     ADDRESS ON FILE
ABUNDANCE TRANSPORT LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ABUNDANT NETWORK LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ABUNDANT PURPOSE, LLC                 OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
ABURTO, RODRIGO                       ADDRESS ON FILE
ABV CARRIERS CORPORATION              OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
ABX                                   7183 CARLS HILL RD ZIONSVILLE PA 18092
ABY, BRANDON                          ADDRESS ON FILE
ABYAN TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ABYNABI LLC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ABYSSINIA TRANSPORT LLC               OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ABZOLUTE FREIGHT LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AC DUKES TRANSPORT LLC                OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AC FREIGHT SOLUTIONS INC.             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
AC HENRY TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
AC HENRY TRUCKING LLC                 4010 CHESTER BAY LANE MISSOURI CITY TX 77459
AC LOGISTICS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AC PRIMO TRANSPORT                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
AC ROYALTY GROUP LLP                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AC TRADE & LOGISTICS LLC              12014 SARA RD LAREDO TX 78045
AC TRANS INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AC TRANSIT INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
AC TRANSPORT SERVICES INC.            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AC TRANSPORT SERVICES, INC            PO BOX 4032 RANCHO CUCAMONGA CA 91729
AC TRANSPORTATION LLC                 OR TRANSPORT FACTORING, INC PO BOX 167648 IRVING TX 75016
AC TRANSPORTATION LLC (MC1137282)     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AC TRUCKING LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AC TRUCKING LLC (MC1156818)           OR FRONTIER FUNDING, INC, PO BOX 24245 OVERLAND PARK KS 66285
ACA TRUCKING PARTNERS INC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ACABRERAFESS TRANSPORTATION INC .     OR INTERNET TRUCKSTOP PAYMENTS , DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
ACADEMIA TRUCKING CORP                OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                      33631-3792
ACAR LEASING LTD                      D/B/A GM FINANCIAL LEASING PO BOX 183853 ARLINGTON TX 76096
ACARAURE TRANSPORTS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ACASH TRANSPORTATION LLC              OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ACCEL AUTO AND TRUCK REPAIR           W6131 SCHROTH LANE, SUITE A GREENVILLE WI 54942
ACCEL TRANS LOGISTICS INC             OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
ACCELERATE FREIGHT LLC                5214 PAHALA DRIVE IDAHO FALLS ID 83404
ACCENT DECOR                          BGL, 2846 S FALKENBURG RD RIVERVIEW FL 33578
ACCENT MOVING & STORAGE INC           400 N POPLAR AVE BROKEN ARROW OK 74012-2335
ACCESS AMERICAN TRANSPORT INC         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                   Page 28 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 37 of 2156

Claim Name                              Address Information
ACCESS ANVIL CORP                       PO BOX 98 SCHUYLERVILLE NY 12871
ACCESS CARGO SERVICES INC               6334 VISCOUNT RD MISSISSAUGA ON L4V 1H3 CANADA
ACCESS CONTROL SYSTEMS LLC              7336 COCKRILL BEND BLVD NASHVILLE TN 37209
ACCESS CONTROL SYSTEMS OF S FLORIDA     12911 SW 147 TERRANCE RD MIAMI FL 33186
CORP
ACCESS CONVERSIONS                      2795 ANDERSON AVE 22 KLAMATH FALLS OR 97603
ACCESS ELECTRIC SUPPLY                  ATTN: NATE MAJOR 235 AIRPORT WAY RENTON WA 98057
ACCESS OVERHEAD DOORS INC               4555 FOREST HILL CIRCLE FOREST HILL TX 76140
ACCESS TONNA LOCK SERVICE               2490 STONY CREEK DR OWATONNA MN 55060
ACCESS TRUCK TRAILER REPAIR             1096 W MADRONA ST RIALTO CA 92376
ACCESS TRUCK TRAILER REPAIR             12790 MISSION DR YUCAIPA CA 92399
ACCESSIBLE DISTRIBUTORS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ACCESSORIE AIR COMPRESSOR SYSTEMS, INC. 1858 N CASE ST ORANGE CA 92865
ACCO BRANDS                             ATTN: AMY SMITH CASS INFORMATION SYSTEMS PO BOX 17600 ST LOUIS MO 63178
ACCO BRANDS                             CASS INFORMATION SYSTEMS PO BOX 17600 ST LOUIS MO 63178
ACCO BRANDS CORPORATION                 3400 WEST VALLEY HWY SUMNER WA 98390
ACCOMMODATING LOGISTICS AND FREIGHT     2706 SE LOOP 820 FORT WORTH TX 76140
ACCORD OCCUPATIONAL HEALTH SERVICES     AOHS 1 PETRO PLACE SUITE 1 GIRARD OH 44420
ACCORD OCCUPATIONAL HEALTH SERVICES     AOHS, 1 PETRO PLACE, SUITE 6 GIRARD OH 44420
ACCOUNTEMPS                             12400 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ACCU TRAILER & TRUCK REPAIR LLC         PO BOX 188 OAK CREEK WI 53154
ACCU WEATHER INC                        385 SCIENCE PARK RD STATE COLLEGE PA 16803
ACCU-TECH CORP                          11350 OLD ROSWELL ROAD, SUITE 100 ALPHARETTA GA 30009
ACCURACY TRANS LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ACCURATE CARGO DELIVERY SYSTEMS, INC.   PO BOX 20667 PHOENIX AZ 85036
ACCURATE DELIVERY                       424 122ND AVE NE BLAINE MN 55434
ACCURATE FIRE EQUIPMENT CO. INC.        10528 EAST 12TH STREET TULSA OK 74128
ACCURATE FORKLIFT                       1120 OAKLEIGH DR EAST POINT GA 30344
ACCURATE LOGISTICS & TRUCKING INC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ACCURATE STAINLESS FASTNERS             530 E. LEXINGTON AVE. SUITE 147 ELKHART IN 46516
ACCURATE SUPERIOR SCALE                 PO BOX 959823 ST LOUIS MO 63195
ACCURATE TRANSPORTATION, INC.           2150 CLOVERLEAF ST EAST COLUMBUS OH 43232
ACCURIDE                                ATTN: NAYELY OLIVA 1749 STERGIOS RD CALEXICO CA 92231
ACCUSCREEN DRUG & ALCOHOL TESTING       1607 FALCON DRIVE, SUITE 102 DESOTO TX 75115
ACCUSTRIPE INC                          332 MURIEL ST NE ALBUQUERQUE NM 87123
ACE                                     ATTN: ADRIENNE LOGAN, LEGAL ANALYST 436 WALNUT ST PHILADELPHIA PA 19106
ACE                                     OR VISION FACTORING LLC P.O. BOX 30015 DEPT. 229 SALT LAKE CITY UT 84130
ACE 24 HR TOWING                        P.O. BOX 117 BISMARCK ND 58502
ACE AMERICA                             22 ATKINSON LN NEWTOWN PA 18940
ACE AUTO ELECTRIC LTD                   361 LOGAN AVE WINNIPEG MB R3A 0P8 CANADA
ACE CARGO LLC                           OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
ACE COMMERCIAL FENCE INC                2825 ROBINSON DR WACO TX 76706
ACE DORAN HAULING & RIGGING CO          PO BOX 896805 CHARLOTTE NC 28289
ACE ELASTOMERS                          320 BRYANT BLVD ROCK HILL SC 29732
ACE ELECTRIC SERVICE COMPANY, LLC       1480 BREDA DRIVE FOUNTAIN CITY TN 37918
ACE FLAG COMPANY, INC.                  5444 TRANSIT RD. DEPEW NY 14043
ACE FREIGHTWAY INC                      OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
ACE GLASS CONSTRUCTION CORP             PO BOX 2000 LITTLE ROCK AR 72203
ACE HARDWARE                            9680 FOLEY BLVD COON RAPIDS MN 55433



Epiq Corporate Restructuring, LLC                                                                     Page 29 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 38 of 2156

Claim Name                              Address Information
ACE HARDWARE                            PO BOX 200 AURORA IL 60506
ACE HARDWARE                            VTM, PO BOX 200 AURORA IL 60507
ACE HARDWARE CORPORATION                16038 COSTELLOS ACE HARDWARE 1305 NEW BRIDGE RD NORTH BELLMORE NY 11710
ACE HARDWARE CORPORATION                3899 HEMPSTEAD TPKE BETHPAGE NY 11714
ACE HARDWARE CORPORATION                C/O COSTELLOS ACE HARDWARE 770-11 GRAND BLVD DEER PARK NY 11729
ACE HARDWARE CORPORATION                ATTN: TRAFFIC DEPT 2222 KENSINGTON COURT OAK BROOK IL 60523
ACE HARDWARE7504 COSTELLOS HARDWARE     770-14 GRAND BLVD. DEER PARK NY 11729
ACE HOME                                409 E. WATKINS PHOENIX AZ 85004
ACE KING TRUCKING LLC                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
ACE LOGISTICS INC                       OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
ACE LOGISTIX LLC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ACE MOTOR GROUP INC                     1482 CHIPPEWA TRL WHEELING IL 60090
ACE MOTOR GROUP INC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
ACE OF STATE CO                         8118 THOMAS ST APT 2E JUSTICE IL 60458-1623
ACE SOLUTIONS HOLDING INC               ATTN: CALVIN HU 14-34 112TH ST COLLEGE POINT NY 11356
ACE SPOKANE RSC                         TRAFFIC DEPT, PO BOX 3708 SPOKANE WA 99220
ACE SPOKANE RSC                         10110 W AERO RD BLDG A SPOKANE WA 99224
ACE SPOKANE RSC                         10110 W AERO RD SPOKANE WA 99224
ACE TOWING                              501 BROAD ST KLAMATH FALLS OR 97601
ACE TOWING INC C\O RANDY HOFER          2425 W MASON, PO BOX 13184 GREEN BAY WI 54307
PRESIDENT
ACE TOWING INC C\O RANDY HOFER          D/B/A: ACE TOWING, INC. 2425 W MASON, PO BOX 13184 GREEN BAY WI 54307
PRESIDENT
ACE TOWING, INC.                        4000 N CLIFF AVE SIOUX FALLS SD 57104
ACE TOWING, INC.                        501 S. BROAD STREET KLAMATH FALLS OR 97601
ACE TOWING, INC.                        504 S. BROAD STREET KLAMATH FALLS OR 97601
ACE TRANS INC                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ACE TRANSPORT LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ACE TRANSPORTATION                      OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
ACE TRANSPORTATION & DISPATCH SVC INC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ACE TRANSPORTATION INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ACE TRANZ LLC                           OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
ACE TRUCK BODY & TRAILER REPAIR, INC.   4930 BUFORD HWY NORCROSS GA 30071
ACE TRUCK SHOP                          1600 THRAILKILL RD GROVE CITY OH 43123
ACE WHOLESALE                           2008 48TH AVENUE CT E FIFE WA 98424
ACE WILDLIFE SERVICE INC                PO BOX 470302 BROADVIEW HTS. OH 44147
ACE WRECKER SERVICE                     P.O. BOX 628703 ORLANDO FL 32862
ACEBEDO US, NELSON                      ADDRESS ON FILE
ACEDO, JAIRO                            ADDRESS ON FILE
ACER AMERICA CORP                       ATTN: CHRISTY DING 1730 N 1ST ST STE 400 SAN JOSE CA 95112
ACER AMERICA CORP                       ATTN: CHRISTY DING LOGISTICS/OUTBOUND 1730 N 1ST ST STE 400 SAN JOSE CA 95112
ACES & EIGHTS TRUCKING CO               OR SMART FREIGHT FUNDING, PO BOX 3474 OMAHA NE 68103
ACES & EIGHTS TRUCKING LLC              5060 MARTON RD ANN ARBOR MI 48108
ACES TRANSPORT & LOGISTICS LLC          OR TRIUMPH FINANCIAL SERVICES, LLC DALLAS TX 75261-0028
ACEVEDO, ANGEL                          ADDRESS ON FILE
ACEVEDO, FIDELIO                        ADDRESS ON FILE
ACEVEDO, RICHARD                        ADDRESS ON FILE
ACEVEDO, RODIN                          ADDRESS ON FILE
ACEVES, ADRIANA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 30 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23        Page 39 of 2156

Claim Name                             Address Information
ACEVES, ALFREDO                        ADDRESS ON FILE
ACF WEST                               8951 SE 76TH DR PORTLAND OR 97206
ACG FREIGHT INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ACH LOGISTICS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ACH TRANS INC                          OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
ACHAIGUA, MICHAEL                      ADDRESS ON FILE
ACHE LOGISTICS CORP                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ACHENBACH, SAM                         ADDRESS ON FILE
ACHERON LAND HOLDINGS ULC              ATTN: TODD WHITE 12225 STEPHENS ROAD WARREN MI 48089
ACHERON LAND HOLDINGS ULC              C/O CROWN ENTERPRISES, 12225 STEPHENS RD WARREN MI 48089
ACHIEVEMENT CORP                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ACHINT TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ACHTYL, ALAN                           ADDRESS ON FILE
ACHTYL, BRYAN                          ADDRESS ON FILE
ACHZIGER, RANDOLPH                     ADDRESS ON FILE
ACI ASPHALT & CONCRETE INC             PO BOX 1656 MAPLE GROVE MN 55311
ACI.                                   2872 US HIGHWAY 93 N VICTOR MT 59875
ACIRE TRANSPORT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ACJ RADIATORS INC                      8790 BRIGHTON RD COMMERCE CITY CO 80022
ACK TRANS INCORPORATION                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ACK TRANSPORT INC                      15552 DESERT ROSE DR FISHERS IN 46037
ACK TRANSPORTATION AND LOGISTICS LLC   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ACKER, CANDIDA                         ADDRESS ON FILE
ACKER, CHRISTIAN                       ADDRESS ON FILE
ACKER, DONALD                          ADDRESS ON FILE
ACKER, LAWANNA                         ADDRESS ON FILE
ACKERMAN, CHARLES E                    ADDRESS ON FILE
ACKERMAN, JAMES                        ADDRESS ON FILE
ACKERMAN, JARED                        ADDRESS ON FILE
ACKERMAN, RAYMOND                      ADDRESS ON FILE
ACKERMAN, ROBERT                       ADDRESS ON FILE
ACKERMAN, SCOTT                        ADDRESS ON FILE
ACKERMAN, WILLIAM                      ADDRESS ON FILE
ACKLANDS - GRAINGER INC                PO BOX 2970 WINNIPEG MB R3C4B5 CANADA
ACL COMMERCIAL SVCES CORP              OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ACL LOGISTICS                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ACL MASONRY LTD                        119-12159 44 ST SE CALGARY AB T2Z 4H3 CANADA
ACL SERVICES LTD                       C/O TX9113U, PO BOX 55950 BOSTON MA 02205
ACLASS LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ACM TRANSPORT SPECIALISTS LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ACM TRANSTAR INC                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ACME CLAIMS DEPT                       18101 E COLFAX AVE AURORA CO 80011
ACME CONSTRUCTION SUPPLY               PO BOX 2089 LAKE GROVE OR 97035
ACME DISPLAY FIXTURE CO                3829 S BROADWAY LOS ANGELES CA 90037
ACME DIST TERUMOBCT                    PO BOX 17729 DENVER CO 80217
ACME DIST TOBACCO PROGRAM              PO BOX 17729 DENVER CO 80217
ACME DISTRIBUTION                      PO BOX 17729 DENVER CO 80217
ACME DOCK SPECIALISTS INC              3030 GILLHAM RD KANSAS CITY MO 64108
ACME ENGINEERING & MFG                 ATTN: REGINA KASH 1820 N YORK MUSKOGEE OK 74401



Epiq Corporate Restructuring, LLC                                                                    Page 31 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 40 of 2156

Claim Name                            Address Information
ACME FIRE DOOR TESTING CORP           1099 LINDEN AVE, PO BOX 33 RIDGEFIELD NJ 07657
ACME FIRE EXTINGUISHER CO             1305 FRUITVALE AVE OAKLAND CA 94601
ACME FIRE FIGHTING DEVICES            6698 PONDEROSA ST CENTRAL POINT OR 97502
ACME FOUNDRY ECHO                     ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ACME LOGISTICS, INC.                  P. O. BOX 142 GREENVILLE SC 29607
ACME MANUFACTURING COMPANY            ATTN: BROOKE RIGGIN 4661 MONACO ST DENVER CO 80216
ACME MANUFACTURING INC                90099 PRAIRIE RD EUGENE OR 97402
ACME PEST CONTROL CO., INC.           PO BOX 1147 CONCORD NC 28026
ACME TRANSPORT LTD                    SUITE 603 1A-12830 96TH AVE SURREY BC V3V 0C2 CANADA
ACME TRUCK BRAKE & SUPPLY CO          2333 ARTHUR AVENUE ELK GROVE VILLAGE IL 60007
ACME TRUCK BRAKE & SUPPLY CO          ATTN: JAN DUDEK, 2333 ARTHUR AVE ELK GROVE VILL IL 60007
ACME UNITED CORP                      2280 TANNER RD ROCKY MT NC 27801
ACO POWER                             4120 VALLEY BLVD. WALNUT CA 91789
ACO, MAUREEN                          ADDRESS ON FILE
ACOCK, TERRY                          ADDRESS ON FILE
ACORN LOGISTICS INC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ACORN PETROLEUM, INC.                 P.O. BOX 561312 DENVER CO 80256
ACORN PETROLEUM, INC.                 PO BOX 603 COLORADO SPRINGS CO 80901
ACOSTA TRANS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ACOSTA TRUCKS II LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ACOSTA, CARLOS                        ADDRESS ON FILE
ACOSTA, CHRISTIAN                     ADDRESS ON FILE
ACOSTA, EDUARDO                       ADDRESS ON FILE
ACOSTA, EFREN                         ADDRESS ON FILE
ACOSTA, ERNESTO                       ADDRESS ON FILE
ACOSTA, GILBERT                       ADDRESS ON FILE
ACOSTA, JAIME                         ADDRESS ON FILE
ACOSTA, JOSE                          ADDRESS ON FILE
ACOSTA, KENY                          ADDRESS ON FILE
ACOSTA, MITCHELL                      ADDRESS ON FILE
ACOSTA-GOMEZ, RAFAEL                  ADDRESS ON FILE
ACOUSTICS ARCHITECTS                  70 NW 73RD STREET MIAMI FL 33150
ACP TRANSPORTATION LLC                OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ACQUA CLEAR, INC                      1235 FLYNN RD UNIT 408 CAMARILLO CA 93012
ACQUAYE, NIIAKWEI                     ADDRESS ON FILE
ACQUAYE, RICHARD                      ADDRESS ON FILE
ACRE, MICHELE                         ADDRESS ON FILE
ACRI, ALBERT                          ADDRESS ON FILE
ACRIDGE, SCOTT                        ADDRESS ON FILE
ACROSS THE BOARD 1 LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ACS EXPRESS INC                       OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
ACS EXPRESS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ACS TOWING & RECOVERY LLC             103 REMSEN STREET SCHENECTADY NY 12306
ACT LIMITED LLC                       220 SOUTH JACKSON ST. MINNEOTA MN 56264
ACT XPRESS LLC                        PO BOX 160271, UNIT 10271 NASHVILLE TN 37216
ACTIFREIGHT INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ACTIFREIGHT INC                       13808 HUMPHREY RD LAREDO TX 78045
ACTION AIR SYSTEMS, INC.              131 ADAMS ST MANCHESTER CT 06042
ACTION BAG COMPANY                    1001 ENTRY DRIVE BENSENVILLE IL 60106



Epiq Corporate Restructuring, LLC                                                                   Page 32 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 41 of 2156

Claim Name                            Address Information
ACTION COMPACTION                     1042 E FORT UNION BLVD 260 COTTONWOOD HEIGHTS UT 84047
ACTION EQUIPMENT SALES CO., INC.      5801 S. HARDING STREET INDIANAPOLIS IN 46217
ACTION EXPRESS LTD                    836 FLEURY STREET REGINA SK S4N 4W6 CANADA
ACTION FIRE PROS, L.L.C.              P.O. BOX 797 WAXAHACHIE TX 75168
ACTION FREIGHT SERVICES               P.O. BOX 140005 AUSTIN TX 78714
ACTION LOGISTIC SERVICES, LLC         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
ACTION MOBILE REPAIR                  2102 BRAMBLE CT ELKO NV 89801
ACTION PLUMBING INC                   7 E STOW RD MARLTON NJ 08053
ACTION SAFE & LOCK SHOP               806 A VETERANS HIGHWAY BRISTOL PA 19007
ACTION SEALCOAT AND STRIPING LLC      PO BOX 1125 LOWELL AR 72745
ACTION TECHNOLOGY SYSTEMS LLC         835 SE 17TH AVE PORTLAND OR 97214
ACTION TOWING                         6723 US HIGHWAY 59 S MARSHALL TX 75672
ACTION TRAILER REPAIR                 743 SWERINGEN AVE SAINT LOUIS MO 63147
ACTION TRAILER REPAIR                 743 SWERINGEN AVE. ST. LOUIS MO 63147
ACTION TRUCK PARTS INC                1 SEIDEL CT BOLINGBROOK IL 60490
ACTION TRUCKING LLC                   OR ASSIST FINANCIAL SERVICES, INC. PO BOX 347 MADISON SD 57042
ACTION XPRESS                         PO BOX 3338 DESMOINES IA 50316
ACTIVATE LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ACTIVE BROTHERS CORP                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ACTIVE CARRIERS CORPORATION           PO BOX 23237 SAN JOSE CA 95153
ACTIVE FREIGHT                        2582 GUNNISON WAY COLTON CA 92324-9776
ACTIVE LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ACTIVE MOTION INSPECTIONS             PO BOX 183 HAINES FALLS NY 12436
ACTIVE MOVING, INC.                   2365 EAST 13 STREET SUITE 4N BROOKLYN NY 11229
ACTIVE TRANS INC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ACTIVE TRANSPORT LLC                  OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
ACTIVEPDF, INC.                       FILE 2420, 1801 W OLYMPIC BLVD PASADENA CA 91199
ACTIVEPDF, INC.                       28202 CABOT RD STE 155 LAGUNA NIGUEL CA 92677
ACTON, JIMMY                          ADDRESS ON FILE
ACTON, TRAVIS                         ADDRESS ON FILE
ACTOR, DONALD                         ADDRESS ON FILE
ACTS CHURCHES USA ORAKIONO JACK       425 ORCHARD ST ARROYO GRANDE CA 93420
ACUITY BRANDS LIGHTING                1400 LESTER ROAD SW CONYERS GA 30012
ACUITY BRANDS LIGHTING                1400 LESTER ROAD CONYERS GA 30012
ACUITY BRANDS LIGHTING                ATTN: JHAN DIAZ 1400 LESTER RD CONYERS GA 30012
ACUITY BRANDS LIGHTING                CTSI, 1 S PRESCOTT ST MEMPHIS TN 38111
ACUITY BRANDS LIGHTING GROUP          ATTN: TAMMY BIVINS TRANSPORTATION CLAIMS SERVICES 1400 LESTER ROAD CONYERS GA
                                      30012
ACUITY BRANDS LIGHTING GROUP          TRANSPORTATION CLAIMS SERVICES 1400 LESTER ROAD CONYERS GA 30012
ACUITY BRANDS LIGHTING GROUP          TRANSPORTATION CLAIMS SVC 1400 LESTER RD CONYERS GA 30012
ACUITY SPECIALTY PRODUCTS, INC        PO BOX 404628 ATLANTA GA 30384
ACUITY SPECIALTY PRODUCTS, INC        13237 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ACUITY SPECIALTY PRODUCTS, INC        ZEP SALES AND SERVICE 13237 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ACUITY SPECIALTY PRODUCTS, INC        C/O ZEP SALES AND SERVICE, FILE 50188 LOS ANGELES CA 90074
ACUNA III TRUCKING LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ACUNA, GERSON                         ADDRESS ON FILE
ACUNA, JESS                           ADDRESS ON FILE
ACUNA-REID, RONALD                    ADDRESS ON FILE
ACURA EXPRESS INC                     OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701



Epiq Corporate Restructuring, LLC                                                                   Page 33 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG       DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 42 of 2156

Claim Name                              Address Information
ACW LOGISTICS, LLC                      OR CORPORATE BILLING, LLC, DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
ACW TRANS LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ACW TRANSPORTATION, INC.                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ACY EXPRESS INC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ACZA TRUCKING LLC                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AD CARGO INC                            OR OPENROAD FINANCIAL SERVICES, INC. PO BOX 484 DALLAS OR 97338
AD EXPRESS LOGISTICS LLC                3002 LAKESIDE DR AUSTIN TX 78723-2714
AD EXPRESS TRUCKING LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
AD FREIGHT INC (MC049930)               OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
AD STARLINES, LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
AD SYSTEMS                              2201 100TH ST SW EVERETT WA 98204
AD TRUCKING LLC                         OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
ADA COUNTY TREASURER                    200 W FRONT ST BOISE ID 83702
ADA LOGISTICS CORP                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADA LOGISTICS CORP                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ADA TRUCKING LLC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ADAIR TRUCKING LLC                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ADAIR, CHRISTOPHER                      ADDRESS ON FILE
ADAIR, CRAIG                            ADDRESS ON FILE
ADAIR, JEREMY                           ADDRESS ON FILE
ADAIR, KENNETH                          ADDRESS ON FILE
ADAIR, PAUL                             ADDRESS ON FILE
ADAL TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ADAL TRANSPORTATION LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ADALBERTO JAIMES TRANSPORT              OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ADAM 1 EXPRESS LLC                      OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
ADAM 1 TRUCKING LLC                     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
ADAM AKINS OVERHEAD DOOR                PO BOX 568 LEBANON TN 37088
ADAM AUTO HAULING LLC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
ADAM FREIGHT LLC                        OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
ADAM GARDNER                            ADDRESS ON FILE
ADAM J HAYDUCEK                         ADDRESS ON FILE
ADAM J HERNANDEZ                        ADDRESS ON FILE
ADAM J NEGEN                            ADDRESS ON FILE
ADAM MACE                               ADDRESS ON FILE
ADAM MCCOYS HAULING AND GRADING, INC.   355 CEDAR LODGE RD ASHEBORO NC 27205
ADAM N TOMLANOVICH                      ADDRESS ON FILE
ADAM P LIPPS                            ADDRESS ON FILE
ADAM ROWE                               ADDRESS ON FILE
ADAM TRANSPORTATION LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ADAM TRUCKING LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ADAM VANBETUW                           ADDRESS ON FILE
ADAM WILLIAMS                           ADDRESS ON FILE
ADAM, BRANT                             ADDRESS ON FILE
ADAM, BRANT                             ADDRESS ON FILE
ADAM, MOHAMED                           ADDRESS ON FILE
ADAMANT TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
ADAMCRYK, THEODORE                      ADDRESS ON FILE
ADAME NUNEZ, OSCAR                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                      Page 34 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 43 of 2156

Claim Name                            Address Information
ADAME, ALBERTO                        ADDRESS ON FILE
ADAME, LUPE                           ADDRESS ON FILE
ADAME, SAMANTHA                       ADDRESS ON FILE
ADAMS CCA LLC                         OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ADAMS CLERK & RECORDER                C/O KAREN LONG, PO BOX 5011 BRIGHTON CO 80601
ADAMS CLERK & RECORDER                C/O STAN MARTIN, PO BOX 5011 BRIGHTON CO 80601
ADAMS COUNTY TAX COLLECTOR            507 VERMONT ST SUITE G12 QUINCY IL 62301
ADAMS COUNTY TREASURER                PO BOX 869 BRIGHTON CO 80601
ADAMS COUNTY TREASURER                2ND FLOOR, SUITE C2436 4430 SOUTH ADAMS COUNTY PARKWAY BRIGHTON CO 80601
ADAMS ENTERPRISES INC                 OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
ADAMS GABBERT & ASSOCIATES LLC        10975 BENSON DR STE 100 OVERLAND PARK KS 66210
ADAMS JR, RODGER                      ADDRESS ON FILE
ADAMS MOWING & MORE                   6316 E MAIN ST MARYVILLE IL 62062
ADAMS PLUMBING AND DRAIN              607 HOLCOMBE AVE MOBILE AL 36606
ADAMS PRODUCTS                        351 HAILEYS FERRY RD LILESVILLE NC 28091
ADAMS SERVICES LLC                    928 E MAIN ST ROCK HILL SC 29730
ADAMS TRANSIT, INC.                   P O BOX 338 FRIESLAND WI 53935
ADAMS TRUCKING                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ADAMS UNLIMITED FREIGHT LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ADAMS, ALEXIS                         ADDRESS ON FILE
ADAMS, AMIR                           ADDRESS ON FILE
ADAMS, ANTHONY                        ADDRESS ON FILE
ADAMS, ANTHONY                        ADDRESS ON FILE
ADAMS, ANTHONY                        ADDRESS ON FILE
ADAMS, ASHLEY                         ADDRESS ON FILE
ADAMS, BARB                           ADDRESS ON FILE
ADAMS, BILLY                          ADDRESS ON FILE
ADAMS, CHARLES                        ADDRESS ON FILE
ADAMS, CHARLIE                        ADDRESS ON FILE
ADAMS, CHRIS                          ADDRESS ON FILE
ADAMS, CHRISTOPHER                    ADDRESS ON FILE
ADAMS, CONNER                         ADDRESS ON FILE
ADAMS, CRAIG                          ADDRESS ON FILE
ADAMS, CRYSTAL                        ADDRESS ON FILE
ADAMS, DAMEON                         ADDRESS ON FILE
ADAMS, DAN L                          ADDRESS ON FILE
ADAMS, DANGELO                        ADDRESS ON FILE
ADAMS, DANIEL W                       ADDRESS ON FILE
ADAMS, DARRIS                         ADDRESS ON FILE
ADAMS, DAVID                          ADDRESS ON FILE
ADAMS, DAVID                          ADDRESS ON FILE
ADAMS, DERRICK                        ADDRESS ON FILE
ADAMS, DOUGLAS                        ADDRESS ON FILE
ADAMS, DUANE C                        ADDRESS ON FILE
ADAMS, DUGAR                          ADDRESS ON FILE
ADAMS, DUSTIN                         ADDRESS ON FILE
ADAMS, DWAYNE LEE                     ADDRESS ON FILE
ADAMS, ERNEST                         ADDRESS ON FILE
ADAMS, ERVIN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 35 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG    DocService
                                           655 Filed
                                                   List
                                                        09/25/23   Page 44 of 2156

Claim Name                      Address Information
ADAMS, FORREST                  ADDRESS ON FILE
ADAMS, FRANCIS                  ADDRESS ON FILE
ADAMS, FREDERICK                ADDRESS ON FILE
ADAMS, GARRETT                  ADDRESS ON FILE
ADAMS, GINA                     ADDRESS ON FILE
ADAMS, HAROLD                   ADDRESS ON FILE
ADAMS, ISAAC                    ADDRESS ON FILE
ADAMS, JAMES                    ADDRESS ON FILE
ADAMS, JAMMEL                   ADDRESS ON FILE
ADAMS, JARVIS                   ADDRESS ON FILE
ADAMS, JEFFREY                  ADDRESS ON FILE
ADAMS, JENEA                    ADDRESS ON FILE
ADAMS, JOE                      ADDRESS ON FILE
ADAMS, JOHN                     ADDRESS ON FILE
ADAMS, JOHN                     ADDRESS ON FILE
ADAMS, JOHN                     ADDRESS ON FILE
ADAMS, JOHN                     ADDRESS ON FILE
ADAMS, JOHNNIE                  ADDRESS ON FILE
ADAMS, JONATHAN                 ADDRESS ON FILE
ADAMS, JONATHAN                 ADDRESS ON FILE
ADAMS, JOSEPH                   ADDRESS ON FILE
ADAMS, JOSHUA                   ADDRESS ON FILE
ADAMS, JUSTIN T                 ADDRESS ON FILE
ADAMS, KENT                     ADDRESS ON FILE
ADAMS, KEVIN                    ADDRESS ON FILE
ADAMS, KRAIG                    ADDRESS ON FILE
ADAMS, MICHAEL                  ADDRESS ON FILE
ADAMS, MICHAEL                  ADDRESS ON FILE
ADAMS, MYSTIQUE                 ADDRESS ON FILE
ADAMS, NANCY                    ADDRESS ON FILE
ADAMS, NATHAN                   ADDRESS ON FILE
ADAMS, PIERRE                   ADDRESS ON FILE
ADAMS, RADCLIFFE                ADDRESS ON FILE
ADAMS, ROBERT                   ADDRESS ON FILE
ADAMS, ROBERT T                 ADDRESS ON FILE
ADAMS, RODERICK                 ADDRESS ON FILE
ADAMS, RONALD                   ADDRESS ON FILE
ADAMS, RUSTY                    ADDRESS ON FILE
ADAMS, RYAN                     ADDRESS ON FILE
ADAMS, RYAN                     ADDRESS ON FILE
ADAMS, SCOTT                    ADDRESS ON FILE
ADAMS, SHEMEA                   ADDRESS ON FILE
ADAMS, SHEMEA E                 ADDRESS ON FILE
ADAMS, SONYA                    ADDRESS ON FILE
ADAMS, STAN                     ADDRESS ON FILE
ADAMS, STEVEN                   ADDRESS ON FILE
ADAMS, TANZA                    ADDRESS ON FILE
ADAMS, TERRENCE                 ADDRESS ON FILE
ADAMS, TERRY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 36 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 45 of 2156

Claim Name                            Address Information
ADAMS, TIYONNA                        ADDRESS ON FILE
ADAMS, TONY R                         ADDRESS ON FILE
ADAMS, TRACY                          ADDRESS ON FILE
ADAMS, VERNANDUS                      ADDRESS ON FILE
ADAMS, VERRANDUS                      ADDRESS ON FILE
ADAMS, VERYL                          ADDRESS ON FILE
ADAMS, WILLIE                         ADDRESS ON FILE
ADAMS, YVONNE                         ADDRESS ON FILE
ADAMS-HARRELL, CHARLIE                ADDRESS ON FILE
ADAMSKI, WILLIAM                      ADDRESS ON FILE
ADAMSON TRUCKING INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ADAMSON, DAVID                        ADDRESS ON FILE
ADAMSON, DURICE                       ADDRESS ON FILE
ADAMSON, TIMOTHY                      ADDRESS ON FILE
ADANANDUS, AYANNA                     ADDRESS ON FILE
ADANANDUS, AYANNA C                   ADDRESS ON FILE
ADANANDUS, AYANNA C                   ADDRESS ON FILE
ADAWAY, OSCAR                         ADDRESS ON FILE
ADCOCK, DEAN                          ADDRESS ON FILE
ADCOCK, RICKY                         ADDRESS ON FILE
ADCOCK, STEVEN                        ADDRESS ON FILE
ADCOCK, WILLIAM                       ADDRESS ON FILE
ADCOX, JOHN                           ADDRESS ON FILE
ADCOX, MALCOLM                        ADDRESS ON FILE
ADCOX, TIMOTHY                        ADDRESS ON FILE
ADD TRUCKING LLC                      OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                      76116
ADDAE, EBENEZER                       ADDRESS ON FILE
ADDE FONT COMPANY CORP                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ADDINGTON, LLOYD                      ADDRESS ON FILE
ADDIS, CHADWICK                       ADDRESS ON FILE
ADDIS, JENNIFER                       ADDRESS ON FILE
ADDISON, BRANDON                      ADDRESS ON FILE
ADDISON, JAMES R                      ADDRESS ON FILE
ADDOW, HASHIM                         ADDRESS ON FILE
ADDRIANNE T CONWAY                    ADDRESS ON FILE
ADDUCE, MICHAEL                       ADDRESS ON FILE
ADELINA EXPRESS LLC                   OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ADELINA INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADELINE CHEMICALS LLC                 3199 ALVARADO ST SAN LEANDRO 94577
ADELMANN, BRUCE                       ADDRESS ON FILE
ADELSA TRUCKING LLC                   OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ADEM TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ADEN LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADEPT TRUCKING LLC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
ADER, ADAM                            ADDRESS ON FILE
ADERHOLD, ROY                         ADDRESS ON FILE
ADES USA INC. PRINCEHANGER            15 E. PALATINE ROAD STE 111 PROSPECT HEIGHTS IL 60070
ADESSO INC                            PO BOX 22387 NEW YORK NY 10087



Epiq Corporate Restructuring, LLC                                                                Page 37 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23       Page 46 of 2156

Claim Name                              Address Information
ADEX INC                               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ADEYEMO, EKUNDAYO                      ADDRESS ON FILE
ADG TRUCKING LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ADGG TRANSPORTATION LTD CO             OR SMART FREIGHT FUNDING 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
ADH TRANSPORT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADI LOGISTICS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ADI STAR LOGISTICS                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
ADICA FLEET SERVICES LLC               20601 TROLLEY INDUSTRIAL DRIVE TAYLOR MI 48180
ADIGA TRANSPORTATION SERVICES INC      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ADINA EXPRESS LIMITED LIABILITY COMPANY OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ADINOLFI, DOMENICK                     ADDRESS ON FILE
ADINOLFI, MARCUS                       ADDRESS ON FILE
ADIR TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADIS SEHOVIC                           ADDRESS ON FILE
ADJ TRANSPORT CORP                     483 CLIFTON AVE CLIFTON NJ 07011-3227
ADJEI, CHENANIAH                       ADDRESS ON FILE
ADKESS TRANSPORT SERVICES LLC          OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
ADKINS CLOUD, THOMAS                   ADDRESS ON FILE
ADKINS TRUCK EQUIPMENT CO              PO BOX 1515 HUNTERSVILLE NC 28070
ADKINS, BRIAN                          ADDRESS ON FILE
ADKINS, DAVID                          ADDRESS ON FILE
ADKINS, ELIJAH                         ADDRESS ON FILE
ADKINS, JAMES                          ADDRESS ON FILE
ADKINS, JERRY                          ADDRESS ON FILE
ADKINS, JULIAN                         ADDRESS ON FILE
ADKINS, JUSTIN                         ADDRESS ON FILE
ADKINS, KEITH                          ADDRESS ON FILE
ADKINS, PAMELA                         ADDRESS ON FILE
ADKINS, PERRY                          ADDRESS ON FILE
ADKINS, ROXANNE                        ADDRESS ON FILE
ADKINS, RYAN                           ADDRESS ON FILE
ADKINS, STEPHANI                       ADDRESS ON FILE
ADKINS, STEPHEN                        ADDRESS ON FILE
ADKINS, TANGANIK                       ADDRESS ON FILE
ADKINS, TED                            ADDRESS ON FILE
ADKINS, TRENT                          ADDRESS ON FILE
ADKINS, WILLIAM                        ADDRESS ON FILE
ADL NGUYEN LLC                         OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
ADL TRANSPORT                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADLC INC                               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ADLERS SERVICE INC                     630 E WALTON PONTIAC MI 48340
ADLIB FAB INC.                         27832 WERNER LANE LINCOLN MO 65338
ADLUNES                                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
ADM ELITE TRUCKING LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ADM GLOBAL, INC                        OR SAINT JOHN CAPITAL CORP, PO BOX 74007671 CHICAGO IL 60674-7671
ADM TRANSPORTATION LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
ADM TRUCKING LLC                       OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
ADMAR SUPPLY CO., INC.                 1950 BRIGHTON HENRIETTA TL RD ROCHESTER NY 14623
ADMIN TRANSPORT INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479



Epiq Corporate Restructuring, LLC                                                                    Page 38 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG       DocService
                                                   655 Filed
                                                           List
                                                                09/25/23       Page 47 of 2156

Claim Name                              Address Information
ADMIRAL FREIGHT LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ADMIRAL PLUMBING SERVICES               A SERVICE EXPERTS COMPANY 1400 NORTHPOINT PKWY STE 20 WEST PALM BEACH FL 33407
ADMIRAL PLUMBING SERVICES               A SERVICE EXPERT COMPANY 2895 JUPITER PARK DR 700 JUPITER FL 33458
ADMIRAL-MERCHANTS MOTOR FREIGHT, INC.   PO BOX 643575 CINCINNATI OH 45264
ADMIRE, ALEXANDER                       ADDRESS ON FILE
ADN TRUCKING LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ADNAN EXPRESS LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ADOBE SYSTEMS INCORPORATED              29322 NETWORK PLACE CHICAGO IL 60673
ADOMBI LLC                              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ADONAI EXPRESS INC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ADONAI TRANSPORT LLC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ADONAI TRUCKING INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ADONAIS WARRIOR TRANSPORTATION INC      OR PROVIDENT COMMERCIAL FINANCE, LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                        35246-2659
ADONI TRANSPORT LLC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ADONIS KELSO                            ADDRESS ON FILE
ADONIS TRUCKING COMPANY INC             OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
ADORN (040)                             ATTN: DYLAN DINATALE 28163 MISHAWAKA RD ELKHART IN 46517
ADOS TRUCKING LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ADOSCAR MOTORS EXPRESS, LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ADP LLC                                 PO BOX 842875 BOSTON MA 02284
ADP LLC                                 1851 N RESLER DR MS-100 EL PASO TX 79912
ADP LLC                                 ADP WISELY NOW, PO BOX 9008 SAN DIMAS CA 91773
ADP, LLC C/O WISELY PAY CARD            TRAINING PER DIEM PAY CARD, PO BOX 9008 SAN DIMAS CA 91773
ADR EXPRESS LOGISTICS INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ADRIAN 2014 INC                         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ADRIAN L BADILLA                        ADDRESS ON FILE
ADRIAN THOMAS                           ADDRESS ON FILE
ADRIAN THOMAS                           ADDRESS ON FILE
ADRIAN TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADRIAN, BRIANA                          ADDRESS ON FILE
ADRIAN, JERMY                           ADDRESS ON FILE
ADRIAN, JOEY                            ADDRESS ON FILE
ADRIANA TERAN VALENZUELA                ADDRESS ON FILE
ADRIANA TERAN VALENZUELA                ADDRESS ON FILE
ADRIATIC EXPRESS LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ADRIATIC GLOBAL EXPRESS LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ADRIEN LOGISTIC LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ADRONG, GEORGE                          ADDRESS ON FILE
ADS DIESEL PRODUCTS                     PO BOX 306 OTIS ORCHARDS WA 99027
ADS EXPRESS CORP.                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ADS SECURITY L.P.                       P.O. BOX 531687 ATLANTA GA 30353
ADT COMMERCIAL                          PO BOX 382109 PITTSBURGH PA 15251
ADT COMMERCIAL                          PO BOX 219044 KANSAS CITY MO 64121
ADT COMMERCIAL                          PO BOX 872987 KANSAS CITY MO 64187
ADT COMMERCIAL                          PO BOX 49292 WICHITA KS 67201
ADT SECURITY SERVICES                   PO BOX 371878 PITTSBURGH PA 15250
ADT SECURITY SERVICES                   PO BOX 371956 PITTSBURGH PA 15250
ADT SECURITY SERVICES CANADA, INC       8481 LANGELLER SAINT-LEONARD QC H1P 2C3 CANADA



Epiq Corporate Restructuring, LLC                                                                     Page 39 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 48 of 2156

Claim Name                              Address Information
ADT TRANSPORTATION LLC                  OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ADT TRUCKING LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ADTS                                    1660 KENSINGTON AVE STE 1 BUFFALO NY 14215
ADUU EXPRESS                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ADV3985 LOGISTICS LLC                   OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
ADVANCE ADAPTERS LLC                    ATTN: TOM ULLERY 4320 AEROTECH CENTER WAY PASO ROBLES CA 93446
ADVANCE AUTO PARTS                      PO BOX 404875 ATLANTA GA 30384
ADVANCE BUSINESS CAPITAL LLC            DBA TRIUMPH BUSINESS CAPITAL P.O. BOX 610028 DALLAS TX 75261
ADVANCE BUSINESS CAPITAL LLC            P.O. BOX 610028 DFW AIRPORT TX 75261
ADVANCE DOOR CO                         5260 COMMERCE PARKWAY WEST PARMA OH 44130
ADVANCE EXPRESS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ADVANCE FREIGHT SERVICES                OR J D FACTORS CORPORATION 315 MATHESON BLVD E MISSISSAUGA ON L4Z1X8 CANADA
ADVANCE RELOCATION SYSTEMS              11500 CROSSROADS CIRCLE SUITE BALTIMORE MD 21220
ADVANCE STORAGE PRODUCTS                15302 PIPELINE LANE HUNTINGTON BEACH CA 92649
ADVANCE TABCO                           325 WIRELESS BLVD HAUPPAUGE NY 11788
ADVANCE TABCO                           ATTN: JAELEIGH BULL 325 WIRELESS BLVD HAUPPAUGE NY 11788
ADVANCE TABCO                           ATTN: MIKAYLA FRENCH 325 WIRELESS BLVD HAUPPAUGE NY 11788
ADVANCE TIRE & WHEEL INC                1478 E. COMMERCIAL ST. MOHAVE VALLEY AZ 86440
ADVANCE TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ADVANCE TRANSPORTATION SYSTEMS INC      L-4175 COLUMBUS OH 43260-4175
ADVANCE TRANSPORTATION SYSTEMS INC      OR AMERISOURCE FUNDING INC, PO BOX 4738 HOUSTON TX 77210
ADVANCE TRANSPORTATION SYSTEMS INC      OR TAB BANK, PO BOX 150830 OGDEN UT 84415
ADVANCE TRUCKING SOLUTIONS INC          7450 BREN RD MISSISSAUGA ON L4T 1H4 CANADA
ADVANCED BATTERY SERVICES               79B WOODIN RD CLIFTON PARK NY 12065
ADVANCED BULK TRANSPORT LLC             OR TRUENORTH SERVICES LLC C/O STABLE 2261 MARKET ST 4697 SAN FRANCISCO CA
                                        94114
ADVANCED CHIROPRACTIC ARTS              17058 STATE HWY 59 NEOSHO MO 64850
ADVANCED DIESEL TECHNOLOGIES            2666 MAYFIELD WAY RICHFIELD WI 53076
ADVANCED DISTRIBUTOR PRODUCTS           ATTN: KAY 1995 AIR INDUSTRIAL PARK RD GRENADA MS 38901
ADVANCED ELECTRICAL AND ENERGY          427 2ND AVENUE BETHLEHEM PA 18018
ADVANCED ELEVATOR SOLUTIONS, INC.       5650 IMHOFF DRIVE, SUITE B CONCORD CA 94520
ADVANCED FIRE & SAFETY, INC.            15275 COLLIER BLVD, SUITE 201 BOX 265 NAPLES FL 34119
ADVANCED FURNACE & AIR DUCT CLEANING    1039 ATLANTIC CITY BLVD BAYVILLE NJ 08721
ADVANCED GLOBAL TRANSPORTATION          3110 JEFFERSON BLVD WINDSOR ON N8T 3E8 CANADA
ADVANCED GLOBAL TRANSPORTATION          2800 TEMPLE DRIVE WINDSOR ON N8W 5J5 CANADA
ADVANCED HEAT & AIR CONDITIONING        727 CAREW ST SPRINGFIELD MA 01104
ADVANCED HEATING & AIR                  3521 EAST HARDY DRIVE TUCSON AZ 85716
ADVANCED INTEGRATED PEST MANAGEMENT     1482 STONE POINT DR ROSEVILLE CA 95661
ADVANCED INTEGRATED PEST MANAGEMENT     1110 MELODY LANE ROSEVILLE CA 95678
ADVANCED LIFT CARRIER LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ADVANCED LOCKING SOLUTIONS, INC.        8115 SW NIMBUS AVE BEAVERTON OR 97008
ADVANCED MAINT OF WILSON / GREENVILLE   2515 FAIRVIEW RD STE 204 RALEIGH NC 27608
ADVANCED MAINTENANCE                    2515 FAIRVIEW RD SUITE 204 RALEIGH NC 27608
ADVANCED MAINTENANCE                    2239 ANGELIA M. STREET FAYETTEVILLE NC 28312
ADVANCED MAINTENANCE                    3904 WESLEY STREET MYRTLE BEACH SC 29579
ADVANCED MAINTENANCE                    716 E. FAIRFIELD RD GREENVILLE SC 29605
ADVANCED MAINTENANCE                    225 ALLIED INDUSTRIAL BLVD MACON GA 31206
ADVANCED MAINTENANCE                    512 WEST 2ND AVE. SUITE 102 MESA AZ 85210
ADVANCED MAINTENANCE - BLACK CREEK      2515 FAIRVIEW RD STE 204 RALEIGH NC 27608



Epiq Corporate Restructuring, LLC                                                                   Page 40 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 49 of 2156

Claim Name                              Address Information
ADVANCED MAINTENANCE - MACON            225 ALLIED INDUSTRIAL BLVD MACON GA 31206
ADVANCED MAINTENANCE - RALEIGH          PO BOX 41028 RALEIGH NC 27629
ADVANCED MAINTENANCE - WILMINGTON       2820 N KERR AVE WILMINGTON NC 28405
ADVANCED MAINTENANCE - WILMINGTON       6700 C NETHERLANDS DR WILMINGTON NC 28405
ADVANCED PEST CONTROL SYSTEM            P. O. BOX 1021 CAPE GIRARDEUA MO 63702
ADVANCED PLASTICS OF HOUSTON I          ATTN: LEANN ANGELONE 130 CREEKLAKE DR ONALASKA TX 77360
ADVANCED PLUMBING                       3748 RENFRO RD STE A BAKERSFIELD CA 93314
ADVANCED PLUMBING                       4253 RENFRO ROAD BAKERSFIELD CA 93314
ADVANCED POWER TECHNOLOGIES             ATTN: KENT LEUCK 1501 VETERANS MEMORIAL PKWY E LAFAYETTE IN 47905
ADVANCED PROFESSIONAL GROUP INC.        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADVANCED PROFESSIONAL SERVICES          200 STONE RIDGE LANE MIDDLETOWN OH 45044
ADVANCED TRANSPORT LOGISTICS INC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADVANCED TRUCK BODY & EQUIPMEN          4825 TABLE ROCK RD CENTRAL POINT OR 97502
ADVANCED TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ADVANCED WEIGHING SYSTEMS, INC.         1433 W FULLERTON AVE, SUITE H ADDISON IL 60101
ADVANCED WEIGHING SYSTEMS, INC.         P.O. BOX 1951 LOMBARD IL 60148
ADVANCED WELDING & ENGINEERING          6989 E COUNTY RD 100 N AVON IN 46123
ADVANCED WELDING & ENGINEERING          8155 CRAWFORDSVILLE ROAD, SUITE C INDIANAPOLIS IN 46214
ADVANCED WELDING & ENGINEERING          8155 CRAWFORSVILLE ROAD, SUITE C INDIANAPOLIS IN 46214
ADVANCED WELDING & ENGINEERING CO INC   8155 CRAWFORDSVILLE RD, STE C INDIANAPOLIS IN 46214
ADVANCED-ONLINE                         ADVANCED GRAPHIC PRODUCTS, INC PO BOX 204834 DALLAS TX 75320
ADVANTAGE DISTRIBUTING LLC              ATTN: RICH FITZGERALD 3434 MARION RD SE ROCHESTER MN 55904
ADVANTAGE EXPRESS INC                   22333 171ST LANE SE KENT WA 98042
ADVANTAGE EXPRESS LOGISTICS INC         OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
ADVANTAGE FIRST AID & SAFETY            150 FOGGY HOLLOW TRAIL FITZPATRICK AL 36029
ADVANTAGE FLEET                         920 OMALLEY DRIVE COOPERSVILLE MI 49404
ADVANTAGE FLEET                         PO BOX 538509 ATLANTA GA 30353
ADVANTAGE FREIGHT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ADVANTAGE LOGISTICS INC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ADVANTAGE LUMBER                        2520 BLACKSBURG RD. GROVER NC 28073
ADVANTAGE MARKETING                     5245 GUION ROAD INDIANAPOLIS IN 46254
ADVANTAGE OVERHEAD DOOR INC             PO BOX 916 WEST SENECA NY 14224
ADVANTAGE SALES ECHO                    ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ADVANTAGE SERVICE COMPANY               1797 N CYPRESS ST NORTH LITTLE ROCK AR 72114
ADVANTAGE TRAILER LEASING INC           743 SWERINGEN AVE SAINT LOUIS MO 63147
ADVANTAGE TRAILER RENTALS LLC           PO BOX 772320 DETROIT MI 48277
ADVANTAGE TRANSPORTATION INC            3651 NANTUCKET DR, APT J LOVELAND OH 45140
ADVANTAGE TRUCK CENTER                  306 PINEVIEW DR KERNERSVILLE NC 27284
ADVANTAGE TRUCK CENTER                  PO BOX 560007 CHARLOTTE NC 28256
ADVANTAGE TRUCKING LLC                  140 S 27TH ST, SUITE E LINCOLN NE 68510
ADVENT ADVENTURES LOGISTICS INC         543 N CENTRE STREET POTTSVILLE PA 17901
ADVENT EXPRESS LLC                      OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
ADVENT HEALTH PROPERTY MGT              1919 N. ORANGE AVE ORLANDO FL 32804
ADVENTURE MIRROR                        7747 CR 150 SALIDA CO 81201
ADVENTURER LP                           ATTN: JON MAUCH 3303 W WASHINGTON AVE YAKIMA WA 98903
ADVOCATE OCCUPATIONAL HEALTH            PO BOX 70003 CHICAGO IL 60673-0003
ADWA TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ADY TRANSPORT INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ADZ TRUCKING INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                    Page 41 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG    DocService
                                                655 Filed
                                                        List
                                                             09/25/23      Page 50 of 2156

Claim Name                           Address Information
AE DOOR & WINDOW SALES COMPANY       1260 WEST SHARON RD CINCINNATI OH 45240
AE GLOBAL ECHO                       ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
AE ROSEN ELECTRICAL CO, INC          178 CATHERINE ST ALBANY NY 12202
AE&S LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AEA TRANSPORT LLC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AEA TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
AEF TRANSPORTATION                   OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
AEGERTER, GORDON                     ADDRESS ON FILE
AEGION CORRPRO                       ATTN: SARAH NEWSOME GEODIS PO BOX 2208 BRENTWOOD TN 37024
AEGIS LONDON                         C/O WILLIS TOWERS WATSON INTL DEPT & LLOYDS OF LONDON 51 LIME STREET LONDON
                                     EC3M 7DQ UNITED KINGDOM
AEGIS TRANSPORT                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AEHRAN TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AEI CONSULTANTS                      2500 CAMINO DIABLO WALNUT CREEK CA 94597
AEIS (0756)                          ATT GREG WRAALSTAD/PROXY MGR 901 3RD AVE SOUTH MINNEAPOLIS MN 55474
AELITA INC                           OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AEM EXPRESS TRANSPORT, INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AEM TRANSPORT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
AEMAN TRUCKING INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AEO TRUCKING LLC                     OR ADVANCE CAPITAL SOLUTIONS, LLC PO BOX 150306 OGDEN UT 84415-0306
AEP                                  1 RIVERSIDE PLZ COLUMBUS 43215-2372
AER EXPRESS INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AER MANUFACTURING                    AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
AER MFG CO                           ATTN: MICHAEL CRUZ 2004 CHENAULT RD CARROLLTON TX 75006
AERNANDEZ, DANIEL                    ADDRESS ON FILE
AERNCO TRANSPORTATION LLC            OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
AERO CORPORATION INC                 1998 HARRISBURG PIKE MIDDLETOWN PA 17057
AERO HEALTHCARE                      ATTN: JAN LYONS 616 CORPORATE WAY STE 6 VALLEY COTTAGE NY 10989
AEROFIN CORP                         4621 MURRAY PL LYNCHBURG VA 24502
AEROSPACE CORP.                      7250 GETTING HEIGHTS COLORADO SPRINGS CO 80915
AES INDIANA                          4300 WILSON BLVD 11TH FL ARLINGTON VA 22203
AES OHIO                             PO BOX 1247 DAYTON OH 45401-1247
AES OHIO                             1065 WOODMAN DR DAYTON 45432
AES TRANS INC                        OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
AESIR TRANSPORT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AET TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AETNA FREIGHT LINES, INC.            AETNA FREIGHT LINES, INC PO BOX 644831 DEPT AFL PITTSBURGH PA 15264-4831
AETNA GROUP USA INC                  2150 BOGGS ROAD NW, SUITE 200 DULUTH GA 30096
AF HOLMES LOGISTICS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AF SERVICES                          1101 NORTH DARRINGTON ROAD EL PASO TX 79928
AFA GLOBAL INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AFANEH, ISAM                         ADDRESS ON FILE
AFANEH, KHALID                       ADDRESS ON FILE
AFARAD GROUP LLC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AFAT TRUCKING LLC                    OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
AFC CABLE ATKORE INTL                CTSI GLOBAL, 1 S PRESCOTT ST MEMPHIS TN 38111
AFC SYSTEM LLC                       OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
AFC TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                  Page 42 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 51 of 2156

Claim Name                              Address Information
AFC URGENT CARE                         PO BOX 645576 CINCINNATI OH 45264-5576
AFCO CREDIT CORP                        ATTN: ERICA RYAN 4501 COLLEGE BLVD, STE 320 LEAWOOD KS 66211
AFCO CREDIT CORPORATION                 5600 NORTH RIVER ROAD SUITE 400 ROSEMONT IL 60018
AFE TRUCKING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AFEMATA, HANA M                         ADDRESS ON FILE
AFFATIGATO, DONNA                       ADDRESS ON FILE
AFFECT TRUCKING LLC                     OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
AFFINITY LOGISTICS LLC                  OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
AFFINITY TRANSPORT SERVICES LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AFFINITY TRUCK CENTER                   PO BOX 1188 FRESNO CA 93715
AFFIRMED MEDICAL & SAFETY LLC           PO BOX 5257 TYLER TX 75712
AFFLECK, KENNETH                        ADDRESS ON FILE
AFFORDABLE A1 FREIGHT LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AFFORDABLE CLEANING & MAINT OF WI LLC   MAINTENANCE OF WI LLC, PO BOX 942 ELKHORN WI 53121
AFFORDABLE DIESEL REPAIR, INC.          4502 ACCESS ROAD JJ JONESBORO AR 72401
AFFORDABLE DOCK & DOOR                  PO BOX 1095 STOCKBRIDGE GA 30281
AFFORDABLE DOCK TRUCK LLC               OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
AFFORDABLE FIRE PROTECTION              PO BOX 182156 SHELBY TWP MI 48318
AFFORDABLE FREIGHT LLC                  OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
AFFORDABLE HEAT & AIR LLC               17 TWOMBLY AVE BILLERICA MA 01862
AFFORDABLE LAWN CARE BY JOE KATSBULAS   4725 SE 25TH ST TECUMSEH KS 66542
AFFORDABLE PLUMBING HEAT & ELECTRICAL   1304 MARKET ST COLORADO SPRINGS CO 80904
AFFORDABLE STORAGE                      16203 WEST PARK DRIVE HOUSTON TX 77082
AFFORDABLE TOWING OF MANKATO, INC       600 SUMMIT AVE MANKATO MN 56001
AFFORDABLE TOWING.                      PO BOX 1364 ASHLAND KY 41101
AFFORDABLE TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AFG CARRIERS LLC                        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
AFG EXPRESS INC                         OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                        76116
AFG TRUCKING LLC                        OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AFI TRANSPORTATION SERVICES             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AFIFA EXPRESS LLC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AFIM EXPRESS CORPORATION                OR TAB BANK, PO BOX 150830 OGDEN UT 84415
AFINOWICZ, BRENT                        ADDRESS ON FILE
AFKAR LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AFLAH TRUCKING LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AFNA YUBA CITY                          800 N WALTON AVE YUBA CITY CA 95993
AFO HAULING SERVICES                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AFOH TRUCKING LLC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
AFORDABLE PORTABLES                     3629 BUSCH RD BIRCH RUN MI 48415
AFPS EXPEDITED                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AFRAH TRANSPORT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AFRAH TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AFREIGHT KNOT LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AFRICA, ROLANDO                         ADDRESS ON FILE
AFRICA, ROLANDO                         ADDRESS ON FILE
AFRIDI TRANSPORT & LOGISTICS LLC        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AFRO ROAD LLC                           1713 PARKFORD LN COLUMBUS OH 43229
AFS GROUP, LLC                          1420 SHAW AVE SUITE 102-504 CLOVIS CA 93611



Epiq Corporate Restructuring, LLC                                                                     Page 43 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23         Page 52 of 2156

Claim Name                             Address Information
AFS LOGISTICS                          PO BOX 18410 SHREVEPORT LA 71138
AFS TRANSPORTATION INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AFS WORLD LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AFSHAR FREIGHT LINES INC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AFT                                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AFTER HOURS PLUMBING SERVICE           P.O. BOX 11111 HOUSTON TX 77293
AFTER HOURS TRUCK AND TRAILER REPAIR   2938 ROCK CREEK RD HANSEN ID 83334
LLC
AFTER HOURS TRUCK AND TRAILER REPAIR   102 BRENTWOOD DR KIMBERLY ID 83341
LLC
AFTERHOURS TOWING & TRUCKING, LLC      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
AFTERMARK LLC                          PO BOX 832617 RICHARDSON TX 75083-2617
AFTERMARKET INDUSTRIES ECHO            ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
AFTT TRANS INC                         OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
AFU, AARON                             ADDRESS ON FILE
AFU, AUCKLAND                          ADDRESS ON FILE
AFW LOGISTICS LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
AFYARE, ABDULLAHI                      ADDRESS ON FILE
AG & AT LOGISTICS GROUP LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AG & SON TRUCKING LLC.                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
AG BODY INC                            PO BOX 359 SALT LAKE CITY UT 84110
AG EXPEDITED INC                       OR CREDENCE GROUP INC, 95 W 61ST ST WESTMONT IL 60559-2615
AG FARMACY APPLICATION LLC             8159 SPRINGHILL RD ERIE IL 61250
AG FREIGHT LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AG HOG, INC.                           30629 PURITAN ST LIVONIA MI 48154
AG RO TRANSPORT INC.                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
AG-LAND FS, INC                        DAN SCHAUB 1213 S HANNA CITY/GLASFORD RD HANNA CITY IL 61536
AGA EXPRESS INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AGA EXPRESS LLC                        OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
AGA TRANSPORTATION INC                 8777 HADDON AVENUE SUN VALLEY CA 91352
AGA-EXPRESS, LLC                       OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
AGAFA TRANSPORT LLC                    8770 SW 205TH CIR DUNNELLON FL 34431
AGAJ IMPORT & EXPORT LOGISTICS LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AGAM TRANS INC                         2635 CAESAR PL PHILADELPHIA PA 19153
AGAM TRANSPORT LLC                     OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
AGAMNOVI CORP                          OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
AGAN, EDWARD A                         ADDRESS ON FILE
AGAN, JOSEPH T                         ADDRESS ON FILE
AGAPAY, JUSTIN                         ADDRESS ON FILE
AGAPE TRANSPORTATION INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AGAR, CHRISTOPHER                      ADDRESS ON FILE
AGARWAL, DEEPIKA                       ADDRESS ON FILE
AGASSIZ LANDSCAPE GROUP LLC            PO BOX 147 FLAGSTAFF AZ 86002
AGB FREIGHT                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AGB INTERSTATE TRUCKING INC            OR TAFS, PO BOX 872632 KANSAS CITY MO 64187
AGBAEZE, VICTOR                        ADDRESS ON FILE
AGBO, CHUKWUMA                         ADDRESS ON FILE
AGBOGBE, COMLAN                        ADDRESS ON FILE
AGC TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028


Epiq Corporate Restructuring, LLC                                                                   Page 44 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 53 of 2156

Claim Name                            Address Information
AGC, INC.                             13601 W MCMILLAN RD STE 102 245 BOISE ID 83713
AGCO PARTS DIVISION                   1500 N RADDANT RD BATAVIA IL 60510
AGD FLEX TRANSPORT LLC                OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                      33631-3792
AGD GROUP INC                         OR ASSIST FINANCIAL SERVICES, INC PO BOX 347 MADISON SD 57042
AGEE TRUCK CENTER                     PO BOX 868 POPLAR BLUFF MO 63902
AGEE, ELIJAH                          ADDRESS ON FILE
AGEE, JACOBI                          ADDRESS ON FILE
AGEE, KEVIN                           ADDRESS ON FILE
AGEE, TOM                             ADDRESS ON FILE
AGEL TRUCKING INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AGELIS, NOHAM                         ADDRESS ON FILE
AGEMETTA TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AGENBROAD, FRANK                      ADDRESS ON FILE
AGENT, SCOTTIE                        ADDRESS ON FILE
AGFORCE TRANSPORT SERVICES            ATTN: RYAN CHANCEY 5101 COLLEGE BLVD LEAWOOD KS 66211
AGFORCE TRANSPORT SERVICES            ATTN: SARAH BAKER 5101 COLLEGE BLVD LEAWOOD KS 66211
AGGARWAL, ABISHEK                     ADDRESS ON FILE
AGGEN, JACOB                          ADDRESS ON FILE
AGGREKO LLC                           PO BOX 972562 DALLAS TX 75397-2562
AGGREY B MANISON                      ADDRESS ON FILE
AGH TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AGI LOGISTIC LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
AGI TRUCKING INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AGIL TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AGILE TRANSPORTATION SERVICES INC     1205 WELFORD PLACE WOODSTOCK ON N4S 7W3 CANADA
AGILITY EXPRESS INC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
AGILITY TRUCKING LLC                  OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AGINS, ERICK                          ADDRESS ON FILE
AGJ TRANSPORTATION INC                5362 HERITAGE OAK DR TRABUCO CANYON CA 92679
AGK TRANSPORT CORP                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AGL WELDING SUPPLY CO., INC.          PO BOX 1707 CLIFTON NJ 07015
AGM TRANS FORCE INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
AGNANT, DAVE                          ADDRESS ON FILE
AGNEW, HAROLD                         ADDRESS ON FILE
AGNEW, MALIK                          ADDRESS ON FILE
AGNEW, TERENCE                        ADDRESS ON FILE
AGNOR, MARK                           ADDRESS ON FILE
AGOGE, LLC                            OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AGONDH TRUCKING INC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
AGOSTINI TRANSPORT LLC                27452 ROAD 140 VISALIA CA 93292
AGOSTINI, DINO                        ADDRESS ON FILE
AGOSTO, ANTONIO                       ADDRESS ON FILE
AGOUNKEY, KOSSIVI                     ADDRESS ON FILE
AGP LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AGP TRANSPORT INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AGR EXPRESS, INC.                     666 VINELAND AVE LA PUENTE CA 91746
AGR TRANSPORT INC                     410 LA FRANCE AVE ALHAMBRA CA 91801
AGRA ENTERPRISE LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086



Epiq Corporate Restructuring, LLC                                                                 Page 45 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23        Page 54 of 2156

Claim Name                            Address Information
AGRAMONT TRANSPORT INC                1351 AIR WING RD STE 3 SAN DIEGO CA 92154
AGRAMONTE, ANDREA                     ADDRESS ON FILE
AGRI FAB                              ATTN: CINDY PRUITT 3490 L&A INDUSTRIAL DR DECATUR IL 62521
AGRIPPINA TRANSPORTATION LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AGROPLASMA INC                        5865 S KYRENE RD STE 1 TEMPE AZ 85283
AGS-PRO TRANSPORT                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AGU TRANSPORT LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AGUA PRIETA TEES                      33398 PASEO EL LAZO SAN JUAN CAPISTRANO CA 92675
AGUADA, JOEY                          ADDRESS ON FILE
AGUAYO TRUCKING INC                   OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
AGUAYO TRUCKING INC                   OR JD FACTORS, LLC, PO BOX 687 WHEATON IL 60187
AGUAYO, CHRISTIAN                     ADDRESS ON FILE
AGUAYO, PATRICIO                      ADDRESS ON FILE
AGUERO TRUCKING INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AGUIAR, CARLOS                        ADDRESS ON FILE
AGUIAR, GUALTER                       ADDRESS ON FILE
AGUILA, JOSE L                        ADDRESS ON FILE
AGUILAR NOGUEZ, FRANCISCO             ADDRESS ON FILE
AGUILAR VALLE, ALFREDO                ADDRESS ON FILE
AGUILAR, ALBERTO                      ADDRESS ON FILE
AGUILAR, ALEJANDRO                    ADDRESS ON FILE
AGUILAR, ARIEL                        ADDRESS ON FILE
AGUILAR, AUSTIN                       ADDRESS ON FILE
AGUILAR, BARBARA                      ADDRESS ON FILE
AGUILAR, DHANI                        ADDRESS ON FILE
AGUILAR, EDDIE                        ADDRESS ON FILE
AGUILAR, EMMANUEL                     ADDRESS ON FILE
AGUILAR, ENRIQUE                      ADDRESS ON FILE
AGUILAR, ENRIQUE                      ADDRESS ON FILE
AGUILAR, ERNEST                       ADDRESS ON FILE
AGUILAR, ERNESTO                      ADDRESS ON FILE
AGUILAR, FRANCISCO J                  ADDRESS ON FILE
AGUILAR, FRANK                        ADDRESS ON FILE
AGUILAR, GONZALO                      ADDRESS ON FILE
AGUILAR, JAMES H                      ADDRESS ON FILE
AGUILAR, JANET                        ADDRESS ON FILE
AGUILAR, JORGE                        ADDRESS ON FILE
AGUILAR, JOSE                         ADDRESS ON FILE
AGUILAR, JOSE                         ADDRESS ON FILE
AGUILAR, JOSE                         ADDRESS ON FILE
AGUILAR, JOSE                         ADDRESS ON FILE
AGUILAR, JUAN                         ADDRESS ON FILE
AGUILAR, JULIO                        ADDRESS ON FILE
AGUILAR, MAYRA EDITH RAMIREZ          ADDRESS ON FILE
AGUILAR, MAYRA EDITH RAMIREZ          ADDRESS ON FILE
AGUILAR, MICHAEL                      ADDRESS ON FILE
AGUILAR, RAMIRO A                     ADDRESS ON FILE
AGUILAR, RAY                          ADDRESS ON FILE
AGUILAR, ROBERTA J                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 46 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 55 of 2156

Claim Name                            Address Information
AGUILAR, ROSALEE                      ADDRESS ON FILE
AGUILAR, SAMUEL                       ADDRESS ON FILE
AGUILAR, SERGIO                       ADDRESS ON FILE
AGUILAR, VICTOR                       ADDRESS ON FILE
AGUILAR, YOADDAN                      ADDRESS ON FILE
AGUILERA LOPEZ, ARMANDO               ADDRESS ON FILE
AGUILERA LOPEZ, ARMANDO               ADDRESS ON FILE
AGUILERA, ATARI                       ADDRESS ON FILE
AGUILERA, JAIME                       ADDRESS ON FILE
AGUILERA, JOHN                        ADDRESS ON FILE
AGUILERA, LEOPOLDO                    ADDRESS ON FILE
AGUILERA, MIRELLA                     ADDRESS ON FILE
AGUILLON, DAVID                       ADDRESS ON FILE
AGUINAGA TRUCKING                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AGUINAGA, REYNALDO                    ADDRESS ON FILE
AGUIRRE ARCHUNDIA, OSCAR              ADDRESS ON FILE
AGUIRRE EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AGUIRRE LOGISTICS CORP                421 TULSA AVE CARPENTERSVILE IL 60110
AGUIRRE, ADRIAN                       ADDRESS ON FILE
AGUIRRE, BERNARDO                     ADDRESS ON FILE
AGUIRRE, BRYAN                        ADDRESS ON FILE
AGUIRRE, ERIC                         ADDRESS ON FILE
AGUIRRE, ERNIE                        ADDRESS ON FILE
AGUIRRE, ESTELA                       ADDRESS ON FILE
AGUIRRE, ISAURA                       ADDRESS ON FILE
AGUIRRE, JAVIER                       ADDRESS ON FILE
AGUIRRE, JUAN                         ADDRESS ON FILE
AGUIRRE, REGINA A                     ADDRESS ON FILE
AGUIRRE, RIGOBERTO                    ADDRESS ON FILE
AGUIRRE, SALVADOR                     ADDRESS ON FILE
AGUIRRE, SALVADOR                     ADDRESS ON FILE
AGUIRRE, TERRY                        ADDRESS ON FILE
AGUIRRE-PRESIDENTE, RENE              ADDRESS ON FILE
AGUIVEZ TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AGUSTIN CRISTOBAL, GIOVANNI           ADDRESS ON FILE
AGUSTIN RODRIGUEZ                     ADDRESS ON FILE
AGX FREIGHT CARRIERS, LLC             P. O. BOX 72280 CLEVELAND OH 44192
AGX FREIGHT INTERMODAL LLC            P. O. BOX 72280 CLEVELAND OH 44192
AGX TRANSPORT LLC                     8032 CAMINITO GIANNA LA JOLLA CA 92037
AGYILIRAH, KWAME                      ADDRESS ON FILE
AGYILIRAH, KWAME                      ADDRESS ON FILE
AGYILIRAH, KWAME                      ADDRESS ON FILE
AH & SONS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AH EXPRESS LLC                        OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
AH LOGISTICS                          5437 W TERRACE AVE FRESNO CA 93722-8652
AHA TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AHADU TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AHARY TRUCKING LLC                    OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
AHENKORAH, KOFI                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 47 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 56 of 2156

Claim Name                            Address Information
AHERN RENTALS, INC.                   PO BOX 271390 LAS VEGAS NV 89127
AHF LOGISTICS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 77553 CHICAGO IL 60677-5553
AHGG TRANSPORT LLC                    OR SINGH FINANCING 10206 FAIRBANKS N HOUSTON RD HOUSTON TX 77064
AHI TRANSPORT LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AHIA, WOLANYO                         ADDRESS ON FILE
AHIMED TRUCKING INC                   OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
AHK123 LLC                            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
AHL TRANSPORT LLC                     1200 SUNSET DR KAUFMAN TX 75142
AHL TRUCKING LLC                      OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
AHLANDER, JAMES                       ADDRESS ON FILE
AHLBERG, NATHAN                       ADDRESS ON FILE
AHLEE BACKFLOW SERVICES               9920 PROSPECT AVE STE 104 SANTEE CA 92071
AHLERS, THOMAS                        ADDRESS ON FILE
AHLES, BRIAN                          ADDRESS ON FILE
AHLGREN TRANSPORT INC                 OR SMART FREIGHT FUNDING 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
AHLIN, BRIAN                          ADDRESS ON FILE
AHLSTROM TRUCKING LLC                 2917 1ST AVENUE NEW AUBURN WI 54757
AHLSTROM, JON                         ADDRESS ON FILE
AHMAD, NOYEEM                         ADDRESS ON FILE
AHMARD R CLAY                         ADDRESS ON FILE
AHMED BOUFATTAH                       ADDRESS ON FILE
AHMED, ALAA                           ADDRESS ON FILE
AHMED, ARIF                           ADDRESS ON FILE
AHMED, AZRA                           ADDRESS ON FILE
AHMED, BRANDON                        ADDRESS ON FILE
AHMED, FEYSAL                         ADDRESS ON FILE
AHMED, KHALED                         ADDRESS ON FILE
AHMED, SYED                           ADDRESS ON FILE
AHMED, ZUNAIR                         ADDRESS ON FILE
AHMETAJ, BILBIL                       ADDRESS ON FILE
AHMIC, SENAD                          ADDRESS ON FILE
AHNTECH, INC                          1931 OLD MIDDLEFIELD WAY, SUITE D MOUNTAIN VIEW CA 94043
AHR MECHANICAL INC                    6205 E TAFT ROAD NORTH SYRACUSE NY 13212
AHRENS, JAMES                         ADDRESS ON FILE
AHS EXPRESS INC                       3030 WARRENVILLE RD, STE 450-03 LISLE IL 60532
AHS TRANSPORTATION INC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AHS TRUCKING LLC                      12279 WESTMORLAND DRIVE FISHERS IN 46037
AHS TRUCKING LLC (COLUMBUS TX)        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AHSEED LOGISTICS LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
AHT LOGISTICS LLC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AHUMADA S HOTSHOT LLC                 OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
AHUMADA, ARMONDO                      ADDRESS ON FILE
AHUMADA, CARLO                        ADDRESS ON FILE
AHUMADA, JOSE                         ADDRESS ON FILE
AI LOGISTICS LLC                      OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AIA TRUCKING INC                      OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
AIB EXPRESS LOGISTICS INC             OR NEXT DAY FUNDING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412
AIB LOGISTICS INC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AIBM DIALLO TRUCKING LLC              OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213



Epiq Corporate Restructuring, LLC                                                                   Page 48 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23       Page 57 of 2156

Claim Name                            Address Information
AIC TRANSPORTS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AICHI, ALLEN                          ADDRESS ON FILE
AICHI, LINO                           ADDRESS ON FILE
AICHNER, TIMOTHY                      ADDRESS ON FILE
AIDA CORPORATION                      ATTN: CRAIG 9855 MINING DR JACKSONVILLE FL 32257
AIDFREIGHT CORP                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AIDIAH TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AIDOO, CHARLES O                      ADDRESS ON FILE
AIDOO, CHARLES O                      ADDRESS ON FILE
AIELLO, NICHOLAS                      ADDRESS ON FILE
AIELLO, SHANNON                       ADDRESS ON FILE
AIEM LOGISTICS                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AIFLEET                               200 E 6TH ST STE 300 AUSTIN TX 78701
AIG                                   C/O NATIONAL UNION FIRE INS CO OF PA ATTN: KEVIN J LARNER ESQ 28 LIBERTY ST,
                                      FL 22 NEW YORK NY 10005
AIG                                   C/O FEDERAL INSURANCE CO ATTN: ADRIENNE LOGAN, LEGAL ANALYST 436 WALNUT ST
                                      PHILADELPHIA PA 19106
AIG SPECIALTY INSURANCE COMPANY       1271 AVE OF THE AMERICAS NEW YORK NY 10020
AIIBLE, INC.                          13196 EARLY CRIMSON ST EASTVALE CA 92880
AIK TRANSPORT                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AIK TRANSPORT, LLC                    OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
AIKEN LEGACY LOGISTICS LLC            OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
AIKEN, ANTHONY                        ADDRESS ON FILE
AIKEN, CHARLES K                      ADDRESS ON FILE
AIKEN, IRIM                           ADDRESS ON FILE
AIKENS, JEFFERY                       ADDRESS ON FILE
AIKINS TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AIKMAN, MICHAEL G                     ADDRESS ON FILE
AILES, DENNIS                         ADDRESS ON FILE
AILSWORTH, ANTHONY                    ADDRESS ON FILE
AILSWORTH, WALDALE                    ADDRESS ON FILE
AIM 3PL SERVICES                      1500 TRUMBULL ROAD GIRARD OH 44420
AIM ELECTRIC LTD                      515-43RD ST EAST SASKATOON SK S7K 0V5 CANADA
AIM EXPRESS CORP                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AIM EXPRESS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
AIM FREIGHT TRAIL LOGISTICS LLC       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AIM GRAPHIX                           9815 BROWNSTOWN RD. HENRYVILLE IN 47126
AIM INTELLIGENT MACHINES, INC.        14751 N KELSEY ST STE 105-528 MONROE WA 98272
AIM TRANSPORT                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AIM TRANSPORTATION SERVICES LLC       OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
AIM TRUCKING                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AIM WHOLESALE                         2757 E CHAMBERS ST PHOENIX AZ 85040
AIMASA TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AIMCO EQUIPMENT CO LLC                1001 COLONEL GLENN RD LITTLE ROCK AR 72204
AINEY, JACK                           ADDRESS ON FILE
AINI LLC                              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AINSCOUGH, DIANNA J                   ADDRESS ON FILE
AINSWORTH, KYANDRE                    ADDRESS ON FILE
AIONO, AMMON                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 49 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23         Page 58 of 2156

Claim Name                             Address Information
AIONO, ROBERT                          ADDRESS ON FILE
AIONO, TONY                            ADDRESS ON FILE
AIR CAPITOL DELIVERY & WHSE            5841 PROSPECT RD PARK CITY KS 67219
AIR CARTAGE INC                        1019 INDIAN DANCER TRAIL BELVIDERE IL 61008
AIR CENTER OF NEVADA INC.              4325 W. POST ROAD LAS VEGAS NV 89118
AIR CLEAN FILTER SERVICE CO INC        PO BOX 1203 LAKE SHERWOOD MO 63357
AIR COMM CORPORATION                   4840 S 35TH ST PHOENIX AZ 85040
AIR COMM CORPORATION                   2929 S 48TH ST TEMPE AZ 85282
AIR COMMAND HEATING AIR & MAIN         132 VICTORIA WAY PIEDMONT SC 29673
AIR COMPRESSOR ENERGY SYSTEMS          6735 BRANDT ST ROMULUS MI 48174
AIR COMPRESSOR ENGINEERING LLC         PO BOX 4264 WICHITA KS 67204
AIR COMPRESSOR ENGINEERING LLC         PO BOX 4264 WICHITA KS 67204-0264
AIR COMPRESSOR SALES OF ATLANTA, INC   PO BOX 26099 MACON GA 31221
AIR COMPRESSORS PLUS INC               550 FLYING CLOUD DR 1B CHASKA MN 55318
AIR CONDITIONING TECH & SERVICES INC   100 BERRYHILL LN THOMASVILLE GA 31792
AIR DISTRIBUTION                       CORP A: HOLLY, 353 HOWARD ST BROCKTON MA 02302
AIR ELECTRIC EQUIPMENT & TOOLS, INC.   5603 E 3RD AVE SPOKANE WA 99212
AIR EXCHANGE AND ENERGY SOLUTIONS      169 OAKDENE AVE LEONIA NJ 07605
AIR GAS                                3025 EVERGREEN DR. DULUTH GA 30096
AIR GAS                                3225 MCCORKLE RD MEMPHIS TN 38116
AIR GAS USA, LLC                       6055 ROCKSIDE WOODS BLVD INDEPENDENCE OH 44131
AIR GROUND XPRESS, INC.                55 MATCHETTE RD, PO BOX 438 CLINTON PA 15026
AIR GROUND XPRESS, INC.                PO BOX 438 CLINTON PA 15026
AIR KING                               ATTN: REBECCA MORRIS LOGISTICS 525 MILL ST COLUMBIA PA 17512
AIR LIQUIDE CANADA INC                 MH2042, P O BOX 6789 STN CENTRE-VILLE MONTREAL QC H3C 4J5 CANADA
AIR LIQUIDE CANADA INC                 ATTN: LUISA PEREZ 5110 KEITH AVE TERRACE BC V8G 1K9 CANADA
AIR LOOM                               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
AIR MECHANICAL                         ATTN: WAYNE CRISTWELL 21830 N 22ND AVE PHOENIX AZ 85027
AIR POWER EQUIPMENT CO INC             703 N VILLA AVE OKLAHOMA CITY OK 73107
AIR REPS                               1710 N CALISPEL STE A SPOKANE WA 99205
AIR ROAD CARRIER LTD                   6330 131A ST SURREY BC V3X1N9 CANADA
AIR SAVERS, INC.                       4400 S. LAWNDALE AVENUE LYONS IL 60534
AIR SCIENCE TECHNOLOGIES               ATTN: CARMEN VELEZ 120 6TH ST FT MYERS FL 33907
AIR SYSTEMS AND PUMP SOLUTIONS LLC     PO BOX 650558 DALLAS TX 75265
AIR TECHNOLOGY, INC.                   PO BOX 73278 CLEVELAND OH 44193
AIR TUBE TRANSFER SYSTEMS              715 N. CYPRESS STREET ORANGE CA 92867
AIR VAN                                3340 S DENVER WAY BOISE ID 83705
AIRBORNE TRANSPORTATION LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AIRE-MASTER OF CENTRAL NJ              PO BOX 1389 WRIGHTSTOWN NJ 08562
AIREFCO                                ATTN: ANDRE BRAME 18755 SW TETON TUALATIN OR 97062
AIREFCO INC                            18755 SW TETON AVE TUALATIN OR 97062
AIREFCO INC                            18755 SW TETON TUALATIN OR 97062
AIREFCO INC                            ATTN: ANDREE BAIN 18755 SW TETON AVE TUALATIN OR 97062
AIREFCO INC                            ATTN: ANDREE BRAME 18755 SW TETON AVE TUALATIN OR 97062
AIRESERV HEATING & AIR CONDITIONING    6620 STEPHENS STATION RD B COLUMBIA MO 65202
AIRESERV HEATING & AIR CONDITIONING    3901 S PROVIDENCE SUITE A COLUMBIA MO 65203
AIRGAS                                 2446 NE DIAMOND LAKE BLVD ROSEBURG OR 97470
AIRGAS CLAIMS                          AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
AIRGAS INTERMOUNTAIN                   4473 S 15TH W IDAHO FALLS ID 83402



Epiq Corporate Restructuring, LLC                                                                   Page 50 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG        DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 59 of 2156

Claim Name                               Address Information
AIRGAS NORPAC                            AFS LOGISTICS, PO BOX 18170 SHREVEPORT LA 71138
AIRGAS USA LLC                           6055 ROCKSIDE WOODS BLVD N INDEPENDENCE OH 44131
AIRGAS USA LLC                           1122 W ROSECRANS AVE GARDENA CA 90247
AIRGAS USA LLC                           PO BOX 7423 PASADENA CA 91109
AIRGAS USA LLC                           PO BOX 102289 PASADENA CA 91189
AIRGAS USA LLC                           16380 VALLEY BLVD FONTANA CA 92335
AIRGAS USA LLC - CHICAGO                 PO BOX 734445 CHICAGO IL 60673
AIRGAS USA LLC - CHICAGO                 PO BOX 734445 CHICAGO IL 60673-4445
AIRGAS USA LLC - CHICAGO                 PO BOX 802576 CHICAGO IL 60680
AIRGAS USA LLC - DALLAS                  PO BOX 676015 DALLAS TX 75267
AIRGAS USA LLC - DALLAS                  PO BOX 734671 DALLAS TX 75373
AIRGAS USA LLC - DALLAS                  PO BOX 734672 DALLAS TX 75373
AIRGROUP                                 730 FEE FEE ROAD MARYLAND HEIGHTS MO 63043
AIRKIT, INC.                             2114 BROADWAY ST REDWOOD CITY CA 94063
AIRLINE TRANSPORTATION SPECIALISTS INC. PO BOX 21344 EAGAN MN 55121
AIRMAC COMPRESSOR SALES & SERVICE INC    1006 MORRISVILLE PARKWAY MORRISVILLE NC 27560
AIRMASTERS                               4200 HERITAGE DR NORTH LITTLE ROCK AR 72117
AIRMASTERS                               8107 I-30 LITTLE ROCK AR 72209
AIRMAX                                   4236 RIVERS AVE NORTH CHARLESTON SC 29405
AIROLDI BROS. INC.                       6930 S. 6TH STREET OAK CREEK WI 53154
AIRPORT CLINIC                           PO BOX 889 LAKE PARK GA 31636
AIRPORT LOGISTICS SERVICES GROUP, INC.   5600 NORTH RIVER ROAD SUITE 65 ROSEMONT IL 60018
AIRSOURCE                                ROGERS WIRELESS UNIT 20-2579 PEMBINA HWY WINNIPEG MB R3T 2H5 CANADA
AIRSPED, INC.                            PO BOX 66015 CHICAGO IL 60666
AIRTEC SPORTS                            7435 KENT AVE EAU CLAIRE WI 54701
AIRTEX PRODUCTS INC.                     259 LOWER MORRISVILLE RD. FALLSINGTON PA 19054
AIRTIGHT FACILITECH                      PO BOX 603592 CHARLOTTE NC 28260-3592
AIRTIGHT FACILITECH                      PO BOX 948592 ATLANTA GA 30394
AIRTIME EXPRESS INC.                     3190 CARAVELLE DR MISSISSAUGA ON L4V 1K9 CANADA
AISA TRANSPORTATION LLC                  1057 W 8TH ST CORONA CA 92882
AISEN, NATHANAEL                         ADDRESS ON FILE
AISPURO, NASARIO                         ADDRESS ON FILE
AISPURO-RAMOS, PATRICIA                  ADDRESS ON FILE
AITA, SIUOAMOA                           ADDRESS ON FILE
AITCH TRANSPORT INC                      OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA AB L3V 6L4
                                         CANADA
AITHAN TRUCK LLC                         OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
AITKEN, JAMES                            ADDRESS ON FILE
AITKEN, JAMES J                          ADDRESS ON FILE
AIU, LARRY                               ADDRESS ON FILE
AIV LLC                                  2048 BRATTON PLACE DR FRANKLIN TN 37067
AIVA TRANS INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AIZEN LGX LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AIZONOI GROUP LLC                        OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
AJ & S FREIGHT INC                       OR FIRST LINE FUNDING GROUP 1108 WASHINGTON AVE S MADISON SD 57042
AJ BOELLNER INC.                         ATTN: DAVE BOELLNER 154 ILLINOIS AVE MAUMEE OH 43537-2159
AJ CARGO LLC                             OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
AJ CHAHAL TRANS INC                      OR CFS INC DBA COMFREIGHT HAULPAY PO BOX 200400 DALLAS TX 75320-0400
AJ GILL TRANSPORT LTD                    OR RIVIERA FINANCE OF CALGARY PO BOX 9198 CALGARY BC T2P 5E1 CANADA



Epiq Corporate Restructuring, LLC                                                                      Page 51 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 60 of 2156

Claim Name                            Address Information
AJ LOGISTICS (MC1214723)              793 STONE VIEW DR HOSCHTON GA 30548
AJ LOGISTICS TRANSPORT INC            OR TCI BUSINESS CAPTIAL, INC PO BOX 9149 MINNEAPOLIS MN 55480
AJ MADISON                            ATTN: MARIA T. CLAIMS 3605 13TH AVE BROOKLYN NY 11218
AJ PRO LOGISTICS LLC                  563 MARION LANE BRODHEADSVILLE PA 18322
AJ TRANSPORT LLC                      6947 MEADOW HAVEN LN ST LOUIS MO 63129
AJ TRANSPORTATION EXPRESS LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AJ TRANSPORTATION LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AJ TRUCKING INC                       OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
AJ TRUCKING SERVICE, CORPORATION      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AJ6 TRUCKING                          OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
AJA BROTHERS INC                      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
AJA TRANSPORTATION LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AJAH EXPRESS LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
AJAMYA TRUCK LINES LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AJANAKU, OSEI                         ADDRESS ON FILE
AJAX PRO INSTALLATIONS LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AJAY SIMRAN TRANSPORTATION INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AJC HOTSHOT LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AJD EXPRESS LLC                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
AJF TRANSPORTATION GROUP LLC          OR VIVA CAPITAL FUNDING, INC PO BOX 17548 EL PASO TX 79917
AJI TRANSPORT SERVICES                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AJIA LLC                              PO BOX 106 TWIN FALLS ID 83303
AJIA, LLC                             ATTN: RYAN LEISER 430 BLUE LAKES BOULEVARD SUITE D TWIN FALLS ID 83301
AJIKADOLLAR LOGISTICS LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AJK DOOR SERVICES INC                 4125 WEST CALVARY ROAD DULUTH MN 55803
AJLA EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AJMM TRUCKING CORP                    OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AJN TRANSPORT LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AJN TRUCKING LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AJODA TRANSPORT LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AJP TRANSPORT                         7818 BUR OAK WAY SAN ANTONIO TX 78223
AJS MOBILE WASH ARKANSAS INC          PO BOX 94850 NORTH LITTLE ROCK AR 72190-4850
AJS TRANSPORT & LOGISTICS LLC         OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AJS TRANSPORT LLC                     OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
AJS TRANSPORT SERVICE LLC             PO BOX 466728 LAWRENCEVILLE GA 30042
AJT EXPRESS                           9100 CONROY WINDERMERE RD 200 WINDERMERE FL 34786
AJT EXPRESS                           OR OUTGO INC, 117 EAST LOUISA ST 161 SEATTLE WA 98102
AJY TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AJY TRUCKING INC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
AJZ TRANSPORT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AK & G TRANS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AK BROTHERS LOGISTICS INC             OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
AK CARRIERS INC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AK CHEEMA TRUCKING INC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AK EXPRESS (MC976830)                 OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
AK EXPRESS INC                        OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
AK EXPRESS TRANSPORT LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
AK LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AK OHIO TRUCKING LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086



Epiq Corporate Restructuring, LLC                                                                   Page 52 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23       Page 61 of 2156

Claim Name                            Address Information
AK RIKKS                              ADDRESS ON FILE
AK TECH GROUP & LOGISTICS LLC         OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
AK TRANS LLC (BOWLING GREEN, KY)      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
AK TRANSPORT LLC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
AK TRANSPORT LLC (MC807480)           7841 COTTAGE GROVE WAY ANTELOPE CA 95843
AK TRUCKING INC                       OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
AKA EXPRESS INC (MC837887)            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AKA TRUCKING CO. INC.                 23850 SHERWOOD CENTER LINE MI 48015
AKA TRUCKING LLC                      OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
AKA TRUCKING LLC (MC1065076)          1255 S ZENO CIRCLE F AURORA CO 80017
AKA XPRESS LLC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
AKAAL TRUCKING LLC                    11610 W JACKSON ST AVONDALE AZ 85323
AKAL LOGISTICS                        655 GIDDA LOOP YUBA CITY CA 95993
AKAL SAHAI TRANSPORTATION INC         8292 DANDELION DRIVE ELK GROVE CA 95624
AKAL TRUCKING LLC                     3039 W 6 1/2 MILE RD CALEDONIA WI 53108
AKAL TRUCKING LLC (MC973876)          2528 KNOLLWOOD LN STOCKTON CA 95206
AKASH LOGISTICS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
AKASH TRUCKING LLC                    552 E JORDAN LN OAK CREEK WI 53154
AKB TRANSPORT CORP                    54 HAGAMAN ST PORT READING NJ 07064
AKB TRANSPORT CORP                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AKBAR, JAVID                          ADDRESS ON FILE
AKBARY, EBRAHIM                       ADDRESS ON FILE
AKE ENVIRONMENTAL AND CONSTRUCTION    30799 PINETREE RD. BOX 217 PEPPER PIKE OH 44124
SERVI
AKE, RYAN                             ADDRESS ON FILE
AKEC, AROK                            ADDRESS ON FILE
AKEEM J BEDWARD                       ADDRESS ON FILE
AKELEY, ROBERT                        ADDRESS ON FILE
AKELEY, ROBERT                        ADDRESS ON FILE
AKER, JEFFREY                         ADDRESS ON FILE
AKERS, ANGELA                         ADDRESS ON FILE
AKERS, DELISA                         ADDRESS ON FILE
AKERS, DELISA                         ADDRESS ON FILE
AKERS, FRED S                         ADDRESS ON FILE
AKERS, JENNIFER                       ADDRESS ON FILE
AKERS, MATTHEW                        ADDRESS ON FILE
AKERS, VINCENT                        ADDRESS ON FILE
AKERSON, DAVID                        ADDRESS ON FILE
AKF TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AKG LEE LLC                           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AKG TRANSPORTATION INC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AKHI ENTERPRISE,LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
AKI LOGISTICS GROUP INC               OR PRO FUNDING INC, DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
AKIN, KENNETH                         ADDRESS ON FILE
AKINES HEAVENLY TRANSPORT LLC         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AKINOLA, JAWARI                       ADDRESS ON FILE
AKINS, DEREK                          ADDRESS ON FILE
AKINS, DONALD                         ADDRESS ON FILE
AKINS, JAMES                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 53 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23        Page 62 of 2156

Claim Name                            Address Information
AKINS, KEITH                          ADDRESS ON FILE
AKJAY INTERNATIONAL LLC               ATTN: JAY 3175 RTE 10 EAST STE 400 DENVILLE NJ 07834
AKKA EXPRESS INC                      7465 WATT AVE ROSEVILLE CA 95661
AKM TRANSPORT LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AKM TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AKO JONES FREIGHT CORP                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                      IL 60674-0411
AKO TRUCKING LLC                      OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
AKP INSPECTION & DELIVERY INC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AKR CARRIERS INCORPORATED             OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415
AKRAM, UMAIR                          ADDRESS ON FILE
AKRIDGE, VICKI                        ADDRESS ON FILE
AKRON CARRIERS INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AKRON-CANTON TIRE SERVICE             4600 PINECREST DR UNIONTOWN OH 44685
AKS EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AKS FREIGHT LLC                       8324 LINCOLN AVE SKOKIE IL 60077
AKS LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AKS TRANS INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AKS TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AKSEL EXPRESS LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
AKSEL EXPRESS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AKSHAY ENTERPRISES INC.               24 QUINTETTE CLOSE BRAMPTON ON L6P 4C9 CANADA
AKSM LOGISTICS INC                    OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
AKT LOGISTICS, LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AKZO NOBEL COATINGS INC               GOODMAN REICHWALD DODGE, PO BOX 26067 MILWAUKEE WI 53226
AL BENTONS ELITE TRUCKING LLC         OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
AL BOOGIE LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AL DABBAGH TRUCKING LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AL DABBAGH TRUCKING LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AL HAMED, NOOR                        ADDRESS ON FILE
AL SAMARRAI, MAHMOUD R                ADDRESS ON FILE
AL SOLUTIONS INC                      1726 RANCHVIEW DR NAPERVILLE IL 60565
AL TRANS LINES INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AL TRUCK TRANSPORT LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AL TRUCKING                           1318 W 227TH ST APT A TORRANCE CA 90501
AL TRUCKING & SERVICES                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AL-AMIN, ABDUL                        ADDRESS ON FILE
AL-AYOUB, FAREED                      ADDRESS ON FILE
AL-BASIT TRANSPORTATION COMPANY LLC   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AL-BILALI FOSTER, JAMIE               ADDRESS ON FILE
AL-BILALI FOSTER, JAMIE               ADDRESS ON FILE
AL-HAKEEM, LYNZEE                     ADDRESS ON FILE
AL-HAMED, NOOR                        ADDRESS ON FILE
AL-IDANI, ROXANNE                     ADDRESS ON FILE
AL-NOOR EXPRESS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AL-REHMAN TRUCKING LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AL-TAL, JOSEPH                        ADDRESS ON FILE
ALABAMA AUTO                          C/O CHRISTIAN & SMALL ATTN HIGHTOWER, BRADLEY 505 N 20TH ST, STE 1800
                                      BIRMINGHAM AL 35203



Epiq Corporate Restructuring, LLC                                                                   Page 54 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23       Page 63 of 2156

Claim Name                             Address Information
ALABAMA AUTOMOTIVE AND DIESEL REPAIR   5580 US HWY 72 ATHENS AL 35611
ALABAMA CARRIERS, INC.                 ALABAMA CARRIERS, INC., PO BOX 746346 ATLANTA GA 30374
ALABAMA CENTER FOR OCC MED             114 WILDWOOD PARKWAY BIRMINGHAM AL 35209-6870
ALABAMA DEPARTMENT OF REVENUE          50 N RIPLEY ST MONTGOMERY AL 36130
ALABAMA DEPARTMENT OF REVENUE          INCOME TAX ADMIN DIV CORP TAX SECTION PO BOX 327435 MONTGOMERY AL 36132
ALABAMA DEPARTMENT OF REVENUE          PO BOX 327435 MONTGOMERY AL 36132
ALABAMA DEPARTMENT OF REVENUE          SALES AND USE TAX DIVISION PO BOX 327790 MONTGOMERY AL 36132
ALABAMA DEPARTMENT OF REVENUE          50 N. RIPLEY ST P O BOX 154 MONTGOMERY AL 36135-0001
ALABAMA KID TRUCKING LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ALABAMA MOTOR EXPRESS, INC.            PO BOX 487 ASHFORD AL 36312
ALABAMA POWER CO                       30 IVAN ALLEN JR. BLVD. NW ATLANTA GA 30308
ALABAMA POWER COMPANY                  P.O. BOX 242 BIRMINGHAM AL 35292
ALABAMA STATE TREASURER                PO BOX 302520 MONTGOMERY AL 36130
ALABAMA STATE TREASURER                UNCLAIMED PROPERTY DIVISION 100 N UNION ST STE 636 MONTGOMERY AL 36130
ALABAMA TRUCKING ASSOCATION            PO BOX 242337 MONTGOMERY AL 36124
ALADDIN ELECTRIC INC.                  4809 JAMES MCDIVITT JACKSON MI 49201
ALADDIN PRINT SHOP INC                 5918 MCPHERSON RD STE 2A LAREDO TX 78041
ALADDIN TRANSPORT LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ALADDINS LOGISTICS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ALAGNA, PETER                          ADDRESS ON FILE
ALAMA, HARRY                           ADDRESS ON FILE
ALAMEDA COUNTY TAX COLLECTOR           1221 OAK ST STE 131 OAKLAND CA 94612
ALAMEDA COUNTY TREASURER               TREASURER AND TAX COLLECTOR 1221 OAK ST STE 131 OAKLAND CA 94612
ALAMEER TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALAMEIDA, ANTHONY                      ADDRESS ON FILE
ALAMITOS AUTO PARTS                    829 MARTIN LTHR KNG JR WA MERCED CA 95341
ALAMMARY TRUCKING                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALAMO TEES & ADVERTISING               C/O A BANKSON GROUP, LTD. COMPANY 12814 COGBURN SHAVANO PARK TX 78249
ALAMO TRUCKING LLC                     OR STRATO PAY, LLC LOCKBOX 218 PO BOX 1575 MINNEAPOLIS MN 55480
ALAMO UTILITY TRANSPORTS               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALAMO, DEAN                            ADDRESS ON FILE
ALAN BARRETT SMITH                     ADDRESS ON FILE
ALAN F WINGATE                         ADDRESS ON FILE
ALAN L GOOD II                         ADDRESS ON FILE
ALAN TRANSPORT LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALAN WIRE COMPANY INC                  1500 W MALONE AVE SIKESTON MO 63801
ALANA TRANSPORTATION INC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ALANDO T DISMUTE                       ADDRESS ON FILE
ALANIS TRUCKING COMPANY LLC            74 FRESNO CIRCLE RIO GRANDE CITY TX 78582
ALANIS, ALEXANDER                      ADDRESS ON FILE
ALANIS, CESAR                          ADDRESS ON FILE
ALANIZ, DAVID                          ADDRESS ON FILE
ALANIZ, DENNIS                         ADDRESS ON FILE
ALANIZ, RICK                           ADDRESS ON FILE
ALARCON TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
ALARCON, AARON                         ADDRESS ON FILE
ALARM DETECTION SYSTEMS INC            1111 CHURCH RD AURORA IL 60505
ALARMCO, INC.                          2007 LAS VEGAS BLVD S LAS VEGAS NV 89104
ALAROCH TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                    Page 55 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 64 of 2156

Claim Name                            Address Information
ALAS, MIGUEL                          ADDRESS ON FILE
ALASKA CENTRAL EXPRESS, INC.          PO BOX 190248 ANCHORAGE AK 99519
ALASKA DEPATMENT OF REVENUE           P O BOX 110420 JUNEAU AK 99811
ALASKA FREIGHT SERVICE INC            OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ALASKA MARINE LINES, INC.             AML, P.O. BOX 34026 SEATTLE WA 98124
ALASKA RUBBER AND SUPPLY              5811 OLD SEWARD HWY ANCHORAGE AK 99518
ALASKA TRANSPORT LLC                  1994 WILLOWBROOK LN PERRIS CA 92571
ALASKA TRANSPORT LLC (MC1081831)      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ALATORRE LOGISTIC INC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
ALATORRE, RAMON                       ADDRESS ON FILE
ALAVEZ, FABIAN                        ADDRESS ON FILE
ALAVEZ, MARCO                         ADDRESS ON FILE
ALAXANIAN, KALEN                      ADDRESS ON FILE
ALAYOUB, FADI                         ADDRESS ON FILE
ALB LOGISTICS LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALB TRANSPORTATION LLC                OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
ALBA FREIGHT INC                      OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
ALBA MOTORS LLC                       OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ALBA TRANS INC .                      OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
ALBA TRANSPORT                        OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
ALBA TRANSPORT LLC                    OR IFM, 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
ALBA TRANSPORTATION INC.              403 DEERING LANE BOLINGBROOK IL 60440
ALBA, RALPHIE                         ADDRESS ON FILE
ALBA, STEVENS                         ADDRESS ON FILE
ALBAIER, JAFAR                        ADDRESS ON FILE
ALBAKOUR, WISSAM                      ADDRESS ON FILE
ALBANESE, SCOTT                       ADDRESS ON FILE
ALBANIA TRUCKING INC                  OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ALBANY FIRE EXTINGUISHER SALES        & SERVICE INC 215 WATERVLIET SHAKER RD 215 WATERVLIET SHAKER RD WATERVLIET NY
                                      12189
ALBANY FIRE PROTECTION, INC.          P.O. BOX 429, 1853 AVENUE B WATERVLIET NY 12189
ALBANY MACK SALES                     90 HARTS LANE ALBANY NY 12204
ALBANY, DOMINIQUE                     ADDRESS ON FILE
ALBARO JUAREZ TRUCKING                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
ALBASHA LOGISTICS                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ALBATRANS EXPRESS INC                 3510 PHILLIPS HIGHWAY JACKSONVILLE FL 32207
ALBATROSS VM GROUP INC                OR PRO FUNDING, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
ALBATROSS X-PRESS CORP.               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALBAUGH, JOHN                         ADDRESS ON FILE
ALBAX INC.                            521 W. WRIGHTWOOD AVE. ELMHURST IL 60126
ALBAY, ELISSA                         ADDRESS ON FILE
ALBAZI TRUCKING INC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ALBEIRO R QUINTERO                    ADDRESS ON FILE
ALBEIRO R QUINTERO                    ADDRESS ON FILE
ALBENS V POLYNICE                     ADDRESS ON FILE
ALBERS, JAMES                         ADDRESS ON FILE
ALBERS, JENNIFER                      ADDRESS ON FILE
ALBERT & SONS CONSTRUCTION            3222 VFW LANE COLLINSVILLE IL 62234



Epiq Corporate Restructuring, LLC                                                                   Page 56 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG      DocService
                                                  655 Filed
                                                          List
                                                               09/25/23      Page 65 of 2156

Claim Name                             Address Information
ALBERT BRYDGES                         ADDRESS ON FILE
ALBERT KEMPERLE INC                    185 LOWELL RD HUDSON NH 03051
ALBERT L LEWIS                         ADDRESS ON FILE
ALBERT MARTIN                          ADDRESS ON FILE
ALBERT SHEMONIS FACILITY MAINTENANCE   157 MUNICIPAL ROAD BERWICK PA 18603
ALBERT TRANSPORT INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ALBERT, JASON M                        ADDRESS ON FILE
ALBERT, JOSEPH W                       ADDRESS ON FILE
ALBERT, MARK                           ADDRESS ON FILE
ALBERT, NICHOLAS                       ADDRESS ON FILE
ALBERT, RANDY                          ADDRESS ON FILE
ALBERTA MAINTENANCE ENFORCEMEN         7TH FLOOR J. E BROWNLEE BLDG 10365-97 ST NW EDMONTON AB T5J 3W7 CANADA
ALBERTI, JASON                         ADDRESS ON FILE
ALBERTO LOPEZ TRUCKING LLC             OR TBS FACTORING SERVICE LLC, OGDEN UT 84415
ALBERTO TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
ALBERTS LANE LLC                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ALBERTS TRUCK SERVICE                  3626 MANITOU ST HOUSTON TX 77013
ALBERTS TRUCK SERVICE                  CATALYST FINANCE LP, PO BOX 19589 HOUSTON TX 77224
ALBERTS TRUCK SERVICE & SUPPLY, INC.   D/B/A: ALBERTS WRECKER SERVICE PO BOX 228 WEATHERFORD OK 73096
ALBERTS TRUCKING INC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALBERTS TRUCKING LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ALBERTS WRECKER SERVICE                PO BOX 2088 WEATHERFORD OK 73096
ALBERTS, MICHAEL                       ADDRESS ON FILE
ALBERTSON, J                           ADDRESS ON FILE
ALBI EXPRESS LLC                       OR ASSIST FINANCIAL SERVICES, INC PO BOX 347 MADISON SD 57042
ALBIN EXPRESS INC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ALBINIAK, JACOB                        ADDRESS ON FILE
ALBINIAK, MIKE                         ADDRESS ON FILE
ALBION EXPRESS INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ALBION LOGISTICS INC                   36 SIERRA PEAK CRT BRAMPTON ON L6R 2B2 CANADA
ALBION LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ALBOSAAD, AMAR                         ADDRESS ON FILE
ALBRECHT, RANDAL                       ADDRESS ON FILE
ALBRIGHT MEMORIAL LIBRARY BUILDING     500 VINE ST, SCRANTON PA 18509
SCRAN
ALBRIGHT, ANDREW                       ADDRESS ON FILE
ALBRIGHT, BEN                          ADDRESS ON FILE
ALBRIGHT, DIRK                         ADDRESS ON FILE
ALBRIGHT, HAYDEN                       ADDRESS ON FILE
ALBRIGHT, JOSHUA                       ADDRESS ON FILE
ALBRITTON, WILLIAM                     ADDRESS ON FILE
ALBUALIEAN, AHMED                      ADDRESS ON FILE
ALBUQUERQUE BERNALILLO COUNTY          415 SILVER SW ALBUQUERQUE NM 87102
ALBUQUERQUE FENCE COMPANY              3807 ACADEMY PKWY N NE ALBUQUERQUE NM 87109
ALBUQUERQUE FREIGHTLINER               C\O TAG TRUCK CENTER OF CALVERT CITY 215 CAMPBELL DRIVE CALVERT CITY KY 42029
ALBUS, MERV                            ADDRESS ON FILE
ALCAIDE, CRISTIAN                      ADDRESS ON FILE
ALCAINE, EDGAR                         ADDRESS ON FILE
ALCALA TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 57 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG       DocService
                                                   655 Filed
                                                           List
                                                                09/25/23      Page 66 of 2156

Claim Name                              Address Information
ALCALA, ALEX                           ADDRESS ON FILE
ALCALA, AURELIO                        ADDRESS ON FILE
ALCALA, DAKOTA                         ADDRESS ON FILE
ALCALA, ERNESTO                        ADDRESS ON FILE
ALCALA, JUAN                           ADDRESS ON FILE
ALCALA, RICHARD                        ADDRESS ON FILE
ALCANTAR LICEA, MARY                   ADDRESS ON FILE
ALCANTAR, NICHOLAS                     ADDRESS ON FILE
ALCARAZ ARANA, IRMA YOLANDA            ADDRESS ON FILE
ALCARAZ, ISRAEL                        ADDRESS ON FILE
ALCARAZ, MARITZA                       ADDRESS ON FILE
ALCARGO MAX INC.                       9600 WATERFORD PL APT 207 LOVELAND OH 45140
ALCARGO MAX INC.                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ALCATRAZ LLC                           OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
ALCATRAZ LLC                           9768 GREEN PARK INDUSTRIAL DR SAINT LOUIS MO 63123-7243
ALCHEMY LOGISTICS LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALCIA, ALAIN                           ADDRESS ON FILE
ALCIVAR TRANSPORT LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALCO IRON & METAL                      ATTN: GENERAL COUNSEL 2140 DAVIS ST SAN LEANDRO CA 94577
ALCO WINDOW AND DOORS LLC              ATTN: LUIS ALVAREZ 1421 NW 89TH COURT DORAL FL 33172-3005
ALCOHOLIC BEVERAGE LAWS ENFORCEMENT COM OKLAHOMA 4545 N LINCOLN SUITE 270 OKLAHOMA CITY OK 73105
ALCOM INTERMODAL INC                   OR RIVIERA FINANCE OF TEXAS, INC PO BOX 848062 LOS ANGELES CA 90084-8062
ALCOR TRANSPORT INC                    OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
ALCORN INDUSTRIAL INC                  PO BOX 68675 INDIANAPOLIS IN 46268
ALCORN, MICHAEL                        ADDRESS ON FILE
ALCORN, MICHAEL                        ADDRESS ON FILE
ALCOSER, SIMON                         ADDRESS ON FILE
ALCOSER, SIMON                         ADDRESS ON FILE
ALCOX, GEORGE                          ADDRESS ON FILE
ALCS TRANSPORTATION, LLC               16711 MEADOW WOOD DR NOBLESVILLE IN 46062
ALD LLC                                OR MCDOWELL FACTOR & CAPITAL SERVICES LLC P.O. BOX 161086 ALTAMONTE SPRINGS FL
                                       32716-1086
ALDABA, ALAN                           ADDRESS ON FILE
ALDABABNEH, SALEH                      ADDRESS ON FILE
ALDACH, STEVEN                         ADDRESS ON FILE
ALDACO, RAFAEL                         ADDRESS ON FILE
ALDAMA, CARLOS                         ADDRESS ON FILE
ALDANA-LOPEZ, JOSE                     ADDRESS ON FILE
ALDARONDO, MICHAEL                     ADDRESS ON FILE
ALDASCH, JOHN                          ADDRESS ON FILE
ALDE, DAVID                            ADDRESS ON FILE
ALDEN LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALDEN, LAWRENCE                        ADDRESS ON FILE
ALDER, KENNETH                         ADDRESS ON FILE
ALDER, WILLIAM                         ADDRESS ON FILE
ALDERSON, ERIC                         ADDRESS ON FILE
ALDERSON, ERIC                         ADDRESS ON FILE
ALDERSON, KIMBERLY                     ADDRESS ON FILE
ALDERSON, LARRY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 58 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG    DocService
                                                655 Filed
                                                        List
                                                             09/25/23         Page 67 of 2156

Claim Name                           Address Information
ALDERSON, SAMUEL                     ADDRESS ON FILE
ALDERSON, TIMOTHY                    ADDRESS ON FILE
ALDES AUTO SALES INC                 4727 PINE LAKE DR SAINT CLOUD FL 34769
ALDEW SOLUTIONS CORPORATION          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALDINGER, SCOTT                      ADDRESS ON FILE
ALDON MEGA INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ALDOS TRANSPORT, LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ALDRICH TRUCKING INC                 PO BOX 643 HALLSTEAD PA 18822
ALDRIDGE, BERNARD                    ADDRESS ON FILE
ALDRIDGE, CHRISTOPHER                ADDRESS ON FILE
ALDRIDGE, EDWARD                     ADDRESS ON FILE
ALDRIDGE, GARY                       ADDRESS ON FILE
ALDRIDGE, JAMES                      ADDRESS ON FILE
ALDRIDGE, KEVIN                      ADDRESS ON FILE
ALDRIDGE, REBEKAH                    ADDRESS ON FILE
ALDRIDGE, TIKALA                     ADDRESS ON FILE
ALDUENDA, ALFREDO                    ADDRESS ON FILE
ALE LOGISTICS CORP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ALE LOGISTICS INCORPORATED           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALE, IOANE                           ADDRESS ON FILE
ALE, JOE                             ADDRESS ON FILE
ALE, PATRICK                         ADDRESS ON FILE
ALECTRA UTILITIES                    2185 DERRY RD. WEST MISSISSAUGA ON L5N 7A6 CANADA
ALECTRA UTILITIES CORPORATION        55 JOHN STREET NORTH HAMILTON ON L8R 3M8 CANADA
ALEE TRANSPORT                       OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
ALEE TRANSPORT                       1030 N MOUNTAIN AVE 317 ONTARIO CA 91762-2114
ALEGAB TRANSPORT LLC                 OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
ALEGRIA, FRANKLIN                    ADDRESS ON FILE
ALEJANDRE, VICTOR                    ADDRESS ON FILE
ALEJANDRO JIMENEZ                    ADDRESS ON FILE
ALEJANDRO ROBLES                     ADDRESS ON FILE
ALEJANDRO VIZCAINO                   ADDRESS ON FILE
ALEJANDRO, ANTONIO                   ADDRESS ON FILE
ALEKO                                19810 87TH AVE S BLDG F KENT WA 98031
ALEKO                                8307 S 192ND ST KENT WA 98032
ALEKO TRANSPORT INC                  OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA MB L4Z 1X8
                                     CANADA
ALEKOS LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALEKSENKO, ARTUR                     ADDRESS ON FILE
ALEKSIC, LAUREN                      ADDRESS ON FILE
ALEKSIC, WALTER                      ADDRESS ON FILE
ALEMAN TRUCKING LLC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ALEMAR, JEFFREY                      ADDRESS ON FILE
ALEPH TAV LOGISTICS, LLC             OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
ALERS, BRIAN                         ADDRESS ON FILE
ALERT ALARM OF HAWAII                PO BOX 29090 HONOLULU HI 96820
ALERT ALARM OF HAWAII                PO BOX 29220 HONOLULU HI 96820
ALES, IVAN                           ADDRESS ON FILE
ALESIS A DRAGON                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 59 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 68 of 2156

Claim Name                            Address Information
ALESSANDRO, JOSEPH                    ADDRESS ON FILE
ALESSI LLC                            OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
ALEVRAS, MICHAEL                      ADDRESS ON FILE
ALEX                                  3820 CAMERON CT CUMMING GA 30040
ALEX & SON TRUCKING INC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ALEX D DELIVERY LLC                   5088 AMELIA AIRHART DR STE B SALT LAKE CITY UT 84116
ALEX DREAM EXPRESS INC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
ALEX ENTERPRISE LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALEX EXPRESS INC                      PO BOX 217 YANKTON SD 57078
ALEX LEE                              ADDRESS ON FILE
ALEX R MCGHEE                         ADDRESS ON FILE
ALEX T TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALEX TRUCKING (BALDWIN PARK CA)       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ALEX TRUCKING (BALDWIN PARK CA)       2712 LEE DR BAKERSFIELD CA 93304
ALEX TRUCKING LLC-STATESVILLE         OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
ALEX V AVILA                          ADDRESS ON FILE
ALEX W PARSONS                        ADDRESS ON FILE
ALEX XPRESS INC                       OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148
ALEX&SON AUTO-TRANS LLC               613 MOUNTAIN VIEW WAY BUSHKILL PA 18324
ALEX, JONINIAN                        ADDRESS ON FILE
ALEXANDER C LASSMAN                   ADDRESS ON FILE
ALEXANDER FAMILY BUICK GMC            ATTN: DAVE ORTEGA 399 CENTRAL ROAD BLOOMSBURG PA 17815-3126
ALEXANDER HITZ                        ADDRESS ON FILE
ALEXANDER LOGISTICS LLC (MC1156934)   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL STE 316 FT WORTH TX 76116
ALEXANDER PLUMADORE                   ADDRESS ON FILE
ALEXANDER T WHITTAKER                 ADDRESS ON FILE
ALEXANDER TAYLOR                      ADDRESS ON FILE
ALEXANDER TRANSPORTATION INC          OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ALEXANDER TRUCKING COMPANY, INC.      4756 NC HWY 16 SOUTH TAYLORSVILLE NC 28681
ALEXANDER TRUCKING COMPANY, INC.      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALEXANDER, AARON L                    ADDRESS ON FILE
ALEXANDER, ANTHONY                    ADDRESS ON FILE
ALEXANDER, BARRY                      ADDRESS ON FILE
ALEXANDER, BILL                       ADDRESS ON FILE
ALEXANDER, BRUCE                      ADDRESS ON FILE
ALEXANDER, CHRISTOPHER                ADDRESS ON FILE
ALEXANDER, DARIUS                     ADDRESS ON FILE
ALEXANDER, DARRYL                     ADDRESS ON FILE
ALEXANDER, DENNIS                     ADDRESS ON FILE
ALEXANDER, DERIC                      ADDRESS ON FILE
ALEXANDER, DEVONTA                    ADDRESS ON FILE
ALEXANDER, DOUGLAS                    ADDRESS ON FILE
ALEXANDER, ELIJAH                     ADDRESS ON FILE
ALEXANDER, ERIK                       ADDRESS ON FILE
ALEXANDER, EUGENE                     ADDRESS ON FILE
ALEXANDER, EZERDALE                   ADDRESS ON FILE
ALEXANDER, EZZARD                     ADDRESS ON FILE
ALEXANDER, GLEN                       ADDRESS ON FILE
ALEXANDER, HARRY WADE                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 60 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 69 of 2156

Claim Name                            Address Information
ALEXANDER, JAMES C                    ADDRESS ON FILE
ALEXANDER, JAMES C                    ADDRESS ON FILE
ALEXANDER, JAMIE                      ADDRESS ON FILE
ALEXANDER, JEFF                       ADDRESS ON FILE
ALEXANDER, JOHN                       ADDRESS ON FILE
ALEXANDER, JULIAN                     ADDRESS ON FILE
ALEXANDER, KATTIE                     ADDRESS ON FILE
ALEXANDER, KENNETH                    ADDRESS ON FILE
ALEXANDER, KEVIN                      ADDRESS ON FILE
ALEXANDER, LARRY                      ADDRESS ON FILE
ALEXANDER, LEON                       ADDRESS ON FILE
ALEXANDER, LEON                       ADDRESS ON FILE
ALEXANDER, MARIO                      ADDRESS ON FILE
ALEXANDER, MARSHALL                   ADDRESS ON FILE
ALEXANDER, MESHAE                     ADDRESS ON FILE
ALEXANDER, MORRIS                     ADDRESS ON FILE
ALEXANDER, NAKIA                      ADDRESS ON FILE
ALEXANDER, PAUL                       ADDRESS ON FILE
ALEXANDER, RAMON                      ADDRESS ON FILE
ALEXANDER, ROBERT                     ADDRESS ON FILE
ALEXANDER, RONALD                     ADDRESS ON FILE
ALEXANDER, RONALD                     ADDRESS ON FILE
ALEXANDER, SEAN                       ADDRESS ON FILE
ALEXANDER, STERLING                   ADDRESS ON FILE
ALEXANDER, TERRY                      ADDRESS ON FILE
ALEXANDER, TERRY                      ADDRESS ON FILE
ALEXANDER, THOMAS                     ADDRESS ON FILE
ALEXANDER, TOBY                       ADDRESS ON FILE
ALEXANDER, TRAVIS                     ADDRESS ON FILE
ALEXANDER, TROY                       ADDRESS ON FILE
ALEXANDER, WILLIAM                    ADDRESS ON FILE
ALEXANDER, WILLIAM                    ADDRESS ON FILE
ALEXANDER, WINDELL                    ADDRESS ON FILE
ALEXANDER, WINSTON & ASSOCIATES INC   8804 CAROMA ST STE 160 OLIVE BRANCH MS 38654
ALEXANDERS PEST CONTROL INC           PO BOX 5376 POLAND OH 44514
ALEXANDERS TOWING LLC                 PO BOX 4227 LAGRANGE GA 30241
ALEXANDERS TOWING, LLC                560 PRIDDY RD LAGRANGE GA 30241
ALEXANDR A SHCHUROV                   ADDRESS ON FILE
ALEXANDRA PLACE, HOA                  731 ALEXANDRIA PLACE DRIVE APOPKA FL 32712
ALEXANDRA R PURDUSKI                  ADDRESS ON FILE
ALEXANDRE TRUCKING GROUP LLC          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ALEXANDRE, CLAUDE                     ADDRESS ON FILE
ALEXANDRIA FREIGHT                    OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
ALEXANDRIA S JEFFERSON                ADDRESS ON FILE
ALEXANDRU EXPRESS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ALEXEEV, ANTON                        ADDRESS ON FILE
ALEXENA INC                           OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ALEXIN, OLGA                          ADDRESS ON FILE
ALEXIS C HICKMAN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 61 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23      Page 70 of 2156

Claim Name                              Address Information
ALEXIS DAVIS                            ADDRESS ON FILE
ALEXIS GONZALEZ                         ADDRESS ON FILE
ALEXIS HEATHER BOURGOIN                 ADDRESS ON FILE
ALEXIS LOPEZ LOPEZ                      ADDRESS ON FILE
ALEXIS NICOLE RICO                      ADDRESS ON FILE
ALEXIS S WIMBERLY                       ADDRESS ON FILE
ALEXIS, ARCHIE                          ADDRESS ON FILE
ALEXIS, UWEZO                           ADDRESS ON FILE
ALEXOPOULOS, STAVROS                    ADDRESS ON FILE
ALF & JUDY TRUCKING INC                 D/B/A: ALFFRED COFFIN TRUCKING INC LOT 1A MAPLE AVENUE STONEWALL MB R0C 2Z0
                                        CANADA
ALFA TRANS LLC                          311 WESTERN AVE ELROY WI 53929
ALFA TRANS, INC.                        OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ALFA TRANSPORT INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALFA TRANSPORT, INC.                    5822 20TH ST RIO LINDA CA 95673
ALFA TRANSPORTATION LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALFA TRANSPORTATION LLC (MC124458)      OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
ALFA TRUCKING GROUP INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ALFA TRUCKING LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALFANO, BRIAN                           ADDRESS ON FILE
ALFARO, PEDRO A                         ADDRESS ON FILE
ALFFRED COFFIN TRUCKING INC             93 CLAYTON DR WINNIPEG MB R2M 3V8 CANADA
ALFONSO AMAYA, ARVI                     ADDRESS ON FILE
ALFONSO H BROWN III                     ADDRESS ON FILE
ALFONSO, ALFREDO                        ADDRESS ON FILE
ALFONSO, CARLOS                         ADDRESS ON FILE
ALFONSO, RAYMUNDO                       ADDRESS ON FILE
ALFONSOS TRANSPORTATION LTD LIABILITY   OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
CO
ALFONSOS TRUCKING LLC                   OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
ALFORD, CURT                            ADDRESS ON FILE
ALFORD, ELVIS                           ADDRESS ON FILE
ALFORD, JOHN                            ADDRESS ON FILE
ALFORD, JOHN                            ADDRESS ON FILE
ALFORD, KAREN                           ADDRESS ON FILE
ALFORD, STEVE                           ADDRESS ON FILE
ALFORD, TOMMY                           ADDRESS ON FILE
ALFORD, WILLIE                          ADDRESS ON FILE
ALFORDS ANGELS LLC                      ATTN: AMANDA ALFORD 1141 KENMORE AVE BUFFALO NY 14217
ALFRED D LUTHER                         ADDRESS ON FILE
ALFRED SHEPARD LLC                      OR ENGLAND CARRIER SERVICES, LLC PO BOX 953086 ST LOUIS MO 63195-3086
ALFREDO CONTRERAS DELUNA                ADDRESS ON FILE
ALGER, DANIEL                           ADDRESS ON FILE
ALGIERE, KATHY                          ADDRESS ON FILE
ALGIMA EXPRESS INC                      11 COUNTRY COURT LEMONT IL 60439
ALGO-GONZALEZ, LORENZO                  ADDRESS ON FILE
ALH TRANSPORTATION SERVICES INC         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                        IL 60674-0411
ALHAMBRA                                PO BOX 660579 DALLAS TX 75266
ALHAMD TRUCKING LLC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429


Epiq Corporate Restructuring, LLC                                                                    Page 62 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG    DocService
                                                655 Filed
                                                        List
                                                             09/25/23       Page 71 of 2156

Claim Name                           Address Information
ALHUDA LOGISTICS LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ALI                                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALI ARC INDUSTRIES LP                155 ELAN BLVD WINNIPEG MB R2J 4H1 CANADA
ALI ARC INDUSTRIES LP                ATTN: KEVIN COOK 155 ELAN BLVD WINNIPEG MB R2J 4H1 CANADA
ALI LOGISTICS LLC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ALI STAR INC.                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALI TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALI, AHMAD                           ADDRESS ON FILE
ALI, ANISHAN                         ADDRESS ON FILE
ALI, BAKHARA A                       ADDRESS ON FILE
ALI, BAKHARA A                       ADDRESS ON FILE
ALI, CHAUDHRY                        ADDRESS ON FILE
ALI, MODUSSAR                        ADDRESS ON FILE
ALI, MOHAMMED J                      ADDRESS ON FILE
ALI, MOHAMUD                         ADDRESS ON FILE
ALIC TRANSPORT INC                   OR SAFINANCIAL GROUP INC, P.O. BOX 195 GRANGER IN 46530
ALICE TRANSPORTATION LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ALICE TRUCKING COMPANY LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALICE TRUCKS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALICEA -ROBLES, MARIA                ADDRESS ON FILE
ALICEA, EDUARDO                      ADDRESS ON FILE
ALICEA, EDWIN J                      ADDRESS ON FILE
ALICEA, HECTOR                       ADDRESS ON FILE
ALICEA, JOSE                         ADDRESS ON FILE
ALICEA, RYAN                         ADDRESS ON FILE
ALIDINA, ASIF                        ADDRESS ON FILE
ALIGNED WC LLC                       OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
ALINC TRANSPORTATION, LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALINE INC                            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALISA TRANSPORT LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALISMA LOGISTICS LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ALISON A HODGES                      ADDRESS ON FILE
ALISSA BURNETT                       ADDRESS ON FILE
ALITAS TRUCKING LLC                  OR VISION FACTORING LLC P.O. BOX 30015 DEPT. 229 SALT LAKE CITY UT 84130
ALIU, AVETONE                        ADDRESS ON FILE
ALIUS HEALTH LLC                     PO BOX 1710 WESTERVILLE OH 43086
ALIX TRANSPORT                       PO BOX 492, 0 KUNKLETOWN PA 18058
ALJUNDI FREIGHT SYSTEM LLC           OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
ALKENANI, HASSAN                     ADDRESS ON FILE
ALKHAFAJI, AHMED                     ADDRESS ON FILE
ALKHATIB, IYAD                       ADDRESS ON FILE
ALKHAYAT, NEZAR                      ADDRESS ON FILE
ALKK INC                             OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ALKS INC                             9112 CONCORD DR ORLAND PARK IL 60462-2108
ALL 4 ONE LOGISTICS                  886 CHITTENDEN AVE COLUMBUS OH 43017
ALL 48 STATES FREIGHT LLC            OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ALL AAA CONSTRUCTION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALL ABOUT DOORS INC                  120 LANGLEY RD N STE 108A GLEN BURNIE MD 21060
ALL ABOUT DOORS INC                  7120 E FURNACE BRANCH RD GLEN BURNIE MD 21060



Epiq Corporate Restructuring, LLC                                                                Page 63 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 72 of 2156

Claim Name                            Address Information
ALL ABOUT HEAT                        5521 OLD HAYWOOD RD. MILLS RIVER NC 28759
ALL ABOUT TOWING & HAULING            720 WEST SOUTH BLVD MONTGOMERY AL 36105
ALL ADVANCED TRANSPORTATION LLC       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ALL AMERICAN                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALL AMERICAN AIR & ELECTRIC, INC.     901 SW 33RD AVE. OCALA FL 34474
ALL AMERICAN FIRE PROTECTION          PO BOX 437 SPRING LAKE NC 28390
ALL AMERICAN FLAG CO                  380 INDUSTRIAL DR SOUTH ELGIN IL 60177
ALL AMERICAN JANITORIAL SERVICES      P.O.BOX 400130 HESPERIA CA 92340
ALL AMERICAN LOGISTICS INC            8825 LYDIA CT FONTANA CA 92335
ALL AMERICAN LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALL AMERICAN ROADSIDE REPAIR          PO BOX 614 CHENEY KS 67025
ALL AMERICAN SEASONING                10600 E 54TH AVE UNIT B & C DENVER CO 80239
ALL AMERICAN SHEET METAL LLC          ATTN: CHRIS VICKERS SELLERSBURG IN 47172-1805
ALL AMERICAN STAR COMPANY             OR ENGLAND CARRIER SERVICES, LLC PO BOX 953086 ST LOUIS MO 63195-3086
ALL AMERICAN TOWING                   1812 NORTH K AVE SIOUX FALLS SD 57104
ALL AMERICAN TRANSPORT LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALL AMERICAN TRUCKERS                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALL AMERICAN WASTE                    555 TAYLOR ROAD ENFIELD CT 06082
ALL AMERICAN WASTE                    P.O. BOX 1308 ENFIELD CT 06082
ALL AROUND AND ABOUND LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
ALL AROUND DELIVERY, L.L.C.           20230 JUDICIAL RD PRIOR LAKE MN 55372
ALL AROUND DOOR, INC                  33434 LIBERTY PARKWAY NORTH RIDGEVILLE OH 44039
ALL AROUND FIRE PROTECTION            10631 JORDAN RD WHITTIER CA 90603
ALL AROUND SIGNS                      790 PARKHILL ST. WINNIPEG MB R2Y 0V5 CANADA
ALL AS TRUCKING AND MORE LLC          165 HARBROOKE CIRCLE GREER SC 29651
ALL BRAND COMPRESSOR                  PO BOX 311, 2412 4TH AVENUE MOLINE IL 61265
ALL BROTHERS FREIGHT INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ALL BROTHERS TRUKCK                   AND EQUIPMENT REPAIR LLC 3716 DICKERSON PIKE NASHVILLE TN 37207
ALL CARE DELIVERY INC                 3221 AMBERWOOD DR LOGANVILLE GA 30052
ALL CITY PLUMBING                     9447 LONDON WAY STE 102 RANCHO CUCAMONGA CA 91730
ALL CITY TRANSPORT                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALL COMFORT SERVICES, INC.            5245 VOGES RD MADISON WI 53718
ALL COUNTY FIRE, INCORPORATED         3163 ADAMS AVE SAN DIEGO CA 92116
ALL COVERED PAINTING                  9585 8TH AVE S SEATTLE WA 98108
ALL CROP 2 INC                        PO BOX 309 CORNELIUS OR 97113
ALL DAY TRUCKING COMPANY, INC.        OR MATCH FACTORS, PO BOX 13259 FLORENCE SC 29504
ALL DAYS TRUCKING                     OR ROYAL FINANCIAL CORP, P.O. BOX 59 CONCORD ON L4K 1B2 CANADA
ALL DIRECTIONS TRANSIT CORP           1423 CAPRI LANE APT 3907 WESTON FL 33326
ALL FLO PLUMBING LLC                  2130 THREE MILE RD NE GRAND RAPIDS MI 49505
ALL FOR THEM TRUCKING LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALL FREIGHT                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ALL FREIGHT LOGISTICS INC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ALL FREIGHT TRANS,INC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
ALL FREIGHT TRANSPORT LLC             OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
ALL FREIGHT TRUCKING INC              1100 MARLBOROUGH AVE RIVERSIDE CA 92507
ALL GOOD SERVICES LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ALL HOSE SOUTH, LLC                   4300 N PECOS RD STE 2 LAS VEGAS NV 89115
ALL HOSE SOUTH, LLC                   3105 W POST RD LAS VEGAS NV 89118
ALL HOURS LOCK & KEY                  735 RED MILE RD LEXINGTON KY 40504



Epiq Corporate Restructuring, LLC                                                                   Page 64 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 73 of 2156

Claim Name                              Address Information
ALL HOURS LOCK & KEY.                   7117 N MOBERLY DR COLUMBIA MO 65202
ALL IN 1 LOGISTICS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ALL IN DISPATCH SERVICES LLC            120 MILLBROOK VILLAGE DRIVE SUITE B TYRONE GA 30290
ALL IN EXPRESS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALL IN ONE MECHANICS INC                180 S 5TH AVE MILLS WY 82604
ALL IN TRANSPORT LLC (MC1243085)        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALL IN TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALL INDUSTRIAL CHEM.                    P.O. BOX 450001 SUNRISE FL 33345
ALL IS WELL TRANS INC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
ALL ISLAND FENCE                        659 GRAND BLVD DEER PARK NY 11729
ALL KIND DOOR SERVICES LTD              1455 34 AVE SE CALGARY AB T2G 4Y1 CANADA
ALL LINE TRANSPORTATION INC             15500 OLD HICKORY BLVD NASHVILLE TN 37211
ALL LOGISTICS CARGO INC                 OR INTERNET TRUCKSTOP PAYMENTS LLC, PO BOX 7410411 CHICAGO IL 60674-0411
ALL LOGISTICS CARGO INC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALL MIGHTY LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALL MUSCLE LOGISTIC LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ALL NITER TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ALL NORTH TRUCK CENTER                  3090 HWY 11N NORTH BAY ON P1B 8G3 CANADA
ALL ONTARIO STRIPING                    2414 125 WESTERN BATTERY RD TORONTO ON M6K 3R8 CANADA
ALL OUT SERVICE LLC                     501 ABBOTT DRIVE STE 1 BROOMALL PA 19008
ALL OUT TOWING & RECOVERY               11922 OLD BEAUMONT HWY. HOUSTON TX 77049
ALL PACKAGING CO.                       3675 WEST CALIFORNIA SALT LAKE CITY UT 84104
ALL PACKAGING SOLUTIONS                 20750 HOOVER RD WARREN MI 48089
ALL PHASE ELECTRIC                      710 LEY ROAD FORT WAYNE IN 46825
ALL PHASE PAVING                        911 LAKEVILLE ST 281 PETALUMA CA 94952
ALL PHASE PLUMBING SERVICES LLC         14101 INTERURBAN AVE S TUKWILA WA 98168
ALL PLUMBING 24/7 INC                   605 STERLINGTON RD MONROE LA 71203
ALL POINTS TRUCKING LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALL PRO CONSTRUCTION SERVICES           11541 W HWY 56 CEDAR CITY UT 84720
ALL PRO ENTERPRISES INC                 PO BOX 6210 KNOXVILLE TN 37914
ALL PRO FREIGHT CARRIERS, INC.          PO BOX 33793 DETROIT MI 48232-3781
ALL PRO PERFORMANCE TRANSPORT           45 OXFORD DR MARTINSVILLE VA 24112
ALL PRO PLUMBING HEATING AIR & ELEC     5001 ONTARIO MILLS PARKWAY ONTARIO CA 91764
ALL PRO TRUCK & TRAILER REPAIR, LLC     3434 11TH ST ROCKFORD IL 61109
ALL ROADS EXPRESS                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALL ROADS OPEN TRUCKING LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALL ROADS TRANSPORTATION LLC            OR NFUSION CAPITAL FINANCE PO BOX 151072 OGDEN UT 84415
ALL ROADS TRANSPORTATION LLC            OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
ALL ROUTES TRANSPORT LTD                OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                        CANADA
ALL ROUTES TRUCKING INC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALL SAFE FIRE EQUIPMENT                 PO BOX 218 BIG BEND WI 53103
ALL SEASON LAWN AND MORE                399 BROYLES LANE BRISTOL TN 37620
ALL SEASON LAWN CARE AND SNOW REMOVAL   4619 ERINWOOT CRT EVANSVILLE IN 47725
ALL SEASON LAWN CARE AND SNOW REMOVAL   9209 HARTWELL DR EVANSVILLE IN 47725
ALL SEASONS LAWN CARE                   2017 7TH AVE N FARGO ND 58102
ALL SEASONS OUTDOOR                     PO BOX 7400 BISMARCK ND 58507
ALL SEASONS PEST CONTROL                13759 DIX TOLEDO RD SOUTHGATE MI 48195
ALL SEASONS PEST CONTROL                14350 EUREKA RD SOUTHGATE MI 48195



Epiq Corporate Restructuring, LLC                                                                    Page 65 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 74 of 2156

Claim Name                              Address Information
ALL SEASONS TRANSPORT CORPORATION       10117 SE SUNNYSIDE RD STE F210 CLACKAMAS OR 97015
ALL SECURE LOCK INC                     1939 W 420 S CEDAR CITY UT 84720
ALL SPEC ENCLOSURES INC                 582 S GRAND AVE SAN JACINTO CA 92582
ALL STAR FREIGHT SERVICES, LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ALL STAR GROUP INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALL STAR HEAVY HAUL & TOWING INC        D/B/A: ALL STAR HEAVY HAUL & TOWING, INC 850 N MACARTHUR DR TRACY CA 95376
ALL STAR HEAVY HAUL & TOWING, INC       850 N MACARTHUR DR TRACY CA 95376
ALL STAR LOGISTICS LLC                  OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
ALL STAR MOVING CORP.                   104 SE 4TH TER APT B DANIA FL 33004-4137
ALL STAR PLUMBING                       5639 W BARSTOW AVE FRESNO CA 93722
ALL STAR PLUMBING INC                   PO BOX 18869 SPOKANE WA 99228
ALL STAR RECYCLING                      PO BOX 1320 PINEHURST TX 77362
ALL STAR TOWING AND LOGISTICS LLC       OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
ALL STAR TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALL STAR TRUCK LINES (GREENWOOD IN)     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ALL STAR TRUCKING INC.                  1446 HORN ST CLARKSVILLE IN 47129-7727
ALL STAR WRECKER LLC                    5023 S 19TH ST. MILWAUKEE WI 53221
ALL STAR WRECKER LLC                    PO BOX 210351 MILWAUKEE WI 53221
ALL STATE ENTERPRISE INC                1209 KEIM TRAIL BARTLETT IL 60103
ALL STATE FIRE EXTINGUISHERS            70 ROBERT JACKSON WAY PLAINVILLE CT 06062
ALL STATE FIRE EXTINGUISHERS            P.O. BOX 751, 604 E. UVALDE ST. CRYSTAL CITY TX 78839
ALL STATE FREIGHT INC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ALL STATE TRANSPORT                     OR OPENROAD FINANCIAL SERVICES, INC PO BOX 484 DALLAS OR 97338
ALL STATE TRUCKING TRANSPORTATION INC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALL STATES EXPRESS INC                  552 IROQUOIS TR CAROL STREAM IL 60188
ALL STATES LIGHTING, INC.               3780 SILVER STAR RD ORLANDO FL 32808
ALL STATES TRANSPORT LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ALL STEEL FABRICATORS, INC              3037 S 3600 WEST WEST VALLEY CITY UT 84119
ALL STEEL FENCE, INC.                   2111 MONTEVALLO ROAD S. W. BIRMINGHAM AL 35211
ALL STRONG LOGISTICS, LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALL SYSTEMS BRAKE SERVICE INC           110 WYANDANCH AVE WYANDANCH NY 11798
ALL TEMP REFRIGERATION INC              3511 THOMAS RD 10 SANTA CLARA CA 95054
ALL THAT SWEET INC                      1011 HUDSON AVE STE 206 RIDGEFIELD NJ 07657
ALL THAT SWEET, INC                     1011 HUDSON AVE STE 206 RIDGEFIELD NJ 76572-2316
ALL THAT SWEET, INC                     ALL THAT SWEET, INC 206 RIDGEFIELD NJ 76572-2316
ALL TIME LOGISTICS, INC.                OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
ALL TRACTOR & SITE WORK INC             10419 NE HWY 314 SILVER SPRINGS FL 34488
ALL TRANSPORT, INC.                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALL TRANSPORTATION INC                  C/O ECAPITAL FREIGHT FACTORING DEPT 730059 PO BOX 660919 DALLAS TX 75266
ALL TRANSPORTATION INC                  ECAPITAL FREIGHT FACTORING LTD PO BOX 206773 DALLAS TX 75320
ALL TRANSPORTATION LLC                  OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
ALL TRUCK & TRAILER PARTS               P O BOX 335 BRIGHTON CO 80601
ALL TRUCK TRANSPORTATION CO. INC.       1601 WEST 55TH STREET LAGRANGE HIGHLANDS IL 60525
ALL TYPE COMPRESSOR SERVICE CO., INC.   1712 N MAIN ST DUPO IL 62239
ALL V TRANSPORT, LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALL VALLEY DIESEL SERVICE               DBA PERTS TOWING 36 EAST RIDGE RD SHERIDAN WY 82801
ALL VALLEY ENVIROMENTAL                 PO BOX 7003 BIG BEAR LAKE CA 92315
ALL VALLEY ENVIROMENTAL                 4684 AVENIDA DE LAS FLORES YORBA LINDA CA 92886
ALL VALLEY ENVIROMENTAL                 523 N BRAWLEY AVE SUITE B FRESNO CA 98070



Epiq Corporate Restructuring, LLC                                                                   Page 66 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 75 of 2156

Claim Name                              Address Information
ALL WAYS TRANSPORT INC                  OR BLACKJACK EXPRESS INC, PO BOX 5699 CAROL STREAM IL 60197-5699
ALL YEAR LANDSCAPING                    145 W GRANT AVE VINELAND NJ 08360
ALL YEAR ROUND TRANSPORTATION LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALL YOU NEED LOGISTICS                  OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                        UT 84130
ALL-AMERICAN PRIDE LLC                  P.O. BOX 872 OAK GROVE MO 64075
ALL-OVER TOWING INC                     150 PEDDYCORD PARK DRIVE KERNERSVILLE NC 27284
ALL-PHASE ELECTRIC SUPPLY               ATTN: ELIZABETH KEMPF 2000 HIGHLAND AVE BETHLEHEM PA 18020
ALL-PHASE ELECTRIC SUPPLY               5392 COUNTY ROAD 154 GLENWOOD SPRINGS CO 81601
ALL-RITE FENCE SERVICES, INC.           5115 OLD WINTER GARDEN ROAD ORLANDO FL 32811
ALL-STAR EQUIPMENT LLC                  1251 100TH ST SW BYRON CENTER MI 49315
ALL-STAR TRANSPORTATION LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALL-WAYS TRANSIT, INC.                  PO BOX 194 BLOOMER WI 54724
ALL4US TRUCKING LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC DALLAS TX 75261-0028
ALLABERGENOV, SHAKHZOD                  ADDRESS ON FILE
ALLABOUTLOGISTICS LLC                   3155 CORAL LANE GLENVIEW IL 60026
ALLAH, SEESAVIOR                        ADDRESS ON FILE
ALLAIRE, JASON                          ADDRESS ON FILE
ALLAIRE, LISA                           ADDRESS ON FILE
ALLAN ELECTRIC INC.                     918 W CANAL DR A KENNEWICK WA 99336
ALLAN R GALLEGOS                        ADDRESS ON FILE
ALLAN TESTA                             ADDRESS ON FILE
ALLAN TRANSPORT                         1030 BOYCHUK DR SASKATOON SK S7H 4Z2 CANADA
ALLAN, JIM                              ADDRESS ON FILE
ALLARD, CHRIS                           ADDRESS ON FILE
ALLARD, JOHN                            ADDRESS ON FILE
ALLBOUND                                PO BOX 9081 NAPERVILLE IL 60567-0081
ALLDASH GROUP LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALLECAP TRANSPORTATION INC              15755 SPRINGFIELD AVE MARKHAM IL 60428
ALLEE, CECIL                            ADDRESS ON FILE
ALLEGHENY COUNTY TREASURER              FIRE MARSHALLS OFFICE 150 HOOKSTOWN GRADE RD CORAOPOLIS PA 15108
ALLEGHENY COUNTY TREASURER              PO BOX 643385 PITTSBURGH PA 15264
ALLEGHENY ENVELOPE LLC                  301 COVE LANE RD ROARING SPRING PA 16673
ALLEGHENY GLASS & MIRROR SERVICE, INC   650 FREDERICK STREET HAGERSTOWN MD 21740
ALLEGHENY TRUCKS, INC.                  239 GREENWOOD ROAD ALTOONA PA 16602
ALLEGHENY WAREHOUSE & DISTRIBUTION,     R J CASEY INDUSTRIAL PARK COLUMBUS & PREBLE AVE PITTSBURGH PA 15233
INC.
ALLEGIANCE TRUCKS                       CO AT NORTHERN NJ/MID-ATLANTIC TRUCK CNT 525 W. LINDEN AVE LINDEN NJ 07036
ALLEGIANCE TRUCKS                       ALLEGIANCE TRUCKS HARTFORD PO BOX 780776 PHILADELPHIA PA 19178
ALLEGIANCE TRUCKS                       MINUTEMAN TRUCKS, INC, PO BOX 780785 PHILADELPHIA PA 19178
ALLEGIANCE TRUCKS                       UTICA, PO BOX 780818 PHILADELPHIA PA 19178
ALLEGIANCE TRUCKS                       964 HERCULES DRIVE COLCHESTER VT 05446
ALLEGIANT TRANSPORTATION                PO BOX 392797, PO BOX 392797 PITTSBURGH PA 15251-9797
ALLEGION                                ATTN: ANABEL CERVANTES 1659 GAILES BLVD SAN DIEGO CA 92154
ALLEMAN, PHILLIP                        ADDRESS ON FILE
ALLEMAN, RANDY                          ADDRESS ON FILE
ALLEMI FREIGHT LINES LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALLEN & SONS TRUCKING, INC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALLEN A SIZEMORE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 67 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 76 of 2156

Claim Name                            Address Information
ALLEN AIRCRAFT                        312 E. LAKE RD. RAVENNA OH 44266
ALLEN AND WEBB                        3127 RIVERS AVE. N. CHARLESTON SC 29405
ALLEN COUNTY TREASURER                PO BOX 2540 FORT WAYNE IN 46801
ALLEN COUNTY TREASURER                P.O. BOX 2540 FORT WAYNE IN 46801-2540
ALLEN COUNTY TREASURERS OFFICE        PO BOX 123 LIMA OH 45802
ALLEN D MCCLAIN                       ADDRESS ON FILE
ALLEN FLEET SERVICES                  1222 LEEDA DR. JACKSONVILLE FL 32254
ALLEN III, CURTIS                     ADDRESS ON FILE
ALLEN L FAILS                         ADDRESS ON FILE
ALLEN LOGISTICS LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ALLEN PLUMBING & HVAC LLC             PO BOX 591 DENISON TX 75021
ALLEN R DAUGHERTY                     ADDRESS ON FILE
ALLEN R GRIES                         ADDRESS ON FILE
ALLEN R TULLAR                        ADDRESS ON FILE
ALLEN REFRACTORIES                    131 SHACKELFORD RD. PATASKALA OH 43062
ALLEN TRANSPORT COMPANY INC           11454 INDUSTRIAL WAY FORNEY TX 75126
ALLEN TRANSPORTATION INC              OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
ALLEN TRANSPORTATION INC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALLEN TRUCKING, LLC                   OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ALLEN W STORCY                        ADDRESS ON FILE
ALLEN, A                              ADDRESS ON FILE
ALLEN, ABROMA                         ADDRESS ON FILE
ALLEN, AJ                             ADDRESS ON FILE
ALLEN, ANTHONY                        ADDRESS ON FILE
ALLEN, BEN                            ADDRESS ON FILE
ALLEN, BRAD                           ADDRESS ON FILE
ALLEN, BRANDON                        ADDRESS ON FILE
ALLEN, BRET                           ADDRESS ON FILE
ALLEN, BRUCE                          ADDRESS ON FILE
ALLEN, CAROL                          ADDRESS ON FILE
ALLEN, CHAD                           ADDRESS ON FILE
ALLEN, CHANEL                         ADDRESS ON FILE
ALLEN, CHARLES                        ADDRESS ON FILE
ALLEN, CHARLES                        ADDRESS ON FILE
ALLEN, CHARLES E                      ADDRESS ON FILE
ALLEN, CHRISTIAN                      ADDRESS ON FILE
ALLEN, CHRISTINE                      ADDRESS ON FILE
ALLEN, CHRISTOPHER                    ADDRESS ON FILE
ALLEN, CHRISTOPHER L                  ADDRESS ON FILE
ALLEN, CLAUDE                         ADDRESS ON FILE
ALLEN, CORWIN                         ADDRESS ON FILE
ALLEN, CRAIG                          ADDRESS ON FILE
ALLEN, DANE                           ADDRESS ON FILE
ALLEN, DANIEL                         ADDRESS ON FILE
ALLEN, DARRYL                         ADDRESS ON FILE
ALLEN, DAVID                          ADDRESS ON FILE
ALLEN, DAVID                          ADDRESS ON FILE
ALLEN, DAVID                          ADDRESS ON FILE
ALLEN, DENZEL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 68 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG    DocService
                                              655 Filed
                                                      List
                                                           09/25/23   Page 77 of 2156

Claim Name                         Address Information
ALLEN, DERRICK                     ADDRESS ON FILE
ALLEN, DON                         ADDRESS ON FILE
ALLEN, DONOVAN                     ADDRESS ON FILE
ALLEN, DOUGLAS                     ADDRESS ON FILE
ALLEN, DOUGLAS A                   ADDRESS ON FILE
ALLEN, DYMON                       ADDRESS ON FILE
ALLEN, EDWARD                      ADDRESS ON FILE
ALLEN, ERNEST                      ADDRESS ON FILE
ALLEN, FREDRICK                    ADDRESS ON FILE
ALLEN, GARY                        ADDRESS ON FILE
ALLEN, GEORGE                      ADDRESS ON FILE
ALLEN, GEORGE                      ADDRESS ON FILE
ALLEN, GREGORY (RICHIE)            ADDRESS ON FILE
ALLEN, HEATHER                     ADDRESS ON FILE
ALLEN, HILLMON                     ADDRESS ON FILE
ALLEN, HILLMON                     ADDRESS ON FILE
ALLEN, HOWARD                      ADDRESS ON FILE
ALLEN, IESHA                       ADDRESS ON FILE
ALLEN, JACOB                       ADDRESS ON FILE
ALLEN, JAMES                       ADDRESS ON FILE
ALLEN, JAMES                       ADDRESS ON FILE
ALLEN, JEFFREY                     ADDRESS ON FILE
ALLEN, JEREMY                      ADDRESS ON FILE
ALLEN, JERRON                      ADDRESS ON FILE
ALLEN, JERRY                       ADDRESS ON FILE
ALLEN, JERRY                       ADDRESS ON FILE
ALLEN, JESSICA                     ADDRESS ON FILE
ALLEN, JESSICA                     ADDRESS ON FILE
ALLEN, JOHN                        ADDRESS ON FILE
ALLEN, JOHN                        ADDRESS ON FILE
ALLEN, JOHN W                      ADDRESS ON FILE
ALLEN, JON                         ADDRESS ON FILE
ALLEN, KAULIN                      ADDRESS ON FILE
ALLEN, KAYLAN                      ADDRESS ON FILE
ALLEN, KENDRICK                    ADDRESS ON FILE
ALLEN, KERRY                       ADDRESS ON FILE
ALLEN, KIMBERLY                    ADDRESS ON FILE
ALLEN, LARRY                       ADDRESS ON FILE
ALLEN, LOGAN                       ADDRESS ON FILE
ALLEN, MARCUS                      ADDRESS ON FILE
ALLEN, MARY                        ADDRESS ON FILE
ALLEN, MATTHEW                     ADDRESS ON FILE
ALLEN, MATTHEW                     ADDRESS ON FILE
ALLEN, MATTHEW                     ADDRESS ON FILE
ALLEN, MICHAEL                     ADDRESS ON FILE
ALLEN, MICHAEL                     ADDRESS ON FILE
ALLEN, MICHAEL                     ADDRESS ON FILE
ALLEN, MICHAEL S                   ADDRESS ON FILE
ALLEN, MURIEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 69 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG    DocService
                                                655 Filed
                                                        List
                                                             09/25/23       Page 78 of 2156

Claim Name                           Address Information
ALLEN, NICHOLAS                      ADDRESS ON FILE
ALLEN, PATRICK                       ADDRESS ON FILE
ALLEN, PAUL                          ADDRESS ON FILE
ALLEN, PHILLIP S                     ADDRESS ON FILE
ALLEN, RAYMOND                       ADDRESS ON FILE
ALLEN, REBECCA                       ADDRESS ON FILE
ALLEN, RICHARD                       ADDRESS ON FILE
ALLEN, RICKIE                        ADDRESS ON FILE
ALLEN, RICKY                         ADDRESS ON FILE
ALLEN, RODNEY                        ADDRESS ON FILE
ALLEN, ROGERS                        ADDRESS ON FILE
ALLEN, RON                           ADDRESS ON FILE
ALLEN, RONALD                        ADDRESS ON FILE
ALLEN, ROXIE H                       ADDRESS ON FILE
ALLEN, SAM                           ADDRESS ON FILE
ALLEN, SCOTT                         ADDRESS ON FILE
ALLEN, SHARON                        ADDRESS ON FILE
ALLEN, SHAWN                         ADDRESS ON FILE
ALLEN, SIR R                         ADDRESS ON FILE
ALLEN, SIR ROOSEVELT                 ADDRESS ON FILE
ALLEN, STEVEN                        ADDRESS ON FILE
ALLEN, TABITHA                       ADDRESS ON FILE
ALLEN, TAMMY                         ADDRESS ON FILE
ALLEN, TANIESHIA                     ADDRESS ON FILE
ALLEN, TAYLOR                        ADDRESS ON FILE
ALLEN, TERRY                         ADDRESS ON FILE
ALLEN, TERRY                         ADDRESS ON FILE
ALLEN, THOMAS RYAN                   ADDRESS ON FILE
ALLEN, THOMAS S                      ADDRESS ON FILE
ALLEN, TIMOTHY                       ADDRESS ON FILE
ALLEN, TIMOTHY                       ADDRESS ON FILE
ALLEN, TIMOTHY                       ADDRESS ON FILE
ALLEN, TIMOTHY                       ADDRESS ON FILE
ALLEN, TONYA                         ADDRESS ON FILE
ALLEN, TRISTAN                       ADDRESS ON FILE
ALLEN, TYRAN                         ADDRESS ON FILE
ALLEN, VICTOR                        ADDRESS ON FILE
ALLEN, WARREN                        ADDRESS ON FILE
ALLEN, WILLIAM                       ADDRESS ON FILE
ALLEN, ZENNIA                        ADDRESS ON FILE
ALLENDER, DAVID                      ADDRESS ON FILE
ALLENS RECYCLING LLC                 522 INDUSTRIAL DR CANTON MS 39046
ALLENS RECYCLING LLC                 708 FILLMORE STREET YAZOO CITY MS 39194
ALLENS SERVICE INC                   7215 W 128TH ST SAVAGE MN 55378
ALLENS SERVICE INC                   128 S. GARFIELD ALBERT LEA MN 56007
ALLEY CASSETTY CUSTOM TRCK CTR       727 FESSLERS LANE NASHVILLE TN 37210
ALLEY CASSETTY CUSTOM TRCK CTR       PO BOX 101503 NASHVILLE TN 37224
ALLEYNE, STEVE                       ADDRESS ON FILE
ALLGOOD TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                Page 70 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 79 of 2156

Claim Name                              Address Information
ALLGOOD, JONATHAN                       ADDRESS ON FILE
ALLIANCE CARGO INC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ALLIANCE CLOUD                          C/O SWIFT AVE ADELE 1 LA HULPE 1310 BELGIUM
ALLIANCE DIESEL MACHINE                 PO BOX 943 PAW CREEK NC 28130
ALLIANCE DIRECT TRANSIT                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ALLIANCE DOOR & HARDWARE INC            55 ALLIANCE DR ROCHESTER NY 14623
ALLIANCE EQUIPMENT LTD                  22050 STONY PLAIN ROAD EDMONTON AB T5S 2C3 CANADA
ALLIANCE EXPEDITED SERVICES LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALLIANCE EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALLIANCE FIRE AND SAFETY                1433 EAST RIDGE STREET WASHINGTON UT 84780
ALLIANCE FIRE AND SAFETY                P.O. BOX 911345 ST. GEORGE UT 84791
ALLIANCE SOLUTIONS LOGISTIQUE           ATTN: MIKE GRANNARY 1136 ROYAL ST PIERRE DORLEANS QC G0A 4E0 CANADA
ALLIANCE TRAILER SERVICE, INC.          121 S STOUGHTON RD, PO BOX 7126 MADISON WI 53707
ALLIANCE TRANSPORT LTD                  2637 SEVEN OAKS RIDGE LONDON ON N6M 0E8 CANADA
ALLIANCE TRANSPORT, INC.                5725 DIETRICH RD SAN ANTONIO TX 78219
ALLIANCE TRUCKING INC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALLIANCE TRUCKING LLC                   4364 W 27TH PL YUMA AZ 85364-4743
ALLIANCE WORKFORCE                      1520 CENTRAL AVE KANSAS CITY KS 66102
ALLIANT ENERGY IPL                      4902 BITMORE LN. MADISION WI 53718
ALLIANZ GLOBAL CORPORATE & SPECIALTY    WINDSOR PLACE 22 QUEEN STREET HAMILTON HM 12 BERMUDA
ALLIANZ GLOBAL CORPORATE & SPECIALTY    C/O WILLIS TOWERS WATSON INTL DEPT 51 LIME STREET LONDON EC3M 7DQ UNITED
                                        KINGDOM
ALLIANZ US RISKS US INSURANCE COMPANY   C/O BEAZLEY INSURANCE CO. 30 BATTERSON PARK RD FARMINGTON CT 06032
ALLIANZ US RISKS US INSURANCE COMPANY   ATTN: ALISON LA FIELD 225 W WASHINGTON ST STE 1800 CHICAGO IL 60606
ALLICOCK, DION                          ADDRESS ON FILE
ALLIED AIR                              145 MILLENNIUM DR ORANGEBURG SC 29115
ALLIED AIR                              ATTN: SKIP THOMPSON MATERIALS 355 MILLENNIUM DR ORANGEBURG SC 29115
ALLIED BLOWER & SHEET METAL             ATTN: JAMES KOPER 12224-103A AVENUE SURREY BC V3V 3G9 CANADA
ALLIED ELECTRIC                         4690 E JENSON AVE FRESNO CA 93725
ALLIED EQUIPMENT SERVICE CORP           PO BOX 2489 INDIANAPOLIS IN 46206
ALLIED FITTING                          ATTN: CHERYLYNN TOBLEMAN 7200 MYKAWA ROAD HOUSTON TX 77033
ALLIED GROUND TRANSPORT LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ALLIED LOGISTICS CORP.                  PO BOX 101 GUAYNABO PR 00970
ALLIED LOGISTICS CORPORATION            ATTN: ALBERTO CRUZ PO BOX 101 GUAYNABO PR 00097
ALLIED MODULAR BUILDING SYSTEMS INC     642 WEST NICOLAS AVE ORANGE CA 92868
ALLIED PACKAGING                        PO BOX 8010 PHOENIX AZ 85066
ALLIED ROOFING COMPANY INC              P.O. BOX 21207 WINSTON-SALEM NC 27120
ALLIED SERVICES DIV LOCAL 1960          53 W SEEGERS RD ARLINGTON HEIGHTS IL 60005
ALLIED SUPPLY INC.                      ATTN: TIM GREEN PO BOX 1366 LITTLE ROCK AR 72203-1366
ALLIED TOOLS INC                        3929 PRODUCE RD LOUISVILLE KY 40218
ALLIED TOWING OF TULSA INC              2505 E KING ST TULSA OK 74110
ALLIED TOWING OF TULSA INC.             1011 N LEWIS AVE TULSA OK 74110
ALLIED TOWING SERVICE INC               PO BOX 1365 DEARBORN MI 48121
ALLIED TOYOTALIFT                       1640 ISLAND HOME AVE KNOXVILLE TN 37920
ALLIED TRANSPORT LLC                    1600B SW DASH POINT RD, 205 FEDERAL WAY WA 98003
ALLIED TRANSPORTATION & FLEET SVS, INC. PO BOX 970997 WAIPAHU HI 96797
ALLIED TRUCK REPAIR                     300 QUINTON CT STE 25104 LEXINGTON KY 40509
ALLIED UNIVERSAL SECURITY SERVICES      P.O. BOX 828854 PHILADELPHIA PA 19182
ALLIED VAN LINES C/O ECHO               ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                                    Page 71 OF 2145
                                              Yellow Corporation
                         Case 23-11069-CTG     DocService
                                                  655 Filed
                                                          List
                                                               09/25/23       Page 80 of 2156

Claim Name                             Address Information
ALLIED VISION                          OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ALLIED WORLD ASSURANCE COMPANY, LTD.   27 RICHMOND ROAD PEMBROKE HAMILTON HM 08 BERMUDA
ALLIED-OTT PETROLEUM EQUIPMENT         517 HERRIMAN CT NOBLESVILLE IN 46060
ALLIGATOR FREIGHT SYSTEM CORP          1907 32 AVE NW EDMONTON AB T6T 0H3 CANADA
ALLIGATOR TOWING & TRANSPORT, LLC      PO BOX 628703 ORLANDO FL 32862
ALLIGATOR TOWING & TRANSPORT, LLC      4871 DR MARTIN LUTHER KING JR BLVD FORT MYERS FL 33905
ALLIGATOR TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALLIN, ADRIENNE                        ADDRESS ON FILE
ALLINDER, THOMAS                       ADDRESS ON FILE
ALLINGER, ANDREA                       ADDRESS ON FILE
ALLINGTON, MARLIN                      ADDRESS ON FILE
ALLISON N TROGSTAD                     ADDRESS ON FILE
ALLISON SMITH COMPANY LLC              1869 S COBB INDUSTRIAL BLVD SE SMYRNA GA 30082
ALLISON, ALEXANDER                     ADDRESS ON FILE
ALLISON, BILLY                         ADDRESS ON FILE
ALLISON, CRAIG                         ADDRESS ON FILE
ALLISON, DAVID                         ADDRESS ON FILE
ALLISON, JACKIE                        ADDRESS ON FILE
ALLISON, JAMES                         ADDRESS ON FILE
ALLISON, JASON                         ADDRESS ON FILE
ALLISON, JENNA                         ADDRESS ON FILE
ALLISON, NANCY                         ADDRESS ON FILE
ALLISON, RICHARD                       ADDRESS ON FILE
ALLISON, TEVON                         ADDRESS ON FILE
ALLISONS AFFORDABLE PEST CONTROL       143 E BANTA RD INDIANAPOLIS IN 46227
ALLL TRANSPORT INC.                    4590 N WEBSTER AVE PERRIS CA 92571
ALLMAN, JOSHUA                         ADDRESS ON FILE
ALLMAN, KAMARI                         ADDRESS ON FILE
ALLNTRANSPORTATION LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALLORE, JOSEPH                         ADDRESS ON FILE
ALLOVER LLC                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ALLOW ME TRANSPORT LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALLOWAY, WILLARD K                     ADDRESS ON FILE
ALLPHIN, TERI                          ADDRESS ON FILE
ALLRED BROTHERS TRUCKING LLC           OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
ALLRED, CHARLES                        ADDRESS ON FILE
ALLRED, CLARK                          ADDRESS ON FILE
ALLRED, JAMES                          ADDRESS ON FILE
ALLRED, LOGAN                          ADDRESS ON FILE
ALLRED, MARTIN                         ADDRESS ON FILE
ALLREDI LLC                            ATTN: DEREK ROTZ 1036 S DITTMER STREET DAVENPORT IA 52802-2703
ALLRIG TOWING SERVICE LTD              120 PONEIDA RD WEST ST PAUL MB R4A 5A9 CANADA
ALLSALE ELECTRIC                       9261 JORDAN AVE CHATSWORTH CA 91311
ALLSHOUSE II, MERLE                    ADDRESS ON FILE
ALLSOP, DEBBIE                         ADDRESS ON FILE
ALLSTAR MARKETING GROUP                2 SKYLINE DR HAWTHORNE NY 10532
ALLSTAR TRANSIT INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALLSTAR TRANSPORTATION, INC.           OR TRANSPORT CLEARINGS EAST 9140 ARROWPOINT BLVD SUITE 370 CHARLOTTE NC 28273



Epiq Corporate Restructuring, LLC                                                                 Page 72 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23      Page 81 of 2156

Claim Name                               Address Information
ALLSTAR TRUCKING LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALLSTATE CARGO INC                       OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ALLSTATE CARRIER INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALLSTATE CARRIER LLC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
ALLSTATE CARRIERS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALLSTATE COMPASS LOGISTICS LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALLSTATE EXPRESS TRUCKING INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ALLSTATE FIRE EQUIPMENT                  233 WESTERN AVE WEST SPRINGFIELD MA 01089
ALLSTATE FIRE EQUIPMENT                  70 ROBERT JACKSON WAY PLAINVILLE CT 06062
ALLSTATE FIRE EQUIPMENT                  PO BOX 4370 WALLINGFORD CT 06492
ALLSTATE FREIGHT SYSTEMS INC.            OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
ALLSTATE FREIGHT TRANSPORT INC.          OR CARRIERNET GROUP FINANCIAL INC PO BOX 1130 SIOUX FALLS SD 57101
ALLSTATE LOGISTICS LLC (COLUMBUS OH)     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
ALLSTATE PETERBILT OF SOUTH ST. PAUL     W.D. LARSON COMPANIES LTD, PO BOX 270710 MINNEAPOLIS MN 55427
ALLSTATE TRUCKING LLC (ORANGE PARK FL)   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
ALLSTOT, MICHAEL                         ADDRESS ON FILE
ALLSTOT, THOMAS                          ADDRESS ON FILE
ALLSTREAM BUSINESS INC                   C/O T4622, P.O. BOX 4622, STN A TORONTO ON M5W 0J9 CANADA
ALLSTREAM BUSINESS INC                   18110 SE 34TH STREET BLDG. ONE STE 100 VANCOUVER WA 98683
ALLSTREAM BUSINESS. INC.                 C/O T4622, PO BOX 4622 STN A TORONTO ON M5A 0J9 CANADA
ALLSUP, TIMOTHY                          ADDRESS ON FILE
ALLTEST, INC.                            4177 N BRADY STREET, STE 3-S DAVENPORT IA 52806
ALLTOU LLC                               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALLUMS, GEONNIE                          ADDRESS ON FILE
ALLURA IMPORTS                           ATTN: ISAAC SHALOM 1407 BROADWAY 401 NEW YORK NY 10018
ALLURE TRIPS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALLWAY EXPRESS INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ALLWYO STATE TOWING LLC                  1457 N CEDAR ST LARAMIE WY 82073
ALLY DELIVERS LLC                        358 BARLETT ST MANCHESTER CT 03102
ALLY ENTERPRISES LLC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ALLYSSE CHAMPAGNE                        ADDRESS ON FILE
ALM FREIGHT INC                          OR CROSSROAD SERVICES LLC P.O. BOX 653076 DALLAS TX 75265-3076
ALM LOGISTICS LLC                        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ALMA TIRE SERVICE INC                    1210 E SUPERIOR ST ALMA MI 48801
ALMA-ROSE TRUCKING LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ALMACK, GABE                             ADDRESS ON FILE
ALMADA, ANTONIO                          ADDRESS ON FILE
ALMADA, DAVID                            ADDRESS ON FILE
ALMAGUEL TRUCKING LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ALMAGUER LOGISTICS LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
ALMAGUER, NORGEL                         ADDRESS ON FILE
ALMANZA, JOHNNY                          ADDRESS ON FILE
ALMARAZ, OSCAR                           ADDRESS ON FILE
ALMARAZ, RAMON                           ADDRESS ON FILE
ALMAREZ, ANDREW                          ADDRESS ON FILE
ALMAS TRANSPORT INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ALMAT TRUCKING LLC                       OR COREFUND CAPITAL, PO BOX 223766 DALLAS TX 75222-3766
ALMAT TRUCKING LLC                       OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 316 FORT WORTH TX 76116
ALMAX LOGISTICS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101



Epiq Corporate Restructuring, LLC                                                                      Page 73 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23       Page 82 of 2156

Claim Name                            Address Information
ALMEIDA FORKLIFTS                     2400 CASABLANCA DR MIRAMAR FL 33023
ALMEIDA, ELESSANDRO                   ADDRESS ON FILE
ALMEIDA, ELESSANDRO D                 ADDRESS ON FILE
ALMEN ENTERPRISES                     PO BOX 6780 KINGSPORT TN 37663
ALMENDARES, WYLHENT                   ADDRESS ON FILE
ALMIRA HAULING LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
ALMLOGISTIQ LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALMO CORPORATION                      2709 COMMERCE WAY PHILADELPHIA PA 19154
ALMO CORPORATION                      ATTN: DEE SAMONI DEE SAMONI 2709 COMMERCE WAY PHILADELPHIA PA 19154
ALMO CORPORATION                      ATTN: TERRY SOMMA TERRY SOMMA 2709 COMMERCE WAY PHILADELPHIA PA 19154
ALMONDS, DEAN                         ADDRESS ON FILE
ALMONTE, BRIAN                        ADDRESS ON FILE
ALMONTE, CRISEILY A                   ADDRESS ON FILE
ALMONTE, CRISEILY A                   ADDRESS ON FILE
ALMONTE, DIOJENE                      ADDRESS ON FILE
ALMORAISI, ALI                        ADDRESS ON FILE
ALMOST THERE TRUCKING LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
ALNICO INTERNATIONAL LLC              OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
ALOBAIDIS TRUCKING GROUP LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALOHA CARRIERS INC.                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALOHA ISLE MOVING, INC.               PO BOX 17865 HONOLULU HI 96817
ALOHA TRANS GROUP INC                 1217 S OLD WILKE RD 402 ARLINGTON HEIGHTS IL 60005
ALOMAUR DAY                           ADDRESS ON FILE
ALONDRA TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALONI TRUCKING LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ALONSO LECHUGA CARRASCO               ADDRESS ON FILE
ALONSO TRANSPORTATION                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALONSO, CHRISTOPHER                   ADDRESS ON FILE
ALONSO, CUAUHTEMOC                    ADDRESS ON FILE
ALONSO, EDGARDO                       ADDRESS ON FILE
ALONSO, EFRAIN                        ADDRESS ON FILE
ALONSO, VALERIE                       ADDRESS ON FILE
ALONZA O HANKS                        ADDRESS ON FILE
ALONZO TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALONZO, GIOVANNI                      ADDRESS ON FILE
ALONZO, SAMUEL                        ADDRESS ON FILE
ALOPOGIANIS, THEODORE                 ADDRESS ON FILE
ALOPOGIANIS, THEODORE T               ADDRESS ON FILE
ALP TRANSPORTATION LLC (MC1146966)    OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
ALPENA DIESEL SERVICE, INC.           1700 M-32 WEST ALPENA MI 49707
ALPH OMEGA SHELVING                   800 HOPE HOLLOW RD CARNEGIE PA 15106
ALPHA & OMEGA FREIGHT CARRIERS LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALPHA 1 STRATEGIC LOGISTICS LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALPHA 123 TRANSPORTATION SERVICES     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ALPHA AMZ TRUCKING INC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALPHA AND MIKE INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALPHA AND O EXPRESS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALPHA BAKING COMPANY                  5001 WEST POLK ST CHICAGO IL 60644



Epiq Corporate Restructuring, LLC                                                                  Page 74 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23       Page 83 of 2156

Claim Name                               Address Information
ALPHA BEAST TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALPHA BUCK TRUCKING LLC                  684 HIGH SHOALS CHURCH RD MOORESBORO NC 28114
ALPHA CARGO LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ALPHA E & L TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALPHA ENERGY SOLUTIONS                   7200 DISTRIBUTION DR LOUISVILLE KY 40258
ALPHA EXPEDITION INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ALPHA EXPRESS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALPHA EXPRESS LLC (BOILING SPRINGS SC)   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ALPHA FOOD                               5912 CAMPBELL ST. HANAHAN SC 29410
ALPHA FREIGHT INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALPHA HAULING LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALPHA LINES LLC                          OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425
ALPHA LINES LLC (MC1199194)              OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ALPHA LION TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALPHA MALE TRANSPORTATION LLC            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALPHA MASONRY LTD                        101-1335 ERIN STREET WINNIPEG MB R3E 2S7 CANADA
ALPHA NATIONAL CARRIER LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALPHA OMEGA LOGISTICS                    8150 NORTHEAST 27TH AVE ALTOONA IA 50009
ALPHA ONE GROUP LLC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ALPHA PRIME                              13482 BRYSON AVE EASTVALE CA 92880-8850
ALPHA PROTECH                            236 N 2200 W SALT LAKE CITY UT 84116
ALPHA PROTECH INC.                       ATTN: HEATHER MOORE ACCOUNTS RECEIVABLE PO BOX 200264 DALLAS TX 75320
ALPHA RAPTOR TRUCKING LLC                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ALPHA ROUSE LLC                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
ALPHA SHIPPING GROUP INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ALPHA SHIPPING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALPHA TRANS INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALPHA TRANS LTD                          38 MARIA ANTONIA ROAD WOODBRIDGE ON L4H 2S4 CANADA
ALPHA TRANSPORT                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ALPHA TRANSPORT HAULING LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ALPHA TRANSPORT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALPHA TRANSPORT INC (MC1246404)          OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
ALPHA TRANSPORT INC.                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALPHA TRANSPORT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALPHA TRANSPORTATION INC (MC915362)      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALPHA TRANSPORTATION LLC                 9822 MAIN STREET APT387, 387 FAIR FAIRFAX VA 22031
ALPHADIE TRANSPORT & PARTNERS LLP        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ALPHALOGIX TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALPHAWEST TRANSPORT, INC                 OR GREAT PLAINS TRANSPORTATION SRVCS INC PO BOX 4539 CAROL STREAM IL 60197
ALPHONSE, MICHAEL A                      ADDRESS ON FILE
ALPICHE, RICHARD                         ADDRESS ON FILE
ALPINA LOGISTICS SYSTEMS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALPINE CARRIERS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ALPINE COFFEE C/O ECHO                   ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ALPINE DRIVE LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALPINE ELECTRIC                          1670 BARLOW STREET, PO BOX 1065 TRAVERSE CITY MI 48695
ALPINE FENCE CO                          12265 8TH AVENUE SOUTH SEATTLE WA 98168
ALPINE FREIGHT LINES INC                 2593 SEVEN OAKS RIDGE LONDON ON N6M 0E8 CANADA



Epiq Corporate Restructuring, LLC                                                                      Page 75 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 84 of 2156

Claim Name                               Address Information
ALPINE LOGISTICS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALPINE LOGISTICS LLP                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALPINE LOGISTICS, LLC                    619 W HIGHWAY 26 BLACKFOOT ID 83221
ALPINE OVERHEAD DOORS INC                ATTN: BRITTANY SAVINO 8 HULSE RD STE 1 E SETAUKET NY 11733
ALPINE POWER SYSTEMS                     17357 VALLEE CT PRAIRIEVILLE LA 70769
ALPINE SECS CORP (8072)                  JANET BRANDLER OR PROXY MGR 440 EAST 400 SOUTH SALT LAKE CITY UT 84111
ALPINE VALLEY WATER INC                  2150 BERNICE RD LANSING IL 60438
ALPINESTAR EXPRESS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ALPIZAR TRANSPORT LOGISTIC LLC           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ALQADASI, MARWAN                         ADDRESS ON FILE
ALQAHTANI, ALICIA                        ADDRESS ON FILE
ALQAZA TRANSPORTATION LLC                OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                         UT 84130
ALQOSH TRANSPORTATION INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALRB LOGISTICS LLC                       OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
ALREADY ARRIVED LOGISTICS INC            4011 BERDINA RD CASTRO VALLEY CA 94546
ALRO FREIGHT & LOGISTICS INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ALRO STEEL CORPORATION                   DEPT 771478 DETROIT MI 48277-1478
ALROWDA TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALS LABORATORY GROUP                     PO BOX 975447 DALLAS TX 75397
ALS SPORTING GOODS                       1075 NORTH MAIN LOGAN UT 84341
ALS SPORTNG GOODS                        1075 N MAIN LOGAN UT 84341
ALS TRUCKING INC                         OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
ALSAC/ ST JUDE CHILDRENS RESEARCH HOSP   501 ST JUDE PLACE MEMPHIS TN 38105
ALSAYED, EHAB                            ADDRESS ON FILE
ALSBROOK LOGISTICS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ALSCO INC.                               PO BOX 30496 BILLINGS MT 59107
ALSCO INC.                               702 S 9TH, PO BOX 370 GRAND JUNCTION CO 81502
ALSCO INC.                               PO BOX 370 GRAND JUNCTION CO 81502
ALSCO INC.                               3200 PROSPECTOR DR CASPER WY 82604
ALSCO INC.                               3370 W 1820 S SALT LAKE CITY UT 84104
ALSCO INC.                               3243 E DESERET DR SAINT GEORGE UT 84790
ALSCO INC.                               4707 WEST CAMELBACK ROAD PHOENIX AZ 85031
ALSCO INC.                               PO BOX 82269 PORTLAND OR 97282
ALSCO INC.                               PO BOX 1280 MEDFORD OR 97501
ALSCO INC.                               PO BOX 3084 SPOKANE WA 99220
ALSDORF, ZANE                            ADDRESS ON FILE
ALSENA LLC                               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALSFELD, RICHARD                         ADDRESS ON FILE
ALSHREEF LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALSOP TRUCKING INC                       8629 PATRIOUT HIGHWAY FREDERICKSBURG VA 22407
ALSOP, DRAVON                            ADDRESS ON FILE
ALSTON A LYNCH                           ADDRESS ON FILE
ALSTON TRANSPORT LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALSTON, BYRON                            ADDRESS ON FILE
ALSTON, CALVIN                           ADDRESS ON FILE
ALSTON, CORNELL                          ADDRESS ON FILE
ALSTON, DERRICK                          ADDRESS ON FILE
ALSTON, JHARIYAE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 76 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 85 of 2156

Claim Name                              Address Information
ALSTON, JONATHAN                        ADDRESS ON FILE
ALSTON, MARTY                           ADDRESS ON FILE
ALSTON, SANDERS                         ADDRESS ON FILE
ALSUP, JAYLEN                           ADDRESS ON FILE
ALT E STORE                             TECH LOGISTICS, 300 ELM ST UNIT 1 MILFORD NH 03055
ALT SERVICES INC.                       425 WEST HURON SUITE 200 MILFORD MI 48381
ALT TRUCKING LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ALT, JOHN                               ADDRESS ON FILE
ALTA CONSTRUCTION EQUIPMENT             DEPT. 771420, PO BOX 77000 DETROIT MI 48277-1420
ALTA CONSTRUCTION EQUIPMENT             G 3283 S DORT HWY BURTON MI 48529
ALTA EXPRESS TRANSPORT INC              OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
ALTA INDUSTRIAL EQUIPMENT COMPANY LLC   25542 NETWORK PLACE CHICAGO IL 60673
ALTABANK                                2174 W GROVE PKWY, STE 125 PLEASANT GROVE UT 84062
ALTAFIBER                               221 E 4TH ST CINCINNATI OH 45202
ALTAFIBER                               PO BOX 748003 CINCINNATI OH 45274
ALTAIR LLC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ALTAMEEMI, MOHAMMED                     ADDRESS ON FILE
ALTAMIRANO, OSCAR                       ADDRESS ON FILE
ALTEC INDUSTRIES                        150 ALTEC DR. BURNSVILLE NC 28714
ALTEN, DAVID                            ADDRESS ON FILE
ALTENA TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ALTENLOH BRINCK AND CO                  ATTN: ANNE WAGEL 310 MAIN AVE WAY SE HICKORY NC 28602
ALTER DOMUS PRODUCTS CORP.              ATTN: LISA SCHUTZ; LEGAL DEPARTMENT AS COLLATERAL AGENT 225 W WASHINGTON ST,
                                        9TH FL CHICAGO IL 60606
ALTER DOMUS PRODUCTS CORP.              C/O: HOLLAND & KNIGHT LLP ATTN: JOSHUA M. SPENCER 150 N. RIVERSIDE PLAZA STE
                                        2700 CHICAGO IL 60606
ALTER DOMUS PRODUCTS CORP.              ADMIN & COLL. AGTS UNDER B-2 TERM LOAN ATTN: LEGAL DEPT, E. PAPPAS & C
                                        CAPEZUTI 225 W. WASHINGTON STREET, 9TH FLOOR CHICAGO IL 60606
ALTER DOMUS PRODUCTS CORP.              ATTN: LEGAL DEPT, AGENCY, DIP AGENT EMILY ERGANG PAPPAS AND CHRIS CAPEZUTI 225
                                        W. WASHINGTON STREET, 9TH FLOOR CHICAGO IL 60606
ALTERNATE TRUCKING CO                   OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ALTERNATIVE ENERGY SOLUTIONS, LTD.      PO BOX 129 SCHERERVILLE IN 46375
ALTERNATIVE ENERGY STORE                TECH LOGISTICS, 300 ELM ST UNIT 1 MILFORD NH 03055
ALTERNATIVE HOSE, INC.                  20 N 48TH AVE PHOENIX AZ 85043
ALTERNATIVE MECHANICAL LLC              4321 AIRWEST DRIVE SE KENTWOOD MI 49512
ALTERNATOR SPECIALISTS                  228 S CAROLINA WILMINGTON NC 28401
ALTERNATOR STARTER REBUILDERS, INC      450 S BURHANS BLVD HAGERSTOWN MD 21740
ALTERNO TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ALTEX CARRIER INC                       OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ALTEX LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALTEX TRANSPORTATION, INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALTGILBERS, SARAH                       ADDRESS ON FILE
ALTHAUS, MICHAEL                        ADDRESS ON FILE
ALTINO, AMANDO                          ADDRESS ON FILE
ALTL, INC.                              PO BOX 100, 3000 CORPORATE GROVE DRIVE HUDSONVILLE MI 49426
ALTLAND, TOBY                           ADDRESS ON FILE
ALTMAN, MONTE                           ADDRESS ON FILE
ALTMAN, SAMUEL                          ADDRESS ON FILE
ALTMAN, ZOEY                            ADDRESS ON FILE
ALTMANN, TIMOTHY                        ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                     Page 77 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG    DocService
                                                655 Filed
                                                        List
                                                             09/25/23       Page 86 of 2156

Claim Name                           Address Information
ALTMED MEGA HEALTH SERVICES          MEGA HEALTH SERVICES INC, PO BOX 226 HAYMARKET VA 20168
ALTO-SHAAM                           EVANS TRANSPORTATION 171 W WING STREET STE 204A ARLINGTON HEIGHTS IL 60005
ALTON, JOHN A                        ADDRESS ON FILE
ALTON, WILLIAM                       ADDRESS ON FILE
ALTOONA WATER AUTHORITY              900 CHESTNUT AVE ALTOONA PA 16601
ALTORFER                             9670 TABOR RD. CLINTON IL 61727
ALTOUMAH, MAYRA                      ADDRESS ON FILE
ALTPRO LC                            ALTPRO LC, 6119A GREENVILLE AVE 305 DALLAS TX 75206
ALTRADE TOOLS POWERBUILT             ATTN: DESIREE MARTINEZ 6122 KATELLA AVE CYPRESS CA 90630
ALTRATEK PLASTICS                    105 GAY ST LONGMONT CO 80501
ALTRUIST (3164)                      ATT PROXY MGR 3030 S LA CIENEGA CULVER CITY CA 90232
ALTRUX REPAIR INC                    83 INDUSTRIAL ST RITTMAN OH 44270
ALTSTADT BUSINESS FORMS, INC.        1401 BUCHANNA RD EVANSVILLE IN 47720
ALTSTADT, DONALD                     ADDRESS ON FILE
ALTSTADT, DONALD C                   ADDRESS ON FILE
ALTSTATT, JOHN                       ADDRESS ON FILE
ALTUS GROUP LIMITED                  126 DON HILLOCK DRIVE AURORA ON L4G 0G9 CANADA
ALTUS RECEIVABLES MANAGEMENT INC     2121 AIRLINE DR STE 520 METAIRIE LA 70002
ALTUS TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ALULA EXPRESS LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ALUMBAUGH, MORGAN                    ADDRESS ON FILE
ALUMBRO, RAY                         ADDRESS ON FILE
ALUNA TRUCKING INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ALVA AMCO                            ATTN: SARAH SWINFORD ACCOUNTS RECEIVABLE 7711 MERRIMAC AVE NILES IL 60714
ALVA ELECTRIC, INC.                  118 W. FRANKLIN ST. EVANSVILLE IN 47710
ALVA, JACOB                          ADDRESS ON FILE
ALVA, JOSEPH                         ADDRESS ON FILE
ALVARADO RODRIGUEZ, KATIE            ADDRESS ON FILE
ALVARADO TRANSPORT                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ALVARADO TRANSPORT (MC794974)        OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
ALVARADO, BRYAN                      ADDRESS ON FILE
ALVARADO, CARL                       ADDRESS ON FILE
ALVARADO, CRISTIAN                   ADDRESS ON FILE
ALVARADO, DAVID                      ADDRESS ON FILE
ALVARADO, GABRIEL                    ADDRESS ON FILE
ALVARADO, JONATAN                    ADDRESS ON FILE
ALVARADO, JUAN                       ADDRESS ON FILE
ALVARADO, JUAN                       ADDRESS ON FILE
ALVARADO, JUAN C                     ADDRESS ON FILE
ALVARADO, LOUIS                      ADDRESS ON FILE
ALVARADO, LUIS                       ADDRESS ON FILE
ALVARADO, MARK                       ADDRESS ON FILE
ALVARADO, RONALD                     ADDRESS ON FILE
ALVARADO, RUDY                       ADDRESS ON FILE
ALVARELLO, CALOGERA                  ADDRESS ON FILE
ALVARENGA, GEOVANNI A                ADDRESS ON FILE
ALVAREZ HERNANDEZ, EMILIO            ADDRESS ON FILE
ALVAREZ TRANS LLC                    OR BECHTEL FACTORING LLC 1458 FOSS ROAD TALENT OR 97540
ALVAREZ, AARON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 78 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 87 of 2156

Claim Name                            Address Information
ALVAREZ, ALICIA                       ADDRESS ON FILE
ALVAREZ, ANGEL                        ADDRESS ON FILE
ALVAREZ, ANTHONY                      ADDRESS ON FILE
ALVAREZ, CARLOS                       ADDRESS ON FILE
ALVAREZ, CHERYL                       ADDRESS ON FILE
ALVAREZ, DOUGLAS                      ADDRESS ON FILE
ALVAREZ, EDWARD                       ADDRESS ON FILE
ALVAREZ, ERNEST                       ADDRESS ON FILE
ALVAREZ, FRANCISCO                    ADDRESS ON FILE
ALVAREZ, GILBERT                      ADDRESS ON FILE
ALVAREZ, GREGORIO                     ADDRESS ON FILE
ALVAREZ, HECTOR                       ADDRESS ON FILE
ALVAREZ, HUGO                         ADDRESS ON FILE
ALVAREZ, HUMBERTO                     ADDRESS ON FILE
ALVAREZ, JESUS                        ADDRESS ON FILE
ALVAREZ, JOHNNY                       ADDRESS ON FILE
ALVAREZ, JUAN                         ADDRESS ON FILE
ALVAREZ, JUAN                         ADDRESS ON FILE
ALVAREZ, KIETA                        ADDRESS ON FILE
ALVAREZ, LEIDA                        ADDRESS ON FILE
ALVAREZ, MARC A                       ADDRESS ON FILE
ALVAREZ, MAURY                        ADDRESS ON FILE
ALVAREZ, MICHAEL                      ADDRESS ON FILE
ALVAREZ, NICKOLES                     ADDRESS ON FILE
ALVAREZ, ROBERTO                      ADDRESS ON FILE
ALVAREZ, SAVANNA                      ADDRESS ON FILE
ALVAREZ, THERESA                      ADDRESS ON FILE
ALVAREZ, TIMOTHY                      ADDRESS ON FILE
ALVAREZ-RUIZ, SERGIO                  ADDRESS ON FILE
ALVARIA INC                           5 TECHNOLOGY PARK DRIVE, SUITE 9 WESTFORD MA 01886
ALVARIA INC                           PO BOX 2869 CAROL STREAM IL 60132
ALVARIA INC                           SUITE 700, 2325 E CAMELBACK PHOENIX AZ 85016
ALVAYEROS HAULING INC                 OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
ALVES FONSECA, DOUGLAS                ADDRESS ON FILE
ALVEY TRANSPORT, INC.                 1400 KING EDWARD AVE CLEVELAND TN 37311
ALVEY, JOSEPH                         ADDRESS ON FILE
ALVEY, LEE                            ADDRESS ON FILE
ALVEYS TOWING & RECOVERY              P.O. BOX 61 453 FLINT RIDGE RD. HORSE CAVE KY 42749
ALVI TRUCKING, INC.                   7347 W 79TH PL APT 3B BRIDGEVIEW IL 60455
ALVIN C GEORGE                        ADDRESS ON FILE
ALVIN K MACKINS JR                    ADDRESS ON FILE
ALVIN R DONAHUE                       ADDRESS ON FILE
ALVIN TRUCKING LLC                    9178 FOUNDRAY CIR N AVON IN 46123
ALVIS C BOOKER                        ADDRESS ON FILE
ALVIS, JOEY                           ADDRESS ON FILE
ALVIS, ROBERT                         ADDRESS ON FILE
ALW                                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALWAYS GREEN RECYCLING                12685 DORSETT RD, STE 345 MARYLAND HEIGHT MO 63043
ALWAYS GREEN RECYCLING                12685 DORSETT RD, SUITE 345 MARYLAND HEIGHTS MO 63043



Epiq Corporate Restructuring, LLC                                                                Page 79 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23         Page 88 of 2156

Claim Name                              Address Information
ALWAYS INSURED INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ALWAYS INSURED LOGISTICS                11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
ALWAYS MOVING FORWARD LOGISTICS LLC     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ALWAYS ON CALL                          12-1023 RIFE RD RR2 CAMBRIDGE ON N1R 5S3 CANADA
ALWAYS ON THE MOVE LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ALWAYS ON THE ROAD , LLC                OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
ALWAYS ON TIME LOGISTICS SERVICES LLC   OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
ALWAYS ON TIME TRUCKING INC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ALWAYS READY LLC                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ALWAYS STAR LOGISTICS INC               579 VELLORE WOODS BLVD WOODBRIDGE ON L4H 2V8 CANADA
ALWAYS THERE EXPRESS CORPORATION        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ALWAYS UNDERGROUND,INC.                 ATTN: DAVID PAULIN 20603 BURL COURT JOLIET IL 60433
ALWOOD, JEFFREY                         ADDRESS ON FILE
ALWRAN, ARNOLD                          ADDRESS ON FILE
ALYNEVYCH INC                           OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415-1013
ALYSON M MURTHA                         ADDRESS ON FILE
ALYSSA M EGER                           ADDRESS ON FILE
ALYSSA TRANS LLC                        OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
ALZU LINE INC                           10064 S 86TH AVE PALOS HILLS IL 60465
AM AUTO LLC                             ATTN: ELAINE MILLER 3404 MANGROVE AVE NORFOLK VA 23502
AM EAGLE TRUCKING LLC                   5885 SPRING ROCK CIR COLUMBUS OH 43229
AM EAGLE TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AM ELECTRIC COMPANY INC                 608 LOCUST LN LOUISVILLE KY 40217
AM EXPRESS                              1110 RENEE DR CHRISTIANA TN 37037
AM EXPRESS LLC (MC1084879)              15 DECUBELLIS CT PUTNAM CT 06260-3224
AM FLYING TRANSPORTATION LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AM FREIGHT LLC                          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AM HUB METTLER TOLEDO                   ATTN: BRENDA MADDY 1150 DEARBORN DR WORTHINGTON OH 43085
AM LOGISTICS FREIGHT INC                OR LVN CAPITAL CORP, P.O. BOX 32107 LAS VEGAS NV 89172
AM LOGISTICS LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AM TO PM CORPORATION                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AM TOWING INC                           W230 S7085 GUTHRIE SCHOOL RD BIG BEND WI 53103
AM TOWING INC                           W4050 HWY 11 ELKHORN WI 53121
AM TRANS EXPRESS INC                    PO BOX 67066 NEWARK NJ 07101-8082
AM TRANS INC                            14141 S HARRISON AVE POSEN IL 60469
AM TRUCK ENTERPRISES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AM TRUCKING AZ LLC                      845 E 10TH DR MESA AZ 85204-4251
AM TRUCKING LLC                         6867 PINEHURST ST DEARBORN MI 48126
AM TRUCKING LLC (MC1185705)             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AM&SON TRANSPORTATION LLC               OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
AM/PM ROADSIDE & RECOVERY               1519 E EXPRESSWAY 83 MISSION TX 78572
AM2PM TRANSPORT LLC                     OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
AMA BROTHERS INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMA LOGISTICS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
AMA LOGISTICS LLC (BOWLING GREEN KY)    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AMA TRANS INC                           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AMA TRANSPORT LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMA TRANSPORTATION LLC (MC1196918)      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMA TRUCKING                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                    Page 80 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG    DocService
                                              655 Filed
                                                      List
                                                           09/25/23      Page 89 of 2156

Claim Name                         Address Information
AMA TRUCKING LLC                   OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
AMA TRUCKING LLC (MC190937)        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AMAAL TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AMABILE, MICHAEL                   ADDRESS ON FILE
AMAD TRANSPORT LLC                 OR MATCH FACTORS, PO BOX 13259 FLORENCE SC 29504
AMADO, LUIS                        ADDRESS ON FILE
AMADOR, ANA                        ADDRESS ON FILE
AMADOR, ANDREW R                   ADDRESS ON FILE
AMADOR, ANTHONY M                  ADDRESS ON FILE
AMADOR, MICHAEL                    ADDRESS ON FILE
AMADOR, RAYMOND                    ADDRESS ON FILE
AMADU BARRIE                       ADDRESS ON FILE
AMAGINATION REALITY LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
AMAHO TRUCKING LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AMAHTRUCKING LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AMAKER, CASEY                      ADDRESS ON FILE
AMAKER, HENRY                      ADDRESS ON FILE
AMAL TRANSPORT LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AMALGAMATED BANK (2352)            ATT BOB WINTERS OR PROXY MGR 275 7TH AV NEW YORK NY 10001
AMAN CARRIER                       ADDRESS ON FILE
AMAN EXPRESS INC                   2259 AUTUMN OAK PL STOCKTON CA 95209-4228
AMAN LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AMAN LOGISTICS LLC (MC1326679)     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMAN TRANSPORT LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AMAN TRUCKING INC                  OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
AMAN TRUCKING LLC (HILLARD OH)     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMAN, ALEXANDER                    ADDRESS ON FILE
AMAN, ROBERT                       ADDRESS ON FILE
AMANA TRANS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AMANA TRUCKING COMPANY LLC         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AMANDA L KENNEY                    ADDRESS ON FILE
AMANDA L MCHENRY                   ADDRESS ON FILE
AMANDA L MOOREY                    ADDRESS ON FILE
AMANDA L MOOREY                    ADDRESS ON FILE
AMANI FLEET                        OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
AMANI TRANS                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMANI TRANSPORT SERVICES LLC       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMANNA, ERIC                       ADDRESS ON FILE
AMANO EXPRESS                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AMANTE, TINA                       ADDRESS ON FILE
AMANTINA TRANSPORT CORP            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMAO TRUCKING INC                  OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
AMAR TRANSPORT INC                 6 SUNNYSIDE DR CARTERET NJ 07008
AMARAL, JASE                       ADDRESS ON FILE
AMARAL, STEVEN J                   ADDRESS ON FILE
AMARGO LLC                         1900 SCHWEDE RD WENTZVILLE MO 63385
AMARI & LOCALLO, LAW OFFICES OF    734 N WELLS ST CHICAGO IL 60654
AMARIE TRUCKING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
AMARILLA, SILVIA C                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 81 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23         Page 90 of 2156

Claim Name                            Address Information
AMARJOT INC                           22 JOHN ST MALDEN MA 02148
AMARK LOGISTICS                       28915 CLEMENS RD WESTLAKE OH 44145
AMARO, MICHAEL                        ADDRESS ON FILE
AMAROK LLC                            (F/K/A ELECTRIC GUARD DOG), PO BOX 60089 CHARLOTTE NC 28260
AMAROK LLC                            F/K/A: SENTRY SECURITY SYSTEMS LLC PO BOX 60089 CHARLOTTE NC 28260
AMAROK LLC                            PO BOX 60089 CHARLOTTE NC 28260
AMAROK LLC                            PO BOX 60089 CHARLOTTE NC 28260-0089
AMAROK LLC                            PO BOX 931643 ATLANTA GA 31193
AMARU-KHAN LOGISTICS COMPANY          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMASON INC                            OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
AMATO, JOSEPH                         ADDRESS ON FILE
AMAX EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMAYA TRANS LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AMAYA TRANSPORT SVCES CORP            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
AMAYA TRUCKING INC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
AMAYA, JEFFREY                        ADDRESS ON FILE
AMAYA, JHONNY A                       ADDRESS ON FILE
AMAYA, JORGE                          ADDRESS ON FILE
AMAYA, JOSE                           ADDRESS ON FILE
AMAYA, KENNETH                        ADDRESS ON FILE
AMAYA, TANNY                          ADDRESS ON FILE
AMAZIN TRUCKERS TRUCKIN               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AMAZON                                675 ALLEN ROAD CARLISLE PA 17015
AMAZON                                3550 NE EVANGELINE THRWY. CARENCRO LA 70520
AMAZON                                ANDY JASSY, PRESIDENT & CEO 410 TERRY AVE N SEATTLE WA 98109
AMAZON                                410 TERRY AVE N SEATTLE WA 98109-5210
AMAZON DISTRIBUTIONCENTER-IL          11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
AMAZON DMGD YRC TRL                   410 TERRY AVE N SEATTLE WA 98109
AMAZON HOSTLER HIT YRC PARKED TRL     202 WESTLAKE AVE SEATTLE WA 98109
AMAZON LOGISTICS                      207 BOREN AVE. N. SEATTLE WA 98109
AMAZON LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMAZON TRANSPORT LLC                  OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425
AMAZON TRUCKING                       3030 E VICTORIA ST RANCHO DOMINGUEZ CA 90221
AMAZON TRUCKING LLC                   8042 SAINT MATTHEW DR WEST CHESTER OH 45069
AMAZON WEB SERVICES, INC.             PO BOX 84023 SEATTLE WA 98124
AMAZON.COM                            PO BOX 80683 SEATTLE WA 98108
AMAZON.COM SERVICES INC               WELLS FARGO NA, PO BOX 84171 SEATTLE WA 98124
AMAZY TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMB EXPRESS INC                       OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
AMB TRANSIT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMB TRANSPORTATION LLC                1479 MOUNT LEBANON ROAD CAMPOBELLO SC 29322
AMBASSADOR                            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AMBASSADOR BUILDING MAINTENANCE       628 MONMOUTH RD WINDSOR ON N8Y 3L1 CANADA
AMBASSADOR TRANS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMBASSADOR TRANS INC                  7505 NE 123RD COURT VANCOUVER WA 98682
AMBAY LOGISTICS INC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMBER JO WEISENMILLER                 ADDRESS ON FILE
AMBER LINE TRUCKING INC               OR NEXT DAY FUNDING INC, PO BOX 640 CHICAGO HEIGHTS IL 60412
AMBER LINE TRUCKING INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                   Page 82 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23        Page 91 of 2156

Claim Name                            Address Information
AMBER SOLUTIONS CORP.                 OR TRANSPORTATION FINANCE CORP 14007 S. BELL ROAD 169 HOMER GLEN IL 60491
AMBERSON, DENNIS                      ADDRESS ON FILE
AMBEST SERVICE CENTERS                CRANBURY SERVICE CENTER 44 HIGHTSTOWN-CRANBURY STATION CRANBURY NJ 08512
AMBEST SERVICE CENTERS                CORP BILL DEPT 100, PO BOX 830604 BIRMINGHAM AL 35283
AMBICION BOXTRUCKS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMBIR TECHNOLOGY INC                  820 SIVERT DR WOOD DALE IL 60191
AMBLE ELECTRIC LLC                    PO BOX 437 LAKEVIEW MI 48850
AMBLER, HEATHER                       ADDRESS ON FILE
AMBOHR GROUP LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMBORN, RICHARD                       ADDRESS ON FILE
AMBOY EXPRESS                         52482 115TH LN AMBOY MN 56010
AMBROSE SMITH                         ADDRESS ON FILE
AMBROSINI & SONS ELECTRIC             PO BOX 2128 MCKINLEYVILLE CA 95519
AMBROSLY INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AMBUCARE CLINIC                       3387 S U S HIGHWAY 41 TERRE HAUTE IN 47802
AMBUFREIGHT INC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
AMBURGEY, DARRELL                     ADDRESS ON FILE
AMC XPRESS LLC                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
AMCAN FREIGHT EXPRESS LLC             PO BOX 643 ROSEMONT IL 60018
AMCAN FREIGHT EXPRESS LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AMCE EXPRESS INC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AMCOPOLYMERS INC                      ATTN: REBEKAH KRAUSE 1900 SUMMIT TOWER BLVD 900 ORLANDO FL 32810
AMCOR PET PACKAGING USA               14270 RAMONA AVE CHINO CA 91710
AMD LOGISTICS                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AMD LOGISTICS LLC                     36043 ELMIRA ST LIVONIA MI 48150
AMD TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AMD TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMDEN LOGISTICS LLC                   333 W 76TH ST CHICAGO IL 60620
AME TRANSPORT LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AME TRUCKING                          14534 VILLAGE WAY DR SYLMAR CA 91342
AMECA TRUCKING COMPANY                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AMEER TRANSPORTATION                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AMEGAH, FRANK                         ADDRESS ON FILE
AMELIA BUILDING MAINTENANCE           3068 LANE AVE N JACKSONVILLE FL 32254
AMEN DIESEL                           1128 N BULLDOG ROAD CEDAR CITY UT 84721
AMEN EXPRESS LLC                      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
AMEN TRANSPORT LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
AMEN TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AMEN TRUCKING LLC (MC1313397)         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AMENT, STEVEN                         ADDRESS ON FILE
AMER-TRANS INC                        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
AMEREN ILLINOIS                       300 LIBERTY PEORIA IL 61602
AMEREN MISSOURI                       PO BOX 790098 ST. LOUIS MO 63179-0098
AMEREX CORPORATION                    7595 GADSDEN HWY TRUSSVILLE AL 35173
AMERI FREIGHT SYSTEMS LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMERI FREIGHT WAY                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERI TRANSPORTATION INC              OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
AMERI-CAN ENGINEERING                 775 N. MICHIGAN ST. ARGOS IN 46501
AMERI-CARE TRANSPORT LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000



Epiq Corporate Restructuring, LLC                                                                  Page 83 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23        Page 92 of 2156

Claim Name                               Address Information
AMERI-TRANSPORT INC                      1639 RIDGE RD CANTON GA 30114
AMERIC EXPRESS GROUP                     263 W OLIVE AVE 294 BURBANK CA 91502
AMERICA 1 LOGISTICS LLC                  PO BOX 809107 CHICAGO IL 60680
AMERICA FAST TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICA FREIGHT, INC                     6726 KELTONVIEW DR 1 PICO RIVERA CA 90660
AMERICA MIDWEST TRANSPORTATION, LLC      PO BOX 997 NEW ULM MN 56073
AMERICA QUALITY TRANSPORT LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AMERICA STAR TRANSPORTATION INC          OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
AMERICA SUNSHINE WORLD TRADE INC         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AMERICA TRANSPORTATION GROUP, LLC        PO BOX 451929 LAREDO TX 78045
AMERICAN & CARRIER, INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AMERICAN AIR COMPRESSOR, INC.            P.O. BOX 29237 DALLAS TX 75228
AMERICAN AIR FILTER                      ARGUS LOGISTICS PO BOX 4750 TROY MI 48099
AMERICAN ALL SEASONS TRANSPORTATION LLC OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
AMERICAN ALLWASTE, LLC                   12141 WICKCHESTER LN, STE 325 HOUSTON TX 77079
AMERICAN ARBITRATION ASSOCIATION         120 BROADWAY FLOOR 21 NEW YORK NY 10271
AMERICAN AUTO & TRUCK ELECTRIC INC       646 ATANDO AVE CHARLOTTE NC 28206
AMERICAN AUTOWIRE                        ATTN: CORTNIE GOTSCHALL TRANSLOGISTICS 321 N FURNACE ST STE 300 BIRDSBORO PA
                                         19508
AMERICAN BACKFLOW & FIRE PREVENTION,     111 KERRY LANE WAUCONDA IL 60084
INC
AMERICAN BATTERY & ELECT SERVICE INC     215 S JOPLIN AVE JOPLIN MO 64801
AMERICAN BILTRITE                        ATTN: PIERRE-LUC LAMARRE 635 PEPIN SHERBROOKE QC J1L 2P8 CANADA
AMERICAN BLOWER SUPPLY                   14219 E. 10 MILE ROAD WARREN MI 48089
AMERICAN BRAIDING &MANUFACTURING         247 OLD TAVERN ROAD HOWELL NJ 07731
AMERICAN BRIDGE CROSSING TRANS INC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AMERICAN CAPITAL TRUCKING LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMERICAN CAPITAL TRUCKING LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 PO BOX 840267 DALLAS TX 75284-0267
AMERICAN CAR EXPRESS INC                 OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
AMERICAN CAR HAULER LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN CARGO ENTERPRISE LLC            18 HYATT AVE BLDG 3 NEWARK NJ 07105
AMERICAN CARPORTS & BUILDINGS            12108 WOODSIDE DR RIVERVIEW FL 33579
AMERICAN CARRIER INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERICAN CHIMNEY SHROUD                  26401 VIA DE ANZA SAN JUAN CAPISTRANO CA 92675
AMERICAN COMMERCIAL & RESIDENTIAL SVCS   2408 S PATTIE ST WICHITA KS 67216
AMERICAN DIGITAL CARTOGRAPHY, INC.       338 W COLLEGE AVE STE 201 APPLETON WI 54911
AMERICAN DISTRIBUTION SERVICES INC       403 E OLD ANDREW JOHNSON HWY JEFFERSON CITY TN 37760
AMERICAN DOOR COMPANY INC                771 TWIN VIEW BLVD REDDING CA 96003
AMERICAN DOOR OF WAUSAU                  5703 STELLA AVE SCHOFIELD WI 54476
AMERICAN DOOR WORKS                      2150 FRONTAGE RD S. WAITE PARK MN 56387
AMERICAN DREAM FREIGHTWAYS INC           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
AMERICAN DREAM LOGISTICS INC             OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
AMERICAN DREAM TRUCK LINES INC           27274 W MOCKINGBIRD DR FLAT ROCK MI 48134
AMERICAN DREAM TRUCKING LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN EAGLE EXPRESS INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AMERICAN EAGLE LOGISTICS GROUP           6908 S WESTERN AVE CHICAGO IL 60636
AMERICAN EAGLE TRANS INC                 OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
AMERICAN EAGLE TRANS INC (MC070960)      OR CAPITAL DEPOT 8930 N WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
AMERICAN EAGLE TRANS LLC                 2700 DIVISION ST FL 1, XX EASTON PA 18045



Epiq Corporate Restructuring, LLC                                                                      Page 84 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 93 of 2156

Claim Name                               Address Information
AMERICAN EAGLE TRANSPORT INC             LAKE DALLAS (LAKE DALLAS) LAKE DALLAS TX 75065
AMERICAN EAGLE TRANSPORT INC             187 TRADITION PASS GREENWOD IN 46143
(MC1276228)
AMERICAN EAGLE TRUCKLINE, INC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 PO BOX 840267 DALLAS TX 75284-0267
AMERICAN ELECTRIC INC.                   PO BOX 73 ELDRIDGE IA 52748
AMERICAN ELECTRIC POWER                  PO BOX 371496 PITTSBURGH PA 15250-7496
AMERICAN ELECTRIC POWER                  1 RIVERSIDE PLAZA COLUMBUS OH 43215-3272
AMERICAN ELECTRIC POWER                  C/O JNR ADJUSTMENT COMPANY PO BOX 27070 MINNEAPOLIS MN 55427
AMERICAN ELECTRIC POWER CO.              PO BOX 371883 PITTSBURGH PA 15250-7883
AMERICAN ELECTRICAL CONTRACTORS INC      3405 PEARSON RD MEMPHIS TN 38118
AMERICAN EMO TRANS INC                   ATTN: DAVID WELLS 2600 HUTCHINSON MCDONALD RD CHARLOTTE NC 28269
AMERICAN EQUIPMENT & TRAILER, INC.       P.O. BOX 32190 AMARILLO TX 79120
AMERICAN EQUIPMENT & TRAILER, INC.       PO BOX 2010 LUBBOCK TX 79408
AMERICAN EXCAVATING &                    D/B/A: AMERICAN EXCAVATING & CONSTRUCT. 2661 BROOKS SCHOOL HOUSE RD CALHOUN KY
                                         42327
AMERICAN EXCAVATING & CONSTRUCTION LLC   2481 BROOKS SCHOOL HOUSE RD CALHOUN KY 42327
AMERICAN EXCAVATING & CONSTRUCTION LLC   2661 BROOKS SCHOOL HOUSE RD CALHOUN KY 42327
AMERICAN EXCAVATING AND CONSTRUCTION     240 HWY 81 N CALHOUN KY 42327
LLC
AMERICAN EXPEDITED INC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 PO BOX 840267 DALLAS TX 75284
AMERICAN EXPRESS CARGO INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AMERICAN EXPRESS FREIGHT INC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
AMERICAN EXPRESS LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AMERICAN EXPRESS LOGISTICS INC           5002 RYLAND AVE TEMPLE CITY CA 91780
AMERICAN FAMILY CARE, INC.               PO BOX 748394 ATLANTA GA 30374
AMERICAN FAMILY CARE, INC.               PO BOX 734315 DALLAS TX 75373
AMERICAN FAMILY CARE, INC.               PO BOX 734383 DALLAS TX 75373
AMERICAN FAST FREIGHT                    7400 45TH STREET CT E FIFE WA 98424
AMERICAN FENCE CO OF SIOUX CITY, INC.    12330 CARY CIRCLE LAVISTA NE 68128
AMERICAN FENCE COMPANY                   3841 RIDGE ROAD CLEVELAND OH 44144
AMERICAN FENCE COMPANY                   12330 CARY CIRCLE LAVISTA NE 68128
AMERICAN FENCE COMPANY                   PO BOX 19040 PHOENIX AZ 85005
AMERICAN FIRE & SAFETY SUPPLY CO, INC    953 NE OSCEOLA AVE 100 OCALA FL 34470
AMERICAN FIRST CLASS LOGISTICS LLC       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AMERICAN FLAG EXPRESS INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
AMERICAN FLEET INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERICAN FLEET MAINTENANCE INC           275 INTERNATIONAL BLVD ROCHESTER NY 14624
AMERICAN FLEET SERVICE SOLUTIONS         2790 AIRWAY AVE KINGMAN AZ 86409
AMERICAN FLEET SERVICE SOLUTIONS         1170 DADASH ST BEAUMONT CA 92223
AMERICAN FLEET SERVICE SOLUTIONS         791 S GIFFORD AVE SAN BERNARDINO CA 92408
AMERICAN FLEET SERVICES                  7714 COMMERCE PARK OVAL INDEPENDENCE OH 44131
AMERICAN FREIGHT CARRIERS INC            7234 BELLINI LANE INDIANAPOLIS IN 46259
AMERICAN FREIGHT CORPORATION             OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
AMERICAN FREIGHT EXPRESS INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN FREIGHT LINES                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AMERICAN FREIGHT TRUCKING LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN FREIGHTLINES INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AMERICAN GLOBAL EXPRESS, LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AMERICAN GREETING CORPORATION            ATTN: DEBBIE PISKUNOFF 1400 OHLENDORF RD OSCEOLA AR 72370
AMERICAN GREETINGS                       1 AMERICAN WAY CLEVELAND OH 44145


Epiq Corporate Restructuring, LLC                                                                     Page 85 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG        DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23        Page 94 of 2156

Claim Name                               Address Information
AMERICAN GREETINGS                       ATTN: DEBBIE PISKUNOFF 1 AMERICAN BLVD CLEVELAND OH 44145
AMERICAN GROUP                           PO BOX 72086 CLEVELAND OH 44192
AMERICAN GROUP                           25 S ARIZONA PL 300 CHANDLER AZ 85225
AMERICAN GROUP                           25 S ARIZONA PL STE 300 CHANDLER AZ 85225
AMERICAN GROUP                           25 S ARIZONA PLACE 30 CHANDLER AZ 85225
AMERICAN HAULERS INC                     17W486 LAKE ST ADDISON IL 60101
AMERICAN HEATING                         5035 SE 24TH AVE ATTN FRED HERRLE PORTLAND OR 97202
AMERICAN HEATING INC.                    5035 SE 24TH AVE PORTLAND OR 97202
AMERICAN HIGHWAY INC                     OR GALAXY FINANCIAL SERVICES LLC PO BOX 580 WEST CHICAGO IL 60185
AMERICAN HOSE & HARDWARE INC             PO BOX 191 JONESBORO GA 30237
AMERICAN HYDRAULIC SERVICE CORPORATION   P.O. BOX 560832 DALLAS TX 75356
AMERICAN HYDROPONICS                     286 S G ST ARCATA CA 95521
AMERICAN INDIAN TRANS                    PO BOX 1116 MADERA CA 93637
AMERICAN INDUSTRIAL DOOR COMPANY         629 N PERRY STREET DAVENPORT IA 52803
AMERICAN INDUSTRIAL DOOR LLC             6142 CRATER LAKE AVE. CENTRAL POINT OR 97502
AMERICAN KEY FOOD                        1 REUTEN DR CLOSTER NJ 07624
AMERICAN LANDFREIGHTS INC                519 HOUSTON ST LAREDO TX 78040
AMERICAN LANES TRANSPORT LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMERICAN LEAK DETECTION                  PO BOX 1145 BRENTWOOD TN 37024
AMERICAN LEAK DETECTION INC              199 WHITNEY AVE 2ND FL NEW HAVEN CT 06511
AMERICAN LINE TRUCK LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
AMERICAN LINEN SUPPLY OF NEW MEXICO INC 550 N CHURCH ST LAS CRUCES NM 88001
AMERICAN LOCK & KEY                      1105 LAURENS ROAD GREENVILLE SC 29607
AMERICAN LOCK & KEY LLC                  107 E 3RD SPOKANE WA 99202
AMERICAN MACHINERY & PARTS EXPORT LLC    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AMERICAN MARINE EXPRESS INC              PO BOX 32487 EUCLID OH 44132
AMERICAN MARKING SYSTEMS INC             14609 W 106TH ST LENEXA KS 66215
AMERICAN MECHANICAL SRVC OF DENVER LLC   PO BOX 911068 DENVER CO 80291
AMERICAN MEDICAL RESPONSE                1041 FEE DRIVE SACRAMENTO CA 95815
AMERICAN MEGA TRANSPORTATION INC         12811 HARVEST TIME COURT CHARLOTTE NC 28278
AMERICAN MILE LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERICAN MILES TRANSPORT LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN MOBILE                          PO BOX 1211 SANTA MARIA CA 93456
AMERICAN MOBILE FLEET SERVICES           PO BOX 56 CEDAR CITY UT 84721
AMERICAN MOTOR TRANSPORATION INC         OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
AMERICAN PAPER AND TWINE                 ATTN: COREY TERRY 310 MAIN AVENUE WAY SE HICKORY NC 28602
AMERICAN PEST CONTROL, INC.              PO BOX 6467 ATHENS GA 30604
AMERICAN PLASTICS                        1225 N MACARTHUR DR STE 200 TRACY CA 95376
AMERICAN PLUMBING & HEATING, INC.        9730 MARSHALL RD BIRCH RUN MI 48415
AMERICAN POWER PULL                      PO BOX 96 ARCHBOLD OH 43502
AMERICAN PRIDE CARRIER INC               9589 FOUR WINDS DR APT 914 ELK GROVE CA 95758-7142
AMERICAN PRIVATEER TRANSPORTATION LLC    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AMERICAN PROUD TRANSPORTATION LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN RADIATOR & HEAT EXCHANGERS      7236 ST. CHARLES ROCK ROAD SAINT LOUIS MO 63133
AMERICAN RAMP TRANSIT, INC.              OR ACTION CAPITAL CORP, PO BOX 56346 ATLANTA GA 30343
AMERICAN RED CROSS                       TRAINING SERVICES, 25688 NETWORK PLACE CHICAGO IL 60673-1256
AMERICAN RED CROSS                       MVP PROLOGISTICS DBA MVP LOG PO BOX 1347 RIVERTON UT 84065
AMERICAN RED CROSS TRAINING SERVICES     25688 NETWORK PLACE CHICAGO IL 60673
AMERICAN REGISTRY FOR INTERNET NOS LTD   P.O. BOX 719477 PHILADELPHIA PA 19171



Epiq Corporate Restructuring, LLC                                                                     Page 86 OF 2145
                                                Yellow Corporation
                         Case 23-11069-CTG       DocService
                                                    655 Filed
                                                            List
                                                                 09/25/23         Page 95 of 2156

Claim Name                               Address Information
AMERICAN REGISTRY FOR INTERNET NOS LTD   PO BOX 759477 BALTIMORE MD 21275
AMERICAN RESEARCH KHEMICALS              PO BOX 667372 POMPANO BEACH FL 33069
AMERICAN RESIDENTIAL SERVICES            DBA COLUMBUS WORTHINGTON AIR 6363 FIESTA DR COLUMBUS OH 43235
AMERICAN ROADRUNNER INC                  OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
AMERICAN ROADWAYS CORP                   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
AMERICAN ROADWAYS TRUCKING               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
AMERICAN ROCK SALT COMPANY LLC           PO BOX 536188 PITTSBURGH PA 15253
AMERICAN SECURITY PRODUCTS               11925 PACIFIC AVE FONTANA CA 92337
AMERICAN SEED                            ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
AMERICAN SHIELD TRANSPORTATION INC.      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMERICAN SOLDIER TRANSPORT LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AMERICAN SPEAR INC                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
AMERICAN SPECIALTIES INC                 ATTN: IRENE BORRANI 441 SAW MILL RIVER RD YONKERS NY 10701
AMERICAN STANDARD                        2105 ELM HILL PIKE 105 NASHVILLE TN 37210
AMERICAN STANDARD                        2105 ELM HILL PIKE STE 10 NASHVILLE TN 37210
AMERICAN STANDARD                        2105 ELM HILL PIKE STE 105 NASHVILLE TN 37210
AMERICAN STANDARD                        2105 ELM HILL PKE STE 105 NASHVILLE TN 37210
AMERICAN STANDARD                        ATTN: AMERICAN STANDARD 2105 ELM HILL PIKE STE 105 NASHVILLE TN 37210
AMERICAN STANDARD                        ATTN: AS AMERICA INC 2105 ELM HILL PIKE STE 105 NASHVILLE TN 37210
AMERICAN STANDARD                        ATTN: MELISIA ROBINS 2105 ELM HILL PIKE STE 105 NASHVILLE TN 37210
AMERICAN STANDARD                        ATTN: MELISIA ROBINS CLAIMS 2105 ELM HILL PIKE STE 105 NASHVILLE TN 37210
AMERICAN STANDARD MFG INC                PO BOX 164 CENTRAL BRIDGE NY 12035
AMERICAN STAR LLC (COLUMBUS OH)          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMERICAN STAR TRANSPORT LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMERICAN STEEL CARPORTS INC              PO BOX 38 JOSHUA TX 76058
AMERICAN TIGERS LOGISTICS LLC            OR BOBTAIL CAPITAL LLC, PO BOX 7410633 CHICAGO IL 60674
AMERICAN TOWING & RECOVERY, INC.         2520 E MAIN ST BARSTOW CA 92311
AMERICAN TOWING SERV                     9180 NW 119TH ST STE 10 HIALEAH GARDENS FL 33018
AMERICAN TRAILER & STORAGE, INC.         3900 EAST 39TH ST KANSAS CITY MO 64129
AMERICAN TRAILER & STORAGE, INC.         6900 EAST 39TH ST KANSAS CITY MO 64129
AMERICAN TRANS RESEARCH INSTITUTE INC    P O BOX 101360 ARLINGTON VA 22210
AMERICAN TRANSLAND, INC                  OR OPENROAD FINANCIAL SERVICES INC PO BOX 484 DALLAS OR 97338
AMERICAN TRANSPARENTS PLASTIC            180 NATIONAL RD EDISON NJ 08817
AMERICAN TRANSPORT EXPRESS LLC           OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
AMERICAN TRANSPORT GROUP                 1900 W KINZIE ST CHICAGO IL 60622
AMERICAN TRANSPORT GROUP LLC             1900 W KENZIE ST CHICAGO IL 60622
AMERICAN TRANSPORT LLC                   OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
AMERICAN TRANSPORT SOLUTIONS, INC.       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AMERICAN TRANSPORT, INC.                 PO BOX 644831 DEPT ATI PITTSBURGH PA 15264-4831
AMERICAN TRANSPORTATION LLC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
AMERICAN TRANSPORTATION LLC              OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
AMERICAN TRANSPORTATION MANAGEMENT       6 RIVER ROAD MCKEES ROCKS PA 15136
AMERICAN TRANSPORTATION NETWORK LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERICAN TRANZ                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMERICAN TRUCK & TRAILER, LLC            5150 HIGHWAY 2 EAST MINOT ND 58701
AMERICAN TRUCK N TRAILER REPAIR          PO BOX 335272 NORTH LAS VEGAS NV 89033
AMERICAN TRUCK N TRAILER REPAIR          1890 SHADOW MOUNTAIN PLACE LAS VEGAS NV 89108
AMERICAN TRUCK REPAIR                    6401 HWY 40 WEST COLUMBIA MO 65202
AMERICAN TRUCKERS LLC                    OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                                      Page 87 OF 2145
                                               Yellow Corporation
                         Case 23-11069-CTG      DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 96 of 2156

Claim Name                              Address Information
AMERICAN TRUCKING ASSOCIATION          950 N GLEBE ROAD, SUITE 210 ARLINGTON VA 22203
AMERICAN TRUCKING ASSOCIATION          P.O. BOX 101360 ARLINGTON VA 22210
AMERICAN TRUCKING LADD LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERICAN TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
AMERICAN TRUCKLINE                     2254 SPRINGFIELD RD SUNNYSIDE MB R5R0E8 CANADA
AMERICAN TURBO LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AMERICAN UNITED CARRIER, INC.          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AMERICAN UNITED TRANS. INC             C/O ABRAMS FENSTERMAN, LLP ATTN: RORY MULLHOLLAND, ESQ. 1 METROTECH CENTER
                                       BROOKLYN NY 11201
AMERICAN UNITED TRANS. INC             45-06 80 STREET QUEENS NY 11373
AMERICAN VAN                           ATTN: SUSAN LEPAGE KUEHNE NAGEL INC PO BOX 9490 FALL RIVER MA 02720
AMERICAN VAN EQUIPMENT INCORPORATED    149 LEHIGH AVE LAKEWOOD NJ 08701
AMERICAN VM TRANSPORT INC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMERICAN WAREHOUSE                     PO BOX 59 HUDSON NH 03051
AMERICAN WATER                         ATTN: STACY BEDSOLE 9801 RED CLOUD RD FORT RUCKER AL 36362
AMERICAN WELDING & GAS, INC.           3900 WEST NORTH AVENUE STONE PARK IL 60165
AMERICAN WELDING & GAS, INC.           PO BOX 779009 CHICAGO IL 60677
AMERICAN WELDING & GAS, INC.           PO BOX 30118 BILLINGS MT 59107
AMERICAN WEST COAST SECURITY, INC.     PO BOX 159 CHINO CA 91708
AMERICAN WHEELCHAIRCENTER              605 SYCAMORE AVE. VISTA CA 92083
AMERICAN Y INC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AMERICAN/WISCONSIN FIRE                PROTECTION CONSULTANTS, 2734-A HWY 150 NEENAH WI 54956
AMERICANA FARMS INC                    PO BOX 175 WHITEFACE TX 79379
AMERICANS FOR MODERN TRANSPORTATION INC 405 N KING STREET WILMINGTON DE 19801
AMERICANSTAR TRANSPORT LLC             PO BOX 211328 BEDFORD TX 76095
AMERICARGO TRANS LLC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
AMERICAS BEST COURIER INC              OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
AMERICAS BEST DIESEL REPAIR INC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AMERICAS BEST STRIPING COMPANY         6550 W 74TH PL ARVADA CO 80003
AMERICAS COMMERCIAL TRAN RESEARCH CO   4440 MIDDLE ROAD COLUMBUS IN 47203
LLC
AMERICO LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMERIDOR MANUFACTURING INC             ATTN: ROB ROY 1010 N NORTH CASCADE AVE MONTROSE CO 81401
AMERIFENCE CORPORATION                 12330 CARY CIRCLE LAVISTA NE 68128
AMERIGAS                               460 N GULPH RD. KING OF PRUSSIA PA 19406
AMERIGAS PROPANE                       PO BOX 965 VALLEY FORGE PA 19482
AMERIGAS PROPANE                       DEPARTMENT CH-10525 PALATINE IL 60055
AMERIGAS PROPANE                       DEPARTMENT CH 10525 PALATINE IL 60055-0525
AMERIGOOD                              OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 316 FORT WORTH TX 76116
AMERILAND TRANSPORT INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AMERILINE TRUCKING INCORPORATED        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AMERILUX TRANSPORTATION LLC            1212 ENTERPRISE DR DE PERE WI 54115
AMERIMAX LOGISTICS LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
AMERIPRO EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERISOM CARGO LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
AMERISOM EXPRESS INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMERISOM LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMERISPEED LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AMERITRANS CORP                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                   Page 88 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23       Page 97 of 2156

Claim Name                            Address Information
AMERITRANS LLC                        460 NORTH PIONEER DRIVE ADDISON IL 60101
AMERITRANSPORT SERVICES LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMERIXPRESS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMERLOOP CO                           OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
AMERO LINE LLC                        OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
AMERO LOGISTICS INC                   OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
AMERO TRANSPORT LTD                   56 INTRIGUE TRAIL BRAMPTON ON L6X 0X8 CANADA
AMERO, PHIL                           ADDRESS ON FILE
AMES RESEARCH LABORATORIES INC        1891 16TH ST SE SALEM OR 97302
AMES, DANIEL                          ADDRESS ON FILE
AMES, PATRICK G                       ADDRESS ON FILE
AMEVA TRANSPORT INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
AMEX TRANSPORT                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AMF LOGISTICS LLC                     PO BOX 1447 NORCROSS GA 30091
AMF TRANSPORTATION                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
AMG EMPLOYER SOLUTIONS                ASCENSION WI EMP SOLUTIONS PO BOX 860010 MINNEAPOLIS MN 55486
AMG EXPRESS LLC                       OR SUNBELT FINANCE PO BOX 1000 DEPT 144 MEMPHIS TN 38148
AMG EXPRESS TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AMG FREIGHT LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AMG LOGISTICS INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AMG LOGISTICS INC (GLENDALE CA)       OR STERLING COMMERCIAL CREDIT LLC PO BOX 929 BRIGHTON MI 48116
AMG TRANSPORTATION 2005 INC           OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
AMGO HYDRAULICS                       ATTN: FERNANDO CENTENO SALES 4310 ADLER DR DALLAS TX 75211
AMH EXPRESS LLC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AMH TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMH TRUCKING LLC (MC1359219)          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMHERST ALARM INC                     2361 WEHRLE DR AMHERST NY 14221
AMHG TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AMHOF TRUCKING, INC.                  651 NORTH SIXTH AVENUE ELDRIDGE IA 52748
AMI LOGISTICS                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMIB ENTERPRISES                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
AMIC CARGO LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
AMICK, JORDAN                         ADDRESS ON FILE
AMICK, JOSEPH                         ADDRESS ON FILE
AMICK, TINA                           ADDRESS ON FILE
AMICO PLUMBING INC                    595 N WESTGATE DR GRAND JUNCTION CO 81505
AMIE TRANSPORT                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AMIGHI, LAILI                         ADDRESS ON FILE
AMIHIL EXPRESS INC                    14140 84 TH DR APT 3H BRIARWOOD NY 11435
AMIIN LOGISTICS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AMIL ENTERPRISES, LLC                 2359 WINDY HILL RD SUITE 300 MARIETTA GA 30067
AMIN EXPRESS & TRANS LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AMIN TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMIN, MOHAMED                         ADDRESS ON FILE
AMIN, TANYA                           ADDRESS ON FILE
AMINA TRANS, LLC.                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AMINAZ TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMINI TRANSPORT                       OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
AMIR KHAN TRUCK LINES LLC             2614 GRIZZLY HOLLOW WAY STOCKTON CA 95207



Epiq Corporate Restructuring, LLC                                                                    Page 89 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG       DocService
                                                   655 Filed
                                                           List
                                                                09/25/23        Page 98 of 2156

Claim Name                              Address Information
AMIR TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AMIRA TRANSPORT SERVICES LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMIRA TRUCKING, LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMISCO SHIPPING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AMISH MARKET PLACE                      200 E. BELLEVUE AVE. READING PA 19605
AMISHA TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AMISTEAD FREIGHT INC.                   214 JAMES ST. UNION MS 39565
AMIT SINGH MADAHAR DBA SHINE TRUCKING   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMJ TOWING & RECOVERY                   304 E QUINCY ST RIVERSIDE IL 60546
AMK TRANS INC                           P O BOX 7967 GREENWOOD IN 46142
AMK TRANSPORT LLC                       OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
AMKC 2020 TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AMM TRUCKING & TRANSPORT LLC            OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
AMMERMAN, KRIS                          ADDRESS ON FILE
AMMEX                                   ATTN: GENE HERBST LB 1137 PO BOX 35143 SEATTLE WA 98124
AMMEX CORP                              1019 W JAMES ST STE 200 KENT WA 98032
AMMEX CORP                              ATTN: JUHARTO MUSTAPHA CLAIMS LB 1137 PO BOX 35143 SEATTLE WA 98124
AMMEX CORP                              LB 1137 PO BOX 35143 SEATTLE WA 98124
AMMEX CORP                              LOCK BOX 1137, PO BOX 35143 SEATTLE WA 98124
AMMEX HWC WAREHOUSE                     ATTN: GENE HERBST 2929 ROOSEVELT HWY COLLEGE PARK GA 30337
AMMONS, CARLVELL                        ADDRESS ON FILE
AMMONS, DOMINIQUE                       ADDRESS ON FILE
AMMONS, RICHARD                         ADDRESS ON FILE
AMMONS, STEVE                           ADDRESS ON FILE
AMN2 TRUCKING LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMNEE TRANSPORTATION INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AMNI TRUCKING LLC                       OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
AMO FREIGHT LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AMO TRUCKING LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMOATEY, FRANKLIN                       ADDRESS ON FILE
AMODIO, PAUL J                          ADDRESS ON FILE
AMOR, FERNANDO                          ADDRESS ON FILE
AMOR, IVAN                              ADDRESS ON FILE
AMOR, KODY                              ADDRESS ON FILE
AMOR, MATTHEW                           ADDRESS ON FILE
AMOS KOSGEI                             ADDRESS ON FILE
AMOS, BILLY                             ADDRESS ON FILE
AMOS, DAVID                             ADDRESS ON FILE
AMOS, GEORGE                            ADDRESS ON FILE
AMOS, RENAULD                           ADDRESS ON FILE
AMOS, WALTER                            ADDRESS ON FILE
AMOS, WILLIAM                           ADDRESS ON FILE
AMOS, YULONDA                           ADDRESS ON FILE
AMOTH ELECTRIC INC                      19413 W HWY 12 GENTRY AR 72734
AMOUD TRUCKING LLC                      808 BERRY ST APT 321 ST PAUL MN 55114
AMP ELECTRIC.                           10101 HWY 87 LUBBOCK TX 79423
AMP TRANSPORTS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AMPARO, CHRISTIAN                       ADDRESS ON FILE
AMPEX BRANDS OF BURLESON, LLC           3304 ESSEX DRIVE (ATTN: MICHAEL SLAGLE) RICHARDSON TX 75082



Epiq Corporate Restructuring, LLC                                                                     Page 90 OF 2145
                                             Yellow Corporation
                         Case 23-11069-CTG    DocService
                                                 655 Filed
                                                         List
                                                              09/25/23      Page 99 of 2156

Claim Name                            Address Information
AMPM TRANSIT INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMPO TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AMPONSAH, ROBERT                      ADDRESS ON FILE
AMPONSAH, SAMUEL                      ADDRESS ON FILE
AMPY, MARCUS                          ADDRESS ON FILE
AMR LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AMRHEIN, DARBY                        ADDRESS ON FILE
AMRIT EXPRESS INC                     OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
AMRITA TRANSPORT LLC                  5 WALLACE RD MOUNT HOLLY NJ 08060
AMRITA TRANSPORT LLC                  OR SMART TRUCKER LLC 33 NEW MONTGOMERY ST STE 1000 SAN FRANCISCO CA 94105
AMRO, MOHAMMAD                        ADDRESS ON FILE
AMS CARRIERS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMS EXPRESS LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AMS LOGISTICS/CVS TRANS/CARGO ETL     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMS LONE CARRIERS INC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AMS SUPPLY                            PO BOX 41291 DAYTON OH 45441
AMS TOWING                            233 WASHINGTON BLVD. OGDEN UT 84404
AMS TRUCKING LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AMSA LOGISTICS LLC                    9216 NE 14TH WAY VANCOUVER WA 98664
AMSBERRY, EDWARD                      ADDRESS ON FILE
AMSINO                                ATTN: NADIA NUNEZ SOURCE ALLIANCE 2023 W CARROLL AVE C 205 CHICAGO IL 60612
AMSPACHER, DEREK                      ADDRESS ON FILE
AMSPACHER, KYLE                       ADDRESS ON FILE
AMSTAN LOGISTICS                      7570 BALES STREET SUITE 310 LIBERTY TOWNSHIP OH 45069
AMSTAN LOGISTICS                      ATTN: AMANDA BAINTER 7570 BALES ST STE 310 LIBERTY TOWNSHIP OH 45069
AMSTAN LOGISTICS                      ATTN: AMANDA BAINTER 7570 BALES ST LIBERTY TOWNSHIP OH 45069
AMSTAN LOGISTICS                      ATTN: CHRIS BLANKENSHIP 7570 BALES ST STE 310 LIBERTY TOWNSHIP OH 45069
AMSTAN LOGISTICS                      ATTN: ELIZABETH CLARK 7570 BALES ST LIBERTY TOWNSHIP OH 45069
AMSTAN LOGISTICS                      ATTN: REGINA TURPIN BASCO C/O 7570 BALES ST LIBERTY TOWNSHIP OH 45069
AMSTAN LOGISTICS                      ATTN: SARAH MURPHY 7570 BALES ST STE 310 LIBERTY TOWNSHIP OH 45069
AMSTEAM CLEANING AND RESTORATION      13051 - 156 STREET EDMONTON AB T5V 0A2 CANADA
AMSTERDAM FREIGHT INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AMSTONE, CHARLES                      ADDRESS ON FILE
AMT EXPRESS LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
AMT TRANSPORT                         OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
AMT TRANSPORT INC (MC1237557)         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMT TRANSPORT LLC (MC1163052)         OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPLIS MN 55480
AMT TRANSPORTATION INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMTIPORDA, CHARMAINE                  ADDRESS ON FILE
AMTRAK                                ATTN: KEVIN DAVIDSON FREIGHT DEPARTMENT 4001 VANDEVER AVE WILMINGTON DE 19802
AMTRAK                                ATTN: ROBERT SCOTT TRAFFIC 4001 VANDEVER AVE BLDG 15 WILMINGTON DE 19802
AMU ESSEL, ISMAIL                     ADDRESS ON FILE
AMW LOGISTICS & TRUCKING LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AMW TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
AMWARE EXPRESS                        19801 HOLLAND ROAD STE A BROOK PARK OH 44142
AMWARE FULFILLMENT                    4505 NEWPOINT PL LAWRENCEVILLE GA 30043
AMWAY TRANSPORT                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AMXPRESS CARRIERS LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
AMY E STONEROCK                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 91 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 100 of 2156

Claim Name                           Address Information
AMY TRANSPORT LLC                    OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
AMYRA EXPRESS INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AMZ EXPRESS INC                      3540 RIDGE RD CLEVELAND OH 44144
AMZ TRANS INC                        8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
AMZ TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AMZOVSKI, LIFET                      ADDRESS ON FILE
AN ENTERPRISE INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AN TRANSPORT LLC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
AN TRANSPORTATION LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AN TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANA M CAMACHO                        ADDRESS ON FILE
ANACLETO, ROBERT                     ADDRESS ON FILE
ANACONDA TRANSPORT                   19604 E 15TH AVE SPOKANE VALLEY WA 99016
ANAHEIM FULLERTON TOWING             1041 N. KEMP ST. ANAHEIM CA 92801
ANAHEIM FULLERTON TOWING             1122 N ANAHEIM BLVD ANAHEIM CA 92801
ANAIA, DANTE                         ADDRESS ON FILE
ANANDPUR EXPRESS                     3353 DEWAR LN TURLOCK CA 95382
ANAS TRANSPORTATION LLC              OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
ANAS.FREIGHT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ANASTASI TRUCKING & PAVING CO.       4430 WALDEN AVENUE LANCASTER NY 14086
ANASTASI, VIC                        ADDRESS ON FILE
ANASTAZIA LLC                        10 IVY LANE WALLINGTON NJ 07057
ANAYA LOPEZ, EDGAR                   ADDRESS ON FILE
ANAYA TRANSPORTATION L.L.C.          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ANAYA TRUCKING                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ANAYA TRUCKING LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ANAYA, PABLO                         ADDRESS ON FILE
ANAYA, RAMIRO                        ADDRESS ON FILE
ANAYA, RUBEN                         ADDRESS ON FILE
ANB TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANBESA LLC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ANCHONDO, ANTONIO                    ADDRESS ON FILE
ANCHONDO, JESUS                      ADDRESS ON FILE
ANCHOR DOORS & SERVICE INC           13380 SYLVESTRE DR RR 1 TECUMSEH ON N8N 2L9 CANADA
ANCHOR EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ANCHOR HOCKING                       ATTN: MYSTIQUE ENGLAND TRAFFIC 2893 W FAIR AVE LANCASTER OH 43130
ANCIENT BRANDS MILLING LLC           C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
ANCOR TRANSPORT LTD                  13926 89A AVE SURREY BC V3V 6K9 CANADA
ANCRA INTERNATIONAL                  25591 NETWORK PLACE CHICAGO IL 60673
ANCRA INTERNATIONAL                  25591 NETWORK PLACE CHICAGO IL 60673-1255
ANCSIN, PETER                        ADDRESS ON FILE
ANCTIL, TROY                         ADDRESS ON FILE
ANCZER, TIMOTHY                      ADDRESS ON FILE
AND SERVICES LLC                     2207 TUCKER LN APT C2 GWYNN OAK MD 21207
ANDACHTER, TYLER                     ADDRESS ON FILE
ANDAR EXPRESS INC                    OR TRUCK STOP FACTORING, PO BOX 561280 DENVER CO 80256
ANDAZOLA, ANTHONY                    ADDRESS ON FILE
ANDAZOLA, GUADALUPE                  ADDRESS ON FILE
ANDAZOLA, JOSEPH                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 92 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 101 of 2156

Claim Name                           Address Information
ANDE TRUCKING INC                    18004 JEANNIE DR LA PUENTE CA 91744
ANDEITS, SHAWN                       ADDRESS ON FILE
ANDERS, CHAD                         ADDRESS ON FILE
ANDERS, MICHAEL                      ADDRESS ON FILE
ANDERS, ROGER                        ADDRESS ON FILE
ANDERSEN CORP                        PO BOX 4097 ORANGE CA 92863
ANDERSEN, ANNE                       ADDRESS ON FILE
ANDERSEN, PAPIN                      ADDRESS ON FILE
ANDERSEN, ROGER                      ADDRESS ON FILE
ANDERSEN, RYAN                       ADDRESS ON FILE
ANDERSEN, SCOTT                      ADDRESS ON FILE
ANDERSON & REYNOLDS, PLC             120 30TH AVE NORTH NASHVILLE TN 37203
ANDERSON BROS INC                    9111 N VANCOUVER AVE PORTLAND OR 97217
ANDERSON BROTHERS CONSTRUCTION LLC   ATTN: ROY ANDERSON W188N10707 MAPLE ROAD GERMANTOWN WI 53022-3840
ANDERSON ELECTRIC, INC               3501 S. 6TH STREET FRONTAGE RD W SPRINGFIELD IL 62703
ANDERSON JR, TONY                    ADDRESS ON FILE
ANDERSON OIL & TIRE CO               808 W MCGREGOR DR MCGREGOR TX 76657
ANDERSON PUMP SERVICE INC            19659 S. 97TH AVE MOKENA IL 60448
ANDERSON SIGNS, INC.                 11077 N VANCOUVER WAY STE. 25 PORTLAND OR 97217
ANDERSON, ADAM                       ADDRESS ON FILE
ANDERSON, AMY                        ADDRESS ON FILE
ANDERSON, ANDREA                     ADDRESS ON FILE
ANDERSON, ANDREW                     ADDRESS ON FILE
ANDERSON, ANGELA                     ADDRESS ON FILE
ANDERSON, ANTHONY                    ADDRESS ON FILE
ANDERSON, ANTHONY                    ADDRESS ON FILE
ANDERSON, ANTWON                     ADDRESS ON FILE
ANDERSON, BENJAMIN                   ADDRESS ON FILE
ANDERSON, BRENT                      ADDRESS ON FILE
ANDERSON, BRIAN                      ADDRESS ON FILE
ANDERSON, CAMERON                    ADDRESS ON FILE
ANDERSON, CAREY                      ADDRESS ON FILE
ANDERSON, CARROLL                    ADDRESS ON FILE
ANDERSON, CHAD                       ADDRESS ON FILE
ANDERSON, CHARLES                    ADDRESS ON FILE
ANDERSON, CHARLES                    ADDRESS ON FILE
ANDERSON, CHARLES                    ADDRESS ON FILE
ANDERSON, CHARLES                    ADDRESS ON FILE
ANDERSON, CHRISTIAN                  ADDRESS ON FILE
ANDERSON, CHRISTOPHER                ADDRESS ON FILE
ANDERSON, CHRISTOPHER                ADDRESS ON FILE
ANDERSON, CHRISTOPHER                ADDRESS ON FILE
ANDERSON, CLARENCE                   ADDRESS ON FILE
ANDERSON, CONSTANCE                  ADDRESS ON FILE
ANDERSON, CORNELIUS                  ADDRESS ON FILE
ANDERSON, CRAIG                      ADDRESS ON FILE
ANDERSON, CRAIG                      ADDRESS ON FILE
ANDERSON, CRAIG                      ADDRESS ON FILE
ANDERSON, CRAIG L                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 93 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 102 of 2156

Claim Name                         Address Information
ANDERSON, DALE                     ADDRESS ON FILE
ANDERSON, DALTON                   ADDRESS ON FILE
ANDERSON, DARBY N                  ADDRESS ON FILE
ANDERSON, DASHOD                   ADDRESS ON FILE
ANDERSON, DAVID                    ADDRESS ON FILE
ANDERSON, DAVID W                  ADDRESS ON FILE
ANDERSON, DEMOND                   ADDRESS ON FILE
ANDERSON, DESIREE                  ADDRESS ON FILE
ANDERSON, DONALD                   ADDRESS ON FILE
ANDERSON, DONNIE                   ADDRESS ON FILE
ANDERSON, DOUGLAS A                ADDRESS ON FILE
ANDERSON, DUANE                    ADDRESS ON FILE
ANDERSON, EDGSTON                  ADDRESS ON FILE
ANDERSON, EDWARD                   ADDRESS ON FILE
ANDERSON, EDWARD                   ADDRESS ON FILE
ANDERSON, ERIC                     ADDRESS ON FILE
ANDERSON, ERIK                     ADDRESS ON FILE
ANDERSON, FRANK                    ADDRESS ON FILE
ANDERSON, GREGGORY                 ADDRESS ON FILE
ANDERSON, IAN                      ADDRESS ON FILE
ANDERSON, JA MORRIS                ADDRESS ON FILE
ANDERSON, JAMES                    ADDRESS ON FILE
ANDERSON, JAMES                    ADDRESS ON FILE
ANDERSON, JAMES E                  ADDRESS ON FILE
ANDERSON, JAMES E                  ADDRESS ON FILE
ANDERSON, JAMIE                    ADDRESS ON FILE
ANDERSON, JEFFREY                  ADDRESS ON FILE
ANDERSON, JEFFREY                  ADDRESS ON FILE
ANDERSON, JEREMY                   ADDRESS ON FILE
ANDERSON, JEROME                   ADDRESS ON FILE
ANDERSON, JESSICA                  ADDRESS ON FILE
ANDERSON, JOE                      ADDRESS ON FILE
ANDERSON, JOHNATHAN                ADDRESS ON FILE
ANDERSON, JOSEPH                   ADDRESS ON FILE
ANDERSON, JUKEITH                  ADDRESS ON FILE
ANDERSON, JULIUS                   ADDRESS ON FILE
ANDERSON, JUSTIN                   ADDRESS ON FILE
ANDERSON, JUSTIN H                 ADDRESS ON FILE
ANDERSON, KACEY                    ADDRESS ON FILE
ANDERSON, KEITH                    ADDRESS ON FILE
ANDERSON, KEITH                    ADDRESS ON FILE
ANDERSON, KENNETH                  ADDRESS ON FILE
ANDERSON, KENNETH                  ADDRESS ON FILE
ANDERSON, KYLE                     ADDRESS ON FILE
ANDERSON, LAMONT                   ADDRESS ON FILE
ANDERSON, LAURIE                   ADDRESS ON FILE
ANDERSON, LEE                      ADDRESS ON FILE
ANDERSON, LEFABION                 ADDRESS ON FILE
ANDERSON, LOUIS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 94 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 103 of 2156

Claim Name                         Address Information
ANDERSON, MARCUS                   ADDRESS ON FILE
ANDERSON, MARJORIE                 ADDRESS ON FILE
ANDERSON, MARK                     ADDRESS ON FILE
ANDERSON, MATHEW                   ADDRESS ON FILE
ANDERSON, MICHAEL                  ADDRESS ON FILE
ANDERSON, MICHAEL                  ADDRESS ON FILE
ANDERSON, MICHAEL                  ADDRESS ON FILE
ANDERSON, MICHAEL                  ADDRESS ON FILE
ANDERSON, MICHAEL                  ADDRESS ON FILE
ANDERSON, MICHAEL J                ADDRESS ON FILE
ANDERSON, MITCH                    ADDRESS ON FILE
ANDERSON, MYNSON                   ADDRESS ON FILE
ANDERSON, MYRON                    ADDRESS ON FILE
ANDERSON, NAPOLEON                 ADDRESS ON FILE
ANDERSON, NATHAN                   ADDRESS ON FILE
ANDERSON, NICOLE                   ADDRESS ON FILE
ANDERSON, PAUL                     ADDRESS ON FILE
ANDERSON, PEYTON                   ADDRESS ON FILE
ANDERSON, PORTIA                   ADDRESS ON FILE
ANDERSON, RANDALL                  ADDRESS ON FILE
ANDERSON, RANDY                    ADDRESS ON FILE
ANDERSON, RANDY                    ADDRESS ON FILE
ANDERSON, REGINALD                 ADDRESS ON FILE
ANDERSON, RHONDA                   ADDRESS ON FILE
ANDERSON, RICHARD                  ADDRESS ON FILE
ANDERSON, ROBERT                   ADDRESS ON FILE
ANDERSON, ROBERT                   ADDRESS ON FILE
ANDERSON, ROBERT                   ADDRESS ON FILE
ANDERSON, ROBERT                   ADDRESS ON FILE
ANDERSON, ROCCO                    ADDRESS ON FILE
ANDERSON, RONALD                   ADDRESS ON FILE
ANDERSON, SCOTT                    ADDRESS ON FILE
ANDERSON, SCOTT                    ADDRESS ON FILE
ANDERSON, SHAMOUND                 ADDRESS ON FILE
ANDERSON, SHANNA                   ADDRESS ON FILE
ANDERSON, SHARDE                   ADDRESS ON FILE
ANDERSON, STANLEY T                ADDRESS ON FILE
ANDERSON, STEPHAN                  ADDRESS ON FILE
ANDERSON, STEVE                    ADDRESS ON FILE
ANDERSON, STEVEN                   ADDRESS ON FILE
ANDERSON, TAYLOR                   ADDRESS ON FILE
ANDERSON, TERRELL                  ADDRESS ON FILE
ANDERSON, THERESA                  ADDRESS ON FILE
ANDERSON, THOMAS                   ADDRESS ON FILE
ANDERSON, THOMAS                   ADDRESS ON FILE
ANDERSON, TIMOTHY                  ADDRESS ON FILE
ANDERSON, TRISTAN                  ADDRESS ON FILE
ANDERSON, TROY                     ADDRESS ON FILE
ANDERSON, TYLAN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 95 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 104 of 2156

Claim Name                           Address Information
ANDERSON, VERONICA                   ADDRESS ON FILE
ANDERSON, WAYNE                      ADDRESS ON FILE
ANDERSON, WILLIAM                    ADDRESS ON FILE
ANDERSON, WILLIAM                    ADDRESS ON FILE
ANDERSON, WILLIAM                    ADDRESS ON FILE
ANDERSON, WILLIE                     ADDRESS ON FILE
ANDERSON, WILLIE                     ADDRESS ON FILE
ANDERSON, WILLIE                     ADDRESS ON FILE
ANDERSON, ZACHARY                    ADDRESS ON FILE
ANDERSON-STEVENS, JACOB              ADDRESS ON FILE
ANDERSONS INC                        PO BOX A POCATELLO ID 83205
ANDERTON, KELLY                      ADDRESS ON FILE
ANDETRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ANDI GROUP TRUCKING INC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ANDINO-VASQUEZ, ELVIS                ADDRESS ON FILE
ANDOBA TRUCKING INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ANDON, ANTHONY                       ADDRESS ON FILE
ANDON, ANTHONY JR                    ADDRESS ON FILE
ANDOY, ANSGAR                        ADDRESS ON FILE
ANDRACH, ROBERT                      ADDRESS ON FILE
ANDRADE ANDRADE, JOSE                ADDRESS ON FILE
ANDRADE JR, MARCO                    ADDRESS ON FILE
ANDRADE VALENCIA, FAVIAN             ADDRESS ON FILE
ANDRADE VAZQUEZ, MARIO               ADDRESS ON FILE
ANDRADE, ALBERT                      ADDRESS ON FILE
ANDRADE, FAUSTO                      ADDRESS ON FILE
ANDRADE, FAUSTO                      ADDRESS ON FILE
ANDRADE, JORGE                       ADDRESS ON FILE
ANDRADE, JOSE                        ADDRESS ON FILE
ANDRADE, JOSHUA                      ADDRESS ON FILE
ANDRADE, MARCUS                      ADDRESS ON FILE
ANDRADE, MICA                        ADDRESS ON FILE
ANDRADE, ORALIA D                    ADDRESS ON FILE
ANDRADE, ORALIA D                    ADDRESS ON FILE
ANDRADE, VICTOR                      ADDRESS ON FILE
ANDRAE, MICHELLE L                   ADDRESS ON FILE
ANDRASCHKO ENTERPRISES LLC           ATTN: SCOTT ANDRASCHKO 825 JAMERSON RD STE 102 MARIETTA GA 30066
ANDRASEK, MARK                       ADDRESS ON FILE
ANDRE AND BROTHER TRUCKING INC       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANDRE F VAZQUEZ                      ADDRESS ON FILE
ANDRE K HUNT                         ADDRESS ON FILE
ANDRE K HUNT                         ADDRESS ON FILE
ANDRE LOGISTICS LLC                  OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
ANDRE O MITCHELL                     ADDRESS ON FILE
ANDRE THURMAN                        ADDRESS ON FILE
ANDRE, FRANCOIS                      ADDRESS ON FILE
ANDRE, WILLIAM                       ADDRESS ON FILE
ANDRE, WILLIAM                       ADDRESS ON FILE
ANDREA C ANDERSON                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 96 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 105 of 2156

Claim Name                           Address Information
ANDREA DEARDEUFF                     ADDRESS ON FILE
ANDREA MARQUEZ                       ADDRESS ON FILE
ANDREA W TRANSPORTATION LLC          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ANDREAS TRANSPORT LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ANDRES G MARTINEZ                    ADDRESS ON FILE
ANDRES, JESUS                        ADDRESS ON FILE
ANDRES, LEAH                         ADDRESS ON FILE
ANDRES, ROSALIO                      ADDRESS ON FILE
ANDREU LOGISTIC LLC                  OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
ANDREW A PARENT                      ADDRESS ON FILE
ANDREW ABARCA                        ADDRESS ON FILE
ANDREW ABARCA                        ADDRESS ON FILE
ANDREW BERTSCH                       ADDRESS ON FILE
ANDREW C HERNANDEZ                   ADDRESS ON FILE
ANDREW C MICHEL                      ADDRESS ON FILE
ANDREW CASTILLO                      ADDRESS ON FILE
ANDREW EXPRESS LLC                   13351 MONROE ST GARDEN GROVE CA 92844
ANDREW J HARPER                      ADDRESS ON FILE
ANDREW J LAMANCUSA                   ADDRESS ON FILE
ANDREW J NOWAKOWSKI                  ADDRESS ON FILE
ANDREW J RADIC                       ADDRESS ON FILE
ANDREW J ZETO                        ADDRESS ON FILE
ANDREW KOZIEL - CI                   ADDRESS ON FILE
ANDREW L WITHERRITE                  ADDRESS ON FILE
ANDREW M KEARNEY                     ADDRESS ON FILE
ANDREW M KEARNEY                     ADDRESS ON FILE
ANDREW MAY-PEROSKY                   ADDRESS ON FILE
ANDREW PRICE                         ADDRESS ON FILE
ANDREW R AMADOR                      ADDRESS ON FILE
ANDREW R ANGOY-JOHNSON               ADDRESS ON FILE
ANDREW W MUDICK                      ADDRESS ON FILE
ANDREW, KENNETH                      ADDRESS ON FILE
ANDREW, TERRY                        ADDRESS ON FILE
ANDREWIN, SEAN                       ADDRESS ON FILE
ANDREWS DELIVERY SERVICE INC         OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
ANDREWS LOGISTICS INC.               ATTN: JONATHAN KLUCIAR 2445 SOUTHLAKE BLVD SOUTHLAKE TX 76092
ANDREWS MOVING & STORAGE INC.        10235 PHILIPP PARKWAY STREETSBORO OH 44241
ANDREWS TRUCKING LLC                 717 COTTONTAIL CT S COLUMBIA SC 29229
ANDREWS, ALEX                        ADDRESS ON FILE
ANDREWS, BRANDON                     ADDRESS ON FILE
ANDREWS, BRUCE                       ADDRESS ON FILE
ANDREWS, BRYAN                       ADDRESS ON FILE
ANDREWS, CHAUNCEY                    ADDRESS ON FILE
ANDREWS, CODIE                       ADDRESS ON FILE
ANDREWS, CODY                        ADDRESS ON FILE
ANDREWS, DARRELL                     ADDRESS ON FILE
ANDREWS, DAVID                       ADDRESS ON FILE
ANDREWS, DAVID                       ADDRESS ON FILE
ANDREWS, DONNA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 97 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 106 of 2156

Claim Name                           Address Information
ANDREWS, DONOVAN                     ADDRESS ON FILE
ANDREWS, EUGENE                      ADDRESS ON FILE
ANDREWS, GEORGE                      ADDRESS ON FILE
ANDREWS, JAMES                       ADDRESS ON FILE
ANDREWS, JAMES                       ADDRESS ON FILE
ANDREWS, JAMES                       ADDRESS ON FILE
ANDREWS, KATHERINE                   ADDRESS ON FILE
ANDREWS, KELLEE                      ADDRESS ON FILE
ANDREWS, KELVIN                      ADDRESS ON FILE
ANDREWS, KEVIN                       ADDRESS ON FILE
ANDREWS, LESLIE                      ADDRESS ON FILE
ANDREWS, MARK                        ADDRESS ON FILE
ANDREWS, MELVIN                      ADDRESS ON FILE
ANDREWS, MICHAEL                     ADDRESS ON FILE
ANDREWS, MICHAEL                     ADDRESS ON FILE
ANDREWS, MISHEL                      ADDRESS ON FILE
ANDREWS, NIGEL                       ADDRESS ON FILE
ANDREWS, REGINALD                    ADDRESS ON FILE
ANDREWS, ROBERT                      ADDRESS ON FILE
ANDREWS, ROBERT                      ADDRESS ON FILE
ANDREWS, RONALD                      ADDRESS ON FILE
ANDREWS, THOMAS                      ADDRESS ON FILE
ANDREWS, WILLIAM                     ADDRESS ON FILE
ANDREWS, WILLIAM                     ADDRESS ON FILE
ANDREWS, WILLIE JANTHONY             ADDRESS ON FILE
ANDREX LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ANDRIAS STEAK SAUCE                  6813 OLD COLLINSVILLE RD. OFALLON IL 62269
ANDRIX INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ANDRIX, CHARLES                      ADDRESS ON FILE
ANDRIX, INC.                         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
ANDROMEDA TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANDRUS, KENDELL                      ADDRESS ON FILE
ANDRY, CLIFTON                       ADDRESS ON FILE
ANDRYC, MICHAEL                      ADDRESS ON FILE
ANDRZEJEWSKI, DAVID                  ADDRESS ON FILE
ANDRZEJEWSKI, JAMES                  ADDRESS ON FILE
ANDRZEJEWSKI, JOHN                   ADDRESS ON FILE
ANDRZEJEWSKI, MICHAEL                ADDRESS ON FILE
ANDRZEJEWSKI, ROBERT                 ADDRESS ON FILE
ANDUCE, MATTHEW                      ADDRESS ON FILE
ANDY COLDIRON                        ADDRESS ON FILE
ANDY HO                              ADDRESS ON FILE
ANDY MOHR TRUCK CENTER, INC.         1601 S HIGH SCHOOL RD INDIANAPOLIS IN 46241
ANDY OXY CO., INC.                   27 HERITAGE DR, PO BOX 6389 ASHEVILLE NC 28816
ANDY OXY CO., INC.                   PO BOX 6389 ASHEVILLE NC 28816
ANDYS MOTOR FREIGHT LINE             1105 W 3RD ST ANACONDA MT 59711
ANDYS TOWING                         675 CRESCENT STREET NE SAINT CLOUD MN 56304
ANEKO FREIGHT INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154



Epiq Corporate Restructuring, LLC                                                                 Page 98 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 107 of 2156

Claim Name                            Address Information
ANELLO, CHRISTOPHER                   ADDRESS ON FILE
ANESTIMA LLC                          8805 SO 1595 E SANDY UT 84093
ANET TRANSPORT LLC                    OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ANFIELD TRANSPORT INC                 OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
ANG CARRIERS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ANG EXPRESS INC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ANG EXPRESS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ANG TRANSPORTATION INC                OR RTS RINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
ANG TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANGEL AND SONS LLC                    OR 18 WHEEL FUNDING LLC DEPARTMENT 6029 PO BOX 4517 HOUSTON TX 77210-4517
ANGEL D RAMOS                         ADDRESS ON FILE
ANGEL EXPRESS LLC                     1069 PECAN RIDGE RD FT MILL SC 29715
ANGEL F COLON                         ADDRESS ON FILE
ANGEL FREIGHT SERVICES LLC            OR AFS, INC., PO BOX 347 MADISON SD 57042
ANGEL FUERTE, MIGUEL                  ADDRESS ON FILE
ANGEL LIFE TRANSPORT                  OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
ANGEL ORTIZ                           ADDRESS ON FILE
ANGEL SPIRIT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ANGEL TRUCKING                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANGEL, MIKAEL                         ADDRESS ON FILE
ANGELA EPOLITO TAX RECEIVER           5400 BUTTERNUT DR EAST SYRACUSE NY 13057
ANGELA R SMITH                        ADDRESS ON FILE
ANGELA WINDLE                         ADDRESS ON FILE
ANGELES CHEMICAL                      ATTN: GENERAL COUNSEL 845 SANDHILL AVE CARSON CA 90746
ANGELES TRANSPORTATION SERVICES INC   OR COMMERCE COMMERCIAL CREDIT INC PO BOX 88714 MILWAUKEE WI 53288-8714
ANGELES, CRISTIAN                     ADDRESS ON FILE
ANGELI LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ANGELI, CHARLES                       ADDRESS ON FILE
ANGELINA GONZALEZ GUZMAN              ADDRESS ON FILE
ANGELINE TRANSPORT LLC                OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
ANGELITO, SHIRLEY                     ADDRESS ON FILE
ANGELITOS TRUCKING LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ANGELL, CHARLES                       ADDRESS ON FILE
ANGELL, COREY                         ADDRESS ON FILE
ANGELL, PETER                         ADDRESS ON FILE
ANGELLOTTI, ATTILIO C                 ADDRESS ON FILE
ANGELO EXPRESS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ANGELO R SACCOMANNO                   ADDRESS ON FILE
ANGELO TRANSPORTATION SYSTEMS AND     WELCH TRANSFER & STORAGE 203 WEST WASHINGTON DR SAN ANGELO TX 76903
ANGELO, ANTONIO JAMES                 ADDRESS ON FILE
ANGELO, ANTONIO JAMES                 ADDRESS ON FILE
ANGELOFF, DAVID                       ADDRESS ON FILE
ANGELOTTI CARTAGE, INC.               3872 HIGHWAY 198 CONNEAUTVILLE PA 16406
ANGELOV, MIROSLAV                     ADDRESS ON FILE
ANGELS EXPRESS TRANSPORT INC          1720 PIERCE ROAD HOFFMAN ESTATES IL 60169
ANGELS LANDSCAPE INC                  15333 GARFIELD AVE PARAMOUNT CA 90723
ANGELS ON THE ROAD INC                OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320
ANGELS TRANSPORTATION LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ANGELS TRUCK SERVICE, LLC             PO BOX 1458 OLIVE BRANCH MS 38654



Epiq Corporate Restructuring, LLC                                                                   Page 99 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 108 of 2156

Claim Name                               Address Information
ANGERER, RONALD                          ADDRESS ON FILE
ANGIE GAVRIAN                            ADDRESS ON FILE
ANGIES TRANSPORTATION LLC                4550 GUSTINE AVE ST LOUIS MO 63116
ANGIGI TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANGLE REPAIR & CALIBRATION SERVICE INC   BOX 157 HARPER WV 25851
ANGLIM, CAMBRA                           ADDRESS ON FILE
ANGLIN, JAMES                            ADDRESS ON FILE
ANGLIN, TIMOTHY                          ADDRESS ON FILE
ANGOLA TRANSPORT LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
ANGONS TRANSPORT LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ANGOY-JOHNSON, ANDREW                    ADDRESS ON FILE
ANGRY BASS TRANSPORT LLC                 3749 RIVER DRIVE EAU CLAIRE WI 54703
ANGUEIRA, RICHARD                        ADDRESS ON FILE
ANGUIANO, ALEXANDER                      ADDRESS ON FILE
ANGUIANO, GERARDO                        ADDRESS ON FILE
ANGUIANO, JOSE                           ADDRESS ON FILE
ANGUIANO, SAMUEL                         ADDRESS ON FILE
ANGUIANO, VICTOR                         ADDRESS ON FILE
ANGULAR FREIGHT                          OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ANGULO TRANSPORTATION SERVICE LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ANGULO, JESSE                            ADDRESS ON FILE
ANGULO, JOSE HERNANDEZ                   ADDRESS ON FILE
ANGULO, LUIS                             ADDRESS ON FILE
ANGULO, PAUL                             ADDRESS ON FILE
ANGULO- AVILA, JOSE                      ADDRESS ON FILE
ANGUS TRANSPORTATION INC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ANGUS TRANSPORTATION INC                 PO BOX 290742 PHELAN CA 92329
ANGUS, GLEN                              ADDRESS ON FILE
ANH TRANS INC                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ANHEUSER-BUSCH                           20499 REEVES AVE. CARSON CA 90810
ANHOR INC                                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ANIAG, MEGAN                             ADDRESS ON FILE
ANIBA, ANGELIA                           ADDRESS ON FILE
ANIC CARGO EXPRESS LLC                   OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ANICET LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANIMAL & PEST CONTROL SPECIALISTS        3800 E 64TH AVE COMMERCE CITY CO 80022
ANIR TRUCKING, LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANIS TRANSPORTATION LLC                  OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
ANISA EXPRESS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ANITA EXPRESS LLC                        OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ANIXTER                                  6180 S PEARL ST STE D LAS VEGAS NV 89120
ANIXTER                                  900 N HILLS BLVD RENO NV 89506
ANIXTER                                  990 N HILLS BLVD RENO NV 89506
ANIXTER                                  5055 E LANDON DR ANAHEIM CA 92807
ANIXTER                                  19545 NE RIVERSIDE PKWY PORTLAND OR 97230
ANIXTER                                  21419 64TH AVE S KENT WA 98032
ANIXTER ALSIP 010                        11614 AUSTIN AVE ALSIP IL 60803
ANIXTER INC                              3410 E 2ND ST GILLETTE WY 82718
ANIXTER INC                              900 NORTH HILLS BLVD RENO NV 89506



Epiq Corporate Restructuring, LLC                                                                     Page 100 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 109 of 2156

Claim Name                           Address Information
ANIXTER INC                          990 NORTH HILLS BLVD RENO NV 89506
ANIXTER INC                          990 NORTH HILLS RD RENO NV 89506
ANIXTER POWER SOLUTIONS 3304         3130 S 1030 W STE 2 SALT LAKE CITY UT 84119
ANIXTER POWER SOLUTIONS 3321         836 N GLENN RD CASPER WY 82601
ANIXTER POWER SOLUTIONS 3322         1209 ENERGY ST GILLETTE WY 82716
ANJ ENTERPRISES LTD                  641 ESTATE PARK TECUMSEH ON N8N 3C7 CANADA
ANJ TRANSPORT LLC                    OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
ANJI LLC                             OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ANKAR TRANSPORT INC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ANKELE, IZAIAH                       ADDRESS ON FILE
ANKENBRANDT, STEVEN                  ADDRESS ON FILE
ANKHAS LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANKOR EXPRESS INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ANKROLAB BREWING CO.                 3555 BAYSHORE DR. NAPLES FL 34112
ANKROM, PAUL                         ADDRESS ON FILE
ANKRUM, BRADLEY                      ADDRESS ON FILE
ANKRUM, ROBERT                       ADDRESS ON FILE
ANN MARIE FULLER                     ADDRESS ON FILE
ANN TUDOR                            ADDRESS ON FILE
ANNA GOLA LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANNAGH TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANNANG, JAMES                        ADDRESS ON FILE
ANNIE BELL TRANSPORTS LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANNIE SELKE CO                       125 PEEKS RD PITTSFIELD MA 01201
ANNIE SELKE COMPANIES LLC            ATTN: CHRISTINA WARNER 125 PECKS RD PITTSFIELD MA 01201
ANNILEYS TRUCKING LLC                3192 WAX MYRTLE CT KISSIMMEE FL 34744
ANNIS, MICHAEL B                     ADDRESS ON FILE
ANNIS, STEVEN                        ADDRESS ON FILE
ANNISTON ARMY DEPOT                  ADDRESS ON FILE
ANOINTED TRANSPORT LLC               1845 FRANKLIN AVE COLUMBUS OH 43205
ANOKA COUNTY TREASURY OFFICE         2100 3RD AVE STE 300 ANOKA MN 55303
ANOP, JOHN                           ADDRESS ON FILE
ANORGA, NOEL                         ADDRESS ON FILE
ANORO, DORIS                         ADDRESS ON FILE
ANOTHER CHANCE TRUCKING INC          OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
ANP EXPRESS INC                      OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
ANP LOGISTICS CORP                   635 E 28 ST HIALEAH FL 33013
ANP LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ANP TRANSPORT INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ANR LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ANR LOGISTICS TRUCKING LLC           37 LOCKS FARM LANE DOWNINGTOWN PA 19335
ANS LINES LLC                        OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
ANS LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANSCO & ASSOCIATES LLC               PO BOX 860785 ORLANDO FL 32886
ANSEL, JASON                         ADDRESS ON FILE
ANSELL HEALTHCARE                    C/O TRAFFIC SYSTEMS INC 151 W JOHNSTOWN ROAD GAHANNA OH 43230
ANSELL HEALTHCARE                    TRAFFIC SYSTEMS INC, 151 W JOHNSTOWN RD GAHANNA OH 43230
ANSELL HEALTHCARE LLC                TRAFFIC SYSTEMS, 151 W JOHNSTOWN RD GAHANNA OH 43230
ANSELL INC                           TRAFFIC SYSTEMS INC, 151 W JOHNSTOWN RD GAHANNA OH 43230



Epiq Corporate Restructuring, LLC                                                                 Page 101 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 110 of 2156

Claim Name                             Address Information
ANSELL, JAMES                          ADDRESS ON FILE
ANSELL, ROBERT                         ADDRESS ON FILE
ANSELME, KELLY                         ADDRESS ON FILE
ANSELMO, DANIEL                        ADDRESS ON FILE
ANSERT, DENNIS                         ADDRESS ON FILE
ANSH FREIGHT INC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ANSLEY, BRYAN                          ADDRESS ON FILE
ANSMAN, JON                            ADDRESS ON FILE
ANSON, DONALD                          ADDRESS ON FILE
ANSONIA CREDIT DATA                    EQUIFAX INFORMATION SERVICES PO BOX 71221 CHARLOTTE NC 28272
ANSONIA CREDIT DATA                    EQUIFAX INFORMATION SVCS LLC PO BOX 71221 CHARLOTTE NC 28272
ANSPACH, DANIEL                        ADDRESS ON FILE
ANSPACH, JAKE                          ADDRESS ON FILE
ANSPACH, JORDYN                        ADDRESS ON FILE
ANSPACH, WILLIAM F                     ADDRESS ON FILE
ANSPAUGH, GABRIEL                      ADDRESS ON FILE
ANT FREIGHT AND LOGISTICS INC          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ANT TRUCKING LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ANTALAN TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANTCZAK, CORY                          ADDRESS ON FILE
ANTE TRUCKING LLC                      OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
ANTEK PORDUCT CORPORATION              ATTN: JOHN NGO 29 EWING AVE N ARLINGTON NJ 07031
ANTELO, MABEL                          ADDRESS ON FILE
ANTENO TRUCKING LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ANTHOLZ, SHERRIE                       ADDRESS ON FILE
ANTHONY A GATES                        ADDRESS ON FILE
ANTHONY A GATES                        ADDRESS ON FILE
ANTHONY ARANDA                         ADDRESS ON FILE
ANTHONY BARRERA                        ADDRESS ON FILE
ANTHONY C VARGAS                       ADDRESS ON FILE
ANTHONY COPPIN                         ADDRESS ON FILE
ANTHONY D HALL                         ADDRESS ON FILE
ANTHONY D PLEASANT                     ADDRESS ON FILE
ANTHONY E BAKER                        ADDRESS ON FILE
ANTHONY E BRADLEY                      ADDRESS ON FILE
ANTHONY E LOZON                        ADDRESS ON FILE
ANTHONY G BELL                         ADDRESS ON FILE
ANTHONY G CELII                        ADDRESS ON FILE
ANTHONY G CRAWFORD                     ADDRESS ON FILE
ANTHONY INTERNATIONAL                  12391 MONTERO AVE SYLMAR CA 91342
ANTHONY INTERNATIONAL                  ATTN: TANIA PEREZ 12391 MONTERO AVE SYLMAR CA 91342
ANTHONY J CARMONA                      ADDRESS ON FILE
ANTHONY J PIGNATO                      ADDRESS ON FILE
ANTHONY JOHNSTON LAWNCARE              134 LAKE FOREST COVE SALTILLO MS 38866
ANTHONY K HIGGINS                      ADDRESS ON FILE
ANTHONY L TAYLOR                       ADDRESS ON FILE
ANTHONY M BONFIELD                     ADDRESS ON FILE
ANTHONY PEREZ                          ADDRESS ON FILE
ANTHONY POWELL TRUCKING COMPANY, LLC   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429



Epiq Corporate Restructuring, LLC                                                                  Page 102 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 111 of 2156

Claim Name                               Address Information
ANTHONY PUCKERIN                         ADDRESS ON FILE
ANTHONY R JACKSON                        ADDRESS ON FILE
ANTHONY R KING                           ADDRESS ON FILE
ANTHONY SOLOMON                          ADDRESS ON FILE
ANTHONY STAMPS                           ADDRESS ON FILE
ANTHONY THOMAS LOGISTICS LLC             551 LOGAN PL APT 28 NEWPORT NEWS VA 23601
ANTHONY TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ANTHONY TROMLEY                          ADDRESS ON FILE
ANTHONY WINGO                            ADDRESS ON FILE
ANTHONY, AIREANIA                        ADDRESS ON FILE
ANTHONY, ALBERT                          ADDRESS ON FILE
ANTHONY, ARICKA                          ADDRESS ON FILE
ANTHONY, CHAD                            ADDRESS ON FILE
ANTHONY, DETARRIUS                       ADDRESS ON FILE
ANTHONY, GERALD                          ADDRESS ON FILE
ANTHONY, HERBERT                         ADDRESS ON FILE
ANTHONY, JOAN                            ADDRESS ON FILE
ANTHONY, KANDACE                         ADDRESS ON FILE
ANTHONY, PARISH                          ADDRESS ON FILE
ANTHONY, ROBERT                          ADDRESS ON FILE
ANTHONY, STEVEN                          ADDRESS ON FILE
ANTHONYS EXPRESS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANTHONYS TRUCK REPAIR                    14460 MIDLAND TRAIL WEST CRAWLEY WV 24931
ANTHRACITE PAVEMENT MARKINGS             34 CHARISMA DR CAMP HILL PA 17011
ANTILL, DONALD                           ADDRESS ON FILE
ANTIQUE RUSTIC INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ANTLER TRANSPORT, LLC                    PO BOX 339 TAYLOR MI 48180
ANTLER TRANSPORT, LLC (MT PLEASANT SC)   PO BOX 1999 VALPARAISO IN 46384-1999
ANTOBELLI BELTRAN                        ADDRESS ON FILE
ANTOINE, REBECCA                         ADDRESS ON FILE
ANTOINE, SHMAR                           ADDRESS ON FILE
ANTOINE, TRISHELLE                       ADDRESS ON FILE
ANTOLINE, KIMBERLY                       ADDRESS ON FILE
ANTON, STEVEN                            ADDRESS ON FILE
ANTONACCI, JOSEPH                        ADDRESS ON FILE
ANTONICELLI CONCRETE & MASONRY, INC.     45 CAMBRIA STREET LANCASTER NY 14086
ANTONIETTI, RICHARD                      ADDRESS ON FILE
ANTONINI RADIATOR INC                    325 E RAILROAD ST POTTSVILLE PA 17901
ANTONIO D WILSON                         ADDRESS ON FILE
ANTONIO DANIELS                          ADDRESS ON FILE
ANTONIO EXPRESS SERVICE LLC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ANTONIO G HOLLINS                        ADDRESS ON FILE
ANTONIO HERNANDEZ JR                     ADDRESS ON FILE
ANTONIO J GARCIA                         ADDRESS ON FILE
ANTONIO JESUS PANTOJA                    ADDRESS ON FILE
ANTONIO L FULLER                         ADDRESS ON FILE
ANTONIO M AYALA                          ADDRESS ON FILE
ANTONIO WILLIAMSON TRUCKING CO. LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANTONIO, MARTE VARGAS RAMON              ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 103 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 112 of 2156

Claim Name                           Address Information
ANTONIOS TRUCKING                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ANTONY, LUKE                         ADDRESS ON FILE
ANTS EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ANTTAL TRANSPORTATION LTD            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ANTUNEZ, FRANCISCO                   ADDRESS ON FILE
ANTWON D ANDERSON                    ADDRESS ON FILE
ANUDIKE, VANESSA                     ADDRESS ON FILE
ANUMENE, REUBEN                      ADDRESS ON FILE
ANUMENE, REUBEN                      ADDRESS ON FILE
ANVOOTS, JOSEPH                      ADDRESS ON FILE
ANWARI PRECISION LOGISTICS LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ANYBILL FINANCIAL SERVICES INC       P.O. BOX 34781 BETHESDA MD 20827
ANYTHING MOVES LLC                   OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
ANYTIME FIRE SERVICE                 1422 ROSEMONT ST MESQUITE TX 75149
ANYTIME MOBILE TRUCK SERVICE LLC     1920 25TH ST S MOORHEAD MN 56560
ANYTIME MOVING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ANYTIME ROAD SERVICE & REPAIR INC    PO BOX 1474 BEAVER UT 84713
ANYTIME ROAD SERVICE & REPAIR INC    PO BOX 1474, 1265 NORTH 300 WEST BEAVER UT 84713
ANYTIME TRANS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ANYTIME TRANSPORT INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ANYTIME TRUCK & TIRE SERV            815 9TH AVE ALTOONA PA 16602
ANYTIME TRUCK & TRAILER REPAIR       232 14TH NE STREET MILAN IL 61264
ANYTYME MOVERS LLC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ANYWHERE TRANSPORTATION INC          OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
ANZAL LLC                            OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
ANZALDUA, MICHAEL                    ADDRESS ON FILE
ANZEN LOGISTICS LLC                  OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
ANZO, LUIS                           ADDRESS ON FILE
AO TRANSPORT LOGISTICS LLC           OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674
AO TRANSPORTATION LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AOC HOLDING COMPANY, INC.            PO BOX 1367 LAREDO TX 78042
AOG TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AOL TRANSPORT, INC.                  OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
AORA CARGO LLC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
AOS APCOM INC                        1010 VOLUNTEER DR COOKEVILLE TN 38501
AOT TRANSPORT                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AP ALL SERVICES MOVING COMPANY       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AP BRYANT TRANSPORT LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AP EXPRESS TRANSPORT LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AP HAULS LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AP PRODUCTS                          ATTN: ANNETTE SANDY 200 JAY ST COLDWATER MI 49036
AP SHIPMENTS LLC                     OR ITHRIVE FUNDING DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
AP TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AP TRUCKING CORP                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
APA TRUCKING LLC                     SCHRIEBER INDUSTRIAL PARK, BLDG 240 NEW KENSINGTON PA 15068
APACE TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APACHE CAMPING CENTER                19520 VIKING AVE NW POULSBO WA 98370
APACHE SERVICE INC                   333 N AZUSA AVE AZUSA CA 91702



Epiq Corporate Restructuring, LLC                                                                 Page 104 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 113 of 2156

Claim Name                               Address Information
APARICIO, ISRAEL                         ADDRESS ON FILE
APC                                      3601 N WARE RD MCALLEN TX 78504
APC EXPRESS LLC                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
APC TRUCKING INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
APC TRUCKING LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APD INC                                  35 HARRISON AVE MORRISVILE PA 19067
APD TRANSPORT SERVICES CORP              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
APDI LIQUIDATION, LLC                    ATTN: GENERAL COUNSEL 300 EAST PIONEER PARKWAY ARLINGTON TX 76010
APEG TRANSPORTATION LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
APEL, JEFFREY                            ADDRESS ON FILE
APEX BUSINESS FORMS INC                  PO BOX 1306 MEDFORD OR 97501
APEX COMPANIES                           PO BOX 69142 BALTIMORE MD 21264
APEX FLEET SERVICES                      381 W 5900 S MURRAY UT 84107
APEX FORKLIFT AND TRANSPORT REPAIR INC   10760 RAMONA WAY DELTA BC V4C 6S6 CANADA
APEX FORKLIFT AND TRANSPORT REPAIR INC   1690 NANAIMO ST, PO BOX 56023 VANCOUVER BC V5L 4V0 CANADA
APEX FREIGHT SOLUTIONS LLC               OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
APEX GLOBAL TRANSPORT LLC                OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
APEX HAULING LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APEX LOGISTICS                           29817 SAN MARTINEZ RD CASTAIC CA 91384-2490
APEX SEWER & DRAIN CLEANING SRVC, INC.   872 ALBANY SHAKER RD LATHAM NY 12110
APEX SYNERGY LOGISTICS LLC               OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                         35246-2659
APEX TOOL GROUP                          ATTN: MARCUS SLADE 1000 LUFKIN RD APEX NC 27539
APEX TRAILER SERVICE LLC                 2809 SABLE MILL LANE JEFFERSONVILLE IN 47130
APEX TRANSIT                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
APEX TRUCKING AND LOGISTICS LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APEX TRUCKING LOGISTICS                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APEX/ETRADE (0158/0385)                  C/O BROADRIDGE SECS PROCESSING YASMINE CASSEUS, 2 GATEWAY CTR 283-299 MARKET
                                         ST - 16TH FL NEWARK NJ 07102
APF LOGISTICS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
APF TRUCKING CO., INC.                   219 LINWOOD AVE BOGOTA NJ 07603
APG TRANS                                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
API LOGISTICS                            AUBREY WEAVER, 974 CENTRE RD WILMINGTON DE 19805
APIADO, LESLIE                           ADDRESS ON FILE
APICELLA, MICHAEL                        ADDRESS ON FILE
APIS COMMERCIAL LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APIS LOGISTICS INC                       PO BOX 12341 CHICAGO IL 60612-9998
APISUN EXPRESS LLC                       8233 BRIEF RD MINT HILL NC 28227
APL CARGO INC                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
APL LOGISTICS                            ATTN: PATTI WELSH 974 CENTRE RD WILMINGTON DE 19805
APLUS CARRIER LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
APM TRANS GROUP INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
APM TRANSPORTATION LLC                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
APNA Y XPRESS LTD                        12139 94A AVE SURREY BC V3V 1M2 CANADA
APO PUMPS & COMPRESSORS INC.             PO BOX 634968 CINCINNATI OH 45263
APOCOTOS, KIM                            ADDRESS ON FILE
APODACA, GLEN                            ADDRESS ON FILE
APODACA, HENRY                           ADDRESS ON FILE
APODACA, MILOW                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 105 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 114 of 2156

Claim Name                             Address Information
APODACA, NOAH                          ADDRESS ON FILE
APODACAS TRANSPORT LLC                 OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
APOGEE TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
APOLINAR, JOEY                         ADDRESS ON FILE
APOLITRANS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
APOLLO 11 LLC                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
APOLLO BROTHERS CORP                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
APOLLO EXPRESS                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
APOLLO EXPRESS INC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
APOLLO EXPRESS, INC.                   170 CORPORATE WOODS COURT BRIDGETON MO 63044
APOLLO FREIGHT SYSTEMS INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APOLLO TRANSPORT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
APOLO LOGISTICS CORP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APOLONIA INC.                          OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
APONTE, BOB                            ADDRESS ON FILE
APONTE, JOSE M                         ADDRESS ON FILE
APOSTOLAKIDES, HELEN                   ADDRESS ON FILE
APPA FREIGHT                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
APPALACHIAN POWER                      4600 ROBERT C BYRD D BECKLEY WV 25801
APPALACHIAN POWER COMPANY              4600 ROBERT C BYRD DR BECKLEY WV 25801
APPALACHIAN TRUCK & TRAILER SERVICES   137 RICHARD DR POCA WV 25159
LLC
APPALACHIAN TRUCKING LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
APPARATUS REPAIR & ENGINEERING, INC    17500 YORK ROAD HAGERSTOWN MD 21740
APPARICIO, JOHN                        ADDRESS ON FILE
APPDYNAMICS, INC.                      DEPT 3179, PO BOX 123179 DALLAS TX 75312
APPELL, ROBERT                         ADDRESS ON FILE
APPELMAN, MICHAEL                      ADDRESS ON FILE
APPELMAN, RICK                         ADDRESS ON FILE
APPERSON, BRANDON                      ADDRESS ON FILE
APPERSON, LLOYD                        ADDRESS ON FILE
APPETEY EXPRESS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
APPIAH LOGISTICS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
APPLE OUTDOOR SUPPLY                   PO BOX 1039 HILDEBRAN NC 28637
APPLE TRANS                            OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197
APPLE TREE REALTY HOLDINGS LLC         PO BOX 786077 PHILADELPHIA PA 19178
APPLE VALLEY ALARMS LLC                435 SAW MILL RD NORTH SCITUATE RI 02857
APPLE VALLEY SCALE COMPANY             PO BOX 3434 WINCHESTER VA 22604
APPLEBERRY, EDWIN                      ADDRESS ON FILE
APPLEGATE TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
APPLEGATE, DARRELL                     ADDRESS ON FILE
APPLEGATE, HEIDI                       ADDRESS ON FILE
APPLEGATE, INC.                        485 EAST SOUTH STREET JACKSON MI 49203
APPLEGATE, TONY                        ADDRESS ON FILE
APPLEJACK TRUCKING, INC.               P.O. BOX 110563 AURORA CO 80042
APPLETON, JOSHUA                       ADDRESS ON FILE
APPLETREE REALTY HOLDINGS, LLC         ATTN: TINA COPPINS C/O AMCAP, INC. 333 LUDLOW STREET 8TH FL STAMFORD CT 06902
APPLEWAY CUSTOM STAIRS & RAILING       ATTN: STEPHANIE SNYDER 9523 LINCOLN WAY W SAINT THOMAS PA 17252-9710



Epiq Corporate Restructuring, LLC                                                                   Page 106 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 115 of 2156

Claim Name                          Address Information
APPLEWHITE, LONNIE                  ADDRESS ON FILE
APPLEWHITE, LONNIE                  ADDRESS ON FILE
APPLEWOOD CONTROLS                  13 GROTON HARVARD ROAD AYER MA 01432
APPLEYEZ LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
APPLIANCE PARTS COMPANY             320 S ROCK BLVD STE 150 RENO NV 89502
APPLIANCE WAREHOUSE, INC.           20 SOUTH 6TH STREET REAR PITTSBURGH PA 15203
APPLIED (VIA RT SPECIALTY)          C/O RSUI 945 EAST PACES FERRY ROAD NE SUITE 1800 ATLANTA GA 30326
APPLIED INDUSTRIAL TECHNOLOGIES     100 HIGHWAY 39 E ESTEVAN SK S4A 2A2 CANADA
APPLIED INDUSTRIAL TECK 0422        ONE APPLIED PLAZA CLEVELAND OH 44115
APPLIED PRODUCTS INC                6035 BAKER RD MINNETONKA MN 55345
APPLIED RITE DOORS & DOCKS INC      4200 EAST TENNESSEE STREET TUCSON AZ 85714
APPLIFAST TOOL AND FASTENER SY      251 CREE CRESCENT WINNIPEG MB R3J 3X4 CANADA
APPOLO TRANS LLC                    14 ELI TERRACE EAST WINDSOR NJ 08520
APPOLON, KEVIN                      ADDRESS ON FILE
APPSPACE INC                        DEPT 0563, P.O. BOX 120563 DALLAS TX 75312
APR TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
APR TRANSPORT, INC                  634 GAVIN AVE ROMEOVILLE IL 60446
APR TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APR TRUCKING LLC (MC1016221)        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
APROMAN TRANSPORTATION INC          OR GENERAL BUSINESS CREDIT 110 E. 9THST SUITE C-900 LOS ANGELES CA 90079
APS                                 2200 E HUNTINGTON DR. FLAGSTAFF AZ 86004
APS FIRECO FIRE PROTECTION          P.O. BOX 1939 LOWELL AR 72745
APS FIRECO OKLAHOMA CITY            DEPT. 9 TULSA OK 74182
APS TRANS INC                       6301 ASKIN DRIVE, 6301 ASKIN DRIVE INDIANAPOLIS IN 46239
APS TRANS INC (WIXOM MI)            408 WRIGHT ST WIXOM MI 48393
APS TRANSPORT                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
APS TRANSPORT LLC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                    33631-3792
APS TRANSPORTATION INC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
APSON TRANSPORTATION LLC            PO BOX 3942 DOUGLAS AZ 85608
APT LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APT TRANSIT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
APT TRANSPORT INC                   32 MADISON AVENUE FRANKLIN SQUARE NY 11010
APT TRUCKING                        D/B/A: MVP TRANSPRO LLC 7720 S 2200 W SPANISH FORK UT 84660
APU INC.                            1337 N ABBOTT RD ROMEOVILLE IL 60446
APU INC.                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
APW EXPRESS LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
APYS COLOR & SUPPLY INC             2925 GATEWAY W EL PASO TX 79903
AQI LOGISTIC TRUCKS LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AQIDA TRANS LLC                     38 JEFFERSON ST MANCHESTER NH 03101
AQUA AIR SYSTEMS LTD                ATTN: EARL GAZIN EARL GAZIN 5603 94A ST EDMONTON AB T6E 4Z1 CANADA
AQUA CHILL OF DALLAS                415 N. GUADALUPE ST., 332 SAN MARCOS TX 78666
AQUA CREEK PRODUCTS LLC             9889 GARRY MORE LN MISSOULA MT 59808
AQUA CREEK PRODUCTS LLC             ATTN: CORY CLARK 9889 GARRY MORE LN MISSOULA MT 59808
AQUA EVOLUTION, LLC                 PO BOX 90 FAIRHOPE AL 36533
AQUA ILLINOIS INC                   1000 S SCHUYLER AVE KANKAKEE IL 60901
AQUA MARINE SUPPLY                  2397 REFUGEE ROAD NE MILLERSPORT OH 43046
AQUA OH                             762 WEST LANCASTER AVE. BRYN MAWR PA 19010
AQUA PENNSYLVANIA                   762 WEST LANCASTER AVE. BRYN MAWR PA 19010



Epiq Corporate Restructuring, LLC                                                               Page 107 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 116 of 2156

Claim Name                               Address Information
AQUA SCIENCE                             ATTN: SERINA CASEY 301 NOOSENECK RD WYOMING RI 02898
AQUA SOLUTIONS - AUSTIN                  5512 OAKWOOD CV 192 AUSTIN TX 78731
AQUA SOLUTIONS - AUSTIN                  PO BOX 9691 AUSTIN TX 78766
AQUA-AID INC                             ATTN: SCOTT THOMPSON 5484 S OLD CARRIAGE RD ROCKY MT NC 27803
AQUA-AID INC                             ATTN: STACIE JONES 5484 S OLD CARRIAGE RD ROCKY MT NC 27803
AQUAONE                                  PO BOX 8210 AMARILLO TX 79114
AQUAPACK SALES LTD                       6-1080 CLIVEDEN AVE DELTA BC V3M 6G6 CANADA
AQUAPACK SALES LTD                       1372 CLIVEDEN AVE DELTA BC V3M 6K2 CANADA
AQUARIUS LTD                             3200 S KINGS HIGHWAY BLVD SAINT LOUIS MO 63139
AQUARIUS TRUCKING LIMITED LIABILITY CO   OR OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
AQUARO, THOMAS                           ADDRESS ON FILE
AQUASENSE                                1311 CUESTA ABAJO CT NE STE G ALBUQUERQUE NM 87113
AQUATECH PLUMBING SOLUTIONS LLC          3783 W TISCHER RD DULUTH MN 55803
AQUATHERM                                825 W 600 N LINDON UT 84042
AQUATIC COMPANY                          435 INDUSTRIAL RD SAVANNAH TN 38372
AQUEST TRUCKING INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
AQUILA LOGISTICS INC                     16719 HUMBER STATION RD CALEDON EAST ON L7E 3A5 CANADA
AQUINO SANCHEZ, ENMANUEL                 ADDRESS ON FILE
AQUINO, GREGORY                          ADDRESS ON FILE
AQUINO, SAMANTHA                         ADDRESS ON FILE
AR & J LOGISTICS                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AR CARGO LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AR DEPT OF ENVIRONMENTAL QUALITY         DEQ ATTN: FISCAL OFFICE 5301 NORTHSHORE DR NORTH LITTLE ROCK AR 72118
AR DEPT OF ENVIRONMENTAL QUALITY         NPDES BRANCH WATER DIVISION PO BOX 8913 LITTLE ROCK AR 72219
AR DEPT OF FINANCE AND ADMINISTRATION    P.O. BOX 1272 - ROOM 2380 LITTLE ROCK AR 72203-0896
AR FARMS                                 OR S & D FREIGHT FACTORING 209 LINCOLN AVE SW WADENA MN 56482
AR FAST LANE SOLUTIONS LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AR LOGISTICS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AR LOGISTICS INC (MC883595)              1351 TULIO ST YUBA CITY CA 95993
AR OCCUPATIONAL MEDICINE SERVICES, PA    PO BOX 1065 LOWELL AR 72745
AR TRAILER MANUFACTURING COMPANY INC     3200 S ELM ST PO BOX 4080 LITTLE ROCK AR 72214
AR TRAILER MANUFACTURING COMPANY INC     PO BOX 4080 LITTLE ROCK AR 72214
AR TRANS LLC                             1 ORCHARD ST WETHERSFIELD 06109
AR TRANS LLC                             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AR TRANSIT LLC                           OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
AR TRANSPORT                             OR ALTHON FACTORING SERVICES LLC P.O. BOX 1719 MCALLEN TX 78505
AR TRANSPORT (MC1066434)                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AR TRANSPORTATION SERVICES, LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AR TRUCKING                              917, CEDAR CREEK DR WYLIE TX 75098
AR USA TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ARA CARRIERS LLC                         OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320
ARA SERVICES INC                         2015 WELSH RD APT 48 PHILADELPHIA PA 19115
ARA TRANSPORT LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARABELLE L SHIELDS                       ADDRESS ON FILE
ARADA TRUCKING LLC                       OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
ARAGON, JAMES                            ADDRESS ON FILE
ARAGON, JOELLE                           ADDRESS ON FILE
ARAGON, MICHAEL                          ADDRESS ON FILE
ARAGON, STANLEY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 108 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 117 of 2156

Claim Name                               Address Information
ARAGORN LOGISTICS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ARAGUNDI, MARTIN                         ADDRESS ON FILE
ARAIZA, BRANDON                          ADDRESS ON FILE
ARAIZA, JONATHAN                         ADDRESS ON FILE
ARAKELYAN BROTHERS, INC.                 OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
ARALLE TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ARAM D TRANS INC                         OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ARAMARK                                  C/O AUS NORTH LOCKBOX PO BOX 28050 NEW YORK NY 10087
ARAMARK                                  PO BOX 5127 PITTSBURGH PA 15206
ARAMARK                                  2680 PALUMBO DRIVE LEXINGTON KY 40509
ARAMARK                                  22485 NETWORK PLACE CHICAGO IL 60673
ARAMARK                                  22512 NETWORK PLACE CHICAGO IL 60673
ARAMARK                                  22808 NETWORK PLACE CHICAGO IL 60673
ARAMARK                                  25259 NETWORK PLACE CHICAGO IL 60673
ARAMARK                                  26792 NETWORK PLACE CHICAGO IL 60673
ARAMARK                                  AUCA CHICAGO LOCKBOX 25259 NETWORK PLACE CHICAGO IL 60673
ARAMARK                                  ACCOUNTS RECEIVABLE DEPT, P.O. BOX 1147 BEMIDJI MN 56619
ARAMARK                                  ACCOUNTS RECEIVABLE DEPT., P.O. BOX 3100 BEMIDJI MN 56619
ARAMARK                                  ACCOUNTS RECEIVABLE DEPT., PO BOX 1010 BEMIDJI MN 56619
ARAMARK                                  ACCOUNTS RECEIVABLE DEPT., PO BOX 249 BEMIDJI MN 56619
ARAMARK                                  ACCOUNTS RECEIVABLE DEPT., PO BOX 667 BEMIDJI MN 56619
ARAMARK                                  ACCOUNTS RECEIVABLE DEPT.   PO BOX 3010 BEMIDJI MN 56619
ARAMARK                                  ACCOUNTS RECEIVALE DEPT., P.O. BOX 1594 BEMIDJI MN 56619
ARAMARK                                  PO BOX 650977 DALLAS TX 75265
ARAMARK                                  C/O ARAMARK UNIFORM SERVICES P O BOX 731676 DALLAS TX 75373
ARAMARK                                  C/O AUS CENTRAL LOCKBOX, PO BOX 731676 DALLAS TX 75373
ARAMARK                                  P.O. BOX 7430 PASADENA CA 91109
ARAMARK UNIFORM & CAREER APPAREL GROUP   PO BOX 101179 PASADENA CA 91189
ARAMARK UNIFORM & CAREER APPAREL, INC.   22808 NETWORK PLACE CHICAGO IL 60673
ARAMARK UNIFORM & CAREER APPAREL, LLC    PO BOX 8826 PINE BLUFF AR 71611
ARAMARK UNIFORM SERVICES                 PO BOX 905810 CHARLOTTE NC 28290
ARAMARK UNIFORM SERVICES                 800 VANCE AVE. MEMPHIS TN 38126
ARAMARK UNIFORM SERVICES                 22512 NETWORK PLACE CHICAGO IL 60673
ARAMARK UNIFORM SERVICES                 PO BOX 731676 DALLAS TX 75373
ARAMARK UNIFORM SERVICES                 PO BOX 732186 DALLAS TX 75373
ARAMARK UNIFORM SERVICES                 PO BOX 39015 DENVER CO 80239
ARAMARK UNIFORM SERVICES                 PO BOX 101004 PASADENA CA 91189
ARAMARK UNIFORM SERVICES                 PO BOX 101179 PASADENA CA 91189
ARAMARK UNIFORM SERVICES                 PO BOX 340910 SACRAMENTO CA 95834
ARAMBULA, AARON                          ADDRESS ON FILE
ARAMBULA, LUCIA                          ADDRESS ON FILE
ARAMBULA, STEVEN                         ADDRESS ON FILE
ARAMINTA LOGISTICS & TRANSPORT           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ARAMSCO                                  310 MAIN AVE WAY SE HICKORY NC 28602
ARAMSCO CADC                             480 E NORTH AVE STE 102 FRESNO CA 93706
ARAMSCO CO09                             6400 BROADWAY STE 8 DENVER CO 80221
ARAMSCO WAA2                             18436 CASCADE AVE S TUKWILA WA 98188
ARANA ROMERO, EVELIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 109 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 118 of 2156

Claim Name                             Address Information
ARANA ROMERO, EVELIN M                 ADDRESS ON FILE
ARANA, GUILLERMO                       ADDRESS ON FILE
ARANDA AGUILAR, ARACELI                ADDRESS ON FILE
ARANDA, AMADOR                         ADDRESS ON FILE
ARANDA, ANTHONY                        ADDRESS ON FILE
ARANDA, JOSE                           ADDRESS ON FILE
ARANDELL CORPORATION                   P O BOX 405 MENOMONEE FALLS WI 53207
ARANT, MARQUS                          ADDRESS ON FILE
ARAPAHOE COUNTY SECURITY CENTER, INC   NATIONAL SAFE & VAULT INC 15200 E ILIFF AVE UNIT C AURORA CO 80014
ARAPAHOE FIRE PROTECTION, INC          11901 EAST 14TH AVE AURORA CO 80010
ARAS LOGISTICS INC                     OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ARASH SELECTS                          ATTN: ARASH HAJIANPOUR 3255 SW 11TH AVE FT LAUDERDALE FL 33315
ARAUJO SONS TRUCKING LLC               OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ARAUZ, REYMI                           ADDRESS ON FILE
ARAVAN CARGO INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARAWAK XPRESS TRANSPORT, LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ARAX LOGISTICS INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ARAYA TRANSPORTATION INC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ARB EXPRESS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARB MECHANICAL CORP                    712 ROUTE 25A ROCKY POINT NY 11778
ARB MECHANICAL CORP                    714 ROUTE 25 A ROCKY POINT NY 11778
ARB TRANSPORT LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ARBERIN TRANSPORT INC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ARBOC SPECIALTY VEHICLES               ATTN: JIM LINDHORN 51165 GREENFIELD PKWY MIDDLEBURY IN 46540
ARBOGAST, JASON                        ADDRESS ON FILE
ARBON EQUIPMENT CORPORATION            200 S RITE-HITE WAY MILWAUKEE WI 53204
ARBON EQUIPMENT CORPORATION            25464 NETWORK PL CHICAGO IL 60673
ARBOR FENCE CO INC                     2125 WILLIAMS AVE BETHLEHEM PA 18020
ARC BEST                               ATTN: KATHLEEN HARBAUGHY 84 MEDINA RD MEDINA OH 44256
ARC ELECTRIC INC                       PO BOX 4094 BUTTE MT 59702
ARC GROUP ANILOX ROLL COMPANY          10955 WITHERS COVE PARK DR CHARLOTTE NC 28278
ARC HEALTH AND WELLNESS                PO BOX 2073 SPARKS NV 89432
ARC TRANSPORT LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ARC TRANSPORT SERVICE INC              OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
ARC WORKPLACE SERVICES                 PO BOX 50429 SPARKS NV 89435
ARCA                                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ARCADIA SALVAGE                        ATTN: BRANDON BOWERS 580 PINE RD PELL CITY AL 35125
ARCADIAN                               SIRIUSPOINT BERMUDA INS CO LTD 3 WATERLOO LN HAMILTON HM 08 BERMUDA
ARCADIS U.S., INC.                     62638 COLLECTIONS CENTER DR CHICAGO IL 60693
ARCANI 2 DISPATCH COMPANY LLC          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ARCATA PET SUPPLIES                    C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
ARCBEST                                ATTN: SELENA VILAYTHONG ATTN: CARGO CLAIMS 84 MEDINA RD MEDINA OH 44256
ARCBEST CORP                           84 MEDINA RD MEDINA OH 44256
ARCBEST CORP                           ATTN: KATIE HARBAUGH 84 MEDINA RD MEDINA OH 44256
ARCBEST CORP                           ATTN: SELENA VILAYTHONG 84 MEDINA RD MEDINA OH 44256
ARCBEST ENTERPRISE SOLUTIONS           PO BOX 10048 FORT SMITH AR 72917
ARCBEST II, INC                        PO BOX 10048 FORT SMITH AR 72917
ARCE, ANDREW                           ADDRESS ON FILE
ARCE, MARIO                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 110 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 119 of 2156

Claim Name                               Address Information
ARCE, MARIO                              ADDRESS ON FILE
ARCF SERVICES INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ARCH CAPITAL GROUP                       1114 AVENUE OF THE AMERICAS 14TH FLOOR NEW YORK NY 10036
ARCH REINSURANCE LTD.                    C/O WATERLOO HOUSE 100 PITTS BAY ROAD PEMBROKE HAMILTON HM 08 BERMUDA
ARCH TRANSPORT LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ARCH TRUCKING INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ARCHAMBEAULT, GREG                       ADDRESS ON FILE
ARCHBALD AUTO & TRUCK REPAIR             499 SALEM MOUNTAIN RD & LACKAWANNA VALLEY INDUSTRIAL HIGHWAY ARCHBALD PA 18403
ARCHBOLD MEDICAL CENTER                  PO BOX 890181 CHARLOTTE NC 28289
ARCHER KIA                               ATTN: JOSE AMAYA 11614 SOUTHWEST HWY HOUSTON TX 77031-3612
ARCHER TRANSPORTATION LLC                OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
ARCHER, DALE                             ADDRESS ON FILE
ARCHER, DARIN                            ADDRESS ON FILE
ARCHER, NATHAN                           ADDRESS ON FILE
ARCHER, ROBERT                           ADDRESS ON FILE
ARCHER, SCOTT                            ADDRESS ON FILE
ARCHIBALD & SONS INC                     925 W MAIN ST TREMONTON UT 84337
ARCHIBALD TIRE PROS                      925 W MAIN ST TREMONTON UT 84337
ARCHIBALD, DEAN                          ADDRESS ON FILE
ARCHIBEQUE, RICHARD                      ADDRESS ON FILE
ARCHIE, CHRISTOPHER                      ADDRESS ON FILE
ARCHIE, DANNY                            ADDRESS ON FILE
ARCHIE, DARYL                            ADDRESS ON FILE
ARCHITECTURAL GLASS & METAL CO. INC      6334 E 32ND CT INDIANAPOLIS IN 46226
ARCHITECTURAL OPENINGS & ACCESS          ACCESS, 2050 TURNER NW GRAND RAPIDS MI 49544
ARCHITECTURAL PRODUCTS                   24 RIVER ROAD BOGOTA NJ 07603
ARCHULETA, ROSALEE                       ADDRESS ON FILE
ARCHULETA, STEVEN                        ADDRESS ON FILE
ARCHULETA, TERRENCE G                    ADDRESS ON FILE
ARCIA TRUCKING                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ARCIA TRUCKING                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARCINIEGA, MANUEL                        ADDRESS ON FILE
ARCINIEGA, MARK                          ADDRESS ON FILE
ARCINIEGA, RICHARD                       ADDRESS ON FILE
ARCO LOGISTICS                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ARCO LOGISTICS, INC.                     6835 COCHRAN ROAD SUITE C SOLON OH 44139
ARCO TOW SERVICES                        29303 PACIFIC STREET HAYWARD CA 94544
ARCO TRANSPORTATION LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARCO, JOHN                               ADDRESS ON FILE
ARCOM OIL                                PO BOX 44929 TACOMA WA 98448
ARCOMEX CORP                             OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
ARCOS ROBLES, ALEJANDRO                  ADDRESS ON FILE
ARCS ELECTRIC                            5630 W DIAMOND DR JOPLIN MO 64801
ARCTIC BAY TRANSPORT CANADA INC          OR RIVIERA FINANCE OF IOWA PO BOX 310243 DES MOINES IA 50331-0243
ARCTIC ENGINEERING COMPANY, INC.         8410 MINNESOTA STREET MERRILLVILLE IN 46410
ARCTIC FALLS SPRING WATER INC.           58 SAND PARK RD CEDAR GROVE NJ 07009
ARCTIC FENCE & GENERAL CONTRACTING INC   60 CLIPPER ROAD UNIT 305 NORTH YORK ON M2J 4E2 CANADA
ARCTIC GLACIER U.S.A, INC.               MID-CENTRAL REGION, PO BOX 856530 MINNEAPOLIS MN 55485
ARCTIC GLACIER U.S.A, INC.               PAYMENT PROCESSING CENTER, PO BOX 856530 MINNEAPOLIS MN 55485



Epiq Corporate Restructuring, LLC                                                                     Page 111 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 120 of 2156

Claim Name                           Address Information
ARCTIC GLACIER U.S.A, INC.           909 N COLUMBIA BLVD PORTLAND OR 97217
ARCTIC HORIZON INC                   320 GARDENIA LANE BUFFALO GROVE IL 60089
ARD TRANSPORT INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ARD USA INC                          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ARD, DOMINICK                        ADDRESS ON FILE
ARD, JOHN                            ADDRESS ON FILE
ARDENT WAY LOGISTICS                 OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
ARDIS, JOHN                          ADDRESS ON FILE
ARDOIN, DARLENE                      ADDRESS ON FILE
ARDOIN, KENNETH                      ADDRESS ON FILE
ARDOS LOGISTICS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ARDREY, DAVID                        ADDRESS ON FILE
ARDRY TRADING COMPANY                ATTN: BOBETTA MACDONALD 195 INDUSTRIAL BLVD RINCON GA 31326
ARDS TRUCKING COMPANY INCORPORATED   4190 ALLIGATOR ROAD TIMMONSVILLE SC 29161
ARDWIN FREIGHT                       P.O.BOX 1609 BURBANK CA 91507
ARE CARRIER INC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AREA ENCLOSURES, INC                 3012 WEST AVE BRISTOL PA 19007
AREA TEMPS, INC.                     P O BOX 632380 CINCINNATI OH 45263-2380
AREBALO, ANDY                        ADDRESS ON FILE
ARECHIGA, ALMEIDO                    ADDRESS ON FILE
AREG LLC                             OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
AREK TRACTOR TRAILER REPAIR INC      427 ELIZABETH AVE SOMERSET NJ 08873
AREKSUN TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AREL TRUCKING INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ARELLANO AGUIRRE, JOSE               ADDRESS ON FILE
ARELLANO TRUCKING INCORPORATED       2125 RIDGEWOOD STREET HIGHLAND IN 46322
ARELLANO, ANGEL                      ADDRESS ON FILE
ARELLANO, ELIZABETH                  ADDRESS ON FILE
ARELLANO, GEORGE                     ADDRESS ON FILE
ARELLANO, JONNATHAN                  ADDRESS ON FILE
ARELLANO, JOSELUIS                   ADDRESS ON FILE
ARELLANO, MIGUEL                     ADDRESS ON FILE
ARELLANO, PATRICIA                   ADDRESS ON FILE
ARELLANO, RICARDO                    ADDRESS ON FILE
ARELLANO-VILLEGAS, JOE               ADDRESS ON FILE
ARELLANOS, RAUL                      ADDRESS ON FILE
AREMAR LOGISTICS LLC                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ARENA, ANTHONY                       ADDRESS ON FILE
ARENAS, VICTOR                       ADDRESS ON FILE
ARENDS, JUSTINE                      ADDRESS ON FILE
ARENDS, TIMOTHY                      ADDRESS ON FILE
ARENDSEN, KERRI                      ADDRESS ON FILE
ARENDT, DERYCK                       ADDRESS ON FILE
ARENS, NICOLE                        ADDRESS ON FILE
ARENS, SAMANTHA                      ADDRESS ON FILE
ARENSDORF, CORY                      ADDRESS ON FILE
ARENTZ, RANDY L                      ADDRESS ON FILE
ARENTZEN, ROBERT                     ADDRESS ON FILE
ARENYA LOGISTICS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920



Epiq Corporate Restructuring, LLC                                                                Page 112 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 121 of 2156

Claim Name                            Address Information
AREO TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ARES AUTO TRANSPORT & TRUCKING, LLC   4025 WEST ANTIOCH DR, 0 OXFORD NC 27565
ARET BASMACIOGLU                      ADDRESS ON FILE
AREVALO TRUCKING                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AREVALO, ANGEL                        ADDRESS ON FILE
AREVALO, ELMER                        ADDRESS ON FILE
AREVALO, HAROLD E                     ADDRESS ON FILE
AREVALO, JESUS                        ADDRESS ON FILE
AREVALO, JORGE                        ADDRESS ON FILE
AREVALO, JORGE L                      ADDRESS ON FILE
AREVALO, JOSE                         ADDRESS ON FILE
AREVALO, ROBERT                       ADDRESS ON FILE
AREX LOGISTICS INC                    13228 PRAIRIE POND DR PLAINFIELD IL 60585
ARG SYSTEMS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ARG SYSTEMS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ARG UNITED TRUCKING LLC               OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
ARGA XPRESS                           OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
ARGELIS TRUCKING INC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
ARGEROPLOS, WILLIAM                   ADDRESS ON FILE
ARGETSINGER, ROBERT                   ADDRESS ON FILE
ARGETSINGER, ROBERT A                 ADDRESS ON FILE
ARGILAGOS, JOAHNYS                    ADDRESS ON FILE
ARGILAGOS, JOAHNYS                    ADDRESS ON FILE
ARGO FLEET INC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
ARGO FURNITURE                        17538 ROWLAND ST CITY OF INDUSTRY CA 91748
ARGO GROUP                            501 7TH AVE 7TH FLOOR NEW YORK NY 10018
ARGO K & L LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ARGO LOGISTICS GROUP LLC              ATTN: ANDREAS MARDEN PO BOX 867 CAPITOLA CA 95010
ARGO TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ARGONAUT INDUSTRIAL SERVICES, LLC     902 ELIZABETH ST KELSO WA 98626
ARGUDO, DANNY                         ADDRESS ON FILE
ARGUETA, BRENDA                       ADDRESS ON FILE
ARGUETA, ERIC                         ADDRESS ON FILE
ARGUETA, MIGUEL                       ADDRESS ON FILE
ARGUETA, NELSON                       ADDRESS ON FILE
ARGUETA-GARAY, FREDY                  ADDRESS ON FILE
ARGULEWICZ, ALEXANDER                 ADDRESS ON FILE
ARGUS GENERAL MAINTENANCE             5072 CRESWELL DRIVE LELAND NC 28451
ARHAM LOGISTICS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ARHAM LOGISTICS LLC (MC1409854)       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ARI FLEET                             4001 LEADONHALL RD. MT. LAUREL NJ 08054
ARI FLEET LEASING                     PO BOX 5039 MT LAUREL NJ 08054
ARIA (SAC) LTD                        BUTTERFIELD BANK BUILDING 6TH FL 65 FRONT STREET HAMILTON BERMUDA 12 BERMUDA
ARIA EXPRESS                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARIA FREIGHT INC                      OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
ARIA TRANSPORT LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ARIA TRANSPORTATION CO LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ARIA TRUCKING LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ARIA, ARMAN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 113 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 122 of 2156

Claim Name                            Address Information
ARIAM TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ARIAN EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ARIANNA EXPRESS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ARIANNAS TRUCKING INC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ARIAS ENTERPRISE LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ARIAS, ADRIAN                         ADDRESS ON FILE
ARIAS, ANDRES                         ADDRESS ON FILE
ARIAS, DANIEL                         ADDRESS ON FILE
ARIAS, ERNEST                         ADDRESS ON FILE
ARIAS, FRANCISCO                      ADDRESS ON FILE
ARIAS, NICOLE                         ADDRESS ON FILE
ARIAS, NICOLE                         ADDRESS ON FILE
ARIAS, RICHARD                        ADDRESS ON FILE
ARIBA INC                             271 NORTH SHORE DR PITTSBURGH PA 15212
ARIBET LLC                            4443 AZALEA LN NORTH OLMSTED OH 44070
ARICO, NICHOLAS                       ADDRESS ON FILE
ARIEL LOGISTICS, LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ARIEL TRANSPORTATION CORP             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ARIEL TRANSPORTATION CORP             OR TAB BANK, PO BOX 150830 OGDEN UT 84415
ARIELLE TRUCKING, LLC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ARIENS                                ATTN: ALIX AREVALO REDWOOD MANAGED SVCS 29857 NETWORK PLACE CHICAGO IL
                                      60673-1298
ARIENS CO                             ATTN: ALIX AREVALO REDWOOD MANAGED SVCS 29857 NETWORK PLACE CHICAGO IL 60673
ARIENS COMPANY                        C/O REDWOOD SCS, 29857 NETWORK PL CHICAGO IL 60673
ARIES B SERVICES INC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ARIES EXPRESS LLC                     OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
ARIES FREIGHT EXPRESS INC.            6363 PHILLIPS PLACE LITHONIA GA 30058
ARIES FREIGHT GROUP INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARIES GLOBAL LOGISTICS                ATTN: WENDY TELLIN 1915 VAUGHN ROAD KENNESAW GA 30144
ARIES LOGISTICS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ARIES LOGISTICS LLC                   6482 STATE RD E12 PARMA OH 44134
ARIES LOGISTICS LLC (MC1175904)       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARIF TRUCKING INC                     5717 KEENEY ST MORTON GROVE IL 60053-3550
ARING, DOUGLAS                        ADDRESS ON FILE
ARIS TRANSPORTATION SERVICES LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARIS, JAMES                           ADDRESS ON FILE
ARISA XPRESS LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ARISTA TRUCK SYSTEMS                  5125 CLAY AVE GRAND RAPIDS MI 49548
ARITO, FRANCIS                        ADDRESS ON FILE
ARIV HOLDINGS AUTOMATION LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARIZE TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARIZON DEPARTMENT OFTRANSPORTATION    ADOT SAFETY & RISK MANAGEMENT 1655 W. JACKSON ST., MD 128A PHOENIX AZ 85007
ARIZON TRANSPORTATION LLC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ARIZONA AIR COMPRESSOR COMPANY        3520 W OSBORN RD PHOENIX AZ 85019
ARIZONA BRAKE & CLUTCH SUPPLY, INC.   PO BOX 6369 PHOENIX AZ 85005
ARIZONA DEPARTMENT OF                 ENVIRONMENTAL QUALITY, PO BOX 18228 PHOENIX AZ 85005
ARIZONA DEPARTMENT OF                 AGRICULTURE WEIGHTS & MEASURES SVCS DIV 1802 W JACKSON ST 78 PHOENIX AZ 85007
ARIZONA DEPARTMENT OF REVENUE         C/O OFFICE OF THE ARIZONA ATTY GENERAL ATTN TAX BANKRUPTCY AND COLLECTION SCT
                                      2005 N CENTRAL AVE, STE 100 PHOENIX AZ 85004



Epiq Corporate Restructuring, LLC                                                                  Page 114 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 123 of 2156

Claim Name                              Address Information
ARIZONA DEPARTMENT OF REVENUE           ATTN LORRAINE AVERITT 1600 W MONROE, 7TH FL PHOENIX AZ 85007
ARIZONA DEPARTMENT OF REVENUE           1600 W MONROE ST PHOENIX AZ 85007
ARIZONA DEPARTMENT OF REVENUE           PO BOX 29010 PHOENIX AZ 85038
ARIZONA DEPARTMENT OF REVENUE           PO BOX 29079 PHOENIX AZ 85038
ARIZONA DEPARTMENT OF TRANSPORTATION    206 S. 17TH AVE SUIT 190. MD128A PHOENIX AZ 85007
ARIZONA FORKLIFT PARTS                  1209 W HILTON AVENUE PHOENIX AZ 85007
ARIZONA FORKLIFT PARTS                  2060 S. 16TH STREET SUITE 119 PHOENIX AZ 85034
ARIZONA INDUSTRIAL MEDICINE             515 N 18TH ST PHOENIX AZ 85006
ARIZONA MOTOR VEHICLE DIVISION          PO BOX 2100, MAIL DROP 555M PHOENIX AZ 85001
ARIZONA TILE SUPPLY                     8829 S PRIEST DR TEMPE AZ 85284
ARIZONA TRUCKING ASSOCIATION INC        7500 W MADISON ST TOLLESON AZ 85353
ARJ TRANSPORT                           OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                        CANADA
ARJAK&AGNES SONS TRUCKING               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ARJOBEX AMERICA                         10901 WESTLAKE DR CHARLOTTE NC 28273
ARJUN EXPRESS CORP                      21 FAIRBANKS BLVD WOODBURY NY 11797
ARJUNEN, ANDREW                         ADDRESS ON FILE
ARKA EXPRESS INC                        2202 WEST 166TH ST UNIT 1 MARKHAM IL 60428
ARKAM TRANSPORTATION SYSTEMS INC.       4610 76TH AVE EDMONTON ON T6B 0A5 CANADA
ARKAN LLC                               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ARKANSAS AUTOMATIC GATES                11610 PLEASANT RIDGE RD SUITE 103 LITTLE ROCK AR 72223
ARKANSAS ELECTRIC COOPERATIVES          ATTN: LAURA HOUSE 10 ELECTRIC AVE LITTLE ROCK AR 72209
ARKANSAS LED                            8476 PINE RIDGE LANE ROGERS AR 72756
ARKANSAS TRANSPORTATION INC             3108 HIGHWAY 92 W BEE BRANCH AR 72013
ARKANSAS TRUCKING ASSOCIATION           PO BOX 3476 LITTLE ROCK AR 72203
ARKANSAS WINE & SPIRITS                 ATTN: KYLE USELTON 1900 E 15TH ST LITTLE ROCK AR 72202
ARKEHM GILL                             ADDRESS ON FILE
ARKEL MOTORS INC                        70 WINDSOR HIGHWAY NEW WINDSOR NY 12553
ARKHAM FREIGHTWAYS LLC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
ARKLE MOTOR FREIGHT INC                 12557 KENNEDY RD CALEDON ON L7C 2H1 CANADA
ARKO TRANS LLC                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ARKUS, DAVID                            ADDRESS ON FILE
ARKWARD, EUGENIA                        ADDRESS ON FILE
ARL                                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ARL (MC152672)                          VETERAN CARRIERS (DIV OF ARL) PO BOX 809374 CHICAGO IL 60680-9374
ARLA TRUCKING LLC                       OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
ARLENE BELL                             ADDRESS ON FILE
ARLINGTON COURT NURSING HOME            ATTN: ZACHARY MILL 1605 NW PROFESSIONAL PLAZA UPPER ALRINGTON OH 43220-3866
ARLINGTON PLUMBING AND HEATING CO INC   HEATING CO INC PO BOX 195 MOUNT TABOR NJ 07878
ARLINGTON TRUCKING INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARM DELIVERY LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARM LINES INC                           2912 PORTSMITH CT NAPERVILLE IL 60564
ARMAAN BAJWA TRANS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARMAAN TRANSPORT LLC                    12857 SE 225TH CT KENT WA 98031
ARMACOST TRANE SERVICE CO               3311 4TH AVE NORTH BILLINGS MT 59101
ARMADA INC.                             PO BOX 733 LAWRENCE KS 66044
ARMADA LOGISTICS                        OR JD FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
ARMADA TRANSPORT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ARMAH, WILLIAM A                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 115 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 124 of 2156

Claim Name                              Address Information
ARMAN LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARMAN, AUSTIN                           ADDRESS ON FILE
ARMAND GROUP LLC                        1057 SANFORD AVE STE 2 IRVINGTON NJ 07111
ARMAND GROUP LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ARMAND, EDWIDGE                         ADDRESS ON FILE
ARMANDO OLVERA TRUCKING LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ARMANINO LLP                            PO BOX 206700 DALLAS TX 75320
ARMANTRADING, EVANS                     ADDRESS ON FILE
ARMARI TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARMAS TRUCKING INC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ARMATO JR, JOE                          ADDRESS ON FILE
ARMATO, JOE                             ADDRESS ON FILE
ARMBRUST, KYLE                          ADDRESS ON FILE
ARMELL, BILLY                           ADDRESS ON FILE
ARMENDARIZ, ALEXIS                      ADDRESS ON FILE
ARMENDARIZ, LESLEY                      ADDRESS ON FILE
ARMENDARIZ, MARIA                       ADDRESS ON FILE
ARMENDO, DALE                           ADDRESS ON FILE
ARMENGOT, ROBERTO                       ADDRESS ON FILE
ARMENTROUT, EDWARD                      ADDRESS ON FILE
ARMENTROUT, ROBERT                      ADDRESS ON FILE
ARMENTROUT, TERRI                       ADDRESS ON FILE
ARMFIELD, JANIE                         ADDRESS ON FILE
ARMINGTON, JIMMIE                       ADDRESS ON FILE
ARMISTIC URGENT CARE                    209 ARMISTICE BLVD PAWTUCKET RI 02860
ARMO LOGISTICS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARMON, CURTIS                           ADDRESS ON FILE
ARMOR EXPRESS LLC                       234 S GRADE DR DALTON GA 30721
ARMOR FREIGHT SERVICES LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ARMOR LOCK & SAFE, INC                  2055 N.OLDE CASALOMA DR. APPLETON WI 54913
ARMOUR, KAREN                           ADDRESS ON FILE
ARMOUR, LAWRENCE                        ADDRESS ON FILE
ARMOUR, LYNN                            ADDRESS ON FILE
ARMOUR, SCOTT                           ADDRESS ON FILE
ARMSCOR PRECISION                       ATTN: FE GRAYBLAS 150 N SMART WAY PAHRUMP NV 89060
ARMSCOR PRECISION INTL API              150 N SMART WAY PAHRUMP NV 89060
ARMSTEAD LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARMSTEAD, ANSON                         ADDRESS ON FILE
ARMSTEAD, CARL                          ADDRESS ON FILE
ARMSTRONG MASONRY CONSTRUCTION          5956 ST GEORGE RD WILLISTON VT 05495
ARMSTRONG MEDICAL SUPPLY LLC            9254 PARK S VIEW BLDG D HOUSTON TX 77051
ARMSTRONG OIL & DISTRIBUTING, INC.      1000 HARRIS STREET CLINTON MO 64735
ARMSTRONG TRANSPORTATION SERVICES LLC   11306 COREOPSIS RD CHARLOTTE NC 28213
ARMSTRONG, ALTON                        ADDRESS ON FILE
ARMSTRONG, BRIAN                        ADDRESS ON FILE
ARMSTRONG, BRYCE                        ADDRESS ON FILE
ARMSTRONG, CHRISTOPHER                  ADDRESS ON FILE
ARMSTRONG, COURTNEY B                   ADDRESS ON FILE
ARMSTRONG, CRAIG                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 116 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 125 of 2156

Claim Name                           Address Information
ARMSTRONG, DARYL                     ADDRESS ON FILE
ARMSTRONG, DARYL                     ADDRESS ON FILE
ARMSTRONG, DONALD                    ADDRESS ON FILE
ARMSTRONG, EARL                      ADDRESS ON FILE
ARMSTRONG, GEORGE                    ADDRESS ON FILE
ARMSTRONG, GERALD                    ADDRESS ON FILE
ARMSTRONG, JAMES                     ADDRESS ON FILE
ARMSTRONG, JEREMY                    ADDRESS ON FILE
ARMSTRONG, JOHN                      ADDRESS ON FILE
ARMSTRONG, JULIUS                    ADDRESS ON FILE
ARMSTRONG, KEVIN                     ADDRESS ON FILE
ARMSTRONG, KEVIN L                   ADDRESS ON FILE
ARMSTRONG, LON                       ADDRESS ON FILE
ARMSTRONG, MARION                    ADDRESS ON FILE
ARMSTRONG, RICHARD                   ADDRESS ON FILE
ARMSTRONG, RUTH                      ADDRESS ON FILE
ARMSTRONG, STEVIE                    ADDRESS ON FILE
ARMSTRONG, THOMAS                    ADDRESS ON FILE
ARMSTRONG, THOMAS                    ADDRESS ON FILE
ARMSWORTH, DANA                      ADDRESS ON FILE
ARMY NATIONAL GUARD                  1901 KEMBLE AVENUE SOUTH BEND IN 46613
ARMY OF THE LORD TRANSPORT-AOL LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARMY OF THE LORD TRANSPORT-AOL LLC   1751 RIVER RUN STE 200 FORT WORTH TX 76107
ARN, JONATHAN                        ADDRESS ON FILE
ARNALL, AUSTIN                       ADDRESS ON FILE
ARNAU LOGISTICS LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ARNAUD HUERTA, RAFAEL                ADDRESS ON FILE
ARNDT, AVORY                         ADDRESS ON FILE
ARNDT, GARY                          ADDRESS ON FILE
ARNEG LLC C/O ECHO                   ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
ARNET ISHARED TRANSPORTATION         ATTN: MONIQUE BAILEY 5040 JOANNE KEARNEY BLVD TAMPA FL 33619
ARNETT, CARL                         ADDRESS ON FILE
ARNETT, DARRELL                      ADDRESS ON FILE
ARNETT, DUSTIN                       ADDRESS ON FILE
ARNETT, RICHARD                      ADDRESS ON FILE
ARNETT, RODNEY                       ADDRESS ON FILE
ARNEY, CRAIG                         ADDRESS ON FILE
ARNEY, RANDY                         ADDRESS ON FILE
ARNEY, TODD                          ADDRESS ON FILE
ARNHALT TRANSPORT, INC.              4141 38TH ST SW SUITE C-2 FARGO ND 58104
ARNICA INC                           3352 MASON DRIVE INNISFIL ON L9S2J8 CANADA
ARNIES PRESSURE WASH                 PO BOX 3442 RAPID CITY SD 57709
ARNOFF MOVING & STORAGE              10 STONEBREAK ROAD SUITE 1 MALTA NY 12020
ARNOLD & PORTER KAYE SCHOLER LLP     COUNSEL TO U.S. DEPT OF THE TREASURY ATTN: BENJAMIN MINTZ 250 WEST 55TH STREET
                                     NEW YORK NY 10019
ARNOLD & PORTER KAYE SCHOLER LLP     COUNSEL TO U.S. DEPT OF THE TREASURY ATTN: ROSA EVERGREEN 601 MASSACHUSETTS
                                     AVE., N.W. WASHINGTON DC 20001
ARNOLD & PORTER KAYE SCHOLER LLP     COUNSEL TO U.S. DEPT OF THE TREASURY ATTN: MICHAEL MESSERSMITH 70 WEST MADISON
                                     STREET, SUITE 4200 CHICAGO IL 60602
ARNOLD BROS. TRANSPORT               739 LAGIMODIERE BLVD WINNIPEG ON R2J 0T8 CANADA


Epiq Corporate Restructuring, LLC                                                                Page 117 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 126 of 2156

Claim Name                           Address Information
ARNOLD JR, EDGAR                     ADDRESS ON FILE
ARNOLD MACH CO                       464 WASHINGTON ST SOUTH TWIN FALLS ID 83301
ARNOLD MACH CO                       300 E OVERLAND ROAD MERIDIAN ID 83642
ARNOLD MACH CO                       ARNOLD MACHINERY CO MH 70 4366 EAST HUNTINGTON DR. FLAGSTAFF AZ 86004
ARNOLD MACHINERY CO                  PO BOX 30020 SALT LAKE CITY UT 84130
ARNOLD R WELLS                       ADDRESS ON FILE
ARNOLD TRUCKLINES LLC                OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ARNOLD, ALEXIS                       ADDRESS ON FILE
ARNOLD, ARCAND                       ADDRESS ON FILE
ARNOLD, BEVERLY                      ADDRESS ON FILE
ARNOLD, BRUCE                        ADDRESS ON FILE
ARNOLD, DANIEL                       ADDRESS ON FILE
ARNOLD, EDWARD M                     ADDRESS ON FILE
ARNOLD, HERMAN                       ADDRESS ON FILE
ARNOLD, JEFF                         ADDRESS ON FILE
ARNOLD, JEREL                        ADDRESS ON FILE
ARNOLD, KEVIN                        ADDRESS ON FILE
ARNOLD, KEVIN L                      ADDRESS ON FILE
ARNOLD, KYLE                         ADDRESS ON FILE
ARNOLD, LISA                         ADDRESS ON FILE
ARNOLD, LYNN                         ADDRESS ON FILE
ARNOLD, MICHAEL                      ADDRESS ON FILE
ARNOLD, MONTRELLE                    ADDRESS ON FILE
ARNOLD, PEGGY                        ADDRESS ON FILE
ARNOLD, PHILLIP                      ADDRESS ON FILE
ARNOLD, RICHARD                      ADDRESS ON FILE
ARNOLD, SUZANNE                      ADDRESS ON FILE
ARNOLD, TERRENCE                     ADDRESS ON FILE
ARNOLD, TOM                          ADDRESS ON FILE
ARNOLD, TYLER                        ADDRESS ON FILE
ARNOLD, WILLIAM                      ADDRESS ON FILE
ARNOLD, WILLIAM C                    ADDRESS ON FILE
ARNOLDO FERREIRO CRUZATA             ADDRESS ON FILE
ARNOLDS SAFE & LOCK CO.              3615 HADDONFIELD RD. PENNSAUKEN NJ 08109
ARNONE, CAROL                        ADDRESS ON FILE
ARNONE, DOMINIC                      ADDRESS ON FILE
ARNOTT TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARNULFO AND SONS TRUCKING LLC        OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
ARO TRANS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AROCHA, FORTUNATO                    ADDRESS ON FILE
ARODAL                               SUITE 248, 2631 VIKING WAY RICHMOND BC V6V 3B5 CANADA
AROIX, JON                           ADDRESS ON FILE
AROMANDO, ANDREW                     ADDRESS ON FILE
AROTTAS AUTO MAX                     7005 N. DIVISION SPOKANE WA 99208
AROUND 50 STATES EXPRESS             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AROUND CLOCK LOGISTICS LLC           OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
AROUND THE CLOCK TIRES               450 HILLSIDE DR 353 MESQUITE NV 89027
AROUND THE CLOCK TRUCKING            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARP EXPRESS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479



Epiq Corporate Restructuring, LLC                                                                Page 118 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 127 of 2156

Claim Name                               Address Information
ARP, MICHAEL                             ADDRESS ON FILE
ARPAC                                    7663 PROGRESS WAY DELTA BC V4G 1A2 CANADA
ARPS GRADING AND HAULING LLC             OR MCDOWELL FACTOR & CAPITAL SRVC LLC P.O. BOX 161086 ALTAMONTE SPRINGS FL
                                         32716-1086
ARQUISE VANTREASE                        ADDRESS ON FILE
ARQUISE VANTREASE                        ADDRESS ON FILE
ARRALAS TRANSPORT LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ARRANT, BRIAN                            ADDRESS ON FILE
ARRANTS, NIKKI                           ADDRESS ON FILE
ARREDONDO, CARLOS                        ADDRESS ON FILE
ARREDONDO-MARTINEZ, ALONSO               ADDRESS ON FILE
ARREOLA, GUILLERMO                       ADDRESS ON FILE
ARREOLA, JESUS                           ADDRESS ON FILE
ARRESOLA TRUCKING LLC                    OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
ARRIAGA ENTERPRISES LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ARRIAGA, CHRISTIAN                       ADDRESS ON FILE
ARRIAGA, DAVID                           ADDRESS ON FILE
ARRIAGA, FERNANDO                        ADDRESS ON FILE
ARRIAGA, HECTOR                          ADDRESS ON FILE
ARRIERO TRANSPORT CORP                   OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
ARRIETA, CHRISTOPHER                     ADDRESS ON FILE
ARRINGTON, KALVIN                        ADDRESS ON FILE
ARRINGTON, MARKAS                        ADDRESS ON FILE
ARRINGTON, ROBERT                        ADDRESS ON FILE
ARRINGTON, ROBERT A                      ADDRESS ON FILE
ARRINGTON, WILLIAM                       ADDRESS ON FILE
ARRINGTON, WILLIAM                       ADDRESS ON FILE
ARRIVE LOGISTICS                         ATTN: LADY LOPEZ PO BOX 19245 AUSTIN TX 78760
ARRIVE LOGISTICS                         ATTN: MAX SCHOWALTER PO BOX 19245 AUSTIN TX 78760
ARRIVE LOGISTICS                         ATTN: RAIN MORELAND PO BOX 19245 AUSTIN TX 78760
ARRIVER EXPRESS                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARRON C BARRETT                          ADDRESS ON FILE
ARRON D DAVIS                            ADDRESS ON FILE
ARROW ELECTRIC                           960 10TH AVE. SE DETROIT LAKES MN 56501
ARROW ELECTRONICS                        DATA2LOGISTICSLLC, PO BOX 61050 FORT MYERS FL 33906
ARROW ELECTRONICS                        9151 E PANORAMA CIR CENTENNIAL CO 80112
ARROW ELECTRONICS R                      12631 WESTLINKS DR FORT MYERS FL 33913
ARROW FASTENERS                          LOTOYA MCGUIRE, 271 MAYHILL ST ROCHELLE PARK NJ 07662
ARROW FIRE PROTECTION INC                3330 SELDON COURT STE ONE FREMONT CA 94539
ARROW FREIGHT LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ARROW FREIGHT MANAGEMENT, INC.           OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320
ARROW FREIGHT SYSTEMS                    26395 NORTHLINE COMMERCE DR STE 604 TAYLOR MI 48180
ARROW LIFT OF CA                         PO BOX 34 DULUTH MN 55801
ARROW LOGISTICS AND TRANSPORTATION LLC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARROW LOGISTICS LLC                      OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ARROW ONE EXPRESS                        10998 LEADBETTER ROAD STE 4 ASHLAND VA 23005
ARROW PAVEMENT MAINTENANCE               2825 RANDALL AVE CENTRAL POINT OR 97502
ARROW PROPANE                            17525 E EUCLID AVE SPOKANE WA 99216
ARROW SERVICES                           PO BOX 515 PLYMOUTH IN 46563



Epiq Corporate Restructuring, LLC                                                                     Page 119 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 128 of 2156

Claim Name                          Address Information
ARROW TANK & ENGINEERING            8950 EVERGREEN BLVD. COON RAPIDS MN 55433
ARROW TOWING COMPANY                ARROW TOWING COUNCIL BLUFFS 605 S 15TH STREET COUNCIL BLUFFS IA 51501
ARROW TOWING COMPANY                D/B/A: ARROW TOWING, INC. 605 S. 15TH ST. COUNCIL BLUFFS IA 51501
ARROW TOWING, INC.                  605 S. 15TH ST. COUNCIL BLUFFS IA 51501
ARROW TRANS CORP                    2001 ESTES AVE ELK GROVE VILLAGE IL 60007
ARROW TRANSPORTATION INC            OR FREIGHT COLLECT INC., P.O. BOX 603748 CHARLOTTE NC 28260
ARROW TRUCKING INC                  OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
ARROW TRUCKS & PARTS CO             2637 W FORT ST DETROIT MI 48216
ARROW WRECKER SERVICE, INC.         531 E MACARTHUR RD. WICHITA KS 67216
ARROW WRECKER SERVICE, INC.         700 N VILLA AVE OKLAHOMA CITY OK 73107
ARROWOOD, TOMMY                     ADDRESS ON FILE
ARROYO, ALEJANDRO                   ADDRESS ON FILE
ARROYO, CHRISTIAN                   ADDRESS ON FILE
ARROYO, JACOB L                     ADDRESS ON FILE
ARROYO, JOHN                        ADDRESS ON FILE
ARROYO, JOHN                        ADDRESS ON FILE
ARROYO, JOHN                        ADDRESS ON FILE
ARROYO, JORGE                       ADDRESS ON FILE
ARROYO, JOSE                        ADDRESS ON FILE
ARROYO, RAFAEL                      ADDRESS ON FILE
ARROYO, RAMON                       ADDRESS ON FILE
ARROYO, SERGIO                      ADDRESS ON FILE
ARROYO, YOLANDA                     ADDRESS ON FILE
ARS LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARS RESCUE ROOTER                   RESCUE ROOTER OF COLUMBUS 3050 SWITZER AVE COLUMBUS OH 43219
ARS RESCUE ROOTER                   15750 E CENTRETECH CIR AURORA CO 80011
ARS TRANSPORTATION INC              OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
ARS TRUCKING, INC                   1244 RONNIE ST WEST COVINA CA 91792
ARSA TRUCKING INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARSAL LOGISTIC LLC                  OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
ARSANA CORP                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ARSENAL TRUCKING LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ARSENAL TRUCKING LLC (MC781315)     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ARSENAL TRUCKING LOGISTICS INC      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
ARSENAULT, MAURICE                  ADDRESS ON FILE
ARSENIC, RADOMIR                    ADDRESS ON FILE
ARSH CARRIERS INC                   OR SMART FLEET FUNDING INC. PO BOX 856714 MINNEAPOLIS MN 55484-6714
ARSH TRANSPORT INC                  P.O. BOX 77863 STOCKTON CA 95267
ARSH TRUCKING LLC                   10 SUGGS LANE HICKSVILLE NY 11801
ARSHO TRANS INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ARSIL TRANSPORTATION INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ART EXPRESS LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ART KESSNICK                        ADDRESS ON FILE
ART SKILLS INC                      3935 RABOLD CIRCLE SOUTH BETHLEHEM PA 18020
ART TRANSPORT, INC.                 OR GULF COAST BANK AND TRUST PO BOX 732951 DALLAS TX 75373
ART TRANSPORTATION LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ART TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARTAN TRANSPORT LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ARTEAGA GARCIA, DANIEL              ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 120 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 129 of 2156

Claim Name                           Address Information
ARTEAGA, ALEJANDRO                   ADDRESS ON FILE
ARTEAGA, DANIEL                      ADDRESS ON FILE
ARTEAGA, MARIO                       ADDRESS ON FILE
ARTEAGA, MARTIN G                    ADDRESS ON FILE
ARTEAGA, OSCAR                       ADDRESS ON FILE
ARTEBERRY, BRANDYN                   ADDRESS ON FILE
ARTEL LOGISTICS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ARTERBRIDGE, LARONN                  ADDRESS ON FILE
ARTEX OVERHEAD DOORS, INC            300 W 3RD ST HOPE AR 71801
ARTEX TRUCK CENTER                   DBA IDEALEASE OF TEXARKANA 1801 TRINITY BLVD. TEXARKANA AR 71854
ARTHUR EXPRESS                       13011 WILMINGTON DRIVE FARMERS BRANCH TX 75234
ARTHUR MATTHEWS                      ADDRESS ON FILE
ARTHUR SMITH TRUCKING, INC.          4177 MORRISDALE ALLPORT HIGHWAY MORRISDALE PA 16858
ARTHUR TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ARTHUR TRUCKING INC                  OR TRANSPORTATION FINANCE CORP 14007 S BELL ROAD 169 HOMER GLEN IL 60491
ARTHUR, JASON                        ADDRESS ON FILE
ARTHUR, LYRON                        ADDRESS ON FILE
ARTHUR, RICHARD                      ADDRESS ON FILE
ARTHUR, TIFFANY                      ADDRESS ON FILE
ARTHUR, ZACHARY                      ADDRESS ON FILE
ARTHURS CARGO LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ARTHURS, TERRI                       ADDRESS ON FILE
ARTIAGA, CLEMENTE                    ADDRESS ON FILE
ARTICHOKE JOES CASINO                659 HUNTINGTON AVE. SAN BRUNO CA 94066
ARTICULATE GLOBAL, INC               DEPT 3747, P.O. BOX 123747 DALLAS TX 75312
ARTIM INDUSTRIAL PROPERTIES          ATTN: BUD ARTIM 14105 W 182ND AVENUE LOWELL IN 46356
ARTIM INDUSTRIAL PROPERTY            14105 W 182ND AVENUE LOWELL IN 46356
ARTIRA TRANSPORTATION INC            OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
ARTIS, DONELL                        ADDRESS ON FILE
ARTIS, RASHAD                        ADDRESS ON FILE
ARTISAN FINE WINES & SPIRITS C       ATTN: JILL DONOFRIO 6567 KINNE RD DEWITT NY 13214
ARTISTIC FENCE CO, INC               480 MORRILL AVE. RENO NV 89512
ARTISTIC PRINTING INC                26040 W 12 MILE RD SOUTHFIELD MI 48034
ARTISTIC TILE                        ATTN: FREIGHT CLAIMS 520 SECAUCUS RD SECAUCUS NJ 07094
ARTLEY, CORENNA                      ADDRESS ON FILE
ARTLEY, SEAN                         ADDRESS ON FILE
ARTS RENTAL EQUIPMENT, INC.          215 E. 6TH ST. NEWPORT KY 41071
ARTS REPAIR SERVICE LLC              PO BOX 93151 CHICAGO IL 60673
ARTS TRUCKING 321 LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ARTSKILLS                            ATTN: ROSE PFEIFFER 9396 RIVER RD MARCY NY 13403
ARTSKILLS                            ATTN: ZAK SPESS 3146 S CHESTNUT AVE FRESNO CA 93725
ARTSKILLS INC                        ATTN: BRIDGET DONATO 3935 RABOLD CIRCLE SOUTH BETHLEHEM PA 18020
ARTSKILLS PAKSAFE                    ATTN: ZAK SPESS 9300 ASHTON RD PHILADELPHIA PA 19114
ARTTUS, BECKY                        ADDRESS ON FILE
ARTUDIANTI INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARTUR EXPRESS, INC.                  P.O. BOX 870931 KANSAS CITY MO 64187
ARTUR LOGISTICS CORP                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ARTURO ALMODOVAR                     ADDRESS ON FILE
ARTURO CHAVEZ TRUCKING INC           24432 OSPREY ST LAKE FOREST CA 92630



Epiq Corporate Restructuring, LLC                                                                 Page 121 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 130 of 2156

Claim Name                           Address Information
ARTURO DELGADO VARGAS                ADDRESS ON FILE
ARTURO TRUCKING                      OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
ARTUS, JAMES                         ADDRESS ON FILE
ARTWALK TILE                         17616 WESTWARD REACH RD CORNELIUS NC 28031
ARUN RAJIAH                          ADDRESS ON FILE
ARUTUNIAN, CAROL                     ADDRESS ON FILE
ARVELO ARIAS, JUAN                   ADDRESS ON FILE
ARVI TRANSPORTS CO INC               3 ENDWOOD CIR SUGARLOAF PA 18249
ARVILA, NOEL                         ADDRESS ON FILE
ARVISU, KEVIN                        ADDRESS ON FILE
ARVIZU, ADRIAN                       ADDRESS ON FILE
ARVIZU, IDELFONSO                    ADDRESS ON FILE
ARVIZU, JOEL                         ADDRESS ON FILE
ARW LOGISTICS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ARW TRANSPORTS LLC                   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
ARYCHUK, KENNETH                     ADDRESS ON FILE
ARZ TECH                             1411 N BATAVIA ST STE 110 ORANGE CA 92867
ARZATE, ARIOS                        ADDRESS ON FILE
ARZATE, SUSANA                       ADDRESS ON FILE
ARZETA, LUIS                         ADDRESS ON FILE
AS AMERICA, INC.0060060854)          1 CENTENNIAL AVENUE PISCATAWAY NJ 08854
AS CARGO LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AS CARGO LLC (MC1142486)             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AS CARRIERS INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AS CARRIERS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AS EXPRESS CORP                      OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
AS EXPRESS DELIVERY LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AS TRANS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AS TRANSPORTATION INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
ASA CARRIERS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASA DYNASTY LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ASA TRANSIT LLC                      OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
ASA TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ASAD, AIMAL                          ADDRESS ON FILE
ASADOV TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASAIF, GAVIN                         ADDRESS ON FILE
ASAILEVAI, UELE                      ADDRESS ON FILE
ASAL TRANSPORT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ASANA INC                            DEPT LA 25171 PASADENA CA 91185
ASANA INC                            633 FOLSOM ST SAN FRANCISCO CA 94107
ASANTE PHYSICIAN PARTNERS            PO BOX 748157 LOS ANGELES CA 90074
ASANTE TRUCKING LLC                  OR SAFINANCIAL GROUP INC, PO BOX 195 GRANGER IN 46530
ASAP DOOR REPAIR & SERVICE INC       PO BOX 11422 GLENDALE AZ 85318
ASAP EXPEDITING SERVICES LLC         OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ASAP RELIABLE FREIGHT                3143 N 55TH ST MILWAUKEE WI 53216
ASAP REPAIR & RECOVERY               N2791 CTY RD N LYNDON STATION WI 53944
ASAP TOWING & STORAGE COMPANY        10053 103RD ST JACKSONVILLE FL 32210
ASAP TRANS CORP                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                 Page 122 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 131 of 2156

Claim Name                           Address Information
ASAP TRUCK & TRAILER REPAIR INC      19005 SLOVER AVE BLOOMINGTON CA 92316
ASAP TRUCKING COMPANY                120 PEACH STATE CT, PO BOX 515 TYRONE GA 30290
ASAP TRUCKLINE LTD                   PO BOX 20082 CONCORD ON L4K0C8 CANADA
ASARE, KWAME                         ADDRESS ON FILE
ASASH TERMITE & PEST CONTROL         1102 CLARK BLVD, PO BOX 2883 LAREDO TX 78044
ASATRYAN LOGISTICS CORP              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASB TRANSPORT LLC                    OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
ASBERRY, AKEEM                       ADDRESS ON FILE
ASBERRY, CHESTER                     ADDRESS ON FILE
ASBERRY, DANIELLE                    ADDRESS ON FILE
ASBK LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ASC C/O JOHNSON CONTROLS             ATTN: DANA HARRELL JAMES FREIGHT CLAIMS 2600 W POINT DR, STE 100 LITHIA
                                     SPRINGS GA 30122
ASC CARRIER INC                      OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ASC DISTRIBUTING                     1840 W 1ST AVE MESA AZ 85202
ASC ENGINEERED SOLUTIONS             2867 VAIL AVE LOS ANGELES CA 90040
ASCAP                                21678 NETWORK PLACE CHICAGO IL 60673
ASCENSION ENTERPRISE, LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ASCHENBRENNER TRUCKING, INC.         PO BOX 99 FREMONT IA 52561
ASCHENBRENNER, CINDY                 ADDRESS ON FILE
ASCHERMANN, SCOTT M                  ADDRESS ON FILE
ASCHNEWITZ, THOMAS                   ADDRESS ON FILE
ASCIONE, ANTHONY                     ADDRESS ON FILE
ASCIUTTO, JOSEPH                     ADDRESS ON FILE
ASCON GROUP INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ASCOT INSURANCE COMPANY              ATTN: KEVIN DEGARMO 55 W. 46TH ST. 26TH FLOOR NEW YORK NY 10036
ASE MASTER ROAD SERVICE              21 BOBCAT ST LARAMIE WY 82072
ASE SUPPLY THERMAL BY- PRODUCT LLC   PO BOX 30599 PORTLAND OR 97294
ASEBOT TRANSPORTATION LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ASENCIO, ANTHONY J                   ADDRESS ON FILE
ASF CARRIER INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ASF CARRIER LLC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ASG LOGISTICS                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ASG LOGISTICS (MC1312951)            OR ITRHRIVE FUNDING LLC MEMPHIS TN 38148-1000
ASG LOGISTICS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ASH FREIGHT INC                      4314 MATILIJA AVE APT 305 SHERMAN OAKS CA 91423-3668
ASH II, ALBERT                       ADDRESS ON FILE
ASH TRANSPORT LOGISTICS LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ASH TRUCKING LLC                     OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
ASH, AGNES                           ADDRESS ON FILE
ASH, CHRISTOPHER                     ADDRESS ON FILE
ASH, SUZANNE                         ADDRESS ON FILE
ASHABRANNER TRUCKING COMPANY LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ASHBAUGH, ROBERT R                   ADDRESS ON FILE
ASHBURN, HARRY                       ADDRESS ON FILE
ASHBY, DANIEL                        ADDRESS ON FILE
ASHBY, KELVIN                        ADDRESS ON FILE
ASHBY, MARYANN                       ADDRESS ON FILE
ASHCRAFT, CHRIS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 123 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 132 of 2156

Claim Name                            Address Information
ASHCRAFTS LOCK & DOOR HARDWARE CO.,   6 DALFONSO RD NEWBURGH NY 12550
INC.
ASHCROFT, PATRICK                     ADDRESS ON FILE
ASHDEL LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ASHE, BRIAN                           ADDRESS ON FILE
ASHE, KENNETH                         ADDRESS ON FILE
ASHE, PAUL                            ADDRESS ON FILE
ASHEDA TRANSPORTING LLC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ASHEGH, OMID                          ADDRESS ON FILE
ASHER, ANTHONY                        ADDRESS ON FILE
ASHER, ANTHONY                        ADDRESS ON FILE
ASHER, PHILLIP J                      ADDRESS ON FILE
ASHER, REBECCA                        ADDRESS ON FILE
ASHER, TROY                           ADDRESS ON FILE
ASHFORD ESTATE HOMESINC.              8300 YANKEE STREET CENTERVILLE OH 45458
ASHFORD II, LLOYD                     ADDRESS ON FILE
ASHFORD, ANDRE                        ADDRESS ON FILE
ASHFORD, JAMES                        ADDRESS ON FILE
ASHFORD, JOE                          ADDRESS ON FILE
ASHFOXX TRANSPORTATION INC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ASHGOLD TRANSPORTATION LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ASHGOLD TRANSPORTATION LLC            6809 9TH ST E FIFE WA 98424
ASHLAND PEST CONTROL, INC.            MAIN OFFICE/RETAIL STORE 406 CONNECTICUT STREET BUFFALO NY 14213
ASHLEY FREIGHT LLC                    276 STAFFORD RD MONSON MA 01057
ASHLEY FREIGHT LLC (MC693990)         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ASHLEY TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASHLEY, JOHN                          ADDRESS ON FILE
ASHLEY, PAUL                          ADDRESS ON FILE
ASHLEY, ROBIN                         ADDRESS ON FILE
ASHLINE TRANSPORTATION INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ASHLINE, BILL                         ADDRESS ON FILE
ASHMUN, TIMOTHY                       ADDRESS ON FILE
ASHTON GLASS                          ADDRESS ON FILE
ASHTON, PAUL                          ADDRESS ON FILE
ASHTON, PAUL A                        ADDRESS ON FILE
ASHWORTH, JEFFREY                     ADDRESS ON FILE
ASHWORTH, JOHN                        ADDRESS ON FILE
ASHWORTH, LAUREN                      ADDRESS ON FILE
ASI EXPRESS LLC                       OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
ASIA PACIFIC GROUP INC                OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ASK CONSULTING LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
ASK TRANS LLC                         67 VIRGINIA PARK BLVD FORT PIERCE FL 34947
ASK TRANSPORT LLC                     8085 OWENS WAY ARVADA CO 80005
ASK TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASKAR, ADNAN                          ADDRESS ON FILE
ASKARI EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ASKARO TRANSPORTATION                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ASKEW, ANTHONY                        ADDRESS ON FILE
ASKEW, KEVIN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 124 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 133 of 2156

Claim Name                             Address Information
ASKEW, MARCUS                          ADDRESS ON FILE
ASKEW, MARLON                          ADDRESS ON FILE
ASLAN EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ASLAN EXPRESS INC (CAROLD STREAM IL)   OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
ASLAN TOWING INC                       PO BOX 5575 RIVERSIDE CA 92517
ASLL TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ASM                                    5463 GUIDE MERIDIAN BELLINGHAM WA 98226
ASM TRANSPORTACIONES                   MAURICE RAVEL 173 COLINAS DE SAN JERONIMO MONTERREY 64630 MEXICO
ASM TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASM TRANSPORTATION LLC (MC1313309)     2315 BISCHOFF DR, SUITE 9 BEECH GROVE IN 46107
ASMARA TRANSPORTATION INC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ASMARA TRANSPORTATION LLC              OR MSP FUNDING LLC, P.O.BOX 461119 AUORA CO 80046
ASMERA TRANSPORTATION LLC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ASMK TRANSFER INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ASNE TRUCKING LLC                      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                       76116
ASO LLC                                ATTN: AFREDO PASTRANA 300 SARASOTA CTR BLVD SARASOTA FL 34240
ASO LLC                                ATTN: ALFREDO PASTRANA 300 SARASOTA CENTER BLVD SARASOTA FL 34240
ASO LLC                                ATTN: CHRIS BAUER 300 SARASOTA CTR BLVD SARASOTA FL 34240
ASOAU, OFISA                           ADDRESS ON FILE
ASP, DEAN                              ADDRESS ON FILE
ASP, NICHOLAS                          ADDRESS ON FILE
ASPARD LLC                             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ASPDEN, JOHN                           ADDRESS ON FILE
ASPECT SOFTWARE INC                    D/B/A: ALVARIA INC PO BOX 2869 CAROL STREAM IL 60132
ASPELUND, ERIC                         ADDRESS ON FILE
ASPEN AMERICAN INSURANCE CO            ATTN: JOSE AGUIAR 855 WINDING BROOK DR GLASTONBURY CT 06033
ASPEN RV REPAIR                        PO BOX 3631 CAMP VERDE AZ 86322
ASPEN TRUCKING CO LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ASPER, DONNA                           ADDRESS ON FILE
ASPHALT MAINTENANCE SERVICE            6215 COMMODITY COURT FORT WAYNE IN 46818
ASPHALT PATCH SYSTEMS                  8812 CANYON ROAD EAST PUYALLUP WA 98371
ASPHALT SOLUTIONS, INC                 P.O. BOX 3434 YOUNGSTOWN OH 44513
ASPHALT SPECIALTIES INC                2953 W MT VERNON SPRINGFIELD MO 65802
ASPHALT SURFACING INC                  980 AMES AVENUE MILPITAS CA 95035
ASPIRATIONS 2 LOGISTICS LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ASPIRE TRANS INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ASQAR TRUCKLINE INC                    6295 WALLEN DRIVE MARYSVILLE CA 95901
ASQUARE FREIGHT, INC.                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ASR GROUP INCORPORATED                 8801 2 92ND ST HICKORY HILLS IL 60457
ASR TRUCKING INC                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ASR TRUCKING LLC                       3 RYCROFT RD MECHANICSBURG PA 17050
ASR TRUCKING LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ASRA LOGISTICS LIMITED LIABILITY       OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
COMPANY                                76116
ASRH TRANSPORTING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ASSAD, HESHAM                          ADDRESS ON FILE
ASSESSOR & TAX COLLECTOR               PO BOX 2810 CORPUS CHRISTI TX 78403
ASSET HEALTH INC                       2250 BUTTERFIELD DR 100 TROY MI 48084



Epiq Corporate Restructuring, LLC                                                                   Page 125 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 134 of 2156

Claim Name                              Address Information
ASSET PROTECTION                       5211 RENWYCK DR TOLEDO OH 43615
ASSETWORKS INC                         PO BOX 202525 DALLAS TX 75320
ASSETWORKS LLC                         PO BOX 202525 DALLAS TX 75320
ASSIS, JERRY                           ADDRESS ON FILE
ASSISI, JAMES                          ADDRESS ON FILE
ASSIST ME PLZ LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ASSOCIATE ENGINEERING CORP             ATTN: SARAH MILLER 606 S LAKE ST HUSTISFORD WI 53034
ASSOCIATE RECOVERY SPECIALIST MARIN    ATTN: MICHAEL MCGRORY ROANOKE CLAIMS 1475 E WOODFIELD RD, STE 500 SCHAUMBURG
                                       IL 60173-4903
ASSOCIATED                             C/O INTEGRATED SUPPLY CHAIN SOLUTIONS 7954 SOLUTION CENTER CHICAGO IL 60677
ASSOCIATED ENERGY SYSTEMS0060006979)   8621 S 180TH ST KENT WA 98032
ASSOCIATED EQUIPMENTCORP.              5043 FARLIN AVE. ST. LOUIS MO 63115
ASSOCIATED FIRE PROTECTION             4905 S. 97TH ST OMAHA NE 68127
ASSOCIATED FORKLIFT INC                670 LONGS GAP RD CARLISLE PA 17013
ASSOCIATED FUEL SYSTEMS, INC.          C/O PROBILLING & FUNDING SERVICE PO BOX 2222 DECATUR AL 35609
ASSOCIATED MARKETING                   2 KLEEN WAY HOLBROOK MA 02343
ASSOCIATED PACKAGING, INC.             P.O. BOX 306068 NASHVILLE TN 37230
ASSOCIATED PETROLEUM PRODUCTS, INC.    PO BOX 1397 TACOMA WA 98401
ASSOCIATED SERVICES                    553 MARTIN AVE 2 ROHNERT PARK CA 94928
ASSOCIATED SERVICES                    553 MARTIN AVE ROHNERT PARK CA 94928
ASSOCIATED TOWING                      P.O BOX 368 MIDVALE UT 84047
ASSOCIATED TOWING                      PO BOX 9963 SALT LAKE CITY UT 84109
ASSOCIATED TOWING IDAHO                P.O. BOX 411 SODA SPRINGS ID 83276
ASSOCIATED TRUCK PARTS                 1075 E PHILADELPHIA AVE GILBERTSVILLE PA 19525
ASSOGBA, MOUSSA                        ADDRESS ON FILE
ASSOURCE ALLIANCE NETWORK              ATTN: NADIA NUNEZ 2023 W CARROLL AVE C-205 CHICAGO IL 60612
ASSURANCES DALBEC L TEE                200-1750 MAURICE GAUVIN LAVAL QC H7S 1Z5 CANADA
ASSURED CLEANING & BUILDING MAINTENANCE 800 BATTERY AVE SUITE 100 ATLANTA GA 30339
ASSURED DISPATCHING LLC                OR SEVENOAKS CAPITAL ASSOCIATES LLC P O BOX 669130 HOUSTON TX 75266
ASSURED TRUCK REPAIR INC.              3458 SASHABAW RD WATERFORD MI 48329
ASSURED TRUCK REPAIR INC.              DBA ON TRACK TRUCK REPAIR, 4305 LESSING WATERFORD MI 48329
ASSURED WRECKER                        D/B/A: ASSURED TRUCK REPAIR INC. 3458 SASHABAW RD WATERFORD MI 48329
AST EXPRESS                            30 SANGRA CT STREAMWOOD IL 60107
AST TOWING                             262 TITUS AVE SUITE 4 WARRINGTON PA 18976
AST TRANSPORTATION LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ASTA AMERICA                           P.O. BOX 639 CASSVILLE GA 30123
ASTA AMERICA                           PO BOX 936608 ATLANTA GA 31193
ASTA AMERICA                           PO BOX 936608 ATLANTA GA 31193-6608
ASTA DOOR CORPORATION                  D/B/A: ASTA AMERICA P.O. BOX 639 CASSVILLE GA 30123
ASTA DOOR CORPORATION                  D/B/A: ASTA AMERICA PO BOX 936608 ATLANTA GA 31193
ASTA DOOR CORPORATION                  D/B/A: ASTA AMERICA PO BOX 936608 ATLANTA GA 31193-6608
ASTERION LLC                           5425 W 84TH ST INDIANAPOLIS IN 46268
ASTLEFORD EQUIPMENT CO, INC            12541 DUPONT AVE BURNSVILLE MN 55337
ASTLEFORD EQUIPMENT CO, INC            C\O ASTLEFORD INTERNATIONAL 3000 BROADWAY STREET NE MINNEAPOLIS MN 55413
ASTORGA-ZAMORA, LEXLY S                ADDRESS ON FILE
ASTRA FREIGHT                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ASTRA FREIGHT INC                      OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
ASTRADA, AARON                         ADDRESS ON FILE
ASTRAKAPITAL LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                   Page 126 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 135 of 2156

Claim Name                           Address Information
ASTRAL LOGISTICS INC                 OR GENERAL BUSINESS CREDIT 110 E 9TH ST SUITE C-900 LOS ANGELES CA 90079
ASTRO TOWING (1988) LTD              3015 MINERS AVE SASKATOON SK S7K 8A1 CANADA
ASTRO TRUCKING SERVICE LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ASTROS TRANSPORTATION INC            OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
ASTURI LANDSCAPE GROUP               PO BOX 340 COLUMBIA STATION OH 44028
ASTUTE TRUCKING LLC                  2625 RUSSELL WOODS DRIVE DELAWARE OH 43015
ASU                                  551 E. UNIVERSITY DRIVE TEMPE AZ 85287
ASUNCION, ALEX                       ADDRESS ON FILE
ASV DISTRIBUTION CENTER              ATTN: ASV INC 840 LILY LN GRAND RAPIDS MN 55744
ASVV CORP                            OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AT ARCHITECTURE INC                  848 MAIN ST STE 7 BILLINGS MT 59105
AT CARGO LLC                         OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
AT TRANSPORTATION INC                147 BAILEY DRIVE, 0 DESOTO TX 75115
AT TRUCKING INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AT TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AT WORK MANAGEMENT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AT YOUR SERVICE EXPEDITE LLC         1233 ARKWOOD AVE COLUMBUS OH 43227
AT&T                                 PO BOX 105068 ATLANTA GA 30348
AT&T                                 PO BOX 105262 ATLANTA GA 30348
AT&T                                 PO BOX 105320 ATLANTA GA 30348
AT&T                                 PO BOX 105414 ATLANTA GA 30348
AT&T                                 CLAIMS CENTER PO BOX 47604 PLYMOUTH MN 55447-0604
AT&T                                 PO BOX 5001 CAROL STREAM IL 60197
AT&T                                 PO BOX 5019 CAROL STREAM IL 60197
AT&T                                 PO BOX 5080 CAROL STREAM IL 60197
AT&T                                 PO BOX 5091 CAROL STREAM IL 60197
AT&T                                 PO BOX 5094 CAROL STREAM IL 60197
AT&T                                 3914 MURPHY CANYONE ROAD SUITE A-232 SAN DIEGO CA 92123
AT&T GLOBAL SERVICES CANADA CO       PO BOX 9266 STN A TORONTO ON M5W 3M1 CANADA
AT&T GLOBAL SERVICES CANADA CO       ONE AT&T WAY, RM 3A104 BEDMINISTER NJ 07921
AT&T MOBILITY - CC                   PO BOX 5085 CAROL STREAM IL 60197
AT&T MOBILITY LLC                    ONE AT&T WAY, RM 3A104 BEDMINISTER NJ 07921
AT&T MOBILITY LLC                    NATIONAL BUSINESS SERVICES, PO BOX 9004 CAROL STREAM IL 60197
AT&T MOBILITY LLC                    PO BOX 6463 CAROL STREAM IL 60197
AT&T OHIO                            PO BOX 5070 CAROL STREAM IL 60197-5070
AT&T SERVICES INC.                   PO BOX 5070 CAROL STREAM IL 60197
AT&T SERVICES, INC.                  C/O ANDERSON VELA, LLP ATTN: RAY L. VELA 4920 WESTPORT DRIVE THE COLONY TX
                                     75056
AT&T SERVICES, INC.                  P. O. BOX 910104 DALLAS TX 75391
AT&T TELECONFERENCE SERVICES         PO BOX 5002 CAROL STREAM IL 60197
AT&T TENNESSEE                       PO BOX 5070 CAROL STREAM IL 60197-5070
AT&T TRANSPORTATION CONTROL CENTER   ATTN: KELLY REPPERT 3000 B SHAWNEE RIDGE COURT SUWANEE GA 30024
AT&T U-VERSE                         ONE AT&T WAY, RM 3A104 BEDMINISTER NJ 07921
AT&T U-VERSE                         PO BOX 5014 CAROL STREAM IL 60197
ATA CONTROLS                         PO BOX 330 SUWANEE GA 30024
ATA LOGISTICS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ATA TRANSPORTATION LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ATAMAN LOGISTICS INC                 2142 W GENESEE ST SYRACUSE NY 13219



Epiq Corporate Restructuring, LLC                                                                Page 127 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 136 of 2156

Claim Name                               Address Information
ATANGA LLC                               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ATANOA, KOLONE                           ADDRESS ON FILE
ATAROD TRUCKING COMPANY LLC              OR NBS FACTORING, LLC, PO BOX 25 BELLE FOURCHE SD 57717
ATAT LOGISTICS LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ATB FREIGHT EXPEDITORS                   5505 BAHIA MAR CIRCLE STONE MOUNTAIN GA 30087
ATB FREIGHT EXPEDITORS LLC               5505 BAHIA MAR CIR STONE MOUNTAIN GA 30087
ATC EXPRESS INC                          ATC EXPRESS INC, PO BOX 6052 EL MONTE CA 91734
ATC FREIGHT SERVICES                     DAIMLER TRUCKS NA 15645 SE 114 AVE STE 203 CLACKAMAS OR 97015
ATC GROUP SERVICES INC                   DEPT 2630, PO BOX 11407 BIRMINGHAM AL 35246
ATC GROUP SERVICES INC                   DEPT. 3263 PO BOX 123263 DALLAS TX 75312
ATC GROUP SERVICES INC                   ATLAS TECHNICAL, P.O. BOX 735811 DALLAS TX 75373
ATC GROUP SERVICES INC                   PO BOX 735811 DALLAS TX 75373
ATC INC                                  941 66TH AVE SW CEDAR RAPIDS IA 52404
ATC LOGISTICS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ATC TRUCKING                             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
ATCHLEY RUSSELL WALDROP & HLAVINKA LLP   1730 GALLERIA OAKS TEXARKANA TX 75503
ATCHLEY, BRIAN                           ADDRESS ON FILE
ATCO INTERNATIONAL                       1401 BARCLAY CIRCLE MARIETTA GA 30060
ATCO RUBBER PRODUCTS                     ATCO RUBBER PRODUCTS, 7101 ATCO DRIVE NORTH RICHLAND HILLS TX 76118
ATCO SUPPLY COMPANY                      1475 N CHASE ST ATHENS GA 30601
ATD EXPRESS INC                          OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ATEC                                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ATECH WAREHOUSING & DISTRIBUTION, INC.   PO BOX 6836 SANTA ROSA CA 95406
ATEM TRANSPORTATION LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ATENCIO, GERALD                          ADDRESS ON FILE
ATER, JOHN                               ADDRESS ON FILE
ATERS, FLOYD                             ADDRESS ON FILE
ATES, JOHN                               ADDRESS ON FILE
ATF TRANSPORT LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ATF TRANSPORTATION LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ATG TRANSPORT LLC                        2150 S COUNTRY CLUB DR 22 MESA AZ 85210
ATH TRANSPORT INC.                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ATHA, JADIN                              ADDRESS ON FILE
ATHAIDE, KRISTINA                        ADDRESS ON FILE
ATHENA DONAIR DIST LTD                   12508 60 ST NW EDMONTON AB T5W 5J6 CANADA
ATHER, NAWAZ                             ADDRESS ON FILE
ATHERTON, ANNE                           ADDRESS ON FILE
ATHERTON, BRANDY                         ADDRESS ON FILE
ATHERTON, JEFFERY                        ADDRESS ON FILE
ATHERTON, MATTHEW                        ADDRESS ON FILE
ATHEY FREIGHTWAYS, INCORPORATED          469 FAIRFAX PIKE SITY STEPHENS CITY VA 22655
ATHWAL TRUCKING INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ATI                                      2555 AV DOLLARD SUITE 114 LASALLE QC H8N 3A5 CANADA
ATI (MC732514)                           ADDRESS ON FILE
ATI (MC953524)                           ADDRESS ON FILE
ATI TRUCKING INC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ATILA TRUCKING LLC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ATIM INC                                 OR NEXT DAY FUNDING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412



Epiq Corporate Restructuring, LLC                                                                     Page 128 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 137 of 2156

Claim Name                              Address Information
ATK TRUCKING INC                       9911 NE 86TH CT VANCOUVER WA 98662
ATK TRUCKING LLC                       OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
ATKINS, CAROL                          ADDRESS ON FILE
ATKINS, CASSANDRA                      ADDRESS ON FILE
ATKINS, CHARLES                        ADDRESS ON FILE
ATKINS, DANNY                          ADDRESS ON FILE
ATKINS, KAGER                          ADDRESS ON FILE
ATKINS, KEVIN                          ADDRESS ON FILE
ATKINS, RECKO                          ADDRESS ON FILE
ATKINS, WILLIAM                        ADDRESS ON FILE
ATKINSON, BILL                         ADDRESS ON FILE
ATKINSON, CHARLENE                     ADDRESS ON FILE
ATKINSON, DANIEL                       ADDRESS ON FILE
ATKINSON, DAVID                        ADDRESS ON FILE
ATKINSON, LAWRENCE M                   ADDRESS ON FILE
ATKINSON, LONNIE                       ADDRESS ON FILE
ATKINSON, MICHAEL                      ADDRESS ON FILE
ATKINSON, MORGAN                       ADDRESS ON FILE
ATKINSON, ROBERT                       ADDRESS ON FILE
ATKINSON, STEVEN                       ADDRESS ON FILE
ATKINSON, TROY                         ADDRESS ON FILE
ATKINSON, WILLIAM                      ADDRESS ON FILE
ATKINSON, ZACHARY                      ADDRESS ON FILE
ATKMOSPHERE TRUCKING & LOGISTICS LLC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ATKORE INTERNATIONAL                   CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
ATKORE INTERNATIONAL                   SUITE 300 CONDATA OAK BROOK IL 60523
ATKORE INTERNATIONAL                   7819 S 206TH ST KENT WA 98032
ATKORE INTL                            CONDATA, 1315 W 22ND ST SUITE 300 OAK BROOK IL 60523
ATKORE INTL                            ATTN: RUSSELL WINKLER 11539 N HOUSTON ROSSLYN RD HOUSTON TX 77088
ATL (MC084147)                         ADDRESS ON FILE
ATL (MC850892)                         ADDRESS ON FILE
ATL (S CHICAGO HEIGHTS IL)             ADDRESS ON FILE
ATL (S CHICAGO HEIGHTS IL)             ADDRESS ON FILE
ATL COURIER, INC.                      PO BOX 569 NORCROSS GA 30091
ATL LOGISTICS1 INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ATL TRANSPORT SOLUTIONS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ATL TRANSPORTATION LLC                 3536 ABBEVILLE HWY ANDERSON SC 29624
ATLANTA BEVERAGE BASE PLANT            ATTN: AKILAH FRANKLIN 1001 GREAT SOUTHWEST PKWY ATLANTA GA 30336
ATLANTA GEAR AND AXLE, INC.            4830 MENDEL CT SW ATLANTA GA 30336
ATLANTA PAVING &                       CONCRETE CONSTRUCTION INC PO BOX 1547 NORCROSS GA 30071
ATLANTA SCALES INC                     1933 HWY 155 SOUTH MCDONOUGH GA 30253
ATLANTA SCALES INC                     2100 MEREDITH PARK DR. MCDONOUGH GA 30253
ATLANTIC CARGO CO                      ADDRESS ON FILE
ATLANTIC CARGO INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ATLANTIC CITY ELECTRIC                 500 N WAKEFIELD DR NEWARK NJ 19702
ATLANTIC CITY ELECTRIC                 P.O. BOX 17006 WILNINGTON DE 19850-7006
ATLANTIC COAST TOYOTALIFT              ADDRESS ON FILE
ATLANTIC COAST TOYOTALIFT              ADDRESS ON FILE
ATLANTIC CRANE INSPECTION SERVICES, INC PO BOX 747 BENSALEM PA 19020



Epiq Corporate Restructuring, LLC                                                                  Page 129 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 138 of 2156

Claim Name                           Address Information
ATLANTIC CROSSROADS                  ADDRESS ON FILE
ATLANTIC ELECTRIC DISTIBUTORS        ATTN: ROGER PUCILLO LANDLINK TRAFFIC 2935 SHAWNEE IND WAY SUITE 200 SUWANEE GA
                                     30024
ATLANTIC FORKLIFT SERVICES, LLC      PO BOX 560578 CHARLOTTE NC 28256
ATLANTIC FORKLIFT SERVICES, LLC      5509 DAVID COX RD. CHARLOTTE NC 28269
ATLANTIC FREIGHT TRANSPORT INC       OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
ATLANTIC INTERMODAL SERVICES LLC     PO BOX 745922 ATLANTA GA 30374-5922
ATLANTIC LIFT SERVICES LLC           PO BOX 89 OAKVILLE CT 06779
ATLANTIC PARTNERSHIP                 1639 CAMPUS AVE. ONTARIO CA 91761
ATLANTIC SOUTHERN PAVING AND         6301 W SUNRISE BLVD SUNRISE FL 33313
SEALCOATING
ATLANTIC STAINLESS                   ADDRESS ON FILE
ATLANTIC STAR TRAILERS               ADDRESS ON FILE
ATLANTIC STARS 1 LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ATLANTIC TRAILER LEASING CORP.       107 FLYATT RD TABERNACLE NJ 08088
ATLANTIC TRANSPORT INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ATLANTIC TRANSPORT, LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ATLANTIC WORLDWIDE SHIPPING LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ATLANTICUS SERVICES LLC              371 SIMONS AVE HACKENSACK NJ 07601
ATLANTIS TRANS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ATLAS BLUEPRINTS TRANSIT LLC         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
ATLAS BUILDING MAINTENANCE, INC.     3920 VETERANS MEMORIAL HWY, SUITE 5A BOHEMIA NY 11716
ATLAS COPCO COMPRESSORS LLC          DEPT. CH 19511 PALATINE IL 60055
ATLAS CORP                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ATLAS DOOR REPAIR                    ADDRESS ON FILE
ATLAS EXPEDITES LLC                  6753 BIG SKY DRIVE FLOWERY BRANCH GA 30542
ATLAS FENCE                          ADDRESS ON FILE
ATLAS FIRST ACCESS LLC               5050 N RIVER RD SCHILLER PARK IL 60176
ATLAS FIRST ACCESS LLC               27302 NETWORK PLACE CHICAGO IL 60673
ATLAS FIRST ACCESS LLC               27302 NETWORK PLACE CHICAGO IL 60673-1273
ATLAS FREIGHT INC                    OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
ATLAS FREIGHT SOLUTIONS LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ATLAS FREIGHTLINER LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ATLAS OIL COMPANY                    24501 ECORSE RD TAYLOR MI 48180
ATLAS PRESERVATION                   ATTN: COURTNEY 122 SPRING ST STE B1 SOUTHINGTON CT 06489
ATLAS RADIATOR, INC                  PO BOX 3846 SANTA FE SPRINGS CA 90670
ATLAS TECHNICAL CONSULTANTS LLC      2791 S VICTORY VIEW WAY BOISE ID 83709
ATLAS TOWING SERVICES, INC.          P O BOX 880370 SAN FRANCISCO CA 94188
ATLAS TOYOTA MATERIAL HANDLING LLC   PO BOX 772419 DETROIT MI 48277
ATLAS TOYOTA MATERIAL HANDLING LLC   27294 NETWORK PLACE CHICAGO IL 60673-1272
ATLAS TRANS INC                      1714 SIENNA CT WHEELING IL 60090
ATLAS TRUCKING LLC (MC1127317)       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ATLAS WELDING LTD                    21 KEENLEYSIDE ST WINNIPEG MB R2L 1Y7 CANADA
ATLAS WELDING LTD                    3924 MAIN ST WEST ST PAUL MB R4A 1A7 CANADA
ATLAS WIRE LLC                       1601 GLENLAKE AVE ITASCA IL 60143
ATM TRANSPORTATION SERVICES LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ATM TRUCKING, LLC                    PO BOX 1468 WETUMPKA AL 36092
ATMA TRANSPORTS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ATMOS ENERGY CORP                    PO BOX 650205 DALLAS TX 75265-0205


Epiq Corporate Restructuring, LLC                                                                Page 130 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 139 of 2156

Claim Name                          Address Information
ATOM LOGISTICS INC                  OR J D FACTORS, PO BOX 687 WHEATON IL 60187
ATOM LOGISTICS INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ATOM TRANSPORT LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ATOMIC CLEANING SYSTEMS             32310 W. 8 MILES ROAD FARMINGTON HILLS MI 48336
ATON, CREIGH                        ADDRESS ON FILE
ATOOR TRUCKING LLC                  OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
ATP LLC                             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ATR PANDHER TRANSPORT LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ATRES TRUCKING INC                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
ATRILOGY SOLUTIONS GROUP INC        9085 E. MINERAL CIRCLE, SUITE 340 CENTENNIAL CO 80112
ATRIPCO DELIVERY SERVICE            A DIVISION OF TRAILERMASTER FREIGHT CARRIERS LTD 34 CANMOTOR AVE ETOBICOKE ON
                                    M8Z 4E5 CANADA
ATRIX TRUCKING CORP                 OR RTS FINANCIAL SERVICE LLC PO BOX 840267 DALLAS TX 75284-0267
ATS                                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ATS CARRIER CORPORATION             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ATS ELECRIC INC                     D/B/A: ATS ELECTRIC INC 7220 N GLEN HARBOR BLVD STE 100 GLENDALE AZ 85307
ATS ELECTRIC INC                    7220 N GLEN HARBOR BLVD STE 100 GLENDALE AZ 85307
ATS FREEWAY                         ADDRESS ON FILE
ATS FREIGHT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ATS TRANSPORT INC                   110 VISTA RIDGE CIRCLE HINCKLEY OH 44233
ATTARDO, PASQUALE                   ADDRESS ON FILE
ATTAWAY, DON                        ADDRESS ON FILE
ATTEBERRY ENTERPRISES, LLC          14058 HWY J CONWAY MO 65632
ATTENDS HEALTHCARE                  ATTN: DOROTA DISTASIO 1029 OLD CREEK RD GREENVILLE NC 27834
ATTHOWE, ROBERT                     ADDRESS ON FILE
ATTILA L MENDLI                     ADDRESS ON FILE
ATTING MANAGEMENT GROUP LLC         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ATTOYAC ENERGY SERVICES LLC         8025 FM 1116 GONZALES TX 78629
ATTS PRESTIGIOUS LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ATUS TRUCKING AND TRANSPORT LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ATW TRUCKING                        PO BOX 590 GREENWOOD IN 46142
ATWAL LOGISTICS INC                 10229 SHOECH WAY ELK GROVE CA 95757
ATWAL TRANSPORT                     OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA QC L3V 6L4
                                    CANADA
ATWOOD ADHESIVES                    945 S. DORIS ST. SEATTLE WA 98108
ATWOOD, DUWAYNE                     ADDRESS ON FILE
ATX INC                             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AUBREY, EDDIE                       ADDRESS ON FILE
AUBREY, RICHARD                     ADDRESS ON FILE
AUBREY, RICHARD W.                  ADDRESS ON FILE
AUBURN EXPRESS INCORPORATION INC    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AUBURN POOL AND SPASUPPLY           74 S. SQUIRREL RD. AUBURN HILLS MI 48326
AUCA CHICAGO MC LOCKBOX             D/B/A: AUCA WESTERN FIRST AID LBX 25259 NETWORK PLACE CHICAGO IL 60673
AUCA CHICAGO MC LOCKBOX             D/B/A: AUCA WESTERN FIRST AID LBX 25259 NETWORK PLACE CHICAGO IL 60673-1252
AUCA CHICAGO MC LOCKBOX             D/B/A: AUCA WESTERN FIRST AID LBX C/O WESTERN FIRST AID & SAFETY P.O. BOX
                                    734514 DALLAS TX 75373
AUCA CHICAGO MC LOCKBOX             D/B/A: AUCA WESTERN FIRST AID LBX LOCKBOX P.O. BOX 734514 DALLAS TX 75373
AUCA WESTERN FIRST AID LBX          25259 NETWORK PLACE CHICAGO IL 60673
AUCA WESTERN FIRST AID LBX          C/O WESTERN FIRST AID & SAFETY P.O. BOX 734514 DALLAS TX 75373
AUCA WESTERN FIRST AID LBX          LOCKBOX P.O. BOX 734514 DALLAS TX 75373


Epiq Corporate Restructuring, LLC                                                               Page 131 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 140 of 2156

Claim Name                           Address Information
AUCA WESTERN FIRST AID LBX           AUS WEST LOCKBOX, PO BOX 101223 PASADENA CA 91189
AUDIT ASSISTANTS                     1099 COTTAGEVILLE LN THE VILLAGES FL 32162
AUDITOR OF STATE                     UNCLAIMED PROPERTY DIVISION 1401 WEST CAPITAL AVE STE 325 LITTLE ROCK AR 72201
AUDLEY, JIM                          ADDRESS ON FILE
AUDORFF A CARTER                     ADDRESS ON FILE
AUDORFF, CARTER                      ADDRESS ON FILE
AUDORFF, CARTER A                    ADDRESS ON FILE
AUDROSS TRANSPORTATION INC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AUDY L MAGGARD                       ADDRESS ON FILE
AUGENSTEIN, JAMES                    ADDRESS ON FILE
AUGER, BRIAN                         ADDRESS ON FILE
AUGMENTED TRANSPORT LTD              49-2500 WILLIAM PARKWAY BRAMPTON ON L6S 5M9 CANADA
AUGRORA VG MORALES                   ADDRESS ON FILE
AUGUST E MILLER                      ADDRESS ON FILE
AUGUST, WALTER                       ADDRESS ON FILE
AUGUSTA COUNTY SERVICE AUTH          18 GOVERNMENT CENTER LANE VERONA VA 24482-2639
AUGUSTA COUNTY TREASURERS OFFICE     18 GOVERNMENT CENTER LANE PO BOX 590 VERONA VA 24482
AUGUSTA COUNTY TREASURERS OFFICE     RICHARD T HOMES TREASURER, PO BOX 590 VERONA VA 24482
AUGUSTA DELIVERY SVC                 PO BOX 211651 AUGUSTA GA 30917
AUGUSTA HEALTH WORKPLACE WELLNESS    57 NORTH MEDICAL PARK DRIVE SUITE 101 FISHERSVILLE VA 22939
AUGUSTA HEALTH WORKPLACE WELLNESS    AUGUSTA HEALTH, 78 MEDICAL CENTER DRIVE FISHERSVILLE VA 22939
AUGUSTA LAWN CARE SERVICES           PO BOX 3492 CENTRAL POINT OR 97502
AUGUSTA LOGISTICS LLC                OR ACTION CAPITAL CORP 230 PEACHTREE ST STE 910 ATLANTA GA 30303
AUGUSTA TIRE & AUTO CO., LLC         250 INDUSTRIAL DRIVE AUGUSTA WI 54722
AUGUSTA TRANSPORTATION               PO BOX 1867 AUGUSTA GA 30903
AUGUSTAD, ROBIN                      ADDRESS ON FILE
AUGUSTE, MICHELINE                   ADDRESS ON FILE
AUGUSTE, MICHELINE                   ADDRESS ON FILE
AUGUSTIN, CLAUDELL                   ADDRESS ON FILE
AUGUSTINS TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AUGUSTUS LANDSCAPING AND DESIGN      207 EVERETT PL MAYBROOK NY 12543
AUGUSTUS WORLD TRANSPORTATION        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AUGUSTUS, JOHNATHAN                  ADDRESS ON FILE
AUGUSTUS, ORLANDO                    ADDRESS ON FILE
AUGUSTUS, ORLANDO                    ADDRESS ON FILE
AUJLA INC                            672 LEGACY BLVD GREENWOOD IN 46143
AUKES, MELISSA                       ADDRESS ON FILE
AULAKH BROS TRANS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AULAKH, MALKIT                       ADDRESS ON FILE
AULDS QUIK SAND                      BOX 16001 WINNIPEG MB R3A 0E1 CANADA
AULENBACH, KIRK                      ADDRESS ON FILE
AULSBROOK, DON                       ADDRESS ON FILE
AULT, TOMMY                          ADDRESS ON FILE
AUM LIBERTY LLC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
AUMER, GARY                          ADDRESS ON FILE
AUNSPAUGH, SUSAN                     ADDRESS ON FILE
AURA FRAGRANCES OF PARIS LLC         C/O: BRIAN BODEL 13225 FARM TO MARKET RD 529 SUITE 106 HOUSTON TX 77041
AURA FRAGRANCES OF PARIS LLC         ATTN: GENERAL COUNSEL 12436 FM 1960 W HOUSTON TX 77065
AURIZON LOGISTICS INC                OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON BC L6T 5C5 CANADA



Epiq Corporate Restructuring, LLC                                                                Page 132 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 141 of 2156

Claim Name                              Address Information
AURORA BUSINESS PARK ASSOCIATES LP      1225 JORDAN CREEK PKWY 200 WEST DES MOINES IA 50266
AURORA BUSINESS PARK ASSOCIATES LP      PO BOX 310061 DES MOINES IA 50331
AURORA FREIGHT INC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
AURORA INNOVATIONS INC                  29862 E ENID RD EUGENE OR 97402
AURORA PARTS                            500 S ENTERPRISE BLVD LEBANON IN 46052
AURORA PARTS                            ATTN: TIFFANY 500 S ENTERPRISE BLVD LEBANON IN 46052
AURORA PARTS & ACCESSORIES INTL INC     100 N TRYON STREET CHARLOTTE NC 28255
AURORA PARTS & ACCESSORIES INTL INC     PO BOX 14476 CHICAGO IL 60696
AURORA PARTS & ACCESSORIES INTL INC     PO BOX 90399 CHICAGO IL 60696-0399
AURORA PARTS & ACCESSORIES LLC          3605 ROYAL S PARKWAY STONEWALL GA 30349
AURORA PARTS & ACCESSORIES LLC          500 S ENTERPRISE BLVD LEBANON IN 46052
AURORA PARTS & ACCESSORIES LLC          AURORA PARTS & ACCESSORIES INTL INC. PO BOX 14476 CHICAGO IL 60696
AURORA PARTS & ACCESSORIES LLC          PO BOX 90399 CHICAGO IL 60696
AURORA TRANSPORTATION GROUP CORP        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
AURORA TRANSPORTATION LLC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
AURORA TRANSPORTATION SERVICES LLC      OR RTS FINANCIAL SERVICE LLC PO BOX 840267 DALLAS TX 75284
AURORA WATER                            15151 E ALAMEDA PKWY 3600 AURORA CO 80012
AURUBIS BUFFALO, INC                    400 MILLITARY ROAD BUFFALO NY 14207
AUS EXTINGUISHER SERVICE LLC            PO BOX 700790 KAPOLEI HI 96709
AUS EXTINGUISHER SERVICE LLC            PO BOX 29515 HONOLULU HI 96820
AUS ST.LOUIS MC LOCKBOX                 26792 NETWORK PLACE CHICAGO IL 60673
AUS TEX TOWING & RECOVERY LLC           PO BOX 2449 PFLUGERVILLE TX 78691
AUS TEX TOWING & RECOVERY LLC           PO BOX 15979 AUSTIN TX 78761
AUSCOR TRANSPORTATION SERVICES          PO BOX 625 BERNARDSVILLE NJ 07924
AUSHERMAN, PAUL                         ADDRESS ON FILE
AUSMUS, DANIEL                          ADDRESS ON FILE
AUSTELL NATURAL GAS SYSTEM              2838 JOE JERKINS BLVD. AUSTELL GA 30106
AUSTIN & AUSTIN TRANSPORT SERVICE LLC   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
AUSTIN BROWN TRUCKING LLC               OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
AUSTIN D KLINCK                         ADDRESS ON FILE
AUSTIN FENCE LLC                        713 W 14TH ST AUSTIN TX 78724
AUSTIN HOCH                             ADDRESS ON FILE
AUSTIN HOSTETLER                        ADDRESS ON FILE
AUSTIN KAYAK LLC                        3332 A US HWY 64 N MURRAY KY 42071
AUSTIN LOGISTICS LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
AUSTIN, CHRISTOPHER                     ADDRESS ON FILE
AUSTIN, CURTIS                          ADDRESS ON FILE
AUSTIN, DANIEL L                        ADDRESS ON FILE
AUSTIN, DAVID                           ADDRESS ON FILE
AUSTIN, DEJANAE                         ADDRESS ON FILE
AUSTIN, DERYAN                          ADDRESS ON FILE
AUSTIN, ERIC                            ADDRESS ON FILE
AUSTIN, HAILEY D                        ADDRESS ON FILE
AUSTIN, JAMAR                           ADDRESS ON FILE
AUSTIN, JAMES                           ADDRESS ON FILE
AUSTIN, JAMES                           ADDRESS ON FILE
AUSTIN, JENNIFER                        ADDRESS ON FILE
AUSTIN, JEROME                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 133 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 142 of 2156

Claim Name                             Address Information
AUSTIN, MARLA                          ADDRESS ON FILE
AUSTIN, RADAWN                         ADDRESS ON FILE
AUSTIN, WILLIAM                        ADDRESS ON FILE
AUSTIN-JAWAY LLC                       100 STATON RD GREENVILLE NC 27834
AUSTINS AIR CONDITIONING AND HEATING   4460 CLEO AVE MEMPHIS TN 38122
AUTANA SOLUTIONS LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AUTHENTIC FB LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
AUTHENTIC QUALITY TRANSPORT            26401 ELINORE AVE EUCLID OH 44132
AUTHENTICRISS TRUCKING INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AUTO CARRIER LLC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
AUTO DIESEL CORRAL                     3791 INTERSTATE HWY 30 E SULPHUR SPRINGS TX 75482
AUTO EXPRESS SALDIVAR, LLC             2653 DEER TRAIL BROWNSVILLE TX 78521
AUTO FIRST LLC                         42 WEST ALLEN STREET MECHANICSBURG PA 17055
AUTO FURY LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AUTO GLASS BY JACK                     3289 ROBINHOOD LN WINSTON GA 30187
AUTO GLASS BY JACK                     12900 HWY 49 HEFLIN AL 36264
AUTO GLASS EXPRESS LLC                 PO BOX 1352 HIXSON TN 37343
AUTO GLASS ONE PLUS                    318 GINGELL RD JOHANNESBURG MI 49751
AUTO GLASS SERVICE                     32347 COLLECTION CENTER DRIVE CHICAGO IL 60693
AUTO HOUSE TOWING & RECOVERY           PO BOX 498 MCPHERSON KS 67460
AUTO MECH LOC 701                      WELFARE AND PENSION FUNDS 361 S. FRONTAGE RD. BURR RIDGE IL 60527
AUTO NET TRADE INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AUTO NET TRANS INC                     OR RTS FINANCIAL SERVICE LLC PO BOX 840267 DALLAS TX 75284
AUTO R TRANSPORT INC                   OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
AUTO R TRANSPORT INC                   12510 CHESSINGTON DR HOUSTON TX 77031
AUTO RENTAL SERVICES                   5404 ABBOT DRIVE OMAHA NE 68110
AUTO SERVICES & TRANSPORTATION PRO-1   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
LLC
AUTO TRANSPORT LLC                     OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
AUTO TRUCK CENTER                      D/B/A: ATC INC 941 66TH AVE SW CEDAR RAPIDS IA 52404
AUTO WEAVE UPHOLSTERY                  2613 W 64TH AVENUE DENVER CO 80221
AUTO WEAVE UPHOLSTERY                  7158 N. WASHINGTON STREET DENVER CO 80229
AUTO WHEEL AND RIM SERVICE CO          1208 E MORGAN AVE EVANSVILLE IN 47711
AUTO-WARES, LLC                        2665 84TH ST BYRON CENTER MI 49315
AUTOBAHN EXPRESS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AUTOBAHN FREIGHT LINES LTD             OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T 5C5 CANADA
AUTOBUDS TRANSPORT LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AUTOBUS GIRARDIN INC                   ATTN: DENIS CANUEL 4000 RUE GIRARDIN DRUMMONDVILLE QC J2E 0A1 CANADA
AUTOCRAFTERS                           211 RAILROAD ST. ATKINS IA 52206
AUTODINA CORP                          526 KEEPATAW DR LEMONT IL 60439
AUTOGRAPH LOGISTICS, INC.              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
AUTOKING LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AUTOLIV ASP INC EDI                    3350 AIRPORT RD OGDEN UT 84405
AUTOLOGIC TRANSPORT INC                OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON AB L6T 5C5 CANADA
AUTOMAN EXPRESS INC                    OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T5C5 CANADA
AUTOMANN                               ATTN: ALAN CHANG 3940 EARLSTONE ST STE B ONTARIO CA 91761
AUTOMANN IL                            ATTN: DAVID MORRISON 2301 WEST HAVEN AVE NEW LENOX IL 60451
AUTOMATED GATE ACCESS                  PO BOX 68 STATHAM GA 30666
AUTOMATED GATE SERVICES INC            526 PRINCELAND COURT CORONA CA 92879



Epiq Corporate Restructuring, LLC                                                                   Page 134 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 143 of 2156

Claim Name                              Address Information
AUTOMATED MECHANICAL                    1574 W 2650 S OGDEN UT 84401
AUTOMATIC DEVICES CO                    2121 S 12TH ST ALLENTOWN PA 18103
AUTOMATIC DOOR SERVICE                  4549 40TH STREET SE KENTWOOD MI 49512
AUTOMATIC DOOR SPECIALISTS INC          94-150 LEOLEO ST UNIT 114 WAIPAHU HI 96797
AUTOMATIC FIRE SYSTEMS OF AUGUSTA LLC   3326 MIKE PADGETT HWY AUGUSTA GA 30906
AUTOMATIC ICE CO                        PO BOX 662 NEWBERG OR 97132
AUTOMATTIC, INC.                        PO BOX 742771 LOS ANGELES CA 90074
AUTOMOBILE MECHANICS LOCAL 701          ATTN: GENERAL COUNSEL 361 S. FRONTAGE ROAD SUITE 100 BURR RIDGE IL 60527
AUTOMOBILE MECHANICS LOCAL 701          ATTN: GENERAL COUNSEL ATTN: GENERAL COUNSEL 361 S. FRONTAGE ROAD, SUITE 100
                                        BURR RIDGE IL 60527
AUTOMOBILE MECHANICS LOCAL 701          UNION AND INDUSTRY PENSION PLAN 361 S. FRONTAGE ROAD, SUITE 100 BURR RIDGE IL
                                        60527
AUTOMOBILE MECHANICS LOCAL 701          UNION AND INDUSTRY WELFARE PLAN 361 S. FRONTAGE ROAD, SUITE 100 BURR RIDGE IL
                                        60527
AUTOMOBILE MECHANICS LOCAL 701          C/O: JOHNSON & KROL, LLC ATTN: LUCAS J. HABEEB 311 S. WACKER DR., STE. 1050
                                        CHICAGO IL 60606
AUTOMOBILE MECHANICS LOCAL 701          UNION AND INDUSTRY PENSION FUND C/O JOHNSON KROL LLC ATTN LUCAS J HABEEB 311
                                        S. WACKER DR., STE. 1050 CHICAGO IL 60606
AUTOMOBILE MECHANICS LOCAL NO 701       450 GUNDERSEN DRIVE CAROL STREAM IL 60188
AUTOMOBILE MECHANICS-H & W FUND         PO BOX 818 BEDFORD PARK IL 60499
AUTOMOBILE MECHANICS-H & W FUND         WELFARE AND PENSION FUNDS 361 S. FRONTAGE RD. BURR RIDGE IL 60527
AUTOMOBILE MECHANICS-PENSION FUND       PO BOX 818 BEDFORD PARK IL 60499
AUTOMOTIVE BRAKE CO                     314 RAILROAD AVE 320 HACKENSACK NJ 07601
AUTOMOTIVE EQUIPMENT WAREHOUSE INC      7689 CORPORATE BLVD PLAIN CITY OH 43064
AUTOMOTIVE LIFT SERVICE INC             33 AMY WAY HANOVER PA 17331
AUTOMOTIVE PARTS HEADQUATERS            2959 CLEARWATER RD ST CLOUD MN 56301
AUTOMOTIVE TECHNOLOGY, INC.             544 MAE COURT FENTON MO 63026
AUTONATION NISSAN CHANDLER              1350 S GILBERT RD CHANDLER AZ 85286
AUTONOMOUS TRUCKING LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
AUTOTRANSPORTES FRONTERIZO M.G.         RFC. FCM1707183Y7 FRANCISCO I MADERO 4240 COL HIDALGO 87348 NUEVO LAREDO NUEVO
                                        LAREDO 87348 MEXICO
AUTOTRANSPORTES FRONTERIZO M.G.         SENDERO NACIONAL 1-C COL LOPEZ PORTILLO HEROICA 87348 MATAMOROS TAMAULIPAS
                                        87348 MEXICO
AUTOTRANSPORTES MORA                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AUTOWAVE INCORPORATED                   11131 CREGO RD AKRON NY 14001
AUTOZONE                                ATTN: CARA RICHTER FEDEX LOGISTICS CLAIMS 1400 LOMBARDI AVE STE 204 GREEN BAY
                                        WI 54304
AUTREY, RYAN                            ADDRESS ON FILE
AUTRY, MARTY                            ADDRESS ON FILE
AUTRY, MITCHELL G                       ADDRESS ON FILE
AUTRY, UTAH                             ADDRESS ON FILE
AUTUMN ADDICTION ARCHERY AND FIREARMS   3278 STATE RTE. 5 CORTLAND OH 44410
AV CARRIERS INC                         OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
AV EXPRESS LOGISTICS INC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
AV PLUMBING, LLC                        208 E. MINNESOTA RD., STE. D PHARR TX 78577
AV TRANS LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AV TRANS LLC (FERNDALE WA)              OR ORANGE COMMERICAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
AV TRANSPORT LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AV TRUCKING                             1560 ROGERS RD LANCASTER KY 40444
AV TRUCKING & CO                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                    Page 135 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 144 of 2156

Claim Name                          Address Information
AV TRUCKING INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
AV-DG LOGISTICS                     OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
AVA CARRIER LLC                     PO BOX 80733 LINCOLN NE 68501-0733
AVA FREIGHT SOLUTIONS LLC           8637 WYNGATE STREET, 0 SUNLAND CA 91040
AVA SEATON                          ADDRESS ON FILE
AVA TRACE TRUCKING LLC              PO BOX 2875 RIVERVIEW FL 33568
AVA TRANS INC                       OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
AVA TRANSPORT LLC                   303 CEDAR CREEK RD, APT 7E WINDER GA 30680
AVAIL TRANSPORT INC                 OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
AVAKS EXPRESS INC                   12506 34TH AVE SE EVERETT WA 98208
AVALA EXPEDITE INC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
AVALA EXPRESS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
AVALA EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AVALANCHE STRATEGIES LLC            118 DIXON ST SELBYVILLE DE 19975
AVALANCHE TRUCKING LLC              OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
AVALARA                             DEPT CH 16781 PALATINE IL 60055
AVALON & TAHOE                      ATTN: TONY SIMS 5876 DARROW RD HUDSON OH 44236
AVALON DOCUMENT SERVICES            1360 EAST 9TH STREET, SUITE 150 CLEVELAND OH 44114
AVALON EXPRESS, INC.                32453 64TH AVE WAY CANNON FALLS MN 55009
AVALON PETROLEUM COMPANY            7326 EAGLE WAY CHICAGO IL 60678
AVALON TRANSLINK                    OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
AVALOS, JOE                         ADDRESS ON FILE
AVALOS, JOSE                        ADDRESS ON FILE
AVALOS, LEONARDO                    ADDRESS ON FILE
AVALOS, LUIS                        ADDRESS ON FILE
AVALOS-GARCIA, VIDAL                ADDRESS ON FILE
AVAN TRUCKING LLC                   OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
AVAN TRUCKING LLC (MC105075)        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
AVANES INC                          312 W PROVIDENCE RD ALDAN PA 19018
AVANT TRANSPORTATION LLC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
AVANT, DONOVAN                      ADDRESS ON FILE
AVANTI LOGISTIC SERVICES INC        OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
AVANTOR                             ATTN: CATHY HACKER 2360 ARGENTIA RD MISSISSAUGA ON L5N 5Z7 CANADA
AVANTOR                             ATTN: CATHY HACKER 2360 ARGENTIA RD MISSISSUAGA ON L5N 5Z7 CANADA
AVANTOR SCIENCE DELIVERED BY VWR    ATTN: STEPHANIE HEWINS PO BOX 640169 PITTSBURGH PA 15264
AVANTS, GLENN                       ADDRESS ON FILE
AVATAR EXPRESS INC                  9464 TWIN OAKS PL RANCHO CUCAMONGA CA 91730
AVAX LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AVAYA INC.                          PO BOX 5332 NEW YORK NY 10087
AVC SERVICES INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AVCO DISPOSAL INC                   BURRTEC WASTE INDUSTRIES INC AVCO/VICTORVILLE PO BOX 516512 LOS ANGELES CA
                                    90051
AVCO DISPOSAL INC                   AVCO/VICTORVILLE PAYMENT PROCESSING CENTER PO BOX 6736 BUENA PARK CA 90622
AVCO DISPOSAL INC                   2838 JOE JERKINS BLVD. VICTORVILLE CA 92394
AVD TRANSPORT CORP                  22075 RED OAK DR ROGERS MN 55374
AVD TRANSPORT CORP                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AVDIU, IRFAN                        ADDRESS ON FILE
AVDYEV, MARAT                       ADDRESS ON FILE
AVELAR, FREDERICK                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 136 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 145 of 2156

Claim Name                           Address Information
AVELAR, FREDERICK J                  ADDRESS ON FILE
AVELINO VIP TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AVELLANEDA, WASHINGTON               ADDRESS ON FILE
AVELYN, STEPHEN                      ADDRESS ON FILE
AVELYN, TAMMIE                       ADDRESS ON FILE
AVELYN, THOMAS                       ADDRESS ON FILE
AVEN, MICHAEL                        ADDRESS ON FILE
AVENARIUS, RITCHIE                   ADDRESS ON FILE
AVENARIUS, RITCHIE J                 ADDRESS ON FILE
AVENEL TRUCK & EQUIPMENT INC.        200 ESSEX AVE E AVENEL NJ 07001
AVENEL TRUCK & EQUIPMENT INC.        PO BOX 167 AVENEL NJ 07001
AVENGERS LOGISTICS                   2226 ENCOMPASS DR CHATTANOOGA TN 37421
AVENGERS TRUCKING LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AVENI, DIANA                         ADDRESS ON FILE
AVENIR APARTMENTS                    1109 N. IH 35 AUSTIN TX 78702
AVENTINO, JOSEPH                     ADDRESS ON FILE
AVENTUS FREIGHT CORP                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AVENTUS TRANSPORTATION LLC           1209 SE 4TH AVE BATTLE GROUND WA 98604
AVENTY TRANSPORT INC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
AVENUE E ENTERPRISES, LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AVENUE LOGISTICS                     ATTN: JOHN PITTAS LTL CLAIMS- ATTN JOHN PITTAS 325 W OHIO ST CHICAGO IL 60654
AVENUE LOGISTICS                     ATTN: JOHN PITTAS LTL CLAIMS 325 W OHIO ST CHICAGO IL 60654
AVERITT EXPRESS                      PO BOX 3166 COOKEVILLE TN 38502-3166
AVERITT EXPRESS INC.                 PO BOX 102197 ATLANTA GA 30368
AVERS, JEREMY                        ADDRESS ON FILE
AVERY FASSON                         ATTN: DEBRA SMITH TRANS INTERNATIONAL N93 W16288 MEGAL DRIVE MENOMONEE FALLS
                                     WI 53051
AVERY FASSON                         C/O TRANS INTERNATIONAL N93 W16288 MEGAL DR MENOMONEE FALLS WI 53051
AVERY GRAPHIC                        TRANS INTERNATIONAL N93 W16288 MEGAL DRIVE MENOMONEE FALLS WI 53051
AVERY PETERS                         ADDRESS ON FILE
AVERY PRODUCTS                       PO BOX 96672 CHICAGO IL 60693
AVERY PRODUCTS                       50 POINT DR BREA CA 92821
AVERY PRODUCTS                       ATTN: NANCY ONESKO 50 POINTE DR BREA CA 92821
AVERY PRODUCTS                       ATTN: VALERIE TAYLOR 50 POINTE DR BREA CA 92821
AVERY PRODUCTS                       ATTN: YOLANDA 50 POINTE DR BREA CA 92821
AVERY PRODUCTS CORPORATION           50 POINTE DR BREA CA 92821
AVERY REFLECT                        C/O TRANS INTERNATIONAL CO INC N93 W16288 MEGAL DR MENOMONEE FALLS WI 53051
AVERY WEIGH-TRONIX                   6429 ABRAMS ST. SAINT-LAURENT QC H4S 1X9 CANADA
AVERY WEIGH-TRONIX                   ATTN: HOLLY HAARER 6429 ABRAMS MONTREAL QC H4S 1X9 CANADA
AVERY WEIGH-TRONIX LLC               75 REMITTANCE DR STE 1982 CHICAGO IL 60675
AVERY WEIGH-TRONIX LLC               1000 ARMSTRONG DRIVE FAIRMONT MN 56031
AVERY, BILL                          ADDRESS ON FILE
AVERY, JAY                           ADDRESS ON FILE
AVERY, JONATHAN                      ADDRESS ON FILE
AVERY, KEITH                         ADDRESS ON FILE
AVERY, LEN                           ADDRESS ON FILE
AVERY, RASHAD                        ADDRESS ON FILE
AVERY, ROBERT                        ADDRESS ON FILE
AVERY, SEAN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 137 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 146 of 2156

Claim Name                           Address Information
AVERY, SYLVESTER                     ADDRESS ON FILE
AVERY, TOMMIE                        ADDRESS ON FILE
AVES ELECTRIC                        543-F W BETTERAVIA RD SANTA MARIA CA 93455
AVET TRUCKING                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AVETOBU TRANSPORT SOLUTIONS LLC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AVEY, BAILEY                         ADDRESS ON FILE
AVEY, OCTAVIA                        ADDRESS ON FILE
AVEYAN TRUCKING INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
AVEZAC TRUCKING LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AVF EXPRESS LLC                      OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
AVH EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AVI FOODSYSTEMS, INC.                ATTN: KEVIN HAKE 8234 EXPANSION WAY HUBER HEIGHTS OH 45424
AVI SYSTEM, INC                      NW8393, PO BOX 1450 MINNEAPOLIS MN 55485
AVIENT                               ATTN: MARYJOY DIZON BARRAMEDA SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE
                                     WI 53278
AVIENT                               C/O SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
AVIENT                               C/O SCHNEIDER LOGISTICS, PO BOX 78158 MILWAUKEE WI 53278
AVIENT                               SCHNEIDER LOGISTICS INC. PO BOX 78158 MILWAUKEE WI 53278
AVIENT                               649 ARDMORE ADDISON IL 60101
AVIENT CORPORATION                   245 AVECOR DR ATTN TINA SUTTON VONORE TN 37885
AVIGNONE, MATTHEW                    ADDRESS ON FILE
AVILA, ANGEL                         ADDRESS ON FILE
AVILA, BRIAN                         ADDRESS ON FILE
AVILA, DANNY                         ADDRESS ON FILE
AVILA, FELIPE                        ADDRESS ON FILE
AVILA, FERNANDO                      ADDRESS ON FILE
AVILA, IRVIN DARIO                   ADDRESS ON FILE
AVILA, ISSAC                         ADDRESS ON FILE
AVILA, JAMES                         ADDRESS ON FILE
AVILA, JONI                          ADDRESS ON FILE
AVILA, KEVIN                         ADDRESS ON FILE
AVILA, LEANDRO                       ADDRESS ON FILE
AVILA, LINDA                         ADDRESS ON FILE
AVILA, LUIS                          ADDRESS ON FILE
AVILA, MARCOS                        ADDRESS ON FILE
AVILA, MARIA                         ADDRESS ON FILE
AVILA, OSCAR                         ADDRESS ON FILE
AVILA, PHILLIP                       ADDRESS ON FILE
AVILA, RODRIGO                       ADDRESS ON FILE
AVILA, ROGELIO                       ADDRESS ON FILE
AVILA, RUMALDO                       ADDRESS ON FILE
AVILA, VICTOR                        ADDRESS ON FILE
AVILA-CASTRO, JUAN                   ADDRESS ON FILE
AVILES TRANSPORT LLC                 OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
AVILES, CARLOS                       ADDRESS ON FILE
AVILES, MATTHEW                      ADDRESS ON FILE
AVILES-ROBBINS TRUCK LEASING, LLC    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AVILEX TRANSPORT LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086



Epiq Corporate Restructuring, LLC                                                                 Page 138 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 147 of 2156

Claim Name                           Address Information
AVILEZ CISNEROS, JORGE               ADDRESS ON FILE
AVILEZ, ALFREDO                      ADDRESS ON FILE
AVINA, RAMON                         ADDRESS ON FILE
AVIRA TRANS INC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
AVIS A WILLIAMS                      ADDRESS ON FILE
AVIS RENT-A-CAR SYSTEM, LLC          8600 HANGAR BLVD. ORLANDO FL 32827
AVISTA                               1411 E. MISSION AVE SPOKANE WA 99525-0001
AVITIA, DANIEL                       ADDRESS ON FILE
AVITIA, JAHAZIEL                     ADDRESS ON FILE
AVL TRANSPORT LLC                    9413 BASSETT LANE NORTH ROYALTON OH 44133
AVM LOGISTICS CORP                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AVM TRUCKING LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
AVNN EXPRESS TK                      13627 HART ST VAN NUYS CA 91405
AVP EXPRESS LLC                      OR YANKTON FACTORING, PO BOX 217 YANKTON SD 57078
AVR INC                              14698 GALAXIE AVE APPLE VALLEY MN 55124
AVR INC                              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
AVR TRANSPORTATION LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AVRL                                 2015 2ND AVE 1510 SEATTLE WA 98121
AVS CORPORATION                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
AVS TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AVT FREIGHT INC                      5401 ARLINGTON DR E HANOVER PARK IL 60133
AVT LOGISTICS INC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
AVTAR EXPRESS LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
AVTAR TRUCKING INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
AVTOMEDON INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AVX                                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AW LAND LLC                          20 SOUTH 6TH STREET PITTSBURGH PA 15203
AW MALAK TRANSPORTATION LLC          OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
AW TRANSPORT                         OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
AWANA TRUCKING LLC                   85 CONEFLOWER DRIVE WEST HENRIETTA NY 14586
AWANA TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
AWARD EXPRESS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
AWASH TRANSPORT                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
AWB TRANSPORT                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
AWC TRUCKING                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AWEEY TRANSPORTATION LLC             OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AWESOME WINDOW CLEANING              4044 W. 48TH ST. OLD BROOKLYN OH 44144
AWF TRANSPORT LLC                    838 CAMPBELL AVENUE PORTSMOUTH OH 45662
AWISCO NEW YORK CORP.                55-15 43RD ST MASPETH NY 11378
AWJ LOGISTICS LLC                    OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
AWL HAULING PROS LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AWOMAR LLC                           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
AWP                                  515 W. MILL ST. CULVER IN 46511
AWR TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AWR TRUCKING LLC (MC1001885)         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AWTRYS ROADSIDE REPAIR               23150 TUSSING RANCH ROAD APPLE VALLEY CA 92308
AX EXPRESS INC                       OR CAPITAL DEPOT INC 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
AX TRANSPORT AND LOGISTICS LLC       OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
AXA XL                               C/O XL INSURANCE COMPANY SE-IRISH BRANCH 1 BERMUDIANA RD HAMILTON HM 08



Epiq Corporate Restructuring, LLC                                                                 Page 139 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                            Page 148 of 2156

Claim Name                           Address Information
AXA XL                               BERMUDA
AXA XL                               677 WASHINGTON BLVD 10TH FLOOR SUITE 1000 STAMFORD CT 06902
AXA XL                               C/O GREENWICH INSURANCE COMPANY PO BOX 211547 DALLAS TX 75211
AXA XL                               C/O XL SPECIALTY PO BOX 211547 DALLAS TX 75211
AXAG ROD TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AXE, MOLLY                           ADDRESS ON FILE
AXE, RALPH                           ADDRESS ON FILE
AXELSON, QUENTIN                     ADDRESS ON FILE
AXIS BERMUDA PUNI-WRAP               C/O AXIS SPECIALTY LIMITED 92 PITTS BAY ROAD HAMILTON HM 08 BERMUDA
AXIS INSURANCE COMPANY               ATTN: SHAWN OLIVER 10000 AVALON BOULEVARD, SUITE 200 ALPHARETTA GA 30009
AXIS LOGISTICS MANAGEMENT INC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AXIS SURPLUS INSURANCE COMPANY       1000 AVALON BLVD SUITE 200 ALPHARETTA GA 30009
AXIS TRANSPORTATION LLC              OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
AXL TRANS INC                        125 W 9TH ST STE 146 TRACY CA 95376
AXLE ALS MACHINE SHOP                10803 FREMONT AVE STE A ONTARIO CA 91762
AXLE SOLUTIONS                       PO BOX 535 ST JOHN IN 46373
AXLE SURGEONS OF KC                  24425 W 55TH ST SHAWNEE KS 66226
AXLE SURGEONS OF ROCHESTER           828 CHESTNUT ST NE, PO BOX 338 MAZEPPA MN 55956
AXLE TRANSPORTATION INC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AXLEPLAY                             PO BOX 55385 PORTLAND OR 97238
AXON LOGISTICS LLC                   5222 ALLISON DRIVE TROY MI 48085
AXOS BANK                            6975 UNION PARK CENTER SUITE 200 COTTONWOOD HEIGHTS UT 84047
AXOS BANK                            4350 LA JOLLA VILLAGE DRIVE, SUITE 140 SAN DIEGO CA 92122
AXOS BANK                            6975 UNION PARK CENTER SUITE 200 SAN DIEGO CA 92122
AXOS CLEARING (0052)                 ATT CORPORATE ACTIONS DEPT 1200 LANDMARK CTR, STE. 800 OMAHA NE 68102-1916
AXSER KEO, NICHOLLE                  ADDRESS ON FILE
AXSOM, ROBERT                        ADDRESS ON FILE
AXUM TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AXXESS INTERNATIONAL INC.            100 WALNUT STREET CHAMPLAIN NY 12919
AY EXPRESS INC                       921 N HARBOR BLVD, 442 LA HABRA CA 90631
AY EXPRESS LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
AY GLOBAL LLC                        OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197
AY LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AY LOGISTICS INC (MC920171)          1808 HEMSTEAD CT MODESTO CA 95355
AY TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AYA TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AYALA AND SONS TRUCKING LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AYALA, ALFRED                        ADDRESS ON FILE
AYALA, ANTONIO                       ADDRESS ON FILE
AYALA, ANTONIO                       ADDRESS ON FILE
AYALA, ARTURO                        ADDRESS ON FILE
AYALA, CARLOS                        ADDRESS ON FILE
AYALA, CARLOS                        ADDRESS ON FILE
AYALA, FRANK                         ADDRESS ON FILE
AYALA, JAMIE                         ADDRESS ON FILE
AYALA, JONOVAN                       ADDRESS ON FILE
AYALA, JORGE                         ADDRESS ON FILE
AYALA, JOSE                          ADDRESS ON FILE
AYALA, KENNETH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 140 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 149 of 2156

Claim Name                               Address Information
AYALA, LORENA                            ADDRESS ON FILE
AYALA, MARIO                             ADDRESS ON FILE
AYALA, MARY                              ADDRESS ON FILE
AYALA, RAFAEL                            ADDRESS ON FILE
AYALA, ROBERT                            ADDRESS ON FILE
AYALA, STEVE                             ADDRESS ON FILE
AYALAS TRUCKING LLC                      OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
AYAT LOGISTICS                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AYBAR LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AYBAR, EZEQUIEL                          ADDRESS ON FILE
AYC GROUP                                ATTN: JACOB JACKSON 1036 S JUPITER RD STE 200 GARLAND TX 75042
AYC GROUP                                ATTN: SANTOS NERI 1036 S JUPITER RD STE 200 GARLAND TX 75042
AYC TRUCKING CORP                        OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
AYC TRUCKINGS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AYE, DONALD                              ADDRESS ON FILE
AYE1TRANSPORTSLLC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
AYED, KALLED                             ADDRESS ON FILE
AYER, KEITH                              ADDRESS ON FILE
AYER, KEITH A                            ADDRESS ON FILE
AYERS OIL CO.                            610 N 4TH ST CANTON MO 63435
AYERS TOWING SERVICE INC                 138 SPRUCE ST MOUNTAIN TOP PA 18707
AYERS TOWING SERVICE INC                 PO BOX 29 MOUNTAIN TOP PA 18707
AYERS, ANTHONY                           ADDRESS ON FILE
AYERS, CATHLEEN                          ADDRESS ON FILE
AYERS, CHESTER A                         ADDRESS ON FILE
AYERS, DALE                              ADDRESS ON FILE
AYERS, DANNY                             ADDRESS ON FILE
AYERS, ELMER                             ADDRESS ON FILE
AYERS, JASON                             ADDRESS ON FILE
AYERS, JOSEPH                            ADDRESS ON FILE
AYERS, JUSTIN                            ADDRESS ON FILE
AYERS, MICHAEL                           ADDRESS ON FILE
AYG CARRIER LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AYLIN TRANS EXPRESS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AYNAN TRANSPORT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AYODELE, OLAJUMOKE                       ADDRESS ON FILE
AYON SALCIDO, ABRAHAM                    ADDRESS ON FILE
AYON TRANSPORT                           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
AYON, AARON                              ADDRESS ON FILE
AYS TRANSPORT INC                        PO BOX 550521 GASTONIA NC 28055-0521
AYS TRUCKLINE INC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
AYTES, BRYN                              ADDRESS ON FILE
AYUB TRANSPORT LLC                       OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
AYUB, YURI G                             ADDRESS ON FILE
AYUOB, HUSAM                             ADDRESS ON FILE
AYZAH EXPRESS INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
AZ DEPT OF REVENUE - INCOME TAX DEPT     PO BOX 29079 PHOENIX AZ 85038
AZ DEPT OF REVENUE - SALES AND USE TAX   PO BOX 29010 PHOENIX AZ 85038
AZ DEPT OF WEIGHTS AND MEASURES          1688 W. ADAMS STREET PHOENIX AZ 85007



Epiq Corporate Restructuring, LLC                                                                     Page 141 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 150 of 2156

Claim Name                          Address Information
AZ EXPRESS LINE INC                 1014 AVE N APT D9 BROOKLYN NY 11230
AZ GLOBAL INC                       OR FAIR FACTORING AND FINANCING INC 276 SHERYL DR DELTONA FL 32738
AZ LINE EXPRESS INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
AZ LOGISTICS LLC                    2648 MEDINA RD MEDINA OH 44256
AZ PRINT SOURCE                     ATTN: SEYAR WALIZADA 950 DETROIT AVE, STE 5 CONCORD CA 94518
AZ SUNSET LOGISTICS LLC             7331 W FLEETWOOD LN GLENDALE AZ 85303
AZ TRAILER SOLUTIONS                PO BOX 603 TOLLESON AZ 85353
AZ TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AZ TRANSPORT, LLC                   6704 HOLLYTREE CIRCLE TYLER TX 75703
AZ TRUCKING LLC                     OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
AZ TRUCKING MASTER LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AZALEA CITY CLEANING SERVICE        2501 MORRISON RD VALDOSTA GA 31606
AZAM & ASHER EXPRESS INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
AZDAIC, ALMIR                       ADDRESS ON FILE
AZE INC.                            OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
AZELIS AMERICAS CASE LLC            225 PICTORIA AVE 550 CINCINNATI OH 45246
AZER SCIENTIFIC ECHO                ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60673
AZEVEDO, JOE                        ADDRESS ON FILE
AZI EXPRESS LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
AZIA TRANS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AZIDOLF TRUCKING LLC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                    76116
AZIM CARGO INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AZIMOV, SHAHLAR                     ADDRESS ON FILE
AZIZ TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
AZR TRANSPORT LLC                   1407 KEY DEER DR LAREDO TX 78045-7142
AZT AUTOS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
AZTEC DELIVERY SYSTEM INC           2454 GOLDEN BEAR CIRCLE STOCKTON CA 95209
AZTEK LOGISTICS INC                 OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
AZUS RETAIL PARTNERS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
AZX TRUCKING LLC                    OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
AZZ LOGISTICS INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
AZZA LOGISTICS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
AZZAMA TRANSPORTATION LLC           OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
AZZIZA LOGISTICS LLC                OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
B & B AUTO SUPPLY                   ATTN: NINA AMATO 3232 NW INDUSTRIAL STE B PORTLAND OR 97210
B & B CARRIERS LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
B & B CONSTRUCTION LLC              204 LOS RANCHOS RD NE ALBUQUERQUE NM 87113
B & B DIESEL SERVICE                ATTN: BOBBY FAVELA 3182 SPRING WILLOW DR EL PASO TX 79938
B & B DIESEL SERVICE                PO BOX 2655 FRESNO CA 93745
B & B DO IT BEST HARDWARE INC       908 WEST 4TH STREET MILAN IL 61264
B & B ELECTRIC, INC.                1303 WESTERN AVE EAU CLAIRE WI 54703
B & B LOGISTICS EXPRESS LLC         OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
B & B RELOCATION SERVICES INC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
B & B REPAIRS LTD                   22708 PEMBERVILLE RD LUCKEY OH 43443
B & B SERVICES                      500 S KALAMAZOO AVE MARSHALL MI 49068
B & B TRAILERS                      13584 AIRLINE HWY. GONZALES LA 70737
B & B TRANSFER LLC                  22192 S GARRYOWEN RD BERNARD IA 52032
B & B TRANSPORTATION LLC            612 N TWIN TOWERS CIR, 0 SIOUX FALLS SD 57103



Epiq Corporate Restructuring, LLC                                                                Page 142 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 151 of 2156

Claim Name                             Address Information
B & B TRUCK & TRAILER SERVICE          20812 E. 550TH ST. COLONA IL 61241
B & C CARGO, INC.                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
B & C TRANSPORT LLC                    912 LAFAYETTE ST BATTLE CREEK MI 49037
B & D MOTORS, INC.                     300 S PARK ST MERRILL WI 54452
B & D TOWING AND RECOVERY LLC          4112 E SERVICE ROAD WEST MEMPHIS AR 42301
B & D TOWING AND RECOVERY LLC          4112 E SERVICE ROAD WEST MEMPHIS AR 72301
B & D TOWING AND RECOVERY LLC          P.O. BOX 75 MARION AR 72364
B & D TOWING AND RECOVERY LLC          PO BOX 72 MARION AR 72364
B & D TRUCKS & PARTS INC               7095 ALBA HWY ALBA MI 49611
B & E FREIGHT, LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
B & E SERVICES                         308 LANDIS RD HAGERSTOWN MD 21740
B & F TOWING & SALVAGE CO INC          449 OLD AIRPORT RD NEW CASTLE DE 19720
B & G ALONZO TRUCKING                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
B & G LOGISTICS CO LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
B & H FREIGHT LINE INC.                18406 ROCKHAVEN RD, PO BOX 509 HARRISONVILLE MO 64701
B & H LOGISTICS INC.                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
B & H TOWING & AUTO TRUCK CENTER       1504 BEECH ST ZANESVILLE OH 43701
B & H TRUCKING INC                     146-19 SHORE AVENUE JAMAICA NY 11435
B & J GLOBAL TRANSIT LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
B & J TRANSCO LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
B & J TRUCKING SERVICE, INCORPORATED   P O BOX 199 BORDEN IN 47106
B & K TRUCKING LLC                     287 JENNIFER LN NW LILBURN GA 30047
B & L ELECTRIC CO LLC                  114 VERMONT ROAD WEST COLUMBIA SC 29170
B & L MALONE INCORPORATED              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
B & L TOWING                           100 MINUE ST CARTERET NJ 07008
B & M DELIVERY LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
B & M LOGISTICS LLC                    5110 DEFIANCE PIKE WAYNE OH 43466
B & M SCALE, INC.                      PO BOX 345 NEW CUMBERLAND PA 17070
B & M TRANSPORTATION, LLC              P O BOX 510436 ST LOUIS MO 63151
B & M TRUCKING LLC                     PO BOX 581 CASCADE IA 52033
B & N TRUCKING INC.                    778 850 E ST. MT STERLING IL 62353
B & P ENTERPRISE INC                   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
B & P TRANSPORT LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
B & R ECKELS TRANSPORT LTD             PO BOX 6249 BONNYVILLE AB T9N 2G8 CANADA
B & R TRANSPORTATION (DALLAS TX)       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
B & S PLUMBING & HEATING, INC          889 W JOHNSON AVENUE TERRE HAUTE IN 47802
B & S TIRE SERVICE                     11677 WOODLAND LANE LAKEVILLE MN 55044
B & S TRUCKING OF JACKSON LLC          2644 ROUTE 206 SUITE A 2644 ROUTE 206 MOUNT HOLLY NJ 08060
B & T EXPRESS LANES LLC                255 MOUNTAIN WAY COVINGTON GA 30016
B & TT TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
B & V TRUCKING LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
B & W INVESTMENTS CO                   ATTN: TIM WILLIAMS PO BOX 1059 SUN VALLEY ID 83353
B & W INVESTMENTS CO                   PO BOX 683 LIBERTY LAKE WA 99019
B & W TRANSPORTATION INC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
B & W WRECKER SERVICE                  20 S GARDEN ST BOISE ID 83705
B A G TRANSPORTATION LLC               OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
B A T EXPRESS LLC                      3730 RIDGE MILL DR STE 2 HILLIARD OH 43026
B AND B ROADWAY                        5900 S LAKE FOREST DR 290 MCKINNEY TX 75070
B AND B TRANSPORT                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                   Page 143 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 152 of 2156

Claim Name                               Address Information
B AND D LIMOUSINE SERVICE INC            208 HARMONY LANE ELK GROVE VILLAGE IL 60007
B AND H DIRECT TRANSPORT LLC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
B AND J COMMERCIAL HOTSHOT & TRANS LLC   OR OTR CAPITAL LLC PO BOX 1175760 ATLANTA GA 30368-7576
B AND J EXPRESS LLC                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
B AND T TRANSPORT LLC                    OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
B AND T TRANSPORT SERVICES LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
B B T                                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
B BATTLE TRUCKING ENTERPRISES INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
B BOYZ TRANSPORT LLC                     39 DIVISION ST PORT READING NJ 07064
B BOYZ TRANSPORT LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
B C A TRUCKING                           31070 SAN ELJAY AVE CATHEDRAL CITY CA 92234
B C FREIGHT CORP                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
B C TRUCKING ASSOCIATION                 100-20111 93A AVENUE LANGLEY BC V1M 4A9 CANADA
B D E TRANS LLC                          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
B D LOGISTICS LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
B D TRANSPORTATION, INC.                 PO BOX 813 PIQUA OH 45356
B EXPRESS LLC                            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
B EXPRESS LOGISTICS LLC                  9465 COUNSELORS ROW STE 200 OFFICE 303 INDIANAPOLIS IN 46240
B FREEMAN TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
B G TRUCKING                             301 ROBINSON BLVD, SUITE 10 CALEXICO CA 92231
B GETS IT TRUCKING LLC                   OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
B GS TRUCKING INC                        OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
B H 92 TRUCKING INC.                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
B H MOTORS, LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
B H Y TRANSPORT INC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
B HUNTER TRANSPORT LLC                   OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
B JONES TRANSPORTATION INC               2315 SW 84TH AVENUE PORTLAND OR 97225
B K A TRANSPORT LLC                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
B K Y TRANSPORTATION INC                 P O BOX 482 HOLLAND OH 43528
B L T                                    PO BOX 524 LE MARS IA 51031
B LEAGUE TRUCKING LOGISTICS LLC          OR FLASH FUNDING LLC, PO BOX 224507 HOUSTON TX 75222-4507
B LINE INCORPORATED                      511 E OLD ROUTE 66 STRAFFORD MO 65757
B M LOGISTICS                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
B M S SANITATION & SAFETY INC.           800 FAREWELL ST OSHAWA ON L1H 6N5 CANADA
B M TRANSPORTATION INC                   OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
B MEYER TRUCKING LLC                     49288 HIGHWAY 64 MILES IA 52064
B N B TRANSPRTATION LLC                  605 REXTON DR WEST CHESTER PA 19380
B N F TRANS LLC                          OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                         76116
B N TRUCKING                             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
B O X PACKAGING                          ATTN: GEORGE SISILIANO 2650 GALVIN DR ELGIN IL 60124
B P SERVICES OF PALM BEACH LLC           1150 SKEES RD WEST PALM BEACH FL 33411
B P SERVICES OF PALM BEACH LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
B ROK TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
B RUSSOM TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
B S B TRANSPORT LLC                      OR QUICK FREIGHT FACTOR INC PO BOX 203802 DALLAS TX 75320
B S J TRANSPORTATION LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
B S T EXPRESS LLC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
B SONS TRANSPORTATION CARGO LLC          OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                     Page 144 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 153 of 2156

Claim Name                           Address Information
B T C                                2978 KNOCKAWUDDY DR BROWNSBURG IN 46112
B T I TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
B T S TRANSPORT COLUMBUS LLC         2825 BRETTON WOODS DR COLUMBUS OH 43231
B TOWN CARRIER INC                   UNIT 3 1680 COURTNEY PARK DR MISSISSAUGA ON L5T 1R4 CANADA
B TRANSPORT                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
B TYKWAN EXPRESS LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
B W REPAIR                           201 S CHERRY LINDSBORG KS 67456
B&A BUSINESS SERVICES LLC            OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
B&A TRANSPORTATION LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
B&A TRUCKING LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
B&B APPLIANCE INC                    1743 S ESCONDIDO BLVD ESCONDIDO CA 92025
B&B DRAIN TECH QC, INC               630 W 2ND AVE MILAN IL 61264
B&B HAULERS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
B&B LOGISTICS LLC                    PO BOX 339 BURLINGTON NC 27216
B&B SERVICE                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
B&B TRUCK SERVICE                    814 N YARDLEY RD SPOKANE VALLEY WA 99212
B&B TRUCKING                         4039 COLUMBIA AVE COLUMBIA PA 17512
B&C SEPTIC SERVICE INC               305 THREE MILE RUN ROAD SELLERSVILLE PA 18960
B&C TRUCKING                         16930 RD 26 STE C MADERA CA 93638
B&C US LOGISTICS LLC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
B&D LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
B&D TRANSPORT SERVICE                OR ECAPITAL, LLC, PO BOX 206773 DALLAS TX 75320-6773
B&G TRANSPORTATION SOLUTION, INC     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
B&G TRANSPORTATION, LLC              PO BOX 9 MADISON SD 57042
B&G TRUCK & TRAILER REPAIR           863 OLD BALTIMORE PIKE NEWARK DE 19702
B&G TRUCKING                         OR ECAPITAL FREIGHT FACTORING 174 WEST ST SOUTH 2ND FLOOR ORILLA ON L3V 6L4
                                     CANADA
B&K ELECTRIC                         74 DUBOCE AVE SAN FRANCISCO CA 94103
B&K ELECTRIC                         ATTN: EVA TAM 47 DUBOCE AVE SAN FRANCISCO CA 94132
B&L ENTERPRISES INC                  B & L ENTERPRISES INC, PO BOX 392 DAVISON MI 48423
B&M EXPRESS LLC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
B&M TRUCKING SERVICES LLC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
B&P ICE MACHINES, INC                PO BOX 100281 NASHVILLE TN 37224
B&R TRUCKING GROUP LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
B&S TRUCKING LOGISTICS LLC           OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
B&W PACKAGING SUPPLY LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
B&W TRAILER RENTAL, LLC              PO BOX 772320 DETROIT MI 48277
B&W TRANSPORT LLC                    2308 UNIONVILLE INDIAN TRAIL R INDIAN TRAIL NC 28079
B&Y TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
B-A-R-T ENERGY, LLC                  14 SPENCER DRIVE BELLOWS FALLS VT 05101
B-A-R-T ENERGY, LLC                  4 TRANSPORT PARK BELLOWS FALLS VT 05101
B-BAG TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
B-BAM LOGISTICS INC                  980 LAMBERT LN STE B ELGIN IL 60120
B-BROTHERS GROUP INC                 OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
B-INDEPENDENT LLC                    1515 N TOWN EAST BLVD 138-222 MESQUITE TX 75150
B-NASA TOWING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
B-SARAI LOGISTICS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
B-WILL TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
B. & L. TRANSPORT, INC.              PO BOX 172 WALNUT CREEK OH 44687



Epiq Corporate Restructuring, LLC                                                                 Page 145 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 154 of 2156

Claim Name                              Address Information
B. F. CONSTRUCTION, INC.                D/B/A: FONZI EXCAVATION INC 15 KELLEY RD. WILMINGTON MA 01887
B. F. FIELDS, INC                       945 DOWNING AVE ERIE PA 16511
B. KIK PROPERTIES LLC                   81180 HIGHWAY 395 N HERMISTON OR 97838
B. KIK PROPERTIES LLC                   ATTN: WILLIAM L. KIK 81180 HIGHWAY 395 N HERMISTON OR 97838
B. S. S TRUCKING INC                    30321 WHIPPLE RD UNION CITY CA 94587
B. W. MITCHUM TRUCKING CO., INC.        B. W. MITCHUM TRUCKING CO. INC. PO BOX 63308 NORTH CHARLESTON SC 29419
B.B. GLASS INC                          C\O BUTTE GLASS, 840 S. UTAH BUTTE MT 59701
B.B.K. TRANSPORT, INC.                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
B.C. FLUORESCENT SALES & SERVICE LTD.   3531 COMMERCIAL ST VANCOUVER BC V5N 4E8 CANADA
B.C. MECHANICAL INC.                    882 ANDERSON ROAD NILES MI 49120
B.D. STEEL INC.                         LASALLES GARAGE, 125 SAWMILL RD EVERETT PA 15537
B.J. TRANSPORT, INC.                    12720 SOUTH HUDSON BLVD AFTON MN 55001
B.J.S. TRANSPORT LTD                    OR BARON FINANCE HEAD OFFICE 27 ROYTEC ROAD UNIT 11 WOODBRIDGE ON L4L8E3
                                        CANADA
B.M. TRANSPORT INC                      OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197
B.WHITLOW TRUCKING                      1504 LONE STAR RIDGE RD EDMONTON KY 42129
B12 LOGISTICS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
B2B SUPPLY                              PO BOX 814244 DALLAS TX 75381
B3 LOGISTIX INC                         OR TAB BANK, PO BOX 150830 OGDEN UT 84415
BA DISTRIBUTION COMPANY                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
BA EXPRESS LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BA SERVICES LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BAAFO INC                               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BAAJ TRANSPORT LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BAALE TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAAR, JAMES                             ADDRESS ON FILE
BAARDA, RICHARD                         ADDRESS ON FILE
BAARON, INC.                            2015 GREAT TRAILS DR WOOSTER OH 44691
BAARTS TRUCKING, INC.                   BAARTS TRUCKING, INC., PO BOX 85 NORTHROP MN 56075
BAAS 24 HOUR TOWING, LLC                9070 FRANKLIN RD HEMINGFORD NE 69348
BAATH BROTHERS TRANSPORT INC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BAAZ EXPRESS INC (MC745180)             OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                        ANGELES CA 90074
BAAZ EXPRESS INC (PORT READING NJ)      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BAAZ EXPRESS INC (SACHSE TX)            3817 GEORGETOWN DR SACHSE TX 75048-4473
BAAZ FREIGHT LINES LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
BAAZ LOGISTICS INC                      42321 TRENT DRIVE CANTON MI 48188
BAAZ TRANSPORT INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BAAZ TRANSPORTATION INC                 19653 MIDDLEBELT RD ROMULUS MI 48174-9208
BAAZ TRUCKLINES INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BAAZWAY LLC                             12655 NW ALLY ELIZABETH CT PORTLAND OR 97229
BAB GLOBAL INC                          OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BAB TRANSPORT LLC (MC802798)            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                        IL 60674-0411
BABA TRANSPORTATIONLLC                  ATTN: PAUL KUMAR 100 OVERLOOK CTR FL 2 PRINCETON NJ 08540-7814
BABASHOFF, LINDA                        ADDRESS ON FILE
BABB JR., RICHARD G                     ADDRESS ON FILE
BABB, ELIJAH                            ADDRESS ON FILE
BABB, GARY E                            ADDRESS ON FILE
BABB, JAMES                             ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                    Page 146 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 155 of 2156

Claim Name                           Address Information
BABBAR TRANSPORTATION                1937 PRAIRE LN STOCKTON CA 95209
BABBIE, SHAWN                        ADDRESS ON FILE
BABCO SALES LTD.                     5488 192 STREET SURREY BC V3S 8E5 CANADA
BABCOCK, LAURA                       ADDRESS ON FILE
BABCOCK, MICHAEL                     ADDRESS ON FILE
BABCOCK, PHILLIP                     ADDRESS ON FILE
BABCOCK, WESLEY                      ADDRESS ON FILE
BABER CO                             PO BOX 1381 ALIEF TX 77411
BABER, ALYSSA                        ADDRESS ON FILE
BABER, BELINDA                       ADDRESS ON FILE
BABER, RANDY                         ADDRESS ON FILE
BABER, TYLER                         ADDRESS ON FILE
BABIC TRUCKING INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BABICK, DAVID F                      ADDRESS ON FILE
BABICK, MARK                         ADDRESS ON FILE
BABIES, JAMES                        ADDRESS ON FILE
BABILE TRANSPORTATION LLC            5004 W EQUESTRAIN PL 220 SIOUX FALLS SD 57106
BABILINE LLC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BABYLON BY TRUCK LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BACA MARIN, GUSTAVO                  ADDRESS ON FILE
BACA TRANSPORT LLC                   2701 IRA YOUNG DR STE E TEMPLE TX 76504
BACA, ALEX                           ADDRESS ON FILE
BACA, DOMINIQUE                      ADDRESS ON FILE
BACA, ELIJAH                         ADDRESS ON FILE
BACA, ISAIAH                         ADDRESS ON FILE
BACA, MARIO                          ADDRESS ON FILE
BACA, NIKO                           ADDRESS ON FILE
BACA, RAYMUNDO                       ADDRESS ON FILE
BACA, SHELDON                        ADDRESS ON FILE
BACA, STEVEN                         ADDRESS ON FILE
BACANI, ALLAIN                       ADDRESS ON FILE
BACCA, ANNA                          ADDRESS ON FILE
BACH ENVIRONMENTAL, INC.             11176 COUNTY ROUTE 9 CLAYTON NY 13624
BACH TOWING                          165 BENTON DR. EAST LONGMEADOW MA 01028
BACH TOWING                          174 SHANKER ROAD EAST LONGMEADOW MA 01028
BACHAN TRANSPORT LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
BACHEWICZ, LISA                      ADDRESS ON FILE
BACHMAN, STEVEN                      ADDRESS ON FILE
BACHMANN INDUSTRIES C/O ECHO         ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
BACHMANN, RANDY                      ADDRESS ON FILE
BACI TRANSPORT LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
BACIK, JOSEPH                        ADDRESS ON FILE
BACK 2 BACK BROKERS LLC              OR PDM FINANCIAL LLC, P.O.BOX 3336 DES MOINES IA 50316
BACK IN MOTION TRANSPORT LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BACK IN TIME TRANSPORTATION LLC      PO BOX 433 RUSSELLVILLE TN 37860-0433
BACK ON ROAD LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BACK, ALYSSA                         ADDRESS ON FILE
BACKER, DANIEL                       ADDRESS ON FILE
BACKFISCH BODY SHOP, LLC             804 WOODS LANE SIKESTON MO 63801



Epiq Corporate Restructuring, LLC                                                                 Page 147 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 156 of 2156

Claim Name                              Address Information
BACKFLOW SPECIALISTS INC                63 GREELEY AVE SAYVILLE NY 11782
BACKFLOW TECHNOLOGIES                   PO BOX 4632 RIO RICO AZ 85648
BACKFLOW TESTING AZ                     4291 W GATEKEEPER DR, SUITE 13 TUCSON AZ 85741
BACKFLOW TESTING AZ                     4291 W. GATEKEEPER DR. TUCSON AZ 85741
BACKHAUL DIRECT                         STE 400, 1 VIRGINIA AVE INDIANAPOLIS IN 46204
BACKHAUL TRANSPORT INC                  516 CONCORD ST APT 101 GLENDALE CA 91203-1582
BACKSTROM, ALEXANDER                    ADDRESS ON FILE
BACKWATER LOGISTICS LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
BACKWOODS TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BACKYARD STORAGE                        1000 TERNES DR MONROE MI 48162
BACON LOGISTICS & TRANSPORTATION LLC    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BACON PLUMBING HEATING AIR & ELECTRIC   2055 KRISTY LANE ROCKWALL TX 75032
BACON, FRANK                            ADDRESS ON FILE
BACON, GRIFFIN                          ADDRESS ON FILE
BACON, JAMES                            ADDRESS ON FILE
BACON, JANET                            ADDRESS ON FILE
BACON, JEFF                             ADDRESS ON FILE
BACON, MICHAEL                          ADDRESS ON FILE
BACON, MIKE                             ADDRESS ON FILE
BACON, STEVEN                           ADDRESS ON FILE
BACOT, JOHNNY                           ADDRESS ON FILE
BACOT, JOHNNY L                         ADDRESS ON FILE
BACOTE, LASHONDA                        ADDRESS ON FILE
BAD ASS SHIPPING SERVICE LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BADA TRANS LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BADAR TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BADAWI, YOUSSOUF                        ADDRESS ON FILE
BADE, JAMES                             ADDRESS ON FILE
BADEJO, MICHAEL                         ADDRESS ON FILE
BADER, JOHN                             ADDRESS ON FILE
BADERTSCHER, TONY                       ADDRESS ON FILE
BADESHA LOGISTICS INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BADGER EQUIPMENT RENTAL & SUPPLY INC    6298 E I-20 ABILENE TX 79601
BADGER STATE FREIGHT, INC.              6137 N AMERICAN LN, 6137 N AMERICAN LN DEFOREST WI 53532
BADGER TRUCK CENTER INC.                PO BOX 1530 MILWAUKEE WI 53201
BADGER WELDING, INC.                    387 S. CREEK ROAD RUTHERFORDON NC 28139
BADGER, GEORGE                          ADDRESS ON FILE
BADGER, JOHN                            ADDRESS ON FILE
BADGER, KENNETH                         ADDRESS ON FILE
BADIE, LACOURTLAND                      ADDRESS ON FILE
BADILLA, SALINA                         ADDRESS ON FILE
BADLANDS TOWING & ROAD SERVICE          P.O. BOX 333 LORDSBURG NM 88045
BADLEY, KELLY                           ADDRESS ON FILE
BADON, MATTHEW                          ADDRESS ON FILE
BADOVINAC, JAKE                         ADDRESS ON FILE
BAE SYSTEMS C/O CTSI GLOB               1 SOUTH PRESCOTT ST MEMPHIS TN 38111
BAEHM, WILLIAM                          ADDRESS ON FILE
BAER, CULLEN                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 148 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 157 of 2156

Claim Name                          Address Information
BAER, DAVID                         ADDRESS ON FILE
BAER, ROBERT                        ADDRESS ON FILE
BAERICK FREIGHT SERVICES            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BAERICK FREIGHT SERVICES            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
BAEZ TRANS CORP                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BAEZ TRUCK LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
BAEZ, ANTHONY                       ADDRESS ON FILE
BAEZ, ANTONIO                       ADDRESS ON FILE
BAEZ, DANIA                         ADDRESS ON FILE
BAEZ, DANIA                         ADDRESS ON FILE
BAEZ, EDDIE                         ADDRESS ON FILE
BAEZ, ETHAN                         ADDRESS ON FILE
BAEZ, ROBERTO                       ADDRESS ON FILE
BAEZ, SYDNEY                        ADDRESS ON FILE
BAF UNITED LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BAFFORD, KATIE                      ADDRESS ON FILE
BAGAROSE, VINCENT                   ADDRESS ON FILE
BAGBY, CHRISTOPHER                  ADDRESS ON FILE
BAGENSKI, THOMAS                    ADDRESS ON FILE
BAGGETT TRANSPORTATION COMPANY      5 49TH STREET NORTH BIRMINGHAM AL 35222
BAGGETT, CLAYTON                    ADDRESS ON FILE
BAGGETT, JULIE                      ADDRESS ON FILE
BAGGETT, TIM                        ADDRESS ON FILE
BAGGIANI, ALFRED C                  ADDRESS ON FILE
BAGHDAD TRUCKING INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BAGI LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BAGI LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BAGLEY, DRUELTON                    ADDRESS ON FILE
BAGLEY, MACK                        ADDRESS ON FILE
BAGMASTERS                          1540 19TH ST N ST PETERSBURG FL 33713
BAGRI, SUKHJINDER                   ADDRESS ON FILE
BAGSHAW, ROD                        ADDRESS ON FILE
BAGWELL, DELMAS                     ADDRESS ON FILE
BAGWELL, KEVIN                      ADDRESS ON FILE
BAGWELL, KEVIN                      ADDRESS ON FILE
BAGWELL, LAWRENCE                   ADDRESS ON FILE
BAGZ TRANSPORTATION INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BAH EXPRESS, INC.                   OR TAB BANK, PO BOX 150290 OGDEN UT 84415-0290
BAH, IBRAHIMA                       ADDRESS ON FILE
BAHA, HAYWOD                        ADDRESS ON FILE
BAHAM, BRIAN                        ADDRESS ON FILE
BAHAMA BLU TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAHAN, MICHAEL                      ADDRESS ON FILE
BAHENA, GUSTAVO                     ADDRESS ON FILE
BAHENA, LUIS                        ADDRESS ON FILE
BAHJA TRUCKING LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BAHJO TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BAHNSON, SHEILA                     ADDRESS ON FILE
BAHR, SAVANNAH                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 149 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 158 of 2156

Claim Name                        Address Information
BAHRY, RICHARD                    ADDRESS ON FILE
BAI LOGISTICS LLC                 8130 NW 58 STREET DORAL FL 33166
BAICH, PETER                      ADDRESS ON FILE
BAIDHANI, ALI                     ADDRESS ON FILE
BAIDWAN, ANPREET SINGH            ADDRESS ON FILE
BAILEM, JUSTIN D                  ADDRESS ON FILE
BAILESS TRUCKING, INC.            OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
BAILEY A WILSON                   ADDRESS ON FILE
BAILEY BURCHETT                   ADDRESS ON FILE
BAILEY ELECTRIC SERVICE LLC       PO BOX 721296 BYRAM MS 39272
BAILEY M INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAILEY, ANTHONY                   ADDRESS ON FILE
BAILEY, ART                       ADDRESS ON FILE
BAILEY, ASHLEY                    ADDRESS ON FILE
BAILEY, BILL                      ADDRESS ON FILE
BAILEY, BJ                        ADDRESS ON FILE
BAILEY, BOB                       ADDRESS ON FILE
BAILEY, BRITTANY                  ADDRESS ON FILE
BAILEY, CHADWICK                  ADDRESS ON FILE
BAILEY, CORY                      ADDRESS ON FILE
BAILEY, DALE                      ADDRESS ON FILE
BAILEY, DAMON K                   ADDRESS ON FILE
BAILEY, DANIEL                    ADDRESS ON FILE
BAILEY, DARYL                     ADDRESS ON FILE
BAILEY, DAVID                     ADDRESS ON FILE
BAILEY, DESHAUN                   ADDRESS ON FILE
BAILEY, DOUGLAS                   ADDRESS ON FILE
BAILEY, DUANE                     ADDRESS ON FILE
BAILEY, EDWARD                    ADDRESS ON FILE
BAILEY, ELAM                      ADDRESS ON FILE
BAILEY, GERALD                    ADDRESS ON FILE
BAILEY, JASPER                    ADDRESS ON FILE
BAILEY, JOHN                      ADDRESS ON FILE
BAILEY, JOHN                      ADDRESS ON FILE
BAILEY, JORDAN                    ADDRESS ON FILE
BAILEY, JUSTIN                    ADDRESS ON FILE
BAILEY, KENDRICK                  ADDRESS ON FILE
BAILEY, LINDA                     ADDRESS ON FILE
BAILEY, MONTEZ                    ADDRESS ON FILE
BAILEY, PAMELA                    ADDRESS ON FILE
BAILEY, PAMELA J                  ADDRESS ON FILE
BAILEY, PARIS                     ADDRESS ON FILE
BAILEY, RICHARD                   ADDRESS ON FILE
BAILEY, ROBERT                    ADDRESS ON FILE
BAILEY, ROBERT                    ADDRESS ON FILE
BAILEY, ROBERT                    ADDRESS ON FILE
BAILEY, SCOTT                     ADDRESS ON FILE
BAILEY, SCOTT                     ADDRESS ON FILE
BAILEY, STEVE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 150 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 159 of 2156

Claim Name                           Address Information
BAILEY, TAVONTE                      ADDRESS ON FILE
BAILEY, VERNON                       ADDRESS ON FILE
BAILEY, WALTER L                     ADDRESS ON FILE
BAILEYS TRUCKING LLC                 OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
BAILLARGEON, JACQUES                 ADDRESS ON FILE
BAILLARGEON, NATHAN                  ADDRESS ON FILE
BAILOR, KENNETH                      ADDRESS ON FILE
BAILOUS, RAY                         ADDRESS ON FILE
BAIN, ALLYN                          ADDRESS ON FILE
BAIN, ELAINE                         ADDRESS ON FILE
BAIN, FRANK                          ADDRESS ON FILE
BAIN, JENNIFER                       ADDRESS ON FILE
BAIN, MARC                           ADDRESS ON FILE
BAIN, MICHAEL                        ADDRESS ON FILE
BAIN, RAYMOND T                      ADDRESS ON FILE
BAIN, REGINALD                       ADDRESS ON FILE
BAINBRIDGE, MARGARET                 ADDRESS ON FILE
BAINES, MICHAEL                      ADDRESS ON FILE
BAINES, WAYNE                        ADDRESS ON FILE
BAINS LINES LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BAINS TRANSPORT LLC                  7347 N HARVEST CROP DR EAGLE MOUNTAIN UT 84005
BAINS TRANSPORTATION INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAINS XPRESS INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BAIR, JACK                           ADDRESS ON FILE
BAIRD HOME IMPROVEMENT LLC           2524 UNDERWOOD PL NORTH KNOXVILLE TN 37917
BAIRD, BRAD                          ADDRESS ON FILE
BAIRD, CHARLES                       ADDRESS ON FILE
BAIRD, DOUGLAS                       ADDRESS ON FILE
BAIRD, MARISSA                       ADDRESS ON FILE
BAIRD, RONALD                        ADDRESS ON FILE
BAISLEY, VIVIAN                      ADDRESS ON FILE
BAIT UL FATIMA LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BAITY, HAROLD                        ADDRESS ON FILE
BAJET VAN LINES,INC.                 1217 S 3RD AVE WAUSAU WI 54401
BAJRANG TRANSPORT LLC                OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
BAJRANG TRUCKING LLC                 7072 N WEBER AVE, 0 FRESNO CA 93722
BAJWA & SONS TRANSPORTATION LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAJWA BROS TRANS INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BAJWA CARRIER INC                    OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197
BAJWA STATES LLC                     8436 BROOKHAVEN LN AVON IN 46123
BAJWA TRANSPORTATION LLC             4810 75TH PL NE MARYSVILLE WA 98270
BAJWA TRUCKERS INC                   10176 MOSAIC WAY ELK GROVE CA 95757
BAJWA, JASMINDER                     ADDRESS ON FILE
BAKAR TRUCKING LLP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAKEBERG, MICHAEL                    ADDRESS ON FILE
BAKER AUTO INC                       521 COBBAN ST BUTTE MT 59701
BAKER DIST 442                       3812 1ST AVE N BIRMINGHAM AL 35222
BAKER DISTRIBUTING CO                C/O TRANSPLACE CARGO CLAIMS, PO BOX 518 LOWELL AR 72745



Epiq Corporate Restructuring, LLC                                                               Page 151 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 160 of 2156

Claim Name                        Address Information
BAKER DISTRIBUTING CO.            ATTN: ANNETTE SHIPLEY 712 ASHE STREET HENDERSONVILLE NC 28792-2600
BAKER DISTRIBUTORS CORP           130 ORION DR COLCHESTER VT 05446
BAKER DOOR COMPANY, INC           4698 E TRINDLE RD MECHANICSBURG PA 17050
BAKER HOLDINGS COMPANY, L.L.C.    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BAKER ROOFING                     517 MERCURY STREET RALEIGH NC 27603
BAKER TILLY US LLP                PO BOX 78975 MILWAUKEE WI 53278
BAKER TRUCK EQUIPMENT CO.         6111 US ROUTE 60 P.O. BOX 482 HURRICANE WV 25526
BAKER, ALICIA                     ADDRESS ON FILE
BAKER, AMBER                      ADDRESS ON FILE
BAKER, ANDREW                     ADDRESS ON FILE
BAKER, ANDREW                     ADDRESS ON FILE
BAKER, ANTHONY                    ADDRESS ON FILE
BAKER, ANTHONY                    ADDRESS ON FILE
BAKER, ANTWAN                     ADDRESS ON FILE
BAKER, ARNOLD                     ADDRESS ON FILE
BAKER, ASHLEE                     ADDRESS ON FILE
BAKER, AUBREY                     ADDRESS ON FILE
BAKER, BENJAMIN                   ADDRESS ON FILE
BAKER, BRANDON                    ADDRESS ON FILE
BAKER, BRANDON                    ADDRESS ON FILE
BAKER, BRIAN                      ADDRESS ON FILE
BAKER, CARLTON                    ADDRESS ON FILE
BAKER, CHASE                      ADDRESS ON FILE
BAKER, CHRISTINA                  ADDRESS ON FILE
BAKER, CLAYTON                    ADDRESS ON FILE
BAKER, CODY                       ADDRESS ON FILE
BAKER, CODY                       ADDRESS ON FILE
BAKER, COOPER                     ADDRESS ON FILE
BAKER, CURTIS                     ADDRESS ON FILE
BAKER, DALTON                     ADDRESS ON FILE
BAKER, DANNY                      ADDRESS ON FILE
BAKER, DARWIN                     ADDRESS ON FILE
BAKER, DAVID L                    ADDRESS ON FILE
BAKER, DE VAUGHN                  ADDRESS ON FILE
BAKER, DERRICK                    ADDRESS ON FILE
BAKER, DEVIN                      ADDRESS ON FILE
BAKER, DOUGLAS                    ADDRESS ON FILE
BAKER, DOUGLAS                    ADDRESS ON FILE
BAKER, DOUGLAS W                  ADDRESS ON FILE
BAKER, ERNEST                     ADDRESS ON FILE
BAKER, FERRANTE                   ADDRESS ON FILE
BAKER, FRANKIE                    ADDRESS ON FILE
BAKER, GARY                       ADDRESS ON FILE
BAKER, GREG                       ADDRESS ON FILE
BAKER, JAMES                      ADDRESS ON FILE
BAKER, JAMES                      ADDRESS ON FILE
BAKER, JAYCENE                    ADDRESS ON FILE
BAKER, JEFFREY                    ADDRESS ON FILE
BAKER, JEFFREY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 152 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 161 of 2156

Claim Name                          Address Information
BAKER, JESSIE                       ADDRESS ON FILE
BAKER, JOHN                         ADDRESS ON FILE
BAKER, JOHN                         ADDRESS ON FILE
BAKER, JOHN                         ADDRESS ON FILE
BAKER, JOSEPH                       ADDRESS ON FILE
BAKER, JOSHUA                       ADDRESS ON FILE
BAKER, JULIEANN                     ADDRESS ON FILE
BAKER, KENNETH                      ADDRESS ON FILE
BAKER, KENT                         ADDRESS ON FILE
BAKER, KEVIN                        ADDRESS ON FILE
BAKER, KEVIN                        ADDRESS ON FILE
BAKER, LORETTA                      ADDRESS ON FILE
BAKER, LYLE                         ADDRESS ON FILE
BAKER, MASON                        ADDRESS ON FILE
BAKER, MELISSA                      ADDRESS ON FILE
BAKER, MICHAEL                      ADDRESS ON FILE
BAKER, MICHAEL                      ADDRESS ON FILE
BAKER, MICHELLE                     ADDRESS ON FILE
BAKER, NEAL                         ADDRESS ON FILE
BAKER, NORMAN                       ADDRESS ON FILE
BAKER, RICHARD                      ADDRESS ON FILE
BAKER, RINGO                        ADDRESS ON FILE
BAKER, ROBERT                       ADDRESS ON FILE
BAKER, ROBERT                       ADDRESS ON FILE
BAKER, ROMAIN                       ADDRESS ON FILE
BAKER, ROYCE                        ADDRESS ON FILE
BAKER, SAMUEL                       ADDRESS ON FILE
BAKER, SCOTT                        ADDRESS ON FILE
BAKER, SCOTT                        ADDRESS ON FILE
BAKER, SHANNON                      ADDRESS ON FILE
BAKER, STEVEN                       ADDRESS ON FILE
BAKER, TABATHA                      ADDRESS ON FILE
BAKER, TERRY                        ADDRESS ON FILE
BAKER, THOMAS                       ADDRESS ON FILE
BAKER, TRAVIS                       ADDRESS ON FILE
BAKER, TYRONE                       ADDRESS ON FILE
BAKER, VICTOR                       ADDRESS ON FILE
BAKER, WADE                         ADDRESS ON FILE
BAKER, WAYNE                        ADDRESS ON FILE
BAKER, WILLIAM                      ADDRESS ON FILE
BAKER, WILLIE                       ADDRESS ON FILE
BAKERS APPLIANCE SERVICE LLC        OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BAKERS CATALOGUE INC                VICTORIA MEHLENBACHER 58 BILLINGS FARM RD WHITE RIVER JUNCTION VT 05001
BAKERS EXPRESS                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BAKERS GAS & WELDING SUPPLIES       905 N DIXIE HWY MONROE MI 48162
BAKERS LOGISTICS LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BAKERS SIGNS & MANUFACTURING INC    11201 FM 1485 CONROE TX 77306
BAKERSFIELD FALSE ALARM RECOVERY    PO BOX 749899 LOS ANGELES CA 90074
PROGRAM



Epiq Corporate Restructuring, LLC                                                               Page 153 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 162 of 2156

Claim Name                           Address Information
BAKES, JOSEPH                        ADDRESS ON FILE
BAKHTAR INC                          4515 GARDENDALE ST APT 2602 SAN ANTONIO TX 78240-1120
BAKKEDAHL TRUCKING, LLC              69792 200TH AVENUE HAYFIELD MN 55940
BAKKER ROAD SERVICE INC              1615 MCDONALD ST BRONX NY 10461
BAKKER, ADAM                         ADDRESS ON FILE
BAKKER, TROY                         ADDRESS ON FILE
BAKKER, TROY                         ADDRESS ON FILE
BAKO, JOSEPH                         ADDRESS ON FILE
BAKRE EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BAKSA, JEFF                          ADDRESS ON FILE
BAKSH EXPRESS CORPORATION            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BAKSHI, GURDEEP                      ADDRESS ON FILE
BAKSTON FREIGHT SYSTEMS              1522 E COMMERCE SAINT GEORGE UT 84791
BAKSTON FREIGHT SYSTEMS              PO BOX 910578 SAINT GEORGE UT 84791
BAKY FREIGHT LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BAL AIR LOGISTICS                    OR FACTOR DIRECT CORP, PO BOX 606 MAPLE ON L6A1S5 CANADA
BAL BROS INC                         4935 RIDGEFIELD CIRCLE FAIRFIELD CA 94534
BAL EXPRESS LLC                      12111 SE 294TH CT AUBURN WA 98092
BAL TRANSPORTATION LLC               20302 106TH PL SE, 20302 106TH PL SE KENT WA 98031
BAL TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BAL TRUCKING LLC (MC991550)          OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                     ANGELES CA 90074
BALADENSKI, MICHAEL                  ADDRESS ON FILE
BALANCES UNIVERSELLES INC            20 RUE PATENAUDE SAINT-ISIDORE QC J0L 2A0 CANADA
BALAS DISTRIBUTING CO.               14 FOSTER AVENUE FREELAND PA 18224
BALAS, ELAINE                        ADDRESS ON FILE
BALAYE-PRO INC.                      280, MONTEE-DE-LIESSE SAINT-LAURENT QC H4T 1N8 CANADA
BALBI & SON INCORPORATED             OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
BALBOA TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BALCH, RICHARD                       ADDRESS ON FILE
BALCK, ROBERT                        ADDRESS ON FILE
BALDEH & SONS ENTERPRISES LLC        OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
BALDERAS, RODRIGO                    ADDRESS ON FILE
BALDERAS, STEPHANY                   ADDRESS ON FILE
BALDERAZ, JESSE                      ADDRESS ON FILE
BALDERRAMA, FRANCISCO                ADDRESS ON FILE
BALDINGER, BRIAN                     ADDRESS ON FILE
BALDINGER, BRIAN A                   ADDRESS ON FILE
BALDOQUIN TRUCKING LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BALDOVIN, STEVEN                     ADDRESS ON FILE
BALDRIDGE, JEFFREY                   ADDRESS ON FILE
BALDRIDGE, PETER                     ADDRESS ON FILE
BALDRIDGE, RICKY                     ADDRESS ON FILE
BALDUCCI, BRITTANY                   ADDRESS ON FILE
BALDUF, GEORGE                       ADDRESS ON FILE
BALDWIN JR, JOHNNIE                  ADDRESS ON FILE
BALDWIN SIGN COMPANY                 6409 N. PITTSBURGH STREET SPOKANE WA 99217
BALDWIN TRANSPORTATION LLC           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BALDWIN, ANGELO                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 154 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 163 of 2156

Claim Name                          Address Information
BALDWIN, CRAIG                      ADDRESS ON FILE
BALDWIN, DAVID                      ADDRESS ON FILE
BALDWIN, DAVIS                      ADDRESS ON FILE
BALDWIN, DEMONTE                    ADDRESS ON FILE
BALDWIN, DERRICK                    ADDRESS ON FILE
BALDWIN, DONNA                      ADDRESS ON FILE
BALDWIN, GARY L                     ADDRESS ON FILE
BALDWIN, GEORGE                     ADDRESS ON FILE
BALDWIN, JOHN                       ADDRESS ON FILE
BALDWIN, KAYLEN                     ADDRESS ON FILE
BALDWIN, MARK                       ADDRESS ON FILE
BALDWIN, MICHAEL                    ADDRESS ON FILE
BALDWIN, RICHARD                    ADDRESS ON FILE
BALDWIN, ROB                        ADDRESS ON FILE
BALDWIN, TIMOTHY                    ADDRESS ON FILE
BALDWIN, TODD                       ADDRESS ON FILE
BALDWIN, WILLIAM                    ADDRESS ON FILE
BALENTINE, CALVIN                   ADDRESS ON FILE
BALES, CHARLES                      ADDRESS ON FILE
BALES, DOUGLAS                      ADDRESS ON FILE
BALES, HENRY                        ADDRESS ON FILE
BALES, JOHN                         ADDRESS ON FILE
BALES, JORDAN                       ADDRESS ON FILE
BALES, PATRICK M                    ADDRESS ON FILE
BALFOUR, HAROLD                     ADDRESS ON FILE
BALFOUR, LAMAR                      ADDRESS ON FILE
BALGA, STEPHEN                      ADDRESS ON FILE
BALI LLC                            13365 BURLWOOD DR STRONGSVILLE OH 44136
BALI TRUCKING LLC                   28 TAYLOR AVE CARTERET NJ 07008
BALIC TRANSPORT INC                 6135 LIPAN ST 219 DENVER CO 80221
BALIC TRANSPORT INC                 10151 E 107TH PL BRIGHTON CO 80601
BALINTON, MARLON                    ADDRESS ON FILE
BALISTRERI, JOSEPH                  ADDRESS ON FILE
BALISTRIERI, ANGELO                 ADDRESS ON FILE
BALJIT ENTERPRISES INC              5568 SORIANO WAY FONTANA CA 92336
BALKAMP                             INDUSTRIAL TRANSPORTATION CONSULT 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
BALKAN EXPRESS LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BALKAN TRANS LLC                    2668 APACHE TRAIL WIXOM MI 48393
BALKAN TRANSPORT INC                4606 HICKORY RIDGE AVE BRUNSWICK OH 44212
BALKAN TRANSPORT, L.L.C.            10494 MILLER RD UTICA NY 13502
BALKASH INCORPORATED                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BALKASH INCORPORATED                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BALL STAR CERTIFIED LOGISTICS LLC   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BALL TIRE AND GAS, INC.             620 S RIPLEY BLVD ALPENA MI 49707
BALL, CHARLES                       ADDRESS ON FILE
BALL, DARRELL                       ADDRESS ON FILE
BALL, DOUGLAS J                     ADDRESS ON FILE
BALL, FREDDY                        ADDRESS ON FILE
BALL, HENRY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 155 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 164 of 2156

Claim Name                           Address Information
BALL, HOWARD                         ADDRESS ON FILE
BALL, LAWRENCE                       ADDRESS ON FILE
BALL, MARTEZ                         ADDRESS ON FILE
BALL, MAXIE                          ADDRESS ON FILE
BALL, NICHOLAS                       ADDRESS ON FILE
BALL, ROBERT                         ADDRESS ON FILE
BALL, RONALD                         ADDRESS ON FILE
BALL, SAMUEL                         ADDRESS ON FILE
BALL, TRACY                          ADDRESS ON FILE
BALLA SERVICES LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
BALLANTYNE LOGISTICS LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
BALLARD TRUCK CENTER                 442 SW CUTOFF WORCESTER MA 01604
BALLARD, ANTHONY                     ADDRESS ON FILE
BALLARD, BRADLEY                     ADDRESS ON FILE
BALLARD, BRIAN S                     ADDRESS ON FILE
BALLARD, CHRIS                       ADDRESS ON FILE
BALLARD, CLIFFORD                    ADDRESS ON FILE
BALLARD, DENISE                      ADDRESS ON FILE
BALLARD, DESRAIEN                    ADDRESS ON FILE
BALLARD, DWAYNE                      ADDRESS ON FILE
BALLARD, JEREMY                      ADDRESS ON FILE
BALLARD, JERRY                       ADDRESS ON FILE
BALLARD, JESSICA                     ADDRESS ON FILE
BALLARD, LEE                         ADDRESS ON FILE
BALLARD, OLYMPIA                     ADDRESS ON FILE
BALLARD, ROBERT                      ADDRESS ON FILE
BALLENGER, JAMES                     ADDRESS ON FILE
BALLENGER, WILLIAM                   ADDRESS ON FILE
BALLENTINE, ANTHOUY                  ADDRESS ON FILE
BALLENTINE, JACQUELYN                ADDRESS ON FILE
BALLENTINE, LONNIE                   ADDRESS ON FILE
BALLER, GREGORY                      ADDRESS ON FILE
BALLETT, DANIEL                      ADDRESS ON FILE
BALLIET, CONNIE                      ADDRESS ON FILE
BALLINGER, JAMES                     ADDRESS ON FILE
BALLINGER, KENDALL                   ADDRESS ON FILE
BALLIU TRANSPORT SERVICES INC        OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
BALLY REFRIGERATED BOXES INC         135 LITTLE NINE RD MOREHEAD CITY NC 28557
BALMORE ANAYA                        ADDRESS ON FILE
BALOGH, JAN                          ADDRESS ON FILE
BALRAM LEONARD                       ADDRESS ON FILE
BALSIGER, TIMOTHY                    ADDRESS ON FILE
BALSMAN, STEVEN B                    ADDRESS ON FILE
BALTAZAR GILES                       ADDRESS ON FILE
BALTAZAR, DANIEL                     ADDRESS ON FILE
BALTAZAR, GIBRAN                     ADDRESS ON FILE
BALTAZAR, JOSE                       ADDRESS ON FILE
BALTHAZOR, JULIE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 156 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 165 of 2156

Claim Name                            Address Information
BALTIC CORP                           OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
BALTIERRA, RAUL                       ADDRESS ON FILE
BALTIMORE CITY FIRE DEPARTMENT        FIRE PREVENTION BUREAU, PO BOX 17119 BALTIMORE MD 21297
BALTIMORE MACK TRUCKS, INC.           610 NURSERY RD LINTHICUM HEIGHTS MD 21090
BALTIMORE TRUCK CENTER, INC.          HAGERSTOWN DIVISION, PO BOX 70 LINTHICUM MD 21090
BALTIMORE TRUCKING                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BALTODANO, ROBERTO                    ADDRESS ON FILE
BALTONA TRANSPORTATION INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BALTYK EXPRESS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BALTZER, NICHOLAS                     ADDRESS ON FILE
BALUJA, NESTOR                        ADDRESS ON FILE
BALY LOGISTICS LLC                    OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
BALZER, JOHN                          ADDRESS ON FILE
BAMBAUER TOWING                       4295 HWY 99W ORLAND CA 95963
BAMBI LOGISTICS INC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BAMBI LOGISTICS INC                   6051 BUSINESS CNT CT STE 4-150 SAN DIEGO CA 92154
BAMBINU LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BAMBOO HUT GROUP LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BAMBOO SUPPLY CO                      ATTN: RON REYCRAFT 3912 HOLDEN RD LAKELAND FL 33811
BAMBROUGH, STEVEN                     ADDRESS ON FILE
BAMD INC                              OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BAN WAGON EXPRESS LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
BANA EXPRESS TRUCKING LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BANACH, DAVID                         ADDRESS ON FILE
BANANG, FRANCIS                       ADDRESS ON FILE
BANARJHULA TRANSPORTATION LLC         OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BANASIK, STEVEN                       ADDRESS ON FILE
BANASIK, STEVEN J                     ADDRESS ON FILE
BANAT TRUCKING LLC                    OR PHOENIX CAPITAL GROUP LLC PO BOX 1415 DES MOINES IA 50305
BANAT TRUCKING LLC                    OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415
BANAYA LOGISTICS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BANCO POPULAR DE PUERTO RICO (INC)    TRUST DIVISION 725, PO BOX 362708 SAN JUAN PR 00936
BANCROFT, ALEX                        ADDRESS ON FILE
BAND OF BROTHERZ LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAND SPECIALIZED                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BANDA, ANTHONY                        ADDRESS ON FILE
BANDA, ANTHONY                        ADDRESS ON FILE
BANDA, MAGDIEL                        ADDRESS ON FILE
BANDA, MARCOS                         ADDRESS ON FILE
BANDA, MICHAEL                        ADDRESS ON FILE
BANDA, RAMON                          ADDRESS ON FILE
BANDA, REFELL                         ADDRESS ON FILE
BANDA, REFELL                         ADDRESS ON FILE
BANDAS TRANSPORTS CO                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
BANDERA, SIRENIO                      ADDRESS ON FILE
BANDERAS MORENO, VIANEY               ADDRESS ON FILE
BANDICOOT BRANCH LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BANDOO, AKEEM                         ADDRESS ON FILE
BANDSTRA TRANSPORTATION SYSTEMS LTD   3394 HIGHWAY 16 E BRACKETS BOX 95 SMITHERS BC V0J 2N0 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 157 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 166 of 2156

Claim Name                            Address Information
BANDSTRA TRANSPORTATION SYSTEMS LTD   PO BOX 95 SMITHERS BC V0J 2N0 CANADA
BANDY, JACKSON                        ADDRESS ON FILE
BANE, DAVID                           ADDRESS ON FILE
BANE, DORIN R                         ADDRESS ON FILE
BANE, RANDY                           ADDRESS ON FILE
BANE, ROBERT                          ADDRESS ON FILE
BANEGAS TRUCKING LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BANEGAS, CELESTE                      ADDRESS ON FILE
BANFF LOGISTICS INC                   143 SKYVIEW POINT RD NE CALGARY AB T3N0K4 CANADA
BANFIELD, RICHARD                     ADDRESS ON FILE
BANG ENERGY                           ATTN: MATTHEW BAKER 6100T GLEN AFTON BLVD CONCORD NC 28027
BANGA TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BANGHART, RANDOLPH                    ADDRESS ON FILE
BANGIN LOADS LOGISTICS LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BANGIT, MARK                          ADDRESS ON FILE
BANGKIT USA INC                       10511 VALLEY BLVD EL MONTE CA 91731
BANGO EXPRESS SERVICES LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BANGURA, FODAY                        ADDRESS ON FILE
BANICKI, DAVID A                      ADDRESS ON FILE
BANIK, RUDOLPH                        ADDRESS ON FILE
BANJA TRUCKING LLC                    OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
BANK OF AMERICA NA                    PO BOX 15284 WILIMGTON DE 19850
BANK OF NEW YORK MELLON (0901)        ATT EVENT CREATION 500 GRANT ST ROOM 151-1700 PITTSBURGH PA 15258
BANK OF NEW YORK MELLON, THE          C/O: HOGAN LOVELLS US LLP ATTN: ROBERT A. RIPIN 390 MADISON AVENUE NEW YORK NY
                                      10017
BANK OF NEW YORK MELLON, THE          1 WALL ST NEW YORK NY 10286
BANK OF NEW YORK MELLON, THE          AS COLLATERAL AGENT 240 GREENWICH ST, 7TH FL NEW YORK NY 10286
BANK OF THE WEST                      3201 F RD. CLIFTON CO 81520
BANKER, FELIX                         ADDRESS ON FILE
BANKER, MEGAN                         ADDRESS ON FILE
BANKERT, GREGORY                      ADDRESS ON FILE
BANKHEAD, DALIN                       ADDRESS ON FILE
BANKHEAD, MICHAEL                     ADDRESS ON FILE
BANKHEAD-CHILDRESS, KRISTOPHER        ADDRESS ON FILE
BANKI ENTERPRISES LLC                 426 COOL RIDGE DR CARMEL IN 46032
BANKO EXPRESS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BANKO, DANIEL                         ADDRESS ON FILE
BANKO, PAUL                           ADDRESS ON FILE
BANKS TRANSPORT LLC                   265 MERTON RD, APT 106 HIGH LAND PARK MI 48203
BANKS TRUCKING L.L.C.                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BANKS TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BANKS, AMY                            ADDRESS ON FILE
BANKS, ANTHONY                        ADDRESS ON FILE
BANKS, DAMON                          ADDRESS ON FILE
BANKS, DARRYLE C                      ADDRESS ON FILE
BANKS, DEANDRE                        ADDRESS ON FILE
BANKS, FYONE                          ADDRESS ON FILE
BANKS, JEROME                         ADDRESS ON FILE
BANKS, KHALILAH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 158 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 167 of 2156

Claim Name                             Address Information
BANKS, MALINDA                         ADDRESS ON FILE
BANKS, MARSHALL                        ADDRESS ON FILE
BANKS, MARVIN                          ADDRESS ON FILE
BANKS, MICHAEL                         ADDRESS ON FILE
BANKS, PAUL                            ADDRESS ON FILE
BANKS, PHILIP                          ADDRESS ON FILE
BANKS, TERRY                           ADDRESS ON FILE
BANKS, THOMAS                          ADDRESS ON FILE
BANKS, TYLER                           ADDRESS ON FILE
BANKS, TYRONE                          ADDRESS ON FILE
BANKS, WILLIAM                         ADDRESS ON FILE
BANKSTON, MARCEL                       ADDRESS ON FILE
BANKYTEE LOGISTICS LTD                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BANMAN, KATRINA                        ADDRESS ON FILE
BANNER SOLUTIONS                       1641 S. SUNKIST ST. ANAHIEM CA 92806
BANNER TRUCKING LLC                    503 BANNER AVE GREENSBORO NC 27401
BANNER, JAMES                          ADDRESS ON FILE
BANNER, JAMES H                        ADDRESS ON FILE
BANNERMAN-BLANKSON, EMMANUEL           ADDRESS ON FILE
BANNIE, YUKU                           ADDRESS ON FILE
BANNISTER ELECTRIC COMPANY             PO BOX 1921, 108 CASSIDY RD THOMASVILLE GA 31799
BANNON, ANTHONY                        ADDRESS ON FILE
BANNON, TIMOTHY                        ADDRESS ON FILE
BANNON, TIMOTHY J                      ADDRESS ON FILE
BANS TRANSPORT LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BANSAL TRUCKING INC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
BANTA, DALE                            ADDRESS ON FILE
BANTONIO252 CORP                       OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BANTUM, LAURENCE                       ADDRESS ON FILE
BANUELOS TRANSPORT                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BANUELOS TRANSPORT LLC                 OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
BANUELOS, JULIO                        ADDRESS ON FILE
BANUELOS, RICKARDO                     ADDRESS ON FILE
BANVILLE, STEVEN                       ADDRESS ON FILE
BANWARTH, KEITH                        ADDRESS ON FILE
BANYAN TECHNOLOGY                      31011 VIKING PARKWAY WESTLAKE OH 44145
BANZET, HAVEN                          ADDRESS ON FILE
BAOLONG LOGISTICS CORPORATION          895 S AZUSA AVE CITY OF INDUSTRY CA 91748
BAOLUS LLC                             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BAPS - LEMOYNE                         630 OAK STREET LEMOYNE PA 17043
BAPTIST HEALTH OCCUPATIONAL MEDICINE   BAPIST HEALTH MEDICAL GROUP P.O. BOX 734848 CHICAGO IL 60673
BAPTISTE, JEFFREY                      ADDRESS ON FILE
BAPTISTE, JEFFREY                      ADDRESS ON FILE
BAR CLASPELL                           ADDRESS ON FILE
BAR HAULING LLC                        OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
BAR M DIESEL & AUTOMOTIVE SERVICE      PO BOX 951 BEAVER UT 84713
BAR NONE LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BAR TRANSPORT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BARABAN, RENAT                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 159 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 168 of 2156

Claim Name                             Address Information
BARACK FERRAZZANO KIRSCHBAUM &         NAGELBERG LLP 200 W MADISON ST STE 3900 CHICAGO IL 60606
BARACK TRANSPORTATION INC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BARACOSA, JAMES D                      ADDRESS ON FILE
BARAHONA TRANSPORTATION LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BARAHONA, RODOLFO                      ADDRESS ON FILE
BARAJAS JR, VICTOR                     ADDRESS ON FILE
BARAJAS, JOVANY                        ADDRESS ON FILE
BARAJAS, LAURA                         ADDRESS ON FILE
BARAJAS, RAMIRO                        ADDRESS ON FILE
BARAJAS, TOMMY                         ADDRESS ON FILE
BARAJAS, VICTOR                        ADDRESS ON FILE
BARAKA CORPORATION                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BARAKA LOGISTICS LLC (BURNSVILLE MN)   OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
BARAKI TRANSPORT                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BARAL, PHILIP                          ADDRESS ON FILE
BARANCZYK, ROBERT                      ADDRESS ON FILE
BARANEK, ERIC                          ADDRESS ON FILE
BARANOSKI, GARY                        ADDRESS ON FILE
BARANYI, DALE                          ADDRESS ON FILE
BARBA TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BARBA, ENRIQUE                         ADDRESS ON FILE
BARBA, RICHARD                         ADDRESS ON FILE
BARBARA A HANDLIN                      ADDRESS ON FILE
BARBARAW, NAZAR                        ADDRESS ON FILE
BARBEE, BRUCE                          ADDRESS ON FILE
BARBER BANKS, DOROTHY                  ADDRESS ON FILE
BARBER, ANEAS                          ADDRESS ON FILE
BARBER, ANTHONY                        ADDRESS ON FILE
BARBER, ANTIONE                        ADDRESS ON FILE
BARBER, CHAD                           ADDRESS ON FILE
BARBER, CHRISTOPHER                    ADDRESS ON FILE
BARBER, DERRICK                        ADDRESS ON FILE
BARBER, DESHAWN                        ADDRESS ON FILE
BARBER, DOMINIQUE                      ADDRESS ON FILE
BARBER, FERRIS                         ADDRESS ON FILE
BARBER, FRANK                          ADDRESS ON FILE
BARBER, GEORGE                         ADDRESS ON FILE
BARBER, GERALD                         ADDRESS ON FILE
BARBER, JOHN                           ADDRESS ON FILE
BARBER, KIMBERLI                       ADDRESS ON FILE
BARBER, RONALD                         ADDRESS ON FILE
BARBER, RYAN                           ADDRESS ON FILE
BARBER, SAMUEL                         ADDRESS ON FILE
BARBER, SARAH                          ADDRESS ON FILE
BARBER, SCOTT                          ADDRESS ON FILE
BARBER, SHAUN                          ADDRESS ON FILE
BARBER, SIDNEY                         ADDRESS ON FILE
BARBERENA, MARIA                       ADDRESS ON FILE
BARBIERE, ANGELA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 160 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 169 of 2156

Claim Name                           Address Information
BARBIERE, CHANIN                     ADDRESS ON FILE
BARBIERI, CARLOS                     ADDRESS ON FILE
BARBOSA TRUCKING                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
BARBOSA, BLANCA                      ADDRESS ON FILE
BARBOSA, BRIGETTE                    ADDRESS ON FILE
BARBOSA, DANIEL                      ADDRESS ON FILE
BARBOSA, JASON                       ADDRESS ON FILE
BARBOSA, NATHAN                      ADDRESS ON FILE
BARBOUR, MICHAEL                     ADDRESS ON FILE
BARBOUR, MICHAEL                     ADDRESS ON FILE
BARBOUR, OLIVIA                      ADDRESS ON FILE
BARBOZA, ALEJANDRO                   ADDRESS ON FILE
BARBOZA, CINTHIA                     ADDRESS ON FILE
BARBOZA, DAVID                       ADDRESS ON FILE
BARBUSS EUROPE                       VALLEY NATL BANK ATTN: D CASTRESANA 1001 BRICKELL BAY DR 100 MIAMI FL 33131
BARBUSS GLOBAL SA                    VALLEY NATIONAL BANK ATTN D CASTRESANA 1001 BRICKELL BAY DR NO 100 MIAMI FL
                                     33131
BARCA LOGISTICS LLC                  OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
BARCA TRANS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BARCA, BRIAN                         ADDRESS ON FILE
BARCARGO INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BARCAS, ALEX                         ADDRESS ON FILE
BARCAS, MICHAEL                      ADDRESS ON FILE
BARCAVAGE, TROY                      ADDRESS ON FILE
BARCEL                               ATTN: LIZBETH CRCAMO LIZBETH CRCAMO 301 NORTH POINT DR STE140 COPPELL TX 75019
BARCEL USA LLC                       ATTN: DANIELA VALDEZ DANIELA VALDEZ 301 NOTHPOINT DR STE 140 COPPELL TX 75019
BARCLAY DAMON LLP                    PO BOX 1265 ALBANY NY 12201
BARCLAY DEAN ARCHITECTURAL           22029 23RD DR 1 BOTHELL WA 98021
BARCLAY M WILSON DO                  ADDRESS ON FILE
BARCLAY, SHAWN                       ADDRESS ON FILE
BARCLAYS CAPITAL (8455)              ATT CORPORATE ACTIONS/REORG 745 7TH AV, 3RD FL NEW YORK NY 10019
BARCLAYS CAPITAL INC. (0229)         ATT CORPORATE ACTIONS/REORG 745 7TH AV, 3RD FL NEW YORK NY 10019
BARCO TRUCKING                       7084 MT VERNON RD AUBURN CA 95603
BARCOL DOOR CO INC                   5902 MATERIAL AVE LOVES PARK IL 61111
BARCOL DOORS & WINDOWS               14820 YELLOWHEAD TRAIL EDMONTON AB T5L 3C5 CANADA
BARD MFG                             ATTN: ALLISON ZIMMERMAN 7668 KINGS POINTE RD STE TOLEDO OH 43617
BARD MFG                             KUEHNE NAGEL 7668 KINGS POINTE RD STE TOLEDO OH 43617
BARD MFG CO INC                      ATTN: ALLISON ZIMMERMAN KUEHNE-NAGEL./ RETRANS 7668 KINGS POINTE RD STE C
                                     TOLEDO OH 43617
BARD TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BARD, WENDY                          ADDRESS ON FILE
BARDAALE TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BARDAN, BRIAN                        ADDRESS ON FILE
BARDELLI, PETER                      ADDRESS ON FILE
BARDEN, DAVID                        ADDRESS ON FILE
BARDEN, LYNWOOD                      ADDRESS ON FILE
BARDIN, DOUGLAS                      ADDRESS ON FILE
BARDO TRANSPORT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BARE CO                              955 PINE DR DANDRIDGE TN 37725



Epiq Corporate Restructuring, LLC                                                                 Page 161 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 170 of 2156

Claim Name                           Address Information
BARE, CASSANDRA                      ADDRESS ON FILE
BARE, DOUGLAS                        ADDRESS ON FILE
BAREFOOT EXPRESS LLC                 OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BAREFOOT, WESLEY                     ADDRESS ON FILE
BAREIS, VANCE                        ADDRESS ON FILE
BARELA, ANTONIO                      ADDRESS ON FILE
BARELA, KARL                         ADDRESS ON FILE
BARELLI, CARL                        ADDRESS ON FILE
BARENBRUG USA                        PO BOX 239 TANGENT OR 97389
BARENDREGT, JOHN                     ADDRESS ON FILE
BARENTZ NORTH AMERICAN WAREH         ATTN: SANDRA FONTANA 6800 W 68TH ST BEDFORD PARK IL 60638
BARES, SANDRA                        ADDRESS ON FILE
BARETTA                              9500 CROSSROADS PKWY. FREDERICKSBURG VA 22408
BARFIELD JR., CHARLES                ADDRESS ON FILE
BARFIELD, GARY                       ADDRESS ON FILE
BARFIELD, THARON                     ADDRESS ON FILE
BARGAAN TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BARGE, RICHARD                       ADDRESS ON FILE
BARGER, BRYCE E                      ADDRESS ON FILE
BARGER, GARY                         ADDRESS ON FILE
BARGER, LARRY                        ADDRESS ON FILE
BARGER-PERRY, SIERRA                 ADDRESS ON FILE
BARGIEL, CHRISTOPHER                 ADDRESS ON FILE
BARGREEN ELLINGSON                   RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
BARHAM, BARRY                        ADDRESS ON FILE
BARHAM, GARRY                        ADDRESS ON FILE
BARHAM, JIMMY                        ADDRESS ON FILE
BARI 91 INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
BARIANOS, BASIL                      ADDRESS ON FILE
BARINTINE, RONNIE                    ADDRESS ON FILE
BARIS LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BARIS TRUCKING LLC                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BARKEL, MATTHEW                      ADDRESS ON FILE
BARKEL, TIMOTHY                      ADDRESS ON FILE
BARKEN LOGISTICS GROUP LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BARKER, BENJAMIN                     ADDRESS ON FILE
BARKER, BRADLEY                      ADDRESS ON FILE
BARKER, BRIAN                        ADDRESS ON FILE
BARKER, JACOB                        ADDRESS ON FILE
BARKER, JAMES                        ADDRESS ON FILE
BARKER, JASON                        ADDRESS ON FILE
BARKER, JERRY W                      ADDRESS ON FILE
BARKER, JOHN                         ADDRESS ON FILE
BARKER, JOSEPH                       ADDRESS ON FILE
BARKER, KAREEM                       ADDRESS ON FILE
BARKER, MICHAEL                      ADDRESS ON FILE
BARKER, RHONDA                       ADDRESS ON FILE
BARKER, RICHARD                      ADDRESS ON FILE
BARKER, RONALD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 162 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 171 of 2156

Claim Name                           Address Information
BARKER, SANFORD                      ADDRESS ON FILE
BARKER, TARAN                        ADDRESS ON FILE
BARKET, ARTHUR                       ADDRESS ON FILE
BARKEY, HEATHER M                    ADDRESS ON FILE
BARKHADLE, KAREEM                    ADDRESS ON FILE
BARKLEY, FORREST                     ADDRESS ON FILE
BARKLEY, FORREST                     ADDRESS ON FILE
BARKLEY, KELLY                       ADDRESS ON FILE
BARKLEY, KENDALL                     ADDRESS ON FILE
BARKSDALE, CANDACE                   ADDRESS ON FILE
BARKSDALE, GREGORY                   ADDRESS ON FILE
BARKSDALE, JOHNNY                    ADDRESS ON FILE
BARKSDALE, JONATHAN                  ADDRESS ON FILE
BARKSDALE, MARCUS                    ADDRESS ON FILE
BARLEY, PATRICIA                     ADDRESS ON FILE
BARLICK, JASON                       ADDRESS ON FILE
BARLOW, COREY                        ADDRESS ON FILE
BARLOW, GEORGY                       ADDRESS ON FILE
BARLOW, JOSEPH                       ADDRESS ON FILE
BARLOW, MARLEIGH                     ADDRESS ON FILE
BARLOW, SIRENA                       ADDRESS ON FILE
BARLUP, BRIAN                        ADDRESS ON FILE
BARMAC ACCESS CONTROL LLC            DBA MODERN FENCE OF NWA, 1864 FORD AVE SPRINGDALE AR 72764
BARMER, THOMAS                       ADDRESS ON FILE
BARMONT, SETH W                      ADDRESS ON FILE
BARN LOGISTICS INC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BARNABAS MORTON                      ADDRESS ON FILE
BARNABAS, ORUSEDE                    ADDRESS ON FILE
BARNACK, JASON                       ADDRESS ON FILE
BARNARD COLEMAN, CODY                ADDRESS ON FILE
BARNARD, DANIELLE                    ADDRESS ON FILE
BARNARD, GLEN                        ADDRESS ON FILE
BARNARD, JEFFREY                     ADDRESS ON FILE
BARNARD, RACHEL                      ADDRESS ON FILE
BARNER, ROBERT                       ADDRESS ON FILE
BARNER, TYLER                        ADDRESS ON FILE
BARNES & NOBLE                       1BARNES AND NOBLE WAY MONROE TOWNSHIP NJ 08831
BARNES & NOBLE                       ATTN: ADRIENNE KILIN 1 BARNES AND NOBLE WAY MONROE TOWNSHIP NJ 08831
BARNES & NOBLE DISTRIBUTION          ATTN: ADRIENNE KILIN 1 BARNES & NOBLE WAY MONROE TOWNSHIP NJ 08831
BARNES & SONS TRUCKING LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BARNES & THORNBURG LLP               225 SOUTH SIXTH STREET SUITE 2800 MINNEAPOLIS MN 55402
BARNES CROSSING KIA                  ATTN: LATONYA FERGUSON 3003 TOM WATSON DRIVE SALTILLO MS 38866-9355
BARNES TRANSPORTATION LLC            22067 W FM 1188 GORDON TX 76453
BARNES TRUCKING, LLC                 P.O. BOX 751 FARMINGTON AR 72730
BARNES, ALYSSA                       ADDRESS ON FILE
BARNES, AMY                          ADDRESS ON FILE
BARNES, ANTHONY                      ADDRESS ON FILE
BARNES, CHARLES                      ADDRESS ON FILE
BARNES, CODY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 163 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                           Page 172 of 2156

Claim Name                        Address Information
BARNES, DALEENA                   ADDRESS ON FILE
BARNES, DARIAN                    ADDRESS ON FILE
BARNES, DARRYL                    ADDRESS ON FILE
BARNES, DAVID                     ADDRESS ON FILE
BARNES, DAVID                     ADDRESS ON FILE
BARNES, DENNIS                    ADDRESS ON FILE
BARNES, DERRYL                    ADDRESS ON FILE
BARNES, DERRYL                    ADDRESS ON FILE
BARNES, DON                       ADDRESS ON FILE
BARNES, EARL                      ADDRESS ON FILE
BARNES, EDWIN                     ADDRESS ON FILE
BARNES, GERALD                    ADDRESS ON FILE
BARNES, GERMAINE                  ADDRESS ON FILE
BARNES, HAROLD                    ADDRESS ON FILE
BARNES, JAIME                     ADDRESS ON FILE
BARNES, JAMAL                     ADDRESS ON FILE
BARNES, JASON                     ADDRESS ON FILE
BARNES, JEFFREY                   ADDRESS ON FILE
BARNES, JODY                      ADDRESS ON FILE
BARNES, JOEY                      ADDRESS ON FILE
BARNES, JOHN                      ADDRESS ON FILE
BARNES, JOSEPH                    ADDRESS ON FILE
BARNES, KEITH                     ADDRESS ON FILE
BARNES, LUCIOUS                   ADDRESS ON FILE
BARNES, MALCOME                   ADDRESS ON FILE
BARNES, MAYNARD D                 ADDRESS ON FILE
BARNES, MEGAN                     ADDRESS ON FILE
BARNES, MICHAEL                   ADDRESS ON FILE
BARNES, MICHAEL                   ADDRESS ON FILE
BARNES, MIKE                      ADDRESS ON FILE
BARNES, ROBERT                    ADDRESS ON FILE
BARNES, ROBERT                    ADDRESS ON FILE
BARNES, ROBIN                     ADDRESS ON FILE
BARNES, SHANE                     ADDRESS ON FILE
BARNES, SHAWNTAE                  ADDRESS ON FILE
BARNES, VINCENT                   ADDRESS ON FILE
BARNES, WILLIAM                   ADDRESS ON FILE
BARNES, WILLIE                    ADDRESS ON FILE
BARNES, WILLIE                    ADDRESS ON FILE
BARNETS, INC.                     1619 BARNETS MILL ROAD CAMDEN OH 45311
BARNETT LUNA TRANSPORT INC        OR BAY VIEW FUNDING, PO BOX 204703 DALLAS TX 75320-4703
BARNETT TOWING SERVICE            PO BOX 1325 SIERRA VISTA AZ 85636
BARNETT, ASHLEY                   ADDRESS ON FILE
BARNETT, DANIEL                   ADDRESS ON FILE
BARNETT, DANTE                    ADDRESS ON FILE
BARNETT, GREGORY                  ADDRESS ON FILE
BARNETT, ROBERT                   ADDRESS ON FILE
BARNETT, SAMUEL                   ADDRESS ON FILE
BARNETT, TRESSURE                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 164 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 173 of 2156

Claim Name                          Address Information
BARNETTE GROUP TRANSPORT LLC        OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                    CHICAGO IL 60674-0411
BARNETTE, CHRISTOPHER L             ADDRESS ON FILE
BARNETTE, MICHAEL                   ADDRESS ON FILE
BARNETTS TOWING, L.L.C.             PO BOX 1325 SIERRA VISTA AZ 85636
BARNEY BROTHERS ELECTRIC INC        3192 W 500 N CEDAR CITY UT 84721
BARNEY, BRIAN                       ADDRESS ON FILE
BARNEY, CLINT                       ADDRESS ON FILE
BARNEY, CLINT W                     ADDRESS ON FILE
BARNEY, ISAIAH                      ADDRESS ON FILE
BARNEY, JOYCE                       ADDRESS ON FILE
BARNHARD JR, LINCOLN                ADDRESS ON FILE
BARNHARD, JEFFREY                   ADDRESS ON FILE
BARNHART TRANSPORTATION LLC         PO BOX 247 HARBORCREEK PA 16421
BARNHART, CHINA                     ADDRESS ON FILE
BARNHART, JUSTIN                    ADDRESS ON FILE
BARNHILL, DAVID L                   ADDRESS ON FILE
BARNOVSKY, MARK                     ADDRESS ON FILE
BARO CORP                           1301 35TH ST DOWNERS GROVE IL 60515
BARO, WANGDAK                       ADDRESS ON FILE
BAROCK INC                          845 E RAND RD ARLINGTON HEIGHTS IL 60004
BARON EXPRESS INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BARON TRANSPORT LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
BARON TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAROS LOGISTICS LLC                 4519 RED TAIL DR LITHONIA GA 30038
BAROUDI, MILOUD                     ADDRESS ON FILE
BARR COMMERCIAL DOOR REPAIR INC     1930 E CARSON ST STE 101 CARSON CA 90810
BARR, ANTHONY                       ADDRESS ON FILE
BARR, CHARLES                       ADDRESS ON FILE
BARR, CODY                          ADDRESS ON FILE
BARR, DANA                          ADDRESS ON FILE
BARR, DAVID                         ADDRESS ON FILE
BARR, DOUGLAS                       ADDRESS ON FILE
BARR, GARY                          ADDRESS ON FILE
BARR, JAMES                         ADDRESS ON FILE
BARR, JAMES                         ADDRESS ON FILE
BARR, JOSEPH                        ADDRESS ON FILE
BARR, JOSHUA                        ADDRESS ON FILE
BARR, MATTHEW                       ADDRESS ON FILE
BARR, MAURICE                       ADDRESS ON FILE
BARR, NATHAN                        ADDRESS ON FILE
BARR, NICHOLAS                      ADDRESS ON FILE
BARR, TIMOTHY                       ADDRESS ON FILE
BARR, WADE                          ADDRESS ON FILE
BARRACUDA LOGISTICS LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
BARRACUDA LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BARRAGAN, ANGIE                     ADDRESS ON FILE
BARRAGAN, IGNACIO                   ADDRESS ON FILE
BARRAGAN, JAIME                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 165 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 174 of 2156

Claim Name                               Address Information
BARRANS, TAYLOR                          ADDRESS ON FILE
BARRAZA, JAVIER                          ADDRESS ON FILE
BARRAZA, MARTHA                          ADDRESS ON FILE
BARRAZA, OLGA                            ADDRESS ON FILE
BARRAZA, ROSALIO                         ADDRESS ON FILE
BARRAZA, VALENTE                         ADDRESS ON FILE
BARRAZA, VIVIANA                         ADDRESS ON FILE
BARREDA J & M TOW LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BARRENA, GERARDO                         ADDRESS ON FILE
BARRERA, ARTEMIO                         ADDRESS ON FILE
BARRERA, DEVAN                           ADDRESS ON FILE
BARRERA, FRANK                           ADDRESS ON FILE
BARRERA, GARY                            ADDRESS ON FILE
BARRERA, JESSE                           ADDRESS ON FILE
BARRERA, JORGE                           ADDRESS ON FILE
BARRERA, LUIS                            ADDRESS ON FILE
BARRERA, RONALD                          ADDRESS ON FILE
BARRERAS, BENJAMIN                       ADDRESS ON FILE
BARRETO, PAULIN                          ADDRESS ON FILE
BARRETT DIRECTLINE DELIVERY SRVC, INC.   2259 NORTH 2ND STREET ROGERS AR 72756
BARRETT ENTERPRISE LLC                   204 S WESTPLEX AVE BLOOMINGTON IN 47404
BARRETT, ARRON                           ADDRESS ON FILE
BARRETT, BRANDON                         ADDRESS ON FILE
BARRETT, CYNTHIA                         ADDRESS ON FILE
BARRETT, CYNTHIA                         ADDRESS ON FILE
BARRETT, EUGENE                          ADDRESS ON FILE
BARRETT, JB                              ADDRESS ON FILE
BARRETT, JOHN                            ADDRESS ON FILE
BARRETT, JOSEPH                          ADDRESS ON FILE
BARRETT, KEVIN                           ADDRESS ON FILE
BARRETT, KHALEED                         ADDRESS ON FILE
BARRETT, LLOYD                           ADDRESS ON FILE
BARRETT, RICHARD                         ADDRESS ON FILE
BARRETT, ROBERT                          ADDRESS ON FILE
BARRETT, ROBERT                          ADDRESS ON FILE
BARRETT, TERRI                           ADDRESS ON FILE
BARRETT, TERRY                           ADDRESS ON FILE
BARRETTE OUTDOOR                         545 TILTON RD EGG HARBOR CITY NJ 08215
BARRETTE OUTDOOR LIVING                  545 TILTON RD EGG HARBOR NJ 08215
BARRETTE OUTDOOR LIVING                  ATTN: DOLORES FELICIANO 545 TILTON RD EGG HARBOR CITY NJ 08215
BARRETTE OUTDOOR LIVING                  ATTN: WILLIAM BATESON 545 TILTON RD EGG HARBOR CITY NJ 08215
BARRETTE OUTDOOR LIVING                  ATTN: WILLIAM BATESON FREIGHT CLAIMS 545 TILTON RD EGG HARBOR CITY NJ 08215
BARRETTS TREE SERVICE, INC.              376 PATCHEN ROAD SOUTH BURLINGTON VT 05403
BARRICK, BRIAN                           ADDRESS ON FILE
BARRICK, MICHAEL                         ADDRESS ON FILE
BARRICK, RACHAEL                         ADDRESS ON FILE
BARRICK, SHAUN                           ADDRESS ON FILE
BARRIE, AMADU                            ADDRESS ON FILE
BARRIE, DAVID                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 166 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 175 of 2156

Claim Name                               Address Information
BARRIE, KIMBERLY                         ADDRESS ON FILE
BARRIENTOS, CIRO                         ADDRESS ON FILE
BARRIENTOS, EDUARDO                      ADDRESS ON FILE
BARRIENTOS, NICHOLAS                     ADDRESS ON FILE
BARRIENTOS, STEPHANIE                    ADDRESS ON FILE
BARRIGEAR, KAREN                         ADDRESS ON FILE
BARRINGER, AARON                         ADDRESS ON FILE
BARRINGER, AARON Q                       ADDRESS ON FILE
BARRINGER, EARL                          ADDRESS ON FILE
BARRINGER, ROBERT                        ADDRESS ON FILE
BARRINGTON TRANSPORATION LLC             315 S HAGER AVE BARRINGTON IL 60010
BARRINO, CEDRIC                          ADDRESS ON FILE
BARRIOS, BENITO                          ADDRESS ON FILE
BARRIOS, FRANCISCO                       ADDRESS ON FILE
BARRON EQUIPMENT COMPANY, INC            4710 N BRADY STREET DAVENPORT IA 52806
BARRON TRUCKING INC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BARRON YOUNG                             ADDRESS ON FILE
BARRON, AMALIA                           ADDRESS ON FILE
BARRON, GABRIEL                          ADDRESS ON FILE
BARRON, MODESTO                          ADDRESS ON FILE
BARRON, OLGA                             ADDRESS ON FILE
BARROS, JAMES                            ADDRESS ON FILE
BARROT, TAVAUGHN                         ADDRESS ON FILE
BARROTT, JAMIE                           ADDRESS ON FILE
BARROU FREIGHT & LOGISTICS LLC           OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
BARROW WRECKER SERVICE                   2261 DIXIE AVE SMYRNA GA 30080
BARROW, RODNEY                           ADDRESS ON FILE
BARROWS, LANCE                           ADDRESS ON FILE
BARROWS, WILLIAM                         ADDRESS ON FILE
BARRY BASHORE, INC.                      P O BOX 318 BETHEL PA 19507
BARRY DUGGINS                            ADDRESS ON FILE
BARRY E DUGGINS                          ADDRESS ON FILE
BARRY LANDSCAPE & MAINTENANCE SRVC INC   PO BOX 6132 BELLEVUE WA 98008
BARRY MONDAY TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BARRY SHAMBLIN                           ADDRESS ON FILE
BARRY SHAMBLIN                           ADDRESS ON FILE
BARRY W PARDUE                           ADDRESS ON FILE
BARRY, DEVIN                             ADDRESS ON FILE
BARRY, KEITH                             ADDRESS ON FILE
BARRY, MICHAEL                           ADDRESS ON FILE
BARRY, SHAWN                             ADDRESS ON FILE
BARRY, THEODORE                          ADDRESS ON FILE
BARSIX LOGISTICS INC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BART LOGISTICS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BARTA, GERALD                            ADDRESS ON FILE
BARTA, SHAWN                             ADDRESS ON FILE
BARTEK, MAYA                             ADDRESS ON FILE
BARTELL, CAROL                           ADDRESS ON FILE
BARTELS, MADELINE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 167 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 176 of 2156

Claim Name                           Address Information
BARTELS, STEVEN B                    ADDRESS ON FILE
BARTEMUS, JOSH                       ADDRESS ON FILE
BARTH ELECTRIC                       1934 N. ILLINOIS STREET INDIANAPOLIS IN 46202
BARTH TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BARTH, CHRISTIAN                     ADDRESS ON FILE
BARTH, JESSICA                       ADDRESS ON FILE
BARTH, SIERRA                        ADDRESS ON FILE
BARTHELEMY, CHRISTOPHER              ADDRESS ON FILE
BARTHELLEMY, LEVY                    ADDRESS ON FILE
BARTHOLOMEW, BRANDON                 ADDRESS ON FILE
BARTHOLOMEW, DONALD                  ADDRESS ON FILE
BARTHOLOMEW, JIM                     ADDRESS ON FILE
BARTHOLOMEW, WILLIAM                 ADDRESS ON FILE
BARTKEWICZ, DAVID                    ADDRESS ON FILE
BARTLESON, STEPHEN                   ADDRESS ON FILE
BARTLETT, GREGORY                    ADDRESS ON FILE
BARTLETT, JAMES                      ADDRESS ON FILE
BARTLETT, JOYCE                      ADDRESS ON FILE
BARTLETT, ROBERT                     ADDRESS ON FILE
BARTLETT, SETH                       ADDRESS ON FILE
BARTLEY GARAGE                       814 18TH ST CHARLESTON IL 61920
BARTLEY, CORY                        ADDRESS ON FILE
BARTLEY, ROBERT                      ADDRESS ON FILE
BARTOLOMUCCI, VINCENT                ADDRESS ON FILE
BARTOLOTTA, JEFFREY                  ADDRESS ON FILE
BARTON ASSOCIATES                    1029 S SOMERSET INDIANAPOLIS IN 46241
BARTON POOL COMPANY                  ATTN: JEFF BARTON 6849 HAWTHORN PARK DR INDIANAPOLIS IN 46220
BARTON, ADAM                         ADDRESS ON FILE
BARTON, BRIAN D                      ADDRESS ON FILE
BARTON, CHARLES                      ADDRESS ON FILE
BARTON, COLTON D                     ADDRESS ON FILE
BARTON, DANIEL                       ADDRESS ON FILE
BARTON, DANIEL                       ADDRESS ON FILE
BARTON, HUEY                         ADDRESS ON FILE
BARTON, JASON                        ADDRESS ON FILE
BARTON, JASON P                      ADDRESS ON FILE
BARTON, JASON P                      ADDRESS ON FILE
BARTON, JEREMIAH                     ADDRESS ON FILE
BARTON, LARRY                        ADDRESS ON FILE
BARTON, RICHARD                      ADDRESS ON FILE
BARTON, WILLIAM                      ADDRESS ON FILE
BARTON, WILLIAM                      ADDRESS ON FILE
BARTON, WILLIAM                      ADDRESS ON FILE
BARTORILLO, NICHOLAS                 ADDRESS ON FILE
BARTOS, RYAN                         ADDRESS ON FILE
BARTOSCH, MICHAEL                    ADDRESS ON FILE
BARTOSHUK, STEVEN                    ADDRESS ON FILE
BARTROM, ANTHONY                     ADDRESS ON FILE
BARTS EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                               Page 168 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 177 of 2156

Claim Name                           Address Information
BARTSCH, CHADE                       ADDRESS ON FILE
BARTSCH, CHADE                       ADDRESS ON FILE
BARTSCH, MICHAEL                     ADDRESS ON FILE
BARTUNEK, SCOTT                      ADDRESS ON FILE
BARTUS, KRYSTAL                      ADDRESS ON FILE
BARUCH, LISA                         ADDRESS ON FILE
BARVA EXPRESS LLC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
BARWAY TRANSPORT LLC                 OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
BARYA TRANSPORT LLC                  OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
BAS II INC                           13727 S.W. 152 STREET 115 MIAMI FL 33177
BAS NATIONWIDE TRUCKING LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BAS, EDWARD                          ADDRESS ON FILE
BASA LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BASABILVAZO, RICK                    ADDRESS ON FILE
BASANOVIC, TATJANA                   ADDRESS ON FILE
BASANT TRANS LLC                     OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
BASARABIA TRANS INC                  OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
BASCO                                AMSTAN LOGISTICS 7570 BALES ST 310 LIBERTY TOWNSHIP OH 45069
BASCO                                AMSTAN LOGISTICS 7570 BALES ST STE 310 LIBERTY TOWNSHIP OH 45069
BASCO                                ATTN: AMANDA BAINTER AMSTAN LOGISTICS 7570 BALES ST STE 310 LIBERTY TOWNSHIP
                                     OH 45069
BASCO                                ATTN: BASCO MANUFACTURING AMSTAN LOGISTICS 7570 BALES ST STE 310 LIBERTY
                                     TOWNSHIP OH 45069
BASCO                                PO BOX 7203 CAROL STREAM IL 60197
BASCO MANUFACTURING                  AMSTAN LOGISTICS 7570 BALES ST LIBERTY TOWNSHIP OH 45069
BASCO MANUFACTURING AMSTAN LO        ATTN: AMANDA BAINTER 7570 BALES ST LIBERTY TOWNSHIP OH 45069
BASCO MANUFACTURING AMSTAN LO        ATTN: SARAH MURPHY 7570 BALES ST STE 310 LIBERTY TOWNSHIP OH 45069
BASCUS, CHRISTOPHER                  ADDRESS ON FILE
BASE RUNNERS TRANSPORT LLC           OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
BASE TRUCKING LLC                    8010 PRESTWICK COURT ROWLETT TX 75089
BASE, JOHN                           ADDRESS ON FILE
BASELINE RESOURCE INC                OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
BASEX TRANSPORT LLC                  410 CROWDER RD MADISON NC 27025
BASEY, DAVID                         ADDRESS ON FILE
BASF CORP                            ATTN: KRYSTAL DANIELS SOUTHWIRE CO CLAIM DEPARTMENT 1900 BRANNAN RD, STE 300
                                     MCDONOUGH GA 30253
BASF CORPORATION                     1900 BRANNAN RD SUITE 300 MCDONOUGH GA 30253
BASF CORPORATION                     ATTN: KRYSTAL DANIELS CLAIM DEPARTMENT 1900 BRANNAN RD STE 300 MCDONOUGH GA
                                     30253
BASF CORPORATION                     ATTN: KRYSTAL DANIELS TRANSPORTATION SERVICES 1900 BRANNAN RD, STE 300
                                     MCDONOUGH GA 30253-1234
BASH LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BASH, RUSSELL                        ADDRESS ON FILE
BASHAM TRANSPORTATION INC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BASHAM, GEORGE                       ADDRESS ON FILE
BASHAM, NATHAN                       ADDRESS ON FILE
BASHIR, ARSALAN                      ADDRESS ON FILE
BASHORE, KEITH                       ADDRESS ON FILE
BASHORE, THERESA                     ADDRESS ON FILE
BASIC BOBS TRUCKING LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101


Epiq Corporate Restructuring, LLC                                                                 Page 169 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 178 of 2156

Claim Name                           Address Information
BASIC XPRESS LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BASILE TRUCKING INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BASILE, DEBRA                        ADDRESS ON FILE
BASIN SREET HOTEL                    42 E. MAIN ST. KUTZTOWN PA 19530
BASIN TIRE & AUTO, INC.              1110 HUTTON AVENUE, PO BOX 568 FARMINGTON NM 87402
BASINGER, JIM                        ADDRESS ON FILE
BASINSKI, JAN                        ADDRESS ON FILE
BASKERVILLE, RICHARD                 ADDRESS ON FILE
BASKIEWICZ, JESSE                    ADDRESS ON FILE
BASKILE TRUCKING LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BASKIN, DAVID                        ADDRESS ON FILE
BASMACIOGLU, ARET                    ADDRESS ON FILE
BASOCO, THOMAS                       ADDRESS ON FILE
BASORA, ANGEL                        ADDRESS ON FILE
BASRA CARRIER INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BASRA TRANSPORT INC                  1668 SWEETGUM DR GREENWOOD IN 46143
BASRA TRUCK LINES INC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BASRAWI LOGISTICS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BASS LINE TRUCKING                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BASS PRO                             ATTN: JAMIE VAN VOORST 100 DISTRIBUTION RD TRIADELPHIA WV 26059
BASS PRO                             ATTN: JAMIE VAN VOORST 20000 BASS PRO DR SPANISH FT AL 36527
BASS, DAMON                          ADDRESS ON FILE
BASS, JAMES                          ADDRESS ON FILE
BASS, JEFFREY                        ADDRESS ON FILE
BASS, KEVIN                          ADDRESS ON FILE
BASS, LINDEL                         ADDRESS ON FILE
BASS, REMON                          ADDRESS ON FILE
BASS, THOMAS L                       ADDRESS ON FILE
BASS, ZANIYA                         ADDRESS ON FILE
BASSAN TRUCKING                      76 VILLADOWNS TRAIL BRAMPTON ON L6R 3Y8 CANADA
BASSE LOGISTICS LLC                  OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
BASSE TRUCK LINE INC.                PO BOX 10128 SAN ANTONIO TX 78210
BASSETT, BRADLEY                     ADDRESS ON FILE
BASSETT, CASEY                       ADDRESS ON FILE
BASSETT, CATHERINE                   ADDRESS ON FILE
BASSETT, GARY                        ADDRESS ON FILE
BASSETT, JUSTIN                      ADDRESS ON FILE
BASSETT, KIM                         ADDRESS ON FILE
BASSETT, ROSS                        ADDRESS ON FILE
BASSI CARRIERS                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
BASSLER, KENNETH                     ADDRESS ON FILE
BASSON, SIMRAN                       ADDRESS ON FILE
BASSP, CARSON                        ADDRESS ON FILE
BAST, ROBERTA                        ADDRESS ON FILE
BASTEDO, JEFFREY                     ADDRESS ON FILE
BASTIDAS, RICHARD                    ADDRESS ON FILE
BASTIEN, FRITZNER J                  ADDRESS ON FILE
BASTON, VERNON                       ADDRESS ON FILE
BASU, SWARUPA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 170 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 179 of 2156

Claim Name                           Address Information
BASULTO, RANDY                       ADDRESS ON FILE
BASWA, JONATHAN                      ADDRESS ON FILE
BASYE, MICHAEL                       ADDRESS ON FILE
BAT CARRIER LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BATA LOGISTICS LLC                   OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
BATALDEN, DAVID                      ADDRESS ON FILE
BATATA TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BATCHA, TRAVIS                       ADDRESS ON FILE
BATCHELOR, ISAAC                     ADDRESS ON FILE
BATEMAN, CHRISTOPHER                 ADDRESS ON FILE
BATEMON, TAVARIS                     ADDRESS ON FILE
BATENBURG, EARL                      ADDRESS ON FILE
BATES SEPTIC SERVICES INC            2289 VAUGHN BRIDGE RD HARTSELLE AL 35640
BATES STREET LOCK AND SAFE           2522 LEMAY FERRY RD SAINT LOUIS MO 63125
BATES STREET LOCK AND SAFE           P.O. BOX 16367 SAINT LOUIS MO 63125
BATES TRANSPORT INC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BATES, CHRISTOPHER                   ADDRESS ON FILE
BATES, CLIFTON                       ADDRESS ON FILE
BATES, DARROL                        ADDRESS ON FILE
BATES, DAVID                         ADDRESS ON FILE
BATES, DONALD D                      ADDRESS ON FILE
BATES, DONZEL TRAVON                 ADDRESS ON FILE
BATES, FREDERICK                     ADDRESS ON FILE
BATES, JOSEPH                        ADDRESS ON FILE
BATES, MARION                        ADDRESS ON FILE
BATES, MARK                          ADDRESS ON FILE
BATES, MICHAEL                       ADDRESS ON FILE
BATES, OLIJUWAN                      ADDRESS ON FILE
BATES, PATRICIA                      ADDRESS ON FILE
BATES, ROBERT                        ADDRESS ON FILE
BATES, TIMOTHY                       ADDRESS ON FILE
BATES, WILLIAM                       ADDRESS ON FILE
BATEY, BRIAN                         ADDRESS ON FILE
BATH AUTHORITY                       ATTN: DREAMLINE BATH AUTHORITY 75 HAWK RD WARMINSTER PA 18974
BATH AUTHORITY                       75 HAWK RD WARMINSTER 18974-5102
BATH, RANDY                          ADDRESS ON FILE
BATIEN, KRISTI                       ADDRESS ON FILE
BATISTA TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
BATISTA, MANUEL                      ADDRESS ON FILE
BATISTE TRANSPORT & LOGISTICS, LLC   OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
BATISTE TRANSPORT LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BATISTE, DONOVAN                     ADDRESS ON FILE
BATON ROUGE CARGO SERVICE INC        PO BOX 77316 BATON ROUGE LA 70879
BATORY FOODS                         300 DATA CT DUBUQUE IA 52003
BATORY FOODS                         ATTN: CLAIMS DEPT, 300 DATA CT DUBUQUE IA 52003
BATORY FOODS CLAIMS                  300 DATA CT DUBUQUE IA 52003
BATTA, ROGELIO                       ADDRESS ON FILE
BATTAGLIA, FRANK                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 171 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 180 of 2156

Claim Name                               Address Information
BATTAGLIA, ROCKY                         ADDRESS ON FILE
BATTE, LIZZETTE                          ADDRESS ON FILE
BATTEE, DOMINICK                         ADDRESS ON FILE
BATTELINIS TRANSPORTATION SYSTEM INC     351 HARDING HIGHWAY, PO BOX 289 LANDISVILLE NJ 08326
BATTEN TRAILER LEASING INC               4511 S 67 ST OMAHA NE 68117
BATTENFELD-CINCINNATI                    823 SOUTH BY-PASS MCPHERSON KS 67460
BATTERSBY, JIM                           ADDRESS ON FILE
BATTERSON, MICHAEL                       ADDRESS ON FILE
BATTERY SOLUTIONS LLC                    4930 HOLTZ DR WIXOM MI 48393
BATTERY SYSTEMS INC                      PO BOX 735568 DALLAS TX 75373
BATTH TRUCKING INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BATTINIERI JR, ROBERT                    ADDRESS ON FILE
BATTLE EXPRESS                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BATTLE KING TRUCKING LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BATTLE, JAMES                            ADDRESS ON FILE
BATTLE, JEFFERY                          ADDRESS ON FILE
BATTLE, KAMESHIA                         ADDRESS ON FILE
BATTLE, MARK                             ADDRESS ON FILE
BATTLE, NICOLE                           ADDRESS ON FILE
BATTLE, RAYMOND                          ADDRESS ON FILE
BATTLE, REIS                             ADDRESS ON FILE
BATTLE, TREVIN                           ADDRESS ON FILE
BATTLEGROUND TIRE & WRECKER SRVC, INC.   6204 S NC 62 BURLINGTON NC 27215
BATTLES, DANIEL                          ADDRESS ON FILE
BATTLES, JOSHUA                          ADDRESS ON FILE
BATTLES, YVETTE                          ADDRESS ON FILE
BATTLEY, SCOTT                           ADDRESS ON FILE
BATTON, MARIO                            ADDRESS ON FILE
BATTS BROTHERS LOGISTICS LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BATTS, SHAWN                             ADDRESS ON FILE
BATTY JR, JOSEPH                         ADDRESS ON FILE
BATULANON, FLAVIN                        ADDRESS ON FILE
BATY, BENJAMIN                           ADDRESS ON FILE
BATY, BRIAN                              ADDRESS ON FILE
BATY, BRITTANY                           ADDRESS ON FILE
BATY, SONORA                             ADDRESS ON FILE
BATZ, DANIEL                             ADDRESS ON FILE
BATZEL, TIMOTHY                          ADDRESS ON FILE
BAUCOM SERVICE INC                       9611 MORGAN MILL RD MONROE NC 28110
BAUCOM, RONALD D                         ADDRESS ON FILE
BAUCOM, TERRY                            ADDRESS ON FILE
BAUDER, TOM                              ADDRESS ON FILE
BAUDER, TOM W                            ADDRESS ON FILE
BAUDUIN, ED                              ADDRESS ON FILE
BAUER BUILT TIRE                         PO BOX 248 DURAND WI 54736
BAUER BUILT TIRE                         5301 AL HAYNES DRIVE SIOUX CITY IA 51111
BAUER BUILT TIRE                         3813 N NATIONAL AVE SIOUX FALLS SD 57104
BAUER, BRIAN                             ADDRESS ON FILE
BAUER, CHRIS                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 172 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 181 of 2156

Claim Name                          Address Information
BAUER, DALE                         ADDRESS ON FILE
BAUER, DAVID                        ADDRESS ON FILE
BAUER, GARRETT                      ADDRESS ON FILE
BAUER, KENNETH                      ADDRESS ON FILE
BAUER, ROGER L                      ADDRESS ON FILE
BAUER, SCOTT                        ADDRESS ON FILE
BAUER, SCOTT                        ADDRESS ON FILE
BAUER, STEVEN                       ADDRESS ON FILE
BAUER, THOMAS                       ADDRESS ON FILE
BAUER, TIMOTHY                      ADDRESS ON FILE
BAUER, WESLEY                       ADDRESS ON FILE
BAUER, WILLIAM                      ADDRESS ON FILE
BAUGH, EVERETT                      ADDRESS ON FILE
BAUGH, JAMES                        ADDRESS ON FILE
BAUGH, JERRY                        ADDRESS ON FILE
BAUGHMAN, CHARLES                   ADDRESS ON FILE
BAULDWIN, SOLOMON                   ADDRESS ON FILE
BAUM, DAVID                         ADDRESS ON FILE
BAUM, PAUL                          ADDRESS ON FILE
BAUM, SUSAN                         ADDRESS ON FILE
BAUMAN, ALEXYSS                     ADDRESS ON FILE
BAUMAN, CHARLES                     ADDRESS ON FILE
BAUMAN, JERRY                       ADDRESS ON FILE
BAUMAN, THOMAS                      ADDRESS ON FILE
BAUMANN LAWN & LANDSCAPING LLC      6611 CONNER DAVIS DR WAUSAU WI 54401
BAUMANN LAWN & LANDSCAPING LLC      229829 N 112TH AVE MARATHON WI 54448
BAUMANN, BRUCE                      ADDRESS ON FILE
BAUMANN, DAVID                      ADDRESS ON FILE
BAUMANN, JAMES                      ADDRESS ON FILE
BAUMANN, JAMES                      ADDRESS ON FILE
BAUMANN, JEFFREY                    ADDRESS ON FILE
BAUMANN, WILLIAM                    ADDRESS ON FILE
BAUMEISTER, JONATHAN                ADDRESS ON FILE
BAUMER, TIMOTHY                     ADDRESS ON FILE
BAUMGARDNER, BRIAN                  ADDRESS ON FILE
BAUMGARDNER, ROBERT                 ADDRESS ON FILE
BAUMGART, DEBRA                     ADDRESS ON FILE
BAUMGART, MICHAEL                   ADDRESS ON FILE
BAUMGARTNER, DAVID                  ADDRESS ON FILE
BAUMGARTNER, GARY                   ADDRESS ON FILE
BAUMGARTNER, TODD                   ADDRESS ON FILE
BAUMHOVER, PATRICK                  ADDRESS ON FILE
BAUNE, DOUG                         ADDRESS ON FILE
BAUSCH, DEBRA                       ADDRESS ON FILE
BAUSCH, EDWARD                      ADDRESS ON FILE
BAUSEMAN, MICHAEL                   ADDRESS ON FILE
BAUSEMAN, RODNEY                    ADDRESS ON FILE
BAUSERMAN, TODD E                   ADDRESS ON FILE
BAUTCH, GARY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 173 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 182 of 2156

Claim Name                             Address Information
BAUTH, MICHAEL                         ADDRESS ON FILE
BAUTISTA, ARTHUR                       ADDRESS ON FILE
BAUTISTA, DAMIEN                       ADDRESS ON FILE
BAUTISTA, EMILY                        ADDRESS ON FILE
BAUTISTA, FRANCISCO E                  ADDRESS ON FILE
BAUTISTA, FRANK                        ADDRESS ON FILE
BAUTISTA, HONEY PEARL                  ADDRESS ON FILE
BAUTISTA, KEIRON CHRISTINE             ADDRESS ON FILE
BAUTISTA, KELLY                        ADDRESS ON FILE
BAUZA DELIVERY CORP                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BAVONE, JOHN                           ADDRESS ON FILE
BAVOSO, JAMES                          ADDRESS ON FILE
BAVUSO, STEVEN                         ADDRESS ON FILE
BAW, PAUL                              ADDRESS ON FILE
BAWA ABUBAKAR, MOHAMMED RASHAD         ADDRESS ON FILE
BAWA TRANSPORTATION LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BAWS BAWS USA INC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BAX, ROBERT                            ADDRESS ON FILE
BAXA, REALYN                           ADDRESS ON FILE
BAXAR TRUCKING LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BAXLEY JACKSON LAW FIRM                300 VESTAVIA PKWY STE 3450 VESTAVIA HILLS AL 35216
BAXLEY, HAROLD                         ADDRESS ON FILE
BAXTA LLC                              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BAXTER                                 ATTN: DREW MCCORKLE 466 BAXTER LN WINCHESTER TN 37398
BAXTER AUTO PARTS                      9440 N WHITAKER RD PORTLAND OR 97217
BAXTER AUTO PARTS                      9444 N WHITAKER RD PORTLAND OR 97217
BAXTER LOGISTICS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BAXTER TRANSPORT INC.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BAXTER TRANSPORT INC.                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BAXTER, BAILEY & ASSOCIATES            6858 SWINNEA RD, BLDG 4 SOUTHAVEN MS 38671
BAXTER, BILLY                          ADDRESS ON FILE
BAXTER, CARL                           ADDRESS ON FILE
BAXTER, CODIE                          ADDRESS ON FILE
BAXTER, EDDIE                          ADDRESS ON FILE
BAXTER, EDDIE T                        ADDRESS ON FILE
BAXTER, JEREMY                         ADDRESS ON FILE
BAXTER, VANCE W                        ADDRESS ON FILE
BAY & BAKOL TRANSPORTATION LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BAY & BAY TRANSPORTATION               2905 W SERVICE RD 2000 EAGAN MN 55121
BAY AREA PORT SOLUTIONS                26464 CASCADE ST HAYWARD CA 94544
BAY AREA TRANSPORT REFRIGERATION INC   22409 THUNDERBIRD PL HAYWARD CA 94545
BAY CITY FORKLIFT INC                  5201 36TH AVE S TAMPA FL 33619
BAY INSULATION OF WA                   PO BOX 9229 GREEN BAY WI 54308
BAY MOBILE TRUCK WASH                  535 SINCLAIR DR. SAN JOSE CA 95116
BAY POINTE TECHNOLOGY, LTD             ATTN: GENERAL COUNSEL 1035 MEDINA RD SUITE 800 MEDINA OH 44256
BAY SPRINGS ASSOCIATES INC             PO BOX 933 WINDERMERE FL 34786
BAY TRANSPORT INC                      PO BOX 948 UNION CITY CA 94587-0948
BAY TRUCKING LLC                       17155 W SHERMAN ST, PO BOX 7410440 GOODYEAR AZ 85338
BAY2BAY                                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633



Epiq Corporate Restructuring, LLC                                                                  Page 174 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 183 of 2156

Claim Name                           Address Information
BAYARD ADVERTISING AGENCY            CREDIT & COLLECTION DEPARTMENT 1430 BROADWAY 20TH FLOOR NEW YORK NY 10018
BAYARENA, JEREMY                     ADDRESS ON FILE
BAYCAL TRANSPORT                     672 W 11TH ST 379 TRACY CA 95376
BAYDAR, HUSNU                        ADDRESS ON FILE
BAYER TRANS INC.                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
BAYER TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BAYER, EDWARD                        ADDRESS ON FILE
BAYER, NANCY                         ADDRESS ON FILE
BAYES, ROGER                         ADDRESS ON FILE
BAYH, JAMES                          ADDRESS ON FILE
BAYIRD, BRIAN                        ADDRESS ON FILE
BAYIRD, GREGORY                      ADDRESS ON FILE
BAYIRD, GREGORY                      ADDRESS ON FILE
BAYKAL TRANSPORTATION INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
BAYLE TRANSPORT LTD                  OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
BAYLOCAL FREIGHT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAYLOR TRUCKING, INC.                9269 E STATE RD 48 MILAN IN 47031
BAYLOR UNIVERSITY                    1 BEAR PLACE 97090 WACO TX 76798
BAYLOR, JAMES                        ADDRESS ON FILE
BAYLY, CHARLES                       ADDRESS ON FILE
BAYMAR SUPPLY LTD                    ATTN: PAUL ABRASH 3200 JEFFERSON BLVD WINDSOR ON N8T 2W8 CANADA
BAYNE, KERRY                         ADDRESS ON FILE
BAYNE, URSULA                        ADDRESS ON FILE
BAYOU CONCRETE                       5509 INDUSTRIAL RD PASCAGOULA MS 39581
BAYOU OVERHEAD DOOR INC              307 CRYER STREET WEST MONROE LA 71291
BAYOU TRANSPORTATION SERVICES, LLC   PO BOX 78153 BATON ROUGE LA 70837
BAYR TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BAYS APPLIANCES LLC                  OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BAYS, DONALD                         ADDRESS ON FILE
BAYSINGER, TERRY                     ADDRESS ON FILE
BAYSTAR TRANS INC                    PO BOX 2648 UNION CITY CA 94587
BAYSTATE LOGISTICS INC               STREM CHEMICALS, PO BOX 547 LEOMINSTER MA 01453
BAYSUN LLC                           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BAYTRANS INC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BAYVIEW CONSTRUCTION LTD             4000 MCGILLIVRAY BOULEVARD OAK BLUFF MB R4G 0B5 CANADA
BAZ EXPRESS INC                      14535 NORTHLINE RD SOUTHGATE MI 48195-2446
BAZALDUA, ROLAND                     ADDRESS ON FILE
BAZAROV, JACOB                       ADDRESS ON FILE
BAZAROV, JACOB                       ADDRESS ON FILE
BAZE INC                             OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
BAZER, ALEXANDER                     ADDRESS ON FILE
BAZIEL, CELITA                       ADDRESS ON FILE
BAZILE, OTIS                         ADDRESS ON FILE
BAZOW, DAVID                         ADDRESS ON FILE
BAZRA TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BB BROTHERS INC                      1519 UNION AVE UNIT 309 MEMPHIS TN 38104
BB EXPEDITE LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BB EXPRESS LLC                       OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
BB KEY GROUP CO                      OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045



Epiq Corporate Restructuring, LLC                                                                 Page 175 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 184 of 2156

Claim Name                             Address Information
BB TRANS INC                           12 AGNELL CT SACRAMENTO CA 95835
BB8 FREIGHT CO.                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BB8 FREIGHT CO.                        OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
BBA PRESTO LOGISTICS LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BBB INDUSTRIES, LLC                    PO BOX 95582 GRAPEVINE TX 76099
BBB INDUSTRIES, LLC                    PO BOX 95582 GRAPEVINE TX 76099-9709
BBC LOGISTICS LLC                      OR CT CASH LLC, DEPT 2189 PO BOX 122189 DALLAS TX 75312-2189
BBC LOGISTICS LLC (MC1087030)          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BBC STEEL CORP.                        2001 SE TOWNSHIP RD CANBY OR 97013
BBCL CARGO LLC                         OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
BBCL FREIGHT LLC                       OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
BBE                                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BBF HOLDINGS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BBGN TRUCKING LLC                      OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
BBH GROUP INC.                         4400 HICKMORE SAINT-LAURENT QC H4T 1K2 CANADA
BBH TRANSIT AND COURIER SERVICES LLC   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
BBM FREIGHT LLC                        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BBOX LLC                               OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BBR LOGISTICS LLC                      OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
BBR TRANSPORT LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BBS TRANSPORTING COMPANY LLC           OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                       35246-2659
BBT ENT INC                            3087 WATSON RD WAVERLY IL 62692
BBTC INC                               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
BBVA MEXICO SA                         AVE PASEO DE LA REFORMA 510 COL JUAREZ, ALCALDIA CUAUHTEMOC CDMX 06600 MEXICO
BC EMERGENCY HEALTH SERVICES           AMBULANCE BILLING PO BOX 9676 STN PROV GOVT VICTORIA BC V8W 9P7 CANADA
BC HYDRO                               333 DUNSMUIR ST. VANCOUVER BC V6B 5R3 CANADA
BC TRANSPORT SERVICES LLC              1 ARDMORE CIR CARTERSVILLE GA 30120-6487
BC TRUCKING INC                        OR SINGH FINANCING 10206 FAIRBANKS N HOUSTON RD HOUSTON TX 77064
BCC HAULERS, LLC                       PO BOX 600 BEEBE AR 72012
BCE REVLON                             ATTN: KAREN TELEP D&J ASSOCIATES INC 14545 J MILITARY TRL, STE 192 DELRAY
                                       BEACH FL 33484
BCE REVLON                             D&J ASSOCIATES INC 14545 J MILITARY TRL, STE 192 DELRAY BEACH FL 33484
BCI FREIGHT AND CRATE LLC              OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
BCP TRANSPORTATION , INC.              1 GOLF DRIVE DEERFIELD WI 53531
BCS CAPITAL PARTNERS LLC               P O 17761 MEMPHIS TN 38187
BD 888 LLC                             OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BDA CTE WAREHOUSING                    ATTN: BLAIR GRANT PO BOX 1930 SUMNER WA 98390
BDAZ TOWING LLC                        16080 W. POINSETTIA DRIVE SURPRISE AZ 85379
BDHO TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BDI 1114                               975 WILSON ST EUGENE OR 97402
BDJ TRANSPORTATION LLC                 95 CAMBRIDGE ST LAWRENCE MA 01843
BDK DOOR                               2222 CORNELL AVENUE MONTGOMERY IL 60538
BDK TOOLS INC                          1207 BLUE JAY LN PLAINFIELD IL 60586
BDM TRUCKING LLC                       14116 GREEN BIRCH DR PINEVILLE NC 28134-9038
BDM TRUCKING LLC                       OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
BDR TRANSPORT INC.                     7994 US ROUTE 5 WESTMINSTER VT 05158
BDS FREIGHT LINES LIMITED              17 RUNNYMEDE CRES BRAMPTON ON L6R 0L2 CANADA


Epiq Corporate Restructuring, LLC                                                                   Page 176 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 185 of 2156

Claim Name                          Address Information
BDT OF NC LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
BDX LOGISTICS LLC                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BE ONE GROUP LLC                    153 LONG CAY LN REYNOLDSBURG OH 43068-2567
BEACH TRUCKING LLC                  8664 KINLEY RD OVID MI 48866-8650
BEACH, BRAD                         ADDRESS ON FILE
BEACH, DAVID                        ADDRESS ON FILE
BEACH, LEONARD                      ADDRESS ON FILE
BEACH, MICHAEL                      ADDRESS ON FILE
BEACH, NICHOLAS                     ADDRESS ON FILE
BEACH, SPENCER                      ADDRESS ON FILE
BEACH, WELDON                       ADDRESS ON FILE
BEACHAM, FREDERICK                  ADDRESS ON FILE
BEACHY, ALVIN                       ADDRESS ON FILE
BEACON BUILDING PRODUCTS            5945 HARRIS TECHNOLOGY BLVD. CHARLOTTE NC 28269
BEACON BUILDING PRODUCTS            ATTN: ROBERT PAISLEY 11000 NE 34TH CIR. VANCOUVER WA 98682
BEACON OCCUPATIONAL HEALTH LLC      ACCOUNTS RECEIVABLE DEPARTMENT BEACON OCCUPATIONAL HEALTH LLC 22818 OLD US 20
                                    ELKHART IN 46516
BEACON OCCUPATIONAL HEALTH LLC      ATTN: AR, 22818 OLD US 20 ELKHART IN 46516
BEACON TRANSPORT SERVICES INC       PO BOX 57629 CHICAGO IL 60657
BEADLE, ANDREW                      ADDRESS ON FILE
BEADLE, ROGER                       ADDRESS ON FILE
BEAGLEY, STEVEN                     ADDRESS ON FILE
BEAL BANK USA                       C/O CLMG CORP. 6000 LEGACY DRIVE PLANO TX 75024
BEAL, JESSICA                       ADDRESS ON FILE
BEAL, KASARAH                       ADDRESS ON FILE
BEAL, MICHAEL                       ADDRESS ON FILE
BEAL, MICHAEL E                     ADDRESS ON FILE
BEAL, TOMMY                         ADDRESS ON FILE
BEALE, MICA                         ADDRESS ON FILE
BEALL, DELBERT                      ADDRESS ON FILE
BEALS JR, DOUGLAS                   ADDRESS ON FILE
BEAM AND COMPANY INC DBA THE        5470 E LAMONA FRESNO CA 93727
RESTORATION
BEAM MACK SALES & SERVICE INC.      3050 LAKE ROAD HORSEHEADS NY 14845
BEAM MACK SALES & SERVICE INC.      6260 E MOLLOY RD EAST SYRACUSE NY 13057
BEAM MACK SALES & SERVICE INC.      22048 SALMON RUN MALL RD. WATERTOWN NY 13601
BEAM MACK SALES & SERVICE INC.      1500 NORTH AMERICA DRIVE WEST SENECA NY 14224
BEAM MACK SALES & SERVICE INC.      2654-2674 W. HENRIETTA ROAD ROCHESTER NY 14623
BEAM MACK SALES & SERVICE INC.      2674 W, HENRIETTA ROAD HENRIETTA NY 14623
BEAMER, AMY                         ADDRESS ON FILE
BEAMER, CHRIS                       ADDRESS ON FILE
BEAMON LOGISTICS INC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BEAMON, ALISA                       ADDRESS ON FILE
BEAMON, DARRYL                      ADDRESS ON FILE
BEAMON, DEQUAN                      ADDRESS ON FILE
BEAMON, JAMES                       ADDRESS ON FILE
BEAMON, MICHAEL                     ADDRESS ON FILE
BEAMON, TENETHIA                    ADDRESS ON FILE
BEAMS PAVEMENT LLC                  45 FALLMOUTH ST NORTH AUGUSTA SC 29841



Epiq Corporate Restructuring, LLC                                                                Page 177 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 186 of 2156

Claim Name                            Address Information
BEAMS, DAVID                          ADDRESS ON FILE
BEAN LUMBER COMPANY                   OR DOVE FINANCIAL SERVICES LLC 230 CARR RD PASCO WA 99301
BEAN, ANTWAIN                         ADDRESS ON FILE
BEAN, ASHIA                           ADDRESS ON FILE
BEAN, BRANDON                         ADDRESS ON FILE
BEAN, CRYSTAL                         ADDRESS ON FILE
BEAN, DAVID                           ADDRESS ON FILE
BEAN, JORDAN                          ADDRESS ON FILE
BEAN, KARLAN                          ADDRESS ON FILE
BEANFIELDS INC                        ECHO GLOBAL, 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
BEANUM-BROWN, ROLANDA                 ADDRESS ON FILE
BEAR CREEK LOCK, SAFE, & ALARM, INC   2420 CRATER LAKE HWY MEDFORD OR 97504
BEAR CREEK TRUCKING II LLC            OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
BEAR RIVER VALLEY CO OP.              2787 MULE RANCH RD CORINNE UT 84307
BEAR, DAKOTA                          ADDRESS ON FILE
BEAR, LARRY W                         ADDRESS ON FILE
BEAR, SOLOMON                         ADDRESS ON FILE
BEAR, STEVEN                          ADDRESS ON FILE
BEARCAT XPRESS, INC.                  10419 CHESTER ROAD CINCINNATI OH 45215
BEARCE, JASON                         ADDRESS ON FILE
BEARCOM CANADA CORP                   C/O T45502, P.O. BOX 4550, STN A TORONTO ON M5W 4R7 CANADA
BEARCOM COMMUNICATION                 PO BOX 670354 DALLAS TX 75267
BEARCOM COMMUNICATION                 PO BOX 670354 DALLAS TX 75267-0354
BEARCOM OPERATING, L.P.               D/B/A: BEARCOM COMMUNICATION PO BOX 670354 DALLAS TX 75267
BEARCOM OPERATING, L.P.               D/B/A: BEARCOM COMMUNICATION PO BOX 670354 DALLAS TX 75267-0354
BEARD, ANN                            ADDRESS ON FILE
BEARD, CAROLYN                        ADDRESS ON FILE
BEARD, DEWAYNE                        ADDRESS ON FILE
BEARD, GARY                           ADDRESS ON FILE
BEARD, HASSELL                        ADDRESS ON FILE
BEARD, JAMES                          ADDRESS ON FILE
BEARD, JAMES                          ADDRESS ON FILE
BEARD, JESSEFER                       ADDRESS ON FILE
BEARD, JOSEPH                         ADDRESS ON FILE
BEARD, MICHAEL                        ADDRESS ON FILE
BEARD, PHALLEN                        ADDRESS ON FILE
BEARD, RUSTY                          ADDRESS ON FILE
BEARD, STERLING                       ADDRESS ON FILE
BEARD, STEVEN                         ADDRESS ON FILE
BEARD, TYSHAWN                        ADDRESS ON FILE
BEARDALL, SCOTT                       ADDRESS ON FILE
BEARDEN, CHARLES                      ADDRESS ON FILE
BEARDSLEY, MARK                       ADDRESS ON FILE
BEARDSLEY, THEODORE                   ADDRESS ON FILE
BEARFIELD, JAMES                      ADDRESS ON FILE
BEARMAN TOMBAUGH, KIMBERLY            ADDRESS ON FILE
BEARS, EMILY                          ADDRESS ON FILE
BEARS, JUSTIN K                       ADDRESS ON FILE
BEARS, SAMUEL K                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 178 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 187 of 2156

Claim Name                              Address Information
BEARS, TIFFANY                         ADDRESS ON FILE
BEARTOOTH FIRE PROTECTION SERVICES INC. PO BOX 142 LAUREL MT 59044
BEAS, DELIA J                          ADDRESS ON FILE
BEASHORE, CHARLEEN                     ADDRESS ON FILE
BEASLEY BOYZ TRUCKING                  OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
BEASLEY, DALVIN                        ADDRESS ON FILE
BEASLEY, DELVIN                        ADDRESS ON FILE
BEASLEY, DERRICK                       ADDRESS ON FILE
BEASLEY, DONALD W                      ADDRESS ON FILE
BEASLEY, JOHN                          ADDRESS ON FILE
BEASLEY, JOHN                          ADDRESS ON FILE
BEASLEY, JOSEPH                        ADDRESS ON FILE
BEASLEY, KAYLYN                        ADDRESS ON FILE
BEASLEY, LANCE                         ADDRESS ON FILE
BEASLEY, LEVI                          ADDRESS ON FILE
BEASLEY, MARQUITIS                     ADDRESS ON FILE
BEASLEY, TERRANCE                      ADDRESS ON FILE
BEASLEY, TERRANCE                      ADDRESS ON FILE
BEASLEY, TRAVIS                        ADDRESS ON FILE
BEASLEY, VICTORIA                      ADDRESS ON FILE
BEATTIE, MICHAELA                      ADDRESS ON FILE
BEATTIES BASICS OFFICE PRODUCTS        PO BOX 30065 RPO RIDLEY SQUARE ST CATHARINES ON L2S 4A1 CANADA
BEATTY MEDIATION ARBITRATION           145 HAMMERSMITH AVE TORONTO ON M4E 2W7 CANADA
BEATTY, CODY J                         ADDRESS ON FILE
BEATTY, EVELYN                         ADDRESS ON FILE
BEATTY, HAROLD                         ADDRESS ON FILE
BEATTY, JAMES                          ADDRESS ON FILE
BEATTY, JOSEPH                         ADDRESS ON FILE
BEATTY, KAMERON                        ADDRESS ON FILE
BEATTY, PAUL W                         ADDRESS ON FILE
BEATTY, STEVE                          ADDRESS ON FILE
BEATTY, STUART                         ADDRESS ON FILE
BEATY, GREGORY                         ADDRESS ON FILE
BEAU TRANSPORTATION INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BEAUBRUN, KARL                         ADDRESS ON FILE
BEAUCHAINE, DENNIS                     ADDRESS ON FILE
BEAUCHAINE, NIKLUS                     ADDRESS ON FILE
BEAUDET, MATTHEW D                     ADDRESS ON FILE
BEAUDRIE, RUSSELL                      ADDRESS ON FILE
BEAUFORD TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BEAUJOUR, ALEX                         ADDRESS ON FILE
BEAULIEU, JONATHAN                     ADDRESS ON FILE
BEAUMAN, TODD                          ADDRESS ON FILE
BEAUMASTER, CODY                       ADDRESS ON FILE
BEAUMONT, NATHAN                       ADDRESS ON FILE
BEAUPRE, NICHOL                        ADDRESS ON FILE
BEAUTY BY IMAGINATION                  ATTN: GOODY CLAIMS 310 MAIN AVENUE WAY SE HICKORY NC 28602
BEAUTY LAWN CARE SERVICE               4351 GOTHENBERG RD DULUTH MN 55803
BEAUTY QUEST GROUP                     TPS LOGISTIC PO BOX 4750 TROY MI 48099



Epiq Corporate Restructuring, LLC                                                                   Page 179 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 188 of 2156

Claim Name                           Address Information
BEAUVAIS, ANDRE                      ADDRESS ON FILE
BEAVER LEASING AND RENTALS LTD       33A OAK POINT HWY WINNIPEG MB R2R 0T8 CANADA
BEAVER RESEARCH                      3700 E KILGORE RD PORTAGE MI 49002
BEAVER TRUCK CENTER                  33 OAK POINT HIGHWAY WINNIPEG MB R2R 0T8 CANADA
BEAVER, CHARLES                      ADDRESS ON FILE
BEAVER, GENE M                       ADDRESS ON FILE
BEAVER, MARVIN                       ADDRESS ON FILE
BEAVER, PHILLIP                      ADDRESS ON FILE
BEAVER, TITUS                        ADDRESS ON FILE
BEAVER, WAYNE                        ADDRESS ON FILE
BEAVERDAM FLEET SERVICES, INC.       424 E MAIN ST BEAVERDAM OH 45808
BEAVERS, BRIAN                       ADDRESS ON FILE
BEAVERS, CYNTHIA                     ADDRESS ON FILE
BEAVERS, ELIJAH                      ADDRESS ON FILE
BEAVERS, TODD                        ADDRESS ON FILE
BEAVERS, VICKIE                      ADDRESS ON FILE
BEAVIN, SAMUEL                       ADDRESS ON FILE
BEAZLEY                              C/O ARIA (SAC) LTD CRAWFORD HOUSE 3RD FLOOR, 50 CEDAR AVENUE HAMILTON HM 11
                                     BERMUDA
BEAZLEY INSURANCE CO.                30 BATTERSON PARK RD FARMINGTON CT 06032
BEBA INC                             OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
BEBBO TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BEBO, SAMI                           ADDRESS ON FILE
BECERRA CASTELLON, SAUL              ADDRESS ON FILE
BECERRA GALLEGOS, JOSUE              ADDRESS ON FILE
BECERRA, ADRIAN                      ADDRESS ON FILE
BECERRA, ELEAZAR                     ADDRESS ON FILE
BECERRA, JOSE                        ADDRESS ON FILE
BECERRA, JOSE                        ADDRESS ON FILE
BECERRA, RUDY                        ADDRESS ON FILE
BECHARD, MELISSA                     ADDRESS ON FILE
BECHLE, KIMBERLY                     ADDRESS ON FILE
BECHLE, KIMBERLY                     ADDRESS ON FILE
BECHTEL, CHARLES                     ADDRESS ON FILE
BECHTEL, DEL                         ADDRESS ON FILE
BECHTLER, DONALD                     ADDRESS ON FILE
BECHTOL, BRIAN                       ADDRESS ON FILE
BECHTOLD, DOUGLAS                    ADDRESS ON FILE
BECK TRUCKING LLC                    PO BOX 647 DOBSON NC 27017
BECK, AARON                          ADDRESS ON FILE
BECK, BRANDON                        ADDRESS ON FILE
BECK, CRAIG                          ADDRESS ON FILE
BECK, DAVID                          ADDRESS ON FILE
BECK, DONALD                         ADDRESS ON FILE
BECK, JARROD                         ADDRESS ON FILE
BECK, JOHN                           ADDRESS ON FILE
BECK, KEITH                          ADDRESS ON FILE
BECK, MORRIS                         ADDRESS ON FILE
BECK, PHILLIP                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 180 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 189 of 2156

Claim Name                             Address Information
BECK, RICHARD                          ADDRESS ON FILE
BECK, ROBERT                           ADDRESS ON FILE
BECK, RONALD                           ADDRESS ON FILE
BECK, SHAWN                            ADDRESS ON FILE
BECK, SHAWN                            ADDRESS ON FILE
BECK, TIFFANY                          ADDRESS ON FILE
BECKAM, ANGELA                         ADDRESS ON FILE
BECKELHEIMER, EARNEST                  ADDRESS ON FILE
BECKENTHAL, STEVEN                     ADDRESS ON FILE
BECKER DESIGNED INCORPORATED           ATTN: MARY SENESOM 14954 BOGLE DR CHANTILLY VA 20151
BECKER LOGISTICS                       ATTN: DONNA HARGREAVES CLAIMS DEPARTMENT 2198 GLADSTONE CT UNIT D GLENDALE HTS
                                       IL 60139
BECKER TRUCKING INC                    6350 S 143RD ST TUKWILA WA 98168
BECKER, CHARLES                        ADDRESS ON FILE
BECKER, CHRISTOPHER                    ADDRESS ON FILE
BECKER, CHRISTOPHER                    ADDRESS ON FILE
BECKER, JERRY                          ADDRESS ON FILE
BECKER, JOHN F                         ADDRESS ON FILE
BECKER, JONATHAN                       ADDRESS ON FILE
BECKER, LEONARD                        ADDRESS ON FILE
BECKER, MICHAEL                        ADDRESS ON FILE
BECKER, MICHAEL                        ADDRESS ON FILE
BECKER, RONALD P                       ADDRESS ON FILE
BECKER, SAXTON                         ADDRESS ON FILE
BECKER, STEPHEN                        ADDRESS ON FILE
BECKER, STEVEN                         ADDRESS ON FILE
BECKER, T                              ADDRESS ON FILE
BECKER, TONY                           ADDRESS ON FILE
BECKERS TRUCKING, INC.                 PO BOX 66 TURTLE LAKE WI 54889
BECKERS, DOUGLAS                       ADDRESS ON FILE
BECKERS, DOUGLAS L                     ADDRESS ON FILE
BECKETT, CHARLES                       ADDRESS ON FILE
BECKETT, MATTHEW                       ADDRESS ON FILE
BECKETTE, CALEB                        ADDRESS ON FILE
BECKHAM, JAMES                         ADDRESS ON FILE
BECKHAM, RAYMOND                       ADDRESS ON FILE
BECKIUS, LEANDER E                     ADDRESS ON FILE
BECKLER, JUSTIN                        ADDRESS ON FILE
BECKLEY INSULATION CO                  PO BOX 1778 BECKLEY WV 25802
BECKMANN, BRIAN                        ADDRESS ON FILE
BECKMANN, BRIAN                        ADDRESS ON FILE
BECKMANN, MICHAEL                      ADDRESS ON FILE
BECKS LOGISTICS LIMITED LIABILITY CO   OR LOVES SOLUTIONS LLC PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BECKS, RAEKWON                         ADDRESS ON FILE
BECKSTEAD ELECTRIC INC                 92 9TH ST WENATCHEE WA 98801
BECKSTROM, CHAD                        ADDRESS ON FILE
BECKSTROM, CHARLES                     ADDRESS ON FILE
BECKUMS MAINTENANCE SVC INC            4425 S 3RD ST SPRINGFIELD IL 62703
BECKWITH, BLAKE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 181 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 190 of 2156

Claim Name                             Address Information
BECKWITH, BRAD                         ADDRESS ON FILE
BECKWITH, COREY M                      ADDRESS ON FILE
BECKWITH, DAVID                        ADDRESS ON FILE
BECKWITH, DAVID                        ADDRESS ON FILE
BECKWITH, SCOTT                        ADDRESS ON FILE
BECKY MINOR                            ADDRESS ON FILE
BECO, FRANKLIN                         ADDRESS ON FILE
BECOATE, BRYANT                        ADDRESS ON FILE
BECTON SR, TOBY                        ADDRESS ON FILE
BED BATH & BEYOND                      ATTN: DAVID KASTIN, EVP, CLO & CORP SECY 650 LIBERTY AVE UNION NJ 07083
BEDARD RESSOURCES                      1575 BOUL. DE IAVENIR, BUREAU 310 LAVAL QC H7S 2N5 CANADA
BEDARD, BRIAN                          ADDRESS ON FILE
BEDDIGES, PAUL                         ADDRESS ON FILE
BEDDINGFIELD, ROBERT J                 ADDRESS ON FILE
BEDEAUX, JAMES L                       ADDRESS ON FILE
BEDEE, JENNIFER                        ADDRESS ON FILE
BEDELL HOME SERVICES                   6211 WEST 400 NORTH GREENFIELD IN 46140
BEDELL, DANIEL                         ADDRESS ON FILE
BEDELL, DANIEL                         ADDRESS ON FILE
BEDELL, KELE                           ADDRESS ON FILE
BEDFORD COUNTY SCHOOLS                 707 SEVIER STREET SHELBYVILLE TN 37160
BEDFORD COUNTY TRUSTEE (TN)            102 NORTH SIDE SQUARE SHELBYVILLE TN 37160
BEDFORD GAZETTE LLC                    PO BOX 671 BEDFORD PA 15522
BEDFORD MOTOR SERVICE, INC.            2600 INERNATIONALE BLVD WOODRIDGE IL 60517
BEDFORD PLUMBING & HEATING             PO BOX 10148 BEDFORD NH 03110
BEDFORD RURAL ELEC COOP INC            P.O. BOX 335 8846 LINCOLN HIGHWAY BEDFORD PA 15522
BEDFORD SEALCOATING                    PO BOX 10475 BEDFORD NH 03110
BEDFORD TWNSHP MUNICIPAL AUTH          1007 SHED RD. SUITE 102 BEDFORD PA 15522
BEDFORD VALLEY PETROLEUM CORPORATION   10228 LINCOLN HWY EVERETT PA 15537
BEDFORD, JODI                          ADDRESS ON FILE
BEDFORD, LARRY                         ADDRESS ON FILE
BEDFORD, LARRY J                       ADDRESS ON FILE
BEDFORD, ZACHARY                       ADDRESS ON FILE
BEDGOOD, MICHAEL                       ADDRESS ON FILE
BEDINGHAM, JOHN                        ADDRESS ON FILE
BEDNARCZYK, ROBERT                     ADDRESS ON FILE
BEDNAREK, ROBERT                       ADDRESS ON FILE
BEDNAROWSKI, KRIS                      ADDRESS ON FILE
BEDOYA, RODRIGO                        ADDRESS ON FILE
BEDRON, BRIAN                          ADDRESS ON FILE
BEDROSIANS                             4285 N GOLDEN GATE BLVD FRESNO CA 93722
BEDROSIANS                             4285 N GOLDEN STATE BLVD FRESNO CA 93722
BEDROSIANS TILE AND STONE              ATTN: RAYMOND RAMOS 4285 N GOLDEN STATE BLVD FRESNO CA 93722
BEDROSIANS TILE ANDSTONE               1515 E. WINSTON ROAD ANAHEIM CA 92805
BEDSLIDE TAKIT INC                     111 TAFT ST MEDFORD OR 97501
BEE LINE INC                           800 E NORTHWEST HIGHWAY, SUITE 1093 PALATINE IL 60074
BEE LINE TRUCKING INC.                 123 WEST SERVICE ROAD CHAMPLAIN NY 12919
BEE TRANS LTD CO                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BEE-LINE DELIVERY SERVICE              11113 LANDMARK 35 DR. SAN ANTONIO TX 78233



Epiq Corporate Restructuring, LLC                                                                  Page 182 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 191 of 2156

Claim Name                           Address Information
BEEBE, BRIAN                         ADDRESS ON FILE
BEEBE, JESSE                         ADDRESS ON FILE
BEEBE, KYLE                          ADDRESS ON FILE
BEECHAM, SADIE                       ADDRESS ON FILE
BEECHEM, OSCAR                       ADDRESS ON FILE
BEECHER, RONALD                      ADDRESS ON FILE
BEECHUM, DAVID                       ADDRESS ON FILE
BEECROFT, RYAN                       ADDRESS ON FILE
BEEDE, ROBERT                        ADDRESS ON FILE
BEEHIVE LOGISTICS LLC                122 RUSSELL AVE TOOELE UT 84074
BEELENDORF, SCOTT                    ADDRESS ON FILE
BEELER, FREDERICK                    ADDRESS ON FILE
BEELOW TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BEEM                                 2610 CLAUDE - HENRI GRIGNON LAVAL QC H7L 2A8 CANADA
BEEM JR., ROBERT                     ADDRESS ON FILE
BEEM, PATRICK                        ADDRESS ON FILE
BEEMAC, INC                          PO BOX 6315 HERMITAGE PA 16148-0923
BEEMASTER INC                        11358 N MANDARIN LN TUCSON AZ 85737
BEEMER, JOSEPH                       ADDRESS ON FILE
BEEMOL FREIGHT COMPANY               OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
BEEMS TOWING & RECOVERY              2530 WINDWOOD AVE SAINT CHARLES IA 50240
BEEN TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BEENE LOGISTICS LLC                  OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
BEERS, CLAYTON                       ADDRESS ON FILE
BEERS, DAVID                         ADDRESS ON FILE
BEERS, TIMOTHY                       ADDRESS ON FILE
BEES TRUCKING LLC                    PO BOX 5852 LINCOLN NE 68505
BEESO, ANDREW                        ADDRESS ON FILE
BEETLE TRANSPORTATION INCORPORATED   P.O.BOX 1653 LOMBARD IL 60148
BEEZ TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BEFORT, ANDREW                       ADDRESS ON FILE
BEGANOVIC, ANES                      ADDRESS ON FILE
BEGG, CAROLYN                        ADDRESS ON FILE
BEGGAN, JAMES                        ADDRESS ON FILE
BEGGS, CHRISTOPHER                   ADDRESS ON FILE
BEGIN EXPRESS LLC                    OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
BEGLEY, PHILIP                       ADDRESS ON FILE
BEHAPY LOGISTICS LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BEHEN, KELLY                         ADDRESS ON FILE
BEHLING, KYLE                        ADDRESS ON FILE
BEHLING, MARION                      ADDRESS ON FILE
BEHLING, TIMOTHY                     ADDRESS ON FILE
BEHNEY, TYLER                        ADDRESS ON FILE
BEHNKE INC.                          600 N HELMER ROAD BATTLE CREEK MI 49037
BEHNKE TRANSPORT LLC.                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BEHNKE, BROCK                        ADDRESS ON FILE
BEHR FREIGHT ENTERPRISES INC         OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197-4539
BEHREND CONSTRUCTION INC             PO BOX 368 BUFFALO WY 82834



Epiq Corporate Restructuring, LLC                                                                Page 183 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 192 of 2156

Claim Name                           Address Information
BEHRENS, MARK                        ADDRESS ON FILE
BEHRENS, PETER                       ADDRESS ON FILE
BEHUN, PAUL                          ADDRESS ON FILE
BEI TRAILER & CONTAINER, INC         750 LAKEVIEW DR MONROE 45050
BEIDINGER, GARRY                     ADDRESS ON FILE
BEIGH, SHELLEY                       ADDRESS ON FILE
BEILER, KEITH                        ADDRESS ON FILE
BEILER, MARCUS                       ADDRESS ON FILE
BEILIN, LISA                         ADDRESS ON FILE
BEILUL TRANSPORTATION SERVICES       OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
BEINHAUR, BRENDA                     ADDRESS ON FILE
BEIRO-BENANTI, FERNANDO              ADDRESS ON FILE
BEISEL, CHRIS                        ADDRESS ON FILE
BEISEN, JIM                          ADDRESS ON FILE
BEISSER, NICHOLAS                    ADDRESS ON FILE
BEITZ, DONOVAN                       ADDRESS ON FILE
BEJA, JOHN                           ADDRESS ON FILE
BEJARANO, ULYSSES                    ADDRESS ON FILE
BEK EXPRESS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEK GLOBAL LOGISTICS INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BEK TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BEK TRANSPORTATION LLC               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BEKA WINDOW REPAIR                   222 E CAMP MCDONALD RD WHEELING IL 60090
BEKAERT, PATRICIA                    ADDRESS ON FILE
BEKEMEIER, BRANDON                   ADDRESS ON FILE
BEKER, HENDRIK                       ADDRESS ON FILE
BEKO CARGO LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BEKTESHI LOGISTICS INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BEL AIR T.T., LLC                    ATTN: JOSH LEITE 6272 E PACIFIC COAST HIGHWAY STE E LONG BEACH CA 90803
BEL AIR T.T., LLC                    ATTN: JOSHUA LEITE C/O PACIFIC INDUSTRIAL, LLC 6272 E PACIFIC COAST HIGHWAY,
                                     SUITE E LONG BEACH CA 90803
BELA FLOR NURSERIES                  28615 SE OUTER RD. HARRISONVILLE MO 64701
BELAND, MICHAEL                      ADDRESS ON FILE
BELARDINELLA, DOUGLAS                ADDRESS ON FILE
BELCAM INC                           27 MONTGOMERY ST ROUSES POINT NY 12979
BELCASTRO, ANTHONY                   ADDRESS ON FILE
BELCASTRO, LARISSA                   ADDRESS ON FILE
BELCHER, ANDREWSON                   ADDRESS ON FILE
BELCHER, DEMARRE                     ADDRESS ON FILE
BELCHER, EMILEE                      ADDRESS ON FILE
BELCHER, III, RAYMOND                ADDRESS ON FILE
BELCHER, KEM                         ADDRESS ON FILE
BELCHER, MCKINLEY                    ADDRESS ON FILE
BELCHER, RICHARD                     ADDRESS ON FILE
BELCHER, SANDRA                      ADDRESS ON FILE
BELCHER, STEVEN                      ADDRESS ON FILE
BELCHER, ZACKARY                     ADDRESS ON FILE
BELCOURT TRANSPORT                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BELDEN CDT                           1411 NW 11TH ST RICHMOND IN 47374



Epiq Corporate Restructuring, LLC                                                                 Page 184 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 193 of 2156

Claim Name                          Address Information
BELDEN WIRE DIST CENTER             1411 NW 11TH ST RICHMOND IN 47374
BELDEN, JOHN                        ADDRESS ON FILE
BELDY ELECTRIC INC                  2754 S HIGHLAND DR STE C-E LAS VEGAS NV 89109
BELED TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BELEL TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BELENCHIA, FRANK                    ADDRESS ON FILE
BELEXPRESS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BELFIELD, SETH                      ADDRESS ON FILE
BELFREY, ANDREW                     ADDRESS ON FILE
BELGRADE LLC                        OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BELGRADE PARTS & SERVICE, INC.      2748 E BUTLER ST PHILADELPHIA PA 19137
BELIEVE IN CARRIERS LLC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BELIEVE TRANSPORTATION INC          PO BOX 196 KERMAN CA 93630-2110
BELIMO AIR CONTROLS                 SUITE 500 TIMOTHY A KENNY CARY NC 27513
BELINC, FRANK                       ADDRESS ON FILE
BELISLE, PHILIPPE                   ADDRESS ON FILE
BELIZAIRE, JOHNATHAN                ADDRESS ON FILE
BELIZAIRE, MAX                      ADDRESS ON FILE
BELK EXPRESS                        7814 SCRAPESHIN TRAIL CHATTANOOGA TN 37421
BELK EXPRESS                        ANTHONY BELK, PRINCIPAL 7814 SCRAPESHIN TRAIL CHATTANOOGA TN 37421
BELK LOGISTICS                      171 STINSON RD LANCASTER 29720-7957
BELK, BRAD                          ADDRESS ON FILE
BELKNAP, JACOB                      ADDRESS ON FILE
BELKO AUTOBODY 1994 LTD.            PO BOX 9568 STATION T OTTAWA ON K1G 3V2 CANADA
BELL                                501 LINDBERG LN NORTHBROOK IL 60062
BELL BROTHERS HEATING &             AIR CONDITIONING, 2822 6TH AVE DES MOINES IA 50313
BELL CANADA                         4188369040 CP BOX 8713 SUCC CENTRE VILLE MONTREAL QC H3C 4L6 CANADA
BELL CANADA                         5142788776722, CP 8712 SUCC CENTRE VILLE MONTREAL QC H3C 4L6 CANADA
BELL CANADA                         6133418702, CP 8712 SUCC CENTRE VILLE MONTREAL QC H3C 4L6 CANADA
BELL CANADA                         6133418702099, CP 8712 SUCC CENTRE VILLE MONTREAL QC H3C 4L6 CANADA
BELL CANADA                         8198499127740, CP 8712 SUCC CENTRE VILLE MONTREAL QC H3C 4L6 CANADA
BELL CANADA                         1 CARREFOUR ALEXANDER-GRAHAM-BELL BUILDING A, 4TH FL VERDUN QC H3E 3B3 CANADA
BELL CANADA                         5191090410001, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         5191090411001, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         5192504351531, PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         5195398384, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         5195398384850, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         5195399853395, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         5196597047, PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         5196597047346, PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         5199712796769, PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         9051870314, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         9054554337, PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         9054554337790, PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         9056707666308, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         N6031512, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         N6070402, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL CANADA                         PO BOX 1550 STN DON MILLS DON MILLS ON M3C 2X7 CANADA
BELL CANADA                         PO BOX 9000 STN DON MILLS DON MILLS ON M3C 2X7 CANADA



Epiq Corporate Restructuring, LLC                                                                Page 185 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 194 of 2156

Claim Name                              Address Information
BELL CANADA                            5193369009211, PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X8 CANADA
BELL CANADA                            40114126, PO BOX 1550 STN DON MILLS NORTH YORK ON M3C 3N5 CANADA
BELL CANADA                            5195399853, PO BOX 1550 STN DON MILLS NORTH YORK ON M3C 3N5 CANADA
BELL CANADA                            9052620077, PO BOX 1550, STN DON MILLS NORTH YORK ON M3C 3N5 CANADA
BELL CANADA                            9056700128, PO BOX 1550 STN DON MILLS NORTH YORK ON M3C 3N5 CANADA
BELL CANDAD                            PO BOX 9000 STN DON MILLS NORTH YORK ON M3C 2X7 CANADA
BELL FORK LIFT INC                     34660 CENTAUR DR CLINTON TOWNSHIP MI 48035
BELL II, ANTHONY W                     ADDRESS ON FILE
BELL MTS                               PO BOX 1550 NORTH YORK ON M3C 3N5 CANADA
BELL MTS                               BOX 7500 WINNIPEG MB R3C 3B5 CANADA
BELL ROAD MITSUBISHI                   1901 E BELL RD PHOENIX AZ 85022
BELL ROAD MITSUBISHI                   ATTN: DAVID MCCALL 1901 E BELL RD PHOENIX AZ 85022
BELL TRAILER SALES                     PO BOX 12, GRP 200 R.R. 2 WINNIPEG MB R3C2E6 CANADA
BELL TRANSPORT CORP                    OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
BELL TRANSPORTATION LLC                OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BELL TRUCKING CO. LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BELL TRUCKING OF SOUTHWEST MICHIGAN INC OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
BELL, ALLEN                            ADDRESS ON FILE
BELL, ALLYN                            ADDRESS ON FILE
BELL, ANTHONY                          ADDRESS ON FILE
BELL, ANTHONY                          ADDRESS ON FILE
BELL, ANTHONY                          ADDRESS ON FILE
BELL, ARLINGTON                        ADDRESS ON FILE
BELL, ASHLIE                           ADDRESS ON FILE
BELL, AUGUST                           ADDRESS ON FILE
BELL, BLAIR                            ADDRESS ON FILE
BELL, BRANDON                          ADDRESS ON FILE
BELL, BRITTANIE                        ADDRESS ON FILE
BELL, CRAWFORD                         ADDRESS ON FILE
BELL, DAMION                           ADDRESS ON FILE
BELL, DAVID                            ADDRESS ON FILE
BELL, DAVID                            ADDRESS ON FILE
BELL, DERICK                           ADDRESS ON FILE
BELL, DERICK                           ADDRESS ON FILE
BELL, DERICK D                         ADDRESS ON FILE
BELL, DOUGLAS                          ADDRESS ON FILE
BELL, DSHON                            ADDRESS ON FILE
BELL, DURAN                            ADDRESS ON FILE
BELL, EDWARD                           ADDRESS ON FILE
BELL, ERIC                             ADDRESS ON FILE
BELL, GRANT                            ADDRESS ON FILE
BELL, HALEY                            ADDRESS ON FILE
BELL, JAIREN                           ADDRESS ON FILE
BELL, JAMES                            ADDRESS ON FILE
BELL, JAMES                            ADDRESS ON FILE
BELL, JAMES                            ADDRESS ON FILE
BELL, JAMES P                          ADDRESS ON FILE
BELL, JAMES P                          ADDRESS ON FILE
BELL, JASMINE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 186 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 195 of 2156

Claim Name                              Address Information
BELL, JEFFREY                          ADDRESS ON FILE
BELL, JOHN                             ADDRESS ON FILE
BELL, KATHLEEN                         ADDRESS ON FILE
BELL, KATHLEEN M                       ADDRESS ON FILE
BELL, KENNETH                          ADDRESS ON FILE
BELL, KENNETH                          ADDRESS ON FILE
BELL, KENNETH                          ADDRESS ON FILE
BELL, KESHAWN                          ADDRESS ON FILE
BELL, KEVIN                            ADDRESS ON FILE
BELL, KEVIN                            ADDRESS ON FILE
BELL, LARRY                            ADDRESS ON FILE
BELL, LARRY                            ADDRESS ON FILE
BELL, MARK                             ADDRESS ON FILE
BELL, MICHAEL                          ADDRESS ON FILE
BELL, MICHAEL                          ADDRESS ON FILE
BELL, NATHANIEL                        ADDRESS ON FILE
BELL, OTICE                            ADDRESS ON FILE
BELL, REGINALD                         ADDRESS ON FILE
BELL, SEAN                             ADDRESS ON FILE
BELL, SHAWN                            ADDRESS ON FILE
BELL, STANLEY                          ADDRESS ON FILE
BELL, STEPHEN                          ADDRESS ON FILE
BELL, TERRENCE                         ADDRESS ON FILE
BELL, TIMIA                            ADDRESS ON FILE
BELL, TINA MARIE                       ADDRESS ON FILE
BELL, TINA MARIE                       ADDRESS ON FILE
BELL, TODD                             ADDRESS ON FILE
BELL, TRAVIS                           ADDRESS ON FILE
BELL, VICTORIA                         ADDRESS ON FILE
BELL, WALT                             ADDRESS ON FILE
BELL, WAYNE                            ADDRESS ON FILE
BELL, WILBERT                          ADDRESS ON FILE
BELL, WILLIAM                          ADDRESS ON FILE
BELL, WILLIAM                          ADDRESS ON FILE
BELL-JETT, TIFFANY                     ADDRESS ON FILE
BELL/KNOTT & ASSOC CORP ARCHITECTS P.C. 12730 STATE LINE ROAD SUITE 100 LEAWOOD KS 66209
BELLA B ESTOLAS                        ADDRESS ON FILE
BELLA TRANSPORT INC                    37051 AMRHEIN RD LIVONIA MI 48150
BELLA TRANSPORT INC.                   117 MARINE AVE BROOKLYN NY 11209
BELLA TRANSPORT LLC                    OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
BELLAFIORE, SAM                        ADDRESS ON FILE
BELLAMY, BRIAN                         ADDRESS ON FILE
BELLAMY, PEGGY                         ADDRESS ON FILE
BELLAMY, RODNEY                        ADDRESS ON FILE
BELLAR, JESSE                          ADDRESS ON FILE
BELLAVANCE TRUCKING, INC.              PO BOX 398 BARRE VT 05641
BELLE CARGO & STORAGE LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BELLE EXPRESS INC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BELLEMONT TRUCK REPAIR & TOWING INC    13235 OLD ROUTE 66 BELLEMONT AZ 86015



Epiq Corporate Restructuring, LLC                                                                 Page 187 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 196 of 2156

Claim Name                           Address Information
BELLER, KEVIN                        ADDRESS ON FILE
BELLEVILLE FENCE CO.                 2107 EAST A STREET BELLEVILLE IL 62221
BELLIN HEALTH                        ATTN: KIM KASSNER 744 S WEBSTER AVENUE GREEN BAY WI 54301-3505
BELLING, JEFFREY                     ADDRESS ON FILE
BELLINGER, DYLAN                     ADDRESS ON FILE
BELLION DISTRIBUTION CORPORATION     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BELLIS, MICHAEL                      ADDRESS ON FILE
BELLMER, JAMES                       ADDRESS ON FILE
BELLMIC TRANSPORTATION LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BELLMORE, STEVEN                     ADDRESS ON FILE
BELLO, DAN                           ADDRESS ON FILE
BELLO, JUAN C                        ADDRESS ON FILE
BELLO, JULIO                         ADDRESS ON FILE
BELLORIN TRANSPORT LLC               OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
BELLOSO, LUIS                        ADDRESS ON FILE
BELLS FIRE-STOP                      85 SUNNY CIRCLE MASON CITY IA 50401
BELLVILLE, CRAIG                     ADDRESS ON FILE
BELMAN MUNOZ, PEDRO                  ADDRESS ON FILE
BELMON, MORRIS                       ADDRESS ON FILE
BELMONT SPRINGS                      PO BOX 660579 DALLAS TX 75266
BELMONTES TRUCKING                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BELNICK INC                          TRANSPORTATION INSIGHT, PO BOX 492410 LAWRENCEVILLE GA 30049
BELNICK INC                          4350 BALL GROUND HIGHWAY CANTON GA 30114
BELNICK INC                          ATTN CLAIMS, 4350 BALL GROUND HWY CANTON GA 30114
BELNICK INC.                         PO BOX 531634 ATLANTA GA 30535-1634
BELOTTI, CHRIS                       ADDRESS ON FILE
BELOTTI, RONALD                      ADDRESS ON FILE
BELOUSEK, JOSEPH                     ADDRESS ON FILE
BELOVOSKEY, RICHARD                  ADDRESS ON FILE
BELOW, REGINALD                      ADDRESS ON FILE
BELRON CANADA INC                    LEBEAU, 8288 BOUL. PIE IX MONTREAL QC H1Z 3T6 CANADA
BELRON CANADA INC                    SPEEDY GLASS, 8288 BOUL PIE IX MONTREAL QC H1Z 3T6 CANADA
BELSAN, RONALD                       ADDRESS ON FILE
BELT, KENT                           ADDRESS ON FILE
BELTER, MICHAEL                      ADDRESS ON FILE
BELTON AAA TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BELTON JR, MAURICE                   ADDRESS ON FILE
BELTON LOGISTICS, LLC                OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
BELTRAN TRANSPORT LLC (MC1318349)    OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
BELTRAN, ANTOBELLI                   ADDRESS ON FILE
BELTRAN, BLANCA                      ADDRESS ON FILE
BELTRAN, CARLOS                      ADDRESS ON FILE
BELTRAN, DAMIAN                      ADDRESS ON FILE
BELTRAN, JOSEPH                      ADDRESS ON FILE
BELTRAN, JOSEPH G                    ADDRESS ON FILE
BELTRAN, JUAN                        ADDRESS ON FILE
BELTRAN, KIELY                       ADDRESS ON FILE
BELTRAN, MANUEL                      ADDRESS ON FILE
BELTRAN, MICHAEL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 188 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 197 of 2156

Claim Name                           Address Information
BELTRAN, MOISES                      ADDRESS ON FILE
BELTRAN, NATHANIEL                   ADDRESS ON FILE
BELTRAN, ROJELIO                     ADDRESS ON FILE
BELTRAN-GOMEZ, JUAN                  ADDRESS ON FILE
BELTRANS LTD                         2600 E CEDARVILLE RD POTTSTOWN PA 19465
BELTRANS TRUCKS LLC                  OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
BELTZ, DAVA                          ADDRESS ON FILE
BELTZ, SERENE                        ADDRESS ON FILE
BELUCH, MARK                         ADDRESS ON FILE
BELUCHUKWU, VALENTINE                ADDRESS ON FILE
BELUE, GREGORY                       ADDRESS ON FILE
BELUS EXPRESS                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BELVO, DANIEL                        ADDRESS ON FILE
BELZER, JACOB                        ADDRESS ON FILE
BEMATRIX USA LLC                     ATTN: EDWARD MORGAN 4476 PARK DR NORCROSS GA 30093
BEMBOW, KENETIA                      ADDRESS ON FILE
BEMIS COMPANY INC                    BATAVIA, 2200 BADGER AVE OSHKOSH WI 54903
BEMISDARFER, TRACEY                  ADDRESS ON FILE
BEMMAD VENTURES LLC                  OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
BEMOLL, RONALD                       ADDRESS ON FILE
BEN ALBRIGHT                         ADDRESS ON FILE
BEN CLABBATZ TRUCKING                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BEN D GARDNER                        ADDRESS ON FILE
BEN DAVIS CONSERVANCY DISTRICT       703 S TIBBS AVE INDIANAPOLIS IN 46241
BEN FREIGHT TRUCKING INC             PO BOX 456 BARGERSVILLE IN 46106
BEN HAYNES                           ADDRESS ON FILE
BEN ISRAEL, ELIEL                    ADDRESS ON FILE
BEN LOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BEN R. BROWN TRUCKING INC.           PO BOX 990 CARL JUNCTION MO 64834
BEN TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BEN V LOPEZ                          ADDRESS ON FILE
BEN WHIPPLE                          ADDRESS ON FILE
BENALLIE, TERRENCE                   ADDRESS ON FILE
BENARD, TIMOTHY                      ADDRESS ON FILE
BENAVIDES, ARNOLD                    ADDRESS ON FILE
BENAVIDEZ, ANTHONY                   ADDRESS ON FILE
BENAVIDEZ, BRYANA                    ADDRESS ON FILE
BENAVIDEZ, EDUARDO                   ADDRESS ON FILE
BENAVIDEZ, GARY                      ADDRESS ON FILE
BENAVIDEZ, JAVIER                    ADDRESS ON FILE
BENBENCO EXPRESS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BENBENEK, THOMAS                     ADDRESS ON FILE
BENCH, CHRISTOPHER                   ADDRESS ON FILE
BENCHAMKHA, AHMED                    ADDRESS ON FILE
BENCHAMKHA, AHMED                    ADDRESS ON FILE
BENCHEIKH, CATHERINE                 ADDRESS ON FILE
BENCHICH, BRYAN                      ADDRESS ON FILE
BENCHMARK                            8413 NOLAND RD. KANSAS CITY MO 64129
BENCHMARK AIR CONDITIONING INC       1920 MINERAL COURT BAKERSFIELD CA 93308



Epiq Corporate Restructuring, LLC                                                                Page 189 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 198 of 2156

Claim Name                           Address Information
BENCHMARK INDUSTRIAL INC             950 CLAYCRAFT RD GAHANNA OH 43230
BENCHMARK TRANSPORTATION INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BENCK, KEVIN                         ADDRESS ON FILE
BENCO DENTAL                         295 CENTERPOINT BLVD PITTSTON PA 18640
BENCO LEASING, LLC                   PO BOX 9218 ERIE PA 16506
BEND PAK                             ATTN: SALVADOR RAMIREZ 5240 WILLIS RD THEODORE AL 36582
BENDAS LANDSCAPING INC               190-A WOODS RD HIGHTSTOWN NJ 08520
BENDER WAREHOUSE                     345 PAR CIRCLE, ATTN: STEVE REID RENO NV 89512
BENDER, ARIANA                       ADDRESS ON FILE
BENDER, BRUCE                        ADDRESS ON FILE
BENDER, GARY L                       ADDRESS ON FILE
BENDER, JACOB                        ADDRESS ON FILE
BENDER, JERRY                        ADDRESS ON FILE
BENDER, JOHN                         ADDRESS ON FILE
BENDER, NICHOLAS                     ADDRESS ON FILE
BENDER, RONALD                       ADDRESS ON FILE
BENDIX COMMERCIAL VEHICLE SYST       ATTN: SHELLY HENDRICKSON 1095 SPICE ISLANDS DR UNIT 101 SPARKS NV 89431
BENDLER, CARL                        ADDRESS ON FILE
BENDOLPH, JALEN                      ADDRESS ON FILE
BENECOR                              400 S FENWAY DR FENTON MI 48430
BENEDICT, BARBARA                    ADDRESS ON FILE
BENEDICT, CARRIE                     ADDRESS ON FILE
BENEDICT, RUEBEN                     ADDRESS ON FILE
BENEFACTOR LOGISTICS LTD             OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
BENEFICIAL LOGISTICS LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
BENEFIT TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BENEFIT TRUCKING                     1350 TEXAS ST GARY IN 46402
BENEKE, RONALD                       ADDRESS ON FILE
BENESCH FRIEDLANDER COPLAN           2300 BP TOWER, 200 PUBLIC SQUARE CLEVELAND OH 44114
BENEVIDES, EDGAR                     ADDRESS ON FILE
BENFATTI FURNITURE INC               ATTN: TAUNYA GUTIERREZ 3110 N FREEWAY PUEBLO CO 81008
BENFER, DAVID                        ADDRESS ON FILE
BENFIELD, GLENN                      ADDRESS ON FILE
BENFIELD, HERBERT                    ADDRESS ON FILE
BENFORD, BROOKS                      ADDRESS ON FILE
BENFORD, CHARLIE                     ADDRESS ON FILE
BENGE, BROCK                         ADDRESS ON FILE
BENGE, LAVENDER                      ADDRESS ON FILE
BENGUCHE SR, JASON                   ADDRESS ON FILE
BENIFIELD, SHANESE                   ADDRESS ON FILE
BENIGAR, WARREN                      ADDRESS ON FILE
BENIPAL BROTHERS LTD.                191 MOSSELLE DRIVE WINNIPEG MB R2P 1N6 CANADA
BENITES, FRANK                       ADDRESS ON FILE
BENITEZ EXPRESS INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BENITEZ MOBILE TRUCK REPAIR          1809 E CR 7110 LUBBOCK TX 79404
BENITEZ ROMAN, MANUEL                ADDRESS ON FILE
BENITEZ, JAIME                       ADDRESS ON FILE
BENITEZ, SIMON                       ADDRESS ON FILE
BENITEZ-ROMAN, OSWALDO               ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 190 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 199 of 2156

Claim Name                              Address Information
BENJAMIN A WEBB                        ADDRESS ON FILE
BENJAMIN J SANCHEZ                     ADDRESS ON FILE
BENJAMIN MAZER TRUCKING INC.           2 UNIVERSITY PLAZA SUITE 100 HACKENSACK NJ 07601
BENJAMIN MOORE & CO                    49 PARK ST AMSTERDAM NY 12170
BENJAMIN P BATY                        ADDRESS ON FILE
BENJAMIN P FORBES COMPANY              800 KEN MAR INDUSTRIAL PKWY BROADVIEW HTS OH 44147
BENJAMIN POWER                         ADDRESS ON FILE
BENJAMIN, AMANDA                       ADDRESS ON FILE
BENJAMIN, ASMENT                       ADDRESS ON FILE
BENJAMIN, BRANDY                       ADDRESS ON FILE
BENJAMIN, BRENDALIE                    ADDRESS ON FILE
BENJAMIN, BYRON                        ADDRESS ON FILE
BENJAMIN, FRED                         ADDRESS ON FILE
BENJAMIN, JEFFERSON                    ADDRESS ON FILE
BENJAMIN, JONATHAN                     ADDRESS ON FILE
BENJAMIN, JONATHON                     ADDRESS ON FILE
BENJAMIN, JOSHUA                       ADDRESS ON FILE
BENJAMIN, JOZEF                        ADDRESS ON FILE
BENJAMIN, LEONARD                      ADDRESS ON FILE
BENJAMIN, LEONARDO                     ADDRESS ON FILE
BENJAMIN, MARC                         ADDRESS ON FILE
BENJAMIN, ROGER                        ADDRESS ON FILE
BENJEI ENTERPRISE INC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BENJIMAN, JAMAL                        ADDRESS ON FILE
BENJUMEA, JOHN                         ADDRESS ON FILE
BENJUMEA, JOHN                         ADDRESS ON FILE
BENLARBI, MAHMOUD                      ADDRESS ON FILE
BENNER, JENNIFER                       ADDRESS ON FILE
BENNER, MAIYA                          ADDRESS ON FILE
BENNER, NICOLE                         ADDRESS ON FILE
BENNET, DAVID                          ADDRESS ON FILE
BENNETT DRIVEAWAY                      PO BOX 896804 CHARLOTTE NC 28289
BENNETT DRIVEAWAY                      PO BOX 100004 MCDONOUGH GA 30253
BENNETT INTERNATIONAL TRANSPORT, L.L.C. A DIVISION OF BENNETTE TRUCK AND TRANSPORT LLC MCDONOUGH GA 30253
BENNETT MOTOR EXPRESS, LLC             PO BOX 896806 CHARLOTTE NC 28289-6806
BENNETT P LANGRECK                     ADDRESS ON FILE
BENNETT TRANSPORT INC                  1961 SOUTH 35TH STREET MANITOWOC WI 54220
BENNETT, ABIGAIL                       ADDRESS ON FILE
BENNETT, BACIL                         ADDRESS ON FILE
BENNETT, BACIL                         ADDRESS ON FILE
BENNETT, BERNARD R                     ADDRESS ON FILE
BENNETT, CARL                          ADDRESS ON FILE
BENNETT, CHRISTOPHER                   ADDRESS ON FILE
BENNETT, CHRISTOPHER                   ADDRESS ON FILE
BENNETT, DARREN                        ADDRESS ON FILE
BENNETT, DARTH                         ADDRESS ON FILE
BENNETT, DARYL                         ADDRESS ON FILE
BENNETT, DAVID                         ADDRESS ON FILE
BENNETT, DEBBIE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 191 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 200 of 2156

Claim Name                           Address Information
BENNETT, DON                         ADDRESS ON FILE
BENNETT, DONALD                      ADDRESS ON FILE
BENNETT, DOUGLAS                     ADDRESS ON FILE
BENNETT, FRANK                       ADDRESS ON FILE
BENNETT, GEORGE                      ADDRESS ON FILE
BENNETT, HAROLD                      ADDRESS ON FILE
BENNETT, HUGH                        ADDRESS ON FILE
BENNETT, JAMES                       ADDRESS ON FILE
BENNETT, JAMES                       ADDRESS ON FILE
BENNETT, JANNIE                      ADDRESS ON FILE
BENNETT, JENNIFER M                  ADDRESS ON FILE
BENNETT, JESSIE                      ADDRESS ON FILE
BENNETT, JOHN                        ADDRESS ON FILE
BENNETT, KEN                         ADDRESS ON FILE
BENNETT, KEN                         ADDRESS ON FILE
BENNETT, KENNETH                     ADDRESS ON FILE
BENNETT, KENNETH                     ADDRESS ON FILE
BENNETT, KENT                        ADDRESS ON FILE
BENNETT, LARRY                       ADDRESS ON FILE
BENNETT, LEWIS                       ADDRESS ON FILE
BENNETT, MARION                      ADDRESS ON FILE
BENNETT, MARK                        ADDRESS ON FILE
BENNETT, MARK S                      ADDRESS ON FILE
BENNETT, MAURICE                     ADDRESS ON FILE
BENNETT, MICHAEL                     ADDRESS ON FILE
BENNETT, MICHAEL                     ADDRESS ON FILE
BENNETT, MICHAEL                     ADDRESS ON FILE
BENNETT, MONTARICO                   ADDRESS ON FILE
BENNETT, NELSON                      ADDRESS ON FILE
BENNETT, PAUL                        ADDRESS ON FILE
BENNETT, RICKEY                      ADDRESS ON FILE
BENNETT, ROBERT                      ADDRESS ON FILE
BENNETT, RONALD                      ADDRESS ON FILE
BENNETT, RYAN                        ADDRESS ON FILE
BENNETT, STUART                      ADDRESS ON FILE
BENNETT, TRAYVON                     ADDRESS ON FILE
BENNETT, TRAYVON M                   ADDRESS ON FILE
BENNETT, WAYNE                       ADDRESS ON FILE
BENNETT, WILLIE                      ADDRESS ON FILE
BENNETTI TREE SERVICE                162 BENNETTI DR ALTOONA PA 16602
BENNETTS LAWN CARE & LANDSCAP        6496 WHITEFORD ROAD OTTAWA LAKE MI 49267
BENNETTS TOWING AND RECOVERY INC     PO BOX 1182 NEW ALBANY IN 47151
BENNETTS TRUCK & TRAILER LLC         PO BOX 531 CARL JUNCTION MO 64834
BENNETTS TRUCK REPAIR LLC            200 WEST AVE C JEROME ID 83338
BENNIE NELSON                        ADDRESS ON FILE
BENNIE R GASPER SR                   ADDRESS ON FILE
BENNINGER, ALBERT                    ADDRESS ON FILE
BENNINGHOFF, TERRY                   ADDRESS ON FILE
BENNINGTON, AARON                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 192 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 201 of 2156

Claim Name                           Address Information
BENNINGTON, DOUG                     ADDRESS ON FILE
BENNINGTON, DOUGLAS                  ADDRESS ON FILE
BENNY BENNY CHARLIC                  ADDRESS ON FILE
BENNYS TRANSPORT                     OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
BENOD J VENTURE                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BENOIT, EDWARD                       ADDRESS ON FILE
BENOIT, MELISSA                      ADDRESS ON FILE
BENOODT, RONALD                      ADDRESS ON FILE
BENS MOBILE DIESEL REPAIR            1015 WESTON ST. NORTH AUGUSTA SC 29841
BENS TRUCK REPAIR LLC                5960 HWY 30 HUNTINGTON OR 97907
BENSALEM TOWNSHIP AUTHORITY          2400 BYBERRY RD BENSALEM PA 19020
BENSALEM TOWNSHIP AUTHORITY          MIKE BRILL TREASURER OF BENSALEM TOWNSHIP 3750 HULMEVILLE ROAD BENSALEM PA
                                     19020
BENSALEM TOWNSHIP COLLECTOR          (BUCKS COUNTY) 3750 HULMEVILLE ROAD BENSALEM PA 19020
BENSE, CHRISTOPHER                   ADDRESS ON FILE
BENSINK, CRAIG                       ADDRESS ON FILE
BENSKI TOWING & RECOVERY             PO BOX 3003 GREAT FALLS MT 59403
BENSON FENCE CO                      2800 47TH AVE SACRAMENTO CA 95822
BENSON INDUSTRIES                    4444 NW YEON AVE PORTLAND OR 97210
BENSON TIRE                          2310 ANSON DRIVE MISSISSAUGA ON L5S 1G2 CANADA
BENSON, ALEXANDER                    ADDRESS ON FILE
BENSON, BILL                         ADDRESS ON FILE
BENSON, BRADLEY                      ADDRESS ON FILE
BENSON, CORRY                        ADDRESS ON FILE
BENSON, CRAIG                        ADDRESS ON FILE
BENSON, DARRYL                       ADDRESS ON FILE
BENSON, DEAN                         ADDRESS ON FILE
BENSON, DEREK                        ADDRESS ON FILE
BENSON, DOUG                         ADDRESS ON FILE
BENSON, GREGORY                      ADDRESS ON FILE
BENSON, JAMES                        ADDRESS ON FILE
BENSON, JEANNE                       ADDRESS ON FILE
BENSON, JEFFREY                      ADDRESS ON FILE
BENSON, JOHN                         ADDRESS ON FILE
BENSON, JORDAN                       ADDRESS ON FILE
BENSON, MICHAEL                      ADDRESS ON FILE
BENSON, MICHAEL                      ADDRESS ON FILE
BENSON, MICHELE                      ADDRESS ON FILE
BENSON, ROGER                        ADDRESS ON FILE
BENSON, SHANELLE                     ADDRESS ON FILE
BENSON, STEVEN                       ADDRESS ON FILE
BENSON, VYONNE                       ADDRESS ON FILE
BENSON, WILLIAM                      ADDRESS ON FILE
BENSON-WHITTAKER, TOREY              ADDRESS ON FILE
BENSOR, MICHAEL                      ADDRESS ON FILE
BENT, JOSEPH                         ADDRESS ON FILE
BENT, PETER                          ADDRESS ON FILE
BENTLEY, CARRIE                      ADDRESS ON FILE
BENTLEY, DONALD                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 193 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 202 of 2156

Claim Name                           Address Information
BENTLEY, NELSON                      ADDRESS ON FILE
BENTLEY, ROBERT                      ADDRESS ON FILE
BENTLEY, ROY                         ADDRESS ON FILE
BENTLEY, SAMANTHA                    ADDRESS ON FILE
BENTLEY, STEVIN                      ADDRESS ON FILE
BENTON JR, STEPHEN                   ADDRESS ON FILE
BENTON, HERMAN                       ADDRESS ON FILE
BENTON, JENNINGS                     ADDRESS ON FILE
BENTON, KEVIN                        ADDRESS ON FILE
BENTON, PAMELA                       ADDRESS ON FILE
BENTON, PAULA                        ADDRESS ON FILE
BENTON, RONALD                       ADDRESS ON FILE
BENWARD, JOHN                        ADDRESS ON FILE
BENYA, PAUL                          ADDRESS ON FILE
BENYO, STEVEN                        ADDRESS ON FILE
BENYOCK, ANTHONY                     ADDRESS ON FILE
BENYS TRANSPORT INC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BENZ, MIKE                           ADDRESS ON FILE
BENZ, ROY M                          ADDRESS ON FILE
BENZEL PEST CONTROL INC              PO BOX 748 SCOTTSBLUFF NE 69363
BEOM TRUCKING LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BEOUGHER, DAMIEN                     ADDRESS ON FILE
BEQNOCHE, BRAD                       ADDRESS ON FILE
BEQUETTE, DALTON                     ADDRESS ON FILE
BERACA SOLUTIONS GROUP LLC           OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
BERAKI TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BERALDIN, SERGIO                     ADDRESS ON FILE
BERAN, THOMAS                        ADDRESS ON FILE
BERARDO, CLIFFORD                    ADDRESS ON FILE
BERDECIA, CLOTILDE                   ADDRESS ON FILE
BERE, ATTILA                         ADDRESS ON FILE
BEREGOMET CORPORATION                12812 BROKEN CYPRESS LANE ORLANDO FL 32824
BERES, DIKUN                         ADDRESS ON FILE
BERESCHAK, JOHN                      ADDRESS ON FILE
BERESFORD, RAYMON                    ADDRESS ON FILE
BERETTA USA CORPORATION              17601 BERETTA DR ACCOKEEK MD 20607
BERG, BRENDA                         ADDRESS ON FILE
BERG, DARRELL                        ADDRESS ON FILE
BERG, DYLAN                          ADDRESS ON FILE
BERG, RAYMOND                        ADDRESS ON FILE
BERG, ROBERT                         ADDRESS ON FILE
BERG, THOMAS                         ADDRESS ON FILE
BERG, ZEBULUN                        ADDRESS ON FILE
BERGAMASCO, GANTHAR                  ADDRESS ON FILE
BERGAN, JOSE                         ADDRESS ON FILE
BERGEN FENCE INC                     279 BERGEN TPKE RIDGEFIELD PARK NJ 07660
BERGEN, KENNETH                      ADDRESS ON FILE
BERGEN, LIESE LOTTE                  ADDRESS ON FILE
BERGEN, RUDI                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 194 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 203 of 2156

Claim Name                            Address Information
BERGER TRANSFER ANDSTORAGE            7239 WARDMAN DR DEL VALLE TX 78617
BERGER, ANDREW                        ADDRESS ON FILE
BERGER, DANA                          ADDRESS ON FILE
BERGER, JAIME                         ADDRESS ON FILE
BERGER, LINDA M                       ADDRESS ON FILE
BERGER, NATHAN                        ADDRESS ON FILE
BERGERON, CHRISTINE                   ADDRESS ON FILE
BERGERON, GREGORY J                   ADDRESS ON FILE
BERGERON, JAMES                       ADDRESS ON FILE
BERGERON, JOHN                        ADDRESS ON FILE
BERGERSON, CLARK                      ADDRESS ON FILE
BERGEVIN, BILLY                       ADDRESS ON FILE
BERGEYS TRUCK CENTERS                 5 CROSSROADS DRIVE TRENTON NJ 08691
BERGEYS TRUCK CENTERS                 462 HARLEYSVILLE PIKE SOUDERTON PA 18964
BERGEYS TRUCK CENTERS                 25 ROADWAY DRIVE CARLISLE PA 17015
BERGMAN TRUCKING, INC.                889 COUNTY ROAD 12 ITHACA NE 68033
BERGMAN, BRAD                         ADDRESS ON FILE
BERGMAN, DAVID                        ADDRESS ON FILE
BERGMAN, DENNIS                       ADDRESS ON FILE
BERGMAN, ERIC                         ADDRESS ON FILE
BERGMAN, JASON                        ADDRESS ON FILE
BERGMANN, JEFFREY                     ADDRESS ON FILE
BERGREN, JOHN                         ADDRESS ON FILE
BERGSTROM, ROBERT                     ADDRESS ON FILE
BERGSTROM, TIMOTHY A                  ADDRESS ON FILE
BERGT, JOSIAH                         ADDRESS ON FILE
BERISTAIN, KARLA                      ADDRESS ON FILE
BERIT LTD                             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BERK TEK NEW HOLLAND DIVISION         ATTN: SHERRY KIRKNER 132 WHITE OAK RD NEW HOLLAND PA 17557
BERKELEY EXPRESS, INC.                331 ELEANOR RD FORKED RIVER NJ 08731
BERKELEY SPRINGS WATER & COFFEE       4 HOWARD ST. BERKELEY SPRINGS WV 25411
SERVICES
BERKHEIMER, MICHAEL                   ADDRESS ON FILE
BERKLEY, JAMES                        ADDRESS ON FILE
BERKMAN, KRISTIN                      ADDRESS ON FILE
BERKS TOWING                          5955 GUIDE MERIDIAN BELLINGHAM WA 98226
BERKS, ALEXIS                         ADDRESS ON FILE
BERKSHIRE FORKLIFT, INC.              5 MORSE ROAD, UNIT 2 OXFORD CT 06478
BERKSHIRE FORKLIFT, INC.              22 ALAIN WHITE RD, PO BOX 330 MORRIS CT 06763
BERKSHIRE HATHAWAY SPECIALTY INS CO   1314 DOUGLAS STREET SUITE 1400 OMAHA NE 68102-1944
BERKSHIRE INTERNATIONAL               C/O BERKSHIRE HATHAWAY INTERNATIONAL INSURANCE LTD. WINDSOR PLACE, 22 QUEEN
                                      STREET HAMILTON HM 11 BERMUDA
BERKSHIRE INTERNATIONAL               C/O BERKSHIRE HATHAWAY INTL INSUR. LTD. WINDSOR PLACE 22 QUEEN STREET HAMILTON
                                      HM 11 BERMUDA
BERKSHIRE INTERNATIONAL               C/O NATIONAL FIRE & MARINE INSURANCE CO 399 PARK AVENUE 8TH FLOOR NEW YORK NY
                                      10022
BERLEMANN, DON                        ADDRESS ON FILE
BERLIN GARDENS LLC                    5029 SOMMERSET RD UNIT 359 MILLERSBURG OH 44654
BERLIN MATUU-MALEPEAI                 ADDRESS ON FILE
BERLIN PACKAGING                      FREEDOM LOGISTICS 360 W BUTTERFIELD RD STE 400 ELMHURST IL 60126


Epiq Corporate Restructuring, LLC                                                                  Page 195 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 204 of 2156

Claim Name                           Address Information
BERLIN PACKAGING                     ATTN: BERLIN PACKAGING 16230 W 163RD ST UNIT 900 LOCKPORT IL 60441
BERLONGIERI, JAMES                   ADDRESS ON FILE
BERMAN TRANSPORTATION LLC            OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BERMAN TRUCK GROUP                   83 ASHLEY WAY, P.O. BOX 765 LEESPORT PA 19533
BERMAN TRUCK GROUP                   PO BOX 765 LEESPORT PA 19533
BERMAN, HARLAN                       ADDRESS ON FILE
BERMAN, PETER                        ADDRESS ON FILE
BERMENDER, CHARLES                   ADDRESS ON FILE
BERMEO, KELLY                        ADDRESS ON FILE
BERMEO, LUIS                         ADDRESS ON FILE
BERMOND, KALEB                       ADDRESS ON FILE
BERMUDEZ, ADRIAN                     ADDRESS ON FILE
BERMUDEZ, CARLOS                     ADDRESS ON FILE
BERMUDEZ, JOSEPH                     ADDRESS ON FILE
BERNABEL-SANTANA, ADRIAN             ADDRESS ON FILE
BERNADAS, GERI L                     ADDRESS ON FILE
BERNADETTE HOOVER                    ADDRESS ON FILE
BERNADT, JONATHAN                    ADDRESS ON FILE
BERNAL PAVING & MAINTENANCE          6650 HOVERSON RD MERCEDES TX 78570
BERNAL SERVICES SUPPLIERS INC        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BERNAL, ARTURO                       ADDRESS ON FILE
BERNAL, CHRISTOPHER W                ADDRESS ON FILE
BERNAL, DANIELLE                     ADDRESS ON FILE
BERNAL, GABINO                       ADDRESS ON FILE
BERNAL, JUAN                         ADDRESS ON FILE
BERNAL, JUSTINO                      ADDRESS ON FILE
BERNAL, MAX                          ADDRESS ON FILE
BERNAL, ROBERT                       ADDRESS ON FILE
BERNAL, ROGELIO                      ADDRESS ON FILE
BERNAL, ZAZO                         ADDRESS ON FILE
BERNAL, ZAZO                         ADDRESS ON FILE
BERNALILLO COUNTY TREASURER          PO BOX 269 ALBUQUERQUE NM 87103
BERNAMAR TRUCKING LLC                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
BERNARD GUY GRAHAM &                 ADDRESS ON FILE
BERNARD W BOLLING                    ADDRESS ON FILE
BERNARD, APRIL                       ADDRESS ON FILE
BERNARD, DANIELLE                    ADDRESS ON FILE
BERNARD, LAVASKY                     ADDRESS ON FILE
BERNARD, OMYR                        ADDRESS ON FILE
BERNARD, QUINCY                      ADDRESS ON FILE
BERNARDO M SOLIS                     ADDRESS ON FILE
BERNER, BRENT                        ADDRESS ON FILE
BERNHARD, WAYNE                      ADDRESS ON FILE
BERNHARDT TRANSPORTATION, LLC        12197 COLLECTIONS CENTER CHICAGO IL 60693
BERNHARDT, DAVID                     ADDRESS ON FILE
BERNHARDT, GEORGE                    ADDRESS ON FILE
BERNHARDT, GREGORY                   ADDRESS ON FILE
BERNIER, MICHAEL L                   ADDRESS ON FILE
BERNIER, RENE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 196 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 205 of 2156

Claim Name                         Address Information
BERNIER, STEPHEN                   ADDRESS ON FILE
BERNING, KEVIN                     ADDRESS ON FILE
BERNIUS, MARSHALL                  ADDRESS ON FILE
BERON, BRIAN                       ADDRESS ON FILE
BERREONDO, MARLON                  ADDRESS ON FILE
BERRIEN, JUDITH                    ADDRESS ON FILE
BERRIER, JOHN                      ADDRESS ON FILE
BERRING, LACANDANCE                ADDRESS ON FILE
BERRIOS CRUZ, LUIS                 ADDRESS ON FILE
BERRONES, DAVID                    ADDRESS ON FILE
BERRY ELECTRIC                     3998 HURON DEARBORN HEIGHTS MI 48125
BERRY GLOBAL                       ATTN: KRISTAL GREENAWAY 1201 S PINE HILL RD GRIFFIN GA 30224
BERRY GLOBAL                       103 JL FARMER RD FRANKLIN KY 42134
BERRY GLOBAL                       ATTN: KRISTAL GREENAWAY PO BOX959 EVANSVILLE IN 47706
BERRY GLOBAL                       101 OAKLEY ST EVANSVILLE IN 47710
BERRY GLOBAL                       ATTN: KRISTAL GREENAWAY 2265 NORTHTOWN BLVD WAXAHACHIE TX 75165
BERRY GLOBAL CORP                  800 E HORIZON DR HENDERSON NV 89015
BERRY GLOBAL INC                   ATTN: CHRISTINE HANSON, PO BOX 959 EVANSVILLE IN 47706
BERRY GLOBAL INC                   CORPORATE PURCHASING 3RD FLOOR PO BOX 959 EVANSVILLE IN 47706
BERRY MATERIAL HANDLING            PO BOX 844210 DALLAS TX 75284
BERRY ROYAL EXPRESS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BERRY TMC                          ATTN: KRISTAL GREENAWAY 6940 W 76TH ST TULSA OK 74131
BERRY, BILLIE D                    ADDRESS ON FILE
BERRY, CHARLES                     ADDRESS ON FILE
BERRY, CHRISTIAN                   ADDRESS ON FILE
BERRY, DARREL                      ADDRESS ON FILE
BERRY, DARREL                      ADDRESS ON FILE
BERRY, DAVID                       ADDRESS ON FILE
BERRY, DAVID                       ADDRESS ON FILE
BERRY, DEMETRUIS                   ADDRESS ON FILE
BERRY, EFREM                       ADDRESS ON FILE
BERRY, JAMES                       ADDRESS ON FILE
BERRY, JULIE                       ADDRESS ON FILE
BERRY, KAITLYN                     ADDRESS ON FILE
BERRY, KEVIN                       ADDRESS ON FILE
BERRY, KIRK                        ADDRESS ON FILE
BERRY, KIRK                        ADDRESS ON FILE
BERRY, LATRE                       ADDRESS ON FILE
BERRY, MICHAEL W                   ADDRESS ON FILE
BERRY, RALPH                       ADDRESS ON FILE
BERRY, RICHARD                     ADDRESS ON FILE
BERRY, SANDRA                      ADDRESS ON FILE
BERRY, SANTARIO                    ADDRESS ON FILE
BERRY, TIMOTHY                     ADDRESS ON FILE
BERRY, VICTORIA                    ADDRESS ON FILE
BERRYLANE LOGISTICS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BERSCHEID, BRENT                   ADDRESS ON FILE
BERT, FRANK                        ADDRESS ON FILE
BERT, MAUREEN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 197 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 206 of 2156

Claim Name                              Address Information
BERTAGNA, BARRY                        ADDRESS ON FILE
BERTE TRUCKING LLC                     OR ROAD HUNTER LOGISITCS INC 500 RAILWAY AVE CHANCELLOR SD 57015
BERTELSEN, JASON                       ADDRESS ON FILE
BERTETTO, MARK                         ADDRESS ON FILE
BERTOG LANDSCAPE                       625 WHEELING RD WHEELING IL 60090
BERTOLINI, SCOTT                       ADDRESS ON FILE
BERTORELLI, DELIA                      ADDRESS ON FILE
BERTOVICH, CHRISTOPHER                 ADDRESS ON FILE
BERTRAM, MICHAEL                       ADDRESS ON FILE
BERTRAND KAY SERVICES                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BERTRAND, NORMAN G                     ADDRESS ON FILE
BERTRAND, STEVEN                       ADDRESS ON FILE
BERTS GARAGE INC                       PO BOX 616 HILLSVILLE VA 24343
BERTS TESTING AND TRAINING SERVICES INC 26380 VAN BORN RD STE 6 DEARBORN HEIGHTS MI 48125
BERTSCH, ANDREW                        ADDRESS ON FILE
BERTSCH, ERIC                          ADDRESS ON FILE
BERUBE, DAVID                          ADDRESS ON FILE
BERUN TRANSPORTATION COMPANY           OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
BERVE, ROBERT                          ADDRESS ON FILE
BERZAIN TRANSPORT INC                  OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
BES ELECTRICAL SERVICES                PO BOX 129 EAST OLYMPIA WA 98540
BESECKER, NATHANAEL                    ADDRESS ON FILE
BESERRA, JORGE                         ADDRESS ON FILE
BESIO, JEFFREY                         ADDRESS ON FILE
BESKAU TRANSPORT, LLC                  19500 GOODWIN AVE. HASTINGS MN 55033
BESKO LOGISTICS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BESLAGIC, SULEJMAN                     ADDRESS ON FILE
BESLIJA, MUSTAFA                       ADDRESS ON FILE
BEST 3 LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST AIRE COMPRESSOR SERVICES, INC     7125 HEADLEY ST BOX 999 ADA MI 49301
BEST AMERICAN EXPRESS LLC              OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
BEST AMERICAN TRANSPORT INC            3 GRANT SQ 401 HINSDALE IL 60521
BEST BRIDGE TRUCKING INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST BUY SUPPLY CHAIN                  15445 COLLECTIONS CENTER DR CHICAGO IL 60693
BEST BUY WAREHOUSING LOGISTICS INC     ATTN: JOHN JAY PERRY PO BOX 281678 ATLANTA GA 30384
BEST BUY WAREHOUSING LOGISTICS INC     PO BOX 281678 ATLANTA GA 30384
BEST BUY WAREHOUSING LOGISTICS, INC    P.O. BOX 281678 ATLANTA GA 30384-2004
BEST CARGO LINES INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST CARGO LTD.                        OR Z & Z FINANCIAL GROUP 2300 STEELES AVE UNIT 160 CONCORD ON L4K 5X6 CANADA
BEST CARRIER INC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BEST CARRIER, INC                      OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
BEST CENTRAL TRUCKING INC              205 CHURCHILL DR BELLEVILLE IL 62223
BEST CHOICE LANDSCAPE INC              S66W14427 JANESVILLE ROAD MUSKEGO WI 53150
BEST CHOICE LOGISTICS INC              OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
BEST CHOICE TRANSPORTATION INC         P O BOX 20509 CRANSTON RI 02920
BEST CHOICE TRANSPORTERS LLC           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BEST CHOICE TRUCKING LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BEST COAST TRANSPORT LLC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
BEST COURIER & DELIVERY                AT-ONCE DELIVERY SYSTEMS INC. PO BOX 6327 LIBERTYVILLE IL 60048



Epiq Corporate Restructuring, LLC                                                                   Page 198 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 207 of 2156

Claim Name                               Address Information
BEST DEAL TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BEST DEFINITION TRANSPORT LLC            OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
BEST EXPRESS LLC                         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BEST FORMULATIONS LLC                    ATTN: HORACIO AVILA 938 RADECKI CT CITY OF INDUSTRY CA 91748
BEST FREIGHT EXPRESS LTD                 OR RIVIERA FINANCE OF IOWA PO BOX 310243 DES MOINES IA 50331-0243
BEST FREIGHT LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BEST FRIENDS LOGISTICS INC               11513 BURBANK BLVD UNIT B NORTH HOLLYWOOD CA 91601
BEST GOLF CARTS, INCORPORATED            18041 VALLEY BLVD, PO BOX 298 BLOOMINGTON CA 92316
BEST HAUL LLC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BEST HOT SHOTS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BEST IN WEST TRANSPORTATION INC          BEST IN WEST TRANSPORTATION INC 13704 DE FOE AVENUE SYLMAR CA 91342
BEST LINE EQUIPMENT                      2582 GATEWAY DRIVE STATE COLLEGE PA 16801
BEST LOADS INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BEST LOGISTIC SOLUTIONS LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST LOGISTICS GROUP LLC                 OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
BEST MIDWAY EXPRESS TRANSPORTATION INC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST ONE TIRE AND SERVICE                OF MID-AMERICA, 4175 MULHAUSER ROAD FAIRFIELD OH 45014
BEST ONE TIRE AND SERVICE                750 S WESTERN LIBERAL KS 67901
BEST PRINTING INC                        P.O. BOX 155 CLOVERDALE VA 24077
BEST RATE TOWING & AUTO REPAIR INC       1380 AMSTERDAM RD BELGRADE MT 59714
BEST ROUTE TRANSPORTATION LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BEST SANITATION LLC                      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
BEST SERVERS EVER LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BEST SERVICE LOGISTICS LLC               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BEST SHOT TRUCKING LLC                   OR ITHRIVE FUNDING PO BOX 1000 DEPT 848 MEMPHIS TN 38148-1000
BEST SOLUTION EXPRESS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST TIME EXPRESS INC                    15218 SUMMIT AVE STE 300-401 FONTANA CA 92336
BEST TOTAL CARE LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BEST TOWING                              3689 FASHION SQUARE BLVD TOWNSHIP MI 48603
BEST TOWING                              3689 FASHION SQUARE BLVD., PO BOX 5509 SAGINAW MI 48603
BEST TRANSPORT INC (STALLINGS NC)        OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
BEST TRANSPORTATION INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BEST TRIP EXPRESS LLC                    923 E VALLEY BLVD UNIT 209 SAN GABRIEL CA 91776
BEST TRUCK BODY & TRAILER REPAIR         PO BOX 2283 WINDSOR CA 95492
BEST TRUCK LINE INC                      PO BOX 1071 DEERFIELD IL 60015
BEST TRUCK SERVICES                      56 NEBRASKA AVE MERCERVILLE NJ 08619
BEST TRUCKING EXPRESS LLC                3014 DAVID CT COLUMBUS OH 43224
BEST TRUCKING LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BEST TRUCKING LLC (MC071654)             3615 SW NORMAN CT TOPEKA KS 66610
BEST US EXPRESS LLC                      OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
BEST WAY EXPEDITE INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BEST WAY EXPEDITE INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BEST WAY EXPRESS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BEST WAY FREIGHT INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
BEST WAY LOGISTICS INC                   4710 ASHLEY DR, STE A WEST CHESTER OH 45011
BEST WAY TRANSPORT, INC.                 11205 SE FOSTER RD PORTLAND OR 97266
BEST WAY TRANSPORTATION SERVICE INC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BEST WAY TRUCKING INC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BEST WEST LOGISTICS, INC.                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                     Page 199 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 208 of 2156

Claim Name                            Address Information
BEST WESTERN                          6100 MITCHELL DR. LITTLE ROCK AR 72209
BEST WESTERN REGENCY INN              360 EASTGATE DR DANVILLE IL 61834
BEST, BRADLEY                         ADDRESS ON FILE
BEST, CHRIS                           ADDRESS ON FILE
BEST, DANELLE                         ADDRESS ON FILE
BEST, LORIN                           ADDRESS ON FILE
BEST, MEGAN                           ADDRESS ON FILE
BEST, MICHAEL                         ADDRESS ON FILE
BEST, MICHAEL                         ADDRESS ON FILE
BEST, SCOTT                           ADDRESS ON FILE
BEST, TUAN M                          ADDRESS ON FILE
BEST-ONE FLEET SERVICE                5475 BROWN AVE ST.LOUIS MO 63120
BEST-ONE FLEET SERVICE OF MISHAWAKA   D/B/A: BEST ONE FLEET SERVICE BEST ONE MISHAWAKA, 2356 N HOME ST MISHAWAKA IN
                                      46545
BEST-ONE OF CENTRAL IL                707 BLOOMINGTON RD. CHAMPAIGN IL 61820
BEST-ONE OF CENTRAL IL                1395 S. TAYLORVILLE RD. DECATUR IL 62521
BEST-ONE OF CENTRAL IL                340 E MACON DECATUR IL 62523
BEST1 LOGISTICS LLC                   2628 NE EXPY NE APT H5 ATLANTA GA 30345
BEST1 LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BESTAN TRANSPORTATION INCORPORATED    OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
BESTAR                                4787 STALWART DR. FAIRBURN GA 30213
BESTAR INC                            ATTN: ISABELLE PLAMONDON 4220 VILLENEUVE LAC-MEGANTIC QC G6B 2C3 CANADA
BESTDRIVE                             53 COMMERCE DR MORTON IL 61550
BESTDRIVE                             620 COMMERCIAL AVE. PALMYRA MO 63461
BESTOFALL CORP                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BESTOLIFE CORPORATION                 ATTN: HEATHER BAKER 2222 VANCO IRVING TX 75061
BESTPASS, INC.                        PO BOX 941 ALBANY NY 12201
BESTPASS, INC.                        ACCT ENDING 2763 500 NEW KARNER RD STE 5 ALBANY NY 12205
BESTPASS, INC.                        PO BOX 786587 PHILADELPHIA PA 19178
BESTSTAR TRANSPORT INC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BESTWAY DELIVERY SERVICES LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BESTWAY OCEAN EXPRESS                 PABLO JR, 825 FRELINGHUYSEN AVE NEWARK NJ 07114
BESTWAY TRANSPORT, INC.               201 ST PAULS CHURCH RD NEWTON NC 28658
BETANCOURT, FRANCISCO                 ADDRESS ON FILE
BETANCOURT, RUBEN                     ADDRESS ON FILE
BETANZOS, MARCUS                      ADDRESS ON FILE
BETCHER, CHRISTINA                    ADDRESS ON FILE
BETH ESSENTIALS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BETH TRUCKING INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BETHEA, CARVIN                        ADDRESS ON FILE
BETHEA, DEANGELO                      ADDRESS ON FILE
BETHEA, JEFF                          ADDRESS ON FILE
BETHEA, LARRY                         ADDRESS ON FILE
BETHEA, TIMOTHY                       ADDRESS ON FILE
BETHEA, TYLDEN                        ADDRESS ON FILE
BETHEA, WALTER                        ADDRESS ON FILE
BETHEL SCHOOL                         5625 192 ST. PAYALLUP WA 98375
BETHEL TRUCKING LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BETHEL, ERIC                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 200 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 209 of 2156

Claim Name                           Address Information
BETHLEHEM CSD                        TAX PROCESSING UNIT, PO BOX 12905 ALBANY NY 12212
BETHLEHEM CSD                        PO BOX 12905 ALBANY NY 12212
BETHLEHEM FREIGHT CARRIERS INC       3935 DEVONSHIRE RD BETHLEHEM PA 18020
BETHLEHEM TOWNSHIP                   4225 EASTON AVE BETHLEHEM PA 18020
BETHUNE LOGISTICS INC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
BETHUNE, LOUIS                       ADDRESS ON FILE
BETI TRUCKING COMPANY LLC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BETKIE, IAN                          ADDRESS ON FILE
BETLAND, COREY                       ADDRESS ON FILE
BETROS PLUMBING CONTRACTORS INC      2600 W BEAVER ST JACKSONVILLE FL 32254
BETSARGIS, JOSEPH                    ADDRESS ON FILE
BETSON, BRIANA                       ADDRESS ON FILE
BETTENCOURT, ELLEN                   ADDRESS ON FILE
BETTENCOURT, ELLEN                   ADDRESS ON FILE
BETTENCOURT, KENNETH A               ADDRESS ON FILE
BETTER BEST TRANSPORTATION INC       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BETTER CARE TRUCKING LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BETTER DAYZ AHEAD LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BETTER EXPRESS LLC                   743 HIGHPOINT CT SCHAUMBURG IL 60193
BETTER FREIGHT LLC                   OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
BETTER LIFE TRANS INC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BETTER LIFE TRANS INC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BETTER TRUCKING LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BETTER WAY TRANSPORTATION LLC        35 QUAIL FOREST DR SAVANNAH GA 31419
BETTER-WAY, INC.                     PO BOX 3 WESTMONT IL 60559
BETTER-WAY, INC.                     PO BOX 3 WESTMONT IL 60559-0003
BETTES, JAYDA                        ADDRESS ON FILE
BETTINGER, NICK                      ADDRESS ON FILE
BETTLE, BRIAN                        ADDRESS ON FILE
BETTS COMPANY                        AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
BETTS GARAGE & B&G GLASS INC.        2806 PULASKI HIGHWAY NEWARK DE 19702
BETTS TRUCK PARTS AND SERVICE        PO BOX 102165 PASADENA CA 91189
BETTS, DENNIS                        ADDRESS ON FILE
BETTS, DONALD                        ADDRESS ON FILE
BETTS, HERB                          ADDRESS ON FILE
BETTS, RODNEY                        ADDRESS ON FILE
BETTS, RODNEY S                      ADDRESS ON FILE
BETTY & ALBERT MURGUIA               ADDRESS ON FILE
BETTY MCNAIR                         ADDRESS ON FILE
BETTYS SON TRANSPORT SERVICE LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BETWEEN STATE LINES LLC              OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
BETZ, BURKLEY                        ADDRESS ON FILE
BETZ, DENISE                         ADDRESS ON FILE
BETZ, GERRY                          ADDRESS ON FILE
BETZWISER, FRANK                     ADDRESS ON FILE
BEVANS, BRANDON                      ADDRESS ON FILE
BEVERLY FREIGHT INC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
BEVERLY INTERNATIONAL C/O ECHO       ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
BEVERLY J CUMMINS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 201 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 210 of 2156

Claim Name                               Address Information
BEVERLY TRANSPORT                        OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197
BEVILL, JONATHAN                         ADDRESS ON FILE
BEVILL-ROBINSON, TYLER                   ADDRESS ON FILE
BEVS FIREWORKS                           ATTN: BEVE LENZ 305 W NORTH AVE LITTLE CHUTE WI 54140
BEWLEY, KHALIF                           ADDRESS ON FILE
BEXAR COUNTY                             C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 112 E PECAN ST, STE 2200 SAN ANTONIO
                                         TX 78205
BEXAR COUNTY TAX ASSESSOR COLLECTOR      PO BOX 839950 SAN ANTONIO TX 78283
BEXPRESS LLC                             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BEY, BETZALEL                            ADDRESS ON FILE
BEY, OLLIE                               ADDRESS ON FILE
BEY, RAJJUYNEL                           ADDRESS ON FILE
BEYER BROS. CORP.                        109 BROAD AVE FAIRVIEW NJ 07022
BEYER, AMANDA                            ADDRESS ON FILE
BEYER, BRIAN J                           ADDRESS ON FILE
BEYER, BRUCE                             ADDRESS ON FILE
BEYER, DONALD                            ADDRESS ON FILE
BEYER, KERI                              ADDRESS ON FILE
BEYER, RAYMOND J                         ADDRESS ON FILE
BEYER, SHAWN                             ADDRESS ON FILE
BEYER, WILLIAM                           ADDRESS ON FILE
BEYERS TRUCK & TRAILER                   2501 PEBBLE LAKE RD FERGUS FALLS MN 56537
BEYERS, BRENT                            ADDRESS ON FILE
BEYOND BARRIERS LLC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
BEYOND ELITE TRANSPORTATION LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BEYOND FREIGHT INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BEYOND LIMITS KNOWN LOGISTICS LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BEYOND POINT LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BEYOND TRANSPORT & LOGISTICS LLC         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
BEZCO TRUCKING INC.                      15 PAPPLE ROAD BRANTFORD ON N3R0C3 CANADA
BEZNOSKA, DAVID                          ADDRESS ON FILE
BF & RS TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BF EXPRESS LLC                           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BF LOGISTICS INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BF LOGISTICS LLC (MC1059468)             OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
BF TRANS                                 OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
BFD ENTERPRISES LLC                      9055 US HWY 60 WEST LEWISPORT KY 42351
BFD TRUCKING LLC                         OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BFL CANADA RISK AND INSURANCE SRVC INC   181 UNIVERSITY AVE STE 1700 TORONTO ON M5H 3M7 CANADA
BFM LOGISTICS CORP                       1247 E 7TH ST PLAINFIELD NJ 07062
BFPE INTERNATIONAL                       PO BOX 791045 BALTIMORE MD 21279
BFREIGHT INC                             OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
BFT, INC.                                PO BOX 4040 OMAHA NE 68104
BFW COUPLING SERVICES LTD                960 ATKINS AVE SARNIA N7S 4T2 CANADA
BG 011 LLC                               OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
BG 011 LLC                               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BG ADVANCE SOLUTIONS INC.                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BG BREWER-GARRETT                        6800 EASTLAND RD MIDDLEBURG HEIGHTS OH 44130



Epiq Corporate Restructuring, LLC                                                                     Page 202 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 211 of 2156

Claim Name                              Address Information
BG BREWER-GARRETT                       PO BOX 72324 CLEVELAND OH 44192
BG CARGO LOGISTIC INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BG LOGISTICS INC                        2906 WEST CENTRAL PARK 7E DAVENPORT IA 52804
BG LOGISTICS INC                        OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BG TRANSPORTATION LLC (MC813466)        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BG TRUCKING LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BG XPRESS, LLC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BGA TRUCK & TRAILER REPAIR & TIRE SVC   11464 E SANTA FE LOOP ROAD DEWEY AZ 86327
BGA TRUCK & TRAILER REPAIR & TIRE SVC   17051 E STATE ROUTE 169 DEWEY AZ 86327
BGB TRUCKING INC                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BGD EXPRESS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BGD FREIGHT INC.                        OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
BGE                                     PO BOX 1475 BALTIMORE MD 21203
BGF GLOBAL LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BGG TRUCKING LLC                        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
BGH TRUCKING LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BGL                                     ATTN: JENNIFER AVETTA 280 PO BOX INDIANA PA 15701
BGL                                     ATTN: AMBER WHITT 2846 S FALKENBURG RD RIVERVIEW FL 33578
BGL                                     ATTN: DENNIS WIDDOWS 2846 S FALKENBURG RD RIVERVIEW FL 33578
BGL - PITTSBURGH NORTH                  ATTN: CASEY NYE 2846 S FALKENBURG RD RIVERVIEW FL 33578
BGL TRANSPORTATION LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BGN EXPRESS INC                         OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
BGR                                     P.O. BOX 32160, DEPARTMENT 142 LOUISVILLE KY 40232
BGR GOVERNMENT AFFAIRS LLC              PO BOX 14416 WASHINGTON DC 20044
BGS TRANSPORT LLC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BGT CARRIERS INC                        OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
BGW                                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BGY LOGISTICS LLC                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BH GLOBAL LOGISTICS INC                 P.O. BOX 2295 GLENVIEW IL 60025
BH RELOCATION INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BH TRANS INC.                           PO BOX 421315 INDIANAPOLIS IN 46242
BH TRANS, INC.                          OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
BH TRANS, INC.                          OR TAB BANK, PO BOX 150783 OGDEN UT 84415
BHA TRANSPORT LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BHA TRUCK LLC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BHAGAT TRUCKING LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BHAGO TRANSPORTATION INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BHAGTANA TRANSPORT INC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BHAGWAGAR, ABAN                         ADDRESS ON FILE
BHANDAL TRUCKING                        9586 HOPYARD WAY SACRAMENTO CA 95829
BHANDARI, AMEESH                        ADDRESS ON FILE
BHANDARI, BROUGHTON AND HASTEY          ADDRESS ON FILE
BHARARA, KABIR                          ADDRESS ON FILE
BHATTARAI, PITAMBAR                     ADDRESS ON FILE
BHATTI EXPRESS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BHATTI, PRINCE                          ADDRESS ON FILE
BHC ISS                                 10926 DAVID TAYLOR DR 100 CHARLOTTE NC 28262
BHC ISS.COM                             10926 DAVID TAYLOR DR 100 CHARLOTTE NC 28262
BHD TRUCK PARTS, INC.                   PO BOX 326 LEES SUMMIT MO 64063



Epiq Corporate Restructuring, LLC                                                                    Page 203 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 212 of 2156

Claim Name                             Address Information
BHDS ENTERPRISES INC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
BHF EXPRESS LLC                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BHF TRUCKING LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BHG TRUCKING COMPANY LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BHINDER TRANS LLC                      OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
BHINDER TRANS LLC                      1859 AUTUMN GOLD AVE LAS VEGAS NV 89123-3949
BHINDER TRANSPORT INC                  OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
BHMA OCCUPATIONAL MEDICINE             PO BOX 746469 ATLANTA GA 30374
BHN TRANSPORT LLC                      OR GULF COAST BANK & TRUST COMPANY P.O. BOX 732148 DALLAS TX 75373-2148
BHOGAL TRANSPORT INC.                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BHTSI                                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BHULLAR EXPRESS TRUCKING LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BHULLAR TRANSPORT GROUP LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BHULLAR TRANSPORT INC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BI COASTAL TRUCKING FREIGHT DELIVERY   OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
LLC
BI MART                                PO BOX 2310 EUGENE OR 97402
BI MOTOR EXPRESS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BI, ZHONGWEN                           ADDRESS ON FILE
BI, ZHONGWEN                           ADDRESS ON FILE
BI-STATE ASPHALT                       14516 S 200 E CLINTON IN 47842
BI-STATE LIGHTING MAINTENANCE LC       1146 EAST PRICE STREET ELDRIDGE IA 52748
BIA GROUP INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BIAK, CEU                              ADDRESS ON FILE
BIAN, HUAI QING                        ADDRESS ON FILE
BIANCHI JR, ROBERT                     ADDRESS ON FILE
BIANCHI, AMADEO                        ADDRESS ON FILE
BIANCO, ANTHONY                        ADDRESS ON FILE
BIANCO, BRYCE                          ADDRESS ON FILE
BIAS, KENNETH                          ADDRESS ON FILE
BIAS, MARCUS C                         ADDRESS ON FILE
BIBBO, DONNA                           ADDRESS ON FILE
BIBBS, CORNELIUS                       ADDRESS ON FILE
BIBBS, GRETA                           ADDRESS ON FILE
BIBLE, JAMES                           ADDRESS ON FILE
BIBLE, ROGER                           ADDRESS ON FILE
BIC USA INC                            PO BOX 416552 BOSTON MA 22416-6552
BICA, GIUSEPPE                         ADDRESS ON FILE
BICE, CRAIG                            ADDRESS ON FILE
BICKERTON, LOREN                       ADDRESS ON FILE
BICKFORD, JOHN                         ADDRESS ON FILE
BICKHAM, RAMON                         ADDRESS ON FILE
BICKHEM, JOSEPH                        ADDRESS ON FILE
BICKING, KEITH                         ADDRESS ON FILE
BICKMANN, HEINRICH                     ADDRESS ON FILE
BICKNELL, DONALD                       ADDRESS ON FILE
BIDDINGS, CORNELL                      ADDRESS ON FILE
BIDDLE & BROWN FENCE CO LLC            895 W ELWOOD ST PHOENIX AZ 85041
BIDDLE, DEREK                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 204 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 213 of 2156

Claim Name                           Address Information
BIDDLE, JAHMAAL                      ADDRESS ON FILE
BIDDLE, JOSEPH                       ADDRESS ON FILE
BIDDLE, TIMOTHY                      ADDRESS ON FILE
BIDDLE, WILLIAM                      ADDRESS ON FILE
BIDLEMAN, TERRY                      ADDRESS ON FILE
BIDWELL, LLC                         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
BIDWELL, MARK                        ADDRESS ON FILE
BIDWELL, THEODORE                    ADDRESS ON FILE
BIEBER, LOUIS                        ADDRESS ON FILE
BIEDERMAN, AARON                     ADDRESS ON FILE
BIEG PLUMBING COMPANY, INC.          2015 LEMAY FERRY ROAD SAINT LOUIS MO 63125
BIEGEL, CHRISTOPHER                  ADDRESS ON FILE
BIEHL, MEREDITH                      ADDRESS ON FILE
BIELER, DANIEL                       ADDRESS ON FILE
BIENIEWICZ, JODY                     ADDRESS ON FILE
BIENVENU, BEATRICE                   ADDRESS ON FILE
BIENVENU, BEATRICE                   ADDRESS ON FILE
BIENVENU, BRITTANEY                  ADDRESS ON FILE
BIENVENU, BRITTANEY                  ADDRESS ON FILE
BIENVILLE HOUSE HOTEL                320 DECATUR STREET NEW ORLEANS LA 70130
BIER TRUCKS                          1393 19 3/8 ST CAMERON WI 54822
BIER, RICHARD                        ADDRESS ON FILE
BIERCH, CHARLES                      ADDRESS ON FILE
BIERMANN, DAVID                      ADDRESS ON FILE
BIESTERFELD, JESSICA                 ADDRESS ON FILE
BIG 4 TRUCKING, INC.                 PO BOX 859 ROSELAND LA 70456
BIG 5 CORP                           2525 E EL SEGUNDO BLVD EL SEGUNDO CA 90245
BIG 5 CORPORATION                    ATTN: ACCOUNTS PAYABLE 2525 E EL SEGUNDO BLVD EL SEGUNDO CA 90245
BIG 5 SPORTING GOODS                 2525 E EL SEGUNDO BLVD EL SEGUNDO CA 90245
BIG A DOCK SERVICE & SALES           3409 FAULK AVE BELLEVUE NE 68147
BIG ALS TOWING & RECOVERY            6520 HINESLEY ROAD CHEYENNE WV 82001
BIG AND J INDUSTRIES LLC             918 N SHADY BEND RD GRAND ISLAND NE 68801
BIG APPLE TRANSPORT LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG APPLE TRUCKING                   7105 HENDRICKSON LN INDIANAPOLIS IN 46237
BIG APPLE TRUCKING                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BIG APPLE TRUCKING INC               OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
BIG ARMS INC                         OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
BIG B LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG B TRUCKING LLC                   OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
BIG BEE BOATS LTD.                   ATTN: LINDA VANDLING 1617 STATE ROAD DUNCANNON PA 17020-9538
BIG BILL TRUCKING LLC                OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
BIG BIRD TRANS INC                   9132 BRIDALVEIL CIR STOCKTON CA 95212
BIG BIRD TRANS INC                   PO BOX 1158 WOODBRIDGE CA 95258
BIG BIRD TRANSPORTATION LLC          15614 SUMMER MAPLE TRAIL CYPRESS TX 77429
BIG BLUE EXPRESS, LLC                180 OLE STILL LANE ELGIN SC 29045
BIG BLUE TRANSPORTATION CORP         15609 SW 139TH AVE MIAMI FL 33177
BIG BOI LLC                          OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH 45263
BIG BORE BARBECUE                    10904 4TH ST NE HANOVER MN 55341



Epiq Corporate Restructuring, LLC                                                               Page 205 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 214 of 2156

Claim Name                            Address Information
BIG BOSS EXPRESS INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BIG BOSS TRANSPORT LLC                4308 RAINIER ST APT 402 IRVING TX 75062
BIG BOXER TRUCKING LLC                7434 OLD RIVER DRIVE BLACKLICK OH 43004
BIG BOY TRANSPORTATION LLC            OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BIG BOY TRUCKING LOGISTICS LLC        17410 FOOTHILL BLVD STE B FONTANA CA 92335
BIG BOYS TOWING & RECOVERY            18515 OLD US 66 PACIFIC MO 63069
BIG BOYS TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BIG BOYS TRUCKING LLC                 OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
BIG BOYS WRECKER SERVICE              415 S ROBINSON DRIVE ROBINSON TX 76706
BIG BOYZ TRANSPORT LLC                OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
BIG BOYZ TRUCKING                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BIG BROTHER BUCKS TRUCKING LLC        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BIG BROTHERS TRUCKING COMPANY, INC.   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BIG BULL TRANSPORT CORP               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BIG CANNON FREIGHT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BIG CITY TRUCKING INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BIG CONDOR TRANSPORT LLC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BIG COUNTRY TRUCKIN LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG D INDUSTRIES INC                  ATTN: ERIC CHIANG 5620 SW 29TH OKLAHOMA CITY OK 73179
BIG DADDY TOWING INC                  3615 ST JOHN RD LIMA OH 45804
BIG DADDY TOWING INC                  3615 ST JOHNS RD LIMA OH 45804
BIG DADDYS TRUCK & TRIALER            13641 US 75 VAN ALSTYNE TX 75495
BIG DOG MOVIN LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG DOG MOVIN LLC                     1521 S CALIFORNIA AVE COMPTON CA 90221-4924
BIG DOG TRANSPORTATION LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BIG DREAM WAY INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG EAGLE EXPRESS LLC                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
BIG EAST CHEDDAR TRUCKS LLC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BIG EDS LAWN CARE                     101 JAY ST SALIX IA 51052
BIG EXPRESS INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BIG FAMILY TRUCK-LINES LLC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BIG FREIGHT SYSTEMS INC               360 HWY 12 NORTH STEINBACH MB R5G1A6 CANADA
BIG FRESH TRUCKING LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BIG G TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BIG GRAPE                             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BIG H LOGISTICS INC                   26944 SALT MISSIONS CIR MORENO VALLEY CA 92555
BIG HALL TRUCKIN LLC                  OR TAB BANK, PO BOX 150830 OGDEN UT 84415
BIG HOPS FREIGHT & LOGISTICS LLC      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
BIG HORN EXPRESS TRUCKING, LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BIG HORN PETROLEUM                    196 HIGHWAY 16 E BUFFALO WY 82834
BIG HOUSE TRANS & LOGISTICS CO LLC    OR LOVES SOLUTIONS LLC PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BIG IMAGE TRANSPORT LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BIG IRON TOWING, INC.                 103 KELLY ROAD FANCY GAP VA 24328
BIG J EXPRESS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BIG J FENCING INC                     598 E MAIN ST STE B EL CENTRO CA 92243
BIG J TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG JOE HANDLING SYSTEMS              25932 EDEN LANDING RD HAYWARD CA 94545
BIG JOHN EXPEDITED INC                OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BIG JOHNS 24 HOUR TRUCK TOWING INC    PO BOX 70181 SPRINGFIELD OR 97475



Epiq Corporate Restructuring, LLC                                                                  Page 206 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 215 of 2156

Claim Name                           Address Information
BIG JOHNSONS HAULING LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BIG JUKES TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BIG K EXPRESS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BIG LAGOON TRANSPORT, INC            13183 JOSHUA AVE CHINO CA 91710
BIG LEVEL TRUCKING, INC.             OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
BIG LIFT MATERIAL HANDLING           1315 E GIBSON LN BLDN E-2 PHOENIX AZ 85034
BIG LOTS STORES, INC                 4900 E DUBLIN, GRANVILLE ROAD COLUMBUS OH 43081
BIG M TRANSPORTATION, INC.           OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
BIG MARGARET TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG MICH LOGISTICS LLC               6336 ATKINS DR TROY MI 48085
BIG MICH LOGISTICS LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BIG MIKES TRUCKING                   OR G SQUARED FUNDING LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BIG MOHAMMAD, HABIBURAHMAN           ADDRESS ON FILE
BIG N TALL TRANSPORT LLC             OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BIG OAK TRANSPORT, LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BIG ONE TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BIG P EXPRESS LLC                    1609 MALL DRIVE BENTON HARBOR MI 49022
BIG PINK TRANSPORTS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG RAM & SONS TRUCKING LLC,         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BIG RAYS TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIG RED TOWING, LLC                  3313 WALTERS RD, JUST OFF EXIT 39 I-90 SYRACUSE NY 13209
BIG RIG CARRIERS                     OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T 5C5 CANADA
BIG RIG GLASS                        2654 N MARINE DRIVE PORTLAND OR 97217
BIG RIG TEXAS LLC                    6919 ASTRAPIA BAY XING SPRING TX 77379
BIG RIG TOWING & TRANSPORT LLC       9055 INNOVATION AVE SE CALGARY AB T3S 0B5 CANADA
BIG RIG TOWING & TRANSPORT LLC       6106 CHUCK LN EAU CLAIRE WI 54703
BIG RIG TRUCK SERVICE INC            2660 HISTORIC ROUTE 66 SANTA ROSA NM 88435
BIG RIVER FREIGHT                    825 S COLUMBIA, PO BOX 3445 WENATCHEE WA 98807
BIG RIVER FREIGHT                    PO BOX 3445 WENATCHEE WA 98807
BIG ROCK SPORTS                      310 MAIN AVE WAY SE HICKORY NC 28602
BIG ROCK SPORTS                      ATTN: LINDA ORTH 310 MAIN AVE WAY SE HICKORY NC 28603
BIG ROCK SPORTS                      REDWOOD SCS, PO BOX 510660 LIVONIA MI 48151
BIG ROCK TRANS INC                   OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
BIG SAM TRANSPORT LLC                OR INTEGRA FUNDING SOLUTIONS, LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
BIG SARGE LINE HAUL TRUCKING LLC     OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BIG SHOW TRANSPORTATION LLC          888 COUNTY RD D W 308 NEW BRIGHTON MN 55112
BIG SKY PROPERTY MANAGEMENT          ATTN: LISA RADER PO BOX 6000 BUTTE MT 59702
BIG SKY PROPERTY MANAGEMENT          PO BOX 6000 BUTTE MT 59702
BIG SKY SOLUTIONS, LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BIG SNOW LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BIG STATE CARGO LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BIG STATE ELECTRIC LTD               2431 FORBES DR AUSTIN TX 78754
BIG STEVES SHUTTLE SERVICES LLC      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BIG TEN UNIVERSITY TOWING            3309 HWY 1 SW IOWA CITY IA 52240
BIG TIME TRUCK & TRAILER REPAIR      12616 STATE RT E ROLLA MO 65401
BIG TOE TOWING LLC                   2531 WEST 62ND COURT, UNIT K DENVER CO 80221
BIG TOWS INC                         36 RED SCHOOLHOUSE ROAD CHESTNUT RIDGE NY 10977
BIG TRUCK WAVE CARRIERS LLC          OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                                 Page 207 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 216 of 2156

Claim Name                               Address Information
BIG VALLEY TOWING                        2132 N COMMERCE ST N LAS VEGAS NV 89030
BIG WHEELN TRUCKING LLC                  1119 GREEN HILLS RD DUNCANVILLE TX 75137
BIG WHEELS BODY SHOP                     1100 W RISINGER RD FORT WORTH TX 76134
BIG YETTI TRANSPORTERS LLC               OR ORANGE COMMERCIAL CREDIT, PO BOX 11099 OLYMPIA WA 98508
BIGAPE TRUCKING LLC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BIGEAU, DONNA                            ADDRESS ON FILE
BIGELOW, JAMES M                         ADDRESS ON FILE
BIGELOW, MARY                            ADDRESS ON FILE
BIGELOW-MILLER, LISA                     ADDRESS ON FILE
BIGFOOT BIOMEDICAL                       ATTN: JASON MASELLI 1820 MCCARTHY BLVD MILPITAS CA 95035-7425
BIGG ENTERPRISE INC                      OR INTERNET TRUCKSTOP PAYMENTS, LLC, PO BOX 7410411 CHICAGO IL 60674-0411
BIGGAR, ROXANNE                          ADDRESS ON FILE
BIGGER THAN ME ENTERPRISES LLC           OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
BIGGERS, ROBERT                          ADDRESS ON FILE
BIGGINS LIGHTING                         2325 LARKSPUR LANE REDDING CA 96002
BIGGS, BARRY                             ADDRESS ON FILE
BIGGS, BRAD                              ADDRESS ON FILE
BIGGS, BRIAN                             ADDRESS ON FILE
BIGGS, DANIEL T                          ADDRESS ON FILE
BIGGS, JENAY                             ADDRESS ON FILE
BIGHEM, ROBERT                           ADDRESS ON FILE
BIGLER BOYZ TOWING & RECOVERY            101 ROLLING STONE ROAD KYLERTOWN PA 16847
BIGLER BOYZ TOWING & RECOVERY            P.O. BOX 178 KYLERTOWN PA 16847
BIGLER, BOBBY                            ADDRESS ON FILE
BIGLER, DONALD                           ADDRESS ON FILE
BIGSAM TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BIGSHOT TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BIGTRUX TRANSPORTATION, LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BIH LLC                                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BIH TRANSPORT GROUP LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
BIHI TRUCKING LLC                        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BIHTX LLC                                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BIIA LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BILA TRUCKING LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
BILAL TRUCKING INC                       OR ECAPITAL FREIGHT FACTORING, PO BOX 206773 DALLAS TX 75320-6773
BILAN LOGISTICS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BILANO, ISAAC                            ADDRESS ON FILE
BILBREY, LOUIE                           ADDRESS ON FILE
BILDEYKO JR, ALEXANDER                   ADDRESS ON FILE
BILDHAUER, MICHAEL                       ADDRESS ON FILE
BILE TRUCKING LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BILICK, ROBERT                           ADDRESS ON FILE
BILIM LB INCORPORATED                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BILING TRUCKING LLC                      OR SOUND FINANCE CORPORATION, P.O. BOX 679281 DALLAS TX 75267-9281
BILL B CONGER                            ADDRESS ON FILE
BILL CLARK TRUCK LINE INC                311 6TH ST ALAMOSA CO 81101
BILL ERRERA AUTO SALES AND SERVICE       2132 WILLIAM FLYNN HIGHWAY BUTLER PA 16001
BILL FUNK TRUCKING, INC.                 933 MAIN ST NW CHATFIELD MN 55923
BILL HOWE RESTORATION & FLOOD SVCS INC   PO BOX 92328 LAS VEGAS NV 89193



Epiq Corporate Restructuring, LLC                                                                     Page 208 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 217 of 2156

Claim Name                             Address Information
BILL MORGAN TIRE CO                    619 E IRVINE ST RICHMOND KY 40475
BILL PRATT                             ADDRESS ON FILE
BILLCLIFF, THOMAS                      ADDRESS ON FILE
BILLE LOGISTICS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BILLE TRUCKING LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BILLEGAS, DAVID                        ADDRESS ON FILE
BILLERICA LANDSCAPING                  PO BOX 84 NORTH BILLERICA MA 01862
BILLET, LINDSAY                        ADDRESS ON FILE
BILLICK, MARK                          ADDRESS ON FILE
BILLIE L BARLOW                        ADDRESS ON FILE
BILLIEU, VICTOR                        ADDRESS ON FILE
BILLING LOGISTICS                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
BILLING TRANSPORT LTD                  79 EGYPT DR BRAMPTON ON L6R0S4 CANADA
BILLING TRANSPORT LTD                  OR AVA FINANCIAL GROUP INC, 273 MOORE PARK AVENUE TORONTO NS M2M 1N5 CANADA
BILLINGS HOTEL AND CONVENTION CENTER   1223 MULLOWNEY LANE BILLINGS MT 59101
BILLINGS PETERBILT                     3255 N FRONTAGE RD BILLINGS MT 59101
BILLINGS, ROBERT                       ADDRESS ON FILE
BILLINGSLEY, DAVID                     ADDRESS ON FILE
BILLINGTON EXCAVATION                  409 W FRANKLIN ST MCLEAN IL 61754
BILLINGTON, RICHARD                    ADDRESS ON FILE
BILLINGTON, SCOTT                      ADDRESS ON FILE
BILLION INTEREST LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BILLION WAY LLC                        12100 EGRET LANE WOLVERINE LAKE MI 48390
BILLIPS, CARRIE                        ADDRESS ON FILE
BILLOPS, WALTER                        ADDRESS ON FILE
BILLOTTE, DUANE                        ADDRESS ON FILE
BILLOTTE, DUANE J                      ADDRESS ON FILE
BILLS ELECTRIC INC                     PO BOX 707 WEBB CITY MO 64870
BILLS GENERAL REPAIR, INC.             2317 STATE ROUTE 11B NORTH BANGOR NY 12966
BILLS HEATING & A/C                    4681 BRONCO RD WARRENS WI 54666
BILLS SERVICE SOUTH OF STAMFORD INC    22 ST MARYS ST, P O BOX 4357 STAMFORD CT 06907
BILLS TOWING AND GARAGE, INC.          1210 S SPRAGUE AVE TACOMA WA 98405
BILLS TOWING LTD                       66855 EXECUTIVE DR SAINT CLAIRSVILLE OH 43950
BILLS TROPICAL GREENHOUSE INC          PO BOX 6127 KANSAS CITY KS 66106
BILLS TRUCK REPAIR                     88 MILLWELL CT MARYLAND HEIGHTS MO 63043
BILLS, JEFFERY                         ADDRESS ON FILE
BILLS, WILLIAM E                       ADDRESS ON FILE
BILLUPS, DERRICK                       ADDRESS ON FILE
BILLUPS, JAMES                         ADDRESS ON FILE
BILLUPS, KEVIN                         ADDRESS ON FILE
BILLY BARNES ENTERPRISES, INC.         338 BROWN STREET MONROEVILLE AL 36439
BILLY E JONES                          ADDRESS ON FILE
BILLY G BURNEY III                     ADDRESS ON FILE
BILLY GALINDO JR                       ADDRESS ON FILE
BILLY GALINDO SR                       ADDRESS ON FILE
BILLY JO RICHARDSON                    ADDRESS ON FILE
BILLY LOMAX                            ADDRESS ON FILE
BILLY MOLLETT - HU                     ADDRESS ON FILE
BILLY POWELL                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 209 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 218 of 2156

Claim Name                              Address Information
BILLY POWELL                           ADDRESS ON FILE
BILOL TRANSPORTATION INC               OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
BILOTTA, JAMES                         ADDRESS ON FILE
BILSKI, BETSY                          ADDRESS ON FILE
BILSKI, JACOB                          ADDRESS ON FILE
BILSKI, JIMMY                          ADDRESS ON FILE
BIMALOW FAMILY LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BIMAN CO                               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
BINABLE LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BINC CARRIERS LLC                      3106 MELODY LN MISSION TX 78574
BINDAS, JAMES                          ADDRESS ON FILE
BINDRA TRUCKING LTD                    OR LIQUID CAPITAL EXCHANGE, P.O. BOX 168688 IRVING TX 75016
BINETTE, MYRIAM                        ADDRESS ON FILE
BINETTE, MYRIAM                        ADDRESS ON FILE
BING, GENE                             ADDRESS ON FILE
BING, MICHAEL C                        ADDRESS ON FILE
BING, MICHAEL C                        ADDRESS ON FILE
BINGAMAN, PAUL                         ADDRESS ON FILE
BINGEMAN, SCOTT                        ADDRESS ON FILE
BINGEN, BRANDON                        ADDRESS ON FILE
BINGER, KEVIN                          ADDRESS ON FILE
BINGHAM BODY AND TOWING LLC            8397 E BINGHAM RD TRAVERSE CITY MI 49684
BINGHAM EQUIPMENT CO                   1655 S COUNTRY CLUB DR MESA AZ 85210
BINGHAM, BROCK                         ADDRESS ON FILE
BINGHAM, JARMEINE                      ADDRESS ON FILE
BINGHAM, JUSTIN                        ADDRESS ON FILE
BINGHAM, KIM                           ADDRESS ON FILE
BINGHAM, PAUL                          ADDRESS ON FILE
BINGHAM, RICARDO                       ADDRESS ON FILE
BINGHAMTON-ITHACA EXPRESS INC          PO BOX 535 CHENANGO BRIDGE NY 13745
BINGO LOGISTICS INC                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BINGO TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BINKLEY, MARILYN                       ADDRESS ON FILE
BINKS TRUCKING                         OR INSTAPAY FLEXIBLE, LLC, PO BOX 660771 DALLAS TX 75266
BINNER, MARTIN                         ADDRESS ON FILE
BINSWANGER GLASS                       PO BOX 679331 DALLAS TX 75267
BIO ONE ALBUQUERQUE                    2184 CHANNING WAY 135 IDAHO FALLS ID 83404
BIO ONE DAYTON                         707 MIAMISBURG CENTERVILLE RD 245 DAYTON OH 45459
BIO RAD LABORATORIES INC               DATA2LOGISTICS, PO BOX 61050 FORT MYERS FL 33906
BIO-KLEEN PRODUCTS                     ATTN: BIO KLEEN 810 LAKE ST KALAMAZOO MI 49001
BIO-LAB INC                            1725 N BROWN RD LAWRENCEVILLE GA 30043
BIO-ONE-AKRON                          3867 W. MARKET STREET 226 AKRON OH 44333
BIOENERGY TECHNOLOGY INC               311 ERA DR NORTHBROOK IL 60062
BIOFIT ENGINEERED PRODUCTS             15500 BIO FIT WAY BOWLING GREEN OH 43402
BIOLO, JOHN                            ADDRESS ON FILE
BIONDO, TOM                            ADDRESS ON FILE
BIOSCIENCE & TECHNOLOGY BUSINESS CENTER BTBC, INC MAIN FACILITY, 2029 BECKER DR. LAWRENCE KS 66047
BIOTEC PEST & WEED SPECIALIST          1380 RIO RANCHO BLVD SE 318 RIO RANCHO NM 87124
BIR BROS TRANSPORT                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                    Page 210 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 219 of 2156

Claim Name                           Address Information
BIR CHROME & TRUCK WASH              P.O. BOX 251 FRANKLIN KY 42135
BIR TRANSPORT COMPANY, INC.          2042 TOWN CENTER BLVD PMB 350 KNOXVILLE TN 37922
BIRCH RUN TOWNSHIP                   PO BOX 152 BIRCH RUN MI 48415
BIRCH RUN TOWNSHIP TREASURER         8425 MAIN ST. P.O. BOX 152 BIRCH RUN MI 48415
BIRCHFIELD, CHRISTOPHER              ADDRESS ON FILE
BIRCHMEIER, CHARLES                  ADDRESS ON FILE
BIRCKELBAW, ANDREW                   ADDRESS ON FILE
BIRD SUPPLY OF NEW HAMPSHIRE L       ATTN: ALAN FOX 522 AMHERST ST STE 16 NASHUA NH 03063
BIRD TRANSPORTATION                  OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
BIRD TRUCKING LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BIRD, MIKE                           ADDRESS ON FILE
BIRD, SUSAN                          ADDRESS ON FILE
BIRD, THEODORE                       ADDRESS ON FILE
BIRDEN, KIANTAY                      ADDRESS ON FILE
BIRDEN, KIANTAY                      ADDRESS ON FILE
BIRDS EYE VIEW TRUCKING LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BIRDSELL, MIKE                       ADDRESS ON FILE
BIRDSONG, CHARLES                    ADDRESS ON FILE
BIRDSONG, NELSON                     ADDRESS ON FILE
BIRDWELL, TERRY                      ADDRESS ON FILE
BIRGIN, ROMAN                        ADDRESS ON FILE
BIRK, STEVEN                         ADDRESS ON FILE
BIRK, THOMAS                         ADDRESS ON FILE
BIRKA LOGISTICS INC                  22538 BASS LAKE RD PLAINFIELD IL 60544
BIRKEYS FARM STORE                   954 E STATE ROAD 28 WEST WILLIAMSPORT IN 47993
BIRKLE, CHRISTOPHER                  ADDRESS ON FILE
BIRKMIRE TRUCKING COMPANY            7400 BIRKMIRE DRIVE FAIRVIEW PA 16415
BIRKS LANDSCAPING INC                2897 SOLINA RD N BOWMANVILLE ON L1C 6Z6 CANADA
BIRKS LANDSCAPING INC.               1-2897 SOLINA RD BOWMANVILLE ON L1C 6Z6 CANADA
BIRKY, LISA                          ADDRESS ON FILE
BIRMINGHAM FREIGHLINER LLC           PO BOX 808 NORCROSS GA 30091
BIRMINGHAM WATER WORKS               3600 1ST AVE N BIRMINGHAM AL 35222
BIRMINGHAM, GREGORY                  ADDRESS ON FILE
BIROSCAK, WILLIAM                    ADDRESS ON FILE
BIRR SR., JEFF                       ADDRESS ON FILE
BIRR, JAMES                          ADDRESS ON FILE
BIRR, KEVIN                          ADDRESS ON FILE
BIRRING INC                          907 BENTGRASS DR GREENWOOD IN 46143
BIRRING TRANSPORTATION INC           16 THRUSH LANE LEVITTOWN NY 11756
BIRSAN EXPRESS INC                   9940 NOTTINGHAM AVE APT 306 CHICAGO RIDGE IL 60415
BIRT, ROBERT                         ADDRESS ON FILE
BIRTCHER, ERNEST W                   ADDRESS ON FILE
BIRTS, SANLANIQUA                    ADDRESS ON FILE
BIS LOGISTICS                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BIS LOGISTICS INC                    OR HGS FUNDING, P.O. BOX 1359 RANCHO CUCAMONGA CA 91729
BISCHOFF, WILLIAM                    ADDRESS ON FILE
BISCOMERICA                          ATTN: NORMA SERRANO SHIPPING DEPARTMENT PO BOX 1070 RIALTO CA 92376
BISGROVE, PAMELA                     ADDRESS ON FILE
BISH, ROBERT                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 211 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 220 of 2156

Claim Name                         Address Information
BISHINS, TIMOTHY                   ADDRESS ON FILE
BISHINS, TYLER                     ADDRESS ON FILE
BISHOP FREIGHT SERVICE             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BISHOP INC                         1928 W BUSINESS CENTER DR ORANGE CA 92867
BISHOP TOWING & RECOVERY           PO BOX 283 GOLDENDALE WA 98620
BISHOP TOWING AND REPAIR LLC       PO BOX 283 GOLDENDALE WA 98620
BISHOP TRUCK LINE INC.             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, P.O BOX 7410411
                                   CHICAGO IL 60674-0411
BISHOP, CALVIN                     ADDRESS ON FILE
BISHOP, CALVIN D                   ADDRESS ON FILE
BISHOP, CHARLES                    ADDRESS ON FILE
BISHOP, DAVID                      ADDRESS ON FILE
BISHOP, DAVID                      ADDRESS ON FILE
BISHOP, ELLAINA                    ADDRESS ON FILE
BISHOP, FRANCIS                    ADDRESS ON FILE
BISHOP, GARET                      ADDRESS ON FILE
BISHOP, GREGORY                    ADDRESS ON FILE
BISHOP, JAY                        ADDRESS ON FILE
BISHOP, JERRY                      ADDRESS ON FILE
BISHOP, JOHN                       ADDRESS ON FILE
BISHOP, KIMBERLY                   ADDRESS ON FILE
BISHOP, LINDSEY                    ADDRESS ON FILE
BISHOP, MARK                       ADDRESS ON FILE
BISHOP, MARQUIS                    ADDRESS ON FILE
BISHOP, MICHAEL                    ADDRESS ON FILE
BISHOP, MIKE                       ADDRESS ON FILE
BISHOP, RAYMOND                    ADDRESS ON FILE
BISHOP, RICHARD                    ADDRESS ON FILE
BISHOP, ROGER                      ADDRESS ON FILE
BISHOP, SCOTT                      ADDRESS ON FILE
BISHOP, STEPHEN                    ADDRESS ON FILE
BISHOP, TERRELL                    ADDRESS ON FILE
BISHOP, TIMOTHY                    ADDRESS ON FILE
BISHOP, VICTOR                     ADDRESS ON FILE
BISHOP, ZACH                       ADDRESS ON FILE
BISKA INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BISMARCK EXCAVATING                14201 93RD ST NE BISMARCK ND 58503
BISMILLAH LOADS                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BISON FIRE PROTECTION LLC          2413 RIDGE ROAD RANSOMVILLE NY 14131
BISON TRANSPORT USA                PO BOX 877 BANGOR ME 04402-0877
BISON XPRESS CORP                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BISPELS, GARY                      ADDRESS ON FILE
BISPING, BRIAN                     ADDRESS ON FILE
BISRAM, RAJESH                     ADDRESS ON FILE
BISRAT DISPATCHING LLC             OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BISSET, JOHN                       ADDRESS ON FILE
BISSLAND TRANSPORT INC             1318 N ABBE RD FAIRVIEW MI 48621
BISSON TRANSPORTATION, INC.        56 BIBBER PRKWY STE 10 BRUNSWICK ME 04011
BISSONETTE, IRENE                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 212 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 221 of 2156

Claim Name                            Address Information
BISSONNETTE, RICHARD L                ADDRESS ON FILE
BISTOLFI, MICHAEL                     ADDRESS ON FILE
BISTOR, STEVEN                        ADDRESS ON FILE
BISWA, GANESH                         ADDRESS ON FILE
BISWA, GANESH                         ADDRESS ON FILE
BITANOAH TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BITCOIN LOGISTICS INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BITNER ELECTRIC INC                   7921 PAXTON STREET HARRISBURG PA 17111
BITOK, JAMES                          ADDRESS ON FILE
BITRON LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BITTEL, THOMAS E                      ADDRESS ON FILE
BITTERROOT WELDING & HYDRAULICS INC   PO BOX 7663 MISSOULA MT 59807
BITTNER, MARK                         ADDRESS ON FILE
BITWARDEN INC.                        1 N. CALLE CESAR CHAVEZ, SUITE 102 SANTA BARBARA CA 93103
BITZER, DAVID                         ADDRESS ON FILE
BIVENS, IRVING                        ADDRESS ON FILE
BIVENS, RANDALL                       ADDRESS ON FILE
BIVENS, SEAN                          ADDRESS ON FILE
BIVINS, FRANK                         ADDRESS ON FILE
BIVINS, GREGORY W                     ADDRESS ON FILE
BIVINS, JEROME                        ADDRESS ON FILE
BIVONA, ANTHONY                       ADDRESS ON FILE
BIVONA, JOHN                          ADDRESS ON FILE
BIXBY, CHRISTINA                      ADDRESS ON FILE
BIXLER, RONALD                        ADDRESS ON FILE
BIZ TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BIZ120 INC.                           PO BOX 1640 HIGHLAND PARK IL 60035
BIZEN TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BIZEN TRUCKING LLC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BIZIMANA, JEAN                        ADDRESS ON FILE
BIZOR, PHILLIP                        ADDRESS ON FILE
BIZZMARK LOGISTICS GROUP              OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
BJ JENSEN TRUCKING, LLC               5099 TOWER DRIVE AUBURNDALE WI 54412
BJ LOGISTICS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BJ LOGISTICS INC (MC1293776)          OR MCDOWELL FACTOR & CAPITAL SERVICES, LLC, PO BOX 161086 ALTAMONTE SPRINGS FL
                                      32716-1086
BJ TRANSPORTATION INC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BJ TRANSPORTATION INC (MC1087223)     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BJ TRANSPORTATION LLC                 OR PROVIDENT COMMERCIAL FINANCE LLC , P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                      35246-2659
BJAY LOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING CORP , PO BOX 206773 DALLAS TX 75320-6773
BJB TRANSPORTATION LLC                OR INTEGRA FUNDING SOLUTIONS, LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                      76116
BJORK, JOHN                           ADDRESS ON FILE
BJORNE, KATHLEEN                      ADDRESS ON FILE
BJQ TRANSPORTATION LLC                372 CHERRYWOOD RD TWIN FALLS ID 83301
BJQ TRANSPORTATION LLC                OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                      UT 84130
BJS 2 LLC                             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BJS EXPRESS TRANSPORT LLC             OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267


Epiq Corporate Restructuring, LLC                                                                  Page 213 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 222 of 2156

Claim Name                               Address Information
BJS LOGISTICS LLC                        OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
BK CARGO INC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BK CARRIER CORPORATION                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
BK DELIVERY EXPRESS INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BK EXPEDITED INC                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BK FIRE SUPPRESSION & SECURITY SYSTEMS   826 SUFFOLK AVE BRENTWOOD NY 11717
BK FIRE SUPPRESSION & SECURITY SYSTEMS   DIVISION OF EMDI LTD, 826 SUFFOLK AVE BRENTWOOD NY 11717
BK LOGISTICS LLC                         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BK TRANSPORT LLC                         OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
BK TRUCKING INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BK XPRESS CORP                           2645 ANTHONY CT EASTON PA 18045
BKD TRANSPORT INC                        OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
BKK TRUCKING                             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BKL TRUCKING LLC                         OR CRESTMARK TPG LLC, PO BOX 682348 DRAWER 2786 FRANKLIN TN 37068-2348
BKLF TRUCKING CORP                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BKM LOGISTICS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BKM TRUCKING LLC                         OR INTEGRATED LOGISTICS & ASSOCIATES, PO BOX 25189 FARMINGTON NY 14425-0189
BKS GROUP LLC                            OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320
BL ENTERPRISES, INC.                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BL FLEET SERVICES, INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BL GROUP                                 3 BELLEVILLE DRIVE BRAMPTON ON L6P 1V7 CANADA
BL LOGISTICS LLC                         8 NORTHBRIDGE CIRCLE EDWARDSVILLE IL 62025
BL QUALITY TRANS INCORPORATED            OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
BLACH DISTRIBUTING CO                    PO BOX 492050 REDDING CA 96049
BLACH DISTRIBUTING COMPANY               ATTN: PATRICK BLACH 131 MAIN STREET ELKO NV 89801
BLACH INVESTMENT GROUP                   ATTN: PATRICK BLACH 131 MAIN STREET ELKO NV 89801
BLACH INVESTMENT GROUP LLC               PO BOX 492050 REDDING CA 96049
BLACHUTA, TOVA                           ADDRESS ON FILE
BLACK & CHROME INC                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
BLACK & MCDONALD ELECTRIC, LLC           6001 E FRONT ST KANSAS CITY MO 64120
BLACK AND COMPANY                        ATTN: JOSEPH HENSON 802 N COUNTRY FAIR DR CHAMPAIGN IL 61826
BLACK ARROW TRANSFER LLC                 OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
BLACK ARROW TRANSPORT LTD                OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
BLACK ARROW TRANSPORT LTD                OR ONE RATE FUNDING CORPORATION, 2100 OLD CALAVERAS RD MILPITAS CA 95035
BLACK BARON TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLACK BIRD FIRE PROTECTION INC.          10282 TRASK AVE, SUITE D GARDEN GROVE CA 92843
BLACK BIRD TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BLACK BUTTE TOWING                       PO BOX 65 WEED CA 96094
BLACK COMMAS INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLACK DIAMOND CARRIER                    3390 WOLFEDALE ROAD MISSISSAUGA ON L5C 1W4 CANADA
BLACK DIAMOND STONEWORKS INC             ATTN: STACEY MORROW 1062 CALLE NEGOCIO SAN CLEMENTE CA 92673
BLACK DOG EXPRESS INC                    6216 S KILDARE AVE CHICAGO IL 60629
BLACK DOG TRANSPORT INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
BLACK DOG TRANSPORT LLC                  OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
BLACK DOG XPRESS INC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BLACK DYAMOND EXPRESS LLC                PO BOX 1132 HOLLAND MI 49422
BLACK EAGLE EXPRESS LLC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLACK EAGLE TRANSPORTATION INC           OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
BLACK EAGLE TRANSPORTATION INC           OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                     Page 214 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 223 of 2156

Claim Name                            Address Information
BLACK EQUIPMENT CO INC                1187 BURCH DR EVANSVILLE IN 47725
BLACK EQUIPMENT CO., INC.             5119 CHARTER OAK DR PADUCAH KY 42001
BLACK FALCON LOGISTICS LLC            OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLACK FOREST TRANSPORTATION LLC       OR SWORD GATE CAPITAL, LLC, PO BOX 21003 CHARLESTON SC 29413
BLACK FOX EXPRESS                     318 ANCHOR DR CARPENTERSVLE IL 60110-2812
BLACK GOLD IMPORT                     2106 7TH ST NISKU AB T9E 7Y2 CANADA
BLACK HAWK FREIGHT LLC                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
BLACK HAWK FREIGHT LLC                390 E WYANDOTTE SANDY UT 84070
BLACK HAWK INC                        OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
BLACK HAWK LOGISTICS LLC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BLACK HAWK XPRESS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLACK HILLS ENERGY                    PO BOX 6006 RAPID CITY SD 57709
BLACK HILLS WAREHOUSING &             14811 WHISTLER CT SUMMERSET SD 57769
TRANSPORTATION
BLACK HORSE CARTAGE                   PO BOX 2 FIFIELD WI 54524
BLACK HORSE EXPRESS INC (MC1330145)   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLACK HORSE FREIGHT INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLACK HORSE LOGISTICS LLC             11565 RESERVE WAY COLUMBIA STATION OH 44028
BLACK HORSE TRANSPORT INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BLACK JACK LLC                        OR INTERNET TRUCKSTOP PAYMENTS LLC, DBA TRUCKSTOP FACTORING, PO BOX 7410411
                                      CHICAGO IL 60674-0411
BLACK LABEL EXPRESS                   OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
BLACK LINK TRUCKING LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLACK LION EXPRESS LLC                OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
BLACK OX HAULING                      OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BLACK PANTHER LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BLACK PANTHER TRANSPORTATION INC      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BLACK PLUMBING SERVICES LLC           PO BOX 6347 ABILENE TX 79608
BLACK RHINO TRUCKING LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BLACK SCORPION TRANSPORT LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BLACK SEA EXPRESS LLC                 OR TREADSTONE US CAPITAL LLC, PO BOX 631627 CINCINNATI OH 45250
BLACK SEA TRANSPORTATION LLC          OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
BLACK SHEEP TRUCKING LLC              OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
BLACK STAR CO                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BLACK STAR FREIGHT INC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
BLACK STONE ENTERPRISE LLC            OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
BLACK TIP TRANSPORTATION INC          P.O BOX 1922 ANDERSON SC 29622
BLACK, ADRIAN                         ADDRESS ON FILE
BLACK, CALVIN                         ADDRESS ON FILE
BLACK, CALVIN                         ADDRESS ON FILE
BLACK, DAVY                           ADDRESS ON FILE
BLACK, DEREK                          ADDRESS ON FILE
BLACK, DEREK                          ADDRESS ON FILE
BLACK, DONALD                         ADDRESS ON FILE
BLACK, DOUGLAS                        ADDRESS ON FILE
BLACK, ERIKA R                        ADDRESS ON FILE
BLACK, JAMARQUIS                      ADDRESS ON FILE
BLACK, JASON                          ADDRESS ON FILE
BLACK, JEFFREY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 215 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 224 of 2156

Claim Name                          Address Information
BLACK, JUDSON                       ADDRESS ON FILE
BLACK, KENNETH                      ADDRESS ON FILE
BLACK, KYKARI                       ADDRESS ON FILE
BLACK, LISA                         ADDRESS ON FILE
BLACK, MICHAEL                      ADDRESS ON FILE
BLACK, ORIS                         ADDRESS ON FILE
BLACK, ROBERT                       ADDRESS ON FILE
BLACK, RODNEY                       ADDRESS ON FILE
BLACK, SCOTT                        ADDRESS ON FILE
BLACK, SHELDON                      ADDRESS ON FILE
BLACK, THOMAS                       ADDRESS ON FILE
BLACK, TOMMY                        ADDRESS ON FILE
BLACK, WALTER                       ADDRESS ON FILE
BLACK, WILLIAM                      ADDRESS ON FILE
BLACKBEAR ELECTRIC INC              2200 CHAMBERS ROAD, SUITE G AURORA CO 80011
BLACKBEAR ELECTRIC INC              5778 SOUTH DUQUESNE CT AURORA CO 80016
BLACKBURN, HERBERT                  ADDRESS ON FILE
BLACKBURN, MARC                     ADDRESS ON FILE
BLACKBURN, MAURICE                  ADDRESS ON FILE
BLACKBURN, RALPH                    ADDRESS ON FILE
BLACKBURN, ROBERT                   ADDRESS ON FILE
BLACKBURN, TREMEL                   ADDRESS ON FILE
BLACKBURNS CHIMNEY SWEEP SERVICE    ATTN: WILLIAM BLACKBURN 4644 KENNY ROAD COLUMBUS OH 43220
BLACKBURNS FABRICATION INC          2467 JACKSON PIKE COLUMBUS OH 43223
BLACKFISH ENTERPRISE                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLACKFOOT ASPHALT MAINTENANCE       PO BOX 16804 MISSOULA MT 59808
BLACKFOOT TELEPHONECO-OP            ATTN: ALICIA FELTON 1221 N RUSSELL STREET MISSOULA MT 59808-1805
BLACKHAWK EQUIPMENT COMPANY         5295 VIVIAN ST ARVADA CO 80002
BLACKHAWK EQUIPMENT COMPANY         6250 W 55TH AVE ARVADA CO 80002
BLACKHAWK TRANSPORT, INC.           3800 MILWAUKEE ROAD SUITE 100 BELOIT WI 53511
BLACKHORSE, LEONARD                 ADDRESS ON FILE
BLACKIES HEATING COOLING            1639 TILTON ROAD TILTON IL 61833
BLACKJESUS TRUCKING EXPRESS LLC     OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
BLACKMAN CHARTER TOWNSHIP           1990 W. PARNALL RD. JACKSON MI 49201
BLACKMAN CHARTER TOWNSHIP           1990 WEST PARNALL ROAD JACKSON MI 49201-8612
BLACKMAN, GEORGE                    ADDRESS ON FILE
BLACKMON, NICOLE                    ADDRESS ON FILE
BLACKMON, RONALD                    ADDRESS ON FILE
BLACKMON, STACY                     ADDRESS ON FILE
BLACKOUT AUTO TRANSPORT LLC         OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
BLACKRIDGE OPERATING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BLACKROCK TRANSPORTATION            10811 S 204TH AVE CIR SUITE 4 GRETNA NE 68028
BLACKS 84 DIESEL REPAIR & SERVICE   141 TWIN ROCKS RD LAKE ARIEL PA 18436
BLACKSHEAR, JEREMY                  ADDRESS ON FILE
BLACKSHEAR, KENDRAH                 ADDRESS ON FILE
BLACKSMITH FREIGHT                  OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
BLACKSON, JOHNNY                    ADDRESS ON FILE
BLACKSTRAP INDUSTRIES, INC.         C/O: LARRY R. DAVIDSON 121 SW MORRISON ST., SUITE 1020 PORTLAND OR 97204
BLACKSTRAP INDUSTRIES, INC.         ATTN: GENERAL COUNSEL 1305 SE ARMOUR RD SUITE 100 BEND OR 97702



Epiq Corporate Restructuring, LLC                                                                Page 216 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 225 of 2156

Claim Name                           Address Information
BLACKTOP AVALANCHE LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BLACKTOP TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLACKWATER GLOBAL LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLACKWATER INDUSTRIES COMPANY        19601 NE BOONES FERRY RD HUBBARD OR 97032
BLACKWELDER, KATHERINE               ADDRESS ON FILE
BLACKWELDER, WISDOM                  ADDRESS ON FILE
BLACKWELL, CHRISTOPHER               ADDRESS ON FILE
BLACKWELL, COREY                     ADDRESS ON FILE
BLACKWELL, DARRELL                   ADDRESS ON FILE
BLACKWELL, DARRELL M                 ADDRESS ON FILE
BLACKWELL, DAVID                     ADDRESS ON FILE
BLACKWELL, JAMES                     ADDRESS ON FILE
BLACKWELL, JOSHUA                    ADDRESS ON FILE
BLACKWELL, LEONARD                   ADDRESS ON FILE
BLACKWELL, MATTHEW                   ADDRESS ON FILE
BLACKWELL, MICHAIAH                  ADDRESS ON FILE
BLACKWELL, RICHARD                   ADDRESS ON FILE
BLACKWELL, STERLING                  ADDRESS ON FILE
BLACKWELL, TORREY                    ADDRESS ON FILE
BLACKWIND LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLACKWOLF, DANIELLE                  ADDRESS ON FILE
BLACKWOOD, NICOLE                    ADDRESS ON FILE
BLACKYWELL, BRUNO                    ADDRESS ON FILE
BLADE CARGO INC                      OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BLADE RUNNER TRANSPORT LLC           W25555 US HWY 10 ELEVA WI 54738
BLADE RUNNERS TRANSPORT GROUP, LLC   OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
BLADES AUTO                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BLADES, SCOTT                        ADDRESS ON FILE
BLAGOJEVICH, IVAN                    ADDRESS ON FILE
BLAHA, EVIANNA                       ADDRESS ON FILE
BLAIN, NATHAN                        ADDRESS ON FILE
BLAINE BROTHERS MAINTENANCE, INC.    10011 XYLITE ST NE MINNEAPOLIS MN 55449
BLAIR JR, JOHN                       ADDRESS ON FILE
BLAIR NATIONWIDE TRUCKING CO.        2103 VIDETO LANE, 0 JACKSON MI 49202
BLAIR, ANTONIO                       ADDRESS ON FILE
BLAIR, ANTONIO                       ADDRESS ON FILE
BLAIR, CURTIS                        ADDRESS ON FILE
BLAIR, FAWN                          ADDRESS ON FILE
BLAIR, GARY                          ADDRESS ON FILE
BLAIR, JAMES                         ADDRESS ON FILE
BLAIR, KAY                           ADDRESS ON FILE
BLAIR, KELLY                         ADDRESS ON FILE
BLAIR, KELLY                         ADDRESS ON FILE
BLAIR, MELVIN                        ADDRESS ON FILE
BLAIR, PAUL                          ADDRESS ON FILE
BLAIR, PAUL                          ADDRESS ON FILE
BLAIR, RAMON                         ADDRESS ON FILE
BLAIR, RICKY                         ADDRESS ON FILE
BLAIR, ROBERT                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 217 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 226 of 2156

Claim Name                           Address Information
BLAIR, ROBERT                        ADDRESS ON FILE
BLAIR, ROBERT                        ADDRESS ON FILE
BLAIR, RODRICK                       ADDRESS ON FILE
BLAIR, STEVEN                        ADDRESS ON FILE
BLAIR, TAYLOR                        ADDRESS ON FILE
BLAIR, TERESA                        ADDRESS ON FILE
BLAIR, THOMAS                        ADDRESS ON FILE
BLAIR, TIESHA                        ADDRESS ON FILE
BLAIR, TOMMY                         ADDRESS ON FILE
BLAIS, STEPHANIE                     ADDRESS ON FILE
BLAISDELL, ERIC                      ADDRESS ON FILE
BLAKE A BRADLEY                      ADDRESS ON FILE
BLAKE KEECH                          ADDRESS ON FILE
BLAKE L MISKOWIEC                    ADDRESS ON FILE
BLAKE LOGISTICS, LLC                 12185 CELESTE ROAD CHUNCHULA AL 36521
BLAKE SEARS, JONATHAN                ADDRESS ON FILE
BLAKE, CHARLES                       ADDRESS ON FILE
BLAKE, CYNTHIA                       ADDRESS ON FILE
BLAKE, DAVID                         ADDRESS ON FILE
BLAKE, GARY                          ADDRESS ON FILE
BLAKE, JONATHAN                      ADDRESS ON FILE
BLAKE, JOSEPH M                      ADDRESS ON FILE
BLAKE, JOSHUA                        ADDRESS ON FILE
BLAKE, JUANDAL                       ADDRESS ON FILE
BLAKE, JUANDAL M                     ADDRESS ON FILE
BLAKE, NICKOY                        ADDRESS ON FILE
BLAKE, QUINTIN                       ADDRESS ON FILE
BLAKE, TONY                          ADDRESS ON FILE
BLAKELY, MICHAEL                     ADDRESS ON FILE
BLAKELY, STEPHEN                     ADDRESS ON FILE
BLAKELY, TOD                         ADDRESS ON FILE
BLAKEMAN, WILLIAM                    ADDRESS ON FILE
BLAKEMORE, ANTONI                    ADDRESS ON FILE
BLAKENEY, DERRICK                    ADDRESS ON FILE
BLAKES TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BLAKESLEY, GORDON                    ADDRESS ON FILE
BLAKESLEY, RICKY                     ADDRESS ON FILE
BLAKEWAY TRANSPORT LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BLAKEY, JACOB                        ADDRESS ON FILE
BLAKEY, RALPH                        ADDRESS ON FILE
BLAKLEY, KELVIN                      ADDRESS ON FILE
BLAKNEY, JAMES                       ADDRESS ON FILE
BLALOCK, KIMBERLY                    ADDRESS ON FILE
BLALOCK, SCOTT                       ADDRESS ON FILE
BLAMAR TRUCKING, INC.                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BLAMOWSKI, ALYSSA                    ADDRESS ON FILE
BLANCET, GARY                        ADDRESS ON FILE
BLANCO BRO CORPORATION               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
BLANCO BROTHERS TRUCKING CORP        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 218 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 227 of 2156

Claim Name                          Address Information
BLANCO LL, LUIS                     ADDRESS ON FILE
BLANCO TRANSPORTS                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLANCO TRUCKING CORP                OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
BLANCO USA SERVICES LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLANCO, ELVIN                       ADDRESS ON FILE
BLANCO, JORGE                       ADDRESS ON FILE
BLANCO, NORMA                       ADDRESS ON FILE
BLANCO, REYNALDO                    ADDRESS ON FILE
BLANCO, STEVE                       ADDRESS ON FILE
BLAND DISTRICT COURT                PO BOX 157 BLAND VA 24315
BLAND, BRIAN                        ADDRESS ON FILE
BLAND, CALVIN                       ADDRESS ON FILE
BLAND, CLINTON W                    ADDRESS ON FILE
BLAND, DANARIUS                     ADDRESS ON FILE
BLAND, JEFFERY                      ADDRESS ON FILE
BLAND, JORION                       ADDRESS ON FILE
BLAND, KEITH A                      ADDRESS ON FILE
BLAND, KERMIT                       ADDRESS ON FILE
BLAND, MICHAEL                      ADDRESS ON FILE
BLAND, TERRY                        ADDRESS ON FILE
BLANDFORD, DERRILL                  ADDRESS ON FILE
BLANDING, LYMUS                     ADDRESS ON FILE
BLANDON CARGO EXPRESS LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLANDON, ARIES                      ADDRESS ON FILE
BLANDS HEAVY WRECKER SERVICE        2477 LAKECREST DRIVE BLOOMINGTON IN 47403
BLANDS WRECKER SERVICE              PO BOX 593 ELLETTSVILLE IN 47429
BLANE, MONTE                        ADDRESS ON FILE
BLANEY, NAVAUTNY                    ADDRESS ON FILE
BLANKE INDUSTRIES INCORPORATED      PO BOX 946 ESTERO FL 33929
BLANKENBECLER, NICHOLAS             ADDRESS ON FILE
BLANKENSHIP, JAMES                  ADDRESS ON FILE
BLANKENSHIP, LARRY                  ADDRESS ON FILE
BLANKENSHIP, MARK                   ADDRESS ON FILE
BLANKENSHIP, NEIL                   ADDRESS ON FILE
BLANKENSHIP-ENSING, MITCHELL        ADDRESS ON FILE
BLANKLEY, CLARENCE                  ADDRESS ON FILE
BLANQUEZ, EMMANUEL                  ADDRESS ON FILE
BLANSITT, JAMES                     ADDRESS ON FILE
BLANTON, CHARLES                    ADDRESS ON FILE
BLANTON, DOMONIQUE                  ADDRESS ON FILE
BLANTON, GAVIN                      ADDRESS ON FILE
BLANTON, JAMES                      ADDRESS ON FILE
BLANTON, JOHN                       ADDRESS ON FILE
BLANTON, JOHN                       ADDRESS ON FILE
BLANTON, JUSTIN                     ADDRESS ON FILE
BLANTON, LEONARD                    ADDRESS ON FILE
BLAQ BIRD LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLAS TRANSPORTATION LLC             OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
BLAS, ERIK                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 219 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 228 of 2156

Claim Name                             Address Information
BLAS, JONATHAN                         ADDRESS ON FILE
BLAS, REBECCA                          ADDRESS ON FILE
BLASCO, DION                           ADDRESS ON FILE
BLASCO, LAURA                          ADDRESS ON FILE
BLASIANS TRUCKING LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC, PO BOX 7410411 CHICAGO IL 60674-0411
BLASIUS, WILLIAM                       ADDRESS ON FILE
BLASTER CORPORATION                    ATTN: NANCY BEREMAN 8500 SWEET VALLEY DRIVE WESTLAKE OH 44145
BLATCHFORD, PAUL                       ADDRESS ON FILE
BLATT & MYERS, INC.                    DIVISION OF B.J. BALDWIN ELECTRIC INC., 357 W. MAIN AVE. PO BOX 345 MYERSTOWN
                                       PA 17067
BLATT & MYERS, INC.                    PO BOX 345 MYERSTOWN PA 17067
BLATT &TILLETT TRUCK &TRAILER REPAIR   10630 ALLENTOWN BLVD JONESTOWN PA 17038
LLC
BLATTENBERGER, DAVID                   ADDRESS ON FILE
BLAUERT, ROGER                         ADDRESS ON FILE
BLAUTH, PAT                            ADDRESS ON FILE
BLAVOR LOGISTICS INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLAVOR LOGISTICS INC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLAY, HSER                             ADDRESS ON FILE
BLAYLOCK, BRIAN                        ADDRESS ON FILE
BLAYLOCK, JAMES                        ADDRESS ON FILE
BLAYLOCK, JOHN                         ADDRESS ON FILE
BLAYLOCK, REGINAL                      ADDRESS ON FILE
BLAYLOCK, ROBERT                       ADDRESS ON FILE
BLAYLOCK, ROBERTA                      ADDRESS ON FILE
BLAYLOCK, TREVON                       ADDRESS ON FILE
BLAYLOCK, TREVOR                       ADDRESS ON FILE
BLAZE TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLAZEN, JOSEPH                         ADDRESS ON FILE
BLAZER ELECTRIC SUPPLY                 230 S SANTA FE AVE PUEBLO CO 81003
BLAZER ELECTRIC SUPPLY COMPA           ATTN: CORRINE MCCARTY 6125 OMAHA BLVD COLORADO SPRINGS CO 80915
BLAZER ELECTRIC SUPPLY COMPANY         ATTN: SEAN BRADBURY 6125 OMAHA BLVD COLORADO SPRINGS CO 80915
BLAZING KINGS FREIGHT LLC              OR NBS FACTORING, LLC, PO BOX 25 BELLE FOURCHE SD 57717
BLAZING STAR LOGISTICS LLC             OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
BLAZIS, JASON                          ADDRESS ON FILE
BLAZZER EXPRESS LLC                    OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BLB TRUCKING LLC                       PO BOX 55 ROCHESTER IN 46975
BLC TRANSPORT INC                      OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320-0399
BLEBS TRUCKING & HAULING               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLECKMAN, MARGARET                     ADDRESS ON FILE
BLEDSOE TRANSPORT                      32 MARIAH LN BATH SPRINGS TN 38311
BLEDSOE, ALAMESHA                      ADDRESS ON FILE
BLEDSOE, DAVID                         ADDRESS ON FILE
BLEDSOE, LESLIE                        ADDRESS ON FILE
BLEDSOE, MARK                          ADDRESS ON FILE
BLEDSOE, MICHAEL                       ADDRESS ON FILE
BLEDSOE, OTIS                          ADDRESS ON FILE
BLEDSOE, RUSSELL                       ADDRESS ON FILE
BLEEKER, DOUG                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 220 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 229 of 2156

Claim Name                           Address Information
BLEES, WILLIAM                       ADDRESS ON FILE
BLEILE, MELISSA                      ADDRESS ON FILE
BLEND BROOKSHER, BONNIE              ADDRESS ON FILE
BLENZ, RUTHIE                        ADDRESS ON FILE
BLESS ME TRUCKING LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BLESS TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLESS, GUSTAVO                       ADDRESS ON FILE
BLESSED DISPATCH & TRANSPORT LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BLESSED EXPRESS LLC                  OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
BLESSED K 7 EXPRESS INC              OR ASSIST FINANCIAL SERVICES, INC., PO BOX 347 MADISON SD 57042
BLESSED LOGISTICS INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLESSED TRANS LLC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLESSED TRANSPORT, INC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BLESSING LANDSCAPES                  7219 NE 47TH AVE PORTLAND OR 97218
BLESSING, DAVID                      ADDRESS ON FILE
BLEVENS FORD                         1136 US RT. 11 GOUVENER NY 13642
BLEVINS, DONALD                      ADDRESS ON FILE
BLEVINS, GARY                        ADDRESS ON FILE
BLEWETT, MIKE                        ADDRESS ON FILE
BLEYENBERG, VICTORIA                 ADDRESS ON FILE
BLF TRANSPORTATION, LLC              OR PHOENIX CAPITAL GROUP LLC, PO BOX 1415 DES MOINES IA 50305
BLG TRANSPORT                        9511 SPURWIG CT CHARLOTTE NC 28278
BLH TRUCKING INC                     OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BLILEY, ROGER                        ADDRESS ON FILE
BLIND SHOT INC                       2972 KLEIN ST APT 113A ALLENTOWN PA 18103
BLINDS ON WHEELS                     400 CRANBERRY LAKE JACKSON MI 49201
BLINK LOGISTICS INC                  OR ECPAITAL ORILLIA (CAN), 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4
                                     CANADA
BLINK LOGISTICS INC                  400-402 SILVER BERRY NW RD EDMONTON AB T6T0H1 CANADA
BLINK LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLISS CARRIERS LTD                   OR BVD CAPITAL CORPORATION, 8177 TORBRAM ROAD BRAMPTON AB L6T 5C5 CANADA
BLISS FREIGHT TRANSPORT INC          OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
BLISS INDUSTRIES C/O ECHO            ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
BLISS, BRANDON                       ADDRESS ON FILE
BLISS, EILEENA                       ADDRESS ON FILE
BLISS, TERRY MELLAS                  ADDRESS ON FILE
BLITCH WESTLEY S.C.                  7633 GANSER WAY SUITE 100 MADISON WI 53719
BLITZ CARGO LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BLITZ EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BLITZ, ROBERT                        ADDRESS ON FILE
BLIZZARD, JEFFREY                    ADDRESS ON FILE
BLK TRUCKING LLC                     964 TINKHAM RD WILBRAHAM MA 01095
BLM TRUCKING LLC (MC1094612)         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BLOCK DIESEL REPAIR INC.             3248 S TOWER DR JANESVILLE WI 53546
BLOCK ONE LOGISTICS LLC              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BLOCK PLUMBING AND HEATING           614 RICE LAKE ST OWATONNA MN 55060
BLOCK REAL ESTATE SERVICES INC       ATTN: BRITTNEY RINGHOUSE 8273 MELROSE DR LENEXA KS 66214
BLOCK, CURTIS                        ADDRESS ON FILE
BLOCK, DAMECA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 221 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 230 of 2156

Claim Name                            Address Information
BLOCK, DAVID                          ADDRESS ON FILE
BLOCK, KRIST                          ADDRESS ON FILE
BLOCK, ROBERT                         ADDRESS ON FILE
BLOCK, ROBERT                         ADDRESS ON FILE
BLOCKCHAIN HAUL LLC                   4825 W ERIE APT 2 MCALLEN TX 78501-7390
BLOCKS WORLD TRUCKING                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLODGETT, KANDICE                     ADDRESS ON FILE
BLOKK MOVEMENT TRUCKING, INC          OR INTEGRA FUNDING SOLUTIONS, LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                      76116
BLOMBERG, ERIK                        ADDRESS ON FILE
BLOMBERG, STEVE                       ADDRESS ON FILE
BLOMQUIST, BJORN C                    ADDRESS ON FILE
BLOMQUIST, BJORN C                    ADDRESS ON FILE
BLOOD GOOD TRANSPORTATION             OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
BLOOD LINE TRUCKING LLC               OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
BLOODWORTH, ALTON                     ADDRESS ON FILE
BLOODWORTH, GREGORY                   ADDRESS ON FILE
BLOODWORTH, MICHAEL                   ADDRESS ON FILE
BLOODWORTH, ROY                       ADDRESS ON FILE
BLOOM HEAVY DUTY TOWING SERVICES      PO BOX 165 REYNOLDSVILLE PA 15851
BLOOM SERVICES INC                    OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
BLOOM, KEVIN                          ADDRESS ON FILE
BLOOMBERG FINANCE L.P.                PO BOX 416604 BOSTON MA 02241
BLOOMBERG INDUSTRY GROUP INC          PO BOX 419889 BOSTON MA 02241
BLOOMBERG, DENNIS                     ADDRESS ON FILE
BLOOMFIELD, CRAIG                     ADDRESS ON FILE
BLOOMINGTON FREIGHT SERVICES LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLOOMINGTON LOCK & SAFE CO INC        D/B/A: BLOOMINGTON LOCK & SAFE COMPANY 9905 LYNDALE AVENUE SOUTH BLOOMINGTON
                                      MN 55420
BLOOMINGTON LOCK & SAFE COMPANY INC   9905 LYNDALE AVENUE SOUTH BLOOMINGTON MN 55420
BLOOMINGTON LOCK & SAFE COMPANY INC   ASSURED SECURITY, 9905 LYNDALE AVE S BLOOMINGTON MN 55420
BLOOMQUIST, LAWRENCE                  ADDRESS ON FILE
BLOOMS TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLOSS, RONALD                         ADDRESS ON FILE
BLOUNT, ARTHUR                        ADDRESS ON FILE
BLOUNT, ARTHUR                        ADDRESS ON FILE
BLOUNT, JORDAN                        ADDRESS ON FILE
BLOUNT, PAUL                          ADDRESS ON FILE
BLOUNT, WALTER                        ADDRESS ON FILE
BLOW, CORNELIUS                       ADDRESS ON FILE
BLP LOGISTICS LLC                     OR FLAT RATE FUNDING GROUP LLC, P.O. BOX 150581 OGDEN UT 84415
BLS TRANSPORTATION LTD                OR GRAND FINANCIAL MANAGEMENT, 8750 JANE ST, UNIT 16 VAUGHAN ON L4K 2M9 CANADA
BLT EXPRESS LLC                       18929 E 58TH AVE DENVER CO 80249
BLT TRANSPORT                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BLU DAZE TRANSPORT INC                OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BLU JAY SOLUTIONS CO.                 915 E 32ND ST STE B HOLLAND MI 49423
BLU SITE SOLUTIONS OF ATLANTA, INC.   D/B/A: TOI TOI USA LLC 257 CASTLEBERRY INDUSTRIAL DRIVE CUMMING GA 30040
BLU SITE SOLUTIONS OF ATLANTA, INC.   D/B/A: TOI TOI USA LLC 2310 PENDLEY RD. CUMMING GA 30041
BLU SITE SOLUTIONS OF ATLANTA, INC.   D/B/A: TOI TOI USA LLC DEPT 5947, PO BOX 11407 BIRMINGHAM AL 35246



Epiq Corporate Restructuring, LLC                                                                 Page 222 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 231 of 2156

Claim Name                           Address Information
BLUE ANCHOR TRANSPORT LLC            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLUE BIRD TRANSPORTATION LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BLUE BIRDS AVI LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLUE BLOOD TRUCKING INC              OR FINANCIAL CARRIER SERVICES , PO BOX 151052 OGDEN UT 84415
BLUE BRIDGE TRANSPORT LLC            OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
BLUE CHIP GROUP INC                  1911 S 3850 W SALT LAKE CITY UT 84104
BLUE COLLAR EXPRESS                  PO BOX 1149 PARIS IL 61944
BLUE CRANE LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
BLUE CROSS AND BLUE SHIELD ILL       300 E RANDOLPH ST CHICAGO IL 60601
BLUE DIAMOND EXPRESS LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLUE DIAMOND TOWING INC              10740 E 40TH AVE DENVER CO 80239
BLUE DIAMOND TRANSPORTATION LLC      PO BOX 1798 PRESQUE ISLE ME 04769
BLUE DOTS LLC                        637 N VICTORIA DR PALATINE IL 60074
BLUE EAGLE CARRIER INC               5910 TANGERINE AVE SACRAMENTO CA 95823
BLUE EAGLE TRANSPORT LLC             7255 WINBERLY RICHMOND TX 77407
BLUE EAGLE TRUCKING INC              OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
BLUE EXPRESS CORP                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BLUE EYE EXPRESS LLC                 OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
BLUE FEATHERS TRUCKING CORP          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BLUE FREIGHT TRANSPORT INC           1510 S BON VIEW AVENUE ONTARIO CA 91761
BLUE GIANT EQUIPMENT                 410 ADMIRAL BLVD MISSISSAUGA ON L5T 2N6 CANADA
BLUE GIANT EQUIPMENT CORP            ATTN: ANABELA OLIVEIRA LOGISTICS 410 ADMIRAL BLVD MISSISSAUGA ON L5T 2N6
                                     CANADA
BLUE GIANT EQUIPMENT CORP            ATTN: SANDY BENEVIDES LOGISTICS 410 ADMIRAL BLVD MISSISSAUGA ON L5T 2N6 CANADA
BLUE GLOBE TRANSPORTATION LLC        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BLUE GRACE                           2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUE GRANITE FREIGHT LLC             125 MARSHALL ST GRANITEVILLE SC 29829
BLUE GRAY 24 HOUR HEAVY DUTY         TOWING & ROAD SERVICE 351 E ANTIETAM ST HAGERSTOWN MD 21740
BLUE HORSE CARRIERS INC              173 BRICK KILN RD WINCHESTER VA 22601
BLUE HORSE EXPRESS LLC               184 MASSILLON RD AKRON OH 44312
BLUE HORSE TRANS INC                 OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
BLUE HORSE TRUCKING INC              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLUE ICE LOGISTICS                   OR A NATIONAL SOLUTIONS INC., PO BOX 733493 DALLAS TX 75373
BLUE JAY EXPRESS LLC                 3599 CORNISH ST PERRIS CA 92571
BLUE LAKE EXPRESS INC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                     76116
BLUE LEASING CORPORATION, INC.       OR TAB BANK, PO BOX 150290 OGDEN UT 84415-0290
BLUE LIGHT TRUCKING LLC              1040 MURFREESBORO PIKE STE 216 NASHVILLE TN 37217
BLUE LINE CARRIER, LLC               OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
BLUE LINE FREIGHT LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BLUE LINE TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLUE LINE TRUCKING LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BLUE LINE TRUCKING LLC (MC1010883)   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BLUE MOON CARRIERS INC               OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
BLUE MOON LOGISTICS LLC              OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
BLUE MOON TRUCKING LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLUE NILE ENTERPRISE LLC             OR INTEGRA FUNDING SOLUTIONS LLC, 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                     76116
BLUE OAK TRANSPORT LTD               9 WINER ROAD, XX PUSLINCH ON N0B2J0 CANADA
BLUE OCEAN TRANSIT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576


Epiq Corporate Restructuring, LLC                                                                Page 223 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 232 of 2156

Claim Name                              Address Information
BLUE OCEAN TRANSPORT LTD                OR ECAPITAL ORILLIA (CAN), 174 WEST ST SOUTH 2ND FLOOR ORILLIA BC L3V 6L4
                                        CANADA
BLUE OCEANS EXPRESS CORP                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLUE ORCA EXPRESS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BLUE PANORAMA CORP                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLUE PANTHER LOGISTICS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLUE PEARL TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL , PO BOX 610028 DALLAS TX 75261-0028
BLUE PENGUIN FREIGHT LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BLUE PIT TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLUE RIDGE MOUNTAIN WATER               PO BOX 211329 MONTGOMERY AL 36121
BLUE RIDGE TRUCK SERVICE, LLC           726 CEDAR LANE CANA VA 24317
BLUE RIVER FLEET TRUCK & TRAILER        PO BOX 374 SHELBYVILLE IN 46176
SERVICE
BLUE ROCK REFINISHING SOLUTIONS         ATTN: CHRIS MOLITOR 2974 CLEVELAND AVE N ROSEVILLE MN 55113
BLUE SKY CARRIER LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BLUE SKY FREIGHT CARRIER LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BLUE SKY FREIGHT CARRIER LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BLUE SKY HEAVEN TRANSPORTATION LLC      9610 BRIERWYCK DR DALLAS TX 75217-8285
BLUE SKY LOGISTICS INC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BLUE SKY XPRESS LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
BLUE SOUTH TRUCKING CORP                OR FREIGHT FACTORING SPECIALISTS LLC, DEPT 259 PO BOX 1000 MEMPHIS TN 38148
BLUE STAR EXPRESS INC (MC991933)        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BLUE STAR NATIONAL TRANSPORTATION LLC   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BLUE STAR ONE TRUCKING LLC              6935 CORKWOOD KNOLL HAMILTON OH 45011
BLUE STAR SERVICES LLC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BLUE STAR TRANSPORT, LLC                OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
BLUE STAR TRANSPORT, LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BLUE STAR TRANSPORTATION LLC            PO BOX 860522 SHAWNEE KS 66286
BLUE STAR TRANSPORTATION LLC            INTERNET TRUCKSTOP PAYMENTS, LLC , PO BOX 7410411 CHICAGO IL 60674-0411
(MC1422073)
BLUE STONE EXPRESS                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BLUE STREAK COURIERS                    PO BOX 551261 JACKSONVILLE FL 32255
BLUE STREAK LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BLUE TARP FINANCIAL, INC.               PO BOX 105525 ATLANTA GA 30348
BLUE TRANSPORT                          OR RIVIERA FINANCE OF TEXAS, PO BOX 202487 DALLAS TX 75320-2487
BLUE TRUCK LINE LLC                     12 MOUNTAIN VIEW ROAD PHILLIPSBURG NJ 08865
BLUE TRUCK MOVING                       PO BOX 17373 LITTLE ROCK AR 72222
BLUE WAGON TRANSPORT INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BLUE WATER SPA COVERS                   ATTN: RICKY SOTO 2591 CLARK ST STE 208 APOPKA FL 32703
BLUE WATER TRANSPORT LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BLUE WAVE LOGISTICS                     OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
BLUE WAY LOGISTICS INC.                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLUE WELL LOGISTICS LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BLUE YELLOW LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BLUE, DJUAN                             ADDRESS ON FILE
BLUE, ERICK                             ADDRESS ON FILE
BLUE, HENRY                             ADDRESS ON FILE
BLUE, LISA                              ADDRESS ON FILE
BLUE, STEVEN                            ADDRESS ON FILE
BLUE1 ENERGY EQUIPMENT                  3040 WHITE HORSE RD GREENVILLE SC 29611


Epiq Corporate Restructuring, LLC                                                                    Page 224 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 233 of 2156

Claim Name                           Address Information
BLUEBIRD EXPRESS INC                 OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
BLUEBIRD FREIGHT LINES INC.          OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
BLUEBIRD REAL ESTATE HOLDINGS LLC    201 NORTH MINNESOTA AVE SUITE 101 SIOUX FALLS SD 57104
BLUEBIRD REAL ESTATE HOLDINGS, LLC   ATTN: CHRIS DUNHAM 201 NORTH MINNESOTA AVENUE SUITE 101 SIOUX FALLS SD 57104
BLUEBONNET FEEDS                     ATTN: ASHER BRANECKY 200 MILL ST SE ARDMORE OK 73401
BLUEFIN LOGISTICS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLUEFOX FREIGHT EXPRESS LLC          OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BLUEFROG PLUMBING DRAIN              PO BOX 4367 WALLINGFORD CT 06492
BLUEGRACE LOGISTICS                  ATTN: DENNIS WIDDOWS 2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUEGRACE LOGISTICS                  ATTN: GWENDOLYN ADAMS 2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUEGRACE LOGISTICS                  ATTN: JUAN FLORES 2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUEGRACE LOGISTICS                  ATTN: PHILLIP LAMB 2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUEGRACE LOGISTICS                  ATTN: ROBERT EHRLICH 2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUEGRACE LOGISTICS                  BLUEGRACE LOGISTICS 2846 S FALKENBURG RD RIVERVIEW FL 33578
BLUEGRACE MKE                        ATTN: KATIE KENT 11122 WEST ROGER STREET MILWAUKEE WI 53227
BLUEGRASS BUSINESS HEALTH            1002 LEXINGTON RD STE 21 GEORGETOWN KY 40324
BLUEGRASS BUTCHER BLOCK LLC          ATTN: JOHN TAYLOR 1457 CAPP HARLAN RD TOMPKINSVILLE KY 42167
BLUEGRASS DEDICATED LLC              PO BOX 956 BOWLING GREEN KY 42102
BLUEGRASS SOLUTIONS LLC              OR CORPORATE BILLING, LLC, DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
BLUEGRASS TRANSPORT & EXPEDITORS     PO BOX 693 HENDERSON KY 42419
BLUEHAWKS LLC                        1535 TRAVIS CT YUBA CITY CA 95993
BLUEJAYS LOGISTICS INC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BLUEJAYS LOGISTICS INC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BLUELINE FREIGHT INC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
BLUELINE TRANSPORTATION LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BLUELINES EXPRESS INC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLUELINX                             ATTN: WILLIAM HENSON 1660 E AURORA AVE DES MOINES IA 50313
BLUEMOON CARRIER LLC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BLUEPRINT ENTERPRISES LLC            OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BLUEPRINT LOGISTICS LLC              101 PALMETTO SPRINGS DR COLUMBIA SC 29229-8204
BLUEROSE TRUCKING LLC                7923 RAMBLER PL CINCINNATI OH 45231
BLUES ARROW INC                      OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
BLUES HOG LLC                        ATTN: HAYLE MACHELETT 335 WW INDUSTRIAL PARK DR WASHINGTON MO 63090
BLUESTAR SERVICES LLC                PO BOX 72847 ROSELLE IL 60172
BLUESTREAK TRANSPORT LLC             2980 LYNN DR WHITE LAKE MI 48386
BLUEWATER PLUMBING SERVICE           6740 NETHERLANDS DR, A WILMINGTON NC 28405
BLUFF CITY ELECTRONICS               3339 FONTAINE RD MEMPHIS TN 38116
BLUGO TRANSPORTATION LLP             OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
BLUJAY SOLUTIONS INC                 P.O. BOX 712467 PHILADELPHIA PA 19171
BLUJAY TRANSPORTATION LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BLUME GLOBAL, INC.                   250 ROYALL ST STE 1 CANTON MA 02021
BLUMENTHAL, MICHAEL                  ADDRESS ON FILE
BLUMHARDT, DENNIS J                  ADDRESS ON FILE
BLUNDELL, ROBERT A                   ADDRESS ON FILE
BLUTIC TRUCKING LLC                  OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
BLV TRANSPORT LLC                    19977 CHESTERBROOK DR MACOMB MI 48044-5930
BLY, JOHN                            ADDRESS ON FILE
BLYSTONE TOWING & RADIATOR INC       1201 W STATE HWY 33 PORTAGE WI 53901



Epiq Corporate Restructuring, LLC                                                                 Page 225 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 234 of 2156

Claim Name                           Address Information
BLYSTONE TOWING & RADIATOR INC       W 1201 W STATE HIGHWAY 33 PORTAGE WI 53901
BLYSTONE, MICHAEL                    ADDRESS ON FILE
BLYSTONE, RICKY L                    ADDRESS ON FILE
BLYTHE CHAVARRIA                     ADDRESS ON FILE
BM & T TRUCKING                      OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
BM FREIGHT INC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BM GROUP INC.                        ATTN: GENERAL COUNSEL 1800 W LOOP SOUTH STE 1740 HOUSTON TX 77027
BM RUB TRANSPORT INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BM TRANSPORT                         7902 GERBER RD 239 SACRAMENTO CA 95828
BM TRUCKING                          OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
BM TRUCKING CORP                     3792 SUBURBAN LANE NORTH PORT FL 34287
BM2 FREIGHT SERVICES INC             50 E. RIVERCENTER BLVD, SUITE 525 COVINGTON KY 41011
BMB 2 TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BMB TRANS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BMB TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BMC TRANSPORT INC                    OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
BME LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BME, INC.                            1760 LAKELAND PARK DR BURLINGTON KY 41005
BMF SOLUTIONS LLP                    PO BOX 2116 CYPRESS TX 77410
BMG TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BMH FREIGHT INC                      1157 KNOLLWOOD DR CAROL STREAM IL 60188
BMH LLC                              1242 COMSTOCK ST STE A MARNE MI 49435
BMH TRANSPORTATION LLC               1440 WEST KEMPER ROAD APT 1310 CINCINNATI OH 45240-4149
BMI                                  PO BOX 630893 CINCINNATI OH 45263
BMI USA                              ATTN: KATIA BISSONNETTE WAREHOUSE 4750 LAKE FOREST DR BLUE ASH OH 45242
BMJ TRANS INC                        25631 LEWIS WAY STEVENSON RNH CA 91381-1440
BMM TRUCKING INC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BMO NESBITT BURNS /CDS (5043)        ATT PHUTHORN PENIKETT 250 YONGE ST., 14TH FL TORONTO ON M5B 2M8 CANADA
BMO TRANSPORTATION LLC               OR INSIGHT TECHNOLOGY, INC PO BOX 200399 DALLAS TX 75320-0399
BMO TRANSPORTATION LLC (MC1255825)   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BMR HAULING LLC                      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BMS INC                              151 RIVERSIDE DRIVE FULTONVILLE NY 12072
BMS TRANSPORT LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BMS TRANSPORTATION COMPANY, INC.     PO BOX 2326 PLATTE CITY MO 64079
BMS TRUCKING LLC (MILWAUKEE WI)      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BMT                                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BMT TRANSPORT LLC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BMW TRANSPORTATION INC               OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
BMW TRUCKING, LLC                    OR ASSIST FINANCIAL SERVICES, INC., PO BOX 347 MADISON SD 57042
BMX TRANSPORT LLC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BMX TRANSPORT LLC                    OR TAB BANK, PO BOX 150290 OGDEN UT 84415
BN EXPRESS LLC                       4360 NORTHPOINT CIR ST LOUIS MO 63129
BN SOLUTION LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BN TRANS LLC                         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BN TRANSPORTATION INC                4412 ROSEWOOD LANE SACHSE TX 75048
BN TRUX INC                          PO BOX 660 FERNDALE WA 98248
BNA LOGISTICS LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BNB REPAIRS LLC                      10548 MAIN ST CLARENCE NY 14031
BNBB TRUCKING INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                 Page 226 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 235 of 2156

Claim Name                           Address Information
BND TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BNF PAINTING                         1111 META DRIVE CINCINNATI OH 45237
BNG CARGO INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BNG MI                               ATTN: HEATHER MILLER 1280 INDUSTRIAL PARK DR VANDALIA OH 45377
BNJ LOGISTIC LLC                     301 N PINE STREET GARDNER KS 66030
BNJ LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BNJ TRUCKING LLC                     OR TRANSAM FINANCIAL SERVICES,INC PO BOX 872632 KANSAS CITY MO 64187
BNM HOTSHOT LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BNM TRANSPORTATION SERVICES LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BNN TRANSPORT LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BNN TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BNNS TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BNP PARIBAS, NY BRANCH (2147)        ATT PROXY DEPT 525 WASHINGTON BLVD 9TH FL JERSEY CITY NJ 07310
BNP/CUST (2787)                      ATT PROXY DEPT 525 WASHINGTON BLVD 9TH FL JERSEY CITY NJ 07310
BNR TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BNS TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BNSDA INC                            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BNSF                                 2650 LOU MENK DR FORT WORTH TX 76131
BNSF                                 ATTN: GENERAL COUNSEL 2650 LOU MENK DR FORT WORTH TX 76131
BNSF                                 2650 LOU MENK DR FORT WORTH TX 76131-2830
BNSF                                 3600 GILMAN AVE W SEATTLE WA 98199
BNSF - TRL 134127                    3600 GILMAN AVE W SEATTLE WA 98199
BNSF CONTAINER 451220                3600 GILMAN AVE W SEATTLE WA 98199
BNSF LOGISTICS                       PO BOX 173 VERSAILLES OH 45380
BNSF LOGISTICS                       2710 S.48TH ST SPRINGDALE AR 72762
BNSF LOGISTICS                       ATTN: CARMEN SANTERAMO 2710 S 48TH ST SPRINGDALE AR 72762
BNSF RAILROAD                        11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
BNSF RAILROAD                        3600 GILMAN AVE W SEATTLE WA 98199
BNSF RAILROAD DE-RAILMENT            2710 S 48TH ST SPRINGDALE AR 72762
BNSF RAILROAD, TRL 128916            3600 GILMAN AVE W SEATTLE WA 98199
BNSF RAILWAY                         7600 SANTA FE DR. HODGKINS IL 60525
BNSF RAILWAY                         3600 GILMAN AVE W SEATTLE WA 98199
BNSF RAILWAY CO.                     3930 NE YEON AVE. PORTLAND OR 97210
BNSF RAILWAY COMPANY                 176 E FIFTH ST SAINT PAUL MN 55101
BNSF RAILWAY COMPANY                 C/O JONES LANG LASALLE; TERRI BERKLEY PO BOX 676190 DALLAS TX 75267
BNSF RAILWAY COMPANY                 PO BOX 676160 DALLAS TX 75267
BNSF RAILWAY COMPANY                 KATIE FARMER, PRESIDENT & CEO 2650 LOU MENK DR FORT WORTH TX 76131
BNSF RR-TRL 133984                   2710 S 48TH ST SPRINGDALE AR 72762
BNSF WILLOW SPRINGS                  7600 SANTA FE DRIVE HODGKINS IL 60525
BNSF, 450475                         11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
BNSF, BNSF                           11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
BNT TRANSPORT LLC                    17135 MISTY LAKE DR STRONGSVILLE OH 44136
BNT TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
BNT TRANSPORT LLC                    OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320
BNX                                  1414 LIOTARD CT MANTECA CA 95337
BNX LLC                              OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
BNY / MID CAP SPDRS (2209)           ATT EVENT CREATION 500 GRANT ST ROOM 151-1700 PITTSBURGH PA 15258
BNY/WEALTH (8275)                    ATT EVENT CREATION 500 GRANT ST ROOM 151-1700 PITTSBURGH PA 15258
BNY/WINSEC (8318)                    ATT EVENT CREATION 500 GRANT ST ROOM 151-1700 PITTSBURGH PA 15258



Epiq Corporate Restructuring, LLC                                                                 Page 227 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 236 of 2156

Claim Name                             Address Information
BO & MR TRANSPORTATION INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BO TRANSPORTS                          6063 SOUTHCREST WAY ST LOUIS MO 63129
BOA                                    6041 BRISTOL PKWY STE 100 CULVER CITY CA 90230
BOA/GWIM TST OPER (0955)               ATT CORPORATE ACTIONS MANAGER 901 MAIN ST 12TH FL DALLAS TX 75202
BOAK, DOUGLAS                          ADDRESS ON FILE
BOARDMAN, DOUGLAS                      ADDRESS ON FILE
BOARDMAN, JOHN                         ADDRESS ON FILE
BOARDMAN, MICHAEL                      ADDRESS ON FILE
BOARDS AND MORE INC                    1 NORTHSHORE DR WHITE SALMON WA 98672
BOARTS, DAVID                          ADDRESS ON FILE
BOATENG, GEORGE                        ADDRESS ON FILE
BOATFIELD, RODNEY                      ADDRESS ON FILE
BOATMAN, SAM                           ADDRESS ON FILE
BOATRIGHT, GREGORY                     ADDRESS ON FILE
BOATRIGHT, MARY                        ADDRESS ON FILE
BOATS AND HARBORS                      175 4TH ST. CROSSVILLE TN 38555
BOATWRIGHT, JENNIFER                   ADDRESS ON FILE
BOB & HARRYS GARAGE, INC.              10245 TOEBBEN DR INDEPENDENCE KY 41051
BOB & HARRYS GARAGE, INC.              9842 DUFF COURT CINCINNATI OH 45246
BOB & RONS REPAIR SERVICE INC          4325 E REAS BRIDGE RD DECATUR IL 62521
BOB BEDNAREK                           ADDRESS ON FILE
BOB CRABLE                             ADDRESS ON FILE
BOB GARNER GARAGE                      7300 S HIGHWAY 137 MIAMI OK 74354
BOB GILL TRUCKING INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BOB HOPE FREIGHT INC.                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
BOB JENSON A/C AND HEATING INC.        1347 BROADWAY CREST CA 92021
BOB ROCK LLC                           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BOB TERRELL                            ADDRESS ON FILE
BOB WARD & SONS                        3015 PAXSON ST MISSOULA MT 59801
BOB'S MOBILE TRUCK & TRAILER SERVICE   4-910 DILLINGHAM RD PICKERING ON L1W 1Z6 CANADA
LTD
BOBADILLA, MARK                        ADDRESS ON FILE
BOBADILLA, PHILIP                      ADDRESS ON FILE
BOBAK, STANISLAW                       ADDRESS ON FILE
BOBAK, THOMAS                          ADDRESS ON FILE
BOBBIE D NIELSEN                       ADDRESS ON FILE
BOBBITT, DWIGHT D                      ADDRESS ON FILE
BOBBY D JOHNSON SR                     ADDRESS ON FILE
BOBBY L GREENE PLUMBING & HEATING CO   2630 MIDWAY AVE SHREVEPORT LA 71108
INC
BOBBY S CARR                           ADDRESS ON FILE
BOBBY STRICKLAND                       ADDRESS ON FILE
BOBBY TRANSPORTS INC                   OR INSIGHT TECHNOLOGY, INC, PO BOX 200399 DALLAS TX 75320-0399
BOBBY WILDER                           ADDRESS ON FILE
BOBBY YARDS TRUCKING LLC               PO BOX 852 W HEMPSTEAD NY 11552
BOBCAT OF CALGARY                      4403 112 AVE SE CALGARY AB T2C 5C5 CANADA
BOBCAT OF CONTRA COSTA                 2035 E LELAND RD PITTSBURG CA 94565
BOBCAT OF LAFAYETTE                    2616 S BECK LN LAFAYETTE IN 47909
BOBCAT OF MARBLE FALLS                 ATTN: JONATHAN RAMIREZ 3413 N US HWY 281 MARBLE FALLS TX 78654



Epiq Corporate Restructuring, LLC                                                                  Page 228 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 237 of 2156

Claim Name                             Address Information
BOBCAT OF NEW CASTLE                   ATTN: JEN PELAEZ 1872 PULASKI HWY BEAR DE 19701
BOBCAT OF NORTHERN VIRGINIA            ATTN: JEFF POLING 13125 ARTO ST BRISTOW VA 20136
BOBCAT OF THE PEMBINA VA               ATTN: JASON HOLGATE 25019 PTH 3 STANLEY MB R6P 0H1 CANADA
BOBCAT OF THE ROCKIES                  ATTN: ANDREW KRAMER 10397 HAVANA ST HENDERSON CO 80640
BOBCAT OF TIDEWATER                    644 S MILITARY HWY VIRGINIA BEACH VA 23464
BOBCAT OF WORCESTER                    6 WESTEC DR AUBURN MA 01501
BOBCHAK, RICHARD                       ADDRESS ON FILE
BOBER, ROBERT                          ADDRESS ON FILE
BOBINSKI, PHILIP P                     ADDRESS ON FILE
BOBKOWSKI, DAVID                       ADDRESS ON FILE
BOBLASKY, MICHAEL                      ADDRESS ON FILE
BOBLITT, ROBERT E                      ADDRESS ON FILE
BOBLITT, ROBERT E                      ADDRESS ON FILE
BOBO TRANSPORTATION INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BOBO, HOWARD                           ADDRESS ON FILE
BOBRICK WASHROOM EQP                   EQUIPMENT INC, PO BOX 513172 LOS ANGELES CA 90051
BOBRICK WASHROOM EQUIMENT INC          PO BOX 513172 LOS ANGELES CA 90051
BOBRICK WASHROOM EQUIP INC             11444 HART ST NORTH HOLLYWOOD CA 91605
BOBRICK WASHROOM EQUIP INC             6901 TUJUNGA NORTH HOLLYWOOD CA 91605
BOBRICK WASHROOM EQUIPMENT             6901 TUJUNGA AVE NORTH HOLLYWOOD CA 91605
BOBRICK WASHROOM EQUIPMENT, INC        P.O. BOX 513172 LOS ANGELES CA 90051-1172
BOBRICK WASHROOM PARTITIONS            6901 TUJUNGA NORTH HOLLYWOOD CA 91605
BOBS ELECTRIC                          PO BOX 24, 406 PLUMER STREET WAUSAU WI 54402
BOBS MOBILE TRUCK & TRAILER SHOP LTD   910 DILLINGHAM RD SUITE 4 PICKERING ON L1W 1Z6 CANADA
BOBS S W CONSTRUCTION SERVICES         1135 114TH LN NW COON RAPIDS MN 55448
BOBS TRANSPORT SERVICE LLC             OR TAB BANK, PO BOX 150290 OGDEN UT 84415-0290
BOBTAIL EXPRESS                        15015 GARRETT ROAD 6 HOUSTON TX 77044
BOC OIL CO INC                         PO BOX 41247 NORTH CHARLESTON SC 29423
BOCA AVIATION                          14600 NW 42ND AVE OPA LOCKA FL 33054
BOCA FREIGHT INC                       OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
BOCCE COURTS OF AMERICA                6263 N SCOTTSDALE RD SCOTTSDALE AZ 85250
BOCCE COURTS OF AMERICA                PO BOX 28727 SCOTTSDALE AZ 85255
BOCCHI LABORATORIES                    9200 SMITHS MILL RD N NEW ALBANY 43054-6703
BOCH OSCAL, SANTOS                     ADDRESS ON FILE
BOCH OSCAL, SANTOS                     ADDRESS ON FILE
BOCK & CLARK CORPORATION               3550 W MARKET ST STE 200 AKRON OH 44333
BOCK, RICHARD                          ADDRESS ON FILE
BOCKARIE, BRIMA                        ADDRESS ON FILE
BOCKOVEN, ANTHONY                      ADDRESS ON FILE
BODDIE, ANTHONY L                      ADDRESS ON FILE
BODDIE, DEDRICK                        ADDRESS ON FILE
BODDIE, JUSTIN                         ADDRESS ON FILE
BODDIE, TRACY                          ADDRESS ON FILE
BODE EXPRESS INC                       2934 E SOMERS AVE CUDAHY WI 53110
BODENHAMER, DAVID                      ADDRESS ON FILE
BODENSCHATZ, DENTON                    ADDRESS ON FILE
BODEWIG, CHRISTOPHER                   ADDRESS ON FILE
BODEY, JERROD                          ADDRESS ON FILE
BODILY, BART                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 229 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 238 of 2156

Claim Name                         Address Information
BODINE, SCOTT                      ADDRESS ON FILE
BODKIN, CHERYL                     ADDRESS ON FILE
BODKIN, JOHN                       ADDRESS ON FILE
BODNAR, JEFFREY                    ADDRESS ON FILE
BOEDO, RUSSELL R                   ADDRESS ON FILE
BOEHM, ROBERT                      ADDRESS ON FILE
BOEHMER, MARK                      ADDRESS ON FILE
BOEKHOUT TRANSPORT LLC             OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BOENS, GREGORY                     ADDRESS ON FILE
BOESE, PETER                       ADDRESS ON FILE
BOETKER, JESSICA                   ADDRESS ON FILE
BOETTCHER, ANNA                    ADDRESS ON FILE
BOFA SECS (0161)                   ATT EARL WEEKS OR PROXY DEPT C/O MERRILL LYNCH CORP ACTIONS 4804 DEER LAKE DR.
                                   E. JACKSONVILLE FL 32246
BOFA SECS (5143)                   ATT EARL WEEKS OR PROXY DEPT C/O MERRILL LYNCH CORP ACTIONS 4804 DEER LAKE DR.
                                   E. JACKSONVILLE FL 32246
BOFA SECS (5198)                   ATT EARL WEEKS OR PROXY DEPT C/O MERRILL LYNCH CORP ACTIONS 4804 DEER LAKE DR.
                                   E. JACKSONVILLE FL 32246
BOFFE TRUCKING LLC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BOFI FEDERAL BANK                  6975 UNION PARK CENTER, STE 200 COTTONWOOD HEIGHTS UT 84047
BOFREXTON LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BOGAN, JABIN                       ADDRESS ON FILE
BOGAN, JUSTIN                      ADDRESS ON FILE
BOGAN, KEON                        ADDRESS ON FILE
BOGAN, MARK                        ADDRESS ON FILE
BOGARIN, MAYRA                     ADDRESS ON FILE
BOGART, ROBERT                     ADDRESS ON FILE
BOGDAN, AARON                      ADDRESS ON FILE
BOGDAN, RYAN                       ADDRESS ON FILE
BOGG EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BOGGESS, JAMES                     ADDRESS ON FILE
BOGGS PEST CONTROL INC             1611 BRIGMAN AVE JEFFERSONVILLE IN 47130
BOGGS, JEFFREY                     ADDRESS ON FILE
BOGGS, ZACHARY                     ADDRESS ON FILE
BOGGUS, GARY                       ADDRESS ON FILE
BOGLE, MARK A                      ADDRESS ON FILE
BOGNER, LLOYD                      ADDRESS ON FILE
BOGO TRAVEL INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BOGOVICH, JAMES                    ADDRESS ON FILE
BOGOVICH, JAMES D                  ADDRESS ON FILE
BOGUARD LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BOGUS, RICHARD                     ADDRESS ON FILE
BOGUSZ, BLAKE                      ADDRESS ON FILE
BOHANNON, CADE                     ADDRESS ON FILE
BOHANNON, STANLEY                  ADDRESS ON FILE
BOHATY TRUCKING LLC                916 EAST TOWNLINE ROAD SOUTH CORNELL WI 54732
BOHEMIAN CARRIERS                  OR YANKTON FACTORING, PO BOX 217 YANKTON SD 57078
BOHICKET FREIGHTLINES LLC          J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
BOHLS, MARYELLEN                   ADDRESS ON FILE
BOHNER, MICHAEL                    ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                              Page 230 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 239 of 2156

Claim Name                          Address Information
BOHORQUEZ, CHRISTIAN                ADDRESS ON FILE
BOHREN LOGISTICS, INC.              325 N. TAYLOR RD. GARRETT IN 46738
BOHTE, JOEL                         ADDRESS ON FILE
BOINK, RONALD                       ADDRESS ON FILE
BOIRON AMERICAS INC                 ATTN: ALEXANDER KIPNIS 1 GATEWAY CENTER STE 2540 11-43 RAYMOND NEWARK NJ 07102
BOIS, RONALD                        ADDRESS ON FILE
BOISE RIGGING & SUPPLY              6750 W VICTORY RD BOISE ID 83709
BOISE TRUCKING LLC                  OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
BOISSARD, PAVEL A                   ADDRESS ON FILE
BOITANO-ODELL TRANSPORT LLC         OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
BOIZ TRANSPORTATION LLC             7253 CROCKETT CT FONTANA CA 92336
BOJ TRUCKING GROUP LLC              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
BOJADICH, BRANDON                   ADDRESS ON FILE
BOJANG, MUHAMED                     ADDRESS ON FILE
BOJANG, MUHAMED                     ADDRESS ON FILE
BOJORQUEZ, MICHAEL                  ADDRESS ON FILE
BOJORQUEZ, MIGUEL                   ADDRESS ON FILE
BOK TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BOKA FREIGHT LINE                   PO BOX 88 DILLON MT 59725
BOKA TRANSFER                       PO BOX 88 DILLON MT 59725
BOKHARI, SYED ZAHIR                 ADDRESS ON FILE
BOKLAGE, BILLIE                     ADDRESS ON FILE
BOL, WAYNE                          ADDRESS ON FILE
BOL, WESTON                         ADDRESS ON FILE
BOLA TRANSPORT INC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BOLAN, ULAS                         ADDRESS ON FILE
BOLANOS, EDUARDO                    ADDRESS ON FILE
BOLANOS, JONATHAN                   ADDRESS ON FILE
BOLANOS, JORGE                      ADDRESS ON FILE
BOLANOS, MOISES                     ADDRESS ON FILE
BOLANOS, RICARDO                    ADDRESS ON FILE
BOLAS, JOHN                         ADDRESS ON FILE
BOLD TRANSPORTATION                 2330 STATE LINE ROAD KANSAS CITY KS 66103
BOLDE, TIMOTHY                      ADDRESS ON FILE
BOLDEN, DEMETRIUS                   ADDRESS ON FILE
BOLDEN, QUINTIN                     ADDRESS ON FILE
BOLDEN, RAYMOND                     ADDRESS ON FILE
BOLDEN, ROGER                       ADDRESS ON FILE
BOLDEN, TENESHA                     ADDRESS ON FILE
BOLDEN, VICTORIA                    ADDRESS ON FILE
BOLDIN, TAMICHAEL                   ADDRESS ON FILE
BOLDS TRANSPORT LLC (MC1187676)     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BOLDT, MATTHEW                      ADDRESS ON FILE
BOLDT, MICHAEL                      ADDRESS ON FILE
BOLEK, SARA                         ADDRESS ON FILE
BOLELOGISTICS LLC                   OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
BOLEN, ROGER                        ADDRESS ON FILE
BOLER, STEPHEN                      ADDRESS ON FILE
BOLGER, JOHN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 231 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 240 of 2156

Claim Name                            Address Information
BOLGER, JOHN                          ADDRESS ON FILE
BOLIN, JASON                          ADDRESS ON FILE
BOLIN, JOSHUA                         ADDRESS ON FILE
BOLIN, LECIA                          ADDRESS ON FILE
BOLIN, MARY J                         ADDRESS ON FILE
BOLINDER, BRIAN                       ADDRESS ON FILE
BOLINE, REBEKAH                       ADDRESS ON FILE
BOLING, RYAN                          ADDRESS ON FILE
BOLINGER, BARRY A                     ADDRESS ON FILE
BOLINGER, DAVE                        ADDRESS ON FILE
BOLIO, ROBERT                         ADDRESS ON FILE
BOLIOU, LYLE                          ADDRESS ON FILE
BOLIOU, ZACHERY                       ADDRESS ON FILE
BOLITHO, MICHAEL                      ADDRESS ON FILE
BOLIVAR TRUCKING SERVICES LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOLKEIM, CONNELLY                     ADDRESS ON FILE
BOLL, VASKO                           ADDRESS ON FILE
BOLLENDORF, ROBERT J                  ADDRESS ON FILE
BOLLER, SHANNON                       ADDRESS ON FILE
BOLLERUD, MICHAEL                     ADDRESS ON FILE
BOLLES, KARL                          ADDRESS ON FILE
BOLLIN, DOUGLAS                       ADDRESS ON FILE
BOLLING, BERNARD                      ADDRESS ON FILE
BOLLINGER, DAVID                      ADDRESS ON FILE
BOLLINGER, SCOTT                      ADDRESS ON FILE
BOLLORE                               ATTN: KIM WHITE 60 LOUISA VIENS DR DAYVILLE CT 06241
BOLLS TRUCKING INC                    OR INTERNET TRUCKSTOP PAYMENTS LLC, PO BOX 7410411 CHICAGO IL 60674-0411
BOLSON, DEBRA                         ADDRESS ON FILE
BOLSTERS TOWING INC                   693 ADDISON SQ KALISPELL MT 59901
BOLT EXPRESS TRUCK SERVICES           PO BOX 759 TOLEDO OH 43697
BOLT FREIGHT INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
BOLT INC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BOLT LLC                              9385 I-55 WEST FRONTAGE RD TERRY MS 39170
BOLT, JULIAN                          ADDRESS ON FILE
BOLTES SUNRISE SANITARY SERVICE INC   PO BOX 7 WORTHING SD 57077
BOLTON CONSTRUCTIONSERVICES           5001 BIG LAKE ROAD LAKE CHARLES LA 70605
BOLTON, CHRISTIAN                     ADDRESS ON FILE
BOLTON, CHRISTOPHER                   ADDRESS ON FILE
BOLTON, DANE                          ADDRESS ON FILE
BOLTON, JOSEPH E                      ADDRESS ON FILE
BOLTON, RICKEY                        ADDRESS ON FILE
BOLTON, SIDNEY                        ADDRESS ON FILE
BOMBA, TONYA                          ADDRESS ON FILE
BOMBARDIER PRODUCTS RECREATIFS        3200 A RUE KING QUEST STE A300 SHERBROOKE QC J1L 1C9 CANADA
BOMBEROS TRUCKING SERVICES LLC        OR FLAT RATE FUNDING GROUP, LLC, P.O. BOX 150581 OGDEN UT 84415
BOMMARITO MAZDA SOUTH                 6127 S. LINDBERGH ST. LOUIS MO 63123
BONA FIDE BREWING COMPANY LLC         495 PINE AVE UNIT A GOLETA CA 93117
BONAFIDE FREIGHT FORWARDING LLC       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BONAFIDE TRANSIT                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101



Epiq Corporate Restructuring, LLC                                                                 Page 232 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 241 of 2156

Claim Name                          Address Information
BONANZA CARRIERS LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BONANZZA TRANSPORT LLC              316 BEDFORD RD LAS VEGAS NV 89107
BONAPARTE, MICHAEL                  ADDRESS ON FILE
BOND FREIGHT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOND MANUFACTURING                  2000 W TURNER RD LODI CA 95242
BOND TRANS-LOGISTICS LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BOND TRANSIT INC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BOND TRANSPORT, LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BOND, BRIAN                         ADDRESS ON FILE
BOND, CHRISTOPHER                   ADDRESS ON FILE
BOND, COURTNEY                      ADDRESS ON FILE
BOND, DONTAE                        ADDRESS ON FILE
BOND, EDWARD                        ADDRESS ON FILE
BOND, JAMIE                         ADDRESS ON FILE
BOND, JASON                         ADDRESS ON FILE
BOND, MATTHEW                       ADDRESS ON FILE
BOND, MICHAEL                       ADDRESS ON FILE
BOND, RANDY                         ADDRESS ON FILE
BOND, ROGER                         ADDRESS ON FILE
BOND, SAMUEL                        ADDRESS ON FILE
BOND, SEAN                          ADDRESS ON FILE
BOND, STACY                         ADDRESS ON FILE
BONDARENKO, NICK                    ADDRESS ON FILE
BONDED LOGISTICS WHSE. GREER        539 MASON FARM LANE BUILDING 3 GREER SC 29651
BONDER, DAVID                       ADDRESS ON FILE
BONDIER LLC                         510 VIGO ST DAVENPORT FL 33837
BONDS, JERRY                        ADDRESS ON FILE
BONDS, SEBASTIAN                    ADDRESS ON FILE
BONDURANT, JIMMIE                   ADDRESS ON FILE
BONDURANT, RONALD                   ADDRESS ON FILE
BONDWAY INC                         OR GREAT PLAINS TRANSPORTATION SVS INC PO BOX 4539 CAROL STREAM IL 60197-4539
BONDYS NISSAN                       3693 W. MAIN ST. DOTHAN AL 36301
BONE, CHARLES                       ADDRESS ON FILE
BONE, CORY                          ADDRESS ON FILE
BONENFANT, JEFFREY                  ADDRESS ON FILE
BONESS, JEFFREY                     ADDRESS ON FILE
BONESTEEL, RALPH                    ADDRESS ON FILE
BONFIELD, ANTHONY                   ADDRESS ON FILE
BONFIETTI, DANIEL J                 ADDRESS ON FILE
BONG TRANSPORTATION LLC             OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
BONHAM ELECTRIC INC.                3521 WRIGHT WAY RD DAYTON OH 45424
BONHAM, CHARLES                     ADDRESS ON FILE
BONHAM, ROBERT                      ADDRESS ON FILE
BONHAM, SHANE                       ADDRESS ON FILE
BONIFACIO TAVERAS, ANTONY           ADDRESS ON FILE
BONILLA, EDSON                      ADDRESS ON FILE
BONILLA, ERNESTO                    ADDRESS ON FILE
BONILLA, HECTOR                     ADDRESS ON FILE
BONILLA, JOSE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 233 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 242 of 2156

Claim Name                           Address Information
BONILLA, KEVIN                       ADDRESS ON FILE
BONILLA, LEO                         ADDRESS ON FILE
BONILLA, PEDRO                       ADDRESS ON FILE
BONILLA-ESPINOZA, JESUS              ADDRESS ON FILE
BONILLAS TRANSPORTATION              OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
BONIVUK LOGISTICS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BONKOWSKI, ERIC J                    ADDRESS ON FILE
BONNELL ALUMINUM CLEARFIELD          ATTN: TODD WALKER 1101 S INDUSTRIAL PKWY CLEARFIELD UT 84015
BONNELL, TERRY                       ADDRESS ON FILE
BONNELL, TERRY                       ADDRESS ON FILE
BONNER, CANTRELL                     ADDRESS ON FILE
BONNER, DARYL                        ADDRESS ON FILE
BONNER, EZEKIEL                      ADDRESS ON FILE
BONNER, JAMES                        ADDRESS ON FILE
BONNER, JOHN                         ADDRESS ON FILE
BONNER, MATTHEW                      ADDRESS ON FILE
BONNER, MELVIN                       ADDRESS ON FILE
BONNER, TERRY D                      ADDRESS ON FILE
BONNER, W                            ADDRESS ON FILE
BONNER, WAVERY                       ADDRESS ON FILE
BONNESEN, BRIAN                      ADDRESS ON FILE
BONNET SALES & SERVICE               219 US ROUTE 11 CENTRAL SQUARE NY 13036
BONNET SALES & SERVICE               864 COUNTY ROUTE 37 CENTRAL SQUARE NY 13036
BONNET WEED CONTROL INC              14900 HAYNE BLVD NEW ORLEANS LA 70128
BONNETT, EDWARD                      ADDRESS ON FILE
BONNEVILLE, CODY                     ADDRESS ON FILE
BONNEY, JAMES                        ADDRESS ON FILE
BONNEY, KRISTINE                     ADDRESS ON FILE
BONNI AND MICHAEL FOTIA              ADDRESS ON FILE
BONNIE A MANDEVILLE                  ADDRESS ON FILE
BONNIE SPEED DELIVERY, INC.          PO BOX 93457 CLEVELAND OH 44101
BONNY GODFREY                        ADDRESS ON FILE
BONNYS TAXI LTD                      5759 SIDLEY ST BURNABY BC V5J 5E6 CANADA
BONTON, MYRON                        ADDRESS ON FILE
BONTRAGER, VALERIE                   ADDRESS ON FILE
BONU LOGISTICS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BONUCCI, JULIE                       ADDRESS ON FILE
BONURA, JACK A                       ADDRESS ON FILE
BONUS TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BONY TRANSPORTATION INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOO-KEYS WRECKER SERVICE             429 EUSTIS ROAD HESSMER LA 71341
BOODOORAM, ROHAN                     ADDRESS ON FILE
BOOHER, JASON                        ADDRESS ON FILE
BOOK TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOOK, MICHAEL                        ADDRESS ON FILE
BOOKER, ALVIS                        ADDRESS ON FILE
BOOKER, BRANDON                      ADDRESS ON FILE
BOOKER, CANDACE                      ADDRESS ON FILE
BOOKER, CEDRICK                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 234 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 243 of 2156

Claim Name                          Address Information
BOOKER, CHARLES                     ADDRESS ON FILE
BOOKER, FREDRIC                     ADDRESS ON FILE
BOOKER, GLENN                       ADDRESS ON FILE
BOOKER, LIONEL                      ADDRESS ON FILE
BOOKER, MICHAEL                     ADDRESS ON FILE
BOOKER, ORTAVIOUS                   ADDRESS ON FILE
BOOKER, RHONDA                      ADDRESS ON FILE
BOOKER, ROBERT                      ADDRESS ON FILE
BOOKER, WILLIAM                     ADDRESS ON FILE
BOOM TRANSPORT INC                  50 LACOSTE BLVD UNIT 112 BRAMPTON ON L6P 3Z8 CANADA
BOOMER-CAMPBELL, RACHEL             ADDRESS ON FILE
BOOMERANG EXPRESS, INC.             4906 W 1ST ST SANTA ANA CA 92703
BOOMERANG TRANSPORT INC             OR RIVIERA FINANCE MINNEAPOLIS, PO BOX 850243 MINNEAPOLIS MN 55485-0243
BOOMF MANAGEMENT                    1709 JEROME AVE BRONX NY 10453
BOOMGARDEN, DANNY                   ADDRESS ON FILE
BOOMING FREIGHT TRANSPORT INC       PO BOX 340374 JAMAICA NY 11434
BOON, TERRY                         ADDRESS ON FILE
BOONE COUNTY COLLECTOR              801 E WALNUT RM 118 COLUMBIA MO 65201
BOONE ELECTRIC COOP                 1413 RANGELINE ST. COLUMBIA MO 65205
BOONE, ANDREW                       ADDRESS ON FILE
BOONE, COREY                        ADDRESS ON FILE
BOONE, COREY                        ADDRESS ON FILE
BOONE, DANA                         ADDRESS ON FILE
BOONE, MICHAEL                      ADDRESS ON FILE
BOONE, MICHAEL                      ADDRESS ON FILE
BOONE, ROBERT D                     ADDRESS ON FILE
BOONE, STEPHEN                      ADDRESS ON FILE
BOONE, TAVIS                        ADDRESS ON FILE
BOONE, TONY                         ADDRESS ON FILE
BOONE, ZILDJAN                      ADDRESS ON FILE
BOONES POWER EQUIPMENT INC          1050 DIAMOND MILL RD BROOKVILLE OH 45309
BOORANYA INC                        1749 W GOLF RD SUITE 369 MOUNT PROSPECT IL 60056
BOORE, DAVID                        ADDRESS ON FILE
BOOTH, BRANDON                      ADDRESS ON FILE
BOOTH, BRIAN                        ADDRESS ON FILE
BOOTH, CASSIUS                      ADDRESS ON FILE
BOOTH, DEIONE                       ADDRESS ON FILE
BOOTH, FRANK                        ADDRESS ON FILE
BOOTH, MARK                         ADDRESS ON FILE
BOOTH, RAYMOND T                    ADDRESS ON FILE
BOOTHE, AL                          ADDRESS ON FILE
BOOTHE, STEVEN                      ADDRESS ON FILE
BOOTHEEL FENCE CO                   3619 NORTH HIGH STREET JACKSON MO 63755
BOOTON TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOOTS AND HANKS                     1500 N KEYSER AVE SCRANTON PA 18504
BOOTS, BRIAN                        ADDRESS ON FILE
BOOTSMA COUNTRY MACHINE SHOP        1490 STATE HWY 30 EDGERTON MN 56128
BOOY, ROBERT                        ADDRESS ON FILE
BOPARAI TRUCKING INC                OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086



Epiq Corporate Restructuring, LLC                                                              Page 235 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 244 of 2156

Claim Name                           Address Information
BORA LOGISTICS INC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
BORAAM INDUSTRIES                    16202 DISTRIBUTION WAY CERRITOS CA 90703
BORAKS, JONATHAN                     ADDRESS ON FILE
BORAL INDUSTRIES                     200 MANSELL CT E, STE 310 ROSWELL GA 30076
BORANA EXPRESS LLC                   OR INTEGRATED LOGISTICS & ASSOCIATES, PO BOX 25189 FARMINGTON NY 14425-0189
BORBA, STEVEN                        ADDRESS ON FILE
BORCEGUIN, OSVALDO                   ADDRESS ON FILE
BORCHARD, CHRISTOPHER                ADDRESS ON FILE
BORCHARD, DERRICK                    ADDRESS ON FILE
BORCHERT, HAYDEN                     ADDRESS ON FILE
BORCHERT-BARRERA, ALISA              ADDRESS ON FILE
BORDANARO, CHRIS                     ADDRESS ON FILE
BORDEAUX, CHRISTOPHER                ADDRESS ON FILE
BORDELEAU, NORMAND                   ADDRESS ON FILE
BORDELON, EDDIE                      ADDRESS ON FILE
BORDELON, RICHARD                    ADDRESS ON FILE
BORDEN ENTERPRISE                    30021 BIG RANGE RD CANYON LAKE CA 92587
BORDEN TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
BORDEN, BRIAN                        ADDRESS ON FILE
BORDEN, CHRISTOPHER                  ADDRESS ON FILE
BORDEN, COLE                         ADDRESS ON FILE
BORDEN, RUSSELL                      ADDRESS ON FILE
BORDER DESERT TRANSPORT LLC          OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
BORDER FIRE & SAFETY CO., INC.       131 ALLEN DR LAREDO TX 78045
BORDER FLEET SUPPORT, LLC            11328 PALMILLAS LOOP LAREDO TX 78045
BORDER ROADLINES                     ADDRESS ON FILE
BORDER STATES                        ATTN: BETHANIE FERGUSON PO BOX 2767 FARGO ND 58108
BORDER STATES                        ATTN: CODY PETERSEN PO BOX 2767 FARGO ND 58108
BORDER STATES                        ATTN: BETHANIE FERGUSON PO BOX 2767 FARGO ND 58108-2767
BORDER STATES                        ATTN: SARIANNE DICKSON PO BOX 2767 FARGO ND 58108-2767
BORDER STATES ELECTRIC               ATTN: CODY PETERSEN 11927 53RD ST NE ALBERTVILLE MN 55301
BORDER STATES ELECTRIC               ATTN: LISABETH MUTCHLER 3219 ROCK ISLAND PL BISMARCK ND 58504
BORDER STATES ELECTRIC               ATTN: LISABETH MUTCHLER 100 29TH STW DICKINSON ND 58601
BORDER STATES ELECTRIC               ATTN: LISABETH MUTCHLER 101 40TH AVE NW MINOT ND 58703
BORDER STATES ELECTRIC               ATTN: JESSE WALD 101 N CATLIN MISSOULA MT 59806
BORDER STATES ELECTRIC               ATTN: JESSE WALD 898 W FINE DR S SALT LAKE UT 84119
BORDER STATES ELECTRIC               ATTN: KEN ELTON 898 WEST FINE DRIVE SOUTH SALT LAKE UT 84119-7571
BORDER STATES ELECTRIC               ATTN: JESSE WALD 455 N 1400 E ST GEORGE UT 84770
BORDER STATES ELECTRIC               ATTN: JESSE WALD 101 BUTTERFIELD RD APT A YAKIMA WA 98901
BORDER STATES ELECTRIC SUPPLY        PO BOX 2767 FARGO ND 58108
BORDER STATES ELECTRIC SUPPLY        ATTN: CODY PETERSEN PO BOX 2767 FARGO ND 58108-2767
BORDER STATES ELECTRIC SUPPLY        ATTN: LISABETH MUTCHLER 2311 S 48TH ST GRAND FORKS ND 58201
BORDER STATES ELECTRIC SUPPLY        ATTN: LISABETH MUTCHLER 206 PLAINVIEW DR BILLINGS MT 59103
BORDER STATES ELECTRIC SUPPLY        ATTN: JESSE WALD 2414 4TH AVE UNIT A GREELEY CO 80631
BORDER STATES ELECTRIC SUPPLY        ATTN: JESSE WALD 658 N STATE ST OREM UT 84057
BORDER STATES ELECTRIC SUPPLY        ATTN: JESSE WALD 9050 ORION DR NE STE B LACEY WA 98516
BORDER STATES INDUSTRIES             PO BOX 2767 FARGO ND 58103
BORDER TEAM LLC                      OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
BORDER TIRE                          6985 CAMINO MAQUILADORA SAN DIEGO CA 92154



Epiq Corporate Restructuring, LLC                                                                 Page 236 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 245 of 2156

Claim Name                          Address Information
BORDER TRACTOR SERVICE, LLC         OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
BORDER TRUCKING LLC                 P O BOX 2870 NOGALES AZ 85628
BORDER TRUCKING SERVICES INC        OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
BORDER, MARK                        ADDRESS ON FILE
BORDERLINE FREIGHT CO.              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BORDERLINE LOGISTICS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BORDERLINE TRUCKING LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BORDERS FREIGHTMASTERS LLC          OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
BORDERS, DEMARCUS                   ADDRESS ON FILE
BORDERS, MICHAEL                    ADDRESS ON FILE
BORDERSVILLE TRUCKING LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BORDES, ZACHARY                     ADDRESS ON FILE
BORDONAS OAKDALE FRUNITURE          102 WEST F STREET OAKDALE CA 95361
BORE TRANSPORT                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
BOREMAN, JAMEY                      ADDRESS ON FILE
BOREN, ABIGALE                      ADDRESS ON FILE
BOREN, DAVID                        ADDRESS ON FILE
BOREN, DAVID                        ADDRESS ON FILE
BOREN, JERRY                        ADDRESS ON FILE
BOREN, MICHELE                      ADDRESS ON FILE
BOREN, ROBERT                       ADDRESS ON FILE
BORES, TIMOTHY                      ADDRESS ON FILE
BORGER, RODNEY                      ADDRESS ON FILE
BORGERDING, MIKE                    ADDRESS ON FILE
BORGES LOGISTICS INC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BORGES, JASON                       ADDRESS ON FILE
BORGMAN, KEVIN                      ADDRESS ON FILE
BORING, BRYAN                       ADDRESS ON FILE
BORING, CARNITH                     ADDRESS ON FILE
BORK, ALLYSON                       ADDRESS ON FILE
BORKOWSKI TOWING & SALVAGE INC      5035 W 6TH ST WINONA MN 55987
BORKOWSKI TOWING & SALVAGE INC      PO BOX 868 WINONA MN 55987
BORMAN, MATTHEW                     ADDRESS ON FILE
BORMANN, DWIGHT                     ADDRESS ON FILE
BORN, ERIC                          ADDRESS ON FILE
BORNEMAN, JEFFERY                   ADDRESS ON FILE
BORNEO TRANSPORT LLC                8821 ETIWANDA AVE RANCHO CUCAMONGA CA 91739
BORNGESSER, KEITH                   ADDRESS ON FILE
BORNSTEIN, CLARENCE                 ADDRESS ON FILE
BORNSTEIN, DANIEL                   ADDRESS ON FILE
BORNSTEIN, TRAVIS                   ADDRESS ON FILE
BORNSTINE, JEFFREY                  ADDRESS ON FILE
BORNTRAGER AUTO BODY & TOWING       270 W MAIN, PO BOX 404 TRIMONT MN 56176-0404
BORO TRANSPORT CORP                 OR INTEGRATED LOGISTICS & ASSOCIATES, PO BOX 25189 FARMINGTON NY 14425
BORO WIDE RECYCLING CORP            3 RAILROAD PLACE MASPETH NY 11378
BOROSKAE, JOHN                      ADDRESS ON FILE
BOROSKAE, RILEY                     ADDRESS ON FILE
BOROUGH OF CARLSTADT                BUREAU OF FIRE SAFETY, 500 MADISON ST PO BOX 466 CARLSTADT NJ 07072
BOROUGH OF MILTON                   NORTHUMBERLAND COUNTY, PA 2 FILBERT ST MILTON PA 17847



Epiq Corporate Restructuring, LLC                                                              Page 237 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 246 of 2156

Claim Name                           Address Information
BOROUGH OF SOUTH PLAINFIELD          2480 PLAINFIELD AVE S. PLAINFIELD NJ 07080
BOROUGH OF SOUTH PLAINFIELD          BUREAU OF FIRE PREVENTION, 123 MAPLE AVE SOUTH PLAINFIELD NJ 07080
BOROVICKA, BRUCE                     ADDRESS ON FILE
BOROWSKI, MATTHEW                    ADDRESS ON FILE
BORRACCHINI FOODS                    ECHO GLOBAL LOGISTICS, 600 W CHICAGO AVE CHICAGO IL 60654
BORRACCHINI FOODS INC.               2001 SOUTH PLUM STREET SEATTLE WA 98144
BORRAYO CRUZ, DANY                   ADDRESS ON FILE
BORRERO, JORGE                       ADDRESS ON FILE
BORTEK INDUSTRIES, INC               4713 OLD GETTSBURG RD MECHANICSBURG PA 17055
BORTNICK, MICHAEL                    ADDRESS ON FILE
BORTON, ANTHONY                      ADDRESS ON FILE
BORTON, CODY                         ADDRESS ON FILE
BORTZFIELD, STEPHANIE                ADDRESS ON FILE
BOS TRANS INC                        OR PRO FUNDING INC, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
BOS-STAR INC.                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BOSCH AUTOMOTIVE SERVICE SOLUTIONS   ATTN: MICHAEL KEMMITS 655 EISENHOWER DRIVE OWATONNA MN 55060
BOSCH REXROTH                        ATTN: M PARSONS 8 SPUTHCHASE CPURT FOUNTAIN INN SC 29644
BOSCH, CRYSTAL                       ADDRESS ON FILE
BOSCH, JANICE                        ADDRESS ON FILE
BOSCH, PATRICK                       ADDRESS ON FILE
BOSCH, PATRICK J                     ADDRESS ON FILE
BOSCH, PETER                         ADDRESS ON FILE
BOSCO 3 TRANSPORT LLC                OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
BOSCO, SEBASTIANO                    ADDRESS ON FILE
BOSECKER, TERRY                      ADDRESS ON FILE
BOSECKER, TODD                       ADDRESS ON FILE
BOSETTI LAWN CARE, LLC               1513 CLINTON ST MC KEES ROCKS PA 15136
BOSETTI LAWN CARE, LLC               322 SINGER AVE. MC KEES ROCKS PA 15136
BOSGRAAF, CHARLES                    ADDRESS ON FILE
BOSHAE, DEBRA                        ADDRESS ON FILE
BOSHEERS, RYAN                       ADDRESS ON FILE
BOSHELL ROOFING                      3850 WHITE RD DORA AL 35062
BOSHELL, BILLY                       ADDRESS ON FILE
BOSI, KEVIN                          ADDRESS ON FILE
BOSIRE EXPEDITORS LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BOSIRE EXPEDITORS LLC                OR INTEGRA FUNDING SOLUTIONS LLC, 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                     76116
BOSKURT TRANSPORT INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BOSLER, DAVID                        ADDRESS ON FILE
BOSLEY, PERCIOUS                     ADDRESS ON FILE
BOSMAN, JOHANNES                     ADDRESS ON FILE
BOSMAN, JOSEPH                       ADDRESS ON FILE
BOSMANS, DENNIS                      ADDRESS ON FILE
BOSMANS, JAMES R                     ADDRESS ON FILE
BOSNA EXPRESS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
BOSNJAK, BRANKO                      ADDRESS ON FILE
BOSQUEZ, EDUARDO                     ADDRESS ON FILE
BOSS CARRIERS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOSS ELECTRIC, INC.                  16020 SUNTONE DR STE A SOUTH HOLLAND IL 60473



Epiq Corporate Restructuring, LLC                                                                 Page 238 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 247 of 2156

Claim Name                          Address Information
BOSS HOG TRUCKING                   OR TRANSWEST CAPITAL, PO BOX 123381 DEPT 3381 DALLAS TX 75312
BOSS HOGG EXPRESS TRUCKING LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BOSS LADY LOGISTICS INC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BOSS LOGISTICS LLC                  3327 S 2ND ST WHITEHALL PA 18052
BOSS LOGISTICS LLC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BOSS SECURITY AND AUTOMATION        1250 SCHWEIZER RD HORSEHEADS NY 14845
BOSS TRANS LLC                      OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
BOSS TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BOSS TRUCK SHOP                     ATTN: ADAM LOFDAHI 1944 N 9TH SUITE 102 SALINA KS 67401
BOSS TRUCKING LLC                   OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
BOSS, WILLIAM                       ADDRESS ON FILE
BOSSELMAN ENERGY, INC.              3123 WSTOLLEY PARK RD SUITE, PO BOX1567 GRAND ISLAND NE 68802
BOSSELMAN ENERGY, INC.              P.O. BOX 1567 GRAND ISLAND NE 68802
BOSSELMAN TANK & TRAILER INC        8999 E 96TH AVE HENDERSON CO 80640
BOSSLER, MARY                       ADDRESS ON FILE
BOSSMAKER LOGISTICS LLC             OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
BOSSMANN, JOHANNES                  ADDRESS ON FILE
BOSSWAY EXPRESS INC.                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BOST TRUCK SERVICE, INC.            PO BOX 483 MURPHSBORO IL 62966
BOST, EDWARD                        ADDRESS ON FILE
BOST, ZEB                           ADDRESS ON FILE
BOSTIC, COLBY                       ADDRESS ON FILE
BOSTIC, EDDIE                       ADDRESS ON FILE
BOSTICK TRANSPORTATION L.L.C.       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BOSTICK, DION                       ADDRESS ON FILE
BOSTICK, MARK                       ADDRESS ON FILE
BOSTON FREIGHTLINER                 DBA NEW ENGLAND ROAD EQUIPMENT INC. 2 RIVERGREEN DRIVE EVERETT MA 02149
BOSTON, BRANDON                     ADDRESS ON FILE
BOSTON, DALE                        ADDRESS ON FILE
BOSTON, DARIUS                      ADDRESS ON FILE
BOSTON, GLORIA                      ADDRESS ON FILE
BOSTON, GLORIA J                    ADDRESS ON FILE
BOSTON, JODIANN                     ADDRESS ON FILE
BOSTON, JORDYN                      ADDRESS ON FILE
BOSTON, PAUL                        ADDRESS ON FILE
BOSTON, TRENT                       ADDRESS ON FILE
BOSTROM, CARL                       ADDRESS ON FILE
BOSTWICK, JEFFREY                   ADDRESS ON FILE
BOSWELL, AUDRA                      ADDRESS ON FILE
BOSWELL, HAILEY                     ADDRESS ON FILE
BOSWELL, KEVIN                      ADDRESS ON FILE
BOSWELL, MARK                       ADDRESS ON FILE
BOT TRUCKING INC.                   OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
BOTELLO, JOSE                       ADDRESS ON FILE
BOTELLO, LAURENCIO                  ADDRESS ON FILE
BOTHUM, DAVID                       ADDRESS ON FILE
BOTHWELL TRANSPORT INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BOTHWELL TRANSPORT INC              PO BOX 12499 GLENDALE AZ 85318
BOTSIS, KATHLEEN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 239 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 248 of 2156

Claim Name                           Address Information
BOTT TRANSPORT & LOGISTICS INC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BOTTERO, RANDY                       ADDRESS ON FILE
BOTTI, BENJAMIN J                    ADDRESS ON FILE
BOTTINI, BILL                        ADDRESS ON FILE
BOTTLESON, TROY                      ADDRESS ON FILE
BOTTOMLINE TECHNOLOGIES              PO BOX 412377 BOSTON MA 02241
BOTTONI, THEODORE                    ADDRESS ON FILE
BOTTONNI CONSTRUCTION                192 SHARON ROAD ROBBINSVILLE NJ 08536
BOTTORFF, GABRIEL                    ADDRESS ON FILE
BOTTS LOCKSMITH                      204 EAST MAIN DANVILLE IL 61832
BOTTS, CHARLES                       ADDRESS ON FILE
BOTTS, CHARLES                       ADDRESS ON FILE
BOTTS, GARED                         ADDRESS ON FILE
BOTTS, MASEY                         ADDRESS ON FILE
BOTZ, BRENDON                        ADDRESS ON FILE
BOTZET, RANDELL                      ADDRESS ON FILE
BOUCHARD, DANIEL                     ADDRESS ON FILE
BOUCHARD, DUSTIN                     ADDRESS ON FILE
BOUCHARD, KRISTOPHER                 ADDRESS ON FILE
BOUCHARD, MEGAN                      ADDRESS ON FILE
BOUCHER, ABIGAIL                     ADDRESS ON FILE
BOUCHER, JONATHAN                    ADDRESS ON FILE
BOUCHEZ, BOB                         ADDRESS ON FILE
BOUDAH, DENIS                        ADDRESS ON FILE
BOUDAH, DENIS P                      ADDRESS ON FILE
BOUDIS, ATHANASIOS                   ADDRESS ON FILE
BOUDREAU, STEVEN                     ADDRESS ON FILE
BOUDREAUX, MATTHEW                   ADDRESS ON FILE
BOUFATTAH, AHMED                     ADDRESS ON FILE
BOUGARD, JAMES                       ADDRESS ON FILE
BOUGHAN TRUCKING                     1078 PARK COURT AVON IN 46123
BOUGHER, ALEX                        ADDRESS ON FILE
BOUILLE ELECTRIC INC                 154 E 5TH ST, PO BOX 34 ELMIRA NY 14902
BOULDIN, ANTONIO                     ADDRESS ON FILE
BOULETS TRUCK SERVICE                PO BOX 357 FAIRFIELD ME 04937
BOULEVARD TIRE CENTER                816 S. WOODLAND BLVD DELAND FL 32720
BOULEVARD TIRE CENTER                7051 ALICO RD FORT MYERS FL 33912
BOULEVARD TRUCK LEASE, INC.          BOULEVARD MATERIAL HANDLING, 2531 ORTHODOX ST PHILADELPHIA PA 19137
BOULEVARD TRUCK LEASE, INC.          BOULEVARD TRUCK REPAIR, 2531 ORTHODOX ST PHILADELPHIA PA 19137
BOULTON, APRIL                       ADDRESS ON FILE
BOUMA BROS SALES AND SERVICE INC     1529 BURLINGAME AVE SW WYOMING MI 49509
BOUN TRUCKING                        3853 W BUMPER CROP CIR RIVERTON UT 84065
BOUND, DAVID                         ADDRESS ON FILE
BOUNDARY TRACTOR                     ATTN: PAIGE MAGEE 6632 MAIN ST BONNERS FERRY ID 83805
BOUNDS TRUCKING LLC                  OR PATHWARD NATIONAL ASSOCIATION, PO BOX 682348 FRANKLIN TN 37068
BOUNDS, MARIA                        ADDRESS ON FILE
BOURDETH TRUCKING                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOURGEOIS DOOR COMPANY INC           PO BOX 270066 SAINT LOUIS MO 63127
BOURGEOIS, DANIEL                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 240 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 249 of 2156

Claim Name                          Address Information
BOURGEOIS, EDWARD                   ADDRESS ON FILE
BOURNE, ERIC                        ADDRESS ON FILE
BOURNES, SIDNEY                     ADDRESS ON FILE
BOURRET, RICHARD                    ADDRESS ON FILE
BOUSHRA TRUCKING LLC                OR ECPAITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
BOUSQUET, BRANDON                   ADDRESS ON FILE
BOUTIN, KYLE                        ADDRESS ON FILE
BOUTIN, STEVEN                      ADDRESS ON FILE
BOUTTE, DWAYNE                      ADDRESS ON FILE
BOUVETTE, PIERRE                    ADDRESS ON FILE
BOUVIA, ROBERT                      ADDRESS ON FILE
BOVA, JUSTIN                        ADDRESS ON FILE
BOVARD HEATING & COOLING            2597 CLYDE AVE STE 1 STATE COLLEGE PA 16801
BOVAY, JEREMY                       ADDRESS ON FILE
BOVE, PETER                         ADDRESS ON FILE
BOVEE, MATTHEW                      ADDRESS ON FILE
BOVELL, MONTY                       ADDRESS ON FILE
BOVY, JASON                         ADDRESS ON FILE
BOWARD, MATTHEW                     ADDRESS ON FILE
BOWDEN, DAVID                       ADDRESS ON FILE
BOWDEN, JOHN                        ADDRESS ON FILE
BOWDEN, KENNEY                      ADDRESS ON FILE
BOWDEN, MICHAEL L                   ADDRESS ON FILE
BOWDEN, RONNIE                      ADDRESS ON FILE
BOWDEN, TODD                        ADDRESS ON FILE
BOWDLE TRUCK REPAIR LLC             4844 PURNELL RD WAKE FOREST NC 27587
BOWE, CURTIS                        ADDRESS ON FILE
BOWEN EXPRESS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOWEN FREIGHT LTD                   RR 1, BOX 383 BOWEN ISLAND BC V0N 1G0 CANADA
BOWEN JR, JOE                       ADDRESS ON FILE
BOWEN TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS, LLC, PO BOX 7410411 CHICAGO IL 60674-0411
BOWEN TRANSPORTATION, INC.          585 DEPAOLI ST RENO NV 89512
BOWEN, BLAINE                       ADDRESS ON FILE
BOWEN, CARL                         ADDRESS ON FILE
BOWEN, CHARICA                      ADDRESS ON FILE
BOWEN, CHRISTOPHER                  ADDRESS ON FILE
BOWEN, DAVID                        ADDRESS ON FILE
BOWEN, FRANKIE                      ADDRESS ON FILE
BOWEN, FRANKIE                      ADDRESS ON FILE
BOWEN, GARY                         ADDRESS ON FILE
BOWEN, GEORGE                       ADDRESS ON FILE
BOWEN, GEORGE                       ADDRESS ON FILE
BOWEN, GEORGE                       ADDRESS ON FILE
BOWEN, KEVIN                        ADDRESS ON FILE
BOWEN, MARK A                       ADDRESS ON FILE
BOWEN, MARTIN                       ADDRESS ON FILE
BOWEN, NEAL                         ADDRESS ON FILE
BOWEN, RAYMOND                      ADDRESS ON FILE
BOWEN, ROSE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 241 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 250 of 2156

Claim Name                           Address Information
BOWEN, WILLIE                        ADDRESS ON FILE
BOWER, CHAD                          ADDRESS ON FILE
BOWER, GARY                          ADDRESS ON FILE
BOWER, RICK                          ADDRESS ON FILE
BOWER, TERRENCE A                    ADDRESS ON FILE
BOWERMAN TRUCKING, INC               BOWERMAN TRUCKING, INC, 180 LEE LANE SEARCY AR 72143
BOWERS TRUCKING LLC                  2035 SHILOH RD PORT GIBSON MS 39150
BOWERS, BRITTANY                     ADDRESS ON FILE
BOWERS, DAKOTA                       ADDRESS ON FILE
BOWERS, JEFFREY A                    ADDRESS ON FILE
BOWERS, JONATHAN                     ADDRESS ON FILE
BOWERS, KENNETH                      ADDRESS ON FILE
BOWERS, KENNETH                      ADDRESS ON FILE
BOWERS, LORI                         ADDRESS ON FILE
BOWERS, ROBERT                       ADDRESS ON FILE
BOWERS, RON                          ADDRESS ON FILE
BOWERS, RUSSELL                      ADDRESS ON FILE
BOWERS, STERLING                     ADDRESS ON FILE
BOWERS, VICKY                        ADDRESS ON FILE
BOWERS, WAYNE                        ADDRESS ON FILE
BOWERSOX, BRIAN                      ADDRESS ON FILE
BOWERSOX, DOUGLAS                    ADDRESS ON FILE
BOWES, KEVIN                         ADDRESS ON FILE
BOWICK TRANSPORT                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BOWIE CENTRAL APPRAISAL DISTRICT     C/O MCCREARY VESELKA BRAGG & ALLEN PC ATTN JULIE ANNE PARSONS PO BOX 1269
                                     ROUND ROCK TX 78680-1269
BOWIE COUNTY                         PO BOX 967 NEW BOSTON TX 75570
BOWIE, AARON                         ADDRESS ON FILE
BOWIE, QUENTIN                       ADDRESS ON FILE
BOWKER, JOHN                         ADDRESS ON FILE
BOWKER, KEVIN                        ADDRESS ON FILE
BOWKEYS LOGISTICS LLC                221 SKYLINE DR, SUITE 208-322 EAST STROUDBURG PA 18301
BOWKEYS LOGISTICS LLC                OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
BOWLEG, RAYMESHA                     ADDRESS ON FILE
BOWLEN, BARRY                        ADDRESS ON FILE
BOWLES, DARRYL                       ADDRESS ON FILE
BOWLES, DAVID                        ADDRESS ON FILE
BOWLES, DOLORES                      ADDRESS ON FILE
BOWLES, RAUL                         ADDRESS ON FILE
BOWLIN, KEVIN                        ADDRESS ON FILE
BOWLING GREEN LOGISTICS USA INC      616 ENTERPRISE STREET LAREDO TX 78045
BOWLING, BRIAN                       ADDRESS ON FILE
BOWLING, JACQUELYN                   ADDRESS ON FILE
BOWLING, JEFFREY                     ADDRESS ON FILE
BOWMAN RECYCLING INC                 PO BOX 30123 EAST CANTON OH 44730
BOWMAN SALES AND EQUIPMENT, INC.     10233 GOVERNOR LANE BLVD, PO BOX 433 WILLIAMSPORT MD 21795
BOWMAN TRAILER LEASING, LLC          550 CREEK ROAD DELANCO NJ 08075
BOWMAN TRAILER LEASING, LLC          10233 GOVERNOR LANE BLVD WILLIAMSPORT MD 21795
BOWMAN TRAILER LEASING, LLC          PO BOX 433 WILLIAMSPORT MD 21795



Epiq Corporate Restructuring, LLC                                                                 Page 242 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                            Page 251 of 2156

Claim Name                         Address Information
BOWMAN TRAVELLING                  ATTN: MARVELL T BOWMAN 144 GUNN DR LEESVILLE LA 71446
BOWMAN, ANTHONY                    ADDRESS ON FILE
BOWMAN, BRYCE                      ADDRESS ON FILE
BOWMAN, CHAUMA                     ADDRESS ON FILE
BOWMAN, CRAIG                      ADDRESS ON FILE
BOWMAN, DONALD                     ADDRESS ON FILE
BOWMAN, GARY                       ADDRESS ON FILE
BOWMAN, JACK                       ADDRESS ON FILE
BOWMAN, JAMES                      ADDRESS ON FILE
BOWMAN, JAMES                      ADDRESS ON FILE
BOWMAN, JANET                      ADDRESS ON FILE
BOWMAN, JANET                      ADDRESS ON FILE
BOWMAN, JESSIE                     ADDRESS ON FILE
BOWMAN, JUSTIN                     ADDRESS ON FILE
BOWMAN, KIMOTHY                    ADDRESS ON FILE
BOWMAN, MARC                       ADDRESS ON FILE
BOWMAN, MICHAEL                    ADDRESS ON FILE
BOWMAN, RANDY                      ADDRESS ON FILE
BOWMAN, ROGER                      ADDRESS ON FILE
BOWMAN, S                          ADDRESS ON FILE
BOWMAN, SAMUEL                     ADDRESS ON FILE
BOWMAN, SCOTT                      ADDRESS ON FILE
BOWMAN, THOMAS                     ADDRESS ON FILE
BOWMAN, TOMMY                      ADDRESS ON FILE
BOWMAN, TYLER                      ADDRESS ON FILE
BOWMAN, ZACHARY                    ADDRESS ON FILE
BOWMANS TRUCKING                   OR INTEGRATED LOGISTICS & ASSOCIATES, PO BOX 25189 FARMINGTON NY 14425
BOWMANS, JOSHUA                    ADDRESS ON FILE
BOWMASTER, RALPH                   ADDRESS ON FILE
BOWSER, COLLEEN                    ADDRESS ON FILE
BOWSER, HENRY                      ADDRESS ON FILE
BOX 26 FREIGHT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOX BROTHERS                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BOX II, LOUIS                      ADDRESS ON FILE
BOX ME IN LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BOX TRUXX                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BOX, NICHOLAS                      ADDRESS ON FILE
BOX, RANDALL                       ADDRESS ON FILE
BOX, RASHAAD                       ADDRESS ON FILE
BOX, WILL                          ADDRESS ON FILE
BOXER TRANSPORT INC                1727 N GREGORY DR LAYTON UT 84041-4922
BOXER, JAMES                       ADDRESS ON FILE
BOXTRUCK LOGISTICS LLC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BOXWHEEL TRAILER LEASING, LLC      9001 E 96TH AVENUE HENDERSON CO 80640
BOXWHEEL TRAILER LEASING, LLC      C/O PRIME TRAILER, 1150 W 2100 S SALT LAKE CITY UT 84119
BOXWHEEL TRAILER LEASING, LLC      2530 S 16TH AVE PHOENIX AZ 85007
BOYAL TRANSPORTATION INC           5 DIGREGORIO DR WORCESTER MA 01604
BOYANICH, WILLIAM                  ADDRESS ON FILE
BOYCE, JOSHUA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 243 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 252 of 2156

Claim Name                           Address Information
BOYCE, MICHEL                        ADDRESS ON FILE
BOYCE, RYAN                          ADDRESS ON FILE
BOYCHUK, LORNE                       ADDRESS ON FILE
BOYD AND COMPANY LOGISTICS, LLC      8503 E 100 NORTH CANNELBURG IN 47519
BOYD BROS                            3275 HIGHWAY 30 CLAYTON AL 36016
BOYD ENTERPRISE TRUCKING LLC         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BOYD FLOTATION, INC.                 2440 ADIE RD MARYLAND HEIGHTS MO 63043
BOYD JR, DANIEL                      ADDRESS ON FILE
BOYD, BRADLEY                        ADDRESS ON FILE
BOYD, CAMARI                         ADDRESS ON FILE
BOYD, CEDRIC                         ADDRESS ON FILE
BOYD, CHARLES A                      ADDRESS ON FILE
BOYD, CHRISTOPHER                    ADDRESS ON FILE
BOYD, DAMIAN                         ADDRESS ON FILE
BOYD, DARREN                         ADDRESS ON FILE
BOYD, DAVE                           ADDRESS ON FILE
BOYD, HAROLD                         ADDRESS ON FILE
BOYD, HOWARD                         ADDRESS ON FILE
BOYD, JAMES                          ADDRESS ON FILE
BOYD, JAMIE                          ADDRESS ON FILE
BOYD, JEFFREY                        ADDRESS ON FILE
BOYD, JOSEPH                         ADDRESS ON FILE
BOYD, KEITH                          ADDRESS ON FILE
BOYD, KEITH                          ADDRESS ON FILE
BOYD, KELVIN                         ADDRESS ON FILE
BOYD, KIRK                           ADDRESS ON FILE
BOYD, LORNE                          ADDRESS ON FILE
BOYD, MARY                           ADDRESS ON FILE
BOYD, NATHAN                         ADDRESS ON FILE
BOYD, NORMAN                         ADDRESS ON FILE
BOYD, NORMAN                         ADDRESS ON FILE
BOYD, PRISCILLA                      ADDRESS ON FILE
BOYD, RANDALL                        ADDRESS ON FILE
BOYD, RASHARD                        ADDRESS ON FILE
BOYD, RAYMOND                        ADDRESS ON FILE
BOYD, RICHARD                        ADDRESS ON FILE
BOYD, SHANNON                        ADDRESS ON FILE
BOYD, SHANNON R                      ADDRESS ON FILE
BOYD, STEPHEN                        ADDRESS ON FILE
BOYD, TRAVIS                         ADDRESS ON FILE
BOYD, WARRICK                        ADDRESS ON FILE
BOYD, WILLIAM                        ADDRESS ON FILE
BOYD, ZACHARY                        ADDRESS ON FILE
BOYD-STEVENSON, STEVEN               ADDRESS ON FILE
BOYDON, CHRISTOPHER                  ADDRESS ON FILE
BOYE, LARRY                          ADDRESS ON FILE
BOYER & SONS INC                     937 GRANGE ST REDDING CA 96001
BOYER LOGISTICS, INC.                7318 4TH AVE S SEATTLE WA 98108
BOYER LOGISTICS, INC.                ATTN: JIM KYSER 7318 4TH AVENUE SOUTH SEATTLE WA 98108



Epiq Corporate Restructuring, LLC                                                                Page 244 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 253 of 2156

Claim Name                           Address Information
BOYER TRUCKS                         PO BOX 512 SAINT MICHAEL MN 55376
BOYER TRUCKS                         2601 NE BROADWAY ST MINNEAPOLIS MN 55413
BOYER TRUCKS                         PO BOX 18338 MINNEAPOLIS MN 55418
BOYER, BRUCE                         ADDRESS ON FILE
BOYER, DANIEL J                      ADDRESS ON FILE
BOYER, JOSEPH                        ADDRESS ON FILE
BOYER, KYLE                          ADDRESS ON FILE
BOYER, LINDA                         ADDRESS ON FILE
BOYER, MATTHEW                       ADDRESS ON FILE
BOYER, ROBERT                        ADDRESS ON FILE
BOYER, STEPHEN                       ADDRESS ON FILE
BOYER, TERESA                        ADDRESS ON FILE
BOYER, TODD                          ADDRESS ON FILE
BOYER, WILLIAM                       ADDRESS ON FILE
BOYETTE, SHANDRA                     ADDRESS ON FILE
BOYINGTON, AMY                       ADDRESS ON FILE
BOYKIN, DEANDRE                      ADDRESS ON FILE
BOYKIN, HOWARD                       ADDRESS ON FILE
BOYKIN, MICHAEL                      ADDRESS ON FILE
BOYKIN, TIMOTHY                      ADDRESS ON FILE
BOYKO TRANSPORT INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BOYKO TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BOYLAN, PAUL                         ADDRESS ON FILE
BOYLE TRANSPORTATION SERVICES, LLC   130 SHARP ROAD MARLTON NJ 08053
BOYLE, ANDREW                        ADDRESS ON FILE
BOYLE, JEFFREY                       ADDRESS ON FILE
BOYLE, JEFFREY                       ADDRESS ON FILE
BOYLE, PATRICK                       ADDRESS ON FILE
BOYLE, PATRICK                       ADDRESS ON FILE
BOYLE, SHANE                         ADDRESS ON FILE
BOYLES, LARRY                        ADDRESS ON FILE
BOYNE, RUSSELL                       ADDRESS ON FILE
BOYNTON, THOMAS                      ADDRESS ON FILE
BOZ TRUCKING LLC                     OR TREADSTONE US CAPITAL, LLC, PO BOX 631627 CINCINNATI OH 45263-1627
BOZEMAN INC                          8623 M.G. BLOUNT LANE DENHAM SPRING LA 70726
BOZEMAN JR, LAMONT                   ADDRESS ON FILE
BOZEMAN, DAN                         ADDRESS ON FILE
BOZEMAN, EARNEST                     ADDRESS ON FILE
BOZEMAN, MISTY                       ADDRESS ON FILE
BOZICKOVIC, DEJAN                    ADDRESS ON FILE
BOZMAN SIGN COMPANY                  862 EASTHAGEN DRIVE NASHVILLE TN 37217
BOZYK, JOHN                          ADDRESS ON FILE
BP FUEL STOP                         215-I-90 ALT. CAMP DOUGLAS WI 54618
BP LOGISTICS LLC                     OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
BP RAPID LOGISTICS LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BPD                                  ATTN: CHRISTINA WRIGHT 5710 NE 41ST STREET RIVERSIDE MO 64150
BPEREZ TRUCKING LLC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BPK ENTERPRISES INC                  89 BRANDEL AVE LANCASTER NY 14043
BPK ENTERPRISES INC                  89 BRANDEL AVE. LANCASTER NY 14086



Epiq Corporate Restructuring, LLC                                                                 Page 245 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 254 of 2156

Claim Name                           Address Information
BPMD REALTY                          16785 DONNELL LAKE ST. VANDALIA MI 49095
BPS TECHNOLOGIES                     7385 STATE ROUTE 3 3136 WESTERVILLE OH 43082
BPV ENVIRONMENTAL                    511 76TH ST SW BYRON CENTER MI 49315
BQL LOGISTICS INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BR 72 TRANSPORTATION INC             3465 S ARLINGTON RD SUITE E 201 AKRON OH 44312
BR LOGISTICS                         OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
BR TRANSPORT LLC                     PO BOX 874 OLIVE BRANCH MS 38654
BR WILLIAMS                          ADDRESS ON FILE
BR WILLIAMS TRUCKING INC             ATTN: JACOB FLOYD 2339 HIGHWAY 21 S OXFORD AL 36203
BRA2 LLC                             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BRAASCH, DYLAN                       ADDRESS ON FILE
BRABAZON, JOSEPH                     ADDRESS ON FILE
BRABAZON, JOSEPH T                   ADDRESS ON FILE
BRABHAM LOGISTICS LLC                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
BRABUS TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BRAC 1908 MIA (ALLIED SERVICES       53 WEST SEEGERS ROAD ARLINGTON HEIGHTS IL 60005
DIVISION)
BRACALE, TYLER                       ADDRESS ON FILE
BRACCO, ROBERT                       ADDRESS ON FILE
BRACEY, AARON                        ADDRESS ON FILE
BRACEY, ANTHONY                      ADDRESS ON FILE
BRACEY, KEYAUNDRE                    ADDRESS ON FILE
BRACEY, TERRANCE                     ADDRESS ON FILE
BRACK, MICHAEL                       ADDRESS ON FILE
BRACKET ROAD SERVICE LLC             1630 FREEDOM DR WEST PLAINS MO 65775
BRACKETT, BRIAN                      ADDRESS ON FILE
BRACKSIECK, ALBERT                   ADDRESS ON FILE
BRACONIER                            ATTN: SEAN JACKMAN 4925 NOME ST DENVER CO 80239
BRACONNIER, MARK                     ADDRESS ON FILE
BRACY, DANIEL                        ADDRESS ON FILE
BRACY, JOHN                          ADDRESS ON FILE
BRAD BERGMAN                         ADDRESS ON FILE
BRAD D HOUSER                        ADDRESS ON FILE
BRAD DANIELSON TRUCKING, LLC         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BRAD K MARTINDALE                    ADDRESS ON FILE
BRAD M THOMPSON                      ADDRESS ON FILE
BRAD R SHINN                         ADDRESS ON FILE
BRAD STERLING                        ADDRESS ON FILE
BRAD SUDEYKO                         ADDRESS ON FILE
BRADATSCH, JOSEPH                    ADDRESS ON FILE
BRADBURY, RICHARD A                  ADDRESS ON FILE
BRADBURY, SETH                       ADDRESS ON FILE
BRADDY ELECTRIC COMPANY INC          PO BOX 3837 SAVANNAH GA 31414
BRADEN, BENJAMIN                     ADDRESS ON FILE
BRADEN, THOMAS                       ADDRESS ON FILE
BRADFIELD, DONALD                    ADDRESS ON FILE
BRADFIELD, DONALD                    ADDRESS ON FILE
BRADFORD & GALT                      C/O ETTAIN GROUP, PO BOX 60070 CHARLOTTE NC 28260
BRADFORD EXPRESS INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076



Epiq Corporate Restructuring, LLC                                                                 Page 246 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 255 of 2156

Claim Name                          Address Information
BRADFORD MACIS                      ADDRESS ON FILE
BRADFORD SERVICES                   560 HILLSIDE AVE PENNDEL PA 19047
BRADFORD WHITE                      ADDRESS ON FILE
BRADFORD, ALBERT                    ADDRESS ON FILE
BRADFORD, ALBERT A                  ADDRESS ON FILE
BRADFORD, CORNELIUS                 ADDRESS ON FILE
BRADFORD, CORNELLIUS                ADDRESS ON FILE
BRADFORD, DAVID                     ADDRESS ON FILE
BRADFORD, DOUG                      ADDRESS ON FILE
BRADFORD, JUSTIN                    ADDRESS ON FILE
BRADFORD, LENDON                    ADDRESS ON FILE
BRADFORD, MICHELLE                  ADDRESS ON FILE
BRADFORD, RANDALL                   ADDRESS ON FILE
BRADFORD-SMITH, DEWANDA             ADDRESS ON FILE
BRADHAM, SHERRY                     ADDRESS ON FILE
BRADICK, GERALD                     ADDRESS ON FILE
BRADLEE PANNILL                     ADDRESS ON FILE
BRADLEE PANNILL                     ADDRESS ON FILE
BRADLEY A YOUNG                     ADDRESS ON FILE
BRADLEY C HANLEY                    ADDRESS ON FILE
BRADLEY DEHETRE                     ADDRESS ON FILE
BRADLEY DUBOIS                      ADDRESS ON FILE
BRADLEY FAIR, ROBERT                ADDRESS ON FILE
BRADLEY GROUP                       3635 SWENSON AVE. ST. CHARLES IL 60174
BRADLEY JAY BROWN                   ADDRESS ON FILE
BRADLEY R BEST                      ADDRESS ON FILE
BRADLEY R PEEK                      ADDRESS ON FILE
BRADLEY YOUNG                       ADDRESS ON FILE
BRADLEY, ALYSSA                     ADDRESS ON FILE
BRADLEY, ANDREW                     ADDRESS ON FILE
BRADLEY, BLAKE                      ADDRESS ON FILE
BRADLEY, BRIAN                      ADDRESS ON FILE
BRADLEY, BRIAN                      ADDRESS ON FILE
BRADLEY, CHARLEY                    ADDRESS ON FILE
BRADLEY, CRAIG                      ADDRESS ON FILE
BRADLEY, CYNTHIA                    ADDRESS ON FILE
BRADLEY, DAVID                      ADDRESS ON FILE
BRADLEY, DAVID                      ADDRESS ON FILE
BRADLEY, DOUGLAS                    ADDRESS ON FILE
BRADLEY, EDWIN                      ADDRESS ON FILE
BRADLEY, ERIC                       ADDRESS ON FILE
BRADLEY, ERICA                      ADDRESS ON FILE
BRADLEY, HAILEY                     ADDRESS ON FILE
BRADLEY, JOSHUA                     ADDRESS ON FILE
BRADLEY, KENNETH                    ADDRESS ON FILE
BRADLEY, LATASHA                    ADDRESS ON FILE
BRADLEY, MARIAH                     ADDRESS ON FILE
BRADLEY, MARK                       ADDRESS ON FILE
BRADLEY, MATTHEW                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 247 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 256 of 2156

Claim Name                             Address Information
BRADLEY, MONROE                        ADDRESS ON FILE
BRADLEY, NICOLAS                       ADDRESS ON FILE
BRADLEY, NIGEL                         ADDRESS ON FILE
BRADLEY, RICH                          ADDRESS ON FILE
BRADLEY, ROBERT                        ADDRESS ON FILE
BRADLEY, ROBERT                        ADDRESS ON FILE
BRADLEY, SARA                          ADDRESS ON FILE
BRADLEY, SCOTT                         ADDRESS ON FILE
BRADLEY, SUE                           ADDRESS ON FILE
BRADLEY, TONY                          ADDRESS ON FILE
BRADLEY, VERNELL                       ADDRESS ON FILE
BRADLEY, VERONICA                      ADDRESS ON FILE
BRADLEY, WILLIAM                       ADDRESS ON FILE
BRADLEY, WILLIAM P                     ADDRESS ON FILE
BRADLEY, WILLIAM P                     ADDRESS ON FILE
BRADLEY, WILLIE                        ADDRESS ON FILE
BRADLEYS TRUCK SERVICE INC             2919 BOXMEER DR CHARLOTTE NC 28269
BRADLEYS TRUCK SERVICE INC             2919 BOXMEER RD CHARLOTTE NC 28269
BRADNER, STEVEN L                      ADDRESS ON FILE
BRADS LAWN SERVICE                     308 SPRING CREEK HWY MEDINA TN 38355
BRADS LAWN SERVICE                     533 CUMBERLAND STREET MEDINA TN 38355
BRADS REPAIR                           267 BRANCH DRIVE INWOOD WV 25428
BRADS TOWING LTD                       717 43RD ST E SASKATOON SK S7K 0V7 CANADA
BRADS TOWING LTD                       PO BOX 7341 SASKATOON SK S7K 4J3 CANADA
BRADSHAW INTERNATIONAL INC             ATTN: JUNIOR INIGUES TRAFFIC 9409 BUFFALO AVE RANCHO CUCAMONGA CA 91730
BRADSHAW, EDWARD                       ADDRESS ON FILE
BRADSHAW, GARY                         ADDRESS ON FILE
BRADSHAW, KEITH                        ADDRESS ON FILE
BRADSHAW, KELVIN                       ADDRESS ON FILE
BRADSHAW, MICHAEL                      ADDRESS ON FILE
BRADSHAW, TREVELYAN                    ADDRESS ON FILE
BRADSHAW, WENDY                        ADDRESS ON FILE
BRADSHER, BRANDON                      ADDRESS ON FILE
BRADY INDUSTRIES                       7055 LINDELL RD LAS VEGAS NV 89118
BRADY INDUSTRIES OF TN, LLC            PO BOX 18913 MEMPHIS TN 38181
BRADY INDUSTRIES OF TN, LLC            7055 LINDELL ROAD LAS VEGAS NV 89118
BRADY, BASIL                           ADDRESS ON FILE
BRADY, BYRON                           ADDRESS ON FILE
BRADY, DENISE                          ADDRESS ON FILE
BRADY, JOHN                            ADDRESS ON FILE
BRADY, MICHAEL                         ADDRESS ON FILE
BRADY, MICHAEL A                       ADDRESS ON FILE
BRADY, TIMOTHY                         ADDRESS ON FILE
BRADY, TIMOTHY                         ADDRESS ON FILE
BRADYS PAINTING AND CONSTRUCTION INC   725 WOODLAWN RD LINCOLN IL 62656
BRADYS TRANSPORT, INC.                 OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
BRAGA, LARRY                           ADDRESS ON FILE
BRAGER, SHERRY                         ADDRESS ON FILE
BRAGG, BRIAN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 248 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 257 of 2156

Claim Name                            Address Information
BRAGG, CODY                           ADDRESS ON FILE
BRAGG, JEREMY                         ADDRESS ON FILE
BRAGG, JERRY                          ADDRESS ON FILE
BRAGG, KEVIN                          ADDRESS ON FILE
BRAGG, LARRY                          ADDRESS ON FILE
BRAGG, MARQUIS                        ADDRESS ON FILE
BRAGG, RANDALL T                      ADDRESS ON FILE
BRAGGS, DAVID                         ADDRESS ON FILE
BRAGGS, MARCUS                        ADDRESS ON FILE
BRAGGS, RICKY                         ADDRESS ON FILE
BRAHAM PRECAST STEP CO                ADDRESS ON FILE
BRAHIN, LOUIS                         ADDRESS ON FILE
BRAID FLOORING & WINDOW FASHIONS      710 51ST ST E SASKATOON SK S7K 4K4 CANADA
BRAIDT, CARL                          ADDRESS ON FILE
BRAILSFORD, DANNY                     ADDRESS ON FILE
BRAILSFORD, ROLAND                    ADDRESS ON FILE
BRAIN, CHRISTOPHER                    ADDRESS ON FILE
BRAINA TRANS LLC                      OR ASSIST FINANCIAL SERVICES, INC PO BOX 347 MADISON SD 57042
BRAIWAY LOGISTICS LLC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BRAKE PARTS                           ITS TRAFFIC SYSTEMS, 28915 CLEMENS RD STE 200 WESTLAKE OH 44145
BRAKE PARTS INC ITS TRAFFIC SYSTEMS   28915 CLEMENS RD 200 WESTLAKE OH 44145
BRAKE, WILLIAM                        ADDRESS ON FILE
BRAKHAHN, RANDALL                     ADDRESS ON FILE
BRALAY TRANSPORTATION INC             OR INTERNET TRUCKSTOP PAYMENTS LLC, PO BOX 7410411 CHICAGO IL 60674-0411
BRALEY, JEFF                          ADDRESS ON FILE
BRAM BROTHERS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BRAMALEA FENCE LTD                    322 HORNER AVE ETOBICOKE ON M8W 1Z3 CANADA
BRAMBILA, JOSE                        ADDRESS ON FILE
BRAMBLETT, WILLIAM                    ADDRESS ON FILE
BRAMCITY TRUCKLINES INC.              OR IPS INVOICE PAYMENT SYSTEM, PO BOX 77226 MISSISSAUGA ON L5T2P4 CANADA
BRAMEC CORP                           ATTN: ALAN SMITH 403 N HIGHWAY 105 N SIOUX CITY SD 57049
BRAMLETT, DENNIS                      ADDRESS ON FILE
BRAMLETT, RANDALL                     ADDRESS ON FILE
BRAMPTON ON RDCPARTS PLUS             LENNOX INDUSTRIES INC 1 SPAR DR BRAMPTON ON L6S 6E1 CANADA
BRAMWELL, BYRON                       ADDRESS ON FILE
BRAMWELL, DON                         ADDRESS ON FILE
BRANAGAN, THOMAS                      ADDRESS ON FILE
BRANCATO, JOSEPH                      ADDRESS ON FILE
BRANCH PREMIER ENTERPRISES LLC        OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
BRANCH, BERT                          ADDRESS ON FILE
BRANCH, CARL                          ADDRESS ON FILE
BRANCH, DAVID                         ADDRESS ON FILE
BRANCH, JAMES                         ADDRESS ON FILE
BRANCH, KEON                          ADDRESS ON FILE
BRANCH, MITCHELL                      ADDRESS ON FILE
BRANCH, MORRIS                        ADDRESS ON FILE
BRANCH, PAUL                          ADDRESS ON FILE
BRANCH, PETER                         ADDRESS ON FILE
BRANCH, RENALDO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 249 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 258 of 2156

Claim Name                           Address Information
BRANCH, TYLER                        ADDRESS ON FILE
BRAND MANAGEMENT GROUP LLC           ATTN CARGO CLAIMS, PO BOX 518 LOWELL AR 72745
BRAND MANAGEMENT GROUP LLC           ATTN CLAIMS, PO BOX 518 LOWELL AR 72745
BRAND, ANDREAS                       ADDRESS ON FILE
BRAND, DOUGLAS                       ADDRESS ON FILE
BRANDABERRY, JIMMY                   ADDRESS ON FILE
BRANDAU, CAROL                       ADDRESS ON FILE
BRANDAUER, MICHAEL                   ADDRESS ON FILE
BRANDEN C LETT                       ADDRESS ON FILE
BRANDEN, MORRIS                      ADDRESS ON FILE
BRANDENBURG, CHRISTIE                ADDRESS ON FILE
BRANDENBURG, RYAN                    ADDRESS ON FILE
BRANDENSTEIN, CATHY                  ADDRESS ON FILE
BRANDLE, CURTIS                      ADDRESS ON FILE
BRANDOLINO, JOSEPH                   ADDRESS ON FILE
BRANDON A CARTWRIGHT                 ADDRESS ON FILE
BRANDON A KITCHEN                    ADDRESS ON FILE
BRANDON A LARSON                     ADDRESS ON FILE
BRANDON C S WILSON                   ADDRESS ON FILE
BRANDON HEATH LOONEY                 ADDRESS ON FILE
BRANDON J ABY                        ADDRESS ON FILE
BRANDON J WEAKMAN                    ADDRESS ON FILE
BRANDON L DAVIS                      ADDRESS ON FILE
BRANDON M FORSHEE                    ADDRESS ON FILE
BRANDON M KIMLER                     ADDRESS ON FILE
BRANDON M RASDON                     ADDRESS ON FILE
BRANDON MASON TRUCKING LLC           OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BRANDON O SINGLETON                  ADDRESS ON FILE
BRANDON P KING                       ADDRESS ON FILE
BRANDON SERVICE COMPANY INC          PO BOX 720716 BYRAM MS 39272
BRANDON STAR 5 LLC                   OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
BRANDON, DAVID                       ADDRESS ON FILE
BRANDON, DEMILLE                     ADDRESS ON FILE
BRANDON, GARY                        ADDRESS ON FILE
BRANDON, JOHN                        ADDRESS ON FILE
BRANDOS, LISA                        ADDRESS ON FILE
BRANDSMART                           ATTN: JOE CONTRONE 3200 SW 42ND ST FT LAUDERDALE FL 33312
BRANDT INDUSTRIES INC                2405 RIVERSIDE DRIVE CHATTANOOGA TN 37406
BRANDT TRACTOR LTD                   31 BUCHANAN CRT LONDON ON N5Z 4P9 CANADA
BRANDY ATHERTON                      ADDRESS ON FILE
BRANDY L WONG                        ADDRESS ON FILE
BRANDYS TRANSPORTATION L.L.C.        OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
BRANFORD, NORMAN                     ADDRESS ON FILE
BRANHAM, DANTE                       ADDRESS ON FILE
BRANHAM, DAVID                       ADDRESS ON FILE
BRANHAM, EARL                        ADDRESS ON FILE
BRANIDIS, NICK                       ADDRESS ON FILE
BRANISH, CHARLES                     ADDRESS ON FILE
BRANN, MATHEW                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 250 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 259 of 2156

Claim Name                           Address Information
BRANNAN, DONALD                      ADDRESS ON FILE
BRANNAN, ROBERT                      ADDRESS ON FILE
BRANNING, DAVID                      ADDRESS ON FILE
BRANNOCK, NATHAN                     ADDRESS ON FILE
BRANNON & FAMILY TRUCKING LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BRANNON, GLEN                        ADDRESS ON FILE
BRANNON, RICKY                       ADDRESS ON FILE
BRANSCOMB, WILLIAM                   ADDRESS ON FILE
BRANSFORD, CALVIN                    ADDRESS ON FILE
BRANSON, PATRICK                     ADDRESS ON FILE
BRANSON, PATRICK                     ADDRESS ON FILE
BRANSTETTER, STEPHEN                 ADDRESS ON FILE
BRANT AARVIG                         ADDRESS ON FILE
BRANT, DONALD                        ADDRESS ON FILE
BRANT, GREG                          ADDRESS ON FILE
BRANT, RONALD                        ADDRESS ON FILE
BRANT, THOMAS                        ADDRESS ON FILE
BRANT, WILLIAM                       ADDRESS ON FILE
BRANTLEY, II, HILLARD                ADDRESS ON FILE
BRANTLEY, MARK                       ADDRESS ON FILE
BRANTLEY, PHILIP                     ADDRESS ON FILE
BRANTLEY, WAYNE                      ADDRESS ON FILE
BRANTLEY, WILLIAM                    ADDRESS ON FILE
BRANTNER, ALLEN                      ADDRESS ON FILE
BRANTON, CLIFTON                     ADDRESS ON FILE
BRANTON, LARRY                       ADDRESS ON FILE
BRANTTEL NETWORKS                    3380 SOUTH SERVICE ROAD, SUITE 301 BURLINGTON ON L7N 3J5 CANADA
BRANUM WRECKER SERVICE               1364 OLD HWY 24 TRINITY AL 35673
BRANUMS INC.                         1364 OLD HWY 24 TRINITY AL 35673
BRANZS TRUCKING LLC                  12173 W DEL RIO LN AVONDALE AZ 85323
BRAR LOGISTICS LLC                   810 MAIN ST MILFORD OH 45150
BRAR TRUCK LINE INC                  533 ESSEX COUNTY RD 46 ESSEX ON N8M 2X7 CANADA
BRAR, MANPREET                       ADDRESS ON FILE
BRAR, NIRMAL                         ADDRESS ON FILE
BRAR, SUKHVINDER                     ADDRESS ON FILE
BRAREN, AUSTIN                       ADDRESS ON FILE
BRASCH, CHRISTIAN                    ADDRESS ON FILE
BRASEL, CHRISTOPHER                  ADDRESS ON FILE
BRASHARES, ZANE                      ADDRESS ON FILE
BRASHEARS, ROY                       ADDRESS ON FILE
BRASHERS, TORRE                      ADDRESS ON FILE
BRASIL TRANSPORTATION LLC            OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
BRASILCAN TRUCKING INC               OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
BRASS TRANSPORT INC                  OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
BRASSFIELD, SANFORD                  ADDRESS ON FILE
BRATCHER, DEACON                     ADDRESS ON FILE
BRATCHER, PONSAY                     ADDRESS ON FILE
BRATCHER, TYREE                      ADDRESS ON FILE
BRATTON GROUND LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                 Page 251 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 260 of 2156

Claim Name                            Address Information
BRATTON, DONALD                       ADDRESS ON FILE
BRATTON, WILLIAM                      ADDRESS ON FILE
BRATTS LLC                            6990 W M 21 OVID MI 48866
BRATZ, MATT                           ADDRESS ON FILE
BRAUN EXPRESS                         10 TANDEM WAY HOPEDALE MA 01747
BRAUN, EDUARD                         ADDRESS ON FILE
BRAUN, GARRY                          ADDRESS ON FILE
BRAUN, JACKIE                         ADDRESS ON FILE
BRAUN, JENNY                          ADDRESS ON FILE
BRAUN, SHON                           ADDRESS ON FILE
BRAUNERS GARAGE                       N7630 CTY RD E BLACK RIVER FALLS WI 54615
BRAVATA, BRIDGET                      ADDRESS ON FILE
BRAVE FREIGHT                         OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
BRAVE HAUL INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRAVE STAR TRANSPORTATION LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BRAVEHEART TRUCKING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BRAVO EXPRESS TRUCKING INC            303 9TH ST WEST BABYLON NY 11704
BRAVO FREIGHTLINES                    OR J D FACTORS CORPORATION, 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                      CANADA
BRAVO LINES LLC                       OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320
BRAVO LOGISTICS INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BRAVO LOGISTICS LLC (SNELLVILLE GA)   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRAVO TRANSPORT LLC                   631 EXECUTIVE DR WILLOWBROOK IL 60527
BRAVO TRANSPORTATION SERVICES CORP    OR TAB BANK, PO BOX 150830 OGDEN UT 84415
BRAVO TRUCKING & DELIVERY LLC         OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
BRAVO, DONALD                         ADDRESS ON FILE
BRAVO, DONALD J                       ADDRESS ON FILE
BRAVO, MARK                           ADDRESS ON FILE
BRAVO, YOVANI                         ADDRESS ON FILE
BRAVO-RAMIREZ, RICARDO                ADDRESS ON FILE
BRAVOS TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRAWNER, MICHELE                      ADDRESS ON FILE
BRAXTON, DAMIAN                       ADDRESS ON FILE
BRAXTON, DAMON                        ADDRESS ON FILE
BRAXTON, DEJUAN                       ADDRESS ON FILE
BRAXTON, HERMAN                       ADDRESS ON FILE
BRAXTON, TROY                         ADDRESS ON FILE
BRAXTON, WILLIAM                      ADDRESS ON FILE
BRAY, JIMMY                           ADDRESS ON FILE
BRAY, RANDY N                         ADDRESS ON FILE
BRAYMAK LOGISTICS                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
BRAYNEN, JEVONTE                      ADDRESS ON FILE
BRAYTON, DENNIS                       ADDRESS ON FILE
BRAYTON, PETER                        ADDRESS ON FILE
BRAZAS FIRE & SAFETY EQUIPMENT CO.    2900 WELLESLEY DR NE ALBUQUERQUE NM 87107
BRAZAS FIRE & SAFETY EQUIPMENT CO.    3207 MATTHEW AVE NE ALBUQUERQUE NM 87107
BRAZE LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRAZEAL, FORREST ANDREW               ADDRESS ON FILE
BRAZELTON, PAUL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 252 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 261 of 2156

Claim Name                           Address Information
BRAZER, TRUSTIN                      ADDRESS ON FILE
BRAZEWAY LLC                         2711 E MAUMEE ST ATTN MEREDITH ELLIOTT ADRIAN MI 49221
BRAZIER, RONALD                      ADDRESS ON FILE
BRAZIER, WARD                        ADDRESS ON FILE
BRAZIL, FRANK                        ADDRESS ON FILE
BRAZZALE, SCOTT                      ADDRESS ON FILE
BRAZZEL, AHKEELA                     ADDRESS ON FILE
BRAZZLE, ALEXANDER                   ADDRESS ON FILE
BRAZZON, ROBB                        ADDRESS ON FILE
BRB DISTRIBUTION                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BRC GROUP LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRDAR, JOHN                          ADDRESS ON FILE
BREAKDOWN SOLUTIONS                  PO BOX 628 RINGGOLD GA 30736
BREAKER GLASS CO.                    8747 JOHN DAY DRIVE GOLD HILL OR 97525
BREAKVIEW TRAINING INC               20 BAY ST. 11TH FLOOR TORONTO ON M5J 2N8 CANADA
BREAM, GINA                          ADDRESS ON FILE
BREARY, JABARI                       ADDRESS ON FILE
BREASBOIS, TIM                       ADDRESS ON FILE
BREAZEALE, LEANNE                    ADDRESS ON FILE
BRECEDA, MICHAEL                     ADDRESS ON FILE
BRECEDA, RAYMOND B                   ADDRESS ON FILE
BRECHON, LISA                        ADDRESS ON FILE
BRECHTEL, PHILIP                     ADDRESS ON FILE
BRECHTEL, ROBERT                     ADDRESS ON FILE
BRECKLING, EDWARD                    ADDRESS ON FILE
BREDA BEDS                           ADDRESS ON FILE
BREDAHL, DOUGLAS                     ADDRESS ON FILE
BREDWELL, LORETTA                    ADDRESS ON FILE
BREECE, MICHAEL                      ADDRESS ON FILE
BREEDEN, JAMES                       ADDRESS ON FILE
BREEDEN, MARTIN                      ADDRESS ON FILE
BREEDLOVE, JAMIE                     ADDRESS ON FILE
BREEDLOVE, RUBEN                     ADDRESS ON FILE
BREEN D REEVES                       ADDRESS ON FILE
BREEN, DANIEL                        ADDRESS ON FILE
BREEN, DANIEL                        ADDRESS ON FILE
BREEN, JAMES                         ADDRESS ON FILE
BREESE JR, EDWARD                    ADDRESS ON FILE
BREEZE HAULING LLC                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
BREEZE LINE GROUP INC                240 E LAKE ST SUITE 104 ADDISON IL 60101
BREEZE TRANSPORTATION INCORPORATED   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BREEZY POINT TRUCK REPAIR            PO BOX 1298 STRATFORD CT 06615
BREEZYS FREIGHT MOVEMENT LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BREGAR, SCOTT                        ADDRESS ON FILE
BREGAR, SCOTT                        ADDRESS ON FILE
BREGLIO, DANIEL                      ADDRESS ON FILE
BREHM, TREVOR                        ADDRESS ON FILE
BREHMAN, GEORGE                      ADDRESS ON FILE
BREHOB CORPORATION                   PO BOX 2023, 1334 S. MERIDIAN ST. INDIANAPOLIS IN 46206



Epiq Corporate Restructuring, LLC                                                                Page 253 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 262 of 2156

Claim Name                              Address Information
BREIDING, TAMMY                        ADDRESS ON FILE
BREIHAN, MATTHEW                       ADDRESS ON FILE
BREILING, KEVIN                        ADDRESS ON FILE
BREILING, MARLA                        ADDRESS ON FILE
BREINZ, PAUL                           ADDRESS ON FILE
BREIT INDUSTRIAL CANYON GA 1B01 LLC    C/O LINK INDUSTRIAL MANAGEMENT 602 W OFFICE CENTER DRIVE SUITE 200 FORT
                                       WASHINGTON PA 30122
BREIT INDUSTRIAL CANYON GA1B01 LLC     222 S RIVERSIDE PLAZA SUITE 2000 CHICAGO IL 60606
BREITSPRECHER, DANIEL                  ADDRESS ON FILE
BREITZKE, JEFFREY                      ADDRESS ON FILE
BREJT, ABRAHAM                         ADDRESS ON FILE
BRELAND, COLBY R                       ADDRESS ON FILE
BRELINSKI, MICHAEL                     ADDRESS ON FILE
BREMER, ROBERT                         ADDRESS ON FILE
BRENDA A FREI                          ADDRESS ON FILE
BRENDA JEZIORSKI                       ADDRESS ON FILE
BRENDA K SCHELHORN                     ADDRESS ON FILE
BRENDA, PATRICK                        ADDRESS ON FILE
BRENDAMOUR MOVING & STORAGE INC.       2630 GLENDALE MILFORD ROAD CINCINNATI OH 45241
BRENDAN J FARRAHER                     ADDRESS ON FILE
BRENDEN E HUFFMAN                      ADDRESS ON FILE
BRENDEN HUFFMAN                        ADDRESS ON FILE
BRENDON OKIA                           ADDRESS ON FILE
BRENDON R HOLWADEL                     ADDRESS ON FILE
BRENDONS TRANSPORTATION LLC            OR CARRIERNET GROUP FINANCIAL, PO BOX 1130 SIOUX FALLS SD 57101
BRENDSEL, KELLY                        ADDRESS ON FILE
BRENHAM FIRST SOURCE                   ATTN: TAYLOR PENNELL 55 GEERS ROAD BRENHAM TX 77833
BRENIZER, ARNOLD                       ADDRESS ON FILE
BRENNAN INDUSTRIES                     20411 BARENTS SEA CIRCLE LAKE FOREST CA 92630
BRENNAN, CHRISTOPHER                   ADDRESS ON FILE
BRENNAN, GERARD P                      ADDRESS ON FILE
BRENNAN, JAMES                         ADDRESS ON FILE
BRENNAN, JASON                         ADDRESS ON FILE
BRENNAN, JON                           ADDRESS ON FILE
BRENNAN, KERI                          ADDRESS ON FILE
BRENNAN, ROBERT                        ADDRESS ON FILE
BRENNEMAN, ROBERT                      ADDRESS ON FILE
BRENNER OIL COMPANY                    PO BOX 772874 CHICAGO IL 60677-2874
BRENNER, COREY                         ADDRESS ON FILE
BRENNER, LEONARD                       ADDRESS ON FILE
BRENNER, RODNEY                        ADDRESS ON FILE
BRENNER, TODD                          ADDRESS ON FILE
BRENNFOERDER ARCHITECTURAL SERVICES LLC 1902 N PARK LN JOPLIN MO 64801
BRENNTAG                               11750 FRUEHAUF DR. CHARLOTTE NC 28273
BRENNY SPECIALIZED, INC.               PO BOX 190 SAINT JOSEPH MN 56374
BRENT C SWINDLER                       ADDRESS ON FILE
BRENT J KRAGNES                        ADDRESS ON FILE
BRENT JOHNSON - JA                     ADDRESS ON FILE
BRENT MAY TRANSPORT, INC.              761 OVERSTREET ROAD NYSSA OR 97913



Epiq Corporate Restructuring, LLC                                                                 Page 254 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 263 of 2156

Claim Name                          Address Information
BRENT OLSON                         ADDRESS ON FILE
BRENT, EDMONDSON W                  ADDRESS ON FILE
BRENT, JAMES                        ADDRESS ON FILE
BRENT, JAMES                        ADDRESS ON FILE
BRENT, MAJOR                        ADDRESS ON FILE
BRENT, MARCO                        ADDRESS ON FILE
BRENT, NIKKI                        ADDRESS ON FILE
BRENTNALL, ROBERT                   ADDRESS ON FILE
BRESCIA, JOHN                       ADDRESS ON FILE
BRESCIA, RONALD A                   ADDRESS ON FILE
BRESEE, BERT                        ADDRESS ON FILE
BRESHEARS, JIMMIE                   ADDRESS ON FILE
BRESHEARS, MAX                      ADDRESS ON FILE
BRESHEARS, ROBERT                   ADDRESS ON FILE
BRESSLER, TODD                      ADDRESS ON FILE
BRESSLERS GARAGE, INC.              2994 E VALLEY RD LOGANTON PA 17747
BRETON VACHERESSE                   ADDRESS ON FILE
BRETON, KENNETH                     ADDRESS ON FILE
BRETT A NILLES                      ADDRESS ON FILE
BRETT CHMIEL                        ADDRESS ON FILE
BRETT J PARRISH                     ADDRESS ON FILE
BRETT W. HAWKINS                    ADDRESS ON FILE
BRETTELL, ANTHONY                   ADDRESS ON FILE
BRETTS TOWING                       3160 REEVES AVE OGDEN UT 84401
BRETZ & COMPANY                     6596 SPRING RD STE 1 SHERMANS DALE PA 17090
BRETZ & COMPANY                     6596 SPRING ROAD SUITE SHERMANS DALE PA 17090
BRETZ, ANGELA                       ADDRESS ON FILE
BRETZ, BRIAN                        ADDRESS ON FILE
BREUER, JAMES                       ADDRESS ON FILE
BREUGEM, ROBIN                      ADDRESS ON FILE
BREUNIG, KRIS                       ADDRESS ON FILE
BREVARD, KEVIN                      ADDRESS ON FILE
BREVILLE                            GEODIS, PO BOX 2208 BRENTWOOD TN 37024
BREW CITY TRANSPORT LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BREW DOCTOR KOMBUCHA                12241 SW MYSLONY ST. TUALATIN OR 97062
BREWER JR, FRANK                    ADDRESS ON FILE
BREWER LOGISTICS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BREWER TRUCKING INC (MC1197946)     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BREWER, BARBARA                     ADDRESS ON FILE
BREWER, BARBARA                     ADDRESS ON FILE
BREWER, BILL                        ADDRESS ON FILE
BREWER, CAROL                       ADDRESS ON FILE
BREWER, DARRICK                     ADDRESS ON FILE
BREWER, DARRICK L                   ADDRESS ON FILE
BREWER, DARRIN                      ADDRESS ON FILE
BREWER, DENNIS                      ADDRESS ON FILE
BREWER, DERMONTY                    ADDRESS ON FILE
BREWER, DUANE                       ADDRESS ON FILE
BREWER, ERIC                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 255 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 264 of 2156

Claim Name                          Address Information
BREWER, ERIC                        ADDRESS ON FILE
BREWER, ERIC                        ADDRESS ON FILE
BREWER, EUGENE                      ADDRESS ON FILE
BREWER, HAILEY                      ADDRESS ON FILE
BREWER, JAMES                       ADDRESS ON FILE
BREWER, JAY                         ADDRESS ON FILE
BREWER, JEFFREY                     ADDRESS ON FILE
BREWER, JOHN                        ADDRESS ON FILE
BREWER, JOHNNIE                     ADDRESS ON FILE
BREWER, JOSHUA                      ADDRESS ON FILE
BREWER, JUSTIN                      ADDRESS ON FILE
BREWER, KAMILAH                     ADDRESS ON FILE
BREWER, KRIS                        ADDRESS ON FILE
BREWER, KYLER                       ADDRESS ON FILE
BREWER, LARRY                       ADDRESS ON FILE
BREWER, LEVAR                       ADDRESS ON FILE
BREWER, MATTHEW                     ADDRESS ON FILE
BREWER, MELISSA                     ADDRESS ON FILE
BREWER, PAUL                        ADDRESS ON FILE
BREWER, RASHEEM                     ADDRESS ON FILE
BREWER, ROBERT A                    ADDRESS ON FILE
BREWER, ROBERT S                    ADDRESS ON FILE
BREWER, RODERICK                    ADDRESS ON FILE
BREWER, RUTHIE                      ADDRESS ON FILE
BREWER, VANESSA                     ADDRESS ON FILE
BREWER, WILLIAM                     ADDRESS ON FILE
BREWER, WILLIAM                     ADDRESS ON FILE
BREWER, WILLIE                      ADDRESS ON FILE
BREWSTER LOGISTICS LLC              OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BREWSTER, AARON                     ADDRESS ON FILE
BREWSTER, FRENNIE                   ADDRESS ON FILE
BREWSTER, STANLEY                   ADDRESS ON FILE
BREWTON, DEVONTE                    ADDRESS ON FILE
BREYERS TRUCKING LLC                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
BREYLEY, KEVIN                      ADDRESS ON FILE
BREZNAI, KEVIN                      ADDRESS ON FILE
BRG GENERAL TRANSPORTATION LLC      OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674-7671
BRI VIR TRUCKING INC                16780 SW 81ST AVE PALMETTO BAY FL 33157
BRIAN & SONS INC                    113 MAIN STREET, SUITE 202 OSWEGO IL 60543
BRIAN A FAILING                     ADDRESS ON FILE
BRIAN A FRANCIS                     ADDRESS ON FILE
BRIAN BARU COMPANY                  ATTN: JULIE MCDONALD 2303 NE 29TH TER STE 103 OCALA FL 34470
BRIAN BOSTICK TRANSPORTATION LLC    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BRIAN BUDZINSKI                     ADDRESS ON FILE
BRIAN D RESCH                       ADDRESS ON FILE
BRIAN D RESCH                       ADDRESS ON FILE
BRIAN E BOWLING                     ADDRESS ON FILE
BRIAN E VERDONE                     ADDRESS ON FILE
BRIAN EXPRESS                       6201 S ACE INDUSTRIAL DR 100 CUDAHY WI 53110



Epiq Corporate Restructuring, LLC                                                             Page 256 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 265 of 2156

Claim Name                          Address Information
BRIAN G BONNESEN                    ADDRESS ON FILE
BRIAN H WILSON                      ADDRESS ON FILE
BRIAN HILL                          ADDRESS ON FILE
BRIAN K ALERS                       ADDRESS ON FILE
BRIAN K BAUMGARDNER                 ADDRESS ON FILE
BRIAN K HOWES                       ADDRESS ON FILE
BRIAN K MISTER 10                   ADDRESS ON FILE
BRIAN K NELSON                      ADDRESS ON FILE
BRIAN K SECHRIST                    ADDRESS ON FILE
BRIAN K VANBEEK                     ADDRESS ON FILE
BRIAN KOCH                          ADDRESS ON FILE
BRIAN L MILLER                      ADDRESS ON FILE
BRIAN L ROBBINS                     ADDRESS ON FILE
BRIAN LAMARCHE                      ADDRESS ON FILE
BRIAN LAPORTE                       ADDRESS ON FILE
BRIAN LEE                           ADDRESS ON FILE
BRIAN M GERLER                      ADDRESS ON FILE
BRIAN M HECHT                       ADDRESS ON FILE
BRIAN MOORE                         ADDRESS ON FILE
BRIAN OLIVER                        ADDRESS ON FILE
BRIAN R GROLLA                      ADDRESS ON FILE
BRIAN RICHMOND                      ADDRESS ON FILE
BRIAN S PERRY                       ADDRESS ON FILE
BRIAN SANDERS                       ADDRESS ON FILE
BRIAN TRANSPORTATION LLC            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
BRIAN VINCION                       ADDRESS ON FILE
BRIANA L REEVES                     ADDRESS ON FILE
BRIANNA G BACA                      ADDRESS ON FILE
BRIANNA M NEELD                     ADDRESS ON FILE
BRICKER TRANSPORT                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BRICZ LLC                           4780 ASHFORD DUNWOODY RD, STE A 540/413 ATLANTA GA 30338
BRIDDELL, KADEEM                    ADDRESS ON FILE
BRIDDICK, MAX                       ADDRESS ON FILE
BRIDEGAM, TIMOTHY                   ADDRESS ON FILE
BRIDENBAKER, JACQUELINE             ADDRESS ON FILE
BRIDGE MY RETURN LLC                417 WEDGEMERE PL LIBERTYVILLE IL 60048
BRIDGE TRANSPORTATION, INC.         25 CHUCK DRIVE, UNIT 9 DRACUT MA 01826
BRIDGE, STEVEN                      ADDRESS ON FILE
BRIDGELINE TRANSPORTATION LLC       3401 MALLORY LANE STE. 100 FRANKLIN TN 37067
BRIDGEMAN, ROGER                    ADDRESS ON FILE
BRIDGEPOINT FREIGHT LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BRIDGEPORT EXPRESS CARE, INC        1370 JOHNSON AVE, 1ST FLOOR BRIDGEPORT WV 26330
BRIDGEPORT TRUCKING                 11681 ANDRIENNE DR EL PASO TX 79936
BRIDGES & JONES TRANSPORT LLC       OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
BRIDGES CARRIERS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRIDGES, ALFAGOA                    ADDRESS ON FILE
BRIDGES, ALPHONSO                   ADDRESS ON FILE
BRIDGES, BRUCE W                    ADDRESS ON FILE
BRIDGES, CORY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 257 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 266 of 2156

Claim Name                             Address Information
BRIDGES, JAMES                         ADDRESS ON FILE
BRIDGES, MARVIN                        ADDRESS ON FILE
BRIDGES, MATTHEW                       ADDRESS ON FILE
BRIDGES, MAXWELL                       ADDRESS ON FILE
BRIDGES, MICHAEL                       ADDRESS ON FILE
BRIDGES, MIKE                          ADDRESS ON FILE
BRIDGESTONE AMERICAS                   PO BOX 905392 CHARLOTTE NC 28290
BRIDGESTONE AMERICAS                   PO BOX 73418 CHICAGO IL 60673-7418
BRIDGESTONE AMERICAS                   PO BOX 730026 DALLAS TX 75373
BRIDGESTONE CANADA INC                 BOX CP 7494 STATION A TORONTO ON M5W3C1 CANADA
BRIDGETTE C DOUGLAS                    ADDRESS ON FILE
BRIDGETTS, CHRISTOPHER                 ADDRESS ON FILE
BRIDGEWATER, SCOTT                     ADDRESS ON FILE
BRIDGEWAY TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
BRIDWELL, RALPH J                      ADDRESS ON FILE
BRIELLA TRANSPORT INC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BRIEN DODDERER                         ADDRESS ON FILE
BRIETZKE, FREDDIE                      ADDRESS ON FILE
BRIGA TRANSPORT INC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
BRIGADE FIRE PROTECTION, INC.          5701 SAFETY DR NE BELMONT MI 49306
BRIGADE TRUCKING                       509 RIDGELAND DR SANDERSVILLE 31082-3252
BRIGGS & STRATTON LLC                  12301 W WIRTH ST WAUWATOSA WI 53222
BRIGGS EQUIPMENT, INC.                 10540 N STEMMONS FREEWAY DALLAS TX 75220
BRIGGS EQUIPMENT, INC.                 LOCKBOX 841272 DALLAS TX 75284
BRIGGS MUHAMMAD GROUP LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BRIGGS, CHAD                           ADDRESS ON FILE
BRIGGS, DAMIAN                         ADDRESS ON FILE
BRIGGS, DEMARYE                        ADDRESS ON FILE
BRIGGS, ELIJAH                         ADDRESS ON FILE
BRIGGS, JOSEPH                         ADDRESS ON FILE
BRIGGS, TONY                           ADDRESS ON FILE
BRIGGS, TYLER                          ADDRESS ON FILE
BRIGGS, WILLIAM                        ADDRESS ON FILE
BRIGHAM, JOHN                          ADDRESS ON FILE
BRIGHAM, RICHARD S                     ADDRESS ON FILE
BRIGHT EARTH FOODS                     ATTN: GENERAL COUNSEL PO BOX 3299 ASHLAND OR 97520
BRIGHT EXPRESS LLC                     OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
BRIGHT FLEET LLC                       OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320-5154
BRIGHT FUTURE ELECTRIC, LLC            3420 RICHARD ARRINGTON JR. BLVD. NORTH BIRMINGHAM AL 35234
BRIGHT FUTURE TRUCKING LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BRIGHT LIGHT INC                       OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
BRIGHT LIGHT TRUCKING, LLC             916 VILLA RIDGE PKWY LAWRENCEVILLE GA 30044
BRIGHT LION EXPRESS, LLC               1008 CAROLINA AVE PHARR TX 78577
BRIGHT PLUMBING HEATING AND ELECTRIC   15-520 SOLOMON DR REGINA SK S4N 4N7 CANADA
LTD
BRIGHT PLUMBING HEATING AND ELECTRIC   2711 PARTRIDGE CRES REGINA SK S4R 8L2 CANADA
LTD
BRIGHT SIDE ELECTRIC INC               10039 209TH AVE NW ELK RIVER MN 55330
BRIGHT SKY TRANSPORT LLC               37461 SCHOOLCRAFT RD LIVONIA MI 48150



Epiq Corporate Restructuring, LLC                                                                   Page 258 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 267 of 2156

Claim Name                             Address Information
BRIGHT STAR TRUCKING INC               717 TABERNACLE LN LYMAN SC 29365
BRIGHT TRANSPORT LTD                   12688 69AVE SURREY BC V3W 1K6 CANADA
BRIGHT WILL COVER TRANSPORTATION LLC   OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
BRIGHT, BENJAMIN                       ADDRESS ON FILE
BRIGHT, BENJAMIN T                     ADDRESS ON FILE
BRIGHT, BRYAN                          ADDRESS ON FILE
BRIGHT, DANNY                          ADDRESS ON FILE
BRIGHT, DANNY                          ADDRESS ON FILE
BRIGHT, DAVID                          ADDRESS ON FILE
BRIGHT, DAVID J                        ADDRESS ON FILE
BRIGHT, PAYTON                         ADDRESS ON FILE
BRIGHT, RONALD                         ADDRESS ON FILE
BRIGHTBEAN LABS                        ADDRESS ON FILE
BRIGHTON BEST INTL INC                 ATTN: CRISTEN BEUKERS 6911 FAIRBANKS N HOUSTON RD STE 150 HOUSTON TX 77040
BRIGHTON FORD                          ADDRESS ON FILE
BRIGHTSIDE LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRIGHTSPEED                            1120 S TRYON ST STE 700 CHARLOTTE NC 28203
BRIGHTSPEED                            PO BOX 6102 CAROL STREAM IL 60197
BRIGHTSTAR TRANSPORTATION LLC          OR WEX FLEETONE, PO BOX 94565 CLEVELAND OH 44101
BRIGHTVU AUTO GLASS INC.               2064 CREEKBEND PLACE LONDON ON N6G 0E8 CANADA
BRIGHTWELL, DANNY                      ADDRESS ON FILE
BRIGHTWELL, ROBERTA                    ADDRESS ON FILE
BRILEY M H STEFL                       ADDRESS ON FILE
BRILEY, DEVAN                          ADDRESS ON FILE
BRIM, BENNIE                           ADDRESS ON FILE
BRIM, PAUL                             ADDRESS ON FILE
BRIMHALL, ROXANNA                      ADDRESS ON FILE
BRIMMER, JAMES                         ADDRESS ON FILE
BRIMON TRANSPORT LLC                   OR FINANCIAL CARRIER SERVICES, PO BOX 151052 OGDEN UT 84415
BRINCEFIELD, PAUL                      ADDRESS ON FILE
BRINCKS, JULIA                         ADDRESS ON FILE
BRINDELL, CHRIS                        ADDRESS ON FILE
BRINDLE, TIMOTHY                       ADDRESS ON FILE
BRINDLEY, CHACE                        ADDRESS ON FILE
BRINDLEY, MARTY                        ADDRESS ON FILE
BRINE JR, JOSEPH G                     ADDRESS ON FILE
BRINEY, LARRY                          ADDRESS ON FILE
BRINGHURST, JOHN                       ADDRESS ON FILE
BRINGUS, ALEXANDRIA                    ADDRESS ON FILE
BRINK, CHRISTOPHER                     ADDRESS ON FILE
BRINK, CHRISTOPHER                     ADDRESS ON FILE
BRINK, DONALD                          ADDRESS ON FILE
BRINK, NICHOLAS                        ADDRESS ON FILE
BRINKER, CECIL L                       ADDRESS ON FILE
BRINKER, DOYEN                         ADDRESS ON FILE
BRINKER, MATTHEW                       ADDRESS ON FILE
BRINKER, MATTHEW                       ADDRESS ON FILE
BRINKERHOFF, STEPHEN                   ADDRESS ON FILE
BRINKLEY, JEFFERY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 259 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 268 of 2156

Claim Name                              Address Information
BRINKMAN, KEVIN                        ADDRESS ON FILE
BRINKS TOWING                          5821 E 52ND AVE, UNIT B COMMERCE CITY CO 80022
BRINLEY, NICHOLAS                      ADDRESS ON FILE
BRINSON, LEONARD                       ADDRESS ON FILE
BRINSON, URON                          ADDRESS ON FILE
BRINTLEY, JERRY                        ADDRESS ON FILE
BRINTON, MELISSA                       ADDRESS ON FILE
BRIONES BANUELOS, MARIA                ADDRESS ON FILE
BRIONES, JEFFREY B                     ADDRESS ON FILE
BRISBIN, DAVID                         ADDRESS ON FILE
BRISCO, DARRELL                        ADDRESS ON FILE
BRISCO, EARL                           ADDRESS ON FILE
BRISCO, EUSTACE                        ADDRESS ON FILE
BRISCOE, DEONTAE                       ADDRESS ON FILE
BRISCOE, DIMITRI                       ADDRESS ON FILE
BRISCOE, HEATH                         ADDRESS ON FILE
BRISCOE, JAMES                         ADDRESS ON FILE
BRISCOE, JOSEPH                        ADDRESS ON FILE
BRISCOE, RAYMOND                       ADDRESS ON FILE
BRISCOE, VALENCIA                      ADDRESS ON FILE
BRISENDINE, THOMAS                     ADDRESS ON FILE
BRISENO, HUMBERTO                      ADDRESS ON FILE
BRISK EXPRESS LLC                      OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
BRISKI INDUSTRIAL SPLY CO INC          5919 ARCHER AVE CHICAGO IL 60638
BRISON TRANSPORT LLC                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BRISTER, HOSEA                         ADDRESS ON FILE
BRISTER, TYRONE                        ADDRESS ON FILE
BRISTOL HOSPITAL MULTI-SPECIALITY GROUP DEPT 2000 PO BOX 986507 BOSTON MA 02298
BRISTOL MOTOR TRANSPORT, INC.          PO BOX 141 BRISTOL WI 53104
BRISTOL TRUCKING LLC                   61218 MUSTANG DR SOUTH LYON MI 48178
BRISTOR, DANIEL                        ADDRESS ON FILE
BRISTOR, DANIEL                        ADDRESS ON FILE
BRISTOW, JUDY                          ADDRESS ON FILE
BRISTOW, PAUL                          ADDRESS ON FILE
BRITANNIA FLEET SERVICES               5845 LUKE ROAD, UNIT 5 MISSISSAUGA ON L4W2K5 CANADA
BRITE ELECTRIC INC                     PO BOX 1190 GRANGER IN 46530-1190
BRITE ELECTRIC INC                     PO BOX 1034 MISHAWAKA IN 46546
BRITE LOGISTICS INC                    5000 S HOMAN AVE CHICAGO IL 60632
BRITO TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BRITO, ANGEL                           ADDRESS ON FILE
BRITO, ANTONIO                         ADDRESS ON FILE
BRITO, SANTIAGO                        ADDRESS ON FILE
BRITPEN LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BRITT JR, KENNETH                      ADDRESS ON FILE
BRITT LEWIS FORKLIFT HUNTER LLC        21605 TALBOT LN ROBERTSDALE AL 36567
BRITT, ADAM                            ADDRESS ON FILE
BRITT, DEVIN                           ADDRESS ON FILE
BRITT, JOHN                            ADDRESS ON FILE
BRITT, KARESSA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 260 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 269 of 2156

Claim Name                            Address Information
BRITT, MARK                           ADDRESS ON FILE
BRITT, PELHAM                         ADDRESS ON FILE
BRITT, ROBERT                         ADDRESS ON FILE
BRITT, TIMOTHY                        ADDRESS ON FILE
BRITTANY GAY                          ADDRESS ON FILE
BRITTANY L SANFORD                    ADDRESS ON FILE
BRITTANY PRESTON-MCLEOD               ADDRESS ON FILE
BRITTEN INC                           2322 CASS ROAD TRAVERSE CITY MI 49684
BRITTENHAM, TAMARA                    ADDRESS ON FILE
BRITTINEY L WINTERS                   ADDRESS ON FILE
BRITTINEY L WINTERS                   ADDRESS ON FILE
BRITTON, ANTHONY                      ADDRESS ON FILE
BRITTON, ANTHONY D                    ADDRESS ON FILE
BRITTON, CHARLOTTE                    ADDRESS ON FILE
BRITTON, DANNY                        ADDRESS ON FILE
BRITTON, EDWARD                       ADDRESS ON FILE
BRITTON, KRISTY                       ADDRESS ON FILE
BRITTON, RODNEY                       ADDRESS ON FILE
BRITTON, SAMANTHA                     ADDRESS ON FILE
BRITTON, SHANNON                      ADDRESS ON FILE
BRITTON, TERRANCE                     ADDRESS ON FILE
BRITTON-GIPSON, SEAN                  ADDRESS ON FILE
BRITTONS WRECKER SERVICE INC          210 GLEN HALL DRIVE MOUNDS IL 62964
BRITTS TRUCK & TRAILER SERVICE        4719 QUAIL LAKE DR SUITE G PMB 207 STOCKTON CA 95207
BRITTS TRUCK AND TRAILER SERVICE      PMB 207, 4719 QUAIL LAKES DRIVE STE G STOCKTON CA 95207
BRIWAY LOGISTICS INC                  481 TALL GRASS CIRCLE LAKE ZURICH IL 60047
BRIXTER, JASON                        ADDRESS ON FILE
BRIXTON TRANSPORTATION INC            OR TAB BANK, PO BOX 150830 OGDEN UT 84415
BRIZUELA, DAVID                       ADDRESS ON FILE
BRK EXPRESS INC.                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BRM LOGISTICS INC                     5401 OLYMPIC WAY APT 3 SACRAMENTO CA 95842-2507
BRNELL MANSFIELD DICKERSON            ADDRESS ON FILE
BRNICKY, SAMUEL                       ADDRESS ON FILE
BRO HAWK EXPRESS INC                  P O BOX 235 NEWBURG MD 20664
BRO TRUCKING & CRANE SERVICE LLC      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
BRO-KAGAE TRANSPORT & LOGISTICS LLC   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BROADBENT, RYAN                       ADDRESS ON FILE
BROADDUS, ROBERT                      ADDRESS ON FILE
BROADIOUS, DANARI                     ADDRESS ON FILE
BROADLEAF CONTRACTING, INC.           PO BOX 2917 MOULTRIE GA 31776
BROADNAX, CHRISTOPHER                 ADDRESS ON FILE
BROADNAX, JAMES                       ADDRESS ON FILE
BROADRICK, RICKY                      ADDRESS ON FILE
BROADRIDGE ICS.                       PO BOX 416423 BOSTON MA 02241
BROADSHIP TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BROADSPIRE SERVICES                   PO BOX 936361 ATLANTA GA 31193
BROADUS, JOHN                         ADDRESS ON FILE
BROADWATER, JOEL                      ADDRESS ON FILE
BROADWAY BRAKE CORP                   45 BROADWAY SOMERVILLE MA 02145



Epiq Corporate Restructuring, LLC                                                                Page 261 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 270 of 2156

Claim Name                              Address Information
BROADWAY BRAKE CORP                     PO BOX 45459 SOMERVILLE MA 02145
BROADWAY ELECTRIC SERVICE CORPORATION   DIV OF BROADWAY ELECTRIC SVC PO BOX 3250 KNOXVILLE TN 37927
BROADWAY ELECTRIC SERVICE CORPORATION   P O BOX 3250 KNOXVILLE TN 37927
BROADWAY ENTERPRISES                    ATTN: RUBINA CHOWDHURY 2970 SHAWNEE RIDGE CT STE 300 SUWANEE GA 30024
BROADWAY FORD TRUCK SALES INC           1506 S. 7TH ST. SAINT LOUIS MO 63104
BROADWAY FORD TRUCK SALES INC           812 EAST TAYLOR AVENUE SAINT LOUIS MO 63147
BROADWAY FORD TRUCK SALES INC           DBA BROADWAY TRUCK CENTERS 1501 SOUTH 7TH STREET SAINT LOUIS MO 63157
BROADWAY FREIGHT CARRIERS INC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
BROADWAY, BERNARD                       ADDRESS ON FILE
BROADWELL, MONICA                       ADDRESS ON FILE
BROCHU, JON                             ADDRESS ON FILE
BROCK A MORRIS                          ADDRESS ON FILE
BROCK CONTRACTING                       PO BOX 88601 SIOUX FALLS SD 57109
BROCK LANDSCAPE CONTRACTORS, LLC        2522 RIVER ROAD PIEDMONT SC 29673
BROCK LOGISTICS LLC                     OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
BROCK, ERIC                             ADDRESS ON FILE
BROCK, GLEN                             ADDRESS ON FILE
BROCK, JAMES                            ADDRESS ON FILE
BROCK, JOSHUA                           ADDRESS ON FILE
BROCK, LLOYD                            ADDRESS ON FILE
BROCK, SHANTANA ALICIA                  ADDRESS ON FILE
BROCK, SHANTANA ALICIA                  ADDRESS ON FILE
BROCK, STARLIN                          ADDRESS ON FILE
BROCKENBERRY, JOSHUA                    ADDRESS ON FILE
BROCKMAN, BRANDON                       ADDRESS ON FILE
BROCKMAN, TYRONE                        ADDRESS ON FILE
BROCKMEYER, KEELY                       ADDRESS ON FILE
BRODDERS, TREVON                        ADDRESS ON FILE
BRODIE, FABIAN C                        ADDRESS ON FILE
BRODIE, INC.                            10 BALLARD ROAD LAWRENCE MA 01843
BRODIE, MARCUS                          ADDRESS ON FILE
BRODIES LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BRODY, STEPHEN COYLE                    ADDRESS ON FILE
BROEGE, NATHAN                          ADDRESS ON FILE
BROEHM, PETER                           ADDRESS ON FILE
BROEMS, ROBERT                          ADDRESS ON FILE
BROGAN, EDWARD                          ADDRESS ON FILE
BROGDON, CHARLES                        ADDRESS ON FILE
BROGDON, GREGORY                        ADDRESS ON FILE
BROGO TRANSPORT LLC                     OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                        33631-3792
BROKE AZZ EXPRESS LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
BROKE BECOMING RICH OFF                 KNOWLEDGE ENTERPRISE LLC 601 WOODALL RD STOCKBRIDGE GA 30281
BROKINGS TRANSPORT                      PO BOX 630 GRAND RAPIDS MN 55744
BROKOP, THOMAS                          ADDRESS ON FILE
BROMELL LOGISTICS, LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BROMLEY, JEFF                           ADDRESS ON FILE
BRONER GENERATOR SERVICE INC            3641 S BROADWAY SAINT LOUIS MO 63118
BRONICA PULLEN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 262 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 271 of 2156

Claim Name                               Address Information
BRONKEMA, BRENT                          ADDRESS ON FILE
BRONNER, BRUCE                           ADDRESS ON FILE
BRONOWSKI, DENISE                        ADDRESS ON FILE
BRONSON TRANSPORTATION, LLC              OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
BRONSON, ALICIA                          ADDRESS ON FILE
BRONSON, CHARLES                         ADDRESS ON FILE
BROOK FURNITURE RENTAL                   8210 PENN RANDALL PLACE UPPER MARLBORO MD 20772
BROOK SHIRE LOGISTICS INC                8831 KINGS CANYON ST CHINO CA 91708
BROOKE BAGWELL                           ADDRESS ON FILE
BROOKE JACOBS                            ADDRESS ON FILE
BROOKE, NICKLAS                          ADDRESS ON FILE
BROOKFIELD, FLOYD                        ADDRESS ON FILE
BROOKHILL TRUCKING                       2206 BROOKHILL RD DOTHAN AL 36301
BROOKINS, HENRY                          ADDRESS ON FILE
BROOKINS, JOEL                           ADDRESS ON FILE
BROOKINS, LLOYD                          ADDRESS ON FILE
BROOKLYN PLUMBING & HEAT                 & A/C INC, PO BOX 225 CLARK LAKE MI 49234
BROOKOVER LOCAL TRUCKING, LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BROOKOVER LOCAL TRUCKING, LLC            26609 79TH AVE S KENT WA 98032
BROOKS CARRIERS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BROOKS EQUIPMENT                         10926 DAVID TAYLOR DR STE 100 CHARLOTTE NC 28262
BROOKS ESQUIRE LOGISTICS LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
BROOKS LOGISTIC SYSTEMS LLC              OR TRANSPORT FACTORING INC. PO BOX 167648 IRVING TX 75016
BROOKS TRANSPORTATION LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BROOKS TRUCKING COMPANY INC OF MEMPHIS   4540 DELP STREET MEMPHIS TN 38118
BROOKS TSP SVC                           387 A WELLINGTON ROAD LONDON ON N5V 0A3 CANADA
BROOKS, AARON                            ADDRESS ON FILE
BROOKS, AKINDRE                          ADDRESS ON FILE
BROOKS, ALVIN                            ADDRESS ON FILE
BROOKS, ANDREW                           ADDRESS ON FILE
BROOKS, ANTHONY                          ADDRESS ON FILE
BROOKS, ANTHONY                          ADDRESS ON FILE
BROOKS, ANTWOINE                         ADDRESS ON FILE
BROOKS, BOBBY                            ADDRESS ON FILE
BROOKS, BRICE                            ADDRESS ON FILE
BROOKS, CALVIN                           ADDRESS ON FILE
BROOKS, CHARLES                          ADDRESS ON FILE
BROOKS, CHARLIE                          ADDRESS ON FILE
BROOKS, CHRISTIAN                        ADDRESS ON FILE
BROOKS, CLIFFORD                         ADDRESS ON FILE
BROOKS, DAVID                            ADDRESS ON FILE
BROOKS, DAVID                            ADDRESS ON FILE
BROOKS, DEAN A                           ADDRESS ON FILE
BROOKS, EDWIN                            ADDRESS ON FILE
BROOKS, ERIC                             ADDRESS ON FILE
BROOKS, FREDDIE L                        ADDRESS ON FILE
BROOKS, HANNAH                           ADDRESS ON FILE
BROOKS, JACK                             ADDRESS ON FILE
BROOKS, JADE                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 263 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 272 of 2156

Claim Name                             Address Information
BROOKS, JAMES                          ADDRESS ON FILE
BROOKS, JASON                          ADDRESS ON FILE
BROOKS, JEFFERY                        ADDRESS ON FILE
BROOKS, JEFFREY                        ADDRESS ON FILE
BROOKS, JIM                            ADDRESS ON FILE
BROOKS, JOHN                           ADDRESS ON FILE
BROOKS, JOHN                           ADDRESS ON FILE
BROOKS, JONATHAN J                     ADDRESS ON FILE
BROOKS, JULIAN                         ADDRESS ON FILE
BROOKS, KEITH                          ADDRESS ON FILE
BROOKS, KEVIN                          ADDRESS ON FILE
BROOKS, KURTIS                         ADDRESS ON FILE
BROOKS, LEMONT                         ADDRESS ON FILE
BROOKS, LEVON                          ADDRESS ON FILE
BROOKS, LOUIS                          ADDRESS ON FILE
BROOKS, MANDY                          ADDRESS ON FILE
BROOKS, MICHAEL                        ADDRESS ON FILE
BROOKS, NORBERT                        ADDRESS ON FILE
BROOKS, PATRICK                        ADDRESS ON FILE
BROOKS, PRENTICE                       ADDRESS ON FILE
BROOKS, QUINCY                         ADDRESS ON FILE
BROOKS, RANDALL M                      ADDRESS ON FILE
BROOKS, ROBERT                         ADDRESS ON FILE
BROOKS, ROBERT                         ADDRESS ON FILE
BROOKS, ROBERT                         ADDRESS ON FILE
BROOKS, ROBERT E                       ADDRESS ON FILE
BROOKS, SAFIYA                         ADDRESS ON FILE
BROOKS, SHARAINE                       ADDRESS ON FILE
BROOKS, STEVEN                         ADDRESS ON FILE
BROOKS, TASHAUN                        ADDRESS ON FILE
BROOKS, TERRENCE                       ADDRESS ON FILE
BROOKS, TIMOTHY                        ADDRESS ON FILE
BROOKS, TONEY                          ADDRESS ON FILE
BROOKS, TORIN                          ADDRESS ON FILE
BROOKS, VERNON                         ADDRESS ON FILE
BROOKS, WILLIAM                        ADDRESS ON FILE
BROOKS-DEHART FURNITURE XPRESS, INC.   OR TRANSPORT CLEARINGS EAST 9140 ARROWPOINT BLVD SUITE 370 CHARLOTTE NC 28273
BROOKS-DEHART FURNITURE XPRESS, INC.   1459 ROBINWOOD ROAD NEWTON NC 28658
BROOKSHIER, DELBERT                    ADDRESS ON FILE
BROOKSIDE APARTMENTHOMES               2 WILLOW LANE LANSDALE PA 19446
BROOKSIDE AUTO BODY LTD                180 PARK LANE WINNIPEG MB R2R0K2 CANADA
BROOKWOOD OCCUPATIONAL HEALTH CLINIC   POB 741844 ATLANTA GA 30374
LLC
BROOM, CHRISTINE                       ADDRESS ON FILE
BROOM, MARK                            ADDRESS ON FILE
BROOME TRUCK SERVICE                   PO BOX 296 ALEXANDRIA AL 36250
BROOME, DONNA                          ADDRESS ON FILE
BROOME, GARY                           ADDRESS ON FILE
BROOME, JUSTIN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 264 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 273 of 2156

Claim Name                              Address Information
BROOME, TIMOTHY                         ADDRESS ON FILE
BROOME, TONY                            ADDRESS ON FILE
BROOMFIELD LABORATORIES INC.            ATTN: TIM GOLDSMITH 11 SPRUCE STREET LEOMINSTER MA 01453-3211
BROOMFIELD TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BROOMFIELD, JONATHAN                    ADDRESS ON FILE
BROPHY, JERRY                           ADDRESS ON FILE
BROS TRANSPORT LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BROS TRANSPORTATION LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BROS TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BROS TRUCKING LLC                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BROS TRUCKING TRANSPORTATION INC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BROSAM, NICHOLAS                        ADDRESS ON FILE
BROSNAN, DENIS                          ADDRESS ON FILE
BROSNAN, MICHAEL                        ADDRESS ON FILE
BROSSARD LOCATION INC                   2190 BOULEVARD HYMUS DORVAL QC H9P 1J7 CANADA
BROTHER DYNAMIC INC                     PO BOX 60631 ROCHESTER NY 14606
BROTHER EXPRESS INC                     9115 SIMPSON LANE CLINTON MD 20735
BROTHERHOOD LOGISTICS LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
BROTHERHOOD TRANSPORTATION INC          2465 CREEKVIEW DR MERCED CA 95340
BROTHERLY LOVE TRANSPORTATION LLC       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BROTHERS BROWN TRUCKING COMPANY LLC     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BROTHERS DN TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BROTHERS EXPRESS LINE, LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BROTHERS EXPRESS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BROTHERS EXPRESS, INC.                  3227 WEST COLISEUM BLVD FORT WAYNE IN 46808
BROTHERS EXPRESS, LLC                   5790 CENTER HILL AVE CINCINNATI OH 45232
BROTHERS FREIGHT MANAGEMENT LLC         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BROTHERS GROUP FLEET INC                PO BOX 470218 ST LOUIS MO 63147
BROTHERS LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BROTHERS LOGISTICS LLC (MC1164833)      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BROTHERS M LLC                          OR ADVANCE CAPITAL SOLUTIONS LLC PO BOX 150306 OGDEN UT 84415-0306
BROTHERS OF GOD TRUCKING INC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BROTHERS TRANS LLC                      24034 21ST AVE S DES MOINES WA 98198
BROTHERS TRANSFER SERVICES              513 E DE SOTO AVE, PO BOX 470218 ST LOUIS MO 63147
BROTHERS TRANSPORT LLC (MC742283)       110 OLYMPIC DR NICHOLSVILLE KY 40356
BROTHERS TRANSPORT LLC (MC742283)       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75264-0267
BROTHERS TRANSPORTATION LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BROTHERS TRANSPORTATION LLC             OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
BROTHERS TRUCK & TRAILER REPAIR         22658 20TH AVE STOCKTON IA 52769
BROTHERS TRUCKING COMPANY INC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BROTHERS TRUCKING LLC (MC1252409)       OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                        UT 84130
BROTHERS TRUCKING LLC (RICHARDSON TX)   OR INTEGRA FUNDING SOLUTIONS 6300 RIDGLEA PL SUITE 1101 FT WORTH TX 76116
BROTHERS UNITED TRANSPORT LLC           9020 169TH ST, APT 1C JAMAICA NY 11432
BROTHERS UNITED TRANSPORT LLC           OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
BROTHERS, KERRY                         ADDRESS ON FILE
BROTHERS, TAMMALYN K                    ADDRESS ON FILE
BROTHERS, TAMMALYN K                    ADDRESS ON FILE
BROTHERS, TAMMALYN K                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 265 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 274 of 2156

Claim Name                              Address Information
BROTHERTON FARMS TRUCKING LLC          PO BOX 497 CHILLICOTHE MO 64601
BROUGHAM, DENNIS                       ADDRESS ON FILE
BROUGHTON, DANIEL                      ADDRESS ON FILE
BROUGHTON, KELSEY                      ADDRESS ON FILE
BROUGHTON, RICKY                       ADDRESS ON FILE
BROUGHTON, THERESA                     ADDRESS ON FILE
BROUGHTON, THOMAS                      ADDRESS ON FILE
BROUHARD BRYANT, MICHELLE              ADDRESS ON FILE
BROUHARD, JEREMY                       ADDRESS ON FILE
BROUILLETTE, KYLE                      ADDRESS ON FILE
BROUSARD, DEREK                        ADDRESS ON FILE
BROUSSARD LOGISTICS                    PO BOX 4601 HOUSTON TX 77210
BROUSSARD, DEVONTE THOMAS              ADDRESS ON FILE
BROUSSARD, DEVONTE THOMAS              ADDRESS ON FILE
BROUSSARD, DEXETER                     ADDRESS ON FILE
BROUSSARD, PARKER                      ADDRESS ON FILE
BROUSSARD, PHILLIP                     ADDRESS ON FILE
BROUSSARD, PHILLIP G                   ADDRESS ON FILE
BROUSSARD, RANDALL                     ADDRESS ON FILE
BROUSSARD, SCOTTY                      ADDRESS ON FILE
BROUSSEAU, MARK                        ADDRESS ON FILE
BROUSSEAU, WILLIAM                     ADDRESS ON FILE
BROUWER, DAVID                         ADDRESS ON FILE
BROWDER JR, KEITH                      ADDRESS ON FILE
BROWER III, KERMIT                     ADDRESS ON FILE
BROWLEY, KARL                          ADDRESS ON FILE
BROWN & BOUGIE ENTERPRISES INC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BROWN & BRADLEY LOGISTICS LLC          OR STRATO PAY LLC LOCKBOX 218 PO BOX 1575 MINNEAPOLIS MN 55480
BROWN & JOSEPH                         ONE PIERCE PLACE SUITE 700W ITASCA IL 60143
BROWN & JOSEPH                         ONE PIERCE PLACE, SUITE 1225W ITASCA IL 60143
BROWN BROS HARRIMAN & CO(0010)         ATT CORPORATE ACTIONS / VAULT 140 BROADWAY NEW YORK NY 10005
BROWN BROTHERS ASPHALT AND CONCRETE LLC PO BOX 679586 DALLAS TX 75267
BROWN CARTAGE COMPANY INC.             5801 NEW CALHOUN HWY. NE ROME GA 30161
BROWN CARTAGE COMPANY, INCORPORATED    5801 NEW CALHOUN HIGHWAY NE ROME GA 30161
BROWN CLINIC MEDICINE SHOP             506 1ST AVE SE WATERTOWN SD 57201
BROWN III, JIMMIE                      ADDRESS ON FILE
BROWN III, WILLIAM                     ADDRESS ON FILE
BROWN LOGISTICS INC (MC1324261)        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BROWN PHOENIX TRANSPORTATION LLC       OR TRIUMPH BUSINESS CAPITAL P. O BOX 610028 DALLAS TX 75261
BROWN RUDNICK LLP                      ONE FINANCIAL CENTER BOSTON MA 02111
BROWN SPRINKLER CORPORATION            5250 COMMERCE CIRCLE INDIANAPOLIS IN 46237
BROWN TRANSFER CO                      ADDRESS ON FILE
BROWN TRANSFER COMPANY, LLC            PO BOX 674169 DALLAS TX 75267
BROWN TRANSPORT INC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
BROWN TRANSPORT LLC                    25276 COUNTY ROAD 49 MUSCADINE AL 36269
BROWN TRUCKING COMPANY                 PO BOX 945203 ATLANTA GA 30394-5203
BROWN WOOD FISH                        1900 SUPERIOR AVE STE125 CLEVELAND OH 44104
BROWN, ALEC                            ADDRESS ON FILE
BROWN, ALGIE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 266 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                      Page 275 of 2156

Claim Name                          Address Information
BROWN, AMANDA                       ADDRESS ON FILE
BROWN, AMARO                        ADDRESS ON FILE
BROWN, AMOS                         ADDRESS ON FILE
BROWN, ANTAWN                       ADDRESS ON FILE
BROWN, ANTHONY                      ADDRESS ON FILE
BROWN, ANTOINE                      ADDRESS ON FILE
BROWN, ANTOINE                      ADDRESS ON FILE
BROWN, ANTONIO                      ADDRESS ON FILE
BROWN, ANTWAN                       ADDRESS ON FILE
BROWN, ARIEL                        ADDRESS ON FILE
BROWN, ARTHUR                       ADDRESS ON FILE
BROWN, ASHLEY                       ADDRESS ON FILE
BROWN, AUDREY                       ADDRESS ON FILE
BROWN, BEN                          ADDRESS ON FILE
BROWN, BENJAMIN                     ADDRESS ON FILE
BROWN, BENJAMIN                     ADDRESS ON FILE
BROWN, BOB                          ADDRESS ON FILE
BROWN, BRAD                         ADDRESS ON FILE
BROWN, BRADLEY                      ADDRESS ON FILE
BROWN, BRADLEY                      ADDRESS ON FILE
BROWN, BRETT                        ADDRESS ON FILE
BROWN, BRIANNA                      ADDRESS ON FILE
BROWN, BRYAN                        ADDRESS ON FILE
BROWN, BYRON                        ADDRESS ON FILE
BROWN, CALVIN E                     ADDRESS ON FILE
BROWN, CARL                         ADDRESS ON FILE
BROWN, CASSANDRA                    ADDRESS ON FILE
BROWN, CHAARRONTAY                  ADDRESS ON FILE
BROWN, CHAD                         ADDRESS ON FILE
BROWN, CHARLES                      ADDRESS ON FILE
BROWN, CHARLES                      ADDRESS ON FILE
BROWN, CHARLES                      ADDRESS ON FILE
BROWN, CHRISTINA                    ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
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BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER                  ADDRESS ON FILE
BROWN, CHRISTOPHER K                ADDRESS ON FILE
BROWN, CLARENCE                     ADDRESS ON FILE
BROWN, CLAYTON                      ADDRESS ON FILE
BROWN, CLIFTON                      ADDRESS ON FILE
BROWN, CLINTON                      ADDRESS ON FILE
BROWN, CODY                         ADDRESS ON FILE
BROWN, CONNIE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                        Page 267 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 276 of 2156

Claim Name                      Address Information
BROWN, COREY                    ADDRESS ON FILE
BROWN, CORY                     ADDRESS ON FILE
BROWN, COURTNEY                 ADDRESS ON FILE
BROWN, CURTIS                   ADDRESS ON FILE
BROWN, CURTIS                   ADDRESS ON FILE
BROWN, CURTIS                   ADDRESS ON FILE
BROWN, CURTIS                   ADDRESS ON FILE
BROWN, DAIRRIUS                 ADDRESS ON FILE
BROWN, DAKOTAH                  ADDRESS ON FILE
BROWN, DANA                     ADDRESS ON FILE
BROWN, DANIEL                   ADDRESS ON FILE
BROWN, DANIEL                   ADDRESS ON FILE
BROWN, DANIEL                   ADDRESS ON FILE
BROWN, DARREN                   ADDRESS ON FILE
BROWN, DARWIN                   ADDRESS ON FILE
BROWN, DAVE                     ADDRESS ON FILE
BROWN, DAVID                    ADDRESS ON FILE
BROWN, DAVID                    ADDRESS ON FILE
BROWN, DAVID                    ADDRESS ON FILE
BROWN, DAVID                    ADDRESS ON FILE
BROWN, DAVID                    ADDRESS ON FILE
BROWN, DEMETRICE                ADDRESS ON FILE
BROWN, DENCIL E                 ADDRESS ON FILE
BROWN, DENNIS                   ADDRESS ON FILE
BROWN, DEONTRE                  ADDRESS ON FILE
BROWN, DEREKE                   ADDRESS ON FILE
BROWN, DERRELL                  ADDRESS ON FILE
BROWN, DESHAUN                  ADDRESS ON FILE
BROWN, DESLEY                   ADDRESS ON FILE
BROWN, DION                     ADDRESS ON FILE
BROWN, DION                     ADDRESS ON FILE
BROWN, DONALD                   ADDRESS ON FILE
BROWN, DONALD                   ADDRESS ON FILE
BROWN, DONAVAN                  ADDRESS ON FILE
BROWN, DONYAE                   ADDRESS ON FILE
BROWN, DOUGLAS                  ADDRESS ON FILE
BROWN, EDDIE                    ADDRESS ON FILE
BROWN, EDWARD                   ADDRESS ON FILE
BROWN, ELVERT L                 ADDRESS ON FILE
BROWN, ERIC                     ADDRESS ON FILE
BROWN, ERIC                     ADDRESS ON FILE
BROWN, ERIC                     ADDRESS ON FILE
BROWN, ERIC                     ADDRESS ON FILE
BROWN, ERIC                     ADDRESS ON FILE
BROWN, ERIK                     ADDRESS ON FILE
BROWN, ERNEST                   ADDRESS ON FILE
BROWN, ERROL                    ADDRESS ON FILE
BROWN, EVAN                     ADDRESS ON FILE
BROWN, EZIEAS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 268 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 277 of 2156

Claim Name                      Address Information
BROWN, FRANK                    ADDRESS ON FILE
BROWN, FRANKLIN                 ADDRESS ON FILE
BROWN, FREDERICK                ADDRESS ON FILE
BROWN, FUQUAN                   ADDRESS ON FILE
BROWN, FUQUAN                   ADDRESS ON FILE
BROWN, GARY                     ADDRESS ON FILE
BROWN, GEORGE                   ADDRESS ON FILE
BROWN, GRADIE                   ADDRESS ON FILE
BROWN, GWENDOLYN                ADDRESS ON FILE
BROWN, HARRY                    ADDRESS ON FILE
BROWN, HARVEY                   ADDRESS ON FILE
BROWN, HENRY                    ADDRESS ON FILE
BROWN, HERMAN                   ADDRESS ON FILE
BROWN, HERSEY                   ADDRESS ON FILE
BROWN, HURLEY                   ADDRESS ON FILE
BROWN, ISAAC                    ADDRESS ON FILE
BROWN, IVAN                     ADDRESS ON FILE
BROWN, J                        ADDRESS ON FILE
BROWN, JACOB                    ADDRESS ON FILE
BROWN, JAMES                    ADDRESS ON FILE
BROWN, JAMES                    ADDRESS ON FILE
BROWN, JAMES                    ADDRESS ON FILE
BROWN, JARON                    ADDRESS ON FILE
BROWN, JARRELL                  ADDRESS ON FILE
BROWN, JASON                    ADDRESS ON FILE
BROWN, JAVEN                    ADDRESS ON FILE
BROWN, JEFFERY                  ADDRESS ON FILE
BROWN, JEFFERY                  ADDRESS ON FILE
BROWN, JEFFERY                  ADDRESS ON FILE
BROWN, JEFFREY                  ADDRESS ON FILE
BROWN, JEFFREY                  ADDRESS ON FILE
BROWN, JEFFREY                  ADDRESS ON FILE
BROWN, JEFFREY                  ADDRESS ON FILE
BROWN, JEFFREY                  ADDRESS ON FILE
BROWN, JEFFREY                  ADDRESS ON FILE
BROWN, JERMIAH                  ADDRESS ON FILE
BROWN, JERRY                    ADDRESS ON FILE
BROWN, JERRY                    ADDRESS ON FILE
BROWN, JERRY                    ADDRESS ON FILE
BROWN, JERRY                    ADDRESS ON FILE
BROWN, JESSE                    ADDRESS ON FILE
BROWN, JIM                      ADDRESS ON FILE
BROWN, JIMMIE                   ADDRESS ON FILE
BROWN, JIMMY                    ADDRESS ON FILE
BROWN, JOE                      ADDRESS ON FILE
BROWN, JOELLEN                  ADDRESS ON FILE
BROWN, JOHN                     ADDRESS ON FILE
BROWN, JOHN                     ADDRESS ON FILE
BROWN, JOHN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 269 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 278 of 2156

Claim Name                      Address Information
BROWN, JOHNNY                   ADDRESS ON FILE
BROWN, JOLENE                   ADDRESS ON FILE
BROWN, JORDAN                   ADDRESS ON FILE
BROWN, JOSEPH                   ADDRESS ON FILE
BROWN, JOSHUA                   ADDRESS ON FILE
BROWN, JOSHUA                   ADDRESS ON FILE
BROWN, JUDITH                   ADDRESS ON FILE
BROWN, JUDSON                   ADDRESS ON FILE
BROWN, JUSTIN                   ADDRESS ON FILE
BROWN, JUSTIN                   ADDRESS ON FILE
BROWN, KAMARI                   ADDRESS ON FILE
BROWN, KARL                     ADDRESS ON FILE
BROWN, KEAUN                    ADDRESS ON FILE
BROWN, KELLEN                   ADDRESS ON FILE
BROWN, KELLY                    ADDRESS ON FILE
BROWN, KELLY                    ADDRESS ON FILE
BROWN, KELLY                    ADDRESS ON FILE
BROWN, KEN H                    ADDRESS ON FILE
BROWN, KENNETH                  ADDRESS ON FILE
BROWN, KENNETH                  ADDRESS ON FILE
BROWN, KENNETH                  ADDRESS ON FILE
BROWN, KENNETH                  ADDRESS ON FILE
BROWN, KENNETH                  ADDRESS ON FILE
BROWN, KENNETH H                ADDRESS ON FILE
BROWN, KENNETH L                ADDRESS ON FILE
BROWN, KEONTAL                  ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KEVIN                    ADDRESS ON FILE
BROWN, KIARA                    ADDRESS ON FILE
BROWN, KIRBY                    ADDRESS ON FILE
BROWN, KIRK                     ADDRESS ON FILE
BROWN, KYLE                     ADDRESS ON FILE
BROWN, LACRESHIA                ADDRESS ON FILE
BROWN, LAKISHA                  ADDRESS ON FILE
BROWN, LAMAR                    ADDRESS ON FILE
BROWN, LARRY                    ADDRESS ON FILE
BROWN, LATISHIA                 ADDRESS ON FILE
BROWN, LAWRENCE                 ADDRESS ON FILE
BROWN, LINDSAY A                ADDRESS ON FILE
BROWN, LINDSEY                  ADDRESS ON FILE
BROWN, LIZA                     ADDRESS ON FILE
BROWN, LLOYD                    ADDRESS ON FILE
BROWN, LOGAN                    ADDRESS ON FILE
BROWN, LONNIE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 270 OF 2145
                                        Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                   Page 279 of 2156

Claim Name                       Address Information
BROWN, LOUIS                     ADDRESS ON FILE
BROWN, LUCAS                     ADDRESS ON FILE
BROWN, MADELINE                  ADDRESS ON FILE
BROWN, MALACHI                   ADDRESS ON FILE
BROWN, MANASSA                   ADDRESS ON FILE
BROWN, MARK                      ADDRESS ON FILE
BROWN, MARLA                     ADDRESS ON FILE
BROWN, MASODON                   ADDRESS ON FILE
BROWN, MATTHEW                   ADDRESS ON FILE
BROWN, MAURICE                   ADDRESS ON FILE
BROWN, MELISSA D                 ADDRESS ON FILE
BROWN, MELISSA D                 ADDRESS ON FILE
BROWN, MELVIN                    ADDRESS ON FILE
BROWN, MELVIN                    ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL                   ADDRESS ON FILE
BROWN, MICHAEL S                 ADDRESS ON FILE
BROWN, MIKE                      ADDRESS ON FILE
BROWN, MISTY                     ADDRESS ON FILE
BROWN, MONISHA                   ADDRESS ON FILE
BROWN, MONTEL                    ADDRESS ON FILE
BROWN, NANCY                     ADDRESS ON FILE
BROWN, NATASHA                   ADDRESS ON FILE
BROWN, NATE                      ADDRESS ON FILE
BROWN, NATHAN                    ADDRESS ON FILE
BROWN, NATHAN                    ADDRESS ON FILE
BROWN, NATHANIEL                 ADDRESS ON FILE
BROWN, NATHANIEL                 ADDRESS ON FILE
BROWN, NICHOLAS                  ADDRESS ON FILE
BROWN, NICOLE                    ADDRESS ON FILE
BROWN, NIKKO                     ADDRESS ON FILE
BROWN, OLIVER                    ADDRESS ON FILE
BROWN, OSLIN                     ADDRESS ON FILE
BROWN, PATRICE                   ADDRESS ON FILE
BROWN, PATRICK                   ADDRESS ON FILE
BROWN, PATRICK                   ADDRESS ON FILE
BROWN, PAUL                      ADDRESS ON FILE
BROWN, PAUL                      ADDRESS ON FILE
BROWN, PERRY                     ADDRESS ON FILE
BROWN, PHILIP                    ADDRESS ON FILE
BROWN, QUENTARIUS                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                     Page 271 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 280 of 2156

Claim Name                      Address Information
BROWN, RASHEED                  ADDRESS ON FILE
BROWN, REGINA                   ADDRESS ON FILE
BROWN, REGINALD                 ADDRESS ON FILE
BROWN, RICHARD                  ADDRESS ON FILE
BROWN, RICHARD                  ADDRESS ON FILE
BROWN, RICHARD                  ADDRESS ON FILE
BROWN, RICHARD A                ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT                   ADDRESS ON FILE
BROWN, ROBERT A                 ADDRESS ON FILE
BROWN, RODNEY                   ADDRESS ON FILE
BROWN, ROGER                    ADDRESS ON FILE
BROWN, ROGER                    ADDRESS ON FILE
BROWN, RONALD                   ADDRESS ON FILE
BROWN, ROY                      ADDRESS ON FILE
BROWN, ROY                      ADDRESS ON FILE
BROWN, ROY A                    ADDRESS ON FILE
BROWN, ROY A                    ADDRESS ON FILE
BROWN, RUSSELL                  ADDRESS ON FILE
BROWN, RUSTIN                   ADDRESS ON FILE
BROWN, SCOTT                    ADDRESS ON FILE
BROWN, SCOTT                    ADDRESS ON FILE
BROWN, SCOTTY                   ADDRESS ON FILE
BROWN, SEAN                     ADDRESS ON FILE
BROWN, SHAI                     ADDRESS ON FILE
BROWN, SHANNEN                  ADDRESS ON FILE
BROWN, SHARON                   ADDRESS ON FILE
BROWN, SHATINA R                ADDRESS ON FILE
BROWN, SHIRLEY                  ADDRESS ON FILE
BROWN, SHOL                     ADDRESS ON FILE
BROWN, SHUMAR                   ADDRESS ON FILE
BROWN, SHUNTAYUS                ADDRESS ON FILE
BROWN, SIARA                    ADDRESS ON FILE
BROWN, SIDNEY                   ADDRESS ON FILE
BROWN, STEFANIE                 ADDRESS ON FILE
BROWN, STEPHAN                  ADDRESS ON FILE
BROWN, STEPHEN                  ADDRESS ON FILE
BROWN, STEPHEN                  ADDRESS ON FILE
BROWN, STEVEN                   ADDRESS ON FILE
BROWN, STEVEN                   ADDRESS ON FILE
BROWN, STEVEN                   ADDRESS ON FILE
BROWN, STEVEN                   ADDRESS ON FILE
BROWN, STEVEN                   ADDRESS ON FILE
BROWN, TAYLOR                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 272 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 281 of 2156

Claim Name                         Address Information
BROWN, TERRENCE                    ADDRESS ON FILE
BROWN, TERRY                       ADDRESS ON FILE
BROWN, TERRY                       ADDRESS ON FILE
BROWN, TERRY                       ADDRESS ON FILE
BROWN, THATFORD                    ADDRESS ON FILE
BROWN, THOMAS                      ADDRESS ON FILE
BROWN, THOMAS                      ADDRESS ON FILE
BROWN, THOMAS                      ADDRESS ON FILE
BROWN, TIFFINIE                    ADDRESS ON FILE
BROWN, TIMOTHY T                   ADDRESS ON FILE
BROWN, TODD                        ADDRESS ON FILE
BROWN, TODD                        ADDRESS ON FILE
BROWN, TORREY                      ADDRESS ON FILE
BROWN, TRAVIS                      ADDRESS ON FILE
BROWN, TRAVIS                      ADDRESS ON FILE
BROWN, TYLER                       ADDRESS ON FILE
BROWN, TYRELL                      ADDRESS ON FILE
BROWN, TYSHAWN                     ADDRESS ON FILE
BROWN, VAL                         ADDRESS ON FILE
BROWN, VANIKA                      ADDRESS ON FILE
BROWN, VINCENT                     ADDRESS ON FILE
BROWN, VITTORIO                    ADDRESS ON FILE
BROWN, WALLACE                     ADDRESS ON FILE
BROWN, WALTER                      ADDRESS ON FILE
BROWN, WARREN                      ADDRESS ON FILE
BROWN, WAYNE                       ADDRESS ON FILE
BROWN, WESLEY                      ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIAM                     ADDRESS ON FILE
BROWN, WILLIE                      ADDRESS ON FILE
BROWN, XZANE                       ADDRESS ON FILE
BROWN, ZACHARY                     ADDRESS ON FILE
BROWN, ZAKARY                      ADDRESS ON FILE
BROWN, ZEQUITA                     ADDRESS ON FILE
BROWN-BEY LOGISTICS LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BROWN-DEMORENO, CHRISTOPHER        ADDRESS ON FILE
BROWN-HAYNES, KORI                 ADDRESS ON FILE
BROWNAWELL, JAMES C                ADDRESS ON FILE
BROWNAWELL, JOHN                   ADDRESS ON FILE
BROWNE, FRANCES                    ADDRESS ON FILE
BROWNE, MICHAEL                    ADDRESS ON FILE
BROWNFIELD, THOMAS                 ADDRESS ON FILE
BROWNING, BRANDON                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 273 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 282 of 2156

Claim Name                              Address Information
BROWNING, FRANCIS                       ADDRESS ON FILE
BROWNING, JULIAN                        ADDRESS ON FILE
BROWNING, MACK H                        ADDRESS ON FILE
BROWNLEE FREIGHT & LOGISTICS            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BROWNLEE, ANTRON                        ADDRESS ON FILE
BROWNLEE, DWIGHT                        ADDRESS ON FILE
BROWNLEE, JOHN                          ADDRESS ON FILE
BROWNLEE, TIMEYAH                       ADDRESS ON FILE
BROWNLIE, RALPH                         ADDRESS ON FILE
BROWNRIDGE, ANTOINE                     ADDRESS ON FILE
BROWNS NORTH SIDE MACHINE & GEAR, INC   1100 TRIANGLE DRIVE PONDERAY ID 83852
BROWNS SPECIAL DELIVERY                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BROWNS SUPER SERVICE INC                3812 SW SOUTH PARK AVE TOPEKA KS 66609
BROWNS TRANSPORT LLC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
BROWNS XPRESS LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BROWNSBURG ACE HARDWARE                 800 E. MAIN ST. BROWNSBURG IN 46112
BROWNSON, BRIAN                         ADDRESS ON FILE
BROWNSTOWN ELECTRIC SUPPLY COMPANY IN   690 E STATE ROAD 250 BROWNSTOWN IN 47220
BROWNSTRUCKING LLC                      OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
BRS CARGO GROUP                         OR T-PINE FINANCIAL SERVICES 6050 DIXIE ROAD MISSISSAUGA ON L5T1A6 CANADA
BRS EXPRESS INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BRS EXPRESS LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BRT TRANSPORT LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BRUBAKER, JASON                         ADDRESS ON FILE
BRUBAKER, KEVIN                         ADDRESS ON FILE
BRUCE CONNELLY                          ADDRESS ON FILE
BRUCE CONSTRUCTION LLC                  795 PINE VALLEY DR STE 20 PITTSBURGH PA 15239
BRUCE M SMALL                           ADDRESS ON FILE
BRUCE P ALLEN                           ADDRESS ON FILE
BRUCE PANZER                            ADDRESS ON FILE
BRUCE SCHOONOVER                        ADDRESS ON FILE
BRUCE, DARRICK A                        ADDRESS ON FILE
BRUCE, JAMIE                            ADDRESS ON FILE
BRUCE, RICHARD                          ADDRESS ON FILE
BRUCE, SAMUEL                           ADDRESS ON FILE
BRUCE, SEBASTIAN                        ADDRESS ON FILE
BRUCE, STEWART                          ADDRESS ON FILE
BRUCE, TRELAWNY J                       ADDRESS ON FILE
BRUCE, TRELAWNY J                       ADDRESS ON FILE
BRUCES TRUCK LLC                        OR BRUCES TRUCK LLC, PO BOX 368 SEADRIFT TX 77983
BRUCKEN, PATRICK                        ADDRESS ON FILE
BRUCKNER TRUCK & EQUIPMENT              CORPORATE BILLING LLC DEPT 100 P.O. BOX 830604 BIRMINGHAM AL 35283
BRUDER, CHRISTOPHER                     ADDRESS ON FILE
BRUDNIAK, ROBERT W                      ADDRESS ON FILE
BRUDNIAK, SAMANTHA                      ADDRESS ON FILE
BRUDOWSKY, STEPHEN                      ADDRESS ON FILE
BRUDVIG, JEANNE                         ADDRESS ON FILE
BRUECKNER, DAVID                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 274 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 283 of 2156

Claim Name                            Address Information
BRUEGGEMAN, EURIAH                    ADDRESS ON FILE
BRUEGGENJOHANN, GRANT                 ADDRESS ON FILE
BRUEGMAN, RUSSELL                     ADDRESS ON FILE
BRUGER INC                            895 SUNRISE DR SOUTH ELGIN IL 60177
BRUGES TRANSPORT AND LOGISTICS, LLC   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BRUGGEMAN, NICHOLAS                   ADDRESS ON FILE
BRUGH, ALEXANDER                      ADDRESS ON FILE
BRUGH, GARY                           ADDRESS ON FILE
BRUHN, ANDY                           ADDRESS ON FILE
BRUINSMA, JESHUA                      ADDRESS ON FILE
BRUINSMA, ROBERT                      ADDRESS ON FILE
BRUKNIS, PAT                          ADDRESS ON FILE
BRUMBACH, TROY                        ADDRESS ON FILE
BRUMBACK, ERIC                        ADDRESS ON FILE
BRUMBAUGH TREE SERVICE LLC            300 S 16TH QUINCY IL 62301
BRUMFIELD TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BRUMFIELD, ADAM                       ADDRESS ON FILE
BRUMFIELD, ALVIN                      ADDRESS ON FILE
BRUMFIELD, JACOB                      ADDRESS ON FILE
BRUMFIELD, JOSHUA                     ADDRESS ON FILE
BRUMI TIME TRUCKING LLC               OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
BRUMMETT, CRAIG                       ADDRESS ON FILE
BRUMMETT, GEOFFREY                    ADDRESS ON FILE
BRUMMETT, JAMES                       ADDRESS ON FILE
BRUNAFA LOGISTICS LLC                 OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BRUNDAGE, JOHN                        ADDRESS ON FILE
BRUNDAGE, WILLIAM                     ADDRESS ON FILE
BRUNDRIT, DAVID                       ADDRESS ON FILE
BRUNELLE, ROBERT                      ADDRESS ON FILE
BRUNER, BRYAN                         ADDRESS ON FILE
BRUNER, DEONTE                        ADDRESS ON FILE
BRUNER, JOHN                          ADDRESS ON FILE
BRUNER, RICHARD                       ADDRESS ON FILE
BRUNER, ROBERT                        ADDRESS ON FILE
BRUNETTI, DAREN                       ADDRESS ON FILE
BRUNGARD, JAMES                       ADDRESS ON FILE
BRUNGARDT, COLE                       ADDRESS ON FILE
BRUNKEN, DAVID                        ADDRESS ON FILE
BRUNNER CONSTRUCTION                  50 MOUNTAINVIEW LANE CORRALES NM 87048
BRUNNER, RAY                          ADDRESS ON FILE
BRUNO MACIAS                          ADDRESS ON FILE
BRUNO, DAVID                          ADDRESS ON FILE
BRUNO, EDWIN                          ADDRESS ON FILE
BRUNO, FRANCISCO                      ADDRESS ON FILE
BRUNO, KEVIN                          ADDRESS ON FILE
BRUNO, MICHAEL                        ADDRESS ON FILE
BRUNO, PAUL                           ADDRESS ON FILE
BRUNS GENERAL CONTRACTING             3050 TIPP-COWLESVILLE RD. TIPP CITY OH 45371
BRUNS, BASIL                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 275 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 284 of 2156

Claim Name                           Address Information
BRUNS, JIM                           ADDRESS ON FILE
BRUNSON, ANTONIO                     ADDRESS ON FILE
BRUNSON, CORTNIE                     ADDRESS ON FILE
BRUNSON, EARL                        ADDRESS ON FILE
BRUNSON, GERALDINE                   ADDRESS ON FILE
BRUNSON, NATHANIEL J                 ADDRESS ON FILE
BRUNSON, TRAVIS                      ADDRESS ON FILE
BRUNSON, WANDA                       ADDRESS ON FILE
BRUNT, GARY                          ADDRESS ON FILE
BRUSCHINI, WILLIAM                   ADDRESS ON FILE
BRUSKE PRODUCTS                      7447 DUVAN DR, PO BOX 669 TINLEY PARK IL 60477
BRUSKE PRODUCTS                      PO BOX 669, 7447 DUVAN DR. TINLEY PARK IL 60477
BRUSO, MARK                          ADDRESS ON FILE
BRUTON, PERREZ                       ADDRESS ON FILE
BRUTON, RICHARD                      ADDRESS ON FILE
BRUTUS OPENSHAW TRANSPORTATION LLC   871 INDEPENDENCE AVE PROVO UT 84604
BRUURSEMA, BOBBIE                    ADDRESS ON FILE
BRUZEK, MICHAEL                      ADDRESS ON FILE
BRV TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
BRYAN & SONS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BRYAN C HAGGARD                      ADDRESS ON FILE
BRYAN ELECTRIC                       1800 E STATE ST HAMILTON TOWNSHIP NJ 08609
BRYAN ELECTRIC                       1800 E. STATE ST. SUITE 150C HAMILTON NJ 08609
BRYAN F RAMIREZ                      ADDRESS ON FILE
BRYAN FRIEBEL                        ADDRESS ON FILE
BRYAN HYLAND                         ADDRESS ON FILE
BRYAN J MITCHELL                     ADDRESS ON FILE
BRYAN L BORING                       ADDRESS ON FILE
BRYAN P KOVACS                       ADDRESS ON FILE
BRYAN PLUMBING, INC.                 3804 N JOHN YOUNG PKWY ORLANDO FL 32804
BRYAN PLUMBING, INC.                 3804 N. JOHN YOUNG PKWY, SUITE 2 ORLANDO FL 32804
BRYAN R JACKSON                      ADDRESS ON FILE
BRYAN S REIFSNYDER                   ADDRESS ON FILE
BRYAN THIRTYACRE                     ADDRESS ON FILE
BRYAN TRUCK LINE, INC.               14020 US HWY 20 A MONTPELIER OH OH 45343
BRYAN W CUMMINGS                     ADDRESS ON FILE
BRYAN W CUMMINGS                     ADDRESS ON FILE
BRYAN, CHARLES                       ADDRESS ON FILE
BRYAN, CORY I                        ADDRESS ON FILE
BRYAN, DEON                          ADDRESS ON FILE
BRYAN, DUANE                         ADDRESS ON FILE
BRYAN, JAMES                         ADDRESS ON FILE
BRYAN, JAMES                         ADDRESS ON FILE
BRYAN, JEFFREY                       ADDRESS ON FILE
BRYAN, KIMBER                        ADDRESS ON FILE
BRYAN, LAWRENCE                      ADDRESS ON FILE
BRYAN, MICHAEL                       ADDRESS ON FILE
BRYAN, PAUL                          ADDRESS ON FILE
BRYAN, PETER                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 276 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 285 of 2156

Claim Name                           Address Information
BRYAN, RICKY                         ADDRESS ON FILE
BRYAN, SEALY                         ADDRESS ON FILE
BRYANS TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BRYANT & SONS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRYANT A MARTINEZ                    ADDRESS ON FILE
BRYANT ASSOCIATION LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BRYANT D JOHNSON                     ADDRESS ON FILE
BRYANT FARM & LAWN CARE              164 FAIRVIEW ROAD BIDWELL OH 45614
BRYANT HALL, TERESA                  ADDRESS ON FILE
BRYANT HOLDINGS LLC                  ATTN: GENERAL COUNSEL 6292 BRECKENRIDGE CIR LAKE WORTH FL 33467
BRYANT J SCOTT                       ADDRESS ON FILE
BRYANT, ANTHONY                      ADDRESS ON FILE
BRYANT, BOBBY                        ADDRESS ON FILE
BRYANT, CALEB                        ADDRESS ON FILE
BRYANT, CARL                         ADDRESS ON FILE
BRYANT, DENZEL                       ADDRESS ON FILE
BRYANT, GREGORY                      ADDRESS ON FILE
BRYANT, HAROLD                       ADDRESS ON FILE
BRYANT, JEFFREY                      ADDRESS ON FILE
BRYANT, JOHN                         ADDRESS ON FILE
BRYANT, JONATHAN                     ADDRESS ON FILE
BRYANT, JOVAN                        ADDRESS ON FILE
BRYANT, KEITH                        ADDRESS ON FILE
BRYANT, KENNETH                      ADDRESS ON FILE
BRYANT, KEVIN                        ADDRESS ON FILE
BRYANT, MARK                         ADDRESS ON FILE
BRYANT, MICHAEL                      ADDRESS ON FILE
BRYANT, MONIQUE                      ADDRESS ON FILE
BRYANT, ROBERT                       ADDRESS ON FILE
BRYANT, ROBERT                       ADDRESS ON FILE
BRYANT, SAMANTHA                     ADDRESS ON FILE
BRYANT, SEAN                         ADDRESS ON FILE
BRYANT, SHAKETA                      ADDRESS ON FILE
BRYANT, SHAWN                        ADDRESS ON FILE
BRYANT, TYLAR                        ADDRESS ON FILE
BRYANT-PERDUE, DALLAS                ADDRESS ON FILE
BRYCE E ARMSTRONG                    ADDRESS ON FILE
BRYCE REALTY GROUP                   175 YANKEE PARK RD FAIRFAX VT 05454
BRYCE, THOMAS                        ADDRESS ON FILE
BRYDEN N DAVIS                       ADDRESS ON FILE
BRYDGES, ALBERT                      ADDRESS ON FILE
BRYLANT LOGISTICS INC                PO BOX 1528 ELK GROVE VILLAGE IL 60007
BRYON J MITCHELL                     ADDRESS ON FILE
BRYON SHEPPARD                       ADDRESS ON FILE
BRYSON TRUCKING LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BRYSON, ASHLEY N                     ADDRESS ON FILE
BRYSON, TODD                         ADDRESS ON FILE
BRYTFIELD HOLDINGS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BRZ                                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320



Epiq Corporate Restructuring, LLC                                                                 Page 277 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 286 of 2156

Claim Name                          Address Information
BRZ TRUCKING LLC                    3005 CHIMNEY WOOD TRAIL INDIAN TRAIL NC 28079
BRZEZINSKI, EUGENE                  ADDRESS ON FILE
BRZEZINSKI, JACOB                   ADDRESS ON FILE
BRZEZNIAK, MARY ANN                 ADDRESS ON FILE
BRZOZOWSKI, JEFFERY                 ADDRESS ON FILE
BS & D PEARSON TRANSPORTATION INC   OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
BS & R DESIGN & SUPPLIES            RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
BS CARGO INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BS LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BS LOGISTICS LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
BS TRANSP LLC                       OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
BS TRANSPORT LLC                    SHIDDY LOGISTICS LLC, 739 S 1800 RD WHITE CITY KS 66872
BS TRANSPORT LLC                    C/O TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124
BS TRUCKING                         OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
BS1 TRUCKING INC                    BS1 TRUCKING INC, 680 INDUSTRIAL DR BENSENVILLE IL 60106
BS5 EXPRESS INC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
BSA INTERNATIONAL TRUCKING LLC      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
BSB TRANS INC                       711 LEGACY BLVD GREENWOOD IN 46143
BSEISSO, ABRAHEEM                   ADDRESS ON FILE
BSG CARRIER                         1411 33A STREET NW EDMONTON AB T6T 0X3 CANADA
BSH GROUP INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BSH HOME APPLIANCE                  ATTN JEFF MARTIN, 300 EXECUTIVE PKWY NEW BERN NC 28562
BSH HOME APPLIANCES                 300 EXCUTIVE PARKWAY NEW BERN NC 28562
BSH HOME APPLIANCES CO              1901 MAIN ST STE 600 IRVINE CA 92614
BSH HOME APPLIANCES CORP            300 EXECUTIVE PARKWAY NEW BERN NC 28562
BSH HOME APPLIANCES CORP            ATTN CLAIMS DEPT, 300 EXECUTIVE PARKWAY NEW BERN NC 28562
BSH HOME APPLIANCES CORP            CLAIMS DEPT, 300 EXECUTIVE PARKWAY NEW BERN NC 28562
BSH TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BSL EXPRESS TRUCKING INC            PO BOX 1249, PO BOX 1249 BOLINGBROOK IL 60440-9998
BSL EXPRESS TRUCKINGINC.            1316 MARQUETTE DR ROMEOVILLE 60446
BSL LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BSL TRUCKING COMPANY                236 BERKLEY ST ISELIN WOODBRIDGE TOWNSHIP NJ 08830
BSM LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BSMW TRUCKING LLC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
BSN LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BSN SPORTS                          ATTN: ROBERTA CLAY C/O DM TRANSPORTATION PO BOX 621 BOYERTOWN PA 19512
BSN SPORTS                          DM TRANSPORTATION PO BOX 621 BOYERTOWN PA 19512
BSN TRUCKING                        4031 W ROBINSON AVE FRESNO CA 93722
BSNG TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BSP TRANSPORTATION INC              2500 LIBERTY DR LONDONDERRY NH 03053
BSPJ COMPANY LLC                    OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
BSR LOGISTICS LLC                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BSR TRUCKING INC                    4460 W SHAW AVE APT 206 FRESNO CA 93722
BST FREIGHT LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
BST TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BSWIFT LLC                          PO BOX 860470 MINNEAPOLIS MN 55486
BSWIFT LLC                          10 S. RIVERSIDE PLAZA, STE. 1100 CHICAGO IL 60606
BT                                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BT CARRIERS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                                Page 278 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 287 of 2156

Claim Name                           Address Information
BT LOGISTICS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BT MULES ENTERPRISES, LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BT SOUTH, LLC.                       7365 KIRKWOOD CT. N. MAPLE GROVE MN 55369
BT12 TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BTC TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BTE TRUCKING INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BTE TRUCKING LLC                     OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
BTI CARTAGE                          6666 RUTHERFORD RD WOODBRIDGE ON L4H 4Y5 CANADA
BTI INC                              9 E ELLINGTON CT SOUTH ELGIN IL 60177
BTI LOGISTICS LLC                    1125 W 650 N CENTERVILLE UT 84014
BTI TRANS                            OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA
BTL FREIGHT SYSTEM INC.              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BTL SERVICES                         PONIENTE 134 NO. 580 BIS COL. INDUSTRIAL VALLEJO ALCALDIA AZCAPOTZALCO MEXICO
                                     CITY 2300 MEXICO
BTM LOGISTICS LLC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
BTR TRUCKING INC                     447 WINDHAM COVE DRIVE CRYSTAL LAKE IL 60014
BTR-WAY LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BTS INC.                             DBA BOBBYS TOWING SERVICE INC PO BOX 1281 STAURTON VA 24402
BTS TRANSPORT                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BTSLOGISTICS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BUB TRANSPORT INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BUBASH, BROOKE                       ADDRESS ON FILE
BUBASH, KENNETH                      ADDRESS ON FILE
BUBBAS FLEET SERVICE AND             TRUCK REPAIR LLC 10101 GARDEN RD MONCLOVA OH 43542
BUBBAS TOWING & RECOVERY LLC         10101 GARDEN RD MONCLOVA OH 43542
BUBBAS TOWING OF FREMONT             1258 N OHIO AVE FREEMONT OH 43420
BUBER, CHRISTOPHER                   ADDRESS ON FILE
BUCCI EXPRESS INC                    OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
BUCCI, BRANDON                       ADDRESS ON FILE
BUCCI, DAIRREK                       ADDRESS ON FILE
BUCCI, EDOARDO                       ADDRESS ON FILE
BUCCI, JERRY A                       ADDRESS ON FILE
BUCCI, KELLI                         ADDRESS ON FILE
BUCCILLI LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BUCEY, JASON                         ADDRESS ON FILE
BUCHANAN COUNTY CLERK OF COURT       210 FIFTH AVENUE NE INDEPENDENCE IA 50644
BUCHANAN EXPRESS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BUCHANAN HAULING & RIGGING, INC.     PO BOX 631526 CINCINNATI OH 45263-1526
BUCHANAN HAULING & RIGGING, INC.     OR WELLS FARGO BANK N.A., PO BOX 912394 DENVER CO 80291
BUCHANAN, BILLY                      ADDRESS ON FILE
BUCHANAN, CARLA                      ADDRESS ON FILE
BUCHANAN, MELISSA                    ADDRESS ON FILE
BUCHANAN, MICHAEL                    ADDRESS ON FILE
BUCHANAN, ROGER                      ADDRESS ON FILE
BUCHANAN, STACY                      ADDRESS ON FILE
BUCHANAN, SUSAN                      ADDRESS ON FILE
BUCHANAN, WILLIAM                    ADDRESS ON FILE
BUCHANAN, WILLIAM T                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 279 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 288 of 2156

Claim Name                              Address Information
BUCHEN, JEFFREY                         ADDRESS ON FILE
BUCHER, BRENT                           ADDRESS ON FILE
BUCHER, BRENT                           ADDRESS ON FILE
BUCHHALTER, MARK                        ADDRESS ON FILE
BUCHHEIT TRUCKING SERVICE, INC.         BUCHHEIT TRUCKING SERVICE INC. PO BOX 870221 KANSAS CITY MO 64187-0221
BUCHLER, BERT                           ADDRESS ON FILE
BUCHOZ, RODNEY                          ADDRESS ON FILE
BUCHTA LEASING INC                      PO BOX 223 OTWELL IN 47564
BUCK 18 WHEEL SERVICES                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BUCK SPOT INC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BUCK, CLINTON                           ADDRESS ON FILE
BUCK, LESLIE                            ADDRESS ON FILE
BUCK, MICHAEL                           ADDRESS ON FILE
BUCK, STANLEY                           ADDRESS ON FILE
BUCK, TYLER DEAN                        ADDRESS ON FILE
BUCK-A-ROO DELIVERY SERVICE BY SHANNY   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BUCKALLEW, LARRY                        ADDRESS ON FILE
BUCKEYE BRO LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BUCKEYE CARGO SOLUTIONS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BUCKEYE CULLIGAN                        4040 FONDORF DR COLUMBUS OH 43228
BUCKEYE CULLIGAN                        PO BOX 2932 WICHITA KS 67201
BUCKEYE DOLLAR TRUCKING                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BUCKEYE FREIGHT SOLUTIONS LLC           OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
BUCKEYE PARTNERS, L.P.                  5002 BUCKEYE ROAD EMMAUS PA 18049
BUCKEYE POWER SALES CO., INC.           PO BOX 489 BLACKLICK OH 43004
BUCKEYE POWER SALES CO., INC.           PO BOX 489 BLACKLICK OH 43004-0489
BUCKEYE WELDING SUPPLY COMPANY, INC.    PO BOX 1522 GREELEY CO 80632
BUCKEYE WELDING SUPPLY COMPANY, INC.    8251 I-76 FRONTAGE RD. HENDERSON CO 80640
BUCKEYE WESTERN STAR                    7605 COMMERCE PL PLAIN CITY OH 43064
BUCKEYE WESTERN STAR                    PO BOX 1027 POWELL OH 43065
BUCKEYE WILDLIFE NW                     815 MORRISON RD. FREMONT OH 43420
BUCKEYERIDE LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BUCKINGHAM, ROBERT                      ADDRESS ON FILE
BUCKLAND, ROBERT                        ADDRESS ON FILE
BUCKLER TRANSPORT, INC.                 PO BOX 269 ROULETTE PA 16746
BUCKLES SMITH ELECTRIC SUPPLY           540 MARTIN AVE SANTA CLARA CA 95050
BUCKLEY, ANNA                           ADDRESS ON FILE
BUCKLEY, DANIEL                         ADDRESS ON FILE
BUCKLEY, JEFF                           ADDRESS ON FILE
BUCKLEY, MARK                           ADDRESS ON FILE
BUCKLEY, MICHAEL                        ADDRESS ON FILE
BUCKLEY, NICHOLAS                       ADDRESS ON FILE
BUCKLEY, SHAWNA                         ADDRESS ON FILE
BUCKLEY, TERRANCE                       ADDRESS ON FILE
BUCKMAN, ANGIE                          ADDRESS ON FILE
BUCKMAN, ANGIE                          ADDRESS ON FILE
BUCKMAN, JOSEPH                         ADDRESS ON FILE
BUCKMAN, KEVIN                          ADDRESS ON FILE
BUCKMAN, MARTIN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 280 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 289 of 2156

Claim Name                           Address Information
BUCKNER TRANSPORTS LLC               31935 AURORA RD SOLON OH 44139
BUCKNER TRUCKING LLC                 11182 N HIGHWAY 71 MOUNTAINBURG AR 72946-3634
BUCKNER, AUEISHUA                    ADDRESS ON FILE
BUCKNER, CHRISTOPHER                 ADDRESS ON FILE
BUCKNER, DARREN                      ADDRESS ON FILE
BUCKNER, DAVID                       ADDRESS ON FILE
BUCKNER, DOMINIQUE                   ADDRESS ON FILE
BUCKNER, FRANKLIN                    ADDRESS ON FILE
BUCKNER, JASON W                     ADDRESS ON FILE
BUCKNER, MARC                        ADDRESS ON FILE
BUCKNER, PAUL                        ADDRESS ON FILE
BUCKNER, RANDY                       ADDRESS ON FILE
BUCKOSKI, BRAD                       ADDRESS ON FILE
BUCKS COUNTY HAZARDOUS MATERIALS     EMERGENCY RESPONSE C\O BUCKS COUNTY WEIGHTS & MEASURES 55 E. COURT STREET, 2ND
                                     FLOOR DOYLESTOWN PA 18901
BUCKS WRECKER SERVICE                P.O. BOX 1036 THOMASVILLE NC 27361
BUCY, PETER                          ADDRESS ON FILE
BUD COLEY TRUCKING, INC.             PO BOX 3068 TUPELO MS 38803
BUDD, JAY                            ADDRESS ON FILE
BUDD, JULIE                          ADDRESS ON FILE
BUDDELMANN, SHAUN                    ADDRESS ON FILE
BUDDIES TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BUDDY EXPRESS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BUDDYS AUTO CENTER, INC.             P.O. BOX 95 WILLOW CREEK CA 95573
BUDDYS HOME FURNISHINGS              924 N. VALLEY MILLS DR. WACO TX 76710
BUDDYS TRUCKING CO.                  C/O RICK CARSON 5740 WEST HWY 60 BROOKLINE STATION MO 65619
BUDDYS WRECKER SERVICE INC           PO BOX 528 UNION CITY TN 38281
BUDGET BATTERIES                     7900 PACIFIC HWY E MILTON WA 98354-9634
BUDGET HEATING & AIR CONDITION       ATTN: ELIZABETH F CLAIMS DEPT. 6217 ANDERSON RD TAMPA FL 33634
BUDNER, GREGORY                      ADDRESS ON FILE
BUDNICK CONVERTING INC               340 PARKWAY DR COLUMBIA IL 62236
BUDNY, JAMIE                         ADDRESS ON FILE
BUDS TRAILER REPAIR INC              PO BOX 791 MATTOON IL 61938
BUDS WRECKER SERVICE                 959 CHICAGO DR S W GRAND RAPIDS MI 49509
BUDUL EXPRESS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BUDZ, RICHARD                        ADDRESS ON FILE
BUDZINSKI, BRIAN                     ADDRESS ON FILE
BUECHEL, JOSEPH                      ADDRESS ON FILE
BUENA VISTA CHARTER TOWNSHIP         1160 S OUTER DR SAGINAW MI 48601
BUENA VISTA TWP WTR & SWR DEPT       1160 S. OUTER DR SAGINAW MI 48601
BUENO, CASIANO                       ADDRESS ON FILE
BUENO, GABRIEL                       ADDRESS ON FILE
BUENROSTRO, EDUARDO                  ADDRESS ON FILE
BUENTELLO, NOELIA                    ADDRESS ON FILE
BUESCHINGS PEAT MOSS & MULCH         9134 WEST COOK ROAD FORT WAYNE IN 46818
BUETTNER, CHRISTOPHER                ADDRESS ON FILE
BUFF JR, CHRISTOPHER                 ADDRESS ON FILE
BUFF, CHRISTOPHER                    ADDRESS ON FILE
BUFFA, CHRISTINA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 281 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 290 of 2156

Claim Name                               Address Information
BUFFALO & FORT ERIE PUBLIC BRIDGE AUTH   1 PEACE BRIDGE PLAZA BUFFALO NY 14213
BUFFALO COUNTY TREASURER                 1512 CENTRAL AVE KEARNEY NE 68847
BUFFALO COUNTY TREASURER                 PO BOX 1270 KEARNEY NE 68848
BUFFALO DESIGN AND PRINTING              ATTN: JAKE YARTZ 2620 ELM WOOD AVE KENMORE NY 14217
BUFFALO GROUP TRANSPORT LIMITED          575 KENNEDY RD UNIT 1 BUFFALO NY 14227
BUFFALO LAWN & LANDSCAPE, INC.           224 DINGENS ST. BUFFALO NY 14206
BUFFALO LOGISTICS COMPANY                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
BUFFALO SCALE & SUPPLY CO INC            280 SENECA ST BUFFALO NY 14204
BUFFALO STRIVE VENDING INC               3538 CALIFORNIA RD ORCHARD PARK NY 14127
BUFFALO XPRESS                           OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
BUFFANO, ALAN                            ADDRESS ON FILE
BUFFETT, ROBERT                          ADDRESS ON FILE
BUFFKIN TILE AND CARPET                  3350 N. COURTENAY PKWY. MERRITT ISLAND FL 32953
BUFFORD, CAMERON                         ADDRESS ON FILE
BUFFORD, RUSSELL                         ADDRESS ON FILE
BUFFORD, RUSSELL                         ADDRESS ON FILE
BUFORD PLUMBING COMPANY, INC.            PO BOX 8601 JACKSON MS 39284
BUFORD, DROVANDI                         ADDRESS ON FILE
BUFORD, JERRY                            ADDRESS ON FILE
BUFORD, KEVIN                            ADDRESS ON FILE
BUFORD, MATTHEW                          ADDRESS ON FILE
BUFORD, VIRGINIA                         ADDRESS ON FILE
BUFORD, VIRGINIA                         ADDRESS ON FILE
BUFORDS TRANSPORTATION LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BUG-N-A-RUG EXTERMINATORS                670 WELLINGTON AVE WILMINGTON NC 28401
BUGABAYE LOGISTIC LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BUGGS LOGISTICS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
BUGIADA, DAVID                           ADDRESS ON FILE
BUGMAN PEST ELIMINATION INC              PO BOX 1648 LEXINGTON SC 29071
BUHKS                                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BUHO TRANSPORT INC                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
BUI, JASON                               ADDRESS ON FILE
BUI, KIEN                                ADDRESS ON FILE
BUILD IT RIGHT CONSULTANTS CORP          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BUILDERS SUPPLY                          4461 VIKING DR BOSSIER CITY LA 71111
BUILDERS WAREHOUSE                       2950 WESTERN AVE. CHICAGO IL 60618
BUILDING & EARTH SCIENCES INC            5545 DERBY DR BIRMINGHAM AL 35210
BUILDING OPULENCE SERVICES LLC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
BUILDING SYSTEMS TRANSPORTATION, CO.     460 E HIGH STREET LONDON OH 43140
BUILDINGS FALCON INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
BUILT OFF SELF SUCCESS TRANSPORT LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BUIT, ERIN                               ADDRESS ON FILE
BUKHARA LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BUKOSKEY, WILLIAM                        ADDRESS ON FILE
BUKOSKEY, WILLIAM J                      ADDRESS ON FILE
BULCORP LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BULGER, CLIVE                            ADDRESS ON FILE
BULGRIN, LAURA                           ADDRESS ON FILE
BULICK, ROBERT                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 282 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 291 of 2156

Claim Name                             Address Information
BULK FLUID SYSTEMS                     820 N. CONCORD STREET, S. ST. PAUL MN 55075
BULK MASTER CORP                       295 EASTGATE INDUS PKWY KANKAKEE IL 60901
BULK MASTER CORP                       PO BOX 365 CHEBANSE IL 60922
BULK TRANSFER SYSTEMS INC              7040 PRATT WHITNEY RD 25-170 LOXAHATCHEE FL 33470
BULKLEY LEASING LLC                    336 FM 2653 S RD BRASHEAR TX 75420
BULKLEY, COURTNEY                      ADDRESS ON FILE
BULKMASTER FLUID MASTER INC            295 EASTGATE INDUSTRIAL PKWY KANKAKEE IL 60901
BULL EXPRESS LLC (MC085750)            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BULL FREIGHT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BULL HAMMERLANE                        144 HIGHWAY EE HERMANN MO 65041
BULL, BRIAN                            ADDRESS ON FILE
BULL, GERALD                           ADDRESS ON FILE
BULLARD, COURTNEY                      ADDRESS ON FILE
BULLARD, DONNA S                       ADDRESS ON FILE
BULLARD, JESSE                         ADDRESS ON FILE
BULLARD, KENNETH                       ADDRESS ON FILE
BULLARD, RAYMOND                       ADDRESS ON FILE
BULLARD, RICHARD                       ADDRESS ON FILE
BULLDAWG TRANSPORT, LLC                OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
BULLDOG BATTERY                        88 E. FULTON STREET WABASH IN 46992
BULLDOG NATION TRANSPORT LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BULLDOG OILER SXPRESS SERVICES, LLC    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
BULLDOG TOWING LLC                     320 S. BILLINGS BLVD BILLINGS MT 59101
BULLDOG TOWING.                        555 SATURN BOULEVARD SAN DIEGO CA 92154
BULLDOG TRANSPORT INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BULLEN, TODD                           ADDRESS ON FILE
BULLET EXPRESS INC                     4117 ALTON CRES REGINA SK S4W 0G7 CANADA
BULLET EXPRESS LINE INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BULLET FREIGHT LTD                     OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
BULLET LOGISTICS INCORPORATED          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BULLET RENTAL AND SALES INC            3366 CRATER LAKE AVE MEDFORD OR 97504
BULLET RENTAL AND SALES INC            5900 SOUTHY SIXTH ST SUITE B KLAMATH FALLS OR 97603
BULLET TRANS INC                       112 BRIGHTON CIRCLE VACAVILLE CA 95687
BULLEWADD TRANSPORT LIMITED            OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
BULLEX LOGISTICS                       ATTN: GENERAL COUNSEL 8416 LANKERSHIM BLVD 201 SUN VALLEY CA 91352
BULLOCK, CONNELL                       ADDRESS ON FILE
BULLOCK, DAVID                         ADDRESS ON FILE
BULLOCK, DAVID                         ADDRESS ON FILE
BULLOCK, GREGORY                       ADDRESS ON FILE
BULLOCK, JERRY                         ADDRESS ON FILE
BULLOCK, TIMOTHY                       ADDRESS ON FILE
BULLOCKS CLEANING & RADIATOR REPAIR,   2640 N GRAHAM ST CHARLOTTE NC 28206
INC
BULLOCKS TOWING INC                    5445 SHEA DR SALT LAKE CITY UT 84104
BULLS DUST CONTROL OF AZ               47801 N BLACK CANYON HWY 353 NEW RIVER AZ 85087
BULLS EYE EXPEDITION, INC.             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BULLS TRANSPORT INC                    1464 ELMHURST RD ELK GROVE VILLAGE IL 60007
BULLSHEAD FREIGHT                      OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BULLSHIP LOGISTICS LLC                 16215 HEATHER CT SPRING LAKE MI 49456



Epiq Corporate Restructuring, LLC                                                                   Page 283 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 292 of 2156

Claim Name                           Address Information
BULLUCK, MICHAEL                     ADDRESS ON FILE
BULLY TRANSPORT & LOGISTICS INC      891 BENJAMIN TRL DAVENPORT FL 33837-7011
BULMAKS INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BULMAKS INC.                         1000 TRIDENT ST. HANAHAN SC 29410
BULMAX EXPRESS INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BULTHUIS, MARTIN                     ADDRESS ON FILE
BULTMAN, BRADLEY S                   ADDRESS ON FILE
BULZIAHE EXPRESS LLC                 OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
BUMBAUGH, PAUL                       ADDRESS ON FILE
BUMBLEBEE TRANSPORT LLC              3115 EAST MERRILL AVENUE GILBERT AZ 85234
BUMGARNER, EDDIE                     ADDRESS ON FILE
BUMPAOUS, JERRY                      ADDRESS ON FILE
BUMPER TO BUMPER                     S73W16511 JANESVILLE RD. MUSKEGO WI 53150
BUNCE, NATHAN                        ADDRESS ON FILE
BUNCH, BRANDON                       ADDRESS ON FILE
BUNCH, ERICA                         ADDRESS ON FILE
BUNCH, JAMES                         ADDRESS ON FILE
BUNCH, JOHNNIE                       ADDRESS ON FILE
BUNDE, GLORY                         ADDRESS ON FILE
BUNDREN, BRIAN                       ADDRESS ON FILE
BUNDREN, STACY                       ADDRESS ON FILE
BUNDY, LACRESHA                      ADDRESS ON FILE
BUNK, BRIAN                          ADDRESS ON FILE
BUNKLEY EXPEDITING SERVICE LLC       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BUNKS TOY BOX                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BUNLEY, JEREMIE                      ADDRESS ON FILE
BUNN OPERATING                       5020 ASH GROVE DR SPRINGFIELD IL 62711
BUNN, GREG                           ADDRESS ON FILE
BUNNELLS OVERHEAD DOOR INC           991 NW HIGHLAND ST ROSEBURG OR 97470
BUNNY LOGISTICS INC                  OR COMMERCE COMMERCIAL CREDIT INC. PO BOX 88714 MILWAUKEE WI 53288-8714
BUNTE, RYAN                          ADDRESS ON FILE
BUNTING, CHARLES                     ADDRESS ON FILE
BUNTIY, YURIY                        ADDRESS ON FILE
BUNTON, KWAYLON                      ADDRESS ON FILE
BUNTON, ROBERT                       ADDRESS ON FILE
BUNUAN, JAKE                         ADDRESS ON FILE
BUNZL 76768                          4501 WEST VALLEY HWY E SUMNER WA 98390
BUNZL PAPERCRAFT 76820               11605 SE JENNIFER ST CLACKAMAS OR 97015
BUNZL PHILADELPHIA                   10814 NORTHEAST AVE PHILADELPHIA PA 19166
BUNZL RETAIL SERVICES                8338 AUSTIN AVE MORTON GROVE IL 60053
BUONOMO, ANTHONY                     ADDRESS ON FILE
BURALE TRANSPORT LLC                 OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
BURANE EXPRESS INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BURBANK ELECTRIC                     11255 GUINN RD JACKSONVILLE FL 32218
BURBANK, GREGORY                     ADDRESS ON FILE
BURBANK, STEVE                       ADDRESS ON FILE
BURBRIDGE, LONNIE                    ADDRESS ON FILE
BURCH, DALE A                        ADDRESS ON FILE
BURCHAM, MARLIN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 284 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 293 of 2156

Claim Name                          Address Information
BURCHAM, MARTIN                     ADDRESS ON FILE
BURCHAM, TIMOTHY                    ADDRESS ON FILE
BURCHETT, BAILEY                    ADDRESS ON FILE
BURCHETT, CHARLES                   ADDRESS ON FILE
BURCHETT, FREDDIE A                 ADDRESS ON FILE
BURCHETT, JEFFREY                   ADDRESS ON FILE
BURCHETTE, WILLIAM                  ADDRESS ON FILE
BURCHFIELD, CHARLES                 ADDRESS ON FILE
BURCHFIELD, CLAYTON                 ADDRESS ON FILE
BURCHFIELD, RANDY                   ADDRESS ON FILE
BURCIAGA SAAVEDRA, EDSEL            ADDRESS ON FILE
BURCIAGA, CHARLES                   ADDRESS ON FILE
BURDA TRUCKING INC                  400 BIXWOOD DR SEWICKLEY PA 15143
BURDEN, DERMARCUS                   ADDRESS ON FILE
BURDEN, DION                        ADDRESS ON FILE
BURDEN, ELISHA RENEE                ADDRESS ON FILE
BURDEN, ELISHA RENEE                ADDRESS ON FILE
BURDEN, KENNETH                     ADDRESS ON FILE
BURDEN, MICHAEL                     ADDRESS ON FILE
BURDETT, ANDREW                     ADDRESS ON FILE
BURDETTE, ROBERT                    ADDRESS ON FILE
BURDETTE, TIMOTHY                   ADDRESS ON FILE
BURDIC, CASEN                       ADDRESS ON FILE
BURDIC, LAUREN                      ADDRESS ON FILE
BURDICK, PAT                        ADDRESS ON FILE
BURDINE, JERALD D                   ADDRESS ON FILE
BURDITT, LISA                       ADDRESS ON FILE
BURDITT, LISA                       ADDRESS ON FILE
BURDS PICKUP & DELIVERY LLC         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BUREKOVIC TRANSPORT INC             OR W W PAYMENT SYSTEM INC DEPT 996 PO BOX 14910 HUMBLE TX 77347-4910
BUREL JR, MICHAEL                   ADDRESS ON FILE
BURFORD, FITZMORRIS                 ADDRESS ON FILE
BURGARELLO ALARM, INC.              PO BOX 12487 OGDEN UT 84412
BURGE, LISANDRO                     ADDRESS ON FILE
BURGE, SHELLY                       ADDRESS ON FILE
BURGEN, CHARLES                     ADDRESS ON FILE
BURGER, COLLEEN                     ADDRESS ON FILE
BURGER, DENNIS                      ADDRESS ON FILE
BURGER, MARK                        ADDRESS ON FILE
BURGER, TAYLOR                      ADDRESS ON FILE
BURGERFERRARO, FREDRICK             ADDRESS ON FILE
BURGESON, JOHN                      ADDRESS ON FILE
BURGESS, BENJAMIN                   ADDRESS ON FILE
BURGESS, CHRISTOPHER                ADDRESS ON FILE
BURGESS, DEANTE                     ADDRESS ON FILE
BURGESS, JESSICA                    ADDRESS ON FILE
BURGESS, JOHNATHAN                  ADDRESS ON FILE
BURGESS, KAMERON                    ADDRESS ON FILE
BURGESS, KERRY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 285 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 294 of 2156

Claim Name                         Address Information
BURGESS, PAUL                      ADDRESS ON FILE
BURGESS, ROBERT                    ADDRESS ON FILE
BURGESS, RONALD                    ADDRESS ON FILE
BURGESS, SAMANTHA                  ADDRESS ON FILE
BURGETT, ABIGAIL                   ADDRESS ON FILE
BURGETT, FRANKLIN                  ADDRESS ON FILE
BURGIN, BRIANNA                    ADDRESS ON FILE
BURGIN, DAVID D                    ADDRESS ON FILE
BURGIN, JOHNATHAN                  ADDRESS ON FILE
BURGMEIERS HAULING, INC.           1356 OLD 6TH AVE. RD ALTOONA PA 16601
BURGMEIERS HAULING, INC.           PO BOX 929 ALTOONA PA 16603
BURGMEIERS HAULING, INC.           PO BOX 159 BELLWOOD PA 16617
BURGOAS, LUIS                      ADDRESS ON FILE
BURGOAS, LUIS                      ADDRESS ON FILE
BURGOON, DAVID                     ADDRESS ON FILE
BURGOS, CHRISTIAN                  ADDRESS ON FILE
BURGOS, EMANUEL                    ADDRESS ON FILE
BURGOS, ROGER                      ADDRESS ON FILE
BURGY, DALE                        ADDRESS ON FILE
BURHAN TRUCKING EXPRESS, LLC       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BURIEN TRUCK REPAIR                14600 AMBAUM BLVD SW BURIEN WA 98166
BURITICA, FERNANDO                 ADDRESS ON FILE
BURK, SPENCER                      ADDRESS ON FILE
BURK, STEVE                        ADDRESS ON FILE
BURK, SYLVIA                       ADDRESS ON FILE
BURKE HANDLING SYSTEMS             ATTN: TIM RILEY 431 HWY 49 S JACKSON MS 39218
BURKE HANDLING SYSTEMS, INC.       PO BOX 97089 JACKSON MS 39288
BURKE JR, ROBERT J                 ADDRESS ON FILE
BURKE S DANIELS                    ADDRESS ON FILE
BURKE SPRING                       ADDRESS ON FILE
BURKE, AUSTIN                      ADDRESS ON FILE
BURKE, AVERY                       ADDRESS ON FILE
BURKE, BILL                        ADDRESS ON FILE
BURKE, JAMAL                       ADDRESS ON FILE
BURKE, JAMES                       ADDRESS ON FILE
BURKE, JAMIE                       ADDRESS ON FILE
BURKE, JOSEPH                      ADDRESS ON FILE
BURKE, JUAN                        ADDRESS ON FILE
BURKE, KEVIN                       ADDRESS ON FILE
BURKE, MICHAEL                     ADDRESS ON FILE
BURKE, MICHAEL                     ADDRESS ON FILE
BURKE, PATRICK                     ADDRESS ON FILE
BURKE, PHILIP                      ADDRESS ON FILE
BURKE, PHILLIP                     ADDRESS ON FILE
BURKE, RAYMOND                     ADDRESS ON FILE
BURKE, RAYMOND                     ADDRESS ON FILE
BURKE, RICHARD                     ADDRESS ON FILE
BURKE, ROBERT                      ADDRESS ON FILE
BURKE, STEVE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 286 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 295 of 2156

Claim Name                               Address Information
BURKE, THOMAS                            ADDRESS ON FILE
BURKE, TIMOTHY                           ADDRESS ON FILE
BURKEHEAD, JAMES                         ADDRESS ON FILE
BURKETT RESTAURANT EQUIPMENT             KUEHNE NAGEL, INC PO BOX 9490 FALL RIVER MA 02720
BURKETT, DANIEL                          ADDRESS ON FILE
BURKETT, DEREK                           ADDRESS ON FILE
BURKETT, JACOB                           ADDRESS ON FILE
BURKETT, JOHN                            ADDRESS ON FILE
BURKETT, JOHN                            ADDRESS ON FILE
BURKETT, MICHAEL L                       ADDRESS ON FILE
BURKETT, WILLIAM                         ADDRESS ON FILE
BURKETTE, RICK                           ADDRESS ON FILE
BURKEY, DAVE                             ADDRESS ON FILE
BURKEYS EXPRESS LLC                      235056 BRUCKERVILLE AVE DORCHESTER WI 54425
BURKHARDT, SHANNA                        ADDRESS ON FILE
BURKHART DENTAL SUPPLY                   2502 S 78TH ST TACOMA WA 98409
BURKHART DENTAL SUPPLY                   12000 INDUSTRY WAY ANCHORAGE AK 99515
BURKHART DENTAL SUPPLY COMPANY           2502 SOUTH 78TH STREET TACOMA WA 98409
BURKHART LAW LLC                         4233 ROANOKE SUITE 100 KANSAS CITY MO 64111
BURKHART, DARRIN                         ADDRESS ON FILE
BURKHART, JOSEPH                         ADDRESS ON FILE
BURKHART, PRESTON                        ADDRESS ON FILE
BURKHART, RICHARD                        ADDRESS ON FILE
BURKHOLDER TRANSPORT INC                 1861 WINSLOW RD ATTICA MI 48412
BURKHOLDER, ROGER                        ADDRESS ON FILE
BURKHOLDERS HEATING &                    AIR CONDITIONING INC 383 MINOR STREET EMMAUS PA 18049
BURKS TRUCKING COMPANY LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BURKS, ALBERT                            ADDRESS ON FILE
BURKS, MARK                              ADDRESS ON FILE
BURKS, MICHAEL                           ADDRESS ON FILE
BURKS, PORCHA                            ADDRESS ON FILE
BURKS, ROYVRE                            ADDRESS ON FILE
BURKS, SCHELLY                           ADDRESS ON FILE
BURKS-JEFFERSON, CLOVIESTA               ADDRESS ON FILE
BURKUM, DIANE E                          ADDRESS ON FILE
BURKY, KRISTOPHER                        ADDRESS ON FILE
BURL COUNTRY                             ADDRESS ON FILE
BURLEIGH, SHANE                          ADDRESS ON FILE
BURLESON VENTURES LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
BURLESON, CHARLES                        ADDRESS ON FILE
BURLESON, CHRISTOPHER                    ADDRESS ON FILE
BURLESON, JEREMY                         ADDRESS ON FILE
BURLESON, JESS D                         ADDRESS ON FILE
BURLESON, MARK                           ADDRESS ON FILE
BURLESON, STEVE                          ADDRESS ON FILE
BURLETT REFRIGERATION INC                PO BOX 7277 SLIDELL LA 70469
BURLEY, PHILIP                           ADDRESS ON FILE
BURLINGAME, SHAUN                        ADDRESS ON FILE
BURLINGTON TRAILER SALES & SERVICE INC   D/B/A B & W TRAILER RENTAL, P O BOX 2083 BURLINGTON NC 27216



Epiq Corporate Restructuring, LLC                                                                    Page 287 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 296 of 2156

Claim Name                               Address Information
BURLINGTON TRAILER SALES & SERVICE INC   P.O. BOX 2083 BURLINGTON NC 27216
BURLISON, MICHAEL                        ADDRESS ON FILE
BURMA, SAMANTHA                          ADDRESS ON FILE
BURMAX                                   ATTN: VICTORIA PIZZOLO 28 BARRETTS AVE HOLTSVILLE NY 11742
BURN, JAMES                              ADDRESS ON FILE
BURNABY DIESELTECH SERVICES, INC.        1650 HARTLEY AVE COQUITLAM BC V5N 4E8 CANADA
BURNER, DOUGLAS                          ADDRESS ON FILE
BURNESS PARALEGAL SERVICES               PROFESSIONAL CORP IN TRUST 232 DUNDAS STREET PO BOX 190 THAMESFORD ON N0M 2M0
                                         CANADA
BURNETT TRUCKING INC                     23 RT 211, PO BOX 347 CUDDEBACKVILLE NY 12729
BURNETT, BRAD                            ADDRESS ON FILE
BURNETT, CARL                            ADDRESS ON FILE
BURNETT, COLLEEN                         ADDRESS ON FILE
BURNETT, JAMES                           ADDRESS ON FILE
BURNETT, JEFFREY S                       ADDRESS ON FILE
BURNETT, JENNIFER                        ADDRESS ON FILE
BURNETT, KENDALL                         ADDRESS ON FILE
BURNETT, LESLIE                          ADDRESS ON FILE
BURNETT, PAUL                            ADDRESS ON FILE
BURNETT, PHILIP                          ADDRESS ON FILE
BURNETT, PILON                           ADDRESS ON FILE
BURNETT, RALPHEL                         ADDRESS ON FILE
BURNETT, RANDALL                         ADDRESS ON FILE
BURNETT, TERRELL                         ADDRESS ON FILE
BURNETT, TIMOTHY                         ADDRESS ON FILE
BURNETT, TIMOTHY                         ADDRESS ON FILE
BURNETT, TRENT                           ADDRESS ON FILE
BURNETT, WAYNE                           ADDRESS ON FILE
BURNETTE & BOYD LLC                      OR COMMERCE COMMERCIAL CREDIT INC PO BOX 88714 MILWAUKEE WI 53288-8714
BURNETTS HEATING & COOLING               1011 MILL CREEK ROAD GALLIPOLIS OH 45631
BURNEY AND SONS TRUCKING INC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BURNEY, BILLY                            ADDRESS ON FILE
BURNEY, DEXTER                           ADDRESS ON FILE
BURNEY, JASON                            ADDRESS ON FILE
BURNHAM, JERRY                           ADDRESS ON FILE
BURNHAM, JOHN WAYNE                      ADDRESS ON FILE
BURNHAM, PEYTON                          ADDRESS ON FILE
BURNHAM, RICHARD                         ADDRESS ON FILE
BURNHAM, STEVEN                          ADDRESS ON FILE
BURNIE HOPLOCK                           ADDRESS ON FILE
BURNINGHAM, DELBERT                      ADDRESS ON FILE
BURNISON, SARAH                          ADDRESS ON FILE
BURNLEY, HARLEY                          ADDRESS ON FILE
BURNLEY, WILLIE V                        ADDRESS ON FILE
BURNS & MCDONNELL, INC.                  9400 WARD PARKWAY KANSAS CITY MO 64114
BURNS & MCDONNELL, INC.                  PO BOX 411883 KANSAS CITY MO 64141
BURNS INDUSTRIAL EQUIPMENT               PO BOX 951734 CLEVELAND OH 44193
BURNS JR, FRANK                          ADDRESS ON FILE
BURNS TRANSPORT SERVICE INC              OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411



Epiq Corporate Restructuring, LLC                                                                     Page 288 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 297 of 2156

Claim Name                        Address Information
BURNS, ANTONIO                    ADDRESS ON FILE
BURNS, BARRY                      ADDRESS ON FILE
BURNS, BOBBIE                     ADDRESS ON FILE
BURNS, BRIAN                      ADDRESS ON FILE
BURNS, BUD                        ADDRESS ON FILE
BURNS, CHRISTIIAN                 ADDRESS ON FILE
BURNS, CODY                       ADDRESS ON FILE
BURNS, CRAIG                      ADDRESS ON FILE
BURNS, DAVID                      ADDRESS ON FILE
BURNS, DEMARIO                    ADDRESS ON FILE
BURNS, DIAMOND                    ADDRESS ON FILE
BURNS, JAMES                      ADDRESS ON FILE
BURNS, JOHN D                     ADDRESS ON FILE
BURNS, JOHN D                     ADDRESS ON FILE
BURNS, JOHN E                     ADDRESS ON FILE
BURNS, KENNY D                    ADDRESS ON FILE
BURNS, LEE                        ADDRESS ON FILE
BURNS, MICHAEL                    ADDRESS ON FILE
BURNS, MICHAEL                    ADDRESS ON FILE
BURNS, RICK                       ADDRESS ON FILE
BURNS, ROBERT                     ADDRESS ON FILE
BURNS, ROBERT                     ADDRESS ON FILE
BURNS, ROBERT Q                   ADDRESS ON FILE
BURNS, ROCKFORD                   ADDRESS ON FILE
BURNS, RODNEY                     ADDRESS ON FILE
BURNS, ROGER                      ADDRESS ON FILE
BURNS, SHABRAYA                   ADDRESS ON FILE
BURNS, SHANE                      ADDRESS ON FILE
BURNS, STACY                      ADDRESS ON FILE
BURNS, STEWART                    ADDRESS ON FILE
BURNS, THOMAS C                   ADDRESS ON FILE
BURNS, WILLIAM                    ADDRESS ON FILE
BURNSIDE, DARRIAN                 ADDRESS ON FILE
BURNSIDE, DARVIN                  ADDRESS ON FILE
BURNSIDE, JASON                   ADDRESS ON FILE
BURNSIDE, WILLIAM                 ADDRESS ON FILE
BURNSIDE-RHODES, CARRIE           ADDRESS ON FILE
BURNUM, KENNETH H                 ADDRESS ON FILE
BUROFF, BRIAN                     ADDRESS ON FILE
BUROFF, BRIAN R                   ADDRESS ON FILE
BUROKER, BRAD                     ADDRESS ON FILE
BURR AND TEMKIN                   12395 MORRIS RD, SUITE 105 ALPHARETTA GA 30005
BURR AND TEMKIN                   1506 KLONDIKE ROAD SUITE 200 CONYERS GA 30094
BURR LOGISTICS                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BURR, JOEY                        ADDRESS ON FILE
BURRAGE, WALTER                   ADDRESS ON FILE
BURRELL, ANTHONY                  ADDRESS ON FILE
BURRELL, BERT                     ADDRESS ON FILE
BURRELL, BRANDY C                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 289 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 298 of 2156

Claim Name                               Address Information
BURRELL, BRANDY C                        ADDRESS ON FILE
BURRELL, KEITH                           ADDRESS ON FILE
BURRELL, KELLY                           ADDRESS ON FILE
BURRELL, MARLENE                         ADDRESS ON FILE
BURRIER, GARY                            ADDRESS ON FILE
BURRILL, BENJAMIN                        ADDRESS ON FILE
BURRIS & DRAKEFORD TRANSPORT LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
BURRIS, AL                               ADDRESS ON FILE
BURRIS, DONALD                           ADDRESS ON FILE
BURRIS, EMILY                            ADDRESS ON FILE
BURRIS, ONTERIO                          ADDRESS ON FILE
BURRIS, RONNIE                           ADDRESS ON FILE
BURRIS, SEAN                             ADDRESS ON FILE
BURRISS, ROBERT                          ADDRESS ON FILE
BURROLA, RUDY                            ADDRESS ON FILE
BURROUGHS, ROBERT                        ADDRESS ON FILE
BURROUGHS, STEPHEN                       ADDRESS ON FILE
BURROW, QUENTIN                          ADDRESS ON FILE
BURROWBRIDGE, RONALD                     ADDRESS ON FILE
BURROWS, TYLER                           ADDRESS ON FILE
BURROWS, WILLIAM                         ADDRESS ON FILE
BURRUS, BRYAN                            ADDRESS ON FILE
BURSE, WILLIAM                           ADDRESS ON FILE
BURSON, CHARLES                          ADDRESS ON FILE
BURSTON, FREEMAN                         ADDRESS ON FILE
BURT STEVE & SON GARAGE OPERATIONS INC   3366 CRESCENT RIDGE DUBUQUE IA 52003
BURT, CHRISTOPHER                        ADDRESS ON FILE
BURT, DUSTY                              ADDRESS ON FILE
BURT, JOAN                               ADDRESS ON FILE
BURT-MAN TRUCKING LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BURTCHER, ERIC                           ADDRESS ON FILE
BURTIS, JEFFREY                          ADDRESS ON FILE
BURTON & BURTON TRUCKING LLC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
BURTON II, HUBERT                        ADDRESS ON FILE
BURTON, ANTHONY                          ADDRESS ON FILE
BURTON, BILLY                            ADDRESS ON FILE
BURTON, CHRISTY                          ADDRESS ON FILE
BURTON, CLINTON                          ADDRESS ON FILE
BURTON, GILBERT                          ADDRESS ON FILE
BURTON, JEFFERY A                        ADDRESS ON FILE
BURTON, JESSIE                           ADDRESS ON FILE
BURTON, JOHN                             ADDRESS ON FILE
BURTON, JOSEPH                           ADDRESS ON FILE
BURTON, JOSEPH M                         ADDRESS ON FILE
BURTON, JOSHUA                           ADDRESS ON FILE
BURTON, KATIE                            ADDRESS ON FILE
BURTON, LARRY                            ADDRESS ON FILE
BURTON, MICHAEL                          ADDRESS ON FILE
BURTON, MICHAEL                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 290 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 299 of 2156

Claim Name                            Address Information
BURTON, PHIL                          ADDRESS ON FILE
BURTON, RICKY                         ADDRESS ON FILE
BURTON, ROBERT                        ADDRESS ON FILE
BURTON, RODNEY                        ADDRESS ON FILE
BURTON, ROMONA                        ADDRESS ON FILE
BURTON, RONALD                        ADDRESS ON FILE
BURTON, RUSSELL                       ADDRESS ON FILE
BURTON, SHEREE                        ADDRESS ON FILE
BURTON, THOMAS                        ADDRESS ON FILE
BURTON, TIMOTHY                       ADDRESS ON FILE
BURTON, TRAVIS                        ADDRESS ON FILE
BURU LLC                              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
BUS ANDREWS TRUCK EQUIPMENT, INC      2828 E KEARNEY SPRINGFIELD MO 65803
BUSBY, BRUCE                          ADDRESS ON FILE
BUSBY, ELIZABETH                      ADDRESS ON FILE
BUSBY, KIERA                          ADDRESS ON FILE
BUSBY, ROBERT                         ADDRESS ON FILE
BUSBY, TREYVONNE                      ADDRESS ON FILE
BUSCAGLIA, STEPHEN                    ADDRESS ON FILE
BUSCEMI, CHRISTOPHER                  ADDRESS ON FILE
BUSCH, ZACKARY                        ADDRESS ON FILE
BUSCHER, RYAN                         ADDRESS ON FILE
BUSCHETTE, ALYONA                     ADDRESS ON FILE
BUSER, JACOB                          ADDRESS ON FILE
BUSH REFRIGERATION INC                7020 INGHAM LN GODFREY IL 62035
BUSH, ANTHONY                         ADDRESS ON FILE
BUSH, CARL L                          ADDRESS ON FILE
BUSH, CHANTELL                        ADDRESS ON FILE
BUSH, DAVID                           ADDRESS ON FILE
BUSH, DENISE                          ADDRESS ON FILE
BUSH, JESSICA                         ADDRESS ON FILE
BUSH, JOHNNY                          ADDRESS ON FILE
BUSH, STANLEY                         ADDRESS ON FILE
BUSH, STERLING                        ADDRESS ON FILE
BUSH, WAYNE A                         ADDRESS ON FILE
BUSHER, MICHAEL                       ADDRESS ON FILE
BUSHEY, JARRETT                       ADDRESS ON FILE
BUSHNELL, GREGORY                     ADDRESS ON FILE
BUSHNELL, JOHN                        ADDRESS ON FILE
BUSHNELLS WAREHOUSE                   PO BOX 10164 PORTLAND OR 97296
BUSHONG, RICK                         ADDRESS ON FILE
BUSHWICK TRUCKING AND LOGISTICS INC   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
BUSINESS COURIER                      PO BOX 1378 OREGON CITY OR 97045
BUSINESS HEALTH PLUS, INC.            4755 HIGHWAY 31 CLARKSVILLE IN 47129
BUSINESS HYGIENE                      PO BOX 16558 LUBBOCK TX 79490
BUSINESS HYGIENE                      PO BOX 16560 LUBBOCK TX 79490
BUSINESS WHITE PAGES INC              6119 GREENVILLE, 435 DALLAS TX 75206
BUSKELL, DONNA                        ADDRESS ON FILE
BUSKIRK ENGINEERINGINC.               7224 E 900 N OSSIAN IN 46777



Epiq Corporate Restructuring, LLC                                                               Page 291 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 300 of 2156

Claim Name                           Address Information
BUSMAN, TERRY                        ADDRESS ON FILE
BUSS FORD                            111 IL RT. 31 MCHENRY IL 60050
BUSS, FRANK                          ADDRESS ON FILE
BUSSARD, JOHN                        ADDRESS ON FILE
BUSSE HOSPITAL DISPOSABLES           75 ARKAY DR HAUPPAUGE NY 11788
BUSSE HOSPITAL DISPOSABLES           ATTN: GLENDI COREAS 75 ARKAY DR HAUPPAUGE NY 11788
BUSSE, FRED                          ADDRESS ON FILE
BUSSE, STEVEN                        ADDRESS ON FILE
BUSSELL, ERNIE                       ADDRESS ON FILE
BUSSELL, SAMUEL                      ADDRESS ON FILE
BUSSER, MICHAEL                      ADDRESS ON FILE
BUSSERT, RYAN                        ADDRESS ON FILE
BUSSEY, DEONTAY                      ADDRESS ON FILE
BUSSIE, MICHAEL                      ADDRESS ON FILE
BUSSJAEGER, PAUL                     ADDRESS ON FILE
BUSTA TRUCKING LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
BUSTALE EXPRESS LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
BUSTAMANTE TRUCKING                  OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
BUSTAMANTE, ANGEL                    ADDRESS ON FILE
BUSTAMANTE, CARLOS                   ADDRESS ON FILE
BUSTAMANTE, GILBERTO R               ADDRESS ON FILE
BUSTAMANTES TRANSPORTATION LLC       511 MARSHALL RD BENSENVILLE IL 60106
BUSTAMONTI, MELICIO                  ADDRESS ON FILE
BUSTER, BRANDON                      ADDRESS ON FILE
BUSTER, CLIFTON                      ADDRESS ON FILE
BUSTILLO, AMILCAR                    ADDRESS ON FILE
BUSTILLOS, ROBERT                    ADDRESS ON FILE
BUSTILLOS, RUBEN                     ADDRESS ON FILE
BUSTOS, FAUSTO                       ADDRESS ON FILE
BUSY BEAVER TRUCKINGLLC              ATTN: TIM GRIFFINS 630 PENBROOK ST WESTERVILLE OH 43082
BUSY BEE GA INC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
BUSY BEE LOGISTICS INC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BUTAVICIUTE, SANDRA                  ADDRESS ON FILE
BUTCH CRAIG & SON INC                PO BOX 1447, 295 RODMAN RD AUBURN ME 04211
BUTCHER, BEAU                        ADDRESS ON FILE
BUTCHER, DERRICK                     ADDRESS ON FILE
BUTCHER, JUSTIN                      ADDRESS ON FILE
BUTCHER, LOREEN                      ADDRESS ON FILE
BUTCHER, ROBERT                      ADDRESS ON FILE
BUTCHER, STEVEN                      ADDRESS ON FILE
BUTER, MARLENE                       ADDRESS ON FILE
BUTLER CO WATER & SEWER DEPT         130 HIGH ST. HAMILTON OH 45011
BUTLER COUNTY OF OHIO                315 HIGH ST 10TH FL HAMILTON OH 45011
BUTLER COUNTY TAX COLLECTOR          TAX COLLECTOR POPLAR BLUFF MO 63901
BUTLER GROUND MAINTENANCE            9620 LAKE VALLEY CIR MABELVALE AR 72103
BUTLER TECHNOLOGY AND                CAREER DEVELOPMENT SCHOOLS ATTN: PAM CREAGER 5140 PRINCETON- GLENDALE RD.
                                     LIBERTY TOWNSHIP OH 45011
BUTLER TRUST ACCOUNT                 C/O BUTLER WEIHMULLER KATZ CR AIG LLP ATTN: HOBART HIND 11605 NORTH COMMUNITY
                                     HOUSE RD CHARLOTTE NC 28277



Epiq Corporate Restructuring, LLC                                                               Page 292 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                       Page 301 of 2156

Claim Name                          Address Information
BUTLER TRUST ACCOUNT                598 JUSTIN PLACE NEVADA TX 75173
BUTLER, ANDREW                      ADDRESS ON FILE
BUTLER, ANTHONY                     ADDRESS ON FILE
BUTLER, BENJAMIN                    ADDRESS ON FILE
BUTLER, BERNARD                     ADDRESS ON FILE
BUTLER, BONNIE                      ADDRESS ON FILE
BUTLER, BRANDON                     ADDRESS ON FILE
BUTLER, BRIAN D                     ADDRESS ON FILE
BUTLER, CAPERS                      ADDRESS ON FILE
BUTLER, CHRISTOPHER                 ADDRESS ON FILE
BUTLER, CHRISTOPHER                 ADDRESS ON FILE
BUTLER, COURTNEY                    ADDRESS ON FILE
BUTLER, DAMARCUS                    ADDRESS ON FILE
BUTLER, DAVID                       ADDRESS ON FILE
BUTLER, DEON                        ADDRESS ON FILE
BUTLER, DEVEON                      ADDRESS ON FILE
BUTLER, DION                        ADDRESS ON FILE
BUTLER, DONALD                      ADDRESS ON FILE
BUTLER, DONALD                      ADDRESS ON FILE
BUTLER, EERON                       ADDRESS ON FILE
BUTLER, ERICH                       ADDRESS ON FILE
BUTLER, JAMES                       ADDRESS ON FILE
BUTLER, JAMIE                       ADDRESS ON FILE
BUTLER, JENNIFER                    ADDRESS ON FILE
BUTLER, LANCE                       ADDRESS ON FILE
BUTLER, LANCE                       ADDRESS ON FILE
BUTLER, LARRY                       ADDRESS ON FILE
BUTLER, LINDA                       ADDRESS ON FILE
BUTLER, MARK                        ADDRESS ON FILE
BUTLER, MELLISSA                    ADDRESS ON FILE
BUTLER, MICHAEL                     ADDRESS ON FILE
BUTLER, NATHAN                      ADDRESS ON FILE
BUTLER, NORMAN                      ADDRESS ON FILE
BUTLER, OLU                         ADDRESS ON FILE
BUTLER, PATRICK                     ADDRESS ON FILE
BUTLER, RAYMOND                     ADDRESS ON FILE
BUTLER, RAYMOND                     ADDRESS ON FILE
BUTLER, RAYMOND O                   ADDRESS ON FILE
BUTLER, RICHARD                     ADDRESS ON FILE
BUTLER, ROBERT                      ADDRESS ON FILE
BUTLER, RODNEY                      ADDRESS ON FILE
BUTLER, SCOTT                       ADDRESS ON FILE
BUTLER, SEAN                        ADDRESS ON FILE
BUTLER, SHERMIAH                    ADDRESS ON FILE
BUTLER, STANLEY L                   ADDRESS ON FILE
BUTLER, TALIYAH                     ADDRESS ON FILE
BUTLER, TALIYAH                     ADDRESS ON FILE
BUTLER, TODD                        ADDRESS ON FILE
BUTLER, WILLIAM                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 293 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 302 of 2156

Claim Name                           Address Information
BUTLER, ZACHARY                      ADDRESS ON FILE
BUTLERS GARAGE & WRECKER LLC         323 RAYMOND BUTLER RD HARNED KY 40144
BUTT, GLENN C                        ADDRESS ON FILE
BUTTAR CARRIER INC                   1514 KINGS VIEW DR FRISCO TX 75036
BUTTE GLASS                          840 S UTAH BUTTE MT 59701
BUTTE SILVER BOW TREASURERS OFFICE   155 W GRANITE ST STE 209 BUTTE MT 59701
BUTTER EXPRESS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
BUTTERFIELD FORKLIFT                 455 HENDERSON DRIVE REGINA SK S4N 5W8 CANADA
BUTTERFIELD, KENNETH                 ADDRESS ON FILE
BUTTERFIELD, PAUL                    ADDRESS ON FILE
BUTTERFLY CARRIER LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BUTTERS, TOM                         ADDRESS ON FILE
BUTTLES CUSTOM AG LLC                455 INDUSTRIAL DR WAUPACA WI 54981
BUTTO, PATRICK                       ADDRESS ON FILE
BUTTON OIL & PROPANE                 PO BOX 8 MOUNTAIN TOP PA 18707
BUTTRAM, PETER                       ADDRESS ON FILE
BUTTS, ANDREW                        ADDRESS ON FILE
BUTTS, CHARLES                       ADDRESS ON FILE
BUTTS, CLARENCE                      ADDRESS ON FILE
BUTUGEY CARRIERS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
BUUS, JEFFREY                        ADDRESS ON FILE
BUXTON, NICHOLAS                     ADDRESS ON FILE
BUXTON, SANDRA                       ADDRESS ON FILE
BUXTON, TOM                          ADDRESS ON FILE
BUYERS PRODUCTS                      ATTN: JENNIFER BEAL 9049 TYLER BLVD MENTOR OH 44060
BUYERS PRODUCTS COMPANY              9049 TYLER BLVD MENTOR OH 44060
BUYUSEDLOCKERS.COM                   D/B/A: DIVIS10N 2895 SOUTH 300 WEST SALT LAKE CITY UT 84115
BUZAY, KYLE                          ADDRESS ON FILE
BUZYBEE TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BUZZARD, PAUL                        ADDRESS ON FILE
BV TRANS LOGISTICS LLC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
BVB EXPRESS INC                      882 BRISTOL ST PINGREE GROVE IL 60140-9184
BVK TRUCKING INC                     13936 PRESTON DR ORLAND PARK IL 60467
BVK TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
BVR LOGISTICS LTD                    1254 QUEST CIRCLE MISSISSAUGA ON L5N8B8 CANADA
BVR LOGISTICS LTD                    27 HUTTON CREST CALEDON ON L7C 1A3 CANADA
BVS LOGISTICS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
BW                                   PO BOX 70 HARRISONVILLE MO 64701
BW EXTENSIVE TRANSPORTATION LLC      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
BWF CARRIERS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BWILL EXPRESS LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
BX USA INC                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
BX USA INC                           2338 SCORIA CT CHINO HILLS CA 91709
BY GANIO EXPRESS INC                 3S076 SEQUOIA DR GLEN ELLYN IL 60137
BY GRACE TRUCKING                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
BY HIS STRIPES TRANSPORTATION LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
BY YUSUF TRANSPORTATION LLC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
BYA TRANS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 294 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 303 of 2156

Claim Name                            Address Information
BYARD, CHARLES                        ADDRESS ON FILE
BYBEE, KEVIN                          ADDRESS ON FILE
BYERLEY, RUBEN                        ADDRESS ON FILE
BYERLY, HAROLD                        ADDRESS ON FILE
BYERLY, JOSEPHINE                     ADDRESS ON FILE
BYERS GLASS & MIRROR INC              PO BOX 291 BONNER SPRINGS KS 66012
BYERS TRUCKING & FREIGHT BROKER LLC   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
BYERS, ALLEN                          ADDRESS ON FILE
BYERS, BRANDON                        ADDRESS ON FILE
BYERS, CHAL                           ADDRESS ON FILE
BYERS, NATHAN                         ADDRESS ON FILE
BYERS, RHONDA                         ADDRESS ON FILE
BYERS, SHANTE                         ADDRESS ON FILE
BYERS, STEVEN                         ADDRESS ON FILE
BYERS, STEVEN R                       ADDRESS ON FILE
BYERS, SUZANNE                        ADDRESS ON FILE
BYEXPRESS LOGISTICS                   2411 HOLLY LANE OTTAWA ON K1V 7P2 CANADA
BYEXPRESS LOGISTICS                   PO BOX 192 BRADFORD ON L3Z 2A8 CANADA
BYFUGLIEN TRUCKING, INC.              P. O. BOX 397 ROSEAU MN 56751
BYHOLT INC                            10636 SPRINKLE RD. VICKSBURG MI 49097
BYLAND TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BYLUG LLC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
BYLUG LLC                             101 W 16TH ST 1064 YUMA AZ 85364
BYNUM, JOHN                           ADDRESS ON FILE
BYNUM, SHANNON                        ADDRESS ON FILE
BYPASS DIESEL & WRECKER SERVICE INC   PO BOX 1064 NASHVILLE AR 71852
BYRD, ALEXIS                          ADDRESS ON FILE
BYRD, ANTONIO                         ADDRESS ON FILE
BYRD, BRADLEY                         ADDRESS ON FILE
BYRD, BURDELL                         ADDRESS ON FILE
BYRD, DESTINEE R                      ADDRESS ON FILE
BYRD, DONALD                          ADDRESS ON FILE
BYRD, JEFFREY                         ADDRESS ON FILE
BYRD, JERRY                           ADDRESS ON FILE
BYRD, JULIAN                          ADDRESS ON FILE
BYRD, KISHA                           ADDRESS ON FILE
BYRD, LARRY                           ADDRESS ON FILE
BYRD, MACK                            ADDRESS ON FILE
BYRD, ROBERT                          ADDRESS ON FILE
BYRD, SLADE                           ADDRESS ON FILE
BYRD, STANLEY                         ADDRESS ON FILE
BYRD, STANLEY                         ADDRESS ON FILE
BYRD, STEPHEN                         ADDRESS ON FILE
BYRD, TREVOR                          ADDRESS ON FILE
BYRDS WING TRANSPORTATION LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
BYRDSONG, JOSEPH                      ADDRESS ON FILE
BYRDSWAY TRUCKING, LLC                P. O. BOX 1024 ALPENA MI 49707
BYRGE, DONALD                         ADDRESS ON FILE
BYRNE, JOHN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 295 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 304 of 2156

Claim Name                               Address Information
BYRNES MECHANICAL CONTRACTORS            115 RIDGEDALE DR WEST MONROE LA 71291
BYRNES, JEFFREY                          ADDRESS ON FILE
BYRNES, PATRICK                          ADDRESS ON FILE
BYROADE, DENNIS                          ADDRESS ON FILE
BYRON A BELL                             ADDRESS ON FILE
BYRON TOWNSHIP                           ATTN TREASURER 8085 BYRON CENTER AVENUE SW BYRON CENTER MI 49315
BYRON TOWNSHIP TREASURER                 8085 BYRON CTR. AVE BYRON CENTER MI 49315
BYRON TOWNSHIP TREASURER                 8085 BYRON CENTER AVENUE SW BYRON CENTER MI 49315
BYRON TOWNSHIP WATER & SEWER             8085 BYRON CENTER AVE SW PO BOX 264 BYRON CENTER MI 49315
BYS LOGISTICS ONE CORPORATION            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
BYSON TRANS INC                          OR THUNDER CARRIER SERVICES LLC DEPT 3003 PO BOX 1000 MEMPHIS TN 38148-3003
BYSSAINTHE, BEDELIN                      ADDRESS ON FILE
BYSTRONIC CANADA LTD.                    3450 RIDEWAY DR, UNIT 4 MISSISSAUGA L5L 0A2 CANADA
BYT TRUCKING LIMITED LIABILITY COMPANY   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
BYTEKS USA LLC                           OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
BYTHEWOOD, JOHN                          ADDRESS ON FILE
BYUN, JOHN                               ADDRESS ON FILE
BZ EXPRESS INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
BZ TRANS INC                             448 COUNTRY WOOD CIR LAKE MARY FL 32746
BZDZIAK, MICHAEL                         ADDRESS ON FILE
BZI TRANSPORTATION LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
BZM INC                                  3214 13TH STREET KENOSHA WI 53144
BZS TRANSPORT                            ATTN: JENNY A. 175 CLASSON AVE BROOKLYN NY 11205
C & A TRANSPORT                          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
C & A TRANSPORTATION LLC                 OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
C & B EXPRESS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
C & B INTERNATIONAL FREIGHT SYSTEM INC   OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                         CANADA
C & C EVANS LOGISTICS LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
C & C FIRE SPRINKLER SYSTEMS AND         INSPECTIONS, INC. 100 MERCER CT STE 130 LEXINGTON KY 40511
C & C MANUFACTURING                      ATTN: ENZA LOBBERECHT 15075 ALJON AVE OTTUMWA IA 52501
C & C TRANSPORTATION SERVICES, LLC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
C & D COFFEE AND VENDING, INC            1701 WEST FORK DR STE 108 LITHIA SPRINGS GA 30122
C & D LOGISTICS LLC                      OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
C & E TRANSPORT LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
C & F FREIGHTS LLC                       OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
C & G TRANSPORT LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
C & H BODY SHOP                          934 HOMESTEAD AVENUE, P.O. BOX 503 MAYBROOK NY 12543
C & H BODY SHOP                          PO BOX 581 MAYBROOK NY 12543
C & I WAY TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
C & J CONTRACTING INC                    331 COMMERCIAL ST SAN JOSE CA 95112
C & J TRANSPORT                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
C & J WELDING & FABRICATING INC          1684 ATLANTA RD SE SMYRNA GA 30080
C & K ENTERPRISES ARIZONA INC            1429 E GARDNER RD FORT MOHAVE AZ 86426-1201
C & K TRUCKING LLC                       14 CHEYENNE RD WORCESTER MA 01606
C & L REPAIR LLC                         1376 BOWERS RD LAPEER MI 48446
C & M FORWARDING CO INC                  3457 UNION ST NORTH CHILI NY 14514
C & M LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
C & M TRANSPORT                          5551 SMITH DR MECHANICSBURG PA 17050



Epiq Corporate Restructuring, LLC                                                                     Page 296 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 305 of 2156

Claim Name                           Address Information
C & M WELCH TRUCKING LLC             OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
C & N CARRIER INC                    10 RIDGEWOOD CT POMONA CA 91766
C & N LOGISTICS LLC                  OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
C & N TRUCKING LLC                   1238 SITA WAY ANTHONY NM 88021
C & R EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C & R EXPRESS TRUCKING LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
C & R FENCE CONTRACTORS INC.         P.O. BOX 30705 STOCKTON CA 95213
C & R FREIGHT TRANS INC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
C & R LOGISTICS LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
C & R TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C & S BROKERAGE INC                  PO BOX 143 KLAMATH FALLS OR 97601
C & S COMMERCIAL TRUCK REPAIR        1420 PRUDENTIAL DRIVE DALLAS TX 75235
C & S MATOS TRUCKING LLC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
C & S TOWING INC                     245 SOUTH JACKSON, PO BOX 209 LEBANON MO 65536
C & S TRANSFER LLC                   10 DOUBLE CREEK DRIVE A-14 HATTIESBURG MS 39402
C & S TRANSPORT LLC                  OR BC FACTORING LLC, P.O. BOX 172091 MEMPHIS TN 38187
C & S TRANSPORTATION INC             730 EPPERSON DR CITY OF INDUSTRY CA 91748
C & S TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
C & S VENDING COMPANY, INC.          PO BOX 876 FARIBAULT MN 55021
C & V TRANSPORTATION INC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
C & W TRANSPORT CARRIERS LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
C & W TRUCKING & SONS INC            2117 STATE ST, SUITE 301 BETTENDORF IA 52722
C & Y TRUCKING CORP                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
C A JUILLARD INC                     PO BOX 60054, 7059 LINGLESTOWN ROAD HARRISBURG PA 17106
C A T TRANSPORT INC                  PO BOX 2441 HAVRE MT 59501
C A TRANSPORT LOGISTIC INC           OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
C AMOUR TRUCKING LLC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SUIYX FAKKS SD 57101
C AND C TRANSPORTATION LLC           OR NSC FINANCIAL INC, 14417 N 45TH DR GLENDALE AZ 85306-4517
C AND C TRANSPORTATION LLC           4943 W JOYCE CIRCLE, 4943 W JOYCE CIRCLE GLENDALE AZ 85308
C AND G PARTNERS LLC                 7632 CRIST CT CANAL WNCHSTR OH 43110-8677
C AND G QUALITY TRANSPORT LLC        900 MICKLEY RD APT AA1-4 WHITEHALL PA 18052
C AND H TRUCKING LLC                 1702 N BLACKSTONE CT WICHITA KS 67235
C AND J AUTO GLASS, CO               372 WINTERSET WAY GREENWOOD IN 46143
C AND R TOWING AND RECOVERY, LLC     P.O. BOX 68 MANGHAM LA 71259
C AND S BROKERAGE                    ATTN: MICHAEL FENTERS PO BOX 143 3122 HILYARD AVE KLAMATH FALLS OR 97601
C B DOOLEY ENTERPRISES LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
C BAR P TRUCKING INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C C THE BODY SHOP                    5585 LARCH AVENUE RIALTO CA 92377
C C UNITED                           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
C CHAMBERS TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
C D FORD & SONS INC                  16243 FORD ROAD GENESEO IL 61254
C D L DELIVERY LLC                   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
C D POWER INC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
C DAVIS ELECTRIC COINC               1701 SW 100 TERRACE MIRAMAR FL 33025
C DE BACA, LOUIE                     ADDRESS ON FILE
C E & W ENTERPRISES, INC.            PO BOX 87 STALEY NC 27355
C E MANAGEMENT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
C E WHITE TRUCKING LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
C FANN TRANSPORTATION                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                                 Page 297 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 306 of 2156

Claim Name                           Address Information
C FORCE TRANSPORT INC.               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
C G TOOLS LLC                        48615 WILLIS RD BELLEVILLE MI 48111
C GARZA INC                          621 HOFFMAN AVE HAMMOND IN 46321
C H ROBINSON WORLDWIDE INC           14800 CHARLSON RD STE 1450 EDEN PRAIRIE MN 55347
C H ROBINSON WW                      SUITE 1450, 14800 CHARLSON RD EDEN PRAIRIE MN 55347
C HUGHES TRUCKING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
C J SMITH TRUCKING LLC               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
C J WRIGHT TRANSPORT LLC             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
C L F TRANS INC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
C L ROUTENBURG & SONS LTD            185 SYDENHAM ST WOODSTOCK ON N4S 7B8 CANADA
C L SCOTT LOGISTICS LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
C M TRANSPORTATION LLC               OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
C MILLER TRUCKING INC                OR 18 WHEEL FUNDING LLC DEPARTMENT 6029 PO BOX 4517 HOUSTON TX 77210-4517
C MITCHELL TRUCKING LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
C MONGE TRANSPORT                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
C O R EXPRESS LLC                    OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
C O T TRUCKING INC                   14125 GOLDENWEST ST WESTMINSTER CA 92683
C OWENS TRUCKING LLC                 OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
C PEGUESE TRANSPORT                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
C PRODUCTS DEFENSE,INC.              4555 18TH STREET EAST BRADENTON FL 34203
C R HARPER TRUCKING LLC              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
C R T S INC                          3301 INTEGRITY DR GARNER NC 27529
C REEVES SERVICES LTD                12153 - 93 ST NW EDMONTON AB T5G 1E9 CANADA
C ROBERTS TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C S ALEXANDER TRANSPORT LLC          OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
C S TRANSIT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
C S TRUCK & TRAILER REPAIR           6575 MARSHALL BLVD., SUITE B LITHONIA GA 30058
C SANGHERA TRANSPORT LTD             C SANGHERA TRANSPORT LTD UNIT 110 6638 152A ST SURREY BC V3S5X5 CANADA
C SCHEIBER INC                       6433 VIKING BLVD NW ANOKA MN 55303
C SPIRE WIRELESS                     1018 HIGHLAND COLONY PKWY STE 300 RIDGELAND MS 39157
C SPIRE WIRELESS                     PO BOX 519 MEADVILLE MS 39653
C STODDARD & SONS INC                3456 12TH ST. WAYLAND MI 49348
C STODDARD & SONS INC                PO BOX 426 WAYLAND MI 49348
C T M A EXPRESS                      435 CHEMIN AVILA-ARSENEAU CAP AUX MEULES QC G4T 1J3 CANADA
C TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C TRUCKING EXPRESS INC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
C VERA TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
C W EXPRESS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
C W SCHULTZ AND SON INC              216 PARRISH ST WILKES-BARRE PA 18702
C&A FL33T INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C&A HAULING LLC                      OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
C&B ELECTRIC & A/C SERVICES          4108 NORTH 21ST STREET MC ALLEN TX 78504
C&C FREIGHT LOGISTICS INC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
C&C ON TIME LOGISTICS LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
C&C QUALITY LOGISTICS LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
C&C TIRES                            5600 CRATER LAKE AVE CENTRAL POINT OR 97502
C&D EXPRESS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                 Page 298 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 307 of 2156

Claim Name                          Address Information
C&D TECHNOLOGIES INC                ATTN: JENNIFER SPENCER UBER FREIGHT PO BOX 518 LOWELL AR 72745
C&D TRANSPORT SERVICES LLC          1233 BLUESTEM ST PANAMA CITY FL 32405
C&E TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
C&F (RT SPECIALTY)                  C/O CRUM & FORESTER ATTN: STEPHEN BLANCUZZI 305 MADISON AVE MORRISTOWN NJ
                                    07962
C&F LOGISTIC INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
C&G FREIGHT SOLUTIONS LLC           OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
C&G VELASQUEZ LOGISTICS LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
C&H TRUCKING EXPRESS                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
C&I TRANSPORTATION INC              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
C&J LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
C&J LONG RIVER INC                  8927 HERMOSA DR APT C TEMPLE CITY CA 91780
C&J SOLUTIONS LLC                   OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
C&LH TRUCKING INC                   OR GEELERS FINANCIAL, 760 E TASMAN DR MILPITAS CA 95035
C&M CORP                            PO BOX 113 HINCKLEY OH 44233
C&M FORWARDING                      45 JETVIEW DR ROCHESTER NY 14624
C&M LOGISTICS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
C&M LOGISTICS LLC                   8101 TONNELLE AVE NORTH BERGEN NJ 07047
C&P OFFROAD SPECIALIST              5517 WELLINGTON ROAD GAINESVILLE VA 20155
C&R FAMILY TRUCKING LLC             OR LOVES SOLUTIONS, LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
C&S TRANSPORTATION 2020 LLC         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
C&W NATIONWIDE TRANSPORT INC        OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
C&W TRANSPORTATION CORP             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
C-AIRE COMPRESSORS                  380 WEST 1ST STREET DRESSER WI 54009
C-BATE LLC                          OR LOOKOUT CAPITAL LLC, P.O. BOX 161124 ATLANTA GA 30321-1124
C-LEAF SERVICES LLC                 OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
C-PHER TRANSPORT                    OR OCEAN CAPITAL FACTORS P.O BOX 184 DEPARTMENT 220 HOUSTON TX 77001-0184
C. BROWN TRUCKING COMPANY, INC.     PO BOX 748 ELLENWOOD GA 30294
C. CORE, INC.                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
C. H. ROBINSON COMPANY INC          PO BOX 9121 MINNEAPOLIS MN 55480
C. I. T. E.                         1116 N W 5TH ST RICHMOND IN 47374
C. L. SERVICES TRANSPORT, LLC       PO BOX 809107 CHICAGO IL 60680-9107
C. M. DISTRIBUTION, INC.            7802 BROOKWOOD ST. NE WARREN OH 44484
C. M. W. TRANSPORT CO., INC.        2715 MARION DR KENDALLVILLE IN 46755
C. R. ENGLAND                       PO BOX 952407 SAINT LOUIS MO 63195
C. ROBERTS TRANSPORT, INC .         1592 BIRMINGHAM RD PLYMOUTH IL 62367
C. W. FENCE CO.                     820 COUNTY ROAD 2311 TEXARKANA TX 75503
C.C. LEPC/HAZMAT                    C.C.DEPT. OF PUBLIC SAFETY ATTN: CONNIE HECKARD, 1 PUBLIC SAFETY DRIVE
                                    CARLISLE PA 17013
C.D.C. TRANSPORTATION, INC          OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
C.D.T., INC.                        PO BOX 2470 PEACHTREE CITY GA 30269
C.D.T., INC.                        OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
C.H. REED INC.                      301 POPLAR STREET PARKVILLE PA 17331
C.H. ROBINSON                       14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                       ATTN: ALYSSA CORRADO 14800 CHARLSON RD EDEN PRAIRIE MN 55347
C.H. ROBINSON                       ATTN: ANDREW ANDRESEN 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                       ATTN: BENJAMIN HABEL 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                       ATTN: DANIEL DAVITT 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                       ATTN: JAY PENNINGTON 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347



Epiq Corporate Restructuring, LLC                                                                Page 299 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 308 of 2156

Claim Name                           Address Information
C.H. ROBINSON                        ATTN: JENNIFER GUSHEE 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                        ATTN: JESSICA AGUILAR MENDOZA 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN
                                     55347
C.H. ROBINSON                        ATTN: MICHELLE BLACHFELNER 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                        ATTN: SHRIYA NANDAKUMAR 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON                        ATTN: SIGRID RICH CLAIMS DEPT 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN
                                     55347
C.H. ROBINSON CLAIMS DEPT            14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE INC          14800 CHARLSON RD 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE INC          14800 CHARLSON RD STE 1000 EDEN PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE INC          14800 CHARLSON RD STE 2100 EDEN PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE INC          ATTN: MASON HARRIS 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE INC          ATTN: WHITNEY SPENCER CARRIER SERVICES LTL 14800 CHARLSON RD, STE 1450 EDEN
                                     PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE INC          14800 CHARLSON RD STE 1450 EDEN PRAIRIE MN 55347-5051
C.H. ROBINSON WORLDWIDE INC          ATTN: KALI JOHNSON CARRIER SERVICES LTL 14800 CHARLSON RD, STE 1450 EDEN
                                     PRAIRIE MN 55347-5051
C.H. ROBINSON WORLDWIDE INC          ATTN: MICHELLE ANDERSON CARRIER SERVICES LTL 14800 CHARLSON RD, STE 1450 EDEN
                                     PRAIRIE MN 55347-5051
C.H. ROBINSON WORLDWIDE INC          ATTN: WHITNEY SPENCER CARRIER SERVICES LTL 14800 CHARLSON RD, STE 1450 EDEN
                                     PRAIRIE MN 55347-5051
C.H. ROBINSON WORLDWIDE INC          CARRIER SERVICES LTL 14800 CHARLSON RD, STE 1450 EDEN PRAIRIE MN 55347-5051
C.H. ROBINSON WORLDWIDE INC CHRLTL   14800 CHARLSON RD STE 2100 EDEN PRAIRIE MN 55347
C.H. ROBINSON WORLDWIDE, INC.        ATTN: GF INSURANCE 1501 N MITTEL BLVD WOOD DALE IL 60191
C.I.R. MANTENANCE & CONSTRUCTION     PO BOX 1328 OLIVE BRANCH MS 38654
C.L. CHASE USED AUTO & TRUCK PARTS   W10416 CTY. ROAD C, CAMP DOUGLAS WI 54618
C.M.F LOGISTICS L.L.C                OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
C.P. DREAMER TRUCKING LLC            OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
C.R. ENGLAND                         PO BOX 27276 SALT LAKE CITY UT 84127
C.S.&G. HAULERS LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
C1 TRANSPORTATION, INC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
C2 TRANS                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
C2C TRUCKING LLC                     5525 UNION CENTRE DR WEST CHESTER OH 45069
C2C TRUCKING LLC (MC772512)          OR ECAPTIAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
C2C, INC.                            507 7TH ST SUITE 600 SIOUX CITY IA 51101
C3 FUELS                             PO BOX 91417 LONG BEACH CA 90809
C3 LOGISTICS LLC                     OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
C3A LOGISITCS                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
C4 ENTERPRISE LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
C4 LOGISTICS                         OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
C4 TRANSPORTATION INC                OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
C5 EXPEDITE LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
C9 TRUCKING LLC                      OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
CA & KE ENTERPRISES INC              OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
CA DOT                               1120 N ST SACRAMENTO CA 95814
CA PRO CARRIERS, LLC                 OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
CA TRANSPORT TX LLC                  OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
CA TRUCK PARTS                       ATTN: LEAH ARANGO 13480 CAIRO LN OPA LOCKA FL 33054
CA WHOLESALE                         5722 LOGAN CT DENVER CO 80216
CAA INTERSTATE CORP                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305


Epiq Corporate Restructuring, LLC                                                                Page 300 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 309 of 2156

Claim Name                           Address Information
CAAC LOGISTICS LLC                   OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
CAANAN TRANSIT SERVICE LLC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CAB-ROD HOTSHOTS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CABALLERO, BENYNO                    ADDRESS ON FILE
CABALLERO, HECTOR                    ADDRESS ON FILE
CABALLERO, JAVIER                    ADDRESS ON FILE
CABALLERO, MELVIN                    ADDRESS ON FILE
CABALLERO, MIKE J                    ADDRESS ON FILE
CABALLERO, SAM                       ADDRESS ON FILE
CABALLERO, SOTERO                    ADDRESS ON FILE
CABAN, ELVIN                         ADDRESS ON FILE
CABAN, JUAN                          ADDRESS ON FILE
CABANA TRUCKING INC                  OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
CABANAS, ERIK                        ADDRESS ON FILE
CABANISS, ARLON                      ADDRESS ON FILE
CABASSA, JOHN                        ADDRESS ON FILE
CABBAGE CASES INCORPORATED           1166C STEELWOOD RD COLUMBUS OH 43212
CABDIRISAAQ TRUCKING LLC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
CABIAO, RON VINCENT                  ADDRESS ON FILE
CABLE, JOHN                          ADDRESS ON FILE
CABLE, MARK                          ADDRESS ON FILE
CABLEMASTER LLC                      ATTN: ALEXIS ACOSTA 1700 W CORNELL ST MILWAUKEE WI 53209
CABON TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CABPARTS INC                         716 ARROWEST RD GRAND JUNCTION CO 81505
CABRAL TRANSPORTATION                OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
CABRAL TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CABRAL, JASON J                      ADDRESS ON FILE
CABRAL, MALISSA                      ADDRESS ON FILE
CABRAL, RICHARD                      ADDRESS ON FILE
CABRAL, RUBEN D                      ADDRESS ON FILE
CABRERA MALDONADO, IVAN              ADDRESS ON FILE
CABRERA TEJADA, LUIS                 ADDRESS ON FILE
CABRERA TEJADA, LUIS D               ADDRESS ON FILE
CABRERA TRANSPORT                    OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CABRERA TRUCKING                     OR TRANSAM FINANCIAL SERVICES, INC. PO BOX 872632 KANSAS CITY MO 64187
CABRERA TRUCKING (0375168)           PO BOX 435 CANTUA CREEK CA 93608
CABRERA, ALFONSO                     ADDRESS ON FILE
CABRERA, ARMANDO                     ADDRESS ON FILE
CABRERA, BRYAN                       ADDRESS ON FILE
CABRERA, CHRISTIAN                   ADDRESS ON FILE
CABRERA, DAWRY                       ADDRESS ON FILE
CABRERA, EMMANUEL                    ADDRESS ON FILE
CABRERA, FRANKIE                     ADDRESS ON FILE
CABRERA, IGNACIO R                   ADDRESS ON FILE
CABRERA, JAMES F                     ADDRESS ON FILE
CABRERA, JOSE                        ADDRESS ON FILE
CABRERA, MARTIN                      ADDRESS ON FILE
CABRERA, RICHARD                     ADDRESS ON FILE
CABRERA, SALVADOR                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 301 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 310 of 2156

Claim Name                           Address Information
CABRERA, XANE                        ADDRESS ON FILE
CACERES, JUAN                        ADDRESS ON FILE
CACERES, MARIO                       ADDRESS ON FILE
CACHE CREEK FOODS                    ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
CACHO, MYRICK                        ADDRESS ON FILE
CACHO-ZAVALA, JULIAN                 ADDRESS ON FILE
CACIQUE LOGISTICS LLC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
CACTUS LEASING LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CACTUS MAT MFG CO                    930 W 10TH ST AZUSA CA 91702
CADAN TRANSPORT LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CADDO MILLS FREIGHT LLC              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CADDO PARISH TAX COLLECTOR           PO BOX 20905 SHREVEPORT LA 71120
CADE, JUSTIN                         ADDRESS ON FILE
CADE, SHONDA                         ADDRESS ON FILE
CADENA, JORGE                        ADDRESS ON FILE
CADENAS, JOANNE                      ADDRESS ON FILE
CADENCE PREMIER CARGO, INC.          OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
CADENCE TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CADET TRANSPORTATION LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CADET, MARX                          ADDRESS ON FILE
CADILLAC TRUCK SERVICE INC           PO BOX 304 CADILLAC MI 49601
CADILLAC TRUCK SERVICE INC           PO BOX 414 CADILLAC MI 49601
CAESAR SMITH                         ADDRESS ON FILE
CAESAR TRANS LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CAESAR, MICHAEL                      ADDRESS ON FILE
CAESAR, SEAN                         ADDRESS ON FILE
CAESARS PALACE LAS VEGAS             PO BOX 96118 LAS VEGAS NV 89193
CAF XPRESS                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAFARELLA, DONALD                    ADDRESS ON FILE
CAFARO, MORGAN                       ADDRESS ON FILE
CAFFEY, RONNIE                       ADDRESS ON FILE
CAGE CONSTRUCTION CORP               160 S PROSPECT AVE HACKENSACK NJ 07601
CAGE PROFESSIONAL SERVICES LLC       1946 OLD DOGWOOD JONESBORO GA 30238
CAGE, CLIFFORD                       ADDRESS ON FILE
CAGE, KAELON                         ADDRESS ON FILE
CAGE, LAVENSKIE                      ADDRESS ON FILE
CAGGIANO, WENDA                      ADDRESS ON FILE
CAGLE, DALE                          ADDRESS ON FILE
CAHER, MICHAEL                       ADDRESS ON FILE
CAHILL, JOHN                         ADDRESS ON FILE
CAHILL, KELLI                        ADDRESS ON FILE
CAHOON EXCAVATING & FARM             1092 POOR FARM RD FINCASTLE VA 24090
CAI, SIMON                           ADDRESS ON FILE
CAIME, PASQUALE                      ADDRESS ON FILE
CAIN TRANSPORTATION LLC              577 RUSSELL RD CHANDLER IN 47610
CAIN TRUCKING INC.                   1165 LEBANON CRITTENDEN KY 41030
CAIN, ETTIENNE                       ADDRESS ON FILE
CAIN, JEFF                           ADDRESS ON FILE
CAIN, JOEL                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 302 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 311 of 2156

Claim Name                              Address Information
CAIN, KENNETH                           ADDRESS ON FILE
CAIN, KEVIN                             ADDRESS ON FILE
CAIN, QUENTON                           ADDRESS ON FILE
CAIN, SISALINA                          ADDRESS ON FILE
CAIN, TERRI                             ADDRESS ON FILE
CAIN, TRACY                             ADDRESS ON FILE
CAINE, MICHAEL                          ADDRESS ON FILE
CAINE, ZATERIUS                         ADDRESS ON FILE
CAINS MEATS                             2496 E. WAR EAGLE AVE. ATHOL ID 83801
CAINS TRANSPORTATION LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CAINS, ROBERNISHA                       ADDRESS ON FILE
CAINS, ROBERNISHA                       ADDRESS ON FILE
CAIRD, JUSTIN                           ADDRESS ON FILE
CAISEDO-CAISEDO, MARIA F                ADDRESS ON FILE
CAISEDO-CAISEDO, MARIA F                ADDRESS ON FILE
CAISIN TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CAISON, BRANDON                         ADDRESS ON FILE
CAITO, JOSEPH                           ADDRESS ON FILE
CAIZZA, JOHN                            ADDRESS ON FILE
CAJA DE VALORES S.A. (5610)             ATT MELINA BOBBIO OR PROXY MGR AVE 25 DE MAYO 362 C1002ABH BUENOS AIRES
                                        ARGENTINA
CAJA DE VALORES S.A. (5610)             ATT MELINA BOBBIO OR PROXY MGR AVE 25 DE MAYO 362 BUENOS AIRES C1002ABH
                                        ARGENTINA
CAJUN AIR INC.                          39 MLK AVE. JEFFERSON GA 30549
CAJUN ELECTRIC                          1500 GOVERNMENT STREET BATON ROUGE LA 70802
CAK LOGISTICS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CAKASO TRANSPORT INC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CAL BEAR LOGISTICS LLC                  3119 PENRYN ROAD SUITE 230 ATTN YULIANA KLUKA PENRYN CA 95650
CAL CARRIER INC                         OR TAB BANK, PO BOX 150830 OGDEN UT 84415
CAL GOGO TRANSPORTATION INC             5070 SERENO DR UNITE, TEMPLE CITY CA 91780
CAL TEX TRANSPORTATION INC              OR INTERSTATE BILLING SERVICE, INC. PO BOX 2214 DECATUR AL 35609
CAL, JEMAURY                            ADDRESS ON FILE
CAL- NEVADA TOWING & TRANSPORT, INC.    1408 PITTMAN AVE SPARKS NV 89431
CAL- NEVADA TOWING & TRANSPORT, INC.    D/B/A: CAL-NEVADA ROAD SERVICES LLC PO BOX 3478 SPARKS NV 89432
CAL-COUNTIES FIRE PROTECTION CO         908 W 9TH ST UPLAND CA 91786
CAL-LIFT INC.                           PO BOX 22000 LOS ANGELES CA 90022
CAL-LIFT INC.                           13027 CROSSROADS PARKWAY SOUTH CITY OF INDUSTRY CA 91746
CAL-LIFT INC.                           13027 CROSSROADS PKWY N CITY INDUSTRY CA 91746
CAL-NEVADA ROAD SERVICES LLC            PO BOX 3478 SPARKS NV 89432
CAL-PORTISAN SERVICES LTD               9316 44 ST SE CALGARY AB T2C 2N4 CANADA
CAL-STATE DISTRIBUTING INC              3288 SOUTH K STREET TULARE CA 93274
CAL-VAN TRANSPORTATION SERVICES, INC.   PO BOX 840778 LOS ANGELES CA 90084-0778
CALAHAN, ETHAN                          ADDRESS ON FILE
CALALUCE, DANIEL                        ADDRESS ON FILE
CALAMAN, DAVID                          ADDRESS ON FILE
CALAMAN, HALEY M                        ADDRESS ON FILE
CALARK INTERNATIONAL, INC.              ATTN: BRIAN BURRIS PO BOX 990 MABELVALE AR 72103-0990
CALATAYUD, VICTOR H                     ADDRESS ON FILE
CALBEE                                  C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                                    Page 303 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 312 of 2156

Claim Name                           Address Information
CALBI, ALYSSA                        ADDRESS ON FILE
CALCARA, MICHAEL                     ADDRESS ON FILE
CALCHI, JOHN                         ADDRESS ON FILE
CALDARELLO, NICHOLAS                 ADDRESS ON FILE
CALDER, ADAM                         ADDRESS ON FILE
CALDERA, FRANCISCO                   ADDRESS ON FILE
CALDERA, JOHNNY                      ADDRESS ON FILE
CALDERA, STEPHANIE                   ADDRESS ON FILE
CALDERARO, MARC                      ADDRESS ON FILE
CALDERON GARCIA, ISMAEL              ADDRESS ON FILE
CALDERON JR., EUSEBIO                ADDRESS ON FILE
CALDERON LONDONO, JUAN BAUTISTA      ADDRESS ON FILE
CALDERON RODRIGUEZ, ALEJANDRO        ADDRESS ON FILE
CALDERON TRUCKING                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
CALDERON TRUCKING INC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CALDERON, ALBERTO                    ADDRESS ON FILE
CALDERON, BRANDON                    ADDRESS ON FILE
CALDERON, CAESAR                     ADDRESS ON FILE
CALDERON, EDWARD                     ADDRESS ON FILE
CALDERON, FRANK                      ADDRESS ON FILE
CALDERON, JOHNNY                     ADDRESS ON FILE
CALDERON, JORGE                      ADDRESS ON FILE
CALDERON, JOSE                       ADDRESS ON FILE
CALDERON, JUAN                       ADDRESS ON FILE
CALDERON, MARY J                     ADDRESS ON FILE
CALDERON, MARY J                     ADDRESS ON FILE
CALDERON, MIGUEL                     ADDRESS ON FILE
CALDERON, NEREO                      ADDRESS ON FILE
CALDERON, PAUL                       ADDRESS ON FILE
CALDERON, RALPH V                    ADDRESS ON FILE
CALDERON, RAMON                      ADDRESS ON FILE
CALDERON, RICHARD                    ADDRESS ON FILE
CALDERON, RICHARD R                  ADDRESS ON FILE
CALDERON, STEVE                      ADDRESS ON FILE
CALDERON-ARCEO, IVAN                 ADDRESS ON FILE
CALDERON-HUERTAS, AMARYLLIS          ADDRESS ON FILE
CALDERONE, REY                       ADDRESS ON FILE
CALDIC USA INC                       ATTN: MELISSA LEUZE 2425 ALFT LN ELGIN IL 60124
CALDWELL TRANSPORT LLC               OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
CALDWELL, BRENT                      ADDRESS ON FILE
CALDWELL, CHARLES                    ADDRESS ON FILE
CALDWELL, CHRISTOPHER                ADDRESS ON FILE
CALDWELL, COLE                       ADDRESS ON FILE
CALDWELL, DAEKWAN                    ADDRESS ON FILE
CALDWELL, DARREN                     ADDRESS ON FILE
CALDWELL, DENNIS                     ADDRESS ON FILE
CALDWELL, DERRICK                    ADDRESS ON FILE
CALDWELL, DONOVAN                    ADDRESS ON FILE
CALDWELL, ERNEST                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 304 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 313 of 2156

Claim Name                              Address Information
CALDWELL, EVAN                          ADDRESS ON FILE
CALDWELL, HUGH                          ADDRESS ON FILE
CALDWELL, JADEN                         ADDRESS ON FILE
CALDWELL, JEFFEREY                      ADDRESS ON FILE
CALDWELL, KENNETH                       ADDRESS ON FILE
CALDWELL, KRESHON                       ADDRESS ON FILE
CALDWELL, LLOYD                         ADDRESS ON FILE
CALDWELL, MARK                          ADDRESS ON FILE
CALDWELL, MARK O                        ADDRESS ON FILE
CALDWELL, MATTHEW                       ADDRESS ON FILE
CALDWELL, MICHAEL                       ADDRESS ON FILE
CALDWELL, MICHEAL                       ADDRESS ON FILE
CALDWELL, THOMAS                        ADDRESS ON FILE
CALDWELL, TIMOTHY                       ADDRESS ON FILE
CALDWELL, TROYCE                        ADDRESS ON FILE
CALDWELL, WAYMAN                        ADDRESS ON FILE
CALDWELL, WILLIAM                       ADDRESS ON FILE
CALDWELLS REPAIR                        57655 KINGDON DR MATTAWAN MI 49071
CALEB & CAMILLES HOTSHOT TRUCKING LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CALEB CARRIER 2 LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CALEB T DOUGLAS                         ADDRESS ON FILE
CALEB W HUDNALL                         ADDRESS ON FILE
CALEBS TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CALEDONIA RENT-ALL, INC.                ATTN: GENERAL COUNSEL 9800 CHERRY VALLEY AVE SE CALEDONIA TWP MI 49316
CALEDONIA RENT-ALL, INC.                C/O: SHARON R. BRINKS 2010, 44TH STREET, SE KENTWOOD MI 49508
CALEX TRANSPORTS SOLUTIONS LLC          OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
CALEY, EDWARD                           ADDRESS ON FILE
CALFAS, DORIAN                          ADDRESS ON FILE
CALFEE, CHRISTOPHER                     ADDRESS ON FILE
CALFEE, TAMMY                           ADDRESS ON FILE
CALGARY PAVING                          BOX 340 STATION T, CALGARY AB T2H 2G9 CANADA
CALHOUN GLOBAL LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CALHOUN TRUCK LINES                     9845 WEST 74TH STREET EDEN PRAIRIE MN 55344
CALHOUN, AARON                          ADDRESS ON FILE
CALHOUN, BRANDON                        ADDRESS ON FILE
CALHOUN, GARY                           ADDRESS ON FILE
CALHOUN, GRANT                          ADDRESS ON FILE
CALHOUN, JAMES                          ADDRESS ON FILE
CALHOUN, JASON                          ADDRESS ON FILE
CALHOUN, JOSEPH                         ADDRESS ON FILE
CALHOUN, LAUREN                         ADDRESS ON FILE
CALI                                    OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
CALI BROTHERS TRUCK LINES INC           OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
CALI C O CHRLTL                         14800 CHARLSON RD STE 2100 EDEN PRAIRIE MN 55347
CALI J&T TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CALI TRANS INC                          OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CALI TRANSPORT, INC                     OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
CALI TRANSPORTATION EXPRESS INC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CALI TRUCK LINES INC                    6718 W DOVEWOOD LANE FRESNO CA 93723



Epiq Corporate Restructuring, LLC                                                                   Page 305 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 314 of 2156

Claim Name                              Address Information
CALI VALLE TRANSPORTATION LLC           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                        IL 60674-0411
CALI4NIA TRANSPORT INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CALIBER PLUMBING AND MECHANICAL SVCS    2615 NW ST HELENS RD PORTLAND OR 97210
LLC
CALICO BRANDS INC                       2055 S HAVEN AVE ONTARIO CA 91761
CALICOTT, KELSEY                        ADDRESS ON FILE
CALIFAN PAINTING INC                    47895 DREW STREET HARRISBURG SD 57032
CALIFORNIA AMERICAN WATER               1025 PALM AVE IMPERIAL BCH CA 91932
CALIFORNIA CARGO                        4047 FIRST STREET SUITE 204 LIVERMORE CA 94551
CALIFORNIA CARGO LLC                    PO BOX 231 GROVEPORT OH 43125-0231
CALIFORNIA CARRIERS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CALIFORNIA CONNECTION CARRIER SERVICE   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CALIFORNIA DELIVERY SERVICE INC.        6161 SIERRA AVE FONTANA CA 92336
CALIFORNIA DEPARTMENT OF MOTOR VEHICLES BRANCH G 875, P O BOX 932370 SACRAMENTO CA 94232
CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PFR OFFICE, PO BOX 932320 MSH 159 SACRAMENTO CA 94232
CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PFR OFFICE, PO BOX 932320 SACRAMENTO CA 94232
CALIFORNIA DEPARTMENT OF MOTOR VEHICLES PO BOX 942894 SACRAMENTO CA 94294
CALIFORNIA DEPARTMENT OF TAX AND FEE    ADMINISTRATION, STATE BOARD OF EQUALIZATION PO BOX 942879 SACRAMENTO CA 94279
CALIFORNIA DEPARTMENT OF TAX AND FEE    ADMIN - ENVIRONMENTAL 3321 POWER INN ROAD, SUITE 130 SACRAMENTO CA 95826
CALIFORNIA DEPARTMENT OF TAX AND FEE    AND FEE ADMINISTRATION 3321 POWER INN ROAD, SUITE 210 SACRAMENTO CA 95826
CALIFORNIA DEPT OF TAX & FEE ADMIN      PO BOX 942879 SACRAMENTO CA 94279
CALIFORNIA DEPT OF TAX & FEE ADMIN      ATTN: LISA HERRERA TAX TECHNICIAN III 3321 POWER INN RD STE 130 SACRAMENTO CA
                                        95826
CALIFORNIA EXPRESS FREIGHT LLC          5555 EAST END BLVD S MARSHALL TX 75672
CALIFORNIA FREIGHT CARRIERS LLC         OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
CALIFORNIA GOLD                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CALIFORNIA HIGHWAY PATROL               ATTN: RECORDS, 14210 AMARGOSA ROAD VICTORVILLE CA 92392
CALIFORNIA HIGHWAY PATROL               ATTN: HAZARDOUS MATERIALS LICENSE PO BOX 942898 SACRAMENTO CA 94298
CALIFORNIA HIGHWAY PATROL               COMMERCIAL VEHICLE SECT-IMS LICENSING PO BOX 942898 SACRAMENTO CA 94298
CALIFORNIA HIGHWAY PATROL               FISCAL MGMT SECTION, BIT PROGRAM PO BOX 942902 SACRAMENTO CA 94298
CALIFORNIA HYDRONICS                    FLI INC, 12980 METCALF AVE STE 240 OVERLAND PARK KS 66213
CALIFORNIA KITCHEN FOOD SERVICES LLC    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CALIFORNIA KITCHEN FOOD SERVICES LLC    14000 LINDEN ST OVERLAND PARK KS 66224
CALIFORNIA MIDWEST XPRESS, INC.         OR TAB BANK, PO BOX 150034 OGDEN UT 84415-0034
CALIFORNIA OVERLANDLTD.                 213 INDUSTRIAL COURT WABASHA 55981
CALIFORNIA PAVING & GRADING CO INC      3253 VERDUGO RD LOS ANGELES CA 90065
CALIFORNIA REFRIGERATED EXPRESS         755 N PEACH SUITE C-10 CLOVIS CA 93611
CALIFORNIA STATE CONTROLLER             UNCLAIMED PROPERTY DIV. ACCTG BUREAU PO BOX 942850 SACRAMENTO CA 94250
CALIFORNIA TOWING & TRANSPORT           9700 HOLTON WAY REDDING CA 96003
CALIFORNIA TRANS INC                    OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
CALIFORNIA TRUCK REPAIR                 PO BOX 2605 GREENFIELD CA 93927
CALIFORNIA TRUCKING ASSOCIATION, INC    4148 E COMMERCE WAY SACRAMENTO CA 95834
CALIFORNIA WATER SERVICE CO             1720 N. FIRST ST. SAN JOSE CA 95112
CALIFORNIA WELDING SUPPLY COMPANY       PO BOX 567 STOCKTON CA 95201
CALIFORNIANATURALFOOD COECHO            ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
CALIFRONIA DEPT. OFTRANSPORTATION       1976 E DR. MLK JR BLVD STOCKTON CA 95205-7015
CALIP, CHRIS                            ADDRESS ON FILE
CALIX JR, DANIEL                        ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                   Page 306 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 315 of 2156

Claim Name                             Address Information
CALIX, DANIEL                          ADDRESS ON FILE
CALIXTE, PHILIPPE                      ADDRESS ON FILE
CALIXTO, JESUS                         ADDRESS ON FILE
CALIZ, CESAR                           ADDRESS ON FILE
CALKINS, DANIEL                        ADDRESS ON FILE
CALKINS, JUSTIN                        ADDRESS ON FILE
CALKINS, PAIGE                         ADDRESS ON FILE
CALL LOGISTICS LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CALL, APRIL                            ADDRESS ON FILE
CALL, BOWEN                            ADDRESS ON FILE
CALL, DAMON L                          ADDRESS ON FILE
CALL, DAVID                            ADDRESS ON FILE
CALL, DEVIN                            ADDRESS ON FILE
CALL, MARK                             ADDRESS ON FILE
CALL, STEVEN                           ADDRESS ON FILE
CALLABRESI HEATING & COOLING, INC.     1311 ARMORY RD SALINA KS 67401
CALLABRESI HEATING & COOLING, INC.     1655B WALL STREET SALINA KS 67401
CALLAHAN MANUFACTURING INC             ATTN: HILARY CALLAHAN 219 BALSAM ST ROYAL CITY WA 99357
CALLAHAN, AFIYA                        ADDRESS ON FILE
CALLAHAN, DANIEL                       ADDRESS ON FILE
CALLAHAN, JOHNNY                       ADDRESS ON FILE
CALLAHAN, MICHAEL D                    ADDRESS ON FILE
CALLAHAN, PAUL                         ADDRESS ON FILE
CALLAHAN, RICKY                        ADDRESS ON FILE
CALLAHAN, ROBERT                       ADDRESS ON FILE
CALLAHAN, SEAN                         ADDRESS ON FILE
CALLAHEAD                              304 CROSSBAY BLVD BROAD CHANNEL NY 11693
CALLAWAY LOGISTICS LTD CO              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CALLAWAY, FREDERICK                    ADDRESS ON FILE
CALLAWAY, HEATHER                      ADDRESS ON FILE
CALLAWAY, KAREN                        ADDRESS ON FILE
CALLAZO, MICHAEL                       ADDRESS ON FILE
CALLE EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CALLEBERT, STEVEN                      ADDRESS ON FILE
CALLEJAS AZURDIA, WILLIAM              ADDRESS ON FILE
CALLEJAS, HUGO                         ADDRESS ON FILE
CALLENDER, ELIJAH                      ADDRESS ON FILE
CALLENDER, JEFFREY                     ADDRESS ON FILE
CALLENDER, ROBERT                      ADDRESS ON FILE
CALLIE E THOMPSON                      ADDRESS ON FILE
CALLIGAN TOWING SERVICE LLC            1106 N THIERMAN RD SPOKANE WA 99212
CALLIGAN TRANSPORTATION SERVICES INC   1106 N THIERMAN ROAD SPOKANE WA 99212
CALLIHAN, NICHOLAS                     ADDRESS ON FILE
CALLIS, JOSEPH                         ADDRESS ON FILE
CALLIS, PAUL                           ADDRESS ON FILE
CALLON, AMBER                          ADDRESS ON FILE
CALLOWAY, AVERY                        ADDRESS ON FILE
CALLOWAY, JEFFREY                      ADDRESS ON FILE
CALLOWAY, JESSE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 307 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 316 of 2156

Claim Name                           Address Information
CALLOWAY, KELVIN                     ADDRESS ON FILE
CALMES, WILLIAM                      ADDRESS ON FILE
CALMONT TRUCK CENTRE LTD             2091 LOGAN AVE WINNIPEG MB R2R 0J1 CANADA
CALMONT TRUCK CENTRE LTD             CALMONT VOLVO TRUCK CENTRE CALGARY 5475 53 ST SE CALGARY AB T2C 4P6 CANADA
CALNEV TRUCKING                      1257 QUARRY LANE 105 PLEASANTON CA 94566-8400
CALONICO, LOUIS                      ADDRESS ON FILE
CALSTATE LOGISTICS, LLC              9018 KERSH CT ELK GROVE CA 95624
CALSTRA LLC                          3554 ROGER B CHAFFEE MEM DR SE GRAND RAPIDS MI 49548
CALTECH MANUFACTURING INC            ATTN: ALEX MERSHON 109 INDUSTRIAL DR IVYLAND PA 18974
CALTECH SYSTEMS, INC.                PO BOX 2173 QUEEN CREEK AZ 85142
CALTEUX, MATTHEW                     ADDRESS ON FILE
CALTEX CARRIERS                      7726 N FIRST ST FRESNO CA 93720
CALTEX FREIGHT LLC                   OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
CALTON, CHASTON                      ADDRESS ON FILE
CALUSA TRUCK REPAIR LLC              2771 HANSON STREET FORT MYERS FL 33901
CALVARY LOGISTICS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CALVERT, ROBERT                      ADDRESS ON FILE
CALVERT, THOMAS                      ADDRESS ON FILE
CALVESBERT LAW LLC                   GARDEN HILLS PLAZA PMB 508 1353 LUIS VIGOREAUX AVE GUAYNABO PR 00966
CALVILLO, MARCOS                     ADDRESS ON FILE
CALVILLO, RYAN                       ADDRESS ON FILE
CALVIN A RITCHIE                     ADDRESS ON FILE
CALVIN BLACK III                     ADDRESS ON FILE
CALVIN D RILEY                       ADDRESS ON FILE
CALVIN J ALSTON                      ADDRESS ON FILE
CALVIN J SINGLETON                   ADDRESS ON FILE
CALVIN TRANSPORTATION LLC            OR BC FACTORING LLC, P.O. BOX 172091 MEMPHIS TN 38187
CALVIN TRANSPORTS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CALVIN, DEVONTE                      ADDRESS ON FILE
CALVIN-HAYNES, JANINE                ADDRESS ON FILE
CALVO MORALES, GUILLERMO             ADDRESS ON FILE
CALVO, JAMES                         ADDRESS ON FILE
CAM TRANSPORT INC                    PO BOX 809633 CHICAGO IL 60680
CAM TRANSPORT LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CAM TRANSPORTATION, LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CAM&CAM TRANSPORT AND MOVING LLC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAMACHO PROFESSIONAL EXTERMIATING    URB EL CORTIJO, CALLE 3 BB-20 BAYAMON PR 00956
CAMACHO, BRYAN                       ADDRESS ON FILE
CAMACHO, GREGORY                     ADDRESS ON FILE
CAMACHO, HECTOR                      ADDRESS ON FILE
CAMACHO, HELDER                      ADDRESS ON FILE
CAMACHO, LUIS                        ADDRESS ON FILE
CAMACHO, PABLO                       ADDRESS ON FILE
CAMACHO, STEPHEN                     ADDRESS ON FILE
CAMAGUEY TRUCKING INC                OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
CAMAKE INC                           OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
CAMARA, DOUGLAS                      ADDRESS ON FILE
CAMARA, JAMES                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 308 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 317 of 2156

Claim Name                            Address Information
CAMARA, MALEYE                        ADDRESS ON FILE
CAMARDELLA, ALBERT L                  ADDRESS ON FILE
CAMARDELLA, LOUIS                     ADDRESS ON FILE
CAMARENA ALVAREZ, SERGIO              ADDRESS ON FILE
CAMARENA, BERNARD                     ADDRESS ON FILE
CAMARI BOYD                           ADDRESS ON FILE
CAMARILLO, JESUS                      ADDRESS ON FILE
CAMARILLO, ROBERT                     ADDRESS ON FILE
CAMAT, BRIAN                          ADDRESS ON FILE
CAMBEIS, MARGUERITE                   ADDRESS ON FILE
CAMBRENS TRUCKING LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CAMBRIA UNITED INC                    6 NESHAMINY INTERPLEX DR SUITE 208 FEASTERVILLE PA 19053
CAMBRIA UNITED INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CAMBRIDGE LEE INDUSTRIES INC          ATTN: LLOYD ROBICHEAU 86 TUBE DR READING PA 19605
CAMBRIDGE RETIREMENT SYSTEM           ATTN: GENERAL COUNSEL 125 CAMBRIDGE PARK DRIVE SUITE 104 CAMBRIDGE MA
                                      02140-2369
CAMBRIDGE TRANSPORT LLC               OR TRANSAM FINANCIAL SERVICES, INC. PO BOX 872632 KANSAS CITY MO 64187
CAMBRIDGE TRANSPORT LLC (MC1101056)   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
CAMBRO MANUFACTURING CO               5801 SKYLAB RD HUNTINGTON BEACH CA 92647
CAMCO MFG                             121 LANDMARK DR GREENSBORO NC 27409
CAMCO TRANSPORTATION, INC.            2385 HERITAGE VIEW LANE THOMASVILLE NC 27360
CAMDEN, JAMES                         ADDRESS ON FILE
CAME, ANTHONY                         ADDRESS ON FILE
CAMEAU, CARLO                         ADDRESS ON FILE
CAMEJO, JUAN                          ADDRESS ON FILE
CAMEL EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAMEL TRANSPORT INC                   1601 SOUTH VEGA STREET ALHAMBRA CA 91801
CAMEL TRANZ LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CAMELBACK TRANSPORTATION LLC          OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
CAMENNI-HUNT, NICK                    ADDRESS ON FILE
CAMERLYNCK, MATTHEW                   ADDRESS ON FILE
CAMERON CARGO LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CAMERON D WINDOM                      ADDRESS ON FILE
CAMERON TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAMERON, EDWARD                       ADDRESS ON FILE
CAMERON, JOSEPH                       ADDRESS ON FILE
CAMERON, OCTAVIUS                     ADDRESS ON FILE
CAMERON, ROBERT                       ADDRESS ON FILE
CAMERON, ROBERT M                     ADDRESS ON FILE
CAMERON, RUDOLPH                      ADDRESS ON FILE
CAMERON, SHERRI                       ADDRESS ON FILE
CAMERON, WILLIAM                      ADDRESS ON FILE
CAMEROTA TRUCK PARTS                  PO BOX 1134 ENFIELD CT 06083
CAMFIL                                ATTN: TONY LILDARRIE 2700 STEELES AVE W CONCORD ON L4K 3C8 CANADA
CAMFIL                                ATTN: DANTE ROMAN 500 S MAIN ST CRYSTAL LAKE IL 60014
CAMIRA FREIGHT LLC                    OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
CAMIRA, TAMBA PHILLIP                 ADDRESS ON FILE
CAMMISA, JOHN                         ADDRESS ON FILE
CAMP, BILLY                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 309 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 318 of 2156

Claim Name                           Address Information
CAMP, JAMIE                          ADDRESS ON FILE
CAMP, JAMIE                          ADDRESS ON FILE
CAMP, MARTIN                         ADDRESS ON FILE
CAMP, SCOTT                          ADDRESS ON FILE
CAMP, WILLIAM                        ADDRESS ON FILE
CAMPANA DECOR INC                    2350 S DAHLIA ST DENVER CO 80222
CAMPANELLA, RICHARD                  ADDRESS ON FILE
CAMPBELL BOYS TRUCKING LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAMPBELL EXPEDITORS LLC              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CAMPBELL FARMS & FORESTRY INC.       11935 EAST M-32 JOHANNESBURG MI 49751
CAMPBELL FREIGHTLINER                D/B/A: CAMPBELL FREIGTLINER LLC P.O. BOX 7600 MONROE TOWNSHIP NJ 08831
CAMPBELL FREIGTLINER LLC             PO BOX 7600 MONROE TOWNSHIP NJ 08831
CAMPBELL JR, ALFRED                  ADDRESS ON FILE
CAMPBELL MANUFACTURING               ATTN: CECILIA YERGER PO BOX 207, 127 E SPRING ST BECHTELSVILLE PA 19505
CAMPBELL MANUFACTURING               ATTN: DIANE HARTMAN 127 E SPRING ST BECHTELSVILLE PA 19505
CAMPBELL MFG                         127 E SPRING STREET, PO BOX 207 BECHTELSVILLE PA 19505
CAMPBELL SERVICE                     14560 57TH STREET BECKER MN 55308
CAMPBELL SUPPLY COMPANY              C/O W CAMPBELL SUPPLY COMPANY OF PORT NEWARK LLC PO BOX 5966 NEWARK NJ 07105
CAMPBELL SUPPLY COMPANY              CAMPBELL FREIGHTLINER, LLC 1015 CRANBURY S RIVER RD PO BOX 7600 MONROE
                                     TOWNSHIP NJ 08831
CAMPBELL TOWING INC                  223 ANGULAR STREET BURLINGTON IA 52601
CAMPBELL TRUCKING INC                1 CLINTON ST, P. O. BOX 201 GALETON PA 16922
CAMPBELL, ANTHONY                    ADDRESS ON FILE
CAMPBELL, ANTHONY                    ADDRESS ON FILE
CAMPBELL, ANTHONY L                  ADDRESS ON FILE
CAMPBELL, ANTONIO                    ADDRESS ON FILE
CAMPBELL, ANTONIO                    ADDRESS ON FILE
CAMPBELL, BILLY                      ADDRESS ON FILE
CAMPBELL, BRANDON                    ADDRESS ON FILE
CAMPBELL, BRIAN                      ADDRESS ON FILE
CAMPBELL, BRIAN                      ADDRESS ON FILE
CAMPBELL, BRODERICK                  ADDRESS ON FILE
CAMPBELL, CASSIDY                    ADDRESS ON FILE
CAMPBELL, CHARLES                    ADDRESS ON FILE
CAMPBELL, CHRIS                      ADDRESS ON FILE
CAMPBELL, CHRIS                      ADDRESS ON FILE
CAMPBELL, CHRISTEN                   ADDRESS ON FILE
CAMPBELL, CHRISTINA                  ADDRESS ON FILE
CAMPBELL, CHRISTOPHER                ADDRESS ON FILE
CAMPBELL, CLINTON                    ADDRESS ON FILE
CAMPBELL, CORNELIUS                  ADDRESS ON FILE
CAMPBELL, DARRYL A                   ADDRESS ON FILE
CAMPBELL, DAVID                      ADDRESS ON FILE
CAMPBELL, DAVID                      ADDRESS ON FILE
CAMPBELL, DENNIS                     ADDRESS ON FILE
CAMPBELL, DOUGLAS                    ADDRESS ON FILE
CAMPBELL, EDWARD                     ADDRESS ON FILE
CAMPBELL, FRED                       ADDRESS ON FILE
CAMPBELL, GEORGE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 310 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 319 of 2156

Claim Name                         Address Information
CAMPBELL, GEORGE                   ADDRESS ON FILE
CAMPBELL, HARRISON                 ADDRESS ON FILE
CAMPBELL, HERNANDEZ                ADDRESS ON FILE
CAMPBELL, HOMER                    ADDRESS ON FILE
CAMPBELL, JACK                     ADDRESS ON FILE
CAMPBELL, JEFF                     ADDRESS ON FILE
CAMPBELL, JOHN                     ADDRESS ON FILE
CAMPBELL, JOHN                     ADDRESS ON FILE
CAMPBELL, JOHN                     ADDRESS ON FILE
CAMPBELL, JOHN                     ADDRESS ON FILE
CAMPBELL, KARIN                    ADDRESS ON FILE
CAMPBELL, KEANO                    ADDRESS ON FILE
CAMPBELL, KEVIN                    ADDRESS ON FILE
CAMPBELL, KRISTIN                  ADDRESS ON FILE
CAMPBELL, LANCER                   ADDRESS ON FILE
CAMPBELL, LERONE                   ADDRESS ON FILE
CAMPBELL, LOWELL                   ADDRESS ON FILE
CAMPBELL, MARILYN                  ADDRESS ON FILE
CAMPBELL, MARK                     ADDRESS ON FILE
CAMPBELL, MARK                     ADDRESS ON FILE
CAMPBELL, MARTEEZ                  ADDRESS ON FILE
CAMPBELL, MARTHA                   ADDRESS ON FILE
CAMPBELL, MICHAEL                  ADDRESS ON FILE
CAMPBELL, MORRIS                   ADDRESS ON FILE
CAMPBELL, NICHALES                 ADDRESS ON FILE
CAMPBELL, PAUL                     ADDRESS ON FILE
CAMPBELL, PAULA                    ADDRESS ON FILE
CAMPBELL, PETER                    ADDRESS ON FILE
CAMPBELL, RASHE LA SHON            ADDRESS ON FILE
CAMPBELL, RICHARD                  ADDRESS ON FILE
CAMPBELL, RICHIE                   ADDRESS ON FILE
CAMPBELL, ROGER                    ADDRESS ON FILE
CAMPBELL, RONALD                   ADDRESS ON FILE
CAMPBELL, ROSLYN                   ADDRESS ON FILE
CAMPBELL, RYAN                     ADDRESS ON FILE
CAMPBELL, SHELDON                  ADDRESS ON FILE
CAMPBELL, SHERON                   ADDRESS ON FILE
CAMPBELL, STEVEN                   ADDRESS ON FILE
CAMPBELL, STEVEN                   ADDRESS ON FILE
CAMPBELL, TERRY                    ADDRESS ON FILE
CAMPBELL, THOMAS                   ADDRESS ON FILE
CAMPBELL, TINA                     ADDRESS ON FILE
CAMPBELL, TOBY                     ADDRESS ON FILE
CAMPBELL, TRESSA                   ADDRESS ON FILE
CAMPBELL, TYRONE                   ADDRESS ON FILE
CAMPBELL, ULYSSES                  ADDRESS ON FILE
CAMPBELL, VIDALE                   ADDRESS ON FILE
CAMPBELL, WALTER                   ADDRESS ON FILE
CAMPBELL, WAYNE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 311 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 320 of 2156

Claim Name                              Address Information
CAMPBELL, WILLIAM                       ADDRESS ON FILE
CAMPBELL, WILLIAM                       ADDRESS ON FILE
CAMPBELL, WILLIAM                       ADDRESS ON FILE
CAMPBELL, WILLIAM                       ADDRESS ON FILE
CAMPBELL-BROWN, INC.                    3814 N GRAHAM ST, PO BOX 26685 CHARLOTTE NC 28221
CAMPBELLS WRECKER SERVICE & BODY SHOP   801 ROSEWOOD DRIVE COLUMBIA SC 29201
CAMPEAU, ROBERT                         ADDRESS ON FILE
CAMPER WORLD                            1260 LAKE SHADY AVE. S. ORONOCO MN 55960
CAMPER, GARRETT                         ADDRESS ON FILE
CAMPER, TROY                            ADDRESS ON FILE
CAMPFIELD, THOMAS                       ADDRESS ON FILE
CAMPIN, CAROLE                          ADDRESS ON FILE
CAMPING WORLD                           ECHO GLOBAL LOGISTICS, 600 W CHICAGO AVE CHICAGO IL 60654
CAMPING WORLD                           ATTN: CARLOS CERVERA RWSCS 29857 NETWORK PLACE CHICAGO IL 60673
CAMPING WORLD                           RWSCS 29857 NETWORK PLACE CHICAGO IL 60673
CAMPING WORLD                           1355 TARA ST IDAHO FALLS ID 83402
CAMPING WORLD C/O RWSCS                 ATTN: CARLOS CERVERA 29857 NETWORK PLACE CHICAGO IL 60673
CAMPING WORLD ROCKLIN                   4435 GRANITE DR ROCKLIN CA 95677
CAMPIONE, JOSEPH                        ADDRESS ON FILE
CAMPMANY, RAMON                         ADDRESS ON FILE
CAMPO, FRANK                            ADDRESS ON FILE
CAMPOS, AGUSTIN                         ADDRESS ON FILE
CAMPOS, AMANDA                          ADDRESS ON FILE
CAMPOS, ANTONIO                         ADDRESS ON FILE
CAMPOS, DANIEL                          ADDRESS ON FILE
CAMPOS, ERIC                            ADDRESS ON FILE
CAMPOS, EZEQUIEL                        ADDRESS ON FILE
CAMPOS, JOSE                            ADDRESS ON FILE
CAMPOS, JOSEPH                          ADDRESS ON FILE
CAMPOS, LUIS                            ADDRESS ON FILE
CAMPOS, MARTIN                          ADDRESS ON FILE
CAMPOS, ROBERT                          ADDRESS ON FILE
CAMPOS, RYAN                            ADDRESS ON FILE
CAMPOS, SUSANA                          ADDRESS ON FILE
CAMRUN EXPRESS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CAMSO USA INC.                          P.O. BOX 60158 CHARLOTTE NC 28260
CAMSO USA INC.                          8215 FOREST POINT BLVD., SUITE 300 CHARLOTTE NC 28273
CAMSO USA INC.                          PO BOX 772913 DETROIT MI 48277
CAMUS ELECTRIC CO INC                   PO BOX 6762 SHREVEPORT LA 71136
CAMYS TRUCKS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CAN CORP                                3721 POTTSVILLE PIKE READING PA 19605
CAN DO CARRIERS LLC                     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                        IL 60674-0411
CAN LOGISTICS LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CAN STATES EXPRESS INC.                 20 BEAVERHALL ROAD BRAMPTON ON L6X4L3 CANADA
CAN TRUCKING, INC.                      PO BOX 3305 ELIZABETH NJ 07207
CAN-EX GROUP LOGISTICS INC              46 UPPER HUMBER DR ETOBICOKE ON M9W 7B3 CANADA
CAN-STATES FREIGHT SYSTEMS INC          314-913 JEFFE4RSON AVE WINNEPEG MB R2P 1H8 CANADA
CAN-TRUCK 2009 INC.                     2 BLAIR DR BRAMPTON ON L6T 2H5 CANADA



Epiq Corporate Restructuring, LLC                                                                   Page 312 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 321 of 2156

Claim Name                               Address Information
CANAAN LAND TILE LLC                     24023 NE SHEA LN 304 WOOD VILLAGE OR 97060
CANAAN LOGISTIC INC                      OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
CANACCORD GENUITY/CDS (5046)             ATT BEN THIESSEN OR PROXY DEPT 10337 PACIFIC CENTRE 2200-609 GRANVILLE ST
                                         VANCOUVER BC V7Y 1H2 CANADA
CANADA ALARMS                            SUITE 477, 2 TORONTO ST TORONTO ON M5C 2B5 CANADA
CANADA ALL-CARGO DAMAGE INSPECTION SVCS 21349-86A CRESCENT LANGLEY BC V1M 2A2 CANADA
CANADA LIFE ASSURANCE COMPANY            GROUP INSURANCE PAYMENT ADMIN PO BOX 1053 WINNIPEG MB R3C 2X4 CANADA
CANADA LIFE ASSURANCE COMPANY            PO BOX 7200 STATION MAIN WINNIPEG MB R3C 4W4 CANADA
CANADA POST CORPORATION                  1000-266 GRAHAM AVE WINNIPEG MB R3C 0A0 CANADA
CANADA REVENUE AGENCY                    555 MACKENZIE AVENUE OTTAWA ON K1A 0L5 CANADA
CANADA REVENUE AGENCY                    PO BOX 3800 STN A SUDBURY ON P3A 0C3 CANADA
CANADA SPRING MFG (1988) INC             2933 NORLAND AVE BURNABY BC V5B 3A9 CANADA
CANADA, DAMON                            ADDRESS ON FILE
CANADA, STACY M                          ADDRESS ON FILE
CANADAY, JEFF A                          ADDRESS ON FILE
CANADIAN ANTLER DESIGNS INCORP           ATTN: VICTOR LAZEPKO 711 SELKIRK AVE WINNIPEG MB R2W 2N4 CANADA
CANADIAN FLATBEDS LTD                    CANADIAN FLATBEDS LTD, 8270 LAWSON ROAD MILTON ON L9T5J3 CANADA
CANADIAN FREIGHT INSPECTION              71 MILL ST MILTON ON L9T 1R8 CANADA
CANADIAN HAULERS                         OR ECAPITAL ORILLIA (CAN) 174 W ST S 2ND FL ORILLIA QC L3V 6L4 CANADA
CANADIAN KINGPIN SPECAILISTS LTD.        P.O. BOX 63 ECHO BAY ON P0S 1C0 CANADA
CANADIAN LINEN AND UNIFORM SERVICE CO    PO BOX 51073 RPO TYNDALL WINNIPEG MB R2X 3C6 CANADA
CANADIAN LINEN AND UNIFORM SERVICE CO    PO BOX 51075 RPO TYNDALL WINNIPEG MB R2X 3C6 CANADA
CANADIAN LINEN AND UNIFORM SERVICE CO    PO BOX 51087 RPO TYNDALL WINNIPEG MB R2X 3C6 CANADA
CANADIAN MARKING SYSTEMS DIV O           135 MIDLAND ST WINNIPEG MB R3E 3M9 CANADA
CANADIAN NATIONAL RAILROAD               17550 ASHLAND AVE HOMEWOOD 60430
CANADIAN ORGANIC SPICE & HERB            ATTN: CINDY PENGELLY ADMINISTRATION BOX 730 115 MAIN ST WATSON SK S0K 4V0
                                         CANADA
CANADIAN SPRINGS                         A DIV OF AQUATERRA CORPORATION PO BOX 4514 STN A TORONTO ON M5W 4L7 CANADA
CANADY, JAMAR S                          ADDRESS ON FILE
CANADY, NOEMI                            ADDRESS ON FILE
CANADY, TYNISHA                          ADDRESS ON FILE
CANADY-MCGEE, KESHA                      ADDRESS ON FILE
CANAJ, EMILJANO                          ADDRESS ON FILE
CANAL CARTAGE COMPANY                    PO BOX 207284 DALLAS TX 75320
CANALES, ESTELA                          ADDRESS ON FILE
CANALES, FRANCISCO                       ADDRESS ON FILE
CANALES, ORLANDO                         ADDRESS ON FILE
CANALES, RUSSELL                         ADDRESS ON FILE
CANAM FLATDECKS LTD                      OR REVOLUTION CAPITAL INC 4-7500 HIGHWAY 27 WOODBRIDGE MB L4H 0J2 CANADA
CANAM TRANSPORT, INC                     OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
CANAM TRUCKING INC                       OR J D FACTORS CORPORATION 315 MATHESON BLVD E MISSISSAUGA ON L4Z1X8 CANADA
CANAMEX-CARBRA TRANSPORTATION SVC INC.   7415 TORBRAM RD MISSISSAUGA ON L4T 1G8 CANADA
CANANUUG TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CANAS, OSCAR                             ADDRESS ON FILE
CANASI, MICHAEL                          ADDRESS ON FILE
CANCEL, ANTHONY                          ADDRESS ON FILE
CANCINO, EDGAR                           ADDRESS ON FILE
CANCINO, EDGAR                           ADDRESS ON FILE
CANDC TRANSPORT LLC                      OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH


Epiq Corporate Restructuring, LLC                                                                    Page 313 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 322 of 2156

Claim Name                           Address Information
CANDC TRANSPORT LLC                  45263-9565
CANDELA, SALVATORE                   ADDRESS ON FILE
CANDELARIA, BEN JAMES                ADDRESS ON FILE
CANDELARIA, NATHANIEL                ADDRESS ON FILE
CANDELARIA, RAYMOND                  ADDRESS ON FILE
CANDELAS, JESSICA                    ADDRESS ON FILE
CANDELLA, MICHAEL                    ADDRESS ON FILE
CANDELO, JIMMY                       ADDRESS ON FILE
CANDI-LYNN MIRANDA                   ADDRESS ON FILE
CANDICE DUGAN                        ADDRESS ON FILE
CANDICE PIERCE                       ADDRESS ON FILE
CANDID TRUCKING INCORPORATED         OR ECAPITAL ORILLIA (CAN) 174 W ST S 2ND FL ORILLIA SK L3V 6L4 CANADA
CANDIDOS TOW & REPAIR                722 E MOUNT VERNON ST SOMERSET KY 42501
CANDIDOS TOW & REPAIR                722 EAST MT VERNON ST SOMERET KY 42501
CANDLE RIVER TRUCKING LLC            OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
CANDLER, JONATHAN                    ADDRESS ON FILE
CANDRE, DOUGLAS                      ADDRESS ON FILE
CANDRIENE LOGISTICS LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CANDY LOGISTICS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CANDY, TIMOTHY                       ADDRESS ON FILE
CANELA, MARCOS                       ADDRESS ON FILE
CANET-MESA, IVAN                     ADDRESS ON FILE
CANFIER TRUCKING LLC                 OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
CANGIALOSI, DOMINICK F               ADDRESS ON FILE
CANIDA, DONALD                       ADDRESS ON FILE
CANIPE, GARRY                        ADDRESS ON FILE
CANIZALES, ALBERT                    ADDRESS ON FILE
CANIZALES, JOSE                      ADDRESS ON FILE
CANLAS, CARMINA                      ADDRESS ON FILE
CANMORE CARRIERS INC                 OR IPS INVOICE PAYMENT SYSTEM PO BOX 77226 MISSISSAUGA AB L5T 2P4 CANADA
CANNA CONTINENTAL                    ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
CANNADY, ANTIONE                     ADDRESS ON FILE
CANNADY, DARRYL                      ADDRESS ON FILE
CANNADY, DAVID                       ADDRESS ON FILE
CANNADY, ZARAK                       ADDRESS ON FILE
CANNARELLA, MELANIE                  ADDRESS ON FILE
CANNATELLA, MARK                     ADDRESS ON FILE
CANNIFF, DAVID                       ADDRESS ON FILE
CANNING, DAVID                       ADDRESS ON FILE
CANNON LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CANNON MACHINE INC                   1641 DAVIS NW GRAND RAPIDS MI 49504
CANNON TRANSPORT                     113 RANGE DRIVE GARLAND TX 75040
CANNON TRANSPORT                     209 RANGE DRIVE GARLAND TX 75040
CANNON, DANNA                        ADDRESS ON FILE
CANNON, DAVID                        ADDRESS ON FILE
CANNON, FREDRICH                     ADDRESS ON FILE
CANNON, JAMES                        ADDRESS ON FILE
CANNON, JAMES K                      ADDRESS ON FILE
CANNON, KAYLA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 314 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 323 of 2156

Claim Name                               Address Information
CANNON, KAYLA                            ADDRESS ON FILE
CANNON, MICHAEL                          ADDRESS ON FILE
CANNON, PAUL                             ADDRESS ON FILE
CANNON, SCOTT R                          ADDRESS ON FILE
CANNON, TARAY                            ADDRESS ON FILE
CANNON, WILLIAM                          ADDRESS ON FILE
CANNONBALL EXPRESS TRANSPORTATION, LLC   10064 S 134 STREET OMAHA NE 68138
CANO & SONS TRUCKING LLC                 109 W DICKER ROAD SUITE B SAN JUAN TX 78589
CANO, CHRISTINA                          ADDRESS ON FILE
CANO, CHRISTOPHER                        ADDRESS ON FILE
CANO, MARIO A                            ADDRESS ON FILE
CANON USA                                C/O PROGENY CLAIM SERVICE, PO BOX 1229 CROWN POINT IN 46308
CANON USA                                PROGENCY CLAIM SERVICE, PO BOX 1229 CROWN POINT IN 46308
CANON, RANDY                             ADDRESS ON FILE
CANOPIOUS (VIA RT SPECIALTY)             C/O RSUI 945 EAST PACES FERRY ROAD NE SUITE 1800 ATLANTA GA 30326
CANORRO, JOHN                            ADDRESS ON FILE
CANOS CORP                               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CANSECO, JESUS                           ADDRESS ON FILE
CANSOURCE CORPORATE                      ATTN: JESSICA BEACH 1925 PIKE RD STE 103 LONGMONT CO 80501
CANTARA COMMERCIAL COLLISION             2 ALEWIVE PARK ROAD KENNEBUNK ME 04043
CANTEEN FOOD & VENDING                   A DIVISION OF CANTEEN, PO BOX 417632 BOSTON MA 02241
CANTEEN FOOD & VENDING                   PO BOX 417632 BOSTON MA 02241
CANTEEN FOOD & VENDING                   940 LIVELY BLVD WOOD DALE IL 60191
CANTEEN OF CANADA LTD                    1 PROLOGIS BLVD STE 400 MISSISSAUGA ON L5W 0G2 CANADA
CANTEEN ONE                              700 N 5TH ST MINNEAPOLIS MN 55401
CANTEEN ONE                              4150 OLSON MEMORIAL HWY, SUITE 200 MINNEAPOLIS MN 55422
CANTEEN VENDING SERVICES                 PO BOX 417632 BOSTON MA 02241-7632
CANTEEN VENDING SERVICES                 940 LIVELY BLVD WOOD DALE IL 60191
CANTEEN VENDING SERVICES                 P.O. BOX 91337 CHICAGO IL 60693
CANTEEN VENDING SERVICES                 17501 W 98TH ST, SUITE 12-39 LENEXA KS 66219
CANTELOPE, KENDRA                        ADDRESS ON FILE
CANTER, KENNETH                          ADDRESS ON FILE
CANTERBURY, DERRICK                      ADDRESS ON FILE
CANTLAY, PAUL                            ADDRESS ON FILE
CANTLEY, KENNETH                         ADDRESS ON FILE
CANTLEY-KLINE, SHAWN                     ADDRESS ON FILE
CANTLOW, TERRY                           ADDRESS ON FILE
CANTNER, MICHAEL                         ADDRESS ON FILE
CANTON, ANDREW                           ADDRESS ON FILE
CANTON, ANDREW                           ADDRESS ON FILE
CANTOR, JESUS                            ADDRESS ON FILE
CANTORI, LEONARDO                        ADDRESS ON FILE
CANTRELL, GARY                           ADDRESS ON FILE
CANTRELL, JAMES                          ADDRESS ON FILE
CANTRELL, MARVIN                         ADDRESS ON FILE
CANTRELL, MICHAEL                        ADDRESS ON FILE
CANTRELL, RICHARD                        ADDRESS ON FILE
CANTRELL, WERNER                         ADDRESS ON FILE
CANTRELLS TOWING & RECOVERY              20812 E 550TH STREET COLONA IL 61241



Epiq Corporate Restructuring, LLC                                                                     Page 315 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 324 of 2156

Claim Name                           Address Information
CANTU, ALFREDO                       ADDRESS ON FILE
CANTU, BOB                           ADDRESS ON FILE
CANTU, CYNTHIA                       ADDRESS ON FILE
CANTU, CYNTHIA Y                     ADDRESS ON FILE
CANTU, FELIX                         ADDRESS ON FILE
CANTU, JESSE                         ADDRESS ON FILE
CANTU, JOE                           ADDRESS ON FILE
CANTU, MARCELINO                     ADDRESS ON FILE
CANTWELL, DON                        ADDRESS ON FILE
CANTWELL, LORENA                     ADDRESS ON FILE
CANTY, DEVION                        ADDRESS ON FILE
CANTY, KARON                         ADDRESS ON FILE
CANTY, MOSES                         ADDRESS ON FILE
CANUS LOGISTIC INC                   45 EASTBROOK WAY BRAMPTON ON L6P 1K5 CANADA
CANX TRANSPORT LTD                   OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
CANYON CARGO LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
CANYON CARGO, LLC                    4120 CONSULATE PLAZA DR STE 150 HOUSTON TX 77032
CANYON EXPRESS TRANSPORTATION LLC    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CANYON TRANSPORTATION INC            1923 WASHINGTON AVE 2319 HOUSTON TX 77007-6132
CANYON TRANSPORTERS LLC              OR TRANSAM FINANCIAL SERVICES, INC. PO BOX 872632 KANSAS CITY MO 64187
CAO, HUNG                            ADDRESS ON FILE
CAO, OSCAR                           ADDRESS ON FILE
CAP LOGISTICS LLC                    OR S3 CAPITAL LLC, PO BOX 4065 WARREN NJ 07059
CAP TRUCKING LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CAPABLE EXPRESS LLC                  3292 THOMPSON BRIDGE ROAD GAINESVILLE GA 30506
CAPACITY, LLC                        ATTN: GENERAL COUNSEL 1112 CORPORATE RD NORTH BRUNSWICK TOWNSHIP NJ 08902
CAPASSO, SALVATORE                   ADDRESS ON FILE
CAPE CARGO INC                       54B MEETINGHOUSE LANE SAGAMORE BEACH MA 02562
CAPE COD EXPRESS                     1 EXPRESS DR WAREHAM 02571-5028
CAPE COD EXPRESS, INC.               1 EXPRESS DR NANTUCKET WAREHAM MA 02571
CAPE FEAR LIFT TRUCKS                PO BOX 2078 BURLINGTON NC 27216
CAPE FEAR LIFT TRUCKS                PO BOX 63130 CHARLOTTE NC 28263
CAPE FEAR PUBLIC UTILITY AUTH        235 GOVERNMENT CTR DR. WILMINGTON NC 28403
CAPEK, JOHN                          ADDRESS ON FILE
CAPERS, ANTHONY                      ADDRESS ON FILE
CAPERS, GARY                         ADDRESS ON FILE
CAPERS, TIMOTHY                      ADDRESS ON FILE
CAPETILLO, OLGA LIDI, LARA           ADDRESS ON FILE
CAPGEMINI AMERICA                    C/O BANK OF AMERICA 012663 COLLECTION CENTER DR CHICAGO IL 60693
CAPITAL 1 TRANS INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CAPITAL 1 TRANSPORT LLC              OR BC FACTORING LLC, P.O. BOX 172091 MEMPHIS TN 38187
CAPITAL ADHESIVES & PACKAGING CORP   ATTN: KANE NEESE 1260 S OLD STATE ROAD 67 MOORESVILLE IN 46158
CAPITAL ALLIANCE CORP                6246 W STERNS ROAD OTTAWA LAKE MI 49267
CAPITAL CITY BEVERAGE                ATTN: TINA TANT KUEHNE-NAGEL PO BOX 171118 MEMPHIS TN 38187
CAPITAL CITY CARGO                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CAPITAL CITY GROUNDSKEEPING          5213 CHIN PAGE RD DURHAM NC 27703
CAPITAL CONTAINERS LLC               720 SUTTER AVENUE, 4B WEST SACRAMENTO CA 95691
CAPITAL D&A LLC                      OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
CAPITAL DOORS, INC.                  135 ROUSH CIR FAIRMONT WV 26554



Epiq Corporate Restructuring, LLC                                                                 Page 316 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 325 of 2156

Claim Name                             Address Information
CAPITAL ELECTRIC COOP INC              7401 YUKON DR. PO BOX 730 BISMARCK ND 58502-0730
CAPITAL EQUIPMENT AND HANDLING, INC.   D/B/A: EQUIPMENT DEPOT WISCONSIN INC 28518 NETWORK PLACE CHICAGO IL 60673-8518
CAPITAL EXPRESS LINES INC              3575 ROCKY HILL CT LOOMIS CA 95650
CAPITAL FIRE EXTINGUISHER CO., INC.    PO BOX 6245 NORTH LITTLE ROCK AR 72124
CAPITAL FIRE PROTECTION                3360 VALLEYVIEW DR COLUMBUS OH 43204
CAPITAL FIRE PROTECTION LTD            365 MAXWELL CRESCENT REGINA SK S4N 5X9 CANADA
CAPITAL FLEET SERVICES LLC             11924 OLD STAGE ROAD, SUITE A CHESTER VA 23836
CAPITAL LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CAPITAL LOGISTICS LLC (MC1241027)      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CAPITAL TOWING & RECOVERY, INC         1306 HARMON AVE COLUMBUS OH 43223
CAPITAL TRANS                          ASCENT GLOBAL, PO BOX 371100 MILWAUKEE WI 53237
CAPITAL TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CAPITAL TRANSPORTATION SERVICES INC    ATTN: ALAN LECLAIR PO BOX 248 WINDHAM NH 03087
CAPITAL TRANSPORTATION SOLUTIONS LLC   1915 VAUGHN RD NW KENNESAW GA 30144
CAPITAL TRANSPORTATION SOLUTIONS LLC   ATTN: ACCOUNTING, 1915 VAUGHN RD KENNESAW GA 30144
CAPITAL VOLVO TRUCK & TRAILER          PO BOX 9427, 185 WEST BLVD. MONTGOMERY AL 36108
CAPITALAND LOGISTICS, LLC.             100 NICHOLAS COURT SCHENECTADY NY 12303
CAPITO, NIKKO                          ADDRESS ON FILE
CAPITOL CITY BOLT & SCREW CO INC       1003 3RD AVE S NASHVILLE TN 37210
CAPITOL CITY HONDA                     2370 CARRIAGE LOOP SW OLYMPIA WA 98502
CAPITOL EXPRESS, INC.                  8125 STAYTON DR STE A JESSUP MD 20794
CAPITOL JANITORIAL SERVICE             706 E MEADOWS DR MOUNT JULIET TN 37122
CAPITOL LIFT TRUCK INC                 2421 SW 14TH STREET OKLAHOMA CITY OK 73108
CAPITOL LOGISTICS, INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CAPITOL MEDALS INC                     1701-H N. MAIN STREET HIGH POINT NC 27262
CAPITOL TRUCKING INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CAPITOL TRUCKING INC (GLEN ELLYN IL)   OR TAB BANK, PO BOX 150290 OGDEN UT 84415
CAPIZZI, MITCHEL                       ADDRESS ON FILE
CAPLAN LOGISTICS INC.                  20763 W PARK AVE MUNDELEIN IL 60060
CAPLES, BRADLEY                        ADDRESS ON FILE
CAPLINGER, CHARLES                     ADDRESS ON FILE
CAPO FIRESIDE                          26401 VIA DE ANZA SAN JUAN CAPISTRANO CA 92675
CAPO LOGIC LLC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CAPO LOGISTICS, LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CAPO TRANSPORT GROUP                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CAPOCHE TRUCKS LLC                     OR FREIGHT FACTORING SPECIALISTS LLC PO BOX 31792 DEPT 10010 TAMPA FL
                                       33631-3792
CAPOZZA, JOSEPH                        ADDRESS ON FILE
CAPOZZOLI, JEFFREY                     ADDRESS ON FILE
CAPPELLINO, JOSEPH                     ADDRESS ON FILE
CAPPETTA, STEVEN                       ADDRESS ON FILE
CAPPIS, SCOTT                          ADDRESS ON FILE
CAPPS, KYLE                            ADDRESS ON FILE
CAPPUCHI, JOEL                         ADDRESS ON FILE
CAPRA, JOSEPH                          ADDRESS ON FILE
CAPRANOS, MICHAEL                      ADDRESS ON FILE
CAPRICE EXPEDITE LOGISTIC LLC          OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
CAPRICE HARRIED                        ADDRESS ON FILE
CAPRICORN EXPRESS LLC                  OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243



Epiq Corporate Restructuring, LLC                                                                  Page 317 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 326 of 2156

Claim Name                           Address Information
CAPRITOY LLC                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CAPROCK WASTE                        A WASTE CONNECTIONS COMPANY PO BOX 679859 DALLAS TX 75267
CAPSAND LOGISTICS                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CAPSHAW, JAMES                       ADDRESS ON FILE
CAPSI NATIONWIDE LLC                 ATTN: MOHAMMAD NOUROUDINE 4854 OLD NATIONAL HWY STE 128 ATLANTA GA 30337-6225
CAPSIM MANAGEMENT SIMULATIONS INC    DPT 8022, 2012 CORPORATE LN STE 108 NAPERVILLE IL 60563
CAPSTONE LOGISTICS LLC               3086 MOMENTUM PLACE CHICAGO IL 60689
CAPSTONE LOGISTICS LLC               3086 MOMENTUM PLACE CHICAGO IL 60689-5330
CAPTAIN TRANSPORT LTD                33 REDSTONE GROVE NE CALGARY AB T3N 0M3 CANADA
CAPTIVE AIRE                         1810 14TH ST STE 214 SANTA MONICA CA 90404
CAPTIVE AIRE SYSTEMS                 6856 LOCKHEED DR REDDING CA 96002
CAPTIVE AIRE SYSTEMS                 ATTN: BONNIE MILES 6856 LOCKHEED DR REDDING CA 96002
CAPTIVE AIRE SYSTEMS INC             40 SPITLER CIR GREENVILLE VA 24440
CAPTRANS INC                         158 CORDELL RD SCHENECTADY NY 12303
CAPTURE LOGISTICS INC                713056 FIRST LINE EHS MONO ON L9W5T8 CANADA
CAPTURE LOGISTICS INC.               9712 CIMMARON AVE MCCORDSVILLE IN 46055
CAPUANO, MICHAEL                     ADDRESS ON FILE
CAPUTI, KEITH                        ADDRESS ON FILE
CAPUTO, DAVID                        ADDRESS ON FILE
CAPUTOS OVERHEAD DOOR SERVICE        1194 W CRYSTAL BLUFF DRIVE MURRAY UT 84123
CAR 12 INC                           OR FIRST BANK & TRUST, PO BOX 328 MADISON SD 57042
CAR LOGISTICS LLC                    147 WEST KELLY STREET METUCHEN NJ 08840
CAR O LINER COMPANY                  ATTN: ED YOUNG 29900 ANTHONY DR WIXOM MI 48393
CAR PROS KIA                         7230 SOUTH TACOMA WAY TACOMA WA 98409
CAR PROS KIA                         ATTN: BOB SHERMAN 7230 S TACOMA WAY TACOMA WA 98409
CAR TRANSPORT INC                    709 W 65TH ST APT 6 WESTMONT IL 60559
CARA, NICK                           ADDRESS ON FILE
CARABAJAL, JESS                      ADDRESS ON FILE
CARABALLO OVALLES, GABRIEL           ADDRESS ON FILE
CARABALLO, ILIANEX                   ADDRESS ON FILE
CARABALLO, LOUIS                     ADDRESS ON FILE
CARACAS TRANSPORTATION INC           OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CARADINE, DARENTE                    ADDRESS ON FILE
CARAMEX LOGISTICS INC                44 FIRDALE CRT SYLVAN LAKE AB T4S 2M2 CANADA
CARANO, MIKE                         ADDRESS ON FILE
CARAT EXPEDITED INC                  OR PRO FUNDING INC, DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
CARAVAN GROUP LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CARAVAN INC                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CARAVAN LOGISTICS GROUP LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CARAVAN LOGISTICS LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CARAVAN LOGISTICS LLC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75264-0267
CARAVAN TRAILER, L.L.C.              PO BOX 12595 KANSAS CITY MO 64116
CARAVAN TRANSPORTATION LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CARAWAY FIRE & SAFETY CORP           4310 AUGUSTA RD LEXINGTON SC 29073
CARAWAY, DAVELIN                     ADDRESS ON FILE
CARAZO-MERCADO, KEVIN                ADDRESS ON FILE
CARBAJAL GARCIA, CESAR               ADDRESS ON FILE
CARBAJAL, BENJAMIN J                 ADDRESS ON FILE
CARBAJAL, JESSICA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 318 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 327 of 2156

Claim Name                           Address Information
CARBAJAL, KARINA                     ADDRESS ON FILE
CARBAJAL, VICTOR                     ADDRESS ON FILE
CARBALLA, JOSEPH                     ADDRESS ON FILE
CARBALLEIRA, ANTHONY                 ADDRESS ON FILE
CARBAUGH, ROBERT                     ADDRESS ON FILE
CARBAUGH, SEAN                       ADDRESS ON FILE
CARBAUGH, THOMAS                     ADDRESS ON FILE
CARBENI LLC                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CARBETT, GREGORY                     ADDRESS ON FILE
CARBONARO, JOE                       ADDRESS ON FILE
CARBONE, JOSE                        ADDRESS ON FILE
CARBONI, CHRISTINA                   ADDRESS ON FILE
CARBONNEAU, STEVE D                  ADDRESS ON FILE
CARCAMO, JONATHON                    ADDRESS ON FILE
CARCAMOS TRUCKING                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CARCANI TRANSPORT LLC                PO BOX 98 POPLAR GROVE IL 61065
CARCANI TRANSPORT LLC                OR VIVA CAPITAL FUNDING, INC PO BOX 17548 EL PASO TX 79917
CARD, MICKELOS                       ADDRESS ON FILE
CARDA, STEVE                         ADDRESS ON FILE
CARDANO TRUCKING INC.                1304 S SIR LANCELOT LN APT 2B MT PROSPECT IL 60056
CARDEN, DAVID                        ADDRESS ON FILE
CARDEN, SHERIAN                      ADDRESS ON FILE
CARDENAS MILLAN, RAFAEL              ADDRESS ON FILE
CARDENAS TRUCKING INC                OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
CARDENAS, ARTURO                     ADDRESS ON FILE
CARDENAS, BELINDA                    ADDRESS ON FILE
CARDENAS, DAVID                      ADDRESS ON FILE
CARDENAS, EILEEN                     ADDRESS ON FILE
CARDENAS, JAVIER                     ADDRESS ON FILE
CARDENAS, JOSE                       ADDRESS ON FILE
CARDENAS, JOSE                       ADDRESS ON FILE
CARDENAS, PEDRO                      ADDRESS ON FILE
CARDENAS, RAFAEL                     ADDRESS ON FILE
CARDENAS, RENE                       ADDRESS ON FILE
CARDER TRUCKING LLC                  OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CARDER, PAUL                         ADDRESS ON FILE
CARDER, WILLIE                       ADDRESS ON FILE
CARDER, WYNN                         ADDRESS ON FILE
CARDIN, JIM                          ADDRESS ON FILE
CARDINAL EXPRESS LOGISTICS INC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CARDINAL HEALTH                      GOODMAN REICHWALD DODGE INC PO BOX 26067 MILWAUKEE WI 53226
CARDINAL HEALTH                      2353 PROSPECT DR. AURORA IL 60502
CARDINAL HEALTH                      DATA2LOGISTICS, PO BOX 61050 FORT MYERS FL 33906
CARDINAL LAWN & LANDSCAPING          5112 W RIDGE RD SPENCERPORT NY 14559
CARDINAL LOGISTICS                   5333 DAVIDSON HWY CONCORD NC 28027
CARDINAL LOGISTICS                   ATTN M SMITH, 5333 DAVIDSON HWY CONCORD NC 28027
CARDINAL LOGISTICS INC               PO BOX 12090 CHARLOTTE NC 28220
CARDINAL LOGISTICS INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
CARDINAL LOGISTICS MANAGEMENT CORP   LOCKBOX 405069 ATLANTA GA 30384



Epiq Corporate Restructuring, LLC                                                                 Page 319 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 328 of 2156

Claim Name                              Address Information
CARDINAL LOGISTICS MANAGEMENT CORP.    ATTN: LAURA FERRAIOLO 5333 DAVIDSON HWY CONCORD NC 28027-8478
CARDINAL PALLET CO.                    505 W 43RD ST CHICAGO IL 60609
CARDINAL TRANSPORT                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
CARDINAUX, JOSE                        ADDRESS ON FILE
CARDONA, ARTURO                        ADDRESS ON FILE
CARDONA, BRIAN                         ADDRESS ON FILE
CARDONA, ELEUTERIO & ROSA E.           ADDRESS ON FILE
CARDONA, JOSE                          ADDRESS ON FILE
CARDONA, RAYMOND                       ADDRESS ON FILE
CARDONA, WILFREDO                      ADDRESS ON FILE
CARDONE, ANTHONY                       ADDRESS ON FILE
CARDONE, ANTHONY                       ADDRESS ON FILE
CARDONE, JOSEPH                        ADDRESS ON FILE
CARDOSI, ANTHONY                       ADDRESS ON FILE
CARDOSO, MARCOS                        ADDRESS ON FILE
CARDOZA JR, JOSEPH                     ADDRESS ON FILE
CARDOZA, JOSE                          ADDRESS ON FILE
CARDOZA, MIGUEL                        ADDRESS ON FILE
CARDOZA, OSCAR                         ADDRESS ON FILE
CARDOZO, ANDRES                        ADDRESS ON FILE
CARDWELL CONSTRUCTION                  955 BUFFALO RD SUITE 9 ROCHESTER NY 14624
CARDWELL, WILLIAM                      ADDRESS ON FILE
CAREER NOW BRANDS                      302 E PARENT AVE ROYAL OAK MI 48067
CAREER NOW BRANDS                      PO BOX 772970 DETROIT MI 48277
CAREFREE OF COLORADO                   2145 W 6TH AVE BROOMFIELD CO 80020
CAREFREE OF COLORADO                   4853 WILD FLOWER PL BROOMFIELD CO 80020
CAREFREE OF COLORADO                   ATTN: TERI MERCER 2145 W 6TH AVE BROOMFIELD CO 80020
CAREFREE SERVICES, INCORPORATED        PO BOX 208 MAPLE PLAIN MN 55359
CAREFREE TRUCKING, INC.                2715 HOWBERT ST COLORADO SPRINGS CO 80904
CAREGAN TRANSPORT, INC.                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CARENOW                                PO BOX 745681 ATLANTA GA 30384
CARESPOT OF JACKSONVILLE FL            PO BOX 403959 ATLANTA GA 30384
CARESPOT OF ORLANDO/HSI URGENT CARE LLC PO BOX 744239 ATLANTA GA 30374
CARETAKER LANDSCAPE AND TREE MANAGEMENT 741 NORTH MONTEREY STREET GILBERT AZ 85233
CAREVIC INC                            34 SOUTHLAND DRIVE, EAST ST PAUL MB R2E 0B3 CANADA
CAREY, ALCEDO                          ADDRESS ON FILE
CAREY, ANDREW                          ADDRESS ON FILE
CAREY, BILL                            ADDRESS ON FILE
CAREY, DAVID                           ADDRESS ON FILE
CAREY, DESHARA                         ADDRESS ON FILE
CAREY, JOHN                            ADDRESS ON FILE
CAREY, MICHAEL                         ADDRESS ON FILE
CAREY, MICHAEL P                       ADDRESS ON FILE
CAREY, MIKE                            ADDRESS ON FILE
CAREY, NATHANAEL                       ADDRESS ON FILE
CAREY, RANDALL W                       ADDRESS ON FILE
CAREY, ROMALLIS                        ADDRESS ON FILE
CAREY, SEAN                            ADDRESS ON FILE
CAREY, SIDNEY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 320 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 329 of 2156

Claim Name                           Address Information
CARFIELD, CHRISTIAN                  ADDRESS ON FILE
CARGILE, ELIJAH                      ADDRESS ON FILE
CARGILE, VANTORIA                    ADDRESS ON FILE
CARGILL                              2410 E DRAKE RD FORT COLLINS CO 80525
CARGILL, BRUCE                       ADDRESS ON FILE
CARGILL, COOPER                      ADDRESS ON FILE
CARGILL, RYAN                        ADDRESS ON FILE
CARGILL, RYAN                        ADDRESS ON FILE
CARGO CARE INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
CARGO CARRIERS INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CARGO CARRIERS LLC                   405 LOGISTICS DR LAREDO TX 78045
CARGO DIRECT INC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CARGO EMPIRE LLC                     OR BM FINANCIAL LLC 9300 CONROY WINDERMERE RD, 2080 WINDERMERE FL 34786
CARGO EXPERT LLC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CARGO EXPERT SERVICES INC            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
CARGO EXPRESS                        6612 E COUNTY LINE RD ROGERSVILLE MO 65721
CARGO EXPRESS LOGISTICS INC          OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
CARGO EXPRESS TRANSPORT, LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
CARGO FLOW LLC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
CARGO GLOBAL LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CARGO HANDLERS TRANSPORTATION &      LOGISTICS LLC, OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX
                                     75284-0267
CARGO HEAVY DUTY INC.                1251 SHAKESPEARE AVE KALAMAZOO MI 49001
CARGO HQ INC                         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
CARGO IN TRANSIT LLC                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CARGO JET CARRIERS INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CARGO LINES                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CARGO MANAGEMENT GROUP               1100 BOLETUS DR HENDERSON NV 89011
CARGO NETWORK SOLUTIONS, INC.        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CARGO PROS LLC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CARGO RUNNER CO                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CARGO RYDER TRANSPORT LLC            PO BOX 3054 WHITTIER CA 90605-0054
CARGO SOLUTION OREGON EXPRESS        2515 GEARY ST ALBANY OR 97322
CARGO SPEED CORP                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CARGO SPHERE INC                     1614 S NORBURY AVE LOMBARD IL 60148
CARGO TRAC LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CARGO TRANS INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
CARGO TRANSFER INC                   1900 EMPIRE BLVD 230 WEBSTER NY 14580
CARGO TRANSIT INC                    PO BOX 26768 ROCHESTER NY 14626
CARGO TRANSIT INC.                   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068-2348
CARGO TRANSIT INC.                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
CARGO TRANSPORT ALLIANCE LLC         OR ASSIST FINANCIAL SERVICES, INC. PO BOX 347 MADISON SD 57042
CARGO TRANSPORT ALLIANCE LLC         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CARGO TRANSPORTATION SERVICES LLC    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
CARGO TRAVELS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CARGO TRUCK EXPRESS INC              8045 WOODCREEK DR BRIDGEVILLE PA 15017
CARGO TRUCKING INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CARGO TRUCKING LLC                   17779 HWY Y SEDALIA MO 65301
CARGO TRUCKING LLC (MC1280546)       OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                                 Page 321 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 330 of 2156

Claim Name                           Address Information
CARGO X TRANSPORT INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
CARGO X TRANSPORT INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CARGO, ERIC                          ADDRESS ON FILE
CARGO, ERIC                          ADDRESS ON FILE
CARGO-KING TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CARGOBOSS, INC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CARGOBOT LLC                         ATTN: ALEXANDRA FRIAS PO BOX 331924 MIAMI FL 33233
CARGODITE LLC                        OR FARO FACTORING LLC 7613 ROCIO DR SUITE 1 LAREDO TX 78041
CARGOEXPERT                          5584 WHITE FIR WAY SACRAMENTO CA 95841-2839
CARGOHUB LLC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CARGOLINE INC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CARGOLOGS INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CARGOMATIC                           211 E OCEAN BLVD STE 430 LONG BEACH CA 90802
CARGOMATIC INC                       PO BOX 92026 LAS VEGAS NV 89120
CARGOPRIME CORPORATION               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CARGOTRANS INTERNATIONAL CORP.       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CARHART, MICHAEL                     ADDRESS ON FILE
CARIB TRANSIT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CARIBBEAN EAGLE LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CARIBBEAN FREIGHT SYSTEMS LLC        OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
CARIBBEAN LOGISTICS LLC              OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
CARIBBEAN TRUCKING LLC               OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
CARIBE EXPRESS TRANSPORTATION CORP   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
CARIBEX WORLDWIDE                    D/B/A: CBX GLOBAL PO BOX 35668 GREENSBORO NC 27425
CARIBSTYLE TRANSPORTATION LLC        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CARIGNAN, CHASE S                    ADDRESS ON FILE
CARIGON, DONALD                      ADDRESS ON FILE
CARILLO ENTERPRISES INC              OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
CARILLO, ROBERT                      ADDRESS ON FILE
CARIMEX INC                          OR TAFS, P.O. BOX 872632 KANSAS CITY MO 64187
CARIMEX INC                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CARINI, GILBERT                      ADDRESS ON FILE
CARINO, GUADALUPE                    ADDRESS ON FILE
CARIRE, DERICK                       ADDRESS ON FILE
CARKIN, DONNA                        ADDRESS ON FILE
CARL A SANTO                         ADDRESS ON FILE
CARL BOWEN                           ADDRESS ON FILE
CARL H WALKER JR                     ADDRESS ON FILE
CARL HICKS                           ADDRESS ON FILE
CARL HOWARD                          ADDRESS ON FILE
CARL J WOODS                         ADDRESS ON FILE
CARL JARL LOCK SAFE & GUN CO         11055 I ST OMAHA NE 68137
CARL KING ENERGY SERVICES INC        PO BOX 70282 PHILADELPHIA PA 19176
CARL KING ENERGY SERVICES INC        1400 EAST LEBANON RD. DOVER DE 19901
CARL KING ENERGY SERVICES INC        PO BOX 62632 BALTIMORE MD 21264
CARL L KOCH                          ADDRESS ON FILE
CARL L ROBINSON                      ADDRESS ON FILE
CARL L ROBINSON                      ADDRESS ON FILE
CARL M FIELDS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 322 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 331 of 2156

Claim Name                              Address Information
CARL S ANGEL                            ADDRESS ON FILE
CARL S GILLON                           ADDRESS ON FILE
CARL WHITERS                            ADDRESS ON FILE
CARL, BRITTANY                          ADDRESS ON FILE
CARL, JAMES                             ADDRESS ON FILE
CARLE                                   PO BOX 4024 CHAMPAIGN IL 61824
CARLETON ENERGY CONSULTING              818 6TH AVENUE, STE 4N NEW YORK NY 10001
CARLETON, DAVID KEVIN                   ADDRESS ON FILE
CARLEVARINO, GIOVANNA                   ADDRESS ON FILE
CARLEX                                  LYNNCO SUPPLY CHAIN SOLUTION 2448 E 81ST ST STE 2600 TULSA OK 74137
CARLEX                                  LYNNCO SUPPLY CHAIN SOLUTIONS 2448 E 81ST ST STE 2600 TULSA OK 74137
CARLEX                                  LYNNCO SUPPLY CHAIN SOLUTIONS 2448 E 81ST ST STE 2800 TULSA OK 74137
CARLEX LAWRENCE GLASS                   ATTN: JOSH LAWRENCE 2450 RIDEOUT LN MURFREESBORO TN 37128
CARLIER, JOHNNY                         ADDRESS ON FILE
CARLILE TRANSPORTATION SYSTEMS, INC.    PO BOX 84048 SEATTLE WA 98124
CARLIN TIRE CENTER                      PO BOX 180 WELLS NV 89835
CARLIN TRANSPORTATION INC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
CARLIN, DELILAH                         ADDRESS ON FILE
CARLINE INC.                            ATTN: SAM NAZZAL 715 TRI CITY BLVD GREENSBORO NC 27407-1440
CARLISLE, JESSE                         ADDRESS ON FILE
CARLISLE, KENNETH                       ADDRESS ON FILE
CARLISLE, MARCUS                        ADDRESS ON FILE
CARLISLE, MARY                          ADDRESS ON FILE
CARLISLE, ROBERT                        ADDRESS ON FILE
CARLISLE, TINA                          ADDRESS ON FILE
CARLISLE, WILLIAM C                     ADDRESS ON FILE
CARLOCK, JOSHUA                         ADDRESS ON FILE
CARLOS C LEON                           ADDRESS ON FILE
CARLOS GOMEZ LINARES                    ADDRESS ON FILE
CARLOS HOURRUTINIER                     ADDRESS ON FILE
CARLOS M LOPES                          ADDRESS ON FILE
CARLOS O DUCHIMAZA                      ADDRESS ON FILE
CARLOS O PICHARDO                       ADDRESS ON FILE
CARLOS RODRIGUEZ                        ADDRESS ON FILE
CARLOS SALAZAR                          ADDRESS ON FILE
CARLOS SMITH                            ADDRESS ON FILE
CARLOS T STEVENS                        ADDRESS ON FILE
CARLOS, GUSTAVO                         ADDRESS ON FILE
CARLOS, JOEL                            ADDRESS ON FILE
CARLOS, JOSE                            ADDRESS ON FILE
CARLS TOWING SERVICE & REPAIR INC       1137 VANDERCOOK WAY, PO BOX 1366 LONGVIEW WA 98632
CARLSEN INSPECTION AGENCY               PO BOX 843 OREGON CITY OR 97045
CARLSEN, DARRELL                        ADDRESS ON FILE
CARLSON CASPERS VANDNBURGH & LNDQUIST   225 SOUTH SIXTH STREET SUITE 4200 MINNEAPOLIS MN 55402
PA
CARLSON, ANDREW                         ADDRESS ON FILE
CARLSON, AUSTEN                         ADDRESS ON FILE
CARLSON, CHRISTINE                      ADDRESS ON FILE
CARLSON, DANIEL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 323 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 332 of 2156

Claim Name                          Address Information
CARLSON, DAVID                      ADDRESS ON FILE
CARLSON, DON                        ADDRESS ON FILE
CARLSON, DON                        ADDRESS ON FILE
CARLSON, GLENN                      ADDRESS ON FILE
CARLSON, GREGG                      ADDRESS ON FILE
CARLSON, GREGORY                    ADDRESS ON FILE
CARLSON, JAMES                      ADDRESS ON FILE
CARLSON, JAMIE                      ADDRESS ON FILE
CARLSON, JOSEPH                     ADDRESS ON FILE
CARLSON, MARK                       ADDRESS ON FILE
CARLSON, MICHAEL                    ADDRESS ON FILE
CARLSON, NICHOLAS                   ADDRESS ON FILE
CARLSON, ROBERT                     ADDRESS ON FILE
CARLSON, RONALD                     ADDRESS ON FILE
CARLSON, THOMAS                     ADDRESS ON FILE
CARLSON, TIMOTHY                    ADDRESS ON FILE
CARLSON, TRINITY                    ADDRESS ON FILE
CARLSON, WILLIAM                    ADDRESS ON FILE
CARLSTADT SEWERAGE AUTHORITY        429 HACKENSACK ST. 3RD FL CARLSTADT NJ 07072
CARLSTAR GROUP                      725 COOL SPRINGS BLVD,500 ERIN TN 37061
CARLSTAR GROUP                      725 COOL SPRINGS BLVD 500 FRANKLIN TN 37067
CARLSTAR GROUP                      ATTN: TUYET LAM 725 COOL SPRINGS BLVD 500 FRANKLIN TN 37067
CARLSTAR GROUP LLC                  ATTN: TUYET LAM 493 WESTRIDGE PKWY MCDONOUGH GA 30253
CARLSTAR TMC                        315 N RACINE AVE CHICAGO IL 60607
CARLSTEN, KYLE                      ADDRESS ON FILE
CARLTON D MALLERY                   ADDRESS ON FILE
CARLTON D SCOTT                     ADDRESS ON FILE
CARLTON R JOJOLA                    ADDRESS ON FILE
CARLTON TECHNOLOGIES INC            2336 112TH AVE. HOLLAND MI 49424
CARLTON, NEVIN                      ADDRESS ON FILE
CARLTON, RICHARD                    ADDRESS ON FILE
CARLTONITA JETT                     ADDRESS ON FILE
CARLYLE TRUCKING ENTERPRISE LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CARLYLE, JONATHAN                   ADDRESS ON FILE
CARMA                               ATTN: LISA JOME 9750 S FRANKLIN DR FRANKLIN WI 53132
CARMACK, MARK                       ADDRESS ON FILE
CARMACK, ROBERT                     ADDRESS ON FILE
CARMACK, STEVEN                     ADDRESS ON FILE
CARMACK, STEVEN                     ADDRESS ON FILE
CARMACK, STEVEN L                   ADDRESS ON FILE
CARMAN, MATTHEW                     ADDRESS ON FILE
CARMEL LOGISTICS LLC                3074 VERMONT AVE CLOVIS CA 93619
CARMEL TRUCKING LLC                 OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
CARMELLO, BYRON                     ADDRESS ON FILE
CARMEN G VELEZ                      ADDRESS ON FILE
CARMENS LOGISTICS & SERVICES LLC    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
CARMER, DWAYNE                      ADDRESS ON FILE
CARMICHAEL LTEE                     ADDRESS ON FILE
CARMICHAEL, CHRISTOPHER             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 324 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 333 of 2156

Claim Name                              Address Information
CARMICHAEL, DWAYNE                      ADDRESS ON FILE
CARMICHAEL, SIDNEY                      ADDRESS ON FILE
CARMICHAEL, WILLIAM                     ADDRESS ON FILE
CARMINA CANLAS                          ADDRESS ON FILE
CARMINE P MIGLIACCIO                    ADDRESS ON FILE
CARMODY, NOAH                           ADDRESS ON FILE
CARMODY, RENE                           ADDRESS ON FILE
CARMONA BROTHERS TRANSPORT INC          OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CARMONA, ANEL                           ADDRESS ON FILE
CARMONA, ANTHONY                        ADDRESS ON FILE
CARMONA, ISRAEL                         ADDRESS ON FILE
CARMONA, MICHAEL                        ADDRESS ON FILE
CARMONA, TEODORO                        ADDRESS ON FILE
CARMOUCHE, JIMMY                        ADDRESS ON FILE
CARMOUCHE, JOHN                         ADDRESS ON FILE
CARNAGHI TOWING & REPAIR INC            2000 GEORGETOWN RD TILTON IL 61833
CARNAHAN CONCRETE                       700 E WOOD DR MCLEAN IL 61754
CARNAHAN TOWING & REPAIR INC            905 SMELTER AVE GREAT FALLS MT 59404
CARNAHAN, BRYAN                         ADDRESS ON FILE
CARNELLS GARAGE & WRECKER SERV INC      6906 STATE HWY 74 CAPE GIRARDEAU MO 63701
CARNELLS TRUCKING INC                   OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
CARNER, KRYSTEN                         ADDRESS ON FILE
CARNES, BILLY                           ADDRESS ON FILE
CARNES, TYANN                           ADDRESS ON FILE
CARNEY TRUCKING AND LOGISTICS LLC       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CARNEY, ALEX                            ADDRESS ON FILE
CARNEY, COLIN                           ADDRESS ON FILE
CARNEY, DONTE                           ADDRESS ON FILE
CARNEY, JACKSON                         ADDRESS ON FILE
CARNEY, JACOB                           ADDRESS ON FILE
CARNEY, JOHN                            ADDRESS ON FILE
CARNEY, KILEY                           ADDRESS ON FILE
CARNEY, MELISSA                         ADDRESS ON FILE
CARNEY, QUENTIN                         ADDRESS ON FILE
CARNEY, SEAN W                          ADDRESS ON FILE
CARNEY, STEPHEN                         ADDRESS ON FILE
CARNIVELE, FRANK                        ADDRESS ON FILE
CARO, DANIEL                            ADDRESS ON FILE
CAROL A HELMINSKI                       ADDRESS ON FILE
CAROL PROVENCHER                        ADDRESS ON FILE
CAROL, GERALD                           ADDRESS ON FILE
CAROLE KALIX                            ADDRESS ON FILE
CAROLE REEVES                           ADDRESS ON FILE
CAROLE-LYNNE TRUE-CROTEAU               ADDRESS ON FILE
CAROLINA BI-STATE GRIEVANCE COMMITTEE   310 BENNETT CENTER DRIVE GREER SC 29650
CAROLINA BI-STATE GRIEVANCE COMMITTEE   COMMITTEE, 310 BENNETT CENTER DRIVE GREER SC 29650
CAROLINA CARGO FREIGHT EXPEDITERS LLC   OR SEVENOAKS CAPITAL ASSOCIATES LLC PO BOX 669130 HOUSTON TX 75266
CAROLINA CAT                            ADDRESS ON FILE
CAROLINA COAST CONSTRUCTION             101 CREIGHTON DR JACKSONVILLE NC 28546



Epiq Corporate Restructuring, LLC                                                                   Page 325 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 334 of 2156

Claim Name                              Address Information
CAROLINA DR LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CAROLINA ENVIRONMENTAL SYSTEMS          306 PINEVIEW DR KERNERSVILLE NC 27284
CAROLINA FREIGHT EXCHANGE LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CAROLINA FREIGHT EXPRESS, INC.          PO BOX 16703 GREENSBORO NC 27416
CAROLINA FREIGHT MOVERS                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAROLINA FREIGHT TRANSPORT              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CAROLINA FREIGHTLINER OF RALEIGH, LLC   OF RALEIGH LLC, 3500 YONKERS ROAD RALEIGH NC 27604
CAROLINA HEATING & COOLING INC          1604 LAKE CITY HWY, PO BOX 385 JOHNSONVILLE SC 29555
CAROLINA HOTSHOT TRUCKING LLC           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CAROLINA INDUSTRIAL SALES INC           1214 A RIVER HWY MOORESVILLE NC 28117
CAROLINA INDUSTRIAL SALES INC           1214 RIVER HWY, STE A MOORESVILLE NC 28117
CAROLINA INDUSTRIAL TRUCKS,             PO BOX 411391 CHARLOTTE NC 28241
INCORPORATED
CAROLINA INDUSTRIALSUPPLY               109 COVINGTON ST. CHERAW SC 29520
CAROLINA INTERNATIONAL TRUCKS, INC.     1619 BLUFF RD COLUMBIA SC 29201
CAROLINA LOGISTIC INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
CAROLINA LOGISTICS INC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
CAROLINA MACHINE WORKS                  795 CASON ST. BELMONT NC 28012
CAROLINA NAVE                           ADDRESS ON FILE
CAROLINA PAINT PADDLE                   7240 CROSS PARK DR N CHARLESTON SC 29418
CAROLINA POWERTRAIN                     PO BOX 603180 CHARLOTTE NC 28260
CAROLINA POWERTRAIN                     PO BX 603180 CHARLOTTE NC 28260
CAROLINA POWERTRAIN                     4701 STATESVILLE RD CHARLOTTE NC 28269
CAROLINA SECURITY SYSTEMS               4975 LACROSS RD, SUITE 306 NORTH CHARLESTON SC 29406
CAROLINA SITE                           PO BOX 481179 CHARLOTTE NC 28269
CAROLINA TECHNICAL FABRICS              200 TILLESSEN BLVD RIDGEWAY SC 29130
CAROLINA TIME EQUIPMENT CO., INC.       PO BOX 18158 CHARLOTTE NC 28218
CAROLINA TOWING & TRANSPORT             D/B/A: CAROLINA TOWING & TRANSPORT OF NC PO BOX 1967 CANDLER NC 28715
CAROLINA TOWING & TRANSPORT OF NC       PO BOX 1967 CANDLER NC 28715
CAROLINA TRAILER REPAIR &FABRITIONS LLC 203 AUTEN CIRCLE MOUNT HOLLY NC 28120
CAROLINA TRANSIT GROUP LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAROLINA TRANSPORTATION INC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
CAROLINAS BEST EXPRESS INC              OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
CAROLINAS DEMAND DELIVERY INC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CAROLINE E HILL                         ADDRESS ON FILE
CAROLINE L WAHLER                       ADDRESS ON FILE
CAROLYN GRIFFIN                         ADDRESS ON FILE
CAROLYN GRIFFIN                         ADDRESS ON FILE
CAROLYN NOVAK                           ADDRESS ON FILE
CARON, JEFFREY                          ADDRESS ON FILE
CAROSELLA, ERIC                         ADDRESS ON FILE
CAROSELLA, ERIC                         ADDRESS ON FILE
CAROTA, GARY                            ADDRESS ON FILE
CAROTHERS, JACK                         ADDRESS ON FILE
CAROTRANS INTERNATIONAL                 100 WALNUT AVE 202 CLARK NJ 07066
CARPA IMPORT & EXPORT                   ATTN: ALEXANDRA FRIAS PO BOX 331924 MIAMI FL 33233
CARPATHIAN WAY INC                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CARPENTER, BOBBY J                      ADDRESS ON FILE
CARPENTER, CINDY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 326 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 335 of 2156

Claim Name                           Address Information
CARPENTER, DAVID                     ADDRESS ON FILE
CARPENTER, DONALD                    ADDRESS ON FILE
CARPENTER, GLEN                      ADDRESS ON FILE
CARPENTER, JEFFERY                   ADDRESS ON FILE
CARPENTER, JIM                       ADDRESS ON FILE
CARPENTER, JOHN F                    ADDRESS ON FILE
CARPENTER, KEITH                     ADDRESS ON FILE
CARPENTER, KENDRICK                  ADDRESS ON FILE
CARPENTER, MAURY                     ADDRESS ON FILE
CARPENTER, MERVIN                    ADDRESS ON FILE
CARPENTER, PAUL                      ADDRESS ON FILE
CARPENTER, ROBERT                    ADDRESS ON FILE
CARPENTER, ROY                       ADDRESS ON FILE
CARPENTER, SHAMIER                   ADDRESS ON FILE
CARPENTER, WILLIAM                   ADDRESS ON FILE
CARPER, DESMOND                      ADDRESS ON FILE
CARPET TRENDS                        PO BOX 362 RYE NY 10580
CARPIO, JAVON                        ADDRESS ON FILE
CARPIO, MARIO                        ADDRESS ON FILE
CARQUEST AUTO PARTS 1302             PO BOX 404875 ATLANTA GA 30384-4875
CARR & OSBORNE PLUMBING & HEATING    503 N 3RD ST ALEXANDRIA LA 71301
CARR ALLISON OLIVER & SISSON         100 VESTAVIA PKWY BIRMINGHAM AL 35216
CARR FREIGHT CARRIER LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CARR LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CARR, ADAM                           ADDRESS ON FILE
CARR, ANDREW                         ADDRESS ON FILE
CARR, ARCADIO                        ADDRESS ON FILE
CARR, ASHLEY                         ADDRESS ON FILE
CARR, BOBBY                          ADDRESS ON FILE
CARR, CHET                           ADDRESS ON FILE
CARR, CLARENCE                       ADDRESS ON FILE
CARR, DAN                            ADDRESS ON FILE
CARR, DONTAG                         ADDRESS ON FILE
CARR, DONTAGG (DONTAY)               ADDRESS ON FILE
CARR, GARY                           ADDRESS ON FILE
CARR, JENNA                          ADDRESS ON FILE
CARR, JOANNE                         ADDRESS ON FILE
CARR, MIKE                           ADDRESS ON FILE
CARR, MITCHELL                       ADDRESS ON FILE
CARR, SANDRA                         ADDRESS ON FILE
CARR, SHANNON                        ADDRESS ON FILE
CARR, SPENCER                        ADDRESS ON FILE
CARR, THOMAS                         ADDRESS ON FILE
CARR, TIMOTHY                        ADDRESS ON FILE
CARR, VANESSA                        ADDRESS ON FILE
CARR, WALLACE                        ADDRESS ON FILE
CARR, WILLIAM                        ADDRESS ON FILE
CARRALES TRUCKING INC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CARRANO, RUSSELL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 327 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 336 of 2156

Claim Name                          Address Information
CARRANZA TRANSPORT INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CARRANZA TRUCKING                   OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3381 DALLAS TX 75312-3381
CARRANZA, ANDREW                    ADDRESS ON FILE
CARRANZA, CARLOS                    ADDRESS ON FILE
CARRANZA, FLOR                      ADDRESS ON FILE
CARRASCO, ANDREW                    ADDRESS ON FILE
CARRASCO, CHRISTIAN                 ADDRESS ON FILE
CARRASCO, NANCY                     ADDRESS ON FILE
CARRASCO, OSCAR                     ADDRESS ON FILE
CARRASQUILLO, JULIAN                ADDRESS ON FILE
CARRAUD, EDMOND                     ADDRESS ON FILE
CARREIRO, JOHN                      ADDRESS ON FILE
CARRENO, ANTHONY                    ADDRESS ON FILE
CARRENO, ANTHONY P                  ADDRESS ON FILE
CARREON AND SONS EXPRESS            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CARREON TRANSPORTATION              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CARRER TRANSPORT LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CARRERA CARRIERS INC                OR COMMERCE COMMERCIAL CREDIT INC PO BOX 88714 MILWAUKEE WI 53288-8714
CARRERA, ELIESER                    ADDRESS ON FILE
CARRERA, GILBERT                    ADDRESS ON FILE
CARRERA, JEWEL                      ADDRESS ON FILE
CARRERAS EXPRESS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CARRERAS EXPRESS LLC                OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CARRERAS, PEDRO                     ADDRESS ON FILE
CARRERO, JOSE                       ADDRESS ON FILE
CARRETO, REGINA                     ADDRESS ON FILE
CARRI CARSEN LLC                    OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
CARRICK, MICHAEL                    ADDRESS ON FILE
CARRIE A DICKER                     ADDRESS ON FILE
CARRIE A FERDON                     ADDRESS ON FILE
CARRIER                             PRECISE FREIGHT AUDIT, PO BOX 14402 SPRINGFIELD MO 65814
CARRIER ADVANCE DELIVERIES LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CARRIER ASSURE INC                  1007 N ORANGE ST FLOOR 4 222 WILMINGTON DE 19801
CARRIER CORP                        C/O CTSI GLOBAL, 1 SOUTH PRESCOTT ST MEMPHIS TN 38111
CARRIER CORP                        C/O CTSI- GLOBAL; ATTN FINANCE 1 SOUTH PRESCOTT ST MEMPHIS TN 38111
CARRIER CORP                        CTSI GLOBAL, 1 S PRESCOTT ST MEMPHIS TN 38111
CARRIER CORP                        ATTN: CAMERON OHAIR 3215 S 116TH ST STE 133 TUKWILA WA 98168
CARRIER CORP0060097871)             DATA2LOGISTICSLLC, PO BOX 61050 FORT MYERS FL 33906
CARRIER CORPORATION                 ATTN: JAE LANDRUM 10343 SAM HOUSTON SUITE 220 HOUSTON TX 77064
CARRIER CREDIT SERVICES, INC.       5350 W HILLSBORO BLVD, SUITE 107 COCONUT CREEK FL 33073
CARRIER ENTERPRISE                  8050 VISTA RESERVE RD SUITE 2200 ORLANDO FL 32829
CARRIER HAWAII                      ATTN: CHERYL KUROIWA 2060 LAUWILIWILI ST KAPOLEI HI 96707
CARRIER INCORPORATED                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CARRIER MANAGEMENT INC              OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
CARRIER NOMADS INC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CARRIER ONE INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CARRIER ONE LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CARRIER SERVICES                    O. S. & D. INSPECTIONS, PO BOX 11594 CINCINNATI OH 45211
CARRIER SERVICES                    6213 EAGLES LAKE COURT, SUITE 214 CINCINNATI OH 45248



Epiq Corporate Restructuring, LLC                                                               Page 328 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 337 of 2156

Claim Name                         Address Information
CARRIER STAR INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CARRIER WEST                       ATTN: BRIAN VAN DYKE COMPANY BRIAN VAN DYKE 4800 OSAGE STE 100 DENVER CO 80221
CARRIER WEST LOHMILLER             4800 OSAGE DENVER CO 80221
CARRIER, CAMERON                   ADDRESS ON FILE
CARRIER, GREGG                     ADDRESS ON FILE
CARRIER, JERRY                     ADDRESS ON FILE
CARRIER411 SERVICES, INC.          1540 INTERNATIONAL PKWY LAKE MARY FL 32746
CARRIER52 LLC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CARRIERS SOLUTIONS LLC             OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                   76116
CARRIES, KIMBERLY                  ADDRESS ON FILE
CARRIES, TAYLOR                    ADDRESS ON FILE
CARRIGAN, JERAME                   ADDRESS ON FILE
CARRIGAN, JOHN                     ADDRESS ON FILE
CARRIGAN, PAMELA                   ADDRESS ON FILE
CARRIKER, WESLEY                   ADDRESS ON FILE
CARRILLO, AGUSTIN                  ADDRESS ON FILE
CARRILLO, DAVID                    ADDRESS ON FILE
CARRILLO, HORACIO                  ADDRESS ON FILE
CARRILLO, JOE                      ADDRESS ON FILE
CARRILLO, JOSE                     ADDRESS ON FILE
CARRILLO, JOSE                     ADDRESS ON FILE
CARRILLO, KRYSTAL                  ADDRESS ON FILE
CARRILLO, MANUEL                   ADDRESS ON FILE
CARRILLO, OSCAR                    ADDRESS ON FILE
CARRILLO, PABLO                    ADDRESS ON FILE
CARRILLO, RAUL                     ADDRESS ON FILE
CARRILLO, ROBERT                   ADDRESS ON FILE
CARRILLO, ROBERT                   ADDRESS ON FILE
CARRILLO, ROBERTO                  ADDRESS ON FILE
CARRILLO, ROCHELLE DENISE          ADDRESS ON FILE
CARRILLO, SAUL                     ADDRESS ON FILE
CARRILLO, SERINA                   ADDRESS ON FILE
CARRILLO, SUSIE                    ADDRESS ON FILE
CARRILLO-MATA, MENFIL ALFREDO      ADDRESS ON FILE
CARRINGTON, MELISSA                ADDRESS ON FILE
CARRINGTON, MICHAEL                ADDRESS ON FILE
CARRION, ANDREW                    ADDRESS ON FILE
CARRION, EBAN                      ADDRESS ON FILE
CARRION, SAUL                      ADDRESS ON FILE
CARRIZALES TRUCKING                OR TTI TRANSPORTATION, 5410 OATES RD HOUSTON TX 77013
CARRIZO GARAY, EMMANUEL            ADDRESS ON FILE
CARROLL HOME SERVICES, LLC         PO BOX 70282 PHILADELPHIA PA 19176
CARROLL PLUMBING & HEATING, INC.   2108 MAYWILL STREET RICHMOND VA 23230
CARROLL, ANDRE                     ADDRESS ON FILE
CARROLL, BILL                      ADDRESS ON FILE
CARROLL, BILLY                     ADDRESS ON FILE
CARROLL, BRYAN                     ADDRESS ON FILE
CARROLL, DEVIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 329 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 338 of 2156

Claim Name                               Address Information
CARROLL, GRETCHEN                        ADDRESS ON FILE
CARROLL, JAMES                           ADDRESS ON FILE
CARROLL, JAMES                           ADDRESS ON FILE
CARROLL, JAMES                           ADDRESS ON FILE
CARROLL, JEFF                            ADDRESS ON FILE
CARROLL, JOHN                            ADDRESS ON FILE
CARROLL, JON                             ADDRESS ON FILE
CARROLL, JUSTIN                          ADDRESS ON FILE
CARROLL, KIMBERLY                        ADDRESS ON FILE
CARROLL, LANDA                           ADDRESS ON FILE
CARROLL, MARVIN                          ADDRESS ON FILE
CARROLL, MICHAEL                         ADDRESS ON FILE
CARROLL, MONTRY                          ADDRESS ON FILE
CARROLL, NICHOLAS                        ADDRESS ON FILE
CARROLL, PHILIP                          ADDRESS ON FILE
CARROLL, RAYMOND                         ADDRESS ON FILE
CARROLL, STEVEN                          ADDRESS ON FILE
CARROLL, TAMMY                           ADDRESS ON FILE
CARROLL, TENAYSHA                        ADDRESS ON FILE
CARROLL, TIMOTHY                         ADDRESS ON FILE
CARROLL, TIMOTHY                         ADDRESS ON FILE
CARROLL, TONEY                           ADDRESS ON FILE
CARROLL, WENDY                           ADDRESS ON FILE
CARROLL, WILLIAM                         ADDRESS ON FILE
CARROLL, ZADA                            ADDRESS ON FILE
CARROLLTON-FARMERS BRANCH INDEPENDENT    TAX ASSESSOR COLLECTOR 1445 NORTH PERRY RD CARROLLTON TX 75011
SD
CARRON, EUGENE                           ADDRESS ON FILE
CARROUSEL LES EMBALLAGES CARROUSEL INC   1401 RUE AMPERE BOUCHERVILLE QC J4B 5Z5 CANADA
CARRS DELIVERY SERVICE                   355 PINSON DR CORPUS CHRISTI TX 78406
CARRS FREIGHT AGENT, INC.                PO BOX 1148 WELCOME NC 27374
CARRS PLUMBING AND MAINTENANCE LLC       3815 W DOUGLAS AVE WICHITA KS 67213
CARRUTH, JAMES D                         ADDRESS ON FILE
CARRUTHERS, CARLOS                       ADDRESS ON FILE
CARRY ON TRUCKING LLC                    PO BOX 883 MARYSVILLE WA 98270
CARRY ON TRUCKING, INC.                  CARRY ON TRUCKING, INC., PO BOX 765 PULASKI VA 24301
CARS & MORE TRUCKING LLC                 OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415
CARS R US TRANSPORT INC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
CARSON CARRIER CORP                      OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
CARSON FOX LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CARSON FREIGHT LLC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CARSON JR, CORTEZ                        ADDRESS ON FILE
CARSON TRAILERS                          14831 S MAPLE AVE GARDENA CA 90248
CARSON, ANTHONY                          ADDRESS ON FILE
CARSON, DEMETRICE                        ADDRESS ON FILE
CARSON, JASON                            ADDRESS ON FILE
CARSON, JOHN                             ADDRESS ON FILE
CARSON, JOSEPH                           ADDRESS ON FILE
CARSON, MAKAYSIA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 330 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 339 of 2156

Claim Name                           Address Information
CARSON, SANFORD                      ADDRESS ON FILE
CARSON, THOMAS                       ADDRESS ON FILE
CARSON, WILLIAM                      ADDRESS ON FILE
CARSON, WILLIE                       ADDRESS ON FILE
CARSTEN, CODY                        ADDRESS ON FILE
CARSTENSEN, KEVIN                    ADDRESS ON FILE
CART, DUSTEN                         ADDRESS ON FILE
CART, REBECCA                        ADDRESS ON FILE
CART, SCOTT                          ADDRESS ON FILE
CARTAGENA COLON, WILFREDO            ADDRESS ON FILE
CARTAYAS QUALITY INDUSTRIES INC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CARTE, JACK                          ADDRESS ON FILE
CARTEE, WILLIAM                      ADDRESS ON FILE
CARTELLI, LOUIS                      ADDRESS ON FILE
CARTER & SONS TRUCKING LLC           OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
CARTER CAPITAL VENTURES INC          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CARTER DEDMON, DURRELL               ADDRESS ON FILE
CARTER FREIGHT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CARTER INVESTMENT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
CARTER LUMBER COMPANY                1840 HARRISBURG PIKE CARLISLE PA 17015
CARTER TRANSPORT SERVICE LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CARTER TRANSPORTATION SERVICES INC   OR COMMERCIAL FUNDING INC PO BOX 207527 DALLAS TX 75320
CARTER TRUCKING COMPANY INC          221 MEADOW GARDEN LANE MARTINSVILLE VA 24112
CARTER TRUITT DELIVERY LLC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CARTER VALENTINE INVESTMENTS LLC     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CARTER, AMOS                         ADDRESS ON FILE
CARTER, ANNA                         ADDRESS ON FILE
CARTER, AUSTIN                       ADDRESS ON FILE
CARTER, BARRY                        ADDRESS ON FILE
CARTER, BENNIE                       ADDRESS ON FILE
CARTER, BRIAN                        ADDRESS ON FILE
CARTER, BRIAN                        ADDRESS ON FILE
CARTER, BRIANNA                      ADDRESS ON FILE
CARTER, BROOKS                       ADDRESS ON FILE
CARTER, BRUCE                        ADDRESS ON FILE
CARTER, CHARLES                      ADDRESS ON FILE
CARTER, CHRISTINA M                  ADDRESS ON FILE
CARTER, CIONTE                       ADDRESS ON FILE
CARTER, CLEVELAND                    ADDRESS ON FILE
CARTER, CLINT                        ADDRESS ON FILE
CARTER, CORIKA                       ADDRESS ON FILE
CARTER, DANNY                        ADDRESS ON FILE
CARTER, DAVID                        ADDRESS ON FILE
CARTER, DEANTE                       ADDRESS ON FILE
CARTER, DEBORAH                      ADDRESS ON FILE
CARTER, DEMETRICE                    ADDRESS ON FILE
CARTER, DESHON                       ADDRESS ON FILE
CARTER, DONALD                       ADDRESS ON FILE
CARTER, DONALD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 331 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 340 of 2156

Claim Name                      Address Information
CARTER, EMONEY                  ADDRESS ON FILE
CARTER, ERNEST                  ADDRESS ON FILE
CARTER, GARLAND                 ADDRESS ON FILE
CARTER, GARY                    ADDRESS ON FILE
CARTER, GEORGE W                ADDRESS ON FILE
CARTER, HENRY                   ADDRESS ON FILE
CARTER, JAMES                   ADDRESS ON FILE
CARTER, JASON                   ADDRESS ON FILE
CARTER, JEFFERY                 ADDRESS ON FILE
CARTER, JEFFREY                 ADDRESS ON FILE
CARTER, JESSECA                 ADDRESS ON FILE
CARTER, JESSIE                  ADDRESS ON FILE
CARTER, JOHN                    ADDRESS ON FILE
CARTER, JOHN                    ADDRESS ON FILE
CARTER, JOSEPH                  ADDRESS ON FILE
CARTER, JOSEPH                  ADDRESS ON FILE
CARTER, JOSEPH E                ADDRESS ON FILE
CARTER, JOSHUA                  ADDRESS ON FILE
CARTER, KARELL                  ADDRESS ON FILE
CARTER, KEISHA R                ADDRESS ON FILE
CARTER, KEITH                   ADDRESS ON FILE
CARTER, LARRY                   ADDRESS ON FILE
CARTER, LARRY                   ADDRESS ON FILE
CARTER, LEONARD                 ADDRESS ON FILE
CARTER, LEONARD                 ADDRESS ON FILE
CARTER, MADANTE                 ADDRESS ON FILE
CARTER, MARCUS                  ADDRESS ON FILE
CARTER, MARK                    ADDRESS ON FILE
CARTER, MARK                    ADDRESS ON FILE
CARTER, MARK                    ADDRESS ON FILE
CARTER, MARQUETE                ADDRESS ON FILE
CARTER, MELVIN                  ADDRESS ON FILE
CARTER, MICHAEL                 ADDRESS ON FILE
CARTER, MICHAEL                 ADDRESS ON FILE
CARTER, NAJAE                   ADDRESS ON FILE
CARTER, NATHAN                  ADDRESS ON FILE
CARTER, NATHAN                  ADDRESS ON FILE
CARTER, OBIE                    ADDRESS ON FILE
CARTER, ODELL                   ADDRESS ON FILE
CARTER, PAUL                    ADDRESS ON FILE
CARTER, ROBERT                  ADDRESS ON FILE
CARTER, ROBERT                  ADDRESS ON FILE
CARTER, RODNEY                  ADDRESS ON FILE
CARTER, RONNIE                  ADDRESS ON FILE
CARTER, RUBEN                   ADDRESS ON FILE
CARTER, RUBY                    ADDRESS ON FILE
CARTER, SAMUEL                  ADDRESS ON FILE
CARTER, SAMUEL                  ADDRESS ON FILE
CARTER, SHANNON                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 332 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 341 of 2156

Claim Name                              Address Information
CARTER, SKIP                           ADDRESS ON FILE
CARTER, SUSAN                          ADDRESS ON FILE
CARTER, TIMOTHY                        ADDRESS ON FILE
CARTER, TIMOTHY                        ADDRESS ON FILE
CARTER, TIMOTHY                        ADDRESS ON FILE
CARTER, TIYANA                         ADDRESS ON FILE
CARTER, TIYANA                         ADDRESS ON FILE
CARTER, TONIKENDELL                    ADDRESS ON FILE
CARTER, VENITA                         ADDRESS ON FILE
CARTER, VICKIE                         ADDRESS ON FILE
CARTER, VINCENT                        ADDRESS ON FILE
CARTER, VIRJUAN                        ADDRESS ON FILE
CARTER, WILLIE                         ADDRESS ON FILE
CARTER-VAUGHN, WENDY                   ADDRESS ON FILE
CARTERS MY PLUMBER                     886 N. STATE RD 135 SUITE A GREENWOOD IN 46142
CARTERS PLUMBING INC.                  98 PINE STREET GALLIPOLIS OH 45631-1506
CARTERS TOWING SERVICE                 28 DIXIE DR SALEM VA 24153
CARTERS TRUCKING CARRIER LLC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CARTHAN, LARRY                         ADDRESS ON FILE
CARTIER, EDWARD A                      ADDRESS ON FILE
CARTLEDGE, MAURICE                     ADDRESS ON FILE
CARTNAIL, ROBERT                       ADDRESS ON FILE
CARTON, ARTON                          ADDRESS ON FILE
CARTWRIGHT, LUCAS K                    ADDRESS ON FILE
CARTWRIGHT, MARCUS                     ADDRESS ON FILE
CARTY, DOUGLAS                         ADDRESS ON FILE
CARUCCI, PHILLIP                       ADDRESS ON FILE
CARUSO, MICHAEL                        ADDRESS ON FILE
CARUSO, RICHARD                        ADDRESS ON FILE
CARUSO, STEVEN                         ADDRESS ON FILE
CARUTHERS, STEPHEN                     ADDRESS ON FILE
CARVAJAL, ABEL                         ADDRESS ON FILE
CARVAN SUPPLY CHAIN                    ATTN: SAMMY BROWN 100 S STATE ST UNIT 400A CHICAGO IL 60603
CARVER MEMORIAL GARDENS, INC.          1170 WINDY RIDGE RD ATTN CHERYL CARTER MARTINSVILLE VA 24112
CARVER TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
CARVER, JONATHAN                       ADDRESS ON FILE
CARVER, JOSEF                          ADDRESS ON FILE
CARVER, JOSHUA                         ADDRESS ON FILE
CARVER, LORNA                          ADDRESS ON FILE
CARVER, MICHELLE                       ADDRESS ON FILE
CARVER, WILLIAM                        ADDRESS ON FILE
CAS TRUCKING LLC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CASA TRANSPORT LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415-0830
CASA VIEW WRECKER SERVICE              4515 E. HWY. 80 MESQUITE TX 75150
CASAD, MICHAEL                         ADDRESS ON FILE
CASADAY BEE LINE SERVICE & TOWING L L C 1708 W LEWIS ST PASCO WA 99301
CASADAY BEE LINE SERVICE & TOWING L L C 1716 W LEWIS ST PASCO WA 99301
CASADECO FURNITURE                     8001 S ORANGE BLOSSOM TRAIL ORLANDO FL 32809
CASAGNI, ALFRED                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 333 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 342 of 2156

Claim Name                              Address Information
CASANOVA, ALFRED CASANOVA               ADDRESS ON FILE
CASARES TRUCKING                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CASARINO CHRITMAN SHALK RANSON & DOSS   PO BOX 1276 WILMINGTON DE 19899
PA
CASAS, ARTURO                           ADDRESS ON FILE
CASAS, JAVIER                           ADDRESS ON FILE
CASAS, LINDA                            ADDRESS ON FILE
CASAS, MONICA                           ADDRESS ON FILE
CASAS, RAFAELA                          ADDRESS ON FILE
CASCADE ELECTRIC                        PO BOX 2158 ROSEBURG OR 97470
CASCADE FIRE EQUIPMENT CO               PO BOX 4248 MEDFORD OR 97501
CASCADE LOCKS JUSTICE COURT             PO BOX 536 CASCADE LOCKS OR 97014
CASCADE LOGISTICS LLC                   18000 SE VOGEL RD DAMASCUS OR 97089
CASCADE METAL RECYCLING                 2207 NE INDUSTRY DRIVE GRANTS PASS OR 97526
CASCADE NATURAL GAS                     8113 W. GRANDRIDGE BLVD KENNEWICK WA 99933
CASCADE OUTDOOR POWEREQUIPMENT          1215 W AIRWAY RD LEBANON OR 97355
CASCADE QUALITY WATER                   PO BOX 2199 WENATCHEE WA 98807
CASCADE WHEEL WEIGHTS                   ATTN: ANGELA MOBLEY 113 E MAIN ST AUBURN KY 42206
CASCADIA EXPRESS INC.                   OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480
CASCIANO, ANTHONY                       ADDRESS ON FILE
CASCIANO, JULIE                         ADDRESS ON FILE
CASE LAW FIRM S. C. TRUST ACCOUNT       400 N BROADWAY SUITE 402 MILWAUKEE WI 53202
CASE, DARREN                            ADDRESS ON FILE
CASE, NATHAN                            ADDRESS ON FILE
CASE, ROGER L                           ADDRESS ON FILE
CASEBIER, MICHAEL J                     ADDRESS ON FILE
CASEY PAVING LLC                        439 W PLUMB LN RENO NV 89509
CASEY S LANDSCAPE CONTRACTING CO        75 FISHER LN PARKERSBURG WV 26104
CASEY SCHAFFER TRUCKING INC             OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CASEY W SMITH                           ADDRESS ON FILE
CASEY, DUSTIN                           ADDRESS ON FILE
CASEY, GUY                              ADDRESS ON FILE
CASEY, HANK                             ADDRESS ON FILE
CASEY, JON                              ADDRESS ON FILE
CASEY, RONALD                           ADDRESS ON FILE
CASEY, SARA                             ADDRESS ON FILE
CASEY, SIMON O                          ADDRESS ON FILE
CASH, DEJON                             ADDRESS ON FILE
CASH, JOHNNY                            ADDRESS ON FILE
CASH, JOSEPH                            ADDRESS ON FILE
CASH, MICHAEL                           ADDRESS ON FILE
CASH, ROBERT                            ADDRESS ON FILE
CASH, WILLIAM                           ADDRESS ON FILE
CASHEN, HUBERT                          ADDRESS ON FILE
CASHEN, JOHN                            ADDRESS ON FILE
CASHMAN ASSOCIATES, INC                 4798 COUNTY HWY I SPARTA WI 54656
CASHMORE, JOSHUA                        ADDRESS ON FILE
CASHON, TONI                            ADDRESS ON FILE
CASHTON, RICHARD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 334 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 343 of 2156

Claim Name                               Address Information
CASHWELL, JOHNNY                         ADDRESS ON FILE
CASIANO, AARON E                         ADDRESS ON FILE
CASIANOXPRESS LLC                        OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3382 DALLAS TX 75312-3381
CASIERI, LOUIS                           ADDRESS ON FILE
CASIMIR, JOHN                            ADDRESS ON FILE
CASIMIRO, CRISTIAN                       ADDRESS ON FILE
CASIO, RAUL                              ADDRESS ON FILE
CASITAS TRANSPORTS                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CASKEY, JOSHUA                           ADDRESS ON FILE
CASLER, CAROL                            ADDRESS ON FILE
CASLER, MARK                             ADDRESS ON FILE
CASNAVE, DEVIN                           ADDRESS ON FILE
CASNER, JASON                            ADDRESS ON FILE
CASNER, JASON                            ADDRESS ON FILE
CASO, MICHAEL                            ADDRESS ON FILE
CASOLA TRANSPORT SERVICE CORP            OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                         33631-3792
CASOLARO, BRIAN                          ADDRESS ON FILE
CASON GLOBAL LOGISTICS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CASON, PAUL F                            ADDRESS ON FILE
CASPER FIRE EXTINGUISHER SERVICE, INC.   PO BOX 1441 CASPER WY 82602
CASPER TIRE INC                          705 N ELMA ST CASPER WY 82601
CASPER, ASPEN                            ADDRESS ON FILE
CASPIAN TRANSPORT SERVICES INC           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CASRAM LLC                               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CASS COUNTY CIRCUIT COURT                2501 W MECHANIC STREET HARRISONVILLE MO 64701
CASS COUNTY GOVERNMENT                   211 9TH ST S FARGO ND 58103
CASS HUDSON CO                           2300 CHARLOTTE AVE ELKHART IN 46517
CASS INFORMATION SYSTEMS, INC.           2675 CORPORATE EXCHANGE DR COLUMBUS OH 43231
CASS INFORMATION SYSTEMS, INC.           PO BOX 50217 JACKSONVILLE BEACH FL 32240
CASS INFORMATION SYSTEMS, INC.           PO BOX 87465 CAROL STREAM IL 60188
CASS INFORMATION SYSTEMS, INC.           PO BOX 17617 ST LOUIS MO 63178
CASS TRUCKING INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CASS UNIVAR SOLUTIONS                    PO BOX 17600 ST LOUIS MO 63178
CASS UNIVAR SOLUTIONS                    PO BOX 63178 ST LOUIS MO 63178
CASS, KIRBY                              ADDRESS ON FILE
CASS, RYAN                               ADDRESS ON FILE
CASSADA, GARY                            ADDRESS ON FILE
CASSEL, MICHAEL                          ADDRESS ON FILE
CASSELL, CURTIS                          ADDRESS ON FILE
CASSELL, LOY W                           ADDRESS ON FILE
CASSELL, SAM                             ADDRESS ON FILE
CASSELS, LISA                            ADDRESS ON FILE
CASSIDAY, BRIAN                          ADDRESS ON FILE
CASSIDAY, MONIKA                         ADDRESS ON FILE
CASSIDY R CAMPBELL                       ADDRESS ON FILE
CASSIDY, ANN                             ADDRESS ON FILE
CASSIDY, BRIAN                           ADDRESS ON FILE
CASSIDY, JOYCE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 335 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 344 of 2156

Claim Name                           Address Information
CASSIE, OWEN                         ADDRESS ON FILE
CASSIS, JOSEPH                       ADDRESS ON FILE
CASSOTTA, MARK                       ADDRESS ON FILE
CASSWILLI INVESTMENTS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CAST TRANSPORTATION                  9850 HAVANA ST HENDERSON CO 80640
CAST, CHRISTOPHER                    ADDRESS ON FILE
CASTAIC GARAGE                       PO BOX 27 CASTAIC CA 91310
CASTALDO, CHRISTIAN                  ADDRESS ON FILE
CASTALDO, THERESA                    ADDRESS ON FILE
CASTANEDA, BEATRIZ                   ADDRESS ON FILE
CASTANEDA, BRIAN                     ADDRESS ON FILE
CASTANEDA, ELIZABETH                 ADDRESS ON FILE
CASTANEDA, HILARIO                   ADDRESS ON FILE
CASTANEDA, JAIME                     ADDRESS ON FILE
CASTANEDA, JESUS                     ADDRESS ON FILE
CASTANEDA, JOSE                      ADDRESS ON FILE
CASTANEDA, JUAN                      ADDRESS ON FILE
CASTANEDA, LANCE                     ADDRESS ON FILE
CASTANEDA, LANCE                     ADDRESS ON FILE
CASTANEDA, ROGELIO                   ADDRESS ON FILE
CASTANEDA, RYAN                      ADDRESS ON FILE
CASTANEDA, SERGIO                    ADDRESS ON FILE
CASTANEDA, TIM                       ADDRESS ON FILE
CASTANEDAS B TRUCKING                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CASTANON, JESUS                      ADDRESS ON FILE
CASTANON, RAFAEL                     ADDRESS ON FILE
CASTEEL, RAY                         ADDRESS ON FILE
CASTEELE, KRISTY                     ADDRESS ON FILE
CASTELAN, ROBERTO                    ADDRESS ON FILE
CASTELLANO, AARON                    ADDRESS ON FILE
CASTELLANO, NOEL                     ADDRESS ON FILE
CASTELLANOS, DAVID                   ADDRESS ON FILE
CASTELLANOS, HENRY                   ADDRESS ON FILE
CASTELLANOS, MIGUEL                  ADDRESS ON FILE
CASTELLANOS, ROSA                    ADDRESS ON FILE
CASTELLI, JAMES                      ADDRESS ON FILE
CASTELLON, EDWIN                     ADDRESS ON FILE
CASTER LOGISTICS LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CASTER, KIM                          ADDRESS ON FILE
CASTERLAND INC                       875 CENTURY ST WINNIPEG MB R3H0M3 CANADA
CASTERS OF JACKSON, INC.             315 HIGHWAY 80 W JACKSON MS 39201
CASTIEL H&F LLC                      68 SOUTH DEVINE STREET NEWARK NJ 07106
CASTIGLIONE, SCOTT                   ADDRESS ON FILE
CASTILLEJA, JOHNNY                   ADDRESS ON FILE
CASTILLO - CONDE, LIVIO              ADDRESS ON FILE
CASTILLO CG LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CASTILLO PEDRAZA, CELESTINA          ADDRESS ON FILE
CASTILLO PEDRAZA, CELESTINA          ADDRESS ON FILE
CASTILLO TRANS-PRO LLC               OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101



Epiq Corporate Restructuring, LLC                                                                Page 336 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 345 of 2156

Claim Name                           Address Information
CASTILLO TRANSPORT ENTERPRISE        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CASTILLO, ALVARO JAVIER              ADDRESS ON FILE
CASTILLO, ANDREW                     ADDRESS ON FILE
CASTILLO, ANTHONY                    ADDRESS ON FILE
CASTILLO, ANTHONY                    ADDRESS ON FILE
CASTILLO, ARMANDO                    ADDRESS ON FILE
CASTILLO, CESAR                      ADDRESS ON FILE
CASTILLO, DAVID                      ADDRESS ON FILE
CASTILLO, DAVID                      ADDRESS ON FILE
CASTILLO, DON                        ADDRESS ON FILE
CASTILLO, ESTEBAN M                  ADDRESS ON FILE
CASTILLO, FERNANDO                   ADDRESS ON FILE
CASTILLO, GEORGE                     ADDRESS ON FILE
CASTILLO, GUILLERMO A                ADDRESS ON FILE
CASTILLO, JACINTO                    ADDRESS ON FILE
CASTILLO, JAVIER                     ADDRESS ON FILE
CASTILLO, JEFFREY                    ADDRESS ON FILE
CASTILLO, JESSE                      ADDRESS ON FILE
CASTILLO, JOHN                       ADDRESS ON FILE
CASTILLO, JOHN                       ADDRESS ON FILE
CASTILLO, JONATHAN                   ADDRESS ON FILE
CASTILLO, JORDAN                     ADDRESS ON FILE
CASTILLO, JUAN                       ADDRESS ON FILE
CASTILLO, LAWRENCE                   ADDRESS ON FILE
CASTILLO, LORENZO                    ADDRESS ON FILE
CASTILLO, MAGDALENO                  ADDRESS ON FILE
CASTILLO, MICHAEL                    ADDRESS ON FILE
CASTILLO, NANCY                      ADDRESS ON FILE
CASTILLO, RAYMUNDO                   ADDRESS ON FILE
CASTILLO, RICHARD                    ADDRESS ON FILE
CASTILLO, ROXANNE                    ADDRESS ON FILE
CASTILLO, SAMUEL                     ADDRESS ON FILE
CASTILLO, SAMUEL                     ADDRESS ON FILE
CASTILLO, TONY                       ADDRESS ON FILE
CASTILLO, ULISES                     ADDRESS ON FILE
CASTILLO, VERONICA                   ADDRESS ON FILE
CASTILLON, NICHOLAS                  ADDRESS ON FILE
CASTILLOS TRUCKING                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CASTILLOS TRUCKING                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CASTILLOVEITIA, ALBERTO              ADDRESS ON FILE
CASTLE BRANDS LANDSTAR GLOBA         ATTN: LEESA AGENT 13410 SUTTON PARK DR S JACKSONVILLE FL 32224
CASTLE BROTHERS TRANSPORT INC        4350 PEACHTREE INDUSTRIAL BLVD STE 500 PEACHTREE CORNERS GA 30071-1662
CASTLE LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CASTLE POWDER COATING                2701 RUDY RD. ATTN MIKE TOUNZEN VAN BUREN AR 72956
CASTLE, EDGAR                        ADDRESS ON FILE
CASTLE, FREDERICK                    ADDRESS ON FILE
CASTLE, RICHARD                      ADDRESS ON FILE
CASTO, RYAN                          ADDRESS ON FILE
CASTON JR, CHARLIE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 337 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 346 of 2156

Claim Name                           Address Information
CASTON, ARLEE                        ADDRESS ON FILE
CASTON, KENNETH                      ADDRESS ON FILE
CASTOR TRANSPORT LLC                 CASTOR TRANSPORT LLC 6794 CALLE DE LINEA SUITE 106 SAN DIEGO CA 92154
CASTOR, BRYAN                        ADDRESS ON FILE
CASTOR, POLLY                        ADDRESS ON FILE
CASTORENA, MARTIN                    ADDRESS ON FILE
CASTRILLON, RICHARD                  ADDRESS ON FILE
CASTRO ACUNA, RAFAEL                 ADDRESS ON FILE
CASTRO COREA, JONATHAN               ADDRESS ON FILE
CASTRO JR., SEAN                     ADDRESS ON FILE
CASTRO TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CASTRO, ALEXANDER                    ADDRESS ON FILE
CASTRO, ANTHONY                      ADDRESS ON FILE
CASTRO, ARMANDO                      ADDRESS ON FILE
CASTRO, AUDOR                        ADDRESS ON FILE
CASTRO, CHRISTIAN                    ADDRESS ON FILE
CASTRO, CINTYA                       ADDRESS ON FILE
CASTRO, CRISTIAN D                   ADDRESS ON FILE
CASTRO, GERARDO                      ADDRESS ON FILE
CASTRO, GILBERTO                     ADDRESS ON FILE
CASTRO, JESSE                        ADDRESS ON FILE
CASTRO, JULIO                        ADDRESS ON FILE
CASTRO, LEANA                        ADDRESS ON FILE
CASTRO, LEANA                        ADDRESS ON FILE
CASTRO, MANUEL                       ADDRESS ON FILE
CASTRO, MIGUEL                       ADDRESS ON FILE
CASTRO, NATHAN                       ADDRESS ON FILE
CASTRO, NOEL                         ADDRESS ON FILE
CASTRO, RAUL                         ADDRESS ON FILE
CASTRO, RAUL                         ADDRESS ON FILE
CASTRO, RICHARD                      ADDRESS ON FILE
CASTRO, RUBEN                        ADDRESS ON FILE
CASTRO, SEAN                         ADDRESS ON FILE
CASTRO, SIMONE                       ADDRESS ON FILE
CASTRO, WILLIAM                      ADDRESS ON FILE
CASTRO-ANDUJAR, ABNER                ADDRESS ON FILE
CASTTRANSPORT LLC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
CASUALINE                            1065 E STORY RD WINTER GARDEN FL 34787
CASUMBAL, MAY                        ADDRESS ON FILE
CASWELL, RICKY                       ADDRESS ON FILE
CASWELL, RONALD                      ADDRESS ON FILE
CAT 5 HAULING AND REPAIR LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CAT AND SONS TRANSPORTATION LLC      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CATALAN, ARIEL                       ADDRESS ON FILE
CATALAN, SAUL                        ADDRESS ON FILE
CATALANELLO, JOHN                    ADDRESS ON FILE
CATALANO, JACK                       ADDRESS ON FILE
CATALINO GUTTER SYSTEMS              1222 SCENIC CIRCLE WEST WEBSTER NY 14580
CATANO, JOHAN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 338 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 347 of 2156

Claim Name                           Address Information
CATANZARITE, CORY                    ADDRESS ON FILE
CATANZARO, FRANK                     ADDRESS ON FILE
CATAPANG, RICHELLE                   ADDRESS ON FILE
CATAPULT LOGISTICS LLC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CATASHOV INC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
CATCH INTELLIGENCE                   ATTN: MARIAN RESPELIERS 602 NORTH 129TH STREET OMAHA NE 68154
CATCHINGS TRANSPORTATION, L.L.C.     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CATCHINGS, JERRY                     ADDRESS ON FILE
CATE INDUSTRIAL SOLUTIONS            PO BOX 27915 SALT LAKE CITY UT 84127
CATE, RYAN                           ADDRESS ON FILE
CATELLIER, BRIAN                     ADDRESS ON FILE
CATER, BRUDUS                        ADDRESS ON FILE
CATERON, JON                         ADDRESS ON FILE
CATERPILLAR INC                      500 NORTH MORTON AVENUE MORTON IL 61550
CATERPILLAR INC                      ATTN: FELICIA HOLLOWAY 500 N MORTON AVE MORTON IL 61550
CATHCART, ROBERT                     ADDRESS ON FILE
CATHCART, TISHA                      ADDRESS ON FILE
CATHERINE HOLZAPFEL                  ADDRESS ON FILE
CATHERINE ISAAK                      ADDRESS ON FILE
CATHERINE P KIMBROUGH                ADDRESS ON FILE
CATHERMAN, TUCKER                    ADDRESS ON FILE
CATHEY, DARON                        ADDRESS ON FILE
CATHEY, RENEE                        ADDRESS ON FILE
CATHEY, SHARON                       ADDRESS ON FILE
CATHRYN PHILLIPS                     ADDRESS ON FILE
CATHY J ANDERSON                     ADDRESS ON FILE
CATICHA, GERMAN                      ADDRESS ON FILE
CATICHA, SEBASTIAN                   ADDRESS ON FILE
CATKO DISTRIBUTORS, INC.             2301 W SAVANNAH AVE VALDOSTA GA 31601
CATKO DISTRIBUTORS, INC.             PO BOX 1449 VALDOSTA GA 31603
CATLETT, CHUCK                       ADDRESS ON FILE
CATLETT, RICHARD                     ADDRESS ON FILE
CATLETT, SHANNON                     ADDRESS ON FILE
CATLIN, CARLOS                       ADDRESS ON FILE
CATLIN, JAMES                        ADDRESS ON FILE
CATO, ELIJAH                         ADDRESS ON FILE
CATO, JOE                            ADDRESS ON FILE
CATO, WILLIAM                        ADDRESS ON FILE
CATON, DAVID                         ADDRESS ON FILE
CATON, JOSEPH                        ADDRESS ON FILE
CATONSVILLE PLUMBING HEATING         5672 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
CATOOSA COUNTY TAX COMMISSIONER      93 ROBIN RD RINGGOLD GA 30736
CATOOSA COUNTY TAX COMMISSIONER      796 LAFAYETTE ST RINGGOLD GA 30736
CATOOSA UTILITY DISTRICT AUTH        1058 OLD MILL RD. RINGGOLD GA 30736
CATPRO, LLC                          C/O: NOBLE LAW OFFICE ATTN: MEGHAN C SCOTT & DAVID G L ROGERS 1405 W. 16TH
                                     ST., STE A YUMA AZ 85364
CATPRO, LLC                          ATTN: GENERAL COUNSEL 1891 S RAIL AVE YUMA AZ 85365
CATRON, JOHNATHON                    ADDRESS ON FILE
CATRON, SUSANNA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 339 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 348 of 2156

Claim Name                           Address Information
CATT, JASON                          ADDRESS ON FILE
CAUCAS EXPRESS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CAUDILL, ANNA                        ADDRESS ON FILE
CAUDILL, CORY                        ADDRESS ON FILE
CAUDILL, RYAN                        ADDRESS ON FILE
CAUDILLO, ANITA                      ADDRESS ON FILE
CAUDILLS DIESEL SERVICE              2060 S GREEN ST HENDERSON KY 42420
CAUDLE, GARRY W                      ADDRESS ON FILE
CAUDLE, GREGORY                      ADDRESS ON FILE
CAUDLE, MICHAEL                      ADDRESS ON FILE
CAUDLE, TRAVIS                       ADDRESS ON FILE
CAULDER, MELODY                      ADDRESS ON FILE
CAULFIELD, THOMAS                    ADDRESS ON FILE
CAUSBY, ROBERT                       ADDRESS ON FILE
CAUSEY, KIMBERLEY                    ADDRESS ON FILE
CAUSEY, SEAN                         ADDRESS ON FILE
CAUSLEY TRUCKING, INC.               4100 WEST FORT ST DETROIT MI 48209
CAUTHEN, COURTNEY                    ADDRESS ON FILE
CAUTHEN, TERRY                       ADDRESS ON FILE
CAUTHON, KEVIN                       ADDRESS ON FILE
CAUTHRON, MONTY                      ADDRESS ON FILE
CAUTHRON, MONTY                      ADDRESS ON FILE
CAV TRUCKING                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CAVA, REGINA                         ADDRESS ON FILE
CAVALIER COURIER LOGISTICS           PO BOX 812 MIDLAND TX 79702
CAVALIERI, CHRISTOPHER S             ADDRESS ON FILE
CAVALLI TRUCKING INC                 OR J D FACTORS, LLC, PO BOX 3428 PALO VERDES CA 90274
CAVALLO, VINCENT                     ADDRESS ON FILE
CAVALRY TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CAVANAUGH, KEVIN                     ADDRESS ON FILE
CAVANAUGH, ZACHARY                   ADDRESS ON FILE
CAVASOS, EMILIANO                    ADDRESS ON FILE
CAVAZOS, ADRIAN                      ADDRESS ON FILE
CAVAZOS, MIGUEL                      ADDRESS ON FILE
CAVAZOS, MOISES                      ADDRESS ON FILE
CAVAZOS, SILVERIO                    ADDRESS ON FILE
CAVE, GERALD                         ADDRESS ON FILE
CAVE, KAVA                           ADDRESS ON FILE
CAVE, TARA                           ADDRESS ON FILE
CAVEMAN UNION AND TOWING INC         2100 N.W. VINE ST GRANTS PASS OR 97526
CAVEMAN UNION AND TOWING INC         2100 N.W. VINE ST./ 104 N.W. MORGAN LANE GRANTS PASS OR 97526
CAVENDER                             5802 STEMMONS DR SAN ANTONIO TX 78238
CAVENDER, LORELEI                    ADDRESS ON FILE
CAVER, DONAVAN                       ADDRESS ON FILE
CAVERN TECHNOLOGIES                  CONTINUITY OF OPERATIONS PLANNING LLC PO BOX 875127 KANSAS CITY MO 64121
CAVERN TECHNOLOGIES                  17501 W 98TH STREET 18-33 LENEXA KS 66219
CAVI TRANSPORTATION LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CAVILOSO EXPRESS LLC                 OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
CAVIN WRECKER SERVICE                PO BOX 2057 WEATHERFORD OK 73096



Epiq Corporate Restructuring, LLC                                                                Page 340 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 349 of 2156

Claim Name                              Address Information
CAVIN, MARY L                           ADDRESS ON FILE
CAVIN, RODNEY                           ADDRESS ON FILE
CAVITT, DWAYNE                          ADDRESS ON FILE
CAWLEY, AMY                             ADDRESS ON FILE
CAWLEY, RODNEY                          ADDRESS ON FILE
CAWOOD, JACK                            ADDRESS ON FILE
CAWTHRA, MICHAEL                        ADDRESS ON FILE
CAYCE COMPANY INC                       PO BOX 3639 FLORENCE SC 29502
CAYENNE EXPRESS INC.                    410 TRANSPOINT DR. DUPO IL 62239
CAYMAN D WILCOX                         ADDRESS ON FILE
CAYMAN EXPRESS LLC                      2510 E 85TH ST KANSAS CITY MO 64132
CAYWOOD-MCCRACKEN, MIKAYLA              ADDRESS ON FILE
CAZARES BOYS TRANSPORT LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CAZARES GARCIA, MARTIN                  ADDRESS ON FILE
CAZARES, EDUARDO                        ADDRESS ON FILE
CAZAREZ GOMEZ, ROSARIO                  ADDRESS ON FILE
CAZESSUS, JAIME                         ADDRESS ON FILE
CAZH LLC                                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
CAZUN, SARAH                            ADDRESS ON FILE
CB FREIGHT INC                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CB LOGISTICS INC                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CB TRANSPORT                            4407 ALAMANCE BAYTOWN TX 77521
CB WORLDWIDE LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CB3 TRUCKING LLC                        OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
CBA TRUCKS LLC                          6435 BAY CLUB DR 2 FORT LAUDERDALE FL 33308
CBCN TRANSPORT, INC.                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
CBK CONSTRUCTION COMPANY                315 E NORTH STREET KALAMAZOO MI 49007
CBK CONSTRUCTION COMPANY                593 HERITAGE COURT, SUITE 100 HOLLAND MI 49423
CBK LOGISTICS LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CBO COVENANT MEDICAL MANAGEMENT         PO BOX 59065 KNOXVILLE TN 37950
CBRE INC                                ATTN: BOA LOCKBOX SVCS, PO BOX 281620 ATLANTA GA 30384
CBRE INC                                PO BOX 848844 LOS ANGELES CA 90084
CBS LLC PORTABLE RESTROOMS AND SEPTIC   P.O. BOX 3316 LA GRANDE OR 97850
CBS PARTS-SURREY                        9505 189TH STREET SURREY BC V4N 5L8 CANADA
CBS SERVICES LLC                        P.O. BOX 3316 LA GRANDE OR 97850
CBT                                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CBT TRUCKING LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CBUS FREIGHT INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CBX GLOBAL                              PO BOX 35668 GREENSBORO NC 27425
CBX GLOBAL                              PO BOX 604106 CHARLOTTE NC 28260
CC & BS                                 PO BOX 310402 FONTANA CA 92331
CC EXPRESS TRUCKING                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CC FIRE EQUIPMENT CO. INC.              4377 FARIES PARKWAY DECATUR IL 62526
CC INTERNATIONAL TRUCKING INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CC LANE LLC                             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CC SPIKE COPLEY GARAGE INC              1009 CENTRAL AVE CHARLESTON WV 25302
CC TEAM TRUCKING LLC                    OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
CC TIGER TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CC TRANSPORTATION SERVICES INC          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                    Page 341 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 350 of 2156

Claim Name                             Address Information
CC TRUCKLINE LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CC&A TRANSPORT                         456 MALLARD LOOP DR CLAYTON NC 27527
CC&L TERMINAL SERVICES, INC            387 MAGNOLIA AVE. STE. 103 513 CORONA CA 92879
CCA INDUSTRIES                         ATTN: SARAH NEWSOME GEODIS PO BOX 2208 BRENTWOOD TN 37024
CCA TRUCK DRIVER TRAINING LTD.         6262-6A STREET S.E. CALGARY AB T2H 2B7 CANADA
CCAMPOS TRUCKING, LLC.                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CCAR WRECKER SERVICE                   29783 POTTAWATOMIE RD MACOMB OK 74852
CCC ENVIRONMENTAL SERVICES LLC         62 WESCROFT ROAD READING MA 01867
CCCD                                   121 S MCDONOUGH STREET JONESBORO GA 30236
CCDIESEL LLC                           32 PYLES LANE NEW CASTLE DE 19720
CCDIESEL LLC                           401 SOUTH DUPONT RD WILMINGTON DE 19804
CCDIESEL LLC                           PO BOX 3022 WILMINGTON DE 19804
CCG                                    807 EDWARDS BROTHERS DR. LILLINGTON NC 28546
CCG TRUCKING LLC                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
CCH TRANSPORT SOLUTIONS CORP           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CCI FAA ONTARIO RACK FABRICATION FA    ATTN: CESAR VILLELA 1130 S ARCHIBALD AVE ONTARIO CA 91761
CCL TRANSGROUP INC                     385 S LEMON AVE E 269, 0 WALNUT CA 91789
CCLINTON CCARRIER                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CCM TRANSPORT LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CCM TRANSPORT LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
CCP INDUSTRIES                         PO BOX 73627 CLEVELAND OH 44193
CCP INDUSTRIES                         PO BOX 734569 CHICAGO IL 60673
CCQ TRUCKING LLC                       31552 280TH ST COON RAPIDS 50058
CCR FLEET SERVICES, LLC                2727 ALTA ROAD WEST MANSFIELD OH 44903
CCR TRANSPORTATION INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CCS COMMERCIAL LLC                     SUBROGATION FINANCE DEPT PO BOX 886 NORWOOD MA 02062
CCS COURIER LLC                        P.O. BOX 42221 INDIANAPOLIS IN 46241
CCS TRANSPORTATION, INC.               P. O. BOX 804 DUENWEG MO 64841
CCS TRANSPORTATION, INC. (CONWAY AR)   PO BOX 640 CONWAY AR 72033-0640
CCS TRUCKING                           PO BOX 09061 CHICAGO IL 60609
CD CARGO TRANSPORT INC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CD EQUIPMENT                           10904 BALTIMORE NATIONAL PIKE MYERSVILLE MD 21773
CD LOGISTICS INC                       OR TRANS FG, PO BOX 509141 DEPT 909 SAN DIEGO CA 92150
CD TRANSZONE INC                       7297 LANCASTER AVE MISSISSAUGA ON L4T 2L5 CANADA
CDANSWER LLC.                          98 WINCHESTER MONROE MI 48161
CDATA SOFTWARE INC                     101 EUROPA DRIVE, SUITE 110 CHAPEL HILL NC 27517
CDB LOGISTICS                          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CDB TRANSPORTATION LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CDK TRANSPORT LOGISTICS LLC            OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                       UT 84130
CDL EXPRESS INC                        OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CDL&E FREIGHT LLC                      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                       76116
CDM CARTAGE & DRAYAGE                  66 HILLBROOK DR WINNIPEG MB R2R 1J1 CANADA
CDM SMITH INC                          15050 COLLECTIONS CTR DR CHICAGO IL 60693
CDM TRANSPORT LLC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674
CDM TRUCKING                           OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
CDN HUNT TRANSPORTATION LLC            OR CHUGH CAPITAL LLC, P O BOX 4437 WARREN NJ 07059
CDN LOGISTICS, INC.                    970 N OAKLAWN AVE, SUITE 310 ELMHURST IL 60126



Epiq Corporate Restructuring, LLC                                                                  Page 342 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 351 of 2156

Claim Name                           Address Information
CDND LOGISTICS INC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CDOT                                 2829 W HOWARD PLACE DENVER CO 80204
CDS                                  18726 S WESTERN AVE 300 GARDENA CA 90248
CDS                                  13639 CIMARRON AVE GARDENA CA 90249
CDS CLEAR & DEPOSITORY (5099)        ATT LORETTA VERELLI/PROXY MGR 600 BOUL. DE MAISONNEUVE OUEST BUREAU 210
                                     MONTREAL QC H3A 3J2 CANADA
CDS TRANSPORT AGENT GROUP INC        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CDS TRANSPORTATION                   1 PASSAN DRIVE WILKES-BARRE PA 18702
CDW DIRECT                           PO BOX 75723 CHICAGO IL 60675
CDW DIRECT                           PO BOX 75723 CHICAGO IL 60675-5723
CDY EXPRESS LLC                      2217 MADISON CT CALEXICO CA 92231
CE EXPRESS LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CEASAR M MCGHEE                      ADDRESS ON FILE
CEASER TRUCKING SERVICES LLC         OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
CEASOR RELIABLE TRANSPORT LLC        OR SUNBELT FINANCE, (MC1128979) PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CEBADA, LUIS                         ADDRESS ON FILE
CEBALLOS, DEBRA                      ADDRESS ON FILE
CEBRERO, RAUL                        ADDRESS ON FILE
CECH, ANTHONY                        ADDRESS ON FILE
CECIL DAVIES                         ADDRESS ON FILE
CECIL, JON                           ADDRESS ON FILE
CECIL, PATRICK                       ADDRESS ON FILE
CECILIA CORONA                       ADDRESS ON FILE
CECILIA M JONES                      ADDRESS ON FILE
CECILIA VASQUEZ, US CUSTOMS BROKER   11905 HAYTER LAREDO TX 78045
(CHB)
CED                                  1804 MONAD RD BILLINGS MT 59102
CED                                  2405 W 5TH AVE DENVER CO 80204
CED                                  1843 2ND AVE GREELEY CO 80631
CED                                  38 QUAIL RUN RD BOZEMAN MT 59718
CED                                  1112 W HEMINGWAY BLVD NAMPA ID 83651
CED                                  11589 W EXECUTIVE DR BOISE ID 83713
CED                                  636 N 600 W LOGAN UT 84321
CED                                  3000 WALNUT AVE LONG BEACH CA 90807
CED                                  560 N MAIN ST ORANGE CA 92868
CED                                  1001 BING ST SAN CARLOS CA 94070
CED                                  1340 GALAXY WAY CONCORD CA 94520
CED                                  255 COMMERCIAL ST SAN JOSE CA 95112
CED                                  901 CENTER ST TACOMA WA 98409
CED                                  1145 3RD AVE LONGVIEW WA 98632
CED                                  ATTN: JENNIFER QUALLEY 21 W WASHINGTON AVE YAKIMA WA 98903
CED CONTRACTORS                      1103 MONTAGUE EXPY MILPITAS CA 95035
CED DENVER                           ATTN: NANCY ROMERO 2405 W 5TH AVE DENVER CO 80204
CED ELECTRICAL WHOLESALERS           1955 BRIDGE LN STEAMBOAT SPRINGS CO 80487
CED GREENTECH                        ADDRESS ON FILE
CED GREENTECH                        ADDRESS ON FILE
CED GREENTECH CHICO                  ATTN: LIBORLO MEDINA 1210 W 7TH ST CHICO CA 95928
CED INC                              PO BOX 10946 EUGENE OR 97440
CED INTERSTATE ELECTRIC              2757 COLUMBIA DR PORTAGE WI 53901



Epiq Corporate Restructuring, LLC                                                                 Page 343 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 352 of 2156

Claim Name                             Address Information
CED LAYTON                             606 N MARSHALL WAY 2 LAYTON UT 84041
CED SAN DIEGO ATTN: M. GARONE          5525 RUFFIN RD SAN DIEGO CA 92123
CED STOCKTON                           ADDRESS ON FILE
CED VISALIA                            711 E MURRAY ST VISALIA CA 93292
CED0060079527)                         1819 S 900 W SALT LAKE CITY UT 84104
CEDAR BLUFF & CHESTNUT STREET TOWING   CEDAR BLUFF TOWING INC, PO BOX 31018 KNOXVILLE TN 37930
LLC
CEDAR BLUFF TOWING                     CEDAR BLUFF TOWING INC, PO BOX 31018 KNOXVILLE TN 37930
CEDAR BLUFF TOWING                     CHESTNUT STREET TRANSPORT & RECOVERY, PO BOX 30198 KNOXVILLE TN 37930
CEDAR CITY CORPORATION                 10 NORTH MAIN ST CEDAR CITY UT 84720
CEDAR RAPIDS SHEET METAL               406 9TH AVE SE CEDAR RAPIDS IA 52401
CEDAR RIVER TRANSPORT LLC              OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
CEDAR RIVER TRANSPORT LLC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CEDAR VALLEY TRANSPORT INC             OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
CEDAR VALLEY TRANSPORT INC             OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CEDARS SINAI MEDICALCENTER             8900 BEVERLY BLVD. FL. 2 WEST HOLLYWOOD CA 90048
CEDE & CO                              570 WASHINGTON BLVD JERSEY CITY NJ 07310
CEDENO, ALEXANDER                      ADDRESS ON FILE
CEDILLO, ALEXIS                        ADDRESS ON FILE
CEDILLO, ROLANDO                       ADDRESS ON FILE
CEDILLO-BOBADILLA, GAUDENCIO           ADDRESS ON FILE
CEDRICK V BLACK                        ADDRESS ON FILE
CEDRICS TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CEE & TEE ENTERPRISES LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CEE JAY RESEARCH & SALES LLC           920 W 10TH ST AZUSA CA 91702
CEEZ TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CEF INDUSTRIES                         320 S. CHURCH ST. ADDISON IL 60101
CEGONKO, ROBERT J                      ADDRESS ON FILE
CEJA, ESTEBAN                          ADDRESS ON FILE
CEJA, JOSEPH                           ADDRESS ON FILE
CEKALA, ADAM                           ADDRESS ON FILE
CELADO TRANSPORTATION INC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CELADON LOGISTICS SERVICES, INC.       C/O TA SERVICES, PO BOX 2127 BIRMINGHAM AL 35201
CELADON LOGISTICS SERVICES, INC.       774692, 4692 SOLUTIONS CENTER CHICAGO IL 60677
CELEBRATIONS                           2910 GLANZMAN RD STE A TOLEDO OH 43614
CELER LOGISTICS INC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CELESTE L CHRISTIAN                    ADDRESS ON FILE
CELESTIN, HUGUENS                      ADDRESS ON FILE
CELESTIN, MERLISHA                     ADDRESS ON FILE
CELESTINO TRUCKING                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CELF KORE TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CELI LOGISTICS LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CELIA, MARIE                           ADDRESS ON FILE
CELIENYS GENERAL SERVICES INC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CELII, ANTHONY                         ADDRESS ON FILE
CELINA ENTERPRISES                     5481 STATE ROUTE 29 CELINA OH 45822
CELIS, ANDREW                          ADDRESS ON FILE
CELLA, PATRICK                         ADDRESS ON FILE
CELLINO & BARNES P.C.                  350 MAIN STREET 2500 MAIN PLACE TOWER BUFFALO NY 14202



Epiq Corporate Restructuring, LLC                                                                   Page 344 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 353 of 2156

Claim Name                               Address Information
CELLITTI, CATHERINE                      ADDRESS ON FILE
CELMER, SUSAN                            ADDRESS ON FILE
CELO RESOURCES LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CEM & ASSOCIATES, INC.                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CEN CAL EXPRESS INC                      3226 CATHEDRAL CIR STOCKTON CA 95212
CENCAL TRANSPORT LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
CENOVUS / HUSKY OIL                      C/O COZEN OCONNOR LLP ATTN: CHARLES-KHALIL BATROUNY BAY ADELAIDE CENTRE - W
                                         TOWER TORONTO ON M5H 2R2 CANADA
CENOVUS / HUSKY OIL                      1510 S SERVICE RD. W SWIFT CURRENT SK S9H 3T1 CANADA
CENSABELLA, MICHAEL                      ADDRESS ON FILE
CENTAURO CARRIERS LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CENTENNIAL LANDSCAPE LLC                 41280 DUBLIN DR PARKER CO 80138
CENTENNIAL RADIATOR INC.                 447 W MOCKINGBIRD LANE DALLAS TX 75247
CENTENNIAL WAREHOUSING                   10400 HICKMAN ROAD DES MOINES IA 50325
CENTENO, ANTHONY                         ADDRESS ON FILE
CENTENO, CARLOS                          ADDRESS ON FILE
CENTER FOR WORKPLACE COMPLIANCE          1501 M STREET SUITE 1000 WASHINGTON DC 20005
CENTER OF INDUSTRIAL REHABILITATION      D/B/A: THE CTR OF INDUSTRIAL REHAB. SVC. 2120 E HWY BUS 83 STE A MISSION TX
SVCS                                     78572
CENTER POINT FIRE DISTRICT               PO BOX 9651 CENTER POINT AL 35220
CENTER POINT PROPERTIES                  1808 SWIFT DRIVE OAK BROOK IL 60523
CENTER TOWING & RECOVERY                 15 RESEARCH DR MILFORD CT 06460
CENTER TOWING & TRUCK REPAIR             PO BOX 269 MILFORD CT 06460
CENTERPIECE TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CENTERPOINT CARRIER INC                  910 PLEASANT GROVE BLVD 120 ROSEVILLE CA 95678
CENTERPOINT ENERGY                       1111 LOUISIANA ST. HOUSTON TX 77002
CENTERPOINT ENERGY                       PO BOX 1700 HOUSTON TX 77251-1700
CENTERPRIME SOLUTIONS INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CENTIMARK CORPORATION                    PO BOX 536254 PITTSBURGH PA 15253
CENTIMARK LTD                            PO BOX 1918 STATION A TORONTO ON M5W 1W9 CANADA
CENTO LOGISTICS INC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CENTRA FOODS                             8629 S 208TH ST BLDG O KENT WA 98031
CENTRAL APPRAISAL DIST OF TAYLOR COUNTY C/O MCCREARY VESELKA BRAGG & ALLEN PC ATTN JULIE ANNE PARSONS PO BOX 1269
                                        ROUND ROCK TX 78680-1269
CENTRAL APPRAISAL DIST OF TAYLOR COUNTY 1534 S TREADAWAY P O BOX 1800 ABILENE TX 79604
CENTRAL ASPHALT PAVING INC.              540 NE 46TH PLACE DES MOINES IA 50313
CENTRAL CAL TRUCKING INC                 2411 BRAZIL AVE BAKERSFIELD CA 93313
CENTRAL CALIFORNIA CARTAGE COMPANY INC   PO BOX 364, PO BOX 364 GOSEHEN CA 93227
CENTRAL CAROLINA FORKLIFT LLC            156 CARL FOUSHEE ROAD MONCURE NC 27559
CENTRAL CAROLINA FORKLIFT LLC            909 RIVER RIDGE RD ZEBULON NC 27597
CENTRAL CITY MOBILE SERVICE INC          4400 S 72ND E AVE TULSA OK 74145
CENTRAL COMMUNICATIONS CREDIT UNION      5090 NORTH OAK TRAFFICWAY KANSAS CITY MO 64118
CENTRAL COUNTY FIRE& RESCUE              ATTN: CHIEF BRYAN STEINMEYER 1220 CAVE SPRINGS BLVD SAINT PETERS MO 63376-6517
CENTRAL DISTRICT ALARM, INC              6450 CLAYTON AVE ST. LOUIS MO 63139
CENTRAL DISTRICT ALARM, INC              PO BOX 5147 SAINT LOUIS MO 63139
CENTRAL ELECTRIC                         190 N 100 W, PO BOX 815 RICHFIELD UT 84701
CENTRAL EXPEDITE LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CENTRAL EXPEDITED INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CENTRAL FARM SERVICE                     PO BOX 68 TRUMAN MN 56088
CENTRAL FIRE PROTECTION, LLC             207 MUENSTER ROAD SAINT MARYS PA 15857


Epiq Corporate Restructuring, LLC                                                                    Page 345 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 354 of 2156

Claim Name                               Address Information
CENTRAL FIVE INC                         OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CENTRAL FLORIDA SCAPES LLC               34415 S HAINES CREEK RD LEESBURG FL 34788
CENTRAL GARDEN & PET                     1280 ATLANTA HIGHWAY MADISON GA 30650
CENTRAL GARDEN & PET                     PO BOX 290 MADISON GA 30650
CENTRAL HEATING & AIR CONDITIONING INC   1428 1/2 GRAND AVE BILLINGS MT 59101
CENTRAL HUDSON GAS & ELEC CORP           610 LITTLE BRITAIN RD. NEW WINDSOR NY 12253
CENTRAL HYDRAULIC SYSTEMS & EQUIP CO     PO BOX 367 KEARNEY NE 68847
CENTRAL ILLINOIS ELECTRICAL SERVICES     4600 ENTERPRISE DRIVE BARTONVILLE IL 61607
CENTRAL INDUSTRIES INC                   BUSINESS CENTER AT OWINGS MILLS 11438 CRONRIDGE DRIVE SUITE W OWINGS MILLS MD
                                         21117
CENTRAL IOWA TOWING & RECOVERY INC.      2019 EAST LINCOLN WAY AMES IA 50010
CENTRAL KENTUCKY LOGISTICS LLC           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CENTRAL LOGISTICS GROUP INC              500 E ST CHARLES RD 504 LOMBARD IL 60148
CENTRAL MAINE POWER                      83 EDISON DRIVE AUGUSTA ME 04336
CENTRAL MILLING                          14400 N HIGHWAY 38 COLLINSTON UT 84306
CENTRAL MILLING COMPANY PAYER            122 E CENTER ST LOGAN UT 84321
CENTRAL MISSISSIPPI EQUIPMENT SERVICE    C\O DAVID EVANS, 3483 MCFARLAND RD RAYMOND MS 39154
CENTRAL OCCUPATIONAL MEDICINE PROVIDERS PO BOX 2948 RIVERSIDE CA 92516
CENTRAL OHIO FARMERS CO-OP, INC.         PO BOX 936 MARION OH 43301
CENTRAL OHIO FARMERS CO-OP, INC.         730 BELLE FONTAINE AVE MARION OH 43302
CENTRAL OHIO WELDING                     5197 TRABUE ROAD COLUMBUS OH 43228
CENTRAL OREGON & PACIFIC RR              STE 300, 200 MERIDIAN CENTRAL BLVD ROCHESTER NY 14618
CENTRAL OREGON GARAGE DOOR, INC          2747 SW 6TH STREET SUITE 102 REDMOND OR 97756
CENTRAL PA JOINT AREA GRIEVANCE COMM.    TRANSORT EMPLOYERS ASSOCIATION PO BOX 388 HUNTLEY IL 60142
CENTRAL PA TEAMSTERS DEFINED BENFIT      1055 SPRING STREET WYOMISSING PA 19610
PLAN
CENTRAL PA TEAMSTERS PENSION FUND        1055 SPRING ST WYOMISSING PA 19610
CENTRAL PA TEMSTERS HEALTH & WELFARE     1055 SPRING STREET WYOMISSING PA 19610
FND
CENTRAL PENNSYLVANIA TEAMSTERS           WILLIAM M. SHAPPELL, PRES & CHAIRMAN 1055 SPRING STREET WYOMISSING PA 19610
CENTRAL PENNSYLVANIA TEAMSTERS           HEALTH & WELFARE FUND, PO BOX 15224 READING PA 19612
CENTRAL PENNSYLVANIA TEAMSTERS           PO BOX 15223 READING PA 19612
CENTRAL PENNSYLVANIA TRANSPORTATION INC 425 STEELWAY LANCASTER PA 17601
CENTRAL POWER SYSTEMS & SERVICES, INC.   9200 LIBERTY DR LIBERTY MO 64068
CENTRAL POWER SYSTEMS & SERVICES, INC.   PO BOX 877625 KANSAS CITY MO 64187
CENTRAL POWER SYSTEMS & SERVICES, INC.   PO BOX 877625 KANSAS CITY MO 64187-7625
CENTRAL PROPERTY GROUP LLC               PO BOX 897 OLEAN NY 14760
CENTRAL RESTAURANT                       ATTN: VICKI PRICE PO BOX 78070 INDIANAPOLIS IN 46278
CENTRAL RESTAURANT PRODUCTS              ATTN: VICKI PRICE 7750 GEORGETOWN RD INDIANAPOLIS IN 46268
CENTRAL SERVICE GROUP, LLC               2632 S 83RD AVE, SUITE 100 BOX 300 PHOENIX AZ 85043
CENTRAL STATES H&W FUND                  DEPARTMENT 10291 PALATINE IL 60055-0291
CENTRAL STATES H&W FUND                  8647 WEST HIGGINS RD. ROSEMONT IL 60631
CENTRAL STATES H&W FUND                  THOMAS NYHAN, EXECUTIVE DIRECTOR 8647 WEST HIGGINS RD. ROSEMONT IL 60631
CENTRAL STATES HEALTH & WELFARE          DEPT 10575 PALATINE IL 60055
FND-3500
CENTRAL STATES PENSION                   DEPT 10291 PALATINE IL 60055
CENTRAL STATES PENSION                   THOMAS NYHAN, EXECUTIVE DIRECTOR 8647 WEST HIGGINS RD. ROSEMONT IL 60631
CENTRAL TEXAS FAITH TRANSPORT LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CENTRAL TRANPORT REFRIGERATION (MAN)     986 WALL ST WINNIPEG MB R3G 2V3 CANADA
LTD


Epiq Corporate Restructuring, LLC                                                                     Page 346 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 355 of 2156

Claim Name                            Address Information
CENTRAL TRUCK AND TRAILER PARTS LLC   91 WESTERN MARYLAND PKWY HAGERSTOWN MD 21740
CENTRAL TRUCK TRAILER REPAIR          118 ENTERPRIES ST VARS ON K0A 3H0 CANADA
CENTRAL TRUCK TRAILER REPAIR          118 ENTERPRISE ST VARS ON K0A 3H0 CANADA
CENTRAL TRUCK TRAILER REPAIR          BOX 6-118 ENTERPRISE RD. VARS ON K0A 3H0 CANADA
CENTRAL TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CENTRAL VALLEY FREIGHT CARRIER INC    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
CENTRAL VALLEY LOGISTICS LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CENTRAL VALLEY OCC MEDICAL GROUP      10630 SEPULVEDA STE 100 MISSION HILLS CA 91345
CENTRAL VALLEY OCC MEDICAL GROUP      4208 ROSEDALE HWY STE 302, SUITE 200 BAKERSFIELD CA 93308
CENTRAL VALLEY SWEEPING               PO BOX 6787 VISALIA CA 93290
CENTRAL VALLEY TRAILER REPAIR         2974 S. EAST AVE, PO BOX 12427 FRESNO CA 93777
CENTRAL VALLEY TRAILER REPAIR         MID CAL REFRIGERATION, PO BOX 12427 FRESNO CA 93777
CENTRAL VALLEY TRAILER REPAIR         PO BOX 12427 FRESNO CA 93777
CENTRAL VALLEY TRUCKING INC           2355 ALAMO CT TRACY CA 95377
CENTRAL VAN LINES                     4801 GRAND AVE. PITTSBURGH PA 15225
CENTRAL VERMONT TRUCK REPAIR INC      96 CLEVELAND AVE RUTLAND VT 05701
CENTRAL VIDEO SERVICES                7116 W 69TH ST OVERLAND PARK KS 66204
CENTRAL WELDING SUPPLY                ACCOUNTS RECEIVABLE, PO BOX 179 LAKEWOOD WA 98259
CENTRAN EXPRESS GROUP LLC             4650 W 160TH ST CLEVELAND OH 44135
CENTRANS TRUCK LINES LLC              PO BOX 809107 CHICAGO IL 60680
CENTRIQ GROUP, LLC                    1740 W. 92ND STREET KANSAS CITY MO 64114
CENTRO DE RECAUDACION DE              INGRESOS MUNICIPALES PO BOX 195387 SAN JUAN PR 00919
CENTROTRANS LLC                       6512 S 120TH ST FRANKLIN WI 53132
CENTURION FREIGHT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CENTURY FENCE CO                      PO BOX 727 PEWAUKEE WI 53072
CENTURY FIRE PROTECTION               2450 SATELLITE BLVD DULUTH GA 30096
CENTURY FIRE SPRINKLERS, INC.         27 CASSENS CT FENTON MO 63026
CENTURY FIRE SPRINKLERS, INC.         1901 BEDFORD NORTH KANSAS CITY MO 64116
CENTURY FIRE SYSTEMS, LLC             490 EAGLE DR EL PASO TX 79912
CENTURY HIGH SCHOOL                   7801 W. DIAMOND BACK DRIVE POCATELLO ID 83204
CENTURY LINK                          PO BOX 4300 CAROL STREAM IL 60197
CENTURY LINK                          3436 ALDEBARAN AVE. LAS VEGAS NV 89102
CENTURY LINK                          PO BOX 2348 SEATTLE WA 98111
CENTURY LINK                          PO BOX 91154 SEATTLE WA 98111
CENTURY LINK                          PO BOX 91155 SEATTLE WA 98111
CENTURY LINK                          P.O. BOX 2348 SEATTLE WA 98111-2348
CENTURY LOGISTICS LLC                 676 HOWE ST EASTON PA 18040
CENTURY LOGISTICS LLC (MC021011)      OR JOBE SERVICES INC PO BOX 4346, DEPT 22 HOUSTON TX 77210-4346
CENTURY PUBLISHING CO                 5710 E SELTICE WAY POST FALLS ID 83854
CENTURY TRUCKING INC                  9700 MARINE CITY HWY CASCO MI 48064
CENTURY WIRE CABLE                    7400 E SLAUSON AVE COMMERCE CA 90040
CENTURYLINK                           PO BOX 1319 CHARLOTTE NC 28201
CENTURYLINK                           100 CENTURYLINK DR. MONROE LA 71203
CENTURYLINK                           PO BOX 2956 PHOENIX AZ 85062
CENTURYLINK                           PO BOX 2961 PHOENIX AZ 85062
CENTURYLINK                           PO BOX 52187 PHOENIX AZ 85072
CENVEO                                WILLIAMS & ASSOCIATES, 405 E 78TH ST BLOOMINGTON MN 55420
CEOFFE, MICHAEL                       ADDRESS ON FILE
CEPAUSKAS, MONICA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 347 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 356 of 2156

Claim Name                              Address Information
CEPCO TOOL COMPANY                     1580 LAKE ST ELMIRA NY 14901
CEPERO, ALBERTO                        ADDRESS ON FILE
CEPHAS-HUBBARD, CHRISTIAN              ADDRESS ON FILE
CEPHUS, EDDIE                          ADDRESS ON FILE
CERA GAITAN, JAIME                     ADDRESS ON FILE
CERA TRUCKING LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CERAMIC FILTERS                        9800 WAMPLERS LAKE RD. BROOKLYN MI 49230
CERASIS INC                            ATTN: BRAHIAN NUNEZ PO BOX 21248 EAGAN MN 55121
CERASIS INC                            ATTN: CAMILA PATINO PO BOX 21248 EAGAN MN 55121
CERASIS INC                            ATTN: DARLYS CERA PO BOX 21248 EAGAN MN 55121
CERASIS INC                            PO BOX 21248 EAGAN MN 55121
CERASIS INC NOW PART OF GLOBALTRANZ    ATTN: CAMILA PATIO PO BOX 21248 EAGAN MN 55121
CERASIS, INC. NOW PART OF GLOBAL       P.O. BOX 21248 EAGAN MN 55121
CERATO, MARK                           ADDRESS ON FILE
CERAVINO, JOHN                         ADDRESS ON FILE
CERDA, ARNOLD                          ADDRESS ON FILE
CERDA, EDUARDO                         ADDRESS ON FILE
CERE, SHAYNE                           ADDRESS ON FILE
CERES SOLUTIONS, LLP                   CLAY PETROLEUM, PO BOX 2196 2500 S 13TH ST TERRE HAUTE IN 47802
CERES SOLUTIONS, LLP                   BRAD CONDER, PO BOX 2196 2600 SOUTH 13TH STREET TERRE HAUTE IN 47803
CERES SOLUTIONS, LLP                   PO BOX 432 CRAWFORDSVILLE IN 47933
CERESI, SCOTT                          ADDRESS ON FILE
CERIA BREWING COMPANY                  10600 WEST 73RD PLACE ARVADA CO 80005
CERIMELE, DANIEL                       ADDRESS ON FILE
CERISE, ROBERT                         ADDRESS ON FILE
CERIUM CARRIERS LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
CERNY, TONI                            ADDRESS ON FILE
CEROGLASS TECHNOLOGIES INC             919 N JAMES CAMPBELL BLVD COLUMBIA TN 38401
CERON, JULIA                           ADDRESS ON FILE
CERON-EVERETT, ROSALVA                 ADDRESS ON FILE
CERONI, STEPHEN                        ADDRESS ON FILE
CEROVSKI, DANIEL                       ADDRESS ON FILE
CEROVSKI, DANIEL J                     ADDRESS ON FILE
CERQUERA, CAMILO                       ADDRESS ON FILE
CERRA, ANTHONY                         ADDRESS ON FILE
CERRELLI, PATRICK                      ADDRESS ON FILE
CERRI, WILLIAM J                       ADDRESS ON FILE
CERRITO, DARIN L                       ADDRESS ON FILE
CERRITOS, ARMANDO                      ADDRESS ON FILE
CERRO GORDO RECORDER OF DEEDS          220 N WASHINGTON MASON CITY IA 50401
CERTAIN TRUCKING LTD                   OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
CERTAIN TRUCKING LTD                   OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                       90074
CERTAINE, ANTONIO                      ADDRESS ON FILE
CERTAINTEED SIDING                     ATTN: KESI COX INTUNE LOGISTICS CLAIMS 208 ADLEY WAY GREENVILLE SC 29607
CERTASITE, LLC                         PO BOX 772443 DETROIT MI 48277
CERTASITE, LLC                         PO BOX 772443 DETROIT MI 48277-2443
CERTEDRIVE CORP                        1140 MONROE AVE STE 5000 GRAND RAPIDS MI 49503
CERTIFIED FIRE EXTINGUISHER SERVICE INC 8710 NORWALK BLVD WHITTIER CA 90606



Epiq Corporate Restructuring, LLC                                                                 Page 348 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 357 of 2156

Claim Name                           Address Information
CERTIFIED FLEET SERVICES LLC         16120 LEE RD STE 190 FT MYERS FL 33912
CERTIFIED INC                        PO BOX 26 ALTOONA WI 54720
CERTIFIED MAIL ENVELOPES, INC        PO BOX 470175 CELEBRATION FL 34747
CERTIFIED TRUCKING LLC               OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CERTIFIED TRUCKING LLC (MC1135890)   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CERTIFIED XPRESS LLC                 411 FREETOWN RD HODGES SC 29653
CERTIFIED XPRESS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CERVANTES GARCIA, GUILLERMO          ADDRESS ON FILE
CERVANTES, AARON                     ADDRESS ON FILE
CERVANTES, ALVARO                    ADDRESS ON FILE
CERVANTES, CARMEN                    ADDRESS ON FILE
CERVANTES, JOE                       ADDRESS ON FILE
CERVANTES, JUAN                      ADDRESS ON FILE
CERVANTES, JUAN                      ADDRESS ON FILE
CERVANTES, JULIO C                   ADDRESS ON FILE
CERVANTES, MANUEL                    ADDRESS ON FILE
CERVANTES, RAFAEL                    ADDRESS ON FILE
CERVANTES, RAMIRO                    ADDRESS ON FILE
CERVANTES, RAMON                     ADDRESS ON FILE
CERVANTES, RENE                      ADDRESS ON FILE
CERVERA TRUCKING                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CERVINO, LOUIS                       ADDRESS ON FILE
CERVINO, LOUIS A                     ADDRESS ON FILE
CES                                  4955 PEORIA STREET DENVER CO 80239
CES DEVELOPMENT INC                  650 MILL CIRCLE, SUITE 101 WHEELING IL 60090
CESAR CALIZ                          ADDRESS ON FILE
CESAR ESPINO                         ADDRESS ON FILE
CESAR RAMIREZ                        ADDRESS ON FILE
CESCO                                C/O ROCKFARM LOGISTICS, 300 DATA COURT DUBUQUE IA 52003
CESSNA                               ATTN: GENERAL COUNSEL 1 CESSNA BLVD WICHITA KS 67215
CESSNA, DWIGHT                       ADDRESS ON FILE
CESSNA, NICHOLAS                     ADDRESS ON FILE
CESSPOOL CLEANER COMPANY &           PORTABLE TOILET RENTALS LLC, 3153 118TH STREET LAKE HALLIE WI 54729
CESTARO, EDWARD                      ADDRESS ON FILE
CETERA (0701)                        ATT ANGELA HANDELAND/PROXY MGR 400 1ST ST SOUTH STE 300 ST. CLOUD MN 56301
CETRONE, JOHN                        ADDRESS ON FILE
CEVALLOS TRUCKING LLC                PO BOX 6610 ASTORIA NY 11106
CEVIK, STEFFANIE                     ADDRESS ON FILE
CEYA LLC                             OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
CEYPHES, TERRELL                     ADDRESS ON FILE
CF ENTERPRISES                       12007 RADIUMST SAN ANTONIO TX 78216
CF LOGISTIX INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CF SOLUTIONS CO                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CF TRANSPORTATION INC.               OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
CFA LOGISTICS INC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CFC TRUCKING LLC                     231 LUTHER PALMER RD CLEVELAND GA 30528
CFI                                  P.O. BOX 953695 ST LOUIS MO 63195
CFOX CARRIERS LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CFRANK ENTERPRISE INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                Page 349 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 358 of 2156

Claim Name                           Address Information
CFS LOGISTICS, INC.                  1485 SOUTH COUNTY TRAIL EAST GREENWICH RI 02818
CFT TRANSPORT                        OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
CG 1 TRANSPORTATION INC.             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CG CARRIERS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CG CARRIERS LLC                      2101 MALLORCA LAREDO TX 78046
CG CARRIERS, LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CG FREIGHTS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CG TRANSPORTATION LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CG TRUCK LINES LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CG TRUCK SERVICES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CGAB TRUCKING LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
CGM CARRIERS LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CGN TRANSPORT LLC                    1 GATEWAY CENTER SUITE 2600 NEWARK NJ 07102
CGN TRANSPORTATION LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CGNJ TRANSPORTATION LLC              OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
CH FREIGHT INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CH FREIGHT LINE LLC                  3212 EASTWOOD DRIVE ROCHESTER HILLS MI 48309
CH LOGISTICS CORP                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
CH ROBINSON                          CH ROBINSON, 14800 CHARLSON RD 2100 EDEN PRAIRIE MN 55347
CH ROBINSON                          STE 1450, 14800 CHARLSON RD EDEN PRAIRIE MN 55347
CH ROBINSON                          STE 2100 ATTN: ACCOUNTS PAYABLE EDEN PRAIRIE MN 55347
CH ROBINSON                          CH ROBINSON, 14800 CHARLSON RD STE 200 MINNEAPOLIS MN 55437
CH ROBINSON                          CH ROBINSON, 14800 CHARLSON RD STE2100 MINNEAPOLIS MN 55437
CH ROBINSON                          1501 N MITTEL BLVD B WOOD DALE IL 60191
CH ROBINSON WORLDWIDE INC            14800 CHARLSON RD 0 EDEN PRAIRIE MN 55347
CH TRANS INC                         OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CH TRUCKING                          OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
CH TRUCKING                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CH&L TRANSPORTATION INC.             4440 GREEN VALLEY RD RESCUE CA 95672
CHA, BYOUNG J                        ADDRESS ON FILE
CHA, CHRIS                           ADDRESS ON FILE
CHA, PETTERSON                       ADDRESS ON FILE
CHAARRONTAY BROWN                    ADDRESS ON FILE
CHABASQUI INC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CHACE E GREEN                        ADDRESS ON FILE
CHACON CARRIER SVC CORP              OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
CHACON TRANSPORT INC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
CHACON TRUCKING LLC                  4398 MAIN ST PALMER MA 01069
CHACON, JOHN A                       ADDRESS ON FILE
CHACON, ROBERT                       ADDRESS ON FILE
CHACON, THOMAS                       ADDRESS ON FILE
CHAD ANDERSON                        ADDRESS ON FILE
CHAD HONL                            ADDRESS ON FILE
CHAD L TAUSCHER                      ADDRESS ON FILE
CHAD M ROBINSON                      ADDRESS ON FILE
CHAD R MILLER                        ADDRESS ON FILE
CHAD W CLARK                         ADDRESS ON FILE
CHAD WALLACE                         ADDRESS ON FILE
CHADD, TIMOTHY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 350 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 359 of 2156

Claim Name                               Address Information
CHADDS FORD GREENHOUSES                  1450 BALTIMORE PIKE CHADDS FORD PA 19317
CHADWICK A POTTER                        ADDRESS ON FILE
CHADWICK ENTERPRISES LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHADWICK TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHADWICK, CHAD F                         ADDRESS ON FILE
CHADWICK, JAMES                          ADDRESS ON FILE
CHADWICK, JOHN                           ADDRESS ON FILE
CHADWICK, KENNETH                        ADDRESS ON FILE
CHADWICK, MAURICE                        ADDRESS ON FILE
CHADWICK, ROGER                          ADDRESS ON FILE
CHAFARINA TRUCKING INC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CHAFFEE, DAVID                           ADDRESS ON FILE
CHAFFEURS TMSTERS & HELPERS LOCAL UNION 301 HEALTH & WELFARE FUND 36990 N GREENBAY ROAD WAUKEGAN IL 60087
CHAFFIN, KEVIN                           ADDRESS ON FILE
CHAFIN, DAVID                            ADDRESS ON FILE
CHAFIN, DUSTIN                           ADDRESS ON FILE
CHAFINS, ROBYN                           ADDRESS ON FILE
CHAFINS, ROBYN                           ADDRESS ON FILE
CHAGOLLA TRUCKING                        OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CHAGOLLA TRUCKING (FRESNO CA)            OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CHAGOLLA, ALEXANDER                      ADDRESS ON FILE
CHAGU TRANSPORTATION LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CHAHAL EXPRESS                           14 CARTERET ST PORT READING NJ 07064
CHAHAL FREIGHT LINE INC                  12672 LIMONITE AVE 3E 531 EASTVALE CA 92880
CHAHAL LOGISTICS INC (MC154080)          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CHAHAL ONTIME INC                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CHAHAL TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHAHAL TRUCK LINE INC                    7248 TURNSTONE CT FONTANA CA 92336
CHAHAL TRUCKING INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CHAHAL TRUCKING INC (JURUPA VALLEY CA)   5963 SHOVELER CT JURUPA VALLEY CA 91752
CHAHIL BROS EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CHAIDEZ, KRISTINA                        ADDRESS ON FILE
CHAIKE, NELSON                           ADDRESS ON FILE
CHAIN DOWN TRUCKING LLC                  OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
CHAINLINK LOGISTICS LLC                  OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
CHAIREZ, ALICIA                          ADDRESS ON FILE
CHAIREZ, MIGUEL                          ADDRESS ON FILE
CHAKELA L REID                           ADDRESS ON FILE
CHALCO-GUARANGO, FAUSTO L                ADDRESS ON FILE
CHALK, CRAIG                             ADDRESS ON FILE
CHALK, CRAIG S                           ADDRESS ON FILE
CHALKS TRUCK PARTS, INC.                 PO BOX 15675, 838 MCCARTY DRIVE HOUSTON TX 77220
CHALLENGER TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CHALMERS, RYAN                           ADDRESS ON FILE
CHALPA TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CHAMBERLAIN GROUP                        ATTN: NATHAN SALVESEN 6375 BEST FRIEND RD STE 120 NORCROSS GA 30071
CHAMBERLAIN GROUP                        CASS INFORMATION SYSTEMS, PO BOX 67 SAINT LOUIS MO 63166
CHAMBERLAIN GROUP                        STE 180, 2850 E DREXEL RD TUCSON AZ 85706
CHAMBERLAIN III, RONALD                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 351 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 360 of 2156

Claim Name                              Address Information
CHAMBERLAIN MANUFACTURING               ATTN: NATHAN SALVESEN 2850 E DREXEL RD TUCSON AZ 85706
CHAMBERLAIN TRUST                       1101 TRACY LYN DRIVE ABILENE TX 79601
CHAMBERLAIN, CHAD                       ADDRESS ON FILE
CHAMBERLAIN, JASON                      ADDRESS ON FILE
CHAMBERLAIN, KENNETH                    ADDRESS ON FILE
CHAMBERLIN, DAN                         ADDRESS ON FILE
CHAMBERS MOTORS, INC                    20610 SUSSEX HWY SEAFORD DE 19973
CHAMBERS MOTORS, INC                    PO BOX 494 SEAFORD DE 19973
CHAMBERS TRANSPORTATION SERVICES INC.   P O BOX 317 MIDLAND NC 28107
CHAMBERS, ALMODIS D                     ADDRESS ON FILE
CHAMBERS, AMARIA                        ADDRESS ON FILE
CHAMBERS, BRIAN                         ADDRESS ON FILE
CHAMBERS, CALIE                         ADDRESS ON FILE
CHAMBERS, DAVID                         ADDRESS ON FILE
CHAMBERS, DONALD                        ADDRESS ON FILE
CHAMBERS, DONALD                        ADDRESS ON FILE
CHAMBERS, GEORGE                        ADDRESS ON FILE
CHAMBERS, JON                           ADDRESS ON FILE
CHAMBERS, KEITH                         ADDRESS ON FILE
CHAMBERS, MARC                          ADDRESS ON FILE
CHAMBERS, MARQUIS                       ADDRESS ON FILE
CHAMBERS, MATHEW M                      ADDRESS ON FILE
CHAMBERS, MICHAEL                       ADDRESS ON FILE
CHAMBERS, MICHAEL J                     ADDRESS ON FILE
CHAMBERS, MISTY                         ADDRESS ON FILE
CHAMBERS, OLIN                          ADDRESS ON FILE
CHAMBERS, PATRICK                       ADDRESS ON FILE
CHAMBERS, TERRY                         ADDRESS ON FILE
CHAMBERS, TIMOTHY                       ADDRESS ON FILE
CHAMBERS, TYRON                         ADDRESS ON FILE
CHAMBERS, WAYNE                         ADDRESS ON FILE
CHAMBERS, YOLANZA                       ADDRESS ON FILE
CHAMBLEE, RODNEY                        ADDRESS ON FILE
CHAMBLESS, JIMMY                        ADDRESS ON FILE
CHAMBLEY, RONNIE                        ADDRESS ON FILE
CHAMBLISS, THOMAS                       ADDRESS ON FILE
CHAMELEON LIGHTING LLC                  243 CHESTERFIELD INDUSTRIAL BL CHESTERFIELD MO 63005
CHAMIZO TRUCKING LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
CHAMMAS                                 11320 FM 529 BUILDING I HOUSTON TX 77041
CHAMNESS, STEPHEN                       ADDRESS ON FILE
CHAMPAGNE, ALLYSSE                      ADDRESS ON FILE
CHAMPAGNE, RALPH                        ADDRESS ON FILE
CHAMPINO, EDWARD                        ADDRESS ON FILE
CHAMPION COMMERCIAL PRODUCTS INC.       1-5430 TIMBERLEA BLVD MISSISSAUGA ON L4W 2T7 CANADA
CHAMPION FIRE PROTECTION LLC            8698 ELK GROVE BLVD SUITE 1-219 ELK GROVE CA 95624
CHAMPION LABORATORIES                   ATTN: SHERRI DAVIS TRANSPORTATION 329 INDUSTRIAL DR ALBION IL 62806
CHAMPION LOGISTICS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CHAMPION OVERHEAD DOOR                  123 RYAN ROAD DUMMERSTON VT 05301
CHAMPION PACKAGING & DIST INC           PO BOX 989 BEDFORD PARK IL 60499-0989



Epiq Corporate Restructuring, LLC                                                                  Page 352 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 361 of 2156

Claim Name                           Address Information
CHAMPION POWER EQUIPMENT             ATTN: JANELLE 7908 REDWOOD AVE FONTANA CA 92336
CHAMPION SCALE                       3849 SO. BROADWAY SAINT LOUIS MO 63118
CHAMPION TARGET                      PO BOX 1151 RICHMOND IN 47375
CHAMPION TERMINAL ASSOC LLC          800 W 79TH ST SUITE 3 WILLOWBROOK IL 60527
CHAMPION TERMINAL ASSOCIATES, LLC    ATTN: J.D. SALAZAR 800 WEST 79TH STREET SUITE 3 WILLOWBROOK IL 60527
CHAMPION TOWING LTD                  2058 LOGAN AVENUE WINNIPEG MB R2R 0H9 CANADA
CHAMPION TRANSPORT LLC               OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CHAMPION UPHOLSTERY                  15300 NE 10TH AVE VANCOUVER WA 98685
CHAMPION X - WILLISTON, ND           14066 51ST ST NW WILLISTON ND 58801
CHAMPION, BOBBY C                    ADDRESS ON FILE
CHAMPION, DERRELL                    ADDRESS ON FILE
CHAMPIONS EXPRESS INC                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
CHAMPLAIN DOOR SYSTEMS               4182 HIGHBRIDGE RD GEORGIA VT 05454
CHAMPLAIN VALLEY LINE STRIPING LLC   590 EAST RD MILTON VT 05468
CHAMPS CARRIER INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CHAMPS TRANSPORTATION LLC            358 E SAN YSIDRO BLVD 615 SAN YSIDRO CA 92173
CHAN GONON, LORENZO                  ADDRESS ON FILE
CHAN, JACKIELYN                      ADDRESS ON FILE
CHAN, ROBERT                         ADDRESS ON FILE
CHAN, SOPHANNE                       ADDRESS ON FILE
CHANBAR TRUCKING LLC                 OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
CHANCE AUSTIN BRAGG                  ADDRESS ON FILE
CHANCE ENTERPRISES LLC               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
CHANCE TRANSPORT LLC.                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHANCE, CHRIS                        ADDRESS ON FILE
CHANCE, DAVID D                      ADDRESS ON FILE
CHANCE, JARED                        ADDRESS ON FILE
CHANCE, MICHAEL                      ADDRESS ON FILE
CHANCE, STEPHANIE                    ADDRESS ON FILE
CHAND, AVINESH                       ADDRESS ON FILE
CHAND, VICK                          ADDRESS ON FILE
CHAND, VIMLESH                       ADDRESS ON FILE
CHANDI LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHANDI TRANSPORT INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CHANDLER, DENNY                      ADDRESS ON FILE
CHANDLER, DOUGLAS                    ADDRESS ON FILE
CHANDLER, IRA                        ADDRESS ON FILE
CHANDLER, JAMES                      ADDRESS ON FILE
CHANDLER, JOEL                       ADDRESS ON FILE
CHANDLER, JOSEPH                     ADDRESS ON FILE
CHANDLER, MONTE                      ADDRESS ON FILE
CHANDLER, NATHANIEL                  ADDRESS ON FILE
CHANDLER, PAUL                       ADDRESS ON FILE
CHANDLER, RAYFORD                    ADDRESS ON FILE
CHANDLER, ROBERT                     ADDRESS ON FILE
CHANDLER, ULYS                       ADDRESS ON FILE
CHANDLER, WENDY                      ADDRESS ON FILE
CHANDLER, WILLIAM                    ADDRESS ON FILE
CHANEY LL, OLIVER                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 353 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 362 of 2156

Claim Name                          Address Information
CHANEY, ANNA                        ADDRESS ON FILE
CHANEY, CEDRICK                     ADDRESS ON FILE
CHANEY, DAVID                       ADDRESS ON FILE
CHANEY, JERRY                       ADDRESS ON FILE
CHANEY, SHERCHRIS                   ADDRESS ON FILE
CHANG, SUZIE                        ADDRESS ON FILE
CHANG, SUZIE                        ADDRESS ON FILE
CHANG-WARD, MONTELL                 ADDRESS ON FILE
CHANGING SEASONS INC                1111 YELLOWSTONE AVE POCATELLO ID 83201
CHANGING SEASONS INC                3550 HIGHWAY 30 W POCATELLO ID 83201
CHANGZHENG EXPRESS INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHANH Q TRAN                        ADDRESS ON FILE
CHANNEL PRIME ALLIANCE              1803 HULL AVE DES MOINES IA 50313
CHANNELVIEW LYONDELL                ADDRESS ON FILE
CHANNI, AVTAR                       ADDRESS ON FILE
CHANNON, ANGELA                     ADDRESS ON FILE
CHANSOPHORN LOGISTICS LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CHANTHALUXAY, MICHELLE              ADDRESS ON FILE
CHANTHAMANY, ANOUPHONG              ADDRESS ON FILE
CHANZA, RAMON                       ADDRESS ON FILE
CHAO, KAYLI                         ADDRESS ON FILE
CHAOS TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHAPARRAL DISTRIBUTING LLC          2000 BERING DRIVE 400 HOUSTON TX 77057
CHAPCO INC.                         10 DENLAR STREET CHESTER CT 06412
CHAPEL HILL TRANSPORT LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
CHAPIN DEAN                         ADDRESS ON FILE
CHAPIN, MICHAEL                     ADDRESS ON FILE
CHAPIN, STACY                       ADDRESS ON FILE
CHAPMAN, ADAM                       ADDRESS ON FILE
CHAPMAN, CHRISTOPHER                ADDRESS ON FILE
CHAPMAN, DANIEL                     ADDRESS ON FILE
CHAPMAN, DARON                      ADDRESS ON FILE
CHAPMAN, DAVID                      ADDRESS ON FILE
CHAPMAN, DONALD                     ADDRESS ON FILE
CHAPMAN, GARY                       ADDRESS ON FILE
CHAPMAN, GREG                       ADDRESS ON FILE
CHAPMAN, JARROD                     ADDRESS ON FILE
CHAPMAN, MYRON                      ADDRESS ON FILE
CHAPMAN, NICKOLAS                   ADDRESS ON FILE
CHAPMAN, RONELL                     ADDRESS ON FILE
CHAPMAN, RYAN                       ADDRESS ON FILE
CHAPMAN, SHANNON                    ADDRESS ON FILE
CHAPMAN, STEPHEN                    ADDRESS ON FILE
CHAPMAN, TODD                       ADDRESS ON FILE
CHAPMAN, VITTORIO                   ADDRESS ON FILE
CHAPMAN, WILLIAM                    ADDRESS ON FILE
CHAPPELL, CRAIG                     ADDRESS ON FILE
CHAPPELL, CRAIG                     ADDRESS ON FILE
CHAPPELL, HERMAN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 354 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 363 of 2156

Claim Name                           Address Information
CHAPPELL, JOSHUA                     ADDRESS ON FILE
CHAPPELL, MICHAEL                    ADDRESS ON FILE
CHAPPELLE-WILLIAMS, JEREMY           ADDRESS ON FILE
CHAPPLE, DIETRICH                    ADDRESS ON FILE
CHAPUT, JAMES                        ADDRESS ON FILE
CHAPUT, JAMES P                      ADDRESS ON FILE
CHARACTER, WILLIAM                   ADDRESS ON FILE
CHARAN, ERIC                         ADDRESS ON FILE
CHARANJIT SINGH                      ADDRESS ON FILE
CHARBONEAU, MARK                     ADDRESS ON FILE
CHARBY, CARL                         ADDRESS ON FILE
CHAREUN, BOUALAPHANH                 ADDRESS ON FILE
CHARGER EXPRESS INC                  9206 HOLLOWAY CLIFF LN CYPRESS TX 77433
CHARGER EXPRESS LLC                  2658 GLENMORE ST FERNDALE WA 98248
CHARGER LOGISTICS USA INC            1939 N LAFAYETTE COURT GRIFFITH IN 46319
CHARI LOGISTICS LLC                  OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
CHARITY F PARRIS                     ADDRESS ON FILE
CHARLES A SANDERS                    ADDRESS ON FILE
CHARLES A SMITH                      ADDRESS ON FILE
CHARLES A WOLZ                       ADDRESS ON FILE
CHARLES AUTO ELECTRIC CO INC         P.O. BOX 2872 NORTH CANTON OH 44720
CHARLES BAILEY TRUCKING, INC.        PO BOX 2998 COOKEVILLE TN 38502
CHARLES BOOKER                       ADDRESS ON FILE
CHARLES BROTHERS TRUCKING LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CHARLES D GULLICK                    ADDRESS ON FILE
CHARLES DAVID HORNADY                ADDRESS ON FILE
CHARLES E GRAHAM                     ADDRESS ON FILE
CHARLES E PEABODY                    ADDRESS ON FILE
CHARLES E PRESTON                    ADDRESS ON FILE
CHARLES EVANS JR                     ADDRESS ON FILE
CHARLES F DIETERICH                  ADDRESS ON FILE
CHARLES HOLCOMB                      ADDRESS ON FILE
CHARLES J COOPER                     ADDRESS ON FILE
CHARLES J COOPER                     ADDRESS ON FILE
CHARLES JOHNSON                      ADDRESS ON FILE
CHARLES K GROVES                     ADDRESS ON FILE
CHARLES K MIEDEMA                    ADDRESS ON FILE
CHARLES L BAUMAN                     ADDRESS ON FILE
CHARLES M GARCIA                     ADDRESS ON FILE
CHARLES O BUNTING                    ADDRESS ON FILE
CHARLES P BAYLY                      ADDRESS ON FILE
CHARLES Q. GREEN                     ADDRESS ON FILE
CHARLES R BANDOIAN                   ADDRESS ON FILE
CHARLES RANDY SHELDON                ADDRESS ON FILE
CHARLES S BURLESON                   ADDRESS ON FILE
CHARLES SCHWAB & CO. (0164)          ATT CHRISTINA YOUNG/PROXY MGR 2423 EAST LINCOLN DR PHOENIX AZ 85016-1215
CHARLES SMITH                        ADDRESS ON FILE
CHARLES TRANSPORTATION LLC           OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
CHARLES V DUNCAN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 355 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 364 of 2156

Claim Name                              Address Information
CHARLES VAN NORTWICK WEED ABATEMENT INC PO BOX 827 CAMARILLO CA 93010
CHARLES W REED                         ADDRESS ON FILE
CHARLES W WOODS                        ADDRESS ON FILE
CHARLES, ANDREW                        ADDRESS ON FILE
CHARLES, CHRISTOPHER                   ADDRESS ON FILE
CHARLES, GEORGE                        ADDRESS ON FILE
CHARLES, JAVONTA T                     ADDRESS ON FILE
CHARLES, JOSEPH                        ADDRESS ON FILE
CHARLES, MARVA                         ADDRESS ON FILE
CHARLES, MELVIN                        ADDRESS ON FILE
CHARLES, MICHAEL                       ADDRESS ON FILE
CHARLES, PETERSON                      ADDRESS ON FILE
CHARLES, PIERRE                        ADDRESS ON FILE
CHARLES, ROBERT                        ADDRESS ON FILE
CHARLES, THOMAS                        ADDRESS ON FILE
CHARLESTON AUTO INC.                   PO BOX 13412 SISSONVILLE WV 25360
CHARLESTON AUTO INC.                   3515 7TH AVE N CHARLESTON WV 25387
CHARLESTON COUNTY REVENUE              2 GEORGE ST. STE 1700 CHARLESTON SC 29401
CHARLESTON SANITARY BOARD AND          2 GEORGE ST. STE 1700 CHARLESTON SC 29401
CHARLESTON WATER SYSTEM                2 GEORGE ST. STE 1700 CHARLESTON SC 29401
CHARLESTON, LARRY                      ADDRESS ON FILE
CHARLESTOWN CORNERSTONE                949 OLD CLAREMONT ROAD CHARLESTOWN NH 03603
CHARLESTOWN ENB LLC                    949 OLD CLAREMONT ROAD CHARLESTOWN NH 03603
CHARLEY, BRIAN M                       ADDRESS ON FILE
CHARLEY, HENSNER                       ADDRESS ON FILE
CHARLEYS CRANE SERVICE                 8613 OLD ARDMORE RD LANDOVER MD 20785
CHARLIC, BENNY BENNY                   ADDRESS ON FILE
CHARLIE BROWN HOT SHOT SERVICE         713 WEDEWOOD DR MESQUITE TX 75150
CHARLIE CURTIS                         ADDRESS ON FILE
CHARLIE D ATKINS                       ADDRESS ON FILE
CHARLIE L MOORE                        ADDRESS ON FILE
CHARLIE TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHARLIES REPAIR SERVICE, INC.          795 N DUKE ST YORK PA 17404
CHARLIES TOWING SERVICE INC            55 LOU GROZA BLVD SUITE G BEREA KY 44017
CHARLIES TRANSPORT LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
CHARLIES TRANSPORT LLC                 OR MYG FINANCIAL LLC 511 EAST JOHN CARPENTER FWY, STE 500 IRVING TX 75062
CHARLOT, CHARLENE                      ADDRESS ON FILE
CHARLOT, CHARLENE                      ADDRESS ON FILE
CHARLOTTA DUFFY                        ADDRESS ON FILE
CHARLOTTE MECHANICAL LLC               1580 KAUFFMAN RD LANDISVILLE PA 17538
CHARLOTTE TRUCK CENTER, INC.           TRUCK CENTER SERVICES, PO BOX 7178 ROANOKE VA 24019
CHARLOTTE TRUCK CENTER, INC.           4633 EQUIPMENT DR CHARLOTTE NC 28269
CHARLTON, DANE                         ADDRESS ON FILE
CHARM KRAFT                            ATTN: CATHY TRUJILLO 330 CORTEZ CIRCLE CAMARILLO CA 93012
CHARNAY TRUCKING LLC                   15021 NW 3RD AVE MIAMI FL 33168-4207
CHARNICKY, TYMARY                      ADDRESS ON FILE
CHARNY P MITCHELL                      ADDRESS ON FILE
CHARRON, GREGORY                       ADDRESS ON FILE
CHARTER                                400 WASHINGTON BLVD STAMFORD CT 06902



Epiq Corporate Restructuring, LLC                                                                  Page 356 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 365 of 2156

Claim Name                           Address Information
CHARTER CABLE                        400 WASHINGTON BLVD STAMFORD CT 06902
CHARTER COMMUNICATIONS               400 WASHINGTON BLVD STAMFORD CT 06902
CHARTER COMMUNICATIONS               PO BOX 223085 PITTSBURGH PA 15251
CHARTER COMMUNICATIONS               PO BOX 94188 PALATINE IL 60094
CHARTER COMMUNICATIONS               PO BOX 4617 CAROL STREAM IL 60197
CHARTER COMMUNICATIONS               PO BOX 6030 CAROL STREAM IL 60197
CHARTER COMMUNICATIONS               PO BOX 955871 ST LOUIS MO 63195
CHARTER COMMUNICATIONS               PO BOX 7186 PASADENA CA 91109
CHARTER COMMUNICATIONS               PO BOX 60074 CITY OF INDUSTRY CA 91716
CHARTER COMMUNICATIONS, INC.         235 PEACHTREE ST. NE SUITE 1900 ATLANTA GA 30303
CHARTER MANUFACTURING                12121 CORPORATE PKWY MEQUON WI 53092
CHARTIER, BRIAN                      ADDRESS ON FILE
CHARTIER, DANA                       ADDRESS ON FILE
CHARTIER, GREGORY                    ADDRESS ON FILE
CHARTIER, GREGORY                    ADDRESS ON FILE
CHASE BLU LOGISTICS LLC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CHASE LLC                            OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
CHASE P PREHN                        ADDRESS ON FILE
CHASE P PREHN                        ADDRESS ON FILE
CHASE PLASTIC                        6467 WALDON CENTER DR CLARKSTON MI 48346
CHASE PLASTIC                        ATTN: JULIA ENGLISH 6467 WALDON CENTER DR CLARKSTON MI 48346
CHASE PLASTICS                       6467 WALDON CENTER DR STE 200 CLARKSTON MI 48346
CHASE TRANSPORT GROUP LLC            28 W GRAND RIVER AVE UNIT 1319 DETROIT MI 48226
CHASE TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CHASE TRANSPORT SOLUTIONS LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CHASE TRANSPORTATION                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHASE TRANSPORTATION, LLC            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CHASE, EDWARD                        ADDRESS ON FILE
CHASE, JACKY                         ADDRESS ON FILE
CHASE, JOSHUA                        ADDRESS ON FILE
CHASE, LEON                          ADDRESS ON FILE
CHASE, TONY                          ADDRESS ON FILE
CHASERS TRANSPORTATION LLC           OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
CHASEWATER INDUSTRIES, LLC           OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
CHASIDY N SMITH                      ADDRESS ON FILE
CHASIN CARGO INC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CHASING DEALS LOGISTICS LLC          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
CHASINOFF, MARVIN                    ADDRESS ON FILE
CHASSIN, FORREST                     ADDRESS ON FILE
CHASSIN, FORREST S                   ADDRESS ON FILE
CHASSIS UNLIMITED                    100 SLOAN COURT TRACY CA 95304
CHASTAIN, DANA                       ADDRESS ON FILE
CHASTAIN, MICHAEL                    ADDRESS ON FILE
CHASTAIN, MICHAEL                    ADDRESS ON FILE
CHATMAN, CLIFTON                     ADDRESS ON FILE
CHATMAN, CORY                        ADDRESS ON FILE
CHATMAN, ERNEST                      ADDRESS ON FILE
CHATMAN, KHOURY                      ADDRESS ON FILE
CHATMON, LAWRENCE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 357 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 366 of 2156

Claim Name                           Address Information
CHATSWORTH PRODUCTS                  4175 GUARDIAN ST SIMI VALLEY CA 93063
CHATSWORTH PRODUCTS INC              ATTN: SANDRAH BONARIO 4175 GUARDIAN ST SIMI VALLEY CA 93063
CHATTAM, DWAYNE                      ADDRESS ON FILE
CHATTANOOGA FREIGHT LINES LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHATTERJEE, GOURAB                   ADDRESS ON FILE
CHAUDHARY TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CHAUFF-TEAMS-HELP                    UNION 215, PO BOX 1040 EVANSVILLE IN 47706
CHAURA TRANSPORTATION INC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CHAUVET, EVENS                       ADDRESS ON FILE
CHAVA TRUCKING INC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CHAVAQUE, IVAN                       ADDRESS ON FILE
CHAVARIN, ADRIEANA                   ADDRESS ON FILE
CHAVARRIA, ALBERTO                   ADDRESS ON FILE
CHAVARRIA, EDWING                    ADDRESS ON FILE
CHAVARRIA, LUIS                      ADDRESS ON FILE
CHAVARRIAS PLUMBING                  6320 KRONE LN LAREDO TX 78041
CHAVEZ BROS TRUCKING                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CHAVEZ TRUCKING 1 LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHAVEZ, ABEL                         ADDRESS ON FILE
CHAVEZ, ABEL                         ADDRESS ON FILE
CHAVEZ, ALEXANDRO                    ADDRESS ON FILE
CHAVEZ, ALLAN                        ADDRESS ON FILE
CHAVEZ, ANDRES                       ADDRESS ON FILE
CHAVEZ, ANDY                         ADDRESS ON FILE
CHAVEZ, ANGEL                        ADDRESS ON FILE
CHAVEZ, ANTHONY                      ADDRESS ON FILE
CHAVEZ, ASHLEIGH                     ADDRESS ON FILE
CHAVEZ, CARLOS                       ADDRESS ON FILE
CHAVEZ, DANIEL                       ADDRESS ON FILE
CHAVEZ, DAVID                        ADDRESS ON FILE
CHAVEZ, EDGAR                        ADDRESS ON FILE
CHAVEZ, ERIK                         ADDRESS ON FILE
CHAVEZ, GABRIEL A                    ADDRESS ON FILE
CHAVEZ, GABRIEL T                    ADDRESS ON FILE
CHAVEZ, GABRIEL T                    ADDRESS ON FILE
CHAVEZ, GILBERT                      ADDRESS ON FILE
CHAVEZ, GUSTAVO                      ADDRESS ON FILE
CHAVEZ, ISAIAH                       ADDRESS ON FILE
CHAVEZ, IZIAH                        ADDRESS ON FILE
CHAVEZ, JASON                        ADDRESS ON FILE
CHAVEZ, JESUS                        ADDRESS ON FILE
CHAVEZ, JIMMY                        ADDRESS ON FILE
CHAVEZ, JOINER                       ADDRESS ON FILE
CHAVEZ, JOSE                         ADDRESS ON FILE
CHAVEZ, LUIS                         ADDRESS ON FILE
CHAVEZ, MANUEL                       ADDRESS ON FILE
CHAVEZ, MARIO                        ADDRESS ON FILE
CHAVEZ, MARK                         ADDRESS ON FILE
CHAVEZ, MARLISSA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 358 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 367 of 2156

Claim Name                           Address Information
CHAVEZ, MIGUEL                       ADDRESS ON FILE
CHAVEZ, PETE                         ADDRESS ON FILE
CHAVEZ, RICHARD                      ADDRESS ON FILE
CHAVEZ, STEVEN                       ADDRESS ON FILE
CHAVEZ, TEDDY                        ADDRESS ON FILE
CHAVEZ, TIFFANY                      ADDRESS ON FILE
CHAVEZ-AGUIRRE, BEATRIZ              ADDRESS ON FILE
CHAVEZ-CRUZ, OBLIM                   ADDRESS ON FILE
CHAVEZ-CRUZ, OBLIM O                 ADDRESS ON FILE
CHAVIRA STEMLEY, CAROLYN             ADDRESS ON FILE
CHAVIRA, ANDRES                      ADDRESS ON FILE
CHAVIS, DARRYL                       ADDRESS ON FILE
CHAVIS, DERION                       ADDRESS ON FILE
CHAVIS, PIERRE                       ADDRESS ON FILE
CHAVIS, SIYAIRRA                     ADDRESS ON FILE
CHAVON D JOHNSON                     ADDRESS ON FILE
CHAVOYA, SOSTENES A                  ADDRESS ON FILE
CHCL LOGISTICS INC                   OR GEELERS FINANCIAL, 760 E TASMAN DR MILPITAS CA 95035
CHEAIRS, MICHAEL                     ADDRESS ON FILE
CHEATHAM, CHRIS                      ADDRESS ON FILE
CHEATHAM, F G                        ADDRESS ON FILE
CHEATHAM, MARVIN                     ADDRESS ON FILE
CHEATWOOD, RAYMOND                   ADDRESS ON FILE
CHECK LOGISTICS                      5565 N MEADE AVE CHICAGO IL 60630
CHECKER CAB                          827 MAIN STREET WOBURN MA 01801
CHECKERFLAG LEASING                  4 5845 LUKE ROAD MISSISSAUGA ON L4W 2K5 CANADA
CHECKERS CLEANING SUPPLY             2371 SCANLAN ST LONDON ON N5W 6G9 CANADA
CHECKMARCK TRUCKING LLC              OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
CHEEHE, RONULESS                     ADDRESS ON FILE
CHEEK ENTERPRISES LLC                OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CHEEK, AUSTIN                        ADDRESS ON FILE
CHEEK, BRIAN                         ADDRESS ON FILE
CHEEK, DWIGHT                        ADDRESS ON FILE
CHEEK, JERRY                         ADDRESS ON FILE
CHEEK, JOHN                          ADDRESS ON FILE
CHEEK, SUSAN                         ADDRESS ON FILE
CHEEKS, PATRICK                      ADDRESS ON FILE
CHEEMA CARRIERS CORP                 2423 ANSON DR MISSISSAUGA ON L5S 1G1 CANADA
CHEEMA DELIVERY SERVICE LLC          OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
CHEEMA FREIGHTWAY INC                6622 W BEECHWOOD AVE FRESNO CA 93722
CHEEMA TRANSPORT INC                 OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                     90074-1791
CHEEMA TRUCKING LLC                  OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
CHEEMA TRUCKLINE LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHEESMAN BROS TRANSPORT LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHEETAH EXPEDITE                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
CHEETAH EXPRESS FREIGHT LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CHEETAH FINAL MILE LLC               15342 S KEELER ST STE A OLATHE KS 66062
CHEETAH LLC                          3823 W GARDEN MANOR DR, APT 3-103 MEMPHIS TN 38125



Epiq Corporate Restructuring, LLC                                                               Page 359 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 368 of 2156

Claim Name                            Address Information
CHEEVERS, CASEY                       ADDRESS ON FILE
CHEFS TOYS LLC                        ATTN: LUCINDA TROMBLAY PO BOX 515641 LOS ANGELES CA 90051
CHELAN TRANSFER                       PO BOX 10 CHELAN WA 98816
CHELAN TRANSFER CO INC                105 BEEBE BRIDGE RD CHELAN WA 98816
CHELAN TRANSFER CO INC                105 BEEBE BRIDGE RD, PO BOX 10 CHELAN WA 98816
CHELLINO, MICHAEL                     ADDRESS ON FILE
CHELMSFORD GIFT CO                    ATTN: JACK HANDLEY 15 CENTRAL SQUARE CHELMSFORD MA 01824
CHELSEA ARTS TILE & STONE             ATTN: ALISON WEBER 32 W 28TH ST FLR 3 NEW YORK NY 10001
CHELSON EXPRESS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CHEM PRO SERVICES, INC.               3311 GULF BREEZE PKWY 350 GULF BREEZE FL 32563
CHEMETALL US INC.                     675 CENTRAL AVE NEW PROVIDENCE NJ 07974
CHEMLOGIX LLC                         ATTN: JANNE GARCIA 960 HARVEST DR STE 200 BLUE BELL PA 19422
CHEMO TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CHEMPRENE                             483 FISHKILL AVE BEACON NY 12508
CHEMSAFE INTERNATIONAL                ONE ZENEX CIRCLE CLEVELAND OH 44146
CHEMSEARCH DIVISION                   23261 NETWORK PL CHICAGO IL 60673
CHEMUNG SOFT WATER SERVICE, INC.      1144 BROADWAY, P. O. BOX 139 PINE CITY NY 14871
CHEN, HAOHUI                          ADDRESS ON FILE
CHEN, OLIVER                          ADDRESS ON FILE
CHEN, WEN-BIN                         ADDRESS ON FILE
CHEN, YONGGANG                        ADDRESS ON FILE
CHENAULT LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHENAULT, MICHAEL                     ADDRESS ON FILE
CHENEVERT, CHRIS                      ADDRESS ON FILE
CHENEY, DAVID                         ADDRESS ON FILE
CHENEY, JAY                           ADDRESS ON FILE
CHENG HAO, CHEN                       ADDRESS ON FILE
CHENG, SOPHEARIN                      ADDRESS ON FILE
CHENGDU TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHEPE TRUCKING                        PO BOX 1183 SAN JOAQUIN CA 93660
CHERENEGAR, KHASHAYAR                 ADDRESS ON FILE
CHERMAK CARTAGE LLC                   300 JANDUS ROAD SUITE 115 CARY IL 60013
CHEROKEE COUNTY                       PO BOX 129 CHEROKEE COUNTY COURTHOUSE COLUMBUS KS 66725
CHEROKEE EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CHERRICK, CHARLES                     ADDRESS ON FILE
CHERRY COATING                        2000 SURVEYOR CARROLLTON TX 75006
CHERRY HILL MITSUBISHI                ATTN: SARAH MARLAR 1805 W MARLTON PIKE CHERRY HILL NJ 08002
CHERRY HILL NISSAN INC                2325 RT 38 CHERRY HILL NJ 08002
CHERRY L KNIPPLE                      ADDRESS ON FILE
CHERRY MAN INDUSTRIES                 ATTN: GENERAL COUNSEL 2100 E GRAND AVE SUITE 600 EL SEGUNDO CA 90245
CHERRY POND FINE FRN                  1337 WHITE MTN HWY NORTH CONWAY NH 03860
CHERRY TREE PARK TRANSPORTATION LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CHERRY, BRIAN                         ADDRESS ON FILE
CHERRY, CHARISIA                      ADDRESS ON FILE
CHERRY, CIERA                         ADDRESS ON FILE
CHERRY, DAVID                         ADDRESS ON FILE
CHERRY, KENNY                         ADDRESS ON FILE
CHERRY, MICHAEL                       ADDRESS ON FILE
CHERRY, MICHAEL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 360 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 369 of 2156

Claim Name                              Address Information
CHERRY, MICHAEL                         ADDRESS ON FILE
CHERRY, PATRICK                         ADDRESS ON FILE
CHERRY, PAUL                            ADDRESS ON FILE
CHERRY, RANDY                           ADDRESS ON FILE
CHERTAN CORPORATION                     4812 ARBOR LODGE DRIVE RALEIGH NC 27616
CHERVEN, COLTON                         ADDRESS ON FILE
CHERVIL LLC                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CHERYL & MARK ASHBY                     ADDRESS ON FILE
CHERYL BOIVIN                           ADDRESS ON FILE
CHESBRO ELECTRIC                        PO BOX 782 BUFFALO WY 82834
CHESLEY, RUSS                           ADDRESS ON FILE
CHESMORE, KIMBERLY                      ADDRESS ON FILE
CHESNEY, RICHARD                        ADDRESS ON FILE
CHESNUT, JODY                           ADDRESS ON FILE
CHESS, ALAN                             ADDRESS ON FILE
CHESS-TRANSPORT FREIGHT SERVICES CORP   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CHESSER, ARTHUR                         ADDRESS ON FILE
CHEST XPRESS TRUCKING                   OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
CHESTER BASIN TRANSPORT                 129 ABERDEEN ROAD SUITE 201 BRIDGEWATER NS B4V 2S7 CANADA
CHESTER S. VIGUS                        ADDRESS ON FILE
CHESTER TRUCKING LLC (DAVENPORT IA)     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHESTER, JARRETT                        ADDRESS ON FILE
CHESTER, WILLIAM                        ADDRESS ON FILE
CHESTERFIELD COUNTY                     9901 LORI RD CHESTERFIELD VA 23832
CHESTERFIELD COUNTY TREASURER DEPT      PO BOX 26585 RICHMOND VA 23285
CHESTNUT STREET TRANSPORT & RECOVERY    PO BOX 30198 KNOXVILLE TN 37930
INC
CHESTNUT, TIMOTHY                       ADDRESS ON FILE
CHESTNUT, TROY                          ADDRESS ON FILE
CHETS ELECTRIC LLC                      106 SE EVERGREEN, SUITE D REDMOND OR 97756
CHETS HONDA                             ADDRESS ON FILE
CHETS LOCK & KEY                        4587 INDIAN CREEK PARKWAY OVERLAND PARK KS 66207
CHEUNG, EDDIE                           ADDRESS ON FILE
CHEVALIER, ANDRES                       ADDRESS ON FILE
CHEVELLE WORLD                          9180 SE 72ND NOBLE OK 73068
CHEVERES, ANDRE                         ADDRESS ON FILE
CHEVERES, ANGEL                         ADDRESS ON FILE
CHEVEZ, RAMON A                         ADDRESS ON FILE
CHEVRON CANADA LIMITED                  500 FIFTH AVENUE S.W. CALGARY AB T2P 0L7 CANADA
CHEVRON PRODUCTS COMPANY                PO BOX 730348 DALLAS TX 75373
CHEVRON PRODUCTS COMPANY                PO BOX 730348 DALLAS TX 75373-0348
CHEVY CHASE EXPRESS INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
CHEWY INC                               ATTN: JENNY LYON ACCOUNTS RECEIVABLE PO BOX 936874 ATLANTA GA 31193
CHH CARRIER INC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
CHHABRA ROAD CARRIERS INC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CHHANN, NATHAN                          ADDRESS ON FILE
CHHEANG, SOMARA                         ADDRESS ON FILE
CHHOEURN, CHANNA                        ADDRESS ON FILE
CHHUN, BUNNATH                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 361 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 370 of 2156

Claim Name                              Address Information
CHHUN, BUNNAVUTH                       ADDRESS ON FILE
CHHUN, PAULINA                         ADDRESS ON FILE
CHI LOGISTIC INC                       1884 FAIRMONT AVE CLOVIS CA 93611
CHI LOGISTICS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHIA DEX VENTURES LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHIABI, BRENDEN                        ADDRESS ON FILE
CHIANCOLA, DEREK                       ADDRESS ON FILE
CHIARAPPA, FRANK                       ADDRESS ON FILE
CHIARAPPA, MICHAEL                     ADDRESS ON FILE
CHIARELLO, MICHAEL                     ADDRESS ON FILE
CHIAUDANO, PATRICK                     ADDRESS ON FILE
CHIAVETTAS CATERING SERVI              KATHLEEN CHIAVETTA, PO BOX 216 BRANT NY 14027
CHICAGO AIR FREIGHT INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CHICAGO AUTO GLASS INC                 1985 E LINCOLN HWY LYNWOOD IL 60411
CHICAGO CARRIERS GROUP INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CHICAGO CENTRAL VMF                    740 S. CANAL CHICAGO IL 60699
CHICAGO DEPARTMENT OF FINANCE          233 S WACKER DR SUITE 4030 COST RECOVERY & COLLECTIONS DV CHICAGO IL 60606
CHICAGO EMPIRE INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CHICAGO FIRE DEPARTMENT                3510 MICHIGAN, 2 FL CHICAGO IL 60653
CHICAGO LOGISTIC SERVICE, INC.         701 WESEMANN DR WEST DUNDEE IL 60118
CHICAGO METAL ROLLED PRODUCTS          ATTN: KENT LOCKETT SHIPPING 3715 S ROCKWELL CHICAGO IL 60632
CHICAGO RIDGE COLLISION CENTER         6733 KITTY AVENUE CHICAGO RIDGE IL 60415
CHICAGO SOFT LTD                       16 BUCK ROAD 2ND FL HANOVER NH 03755
CHICAGO SOFT LTD                       2456 CHRISTIAN ST U1 WHITE RIVER JUNCTION VT 05001
CHICAGO TITLE INSURANCE COMPANY        10 S. LASALLE STREET, SUITE 3100 CHICAGO IL 60603
CHICAGO TITLE LAND AND TRUST COMPANY   18 W 460 91ST STREET LEMONT IL 60439
CHICAGO TITLE LAND TRUST COMPANY       ATTN: TED STURCZULA 18 W 460 91ST STEET LEMONT IL 60439
CHICAGOAN LOGISTIC COMPANY             OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
CHICAGOS TRANSPORT                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHICARGO FREIGHT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CHICAUL, LANCE                         ADDRESS ON FILE
CHICHESTER HAY&STRAW                   221 MAIN ST SCHOHARIE NY 12157
CHICK TEAK INC                         8251 STATE HWY 59 FOLEY AL 36535
CHICKEN AND WHISKEYBALL PARK           70 N. STREET STE. 119 WASHINGTON DC 20003
CHICKS TOWING & TRUCK SERVICE          1000 UNION LANDING ROAD CINNAMINSON NJ 08077
CHICO IMMEDIATE CARE MEDICAL CENTER INC 376 VALLOMBROSA AVE CHICO CA 95926
CHIDI TRUCKING                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
CHIDICON, OMAR                         ADDRESS ON FILE
CHIDOS TRUCKING LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
CHIEF ACES TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHIEF PONTIAC EXPRESS LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CHIEF UNDERGROUND SERVICES LLC         PO BOX 1899 ROCKWALL TX 75087
CHIEFFO, FRANCIS                       ADDRESS ON FILE
CHIHUAS TRANSPORT LLC                  OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
CHIKA OBILOR                           ADDRESS ON FILE
CHIKE, STEPHEN                         ADDRESS ON FILE
CHIKUMBA, RAPHIAS                      ADDRESS ON FILE
CHILD TRUCK LINE, INC.                 7001 S UNION RIDGE PKWY STE 140 RIDGEFIELD WA 98642
CHILDERS, CHARLES                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 362 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 371 of 2156

Claim Name                              Address Information
CHILDERS, CHRIS                         ADDRESS ON FILE
CHILDERS, JARED                         ADDRESS ON FILE
CHILDERS, JIMMY                         ADDRESS ON FILE
CHILDERS, PAUL                          ADDRESS ON FILE
CHILDERS, PAUL                          ADDRESS ON FILE
CHILDERS, STEPHEN                       ADDRESS ON FILE
CHILDRES, CHARLES                       ADDRESS ON FILE
CHILDRESS BROTHERS LLC                  OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
CHILDRESS, FRANK                        ADDRESS ON FILE
CHILDRESS, LESLIE                       ADDRESS ON FILE
CHILDRESS, MATTHEW                      ADDRESS ON FILE
CHILDRESS, RICHARD                      ADDRESS ON FILE
CHILDRESS, SHAWNA                       ADDRESS ON FILE
CHILDRESS, STACIE                       ADDRESS ON FILE
CHILDRESS, VANESSA                      ADDRESS ON FILE
CHILDRESS/DON KENNEDY ROOFING           815 FESSLERS LANE NASHVILLE TN 37210
CHILDS VAULT COMPANY                    116 STRINGER RD. ANDERSON SC 29621
CHILDS, ALVIN L                         ADDRESS ON FILE
CHILDS, BENJAMIN                        ADDRESS ON FILE
CHILDS, BILL                            ADDRESS ON FILE
CHILDS, CANWAR                          ADDRESS ON FILE
CHILDS, CIERRA                          ADDRESS ON FILE
CHILDS, DENNIS M                        ADDRESS ON FILE
CHILDS, DONTOI                          ADDRESS ON FILE
CHILDS, DONTOI                          ADDRESS ON FILE
CHILDS, RICHARD                         ADDRESS ON FILE
CHILDS, SHALA                           ADDRESS ON FILE
CHILES, BOBBI                           ADDRESS ON FILE
CHILES, LARRY                           ADDRESS ON FILE
CHILL, SIERRA                           ADDRESS ON FILE
CHILL, SIERRA C                         ADDRESS ON FILE
CHILLIS, TRAVIS                         ADDRESS ON FILE
CHILUKA TRUCKING ENTERPRISE             9902 MC PHERSON RD LAREDO TX 78045
CHIN, KEITH                             ADDRESS ON FILE
CHINA INTERNATIONAL MARINE CONTAINERS   R&D CENTER CIMC NO 2 GANGWAN ROAD GUANGDONG 999077 CHINA
CHINCHAR, JOSEPH                        ADDRESS ON FILE
CHINOHS WORLD TRANSPORTATION LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CHINOLAS TRANSPORT INC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CHINOOK SERVICES                        12811 8TH AVE W STE C201 EVERETT WA 98204
CHIOLO, NICHOLAS                        ADDRESS ON FILE
CHIONG, GUILLERMO                       ADDRESS ON FILE
CHIP ADAMS SEWER & DRAIN CLEANING       PO BOX 540 BLOOMSBURG PA 17815
CHIP EXPRESS LLC                        PO BOX 342 CHAGRIN FALLS OH 44022
CHIPLEY, GLENN                          ADDRESS ON FILE
CHIPMAN, EVAN                           ADDRESS ON FILE
CHIPMAN, RANDY                          ADDRESS ON FILE
CHIPPER LLC                             14273 CUMMING HWY. CUMMING GA 30040
CHIPPEWA COUNTY TREASURER               711 N BRIDGE ST CHIPPEWA FALLS WI 54729
CHIPPEWA TRANSPORTATION INC             PO BOX 299 ALBION MI 49224



Epiq Corporate Restructuring, LLC                                                                   Page 363 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 372 of 2156

Claim Name                           Address Information
CHIPS REPAIR & TOWING                1137 MYRTLE ST SUFFOLK VA 23434
CHIRINO, LUIS                        ADDRESS ON FILE
CHIRON CARGO                         ADDRESS ON FILE
CHIRP N DALES PET SUPPLY             ATTN: SUE WHITEWAY 293 293 ROGERS RD RD BERRY MILLS NB E1G 2N4 CANADA
CHISHOLM EXPRESS TRUCKING            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
CHISHOLM, ANDREW                     ADDRESS ON FILE
CHISHOLM, BRYANT K                   ADDRESS ON FILE
CHISM, GERRY                         ADDRESS ON FILE
CHISM, KIM                           ADDRESS ON FILE
CHISM, LARRY                         ADDRESS ON FILE
CHISMAR, DOUGLAS E                   ADDRESS ON FILE
CHISOLM, TAQUAN                      ADDRESS ON FILE
CHITIRALA, NAGA                      ADDRESS ON FILE
CHITWOOD, JOHN                       ADDRESS ON FILE
CHITWOOD, SCOT                       ADDRESS ON FILE
CHIUSANO, ROBERT                     ADDRESS ON FILE
CHIVY TRANSPORT LLC                  7325 MADISON ST MERRILLVILLE IN 46410
CHIYO TRUCKING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CHLOPECKA, ANNA                      ADDRESS ON FILE
CHMIELEWSKI, ROBERT                  ADDRESS ON FILE
CHOATE, COURTNEY                     ADDRESS ON FILE
CHOATE, DANNY                        ADDRESS ON FILE
CHOATE, LORI                         ADDRESS ON FILE
CHOATE, ROGER                        ADDRESS ON FILE
CHOATE, ROGER W                      ADDRESS ON FILE
CHOATE, WILLIAM                      ADDRESS ON FILE
CHOCKLEY, GREGORY                    ADDRESS ON FILE
CHOCOLATE SHOP                       2221 DANIELS ST MADISON WI 53718
CHODOROWSKI, TOMASZ                  ADDRESS ON FILE
CHODOROWSKI, TOMASZ                  ADDRESS ON FILE
CHOFF, PHILLIP F                     ADDRESS ON FILE
CHOI, PETER                          ADDRESS ON FILE
CHOICE EQUIPMENT COMPANY             540 HOG MOUNTAIN RD STE 130 JEFFERSON GA 30549
CHOICE LANDSCAPE & LAWN CARE         PO BOX 73 HAMILTON MI 49419
CHOICE TOWING                        8505 TULANE ROAD SOUTHAVEN MS 38671
CHOICE TRANSPORTATION                200 TREMON STREET GORDON GA 31031
CHOINACKI, STEVEN                    ADDRESS ON FILE
CHOISELAT, RENALD                    ADDRESS ON FILE
CHOKEIR, FOUAD                       ADDRESS ON FILE
CHOLEWKA, BRADLEY                    ADDRESS ON FILE
CHOMICZ, ZBIGNIEW                    ADDRESS ON FILE
CHOMICZ, ZBIGNIEW                    ADDRESS ON FILE
CHOPIN, ANTHONY                      ADDRESS ON FILE
CHOPRA, JASBIR                       ADDRESS ON FILE
CHOPTANK TRANSPORT                   ATTN: MAGGIE SMALL-FERGUSON 3601 CHOPTANK RD PRESTON MD 21655
CHORES LLC                           1200 BROADWAY APT 1105 NASHVILLE TN 37203-5144
CHOSEN ONE TRANSPORT LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CHOUDHARY, NEHA                      ADDRESS ON FILE
CHOWEN, MATTHEW                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 364 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 373 of 2156

Claim Name                            Address Information
CHOZEN ENTERPRISES INC.               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CHOZEN LLC                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CHP GLOBAL INC                        1112 W BOUGHTON ROAD UNIT 255 BOLINGBOOK IL 60440
CHRESTIANSEN, JUSTINE                 ADDRESS ON FILE
CHRIETZBERG, MELISSA                  ADDRESS ON FILE
CHRIS & BOWEN INC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CHRIS A JOHNSON                       ADDRESS ON FILE
CHRIS A MICCICHE                      ADDRESS ON FILE
CHRIS B TREBLE                        ADDRESS ON FILE
CHRIS BEAMER                          ADDRESS ON FILE
CHRIS DAVIES                          ADDRESS ON FILE
CHRIS ESCAMILLA                       ADDRESS ON FILE
CHRIS GODFREY TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CHRIS J ELLIS                         ADDRESS ON FILE
CHRIS J HOLLAND                       ADDRESS ON FILE
CHRIS K BROWN                         ADDRESS ON FILE
CHRIS KING                            ADDRESS ON FILE
CHRIS LINES COMPANY                   2533 ARCADIA CIRCLE NAPERVILLE IL 60540
CHRIS M BOWSER                        ADDRESS ON FILE
CHRIS NECOLOFF                        ADDRESS ON FILE
CHRIS RIEDEL                          ADDRESS ON FILE
CHRIS ROWAN                           ADDRESS ON FILE
CHRIS SAVARD                          ADDRESS ON FILE
CHRIS SULTEMEIER                      ADDRESS ON FILE
CHRIS TRANSPORT LLC                   OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CHRIS TRUCK LINE                      12849 GALAXY DR FRISCO TX 75035
CHRIS TRUCKING LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CHRISMONA FREIGHT INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CHRISS HANDYMAN SERVICE LLC           1414 BROKEN CIRCLE CHESTER SC 29706
CHRISS SEPTIC SERVICE INC             PO BOX 3331 RIVERVIEW FL 33568
CHRISS, ROY                           ADDRESS ON FILE
CHRIST, MICHAEL                       ADDRESS ON FILE
CHRISTELIA Y LAFUENTE                 ADDRESS ON FILE
CHRISTEN, MAX                         ADDRESS ON FILE
CHRISTENSEN EXCAVATION CO INC         6625 C ST OMAHA NE 68106
CHRISTENSEN, BRET                     ADDRESS ON FILE
CHRISTENSEN, BRET                     ADDRESS ON FILE
CHRISTENSEN, CODY                     ADDRESS ON FILE
CHRISTENSEN, DAVID                    ADDRESS ON FILE
CHRISTENSEN, ELLY                     ADDRESS ON FILE
CHRISTENSEN, JEREMY                   ADDRESS ON FILE
CHRISTENSEN, JUSTIN                   ADDRESS ON FILE
CHRISTENSEN, MERRILL                  ADDRESS ON FILE
CHRISTENSEN, RICK L                   ADDRESS ON FILE
CHRISTENSEN, SHELLY                   ADDRESS ON FILE
CHRISTENSEN, WILLIAM                  ADDRESS ON FILE
CHRISTENSEN, WILLIAM                  ADDRESS ON FILE
CHRISTENSENS URBAN INSECT SOLUTIONS   DBA TRULY NOLEN, 688 GROT DR LEXINGTON KY 40505
CHRISTENSON ELECTRIC INC              17201 NE SACRAMENTO ST PORTLAND OR 97230



Epiq Corporate Restructuring, LLC                                                                 Page 365 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 374 of 2156

Claim Name                           Address Information
CHRISTENSON, JOHN                    ADDRESS ON FILE
CHRISTI L BASHORE                    ADDRESS ON FILE
CHRISTIAN & SMALL LLP                505 20TH ST N STE 1800 BIRMINGHAM AL 35203
CHRISTIAN AND BRINNMITCHELL          ADDRESS ON FILE
CHRISTIAN AND SMITH CARRIERS LLC     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CHRISTIAN CHANCE                     ADDRESS ON FILE
CHRISTIAN D GOMEZ                    ADDRESS ON FILE
CHRISTIAN F SHUTE                    ADDRESS ON FILE
CHRISTIAN M POWELL                   ADDRESS ON FILE
CHRISTIAN TRANSPORT                  16048 SE FLAVEL DR PORTLAND OR 97236
CHRISTIAN, BRANEN                    ADDRESS ON FILE
CHRISTIAN, CELESTE                   ADDRESS ON FILE
CHRISTIAN, DARRELL                   ADDRESS ON FILE
CHRISTIAN, DARROW L                  ADDRESS ON FILE
CHRISTIAN, DEAN                      ADDRESS ON FILE
CHRISTIAN, JACK                      ADDRESS ON FILE
CHRISTIAN, KENNY                     ADDRESS ON FILE
CHRISTIAN, ROBERT                    ADDRESS ON FILE
CHRISTIAN, TRENTON & JULIE           ADDRESS ON FILE
CHRISTIAN, WILLIAM                   ADDRESS ON FILE
CHRISTIANA, JULIUS                   ADDRESS ON FILE
CHRISTIANSEN, JOSHUA                 ADDRESS ON FILE
CHRISTIANSEN, LARRY                  ADDRESS ON FILE
CHRISTIANSEN, MARK                   ADDRESS ON FILE
CHRISTIANSEN, MIKE                   ADDRESS ON FILE
CHRISTIANSEN, RICK                   ADDRESS ON FILE
CHRISTIANSEN, TOM                    ADDRESS ON FILE
CHRISTIANSON IND INC                 27328 MAY ST EDWARDSBURG MI 49112
CHRISTIE MACHINE WORKS CO INC        425 W MCCARTY ST INDIANAPOLIS IN 46225
CHRISTIE, CHRISTOPHER                ADDRESS ON FILE
CHRISTIE, CRAIG                      ADDRESS ON FILE
CHRISTIE, JARRELL                    ADDRESS ON FILE
CHRISTIE, JOHN                       ADDRESS ON FILE
CHRISTIE, MICHAEL                    ADDRESS ON FILE
CHRISTINA JASSO                      ADDRESS ON FILE
CHRISTINA LIKELY                     ADDRESS ON FILE
CHRISTINA STEARNS                    ADDRESS ON FILE
CHRISTINAS SMILE                     ADDRESS ON FILE
CHRISTINAS SMILE                     ADDRESS ON FILE
CHRISTINAS SMILE INC                 C/O DIANE GARZA 11512 TIN CUP DRIVE, STE 102 AUSTIN TX 78750
CHRISTINE CYPRET                     ADDRESS ON FILE
CHRISTINE M ROY                      ADDRESS ON FILE
CHRISTINE R ALLEN                    ADDRESS ON FILE
CHRISTMAN, ALBERT                    ADDRESS ON FILE
CHRISTMAN, KENNETH                   ADDRESS ON FILE
CHRISTMAN, PAUL                      ADDRESS ON FILE
CHRISTMAS, BRENT                     ADDRESS ON FILE
CHRISTMAS, JAIDEN                    ADDRESS ON FILE
CHRISTMAS, KELVIN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 366 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                       Page 375 of 2156

Claim Name                           Address Information
CHRISTOFFERSEN, VIRGIL               ADDRESS ON FILE
CHRISTOFFERSEN, WAYNE                ADDRESS ON FILE
CHRISTOFFERSON, LEVI                 ADDRESS ON FILE
CHRISTOPHER A BURT                   ADDRESS ON FILE
CHRISTOPHER A FOEKS                  ADDRESS ON FILE
CHRISTOPHER B HOLDEN                 ADDRESS ON FILE
CHRISTOPHER C ARMSTRONG              ADDRESS ON FILE
CHRISTOPHER D DUNLAP                 ADDRESS ON FILE
CHRISTOPHER D ESCAMILLA              ADDRESS ON FILE
CHRISTOPHER D JAMISON                ADDRESS ON FILE
CHRISTOPHER D MADDEN                 ADDRESS ON FILE
CHRISTOPHER D MOUTON                 ADDRESS ON FILE
CHRISTOPHER D PIEROG                 ADDRESS ON FILE
CHRISTOPHER D SCHETTER               ADDRESS ON FILE
CHRISTOPHER D TRUTZA                 ADDRESS ON FILE
CHRISTOPHER DIMALANTA                ADDRESS ON FILE
CHRISTOPHER DONOVAN                  ADDRESS ON FILE
CHRISTOPHER H HORNSBY                ADDRESS ON FILE
CHRISTOPHER J DENNIS                 ADDRESS ON FILE
CHRISTOPHER J DIQUARTO               ADDRESS ON FILE
CHRISTOPHER J GUILLORY               ADDRESS ON FILE
CHRISTOPHER J LEMMA                  ADDRESS ON FILE
CHRISTOPHER J MALONEY                ADDRESS ON FILE
CHRISTOPHER J ZARLENGA               ADDRESS ON FILE
CHRISTOPHER K BATES                  ADDRESS ON FILE
CHRISTOPHER L COOPMAN                ADDRESS ON FILE
CHRISTOPHER L KILLIAN                ADDRESS ON FILE
CHRISTOPHER L WARREN                 ADDRESS ON FILE
CHRISTOPHER M DEPASS                 ADDRESS ON FILE
CHRISTOPHER M JOHNSEN                ADDRESS ON FILE
CHRISTOPHER M LEE                    ADDRESS ON FILE
CHRISTOPHER M LEE                    ADDRESS ON FILE
CHRISTOPHER M MARTINEZ               ADDRESS ON FILE
CHRISTOPHER M MERRITT                ADDRESS ON FILE
CHRISTOPHER M REEDY                  ADDRESS ON FILE
CHRISTOPHER M REEDY                  ADDRESS ON FILE
CHRISTOPHER M SELF                   ADDRESS ON FILE
CHRISTOPHER M SOTO                   ADDRESS ON FILE
CHRISTOPHER MARLES                   ADDRESS ON FILE
CHRISTOPHER PATTEN                   ADDRESS ON FILE
CHRISTOPHER R FOX                    ADDRESS ON FILE
CHRISTOPHER R TURNER                 ADDRESS ON FILE
CHRISTOPHER RANDALL                  ADDRESS ON FILE
CHRISTOPHER ROSALES                  ADDRESS ON FILE
CHRISTOPHER S ALLEN                  ADDRESS ON FILE
CHRISTOPHER S STEELE                 ADDRESS ON FILE
CHRISTOPHER SANTIAGO                 ADDRESS ON FILE
CHRISTOPHER SCOTT                    ADDRESS ON FILE
CHRISTOPHER T PALMER                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 367 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 376 of 2156

Claim Name                             Address Information
CHRISTOPHER TRUCKS                     P O BOX 8677 GREENVILLE SC 29604
CHRISTOPHER W HOOD                     ADDRESS ON FILE
CHRISTOPHER WENCERD                    ADDRESS ON FILE
CHRISTOPHER, DANIEL                    ADDRESS ON FILE
CHRISTOPHER, JAVAN                     ADDRESS ON FILE
CHRISTOPHER, KALE                      ADDRESS ON FILE
CHRISTOPHER, MARILYN                   ADDRESS ON FILE
CHRISTOPHER, MATTHEW                   ADDRESS ON FILE
CHRISTY REAL ESTATE LLC                339 C BLISS ST WEST SPRINGFIELD MA 01089
CHRISTY REAL ESTATE LLC                ATTN: JOHN NEKITOPOULOS 339-C BLISS STREET WEST SPRINGFIELD MA 01089
CHRISTYS EXPEDITE SERVICES LLC         OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
CHRITTON, CHRIS                        ADDRESS ON FILE
CHRLTL0060073579)                      14800 CHARLSON RD STE 2100 EDEN PRAIRIE MN 55347
CHROMA DESIGNS & GRAPHICS LLC          5143 US-11 WEST ROGERSVILLE TN 37857
CHROMALOX                              DATA2LOGISTICSLLC, PO BOX 57990-0990 SALT LAKE CITY UT 84107
CHROME BULLET TRUCKING INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CHROME STAR TRUCKING LLC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
CHRONISTERS FIRE PROTECTION SERVICES   PO BOX 859 CARLISLE PA 17013
CHRZANOWSKI, KENNETH                   ADDRESS ON FILE
CHS EASTERN FARMERS                    D/B/A: CHS SIOUX FALLS PROPANE PO BOX 198 CANTON SD 57013
CHS SIOUX FALLS PROPANE                PO BOX 20 BRANDON SD 57005
CHS SIOUX FALLS PROPANE                CHS SIOUX FALLS PROPANE, PO BOX 198 CANTON SD 57013
CHS SIOUX FALLS PROPANE                PO BOX 198 CANTON SD 57013
CHS SIOUX FALLS PROPANE                1211 N ELLIS RD 101 SIOUX FALLS SD 57107
CHUBATY, VANESSA                       ADDRESS ON FILE
CHUBB                                  C/O ACE AMERICAN INSURANCE COMPANY 436 WALNUT ST PHILADELPHIA PA 19106
CHUBB                                  C/O ACE PROPERTY & CASUALTY INSURANCE CO 436 WALNUT ST PHILADELPHIA PA 19106
CHUBB                                  C/O FEDERAL INSURANCE CO ATTN: ADRIENNE LOGAN, LEGAL ANALYST 436 WALNUT ST
                                       PHILADELPHIA PA 19106
CHUBB                                  C/O ILLINOIS UNION INS. CO. ATTN: JOHN PAUL TAYLOR 436 WALNUT STREET
                                       PHILADELPHIA PA 19106
CHUBB BERMUDA INSURANCE, LTD.          17 WOODBOURNE AVE HAMILTON HM 08 BERMUDA
CHUBB FIRE & SECURITY CANADA INC.      5201 EXPLORER DR MISSISSAUGA ON L4W 4H1 CANADA
CHUBB FIRE & SECURITY CANADA INC.      P.O. BOX 57005 STATION A TORONTO ON M5W 5M5 CANADA
CHUBB GROUP                            436 WALNUT STREET 10TH FLOOR PHILADELPHIA PA 19107
CHUBB, DAVID                           ADDRESS ON FILE
CHUBB, HUNTER                          ADDRESS ON FILE
CHUBB, MATTHEW                         ADDRESS ON FILE
CHUBB, STEVEN                          ADDRESS ON FILE
CHUBS TOWING & RECOVERY                1100 T. L. TOWNSEND DR ROCKWALL TX 75087
CHUCK AND JACKIE TRUCKING LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CHUCK THACKER                          ADDRESS ON FILE
CHUCKS BOOTS AND LEATHERS              PO BOX 1850 LEES SUMMIT MO 64063
CHUCKS HEATING & A/C INC               P O BOX 53 COLCHESTER VT 05446
CHUCKS TOWING SERVICE                  48 W TAYLOR AVE HAMILTON NJ 08610
CHUCKWAGON TRANSPORT LLC               7491 N US HIGHWAY 129 BELL FL 32619
CHUDA, JOHN                            ADDRESS ON FILE
CHUINARD, CARMEN                       ADDRESS ON FILE
CHUMBLEY, ETHAN                        ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                   Page 368 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 377 of 2156

Claim Name                            Address Information
CHUN WAH TSO                          ADDRESS ON FILE
CHUN, EDMOND                          ADDRESS ON FILE
CHUNG, JAKE                           ADDRESS ON FILE
CHUNG, JUNG                           ADDRESS ON FILE
CHUNG, SOOK                           ADDRESS ON FILE
CHUNG, SUSAN                          ADDRESS ON FILE
CHUNG, SUSAN                          ADDRESS ON FILE
CHURCH & DWIGHT CO INC                ATTN: MORGAN WHITE 500 CHARLES EWING BLVD EWING NJ 08628
CHURCH & DWIGHT CO INC                ATTN: MORGAN WHITE FRANCES BORMAN 500 CHARLES EWING BLVD EWING NJ 08628
CHURCH TRANSPORTATION AND LOGISTICS   PO BOX 65 BIRMINGHAM AL 35201
CHURCH, ADAM                          ADDRESS ON FILE
CHURCH, JUSTIN                        ADDRESS ON FILE
CHURCH, KENT                          ADDRESS ON FILE
CHURCH, KEVIN                         ADDRESS ON FILE
CHURCH, MARY                          ADDRESS ON FILE
CHURCH, TANNER                        ADDRESS ON FILE
CHURCH, TYLER                         ADDRESS ON FILE
CHURCHILL TRANSPORTATION, INC.        OR TAB BANK, PO BOX 150983 OGDEN UT 84415
CHUSTZ ELECTRIC LLC                   PO BOX 654 PORT ALLEN LA 70767
CHUTES INTL                           ATTN: KIERSTIN MOULDEN TRANSLOGISTICS 321 N. FURNACE STREET SUITE 300
                                      BIRDSBORO PA 19508
CHUWAN, INDRA                         ADDRESS ON FILE
CHUY & SON TRANSPORT LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CHYLINSKI, JACOB E                    ADDRESS ON FILE
CHYNGA INC                            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CI INVESTMENT SVCS/CDS (5085)         ATT DEBORAH CARLYLE/PROXY MGR 4100 YONGE ST STE 504A TORONTO ON M2P 2G2 CANADA
CIA TRANSPORT                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CIA TRANSPORT INC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CIA TRANSPORTATION LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CIAMPRONE, SAMUEL                     ADDRESS ON FILE
CIANCUTTI, ALEXANDER                  ADDRESS ON FILE
CIBC WORLD MKTS CORP (0438)           MICHAEL CASTAGLIOLA/PROXY MGR 425 LEXINGTON AV 5TH FL NEW YORK NY 10017
CIBC WORLD MKTS. /CDS (5030)          ATT REED JON OR PROXY DEPT 22 FRONT ST. W. 7TH FL TORONTO ON M5J 2W5 CANADA
CIBRALIC TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CIBRIAN TRUCKING                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
CIBULKA, CHRISTINA                    ADDRESS ON FILE
CICCARELLI, LISA                      ADDRESS ON FILE
CICCARELLI, PETER                     ADDRESS ON FILE
CICCHINI, JAMES                       ADDRESS ON FILE
CICCONI, LINDA                        ADDRESS ON FILE
CICE, MARK                            ADDRESS ON FILE
CICERO, GREGORY                       ADDRESS ON FILE
CICEROS MOVING & STORAGE LLC          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CICEROS MOVING & STORAGE, LLC         PO BOX 166 MACON GA 31206
CICHOCKI, DAVID                       ADDRESS ON FILE
CICHRA, DAVID                         ADDRESS ON FILE
CICHUTTEK, HEATHER                    ADDRESS ON FILE
CID EXPEDITE LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CID, SHAIDT                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 369 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 378 of 2156

Claim Name                              Address Information
CIE TRANSPORT INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CIEMINSKI, TIMOTHY                      ADDRESS ON FILE
CIENFUEGOS, CHARLES R                   ADDRESS ON FILE
CIENFUEGOS, ROBERTO                     ADDRESS ON FILE
CIESIELSKI, WALTER                      ADDRESS ON FILE
CIESLAK, WALTER                         ADDRESS ON FILE
CIFALDI, JOSEPH P                       ADDRESS ON FILE
CIFUENTES, ELVI                         ADDRESS ON FILE
CIFUENTES, MARIO J                      ADDRESS ON FILE
CIFUENTES, MIGUEL                       ADDRESS ON FILE
CILANO, MARC                            ADDRESS ON FILE
CILLI JR, GERALD B                      ADDRESS ON FILE
CIMAGLIA, ANGELO                        ADDRESS ON FILE
CIMAGLIO, ANTHONY                       ADDRESS ON FILE
CIMALA, DEREK                           ADDRESS ON FILE
CIMC CAPITAL                            ATTN: GENERAL COUNSEL 263 SHUMAN BLVD SUITE 147 NAPERVILLE IL 60563
CIMC REEFER TRAILER                     ATTN: CHRIS SIMS 717 E. QUARRY RD. MONON IN 47959
CIMMINO, KATIE J                        ADDRESS ON FILE
CIMMINO, TIGE                           ADDRESS ON FILE
CIMRAN TRANSPORT                        24 BRYDON DRIVE UNIT 1 ETOBICOKE ON M9W 5R6 CANADA
CINCINNATI BELL INC.                    D/B/A: ALTAFIBER PO BOX 748003 CINCINNATI OH 45274
CINCINNATI RADIATOR INC.                3400 PORT UNION RD HAMILTON OH 45014
CINCINNATI SAFETY FIRE -                PROTECTION SERVICES LLC, 21334 FOX RIDGE LAWRENCEBURG IN 47025
CINCY SAFETY FIRE PROTECTION SVCS LLC   3484 RIVER RD CINCINNATI OH 45204
CINDY C CARPENTER                       ADDRESS ON FILE
CINDY K TAYLOR                          ADDRESS ON FILE
CINDY STACEY                            ADDRESS ON FILE
CINELEASE, INC.                         ATTN: GENERAL COUNSEL 5375 W. SAN FERNANDO RD LOS ANGELES CA 90039
CINEUS, FRANTZY                         ADDRESS ON FILE
CINKO, JOSEPH                           ADDRESS ON FILE
CINNAMINSON FIRE DISTRICT               1 OFFICE OF THE FIRE MARSHAL 1621 RIVERTON ROAD CINNAMINSON NJ 08077
CINNAMINSON SEWER AUTHORITY             1621 RIVERTON RD. CINNAMINSON NJ 08077
CINNAMINSON TOWNSHIP TAX COLLECTOR      1621 RIVERTON RD CINNAMINSON NJ 08077
CINQMARS, JASON                         ADDRESS ON FILE
CINQUE, LAWRENCE                        ADDRESS ON FILE
CINTAS                                  CINTAS CORPORATION 071, P.O. BOX 630910 CINCINNATI OH 45263
CINTAS                                  CINTAS CORPORATION 354, P.O. BOX 630910 CINCINNATI OH 45263
CINTAS                                  P.O. BOX 630803 CINCINNATI OH 45263
CINTAS                                  P.O. BOX 630910 CINCINNATI OH 45263
CINTAS                                  P.O. BOX 630921 CINCINNATI OH 45263
CINTAS                                  P.O. BOX 631025 CINCINNATI OH 45263
CINTAS                                  PO BOX 636525 CINCINNATI OH 45263
CINTAS                                  P.O. BOX 630910 CINCINNATI OH 45263-0910
CINTAS                                  PO BOX 631025 CINCINNATI OH 45263-1025
CINTAS                                  P.O. BOX 740855 CINCINNATI OH 45274
CINTAS                                  P.O. BOX 88005 CHICAGO IL 60680
CINTAS                                  7700 BENT BRANCH DR STE 130 IRVING TX 75063
CINTAS                                  CINTAS CORP 163, PO BOX 650838 DALLAS TX 75265
CINTAS                                  P.O. BOX 650838 DALLAS TX 75265



Epiq Corporate Restructuring, LLC                                                                   Page 370 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 379 of 2156

Claim Name                               Address Information
CINTAS                                   P.O. BOX 29059 PHOENIX AZ 85038
CINTAS 22                                PO BOX 630921 CINCINNATI OH 45263
CINTAS 22                                P.O. BOX 630921 CINCINNATI OH 45263-0921
CINTAS CANADA LTD                        255 HARRY WALKER NEWMARKET ON L3Y7B3 CANADA
CINTAS CANADA LTD                        DEP. 400004, PO BOX 4372 STATION A TORONTO ON M5W 0J2 CANADA
CINTAS CANADA LTD                        P, O, BOX 400004 TORONTO ON M5W 0J2 CANADA
CINTAS CANADA LTD                        C/O C3005, PO BOX 2572 STN M CALGARY AB T2P 3L4 CANADA
CINTAS CANADA LTD                        P.O. BOX 3005 CALGARY AB T2P 3L4 CANADA
CINTAS CORP                              PO BOX 631025 CINCINNATI OH 45263
CINTAS CORP 061                          PO BOX 630803 CINCINNATI OH 45263
CINTAS CORPORATION                       PO BOX 88005 CHICAGO IL 60680-1005
CINTAS CORPORATION 319                   PO BOX 88005 CHICAGO IL 60680
CINTAS CORPORATION.                      PO BOX 630803 CINCINNATI OH 45263
CINTAS FAS LOCKBOX 636525                PO BOX 631025 CINCINNATI OH 45263
CINTAS FAS LOCKBOX 636525                PO BOX 636525 CINCINNATI OH 45263
CINTAS FIRE PROTECTION                   PO BOX 636525 CINCINNATI OH 45263
CINTAS FIRE PROTECTION                   1080 CORPORATE BOULEVARD AURORA IL 60502
CINTERLOOP LLC                           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CINTRON TRUCKING LLC                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CINTRON, GEORGE                          ADDRESS ON FILE
CINTRON, LEGACY                          ADDRESS ON FILE
CINTRON, MELISSA                         ADDRESS ON FILE
CIOFFI, JOSEPH                           ADDRESS ON FILE
CIONI, GINO                              ADDRESS ON FILE
CIPOLLA, PHILIP                          ADDRESS ON FILE
CIPRIAN, PEDRO                           ADDRESS ON FILE
CIR ELECTRICAL CONSTRUCTION CORP.        2517 LONG ROAD GRAND ISLAND NY 14072
CIRAFICE, MATTHEW                        ADDRESS ON FILE
CIRCELLI, JOE                            ADDRESS ON FILE
CIRCLE C EQUIPMENT LLC                   942 TIMBER CROSSING BLANCHARD OK 73010
CIRCLE DOT LLC                           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CIRCLE EXPRESS INTERNATIONAL GROUP INC   15350 STAFFORD ST CITY OF INDUSTY CA 91744
CIRCLE FREIGHT INC                       OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
CIRCLE K                                 2200 S. HWY. 29 STE. B CANTONMENT FL 32533
CIRCLE M TRUCK REPAIR, INC.              A/R 4605 SCALLOWAY BAKERSFIELD CA 93312
CIRCLE O INC                             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
CIRCLE ONE EXPRESS TRANSPORTATION LLC    632 HOWELL DR LOCUST GROVE GA 30248
CIRCLE PRIME INC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CIRCLE PROSCO                            401 N GATES DR BLOOMINGTON IN 47404
CIRCLE T TRANSPORT INC                   13 CRANBERRY LANE LA BROQUERIE WEST MB R0A 0W1 CANADA
CIRCLE T TRANSPORTATION INC              OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
CIRCLE T TRUCK & TRAILER REPAIR LLC      PO BOX 769 TOLLESON AZ 85353
CIRCLE TRANSPORTATION, INC.              PO BOX 8067 FORT WAYNE IN 46898
CIRCLE V ENERGY SERVICES LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CIRCO INNOVATIONS C/O ECHO               ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
CIRCUIT COURT - WILL COUNTY              100 W JEFFERSON ST JOLIET IL 60432
CIRCUITS WEST LLC                        ATTN: CHARLES ANDERSON 410 S SUNSET ST D LONGMONT CO 80501
CIRILIUM STONE LOGISTIC LLC              OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
CIS LOGISTICS INC                        15218 SUMMIT AVE STE 300 735 FONTANA CA 92336



Epiq Corporate Restructuring, LLC                                                                     Page 371 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 380 of 2156

Claim Name                              Address Information
CISCO TRUCK & TRAILER REPAIR LLC        5811 HWY 31 W PORTLAND TN 37148
CISCOS TRUCKING LLC                     14 KNAPP AVE, 1ST FLOOR CLIFTON NJ 07011-1319
CISNEROS IBARRA, JOSE                   ADDRESS ON FILE
CISNEROS, CHRISTOPHER                   ADDRESS ON FILE
CISNEROS, DOMINGO                       ADDRESS ON FILE
CISNEROS, ERIC                          ADDRESS ON FILE
CISNEROS, ERIC                          ADDRESS ON FILE
CISNEROS, ERICK                         ADDRESS ON FILE
CISNEROS, JOSEPH                        ADDRESS ON FILE
CISNEROS, MARIO                         ADDRESS ON FILE
CISNEROS, MIGUEL A                      ADDRESS ON FILE
CISROW, GREGORY                         ADDRESS ON FILE
CIT TRUCKS                              200 NORTHTOWN RD NORMAL IL 61761
CIT TRUCKS                              305 W. NORTHTOWN RD. SUITE A NORMAL IL 61761
CITADEL SECS LLC (8430)                 ATT KEVIN NEWSTEAD/PROXY MGR 131 SOUTH DEARBORN ST 35TH FL CHICAGO IL 60603
CITADEL-MILLENNIAL TRANSPORT LLC        OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
CITARELLA JR, ANTHONY                   ADDRESS ON FILE
CITCO TRANS INC                         1574 HOMETOWN LN MANTECA CA 95337
CITGO                                   1199 S WOLF RD WHEELING IL 60090
CITI CARGO & STORAGE                    900 APOLLO ROAD EAGAN MN 55121
CITI PRIVATE BANK WILLS WING MEXICO     201 S BISCAYNE BLVD STE 3100 MIAMI FL 33131
CITI TRANSPORT LLC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CITIBANK (0505)                         ATT DARYL SLATER OR REORG MGR 3800 CITIBANK CTR B3-12 TAMPA FL 33610
CITIBANK, N.A. (0908)                   ATT SHERIDA SINANAN/PROXY DEPT 3801 CITIBANK CTR B/3RD FL/ZONE 12 TAMPA FL
                                        33610
CITILUBE TRUCKING                       217 BEAUREGARD LN MEBANE NC 27302
CITIZEN TRANSPORT                       OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
CITIZENS ASSET FINANCE INC              71 S WACKER DR, 29TH FL CHICAGO IL 60606
CITIZENS ASSET FINANCE, INC.            PO BOX 845682 BOSTON MA 02284
CITIZENS ASSET FINANCE, INC.            PO BOX 845682 BOSTON MA 02284-5682
CITIZENS ASSET FINANCE, INC.            ATTN: GENERAL COUNSEL 71 S WACKER DR FL 28 CHICAGO IL 60606
CITIZENS BANK                           1 CITIZENS PLZ PROVIDENCE RI 02903
CITIZENS BANK NA                        PO BOX 7000 PROVIDENCE RI 02940
CITIZENS BANK NA                        200 S MAIN ST FORT SCOTT KS 66701-2064
CITIZENS BANK NA                        200 S MAIN ST FORT SCOTT 66701-2064
CITIZENS BANK, NATIONAL ASSOCIATION     1 CITIZENS PLAZA PROVIDENCE RI 02903
CITIZENS BANK, NATIONAL ASSOCIATION     1 CITIZENS PLAZA PROVIDENCE RI 02940-9665
CITIZENS BANK, NATIONAL ASSOCIATION     ACCOUNT ENDING 2197 1 CITIZENS PLAZA PROVIDENCE RI 02940-9665
CITIZENS BUSINESS CAPITAL               C/O: CHOATE, HALL & STEWART LLP ATTN: KEVIN J. SIMARD 2 INTERNATIONAL PLACE
                                        BOSTON MA 02110
CITIZENS BUSINESS CAPITAL               C/O CITIZENS COMMERCIAL BANKING DIV OF CITIZENS ASSET FINANCE INC 1215
                                        SUPERIOR AVE, 5TH FL CLEVELAND OH 44114
CITIZENS BUSINESS CAPITAL               DIV OF CITIZENS ASSET FINANCE INC AS AGENT 71 S WACKER DR, STE 2900 CHICAGO IL
                                        60606
CITIZENS COMMERCIAL BANKING             ATTN: DAVID J. SLATTERY, VICE PRESIDENT 1215 SUPERIOR AVE. 6TH FLOOR CLEVELAND
                                        OH 44114
CITIZENS ENERGY GROUP                   2020 N. MERIDIAN ST. INDIANAPOLIS IN 46202
CITKOWSKI II, ROBERT                    ADDRESS ON FILE
CITOS MOBILE TRUCK AND TRIALER REPAIR   1447 LINDEN WAY MANTECA CA 95336
CITRAN OCCUPATIONAL HEALTH LLC          ATTN: ACCTS RECEIVABLE, PO BOX 339 ENON OH 45323


Epiq Corporate Restructuring, LLC                                                                   Page 372 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 381 of 2156

Claim Name                               Address Information
CITRIX SYSTEMS, INC.                     PO BOX 931686 ATLANTA GA 31193
CITRON HYGIENE LP                        555 ALDEN ROAD MARKHAM ON L3R 3L5 CANADA
CITY 2 CITY INC                          1932 BATH AVE BROOKLYN NY 11214
CITY 2 CITY INC                          OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
CITY AND COUNTY OF HONOLULU              530 S. KING ST. ROOM 300 HONOLULU HI 96813
CITY AND COUNTY OF HONOLULU              FALSE ALARM PROGRAM, P.O. BOX 30720 HONOLULU HI 96820
CITY AND COUNTY OF HONOLULU              PO BOX 30320 HONOLULU HI 96820
CITY AND COUNTY OF SAN FRANCISCO         TREASURER TAX COLLECTOR PO BOX 7426 SAN FRANCISCO CA 94120
CITY BUSINESS SHIPPING INC               967 E 12TH ST LOS ANGELES CA 90021
CITY CAB CO. INC                         2880 S. MAIN ST. 212 SALT LAKE CITY UT 84115
CITY COLLECTORS OFFICE                   PO BOX 7786 CHARLESTON WV 25356
CITY COUNTY TAX COMMISSIONER             PO BOX 4724 MACON GA 31213
CITY COURT OF WHITE PLAINS               PARKING VIOLATIONS OFFICE, PO BOX 6500 WHITE PLAINS NY 10602
CITY EXPRESS SERVICES LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
CITY FIRE EQUIPMENT CO INC.              PO BOX 360 HANOVER NJ 07936
CITY LINKZ TRANSPORTATION & REPAIR LLC   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CITY MACHINE AND WELDING                 ATTN: KYLE HUDSPETH OPERATIONS 9701 W AMARILLO BLVD AMARILLO TX 79124
CITY MOVERS LLC                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CITY OF ABILENE                          555 WALNUT ST. ABILENE TX 79601
CITY OF AKRON                            1180 S MAIN STREET, SUITE 110 AKRON OH 44301
CITY OF AKRON                            1180 S MAIN ST, STE 110 AKRON OH 44301-1253
CITY OF AKRON                            SUITE 200 MUNICIPAL BUILDING 166 S. HIGH ST AKRON OH 44308
CITY OF ALBUQUERQUE                      ATTN: RISK MANAGEMENT DIVISION P O BOX 470 ALBUQUERQUE NM 87103
CITY OF ALEXANDRIA                       301 KING ST. ALEXANDRIA VA 22314
CITY OF ALEXANDRIA                       PO BOX 71 ALEXANDRIA LA 71309
CITY OF ALTOONA                          1301 TWELFTH ST ALTOONA PA 16601
CITY OF ANDERSON                         1887 HOWARD ST ANDERSON CA 96007
CITY OF ASTORIA                          1095 DUANE STREET ASTORIA OR 97103
CITY OF ATLANTA                          55 TRINITY AVE, SW STE 4700 ALTANTA GA 30303
CITY OF AURORA                           15151 E ALAMEDA PARKWAY LICENSING SECTION, STE 1100 AURORA CO 80012
CITY OF AURORA                           FINANCE DEPT CASHIERS OFFICE 15151 E ALAMEDA PARKWAY AURORA CO 80012
CITY OF AURORA                           SALES TAX DIVISION DENVER CO 80291
CITY OF AUSTIN                           301 W. 2ND ST. 3RD FL AUSTIN TX 78701
CITY OF AUSTIN                           CITY OF AUSTIN PDC 6310 WILHELMINA DELCO DR AUSTIN TX 78752
CITY OF AVALON                           640 CALIFORNIA AVE PITTSBURG PA 15202
CITY OF BAKERSFIELD                      PO BOX 2057 BAKERSFIELD CA 93303
CITY OF BALTIMORE                        DIRECTOR OF FINANCE BALTIMORE PO BOX 17535 BALTIMORE MD 21297
CITY OF BALTIMORE DIR FINANCE            CITY HALL - ROOM 250 100 N. HOLLIDAY ST BALTIMORE MD 21202
CITY OF BALWIN                           PO BOX 97 BALWIN WI 54002
CITY OF BATAVIA                          1 BATAVIA CITY CENTER ATTN ANGIE DICKSON BATAVIA NY 14020
CITY OF BAXTER SPRINGS                   1455 MILIITARY AVE BAXTER SPRINGS KS 66713
CITY OF BELLINGHAM                       210 LOTTIE ST BELLINGHAM WA 98225
CITY OF BELLINGHAM                       FINANCE DIRECTOR, PO BOX V BELLINGHAM WA 98227
CITY OF BETHLEHEM                        10 E CHURCH ST BETHLEHEM PA 18018
CITY OF BILLINGS                         P O BOX 1178 BILLINGS MT 59103
CITY OF BIRMINGHAM                       PO BOX 10566 BIRMINGHAM AL 35296
CITY OF BISMARCK WATER DEPT              601 S 26TH ST BISMARCK ND 58504
CITY OF BOSTON                           PO BOX 55801 BOSTON MA 02205
CITY OF BOULDER CITY                     401 CALIFORNIA AVENUE BOULDER CITY NV 89005



Epiq Corporate Restructuring, LLC                                                                     Page 373 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 382 of 2156

Claim Name                           Address Information
CITY OF BOWLING GREEN                PO BOX 1410 BOWLING GREEN KY 42102
CITY OF BOYNTON BEACH                BUSINESS TAX DIVISION 2930 WETMORE AVENUE BOYNTON BEACH FL 33425
CITY OF BOYNTON BEACH                FIRE INSPECTION FEES, 2080 HIGH RIDGE RD BOYNTON BEACH FL 33426
CITY OF BOYNTON BEACH                100 E OCEAN AVE BOYNTON BEACH FL 33435
CITY OF BROOKINGS                    898 ELK DRIVE BROOKINGS OR 97415
CITY OF BROUSSARD                    310 E MAIN ST BROUSSARD LA 70518
CITY OF BRYAN                        CITY OF BRYAN FIRE DEPARTMENT, 304 W HIGH ST BRYAN OH 43506
CITY OF BUFFALO, NY                  65 NIAGARA SQ ROOM 121 BUFFALO NY 14202
CITY OF BURNABY                      4949 CANADA WY BURNABY BC V5G 1M2 CANADA
CITY OF BURNABY                      BURNABY CITY HALL, 4949 CANADA WAY BURNABY BC V5G 1M2 CANADA
CITY OF BURNSVILLE                   100 CIVIC CENTER PARKWAY BURNSVILLE MN 55337
CITY OF CALEXICO FINANCE DEPT        608 HEBER AVE CALEXICO CA 92231
CITY OF CALGARY                      PO BOX 2900 STN M CALGARY AB T2P 3A7 CANADA
CITY OF CALGARY, THE                 PO BOX 2405 STN M CALGARY AB T2P3L9 CANADA
CITY OF CENTRAL POINT                104 S. 3RD ST. CENTERAL POINT OR 97502
CITY OF CHARLOTTE                    CHARLOTTE-MECKLENBURG GOVERNMENT CENTER 600 E 4TH ST CHARLOTTE NC 28202
CITY OF CHARLOTTE                    PARK IT OFFICE, 333 E TRADE ST SUITE A CHARLOTTE NC 28202
CITY OF CHARLOTTE                    PO BOX 31032 CHARLOTTE NC 28231
CITY OF CHARLOTTE                    PO BOX 31032 CHARLOTTE NC 28231-1032
CITY OF CHESAPEAKE                   PO BOX 1606 CHESAPEAKE VA 23327
CITY OF CHESAPEAKE                   PO BOX 16495 CHESAPEAKE VA 23328
CITY OF CHICAGO                      DEPT OF REVENUE, 121 N LASALLE RM 107 CHICAGO IL 60602
CITY OF CHICAGO                      121 N LA SALLE ST RM 1107 CHICAGO IL 60602-1203
CITY OF CHICAGO                      DEPT OF REVENUE, LOCK BOX 93180 CHICAGO IL 60673
CITY OF CHICAGO                      DEPARTMENT OF REVENUE, PO BOX 88292 CHICAGO IL 60680
CITY OF CLEVELAND DIV OF WATER       1201 LAKESIDE AVENUE CLEVELAND OH 44114
CITY OF COLTON                       CITATION PROCESSING CENTER, PO BOX 2730 HUNTINGTON BEACH CA 92647
CITY OF COLUMBIA                     701 E.BROADWAY COLUMBIA MO 65205
CITY OF COMMERCE CITY                8602 ROSEMARY ST COMMERCE CITY CO 80022
CITY OF COMMERCE CITY                TAX & LICENSE DIVISION, 7887 E 60TH AVE COMMERCE CITY CO 80022
CITY OF COMPTON                      205 S WILLOWBROOK AVE COMPTON CA 90220
CITY OF COON RAPIDS                  11155 ROBINSON DRIVE NW COON RAPIDS MN 55433
CITY OF COOS BAY                     ATTN: BUSINESS LICENSE RENEWAL 500 CENTRAL AVE COOS BAY OR 97420
CITY OF CRANSTON TAX COLLECTOR       PO BOX 1177 CRANSTON RI 02901
CITY OF DALLAS                       1500 MARILLA ST. ROOM 5D SOUTH DALLAS TX 75201
CITY OF DALLAS                       PO BOX 650302 DALLAS TX 75265
CITY OF DANVILLE                     17 W.MAIN STREE DANVILLE IL 61832
CITY OF DANVILLE                     17 W MAIN ST DANVILLE IL 61832
CITY OF DECATUR                      BUSINESS LICENSE, DEPT R 5 PO BOX 830525 BIRMINGHAM AL 35283
CITY OF DECATUR                      BUSINESS LICENSE, DEPARTMENT R5 BIRMINGHAM AL 35283-0525
CITY OF DECATUR IL                   1 GARY K ANDERSON PLAZA DECATUR IL 62523
CITY OF DORVAL                       60 AVENUE MARTIN DORVAL QC H9S3R4 CANADA
CITY OF DOTHAN                       BUSINESS LICENSE DIVISION, PO BOX 2128 DOTHAN AL 36302
CITY OF DOWNEY                       11111 BROOKSHIRE AVENUE DOWNEY CA 90241
CITY OF DUBOIS BUREAU OF WATER       DUBOIS CITY HALL 16 W SCRIBNER AVE DUBOIS PA 15801
CITY OF DUBUQUE                      50 W. 13TH ST. DUBUQUE IA 52001
CITY OF DULUTH                       411 W 1ST ST DULUTH MN 55802
CITY OF DULUTH COMFORT SYSTEMS       520 GARFIELD AVE DULUTH MN 55802
CITY OF DURHAM                       101 CITY HALL PLAZA DURHAM NC 27701



Epiq Corporate Restructuring, LLC                                                                Page 374 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 383 of 2156

Claim Name                               Address Information
CITY OF DURHAM                           ATTN: STEVEN STEWART 1600 MIST LAKE DRIVE DURHAM NC 27704-4764
CITY OF EAGLE PASS                       C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 112 E PECAN ST, STE 2200 SAN ANTONIO
                                         TX 78205
CITY OF EAGLE PASS                       100 S MONROE ST EAGLE PASS TX 78852
CITY OF EAU CLAIRE                       203 S. FARWELL STREET EAU CLAIRE WI 54702-5148
CITY OF EDMONTON                         POST OFFICE BOX 2670 EDMONTON AB T5J 2G4 CANADA
CITY OF EDMONTON                         PO BOX 1982 EDMONTON AB T5J 3X5 CANADA
CITY OF EL PASO                          C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 112 E PECAN ST, STE 2200 SAN ANTONIO
                                         TX 78205
CITY OF ELIZABETH CITY                   P. O. BOX 404 ELIZABETH CITY NC 27909
CITY OF ELKO                             1751 COLLEGE AVE ELKO NV 89801
CITY OF ELYRIA                           131 COURT ST. ELYRIA OH 44035
CITY OF EUREKA                           531 K STREET EUREKA CA 95501
CITY OF EVERETT                          PO BOX 3587 SEATTLE WA 98124
CITY OF EVERETT                          3028 WETMORE AVENUE EVERETT WA 98201
CITY OF EVERETT                          BUSINESS TAX DIVISION 2930 WETMORE AVENUE EVERETT WA 98201
CITY OF FARGO                            FARGO CITY HALL 225 4TH STREET NORTH FARGO NC 58102
CITY OF FIFE                             FIFE CITY HALL 5411 23RD ST E FIFE WA 98424
CITY OF FLAGSTAFF                        FLAGSTAFF MUNICIPAL BLDG 211 WEST ASPEN AVENUE FLAGSTAFF AZ 86001
CITY OF FONTANA                          8353 SIERRA AVE FONTANA CA 92335
CITY OF FORT MYERS                       2200 SECOND STREET FORT MYERS FL 33901
CITY OF FORT MYERS                       2925 DR. MARTIN LUTHER KING JR BLVD FORT MYERS FL 33916
CITY OF FORT WORTH WATER DEPT            908 MONROE ST FT WORTH TX 76102
CITY OF GAYLORD                          305 E. MAIN STREET GAYLORD MI 49735
CITY OF GLADSTONE                        BUSINESS LICENSE APPLICATION 525 PORTLAND AVE GLADSTONE OR 97027
CITY OF GOODLAND                         204 W. 11TH ST. GOODLAND KS 67735
CITY OF GOODLAND/CNTY CLERK SHERMAN      ATTN: ANDREW FINZEN PO BOX 57 GOODLAND KS 67735
CNTY
CITY OF GOODLETTSVILLE                   105 SOUTH MAIN STREET GOODLETTSVILLE TN 37072
CITY OF GRAND PRAIRIE                    PO BOX 530990 GRAND PRAIRIE TX 75063
CITY OF GRANDVIEW HEIGHTS                1016 GRANDVIEW AVE. GRANDVIEW HEIGHTS OH 43212
CITY OF GREAT FALLS                      2 PARK DRIVE SOUTH ROOM 201 GREAT FALLS MT 59403
CITY OF GREAT FALLS                      GREAT FALLS FIRE RESCUE, PO BOX 5021 GREAT FALLS MT 59403
CITY OF GREENVILLE                       PARKING ENFORCEMENT, PO BOX 488 GREENVILLE SC 29602
CITY OF HANNIBAL                         HANNIBAL POLICE DEPARTMENT, PO BOX 793 HANNIBAL MO 63401
CITY OF HAYWARD                          777 B ST, ATTN: ACCOUNTS RECEIVABLE HAYWARD CA 94541
CITY OF HENDERSON                        PO BOX 716 HENDERSON KY 42419
CITY OF HENDERSONVILLE                   160 SICTH AVE E HENDERSONVILLE TN 28792
CITY OF HESPERIA                         C/O CITATION PROCESSING CENTER PO BOX 10479 NEWPORT BEACH CA 92658
CITY OF HOLLAND                          321 SETTLERS RD, STE 2 HOLLAND MI 49423
CITY OF HOLLAND CITY TREASURERS OFFICE   270 S RIVER AVENUE HOLLAND MI 49423
CITY OF HOLLAND CITY TREASURERS OFFICE   CITY TREASURERS OFFICE 270 S. RIVER AVENUE HOLLAND MI 49423-3299
CITY OF HOUSTON                          901 BAGBU HOUSTON TX 77002
CITY OF HOUSTON                          CITY OF HOUSTON-ARA ALARM ADMIN PO BOX 203887 HOUSTON TX 77216
CITY OF IRVING MUNICIPAL SVCS            825 W IRVING BLVD IRVING TX 75060
CITY OF JACKSON                          219 S. PRESIDENT ST JACKSON MS 39201
CITY OF JACKSONVILLE                     JACKSONVILLE MUNICIPAL BLDG 117 W DUVAL ST FL MESS JACKSONVILLE FL 32202
CITY OF JACKSONVILLE                     231 E FORSYTH ST STE 141 JACKSONVILLE FL 32202
CITY OF JEFFERSONTOWN                    PO BOX 991458 LOUISVILLE KY 40269
CITY OF JOLIET                           150 W. JEFFERSON ST JOLIET IL 60432


Epiq Corporate Restructuring, LLC                                                                     Page 375 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 384 of 2156

Claim Name                             Address Information
CITY OF JOLIET                         COLLECTORS OFFICE, 150 W JEFFERSON ST. JOLIET IL 60432
CITY OF JOLIET, IL                     150 W JEFFERSON JOLIET IL 60432
CITY OF JOPLIN                         303 EAST THIRD STREET JOPLIN MO 64801
CITY OF KEARNEY                        100 E. WASHINGTON ST KEARNEY MO 64060
CITY OF KENT                           PO BOX 84665 SEATTLE WA 98124
CITY OF KENT B&O TAX                   PO BOX 84665 SEATTLE WA 98124
CITY OF KENT FINANCE                   ATTN: CUSTOMER SERVICES 220 4TH AVENUE SOUTH KENT WA 98032
CITY OF KEY WEST                       1300 WHITE ST KEY WEST FL 33040
CITY OF KINGSPORT                      225 WEST CENTER ST KINGSPORT TN 37660
CITY OF KINGSPORT                      OPTAX USE ONLY, 225 WEST CENTER ST KINGSPORT TN 37660
CITY OF KNOXVILLE                      PO BOX 15001 KNOXVILLE TN 37901
CITY OF LA GRANDE WATER OFFICE         CITY HALL 1000 ADAMS AVENUE LA GRANDE OR 97850
CITY OF LAGRANGE                       200 RIDLEY AVENUE LAGRANGE GA 30240
CITY OF LAKE GENEVA                    626 GENEVA STREET LAKE GENEVA WI 53147
CITY OF LAKE VILLA                     39016 N. CEDARCREST DR. LAKE VILLA IL 60046
CITY OF LANCASTER                      21 CENTRAL AVE LANCASTER NY 14086
CITY OF LAREDO                         ENVIRONMENTAL SERVICES DEPT 619 REYNOLDS LAREDO TX 78040
CITY OF LAREDO TAX OFFICE              PO BOX 6548 LAREDO TX 78042
CITY OF LAREDO UTILITIES               1102 BOB BULLOCK LOOP LAREDO TX 78043
CITY OF LAS VEGAS                      495 S MAIN ST LAS VEGAS NV 89101
CITY OF LAS VEGAS                      DEPT OF PLANNING BUSINESS LICENSING PO BOX 748028 LOS ANGELES CA 90074
CITY OF LEBANON AUTHORITY              WATER AND SEWER BILLING 2311 RIDGEVIEW ROAD LEBANON PA 17042
CITY OF LEWISTON                       BUSINESS LICENSE DEPARTMENT, PO BOX 617 LEWISTON ID 83501
CITY OF LIBERAL                        325 N WASHINGTON AVE PO BOX 2199 LIBERAL KS 67901
CITY OF LIBERAL                        12505 10001697, PO BOX 2199 LIBERAL KS 67901
CITY OF LIMA UTILITIES                 50 TOWN SQUARE LIMA OH 45801
CITY OF LIMA, OH                       1100 EAST WAYNE STREET LIMA OH 45804
CITY OF LINCOLN NEBRASKA               55 SOUTH 10TH STREET SUITE 302 LINCOLN NE 68508
CITY OF LONGVIEW                       PO BOX 128 LONGVIEW WA 98632
CITY OF LOS ANGELES                    200 N. SPRING ST. LOS ANGELES CA 90012
CITY OF LOS ANGELES FIRE DEPT          CITY OF LOS ANGELES FIRE DEPT, CUPA PO BOX 514267 LOS ANGELES CA 90051
CITY OF LOS ANGELES FIRE DEPT          CUPA, PO BOX 514267 LOS ANGELES CA 90051
CITY OF LUBBOCK UTILITIES              1401 AVENUE K LUBBOCK TX 79401
CITY OF MACOMB                         210 EAST MAIN, MCCOMB OH 45858
CITY OF MADISON                        CITY TREASURER, PO BOX 2004 MADISON WI 53701
CITY OF MADISON TREASURER              PO BOX 2999 MADISON WI 53701
CITY OF MANASSAS                       PO BOX 512 MANASSAS VA 20108
CITY OF MANASSAS                       OPTAX USE ONLY, PO BOX 512 MANASSAS VA 20108
CITY OF MANASSAS                       TREASURERS OFFICE, 9027 CENTER STREET SUITE 103 MANASSAS VA 20110
CITY OF MANASSAS UTILITIES             8500 PUBLIC WORKS DRIVE MANASSAS VA 20110
CITY OF MARIETTA                       PO BOX 609 MARIETTA GA 30061
CITY OF MASON CITY                     10 FIRST ST NW MASON CITY MN 60401
CITY OF MCALLEN                        PO BOX 220 MCALLEN TX 78505
CITY OF MEMPHIS                        125 MAIN ST MEMPHIS TN 38103
CITY OF MEMPHIS                        2714 UNION AVE EXTENDED 200, MEMPHIS TN 38112
CITY OF MEMPHIS DIV OF FIRE SERVICES   ATTN: JENNIFER WILLIAMS, 2670 AVERY AVE MEMPHIS TN 38112
CITY OF MEMPHIS TREASURER              PO BOX 185 MEMPHIS TN 38101
CITY OF MENOMONEE FALLS                W156 N8480 PILGRIM RD MENOMONEE FALLS WI 53051
CITY OF MERIDIAN                       33 E. BROADWAY AVE. MERIDIAN ID 83642



Epiq Corporate Restructuring, LLC                                                                   Page 376 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 385 of 2156

Claim Name                              Address Information
CITY OF MESQUITE                       C/O GRIMES & LINEBARGER LLP 120 W MAIN, STE 201 MESQUITE TX 75149
CITY OF MILLVILLE                      COLLECTOR OF TAXES PO BOX 609 MILLVILLE NJ 08332
CITY OF MILLVILLE UTILITY DEPT         THE CITY OF MILLVILLE NEW JERSEY 12 SOUTH HIGH STREET MILLVILLE NJ 08332
CITY OF MILWAUKEE                      CITY HALL 200 E. WELLS STREET ROOM 201 MILWAUKEE WI 53202
CITY OF MILWAUKEE - OFFICE OF TREASURER PO BOX 78776 MILWAUKEE WI 53278-0776
CITY OF MILWAUKEE FORESTRY SERVICES    841 N BROADWAY RM 620 MILWAUKEE WI 53202
CITY OF MINER                          2601 E. MALONE AVE MINER MO 63801
CITY OF MISSISSAUGA                    REV AND MATERIAL MANGEMENT, PO BOX 3200 MISSISSAUGA ON L5A 4L9 CANADA
CITY OF MISSOULA-FINANCE               435 RYMAN ST MISSOULA MT 59802
CITY OF MOBILE                         PO BOX 2745 MOBILE AL 36652
CITY OF MOBILE                         PO BOX 3065, PO BOX 11407 MOBILE AL 36652
CITY OF MODESTO                        PO BOX 642 MODESTO CA 95353
CITY OF MONTGOMERY                     PO BOX 830469 BIRMINGHAM AL 35283
CITY OF MONTGOMERY                     PO BOX 5070 MONTGOMERY AL 36103
CITY OF MOOSE JAW                      LICENSING DEPARTMENT, 228 MAIN ST. N. MOOSE JAW SK S6H 3J8 CANADA
CITY OF MORRISTOWN                     100 WEST FIRST NORTH ST. MORRISTOWN TN 37814
CITY OF MT VERNON                      MT VERNON CITY HALL 1 ROOSEVELT SQUARE N MT VERNON NY 10550
CITY OF NEW ORLEANS                    1300 PERDIDO ST NEW ORLEANS LA 70112
CITY OF NEW ORLEANS                    PO BOX 61840 NEW ORLEANS LA 70161
CITY OF NEW YORK                       CITY HALL PARK NEW YORK NY 10007
CITY OF NOGALES                        NOGALES MUNICIPAL BLDG 777 NORTH GRAND AVENUE NOGALES AZ 85621
CITY OF NOGALES                        777 N GRAND AVE NOGALES AZ 85621
CITY OF OAK CREEK                      8640 S HOWELL AVE OAK CREEK WI 53154
CITY OF OAK CREEK-TREASURER            8040 S 6TH ST OAK CREEK WI 53154
CITY OF OCALA                          110 SE WATULA AVE 3RD FL/ RISK MGMT OCALA FL 34471
CITY OF OCALA                          110 SE WATULA AVE OCALA FL 34471-2180
CITY OF OKLAHOMA CITY                  100 N WALKER AVE OKLAHOMA CITY OK 73102-2230
CITY OF OKLAHOMA FORE MARSHALLS        OFF HAZ MAT INSPEC 2300 GENERAL PERSHING BLVD OKLAHOMA CITY OK 73107
CITY OF OLIVE BRANCH                   9200 PIGEON ROOST AVE. OLIVE BRANCH MS 38654
CITY OF OLIVE BRANCH                   9200 PIGEON RD OLIVE BRANCH MS 38654-2421
CITY OF OLYMPIA                        PO BOX 1967 OLYMPIA WA 98507
CITY OF ORANGE                         300 E CHAPMAN AVE ORANGE CA 92866
CITY OF OVERLAND PARK                  BUILDING SAFETY DIVISION 8500 SANTA FE DRIVE OVERLAND PARK KS 66212
CITY OF PADUCAH                        FINANCE OFFICE, PO BOX 2697 PADUCAH KY 42002
CITY OF PASADENA                       C/O CITATION PROCESSING CENTER PO BOX 10479 NEWPORT BEACH CA 92658
CITY OF PEWAUKEE                       W240 N3065 PEWAUKEE RD PEWAUKEE WI 53072
CITY OF PHILADELPHIA                   701 MARKET ST PHILADELPHIA PA 17107
CITY OF PHILADELPHIA                   1401 JOHN F KENNEDY BLVD 1430 PHILADELPHIA PA 19102
CITY OF PHILADELPHIA                   CITY HALL, ROOM 215 PHILADELPHIA PA 19102
CITY OF PHOENIX                        200 W WASHINGTON ST, 11TH FL PHOENIX AZ 85003-1611
CITY OF PHOENIX                        PO BOX 29115 PHOENIX AZ 85038
CITY OF PIEDMONT ELECTRICAL DEPT       C/O MERRILL, MERRILL MATHEWS & ALLEN LLC ATTN: RONALD ALLEN PO BOX 36 ANNISTON
                                       AL 36202
CITY OF PIEDMONT ELECTRICAL DEPT.      PO BOX 112 PIEDMONT AL 36272
CITY OF POMONA                         505 S GAREY AVE POMONA CA 91766
CITY OF PONTIAC                        PO BOX 77000 DETROIT MI 48277
CITY OF PONTIAC                        DEPARTMENT OF BUILDING SAFETY 47450 WOODWARD AVENUE PONTIAC MI 48342
CITY OF PONTIAC                        ESTIMATED TAX PAYMENTS, PO BOX 530 EATON RAPIDS MI 48827
CITY OF PORTLAND                       1221 SW 4TH AVE, RM 340 PORTLAN OR 92704-1900



Epiq Corporate Restructuring, LLC                                                                  Page 377 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 386 of 2156

Claim Name                           Address Information
CITY OF PORTLAND                     111 SW COLUMBIA ST STE 600 PORTLAND OR 97201
CITY OF PORTLAND                     ATTN: RISK MGT - CAROL TIMPER 1120 SW 5TH AVE STE 1040 PORTLAND OR 97204-1912
CITY OF PORTLAND                     ATTN: GENERAL AR, PO BOX 5066 PORTLAND OR 97208
CITY OF QUINCY                       1305 HANCOCK ST QUNICY MA 02169-5111
CITY OF RALEIGH                      1 EXCHANGE PL, STE 260 RALEIGH NC 27601-1878
CITY OF RALEIGH                      REVENUE SERVICES AR, PO BOX 590 RALEIGH NC 27602-0590
CITY OF RALEIGH                      2501 N. RALEIGH BLVD. RALEIGH NC 27604
CITY OF RALEIGH                      P. O. BOX 71081 CHARLOTTE NC 28272-1081
CITY OF REDMOND                      15670 NE 85TH ST REDMOND WA 98073-9710
CITY OF REGINA                       QUEEN ELIZABETH II COURT 2476 VICTORIA AVE REGINA SK S4P 3C8 CANADA
CITY OF REGINA                       PO BOX 5022 REGINA SK S4P 4J3 CANADA
CITY OF REGINA                       PO BOX 5042 REGINA SK S4P3M3 CANADA
CITY OF RICHLAND                     PO BOX 180609 RICHLAND MS 39218
CITY OF RICHLAND                     625 SWIFT BLVD RICHLAND WA 99532
CITY OF RIVERSIDE                    3900 MAIN ST., 3RD FLOOR RIVERSIDE CA 92522
CITY OF ROCHESTER WATER              BUREAU OF WATER 10 FELIX ST ROCHESTER NY 14608-1031
CITY OF ROCK ISLAND                  PO BOX 1057 BEDFORD PARK IL 60499
CITY OF ROCK ISLAND                  1309 MILL ST ROCK ISLAND IL 61201
CITY OF ROCK ISLAND                  PO BOX 3315 ROCK ISLAND IL 61204-3315
CITY OF ROCKFORD                     425 EAST STATE ST ROCKFORD IL 61104
CITY OF ROCKY MOUNT                  PO BOX 1180 ROCKY MOUNT NC 27802
CITY OF ROCKY MOUNT                  331 S FRANKLIN ST MUNICIPAL BUILDING ROCKY MOUNT NC 27802-1180
CITY OF ROMULUS                      11111 WAYNE RD ROMULUS MI 48174
CITY OF ROMULUS TREASURER            11111 WAYNE ROAD ROMULUS MI 48174-1485
CITY OF ROSEBURG                     900 SE DOUGLAS AVE ROSEBURG OR 97470-3397
CITY OF SAN ANTONIO                  FIRE DEPT HAZ MAT, PO BOX 839975 SAN ANTONIO TX 78283
CITY OF SAN ANTONIO                  FINANCIAL SVCS DIV REV COLLECTION PO BOX 60 SAN ANTONIO TX 78291
CITY OF SAN BERNARDINO               290 N D ST SAN BERNARDINO CA 92401
CITY OF SAN DIEGO                    PO BOX 129030 SAN DIEGO CA 92112
CITY OF SAN DIEGO CITY TREASUR       1200 THIRD AVE, STE 100 SAN DIEGO CA 92101
CITY OF SAN JOSE FIRE DEPARTMENT     BUREAU OF FIRE PREVENTION DEPT 34347, PO BOX 39000 SAN FRANCISCO CA 94139
CITY OF SAN JOSE FIRE DEPARTMENT     200 E SANTA CLARA ST, 2ND FLOOR, TOWER SAN JOSE CA 95113
CITY OF SANTA CLARA                  1500 WARBURTON AVE SANTA CLARA CA 95050
CITY OF SANTA CLARA                  BUSINESS LICENSE UNIT 1500 WARBURTON AVE SANTA CLARA CA 95050
CITY OF SANTA CLARITA                PO BOX 10479 NEWPORT BEACH CA 92658
CITY OF SANTA FE                     200 LINCOLN AVE SANTA FE NM 87501
CITY OF SANTA MARIA                  2065 E MAIN ST SANTA MARIA CA 93454
CITY OF SANTA ROSA                   FIRE DEPARTMENT, 2373 CIRCADIAN WAY SANTA ROSA CA 95407
CITY OF SASKATOON                    CITY HALL 222 3RD AVE N SASKATOON SK S7K 0J5 CANADA
CITY OF SASKATOON                    222 3RD AVE N SASKATOON SK S7K 0J5 CANADA
CITY OF SASKATOON                    PO BOX 1788 SASKATOON SK S7K8E1 CANADA
CITY OF SASKATOON                    BOX 7030 SASKATOON SK S7K8E3 CANADA
CITY OF SAVANNAH                     COASTAL GEORGIA CENTER 305 FAHM ST SAVANNAH GA 31401
CITY OF SAVANNAH TREASURER           PO BOX 1228 SAVANNAH GA 31402
CITY OF SCRANTON                     PO BOX 20111 SCRANTON PA 18502
CITY OF SEATTLE                      700 5TH AVE, STE 4900 SEATTLE WA 98104
CITY OF SEATTLE                      PO BOX 34904 SEATTLE WA 98124
CITY OF SEATTLE                      RCA, PO BOX 34907 SEATTLE WA 98124
CITY OF SEATTLE                      REVENUE & CONSUMER AFFAIRS, PO BOX 34907 SEATTLE WA 98124



Epiq Corporate Restructuring, LLC                                                                Page 378 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 387 of 2156

Claim Name                           Address Information
CITY OF SEATTLE WASHINGTON           600 FOURTH AV, 2ND FL SEATTLE WA 98104
CITY OF SHERMAN                      C/O ABERNATHY ROEDER BOYD & HULLETT PC 1700 REDBUD BLVD, STE 300 MCKINNEY TX
                                     75069
CITY OF SHERMAN                      200 W MULBERRY ST SHERMAN TX 75090-5832
CITY OF SHREVEPORT                   505 TRAVIS ST, STE 320 SHREVEPORT LA 71101
CITY OF SHREVEPORT                   PO BOX 30168 SHREVEPORT LA 71130
CITY OF SHREVEPORT                   PO BOX 30040 SHREVEPORT LA 71130
CITY OF SIOUX CITY                   601 DOUGLAS ST SIOUX CITY IA 51101
CITY OF SIOUX CITY                   405 6TH ST SIOUX CITY IA 51102
CITY OF SIOUX FALLS                  320 W. 4TH ST. SIOUX FALLS SD 57104
CITY OF SOUTH BEND                   701 W SAMPLE S SOUTH BEND IN 46601
CITY OF SPARKS                       ALARM PROGRAM, PO BOX 141388 IRVING TX 75014
CITY OF SPARKS                       431 PRATER WAY SPARKS NV 89431
CITY OF SPARKS                       027298 000, PO BOX 857 SPARKS NV 89432
CITY OF SPARKS                       DIR OF FINANCE C 391 3, PO BOX 857 SPARKS NV 89432
CITY OF SPOKANE                      SPOKANE FARP, PO BOX 3843 SEATTLE WA 98124
CITY OF SPOKANE                      808 W SPOKANE FALLS BLVD SPOKANE WA 99201
CITY OF SPRINGDALE                   201 SPRING ST SPRINGDALE AR 72764
CITY OF ST LOUIS                     1640 S KINGSHIGHWAY BLVD ST LOUIS MO 63110
CITY OF ST LOUIS                     PO BOX 66787 SAINT LOUIS MO 63166
CITY OF ST LOUIS                     OPTAX USE ONLY, PO BOX 66787 SAINT LOUIS MO 63166
CITY OF STAUNTON TREASURER           PO BOX 474 STAUNTON VA 24402
CITY OF STRAFFORD                    PO BOX 66 STRAFFORD MO 65757
CITY OF SUWANEE                      330 TOWN CENTER AVE SUWANEE GA 30024
CITY OF TACOMA                       747 MARKET ST TACOMA WA 98402
CITY OF TACOMA                       TAX & LICENSE DIVISION 747 MARKET ST, RM 248 TACOMA WA 98402
CITY OF TACOMA                       747 MARKET ST, SUITE248 TACOMA WA 98402
CITY OF TACOMA                       FINANCE DEPARTMENT TAX & LICENSE DIV PO BOX 11640 TACOMA WA 98411
CITY OF TAMPA UTILITIES              306 E JACKSON ST TAMPA FL 33602
CITY OF TAYLOR                       PO BOX 335 TAYLOR MI 48180
CITY OF TAYLOR CITY CLERK            23555 GODDARD RD TAYLOR MI 48180
CITY OF TAYLOR WATER DEPT            23555 GODDARD RD TAYLOR MI 48180
CITY OF THOMASVILLE                  111 VICTORIA PL THOMASVILLE GA 31799
CITY OF THOMASVILLE                  TAX DEPARTMENT, PO BOX 1397 THOMASVILLE GA 31799
CITY OF THOUSAND OAKS                ATTN: KIM SHERMAN 9600 SANTA ROSA RD CAMARILLO CA 93012
CITY OF TOLEDO                       BUREAU OF FIRE PREVENTION ONE GOVERNMENT CENTER, SUITE 1710 TOLEDO OH 43604
CITY OF TOLEDO DEPT PUBL UTIL        ONE GOVERNMENT CENTER 640 JACKSON ST TOLEDO OH 43604
CITY OF TOPEKA                       215 SE 7TH ST TOPEKA KS 66603
CITY OF TORONTO                      REVENUE SERVICES 5100 YONGE ST TORONTO ON M2N 5V7 CANADA
CITY OF TRACY                        3900 HOLLY DR TRACY CA 95304
CITY OF TUALATIN                     18880 SW MARTINAZZI AVE TUALATIN OR 97062
CITY OF TUALATIN                     8650 SW TUALATIN RD TUALATIN OR 97062
CITY OF TUCSON                       FINANCE DEPT REVENUE DIV, 255 W ALAMEDA TUCSON AZ 85701
CITY OF TUCSON                       COLLECTIONS, PO BOX 27320 TUCSON AZ 85726
CITY OF TUCSON                       LICENSE SECTION, PO BOX 27210 TUCSON AZ 85726
CITY OF TUCSON UTILITY LOCKBOX       310 W ALAMEDA ST TUSCON AZ 85701
CITY OF TUKWILA                      6300 SOUTHCENTER BLVD TUKWILA WA 98188
CITY OF TUKWILA                      BUSINESS LICENSING 6200 SOUTHCENTER BLVD TUKWILA WA 98188
CITY OF TULSA UTILITIES              175 E 2ND ST, STE 1405 TULSA OK 74103



Epiq Corporate Restructuring, LLC                                                                Page 379 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 388 of 2156

Claim Name                              Address Information
CITY OF TUPELO                         PO BOX 1485 TUPELO MS 38802
CITY OF TWIN FALLS                     203 MAIN AVE EAST TWIN FALLS ID 83301
CITY OF UKIAH                          UKIAH VALLEY FIRE AUTHORITY 1500 S STATE ST UKIAH CA 95482
CITY OF UNION GAP                      102 W AHTANUM RD UNION GAP WA 98903
CITY OF VIENNA FIRE DEPARTMENT         PO BOX 1442 VIENNA IL 62995
CITY OF VISALIA                        7579 AVE 288 VISALIA CA 93277
CITY OF W SACRAMENTO                   1110 W CAPITOL AVE WEST SACRAMENTO CA 95691
CITY OF WACO WATER OFFICE              425 FRANKLIN AVE WACO TX 76701
CITY OF WEST ALLIS                     7525 W. GREENFIELD AVENUE WEST ALLIS WI 53214
CITY OF WEST SACRAMENTO                2040 LAKE WASHINGTON BLVD WEST SACRAMENTO CA 95691
CITY OF WEST SACRAMENTO                C/O FIRE DEPARTMENT 2040 LAKE WASHINGTON BLVD WEST SACRAMENTO CA 95691
CITY OF WESTBROOK                      2 YORK ST WESTBROOK ME 04092
CITY OF WHEELING                       1500 CHAPLINE ST WHEELING 26003
CITY OF WHITEFISH                      PO BOX 158 WHITEFISH MT 59937
CITY OF WICHITA                        455 N MAIN ST, 8TH FL WICHITA KS 67202
CITY OF WICHITA                        TREASURY DIVISION, 455 N MAIN ST, 12TH FL PO BOX 547 WICHITA KS 67202
CITY OF WINNIPEG                       510 MAIN ST WINNIPEG MB R3B 1B9 CANADA
CITY OF WINNIPEG, THE                  ASSESSMENT & TAXATION DEPARTMENT 457 MAIN STREET WINNIPEG MB R3B 1B5 CANADA
CITY OF WINNIPEG, THE                  510 MAIN STREET WINNIPEG MB R3B 3M1 CANADA
CITY OF WINSTON SALEM                  BRYCE A STUART MUNICIPAL BLDG 100 E FIRST ST WINSTON-SALEM NC 27101
CITY OF WOODSTOCK                      PO BOX 1539 WOODSTOCK ON N4S 0A7 CANADA
CITY OF WOODSTOCK                      PO BOX 40 WOODSTOCK ON N4S7W5 CANADA
CITY OF WYOMING                        1155 28TH ST SW WYOMING MI 49509
CITY OF WYOMING                        1155 28TH ST SW P O BOX 905 WYOMING MI 49509
CITY ONE TRANSPORTATION INC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CITY P&B LLC                           2701 SE 15TH ST OKLAHOMA CITY OK 73129
CITY PAINT WORKS LLC                   10220 W. RENO AVE OKLAHOMA CITY OK 73127
CITY PLUMBING                          2101 AVE C KEARNEY NE 68847
CITY PRESS LIMITED                     120 ISABEL ST WINNIPEG MB R3A 1G4 CANADA
CITY SERVICE                           1461 STATE ROUTE 28 LOVELAND OH 45140
CITY STAR LOGISTICS LLC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CITY STAR TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CITY TO CITY TRUCKING                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CITY TOWING LLC                        3001 EASTERN ST KINGMAN AZ 86401
CITY TRAILER, INC.                     10220 W RENO AVE OKLAHOMA CITY OK 73127
CITY TRANSFER CANADA LIMITED           100-888 BELFAST RD OTTAWA ON K1G 3Z6 CANADA
CITY TRANSFER INC                      7141 DUNCAN STREET POWELL RIVER BC V8A 1W3 CANADA
CITY TREASURER                         30 CHURCH ST ROOM 100-A ROCHESTER NY 14614
CITY TREASURER - CITY HALL             CITY HALL, 209 PEARL STREET COUNCIL BLUFFS IA 51503
CITY TREASURER - TOMAH                 819 SUPERIOR AVENUE TOMAH WI 54660
CITY TREASURER - TOMAH                 JUILA RUSCH TREASURER 819 SUPERIOR AVENUE TOMAH WI 54660
CITY TREASURER OF ERIE                 626 STATE ST RM 104 ERIE PA 16501
CITY UTILITIES                         P.O. BOX 4632 CAROL STREAM IL 60197-4632
CITY UTILITIES OF SPRINGFIELD          301 E CENTRAL ST SPRINGFIELD MO 65802
CITY WIDE FACILITY SOLTNS OF SOUTHER AZ 7650 E BROADWAY BLVD STE 105 TUCSON AZ 85710
CITY WIDE FACILITY SOLUTIONS           333 JERICHO TPKE STE 130 JERICHO NY 11753
CITY WIDE FACILITY SOLUTIONS           3602 ROSEMONT AVE CAMP HILL PA 17011
CITY WIDE FACILITY SOLUTIONS           4127 NW 122ND ST STE C OKLAHOMA CITY OK 73120
CITY WIDE FACILITY SOLUTIONS           9513 BUSINESS CENTER DR STE J RANCHO CUCAMONGA CA 91730



Epiq Corporate Restructuring, LLC                                                                   Page 380 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 389 of 2156

Claim Name                               Address Information
CITY WIDE FACILITY SOLUTIONS - ONTARIO   4-180 SHEARSON CRES CAMBRIDGE ON N1T 1P4 CANADA
CITY WIDE FRANCHISE CO INC               15230 W. 105TH TERRACE LENEXA KS 66219
CITY WIDE FRANCHISE CO INC               15447 W 100TH TERRACE LENEXA KS 66219
CITY WIDE MAINTENANCE OF LOUISVILLE      7400 NEW LAGRANGE RD, SUITE 405 LOUISVILLE KY 40222
CITY WIDE OFFICE CLEANING SERVICES       2124 RICHARDSON RD SASKATOON SK S7L 4B7 CANADA
CITY WIDE PLUMBING SERVICES CORP         PO BOX 350 CARLE PLACE NY 11514
CITY WIDE TAXI                           1A 190 WATERLOO ST OSHAWA ON L1H 8A7 CANADA
CITY-COUNTY TAX COLLECTOR                PO BOX 4200 HONOLULU HI 96812
CITY2CITY FREIGHT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CITY312 LLC                              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CITYLINE TRUCKING LOGISTICS LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CITYLINK TRANS INC                       1827 PISA CIRCLE STOCKTON CA 95206
CITYWIDE GLOBAL TRANSPORTATION LLC       607 SHELBY ST STE 700 DETROIT MI 48226
CITYWIDE OFFICE CLEANING SERVICES        2124 RICHARDSON RD SASKOTOON SK S7L 4B7 CANADA
CITYWIDE TOWING, INC.                    1501 N FISHBURN AVE. LOS ANGELES CA 90063
CITYWIDE TRANSPORT INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CIUK, MICHAEL R                          ADDRESS ON FILE
CIURIUC, SAMUEL                          ADDRESS ON FILE
CIVGIN, ARNEL                            ADDRESS ON FILE
CIVIC CENTER AUTO CARE                   1880 GARDEN TRACT RD RICHMOND CA 94801
CIVIC EXPRESS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CIVIC EXPRESS LLC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CIVIL CONSULTANTS INC                    3528 VANN RD STE 105 BIRMINGHAM AL 35235
CIVIL ENTREPRENEUR FREIGHT LINE LLC      OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                         UT 84130
CIVIL STAR CONCRETE                      5519 HALIFAX ST BAKERSFIELD CA 93309
CIVILITY LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CIVINELLI, ANDREW                        ADDRESS ON FILE
CIWIRC                                   736 SW WAASHINGTON PEORIA IL 61602
CJ                                       1991 MONTEE LABOSSIERE VAUDREUIL DORION QC J7V 4J7 CANADA
CJ & SONS LLC                            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CJ ELECTRIC                              13510 OH-29 ANNA OH 45302
CJ EXPRESS LLC                           6541 W PALM LN PHOENIX AZ 85035
CJ LOGISTICS LLC                         OR SAFINANCIAL GROUP INC, P.O. BOX 195 GRANGER IN 46530
CJ PRO TRUCKING                          1213 E STREET RIO LINDA CA 95673
CJ TRANS INC                             618 SW 3 STREET SUITE 140 CAPE CORAL FL 33991
CJ TRANS INC                             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CJ TRANSPORT                             OR FREIGHT COLLECT INC., P.O. BOX 603748 CHARLOTTE NC 28260
CJ TRANSPORT                             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
CJ TRANSPORT                             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CJ TRUCKING SERVICE LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CJB TRUCKING LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CJC ATL TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CJC CARRIER LLC                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CJC TRANSPORT                            4659 WORLD PARKWAY CIRCLE SAINT LOUIS MO 63134
CJE ELITE TRANSPORTATION LLC             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
CJH TRUCKING INC.                        3102 GLADYS AVE ROSEMEAD CA 91770
CJI LLC                                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
CJJ LOGISTICS LLC                        800 S PARK AVE 1G FOND DU LAC WI 54935



Epiq Corporate Restructuring, LLC                                                                     Page 381 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 390 of 2156

Claim Name                          Address Information
CJM EXPRESS INC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
CJM TRANSPORTATION INC              7634 LOWER EAST VALLEY RD PIKEVILLE TN 37367
CJP TRANS LLC                       25 FOXHILL RD SHREWSBURY MA 01545
CJR TRUCKING INC (MC785159)         PO BOX 629 EDMOND OK 73083-0629
CJS INC                             2021 W RAYMOND STREET INDIANAPOLIS IN 46221
CJT ENTERPRISE LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CJT ENTERPRISE LLC                  OR TAB BANK, PO BOX 150830 OGDEN UT 84415
CK BECKFORD ENTERPRISE LLC          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CK BROS CARRIER INC                 OR BP FINANCING LLC 161 ROUTE 59 SUITE 203A MONSEY NY 10952
CK CARRIERS                         7170 LANTERN FLY HOLLOW MISSISSAUGA ON L5W1L6 CANADA
CK LOGISTICS INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CK RUCKER TRANSPORTATION LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CKK TRUCKING INC                    19150 S WOLF RD SUITE C MOKENA IL 60448
CKS PLUMBING & BACKFLOW LLC         3800 GREYWOOD DR RALEIGH NC 27604
CL ENTERPRISES                      PO BOX 190 SHORTSVILLE NY 14548
CL TRUCKING USA INC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CLACK, AUBREY                       ADDRESS ON FILE
CLACK, KENNETH                      ADDRESS ON FILE
CLAEYS, THOMASINA                   ADDRESS ON FILE
CLAEYS, TIFFANY                     ADDRESS ON FILE
CLAFFORD, SEAN                      ADDRESS ON FILE
CLAIBORNE, RANDALL                  ADDRESS ON FILE
CLAIR CARRIERS LLC                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
CLAIRE G GALLAGHER                  ADDRESS ON FILE
CLAIRE LOGISTICS LLC                OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
CLAIRE, RYAN M                      ADDRESS ON FILE
CLAIRNELL MOODY                     ADDRESS ON FILE
CLAISSE, MATHEW                     ADDRESS ON FILE
CLANCY, PATRICK                     ADDRESS ON FILE
CLANTON, THOMAS                     ADDRESS ON FILE
CLAPP, TARREN                       ADDRESS ON FILE
CLAPPER, CORY                       ADDRESS ON FILE
CLAPPES, TIMOTHY                    ADDRESS ON FILE
CLARAD LOGISTICS LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CLARAS CARRIER LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CLAREESE TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLARENCE D MORGAN                   ADDRESS ON FILE
CLARENCE H SIMMON                   ADDRESS ON FILE
CLARENCE J HUFF                     ADDRESS ON FILE
CLARETT, KENNETH                    ADDRESS ON FILE
CLARETT, KORY                       ADDRESS ON FILE
CLARIANT COLORANTS SOLUTIONS        C/O ODYSSEY LOGISTICS, PO BOX 19749 CHARLOTTE NC 28219
CLARIDGE PRODUCTS                   180 N SHERMAN AVE CORONA CA 92882
CLARIN, SHANNON L                   ADDRESS ON FILE
CLARIN, SHANNON L                   ADDRESS ON FILE
CLARITY FULFILLMENT                 6901 LYNN WAY PITTSBURGH PA 15208
CLARK & SONS INC                    500 W MARKET ST GEORGETOWN DE 19947
CLARK 6 TRUCKING INC                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
CLARK AND MCDOWELL LOGISTICS LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 382 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 391 of 2156

Claim Name                              Address Information
CLARK COMPONENTS                        821 E FRONT ST BUCHANAN MI 49107
CLARK CORE SERVICES                     ATTN: NATALIE MCALLISTER 40 CITATION LN LITITZ PA 17543
CLARK COUNTY ASSESSOR                   500 S GRAND CENTRAL PARKWAY PO BOX 551401 LAS VEGAS NV 89155
CLARK COUNTY CLERK                      LYNN MARIE GOYA, COUNTY CLERK ATTN FFN PO BOX 551604 LAS VEGAS NV 89155
CLARK COUNTY DEPT OF BUSINESS LICENSE   500 S GRAND CENTRAL PKWY 3RD FL PO BOX 551810 LAS VEGAS NV 89155
CLARK COUNTY LEGAL NEWS                 433 CONCORD WAY HENDERSON NV 89015
CLARK COUNTY REMC                       7810 STATE RD 60 SELLERSBURG IN 47172
CLARK COUNTY TREASURER                  PO BOX 1508 JEFFERSONVILLE IN 47131-1508
CLARK COUNTY TREASURER & TAX            500 S GRAND CENTRAL PARKWAY, 1ST FLOOR PO BOX 551401 LAS VEGAS NV 89155
CLARK COUNTY TREASURER & TAX            500 S GRAND CENTRAL PKWY, 1ST FLOOR PO BOX 551220 LAS VEGAS NV 89155
CLARK COUNTY WATER                      3130 E NATIONAL RD SPRINGFIELD OH 45505
CLARK ELECTRICAL / MECHANICAL           3109 LINCOLN HIGHWAY EAST PARADISE PA 17562
CLARK FOOD SERVICE EQUIP                RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
CLARK II, FLOYD                         ADDRESS ON FILE
CLARK INC                               3109 LINCOLN HIGHWAY E PARADISE PA 17562
CLARK INC                               PO BOX 100, 3109 LINCOLN HWY E PARADISE PA 17562
CLARK LAWN CARE                         5380 POND CREEK RD PEGRAM TN 37143
CLARK PEST CONTROL                      ACCOUNTING OFFICE, PO BOX 1480 LODI CA 95241
CLARK PEST CONTROL OF STOCKTON INC.     PO BOX 6015 WHITTIER CA 90607
CLARK PULLEY                            ADDRESS ON FILE
CLARK PULLEY                            ADDRESS ON FILE
CLARK SECURITY PRODUCTS INC             1020 DEL PASO RD STE 130 SACRAMENTO CA 95834
CLARK TRUCKING PROS LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
CLARK, ALAINA                           ADDRESS ON FILE
CLARK, ALEXANDER                        ADDRESS ON FILE
CLARK, ANTONIO                          ADDRESS ON FILE
CLARK, BRANDON                          ADDRESS ON FILE
CLARK, BRYAN                            ADDRESS ON FILE
CLARK, BRYAN                            ADDRESS ON FILE
CLARK, CHAD                             ADDRESS ON FILE
CLARK, CHANCE                           ADDRESS ON FILE
CLARK, CHARLES                          ADDRESS ON FILE
CLARK, CHRISTOPHER                      ADDRESS ON FILE
CLARK, CHRISTOPHER C                    ADDRESS ON FILE
CLARK, CORDELL                          ADDRESS ON FILE
CLARK, CORY                             ADDRESS ON FILE
CLARK, CULBERT                          ADDRESS ON FILE
CLARK, CYNTHIA                          ADDRESS ON FILE
CLARK, DANIEL                           ADDRESS ON FILE
CLARK, DARRELL                          ADDRESS ON FILE
CLARK, DAVID                            ADDRESS ON FILE
CLARK, DAVID                            ADDRESS ON FILE
CLARK, DAVID N                          ADDRESS ON FILE
CLARK, DEANTHONY                        ADDRESS ON FILE
CLARK, DENNIS                           ADDRESS ON FILE
CLARK, DENNIS                           ADDRESS ON FILE
CLARK, DERRION                          ADDRESS ON FILE
CLARK, DEWANDA                          ADDRESS ON FILE
CLARK, DONTAVIUS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 383 OF 2145
                                        Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                   Page 392 of 2156

Claim Name                       Address Information
CLARK, DOYLE                     ADDRESS ON FILE
CLARK, EARL                      ADDRESS ON FILE
CLARK, EDWARD                    ADDRESS ON FILE
CLARK, ELIJAH                    ADDRESS ON FILE
CLARK, ELISHA                    ADDRESS ON FILE
CLARK, ERNEST                    ADDRESS ON FILE
CLARK, FLOYD                     ADDRESS ON FILE
CLARK, GARRETT                   ADDRESS ON FILE
CLARK, GAYLYNN                   ADDRESS ON FILE
CLARK, GILBERT                   ADDRESS ON FILE
CLARK, GORDON                    ADDRESS ON FILE
CLARK, GORDON                    ADDRESS ON FILE
CLARK, GRAFFIOUS                 ADDRESS ON FILE
CLARK, HEATHER                   ADDRESS ON FILE
CLARK, IVORY                     ADDRESS ON FILE
CLARK, IVY                       ADDRESS ON FILE
CLARK, JAMARCUS                  ADDRESS ON FILE
CLARK, JAMES                     ADDRESS ON FILE
CLARK, JAMES                     ADDRESS ON FILE
CLARK, JAMES                     ADDRESS ON FILE
CLARK, JAMES                     ADDRESS ON FILE
CLARK, JASON D                   ADDRESS ON FILE
CLARK, JEAN                      ADDRESS ON FILE
CLARK, JEAN                      ADDRESS ON FILE
CLARK, JEREMIAH                  ADDRESS ON FILE
CLARK, JEREMY                    ADDRESS ON FILE
CLARK, JERRELL                   ADDRESS ON FILE
CLARK, JERRY                     ADDRESS ON FILE
CLARK, JESSE                     ADDRESS ON FILE
CLARK, JOHN                      ADDRESS ON FILE
CLARK, JOHN                      ADDRESS ON FILE
CLARK, JOHN                      ADDRESS ON FILE
CLARK, JOHN                      ADDRESS ON FILE
CLARK, JOHN                      ADDRESS ON FILE
CLARK, JOHN E                    ADDRESS ON FILE
CLARK, JOHNNY                    ADDRESS ON FILE
CLARK, JOSEPH E                  ADDRESS ON FILE
CLARK, JUSTIN                    ADDRESS ON FILE
CLARK, JUWAWN                    ADDRESS ON FILE
CLARK, KENNA-LEE                 ADDRESS ON FILE
CLARK, KENNETH J                 ADDRESS ON FILE
CLARK, KEVIN                     ADDRESS ON FILE
CLARK, KEYSHON                   ADDRESS ON FILE
CLARK, LARRY                     ADDRESS ON FILE
CLARK, LARRY                     ADDRESS ON FILE
CLARK, LARRY                     ADDRESS ON FILE
CLARK, LARRY R                   ADDRESS ON FILE
CLARK, LAWRENCE                  ADDRESS ON FILE
CLARK, LAWRENCE L                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                     Page 384 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 393 of 2156

Claim Name                      Address Information
CLARK, LOUIS                    ADDRESS ON FILE
CLARK, LOUIS J                  ADDRESS ON FILE
CLARK, MANDAKOVA                ADDRESS ON FILE
CLARK, MARTIN                   ADDRESS ON FILE
CLARK, MARY                     ADDRESS ON FILE
CLARK, MARY L                   ADDRESS ON FILE
CLARK, MATTHEW                  ADDRESS ON FILE
CLARK, MELODY                   ADDRESS ON FILE
CLARK, MICHAEL                  ADDRESS ON FILE
CLARK, MICHAEL                  ADDRESS ON FILE
CLARK, NEIL                     ADDRESS ON FILE
CLARK, PAUL                     ADDRESS ON FILE
CLARK, PAUL                     ADDRESS ON FILE
CLARK, RAKIM                    ADDRESS ON FILE
CLARK, RANDALL                  ADDRESS ON FILE
CLARK, RAYMOND                  ADDRESS ON FILE
CLARK, REBEKAH                  ADDRESS ON FILE
CLARK, REBEKAH                  ADDRESS ON FILE
CLARK, RICHARD                  ADDRESS ON FILE
CLARK, ROBERT                   ADDRESS ON FILE
CLARK, ROBERT                   ADDRESS ON FILE
CLARK, ROBIN                    ADDRESS ON FILE
CLARK, RODNEY                   ADDRESS ON FILE
CLARK, RONALD                   ADDRESS ON FILE
CLARK, RONALD                   ADDRESS ON FILE
CLARK, RONALD E                 ADDRESS ON FILE
CLARK, RONALD E                 ADDRESS ON FILE
CLARK, RONNIE D                 ADDRESS ON FILE
CLARK, SHAQUILLE                ADDRESS ON FILE
CLARK, SIDNEY                   ADDRESS ON FILE
CLARK, SPENCER                  ADDRESS ON FILE
CLARK, STACY M                  ADDRESS ON FILE
CLARK, STEPHEN                  ADDRESS ON FILE
CLARK, STEPHEN                  ADDRESS ON FILE
CLARK, SWANIKA                  ADDRESS ON FILE
CLARK, THOMAS                   ADDRESS ON FILE
CLARK, TIM                      ADDRESS ON FILE
CLARK, TIMOTHY                  ADDRESS ON FILE
CLARK, TIMOTHY                  ADDRESS ON FILE
CLARK, TIMOTHY                  ADDRESS ON FILE
CLARK, TRAVIS                   ADDRESS ON FILE
CLARK, TROY                     ADDRESS ON FILE
CLARK, VERNON                   ADDRESS ON FILE
CLARK, WARREN                   ADDRESS ON FILE
CLARK, WESLEY                   ADDRESS ON FILE
CLARK, WILLIAM                  ADDRESS ON FILE
CLARK, WILLIAM E                ADDRESS ON FILE
CLARK, WILLIAM F                ADDRESS ON FILE
CLARK, WILLIE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 385 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 394 of 2156

Claim Name                              Address Information
CLARK, WILTON                           ADDRESS ON FILE
CLARK, ZACHARY                          ADDRESS ON FILE
CLARK-KREWSON, MELISSA                  ADDRESS ON FILE
CLARK-KREWSON, MELISSA J                ADDRESS ON FILE
CLARK-POWERS, JARON                     ADDRESS ON FILE
CLARKE ENTERPRISES, INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CLARKE POWER SERVICES, INC.             PO BOX 710157 CINCINNATI OH 45271
CLARKE POWER SERVICES, INC.             PO BOX 710157 CINCINNATI OH 45271-0157
CLARKE WASTE SOLUTIONS HOLDINGS, INC    330 NW 101ST AVENUE PORTLAND OR 97229
CLARKE, CHARLES                         ADDRESS ON FILE
CLARKE, COLIN                           ADDRESS ON FILE
CLARKE, COREY                           ADDRESS ON FILE
CLARKE, DAINE J                         ADDRESS ON FILE
CLARKE, DARRYL                          ADDRESS ON FILE
CLARKE, JARED                           ADDRESS ON FILE
CLARKE, JARED T                         ADDRESS ON FILE
CLARKE, KRIS                            ADDRESS ON FILE
CLARKE, PAUL                            ADDRESS ON FILE
CLARKE, RANDALL L                       ADDRESS ON FILE
CLARKE, RANDY                           ADDRESS ON FILE
CLARKE, TERENCE                         ADDRESS ON FILE
CLARKIN, JASON                          ADDRESS ON FILE
CLARKIN, STEVEN                         ADDRESS ON FILE
CLARKS TRUCKING                         OR SMART FREIGHT FUNDING, PO BOX 3474 OMAHA NE 68103
CLARKSON POWER FLOW, INC.               2525 BELLEVIEW, PO BOX 411897 KANSAS CITY MO 64141
CLARKSON, ALEXANDER                     ADDRESS ON FILE
CLARKSON, STACY                         ADDRESS ON FILE
CLARKSON, TERRY                         ADDRESS ON FILE
CLARO                                   PO BOX 70366 SAN JUAN PR 00936
CLARY, RONALD                           ADDRESS ON FILE
CLASEN, JORDAN                          ADDRESS ON FILE
CLASS 1 LOGISTICS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
CLASS 1 LOGISTICS LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CLASS A RECRUITING INC                  280 KELLER RD CENTERTON AR 72719
CLASS EIGHT MANUFACTURING               1-40 AUDIA CT VAUGHAN ON L4K 3N4 CANADA
CLASS TRUCKING LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
CLASS, JOSHUA                           ADDRESS ON FILE
CLASSIC CARGO SOLUTIONS                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CLASSIC MILES LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLASSIC PLUMBING AND HEATING LLC        125 S WISCONSIN AVE GAYLORD MI 49735
CLASSIC RULES LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CLASSIC SYSTEMS INC                     86 GARDEN ST WESTBURY NY 11590
CLASSIC TRANSPORT DRIVER SERVICES LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CLASSIC TRANSPORT LLC                   3415 CUMMINGS ROAD CHATTANOOGA TN 37419
CLASSIC TRANSPORTATION OF SUNBURY       1879 FEDERAL PKWY, 112 COLUMBUS OH 43207
CLASSIC TRUCKING, INC.                  P O BOX 77 HEDRICK IA 52563
CLAUDE ALEXANDRE                        ADDRESS ON FILE
CLAUDE BROWNS CARPET CLEANING & RESTION 143 SOUTH PARK AVE WEST TWIN FALLS ID 83301
CLAUDE E NELMS                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 386 OF 2145
                                              Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 395 of 2156

Claim Name                             Address Information
CLAUDE LETOURNEAU                      ADDRESS ON FILE
CLAUDE, STEVEN                         ADDRESS ON FILE
CLAUDETTE ROCHON                       ADDRESS ON FILE
CLAUDIA NIEVEZ                         ADDRESS ON FILE
CLAUDIAS TRUCKING                      7890 ARCADIA AVE HESPERIA CA 92345
CLAUDIO, HECTOR                        ADDRESS ON FILE
CLAUDIO, LUIS                          ADDRESS ON FILE
CLAUDIO, PEDRO                         ADDRESS ON FILE
CLAUS, JAYCE                           ADDRESS ON FILE
CLAUS, JO                              ADDRESS ON FILE
CLAUSEN TRUCKING                       PO BOX 67 CLINTON IA 52733-0067
CLAUSEN, CARL                          ADDRESS ON FILE
CLAUSS, CAYLA                          ADDRESS ON FILE
CLAVIN, THERESA                        ADDRESS ON FILE
CLAWSON COMMUNICATIONS INC.            474 PARK 800 DR GREENWOOD IN 46143
CLAWSON, JAMES                         ADDRESS ON FILE
CLAXTON, KHALEN                        ADDRESS ON FILE
CLAY CARLSON                           ADDRESS ON FILE
CLAY EXPRESS LLC                       OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
CLAY FORENPOHAR                        ADDRESS ON FILE
CLAY HALL                              ADDRESS ON FILE
CLAY, CHRISTOPHER                      ADDRESS ON FILE
CLAY, DAMON                            ADDRESS ON FILE
CLAY, DANIEL                           ADDRESS ON FILE
CLAY, DAVID E                          ADDRESS ON FILE
CLAY, DEANDRE                          ADDRESS ON FILE
CLAY, GARY                             ADDRESS ON FILE
CLAY, JEFFERY                          ADDRESS ON FILE
CLAY, JENELL                           ADDRESS ON FILE
CLAY, JENNIFER                         ADDRESS ON FILE
CLAY, JERRY L                          ADDRESS ON FILE
CLAY, MACIAH                           ADDRESS ON FILE
CLAY, MICHAEL                          ADDRESS ON FILE
CLAY, SCOTT                            ADDRESS ON FILE
CLAY, TONY                             ADDRESS ON FILE
CLAY, WILLIE                           ADDRESS ON FILE
CLAYBAUGH, DYLAN                       ADDRESS ON FILE
CLAYBORN, DYLAN                        ADDRESS ON FILE
CLAYCAMP, TRACY                        ADDRESS ON FILE
CLAYPOOL, LATEESH                      ADDRESS ON FILE
CLAYPOOL, TYRAN                        ADDRESS ON FILE
CLAYTON BIDDLE                         ADDRESS ON FILE
CLAYTON COUNTY COMMUNITY DEVELOPMENT   121 S MCDONOUGH ST ANNEX 2, PK DIXON BLDG JONESBORO GA 30236
CLAYTON COUNTY FIRE & EMERGENC         D/B/A: CLAYTON COUNTY FIRE & EMERGENCY C/O FIRE RECOVERY USA, LLC PO BOX
                                       935667 ATLANTA GA 31193-5667
CLAYTON COUNTY FIRE & EMERGENCY        C/O FIRE RECOVERY USA LLC PO BOX 935667 ATLANTA GA 31193-5667
CLAYTON COUNTY TAX COMMISSIONER        ADMIN ANNEX 3 2ND FLOOR 121 S.MCDONOUGH ST. JONESBORO GA 30236
CLAYTON COUNTY WATER AUTHORITY         1600 BATTLE CREEK RD MORROW GA 30260
CLAYTON COUNTY WATER AUTHORITY         PO BOX 117195 ATLANTA GA 30368-7195



Epiq Corporate Restructuring, LLC                                                                 Page 387 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 396 of 2156

Claim Name                           Address Information
CLAYTON HAULINGS LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CLAYTON TRUCKING LLC                 OR LOOKOUT CAPITAL LLC, P.O. BOX 161124 ATLANTA GA 30321-1124
CLAYTON, BRIAN                       ADDRESS ON FILE
CLAYTON, CHRIS                       ADDRESS ON FILE
CLAYTON, DEBORAH                     ADDRESS ON FILE
CLAYTON, DREW W                      ADDRESS ON FILE
CLAYTON, KENNETH                     ADDRESS ON FILE
CLAYTON, MICHAEL                     ADDRESS ON FILE
CLAYTON, RICHARD                     ADDRESS ON FILE
CLAYTON, WILLIAM                     ADDRESS ON FILE
CLAYTON, WILLIE                      ADDRESS ON FILE
CLAYTONS TOWING                      PO BOX 1501 ANDERSON CA 96007
CLAYTOR, BARRY                       ADDRESS ON FILE
CLAYTOR, JOHN                        ADDRESS ON FILE
CLC TRANSPORTATION LLC               3426 QUINCY STREET HUDSONVILLE MI 49426
CLE LOGISTICS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CLEAN AMERICAN AIR LLC               158 NORTH RAILROAD ST STATEN ISLAND NY 10312
CLEAN CARRIER LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CLEAN DIESEL SPECIALISTS, INC.       310 N. REXFORD ST. COLTON CA 92324
CLEAN DIESEL SPECIALISTS, INC.       220 W SANTA ANA ST ANAHEIM CA 92805
CLEAN ENERGY                         ADDRESS ON FILE
CLEAN HARBORS CANADA INC             P.O. BOX 12088 STATION A TORONTO ON M5W 0K5 CANADA
CLEAN HARBORS ENV SERVICES           PO BOX 3442 BOSTON MA 02241
CLEAN HARBORS ENV SERVICES           PO BOX 734867 DALLAS TX 75373
CLEAN IMAGE                          ADDRESS ON FILE
CLEAN IMAGE                          ADDRESS ON FILE
CLEAN PEOPLE LLC                     4128 SAGUARO LN IRVING TX 75063
CLEAN WATER TESTING LLC              1990 PROSPECT CT APPLETON WI 54914
CLEANING SERVICES BEST LLC           1760 SHRIVERS CORNER RD., LOT 146 GETTYSBURG PA 17325
CLEANTEAM BUILDING SERVICES, INC.    651 MARKET ST LEMOYNE PA 17043
CLEAR ADVANTAGE TRANSPORT LLC        OR SEVEN OAKS CAPITAL PO BOX 4869 DEPT 470 HOUSTON TX 77210
CLEAR ADVANTAGE TRUCKING             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CLEAR CHOICE GLASS - AUTO            2802 CONGRESSIONAL PARKWAY STE E FORT WAYNE IN 46808
CLEAR CREEK SYSTEMS INC              4101 UNION AVE BAKERSFIELD CA 93305
CLEAR CREEK UTILITY SERVICES         695 W 1700 S BUILDING 7 LOGAN UT 84321
CLEAR CUT AUTO GLASS                 65 SANTIN DRIVE CHEEKTOWAGA NY 14225
CLEAR LAKE CITY WATER AUTHORITY      900 BAY AREA BLVD HOUSTON TX 77058
CLEAR LAKE NISSAN                    2150 GULF FREEWAY LEAGUE CITY TX 77573
CLEAR SKY LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CLEAR ST LLC (9132)                  ATT PROXY MGR 55 BROADWAY STE 2102 NEW YORK NY 10006
CLEAR VISION AUTO GLASS              2763 VALLEY RD MARYSVILLE PA 17053
CLEARCHOICE SEALING & STRIPING LLC   PO BOX 337 LA CENTER KY 42056
CLEARLIGHT INFRARED                  1077 EASTSHORE HWY BERKELEY CA 94710
CLEARLY COLORADO INC                 PO BOX 77156 COLORADO SPRINGS CO 80970
CLEARSTREAM BANKING AG               ATT NICO STAES MERGENTHALLERALLEE 61 ESCBORN D-65760 GERMANY
CLEARVISION USA, INC                 2401 WALNUT STREET, SUITE 102 PHILADELPHIA PA 19103
CLEARWATER BACKFLOW TESTING          PO BOX 90953 PORTLAND OR 97290
CLEARWATER SPA                       98223 ARLINGTON WA 98223
CLEARWATER SPAS                      18933 59TH AVE STE 114 ARLINGTON WA 98223



Epiq Corporate Restructuring, LLC                                                                Page 388 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 397 of 2156

Claim Name                           Address Information
CLEARWATER TRANSPORT INC             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
CLEARY CONSTRUCTIONINC.              2006 EDMONTON ROAD TOMPKINSVILLE KY 42167
CLEARY, SHAWN                        ADDRESS ON FILE
CLEAVELAND SR, MATTHEW               ADDRESS ON FILE
CLEAVENGER, ALICIA                   ADDRESS ON FILE
CLEAVER LOGISTICS INC                OR KOMPASS KAPITAL FUNDING LLC PO BOX 208692 DALLAS TX 75320-8692
CLEAVER, MATT                        ADDRESS ON FILE
CLEAVER, MATTHEW                     ADDRESS ON FILE
CLEAVES, EZEKIEL                     ADDRESS ON FILE
CLECKLEY, ERIC                       ADDRESS ON FILE
CLECO, LLC                           PO BOX 140052 ST LOUIS MO 63114
CLEGG TRANSPORTATION                 3498 MOUNTAIN RD ROYAL FRONT VA 22630
CLEGG, ANTHONY                       ADDRESS ON FILE
CLEGG, CHARLIE                       ADDRESS ON FILE
CLEGG, D. WILLIAM                    ADDRESS ON FILE
CLEGG, GREGORY                       ADDRESS ON FILE
CLEGG, LEE                           ADDRESS ON FILE
CLEGG, ROBERT                        ADDRESS ON FILE
CLEGGETT, JOSEPH                     ADDRESS ON FILE
CLEMANS, TIMOTHY                     ADDRESS ON FILE
CLEMENS, ELLIOT                      ADDRESS ON FILE
CLEMENS, GERALD                      ADDRESS ON FILE
CLEMENS, JEFFERY                     ADDRESS ON FILE
CLEMENS, RICHARD                     ADDRESS ON FILE
CLEMENT, CHAD                        ADDRESS ON FILE
CLEMENT, DOUGLAS                     ADDRESS ON FILE
CLEMENT, DOUGLAS                     ADDRESS ON FILE
CLEMENT, DOUGLAS                     ADDRESS ON FILE
CLEMENT, JISZKA                      ADDRESS ON FILE
CLEMENT, SEMAJ                       ADDRESS ON FILE
CLEMENTE, JESUS ANGEL                ADDRESS ON FILE
CLEMENTS, ALAN                       ADDRESS ON FILE
CLEMENTS, RICHARD                    ADDRESS ON FILE
CLEMENTS, RODNEY                     ADDRESS ON FILE
CLEMENTS, SHANNON                    ADDRESS ON FILE
CLEMMER, ERIC                        ADDRESS ON FILE
CLEMMONS, JONATHAN                   ADDRESS ON FILE
CLEMMONS, MAURICE                    ADDRESS ON FILE
CLEMMONS, NASIR                      ADDRESS ON FILE
CLEMONS, DOLTON                      ADDRESS ON FILE
CLEMONS, DWIGHT                      ADDRESS ON FILE
CLEMONS, JACK W                      ADDRESS ON FILE
CLEMONS, JOHN                        ADDRESS ON FILE
CLEMONS, JOSHUA                      ADDRESS ON FILE
CLEMONS, MISTY                       ADDRESS ON FILE
CLEMONS, SYLVESTER                   ADDRESS ON FILE
CLENDENNING, JAMES                   ADDRESS ON FILE
CLEREXPRESS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CLERJEUNE, ELIMELEC                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 389 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 398 of 2156

Claim Name                               Address Information
CLERK CIRCUIT AND COUNTY COURTS          PARKING VIOLATIONS BUREAUE 22 NW 1ST STREET 4TH FLOOR MIAMI FL 33128
CLERK OF CIRCUIT COURT-WILLIAMSON CNTY   200 W JEFFERSON MARION IL 62959
CLERK OF COURT - VILLAGE OF WALWORTH     227 N MAIN ST, PO BOX 400 WALWORTH WI 53184
CLERK OF SUPERIOR COURT                  9151 TARA BOULEVARD JONESBORO GA 30236
CLERK OF SUPERIOR COURT                  COUNTY COURTHOUSE 601 MULBERRY ST RM 216 MACON GA 31201
CLERK OF THE CIRCUIT COURT               MARKHAM 6TH MUNICIPAL DISTRICT 16501 S KEDZIE PARKWAY MARKHAM IL 60428
CLERK OF THE CIRCUIT COURT               10220 S. 76TH AVENUE ROOM 121 TRAFFIC BRIDGEVIEW IL 60455
CLERK OF THE CIRCUIT COURT               PAUL PALAZZOLO, PO BOX 1299 SPRINGFIELD IL 62705
CLERK OF THE CIRCUIT COURT-ST CLAIR      TRAFFIC DIVISION, PO BOX 691 BELLEVILLE IL 62222
CNTY
CLERK OF THE COURT STANISLAUS COUNTY     2260 FLOYD AVE MODESTO CA 95355
CLERMONT MECHANICAL PLUMBING &           HEATING SERVICES PO BOX 789 GLENDALE RI 02826
CLESEN WHOLESALE INC                     316 FLORENCE AVE EVANSTON IL 60202-3210
CLETO TRUCKING                           OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
CLEVELAND BROTHERS EQUIPMENT CO INC      PO BOX 417094 BOSTON MA 02241
CLEVELAND CLIFFS STEEL CORP CLAIMS       ATTN: JENNIFER CRIDER 9227 CENTRE POINTE DR WEST CHESTER OH 45069
CLEVELAND DELIVERY & DISTRIBUTION, INC. 6707 BESSEMER AVENUE CLEVELAND OH 44127
CLEVELAND EXPRESS TRUCKING COMPANY,      3091 ROCKEFELLER AVE. CLEVELAND OH 44115
INC.
CLEVELAND FR8T SYSTEMS LLC               OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CLEVELAND GEAR                           3249 E. 80TH STREET CLEVELAND OH 44104
CLEVELAND TRUCKING (MC670177)            OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
CLEVELAND, AMY                           ADDRESS ON FILE
CLEVELAND, AMY E                         ADDRESS ON FILE
CLEVELAND, CARL                          ADDRESS ON FILE
CLEVELAND, CONNIE                        ADDRESS ON FILE
CLEVELAND, COREY                         ADDRESS ON FILE
CLEVELAND, JASON                         ADDRESS ON FILE
CLEVELAND, JEFFREY                       ADDRESS ON FILE
CLEVELAND, KEVIN                         ADDRESS ON FILE
CLEVELAND, LEBERT                        ADDRESS ON FILE
CLEVELAND, MARIO                         ADDRESS ON FILE
CLEVELAND, MELISSA                       ADDRESS ON FILE
CLEVELAND, RICKY                         ADDRESS ON FILE
CLEVELAND, ROBERT                        ADDRESS ON FILE
CLEVELAND, WILLIAM                       ADDRESS ON FILE
CLEVELAND, WILLIAM C                     ADDRESS ON FILE
CLEVELAND, ZACHARY                       ADDRESS ON FILE
CLEVENGER PETROLEUM INC                  315 W 8TH STREET KEARNEY NE 68847
CLEVENGER, JOHN                          ADDRESS ON FILE
CLEVENGER, MARVIN                        ADDRESS ON FILE
CLEVER INC                               809 S POTOMAC ST WAYNESBORO PA 17268
CLEVER TRANSFER LLC                      14363 LOCUST LEVEL RD GREENCASTLE PA 17225
CLEVER TRUCK SERVICES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CLEVER, BRYAN W                          ADDRESS ON FILE
CLEVERLY, TED                            ADDRESS ON FILE
CLEVIDENCE, MICHAEL                      ADDRESS ON FILE
CLG TRANSPORTATION, LLC                  4100 SOUTHPOINT DR EAST, STE 3 JACKSONVILLE FL 32216
CLIATT, GENE                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 390 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 399 of 2156

Claim Name                           Address Information
CLICK AWNING INC                     6699 SINCLAIR RD EAU CLAIRE MI 49111
CLICK, CAMERON                       ADDRESS ON FILE
CLICK, RICHARD                       ADDRESS ON FILE
CLIFF HARDWARE & PAINT SUPPLY CO     11115 READING RD SHARONVILLE OH 45241
CLIFF HARDWARE AND                   PAINT SUPPLY INC, PO BOX 62073 SHARONVILLE OH 45262
CLIFFORD A BALLARD                   ADDRESS ON FILE
CLIFFORD POWER SYSTEMS, INC.         PO BOX 875500 KANSAS CITY MO 64187
CLIFFORD POWER SYSTEMS, INC.         DEPT. 1754 TULSA OK 74182
CLIFFS TOWING AND RECOVERY LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLIFFS TOWING LTD                    10135 31 AVENUE NW EDMONTON AB T6N 1C2 CANADA
CLIFT, ERIC                          ADDRESS ON FILE
CLIFTON BUDD & DEMARIA               ADDRESS ON FILE
CLIFTON DEVELOPMENT GROUP LLC        1971 WESTERN AVE 162 ALBANY NY 12203
CLIFTON WATER DISTRICT               510 34 RD CLIFTON CO 81520
CLIFTON, DANNY                       ADDRESS ON FILE
CLIFTON, DAVID                       ADDRESS ON FILE
CLIFTON, JAMES                       ADDRESS ON FILE
CLIFTON, MARLO                       ADDRESS ON FILE
CLIFTON, MICHAEL                     ADDRESS ON FILE
CLIFTON, PERRY                       ADDRESS ON FILE
CLIFTON, QUINNTERANCE                ADDRESS ON FILE
CLIFTON, TRACY M                     ADDRESS ON FILE
CLIMATE EXPRESS, INC.                P O BOX 1065 UNION MO 63084
CLIMATE MASTERS, INC                 PO BOX 6276 PEARL MS 39288
CLIMATE SOLUTIONS                    10200 N LAMAR BLVD BLDG A SUITE 100 AUSTIN TX 78753
CLINARD, BROOKE                      ADDRESS ON FILE
CLINCY, TERRILL                      ADDRESS ON FILE
CLINE TRANSPORT                      8031 S FEDERAL RD SHEPHERD MI 48883
CLINE, CHRISTOPHER                   ADDRESS ON FILE
CLINE, CHRISTOPHER L                 ADDRESS ON FILE
CLINE, JEREMY                        ADDRESS ON FILE
CLINE, MICHAEL                       ADDRESS ON FILE
CLINE, MICHAEL                       ADDRESS ON FILE
CLINE, TIMOTHY                       ADDRESS ON FILE
CLINGAN, DALE                        ADDRESS ON FILE
CLINGENPEEL, DENISE                  ADDRESS ON FILE
CLINGENPEEL, STEVEN                  ADDRESS ON FILE
CLINGERMAN, RACHEL                   ADDRESS ON FILE
CLINGLER, KYLE                       ADDRESS ON FILE
CLINK II, RANDY                      ADDRESS ON FILE
CLINT B CARTER                       ADDRESS ON FILE
CLINT CALLEN                         ADDRESS ON FILE
CLINTON COLLISION                    PO BOX 292 MCBRIDE AVE. CLINTON NY 13323
CLINTON D PAXSON                     ADDRESS ON FILE
CLINTON HWY WRECKER SERVICE/ R       3361 CLINTON HIGHWAY POWELL TN 37849
CLINTON TRANSPORTATION CORPORATION   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CLINTON WOOD                         ADDRESS ON FILE
CLINTON, COURTNEY                    ADDRESS ON FILE
CLINTON, LARRY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 391 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 400 of 2156

Claim Name                             Address Information
CLINTON, TERRY                         ADDRESS ON FILE
CLINTON, TIM                           ADDRESS ON FILE
CLINTON-EARL, TRAVIS                   ADDRESS ON FILE
CLIPPER ENTERPRISES                    PO BOX 342 FAIRPORT NY 14450
CLIPSTON, JOHN                         ADDRESS ON FILE
CLITES, STEVEN P                       ADDRESS ON FILE
CLIVE WALKER ENTERPRISES, LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CLOBES, GRANT                          ADDRESS ON FILE
CLOG BUSTERS DRAIN CLEANING & REPAIR   PO BOX 57128 DES MOINES IA 50317
LLC
CLONINGER, JERRY R                     ADDRESS ON FILE
CLONINGER, WILLIAM                     ADDRESS ON FILE
CLOPTON, GREGORY                       ADDRESS ON FILE
CLOSE, BRANDON                         ADDRESS ON FILE
CLOSS, RODNEY                          ADDRESS ON FILE
CLOSSONS 3-D                           PO BOX 8703 BENTON HARBOR MI 49023
CLOTHIER, GRANT                        ADDRESS ON FILE
CLOTURES OXFORD INC                    6996, CHEMIN ST-ELIE SHERBROOKE QC J1R 0J1 CANADA
CLOUD COMPANIES INC                    357 E 10TH DR MESA AZ 85210
CLOUD POS SOLUTION                     ATTN: DAVID ZEPNICK 7076 E HORIZON DR ORANGE CA 92867
CLOUD STORAGE SECURITY INC             1944 E ASHLEY MESA LN SANDY UT 84092
CLOUDTRUCKS LLC                        PO BOX 675433 DETROIT MI 48267-5433
CLOUGH, DANIEL                         ADDRESS ON FILE
CLOUGH, MICHAEL                        ADDRESS ON FILE
CLOUSE, ROBERT                         ADDRESS ON FILE
CLOUSE, RYAN                           ADDRESS ON FILE
CLOUSE, TIM                            ADDRESS ON FILE
CLOUSER, MICHAEL                       ADDRESS ON FILE
CLOUTHIER, REINA                       ADDRESS ON FILE
CLOUTIER, ERIC                         ADDRESS ON FILE
CLOVERDALE PAINT INC                   BR 248 740 NAIRN AVENUE WINNIPEG MB R2L 0X7 CANADA
CLOW, MICHAEL                          ADDRESS ON FILE
CLOYD, DANIEL                          ADDRESS ON FILE
CLOYD, FRANK                           ADDRESS ON FILE
CLOYD, ROGER                           ADDRESS ON FILE
CLR TRANSPORT LLC                      54 SAINT ANDREWS PL YONKERS NY 10705-3115
CLR TRUCKING LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CLS LOGOSTICS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CLS LOGOSTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLS TRANSPORT                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CLST TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLT CARRIER LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLT EXPRESS LLC                        OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
CLT FREIGHT LLC                        3013 CAIN COMMONS CT DACULA GA 30019
CLT TRANSPORT INC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CLT TRANSPORT NC LLC                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
CLUCK, MATTHEW S                       ADDRESS ON FILE
CLUFF, BRYCE                           ADDRESS ON FILE
CLUFF, CODY                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 392 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 401 of 2156

Claim Name                           Address Information
CLUFF, DAVID                         ADDRESS ON FILE
CLUFF, DAVID J                       ADDRESS ON FILE
CLUFF, DOUGLAS                       ADDRESS ON FILE
CLUGSTON, KEVIN                      ADDRESS ON FILE
CLUM, JANET                          ADDRESS ON FILE
CLURMAN, STEPHANIE                   ADDRESS ON FILE
CLUTCH MECHANICAL INC.               RR1 BLACKIE AB T0L 0J0 CANADA
CLUTCH TIME COURIERS INC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CLUTCH TRANS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CLUTCH TRANSPORTS LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CLX LOGISTICS                        ATTN: AKZO COATINGS 960 HARVEST DR STE 200 BLUE BELL PA 19422
CLX LOGISTICS                        ATTN: CINDY ADAMOYURKA 960 HARVEST DR BLDG A ST 200 BLUE BELL PA 19422
CLX LOGISTICS                        ATTN: JANNE GARCIA 960 HARVEST DR BLDG A BLUE BELL PA 19422
CLYBURN, BOYD                        ADDRESS ON FILE
CLYDE HATCHER                        ADDRESS ON FILE
CLYDES REPAIR SERVICE                PO BOX 101235 NASHVILLE TN 37224
CLYKE, QUENTIN                       ADDRESS ON FILE
CLYMA, GAVIN                         ADDRESS ON FILE
CLYNE, DONALD                        ADDRESS ON FILE
CM TRANS INC                         2916 STALLION WAY ONTARIO CA 91761-5012
CM TRANSPORT                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CM TRANSPORTATION CORP               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CM TRUCK REBUILD & FABRICATION       C/O MAZON ASSOCIATES INC, PO BOX 166858 IRVING TX 75016
CM TRUCK REBUILD & FABRICATION       401 E CROSSLAND BLVD GRAND PRAIRIE TX 75052
CM TRUCKING                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CM WORKS TRANSPORTATION INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CMA LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CMB CONCRETE                         9300 195TH LN NW NOWTHEN MN 55330
CMB LOGISTICS LLC                    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
CMC LOGISTICS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
CMC MANAGEMENT LLC                   1702 COMMERCE DR PIQUA OH 45356
CMC TIRE                             189 N 5500 W HURRICANE UT 84737
CMC TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CMC TRUCK SERVICE INC                1500 SEYMORE ST SOUTH PLAINFIELD NJ 07080
CMC TRUCK SERVICE INC                218 N RANDOLPHVILLE RD PISCATAWAY NJ 08854
CMDM TRANSPORTATION LLC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CMDO TRUCKING                        1624 W RIALTO AVE APT 155 FONTANA CA 92335
CMF TRANSPORTATION                   PO BOX 2360, APT 8 NORTH CONWAY NH 03860
CMG CHAMPLAIN                        18110 SE 34TH ST STE 240 VANCOUVER WA 98683
CMG TRANSPORT INC.                   812 W MADISON AVE MONTEBELLO CA 90640
CMH TRUCKING LLC                     OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
CMJ CARRIERS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CMK LOGISTICS LLC                    OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
CML EXPRESS CORP                     OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
CML LOGISTICS LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
CML TRANSPORT LLC                    7227 WALKER ST PHILADELPHIA PA 19135
CMN EXPRESS, INC.                    PO BOX 680 BELVIDERE IL 61008
CMO TRUCKING LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                                Page 393 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 402 of 2156

Claim Name                            Address Information
CMPM LOGISTICS CORP                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CMQ GLOBAL LOGISTICS LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CMS OUTDOOR SOLUTIONS GROUP           4151 S 84TH ST OMAHA NE 68127
CMS TRANSPORTATION LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CMV TRANSPORTATION SERVICE LLC        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CMWJR LLC                             OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
CMZ HOTSHOT SERVICES & SUPPLIES LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CMZM TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CN                                    C.P. 11774 SUCC CENTRE-VILLE MONTREAL QC H3C 0A4 CANADA
CN                                    PO BOX 71206 CHICAGO IL 60694
CN EXPRESS LLC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CN LOGISTICS LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CN TRUCKING LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CNA                                   C/O COLUMBIA CASUALTY 333 SOUTH WABASH AVENUE CHICAGO IL 60604
CNA                                   C/O CONTINENTAL CASUALTY ATTN: STATHY DARCY SVP, DEP GEN COUNSEL 151 N
                                      FFRANKLIN STREET CHICAGO IL 60606
CNA SURETY                            151 N FRANKLIN ST 17TH FLOOR CHICAGO IL 60606
CNB EXPRESS                           4212 HUNTERS GREEN WAY NE KENNESAW GA 30144
CNB TRUCKING LLC                      3044 BARDSTOWN RD LOUISVILLE KY 40205
CNC LOGISTICS                         7157 MERCHANT AVE STE C EL PASO TX 79923
CNC TRUCKING                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CNC WORLDWIDE TRUCKING LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CNESST                                C.P. 11493 SUCC. CENTRE-VILLE MONTREAL QC H3C 5S1 CANADA
CNG LOGISTICS LLC                     W6296 BIG HORN LA WAUTOMA WI 54982
CNH                                   ATTN: JOSEPH LUCARELLI CDS 171 WEST WING STREET STE 204A ARLINGTON HEIGHTS IL
                                      60005
CNH                                   CDS 171 WEST WING STREET STE 204A ARLINGTON HEIGHTS IL 60005
CNL LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CNL TRANSPORT INC                     OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
CNM TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CNU LOGISTICS                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CNUNEZ TRUCKING                       851 CHRISTIAN AVENUE BAKERSFIELD CA 93314
CNW NATIONAL LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CO DEPT OF LABOR & EMPLOYMENT         DIVISION OF OIL AND PUBLIC SAFETY PO BOX 628 DENVER CO 80201
CO DEPT OF PUBLIC HEALTH AND          ATTN KRISTINE FIGUR 4300 CHERRY CREEK DR S DENVER CO 80246
ENVIRONMENT
CO DEPT OF PUBLIC HEALTH AND          MAIL STOP ASD AR B1 4300 CHERRY CREEK DRIVE SOUTH DENVER CO 80246
ENVIRONMENT
CO LINES INC                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
COACH FREIGHT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COACH GLASS                           91302 N COBURG INDUSTRIAL WAY COBURG OR 97408
COACH GLASS                           ATTN: OKSANA HOLLOWAY 91302 N COBURG INDUSTRIAL WAY COBURG OR 97408
COACH LOGISTICS INC                   OR AVA FINANCIAL GROUP INC 273 MOORE PARK AVE TORONTO ON M2M 1N5 CANADA
COACHELLA VALLEY TRANSPORTATION LLC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
COACHYTO GLOBAL MOTORS INC            OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
COADY, PATRICK                        ADDRESS ON FILE
COADYS TOWING SERVICE                 139 MARSTON ST LAWRENCE MA 01841
COAKLEY, BRYAN                        ADDRESS ON FILE
COAKLEY, DERIC                        ADDRESS ON FILE
COAKLEY, ERIC                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                  Page 394 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 403 of 2156

Claim Name                              Address Information
COAL ROLLING BROTHERS LLC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
COALE, JACQUES                          ADDRESS ON FILE
COALESCE LOGISTICS LLC                  OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
COARD JR, ROBERT                        ADDRESS ON FILE
COAST 2 COAST COURIER SERVICE LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COAST 2 COAST LOGISTICS GROUP LLC       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COAST 2 COAST TRUCKING INC              OR CAPITAL CREDIT INC, PO BOX 204695 DALLAS TX 75320-4695
COAST CONNECTION INC                    PO BOX 465 LINCOLNSHIRE IL 60069
COAST COUNTIES PETERBILT                2660 JACOBS AVE EUREKA CA 95501
COAST COUNTIES TRUCK & EQUIPMENT        PO BOX 757 SAN JOSE CA 95106
COMPANY
COAST GUARD 395                         ATTN: JUAN ARROYO 700 CALLE BETANCES STE 30 CAGUAS PR 00725
COAST GUARD 395                         ATTN: ONASIS ROSA GOMEZ 700 CALLE BETANCES STE 30 CAGUAS PR 00725
COAST GUARD EXCHANGE                    ATTN: NASHALY ROSA PO BOX 250520 AGUADILLA PR 00604
COAST INDUSTRIAL SEATING & UPHOLSTERY   14304 WICKS BLVD SAN LEANDRO CA 94577
COAST POWERTRAIN LTD                    420 CANFOR AVE NEW WESTMINSTER BC V3L 5G2 CANADA
COAST TO COAST DISPATCH                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COAST TO COAST EXPRESS                  4460 W SHAW AVE SUITE 588 FRESNO CA 93722
COAST TO COAST EXPRESS CARRIER LLC      OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
COAST TO COAST G TRANSPORT LLC          OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
COAST TO COAST TRANSPORTATION LLC       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
COAST TO COAST TRUCKING INC             OR OTR CAPITAL LLC PO BOX 1175760 ATLANTA GA 30368-7576
COAST TO COAST TRUCKING LLC             OR KY FACTORING, PO BOX 940892 MIAMI KY 33194
COAST TO COAST TRUCKING LLC (MC1456450) 1223 KENWOOD STREET BURBANK CA 91505
COAST TRUCK CENTERS                     2933 GREENSPRINGS DR. KLAMATH FALLS OR 97601
COASTAL AGROBUSINESS INC                2230 CAROLINA LEAF RD GREENVILLE NC 27834
COASTAL CAROLINA SUPPLY INC             P O BOX 1259 MOREHEAD CITY NC 28557
COASTAL ELITE LOGISTICS LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COASTAL EX LOGISTICS INC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
COASTAL FARM & RANCH                    7303 CRATER LAKE HWY. WHITE CITY OR 97503
COASTAL FREIGHT SYSTEM INC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
COASTAL HARBOR FREIGHT LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
COASTAL INTERNATIONAL TRUCKS, LLC       17 O KEFE LANE WARWICK RI 02888
COASTAL OCCUPATIONAL MEDICAL GROUP      P.O. BOX 2867 SANTA FE SPRINGS CA 90670
COASTAL OCCUPATIONAL MEDICAL GROUP      AKESO OCCUPATIONAL HEALTH 7700 IRVINE CENTER DR, STE 870 IRVINE CA 92618
COASTAL TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
COASTAL TRANSPORTATION                  4025 13TH AVENUE WEST SEATTLE WA 98119
COASTER CO                              8350 PARDEE DR STE 200 OAKLAND CA 94621
COASTER COMPANY OF AMERICA              ATTN: JAZMIN GARCIA ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
COASTING COASTAL LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COASTLINE CHEMICAL                      ATTN: JONATHAN SHARPLEY 30470 ENERGY DR NEW CHURCH VA 23415
COASTLINE EXPRESS INC                   8841 LONGDEN AVE TEMPLE CITY CA 91780
COASTLINER TRANS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COATE, TERRY                            ADDRESS ON FILE
COATED METALS GROUP                     649 W 4330 S SALT LAKE CITY UT 84123
COATES, BRYAN                           ADDRESS ON FILE
COATES, PATRICK                         ADDRESS ON FILE
COATES, REGINALD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 395 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 404 of 2156

Claim Name                             Address Information
COATNEY, ADAM                          ADDRESS ON FILE
COATNEY, JOEL                          ADDRESS ON FILE
COATNEY, JONATHAN                      ADDRESS ON FILE
COATNEY, JONATHAN E                    ADDRESS ON FILE
COATS TRANSPORTATION & LOGISTICS LLC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
COATS, BILLY                           ADDRESS ON FILE
COATS, KENDALE                         ADDRESS ON FILE
COAVA COFFEE C/O ECHO                  ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
COBA LLC                               230 JR ACHIEVEMENT DR B316 ELKHART IN 46516
COBAS TRANSPORT CORP                   OR FACTORING EXPRESS LLC PO BOX 150205 OGDEN UT 84415
COBB COUNTY TAX COMMISSIONER           PO BOX 100127 MARIETTA GA 30061
COBB REFRIGERATED FREIGHT, INC.        420 CALIFORNIA AVENUE MODESTO CA 95351
COBB, BRIAN D                          ADDRESS ON FILE
COBB, CODY                             ADDRESS ON FILE
COBB, EUGENE                           ADDRESS ON FILE
COBB, FRANK                            ADDRESS ON FILE
COBB, JAMES                            ADDRESS ON FILE
COBB, KEVIN                            ADDRESS ON FILE
COBB, MARK                             ADDRESS ON FILE
COBB, NATHANIEL                        ADDRESS ON FILE
COBB, ROGER                            ADDRESS ON FILE
COBB, STEVEN                           ADDRESS ON FILE
COBB, TERRANCE                         ADDRESS ON FILE
COBB, TERRELL                          ADDRESS ON FILE
COBB, TONY                             ADDRESS ON FILE
COBB, WESTON                           ADDRESS ON FILE
COBBIN, RICKY                          ADDRESS ON FILE
COBBLE, ANDREW                         ADDRESS ON FILE
COBBLEY, MARK                          ADDRESS ON FILE
COBBS, JAMES                           ADDRESS ON FILE
COBBS, LARRY                           ADDRESS ON FILE
COBEN TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
COBLE, GRACE                           ADDRESS ON FILE
COBLE, JUSTIN                          ADDRESS ON FILE
COBLE, JUSTIN                          ADDRESS ON FILE
COBLE, REX                             ADDRESS ON FILE
COBLE, RODNEY                          ADDRESS ON FILE
COBLE, SAMUEL                          ADDRESS ON FILE
COBOS, FIDENCIO                        ADDRESS ON FILE
COBOS, MIGUEL                          ADDRESS ON FILE
COBRA CORPORATION INC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
COBRA EXPEDITING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
COBRA INC                              OR SOLISHUB, 465 W CROSSROADS PKWY BOLINGBROOK IL 60440
COBRA TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COBRA TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
COBRAS EXPRESS INC                     PO BOX 1661 BALDWIN PARK CA 91706
COBRAS UPHOLSTERY                      810 N 15TH AVE PHOENIX AZ 85007
COBURN, ANDRE                          ADDRESS ON FILE
COBURN, JAMIE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 396 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 405 of 2156

Claim Name                              Address Information
COBURN, JO ANN HARRISON                ADDRESS ON FILE
COBURN, RYAN                           ADDRESS ON FILE
COBURNS                                940 VISADOR RD JASPER TX 75951
COBURNS TRANSPORTATION SYSTEMS INC.    1901 FORBES STREET BROOKLIN ON L1N 9A7 CANADA
COCA COLA                              ATTN: AKILAH FRANKLIN 1001 GREAT SOUTHWEST PKWY ATLANTA GA 30336
COCA-COLA BOTTLING COMPANY HIGH COUNTRY PO BOX 855141 MINNEAPOLIS MN 55485
COCA-COLA BOTTLING COMPANY HIGH COUNTRY PO BOX 912903 DENVER CO 80291
COCCHIA, DESAREE                       ADDRESS ON FILE
COCCIOLONE, MICHAEL                    ADDRESS ON FILE
COCHISE PETROLEUM EQUIPMENT COMPANY INC 333 N BLACK CANYON HWY PHOENIX AZ 85009
COCHISE TERMITE PEST CTRL              2409 10TH ST DOUGLAS AZ 85607
COCHRAN, DAVID                         ADDRESS ON FILE
COCHRAN, DEREK                         ADDRESS ON FILE
COCHRAN, ELISE                         ADDRESS ON FILE
COCHRAN, KEENAN D                      ADDRESS ON FILE
COCHRAN, LOREN                         ADDRESS ON FILE
COCHRAN, MARK                          ADDRESS ON FILE
COCHRAN, MICHAEL                       ADDRESS ON FILE
COCHRAN, RICKY                         ADDRESS ON FILE
COCHRAN, RYAN                          ADDRESS ON FILE
COCHRAN, STEPHEN                       ADDRESS ON FILE
COCHRAN, TWON                          ADDRESS ON FILE
COCHRAN, WILLIAM                       ADDRESS ON FILE
COCHRAN-PEREZ, JAIME E                 ADDRESS ON FILE
COCHRANE, KEVIN                        ADDRESS ON FILE
COCHRANS TRUCK STOP                    11343 HIGHWAY 41 RINGGOLD GA 63103-1216
COCKBURN, ALYSSA                       ADDRESS ON FILE
COCKBURN, JULIA                        ADDRESS ON FILE
COCKBURN, SUSY                         ADDRESS ON FILE
COCKRANE, KAREN                        ADDRESS ON FILE
COCKRELL, RICHARD E                    ADDRESS ON FILE
COCKRELL, SHARELLE                     ADDRESS ON FILE
COCKRELL, STEVE                        ADDRESS ON FILE
COCKRELL, WHEELER                      ADDRESS ON FILE
COCKS, MIKE                            ADDRESS ON FILE
COCO JOY                               ADDRESS ON FILE
COCOLETZI GOMEZ, FERNANDO              ADDRESS ON FILE
COCONINO COUNTY TREASURER              110 E CHERRY FLAGSTAFF AZ 86001
COCOS TRUCKING GROUP, INC              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
COCOZZA, ROSEMARIE                     ADDRESS ON FILE
CODACK, DEBORA                         ADDRESS ON FILE
CODALE ELECTRIC                        5225 W 2400 S SALT LAKE CITY UT 84120
CODDINGTON, CLARK                      ADDRESS ON FILE
CODDINGTON, MICHAEL                    ADDRESS ON FILE
CODE 1 TRANSPORT LLC                   825 NETTLEBROOK LN MILTON GA 30004
CODEL ENTRY SYSTEMS                    1510 ST PAUL AVE TACOMA WA 98421
CODEL INC                              1510 ST PAUL AVE TACOMA WA 98421
CODINGTON LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CODINGTON LOGISTICS LLC                105 CHIEFTAIN DR WAXAHACHIE TX 75165-1503



Epiq Corporate Restructuring, LLC                                                                 Page 397 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 406 of 2156

Claim Name                        Address Information
CODISE TRANSPORTATION LLC         OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
CODNER, OLAF                      ADDRESS ON FILE
CODY BEAR TRANSPORT LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CODY E ESTHER                     ADDRESS ON FILE
CODY EXPRESS, LLC                 200 PEPPER RD.. EASLEY SC 29642
CODY J ANDREWS                    ADDRESS ON FILE
CODY J ANDREWS                    ADDRESS ON FILE
CODY J CARSTEN                    ADDRESS ON FILE
CODY J RAINWATER                  ADDRESS ON FILE
CODY JAMES TOOLS                  278 STATE ROUTE 37 NEW FAIRFIELD CT 06812
CODY KEYS TRUCKING LLC            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CODY L BURNS                      ADDRESS ON FILE
CODY SEYMORE                      ADDRESS ON FILE
CODY, DEAN                        ADDRESS ON FILE
CODY, DENVER                      ADDRESS ON FILE
CODY, KATHLEEN                    ADDRESS ON FILE
CODY, RICHARD                     ADDRESS ON FILE
CODYSTAR LLC                      OR TRANS FG, DEPT 909, PO BOX 509141 SAN DIEGO CA 92150
CODYSUR TRUCKS INC                OR WELLS FARGO BANK, NA, PO BOX 912394 DENVER CO 80291-2394
COE, DAVID                        ADDRESS ON FILE
COE, WILLIE                       ADDRESS ON FILE
COEHRS, DONALD J                  ADDRESS ON FILE
COELHO, JOSE                      ADDRESS ON FILE
COEN, BRIAN                       ADDRESS ON FILE
COES EXPRESS LLC                  OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
COFFELT, MATTHEW                  ADDRESS ON FILE
COFFEY, AMY                       ADDRESS ON FILE
COFFEY, ANDREW                    ADDRESS ON FILE
COFFEY, ASHTON                    ADDRESS ON FILE
COFFEY, BARRY                     ADDRESS ON FILE
COFFEY, DYLAN                     ADDRESS ON FILE
COFFEY, FRANKLIN                  ADDRESS ON FILE
COFFEY, GEORGE                    ADDRESS ON FILE
COFFEY, JAMES                     ADDRESS ON FILE
COFFEY, JAMES                     ADDRESS ON FILE
COFFEY, JOHN                      ADDRESS ON FILE
COFFEY, ROBERT                    ADDRESS ON FILE
COFFEY, ROBERT J                  ADDRESS ON FILE
COFFEY, SAMUEL                    ADDRESS ON FILE
COFFEY, VAN                       ADDRESS ON FILE
COFFIELD, JOSHUA                  ADDRESS ON FILE
COFFMAN TRUCK SALES INC           P.O. BOX 151 1149 S. LAKE ST. AURORA IL 60507
COFFMAN, BRIAN                    ADDRESS ON FILE
COFFMAN, DONALD                   ADDRESS ON FILE
COFFMAN, GARY                     ADDRESS ON FILE
COFFMAN, MATTHEW                  ADDRESS ON FILE
COFFMAN, RACHEL                   ADDRESS ON FILE
COFIELD, NORMAN                   ADDRESS ON FILE
COFOID, ESTELLA                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 398 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 407 of 2156

Claim Name                             Address Information
COGANS GARAGE & TRUCK PARTS INC        162 TOWNSHIP RD 616 SOUTH POINT OH 45680
COGANS WRECKER SERVICE INC             162 TOWNSHIP RD 616 SOUTH POINT OH 45680
COGDELL, ERNEST                        ADDRESS ON FILE
COGGINS, CALVIN                        ADDRESS ON FILE
COGGINS, EVAN                          ADDRESS ON FILE
COGGINS, MICHAEL                       ADDRESS ON FILE
COGNATA TECHNOLOGIES                   211 W WACKER DRIVE FLOOR 3 CHICAGO IL 60606
COGSHELL, MICHAEL                      ADDRESS ON FILE
COGSWELL SPRINKLER CO                  22 CANTERBURY ST WORCESTER MA 01610
COGSWELL SPRINKLER CO                  PO BOX 412007 BOSTON MA 02241
COHCP AHAC RVHA RE                     2516 SW GLACIER PL REDMOND OR 97756
COHEN, DAYVON                          ADDRESS ON FILE
COHEN, SAM                             ADDRESS ON FILE
COHEN, THEODORE                        ADDRESS ON FILE
COHESION HAULING LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
COHICK, KEVIN                          ADDRESS ON FILE
COHN, BRIAN                            ADDRESS ON FILE
COHOON, CORY                           ADDRESS ON FILE
COHRON, LARRY C                        ADDRESS ON FILE
COILLOT, THERESA                       ADDRESS ON FILE
COIN, LLC                              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
COIN, SUNDEE                           ADDRESS ON FILE
COIN, THOMAS                           ADDRESS ON FILE
COINER, LUCAS                          ADDRESS ON FILE
COINTER TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
COIT CLEANING & RESTORATION SERVICES   23580 MILES ROAD BEDFORD HEIGHTS OH 44128
COJO TRANSPORTATION                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
COKA TRUCKING CORPORATION              112 NIGHT HERON LN MIDDLETOWN DE 19709
COL LOGISTICS LLC                      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
COL LOGISTICS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
COLAIZZI, CLIFFORD                     ADDRESS ON FILE
COLAN TIRE CO.                         209 SW PHOSPHATE BLVD MULBERRY FL 33860
COLANTINO, FELIX                       ADDRESS ON FILE
COLANTUONO, ROBERT                     ADDRESS ON FILE
COLATRUGLIO, JASON                     ADDRESS ON FILE
COLBERT ELECTRICAL CO., INC.           99 HAVERHILL ST READING MA 01867
COLBERT JAMES TRUCKING LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COLBERT, CLYDE                         ADDRESS ON FILE
COLBERT, DAVID                         ADDRESS ON FILE
COLBERT, GREGORY                       ADDRESS ON FILE
COLBERT, MARVIN                        ADDRESS ON FILE
COLBERT, MILTON                        ADDRESS ON FILE
COLBERT, RONDY                         ADDRESS ON FILE
COLBIN TOOL                            ADDRESS ON FILE
COLBRIDGE, JAMESON                     ADDRESS ON FILE
COLBURN, CHYANNA                       ADDRESS ON FILE
COLBY, GRAHAM                          ADDRESS ON FILE
COLBY, NORM                            ADDRESS ON FILE
COLCORD, BRANDON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 399 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 408 of 2156

Claim Name                            Address Information
COLD EXPRESS TRANSPORT LLC            1275 W EDGEMONT DR SAN BERNARDINO CA 92405
COLD FEET TRUCKING OF ALASKA          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
COLD RIVER LOGISTICS LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COLD WORLD STORAGE                    OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458
COLDEN ENTERPRISES, INC.              750 ONTARIO ST KENMORE NY 14217
COLDEN ENTERPRISES, INC.              890 ONTARIO ST BUFFALO NY 14217
COLDEN, KIMBERLY                      ADDRESS ON FILE
COLDEST CATS LTD                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COLDICOTT, JORDAN                     ADDRESS ON FILE
COLDIRON FUEL, INC.                   2000 COLLEGE AVE ELMIRA NY 14901
COLDIRON SPECIALIZED DRIVEWAY, INC.   PO BOX 682348 FRANKLIN TN 37068
COLDIRON, ANDY                        ADDRESS ON FILE
COLDWELL, VANCE                       ADDRESS ON FILE
COLE JR., NORM                        ADDRESS ON FILE
COLE JR., NORM D                      ADDRESS ON FILE
COLE NOWERS                           ADDRESS ON FILE
COLE TRUCKING LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COLE WORLD LOGISTICS LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COLE, ADRIAN                          ADDRESS ON FILE
COLE, BRADY                           ADDRESS ON FILE
COLE, BRYTTANI                        ADDRESS ON FILE
COLE, CHANEL                          ADDRESS ON FILE
COLE, CHARLES                         ADDRESS ON FILE
COLE, CLYDE                           ADDRESS ON FILE
COLE, CLYDE                           ADDRESS ON FILE
COLE, COURTNEY                        ADDRESS ON FILE
COLE, CRAIG                           ADDRESS ON FILE
COLE, DAMON                           ADDRESS ON FILE
COLE, DAVID                           ADDRESS ON FILE
COLE, DENNIS                          ADDRESS ON FILE
COLE, GEORGE                          ADDRESS ON FILE
COLE, GREGORY                         ADDRESS ON FILE
COLE, GREGORY                         ADDRESS ON FILE
COLE, HUNTER                          ADDRESS ON FILE
COLE, JEROME P                        ADDRESS ON FILE
COLE, JOHN                            ADDRESS ON FILE
COLE, JONATHAN                        ADDRESS ON FILE
COLE, JUSTIN                          ADDRESS ON FILE
COLE, KERRY                           ADDRESS ON FILE
COLE, KEVIN                           ADDRESS ON FILE
COLE, KEVIN                           ADDRESS ON FILE
COLE, LARRY                           ADDRESS ON FILE
COLE, LARRY                           ADDRESS ON FILE
COLE, LAWRENCE                        ADDRESS ON FILE
COLE, MARIO                           ADDRESS ON FILE
COLE, MATT                            ADDRESS ON FILE
COLE, MELINDA                         ADDRESS ON FILE
COLE, MICHAEL                         ADDRESS ON FILE
COLE, MICHAEL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 400 OF 2145
                                                Yellow Corporation
                     Case 23-11069-CTG          Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 409 of 2156

Claim Name                               Address Information
COLE, MICHAEL G                          ADDRESS ON FILE
COLE, MIKE                               ADDRESS ON FILE
COLE, QUENTIN                            ADDRESS ON FILE
COLE, RANDALL                            ADDRESS ON FILE
COLE, RANDY                              ADDRESS ON FILE
COLE, RENAULT                            ADDRESS ON FILE
COLE, RICHARD                            ADDRESS ON FILE
COLE, RICHARD A                          ADDRESS ON FILE
COLE, ROBERT                             ADDRESS ON FILE
COLE, ROBERT                             ADDRESS ON FILE
COLE, RODNEY                             ADDRESS ON FILE
COLE, RONALD                             ADDRESS ON FILE
COLE, SABRINA                            ADDRESS ON FILE
COLE, SANTORE                            ADDRESS ON FILE
COLE, TAKARA                             ADDRESS ON FILE
COLE, TRACIE                             ADDRESS ON FILE
COLE, TRENTON                            ADDRESS ON FILE
COLE, TREVOR                             ADDRESS ON FILE
COLEGROVE, WESLEY                        ADDRESS ON FILE
COLELLA, ANITA                           ADDRESS ON FILE
COLEMAN AMERICAN MOVING SERVICES, INC.   4880 F STREET OMAHA NE 68117
COLEMAN JR, SAMUEL                       ADDRESS ON FILE
COLEMAN TRANSPORT                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
COLEMAN TRANSPORTATION                   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
COLEMAN, AMY                             ADDRESS ON FILE
COLEMAN, ANTHONY                         ADDRESS ON FILE
COLEMAN, ANTHONY                         ADDRESS ON FILE
COLEMAN, BREEANA                         ADDRESS ON FILE
COLEMAN, CARL                            ADDRESS ON FILE
COLEMAN, CARRON                          ADDRESS ON FILE
COLEMAN, CHARLES                         ADDRESS ON FILE
COLEMAN, CHARLES                         ADDRESS ON FILE
COLEMAN, CHRIS                           ADDRESS ON FILE
COLEMAN, DARREN                          ADDRESS ON FILE
COLEMAN, DATRAVIUS                       ADDRESS ON FILE
COLEMAN, DEKIYAS                         ADDRESS ON FILE
COLEMAN, DEMARCUS                        ADDRESS ON FILE
COLEMAN, DERRICK                         ADDRESS ON FILE
COLEMAN, EDWARD                          ADDRESS ON FILE
COLEMAN, ERICA                           ADDRESS ON FILE
COLEMAN, EZRA                            ADDRESS ON FILE
COLEMAN, GEORGE                          ADDRESS ON FILE
COLEMAN, GREGORY                         ADDRESS ON FILE
COLEMAN, IRVING                          ADDRESS ON FILE
COLEMAN, JAMES                           ADDRESS ON FILE
COLEMAN, JEFF                            ADDRESS ON FILE
COLEMAN, JEFFREY                         ADDRESS ON FILE
COLEMAN, JEREMY                          ADDRESS ON FILE
COLEMAN, JOSH                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 401 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 410 of 2156

Claim Name                          Address Information
COLEMAN, JUAN                       ADDRESS ON FILE
COLEMAN, KELSEA                     ADDRESS ON FILE
COLEMAN, KIMBERLY                   ADDRESS ON FILE
COLEMAN, KRISTEN                    ADDRESS ON FILE
COLEMAN, MARK                       ADDRESS ON FILE
COLEMAN, MICAH                      ADDRESS ON FILE
COLEMAN, MICHAEL                    ADDRESS ON FILE
COLEMAN, MICHAEL                    ADDRESS ON FILE
COLEMAN, NELL                       ADDRESS ON FILE
COLEMAN, NICKERRIA                  ADDRESS ON FILE
COLEMAN, NICOLE                     ADDRESS ON FILE
COLEMAN, RANARD                     ADDRESS ON FILE
COLEMAN, REBECCA                    ADDRESS ON FILE
COLEMAN, ROBERT                     ADDRESS ON FILE
COLEMAN, ROBERT                     ADDRESS ON FILE
COLEMAN, SAMUEL                     ADDRESS ON FILE
COLEMAN, SHANNON                    ADDRESS ON FILE
COLEMAN, SHANNON                    ADDRESS ON FILE
COLEMAN, SHAWN                      ADDRESS ON FILE
COLEMAN, SHAWN M                    ADDRESS ON FILE
COLEMAN, SHELLEY                    ADDRESS ON FILE
COLEMAN, STEFRON                    ADDRESS ON FILE
COLEMAN, STEVEN                     ADDRESS ON FILE
COLEMAN, TERRY                      ADDRESS ON FILE
COLEMAN, THOMAS                     ADDRESS ON FILE
COLEMAN, TYROME                     ADDRESS ON FILE
COLEMAN, XAVIER                     ADDRESS ON FILE
COLEMAN, ZACHARY                    ADDRESS ON FILE
COLEMAN, ZATREVIAN                  ADDRESS ON FILE
COLEMAN-DAWSON, LATONYA             ADDRESS ON FILE
COLES TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
COLES WILD BIRD PRODUCTS ECHO       ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
COLES, MATTHEW                      ADDRESS ON FILE
COLETTAS                            250 NIANTIC AVE PROVIDENCE RI 02907
COLEY, JIM                          ADDRESS ON FILE
COLGAN, JAMES                       ADDRESS ON FILE
COLGATE PALMOLIVE                   ATTN: DONA A VIDAL CARGO CLAIMS PO BOX 518 LOWELL AR 72745
COLGATE PALMOLIVE                   ATTN: DONA VIDAL CARGO CLAIMS PO BOX 518 LOWELL AR 72745
COLGATE PALMOLIVE                   ATTN: DONA VIDAL TRANSPLACE CARGO CLAIMS PO BOX 518 LOWELL AR 72745
COLGLAZIER, JEFFREY                 ADDRESS ON FILE
COLIMA TRANSPORTATION INC           OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
COLIN J COSGROVE                    ADDRESS ON FILE
COLIN J CROWLEY                     ADDRESS ON FILE
COLIN RATSEY                        ADDRESS ON FILE
COLIN-GOMEZ, ELEAZAR                ADDRESS ON FILE
COLINDRES, JOSHUA                   ADDRESS ON FILE
COLINX                              TRANSPORTATION DEPT, 1536 GENESIS RD CROSSVILLE TN 38555
COLL, FLAVIA                        ADDRESS ON FILE
COLLABO TRANSPORTATION LLC          OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                                Page 402 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 411 of 2156

Claim Name                              Address Information
COLLADO DORREJO, ADONIS                ADDRESS ON FILE
COLLADO DORREJO, LUIS M                ADDRESS ON FILE
COLLADO ENTERPRISE LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
COLLADO, ERIC                          ADDRESS ON FILE
COLLADO, JOAN                          ADDRESS ON FILE
COLLADO, KAHAVI                        ADDRESS ON FILE
COLLAZO, HECTOR                        ADDRESS ON FILE
COLLAZO, MARITZA                       ADDRESS ON FILE
COLLECTION TOOLBOX                     29455 N CAVE CREEK RD STE 118 159 CAVE CREEK AZ 85331
COLLECTOR OF REVENUE                   1200 MARKET STREET ROOM 410 SAINT LOUIS MO 63103
COLLEDGE, CHANCE                       ADDRESS ON FILE
COLLEDGE, JOHN                         ADDRESS ON FILE
COLLEEN ELLIOTT                        ADDRESS ON FILE
COLLEGE CITY TREE SERVICES LLC         511 MOORE ST MARION AL 36756
COLLEGE OF MEDICINE                    1501 N. CAMPBELL AVE. TUCSON AZ 85724
COLLEGE, CONRAD G                      ADDRESS ON FILE
COLLENBAUGH, GARY                      ADDRESS ON FILE
COLLER, JUSTIN                         ADDRESS ON FILE
COLLET, SHANE                          ADDRESS ON FILE
COLLEY, ANTHONY                        ADDRESS ON FILE
COLLEY, MARK                           ADDRESS ON FILE
COLLIER JR, ROBERT                     ADDRESS ON FILE
COLLIER TRUCKING SERVICES INC          OR SUNBELT FINANCE LLC PO BOX 1000 DEPT 144 MEMPHIS TN 38148
COLLIER, BRIAN                         ADDRESS ON FILE
COLLIER, DEONDRAYDE                    ADDRESS ON FILE
COLLIER, DONALD                        ADDRESS ON FILE
COLLIER, EDWARD                        ADDRESS ON FILE
COLLIER, ERIC C                        ADDRESS ON FILE
COLLIER, ERIK                          ADDRESS ON FILE
COLLIER, JAMES                         ADDRESS ON FILE
COLLIER, JERMAINE                      ADDRESS ON FILE
COLLIER, LARRY                         ADDRESS ON FILE
COLLIER, PARRISH                       ADDRESS ON FILE
COLLIER, PATRICK                       ADDRESS ON FILE
COLLIER, RAMON                         ADDRESS ON FILE
COLLIER, RAY                           ADDRESS ON FILE
COLLIER, SANDRA                        ADDRESS ON FILE
COLLIER, SANDRA J                      ADDRESS ON FILE
COLLIER, TERRY                         ADDRESS ON FILE
COLLIER, TIMOTHY                       ADDRESS ON FILE
COLLIER-EARLY, ANGELA                  ADDRESS ON FILE
COLLIER-SCOTT, ARDACIA                 ADDRESS ON FILE
COLLIERS INTERNATIONAL                 PARK 17TH, 1717 MCKINNEY AVE, STE 900 DALLAS TX 75202
COLLIFLOWER INC - BALTIMORE            PO BOX 826398 PHILADELPHIA PA 19182
COLLINGWOOD MEDICAL CLINIC             350-3150 54TH AVE E VANCOUVER BC V5S 1Z1 CANADA
COLLINGWOOD WATER CO., INC.            710 BERDAN AVE TOLEDO OH 43610
COLLINGWOOD, ANDREW                    ADDRESS ON FILE
COLLINGWOOD, ANTHONY                   ADDRESS ON FILE
COLLINS BROTHERS TOWING OF ST CLOUD INC 2300 6TH STREET N SAINT CLOUD MN 56303



Epiq Corporate Restructuring, LLC                                                                   Page 403 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 412 of 2156

Claim Name                           Address Information
COLLINS CARRIERS LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
COLLINS EQUIPMENT CORP               3005 EAST 55TH STREET CLEVELAND OH 44127
COLLINS JOHNSON, CARMEN              ADDRESS ON FILE
COLLINS OVERHEAD DOORS, INC.         PO BOX 9125 CHELSEA MA 02150
COLLINS TRUCKING COMPANY, INC.       PO BOX 617 JACKSON GA 30233
COLLINS WAY LOGISTICS                OR TAFS, P.O BOX 872632 KANSAS CITY MO 64187
COLLINS, ANDRE L                     ADDRESS ON FILE
COLLINS, ANDREW                      ADDRESS ON FILE
COLLINS, CHAZMIN                     ADDRESS ON FILE
COLLINS, COLLEEN                     ADDRESS ON FILE
COLLINS, DANTE                       ADDRESS ON FILE
COLLINS, DAVE                        ADDRESS ON FILE
COLLINS, DAVID                       ADDRESS ON FILE
COLLINS, DAVID                       ADDRESS ON FILE
COLLINS, DAVID                       ADDRESS ON FILE
COLLINS, DAVID                       ADDRESS ON FILE
COLLINS, DAWN                        ADDRESS ON FILE
COLLINS, EDWIN                       ADDRESS ON FILE
COLLINS, ELIJAH                      ADDRESS ON FILE
COLLINS, GARTH                       ADDRESS ON FILE
COLLINS, GARY                        ADDRESS ON FILE
COLLINS, GARY                        ADDRESS ON FILE
COLLINS, GARY W                      ADDRESS ON FILE
COLLINS, GREGORY                     ADDRESS ON FILE
COLLINS, JAMES                       ADDRESS ON FILE
COLLINS, JANSON                      ADDRESS ON FILE
COLLINS, JENNIFER                    ADDRESS ON FILE
COLLINS, JERRY                       ADDRESS ON FILE
COLLINS, JOEY                        ADDRESS ON FILE
COLLINS, JOHN                        ADDRESS ON FILE
COLLINS, JON                         ADDRESS ON FILE
COLLINS, JOSEPH                      ADDRESS ON FILE
COLLINS, KEESHAWN                    ADDRESS ON FILE
COLLINS, KENDRA                      ADDRESS ON FILE
COLLINS, KENDRIC                     ADDRESS ON FILE
COLLINS, LAWRENCE                    ADDRESS ON FILE
COLLINS, LEANDER                     ADDRESS ON FILE
COLLINS, MARCEL D                    ADDRESS ON FILE
COLLINS, MARCUS                      ADDRESS ON FILE
COLLINS, MARTY                       ADDRESS ON FILE
COLLINS, MELISSA                     ADDRESS ON FILE
COLLINS, MICHAEL                     ADDRESS ON FILE
COLLINS, MICHAEL                     ADDRESS ON FILE
COLLINS, MICHAEL                     ADDRESS ON FILE
COLLINS, MICHAEL                     ADDRESS ON FILE
COLLINS, MORGAN                      ADDRESS ON FILE
COLLINS, NATHANIEL                   ADDRESS ON FILE
COLLINS, NATHANIEL                   ADDRESS ON FILE
COLLINS, NIKO M                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 404 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 413 of 2156

Claim Name                            Address Information
COLLINS, NIKOLE                       ADDRESS ON FILE
COLLINS, PAUL                         ADDRESS ON FILE
COLLINS, ROBERT                       ADDRESS ON FILE
COLLINS, RODERICK                     ADDRESS ON FILE
COLLINS, RODNEY                       ADDRESS ON FILE
COLLINS, ROY                          ADDRESS ON FILE
COLLINS, SAMMIE                       ADDRESS ON FILE
COLLINS, SEAN                         ADDRESS ON FILE
COLLINS, SHANE                        ADDRESS ON FILE
COLLINS, STEPHEN                      ADDRESS ON FILE
COLLINS, TERRY                        ADDRESS ON FILE
COLLINS, TERRYEN                      ADDRESS ON FILE
COLLINS, THERESA                      ADDRESS ON FILE
COLLINS, THOMAS                       ADDRESS ON FILE
COLLINS, THOMAS                       ADDRESS ON FILE
COLLINS, TIM                          ADDRESS ON FILE
COLLINS, TIMOTHY                      ADDRESS ON FILE
COLLINS, TIMOTHY                      ADDRESS ON FILE
COLLINS, TONY E                       ADDRESS ON FILE
COLLINS, VICTORIA                     ADDRESS ON FILE
COLLINS, VINCEARON                    ADDRESS ON FILE
COLLINS, WILBERT                      ADDRESS ON FILE
COLLINSBOYS FARMS LLC                 OR SMART FREIGHT FUNDING LLC PO BOX 3474 OMAHA NE 68103-0474
COLLINSON, RICHARD                    ADDRESS ON FILE
COLLISION COUNTRY REPAIR CENTER LLC   4282 IH 10 EAST SAN ANTONIO TX 78219
COLLISION KING                        C/O YOUR TOP SHOP IN TRACY, 468 E 10TH ST TRACY CA 95376
COLLYN HOT SHOT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
COLMAC INDUSTRIES                     PO BOX 72 COLVILLE WA 99114
COLOCHO, MAURICIO                     ADDRESS ON FILE
COLOMBO, JOSEPH                       ADDRESS ON FILE
COLON, ANGEL                          ADDRESS ON FILE
COLON, ANGEL                          ADDRESS ON FILE
COLON, AXCEL                          ADDRESS ON FILE
COLON, DANNY                          ADDRESS ON FILE
COLON, ELVIN                          ADDRESS ON FILE
COLON, FRANKIE                        ADDRESS ON FILE
COLON, JAMES                          ADDRESS ON FILE
COLON, JAMES                          ADDRESS ON FILE
COLON, JEFFREY                        ADDRESS ON FILE
COLON, JULIO                          ADDRESS ON FILE
COLON, LOU                            ADDRESS ON FILE
COLON, LUIS                           ADDRESS ON FILE
COLON, MELANIE                        ADDRESS ON FILE
COLON, RUPERT                         ADDRESS ON FILE
COLON, RUPERT M                       ADDRESS ON FILE
COLON, SAMUEL                         ADDRESS ON FILE
COLONIAL CARTON CO C/O TRAFFIC DATA   2206 PAGE ROAD, EXT 206 DURHAM NC 27703
COLONIAL TRUCK SALES INC              11430 AIRPARK ROAD ASHLAND VA 23005
COLONIAL TRUCK SALES INC              PO BOX 24288 RICHMOND VA 23224



Epiq Corporate Restructuring, LLC                                                                Page 405 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 414 of 2156

Claim Name                             Address Information
COLONNA BROTHERS INC                   ATTN: NICOLE COLONNA PO BOX 808 N BERGEN NJ 07047
COLONY PRODUCTS CO INC                 1931 W. PARK AVENUE REDLANDS CA 92373
COLOR AD INCORPORATED                  ATTN: AMANDA BURES 7200 GARY RD MANASSAS VA 20109
COLOR CARTON CORP                      341 CANAL PL BRONX NY 10451
COLOR COUNTRY DIESEL, INC.             2615 N FREEWAY DRIVE CEDAR CITY UT 84720
COLOR COUNTRY DIESEL, INC.             2615 N MAIN ST CEDAR CITY UT 84720
COLOR TILE                             2495 BROADWAY AVE NORTH BEND OR 97459
COLOR TONE POINT                       619 FREDERICKSBURG RD SAN ANTONIO TX 78201
COLOR WHEEL                            740 PITKIN AVE GRAND JUNCTION CO 81501
COLORADO BRAKE & SUPPLY INC            5001 E 52ND AVE COMMERCE CITY CO 80022
COLORADO COMMERCIAL DOORS              9595 PECOS ST 224 THORNTON CO 80260
COLORADO CORNHOLE CONNECTION           1702 FAIRACRES RD GREELEY CO 80631
COLORADO DEPARTMENT OF REVENUE         DEPARTMENT A DENVER CO 80243
COLORADO DEPARTMENT OF REVENUE         DEPT A, COLORADO DIV OF MOTOR VEHICLES DENVER CO 80243
COLORADO DEPARTMENT OF REVENUE         STATE CAPITOL ANNEX 1375 SHERMAN ST DENVER CO 80261
COLORADO DEPARTMENT OF REVENUE         1375 SHERMAN ST DENVER CO 80261
COLORADO DEPARTMENT OF THE TREASURY    UNCLAIMED PROPERTY DIVISION, 1580 LOGAN ST STE 500 DENVER CO 80203
COLORADO DEPT OF AGRICULTURE           305 INTERLOCKEN PARKWAY BROOMFIELD CO 80021
COLORADO DEPT OF AGRICULTURE           ATTN: SCALES, 2331 W 31ST AVENUE DENVER CO 80211
COLORADO DEPT OF LABOR & EMPLOYMENT    ATTN: SELF INSURANCE UNIT 633 17TH ST STE 400 DENVER CO 80202
COLORADO DIVISION OF WORKERS COMP      633 17TH ST SUITE 900 DENVER CO 80202
COLORADO FIRE SERVICES                 12445 E 39TH AVENUE, 511 DENVER CO 80239
COLORADO FIRESIDE                      4134 N TOWNSEND AVE MONTROSE CO 81401
COLORADO KENWORTH INC DBA              MHC KENWORTH DENVER 1524 NORTH CORRINGTON KANSAS CITY MO 64120
COLORADO MOTOR CARRIERS ASSOCIATION    D/B/A: COLORADO MOTOR CARRIERS ASSOCS. 4060 ELATI ST DENVER CO 80216
COLORADO MOTOR CARRIERS ASSOCIATIONS   4060 ELATI ST DENVER CO 80216
COLORADO MOTOR CARRIERS FOUNDATION     4060 ELATI STREET DENVER CO 80216
COLORADO PAINT COMPANY II, LLC         2851 N. WALDEN ST. AURORA CO 80011
COLORADO SPRINGS UTILITIES             121 S TEJON ST, STE 200 COLORADO SPRINGS CO 80903
COLORADO STATE PATROL                  MARTHA WAMSLEY, HAZARDOUS UNIT 15065 S. GOLDEN RD. GOLDEN CO 80401
COLORADO, CARLOS                       ADDRESS ON FILE
COLORADO, DAVID                        ADDRESS ON FILE
COLORADO, JASON                        ADDRESS ON FILE
COLORALL BODY SHOP                     PO BOX 249 GREENWOOD MO 64034
COLORALL TECHNOLOGIES OF KANSAS CITY   14843 GODDARD ST OVERLAND PARK KS 66221
COLORS INC                             166 BODO DR DURANGO CO 81303
COLQUHOUN, SCOTT                       ADDRESS ON FILE
COLQUITT, SYMEON                       ADDRESS ON FILE
COLS TRUCKING                          OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
COLSON, KYREE                          ADDRESS ON FILE
COLSON, RAY                            ADDRESS ON FILE
COLT PLUMBING COMPANY                  1132 W TRINDLE RD MECHANICSBURG PA 17055
COLT TRANS LLC                         OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
COLTER, DERRICK                        ADDRESS ON FILE
COLTERYAHN, BRET                       ADDRESS ON FILE
COLTON, ERICA                          ADDRESS ON FILE
COLTRANE, JOE                          ADDRESS ON FILE
COLTRANE, MICHAEL                      ADDRESS ON FILE
COLTRIN, JEFFREY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 406 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 415 of 2156

Claim Name                            Address Information
COLTRUCK SERVICES LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
COLTRUCKS CORP                        OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
COLUMBIA ALUMINUM PRODUCTS            1150 W RINCON ST CORONA CA 92880
COLUMBIA ALUMINUM PRODUCTS            ATTN: MARISSA MORALES 1150 W RINCON ST CORONA CA 92880
COLUMBIA ALUMINUM PRODUCTS LLC        1150 W RINCON ST CORONA CA 92878
COLUMBIA ALUMINUM PRODUCTS LLC        ATTN: SHANTEL NAVARRO 1150 W RINCON ST CORONA CA 92880
COLUMBIA COUNTY GEORGIA               PO BOX 56 APPLING GA 30802
COLUMBIA COUNTY WATER                 135 NE HERNANO AVE, STE 203 LAKE CITY FL 32055
COLUMBIA DISTRIBUTING                 2825 SE 1ST AVE. CANBY OR 97013
COLUMBIA FLEET SERVICE, INC           7205 MONTEVIDEO RD JESSUP MD 20794
COLUMBIA FLEET SERVICE, INC           7661 ASSATEAGUE DR JESSUP MD 20794
COLUMBIA FLEET SERVICE, INC           P.O. BOX 1038 JESSUP MD 20794
COLUMBIA GAS OF OHIO                  290 W NATIONWIDE BLVD, UNIT 114 COLUMBUS OH 43215-1082
COLUMBIA GAS OF PENNSYLVANIA          121 CHAMPION WAY, STE 100 CANNONSBURG PA 15317-5817
COLUMBIA GAS OF VIRGINIA              1809 COYOTE DR CHESTER VA 23836-2400
COLUMBIA PEST CONTROL                 1722 NE 119TH AVE PORTLAND OR 97220
COLUMBIA TRANSIT CORPORATION          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
COLUMBUS CITY TREASURER               910 DUBLIN RD COLUMBUS OH 43215
COLUMBUS CITY TREASURER               90 W BROAD ST COLUMBUS OH 43215
COLUMBUS CITY TREASURER               LICENSE SECTION, 4252 GROVES RD COLUMBUS OH 43232
COLUMBUS LIFT SERVICE INC             2815 HARLEY COURT COLUMBUS GA 31909
COLUMBUS LOGISTICS                    2273 MORSE RD COLUMBUS OH 43229
COLUMBUS LOGISTICS                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
COLUMBUS MARBLE WORKS                 PO BOX 791 COLUMBUS MS 39705
COLUMBUS MEATS                        4420 S. TRIPP AVE. CHICAGO IL 60632
COLUMBUS TRANSIT COMPANY INC          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
COLUMBUS WORTHINGTON AIR              6363 FIESTA DR COLUMBUS OH 43235
COLUMBUS/WORTHINGTON HEATING          D/B/A: COLUMBUS WORTHINGTON AIR 6363 FIESTA DR COLUMBUS OH 43235
COLUMN FINANCIAL INC                  11 MADISON AVE NEW YORK NY 10010
COLUNGA, MIGUEL A                     ADDRESS ON FILE
COLVARD TRUCKING LLC                  OR TETRA CAPITAL, PO BOX 25297 SALT LAKE CITY UT 84125
COLVARD, ROOSEVELT                    ADDRESS ON FILE
COLVELL, TROY                         ADDRESS ON FILE
COLVIN, ANDREW                        ADDRESS ON FILE
COLVIN, QUADAIR                       ADDRESS ON FILE
COLVIN, ROBERT                        ADDRESS ON FILE
COLVIN, ROBERT W                      ADDRESS ON FILE
COLVIN, WILLIAM                       ADDRESS ON FILE
COLWELL, MARQUESA                     ADDRESS ON FILE
COLWELL, SCOTT                        ADDRESS ON FILE
COLWELL, SCOTT D                      ADDRESS ON FILE
COMAIRCO COMPRESSED AIR SPECIALISTS   PO BOX 35 SITE 200, 7-20 RONN ROAD WINNIPEG MB R3C 2E6 CANADA
COMANDO TRANSPORT LIMITED LIABILITY   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
COMP
COMAU                                 4400 GRAND RIVER NOVI MI 48375
COMBE INCORPORATED                    TRANSPORTATION DEPARTMENT 1101 WESTCHESTER AVE WHITE PLAINS NY 10604
COMBES, SHAWN                         ADDRESS ON FILE
COMBINED WAREHOUSE                    5000 SOUTH CENTRAL AVE. CHICAGO IL 60638
COMBO ALUMINUM PRODUCTS               1100 N JOHNSON AVE EL CAJON CA 92020



Epiq Corporate Restructuring, LLC                                                               Page 407 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 416 of 2156

Claim Name                          Address Information
COMBO TRUCKING LLC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
COMBS, BURNIS                       ADDRESS ON FILE
COMBS, CHARLES                      ADDRESS ON FILE
COMBS, DANNY                        ADDRESS ON FILE
COMBS, DEVON                        ADDRESS ON FILE
COMBS, KRISTY                       ADDRESS ON FILE
COMBS, RICHARD                      ADDRESS ON FILE
COMBS, STEVEN                       ADDRESS ON FILE
COMCAST                             PO BOX 1577 NEWARK NJ 07101
COMCAST                             PO BOX 37601 PHILADELPHIA PA 19101
COMCAST                             1701 JFK BLVD PHILADELPHIA PA 19103
COMCAST                             701 JOHN F KENNEDY BLVD, STE 1 PHILADELPHIA PA 19103-2899
COMCAST                             PO BOX 70219 PHILADELPHIA PA 19176
COMCAST                             PO BOX 71211 CHARLOTTE NC 28272
COMCAST                             20800 SW 167TH AVE MIAMI FL 33032
COMDATA                             RE202 CAN FUNDS WINNIPEG MB R2X 1R1 CANADA
COMDATA                             PO BOX 360239 M PITTSBURGH PA 15250
COMDATA                             RE202 USD FUNDS AKRON OH 44309
COMDATA                             PO BOX 100647 ATLANTA GA 30384
COMDATA                             PO BOX 845738 DALLAS TX 75284
COMDATA INC                         ACT YE704 CASH APPLICATIONS 5301 MARYLAND WAY BRENTWOOD TN 37027
COMDATA INC                         CASH BALANCING DEPARTMENT 5301 MARYLAND WAY BRENTWOOD TN 37027
COMDATA, INC.                       PO BOX 500544 SAINT LOUIS MO 63150
COME UP USA                         ATTN: ROD BOGLE 12930 SE HWY 212 CLACKAMAS OR 97015
COMEAU, ANTHONY                     ADDRESS ON FILE
COMEAUX, SCHUYLER                   ADDRESS ON FILE
COMED                               1N423 SWIFT RD LOMBARD IL 60148-1442
COMED                               CLAIMS DEPARTMENT P.O. BOX 5520 VILLA PARK IL 60181-4260
COMED                               PO BOX 6111 CAROL STREAM IL 60197-6111
COMEGYS, DAVID                      ADDRESS ON FILE
COMELLI, ROBERT P                   ADDRESS ON FILE
COMER, CURTIS                       ADDRESS ON FILE
COMER, JONATHAN                     ADDRESS ON FILE
COMES FLYING, ALAN                  ADDRESS ON FILE
COMEX TRANSPORT LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
COMFORT CENTRAL INC                 138 N. CONOCOCHEAGUE WILLIAMSPORT MD 21795
COMFORT INN                         4805 N. RESERVE ST. ATTN COURTNEY SZALAY MISSOULA MT 59808
COMFORT INN PENTAGON                2480 S. GLEBE RD. ARLINGTON VA 22206
COMFORT SUITES UNIVERSITY AREA      52939 STATE ROAD 933 NORTH SOUTH BEND IN 46637
COMINSKY, DYLAN                     ADDRESS ON FILE
COMINSKY, JOSEPH                    ADDRESS ON FILE
COMISO, MICHAEL                     ADDRESS ON FILE
COMITE DE GESTION TAX SCOLAIRE      DE LA TAXE SCOLAIRE DE MONTREAL CP 11071, SUCC CENTRE-VILLE MONTREAL QC
                                    H3C-5A9 CANADA
COMLINK NETWORK SERVICES            ATTN: GENERAL COUNSEL 1106 S MERIDIAN ST INDIANAPOLIS IN 46225
COMM OF PA                          PA DEPT OF ENVIRONMENTAL PROTECTION PO BOX 8466 HARRISBURG PA 17105
COMM WORKS                          1405 XENIUM LN. STE. 120 PLYMOUTH MN 55441
COMMANDER, KATHLEEN                 ADDRESS ON FILE
COMMENCO, INC.                      4901 BRISTOL AVE KANSAS CITY MO 64129



Epiq Corporate Restructuring, LLC                                                                Page 408 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 417 of 2156

Claim Name                               Address Information
COMMERCE CITY ACE HARDWARE               PO BOX 1006 COMMERCE CITY CO 80022
COMMERCE PRIDE LOGISTICS, INC.           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
COMMERCE ROAD TERMINALS LLC              ATTN ANGELA MAIDMENT, 3901 WEST BROAD ST RICHMOND VA 23230
COMMERCE ROAD TERMINALS, LLC             C/O ESTES EXPRESS LINES ANGELA MAIDMENT 3901 WEST BROAD STREET RICHMOND VA
                                         23230
COMMERCE ROAD TERMINALS, LLC             C/O ESTES EXPRESS LINES ATTN: ANGELA MAIDMENT 3901 WEST BROAD STREET RICHMOND
                                         VA 23230
COMMERCIAL AIR MECHANICAL CO             COMMERICAL AIR SOLUTIONS, PO BOX 23564 CHATTANOOGA TN 37422
COMMERCIAL CARRIERS AND LOGISTICS INC    157 ROGERS BRANCH RD RIDGEVILLE SC 29472
COMMERCIAL DISPLAY SYSTEMS               17341 SIERRA HWY SANTA CLARITA CA 91351
COMMERCIAL DISPLAY SYSTEMS               ATTN: NORMA JUAREZ 17341 SIERRA HWY CANYON COUNTRY CA 91351
COMMERCIAL DOOR                          1105 SE CENTENNIAL ST STE A BEND OR 97702
COMMERCIAL DOOR OF LOS ANGELES COUNTY    901 S GREENWOOD AVE UNIT H MONTEBELLO CA 90640
COMMERCIAL EXPRESS INC                   PO BOX 952675 LAKE MARY FL 32795
COMMERCIAL EXPRESS INC                   P.O. BOX 952675 LAKE MARY FL 32795-2675
COMMERCIAL FLOORING INC                  1103 MARSHALL AVE SOUTH MILWAUKEE WI 53172
COMMERCIAL FREIGHT TRANSPORTATION INC    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
COMMERCIAL HEAVY DUTY TRUCK PARTS        5640 SHULL ST. UNIT-T BELL GARDENS CA 90201
COMMERCIAL INDUS AUTOM RADIATOR WORKS    4040 HORN LAKE RD MEMPHIS TN 38109
COMMERCIAL INDUSTRIAL AUTOMOTIVE         4040 HORN LAKE RD MEMPHIS TN 38109
COMMERCIAL LIGHTING COMPANY              PO BOX 270651 TAMPA FL 33688
COMMERCIAL METAL                         1775 LOGAN AVE YOUNGSTOWN OH 44505
COMMERCIAL RADIATOR                      2530 W MCDOWELL RD PHOENIX AZ 85009
COMMERCIAL RADIATOR REPAIR, LLC          D/B/A: EMISSION & COOLING SOLUTIONS 1584 TWO PLACE MEMPHIS TN 38116
COMMERCIAL RADIATOR REPAIR, LLC          D/B/A: EMISSION & COOLING SOLUTIONS DBA EMISSION & COOLING SOLUTIONS 1584 TWO
                                         PLACE MEMPHIS TN 38116
COMMERCIAL RADIATOR REPAIR, LLC          D/B/A: EMISSION & COOLING SOLUTIONS 1995 THOMAS RD MEMPHIS TN 38134
COMMERCIAL RECREATION                    807 LIBERTY DR. SUITE 101 VERONA WI 53593
COMMERCIAL REFRIGERATION                 5920 NE GLISAN ST PORTLAND OR 97213
COMMERCIAL ROADSIDE ASSISTANCE           44 HICKS RD AUGUSTA ME 04330
COMMERCIAL ROOFERS INC                   3865 W NAPLES DR LAS VEGAS NV 89103
COMMERCIAL SEWER CLEANING CO             5838 S HARDING ST INDIANAPOLIS IN 46217
COMMERCIAL TRUCK & TRAILER REPAIR, LLC   12040 SOUTH AIRPORT RD BUCKEYE AZ 85326
COMMERCIAL TRUCK TIRE CENTER             1264 UNION ST EXT WEST SPRINGFIELD MA 01089
COMMERCIAL VEHICLE SAFETY ALLIANCE       99 M ST SE STE 1025 WASHINGTON DC 20003
COMMERCIAL VEHICLE SAFETY ALLIANCE       6303 IVY LANE SUITE 310 GREENBELT MD 20770
COMMERFORD, STEPHEN                      ADDRESS ON FILE
COMMIKE, ROBERT                          ADDRESS ON FILE
COMMINS, JOSEPH                          ADDRESS ON FILE
COMMINS, ROBERT                          ADDRESS ON FILE
COMMISSION SCOLAIRE DES HAUTS-CANTONS    308 RUE PALMER EAST ANGUS QC J0B 1R0 CANADA
COMMISSIONER OF TAXATION & FINANCE       NYS TAX DEPT RPC-HUT, PO BOX 15166 ALBANY NY 12212
COMMISSIONER OF TAXATION & FINANCE       RPC HUT, PO BOX 15166 ALBANY NY 12212
COMMISSIONER OF TAXATION & FINANCE       W A HARRIMAN CAMPUS ALBANY NY 12227
COMMISSIONER OF TAXATION & FINANCE       ATTN: FINANCE OFFICE 328 STATE STREET ROOM 331 SCHENECTADY NY 12305
COMMIT TRANSIT LLC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
COMMOCK, MICHAEL                         ADDRESS ON FILE
COMMODITY HAULERS EXPRESS INC            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
COMMODORE LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COMMODORE, ARIELLE                       ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                     Page 409 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 418 of 2156

Claim Name                             Address Information
COMMON TRANSPORTATION LLC              1819 HAYMARKET RD WAUKESHA WI 53189
COMMONWEALTH LOGISTICS                 4588 INTERSTATE DR WEST CHESTER TOWNSHIP OH 45246
COMMONWEALTH OF MASS                   DEPT OF: MA DOT-HWY DIVISION
COMMONWEALTH OF MASSACHUSETTS          DEPT OF REV UST BOARD 100 CAMBRIDGE ST, 7TH FL PO BOX 9563 BOSTON MA 02114
COMMONWEALTH OF MASSACHUSETTS          ASSESSMENT PROC PRIVATE FUND PO BOX 3732 BOSTON MA 02241
COMMONWEALTH OF MASSACHUSETTS          DEPT OF ENV PROT MAST LOCKBOX PO BOX 3982 BOSTON MA 02241
COMMONWEALTH OF MASSACHUSETTS          SPECIAL FUND ASSESSMENT, PO BOX 3732 BOSTON MA 02241
COMMONWEALTH OF MASSACHUSETTS          C/O EZDRIVEMA PAYMENT PROCESSING CENTER PO BOX 847840 BOSTON MA 02284
COMMONWEALTH OF PENNSLYVANIA           BUREAU OF CLEAN WATER, PO BOX 8466 HARRISBURG PA 17105
COMMONWEALTH OF PENNSLYVANIA           NO ADDRESS HARRISBURG PA 17128
COMMONWEALTH OF PENNSLYVANIA           PA DEPARTMENT OF REVENUE, PO BOX 280427 HARRISBURG PA 17128
COMMONWEALTH OF PENNSYLVANIA           MAGISTERIAL DISTRICT MDJ-31-1-07 3678 CRESCENT CT E, STE A WHITEHALL PA 18052
COMMONWEALTH OF PENNSYLVANIA           USTIF, 901 N 7TH ST HARRISBURG PA 17102
COMMONWEALTH OF PENNSYLVANIA           1171 S CAMERON ST, SUITE 103 HARRISBURG PA 17104
COMMONWEALTH OF PENNSYLVANIA           AR PENNDOT-NON-APRAS PO BOX 15758 HARRISBURG PA 17105
COMMONWEALTH OF PENNSYLVANIA           PA DEPT OF ENVIRONMENTAL PROTECTION PO BOX 8466 HARRISBURG PA 17105
COMMONWEALTH OF PENNSYLVANIA           PO BOX 8466 HARRISBURG PA 17105
COMMONWEALTH OF PENNSYLVANIA           DEPT OF LABOR & IND BUR WORKERS COMP PO BOX 60187 HARRISBURG PA 17106
COMMONWEALTH OF PENNSYLVANIA           PO BOX 60187 BUREAU OF WORKERS CO HARRISBURG PA 17106
COMMONWEALTH OF PENNSYLVANIA           PO BOX 68612 HARRISBURG PA 17106
COMMONWEALTH OF PENNSYLVANIA           BUREAU OF OCCUPATIONAL & INDUS. SAFETY DEPARTMENT OF LABOR AND INDUSTRY 651
                                       BOAS STREET HARRISBURG PA 17121
COMMONWEALTH OF PENNSYLVANIA           BUREAU OF WORKERS COMP SELF INSU DIV 651 BOAS ST 8TH FL HARRISBURG PA 17121
COMMONWEALTH OF PENNSYLVANIA           MAGISTERIAL DISTRICT NO MDJ-07-1-01 2404 BYBERRY RD BENSALEM PA 19020
COMMONWEALTH OF PENNSYLVANIA           BUREAU OF UNCLAIMED PROPERTY REPORTING SEC, PO BOX 6350 PHILADELPHIA PA 19178
COMMONWEALTH OF PENNSYLVANIA           MAGISTERIAL DIST NO MDJ-23-2-03 6112 PERKIOMEN AVE BIRDSBORO PA 19508
COMMONWEALTH OF PENNSYLVANIA           MONTGOMERY CTY DISTRICT COURT 38-2-03 1050 E PHILADELPHIA AVE GILBERTSVILLE PA
                                       19525
COMMONWEALTH OF PENNSYLVANIA           5301 GROVE RD PITTSBURGH PA 15236
COMMONWEALTH OF PENNSYLVANIA           UST INDEMNIFICATION FUND, PO BOX 747034 PITTSBURGH PA 15274
COMMONWEALTH OF PENNSYLVANIA           USTIF, PO BOX 747034 PITTSBURGH PA 15274
COMMONWEALTH OF PUERTO RICO ATTY       ATTN: DOMINGO EMANUELLI HERNANDEZ PO BOX 9020192 SAN JUAN PR 00902-0192
GENERAL
COMMUNICATION ELECTRONIC SYSTEMS LLC   4080 E. LAKE MEAD, SUITE A LAS VEGAS NV 89115
COMMUNICATION EXHIBITS, INC.           1119 MILAN ST N CANAL FULTON OH 44614
COMMUNITY OCCPATIONAL MEDICINE         D/B/A: BEACON OCCUPATIONAL HEALTH LLC ATTN: AR, 22818 OLD US 20 ELKHART IN
                                       46516
COMO CONSTRUCTION AND LANDSCAPING      1310 E PRATHERSVILLE RD COLUMBIA MO 65202
COMO, ARTHUR                           ADDRESS ON FILE
COMO, JOEL                             ADDRESS ON FILE
COMOX PACIFIC EXPRESS LTD              PO BOX 2129 WINNIPEG MB R3C 3R4 CANADA
COMOX PACIFIC EXPRESS LTD              SQUAMISH FREIGHTWAYS LTD, PO BOX 2129 WINNIPEG MB R3C 3R4 CANADA
COMOX PACIFIC EXPRESS LTD              BOX 1079 STATION A NANAIMO BC V9R5Z2 CANADA
COMP, EDDIE                            ADDRESS ON FILE
COMPAGNONI, JAMES                      ADDRESS ON FILE
COMPAQ LOGISTICS INC                   7007 W FARGO AVE NILES IL 60714
COMPARETTO, MARK                       ADDRESS ON FILE
COMPASS CRUISER LLC                    6500 NE 84TH PL VANCOUVER WA 98662
COMPASS LEASE LLC                      PO BOX 95146 CHICAGO IL 60694
COMPASS LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576


Epiq Corporate Restructuring, LLC                                                                  Page 410 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 419 of 2156

Claim Name                              Address Information
COMPASS LOGISTICS LLC (MC835700)        13027 SE 288TH PL AUBURN WA 98092
COMPASS PEST MANAGEMENT                 PO BOX 66 MAULDIN SC 29662
COMPASS UNITED CARRIER LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
COMPASS WIRE CLOTH CORP                 1942 N MILL RD VINELAND NJ 08360
COMPET, PAUL                            ADDRESS ON FILE
COMPETITIVE PLUMBING AND HEATING INC    137 WOOD AVE MIDDLESEX NJ 08846
COMPLETE AUTO GLASS                     PO BOX 8099 KENTWOOD MI 49518
COMPLETE CARE LOGISTICS LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
COMPLETE COOLING SERVICES               720 1ST ST SW NEW BRIGHTON MN 55112
COMPLETE DELIVERY SERVICES INC          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
COMPLETE DIESEL CARE, INC               1585 GLENWOOD DYER RD LYNWOOD IL 60411
COMPLETE DIESEL LOGISTICS INC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COMPLETE DOOR SYSTEMS INC               8100 DAHLIA ST BLDG 4 HENDERSON CO 80640
COMPLETE FLEET SERVICES                 6108 BAUMGARTNER CROSSING SAINT LOUIS MO 63129
COMPLETE FLEET SERVICES                 8174 BEECH AVENUE FONTANA CA 92335
COMPLETE FLEET TRAILER REPAIR, INC.     130 W 154TH ST SOUTH HOLLAND IL 60473
COMPLETE REFRIGERATION, LLC             9970 OLD AIRPORT HWY MONCLOVA OH 43542
COMPLETE SHIPPING SOLUTIONS             ATTN: ADELINE CLAIMS 12759 149 ST NW EDMONTON AB T5L 4M9 CANADA
COMPLETE TRANSPORT INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
COMPLETE TRANSPORTATION SERVICES INC    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
COMPLETE TRUCK REPAIR                   334 DANIEL ST PETERBOROUGH ON K9K 1C5 CANADA
COMPLETE TRUCK SERVICE, LLC             13050 WALTON VERONA ROAD WALTON KY 41094
COMPLETE TRUCKING SYSTEMS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
COMPLIANCE PACKAGING INTERNATIONAL,     PO BOX 12201 COLUMBUS OH 43212
COMPLIANCE TESTING AND TECHNOLOGY, INC. W67 N250 EVERGREEN BLVD, SUITE 100 CEDARBURG WI 53012
COMPONENT PLASTICS INC.                 700 TOLLGATE RD. ELGIN IL 60123
COMPOSITES ONE                          310 MAIN AVE WAY SE HICKORY NC 28602
COMPOSITES ONE                          310 MAIN AVE WAY SE HICKORY NC 28603
COMPRE, JOSE M                          ADDRESS ON FILE
COMPREHENSIVE CARE                      7501 W 15TH AVE GARY IN 46406
COMPRESSED AIR TECHNOLOGIES, INC.       PO BOX 180459 JACKSON MS 39218
COMPRESSED AIR TECHNOLOGIES, INC.       PO BOX 180459 RICHLAND MS 39218
COMPRESSOR NORTHWEST                    5800 B 188TH SW LYNNWOOD WA 98037
COMPSYCH MANAGEMENT CORPORATION         NBC TOWER 13TH FL 455 N CITYFRONT PLAZA DR CHICAGO IL 60611
COMPTON, JAMES                          ADDRESS ON FILE
COMPTON, JOHN                           ADDRESS ON FILE
COMPTON, MARTIN                         ADDRESS ON FILE
COMPTON, PHILLIP                        ADDRESS ON FILE
COMPTONS TREE SERVICE INC               1590 SLATE RD KERNERSVILLE NC 27284
COMPTROLLER OF MARYLAND                 UNCLAIMED PROPERTY UNIT 301 W PRESTON ST, ROOM 310 BALTIMORE MD 21201
COMPTROLLER OF PUBLIC ACCOUNTS, TEXAS   PO BOX 149348 AUSTIN TX 78714
COMPTROLLER, STATE OF NEW YORK          OFFICE OF UNCLAIMED FUNDS REMIT CONTROL, 2ND FL,110 STATE ST ALBANY NY 12236
COMPUCOM SYSTEMS, INC                   PO BOX 8500 50970 PHILADELPHIA PA 19178
COMPUCOM SYSTEMS, INC                   PO BOX 951654 DALLAS TX 75395
COMPUTER CORPORATION OF AMERICA         PO BOX 712972 PHILADELPHIA PA 19171
COMPUTER CORPORATION OF AMERICA         PO BOX 842972 BOSTON MA 02284
COMPUTER SITES, INC.                    1225 S HURON ST DENVER CO 80223
COMPUTERSHARE INC.                      DEPT CH 19228, ACH ACCOUNT 0056100110 PALATINE IL 60055
COMPUTTEL MACHINES MAINTENANCE INC.     P.O. BOX 379 STREETSVILLE ON L5M 2B9 CANADA



Epiq Corporate Restructuring, LLC                                                                    Page 411 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 420 of 2156

Claim Name                               Address Information
COMRADE TRANSPORT INC                    OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
COMSOURCE CONSULTING LLC                 9358 E 77TH ST RAYTOWN MO 64138
COMSOURCE, INC.                          500 PLUM STREET STE 400 SYRACUSE NY 13204
COMSTOCK JR., DONALD                     ADDRESS ON FILE
COMSTOCK, DARRELL                        ADDRESS ON FILE
COMSTOCK, DELMAR                         ADDRESS ON FILE
COMSTOCK, JOHN                           ADDRESS ON FILE
COMSTOCK, KODY                           ADDRESS ON FILE
COMTECH                                  PO BOX 238 AIRWAY HEIGHTS WA 99001
CON EDISON                               4 IRVING PLZ, RM 700 NEW YORK NY 10003
CON-TEST ANALYTICAL LABORATORY           39 SPRUCE STREET EAST LONGMEADOW MA 01028
CONAIR                                   TRANSPORTATION ACCT NET INC PO BOX 1269 PLACENTIA CA 92871
CONAIR CORP                              TRANSP ACCT NETWORK, PO BOX 2259 CORONA CA 92878
CONAIR CORPORATION                       TAN, PO BOX 2259 CORONA CA 92878
CONAIR LLC                               50 MILLSTONE RD BLDG 100 STE 200 EAST WINDSOR NJ 08520
CONANT, RICHARD                          ADDRESS ON FILE
CONARD TRANSPORTATION, INC.              PO BOX 769 LA VERGNE TN 37086
CONARD, JOHN T                           ADDRESS ON FILE
CONARD, TOM                              ADDRESS ON FILE
CONATY, JARRETT                          ADDRESS ON FILE
CONCEPTS RENOVATINS HAMELIN INC          1011 ROUTE HARWOOD VAUDREUIL-DORION QC J7V 8P2 CANADA
CONCEPTS TRANSPORT INC.                  163 MORRELL ST DETROIT MI 48209
CONCHA, ADAM                             ADDRESS ON FILE
CONCHA, JONATHAN                         ADDRESS ON FILE
CONCIALDI, ANTONINO                      ADDRESS ON FILE
CONCIERGE TRANSIT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CONCOBY, JUSTIN                          ADDRESS ON FILE
CONCORD ENTERPRISE CORP.                 PO BOX 797 UNION CITY CA 94587
CONCORD EXPRESS LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CONCORD FIRE PROTECTION, INC.            4964 PROVIDENT DRIVE CINCINNATI OH 45246
CONCORD LLC                              OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CONCORD TRUCKING                         428 CHARLIE DR NOBLESVILLE IN 46062
CONCORDANT TRANSPORTATION COMPANY        OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
CONCORDE TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CONCOURS MOTORSPORTS LLC                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CONCOURSE BPS, LLC &CONCOURSE BPT, LLC   5570 DTC PKWY, SUITE 150 GREENWOOD VILLAGE CO 80111
CONDAR INC                               13668 HAMMER AVE CHINO CA 91710
CONDATA                                  TRANE TECHNOLOGIES 9830 W 190TH ST STE M MOKENA IL 60448
CONDATA                                  WABTEC, 9830 W 190TH ST. STE M MOKENA IL 60448
CONDATA                                  ATKORE INTERNATIONAL 1315 W 22ND ST STE 300 OAK BROOK IL 60523
CONDATA                                  FORTUNE BRANDS 1315 WEST 22ND ST STE 300 OAK BROOK IL 60523
CONDATA                                  THE HOME DEPOT 1315 WEST 22ND ST STE 300 OAK BROOK IL 60523
CONDATA                                  TRANE TECHNOLOGIES 1315 W 22ND ST STE 300 OAK BROOK IL 60523
CONDATA                                  WABTEC, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
CONDATA GLOBAL                           HOME DEPOT, 9830 W 190TH ST STE M MOKENA IL 60448
CONDATA GLOBAL                           TRANE TECHNOLOGIES 9830 W 190TH ST STE M MOKENA IL 60448
CONDATA GLOBAL                           TRANE TECHNOLOGIES, 9830 W 190TH STE M MOKENA IL 60448
CONDE, ANTONIO                           ADDRESS ON FILE
CONDER FLAG CO., INC.                    ATTN: BARRY AUSTIN 4705 DWIGHT EVANS ROAD CHARLOTTE NC 28217-0906



Epiq Corporate Restructuring, LLC                                                                     Page 412 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 421 of 2156

Claim Name                             Address Information
CONDIA, LANDON                         ADDRESS ON FILE
CONDIE, CRAIG R                        ADDRESS ON FILE
CONDITTO, KEITH                        ADDRESS ON FILE
CONDON OIL COMPANY                     PO BOX 184 RIPON WI 54971-0184
CONDON, RICH                           ADDRESS ON FILE
CONDON, WILLIAM                        ADDRESS ON FILE
CONDON, WILLIAM E                      ADDRESS ON FILE
CONDOR TRANS INC                       1000 GROVE DRIVE APT 1B MT PROSPECT IL 60056
CONDRON, GIRARD                        ADDRESS ON FILE
CONDRON, JACOB                         ADDRESS ON FILE
CONDUCTIX                              1605 INDUSTRIAL PKWY HARLAN IA 51537
CONE HEALTH EMPLOYER HEALTH AND        200 E NORTHWOOD ST GREENSBORO NC 27401
WELLNESS
CONE HEALTH EMPLOYER HEALTH AND        719 GREEN VALLEY RD 101 GREENSBORO NC 27408
WELLNESS
CONE, JON                              ADDRESS ON FILE
CONELY, DARNELL                        ADDRESS ON FILE
CONERLY, KERRY                         ADDRESS ON FILE
CONESTOGA WOOD SPECIALTIES             245 READING RD PO BOX 158 E EARL PA 17519
CONESTOGA WOOD SPECIALTIES             245 READING RD E EARL PA 17519
CONEXION TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CONFALONE, SAMUEL                      ADDRESS ON FILE
CONFER, EARL                           ADDRESS ON FILE
CONFIANCA LOGISTICS LLC                OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
CONFIANCE TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CONFIDENCE TRUCKING LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
CONFIDENCE UST SERVICES, INC.          2209 ZEUS CT. BAKERSFIELD CA 93308
CONFIDENCE UST SERVICES, INC.          16250 MEACHAM ROAD BAKERSFIELD CA 93314
CONFIRES FIRE PROTECTION SERVICE LLC   910 OAK TREE AVE SOUTH PLAINFIELD NJ 07080
CONFIRES FIRE PROTECTION SERVICE LLC   PO BOX 764 SOUTH PLAINFIELD NJ 07080
CONFLUENCE HEALTH                      PO BOX 361 WENATCHEE WA 98807
CONFLUENT INC                          899 WEST EVELYN MOUNTAIN VIEW CA 94041
CONFORTI, DAVID                        ADDRESS ON FILE
CONGDON, DANIEL                        ADDRESS ON FILE
CONGER INDUSTRIES INC.                 PO BOX 13507 GREEN BAY WI 54307
CONGER TOOLS                           1808 NICHOLSON ST. CREST HILL IL 60403
CONGER, JON                            ADDRESS ON FILE
CONGER, STEVE                          ADDRESS ON FILE
CONGER, WILLIE                         ADDRESS ON FILE
CONGRESSIONAL AWARD FOUNDATION         PO BOX 77440 WASHINGTON DC 20013
CONI EXPRESS INC                       490 HAYBROOKE DR MAINEVILLE OH 45039-9496
CONICELLI HONDA                        ATTN: STEVE MITCHELL 1200 W RIDGE PIKE CONSHOHOCKEN PA 19428-1020
CONICK LOGISTICS INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
CONKLIN, NICHOLAS                      ADDRESS ON FILE
CONKLIN, PAUL                          ADDRESS ON FILE
CONKLIN, PHILLIP                       ADDRESS ON FILE
CONKLIN, RAYMOND                       ADDRESS ON FILE
CONKLIN, THERESA                       ADDRESS ON FILE
CONKWRIGHT, RICK                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 413 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 422 of 2156

Claim Name                              Address Information
CONLEE OIL CO                          12076 NORTH LINDEN RD CLIO MI 48420
CONLEE, HUGH                           ADDRESS ON FILE
CONLEY CO                              4000 S WEST TEMPLE SALT LAKE CITY UT 84107
CONLEY, ALLEN                          ADDRESS ON FILE
CONLEY, ANTHONY                        ADDRESS ON FILE
CONLEY, BRANDON                        ADDRESS ON FILE
CONLEY, CARL                           ADDRESS ON FILE
CONLEY, CHARLES                        ADDRESS ON FILE
CONLEY, CONNIE                         ADDRESS ON FILE
CONLEY, IUCUS                          ADDRESS ON FILE
CONLEY, JAMES                          ADDRESS ON FILE
CONLEY, JEFFREY                        ADDRESS ON FILE
CONLEY, JERMAINE G                     ADDRESS ON FILE
CONLEY, KENDRICK                       ADDRESS ON FILE
CONLEY, MICHAEL                        ADDRESS ON FILE
CONLEY, QUENTIN                        ADDRESS ON FILE
CONLEY, WILBUR J                       ADDRESS ON FILE
CONLIN, KEVIN                          ADDRESS ON FILE
CONN, NICHOLAS                         ADDRESS ON FILE
CONNACHER, CHRISTOPHER                 ADDRESS ON FILE
CONNACHER, CHRISTOPHER                 ADDRESS ON FILE
CONNAUGHTON, WILLIAM                   ADDRESS ON FILE
CONNAWAY, KEEGAN                       ADDRESS ON FILE
CONNECT 48 INC                         OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
CONNECT EXPRESS LLC                    OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
CONNECTED TRUCKING & TRANSPORTATION LLC OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONNECTICUT CLEAN ROOM CORP            PO BOX 840 BRISTOL CT 06011
CONNECTICUT COMMISSIONER OF REV SVCS   450 COLUMBUS BLVD. SUITE 1 HARTFORD CT 06103
CONNECTION PRO SERVICES INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
CONNECTION TRANSPORT LLC               N7279 COUNTY ROAD Q KNAPP WI 54749
CONNECTIONS TRUCKING SERVICES LLC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CONNECTYOURCARE, LLC.                  307 INTERNATIONAL CIRCLE SUITE 200 HUNT VALLEY MD 21030
CONNELL BULLOCK                        ADDRESS ON FILE
CONNELL COMPANY INC                    5930 N HANLEY SAINT LOUIS MO 63134
CONNELL COMPANY INC                    JOHN J CONNELL CO INC, PO BOX 5810 ST LOUIS MO 63134
CONNELL, EARL                          ADDRESS ON FILE
CONNELL, LOUIS                         ADDRESS ON FILE
CONNELL, MICHAEL                       ADDRESS ON FILE
CONNELL, PATRICIA                      ADDRESS ON FILE
CONNELL, TIMOTHY B                     ADDRESS ON FILE
CONNELLY, AARON                        ADDRESS ON FILE
CONNELLY, BRUCE                        ADDRESS ON FILE
CONNELLY, JOHN                         ADDRESS ON FILE
CONNELLY, PATRIC                       ADDRESS ON FILE
CONNELLY, RICHARD                      ADDRESS ON FILE
CONNER, FRED                           ADDRESS ON FILE
CONNER, JOHN                           ADDRESS ON FILE
CONNER, JOSEPH                         ADDRESS ON FILE
CONNER, JUSTIN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 414 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 423 of 2156

Claim Name                           Address Information
CONNER, MELVIN                       ADDRESS ON FILE
CONNER, MICHAEL                      ADDRESS ON FILE
CONNER, TAYLOR                       ADDRESS ON FILE
CONNER, TREVOR                       ADDRESS ON FILE
CONNERS, CANDACE                     ADDRESS ON FILE
CONNERS, ROBERT                      ADDRESS ON FILE
CONNEXION TRUCK CENTRE LTD           440 OAK POINT HWY WINNIPEG MB R2R 1V3 CANADA
CONNEXIONS SHUTTLE LLC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CONNEXUS ENERGY                      14601 RAMSEY BLVD RAMSEY MN 55303-6775
CONNOLLY, CASSIDY                    ADDRESS ON FILE
CONNOLLY, DAVID                      ADDRESS ON FILE
CONNOR COMPANY                       \ 4200 46TH AVE MOLINE IL 61265
CONNOR, CHUCK                        ADDRESS ON FILE
CONNOR, TANESHA                      ADDRESS ON FILE
CONOVER, JACOB                       ADDRESS ON FILE
CONOVER, RON                         ADDRESS ON FILE
CONOVER, RONALD                      ADDRESS ON FILE
CONQUEROR EXPRESS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CONQUEROR TRANS                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CONQUEROR TRANS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CONQUEST CARRIERS INC                OR FREIGHT FINANCE, INC., PO BOX 911777 ST GEORGE UT 84791
CONQUEST, JEFF                       ADDRESS ON FILE
CONRAD & BISCHOFF, INC.              PO BOX 50106 IDAHO FALLS ID 83405
CONRAD C WORKMAN                     ADDRESS ON FILE
CONRAD TRUCKING, INC.                2597 233RD ST FT MADISON IA 52627
CONRAD, ANDREW                       ADDRESS ON FILE
CONRAD, CASSIE                       ADDRESS ON FILE
CONRAD, MATTHEW                      ADDRESS ON FILE
CONRAD, MICHAEL                      ADDRESS ON FILE
CONRAD, RANDY                        ADDRESS ON FILE
CONRAD, SUSAN                        ADDRESS ON FILE
CONROY JR, EDWARD                    ADDRESS ON FILE
CONROY, COLLEEN                      ADDRESS ON FILE
CONROY, EDWARD                       ADDRESS ON FILE
CONROY, JAMES                        ADDRESS ON FILE
CONROY, KEITH                        ADDRESS ON FILE
CONROY, WILLIAM                      ADDRESS ON FILE
CONSAUL, ERIC                        ADDRESS ON FILE
CONSET BAY LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CONSIDER IT HANDLED LLC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CONSIGLIO, JAMES                     ADDRESS ON FILE
CONSIGN TRANS INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CONSOLIDATED COMMUNICATIONS          PO BOX 70347 PHILADELPHIA PA 19176
CONSOLIDATED COMMUNICATIONS          PO BOX 11021 LEWISTON ME 04243
CONSOLIDATED COMMUNICATIONS          PO BOX 5200 WHITE RIVER JUNCTION VT 05001
CONSOLIDATED COMMUNICATIONS          2116 S 17TH ST MATTON IL 61983-5973
CONSOLIDATED DIST INC                ATTN: BELINDA GUSTASON 42032 6TH STREET WEST LANCASTER CA 93534
CONSOLIDATED ELECTRIC                723 WESTMORELAND DRIVE TUPELO MS 38801
CONSOLIDATED ELECTRICAL DIST         2025 SHARP POINT DR FORT COLLINS CO 80525



Epiq Corporate Restructuring, LLC                                                                 Page 415 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 424 of 2156

Claim Name                            Address Information
CONSOLIDATED ELECTRICAL DISTRI        ATTN: KENDRA COLEMAN 2025 SHARP POINT DR FT COLLINS CO 80525
CONSOLIDATED ENERGY CO., LLC          1711 S PIERCE, PO BOX 1543 MASON CITY IA 50401
CONSOLIDATED ENERGY COMPANY           D/B/A OF HARTLAND FUEL PROD PO BOX 1543 MASON CITY IA 50402
CONSOLIDATED ENERGY COMPANY           PO BOX 1543 MASON CITY IA 50402
CONSOLIDATED ENERGY COMPANY           910 MAIN ST, PO BOX 317 JESUP IA 50648
CONSOLIDATED HOSPITALITY SUPPLIES L   ATTN: JEFF CORRERA 544 LAKEVIEW PARKWAY, SUITE 300 VERNON HILLS IL 60061
CONSOLIDATED HOSPITALITY SUPPLIES,    544 LAKEVIEW PARKWAY, SUITE 300 VERNON HILLS IL 60061
CONSOLIDATED TOWING, INC              1000 SE 9TH ST BEND OR 97702
CONSOLIDATED TRUCK PARTS & SERVICE    3333 N BOLTON AVE ALEXANDRIA LA 71303
CONSPEC SYSTEMS INC                   ATTN: FLO MYERS 347 S BROAD ST HUGHESVILLE PA 17737
CONSTANT CLEAN MAID SERVICE, INC.     419 RIDGE ROAD, SUITE L MUNSTER IN 46321
CONSTANT TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONSTANTA TRUCKING INC                2821 INDEPENDENCE DR BRIGHTON MI 48114
CONSTANTIN, JEFFERSON                 ADDRESS ON FILE
CONSTELLATION NEWENERGY INC           C/O BGE HOME PRODUCT & SERVICES LLC 1409-A TANGIER DRIVE BALTIMORE MD 21220
CONSTELLATION NEWENERGY INC           1310 POINT ST, 8TH FL BALTIMORE MD 21231-3380
CONSTRUCTION & INDUSTRIAL TOOL        537 AMITY CHURCH RD IRON STATION NC 28080
CONSTRUCTION ELECTRICAL PRO           7800 LAS POSITAS RD LIVERMORE CA 94551
CONSTRUCTION INNOVATIONS              8825 ELDER CREEK RD SACRAMENTO CA 95828
CONSTRUCTION SITE CLEAN UP INC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CONSTRUCTION SPECIALTIES INC          ATTN: FLO MYERS 347 S BROAD ST HUGHESVILLE PA 17737
CONSUMER ENERGY                       3201 E COURT STREET DAMAGE CLAIMS - ROOM 107 FLINT MI 48506
CONSUMERS                             PO B OX 740309 CINCINNATI OH 45274-0309
CONSUMERS COMPENSATING USE TAX        KANSAS DEPT OF REVENUE 915 SW HARRISON ST TOPEKA KS 66625
CONSUMERS ENERGY                      1 ENERGY PLAZA DR JACKSON MI 49201-2357
CONTAINER & PACKAGING SPLY R          1345 E STATE ST EAGLE ID 83616
CONTAINER & PACKAGING SUPPLY.         1345 E STATE ST EAGLE ID 83616
CONTAINER CITY, LLC                   ATTN: MILES MILLER, FOUNDER/CEO 121 HOLLOW TREE CT. P.O. BOX 3296 SANTA ROSA
                                      CA 95404
CONTARDI, DAVE                        ADDRESS ON FILE
CONTE PAVING & CONSTRUCTION INC.      600 ROCKY GLEN RD AVOCA PA 18641
CONTECH CONSTRUCTION PRODUCTS         2823 S CRAIG RD AIRWAY HEIGHTS WA 99001
CONTEH TRUCKING INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONTI, JOHN E                         ADDRESS ON FILE
CONTI, JUSTIN                         ADDRESS ON FILE
CONTI, LADONNA                        ADDRESS ON FILE
CONTINENTAL DOOR COMPANY, LLC         8622 E ROCKWELL AVE SPOKANE WA 99212
CONTINENTAL DOOR COMPANY, LLC         12718 E INDIANA AVE SPOKANE VALLEY WA 99216
CONTINENTAL FLEET INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONTINENTAL FREIGHT INC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CONTINENTAL FREIGHT SYSTEMS           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CONTINENTAL FREIGHTWAY INCORPORATED   OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CONTINENTAL LOGISTICS                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CONTINENTAL LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONTINENTAL LOGISTICS SERVICES INC    OR GULF COAST BANK AND TRUST PO BOX 732951 DALLAS TX 75373
CONTINENTAL POLY                      ATTN: SHERRY ZHU 767 INDUSTRIAL BLVD SUGAR LAND TX 77478
CONTINENTAL POLY INC                  ATTN: SISSY 767 INDUSTRIAL BLVD SUGAR LAND TX 77478
CONTINENTAL TANK LINES                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CONTINENTAL TIRE CANADA, INC          C/O BANK OF ANERICA LOCKBOX 919630 PO BOX 4090 STN A TORONTO ON M5W 0E9 CANADA



Epiq Corporate Restructuring, LLC                                                                  Page 416 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 425 of 2156

Claim Name                           Address Information
CONTINENTAL TIRE THE AMERICAS LLC    PO BOX 745388 ATLANTA GA 30374
CONTINENTAL TIRE THE AMERICAS LLC    PO BOX 745388 ATLANTA GA 30374-5388
CONTINENTAL TRANSAM LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
CONTINENTAL TRANSPORT INC.           PO BOX 100 SPRINGBORO OH 45066
CONTINENTAL TRANSPORT LLC            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
CONTINENTAL TRUCKLINES LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CONTINENTAL TRUSTED TRUCKING LLC     1730 NORTH CALIFORNIA ST BURBANK CA 91505
CONTINENTAL VENDING INC.             1275 N MANASSERO ST ANAHEIM CA 92807
CONTINENTAL WESTERN CORPORATION      PO BOX 2418 SAN LEANDRO CA 94577
CONTOS, STEPHEN                      ADDRESS ON FILE
CONTRA COSTA WATER DISTRICT          1331 CONCORD AVE/PO BOX H20 ACCOUNTS RECEIVABLE CONCORD CA 94524
CONTRACT LEASING CORP                PISCATAWAY NJ OPS, 665-B SOUTH AVENUE PISCATAWAY NJ 08854
CONTRACT LEASING CORP                TOLLS AND VIOLATIONS, 1551 S. WASHINGTON AVE SUITE 401 PISCATAWAY NJ 08854
CONTRACT SWEEPERS & EQUIPMENT        2137 PARKWOOD AVE COLUMBUS OH 43219
CONTRACT SWEEPERS & EQUIPMENT        PO BOX 74029 CLEVELAND OH 44194
CONTRACTOR SOLUTIONS MC CORP         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONTRACTORS HVAC                     3145 S WASHINGTON ST SALT LAKE CITY UT 84115
CONTRACTORS SUPPLY                   3340 PAWTUCKET AVE. EAST PROVIDENCE RI 02915
CONTRACTORS WARDOBE                  26161 AVE HALL VALENCIA CA 91355
CONTRACTORS WARDROBE                 26121 AVENUE HALL VALENCIA CA 91355
CONTRACTORS WARDROBE                 ATTN: KIM DE JESUS 26121 AVENUE HALL VALENCIA CA 91355
CONTRACTORS WARDROBE                 ATTN: KIM DE JESUS SHIPPING 26121 AVENUE HALL VALENCIA CA 91355
CONTRERAS & SONS EXPRESS LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONTRERAS CARGO & DELIVERY LLC       OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
CONTRERAS SANCHEZ, JUAN MIGUEL       ADDRESS ON FILE
CONTRERAS TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CONTRERAS VALENZUELA, JULIAN         ADDRESS ON FILE
CONTRERAS, BYRON                     ADDRESS ON FILE
CONTRERAS, EMMANUEL                  ADDRESS ON FILE
CONTRERAS, FRANCISCO                 ADDRESS ON FILE
CONTRERAS, GERARDO                   ADDRESS ON FILE
CONTRERAS, ISRAEL                    ADDRESS ON FILE
CONTRERAS, JAMES R                   ADDRESS ON FILE
CONTRERAS, JONATHAN                  ADDRESS ON FILE
CONTRERAS, JOSE                      ADDRESS ON FILE
CONTRERAS, JUAN                      ADDRESS ON FILE
CONTRERAS, JUAN                      ADDRESS ON FILE
CONTRERAS, JUAN M                    ADDRESS ON FILE
CONTRERAS, JUSTIN                    ADDRESS ON FILE
CONTRERAS, MANUEL                    ADDRESS ON FILE
CONTRERAS, MARIO                     ADDRESS ON FILE
CONTRERAS, MIGUEL                    ADDRESS ON FILE
CONTRERAS, ORLANDO                   ADDRESS ON FILE
CONTRERAS, RAFAEL                    ADDRESS ON FILE
CONTRERAS, ROBERTO                   ADDRESS ON FILE
CONTRERAS, RODRIGO                   ADDRESS ON FILE
CONTRERAS, RONALD                    ADDRESS ON FILE
CONTRERAS, RUBEN                     ADDRESS ON FILE
CONTRERAS, SAMUEL                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 417 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 426 of 2156

Claim Name                           Address Information
CONTRERAS, SERGIO                    ADDRESS ON FILE
CONTRERAS, VICTORIA                  ADDRESS ON FILE
CONTROL EQUIPMENT CO                 174 W ANGELO AVE SALT LAKE CITY UT 84115
CONTROL FACTORS LLC                  9013 NE HWY 99 STE O VANCOUVER WA 98665
CONTROL FIRE PROTECTION INC          1347 OGDEN ST BAKERSFIELD CA 93305
CONTROL GROUP COMPANIES, LLC         200 CROSSING BLVD 2ND FLOOR BRIDGEWATER TOWNSHIP NJ 08807
CONTROL GROUP COMPANIES, LLC         FILE 2484, 1801 W OLYMPIC BLVD PASADENA CA 91199
CONTROL TEMP LTD                     4340 DAWSON ST BURNABY BC V5C 4B6 CANADA
CONTROLLED ACCESS CONSULTANTS INC    PO BOX 277127 SACRAMENTO CA 95827
CONTROLLED TRANSPORTATION INC        161 NE 681 ROAD CLINTON MO 64735
CONVENIENT LIFESTYLES MOVING INC     OR OPERATION FINANCE INC, PO BOX 227352 DALLAS TX 75222-7352
CONVENIENT QUALITY LOGISTICS LLC     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CONVERGE ONE, INC.                   10900 NESBITT AVE S MINNEAPOLIS MN 55437-3124
CONVERGE ONE, INC.                   NW 5806, PO BOX 1450 MINNEAPOLIS MN 55485
CONVERGEPOINT INC                    1011 HIGHWAY 6 S STE 105 HOUSTON TX 77077
CONVERGINT TECHNOLOGIES LLC          35257 EAGLE WAY CHICAGO IL 60678
CONVERSE ELECTRIC INC                3783 GANTZ RD GROVE CITY OH 43123
CONVERSION TRANSPORT INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CONVOY EXPRESS INC                   OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
CONVOY EXPRESS, INC.                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
CONVOY LOGISTICS                     63 SNYDERS LANE MARTINSBURG WV 25405
CONVOY SPECIALIZED TRANSPORT CORP    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
CONVOY SYSTEMS, LLC                  PO BOX 933 WICHITA KS 67201
CONWAY, ADDRIANNE                    ADDRESS ON FILE
CONWAY, BILL                         ADDRESS ON FILE
CONWAY, BRETT                        ADDRESS ON FILE
CONWAY, DANIEL                       ADDRESS ON FILE
CONWAY, JOHN                         ADDRESS ON FILE
CONWAY, JOHN                         ADDRESS ON FILE
CONWAY, MATTHEW A                    ADDRESS ON FILE
CONWAY, SHAUN                        ADDRESS ON FILE
CONWAY-WHITAKER, COLIN               ADDRESS ON FILE
CONYERS, MTESA                       ADDRESS ON FILE
CONYERS, THERESA                     ADDRESS ON FILE
CONZO, JOSEPH                        ADDRESS ON FILE
COOK BROTHERS                        1350 HWY 1272 PRINCETON KY 42445
COOK BROTHERS TRUCK PARTS            7 WALTER AVENUE, P.O. BOX 2247 BINGHAMTON NY 13902
COOK BROTHERS TRUCK PARTS            PO BOX 2247, 7 WALTER AVENUE BINGHAMTON NY 13902
COOK COUNTY ASSESSORS OFFICE         PO BOX 4468 CAROL STREAM IL 60197
COOK COUNTY ASSESSORS OFFICE         118 NORTH CLARK STATE THIRD FLOOR, ROOM 320 CHICAGO IL 60602
COOK COUNTY ASSESSORS OFFICE         DEPARTMENT OF REVENUE ENVIRONMENTAL CONTROL CHICAGO IL 60673-1258
COOK COUNTY COLLECTOR                DEPT OF REVENUE, ENVIRONMENTAL CONTROL CHICAGO IL 60673-1258
COOK COUNTY DEPARTMENT OF REVENUE    118 N CLARK ROOM 1160 CHICAGO IL 60602
COOK COUNTY DEPT. OF ENVIRONMENTAL   69 W WASHINGTON, SUITE 1900 CHICAGO IL 60602
CONTR
COOK COUNTY TREASURER                PO BOX 4488 CAROL STREAM IL 60197
COOK FAMILY TRUCKING LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
COOK N SONS LOGISTICS LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
COOK PAVING & CONSTRUCTION           4545 SPRING ROAD BROOKLYN HEIGHTS OH 44121



Epiq Corporate Restructuring, LLC                                                                 Page 418 OF 2145
                                        Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                   Page 427 of 2156

Claim Name                       Address Information
COOK, ADRIAN                     ADDRESS ON FILE
COOK, ADRIAN                     ADDRESS ON FILE
COOK, ANNE                       ADDRESS ON FILE
COOK, ANNE                       ADDRESS ON FILE
COOK, BILLY                      ADDRESS ON FILE
COOK, BOBBY                      ADDRESS ON FILE
COOK, BRIDGER                    ADDRESS ON FILE
COOK, BUD                        ADDRESS ON FILE
COOK, CHARLES                    ADDRESS ON FILE
COOK, CHRISTOPHER                ADDRESS ON FILE
COOK, CLAUDE                     ADDRESS ON FILE
COOK, CLYDE                      ADDRESS ON FILE
COOK, DALE                       ADDRESS ON FILE
COOK, DEMETRIUS                  ADDRESS ON FILE
COOK, DERRICK                    ADDRESS ON FILE
COOK, DONALD                     ADDRESS ON FILE
COOK, DONALD                     ADDRESS ON FILE
COOK, DONALD                     ADDRESS ON FILE
COOK, DOUGLAS                    ADDRESS ON FILE
COOK, DWAYNE                     ADDRESS ON FILE
COOK, EDWARD                     ADDRESS ON FILE
COOK, ELAINE                     ADDRESS ON FILE
COOK, ERIC                       ADDRESS ON FILE
COOK, GARY                       ADDRESS ON FILE
COOK, GARY                       ADDRESS ON FILE
COOK, GARY                       ADDRESS ON FILE
COOK, JAMES                      ADDRESS ON FILE
COOK, JAMES L                    ADDRESS ON FILE
COOK, JEFFREY                    ADDRESS ON FILE
COOK, JEREMY                     ADDRESS ON FILE
COOK, JOHN                       ADDRESS ON FILE
COOK, JOHN                       ADDRESS ON FILE
COOK, JOHNNY                     ADDRESS ON FILE
COOK, KATHY                      ADDRESS ON FILE
COOK, KELLY                      ADDRESS ON FILE
COOK, KEVIN                      ADDRESS ON FILE
COOK, LAWRENCE                   ADDRESS ON FILE
COOK, LERON                      ADDRESS ON FILE
COOK, LOAN                       ADDRESS ON FILE
COOK, LORENZO                    ADDRESS ON FILE
COOK, MARK                       ADDRESS ON FILE
COOK, MICHAEL                    ADDRESS ON FILE
COOK, MICHAEL                    ADDRESS ON FILE
COOK, MICHAEL                    ADDRESS ON FILE
COOK, MICHAEL                    ADDRESS ON FILE
COOK, RANDAL                     ADDRESS ON FILE
COOK, RICHARD                    ADDRESS ON FILE
COOK, RICHARD                    ADDRESS ON FILE
COOK, RICHARD H                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                     Page 419 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 428 of 2156

Claim Name                              Address Information
COOK, RICK                              ADDRESS ON FILE
COOK, ROBERT                            ADDRESS ON FILE
COOK, ROY                               ADDRESS ON FILE
COOK, SAEED                             ADDRESS ON FILE
COOK, SAVANNAH                          ADDRESS ON FILE
COOK, SHAWN                             ADDRESS ON FILE
COOK, SHEILA                            ADDRESS ON FILE
COOK, STEVEN                            ADDRESS ON FILE
COOK, STEVEN                            ADDRESS ON FILE
COOK, TAYLOR                            ADDRESS ON FILE
COOK, TIMOTHY                           ADDRESS ON FILE
COOK, TRAVIS                            ADDRESS ON FILE
COOK, VERNON                            ADDRESS ON FILE
COOK, WENDELL                           ADDRESS ON FILE
COOK, WENDELL C                         ADDRESS ON FILE
COOK, WENDELL D                         ADDRESS ON FILE
COOK, WILLIAM                           ADDRESS ON FILE
COOK, XAVIER                            ADDRESS ON FILE
COOK, ZACHARY                           ADDRESS ON FILE
COOKE, BENJAMIN                         ADDRESS ON FILE
COOKE, BRIAN E                          ADDRESS ON FILE
COOKFAIR, DOUG                          ADDRESS ON FILE
COOKIE AND DREAM                        22 E. CHICAGO AVE. NAPERVILLE IL 60540
COOKINHAM, AMBER                        ADDRESS ON FILE
COOKINHAM, SABRINA                      ADDRESS ON FILE
COOKS DELIVERY SERVICE LLC              PO BOX 8310 HOLLAND MI 49424-8310
COOKS LOCKSMITH SERVICES INC            4614 POPLAR LEVEL RD LOUISVILLE KY 40213
COOKS MOBILE SHREDDING SERVICES, INC.   P.O. BOX 181032 MEMPHIS TN 38181
COOKS PERFORMANCE DIESEL                10101 N SAGINAW RD CLIO MI 48420
COOKS PEST CONTROL INC                  P O BOX 1127 MADISON AL 35758
COOKS, GENE                             ADDRESS ON FILE
COOKS, WELTON                           ADDRESS ON FILE
COOKSEY, JAMES                          ADDRESS ON FILE
COOKSEY, LEON                           ADDRESS ON FILE
COOL CHECK AIR CONDITIONING LIMITED     25 CORONET RD UNIT 4 TORONTO ON M8Z 2L8 CANADA
COOL FAT INC                            20822 CURRIER RD CITY OF INDUSTRY CA 91789
COOL PAI INC                            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
COOL TRANSPORT LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
COOL, EDDIE                             ADDRESS ON FILE
COOL, JAMES                             ADDRESS ON FILE
COOLBAUGH, JOSEPH                       ADDRESS ON FILE
COOLE, PATRICK                          ADDRESS ON FILE
COOLEY TRANSPORT INC.                   1296 N EASON BLVD TUPELO MS 38804
COOLEY, ADRIENNE                        ADDRESS ON FILE
COOLEY, JR, EARNEST                     ADDRESS ON FILE
COOLEY, JR., EARNEST                    ADDRESS ON FILE
COOLEY, QUONTAVIA                       ADDRESS ON FILE
COOMBER, EV                             ADDRESS ON FILE
COOMBES, GEORGIA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 420 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 429 of 2156

Claim Name                          Address Information
COOMBS, CELIA                       ADDRESS ON FILE
COOMBS, DARRELL                     ADDRESS ON FILE
COOMBS, JEREMIAH                    ADDRESS ON FILE
COOMBS, JOSEPH                      ADDRESS ON FILE
COOMER, ROBERT                      ADDRESS ON FILE
COON, MARK                          ADDRESS ON FILE
COONCE, RANDALL                     ADDRESS ON FILE
COONE, MICHAEL                      ADDRESS ON FILE
COONEY AIR CONDITIONING & HTG       2516 LODI ST SYRACUSE NY 13208
COONEY, GERRY                       ADDRESS ON FILE
COONS TRUCK & AUTO                  1120 W MALLORY AVE MILWAUKEE WI 53221
COONS, JAMES                        ADDRESS ON FILE
COONS, PATRICK                      ADDRESS ON FILE
COOP DES PROPRIETAIRES DE TAXI DE   LOUEST METROPOLITAIN 570 AVENUE MARSHALL DORVAL QC H9P 1C9 CANADA
COOP, JACOB                         ADDRESS ON FILE
COOPE, JAMES                        ADDRESS ON FILE
COOPER AIR FREIGHT SERVICE INC.     1081 ARKANSAS STREET MEMPHIS TN 38106
COOPER PEST SOLUTION INC            351 LAWRENCE STATION RD LAWRENCEVILLE NJ 08648
COOPER PEST SOLUTION INC            P.O. BOX 22302 NEW YORK NY 10087
COOPER SURGICAL                     50 CORPORATE DR TRUMBULL CT 06611
COOPER TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
COOPER TRANSPORT LLC                1910 LAKEVIEW DR CHILLICOTHE MO 64601-1285
COOPER, ADAM                        ADDRESS ON FILE
COOPER, ADAM                        ADDRESS ON FILE
COOPER, ALBERT                      ADDRESS ON FILE
COOPER, ALEX                        ADDRESS ON FILE
COOPER, AMARI                       ADDRESS ON FILE
COOPER, BRYAN                       ADDRESS ON FILE
COOPER, CARL                        ADDRESS ON FILE
COOPER, CARMELA                     ADDRESS ON FILE
COOPER, CHARLES                     ADDRESS ON FILE
COOPER, CHRISTINA                   ADDRESS ON FILE
COOPER, CHRISTOPHER                 ADDRESS ON FILE
COOPER, CHRISTOPHER                 ADDRESS ON FILE
COOPER, CHRISTOPHER                 ADDRESS ON FILE
COOPER, DARIN                       ADDRESS ON FILE
COOPER, DAVID                       ADDRESS ON FILE
COOPER, DAVID                       ADDRESS ON FILE
COOPER, DEVON                       ADDRESS ON FILE
COOPER, DIANE                       ADDRESS ON FILE
COOPER, DOUGLAS                     ADDRESS ON FILE
COOPER, EARLINE                     ADDRESS ON FILE
COOPER, GERHARD                     ADDRESS ON FILE
COOPER, HENRY                       ADDRESS ON FILE
COOPER, JAMES                       ADDRESS ON FILE
COOPER, JAMES                       ADDRESS ON FILE
COOPER, JASON                       ADDRESS ON FILE
COOPER, JEFFREY                     ADDRESS ON FILE
COOPER, JEFFREY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 421 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 430 of 2156

Claim Name                           Address Information
COOPER, JEREMIAH                     ADDRESS ON FILE
COOPER, JEREMY                       ADDRESS ON FILE
COOPER, JOHN                         ADDRESS ON FILE
COOPER, JOHN                         ADDRESS ON FILE
COOPER, JON PAUL                     ADDRESS ON FILE
COOPER, KATHLEEN                     ADDRESS ON FILE
COOPER, KEVIN                        ADDRESS ON FILE
COOPER, KEVIN                        ADDRESS ON FILE
COOPER, LATASHA                      ADDRESS ON FILE
COOPER, LEE                          ADDRESS ON FILE
COOPER, LILLIAN                      ADDRESS ON FILE
COOPER, LYNDA                        ADDRESS ON FILE
COOPER, MARK N                       ADDRESS ON FILE
COOPER, MICHAEL                      ADDRESS ON FILE
COOPER, MICHAEL                      ADDRESS ON FILE
COOPER, MICHAEL                      ADDRESS ON FILE
COOPER, QUINCY                       ADDRESS ON FILE
COOPER, REGINALD                     ADDRESS ON FILE
COOPER, RONALD                       ADDRESS ON FILE
COOPER, SAM                          ADDRESS ON FILE
COOPER, SARAH                        ADDRESS ON FILE
COOPER, SHAWN                        ADDRESS ON FILE
COOPER, SHAWN P                      ADDRESS ON FILE
COOPER, SHAWN P                      ADDRESS ON FILE
COOPER, SHIRELLE                     ADDRESS ON FILE
COOPER, STEPHANIE                    ADDRESS ON FILE
COOPER, STEVEN                       ADDRESS ON FILE
COOPER, STEVEN                       ADDRESS ON FILE
COOPER, TAMMY                        ADDRESS ON FILE
COOPER, TERRELL                      ADDRESS ON FILE
COOPER, TERRY                        ADDRESS ON FILE
COOPER, TORY                         ADDRESS ON FILE
COOPER, TYLER                        ADDRESS ON FILE
COOPER, VICTORIA                     ADDRESS ON FILE
COOPER, WILLIAM                      ADDRESS ON FILE
COOPER, WILLIAM                      ADDRESS ON FILE
COOPER, WILLIAM                      ADDRESS ON FILE
COOPERS INC.                         401 SW 32ND TERR TOPEKA KS 66611
COOPERS TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
COOPERSTOWN ALL STARVILLAGE          4158 STATE ROUTE 23 ONEONTA PA 13820
COORDINATORS, INC.                   PO BOX 20 SALTSBURG PA 15681
COORSTEK INCORPORATED                ATTN: NATHAN SALVESEN 2449 RIVERSIDE PKWY GRAND JUNCTION CO 81505
COOTE, KESHAUN                       ADDRESS ON FILE
COPADO INC                           330 N WABASH AVE FL 23 CHICAGO IL 60611
COPAL TRANSPORT CORP                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
COPART                               14185 DALLAS PKWY, STE 300 DALLAS TX 75254
COPE PLASTICS                        ATTN: CARRIE WIEMERS 6399 SHELBY VIEW DR MEMPHIS TN 38134
COPE, AARON                          ADDRESS ON FILE
COPE, DAVID                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 422 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 431 of 2156

Claim Name                           Address Information
COPE, JONATHAN                       ADDRESS ON FILE
COPE, ROBERT                         ADDRESS ON FILE
COPELAND CARRIERS LLC                OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
COPELAND JR, WILLIAM                 ADDRESS ON FILE
COPELAND TRUCKING INC                OR CONCEPT FINANCIAL GROUP INC PO BOX 490700 MINNEAPOLIS MN 55449
COPELAND, BRIAN                      ADDRESS ON FILE
COPELAND, GARNET                     ADDRESS ON FILE
COPELAND, KYLE                       ADDRESS ON FILE
COPELAND, MATTHEW                    ADDRESS ON FILE
COPELAND, PERRY                      ADDRESS ON FILE
COPELAND, SHAUN                      ADDRESS ON FILE
COPENHEAVER, DENNIS                  ADDRESS ON FILE
COPENY, JERRY                        ADDRESS ON FILE
COPENY, JERRY A                      ADDRESS ON FILE
COPIA, ANTHONY J                     ADDRESS ON FILE
COPP, KAITLYNN                       ADDRESS ON FILE
COPP, KEVIN                          ADDRESS ON FILE
COPPA, CHRISTOPHER                   ADDRESS ON FILE
COPPAGE, LARRY                       ADDRESS ON FILE
COPPER COTTAGE                       4105 N LEWIS AVE SIOUX FALLS SD 57104
COPPER FOX, INC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
COPPER ROAD TRANSPORT LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
COPPERFIELD CHIMNEY                  ATTN: CORTNIE GOTSCHALL TRANSLOGISTICS 321 N FURNACE STREET BIRDSBORO PA 19508
COPPERROCK                           894 PASEO LOS MOCHIS RIO RICO AZ 85648
COPPERTOP TRUCK REPAIR               BUSINESS OFFICE, 5803 EDWORTHY COVE NW EDMONTON AB T6M 0P1 CANADA
COPPIN, ANTHONY                      ADDRESS ON FILE
COPPIN, TITO T                       ADDRESS ON FILE
COPPINGER, BRADLEY                   ADDRESS ON FILE
COPPINGER, DWAYNE                    ADDRESS ON FILE
COPPOCK, MARCUS                      ADDRESS ON FILE
COPPOLA, DOMINICK                    ADDRESS ON FILE
COPY SOURCE INC                      719 RUDDER RD FENTON MO 63026
COPYRIGHT CLEARANCE CENTER, INC.     29118 NETWORK PLACE CHICAGO IL 60673
COQUI LLC                            1208 S DAVIS BLVD BOUNTIFUL UT 84010
COQUI TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
COR LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CORA, KHALIL                         ADDRESS ON FILE
CORADO TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CORADO, ROLAND A                     ADDRESS ON FILE
CORAM DEO LOGISTICS LLC              OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
CORAN TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CORB INC                             2040 MANNHEIM RD MELROSE PARK IL 60160
CORB INC                             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
CORBALL EXPRESS LLC                  OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
CORBALL EXPRESS LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CORBETT, BOBBY                       ADDRESS ON FILE
CORBETT, JOSEPH                      ADDRESS ON FILE
CORBETT, PHOENIX R                   ADDRESS ON FILE
CORBETT, RAYMOND                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 423 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 432 of 2156

Claim Name                           Address Information
CORBIN ADVISORS LLC                  270 FARMINGTON AVE SUITE 260 FARMINGTON CT 06032
CORBIN III, HAROLD                   ADDRESS ON FILE
CORBIN, BRYAN                        ADDRESS ON FILE
CORBIN, GERALD                       ADDRESS ON FILE
CORBIN, GLORIA                       ADDRESS ON FILE
CORBIN, JAMES                        ADDRESS ON FILE
CORBIN, JEFFREY                      ADDRESS ON FILE
CORBIN, JOHN                         ADDRESS ON FILE
CORBIN, JOSEPH                       ADDRESS ON FILE
CORBIN, KIRK                         ADDRESS ON FILE
CORBIN, NEIL                         ADDRESS ON FILE
CORBIN, NICHOLAS                     ADDRESS ON FILE
CORBIN, TIMOTHY                      ADDRESS ON FILE
CORBIN, WILLIAM                      ADDRESS ON FILE
CORBITT, DONALD A                    ADDRESS ON FILE
CORBO, ANTHONY                       ADDRESS ON FILE
CORCORAN, FRANCIS                    ADDRESS ON FILE
CORCORAN, MATHEW                     ADDRESS ON FILE
CORDELL WASHINGTON                   ADDRESS ON FILE
CORDELL, AUSTIN                      ADDRESS ON FILE
CORDELL, NATHANIEL                   ADDRESS ON FILE
CORDER TRUCKING, INC.                3330 SILOAM ROAD ARARAT NC 27007-9801
CORDER, CHARLES                      ADDRESS ON FILE
CORDER, JACLYN                       ADDRESS ON FILE
CORDERO PIZARRO, CARLOS              ADDRESS ON FILE
CORDERO, ELEAZAR                     ADDRESS ON FILE
CORDERO, ELIAS                       ADDRESS ON FILE
CORDERO, MARC                        ADDRESS ON FILE
CORDERO, SYLMAR                      ADDRESS ON FILE
CORDILL, JAMES                       ADDRESS ON FILE
CORDIS EXPRESS LOGISTICS LLC         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CORDO, JOHN                          ADDRESS ON FILE
CORDONERO, JOEL                      ADDRESS ON FILE
CORDOVA TPI LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
CORDOVA, ALVIN                       ADDRESS ON FILE
CORDOVA, CHRISTOPHER                 ADDRESS ON FILE
CORDOVA, CRISTOBAL                   ADDRESS ON FILE
CORDOVA, DANIEL                      ADDRESS ON FILE
CORDOVA, DANIELLE                    ADDRESS ON FILE
CORDOVA, GUSTAVO                     ADDRESS ON FILE
CORDOVA, HEATHER                     ADDRESS ON FILE
CORDOVA, JESUS                       ADDRESS ON FILE
CORDOVA, MIGUEL                      ADDRESS ON FILE
CORDOVA, VANESSA                     ADDRESS ON FILE
CORDRAY, KYLE                        ADDRESS ON FILE
CORDRAY, PHILIP                      ADDRESS ON FILE
CORDREY, RONALD                      ADDRESS ON FILE
CORDSTRAP USA INC.                   PO BOX 88788 MILWAUKEE WI 53288
CORDSTRAP USA INC.                   PO BOX 081340 RACINE WI 53408



Epiq Corporate Restructuring, LLC                                                                Page 424 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 433 of 2156

Claim Name                           Address Information
CORDSTRAP USA INC.                   PO BOX 081340 RACINE WI 53408-1340
CORE & MAIN                          7372 INTERSTATE PL MISSOULA MT 59808
CORE & MAIN.                         PO BOX 28446 SAINT LOUIS MO 63146
CORE AND MAIN                        7281 E. 30TH ST. INDIANAPOLIS IN 46219
CORE COMMUNICATIONS LLC              327 E 13TH AVE NORTH KANSAS CITY MO 64116
CORE IMPORTS & LOGISTICS LLC         OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
CORE INC                             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CORE INTEGRATED MARKETING            10450 W. 163RD PLACE ORLAND PARK IL 60467
CORE RESOURCES, LLC                  ATTN: GENERAL COUNSEL 25 ROBERT JACKSON WAY PLAINVILLE CT 06062
CORE TRANSPORT                       53 BEACONS FIELD DR KLEINBURG ON L4H 4L6 CANADA
COREAS TRANSPORT                     OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
COREAS, ELMER                        ADDRESS ON FILE
COREMARK METALS                      216 27TH AVE N MINNEAPOLIS MN 55411
CORETEX PRODUCTS INC                 1311 N MAIN AVE ERWIN TN 37650
COREY AND HANNAH BLAIR               ADDRESS ON FILE
COREY B CRAWFORD                     ADDRESS ON FILE
COREY DANIELS TRANSPORTATION LLC     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COREY M POWELL                       ADDRESS ON FILE
COREY MCNEILL                        ADDRESS ON FILE
COREY NUTRITION                      ATTN: BRAD 136 HODGSON RD FREDERICTON NB E3C 2G4 CANADA
COREY RICO                           ADDRESS ON FILE
COREY, DANIEL                        ADDRESS ON FILE
COREY, SHANE                         ADDRESS ON FILE
COREY, TIMOTHY                       ADDRESS ON FILE
CORGAN, JAMES                        ADDRESS ON FILE
CORIA, MICHAEL                       ADDRESS ON FILE
CORIC TRANS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CORKERN DOOR COMPANY, INC.           6057 HIGHWAY 18 WEST JACKSON MS 39209
CORLESS, JOSHUA                      ADDRESS ON FILE
CORLETO, JOSE                        ADDRESS ON FILE
CORLETT EXPRESS TRUCK                P O BOX 26393 SALT LAKE CITY UT 84126
CORLETT TRUCKING                     PO BOX 26393 SALT LAKE CITY UT 84126
CORLEY PLUMBING AIR ELECTRIC         8501 PELHAM RD GREENVILLE SC 29615
CORLEY, CHARLIE                      ADDRESS ON FILE
CORLEY, JONATHAN                     ADDRESS ON FILE
CORLEY, ROBERT                       ADDRESS ON FILE
CORLEY, RONALD                       ADDRESS ON FILE
CORLEY, STEVEN                       ADDRESS ON FILE
CORMAN, MICHAEL                      ADDRESS ON FILE
CORMIER, JOCOBY                      ADDRESS ON FILE
CORMIER, ROBERT                      ADDRESS ON FILE
CORN, CHRISTOPHER                    ADDRESS ON FILE
CORN, JAMES                          ADDRESS ON FILE
CORN, MAURICE                        ADDRESS ON FILE
CORNEILLE, JOSEPH                    ADDRESS ON FILE
CORNEJO, ZACHARY                     ADDRESS ON FILE
CORNELISON, MICHEAL                  ADDRESS ON FILE
CORNELIUS BOYS LLC                   OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                     35246-2659



Epiq Corporate Restructuring, LLC                                                                Page 425 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 434 of 2156

Claim Name                              Address Information
CORNELIUS, MARKEVIAN                    ADDRESS ON FILE
CORNELIUS, ROBERT T                     ADDRESS ON FILE
CORNELIUS, TERRY                        ADDRESS ON FILE
CORNELIUS, WILLIAM                      ADDRESS ON FILE
CORNELIUSEN, BRANDON                    ADDRESS ON FILE
CORNELL COOKSON                         ADDRESS ON FILE
CORNELL COOKSON                         ADDRESS ON FILE
CORNELL EXPRESS TRUCKING LLC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CORNELL, BARRON                         ADDRESS ON FILE
CORNELL, CHARLES                        ADDRESS ON FILE
CORNELL, JENNIFER                       ADDRESS ON FILE
CORNELL, KEVIN                          ADDRESS ON FILE
CORNELL, PHILIP R                       ADDRESS ON FILE
CORNER, JAZMIN                          ADDRESS ON FILE
CORNER, MALCOLM                         ADDRESS ON FILE
CORNERMEN LOGISTICS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CORNERSTONE BUS PRINTING                14980 CR 108 MIDDLEBURY IN 46540
CORNERSTONE LOGISTICS                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
CORNERSTONE SERVICES                    810 FARSON ST BELPRE OH 45714
CORNERSTONE SERVICES                    200 PUTNAM ST. SUITE 510 MARIETTA OH 45750
CORNERSTONE TRANSPORT LLC (MC1346493)   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
CORNERSTONE TRUCKING                    3235 SATELLITE BLVD, BLDG 400 SUITE 530 DULUTH GA 30096
CORNETT, JOSEPH                         ADDRESS ON FILE
CORNETT, TONY                           ADDRESS ON FILE
CORNHILL EXPRESS LLC                    PO BOX 349 WEST UNION IA 52175
CORNHUSKER MOVING GROUP, INC.           PO BOX 241724 OMAHA NE 68124
CORNISH SR., DWAYNE                     ADDRESS ON FILE
CORNISH, BRAD                           ADDRESS ON FILE
CORNISH, RUSSELL                        ADDRESS ON FILE
CORNWELL DOOR SERVICE INC               1498 WILLOW ST LEBANON PA 17046
CORNWELL, KARL                          ADDRESS ON FILE
CORNWELL, KEVIN                         ADDRESS ON FILE
CORNWELL, MICHAEL                       ADDRESS ON FILE
CORONA, ABRAHAM                         ADDRESS ON FILE
CORONA, DANIEL                          ADDRESS ON FILE
CORONA, DULCE                           ADDRESS ON FILE
CORONA, GABRIEL                         ADDRESS ON FILE
CORONA, JAIME                           ADDRESS ON FILE
CORONA, JOSE                            ADDRESS ON FILE
CORONA, JUAN                            ADDRESS ON FILE
CORONA, MARIO                           ADDRESS ON FILE
CORONA, MARTIN                          ADDRESS ON FILE
CORONA, REYES                           ADDRESS ON FILE
CORONA, RICHARD                         ADDRESS ON FILE
CORONADO BINDING SYSTEMS                15292 S KEELER ST OLATHE KS 66062
CORONADO WRECKING & SALVAGE CO          4200 BROADWAY BLVD SE ALBUQUERQUE NM 87105
CORONADO, ABEL                          ADDRESS ON FILE
CORONADO, CHRISTIAN                     ADDRESS ON FILE
CORONADO, LEON                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 426 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 435 of 2156

Claim Name                               Address Information
CORONADO, WILSON                         ADDRESS ON FILE
CORONEL, DIEGO                           ADDRESS ON FILE
CORONEL, GARBIELA                        ADDRESS ON FILE
COROTHERS, JAMULE                        ADDRESS ON FILE
CORP                                     157 ALBANY AVE FREEPORT NY 11520
CORPORATE ELECTRIC COMPANY, LLC          378 S VAN BUREN AVE BARBERTON OH 44203
CORPORATE EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
CORPORATE LODGING CONSULTANTS INC        FLEETCOR FUNDING, PO BOX 534722 ATLANTA GA 30353
CORPORATE LODGING CONSULTANTS INC        ELECTRONIC FUNDS WICHITA KS 67201
CORPORATE LODGING CONSULTANTS INC        8110 E. 32ND STREET NORTH, SUITE 200 WICHITA KS 67226
CORPORATE LODGING CONSULTANTS INC        8111 EAST 32ND STREET NORTH WICHITA KS 67226
CORPORATE MECHANICAL INC                 5114 HILLSBORO AVENUE NORTH NEW HOPE MN 55428
CORPORATE MEDICAL SERVICES INC           1800 2ND LOOP RD STE 19 FLORENCE SC 29501
CORPORATE SERVICES CONSULTANT LLC        PO BOX 1048 DANDRIDGE TN 37725
CORPORATION OF THE TOWN OF WHITBY, THE   ATTN TOWN TREASURER 575 ROSSLAND RD E WHITBY ON L1N 2M8 CANADA
CORPUS CHRISTI FREIGHTLINER-WESTERN      PO BOX 222038 DALLAS TX 75222
STAR
CORPUS CHRISTI FREIGHTLINER-WESTERN      P.O. BOX 4889 HOUSTON TX 77210
STAR
CORPUZ, GEOFFREY                         ADDRESS ON FILE
CORPUZ, KEVIN                            ADDRESS ON FILE
CORR, THOMAS                             ADDRESS ON FILE
CORR-TECH                                3575 W. 12TH ST. HOUSTON TX 77008
CORRAL, ELIJAH                           ADDRESS ON FILE
CORRAL, GILBERT                          ADDRESS ON FILE
CORRALES TRANSPORTATION INC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CORRALES, JOSE                           ADDRESS ON FILE
CORREA TRUCKING                          2500 S SALTA ST APT 9 SANTA ANA CA 92704
CORREA, JESUS                            ADDRESS ON FILE
CORREA, JOSHUA                           ADDRESS ON FILE
CORREA, JUAN                             ADDRESS ON FILE
CORREA, LUIS                             ADDRESS ON FILE
CORREA, TAYLOR                           ADDRESS ON FILE
CORRECTIONAL TECHNOLOGIES INC            7530 PLAZA CT WILLOWBROOK IL 60527
CORREIA, KEVIN                           ADDRESS ON FILE
CORRELL INC                              ATTN: DIANA FITZERALD 300 SOUTH HANCOCK STREET PO BOX 417 CHARLESTON AR 72933
CORRELL INC                              PO BOX 417, 300 S HANCOCK ST CHARLESTON AR 72933
CORRELL, KELLIE                          ADDRESS ON FILE
CORRIE MAC COLL NORTH AMERICA            ATTN: STEPHANIE WILSON 150 BOUSH ST STE 800 NORFOLK VA 23510
CORRIGAN, MARIBETH                       ADDRESS ON FILE
CORRIGAN, MARIBETH                       ADDRESS ON FILE
CORRPRO COMPANIES, INC.                  P.O. BOX 674173 DALLAS TX 75267
CORRY, JON                               ADDRESS ON FILE
CORRY, MARVIN                            ADDRESS ON FILE
CORSAN FREIGHT LLC                       13201 REESE BLVD W STE 100 HUNTERSVILLE NC 28078
CORSAN FREIGHT LLC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
CORSIGA, ARLENE                          ADDRESS ON FILE
CORSON, CHRISTOPHER                      ADDRESS ON FILE
CORSON, SHAWNE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 427 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 436 of 2156

Claim Name                              Address Information
CORTES, DAVID                           ADDRESS ON FILE
CORTES, DAVID J                         ADDRESS ON FILE
CORTES, ELIEZER                         ADDRESS ON FILE
CORTES, FRANCISCO                       ADDRESS ON FILE
CORTES, MAGDIEL                         ADDRESS ON FILE
CORTES, MARIBETH                        ADDRESS ON FILE
CORTES, NELSON                          ADDRESS ON FILE
CORTES, VICTOR                          ADDRESS ON FILE
CORTESE, DEBORAH                        ADDRESS ON FILE
CORTESE, DOMENICO                       ADDRESS ON FILE
CORTEZ H CARSON JR                      ADDRESS ON FILE
CORTEZ N HUTCHERSON                     ADDRESS ON FILE
CORTEZ TRANSPORTATION                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CORTEZ, ADRIAN                          ADDRESS ON FILE
CORTEZ, ARMONDO                         ADDRESS ON FILE
CORTEZ, CHRISTIAN                       ADDRESS ON FILE
CORTEZ, CRISTOBAL                       ADDRESS ON FILE
CORTEZ, EDUARDO                         ADDRESS ON FILE
CORTEZ, EDWARD                          ADDRESS ON FILE
CORTEZ, EMILIO                          ADDRESS ON FILE
CORTEZ, JODY                            ADDRESS ON FILE
CORTEZ, MARTIN                          ADDRESS ON FILE
CORTEZ, MIGUEL                          ADDRESS ON FILE
CORTEZ, QUINTEN                         ADDRESS ON FILE
CORTEZ, TONY                            ADDRESS ON FILE
CORTEZ, WILBER                          ADDRESS ON FILE
CORTEZ, WILLIAM                         ADDRESS ON FILE
CORTEZ, ZULMA                           ADDRESS ON FILE
CORTEZ-OLEA, DAMASIO                    ADDRESS ON FILE
CORTLAND PRODUCTS CORP.                 ATTN: LISA SCHUTZ; LEGAL DEPARTMENT AS COLLATERAL AGENT 225 W WASHINGTON ST,
                                        9TH FL CHICAGO IL 60606
CORTLAND PRODUCTS CORP.                 C/O: HOLLAND & KNIGHT LLP ATTN: JOSHUA M. SPENCER 150 N. RIVERSIDE PLAZA STE
                                        2700 CHICAGO IL 60606
CORTON, FRANCISCO                       ADDRESS ON FILE
CORUM, DYLAN                            ADDRESS ON FILE
CORVAZ TRANSPORTATION LLC               OR FACTORING EXPRESS LLC PO BOX 150205 OGDEN UT 84415
CORVETTE LOGISTICS INC                  2 RALSTON AVE UNIT 229 DARTMOUTH NS B3B1H7 CANADA
CORVUS JANITORIAL SYSTEMS OF COLUMBUS   PO BOX 636718 CINCINNATI OH 45263
CORWIN FORD RENO                        3600 KIETZKE LANE RENO NV 89502
CORWIN FORD SPOKANE                     ADDRESS ON FILE
CORWIN, DAVID                           ADDRESS ON FILE
CORWIN, PETER                           ADDRESS ON FILE
CORWIN, TAMARA                          ADDRESS ON FILE
CORY D HARTLEIN                         ADDRESS ON FILE
CORY LENZ TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CORY N BELL                             ADDRESS ON FILE
CORY SPEEDY                             ADDRESS ON FILE
CORY STEELE                             ADDRESS ON FILE
CORYS TRUCKING LLC                      OR COMMERCE COMMERCIAL CREDIT INC PO BOX 204605 DALLAS TX 75320-4605



Epiq Corporate Restructuring, LLC                                                                 Page 428 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                            Page 437 of 2156

Claim Name                         Address Information
CORZA, GEORGE B                    ADDRESS ON FILE
CORZINE, GUY                       ADDRESS ON FILE
COSBY, MICHAEL                     ADDRESS ON FILE
COSBY, OTIS                        ADDRESS ON FILE
COSCA TRANSPORT INC                1890 E HAMLIN RD ROCHESTER HILLS MI 48307
COSCO FIRE PROTECTION, INC.        1075 W LAMBERT RD BLDG D BREA CA 92821
COSEGLIA, RICHARD                  ADDRESS ON FILE
COSENZA, DAVE                      ADDRESS ON FILE
COSGRIFF, TIMOTHY                  ADDRESS ON FILE
COSGROVE, COLIN                    ADDRESS ON FILE
COSHENET, DEREK                    ADDRESS ON FILE
COSHOCTON TRUCKING, INC.           P O BOX 1210 COSHOCTON OH 43812
COSIC                              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
COSIO, VELISARIOS                  ADDRESS ON FILE
COSLET, THOMAS                     ADDRESS ON FILE
COSMILLO, JOSEPH                   ADDRESS ON FILE
COSMO FREIGHT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COSMO PRODUCTS                     5431 BROOKS ST MONTCLAIR CA 91763
COSMO PRODUCTS                     ATTN: HELEN TRAN 5431 BROOKS ST MONTCLAIR CA 91763
COSMOPOLITAN INDUSTRIES LTD        1302 ALBERTA AVENUE SASKATOON SK S7K 1R5 CANADA
COSMOPOLITAN INDUSTRIES LTD        26 34TH ST E SASKATOON SK S7K 3Y2 CANADA
COSMOS EXPRESS INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
COSS, APOLINAR                     ADDRESS ON FILE
COSSEY, STEVEN                     ADDRESS ON FILE
COSSIO, CARLOS                     ADDRESS ON FILE
COST CONTROL ASSOCIATES, INC.      175 BROAD STREET SUITE 166 GLENS FALLS NY 12801
COST LESS CARPET                   63595 HUNNELL RD BEND OR 97703
COST, JEFFERY                      ADDRESS ON FILE
COSTA, DANIEL                      ADDRESS ON FILE
COSTA, EDUARDO                     ADDRESS ON FILE
COSTA, MICHAEL                     ADDRESS ON FILE
COSTA, SANDRA                      ADDRESS ON FILE
COSTA, SHAWN M                     ADDRESS ON FILE
COSTALES, RAFAEL                   ADDRESS ON FILE
COSTELLO, DAVID                    ADDRESS ON FILE
COSTELLO, DAVID                    ADDRESS ON FILE
COSTELLO, JEFF                     ADDRESS ON FILE
COSTELLO, RICHARD                  ADDRESS ON FILE
COSTELLO, RILEY                    ADDRESS ON FILE
COSTELLO, ROY A                    ADDRESS ON FILE
COSTELLO, WILLIAM                  ADDRESS ON FILE
COSTER, DEANNA                     ADDRESS ON FILE
COSTIAN, IONEL                     ADDRESS ON FILE
COSTIGAN, JASON                    ADDRESS ON FILE
COTA & COTA, INC.                  4 GREEN ST BELLOWS FALLS VT 05101
COTA & COTA, INC.                  BELLOWS FALLS, 4 GREEN ST BELLOWS FALLS VT 05101
COTA, GABRIEL                      ADDRESS ON FILE
COTE, CHRISTIAN                    ADDRESS ON FILE
COTES, CHARLES W                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 429 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 438 of 2156

Claim Name                          Address Information
COTHER, ZACHARY                     ADDRESS ON FILE
COTHRAN, ANTHONY                    ADDRESS ON FILE
COTHREN, STACY                      ADDRESS ON FILE
COTRAILER REPAIR CORP.              2158 SW 175 AVENUE MIRAMAR FL 33029
COTRAILER REPAIR CORP.              2158 SW 175TH AVE MIRAMAR FL 33029
COTRONEO, GUY                       ADDRESS ON FILE
COTTEN, CHAD                        ADDRESS ON FILE
COTTEN, JOEL                        ADDRESS ON FILE
COTTER, FRANCIS                     ADDRESS ON FILE
COTTER, MALVIN                      ADDRESS ON FILE
COTTERMAN, SAMUEL                   ADDRESS ON FILE
COTTLE, PAUL                        ADDRESS ON FILE
COTTO, GILBERT                      ADDRESS ON FILE
COTTON, ARTHUR                      ADDRESS ON FILE
COTTON, CALEB                       ADDRESS ON FILE
COTTON, DORINA                      ADDRESS ON FILE
COTTON, ELIZABETH                   ADDRESS ON FILE
COTTON, FAYE                        ADDRESS ON FILE
COTTON, JASON                       ADDRESS ON FILE
COTTON, JESTIN                      ADDRESS ON FILE
COTTON, MICHAEL                     ADDRESS ON FILE
COTTON, TAVONNE J                   ADDRESS ON FILE
COTTONIA PRODUCTS 2000 INC          2995 SARTELON 300 SAINT-LAURENT QC H4R 1E6 CANADA
COTTONIA PRODUCTS 2000 INC          2995 SARTELON, SUITE 250 SAINT-LAURENT QC H4R 1E6 CANADA
COTTRELL, JOSH                      ADDRESS ON FILE
COTTRELL, MICHAEL                   ADDRESS ON FILE
COTUNA TRANSPORT INC                728 HATFIELD CIR SALINE MI 48176
COTY                                SUE NABI, CHIEF EXECUTIVE OFFICER 350 5TH AVE NEW YORK NY 10118
COTY US LLC                         PO BOX 9202 OLD BETHPAGE NY 11804
COUCH, DARRELL                      ADDRESS ON FILE
COUCH, GREGORY                      ADDRESS ON FILE
COUCH, RYDER                        ADDRESS ON FILE
COUCHMAN, CLAYTON                   ADDRESS ON FILE
COUGAR LOGISTICS INC                5700 FALSBRIDGE DR NE 287 CALGARY AB T3J 4X5 CANADA
COUGAR TRANSPORT LLC (MC1310517)    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
COUGAR TRUCK LINES LLC              OR BAY VIEW FUNDING, PO BOX 204703 DALLAS TX 75320-4703
COUGHENOUR, BENJAMIN                ADDRESS ON FILE
COUGHENOUR, JENNIFER                ADDRESS ON FILE
COUGHENOUR, LAURA                   ADDRESS ON FILE
COUGHLEN, WILLIAM                   ADDRESS ON FILE
COUGHLIN, JOHN                      ADDRESS ON FILE
COUGHLIN, JOHN                      ADDRESS ON FILE
COUGHLIN, MATTHEW                   ADDRESS ON FILE
COUGHLIN, VIRGINIA                  ADDRESS ON FILE
COUGHLON, MEGHAN                    ADDRESS ON FILE
COULOMBE, MICHAEL                   ADDRESS ON FILE
COULSON, CHRIS                      ADDRESS ON FILE
COULSON, DAVID                      ADDRESS ON FILE
COULSTON, JOSHUA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 430 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 439 of 2156

Claim Name                               Address Information
COULSTON, PATRICK                        ADDRESS ON FILE
COULTER TRUCKING                         PO BOX 11099 OLYMPIA WA 98508
COULTER, JOHN-DAVID                      ADDRESS ON FILE
COULTER, KENDRICK                        ADDRESS ON FILE
COULTER, SANDRA                          ADDRESS ON FILE
COULTER, SUSAN                           ADDRESS ON FILE
COUNCIL BLUFFS WATER WORKS               2000 N 25TH ST COUNCIL BLUFFS IA 51501
COUNCIL, JOHN                            ADDRESS ON FILE
COUNTER ASSAULT                          ATTN: ROBERT MCCALLUM 120 INDUSTRIAL CT KALISPELL MT 59901
COUNTERMAN, MICHELLE                     ADDRESS ON FILE
COUNTRY BOY MANUFACTURING                1601 KING ST LEBANON PA 17042
COUNTRY LANE BUILDINGS                   21372 PEALER MILL RD DANVILLE OH 43014
COUNTRY MALT GROUP                       716 RTE 9 CHAMPLAIN NY 12919
COUNTRY MALT GROUP                       18110 SE 34TH ST SUITE 240 VANCOUVER WA 98683
COUNTRY STOVE CO.                        6669 ROYALTON RD. NORTH ROYALTON OH 44133
COUNTRY WIDE TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
COUNTRYLINK LOGISTICS LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
COUNTRYSIDE LOGISTICS INC                OR HGS FUNDING, P.O. BOX 1359 RANCHO CUCAMONGA CA 91729-1359
COUNTRYWIDE LOGISTICS INC                975 JASMINE HOLLOW DR MANTECA CA 95337
COUNTS, BIRTY                            ADDRESS ON FILE
COUNTY EXTERMINATING                     PO BOX 456 INDIANAPOLIS IN 46206
COUNTY FIRE PROTECTION SALES & SVC LLC   1884 EASTMAN AVE 104 VENTURA CA 93003
COUNTY LINE TRUCKING LTD.                75 WILMOT ROAD WILMOT NB E7P 2V4 CANADA
COUNTY OF ALAMEDA                        OFFICE OF WEIGHTS & MEASURES, 224 W WINTON AVENUE, RM 184 HAYWARD CA 94544
COUNTY OF FRESNO TREASURER               DEPARTMENT OF AGRICULTURE 1730 S MAPLE AVE FRESNO CA 93702
COUNTY OF IMPERIAL TAX COLLECTOR         940 WEST MAIN ST 106 EL CENTRO CA 92243
COUNTY OF KERN                           ENVIRONMENTAL HEALTH DIVISION 2700 M STREET STE 300 BAKERSFIELD CA 93301
COUNTY OF KERN                           DEPT OF AGRICULTURE & MEASURE STANDARDS 1001 SOUTH MOUNT VERNON AVE
                                         BAKERSFIELD CA 93307
COUNTY OF LEXINGTON                      OFFICE OF TREASURER, PO BOX 3000 LEXINGTON SC 29071-3000
COUNTY OF LOS ANGELES                    AGRICULTURE WEIGHTS & MEASURES PO BOX 512399 LOS ANGELES CA 90051
COUNTY OF LOS ANGELES TREASURER          AND TAX COLLECTOR, PO BOX 513191 LOS ANGELES CA 90051
COUNTY OF MOBILE                         PO BOX 2207 MOBILE AL 36652
COUNTY OF NORTHAMPTON                    669 WASHINGTON ST EASTON PA 18042
COUNTY OF ORANGE                         ORANGE CO HEALTH CARE AGENCY 1241 EAST DYER ROAD, SUITE 120 SANTA ANA CA 92705
COUNTY OF ORANGE                         ENVIRONMENTAL HEALTH DIVISION PO BOX 25400 SANTA ANA CA 92799
COUNTY OF SACRAMENTO                     ENVIRONMENTAL MANAGEMENT DEPT 10590 ARMSTRONG AVENUE STE C MATHER CA 95655
COUNTY OF SACRAMENTO                     ENVIRONMENTAL MANAGEMENT DEPT 11080 WHITE ROCK ROAD STE 200 RANCHO CORDOVA CA
                                         95670
COUNTY OF SACRAMENTO                     DEPARTMENT OF FINANCE 700 H STREET, ROOM 1710 SACRAMENTO CA 95814
COUNTY OF SACRAMENTO DEPT OF FINANCE     TAX COLLECTION & LICENSING, 700 H STREET ROOM 1710 SACRAMENTO CA 95814
COUNTY OF SAN BERNARDINO                 CENTRAL COLLECTIONS, 157 WEST 5TH 3RD FL SAN BERNARDINO CA 92415
COUNTY OF SAN DIEGO                      DEPT OF ENVIRONMENTAL HEALTH PO BOX 129261 SAN DIEGO CA 92112
COUNTY OF SAN DIEGO                      AGRICULTURE WEIGHTS & MEASURES 9325 HAZARD WAY STE 100 SAN DIEGO CA 92123
COUNTY OF SAN DIEGO, DEH                 PO BOX 129261 SAN DIEGO CA 92112
COUNTY OF SANTA BARBARA                  TREASURER TAX COLLECTOR PO BOX 579 SANTA BARBARA CA 93102
COUNTY OF SANTA CLARA                    70 W HEDDING STREET EAST WING, 6TH FLOOR SAN JOSE CA 95110
COUNTY OF SANTA CLARA                    AGRICULTURE WEIGHTS & MEASURES 1553 BERGER DR, BLDG 1 SAN JOSE CA 95112
COUNTY OF SANTA CLARA                    DEPT OF ENVIRONMENTAL HEALTH PO BOX 129261 SAN JOSE CA 95112



Epiq Corporate Restructuring, LLC                                                                     Page 431 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 440 of 2156

Claim Name                              Address Information
COUNTY OF SANTA CRUZ                    2150 N CONGRESS DR NOGALES AZ 85621
COUNTY OF ST LOUIS                      100 NORTH 5TH AVENUE W DULUTH MN 55802
COUNTY OF WASHINGTON                    PROPERTY TAX PAYMENT CENTER PO BOX 3587 PORTLAND OR 97208
COUNTY ROAD TRANS                       732 ARTHUR PARKER AVE WOODSTOCK ON N4T 0G8 CANADA
COUNTY TREASURERS OFFICE                BOX 878 CHARLESTON SC 29402
COUPE, JAMES                            ADDRESS ON FILE
COUPER, GREGORY                         ADDRESS ON FILE
COUPLAMATIC SYSTEMS INC                 ATTN: JILL WINEMAN 250413 SKYPORT DR SCOTTSBLUFF NE 69361
COURIER EXPRESS, INC.                   111 CARANDO DR SPRINGFIELD MA 01104
COURIER SERVICE INC                     PO BOX 770605 MEMPHIS TN 38177
COURIER SYSTEMS, INC. (MC035077)        180 PULASKI ST BAYONNE NJ 07002
COURNEY ONEILL                          ADDRESS ON FILE
COURSE, STEVEN                          ADDRESS ON FILE
COURSE, TAVIUS                          ADDRESS ON FILE
COURSEY, WILLIAM                        ADDRESS ON FILE
COURT CLERKS OFFICE                     401 E MAIN ST ROOM 100 UNION MO 63084
COURTER, JOSEPH                         ADDRESS ON FILE
COURTER, KENDRA                         ADDRESS ON FILE
COURTESY BUILDING SERVICES, INC.        2154 W NORTHWEST HIGHWAY 214 DALLAS TX 75220
COURTESY CAR & TRUCK SVC                15400 M 60 TEKONSHA MI 49092
COURTESY SERVERS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
COURTNEE FOX TRUCKING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COURTNEY, BRANDON                       ADDRESS ON FILE
COURTNEY, JAMES                         ADDRESS ON FILE
COURTWAY, JOHNNA                        ADDRESS ON FILE
COURTYARD MARRIOTT &CONVENTION CENTER   ATTN: JACOB HOPPER 823-827 WASHINGTON AVE SAINT LOUIS MO 63101-1201
COURVILLES GARAGE INC                   PO BOX 262 ROUTE 163 MONTVILLE CT 06353
COUSINO, RYAN                           ADDRESS ON FILE
COUTAIN, DARNELL                        ADDRESS ON FILE
COUTS, GERALD                           ADDRESS ON FILE
COUTTS, CURT                            ADDRESS ON FILE
COUTURE, LEO                            ADDRESS ON FILE
COUVILLION, THOMAS                      ADDRESS ON FILE
COVACIU, LIVIU                          ADDRESS ON FILE
COVARRUBIAS, ALFREDO                    ADDRESS ON FILE
COVARRUBIAS, CHRISTIAN                  ADDRESS ON FILE
COVARRUBIAS, CIRO                       ADDRESS ON FILE
COVARRUBIAS, ENRIQUE                    ADDRESS ON FILE
COVARRUBIAS, MIGUEL                     ADDRESS ON FILE
COVAX TRANS INC.                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
COVE RIVER RANCH                        1738 STONE RDIGE CIR BOUNTIFUL 84010-1033
COVELL, WILLIAM                         ADDRESS ON FILE
COVELLO, WILLIAM                        ADDRESS ON FILE
COVEN, TAMMY                            ADDRESS ON FILE
COVENANT CARRIERS, INC.                 PO BOX 647 OLIVE BRANCH MS 38654
COVENANT CONSULTING LLC                 5251 W 116TH PLACE STE 200 LEAWOOD KS 66211
COVENANT EXPRESS LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
COVENANT LOGISTICS INC                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
COVENANT MEDICAL CENTER                 DEPT 771797, PO BOX 77000 DETROIT MI 48277-1797



Epiq Corporate Restructuring, LLC                                                                   Page 432 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 441 of 2156

Claim Name                          Address Information
COVENANT MEDICAL MANAGEMENT INC     DBA FAMILY CARE SPECIALIST 1300 OLD WEISGARBER RD KNOXVILLE TN 37909
COVENANT PLUMBING, LLC              4268 INTERSTATE DR MACON GA 31210
COVENANT TRANSPORT INC.             5741 S. BURLINGTON DR SUITE A MUNCI IN 47302
COVENTRY CARGO LLC                  24 SEMINARY ST UNIT 752 BEREA OH 44017-3632
COVER POOLS ECHO                    ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
COVER WELL PAINT LLC                322 STIMSON ST ORLANDO FL 32839
COVERA, RAUL                        ADDRESS ON FILE
COVERALL NORTH AMERICA INC          2955 MOMENTUM PLACE CHICAGO IL 60689
COVERALL OF NORTHWEST OHIO          PO BOX 72329 CLEVELAND OH 44192
COVERALL OF WESTERN MICHIGAN        PO BOX 72346 CLEVELAND OH 44192
COVERDALE, CHRISTOPHER              ADDRESS ON FILE
COVERT ELECTRIC SUPPLY              ATTN: ALISHA BRIGANCE PO BOX 277 JOPLIN MO 64801
COVERT, DARLA                       ADDRESS ON FILE
COVERTS MOBILE DIESEL SERVICE       7559 RIVERLAND DR REDDING CA 96002
COVEY BROTHERS CONTRACTING LLC      2301 N MASCH BRANCH RD., STE.208 DENTON TX 76207
COVEYOU, JOHN                       ADDRESS ON FILE
COVEYOU, JOHN W                     ADDRESS ON FILE
COVIEO, TIMOTHY                     ADDRESS ON FILE
COVINGTON, DELL                     ADDRESS ON FILE
COVINGTON, ELLIOTT                  ADDRESS ON FILE
COVINGTON, HERMOND                  ADDRESS ON FILE
COVINGTON, STERLING                 ADDRESS ON FILE
COVINGTON, STERLING                 ADDRESS ON FILE
COW CREEK TOWING & RECOVERY         132 HWY, 15 NORTH PONTOTOC MS 38863
COWAN SYSTEMS, LLC                  4555 HOLLINS FERRY RD BALTIMORE MD 21227
COWAN, DANIEL                       ADDRESS ON FILE
COWAN, DELBERT                      ADDRESS ON FILE
COWAN, RODNEY                       ADDRESS ON FILE
COWAN, TRACY                        ADDRESS ON FILE
COWAN, TRACY                        ADDRESS ON FILE
COWAN, TROY                         ADDRESS ON FILE
COWAN, WESLEY                       ADDRESS ON FILE
COWANS, TIA                         ADDRESS ON FILE
COWARD, DEANNA                      ADDRESS ON FILE
COWARD, MICHAEL                     ADDRESS ON FILE
COWART ELECTRIC & INDUSTRIAL        CONTRACTORS INC PO BOX 2345 VALDOSTA GA 31604
COWART, AARON                       ADDRESS ON FILE
COWBOY BODY & PAINT INC             8261 CRAVALAN CIRCLE COTTONWOOD HEIGHTS UT 84093
COWBOY BODY & PAINT INC             8261 CRAVALAN CIRCLE SANDY UT 84093
COWBOY BODY & PAINT INC             3365 S. WEST TEMPLE SALT LAKE CITY UT 84115
COWBOYS ROADSIDE SERVICES           D/B/A: MOTO MIKES LLC PO BOX 189 MONA UT 84645
COWBOYS TRUCKING                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
COWDELL, FLOYD                      ADDRESS ON FILE
COWE, JAMES                         ADDRESS ON FILE
COWEN TRUCK LINE, INC.              P O BOX 480 PERRYSVILLE OH 44864
COWGILL, JAMES                      ADDRESS ON FILE
COWLEY, DOUGLAS                     ADDRESS ON FILE
COWLEY, MATTHEW                     ADDRESS ON FILE
COWLING PROPERTY MANAGEMENT         1585 PAYNES POINT ROAD NEENAH WI 54956



Epiq Corporate Restructuring, LLC                                                               Page 433 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 442 of 2156

Claim Name                               Address Information
COWTOWN EXPRESS INC                      OR CFS INC DBA COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
COWTOWN EXPRESS INC                      PO BOX 185280 FORT WORTH TX 76118
COX AUTO MOBILITY - MOBILE DIVISION      7717 SOLUTION CENTER CHICAGO IL 60677-7007
COX AUTOMOTIVE                           PO BOX 105357 ATLANTA GA 30348
COX AUTOMOTIVE MOBILITY - EMS DIVISION   13720 E 42ND TERRACE S INDEPENDENCE MO 64055
COX AUTOMOTIVE MOBILITY FLEET SERVICES   D/B/A: COX AUTO MOBILITY-MOBILE DIV 7717 SOLUTION CENTER CHICAGO IL 60677-7007
COX COMMUNICATIONS                       PO BOX 47604 PLYMOUTH MN 55447
COX COMMUNICATIONS INC                   PO BOX 650957 DALLAS TX 75265
COX TRANSPORTATION                       10448 DOW GIL RD ASHLAND 23005
COX, ALLAN                               ADDRESS ON FILE
COX, ALLEN                               ADDRESS ON FILE
COX, ALLISON                             ADDRESS ON FILE
COX, ASHLEY                              ADDRESS ON FILE
COX, BRANDON                             ADDRESS ON FILE
COX, BRUCE                               ADDRESS ON FILE
COX, BRYANT                              ADDRESS ON FILE
COX, CATHLINE                            ADDRESS ON FILE
COX, CHARLIE                             ADDRESS ON FILE
COX, CHRIS                               ADDRESS ON FILE
COX, CLYDE                               ADDRESS ON FILE
COX, DONNIE                              ADDRESS ON FILE
COX, DONNIE                              ADDRESS ON FILE
COX, DOUGLAS                             ADDRESS ON FILE
COX, ERIC                                ADDRESS ON FILE
COX, FRANCIS                             ADDRESS ON FILE
COX, FRED                                ADDRESS ON FILE
COX, FREDERICK                           ADDRESS ON FILE
COX, GREGORY                             ADDRESS ON FILE
COX, JAMES                               ADDRESS ON FILE
COX, JAMES                               ADDRESS ON FILE
COX, JAMES                               ADDRESS ON FILE
COX, JASMIN                              ADDRESS ON FILE
COX, JESSICA                             ADDRESS ON FILE
COX, JIMMY E                             ADDRESS ON FILE
COX, JOHN                                ADDRESS ON FILE
COX, JOHN                                ADDRESS ON FILE
COX, JOHN                                ADDRESS ON FILE
COX, JON                                 ADDRESS ON FILE
COX, JONATHAN                            ADDRESS ON FILE
COX, JOSHUA                              ADDRESS ON FILE
COX, JUDE                                ADDRESS ON FILE
COX, JUSTIN                              ADDRESS ON FILE
COX, KENNETH                             ADDRESS ON FILE
COX, MALIK                               ADDRESS ON FILE
COX, MARK                                ADDRESS ON FILE
COX, MARTIN                              ADDRESS ON FILE
COX, MASON                               ADDRESS ON FILE
COX, MICHAEL                             ADDRESS ON FILE
COX, NERVILLE                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 434 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 443 of 2156

Claim Name                           Address Information
COX, PATRICK D                       ADDRESS ON FILE
COX, PAUL                            ADDRESS ON FILE
COX, RALPH                           ADDRESS ON FILE
COX, RICK                            ADDRESS ON FILE
COX, RONNIE                          ADDRESS ON FILE
COX, SHELIA                          ADDRESS ON FILE
COX, SLOAN                           ADDRESS ON FILE
COX, STANLEY                         ADDRESS ON FILE
COX, STEVE                           ADDRESS ON FILE
COX, SWANDIA                         ADDRESS ON FILE
COX, THOMAS                          ADDRESS ON FILE
COX, TRACY                           ADDRESS ON FILE
COX, TRISTAN                         ADDRESS ON FILE
COX, WILLIAM                         ADDRESS ON FILE
COX, ZACHARY                         ADDRESS ON FILE
COXREELS INC                         ATTN: KARINA GABINO 5865 S ASH AVE TEMPE AZ 85283
COY BROTHERS, INC.                   P O BOX 416 CANFIELD OH 44406
COYE, JOHN                           ADDRESS ON FILE
COYLE, BRETT                         ADDRESS ON FILE
COYLE, DOUGLAS                       ADDRESS ON FILE
COYLE, JOSEPH                        ADDRESS ON FILE
COYOTE CONTRACTING                   16250 E HARVARD AVE AURORA CO 80013
COYOTE LOGISTICS                     960 N POINT PKWY STE 150 ALPHARETTA GA 30005
COYOTE LOGISTICS                     ATTN: SCOTT SPEARS 960 NORTH POINT PKWY STE 150 ALPHARETTA GA 30005
COYOTE LOGISTICS                     ATTN: TOM HAXTON CLAIMS DEPARTMENT 960 NORTH POINT PARKWAY SUITE 150
                                     ALPHARETTA GA 30005
COYOTE LOGISTICS                     CLAIMS DEPARTMENT 960 NORTH POINT PKWY STE 150 ALPHARETTA GA 30005
COYOTE LOGISTICS                     CLAIMS DEPT, 960 NORTH POINT PKWY 150 ALPHARETTA GA 30005
COYOTE LOGISTICS                     PO BOX 742636 ATLANTA GA 30374
COYOTE LOGISTICS                     PO BOX 742636 ATLANTA GA 30374-2636
COYOTE LOGISTICS, LLC                ATTN: GENERAL COUNSEL 2545 W. DIVERSEY AVE 3RD FL CHICAGO IL 60647
COYOTE XPRESS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
COZAD, NICHOLAS                      ADDRESS ON FILE
COZART, JAMAL                        ADDRESS ON FILE
COZART, RONALD                       ADDRESS ON FILE
COZBY, QUINN H                       ADDRESS ON FILE
COZIER, DERICK                       ADDRESS ON FILE
COZIER, MICHAEL                      ADDRESS ON FILE
COZMA, KENNETH                       ADDRESS ON FILE
COZZI, WALTER                        ADDRESS ON FILE
CP CARRIERS INC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CP DISTRIBUTORS LTD                  3719 KOCHAR AVE SASKATOON SK S7P 0B8 CANADA
CP TRUCKING LLC                      6711 CHAMOIS CIR CYPRESS CA 90630
CP TRUCKING SERVICES INC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CP TRUCKING, INC.                    362 MCCORKLE LANE PARSONS TN 38363
CP&A TRANSPORTATION                  OR ATLAS FACTORING LLC 906 N MESA, STE 301 EL PASO TX 79902
CPA FRITZ W. GONZALEZ, PSC           PO BOX 13515 SAN JUAN PR 00908
CPARKS ENTERPRISES LLC               PO BOX 7574 COLUMBIA MO 65205
CPG ENTERPRISES OF ORLANDO INC       PO BOX 678358 ORLANDO FL 32867



Epiq Corporate Restructuring, LLC                                                                Page 435 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 444 of 2156

Claim Name                              Address Information
CPI TRANSPORT LLC                      16126 RODALE DR HOUSTON TX 77049
CPI TRUCKING & LOGISTICS, LLC.         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
CPL EXPRESS, INC.                      5904-A WARNER AVENUE 263 HUNTINGTON BEACH CA 92649
CPS ENERGY                             500 MCCULLOUGH AVE SAN ANTONIO TX 78215-2104
CQ LOGISTICS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CQ TRANSPORTATION LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CQQ TRUCKING LLC                       OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
CR BENCOSME LOGISTICS LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CR DAVID CORP OR TRAKKXPAY             1302 N COAST HWY 101 SUITE 102 ENCENITAS CA 92024
CR ELECTRIC                            1200 TRUMBULL AVE GIRARD OH 44420
CR KAIRI TRUCKING LLC                  5 CHEEKWOOD COURT SIMPSONVILLE SC 29680
CR TRANSPORT                           PO BOX 124 COAL CITY IL 60416
CR TRUCKING ENTERPRISES LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CR TRUCKING ENTERPRISES LLC (MC1229625) OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
CRABB, EDWARD                          ADDRESS ON FILE
CRABB, ROBIN                           ADDRESS ON FILE
CRABBE, JOSHUA                         ADDRESS ON FILE
CRACK, LEONARD                         ADDRESS ON FILE
CRADDOCK, LEE ANN                      ADDRESS ON FILE
CRADDOCK, MICHAEL                      ADDRESS ON FILE
CRAFT, CHRIS                           ADDRESS ON FILE
CRAFT, COURTNEY                        ADDRESS ON FILE
CRAFT, DARIAN                          ADDRESS ON FILE
CRAFT, JOHNNY                          ADDRESS ON FILE
CRAFT, KYYORRIS                        ADDRESS ON FILE
CRAFT, MICHAEL                         ADDRESS ON FILE
CRAFT, PAULINE                         ADDRESS ON FILE
CRAFT, RAYMOND                         ADDRESS ON FILE
CRAFT, ROBERT                          ADDRESS ON FILE
CRAFT, SAMUEL                          ADDRESS ON FILE
CRAFTSMAN ELECTRIC                     3855 ALTA AVENUE CINCINNATI OH 45236
CRAFTSMEN TRAILER, LLC                 PO BOX 952006 SAINT LOUIS MO 63195
CRAFTSMEN TRAILER, LLC                 PO BOX 804922 KANSAS CITY MO 64180
CRAFTSMEN TRAILER, LLC                 PO BOX 804922 KANSAS CITY MO 64180-4922
CRAGUE, ERIC                           ADDRESS ON FILE
CRAIDER, JAMES                         ADDRESS ON FILE
CRAIG A COLE                           ADDRESS ON FILE
CRAIG A DINWIDDIE                      ADDRESS ON FILE
CRAIG BROWN                            ADDRESS ON FILE
CRAIG CLARK TRUCKING LLC               9291 ST RT 138 FRANKFORT OH 45628
CRAIG ELECTRIC INC                     14231 DAY RD MISHAWAKA IN 46545
CRAIG FENCING INC                      300 E 6TH AVE ALTOONA PA 16602
CRAIG HENSCHEL                         ADDRESS ON FILE
CRAIG PISTOLE                          ADDRESS ON FILE
CRAIG R POWELL                         ADDRESS ON FILE
CRAIG SANDERS                          ADDRESS ON FILE
CRAIG SOUVANH, NOUKEN                  ADDRESS ON FILE
CRAIG STANLEY                          ADDRESS ON FILE
CRAIG VANDERLINDEN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 436 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 445 of 2156

Claim Name                          Address Information
CRAIG W ZUBER                       ADDRESS ON FILE
CRAIG WENTWORTH                     ADDRESS ON FILE
CRAIG, ARTEZ                        ADDRESS ON FILE
CRAIG, CHARLES                      ADDRESS ON FILE
CRAIG, DARYL                        ADDRESS ON FILE
CRAIG, FRANKIE                      ADDRESS ON FILE
CRAIG, GARY                         ADDRESS ON FILE
CRAIG, JAY                          ADDRESS ON FILE
CRAIG, JOHN                         ADDRESS ON FILE
CRAIG, KENDALL                      ADDRESS ON FILE
CRAIG, KEVIN                        ADDRESS ON FILE
CRAIG, MARK A                       ADDRESS ON FILE
CRAIG, MARK A                       ADDRESS ON FILE
CRAIG, MARK A                       ADDRESS ON FILE
CRAIG, RAYMOND                      ADDRESS ON FILE
CRAIG, THOMAS                       ADDRESS ON FILE
CRAIG, TIMOTHY L                    ADDRESS ON FILE
CRAIG, WILLIAM                      ADDRESS ON FILE
CRAIG, WILLIAM                      ADDRESS ON FILE
CRAIN CUTTER CO                     1155 WRIGLEY WAY MILPITAS CA 95035
CRAIN LAWN CARE LLC                 163 LAWRENCETOWN RD GALLATIN TN 37066
CRAIN, DARRIN                       ADDRESS ON FILE
CRAIN, JASON                        ADDRESS ON FILE
CRAMER, BRENT                       ADDRESS ON FILE
CRAMER, GREG                        ADDRESS ON FILE
CRAMER, JULIE                       ADDRESS ON FILE
CRAMER, PAM                         ADDRESS ON FILE
CRAMER, RODNEY                      ADDRESS ON FILE
CRAMER, WILLIAM                     ADDRESS ON FILE
CRAMER, ZACHARY                     ADDRESS ON FILE
CRANBURY SERVICE CENTER             44 HIGHTSTOWN-CRANBURY STATION CRANBURY NJ 08512
CRANBURY SERVICE CENTER             CORPORATE BILLING DEPT, PO BOX 830604 BIRMINGHAM AL 35283
CRANDALL, ANTHONY                   ADDRESS ON FILE
CRANDALL, JONATHAN                  ADDRESS ON FILE
CRANDALL, RUSSELL                   ADDRESS ON FILE
CRANDALLS EXCAVATING                911 RICE CIR TWIN FALLS ID 83301
CRANDLE, JOVAN                      ADDRESS ON FILE
CRANE CARTAGE LLC                   1500 RANKIN RD STE 400 HOUSTON TX 77073
CRANE COMPOSITES                    4251 IOWA ST BENICIA CA 94510
CRANE SAFETY                        D/B/A: THOMPSON SAFETY P O BOX 842365 DALLAS TX 75284
CRANE TRANSPORT INC                 OR INTERSTATE BILLING SERVICES PO BOX 2214 DECATUR AL 35609-2214
CRANE WORLDWIDE LOGISTICS, LLC      P.O. BOX 844174 DALLAS TX 75284
CRANE, JAMES                        ADDRESS ON FILE
CRANE, RICHARD                      ADDRESS ON FILE
CRANE, SANDRA                       ADDRESS ON FILE
CRANE, WILLIAM                      ADDRESS ON FILE
CRANEMASTERS INC                    PO BOX 645940 PITTSBURGH PA 15264
CRANKFIELD, JEROME                  ADDRESS ON FILE
CRANSTON, MICHAEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 437 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 446 of 2156

Claim Name                             Address Information
CRAPO, JAMES A                         ADDRESS ON FILE
CRAPPS, ISIAH                          ADDRESS ON FILE
CRATER TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CRAVEN, AARON                          ADDRESS ON FILE
CRAVEN, GEOFFREY                       ADDRESS ON FILE
CRAVEN, LINDA                          ADDRESS ON FILE
CRAVENS, JOHN                          ADDRESS ON FILE
CRAVENS, NATHAN                        ADDRESS ON FILE
CRAVENS, TODD                          ADDRESS ON FILE
CRAVER, STEPHEN                        ADDRESS ON FILE
CRAWFORD                               ATTN: JONATHON MIDDAUGH 5335 TRIANGLE PARKWAY PEACHTREE CORNERS GA 30092
CRAWFORD & COMPANY                     5335 TRIANGLE PKWY NORCROSS GA 30092
CRAWFORD DOOR OF W N Y INC             10638 DUTCH HILL RD WEST VALLEY NY 14171
CRAWFORD DOOR SALES OF IDAHO           PO BOX 140158 BOISE ID 83714
CRAWFORD ELECTRIC SUPPLY CO            2600 E ELMS RD KILLEEN TX 76542
CRAWFORD JR, GLENN                     ADDRESS ON FILE
CRAWFORD PLUMBING LLC                  4 CRAWFORD LANE FORT OGLETHORPE GA 30742
CRAWFORD SPRINKLER CO OF RALEIGH INC   2725 S SAUNDERS ST RALEIGH NC 27603
CRAWFORD SPRINKLER COMPANY             PO BOX 1430 HICKORY NC 28603
CRAWFORD WINDOR INC                    145 WASHINGTON ST EUGENE OR 97401
CRAWFORD, ANTHONY                      ADDRESS ON FILE
CRAWFORD, ANTHONY                      ADDRESS ON FILE
CRAWFORD, BRIAN                        ADDRESS ON FILE
CRAWFORD, BRIAN                        ADDRESS ON FILE
CRAWFORD, BRIAN W                      ADDRESS ON FILE
CRAWFORD, BRYAN                        ADDRESS ON FILE
CRAWFORD, CARLO                        ADDRESS ON FILE
CRAWFORD, CHARLES                      ADDRESS ON FILE
CRAWFORD, CHEZNEY                      ADDRESS ON FILE
CRAWFORD, CHRISTOPHER                  ADDRESS ON FILE
CRAWFORD, CLIFTON                      ADDRESS ON FILE
CRAWFORD, CODY                         ADDRESS ON FILE
CRAWFORD, COREY BLAKE                  ADDRESS ON FILE
CRAWFORD, DAVID                        ADDRESS ON FILE
CRAWFORD, DEWAYNE                      ADDRESS ON FILE
CRAWFORD, DONAVAN                      ADDRESS ON FILE
CRAWFORD, ERIC                         ADDRESS ON FILE
CRAWFORD, FREDERICK                    ADDRESS ON FILE
CRAWFORD, GREGORY                      ADDRESS ON FILE
CRAWFORD, JABRIAN                      ADDRESS ON FILE
CRAWFORD, JAMAR                        ADDRESS ON FILE
CRAWFORD, JAMES                        ADDRESS ON FILE
CRAWFORD, JAMES                        ADDRESS ON FILE
CRAWFORD, JANNIE                       ADDRESS ON FILE
CRAWFORD, JIMMY                        ADDRESS ON FILE
CRAWFORD, JOSEPH                       ADDRESS ON FILE
CRAWFORD, JUANEE                       ADDRESS ON FILE
CRAWFORD, KEVIN                        ADDRESS ON FILE
CRAWFORD, KIMIKO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 438 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 447 of 2156

Claim Name                             Address Information
CRAWFORD, KRIS                         ADDRESS ON FILE
CRAWFORD, LANDEN                       ADDRESS ON FILE
CRAWFORD, MARCUS L                     ADDRESS ON FILE
CRAWFORD, MARY                         ADDRESS ON FILE
CRAWFORD, MARY A                       ADDRESS ON FILE
CRAWFORD, MICHAEL                      ADDRESS ON FILE
CRAWFORD, MICHAEL F                    ADDRESS ON FILE
CRAWFORD, PETE                         ADDRESS ON FILE
CRAWFORD, RICKY                        ADDRESS ON FILE
CRAWFORD, ROGER                        ADDRESS ON FILE
CRAWFORD, ROOSEVELT                    ADDRESS ON FILE
CRAWFORD, ROOSEVELT                    ADDRESS ON FILE
CRAWFORD, SAMANTHA                     ADDRESS ON FILE
CRAWFORD, SHELDON                      ADDRESS ON FILE
CRAWFORD, TRACY                        ADDRESS ON FILE
CRAWFORD, TYRON                        ADDRESS ON FILE
CRAWFORD, TYRON                        ADDRESS ON FILE
CRAWFORD, WILLIAM                      ADDRESS ON FILE
CRAWFORD, YAKINI                       ADDRESS ON FILE
CRAWLEY, GALEN                         ADDRESS ON FILE
CRAWLEY, STEVE                         ADDRESS ON FILE
CRAYCRAFT, ASHLEY                      ADDRESS ON FILE
CRAYOLA LLC                            ATTN: MELVIN FORD LOGISTICS 3025 COMMERCE CENTER BLVD BETHLEHEM PA 18015
CRAYTON, DEREK                         ADDRESS ON FILE
CRAYTON, DEVONTAY                      ADDRESS ON FILE
CRAZY COUNTRY BOYS SERVICES            5280 E GIBSON AVE FLAGSTAFF AZ 86004
CRAZY COUNTRY BOYS SERVICES            9310 PRINCESS AVE FLAGSTAFF AZ 86004
CRAZY HORSE TRANSPORT LLC              OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
CRAZY MAIDEN                           11 ROCKSPUR ST WINNIPEG MB R2K 3M4 CANADA
CRC INDUSTRIES INC                     86 RAILROAD DR IVYLAND PA 18974
CRC INDUSTRIES INC                     ATTN: LORA GALLAGHER 86 RAILROAD DR IVYLAND PA 18974
CREAGER, BRANDON                       ADDRESS ON FILE
CREAM OF THE CROP TRANSPORTATION LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CREAMER, JUSTICE                       ADDRESS ON FILE
CREAMER, MARK                          ADDRESS ON FILE
CREAMER, MICHAEL                       ADDRESS ON FILE
CREAN, PATRICK J                       ADDRESS ON FILE
CREAR, TIRELL T                        ADDRESS ON FILE
CREAR, TIRELL T                        ADDRESS ON FILE
CREATIONS ENTERPRISE LLC               403 LEWIS ST SOMERSET NJ 08873
CREATIVE ASSEMBLY                      5936 STATE ROUTE 159 CHILLICOTHE OH 45601
CREATIVE CARPENTRY CONNECTION LLC      PO BOX 584 FISHKILL NY 12524
CREATIVE DISPLAYS C/O ECHO             ATTN: SHAKITA WEBB CO ECHO GLOBAL LOGISTICS INC CHICAGO IL 60654
CREATIVE DOOR SERVICES LTD             64 HOKA ST WINNIPEG MB R2C 3N2 CANADA
CREATIVE DOOR SERVICES LTD             14904 135 AVENUE EDMONTON AB T5V 1R9 CANADA
CREATIVE HOMESCAPES                    2619 COUNTY RD 42 WINDSOR ON N9A 6J3 CANADA
CREATIVE OFFICE INTERIORS              141 ELLIOTT ST. EAST HARTFORD CT 06114
CREATIVE PLANNING LLC                  LOCKTON RETIREMENT SERVICES PO BOX 952032 ST LOUIS MO 63195
CREATIVE PRINTING CO INC               ATTN: DAN DADY 9014 W 51 TER MERRIAM KS 66203



Epiq Corporate Restructuring, LLC                                                                  Page 439 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 448 of 2156

Claim Name                            Address Information
CREATIVE TILE                         7030 N HARRISON 101 FRESNO CA 93650
CREATIVE TRANSPORT SOLUTIONS LLC      OR BC FACTORING LLC, P.O. BOX 172091 MEMPHIS TN 38187
CREATIVE VISIONS LANDSCAPE & DESIGN   700 14TH AVE SE WATERTOWN SD 57201
INC.
CREDENTIAL SECS INC (5083)            DANIELLE MONTANARI/PROXY MGR 700 - 1111 W. GEORGIA ST VANCOUVER BC V6E 4T6
                                      CANADA
CREDIBLE LOGISTICS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CREDIT KING TRANSPORT LLC             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
CREDIT RISK MONITOR                   PO BOX 2219 HICKSVILLE NY 11802
CREDIT SUISSE AG                      AS COLLATERAL AGENT 11 MADISON AVE NEW YORK NY 10010
CREDOMAX TRANSPORT INC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CREE LIGHTING                         9201 WASHINGTON AVE RACINE WI 53406
CREE, EDWARD                          ADDRESS ON FILE
CREECH & CREECH LLC                   1835 MARKET ST SUITE 2626 PHILADELPHIA PA 19103
CREECH, BILLY                         ADDRESS ON FILE
CREECH, MARK                          ADDRESS ON FILE
CREECH, RAYMOND                       ADDRESS ON FILE
CREECH, RICHARD                       ADDRESS ON FILE
CREED JR, QUINTON                     ADDRESS ON FILE
CREED TRANSPORT INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
CREED, JAMES                          ADDRESS ON FILE
CREEDON, WILLIAM                      ADDRESS ON FILE
CREEKSIDE TRUCKING LLC                OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3383 DALLAS TX 75312
CREEL, KYLE                           ADDRESS ON FILE
CREIGHTON, HERNANDO                   ADDRESS ON FILE
CREIGHTON, WINSTON                    ADDRESS ON FILE
CRENSHAW, BRANDON                     ADDRESS ON FILE
CRENSHAW, CHAVELLE                    ADDRESS ON FILE
CRENSHAW, LESTER                      ADDRESS ON FILE
CRENSHAW, TAVIN                       ADDRESS ON FILE
CRENSHAW, ZACHARY                     ADDRESS ON FILE
CREPEAULT, KELLY                      ADDRESS ON FILE
CRESCENT ELECTRIC SUPPLY              2184 PINION RD STE C ELKO NV 89801
CRESCENT ELECTRIC SUPPLY COMPANY      PO BOX 500 EAST DUBUQUE IL 61025
CRESCENT EXPRESS TRUCKING, LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CRESCENT LOGISTICS                    OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
CRESCENT MOON TRUCKING                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CRESCENT PARTS AND EQUIPMENT          ATTN: ANTHONY ORTOLAN 4230 CRESCENT IND DR PONTOON BEACH IL 62040
CRESCENZI, JIM                        ADDRESS ON FILE
CRESPIN, ANTHONY                      ADDRESS ON FILE
CRESPIN, JOSEPH                       ADDRESS ON FILE
CRESPIN, ROBERT                       ADDRESS ON FILE
CRESPO TRUCKING LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CRESPO TRUCKING, INC.                 OR RIVIERA FINANCE OF CA, PO BOX 848062 LOS ANGELES CA 90084-8062
CRESPO-RIVERA, KRISS                  ADDRESS ON FILE
CRESS BROOK VENTURES LLC              W142 N9041 FOUNTAIN BOULEVARD MENOMONEE FALLS WI 53051
CRESS, DAVID                          ADDRESS ON FILE
CRESSLER, LEONARD                     ADDRESS ON FILE
CRESSWELL, DAVE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 440 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 449 of 2156

Claim Name                               Address Information
CRESSY DOOR COMPANY INC                  PO BOX 55549 SHORELINE WA 98155
CREST ASPHALT & SEALCOATING LLC          9200 MIDDLEBELT RD LIVONIA MI 48150
CREST INTL NOMINEES LTD (2012)           ATT NATHAN ASHWORTH/PROXY MGR 33 CANNON ST LONDON EC4M 5SB UNITED KINGDOM
CREST QUALITY SERVICE LLC                6688 JOLIET RD UNIT 192 INDIAN HEAD PARK IL 60525
CRESTA INC                               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CRESWICK, CHRISTOPHER                    ADDRESS ON FILE
CRETSINGER, LISA                         ADDRESS ON FILE
CREW, MARSHALL                           ADDRESS ON FILE
CREW, ROBERT                             ADDRESS ON FILE
CREWS, JAMES C                           ADDRESS ON FILE
CREWS, JEFFREY                           ADDRESS ON FILE
CREWS, JONATHAN                          ADDRESS ON FILE
CREWS, LINNLON                           ADDRESS ON FILE
CREWS, OLIVER                            ADDRESS ON FILE
CREWS, SUSAN                             ADDRESS ON FILE
CRG FREIGHT INC                          1500 OSPREY DR UNIT C 1512 OSPREY DR UNIT B HOOD RIVER OR 97031
CRG FREIGHT LLC                          1500 OSPREY DRIVE HOOD RIVER OR 97031
CRG TRUCKING OF DOBSON INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CRIBBS, ASHLEY                           ADDRESS ON FILE
CRIBBS, CHARLES E                        ADDRESS ON FILE
CRICHTON, STEVE                          ADDRESS ON FILE
CRICHTON, TRAVIS                         ADDRESS ON FILE
CRIDER, DANIEL                           ADDRESS ON FILE
CRIGGER, JOSEPH                          ADDRESS ON FILE
CRIM, CHRISTOPHER A                      ADDRESS ON FILE
CRIM, NICOLE                             ADDRESS ON FILE
CRIME PREVENTION SECURITY SYSTEMS, LLC   4701 SW 34TH STREET GAINESVILLE FL 32608
CRIME PREVENTION SECURITY SYSTEMS, LLC   MSC 607 P.O. BOX 830810 BIRMINGHAM AL 35283
CRIMMINS-MURPHY, ANTHONY                 ADDRESS ON FILE
CRIMSON VALLEY NURSERY &                 1541 N WESTMORELAND AVE ROCKFORD IL 61102
CRIMSON VALLEY NURSERY & LANDSCAPING     4313 W STATE ST ROCKFORD IL 61102
INC
CRIOMAN TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CRISCI, DANIEL                           ADDRESS ON FILE
CRISCO, DOYD                             ADDRESS ON FILE
CRISCRESS TRANSPORTATION SERVICES LLC    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CRISLER, REGINALD                        ADDRESS ON FILE
CRISP, DAVID                             ADDRESS ON FILE
CRISP, JAMES                             ADDRESS ON FILE
CRISS, MARK                              ADDRESS ON FILE
CRISSEY, WALTER                          ADDRESS ON FILE
CRIST, DANIEL                            ADDRESS ON FILE
CRIST, ROBERT                            ADDRESS ON FILE
CRISTAL Y FLAS MONTERO                   ADDRESS ON FILE
CRISTALES, RICARDO                       ADDRESS ON FILE
CRISTIAN M ALCAIDE                       ADDRESS ON FILE
CRISTINO, MATTHEW                        ADDRESS ON FILE
CRISTOFER ROMERO                         ADDRESS ON FILE
CRISWELL, DANIEL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 441 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 450 of 2156

Claim Name                               Address Information
CRITCHFIELD, SCOTT                       ADDRESS ON FILE
CRITELLI, RONALD                         ADDRESS ON FILE
CRITICAL INNOVATIONS                     4228 MARME AVE. LAWNDALE CA 90260
CRITICAL SUPPLY SOLUTIONS, INC.          4300 BISCAYNE BLVD, SUITE 203 MIAMI FL 33137
CRITICAL TECHNOLOGY SERVICES, LLC        2725 NORTHWOODS PKWY STE A2 PEACHTREE CORNERS GA 30071
CRITSER, KEVIN                           ADDRESS ON FILE
CRITTENDEN COUNTY DISTRICT COURT MARION 14 MILITARY RD MARION AR 72364
CRITTENDEN COUNTY DISTRICT COURT MARION PO BOX 717, 14 MILITARY ROAD MARION AR 72364
CRITTENDEN, LAMARR                       ADDRESS ON FILE
CRITTER CONTROL                          JEFF ARCHER SERVICES, 5508 N LUCERNE KANSAS CITY MO 64151
CRITTERS FLEET SERVICE LLC               39 PRECISION DR. HEDGESVILLE WV 25427
CRITTLE, DONNIE N                        ADDRESS ON FILE
CRJ LOGISTICS INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CRL LOGISTICS                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CRNICH, DALLAS                           ADDRESS ON FILE
CRNISANIN, SENAD                         ADDRESS ON FILE
CRO TRUCKING INC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CROCKER JR, DVORAK                       ADDRESS ON FILE
CROCKER, MARK                            ADDRESS ON FILE
CROCKETT HEATING AND AIR                 3156 N 124TH ST W WICHITA KS 67202
CROCKETT, KIM                            ADDRESS ON FILE
CROCKETT, LARRISSA                       ADDRESS ON FILE
CROCKETT, LARRISSA                       ADDRESS ON FILE
CROCKETT, SHAKEER                        ADDRESS ON FILE
CROCKETTS INTER TOWING & TRANSPORT INC   POBOX 11341 EUGENE OR 97440
CROCKETTS TOWING                         GUARDIAN FLEET SERVICES INC PO BOX 628703 ORLANDO FL 32862
CROCKETTS TOWING                         13601 US HWY 41 SPRING HILL FL 34610
CROCKRELL, JOSEPH L                      ADDRESS ON FILE
CROCKRELL, TYBERIA                       ADDRESS ON FILE
CROCS LIGHTER                            350 RANGER AVE STE C BREA CA 92821
CROFFITT, WAYNE                          ADDRESS ON FILE
CROFFORD, PAUL                           ADDRESS ON FILE
CROFT, KEVIN                             ADDRESS ON FILE
CROFT, RONALD                            ADDRESS ON FILE
CROFT, TRAVIS                            ADDRESS ON FILE
CROKER, WILLIAM                          ADDRESS ON FILE
CROLEY, DANIEL A                         ADDRESS ON FILE
CROLEY, JOHN                             ADDRESS ON FILE
CROLL, JEFFREY                           ADDRESS ON FILE
CROMBIE, JAMES                           ADDRESS ON FILE
CROMER, RICARDO                          ADDRESS ON FILE
CROMER, SCOTTY                           ADDRESS ON FILE
CROMEX INC                               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
CROMLEY TRUCK AND TRAILER REPAIR         1130 JEFFERSON ST. MILTON PA 17847
CROMLEY TRUCK AND TRAILER REPAIR         13 S, INDUSTRIAL PARK RD., BUILDING 5 MILTON PA 17847
CROMPCO LLC                              1815 GALLAGHER ROAD PLYMOUTH MEETING PA 19462
CROMWELL, DARRYK                         ADDRESS ON FILE
CROMWELL, DEDRICK                        ADDRESS ON FILE
CROMWELL, DERRICK                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 442 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 451 of 2156

Claim Name                              Address Information
CROMWELL, MICHAEL                       ADDRESS ON FILE
CROMWELL-POELLNITZ, WILLIAM             ADDRESS ON FILE
CRONAUER, ANDREW                        ADDRESS ON FILE
CRONBAUGH, SCOTT R                      ADDRESS ON FILE
CRONGEYER, TREY                         ADDRESS ON FILE
CRONIN, TIMOTHY                         ADDRESS ON FILE
CRONK, JOHN                             ADDRESS ON FILE
CRONKHITE, RAYMOND                      ADDRESS ON FILE
CRONKRIGHT, JEREMY                      ADDRESS ON FILE
CROOK, MARK                             ADDRESS ON FILE
CROOK, MATTHEW A                        ADDRESS ON FILE
CROOK, MATTHEW A                        ADDRESS ON FILE
CROOK, MICHAEL                          ADDRESS ON FILE
CROOK, MICHAEL A                        ADDRESS ON FILE
CROOKS, AKENO                           ADDRESS ON FILE
CROOKS, HEIDI                           ADDRESS ON FILE
CROOM, JOHN                             ADDRESS ON FILE
CROPPER ENTERPRISES INC                 7108 BELL RD SHAWNEE KS 66217
CROPPER, RICK                           ADDRESS ON FILE
CROSBY HEAVY DUTY WRECKER SERVICE INC   1500 VELP AVE GREEN BAY WI 54303
CROSBY TRUCKING SERVICE, INC.           PO BOX 28 MT SIDNEY VA 24467
CROSBY, GEOFFREY                        ADDRESS ON FILE
CROSBY, JERELL                          ADDRESS ON FILE
CROSBY, JON                             ADDRESS ON FILE
CROSBY, RONALD                          ADDRESS ON FILE
CROSDALE, ASHLEY                        ADDRESS ON FILE
CROSE, LIZABETH                         ADDRESS ON FILE
CROSIER KILGOUR & PARTNERS LTD          300 275 CARLTON STREET WINNIPEG MB R3C 5R6 CANADA
CROSIER, SHAWN                          ADDRESS ON FILE
CROSLEY JR, JACK                        ADDRESS ON FILE
CROSLEY, NICHOLAS                       ADDRESS ON FILE
CROSLIN, JOHN                           ADDRESS ON FILE
CROSS 3 DELIVERY SERVICES INC           OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
CROSS ANCHOR UTILITY DISTRICT           800 W ANDREW JOHNSON HWY, STE 1 GREENVILLE TN 37745
CROSS ANCHOR UTILITY DISTRICT           800 W ANDREW JOHNSON HWY GREENEVILLE TN 37745
CROSS CONTRACTING LLC                   PO BOX 30634 SAVANNAH GA 31410
CROSS COUNTRY BOAT TRANSPORT, LLC       23310 LILLEHEI AVENUE HASTINGS MN 55033-9358
CROSS COUNTRY COURIER                   PO BOX 4030 BISMARCK ND 58502
CROSS COUNTRY COURIER INC               PO BOX 88226 MILWAUKEE WI 53288
CROSS COUNTRY COURIER INC               1929 HANCOCK DRIVE BISMARCK ND 58502
CROSS COUNTRY EXPRESS INC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CROSS COUNTRY LOGISTICS LLC             2810 W STATE ROAD 28 FRANKFORT IN 46041
CROSS COUNTRY TRANSFER LLC              3604 WALKERS FERRY LANE JOHNS ISLAND SC 29455
CROSS EXPRESS COMPANY                   567 W ALGONQUIN ROAD MOUNT PROSPECT IL 60056
CROSS NET                               2765 PROGRESS ST. VISTA CA 92081
CROSS PETROLEUM                         PO BOX 492200 REDDING CA 96049
CROSS T CONSTRUCTION OF TEXAS LLC       4202 CR 401 DUBLIN TX 76446
CROSS TEAM LLC                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
CROSS TRANSPORTATION INC                OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306



Epiq Corporate Restructuring, LLC                                                                   Page 443 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 452 of 2156

Claim Name                             Address Information
CROSS, BRANDIE                         ADDRESS ON FILE
CROSS, BRIAN                           ADDRESS ON FILE
CROSS, CHRIS                           ADDRESS ON FILE
CROSS, DEVON                           ADDRESS ON FILE
CROSS, ERIC                            ADDRESS ON FILE
CROSS, FRANKLIN                        ADDRESS ON FILE
CROSS, JOSHUA                          ADDRESS ON FILE
CROSS, JOSHUA                          ADDRESS ON FILE
CROSS, JULIE                           ADDRESS ON FILE
CROSS, KATHLEEN                        ADDRESS ON FILE
CROSS, LARRY                           ADDRESS ON FILE
CROSS, MARK                            ADDRESS ON FILE
CROSS, MARTIN                          ADDRESS ON FILE
CROSS, PAMELA                          ADDRESS ON FILE
CROSS, PETER                           ADDRESS ON FILE
CROSS, RUFUS                           ADDRESS ON FILE
CROSS, SUZANNE                         ADDRESS ON FILE
CROSS, TIFFANY                         ADDRESS ON FILE
CROSS, VANCE                           ADDRESS ON FILE
CROSSAMERICA TRANSPORT LLC             TRANSJET CARGO, 325 S COLLEGE AVE INDIANAPOLIS IN 46202
CROSSCOM NATIONAL LLC                  900 DEERFIELD PKWY BUFFALO GROVE IL 60089-4510
CROSSCOM NATIONAL LLC                  1994 PAYSPHERE CIRCLE CHICAGO IL 60674
CROSSLAND LOGISTICS GROUP INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CROSSLAND, JEFF                        ADDRESS ON FILE
CROSSLAND, MARK W                      ADDRESS ON FILE
CROSSLEY, JEANETTE                     ADDRESS ON FILE
CROSSROADS CARRIERS, LLC               OR TAB BANK, PO BOX 150830 OGDEN UT 84415
CROSSROADS EQUIPMENT LEASE & FINANCE   9385 HAVEN AVE RANCHO CUCAMONGA CA 91730
LLC
CROSSROADS FLEET LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CROSSROADS FORD OF PRINGE GEORGE       4500 WHITEHILL BLVD PRINCE GEORGE VA 23875
CROSSROADS FREIGHT SYSTEMS LLC         OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
CROSSROADS TOWING LLC                  ATTN CLIFTON PARSLEY 128 W ESTES RD CAVE CITY KY 42127
CROSSROADS TOWING LLC                  128 W ESTES RD CAVE CITY KY 42127
CROSSROADS TRUCK REPAIR AND TOWING     887 COUNTY RD 480 MARQUETTE MI 49855
CROSSTEX FLEET SERVICES                1213 LAUREL PARK ROBINSON TX 76706
CROSSTOWN COURIER, INC.                PO BOX 23653 NEW YORK NY 10087-3649
CROSSVILLE TRUCKING, INC.              OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
CROSSWAY LOGISTICS INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CROSSWHITE TRUCKING LLC                1409 PEDRO SHOUN LANE MOUNTAIN CITY TN 37683
CROSSWHITE, JAMES                      ADDRESS ON FILE
CROSSWOODS FREIGHT LLC                 OR SMARTTRUCKER LLC PO BOX 30516, DEPT 506 LANSING MI 48909-8016
CROSWELL, ALEX S                       ADDRESS ON FILE
CROTTS, GARY C                         ADDRESS ON FILE
CROUCH, DUSTIN                         ADDRESS ON FILE
CROUCH, HORACE                         ADDRESS ON FILE
CROUCH, MARK                           ADDRESS ON FILE
CROUCH, STEPHANIE                      ADDRESS ON FILE
CROUCHER, BENJAMIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 444 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 453 of 2156

Claim Name                           Address Information
CROUCHER, DAVID                      ADDRESS ON FILE
CROUS CARRIER LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CROUSE, WILLIAM E                    ADDRESS ON FILE
CROUTCH, BERNARD                     ADDRESS ON FILE
CROW LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CROW, BRIAN                          ADDRESS ON FILE
CROW, ESTHER                         ADDRESS ON FILE
CROW, JOHN                           ADDRESS ON FILE
CROW, JR., THOMAS J                  ADDRESS ON FILE
CROW, JR., THOMAS J                  ADDRESS ON FILE
CROW, PAUL                           ADDRESS ON FILE
CROWD CONTROL WAREHOUSE              ATTN: BRETT ANDERSON TECH LOGISTICS 300 ELM ST UNIT 1 MILFORD NH 03055
CROWD CONTROL WAREHOUSE              C/O TECH LOGISTICS, 300 ELM ST UNIT 1 MILFORD NH 03055
CROWDER BACKFLOW SERVICES            PO BOX 772 VENTURA CA 93002
CROWDER, ALIYAH                      ADDRESS ON FILE
CROWDER, ANNE                        ADDRESS ON FILE
CROWDER, CALVIN                      ADDRESS ON FILE
CROWDER, DENERICA                    ADDRESS ON FILE
CROWDER, RAYMOND                     ADDRESS ON FILE
CROWE, DANIEL                        ADDRESS ON FILE
CROWE, DAVID                         ADDRESS ON FILE
CROWE, PETER                         ADDRESS ON FILE
CROWE, ULYSSES                       ADDRESS ON FILE
CROWELL, LISA                        ADDRESS ON FILE
CROWELL, MARTIN                      ADDRESS ON FILE
CROWELL, PATRICK                     ADDRESS ON FILE
CROWLEY                              9487 REGENCY SQUARE BLVD JACKSONVILLE FL 32225
CROWLEY CONSTRUCTION CORPORATION     1353 N. 68TH STREET WAUWATOSA WI 53213
CROWLEY CONSTRUCTION CORPORATION     CORPORATION, 1353 NORTH 68TH STREET WAUWATOSA WI 53213
CROWLEY MARITIME CORP                ATTN: MIKE SCINTO 9487 REGENCY SQUARE BLVD JACKSONVILLE FL 32225
CROWLEY, COLIN                       ADDRESS ON FILE
CROWLEY, DANIEL                      ADDRESS ON FILE
CROWLEY, DONALD                      ADDRESS ON FILE
CROWLEY, JOHN                        ADDRESS ON FILE
CROWLEY, JOSEPH                      ADDRESS ON FILE
CROWLEY, JOSEPH                      ADDRESS ON FILE
CROWLEY, KEVIN                       ADDRESS ON FILE
CROWLEY, LARRY                       ADDRESS ON FILE
CROWLEY, MICHAEL                     ADDRESS ON FILE
CROWLEY, TIM                         ADDRESS ON FILE
CROWN ASSOCIATES                     4401 EASTERN AVE BALTIMORE MD 21224
CROWN ASSOCIATES                     ATTN: RACHEL JONES 4401 EASTERN AVE BALTIMORE MD 21224
CROWN BATTERY MFG. CO.               P.O. BOX 639612 CINCINNATI OH 45263
CROWN CARGO INC                      OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
CROWN CARRIER LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CROWN CORK AND SEAL                  174 CHESTNUT ST. MANKATO MN 56001
CROWN ELECTRIC INC                   1041 N FRUITRIDGE AVE TERRE HAUTE IN 47804
CROWN ENTERPRISES, INC.              12225 STEPHENS WARREN MI 48089



Epiq Corporate Restructuring, LLC                                                                Page 445 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 454 of 2156

Claim Name                           Address Information
CROWN ENTERPRISES, INC.              ATTN: EDWARD GIRODAT 12225 STEPHENS ROAD WARREN MI 48089
CROWN EQUIPMENT CORPORATION          PO BOX 641173 CINCINNATI OH 45264
CROWN EXPRESS LLC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
CROWN LIFT TRUCKS                    C/O CROWN EQUIPMENT CORPORATION PO BOX 641173 CINCINNATI OH 45264
CROWN LIFT TRUCKS                    PO BOX 641173 CINCINNATI OH 45264
CROWN LIFT TRUCKS                    PO BOX 641173 CINCINNATI OH 45264-1173
CROWN PACKAGING CORP                 PO BOX 17806 M SAINT LOUIS MO 63195
CROWN PLUMBING                       859 SAVAKER STREET SAN JOSE CA 95126
CROWN POINT LOGISTICS LLC            OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
CROWN SERVICES INC                   D/B/A: CROWN STAFFING 7711 EWING BLVD FLORENCE KY 41042
CROWN SERVICES INC                   D/B/A: CROWN STAFFING P.O. BOX 734013 CHICAGO IL 60673
CROWN STAFFING                       7711 EWING BLVD FLORENCE KY 41042
CROWN STAFFING                       5653 UNION CENTRE DR WEST CHESTER OH 45069
CROWN STAFFING                       P.O. BOX 734013 CHICAGO IL 60673
CROWN STAPLE & SUPPLY                8 INDUSTRIAL PKWY. RINGWOOD NJ 07456
CROWN TOWING SERVICE INC             1615 MCDONALD ST BRONX NY 10461
CROWN TRUCKING                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
CROWN TRUCKING LLC                   OR RELIABLE FACTORS INC DEPT 470, PO BOX 4869 HOUSTON TX 77210
CROWN TRUCKING LLC (MC1288402)       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CROWN TRUCKING LLC (MC860397)        1435 KEARNEY ST IDAHO FALLS ID 83402
CROWN XPRESS TRANSPORT INC           PO BOX 4438 CHULA VISTA CA 91909
CROWN, KEITH                         ADDRESS ON FILE
CROWN, TYLER                         ADDRESS ON FILE
CROWND ROYALTY TRANSPORTATION LLC    317 A CHESTNUT DRIVE HIGH POINT NC 27262
CROWNED DYNASTY LOGISTICS LLC        OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
CROWNHEAD TRUCKING INC               OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA
CROWNLINK TRANSPORT INC              2170 WESTPOINT HEIGHTS LONDON ON N6P0E9 CANADA
CROWNOVER, ALAN                      ADDRESS ON FILE
CROWNS TRUCKING ENTERPRISE LLC       OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
CROWS TRUCK CENTER                   5278 HWY 78 MEMPHIS TN 38118
CROWS TRUCK CENTER                   5500 DAVIDSON RD MEMPHIS TN 38118
CROY CONTRACTING, INC.               PO BOX 19354, 211 INDUSTRIAL DRIVE HOLLINS VA 24019
CRP DIVERSIFIED, LLC                 1072 SHADOWMOSS CIR LAKE MARY FL 32746
CRS INTERMODAL LLC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
CRSEMLER, INC.                       11664 MAPLEVILLE RD SMITHSBURG MD 21783
CRST DEDICATED SERVICES INC - CRFR   PO BOX 71573 CHICAGO IL 60694
CRST DEDICATED SERVICES, INC.        PO BOX 71573 CHICAGO IL 60694
CRST DEDICATED SERVICES, INC.        P.O. BOX 747 CHINO CA 91708
CRST TRANSPORT SOLUT                 C/O CARGO CLAIMS, 201 1STST SE STE 500 CEDAR RAPIDS IA 52401
CRT EXPRESS INC                      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
CRTA EXPRESS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
CRUBAUGH, JEROME                     ADDRESS ON FILE
CRUCE JR, JAMES                      ADDRESS ON FILE
CRUDELE COMMUNICATIONS               68 MELROSE AVENUE NEW WINDSOR NY 12553
CRUDUP, JOSEPH                       ADDRESS ON FILE
CRUIKSHANK, ROBERT                   ADDRESS ON FILE
CRUM ELECTRIC SUPPLY CO INC          726 SCARLET DR GRAND JUNCTION CO 81505
CRUM TRUCKING, INC.                  1694 LAMMERS PIKE BATESVILLE IN 47006



Epiq Corporate Restructuring, LLC                                                                Page 446 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 455 of 2156

Claim Name                              Address Information
CRUM, CHAD                              ADDRESS ON FILE
CRUM, CHARLES                           ADDRESS ON FILE
CRUM, DENNIS                            ADDRESS ON FILE
CRUM, MATTHEW                           ADDRESS ON FILE
CRUMBLE, JOHNELL                        ADDRESS ON FILE
CRUMBLEY, JERRY                         ADDRESS ON FILE
CRUME, JUSTIN                           ADDRESS ON FILE
CRUMEL, TERRY                           ADDRESS ON FILE
CRUMP, ANDRE                            ADDRESS ON FILE
CRUMP, GABRIEL                          ADDRESS ON FILE
CRUMP, JAMES                            ADDRESS ON FILE
CRUMP, PAUL                             ADDRESS ON FILE
CRUMP, TERRENCE                         ADDRESS ON FILE
CRUMPLER, THOMAS                        ADDRESS ON FILE
CRUMPTON, CHAD                          ADDRESS ON FILE
CRUMPTON, MITCHELL                      ADDRESS ON FILE
CRUNKILTON, DAVID L                     ADDRESS ON FILE
CRUPI, THEODORE                         ADDRESS ON FILE
CRUSADER TRUCKING LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CRUSE, DWAYNE                           ADDRESS ON FILE
CRUSE, JESSICA                          ADDRESS ON FILE
CRUSE, MEAGAN                           ADDRESS ON FILE
CRUTCHER, JOHN                          ADDRESS ON FILE
CRUTCHER, WARREN                        ADDRESS ON FILE
CRUTCHFIELD, RUDOLPH                    ADDRESS ON FILE
CRUTCHFIELD, TERRELL                    ADDRESS ON FILE
CRUZ & FIGUEROA LOGISTICS LLC           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
CRUZ 4XL LLC                            OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
CRUZ ALDECOA PSC                        METRO OFFICE PARK, ST 1, LOT 6, STE 203 GUAYNABO PR 00968
CRUZ CONTAINERS, INC.                   P.O. BOX 739 BLOOMINGTON CA 92316
CRUZ FREIGHT LINE LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
CRUZ HAULING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CRUZ INDUSTRIAL TRUCK, INC.             1300 E. RAMSEY ST. BANNING CA 92220
CRUZ REBELLO LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CRUZ ROBLES, ORLANDO                    ADDRESS ON FILE
CRUZ TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CRUZ TRUCK PARTS SERVICE & TIRE, INC.   5870 MONTEREY RD GILROY CA 95020
CRUZ, ALEXIS                            ADDRESS ON FILE
CRUZ, ALFRED                            ADDRESS ON FILE
CRUZ, ANGEL                             ADDRESS ON FILE
CRUZ, CAMILLE                           ADDRESS ON FILE
CRUZ, CARLOS                            ADDRESS ON FILE
CRUZ, CARLOS                            ADDRESS ON FILE
CRUZ, CHRISTOPHER                       ADDRESS ON FILE
CRUZ, CHRISTOPHER                       ADDRESS ON FILE
CRUZ, DAMION                            ADDRESS ON FILE
CRUZ, DELFINO                           ADDRESS ON FILE
CRUZ, ELMER                             ADDRESS ON FILE
CRUZ, FELICIA                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 447 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 456 of 2156

Claim Name                               Address Information
CRUZ, FRANCISCO                          ADDRESS ON FILE
CRUZ, FRANCISCO                          ADDRESS ON FILE
CRUZ, HEATHER                            ADDRESS ON FILE
CRUZ, HECTOR                             ADDRESS ON FILE
CRUZ, ISAAC                              ADDRESS ON FILE
CRUZ, JACOB                              ADDRESS ON FILE
CRUZ, JAVIER                             ADDRESS ON FILE
CRUZ, JOHN                               ADDRESS ON FILE
CRUZ, JONATHAN                           ADDRESS ON FILE
CRUZ, JOSE                               ADDRESS ON FILE
CRUZ, JOSE                               ADDRESS ON FILE
CRUZ, JOSE                               ADDRESS ON FILE
CRUZ, JOSE                               ADDRESS ON FILE
CRUZ, JOSEBER                            ADDRESS ON FILE
CRUZ, KEILA                              ADDRESS ON FILE
CRUZ, MANUEL                             ADDRESS ON FILE
CRUZ, MICHAEL                            ADDRESS ON FILE
CRUZ, MIGUEL                             ADDRESS ON FILE
CRUZ, MILOS M                            ADDRESS ON FILE
CRUZ, MOSES                              ADDRESS ON FILE
CRUZ, MOSES                              ADDRESS ON FILE
CRUZ, OMAR                               ADDRESS ON FILE
CRUZ, ONIX                               ADDRESS ON FILE
CRUZ, RAFAEL                             ADDRESS ON FILE
CRUZ, RAUL                               ADDRESS ON FILE
CRUZ, RAYMOND                            ADDRESS ON FILE
CRUZ, ROBERT                             ADDRESS ON FILE
CRUZ, RUBEN                              ADDRESS ON FILE
CRUZ, SERGIO                             ADDRESS ON FILE
CRUZ, STEVEN                             ADDRESS ON FILE
CRUZ, SUSAN                              ADDRESS ON FILE
CRUZ, TOM                                ADDRESS ON FILE
CRUZ, TOMAS                              ADDRESS ON FILE
CRUZ-VARO, FRANCISCO                     ADDRESS ON FILE
CRUZE CARRIER INC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CRUZIN MOTORLINES LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CRUZING HERE TO THERE SERVICES LLC       PO BOX 683214 HOUSTON TX 77268
CRW HOLDINGS LIMITED LIABILITY COMPANY   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
CRW INC.                                 3716 S. ELYRIA ROAD SHREVE OH 44676
CRW TRUCKING, LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CRYPTO AERO INC                          ATTN: ANNA 703 N K ST LAKE WORTH FL 33460
CRYSTAL FLASH INC                        PO BOX 1804 GRAND RAPIDS MI 49501
CRYSTAL FLASH INC                        1754 ALPINE AVE NW GRAND RAPIDS MI 49504
CRYSTAL REFRIGERATED EXPRESS             4009 GREENFIELD DR UNION CITY TN 38261
CRYSTAL ROCK LLC                         PO BOX 660579 DALLAS TX 75266
CRYSTAL RUN HEALTHCARE L.L.P.            155 CRYSTAL RUN RD MIDDLETOWN NY 10941
CRYSTAL SPRINGS                          PO BOX 403628 ATLANTA GA 30384
CRYSTAL SPRINGS                          PO BOX 660579 DALLAS TX 75266
CRYSTAL SPRINGS BOTTLED WTR CO           PO BOX 3786 EUREKA CA 95502



Epiq Corporate Restructuring, LLC                                                                    Page 448 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 457 of 2156

Claim Name                           Address Information
CRYSTAL TRANS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CRYSTAL TRANS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
CRYSTAL TRUCKING INC                 30 N GOULD ST SHERIDAN WY 82801-6362
CRYSTAL VALLEY                       D/B/A: CRYSTAL VALLEY COOPERATIVE PO BOX 210 LAKE CRYSTAL MN 56055
CRYSTAL VALLEY COOPERATIVE           1911 EXCEL DR MANKATO MN 56001
CRYSTAL VIEW INC                     195 GREEN HILL RD NEWVILLE PA 17241
CS AND SONS TRUCKING                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CS RECRUITING, LLC                   PO BOX 555 HIGHLAND PARK IL 60035
CS TRANSPORT INC (NAPERVILLE IL)     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CS TRANSPORTATION LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
CS TREE SERVICES INC                 1612 BURGESS HILL CT APEX NC 27539
CS-H TRANSPORTATION LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CSA CARRIERS LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CSA DELIVERY TRANSPORT INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CSA TRANSPORTATION                   355 HORNER AVENUE TORONTO ON M8W 1Z7 CANADA
CSAD INC                             4028 GREMLEY TR SCHILLER PARK IL 60176
CSANADY, DANIEL                      ADDRESS ON FILE
CSC LEGACY LLC                       DBA CENTROPLEX SERVICE CO 5002 S LOOP 340 ROBINSON TX 76706
CSC TRANSPORTATION LLC               5975 MOUNT PLEASANT ROAD QUINCY FL 32352-6288
CSEHEK, CONNIE                       ADDRESS ON FILE
CSG CONSOLIDATED SERVICE GROUP INC   3416 SHADER RD STE 100 ORLANDO FL 32808
CSG LOGISTICS INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
CSG SYSTEMS INC                      P.O. BOX 310461 DES MOINES IA 50331
CSG SYSTEMS INC                      P.O. BOX 850461 MINNEAPOLIS MN 55485
CSG SYSTEMS INC                      18020 BURT STREET OMAHA NE 68022
CSG TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CSG TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CSI GROUP INTERNATIONAL INC          P. O. BOX 311 WEST BERLIN NJ 08091
CSI TRANSPORT INC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
CSL                                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
CSM TRANSPORT LLC                    OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101-1394
CST                                  OR CENTRAL STATES TRUCKING CO 823 COMMERCE DR OAK BROOK IL 60523
CST TRANSPORT                        OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
CST TRUCKING LLC                     264 LAVENDER LANE PATTERSON CA 95363
CST TRUCKING LTD                     18013 96 AVE SURREY BC V4N 4A8 CANADA
CSTK                                 PO BOX 872287 KANSAS CITY MO 64187
CSTK                                 PO BOX 872287 KANSAS CITY MO 64187-2287
CSX TRANSPORTATION INC               CSX TRANSPORTATION INC, PO BOX 532601 ATLANTA GA 30353-2601
CSXT N/A 014315                      PO BOX 640839 PITTSBURGH PA 15264
CT BROOKE LOGISTICS LLC              100 MARKETING WAY SUFFIELD CT 06078
CT CORPORATION                       PO BOX 4349 CAROL STREAM IL 60197
CT DMV                               60 STATE ST WETHERSFIELD CT 06109
CT DOT                               2 SUMMIT PL BRANDFORD 06405-4100
CT LEASING, LLC                      P.O.BOX 84 BOISE ID 83701
CT LOGISTICS0000755537)              ATTN: JO-ANN HANEY, PO BOX 450 NASHUA NH 03061
CT MOSLEY TRUCKING LLC               235 PICKWICKET DR CONWAY AR 72034
CT TRUCK AND TRAILER SHOP LLC        3883 NORTH 36TH AVENUE PHOENIX AZ 85019
CT TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CTA                                  OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                                Page 449 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 458 of 2156

Claim Name                           Address Information
CTA                                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
CTC                                  GRAYBAR ELECTRIC, PO BOX 16799 TAMPA FL 33687
CTC GROUNDLINK LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CTC PRESSURE PRODUCT                 2820 W 21ST ST ERIE PA 16506
CTC TRANSIT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CTC TRUCKING                         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
CTE LOGISTICS                        ATTN: ELIZA STANTON PO BOX 1930 SUMNER WA 98390
CTE LOGISTICS                        PO BOX 1930 SUMNER WA 98390
CTH TRANSPORT LLC                    OR COMMERICAL FUNDING INC, PO BOX 207527 DALLAS TX 75320-7527
CTH4 TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CTI                                  P O BOX-29 MANTECA CA 95337
CTIAI SECURITY                       2294 32E AVENUE LACHINE QC H8T 3H4 CANADA
CTK TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CTL LOGISTICS INCORPORATED           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CTL PEST SOLUTIONS                   2980 WILDER LOOP NE RIO RANCHO NM 87144
CTMA TRUCKING LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
CTR AUTO / INDUSTRIAL SUPPLY         986 WALL ST WINNIPEG MB R3G 2V3 CANADA
CTR CLEANUP & TOTAL RESTORATION      158 E 52ND ST BOISE ID 83714
CTS                                  ATTN: WENDY TELLIN 1915 VAUGHN ROAD KENNESAW GA 30144
CTS                                  OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
CTS (AMITY AR)                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CTS (MC1064964)                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CTS CEMENT                           12442 KNOTT ST GARDEN GROVE CA 92841
CTS EXPRESS INC                      251 WINDSOR DR BARTLETT IL 60103
CTS SPECIAL SERVICES                 CTS NVOCC & FRT FORWARDERS PO BOX 441326 KENNESAW GA 30160
CTS TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
CTSI                                 1 SHOUTH PRESCOTT ST MEMPHIS TN 38111
CTSI                                 1 SOUTH PRESCOTT ST MEMPHIS TN 38111
CTSI GLOBAL                          ONE SOUTH PRESCOTT ST MEMPHIS TN 38111
CTUC01 PC, DBA DOCTORS EXPRESS DAN   D/B/A: CTUC01 PC DBA AFC URGENT CARE P.O. BOX 10417 HOLYOKE MA 01041
CTW EXPRESS LLC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CTX BUSINESS SOLUTIONS, INC.         PO BOX 936793 ATLANTA GA 31193
CTX BUSINESS SOLUTIONS, INC.         CTX- XEROX, 16640 SW 72ND AVE PORTLAND OR 97224
CUAREZMA, CHRISTIAN                  ADDRESS ON FILE
CUARTAS, NELSON                      ADDRESS ON FILE
CUAUTLE, JORGE                       ADDRESS ON FILE
CUBA TRUCKING INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
CUBA, GUILLERMO                      ADDRESS ON FILE
CUBA, GUILLERMO                      ADDRESS ON FILE
CUBA-PDR LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CUBAN EXPRESS LLC                    OR CHUGH CAPITAL LLC, PO BOX 4437 WARREN NJ 07059
CUBEDASH CLAIMS                      PO BOX 102711 PASADENA CA 91189
CUBEL, MICHAEL                       ADDRESS ON FILE
CUBESMART SELF STORAGE               4008 N. DUPONT HWY. NEW CASTLE DE 19720
CUCCARO, MICHAEL                     ADDRESS ON FILE
CUCCARO, MICHAEL P                   ADDRESS ON FILE
CUCHIE, THOMAS                       ADDRESS ON FILE
CUCI, JOHN                           ADDRESS ON FILE
CUCINIELLO, BRETT                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 450 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                            Page 459 of 2156

Claim Name                         Address Information
CUCOS TRUCKING                     382 N. LEMON AVE 137 WALNUT CA 91789
CUDA, MARSHA                       ADDRESS ON FILE
CUDA, TINA                         ADDRESS ON FILE
CUDAS LLC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
CUDD, JAMES                        ADDRESS ON FILE
CUDD, MATTHEW                      ADDRESS ON FILE
CUDD, TIMOTHY                      ADDRESS ON FILE
CUDE, JOSEPH                       ADDRESS ON FILE
CUE, DYLAN                         ADDRESS ON FILE
CUELLAR, ANTANETTE                 ADDRESS ON FILE
CUELLAR, MIGUEL                    ADDRESS ON FILE
CUEN, MARIO                        ADDRESS ON FILE
CUESTA, JUVEY                      ADDRESS ON FILE
CUEVA, ERICA                       ADDRESS ON FILE
CUEVA, JOSE                        ADDRESS ON FILE
CUEVAS TRANSPORT GROUP             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CUEVAS, JOSE                       ADDRESS ON FILE
CUEVAS, MICHAEL                    ADDRESS ON FILE
CUEVAS, PATRICK                    ADDRESS ON FILE
CUEZZE, JOANNE                     ADDRESS ON FILE
CUFFEE, JAYQWAN                    ADDRESS ON FILE
CUJI, MARCO V                      ADDRESS ON FILE
CUJI, MARCO V                      ADDRESS ON FILE
CULBERTSON, AARON                  ADDRESS ON FILE
CULBRETH, PAUL                     ADDRESS ON FILE
CULHANE, THOMAS J                  ADDRESS ON FILE
CULINRAY DEPOT                     ATTN: ECHO GLOBAL 14 EXECUTIVE AVE EDISON NJ 08817
CULLEN WESTERN STAR TRUCKS LTD     9300 192ND STREET SURREY BC V4N 3R8 CANADA
CULLEN, ADAM                       ADDRESS ON FILE
CULLEN, THOMAS                     ADDRESS ON FILE
CULLEN, TRACY                      ADDRESS ON FILE
CULLER, ANSON                      ADDRESS ON FILE
CULLER, ANSON                      ADDRESS ON FILE
CULLETT, JOHN                      ADDRESS ON FILE
CULLIGAN                           CULLIGAN WATER 14215 YELLOW HEAD TRAIL, NW EDMONTON AB T5L 3C4 CANADA
CULLIGAN                           PO BOX 90 ENDICOTT NY 13761
CULLIGAN                           P.O. BOX 62208 FORT MYERS FL 33906
CULLIGAN                           MOLLMANS WATER CONDITIONING PO BOX 95247 OKLAHOMA CITY OK 73143
CULLIGAN                           12702 NE MARX ST PORTLAND OR 97230
CULLIGAN FORT MYERS                PO BOX 62208 FORT MYERS FL 33906
CULLIGAN KENNEWICK                 1001 W COLUMBIA DR KENNEWICK WA 99336
CULLIGAN OF BELLEFONTE             CULLIGAN OF PITTSBURGH DEPT 8289, PO BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN OF BELLEFONTE             DEPARTMENT OF 8284, P.O. BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN OF HOUSTON                3201 PREMIER DR STE 300 IRVING TX 75063
CULLIGAN OF HOUSTON                5450 GUHN RD HOUSTON TX 77040
CULLIGAN OF JACKSON                1030 N STATE ST FAIRMONT MN 56031-3737
CULLIGAN OF JOPLIN                 PO BOX 2932 WICHITA KS 67201
CULLIGAN OF JOPLIN                 P.O. BOX 2932 WICHITA KS 67201-2932
CULLIGAN OF JOPLIN                 11615 CENTENNIAL RD LA VISTA NE 68128



Epiq Corporate Restructuring, LLC                                                              Page 451 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 460 of 2156

Claim Name                              Address Information
CULLIGAN OF JOPLIN                      DBA CULLIGAN OF OMAHA, 11615 CENTENNIAL RD LA VISTA NE 68128
CULLIGAN OF KEARNEY                     658 E NORTH ST SALINA KS 67401
CULLIGAN OF KEARNEY                     211 W 19TH ST KEARNEY NE 68845
CULLIGAN OF LIMA                        3900 WILMINGTON PIKE KETTERING OH 45429
CULLIGAN OF NEW HAMPSHIRE               8030 SOUTH WILLOW STREET, UNIT 5 MANCHESTER NH 03103
CULLIGAN OF ONTARIO                     PO BOX 2903 WICHITA KS 67201
CULLIGAN OF OWATONNA                    110 W FREMONT ST OWATONNA MN 55060
CULLIGAN OF PITTSBURGH                  D/B/A: CULLIGAN OF BELLEFONTE DEPARTMENT OF 8284, P.O. BOX 77043 MINNEAPOLIS
                                        MN 55480
CULLIGAN OF SALINA                      PO BOX 2406 KEARNEY NE 68848
CULLIGAN OF TUCSON                      DEPT.8973 PO BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN OF WEST VIRGINIA               PO BOX 5130 VIENNA WV 26105
CULLIGAN OF WEST VIRGINIA               P.O. BOX 160 VINCENT OH 45784
CULLIGAN OF WICHITA                     CULLIGAN OF JOPLIN, 423 E 4TH, STE A JOPLIN MO 64801
CULLIGAN OF WICHITA                     OF JOPLIN, PO BOX 2932 WICHITA KS 67201
CULLIGAN OF WICHITA                     OF WICHITA, PO BOX 2932 WICHITA KS 67201
CULLIGAN OF WICHITA                     PO BOX 2903 WICHITA KS 67201
CULLIGAN OF WICHITA                     CULLIGAN OF WICHITA 10821 E. 26TH ST NORTH WICHITA KS 67226
CULLIGAN STEWART WATER COND SK LTD      1719 FRANCIS ST REGINA SK S4N 7N2 CANADA
CULLIGAN TERRE HAUTE                    PO BOX 9382 TERRE HAUTE IN 47808
CULLIGAN WATER                          1110 58TH AVE., SE CALGARY AB T2H 2C9 CANADA
CULLIGAN WATER                          14215 YELLOW HEAD TRAIL, NW EDMONTON AB T5L 3C4 CANADA
CULLIGAN WATER                          6304 50TH ST., NW EDMONTON AB T6B 2N7 CANADA
CULLIGAN WATER                          DEPT 8284 PO BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN WATER                          DEPT. 8571, PO BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN WATER                          1006 S. MONTANA BUTTE MT 59701
CULLIGAN WATER                          CULLIGAN OF POCATELLO, 608 N 5TH AVE POCATELLO ID 83201
CULLIGAN WATER CHICAGO                  DEPARTMENT 8563, PO BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN WATER CONDITIONING             DEPARTMENT 8532, P.O. BOX 77043 MINNEAPOLIS MN 55480
CULLIGAN WATER CONDITIONING             2020 ERNEST AVE MISSOULA MT 59801
CULLIGAN WATER CONDITIONING             1001 W COLUMBIA DR KENNEWICK WA 99336
CULLIGAN WATER CONDITIONING OF          D/B/A: LADWIGS CULLIGAN JACKSON, 2510 LANSING AVE JACKSON MI 49202
CULLIGAN WATER CONDITIONING OF FAIRMONT D/B/A: CULLIGAN OF JACKSON 1030 N STATE ST FAIRMONT MN 56031-3737
CULLIGAN WATER CONDITIONING OF          OF LEXINGTON SC, 609 OAK DRIVE LEXINGTON SC 29073-7652
LEXINGTON
CULLIGAN WATER CONDITIONING POCATELLO   608 N 5TH AVE POCATELLO ID 83201
CULLIGAN WATER OF ERIE                  1502 INDUSTRIAL DR ERIE PA 16505
CULLIGAN WATER SERVICE                  318 N CHICAGO STREET LINCOLN IL 62656
CULLIGAN WATER SYSTEMS                  490 N. CLARK BLVD. CLARKSVILLE IN 47129
CULLIGAN WTR OF RIO GRANDE VLY          PO BOX 1029 SAN BENITO TX 78586
CULLIGAN YAKIMA, WA                     3728 E LONGFELLOW AVE STE 1 SPOKANE WA 99217
CULLIMORE, CHARLES                      ADDRESS ON FILE
CULLINAN, JOHN                          ADDRESS ON FILE
CULLINAN, STEPHEN                       ADDRESS ON FILE
CULLINS, BRIAN                          ADDRESS ON FILE
CULLIPHER, MICHAEL                      ADDRESS ON FILE
CULLISON, HANNAH                        ADDRESS ON FILE
CULLUM, PHILIP                          ADDRESS ON FILE
CULNAN, THOMAS                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 452 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 461 of 2156

Claim Name                              Address Information
CULP, CHRISTOPHER                       ADDRESS ON FILE
CULP, STEVE                             ADDRESS ON FILE
CULPEPPER, MICHAEL                      ADDRESS ON FILE
CULPEPPER, MICHAEL D                    ADDRESS ON FILE
CULPEPPER, TERESA                       ADDRESS ON FILE
CULT POWER INC                          OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
CULVER, DANNY                           ADDRESS ON FILE
CUMBERLAND                              CUMBERLAND IDEALEASE, 1901 LEBANON PIKE NASHVILLE TN 37210
CUMBERLAND COUNTY TAX                   PO BOX 1070 CHARLOTTE NC 28201
CUMBERLAND COUNTY TAX                   PO BOX 449 FAYETTEVILLE NC 28302
CUMBERLAND FIRE DISTRICT                P. O. BOX 10 MANVILLE RI 02838
CUMBERLAND FIRE DISTRICT                3502 MENDON ROAD CUMBERLAND RI 02864
CUMBERLAND OIL COMPANY                  7260 CENTENNIAL BLVD. NASHVILLE TN 37209
CUMBERLAND RI WATER                     98 NATE WHIPPLE HWY CUMBERLAND RI 02864
CUMBERLAND TOWN TAX COLLECTOR           PO BOX 1595 PROVIDENCE RI 02901
CUMBERLAND TRUCK EQUIPMENT CO.          25 RDWAY DR CARLISLE PA 17015
CUMBERLAND VALLEY HEATING & A/C, INC.   11005 BOWER AVE. HAGERSTOWN MD 21740
CUMBERLAND VALLEY SD - HAMPDEN          21 WATERFORD DRIVE, STE 201 MECHANICSBURG PA 17050
CUMBERLAND, CRAIG                       ADDRESS ON FILE
CUMBERLEDGE, JAMES                      ADDRESS ON FILE
CUMMINGS & BRICKER INC                  90 STOVER DR CARLISLE PA 17015
CUMMINGS ELECTRIC                       80 ETHAN ALLEN DRIVE SOUTH BURLINGTON VT 05403
CUMMINGS, ANDREW                        ADDRESS ON FILE
CUMMINGS, BRYAN                         ADDRESS ON FILE
CUMMINGS, DARREN                        ADDRESS ON FILE
CUMMINGS, DENNIS                        ADDRESS ON FILE
CUMMINGS, DWAYNE                        ADDRESS ON FILE
CUMMINGS, EMILY                         ADDRESS ON FILE
CUMMINGS, JUSTIN                        ADDRESS ON FILE
CUMMINGS, LARRY                         ADDRESS ON FILE
CUMMINGS, MARK                          ADDRESS ON FILE
CUMMINGS, PHILIP                        ADDRESS ON FILE
CUMMINGS, ROBERT                        ADDRESS ON FILE
CUMMINGS, TIMOTHY S                     ADDRESS ON FILE
CUMMINS BRIDGEWAY, LLC                  DEPT 774494, 4494 SOLUTIONS CENTER CHICAGO IL 60677-4004
CUMMINS CENTRAL POWER, LLC              PO BOX 310397 DES MOINES IA 50331
CUMMINS CENTRAL POWER, LLC              PO BOX 310397 DES MOINES IA 50331-0397
CUMMINS CSSNA                           ATTN: KAREN MCCAULEY UBER/TRANSPLACE CARGO CLAIMS PO BOX 518 LOWELL AR 72745
CUMMINS CSSNA                           ATTN: KAREN MCCAULLEY UBER/TRANSPLACE CARGO CLAIMS PO BOX 518 LOWELL AR 72745
CUMMINS EST DU CANADA SEC               T10423C/U CP 4687 SUCC A TORONTO ON M5W 6B5 CANADA
CUMMINS FILTRATION                      UBER FREIGHT PO BOX 518 LOWELL AR 72745
CUMMINS INC CUMMINS INC                 PO BOX 772639 DETROIT MI 48277-2639
CUMMINS MID-SOUTH LLC                   PO BOX 842316 DALLAS TX 75284
CUMMINS MID-SOUTH LLC                   BANK OF AMERICA, PO BOX 842316 DALLAS TX 75284-2316
CUMMINS NORTHWEST                       MIHLFELD & ASSOCIATES, PO BOX 3928 SPRINGFIELD MO 65808
CUMMINS NORTHWEST                       LOCKBOX 138324, POB 398324 SAN FRANCISCO CA 94139
CUMMINS PACIFIC                         ATTN: KAREN MCCAULLEY TRANSPLACE CARGO CLAIMS PO BOX 518 LOWELL AR 72745
CUMMINS PACIFIC LLC                     PO BOX 848731 LOS ANGELES CA 90084
CUMMINS ROCKY MOUNTAIN, LLC             D/B/A: CUMMINS SALES AND SERVICE PO BOX 912138 DENVER CO 80291



Epiq Corporate Restructuring, LLC                                                                    Page 453 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 462 of 2156

Claim Name                           Address Information
CUMMINS ROCKY MOUNTAIN, LLC          PO BOX 912138 DENVER CO 80291
CUMMINS SALES & SERVICE              MIHLFELD & ASSOCIATES, PO BOX 3928 SPRINGFIELD MO 65808
CUMMINS SALES & SERVICE PA           UBER FREIGHT CARGO CLAIMS PO BOX 518 LOWELL AR 72745
CUMMINS SALES & SERVICE WISCONSIN    ATTN: KAREN MCCAULLEY PO BOX 518 LOWELL AR 72745
CUMMINS SALES AND SERVICE            CUMMINS CANADA ULC PO BOX 2521 STN M CALGARY AB T2P 0T6 CANADA
CUMMINS SALES AND SERVICE            PO BOX 419404 BOSTON MA 02241
CUMMINS SALES AND SERVICE            PO BOX 772639 DETROIT MI 48277
CUMMINS SALES AND SERVICE            P.O. BOX 741295 ATLANTA GA 30384
CUMMINS SALES AND SERVICE            PO BOX 403896 ATLANTA GA 30384
CUMMINS SALES AND SERVICE            P.O.BOX 310397 DES MOINES IA 50331
CUMMINS SALES AND SERVICE            NW 7686 PO BOX 1450 MINNEAPOLIS MN 55485
CUMMINS SALES AND SERVICE            75 REMITTANCE DR-STE 1701 CHICAGO IL 60675
CUMMINS SALES AND SERVICE            75 REMITTANCE DR. SUITE 1701 CHICAGO IL 60675-1701
CUMMINS SALES AND SERVICE            774494 CUMMINS BRIDGEWAY 4494 SOLUTIONS CENTER CHICAGO IL 60677
CUMMINS SALES AND SERVICE            774494, 4494 SOLUTIONS CENTER CHICAGO IL 60677
CUMMINS SALES AND SERVICE            P.O. BOX 842316 DALLAS TX 75284
CUMMINS SALES AND SERVICE            PO BOX 912138 DENVER CO 80291
CUMMINS SALES AND SERVICE            P.O. BOX 848731 LOS ANGELES CA 90084
CUMMINS SALES AND SERVICE            LOCKBOX 138324 POB 398324 SAN FRANCISCO CA 94139
CUMMINS WESTERN CANADA LP            PO BOX 2521 STN M CALGARY AB T2P 0T6 CANADA
CUMMINS, BEVERLY                     ADDRESS ON FILE
CUMMINS, CRIS                        ADDRESS ON FILE
CUMMINS, JARRETT                     ADDRESS ON FILE
CUMMINS, KATELYN                     ADDRESS ON FILE
CUMMINS, KEVIN                       ADDRESS ON FILE
CUMMINS, MARK                        ADDRESS ON FILE
CUMMINS, RICHARD                     ADDRESS ON FILE
CUMMINS, TERRY                       ADDRESS ON FILE
CUNAT, DONALD M                      ADDRESS ON FILE
CUNDIFF, PATIENCE                    ADDRESS ON FILE
CUNEGIN, STEPHEN                     ADDRESS ON FILE
CUNNINGHAM, BRANDON                  ADDRESS ON FILE
CUNNINGHAM, BRYANT                   ADDRESS ON FILE
CUNNINGHAM, CHANCEY                  ADDRESS ON FILE
CUNNINGHAM, CHRISTOPHER              ADDRESS ON FILE
CUNNINGHAM, DAVID                    ADDRESS ON FILE
CUNNINGHAM, DEANTE                   ADDRESS ON FILE
CUNNINGHAM, DEBORAH                  ADDRESS ON FILE
CUNNINGHAM, DERRICK                  ADDRESS ON FILE
CUNNINGHAM, DESEAN                   ADDRESS ON FILE
CUNNINGHAM, EDWARD                   ADDRESS ON FILE
CUNNINGHAM, HALEY                    ADDRESS ON FILE
CUNNINGHAM, HUGH                     ADDRESS ON FILE
CUNNINGHAM, JERAMAINE                ADDRESS ON FILE
CUNNINGHAM, JOSHUA S                 ADDRESS ON FILE
CUNNINGHAM, KAYLA                    ADDRESS ON FILE
CUNNINGHAM, KEVIN                    ADDRESS ON FILE
CUNNINGHAM, LATOYA                   ADDRESS ON FILE
CUNNINGHAM, LAURENCE                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 454 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 463 of 2156

Claim Name                           Address Information
CUNNINGHAM, LINDSEY                  ADDRESS ON FILE
CUNNINGHAM, MARIANNE                 ADDRESS ON FILE
CUNNINGHAM, MATTHEW                  ADDRESS ON FILE
CUNNINGHAM, MICHAEL                  ADDRESS ON FILE
CUNNINGHAM, ROBERT                   ADDRESS ON FILE
CUNNINGHAM, WILLIAM                  ADDRESS ON FILE
CUPP, DARREN                         ADDRESS ON FILE
CUPRAK, MICHELE                      ADDRESS ON FILE
CURBEAM, JAMES                       ADDRESS ON FILE
CURDIE, KYLE                         ADDRESS ON FILE
CURDIE, ROBERT                       ADDRESS ON FILE
CURDIE, STEVEN                       ADDRESS ON FILE
CURECRETE DISTRIBUTION               1203 SPRING CREEK PL SPRINGVILLE UT 84663
CURETON, ERIC                        ADDRESS ON FILE
CURETON, KIMBERLY                    ADDRESS ON FILE
CURFEW, KENITH                       ADDRESS ON FILE
CURIA GLOBAL INC.                    7 UNIVERSITY PLACE RENSSELAER NY 12144
CURIEL, ALEXSANDER                   ADDRESS ON FILE
CURIEL, JESUS R                      ADDRESS ON FILE
CURLEY, KEVIN                        ADDRESS ON FILE
CURLEY, MICHAEL                      ADDRESS ON FILE
CURLEY, RYAN                         ADDRESS ON FILE
CURNEAL, JEFFREY                     ADDRESS ON FILE
CURNEY, ANTONIO                      ADDRESS ON FILE
CUROLE, DEMARCUS                     ADDRESS ON FILE
CURRAN, FRANK                        ADDRESS ON FILE
CURRAN, MICHAEL                      ADDRESS ON FILE
CURRENCE, JOHN M                     ADDRESS ON FILE
CURRENCY AMBITIONS TRUCKING LLC      OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
CURRENCY EXPRESS LOGISTICS LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
CURRENT ELECTRIC CONTRACTING         PO BOX 276 BROADWAY NJ 08808
CURRENT ELECTRICAL SERVICES INC      2051 ENTERPRISE DR SUITE C DE PERE WI 54115
CURRENT LIGHTING                     ATTN: DONNA BRADY 701 MILLENNIUM BLVD GREENVILLE SC 29607
CURRENT LIGHTING SOLUTIONS LLC       ATTN: KAROLINA BERCES 11290 CANTU GALLEANO RANCH RD JURUPA VALLEY CA 91752
CURRENT LIGHTING SOLUTIONS LLC       ATTN: VIKTORIA LACZKO HLI SOLUTIONS INC 2001 SANYO AVE STE 110 SAN DIEGO CA
                                     92154
CURRENT LOGISTICS LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CURRENT WAY LOGISTICS LLC            OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CURRIE HEAVY TOWING                  2 CURRIE DRIVE PO BOX 20150 BARRIE ON L4M 6E9 CANADA
CURRIE, CARLTON                      ADDRESS ON FILE
CURRIE, CLARENCE                     ADDRESS ON FILE
CURRIE, LARRY                        ADDRESS ON FILE
CURRIER, RODNEY                      ADDRESS ON FILE
CURRY JR, EMIL                       ADDRESS ON FILE
CURRY TRANSPORTATION SERVICES LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CURRY, ANGEL                         ADDRESS ON FILE
CURRY, CHARLES                       ADDRESS ON FILE
CURRY, COREY                         ADDRESS ON FILE
CURRY, GABRIEL S                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 455 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 464 of 2156

Claim Name                           Address Information
CURRY, GABRIEL S                     ADDRESS ON FILE
CURRY, JAMES                         ADDRESS ON FILE
CURRY, JAMES                         ADDRESS ON FILE
CURRY, JESSICA                       ADDRESS ON FILE
CURRY, KAILYNN                       ADDRESS ON FILE
CURRY, MATTHEW                       ADDRESS ON FILE
CURRY, MATTHEW                       ADDRESS ON FILE
CURRY, MATTHEW                       ADDRESS ON FILE
CURRY, PATRICK                       ADDRESS ON FILE
CURRY, VESHON                        ADDRESS ON FILE
CURRY, WILLIAM                       ADDRESS ON FILE
CURTIN, ABBI                         ADDRESS ON FILE
CURTIN, CRAIG                        ADDRESS ON FILE
CURTIN, TIMOTHY                      ADDRESS ON FILE
CURTIS & JOJO TRUCKING LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
CURTIS A KOCH                        ADDRESS ON FILE
CURTIS A RANGEL                      ADDRESS ON FILE
CURTIS D GRANVILLE                   ADDRESS ON FILE
CURTIS DYSON TRUCKING                55612 HWY 64 SABULA IA 52070
CURTIS E TURNER                      ADDRESS ON FILE
CURTIS F NICHOLS                     ADDRESS ON FILE
CURTIS F NICHOLS                     ADDRESS ON FILE
CURTIS INTERNATIONAL                 UNIT 15 7045 BECKETT DR MISSISSAUGA ON L5S 2A3 CANADA
CURTIS INTERNATIONAL LTD             7045 BECKETT DR UNIT 15 MISSISSAUGA ON L5S 2A3 CANADA
CURTIS INTERNATIONAL LTD             ATTN: ASHWIN ALEX 7045 BECKETT DR UNIT 15 MISSISSAUGA ON L5S 2A3 CANADA
CURTIS INTERNATIONAL LTD             ATTN: ASHWIN 7045 BECKETT DR, UNIT 15 MISSISSAUGA ON L5S 2A3 CANADA
CURTIS L BAKER                       ADDRESS ON FILE
CURTIS L FORMYDUVAL                  ADDRESS ON FILE
CURTIS L REHMEL                      ADDRESS ON FILE
CURTIS SPROUT                        ADDRESS ON FILE
CURTIS WRIGHT FLEET SOLUTIONS        ATTN: SOLOMON WILLIAMS 482A SEWART ST ATLANTIC BEACH FL 32233
CURTIS, BEN                          ADDRESS ON FILE
CURTIS, CHARLIE                      ADDRESS ON FILE
CURTIS, CHIQUITA                     ADDRESS ON FILE
CURTIS, CHRIS                        ADDRESS ON FILE
CURTIS, CODY                         ADDRESS ON FILE
CURTIS, DAUNTE                       ADDRESS ON FILE
CURTIS, DAVID                        ADDRESS ON FILE
CURTIS, DAVID                        ADDRESS ON FILE
CURTIS, ERNEST                       ADDRESS ON FILE
CURTIS, GARY                         ADDRESS ON FILE
CURTIS, IAN                          ADDRESS ON FILE
CURTIS, JACOB                        ADDRESS ON FILE
CURTIS, KEN                          ADDRESS ON FILE
CURTIS, KENNETH                      ADDRESS ON FILE
CURTIS, LARRY                        ADDRESS ON FILE
CURTIS, MARK                         ADDRESS ON FILE
CURTIS, MARK                         ADDRESS ON FILE
CURTIS, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 456 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 465 of 2156

Claim Name                           Address Information
CURTIS, STEPHEN                      ADDRESS ON FILE
CURTIS-EL, JOHNATHAN                 ADDRESS ON FILE
CURTISY TRUCKING INC                 OR SMARTTRUCKER LLC PO BOX 30516, DEPT 506 LANSING MI 48909-8016
CURTOS                               1966 CENTRAL PARK AVE. YONKERS NY 10710
CURTS 24HR TOWING CO.                1420 W HUDSON DR LITCHFIELD IL 62056
CURTS LOCK & KEY SERVICE INC         1102 MAIN AVE FARGO ND 58103
CURTS TRUCK & DIESEL SERV INC        370 24TH AVE NW OWATONNA MN 55060
CURTS, GEORGE                        ADDRESS ON FILE
CURV-RITE                            ATTN: AMY HERREMA 3603 10TH ST UNIT C WAYLAND MI 49348
CURWEN, IAN                          ADDRESS ON FILE
CURZON TRUCKING LLC                  OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
CUSANO, VINNIE                       ADDRESS ON FILE
CUSHING, CAROLE                      ADDRESS ON FILE
CUSHMAN & WAKEFIELD WESTERN INC      VALUATION & ADVISORY 200 SW MARKET ST STE 200 PORTLAND OR 97201
CUSHMAN, JEFFREY                     ADDRESS ON FILE
CUSHMAN, JESSE                       ADDRESS ON FILE
CUSHMAN, JOHN                        ADDRESS ON FILE
CUSICK, BRETT                        ADDRESS ON FILE
CUSICK, JEREMY                       ADDRESS ON FILE
CUSICK, KRISTOFFER                   ADDRESS ON FILE
CUSTARDS TRANSPORT LLC               3025 WOLLYLEAF CT PERRIS CA 92571
CUSTER, EDWARD                       ADDRESS ON FILE
CUSTER, GERALD                       ADDRESS ON FILE
CUSTER, JOHN                         ADDRESS ON FILE
CUSTER, NICHOLAS                     ADDRESS ON FILE
CUSTER, RODNEY                       ADDRESS ON FILE
CUSTODE, PATRICK                     ADDRESS ON FILE
CUSTODE, PATRICK                     ADDRESS ON FILE
CUSTOM ACCESSORIES                   ATTN: JULIE SOSNOWSKI 5900 AMI DR, A/R DEPT RICHMOND IL 60071
CUSTOM AGRI SYSTEMS,INC.             27411 STATE ROUTE 62 BELOIT OH 44609
CUSTOM ARCHITECTURAL STONE           ATTN: ADRIANA 1130 MISSION DR STE 102 SOLVANG CA 93463
CUSTOM BLINDS & COMPONENTS           12330 COLONY AVE CHINO CA 91710
CUSTOM BUILDING PRODUCTS             6511 SALT LAKE AVE BELL CA 90201
CUSTOM CLS                           P.O. BOX 605 RIDLEY PARK PA 19078
CUSTOM COOLER                        420 E ARROW HWY SAN DIMAS CA 91773
CUSTOM COURIER CO. LTD               4010 ARONEC AVE SASKATOON SK S7P 0E1 CANADA
CUSTOM COURIER SERVICE, LLC          4010 ARONEC AVE SASKATOON SK S7P 0E1 CANADA
CUSTOM COURIER SOLUTIONS INC         1600 LEXINGTON AVE SUITE 234 ROCHESTER NY 14606
CUSTOM CRITICAL CARRIER COMPANY      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CUSTOM DESIGN                        370 COMMERCE ROAD NORTH KINGSTOWN RI 02852
CUSTOM DIESEL SERVICE LLC            1513 EAST JONATHAN ST ALLENTOWN PA 18109
CUSTOM DOOR & MIRROR INC             ATTN: TERRY MUTONE 148 MILBAR BLVD FARMINGDALE NY 11735
CUSTOM DOOR SALES, INC.              5005 HILLSBORO AVENUE NORTH NEW HOPE MN 55428
CUSTOM FENCE OF ATLANTA              517 ROCK CHIMNEY LANE DAHLONEGA GA 30533
CUSTOM FLAG COMPANY INC              3995 W 73RD AVE WESTMINSTER CO 80030
CUSTOM FLEET MAINTENANCE, INC.       1700 S. SILVER BROOK DR SUITE 300 WEST BEND WI 53095
CUSTOM FLEET MAINTENANCE, INC.       1700 S SILVER BROOK DRIVE, SUITE 300 WEST BEND WI 53095-0497
CUSTOM FLEET MAINTENANCE, INC.       9120 N 107TH ST MILWAUKEE WI 53224
CUSTOM HYDRAULICS & DESIGN, INC.     ATTN: ACCOUNTS RECEIVABLE, PO BOX 1147 CHERRYVILLE NC 28021



Epiq Corporate Restructuring, LLC                                                                Page 457 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 466 of 2156

Claim Name                            Address Information
CUSTOM HYDRAULICS & DESIGN, INC.      3822 STATESVILLE AVE CHARLOTTE NC 28206
CUSTOM LEASING OF IOWA, INC.          2260 ANDREW AVE SERGEANT BLUFF IA 51054
CUSTOM LEASING OF IOWA, INC.          4525 HARBOR DRIVE SIOUX CITY IA 51111
CUSTOM LEASING OF IOWA, INC.          5430 HARBOR DRIVE SIOUX CITY IA 51111
CUSTOM LEATHERCRAFT                   ATTN: DARIUS GEORGE 10240 S ALAMEDA ST S GATE CA 90280
CUSTOM MAINTENANCE SOLUTIONS          2536 WAYNE TRACE FORT WAYNE IN 46803
CUSTOM PROPERTY TRANSPORT LLC         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CUSTOM SENSORS INC                    30 YORK ST. AUBURN NY 13021
CUSTOM SERVICE HARDWARE               ATTN: JOSH KRUIT N169W21008 MEADOW LN JACKSON WI 53037
CUSTOM TRANSFER, INC.                 PO BOX 157 LONG PRAIRIE MN 56347
CUSTOM TRANSPORT, INC.                OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
CUSTOM TRANSPORTATION                 2810 MCTAVISH AVE SW DECATUR AL 35603
CUSTOM TRANSPORTATION LLC             PO BOX 8 WHITEVILLE MS 38075
CUSTOM TRUCK & EQUIPMENT, LLC         D/B/A: CUSTOM TRUCK ONE SOURCE PO BOX 773385 CHICAGO IL 60677
CUSTOM TRUCK & EQUIPMENT, LLC         7701 INDEPENDENCE AVE KANSAS CITY MO 64125
CUSTOM TRUCK LEASING INC              4500 N CLIFF AVE SIOUX FALLS SD 57104
CUSTOM TRUCK ONE SOURCE               PO BOX 773385 CHICAGO IL 60677
CUSTOM TRUCK ONE SOURCE               PO BOX 775539 CHICAGO IL 60677
CUSTOM WELDING & FABRICATION INC      3003 E SHARP AVE SPOKANE WA 99202
CUSTOMER FIRST DELIVERY SERVICE LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
CUSTOMER SVC QTY TRANSPORTATION INC   PO BOX 963 ENID OK 73702
CUSTOMERS BANK                        1015 PENN AVENUE SUITE 103 WYOMISSING PA 19610
CUSTOMERS COMMERCIAL FINANCE LLC      96 BRIDGE ST PHOENIXVILLE PA 19460
CUSTOMERS COMMERCIAL FINANCE LLC      99 BRIDGE STREET PHOENIXVILLE PA 19460
CUTBIRTH, TROY                        ADDRESS ON FILE
CUTHBERT, MICHAEL                     ADDRESS ON FILE
CUTHBERTSON, DARRYL                   ADDRESS ON FILE
CUTHBERTSON, TIMOTHY                  ADDRESS ON FILE
CUTLER EXPRESS LLC                    1961 RIDGE ROAD LAYTON UT 84040
CUTLOW TRANSPORT LLC                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
CUTRE, JOSEPH                         ADDRESS ON FILE
CUTRIGHT, LISA                        ADDRESS ON FILE
CUTSHALL, DEANNA                      ADDRESS ON FILE
CUTSHALL, JAMES                       ADDRESS ON FILE
CUTSHAW, RANDY                        ADDRESS ON FILE
CUTTING EDGE LAWN COMPANY             5407 ALWORTH BOISE ID 83714
CUTTING IT CLOSE LAWNCARE LLC         11423 SHADY OAKS DR BIRCH RUN MI 48415
CUTTS, CHARLES                        ADDRESS ON FILE
CUTY TRUCKING, LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
CUYAHOGA COUNTY TREASURER             CUYAHOGA COUNTY TREASURER PO BOX 94547 CLEVELAND OH 44101-4547
CUYAHOGA FENCE LLC                    PO BOX 43547 CLEVELAND OH 44143
CUYLAR, JOSHUA                        ADDRESS ON FILE
CUZUBAN, IONEL                        ADDRESS ON FILE
CUZZACREA, MARK                       ADDRESS ON FILE
CV LOGISTICS LLC                      912 90TH STREET APT 32 NORTH BERGEN NJ 07047
CV LOGISTICS LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
CVA TRANSPORT INC                     1301 IROQUOIS LN DARIEN IL 60561
CVC TRANSPORT INC                     2974 EGRETS LANDING DR LAKE MARY FL 32746-7412
CVETKO NOVICIC                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 458 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 467 of 2156

Claim Name                               Address Information
CVG EXPRESS INC                          OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
CVL CARGO INC                            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
CVL LOGISTICS                            434 CROSSROADS DR CROSSVILLE TN 38555
CVR TRANSPORT INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
CVS CAREMARK                             PO BOX 848001 DALLAS TX 75284
CVT TRANSPORTATION LLC                   7245 ROCKBRIDGE RD, STE 300-834 LITHONIA GA 30058
CW RESOURCES INC                         140 PRODUCTION CT NEW BRITAIN CT 06051
CW TERNARY LOGISTICS & TRANSP LLC        OR NBS FACTORING LLC, PO BOX 25 BELLE FOURCHE SD 57717
CW WORLDWIDE INC                         24560 S KINGS RD CRETE IL 60417
CW-TRANSPORT                             OR JOBE SERVICES INC PO BOX 4346, DEPT 22 HOUSTON TX 77210-4346
CW-TRANSPORT                             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
CWPM LLC                                 PO BOX 415 PLAINVILLE CT 06062
CWW ENTERPRISES LLC                      C/O BLUE BEACON INC ATTN LISA ARMSTRONG, PO BOX 856 SALINA KS 67402
CWW ENTERPRISES, LLC                     ATTN: LISA ARMSTRONG C/O BLUE BEACON, INC. PO BOX 856 SALINA KS 67402
CXTEC                                    PO BOX 5211 DEPT 116003 BINGHAMTON NY 13902
CY ORESMAN - MS                          ADDRESS ON FILE
CYBELA, JASON                            ADDRESS ON FILE
CYBER ACOUSTICS                          ATTN: JENNIFER MACKAY 3109 NE 109TH AVE VANCOUVER WA 98682
CYC TRANSPORTATION AKA CITY YELLOW CAB   650 HOME AVENUE AKRON OH 44310
CYCAN INDUSTRIES                         313 BELL PARK DR WOODSTOCK GA 30188
CYCHOLL, BILL                            ADDRESS ON FILE
CYCLE LOGISTICS INC.                     1550 BRYN MAWR AVE ITASCA IL 60143
CYCLON TRANSPORT LLC                     OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
CYCLONE TRANSPORTATION INC               4344 N ORIOLE AVE NORRIDGE IL 60706
CYGNET AUTOMATED CLEANING                9120 GENEAL DRIVE PLYMOUTH MI 48170
CYLE A VINCI OLSEN                       ADDRESS ON FILE
CYLOG EXPRESS CORPORATION                OR EZ FACTORING LLC, PO BOX 227095 DORAL FL 33222
CYMONE GAITER                            ADDRESS ON FILE
CYNTHIA A SIMON                          ADDRESS ON FILE
CYNTHIA BRADLEY                          ADDRESS ON FILE
CYNTHIA L ANDERSON                       ADDRESS ON FILE
CYNTHIA LACLARICE NORMAN-HANDY           ADDRESS ON FILE
CYNTHIA LOUISE NIXON                     ADDRESS ON FILE
CYNTHIA OLIVER                           ADDRESS ON FILE
CYNTHIA OLIVER                           ADDRESS ON FILE
CYOL TRUCKING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CYPHER, MARK                             ADDRESS ON FILE
CYPRESS PLUMBING OF SW FL INC            2655 MEADOW LANE FORT MYERS FL 33901
CYRULIK, MICHAEL                         ADDRESS ON FILE
CYRUS, WENDELL                           ADDRESS ON FILE
CZANKNER, JEFFREY                        ADDRESS ON FILE
CZAPRAN, RICHARD                         ADDRESS ON FILE
CZAPRAN, RICHARD                         ADDRESS ON FILE
CZARNIECKI, RICHARD                      ADDRESS ON FILE
CZAVAR, OLIVER                           ADDRESS ON FILE
CZBG LOGISTICS INC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
CZECH, DANIEL                            ADDRESS ON FILE
CZERNIEWSKI, BRIAN                       ADDRESS ON FILE
CZERNIEWSKI, DALTON                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 459 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 468 of 2156

Claim Name                           Address Information
CZERNIK, ELIZABETH                   ADDRESS ON FILE
CZOE TRANSPORTATION LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
CZONSTKA, EDWIN                      ADDRESS ON FILE
CZUCHAJ, KEVIN                       ADDRESS ON FILE
CZUMALOWSKI, JOSEPH                  ADDRESS ON FILE
CZUP, ROBERT                         ADDRESS ON FILE
CZWAKIEL, JOHN C                     ADDRESS ON FILE
CZYZ, MICHAEL                        ADDRESS ON FILE
D & A LOGISTICS LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
D & A TRUCK EQUIPMENT                PO BOX 651230 SALT LAKE CITY UT 84165
D & B FREIGHT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
D & B TRUCKING                       3060 W LA SIERRA DR FRESNO CA 93706
D & C LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D & C LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
D & C TRANSPORT SERVICE LLC          10650 COUNTY RD 81, SUITE 218 MAPLE GROVE MN 55369
D & D BROTHERS HAULING CORP          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
D & D COMMODITIES                    D/B/A: D & D COMMODITIES CASS 420 O ST GREELEY CO 80631
D & D HAULING, LLC                   OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
D & D NYE TRUCKING LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
D & D TIRE INC                       PO BOX 318 JESUP IA 50648
D & D TOWING                         1831 NW MULHOLLAND DR ROSEBURG OR 97470
D & D TOWING & FLEET SERVICES        PO BOX 809 ROSEBURG OR 97470
D & D TRANSPORT AND TRUCKS LLC       OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
D & D TRUCK REPAIR INC               5712 DAPHNE DRIVE CHARLOTTE NC 28221
D & D TRUCK REPAIR INC               PO BOX 26113 CHARLOTTE NC 28221
D & D TRUCK SALES                    3409 E I-240 SERVICE RD OKLAHOMA CITY OK 73135
D & D TRUCKING                       104 S MAY ST GUYMON OK 73942
D & D WRECK REBUILDERS               1413 HOWARD ST SAINT LOUIS MO 63106
D & F LOGISTIC HAULING LLC           OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
D & G FREIGHTWAY INC                 PO BOX 5034 WOODRIDGE IL 60517
D & G TRUCKING CO. INC.              463 SO. PROSPECT AVE. ROSELLE IL 60172
D & G TRUCKING COMPANY INC           OR MCKENZIE BANKING, PO BOX 936 PAIRIS TN 38242
D & H CONTRACTING, INC.              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
D & H TRANSPORT                      OR ECAPITAL FREIGHT FACTORING 174 WEST ST SOUTH 2ND FLOOR ORILLA ON L3V 6L4
                                     CANADA
D & H TRANSPORTATION INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
D & H TRUCKING CO INC                5 SOUTHLINK DR WASHINGTON MO 63090
D & I TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D & J CARRIERS INC.                  P.O. BOX 1 DENMARK TN 38391
D & J ROYAL TRUCKING CORP            37 DUKE ST DEER PARK NY 11729
D & J SERVICES TRANSPORTATION LLC    735 COUNTRY WOOD CIRCLE KISSIMMEE FL 34744
D & J TRANSPORT LLC                  1847 W VILLAGE PARK AVE SALT LAKE CTY UT 84116
D & J TRUCK REPAIR INC               109 LR 16 SOUTH ASHDOWN AR 71822
D & J TRUCK SERVICES & TOWING        291 H ANDERSON ROAD NORTH WILKESBORO NC 28659
D & J WILKEN, LLC                    PO BOX 96 FALL RIVER WI 53932
D & JH TRUCKING INC                  9635 DAYBREAK LN LOVELAND OH 45140
D & K REPAIR LLC                     3382 ELMWOOD AVE ROCK VALLEY IA 51247
D & K TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D & L SERVICES LTD                   3714 FISHER AVE MIDDLETOWN OH 45042



Epiq Corporate Restructuring, LLC                                                                Page 460 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 469 of 2156

Claim Name                              Address Information
D & L WELDING AND METAL REPAIR          18238 ALMONDLEAF COURT RENO NV 89508
D & M AUTO GROUP INC                    PO BOX 840267 DALLAS TX 75284
D & M DISTRIBUTION SERVICES, INC        PO BOX 271150 OKLAHOMA CITY OK 73137
D & M EXPRESS TRUCKING LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
D & M STRIPING                          58 LOUIS ST MANCHESTER NH 03102
D & M TRANSPORTATION AND STORAGE, INC   7890 INTERSTATE COURT FORT MYERS FL 33917
D & M TRANSPORTATION SOLUTIONS LLC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
D & M TRUCK REPAIR                      3450 MIC MAC TRAIL KERNERSVILLE NC 21284
D & N TRUCKING AND SHIPPING, INC.       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
D & P MOBIL TRUCK & TRAILER REPAIR      PO BOX 696 COLONA IL 61241
D & R TOWING INC                        80546 US-395 HERMISTON OR 97838
D & R TOWING U-HAUL                     80546 HIGHWAY 395 N HERMISTON OR 97838
D & R TRUCKING LLC                      OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
D & RS FLEET SERVICE LLC                11155 MOSTELLER RD. CINCINNATI OH 45241
D & RS FLEET SERVICE LLC                11155 MOSTELLER ROAD SHARONVILLE OH 45241
D & S DELIVERIES LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
D & S EXPRESS CARRIERZ LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
D & S LOGISTICS GROUP LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
D & S TOTALLY MOBILE INC                PO BOX 1951 ELHART IN 46515-1951
D & S TOTALLY MOBILE INC                2417 OAKLAND AVE ELKHART IN 46517
D & S TRANSPORTING SERVICES LLC         2101 LACY CT FLORENCE SC 29505
D & T EXPRESS                           1152 SOUTH RAMONA STREET SAN GABRIEL CA 91776
D & T JOHNSON ELECTRIC COMPANY          DBA JOHNSON ELECTRIC, PO BOX 3177 LA GRANDE OR 97850
D & T TOWING AND RECOVERY, LLC          9786 ROUTE 219 RIDGWAY PA 15853
D & W TRANSPORT LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
D & W TRUCKING                          OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
D & Z INVESTMENTS LLC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
D A L TRANSPORT CORPORATION             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
D A LINCOLN PUMP SERVICE & SUPPLY       4-210 48TH STREET EAST SASKATOON SK S7K 6A4 CANADA
D AND D NATIONAL LOGISTICS, INC.        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
D AND D TRUCKING                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D AND S TRANSPORT LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
D BOWIE HAULING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
D BROTHERS TRANSPORT LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
D BRYANT TRUCKING LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
D BURNETTE TRUCKING LLC                 OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                        60674-0411
D C EXPRESS (MC635751)                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
D C P TRANSPORT LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
D C RED TRANSPORT LLC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
D C TRANSPORT, INC.                     3326 MERLE TRAVIS HIGHWAY BEECHMONT KY 42323
D D & D TRUCKING LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
D D M LOGISTICS INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
D DHALIWAL TRANS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
D DUB TRUCKING                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
D DUN ENTERPRISE AND LOGISTICS LLC      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
D E & SONS TRUCKING LLC                 OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
D E SMITH ENTERPRISES INC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
D ELITE TRANSPORTATION LOGISTICS LLC    OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352



Epiq Corporate Restructuring, LLC                                                                    Page 461 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 470 of 2156

Claim Name                              Address Information
D EXPRESS                              43 RACINE ROAD ETOBICOKE ON M9W2Z4 CANADA
D EXPRESS                              OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                       90074
D F STAUFFER BISCUIT CO                10DWQMLW50DX8VDW8GUF YORK PA 17402-0672
D G L EXPRESS INC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
D GREEN TRANSPORTATION LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
D H L SUPPLY CHAIN                     SAMSUNG, 1210 S PINEISLAND RD PLANTATION FL 33324
D H TRUCKING INC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
D I FIRE & SAFETY, INC.                P.O. BOX 967 DANVILLE IL 61834-0967
D I FLEET REPAIR                       PO BOX 11271 WHITTIER CA 90603
D INTEGRITY TRANSPORT INC              5056 DOCKSIDE DR ORLANDO FL 32822-2337
D J CHERRY LOGISTICS LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
D J L TRANSPORT INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
D J TRUCKING                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
D J XPRESS INC                         OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
D JS TRUCK & AUTO SERVICE              1100 DERBYSHIRE RD HOLLY HILL FL 32117
D K EXPRESS LLC                        2264 HAMPTON DR FRANKLIN IN 46131
D L K TRUCKING, INC.                   PO BOX 848 PLOVER WI 54467
D L KAUFFMAN TRANSPORT, LLC            1863 SCHOFF ROAD ATGLEN PA 19310
D L LANDIS                             5181 LINCOLN HWY GAP PA 17527
D L MANUFACTURING                      340 GATEWAY PARK DR NORTH SYRACUSE NY 13212
D L MC NEILL TRANSPORT LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
D LASSITER TRUCKING LLC                OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
D LOGISTICS INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
D MAJANO EXPRESS LLC                   OR CHUGH CAPITAL LLC, P O BOX 4437 WARREN NJ 07059
D MERCI LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D MIDES LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D N L LOGISTICS INC.                   14476 DUVAL PLACE WEST, SUITE 501 JACKSONVILLE FL 32218
D O N E LOGISTICS LLC                  OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
D P T L LLC                            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
D PRICE TRUCKING SOLUTIONS LLC         OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
D QUATTRO LOGISTICS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
D QUIK JOHNSON TRUCKING LLC            OR MYG FINANCIAL LLC 511 EAST JOHN CARPENTER FWY, STE 500 IRVING TX 75062
D R B TRUCKLINE LLC                    OR JOBE SERVICES INC PO BOX 4346, DEPT 22 HOUSTON TX 77210-4346
D R TRANSPORTATION                     OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
D REID TRUCKING INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
D S TRANSPORTATION LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
D T A K LLC                            PO BOX 195 NEW LONDON WI 54961
D T L                                  PO BOX 3298 YUBA CITY CA 95992
D T S TRANSPORT INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
D TRUCK DR                             97 COUNTRY LAKE DR COVINGTON TN 38019
D TRUCKING ENTERPRISE LLC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
D TRUCKING ENTERPRISE LLC              OR TETRA CAPITAL LLC, PO BOX 25297 SALT LAKE CITY UT 84125
D V I EXPRESS INC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
D WARE TRANSPORT LLC                   OR COPPERWOOD CAPITAL PO BOX 4776 DEPT 300 HOUSTON TX 77210
D&A CARGO LLC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
D&A CARGO LLC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
D&A DOOR & SPECIALTIES INC             2667 S VICTORY VIEW WAY BOISE ID 83709
D&A LOGISTICS & TRANSPORTATION SVCS LLC OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                   Page 462 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 471 of 2156

Claim Name                               Address Information
D&A LOGISTICS SERVICE LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
D&B BESCO MOTOR FREIGHT LLC              1881 CLINTON FURNACE RD UNIT C WHEELERSBURG OH 45694
D&B ENTERPRISES OF NC LLC                OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
D&B SUPPLY                               3303 E LINDEN ST CALDWELL ID 83605
D&B TRANSPORT                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D&B TRUCKING LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
D&C EXPRESS TRANSPORT LLC                OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
D&C TRUCKING INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
D&C TRUCKING OF CHESTER, LLC             OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
D&D COMMODITIES LTD                      US HWY 75, PO BOX 359 STEPHEN MN 56757
D&D D TRANSPORT REFRIGERATION SVC INC    6428 S FRONTAGE RD BILLINGS MT 59101
D&D EXPRESS                              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
D&D OUTSOURCE LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
D&D SMART TRANSPORT LLC                  OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
D&D TOWING AND RECOVERY                  245 COLONIAL DRIVE CAMPBELLSVILLE KY 42718
D&D TRANSIT LLC                          OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
D&D TRANSPORTING LLC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
D&E CARRIERS                             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
D&E TRANSPORT, LLC                       PO BOX 644831 DEPT DET PITTSBURGH PA 15264-4831
D&H TRANSPORT LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
D&H UNITED FUELING SOLUTIONS, INC. A10   2010 EXCHANGE AVE OKLAHOMA CITY OK 73108
D&H UNITED FUELING SOLUTIONS, INC. A10   1221 TOWER TRAIL LN EL PASO TX 79907
D&I TRUCKS COMPANY INC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
D&J EXPRESS TRANSPORTATION SERVICES LLC OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                        76116
D&J FREIGHT INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
D&K TRUCK COMPANY                        3020 SNOW ROAD LANSING MI 48917
D&L SIGNS, INC                           5906 SAXON AVE WESTON WI 54476
D&L TRANS                                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
D&M CARRIERS LLC, DBA FREYMILLER         8125 SW 15TH STREET OKLAHOMA CITY OK 73128
D&M FAMILY TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
D&M HERNANDEZ LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
D&M TRANSPORT SERVICES LLC               OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
D&P FREIGHT LLC                          7210 AVENUE N HOUSTON TX 77011-1708
D&P VINA LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D&R CARRIERS LLC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
D&R LOCAL LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
D&R SAFETY TRUCK INC                     10566 HUXLEY DR RANCHO CUCAMONGA CA 91730
D&R TRUCKING LLC                         OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458-0054
D&S ELECTRICAL SUPPLY CO                 363 W CHUBBUCK RD POCATELLO ID 83202
D&S EXPRESS LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
D&S HEAVY DUTY TRUCK & TRAILER REPAIR    REPAIR INC, 4287 S. PIPESTONE ROAD SODUS MI 49126
D&S TRANSPORT LLC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
D&S TRANSPORTER LLC                      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
D&S TRUCK & TRAILER REPAIRS LLC          300 RILEY ST HERNANDO MS 38632
D&V BLESSED TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
D&W DIESEL INC                           1503 CLARK ST RD AUBURN NY 13021
D&Y EXPRESS TRUCKING LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
D&Y PIRATES OF CARIBBEAN TRANSPORT LLC   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244



Epiq Corporate Restructuring, LLC                                                                    Page 463 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 472 of 2156

Claim Name                           Address Information
D&Y WEST TRUCKING INC                OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
D&Z TRANSPORTATION LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
D-EVINE INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
D-LINE TRUCKING INC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
D-LIVERANCE, LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
D-MACKS LOGISTICS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
D-SPOT LOGISTICS CORP                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D-TRANS, LLC                         230 BLUE JUNIPER BLVD VENICE FL 34292
D-VAC SALES INC                      ATTN: NICOLE SEVERSON 200 VERDI STREET UNIT B FARMINGDALE NY 11735
D-VYNE TRANS LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
D. A. DAVIDSON & CO. (0361)          ATT RITA LINSKEY OR PROXY MGR 8 THIRD ST NORTH GREAT FALLS MT 59401
D. CRESCIO TRUCKING COMPANY, INC.    PO BOX 512 BILLERICA MA 01821
D. F. CARRIERS INC                   27 SOUTH LORING ST 2 LOWELL MA 01851
D. S. T. EXPRESS, LLC                PO BOX 503 SPRINGVILLE UT 84663
D.A.C. LIFT TRUCKS CORPORATION       6 HUDSON DR WAPPINGERS FALLS NY 12590
D.A.R. TRUCKING INC                  OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
D.C. TREASURER                       DC OFFICE OF TAX & REVENUE, PO BOAX 7792 WASHINGTON DC 20044
D.E.N. FACILITY MAINTENANCE LLC      115 E. LAVITT LANE PHOENIX AZ 85086
D.F. STAUFFERS                       ATTN: CHRISTOPHER COWGUR 4041 W GARRY AVENUE SANTA ANA CA 92704
D.F. TRANSPORT LLC                   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
D.H.T. GROUP                         ATTN: LEE MALONE 2695 W VASSAR ROAD REESE MI 48757-9352
D.H.T. LOGISTICS                     2695 W VASSAR REESE MI 48757
D.I.B.A. TRUCKING, INC.              OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
D.M & JOHNSONS LOGISTICS LLC         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
D.SCOTT TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
D150 FUELING                         PO BOX 2048 WILMINGTON DE 19899
D1NKZ LLC                            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
D2 TRANSPORTATION INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
D2 TRUCKING LLC                      1030 S KERN AVE LOS ANGELES CA 90022-3016
D2D RELO LLC                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
D2M HAULING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DA & K TRUCKING LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DA EXPRESS INC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DA GOODQUEST, INC.                   OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
DA LUBRICANT CO INC                  801 EDWARDS DR LEBANON IN 46052
DA RAN, INC.                         PO BOX 284 ZIMMERMAN MN 55398
DA SILVA, ARCENY                     ADDRESS ON FILE
DA SILVA, ROMILDO                    ADDRESS ON FILE
DA SILVA, SAMUEL                     ADDRESS ON FILE
DA SILVA, XIMENA                     ADDRESS ON FILE
DA VERAS TRANSPORT                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAANSA SERVICES LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAAR FREIGHT TRANSPORTATION          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAART ENGINEERING COMPANY, INC.      4100 GARNER RD RIVERSIDE CA 92501
DAB CARRIER GROUP INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DAB TRUCKING SERVICES COMPANY        OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DABA TRUCKING                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DABANDONH, SONY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 464 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 473 of 2156

Claim Name                          Address Information
DABANKAH, JOSEPH                    ADDRESS ON FILE
DABBAS TRANSPORT INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DABBS, DIONKEY                      ADDRESS ON FILE
DABCO LLC                           OR TAB BANK, PO BOX 150290 OGDEN UT 84415
DABCO TRANSPORTATION, INC.          102 DIVISION ST TUCKERTON NJ 08087
DABERAM, RAJIV                      ADDRESS ON FILE
DABRILA, VYTAUTAS                   ADDRESS ON FILE
DAC TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DACHENG TRANSPORTATION INC          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DACHSHUND LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DACKEWICH, JODY                     ADDRESS ON FILE
DACSA TRUCKING LLC                  2095 US HEIGHWAY 111 EL CENTRO CA 92243
DAD & SONS MOWING ENFORCEMENT       9645 LOS OLMOS DR LOS FRESNOS TX 78566
DAD & SONS TRUCKING INC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DAD LOGISTICS CORP                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAD TRANSPORT                       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DADA LLC                            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DADAS TRANSPORT SERVICE LLC         OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415-0581
DADDI, JOSEPH                       ADDRESS ON FILE
DADDIES GURLZ HAULING, LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DADDIO, FRANK                       ADDRESS ON FILE
DADDY TRANSPORT SERVICES INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DADDYS BIG TRUCK LLC                OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
DADE COUNTY TAX COLLECTOR           PO BOX 025218 MIAMI FL 33102
DADE LIFT PARTS & EQUIPMENT, INC.   12612 NW S RIVER DR MEDLEY FL 33178
DADO TRANSPORTATION LLC             1420 COPPERFIELD ST SW BYRON CENTER MI 49315
DADO, RONIE                         ADDRESS ON FILE
DADS TOWING SERVICE                 1119 EAST OLD HICKORY BLVD MADISON TN 37115
DADS TRANSPORT LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DADSWELL SERVICE LLC                257 MAIN RD AKRON NY 14001
DAEGES, ABIGAIL                     ADDRESS ON FILE
DAER TRANSPORT LLC                  OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
DAFFRON, JACOB                      ADDRESS ON FILE
DAFKU TRANSPORT LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DAG05 LLC                           OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
DAGDAG, DENNIS                      ADDRESS ON FILE
DAGDAG, MARY GRACE                  ADDRESS ON FILE
DAGLE, STEPHEN                      ADDRESS ON FILE
DAGO TRUCKING LLC                   OR CLOUDTRUCKS FLEX LLC DEPT 2148, PO BOX 122148 DALLAS TX 75312-2148
DAGOODS TRUCKING                    OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
DAGOSTINE, DAVID                    ADDRESS ON FILE
DAGOSTINO, TOM                      ADDRESS ON FILE
DAGOSTINO, VINCENT                  ADDRESS ON FILE
DAGOSTINO, VINCENZO                 ADDRESS ON FILE
DAH HOUNDOGBANON, FRANCOIS XAVIER   ADDRESS ON FILE
DAHER, JEFFREY                      ADDRESS ON FILE
DAHL, CRAIG                         ADDRESS ON FILE
DAHL, JAMES                         ADDRESS ON FILE
DAHL, JOHN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 465 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 474 of 2156

Claim Name                           Address Information
DAHL, JOSHUA                         ADDRESS ON FILE
DAHL, WILLIAM                        ADDRESS ON FILE
DAHLAK TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAHLBERG, BRENT A                    ADDRESS ON FILE
DAHLE NORTH AMERICA INC              ATTN: SHIPPING 49 VOSE FARM RD PETERBOROUGH NH 03458
DAHLKE TRAILER SALES INC             8170 HICKORY ST NE FRIDLEY MN 55432
DAHME MECHANICAL INDUSTRIES INC      610 S ARTHUR AVE ARLINGTON HEIGHTS IL 60005
DAHMS, MARK                          ADDRESS ON FILE
DAHNERT, TIMOTHY                     ADDRESS ON FILE
DAI TILE CORPORATION                 ATTN TRANSPORTATION, 7834 CF HAWN FRWY DALLAS TX 75217
DAIANA DIAZ                          ADDRESS ON FILE
DAIDO CORPORATION                    ATTN: BROOKE FLEMING 1031 FRED WHITE BLVD PORTLAND TN 37148
DAIGNEAULT, JAMES                    ADDRESS ON FILE
DAIKIN COMFORT                       4800 S ZERO ST FT SMITH AR 72901
DAIKIN COMFORT TECHNOLOGIES          PO BOX 660063 DALLAS TX 75266
DAIKIN COMFORT TECHNOLOGIES          ATTN: ACCOUNTING PO BOX 660063 DALLAS TX 75266-0063
DAIKIN COMFORT TECHNOLOGY            ATTN: RAY LIEBENGUTH 760 MOORE RD AVON LAKE OH 44012
DAIKIN COMFORT TECHNOLOGY            ATTN: KEVIN BARCLAY 4750 LANG AVE MCCLELLAN CA 95652
DAILEY, DENNIS                       ADDRESS ON FILE
DAILEY, KEITH                        ADDRESS ON FILE
DAILEY, LON                          ADDRESS ON FILE
DAILEY, MICHAEL                      ADDRESS ON FILE
DAILEY, WILLIAM                      ADDRESS ON FILE
DAILY LOGISTICS CORP                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DAILY LOGISTICS INC                  OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
DAILY ROBERT LOGISTIC INC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
DAILY SOLUTIONS LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAILY TRANSPORTATION                 OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
DAILY TRANSPORTATION                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DAILY TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAILY TRUCKING LLC                   OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
DAILY, LORRE K                       ADDRESS ON FILE
DAILY, PAMELA                        ADDRESS ON FILE
DAILY, SAM                           ADDRESS ON FILE
DAIMLER LOGISTICS INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
DAIMLER TRUCK FINANCIAL SERVICES     14372 HERITAGE PKWY SUITE 400 FORT WORTH TX 76177
DAIMLER TRUCKS NA                    JOHN OLEARY, PRESIDENT & CEO 4555 NORTH CHANNEL AVENUE PORTLAND OR 97217
DAIMLER TRUCKS NORTH AMERICA         14444 LEAR BLVD RENO NV 89506
DAIMLER TRUCKS OF NORTH AMERIC       2510 MILL CENTER PKWY STE 100 BUFORD GA 30518
DAIN WRIGHT                          ADDRESS ON FILE
DAIN, RICHARD                        ADDRESS ON FILE
DAINES, JOHN                         ADDRESS ON FILE
DAINS TRUCKING                       OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DAIOHS FIRST CHOICE SERVICES         4680 PELL DRIVE, UNIT A DEL PASO HEIGHTS CA 95838
DAISY NAIL PRODUCTS                  ATTN: LUCAS 3335 E LA PALMA AVE ANAHEIM CA 92806
DAISY NAIL PRODUCTS                  ATTN: MR. LOC 3335 E LA PALMA AVE ANAHEIM CA 92806
DAISY TRUCKING INC                   7252 ARCHIBALD AVE UNIT 137 RANCHO CUCAMONGA CA 91701
DAIWA DISTRIBUTION B C INC           165-4611 VIKING WAY RICHMOND BC V6V 2K9 CANADA
DAIWA DISTRIBUTION B C INC           ATTN: FRED KWOK 4611 VIKING WAY, UNIT 165 RICHMOND BC V6V 2K9 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 466 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 475 of 2156

Claim Name                              Address Information
DAK EXPRESS LLC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DAK LOGISTICS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DAK TRANSPORT INC                      OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
DAK-SEN LOGISTICS LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DAKAR RALLY XPRESS                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAKODA H HOFFMAN                       ADDRESS ON FILE
DAKOHTA OFS LLC                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DAKOTA CARRIERS, INC.                  P. O. BOX 84907 SIOUX FALLS SD 57118
DAKOTA CNTY PROPERTY TAXATION & RECORDS 1590 HIGHWAY 55 HASTINGS MN 55033
DAKOTA EXPRESS TRANSPORTATION, INC.    P.O. BOX 3453 RAPID CITY SD 57709
DAKOTA FENCE                           1110 25TH AVE N, PO BOX 1408 FARGO ND 58107
DAKOTA FIRE EXTINGUISHERS INC          5100 S BROADWAY MINOT ND 58701
DAKOTA FIRE STATION INC                820 AIRPORT ROAD BISMARCK ND 58504
DAKOTA ICF LLC                         47012 85TH ST SIOUX FALLS SD 57106
DAKOTA SUPPLY GROUP                    3021 E BROADWAY AVE BISMARCK ND 58501
DAKOTALAND TRANSPORTATION INC.         PO BOX 84038 SIOUX FALLS SD 57118
DAL EXPRESS                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DAL EXPRESS LLC                        OR COMMERCE COMMERCIAL CREDIT INC PO BOX 88714 MILWAUKEE WI 53288-8714
DAL FARRA CO INC                       ATTN: JUDITH DAL FARRA 1465 NW 97TH AVE MIAMI FL 33172
DAL FREIGHT LLC                        1155 S HAVANA ST UNIT 11-381 AURORA CO 80012-4017
DAL LEASING. LTD                       250 FM 2021 LUFKIN TX 75901
DAL TILE                               ATTN: MIKE LUNDSTEDT 11510 W EXECUTIVE DRIVE BOISE ID 83713
DAL TILE CORP                          7834 C F HAWN FWY DALLAS TX 75217
DAL TILE CORP                          ATTN TRANSPORTATION 7834 CF HAWN FREEWAY DALLAS TX 75217
DAL TILE CORPORATION                   7834 C.F. HAWN FRWY DALLAS TX 75217
DAL TILE CORPORATION                   ATTN: MONICA VASQUEZ 7834 C.F. HAWN FRWY DALLAS TX 75217
DALA, DALA                             ADDRESS ON FILE
DALAGUIT, JEAMS                        ADDRESS ON FILE
DALAMAIN LANDSCAPING                   3002 S TIBBS AVE. INDIANAPOLIS IN 46221
DALAN TRUCKING, INC.                   PO BOX 5075 FITZGERALD GA 31750
DALANA LLC                             OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
DALBEY, JON T                          ADDRESS ON FILE
DALE A DAVIS                           ADDRESS ON FILE
DALE B DURLAND                         ADDRESS ON FILE
DALE BURGY                             ADDRESS ON FILE
DALE CURTIS REEVES                     ADDRESS ON FILE
DALE E REED                            ADDRESS ON FILE
DALE MARSH                             ADDRESS ON FILE
DALE METAL FABRICATORS INC             PO BOX 434 DALE IN 47523
DALE TILE CORP                         ATTN TRANSPORTATION 7834 CF HAWN FREEWAY DALLAS TX 75217
DALE ZAWACKI                           ADDRESS ON FILE
DALE, BRANDON                          ADDRESS ON FILE
DALE, CINDY                            ADDRESS ON FILE
DALE, GUY                              ADDRESS ON FILE
DALE, JESSICA                          ADDRESS ON FILE
DALE, JOHNNY                           ADDRESS ON FILE
DALE, SHERRI                           ADDRESS ON FILE
DALE, WALTER                           ADDRESS ON FILE
DALES MAINTENANCE                      3423 LEES LANE LOUISVILLE KY 40216



Epiq Corporate Restructuring, LLC                                                                  Page 467 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 476 of 2156

Claim Name                          Address Information
DALESSANDRO, TOBY                   ADDRESS ON FILE
DALEY JR., EDWARD                   ADDRESS ON FILE
DALEY, PAUL                         ADDRESS ON FILE
DALEY, TERRY                        ADDRESS ON FILE
DALEY, TINNA                        ADDRESS ON FILE
DALEY, YOUVIN                       ADDRESS ON FILE
DALEYS PLUMBING INC                 PO BOX 1601 MASON CITY IA 50402
DALFONZO, MARK                      ADDRESS ON FILE
DALIA TRUCKING LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
DALIPE, JOE                         ADDRESS ON FILE
DALKA TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DALKO RESOURCES                     ATTN: DAVID HAST PO BOX 98 SHARPSVILLE PA 16150
DALKO RESOURCES                     PO BOX 98 SHARPSVILLE PA 16150
DALLA TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DALLAS CARGO LLC                    OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
DALLAS COUNTY                       C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 2777 N STEMMONS FWY, STE 1000 DALLAS
                                    TX 75207
DALLAS COUNTY                       1201 ELM STREET SUITE 2600 DALLAS TX 75270
DALLAS COUNTY                       TAX ASSESSOR COLLECTOR PO BOX 139066 DALLAS TX 75313
DALLAS DAVIS                        ADDRESS ON FILE
DALLAS EXPRESS FREIGHT              2001 ROSS AVE. DALLAS TX 75201
DALLAS L SMITH                      ADDRESS ON FILE
DALLAS POWER SPORTS                 11937 DENTON DR STE 101 DALLAS TX 75234
DALLAS R MARLENEE                   ADDRESS ON FILE
DALLAS SECURITY SYSTEM INC          PO BOX 550939 DALLAS TX 75355
DALLAS TRUCKING LLC                 OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                    76116
DALLAS, DONNA                       ADDRESS ON FILE
DALLAS, MR.                         ADDRESS ON FILE
DALLAS, ROBERT                      ADDRESS ON FILE
DALLAS, TEDDY                       ADDRESS ON FILE
DALLER, JOHN V                      ADDRESS ON FILE
DALLESPORT FOUNDRY                  102 PARALLEL AVE DALLESPORT WA 98617
DALLESSANDRO, JOY                   ADDRESS ON FILE
DALLI TRUCKING INC                  PO BOX 305 HALES CORNERS WI 53130
DALLIN LANSON SIDDOWAY              ADDRESS ON FILE
DALLIS TRANSPORT LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DALLMAN, JACKIE                     ADDRESS ON FILE
DALLY, ROBERT                       ADDRESS ON FILE
DALMAR EXPRESS LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DALMAS, WARREN                      ADDRESS ON FILE
DALMONT LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DALOR TRANSIT, INC.                 6005 WEST RYAN FRANKLIN WI 53132
DALRYMPLE, MATTHEW                  ADDRESS ON FILE
DALRYMPLE, STEPHANIE                ADDRESS ON FILE
DALTON EXPRESS LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
DALTON G HEALEY                     ADDRESS ON FILE
DALTON LOGISTICS, INC.              4045 LAKEFRONT CT. EARTH CITY MO 63045
DALTON TRAILER SERVICE              1816 ABUTMENT ROAD DALTON GA 30721



Epiq Corporate Restructuring, LLC                                                                Page 468 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 477 of 2156

Claim Name                               Address Information
DALTON, CHARLES M                        ADDRESS ON FILE
DALTON, DANA                             ADDRESS ON FILE
DALTON, DEMARCO                          ADDRESS ON FILE
DALTON, ERICA                            ADDRESS ON FILE
DALTON, JACOB                            ADDRESS ON FILE
DALTON, JOHN                             ADDRESS ON FILE
DALTON, KARL                             ADDRESS ON FILE
DALTON, MARTIN                           ADDRESS ON FILE
DALTON, TIMOTHY                          ADDRESS ON FILE
DALTON, TRAVIS                           ADDRESS ON FILE
DALTON, WILLIAM                          ADDRESS ON FILE
DALWADI, TANISHA                         ADDRESS ON FILE
DALY TRUCKING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DALY, CARLA                              ADDRESS ON FILE
DALY, RICHARD                            ADDRESS ON FILE
DAM LOGISTICS INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DAM, BRIAN                               ADDRESS ON FILE
DAM, GREGORY                             ADDRESS ON FILE
DAMA TRUCKING GROUP INC                  OR CROSSROAD SERVICES LLC PO BOX 653076 DALLAS TX 75265-3076
DAMAC TRUCKING LLC                       OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DAMACO ELECTRICAL SERVICES               1131 SW 85TH AVE PEMBROKE PINES FL 33025
DAMAGE RECOVERY                          PO BOX 801988 KANSAS CITY MO 64180
DAMAGE RECOVERY                          PO BOX 843369 KANSAS CITY MO 64184
DAMAN, MICHAEL                           ADDRESS ON FILE
DAMAR TOWING CORP                        3022 N CAPITOL AVE PASCO WA 99301
DAMARC QUALITY INSPECTION SERVICES LLC   PO BOX 475 NEW RICHMOND WI 54017
DAMASCUS ROAD TRANSPORTATION LLC         PO BOX 23510 BARLING AR 72923
DAMBROISE, BRADLEY                       ADDRESS ON FILE
DAMBROSIO, DOMINICK                      ADDRESS ON FILE
DAMCON LOGISTICS                         OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
DAME, JAMES                              ADDRESS ON FILE
DAMERON, KEN                             ADDRESS ON FILE
DAMIAN TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DAMICO, FRANK                            ADDRESS ON FILE
DAMIN H DEROSIER                         ADDRESS ON FILE
DAMIRON TRUCKING SERVICES                PO BOX 707 FREMONT IN 46737
DAMIS, JOHN                              ADDRESS ON FILE
DAMM JR, RODNEY R                        ADDRESS ON FILE
DAMMANN, MARK                            ADDRESS ON FILE
DAMON FREEMAN                            ADDRESS ON FILE
DAMON JACKSON                            ADDRESS ON FILE
DAMON, CLAYTON                           ADDRESS ON FILE
DAMON, JEROMIE                           ADDRESS ON FILE
DAMONTAY N WASHINGTON                    ADDRESS ON FILE
DAMORE, FRANK W                          ADDRESS ON FILE
DAMORFE TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DAMP-R SERVICES LTD                      6 SWITCHBACK TRAIL BRAMPTON ON L6R 3H1 CANADA
DAMPER, HERBERT                          ADDRESS ON FILE
DAMR TRANSPORT                           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                    Page 469 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 478 of 2156

Claim Name                               Address Information
DAMRATH, EDWARD                          ADDRESS ON FILE
DAMROW, DAVID                            ADDRESS ON FILE
DAMS TRANSPORTATION CORP                 OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
DAMY ENTERPRISE LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DAN AMORELLO SERVICES INC                1069 MILLBURY STREET WORCESTER MA 01607
DAN BUBURUZ                              ADDRESS ON FILE
DAN DROPESKI, LLC                        6508 LEPPEK RD RUTH MI 48470
DAN FELDKAMP                             ADDRESS ON FILE
DAN GABON                                ADDRESS ON FILE
DAN M ISTRE                              ADDRESS ON FILE
DAN MIJAILOVIC TRANSPORT INC             7743 CHERRY TREE LN WILLOWBROOK IL 60527
DAN MILLER TRUCKING                      2935 OH-93 SUGARCREEK OH 44681
DAN MOSS                                 ADDRESS ON FILE
DAN SPEED LLC                            OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DAN WHEELER WRECKER SERVICE              PO BOX 10340 HOUSTON TX 77206
INCORPORATED
DAN YOST                                 ADDRESS ON FILE
DANA CONTAINER                           11430 RUSSELL ST. DETROIT MI 48211
DANA GLOBAL LOGISTICS                    ATTN: BEV SCHRADER 2102 WEST STATE BLVD FT WAYNE IN 46808
DANA ST GERMAIN                          ADDRESS ON FILE
DANA TRANSPORT LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DANA, LORING                             ADDRESS ON FILE
DANAB LOGISTICS LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DANAHER, SUSAN                           ADDRESS ON FILE
DANAYA TRUCKING LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DANBOISE, THOMAS                         ADDRESS ON FILE
DANBRIDGE ENTERPRISES LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DANBRO LOGISTICS INC                     114 CRESTVIEW DR SINKING SPRING PA 19608
DANCE LOGISTICS LLC                      OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197
DANCER, ERIC                             ADDRESS ON FILE
DANCH, TIMOTHY                           ADDRESS ON FILE
DANCY, CHARLES                           ADDRESS ON FILE
DANDAN FREIGHT LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DANDD SERVICES PLUS LLC                  OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
DANDOY, ERNEST                           ADDRESS ON FILE
DANDREA, EDWARD                          ADDRESS ON FILE
DANDREA, JAMMY                           ADDRESS ON FILE
DANDRIDGE, ASIM                          ADDRESS ON FILE
DANDY TREE SERVICE                       3376 IVEY POINT RD GOODLETTSVILLE TN 37072
DANE & ASSOCIATES ELECTRIC CO INC        4721 SW 18TH ST OKLAHOMA CITY OK 73128
DANE A HOYT                              ADDRESS ON FILE
DANE COUNTY CLERK CIRCUIT CRT            COURTHOUSE ROOM 1000, 215 S HAMILTON ST MADISON WI 53703
DANELL RAE GRAZIANO& PEDRO LUIS DAVILA   ADDRESS ON FILE
DANFOSS                                  2425 W. MICHIGAN AVE. JACKSON MI 49201
DANG, CHARLEY                            ADDRESS ON FILE
DANG, PHONG                              ADDRESS ON FILE
DANG, RODNEY                             ADDRESS ON FILE
DANG, TUAN                               ADDRESS ON FILE
DANGELO, ERNEST                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 470 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 479 of 2156

Claim Name                           Address Information
DANGERFIELD, TIMOTHY                 ADDRESS ON FILE
DANGERS, RICKY                       ADDRESS ON FILE
DANGIS, MATEO                        ADDRESS ON FILE
DANICK, JASON                        ADDRESS ON FILE
DANIEL A FRIZZELL                    ADDRESS ON FILE
DANIEL A HINES                       ADDRESS ON FILE
DANIEL A HYMAN                       ADDRESS ON FILE
DANIEL A SAKADEL                     ADDRESS ON FILE
DANIEL A SKADAL                      ADDRESS ON FILE
DANIEL BIGGS                         ADDRESS ON FILE
DANIEL BRIAN STIMPSON                ADDRESS ON FILE
DANIEL C GRIMES                      ADDRESS ON FILE
DANIEL C KLING                       ADDRESS ON FILE
DANIEL CALKINS                       ADDRESS ON FILE
DANIEL CHRISTOPHER DEVLIN JR         ADDRESS ON FILE
DANIEL CLOYD                         ADDRESS ON FILE
DANIEL D GENTILUCCI                  ADDRESS ON FILE
DANIEL DESINDES                      ADDRESS ON FILE
DANIEL E PROUGH                      ADDRESS ON FILE
DANIEL G DEWICK                      ADDRESS ON FILE
DANIEL G PORTER                      ADDRESS ON FILE
DANIEL G ZUPANCIC                    ADDRESS ON FILE
DANIEL GIESBRECHT                    ADDRESS ON FILE
DANIEL GROUND INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DANIEL GUERIN                        ADDRESS ON FILE
DANIEL H BORNSTEIN                   ADDRESS ON FILE
DANIEL J ENGLERT                     ADDRESS ON FILE
DANIEL J KOVALICK                    ADDRESS ON FILE
DANIEL J PITTI                       ADDRESS ON FILE
DANIEL L CROWE                       ADDRESS ON FILE
DANIEL L GRAHAM                      ADDRESS ON FILE
DANIEL L JARNIGAN                    ADDRESS ON FILE
DANIEL L RIBBE TRUCKING INC          PO BOX 173 BISMARCK IL 61814
DANIEL LANDA BALTAZAR                ADDRESS ON FILE
DANIEL M BATZ                        ADDRESS ON FILE
DANIEL M PRINCE                      ADDRESS ON FILE
DANIEL MARTINEZ                      ADDRESS ON FILE
DANIEL MARTINEZ                      ADDRESS ON FILE
DANIEL MCCLURE                       ADDRESS ON FILE
DANIEL OLSEN BUILDING LUMBER         815 W. BLACKHAWK ST. SIOUX FALLS SD 57104
DANIEL P CALALUCE                    ADDRESS ON FILE
DANIEL P DANAHER                     ADDRESS ON FILE
DANIEL S GEISELHART                  ADDRESS ON FILE
DANIEL S NOLAN                       ADDRESS ON FILE
DANIEL STEPHENS                      ADDRESS ON FILE
DANIEL TORRES                        ADDRESS ON FILE
DANIEL TRANSPORT                     OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
DANIEL TRANSPORT LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DANIEL TRUCKING INTERNATIONAL INC    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                Page 471 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 480 of 2156

Claim Name                           Address Information
DANIEL USED AUTO SALES LLC           4154 MOUNT TABOR CHURCH RD DALLAS GA 30157
DANIEL W SPERA                       ADDRESS ON FILE
DANIEL W YORK                        ADDRESS ON FILE
DANIEL WANSING                       ADDRESS ON FILE
DANIEL WILLIAMS                      ADDRESS ON FILE
DANIEL YANNICK FONTAINE              ADDRESS ON FILE
DANIEL YRUEGAS                       ADDRESS ON FILE
DANIEL Z YOST                        ADDRESS ON FILE
DANIEL, BRANDON                      ADDRESS ON FILE
DANIEL, BRYAN                        ADDRESS ON FILE
DANIEL, CLIFTON                      ADDRESS ON FILE
DANIEL, GARY                         ADDRESS ON FILE
DANIEL, LARRY                        ADDRESS ON FILE
DANIEL, ROBIN                        ADDRESS ON FILE
DANIEL, STEVEN                       ADDRESS ON FILE
DANIELE FERLAND                      ADDRESS ON FILE
DANIELEY WRECKER, LLC                1454 ATHENS ROAD PRINCETON WV 24740
DANIELI INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DANIELL, MIKE                        ADDRESS ON FILE
DANIELLE MCMILLEN                    ADDRESS ON FILE
DANIELS II, TOMMY                    ADDRESS ON FILE
DANIELS JR, JOE                      ADDRESS ON FILE
DANIELS TIRE SERVICE                 11850 E. SLAUSON AVE. SANTA FE SPRINGS CA 90670
DANIELS TIRE SERVICE                 PO BOX 3708 SANTA FE SPRINGS CA 90670
DANIELS, ANTONIO                     ADDRESS ON FILE
DANIELS, APRIL                       ADDRESS ON FILE
DANIELS, ASHLEY                      ADDRESS ON FILE
DANIELS, BRANDON                     ADDRESS ON FILE
DANIELS, BRIAN                       ADDRESS ON FILE
DANIELS, BRIAN                       ADDRESS ON FILE
DANIELS, BURKE                       ADDRESS ON FILE
DANIELS, CAMERON                     ADDRESS ON FILE
DANIELS, CHAD                        ADDRESS ON FILE
DANIELS, CHARLES                     ADDRESS ON FILE
DANIELS, CHRISTOPHER                 ADDRESS ON FILE
DANIELS, DANNY                       ADDRESS ON FILE
DANIELS, DARRYL                      ADDRESS ON FILE
DANIELS, DAVID                       ADDRESS ON FILE
DANIELS, DERRICK                     ADDRESS ON FILE
DANIELS, DEVIN                       ADDRESS ON FILE
DANIELS, DWAYNE                      ADDRESS ON FILE
DANIELS, FERRIS                      ADDRESS ON FILE
DANIELS, FREDERICK                   ADDRESS ON FILE
DANIELS, HAROLD                      ADDRESS ON FILE
DANIELS, JAMES                       ADDRESS ON FILE
DANIELS, JAMES                       ADDRESS ON FILE
DANIELS, JAMES D                     ADDRESS ON FILE
DANIELS, JEAN                        ADDRESS ON FILE
DANIELS, JESSE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 472 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 481 of 2156

Claim Name                          Address Information
DANIELS, JONATHAN                   ADDRESS ON FILE
DANIELS, KAYLA                      ADDRESS ON FILE
DANIELS, LAQUANA                    ADDRESS ON FILE
DANIELS, LARRY                      ADDRESS ON FILE
DANIELS, LORI                       ADDRESS ON FILE
DANIELS, LOUIS                      ADDRESS ON FILE
DANIELS, MARK                       ADDRESS ON FILE
DANIELS, MAURICE                    ADDRESS ON FILE
DANIELS, MILES                      ADDRESS ON FILE
DANIELS, RAHZEL                     ADDRESS ON FILE
DANIELS, ROBERT                     ADDRESS ON FILE
DANIELS, ROBERT                     ADDRESS ON FILE
DANIELS, ROYZELL                    ADDRESS ON FILE
DANIELS, SCOTTIE                    ADDRESS ON FILE
DANIELS, TAHJ                       ADDRESS ON FILE
DANIELS, THOMAS                     ADDRESS ON FILE
DANIELS, TODD                       ADDRESS ON FILE
DANIELS, TOMMIE                     ADDRESS ON FILE
DANIELS, TROY                       ADDRESS ON FILE
DANIELS, WAYNE                      ADDRESS ON FILE
DANIELSON, GLEN A                   ADDRESS ON FILE
DANIELSON, JULIE                    ADDRESS ON FILE
DANIELSON, MICHAEL                  ADDRESS ON FILE
DANIELSON, ZANE                     ADDRESS ON FILE
DANIELSSEN, CHRISTOPHER             ADDRESS ON FILE
DANILKO INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DANILOVIC, MILENKO                  ADDRESS ON FILE
DANIOLOWICZ, DOUGLAS P              ADDRESS ON FILE
DANKBAR FREIGHT AND LOGISTICS LLC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DANKERT, KIMBERLY J                 ADDRESS ON FILE
DANKOVIC, SANDRA                    ADDRESS ON FILE
DANLEY, SEMAJ                       ADDRESS ON FILE
DANNA, ELIZABETH                    ADDRESS ON FILE
DANNENBERG, DAVID                   ADDRESS ON FILE
DANNENFELSER, KARL                  ADDRESS ON FILE
DANNENFELSER, KARL                  ADDRESS ON FILE
DANNER, JAMES E                     ADDRESS ON FILE
DANNER, RICKY W                     ADDRESS ON FILE
DANNY BRIGHT                        ADDRESS ON FILE
DANNY D ONEAL                       ADDRESS ON FILE
DANNY G ATKINS                      ADDRESS ON FILE
DANNY HERALD                        ADDRESS ON FILE
DANNY IVEY TRUCKING LLC             OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DANNY LAWSON                        ADDRESS ON FILE
DANNY R RIPLEY                      ADDRESS ON FILE
DANNY RAY TRUCKING LLC              OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
DANNY SHELTON REPAIR SERVICE        262 WANSLEY RD TAYLORS SC 29687
DANNY, LEE                          ADDRESS ON FILE
DANNYS MOBILE EMISSIONS LTD.        36 COVINGTON ST. HAMILTON ON L8E 2Y5 CANADA



Epiq Corporate Restructuring, LLC                                                             Page 473 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 482 of 2156

Claim Name                              Address Information
DANRUSS CONTRACTING INC                600 WEAVER RD WINDSOR ON N9C 0B5 CANADA
DANS ADVANTAGE TOWING & RECOVERY SERVIC PO BOX 27112 KNOXVILLE TN 37927
DANS DIESEL INC.                       7600 HWY 71 S WILLMAR MN 56201
DANS DIESEL TRUCK, INC                 1001 E PIERCE ST MACOMB IL 61455
DANS MOBILE DIESEL SERVICE             PO BOX 31524 AMARILLO TX 79120
DANS TRUCK EQUIPMENT                   8042 FREMONT PIKE PERRYSBURG OH 43551
DANSBY HAULING LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DANSBY, JAMES                          ADDRESS ON FILE
DANSON, MARIUS                         ADDRESS ON FILE
DANTZLER, DENISE                       ADDRESS ON FILE
DANTZLER, JERROD                       ADDRESS ON FILE
DANVILLE MARATHON                      3401 E. MAIN ST DANVILLE IL 61834
DANWAYS EXPRESS, LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DANYO, EDWIN                           ADDRESS ON FILE
DAOUD TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAP LOGISTICS INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DAP LOGISTICS INC                      3101 SOUTH MENDENHALL RD MEMPHIS TN 38115
DAPOLLO, MATTHEW                       ADDRESS ON FILE
DAPTIV SOLUTIONS LLC                   12301 RESEARCH BLVD, PLAZA V, STE 101 AUSTIN TX 78759
DAR & C TRANSPORT LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAR-US INC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DARATHA, BRADLEY                       ADDRESS ON FILE
DARCEY, DOUG                           ADDRESS ON FILE
DARCHE, JUSTIN                         ADDRESS ON FILE
DARCY, JEFF                            ADDRESS ON FILE
DARDEN, CHARMAIN                       ADDRESS ON FILE
DARDEN, IAN                            ADDRESS ON FILE
DARDEN, NORRIS                         ADDRESS ON FILE
DARDEN, ROBERT                         ADDRESS ON FILE
DARDIS, JEFFREY                        ADDRESS ON FILE
DARDIS, ROBERT                         ADDRESS ON FILE
DARE, GREGORY D                        ADDRESS ON FILE
DARFURIAN EXPRESS LLC                  OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                       90074-1791
DARGATZ, DAVID                         ADDRESS ON FILE
DARGIE TRANSPORT LLC                   19028 BRADLEY RD GREGORY MI 48137
DARHOWER, MICHAEL                      ADDRESS ON FILE
DARI LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DARIN P THOMAS                         ADDRESS ON FILE
DARIN TRANSPORT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DARIN, JOSHUA                          ADDRESS ON FILE
DARIN, MICHAEL H                       ADDRESS ON FILE
DARINGER, RALPH                        ADDRESS ON FILE
DARINGER, RALPH                        ADDRESS ON FILE
DARIO DIESEL SERVICE                   182 SOUTHWEST CUTOFF WORCESTER MA 01604
DARIS TRANSPORT CORP                   OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
DARIUN WRIGHT                          ADDRESS ON FILE
DARIUS L WHITE                         ADDRESS ON FILE
DARIUSAWA LLC                          OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187



Epiq Corporate Restructuring, LLC                                                                  Page 474 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 483 of 2156

Claim Name                              Address Information
DARK HORSE FREIGHT INC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
DARK HOUNDS TRANSPORT LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DARKES, COLTON                         ADDRESS ON FILE
DARKSIDE TRUCKING, LTD.                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DARKWA, GEORGE W                       ADDRESS ON FILE
DARL M SPENCER                         ADDRESS ON FILE
DARLENE ARDOIN                         ADDRESS ON FILE
DARLENE BURM                           ADDRESS ON FILE
DARLENE LANCASTE                       ADDRESS ON FILE
DARLING 4 TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DARLING, DANIEL                        ADDRESS ON FILE
DARLING, GREGORY                       ADDRESS ON FILE
DARLING, STEVEN                        ADDRESS ON FILE
DARLING, TOM                           ADDRESS ON FILE
DARLINGTON COUNTY                      131 INDUSTRIAL WAY DARLINGTON SC 29532
DARLINGTON COUNTY                      1 PUBLIC SQ RM 210 DARLINGTON SC 29532
DARLINGTON, DANIEL                     ADDRESS ON FILE
DARMAN TRUCKING LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DARMAT INC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DARNELL HOBSON                         ADDRESS ON FILE
DARNELL II, JOHN W                     ADDRESS ON FILE
DARNELL J STEVENSON                    ADDRESS ON FILE
DARNELL, ANDREW                        ADDRESS ON FILE
DARNELL, CECELIA                       ADDRESS ON FILE
DARNELL, CHERYL                        ADDRESS ON FILE
DARNELL, ERIC                          ADDRESS ON FILE
DARNELL, JENNIFER                      ADDRESS ON FILE
DARNELL, WAYNE                         ADDRESS ON FILE
DARNGAVIL ENTERPRISES LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DAROU SALAM TRANSPORTATION LLC         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DARPOL INC                             DARPOL INC, 967 GRACELAND AVE 3 DES PLAINES IL 60016
DARR EQUIPMENT CO                      P.O BOX 975053 DALLAS TX 75397
DARR EQUIPMENT CO                      5333 WERNER ST HOUSTON TX 77022
DARRAGH, TERRY                         ADDRESS ON FILE
DARRAS, MICHAEL                        ADDRESS ON FILE
DARREN & PAMELA FAMILY TRANSPORTING LLC OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DARREN C HAYES JR                      ADDRESS ON FILE
DARREN F. MCALPINE L.L.C.              ADDRESS ON FILE
DARREN J CUPP                          ADDRESS ON FILE
DARREN L SCOGGINS                      ADDRESS ON FILE
DARREN M BOYD                          ADDRESS ON FILE
DARREN MABON                           ADDRESS ON FILE
DARREN YES TRUCKING                    3100 BIG DALTON AVE STE170 218 BALDWIN PARK CA 91706
DARRICK BRUCE                          ADDRESS ON FILE
DARRIN J EALES                         ADDRESS ON FILE
DARRIUS L JAMES                        ADDRESS ON FILE
DARROMAN TRUCK, INC.                   OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
DARRON CHRISTENSEN TRUCKING COMPANY    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DARRON L RUFFIN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 475 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 484 of 2156

Claim Name                              Address Information
DARROW, SUSAN                          ADDRESS ON FILE
DARRYL R BASLER                        ADDRESS ON FILE
DARRYL SULLIVAN                        ADDRESS ON FILE
DART CONTAINER                         500 HOGSBACK RD MASON MI 48854
DART DAVID A REED TRANSPORT            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DART TRANS. NV, LLC                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
DART TRANS. NV, LLC                    4730 S FORT APACHE RD SUITE300 LAS VEGAS NV 89147
DART, JERRY                            ADDRESS ON FILE
DARTCO TRANSMISSION SALES & SERVICE INC P O BOX 2384 INDIANAPOLIS IN 46206
DARTEZ JR, DALLAS                      ADDRESS ON FILE
DARVEZ D JONES                         ADDRESS ON FILE
DARVILLE, ROBERT                       ADDRESS ON FILE
DARWIN B MANNS                         ADDRESS ON FILE
DARWIN L PERALTA                       ADDRESS ON FILE
DARWIN ORO                             ADDRESS ON FILE
DARYLS MOBILE SERVICE LLC              1717 E MAPLE ST MAQUOKETA IA 52060
DARYOUSH R PALMER                      ADDRESS ON FILE
DAS CARRIER INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAS COMPANIES                          ATTN: JOHNATHAN IMBODEN 891 GARVIN LN FRANKLIN KY 42134
DAS EXPRESS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DAS LOGISTICS LLC                      OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
DAS TRUCKING LLC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
DAS, ARCHANA                           ADDRESS ON FILE
DASG TRUCKING INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DASH DELIVERY, INC                     PO BOX 4334 MEDFORD OR 97501
DASH EXPRESS                           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DASH FORTH LLC                         1175 S MERIDIAN PARK RD, STE D SALT LAKE CITY UT 84104
DASH N REPAIRS LLC                     8113 SISSONVILLE DR, SUITE B CHARLESTON WV 25320
DASH N REPAIRS LLC                     2201 B 6TH AVE CHARLESTON WV 25387
DASH TRANS LLC                         OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DASH TRANSPORTATION & LOGISTICS LLC    2580 SE 1ST AVE, LOT 101 OCALA FL 34471
DASH TRANSPORTATION, LLC               P.O. BOX 1302 WYTHEVILLE VA 24382
DASHAN TRUCKING LLC                    OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DASHKIN LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
DASHMESH TRUCKING                      7935 MISTY SHORE DRIVE WEST CHESTER OH 45069
DASHMESH TRUCKING LLC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DASIC EXPRESS                          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
DASILVA, HELDER                        ADDRESS ON FILE
DASILVA, KEVIN                         ADDRESS ON FILE
DASMESH TRANSPORT INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DASSAULT SYSTEMES AMERICAS CORP.       PO BOX 415728 BOSTON MA 02241
DAT LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAT SOLUTIONS, LLC                     DAT SOLUTIONS 3801, PO BOX 8500 PHILADELPHIA PA 19178
DAT SOLUTIONS, LLC                     PO BOX 783801 PHILADELPHIA PA 19178
DAT TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAT WAY TRANSPORTATION LLC             PO BOX 673331 MARIETTA GA 30006
DATA VIEW LLC                          8612 N EASTERN AVE KANSAS CITY MO 64157
DATA, JEFFREY                          ADDRESS ON FILE
DATA2LOGISTICS                         PO BOX 61050 FORT MYERS FL 33906



Epiq Corporate Restructuring, LLC                                                                   Page 476 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 485 of 2156

Claim Name                           Address Information
DATADEEN, UDHOO                      ADDRESS ON FILE
DATAJO TRUCKING LLC                  OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
DATASHIELD AN ADT COMPANY            1475 N SCOTTSDALE RD STE 410 SCOTTSDALE AZ 85257
DATASITE LLC                         733 MARQUETTE AVE STE 600 MINNEAPOLIS MN 55402
DATASPAN HOLDINGS INC                PO BOX 671356 DALLAS TX 75267
DATATRONICS, INC                     7228 HERTER INDUSTRIAL DR. GODFREY IL 62035
DATCHERS TRANSPORT, LLC              OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                     35246-2659
DATELINE PRODUCTS INC                1375 E BASE LINE ST STE B SAN BERNARDINO CA 92410
DATEMA, RAYMOND                      ADDRESS ON FILE
DATONG INTERNATIONAL, INC            PO BOX 4691 HAYWARD CA 94540
DATOUSH, ROGER                       ADDRESS ON FILE
DATS ALL FOLKES TRUCKING LLC         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DATTLER, MICHELLE                    ADDRESS ON FILE
DATWAY TRUCKING                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DAUGHERTY, ALLEN                     ADDRESS ON FILE
DAUGHERTY, ALLEN                     ADDRESS ON FILE
DAUGHERTY, CHRIS                     ADDRESS ON FILE
DAUGHERTY, DAVID                     ADDRESS ON FILE
DAUGHERTY, ELI                       ADDRESS ON FILE
DAUGHERTY, JACOB                     ADDRESS ON FILE
DAUGHERTY, JAMES                     ADDRESS ON FILE
DAUGHERTY, MICHAEL                   ADDRESS ON FILE
DAUGHERTY, MICHAEL                   ADDRESS ON FILE
DAUGHERTY, NORMAN E                  ADDRESS ON FILE
DAUGHERTY, NORMAN E                  ADDRESS ON FILE
DAUGHTERY, BRENT                     ADDRESS ON FILE
DAUGHTRIDGE OIL CO.                  PO BOX 593 ROCKY MOUNT NC 27802
DAUGHTRY, EDWARD                     ADDRESS ON FILE
DAUNTLESS ULC                        D/B/A: ACHERON LAND HOLDINGS ULC C/O CROWN ENTERPRISES, 12225 STEPHENS RD
                                     WARREN MI 48089
DAUPHIN COUNTY TREASURER             911 GIBSON BLVD STEELTON PA 17113
DAURIA, PAUL                         ADDRESS ON FILE
DAURIE, ALAN                         ADDRESS ON FILE
DAV LOGISTICS INC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
DAVALOS & CANTEROS LLC               OR FACTORING EXPRESS LLC PO BOX 150205 OGDEN UT 84415
DAVALOS, AVELINO                     ADDRESS ON FILE
DAVALOS, FRANCISCO                   ADDRESS ON FILE
DAVALOS, JESSE                       ADDRESS ON FILE
DAVE A VIRGILITO                     ADDRESS ON FILE
DAVE BATALDEN                        ADDRESS ON FILE
DAVE BATALDEN                        ADDRESS ON FILE
DAVE BROOKS ELECTRIC, INC            P O BOX 95 MINT SPRING VA 24463
DAVE GRAVES                          ADDRESS ON FILE
DAVE K RASMUSSEN                     ADDRESS ON FILE
DAVE KUKER TRUCKING, LLC             OR AMERICAN NATIONAL BANK, PO BOX 3544 OMAHA NE 68103
DAVE LOGISTICS LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DAVE MCCLIMON                        ADDRESS ON FILE
DAVE NEWBERN CONCRETE SERVICES       3101 BROWNS MILL RD, SUITE 6 BOX 137 JOHNSON CITY TN 37604



Epiq Corporate Restructuring, LLC                                                                 Page 477 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 486 of 2156

Claim Name                          Address Information
DAVE R. GRANT HAY, INC.             910 W 24TH ST OGDEN UT 84401
DAVE S FLOEN                        ADDRESS ON FILE
DAVE W MACDONALD                    ADDRESS ON FILE
DAVE W MACDONALD                    ADDRESS ON FILE
DAVEE, BRIAN                        ADDRESS ON FILE
DAVENPORT TOWING & RECOVERY LLC     P. O. BOX 280568 NASHVILLE TN 37228
DAVENPORT TOWING & RECOVERY LLC     190 EASTMAN ROAD MEMPHIS TN 38109
DAVENPORT TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAVENPORT, CARRIE                   ADDRESS ON FILE
DAVENPORT, CHARLES                  ADDRESS ON FILE
DAVENPORT, DAMON                    ADDRESS ON FILE
DAVENPORT, DANIEL                   ADDRESS ON FILE
DAVENPORT, DARYL                    ADDRESS ON FILE
DAVENPORT, GLEN                     ADDRESS ON FILE
DAVENPORT, KIM                      ADDRESS ON FILE
DAVENPORT, SHERRI                   ADDRESS ON FILE
DAVENPORT, STEPHANIE                ADDRESS ON FILE
DAVENPORT, TAROSCI                  ADDRESS ON FILE
DAVENPORT, THOMAS                   ADDRESS ON FILE
DAVER TRANS GROUP, INC              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
DAVES DIESEL REPAIR                 580 E. CERCADO LANE LITCHFIELD PARK AZ 85340
DAVES ELECTRIC SERVICES INC         6650 HIGHLAND RD STE 315 WATERFORD MI 48327
DAVES HEAVY TOWING                  87 OLD CAMPLAIN RD HILLSBOROUGH NJ 08844
DAVES LAWN CARE                     22 WESTRIDGE VILLAGE JACKSON MN 56143
DAVES METRO AUTO GLASS, INC.        2718 W. MCDOWELL RD STE. 12 PHOENIX AZ 85009
DAVES TRANSPORT LLC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
DAVES TRUCK REPAIR, INC.            649 COTTAGE ST. SPRINGFIELD MA 01104
DAVES WRECKER SERVICE, LLC          1888 S. HART STREET, RD VINCENNES IN 47591
DAVEY, DANIEL                       ADDRESS ON FILE
DAVID & JAMIE KLIBANOFF             ADDRESS ON FILE
DAVID A DEWITT                      ADDRESS ON FILE
DAVID A FARR                        ADDRESS ON FILE
DAVID A GALLAWAY                    ADDRESS ON FILE
DAVID A GALLAWAY                    ADDRESS ON FILE
DAVID A GARCIA                      ADDRESS ON FILE
DAVID A GARCIA                      ADDRESS ON FILE
DAVID A HARGROVE                    ADDRESS ON FILE
DAVID A SEVERING                    ADDRESS ON FILE
DAVID A SHREEVE                     ADDRESS ON FILE
DAVID ACEY                          ADDRESS ON FILE
DAVID ADKINS                        ADDRESS ON FILE
DAVID APLIN GROUP                   STE 500, PALLISER SOUTH, 140-10TH AVE SE CALGARY AB T2G 0R1 CANADA
DAVID B WENGER                      ADDRESS ON FILE
DAVID BENEDICT                      ADDRESS ON FILE
DAVID BOLLINGER                     ADDRESS ON FILE
DAVID C GIBSON                      ADDRESS ON FILE
DAVID C HEGENER                     ADDRESS ON FILE
DAVID C KLAGGE                      ADDRESS ON FILE
DAVID C MOORE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 478 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 487 of 2156

Claim Name                           Address Information
DAVID CARTER PLUMBING LLC            140 NORTHRIDGE DR COVINGTON LA 70435
DAVID CATON                          ADDRESS ON FILE
DAVID DIETZ                          ADDRESS ON FILE
DAVID DRUMMONDS                      ADDRESS ON FILE
DAVID E SELLERS                      ADDRESS ON FILE
DAVID EXPRESS LLC                    15511 NE 50TH AVE VANCOUVER WA 98686
DAVID FAUNTLEROY                     ADDRESS ON FILE
DAVID G CANNON                       ADDRESS ON FILE
DAVID G ROBERTS                      ADDRESS ON FILE
DAVID G STANCLIFF                    ADDRESS ON FILE
DAVID GERBER                         ADDRESS ON FILE
DAVID GERBER                         ADDRESS ON FILE
DAVID GIBSON                         ADDRESS ON FILE
DAVID GIBSON                         ADDRESS ON FILE
DAVID H THORBURN                     ADDRESS ON FILE
DAVID HARVISCHAK                     ADDRESS ON FILE
DAVID HIRSCHBERG COMPANY             209-229 LONGWORTH ST., PO BOX 15815 CINCINNATI OH 45215
DAVID J CLUFF                        ADDRESS ON FILE
DAVID J DERRIT                       ADDRESS ON FILE
DAVID J PHILLIPS                     ADDRESS ON FILE
DAVID J RIGOLI                       ADDRESS ON FILE
DAVID J SHORT                        ADDRESS ON FILE
DAVID JAMES KONCSICS                 ADDRESS ON FILE
DAVID K LYMAN                        ADDRESS ON FILE
DAVID K TRANSPORT INC                155 ORANGE PL PASEO 3060 PASADENA CA 91105
DAVID KELLAR                         ADDRESS ON FILE
DAVID KNOTT INC                      4711 N BLYTHE AVE FRESNO CA 93722
DAVID L EASTEP                       ADDRESS ON FILE
DAVID L GRUBBS                       ADDRESS ON FILE
DAVID L MAZAROLI                     ADDRESS ON FILE
DAVID LAMBERT                        ADDRESS ON FILE
DAVID LEWIS                          ADDRESS ON FILE
DAVID LIES PLUMBING INC              1420 S SABIN ST WICHITA KS 67209
DAVID LOPEZ                          ADDRESS ON FILE
DAVID M & ANN B MARSHALL TRUSTEES    ADDRESS ON FILE
DAVID M MATHEWS                      ADDRESS ON FILE
DAVID M MILLER                       ADDRESS ON FILE
DAVID M WISHAW                       ADDRESS ON FILE
DAVID M. AND ANN B. MORSE            ADDRESS ON FILE
DAVID MANPRASERT                     ADDRESS ON FILE
DAVID MANPRASERT                     ADDRESS ON FILE
DAVID MARTINEZ                       ADDRESS ON FILE
DAVID MIELKE                         ADDRESS ON FILE
DAVID MISHLER                        ADDRESS ON FILE
DAVID MUKO                           ADDRESS ON FILE
DAVID OLSON                          ADDRESS ON FILE
DAVID P MIKLOVIC                     ADDRESS ON FILE
DAVID R MOORE                        ADDRESS ON FILE
DAVID R OWENS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 479 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 488 of 2156

Claim Name                               Address Information
DAVID R RATH                             ADDRESS ON FILE
DAVID R RODELA                           ADDRESS ON FILE
DAVID REED                               ADDRESS ON FILE
DAVID RICE                               ADDRESS ON FILE
DAVID ROSS DURST                         ADDRESS ON FILE
DAVID S ROWELL                           ADDRESS ON FILE
DAVID S WALKER                           ADDRESS ON FILE
DAVID SALAZAR                            ADDRESS ON FILE
DAVID SCHULTZ                            ADDRESS ON FILE
DAVID SCROXTON                           ADDRESS ON FILE
DAVID SCROXTON                           ADDRESS ON FILE
DAVID SHUGA                              ADDRESS ON FILE
DAVID STEVENSON TRUCK REPAIR             362 BRUSH CREEK FALLS RD PRINCETON WV 24739
DAVID T KOCHIS                           ADDRESS ON FILE
DAVID T WELCH                            ADDRESS ON FILE
DAVID TRANSPORTATION LLC                 DAVID TRANSPORTATION LLC 6245 RENWICK DR UNIT 4484 HOUSTON TX 77081
DAVID TRANSPORTATION, LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DAVID W DAUGHERTY                        ADDRESS ON FILE
DAVID W KILSON                           ADDRESS ON FILE
DAVID W KLAP                             ADDRESS ON FILE
DAVID W WALKER                           ADDRESS ON FILE
DAVID WARD                               ADDRESS ON FILE
DAVID WENGER                             ADDRESS ON FILE
DAVID WHITE SERVICES                     5315 HEBBARDSVILLE RD. ATHENS OH 45701
DAVID WILBUR FULMER                      ADDRESS ON FILE
DAVID, FRANDON                           ADDRESS ON FILE
DAVID, MARCUS                            ADDRESS ON FILE
DAVID, RUBEN                             ADDRESS ON FILE
DAVID, TREMAYNE                          ADDRESS ON FILE
DAVIDOVSKI, MARTIN                       ADDRESS ON FILE
DAVIDS PROFESSIONAL FIRE SYSTEMS, INC.   PO BOX 39367 PHOENIX AZ 85069
DAVIDSON PROTRUCK INC.                   409 BEARDS LANE WOODSTOCK ON N4S 7W3 CANADA
DAVIDSON SURFACE/AIR, INC.               13930 MISSOURI BOTTOM ROAD BRIDGETON MO 63044
DAVIDSON TRUCK & TRACTOR                 PO BOX 790 MOOSEMIN SK S0G 3N0 CANADA
DAVIDSON TRUCKING, INC.                  DAVIDSON TRUCKING, INC., PO BOX 162 BRADNER OH 43406
DAVIDSON, ANTHONY                        ADDRESS ON FILE
DAVIDSON, BRAD                           ADDRESS ON FILE
DAVIDSON, BRUCE                          ADDRESS ON FILE
DAVIDSON, CHANTELLE                      ADDRESS ON FILE
DAVIDSON, CLARK                          ADDRESS ON FILE
DAVIDSON, CORRIE                         ADDRESS ON FILE
DAVIDSON, DAMON                          ADDRESS ON FILE
DAVIDSON, DENNIS                         ADDRESS ON FILE
DAVIDSON, DENVER                         ADDRESS ON FILE
DAVIDSON, DENVER                         ADDRESS ON FILE
DAVIDSON, ERIC                           ADDRESS ON FILE
DAVIDSON, GARY                           ADDRESS ON FILE
DAVIDSON, HARLEY                         ADDRESS ON FILE
DAVIDSON, JEREMY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 480 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 489 of 2156

Claim Name                              Address Information
DAVIDSON, JONATHAN                     ADDRESS ON FILE
DAVIDSON, KELVIN                       ADDRESS ON FILE
DAVIDSON, MELISSA                      ADDRESS ON FILE
DAVIDSON, MICHAEL                      ADDRESS ON FILE
DAVIDSON, RICHARD                      ADDRESS ON FILE
DAVIDSON, THOMAS                       ADDRESS ON FILE
DAVIDSON, TY                           ADDRESS ON FILE
DAVIDSON, WILLIAM ROBERT               ADDRESS ON FILE
DAVIDSONS ARIZONA                      ADDRESS ON FILE
DAVIE, ADAM                            ADDRESS ON FILE
DAVIES, BRYAN                          ADDRESS ON FILE
DAVIES, CECIL                          ADDRESS ON FILE
DAVIES, DWIGHT                         ADDRESS ON FILE
DAVIES, EDWARD                         ADDRESS ON FILE
DAVIES, JASON                          ADDRESS ON FILE
DAVIES, JOHN                           ADDRESS ON FILE
DAVIES, RICK                           ADDRESS ON FILE
DAVIES, RICO                           ADDRESS ON FILE
DAVIGEADONO, MATTHEW                   ADDRESS ON FILE
DAVILA TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAVILA TRANSPORT SERVICES LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAVILA, ANDREA                         ADDRESS ON FILE
DAVILA, ANDREA                         ADDRESS ON FILE
DAVILA, ANTONIO                        ADDRESS ON FILE
DAVILA, GABRIELA                       ADDRESS ON FILE
DAVILA, HECTOR                         ADDRESS ON FILE
DAVILA, ISAIAH                         ADDRESS ON FILE
DAVILA, JOSE                           ADDRESS ON FILE
DAVILA, JOSE L                         ADDRESS ON FILE
DAVILA, JUAN                           ADDRESS ON FILE
DAVILA, RAFAEL                         ADDRESS ON FILE
DAVILA, RIGOBERTO                      ADDRESS ON FILE
DAVILA, STEPHANIE                      ADDRESS ON FILE
DAVIS & BRYANT CONSTRUCTION LLC        OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DAVIS & GALM LLC                       4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
DAVIS & GREEN ELECTRICAL               P.O.BOX 35418 RICHMOND VA 23235
DAVIS & JONES LLC                      500 MAIN STREET FORT WORTH TX 76102
DAVIS & JORDAN TRANSPORTATION LLC      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DAVIS AND SONS COMPLETE ASPHALT SERVICE 5530 RIVOLI DR MACON GA 31210
DAVIS CARTAGE COMPANY                  230 SLEESEMAN DRIVE CORUNNA MI 48817
DAVIS DOOR SERVICE, INC.               2021 S GRAND ST SEATTLE WA 98144
DAVIS EXPRESS TRANSIT LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DAVIS HOT SHOT TRANSPORT LLC           OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DAVIS JR, SCOTT                        ADDRESS ON FILE
DAVIS POLK & WARDWELL LLP              ATTN: JAMES FLORACK 450 LEXINGTON AVENUE NEW YORK NY 10017
DAVIS ROOFING & CONSTRUCTION           36 INDUSTRIAL RD, ADDISON IL 60101
DAVIS TOWING & RECOVERY, INC.          5709 S SR 3 SPICELAND IN 47385
DAVIS TOWING & RECOVERY, INC.          709 W. 1ST STREET, PO BOX 219 RUSHVILLE IN 46173
DAVIS TOWING & RECOVERY, INC.          PO BOX 219 RUSHVILLE IN 46173



Epiq Corporate Restructuring, LLC                                                                   Page 481 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 490 of 2156

Claim Name                            Address Information
DAVIS TOWING & TIRE LLC               D/B/A: DAVIS TOWING & RECOVERY, INC. PO BOX 219 RUSHVILLE IN 46173
DAVIS TOWING, LLC                     P.O. BOX 609 REIDVILLE SC 29375
DAVIS TOWING, LLC                     PO BOX 609 RIEDVILLE SC 29375
DAVIS TRANSPORT OF ARLINGTON TX LLC   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                      76116
DAVIS TRANSPORT SOLUTIONS LLC         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DAVIS TRUCK REPAIR INC                1853 KENRIC RD LUMBERTON NC 28360
DAVIS TRUCKING CO LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAVIS ULMER INC                       PO BOX 412007 BOSTON MA 02241
DAVIS ULMER INC                       PO BOX 412007 BOSTON MA 02241-2007
DAVIS WATER TREATMENT, INC.           1753 S. CLEVELAND MASSILLON ROAD COPLEY OH 44321
DAVIS, ABRAHAM                        ADDRESS ON FILE
DAVIS, ADAM                           ADDRESS ON FILE
DAVIS, ALEXIS                         ADDRESS ON FILE
DAVIS, ALEXIS                         ADDRESS ON FILE
DAVIS, ALNESHA                        ADDRESS ON FILE
DAVIS, ANDRE                          ADDRESS ON FILE
DAVIS, ANTHONY                        ADDRESS ON FILE
DAVIS, ANTHONY                        ADDRESS ON FILE
DAVIS, ANTHONY                        ADDRESS ON FILE
DAVIS, ANTHONY                        ADDRESS ON FILE
DAVIS, ANTHONY                        ADDRESS ON FILE
DAVIS, ANTOINETTE                     ADDRESS ON FILE
DAVIS, ANTOINETTE                     ADDRESS ON FILE
DAVIS, ANTONIO                        ADDRESS ON FILE
DAVIS, ANTONIO                        ADDRESS ON FILE
DAVIS, ARTHUR                         ADDRESS ON FILE
DAVIS, ASUNTA                         ADDRESS ON FILE
DAVIS, AUSHANAE                       ADDRESS ON FILE
DAVIS, BAJIA                          ADDRESS ON FILE
DAVIS, BRAD                           ADDRESS ON FILE
DAVIS, BRADLEY                        ADDRESS ON FILE
DAVIS, BRANDON                        ADDRESS ON FILE
DAVIS, BRANDON                        ADDRESS ON FILE
DAVIS, BRETT E                        ADDRESS ON FILE
DAVIS, BRUCE                          ADDRESS ON FILE
DAVIS, BRUCE W                        ADDRESS ON FILE
DAVIS, BRYAN                          ADDRESS ON FILE
DAVIS, BRYANT                         ADDRESS ON FILE
DAVIS, BRYDEN                         ADDRESS ON FILE
DAVIS, CALVIN L                       ADDRESS ON FILE
DAVIS, CAMERON                        ADDRESS ON FILE
DAVIS, CARLTON                        ADDRESS ON FILE
DAVIS, CHANDRA                        ADDRESS ON FILE
DAVIS, CHARLES                        ADDRESS ON FILE
DAVIS, CHARLES                        ADDRESS ON FILE
DAVIS, CHARLES                        ADDRESS ON FILE
DAVIS, CHRISTI                        ADDRESS ON FILE
DAVIS, CHRISTIAN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 482 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 491 of 2156

Claim Name                        Address Information
DAVIS, CHRISTOPHER                ADDRESS ON FILE
DAVIS, CHRISTOPHER                ADDRESS ON FILE
DAVIS, CHRISTOPHER                ADDRESS ON FILE
DAVIS, CLARENCE                   ADDRESS ON FILE
DAVIS, CLARENCE                   ADDRESS ON FILE
DAVIS, CLIFFORD                   ADDRESS ON FILE
DAVIS, COLLEEN                    ADDRESS ON FILE
DAVIS, COLUMBUS                   ADDRESS ON FILE
DAVIS, CORTEZ                     ADDRESS ON FILE
DAVIS, CORY                       ADDRESS ON FILE
DAVIS, CRESAL                     ADDRESS ON FILE
DAVIS, CURTECA                    ADDRESS ON FILE
DAVIS, DALE                       ADDRESS ON FILE
DAVIS, DARRELL                    ADDRESS ON FILE
DAVIS, DAVID                      ADDRESS ON FILE
DAVIS, DAVID                      ADDRESS ON FILE
DAVIS, DAVID                      ADDRESS ON FILE
DAVIS, DAVID                      ADDRESS ON FILE
DAVIS, DAWAN                      ADDRESS ON FILE
DAVIS, DERAIS                     ADDRESS ON FILE
DAVIS, DERAIS                     ADDRESS ON FILE
DAVIS, DERRICK                    ADDRESS ON FILE
DAVIS, DION                       ADDRESS ON FILE
DAVIS, DONALD                     ADDRESS ON FILE
DAVIS, DORINDA                    ADDRESS ON FILE
DAVIS, DUAH                       ADDRESS ON FILE
DAVIS, DUANE                      ADDRESS ON FILE
DAVIS, DUSTY                      ADDRESS ON FILE
DAVIS, DWAYNE                     ADDRESS ON FILE
DAVIS, DWAYNE                     ADDRESS ON FILE
DAVIS, ERIC                       ADDRESS ON FILE
DAVIS, ERIC                       ADDRESS ON FILE
DAVIS, ERIC                       ADDRESS ON FILE
DAVIS, EVERETT                    ADDRESS ON FILE
DAVIS, GABRIEL                    ADDRESS ON FILE
DAVIS, GARY                       ADDRESS ON FILE
DAVIS, GEORGE                     ADDRESS ON FILE
DAVIS, GLYNN                      ADDRESS ON FILE
DAVIS, GRANT                      ADDRESS ON FILE
DAVIS, GREGORY                    ADDRESS ON FILE
DAVIS, HARRISON                   ADDRESS ON FILE
DAVIS, HEATHER                    ADDRESS ON FILE
DAVIS, HERMAN                     ADDRESS ON FILE
DAVIS, HOWARD                     ADDRESS ON FILE
DAVIS, ISRAEL                     ADDRESS ON FILE
DAVIS, JACKIE                     ADDRESS ON FILE
DAVIS, JACKSON                    ADDRESS ON FILE
DAVIS, JACOB                      ADDRESS ON FILE
DAVIS, JAHSHUA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 483 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 492 of 2156

Claim Name                         Address Information
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMES                       ADDRESS ON FILE
DAVIS, JAMIR                       ADDRESS ON FILE
DAVIS, JASON                       ADDRESS ON FILE
DAVIS, JASON                       ADDRESS ON FILE
DAVIS, JASON                       ADDRESS ON FILE
DAVIS, JEFFREY                     ADDRESS ON FILE
DAVIS, JEFFREY                     ADDRESS ON FILE
DAVIS, JEFFREY                     ADDRESS ON FILE
DAVIS, JEFFREY                     ADDRESS ON FILE
DAVIS, JEFFREY                     ADDRESS ON FILE
DAVIS, JEREMY                      ADDRESS ON FILE
DAVIS, JESSE                       ADDRESS ON FILE
DAVIS, JOEL                        ADDRESS ON FILE
DAVIS, JOHN                        ADDRESS ON FILE
DAVIS, JOHN                        ADDRESS ON FILE
DAVIS, JOHN                        ADDRESS ON FILE
DAVIS, JOHN                        ADDRESS ON FILE
DAVIS, JOHN                        ADDRESS ON FILE
DAVIS, JOHN                        ADDRESS ON FILE
DAVIS, JOHN WILLIAM                ADDRESS ON FILE
DAVIS, JOHNNY                      ADDRESS ON FILE
DAVIS, JONATHAN                    ADDRESS ON FILE
DAVIS, JOSEPH                      ADDRESS ON FILE
DAVIS, JOSEPH                      ADDRESS ON FILE
DAVIS, JOSIAH                      ADDRESS ON FILE
DAVIS, JOY                         ADDRESS ON FILE
DAVIS, JOYCE                       ADDRESS ON FILE
DAVIS, JUAN                        ADDRESS ON FILE
DAVIS, JUSTIN                      ADDRESS ON FILE
DAVIS, KALIFA                      ADDRESS ON FILE
DAVIS, KEENA                       ADDRESS ON FILE
DAVIS, KELLIE R                    ADDRESS ON FILE
DAVIS, KENNETH                     ADDRESS ON FILE
DAVIS, KEVIN                       ADDRESS ON FILE
DAVIS, KIMBERLY                    ADDRESS ON FILE
DAVIS, LACOTCHA                    ADDRESS ON FILE
DAVIS, LANCE                       ADDRESS ON FILE
DAVIS, LAURA                       ADDRESS ON FILE
DAVIS, LEE                         ADDRESS ON FILE
DAVIS, LINDA                       ADDRESS ON FILE
DAVIS, LIONAL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 484 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 493 of 2156

Claim Name                         Address Information
DAVIS, LISA                        ADDRESS ON FILE
DAVIS, LLEWELLYN                   ADDRESS ON FILE
DAVIS, LLOYD LONDON                ADDRESS ON FILE
DAVIS, MARCUS                      ADDRESS ON FILE
DAVIS, MARIO                       ADDRESS ON FILE
DAVIS, MARK                        ADDRESS ON FILE
DAVIS, MARK                        ADDRESS ON FILE
DAVIS, MARK                        ADDRESS ON FILE
DAVIS, MARY                        ADDRESS ON FILE
DAVIS, MARY                        ADDRESS ON FILE
DAVIS, MATT                        ADDRESS ON FILE
DAVIS, MATTHEW                     ADDRESS ON FILE
DAVIS, MICHAEL                     ADDRESS ON FILE
DAVIS, MICHAEL                     ADDRESS ON FILE
DAVIS, MICHAEL                     ADDRESS ON FILE
DAVIS, MICHAEL                     ADDRESS ON FILE
DAVIS, MICHAEL                     ADDRESS ON FILE
DAVIS, MICHELE                     ADDRESS ON FILE
DAVIS, MITCHELL                    ADDRESS ON FILE
DAVIS, MONICA                      ADDRESS ON FILE
DAVIS, NAOMI                       ADDRESS ON FILE
DAVIS, NICHALAUS                   ADDRESS ON FILE
DAVIS, PAMELA                      ADDRESS ON FILE
DAVIS, PAUL                        ADDRESS ON FILE
DAVIS, RANDALL                     ADDRESS ON FILE
DAVIS, RANDOLPH                    ADDRESS ON FILE
DAVIS, RANDY                       ADDRESS ON FILE
DAVIS, RICHARD                     ADDRESS ON FILE
DAVIS, RICHARD                     ADDRESS ON FILE
DAVIS, RICHARD                     ADDRESS ON FILE
DAVIS, RICKY                       ADDRESS ON FILE
DAVIS, RICKY                       ADDRESS ON FILE
DAVIS, ROBERT                      ADDRESS ON FILE
DAVIS, ROBERT                      ADDRESS ON FILE
DAVIS, ROBIN                       ADDRESS ON FILE
DAVIS, RODDRICK                    ADDRESS ON FILE
DAVIS, RONALD                      ADDRESS ON FILE
DAVIS, RONALD                      ADDRESS ON FILE
DAVIS, RONNEY                      ADDRESS ON FILE
DAVIS, RONNIE                      ADDRESS ON FILE
DAVIS, RONNIE                      ADDRESS ON FILE
DAVIS, RONNIE L                    ADDRESS ON FILE
DAVIS, RUFUS                       ADDRESS ON FILE
DAVIS, RYAN                        ADDRESS ON FILE
DAVIS, SAVION                      ADDRESS ON FILE
DAVIS, SCOTT                       ADDRESS ON FILE
DAVIS, SHAR-TEE                    ADDRESS ON FILE
DAVIS, SHAWN THOMAS                ADDRESS ON FILE
DAVIS, SHELLY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 485 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 494 of 2156

Claim Name                          Address Information
DAVIS, STACY                        ADDRESS ON FILE
DAVIS, STEFAN                       ADDRESS ON FILE
DAVIS, STEVE G                      ADDRESS ON FILE
DAVIS, STEVEN                       ADDRESS ON FILE
DAVIS, STEVEN                       ADDRESS ON FILE
DAVIS, STEVEN                       ADDRESS ON FILE
DAVIS, STEVIE                       ADDRESS ON FILE
DAVIS, TEDDY                        ADDRESS ON FILE
DAVIS, TERRY                        ADDRESS ON FILE
DAVIS, TERRY                        ADDRESS ON FILE
DAVIS, THOMAS                       ADDRESS ON FILE
DAVIS, THOMAS                       ADDRESS ON FILE
DAVIS, THOMAS                       ADDRESS ON FILE
DAVIS, TIMOTHY                      ADDRESS ON FILE
DAVIS, TIMOTHY                      ADDRESS ON FILE
DAVIS, TIMOTHY                      ADDRESS ON FILE
DAVIS, TIMOTHY                      ADDRESS ON FILE
DAVIS, TIMOTHY                      ADDRESS ON FILE
DAVIS, TINA M                       ADDRESS ON FILE
DAVIS, TOBY                         ADDRESS ON FILE
DAVIS, TOM                          ADDRESS ON FILE
DAVIS, TONY                         ADDRESS ON FILE
DAVIS, TONY                         ADDRESS ON FILE
DAVIS, TREVOR                       ADDRESS ON FILE
DAVIS, TREY                         ADDRESS ON FILE
DAVIS, TRISSA                       ADDRESS ON FILE
DAVIS, TYLAN                        ADDRESS ON FILE
DAVIS, TYREK                        ADDRESS ON FILE
DAVIS, TYRONE                       ADDRESS ON FILE
DAVIS, TYRONE                       ADDRESS ON FILE
DAVIS, TYRONE                       ADDRESS ON FILE
DAVIS, VENUS                        ADDRESS ON FILE
DAVIS, VERA                         ADDRESS ON FILE
DAVIS, VERNON                       ADDRESS ON FILE
DAVIS, VICKY                        ADDRESS ON FILE
DAVIS, WALLACE                      ADDRESS ON FILE
DAVIS, WALTER                       ADDRESS ON FILE
DAVIS, WALTER                       ADDRESS ON FILE
DAVIS, WAYNE                        ADDRESS ON FILE
DAVIS, WILLIAM                      ADDRESS ON FILE
DAVIS, WILLIAM                      ADDRESS ON FILE
DAVIS, WILLIAM R                    ADDRESS ON FILE
DAVIS, WILLIAM T                    ADDRESS ON FILE
DAVIS, ZAFONZO                      ADDRESS ON FILE
DAVIS-DOYLE, KAREN                  ADDRESS ON FILE
DAVIS-HARMON, BRENIE                ADDRESS ON FILE
DAVIS-JACKSON, ZANTAYA              ADDRESS ON FILE
DAVIS-LEE, KEECHA                   ADDRESS ON FILE
DAVIS21 TRUCKING LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                               Page 486 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 495 of 2156

Claim Name                             Address Information
DAVISON JR, ROBERT                     ADDRESS ON FILE
DAVISON, ANTON                         ADDRESS ON FILE
DAVISON, ANTON                         ADDRESS ON FILE
DAVISON, GREG                          ADDRESS ON FILE
DAVISON, KEYA                          ADDRESS ON FILE
DAVISON, REGINALD                      ADDRESS ON FILE
DAVISON, REGINALD                      ADDRESS ON FILE
DAVISON, STEPHEN                       ADDRESS ON FILE
DAVISSON, LAYNE                        ADDRESS ON FILE
DAVITT, NICHOLAS                       ADDRESS ON FILE
DAVO DAVO LLC                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DAVOLGA LLC                            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DAVONTA RICHARD GILMORE-TAYLOR         ADDRESS ON FILE
DAVOOTIANS, HIROUS                     ADDRESS ON FILE
DAVOREN, KENNETH                       ADDRESS ON FILE
DAVR GROUP LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DAVY LOGISTICS LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DAVY, BARRY                            ADDRESS ON FILE
DAVY, TRACY                            ADDRESS ON FILE
DAVY, TROY                             ADDRESS ON FILE
DAW TRUCKING ENTERPRISE LLC            OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
DAW TRUCKING LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DAWES, JACYN                           ADDRESS ON FILE
DAWILL EXPRESS LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
DAWIT FREIGHTERS LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DAWIT TRANSPORTATION                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAWKINS JR, WALTER                     ADDRESS ON FILE
DAWKINS, ADRIAN                        ADDRESS ON FILE
DAWKINS, ANTOINE                       ADDRESS ON FILE
DAWKINS, ELMER                         ADDRESS ON FILE
DAWKINS, JOSEPH                        ADDRESS ON FILE
DAWKINS, LANCE                         ADDRESS ON FILE
DAWKINS, LARRY                         ADDRESS ON FILE
DAWKINS, MALICH                        ADDRESS ON FILE
DAWKINS, MICHAEL                       ADDRESS ON FILE
DAWKINS, PATRICK                       ADDRESS ON FILE
DAWN GORDON TRUCKING AND WAREHOUSING   7740 18 ST SE, PO BOX 49088 CALGARY AB T2C 3W5 CANADA
INC
DAWN M KERRUISH                        ADDRESS ON FILE
DAWN POLO                              ADDRESS ON FILE
DAWN R THIELHART                       ADDRESS ON FILE
DAWNS AUTO REPAIR                      681 N LAKE HAVASU AVE LAKE HAVASU CITY AZ 86403
DAWSON AND SONS LOGISTICS LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAWSON INTERNATIONAL INC               ATTN: DENNIS MELKUMOV 3060 IRVING BLVD DALLAS TX 75247
DAWSON LOGISTICS INC                   5909 ALTRADA DR DURHAM NC 27712
DAWSON ROAD TRANSFER                   BOX 164 BLUMENORT MB R0A 0C0 CANADA
DAWSON TRUCK LINES INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAWSON TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DAWSON, CHRISTINA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 487 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 496 of 2156

Claim Name                           Address Information
DAWSON, CLARENCE                     ADDRESS ON FILE
DAWSON, CLARENCE                     ADDRESS ON FILE
DAWSON, COREY                        ADDRESS ON FILE
DAWSON, COREY                        ADDRESS ON FILE
DAWSON, DARRELL                      ADDRESS ON FILE
DAWSON, DAVID                        ADDRESS ON FILE
DAWSON, DAVID                        ADDRESS ON FILE
DAWSON, DENNIS                       ADDRESS ON FILE
DAWSON, GABRIEL                      ADDRESS ON FILE
DAWSON, JEREMY                       ADDRESS ON FILE
DAWSON, KEITH                        ADDRESS ON FILE
DAWSON, KELLY                        ADDRESS ON FILE
DAWSON, LEAH                         ADDRESS ON FILE
DAWSON, LEAH K                       ADDRESS ON FILE
DAWSON, MARLON                       ADDRESS ON FILE
DAWSON, MARLON                       ADDRESS ON FILE
DAWSON, MICHAEL                      ADDRESS ON FILE
DAWSON, RAPHAEL                      ADDRESS ON FILE
DAWSON, RAYMOND                      ADDRESS ON FILE
DAWSON, RICHARD                      ADDRESS ON FILE
DAWSON, RICO                         ADDRESS ON FILE
DAWSON, SIRGEORGE                    ADDRESS ON FILE
DAWSON, STEPHEN                      ADDRESS ON FILE
DAWSON, TAFARI                       ADDRESS ON FILE
DAWSON, THEOPHILLUS                  ADDRESS ON FILE
DAWSON, TRACIE                       ADDRESS ON FILE
DAWSON, TYRONE                       ADDRESS ON FILE
DAX O TERRY                          ADDRESS ON FILE
DAY & ROSS INC                       398 MAIN ST HARTLAND NB E7P 1C6 CANADA
DAY & ROSS INC                       3800 WESTWINDS DR NE CALGARY AB T3J 5H3 CANADA
DAY & ROSS USA, INC.                 OR ROMEO EXPEDITORS, PO BOX 120 ROMEO MI 48065
DAY AND NIGHT EXPRESS INC            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DAY CREEK EXPRESS INC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
DAY LITE MAINTENANCE CO INC          275 S LEWIS ST ORANGE CA 92868
DAY MANAGEMENT CORP.                 PO BOX 22169 MILWAUKIE OR 97269
DAY NIGHT EXPRESS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DAY STAR LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAY TO DAY TRANSPORTATION LLC        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DAY TO DAY TRUCKING                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DAY TRUCKING LLC                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DAY USA TRUCKING INC                 OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DAY&NIGHT TRANSPORTATION LLC         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
DAY, ALOMAUR                         ADDRESS ON FILE
DAY, CHRIS                           ADDRESS ON FILE
DAY, CHRISTINA                       ADDRESS ON FILE
DAY, CURTIS                          ADDRESS ON FILE
DAY, DARREN                          ADDRESS ON FILE
DAY, DAVID                           ADDRESS ON FILE
DAY, DONALD                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 488 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 497 of 2156

Claim Name                           Address Information
DAY, ELBERT                          ADDRESS ON FILE
DAY, JAMES                           ADDRESS ON FILE
DAY, JAMES                           ADDRESS ON FILE
DAY, JOSHUA                          ADDRESS ON FILE
DAY, LEONARD                         ADDRESS ON FILE
DAY, MICHAEL                         ADDRESS ON FILE
DAY, MICHAEL                         ADDRESS ON FILE
DAY, RODNEY B                        ADDRESS ON FILE
DAY, SHAUN                           ADDRESS ON FILE
DAY, WAYNE                           ADDRESS ON FILE
DAYAL LOGISTICS SOLUTIONS LLC        8700 NE 86TH STREET VANCOUVER WA 98662
DAYANS USA TRUCKING LLC              OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                     35246-2659
DAYAS FREIGHT CARRIER LLC            OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
DAYAX EXPRESS LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAYBELL, STEVEN                      ADDRESS ON FILE
DAYBREAK EXPRESS, INC.               500 AVENUE P NEWARK NJ 07105
DAYBREAKER EXPRESS                   3227 DOWNWIND DT MONROE NC 28110
DAYCO HEATING & AIR                  11 N AUBURN KENNEWICK WA 99336
DAYDIET PEREZ TRANSPORTATION LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DAYE, DENNIS                         ADDRESS ON FILE
DAYE, PATRICK                        ADDRESS ON FILE
DAYE, PRISCILLA                      ADDRESS ON FILE
DAYHUFF, MARK                        ADDRESS ON FILE
DAYJO TRANSPORT INC                  1249 W MAURETANIA ST WILMINGTON CA 90744
DAYLIGHT LOGISTICS INC               OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
DAYLIGHT TRUCKING LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DAYNIGHT TRANSPORT LLC               OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
DAYNIGHT TRANSPORT LLC               OR APEX CAPITAL, PO BOX 961029 FT WORTH TX 76161
DAYR CARRIER LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DAYS INN                             665 N. FREEWAY TUCSON AZ 85745
DAYS INN PADUCAH                     3901 HINKLEVILLE RD PADUCAH KY 42001
DAYTON FREIGHT LINE                  6450 POE AVE. 311 DAYTON OH 45414
DAYTON STENCIL WORKS CO.             PO BOX 126 DAYTON OH 45401-0126
DAYTON SUPERIOR CORP                 1125 BYERS RD MIAMISBURG OH 45342
DAYTONA FREIGHT SYSTEMS INC          OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T5C5 CANADA
DAYTONA TRANSPORT INC                OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
DAYVAN TRANSPORT LLC                 OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
DB EXPRESS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DB LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DB MOBILE REPAIR                     2619 POTOSI RD ABILENE TX 79602
DB MOBILE REPAIR                     P.O. BOX 432 ABILENE TX 79604
DB SILVERMAN LOGISTICS LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DB SINGLETON CAPITAL VENTURES LLC    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DB SMITH LOGISTICS LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DB TRANSPORT SERVICES LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DB TRUCKING                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DB XPRESS INC                        5821 W BEECHWOOD AVE FRESNO CA 93722
DB70 LOGISTICS LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                Page 489 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 498 of 2156

Claim Name                           Address Information
DBA CANNATROL                        JDS CONSULTING CORP, 630 PIKES PEAK PERKINSVILLE VT 05151
DBA CROWN STAFFING                   D/B/A: CROWN STAFFING 7711 EWING BLVD FLORENCE KY 41042
DBA CROWN STAFFING                   D/B/A: CROWN STAFFING P.O. BOX 734013 CHICAGO IL 60673
DBA MUDO TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DBDS TRUCKING INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DBES LOGISTICS LLC                   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
DBG EXPRESS TRUCKING LLC             10310 W PALLOTINE DR GREENFIELD WI 53228
DBG TRUCKING                         OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T 5C5 CANADA
DBH NATIONWIDE FREIGHT CARRIER INC   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DBH TRANSPORTATION INC               OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
DBJ TRANSPORTATION                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DBL TRUCKING                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DBMT TRANSPORTATION INC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DBN TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DBT XPRESS LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DBX LOGISTICS INC.                   ATTN: GENERAL COUNSEL 5211 E. WASHINGTON BLVD. SUITE 17 COMMERCE CA 90040
DBY TRUCKING                         OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
DC & SON TRUCKING LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DC 5 STAR TRUCKING LLC               3005 KING AVE PASCO WA 99301
DC ASPHALT SERVICES INC              PO BOX 30508 HONOLULU HI 96820
DC FLOORING PRO LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DC TRANSPORT                         5411 RALEY BLVD SACRAMENTO CA 95838
DC TRANSPORT SERVICES INC            OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
DC TREASURER                         UNCLAIMED PROPERTY UNIT 1101 4TH ST SW STE 800W WASHINGTON DC 20024
DC TRUCKING                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
DCB TRUCKING SERVICES LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DCC TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DCG TRANSPORTATION LLC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DCK TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DCL                                  CTS NVOCC & FRT FORWARDERS PO BOX 441326 KENNESAW GA 30160
DCM EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DCM TRANSPORT                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DCMD TRUCKING LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
DCOTRUCKS LLC                        OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
DCP CARDONA LLC                      OR AJG CAPITAL LLC 1279 WINTER GARDEN VINELAND RD WINTER GARDEN FL 34787
DCP CONSULTANTS INC.                 589 BEACH BLVD HAMILTON ON L8H 6X8 CANADA
DCPEXPRESS INC                       23195 SW 162ND AVE MIAMI FL 33170
DCS LINE NEW YORK                    ATTN: MIKE BAEK 1009 ABBOTT BLVD FT LEE NJ 07024
DCT ECKHOFF STREET LLC               ATTN: CHRIS MAY, PROLOGIS 17777 CENTER COURT DRIVE NORTH SUITE 100 CERRITOS CA
                                     90703
DCT PEORIA STREET LLC                C/O DCT PROPERTY MANAGEMENT LLC PO BOX 198267 ATLANTA GA 30384
DCT PEORIA STREET LLC                C/O PROLOGIS MANAGEMENT LLC; CHRIS MAY 11099 S LACIENEGA BOULEVARD SUITE 210
                                     LOS ANGELES CA 90045
DCT REGENTVIEW AVENUE, LLC           C/O PROLOGIS MANAGEMENT LLC; CHRIS MAY 17777 CENTER COURT DRIVE NORTH SUITE
                                     100 CERRITOS CA 90703
DCTC SERVICES, LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DCV LOGISTICS INC                    624 BENT CREEK DR SAINT JOHNS FL 32259
DCX ENTERPRISE LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DD & K EXPRESS INCORPORATED          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DD - QUOIZEL                         ATTN: ALICIA HANNA 6 CORPORATE PKWY GOOSE CREEK SC 29445


Epiq Corporate Restructuring, LLC                                                                 Page 490 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 499 of 2156

Claim Name                           Address Information
DD 214 TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DD TRANSPORT INC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DD7 TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DDA ASSETS LLC                       OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
DDC INTERSTATE LTD                   OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
DDC LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DDC LOGISTICS LLC (MC1362921)        OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DDD LOGISTICS LLC (MC1146051)        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DDH TRANSPORT INC                    1511 JOHNSON ST BELOIT WI 53511
DDK TRANSPORTATION LLC (MC1162468)   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DDKS TRUCKING LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DDL CONSULTANTS                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DDL EXPRESS INC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DDM LOGISTICS INC                    OR SURETY FINANCIAL LLC, PO BOX 1150 RIVERTON UT 84065
DDM TRUCKING INC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DDO&B EXPRESS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DDOWN TRANSPORTATION LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DDP                                  190 URAN ST. HILLSDALE MI 49242
DDP TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DDR TRANSPORT LLC                    OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
DDRTC SHOPPES AT LAKE MARY LLC       PO BOX 745500 ATLANTA GA 30374
DDS TRANSPORT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DDS TRUCKING LLC                     3833 S 67TH AVE PHOENIX AZ 85043
DDX WORLDWIDE CARGO                  2000 E. WALNUT ST. DES MOINES IA 50317
DE ANDA TRANSPORT INC.               1632 GATEWAY RD STE 1 CALEXICO CA 92231
DE ANDA TRANSPORT INC.               OR SIKU SERVICES, PO BOX 9030 PMB 50 CALEXICO CA 92231
DE ANDA TRUCKING LLC                 1632 GATEWAY ROAD SUITE 1 CALEXICO CA 92231
DE ANDA TRUCKING LLC                 OR AIROS LOGISTICS LLC PO BOX 9030 PMB 50 CALEXICO CA 92231
DE ANDA, ALLAN                       ADDRESS ON FILE
DE ANGELIS, CARL                     ADDRESS ON FILE
DE BROWN LLC                         OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
DE COSTA, ALEXANDRA                  ADDRESS ON FILE
DE DIOS GUERRERO, LESME              ADDRESS ON FILE
DE EXPRESS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DE FEO, TOM                          ADDRESS ON FILE
DE FREITES TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DE GUZMAN, EDWIN                     ADDRESS ON FILE
DE HOYOS AIR CONDITIONING, INC       8101 SAN DARIO PO BOX 7133 LAREDO TX 78042
DE JESUS, CYNTHIA                    ADDRESS ON FILE
DE KLERK, JOHANNES                   ADDRESS ON FILE
DE LA CROIX, QUINN                   ADDRESS ON FILE
DE LA CRUZ TRANSPORT LLC             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
DE LA CRUZ, DANIELA                  ADDRESS ON FILE
DE LA CRUZ, DENNIS                   ADDRESS ON FILE
DE LA CRUZ, FERNANDO                 ADDRESS ON FILE
DE LA CRUZ, JORGE                    ADDRESS ON FILE
DE LA CRUZ, OSCAR                    ADDRESS ON FILE
DE LA FUENTE, BRIGIDO JERRY          ADDRESS ON FILE
DE LA FUENTE, JERRY                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 491 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 500 of 2156

Claim Name                           Address Information
DE LA LUZ CASTOLO, MIGUEL            ADDRESS ON FILE
DE LA MORA, JOSE                     ADDRESS ON FILE
DE LA O-MARISCAL, MARCO              ADDRESS ON FILE
DE LA PENA, ANDREW                   ADDRESS ON FILE
DE LA ROSA, ALBERT                   ADDRESS ON FILE
DE LA ROSA, KIMBERLY                 ADDRESS ON FILE
DE LA TORRE, RUBEN                   ADDRESS ON FILE
DE LACERDA, ADOLFO                   ADDRESS ON FILE
DE LAURENTIS, JOSEPH                 ADDRESS ON FILE
DE LAURENTIS, JOSEPH E               ADDRESS ON FILE
DE LE SOLEIL INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DE LEEUW, ANTHONY                    ADDRESS ON FILE
DE LEON ZAPATA TRANSPORTATION LLC    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
DE LEON, EMMANUEL                    ADDRESS ON FILE
DE LEON, HERMINIO                    ADDRESS ON FILE
DE LEON, OMAR                        ADDRESS ON FILE
DE LEON, RENE                        ADDRESS ON FILE
DE LEON, RENE                        ADDRESS ON FILE
DE LOERA, OSCAR                      ADDRESS ON FILE
DE LOS SANTOS, ANGIE                 ADDRESS ON FILE
DE LOS SANTOS, HEATHER               ADDRESS ON FILE
DE LOS SANTOS-ROSARIO, DELBY         ADDRESS ON FILE
DE LUCA EXPRESS INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DE NIO, KEVIN                        ADDRESS ON FILE
DE OCEAN AUTO TRANSPORT LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DE PASCALE, PETER                    ADDRESS ON FILE
DE PRIEST, MICHEL                    ADDRESS ON FILE
DE QUAINE, DARRELL                   ADDRESS ON FILE
DE SANTIAGO, ALEJANDRO               ADDRESS ON FILE
DE TRANSPORT LLC                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DE TRANSPORTATION LLC                OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
DE VILBISS, TAYLOR                   ADDRESS ON FILE
DE YOUNG, JONATHAN                   ADDRESS ON FILE
DE-WANNA L WELCH                     ADDRESS ON FILE
DEACON, JOE W                        ADDRESS ON FILE
DEACONESS COMP CENTER                P.O. BOX 3366 EVANSVILLE IN 47732
DEACONESS URGENT CARE                DEACONESS URGENT CARE & COMP HENDERSON PO BOX 366 EVANSVILLE IN 47732
DEACONESS URGENT CARE                DEACONESS URGENT CARE NORTH PARK PO BOX 3366 EVANSVILLE IN 47732
DEAKTOR, STEVEN                      ADDRESS ON FILE
DEAL, FELONZO                        ADDRESS ON FILE
DEAL, JOHN                           ADDRESS ON FILE
DEALBA, ELIAS                        ADDRESS ON FILE
DEAN A PRESSLEY                      ADDRESS ON FILE
DEAN ADAMS                           ADDRESS ON FILE
DEAN SOUTAR LLC                      2495 HONEYSUCKLE ROAD HARTSVILLE TN 37074
DEAN T RUSSELL                       ADDRESS ON FILE
DEAN TRANSPORT LLC                   OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
DEAN W BENSON                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 492 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 501 of 2156

Claim Name                           Address Information
DEAN, ALEXANDRA                      ADDRESS ON FILE
DEAN, AMYMARIE                       ADDRESS ON FILE
DEAN, BRANDON                        ADDRESS ON FILE
DEAN, BRANDON                        ADDRESS ON FILE
DEAN, CARL                           ADDRESS ON FILE
DEAN, CHAPIN                         ADDRESS ON FILE
DEAN, CODY                           ADDRESS ON FILE
DEAN, DAKOTA                         ADDRESS ON FILE
DEAN, DANIEL                         ADDRESS ON FILE
DEAN, DENNIS                         ADDRESS ON FILE
DEAN, ESTEBAN                        ADDRESS ON FILE
DEAN, EUGENIE                        ADDRESS ON FILE
DEAN, FRANK                          ADDRESS ON FILE
DEAN, FREDERICK                      ADDRESS ON FILE
DEAN, HENRY                          ADDRESS ON FILE
DEAN, JEREMY                         ADDRESS ON FILE
DEAN, JEREMY                         ADDRESS ON FILE
DEAN, JON                            ADDRESS ON FILE
DEAN, KEITH                          ADDRESS ON FILE
DEAN, KENNETH                        ADDRESS ON FILE
DEAN, MARKUS                         ADDRESS ON FILE
DEAN, MICHELLE                       ADDRESS ON FILE
DEAN, PATRICK                        ADDRESS ON FILE
DEAN, RANDALL                        ADDRESS ON FILE
DEAN, RYAN                           ADDRESS ON FILE
DEAN, SUMMER                         ADDRESS ON FILE
DEAN, TEJUAN                         ADDRESS ON FILE
DEAN, TERRANCE                       ADDRESS ON FILE
DEAN, THEODORE                       ADDRESS ON FILE
DEAN, TRAVIS                         ADDRESS ON FILE
DEAN, WILLIAM                        ADDRESS ON FILE
DEANDREA CORING & SAWING INC         PO BOX 269 COMMERCE CITY CO 80037
DEANE, MICHAEL                       ADDRESS ON FILE
DEANES III, ROOSEVELT                ADDRESS ON FILE
DEANES, ROOSEVELT                    ADDRESS ON FILE
DEANGELIS, ALBERT                    ADDRESS ON FILE
DEANGELO COURIER SERVICE             OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
DEANGELO MILLS                       ADDRESS ON FILE
DEANGELO MILLS                       ADDRESS ON FILE
DEANGELO, WILLIAM                    ADDRESS ON FILE
DEANNA JOHNSON                       ADDRESS ON FILE
DEANNA LINDSAY-WILLIAMS              ADDRESS ON FILE
DEANS ACCELERATED SERVICE            PO BOX 1202 SCOTTSBLUFF NE 69363
DEANS INC                            3200 NORTHSIDE DR RALEIGH NC 27615
DEANS INC                            PO BOX 371 OWATONNA MN 55060
DEANS TOWING                         1164 WEST FRONTAGE ROAD WEST OWATONNA MN 55060
DEANS TOWING                         BOX 371 OWATONNA MN 55060
DEANS WESTSIDE TOWING                1164 WEST FRONTAGE ROAD WEST OWATONNA MN 55060
DEANS WESTSIDE TOWING                D/B/A: DEANS TOWING PO BOX 371 OWATONNA MN 55060



Epiq Corporate Restructuring, LLC                                                             Page 493 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 502 of 2156

Claim Name                            Address Information
DEANS WRECKER SERVICE INC             6901 OLD WAKE FOREST RD RALEIGH NC 27616
DEANS, SEAN                           ADDRESS ON FILE
DEARBORN STEEL EXPRESS, INC.          6837 WYOMING AVENUE DEARBORN MI 48126
DEARDEN, RICHARD                      ADDRESS ON FILE
DEARDORFF, WILLIAM                    ADDRESS ON FILE
DEAREN, RONALD                        ADDRESS ON FILE
DEARMAN, LEONARD                      ADDRESS ON FILE
DEARMAN, RONALD                       ADDRESS ON FILE
DEARTH, DAVID                         ADDRESS ON FILE
DEAS, ROBERT                          ADDRESS ON FILE
DEATON TRUCK & TIRE SERVICE INC       PO BOX 5225 ROME GA 30162
DEATON, BILLY                         ADDRESS ON FILE
DEATON, BRAYDEN                       ADDRESS ON FILE
DEATON, TIMOTHY                       ADDRESS ON FILE
DEATON, TIMOTHY                       ADDRESS ON FILE
DEBARDELABEN, TERRANCE                ADDRESS ON FILE
DEBELIE, LEA                          ADDRESS ON FILE
DEBELIUS, ALBERT                      ADDRESS ON FILE
DEBENHAM, HOWARD                      ADDRESS ON FILE
DEBEST INC                            11477 W PRESIDENT DR BOISE ID 83713
DEBOER, DOUGLAS                       ADDRESS ON FILE
DEBOLT, DAVID                         ADDRESS ON FILE
DEBOLT, MARK                          ADDRESS ON FILE
DEBOLT, MIKE                          ADDRESS ON FILE
DEBONAIR FREIGHT                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DEBORAH KAMINSKI                      ADDRESS ON FILE
DEBORAH L HEIN                        ADDRESS ON FILE
DEBORAH STANGER                       ADDRESS ON FILE
DEBORAH VELOCCI                       ADDRESS ON FILE
DEBOSE, ALVIN                         ADDRESS ON FILE
DEBRA AGLIO                           ADDRESS ON FILE
DEBRA K BASILE                        ADDRESS ON FILE
DEBRA-KUEMPEL                         P.O. BOX 701620 CINCINNATI OH 45270
DEBRICK TRUCK LINE COMPANY            PO BOX 421 PAOLA KS 66071
DEBROZZO, TODD                        ADDRESS ON FILE
DEBROZZO, TODD A                      ADDRESS ON FILE
DEC GLOBAL LOGISTICS LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DECA TRANSPORTS LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DECARLO F PHIFER                      ADDRESS ON FILE
DECARLO F PHIFER                      ADDRESS ON FILE
DECARLO F PHIFER                      ADDRESS ON FILE
DECARLO, ANTHONY                      ADDRESS ON FILE
DECAROLIS TRUCK RENTAL, INC.          333 COLFAX ST ROCHESTER NY 14606
DECARPIO, THOMAS                      ADDRESS ON FILE
DECASTRO, TREVOR                      ADDRESS ON FILE
DECATUR MED-SURG CLINIC               2828 US HIGHWAY 31 S DECATUR AL 35603
DECATUR MEMORIAL HOSPITAL             2120 N 27TH ST DECATUR IL 62526
DECATUR TRAILER SALES & SERVICE INC   3974 E MUELLER AVE DECATUR IL 62526
DECATUR UTILITIES                     1002 CENTRAL PKWY SW DECATUR AL 35601



Epiq Corporate Restructuring, LLC                                                                Page 494 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 503 of 2156

Claim Name                           Address Information
DECEASED PET CARE                    2691 HARBINS RD SE BETHLEHEM GA 30620
DECHAND TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DECHANT, RICHARD                     ADDRESS ON FILE
DECILLO, DINO                        ADDRESS ON FILE
DECK, LONNIE                         ADDRESS ON FILE
DECKARD, JOSE                        ADDRESS ON FILE
DECKARD, MICHELLE                    ADDRESS ON FILE
DECKER 24 HR TRUCK AND TRAILER       1010 ECS WAY BELVIDERE IL 61008
DECKER, BRANDON                      ADDRESS ON FILE
DECKER, BRENT                        ADDRESS ON FILE
DECKER, BRETT                        ADDRESS ON FILE
DECKER, DAVID                        ADDRESS ON FILE
DECKER, DENNIS                       ADDRESS ON FILE
DECKER, ELISABETH                    ADDRESS ON FILE
DECKER, JONELLE                      ADDRESS ON FILE
DECKER, JUSTIN                       ADDRESS ON FILE
DECKER, RONALD                       ADDRESS ON FILE
DECKER, TIMOTHY                      ADDRESS ON FILE
DECKO PRODUCTS                       45 MARYLAND AVE. E. ST. PAUL MN 55117
DECKPLATE DIESEL LLC                 240 39TH ST N FARGO ND 58102
DECLUE, KENNETH                      ADDRESS ON FILE
DECO PRODUCTS INC                    7900 E 40TH AVE DENVER CO 80207
DECOLAS INC                          154 FERGUSON HILL ROAD BURNSVILLE NC 28714
DECON WATER TECHNOLOGIES             PO BOX 93248 PHOENIX AZ 85070
DECOR MOULDING                       300 WIRELESS BLVD HAUPPAUGE NY 11788
DECORATIVE DIMENSIONS INC            ATTN: ANITA TANG 49033 LESLIE ST UNIT 4 RICHMOND HILL ON L4B 4K3 CANADA
DECRISCIO, DAMIAN                    ADDRESS ON FILE
DEDAI TRUCKING LLC                   OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DEDGES LOCK AND KEY SHOP INC         4579 LENOX AVENUE JACKSONVILLE FL 32205
DEDICATE DELIVERY SERVICE LLC        OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DEDICATED BROTHERS TRANSPORT         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DEDICATED BROTHERS TRANSPORT         OR AMERICAS FACTORS INC 10430-28 PIONEER BLVD SANTA FE SPRINGS CA 90670
DEDICATED DELIVERY PROF              PO BOX 4045 SANTA FE SPRINGS CA 90670
DEDICATED DELIVERY PROS              PO BOX 4045 SANTA FE SPRINGS CA 90670
DEDICATED DEPENDABLE SERVICES        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DEDICATED LOGISTICS INC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DEDICATED NETWORKS INC.              14000 UNITY ST NW RAMSEY MN 55303
DEDICATED SOLUTION LLC               2413 COPE DR MECHANICSBURG PA 17055
DEDICATED TRANSPORTATION SOLUTIONS   100 AUGUSTA ARBOR WAY GREENVILLE SC 29605-5226
DEDICATED TRANSPORTATION, LLC        PO BOX 93557 LAFAYETTE LA 70509
DEDMAN, STANLEY                      ADDRESS ON FILE
DEDRICK D UNDERWOOD                  ADDRESS ON FILE
DEE K TRANSPORT LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DEE KAY EXPRESS INC                  OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
DEE ZEE                              ATTN: KAYLA CARYL 1844 NE 61ST PL DES MOINES IA 50313
DEE ZEE                              ATTN: SARA CLCK 1844 NE 61ST PL DES MOINES IA 50313
DEE ZEE                              ATTN: SARA CLICK 1844 NE 61ST PL DES MOINES IA 50313
DEE ZEE INC                          1844 NE 61ST PL DES MOINES IA 50313
DEE, CHRISTOPHER                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 495 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 504 of 2156

Claim Name                          Address Information
DEEDA LOGISTICS LLC                 OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
DEEKE, MATTHEW                      ADDRESS ON FILE
DEEL, CLAYTON                       ADDRESS ON FILE
DEEL, PAUL                          ADDRESS ON FILE
DEEL, RAYMOND                       ADDRESS ON FILE
DEEL, ROBERT L                      ADDRESS ON FILE
DEEM, MICHAEL                       ADDRESS ON FILE
DEEMS, SCOTT                        ADDRESS ON FILE
DEEN, LOGAN                         ADDRESS ON FILE
DEENEY, CAILYN                      ADDRESS ON FILE
DEEP CARRIERS INC                   OR SUNBELT FINANCE LLC PO BOX 1000 DEPT 144 MEMPHIS TN 38148
DEEP CREEK TRANSPORT                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DEEP END LOGISTICS                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DEEP EXPRESS                        2747 LINCOLN AVE CLOVIS CA 93611
DEEP KING LTD                       OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
DEEP LLC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DEEP SOUTH ENVIRONMENTAL, LLC       330 LAKE VILLAGE DRIVE MADISON MS 39110
DEEP SOUTH EQUIPMENT COMPANY        P.O. BOX 415000 NASHVILLE TN 37241
DEEP TRANS INC                      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DEEP TRANSPORT CORP                 330 QUARRY RUN GRAND ISLAND NY 14072
DEEP TRANSPORT INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DEEP TRUCKING                       OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DEEP TRUCKING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DEEP TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DEER PARK TRUCKING&LOGISTICS CORP   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DEERA W TERRY                       ADDRESS ON FILE
DEERING LANDSCAPE CONTRACTORS       8375 WOLCOTT ROAD EAST AMHERST NY 14051
DEERING LANDSCAPE CONTRACTORS       310 WARNER AVE NORTH TONAWANDA NY 14120
DEERING, BRYAN                      ADDRESS ON FILE
DEERING, LATESHIA                   ADDRESS ON FILE
DEERING, MATTHEW                    ADDRESS ON FILE
DEERLAND PROBIOTICS & ENZYMES       ATTN: JULIE SMOTHERMAN 3800 COBB INTL BLVD KENNESAW GA 30152
DEERR, VICTORIA                     ADDRESS ON FILE
DEES TRUCKING LLC                   101 SANDPIPER LANE LITTLE EGG HARBOR TWP NJ 08087-9613
DEES, JOHN                          ADDRESS ON FILE
DEES, JOSHUA                        ADDRESS ON FILE
DEES, PATRICIA                      ADDRESS ON FILE
DEES, WAYMON                        ADDRESS ON FILE
DEESE, JAMIE                        ADDRESS ON FILE
DEESE, JOSEPH                       ADDRESS ON FILE
DEESE, THOMAS                       ADDRESS ON FILE
DEF TRANSPORT LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
DEF TRANSPORTATION INC.             5597 CENTER RD VALLEY CITY OH 44280
DEFALCO, PHILIP                     ADDRESS ON FILE
DEFAZIO, JASON                      ADDRESS ON FILE
DEFENDER AUTO GLASS LLC             747 SUGAR LN ELYRIA OH 44035
DEFENDER AUTO GLASS LLC             7588 TYLER BLVD MENTOR OH 44060
DEFENDER AUTO GLASS LLC             7590 TYLER BLVD UNIT B MENTOR OH 44060



Epiq Corporate Restructuring, LLC                                                                Page 496 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 505 of 2156

Claim Name                           Address Information
DEFENDERS EXPRESS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DEFEO, NICHOLAS                      ADDRESS ON FILE
DEFEO, PAUL                          ADDRESS ON FILE
DEFFENBAUGH, DOUG                    ADDRESS ON FILE
DEFFRY, DARYL                        ADDRESS ON FILE
DEFIANCE BOATS                       ATTN: ALISHA GOODWIN 5120 NIXON LOOP BREMERTON WA 98312
DEFIBAUGH, HAROLD                    ADDRESS ON FILE
DEFLECTO INC                         ATTN: JENNIFER MALTERER 303 OXFORD ST STE A DOVER OH 44622
DEFONT, MIKE                         ADDRESS ON FILE
DEFOOR, JEFFREY                      ADDRESS ON FILE
DEFOOR, MIKHAIL                      ADDRESS ON FILE
DEFORD, ROBERT                       ADDRESS ON FILE
DEFREITAS, DERRICK                   ADDRESS ON FILE
DEFRIES, DONALD                      ADDRESS ON FILE
DEG LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DEGA TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DEGARD, MICHAEL                      ADDRESS ON FILE
DEGARMO, MARK                        ADDRESS ON FILE
DEGEARE, BRYAN                       ADDRESS ON FILE
DEGEN EXCAVATING CO INC              1920 BIBLE ROAD LIMA OH 45801
DEGENKOLB, SUSAN J                   ADDRESS ON FILE
DEGENKOLB, SUSAN J                   ADDRESS ON FILE
DEGGES, VAUGHN                       ADDRESS ON FILE
DEGLER, KEITH                        ADDRESS ON FILE
DEGNAN, STEPHEN                      ADDRESS ON FILE
DEGOLIER JR, JEFFREY                 ADDRESS ON FILE
DEGRAF, JACOB                        ADDRESS ON FILE
DEGRATEST TRANSPORT                  OR MDR CAPITAL LLC, P.O. BOX 686 FORT JONES CA 96032
DEGRAY, DONALD                       ADDRESS ON FILE
DEGREGORIO, DINO                     ADDRESS ON FILE
DEGROAT, CARL                        ADDRESS ON FILE
DEGUARDA, LEONARD                    ADDRESS ON FILE
DEGUZMAN, DEREK                      ADDRESS ON FILE
DEHAAN, WARREN                       ADDRESS ON FILE
DEHAB TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DEHARO TRANSPORTATION LLC            OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
DEHARO, GUSTAVO                      ADDRESS ON FILE
DEHART, THOMAS                       ADDRESS ON FILE
DEHATER, CRAIG                       ADDRESS ON FILE
DEHAVEN TRANSPORTATION CO INC        7033 WALROND DR ROANOKE VA 24019
DEHAVEN, JEAN                        ADDRESS ON FILE
DEHEER, MARTHA                       ADDRESS ON FILE
DEHETRE, BRADLEY                     ADDRESS ON FILE
DEHMER, LEE                          ADDRESS ON FILE
DEHOFF, CODY                         ADDRESS ON FILE
DEI                                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DEIBERT, MICHAEL                     ADDRESS ON FILE
DEIBLER, RANDOLPH                    ADDRESS ON FILE
DEIESO, NICHOLAS J                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 497 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 506 of 2156

Claim Name                             Address Information
DEIMAN, JAMES                          ADDRESS ON FILE
DEINER, JAMES                          ADDRESS ON FILE
DEINUM, CHARLES                        ADDRESS ON FILE
DEIONE TRUCKING LLC                    OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
DEISSLER, BRIAN                        ADDRESS ON FILE
DEITCH, EMMETT                         ADDRESS ON FILE
DEITRICK, NATHANIEL                    ADDRESS ON FILE
DEITRICK, TERRENCE                     ADDRESS ON FILE
DEITZ, PAUL                            ADDRESS ON FILE
DEJ LOGISTICS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DEJANA TRUCK & UTILITY EQMNT COMPANY   PO BOX 21113 NEW YORK NY 10087
INC
DEJAREAUX, JATARYAN                    ADDRESS ON FILE
DEJARNETTE, VIRGIL W                   ADDRESS ON FILE
DEJEAN, DELMONT                        ADDRESS ON FILE
DEJESUS, DAVID                         ADDRESS ON FILE
DEJESUS, JONATHAN                      ADDRESS ON FILE
DEJESUS, JORDAN                        ADDRESS ON FILE
DEJESUS, ORLANDO                       ADDRESS ON FILE
DEJESUS, ORLANDO B                     ADDRESS ON FILE
DEJONG, KARLA A                        ADDRESS ON FILE
DEJONG, LESLIE                         ADDRESS ON FILE
DEK EXPRESS INC.                       OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
DEKALB COUNTY GOVERNMENT               1330 COMMERCE DR DECATUR GA 30030
DEKENS, JOHN                           ADDRESS ON FILE
DEKKER, MICHELLE                       ADDRESS ON FILE
DEKKO SERVICES LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
DEKLYEN, MARK                          ADDRESS ON FILE
DEKO TRANSPORT LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DEKORVER, STEPHEN                      ADDRESS ON FILE
DEKOYEMI LOGISTICS                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DEKRA SERVICES INC.                    1945 THE EXCHANGE SE, SUITE 300 ATLANTA GA 30339
DEKSA INC                              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
DEKUBBER, JEFFREY                      ADDRESS ON FILE
DEL AGUILA, VICTOR                     ADDRESS ON FILE
DEL BENE, JOSEPH                       ADDRESS ON FILE
DEL BOSQUE, SANTOS                     ADDRESS ON FILE
DEL CASTILLO, MOISES                   ADDRESS ON FILE
DEL CORONA & SCARDIGLI U.S.A., INC.    ATTN: LUCA BRESCHI 3030 CULLERTON STREET FRANKLIN PARK IL 60131-2205
DEL COSTELLO, PHILIP                   ADDRESS ON FILE
DEL ENCINO TRANSPORT                   11665 GYPSUM HILLS CIR EL PASO TX 79936
DEL EXPRESS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
DEL GRANDE, ANTHONY                    ADDRESS ON FILE
DEL NORTE TRANSPORTATION LLC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DEL PILAR, ANGELO                      ADDRESS ON FILE
DEL REAL, RODRIGO                      ADDRESS ON FILE
DEL RIO TRANSPORT                      OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
DEL RIO, ANASTACIO                     ADDRESS ON FILE
DEL RIO, DAVID                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 498 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 507 of 2156

Claim Name                              Address Information
DEL RIO, JUAN                           ADDRESS ON FILE
DEL ROSARIO RANGEL, MARIA               ADDRESS ON FILE
DEL ROSARIO RANGEL, MARIA               ADDRESS ON FILE
DEL ROSARIO TRANSPORTATION LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DEL SOL DELIVERYS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DEL TORO, CAROLINA                      ADDRESS ON FILE
DEL VAL INTERNATIONAL TRUCKS, INC       1034 BETHLEHEM PIKE, PO BOX 399 MONTGOMERYVILLE PA 18936
DEL VALLE, JOSE                         ADDRESS ON FILE
DELA CRUZ, ABBIE                        ADDRESS ON FILE
DELA RAMA, CYRUS                        ADDRESS ON FILE
DELA ROSA SALGADO, MARIELA              ADDRESS ON FILE
DELA ROSA, BREANNA                      ADDRESS ON FILE
DELABAT AIR CONDITIONING SERVICE CORP   610 NE 2ND PL HIALEAH FL 33010
DELABAT AIR CONDITIONING SERVICE CORP   8611 NW 35 CT MIAMI FL 33147
DELACOURT, TOM                          ADDRESS ON FILE
DELACRUZ, BENITO                        ADDRESS ON FILE
DELACRUZ, EUSEBIO                       ADDRESS ON FILE
DELACRUZ, FRANCIS                       ADDRESS ON FILE
DELACRUZ, MARCO                         ADDRESS ON FILE
DELACRUZ-ESTUPINAN, BRENDA              ADDRESS ON FILE
DELAINE, GREGORY                        ADDRESS ON FILE
DELANCEY, ALBERT                        ADDRESS ON FILE
DELANCEY, DAVID                         ADDRESS ON FILE
DELANCEY, DEREK                         ADDRESS ON FILE
DELANCEY, JESSE                         ADDRESS ON FILE
DELAND TRUCKING LLC                     OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
DELANES MOBILE SERVICE DBA              9714 COOK ST THORNTON CO 80229
DELANES MOBILE SERVICE DBA              10933 E. 159TH PL. BRIGHTON CO 80602
DELANEY, BRANDON                        ADDRESS ON FILE
DELANEY, JOSEPH                         ADDRESS ON FILE
DELANEY, KEVIN C                        ADDRESS ON FILE
DELANEY, LUKE                           ADDRESS ON FILE
DELANEY, MICHAEL                        ADDRESS ON FILE
DELANEY, NORBERT                        ADDRESS ON FILE
DELANGE, ALEXANDER                      ADDRESS ON FILE
DELANO, KIM                             ADDRESS ON FILE
DELANTAR, ERLINDA                       ADDRESS ON FILE
DELAQUIS, MICHAEL                       ADDRESS ON FILE
DELAROSA, FRANCISCO                     ADDRESS ON FILE
DELARSO, ALAN                           ADDRESS ON FILE
DELATORRE, BRANDY                       ADDRESS ON FILE
DELATTE, SHAWN                          ADDRESS ON FILE
DELAWARE COUNTY COMMUNITY COLLEGE       901 MEDIA LINE ROAD MEDIA PA 19063
DELAWARE DIVISION OF REVENUE            PO BOX 830 WILMINGTON DE 19899
DELAWARE FLEET SERVICE INC              550 PIGEON POINT RD NEW CASTLE DE 19720
DELAWARE MOTOR TRANSPORT ASSOCIATION    445 PEAR ST DOVER DE 19904
DELAWARE STATE ESCHEATOR                DE DEPT OF FINANCE-OFFICE UNCLAIMED PRTY 820 NORTH FRENCH ST, 8TH FL
                                        WILMINGTON DE 19801
DELAWARE VALLEY PAVING                  330 PAWLINGS RD PHOENIXVILLE PA 19460



Epiq Corporate Restructuring, LLC                                                                  Page 499 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 508 of 2156

Claim Name                              Address Information
DELAY, LUCAS                           ADDRESS ON FILE
DELBREY, CARLOS                        ADDRESS ON FILE
DELBY B ORTIZ                          ADDRESS ON FILE
DELEE, CHRISTOPHER                     ADDRESS ON FILE
DELEON, ABRAHAM                        ADDRESS ON FILE
DELEON, BRENDA                         ADDRESS ON FILE
DELEON, DAVID                          ADDRESS ON FILE
DELEON, IVAN                           ADDRESS ON FILE
DELEON, JONATHAN                       ADDRESS ON FILE
DELEON, RICARDO                        ADDRESS ON FILE
DELEON, TIMOTEA                        ADDRESS ON FILE
DELEON, YEFERSON                       ADDRESS ON FILE
DELEON, YEFERSON                       ADDRESS ON FILE
DELESTRE, RAFAEL                       ADDRESS ON FILE
DELFIELD CO                            ATTN: PAUL STANDRIDGE 980 S ISABELLA RD MT PLEASANT MI 48858
DELGADILLO BROTHERS TRUCKING INC       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DELGADILLO VACA, JOSE                  ADDRESS ON FILE
DELGADO & SONS TRUCKING LLC            2808S 6400W WEST VALLEY UT 84128
DELGADO CARRIERS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
DELGADO RIVERA, NOEL                   ADDRESS ON FILE
DELGADO TRANSPORTATION LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DELGADO TRANSPORTATION SERVICES LIMITED OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DELGADO, CELINA                        ADDRESS ON FILE
DELGADO, CHRISTOPHER                   ADDRESS ON FILE
DELGADO, CLARENCE                      ADDRESS ON FILE
DELGADO, DANIEL                        ADDRESS ON FILE
DELGADO, DAVID                         ADDRESS ON FILE
DELGADO, EDGAR                         ADDRESS ON FILE
DELGADO, EDWARD                        ADDRESS ON FILE
DELGADO, EDWIN                         ADDRESS ON FILE
DELGADO, ELUCARIO                      ADDRESS ON FILE
DELGADO, FERANCE                       ADDRESS ON FILE
DELGADO, FROYLAN                       ADDRESS ON FILE
DELGADO, GERARDO                       ADDRESS ON FILE
DELGADO, HECTOR                        ADDRESS ON FILE
DELGADO, JOEL                          ADDRESS ON FILE
DELGADO, JOSE                          ADDRESS ON FILE
DELGADO, JUAN                          ADDRESS ON FILE
DELGADO, MICHAEL                       ADDRESS ON FILE
DELGADO, MIGUEL                        ADDRESS ON FILE
DELGADO, NICHOLAS                      ADDRESS ON FILE
DELGADO, RAMIRO                        ADDRESS ON FILE
DELGADO, RAMON                         ADDRESS ON FILE
DELGADO, RAYMOND                       ADDRESS ON FILE
DELGADO, RUBEN                         ADDRESS ON FILE
DELGADO, TYLER                         ADDRESS ON FILE
DELGADOS DELIVERY LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DELGO LOGISTICS INC                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
DELGROSSO, NICHOLAS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 500 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 509 of 2156

Claim Name                             Address Information
DELHI TRANSPORT INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DELHORNO, PEDRO                        ADDRESS ON FILE
DELIA, ANTHONY                         ADDRESS ON FILE
DELIASEXP LLC                          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DELIB TRANSPORTATION INC               OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DELIGHT TRUCKING LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DELIGHT TRUCKING LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DELIKAT, THOMAS                        ADDRESS ON FILE
DELINEA INC.                           201 REDWOOD SHORES PARKWAY SUITE 300 REDWOOD CITY CA 94065
DELIOS TRUCKS LLC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DELIUS, JACOB                          ADDRESS ON FILE
DELIVERY MANAGEMENT SERVICES           PO BOX 19539 JOHNSTON RI 02919
DELIVERY PLUS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DELK, BRANDYN                          ADDRESS ON FILE
DELK, BRANDYN J                        ADDRESS ON FILE
DELL D COVINGTON                       ADDRESS ON FILE
DELL MARKETING L.P.                    C/0 DELL USA L P, PO BOX 677654 DALLAS TX 75267
DELL MARKETING L.P.                    C/O DELL USA L P, PO BOX 677654 DALLAS TX 75267
DELL MARKETING L.P.                    C/O DELL USA L.P., PO BOX 676021 DALLAS TX 75267
DELL MARKETING L.P.                    1 DELL WAY ROUND ROCK TX 78682
DELLACQUA, MICHAEL                     ADDRESS ON FILE
DELLAMARCO, ANTONIO                    ADDRESS ON FILE
DELLAPENNA, WESLEY                     ADDRESS ON FILE
DELLINGER WRECKER SERVICE INC          10256 INDUSTRIAL DR PINEVILLE NC 28134
DELLINGER, DAVID                       ADDRESS ON FILE
DELLOSA, DEVON                         ADDRESS ON FILE
DELLWO ROBERTS & SCANLON PS            1124 W RIVERSIDE STE 310 SPOKANE WA 99201
DELLWO, THOMAS                         ADDRESS ON FILE
DELMAR INTERNATIONAL INC               ATTN: PIYANART CHAYROOP GROUND CLAIMS 10636 COTE DE LIESSE LACHINE QC H8T 1A5
                                       CANADA
DELMARVA POWER                         500 N WAKEFIELD DR, 2ND FL NEWARK DE 19702-5440
DELMAS, PEDRO                          ADDRESS ON FILE
DELMONT FLEET SERVICES LLC             2965 DELMONT ROAD SW LANCASTER OH 43130
DELOE, JEAN                            ADDRESS ON FILE
DELOITTE & TOUCHE LLP                  PO BOX 844708 DALLAS TX 75284
DELOITTE CONSULTING PRODUCT SVCS LLC   C/O DELOITTE CONSULTING LLP PO BOX 844717 DALLAS TX 75284
DELONG & SONS TRUCKING LLC             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
DELONG, HARLEY                         ADDRESS ON FILE
DELORES B MACKENZIE-SEATON             8107 BIRCH WALK DR RIVERDALE GA 30274
DELOSSANTOS, ISIDRO                    ADDRESS ON FILE
DELPHINA ENTERPRISES LLC               OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
DELPLATO, MICHAEL                      ADDRESS ON FILE
DELROD TRUCKING LLC                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
DELSHAD, ANDREW                        ADDRESS ON FILE
DELTA 1 LOGISTICS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DELTA AJ HOLDINGS INC.                 1329 32A STREET NW EDMONTON AB T6T 0Z2 CANADA
DELTA CARRIER GROUP INC                13769 MAIN STREET, STE 201 LEMONT IL 60439
DELTA CARRIER GROUP INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DELTA CARRIERS INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479



Epiq Corporate Restructuring, LLC                                                                   Page 501 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 510 of 2156

Claim Name                           Address Information
DELTA CARS AUTO SALES INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DELTA D INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
DELTA DENTAL OF KANSAS, INC.         PO BOX 3806 WICHITA KS 67201
DELTA DISTRIBUTION                   5633 52ND ST GRAND RAPIDS MI 49512
DELTA ELECTRONICS (AMERICAS) LTD     46101 FREMONT BLVD FREMONT CA 94538
DELTA EXPRESS CORP                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DELTA EXPRESS INC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
DELTA EXPRESS SERVICES INC           OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
DELTA EXPRESS TRANSPORT INC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DELTA FOREMOST CHEMICAL CORP.        3915 AIR PARK ST, PO BOX 30310 MEMPHIS TN 38130
DELTA FREIGHT CORPORATION            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DELTA FREIGHT INC                    OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DELTA FREIGHT SYSTEMS, LLC           PO BOX 2808 DES PLAINES IL 60017
DELTA FREIGHT TRANSPORT              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DELTA LOGISTICS INC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
DELTA LOGISTICS INC (MC677623)       15817 DEL OBISBO RD FONTANA CA 92337
DELTA MATERIAL HANDLINGS INC         4676 CLARK RD MEMPHIS TN 38141
DELTA MATERIAL HANDLINGS INC         D/B/A: DELTA MATERIALS HANDLING INC 4676 CLARK RD MEMPHIS TN 38141
DELTA MOTORSPORTS                    1522 E VICTORY ST STE 9 PHOENIX AZ 85040
DELTA ONE TRANSPORT CORP             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DELTA PLUMBING INC                   85 DANIEL DRIVE STOCKBRIDGE GA 30281
DELTA SHIPPING LTD                   OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA
DELTA TRANS BROKERS LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
DELTA TRANS BROKERS LLC              4748 MEMORIAL DR SUITE B DECATUR GA 30032
DELTA TRANSPORT SERVICES LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DELTA TRANSPORT, INC.                6848 26TH STREET RIO LINDA CA 95673
DELTA TRUCK CENTER                   PO BOX 31270 STOCKTON CA 95213
DELTA TRUCK CENTER                   PO BOX 31270/ 95213-1 FRENCH CAMP CA 95231
DELTA TRUCKING LOGISTICS INC         OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DELTAMAX FREIGHT SYSTEMS             CTS 1915 VAUGHN ROAD KENNESAW GA 30144
DELTON D JOHNSON                     ADDRESS ON FILE
DELTON HASSELL                       ADDRESS ON FILE
DELTOR INC                           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DELTORO, JOE                         ADDRESS ON FILE
DELUCA, JOSEPH                       ADDRESS ON FILE
DELUCIA, JOHN                        ADDRESS ON FILE
DELUXE AUTO CARRIERS                 842 ASHMONT LANE BOILING SPRINGS SC 29316
DELUXE EXP INC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DELUXE INC                           PO BOX 1495 HIGH RIDGE MO 63049
DELUXE INC                           PO BOX 1495 HIGH RIDGE MO 63051
DELUXE TRANSPORT LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DELUXE TRANSPORTATION INC            5113 SEVILLE LN FLOWER MOUND TX 75020
DELVALLE, EDWIN                      ADDRESS ON FILE
DELVECCHIO, RONALD                   ADDRESS ON FILE
DELVIN M NEWELL                      ADDRESS ON FILE
DELVINA EXPRESS INC                  OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
DELWARE VALLEY PAVING                D/B/A: DELAWARE VALLEY PAVING 330 PAWLINGS RD PHOENIXVILLE PA 19460
DEMAIO, DAVID                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 502 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 511 of 2156

Claim Name                          Address Information
DEMAIO, DONNA                       ADDRESS ON FILE
DEMAND & SUPPLY TRUCKING INC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DEMAND PRODUCTS                     ATTN: DAVID JONES 1055 NINE NORTH DR ALPHARETTA GA 30004
DEMAND TRUCKING INC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DEMAR, JULIE                        ADDRESS ON FILE
DEMARA, EFREN E                     ADDRESS ON FILE
DEMARCO, JOHN                       ADDRESS ON FILE
DEMARCUS M COLEMAN                  ADDRESS ON FILE
DEMAREST, EDWARD                    ADDRESS ON FILE
DEMARK III, IRVIN                   ADDRESS ON FILE
DEMARR, MITCHELL                    ADDRESS ON FILE
DEMARR, TRACY                       ADDRESS ON FILE
DEMARS, ORLANDO                     ADDRESS ON FILE
DEMART, MIKE                        ADDRESS ON FILE
DEMARY, DARON                       ADDRESS ON FILE
DEMAS, JOHN                         ADDRESS ON FILE
DEMASTUS, RANIE                     ADDRESS ON FILE
DEMATIC CORP                        ATTN: ROB WEAKLEY 507 PLYMOUTH AVE NE GRAND RAPIDS MI 49505
DEMCO TRANSPORTATION, LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DEMDAVE LLC                         OR CARRIERHQ FUNDING LLC 155 EAST MARKET STREET SUITE 220 INDIANAPOLIS IN
                                    46204
DEMELL, ANTHONY                     ADDRESS ON FILE
DEMENT, HUNTER                      ADDRESS ON FILE
DEMERRITT, JAMES                    ADDRESS ON FILE
DEMERS, SANDRA                      ADDRESS ON FILE
DEMERY, ROBERT                      ADDRESS ON FILE
DEMETER, RICHARD                    ADDRESS ON FILE
DEMLR STORMWATER PROGRAM            MINERAL & LAND RESOURCES STORMWATER BILLING RALEIGH NC 27699-1612
DEMME, JOHN                         ADDRESS ON FILE
DEMOE, DOUGLAS                      ADDRESS ON FILE
DEMON GROUP LOGISTICS LTD           OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                    CANADA
DEMOND MOHAMMAD                     ADDRESS ON FILE
DEMONT, RICHARD                     ADDRESS ON FILE
DEMORATO, THOMAS                    ADDRESS ON FILE
DEMOSS, PAILEY                      ADDRESS ON FILE
DEMOSTHENE, BADIO                   ADDRESS ON FILE
DEMPSEY, RANDY                      ADDRESS ON FILE
DEMPSEY, TYSON                      ADDRESS ON FILE
DEMS LOGISTIC LLC                   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
DEMSHICK, MICHAEL                   ADDRESS ON FILE
DEN AUTO TRANSPORT LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DEN TRANS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DENA BROS TRUCKING LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DENALI FREIGHT LLC                  OR PRO FUNDING INC DEPT 3045, PO BOX 1001 MEMPHIS TN 38148-3045
DENALI GROUP                        OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T 5C5 CANADA
DENALI INGREDIENTS                  ATTN: JON MANEGOLD 2400 S CALHOUN RD NEW BERLIN WI 53151
DENALI RIDGE TRANSPORT LLC          OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
DENALI TRANSPORT INC                6974 MAPLE VISTA DRIVE REGINA SK S4X 0H8 CANADA



Epiq Corporate Restructuring, LLC                                                                Page 503 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 512 of 2156

Claim Name                           Address Information
DENARDO, DANIEL                      ADDRESS ON FILE
DENBESTEN, WILLIAM                   ADDRESS ON FILE
DENDY, MATTHEW                       ADDRESS ON FILE
DENDY, ORLANDO                       ADDRESS ON FILE
DENDY, THOMAS                        ADDRESS ON FILE
DENDY, TIMOTHY                       ADDRESS ON FILE
DENDY, TIMOTHY                       ADDRESS ON FILE
DENEN, LANCE                         ADDRESS ON FILE
DENEVAN, JAMES                       ADDRESS ON FILE
DENGE EXPRESS LLC                    6819 WILLOW BLOOM DR. CANAL WINCHESTER OH 43110
DENHAM, ANDREA                       ADDRESS ON FILE
DENHART, KAREN                       ADDRESS ON FILE
DENIELL TRANSPORTATION LLC           OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
DENIELL TRANSPORTATION LLC           OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DENIS B TRUCKING INC                 OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
DENIS GUERIN                         ADDRESS ON FILE
DENISE BALLARD                       ADDRESS ON FILE
DENISE BULLOCK-SHOTTES               ADDRESS ON FILE
DENISE M HUMMER                      ADDRESS ON FILE
DENISON, NELDON                      ADDRESS ON FILE
DENISON, SEAN                        ADDRESS ON FILE
DENK, DAVID                          ADDRESS ON FILE
DENMARK CARGO SOLUTION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DENNERLINE, JOSHUA                   ADDRESS ON FILE
DENNEY TRANSPORT, LTD                5000 EAST 74TH AVENUE COMMERCE CITY CO 80022
DENNEY, JEFF                         ADDRESS ON FILE
DENNEY, JOSHUA                       ADDRESS ON FILE
DENNEY, TIMOTHY J                    ADDRESS ON FILE
DENNING, DAVID                       ADDRESS ON FILE
DENNING, KENNETH                     ADDRESS ON FILE
DENNIS ANDERSON TRUCKING             1847 UPPER BRUSH CREEK ROAD MARSHALL NC 28753
DENNIS ANSERT                        ADDRESS ON FILE
DENNIS BURGER                        ADDRESS ON FILE
DENNIS CORPORATION                   1800 HUGER ST COLUMBIA SC 29201
DENNIS D DECKER                      ADDRESS ON FILE
DENNIS DAVISON                       ADDRESS ON FILE
DENNIS HYUNDAI                       2900 MORSE ROAD COLUMBUS OH 43231
DENNIS J DAVISON                     ADDRESS ON FILE
DENNIS J GRADY                       ADDRESS ON FILE
DENNIS K BURKE INC                   PO BOX 6069 CHELSEA MA 02150
DENNIS MARBLE                        ADDRESS ON FILE
DENNIS R STOUT                       ADDRESS ON FILE
DENNIS R STOUT                       ADDRESS ON FILE
DENNIS RAY HOHRINE                   ADDRESS ON FILE
DENNIS S KAUFMAN JR                  ADDRESS ON FILE
DENNIS THORNTON                      ADDRESS ON FILE
DENNIS TRANSPORTATION INC            OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
DENNIS TRANSPORTATION LLC            3828 SALEM RD STE 52 COVINGTON GA 30016
DENNIS TRUCKING INC                  1811 LOBELIA LANE PLAINFIELD IL 60586



Epiq Corporate Restructuring, LLC                                                                Page 504 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 513 of 2156

Claim Name                              Address Information
DENNIS VANHORN LLC                      561 CAMBRIDGE WAY BOLINGBROOK IL 60440-1047
DENNIS WHITE TOBACCO CONTRACTOR, INC.   PO BOX 1367 RURAL HALL MD 27045
DENNIS ZAREMBA                          ADDRESS ON FILE
DENNIS, AARON                           ADDRESS ON FILE
DENNIS, ALVIN                           ADDRESS ON FILE
DENNIS, BERTRAND                        ADDRESS ON FILE
DENNIS, BRANDON                         ADDRESS ON FILE
DENNIS, BRUCE                           ADDRESS ON FILE
DENNIS, CAPOUS                          ADDRESS ON FILE
DENNIS, CHRISTOPHER                     ADDRESS ON FILE
DENNIS, CHRISTOPHER                     ADDRESS ON FILE
DENNIS, DAVID                           ADDRESS ON FILE
DENNIS, DAVID                           ADDRESS ON FILE
DENNIS, ELTROY                          ADDRESS ON FILE
DENNIS, ELTROY D                        ADDRESS ON FILE
DENNIS, EMILIO                          ADDRESS ON FILE
DENNIS, ISAAC                           ADDRESS ON FILE
DENNIS, JACOB                           ADDRESS ON FILE
DENNIS, JEFFREY                         ADDRESS ON FILE
DENNIS, JENNIFER                        ADDRESS ON FILE
DENNIS, JERRY                           ADDRESS ON FILE
DENNIS, JOSHUA                          ADDRESS ON FILE
DENNIS, KELLY                           ADDRESS ON FILE
DENNIS, KIARA                           ADDRESS ON FILE
DENNIS, MEGAN                           ADDRESS ON FILE
DENNIS, PETER                           ADDRESS ON FILE
DENNIS, RASHAAN                         ADDRESS ON FILE
DENNIS, SALAHUDIN                       ADDRESS ON FILE
DENNIS, SAMUEL                          ADDRESS ON FILE
DENNIS, SHAWNNELL                       ADDRESS ON FILE
DENNIS, STEVEN                          ADDRESS ON FILE
DENNIS, THIRY                           ADDRESS ON FILE
DENNISON, AARON                         ADDRESS ON FILE
DENNISON, GEORGE                        ADDRESS ON FILE
DENNISON, LLOYD                         ADDRESS ON FILE
DENNISTON, WENDELL                      ADDRESS ON FILE
DENNY EXPRESS LLC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DENNY MENHOLT                           ADDRESS ON FILE
DENNY MFG CO INC                        3007 DIAL ST MOBILE AL 36612
DENNY TRANSPORTATION SERVICES LLC       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DENNY, BLAINE                           ADDRESS ON FILE
DENNY, CHRISTOPHER                      ADDRESS ON FILE
DENNY, CHRISTOPHER P                    ADDRESS ON FILE
DENNY, DREW                             ADDRESS ON FILE
DENNY, GARRETT                          ADDRESS ON FILE
DENNY, GRANT AND CINDY                  ADDRESS ON FILE
DENNY, PERRY                            ADDRESS ON FILE
DENNY, ROBERT                           ADDRESS ON FILE
DENNY, RYAN                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 505 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 514 of 2156

Claim Name                               Address Information
DENNYS WRECKER SERVICE INC               4705 YELLOWSTONE AVE POCATELLO ID 83202
DENRAY TIRE                              25 BOYS ROAD WINNIPEG MB R2C 2Z2 CANADA
DENRAY TIRE                              344 OAK POINT HWY WINNIPEG MB R2R 1V1 CANADA
DENRAY TIRE                              320 PARK AVE. EAST BRANDON MB R7A 7A7 CANADA
DENRAY TIRE                              3110 MILLAR AVE SASKATOON SK S7K 5Y2 CANADA
DENSON TRUCKING COMPANY                  6105 PRAISE AVE SEBRING FL 33876
DENSON, DAVID                            ADDRESS ON FILE
DENSON, EDRIC                            ADDRESS ON FILE
DENSON, ELLIOTT                          ADDRESS ON FILE
DENSON, KERESHA                          ADDRESS ON FILE
DENSON, THOMAS                           ADDRESS ON FILE
DENT EXPRESS TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DENT, BRYAN                              ADDRESS ON FILE
DENT, CRYSTAL                            ADDRESS ON FILE
DENT, LISA                               ADDRESS ON FILE
DENTINO, JOSEPH                          ADDRESS ON FILE
DENTON, HENRY                            ADDRESS ON FILE
DENTON, JOHN                             ADDRESS ON FILE
DENTON, MARK                             ADDRESS ON FILE
DENTON, RICKY                            ADDRESS ON FILE
DENTON, ROBERT                           ADDRESS ON FILE
DENTONS US LLP                           233 S WACKER DR STE 5900 CHICAGO IL 60606
DENTREMONT, CHRISTOPHER                  ADDRESS ON FILE
DENTRO CARRIERS LTD                      OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A1S5 CANADA
DENTRO CARRIERS LTD                      OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T5C5 CANADA
DENTS TRANSPORT LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DENVER CAPITOL LLC                       123 W WASHINGTON ST STE 214 OSWEGO IL 60543
DENVER CARGO INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DENVER HEATING & AIR CONDITIONING, INC   1900 W HAMILTON PLACE SHERIDAN CO 80110
DENVER HEATING & AIR CONDITIONING, INC   PO BOX 795 HUDSON CO 80642
DENVER LOGISTICS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DENVER LOGISTICS, LLC                    555 SANDY HILL ROAD DENVER PA 17545
DENVER TRUCK AND TRAILER                 5280 NEWPORT ST COMMERCE CITY CO 80022
DENVERMT TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DENZMORE, RODNEY                         ADDRESS ON FILE
DEO TRANSPORT CORP                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DEO TRANSPORT LLC                        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
DEOL CARRIER LLC                         21914 W 96TH ST LENEXA KS 66220
DEOL EXPRESS                             16792 DRAKE RD STRONGSVILLE OH 44136
DEOL EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DEOL LOGISTICS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DEOL ROAD CARRIER LTD.                   2031 COUNTY ROAD 42 BELLE RIVER ON N0R 1X8 CANADA
DEOL TRANSPORT                           3800 MCKEE RD BAKERSFIELD CA 93313
DEOL TRUCKING LLC                        2742 KRISTEN STREET LIVE OAK CA 95953
DEON TRUCKING INC                        OR CAPITAL DEPOT INC 8930 WAUKENGAN ROAD, SUITE 230 MORTON GROVE IL 60053
DEONTAE T WISE                           ADDRESS ON FILE
DEONTE D DUCKETT                         ADDRESS ON FILE
DEPACE, ANTHONY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 506 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 515 of 2156

Claim Name                              Address Information
DEPANNAGE MOBILE G.L. INC.              1506 AVENUE TANIATA LEVIS QC G6Z 2L2 CANADA
DEPAOLO, NICHOLAS                       ADDRESS ON FILE
DEPARTMENT OF AGRICULTURE               BUREAU OF WEIGHTS & MEASURES STATE FAIRGROUNDS PO BOX 19281 SPRINGFIELD IL
                                        62794
DEPARTMENT OF AGRICULTURE               PO BOX 844477 LOS ANGELES CA 90084
DEPARTMENT OF DEFENSE                   1400 DEFENSE PENTAGON WASHINGTON DC 20301-1400
DEPARTMENT OF HOMELAND SECURITY         USCIS - AARON F. GATTERDAM 20760 US HIGHWAY 281 N STE A SAN ANTONIO TX
                                        78258-7527
DEPARTMENT OF INDUSTRIAL RELATIONS      649 MONROE ST MONTGOMERY AL 36131
DEPARTMENT OF INDUSTRIAL RELATIONS      PAYMENT PROCESSING CENTER, PO BOX 511266 LOS ANGELES CA 90051
DEPARTMENT OF LABOR AND INDUSTRIES      PO BOX 24106 SEATTLE WA 98124
DEPARTMENT OF LABOR AND INDUSTRIES      PO BOX 34974 SEATTLE WA 98124
DEPARTMENT OF LABOR AND INDUSTRIES      7273 LINDERSON WAY SW TUMWATER WA 98501
DEPARTMENT OF LICENSING                 329 WILLIAMS AVE S RENTON WA 98057
DEPARTMENT OF LICENSING OLYMPIA         MASTER LICENSE SERVICE, PO BOX 9034 OLYMPIA WA 98507
DEPARTMENT OF LICENSING OLYMPIA         PO BOX 9037 OLYMPIA WA 98507
DEPARTMENT OF MOTOR VEHICLES            REVENUE ACCOUNTING, PO BOX 2409 EMPIRE STATE PLAZA ALBANY NY 12220
DEPARTMENT OF MOTOR VEHICLES            PO BOX 25850 RICHMOND VA 23260
DEPARTMENT OF MOTOR VEHICLES MOORHEAD   1300 15TH AVE N MOORHEAD MN 56560
DEPARTMENT OF MOTOR VEHICLES RICHMOND   ATTN: BILLING, PO BOX 27412 RICHMOND VA 23269
DEPARTMENT OF MOTOR VEHICLES RICHMOND   MOTOR CARRIER SERVICES, PO BOX 27412 RICHMOND VA 23269
DEPARTMENT OF REVENUE HELENA            PO BOX 8021 HELENA MT 59604
DEPARTMENT OF REVENUE HELENA            PO BOX 8031 HELENA MT 59604
DEPARTMENT OF STATE                     312 ROSA L PARKS AVENUE, 6TH FLOOR NASHVILLE-DAVIDSON TN 37243
DEPARTMENT OF THE ARMY                  ATTN: HOLLIE BENSON BUILDING 74801 JIM AVENUE FORT HUACHUCA AZ 85613
DEPARTMENT OF TRANSPORTATION            PO BOX 47418 OLYMPIA WA 98504
DEPARTMENT OF TRANSPORTATION            ENTERPRISE RISK MANAGEMENT DIV P O BOX 47418 OLYMPIA WA 98504-7418
DEPARTMENT OF VETERAN AFFAIRS           500 E. VETERANS STREET BLDG. 402 TOMAH WI 54660
DEPASQUALE, JOSEPH                      ADDRESS ON FILE
DEPCO INC                               20 NEWTON PL HAUPPAUGE NY 11788
DEPENDABLE ELECTRIC IN                  2619 COON RAPIDS BLVD NW, SUITE 101 COON RAPIDS MN 55433
DEPENDABLE ELECTRICAL SERVICE           & REPAIR FRANKFORD 37680 HUDSON RD FRANKFORD DE 19945
DEPENDABLE FAMILY TRUCKING LLC          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DEPENDABLE LAWN CARE                    892 WATSON POND RD ROME ME 04963
DEPENDABLE PETROLEUM                    ONE ROBERTS ROAD PLYMOUTH MA 02360
DEPENDABLE TOW                          PO BOX 34036 TRUCKEE CA 96160
DEPENDABLE TRAILER REPAIR INC           7630 LUXOR ST DOWNEY CA 90241
DEPEREZ, CHRISTIAN                      ADDRESS ON FILE
DEPEW, BARRY                            ADDRESS ON FILE
DEPEW, LINDSAY                          ADDRESS ON FILE
DEPEW, TERRY                            ADDRESS ON FILE
DEPHILLIPS, JOHN                        ADDRESS ON FILE
DEPILLO, JEFFREY                        ADDRESS ON FILE
DEPINA, JOVON                           ADDRESS ON FILE
DEPIRO, DANTE                           ADDRESS ON FILE
DEPNER, JOHN                            ADDRESS ON FILE
DEPOORTER, ARTHUR P                     ADDRESS ON FILE
DEPOTO, SCOTT                           ADDRESS ON FILE
DEPPEN, DOUGLAS                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 507 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 516 of 2156

Claim Name                               Address Information
DEPRIEST, ZACHARY                        ADDRESS ON FILE
DEPT OF CONSUMER & BUSINES SVCS SALEM    CENTRAL SERVICES DIVISION 350 WINTER ST NE PO BOX 14610 SALEM OR 97309
DEPT OF CONSUMER AND BUSINESS SERVICES   REVENUE SERVICES SECTION, PO BOX 14610 SALEM OR 97309
DEPT OF ENVIRONMENTAL PROCTN             STORAGE TANK REGISTRATION, PO BOX 3070 TALLAHASSEE FL 32315
TALLAHASSEE
DEPT OF ENVIRONMENTAL QUALITY PORTLAND   FINANCIAL SERVICES REVENUE SECTION 700 NE MULTNOMAH STREET, STE 600 PORTLAND
                                         OR 97232
DEPT OF FINANCE & ADMIN LITTLE ROCK      MISCELLANEOUS TAX SECTION PO BOX 896 RM 2340 LITTLE ROCK AR 72203
DEPT OF LABOR & INDUSTRIES OLYMPIA       SELF INSURANCE SECTION, PO BOX 24442 SEATTLE WA 98124
DEPT OF LABOR AND INDUSTRIES SEATTLE     SELF-INSURANCE SECTION, PO BOX 24442 SEATTLE WA 98124
DEPT OF TOXIC SUBSTANCES CONTROL SACRA   ACCOUNTING OFFICE, PO BOX 806 SACRAMENTO CA 95812
DEPT. OF PUBLIC DEFENSE                  7105 NW 70TH AVE. BLDG. 3465 AGIA COMPROLLER JOHNSTON IA 50131
DEQ                                      STATE OF OKLAHOMA A/R, PO BOX 2036 OKLAHOMA CITY OK 73101
DERAMUS, TRACEY                          ADDRESS ON FILE
DERAVINE, IRVAN                          ADDRESS ON FILE
DERBY FREIGHTLINES LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DERBY LOGISTICS SYSTEMS INC              OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DERBY, EDWARD                            ADDRESS ON FILE
DEREK M GOURDIN                          ADDRESS ON FILE
DEREK P LAYLAND                          ADDRESS ON FILE
DEREK REID                               ADDRESS ON FILE
DEREK S BROWN                            ADDRESS ON FILE
DERENZY BUSINESS                         TECHNOLOGIES INC, 130 DOTY CIRCLE, WEST SPRINGFIELD MA 01089
DERENZY BUSINESS TEC                     130 DOTY CIRCLE, WEST SPRINGFIELD MA 01089
DEREZINSKI, KENNETH                      ADDRESS ON FILE
DERIAS DAVIS                             ADDRESS ON FILE
DERINGER                                 PO BOX 74504 CLEVELAND OH 44194
DERINS, BRENT                            ADDRESS ON FILE
DERKACZ, PIOTR                           ADDRESS ON FILE
DERKSEN, DALE                            ADDRESS ON FILE
DERMODY, JACOB                           ADDRESS ON FILE
DEROBA, ALEXANDER                        ADDRESS ON FILE
DEROMA, RICHARD                          ADDRESS ON FILE
DEROSIER, DAMIN                          ADDRESS ON FILE
DEROUEN, INA                             ADDRESS ON FILE
DEROUSSE, RAYMOND                        ADDRESS ON FILE
DERR, ROX ANN                            ADDRESS ON FILE
DERR, TRAVIS                             ADDRESS ON FILE
DERRELL, TAFARI                          ADDRESS ON FILE
DERRIC TAYLOR                            ADDRESS ON FILE
DERRICK ALSTON                           ADDRESS ON FILE
DERRICK FRICK                            ADDRESS ON FILE
DERRICKSON, JACOB                        ADDRESS ON FILE
DERRICKSON, MICHAEL                      ADDRESS ON FILE
DERRIT, DAVID                            ADDRESS ON FILE
DERUDDER, STEVEN                         ADDRESS ON FILE
DERUITER, DANIEL                         ADDRESS ON FILE
DERUSSO, JAMES C                         ADDRESS ON FILE
DES MOINES WATER WORKS                   2201 GEORGE FLAGG PKWY DES MONIES IA 50321-1190



Epiq Corporate Restructuring, LLC                                                                    Page 508 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 517 of 2156

Claim Name                            Address Information
DESAFIANTE LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DESANTO, RALPH                        ADDRESS ON FILE
DESAREE COCCHIA                       ADDRESS ON FILE
DESAULNIERS, SANDY                    ADDRESS ON FILE
DESCARTES SYSTEMS (USA) LLC           BANK OF AMERICA, PO BOX 404037 ATLANTA GA 30384
DESCARTES SYSTEMS (USA) LLC           C/O DESCARTES SYSTEM (USA) LLC BANK OF AMERICA ATLANTA GA 30384-4037
DESCHAMPS, DONNA                      ADDRESS ON FILE
DESCHAMPS, EDDIE                      ADDRESS ON FILE
DESCHAN L DAVIS                       ADDRESS ON FILE
DESCHUTES COUNTY ASSESSORS OFFICE     PO BOX 5277 PORTLAND OR 97208
DESCHUTES COUNTY ASSESSORS OFFICE     1300 NW WALL STREET, 2ND FLOOR BEND OR 97703
DESCHUTES COUNTY TAX COLLECTOR        PO BOX 5277 PORTLAND OR 97208
DESEAN C JAMES                        ADDRESS ON FILE
DESERET TST CO - I (2497)             ATT PROXY MGR 60 EAST SOUTH TEMPLE STE 400 SALT LAKE CITY UT 84111-1036
DESERT AUTO CORP                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DESERT CARAVAN INC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
DESERT EAGLE HOT SHOT SERVICES LLC    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DESERT EAGLE TRANSPORTATION LLC       OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
DESERT FIRE PROTECTION LP             505 VALLEY RD RENO NV 89512
DESERT FOX CORP                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DESERT KING INTL                      7024 MANYA CIR SAN DIEGO CA 92154
DESERT KNIGHT LOGISTICS LLC           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DESERT LINES LLC                      OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
DESERT RIDERS TRUCKING LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DESERT RIVER TRANSPORT LLC            P O BOX 751 FAIRACRES NM 88033
DESERT STAR LLC                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
DESERT STORM TRUCKING INC             OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
DESERT STORM TRUCKING INC             7733 RHEA AVE RESEDA CA 91355
DESERT TRAILER SYSTEMS, INC.          2733 W BUCKEYE RD PHOENIX AZ 85009
DESERT TRANSPORT                      OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
DESERT TRANSPORT INC                  999 WALTER STEPHENSON RD APT 728 MIDLOTHIAN TX 75065
DESERT VALLEY TOWING                  14043 PIONEER RD 1 APPLE VALLEY CA 92307
DESERT VALLEY TOWING                  PO BOX 2696 APPLE VALLEY CA 92307
DESERTLAND LOGISTICS LLC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DESH TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DESHAIS, JOHN                         ADDRESS ON FILE
DESHAUN A BAILEY                      ADDRESS ON FILE
DESHAZER, KOAHL                       ADDRESS ON FILE
DESHMESH TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DESHONG, EDDIE                        ADDRESS ON FILE
DESHOWRN, KAWON                       ADDRESS ON FILE
DESI BOY2 LLC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DESI TRANSPORT LLC                    4483 WILLOW CHASE TER JACKSONVILLE FL 32258
DESIDERIO, HUGO                       ADDRESS ON FILE
DESIGN ELECTRIC INC                   4807 HEATHERWOOD ROAD, PO BOX 1252 SAINT CLOUD MN 56301
DESIGN ELEMENT                        8715 BOSTON PL RANCHO CUCAMONGA CA 91730
DESIGN IMAGING                        1170 INDUSTRIAL PARK RD OREM UT 84057
DESIGN MASTER BUILDING SYSTEMS, INC   6600 HESPER RD BILLINGS MT 59106



Epiq Corporate Restructuring, LLC                                                                 Page 509 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 518 of 2156

Claim Name                           Address Information
DESIGN MECHANICAL, INC               PO BOX 875988 KANSAS CITY MO 64187
DESIGN MECHANICAL, INC               100 GREYSTONE KANSAS CITY KS 66103
DESIGN POLYMERICS                    3301 W SEGERSTROM AVE SANTA ANA CA 92704
DESIGN TEAM SIGN COMPANY LLC         255 OLD MORRIS CHAPEL ROAD ADAMSVILLE TN 38310
DESIGN TRANSPORTATION                PO BOX 560686 DALLAS TX 75356-0686
DESIGNATED TRANSPORT INC             PO BOX 1210 PINEVILLE NC 28134-1210
DESIGNER BRANDS INC                  SETH ECKHARDT, 810 DSW DR COLUMBUS OH 43219
DESIGNS BY DANDEE                    7875 S HARMONY RD BLOOMINGTON IN 47403
DESIGNS FOR HEALTH                   90160 US HIGHWAY 93 ARLEE MT 59821
DESIGNS FOR HEALTH                   ATTN: MINDY FYANT 90160 US HIGHWAY 93 ARLEE MT 59821
DESIGNS FOR HEALTH                   151 GALLAGHER CREST RD HENDERSON NV 89074
DESIMONE, KEVIN                      ADDRESS ON FILE
DESIMONE, MICHAEL                    ADDRESS ON FILE
DESINDES, DANIEL                     ADDRESS ON FILE
DESINDES, ROBERT                     ADDRESS ON FILE
DESIRE EXPRESS TRANSPORT, INC.       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DESIRE TRANSPORT INC                 1007 BLAZINGWOOD DR SUNNYVALE CA 94089
DESJARDINS SECS INC.(5028)           ATT KARLA DIAZ/VALUERS MOB. 2 COMPLEXE DESJARDINS TOUR EST NIVEAU 62 MONTREAL
                                     QC H5B 1B4 CANADA
DESJARDINS, MAURICE                  ADDRESS ON FILE
DESKIN SCALE CO INC                  PO BOX 3272 SPRINGFIELD MO 65808
DESKIN, MICHAEL                      ADDRESS ON FILE
DESLOOVER, SCOTT                     ADDRESS ON FILE
DESMET, GARY A                       ADDRESS ON FILE
DESMOND, JAMES                       ADDRESS ON FILE
DESNOES, CECIL L                     ADDRESS ON FILE
DESORCY, RHEAL                       ADDRESS ON FILE
DESOTO COUNTY TAX COLLECTOR          365 LOSHER STREET HERNANDO MS 38632
DESOTO COUNTY TAX COLLECTOR          JOEY TREADWAY, 365 LOSHER STREET HERNANDO MS 38632
DESOUZA, TAMMY                       ADDRESS ON FILE
DESOUZE, MICHAEL                     ADDRESS ON FILE
DESPAIN, LEAH                        ADDRESS ON FILE
DESROSIERS, RYAN                     ADDRESS ON FILE
DESSELLIER, MACKENZY                 ADDRESS ON FILE
DESSELLIER, THOMAS                   ADDRESS ON FILE
DESSER TIRE & RUBBERCO.              ATTN: JEFF BLAIN 3400 CHELSEA AVE BLDG B MEMPHIS TN 38108-1935
DESTA LOGISTICS CARRIER LLC          OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
DESTASI, SEAN                        ADDRESS ON FILE
DESTEFANO, ALEX                      ADDRESS ON FILE
DESTEFANO, ALEX                      ADDRESS ON FILE
DESTEFANO, DAVID                     ADDRESS ON FILE
DESTIN, CADRAC                       ADDRESS ON FILE
DESTIN, WIGGIN                       ADDRESS ON FILE
DESTIN, WIGGIN                       ADDRESS ON FILE
DESTINATION ASAP LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DESTINATION GRANTED LOGISTICS LLC    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DESTINATION TRANS INC                2421 PORTIFINO ST MANTECA CA 95337
DESTINATION TRANSPORT ECHO           ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
DESTINATION UNKNOWN TRUCKING, INC.   3033 COUNTY ROAD 612 KALKASKA MI 49646



Epiq Corporate Restructuring, LLC                                                                 Page 510 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 519 of 2156

Claim Name                            Address Information
DESTINATION X INC                     35 S BAYBROOK DR UNIT 414 PALATINE IL 60074
DESTINATIONS LOGISTICS LLC            OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
DESTINED FREIGHT                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DESTINED TRUCKING INC                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DESTINY 2015 LLC                      101 CAMINO DEL ROSAS WOODWAY TX 76712
DESTINY COURIERS AND LOGISTICS LLC    OR FACTORING EXPRESS LLC PO BOX 150205 OGDEN UT 84415
DESTINY DARDEN                        ADDRESS ON FILE
DESTINY MOTOR FREIGHT LTD             OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
DESTINY TRUCKING INC                  2806 179TH ST CT EAST TACOMA WA 98445
DESTINY WAY LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DESTYNEE CANTY                        ADDRESS ON FILE
DESVALLONS, MAKENSON                  ADDRESS ON FILE
DESYET ER TRANSPORTATION LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DETA LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DETEC SYSTEMS                         ATTN: JIM RICHARDS-AUSTIN 7032 PORTAL WAY UNIT 150R6 FERNDALE WA 98248
DETELLEM, DANIEL                      ADDRESS ON FILE
DETERDING, PHILLIP B                  ADDRESS ON FILE
DETERDING, PHILLIP B                  ADDRESS ON FILE
DETERMINATION INVESTORS LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DETERS, RANDY                         ADDRESS ON FILE
DETERT, RICK                          ADDRESS ON FILE
DETHLOFF, FRED H                      ADDRESS ON FILE
DETIENNE, GORDON                      ADDRESS ON FILE
DETORE, BILL                          ADDRESS ON FILE
DETRICK, DANIEL                       ADDRESS ON FILE
DETRICK, ROGER                        ADDRESS ON FILE
DETRICKS TRUCK & TRAILER SERVICE      1205 EAST WINFIELD AVE MT PLEASANT IA 52641
DETRICKS TRUCK & TRAILER SERVICE      1205 EAST WINFIELD AVENUE MOUNT PLEASANT IA 52641
DETROIT DIESEL REMAN                  60703 COUNTRY CLUB RD BYESVILLE OH 43723
DETROIT DIESEL REMANUFACTURING EAST   8475 COMMERCE DR DR2 CAMBRIDGE OH 43725
DETROIT EXPRESS                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DETROIT INTERNATIONAL BRIDGE CO INC   P.O. BOX 1480 STATION A WINDSOR ON N9A 6R6 CANADA
DETROIT INTERNATIONAL BRIDGE CO INC   PO BOX 32666 DETROIT MI 48232
DETROIT RADIANT PRODUCTS COMPA        ATTN: MALIKA BEKBOSSYNOVA 21400 HOOVER RD WARREN MI 48089
DETWEILER, DEAN                       ADDRESS ON FILE
DETWEILER, RICHARD                    ADDRESS ON FILE
DETZ, THOMAS                          ADDRESS ON FILE
DEUBNER, DAVID                        ADDRESS ON FILE
DEUELL, ROBERT                        ADDRESS ON FILE
DEUSTERMAN, TODD                      ADDRESS ON FILE
DEUTSCH, JOSEPH                       ADDRESS ON FILE
DEUTSCHE BANK (2690)                  ATT REORG MGR 5022 GATE PKWY STE 200 JACKSONVILLE FL 32256
DEUTSCHMAN, JAMES                     ADDRESS ON FILE
DEV & SONS TRANSPORT INC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DEV LOGISTICS INC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DEV TRANSPORT                         OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
DEV TRUCKING LLC                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
DEVA JATT-TRANSPORT LTD               1447 MB-75 HOWDEN MB WINNIPEG MB R5A 1K2 CANADA
DEVAULT, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 511 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 520 of 2156

Claim Name                             Address Information
DEVELIN, JAMES                         ADDRESS ON FILE
DEVELLEN, DANIEL                       ADDRESS ON FILE
DEVELOPMENT DIMENSIONS INTERNATIONAL   PO BOX 780470 PHILADELPHIA PA 19178
DEVEN STURGEON                         ADDRESS ON FILE
DEVEN STURGEON                         ADDRESS ON FILE
DEVENCENZI, PAUL                       ADDRESS ON FILE
DEVER, BRIAN                           ADDRESS ON FILE
DEVER, RAYMOND                         ADDRESS ON FILE
DEVEREAUX, TERRY                       ADDRESS ON FILE
DEVERIS, BIANCA                        ADDRESS ON FILE
DEVERNEUIL, MICHAEL                    ADDRESS ON FILE
DEVERS, RODNEY                         ADDRESS ON FILE
DEVIA, ERICK                           ADDRESS ON FILE
DEVIC TRANSPORTATION                   11551 GRAPEVINE ST RANCHO CUCAMONGA CA 91730
DEVILLE GROUP LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DEVILLE TRANSPORT LLC                  OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DEVIN HENDERSON                        ADDRESS ON FILE
DEVIN HORNE TRANSPORT LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DEVIN M RAY                            ADDRESS ON FILE
DEVIN T HAMLIN                         ADDRESS ON FILE
DEVIN THOMAS                           ADDRESS ON FILE
DEVINE, ALISSA                         ADDRESS ON FILE
DEVINE, DARYL                          ADDRESS ON FILE
DEVINE, GEORGE                         ADDRESS ON FILE
DEVINE, JAMES                          ADDRESS ON FILE
DEVINE, RANDY                          ADDRESS ON FILE
DEVITO, ANTONIO                        ADDRESS ON FILE
DEVITO, PAUL                           ADDRESS ON FILE
DEVITO, PAUL J                         ADDRESS ON FILE
DEVITT, MICHAEL                        ADDRESS ON FILE
DEVITT, STEVEN                         ADDRESS ON FILE
DEVIVO, JOHN                           ADDRESS ON FILE
DEVLIN, DANIEL                         ADDRESS ON FILE
DEVLIN, NED                            ADDRESS ON FILE
DEVLIN, TYLER                          ADDRESS ON FILE
DEVOE, KAVARIS                         ADDRESS ON FILE
DEVOE, REED J                          ADDRESS ON FILE
DEVON DELROY SOFTLEIGH                 ADDRESS ON FILE
DEVONE, GARY                           ADDRESS ON FILE
DEVONN SMITH                           ADDRESS ON FILE
DEVORE, KEVIN                          ADDRESS ON FILE
DEVORSE, YVONNE                        ADDRESS ON FILE
DEVOSS, MARK                           ADDRESS ON FILE
DEVRIES, CYNTHIA                       ADDRESS ON FILE
DEVRIES, HENRY                         ADDRESS ON FILE
DEVRIES, JOSHUA                        ADDRESS ON FILE
DEVRIES, KEN                           ADDRESS ON FILE
DEVRIES, TIMOTHY                       ADDRESS ON FILE
DEVRIES, WILLIAM                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 512 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 521 of 2156

Claim Name                               Address Information
DEVURA, ZELJKO                           ADDRESS ON FILE
DEW, ARLENE                              ADDRESS ON FILE
DEWAIN DIVELBLISS                        ADDRESS ON FILE
DEWALL, DAVID                            ADDRESS ON FILE
DEWALT TRANSPORTATION LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DEWALT, ROSE                             ADDRESS ON FILE
DEWALT, SHANE                            ADDRESS ON FILE
DEWAR, JR., CECIL                        ADDRESS ON FILE
DEWARD& KATHY TIMOTHY LIVING TRUST       ADDRESS ON FILE
DEWAYNE HIGGINS TRUCKING COMPANY, INC.   PO BOX 537, 3223 HWY 64 WEST MULBERRY AR 72947
DEWBERRY, LAUNTAE                        ADDRESS ON FILE
DEWEES, NATHAN                           ADDRESS ON FILE
DEWEES, TRACY                            ADDRESS ON FILE
DEWELL, MEGAN B                          ADDRESS ON FILE
DEWELL, MEGAN B                          ADDRESS ON FILE
DEWES, LISA                              ADDRESS ON FILE
DEWEY PEST & TERMITE CTRL CO             PO BOX 7114 PASADENA CA 91109
DEWEY PEST & TERMITE CTRL CO             2307 S MANCHESTER AVE ANAHEIM CA 92802
DEWEY, CALEB                             ADDRESS ON FILE
DEWEY, JAIME                             ADDRESS ON FILE
DEWHIRST, FRANK R                        ADDRESS ON FILE
DEWICK, DANIEL                           ADDRESS ON FILE
DEWILDE, KELLY                           ADDRESS ON FILE
DEWILDT, LORI                            ADDRESS ON FILE
DEWISE III, JAMES                        ADDRESS ON FILE
DEWITT, CHRISTIAN                        ADDRESS ON FILE
DEWITT, DAVID                            ADDRESS ON FILE
DEWITT, DONNA                            ADDRESS ON FILE
DEWITT, TRACIE                           ADDRESS ON FILE
DEWITTE, ROSS                            ADDRESS ON FILE
DEWS, JOSHUA                             ADDRESS ON FILE
DEWS, RICHARD                            ADDRESS ON FILE
DEX LOGISTICS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DEXTER AXLE                              ADDRESS ON FILE
DEXTER HOFING LLC                        45 ROCKEFELLER PLAZA SUITE 2000 MANHATTAN NY 10111
DEXTER LOGISTICS INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
DEY, MELISSA                             ADDRESS ON FILE
DEYERLER, JEFFREY                        ADDRESS ON FILE
DEYOUNG, KEVIN                           ADDRESS ON FILE
DEZERAE DURANSO                          ADDRESS ON FILE
DF TRANSPORTATION                        OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
DF XPRESS INC                            129 NUTMEG LANE GALAX VA 24333
DFC CERAMICS                             PO BOX 918, 515 S 9TH ST CANON CITY CO 81215
DFC FENCE INC                            4901 W STATE ST ROCKFORD IL 61102
DFF TRANSPORTATION INC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DFH TRANSPORTATION LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DFK                                      ATTN: BILL WIOREK 2464 WISCONSIN AVE DOWNERS GROVE IL 60515
DFT SECURITY                             75 REMITTANCE DRIVE DEPT 6012 CHICAGO IL 60675
DFT TRANSPORTATION LLC                   OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197



Epiq Corporate Restructuring, LLC                                                                    Page 513 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 522 of 2156

Claim Name                           Address Information
DFW ACES LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DFW GLOBAL TRUCKING LLC              OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DG & L SERVICES LLC                  115-48 199TH ST SAINT ALBANS NY 11412
DG & L SERVICES LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
DG TRANSPORT INC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
DG TRANSPORT SERVICES LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DG TRANSWORLD LLC                    OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
DG TRUCK RENTAL INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
DG TRUCKING LLC                      1000 STRAWBERRY LANE HAZLE TOWNSHIP PA 18202
DGA EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DGBCONNECT LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DGCOM TRANSPORT LLC                  OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
DGG TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
DGL EXPORT INC                       ATTN: DANIELA ORTIZ CUSTOMER SERVICE 8505 NW 68TH ST MIAMI FL 33166
DGL EXPORT INC                       ATTN: TATIANA ROJAS CUSTOMER SERVICE 8505 NW 68TH ST MIAMI FL 33166
DGL XPRESS                           OR PHOENIX CAPITAL GROP LLC, PO BOX 1415 DES MOINES IA 50305
DGL XPRESS                           12556 WEAVER RD HORIZON CITY TX 79928
DGMS TRANSPORTATION LLC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DGN METRO LLC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DGPILOT INC                          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DGS HAULING AND TOWING               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DGTM INC                             447 DEIGN CT BRIGHTON MI 48114
DH CARRIERS                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DH CARRIERS                          1943 BLEVIN ROAD YUBA CITY CA 95993
DH PACE                              ATTN: CLIFF 1960 E BERGMAN ST STE 100 SPRINGFIELD MO 65802
DH PACE COMPANY                      1901 E. 119TH STREET OLATHE KS 66061
DH TRANSPORT LLC                     102 FULTON KEYPORT NJ 07735
DH TRANSPORTATION INC                OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DH TRUCKING INC                      OR TAB BANK, PO BOX 150830 OGDEN UT 84415-0830
DHADDA TRUCKING INC                  DHADDA TRUCKING INC, 42 CLAUSS STREET CARTERET NJ 07008
DHADDA TRUCKING INC (MC817022)       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DHAKNE GROUP LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DHALIWAL BROTHERS                    813 BOWEN CT YUBA CITY CA 95993-8882
DHALIWAL BROTHERS TRUCKING INC       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DHALIWAL LABS C/O ECHO               ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
DHALIWAL TRANSPORT LLC               1240 WIN DRIVE SUITE 6000 BETHLEHEM PA 18017-7061
DHAMI BROS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DHAMI TRANSPORT CORP                 13 CHESTNUT ST CARTERET NJ 07008
DHANJU LOGISTICS INC                 OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD HOUSTON TX 77064
DHANOA ENTERPRISES INC               544 SKYVIEW RANCH WAY NE CALGARY AB T3N 0E7 CANADA
DHANOA FREIGHTLINES INC              1436 25 ST NW EDMONTON AB T6T2K7 CANADA
DHANOA TRANSPORT                     OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DHANOA, GURMINDER                    ADDRESS ON FILE
DHARNI HOSPITALITY,LLC               12161 S. LIL DICKENS LANE RIVERTON UT 84065
DHB TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DHE                                  2555 E OLYMPIC BLVD LOS ANGELES CA 90023
DHEER TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DHG TRANSPORT INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DHILLON CARGO INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                 Page 514 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 523 of 2156

Claim Name                           Address Information
DHILLON CARRIER INC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DHILLON FREIGHT LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DHILLON GROUP INC                    15945 OYSTER BAY LANE FONTANA CA 92336
DHILLON ROAD RUNNER INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DHILLON ROADLINES INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DHILLON TRUCKING LLC                 OR FIRST LINE FUNDING GROUP PO BOX 328 MADISON SD 57042
DHILLON TRUCKS INC                   OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DHILLON XPRESS INC                   OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
DHILLONS SUNRISE TRANSPORT CORP      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DHILLOON TRANSPORT INC               OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DHIMAL, KHAGENDRA                    ADDRESS ON FILE
DHL                                  DEUTSCHE POST AG HEADQUARTERS BONN 53250 GERMANY
DHL                                  DHL, PO BOX 9349 LOUISVILLE KY 40209
DHL                                  6350 HOWDY WELLS AVE. LAS VEGAS NV 89115
DHL C/O BRP CORP                     GBS INS & RISK MANAGEMENT 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL C/O BRP US INC                   GBS INS & RISK MANAGEMENT 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL C/O SAMSUNG                      GBS INS & RISK MANAGEMENT 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL EXPRESS (CANADA), LTD.           18 PARKSHORE DR. BRAMPTON ON L6T 5M1 CANADA
DHL EXPRESS USA INC                  15-31 PAPETTI PLAZA ELIZABETH NJ 07026
DHL SUPPLY CHAIN                     C/O BRP US INC, 1210 S PINEISLAND RD PLANTATION FL 33323
DHL SUPPLY CHAIN                     ATTN: CHERYL WILSON SAMSUNG 1210 S. PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN                     ATTN: NADIA RANKINE SAMSUNG 1210 S. PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN                     ATTN: NADIA RANKINE SAMSUNG 1210 SOUTH PINE ISLAND PLANTATION FL 33324
DHL SUPPLY CHAIN                     BOMBARDIER REC PRODS 1210 S PINEISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN                     C/O BRP US INC, 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN                     C/O SC JOHNSON & SON INC 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN                     SAMSUNG 1210 SOUTH PINE ISLAND PLANTATION FL 33324
DHL SUPPLY CHAIN C/O BRP US IN       GBS INS & RISK MANAGEMENT 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN C/O SAMSUNG         ATTN: CHERYL WILSON GBS INSURANCE & RISK MGMT 1210 S PINE ISLAND RD PLANTATION
                                     FL 33324
DHL SUPPLY CHAIN C/O SAMSUNG         ATTN: NADIA RANKINE GBS INSURANCE & RISK MGMT 1210 S PINE ISLAND RD PLANTATION
                                     FL 33324
DHL SUPPLY CHAIN C/O SAMSUNG         GBL INSURANCE & RISK MGMT 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN C/O SAMSUNG         GBS INS & RISK MANAGEMENT 1210 S PINE ISLAND RD PLANTATION FL 33324
DHL SUPPLY CHAIN SAMSUNG             C/O GBS INSURANCE & RISK MGMT 1210 S PINE ISLAN RD PLANTATION FL 33324
DHL TRUCKING INC                     OR GULF COAST BANK & TRUST COMPANY PO BOX 732148 DALLAS TX 75373-2148
DHM LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DHMS LOGISTICS INC                   OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
DHMS LOGISTICS INC                   1389 W 86TH ST STE 275 INDIANAPOLIS IN 46260
DHOOBO TRANS LLC                     OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
DHOORE, JEROME                       ADDRESS ON FILE
DHS                                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DHS LOGISTICS SOLUTION INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DHS PRODUCTS INC                     1024 N PRODUCTION RD CEDAR CITY UT 84721
DHS TRUCKING LLC                     OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                     90074
DHUGOHAY TRUCKING                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DHUME, JAMES                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                Page 515 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 524 of 2156

Claim Name                           Address Information
DHUME, RICHARD                       ADDRESS ON FILE
DHY LOGISTICS LLC                    OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
DI KESTRO LLC                        OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
DIA TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DIA, MAME                            ADDRESS ON FILE
DIAGOURAGA TRUCKING                  OR ARSENAL FUNDING LLC, PO BOX 150954 OGDEN UT 84415-0954
DIAKONU, YUMI                        ADDRESS ON FILE
DIAL MANUFACTURING                   ECHO GLOBAL, 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
DIAL, JEROME                         ADDRESS ON FILE
DIAL, JOSHUA                         ADDRESS ON FILE
DIAL, MICHAEL                        ADDRESS ON FILE
DIAL, RYAN                           ADDRESS ON FILE
DIAL, WAYNE                          ADDRESS ON FILE
DIALLO, BACHIR                       ADDRESS ON FILE
DIALLO, IBRAHIMA                     ADDRESS ON FILE
DIALVA LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DIALVAN INC                          OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
DIAMOND A SMITH                      ADDRESS ON FILE
DIAMOND CAPITAL TRUCKING LLC         10506 GALENA LANE UPPER MARLBORO MD 20772
DIAMOND CHEMICAL CO., INC.           PO BOX 51021 NEWARK NJ 07101-5121
DIAMOND COLLISION CENTER INC         PO BOX 964 MOKENA IL 60448
DIAMOND CUT INC                      4531 BAINES LOOP RD SPRING HOPE NC 27882
DIAMOND D RANCH                      ADDRESS ON FILE
DIAMOND DAVE TRUCKING LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DIAMOND DEDICATED, LLC               OR ASSET FUNDING SOURCE, PO BOX 497 ANKENY IA 50021
DIAMOND DELIVERY SERVICES            13350 COMBER WAY SURREY BC V3W 5V9 CANADA
DIAMOND FREIGHT INC                  1570 HECHT COURT BARTLETT IL 60103
DIAMOND FREIGHT SYSTEMS              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DIAMOND FREIGHT SYSTEMS INC          DIAMOND FREIGHT SYSTEMS INC, PO BOX 405 HALES CORNERS WI 53130
DIAMOND G MAINTENANCE                1005 N. HICKORY BUFFALO MO 65622
DIAMOND G MAINTENANCE                39 SAWBUCK TRAIL BUFFALO MO 65622
DIAMOND G MAINTENANCE                PO BOX 221 URBANA MO 65767
DIAMOND HAULING INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DIAMOND HEAD TRANSPORT LLC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
DIAMOND KNOLL TRUCKING LLC           15306 CAPEHART RD SPRINGFIELD NE 68059
DIAMOND LOGISTIC LLC                 OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
DIAMOND LOGISTICS CORP               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DIAMOND LOGISTICS INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DIAMOND P TRUCKING                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DIAMOND PLUS TRANSPORTATION INC      20510 BIND COURT WALNUT CA 91789
DIAMOND ROLL-UP DOOR INC.            295 COMMERCE WAY UPPER SANDUSKY OH 43351
DIAMOND ROLL-UP DOOR INC.            PO BOX 420 UPPER SANDUSKY OH 43351
DIAMOND SPRINGS                      P.O. BOX 38668 HENRICO VA 23231
DIAMOND SPRINGS WATER                PO BOX 38668 RICHMOND VA 23231
DIAMOND STARS ENTERPRISES LLC        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
DIAMOND TOOL & ABRASIVES             ATTN: JANAU WASHINGTON ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                     60654
DIAMOND TRANSPORTATION LLC           18801 E CHENANGO PL AURORA CO 80015



Epiq Corporate Restructuring, LLC                                                                 Page 516 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 525 of 2156

Claim Name                           Address Information
DIAMOND TRUCK & TRAILER              PO BOX 91942 ELK GROVE VILLAGE IL 60009
DIAMOND TRUCK SALES                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DIAMOND TRUCKING 1 LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DIAMOND TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DIAMOND TRUCKING, INC.               14602 RUHLMAN DRIVE, 14602 RULHMAN DRIVE LAREDO TX 78045
DIAMOND X-PRESS LLC                  5723 DIVIDEND ROAD UNIT A INDIANAPOLIS IN 46241
DIAMOND, ANDREW                      ADDRESS ON FILE
DIAMOND, WILLIAM                     ADDRESS ON FILE
DIAMONDLINE DELIVERY SYSTEMS INC     PO BOX 938 MERIDIAN ID 83680
DIAMONDS & SPURS TRUCKING LLC        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DIANA GROSS                          ADDRESS ON FILE
DIANA L ENGELKING                    ADDRESS ON FILE
DIANA TUPPER-DEBLOCK                 ADDRESS ON FILE
DIANA TUPPER-DEBLOCK                 ADDRESS ON FILE
DIANA, BARBARA                       ADDRESS ON FILE
DIANAS DELIVERY SERVICE LLC          P.O. BOX 423 MENOMONEE FALLS WI 53052
DIANE AND PABLO PORTILLO             ADDRESS ON FILE
DIANE BROWNLEE                       ADDRESS ON FILE
DIANE VORRASI                        ADDRESS ON FILE
DIANEL LLC DELIVERED                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DIANNA K ANDERSON                    ADDRESS ON FILE
DIANNI, JOSEPH                       ADDRESS ON FILE
DIARRA LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DIAS GOMES, SILVIO                   ADDRESS ON FILE
DIAZ & RAMOS TRUCKING                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DIAZ ESPINOZA, RAFAEL                ADDRESS ON FILE
DIAZ MARTINEZ, ARTURO                ADDRESS ON FILE
DIAZ VILLAFANA, EDUARDO              ADDRESS ON FILE
DIAZ, ADRIANNA                       ADDRESS ON FILE
DIAZ, ALBERTO                        ADDRESS ON FILE
DIAZ, ALFREDO                        ADDRESS ON FILE
DIAZ, AMADO                          ADDRESS ON FILE
DIAZ, AMANDA                         ADDRESS ON FILE
DIAZ, ANDRE                          ADDRESS ON FILE
DIAZ, ANDREA                         ADDRESS ON FILE
DIAZ, ANTHONY                        ADDRESS ON FILE
DIAZ, ARTURO                         ADDRESS ON FILE
DIAZ, BROOKE                         ADDRESS ON FILE
DIAZ, CALEB                          ADDRESS ON FILE
DIAZ, DAIANA                         ADDRESS ON FILE
DIAZ, DALIA                          ADDRESS ON FILE
DIAZ, DANIEL                         ADDRESS ON FILE
DIAZ, EDGAR                          ADDRESS ON FILE
DIAZ, EDUARDO                        ADDRESS ON FILE
DIAZ, ELVIS                          ADDRESS ON FILE
DIAZ, ELVYS                          ADDRESS ON FILE
DIAZ, ERICK                          ADDRESS ON FILE
DIAZ, ERNESTO                        ADDRESS ON FILE
DIAZ, ERNESTO                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 517 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 526 of 2156

Claim Name                           Address Information
DIAZ, ERODIO                         ADDRESS ON FILE
DIAZ, FIDEL                          ADDRESS ON FILE
DIAZ, FRANCISCO                      ADDRESS ON FILE
DIAZ, GERARDO                        ADDRESS ON FILE
DIAZ, GILLERMO                       ADDRESS ON FILE
DIAZ, HORTENCIA                      ADDRESS ON FILE
DIAZ, IAN                            ADDRESS ON FILE
DIAZ, JAIME                          ADDRESS ON FILE
DIAZ, JAVIER                         ADDRESS ON FILE
DIAZ, JAVIER                         ADDRESS ON FILE
DIAZ, JAVIER                         ADDRESS ON FILE
DIAZ, JAY                            ADDRESS ON FILE
DIAZ, JEREMY                         ADDRESS ON FILE
DIAZ, JOE                            ADDRESS ON FILE
DIAZ, JOHN P                         ADDRESS ON FILE
DIAZ, JOMAR                          ADDRESS ON FILE
DIAZ, JONATHAN                       ADDRESS ON FILE
DIAZ, JOSE                           ADDRESS ON FILE
DIAZ, JOSE                           ADDRESS ON FILE
DIAZ, JUAN E.SIERRA                  ADDRESS ON FILE
DIAZ, JULIO                          ADDRESS ON FILE
DIAZ, LAWRENCE                       ADDRESS ON FILE
DIAZ, LORA                           ADDRESS ON FILE
DIAZ, MARIO                          ADDRESS ON FILE
DIAZ, MARIO                          ADDRESS ON FILE
DIAZ, MARY                           ADDRESS ON FILE
DIAZ, MATTHEW                        ADDRESS ON FILE
DIAZ, RAUL                           ADDRESS ON FILE
DIAZ, RENE                           ADDRESS ON FILE
DIAZ, RICARDO L                      ADDRESS ON FILE
DIAZ, RICARDO L                      ADDRESS ON FILE
DIAZ, ROBERT                         ADDRESS ON FILE
DIAZ, RONNY                          ADDRESS ON FILE
DIAZ, SANDRA                         ADDRESS ON FILE
DIAZ, SCOTT                          ADDRESS ON FILE
DIAZ, SERGIO                         ADDRESS ON FILE
DIAZ, TIFFANY                        ADDRESS ON FILE
DIAZ, TIM                            ADDRESS ON FILE
DIAZ, TOMAS                          ADDRESS ON FILE
DIAZ-CASTILLO, RAFAEL                ADDRESS ON FILE
DIAZ-JUAREZ, HORTENCIA               ADDRESS ON FILE
DIAZ-NEGRON, HECTOR                  ADDRESS ON FILE
DIAZLOPEZ, RICARDO D                 ADDRESS ON FILE
DIAZLOPEZ, RICARDO D                 ADDRESS ON FILE
DIAZRODRIGUEZ, ALEXIS                ADDRESS ON FILE
DIBA TRUCKING                        OR BC FACTORING LLC, P.O. BOX 172091 MEMPHIS TN 38187
DIBARI, JOHN                         ADDRESS ON FILE
DIBBLE, ERIC                         ADDRESS ON FILE
DIBELLA, DINO                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 518 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 527 of 2156

Claim Name                           Address Information
DIBELLA, SANTI                       ADDRESS ON FILE
DIBELLO, TERRY                       ADDRESS ON FILE
DIBERT HAY & HAULING                 372 DIBERT ROAD EVERETT PA 15537-6502
DIBLASI, ANTHONY                     ADDRESS ON FILE
DIBNE LLC                            2 WOLFE TERR NATICK MA 01760
DIBOR TRANSPORTATION INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DIBRA EXPRESS INC                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
DICARLO, JOHN L                      ADDRESS ON FILE
DICEMBRI, ANTHONY                    ADDRESS ON FILE
DICK HAVEN FARMS                     7069 S. 7 MILE RD. MCBAIN MI 49657
DICK, AYUMI                          ADDRESS ON FILE
DICK, JAMES                          ADDRESS ON FILE
DICK, JIMMY                          ADDRESS ON FILE
DICK, MICHAEL                        ADDRESS ON FILE
DICKELMAN, MARK                      ADDRESS ON FILE
DICKEN, RUSTY                        ADDRESS ON FILE
DICKENS, DALE                        ADDRESS ON FILE
DICKENS, REGINA                      ADDRESS ON FILE
DICKENS, SAMSON                      ADDRESS ON FILE
DICKENSON, RANDY                     ADDRESS ON FILE
DICKER, CARRIE                       ADDRESS ON FILE
DICKER, MICHAEL                      ADDRESS ON FILE
DICKERSON, ANTHONY                   ADDRESS ON FILE
DICKERSON, CHRISTOPHER               ADDRESS ON FILE
DICKERSON, DANNY                     ADDRESS ON FILE
DICKERSON, JOYAR                     ADDRESS ON FILE
DICKERSON, LAUREN                    ADDRESS ON FILE
DICKERSON, MARK                      ADDRESS ON FILE
DICKERSON, MICHAEL                   ADDRESS ON FILE
DICKERSON, TOM                       ADDRESS ON FILE
DICKEY, BYRON                        ADDRESS ON FILE
DICKEY, ERIC                         ADDRESS ON FILE
DICKEY, ERIC                         ADDRESS ON FILE
DICKEY, JOHN                         ADDRESS ON FILE
DICKEY, NATHANIEL                    ADDRESS ON FILE
DICKEY, SHARONDA                     ADDRESS ON FILE
DICKEY, STEVEN                       ADDRESS ON FILE
DICKEY, WILLIAM                      ADDRESS ON FILE
DICKHAUS, MARTY                      ADDRESS ON FILE
DICKINSON COUNTY HEALTHCARE SYSTEM   PO BOX 2098 KINGSFORD MI 49802
DICKINSON FLEET SERVICES, LLC        D/B/A: COX AUTO MOBILITY-MOBILE DIV MIDWEST, 4709 W. 96TH ST. INDIANAPOLIS IN
                                     46268
DICKINSON FLEET SERVICES, LLC        D/B/A: COX AUTO MOBILITY-MOBILE DIV 7717 SOLUTION CENTER CHICAGO IL 60677
DICKINSON FLEET SERVICES, LLC        D/B/A: COX AUTO MOBILITY-MOBILE DIV 7717 SOLUTION CENTER CHICAGO IL 60677-7007
DICKINSON, MICHAEL                   ADDRESS ON FILE
DICKINSON, TAMITRA                   ADDRESS ON FILE
DICKINSONS TRUCKING LLC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DICKISON FAMILY LOGISTICS LLC        OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                     UT 84130



Epiq Corporate Restructuring, LLC                                                                Page 519 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 528 of 2156

Claim Name                              Address Information
DICKO TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DICKRELL, DENNIS                        ADDRESS ON FILE
DICKS AUTO WRECKERS                     PO BOX 967 FONTANA CA 92334
DICKS MOBILE REPAIR SERVICE             13142 BAY MEADOW AVE CHINO CA 91710
DICKS SPORTING GOODS                    4651 N COTTON LN GOODYEAR AZ 85395
DICKS SPORTING GOODS INC                345 COURT ST CORAOPOLIS PA 15108
DICKS TOWING                            10140 W MARGINAL PL S TUKWILA WA 98168
DICKS TOWING                            7404 44TH AVENUE NE MARYSVILLE WA 98270
DICKS TOWING INC                        3516 PAINE AVE EVERETT WA 98201
DICKS WRECKER SERVICE                   P O BOX 1025 MEDFORD OR 97501
DICKSON LLC                             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DICKSON, CURTIS                         ADDRESS ON FILE
DICKSON, DAVID                          ADDRESS ON FILE
DICKSON, DAVID N                        ADDRESS ON FILE
DICKSON, HARLEY                         ADDRESS ON FILE
DICKSON, JACK                           ADDRESS ON FILE
DICKSON, JOSHUA                         ADDRESS ON FILE
DICKSON, LARRY O                        ADDRESS ON FILE
DICKSON, MICAH                          ADDRESS ON FILE
DICKSON, TODD                           ADDRESS ON FILE
DICOCHEA, OSCAR                         ADDRESS ON FILE
DICOM TRANSPORTATION GROUP              10500 RYAN AVENUE DORVAL QC H9P 2T7 CANADA
DICONTINI, ALFREDO                      ADDRESS ON FILE
DIDDLE, JAMES                           ADDRESS ON FILE
DIDEN CO                                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DIDO TRANSPORT LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DIECKHONER, MITCHELL                    ADDRESS ON FILE
DIEHL, JAMES                            ADDRESS ON FILE
DIEHL, JAMES                            ADDRESS ON FILE
DIEHL, MICHAEL                          ADDRESS ON FILE
DIEHL, MICHAEL                          ADDRESS ON FILE
DIEHL, ROBERT                           ADDRESS ON FILE
DIEKMAN, EQUISHAH                       ADDRESS ON FILE
DIEMA EXPRESS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DIEMER, KENDRA                          ADDRESS ON FILE
DIENE, BARRA                            ADDRESS ON FILE
DIENER, DAVID                           ADDRESS ON FILE
DIENG, IBRAHIMA                         ADDRESS ON FILE
DIERIKX, LOGAN                          ADDRESS ON FILE
DIERKER, MARK                           ADDRESS ON FILE
DIESEL COMPONENTS INC                   670 EAST TRAVELERS TRAIL BURNSVILLE MN 55337
DIESEL DIAGNOSTIC TEC                   D/B/A: S & D FAYAD INC 4312 SOUTH CHESTNUT AVE FRESNO CA 93725
DIESEL DIRECT OF NEW JERSY INC          74 MAPLE ST STOUGHTON MA 02072
DIESEL DIRECT OF NEW JERSY INC          PO BOX 419 RANDOLPH MA 02368
DIESEL DIRECT OF NEW JERSY INC          PO BOX 536785 PITTSBURGH PA 15253
DIESEL DIRECT WEST                      4412 HARLIN DR SACRAMENTO CA 95826
DIESEL DIRECT, INC.                     PO BOX 135 RANDOLPH MA 02368
DIESEL DOC TRUCK & TRAILER REPAIR LTD   311 CROOKED CREEK RD ATHENS GA 30607
CO



Epiq Corporate Restructuring, LLC                                                                   Page 520 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 529 of 2156

Claim Name                               Address Information
DIESEL EMISSIONS SERVICE REDDI           17011 CLEAR CREEK RD REDDING CA 96001
DIESEL ENGINE EQUIPMENT AND REPAIR INC   175 MACKEN LN, PO BOX 26 BLAIRS VA 24527
DIESEL FREIGHT LLC                       855 BLACKBURN ST SW WYOMING MI 49509-1931
DIESEL GROUP SYSTEM INC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DIESEL INJECTION SERVICE CO., INC.       D/B/A: DIESEL USA GROUP 3448 RELIABLE PARKWAY CHICAGO IL 60686
DIESEL INJECTION SERVICE LLC             430 54TH STREET SW GRAND RAPIDS MI 49548
DIESEL LAPTOPS                           7440 BROAD RIVER ROAD IRMO SC 29063
DIESEL MAINTENANCE SERVICES LLC          44 A STREET JOHNSTON RI 02919
DIESEL MAINTENANCE SERVICES LLC          PO BOX 19429 JOHNSTON RI 02919
DIESEL MAN TRUCK CENTER LLC              310 E BLANCHARD RD FLORENCE SC 29506
DIESEL ROAD SERVICE                      365 W NORTH AVE FRESNO CA 93706
DIESEL SERVICE CENTER                    1 SEIDEL CT. BOLINGBROOK IL 60490
DIESEL SERVICES OF W.N.Y. INC            991 AERO DR CHEEKTOWAGA NY 14225
DIESEL SOLUTIONS LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DIESEL TRANSPORTATION INC                11731 GLENN CIR PLAINFIELD IL 60585
DIESEL TRUCK SALES INC                   PO BOX 1428 SAGINAW MI 48605
DIESEL TRUCK SERVICE                     PO BOX 4470 LAGRANGE GA 30241
DIESEL USA GROUP                         3448 RELIABLE PARKWAY CHICAGO IL 60686
DIESELTECH TRUCK REPAIR                  5288 STILL CREEK AVE BURNABY BC V5C 4E4 CANADA
DIESELTECH TRUCK REPAIR                  1650 HARTLEY AVE COQUITLAM BC V5N 4E8 CANADA
DIESOIL TRANSPORT LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DIETER, JEREMY                           ADDRESS ON FILE
DIETERICH, CHARLES                       ADDRESS ON FILE
DIETERICH, MARK                          ADDRESS ON FILE
DIETERLE, GARY                           ADDRESS ON FILE
DIETL, RON                               ADDRESS ON FILE
DIETRICH, RICHARD                        ADDRESS ON FILE
DIETRICH, WILLIAM                        ADDRESS ON FILE
DIETSCHE, DAVID R                        ADDRESS ON FILE
DIETZ, CLINT                             ADDRESS ON FILE
DIETZ, DAVID                             ADDRESS ON FILE
DIEZLER EXPRESS LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DIFEO, ALEX                              ADDRESS ON FILE
DIFFEE, JOHN                             ADDRESS ON FILE
DIFRANCO, JAMES                          ADDRESS ON FILE
DIFRONZO, VITO                           ADDRESS ON FILE
DIG CORPORATION                          1210 ACTIVITY DR VISTA CA 92081
DIGENOVA, PHIL                           ADDRESS ON FILE
DIGESO, GIUSEPPE                         ADDRESS ON FILE
DIGGERS & DUMPERS, LLC                   912 SYBERTON RD GALLITZIN PA 16641
DIGGS, CHRIS                             ADDRESS ON FILE
DIGGS, JAMES                             ADDRESS ON FILE
DIGGS, LEO                               ADDRESS ON FILE
DIGIOVANNI, ANUNZIO                      ADDRESS ON FILE
DIGITAL ALPHA TECHNOLOGIES INC           100 OVERLOOK CTR FL 2 PRINCETON NJ 08540
DIGITAL BASE PRODUCTIONS, INC.           2715-81ST STREET LUBBOCK TX 79423
DIGITAL MEDIA INNOVATIONS LLC NOTIFIED   C/O WEST TECHNOLOGY GROUP LLC, PO BOX 74007143 CHICAGO IL 60674
DIGITAL MEDIA VENDING INTERNAT           ATTN: ZACH GREEN 400 MORRIS ST SEBASTOPOL CA 95472
DIGITAL MEDIA VENDING INTL LLC           ATTN: ZACHARY GREEN OPERATIONS 400 MORRIS ST SEBASTOPOL CA 95472



Epiq Corporate Restructuring, LLC                                                                    Page 521 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 530 of 2156

Claim Name                           Address Information
DIGITAL SATELLITE SERVICES INC       1330 S WINTERBROOKE DR OLATHE KS 66062
DIGITAL SHOVEL COMPOUND ADJECE       ATTN: ISARLENE PEREZ 633 CORONATION DR SCARBOROUGH ON M1E 2K4 CANADA
DIGITAL TRANSPORTATION LLC           OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DIGNITY LOGISTICS INC                3342 N DANIELS CT ARLINGTON HEIGHTS IL 60004
DIGREGORIO, JESSICA                  ADDRESS ON FILE
DIGUARDI, JOHN                       ADDRESS ON FILE
DIINI TRANSPORTATION LLC             OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
DIJ GROUP INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DIJ TRANSCO LTD                      OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
DIJITRANS                            OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
DIKENAH, ELAINE                      ADDRESS ON FILE
DIKENAH, ELAINE                      ADDRESS ON FILE
DILA AUTO GROUP INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DILA CORP                            OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
DILBER, ZORAN                        ADDRESS ON FILE
DILES, CHAZ                          ADDRESS ON FILE
DILIGENCE EXPRESS INC                5001 SYRACUSE CT PLAINFIELD IL 60586
DILIGENT CORPORATION                 P.O. BOX 419829 BOSTON MA 02241
DILIGENT DELIVERY SYSTEM             9200 DERRINGTON RD 100 HOUSTON TX 77064
DILIGENT DELIVERY SYSTEMS.           9200 DERRINGTON RD STE 100 HOUSTON TX 77064
DILKS, HARRY                         ADDRESS ON FILE
DILL, JALIL                          ADDRESS ON FILE
DILL, SAM                            ADDRESS ON FILE
DILL, TERRANCE                       ADDRESS ON FILE
DILLA TRUCKING LLC                   OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
DILLA TRUCKING LLC                   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                     76116
DILLAHUNT, GLENN                     ADDRESS ON FILE
DILLARD, BRANDON                     ADDRESS ON FILE
DILLARD, BRAYSEAN                    ADDRESS ON FILE
DILLARD, CHRISTOPHER                 ADDRESS ON FILE
DILLARD, DEMETRIUS                   ADDRESS ON FILE
DILLARD, DERRICK D                   ADDRESS ON FILE
DILLARD, JAMES                       ADDRESS ON FILE
DILLARD, JOHN                        ADDRESS ON FILE
DILLARD, MITCHELL                    ADDRESS ON FILE
DILLARD, NICOLE                      ADDRESS ON FILE
DILLARD, TOMAS                       ADDRESS ON FILE
DILLAVOU, JASON                      ADDRESS ON FILE
DILLAVOU, NOLLAN                     ADDRESS ON FILE
DILLE, DONALD                        ADDRESS ON FILE
DILLE, HEATHER                       ADDRESS ON FILE
DILLE, HEATHER                       ADDRESS ON FILE
DILLEY, STEPHEN                      ADDRESS ON FILE
DILLINGER, JEFFREY                   ADDRESS ON FILE
DILLON J MCMASTER                    ADDRESS ON FILE
DILLON TOWING & RECOVERY             BOX 1526 DILLON CO 80435
DILLON TOYOTA LIFT                   1117 E PLAZA DR STE G EAGLE ID 83616
DILLON TOYOTA LIFT                   2640 CALIFORNIA AVE. SALT LAKE CITY UT 84104



Epiq Corporate Restructuring, LLC                                                                Page 522 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 531 of 2156

Claim Name                           Address Information
DILLON, ALLEN                        ADDRESS ON FILE
DILLON, JEFFREY                      ADDRESS ON FILE
DILLON, MAX                          ADDRESS ON FILE
DILLON, MICHAEL                      ADDRESS ON FILE
DILLON, MICHAEL                      ADDRESS ON FILE
DILLON, RAYMOND                      ADDRESS ON FILE
DILLON, TERRELL                      ADDRESS ON FILE
DILLOW, LANCE                        ADDRESS ON FILE
DILLOW, MARK                         ADDRESS ON FILE
DILLS, KAION                         ADDRESS ON FILE
DILLS, TOMMY                         ADDRESS ON FILE
DIMANCHE, NELCHEUDE                  ADDRESS ON FILE
DIMAS, RAUL E                        ADDRESS ON FILE
DIMATATAC, SONNY                     ADDRESS ON FILE
DIME TRANSPORT INC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
DIMENSIONS IN GLASS INC              301 COMMERCE DR FAIRFIELD CT 06825
DIMEXCO GLOBAL LOGISTICS             ATTN: MARIA FERNANDA GAMBOA 1467 RUE BEGIN SAINT-LAURENT QC H4R 1V8 CANADA
DIMICK, STUART                       ADDRESS ON FILE
DIMILLO IMPORTS LLC                  ATTN: MARIA DIMILLO 14 OAKLAND RD FALMOUTH ME 04105
DIMINO, TOM                          ADDRESS ON FILE
DIMISA, RICHARD                      ADDRESS ON FILE
DIMITARS TRUCKING LLC                10302 SNEAD ST CROWN POINT IN 46307
DIMITRO, KEN                         ADDRESS ON FILE
DIMITROFF, TODD                      ADDRESS ON FILE
DIMOS, DANIEL                        ADDRESS ON FILE
DIN LINE INC                         101 BAR HARBOUR RD UNIT 4H SCHAUMBURG IL 60193
DINA LIRETTE                         ADDRESS ON FILE
DINALLO, MICHAEL J                   ADDRESS ON FILE
DINAMO EXPRESS LLC                   OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
DINAMO EXPRESS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DINAN TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DINAR TRANSPORT INC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DINERSTEIN, SHANE                    ADDRESS ON FILE
DINGER, JASON                        ADDRESS ON FILE
DINGER, TYLER                        ADDRESS ON FILE
DINGESS, MARK                        ADDRESS ON FILE
DINGLE, JALEN                        ADDRESS ON FILE
DINGLE, JOHN                         ADDRESS ON FILE
DINGMAN, MARIAH                      ADDRESS ON FILE
DINGMANS TOWING & RECOVERY LLC       5620 ALLENTOWN BLVD HARRISBURG PA 17112
DINGO TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DINGO TRANSPORT LLC (MC1448041)      OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
DINI EXPRESS LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DINKO, JOHN                          ADDRESS ON FILE
DINNON, RONALD                       ADDRESS ON FILE
DINNON, RONALD                       ADDRESS ON FILE
DINO 1 TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DINO AND CHERI CANCHOLA              ADDRESS ON FILE
DINO EXPRESS INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671



Epiq Corporate Restructuring, LLC                                                               Page 523 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 532 of 2156

Claim Name                             Address Information
DINO TL TRUCKING                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DINO-SOFTWARE                          ACCOUNTS RECEIVABLE, PO BOX 7105 ALEXANDRIA VA 22307
DINOBLE, DARREL                        ADDRESS ON FILE
DINOS TRANSPORT LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DINTAMAN, DAVID                        ADDRESS ON FILE
DINWIDDIE, CRAIG                       ADDRESS ON FILE
DION F BROWN                           ADDRESS ON FILE
DION, JEFFREY                          ADDRESS ON FILE
DIONTE M BARRETT                       ADDRESS ON FILE
DIOP FA TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DIOP TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DIOP, MALIK                            ADDRESS ON FILE
DIORIO, RICHARD W                      ADDRESS ON FILE
DIOSDADO, LISA                         ADDRESS ON FILE
DIPALMA, SAMANTHA                      ADDRESS ON FILE
DIPIETRO, MARK                         ADDRESS ON FILE
DIPPIN DOTS LLC                        5101 CHARTER OAK DR PADUCAH KY 42001
DIPRIMA, MACY                          ADDRESS ON FILE
DIRAK INC                              ATTN: RICH SMITH 9555 DISCOVERY BLVD STE 175 MANASSAS VA 20109
DIRAK INC                              22560 GLENN DR STE 105 STERLING VA 20164
DIRCKS, RICHARD                        ADDRESS ON FILE
DIREC TRANSIT LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DIRECT CARGO SERVICES LLC              3340 SE 118TH AVE PORTLAND OR 97266
DIRECT CARRIERS INC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DIRECT CHASSISLINK, INC.               PO BOX 603061 CHARLOTTE NC 28260
DIRECT CHASSISLINK, INC.               BILL SHEA, CHIEF EXECUTIVE OFFICER 3525 WHITEHALL PARK DRIVE SUITE 400
                                       CHARLOTTE NC 28273
DIRECT CONNECT LOGISTICS               ATTN: JERI ILIFF 314 W MICHIGAN ST INDIANAPOLIS IN 46202
DIRECT CONNECTION ENTERPRISE LLC       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DIRECT DRIVE EXPRESS                   11122 W.ROGERS STREET MILWAUKEE WI 53227
DIRECT EMPLOYERS                       7602 WOODLAND DRIVE, SUITE 200 INDIANAPOLIS IN 46278
DIRECT ENERGY REGULATED SVCS           525 8 AVE SW, UNIT 1200 CALGARY AB T2P 1G1 CANADA
DIRECT FREIGHT CARRIER LLC             6740 HUNTLEY RD, SUITE 208 COLUMBUS OH 43229
DIRECT FREIGHT LLC                     5813 DIVISION AVE WYOMING MI 49548
DIRECT FREIGHT SERVICES                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
DIRECT INTEGRATED TRANSPORTATION ULC   1115 CARDIFF BLVD MISSISSAUGA ON L5S 1L8 CANADA
DIRECT IT TRANSPORT                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DIRECT LOGISTICS LLC                   270 SPARTA AVE, STE 104 SPARTA NJ 07871
DIRECT MOTOR LINES INC                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DIRECT SERVICE CONSTRUCTION & DESIGN   8129 SIGNET STREET HOUSTON TX 77029
DIRECT SERVICES CORPORATION            OR BLACKJACK EXPRESS INC, PO BOX 5699 CAROL STREAM IL 60197-5699
DIRECT TRANSPORT EXPRESS LLC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DIRECT TRANSPORT SOLUTIONS INC         11500 NORTH RODNEY PARHAM ROAD SUITE 15 LITTLE ROCK AR 72212
DIRECT TRANSPORTATION                  15218 SUMMIT AVE SUITE 300-435 FONTANA CA 92336
DIRECT TRAVEL, INC                     200 N. MARTINGALE SUITE 500 SCHAUMBURG IL 60173
DIRECT TRUCK SHOP, INC.                5590 E 55TH AVE COMMERCE CITY CO 80022
DIRECT TRUCKING LLC                    OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DIRECT WASTE SERVICES, INC             217 POINIER ST NEWARK NJ 07114
DIRECT WASTE SERVICES, INC             PO BOX 384 EAST HANOVER NJ 07936



Epiq Corporate Restructuring, LLC                                                                  Page 524 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 533 of 2156

Claim Name                              Address Information
DIRECT WICKER                           1150 S MILLIKEN AVE ONTARIO CA 91761
DIRECT WIRE                             412 OAK STREET DENVER PA 17517
DIRECT XPRESS LOGISTICS LLC             6739 BROOKSHIRE BLVD CHARLOTTE NC 28216
DIRECTOR OF FINANCE BALTIMORE           BUREAU OF REVENUE COLLECTIONS 200 HOLLIDAY STREET BALTIMORE MD 21202
DIRECTOR OF FINANCE BALTIMORE           FIRE PREVENTION BUREAU 410 E. LEXINGTON ST BALTIMORE MD 21202
DIRECTOR OF FINANCE BALTIMORE           CITY OF BALTIMORE, PO BOX 17535 BALTIMORE MD 21297
DIRECTOR OF TAXATION                    STATE OFFICE BLDG TOPEKA KS 66625
DIRECTPRO LOGISTICS                     15930 VALLEY BOULEVARD ATTN DEBBIE COMSTOCK CITY OF INDUSTRY CA 91744
DIRECTPRO TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DIRECTV INC.                            PO BOX 5006 CAROL STREAM IL 60197
DIRENZO TOWING & RECOVERY               139 WORCESTER PROVIDENCE TURNPIKE PO BOX 52 MILLBURY MA 01527
DIRES, TADESSE                          ADDRESS ON FILE
DIREX TRANSPORT                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DIRIE TRUCKING LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
DIRIR EXPRESS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DIRIYE TRUCKING INC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DIRK ALBRIGHT                           ADDRESS ON FILE
DIROCCO TRANSPORTATION                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DIRSHE EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DIRT CONSTRUCTION EQUIPMENT RENTAL, LLC 2950 NW 132ND TERR. OPA LOCKA FL 33054
DIRT DAUBERS LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DIRTON LOGISTICS SYSTEMS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DIRTY DOG DIESEL LLC                    82 KELLYS CT KING WILLIAM VA 23086
DIRTY DONKEY CUSTOMSLLC                 14100 KIMMENS ROAD SW MASSILLON OH 44647-9781
DIRTY SOUTH TRUCKING LLC                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
DIRTZERO, LLC                           PO BOX 1639 NIXA MO 65714
DIS EXPRESS INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DIS TRANSPORTATION                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DISA GLOBAL SOLUTIONS                   DEPT 3731, PO BOX 123731 DALLAS TX 75312
DISBENNET, JERRY                        ADDRESS ON FILE
DISCH, TRAVIS                           ADDRESS ON FILE
DISCOUNT DOOR                           4780 WEST RIVER DR COMSTOCK PARK MI 49319
DISCOUNT STEEL, INC.                    D/B/A: COREMARK METALS 216 27TH AVE N MINNEAPOLIS MN 55411
DISCOUNT TOWING                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DISCOVERY KID ACADEMY                   2046 TUWEAP DRIVE ST. GEORGE UT 84770
DISCREET DISPOSAL LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DISHMAN, WILLIAM                        ADDRESS ON FILE
DISHNER, FRED                           ADDRESS ON FILE
DISHNER, MICHAEL N                      ADDRESS ON FILE
DISHONG, TIMOTHY                        ADDRESS ON FILE
DISLA TRANSPORT LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DISLA, SILBENIS                         ADDRESS ON FILE
DISMANG, BOBBY                          ADDRESS ON FILE
DISMANG, DAVID                          ADDRESS ON FILE
DISMUKES, LAWRENCE                      ADDRESS ON FILE
DISMUTE, ALANDO                         ADDRESS ON FILE
DISNEY, AIMEE                           ADDRESS ON FILE
DISNEY, WILLIAM                         ADDRESS ON FILE
DISPATCH & TRANSPORTATION SERVICE INC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                    Page 525 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 534 of 2156

Claim Name                               Address Information
DISPATCH CORP                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DISPATCH LOGISTICS INC                   47 ICE FIELDS RD BRAMPTON ON L6R 3G8 CANADA
DISPATCH SERVICES AND OPERATIONS LLC     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DISPATCHING BY SHUN LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DISPATCHTRACK, LLC                       DEPT. 0177, PO BOX 120177 DALLAS TX 75312
DISPATCHTRACK, LLC                       300 ORCHARD CITY DRIVE SUITE 132 CAMPBELL CA 95008
DISPLAYR INC.                            2045 W GRAND AVE STE B, PMB 59865 CHICAGO IL 60612
DISPLAYS2GO                              81 COMMERCE DR FALL RIVER MA 02720
DISQUE SR., ROY                          ADDRESS ON FILE
DISQUE, ROY C                            ADDRESS ON FILE
DIST NO 9 I A M WELFARE                  PO BOX 790379 SAINT LOUIS MO 63179
DIST NO 9 PENSION TRUST                  PO BOX 66936 SAINT LOUIS MO 63166
DISTANCE INC.                            2309 PEMBROKE ST. GARLAND TX 75040
DISTANCE RATE TIME INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DISTILLATA COMPANY                       1608 E 24TH ST, PO BOX 93845 CLEVELAND OH 44101
DISTINCT DUMPSTERS                       3208 48TH ST. E. BRADENTON FL 34208
DISTINCT TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DISTINCTIVE CLEANING & RESTORATION INC   5220 VERMONT LN FORT WAYNE IN 46815
DISTINGUISHED FIRE EXTING SVC & EQPT     PO BOX 91 IMPERIAL BEACH CA 91932
INC
DISTINGUISHED FIRE EXTINGUISHER SVC &    EQUIPMENT INC 3263 ROCKY SAGE RD JAMUL CA 91935
DISTRIBUTION INTERNATIONAL               ATTN TONI FOREY 601 JEFFERSON STREET, STE 600 HOUSTON TX 77002
DISTRIBUTION SOLUTIONS, INC.             805 COTTONWOOD RD 4, XXX HARRISON AR 72601
DISTRIBUTION, INC.                       P O BOX 29166 LINCOLN NE 68529
DISTRICT 15 / 447                        INTL ASSOC OF MACHINISTS LOCAL 447 652 FOURTH AVE 2ND FLOOR BROOKLYN NY 11232
DISTRICT 77 IAMAW WELFARE ASSOC          (737 ST PAUL) 3001 METRO DRIVE, STE 500 BLOOMINGTON MN 55425
DISTRICT 9 IA OF M & A W WELFARE TRUST   12365 ST. CHARLES ROCK ROAD BREIGETON MO 63044
DISTRICT COURT OF CLEBURNE COUNTY        CLEBURNE COUNTY COURTHOUSE 120 VICKERY STREET ROOM 202 HEFLIN AL 36264
DISTRICT COURT OF MARYLAND               PO BOX 6676 ANNAPOLIS MD 21401
DISTRICT LODGE 60 I A M & A W            ATTN ACCOUNTING JENNIFER SYMIEST 9000 MACHINIST PLACE UPPER MARLBORO MD 20772
DISTRICT NO 77 IAMAW WELFARE ASSOC       D/B/A: ST PAUL AUTO DEALERS & DISTR 77 JOINT FUND 3001 METRO DR SUITE 500,
                                         MAILSTOP 1 BLOOMINGTON MN 55425
DISTRICT NO. 9, IAM PENSION PLAN         12365 ST. CHARLES ROCK ROAD BRIDGETON MO 63044
DISTRICT OF COLUMBIA ATTORNEY GENERAL    ATTN: BRIAN L. SCHWALB 400 6TH STREET, NW WASHINGTON DC 20001
DISTROLINK TRANSPORT INC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DITCH, ROBERT                            ADDRESS ON FILE
DITCHEY GEIGER,                          ADDRESS ON FILE
DITLEVSON, SEAN                          ADDRESS ON FILE
DITMANSON, DIANNE                        ADDRESS ON FILE
DITMARS, MICHAEL D                       ADDRESS ON FILE
DITOMASSO, JOANN                         ADDRESS ON FILE
DITRUCKING 8110 LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DITRUCKING 8110 LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
DITTMAR, KARL                            ADDRESS ON FILE
DIVAL SAFETY EQUIPMENT, INC.             1721 NIAGARA ST BUFFALO NY 14207
DIVE HIGH INC                            211 DOWNING ROAD BUFFALO GROVE IL 60089
DIVELBLISS, DEWAIN                       ADDRESS ON FILE
DIVELBLISS, ROGER                        ADDRESS ON FILE
DIVERS, JAMES                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 526 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 535 of 2156

Claim Name                              Address Information
DIVERSE LOGISTICS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
DIVERSE POWER                          1400 SOUTH DAVIS ROAD P.O. BOX 160 LAGRANGE GA 30241
DIVERSIFIED AIR SYSTEMS, INC.          4760 VAN EPPS ROAD BROOKLYN HEIGHTS OH 44131
DIVERSIFIED CONTRACTORS, INC.          3350 BALL ST BIRMINGHAM AL 35234
DIVERSIFIED ELECTRONICS, INC.          309-C AGNEW DRIVE FOREST PARK GA 30297
DIVERSIFIED ENERGY SUPPLY              601 WEST CROSSVILLE RD ROSWELL GA 30075
DIVERSIFIED GROUP LLC                  9530 FRANKFORT RD HOLLAND OH 43528
DIVERSIFIED GROUP LLC                  6725 W CENTRAL M-318 TOLEDO OH 43617
DIVERSIFIED METALS                     233 ROGUE RIVER HWY 120 GRANTS PASS OR 97527
DIVERSIFIED TRANSFER & STORAGE, INC.   1640 MONAD RD BILLINGS MT 59101
DIVERSIFIED TRANSPORTATION             19829 HAMILTON AVE TORRANCE CA 90502
DIVERSITY FREIGHT LINES INC            OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
DIVERSITY FREIGHT LINES INC            29 W NOBLESTOWN RD STE 100 CARNEGIE PA 15106
DIVERSITY LOGISTICS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DIVINE BLISS LOGISTICS LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DIVINE DELIVERY LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DIVINE ENTERPRISES                     3555 CINCINNATI AVE ROCKLIN CA 95765
DIVINE EXODUS TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DIVINE FLEET LLC                       OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
DIVINE FREIGHTLINES INC                OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE AB L4L 8E3 CANADA
DIVINE JOURNIE TRANSPORT LLC           OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DIVINE LOGISTICS INC                   1840 SHAW AVE STE 105 CLOVIS CA 93611
DIVINE LOGISTICS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
DIVINE TRANSPORT LLC                   275 BLOOMINGTON AVE UNIT 111 RIALTO CA 92376
DIVINE WORLDWIDE LOGISTICS LLC         PO BOX 794 DECATUR GA 30030
DIVINEY, DARRIN                        ADDRESS ON FILE
DIVIS10N                               DIVIS10N, 3264 UNION ST SE WYOMING MI 49548
DIVISION OF BUSINESSMANAGEMENT         PO BOX 7915 MADISON WI 53707
DIVISION OF INDUSTRIAL RELATIONS       1830 COLLEGE PKWY STE 100 CARSON CITY NV 89706
DIVITTORE, VINCE                       ADDRESS ON FILE
DIVRAJ FREIGHT SERVICES INC            OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON SK L6T 5C5 CANADA
DIX & HARDAWAY ENTERPRISE LLC          OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
DIX, STEVEN A                          ADDRESS ON FILE
DIXIE ELECTRO MECHANICAL SERVICES, INC. 2115 FREEDOM DR CHARLOTTE NC 28208
DIXIE ELECTRO MECHANICAL SERVICES, INC. PO BOX 668944 CHARLOTTE NC 28266
DIXIE MOVING & STORAGE                 1281 W. RED LEDGE RD WASHINGTON UT 84780
DIXIE SPRINGS SPRING WATER             607 S. JEFFERSON ST. JACKSON MS 39201
DIXIE, JALEN V                         ADDRESS ON FILE
DIXIE, JALEN V                         ADDRESS ON FILE
DIXON & DIXON QUALITY FREIGHT INC      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DIXON CONTAINER CORP                   2255 E BRANIFF ST BOISE ID 83716
DIXON TRANSIT LLC                      OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
DIXON VALVE                            ATTN: B. LOVE 2642 N MARINE DR PORTLAND OR 97217
DIXON VALVE & COUPLING CO              8840 FLOWER RD STE 160 RANCHO CUCAMONGA CA 91730
DIXON, AARON                           ADDRESS ON FILE
DIXON, ANNA                            ADDRESS ON FILE
DIXON, ANTWOINE                        ADDRESS ON FILE
DIXON, BRANDI                          ADDRESS ON FILE
DIXON, CAROLYN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 527 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 536 of 2156

Claim Name                          Address Information
DIXON, CHARLES                      ADDRESS ON FILE
DIXON, CHRISTOPHER                  ADDRESS ON FILE
DIXON, CODY                         ADDRESS ON FILE
DIXON, DARIUS                       ADDRESS ON FILE
DIXON, DARRELL                      ADDRESS ON FILE
DIXON, DONTE                        ADDRESS ON FILE
DIXON, ELLEN                        ADDRESS ON FILE
DIXON, ELLIOTT                      ADDRESS ON FILE
DIXON, ELLIOTT                      ADDRESS ON FILE
DIXON, GEORGE                       ADDRESS ON FILE
DIXON, GEORGE                       ADDRESS ON FILE
DIXON, GLANDINA                     ADDRESS ON FILE
DIXON, JALAIR                       ADDRESS ON FILE
DIXON, JAMESON D                    ADDRESS ON FILE
DIXON, JASPER                       ADDRESS ON FILE
DIXON, JOEL                         ADDRESS ON FILE
DIXON, JOSHUA                       ADDRESS ON FILE
DIXON, JOSHUA                       ADDRESS ON FILE
DIXON, JOSHUA                       ADDRESS ON FILE
DIXON, KEVIN                        ADDRESS ON FILE
DIXON, KIAJUANA                     ADDRESS ON FILE
DIXON, KYDALE                       ADDRESS ON FILE
DIXON, LAJOHN                       ADDRESS ON FILE
DIXON, MARVA                        ADDRESS ON FILE
DIXON, NAQUAILIA                    ADDRESS ON FILE
DIXON, NICHOLAS                     ADDRESS ON FILE
DIXON, PATTI                        ADDRESS ON FILE
DIXON, PHILIP                       ADDRESS ON FILE
DIXON, SHAWN                        ADDRESS ON FILE
DIXON, STEVEN                       ADDRESS ON FILE
DIXON, TABORIE                      ADDRESS ON FILE
DIXON, TONY                         ADDRESS ON FILE
DIXON, TOREY                        ADDRESS ON FILE
DIXON, VANESSA                      ADDRESS ON FILE
DIXON, WALTER                       ADDRESS ON FILE
DIZDARIC, DAMIR                     ADDRESS ON FILE
DJ AC CLEANING SERVICE LLC          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DJ BROS LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DJ HAUL IT ALL LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DJ HAWK LLC                         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
DJ LANDSCAPING                      107 WINDHAM RD DERRY 03038
DJ ROSS TRUCKING LLC                501 WINDMILL RIDGE RD GULFSHORES AL 36542
DJ TRANS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DJ TRUCK LINES LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DJB TRANSPORTATION INC              21118 EVERGREEN ST ST CLAIR SHORES MI 48082
DJC EXPRESS                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DJC TRUCKING                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DJDIGGS TRANSPORTATION LLC          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DJDZ TRANSPORTATION LLC             3223 RIVERVIEW PL UNIT B COLUMBUS OH 43202



Epiq Corporate Restructuring, LLC                                                               Page 528 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 537 of 2156

Claim Name                             Address Information
DJENS TRUCKING COMPANY                 OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
DJIB TRUCKING INC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DJL EXPRESS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DJORDJEVIC, MIKAILO                    ADDRESS ON FILE
DJP TRUCKING LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DJS TRANSPORTATION LLC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DJS TRUCKING EXPRESS, INC.             OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DJS TRUCKING LLC                       14894 EDGEBROOK DRIVE FISHERS IN 46040
DJT TRANSPORTATION LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
DJTW SERVICES LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DJUKANOVIC, JOSHUA                     ADDRESS ON FILE
DK & J TRUCKING INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DK 5 EXPRESS LLC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DK EXPRESS CARGO, INC.                 2000 W CHARTER WAY STOCKTON CA 95206
DK EXPRESS LLC                         755 GREENFIELD ST DALEVILLE VA 24083
DK EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DK EXPRESS LLC (MC1358739)             10126 DUCHAMP DR HOUSTON TX 77036-8600
DK MAX TRUCKING INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DK TRUCKING                            OR RELIABLE FACTORS INC, PO BOX 669130 DALLAS TX 75266-9130
DKD CONSTRUCTION INC                   40158 330TH AVE MELROSE MN 56352
DKD EXPRESS INC                        PO BOX 458 HINSDALE IL 60522
DKD LOGISTICS INC                      7545 S MADISON ST SUITE 301 BURR RIDGE IL 60527
DKH ENTERPRISES LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DKJ TRUCKING LLC                       1551 OTTERCREEK DR CINCINNATI OH 45240-2853
DKL LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DKNS EXPRESS LLC                       1475 FIELDCREST DR WEBSTER NY 14580
DKS TRANSPORT LLC                      18057 CRYSTAL RIVER DRIVE MACOMB MI 48042
DKU LOGISTICS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DKW EXPRESS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DKW LOGISTICS INC                      OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
DL SMITH ELECTRICAL CONSTRUCTION INC   1405 SW 41ST ST TOPEKA KS 66609
DLA&M LLC                              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DLAWSON TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DLC                                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DLD EXPRESS LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DLE TRUCKING LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DLG SERVICES GROUP LLC                 OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                       33631-3792
DLI                                    2900 GRANADA LANE N OAKDALE MN 55128
DLP TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DLQ TRUCKING LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DLR TRANSPORTATION                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DLR TRANSPORTATION                     10025 SIEMPRE VIVA RD, SUITE B SAN DIEGO CA 92154
DLR TRANSPORTATION SERVICES LLC        OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DLS INC                                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DLS WORLDWIDE                          1000 WINDHAM PKWY BOLINGBROOK IL 60490
DLS WORLDWIDE                          DLS WORLDWIDE, 1000 WINDHAM PARKWAY BOLINGBROOK IL 60490
DLS WORLDWIDE                          DLS WORLDWIDE, 1000 WINDHAM PARKWAY LEMONT IL 60490
DLUGOPOLSKI, KRZYSZTOF                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 529 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 538 of 2156

Claim Name                           Address Information
DLV EXPRESS INC                      5917 PARTRIDGE LANE LONG GROVE IL 60047
DLWPI TRUCKING LLC                   OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                     35246-2659
DM CARRIER CORP                      OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320
DM DUKES TRANSPORTATION LLC          OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DM EXPRESS                           OR SOURCE FUNDING INC, PO BOX 872632 KANSAS CITY MO 64187
DM EXPRESS                           OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
DM EXPRESS INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DM EXPRESS LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
DM FLEET SERVICE INC                 3450 MIC MAC TRL KERNERSVILLE NC 27284
DM INTERNATIONAL LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DM TRANSPORT                         19 WHEELER DR BOLTON ON L7E 4H8 CANADA
DM TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DM TRANSPORTATION LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
DM TRUCKING                          302 WEBSTER ROAD HAMILTON ON L8G 5H3 CANADA
DM TRUCKING OF CENTRAL OHIO LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DM WOODS TRANSPORT INC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DMA TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
DMARIN LOGISTICS LLC                 OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
DMAX TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DMC ENTERPRISES                      ATTN: DOUG EVANS SHIPPING DEPT. 132 W 31ST ST NEW YORK NY 10001
DMC EXPRESS LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DMC MOVING LLC                       OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
DMC TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DMC TRUCKIN                          125 SANTANDER DR LAREDO TX 78046
DMD EXPRESS INC.                     7625 SUNRISE BLVD STE 201 CITRUS HEIGHTS CA 95610
DMD FAST SERVICE LLC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
DMD GROUP LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DMF TRANSPORT CORP                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DMF TRUCKING INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DMG ELITE LOGISTICS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DMG HABESHA LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DMH INC                              TARGET FREIGHT MANAGEMENT, 5905 BROWNSVILLE RD PITTSBURGH PA 15236
DMH LOGISTICS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DMH LOGISTICS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
DMH OCCUPATIONAL HEALTH & WELLNESS   P.O. BOX 2764 DECATUR IL 62524
DMHC HANDYMAN CORP                   ATTN: DAVID/LLAUSETINE 974 COUNTRY CLUB SAN JUAN PR 00924
DMI LOGISTICS INC                    OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                     60674-0411
DMI TRUCKING                         2996 MANCHESTER ROAD MANCHESTER MD 21102
DMJ TRUCKING LLC                     14 RED FOX STREET BURLINGTON NJ 08016
DMK EXPRESS                          OR BABA LOGISTICS INC 2 ROLLING ACRES DR BRAMPTON ON L6X5P3 CANADA
DMKK                                 1530 TITANIUM OTTAWA IL 61350
DMM EXPRESS                          7410 N 92ND AVE CAMAS WA 98607
DMN TRUCKING CORP                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
DMP TRUCKING LLC                     OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
DMR FENCING                          8 LONDONDERRY LN GETZVILLE NY 14068
DMR TRANSPORTATION LLC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DMS TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                 Page 530 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 539 of 2156

Claim Name                           Address Information
DMS TRUCKING LLC (MC053864)          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DMSE TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DMSE TRUCKING LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DMT FREIGHT INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DMT TRANSPORT INC                    9S086 FRONTENAC STREET AURORA IL 60504
DMT TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DMT TRUCKING SERVICES LLP            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DMTC, INC.                           OR TAB BANK, PO BOX 150290 OGDEN UT 84415-0290
DMV RENEWAL                          PO BOX 942894 SACRAMENTO CA 94294
DMV RENEWAL                          PO BOX 942897 SACRAMENTO CA 94297
DMV TRANSPORTATION INC               OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DMW SALES & SERVICE                  5183 OSTROM RD ATTICA MI 48412
DMX LOGISTICS LLC                    RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
DMX LOGISTICS LLC                    140 EPPING RD EXETER NH 03833
DMXKS LLC                            OR W W PAYMENT SYSTEMS INC, PO BOX 14910 HUMBLE TX 77347-4910
DMYTRYSZYN, MIKE A                   ADDRESS ON FILE
DN1 TRUCKING LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DNA DIESEL LLC                       200 STATE ST STE. 201, PMB 101 CEDAR FALLS IA 50613
DNA EXPRESS INC                      14031 S SHOSHONI DR HOMER GLEN IL 60491
DNA EXPRESS INC (MC1195946)          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
DNA LOGISTICS                        5640 NW 61ST STREET 1422 COCONUT CREEK FL 33073
DNA LOGISTICS INC                    OR CLOUDTRUCKS FLEX LLC DEPT 2148, PO BOX 122148 DALLAS TX 75312-2148
DNA TRANSIT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DNA TRANSPORTATION & LOGISTICS LLC   OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                     60674-0411
DNA TRANSPORTATION LLC               382 ELLINGTON COURT MEDINA OH 44256
DNA TRANSPORTATION LLC               382 ELLINGTON CT MEDINA OH 44256
DNA TRUCKING LLC                     93 NOBLE STREET WESTFIELD MA 01085
DNA TRUCKING LLC (BLAINE MN)         OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
DNC TRANSPORTATION INC               OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DND RUNNER INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DND TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DND TRUCKING LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DNESTR, LLC                          1696 EAST SPRAGUE ROAD BROADVIEW HEIGHTS OH 44147
DNG TRANSPORT LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
DNK EXPRESS INC                      10194 CROSSPOINT BOULEVARD SUITE 300 INDIANAPOLIS IN 46256
DNL TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DNM EXPRESS LLC                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DNM TRANSPORTATION INC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DNREC FINANCIAL SERVICES             ACCOUNTING SEC, 30 S AMERICAN AVENUE DOVER DE 19901
DNS CARGO INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DNU /AMERICAN BOTANICALS             4610 ARROWHEAD DR CARSON CITY NV 89706
DNX DISTRIBUTING LLC                 120 GLENN WAY STE 6 SAN CARLOS CA 94070
DNY CHI PRODUCTIONS INCORPORATED     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DNY TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DO IT BEST                           PO BOX 868 FORT WAYNE IN 46801
DO IT BEST                           ATTN: AMELIA WILSON 1606 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST                           ATTN: BRYAN WRIGHT 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST                           ATTN: CRYSTAL GARCIA 1626 BROADWAY SUITE 100 FT WAYNE IN 46802



Epiq Corporate Restructuring, LLC                                                                 Page 531 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 540 of 2156

Claim Name                         Address Information
DO IT BEST                         ATTN: MARISSA SMITH 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST                         ATTN: MELISSA HOLIK 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST                         ATTN: SHERRIE DANIELS 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST                         ATTN: STANLEY WILLIAMS 1606 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST                         1450 W PIONEER BLVD MESQUITE NV 89027
DO IT BEST CLAIMS                  ATTN: BRYAN WRIGHT 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  ATTN: CRYSTAL GARCIA 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  ATTN: CRYSTAL MARSHALL 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  ATTN: MELISSA HOLIK 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  ATTN: RANDI LINTHICUM 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  ATTN: SHERRIE DANIELS 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  ATTN: WILL STANLEY 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CLAIMS                  6502 NELSON RD FORT WAYNE IN 46803
DO IT BEST CORPORATION             ATTN: RANDI LINTHICUM 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CORPORATION             ATTN: RONDA YENNA 1626 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST CORPORATION             ATTN: CRYSTAL GARCIA 1626 BROADWAY SUITE 100 FT WAYNE IN 46803-0868
DO IT BEST CORPORATION             ATTN: RONDA YENNA 1606 BROADWAY SUITE 100 FT WAYNE IN 46803-0868
DO IT BEST CORPORATION             ATTN: RONDA YENNA 1626 BROAD WAY STE 100 FT WAYNE IN 46803-0868
DO IT BEST CORPORATION             ATTN: WILL STANLEY 6502 NELSON RD FT WAYNE IN 46803-0868
DO IT BEST INBOUND                 ATTN: AMELIA WILSON 1606 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT BEST INBOUND                 ATTN: STANLEY WILLIAMS 1606 BROADWAY SUITE 100 FT WAYNE IN 46802
DO IT CORPORATION C/O ECHO         ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
DO, QUANG                          ADDRESS ON FILE
DO2 LOGISTICS LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DOABA CARRIER LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DOABA CARRIER LLC (MANTECA CA)     568 TAPPAN PL MANTECA CA 95336
DOAD TRANSPORTATION INC            2209 STANSFIELD DRIVE ROSEVILLE CA 95747
DOAK, THOMAS                       ADDRESS ON FILE
DOAN TRANSPORTATION LLC            OR SEVEN OAKS CAPITAL ASSOCIATES LLC PO BOX 669130 DALLAS TX 75266
DOAN, HERBERT                      ADDRESS ON FILE
DOANE, JONATHON                    ADDRESS ON FILE
DOBBERSTEIN, LUKE                  ADDRESS ON FILE
DOBBINS, RICKEY                    ADDRESS ON FILE
DOBBS PETERBILT                    ADDRESS ON FILE
DOBBS, JEREMIAH                    ADDRESS ON FILE
DOBBS, JONATHAN                    ADDRESS ON FILE
DOBBS, TIMOTHY                     ADDRESS ON FILE
DOBER, JEFFREY                     ADDRESS ON FILE
DOBIAS, ANTHONY                    ADDRESS ON FILE
DOBLINGER, DREW                    ADDRESS ON FILE
DOBRES, MICHAEL                    ADDRESS ON FILE
DOBRIY INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DOBRYNSKI, ERIC                    ADDRESS ON FILE
DOBSON, BRADLEY                    ADDRESS ON FILE
DOBSON, CHRISTOPHER                ADDRESS ON FILE
DOBSON, JOSHUA                     ADDRESS ON FILE
DOBSON, ROBIN                      ADDRESS ON FILE
DOBSON, RUSS                       ADDRESS ON FILE
DOBY, ERNEST                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 532 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 541 of 2156

Claim Name                              Address Information
DOBY, JERRY                             ADDRESS ON FILE
DOC INVESTMENTS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DOC LOGISTICS AND TRANSPORTATION LLC    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
DOCE TRANSPORT INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DOCHMASCHEWSKY, PAUL                    ADDRESS ON FILE
DOCILET, DELIAIR                        ADDRESS ON FILE
DOCK & DOOR TEC INC                     19941 IGUANA ST NW ELK RIVER MN 55330
DOCK LOAD DELIVER LLC                   OR TAB BANK, PO BOX 150830 OGDEN UT 84415
DOCK SERVICES                           P.O. BOX 93 CEDAR MN 55011
DOCK STREET CORP                        PO BOX 3409 MOUNT VERNON NY 10553
DOCK STREET CORP                        ATTN: LOUIS PETRILLO PO BOX 3409 MT. VERNON NY 10553-3409
DOCK TO DOCK LLC                        2117 VETERANS BLVD, SUITE 307 METAIRIE LA 70002
DOCK TRUCK DELIVERY, INC.               32033 124TH STREET NW PRINCETON MN 55371
DOCK WORX, INC                          9 SILVERWIND ALISO VIEJO CA 92656
DOCKER, INC.                            144 TOWNSEND STREET SAN FRANCISCO CA 94107
DOCKERY, BRIAN                          ADDRESS ON FILE
DOCKERY, DANDRE                         ADDRESS ON FILE
DOCKERY, KEVIN                          ADDRESS ON FILE
DOCKERY, ROOSTER                        ADDRESS ON FILE
DOCKERY, STUART                         ADDRESS ON FILE
DOCKERY, YOLANDA                        ADDRESS ON FILE
DOCKHAM, SCOTT                          ADDRESS ON FILE
DOCKLAND LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DOCS DIRT                               ATTN: ROSS ANDREASSEN 2480 COUNTY ROAD 6540 W PLAINS MO 65775
DOCSCORP NA                             PO BOX 1072 WEXFORD PA 15090
DOCTORS EYE CARE CENTER, O. D., P. A.   PO BOX 63089 CHARLOTTE NC 28263
DOCTORS ON DUTY                         PO BOX 2300 SALINAS CA 93902
DOCTORS URGENT CARE OFFICES             935 ST. RT. 28 MILFORD OH 45150
DOCTORS URGENT CARE OFFICES             935 STATE ROUTE 28 MILFORD OH 45150
DOCUSIGN INC                            P.O. BOX 735445 DALLAS TX 75373
DODD, ALEX                              ADDRESS ON FILE
DODD, BRYAN                             ADDRESS ON FILE
DODD, DAMARTRIUS                        ADDRESS ON FILE
DODD, HAZEN                             ADDRESS ON FILE
DODD, LIONEL                            ADDRESS ON FILE
DODD, SHANE                             ADDRESS ON FILE
DODD, SHERRY                            ADDRESS ON FILE
DODDERER, BRIAN                         ADDRESS ON FILE
DODGE INDUSTRIAL INC                    ATTN: KAYLA HAYES CLAIMS 139 COX AVE CROSSVILLE TN 38555
DODGE INDUSTRIAL INC                    ATTN: YVONNE ROBBINS CLAIMS 139 COX AVE CROSSVILLE TN 38555
DODGE INDUSTRIAL INC                    ATTN: YVONNE ROBBINS DODGE INDUSTRIAL INC 695 VISTA BLVD STE 103 SPARKS NV
                                        89434
DODGE, JESSE                            ADDRESS ON FILE
DODGE, ZAKARY                           ADDRESS ON FILE
DODIER, LEO                             ADDRESS ON FILE
DODIK TRUCKING INC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DODS, ERIK                              ADDRESS ON FILE
DODSON GREGORY LLP                      PO BOX 530725 MOUNTAIN BROOK AL 35253
DODSON, CHRISTOPHER                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 533 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 542 of 2156

Claim Name                            Address Information
DODSON, EDWARD                        ADDRESS ON FILE
DODSON, JAMES                         ADDRESS ON FILE
DODSON, MARVIN                        ADDRESS ON FILE
DODSON, MATT                          ADDRESS ON FILE
DODSON, RICHARD                       ADDRESS ON FILE
DODSON, RICKIE                        ADDRESS ON FILE
DODSON, ROYAL                         ADDRESS ON FILE
DODSON, RYAN                          ADDRESS ON FILE
DODSON, SAM D.                        ADDRESS ON FILE
DODSON, SAMUEL                        ADDRESS ON FILE
DOEHRMAN, JERRY                       ADDRESS ON FILE
DOEPKE, KELLY                         ADDRESS ON FILE
DOERHOFF, ROGER                       ADDRESS ON FILE
DOERING, ADAM                         ADDRESS ON FILE
DOERING, ARNIE                        ADDRESS ON FILE
DOERING, MICHAEL                      ADDRESS ON FILE
DOERING, PHILLIP                      ADDRESS ON FILE
DOERRER, THOMAS                       ADDRESS ON FILE
DOEUM, PANNA                          ADDRESS ON FILE
DOG GARCIA TRUCKING LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DOGAR TRANSPORT                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DOGGETT FREIGHTLINER OF SOUTH TEXAS   OR PROBILLING, PO BOX 2222 DECATUR AL 35609
DOGGETTE & SONS LOGISTICS LLC         OR SEVENOAKS CAPITAL ASSOCIATES LLC PO BOX 669130 DALLAS TX 75266
DOHERTY, DAVID                        ADDRESS ON FILE
DOHERTY, JOSEPH                       ADDRESS ON FILE
DOHERTY, MELANIE                      ADDRESS ON FILE
DOHME, MARTY                          ADDRESS ON FILE
DOHNAR, HURLEY                        ADDRESS ON FILE
DOHRN TRANSFER COMPANY                PO BOX 83138 CHICAGO IL 60691
DOI, ROBIN                            ADDRESS ON FILE
DOIT BLESSED TRANSPORT INC            1245 S MICHIGAN AVE UNIT 225 CHICAGO IL 60605
DOJ/JMD/DCM                           950 PENNSYLVANIA AVENUE WASHINGTON DC 20530
DOKIC TRANSPORTATION INCORPORATED     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DOKMAN, MATTHEW                       ADDRESS ON FILE
DOKOMGA ENTERPRISES INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DOKOTA E GORDON                       ADDRESS ON FILE
DOL - OSHA                            5807 BRECKENRIDGE PARKWAY, SUITE A TAMPA FL 33610
DOL OSHA                              US DEPARTMENT OF LABOR, OCCUPATIONAL SAFETY & HEALTH CINCINNATI OH 45246
DOL OSHA                              STATE OF TN DEPARTMENT OF LABOR AND WORKFORCE DIV. OF OSHA 220 FRENCH LANDING
                                      DR NASHVILLE TN 37243
DOL OSHA                              OSHA MILWAUKEE AREA OFFICE 310 W WISCONSIN AVE ROOM 1180 MILWAUKEE WI 53203
DOL TRANSPORT INC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DOL-OSHA                              MOBILE AREA OFFICE 1141 MONTLIMAR DR STE 1006 MOBILE AL 36609
DOL-OSHA                              WICHITA AREA OFFICE 100 N BROADWAY ST, STE 470 WICHITA KS 67202
DOL-OSHA                              DALLAS AREA OFFICE OSHA 1100 E CAMPBELL RD SUITE 250 RICHARDSON TX 75081
DOLAKEH GONO CO                       OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
DOLAN, DONALD                         ADDRESS ON FILE
DOLAN, GREGORY                        ADDRESS ON FILE
DOLAN, JOSEPH                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 534 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 543 of 2156

Claim Name                           Address Information
DOLAN, JOSEPH D                      ADDRESS ON FILE
DOLAN, JOSEPH M                      ADDRESS ON FILE
DOLAN, KEVIN                         ADDRESS ON FILE
DOLCHE TRUCKLOAD CORP                473 WEST NORTHWEST HWY 2E PALATINE IL 60067
DOLCIATO, MICHELLE                   ADDRESS ON FILE
DOLCII ENTERPRISE LOGISTICS, LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DOLD, DAVID                          ADDRESS ON FILE
DOLE FOOD COMPANY                    FREIGHT MGT INC (FMI) 2900 E LA PALMA AVE ANAHEIM CA 92806
DOLE TRANSPORT                       2726 59TH STREET DES MOINES IA 50322
DOLEMBA, CHRIS                       ADDRESS ON FILE
DOLES, ANGELA                        ADDRESS ON FILE
DOLES, GORDON                        ADDRESS ON FILE
DOLGOS, SETH N                       ADDRESS ON FILE
DOLGOS, SHON                         ADDRESS ON FILE
DOLL, SHANE                          ADDRESS ON FILE
DOLL, WILLIAM                        ADDRESS ON FILE
DOLLAR FULFILLMENT                   4391 W HARGRAVE AVE POST FALLS ID 83854
DOLLAR GENERAL                       1451 SPARTANBURG HWY. JONESVILLE SC 29353
DOLLAR GENERAL                       ATTN: FREIGHT PAY, 100 MISSION RIDGE GOODLETTSVILLE TN 37072
DOLLAR TREE                          500 VOLVO PARKWAY CHESAPEAKE VA 23320
DOLLAR, BILLY                        ADDRESS ON FILE
DOLLAR, CALVIN                       ADDRESS ON FILE
DOLLAR, CHRISTOPHER                  ADDRESS ON FILE
DOLLAR, MICHAEL                      ADDRESS ON FILE
DOLLEY, CURTIS                       ADDRESS ON FILE
DOLOR-BROOKS, COREY                  ADDRESS ON FILE
DOLPHIN AND SONS TRUCKING INC        14229 129TH AVE JAMAICA NY 11436-1720
DOLPHIN LINE, INC.                   5200 MARYLAND WAY, SUITE 400 BRENTWOOD TN 37027
DOLPHIN TRUCKING SERVICES LLC        OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
DOLPHIN, JEFFREY                     ADDRESS ON FILE
DOLPHUS, DANSHAYNE                   ADDRESS ON FILE
DOLPHUS, DELRAL                      ADDRESS ON FILE
DOLSON, W                            ADDRESS ON FILE
DOLVIT TRANSPORTATION INC            OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DOMAIN DIEGO INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DOMAKO, MARK                         ADDRESS ON FILE
DOMAR TRANSMISSION LTD               D/B/A: DOMAR TRANSMISSIONIONS CANADA LTD UNIT 8 2073 LOGAN AVE WINNIPEG MB R2R
                                     0J1 CANADA
DOMAR TRANSMISSIONIONS CANADA LTD    UNIT 8 2073 LOGAN AVE WINNIPEG MB R2R 0J1 CANADA
DOMBROWSKI, CAROLYN                  ADDRESS ON FILE
DOMBROWSKI, JONATHAN                 ADDRESS ON FILE
DOMESTIC CARRIER INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
DOMESTIC UNIFORM RENTAL              234 BELMONT AVE YOUNGSTOWN OH 44502
DOMETIC                              REDWOOD SCS, PO BOX 510660 LIVONIA MI 48151
DOMETIC OPERATIONS                   C/O REDWOOD SCS, 29857 NETWORK PLACE CHICAGO IL 60673
DOMETIC OPERATIONS                   C/O REDWOOD SCS, 29858 NETWORK PLACE CHICAGO IL 60673
DOMI 2015 INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DOMIANO, CHARLES                     ADDRESS ON FILE
DOMIANO, CHARLES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 535 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 544 of 2156

Claim Name                           Address Information
DOMIANO, CHARLES E                   ADDRESS ON FILE
DOMIANO, CHARLES E                   ADDRESS ON FILE
DOMIN, STEVE                         ADDRESS ON FILE
DOMINANT EXPRESS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DOMINGO CISNEROS                     ADDRESS ON FILE
DOMINGOS TRUCKING LLC                OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
DOMINGUEZ PINON, LILIANA             ADDRESS ON FILE
DOMINGUEZ, ANGEL                     ADDRESS ON FILE
DOMINGUEZ, EDWARD                    ADDRESS ON FILE
DOMINGUEZ, JENNIFER                  ADDRESS ON FILE
DOMINGUEZ, JENNIFER                  ADDRESS ON FILE
DOMINGUEZ, JESSE                     ADDRESS ON FILE
DOMINGUEZ, JOE                       ADDRESS ON FILE
DOMINGUEZ, JOSEPH                    ADDRESS ON FILE
DOMINGUEZ, LORENZO                   ADDRESS ON FILE
DOMINGUEZ, MARCOS                    ADDRESS ON FILE
DOMINGUEZ, MARIA                     ADDRESS ON FILE
DOMINGUEZ, MICHAEL                   ADDRESS ON FILE
DOMINGUEZ, NICOLL A                  ADDRESS ON FILE
DOMINGUEZ, PAULINA                   ADDRESS ON FILE
DOMINGUEZ, RAYMOND                   ADDRESS ON FILE
DOMINGUEZ, RICARDO                   ADDRESS ON FILE
DOMINICA E MCLAMORE                  ADDRESS ON FILE
DOMINICK D SPICY                     ADDRESS ON FILE
DOMINICO, ANTHONY                    ADDRESS ON FILE
DOMINION DISTRIBUTIONS LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DOMINION ENERGY                      120 TREDEGAR STREET RICHMOND VA 23219-4306
DOMINION ENERGY NORTH CAROLINA       160 MINE LAKE CT STE 200 RALEIGH NC 27615
DOMINION ENERGY OHIO                 1201 E 55TH ST CLEVELAND OH 44103-1028
DOMINION ENERGY SOUTH CAROLINA       400 OTARRE PARKWAY CAYCE SC 29033
DOMINION ENERGY VIRGINIA             120 TREDEGAR STREET RICHMOND VA 23219-4306
DOMINIQUE D BROWN                    ADDRESS ON FILE
DOMINO EXPRESS CORP                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
DOMINQUE D NUNN                      ADDRESS ON FILE
DOMIRIQUENOS LOGISTICS LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
DOMITROVICH, JAMES                   ADDRESS ON FILE
DOMMERS, WALTER                      ADDRESS ON FILE
DOMNITEI, DIANA                      ADDRESS ON FILE
DOMONKOS, ANDREW                     ADDRESS ON FILE
DOMS TRUCKING LLC (MC1405170)        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DOMS, HERMAN                         ADDRESS ON FILE
DOMTAR                               RYDER TRANSPORTATION MGMT 39550 W 13 MILE RD STE 101 NOVI MI 48377
DOMYSLAWSKI, JERZY A                 ADDRESS ON FILE
DON AMERICO ENTERPRISES LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DON AND NATALIE BOREN                ADDRESS ON FILE
DON AND NATALIE BOREN                ADDRESS ON FILE
DON B PETRIE                         ADDRESS ON FILE
DON F GLASSMYER                      ADDRESS ON FILE
DON F GLASSMYER                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 536 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 545 of 2156

Claim Name                           Address Information
DON J BARTHOLOMEW                    ADDRESS ON FILE
DON J MILES                          ADDRESS ON FILE
DON JERRY X- PLO, INC.               ATTN: CARRIE LADUKE 1080 MILITARY TURNPIKE SUITE 1 PLATTSBURGH NY 12901
DON LUIS TRUCKING LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
DON ORALLS GARAGE LLC                205 PARK ST HANCOCK NY 13783
DON PELOS TRUCKING LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DON RODGERS                          ADDRESS ON FILE
DON ROY TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DON S HINKLE                         ADDRESS ON FILE
DON V HOTCHKISS                      ADDRESS ON FILE
DON WOOD, INC.                       6501 OLD WINTER GARDEN RD ORLANDO FL 32835
DONADIO, STEVEN                      ADDRESS ON FILE
DONAHUE, BRENDON                     ADDRESS ON FILE
DONAHUE, CAMDEN                      ADDRESS ON FILE
DONAHUE, CHRISTOPHER                 ADDRESS ON FILE
DONAHUE, DANIEL                      ADDRESS ON FILE
DONAHUE, JAMES                       ADDRESS ON FILE
DONAHUE, JOHN                        ADDRESS ON FILE
DONAHUE, SHANE                       ADDRESS ON FILE
DONAHUE, THOMAS                      ADDRESS ON FILE
DONALD E LOFTY                       ADDRESS ON FILE
DONALD H WENCE                       ADDRESS ON FILE
DONALD JAMES WILSON                  ADDRESS ON FILE
DONALD K BYRGE                       ADDRESS ON FILE
DONALD L ECKROATE                    ADDRESS ON FILE
DONALD L SALYARS                     ADDRESS ON FILE
DONALD MEYERS                        ADDRESS ON FILE
DONALD PAYNE                         ADDRESS ON FILE
DONALD R DAVIS                       ADDRESS ON FILE
DONALD R WHITE                       ADDRESS ON FILE
DONALD ROBERTS                       ADDRESS ON FILE
DONALD ROGERS WRECKER                ADDRESS ON FILE
DONALD T WAY                         ADDRESS ON FILE
DONALD, KEITH                        ADDRESS ON FILE
DONALD, UNITA                        ADDRESS ON FILE
DONALDS AUTO UPHOLSTERY              3436 PERFORMANCE ROAD CHARLOTTE NC 28214
DONALDSON                            SUITE 300 CONDATA OAK BROOK IL 60523
DONALDSON COMPANY INC.               CONDATA, 9830 W 190TH ST., STE M MOKENA IL 60448
DONALDSON COMPANY, INC.              CONDATAA, 9830 W. 190TH ST., STE M MOKENA IL 60448
DONALDSON EDI                        ADDRESS ON FILE
DONALDSON TRANSPORT GROUP INC        OR BRIDGE CAPITAL BUSINESS SERVICES LLC PO BOX 172091 MEMPHIS TN 38187
DONALDSON, AJANE                     ADDRESS ON FILE
DONALDSON, DENNIS                    ADDRESS ON FILE
DONALDSON, JACOB                     ADDRESS ON FILE
DONALDSON, JIMMY                     ADDRESS ON FILE
DONALDSON, MICHAEL                   ADDRESS ON FILE
DONALDSON, VANESSA                   ADDRESS ON FILE
DONALDTODONALD TRUCKING LLC          OR SMARTTRUCKER LLC PO BOX 30516, DEPT 506 LANSING MI 48909-8016
DONCKELS, KENNETH                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 537 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 546 of 2156

Claim Name                             Address Information
DONCORD LIMITED LP                     OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
DONDIS GARAGE DOOR SOLUTIONS LLC       1408 S UNDERWOOD ST KENNEWICK WA 99337
DONE RIGHT LANDSCAPING                 8403 BOLTON HILLS SAN ANTONIO TX 78252
DONE RIGHT MECHANICAL                  PO BOX 486 GLENNVILLE CA 93226
DONE RIGHT SVCS TRUCK & TRILR REPAIR   4419 N OCONNOR RD IRVING TX 75062
LLC
DONE RIGHT TRUCKING INC                PO BOX 1231 HAMILTON MT 59840
DONELSON, MARCUS                       ADDRESS ON FILE
DONES, THOMAS                          ADDRESS ON FILE
DONET SERVICES INC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DONETSK TRUCKING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DONEV, IVAN                            ADDRESS ON FILE
DONEY, LEROYCE                         ADDRESS ON FILE
DONKER, PAMELA                         ADDRESS ON FILE
DONKOR, ANTHONY                        ADDRESS ON FILE
DONLEY AND SONS TRUCKING LLC           4410 BOYD WRIGHT RD BURLINGTON NC 27215
DONLEY, BOBBY                          ADDRESS ON FILE
DONLEY, JAMES                          ADDRESS ON FILE
DONLEY, JESSE                          ADDRESS ON FILE
DONMOYER, DENNIS                       ADDRESS ON FILE
DONMOYER, KENNETH                      ADDRESS ON FILE
DONN, BRYAN                            ADDRESS ON FILE
DONNA MERRILL                          ADDRESS ON FILE
DONNA TRANSPORT LLC                    12045 147 ST JAMAICA NY 11436
DONNELL, JAIVON                        ADDRESS ON FILE
DONNELLEY FINANCIAL LLC                PO BOX 842282 BOSTON MA 02284
DONNELLEY FINANCIAL LLC                35 W WACKER DRIVE CHICAGO IL 60601
DONNELLY, BRYAN                        ADDRESS ON FILE
DONNELLY, CHRISTOPHER                  ADDRESS ON FILE
DONNELLY, ERIN                         ADDRESS ON FILE
DONNELLY, GEORGE                       ADDRESS ON FILE
DONNELLY, MARK                         ADDRESS ON FILE
DONNELLY, MELANIE                      ADDRESS ON FILE
DONNELLY, PARKER                       ADDRESS ON FILE
DONNELLY, ROBERT                       ADDRESS ON FILE
DONNELLY, TIMOTHY                      ADDRESS ON FILE
DONNELLY, TOM                          ADDRESS ON FILE
DONNERBERG, SCOTT                      ADDRESS ON FILE
DONNERSON, ROBERT                      ADDRESS ON FILE
DONNIE L FONTAINE                      ADDRESS ON FILE
DONNY LEIGH GEARY                      ADDRESS ON FILE
DONNY PAIGE EXPRESS LLC                OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
DONOGHUE, TIMOTHY                      ADDRESS ON FILE
DONOIAN, ENOCK                         ADDRESS ON FILE
DONOVAN D AVANT                        ADDRESS ON FILE
DONOVAN, BRANDON                       ADDRESS ON FILE
DONOVAN, CHARLES                       ADDRESS ON FILE
DONOVAN, MICHAEL                       ADDRESS ON FILE
DONOVAN, MICHAEL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 538 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 547 of 2156

Claim Name                          Address Information
DONOVAN, PAUL                       ADDRESS ON FILE
DONOVAN, ROBERT                     ADDRESS ON FILE
DONOVAN, SEAN                       ADDRESS ON FILE
DONOVAN, THOMAS                     ADDRESS ON FILE
DONOVAN, TIMOTHY                    ADDRESS ON FILE
DONOVAN, TONY                       ADDRESS ON FILE
DONOVAN, WILLIAM                    ADDRESS ON FILE
DONS FLOWERS                        217 E MAIN ST ZEELAND MI 49464
DONS LOCK, LLC                      2940 N. PACIFIC HWY MEDFORD OR 97501
DONS PLUMBING SVC INC.              1003 E CLIFTON STREET TOMAH WI 54660
DONS TOWING SERVICE                 PO BOX 373, 520 EARLE AVENUE MULLAN ID 83846
DONS WELDING SERVICE INC            6100 TRANSIT RD DEPEW NY 14043
DONTRAI R SMITH                     ADDRESS ON FILE
DOOLAN, MICHAEL                     ADDRESS ON FILE
DOOLEN, DAN                         ADDRESS ON FILE
DOOLEY, ADAM                        ADDRESS ON FILE
DOOLEY, ADAM J                      ADDRESS ON FILE
DOOLEY, MARK                        ADDRESS ON FILE
DOOLEY, NICHOLE                     ADDRESS ON FILE
DOOLEY, PAUL                        ADDRESS ON FILE
DOOLEY-GOODE, ALECIA                ADDRESS ON FILE
DOOLINAMUSEMENTSUPPLYCO ECHO        ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
DOOLITTLE, MICHAEL                  ADDRESS ON FILE
DOOLITTLE, MICHAEL                  ADDRESS ON FILE
DOOR 2 DOOR CARS INC                OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
DOOR RESOURCES                      5025 COURTNEY DR FOREST PARK GA 30297
DOOR SERVICE INC                    11134A LINDBERGH BUSINESS CT ST. LOUIS MO 63123
DOOR SERVICES, INC.                 PO BOX 8772 PORTLAND ME 04104
DOOR SOLUTIONS                      6840 INDUSTRIAL AVE EL PASO TX 79915
DOOR SPECIALTIES, INC.              PO BOX 11856 SPOKANE WA 99211
DOOR TO DOOR INTER MODAL INC        OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084-8244
DOOR TO DOOR INTER MODAL, INC       1143 PACIFIC STREET UNION CITY CA 94587
DOOR-TECH INC                       1250 N WENATCHEE AVE H-152 WENATCHEE WA 98801
DOORCARE                            101-6249 205 ST LANGLEY BC V2Y 1N7 CANADA
DOORMART USA                        ATTN: RACHEL JOSEPH 98 HEYWARD ST BROOKLYN NY 11206
DOORS-N-MORE, INC                   255 SOUTH 36TH STREET STE 300 QUINCY IL 62301
DOOSAN BOBCCI                       ONE BOBCAT LANE JOHNSON CREEK WI 53038
DOP TRUCKING LLC                    OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
DOP3 KREATIONS LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DORA MUSEL LARRASQUITU              ADDRESS ON FILE
DORADO TRUCK INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DORADO, FRANCISCO                   ADDRESS ON FILE
DORADO, JUAN                        ADDRESS ON FILE
DORAN, JAMEL                        ADDRESS ON FILE
DORAN, MATTHEW                      ADDRESS ON FILE
DORAN, RICHARD                      ADDRESS ON FILE
DORANTES, JULIO C                   ADDRESS ON FILE
DORCH, ALLIE                        ADDRESS ON FILE
DORCO, TUCKER                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 539 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 548 of 2156

Claim Name                           Address Information
DORE 2 DOOR TRANSPORT, LLC           OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
DOREEN ZERUTH                        ADDRESS ON FILE
DORELUS TRUCKING LLC                 807 WINDY PL, APT 104 ALTAMONTE SPRINGS FL 32714
DOREWAY LLC                          616 E LINCOLN AVE, SUITE B21 MOUNT VERNON NY 10552
DOREWAY LLC                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DORMAN JR, GEORGE                    ADDRESS ON FILE
DORMAN PRODUCTS                      ATTN: JADE NOTARFRANCESCO 5559 N GRAHAM RD WHITELAND IN 46184
DORMAN PRODUCTS INC                  ATTN: JADE NOTARFRANCESCO 25 DORMAN WARSAW KY 41095
DORN, STEVEN                         ADDRESS ON FILE
DORNER, RYAN                         ADDRESS ON FILE
DORON, WILLIAM                       ADDRESS ON FILE
DORPAT, DAVID                        ADDRESS ON FILE
DORR, CALEB                          ADDRESS ON FILE
DORR, LUCIA                          ADDRESS ON FILE
DORR, MICHAEL                        ADDRESS ON FILE
DORRANCE TOWNSHIP TAX COLLECTOR      548 DEERE RUN LANE WAPWALLOPEN PA 18660
DORRE TRUCKING TRANSPORTATION LLC    OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
DORRELL-ALLEN, TRACI                 ADDRESS ON FILE
DORRIES, TONY                        ADDRESS ON FILE
DORRIS, DONNIE                       ADDRESS ON FILE
DORRIS, JIM                          ADDRESS ON FILE
DORSET, BRADLEY                      ADDRESS ON FILE
DORSETT, FREDERICK                   ADDRESS ON FILE
DORSEY EXPRESS FREIGHT CARRIER LLC   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DORSEY EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DORSEY TRAILER REPAIR, INC.          PO BOX 1707 SAVANNAH GA 31402
DORSEY, BRYAN                        ADDRESS ON FILE
DORSEY, KWENDALL                     ADDRESS ON FILE
DORSEY, KYLE                         ADDRESS ON FILE
DORSEY, MARTIN                       ADDRESS ON FILE
DORST, BENJAMIN                      ADDRESS ON FILE
DORT AND SONS ENTERPRISE LLC         OR SEVENOAKS CAPITAL ASSOCIATES LLC PO BOX 669130 HOUSTON TX 75266
DORTCH, ANTONESE                     ADDRESS ON FILE
DORTCH, EDWIN                        ADDRESS ON FILE
DORTILUS CARRIER TRUCKING INC        OR FACTORING EXPRESS LLC PO BOX 150205 OGDEN UT 84415
DORTON, GARY                         ADDRESS ON FILE
DORU TRUCKING LINE INC               DORU TRUCKING LINE INC 5171 WALLINGS RD SUITE 210 NORTH ROYALTON OH 44133
DOS CUBANOS INC                      OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
DOS PASSOS SERAFIN, WILLIAM          ADDRESS ON FILE
DOS SANTOS, CLAUDIO                  ADDRESS ON FILE
DOS TRUCK AND TRAILER REPAIR         455 58TH AVE SW CEDAR RAPIDS IA 52404
DOSE, NORMA                          ADDRESS ON FILE
DOSHANLO, YOUSEF                     ADDRESS ON FILE
DOSIER TRANSPORT LLC                 N47050 GOLDEN ALLEY ROAD OSSEO WI 54758
DOSIER, DAVID                        ADDRESS ON FILE
DOSPED INC                           4830 N CUMBERLAND AVE, 10C NORRIDGE IL 60706
DOSS TOWING                          3809 N PATTERSON AVE WINSTON-SALEM NC 27105
DOSS, BYRON D                        ADDRESS ON FILE
DOSS, RICHARD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 540 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 549 of 2156

Claim Name                             Address Information
DOSS, SCOTT                            ADDRESS ON FILE
DOSS, SHAWN                            ADDRESS ON FILE
DOSS, TRAVIS                           ADDRESS ON FILE
DOSS, TROY                             ADDRESS ON FILE
DOSS, VINNITA                          ADDRESS ON FILE
DOSSANTOS, ROBERT                      ADDRESS ON FILE
DOSSETT, JERRY                         ADDRESS ON FILE
DOST EXPRESS LLC                       OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
DOSTAL, DIANE                          ADDRESS ON FILE
DOSTER, DONNELL                        ADDRESS ON FILE
DOT 2 DOT LOGISTICS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DOT LINE TRANSPORTATION                PO BOX 8739 FOUNTAIN VALLEY CA 92728
DOT TRUCK & TRAILER REPAIR             S88 W23105 WYNN DRIVE BIG BEND WI 53103
DOTEN, JOSHUA                          ADDRESS ON FILE
DOTI, FRANK                            ADDRESS ON FILE
DOTI, FRANK                            ADDRESS ON FILE
DOTI, JILLIAN F                        ADDRESS ON FILE
DOTI, MARGARET                         ADDRESS ON FILE
DOTI, MARGARET                         ADDRESS ON FILE
DOTRANSPORT LLC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DOTSON TRUCKING LLC                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DOTSON, BYRON                          ADDRESS ON FILE
DOTSON, CEDRICK                        ADDRESS ON FILE
DOTSON, CHARLES                        ADDRESS ON FILE
DOTSON, ERNEST                         ADDRESS ON FILE
DOTSON, MARCUS                         ADDRESS ON FILE
DOTSON, MARTY                          ADDRESS ON FILE
DOTSON, NIKIA                          ADDRESS ON FILE
DOTSON, SHECKY                         ADDRESS ON FILE
DOTSON, SIRKERON                       ADDRESS ON FILE
DOTTO, MICHAEL                         ADDRESS ON FILE
DOTY, JAMES                            ADDRESS ON FILE
DOTY, KENNETH                          ADDRESS ON FILE
DOTY, RICHARD                          ADDRESS ON FILE
DOTY, RONALD L                         ADDRESS ON FILE
DOUANGCHAY, JONI                       ADDRESS ON FILE
DOUBLE A FREIGHT LLC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
DOUBLE A TRANSPORT LLC (MC710406)      58194 ASH ROAD OSCEOLA IN 46561
DOUBLE AA FLEET SERVICE INC            4448 SHARPSBURG RD CORPUS CHRISTI TX 78410
DOUBLE BOGEY TRANSPORT LLC             OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                       60674-0411
DOUBLE C HEAVY HAULING LLC             OR CST FINANCIAL SERVICES LLC 172 WEST 9400 SOUTH SANDY UT 84070
DOUBLE CHECK COMPANY INC.              PO BOX 87-9200 KANSAS CITY MO 64187
DOUBLE CREEK TRUCKING LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DOUBLE CREEK TRUCKING LLC (MC520710)   OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
DOUBLE CS HAULING LLC                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DOUBLE D EXPRESS, INC.                 P.O. BOX 606 PERU IL 61354
DOUBLE D TRANSPORT LLC                 OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
DOUBLE D TRANSPORT LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                                   Page 541 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 550 of 2156

Claim Name                            Address Information
DOUBLE DIAMOND TRANSPORT INC          PO BOX 201543 SAN ANTONIO TX 78222
DOUBLE DIAMOND, INC.                  13656 HOLLY RIDGE LANE GAINESVILLE VA 20155
DOUBLE E TRANSPORTATION LLC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DOUBLE EAGLE FREIGHT                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DOUBLE EAGLE TOWING                   44337 STATE HWY 413 MARIONVILLE MO 65705
DOUBLE J & Y TRANSPORT SERVICES LLC   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DOUBLE J TRANSPORT LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DOUBLE M EXPRESS INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DOUBLE NICKLE TRUCKIN LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DOUBLE O TRANSPORT LLC                OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                      60674-0411
DOUBLE R TRANSPORT LLC                OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
DOUBLE R TRANSPORT, INC.              2527 SCHUETTE DR MIDLAND MI 48642
DOUBLE R TRUCKING, LLC                15011 DIXIE HWY LOUISVILLE KY 40272
DOUBLE RR MOVEMENT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DOUBLE S T TRUCKING INC               36663 ENGLESIDE DR STERLING HTS MI 48310-4548
DOUBLE S TRUCKING LLC                 OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
DOUBLE SIX LOGISTICS LLC              OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
DOUBLE STAR INC                       4756 FIRESTONE ST DEARBORN MI 48126
DOUBLE T BAR C TRUCKING LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DOUBLE T TOWING RECOVERY CORP         PO BOX 890 GRIFFITH IN 46319
DOUBLE T TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DOUBLE TIME EXPRESS INC               OR COAST TO COAST CAPITAL INC PO BOX 289 BERWICK PA 18603
DOUBLE TT TRUCKING INC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
DOUBLE VISION MIRROR & GLASS INC      1610 MCEWEN DR UNIT 4 WHITBY ON L1N 8V6 CANADA
DOUBLE VV, INC.                       1404 W IRONWOOD ST OLATHE KS 66061
DOUBLE Z TRANSPORT                    OR OUTSOURCE FINANCIAL SERVICES INC PO BOX 5172 DENVER CO 80217
DOUBLE Z TRUCKING INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DOUBLEDAY, SCOTT A                    ADDRESS ON FILE
DOUBLEDEE, SCOTT                      ADDRESS ON FILE
DOUBLEPACK TRANSPORT LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DOUBLESHOT COFFEE COMPANY             ATTN: MARY FLEENOR 116 N QUANAH AVE TULSA OK 74127
DOUBLIN, CLYDE                        ADDRESS ON FILE
DOUBROUGH, JASON                      ADDRESS ON FILE
DOUCET, EDWARD                        ADDRESS ON FILE
DOUCETTE, JESSICA                     ADDRESS ON FILE
DOUCOT, ANN                           ADDRESS ON FILE
DOUD, BRIAN                           ADDRESS ON FILE
DOUG ANDRUS DISTRIBUTING LLC          6300 S 45TH WEST IDAHO FALLS ID 83402
DOUG BELARDINELLA                     ADDRESS ON FILE
DOUG BRADLEY TRUCKING, INC.           680 E WATER WELL RD SALINA KS 67401
DOUG FARRISH                          ADDRESS ON FILE
DOUG GRANT TRUCKING LLC               324 IRVIN ROAD BLANCHESTER OH 45107
DOUG R WINGATE                        ADDRESS ON FILE
DOUG SHEEDER                          ADDRESS ON FILE
DOUG SHEEDER                          ADDRESS ON FILE
DOUG YATES TOWING & RECOVERY          2306 E 23RD ST CHATTANOOGA TN 37407
DOUGHERTY COUNTY TAX COMMISSIONER     PO BOX 1827 ALBANY GA 31702



Epiq Corporate Restructuring, LLC                                                                 Page 542 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 551 of 2156

Claim Name                          Address Information
DOUGHERTY, BRIAN                    ADDRESS ON FILE
DOUGHERTY, JASON                    ADDRESS ON FILE
DOUGHERTY, JERREL                   ADDRESS ON FILE
DOUGHERTY, PATRICK                  ADDRESS ON FILE
DOUGHERTY, PETER                    ADDRESS ON FILE
DOUGHTON MANUFACTURING CO.          225 W TREMONT AVE CHARLOTTE NC 28203
DOUGHTY, CHRISTOPHER M              ADDRESS ON FILE
DOUGLAS                             ATTN: SHANNEN TOUCHSTONE 1450 QUEEN AVE SW ALBANY OR 97321
DOUGLAS & SONS, INC.                1025 NORTH CHIPLEY FORD ROAD STATESVILLE NC 28677
DOUGLAS A ALLEN                     ADDRESS ON FILE
DOUGLAS A CARTY                     ADDRESS ON FILE
DOUGLAS A ST. MARTIN                ADDRESS ON FILE
DOUGLAS COUNTY NEBRASKA             1819 FARNAM ST RM H-03 OMAHA NE 68183
DOUGLAS COUNTY PUD                  1151 VALLEY MALL PKWY EAST WENATCHEE WA 98802
DOUGLAS COUNTY TAX COLLECTOR        P. O. BOX 8403 MEDFORD OR 97501
DOUGLAS COUNTY TREASURER            PO BOX 609 WATERVILLE WA 98858
DOUGLAS DYNAMICS                    7716 N. 73RD ST. MILWAUKEE WI 53223
DOUGLAS E GREENE                    ADDRESS ON FILE
DOUGLAS E GREENE                    ADDRESS ON FILE
DOUGLAS EQUIPMENT COMPANY           7128 NW 72ND AVE MIAMI FL 33166
DOUGLAS J DEPPEN                    ADDRESS ON FILE
DOUGLAS J HINTHORN                  ADDRESS ON FILE
DOUGLAS JOHNSON                     ADDRESS ON FILE
DOUGLAS K BREDAHL                   ADDRESS ON FILE
DOUGLAS LANDSCAPE, INC              PO BOX 3630 SOUTH BEND IN 46619
DOUGLAS M HALL                      ADDRESS ON FILE
DOUGLAS MARLIN                      ADDRESS ON FILE
DOUGLAS TRUCKING US LLC             2447 CAROLYN DRIVE PALMDALE CA 93551
DOUGLAS, BOBB                       ADDRESS ON FILE
DOUGLAS, CALEB                      ADDRESS ON FILE
DOUGLAS, CURTIS                     ADDRESS ON FILE
DOUGLAS, DERRICK                    ADDRESS ON FILE
DOUGLAS, JAMAAL K                   ADDRESS ON FILE
DOUGLAS, JAMAAL K                   ADDRESS ON FILE
DOUGLAS, JORDAN                     ADDRESS ON FILE
DOUGLAS, JOSHUA                     ADDRESS ON FILE
DOUGLAS, MAURICE                    ADDRESS ON FILE
DOUGLAS, MICHAEL                    ADDRESS ON FILE
DOUGLAS, RANDY                      ADDRESS ON FILE
DOUGLAS, SCOTT                      ADDRESS ON FILE
DOUGLAS, SHAKA                      ADDRESS ON FILE
DOUGLAS, STEVEN                     ADDRESS ON FILE
DOUGLAS, TERRY                      ADDRESS ON FILE
DOUGLAS, TORACE                     ADDRESS ON FILE
DOUGLAS, TRAVIS                     ADDRESS ON FILE
DOUGLASS, JASON                     ADDRESS ON FILE
DOUGLASS, JEANEEN                   ADDRESS ON FILE
DOUKALI EXPRESS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DOUT TRANSPORTATION LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553



Epiq Corporate Restructuring, LLC                                                                Page 543 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 552 of 2156

Claim Name                          Address Information
DOUTT, ROBERT                       ADDRESS ON FILE
DOVE BOYS TRUCKING                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DOVE CONSULTING INC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DOVE EXPRESS INC                    12240 TRISKETT RD CLEVELAND OH 44111
DOVE, ERIC                          ADDRESS ON FILE
DOVELL & WILLIAMS                   ADDRESS ON FILE
DOVER TRUCKING LLC (MC1318147)      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DOVER, ALEX                         ADDRESS ON FILE
DOVER, HENRY                        ADDRESS ON FILE
DOVER, JAMES                        ADDRESS ON FILE
DOVER, NEBRASKA                     ADDRESS ON FILE
DOW CORNING                         3901 S. SAGINAW RD. MIDLAND MI 48642
DOW ELECTRONICS                     8603 ADAMO DRIVE BRANDON FL 33510
DOW TRUCKING, LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
DOW, DAUN                           ADDRESS ON FILE
DOW, DERRICK                        ADDRESS ON FILE
DOW, MICHAEL                        ADDRESS ON FILE
DOWD & DOWD LTD                     227 W MONROE ST SUITE 2650 CHICAGO IL 60606
DOWD & GUILD                        14 CROW CANYON CT 100 SAN RAMON CA 94583
DOWD, DELL                          ADDRESS ON FILE
DOWD, JERREN                        ADDRESS ON FILE
DOWDELL, BRIAN                      ADDRESS ON FILE
DOWDELL, CHARYL                     ADDRESS ON FILE
DOWDELL, JACK                       ADDRESS ON FILE
DOWDELL, JAMAL                      ADDRESS ON FILE
DOWDEN, DONALD                      ADDRESS ON FILE
DOWDEN, STEVEN                      ADDRESS ON FILE
DOWDY TRANSPORT LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DOWDY TRANSPORT LLC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
DOWDY, ARNICHOLAS                   ADDRESS ON FILE
DOWDY, AUSTIN                       ADDRESS ON FILE
DOWDY, CHRISTOPHER                  ADDRESS ON FILE
DOWDY, FRED                         ADDRESS ON FILE
DOWDY, MAURICE                      ADDRESS ON FILE
DOWE, KENNETH                       ADDRESS ON FILE
DOWELL EXPRESS, INC.                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
DOWELL, BARRY                       ADDRESS ON FILE
DOWELL, DANIEL                      ADDRESS ON FILE
DOWERS, EDWARD                      ADDRESS ON FILE
DOWLER, DAVID                       ADDRESS ON FILE
DOWLING, DEREK                      ADDRESS ON FILE
DOWLING, TOM                        ADDRESS ON FILE
DOWN SOUTH TRUCKING L.L.C.          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DOWN SOUTH TRUCKING L.L.C.          17893 EAST COUNTY ROAD 4 SLOCOMB AL 36375
DOWNER, HAROLD                      ADDRESS ON FILE
DOWNES, TYRONE                      ADDRESS ON FILE
DOWNEY HYUNDAI                      4550 FIRESTONE BL. DOWNEY CA 90241
DOWNEY PLUMBING HEATING &           AIR CONDITIONING 11829 S DOWNEY AVE DOWNEY CA 90241
DOWNEY TRUCKING INC.                PO BOX 722 AUBURN KY 42206



Epiq Corporate Restructuring, LLC                                                              Page 544 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 553 of 2156

Claim Name                              Address Information
DOWNEY, ADAM                           ADDRESS ON FILE
DOWNEY, BENTON                         ADDRESS ON FILE
DOWNEY, DANA                           ADDRESS ON FILE
DOWNEY, JILL                           ADDRESS ON FILE
DOWNEY, PERRI                          ADDRESS ON FILE
DOWNEY, SEAN                           ADDRESS ON FILE
DOWNFORCE AIR SOLUTIONS, LLC           1805 LOUCKS ROAD, STE 800 YORK PA 17408
DOWNING, GLENN                         ADDRESS ON FILE
DOWNRIGHT PLUMBING LLC                 61 ELM AVENUE RINGGOLD GA 30736
DOWNS, JAMES                           ADDRESS ON FILE
DOWNS, JOHN S                          ADDRESS ON FILE
DOWNS, KEVIN                           ADDRESS ON FILE
DOWNS, TRAVIS                          ADDRESS ON FILE
DOWSER WATER                           1 PEPSI WAY NEWBURGH NY 12550
DOXA LLC                               OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
DOXA LLC                               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DOXA TRANSPORTATION CORPORATION        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DOYLE LOCK                             ADDRESS ON FILE
DOYLE, ALEXANDER                       ADDRESS ON FILE
DOYLE, BENJAMIN                        ADDRESS ON FILE
DOYLE, DANNY                           ADDRESS ON FILE
DOYLE, DONALD                          ADDRESS ON FILE
DOYLE, JAMES                           ADDRESS ON FILE
DOYLE, PAUL                            ADDRESS ON FILE
DOYLE, PAUL                            ADDRESS ON FILE
DOYLE, STEVON                          ADDRESS ON FILE
DOYLE, TYWANDA                         ADDRESS ON FILE
DOYLES DIESEL & SONS, INC.             1949 S MAIN ST NEPHI UT 84648
DOYRAN LLC                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DOZIER, DAQUAN                         ADDRESS ON FILE
DP BROTHERS LOGISTICS LLC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DP PAVING & CONCRETE INC               5448 65TH PLACE MASPETH NY 11378
DP TRANSPORTATION LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DP TRUCKING INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DP&E TRANSPORT LLC                     OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
DPD XPRESS INC                         PO BOX 581664 ELK GROVE CA 95758
DPF XPRESS                             145 MCLEOD ROAD COLUMBIA SC 29203
DPL                                    OR YANKTON FACTORING, PO BOX 217 YANKTON SD 57078
DPS AUTO SHIPPERS                      ATTN: GENERAL COUNSEL 4480 S 90TH ST OMAHA NE 68127
DPT TRUCKING INC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DR & C OF TEXAS INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DR AND SONS TRUCKING LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DR BAYONA TRAILER & CHASSIS SPECIALISTS 6301 NW 74TH AVENUE MIAMI FL 33166
DR CARRIER INC                         2023 INDIANAPOLIS AVE CLOVIS CA 93611
DR EXPRESS PLC                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DR FUEL GOOD                           3301R COORS BLVD NW 270 ALBUQUERQUE NM 87120
DR HOOK TOWING SERVICES LTD            BOX 3882 REDWOOD POSTAL OUTLET WINNIPEG MB R2W 5H9 CANADA
DR HOOK TOWING SERVICES LTD            75 LOWSON CRESCENT WINNIPEG MB R3P 0T3 CANADA
DR TRANSPORT LLC (MC1324455)           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5124



Epiq Corporate Restructuring, LLC                                                                  Page 545 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 554 of 2156

Claim Name                               Address Information
DR TRANSPORTATION LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DR V KUBATSKYY                           ADDRESS ON FILE
DR. POWLEDGE OCCUPATIONAL MEDICINE PC    6659 TITANIUM CREST ST LAS VEGAS NV 89148
DR. TRAILER REPAIR, INC                  470 FILLMORE AVE TONAWANDA NY 14150
DRAEGER, MARK                            ADDRESS ON FILE
DRAEGERT LLC                             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DRAFT ELECTRIC AND PLUMBING              PO BOX 118 STUARTS DRAFT VA 24477
DRAGGIN FREIGHT TRANSPORTATION INC       OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
DRAGO TUBONJIC                           ADDRESS ON FILE
DRAGON ASS TRANSPORTATION LLC            OR NFUSION CAPITAL LLC, PO BOX 151072 OGDEN UT 84415
DRAGON FREIGHT LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DRAGON GATE LOGISTICS INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DRAGON LINES TRUCKING                    1111 N ELMWOOD AVE RIALTO CA 92376
DRAGON ON THE ROAD                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DRAGON TRANSPORTATION INC.               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DRAGON XPRESS LLC                        280 S LEMON AVE 215 WALNUT CA 91788
DRAGON, ALEISIA A                        ADDRESS ON FILE
DRAGUTINOVIC, PETER                      ADDRESS ON FILE
DRAIN DAWGS LLC                          204 COUNTRY CLUB DR JACKSONVILLE NC 28546
DRAINE, JULIAN                           ADDRESS ON FILE
DRAINE, JULIAN S                         ADDRESS ON FILE
DRAKE ENTERPRISES OF LINCOLNTON NC LLC   PO BOX 598 LINCOLNTON NC 28093
DRAKE INTERNATIONAL INC                  PO BOX 800 STATION F TORONTO ON M4Y 2N8 CANADA
DRAKE, CHESTER                           ADDRESS ON FILE
DRAKE, CLIFTON                           ADDRESS ON FILE
DRAKE, DAMIEANM                          ADDRESS ON FILE
DRAKE, GREGORY                           ADDRESS ON FILE
DRAKE, JIMMY                             ADDRESS ON FILE
DRAKE, JOHN                              ADDRESS ON FILE
DRAKE, JOSHUA B                          ADDRESS ON FILE
DRAKE, MARCUS                            ADDRESS ON FILE
DRAKE, MATTHEW                           ADDRESS ON FILE
DRAKE, RODERICK                          ADDRESS ON FILE
DRAKE, SHARON                            ADDRESS ON FILE
DRAKE, WILLIAM B                         ADDRESS ON FILE
DRAKEFORD, ROBERT                        ADDRESS ON FILE
DRAKELY R KOCH                           ADDRESS ON FILE
DRAKER, JOHNATHON                        ADDRESS ON FILE
DRAKKAR, INC.                            1601 PIONEERS BLVD LINCOLN NE 68502
DRANOFF, MARSHALL                        ADDRESS ON FILE
DRASPHAT USA LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DRAUGHN, CHRISTINE                       ADDRESS ON FILE
DRAUGHN, DAVID                           ADDRESS ON FILE
DRAWDY, DAVID                            ADDRESS ON FILE
DRAY, SCOTT                              ADDRESS ON FILE
DRAYTONTRANSPORTS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DRAZEN LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DRAZEN, MICHAEL                          ADDRESS ON FILE
DRC LOGISTICS                            OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                                     Page 546 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 555 of 2156

Claim Name                               Address Information
DRD LOGISTICS INC                        1330 MEYER ROAD HOFFMAN ESTATES IL 60169
DRD TRUCKING INC.                        4721 CHRIS CT RACINE WI 53402
DREAM BIG PRODUCTIONS LLC                1850 JOB AVE ZACHARY LA 70791-5908
DREAM BIG TRANSPORTATION                 OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T5C5 CANADA
DREAM BIG TRANSPORTATION SERVICES LLC    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DREAM CARRIERS INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DREAM CATCHER TRANSPORT, INC.            4171 ATLANTA HWY MADISON GA 30650
DREAM CHASERS CHARTER LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DREAM CHASERS EXPEDITING LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
DREAM CHASERS TRUCKING LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DREAM EARTH BOWLS                        1058 N. TAMIAMI TRL. STE. 104 SARASOTA FL 34236
DREAM EXPRESS LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DREAM SUITES                             ADDRESS ON FILE
DREAM TEAM TRANSPORT INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
DREAM TRANSPORT LLC                      OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
DREAM TRANSPORT LLC (CARTERET NJ)        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DREAM TRANSPORTATION INC.                7015 CRISPIN COVE DR. JACKSONVILLE FL 32258
DREAM TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DREAM WEAVER                             ATTN: MELYNDA BARNES A/P ATTN: AMY CALLAHAN 3510 CORPORATE DR DALTON GA 30720
DREAM WEAVER                             ATTN: MELYNDA BARNES AMY CALLAHAN 3510 CORPORATE DR DALTON GA 30720
DREAM WEAVER                             ATTN: ROBERT PACHECO ATT: AMY CALLAHAN 3510 CORPORATE DR DALTON GA 30720
DREAM WORKS CARRIERLLC                   4725 S VALLEY VIEW BLVD LAS VEGAS NV 89103
DREAMCATCHER TRANSPORT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DREAMCHASER87 LLC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DREAMERS BG INC                          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DREAMERS ON THE ROAD LLC                 OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
DREAMERS TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DREAMING LOGISTICS LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
DREAMLAND EXPRESS LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
DREAMLAND TRUCKING INC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
DREAMLINE TRANSPORT LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DREAMLINER CORPORATION                   OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
DREAMLINER EXPRESS INC                   7867 MESSARA WAY SACRAMENTO CA 95828
DREAMLOG INC                             OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
DREAMS TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DREAMWORKS CARRIER LLC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
DREAMWORKS TRANSPORTATION LLC            3538 MURFREESBRORO PK, STE 301, PMB 516 ANTIOCH TN 37013
DREBOT TRANSPORTATION INC                OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                         90074
DREES TRANSPORTATION, INC.               P.O. BOX 154 PESHTIGO WI 54157
DREES, JENNIFER                          ADDRESS ON FILE
DREGER, NIKOLAY                          ADDRESS ON FILE
DREHER, TOVON                            ADDRESS ON FILE
DREIBELBIS, BRENT                        ADDRESS ON FILE
DREIFUSS, GARRETT                        ADDRESS ON FILE
DREILING AND FAMILY TRANSPORTATION LLC   OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                         60674-0411
DRENNAN, AARON                           ADDRESS ON FILE
DRENNEN, GREGORY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 547 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 556 of 2156

Claim Name                         Address Information
DRENNEN, LLOYD                     ADDRESS ON FILE
DRESSEL, PAUL                      ADDRESS ON FILE
DRESSLER, THOMAS                   ADDRESS ON FILE
DREW M MURRAY                      ADDRESS ON FILE
DREW S DEWALT                      ADDRESS ON FILE
DREW UNRUH                         ADDRESS ON FILE
DREW, DAWN                         ADDRESS ON FILE
DREW, DERRICK E                    ADDRESS ON FILE
DREW, DERRICK E                    ADDRESS ON FILE
DREW, JOSHUA                       ADDRESS ON FILE
DREWING, LISA                      ADDRESS ON FILE
DREWNO JR., GREGORY                ADDRESS ON FILE
DREWS, GUNTER                      ADDRESS ON FILE
DREXLER, BERNARD                   ADDRESS ON FILE
DREXLER, PAUL                      ADDRESS ON FILE
DREXLER, ROY                       ADDRESS ON FILE
DREY, ANDREW                       ADDRESS ON FILE
DREYER HONDA                       4152 W WASHINGTON ST INDIANAPOLIS IN 46241
DREYER OCCUPATIONAL HEALTH         PO BOX 735047 CHICAGO IL 60673
DREYER, CONNIE                     ADDRESS ON FILE
DREYER, NANCY                      ADDRESS ON FILE
DREYER, RUSSELL                    ADDRESS ON FILE
DREYFUS, RONALD                    ADDRESS ON FILE
DRIEKAST PIPING                    11290 SEBRING DR. CINCINNATI OH 45240
DRIELICK TRUCKING, LLC             14149 SHERIDAN ROAD MONTROSE MI 48457
DRIGGERS, DELL                     ADDRESS ON FILE
DRINA EXPRESS INC                  OR SUNBELT FINANCE LLC PO BOX 1000 DEPT 144 MEMPHIS TN 38148-0144
DRINA TRANS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DRINI INC                          7255 HORIZON DR GREENDALE WI 53129
DRINI LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DRINKO, JOSEPH                     ADDRESS ON FILE
DRINKWATER, THOMAS                 ADDRESS ON FILE
DRINKWINE, NATHAN                  ADDRESS ON FILE
DRIP DROP MARKETING                PO BOX 823 ZEPHYR COVE NV 89448
DRISCOLL JR, DENNIS                ADDRESS ON FILE
DRISCOLL, ALEC                     ADDRESS ON FILE
DRISCOLL, BRITTNEY                 ADDRESS ON FILE
DRISCOLL, MICHAEL                  ADDRESS ON FILE
DRISKILL, JOHNATHAN                ADDRESS ON FILE
DRISSEL, WALTER                    ADDRESS ON FILE
DRIV INC TENNECO                   2000 BOLTON ST PARAGOULD AR 72450
DRIVE                              OR SMART FREIGHT FUNDING 3803 N 153RD ST, SUITE 100 OMAHA NE 68116
DRIVE 4 U INC                      6217 N MELVINA AVE CHICAGO IL 60646
DRIVE LINK CORP                    OR S3 CAPITAL LLC, PO BOX 4065 WARREN NJ 07059
DRIVE LOGISTICS                    OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
DRIVE LOGISTICS LLC                OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
DRIVE NEW JERSEY INS. CO.          673 RUTHERFORD AVE. TRENTON NJ 08618
DRIVE NEW JERSEY INS. CO.          C/O DEULSCHMAN & SKAFISH, P.C. ATTN: SAMUEL MARINO 77 W WASHINGTON STREET,
                                   STE. 1525 CHICAGO IL 60602



Epiq Corporate Restructuring, LLC                                                              Page 548 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 557 of 2156

Claim Name                           Address Information
DRIVE SHAFT SERVICES INC             1395 COBB PKWY N STE L MARIETTA GA 30062
DRIVE STAR SHUTTLE SYSTEMS LTD       1647 BURLINGTON ST EAST HAMILTON ON L8H 3L2 CANADA
DRIVE UP INC                         OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
DRIVELINE 1, INC.                    P.O. BOX 40 GROVE CITY OH 43123
DRIVELINE 1, INC.                    1369 FRANK ROAD COLUMBUS OH 43223
DRIVELINK SERVICES LLC               OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
DRIVEN LIFE TRANSPORT LLC            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DRIVER AND MOTOR VEHICLE SERVICES    MOTOR CARRIER TRANSPORT DIVISION 3930 FAIRVIEW INDUSTRIAL DRIVE SE SALEM OR
                                     97302
DRIVER LAB LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
DRIVER, MARK                         ADDRESS ON FILE
DRIVESHAFT UNLIMITED INC             4323 JOLIET RD LYONS IL 60534
DRIVETIME LOGISTICS INC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DRIVEWEALTH, LLC (2402)              ATT PROXY MGR 15 EXCHANGE PL JERSEY CITY NJ 07302
DRIVING - TRUCK LLC                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
DRNG LOGISTICS LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DROBISH, CHRISTOPHER                 ADDRESS ON FILE
DROCKTON, LEONARD                    ADDRESS ON FILE
DROGE, CHERYL                        ADDRESS ON FILE
DROLET, TIMOTHY                      ADDRESS ON FILE
DRON INC                             OR PRO FUNDING INC DEPT 3045, PO BOX 1002 MEMPHIS TN 38148-3045
DRONE TRANSPORTATION INC             PO BOX 929 PROSPECT HEIGHTS IL 60070
DROP & HOOK LLC                      OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                     UT 84130
DROP AND HOOK TRUCKING INC           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
DROP CUT FABRICATIONS                JOE DILLON, 3015 RAILROAD ST W STE 12 MISSOULA MT 59808
DROST, LUCAS                         ADDRESS ON FILE
DROTAR, BENJAMIN                     ADDRESS ON FILE
DROZDOWSKI, ROBERT                   ADDRESS ON FILE
DRS TECHNOLOGIES INC.                6200 118TH AVE NORTH LARGO FL 33773
DRT LOGISTICS LLC (MC1220703)        850 HELEN DR LEBANON PA 17042-7456
DRUE CHRISMAN INC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DRUE CHRISMAN,INC.                   775 RUDOLPH WAY LAWRENCEBURG IN 47025
DRUG SCREEN SOLUTIONS, INC.          1715 POWDER RIDGE DRIVE VALRICO FL 33594
DRUGAN, SCOTT                        ADDRESS ON FILE
DRUKTENIS, AARON                     ADDRESS ON FILE
DRUM TRUCKING LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DRUM WORKSHOP INC                    ATTN: JOSE ARAMBULA 3450 LUNAR CT OXNARD CA 93030
DRUM, KENDALL                        ADDRESS ON FILE
DRUMGOOLE, RONALD                    ADDRESS ON FILE
DRUMM, ANDREW                        ADDRESS ON FILE
DRUMMER, JIMMIE                      ADDRESS ON FILE
DRUMMER, TIMOTHY M                   ADDRESS ON FILE
DRUMMOND TRUCKING ENTERPRISE INC     OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
DRUMMOND, ANTONIO                    ADDRESS ON FILE
DRUMMOND, ARTHUR                     ADDRESS ON FILE
DRUMMOND, MILANIO                    ADDRESS ON FILE
DRUMMONDS, DAVID                     ADDRESS ON FILE
DRWAL, JONATHAN                      ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                Page 549 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 558 of 2156

Claim Name                          Address Information
DRX HAMILTON, LLC                   2222 ROUTE 33 SUITE H HAMILTON NJ 08690
DRY AND FREIGHT INC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DRY FREIGHT TRANSIT LTD             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DRY, MARY ANN                       ADDRESS ON FILE
DRYJA, ROBERT                       ADDRESS ON FILE
DRYSDALE, EUGENE                    ADDRESS ON FILE
DRYSDALE, KEVIN                     ADDRESS ON FILE
DRZEWIECKI, ADAM                    ADDRESS ON FILE
DS ENTERPRISES                      OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                    60674-0411
DS EXPRESS INC                      DS EXPRESS INC 15850 NEW AVENUE SUITE 110 LEMONT IL 60439
DS EXPRESS LINE LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DS EXPRESS LLC                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DS FASHION                          151A W 30TH ST A NEW YORK NY 10001
DS LAWN CARE                        C/O DNM VALUES, 5621 WOODGREEN RD VIRGINIA BEACH VA 23455
DS TRUCKING EXPRESS INC             8 GREYSTONE COURT STREAMWOOD IL 60107
DS WRECKER SERVICE                  106474 S 4170 RD CHECOTAH OK 74426
DSB EXPRESS INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
DSC LOGISTICS                       TRANS DEPT, 1750 S WOLF ROAD ROSEMONT IL 60018
DSC LOGISTICS                       TRANSPORTATION DEPT, 1750 S WOLF RD ROSEMONT IL 60018
DSC TRANSPORT LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DSD CARRIER                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DSD GLOBAL CORP                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DSG EQUIPMENT AND SUPPLIES INC.     5230 WINNER ROAD KANSAS CITY MO 64127
DSG EQUIPMENT AND SUPPLIES INC.     5342 WINNER RD KANSAS CITY MO 64127
DSG TRANS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DSG TRANSPORT LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DSG TRUCKING LLC                    135 ROSEWOOD LANE PORT READING NJ 07064
DSH TRANSPORTATION                  3 KEYSTONE RD HANOVER TWP PA 18706
DSI DIGITAL SYSTEMS INSTALLATION    3319 LINCOLN AVE OGDEN UT 84401
DSK LOGISTICS INC                   OR PRO FUNDING INC DEPT 3045, PO BOX 1003 MEMPHIS TN 38148-3045
DSK LOGISTICS INC                   OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
DSK TRUCKING LLC                    12006 E MT SPOKANE PARK DR MEAD WA 99021
DSL EXPRESS TRUCKING INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DSM EXPRESS LLC                     OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
DSM TRANSPORT INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DSM TRANSPORT LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DSM TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DSM TRUCKING LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DSMJ TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DSN EXPEDITED INC                   4077 W COLLEGE AVE MILWAUKEE WI 53221
DSN TRANSPORTATION LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DSR TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DSS FIRE, INC.                      P O BOX 550940 DALLAS TX 75355
DST DISTRIBUTORS INC                P.O. BOX 503 SPRINGVILLE UT 84663
DST TRUCKING LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DST TRUCKING, LLC                   15788 DESERT PASS ST ADELANTO CA 92301
DSV ROAD                            PO BOX 1147 MEDFORD OR 97501
DT ASPHALT INC.                     63 CLARKSWOODS RD LYMAN ME 04002



Epiq Corporate Restructuring, LLC                                                                Page 550 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 559 of 2156

Claim Name                              Address Information
DT EXPRESS, LLC                         OR COMM FINANCE, PO BOX 2449 TOLUCA LAKE CA 91610-0449
DT LINES LLC                            OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
DT&T LOGISTICS INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DTA TRUCKING LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DTC                                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
DTC LOGISTICS INC                       OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
DTC TRANSPORT                           83 KENNEDY RD S BRAMPTON ON L6W 3P3 CANADA
DTE                                     1 ENERGY PLZ DETROIT MI 48226-1221
DTE ENERGY                              1 ENERGY PLAZA DETROIT MI 48226
DTE ENERGY                              150 S ELIZABETH ST DETROIT MI 48307
DTE ENERGY                              C/O PDRS 150 S ELIZABETH STREET ROCHESTER MI 48307-2094
DTF TRANSPORTATION LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DTFI                                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DTGATES LOGISTICS CORP                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DTH TRANSPORT LLC                       OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
DTI INTERNATIONAL                       4021 AVENIDA DE LA PLATA STE 5 OCEANSIDE CA 92056
DTI TRUCK RENTALS                       8955 W. 44TH AVE. WHEAT RIDGE CO 80033
DTL                                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DTM TRANSPORT LLC                       OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
DTN LOGISTICS LLC                       OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DTN, LLC                                26385 NETWORK PLACE CHICAGO IL 60673
DTP TRUCKING LLC                        OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
DTR TRUCKING                            OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
DTS                                     22-23-1 HATCHOBORI EMPIRE BLDG 8F CHUO-KU, TOKYO 104-0032 JAPAN
DTS COUNTY LINE SERVICE                 23680 US HWY 10 REED CITY MI 49677
DTS DEDICATED TRANSPORTATION SVCS LLC   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
DTS HAULING LLC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DTS LLC                                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
DTS SOFTWARE INC                        ATTN: ACCOUNTS RECEIVABLE 4350 LASSITER AT N HILLS AVE, STE 230 RALEIGH NC
                                        27609
DTSI                                    W350 S6340 ULRICKSON ROAD EAGLE WI 53119
DTTT INC                                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DTW EXPRESS LLC                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
DTW LOGISTIC LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DTX EXPRESS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DTX INC                                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DTX TRANS INC                           OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
DU TOIT, RIEL                           ADDRESS ON FILE
DUA TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DUAH, KWAKU                             ADDRESS ON FILE
DUANE ADAMS                             ADDRESS ON FILE
DUANE E MAYNARD                         ADDRESS ON FILE
DUANE M KOPECKY                         ADDRESS ON FILE
DUANI TRUCKING SERVICES LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DUARTE, ANTHONY                         ADDRESS ON FILE
DUARTE, CRISTINA                        ADDRESS ON FILE
DUARTE, ERNEST                          ADDRESS ON FILE
DUARTE, FELIXARDO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 551 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 560 of 2156

Claim Name                           Address Information
DUARTE, GELBERT                      ADDRESS ON FILE
DUARTE, JORGE                        ADDRESS ON FILE
DUARTE, JOSEPH                       ADDRESS ON FILE
DUARTE, PARISH                       ADDRESS ON FILE
DUARTE, PETER                        ADDRESS ON FILE
DUARTE, RUDY                         ADDRESS ON FILE
DUARTE, VINCENT J                    ADDRESS ON FILE
DUB EXPRESS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DUBAD LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DUBAI EXPRESS INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DUBAI TRUCK LINES INC                3102 SANTA ISABEL, 0 LAREDO TX 78045
DUBAI TRUCK LINES INC                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DUBARRY, SHAWN S                     ADDRESS ON FILE
DUBBERT, ARICA                       ADDRESS ON FILE
DUBBS, CASEY                         ADDRESS ON FILE
DUBE, JAYSON                         ADDRESS ON FILE
DUBIEL, MARK                         ADDRESS ON FILE
DUBINA, DEBRA                        ADDRESS ON FILE
DUBLIN TRANSPORTATION LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
DUBOIS CHEMICALS                     ODYSSEY LOGISTICS PO BOX 19749 CHARLOTTE NC 28219
DUBOIS CHEMICALS, INC.               2659 SOLUTION CENTER CHICAGO IL 60677
DUBOIS, BRADLEY                      ADDRESS ON FILE
DUBOSE, SAMUEL                       ADDRESS ON FILE
DUBOSE, SHAWN                        ADDRESS ON FILE
DUBY, KORRIN                         ADDRESS ON FILE
DUBY, NATALIE PEYTYN                 ADDRESS ON FILE
DUBY, OWEN                           ADDRESS ON FILE
DUCADY, DONALD                       ADDRESS ON FILE
DUCAR TRANSPORTATION SERVICES LLC    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DUCE TRUCKING INC                    672 DOGWOOD AVENUE 399 FRANKLIN SQUARE NY 11010
DUCHENEAUX, DALE                     ADDRESS ON FILE
DUCHENEAUX, JANET                    ADDRESS ON FILE
DUCHESNEAU, TYLER                    ADDRESS ON FILE
DUCHIMAZA TRUCKING INC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DUCK TRANSPORT LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DUCKETT, ARTHUR                      ADDRESS ON FILE
DUCKETT, CHARLES                     ADDRESS ON FILE
DUCKETT, DEONTE                      ADDRESS ON FILE
DUCKSWORTH CANTY LOGISTICS LLC       1401 W FORT ST UNIT 442370 DETROIT MI 48244
DUCKSWORTH, DAVID                    ADDRESS ON FILE
DUCKSWORTH, MALCOLM                  ADDRESS ON FILE
DUCKSWORTH, MICHAEL                  ADDRESS ON FILE
DUCKWORTH, DONNELL                   ADDRESS ON FILE
DUCKWORTH, GEORGE                    ADDRESS ON FILE
DUCLERVIL, STERLIN                   ADDRESS ON FILE
DUCLOS, CARLOS                       ADDRESS ON FILE
DUCOTERRA                            ATTN: PATRICK BEEBE-SWEET 1645 JILLS CT STE 108 BELLINGHAM WA 98226
DUCT DOCTOR OF SOUTHERN NJ           11 SAYER AVE STE 202 CHERRY HILL NJ 08002
DUDA, EDWARD                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 552 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 561 of 2156

Claim Name                           Address Information
DUDAS, DYLAN                         ADDRESS ON FILE
DUDEK, DAWID                         ADDRESS ON FILE
DUDEK, MICHAEL                       ADDRESS ON FILE
DUDEK, MIROSLAW                      ADDRESS ON FILE
DUDENAS, EDDIE                       ADDRESS ON FILE
DUDLEY, TANECIA                      ADDRESS ON FILE
DUDZIAK, JERRY                       ADDRESS ON FILE
DUDZIK, KEVIN                        ADDRESS ON FILE
DUDZIK, STEPHEN                      ADDRESS ON FILE
DUE SOUTH CARTAGE LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DUECK TRUCKING                       106070 N3680 RD BOLEY OK 74829
DUECK, JEREMY                        ADDRESS ON FILE
DUEFFERT, TYLER                      ADDRESS ON FILE
DUELLO, JAMES                        ADDRESS ON FILE
DUENAS, FRANCISCO                    ADDRESS ON FILE
DUENAS, KATHLEEN                     ADDRESS ON FILE
DUENEZ, JESUS                        ADDRESS ON FILE
DUEWEKE, DAVID                       ADDRESS ON FILE
DUFAULT, JOEL                        ADDRESS ON FILE
DUFF, LAWRENCE                       ADDRESS ON FILE
DUFF, LAWRENCE                       ADDRESS ON FILE
DUFF, ROCKY                          ADDRESS ON FILE
DUFF, TERRY                          ADDRESS ON FILE
DUFF, THOMAS                         ADDRESS ON FILE
DUFFELL, MICHAEL                     ADDRESS ON FILE
DUFFEY, GERALD                       ADDRESS ON FILE
DUFFEY, JOSH                         ADDRESS ON FILE
DUFFEY, KATHRYN                      ADDRESS ON FILE
DUFFIELD, JOHN                       ADDRESS ON FILE
DUFFIELD, WYATT                      ADDRESS ON FILE
DUFFY, BOB                           ADDRESS ON FILE
DUFFY, CHAD                          ADDRESS ON FILE
DUFFY, CHARLOTTA                     ADDRESS ON FILE
DUFFY, JAMES                         ADDRESS ON FILE
DUFFY, RYAN                          ADDRESS ON FILE
DUFFY, THOMAS                        ADDRESS ON FILE
DUFFY, TROY                          ADDRESS ON FILE
DUFRANE, LEVI                        ADDRESS ON FILE
DUFRENE AND COMPANY LLC              ATTN: BRANDON DUFRENE 717 HIGHLANDIA DR STE 103 BATON ROUGE LA 70810
DUGAN, ANDREW                        ADDRESS ON FILE
DUGAN, CANDICE                       ADDRESS ON FILE
DUGAN, JAMES                         ADDRESS ON FILE
DUGAN, PAUL B                        ADDRESS ON FILE
DUGAN, TANNER                        ADDRESS ON FILE
DUGAN, WILLIAM                       ADDRESS ON FILE
DUGANS, CAMERON                      ADDRESS ON FILE
DUGAR NATIONAL                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DUGAS, LUCAN                         ADDRESS ON FILE
DUGGAN, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 553 OF 2145
                                              Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 562 of 2156

Claim Name                             Address Information
DUGGAN, MICHAEL                        ADDRESS ON FILE
DUGGER, FRANKLIN                       ADDRESS ON FILE
DUGGIN, KENNETH                        ADDRESS ON FILE
DUGGINS, BARRY                         ADDRESS ON FILE
DUGGINS, DEMECO                        ADDRESS ON FILE
DUGO, BRIAN                            ADDRESS ON FILE
DUGUAY, DANIEL                         ADDRESS ON FILE
DUGUAY, JOSEPH                         ADDRESS ON FILE
DUGUAY, LAWRENCE                       ADDRESS ON FILE
DUH ROAD TRANSPORTATION LLC            OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
DUIMSTRA, TIMOTHY                      ADDRESS ON FILE
DUITMANN, JAMES                        ADDRESS ON FILE
DUJAKOVIC, JOHN                        ADDRESS ON FILE
DUKAL CORPORATION                      2 FLEETWOOD CT RONKONKOMA NY 11779
DUKE & LEES JOHNSONS GARAGE & TOWING   1451 E LATHEM STREET BATAVIA IL 60510
INC
DUKE ENERGY                            526 SOUTH CHURCH ST. CHARLOTTE NC 28202
DUKE ENERGY                            526 S CHURCH ST CHARLOTTE NC 28202-1802
DUKE ENERGY                            C/O PRG - DAMAGE CLAIMS 5690 DTC BLVD STE 650E GREENWOOD VILLAGE CO 80111-3203
DUKE ENERGY CORP                       ATTN: JOE MONTES 24610 DETROIT RD STE 1200 WESTLAKE OH 44145
DUKE FREIGHT LINES, LLC                6190 HUNTER LANE MATTHEWS NC 28104
DUKE MFG                               ATTN: SUSAN LEPAGE RETRANS FREIGHT 420 AIRPORT RD. FALL RIVER MA 02720
DUKE TRANSPORT INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
DUKE TRANSPORTATION LLC                390 GRAND AVE UNIT C CINCINNATI OH 45205
DUKE, ARCHIE                           ADDRESS ON FILE
DUKE, BENJAMIN                         ADDRESS ON FILE
DUKE, CLOEY                            ADDRESS ON FILE
DUKE, DARLENE                          ADDRESS ON FILE
DUKE, DUSTIN                           ADDRESS ON FILE
DUKE, GREGORY                          ADDRESS ON FILE
DUKE, H                                ADDRESS ON FILE
DUKE, JAMES                            ADDRESS ON FILE
DUKE, KRISTI                           ADDRESS ON FILE
DUKE, MARCUS                           ADDRESS ON FILE
DUKE, MATTHEW                          ADDRESS ON FILE
DUKE, MICHAEL                          ADDRESS ON FILE
DUKE, MICHAEL                          ADDRESS ON FILE
DUKE, ROGER                            ADDRESS ON FILE
DUKE, TONY                             ADDRESS ON FILE
DUKES, DON                             ADDRESS ON FILE
DUKES, PRESTON                         ADDRESS ON FILE
DUKES, STEPHANIE M                     ADDRESS ON FILE
DUKES, STEPHANIE M                     ADDRESS ON FILE
DUKLET, CHARLES                        ADDRESS ON FILE
DUKULY ALI, JUSUFU                     ADDRESS ON FILE
DULA TRANSPORT GROUP INC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DULAC, WILFRED                         ADDRESS ON FILE
DULACA, GERALD                         ADDRESS ON FILE
DULAI PRIDE INC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                                 Page 554 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 563 of 2156

Claim Name                           Address Information
DULANEY, STACY M                     ADDRESS ON FILE
DULAY HOLDING CARRIER LLC            1575 FRUITLAND DRIVE BELLINGHAM WA 98226
DULAY TRANSPORT INC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
DULEY, JACK                          ADDRESS ON FILE
DULL, BRIAN                          ADDRESS ON FILE
DULORIER, KERBY                      ADDRESS ON FILE
DULWORTH, MICHAEL                    ADDRESS ON FILE
DUM, ALAN                            ADDRESS ON FILE
DUMAS, EDWARD                        ADDRESS ON FILE
DUMAS, THOMAS                        ADDRESS ON FILE
DUMM, JAMES                          ADDRESS ON FILE
DUMONTET, CHRIS                      ADDRESS ON FILE
DUMOULIN, LUC                        ADDRESS ON FILE
DUMP AND RUN LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DUN & BRADSTREET, INC                PO BOX 931197 ATLANTA GA 31193
DUN RIGHT TRUCKING CO INC            1669 W 130TH ST UNIT 102 HINCKLEY OH 44233
DUN RIGHT TRUCKING CO INC            C/O EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
DUN, LAWRENCE                        ADDRESS ON FILE
DUNAWAY, RUSSELL                     ADDRESS ON FILE
DUNBAR                               1025 BOULDERS PKWY STE 310 RICHMOND VA 23225
DUNBAR, ANTHONY                      ADDRESS ON FILE
DUNBAR, CHAD                         ADDRESS ON FILE
DUNBAR, DAVID                        ADDRESS ON FILE
DUNBAR, EVAN                         ADDRESS ON FILE
DUNBAR, KEVIN                        ADDRESS ON FILE
DUNBAR, ROBERT                       ADDRESS ON FILE
DUNBAR, WILLIE                       ADDRESS ON FILE
DUNCAN A DEMPSEY                     ADDRESS ON FILE
DUNCAN, ALEAH                        ADDRESS ON FILE
DUNCAN, ANTHONY                      ADDRESS ON FILE
DUNCAN, ARNOLD                       ADDRESS ON FILE
DUNCAN, BENJAMIN                     ADDRESS ON FILE
DUNCAN, BURL                         ADDRESS ON FILE
DUNCAN, CARL                         ADDRESS ON FILE
DUNCAN, CHARLES                      ADDRESS ON FILE
DUNCAN, CYD                          ADDRESS ON FILE
DUNCAN, DANIEL                       ADDRESS ON FILE
DUNCAN, GREGORY                      ADDRESS ON FILE
DUNCAN, JAMES                        ADDRESS ON FILE
DUNCAN, KRISTIN                      ADDRESS ON FILE
DUNCAN, LOGAN                        ADDRESS ON FILE
DUNCAN, MARCUS                       ADDRESS ON FILE
DUNCAN, MARK                         ADDRESS ON FILE
DUNCAN, MICHAEL                      ADDRESS ON FILE
DUNCAN, RICHARD                      ADDRESS ON FILE
DUNCAN, ROBERTO                      ADDRESS ON FILE
DUNCAN, ROLAND                       ADDRESS ON FILE
DUNCAN, STEVE                        ADDRESS ON FILE
DUNCAN, WILL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 555 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 564 of 2156

Claim Name                               Address Information
DUNCO LLC                                ATTN: JACK DUNSON, PO BOX 309 FARMINGTON NM 87499
DUNDAS JAFINE                            ATTN: G PORTINCASA 11099 BROADWAY ALDEN NY 14004
DUNDAS JAFINE INCORPORATED               11099 BROADWAY ST ALDEN NY 14004
DUNDEE TRUCKING INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DUNDOVICH, ROBERT                        ADDRESS ON FILE
DUNE TRANSPORT INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
DUNFEE, CURTIS                           ADDRESS ON FILE
DUNFEE, TAMMY                            ADDRESS ON FILE
DUNFIELD, GARY                           ADDRESS ON FILE
DUNGAN, KYLE                             ADDRESS ON FILE
DUNHAM, CLIFF                            ADDRESS ON FILE
DUNHAM, EDWARD                           ADDRESS ON FILE
DUNHAM, JAMES                            ADDRESS ON FILE
DUNHAM, JASON                            ADDRESS ON FILE
DUNHAM, JUSTIN                           ADDRESS ON FILE
DUNHAM, LEON                             ADDRESS ON FILE
DUNK PYE TRANSPORTATION, INC.            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DUNKER, JEFFREY                          ADDRESS ON FILE
DUNKES, JOE                              ADDRESS ON FILE
DUNKIN DONUTS                            7401 TONNELLE AVE. NORTH BERGEN NJ 07047
DUNKIN, BRADEN                           ADDRESS ON FILE
DUNKIN, ELIZABETH                        ADDRESS ON FILE
DUNKIN, LARRY JR                         ADDRESS ON FILE
DUNKLEY, RANDY                           ADDRESS ON FILE
DUNKS TRANSPORT LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DUNLAP, CHRISTOPHER                      ADDRESS ON FILE
DUNLAP, GAIL                             ADDRESS ON FILE
DUNLAP, JEFFREY                          ADDRESS ON FILE
DUNLAP, KELSI                            ADDRESS ON FILE
DUNLAP, TIMOTHY                          ADDRESS ON FILE
DUNLAP, TRACY                            ADDRESS ON FILE
DUNLOP, KENNETH                          ADDRESS ON FILE
DUNMAR MOVING SYSTEM                     8030 WHITEPINE ROAD RICHMOND VA 23237-2263
DUNN COUNTY HIGHWAYDEPT.                 3303 HIGHWAY 12 EAST MENOMONIE WI 54751
DUNN PEOPLES TRUCKING INC                OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
DUNN RITE STRIPING AND SEALCOATING LLC   147 POSSUM TRACK ROAD BRANDON MS 39042
DUNN, ANGELA                             ADDRESS ON FILE
DUNN, CHARLES                            ADDRESS ON FILE
DUNN, DANIEL                             ADDRESS ON FILE
DUNN, DESMOND                            ADDRESS ON FILE
DUNN, JACK                               ADDRESS ON FILE
DUNN, JOHN M                             ADDRESS ON FILE
DUNN, JOSEPH                             ADDRESS ON FILE
DUNN, JOSEPH L                           ADDRESS ON FILE
DUNN, KENNY                              ADDRESS ON FILE
DUNN, MICHAEL                            ADDRESS ON FILE
DUNN, MICHAEL                            ADDRESS ON FILE
DUNN, ROGER                              ADDRESS ON FILE
DUNN, ROSS                               ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 556 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 565 of 2156

Claim Name                           Address Information
DUNN, SAMUEL L                       ADDRESS ON FILE
DUNN, SHELLEY                        ADDRESS ON FILE
DUNN, SHERI                          ADDRESS ON FILE
DUNN, TIMOTHY                        ADDRESS ON FILE
DUNN, WILLIE                         ADDRESS ON FILE
DUNNE, RAYMOND                       ADDRESS ON FILE
DUNNELL, LYMUS                       ADDRESS ON FILE
DUNNELL, LYMUS J                     ADDRESS ON FILE
DUNNIGAN, MATTHEW                    ADDRESS ON FILE
DUNNING, JERYL                       ADDRESS ON FILE
DUNNOCK JR, TIMOTHY ELMER            ADDRESS ON FILE
DUNNOCK JR, TIMOTHY ELMER            ADDRESS ON FILE
DUNNS FLEET & TRAILER SERVICE        109 KATYE CT ASHLAND CITY TN 37015
DUNNS FLEET & TRAILER SERVICE        126 AGEE CIRCLE EAST HENDERSONVILLE TN 37075
DUNNS IMPORT CAR SERVICE             ATTN: KATIE MILLER 6516 UNIVERSITY AVE MIDDLETON WI 53562
DUNPHY, MARTIN E                     ADDRESS ON FILE
DUNSON, BRIGETTA                     ADDRESS ON FILE
DUNSON, GREGORY                      ADDRESS ON FILE
DUNSON, LOVEJOY                      ADDRESS ON FILE
DUNVILLE, DONALD                     ADDRESS ON FILE
DUNWOODY, DAVID B                    ADDRESS ON FILE
DUONG, THANH                         ADDRESS ON FILE
DUPAGE FREIGHT CO                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DUPAGE FREIGHT CO.                   90 DANADA DR WHEATON IL 60189
DUPART, BRYONE                       ADDRESS ON FILE
DUPEE, RAYMOND                       ADDRESS ON FILE
DUPLESSIS, EDWARD                    ADDRESS ON FILE
DUPLESSIS, LOUIS                     ADDRESS ON FILE
DUPONT LOSS & DAMAGE                 ATTN: PATTI WELSH PATTI WELSH CRP721 S-21002152B 974 CENTRE RD WILMINGTON DE
                                     19805
DUPONT LOSS & DAMAGE/APL LOGISTICS   PATTI WELSH CRP721 S-2100 2152B 974 CENTRE RD WILMINGTON DE 19805
DUPONT LOSS &DAMAGE                  CRP721 S2100 2152B, 974 CENTRE RD WILMINGTON DE 19805
DUPONT TRANSPORT LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DUPPER, CHARLES                      ADDRESS ON FILE
DUPRA, CHERYL                        ADDRESS ON FILE
DUPRE, DERIC                         ADDRESS ON FILE
DUPRE, NORMAN                        ADDRESS ON FILE
DUPREE, ANTHONY                      ADDRESS ON FILE
DUPREE, BERNARD                      ADDRESS ON FILE
DUPREE, TERRY                        ADDRESS ON FILE
DUPREE, TERRY                        ADDRESS ON FILE
DUPREY, DON                          ADDRESS ON FILE
DUPUIE, GARY                         ADDRESS ON FILE
DUPUIS, BRIAN                        ADDRESS ON FILE
DUPUIS, KEITH                        ADDRESS ON FILE
DUQUE, KYLIE                         ADDRESS ON FILE
DUQUESNE LIGHT                       PO BOX 371324 PITTSBURGH PA 15250
DUQUESNE LIGHT COMPANY               411 7TH AVE (6-1) PITTSBURGH PA 15219
DUQUETTE, DAVID                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 557 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 566 of 2156

Claim Name                          Address Information
DUQUETTE, LESLIE                    ADDRESS ON FILE
DUQUETTE, PAUL                      ADDRESS ON FILE
DURA LITE HEAT TRANSFER PRODUC      12012 44TH ST SE CALGARY AB T2R 0V4 CANADA
DURABLE DIESEL                      PO BOX 2231 ASTORIA NY 11102
DURABLE SUPERIOR CASTERS, INC.      2801 E. ABRAM ST ARLINGTON TX 76010
DURABLE USA INC                     2801 E ABRAM ST ARLINGTON TX 76010
DURACELL                            ATTN: CHERYL WILSON GBS, INSURANCE & RISK MANAGEMENT 1210 SOUTH PINE ISLAND
                                    PLANTATION FL 33324
DURACELL                            ATTN: DEBRA FAIELLA DHL SUPPLY CHAIN 1210 SOUTH PINE ISLAND PLANTATION FL
                                    33324
DURAKOVIC, ZIJAD                    ADDRESS ON FILE
DURAKOVIC, ZIJAD                    ADDRESS ON FILE
DURALL, KWAN                        ADDRESS ON FILE
DURAN BROTHERS TRANSPORT LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DURAN FREIGHT CORPORATION           7295 SIEMPRE VIVA RD SAN DIEGO CA 92154
DURAN, BERNARDO                     ADDRESS ON FILE
DURAN, BRIAN                        ADDRESS ON FILE
DURAN, CHRISTOPHER                  ADDRESS ON FILE
DURAN, DAVID                        ADDRESS ON FILE
DURAN, GARY                         ADDRESS ON FILE
DURAN, JOSEPH                       ADDRESS ON FILE
DURAN, LUIS                         ADDRESS ON FILE
DURAN, MATTHEW                      ADDRESS ON FILE
DURAN, PABLO                        ADDRESS ON FILE
DURAN, ROBERT                       ADDRESS ON FILE
DURAN, ROCKY                        ADDRESS ON FILE
DURAN, STEVE M                      ADDRESS ON FILE
DURAN, TERESA                       ADDRESS ON FILE
DURANCZYK, LEONARD                  ADDRESS ON FILE
DURANGO JS LLC                      OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
DURANSO, DEZERAE                    ADDRESS ON FILE
DURANT, DEQUAN                      ADDRESS ON FILE
DURANT, JOSEPH                      ADDRESS ON FILE
DURANT, RICHARD                     ADDRESS ON FILE
DURANT, WAYNE                       ADDRESS ON FILE
DURASERV CORPORATION                DBA INDUSTRIAL EQUIPMENT & SPECIALTIES PO BOX 840602 DALLAS TX 75284
DURAVA, MICHAEL                     ADDRESS ON FILE
DURAVENT GROUP                      C/O CHARLIE VARGAS 2503 LINDIS FARNE DRIVE SW DECATUR AL 35603-2914
DURAVENT VACAVILLE PLANT 3510       ATTN: CALLIE SCHWEITZER 877 COTTING CT VACAVILLE CA 95688
DURBIN, MATTHEW                     ADDRESS ON FILE
DURDEN, HENRY                       ADDRESS ON FILE
DURDEN, SHAUNTAI                    ADDRESS ON FILE
DURDEN, SHAUNTAI N                  ADDRESS ON FILE
DURELLI, ANTHONY                    ADDRESS ON FILE
DURFEY, WYATT                       ADDRESS ON FILE
DURHAM TRANSPORT EXPRESS LLC        OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
DURHAM, BOBBY                       ADDRESS ON FILE
DURHAM, DAVID                       ADDRESS ON FILE
DURHAM, DEANDREA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 558 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 567 of 2156

Claim Name                          Address Information
DURHAM, DENNIS                      ADDRESS ON FILE
DURHAM, DONALD                      ADDRESS ON FILE
DURHAM, EARL                        ADDRESS ON FILE
DURHAM, EDWARD                      ADDRESS ON FILE
DURHAM, KEVIN J                     ADDRESS ON FILE
DURHAM, KEYON                       ADDRESS ON FILE
DURHAM, KRISTIN                     ADDRESS ON FILE
DURHAM, MONTEZ P                    ADDRESS ON FILE
DURHAM, PAUL                        ADDRESS ON FILE
DURHAM, TONY                        ADDRESS ON FILE
DURIO, ROBIN                        ADDRESS ON FILE
DURK, DENNIS                        ADDRESS ON FILE
DURKIN, BRIAN                       ADDRESS ON FILE
DURLAND, DALE                       ADDRESS ON FILE
DURLEY, ANTHONY                     ADDRESS ON FILE
DURLIAT, BENJAMIN                   ADDRESS ON FILE
DURNELL, RICHARD                    ADDRESS ON FILE
DURNELL, TOM                        ADDRESS ON FILE
DURNIN, PAUL                        ADDRESS ON FILE
DURO DYNE                           ATTN: JULIE 81 SPENCE STREET BAYSHORE NY 11706
DURO HILEX POLY LLC                 ATTN: LAURA GARRISON CARGO CLAIMS PO BOX 518 LOWELL AR 72745
DURO HILEX POLY LLC                 C/O CARGO CLAIMS PO BOX 518 LOWELL AR 72745
DURO TRUCKING LLC                   PO BOX 968 WYANDANCH NY 11798
DURON, JEFF                         ADDRESS ON FILE
DURRANS, ROBERT                     ADDRESS ON FILE
DURRER, JOSHUA                      ADDRESS ON FILE
DURRS JANITORAL SERVICES            8063 RUEDISALE CT DETROIT MI 48214
DURSKI, KEVIN                       ADDRESS ON FILE
DURSO, CHRISTOPHER                  ADDRESS ON FILE
DURST, PATRICK                      ADDRESS ON FILE
DUSK2DAWN TRANSPORT LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
DUSTBUSTERS PAVEMENT SWEEPING LLC   15839 LINCOLN ST NE HAM LAKE MN 55304
DUSTIN ADAMS                        ADDRESS ON FILE
DUSTIN H STICKAN                    ADDRESS ON FILE
DUSTIN H STICKAN                    ADDRESS ON FILE
DUSTIN J KELL                       ADDRESS ON FILE
DUSTIN J UNDERWOOD                  ADDRESS ON FILE
DUSTIN SCOTT                        ADDRESS ON FILE
DUSTIN STEVENS                      ADDRESS ON FILE
DUSTIN TRENT WATKINS                ADDRESS ON FILE
DUSTIN YOUNG                        ADDRESS ON FILE
DUSTIN YOUNG                        ADDRESS ON FILE
DUSTYS BODY SHOP, INC.              10550 RADISSON RD NE BLAINE MN 55449
DUTCH BOY TRUCKING INC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DUTCH OIL COMPANY                   PO BOX 2323 COLUMBUS MS 39704
DUTCHAK, STEVE                      ADDRESS ON FILE
DUTCHESS PROPRINT                   1299 RT. 9, SUITE 105 WAPPINGERS FALLS NY 12590
DUTCHS HAULING                      100 E 5TH AVE ALTOONA PA 16602
DUTHIE GENERATOR SERVICE INC        2335 E CHERRY INDUSTRIAL CIRCLE LONG BEACH CA 90805



Epiq Corporate Restructuring, LLC                                                              Page 559 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 568 of 2156

Claim Name                            Address Information
DUTTON ELECTRIC INC                   1217 ASHWOOD RD AKRON OH 44312
DUTTON, BOYD                          ADDRESS ON FILE
DUTTON, GREGORY                       ADDRESS ON FILE
DUTTON, JAMES                         ADDRESS ON FILE
DUTTON, JOSEPH                        ADDRESS ON FILE
DUTTON, NICHOLAS                      ADDRESS ON FILE
DUTTON, TREVOR                        ADDRESS ON FILE
DUTY, BRIAN                           ADDRESS ON FILE
DUTY, LARRY                           ADDRESS ON FILE
DUTYS LOCK SAFE & SECURITY INC        3101 GETTYSBURG RD CAMP HILL PA 17011
DUVAL SEMI TRAILERS, INC.             42 MAIN STREET STE 3A SENOIA GA 30276
DUVAL SEMI TRAILERS, INC.             827 FAIRWAYS CT, SUITE 110 STOCKBRIDGE GA 30281
DUVALL, CHARLES                       ADDRESS ON FILE
DUVALL, K                             ADDRESS ON FILE
DUVALL, KEVIN                         ADDRESS ON FILE
DUVALL, THOMAS                        ADDRESS ON FILE
DUVALS TOWING & GARAGE LLC            237 MAST RD GOFFSTOWN NH 03045
DUVALS TOWING & GARAGE LLC            PO BOX 282 MANCHESTER NH 03105
DUVERGER                              1445 STELLAR DR OXNARD CA 93033
DUX, MARK                             ADDRESS ON FILE
DUXOV TRUCKING                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
DUXX, INC.                            OR SMART FREIGHT FUNDING, PO BOX 3474 OMAHA NE 68103
DUYKA, DANIEL                         ADDRESS ON FILE
DUZZYS ROADSIDE SERVICE               615 E SMOKEY LN MURRAYVILLE IL 62668
DV TRANSPORTATION INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DV8 LOGISTICS LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DVAC SALES INC                        200 VERDI ST UNIT B FARMINGDALE NY 11735
DVCHAR IMPORTS INC                    ATTN: CARLOS CHARMELL 121 CARRINGSBY AV NW CALGARY AB T3P 1S1 CANADA
DVD TRUCKING CORP                     OR TRANSPORTATION FINANCE CORP 14007 S BELL RD 169 HOMER GLEN IL 60491
DVD URBAN TRUCKING LLC                OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                      35246-2659
DVJ UPPAL TRANSPORT                   18832 105TH LANE E PUYALLUP WA 98374
DVL EXPRESS                           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
DVN TRANSPORT LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DVORAK, RHONDA                        ADDRESS ON FILE
DVOROZNAK, DANIEL                     ADDRESS ON FILE
DVP TRANSPORT LLC                     282 FAYER COURT GROVEPORT OH 43125
DVR XPRESS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DVRS EXPRESS                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DVS COURIER GROUP LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
DVS EXPRESS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
DVS TRANSPORTATION INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DVS XPRESS L L C                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
DVT TRANSPORT INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
DW ENTERPRISE HAULING & DUMPING INC   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DW EQUIPMENT REPAIR & SERVICE         5010 CHARIOT DR COLORADO SPRINGS CO 80923
DW EQUIPMENT REPAIR & SVC             D/B/A: DW EQUIPMENT REPAIR & SERVICE 5010 CHARIOT DR COLORADO SPRINGS CO 80923
DW EXPRESS INC                        OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
DW METAL WORKS INC                    725 SCARLET DR GRAND JUNCTION CO 81505



Epiq Corporate Restructuring, LLC                                                                  Page 560 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 569 of 2156

Claim Name                            Address Information
DW TRANSPORT SERVICES INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
DW3 TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
DWABRO TRUCKING LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
DWANE E STOLTZFUS                     ADDRESS ON FILE
DWAY 2 MOVE FREIGHT                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
DWAYNE CAVITT                         ADDRESS ON FILE
DWAYNE ISFELD                         ADDRESS ON FILE
DWAYNE L MARTIN                       ADDRESS ON FILE
DWC EXPRESS CARE                      3456 WATSON HWY STE 200 DU BOIS PA 15801
DWC MECHANICAL INC                    100 JOHN GLENN DRIVE AMHERST NY 14228
DWD                                   BUREAU OF FINANCE, PO BOX 7946 MADISON WI 53707
DWELL WISE LP                         330 BUFFALO TRL SOMERS MT 59932
DWELL WISE LP                         ATTN: ELAINE REMEZ 330 BUFFALO TRAIL SOMERS MT 59932
DWELLERS INTERNATIONAL LOGISTIC LLC   435 BUTTERNUT DR FATE TX 75087
DWIC OF TAMPA BAY, INC.               PO BOX 7961 BELFAST ME 04915
DWIGGINS ENGINEERING                  707 WHISPERING BROOK DR KERNERSVILLE NC 27284
DWIGGINS ENGINEERING                  710 PINEY GROVE RD KERNERSVILLE NC 27284
DWIGHT A JACKSON                      ADDRESS ON FILE
DWIGHT A KOLLOCK, LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
DWIGHT DAVE DECKER                    ADDRESS ON FILE
DWIGHT EMBRYS GARAGE INC              252 NEW PORTER PIKE BOWLING GREEN KY 42103
DWJS LLC                              3440 SECTOR ROAD TOLEDO OH 43606
DWJS, LLC                             ATTN: JENNIFER DUNSMORE 3440 SECOR ROAD TOLEDO OH 43606
DWL LOGISTICS P LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DWYER, CHRISTOPHER                    ADDRESS ON FILE
DX LOGISTICS LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
DX LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DY LOCKSMITH                          1805 ROYAL GORGE AVE CHARLOTTE NC 28210
DYBDAL, MICHAEL                       ADDRESS ON FILE
DYC, JOHN                             ADDRESS ON FILE
DYCK, BARRY                           ADDRESS ON FILE
DYCK, DAVID                           ADDRESS ON FILE
DYCK, HEATH                           ADDRESS ON FILE
DYCK, JARED                           ADDRESS ON FILE
DYCK, KARL                            ADDRESS ON FILE
DYCK, MURRAY                          ADDRESS ON FILE
DYDELL, KESHAWN                       ADDRESS ON FILE
DYE JR, MICHAEL                       ADDRESS ON FILE
DYE, ADREN                            ADDRESS ON FILE
DYE, CHARLES                          ADDRESS ON FILE
DYE, DAVID                            ADDRESS ON FILE
DYE, EDWARD                           ADDRESS ON FILE
DYE, HEATHER                          ADDRESS ON FILE
DYE, JASON                            ADDRESS ON FILE
DYE, JOHN                             ADDRESS ON FILE
DYE, MICHAEL                          ADDRESS ON FILE
DYER, BRANDON                         ADDRESS ON FILE
DYER, JASON                           ADDRESS ON FILE
DYER, KEVIN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 561 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 570 of 2156

Claim Name                               Address Information
DYER, KEVIN D                            ADDRESS ON FILE
DYER, LORI                               ADDRESS ON FILE
DYESS, CHRISTOPHER                       ADDRESS ON FILE
DYKMAN ELECTRICAL                        ATTN: JORDAN DARRINGTON 4860 BURLEY DR STE 4 CHUBBUCK ID 83202
DYKMAN ELECTRICAL                        2323 S FEDERAL WAY BOISE ID 83705
DYKMAN ELECTRICAL                        960 RIVERSIDE PARKWAY 50 WEST SACRAMENTO CA 95605
DYKSTRA, JUDY                            ADDRESS ON FILE
DYKSTRA, KAREN                           ADDRESS ON FILE
DYKSTRA, SARAH                           ADDRESS ON FILE
DYLAN EXPRESS INC                        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
DYLAN EXPRESS LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
DYLAN HOOGE                              ADDRESS ON FILE
DYLE, DAN                                ADDRESS ON FILE
DYLES, RANDY                             ADDRESS ON FILE
DYLLONS HOTSHOT TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
DYMEK, LESLAW                            ADDRESS ON FILE
DYMOND, JAYNE                            ADDRESS ON FILE
DYMOR INC                                10 CHERRY HILL CIR HAWTHORN WOODS IL 60047
DYNA LIFT INC                            PO BOX 1348 MONTGOMERY AL 36102
DYNA LIFT INC                            184 WESTERN BLVD MONTGOMERY AL 36108
DYNAFLEX PRODUCTS                        6466 GAYHART STREET COMMERCE CA 90040
DYNAMERICAN                              1011 LAKE RD MEDINA OH 44256
DYNAMIC DIESEL REPAIR INC                8068 PETROLIA LINE ALVINSTON ON N0N 1A0 CANADA
DYNAMIC DIESEL SERVICE                   ROBERT HORN, PO BOX 143651 AUSTIN TX 78714
DYNAMIC DIESEL WORKS, LLC                9056 GALE BLVD UNIT 2 THORNTON CO 80260
DYNAMIC DOCK & DOOR INC                  PO BOX 372 EAST LONGMEADOW MA 01028
DYNAMIC ENGINEERING PC                   1904 MAIN STREET LAKE COMO NJ 07719
DYNAMIC EXPEDITOR INC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
DYNAMIC FREIGHT HAULERS                  OR INVOICE PAYMENT SYSTEM, PO BOX 77226 MISSISSAUGA ON L5T2P4 CANADA
DYNAMIC FREIGHT HAULERS                  40 FOXTAIL ROAD BRAMPTON ON L6R 1S8 CANADA
DYNAMIC FREIGHT TRANSPORT INC            85 W 30TH ST APT 202 HIALEAH FL 33012
DYNAMIC LIFECYCLE INNOVATIONS INC.       N5549 COUNTY ROAD Z ONALASKA WI 54650
DYNAMIC LOGISTIX FREIGHT CLAIMS DEP      ATTN: MELISSA MORALES 7220 W 98TH TERR OVERLAND PARK KS 66212
DYNAMIC MACHINE CORPORATION              1407 DUGALD RD WINNIPEG MB R2J 0H3 CANADA
DYNAMIC MAINTENANCE & CONSTRUCTION LLC   31 S TALBERT BLVD STE 303 LEXINGTON NC 27292
DYNAMIC MAINTENANCE & CONSTRUCTION LLC   31 S. TALBERT BLVD., 303 LEXINGTON NC 27292
DYNAMIC MAINTENANCE & CONSTRUCTION LLC   11936 W 119TH ST 236 OVERLAND PARK KS 66213
DYNAMIC SOLUTIONS                        707 LIZZIE ST TAYLOR TX 76574
DYNAMIC SUPPLY INC                       2049 S BAKER AVE ONTARIO CA 91761
DYNAMIC TRANSIT XXPRESS                  PO BOX 170303 HIALEAH FL 33017-0303
DYNAMIC TRUCKING AND DELIVERY LLC        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
DYNAMIC TRUCKING UNLIMITED LLC           OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
DYNAMITE LOGISTICS INC                   188 EA GARVEY AVE STE D71 MONTEREY PARK CA 91755
DYNAMITE MARKETING                       310 E WATERTOWER ST MERIDIAN ID 83642
DYNAMO TRANSPORT                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
DYNAMO TRUCKING LLC                      OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
DYNAREX CO.                              10 GLENSHAW STREET ORANGEBURG NY 10962
DYNAREX CORP                             ATTN: VARTNEY VICTOR 810 GLENSHAW ST ORANGEBURG NY 10962
DYNAREX CORPORATION                      ATTN: VARTNEY VICTOR 10 GLENSHAW STREET ORANGEBURG NY 10962



Epiq Corporate Restructuring, LLC                                                                     Page 562 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 571 of 2156

Claim Name                             Address Information
DYNARSKI, LAWRENCE                     ADDRESS ON FILE
DYNES TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
DYSART TAYLOR COTTER MCMONIGLE &       MONTEMORE PC 4420 MADISON AVENUE KANSAS CITY MO 64111
DYSON TRANSPORT LTD                    OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
DYSON, KEITH                           ADDRESS ON FILE
DYZEN EXPRESS                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
DZC TRANSPORT LLC                      9538 N SANDPOINT DR CROMWELL IN 46732
DZEVAND OSMANOVIC                      ADDRESS ON FILE
DZIEWULSKI, PETER                      ADDRESS ON FILE
DZIKOWICZ, STEVEN                      ADDRESS ON FILE
DZIRE TRANSPORT INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
DZIRE TRANSPORT LTD                    OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
DZUROFF, RICHARD                       ADDRESS ON FILE
E & A HEAVY HAULING INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E & A SQUARE SOLUTIONS LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
E & A SQUARE SOLUTIONS, LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
E & A TRANSPORTATION INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E & B LOGISTICS INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
E & B TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
E & C LOGISTICS                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
E & D TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
E & E LOGISTICS                        DBA E & A LOGISTICS INC, PO BOX 713387 SANTEE CA 92072
E & E LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E & F LOGISTICS LLC                    679 N JAMES ST REAR HAZLETON PA 18201
E & G LOGISTICS                        OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
E & G TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E & J TRANSPORT SERVICES LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
E & J TRUCKING EMPIRE LLP              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
E & K LOGISTICS LTD                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E & L GENERAL TRANSPORT CORP           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
E & L MOBILE REPAIR                    8421 PUEBLO RD LAKESIDE CA 92040
E & L SW TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E & M EXPRESS TRUCKING LLC             OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
E & M EXPRESS TRUCKING LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
E & M PEGASUS LLC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E & M TRUCK AND TRAILER REPAIR, INC.   840 CUMBERLAND HILL ROAD WOONSOCKET RI 02895
E & P EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
E & R TRANSPORTATION SERVICES INC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
E & R TRUCKING                         297 MALDONADO STREET MENDOTA CA 93640
E & S EXPRESS CORPORATION              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
E & S EXPRESS, LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
E & S FREIGHT SYSTEMS LLC              OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
E & V TRUCKING COMPANY                 1589 COVE CREEK CIRCLE NORCROSS GA 30093
E & X TRUCKING SERVICES LLC            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
E 3 TRUCKING LLC                       OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
E 470 PUBLIC HIGHWAY AUTHORITY         22470 E STEPHEN D HOGAN PKWY, STE 100 AURORA CO 80018
E 470 PUBLIC HIGHWAY AUTHORITY         PO BOX 5470 DENVER CO 80217
E A K LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E AND V SERVICES INC                   15715 STILLWELL RD HUNTSBURG OH 44046



Epiq Corporate Restructuring, LLC                                                                  Page 563 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 572 of 2156

Claim Name                             Address Information
E AST TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
E B M TRANSPORTATION                   OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
E B S TRANSPORT LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
E BAY DRAYAGE DRVERS SCTY FUND(LOCAL   400 ROLAND WAY OAKLAND CA 94621
70)
E BOLDEN LOGISTICS & MORE LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
E C L I P S E LOGISTICS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
E C M TRANSPORT, LLC                   PO BOX 536056, PO BOX 536056 PITTSBURGH PA 15253-5902
E C TRUCKING (SPARKS NV)               4594 GANNET PEAK CIRCLE SPARKS NV 89436
E COOPER CONTRACTING                   49 THOMAS AVE BALTIMORE MD 21225
E D C TRANSPORTATION LLC               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
E D EXPRESS INC                        3116 W MONTGOMERY RD C 321 MAINEVILLE OH 45039
E F EXPRESS LLC                        W2163 HIGHWAY 22 GILLETT WI 54124-9409
E FIRE, INC                            2075 MCCULLOUGH BOULEVARD TUPELO MS 38801
E FIRE, INC                            P.O. BOX 438 TUPELO MS 38801
E G M TRANSPORT LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
E GARAS TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E I M TRANSPORT CORP                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E IGAAL LOGISTICS LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
E J A TRANSPORTATION SERVICES LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
E J O MOTORS                           OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
E K TRUCKING INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E L BLACKWELL ELECTRIC INC             PO BOX 3347 MANASSAS VA 20108
E L G TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
E L S PRODUCTS CORP                    94 JEFRYN BLVD EAST- UNIT D DEER PARK NY 11729
E L S PRODUCTS CORP                    94 JEFYRN BLVD E UNIT D DEER PARK IL 11729
E L WILLIAMS TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E LABRA TRANSPORTATION LLC             OR RG FREIGHT FACTORS 2110 WEST OMNI DRIVE IDAHO FALLS ID 83402
E LATHONS INC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
E LOVE LOGISTICS LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
E M C E TRANSPORT LLC                  OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
E M CARGO MANAGEMENT INC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
E M S TRANSPORT LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
E MACK ENTERPRISE LLC                  OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
E MISHAN AND SONS                      ATTN: SUSAN GEBHARDT 230 5TH AVE NEW YORK NY 10001
E N C TRANS                            OR SMARTTRUCKER LLC PO BOX 30516, DEPT 506 LANSING MI 48909-8016
E N S TRANSPORTATION LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
E N T TRANSPORT LLC                    OR RM FINANCIALS 19528 VENTURA BLVD 296 TARZANA CA 91356
E O EXPRESS LLC                        OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
E O EXPRESS LLC                        OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FT WORTH TX 76116
E R TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
E ROCHA TRUCKING, CORP                 1441 PASO REAL AVE 47 ROWLAND HEIGHTS CA 91748
E SOLUTIONS CONSULTING                 12030 SW 88TH ST MIAMI FL 33186
E T BROWN LAND                         LAND LINK TRAFFIC, PO BOX 1066 POINT PLEASANT NJ 08742
E T I                                  12461 BRANDAMORE LANE FISHERS IN 46037
E UNITED EXPRESS INC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
E VALDEZ TRUCKING LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
E W INDUSTRIES                         ATTN: BLAIR EMDE BOX 336 IMPERIAL SK S0G 2J0 CANADA



Epiq Corporate Restructuring, LLC                                                                  Page 564 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 573 of 2156

Claim Name                              Address Information
E W S PLUMBING & HEATING INC.          339 MAIN STREET ATTN KATHI STAHELSKI MONSON MA 01057
E WAY LOGISTIC INC                     OR REV CAPITAL, 2941 LARKIN AVE CLOVIS CA 93612
E WAY TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
E&A TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
E&E LOGISTICS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
E&E STRATEGIES LLC                     ATTN GLEN KEDZIE, 1672 TRAP RD TYSONS CORNER VA 22182
E&F TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E&G TRANSPORT LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
E&K LOGISTICS LIMITED LIABILITY COMPANY OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
E&L EXPRESS LLC                        OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
E&M LOGISTICS LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
E&M LOGISTICS LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
E&N TRANSPORT INC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
E&N TRUCKING LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
E&R BOMBAZO TRUCKING LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
E&R LOGISTICS LLC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
E&R LOGISTICS LLC (MC1197580)          OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
E&S TRUCKING LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
E- TYPE LOGISTICS LLC                  445 BUCKHURST DRIVE BALLWIN MO 63021
E-TRANS CO                             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
E-TRANSPORT CARRIERS INC               PO BOX 62892 BALTIMORE MD 21264-2892
E-TRANSPORT CARRIERS INC               DBA SUINTECK TRANSPORT CO, PO BOX 536664 PITTSBURGH PA 15253-5908
E-WAY EXPRESS LLC                      1285 APPLE HOLLOW DR ARNOLD MO 63010
E-Z MOVERS LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
E. B. TRANSPORTATION SERVICE, INC.     7061 NW 87 AVE MIAMI FL 33178
E. F. SMITH, INC                       P.O. BOX 73 ROARING SPRING PA 16673
E. L. GREMILLION AND SON, INC.         620 12TH ST, PO BOX 8676 ALEXANDRIA LA 71306
E. S. KLUFT & COMPANY                  11096 JERSEY BLVD 101 RANCHO CUCAMONGA CA 91730
E.J.A. TRUCKING, INC.                  6040 BAUMGARTNER INDUSTRIAL DRIVE ST LOUIS MO 63129
E.L. SMITH PLUMBING & HEATING, INC     2013 W AVE SAN ANTONIO TX 78201
E.S. KLUFT & CO                        MAVERICK RUDD, PO BOX 398 NORTH LITTLE ROCK AR 72115
E.T. TRANSPORT                         500 CREDITSTONE ROAD CONCORD ON L4K 3Z3 CANADA
E2 TRANSPORT LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
E2J TRANSPORT LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
E3 HOLDINGS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
E3 TRANS LLC                           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
E3A TRUCKING INC                       4000 COASTAL COVE CIRCLE JACKSONVILLE FL 32224-0005
E7 TRUCKING LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EA FAST STAR LLC                       OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
EA TRANSPORT                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EA TRUCKING INC                        OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EAA TRANSPORT AND LOGISTICS            12930 DAIRY ASHFORD RD, STE 2102 SUGAR LAND TX 77478
EAB GLOBAL INC                         PO BOX 603519 CHARLOTTE NC 28260
EADS, BRIAN                            ADDRESS ON FILE
EADS, THOMAS                           ADDRESS ON FILE
EAGAN TRANSPORT LLC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
EAGLE 5 TRANSPORTATION LLC             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EAGLE CAPITAL CORPORATION              C/O PETERMAN SUDDEN SERVICE, PO BOX 4215 TUPELO MS 38803
EAGLE CARGO LLC                        OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189



Epiq Corporate Restructuring, LLC                                                                   Page 565 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 574 of 2156

Claim Name                               Address Information
EAGLE CARRIER LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EAGLE CARRIERS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EAGLE CARRIERS LLC                       9807 MINES RD SUITE 13 LAREDO TX 78045
EAGLE DRIVE INC                          OR TAB BANK, PO BOX 150830 OGDEN UT 84415
EAGLE ENGINE                             20208 CHARLANNE DR REDDING 96002
EAGLE EXPRESS                            4950 SHANNAMARA DR MATTHEWS NC 28104
EAGLE EXPRESS                            4032 KATHY DR, UNIT 4 GRANITE CITY IL 62040
EAGLE EXPRESS                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EAGLE EXPRESS LLC (MC831640)             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EAGLE EXPRESS SERVICES LLC               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EAGLE EXPRESS, INC.                      5601 BELLEVILLE ROAD CANTON MI 48188
EAGLE EXPRESS.                           822 WOODS EDGE DR MARYVILLE IL 62062
EAGLE EYE LOGISTICS, LLC                 4050 E LINCOLN RD IDAHO FALLS ID 83401
EAGLE EYE OUTFITTERS                     441 NYPRO LN DOTHAN AL 36305
EAGLE EYE TRASPTION LLC (MANTECA CA)     6844 WAYFARER LN BROWNSBURG IN 46112
EAGLE EYE TRUCK LINES LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
EAGLE EYE TRUCK LINES LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EAGLE EYES TRANSPORT INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
EAGLE EYES TRANSPORT LLC                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EAGLE FENCE COMPANY                      721 MEADOWLARK WAY NORTH WALES PA 19454
EAGLE FENCE COMPANY                      2073 BENNETT RD PHILADELPHIA PA 19116
EAGLE FIRE INC                           7459 WHITEPINE RD RICHMOND VA 23237
EAGLE FREIGHT LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EAGLE GLOBE & ANCHOR TRUCKING CO LLC     1322 41ST ST PARKERSBURG WV 26104-1125
EAGLE HAULERS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EAGLE LEASES INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EAGLE LIMO LLC                           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EAGLE LINE EXPRESS LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EAGLE LINES INC                          EAGLE LINES INC, 10842 W 133RD ST ORLAND PARK IL 60467
EAGLE LOGISTICS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
EAGLE LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EAGLE LOGISTICS LLC (CENTER VALLEY PA)   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EAGLE MARK 4 EQUIPMENT CO                PO BOX 946 MANSFIELD OH 44901
EAGLE MARK 4 EQUIPMENT CO.               330 ASHLAND ROAD MANSFIELD OH 44905
EAGLE MARK 4 EQUIPMENT CO.               P.O. BOX 946 MANSFIELD OH 44905
EAGLE METALS INC                         ATTN: REGGIE DAVIS 1243 OLD BERNVILLE RD LEESPORT PA 19533
EAGLE PAPER                              1031 LEXINGTON RD LOUISVILLE KY 40204
EAGLE PAPER INCORPORATED                 ATTN: EAGLEPAPERINC 1031 LEXINGTON RD LOUISVILLE KY 40204
EAGLE PASS INDEPENDENT SCHOOL DISTRICT   PO BOX 1530 EAGLE PASS TX 78853
EAGLE PASS ISD                           C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 112 E PECAN ST, STE 2200 SAN ANTONIO
                                         TX 78205
EAGLE PASS WATER WORKS SYSTEM            2107 N VETERANS BLVD EAGLE PASS TX 78852
EAGLE PASS WELDING & CONSTRUCTION        2946 E MAIN ST EAGLE PASS TX 78852
EAGLE PNEUMATIC                          ATTN: BIANCA MING 3902 INDUSTRY BLVD LAKELAND FL 33811
EAGLE POINT TRANSPORTATION LLC           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EAGLE ROADLINE                           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EAGLE TOP TRUCKING INC                   14902 PRESTON RD, SUITE 404405 DALLAS TX 75254
EAGLE TOWNSHIP FIREDEPARTMENT            7720 W GRAND RIVER AVE GRAND LEDGE 48837
EAGLE TRANS LLC                          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099



Epiq Corporate Restructuring, LLC                                                                     Page 566 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 575 of 2156

Claim Name                            Address Information
EAGLE TRANS SERVICES LLC              OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
EAGLE TRANSIT INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EAGLE TRANSLINES LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EAGLE TRANSPORT (RIVERSIDE CA)        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EAGLE TRANSPORT AND LOGISTICS, LLC    3700 CORPORATE DR 120 COLUMBUS OH 43231
EAGLE TRANSPORT LLC                   OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
EAGLE TRANSPORT SERVICES, INC.        2430 MARION ROAD SE ROCHESTER MN 55904
EAGLE TRANSPORT, LLC                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
EAGLE TRANSPORTATION                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EAGLE TRANSPORTATION (KATY TX)        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
EAGLE TRANSPORTATION GROUP LLC        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EAGLE TRANSPORTATION LLC (MC851566)   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EAGLE TRANSPORTS LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
EAGLE TRUCK REPAIR LP                 11284 FM 1226 S HAWLEY TX 79525
EAGLE TRUCKING                        13198 S CATAWBA RIVER AVE NAMPA ID 83686
EAGLE TRUCKING SERVICES LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EAGLE TRUCKLINE LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EAGLE TURBO FREIGHT INC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EAGLE WASH                            5445 YUKON DR SUN VALLEY NV 89433
EAGLE WINGS EXPRESS INC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EAGLE WINGS TRANSPORT                 50 BRAUND ROAD HENDERSON TN 38340
EAGLE WINGS TRANSPORTATION            541 UNRUH AVENUE PHILADELPHIA PA 19111
EAGLE, BRIAN L                        ADDRESS ON FILE
EAGLE, JESSE                          ADDRESS ON FILE
EAGLE, RONALD                         ADDRESS ON FILE
EAGLE, THOMAS S                       ADDRESS ON FILE
EAGLE1987 TRUCKING INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EAGLEFORD ENTERPRISES LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EAGLES EYE TRANSPORTATION LLC         OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                      UT 84130
EAGLES IMPACT LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EAGLES NEST TRANSPORTATION LLC        6905 N CR 800 E GRANDVIEW IN 47615
EAGLES TRANSPORTATION LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EAGLES WINGS LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EAGLES, KEITH                         ADDRESS ON FILE
EAGLEWAY EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EAGLEYE TRANSPORT                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EAGON, KEVIN                          ADDRESS ON FILE
EAISE, NORMAN                         ADDRESS ON FILE
EAKEN, DOUGLAS                        ADDRESS ON FILE
EAKER, GARY                           ADDRESS ON FILE
EAKES, KEVIN P                        ADDRESS ON FILE
EAKIN PARTNERS, LLC                   1201 DEMONBREUN ST SUITE 1400 NASHVILLE TN 37203
EAKLE, JEREMY                         ADDRESS ON FILE
EALING EXPRESS LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EALMONTE TRUCKING CORP                PO BOX 210363 WOODHAVEN NY 11421
EALY TRUCKING LTD                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EALY, LOUIS                           ADDRESS ON FILE
EALY, TREYSHUN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 567 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 576 of 2156

Claim Name                           Address Information
EAM ENTERPRISE LLC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EAMES, RICHARD                       ADDRESS ON FILE
EAN HOLDINGS                         14002 E 21ST ST 1500 TULSA OK 74134
EAN HOLDINGS LLC                     600 CORPORATE PARK DR SAINT LOUIS MO 63105 4204
EAN SERVICES LLC                     PO BOX 402383 ATLANTA GA 30384
EAN SERVICES LLC                     PO BOX 402383 ATLANTA GA 30384-2383
EAN SERVICES LLC                     DAMAGE RECOVERY UNIT, PO BOX 843369 KANSAS CITY MO 64184
EAN, CHARLIE                         ADDRESS ON FILE
EANES, ERIC                          ADDRESS ON FILE
EAREHART, ROBERT                     ADDRESS ON FILE
EARHART, JENNIFER                    ADDRESS ON FILE
EARHART, RICHARD                     ADDRESS ON FILE
EARHART, WESLEY                      ADDRESS ON FILE
EARL B WILLIAMS                      ADDRESS ON FILE
EARL BEEBE TRUCKING LTD              PO BOX 429 BIG RIVER SK S0J 0E0 CANADA
EARL D HAYES                         ADDRESS ON FILE
EARL DUDLEY LLC                      5352 1ST AVE. N. BIRMINGHAM AL 35212
EARL GROSS - BU                      ADDRESS ON FILE
EARL JR, DONALD                      ADDRESS ON FILE
EARL L. BONSACK, INC.                940 PLAINVIEW ROAD LA CROSSE WI 54603
EARL SR, DONALD                      ADDRESS ON FILE
EARL WILSON                          ADDRESS ON FILE
EARL, BRIAN                          ADDRESS ON FILE
EARL, DOMANICK                       ADDRESS ON FILE
EARL, RICK                           ADDRESS ON FILE
EARL, RYAN                           ADDRESS ON FILE
EARL, THOMAS                         ADDRESS ON FILE
EARL, WILLIAM                        ADDRESS ON FILE
EARLBECK CORPORATION                 8204 PULASKI HIGHWAY BALTIMORE MD 21237
EARLE, FRANK                         ADDRESS ON FILE
EARLE, RACHEL                        ADDRESS ON FILE
EARLES TRANSFER INC                  BOX 125 TREHERNE MB R0G 2V0 CANADA
EARLEY, MICHAEL                      ADDRESS ON FILE
EARLEY, STEPHANIE                    ADDRESS ON FILE
EARLY BIRD EXPEDITORS LLC            6051 REYNOLDS RD MORROW GA 30294
EARLY BIRD EXPEDITORS LLC            OR RIVIERA FINANCE, PO BOX 945213 ATLANTA GA 30394-5213
EARLY BIRD SUPPLY INC                1508 15TH ST CLARKSTON WA 99403
EARLY BIRDZ LOGISTICS LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EARLY FREIGHT LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EARLY RISERS TRANSPORTATION LLC      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EARLY TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EARLY, JEFFERY                       ADDRESS ON FILE
EARLY, JEFFERY                       ADDRESS ON FILE
EARLY, MICHAEL                       ADDRESS ON FILE
EARLY, RONALD                        ADDRESS ON FILE
EARNEST PEACH TRANSPORTATION LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EARNEST PROPERTIES LLC               876 JESSIE JONES DR BENTON LA 71006
EARNEST, CARL                        ADDRESS ON FILE
EARNEST, ZACHARY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 568 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 577 of 2156

Claim Name                               Address Information
EARP, SHAWN                              ADDRESS ON FILE
EARTH LYFE LOGISTICS AND TRANSPORT LLC   OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EARTH MOVERS EXCAVATION INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EARTH ROAD INC                           277 NORTH ST AUBURN NY 13021
EARTH RUNNINGS TRANSPORT LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
EARTH2O                                  PO BOX 70 CULVER OR 97734
EARTHLING EXPRESS INC                    OR GEORGE KALHOURI, 5510 W ARDMORE AVE CHICAGO IL 60646
EARTHLY GOURMET                          ADDRESS ON FILE
EARTHSCAPE DESIGN                        2886 E RIVER ROAD NEWTON FALLS OH 44444
EARTHSCAPES LLC                          105 ALEXIS DR JEFFERSONVILLE IN 47130
EARTHWORKS & MACHINERY LLC               65 SOUTHERN MAGNOLIA DRIVE CORBIN KY 40701
EAS LOGISTICS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EASE EXPEDITED                           6100 AVERY ROAD DUBLIN OH 43016
EASLEY, JAYLAN                           ADDRESS ON FILE
EASLEY, JAYLAN                           ADDRESS ON FILE
EASLEY, JEFFREY                          ADDRESS ON FILE
EASLEY, JOHNNY                           ADDRESS ON FILE
EASON, ALAN                              ADDRESS ON FILE
EASON, ALAN W                            ADDRESS ON FILE
EASON, JAMELA                            ADDRESS ON FILE
EASON, LELAND                            ADDRESS ON FILE
EASON, TEVIN                             ADDRESS ON FILE
EASON-NUGENT, TYANA                      ADDRESS ON FILE
EASONS EXPRESS LLC                       OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
EAST - WEST GF LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
EAST 8 CARRIERS INC                      8090 CORNWALL CT UNIT 99 RANCHO CUCAMONGA CA 91739
EAST B&H TRANSPORT, LLC                  8116 CEDAR GARDEN CIRCLE LOUISVILLE KY 40291
EAST BAY TIRE                            2200 HUNTINGTON DR FAIRFIELD CA 94533
EAST BAY TIRE CO.                        2200 HUNTINGTON DR., UNIT C FAIRFIELD CA 94533
EAST COAST CARGO LLC                     51 KINGS HWY WEST SPRINGFIELD MA 01089
EAST COAST MOVING CORP                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
EAST COAST TOWING INC                    100 RUPERT ROAD RALEIGH NC 27603
EAST COAST TRAILER & EQUIPMENT CO.,      PO BOX 5171 CHARLOTTE NC 28299
INC.
EAST COAST TRANSPORTERS LLC              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
EAST COAST TRUCK & TRAILER REPAIR        2272 RITNER HIGHWAY SHIPPENSBURG PA 17257
EAST COAST WHEELS.CO LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EAST EAST LOGISTICS LLC                  OR SMART TRUCKER LLC, OK BOX 30516 LANSING MO 48909
EAST JR, MICHAEL                         ADDRESS ON FILE
EAST PENN MFG CO INC                     ATTN: AMANDA RIZZUTI AMANDA RIZZUTI 50 JEFFERSON ST PO BOX147 TOPTON PA 19562
EAST PENN MFG CO INC                     ATTN: AMANDA RIZZUTI AMANDA RIZZUTI 50 JEFFERSON ST TOPTON PA 19562
EAST RIVER TRANSPORTATION                OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
EAST TOWN SHELL                          555 STATE HWY 153 EAST MOSINEE WI 54455
EAST TRANSIT LLC                         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
EAST TRANSPORT LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EAST WAY TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EAST WENATCHEE WATER DISTRICT            692 EASTMONT AVE EAST WENATCHEE WA 98802
EAST WEST BANK                           135 NORTH LOS ROBLES AVE, 7TH FLOOR PASEDENA CA 91101
EAST WEST BANK                           9033 FLAIR DRIVE EL MONTE CA 91731



Epiq Corporate Restructuring, LLC                                                                     Page 569 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 578 of 2156

Claim Name                               Address Information
EAST WEST HAULING INC                    700 FIRST ST HARRISON NJ 07029
EAST WEST LOGISTICS INC                  13875 CERRITOS CORPORATE DR CERRITOS CA 90703
EAST WEST TEA CO                         PO BOX 45860 SAN FRANCISCO CA 94145
EAST, BILLY                              ADDRESS ON FILE
EAST, DAVID                              ADDRESS ON FILE
EAST, LAWRENCE                           ADDRESS ON FILE
EAST, RUSSELL                            ADDRESS ON FILE
EAST, TODD                               ADDRESS ON FILE
EAST-WEST TRANSPORTATION                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EAST-WEST TRANSPORTATION                 EAST-WEST TRANSPORTATION, 12591 LUCILLE AVE GARDEN GROVE CA 92841
EAST-WEST, INC.                          PO BOX 580 FLETCHER NC 28732
EASTEP, KEVIN                            ADDRESS ON FILE
EASTER, DWAYNE                           ADDRESS ON FILE
EASTER, ERIC                             ADDRESS ON FILE
EASTER, F                                ADDRESS ON FILE
EASTER, JOHNNY                           ADDRESS ON FILE
EASTER, SANDRA                           ADDRESS ON FILE
EASTER, TYLER                            ADDRESS ON FILE
EASTERLY, KYLE                           ADDRESS ON FILE
EASTERN CAROLINA DELIVERY SERVICE, INC. 1920 CORSICA RD WASHINGTON NC 27889
EASTERN CONSOLIDTION & DIST SERVICES     P O BOX 3158 SHIREMANSTOWN PA 17011
INC
EASTERN DOOR & DOCK                      9537 US HWY 264A FARMVILLE NC 27828
EASTERN EXPRESS INC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
EASTERN EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EASTERN EXPRESS INC (MC1235972)          5485 BETHELVIEW RD, SUITE 360 359 CUMMING GA 30040
EASTERN EXPRESS INC (MC1235972)          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
EASTERN EXPRESS, INC.                    EASTERN EXPRESS, INC., PO BOX 74124 CLEVELAND OH 44194-4124
EASTERN FREIGHT SYSTEMS LLC              27 ALDOVIN RD, SUITE 1 TUNKHANNOCK PA 18657
EASTERN HEATING &                        COOLING A:PATRICK, 880 BROADWAY ALBANY NY 12207
EASTERN HEATING AND COOLING INC.         246 INDUSTRIAL WAY WEST, SUITE Q EATONTOWN NJ 07724
EASTERN HEATING AND COOLING INC.         880 BROADWAY ALBANY NY 12207
EASTERN LIFT TRUCK CO., INC.             PO BOX 307 MAPLE SHADE NJ 08052
EASTERN LOUISIANA MENTAL HEALTH SYSTEM   4502 HWY 951 JACKSON 70748
EASTERN MOON TRANSPORT INC               4916 GLICKMAN AVE UNIT E TEMPLE CITY CA 91780
EASTERN ONE TRANSPORTATION LLC           215 ELMWOOD AVE UNION NJ 07083
EASTERN OVERHEAD DOOR                    12423 EASTERN AVE MIDDLE RIVER MD 21220
EASTERN PEST SERVICES                    2 INDUSTRIAL ROAD, SUITE 202 FAIRFIELD NJ 07004
EASTERN REGION JOINT AREA COMMITTEE      IBT NATIONAL FREIGHT DIVISION 25 LOUISIANA AVE N W WASHINGTON DC 20001
EASTERN STAR HAULERS INC                 56 MORRELL PL STE 1, XX GARFIELD NJ 07026
EASTERN STAR INC                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EASTERN STAR INC                         4047 E GROVELAND DR ONTARIO CA 91976
EASTERN WHOLESALE FENCE LLC              274 MIDDLE ISLAND RD MEDFORD NY 11763
EASTERN XPRESS INC                       78 FERN CASTLE DR ROCHESTER NY 14622-2351
EASTIN, KYLE                             ADDRESS ON FILE
EASTMAN FIRE PROTECTION COMPANY          1450 SOUTER TROY MI 48083
EASTMAN KODAK                            ADDRESS ON FILE
EASTMAN KODAK                            ADDRESS ON FILE
EASTMAN KODAK                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 570 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 579 of 2156

Claim Name                           Address Information
EASTMAN KODAK                        ADDRESS ON FILE
EASTMAN PRODUCTS                     PO BOX 17463 INDIANAPOLIS IN 46217
EASTMAN PRODUCTS                     PO BOX 39227 INDIANAPOLIS IN 46239
EASTMAN, ARLEE                       ADDRESS ON FILE
EASTMAN, GRANT                       ADDRESS ON FILE
EASTON AUTO BODY SHOP                1328 ELM ST EASTON PA 18042
EASTON FARM & TRUCKING LLC           11524 HOLLOWAY RD SPARTA IL 62286
EASTON FREIGHT CORPORATION           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EASTON STAR TRUCKING LLC             2720 CHESTNUT LANE EASTON PA 18040
EASTON TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EASTON TRANSPORT LLC (MC1081319)     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EASTOVER TRANSPORTATION, LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EASTRIDGE, RICK                      ADDRESS ON FILE
EASTSIDE HEAVY TRUCK                 2535 INKSTER BLVD WINNIPEG MB R3C 2E6 CANADA
EASTVALE CA RDC                      ATTN: REGIONAL DISTRIBUTION CENTER LENNOX INDUSTRIES INC 4000 HAMNER AVE MIRA
                                     LOMA CA 91752
EASTVALE CA RDC                      ATTN: SUZY EDWARDS LENNOX INDUCTRIES INC 4000 HAMNER AVE MIRA LOMA CA 91752
EASTVALE CA RDC                      ATTN: SUZY EDWARDS LENNOX INDUSTRIES INC 4000 HAMNER AVE MIRA LOMA CA 91752
EASTVALE CA RDC                      LENNOX INDUSTRIES INC 4000 HAMNER AVE MIRA LOMA CA 91752
EASTVALE CA RDC                      LENNOX INDUSTRIES INC 4000 HAMMER AVE MIRA LOMA CA 91752-1022
EASTVALE CA RDC                      LONNOX INDUSTRIES INC 4000 HAMNER AVE MIRA LOMA CA 91752-1022
EASTWAY TRANS INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EASTWAY TRANS INC                    45 E KING AVE FREMONT CA 94536-6594
EASTWAY, MICHAEL                     ADDRESS ON FILE
EASTWEST TRANSPORTATION INC          811 CLIFTON AVE, SUITE 4 CLIFTON NJ 07013
EASTWEST XPRESS LLC                  8325 OLD SONOMA PLACE BRISTOW VA 20136
EASTWOOD TOWING, INC.                3080 E MAIN ST WATERBURY CT 06705
EASTWOOD, CLINTON                    ADDRESS ON FILE
EASVALE CA RDC                       LENNOX IND 4000 HAMNER AVE MIRA LOMA CA 91752
EASY AVE EXPRESS LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
EASY CHOICE TRANSPORTATION LLC       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EASY EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EASY EXPRESS LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EASY EXPRESS, LLC                    OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
EASY FREIGHT INC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EASY FUEL, INC.                      1346 E TAYLOR ST SAN JOSE CA 95133
EASY ICE                             P.O.BOX 879 MARQUETTE MI 49855
EASY ICE                             PO BOX 650769 DALLAS TX 75265
EASY ICE/METROPLEX ICE MACHINES      PO BOX 650769 DALLAS TX 75265
EASY LEASE CARRIER                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EASY LIVING LOGISTICS INC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EASY MOVING LLC                      5478 GRACE AVE BETHLEHEM PA 18017
EASY PEEZY LOGISTICS LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EASY PICKUP LOGISTICS LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EASY TRANSPORT                       435 E BALTIMORE ST. HAGERSTOWN MD 21740
EASY TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EASY TRANSPORT LLC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EASY WAY TRANS INC                   OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
EASY WAY TRANSPORTATION LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                 Page 571 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 580 of 2156

Claim Name                           Address Information
EASYGO TRANSPORT                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EASYPRO POND PRODUCTS                4385 E 110TH ST GRANT MI 49327
EASYSHIP TRUCKING LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EASYWAY TRANSPORT INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EASYWAY TRUCKING LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EATHERTON, CHAD                      ADDRESS ON FILE
EATMON, BRANDON                      ADDRESS ON FILE
EATON CORP                           ATTN LOCKBOX 74085, PO BOX 74085 CLEVELAND OH 44194
EATON CORP                           LOCK BOX 74085, PO BOX 74085 CLEVELAND OH 44194
EATON CORP OVC                       THE COMMERCIAL TRAFFIC CO, 12487 PLAZA DR PARMA OH 44130
EATON CORPORATION                    29085 NETWORK PLACE CHICAGO IL 60673
EATON SALES & SERVICE LLC            PO BOX 16405 DENVER CO 80216
EATON SALES & SERVICE LLC            816 S GLADIOLA, SUITE B SALT LAKE CITY UT 84104
EATON SALES AND SERVICE              D/B/A: EATON SALES & SERVICE LLC PO BOX 16405 DENVER CO 80216
EATON SALES AND SERVICE              D/B/A: EATON SALES & SERVICE LLC 6717 ACADEMY PKWY. N.E ALBUQUERQUE NM 87109
EATON SALES AND SERVICE              D/B/A: EATON SALES & SERVICE LLC 816 S GLADIOLA, SUITE B SALT LAKE CITY UT
                                     84104
EATON, COREIN                        ADDRESS ON FILE
EATON, DAVID B                       ADDRESS ON FILE
EATON, DWAYNE                        ADDRESS ON FILE
EATON, ERNEST                        ADDRESS ON FILE
EATON, GREGORY                       ADDRESS ON FILE
EATON, GREGORY                       ADDRESS ON FILE
EATON, KEVIN                         ADDRESS ON FILE
EATON, PLUMMER O                     ADDRESS ON FILE
EATON, ROBERT                        ADDRESS ON FILE
EATON, WAYDE                         ADDRESS ON FILE
EAU CLAIRE TRUCK & TRAILER INC       7918 PARTRIDGE RD EAU CLAIRE WI 54703
EAV EXPRESS                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EAV WASTE CONSULTING LLC             N9468 DUSTY DR APPLETON WI 54915
EAVERS BROTHERS EXCAVATING INC       355 DRAFT AVE STUARTS DRAFT VA 24477
EAVERS BROTHERS EXCAVATING INC       PO BOX 186, 355 DRAFT AVENUE STUARTS DRAFT VA 24477
EAVES APARTMENT MAINT SHOP           7726 BURNET AVE VAN NUYS CA 91405
EAVES, BOBBY                         ADDRESS ON FILE
EB INFINITY INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EB LOGISTIC1 LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EB LOGISTICS LLC                     OR DORADO FINANCE 1790 LEE TREVINO DR, SUITE 600 EL PASO TX 79936
EB TRANSPORT INC                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
EB TRUCKING DAILY                    OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
EB&B TRUCKING LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EBANA TRUCKING LLC                   OR WEX FLEETONE, PO BOX 94565 CLEVELAND OH 44101
EBANKS, PATRICK                      ADDRESS ON FILE
EBANKS, VERNON                       ADDRESS ON FILE
EBATO, DARIN                         ADDRESS ON FILE
EBB, DAVON                           ADDRESS ON FILE
EBDDSF                               C/O CORCORAN ADMINISTRATORS 3313 VINCENT RD 216 PLEASANT HILL CA 94523
EBELING, MICHAEL                     ADDRESS ON FILE
EBENEZER HAULERS, LLC                256 WILDFLOWER LANE, 0 HILLSBOROUGH NJ 08844
EBENEZER LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                Page 572 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 581 of 2156

Claim Name                           Address Information
EBENEZER MY CARGO SERVICES LLC       OR TAFS, INC, PO BOX 872632 KANSAS CIY MO 64187
EBERLE, JASON                        ADDRESS ON FILE
EBERLY F PADDOCK                     ADDRESS ON FILE
EBERSOLE, DAVID                      ADDRESS ON FILE
EBERT, JARED                         ADDRESS ON FILE
EBERT, JOHN                          ADDRESS ON FILE
EBERT, MICHAEL E                     ADDRESS ON FILE
EBERT, RONALD                        ADDRESS ON FILE
EBERZ, GEORGE                        ADDRESS ON FILE
EBEY, SCOTT                          ADDRESS ON FILE
EBF ENTERPRISES INC                  EBF ENTERPRISES INC, PO BOX 433 LINCOLNTON NC 28093
EBG TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EBHERT, LUCAS                        ADDRESS ON FILE
EBIRIM, LIVINGSTO C                  ADDRESS ON FILE
EBLEN, JEFF                          ADDRESS ON FILE
EBLING, AMANDA                       ADDRESS ON FILE
EBN LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EBNER INDUSTRIAL LLC                 1102 LOCUST ST RAWLINS WY 82301
EBRA TRUCKING LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EBUBE TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EC CARRIERS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EC SERVICES INC                      1000 HURRICANE SHOALS RD BLDG B STE 400 LAWRENCEVILLE GA 30043
EC SERVICES, INC.                    3475 HOLCOMB BRIDGE ROAD NORCROSS GA 30092
EC TRANS INC                         801 S DUPONT AVE UNIT C2 ONTARIO CA 91761
EC TRUCKING (MC1121327)              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EC WASTE LLC                         PO BOX 71561 SAN JUAN PR 00936
ECCARE HEALTH CENTERS                PO BOX 153068 IRVING TX 75015
ECCLES, DOUGLAS                      ADDRESS ON FILE
ECCLES, RICHARD JR                   ADDRESS ON FILE
ECCO TRANS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ECCO TRANSPORT INC                   1120 ASPEN STREET HOFFMAN ESTATES IL 60169
ECCO TRANSPORT SERVICES LTD          14840 134 AVE NW EDMONTON AB T5L 4T4 CANADA
ECCO TRANSPORT SERVICES LTD          10231 184TH STREET EDMONTON AB T5S 2J4 CANADA
ECDC TRANSPORT INC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ECF TRANSPORT LLC                    OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
ECG FREIGHT LLC                      OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
ECHERD, CODY                         ADDRESS ON FILE
ECHERD, JEFFREY                      ADDRESS ON FILE
ECHEVARRIA, ISMAEL                   ADDRESS ON FILE
ECHEVARRIA, JUAN G                   ADDRESS ON FILE
ECHI, ISRAEL                         ADDRESS ON FILE
ECHO ELECTRIC                        704 W 23RD ST YANKTON SD 57078
ECHO EXPRESS INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ECHO GLOBAL                          ATTN: CLAIMS, 25572 NETWORK PLACE CHICAGO IL 60673
ECHO GLOBAL                          ECHO GLOBAL, 25572 NETWORK PLACE CHICAGO IL 60673
ECHO GLOBAL LOGISTICS                ATTN: ADIC HORTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ECHO GLOBAL LOGISTICS                ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ECHO GLOBAL LOGISTICS                ECHO GLOBAL LOGISTICS 600 W CHICAGO STE 725 CHICAGO IL 60654
ECHO GLOBAL LOGISTICS, INC.          600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                                Page 573 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 582 of 2156

Claim Name                              Address Information
ECHO INCORPORATED                      ECHO GLOBAL LOGISTICS 600 W CHICAGO STE 725 CHICAGO IL 60654
ECHO LOGISTICS INC (MC1353115)         1501 W RITNER ST PHILADELPHIA PA 19145-4410
ECHO TRUCKING INC                      9301 S 81ST CT HICKORY HILLS IL 60457
ECHO-58 TRUCKING COMPANY LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ECHOLS, DANIEL                         ADDRESS ON FILE
ECHOLS, JIMMIE                         ADDRESS ON FILE
ECHOLS, TERELL                         ADDRESS ON FILE
ECHOTRANS                              OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ECK, MIKE                              ADDRESS ON FILE
ECKART, SEAN                           ADDRESS ON FILE
ECKBERG, WILLIAM                       ADDRESS ON FILE
ECKELKAMP ENTERPRISES                  PO BOX WASHINGTON MO 63090
ECKERMAN, MICHAEL                      ADDRESS ON FILE
ECKERT, EARL                           ADDRESS ON FILE
ECKERT, MICHAEL                        ADDRESS ON FILE
ECKERT, ROBERT                         ADDRESS ON FILE
ECKHARDT, DINA                         ADDRESS ON FILE
ECKHART, LARRY                         ADDRESS ON FILE
ECKLOFF, JOHN                          ADDRESS ON FILE
ECKLUND LOGISTICS, INC.                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
ECKMAN, LORI                           ADDRESS ON FILE
ECKO TRANSPORT EXPRESS LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ECKROATE, DONALD                       ADDRESS ON FILE
ECKSTEIN, TIM                          ADDRESS ON FILE
ECLECTIC LOGISTICS LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ECLECTIC PRODUCTS                      ATTN: VENDOR ADMIN 600 RYDER DR PINEVILLE LA 71360
ECLIPSE IP LLC                         C/O: HARMAN LAW LLC 3414 PEACHTREE ROAD NE SUITE 1250 ATLANTA GA 30326
ECLIPSE IP LLC                         ATTN: GENERAL COUNSEL 115 NW 17TH ST DELRAY BEACH FL 33444
ECLIPSE LOGISTIC LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ECLIPSE LOGISTICS INC                  5821 NE 77TH CIR VANCOUVER WA 98661
ECLIPSE TRANSPORT LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ECN TRUCKING LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ECO DEVELOPMENT LLC                    123 E MAIN ST MASON OH 45040
ECO LIGHTING SERVICES & TECHNOLOGY, LLC 4161 W. 166TH STREET, SUITE A OAK FOREST IL 60452
ECO LINE EXPRESS LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ECO LOGISTICS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ECO TRANZ LLC                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ECO TRUCK LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ECO WASTE SERVICES INC                 PO BOX 580231 CHARLOTTE NC 28258
ECO WASTE SERVICES INC                 512 HOOD ROAD GREENVILLE SC 29611
ECO WASTE SERVICES INC                 PO BOX 51052 PIEDMONT SC 29673
ECOM LOGISTICS INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ECOMMERCE GLOBAL SOLUTIONS INC         OR VIRAHISI SOLUTIONS 11925 LUCKEY FALLS SAN ANTONIO TX 78252
ECONO FENCE INC                        5261 PEDLEY RD RIVERSIDE CA 92509
ECONOCO CORPORATION                    ATTN: ANDREA JONES 575 OAKRIDGE RD HAZLE TOWNSHIP PA 18202
ECONOMY COMMERCIAL LANDSCAPING         660 HOLT ROAD MINOOKA IL 60447
ECONOMY FENCE CENTER                   11709 CYRUS WAY MUKILTEO WA 98275
ECONOMY TOWING & REPAIR                PO BOX 1095 DRAIN OR 97435
ECONOMY TRANSPORT CORPORATION          P O BOX 24876 ROCHESTER NY 14624



Epiq Corporate Restructuring, LLC                                                                   Page 574 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 583 of 2156

Claim Name                           Address Information
ECORNERHUB LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ECOVA GLOBAL DISTRIBUTION            OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
ECOWATER C/O ECHO                    ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ECS - CHICAGO                        D/B/A: EMISSION & COOLING SOLUTIONS 1584 TWO PLACE MEMPHIS TN 38116
ECS - CHICAGO                        D/B/A: EMISSION & COOLING SOLUTIONS DBA EMISSION & COOLING SOLUTIONS 1584 TWO
                                     PLACE MEMPHIS TN 38116
ECS COMPOSITES/ BECKLIN HOLDIN       3560 ROGUE RIVER HWY GRANTS PASS OR 97527
ECUA TRUCKING INC                    711 RANDA DR STATESVILLE NC 28625
ECVC                                 ATTN: THOMAS HOWARD 2100 N GREENE ST GREENVILLE NC 27834
ED BRAUN                             ADDRESS ON FILE
ED BROADFOOT & SONS SAND & GRAVEL    PO BOX 1338 KEARNEY NE 68848
ED D SPOTTS                          ADDRESS ON FILE
ED GARROW AND SONS, INC.             982 MILITARY TURNPIKE PLATTSBURGH NY 12901
ED GEORGIE                           ADDRESS ON FILE
ED GONGORA                           ADDRESS ON FILE
ED HOLLO TRANSPORT LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ED LOGISTICS LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
ED MCABEE                            ADDRESS ON FILE
ED RUSSO CONSTRUCTION                1027 OAK AVE CROYDON PA 19021
ED SILLMAN                           ADDRESS ON FILE
ED-G TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EDA TRUCKING LLC                     OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
EDAMAR P TRANSPORT LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EDAN TRANSPORT LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EDASH TRANSPORT LLC                  OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
EDBERG, STEPHANIE                    ADDRESS ON FILE
EDBROTHERS LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EDC TRANSPORT LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EDCO PRODUCTS                        800 2ND ST NE HOPKINS MN 55343
EDDIE E YOUNG                        ADDRESS ON FILE
EDDIE L WILKINS                      ADDRESS ON FILE
EDDIE R AGUILAR                      ADDRESS ON FILE
EDDIE SAMANIEGO                      ADDRESS ON FILE
EDDIE TRANSPORT INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EDDIE TRANSPORT INC (MC025277)       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EDDINGS, JAWAUN                      ADDRESS ON FILE
EDDINGS, KEITH                       ADDRESS ON FILE
EDDINGS, RAY                         ADDRESS ON FILE
EDDINS, KEVIN                        ADDRESS ON FILE
EDDINS, MANAYJA                      ADDRESS ON FILE
EDDLEMAN, ROMAN                      ADDRESS ON FILE
EDDY, BRANDON                        ADDRESS ON FILE
EDDY, JACK                           ADDRESS ON FILE
EDDY, KORY                           ADDRESS ON FILE
EDDY, NICHOLAS                       ADDRESS ON FILE
EDDYS TRUCKING INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EDELE & MERTZ HARDWARE               1822 S BROADWAY SAINT LOUIS MO 63104
EDELEN, JOSHUA                       ADDRESS ON FILE
EDELEN, MARK                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 575 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 584 of 2156

Claim Name                           Address Information
EDELIN JR., LEROY                    ADDRESS ON FILE
EDELSTEIN DIVERSIFIED                9001 AVON 3100 MONTREAL QC H4X 2G8 CANADA
EDEN, KENNETH                        ADDRESS ON FILE
EDERMAN INC                          OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
EDGAR IVAN DURON LOPEZ               ADDRESS ON FILE
EDGAR MACIAS                         ADDRESS ON FILE
EDGARDO J VILLATORO GUEVARA          ADDRESS ON FILE
EDGE CARRIER                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EDGE FREIGHT INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EDGE, ETHAN                          ADDRESS ON FILE
EDGE, GARY                           ADDRESS ON FILE
EDGE, ZEKE                           ADDRESS ON FILE
EDGEBANDING SERVICES INC             2251 S 3270 W WEST VALLEY CITY UT 84119
EDGEHILL TRANSPORT LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EDGELL, CHARLES R                    ADDRESS ON FILE
EDGELL-JACKSON TRUCKING, LLC         370 GRAVEL BANK RD MARIETTA OH 45750
EDGEMAN, JEFF                        ADDRESS ON FILE
EDGEMON, DERRICK                     ADDRESS ON FILE
EDGERTON, DEDE                       ADDRESS ON FILE
EDGES ELECTRICAL GROUP LLC           PO BOX 26830 SAN JOSE CA 95159
EDGEWAY LOGISTICS LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EDGEWOOD GLOBAL OPERATIONS LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EDGIN, JAMES                         ADDRESS ON FILE
EDIE, MICHAEL D                      ADDRESS ON FILE
EDIFECS, INC.                        1756 114TH AVE SE BELLEVUE WA 98004
EDIJEN TRANSPORT INC.                5011 PEDLEY RD RIVERSIDE CA 92509
EDINBURGH LOGISTICS ASSETS LLC       5 BRYANT PARK 28TH FL NEW YORK NY 10018
EDINBURGH LOGISTICS ASSETS LLC       ATTN: ISABEL RIVERA 5 BRYANT PARK 28TH FLOOR NEW YORK NY 10018
EDINGER, VICKI                       ADDRESS ON FILE
EDINGTON, MARK                       ADDRESS ON FILE
EDINGTON, TAYLOR                     ADDRESS ON FILE
EDINGTONS WRECKER SVC INC            350 W MARGARET AVE 1-70 & 7S 41 TERRE HAUTE IN 47802
EDINGTONS WRECKER SVC INC            350 W. MARGARET AVE. TERRE HAUTE IN 47802
EDISON HEATING & COOLING             191 VINEYARD ROAD EDISON NJ 08817
EDISON TRANS INC                     OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
EDISON TRUCKING AND LOGISTICS LLC    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EDITHS TRUCKING                      OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
EDJ TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EDJ TRUCKING INC                     2226 WHITE EAGLE DRIVE PLAINFIELD IL 60586
EDLAUER, GERHARD                     ADDRESS ON FILE
EDLER, ANDREW                        ADDRESS ON FILE
EDM INC                              100 DOUGLAS WAY NATURAL BRIDGE STATION VA 24579
EDMAR MANUFACTURING INC              ATTN: MICHAEL BLODGETT 558 E 64TH ST HOLLAND MI 49423
EDMER SANITARY SUPPLY CO INC         519 E MEADOW AVE EAST MEADOW NY 11554
EDMISTON, JOHN                       ADDRESS ON FILE
EDMISTON, WILLIS                     ADDRESS ON FILE
EDMOND, DAVID                        ADDRESS ON FILE
EDMOND, KEVIN                        ADDRESS ON FILE
EDMONDS TOWING INC.                  349 FRAZIER MOUNTAIN PARK RD. LEBEC CA 92243



Epiq Corporate Restructuring, LLC                                                                Page 576 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 585 of 2156

Claim Name                             Address Information
EDMONDS TRUCKING                       385 WINWOOD FARMS LOOP MIDDLETON TN 38052-4557
EDMONDS, BRUCE                         ADDRESS ON FILE
EDMONDS, DANIEL                        ADDRESS ON FILE
EDMONDS, KEITH                         ADDRESS ON FILE
EDMONDSON, STANLEY                     ADDRESS ON FILE
EDMONSON, MATTHEW                      ADDRESS ON FILE
EDMONTON FLEET MAINTENANCE LTD         16740 121 AVENUE NW EDMONTON AB T5V 1P6 CANADA
EDMOR TRUCKING LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
EDMUNDS, PAMELA                        ADDRESS ON FILE
EDMUNDSON, PAUL                        ADDRESS ON FILE
EDO LINE EXPRESS                       3107 HOLLY POINT CLARKSVILLE TN 37043
EDOS TRUCKING, INC.                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EDOUARD & MOMPREMIER ELITE TRANSPORT   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
LLC
EDOUARD, NOUVAINTZ                     ADDRESS ON FILE
EDOX EXPEDITE LLC                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EDP LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EDPASS NY INC                          OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
EDPRO ENERGY GROUP INC                 5 CUDDY BLVD LONDON ON N5V 3Y3 CANADA
EDR TRANSPORT LLC                      OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
EDRIS TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EDS 24 HOUR SERVICE LLC                PO BOX 34 VAN BUREN OH 45889
EDS ENTERPRISE LIMITED LIABILITY       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
COMPANY
EDS MOBILE MAINTENANCE SERVICE INC     8341 W 133RD ST ORLAND PARK IL 60462
EDS MOWER & SAW SHOPPE                 17635 SE MCLOUGHLIN JOHNSON CITY OR 97267
EDS PEST & WILDLIFE CONTROL LLC        12047 MILLBROOK RD PHILADELPHIA PA 19154
EDS TRANSPORT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EDS TRUCKING                           OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
EDS TRUCKING & DISTRIBUTION SERVICES   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LLC
EDSAL SANDUSKY CORP                    16125 WIDMERE RD ARVIN CA 93203
EDSALL, ANDREW                         ADDRESS ON FILE
EDSON, GEOFFREY L                      ADDRESS ON FILE
EDSS SANITATION SOLUTION               6760 DAVAND DRIVE UNIT 3 MISSISSAUGA ON L5T 2L9 CANADA
EDSTROM, ANNAMARIE                     ADDRESS ON FILE
EDSTROM, SCOTT                         ADDRESS ON FILE
EDT FREIGHT LLC                        OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
EDTS OF THE OZARKS, LLC                2959 EAST CHESTNUT EXPRESSWAY SPRINGFIELD MO 65802
EDUARD S TRUCKING INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EDUARD S TRUCKING INC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EDUARD TRANSPORT INC                   9830 KEYSTONE AVE SKOKIE IL 60076
EDUARDO ACOSTA                         ADDRESS ON FILE
EDUARDO GRAJEDA                        ADDRESS ON FILE
EDUARDO GUDINO                         ADDRESS ON FILE
EDUARDO MARTINEZ AVILA                 ADDRESS ON FILE
EDUARDO PEREZ                          ADDRESS ON FILE
EDUARDO T HERNANDEZ                    ADDRESS ON FILE
EDUARDO V ALICEA                       ADDRESS ON FILE
EDUARDO, CARLOS                        ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                   Page 577 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 586 of 2156

Claim Name                           Address Information
EDULINK GROUP INC                    OR BUSBOT INC; DBA DENIM PO BOX 392797 PITTSBURGH PA 15251-9797
EDUMANICHUKWU, NWACHUKWU             ADDRESS ON FILE
EDVARDSEN, SCOTT                     ADDRESS ON FILE
EDVIN SMETENIKOV                     ADDRESS ON FILE
EDVIT LOGISTICS                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EDW BUSINESS SOLUTIONS LLC           OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
EDW TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EDWARD A HROMADA                     ADDRESS ON FILE
EDWARD BOST                          ADDRESS ON FILE
EDWARD C MINARD                      ADDRESS ON FILE
EDWARD C RICHARDSON                  ADDRESS ON FILE
EDWARD FALKNER                       ADDRESS ON FILE
EDWARD GONZALEZ SARAVIA              ADDRESS ON FILE
EDWARD H ACKFELD                     ADDRESS ON FILE
EDWARD H ACKFELD                     ADDRESS ON FILE
EDWARD H. WOLF & SONS, INC.          PO BOX 348 SINGER WI 53086
EDWARD HEATH                         ADDRESS ON FILE
EDWARD J LARIZZA                     ADDRESS ON FILE
EDWARD J TANNEY                      ADDRESS ON FILE
EDWARD J. WHITE, INC.                1011 S MICHIGAN ST SOUTH BEND IN 46601
EDWARD JONES (0057)                  ATT DEREK ADAMS OR PROXY DEPT CORPORATE ACTS & DISTRIBUTION 12555 MANCHESTER
                                     RD ST. LOUIS MO 63131
EDWARD JONES/CDS (5012)              ATT NICK HUMMELL OR PROXY MGR 1255 MANCHESTER RD ST. LOUIS MO 63131
EDWARD JOSEPH MARLOWE                ADDRESS ON FILE
EDWARD KELLY                         ADDRESS ON FILE
EDWARD L LAWRENCE                    ADDRESS ON FILE
EDWARD L THOMPSON                    ADDRESS ON FILE
EDWARD M ESTACIO                     ADDRESS ON FILE
EDWARD M MORENO                      ADDRESS ON FILE
EDWARD MARTINEL                      ADDRESS ON FILE
EDWARD MINARD                        ADDRESS ON FILE
EDWARD O. TRANSPORT LLC              7601 PETAL PLACE FAIRBURN GA 30213
EDWARD P MAHLER                      ADDRESS ON FILE
EDWARD REILLY                        ADDRESS ON FILE
EDWARD SMITH                         ADDRESS ON FILE
EDWARD SZYBKO                        ADDRESS ON FILE
EDWARD TANIS                         ADDRESS ON FILE
EDWARD, HARDY                        ADDRESS ON FILE
EDWARDS, ANTHONY                     ADDRESS ON FILE
EDWARDS, ARIEL                       ADDRESS ON FILE
EDWARDS, BENNIE                      ADDRESS ON FILE
EDWARDS, BILLY                       ADDRESS ON FILE
EDWARDS, BRENDON                     ADDRESS ON FILE
EDWARDS, BRIAN                       ADDRESS ON FILE
EDWARDS, BYRON                       ADDRESS ON FILE
EDWARDS, CHRISTIAN                   ADDRESS ON FILE
EDWARDS, CHRISTOPHER                 ADDRESS ON FILE
EDWARDS, CHRISTOPHER F               ADDRESS ON FILE
EDWARDS, CODY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 578 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 587 of 2156

Claim Name                        Address Information
EDWARDS, DAANTHONY                ADDRESS ON FILE
EDWARDS, DAVID                    ADDRESS ON FILE
EDWARDS, DEBRA                    ADDRESS ON FILE
EDWARDS, DEBRA                    ADDRESS ON FILE
EDWARDS, DERRICK                  ADDRESS ON FILE
EDWARDS, DESHAWN                  ADDRESS ON FILE
EDWARDS, DOUGLAS                  ADDRESS ON FILE
EDWARDS, EDWIN                    ADDRESS ON FILE
EDWARDS, GARRETT                  ADDRESS ON FILE
EDWARDS, GARY                     ADDRESS ON FILE
EDWARDS, GEORGE                   ADDRESS ON FILE
EDWARDS, GLYEN                    ADDRESS ON FILE
EDWARDS, GREGORY                  ADDRESS ON FILE
EDWARDS, GUY                      ADDRESS ON FILE
EDWARDS, HENRI                    ADDRESS ON FILE
EDWARDS, HERMAN                   ADDRESS ON FILE
EDWARDS, IAN                      ADDRESS ON FILE
EDWARDS, JAMES                    ADDRESS ON FILE
EDWARDS, JAY                      ADDRESS ON FILE
EDWARDS, JEFFREY                  ADDRESS ON FILE
EDWARDS, JERRY                    ADDRESS ON FILE
EDWARDS, JERRY                    ADDRESS ON FILE
EDWARDS, JOCELYN                  ADDRESS ON FILE
EDWARDS, JOHN                     ADDRESS ON FILE
EDWARDS, JOHN                     ADDRESS ON FILE
EDWARDS, JONATHAN                 ADDRESS ON FILE
EDWARDS, JOSHUA                   ADDRESS ON FILE
EDWARDS, JUAN                     ADDRESS ON FILE
EDWARDS, KOLBY                    ADDRESS ON FILE
EDWARDS, LAMATEL                  ADDRESS ON FILE
EDWARDS, LAMONT                   ADDRESS ON FILE
EDWARDS, LEVERN                   ADDRESS ON FILE
EDWARDS, MARCEL                   ADDRESS ON FILE
EDWARDS, MARSHALL                 ADDRESS ON FILE
EDWARDS, MARSHALL                 ADDRESS ON FILE
EDWARDS, MATTHEW                  ADDRESS ON FILE
EDWARDS, MICHAEL                  ADDRESS ON FILE
EDWARDS, MICHAEL                  ADDRESS ON FILE
EDWARDS, MICHAEL                  ADDRESS ON FILE
EDWARDS, MICHAEL                  ADDRESS ON FILE
EDWARDS, NORMAN                   ADDRESS ON FILE
EDWARDS, OLIVER                   ADDRESS ON FILE
EDWARDS, OZELLE                   ADDRESS ON FILE
EDWARDS, PAUL                     ADDRESS ON FILE
EDWARDS, PAUL J                   ADDRESS ON FILE
EDWARDS, ROLANDO                  ADDRESS ON FILE
EDWARDS, RONALD                   ADDRESS ON FILE
EDWARDS, ROY                      ADDRESS ON FILE
EDWARDS, SHAILYNN                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 579 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 588 of 2156

Claim Name                              Address Information
EDWARDS, THOMAS                         ADDRESS ON FILE
EDWARDS, TYLER                          ADDRESS ON FILE
EDWARDS, TYRONE                         ADDRESS ON FILE
EDWARDS, VINCENT                        ADDRESS ON FILE
EDWARDS, WAYNE                          ADDRESS ON FILE
EDWARDS, WHITNEY                        ADDRESS ON FILE
EDWARDSON, TYLER                        ADDRESS ON FILE
EDWARDSVILL PLUMBING & HEATING          D/B/A: EDWARDSVILLE PLUMBING & HEATING 2 SCHWARZ STREET PLAZA EDWARDSVILLE IL
                                        62025
EDWIN C PLATER                          ADDRESS ON FILE
EDWIN E VERDIN                          ADDRESS ON FILE
EDWIN L HEIM COMPANY                    1918 GREENWOOD ST HARRISBURG PA 17104
EDWIN OWITI TRANSPORT & LOGISTICS LLC   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
EDWIN PRITCHARD                         ADDRESS ON FILE
EDWIN S VEGA                            ADDRESS ON FILE
EDWIN WONG                              ADDRESS ON FILE
EDWINA M LEASAU                         ADDRESS ON FILE
EDX TRANSPORT LLC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
EDYSAN TRUCKING LLC                     OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084-8244
EE CONSTELLATION 001 LLC                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
EE SCHENCK CO                           ADDRESS ON FILE
EF RECOVERY                             PO BOX 590 GIG HARBOR WA 98335
EFAX CORPORATE                          C/O J2 CLOUD SERVICES, LLC, PO BOX 51873 LOS ANGELES CA 90051
EFF EXPRESS LLC                         OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
EFFES EXPRESS INC                       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
EFFICIENCY USA LLC                      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EFFICIENT TRANSPORT                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EFFICIENT TRANSPORT LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EFFICIENT TRUCKING INC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EFFICIENT TRUCKING LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
EFFINGHAM RADIO REPAIR                  1657 COMMERCE DR STE 1B SOUTH BEND IN 46628
EFG TRANSPORT LLC                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
EFG TRUCKING & TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EFIKAS LOGISTICS                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EFJSA LOGISTICS TRANSPORTATION LLC      OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
EFP TRUCKING LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EFR CORP.                               404 RT 31 RINGOES NJ 08551
EFR CORP.                               837 SOMERSET ST. SOMERSET NJ 08873
EFREM TRANSPORTATION LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EFREN TRANSPORT, LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
EFRON, RICHARD                          ADDRESS ON FILE
EFROS GROUP LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EFS                                     2952 BARONIAL ST APEX NC 27502
EFS INC                                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EFS LLC                                 PO BOX 630038 CINCINNATI OH 45263
EFS LOGISTICS LLC                       OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                        60674-0411
EFS LOGISTICS LLC                       OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
EFS TRANSPORT LLC                       OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316



Epiq Corporate Restructuring, LLC                                                                   Page 580 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 589 of 2156

Claim Name                           Address Information
EFSOL TRUCKING LLC                   4142 THUNDERBIRD TRL STONE MOUNTAIN GA 30083
EFTA TRUCKING LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EG EXPEDITE INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EG EXPRESS LLC (MC1202911)           3600 ELMERTON AVE HARRISBURG PA 17109-1243
EG LOGISTICS INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
EGAN INSPECTIONS                     ADDRESS ON FILE
EGAN, DESPINA                        ADDRESS ON FILE
EGAN, MICHAEL J                      ADDRESS ON FILE
EGAN, RICHARD                        ADDRESS ON FILE
EGAN, RON                            ADDRESS ON FILE
EGAN, SEAN                           ADDRESS ON FILE
EGAN, TIMOTHY                        ADDRESS ON FILE
EGAS, DARIO                          ADDRESS ON FILE
EGBE, TARIERE                        ADDRESS ON FILE
EGBEDEJU, KESIENA                    ADDRESS ON FILE
EGBERT, AARON L                      ADDRESS ON FILE
EGBERTSON, BRANDON                   ADDRESS ON FILE
EGBUNIWE, ONYECHI                    ADDRESS ON FILE
EGELHOFF, KENNETH                    ADDRESS ON FILE
EGER, ALYSSA                         ADDRESS ON FILE
EGESDAL, TOM                         ADDRESS ON FILE
EGGERS, RODNEY                       ADDRESS ON FILE
EGGERT FARMS TRUCKING                PO BOX 95 BERTHA MN 56437
EGGINS, CHARLES                      ADDRESS ON FILE
EGGLESON LIVESTOCK LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EGHO LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EGK TRANSPORTATION                   OR ASTERIA CORP, PO BOX 911 BURBANK CA 91503
EGL LOGISTICS INC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
EGLER, DONALD                        ADDRESS ON FILE
EGLI, ADAM                           ADDRESS ON FILE
EGLI, DANIELLE                       ADDRESS ON FILE
EGOLF, ANDREW                        ADDRESS ON FILE
EGOLF, TAYLOR                        ADDRESS ON FILE
EGS FINANCIAL CARE                   ATTN: ACCOUNTS RECEIVABLE PO BOX 741030 LOS ANGELES CA 90074
EGS FINANCIAL CARE                   DBA PAYNOW, PO BOX 741026 LOS ANGELES CA 90074
EGU, CHIMA P                         ADDRESS ON FILE
EGYUD, KEITH                         ADDRESS ON FILE
EGZIT CORPORATION                    OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EH TRUCKING LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EHICHIOYA, HENRY                     ADDRESS ON FILE
EHICHIOYA, HENRY                     ADDRESS ON FILE
EHLEN, JUSTIN                        ADDRESS ON FILE
EHLER, MATTHEW                       ADDRESS ON FILE
EHMKE, ERIC                          ADDRESS ON FILE
EHRESMANN, THOMAS                    ADDRESS ON FILE
EHRHARDT, WALTER                     ADDRESS ON FILE
EHRINGER, CRAIG                      ADDRESS ON FILE
EHRLER, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 581 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 590 of 2156

Claim Name                          Address Information
EHRMAN, PETE                        ADDRESS ON FILE
EHS TRUCKING ENTERPRISES, LLC       18111 TELEGRAPH RD BROWNSTOWN MI 48174
EHWAS EXPRESS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EHY SERVICE INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EIAAN TRUCKING INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EICH, DOUG                          ADDRESS ON FILE
EICHEL, TAYLOR                      ADDRESS ON FILE
EICHELBERGER, ALONZO                ADDRESS ON FILE
EICHER, BRYAN                       ADDRESS ON FILE
EICHER, KARI                        ADDRESS ON FILE
EICHSTADT, COREY                    ADDRESS ON FILE
EICKHOLT, JOHN E                    ADDRESS ON FILE
EIDENSHINK, JEFFREY                 ADDRESS ON FILE
EIERMAN, KEVIN                      ADDRESS ON FILE
EIGHTH AVENUE ENTERPRISE            10326 ALTA LOMA DR RANCHO CUCAMONGA CA 91737
EIGHTY EIGHT EXPRESS INC            554 COMSTOCK AVENUE ELMHURST IL 60126
EIGHTY LOGISTICS LLC                PO BOX 1352 CUDAHY CA 90201
EIGHTY9 ENTERPRISE LLC              OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
EIKER, JEFFREY                      ADDRESS ON FILE
EIKO GLOBAL LLC                     18000 W 105TH ST OLATHE KS 66061
EILAND, JERRONDA                    ADDRESS ON FILE
EILAND, TAISHEEN                    ADDRESS ON FILE
EILAND, WILLIE                      ADDRESS ON FILE
EILEEN C CARDENAS                   ADDRESS ON FILE
EILEN, DUANE                        ADDRESS ON FILE
EILER LLC                           520 COACHMAN DR JACKSONVILLE OR 97530
EILER, LLC                          ATTN: JERRY EILER 520 COACHMAN DRIVE JACKSONVILLE OR 97530
EILERT, NATHAN                      ADDRESS ON FILE
EILERT, SEAN                        ADDRESS ON FILE
EINKEN LOGISTICS LLC                333 GLADESDALE ST HAINES CITY FL 33844
EINKEN LOGISTICS LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EINSPAHR, RICHARD F                 ADDRESS ON FILE
EIO LOGISTICS LLC                   2735 DIANE BLVD ALLENTOWN PA 18109
EIS                                 1524 W. 14TH ST. SUITE 106 TEMPE AZ 85281
EIS ENTERPRISES LLC                 1118 WILCOX CT FREDERICK MD 21702
EIS INC                             INDUSTRIAL TRANSPORTATION CO PO BOX 1319 DOUGLASVILLE GA 30133
EIS INC                             INDUSTRIAL TRANSPORTATION CO 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
EISCH, KEVIN                        ADDRESS ON FILE
EISCHEID TRUCKING, L.L.C.           PO BOX 173 BAYARD IA 50029
EISCHENS MEDIATION SERVICES LLC     1321 BURLINGTON SUITE 202 KANSAS CITY MO 64116
EISCHENS MEDIATION SERVICES LLC     8013 PARK RIDGE DR PARKVILLE MO 64152
EISENBEIS, BRIAN                    ADDRESS ON FILE
EISENHART, SCOTT                    ADDRESS ON FILE
EISENHOWER, JOHN C                  ADDRESS ON FILE
EISNER, STANLEY                     ADDRESS ON FILE
EISSNER, SCOTT                      ADDRESS ON FILE
EITEL, JOSEPH                       ADDRESS ON FILE
EITELS AMRCAS TOWING TRNSP SVC      7111 STAHL RD ORIENT OH 43146
EITENMILLER, FREDERICK              ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 582 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 591 of 2156

Claim Name                              Address Information
EJ FREIGHT SERVICES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EJ GALLO                               600 YOSEMITE BLVD. MODESTO CA 95354
EJ TRANS SERVICES INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
EJ USA INC                             PO BOX 644873 PITTSBURGH PA 15264
EJAY LOGISTICS LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EJAZ LOGISTICS                         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
EJUICEDEPO                             ATTN: MARIANO CUESTA 7753 NW 53 ST DORAL FL 33166
EK LOGISTICS INC                       OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
EK NAAM SHIPPING CORP                  73 LAURELCREST STREET BRAMPTON ON L6S 5W3 CANADA
EK ONKAR TRANS INC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EK TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EKAM EXPRESS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EKAM LOGISTICS LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EKAM TRANSPORT LLC                     7 CAITLIN COURT JOHNSONCITY TN 37604
EKAM TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EKAMJIT TRANSPORT LLC                  OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD HOUSTON TX 77064
EKEA TRANS INC                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EKERSON, DAWN                          ADDRESS ON FILE
EKG ENTERPRISE LLC                     8815 LONG STREET LENEXA KS 66215
EKLE, DAVID                            ADDRESS ON FILE
EKNOOR TRUCKING COMPANY                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EKRON ELITE TRANSPORTATION LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EKSTROM, DAVID                         ADDRESS ON FILE
EKSTROM, RICHARD                       ADDRESS ON FILE
EL BANDIDO TRUCKING LLC                6953 SHOREVIEW DR GRAND PRAIRIE TX 75054
EL BILLY TRANSPORT CORP                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
EL CAIMAN TRUCKING                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EL CARLY TRUCKING LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
EL DOMI TRANSPORT LLC                  OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                       60674-0411
EL ELYON EXPRESS LOGISTICS LLC         OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
EL MONTE HEAD REPAIR                   11325 STEWART ST EL MONTE CA 91731
EL MUSTEE & SONS INC                   ATTN: SCOTT MAGNANI 5431 W 164TH ST BROOK PARK OH 44142
EL NEGRITO TRANSPORTATION LLC          OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EL PASO CLERK & RECORDER CHUCK BROERMAN 1675 W GARDEN OF THE GODS COLORADO SPRINGS CO 80918
EL PASO CLERK & RECORDER CHUCK BROERMAN PO BOX 2007, 8830 N UNION BLVD. COLORADO SPRINGS CO 80920
EL PASO COUNTY TREASURER               PO BOX 2018 COLORADO SPRINGS CO 80901
EL PASO DRYWALL & PAINT                9712 TRINIDAD DR EL PASO TX 79925
EL PASO ELECTRIC                       P.O. BOX 982 EL PASO TX 79960
EL PASO TAX ASSESSOR COLLECTOR         PO BOX 660271 DALLAS TX 75266
EL PASO WATER                          1154 HAWKINS EL PASO TX 79925
EL ROI TRANSPORTATION LLC              OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
EL SOLITO LOGISTICS LLC                OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
EL TORO TRANSPORTS LLC                 1935 BATSON AVE APT 85 ROWLAND HEIGHTS CA 91748-3443
EL TRONCO LLC                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ELAINE DOYLE                           ADDRESS ON FILE
ELAINE TRANSPORTATION LLC              OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
ELAM, THEODORE                         ADDRESS ON FILE
ELAMMAS, TALAL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 583 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 592 of 2156

Claim Name                             Address Information
ELAND LOGISTICS LLC                    OR IFM, 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
ELANPABAK TRANSPORTATION LLC           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ELANTE TRANSPORT LTD                   83 1-2448 CLEARBROOK ROAD ABBOTSFORD BC V2T 2X8 CANADA
ELARDO, CHRISTOPHER                    ADDRESS ON FILE
ELASAR TOOLS LLC                       30533 29TH STREET PAW PAW MI 49079
ELASH, JAMES                           ADDRESS ON FILE
ELBEL, RICHARD                         ADDRESS ON FILE
ELBERSON, ALLEN                        ADDRESS ON FILE
ELBERSON, ERIC                         ADDRESS ON FILE
ELBLE, PATRICK                         ADDRESS ON FILE
ELC EXPRESS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ELCARMO LLC                            OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
ELCF TRANSPORT LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ELCOCK, DEBORA                         ADDRESS ON FILE
ELD TRUCKING INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ELD, ROGER                             ADDRESS ON FILE
ELDELEME, EBRAHEEM                     ADDRESS ON FILE
ELDER LOGISTICS INC                    310 N MERIDIAN STE 200 PUYALLUP WA 98371
ELDER, DWAINE                          ADDRESS ON FILE
ELDER, DWIGHT                          ADDRESS ON FILE
ELDER, EARL                            ADDRESS ON FILE
ELDER, JOSEPH                          ADDRESS ON FILE
ELDER, KENNETH                         ADDRESS ON FILE
ELDER, KENNETH                         ADDRESS ON FILE
ELDER, RICHARD                         ADDRESS ON FILE
ELDER, RICHARD                         ADDRESS ON FILE
ELDER, SCOTT                           ADDRESS ON FILE
ELDER, TOY                             ADDRESS ON FILE
ELDERKIN, JEFFREY                      ADDRESS ON FILE
ELDHER TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ELDIN EXPRESS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ELDOR EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ELDORADO SOTO TRANSPORT                OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
ELDRED VAN AND STORAGE COMPANY, INC.   P. O. BOX 3068 TERRE HAUTE IN 47803
ELDRED, JOHN K                         ADDRESS ON FILE
ELDREDGE, DERRICK                      ADDRESS ON FILE
ELDREDGE, HARLAND                      ADDRESS ON FILE
ELDREDGE, VANCE                        ADDRESS ON FILE
ELDRIDGE, GEORGE                       ADDRESS ON FILE
ELDRIDGE, JAMES                        ADDRESS ON FILE
ELDRIDGE, LARRY                        ADDRESS ON FILE
ELDRIDGE, LISA                         ADDRESS ON FILE
ELDU TRUCKING LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ELE LOGISTICS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ELEANOR RIGBY LEATHER CO               C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE, STE 725 CHICAGO IL 60654
ELECTRIC COMPANY OF OMAHA              2132 SOUTH 156TH CIRCLE OMAHA NE 68130
ELECTRIC FIREPLACES DIRECT             217 N SEMINARY ST FLORENCE AL 35630
ELECTRIC MOTOR SERVICE CO INC          535 UTAH CIR IDAHO FALLS ID 83402
ELECTRIC SALES                         C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE, STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                                   Page 584 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 593 of 2156

Claim Name                            Address Information
ELECTRICAL CONTRACTOR INC             PO BOX 2301 SOUTH PORTLAND ME 04116
ELECTRICAL INSULATION SUPPLIES        C/O INDUSTRIAL TRANSPORTATION 6140 CHURCH ST DOUGLASVILLE GA 30135
ELECTRICAL WHOLESALE 17               2045 MULLAN RD STE 100 MISSOULA MT 59808
ELECTRICAL WHOLESALE SUPPLY           304 S HIGHWAY 24 HEYBURN ID 83336
ELECTRO DIESEL SERVICES INC           1005 WESTPORT CREST MISSISSAUGA ON L5T 1E8 CANADA
ELECTRO EXPRESS LLC                   5636 TELEGRAPH RD, PO BOX 510410 SAINT LOUIS MO 63151
ELECTRO-WATCHMAN INC.                 ONE W WATER ST STE 110 SAINT PAUL MN 55107
ELECTRONIC INDUSTRIES                 19 E. IRVING AVE. OSHKOSH WI 54901
ELECTRONICS SUPPLY CO INC             4100 MAIN ST KANSAS CITY MO 64111
ELEEN, TAYLOR                         ADDRESS ON FILE
ELEGANCE TRANSPORT SERVICES LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ELEGANT LOGISTICS INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ELEGANTEE TRANSPORT                   7376 REGENCY SQUARE CT HOUSTON TX 77036
ELEGANZA TILES INC                    3125 E CORONADO ST ANAHEIM CA 92806
ELEMENT                               940 RIDGEBROOK RD SPARKS MD 21152
ELEMENT ERGO                          ATTN: KAREN OWENS 3077 NE 170TH PL PORTLAND OR 97230
ELEMENT EXPRESS INC                   75 MIDVALE RD EDISON NJ 08817
ELEMENT EXPRESS INC                   OR QUICK FREIGHT FACTOR INC PO BOX 203802 DALLAS TX 75320
ELEMENT TELEVISION                    392 US HIGHWAY 321 BYPASS WINNSBORO SC 29180
ELEMENT TV                            392 US HIGHWAY 321 BYPASS WINNSBORO SC 29180
ELEN TRUCK LLC                        OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
ELENBAAS, JEFFREY                     ADDRESS ON FILE
ELENBAAS, MARK                        ADDRESS ON FILE
ELENI LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ELEPHANTS TRUCKING SERVICES           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ELESKY II, ROBERT                     ADDRESS ON FILE
ELEVARIO, FABIAN                      ADDRESS ON FILE
ELEVATE WINDOWS                       1850 WESTPARK DR 100 GRAND PRARIE TX 75050
ELEVATED FREIGHT SOLUTIONS            OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA QC L3V 6L4
                                      CANADA
ELEVATED GLOBAL LOGISTICS LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ELEVATION CARRIER INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ELEVATION TRANSPORT LTD               18165 58 AVE SURREY BC V3S1M2 CANADA
ELEVATION TRANSPORT, AND TOWING LLC   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ELEVATOR SAFETY SERVICES INC          10206 N TRACY AVENUE KANSAS CITY MO 64155
ELEVATOR SERVICE, INC                 823 OTTAWA AVENUE NW GRAND RAPIDS MI 49503
ELEVEN CARRIERS LLC                   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                      76116
ELEVEN ELEVEN TRANSPORT LLC           OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
ELEVEN ELEVEN TRANSPORTATION LLC      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ELEXICON ENERGY                       55 TAUNTON RD E AJAX ON L1T 3V3 CANADA
ELEY TRANSPORT LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ELEZ, MIHAJLO                         ADDRESS ON FILE
ELFRINK, CARL                         ADDRESS ON FILE
ELFRINK, VANDORA                      ADDRESS ON FILE
ELG DIRECT LLC                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ELGABORI, MAKKI                       ADDRESS ON FILE
ELGAR, DAVID A                        ADDRESS ON FILE
ELGIN, JEFF                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 585 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 594 of 2156

Claim Name                           Address Information
ELGRIM, DREW                         ADDRESS ON FILE
ELI EXPRESS LINES LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ELI M DAUGHERTY                      ADDRESS ON FILE
ELI TRANSPORT LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ELI&J LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ELIAB LLC                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ELIANA STAR TRUCKING LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ELIANA TRANSPORTATION LLC            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ELIAS TRANSPORT                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ELIAS, FERNANDO                      ADDRESS ON FILE
ELIAS, MICHAEL                       ADDRESS ON FILE
ELIAS, RAYMOND                       ADDRESS ON FILE
ELIASON, JOSHUA                      ADDRESS ON FILE
ELIDIAS TRUCKING LLC                 OR ELIDIAS TRUCKING LLC, 781 RANCHO PENITAS ROAD LAREDO TX 78045
ELIE, ELLERY                         ADDRESS ON FILE
ELIGIO-GONZALEZ, EMELY               ADDRESS ON FILE
ELIJAH D CULBRETH                    ADDRESS ON FILE
ELIJAHS TRUCK LINES LLC              OR AMERICAS FACTORS INC 10430-28 PIONEER BLVD SANTA FE SPRINGS CA 90670
ELIO EXPRESS INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
ELISARARRAS, JOSE                    ADDRESS ON FILE
ELISHA A GRAYSON                     ADDRESS ON FILE
ELISHA, GABRIEL                      ADDRESS ON FILE
ELIT TRUCKING LLC                    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
ELITA TRUCKING LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ELITE ANYWHERE                       18181 BUTTERFIELD BLVD STE 135 MORGAN HILLS CA 95037
ELITE BRANDS CONTRACTORS LLC         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ELITE BUILDING SOLUTIONS             446 N, 40TH ST. SPRINGDALE AR 72762
ELITE CARGO TRANSPORTATION INC       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ELITE CARRIER INC                    OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ELITE CARRIER INC (INDIANPOLIS IN)   OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
ELITE CARRIER LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ELITE CARRIERS LLC                   OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
ELITE CARRIERS, LLC                  N1545 COUNTY ROAD W MERRILL WI 54452
ELITE CHOICE TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ELITE COMPRESSED AIR SYSTEMS         140 TURNERS GROVE LANE MCDONOUGH GA 30252
ELITE COURIER INC                    2106 I YTURRALDE DRIVE CALEXICO CA 92231
ELITE CRETE SYSTEMS                  1151 TRANSPORT DR VALPARAISO IN 46383
ELITE DIESEL TRUCK REPAIR LLC        PO BOX 158 LANSING WV 25862
ELITE DRAIN AND SEWER CLEANING       1104 LINCOLN AVENUE NE WATERTOWN SD 57201
ELITE EXERCISE EQUIPMENT             506 BROADWAY STREET GRAIN VALLEY MO 64029
ELITE EXPRESS INC                    570 ROCK ROAD DRIVE UNIT M EAST DUNDEE IL 60118
ELITE EXPRESS LINES LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ELITE EXPRESS LLC (RICHARDSON TX)    811 S CENTRAL EXPY STE 300 A RICHARDSON TX 75080-7424
ELITE FL LLC                         OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
ELITE FLEET LOGISTICS INC            OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA AB L3V 6L4
                                     CANADA
ELITE FLEET REPAIR                   8029 W 174TH AVE LOWELL IN 46356
ELITE FORCE TRANSPORT LLC            OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                                 Page 586 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 595 of 2156

Claim Name                              Address Information
ELITE FREIGHT CARRIERS                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ELITE FREIGHT LLC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ELITE GLOBAL TRANSPORT LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ELITE HOTSHOT TRANSPORT LLC             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ELITE LANDSCAPE                         PO BOX 6176 WILMINGTON DE 19804
ELITE LOADS LLC                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ELITE PLUMBING & HYDRO JETTING INC      12107 HADLEY ST WHITTIER CA 90601
ELITE PRO TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ELITE PROPERTY DETAILING                4732 SYCAMORE RD NEWPORT MI 48166
ELITE SD LLC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ELITE SERVICE                           2001 OLD GREENBRIER RD., SUITE F CHESAPEAKE VA 23320
ELITE SUPPLY COMPANY                    3401 N FEDERAL HWY 203 BOCA RATON FL 33431
ELITE TEAM TRANSPORTATION LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ELITE TOWING                            2168 S LIVE OAK DR MONCKS CORNER SC 29461
ELITE TOWING AND RECOVERY, LLC.         1312 S. 18TH STREET YAKIMA WA 98901
ELITE TRANS INC                         821 HARVEST MILL DR MANTECA CA 95336
ELITE TRANS INC (MC1152024)             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ELITE TRANSCARGO INC                    4289 HYDRA CIRCLE, 0 ROSEVILLE CA 95747
ELITE TRANSFER LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ELITE TRANSIT LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ELITE TRANSPORT AND LOGISTICS INC       2730 W 62ND PL APT 204 HIALEAH FL 33016
ELITE TRANSPORT ENTERPRISE LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ELITE TRANSPORT LLC                     938 WENDY RD WATERLOO IA 50701-5230
ELITE TRANSPORTATION INC                211 VALLEY ST PORTLAND ME 04102
ELITE TRANSPORTATION LLC                2211 S EDWARDS WICHITA KS 67213
ELITE TRANSPORTATION OF CAROLINAS LLC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ELITE TRANSPORTATION SYSTEMS INC        9113 DAVENPORT ST NE BLAINE MN 55449
ELITE TRUCK EXPRESS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ELITE TRUCK FREIGHT LLC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ELITE TRUCKING                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ELITE TRUCKING & LOGISTICS LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ELITE TRUCKING ASSOCIATION              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ELITE TRUCKING INC                      3289 ARMSLEY DR CHINO HILLS CA 91709
ELITE XPRESSIONS                        ATTN: KIM WILSON 2361 PEARSE DR CORPUS CHRISTI TX 78415
ELIZABETH CUMBER                        ADDRESS ON FILE
ELIZABETH L MYERS                       ADDRESS ON FILE
ELIZABETH ROGERS                        ADDRESS ON FILE
ELIZABETH RUSH LLC                      OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
ELIZABETH SALAS                         ADDRESS ON FILE
ELIZABETH VANDEWATER                    ADDRESS ON FILE
ELIZABETHTOWN BOARDOF EDUCATION         219 HELM ST ELIZABETHTOWN KY 42701
ELIZARRARAZ, BENITO                     ADDRESS ON FILE
ELIZARRARAZ, OSCAR                      ADDRESS ON FILE
ELIZONDO, ANGEL                         ADDRESS ON FILE
ELIZONDO, JESUS                         ADDRESS ON FILE
ELIZONDO, KEVIN                         ADDRESS ON FILE
ELJ ENTERPRISES INC                     505 E LINCOLN ST SAYBROOK IL 61770
ELJIM INC                               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ELK BROTHERS TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                   Page 587 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 596 of 2156

Claim Name                           Address Information
ELK EXPRESS INC                      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
ELK PRODUCTS INC                     ATTN: BAO XIONG 3266 US HIGHWAY 70 CONNELLYS SPRINGS NC 28612
ELK RIDGE EXPRESS, LLC               OR LOVES FINANCIAL, P O BOX 96-0479 OKLAHOMA CITY OK 73196
ELK TRUCKING, INC.                   23 MIDDLEBROOK AVENUE STAUNTON VA 24401
ELKAH TRANSPORTATION INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ELKI CORPORATION                     ATTN: ELIZABETH LIE 6101 23RD DR W EVERETT WA 98203
ELKIN, DAVE                          ADDRESS ON FILE
ELKIN-CONDON, JONATHAN               ADDRESS ON FILE
ELKINS, DEREK                        ADDRESS ON FILE
ELKINS, ROBERT                       ADDRESS ON FILE
ELKO COUNTY CLERK                    550 COURT ST ELKO NV 89801
ELKO COUNTY TREASURER                571 IDAHO ST, STE 101 ELKO NV 89801
ELKO OVERHEAD DOOR CO.               1076 RIVER STREET ELKO NV 89801
ELKO TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ELKO, JAMES                          ADDRESS ON FILE
ELKTUR TRANSPORT LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ELLEDGE, MICHAEL                     ADDRESS ON FILE
ELLEDGE, MICHAEL                     ADDRESS ON FILE
ELLEDGE, PAULA                       ADDRESS ON FILE
ELLEN KHAU                           ADDRESS ON FILE
ELLENBERG, DONALD                    ADDRESS ON FILE
ELLENDALE ELECTRIC CO INC            7722 HWY 70 BARTLETT TN 38133
ELLER EXPRESS                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ELLER, KEVIN                         ADDRESS ON FILE
ELLER, STEFANIE                      ADDRESS ON FILE
ELLERMAN, MICHELLE                   ADDRESS ON FILE
ELLET RADIATOR SERVICE INC.          2802 ALBRECHT AVE. AKRON OH 44312
ELLETT, JAMES                        ADDRESS ON FILE
ELLIFF, ELAINA                       ADDRESS ON FILE
ELLINGTON LOGISTICS LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ELLINGTON LOGISTICS LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
ELLINGTON, BRANDON                   ADDRESS ON FILE
ELLINGTON, MICHAEL                   ADDRESS ON FILE
ELLIOT M GRONDIN                     ADDRESS ON FILE
ELLIOTT DIXON                        ADDRESS ON FILE
ELLIOTT ELECTRIC SUPPLY              3130 S DODGE BLVD TUCSON AZ 85713
ELLIOTT ELECTRIC SUPPLY 174          10070 E 40TH AVE DENVER CO 80238
ELLIOTT KENDAL DIXON                 ADDRESS ON FILE
ELLIOTT REGIONAL TRANSPORT LLC       1317 N MAIN STREET STE M 267 SUMMERVILLE SC 29483
ELLIOTT, ADAM                        ADDRESS ON FILE
ELLIOTT, ASHLEY                      ADDRESS ON FILE
ELLIOTT, BRIAN                       ADDRESS ON FILE
ELLIOTT, CHARLES                     ADDRESS ON FILE
ELLIOTT, CHRISTOPHER                 ADDRESS ON FILE
ELLIOTT, CLINT                       ADDRESS ON FILE
ELLIOTT, COREY                       ADDRESS ON FILE
ELLIOTT, DALE                        ADDRESS ON FILE
ELLIOTT, DARNELL                     ADDRESS ON FILE
ELLIOTT, DENNIS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 588 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 597 of 2156

Claim Name                          Address Information
ELLIOTT, EDDIE J                    ADDRESS ON FILE
ELLIOTT, EDWARD                     ADDRESS ON FILE
ELLIOTT, JASON                      ADDRESS ON FILE
ELLIOTT, JEREMINE                   ADDRESS ON FILE
ELLIOTT, JERRY                      ADDRESS ON FILE
ELLIOTT, KEVIN                      ADDRESS ON FILE
ELLIOTT, LEE                        ADDRESS ON FILE
ELLIOTT, LEROY A                    ADDRESS ON FILE
ELLIOTT, MARIO                      ADDRESS ON FILE
ELLIOTT, MARTIN                     ADDRESS ON FILE
ELLIOTT, MIRANDA                    ADDRESS ON FILE
ELLIOTT, OSCAR                      ADDRESS ON FILE
ELLIOTT, ROBERT                     ADDRESS ON FILE
ELLIOTT, ROBERT                     ADDRESS ON FILE
ELLIOTT, SAMANTHA                   ADDRESS ON FILE
ELLIOTT, TALETHA                    ADDRESS ON FILE
ELLIOTT, TERRY                      ADDRESS ON FILE
ELLIOTT, ZANDY                      ADDRESS ON FILE
ELLIOTTS EXPRESS TRUCKING LLC       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ELLIS ONE TRANSPORTATION INC        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
ELLIS TIRE CO INC                   611 RORARY DR RICHARDSON TX 75081
ELLIS TRANSPORT                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
ELLIS TRANSPORTATION                740 HICKORY INDUSTRIAL DRIVE OLD HICKORY TN 37138
ELLIS TRUCKING & BROKERAGE LLC      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ELLIS, ALEXANDER                    ADDRESS ON FILE
ELLIS, ANTAEVEON                    ADDRESS ON FILE
ELLIS, CELESTE                      ADDRESS ON FILE
ELLIS, CHARLES                      ADDRESS ON FILE
ELLIS, CHARLES                      ADDRESS ON FILE
ELLIS, CHRISTIAN                    ADDRESS ON FILE
ELLIS, DANIEL                       ADDRESS ON FILE
ELLIS, DANIEL A                     ADDRESS ON FILE
ELLIS, DAVID                        ADDRESS ON FILE
ELLIS, DEMETRIUS                    ADDRESS ON FILE
ELLIS, DENNIS                       ADDRESS ON FILE
ELLIS, DERIOUS                      ADDRESS ON FILE
ELLIS, ERIC                         ADDRESS ON FILE
ELLIS, GARY                         ADDRESS ON FILE
ELLIS, HUNTER                       ADDRESS ON FILE
ELLIS, JACOB                        ADDRESS ON FILE
ELLIS, JAMES                        ADDRESS ON FILE
ELLIS, JASON E                      ADDRESS ON FILE
ELLIS, JOHNIE                       ADDRESS ON FILE
ELLIS, KEVIN                        ADDRESS ON FILE
ELLIS, KYLE                         ADDRESS ON FILE
ELLIS, LEON                         ADDRESS ON FILE
ELLIS, LISA                         ADDRESS ON FILE
ELLIS, MARKIUS                      ADDRESS ON FILE
ELLIS, MATT                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 589 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 598 of 2156

Claim Name                           Address Information
ELLIS, MICHAEL                       ADDRESS ON FILE
ELLIS, MICHAEL                       ADDRESS ON FILE
ELLIS, MICHELLE                      ADDRESS ON FILE
ELLIS, ROB                           ADDRESS ON FILE
ELLIS, RONALD                        ADDRESS ON FILE
ELLIS, SALLY                         ADDRESS ON FILE
ELLIS, TERRY                         ADDRESS ON FILE
ELLIS, TREVORUS D                    ADDRESS ON FILE
ELLIS, WESLEY A                      ADDRESS ON FILE
ELLIS, WILLIAM                       ADDRESS ON FILE
ELLIS, WILLIAM                       ADDRESS ON FILE
ELLISON EXPRESS TRUCKING LLC         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ELLISON, CHASSITY                    ADDRESS ON FILE
ELLISON, CLIFFORD                    ADDRESS ON FILE
ELLISON, DASHANE                     ADDRESS ON FILE
ELLISON, DERRICK                     ADDRESS ON FILE
ELLISON, GAMAL                       ADDRESS ON FILE
ELLISON, GARY                        ADDRESS ON FILE
ELLISON, JOSHUA                      ADDRESS ON FILE
ELLISON, MICKIE                      ADDRESS ON FILE
ELLISON, RANDY                       ADDRESS ON FILE
ELLISTON, RON                        ADDRESS ON FILE
ELLMAUER, CARL                       ADDRESS ON FILE
ELLRICH, JEFFREY                     ADDRESS ON FILE
ELLSPERMAN, KEVIN                    ADDRESS ON FILE
ELLSWORTH TRUCKING LLC               OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
ELLSWORTH, KERRY                     ADDRESS ON FILE
ELLUL, RICK                          ADDRESS ON FILE
ELLZEY TRANSPORTATION                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ELM TRANSPORTATION INC               115 GREENRALE AVE WAYNE NJ 07470
ELM TRUCKING LLC (MC1229653)         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ELMAN L.L.C                          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ELMAN TRANSPORT LLC                  OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
ELMENDORF RYAN                       ADDRESS ON FILE
ELMER & SON LOCKSMITHS               3001 CHICAGO ROAD STEGER IL 60475
ELMERS PAINT & BODY INC              363 N IVEY LN ORLANDO FL 32811
ELMI FLEET LLC                       OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
ELMI LLC                             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ELMI LOGISTICS LLC                   912 22ND AVE S 204 MINNEAPOLIS MN 55404
ELMI, ABDIJABAR                      ADDRESS ON FILE
ELMI, ABDIMAJID                      ADDRESS ON FILE
ELMIRA TERMINAL & WAREHOUSE CORP     PO BOX 2091 ELMIRA NY 14903
ELMIRA TERMINAL & WAREHOUSE CORP.    ATTN: TOM PETRICK PO BOX 2091 ELMIRA NY 14903
ELMJ TRANSPORT LLC                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
ELMO USA CORP.                       ATTN: MICHAEL HERLING 114 SOUTHFIELD PKWY STE 180 FOREST PARK GA 30297
ELMORE TRANSPORTATION                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ELMORE, CORY                         ADDRESS ON FILE
ELMORE, DAVID                        ADDRESS ON FILE
ELMORE, GARY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 590 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 599 of 2156

Claim Name                           Address Information
ELMORE, JON                          ADDRESS ON FILE
ELMQUIST, MICHAEL                    ADDRESS ON FILE
ELOBT, LEE                           ADDRESS ON FILE
ELOCIN LOGISTIC INC                  OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
ELOIRA TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ELOSA LOGISTICS CORP                 OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3387 DALLAS TX 75312-3381
ELP TRANSPORT INC                    OR DORADO FINANCE 1790 LEE TREVINO DR, SUITE 600 EL PASO TX 79936
ELP TRUCKING INC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ELR TRANSPORTATION LLC               OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
ELR TRANSPORTATION LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ELROD, BOBBY                         ADDRESS ON FILE
ELROD, EUGENE                        ADDRESS ON FILE
ELROD, KOSANA                        ADDRESS ON FILE
ELS TRANSPORT, LLC                   13 POPLAR DRIVE NEWPORT ME 04953
ELS, LLC                             OR COMMERCIAL FUNDING INC, PO BOX 208670 DALLAS TX 75320-8670
ELS, LLC                             OR TAB BANK, P.O. BOX 150633 OGDEN UT 84415
ELSAMADY, AHMED                      ADDRESS ON FILE
ELSAMADY, AHMED                      ADDRESS ON FILE
ELSEMEIH, MASAJED                    ADDRESS ON FILE
ELSENFREIGHT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ELSENRAAT, CODY                      ADDRESS ON FILE
ELSENRAAT, RYAN                      ADDRESS ON FILE
ELSENRAAT, TAYLOR                    ADDRESS ON FILE
ELSER, GREG                          ADDRESS ON FILE
ELSON, LARRY                         ADDRESS ON FILE
ELSTON, JACKIE                       ADDRESS ON FILE
ELSTON, KENYA                        ADDRESS ON FILE
ELSTON, MATTHEW                      ADDRESS ON FILE
ELSTON, MICHAEL                      ADDRESS ON FILE
ELT TRANSPORTATION LLC               3974 NORTH COUNTRY DRIVE ANTELOPE CA 95843
ELTO LOGISTICS                       OR CROSSROAD SERVICES LLC PO BOX 653076 DALLAS TX 75265-3076
ELTON GARRETT                        ADDRESS ON FILE
ELTROY D DENNIS                      ADDRESS ON FILE
ELUSH TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ELVA EXPRESS LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ELVE EXPRESS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ELVE EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ELVERT L BROWN                       ADDRESS ON FILE
ELVIS E GONZALEZ-RUIZ                ADDRESS ON FILE
ELVIS EXPRESS                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ELVIS TRUCK CENTER LLC               43 CUMMINGS DRIVE WALTON KY 41094
ELWELL, BERT                         ADDRESS ON FILE
ELWELL, RODNEY                       ADDRESS ON FILE
ELY                                  320 S MAIN AVE PASCO WA 99301
ELY SOLUTIONS LLC                    15183 LANCASHIRE DR WOODBRIDGE VA 22191
ELY TRUCKING INC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
ELYAMANY, ABMED                      ADDRESS ON FILE
ELYON TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
EM CARGO LLC                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                                Page 591 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 600 of 2156

Claim Name                           Address Information
EM CARRIERS INC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EM MOTOR CARRIER LLC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
EM TRANSFER SERVICES INC             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
EM TRANSPORT & LOGISTICS LLC         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
EM TRUCKING                          OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
EM WAY INC                           OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
EMA TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EMAL, WILLIAM                        ADDRESS ON FILE
EMANUEL EXPRESS INC                  2581 LURTING AVE BRONX NY 10469
EMB LIMITLESS LOGISTICS LLC          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
EMBA TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EMBASSY SUITES                       710 DEMONBREUN ST. NASHVILLE TN 37209
EMBREY, MATTHEW                      ADDRESS ON FILE
EMBRY, ANTHONY                       ADDRESS ON FILE
EMBRY, ETHAN A                       ADDRESS ON FILE
EMBRY, JULIE                         ADDRESS ON FILE
EMC CORPORATION                      4246 COLLECTION CENTER DR CHICAGO IL 60693
EMC INSURANCE COMPANIES              PO BOX 712 DES MOINES IA 50306
EMCO TRANSPORTATION LLC              OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
EMCOR SERVICES                       P.O. BOX 945617 ATLANTA GA 30394-5617
EMCOR SERVICES FAGAN                 3125 BRINKERHOFF ROAD KANSAS CITY KS 66115
EMCOR SERVICES SHAMBAUGH             P.O. BOX 1287 FORT WAYNE IN 46801
EMD EXPRESS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EMD MILLIPORE CORP                   28820 SINGLE OAK DRIVE TEMECULA CA 92590
EMD MILLIPORE CORPORATION            SUITE 2D TRANSAUDIT, INC WAPPINGERS FALLS NY 12590
EMD SERVICES INC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EMDM TRANSPORT INC                   OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
EME TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EMEGO, MESHACH                       ADDRESS ON FILE
EMENALO, EBERE                       ADDRESS ON FILE
EMERALD & 5TH LOGISTICS LTD CO       OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
EMERALD 66                           620 N. HARVEY SEMINOLE OK 74868
EMERALD ISLAND SUPPLY                1135 STATION RD. MEDFORD NY 11763
EMERALD LOGISTIC SOLUTIONS LLC       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EMERALD PACKAGING                    33050 WESTERN AVE UNION CITY CA 94587
EMERALD SERVICES, INC.               P.O. BOX 975201 DALLAS TX 75397
EMERGE TECH LLC                      PO BOX 14550 SCOTTSDALE AZ 85267
EMERGENCY FLEET SERVICE              PO BOX 99341 TROY MI 48099
EMERGENCY RESPONSE &                 TRAINING SOLUTIONS INC PO BOX 72333 CLEVELAND OH 44192
EMERGENCY TRUCK & TIRE REPAIR LLC    1177 WADHAMS RD SMITHS CREEK MI 48074
EMERGIN (VIA RT SPECIALTY)           C/O RSUI 945 EAST PACES FERRY ROAD NE SUITE 1800 ATLANTA GA 30326
EMERSO CORPORATION                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
EMERSON ELECTRIC CO                  8000 WEST FLORISSANT AVE PO BOX 4100, STATION 2328 SAINT LOUIS MO 63136
EMERSON ELECTRIC CO.                 8000 W FLORISSANT AVE SAINT LOUIS MO 63136
EMERSON HEALTHCARE                   ATTN: SARAH NEWSOME GEODIS PO BOX 2208 BRENTWOOD TN 37024
EMERSON, ADRIAN                      ADDRESS ON FILE
EMERSON, DAVID                       ADDRESS ON FILE
EMERSON, KIRKPATRICK A               ADDRESS ON FILE
EMERSON, LISA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 592 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 601 of 2156

Claim Name                             Address Information
EMERY, CAMERON                         ADDRESS ON FILE
EMERY, DAVE                            ADDRESS ON FILE
EMERY, DAVID                           ADDRESS ON FILE
EMERY, DENA                            ADDRESS ON FILE
EMERY, JOANN                           ADDRESS ON FILE
EMERY, STEVE                           ADDRESS ON FILE
EMERY, TAMERA                          ADDRESS ON FILE
EMESS EXPRESS INC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EMEX TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EMFLUENCE                              414 OAK ST STE 102 KANSAS CITY MO 64106
EMFLUENCE                              1720 WYANDOTTE ST KANSAS CITY MO 64108
EMG SERVICES PLUS INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EMG TRUCKING LLC                       220 W JERSEY ST APT 5N ELIZABETH NJ 07202
EMGFX VEHICLE FINANCING LLC            4135 S. 100TH EAST AVE. SUITE 200 TULSA OK 74146
EMH LOGISTICS                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EMH SERVICE INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EMI HIGHWAY INC                        OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
EMI INTERNATIONAL CCL                  ATTN: DON G PRESLEY PO BOX 12067 PENSACOLA FL 32591
EMI LOGISTICS INC.                     OR TRANS FG, PO BOX 743863 LOS ANGELES CA 90074-3863
EMIGRANT BUSINESS CREDIT CORPORATION   6 EAST 43RD STREET NEW YORK NY 10017
EMIGRANT BUSINESS CREDIT CORPORATION   7 WESTCHESTER PLAZA ELMSFORD NY 10523
EMIGRANT BUSINESS CREDIT CORPORATION   P.O. BOX 446 ELMSFORD NY 10523
EMILIO A VILLA                         ADDRESS ON FILE
EMILKO SMETENIKOV                      ADDRESS ON FILE
EMILY B WEIDMAN                        ADDRESS ON FILE
EMILY NICOLOPOULOS                     ADDRESS ON FILE
EMINENCE TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
EMINENT GLOBAL EXPRESS LOGISTIC LLC    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EMIR EXPRESS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EMIRATE EXPRESS LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EMIRATES TRANSPORTING LLC              OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
EMIRI TRANSPORT LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
EMISSION & COOLING SOLUTIONS           520 CENTRAL AVENUE NASHVILLE TN 37211
EMISSION & COOLING SOLUTIONS           1584 TWO PLACE MEMPHIS TN 38116
EMISSION & COOLING SOLUTIONS           DBA EMISSION & COOLING SOLUTIONS 1584 TWO PLACE MEMPHIS TN 38116
EMJAY TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EMJB INC                               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EMK MAX LLC                            OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
EMKAY INC TRUST                        805 W THORNDALE AVE ITASCA IL 60143
EMKOBET TRANSPORTATION LLC             OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EMM TRANSPORT LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EMMANUEL DELEON                        ADDRESS ON FILE
EMMANUEL E&A LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EMMANUEL FREIGHT INC                   PO BOX 5323 CALEXICO CA 92232
EMMANUEL JOSEPH                        ADDRESS ON FILE
EMMANUEL LOGISTICS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EMMANUEL ROJAS                         ADDRESS ON FILE
EMMANUEL TRUCK EXPRESS CORPORATION     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EMMANUEL, BRUTUS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 593 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 602 of 2156

Claim Name                            Address Information
EMMANYS TRUCKING LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
EMMAPRO LOGISTIX LLC                  921A N 22ND ST NEDERLAND TX 77627-5727
EMMENDORFER, RAYMOND                  ADDRESS ON FILE
EMMERICK, COLE                        ADDRESS ON FILE
EMMETTS ENERGY                        70945 VAN DYKE ROMEO MI 48065
EMMITT, MICHAEL                       ADDRESS ON FILE
EMMO TRUCKING                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EMMONS, DAVID                         ADDRESS ON FILE
EMMONS, JACK                          ADDRESS ON FILE
EMMONS, KEVIN                         ADDRESS ON FILE
EMMONS, MATTHEW                       ADDRESS ON FILE
EMMONS, ROBERT                        ADDRESS ON FILE
EMONA LLC                             2513 CARDINAL CREEK CT ST LOUIS MO 63129
EMORY, RONNIE                         ADDRESS ON FILE
EMPACO EQUIPMENT CORPORATION          2958 BRECKSVILLE RD, PO BOX 535 RICHFIELD OH 44286
EMPACO EQUIPMENT CORPORATION          PO BOX 535, 2958 BRECKSVILLE ROAD RICHFIELD OH 44286-0535
EMPEROR ALLIANCE LOGISTICS INC        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
EMPEROR SOLUTIONS                     OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
EMPEROR TRANSPORT                     OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
EMPIRE CARGO TRUCKING INC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EMPIRE COMMERCIAL SERVICES LLC        203 MAIN STREET METUCHEN NJ 08840
EMPIRE COMMERCIAL SERVICES, LP        543 CARY AVE STATEN ISLAND NY 10310
EMPIRE FREIGHT LOGISTICS              ATTN: JILL DONOFRIO 6567 KINNE RD DEWITT NY 13214
EMPIRE FREIGHT LOGISTICS              EMPIRE FREIGHT LOGISTICS, 6567 KINNE RD DEWITT NY 13214
EMPIRE FREIGHT SYSTEM INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
EMPIRE FREIGHT SYSTEMS INC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EMPIRE HAULING INC                    101-51 LEFFERTS BLVD RICHMOND HILL NY 11419
EMPIRE HEATING & COOLING              500 ALBERT ST BILLINGS MT 59101
EMPIRE LOGISTICS                      77 MINGLEHAZE DR TORONTO ON M9V 4W6 CANADA
EMPIRE LOGISTICS TRUCKING LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EMPIRE LYON TRANSPORTATION LLC        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EMPIRE NATIONAL INC.                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EMPIRE PRODUCTION SERVICES LLC        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
EMPIRE SOUTHWEST, LLC                 PO BOX 842381 LOS ANGELES CA 90084
EMPIRE STATE LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EMPIRE TRANSPORT SERVICE              OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
EMPIRE TRANSPORTATION INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EMPIRE TRUCK & TRAILER SERVICES INC   1120 MILITARY RD KENMORE NY 14217
EMPIRE TRUCK EXPRESS INC              OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
EMPIRE TRUCK SALES, LLC               PO BOX 54325 JACKSON MS 39288
EMPIRE TRUCK SALES, LLC               PO BOX 6038 JACKSON MS 39288
EMPIRE TRUCKING CORPORATION           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EMPIRE TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EMPIRE UNIVERSAL SERVICES INC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EMPIRE WAY INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EMPLOYER SERVICES - WORKERS COMP      DEPT OF WORKFORCE SERVICES, PO BOX 20006 CHEYENNE WY 82003
EMPLOYER-TEAMSTERS LOCAL 175 & 505    HEALTH & WELFARE FUND 6810 MACCORKLE AVENUE, SE CHARLESTON WV 25304
EMPLOYERS TEAMSTERS                   6810 MACCORKLE AVE S E CHARLESTON WV 25304



Epiq Corporate Restructuring, LLC                                                                  Page 594 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 603 of 2156

Claim Name                             Address Information
EMPLOYMENT ADVISORY SERVICES, INC.     1501 M ST NW STE 400 WASHINGTON DC 20005
EMPLOYMENT ADVISORY SERVICES, INC.     1501 M STREET NW, SUITE 1000 WASHINGTON DC 20005
EMPLOYMENT BACKGROUND INVEST           PO BOX 69200 BALTIMORE MD 21264-9200
EMPLOYMENT HEALTH SERVICES             1700 W. 1ST ST, UNIT A MILLS WY 82604
EMPLOYMENT PROFESSIONALS CANADA INC    1220 GARRISON RD FORT ERIE ON L2A 1P1 CANADA
EMPOWER DJIBLAND TR LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EMPOWERED EXPRESS LINES                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EMPRENDUSS SA DE C V                   FUNDICIONES 115 FRACC BUENOS AIRES MONTERREY 64800 MEXICO
EMPTAGE, KENTON                        ADDRESS ON FILE
EMR EXPRESS INC                        OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
EMR LOGISTICS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EMRAUD TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EMRICK OUTDOOR MAINTENANCE             3008 COLLEGE AVE QUINCY IL 62301
EMRING, MARK                           ADDRESS ON FILE
EMS LOGISTICS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EMS OF CENTRAL FLORIDA INC             7906 CLARK MOODY BLVD PORT RICHEY FL 34668
EMS OF RENO LAKE TAHOE                 D/B/A: ENVIRO MASTER OF MILWAUKEE, PO BOX 12350 CHARLOTTE NC 28220
EMS OF RENO LAKE TAHOE                 D/B/A: ENVIRO MASTER OF PITTSBURGH, PO BOX 12350 CHARLOTTE NC 28220
EMS OF RENO LAKE TAHOE                 D/B/A: ENVIRO MASTER PO BOX 12350 CHARLOTTE NC 28220
EMSA EXPRESS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EMSER TILE LLC CTSI                    1 SOUTH PRESCOTT ST, PO BOX 10200 MEMPHIS TN 38111
EMTEC                                  P O BOX 56346 ATLANTA GA 30343
EMTEC                                  PO BOX 778830 CHICAGO IL 60677
EMTEC                                  PO BOX 85094 CHICAGO IL 60680
EMURO TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EMV TRANSPORTATION LLC                 5941 STATE HIGHWAY 359 LAREDO TX 78043
EN ROUTE LOGISTICS LLC                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
EN ROUTE TRANSPORTATION LLC            1337 E CORONADO RD PHOENIX AZ 85006
EN TRANSPORTATION LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ENA SAMAAN TRANSPORTATION LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ENAIRE, JEREMY                         ADDRESS ON FILE
ENAKE GROUP OF COMPANIES LLC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ENAMORADO GRANADOS, FERNANDO ENRIQUE   ADDRESS ON FILE
ENAMORADO GRANADOS, FERNANDO ENRIQUE   ADDRESS ON FILE
ENAMORADO, CARLOS                      ADDRESS ON FILE
ENAT LOGISTICS LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ENAYA TRUCKING LLC                     OR CASHWAY FUNDING, PO BOX 724051 ATLANTA GA 31139-4051
ENAYAT TRUCKING                        OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
ENB EXPRESS INCORPORATED               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ENB LOGISTICS LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
ENBRIDGE GAS DISTRIBUTION INC          PO BOX 650 SCARBOROUGH ON M1K 5E3 CANADA
ENC TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ENCALADE, TONY                         ADDRESS ON FILE
ENCAR TRANSPORT LLC                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
ENCARNACION, ROBERTO                   ADDRESS ON FILE
ENCLOSURES                             ATTN: AARON BOSTELMAN 7311 NW 77TH ST MEDLEY FL 33166
ENCOMPAS CORPORATION                   1512 GRAND BLVD KANSAS CITY MO 64108
ENCORE TRANSIT INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
ENCORE TRANSIT INC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                                   Page 595 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 604 of 2156

Claim Name                           Address Information
END LOGISTICS LLC                    315 LEON DR BOWLING GREEN KY 42104
END ROUTE INC                        1723 WOODLAND LN TRACY CA 95376
ENDALE INTL SERVICES LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ENDEAVOR TRANSPORTATION COMPANY      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ENDEAVOR TRUCKING LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ENDERLE, JOSEPH                      ADDRESS ON FILE
ENDJ LLC                             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ENDLESS ENTERPRISES LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ENDLESS LOGISTICS LLC                OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ENDRES, ALLAN                        ADDRESS ON FILE
ENDRIES INTERNATIONAL 2195           AKA BRANAM FASTENING SYSTEMS 640 N GILBERT ST FULLERTON CA 92833
ENDSLEY, MARC                        ADDRESS ON FILE
ENDURA                               C/O RECONEX, 384 INVERNESS PKWY STE 270 ENGLEWOOD CO 80112
ENDURANCE TRANSPORT LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ENE EXPRESS LLC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ENEA, PHILIP                         ADDRESS ON FILE
ENEAGU, PRECIOUS                     ADDRESS ON FILE
ENERCO GROUP INC.                    4560 W 160TH ST CLEVELAND OH 44135
ENERGIR LP                           1717, RUE DU HAVRE MONTREAL QC H2K 2X3 CANADA
ENERGIZER                            ATTN: CHARLEY JENSEN 180 BARTRAM PKWY FRANKLIN IN 46131
ENERGIZER BATTERY COMPANY            ATTN: ROBIN GARCIA 533 MARYVILLE UNIVERSITY DR ST LOUIS MO 63141
ENERGIZER FRANKLIN DC                ATTN: CHARLEY JENSEN 190 BARTRAM PKWY FRANKLIN IN 46131
ENERGY AIR, INC.                     5401 ENERGY AIR CT ORLANDO FL 32810
ENERGY KINETICS                      ATTN TOM BRINKER, ENERGY KINETICS LEBANON NJ 08833
ENERGY METALS INC                    3730 S MAIN ST PEARLAND TX 77581
ENERGY TECHNOLOGIES, INC.            591 N HUNTER HWY DRUMS PA 18222
ENERGY TRANSPORT LOGISTICS           771 JAMACHA RD 327 EL CAJON CA 92019
ENERGY TRANSPORTATION INC            OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
ENERGY TRANSPORTATION INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ENERGY TRUCKING LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ENERGY WEST MONTANA                  1 1ST AVE S GREAT FALLS MT 59401
ENERSYS                              1604 SOLUTIONS CENTER CHICAGO IL 60677
ENES EXPRESS LLC                     OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
ENF TRUCKING LLC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ENF TRUCKING LLC (MC1104600)         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ENFIELD TRANSPORT INC                2415 ETCHEVERRY DR STOCKTON CA 95212
ENG TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ENG, AMANDA                          ADDRESS ON FILE
ENG, JULIA                           ADDRESS ON FILE
ENGAGE2EXCEL                         PO BOX 60564 CHARLOTTE NC 28260
ENGAGEMENT LOGISTICS LLC             OR AZALINE CAPITAL, LLC, PO BOX 200814 DALLAS TX 75320-0814
ENGBROCK, SCOTT                      ADDRESS ON FILE
ENGEBRETSEN, KJELL                   ADDRESS ON FILE
ENGEBRETSEN, REBECCA                 ADDRESS ON FILE
ENGEL, ROBERT                        ADDRESS ON FILE
ENGEL, ROBERT                        ADDRESS ON FILE
ENGELEN, LEE R                       ADDRESS ON FILE
ENGELKE, RICHARD                     ADDRESS ON FILE
ENGELMAN, ABE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 596 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 605 of 2156

Claim Name                           Address Information
ENGIE POWER & GAS LLC                1360 POST OAK BLVD, SUITE 400 HOUSTON TX 77056-3030
ENGINEERED COMFORT HEATING & AIR     3227 PRODUCER WAY STE 108 POMONA CA 91768
ENGINEERED COMPONENTS CO             ATTN: AUDREY OZBIRN 1100 DAVIS RD ELGIN IL 60123
ENGINEERED FLOORS                    ATTN: JO ANN FLOOD 3201 N DALTON BYPASS DALTON GA 30720
ENGINEERED FLOORS                    ATTN: DAVID GRAHAM CLAIMS 3510 CORPORATE DR DALTON GA 30721
ENGINEERED FLOORS LLC                ATTN: AMY CALLAHAN CLAIMS DEPT 3510 CORPORATE DR DALTON GA 30720
ENGINEERED FLOORS LLC                ATTN: RHONDA MCBRAYER CLAIMS DEPT 3510 CORPORATE DR DALTON GA 30720
ENGINEERED FLOORS LLC                ATTN: TORREY MASCOTE CLAIMS DEPT 3510 CORPORATE DR DALTON GA 30721
ENGINEERS CONSTRUCTION, INC.         P.O. BOX 2187 SOUTH BURLINGTON VT 05407
ENGLAND EXPRESS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ENGLAND LOGISTICS                    1325 S 4700 W SALT LAKE CITY UT 84104
ENGLAND LOGISTICS                    1325 SO 4700 W SALT LAKE CITY UT 84104
ENGLAND LOGISTICS                    PO BOX 27247 SALT LAKE CITY UT 84127
ENGLAND LOGISTICS INC                ATTN: DANETTE HAMMOND 1325 SO 4700 W SALT LAKE CITY UT 84104
ENGLAND, CHRISTOPHER                 ADDRESS ON FILE
ENGLAND, DONNA                       ADDRESS ON FILE
ENGLAND, HARVEY                      ADDRESS ON FILE
ENGLAND, JEFF                        ADDRESS ON FILE
ENGLAND, JOSHUA                      ADDRESS ON FILE
ENGLAND, LESTER                      ADDRESS ON FILE
ENGLAND, MICHAEL                     ADDRESS ON FILE
ENGLAND, MICHAEL                     ADDRESS ON FILE
ENGLAND, RICHARD                     ADDRESS ON FILE
ENGLAND, TIM                         ADDRESS ON FILE
ENGLANDS ON SITE TRUCK REPAIR LLC    6123 W. STATION WAY GREENFIELD IN 46140
ENGLE, RICHARD A                     ADDRESS ON FILE
ENGLEFIELD OIL CO                    447 JAMES PARKWAY MID OHIO INDUSTRIAL PARK NEWARK OH 43055
ENGLEHART, JAMES                     ADDRESS ON FILE
ENGLERT, DANIEL                      ADDRESS ON FILE
ENGLEWOOD LAB                        20 CAMPUS RD TOTOWA NJ 07512
ENGLEWOOD TRCK TOWING RECOVERY       D/B/A: ENGLEWOOD TRUCK TOWING RECOVERY 7510 JACKS LANE CLAYTON OH 45315
ENGLEWOOD TRUCK TOWING RECOVERY      7510 JACKS LANE CLAYTON OH 45315
ENGLISCH, STEPHEN J                  ADDRESS ON FILE
ENGLISH, ALLEN                       ADDRESS ON FILE
ENGLISH, DREZMOND                    ADDRESS ON FILE
ENGLISH, LARRY                       ADDRESS ON FILE
ENGLISH, WILLIAM L                   ADDRESS ON FILE
ENGLUND EQUIPMENT COMPANY            ENGLUND EQUIPMENT COMPANY, PO BOX 250 CASHION AZ 85329
ENGQUIST, PAIGE                      ADDRESS ON FILE
ENGRID TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ENGSTRAND TRUCKING LLC               2849 210TH ST LUCK WI 54853
ENGSTROM, NEIL                       ADDRESS ON FILE
ENHANCED ELECTRICAL SERVICES         46 HARDY DR. SPARKS NV 89431
ENHANCED LANDSCAPE MANAGEMENT LLC    28447 WITHERSPOON PKWY VALENCIA CA 91355
ENHANCED LOGISTICS LLC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ENHANCED SALES POTENTIAL LLC         1010 COVES PHEASANT COURT CANDLER NC 28715
ENITIAL LABS                         19635 E WALNUT DRIVE N CITY OF INDUSTRY CA 91789
ENKELANA TRUCKING INC                9647 ROCKPORT HILLS DR CYPRESS TX 77433
ENMAX                                141 50 AVENUE S.E. CALGARY AB T2G 4S7 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 597 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 606 of 2156

Claim Name                           Address Information
ENNIS, JOHN                          ADDRESS ON FILE
ENNIS, KRYSTAL                       ADDRESS ON FILE
ENNIS, PHILLIP                       ADDRESS ON FILE
ENNIS, SCOTT                         ADDRESS ON FILE
ENNIS, WILLIAM                       ADDRESS ON FILE
ENNIS-FLINT, INC.                    PO BOX 603518 CHARLOTTE NC 28260
ENNIS-FLINT, INC.                    PO BOX 603518 CHARLOTTE NC 28260-3518
ENNYS TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ENNYWEALTH LOGISTICS LLC             7520 COOK RD APT 1808 HOUSTON TX 77072-3262
ENOCH, SHON                          ADDRESS ON FILE
ENOCK B DONOIAN JR                   ADDRESS ON FILE
ENOS, PETER                          ADDRESS ON FILE
ENOS, PETER K                        ADDRESS ON FILE
ENOSATA VENTURA LLC                  OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ENOVA INVESTMENTS LLC                OR ENOVA INVESTMENTS LLC 1817 KENOSHA RD ZION IL 60099
ENOW LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ENR FRANKLIN DC                      ATTN: ROBIN GARCIA 190 BARTRAM PKWY FRANKLIN IN 46131
ENR MONROE DC                        ATTN: CHARLEY JENSEN 251299 EXPLORATION DR MONROE OH 45050
ENRIGHT, CHRISTOPHER                 ADDRESS ON FILE
ENRIGHT, PATRICK                     ADDRESS ON FILE
ENRIGHT, TIMOTHY                     ADDRESS ON FILE
ENRIQUE C BARBA                      ADDRESS ON FILE
ENRIQUE L ROBLES                     ADDRESS ON FILE
ENRIQUEZ, GABRIELA                   ADDRESS ON FILE
ENRIQUEZ, GABRIELA                   ADDRESS ON FILE
ENRIQUEZ, GILBERT R                  ADDRESS ON FILE
ENRIQUEZ, JERROD                     ADDRESS ON FILE
ENRIQUEZ, MARK A                     ADDRESS ON FILE
ENRIQUEZ, MARK A                     ADDRESS ON FILE
ENRIQUEZ, MICHAEL                    ADDRESS ON FILE
ENRIQUEZ, WILLIAM                    ADDRESS ON FILE
ENS 2 TRANS INC                      OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
ENS MONROE LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ENSAF LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ENSLINGER, CHELSEA                   ADDRESS ON FILE
ENSMINGER, PAUL                      ADDRESS ON FILE
ENSTE, RUSSELL                       ADDRESS ON FILE
ENSURED TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ENTACT SOLUTIONS INC                 3 MISTYGLEN CRES BRAMPTON ON L6Y 0X2 CANADA
ENTEC POLYMERS INC                   ATTN: REBEKAH KRAUSE 1900 SUMMIT TOWER BLVD 900 ORLANDO FL 32810
ENTEC POLYMERS INC                   ATTN: REBEKAH KRAUSE RAVAGO 1900 SUMMIT TOWER BLVD 900 ORLANDO FL 32810
ENTEC SERVICES INC                   C/O SOY CAPITAL BANK, PO BOX 9459 PEORIA IL 61612-9459
ENTENZA TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ENTERGY                              639 LOYOLA AVENUE NEW ORLEANS LA 70113
ENTERGY CLAIMS MGT.                  ATTN: PUBLIC DMG RECOV (25F) PO BOX 551 LITTLE ROCK AR 72203-0551
ENTERPRISE                           7303 NW 4TH BLVD GAINESVILLE FL 32607
ENTERPRISE                           600 CORPORATE PARK DR SAINT LOUIS MO 63105
ENTERPRISE AUTO GLASS                4147 NORTHGATE BLVD 1 SACRAMENTO CA 95834
ENTERPRISE AUTO GLASS                ATTN: RISPER 4147 NORTHGATE BLVD STE 1 SACRAMENTO CA 95834



Epiq Corporate Restructuring, LLC                                                                 Page 598 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 607 of 2156

Claim Name                              Address Information
ENTERPRISE LEASING COMPANY              PO BOX 840086 KANSAS CITY MO 64184-0086
ENTERPRISE LOGISTICS                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ENTERPRISE RENT A CAR                   2136 E ROUTE 66 FLAGSTAFF AZ 86004
ENTERPRISE RENTAL CAR                   600 CORPORATE PARK DR SAINT LOUIS MO 63105
ENTERPRISE UNITED LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ENTREKIN, JARED                         ADDRESS ON FILE
ENTREKIN, JARED                         ADDRESS ON FILE
ENTREKIN, RICHARD                       ADDRESS ON FILE
ENTREPRISE ANDRE LEBLANC                551 ST AMABLE ST BARNABLE SUD J0H 1G0 CANADA
ENTRUCK INC.                            431 N PRINCETON AVE VILLA PARK IL 60181
ENTRUST CORPORATION                     1187 PARK PL SHAKOPEE MN 55379
ENTRUST, INC.                           PO BOX 972894 DALLAS TX 75397
ENTRUSTED                               945 W. 15TH STREET RIVIERA BEACH FL 33404
ENTRY POINT INTERNATION LLC             187 BALLARDVALE ST STE A90 WILMINGTON MA 01887
ENUKONDA, SINDHUJA                      ADDRESS ON FILE
ENV TRUCKING                            OR ATLAS FACTORING LLC 906 N MESA, STE 301 EL PASO TX 79902
ENV TRUCKING                            OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
ENVIRO CARE, INC                        505 N MAIN NORTH SALT LAKE UT 84054
ENVIRO CLEAN                            1808 E MCKENNELY FRESNO CA 93703
ENVIRO MASTER                           EMS OF RENO LAKE TAHOE, PO BOX 12350 CHARLOTTE NC 28220
ENVIRO MASTER                           PO BOX 12350 CHARLOTTE NC 28220
ENVIRO MASTER OF BALTIMORE              PO BOX 12350 CHARLOTTE NC 28220
ENVIRO-MASTER                           D/B/A: ENVIRO MASTER OF MILWAUKEE, PO BOX 12350 CHARLOTTE NC 28220
ENVIRO-MASTER                           D/B/A: ENVIRO MASTER PO BOX 12350 CHARLOTTE NC 28220
ENVIRO-MASTER OF WEST MICHIGAN          PO BOX 12350 CHARLOTTE NC 28220
ENVIRO-MASTER SERVICES OF PITTSBURGH    290 ALPHA DRIVE PITTSBURGH PA 15238
ENVIROBATE                              3301 E. 26TH ST. MINNEAPOLIS MN 55406
ENVIROKEM                               55 THYME CT OAKLEY 94561
ENVIRON LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ENVIRONMENTAL COMPLIANCE PARTNERS       10749 PEARL RD STRONGSVILLE 44136
ENVIRONMENTAL MANAGEMENT, INC.          P.O. BOX 23753 OVERLAND PARK KS 66283
ENVIRONMENTAL MANAGEMENT, INC.          PO BOX 700 GUTHRIE OK 73044
ENVIRONMENTAL MANAGEMENT, INC.          PO BOX 700 GUTHRIE OK 73044-0700
ENVIRONMENTAL RESTORATION LLC           1666 FABICK DRIVE FENTON MO 63026
ENVIRONMENTAL SEEDS WEST LLC            DBA GRANITE SEED COMPANY ATTN GENERAL COUNSEL, 1697 W 2100 N LEHI UT 84043
ENVIRONMENTAL SYSTEMS, INC.             6 HOWARD IRELAND DR ATTLEBORO MA 02703
ENVIRONMENTAL TECHNOLOGIES GROUP INC.   PO BOX 548 STILLWATER OK 74076
ENVIRONMENTAL WORKS                     P.O. BOX 411692 KANSAS CITY MO 64141
ENVISION LED LIGHTING                   ATTN: BREEANA MACHUCA 6023 BANDINI BLVD BELL CA 90201
ENVISION PROMOTIONAL MARKETING          1274 BORDER STREET WINNIPEG MB R3H 0M6 CANADA
ENVOY LOGISTICS                         2931 UNIVERSAL ST OSHKOSH WI 54903
ENVOY LOGISTICS                         PO BOX 2803 OSHKOSH WI 54903
ENVOY LOGISTICS INC                     ATTN: ISAIAH SANCHEZ 2931 UNIVERSAL ST OSHKOSH WI 54904
ENVZN LLC                               OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                        33631-3792
ENWIN                                   4545 RHODES DR WINDSOR ON N9A 5T7 CANADA
ENWORK                                  12900 CHRISTOPHER DR LOWELL MI 49331
ENWORK                                  ATTN: RHODA GREENMAN BATT 12900 CHRISTOPHER DR LOWELL MI 49331
ENWORK                                  ATTN: RHODA 12900 CHRISTOPHER DR LOWELL MI 49331



Epiq Corporate Restructuring, LLC                                                                   Page 599 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 608 of 2156

Claim Name                          Address Information
ENY LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ENZA INC                            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ENZALDO, DANIEL                     ADDRESS ON FILE
ENZO TRANS LLC                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ENZO TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EOA TRUCKING, INC.                  OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
EOS GROUP INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EOS INC                             PO BOX 423 ENID OK 73702
EP BROTHERS LLC                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EP EXPEDITED TRANSPORT LLC          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EP EXPEDITED TRANSPORT LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EP FREIGHT SERVICES                 OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
EP HAULING INC                      4250 NW 4TH AVE BOCA RATON FL 33431
EP OF ILLINOIS INC                  OR TRANSPORTATION FINANCE CORP 14007 S BELL RD 169 HOMER GLEN IL 60491
EP WOODLIEF TRANSPORTATION LLC      305 GLORY RD BLOUNTVILLE TN 37617
EPCOR                               2000-10423 101 STREET NW EDMONTON AB T5H 0E8 CANADA
EPES LOGISTICS                      PO BOX 35884 GREENSBORO NC 27425
EPES LTL                            ATTN: TAMMY GLASCOE PO BOX 35884 GREENSBORO NC 27425
EPG COMPANY                         19900 COUNTY RD. 81 MAPLE GROVE MN 55311
EPHRATA TRANSPORTATION LLC          OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
EPHRATA TRANSPORTATION LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EPIC FREIGHT TRANSPORTS, LLC        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
EPIC LINES, INC.                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
EPIC TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EPIC WELDING LLC                    5815 NEW CHAPEL RD JEFFERSONVILLE IN 47130
EPKAM LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EPL EXPRESS INC                     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
EPLER, MICHAEL                      ADDRESS ON FILE
EPOCH LOGISTICS LLC                 OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
EPOLITO, JOSEPH                     ADDRESS ON FILE
EPPERSON, DALLAS                    ADDRESS ON FILE
EPPERSON, KEVIN                     ADDRESS ON FILE
EPPERSON, LARRY                     ADDRESS ON FILE
EPPERSON, ZACHARY                   ADDRESS ON FILE
EPPIHIMER, AMOS                     ADDRESS ON FILE
EPPINGER, GLENN                     ADDRESS ON FILE
EPPLER TOWING & RECOVERY INC        P.O. BOX 67 FIREBAUGH CA 93622
EPPLER TOWING & RECOVERY INC        PO BOX 188 FIREBAUGH CA 93622
EPPLER TOWING & TRANSPORT           PO BOX 67 FIREBAUGH CA 93622
EPPS, LOGAN                         ADDRESS ON FILE
EPPS, TIMOTHY                       ADDRESS ON FILE
EPPSTEIN, JENNIFER                  ADDRESS ON FILE
EPR TRANSPORT LLC                   OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
EPSILON PLASTICS                    595 JOHN DODD RD SPARTANBURG SC 29303
EPSILON, C/O LEACH LOGITICS         810 E GLENDALE AVE SPARKS NV 89431-6409
EQUALIZER LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EQUATE TRANSPORT INC                OR SWORD GATE CAPITAL, LLC, PO BOX 21003 CHARLESTON SC 29413



Epiq Corporate Restructuring, LLC                                                               Page 600 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 609 of 2156

Claim Name                           Address Information
EQUATOR ADVANCED APPLIANCES          10222 GEORGIBELLE DRIVE, SUITE 200 HOUSTON TX 77043
EQUIFAX WORKFORCE SOLUTIONS LLC      4076 PAYSPHERE CIR CHICAGO IL 60674
EQUINE DIGIT SUPPORT SYSTEM          15860 STATE HIGHWAY 115 PENROSE CO 81240
EQUINIX INC                          PO BOX 736031 DALLAS TX 75373
EQUIPMENT DEPOT                      PO BOX 8500 7647 PHILADELPHIA PA 19178
EQUIPMENT DEPOT                      PO BOX 8500-8352 PHILADELPHIA PA 19178
EQUIPMENT DEPOT                      PO BOX 8500-8352 PHILADELPHIA PA 19178-8352
EQUIPMENT DEPOT                      75 REMITTANCE DRIVE SUITE 3280 CHICAGO IL 60675
EQUIPMENT DEPOT                      PO BOX 209004 DALLAS TX 75320
EQUIPMENT DEPOT KENTUCKY INC         922 E DIVISION ST. EVANSVILLE IN 47711
EQUIPMENT DEPOT KENTUCKY INC         75 REMITTANCE DRIVE, SUITE 3280 CHICAGO IL 60675-3280
EQUIPMENT DEPOT NORTHEAST, INC.      P.O. BOX 789152 PHILADELPHIA PA 19178
EQUIPMENT DEPOT OF ILLINOIS, INC.    PO BOX 855915 MINNEAPOLIS MN 55485
EQUIPMENT DEPOT OF ILLINOIS, INC.    75 REMITTANCE DR., STE 3295 CHICAGO IL 60675-3295
EQUIPMENT DEPOT WISCONSIN INC        PO BOX 856274 MINNEAPOLIS MN 55485
EQUIPMENT DEPOT WISCONSIN INC        28518 NETWORK PLACE CHICAGO IL 60673-8518
EQUIPMENT DEPOT.                     PO BOX 208760 DALLAS TX 75320
EQUIPMENT MAINTENANCE AND REPA       ATTN: KEM BAKER 3210 52ND AVE SACRAMENTO CA 95823
EQUIPMENT PLUS INC                   PO BOX 160519 SPARTANBURG SC 29316
EQUIPMENT WORLD                      ATTN: SANDY ASCHE 988 ALLOY DR THUNDER BAY ON P7B 6A5 CANADA
EQUITABLE RESOURCE SOLUTIONS LLC     3337 TAMARA LN ORANGEBURG SC 29118-1005
EQUITY & DILIGENCE INC               9074 W TERRACE DR APT 5J NILES IL 60714
EQUITY LOGISTICS & TRANSPORTATION    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
EQUUS INN                            3434 SW COLLEGE ROAD OCALA FL 34474
ER CARPENTER                         302 HIGHLAND DR TAYLOR TX 76574
ER TRANSPORTATION LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ERA TRUCKING INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ERA TRUCKING LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ERAB TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ERB COMPANY INCORPORATED             ATTN: JACKIE PAZ 1400 SENECA ST BUFFALO NY 14210
ERB, HAROLD                          ADDRESS ON FILE
ERB, TRAVIS                          ADDRESS ON FILE
ERC LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ERD EXPRESS, INC.                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ERDLEY TRUCKING, INC.                224 RED RIDGE ROAD MIFFLINBURG PA 17844
ERDMAN, CARL                         ADDRESS ON FILE
ERDMAN, ERIC                         ADDRESS ON FILE
ERDMAN, MAYNARD                      ADDRESS ON FILE
ERDNER BROS.,INC.                    PO BOX 68 SWEDESBORO NJ 08085
ERDODY, DAVID                        ADDRESS ON FILE
ERELLI, MICHAEL A                    ADDRESS ON FILE
EREMARA TRUCKING LLC                 8515 PARK LN APT 1616 DALLAS TX 75231
EREMARA TRUCKING LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ERHAN INC                            OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
ERHART, MARK                         ADDRESS ON FILE
ERI TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ERI TRUCKING LLC                     OR SEPLAN CAPITAL LLC, PO BOX 867135 PLANO TX 75086
ERI-AM LLC                           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ERIAM EXPRESS LLC                    OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189



Epiq Corporate Restructuring, LLC                                                                 Page 601 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 610 of 2156

Claim Name                         Address Information
ERIC A BORN                        ADDRESS ON FILE
ERIC A GLAVE                       ADDRESS ON FILE
ERIC ALVARADO                      ADDRESS ON FILE
ERIC BLAISDELL                     ADDRESS ON FILE
ERIC BRADLEY                       ADDRESS ON FILE
ERIC BRADLEY                       ADDRESS ON FILE
ERIC D CONSAUL                     ADDRESS ON FILE
ERIC FRIEDLANDER                   ADDRESS ON FILE
ERIC GALINDO                       ADDRESS ON FILE
ERIC GREGORY                       ADDRESS ON FILE
ERIC HERTZ TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ERIC J BOYER                       ADDRESS ON FILE
ERIC J MORSE                       ADDRESS ON FILE
ERIC KAY TRUCKING                  OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
ERIC KOELINER                      ADDRESS ON FILE
ERIC M THOMPSON TRUCKING LLC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ERIC O WITTKE                      ADDRESS ON FILE
ERIC ROBERTS TRUCKING LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ERIC S SCHROEDER                   ADDRESS ON FILE
ERIC S UPDIKE                      ADDRESS ON FILE
ERIC TOWNS                         ADDRESS ON FILE
ERIC W ERDMAN                      ADDRESS ON FILE
ERIC W KELLER                      ADDRESS ON FILE
ERIC WALTER PALMER                 ADDRESS ON FILE
ERICHSENS AUTO SERVICE             170 ROUTE 299 HIGHLAND NY 12528
ERICK BERSCHEID TRUCKING LLC       OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
ERICK C PLEITEZ                    ADDRESS ON FILE
ERICK DELIVERY SERVICE INC         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ERICK, MICHAEL                     ADDRESS ON FILE
ERICKSEN, SARA                     ADDRESS ON FILE
ERICKSON N NAVAL                   ADDRESS ON FILE
ERICKSON, ANDREW                   ADDRESS ON FILE
ERICKSON, BRIAN                    ADDRESS ON FILE
ERICKSON, CHEREE                   ADDRESS ON FILE
ERICKSON, DYAN                     ADDRESS ON FILE
ERICKSON, EDITH                    ADDRESS ON FILE
ERICKSON, ERIC                     ADDRESS ON FILE
ERICKSON, ERIC                     ADDRESS ON FILE
ERICKSON, JEREMY                   ADDRESS ON FILE
ERICKSON, MELISSA                  ADDRESS ON FILE
ERICKSON, PATRICK                  ADDRESS ON FILE
ERICKSON, TIMOTHY                  ADDRESS ON FILE
ERICO INC                          JOHN PRICE/CLAIMS ANALYST 6325 POTOMAC CT SUN VALLEY NV 89433
ERICO INC C/O NVENT                ATTN JOHN PRICE, 6325 POTOMAC CT SUN VALLEY NV 89433
ERICO INC C/O NVENT                ATTN JOHN PRICE, 2300 DICKERSON RD 79 RENO NV 89503
ERICO INC PENTAIR                  C/O JOHN PRICE, 6325 POTOMAC CT SUN VALLEY NV 89433
ERICS FREIGHT INC                  OR RDS FUNDING LLC 500 W PLAINFIELD RD STE 300 COUNTRYSIDE IL 60525
ERIE COUNTY WATER AUTHORITY        295 MAIN STREET, ROOM 350 BUFFALO NY 14203-2494
ERIE FENCE, INC.                   2716 WEST 13TH STREET ERIE PA 16505



Epiq Corporate Restructuring, LLC                                                               Page 602 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 611 of 2156

Claim Name                           Address Information
ERIE INDUSTRIAL TRUCKS               PO BOX 92439 CLEVELAND OH 44193
ERIE INDUSTRIAL TRUCKS, INC.         2419 W 15TH ST ERIE PA 16505
ERIE USA EXPRESS LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ERIE VEHICLE COMPANY                 60 E 51ST ST CHICAGO IL 60615
ERIE WATER WORKS                     340 WEST BAYFRONT PKWY ERIE PA 16507
ERIE, BLAYNE                         ADDRESS ON FILE
ERIEAU, JASON                        ADDRESS ON FILE
ERIGAVO TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ERIK AND TRACY MAYRHAUSER            ADDRESS ON FILE
ERIK C LUCAS                         ADDRESS ON FILE
ERIK C WILLIAMS                      ADDRESS ON FILE
ERIK VARGAS                          ADDRESS ON FILE
ERIK VARGAS                          ADDRESS ON FILE
ERIKS INDUSTRIAL SERVICES LP         C/O CH3058C PO BOX 2509 STATION M CALGARY AB T2P 0E2 CANADA
ERIKS NORTH AMERICA                  7748 S. 200TH ST. KENT WA 98032
ERIKSONS TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ERIKSSON, CHAD                       ADDRESS ON FILE
ERIN BAKER                           ADDRESS ON FILE
ERIN BAKER                           ADDRESS ON FILE
ERIN HARIS                           ADDRESS ON FILE
ERIN MOORE                           ADDRESS ON FILE
ERINA TRANSPORTATION LLC             10651 STEPPINGTON DR 4058 DALLAS TX 75230
ERINDALE SYSTEMS INC.                3151 WOLFEDALE RD SUITE 1 MISSISSAUGA ON L5C 1V8 CANADA
ERITRANS                             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ERITRANS (MC790188)                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ERITRUCK TRANSPORTATION LLC          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ERIVES ENTERPRISES INC               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
ERIVES, MANUELA                      ADDRESS ON FILE
ERK TRANSPORT LLC                    OR COMMERCIAL FUNDING INC PO BOX 207527 DALLAS TX 75320-7527
ERK, DAVID                           ADDRESS ON FILE
ERKIN KG CORP                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ERLEWINE MECHANICAL                  4036 E CORTLAND AVE FRESNO CA 93726
ERLINE LOGISTICS INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ERLING SALES & SERVICE LLC           PO BOX 1269 HUTTO TX 78634
ERNEST A. SOUTHALL                   ADDRESS ON FILE
ERNEST ABACHICHE                     ADDRESS ON FILE
ERNEST B SLATEN                      ADDRESS ON FILE
ERNEST D CALDWELL JR                 ADDRESS ON FILE
ERNEST E OSBORNE                     ADDRESS ON FILE
ERNEST MAYVILLE & SON                92 PHILLIPS 328 RD HELENA AR 72342
ERNEST T LOPEZ CO LLC                2775 MECHANICSVILLE RD PEACHTREE CORNERS GA 30071
ERNEST TRANSPORTATION LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ERNESTO A OCHOA                      ADDRESS ON FILE
ERNESTO S MORENO                     ADDRESS ON FILE
ERNEY, DOUGLAS                       ADDRESS ON FILE
ERNSDORFF, TJ                        ADDRESS ON FILE
ERNST & YOUNG LLP                    ERNST & YOUNG BELASTINGADVISEURS LLP BOOMPJES 258 ROTTERDAM 3011 XZ
                                     NETHERLANDS
ERNST & YOUNG LLP                    PNC BANK C/O ERNST & YOUNG US LLP 3712 SOLUTIONS CENTER CHICAGO IL 60677



Epiq Corporate Restructuring, LLC                                                                Page 603 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 612 of 2156

Claim Name                          Address Information
ERNST & YOUNG LLP                   PNC BANK C/O ERNST & YOUNG US LLP PO BOX 773712 CHICAGO IL 60677
ERNST, CHERYL                       ADDRESS ON FILE
ERNST, CHRISTINA                    ADDRESS ON FILE
ERNST, DWAYNE                       ADDRESS ON FILE
ERNST, JEFFREY                      ADDRESS ON FILE
ERNST, JOYCE                        ADDRESS ON FILE
ERNST, MICHAEL                      ADDRESS ON FILE
ERNST, RANDOLPH G                   ADDRESS ON FILE
EROMERO TRUCKING                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EROS TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ERP ACCESSORIES, LLC                C/O DASHBOARD GEAR, 13570 GROVE DR. 363 MAPLE GROVE MN 55311
ERRINGTON, BRUCE E                  ADDRESS ON FILE
ERSKINE & SONS                      9470 CLYDE PARK SW BYRON CENTER MI 49315
ERTH SOLUTIONS                      PO BOX 271 DORCHESTER ON N0L 1G0 CANADA
ERVEN, TODD                         ADDRESS ON FILE
ERVIN, BRIAN                        ADDRESS ON FILE
ERVIN, CHEDERICK                    ADDRESS ON FILE
ERVIN, CHRISTOPHER                  ADDRESS ON FILE
ERVIN, CHRISTOPHER C                ADDRESS ON FILE
ERVIN, ISAAC                        ADDRESS ON FILE
ERVIN, JAIMIE                       ADDRESS ON FILE
ERVIN, MICHAEL                      ADDRESS ON FILE
ERVIN, MICHAEL                      ADDRESS ON FILE
ERVIN, ROLAND                       ADDRESS ON FILE
ERVOLINA, RICHARD                   ADDRESS ON FILE
ERWIN, BRYANT                       ADDRESS ON FILE
ERWIN, CAROL                        ADDRESS ON FILE
ERWIN, COLSTON                      ADDRESS ON FILE
ERWIN, DARYL                        ADDRESS ON FILE
ERWIN, JOHN                         ADDRESS ON FILE
ERWING, DANNY                       ADDRESS ON FILE
ERWINS TRANSPORT                    OR MCKENZIE BANKING, P.O. BOX 936 PAIRIS TN 38242
ES FIRE SUPPRESSION SYSTEMS LLC     23 SAGINAW DR ROCHESTER NY 14623
ES LINE INC                         215 WINDSOR LN UNIT C WILLOWBROOK IL 60527
ES LOGISTICS & TRANSPORT LLC        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
ES NICHOLSON & SONS TRUCKING LLC    OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                    UT 84130
ES TRUCKING                         OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ESA LOGISTICS & TRANSPORT           OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
ESA TRANSPORTATION INC              OR PARTNERS FUNDING, INC, PO BOX 5431 CAROL STREAM IL 60197-5431
ESAAK DELIVERY INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ESAB WELDING & CUTTING PROD         1861 S 4800 W SALT LAKE CITY UT 84104
ESCALANTE TRUCKING LLC              8921 KNOXVILLE RD MILAN IL 61264
ESCALANTE, CESAR                    ADDRESS ON FILE
ESCALANTE, EDWARD                   ADDRESS ON FILE
ESCALERA, GERARDO                   ADDRESS ON FILE
ESCAMILLA, BRIAN                    ADDRESS ON FILE
ESCAMILLA, CHRISTOPHER              ADDRESS ON FILE
ESCAMILLA, EUGENE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 604 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 613 of 2156

Claim Name                          Address Information
ESCAMILLA, LUIS J                   ADDRESS ON FILE
ESCAMILLA, TONY                     ADDRESS ON FILE
ESCANABA SCHOOL DISTRICT/ LIGH      ATTN: CASEY SHACKELFORD 2220 20TH AVE N ESCANABA MI 49829
ESCANDON, ANTONIO                   ADDRESS ON FILE
ESCANDON, RUDY                      ADDRESS ON FILE
ESCAPE TRANSPORT INC                4304 CRISTY AVE SAN BERNARDINO CA 92407
ESCARENO, MICHAEL                   ADDRESS ON FILE
ESCH, DAVID                         ADDRESS ON FILE
ESCHBACH, EMMA                      ADDRESS ON FILE
ESCHENWECK, EDWARD                  ADDRESS ON FILE
ESCLAVON, SONYA                     ADDRESS ON FILE
ESCO                                55 AMITYVILLE RD MELVILLE NY 11747
ESCO BUCYRUS                        ATTN: ANDREW YOUNG 260 E BEAL AVE BUCYRUS OH 44820
ESCO TRANSPORTATION INC             OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ESCO, CATRINA                       ADDRESS ON FILE
ESCOBAR, DANIEL                     ADDRESS ON FILE
ESCOBAR, FABRICIO                   ADDRESS ON FILE
ESCOBAR, GERMAN                     ADDRESS ON FILE
ESCOBAR, GERMAN                     ADDRESS ON FILE
ESCOBAR, HENRY                      ADDRESS ON FILE
ESCOBAR, JOSE                       ADDRESS ON FILE
ESCOBEDO, ENRIQUE                   ADDRESS ON FILE
ESCOBEDO, JESSE                     ADDRESS ON FILE
ESCOBEDO, JESUS                     ADDRESS ON FILE
ESCOBEDO, JIMMY                     ADDRESS ON FILE
ESCOTO QUIJANO, KATHERINNE          ADDRESS ON FILE
ESCOTO, JUAN                        ADDRESS ON FILE
ESCREEN CANADA ULC                  PO BOX 9695 STN M CALGARY AB T2P 0E9 CANADA
ESCREEN INC                         DEPT 4094, PO BOX 654094 DALLAS TX 75265
ESCREEN INC                         PO BOX 654094 DALLAS TX 75265-4094
ESCUTIA, MARTIN                     ADDRESS ON FILE
ESES EXPRESS INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ESEYKEFELA LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ESHENOUR, HARRY                     ADDRESS ON FILE
ESHIPPING LLC                       ATTN: CASSANDRA VAIZ PO BOX 14126 PARKVILLE MO 64152
ESHIPPING LLC                       ATTN: JOSEPH AYALA PO BOX 14126 PARKVILLE MO 64152
ESHIPPING LLC                       ATTN: MICHELLE HUME PO BOX 14126 PARKVILLE MO 64152
ESHIPPING, LLC - MO                 ATTN: JOSEPH AYALA P.O. BOX 14126 PARKVILLE MO 64152
ESHIPPING, LLC - MO                 P.O. BOX 14126 PARKVILLE MO 64152
ESHIPPING, LLC MO                   ATTN: CASSANDRA VAIZ P.O. BOX 14126 PARKVILLE MO 64152
ESHTAR TRUCKING LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ESIABIA, PATRICK                    ADDRESS ON FILE
ESIE GOLAB                          ADDRESS ON FILE
ESINHART, DUSTIN                    ADDRESS ON FILE
ESK LOGISTICS INC                   973 HOLBROOK AVE WATERFORD MI 48328
ESKEW, CHARLES                      ADDRESS ON FILE
ESKRIDGE, DECARLO A                 ADDRESS ON FILE
ESKRIDGE, DECARLO A                 ADDRESS ON FILE
ESKRIDGE, REGINALD                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 605 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 614 of 2156

Claim Name                          Address Information
ESKRIDGE, RON                       ADDRESS ON FILE
ESKRO, GREGORY                      ADDRESS ON FILE
ESLER, RICHARD                      ADDRESS ON FILE
ESLEY, BENJAMIN                     ADDRESS ON FILE
ESLINGER, AARON                     ADDRESS ON FILE
ESLINGER, KENNETH                   ADDRESS ON FILE
ESLINGER, SUSAN                     ADDRESS ON FILE
ESM TRANSPORT LLC (MC122259)        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ESM TRANSPORTS                      OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
ESMER1 LLC                          OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ESMERALDO NEVES                     ADDRESS ON FILE
ESO TRUCKING                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ESP FREIGHT                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ESP INTERNATIONAL INDUSTRIAL SEAL   5920 DRY CREEK LN CEDAR RAPIDS IA 52402
ESPADA, JUAN                        ADDRESS ON FILE
ESPANA, FRANCISCO                   ADDRESS ON FILE
ESPARZA TRUCKING                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ESPARZA, ABRAM                      ADDRESS ON FILE
ESPARZA, EMMANUEL                   ADDRESS ON FILE
ESPARZA, FRANK                      ADDRESS ON FILE
ESPARZA, RIGOBERTO                  ADDRESS ON FILE
ESPARZA, SERGIO                     ADDRESS ON FILE
ESPAY, MICHAEL                      ADDRESS ON FILE
ESPEJO, AGUSTIN                     ADDRESS ON FILE
ESPELETA, RODOLFO                   ADDRESS ON FILE
ESPEY, FREDERICK                    ADDRESS ON FILE
ESPICK, DAVID                       ADDRESS ON FILE
ESPIE ELECTRIC CO                   171 SAN LORENZO ST POMONA CA 91766
ESPIGON LLC                         OR GH FACTOR LLC, 671 W 18TH ST HIALEAH FL 33010
ESPINAL ENTERPRISE CORP             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ESPINAL, JOSE                       ADDRESS ON FILE
ESPINAR, DANNY                      ADDRESS ON FILE
ESPINO, ALBERTO                     ADDRESS ON FILE
ESPINO, ANGEL                       ADDRESS ON FILE
ESPINO, CESAR A                     ADDRESS ON FILE
ESPINO, FRANCISCO                   ADDRESS ON FILE
ESPINO, JAIR                        ADDRESS ON FILE
ESPINO, PEDRO                       ADDRESS ON FILE
ESPINOSA JR, MELVIN                 ADDRESS ON FILE
ESPINOSA, ALAN                      ADDRESS ON FILE
ESPINOSA, BENJAMIN                  ADDRESS ON FILE
ESPINOSA, GUSTAVO                   ADDRESS ON FILE
ESPINOSA, MIGUEL                    ADDRESS ON FILE
ESPINOSA, OSCAR                     ADDRESS ON FILE
ESPINOSA, PATERNO                   ADDRESS ON FILE
ESPINOSA, PAUL                      ADDRESS ON FILE
ESPINOSA, YASMINE                   ADDRESS ON FILE
ESPINOZA, ADRIAN                    ADDRESS ON FILE
ESPINOZA, AGUSTIN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 606 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 615 of 2156

Claim Name                           Address Information
ESPINOZA, ANDRES                     ADDRESS ON FILE
ESPINOZA, CESAR                      ADDRESS ON FILE
ESPINOZA, DAVID                      ADDRESS ON FILE
ESPINOZA, GERARDO                    ADDRESS ON FILE
ESPINOZA, JUAN                       ADDRESS ON FILE
ESPINOZA, JUAN                       ADDRESS ON FILE
ESPINOZA, LAURO                      ADDRESS ON FILE
ESPINOZA, MARIANO                    ADDRESS ON FILE
ESPINOZA, MAURICE                    ADDRESS ON FILE
ESPINOZA, OSCAR                      ADDRESS ON FILE
ESPINOZA, RICARDO                    ADDRESS ON FILE
ESPINOZA, SANDI                      ADDRESS ON FILE
ESPINOZA, SANTIAGO                   ADDRESS ON FILE
ESPINOZA, SAUL                       ADDRESS ON FILE
ESPINOZA, TOM                        ADDRESS ON FILE
ESPINOZA-DIAZ, LUIS                  ADDRESS ON FILE
ESPITIA JR, ALEJANDRO                ADDRESS ON FILE
ESPOMA COMPANY                       6 ESPOMA RD MILLVILLE NJ 08332
ESPONDA, GLORYVETTE                  ADDRESS ON FILE
ESPOSITO & SONS FREIGHTLINES INC     PO BOX 733 PLATTSBURGH NY 12901
ESPOSITO, DANIELLE                   ADDRESS ON FILE
ESPOSITO, JENNIE                     ADDRESS ON FILE
ESPOSITO, JONATHAN                   ADDRESS ON FILE
ESPOSITO, JOSE                       ADDRESS ON FILE
ESPOSITO, LOUIS                      ADDRESS ON FILE
ESPOSITO, MELODY                     ADDRESS ON FILE
ESPOSITO, PETER                      ADDRESS ON FILE
ESPOSITO, TYLER                      ADDRESS ON FILE
ESQUARED TRADING                     ATTN: SHNEUR SELENGUT 155 OBERLIN AVE N LAKEWOOD NJ 08701
ESQUERRA EXPRESS LIMITED COMPANY     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ESQUIBEL, JEREMIAH                   ADDRESS ON FILE
ESQUIBEL, RAYANNA                    ADDRESS ON FILE
ESQUIPULAS TRUCKING LLC              1018 N GIBSON ST GILBERT AZ 85234
ESQUIRE LOGISTICS INC                8272 NW 21ST STREET DORAL FL 33122
ESQUIVEL, AURELIO                    ADDRESS ON FILE
ESQUIVEL, CRUZ                       ADDRESS ON FILE
ESQUIVEL, DAVID                      ADDRESS ON FILE
ESQUIVEL, GILBERTO                   ADDRESS ON FILE
ESQUIVEL, JAVIER                     ADDRESS ON FILE
ESQUIVEL, MARIO                      ADDRESS ON FILE
ESQUIVEL, MICHAEL                    ADDRESS ON FILE
ESQUIVEL, PAUL                       ADDRESS ON FILE
ESQUIVEL, PETER                      ADDRESS ON FILE
ESQUIVEL, PETER                      ADDRESS ON FILE
ESR LOGISTICS INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ESR TRANSPORTATION LLC               OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139
ESRT LLC                             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ESRY, JON                            ADDRESS ON FILE
ESS TEAM INC                         OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399



Epiq Corporate Restructuring, LLC                                                                Page 607 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 616 of 2156

Claim Name                            Address Information
ESSA TRUCKING, LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ESSE TRANSPORT INC                    OR BARON FINANCE CA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS ANGELES CA
                                      90074
ESSE TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ESSEN, CHARLES                        ADDRESS ON FILE
ESSENBURGH, AMANDA                    ADDRESS ON FILE
ESSENCE LOGISTICS LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
ESSENDAND CO & AFFILIATES IK          C/O CORP CARRIER RELATIONS ONE PARKWAY NORTH 100 DEERFIELD IL 60015
ESSENDANT                             C/O CORP CARRIER RELATIONS 1 PARKWAY BLVD STE 100 DEERFIELD IL 60015
ESSENDANT & CO                        C/O CORP CARRIER RELATIONS ONE PARKWAY NORTH 100 DEERFIELD IL 60015
ESSENDANT CO                          C/O CORP CARRIER RELATIONS 1 PARKWAY BLVD STE 100 DEERFIELD IL 60015
ESSENDANT CO                          C/O CORP CARRIER RELATIONS ONE PARKWAY NORTH 100 DEERFIELD IL 60015
ESSENDANT CO AND AFFILIATES           ATTN: ISABEL KELLY CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100
                                      DEERFIELD IL 60015
ESSENDANT CO AND AFFILIATES           ATTN: SHARON BROWN CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100
                                      DEERFIELD IL 60015
ESSENDANT CO AND AFFILIATES AP        ATTN: ANNIE PICKARD CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100
                                      DEERFIELD IL 60015
ESSENDANT CO AND AFFILIATES AP        C/O CORP CARRIER RELATIONS ONE PARKWAY NORTH 100 DEERFIELD IL 60015
ESSENDANT CO AND AFFILIATES IK        ATTN: ISABEL KELLY CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100
                                      DEERFIELD IL 60015
ESSENDANT CO. AND AFFILIATES - AP     CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100 DEERFIELD IL 60015
ESSENDANT CO. AND AFFILIATES IK       CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100 DEERFIELD IL 60015
ESSENDANT CO. AND AFFILIATES RD       CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100 DEERFIELD IL 60015
ESSENDANT CO. AND AFFILIATES SB       CORPORATE CARRIER RELATIONS ONE PARKWAY NORTH SUITE 100 DEERFIELD IL 60015
ESSENDENT CO                          CORP CARRIER RELATION 1 PKWY NORTH STE 100 DEERFIELD IL 60015
ESSENPREIS PLUMBING & HEATING         1105 BROADWAY HIGHLAND IL 62249
ESSENTIA HEALTH                       PO BOX 856582 MINNEAPOLIS MN 55485
ESSENTIAL ACCESS TRANSPORTATION LLC   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
ESSENTIAL FREIGHT SYSTEMS INC         201 E TWINSBURG ROAD NORTHFIELD OH 44067
ESSENTIAL TRUCKING LLC                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ESSEX BROWNELL                        7207 WYNNWOOD LN. HOUSTON TX 77008
ESSEX, KYLE                           ADDRESS ON FILE
ESSIG, REX                            ADDRESS ON FILE
ESSOH, HENRI                          ADDRESS ON FILE
EST                                   3126 LANGLEY RD LOGANVILLE GA 30052
ESTABROOK, DERIECK                    ADDRESS ON FILE
ESTACIO, EDWARD                       ADDRESS ON FILE
ESTACIO, EMMANUEL                     ADDRESS ON FILE
ESTATE OF DIANNE REALE                ADDRESS ON FILE
ESTATE OF DUANE KOPECKY               ADDRESS ON FILE
ESTATE OF MARK D ZALOCHA              ADDRESS ON FILE
ESTATE OF MICHAEL TOBOLIC             ADDRESS ON FILE
ESTATE OF MYRON G. WEAVER             ADDRESS ON FILE
ESTATE OF PEGGY STRICKLAND            ADDRESS ON FILE
ESTATE OF SHANE CHANEY                ADDRESS ON FILE
ESTE IN FIDE LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ESTEL LOGISTICS LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
ESTEP, BRUCE                          ADDRESS ON FILE
ESTEP, JEREMIAH                       ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                 Page 608 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 617 of 2156

Claim Name                          Address Information
ESTEP, STEVE                        ADDRESS ON FILE
ESTER, JEFFERY                      ADDRESS ON FILE
ESTERHOLT, ERIC                     ADDRESS ON FILE
ESTERLY, ANNA M                     ADDRESS ON FILE
ESTES EXPRESS                       3901 W BROAD ST RICHMOND 23230
ESTES EXPRESS LINES                 3901 WEST BROAD STREET RICHMOND VA 23230
ESTES EXPRESS LINES                 ATTN: ANGELA MAIDMENT 3901 WEST BROAD STREET RICHMOND VA 23230
ESTES EXPRESS LINES                 PO BOX 25612 RICHMOND VA 23260
ESTES TERMINALS LLC                 ATTN: ANGELA MAIDMENT 3901 WEST BROAD STREET RICHMOND VA 23230
ESTES TERMINALS LLC                 PO BOX 25612 RICHMOND VA 23260
ESTES TERMINALS OF CALIFORNIA LLC   3901 W BROAD ST RICHMOND VA 23230
ESTES, ANDREW                       ADDRESS ON FILE
ESTES, BRUCE                        ADDRESS ON FILE
ESTES, CHRISTOPHER                  ADDRESS ON FILE
ESTES, DIANE                        ADDRESS ON FILE
ESTES, KENNETH                      ADDRESS ON FILE
ESTES, LARRY                        ADDRESS ON FILE
ESTES, MICHAEL                      ADDRESS ON FILE
ESTES, TOMMIE                       ADDRESS ON FILE
ESTEVEZ TRUCKING LLC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ESTEVEZ, MARIA                      ADDRESS ON FILE
ESTHER, CODY                        ADDRESS ON FILE
ESTHERS, GREGORY                    ADDRESS ON FILE
ESTOKUA SERVICES LLC                OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                    60674-0411
ESTOLAS, BELLA                      ADDRESS ON FILE
ESTOP BUSINESS LICENSES             PO BOX 8003 HELENA MT 59604
ESTRADA CONEJO, EMMANUEL            ADDRESS ON FILE
ESTRADA G TRUCKING LLC              OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ESTRADA, ALBERTO                    ADDRESS ON FILE
ESTRADA, ANDREW                     ADDRESS ON FILE
ESTRADA, ANTONIO                    ADDRESS ON FILE
ESTRADA, EDUARDO                    ADDRESS ON FILE
ESTRADA, FRANCISCO                  ADDRESS ON FILE
ESTRADA, HERBERT                    ADDRESS ON FILE
ESTRADA, JOSE                       ADDRESS ON FILE
ESTRADA, JOSEPH                     ADDRESS ON FILE
ESTRADA, JOSEPH F                   ADDRESS ON FILE
ESTRADA, JUAN                       ADDRESS ON FILE
ESTRADA, PABLO                      ADDRESS ON FILE
ESTRADA, ZACHARY                    ADDRESS ON FILE
ESTRELLA, ALVARO                    ADDRESS ON FILE
ESTRELLA, LAWRENCE                  ADDRESS ON FILE
ESTRELLA, STEVEN                    ADDRESS ON FILE
ESZ INTERCONTINENTAL INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ET EXPRESS                          OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ET SOUTHAVEN, LLC                   120 S. CENTRAL AVE. SUITE 300 (ATTN: SCOTT ALAIMO) ST. LOUIS MO 63105
ET STANS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ETA LOGISTICS LLC                   OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403



Epiq Corporate Restructuring, LLC                                                               Page 609 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 618 of 2156

Claim Name                           Address Information
ETA TRANSPORT LLC                    OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ETA TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ETAHAM TRANSPORT                     OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                     60674-0411
ETC TRANSPORT INC                    29203 LEGENDS GREEN DR SPRING TX 77386
ETC TRANSPORTATION LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ETEAKI, PALEMA                       ADDRESS ON FILE
ETECH GROUP                          ATTN: DAVID LEE 5960 SOUTHPORT RD PORTAGE IN 46368
ETEZAD KHAH, AMIR                    ADDRESS ON FILE
ETF TRUCKING LLC                     ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ETHAN J GANNER                       ADDRESS ON FILE
ETHAN M MANNIX                       ADDRESS ON FILE
ETHANS TRUCKING                      11849 CHADRON AVE PACOIMA CA 91331
ETHEREDGE TRUCKING, INC.             166 WOODSDALE DR MOGADORE OH 44260
ETHERIDGE, JAMES                     ADDRESS ON FILE
ETHERIDGE, ROYJAMIAN                 ADDRESS ON FILE
ETHERINGTON, MICHAEL                 ADDRESS ON FILE
ETHERINGTON, ROBERT                  ADDRESS ON FILE
ETHERTON, RONALD                     ADDRESS ON FILE
ETHIO TRUCKING LLC                   OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
ETHIOMASS TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ETHRIDGE, JAMES                      ADDRESS ON FILE
ETHRIDGE, TIMOTHY                    ADDRESS ON FILE
ETHRIDGE, TIMOTHY                    ADDRESS ON FILE
ETI COMPANY                          2202 26TH ST SW ALLENTOWN PA 18103
ETI FREIGHT SYSTEMS INC              OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ETIENNE TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ETIENNE, FOXX                        ADDRESS ON FILE
ETIENNE, JHONNY                      ADDRESS ON FILE
ETIHAD TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ETK INTERNATIONAL                    343 RUE MARIE CURIE VAUDREUIL-DORION QC J7V 5V5 CANADA
ETL TRANS INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ETNIER, AMY                          ADDRESS ON FILE
ETNIER, JASON                        ADDRESS ON FILE
ETRADE/APEX (0158/0385)              C/O BROADRIDGE SECS PROCESSING YASMINE CASSEUS, 2 GATEWAY CTR 283-299 MARKET
                                     ST - 16TH FL NEWARK NJ 07102
ETRIS, THERESA                       ADDRESS ON FILE
ETS IM BUSINESS LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
ETS SOLUTIONS                        OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
ETTER, JESSE                         ADDRESS ON FILE
ETTORE                               ATTN: ALMA BRYANT 2100 N LOOP ALAMEDA CA 94502
EUBANKS JR., JAMES                   ADDRESS ON FILE
EUBANKS, DEBORAH                     ADDRESS ON FILE
EUBANKS, DEJUAN                      ADDRESS ON FILE
EUBANKS, EUGENE                      ADDRESS ON FILE
EUBANKS, GREGORY                     ADDRESS ON FILE
EUBY TRANSPORT LLC                   OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458
EUCLID CHEMICAL                      19218 REDWOOD RD CLEVELAND OH 44110
EUDALEY, JAMES                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 610 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 619 of 2156

Claim Name                          Address Information
EUDY, BARRY                         ADDRESS ON FILE
EUDY, HAROLD                        ADDRESS ON FILE
EUGENE C BRAHAM JR                  ADDRESS ON FILE
EUGENE LUVERT                       ADDRESS ON FILE
EUGENE M LYLES                      ADDRESS ON FILE
EUGENE TRUCKING COMPANY LLC         1720 SW 69TH TER, N LAUDERDALE FL 33068
EUGENE WATER & ELECTRIC BOARD       4200 ROOSEVELT BLVD. EUGENE OR 97402
EUGENE, ROMUALD                     ADDRESS ON FILE
EUGIN, R                            ADDRESS ON FILE
EULISS, JOHN                        ADDRESS ON FILE
EURIAH BRUEGGEMAN                   ADDRESS ON FILE
EURO EXPRESS, LLC                   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
EURO KAM LTD                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EURO LINE TRANSPORTATION INC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EURO LINES LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EURO TRANSPORTATION CORP            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EURO TRUCK LANE INC.                11613 VISTA CLUB DR LOUISVILLE KY 40291
EURO TRUCKING INC                   OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
EURO UNITED LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EUROPEAN WAX CENTER                 ARCBEST ENTERPRISE SOLUTIONS PO BOX 10048 FORT SMITH AR 72917
EUROPEAN WAX CENTER                 5830 GRANITE PKWY 300 PLANO TX 75024
EUROTEC SEATING                     ATTN: ROBERT GALVEZ 1000 S EUCLID LA HABRA CA 90631
EUSTACE TRUCKING LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EUSTICE, ROBERT                     ADDRESS ON FILE
EV TRANSSTATE LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EV TRUCKING & TRANSPORT LLC         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EV TRUCKING INC                     18402 N 19TH AVE 339 PHOENIX AZ 85023-1361
EVA EXPRESS LLC                     OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
EVA LOGISTICS LLC                   OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
EVA MITTLER                         ADDRESS ON FILE
EVA TRANS LLC                       OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
EVA TRANSPORT LLC (FREEHOLD NJ)     OR ASSIST FINANCIAL SERVICES, PO BOX 347 MADISON SD 57042
EVA TRANSPORTS LLC                  OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                    35246-2659
EVAN & KATE TRUCKING CORP           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EVAN ASSFAHA TRUCKING LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EVANCHICK, ADAM                     ADDRESS ON FILE
EVANGELISTA, EDWARD                 ADDRESS ON FILE
EVANICK, LEONARD W                  ADDRESS ON FILE
EVANNA EXPRESS INC                  OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
EVANS DELIVERY CO. INC.             1112 ROUTE 41 SUITE 103 SCHERERVILLE IN 46237
EVANS DELIVERY COMPANY INC          EVANS DELIVERY COMPANY INC PO BOX 62892 BALTIMORE MD 21264
EVANS DELIVERY LTD                  4936 7TH AVE REGINA SK S4T 0R9 CANADA
EVANS EXPEDITE LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
EVANS LOGISTICS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EVANS MECHANICAL SERVICES           8596 ERIE RD ANGOLA NY 14006
EVANS SAINT CYR                     ADDRESS ON FILE
EVANS, AARON                        ADDRESS ON FILE
EVANS, ANTHONY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 611 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 620 of 2156

Claim Name                        Address Information
EVANS, ARTHUR                     ADDRESS ON FILE
EVANS, BARRY                      ADDRESS ON FILE
EVANS, BRANDON                    ADDRESS ON FILE
EVANS, BREYAUN                    ADDRESS ON FILE
EVANS, BRIAN                      ADDRESS ON FILE
EVANS, BRITTANY                   ADDRESS ON FILE
EVANS, BRUCE                      ADDRESS ON FILE
EVANS, BUNER                      ADDRESS ON FILE
EVANS, CAPRELLE                   ADDRESS ON FILE
EVANS, CASEY                      ADDRESS ON FILE
EVANS, CHARLES                    ADDRESS ON FILE
EVANS, CHRISTINA                  ADDRESS ON FILE
EVANS, CHRISTOPHER                ADDRESS ON FILE
EVANS, CORRIE                     ADDRESS ON FILE
EVANS, CORY                       ADDRESS ON FILE
EVANS, CRAIG                      ADDRESS ON FILE
EVANS, CYNTHIA                    ADDRESS ON FILE
EVANS, DAMION                     ADDRESS ON FILE
EVANS, DARIEN                     ADDRESS ON FILE
EVANS, DARYL                      ADDRESS ON FILE
EVANS, DAVID                      ADDRESS ON FILE
EVANS, DEARL                      ADDRESS ON FILE
EVANS, DERICK                     ADDRESS ON FILE
EVANS, HARLEY                     ADDRESS ON FILE
EVANS, JAMES                      ADDRESS ON FILE
EVANS, JAMES                      ADDRESS ON FILE
EVANS, JAMES                      ADDRESS ON FILE
EVANS, JASON                      ADDRESS ON FILE
EVANS, JOHN                       ADDRESS ON FILE
EVANS, JOHN                       ADDRESS ON FILE
EVANS, JOHNATHAN                  ADDRESS ON FILE
EVANS, JUDY                       ADDRESS ON FILE
EVANS, KENNETH                    ADDRESS ON FILE
EVANS, KENNETH                    ADDRESS ON FILE
EVANS, KENT                       ADDRESS ON FILE
EVANS, KYREE                      ADDRESS ON FILE
EVANS, LATESHA                    ADDRESS ON FILE
EVANS, LEEROY                     ADDRESS ON FILE
EVANS, LINDA C                    ADDRESS ON FILE
EVANS, LORRAINE                   ADDRESS ON FILE
EVANS, MADYSEN                    ADDRESS ON FILE
EVANS, MARIANNA                   ADDRESS ON FILE
EVANS, MARIO                      ADDRESS ON FILE
EVANS, MARTINEZ                   ADDRESS ON FILE
EVANS, MARTINEZ                   ADDRESS ON FILE
EVANS, MARY A                     ADDRESS ON FILE
EVANS, MICKEL                     ADDRESS ON FILE
EVANS, RACHEL                     ADDRESS ON FILE
EVANS, RANDY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 612 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                            Page 621 of 2156

Claim Name                         Address Information
EVANS, RICKY                       ADDRESS ON FILE
EVANS, RICKY                       ADDRESS ON FILE
EVANS, ROBERT                      ADDRESS ON FILE
EVANS, ROBERT                      ADDRESS ON FILE
EVANS, ROBERT                      ADDRESS ON FILE
EVANS, RONALD                      ADDRESS ON FILE
EVANS, RONALD                      ADDRESS ON FILE
EVANS, SAMUEL                      ADDRESS ON FILE
EVANS, SARAH                       ADDRESS ON FILE
EVANS, STEVEN                      ADDRESS ON FILE
EVANS, STEVEN                      ADDRESS ON FILE
EVANS, TERIQUE                     ADDRESS ON FILE
EVANS, TERRANCE                    ADDRESS ON FILE
EVANS, THOMAS                      ADDRESS ON FILE
EVANS, THOMAS J                    ADDRESS ON FILE
EVANS, TONY                        ADDRESS ON FILE
EVANS, TONY                        ADDRESS ON FILE
EVANS, WADE                        ADDRESS ON FILE
EVANS, WILLIAM                     ADDRESS ON FILE
EVANS, ZACH                        ADDRESS ON FILE
EVANS, ZACHARY                     ADDRESS ON FILE
EVANS-MEYER, BROOKE                ADDRESS ON FILE
EVANSVILLE GARAGE DOORS, INC.      808 E DIVISION ST EVANSVILLE IN 47711
EVANSVILLE GARAGE DOORS, INC.      PO BOX 4006 EVANSVILLE IN 47724
EVANSVILLE LAWN & LANDSCAPE        PO BOX 74 CHANDLER IN 47610
EVANSVILLE WATER & SEWER UTIL      1 N.W. MARTIN LUTHER KING, JR. BOULEVARD EVANSVILLE IN 47708-1833
EVANZIA, ANTONIO                   ADDRESS ON FILE
EVAPORATED METAL FILM CORP         ATTN: JENNIFER JOHNSON FINANCE 239 CHERRY ST ITHACA NY 14850
EVARISTO REMIGIO, ANGEL            ADDRESS ON FILE
EVASONIA TRANSPORT LLC             322 TREE SWALLOW DRIVE PENSACOLA FL 32503
EVAZ CARGO INCORPORATED            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
EVAZ GRAND INC.                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EVAZ PRIME INC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EVB SERVICE CENTER INC.            1608 BUTLER PIKE CONSHOHOCKEN PA 19428
EVE TRUCKING INC                   9864 LELAND AVE UNIT 412 SCHILLER PARK IL 60176
EVE TRUCKING INC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
EVELAND JR., DENNIS                ADDRESS ON FILE
EVENER, RICHARD                    ADDRESS ON FILE
EVENNON INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EVENSON, GRANT                     ADDRESS ON FILE
EVENSON, STEPHAN                   ADDRESS ON FILE
EVENT PRODUCTION SYSTEMS           1430 N BALLARD RD APPLETON WI 54911
EVER FORTH LLC                     PO BOX 40968 BAKERSFIELD CA 93384
EVER GREEN ENVIRONMENTAL, LLC      111 NORTHWAY ROAD, SUITE D COLUMBIA SC 29201
EVER GREEN ENVIRONMENTAL, LLC      PO BOX 25627 GREENVILLE SC 29616
EVER STAR REALTY                   1920 N PITTSBURG ST, SUITE A KENNEWICK WA 99336
EVER TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EVERAGE, ROBERT                    ADDRESS ON FILE
EVERARDO I RAMIREZ                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 613 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 622 of 2156

Claim Name                               Address Information
EVERBANK COMMERCIAL FINANCE INC          10 WATERVIEW BLVD, 2ND FL PARSIPPANY NJ 07054
EVEREADY TRUCKING INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EVEREST                                  C/O AXIS ATTN: SHAWN OLIVER 10000 AVALON BOULEVARD, SUITE 200 ALPHARETTA GA
                                         30009
EVEREST CARGO INC                        OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148
EVEREST CARRIER LLC                      OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
EVEREST TRANSIT INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EVEREST TRANSPORT GROUP LLC              OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EVEREST TRANSPORT INC                    OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
EVEREST TRANSPORTATION INC.              P.O.BOX 30060 COUNTRY SIDE BRAMPTON ON L6R 0S9 CANADA
EVEREST TRUCKING                         10326 TOWNLEY CT REMINDERVILLE OH 44202
EVERETT TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EVERETT, ANTONIO                         ADDRESS ON FILE
EVERETT, DARRYL                          ADDRESS ON FILE
EVERETT, DAVID                           ADDRESS ON FILE
EVERETT, HOUSTON                         ADDRESS ON FILE
EVERETT, JAMES                           ADDRESS ON FILE
EVERETT, JEREMY                          ADDRESS ON FILE
EVERETT, KRISTELL                        ADDRESS ON FILE
EVERETT, MONTEGA                         ADDRESS ON FILE
EVERETT, RANDY                           ADDRESS ON FILE
EVERETT, ROBERT                          ADDRESS ON FILE
EVERETT, SANDY D                         ADDRESS ON FILE
EVERETT, TAMMY                           ADDRESS ON FILE
EVERGREEN FIRE AND SAFETY, INC           3618 164TH ST SW LYNNWOOD WA 98087
EVERGREEN LOGISTICS CORP                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EVERGREEN NOTE SERVICING                 PO BOX 280 SUMNER WA 98390
EVERGREEN STATE ELECTRICAL SERVICES      8431 MALTBY RD SNOHOMISH WA 98296
EVERGREEN STATE TOWING                   D/B/A: RITZVILLE TOWING 6511 N PERRY ST SPOKANE WA 99217
EVERGREEN TRANSPORT INC                  5123 CHOCTAW RIDGE DR INDIANAPOLIS IN 46239
EVERGREEN TRANSPORTATION SERVICES CORP   OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084-8244
EVERGREEN TRANSPORTATION SERVICES LLC    5661 195TH AVE E BONNEY LAKE WA 98391
EVERGREEN VENDING                        1217 SW 7TH ST. STE 110 RENTON WA 98057
EVERGY                                   1200 MAIN ST KANSAS CITY MO 64105
EVERHART, ALEX                           ADDRESS ON FILE
EVERHART, DUSTIN                         ADDRESS ON FILE
EVERHART, JOHN                           ADDRESS ON FILE
EVERHART, MAXWELL                        ADDRESS ON FILE
EVERLIFT INDUSTRIAL TRUCK SERVICE        257 RIVER ST, PO BOX 326 ROCHDALE MA 01542
EVERLINE COATINGS & SERVICES WINNIPEG    214 TENNANT GATE WINNIPEG MB R2P 1X1 CANADA
EVERLING, MICHAEL                        ADDRESS ON FILE
EVERMAN TRANSPORT, LLC                   1709 MERCER-AUGLAIZE ROAD MINSTER OH 45865
EVERMILE EXPRESS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EVERMOVELLC                              OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
EVERS, JEFFREY                           ADDRESS ON FILE
EVERSOLE, LARRY                          ADDRESS ON FILE
EVERSON, KATHERYN                        ADDRESS ON FILE
EVERSOURCE                               300 CADWELL DR SPRINGFIELD MA 01104
EVERSOURCE                               107 SHELDON ST BERLIN CT 06037



Epiq Corporate Restructuring, LLC                                                                     Page 614 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 623 of 2156

Claim Name                           Address Information
EVERSOURCE ELECTRIC                  55 RUSSELL STREET HADLEY MA 01035
EVERSTAR REALTY                      1920 N. PITTSBURGH STREET, SUITE A KENNEWICK WA 99336
EVERTON, MELVIN                      ADDRESS ON FILE
EVERTS, MAKAYLA                      ADDRESS ON FILE
EVERY DAY TRUCKING TEAM INC          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EVERYDAY CARRIERS, INC.              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
EVERYDAY MOVING & STORAGE, LLC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EVERYDAY TRUCKING LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EVEX LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EVIN R RION                          ADDRESS ON FILE
EVINK, JAMES                         ADDRESS ON FILE
EVITT, CHARLES J                     ADDRESS ON FILE
EVJEN TRUCKING LLC                   2618 HERBERT DR BELOIT WI 53511
EVO SYSTEMS                          ATTN: JOANA PITRE GEODIS PO BOX 2208 BRENTWOOD TN 37024
EVOLA, ADRIANA                       ADDRESS ON FILE
EVOLUCITY LLC                        10507 ELLA BLVD SUITE 300 HOUSTON TX 77038
EVOLUTION EXPRESS LLC                EVOLUTION EXPRESS LLC, PO BOX 3658 CHESTER VA 23831
EVOLUTION LOGISTICS                  ATTN: CLAUDIA FRANCO 9800 NW 100TH RD MEDLEY FL 33178
EVOLUTION TRANSPORT INC              5725 PLATINUM DRIVE ERIE PA 16509
EVOLUTIONARY SYSTEMS CORP            400 TRADE CENTER SUITE 5860 WOBURN MA 01801
EVS MOBILE REPAIR LLC                3401 85TH AVE W ROCK ISLAND IL 61201
EVS MOBILE REPAIR LLC                7525 121ST ST W ANDALUSIA IL 61232
EVS MOBILE REPAIR LLC                7525 121ST W ANDALUSIA IL 61232
EVZ TRUCKING LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EW LOGISTICS SERVICE INC             55 KENNEDY DR HAUPPAUGE NY 11788
EW TRUCK & EQUIPMENT COMPANY INC     6336 FEDERAL BLVD SAN DIEGO CA 92114
EWALD, DELENA                        ADDRESS ON FILE
EWALD, KIP                           ADDRESS ON FILE
EWALD, SUZANNE                       ADDRESS ON FILE
EWALT, BRUCE                         ADDRESS ON FILE
EWART, RYAN                          ADDRESS ON FILE
EWAY TRANSIT, LLC                    PO BOX 620334 MIDDLETON WI 53562
EWELL, AMI                           ADDRESS ON FILE
EWELL, BRIAN                         ADDRESS ON FILE
EWELL, DANDRE                        ADDRESS ON FILE
EWELL, GRANT                         ADDRESS ON FILE
EWELL, RICHARD                       ADDRESS ON FILE
EWIG, JOHN W                         ADDRESS ON FILE
EWING BROS INC                       1200 A ST LAS VEGAS NV 89106
EWING IRRIGATION PRODUCTS            ATTN: ALLIED SEED LLC 9526 CORDOVA PARK RD CORDOVA TN 38018
EWING, EMORY                         ADDRESS ON FILE
EWING, GERMAINE                      ADDRESS ON FILE
EWING, JAMES                         ADDRESS ON FILE
EWING, JAYME                         ADDRESS ON FILE
EWING, KATHLEEN                      ADDRESS ON FILE
EWING, LMARCUS                       ADDRESS ON FILE
EWING, SANDRA                        ADDRESS ON FILE
EWING, TOMMY                         ADDRESS ON FILE
EWING, WILLIAM                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 615 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 624 of 2156

Claim Name                              Address Information
EWLG                                    PO BOX 464 TEANECK NJ 07666
EWM LOGISTICS INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EWO TRANSPORT LLC                       OR POWER FUNDING, PO BOX 111 FORT WORTH TX 76101
EWR TRANSPORTATION INC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
EWT                                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EWT (PIPERTON TN)                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
EX FREIGHT                              2290 10TH AVE 501 LAKE WORTH FL 33461
EX FREIGHT ZETA                         2290 10TH AVE N STE 501 LAKE WORTH FL 33461
EX FREIGHT ZETA INC                     ATTN: ANKIT KUMAR CLAIMS 2290 10TH AVE N STE 501 LAKE WORTH FL 33461
EX FREIGHT ZETA INC                     ATTN: ANKIT CLAIMS 2290 10TH AVE N STE 501 LAKE WORTH FL 33461
EXACTFIT TRANSPORTATION LLC             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
EXACTFIT TRANSPORTATION LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EXCAL INC                               1 EXCAL WAY PO BOX 3030 MILLS WY 82644
EXCALIBUR TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
EXCEL B S LIMITED                       RM 1306 13/F CARNIVAL COML BLDG 6 YUET YUEN ST NORTH POINT HONG KONG
EXCEL EAGLE TRUCKING LIMITED            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EXCEL ELECTRIC INCORPORATED             PO BOX 1634 BILLINGS MT 59103
EXCEL LOGISTICS                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EXCEL LOGISTICS AND SERVICES INC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EXCEL LOGISTICS INC                     130 CARROTWOOD LN POMONA CA 91767
EXCEL TRANS MANAGEMENT INC              OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
EXCEL TRANSPORT LLC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
EXCEL TRUCK & DIESEL                    370 E PRAIRIE CRYSTAL LAKE IL 60014
EXCEL TRUCK GROUP                       901 W. HUNDRED RD. CHESTER VA 23836
EXCEL TRUCK GROUP                       P.O. BOX 7178 ROANOKE VA 24019
EXCEL TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXCEL TRUCKING LLC (GRAND RAPIDS)       4245 CLAY AVE SW, 2ND FLOOR GRAND RAPIDS MI 49548
EXCEL TRUCKING LLC (MC841807)           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EXCELL SOLUTIONS INC                    GREG LENNARTZ, 18 ESQUIRE RD NORTH BILLERICA MA 01862
EXCELLIGENCE LEARNING CORP              ATTN: JENNIFER ROUNTREE RYAN TRANSP 9350 METCALF AVE OVERLAND PARK KS 66212
EXCL                                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EXCL LOGISTICS                          2810 144TH PL SW AUBURN WA 98001
EXCL LOGISTICS                          2810 144TH PL SW LYNNWOOD WA 98087
EXCLUSIVE A&N LOGISTICS LLC             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
EXCLUSIVE CARGO SOLUTIONS LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EXCLUSIVE HVAC                          11030 7TH AVE HESPERIA CA 92345
EXCLUSIVE MOVING AND DELIVERY LLC       PO BOX 669581 CHARLOTTE NC 28226
EXCLUSIVE TRANSPORTATION INC            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
EXECUTIVE CHOICE LOGISTICS LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EXECUTIVE CLEAN LLC                     P.O. BOX 1764 LITCHFIELD PARK AZ 85340
EXECUTIVE CLEAN LLC                     14605 W VERDE LN GOODYEAR AZ 85395
EXECUTIVE DOCKBOARD SERVICE             63 ROYAL OAK DRIVE WINCHESTER TN 37398
EXECUTIVE EXPEDITERS LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
EXECUTIVE FUNCTIONS MANAGEMENT INC      1202 3RD AVE N HUMBOLDT IA 50548
EXECUTIVE LOGISTICS & TRANSPORTATION    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LLC
EXECUTIVE SOLUTIONS WORLDWIDE, CORP     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EXECUTIVE TRANSPORT AND LOGISTICS LLC   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                        76116



Epiq Corporate Restructuring, LLC                                                                    Page 616 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 625 of 2156

Claim Name                               Address Information
EXEL                                     ATTN: MYRNA MALDONADO SC JOHNSON PROFESSIONAL 2815 COLISEUM CENTRE DR STE 600
                                         CHARLOTTE NC 28217
EXEL                                     ATTN: CHERYL WILSON SC JOHNSON PROFESSIONAL 1210 SOUTH PINE ISLAND PLANTATION
                                         FL 33324
EXEL                                     ATTN: MYRNA MALDONADO SC JOHNSON PROFESSIONAL 1210 SOUTH PINE ISLAND
                                         PLANTATION FL 33324
EXEL INC - MOPAR IDDS                    1717 E MATZINGER RD TOLEDO OH 43612
EXELL COMPANIES                          PO BOX 5393 JACKSON MS 39296
EXELLAR TRANSPORTATION INC               7289 TORBRAM RD BRAMPTON ON L4T 1G8 CANADA
EXEMPLARY LOGISTICS TRANSPORTATION       OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3384 DALLAS TX 75312-3381
EXET LLC                                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EXETER 1619 N PLAZA LLC                  FIVE RADNOR CORPORATE CENTER 100 MATSONFORD RD STE 250 RADNOR PA 19087
EXETER 1619 NORTH PLAZA, LLC             ATTN: ERIC DEO 100 MATSONFORD ROAD SUITE 250 RADNOR PA 19087
EXHAUST EMISSION REDUCTION SPECIALISTS   301 EAST BLAINE STREET CORONA CA 92879
EXHIBIT TRANSFER SYSTEMS LLC             5000 W ESPLANADE 185 METAIRIE LA 70006
EXIT 215 LOGISTICS LLC                   680 SHORE DRIVE LITHONIA GA 30058
EXL LOGISTICS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EXL SERVICE HOLDINGS INC                 320 PARK AVENUE, 29TH FLOOR NEW YORK NY 10022
EXL SERVICE HOLDINGS INC                 ROHIT KAPOOR, VICE CHAIRMAN AND CEO 320 PARK AVE 29TH FLOOR NEW YORK NY 10022
EXL SERVICE IRELAND LIMITED              PO BOX 411451 BOSTON MA 02241
EXODUS FREIGHT LTD                       OR ECAPITAL FREIGHT FACTORING 174 WEST ST SOUTH 2ND FLOOR ORILLA ON L3V 6L4
                                         CANADA
EXODUS TRANSPORTATION LLC                OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
EXOL PROPERTIES LLC                      PO BOX 249 MEDINA WA 98039
EXOL PROPERTIES, LLC                     ATTN: DAN TEMKIN PO BOX 249 MEDINA WA 98039
EXP LOGISTICS LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
EXPEDIA CARRIERS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXPEDITE LOGISTICS LTD                   OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE AB L6A 1S5 CANADA
EXPEDITE TRANSPORTATION INC              P.O. BOX 0983 BUFFALO NY 14240-0983
EXPEDITE TRANSPORTATION LLC              17771 JASPER CT LAKEVILLE MN 55044
EXPEDITE TRANSPORTATION, INC.            PO BOX 0984 BUFFALO NY 14240
EXPEDITED CARRIERS INC                   OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
EXPEDITED CARRIERS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
EXPEDITED FREIGHT LINERS                 OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
EXPEDITED FREIGHTWAY INC.                4460 W SHAW AVE 430 FRESNO CA 93722
EXPEDITED LLC (MC908099)                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EXPEDITED TRANSPORT INC                  C/O VERO BUSINESS CAPITAL, PO BOX 639565 CINCINNATI OH 45263-9565
EXPEDITED TRANSPORT INC                  LOVES FINANCIAL, 813 RIDGE LAKE BLVD MEMPHIS TN 38120
EXPEDITED TRANSPORT INC                  OR VERO BUSINESS CAPITAL, 3 ZUNI CIRCLE PENSACOLA FL 32507
EXPEDITED TRANSPORT SERVICES LLC         268 TROUT BROOK DR WEST HARTFORD CT 06110
EXPEDITED TRUCKING INC                   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
EXPEDITERS & TRANSPORT SOLUTIONS LLC     OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
EXPEDITING EXPERTS                       9235 SANGRIA LANE LAS VEGAS NV 89147
EXPEDITING USA                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXPEDITIOUS ELITE LOGISTICS LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EXPEDITIOUS ELITE LOGISTICS LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXPEDITOR LLC                            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EXPEDITORS                               1015 3RD AVE, FLR 12TH SEATTLE WA 98104-1190
EXPEDITORS CARGO                         INSURANCE BROKERS INC 1015 3RD AVE FL 12 SEATTLE WA 98104
EXPEDITORS CARGO INSURANCE BROKERS       1015 3RD AVE, FLR 12TH SEATTLE WA 98104-1190


Epiq Corporate Restructuring, LLC                                                                     Page 617 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 626 of 2156

Claim Name                           Address Information
EXPEDITORS INTERNATIONAL             ATTN: ANDREA DREXEL TRANSCON 8410 W BOB BULLOCK LOOP LAREDO TX 78045
EXPEDITORS INTL OF WASHINGTON INC    1015 3RD AVE, FLR 12TH SEATTLE WA 98104-1190
EXPEDITORS INTL OF WASHINGTON INC    ATTN: NICK KOT 1015 3RD AVE, FLR 12TH SEATTLE WA 98104-1190
EXPEDITUS TRANSPORT LLC              EXPEDITUS TRANSPORT LLC, PO BOX 350907 TOLEDO OH 43635
EXPERALDA CHAIN LOGISTICS LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EXPERIENCE TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EXPERIOR TRANSPORT                   12161 S CENTRAL AVENUE ALSIP IL 60803
EXPERSOLVE                           ATTN TREASURY, 3333 FINLEY RD STE 400 DOWNERS GROVE IL 60515
EXPERT HEATING & COOLING, CO.        24400 NORTHLINE RD TAYLOR MI 48180
EXPERT HVAC SERVICES, INC.           P.O. BOX 87959 PHOENIX AZ 85080
EXPERT MANAGEMENTS SYSTEMS LLC       6140 CENTRAL CHURCH RD DOUGLASVILLE GA 30135
EXPERT SERVICE LLC                   OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
EXPERT TREE & YARD SERVICE LLC       3550 SOCRATES DR RENO NV 89512
EXPERTS GARAGE DOORS LLC             PO BOX 35147 PHILADELPHIA PA 19128
EXPERTS TOWING INC                   PO BOX 121 221 FLAT IRON DR. BUFFALO WY 82834
EXPLORER TRANSPORTATION              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
EXPO LOGISTICS INC.                  1019 SHALIMAR DRIVE HIGH POINT NC 27262
EXPO LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EXPO LOGISTICS LLC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
EXPO TRUCKING INCORPORATED           OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
EXPO TRUCKING LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EXPORT TRADING LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
EXPORT TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EXPOTRANS                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EXPRESS 5TH WHEEL TRUCKING LLC       OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
EXPRESS 5TH WHEEL TRUCKING LLC       OR COMMERCIAL FINANCE PARTNERS LLC PO BOX 1209 WINTERPARK FL 32790
EXPRESS AG TRANSCONTINENTAL LLC      2106 SAVANNA CRT N LEAGUE CITY TX 77573
EXPRESS ALLIANCE COURIER INC         2628 LIME AVE SIGNAL HILL CA 90755-2719
EXPRESS ATLANTIC LTD CO              809 MERYTON CT MANSFIELD TX 76063
EXPRESS AUTO HAULERS LLC             297 KINDERKAMACK RD SUITE 300 ORADELL NJ 07649
EXPRESS AUTO SHIPPING LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EXPRESS CARE WEST, LLC               PO BOX 353 BELDEN MS 38826
EXPRESS CARRIER GROUP INC            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EXPRESS CARRIER LLC                  23645 N STOCKTON AVE FARMINGTON HILLS MI 48336
EXPRESS CARRIER SERVICES INC         OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
EXPRESS CENTER C O ORS NASCO         ATTN: MARK MORROW 9901 PRINCETON GLENDALE RD CINCINNATI OH 45246
EXPRESS CONNECT LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EXPRESS DEDICATED LLC                OR FSW FUNDING, PO BOX 467 DES MOINES IA 50302
EXPRESS DELIVERY                     PO BOX 9652 EL PASO TX 79995
EXPRESS DELIVERY INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
EXPRESS FREIGHT HANDLERS, INC.       PO BOX 30 GLEN HEAD NY 11545
EXPRESS FREIGHT SOLUTIONS            OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
EXPRESS HAVRE ST-PIERRE              1390, BLV LIONEL BOULET VARENNES QC J3X 1P7 CANADA
EXPRESS HOTSHOTS OF AMERICA LLC      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
EXPRESS INTERMODAL LOGISTICS         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
CORPORATION
EXPRESS LINE TRUCKING, LLC           921 N CALEB AVE SIOUX FALLS SD 57103
EXPRESS LINES LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EXPRESS LOADS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 618 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 627 of 2156

Claim Name                              Address Information
EXPRESS LOGISTICS PROFESSIONALS, INC.   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
EXPRESS MAN SERVICES                    24 HAWTHORN HILLS DR WARENTON MO 63383
EXPRESS MILE LOGISTICS LLC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EXPRESS ONE TRUCKING INC                2012 LYNWOOD RIDGE DR LAKE ST LOUIS MO 63367
EXPRESS OVERHEAD DOOR SERVICE           P.O. BOX 1281 CASPER WY 82601
EXPRESS PLATINUM TRUCKING LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
EXPRESS RG LLC                          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
EXPRESS ROADWAY TRANSPORTATION LLC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EXPRESS SAVE                            130 FALSO DR SYRACUSE NY 13211
EXPRESS SERVICES INC.                   PO BOX 535434 ATLANTA GA 30353
EXPRESS SERVICES INC.                   PO BOX 844277 LOS ANGELES CA 90084
EXPRESS SERVICES INC.                   PO BOX 4427 PORTLAND OR 97208
EXPRESS SOLUTION SERVICE                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
EXPRESS SYSTEM SOLUTION INC             OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
EXPRESS TEAM FREIGHT INC                OR VIVA CAPITAL FUNDING INC PO BOX 17548 EL PASO TX 79917
EXPRESS TRAILER REPAIR                  500 MULBERRY ST NEWARK NJ 07114
EXPRESS TRAILER REPAIR                  700 COURT ST ELIZABETH NJ 07201
EXPRESS TRANS INC                       OR EDEN TRANSPORT CAPTIAL LLC PO BOX 5699 CAROL STREAM IL 60197-5699
EXPRESS TRANSIT SYSTEMS LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EXPRESS TRANSPORT LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
EXPRESS TRANSPORT SOLUTION LLC          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
EXPRESS TRUCK LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXPRESS TRUCK REPAIR INC                7210 N BAKER ROAD FREMONT IN 46737
EXPRESS TRUCK REPAIR INC                ITR CONCESSION, 52551 ASH ROAD GRANGER IN 46530
EXPRESS TRUCK SERVICE                   2104 E MUSAT AVE FRESNO CA 93725
EXPRESS TRUCKER LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
EXPRESS TRUCKING CARRIERS LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EXPRESS UNION TRANSPORTATION INC        OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
EXPRESS WAY LINE LLC                    318 WINDCREST LN ANDERSON SC 29626
EXPRESS WAY TRUCKS CORP                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXPRESS WORLDWIDE INC                   20550 CARREY RD WALNUT CA 91789
EXPRESSHAWK LOGISTICS INC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
EXPRESSIONS                             5261 DIVISION AVE. WYOMING MI 49548
EXPRESSIT LOGISTICS                     500 MENLO DR STE 140 ROCKLIN CA 95765
EXPRESSWAY LOGISTICS LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
EXPRESSWAY LOGISTICS LLC (MC1006756)    OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
EXPRESSWAYUSA FREIGHT INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EXPRSS LOGISTICS INC                    4651 121ST ST URBANDALE IA 50323
EXT                                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EXTENDO BED                             4242 S EAGLESON RD STE 102 BOISE ID 83705
EXTENT LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
EXTINGUISHER SALES & SERVICE LLC        990 N LIBERTY ST HARRISONBURG VA 22802
EXTRA LOGISTICS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EXTRA MILE INTERNATIONAL INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
EXTRA SPACE STORAGE                     510 JOHNSON AVE. BOHEMIA NY 11716
EXTRA SPACE STORAGE                     934 WASHINGTON ST. NORWOOD MA 02072
EXTRA SPACE STORAGE                     10 STRECKER RD. ELLISVILLE MO 63011
EXTRA SPACE STORAGE                     2795 E COTTONWOOD PKWY, 400 COTTONWOOD HEIGHTS NY 84121
EXTREME CARRIERS INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479



Epiq Corporate Restructuring, LLC                                                                    Page 619 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 628 of 2156

Claim Name                             Address Information
EXTREME DIMENSIONS                     1920 W MALVERN AVE FULLERTON CA 92833
EXTREME DIMENSIONS                     ATTN: ANGIE TAIMAN 1920 W MALVERN AVE FULLERTON CA 92833
EXTREME DIMENSIONS                     ATTN: DESTINEE CONSALVI 1920 W MALVERN AVE FULLERTON CA 92833
EXTREME HEATING AND AIR CONDITIONING   712 N FAIRFIELD RD BEAVERCREEK OH 45434
EXTREME MOBILE SERVICES, INC.          2151 MANANA DRIVE DALLAS TX 75220
EXTREME QUALITY GROUP                  OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
EXTREME TRAILER SERVICE LLC            117 INDUSTRIAL WAY CHARLESTOWN IN 47111
EXTREME TRANSPORTATION                 7377 EXPRESSWAY DR SUITE D GRAND RAPIDS MI 49548
EXTREME TRANSPORTATION (MC509005)      3405 22ND ST MENOMINEE MI 49858
EXXACT TRANSPORT, INC.                 PO BOX 95545 LAKELAND FL 33804
EXXON STATION                          903 ROOSEVELT BLVD ELEANOR WV 25070
EY LAW LLP                             PO BOX 57176 POSTAL STATION A TORONTO ON M5W 5M5 CANADA
EYEMG - INTERACTIVE MEDIA GROUP        190 N UNION ST STE 300 AKRON OH 44304
EYL TRUCKING LLC                       OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                       UT 84130
EYOB HABTEMARIAM                       ADDRESS ON FILE
EZ AUTO TRANSPORT                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
EZ CARRIER LLC                         12122 SE 280TH CT KENT WA 98030-8533
EZ DASHER LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EZ GLOBAL CARRIERS INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EZ GO TEXTRON                          D/B/A: TEXTRON EZ-GO US BANK 3010 PERKINS RD AUGUSTA GA 30906
EZ GROOMER                             34052 S DICKEY PRAIRIE RD MOLALLA OR 97038
EZ HAULING INC                         OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
EZ LOAD TRANSPORT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
EZ LOGICAL LOGISTICS LLC               OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
EZ ONE EXPRESS LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
EZ ROYAL TRANS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EZ SHIPPING PRINT & OFFICE LLC         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EZ TRANSPORTS LLC                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
EZ TRUCKING SERVICE LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
EZ WAY CARRIERS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
EZ WAY TRANSPORT,INC.                  571 WALNUT WAY CHOWCHILLA CA 93610
EZ WAY TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
EZANA LLC                              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
EZECHI, RAY                            ADDRESS ON FILE
EZELL, CURTIS                          ADDRESS ON FILE
EZELL, JAMES                           ADDRESS ON FILE
EZELL, KENNETH                         ADDRESS ON FILE
EZEROD TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
EZRA 2 LLC                             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
EZRA TRANSPORT LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
EZU TRANSPORTATION LLC                 OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
EZZO, ANDRE                            ADDRESS ON FILE
F & A CARRIERS INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
F & C TRANSPORT, INC.                  15045 TIMBERWOOD LANE MINSTER OH 45865
F & D TRUCKING INC                     36730 IROQUOIS DR STERLING HEIGHTS MI 48310
F & E TRANSPORT INC                    5855 N WAYNE ROAD WESTLAND MI 48185
F & F EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
F & F TRUCK EQUIPMENT INC              3810 E 8TH AVE TAMPA FL 33605



Epiq Corporate Restructuring, LLC                                                                   Page 620 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 629 of 2156

Claim Name                           Address Information
F & F TRUCKING                       PO BOX 9 BERNARD IA 52032-0009
F & H TRUCKING LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
F & J PRODUCE TRANSPORT LLC          3960 HUNTER ST RIVERSIDE CA 92509
F & J TRUCKING LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
F & R LOGISTICS INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
F & R NEW HORIZON LLC                OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
F & S EXPRESS LLC                    OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
F & SON LLC                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
F & W TRANSPORTATION, INC.           4197 MIKE PADGETT HWY AUGUSTA GA 30906
F AND A TRUCK TRANSPORT LLC          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
F AND M EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
F B M TRANSPORTATION INC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
F C EXPRESS INC                      OR BC FACTORING LLC, P.O. BOX 172091 MEMPHIS TN 38187
F E BENNETT COMPANY                  739 NE BROADWAY PORTLAND OR 97232
F E S                                2946 HOLIDAY WAY GREENWOOD IN 46143
F FOOTS LLC                          OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
F H TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
F M B TRUCKING LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
F M C CORPORATION                    ATTN AUBREY WEAVER, 974 CENTRE ROAD WILMINGTON DE 19805
F P I                                2201 B LAKESIDE BLVD EDGEWOOD MD 21040
F P WOLL & COMPANY                   10060 SANDMEYER LN PHILADELPHIA PA 19116
F R AIRE MECHANICAL HEATING &        AIR CONDITIONING 280 AVENIDA CAMPILLO STE E CALEXICO CA 92231
F T S                                OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
F W WEBB COMPANY                     ATTN: CHRIS KOWALSKI 33 SWORD ST AUBURN MA 01501
F Z R TRANSPORT INC                  6003 GLEN ROSE AVE BAKERSFIELD CA 93313
F&A ENTERPRISES LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
F&A FREIGHT SYSTEM LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
F&A TRANSPORTATION                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
F&C LINE LOGISTICS INC               OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
F&F TAPIA TRANSPORT INC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
F&G TRANSPORTATION LLC               OR RIVIERA FINANCE OF PHILADELPHIA INC PO BOX 713394 PHILADELPHIA PA
                                     19171-3394
F&H TRUCKING LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
F&K OIL PARTNER                      110 EAST LONGDEN AVE IRWINDALE CA 91706
F&M FREIGHT LLC                      OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                     UT 84130
F&M LOGISTICS                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
F&M LOPEZ TRUCKING                   10311 COUNTRY CORNER SAN ANTONIO TX 78245
F&M TRANSPORT LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
F&M2 LUXURY LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
F&S EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
F&S EXPRESS LLC (MC1156481)          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
F&S LIFELINE LLC                     OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
F&W PEST CONTROL INC                 190 INDUSTRIAL RD SUITE 5 WRENTHAM MA 02093
F-ETRANS INC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
F-M FORKLIFT SALES & SERVICE, INC.   4350 MAIN AVE FARGO ND 58103
F-M FORKLIFT SALES & SERVICE, INC.   PO BOX 2192 FARGO ND 58108
F. EXPRESS INC.                      525 93 EME RUE ST GEORGES QC G5Y 3K4 CANADA
F.A.K. TRANSPORTATION, INC.          2629 FOOTHILL BLVD, 544 LA CRESCENTA CA 91214



Epiq Corporate Restructuring, LLC                                                                Page 621 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 630 of 2156

Claim Name                              Address Information
F.E. HIOTT TRUCKING LLC                 OR MATCH FACTORS, PO BOX 13259 FLORENCE SC 29504
F.E.I. LOGISTICS                        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
F1 EXPRESS INC                          OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3385 DALLAS TX 75312
F1 EXPRESS INC (MC672161)               16011 LOS ALIMOS GRANADA HILLS CA 91344
F2 FREIGHT GROUP INC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
F2F TRANSPORT, LLC                      PO BOX 306445 NASHVILLE TN 37230-6445
F2F TRANSPORT, LLC                      PO BOX 2487 CHATTANOOGA TN 37409
FA INTERNATIONAL TRANSPORT LLC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FAA AIR TRAFFIC CONTROL                 8000 LOUISIANA BLVD. NE ALBUQUERQUE NM 87109
FAA LOGISTICS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAAITU, LOTUTAMAITI                     ADDRESS ON FILE
FAAOPEGA, TIMOTHY                       ADDRESS ON FILE
FAAOPEGA, ZION                          ADDRESS ON FILE
FAARAH LLC                              OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                        35246-2659
FAASALA, BELLA                          ADDRESS ON FILE
FAASOOTAULOA, KELEMETE                  ADDRESS ON FILE
FAATIGA, FAATIGA                        ADDRESS ON FILE
FAB GLASS                               ATTN: TEHMAS BAIG 499 DOUGLUS RD E OLDSMAR FL 34677
FAB6 LOGISTICS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FABBEN SPECIALIZED TRANSPORTATION LLC   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FABER, ROBERT                           ADDRESS ON FILE
FABER, TYRONE                           ADDRESS ON FILE
FABIAN FABIAN, ROMAN                    ADDRESS ON FILE
FABIAN PASILLAS                         ADDRESS ON FILE
FABIAN, JOHN                            ADDRESS ON FILE
FABIANCZYK, ANDY                        ADDRESS ON FILE
FABLE, BERTLEY                          ADDRESS ON FILE
FABLE, JAMES                            ADDRESS ON FILE
FABRA LOGISTICS                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FABRE, DAKOTA                           ADDRESS ON FILE
FABRIZI TRUCKING & PAVING CO INC        20389 FIRST AVENUE MIDDLEBURG HEIGHTS OH 44130
FABULOUS TRUCKING INC                   OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
FACE 2 FACE EXPRESS                     FACE 2 FACE EXPRESS, 405 BEAMER DR ANDERSON SC 29625
FACE OFF TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
FACEY LOGISTICS LLC                     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FACEY, DWANE                            ADDRESS ON FILE
FACEY, DWANE                            ADDRESS ON FILE
FACILITY SERVICES NORTHWEST LLC         PO BOX 1146 ORTING WA 98360
FACILITY SOLUTIONS GROUP, INC.          P.O. BOX 674491 DALLAS TX 75267
FACILITY SOLUTIONS GROUP, INC.          PO BOX 952143 DALLAS TX 75395
FACILITY SUPPLY SYSTEMS, INC.           PO BOX 952 PLAINFIELD IL 60544
FACIO, ALBERT                           ADDRESS ON FILE
FACKLER TRANSPORTATION INC              3460 KIMBALL CIRCLE COLORADO SPRINGS CO 80910
FACTION OF ONE TRANSPORT LLC            5185 CREEK BEND CT NW CLEVELAND TN 37312
FACTOR SYSTEMS, INC.                    DBA BILL TRUST, 75 REMITTANCE DRIVE CHICAGO IL 60675
FACTORY DIRECT INC                      15401 INDUSTRIAL DR SCHOOLCRAFT MI 49087
FACTORY MOTOR BRANDS                    137 N. BRANFORD RD. BRANFORD CT 06405
FACTORY MOTOR PARTS 28                  300 CALAIS DR STE 1 ANCHORAGE AK 99503



Epiq Corporate Restructuring, LLC                                                                   Page 622 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 631 of 2156

Claim Name                           Address Information
FACTORY MOTOR PARTS 71               346 N STEELHEAD WAY BOISE ID 83704
FACUNDO TRUCKING LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FACZAN, DAVID                        ADDRESS ON FILE
FADAL EXPRESS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FADALE, LOUIS                        ADDRESS ON FILE
FADEL, NIZAR                         ADDRESS ON FILE
FADER, RICHARD                       ADDRESS ON FILE
FAGAN, JACOB                         ADDRESS ON FILE
FAGAN, RALPH                         ADDRESS ON FILE
FAGGANS, HOWARD                      ADDRESS ON FILE
FAGIN TRANSPORT, LLC.                252 BANBERRY DRIVE ATLANTA GA 30315
FAGNANT, MARC                        ADDRESS ON FILE
FAGNANT, MARC                        ADDRESS ON FILE
FAGYAS, JAMES                        ADDRESS ON FILE
FAHAD TRUCKING                       OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
FAHEEM, FNU                          ADDRESS ON FILE
FAHERTY, DENNIS                      ADDRESS ON FILE
FAHEY, JOHN                          ADDRESS ON FILE
FAHRNER, BERNARD                     ADDRESS ON FILE
FAID, NOORALDIN                      ADDRESS ON FILE
FAIDLEY, JAMES                       ADDRESS ON FILE
FAILAUGA, TUPU                       ADDRESS ON FILE
FAILING, BRIAN                       ADDRESS ON FILE
FAILOR TRUCK SERVICE                 2155 FOREST GROVE RD CORAOPOLIS PA 15108
FAILOR, TONI                         ADDRESS ON FILE
FAILS, ALLEN                         ADDRESS ON FILE
FAIMALIE, JOHN                       ADDRESS ON FILE
FAIN, JEREMY                         ADDRESS ON FILE
FAIN, MICHAEL                        ADDRESS ON FILE
FAIN, RODNEY                         ADDRESS ON FILE
FAIN-FEASTER, DONNETTA               ADDRESS ON FILE
FAINI, DONNA                         ADDRESS ON FILE
FAIR ADVANCES                        OR SMART FREIGHT FUNDING, PO BOX 3474 OMAHA NE 68103
FAIR DEAL TRANSPORT LTD              OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
FAIR FREIGHT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FAIR TRUCKING CORP.                  5021 N OVERHILL AVE NORRIDGE IL 60706
FAIR, BILLY                          ADDRESS ON FILE
FAIRBANKS SCALES INC.                PO BOX 419655 KANSAS CITY MO 64121
FAIRBANKS, ARTHUR                    ADDRESS ON FILE
FAIRBANKS, KENT                      ADDRESS ON FILE
FAIRBORN EQUIPMENT COMPANY OF        ILLINOIS, 331 EISENHOWER LANE SOUTH LOMBARD IL 60148
FAIRBROOK TRUCKING LLC               2705 BASTION DR ROCK SPRINGS WY 82901-7178
FAIRCHILD EQUIPMENT INC              2140 HUTSON RD GREEN BAY WI 54303
FAIRCHILD EQUIPMENT INC              PO BOX 856386 MINNEAPOLIS MN 55485
FAIRCHILD, GARY                      ADDRESS ON FILE
FAIRCHILD, LONNIE                    ADDRESS ON FILE
FAIRDALE TRANSPORTATION LLC          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FAIRFIELD III, WILLIAM               ADDRESS ON FILE
FAIRFIELD, JEFFERY                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 623 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 632 of 2156

Claim Name                               Address Information
FAIRGROUNDS TRANSPORTATION INC           3100 AIRWAY AVE STE 107 COSTA MESA CA 92626
FAIRLEY TRUCKING LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FAIRLEY, VAUGHN                          ADDRESS ON FILE
FAIRVIEW FITTINGS                        3777 COMMERCE CT NORTH TONAWANDA NY 14120
FAIRWAY EXPRESS LLC (MC1339323)          OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
FAIRWAY TRUCKING LLC                     1902 TAMARACK CIR N APT B COLUMBUS OH 43229
FAIRWAY TRUCKING LLC (MC1023270)         676 COUNTY HIGHWAY 184 HODGES AL 35571-4424
FAIRY TALES INC                          ATTN: JOE ANZISI 4 JUST RD FAIRFIELD NJ 07004
FAISON GENERATIONAL TRUCKING LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAISON, CHRISTOPHER                      ADDRESS ON FILE
FAISON, JAMES                            ADDRESS ON FILE
FAISON, JOEL                             ADDRESS ON FILE
FAISON, TASHALA                          ADDRESS ON FILE
FAITAU, PHILLIP                          ADDRESS ON FILE
FAITH DELIVERIES CORP                    2332 OLD COVINGTON HIGHWAY CONYERS GA 30012
FAITH ENTERPRISES OF THE CAROLINAS LLC   OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
FAITH EXPRESS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FAITH FIRST TRANSPORTATION               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FAITH IMMEDIATE CARE & OCCUP MEDICINE    1308 NORTH GLENSTONE SPRINGFIELD MO 65802
FAITH LOGISTICS INC                      OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
FAITH M BOSTICK                          ADDRESS ON FILE
FAITH ONE TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FAITH TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FAITH TRUCKING                           2544 ACAPULCO WAY MODESTO CA 95355
FAITH, TIMOTHY                           ADDRESS ON FILE
FAITHFUL 33 TRUCKING LLC                 OR PDM FINANCIAL LLC, P.O.BOX 3336 DES MOINES IA 50316
FAITHFUL FREIGHT TRANSPORTATION INC      OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
FAITHFUL JOURNEY TRUCKING LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAITHFULLY AMBITIOUS TRUCKING LLC        OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
FAITHULLAH, NOOR                         ADDRESS ON FILE
FAJARDO, JOSE                            ADDRESS ON FILE
FAK LOGISTICS INC                        PO BOX 5187 DENVER CO 80217
FAK TRUCKING                             1213 N. SHERMAN AVE 346 MADISON WI 53704
FALCAM TRUCKING INC                      OR MCDOWELL FACTOR & CAPITAL SVCS LLC PO BOX 161086 ALTAMONTE SPRINGS FL
                                         32716-1086
FALCHEK, ROBERT                          ADDRESS ON FILE
FALCO TRANS INC                          4790 SPRINGBROOK RD PLEASANT PRARIE WI 53158
FALCO, JOSEPH                            ADDRESS ON FILE
FALCO, NICHOLAS                          ADDRESS ON FILE
FALCO, SALVATORE                         ADDRESS ON FILE
FALCON 88 TRANSPORT INC                  OR PRO FUNDING INC DEPT 3045, PO BOX 1004 MEMPHIS TN 38148-3045
FALCON BEACH AUTO SERVICE                74 PARK BLVD FALCON BEACH MB R0E 0N0 CANADA
FALCON CARRIER LLC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FALCON EXPRESS                           11150 WATER ELM PL FONTANA CA 92337
FALCON FREIGHT INC                       121 NORMAN STREET ROCHESTER NY 14613
FALCON FREIGHT LLC (TIPP CITY OH)        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FALCON LLC                               OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
FALCON LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                     Page 624 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 633 of 2156

Claim Name                              Address Information
FALCON LOGISTICS LLC (BOWLING GREEN KY) OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FALCON LOGISTICS LLC (MIDLOTHIAN VA)    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FALCON TRANSPORT INC.                   11917 SARA RD LAREDO TX 78045
FALCON TRANSPORT INC. (SASKATOON SK)    OR REVOLUTION CAPITAL 27 ROYTEC RD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
FALCON TRANSPORT, INC.                  525 BELITZ DRIVE KIEL WI 53042
FALCON TRANSPORT, INC. (LANCASTER PA)   PO BOX 11415 LANCASTER PA 17605-1415
FALCON TRANSPORTATION LLC               PO BOX 1798 PRESQUE ISLE ME 04769
FALCON TRANSPORTATION LLC (MC1204692)   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FALCON TRUCK SERVICES LLC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
FALCON TRUCKING & LOGISTICS MGMT CORP   OR COMMERCE COMMERCIAL CREDIT INC PO BOX 88714 MILWAUKEE WI 53288-8714
FALCON TRUCKING AND LOGISTICS LLC       OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
FALCON TRUCKING LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
FALCON WORLD LLC                        OR TRANSWEST CAPITAL PO BOX 123381, DEPT 3386 DALLAS TX 75312-3381
FALCON, DENNIS                          ADDRESS ON FILE
FALCONE SPECIALIZED                     3340 PEACHTREE RD NE ATLANTA GA 30326
FALCONE SPECIALIZED                     PO BOX 856006 MINNEAPOLIS MN 55485
FALCONE SPECIALIZED CARRIERS            1628 JFK BLVD 2002 PHILADELPHIA PA 19103
FALCONITE DEVELOPMENT                   156 BLEICH RD. STE 103 PADUCAH KY 42003
FALEMAKA, IPOLITO                       ADDRESS ON FILE
FALER, BRIAN                            ADDRESS ON FILE
FALETTI, CAROLE                         ADDRESS ON FILE
FALIHEE, LORETTA                        ADDRESS ON FILE
FALK, AARON                             ADDRESS ON FILE
FALK, ALBERT                            ADDRESS ON FILE
FALKENBURG, EDDIE                       ADDRESS ON FILE
FALKNER, ANTHONY J                      ADDRESS ON FILE
FALKNER, EDWARD                         ADDRESS ON FILE
FALKNER, LAWRENCE                       ADDRESS ON FILE
FALL, RYAN                              ADDRESS ON FILE
FALLAD, JASSAN                          ADDRESS ON FILE
FALLEN, AARON                           ADDRESS ON FILE
FALLS PLUMBING                          ATTN: CHEREE BOWDEN 525 E ANDERSON ST IDAHO FALLS ID 83401
FALLS, BRENNENT                         ADDRESS ON FILE
FALLS, BRUCE                            ADDRESS ON FILE
FALLS, MONTEY                           ADDRESS ON FILE
FALTER, BRIAN                           ADDRESS ON FILE
FALU LOGISTICS                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FALVEY SHIPPERS INSURANCE               66 WHITECAP DR NORTH KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: JEREMY TRIELOFF 66 WHITECAP DR NORTH KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: LAURA DOIRON C/O OCEAN CARGO RECOVERIES 66 WHITECAP DR NORTH KINGSTOWN
                                        RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: LAURA DOIRON OCEAN CARGO RECOVERIES INC 66 WHITECAP DRIVE NORTH
                                        KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: MIKAYLA OSBERG C/O OCEAN CARGO RECOVERIES INC 66 WHITECAP DR NORTH
                                        KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: MIKAYLA OSBERG C/O OCEAN CARGO RECOVERIES 66 WHITECAP DR NORTH KINGSTOWN
                                        RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: MIKAYLA OSBERG OCEAN CARGO RECOVERIES, INC 66 WHITECAP DRIVE NORTH
                                        KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE               ATTN: MIKE BOYLEN 66 WHITECAP DR NORTH KINGSTOWN RI 02852


Epiq Corporate Restructuring, LLC                                                                    Page 625 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 634 of 2156

Claim Name                               Address Information
FALVEY SHIPPERS INSURANCE                ATTN: SHARMAINE FLINT C/O OCEAN CARGO RECOVERIES INC 66 WHITECAP DR NORTH
                                         KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE                ATTN: SHARMAINE FLINT C/O OCEAN CARGO RECOVERIES 66 WHITECAP DR NORTH
                                         KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE                ATTN: SHARMAINE FLINT OCEAN CARGO RECOVERIES INC 66 WHITECAP DRIVE NORTH
                                         KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE                C/O OCEAN CARGO REC, 66 WHITECAP DR NORTH KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE                C/O OCEAN CARGO RECOVERIES INC 66 WHITECAP DR NORTH KINGSTOWN RI 02852
FALVEY SHIPPERS INSURANCE                OCEAN CARGO RECOVERIES, INC 66 WHITECAP DRIVE NORTH KINGSTOWN RI 02852
FALZONE, LAWRENCE                        ADDRESS ON FILE
FALZONE, VINCENT                         ADDRESS ON FILE
FALZONES TOWING & SERVICE INC            271 NORTH SHERMAN ST WILKES BARRE PA 18702
FAM 1ST LOGISTICS LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
FAM EXPRESS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FAM FREIGHT LLC                          OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
FAM LOGISTICS                            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FAM TRANSPORT LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FAM TRANSPORTATION INC                   260 KINGS MALL CT KINGSTON NY 12401
FAMA TRUCKING LLC                        OR ATLAS FACTORING LLC 906 N MESA, STE 301 EL PASO TX 79902
FAMAGELTTO, JOSEPH                       ADDRESS ON FILE
FAME MFG.                                ATTN: ED DANGEL PO BOX 939 SAEGERTOWN PA 16433-0939
FAMILY 1ST TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FAMILY 1ST TRUCKING LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FAMILY ALLIANCE TRUCKING&BROKERAGE LLC   OR FAIR FACTORING AND FINANCING INC 276 SHERYL DR DELTONA FL 32738
FAMILY COMES FIRST TRUCKING LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FAMILY FIRST ELITE TRUCKING LLC          OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                         76116
FAMILY FIRST TRANSPORTATION LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAMILY FIRST TRUCKING LLC                1229 KINGSTON GARDEN ROAD PRATTVILLE AL 36067
FAMILY FIRST TRUCKING LLC (MC1346979)    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FAMILY FREIGHT CARRIERS LLC              OR INTEGA FUNDING SOLUTIONS, 6300 RIDGLEA PLACE, STE 1101 FORT WORTH TX 76116
FAMILY LOGISTICS INC                     27207 NORTHLINE ROAD TAYLOR MI 48180
FAMILY LOGISTICS INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FAMILY MISSION LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FAMILY N REVENUE TRANSPORTATION COMPANY OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FAMILY RESPONSIBILITY OFFICE,            PO BOX 220 DOWNSVIEW ON M3M3A3 CANADA
FAMILY RESPONSIBILITY OFFICE,            PO BOX 2204 STATION P DOWNSVIEW ON M5S 3E9 CANADA
FAMILY RESPONSIBILITY OFFICE,            PO BOX 2204 STATION P TORONTO ON M5S 3E9 CANADA
FAMILY RESPONSIBILITY OFFICE,            MINISTRY OF COMMUNITY SOCIAL PO BOX 2204, STATION P TORONTO ON M5S-3E9 CANADA
FAMILY TIES TRANSPORT LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FAMILY TRANS LLC                         OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
FAMILY TRANSPORT LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
FAMILY TRUCKING                          22215 ELWELL RD BELLEVILLE MI 48111
FAMILY TRUCKING INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FAMO FREIGHT LLC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FAMOSO LANES INC                         OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
FAMOUS INTERNATIONAL LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAMOUS INTERNATIONAL TRANSPORTATION LLC OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FANA, RON                                ADDRESS ON FILE
FANCHER, JIM                             ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                    Page 626 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 635 of 2156

Claim Name                          Address Information
FANDE TRANSPORTATION                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FANDREY, JEFFREY                    ADDRESS ON FILE
FANECHEAN, MORRIS                   ADDRESS ON FILE
FANIA LOGISTIC LLC                  OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                    76116
FANNIN, LARRY                       ADDRESS ON FILE
FANNING, KEVIN                      ADDRESS ON FILE
FANS TRANSPORTATION INC             13775 MAGNOLIA AVE B CHINO CA 91710
FANT, EDWARD                        ADDRESS ON FILE
FANT, KAILEN                        ADDRESS ON FILE
FANTON LOGISTICS INC                10801 BROADWAY AVE CLEVELAND OH 44125
FANUS LOGISTICS LLC                 OR PHOENIX CAPTIAL GROUP, PO BOX 1415 DES MOINES IA 50305
FAP LOGISTICS LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
FAR EXPRESS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FARAH, AZIZ                         ADDRESS ON FILE
FARAH, MOHAMOUD                     ADDRESS ON FILE
FARAH, TODD                         ADDRESS ON FILE
FARAJ, REAL                         ADDRESS ON FILE
FARAJA LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FARASI LOGISTICS LLC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
FARBER MECHANICAL CONTRACTORS       800 E 12TH AVE COLUMBUS OH 43211
FARBER, JOSEPH                      ADDRESS ON FILE
FARCOUNTRY PRESS                    PO BOX 5630 HELENA MT 59604
FAREAST INC                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FAREEY EXPRESS LLC                  1446 E WARBLER RD GILBERT AZ 85297-0203
FARES TRUCKLINES LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FAREWELL EXPRESS, INC.              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAREY TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FARFAN EXPRESS                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FARGAN TRANS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FARGO DELIVERY SYSTEMS INC          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FARGO DELIVERY SYSTEMS INC          PO BOX 591 MIRA LOMA CA 91752-0591
FARGO FREIGHT INC                   748 GOODFIELD LNDG ELGIN IL 60124
FARGO FREIGHT LINES INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FARGO TIGER INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FARGO TRUCKING LOGISTIC LLC         OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
FARHAN KHALIL                       ADDRESS ON FILE
FARHAN, OMAR                        ADDRESS ON FILE
FARHAT, KEVIN                       ADDRESS ON FILE
FARIA, GEORGE                       ADDRESS ON FILE
FARIA, VINCENT                      ADDRESS ON FILE
FARIADACUNHA, DARREN P              ADDRESS ON FILE
FARIADACUNHA, DARREN P              ADDRESS ON FILE
FARIAS BROTHERS TRANSPORT           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
FARIAS, FRANK                       ADDRESS ON FILE
FARIAS, MICHELLE                    ADDRESS ON FILE
FARIAS, ROBERT                      ADDRESS ON FILE
FARINA, SHEILA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 627 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 636 of 2156

Claim Name                           Address Information
FARINAS-AMARGO, YSABELITA            ADDRESS ON FILE
FARIOS LOGISTICS CORP                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FARIOTTE LLC                         OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FARKAS, DANIEL                       ADDRESS ON FILE
FARLEO, JOHN M                       ADDRESS ON FILE
FARLEO, JOHN M                       ADDRESS ON FILE
FARLESS, DESTINY                     ADDRESS ON FILE
FARLEY C TOLLE                       ADDRESS ON FILE
FARLEY JR, JOHN                      ADDRESS ON FILE
FARLEY, GREG                         ADDRESS ON FILE
FARLEY, KANNE                        ADDRESS ON FILE
FARLEY, KEITH                        ADDRESS ON FILE
FARLEY, MIKE                         ADDRESS ON FILE
FARLEY, SAMUEL                       ADDRESS ON FILE
FARLEY, STEVE                        ADDRESS ON FILE
FARLEY, STEVEN                       ADDRESS ON FILE
FARLEY, TERENCE                      ADDRESS ON FILE
FARLLING, GEORGE                     ADDRESS ON FILE
FARM BOY INC                         2628 HELENA RD FLEMINGSBURG KY 41041
FARM PLAST LLC.                      125 E. HALSEY RD. PARSIPPANY NJ 07054
FARM TRANSPORT LLC                   1353 COLUMBUS-SANDUSKY RD S MARION OH 43302
FARMER JR, BOBBY                     ADDRESS ON FILE
FARMER TRUCKING INC                  201 PARKLAND DR STEPHENSON VA 22656
FARMER, ANNETTE                      ADDRESS ON FILE
FARMER, BRIAN                        ADDRESS ON FILE
FARMER, CHRISTOPHER                  ADDRESS ON FILE
FARMER, CODY                         ADDRESS ON FILE
FARMER, COLTON                       ADDRESS ON FILE
FARMER, JACOB                        ADDRESS ON FILE
FARMER, JATAVIOUS                    ADDRESS ON FILE
FARMER, JOSHUA                       ADDRESS ON FILE
FARMER, LAQUAN                       ADDRESS ON FILE
FARMER, LISA                         ADDRESS ON FILE
FARMER, MICHAEL                      ADDRESS ON FILE
FARMER, MICHAEL                      ADDRESS ON FILE
FARMER, MICHAEL                      ADDRESS ON FILE
FARMER, NATHAN                       ADDRESS ON FILE
FARMER, ROMAN                        ADDRESS ON FILE
FARMLAND TRACTOR SUPPLY              32427 HWY 34 TANGENT OR 97389
FARNELL, SIMONE                      ADDRESS ON FILE
FARNER, BRIAN                        ADDRESS ON FILE
FARNER, MACHELL                      ADDRESS ON FILE
FARNER, WESLEY                       ADDRESS ON FILE
FARNSWORTH HAYWOOD, JACOB            ADDRESS ON FILE
FARNSWORTH WHOLESALE                 3830 E WIER AVE PHOENIX AZ 85040
FARNSWORTH, MARK                     ADDRESS ON FILE
FARON, ANTHONY                       ADDRESS ON FILE
FAROOQ TRUCKING LLC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FARQUHAR, PAUL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 628 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 637 of 2156

Claim Name                              Address Information
FARR, DAVID                            ADDRESS ON FILE
FARR, DELISE                           ADDRESS ON FILE
FARR, STEVEN                           ADDRESS ON FILE
FARRAR, DARRION                        ADDRESS ON FILE
FARRAR, JOHN                           ADDRESS ON FILE
FARRELL BROS ONE HOUR &                BEN FRANKLIN PLUMBING 6 SIMMONS LANE ALBANY NY 12204
FARRELL TRANSPORT LLC                  6395 AUMSVILLE HWY SE SALEM OR 97317
FARRELL, CHARLES                       ADDRESS ON FILE
FARRELL, JETT                          ADDRESS ON FILE
FARRELL, MARTY                         ADDRESS ON FILE
FARRELL, MATTHEW W                     ADDRESS ON FILE
FARRELL, MICHAEL                       ADDRESS ON FILE
FARRELL, SEAN                          ADDRESS ON FILE
FARRELL, THERESA                       ADDRESS ON FILE
FARRELL, VINCENT                       ADDRESS ON FILE
FARRELL, WILLIAM E                     ADDRESS ON FILE
FARRELLS GLASS SERVICE                 204 S. FIR ST., PO BOX 849 MEDFORD OR 97501
FARRELLS GLASS SERVICE                 229 S FRONT ST, PO BOX 849 MEDFORD OR 97501
FARRINGTON JR, CHARLES                 ADDRESS ON FILE
FARRINGTON TOWING LLC                  924 SW 3RD STREET OKLAHOMA CITY OK 73109
FARRINGTON TRUCK PARTS AND REPAIR, INC. 924 SW 3RD ST OKLAHOMA CITY OK 73109
FARRINGTON, BRITTANY                   ADDRESS ON FILE
FARRINGTON, JAMES B                    ADDRESS ON FILE
FARRINTON, CHARLES                     ADDRESS ON FILE
FARRIOR ENTERPRISES INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FARRIOR, PRINCELLA                     ADDRESS ON FILE
FARRIS, DURAY                          ADDRESS ON FILE
FARRIS, JAMES                          ADDRESS ON FILE
FARRIS, JAMES                          ADDRESS ON FILE
FARRIS, JOEL                           ADDRESS ON FILE
FARRIS, MICAH                          ADDRESS ON FILE
FARRIS, NICHOLAS                       ADDRESS ON FILE
FARRIS, PHILLIP                        ADDRESS ON FILE
FARRIS, QUINCY                         ADDRESS ON FILE
FARRIS, RAYCE                          ADDRESS ON FILE
FARRIS, REID                           ADDRESS ON FILE
FARRIS, SHEYLA                         ADDRESS ON FILE
FARRIS, TIMOTHY                        ADDRESS ON FILE
FARRIS, VIRGIL                         ADDRESS ON FILE
FARRISH, DOUGLAS                       ADDRESS ON FILE
FARRISH, JOHN                          ADDRESS ON FILE
FARROW, BEVERLEY                       ADDRESS ON FILE
FARSEE, MARCUS                         ADDRESS ON FILE
FARSTEAD, LORI                         ADDRESS ON FILE
FARTUN FREIGHT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FARVER, JASON                          ADDRESS ON FILE
FARWELL, JOHN                          ADDRESS ON FILE
FASANO, JEREMY                         ADDRESS ON FILE
FASCHING, SCOTT                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 629 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 638 of 2156

Claim Name                              Address Information
FASE LOGISTICS GROUP INC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FASEN, ALLEN                            ADDRESS ON FILE
FASHANT, JOSEPH                         ADDRESS ON FILE
FASIL TRANSPORT LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FASMOVE2 LLC                            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FASO, VINCENT                           ADDRESS ON FILE
FASON, TRINELL J                        ADDRESS ON FILE
FASSBENDER, FRANK                       ADDRESS ON FILE
FASSETT, MICHAEL T                      ADDRESS ON FILE
FASSETT, TODD                           ADDRESS ON FILE
FASSL, CHARLES F                        ADDRESS ON FILE
FASSON ROLL NA                          TRANS INTERNATIONAL, N93 W16288 MEGAL DR MENOMONEE FALLS WI 53051
FASST TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FAST & FURIOUS FREIGHT LLC              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
FAST ACTION ROAD TEAM INC.              24 WEST DENIS LANE CORAM NY 11727
FAST ACTION TRUCKING, INC.              29 WEST PLAINFIELD ROAD COUNTRYSIDE IL 60525
FAST AND RELIABLE TRANSPORT LLC         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FAST BLAST LLC                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FAST CAP                                5016 PACIFIC HWY FERNDALE WA 98248
FAST CARGO INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FAST CARGO INC                          2923 EMORY LP LAREDO TX 78043
FAST CARGO TRANSPORT LLC                3411 S 140TH ST TUKWILA WA 98168
FAST DELIVERY TRANSPORT INC             OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
FAST DYNAMIC GROUP INC                  OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
FAST EAGLE LOGISTICS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FAST EAGLE TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FAST EDDIE HAULING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FAST ENTERPRISE LLC                     52 SCANDIA RD HACKETTSTOWN NJ 07840
FAST EXACT                              PO BOX 2154 SOUTH SAN FRANCISCO CA 94083
FAST FORWARD CARRIER LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FAST FORWARD LLC (MC902181)             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FAST FRATE                              9701 HWY 50 WOODBRIDGE ON L4H 2G4 CANADA
FAST FREDDY LOGISTICS LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FAST FREIGHT CARRIERS                   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
FAST FREIGHT EXPRESS LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FAST FREIGHT EXPRESS LLC                721 NE 160TH AVE PORTLAND OR 97230
FAST FREIGHT LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FAST FREIGHT LOGISTICS LLC              OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FAST FREIGHT ON THE MOVE TRUCKING LLC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FAST FREIGHT TRANSPORT LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FAST GLASS INC                          1650 GREG ST SPARKS NV 89431
FAST GLASS INC                          PO BOX 3989 SPARKS NV 89432
FAST INSURANCE SERVICES LTD             1115 ST.MARYS ROAD WINNIPEG MB R2M 3T7 CANADA
FAST LANE CARRIERS, LLC                 OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
FAST LANE EXPRESS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FAST LANE FREIGHT SOLUTIONS INC         OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
FAST LANE TOWING INC.                   804 WATT ST COLLINSVILLE IL 62234
FAST LANE TRANSPORT INC                 OR AEROFUND FINANCIAL INC 6910 SANTA TERESA BLVD SAN JOSE CA 95119
FAST LANE TRANSPORTATION, INC.          2400 E PACIFIC COAST HIGHWAY WILMINGTON CA 90744



Epiq Corporate Restructuring, LLC                                                                    Page 630 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 639 of 2156

Claim Name                             Address Information
FAST LANE TRUCKER LLC                  OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                       UT 84130
FAST LANE TRUCKERS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FAST LINE TRUCKING INC                 13562 IRONSTONE AVE VICTORVILLE CA 92392
FAST LION TRANSPORT LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FAST LOAD LOGISTICS LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FAST LOADING INC                       OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
FAST PACE LLC                          OR PRO FUNDING INC DEPT 3045, PO BOX 1005 MEMPHIS TN 38148
FAST PACE TRUCKING LLC                 OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
FAST REK LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FAST ROAD LOGISTICS INC.               11400 W OLYMPIC BLVD SUITE 200 LOS ANGELES CA 90064
FAST RUNNING INC                       OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
FAST SAFE & SECURE TRUCKING LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FAST TRAC TRANSPORTATION SERVICE LLC   OR EXO FINANCE LLC 360 N MAIN ST SUITE 410 ROYAL OAK MI 48067
FAST TRACK TRANSPORT LLC               12032 COBBLESTONE DR FISHERS IN 46037-3867
FAST TRACK TRANSPORT LLC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FAST TRACKS, LLC                       P. O. BOX 202 UNION CITY TN 38281
FAST TRANS TRUCKING LLC                OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
FAST TRANSFER INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FAST TRANSFER, INC.                    OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
FAST TRANSPORTATION USA                OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
FAST WAY FREIGHT SYSTEM INC.           PO BOX 40142 SPOKANE WA 99220
FAST WAY INC                           N 1001 HAVANA, PO BOX 40142 SPOKANE WA 99202
FAST&SECURE COURIER SERVICE LLC        OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
FAST, JASON                            ADDRESS ON FILE
FAST-LH EXPRESS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FAST4WARD EXPRESS INC                  OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
FASTBREAK EXPRESS, INC.                OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
FASTEN TRANSPORTATION                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FASTENAL                               2224 SAINT JOHN AVE DYERSBURG TN 38024
FASTENAL                               ATTN: DREW PHELPS 1009 POPLAR ST TERRE HAUTE IN 47807
FASTENAL                               1441 85TH AVE NE BLAINE MN 55449
FASTENAL CANADA                        ATTN: DOM EUFEMIA 178-815 66TH STREET E SASKATOON SK S7P 0E6 CANADA
FASTENAL CANADA LTD                    900 WABANAKI DR KITCHENER ON N2C 0B7 CANADA
FASTENAL CANADA LTEE                   D/B/A: FASTENAL CANADA LTD 900 WABANAKI DR KITCHENER ON N2C 0B7 CANADA
FASTENAL CANADA LTEE                   D/B/A: FASTENAL CANADA LTD 860 TRILLIUM DR STE 117 KITCHENER ON N2R 1K4 CANADA
FASTENAL COMPANY                       1275 RIVERVIEW DRIVE WINONA MN 55987
FASTENAL COMPANY                       2001 THEURER BLVD ATTN LEEANN FREIBURGER WINONA MN 55987
FASTENAL COMPANY                       D/B/A: FASTENAL COMPANY LTD 2001 THEURER BLVD WINONA MN 55987
FASTENAL COMPANY                       D/B/A: FASTENAL COMPANY LTD PO BOX 1286 WINONA MN 55987
FASTENAL COMPANY                       D/B/A: FASTENAL COMPANY LTD PO BOX 978 WINONA MN 55987
FASTENAL COMPANY LTD                   2001 THEURER BLVD WINONA MN 55987
FASTENAL COMPANY LTD                   PO BOX 1286 WINONA MN 55987
FASTEX LOGISTICS INC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FASTFREIGHT EXPRESS                    111 FFX WAY WINDBER PA 15963
FASTIK LABEL & SUPPLY                  9703 199A ST LANGLEY BC V1M 2X7 CANADA
FASTLANE LOGISTICS LLC                 OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FASTLANE TRUCKING LLC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FASTLINE CARTAGE LLC                   1601 JOHNS LAKE RD UNIT 416 CLERMONT FL 34711



Epiq Corporate Restructuring, LLC                                                                   Page 631 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 640 of 2156

Claim Name                           Address Information
FASTMED URGENT CARE                  PO BOX 745824 ATLANTA GA 30374
FASTRACK LOGISTICS INC               OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
FASTRACK LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FASTSIGNS - MENOMONEE FALLS          W173 N9170 ST FANCIS DR STE 1 MENOMONEE FALLS WI 53051
FASTSIGNS INC                        W173N9170 ST FRANCIS DR SUITE 1 MENOMONEE FALLS WI 53051
FASTSIGNS INC                        3270 W COUNTY RD 42 BURNSVILLE MN 55337
FASTSIGNS MARIETTA                   1581 COBB PKWY S STE 100 MARIETTA GA 30060
FASTSTAFF                            FLUME CONSULTING GROUP F/B/O FAST STAFF, PO BOX 896817 CHARLOTTE NC 28289
FASTSTAFF                            OR MP STAR FINANCIAL INC, PO BOX 645005 CINCINNATI OH 45264
FASTWAY LOGISTICS INC                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FASTWAY TRANS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FASTWAY TRANSPORT INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FASTWAY TRUCKING CO                  4165 SAN ONOFRE COURT CHINO CA 91710
FASULO, JOSEPH                       ADDRESS ON FILE
FAT & FAT TRUCKING LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FAT BOYS FLEET SERVICES              720 N CALIFORNIA AVE STE D PASCO WA 99301
FAT FREIGHTS                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FAT SQUIRREL TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FATBOY TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FATE EXPRESS INC                     942 JADE PL MANTECA CA 95336
FATEH EXPRESS INC                    OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
FATEH TRANSPORT                      OR BARON FINANCE - HEAD OFFICE 27 ROYTEC ROAD UNIT 11 27 ROYTEC ROAD, UNIT 11
                                     WOODBRIDGE ON L4L 8E3 CANADA
FATEH TRANSPORT                      39 LEADERSHIP DR BRAMPTON ON L6Y 5T2 CANADA
FATEH TRANSPORT INC                  4982 VILLAGE MEWS WESTERVILLE OH 43081
FATEH TRUCKING INC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FATEH TRUCKING LLC                   OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FATHER & SONS LLC                    OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
FATHER FIGURE TRANSPORTATION LLC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FATHER SUNSHINE TRANSPORTATION       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
FATHI EXPRESS LLC                    OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
FATKINS, GEOFFREY                    ADDRESS ON FILE
FATTORE, CATHY                       ADDRESS ON FILE
FATUM, DWAYNE                        ADDRESS ON FILE
FAUBERT, DENISE                      ADDRESS ON FILE
FAUCHALD, CYNTHIA M                  ADDRESS ON FILE
FAUCHER, SCOTT                       ADDRESS ON FILE
FAUCHERIE LOGISTICS INC              OR THIRD COAST COMMERCIAL CAPITAL INC PO BOX 14910 HUMBLE TX 77347
FAUCITT, CALLUM                      ADDRESS ON FILE
FAUGHT, JAMES                        ADDRESS ON FILE
FAUGHT, JAMES                        ADDRESS ON FILE
FAUGHT, ZACHARY                      ADDRESS ON FILE
FAULCONER, BRETT                     ADDRESS ON FILE
FAULDS, ALEC                         ADDRESS ON FILE
FAULDS, HUGH                         ADDRESS ON FILE
FAULDS, HUGH                         ADDRESS ON FILE
FAULK, MARVIN                        ADDRESS ON FILE
FAULK, PHILLIP                       ADDRESS ON FILE
FAULKNER, BUD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 632 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 641 of 2156

Claim Name                              Address Information
FAULKNER, CLARK                         ADDRESS ON FILE
FAULKNER, RONNIE                        ADDRESS ON FILE
FAULKNER, WILLIAM                       ADDRESS ON FILE
FAUOLO, JEFFREY                         ADDRESS ON FILE
FAURE BROTHERS CORP.GATEWAY WAREHOUSE   ATTN: MARCUS HEART 700 STATE STREET CALUMET CITY IL 60409-2044
FAUS, MAX                               ADDRESS ON FILE
FAUSETT, ROBERT                         ADDRESS ON FILE
FAUST RUNNERS INC                       OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
FAUST, ANDREW                           ADDRESS ON FILE
FAUST, BOB                              ADDRESS ON FILE
FAUST, CHRISTOPHER                      ADDRESS ON FILE
FAUST, CLIFTON                          ADDRESS ON FILE
FAUST, KENNETH                          ADDRESS ON FILE
FAUST, WILLIE                           ADDRESS ON FILE
FAUSTINA TRANSPORTATION LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FAUVER, JOSHUA                          ADDRESS ON FILE
FAUVER, RANDY                           ADDRESS ON FILE
FAVCO TRANSPORT                         7109 DOVE VALLEY WAY EASTVALE 92880
FAVELA TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FAVELA, ALFONSO                         ADDRESS ON FILE
FAVELA, DANIEL                          ADDRESS ON FILE
FAVELA, LEONARDO                        ADDRESS ON FILE
FAVOREE SERVICES INC                    24 KENMAR DR UNIT 226 BILLERICA MA MA 01821
FAVORITE CARRIER LLC                    4824 DRY CREEK RD SACRAMENTO CA 95838
FAVORS, VICTOR                          ADDRESS ON FILE
FAVOUR ENTERPRISES LLC                  332 VALLEY PARK DR GARLAND TX 75043
FAWADI LOGISTICS LLC                    OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
FAWZI TRANSPORTATION LLC                OR SMARTTRUCKER LLC PO BOX 30516, DEPT 506 LANSING MI 48909-8016
FAY, DEBBIE                             ADDRESS ON FILE
FAYA TRANSPORTATION LLC                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FAYETTE COUNTY CIRCUIT CLERK            221 S. 7TH STREET VANDALIA IL 62471
FAYETTEVILLE PBLC WRKS COMMSSN          PO BOX 1089 FAYETTEVILLE NC 28302
FAYTON CARGO INC                        OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
FAYZ EXPRESS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FAZ EXPRESS                             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
FAZ-MARTINEZ, ALISSA                    ADDRESS ON FILE
FAZENBAKER, TALLAN                      ADDRESS ON FILE
FAZIO FALOMA PROPERTY LLC               20815 NW SAUVIE IS RD PORTLAND OR 97231
FAZIO TV LLC                            8433 NE 13TH AVE PORTLAND OR 97211
FAZIO TV, LLC                           ATTN: TONY FAZIO 8433 NE 13TH AVENUE PORTLAND OR 97231
FB LOGISTICS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FB WRIGHT COMPANY                       ATTN: JODI SEPANIK 9999 MERCIER AVE DEARBORN MI 48121
FBI FIREPLACE PRODUCTS                  530 KINGSLAND DR BATAVIA IL 60510
FBM EXPRESS INC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FBM TRUCKING LLC                        OR GREAT PLAINS TRANSPTION SERVICES INC PO BOX 4539 CAROL STREAM IL 60197-4539
FBN TRANSPORTATION LLC                  PO BOX 126 ATHENS WI 54411
FC & SON TRANSPORT                      OR IFM, 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
FC ENTERPRISE EXPRESS LLC               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
FC LOGISTIC GROUP INC                   OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108



Epiq Corporate Restructuring, LLC                                                                   Page 633 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 642 of 2156

Claim Name                           Address Information
FC LOGISTIC GROUP INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FC LOGISTICS LLC                     PO BOX 526147 MIAMI FL 33152
FC TRANSPORT LLC                     OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015, DEPT 355 SALT LAKE CITY
                                     UT 84130
FC TRUCKING LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FCA LOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FCC COMMERCIAL FURNITURE             8452 OLD HIGHWAY 99 N ROSEBURG OR 97470
FCD TRANSPORT INC                    1292 NEW MARKET DEPOT RD NEW MARKET VA 22844
FCG                                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FCG TRANSPORTATION                   OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
FCG TRUCKING LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FCH TRUCKING CORP                    5412 S PAULINA ST CHICAGO IL 60609-5711
FCM TRANSPORT LLC                    OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
FCS LLC                              P O BOX 75307 KAPOLEI HI 96707
FCX EXPRESS LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
FDA LOGISTICS LLC                    211 SCOTT PLACE CHEEKTOWAGA NY 14225
FDACS                                PO BOX 6700 TALLAHASSEE FL 32314
FDD EXPRESS INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FDH TRUCKING LLC                     7712 EAGLE CREEK DR PICKERINGTON OH 43147
FDL LOGISTICS LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
FDM LOGISTICS LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FDM TRANSPORTATION LLC               OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FDS LOGISTICS LLC                    OR PRO FUNDING INC DEPT 3045, PO BOX 1006 MEMPHIS TN 38148-3045
FDS.                                 543 E 600 S PROVO UT 84606
FDX LOGISTICS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
FE EXPRESS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FEALEY, MICHAEL                      ADDRESS ON FILE
FEALEY, MICHAEL                      ADDRESS ON FILE
FEARING, DALE                        ADDRESS ON FILE
FEARLESS WALKER LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FEARS, DAKOTA                        ADDRESS ON FILE
FEASER, JUSTIN                       ADDRESS ON FILE
FEASTER III, SAMUEL                  ADDRESS ON FILE
FEASTER, JOSHUA                      ADDRESS ON FILE
FEASTER, VINCENT                     ADDRESS ON FILE
FEATHERINGILL, VICKIE                ADDRESS ON FILE
FEATHERLITE LOGISTICS LLC            10711 BELSHILL ST RICHMOND TX 77407
FEATHERS, RODNEY                     ADDRESS ON FILE
FEATHERS, WILLIAM                    ADDRESS ON FILE
FEBUS TRUCKING LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
FECHT, ALBERT                        ADDRESS ON FILE
FECHT, MARK                          ADDRESS ON FILE
FECTEAU, CARLA                       ADDRESS ON FILE
FEDDY, SHAWN                         ADDRESS ON FILE
FEDERAL AUTO TRANSPORT LLC           5179 SCENIC VIEW RD FLOWERY BRANCH GA 30542
FEDERAL BRIDGE CORPORATION           ATTN: MATT EARLY 1555 VENETIAN BOULEVARD POINT EDWARD ON N7T 0A9 CANADA
FEDERAL CARRIERS INC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FEDERAL DEPARTMENT                   1077 GORGE BLVD AKRON OH 44309
FEDERAL EXPRESS CANADA LTD           PO BOX 4626 TORONTO STN A TORONTO ON M5W 5B4 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 634 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 643 of 2156

Claim Name                           Address Information
FEDERAL INDUSTRIES                   C/O TRANSPLACE CARGO CLAIMS, PO BOX 518 LOWELL AR 72745
FEDERAL RAILROAD ADMINISTRATION      DOT/FRA C/O MMAC AMK-324 HQ-RM 181 PO BOX 25082 OKLAHOMA CITY OK 73125
FEDESON, STEVEN                      ADDRESS ON FILE
FEDEX                                5452 SHIPMAN ROAD HOPE MILLS NC 28348
FEDEX                                942 S SHADY GROVE RD MEMPHIS TN 38120
FEDEX                                DEPT CH PO BOX 10306 PALATINE IL 60055
FEDEX                                PO BOX 94515 PALANTINE IL 60094-4515
FEDEX                                PO BOX 7221 PASADENA CA 91109
FEDEX FREIGHT                        P.O. BOX 840 HARRISON AR 72602
FEDEX FREIGHT                        DEPT LA, PO BOX 21415 PASADENA CA 91185
FEDEX FREIGHT CORP.                  RENNAISSANCE CENTER 1715 AARON BRENNER DR MEMPHIS TN 38120
FEDEX FREIGHT WEST, INC              DEPT CH, PO BOX 10306 PALATINE IL 60055
FEDEX GROUND                         1000 FEDEX DR CORAOPOLIS PA 15108
FEDEX GROUND PACKAGE SYSTEM INC      1000 FEDEX DR MOON TOWNSHIP PA 15108
FEDEX GROUND PACKAGE SYSTEM INC      SENIOR MANAGER WORKERS COMP, PO BOX 535859 PITTSBURGH PA 15253
FEDEXO EXPRESS LLC                   OR CLOUDTRUCKS FLEX LLC DEPT 2148, PO BOX 122148 DALLAS TX 75312-2148
FEDIE, PAUL                          ADDRESS ON FILE
FEDORCHAK, ROBERT                    ADDRESS ON FILE
FEE, SMITH, SHARP & VITULLO LLP      13155 NOEL ROAD SUITE 1000 DALLAS TX 75240
FEE, WILLIAM                         ADDRESS ON FILE
FEEBACK, CLINTON                     ADDRESS ON FILE
FEEBACK, TRAVIS                      ADDRESS ON FILE
FEED ME MORE TRUCKING                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FEEDBACK FREIGHT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FEELEY, ALBERT                       ADDRESS ON FILE
FEEMAN, NORMA                        ADDRESS ON FILE
FEET UP EXPRESS LLC                  OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FEHR & UPHOFF ENTERPRISES, INC.      2899 COUNTY RD 600 N EL PASO IL 61738
FEHRENBACH, THOMAS                   ADDRESS ON FILE
FEHRENBACHER TRK & TRL REPAIR        4650 E RADIO TOWER LN OLNEY IL 62450
FEICHTINGER, BRIAN                   ADDRESS ON FILE
FEICHTINGER, DAVID                   ADDRESS ON FILE
FEIGI, BRYAN                         ADDRESS ON FILE
FEILOAKITAU, TONGATULE               ADDRESS ON FILE
FEINMAN, HARRY                       ADDRESS ON FILE
FEINSTEIN, MICHAEL                   ADDRESS ON FILE
FEITENG LLC                          OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
FEJENA EXPRESS LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
FEKETE, MICHAEL                      ADDRESS ON FILE
FEKETE, ROBERT                       ADDRESS ON FILE
FELCI, AMELIA                        ADDRESS ON FILE
FELDEN, THOMAS D                     ADDRESS ON FILE
FELDER, DARRELL                      ADDRESS ON FILE
FELDER, JAMIE                        ADDRESS ON FILE
FELDER, JAVON                        ADDRESS ON FILE
FELDER, MELVIN                       ADDRESS ON FILE
FELDER, SEAN                         ADDRESS ON FILE
FELDINGER, LINDA                     ADDRESS ON FILE
FELDINGER, MARLA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 635 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 644 of 2156

Claim Name                           Address Information
FELDKAMP TOWING                      905 WARD STREET URBANA IL 61802
FELDKAMP, DANIEL                     ADDRESS ON FILE
FELDMANN, KATHLEEN                   ADDRESS ON FILE
FELDMANN, MARK                       ADDRESS ON FILE
FELDMANN, MARK A                     ADDRESS ON FILE
FELDMEIER, DAVID                     ADDRESS ON FILE
FELETOA, SIONE                       ADDRESS ON FILE
FELHER TRANSPORTATION INC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FELICIANO, DANIEL                    ADDRESS ON FILE
FELICIANO, EDWIN                     ADDRESS ON FILE
FELICIANO, JESSICA                   ADDRESS ON FILE
FELICIANO, JULIO                     ADDRESS ON FILE
FELICIANO, SALVATORE                 ADDRESS ON FILE
FELICIANO, WINFRED                   ADDRESS ON FILE
FELIPE ALVAREZ                       ADDRESS ON FILE
FELIPE TRANSPORTATION LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FELIPE, SAMANTHA                     ADDRESS ON FILE
FELIU, ALEXEI                        ADDRESS ON FILE
FELIU, ALEXEI                        ADDRESS ON FILE
FELIX TRANSPORTATION LLC             OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FELIX, CAMERON                       ADDRESS ON FILE
FELIX, ELISEO                        ADDRESS ON FILE
FELIX, HOWARD                        ADDRESS ON FILE
FELIX, JOSEPH                        ADDRESS ON FILE
FELIX, ROBERT                        ADDRESS ON FILE
FELKER, CURTIS                       ADDRESS ON FILE
FELL, CRISTAL                        ADDRESS ON FILE
FELL, DUANE                          ADDRESS ON FILE
FELL, GORDON                         ADDRESS ON FILE
FELLER TOWING & RECOVERY INC         4700 OHARA DR. EVANSVILLE IN 47711
FELLION, LEONARD                     ADDRESS ON FILE
FELLO, PHILIP                        ADDRESS ON FILE
FELLO, PHILIP                        ADDRESS ON FILE
FELLOWS, LAURYN                      ADDRESS ON FILE
FELLUCA OVERHEAD DOORS INC           1674 NORTON ST ROCHESTER NY 14609
FELSEN CONCRETE & EXCAVATION         2513 COUNTY HWY OO CHIPPEWA FALLS WI 54729
FELSKI, ARTHUR                       ADDRESS ON FILE
FELSKI, ARTHUR                       ADDRESS ON FILE
FELT GOOD TRUCKING LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FELTNER, BRIAN                       ADDRESS ON FILE
FELTON, CASYN                        ADDRESS ON FILE
FELTON, CORION                       ADDRESS ON FILE
FELTON, DAVID                        ADDRESS ON FILE
FELTON, ISAIAH                       ADDRESS ON FILE
FELTON, JAMES                        ADDRESS ON FILE
FELTON-KNIGHT, JUSTIN                ADDRESS ON FILE
FELTS TOWING & RECOVERY INC          237 N GRAHAM ST PLUM SPRINGS KY 42101
FELTS, ROBERT                        ADDRESS ON FILE
FELTS, TAMMY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 636 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 645 of 2156

Claim Name                            Address Information
FELTS, TRAVIS                         ADDRESS ON FILE
FELTS, WESLEY                         ADDRESS ON FILE
FEMA TRUCKING LLC                     PO BOX 37 GARRISONVILLE VA 22463
FEMIA, MARK                           ADDRESS ON FILE
FENAN TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FENCE CONSULTANTS OF WEST MI INC      615 ELEVENTH ST NW GRAND RAPIDS MI 49504
FENCE FACTORY                         2709 SANTA MARIA WAY SANTA MARIA CA 93455
FENCE SPECIALISTS INC                 PO BOX 44606 TACOMA WA 98448
FENCE TITE RITE                       2320 KELLI BLVD HERMISTON OR 97838
FENCHURCH GENERAL INSURANCE COMPANY   2655 NORTH SHERIDAN WAY SUITE 115 MISSISSAUGA ON L5K 2P8 CANADA
FENDER ENTERPRISES INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FENDERSON, MICHAEL                    ADDRESS ON FILE
FENELON, DICKENS                      ADDRESS ON FILE
FENG TRUCKING INC                     560 VALLEY RD GILLETTE NJ 07933
FENG, SHERMAN                         ADDRESS ON FILE
FENG, SHERMAN                         ADDRESS ON FILE
FENGER, SEAN                          ADDRESS ON FILE
FENIMORE, RONALD                      ADDRESS ON FILE
FENIX CONNECTION LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FENIX TRANS INC                       JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
FENIX TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FENIX TRANSPORTATION LLC              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
FENNELL, JAMES                        ADDRESS ON FILE
FENNELL, LEONARD                      ADDRESS ON FILE
FENNELL, ROBERT                       ADDRESS ON FILE
FENNEMA, RONALD                       ADDRESS ON FILE
FENNER, JAWANZA                       ADDRESS ON FILE
FENNER, MARCUS                        ADDRESS ON FILE
FENNESSEE, TONY                       ADDRESS ON FILE
FENNESSEY, JEFF                       ADDRESS ON FILE
FENNLINE TRUCKING LLC                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
FENNS TOWING AND REPAIR, LLC          PO BOX 2708 LA GRANDE OR 97850
FENSKE, JASON                         ADDRESS ON FILE
FENSOM, CHRISTOPHER                   ADDRESS ON FILE
FENTON TRUCK REPAIR                   14413 EL RD LITTLE ROCK AR 72206
FENTON, KENNETH                       ADDRESS ON FILE
FENTON, MICHAEL                       ADDRESS ON FILE
FENTON, MICHAEL C                     ADDRESS ON FILE
FENTRESS, JUSTICE                     ADDRESS ON FILE
FENWICK III, CHARLES                  ADDRESS ON FILE
FEOLA, LUIGI                          ADDRESS ON FILE
FERDIZ XPRESS INC                     OR AEROFUND FINANCIAL INC 6910 SANTA TERESA BLVD SAN JOSE CA 95119
FERDON, CARRIE                        ADDRESS ON FILE
FEREBEE, SAION                        ADDRESS ON FILE
FEREBEE, SYLIESE                      ADDRESS ON FILE
FERENCZI, DANIEL                      ADDRESS ON FILE
FERGO TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FERGUSEN, BRADLEY                     ADDRESS ON FILE
FERGUSON & FERGUSON TRUCKING LLC      18113 LYLES DRIVE HAGERSTOWN MD 21740



Epiq Corporate Restructuring, LLC                                                                  Page 637 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 646 of 2156

Claim Name                           Address Information
FERGUSON ENTERPRISES                 FERGUSON TRANSPORT, 12500 JEFFERSON AVE NEWPORT NEWS VA 23602
FERGUSON ENTERPRISES DC ONLY         12500 JEFFERSON AVE NEWPORT NEWS VA 23602
FERGUSON ENTERPRISES INC             12500 JEFFERSON AVE NEWPORT NEWS VA 23602
FERGUSON ENTERPRRISES, INC           1850 SW 170TH AVE BEAVERTON OR 97006
FERGUSON JR, JESSE                   ADDRESS ON FILE
FERGUSON LOADING DOCK EQUIPMENT      37019 IMMIGRANT RD PLEASANT HILL OR 97455
FERGUSON LOGISTICS LLC               OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
FERGUSON PLUMBING                    326 DAN TIBBS RD. HUNTSVILLE AL 35806
FERGUSON, ANTWAN                     ADDRESS ON FILE
FERGUSON, BRANDON                    ADDRESS ON FILE
FERGUSON, CHRISTOPHER                ADDRESS ON FILE
FERGUSON, DALE                       ADDRESS ON FILE
FERGUSON, DANIEL                     ADDRESS ON FILE
FERGUSON, DANNY                      ADDRESS ON FILE
FERGUSON, DONNIE                     ADDRESS ON FILE
FERGUSON, DOUGLAS                    ADDRESS ON FILE
FERGUSON, DOUGLAS                    ADDRESS ON FILE
FERGUSON, FREDRICK                   ADDRESS ON FILE
FERGUSON, GEORGE                     ADDRESS ON FILE
FERGUSON, GLEN                       ADDRESS ON FILE
FERGUSON, JAMES                      ADDRESS ON FILE
FERGUSON, JASSON                     ADDRESS ON FILE
FERGUSON, JEREMIAH                   ADDRESS ON FILE
FERGUSON, JEROME                     ADDRESS ON FILE
FERGUSON, JOEL                       ADDRESS ON FILE
FERGUSON, JONATHAN                   ADDRESS ON FILE
FERGUSON, KASHA MONEE                ADDRESS ON FILE
FERGUSON, KASHA MONEE                ADDRESS ON FILE
FERGUSON, KEITH                      ADDRESS ON FILE
FERGUSON, LAMOND                     ADDRESS ON FILE
FERGUSON, MARQUISE                   ADDRESS ON FILE
FERGUSON, MICHAEL                    ADDRESS ON FILE
FERGUSON, MORDANT                    ADDRESS ON FILE
FERGUSON, NICOLE                     ADDRESS ON FILE
FERGUSON, PAUL                       ADDRESS ON FILE
FERGUSON, PAUL                       ADDRESS ON FILE
FERGUSON, PHILLIP                    ADDRESS ON FILE
FERGUSON, ROBERT                     ADDRESS ON FILE
FERGUSON, ROBERT                     ADDRESS ON FILE
FERGUSON, RON                        ADDRESS ON FILE
FERGUSON, STACY                      ADDRESS ON FILE
FERGUSON, STEPHEN                    ADDRESS ON FILE
FERGUSON, THOMAS                     ADDRESS ON FILE
FERGUSON, TIMOTHY                    ADDRESS ON FILE
FERGUSON, WALTDEN                    ADDRESS ON FILE
FERIA, ISAAC                         ADDRESS ON FILE
FERID MURTIC                         ADDRESS ON FILE
FERINA, VINCENT                      ADDRESS ON FILE
FERKEL, PAUL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 638 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 647 of 2156

Claim Name                           Address Information
FERMILAB                             KIRK ROAD AND WILSON ST BATAVIA IL 60510
FERMIN RIVERA                        ADDRESS ON FILE
FERN EXPOSITION SERVICES LLC         645 LINN ST CINCINNATI OH 45203
FERN, JEANA                          ADDRESS ON FILE
FERNALD, CRAIG                       ADDRESS ON FILE
FERNANDES HEARN LLP                  155 UNIVERSITY AVE SUITE 700 TORONTO ON M5H 3B7 CANADA
FERNANDES, CARLOS B                  ADDRESS ON FILE
FERNANDES, KYLE                      ADDRESS ON FILE
FERNANDES, TERENCE                   ADDRESS ON FILE
FERNANDEZ CASTILLO TRANSPORT LLC     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FERNANDEZ TORRES, JAVIER             ADDRESS ON FILE
FERNANDEZ, ALEX                      ADDRESS ON FILE
FERNANDEZ, ALVARO                    ADDRESS ON FILE
FERNANDEZ, BETTIE                    ADDRESS ON FILE
FERNANDEZ, CHRISTIAN                 ADDRESS ON FILE
FERNANDEZ, CHRISTIAN                 ADDRESS ON FILE
FERNANDEZ, DAISY                     ADDRESS ON FILE
FERNANDEZ, EDUARDO                   ADDRESS ON FILE
FERNANDEZ, EDWARD                    ADDRESS ON FILE
FERNANDEZ, FERNANDO                  ADDRESS ON FILE
FERNANDEZ, FERNANDO                  ADDRESS ON FILE
FERNANDEZ, JOSE                      ADDRESS ON FILE
FERNANDEZ, JOSE                      ADDRESS ON FILE
FERNANDEZ, LISA                      ADDRESS ON FILE
FERNANDEZ, LUCIO                     ADDRESS ON FILE
FERNANDEZ, MARIO                     ADDRESS ON FILE
FERNANDEZ, PEDRO                     ADDRESS ON FILE
FERNANDEZ, RALPH                     ADDRESS ON FILE
FERNANDEZ, RAYLINA                   ADDRESS ON FILE
FERNANDEZ, RAYMOND                   ADDRESS ON FILE
FERNANDEZ, RICARDO                   ADDRESS ON FILE
FERNANDEZ, ROBERT                    ADDRESS ON FILE
FERNANDEZ, SANTOS                    ADDRESS ON FILE
FERNANDEZ, SCOT                      ADDRESS ON FILE
FERNANDEZ-BOLANOS, JORGE             ADDRESS ON FILE
FERNANDEZ-GARCIA, ANDREA             ADDRESS ON FILE
FERNANDO BARRIOS                     ADDRESS ON FILE
FERNANDO E GARCIA TRUCKING           OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                     60674-0411
FERNANDO H TRUCKING INC              OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FERNANDO TRUCKING LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FEROZEPUR TRANSPORT LTD              OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA
FERRADA SERVICES LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FERRAN LOGISTICS LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FERRANDO, JESSE                      ADDRESS ON FILE
FERRANTE, JAMES J                    ADDRESS ON FILE
FERRANTE, JOSEPH                     ADDRESS ON FILE
FERRARA, JOSEPH                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 639 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 648 of 2156

Claim Name                          Address Information
FERRARI NETWORKS INC                7341 WOODLAND DR HAMBURG NY 14075
FERREE, WILLIAM                     ADDRESS ON FILE
FERRELL GAS                         ONE LIBERTY PLAZA, MAIL DROP 38 LIBERTY MO 64068
FERRELL GAS                         ONE LIBERTY PLAZA, MD 22 LIBERTY MO 64068
FERRELL GAS                         8088 MIRAMAR RD. SAN DIEGO CA 92126
FERRELL, BRENDAN                    ADDRESS ON FILE
FERRELL, CHARLES                    ADDRESS ON FILE
FERRELL, HARRY F                    ADDRESS ON FILE
FERRELL, MARIO                      ADDRESS ON FILE
FERRELL, ROBERT                     ADDRESS ON FILE
FERRELL, RONALD                     ADDRESS ON FILE
FERRELL, STEVEN                     ADDRESS ON FILE
FERRER MORALES, RAFAEL              ADDRESS ON FILE
FERRER, ANTHONY                     ADDRESS ON FILE
FERRER, BENJAMIN                    ADDRESS ON FILE
FERRER, ENRIQUE                     ADDRESS ON FILE
FERRER, GABRIEL                     ADDRESS ON FILE
FERRERA, MARK A                     ADDRESS ON FILE
FERRERAS, EDRIC                     ADDRESS ON FILE
FERRETT, ANDREW                     ADDRESS ON FILE
FERREYRO, MARIO                     ADDRESS ON FILE
FERRI, GUY                          ADDRESS ON FILE
FERRI, JOHN                         ADDRESS ON FILE
FERRIERO, FRANCIS                   ADDRESS ON FILE
FERRIERO, LAURIE                    ADDRESS ON FILE
FERRIS, ALAN                        ADDRESS ON FILE
FERRIS, SAMUEL                      ADDRESS ON FILE
FERRIS, SCOTT                       ADDRESS ON FILE
FERRIS, TONI                        ADDRESS ON FILE
FERRIS, WARREN                      ADDRESS ON FILE
FERRISS, VINCE                      ADDRESS ON FILE
FERROS TRUCKING INC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FERRY INC                           3179 WALDEN AVE DEPEW NY 14043
FERTILIZER EQUIPMENT                2201 AHTANUM RD YAKIMA WA 98903
FERYAN, JAMES                       ADDRESS ON FILE
FESCO INC                           1 REWE ST BROOKLYN NY 11211
FESCO WAREHOUSE                     ATTN: JANIS BENHAIM 1 REWE ST BROOKLYN NY 11211
FESS FIRE PROTECTION                PO BOX 1307 MORRISVILLE NC 27560
FESS, MICHAEL                       ADDRESS ON FILE
FESSLER, BRIAN                      ADDRESS ON FILE
FETKO, ALEXANDER                    ADDRESS ON FILE
FETORE LOGISTICS LLC                OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
FETTE, RUSSELL                      ADDRESS ON FILE
FETTER, AMANDA                      ADDRESS ON FILE
FEUCHT TRUCKING INC                 316 DAYTON STREET MAYVILLE WI 53050
FEV TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FEVRIER, NICHOLAS                   ADDRESS ON FILE
FEW, WALTER                         ADDRESS ON FILE
FEWELL, ANTHONY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 640 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 649 of 2156

Claim Name                               Address Information
FEWELL, MARTY                            ADDRESS ON FILE
FEYERABEND, MICHAEL                      ADDRESS ON FILE
FEYOS, DALE                              ADDRESS ON FILE
FEZZA, JAMES                             ADDRESS ON FILE
FF FREIGHT INC                           OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
FF HITCHCOCK COMPANY INC                 264 SANDBANK RD CHESHIRE CT 06410
FF818                                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FFI LOGISTICS & TRANSPORTATION LLC       OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
FFJ LOGISTICS LLC                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
FFLOGISTICS                              OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
FG SWETT HANDYMAN SERVICES LLC           2280 EASTON RD BETHLEHEM PA 18015
FG TRUCKING LLC                          OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
FGC EXPRESS INC                          7520 PEPPER AVE FONTANA CA 92336
FGE INC                                  500 TROLLEY BLVD ROCHESTER NY 14606
FHH CARGO INC                            OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
FHI LLC                                  310 N JUDD PARKWAY NE FUQUAY VARINA NC 27526
FHI LLC                                  PO BOX 890949 CHARLOTTE NC 28289
FHLINES LLC                              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
FIAMELLA, JEFF                           ADDRESS ON FILE
FIBER MARKETING INTERNATIONAL            AKA FMI, 11111 E TRENT AVE SPOKANE WA 99206
FIBER WORKS, INC.                        PO BOX 25904 ALBUQUERQUE NM 87125
FIBERFAST INC                            OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FIBERLAY INC                             42638 8TH ST W LANCASTER CA 93534
FIBRIX LLC                               ATTN: LINDA DOUGLAS 310 MAIN AVE WAY SE HICKORY NC 28602
FICAS TRANSPORTATION INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FICEK TRANSPORT LTD                      4 E DR, PO BOX 1120 ESTERHAZY SK S0A 0X0 CANADA
FICEK TRANSPORT LTD                      4 E DRIVE, PO BOX 1120 EASTERHAZY SK S0A 0X0 CANADA
FICEK TRANSPORT LTD                      BOX 1120 ESTERHAZY SK S0A 0X0 CANADA
FICEL TRANSPORT, INC.                    PO BOX 2268 BLASDELL NY 14219
FICK, SARAH                              ADDRESS ON FILE
FICK, TATIANNA                           ADDRESS ON FILE
FICKLIN, TRUITT                          ADDRESS ON FILE
FICKLING, MARK                           ADDRESS ON FILE
FIDA LLC                                 OR PHOENIX CAPITAL GROUP LLC PO BOX 1415 DES MOINES IA 50305
FIDA LLC                                 OR GULF COAST BUSINESS CREDIT PO BOX 732148 DALLAS TX 75373
FIDAEE TRUCKING CO                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FIDE, CHARLOTTE                          ADDRESS ON FILE
FIDEL JIMENEZ                            ADDRESS ON FILE
FIDELIS FREIGHT TRANSPORT SERVICES LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIDELIS FREIGHT TRANSPORT SERVICES LLC   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FIDELITY INVEST INSTL OPERATIONS CO INC ACCT ENDING IN 6927, PO BOX 73307 CHICAGO IL 60673
FIDELITY INVMTS INST OPERATIONS CO LLC   200 SEAPORT BLVD V7D BOSTON MA 02210
FIDELITY WORKPLACE SERVICES LLC          88 BLACK FALCON AVE STE 167 BOSTON MA 02210
FIDELITY WORKPLACE SERVICES LLC          FIDELITY INVESTMENT IOC LLC 88 BLACK FALCON AVE SUITE 167 BOSTON MA 02210
FIDENCIO COBOS                           ADDRESS ON FILE
FIDLER, SHAWN                            ADDRESS ON FILE
FIDUS INC                                2415 LOS AMIGOS ST LA CRESCENTA CA 91214-3032
FIEDLER II, MARTIN                       ADDRESS ON FILE
FIEDLER, JACOB                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 641 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 650 of 2156

Claim Name                          Address Information
FIEGLY, MICHAEL                     ADDRESS ON FILE
FIELD, GREGORY                      ADDRESS ON FILE
FIELD, JEFFREY B                    ADDRESS ON FILE
FIELD, TIFFANY                      ADDRESS ON FILE
FIELDER, OLDEN                      ADDRESS ON FILE
FIELDER, STELLA                     ADDRESS ON FILE
FIELDING, GREGORY                   ADDRESS ON FILE
FIELDING, KEITH                     ADDRESS ON FILE
FIELDINGS OIL CO., INC.             PO BOX 470, 420 U.S ROUTE 1 SCARBOROUGH ME 04070
FIELDINGS OIL CO., INC.             P.O. BOX 364 SCARBOROUGH MN 04070-0364
FIELDINGS, RICHARD                  ADDRESS ON FILE
FIELDS EXPRESS LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIELDS III, ARCHIE                  ADDRESS ON FILE
FIELDS LOGISTICS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FIELDS, ANTHONY                     ADDRESS ON FILE
FIELDS, ARIEL                       ADDRESS ON FILE
FIELDS, BARRY                       ADDRESS ON FILE
FIELDS, CARL                        ADDRESS ON FILE
FIELDS, CHAUNCEY                    ADDRESS ON FILE
FIELDS, COREY                       ADDRESS ON FILE
FIELDS, DANIEL                      ADDRESS ON FILE
FIELDS, DARREN                      ADDRESS ON FILE
FIELDS, DAVID                       ADDRESS ON FILE
FIELDS, DENNIS                      ADDRESS ON FILE
FIELDS, DEVIN                       ADDRESS ON FILE
FIELDS, DOMINICK                    ADDRESS ON FILE
FIELDS, DOUGLAS                     ADDRESS ON FILE
FIELDS, DRAKE                       ADDRESS ON FILE
FIELDS, GLEN                        ADDRESS ON FILE
FIELDS, HEATHER                     ADDRESS ON FILE
FIELDS, ISAAC                       ADDRESS ON FILE
FIELDS, JEFFREY                     ADDRESS ON FILE
FIELDS, JOHN                        ADDRESS ON FILE
FIELDS, JOHNNY                      ADDRESS ON FILE
FIELDS, KELVIN                      ADDRESS ON FILE
FIELDS, LEE                         ADDRESS ON FILE
FIELDS, MELVIN                      ADDRESS ON FILE
FIELDS, MICHAEL                     ADDRESS ON FILE
FIELDS, ROBERT                      ADDRESS ON FILE
FIELDS, STEPHANIE                   ADDRESS ON FILE
FIELDS, SYDNEY                      ADDRESS ON FILE
FIELDS, TEMECULA                    ADDRESS ON FILE
FIELDS, TERRY                       ADDRESS ON FILE
FIELDS, TYRONN                      ADDRESS ON FILE
FIELDS, WILLIAM                     ADDRESS ON FILE
FIELDSTONE INC.                     1100 LINCOLN WAY WHITE OAK PA 15131
FIERI SB INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIERRO TRANSPORTATION LLC           2190 DESERT WIND WAY LAS CRUCES NM 88012
FIERRO, CHARLES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 642 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 651 of 2156

Claim Name                             Address Information
FIERRO, CHARLES J                      ADDRESS ON FILE
FIERRO, DANIEL R                       ADDRESS ON FILE
FIERRO, HILBERTO                       ADDRESS ON FILE
FIERRO, MANUEL M                       ADDRESS ON FILE
FIERRO, RICHARD                        ADDRESS ON FILE
FIERS HEATING & A/C, INC.              869 NORTH H.C. MATHIS DR., P.O. BOX 522 PADUCAH KY 42001
FIESTA CANNING CO                      1480 BETHANY HOME RD PHOENIX AZ 85014
FIFE ENTERPRISES                       DICKS TOWING & REPAIR PO BOX 35, 110 THURSSTON ST WENATCHEE WA 98801
FIFE TRANSPORT SERVICES LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FIFER, EARNEST                         ADDRESS ON FILE
FIFER, JOHN                            ADDRESS ON FILE
FIFITA, PENI                           ADDRESS ON FILE
FIFTH FLEET INC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FIFTH STREET TOWERSPROPERTIES LLC      PO BOX 310690 DES MOINES IA 50331-0690
FIFTH THIRD BANK THE (2116)            ATT CARRIE POTTER/PROXY DEPT 5001 KINGSLEY DR MAIL DROP 1M0B2D CINCINNATI OH
                                       45227
FIFTH WHEEL LOGISTICS INC              2364 ESSINGTON RD 118 JOLIET IL 60435
FIFTH WHEEL TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FIFTY SECOND AVENUE ASSOC INC          5469 NW 42ND AVENUE BOCA RATON FL 33496
FIFTY SECOND AVENUE ASSOCIATES, INC.   ATTN: MICHAEL SCHUSTER 5469 NW 42ND AVENUE BOCA RATON FL 33496
FIFTY SYDNEYS TRANSPORT LLC            OR TAB BANK, PO BOX 150830 OGDEN UT 84415
FIFTY/ 50 SPORTS BAR                   2047 W DIVISION ST CHICAGO IL 60622
FIFTY7 FIFTY8                          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FIG CARRIER LLC                        OR TBS FACTORING SERVICE LLC PO BOX 248920 OGDEN UT 84415
FIGARD, JASON                          ADDRESS ON FILE
FIGGINS TRUCK & TRAILER REPAIR INC     21754 US HIGHWAY 169 SOUTH GRAND RAPIDS MN 55744
FIGGS, SAMUEL                          ADDRESS ON FILE
FIGHT, LARRY                           ADDRESS ON FILE
FIGLER, DANIEL                         ADDRESS ON FILE
FIGLER, DANIEL                         ADDRESS ON FILE
FIGUEIRA, MANUEL                       ADDRESS ON FILE
FIGUERAS & SAUNDERS ENTERPRISES INC    OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
FIGUEREDO, ADRIAN                      ADDRESS ON FILE
FIGUEROA BENITEZ, JORGE                ADDRESS ON FILE
FIGUEROA TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
FIGUEROA, AMIALE                       ADDRESS ON FILE
FIGUEROA, ANGEL                        ADDRESS ON FILE
FIGUEROA, ANGELA                       ADDRESS ON FILE
FIGUEROA, CARLOS                       ADDRESS ON FILE
FIGUEROA, EDDIE                        ADDRESS ON FILE
FIGUEROA, IVAN                         ADDRESS ON FILE
FIGUEROA, JOHN R                       ADDRESS ON FILE
FIGUEROA, KERMITO                      ADDRESS ON FILE
FIGUEROA, SALVADOR                     ADDRESS ON FILE
FIGUEROA, STEVE                        ADDRESS ON FILE
FIGUEROA, WALTER                       ADDRESS ON FILE
FIGUEROA-BUNN, ELIJAH                  ADDRESS ON FILE
FIGURELLI, JENNIFER L                  ADDRESS ON FILE
FIH TRUCKING INC                       OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL



Epiq Corporate Restructuring, LLC                                                                  Page 643 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 652 of 2156

Claim Name                              Address Information
FIH TRUCKING INC                        60674-0411
FIIDOW TRUCKING LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FIIKO TRANSPORT LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FIKE, BYRON                             ADDRESS ON FILE
FIKE, WILLIAM                           ADDRESS ON FILE
FIKE, WILLIAM M                         ADDRESS ON FILE
FIKES                                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
FILA USA INC                            BRANDON WOODS DIST C 7630 GAMBRILLS COVE BALTIMORE MD 21226
FILAGROSSI, JOHN                        ADDRESS ON FILE
FILDES, DANIEL                          ADDRESS ON FILE
FILEMON Z PAULUS                        ADDRESS ON FILE
FILEPPI, REBECCA                        ADDRESS ON FILE
FILES, WILLIAM                          ADDRESS ON FILE
FILETO GUERRERO, DANIEL                 ADDRESS ON FILE
FILGER, RANDY                           ADDRESS ON FILE
FILI EXPRESS LLC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FILI, FRANKIE                           ADDRESS ON FILE
FILIGENE TRUCKING INC                   OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
FILION WAKELY THORUP ANGELETTI LLP      1 KING ST W SUITE 1201, BOX 57030 HAMILTON ON L8P 4W9 CANADA
FILION WAKELY THORUP ANGELETTI LLP      BAY ADELAIDE CENTRE 333 BAY ST STE 2500 PO BOX 44 TORONTO ON M5H 2R2 CANADA
FILIP TRUCKING INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FILIPIAK, KAREN                         ADDRESS ON FILE
FILIPO, ESAU                            ADDRESS ON FILE
FILIPOV, GEORGI                         ADDRESS ON FILE
FILIPPI, PAUL                           ADDRESS ON FILE
FILKINS, AUSTIN                         ADDRESS ON FILE
FILLIO, RICHARD                         ADDRESS ON FILE
FILLMORE CARQUEST                       6088 ARSENAL ST SAINT LOUIS MO 63139
FILLMORE, JOHNNY                        ADDRESS ON FILE
FILLMORE, TIMOTHY                       ADDRESS ON FILE
FILMON ZERAI                            ADDRESS ON FILE
FILOON, HARRY                           ADDRESS ON FILE
FILPO TRUCKING CORP                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FILS NICOLAS, RAOUL                     ADDRESS ON FILE
FILTER SERVICE OF ST LOUIS              PO BOX 1551 ST PETERS MO 63376
FILTER TECHNOLOGIES                     2922 S 300 W SALT LAKE CITY UT 84115
FILTRAMAX                               ATTN: JAYESH PATEL 215 BRUNSWICK BLVD POINTE CLAIRE QC H9R 4R7 CANADA
FIMBEL GARAGE DOORS                     281 DANIEL WEBSTER HWY MERRIMACK NH 03054
FIMREITE, RYAN                          ADDRESS ON FILE
FINAL APPROACH TRUCKING LLC             OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
FINAL LINE EXPRESS INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
FINAL MILE DELIVERY SERVICES LLC        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FINAL MILE SERVICES INC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FINAL MILE TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FINAL TARGET LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FINAN, ANTHONY J                        ADDRESS ON FILE
FINANCE COMMISSIONER CITY OF NEW YORK   PO BOX 2307 PECK SLIP STATION NEW YORK NY 10272
FINANCIAL ACCOUNTING STANDARDS BOARD    PO BOX 418272 BOSTON MA 02241
FINCH, ADELE                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 644 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 653 of 2156

Claim Name                           Address Information
FINCH, HERBERT                       ADDRESS ON FILE
FINCH, KERRON L                      ADDRESS ON FILE
FINCH, MARK                          ADDRESS ON FILE
FINCH, NATASHA                       ADDRESS ON FILE
FINCHAMS ENTERPRISES INC             5601 WILSHIRE AVE NE ALBUQUERQUE NM 87113
FINCHER, DAVID                       ADDRESS ON FILE
FINCHER, LARRY                       ADDRESS ON FILE
FINCHS LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FINCHUM, KEITH                       ADDRESS ON FILE
FINCK, HENRY                         ADDRESS ON FILE
FINDERS EQUIPMENT, LLC               851 S. 27TH AVE PHOENIX AZ 85009
FINDLAY MUNICIPAL COURT              318 DORNEY PLAZA ROOM 206, PO BOX 826 FINDLAY OH 45839
FINDLAY TRUCK LINE INC               PO BOX 1362 FINDLAY OH 45839
FINDLAY VINYL                        115 STANFORD PKWY FINDLAY OH 45840
FINDLAY, DANIEL M                    ADDRESS ON FILE
FINDLEY FREIGHT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FINE LINE TRUCKING LLC               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
FINE TERROIR SELECTIONS              ATTN: JANET TOOMBS 127 ECHO LAKE RD WATERTOWN CT 06795
FINEANGANOFO, LISIATE                ADDRESS ON FILE
FINEL TRANSPORTATION                 OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
FINELINE SETTINGS                    135 COTTY RD STE 1 MIDDLETOWN NY 10941
FINISH LINE TRUCKING LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
FINISHLINE CAR-TRUCK                 5558 303RD ST TOLEDO OH 43611
FINISHLINE TRUCKING LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FINITE TRANSPORT INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FINK, DARRYL W                       ADDRESS ON FILE
FINKBEINER, BRENDA                   ADDRESS ON FILE
FINKEN GREAT GLACIER WATER           PO BOX 7190 ST CLOUD MN 56302
FINKEN, CHARLES                      ADDRESS ON FILE
FINKLANG, MICHAEL A                  ADDRESS ON FILE
FINLAYSON LOGISTICS ASSETS LLC       C/O MAPLETREE US MANAGEMENT NEHA PATEL 275 7TH AVENUE SUITE 746 NEW YORK NY
                                     10001
FINLAYSON LOGISTICS ASSETS LLC       PO BOX 1019 CAROL STREAM IL 60132
FINLEY OCCUPATIONAL HEALTH           1665 EMBASSY WEST DUBUQUE IA 52002
FINLEY, JASON                        ADDRESS ON FILE
FINLEY, JEFFREY                      ADDRESS ON FILE
FINLEY, MATTHEW                      ADDRESS ON FILE
FINLEY, OLIVER                       ADDRESS ON FILE
FINLEY, RICHARD                      ADDRESS ON FILE
FINLEY, TRACEY                       ADDRESS ON FILE
FINLEY, WILLIAM                      ADDRESS ON FILE
FINLEY, WILLIAM                      ADDRESS ON FILE
FINN, JASON                          ADDRESS ON FILE
FINN, MICHAEL                        ADDRESS ON FILE
FINN, TERRY                          ADDRESS ON FILE
FINNEGAN, CONNOR                     ADDRESS ON FILE
FINNEGAN, LARRY T                    ADDRESS ON FILE
FINNEGAN, THOMAS M                   ADDRESS ON FILE
FINNEGAN, TYLER                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 645 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 654 of 2156

Claim Name                           Address Information
FINNELL, ROBIN                       ADDRESS ON FILE
FINNERTY, ZACHARY                    ADDRESS ON FILE
FINNEY JR., GEORGE                   ADDRESS ON FILE
FINNEY, COREY                        ADDRESS ON FILE
FINNEY, DANNY                        ADDRESS ON FILE
FINNEY, KYLIEC                       ADDRESS ON FILE
FINNEY, PATRICK                      ADDRESS ON FILE
FINNEY, RONALD                       ADDRESS ON FILE
FINNEY, RONALD E                     ADDRESS ON FILE
FINNEY, RYAN                         ADDRESS ON FILE
FINNIE, LISA                         ADDRESS ON FILE
FINNING (CANADA), DIV OF             HEAD OFFICE, PO BOX 2405 EDMONTON AB T5J 2S1 CANADA
FINOL TRANSPORTATION LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FINSTAD, SHELBY                      ADDRESS ON FILE
FINTECLY LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FINTOR, STEPHEN                      ADDRESS ON FILE
FIORE, VINCENT                       ADDRESS ON FILE
FIQI TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIRE EAGLE EXPRESS CORP              OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
FIRE ENGINEERING COMPANY, INC.       4717 S 500 W SALT LAKE CITY UT 84123
FIRE EQUIPMENT & MAINTENANCE INC     1918 S SOUTHLAND AVE GONZALES LA 70737
FIRE EQUIPMENT INC                   PO BOX 423 READING MA 01867
FIRE FIGHTER SALES & SERVICE         3015 MADISON AVE SE GRAND RAPIDS MI 49548
FIRE FIGHTER SALES AND SERVICE CO    P.O. BOX 645353 PITTSBURGH PA 15264
FIRE FOE CORP                        36-23 REVIEW AVE LONG ISLAND CITY NY 11101
FIRE PRO SALES & SVC                 7630 CLINTON HWY POWELL TN 37849
FIRE PROS INC.                       2710 NORTHRIDGE DR NW STE F GRAND RAPIDS MI 49544
FIRE PROTECTION MANAGEMENT INC.      4425-C TREAT BLVD. SUITE 222 CONCORD CA 94521
FIRE PROTECTION SERVICES LLC         PO BOX 64456 SOUDERTON PA 18964
FIRE PROTECTION SPECIALISTS          PO BOX 289, 1906 COMMERCIAL ST BANGOR WI 54614
FIRE PROTECTION, INC.                1048 BRAGG BLVD FAYETTEVILLE NC 28301
FIRE RECOVERY                        2271 LAVA RIDGE COURT SUITE 120 ROSEVILLE CA 95661-3065
FIRE RECOVERY USA LLC                2271 LAVA RIDGE COURT, SUITE 120 ROSEVILLE CA 95661
FIRE RECOVERY USA, LLC.              2271 LAVA RIDGE COURT STE 120 ROSEVILLE CA 95661-3065
FIRE ROCK TRANSPORT INC              OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FIRE SAFE FIRE EXTINGUISHER          PO BOX 857 PINSON AL 35126
FIRE SAFETY SPECIALISTS              PO BOX 386 POST FALLS ID 83877
FIRE SAFETY SUPPLY INC               PO BOX 2849 SANTA ROSA CA 95405
FIRE SERVICE CORP                    C/O UNIVERSAL FUNDING CORP PO BOX 13115 SPOKANE WA 99213
FIRE SERVICES OF IDAHO               PO BOX 3099 POCATELLO ID 83206
FIRE SKY TRANSPORT INC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIRE STATION OUTFITTERS              ATTN: DAVE WOODS 331 WEYER RD MODESTO CA 95357
FIRE TECH                            5024 BUSINESS PARK DR MONTGOMERY AL 36116
FIRE TECH SYSTEMS, INC.              721 N ASHLEY RIDGE LOOP SHREVEPORT LA 71106
FIRE TRANSPORT CORP                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FIRE VENT LLC                        ATTN: ROD TEMPLE 5998 MORGAN MILL RD CARSON CITY NV 89701
FIRE X SALES & SERVICE CORP          1011 MCCAULEY COURT HAGERSTOWN MD 21740
FIRE45 TRANSPORTATION INC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIREBALL TRANSPORT LLC               382 HERCULES DRIVE STE 9 COLCHESTER VT 05446



Epiq Corporate Restructuring, LLC                                                                 Page 646 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 655 of 2156

Claim Name                               Address Information
FIREBIRD FREIGHT INC                     OR FACTORING EXPRESS LLC PO BOX 150205 OGDEN UT 84415
FIRECODE SAFETY EQUIPMENT, INC.          3722 W PACIFIC AVE SACRAMENTO CA 95820
FIRECREST CARRIERS INC                   OR BLU CAPITAL, PO BOX 17759 EL PASO TX 79917
FIREFLY FREIGHT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIRELINE CORPORATION                     4506 HOLLINS FERRY RD BALTIMORE MD 21227
FIREPLACE PRODUCTS INC                   FIREPLACE PRODUCTS INC 2201 B LAKESIDE BLVD EDGEWOOD MD 21040
FIREPRO LLC                              DBA JUNIPER & CASCADE FIRE EQUIP PO BOX 5819 BEND OR 97708
FIRESHOT TRANSPORT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FIRESTONE BUILDING PRODUCTS              ATTN: GL8002333/PC100000, PO BOX 93661 CHICAGO IL 60673
FIRESTONE BUILDING PRODUCTS CO           ATTN GL8002333/PC100000, PO BOX 93661 CHICAGO IL 60673
FIRESTONE BUILDING PRODUCTS CO LLC       PO BOX 93661, ATTN: GL 8002333 PC 100000 CHICAGO IL 60673
FIRESTONE BUILDING PRODUCTS COMPANY      ATTN: BRAD BRISKEY GL 8002333 / PC 100000 PO BOX 93661 CHICAGO IL 60673
FIRESTONE BUILDINGS PRODS CO             ATTN GL8002333/PC10000, PO BOX 93661 CHICAGO IL 60673
FIRETRON INC.                            PO BOX 1604 STAFFORD TX 77497
FIREX INC                                42 RUSSO RD PORTSMOUTH RI 02871
FIRIMONTE, JOSEPH                        ADDRESS ON FILE
FIRM LOGISTICAL LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIRM LOGISTICS LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
FIRMAN POWER EQUIPMENT INC               ATTN: SHELLIANN SMARR 2801 LAWNDALE DR GREENSBORO NC 27408
FIRST ADVANTAGE BACKGROUND SERVICES      PO BOX 403532 ATLANTA GA 30384
CORP
FIRST AID NOW                            P.O. BOX 866 FOLEY AL 36536
FIRST AIR                                20 COPE DR KANATA ON K2M 2V8 CANADA
FIRST AMERICAN TITLE INSURANCE COMPANY   PO BOX 34452 SEATTLE WA 98124
FIRST BEST LOGISTICS INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FIRST BORN PRODUCTIONS LLC               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
FIRST CALL TOWING AND RECOVERY, INC      7210 N BAKER RD FREMONT IN 46737
FIRST CANADA ULC                         PO BOX 15410 STATION A TORONTO ON M5W 1C1 CANADA
FIRST CAPITAL FIBERS INC                 500 NORTH STATE ST YORK PA 17403
FIRST CARE MEDICAL, P.C.                 2605 2ND AVENUE KEARNEY NE 68847
FIRST CARRIER LLC                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
FIRST CARRIER LLC                        OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
FIRST CHASE FIRE                         636 ZANE HWY. MARTINS FERRY OH 43935
FIRST CHOICE CLEANING & RESTOR           2322 112TH AVE HOLLAND MI 49424
FIRST CHOICE COFFEE SERVICE              900 RIVER ST STE F WINDSOR CT 06095
FIRST CHOICE COFFEE SERVICE              2540 WALDEN AVE STE 900 CHEEKTOWAGA NY 14225
FIRST CHOICE COFFEE SERVICE              207 OVERLOOK DR STE 6 SEWICKLEY PA 15143
FIRST CHOICE COFFEE SERVICE              247 WINTER ST RENO NV 89503
FIRST CHOICE COFFEE SERVICE              7525 COLBERT DR, STE 104 RENO NV 89511
FIRST CHOICE COFFEE SERVICE              4949 HIGHWAY 50 E B1 CARSON CITY CA 89701
FIRST CHOICE COFFEE SERVICE              10907 PAINTER AVE SANTA FE SPRINGS CA 90670
FIRST CHOICE COFFEE SERVICE              17115 JERSEY AVENUE ARTESIA CA 90701
FIRST CHOICE COFFEE SERVICE              18840 PARTHENIA ST. NORTHRIDGE CA 91324
FIRST CHOICE COFFEE SERVICE              4471 SANTA ANA SUITE A ONTARIO CA 91761
FIRST CHOICE COFFEE SERVICE              6496 MARINDUSTRY PLACE SUITE C SAN DIEGO CA 92121
FIRST CHOICE COFFEE SERVICE              2909 CRODDY WAY SANTA ANA CA 92704
FIRST CHOICE COFFEE SERVICE              FIRST CHOICE COFFEE SERVICES 2423 VERNA COURT SAN LEANDRO CA 94577
FIRST CHOICE COFFEE SERVICE              3130 ALFRED ST SANTA CLARA CA 95054
FIRST CHOICE COFFEE SERVICE              961 N. EMERALS AVE, SUITE G MODESTO CA 95351



Epiq Corporate Restructuring, LLC                                                                     Page 647 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 656 of 2156

Claim Name                               Address Information
FIRST CHOICE COFFEE SERVICE              FIRST CHOICE COFFEE SERVICES 4680 PELL DRIVE, UNIT A SACRAMENTO CA 95838
FIRST CHOICE FREIGHT LLC                 OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
FIRST CHOICE GROUP CNY, INC.             7525 MORGAN ROAD LIVERPOOL NY 13090
FIRST CHOICE IN ADVERTISING              6150 AKIN ELM SAN ANTONIO TX 78261
FIRST CHOICE TRANS INC                   OR PRO FUNDING, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
FIRST CHOICE TRANSPORT LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIRST CHOICE TRANSPORT, INC.             PO BOX 678470 DALLAS TX 75267-8470
FIRST CHOICE TRANSPORTATION INC          OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
FIRST CHOICE TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIRST CHURCH OF THENAZARENE              2324 JACKSON ST. ANDERSON IN 46016
FIRST CLASS CARRIERS INC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIRST CLASS CARTAGE LIMITED              204 - 6840 KING GEORGE BLVD SURREY BC V3W 4Z9 CANADA
FIRST CLASS EXPRESS LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FIRST CLASS FREIGHT OF AUGUSTA INC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FIRST CLASS SERVICES                     101 ASCOT GLEN RD IRMO SC 29063
FIRST CLASS SERVICES                     416 BEVERLY DR WEST COLUMBIA SC 29169
FIRST CLASS TRANSPORT LLC                8201 N 442 STRANG OK 74367
FIRST CLASS TRUCKING                     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
FIRST CLASS TRUCKING (MC816257)          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FIRST CLASS TRUCKING PLUS LLC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FIRST CLASS VOYAGE LIMITED LIABILITY CO OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FIRST COAST EXPRESS INC                  230 HAMMOND BOULEVARD JACKSONVILLE FL 32254
FIRST COAST LOGISTICS OF MARYLAND, LLC   4515 NORTH POINT BLVD BALTIMORE MD 21219
FIRST DESTINATION CORP                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
FIRST FAMILY LOGISTICS LLC               OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
FIRST FLEET TRANSPORTATION LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FIRST FORWARD LOGISTICS LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
FIRST GEN ELITE TRUCKING LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FIRST GLOBAL TRANSPORTATION INC          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIRST IN FREIGHT                         PO BOX 4906 MCALLEN TX 78502
FIRST KINGGS TRUCKING                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
FIRST LANE TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIRST LINE FIRE EXTINGUISHER CO          1333 N 8TH ST PADUCAH KY 42001
FIRST LINE INC                           OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
FIRST OPTION, INC.                       P O BOX 68 MARION IN 46952
FIRST PRIORITY INC                       1590 TODD FARM DR ELGIN IL 60123
FIRST PROPERTY SERVICES INC              240 CHURCH ST STE 4A BOX12 ALBANY NY 12202
FIRST RATE FREIGHT LLC                   OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
FIRST RESPONSE ROADSIDE SERVICE, LLC     240 CHURCH ST, SUITE 4A BOX 11 ALBANY NY 12202
FIRST RUNNERS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FIRST SERVE LOGISTICS                    19201 SONOMA HWY 116 SONOMA CA 95476
FIRST SERVICE MECHANICAL INC             3640 S 500 W SALT LAKE CITY UT 84115
FIRST SERVICE MECHANICAL INC             5200 GREENPINE DRIVE MURRAY UT 84123
FIRST SPARK LLC                          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
FIRST SPICE MIXING                       33-33 GREENPOINT AVE ASTORIA NY 11101
FIRST STAR                               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FIRST STOP TRANSPORTATION LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIRST STRIDE TRANSPORTATION              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                    Page 648 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 657 of 2156

Claim Name                            Address Information
FIRST SUPPLY                          2575 PRECISION DR PLOVER WI 54467
FIRST SUPPLY LLC                      106 CAMERON AVENUE LA CROSSE WI 54601
FIRST TEAM INC                        ATTN: SAMANTHA GREEN 902 COREY RD HUTCHINSON KS 67501
FIRST TEAM INC                        ATTN: TREVOR SHEETS 902 COREY RD HUTCHINSON KS 67501
FIRST TIME LOGISTIC LLC               OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
FIRST TRANSPORT LLC                   19660 W 8 MILE RD SOUTHFIELD MI 48075
FIRST TRANSPORTATION LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
FIRST TRANZ LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FIRST TRUCKING XTREME INC             OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
FIRST UTAH BANK                       8915 S 700TH E, STE 103 SANDY UT 84070
FIRST WAY INC.                        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FIRST48 LOGISTICS LLC                 2418 PARK AVE APT 301 MINNEAPOLIS MN 55404-3999
FIRSTGEN TRUCKING LLC                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIRSTGROUP AMERICA                    PO BOX 2934 CLINTON IA 52733
FIRSTLEY, ARIANE                      ADDRESS ON FILE
FIRSTLINE INC                         ATTN: A/P, PO BOX 1009 STAFFORD TX 77477
FIRSTLINE PAVEMENT MARKING INC.       27 SUNBANK PI SE CALGARY AB T2X 1W8 CANADA
FIRUS, JOSHUA                         ADDRESS ON FILE
FIS AVANTGARD LLC                     ATTN: PAYMENT PROCESSING CENTER P.O.BOX 5807 CAROL STREAM IL 60197
FIS AVANTGARD LLC                     PO BOX 4535 CAROL STREAM IL 60197
FIS TRANSPORT LLC                     3131 STILLWATER DRIVE MEDINA OH 44256
FISCAL OFFICER COUNTY OF SUMMIT       175 S MAIN ST, RM 310 AKRON OH 44308
FISCH, JESSICA                        ADDRESS ON FILE
FISCHER & COMPANY                     13727 NOEL ROAD SUITE 900 DALLAS TX 75240
FISCHER PANDA GENERATORS, LLC         351 SOUTH ANDREWS AVE. POMPANO BEACH FL 33069
FISCHER, AARON                        ADDRESS ON FILE
FISCHER, BRIAN                        ADDRESS ON FILE
FISCHER, ERIC                         ADDRESS ON FILE
FISCHER, JEFFREY                      ADDRESS ON FILE
FISCHER, MARC                         ADDRESS ON FILE
FISCHER, RYAN                         ADDRESS ON FILE
FISCHER, SHAYDE                       ADDRESS ON FILE
FISCHER, TIMOTHY                      ADDRESS ON FILE
FISCHER, WILLIAM                      ADDRESS ON FILE
FISCHETTI JR, ANTHONY J               ADDRESS ON FILE
FISCHETTI JR, ANTHONY J               ADDRESS ON FILE
FISCUS, RALPH                         ADDRESS ON FILE
FISH JR, STEVEN                       ADDRESS ON FILE
FISH TRUCKING LLC                     OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425
FISH TRUCKING LLC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FISH WINDOW CLEANING                  PO BOX 723 GRANDVILLE MI 49418
FISH, ALLEN                           ADDRESS ON FILE
FISH, ROBERT                          ADDRESS ON FILE
FISHBURNE FAMILY TRANSPORTATION LLC   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FISHEGG TRUCKING LLC                  113 EATHER DR GOOSE CREEK SC 29445
FISHEL JR., ROBERT                    ADDRESS ON FILE
FISHER                                C/O INTERLINE BRANDS, 701 SAN MARCO BLVD JACKSONVILLE FL 32207
FISHER & PAYKEL                       FREIGHT MANAGEMENT, 2900 E LA PALMA AVE ANAHEIM CA 92806
FISHER & PAYKEL / DYNAMIC COOK        ATTN: LIZBETH DORALIH VARGAS SANTOS PURCHASING 9100 S AUSTIN DR PHARR TX 78577



Epiq Corporate Restructuring, LLC                                                                  Page 649 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 658 of 2156

Claim Name                              Address Information
FISHER & PHILLIPS LLP                   1075 PEACHTREE ST STE 3500 ATLANTA GA 30309
FISHER AUTO PARTS                       101 E. NORTH RAILROAD ST BRACEVILLE IL 60407
FISHER BROTHERS TRUCKING INC            OR CJ FINANCING LLC 19745 COLIMA RD 1-241 ROWLAND HEIGHTS CA 91748
FISHER FIRE EXTINGUISHER SERVICE, INC   PO BOX 3364 JACKSON MS 39207
FISHER LEASING INC                      4111 POTTSVILLE PIKE READING PA 19605
FISHER SCIENTIFIC                       FRANKLIN GLOBAL STRATEGIES, PO BOX 100 RANSOMVILLE NY 14131
FISHER SCIENTIFIC                       300 INDUSTRY DRIVE PITTSBURGH PA 15275
FISHER SCIENTIFIC                       FREIGHT CLAIMS DEPT 300 INDUSTRY DR PITTSBURGH PA 15275
FISHER SCIENTIFIC                       DATA2LOGISTICSLLC, PO BOX 61050 FORT MYERS FL 33906
FISHER SCIENTIFIC                       STE 3, DATA 2 ATTN: LOGISTICS FORT MYERS FL 33913
FISHER SCIENTIFIC COMPANY               ATTN: ARIANA CHIAPAS 5902 HOPKINS RD BLDG 22 TRACY CA 95377
FISHER WATER SERVICE INC                5518 HOLIDAY AVE BILLINGS MT 59101
FISHER, ANTHONY                         ADDRESS ON FILE
FISHER, BART                            ADDRESS ON FILE
FISHER, BRANDON                         ADDRESS ON FILE
FISHER, BRETT                           ADDRESS ON FILE
FISHER, CARL                            ADDRESS ON FILE
FISHER, CLAUDE                          ADDRESS ON FILE
FISHER, COREY                           ADDRESS ON FILE
FISHER, DAVID                           ADDRESS ON FILE
FISHER, DAVID                           ADDRESS ON FILE
FISHER, DAVIE                           ADDRESS ON FILE
FISHER, DONNA                           ADDRESS ON FILE
FISHER, DOUGLAS                         ADDRESS ON FILE
FISHER, DUSTY                           ADDRESS ON FILE
FISHER, ERIC                            ADDRESS ON FILE
FISHER, ERIC                            ADDRESS ON FILE
FISHER, ERIC J                          ADDRESS ON FILE
FISHER, ESTELLA                         ADDRESS ON FILE
FISHER, ESTELLA R                       ADDRESS ON FILE
FISHER, FISH                            ADDRESS ON FILE
FISHER, GARY                            ADDRESS ON FILE
FISHER, GREGORY                         ADDRESS ON FILE
FISHER, GREGORY                         ADDRESS ON FILE
FISHER, JACQUELINE                      ADDRESS ON FILE
FISHER, JAMES                           ADDRESS ON FILE
FISHER, JAMES E                         ADDRESS ON FILE
FISHER, JEWNELL                         ADDRESS ON FILE
FISHER, JOHN                            ADDRESS ON FILE
FISHER, KARI                            ADDRESS ON FILE
FISHER, KEITH                           ADDRESS ON FILE
FISHER, LEONARD                         ADDRESS ON FILE
FISHER, LEONARD                         ADDRESS ON FILE
FISHER, MATTHEW                         ADDRESS ON FILE
FISHER, MATTHEW                         ADDRESS ON FILE
FISHER, MATTHEW                         ADDRESS ON FILE
FISHER, MICHAEL                         ADDRESS ON FILE
FISHER, NICHOLAS                        ADDRESS ON FILE
FISHER, RANDY                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 650 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 659 of 2156

Claim Name                         Address Information
FISHER, ROBERT                     ADDRESS ON FILE
FISHER, ROBERT M                   ADDRESS ON FILE
FISHER, ROCKY                      ADDRESS ON FILE
FISHER, RONNIE                     ADDRESS ON FILE
FISHER, SHERQUENNA                 ADDRESS ON FILE
FISHER, SHERQUENNA                 ADDRESS ON FILE
FISHER, STEFANO                    ADDRESS ON FILE
FISHER, STEPHEN                    ADDRESS ON FILE
FISHER, STEVEN                     ADDRESS ON FILE
FISHER, THOMAS                     ADDRESS ON FILE
FISHER, TIMOTHY                    ADDRESS ON FILE
FISHER, VINCENT                    ADDRESS ON FILE
FISHER, WENDY                      ADDRESS ON FILE
FISHER, WILLIAM                    ADDRESS ON FILE
FISHER, WILLIAM                    ADDRESS ON FILE
FISHER, ZIMBAWE                    ADDRESS ON FILE
FISHER-GRACE, DAWUD                ADDRESS ON FILE
FISHGOLD, RON                      ADDRESS ON FILE
FISK, CHARLES                      ADDRESS ON FILE
FISK, RICHARD                      ADDRESS ON FILE
FISS, BARRY                        ADDRESS ON FILE
FISTER DISTRIBUTION INC            FISTER DISTRIBUTION INC 2305 PALUMBO DRIVE LEXINGTON KY 40509
FITAK, MARGARET                    ADDRESS ON FILE
FITCH, BRAD                        ADDRESS ON FILE
FITCH, CHARLES                     ADDRESS ON FILE
FITCH, NICOLAS                     ADDRESS ON FILE
FITCH, STEPHEN                     ADDRESS ON FILE
FITE, LAMARR                       ADDRESS ON FILE
FITIAL, FLORENCE                   ADDRESS ON FILE
FITIAL, ROSANN                     ADDRESS ON FILE
FITISEMANU, DAVID                  ADDRESS ON FILE
FITLINER INC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FITNESS SUPERSTORE                 ATTN: MANUEL 537 STONE RD STE F BENICIA CA 94510
FITO PLUMBERS INC                  2020 HILL AVE HAYWARD CA 94541
FITO PLUMBERS INC                  5210 DOOLAN RD LIVERMORE CA 94551
FITSUM TRUCKING LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FITTERER, MARK                     ADDRESS ON FILE
FITTRO, ROBERT                     ADDRESS ON FILE
FITTS, GAIL                        ADDRESS ON FILE
FITZ-HENRY, WILLIAM                ADDRESS ON FILE
FITZER, JOYCE                      ADDRESS ON FILE
FITZGERALD, DONALD                 ADDRESS ON FILE
FITZGERALD, JOHN                   ADDRESS ON FILE
FITZGERALD, MIKE                   ADDRESS ON FILE
FITZGERALD, RICHARD                ADDRESS ON FILE
FITZGERALD, RICHARD                ADDRESS ON FILE
FITZGERALD, SANJAY                 ADDRESS ON FILE
FITZGERALD, SEAN                   ADDRESS ON FILE
FITZGERALD, THOMAS                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 651 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 660 of 2156

Claim Name                               Address Information
FITZJARRELL, JILL                        ADDRESS ON FILE
FITZMARK                                 950 DORMAN ST INDIANAPOLIS IN 46202
FITZMARK INC                             ATTN: MORGAN ELDER 950 DORMAN ST INDIANAPOLIS IN 46202
FITZMORRIS BURFORD                       ADDRESS ON FILE
FITZPATRIC, JUAN                         ADDRESS ON FILE
FITZPATRICK JR, RODNEY                   ADDRESS ON FILE
FITZPATRICK, CRAIG                       ADDRESS ON FILE
FITZPATRICK, JAMAAL                      ADDRESS ON FILE
FITZPATRICK, JOHN                        ADDRESS ON FILE
FITZPATRICK, TAMEKA                      ADDRESS ON FILE
FITZPATRICK, THOMAS                      ADDRESS ON FILE
FITZSIMMONS, GARRETT                     ADDRESS ON FILE
FITZSIMMONS, RENEE                       ADDRESS ON FILE
FITZWATER II, WILLIAM                    ADDRESS ON FILE
FIUZA, JACK                              ADDRESS ON FILE
FIVAN LOGISTICS INC                      515 N YORK RD APT 3F WILLOW GROVE PA 19090
FIVE ACES INC                            OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FIVE BLUE STARS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FIVE GOLF                                191 EAST FREEDOM WAY CINCINNATI OH 45202
FIVE KEYS CARRIERS INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FIVE KS TRANSPORATION CORP               OR POWER FUNDING LTD, PO BOX 111 FT WORTH TX 76101
FIVE LEAF COLVER TRUCKING LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FIVE LIONS TRANSPORTATION LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIVE RIVER EXPRESSLINE INC               OR T-PINE FINANCIAL SERVICES 6050 DIXIE ROAD MISSISSAUGA ON L5T1A6 CANADA
FIVE RIVER TRANSPORT                     OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
FIVE RIVERS TRANSPORT                    8918 QUAIL RIDGE LANE LENEXA KS 66220
FIVE RIVERS TRANSPORT LLC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FIVE RIVERS TRUCKING INC                 OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
FIVE RIVERS TRUCKING,LLC                 511 CAN DO EXPRESSWAY HAZLE TOWNSHIP PA 18202
FIVE RIVERS XPRESS INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIVE SONS TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FIVE SONS TRUCKING LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674
FIVE STAR EXPEDITE CO                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FIVE STAR EXPRESS INCORPORATED           OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
FIVE STAR FOOD SERVICE                   5521 COLLINS BLVD AUSTELL GA 30106
FIVE STAR FOOD SERVICE                   PO BOX 733261 DALLAS TX 75373
FIVE STAR FREIGHT SYSTEMS                149-09 183RD STREET SPRINGFIELD GARDENS NY 11413
FIVE STAR INTERNATIONAL LLC              1810 S 19TH ST HARRISBURG PA 17104
FIVE STAR INTERNATIONAL LLC              ASCENDANCE TRUCKS PA LLC, PO BOX 69545 BALTIMORE MD 21264
FIVE STAR INTERNATIONAL LLC              PO BOX 64006 BALTIMORE MD 21264
FIVE STAR LOGISTIC SERVICE INC           479 BUSINESS CENTER DRIVE STE 108 MOUNT PROSPECT IL 60056
FIVE STAR LOGISTICS LLC (FARIBAULT MN)   OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
FIVE STAR MITSUBISHI                     1200 LOGAN BLVD ALTOONA PA 16602
FIVE STAR PAINTING                       2820 LAURELWIND BLVD LEWIS CENTER OH 43035
FIVE STAR PAINTING OF ROCKFORD           1924 OLD ORCHARD RD ROCKFORD IL 61107
FIVE STAR PLUMBING                       PO BOX 2582 LOVES PARK IL 61111
FIVE STAR TRAINING                       ATT MILT MICHAEL 7670 WINSTON ST BURNABY BC V5A 2H4 CANADA
FIVE STAR TRANSPORT AND LOGISTICS LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIVE STAR TRANSPORT INC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                     Page 652 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 661 of 2156

Claim Name                              Address Information
FIVE STAR TRANSPORT LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FIVE STAR TRUCK SERVICES INC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FIVE STAR TRUCKING EXPORT LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FIVE STAR TRUCKING INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FIVE STAR TRUCKING INC (MC712385)      1705 RADISSON RD MINNEAPOLIS MN 55449
FIVE STAR TRUCKING LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
FIVE STARR QUALITY TRUCKING LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FIVE STARS CR LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FIVE STARS FREIGHT LLC                 OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
FIVE STARS TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIVE STARS TRANSPORT LLC (MC784217)    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FIVE TEN TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FIVE TRUCK INC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FIVE TWO TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FIVESTARR TRANS LLC                    OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
FIVETRAN INC                           1221 BROADWAY, 24TH FLOOR OAKLAND CA 94612
FIX AUTO GRANDE PRAIRIE SOUTH          ATTN: TIFFANY H 10933 97TH AVENUE GRANDE PRAIRIE AB T8V 4G6 CANADA
FIX, JASON                             ADDRESS ON FILE
FIX, JASON                             ADDRESS ON FILE
FIX, STEPHAN                           ADDRESS ON FILE
FIX, THERESA                           ADDRESS ON FILE
FIYA TRANSPORTATION CORP               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FIYA TRANSPORTATION CORP               OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
FJ EXPRESS INC                         OR TRUCKSTOP, PO BOX 7410411 CHICAGO IL 60674-0411
FJM TRUCK REPAIR, INC.                 1540 INDUSTRIAL AVE SAN JOSE CA 95112
FK MOTOR CARRIER LLC                   OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FKT EXPRESS                            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FL DEPT HWY SAFETY & MOTOR VEHICLES FHP MOTOR CARRIER PENALTY COLLECT 2900 APALACHEE PARKWAY, UNIT MS24 TALLAHASSEE FL
                                        32399
FL DEPT OF HWAY SAFETY & MOTOR VEHICLES 2900 APALACHEE PARKWAY TALLAHASSEE FL 32399
FL DEPT OF HWY SAFETY AND MOTOR        PENALTY COLLECTION, UNIT MS 24 2900 APALACHEE PKWY TALLAHASSEE FL 32399
VEHICLES
FL TRANSPORT INC                       1129 S PIMA AVE WEST COVINA CA 91790
FLA ACCESSORIES                        290 TOWN CENTER DR STE 1000 DEARBORN MI 48126
FLACCOS LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FLACK, JAMES                           ADDRESS ON FILE
FLACK, NICHOLAS                        ADDRESS ON FILE
FLAG CITY TOWING INC                   7265 US 51 N MILLINGTON TN 38053
FLAG TRUCK CENTER                      4200 E ROUTE 66 FLAGSTAFF AZ 86004
FLAG, TIRRELL                          ADDRESS ON FILE
FLAGG, DEMON                           ADDRESS ON FILE
FLAHERTY, HALEASHA                     ADDRESS ON FILE
FLAHERTY, JOSEPH                       ADDRESS ON FILE
FLAIR FLEXIBLE PACKAGING               ATTN: BONGHI SON 4141 110 AVE SE UNIT 200 CALGARY AB T2C 3B4 CANADA
FLAIR FLEXIBLE PACKAGING               ATTN: BONGHI SON BONGHI SON 2605 S LAKELAND DR APPLETON WI 54915
FLAMBOE, ELLIE                         ADDRESS ON FILE
FLAME FREIGHT                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLAMEOUT FIRE EXTINGUISHERS            P.O. BOX 3760 EDINBURG TX 78540
FLAMING, BRODY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 653 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 662 of 2156

Claim Name                            Address Information
FLAN TRANSPORT LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLANAGAN, CAREY                       ADDRESS ON FILE
FLANAGAN, FORREST F                   ADDRESS ON FILE
FLANAGAN, MICHAEL                     ADDRESS ON FILE
FLANAGAN, PATRICK                     ADDRESS ON FILE
FLANAGAN, SPENCER                     ADDRESS ON FILE
FLANAGAN, WILLIAM                     ADDRESS ON FILE
FLANAGANS ON SITE SERVICE LLC         2132 LYNN CAMP RD. PENNSBORO WV 26415
FLANDREAU, FRANK                      ADDRESS ON FILE
FLANERY, TINA                         ADDRESS ON FILE
FLANERY, WARREN                       ADDRESS ON FILE
FLANNEL, WARREN                       ADDRESS ON FILE
FLANNERY INC                          7400 OAK GROVE ROAD FORT WORTH TX 76140
FLANNIGAN, RONALD                     ADDRESS ON FILE
FLANSBAUM, TENZIN P                   ADDRESS ON FILE
FLAS MONTERO, CRISTAL                 ADDRESS ON FILE
FLASH 1 EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLASH 4                               ATTN: JESSICA ZEMAN 730 RED IRON RD BLACK RIVER FALLS WI 54615
FLASH CARRIERS INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLASH CORP                            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FLASH EXPRESS TRUCKING LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FLASH FREIGHT LOGISTICS CORP          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FLASH LOGISTICS INC (MC1010401)       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLASH LOGISTICS TRANSPORTATION CORP   OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
FLASH LOVE LOGISTICS LLC              OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
FLASH POINT TRUCKING LLC              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FLASH TRANSIT LLC (MC1233033)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FLASH TRANSPORT                       400 MICHEL JASMIN, SUITE 1200 DORVAL QC H9P1C1 CANADA
FLASH TRANSPORT                       OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
FLASH TRUCKING LLC (MC1053699)        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLASH TRUCKING LLC (NASHVILLE TN)     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
FLASH-TECH TRANSPORTATION INC         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FLAT ROCK BAGGING                     PO BOX 398 FLAT ROCK MI 48134
FLAT TECH                             409 W 76TH ST STE B DAVENPORT IA 52806
FLAT WORLD GLOBAL SOLUTIONS           COACHMEN RV 2342 TECHNOLOGY DRIVE STE 310 O FALLON MO 63368
FLAT WORLD GLOBAL SOLUTIONS           FOREST RIVER PLANT 9 2342 TECHNOLOGY DR STE 310 OFALLON MO 63368
FLAT WORLD GLOBAL SOLUTIONS           FOREST RIVER PLANT 9 2342 TECHNOLOGY DRIVE 310 STE OFALLON MO 63368
FLAT WORLD GLOBAL SOLUTIONS           FOREST RIVER PLANT 2342 TECHNOLOGY DR STE 310 OFALLON MO 63368
FLAT WORLD GLOBAL SOLUTIONS           FOREST RIVER PLANT 2342 TECHNOLOGY DR OFALLON MO 63368
FLAT WORLD GLOBAL SOLUTIONS           GRAND DESIGN RV 2342 TECHNOLOGY DR STE 310 OFALLON MO 63368
FLAT WORLD GLOBAL SOLUTIONS           GRAND DESIGN RV 2342 TECHNOLOGY DR UNIT 310 OFALLON MO 63368
FLAT WORLD SUPPLY                     4 STATE TRUCKS 2342 TECHNOLOGY DR STE 310 OFALLON MO 63368
FLAT WORLD SUPPLY CHAIN               4 STATE TRUCKS 2342 TECHNOLOGY DR STE 310 OFALLON MO 63368
FLATHMAN, CHRISTOPHER                 ADDRESS ON FILE
FLATLINE XPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLAUCHER, TERRENCE                    ADDRESS ON FILE
FLAVOR DEVELOPMENT CORP               10 REUTEN DR CLOSTER NJ 07624
FLAVOR SEAL                           35179 COMMERCE PARKWAY AVON OH 44011
FLAVORS OF THE SUN                    3431 E WILLOW SPRINGS DR WASHINGTON UT 84780



Epiq Corporate Restructuring, LLC                                                                  Page 654 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 663 of 2156

Claim Name                             Address Information
FLAVORSEAL                             35179 AVON COMMERCE PKWY AVON OH 44011
FLAYTER, JEFFREY                       ADDRESS ON FILE
FLEAK, JASON                           ADDRESS ON FILE
FLECK, HEATHER                         ADDRESS ON FILE
FLECK, ROGER                           ADDRESS ON FILE
FLECKENSTEIN, ROGER                    ADDRESS ON FILE
FLEECE, GERALD                         ADDRESS ON FILE
FLEEGEL, ROBERT                        ADDRESS ON FILE
FLEEMAN CARRIERS, INC                  605 WINDSOR DRIVE LAWRENCEBURG TN 38464
FLEEMAN, THOMAS                        ADDRESS ON FILE
FLEENER, BARBARA                       ADDRESS ON FILE
FLEENER, EMORY                         ADDRESS ON FILE
FLEENOR BROS. ENTERPRISES, LTD.        OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
FLEENOR BROS. ENTERPRISES, LTD.        PO BOX 3544 OMAHA NE 68103-0544
FLEESON GOOING COULSON & KITCH LLC     301 N MAIN ST STE 1900 WICHITA KS 67202
FLEET 77                               OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V 6L4
                                       CANADA
FLEET AUTO ELECTRIC, INC.              624 CORDELL DRIVE COLLEGE PARK GA 30349
FLEET AUTO ELECTRIC, INC.              624 CORDELL DRIVE COLLEGE PARK GA 30349-6014
FLEET BODY WORKS                       920 OMAILLEY DR COOPERSVILLE MI 49404
FLEET BRAKE PARTS & SERVICE LTD        540 OAK POINT HWY WINNIPEG MB R3C 2E6 CANADA
FLEET BRAKE PARTS & SERVICE LTD        7843 54TH STREET SE CALGARY AB T2C 4R7 CANADA
FLEET CHARGE                           C/O LOCKBOX 920240 PO BOX 4090 STN A TORONTO ON M5W 0E9 CANADA
FLEET CHARGE                           8650 COLLEGE BLVD. OVERLAND PARK KS 66210
FLEET CHARGE                           INTERNATIONAL TRUCK & ENGINE CRP 8650 COLLEGE BLVD OVERLAND PARK KS 66210
FLEET CHARGE                           6450 SPRINT PARKWAY, SUITE 3B203 OVERLAND PARK KS 66211
FLEET CONNECT INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FLEET DUGO LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLEET EQUIPMENT CENTER, INC.           555 E S FRONTAGE RD BOLINGBROOK IL 60440
FLEET EQUIPMENT LEASING- MEMPHIS       2505 FARRISVIEW BLVD MEMPHIS TN 38118
FLEET EQUIPMENT NASHVILLE, LLC         414 WOODYCREST AVE NASHVILLE TN 37210
FLEET EXPRESS DPF CLEANING (INDIANA)   2655 RAND RD INDIANAPOLIS IN 46241
LLC
FLEET EXPRESS DPF CLEANING (INDIANA)   8170 NW 37TH ST ANKENY IA 50023
LLC
FLEET EXPRESS DPF CLEANING EAST, LLC   5104 REGAN DRIVE, SUITE 11 CHARLOTTE NC 28206
FLEET EXPRESS DPF CLEANING EAST, LLC   8170 NW 37TH STREET ANKENY IA 50023
FLEET LOGISTICS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
FLEET MAINTENANCE OF EVANS             1420 N STOCKWELL EVANSVILLE IN 47715
FLEET MAINTENANCE SERVICE              5500 PENNSYLVANIA ST. DENVER CO 80216
FLEET MAINTENANCE, INC.                67 RANSIER DR. WEST SENECA NY 14224
FLEET MANAGEMENT ROAD SERVICES, INC.   3 SOUTH BAY AVE. MASSAPEQUA NY 11758
FLEET MANAGEMENT SYSTEMS INC           78 RICHMOND AVE AMITYVILLE NY 11701
FLEET MANAGEMENT SYSTEMS INC           53 ALDEN AVENUE REPAIR FACILITY 7109720 WEST ISLIP NY 11795
FLEET ONE LEASING, INC.                ATTN: STEFANIE THEUS 9680 SWEET VALLEY DR. CLEVELAND OH 44125-4272
FLEET ONE TRANSPORT LLC                OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                       60674-0411
FLEET PAINTING INC                     3105 E ALKI SPOKANE WA 99202
FLEET PARTS & MAINTENANCE              PO BOX 575 MOUNT PROSPECT IL 60056
FLEET PARTS & SERVICE INC.             563 CORTLANDT ST BELLEVILLE NJ 07109


Epiq Corporate Restructuring, LLC                                                                  Page 655 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 664 of 2156

Claim Name                           Address Information
FLEET PETROLEUM LLC                  307 HARTFORD TURNPIKE SHREWSBURY MA 01545
FLEET QUEST LOGISTICS LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FLEET REPAIR SERVICE                 3100A FONTAINE RD. MEMPHIS TN 38186
FLEET REPAIR SERVICE                 PO BOX 16965 MEMPHIS TN 38186-0965
FLEET SERVICE INC                    PO BOX 11865 LEXINGTON KY 40578
FLEET SERVICES AND SALES LLC         1087 S COBB DR SE MARIETTA GA 30060-3318
FLEET STEERING & HYDRAULICS          618 CORDEL DRIVE ATLANTA GA 30349
FLEET TRAILER LEASING                207 W MAIN ST STE 3 LEWISTOWN MT 59457
FLEET TRANSPORT AND TRUCKING LLC     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLEET ULTRA                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FLEET WORKS REPAIR CENTRE            6229 86TH AVE SE CALGARY AB T2C 2S4 CANADA
FLEET, DOUGLAS                       ADDRESS ON FILE
FLEET, LATRON                        ADDRESS ON FILE
FLEET, MURPHY                        ADDRESS ON FILE
FLEET21 TRANSPORTS LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FLEETCO, INC                         PO BOX 78218 NASHVILLE TN 37207
FLEETCODE                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FLEETEX TRANSPORT LTD                30 SIMONA DRIVE BOLTON ON L7E 4E8 CANADA
FLEETLOGISTIX, LLC                   4109 TRADE CENTER BLVD LAREDO TX 78045
FLEETON, TOMMY                       ADDRESS ON FILE
FLEETPRIDE                           PO BOX 281811 ATLANTA GA 30384
FLEETPRIDE INC                       PO BOX 847118 DALLAS TX 75284
FLEETWASH INC                        PO BOX 36014 NEWARK NJ 07188
FLEETWIDE INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLEGSA                               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLEIG, SHAUN                         ADDRESS ON FILE
FLEIG, SHAUN L                       ADDRESS ON FILE
FLEISCHMANN SERVICE CORPORATION      1333 MILITARY RD BUFFALO NY 14217
FLEISSNER, JOHN                      ADDRESS ON FILE
FLEISSNER, MARK                      ADDRESS ON FILE
FLEMING JR., JUICE                   ADDRESS ON FILE
FLEMING L KNIGHT                     ADDRESS ON FILE
FLEMING, BRADLEY J                   ADDRESS ON FILE
FLEMING, CHARLES                     ADDRESS ON FILE
FLEMING, CHRISTOPHER                 ADDRESS ON FILE
FLEMING, DAISY                       ADDRESS ON FILE
FLEMING, DARRIS                      ADDRESS ON FILE
FLEMING, DEARTIN                     ADDRESS ON FILE
FLEMING, DEMARCO                     ADDRESS ON FILE
FLEMING, DEMETRICK                   ADDRESS ON FILE
FLEMING, EDWARD                      ADDRESS ON FILE
FLEMING, EFREM                       ADDRESS ON FILE
FLEMING, GEORGE                      ADDRESS ON FILE
FLEMING, GEORGE                      ADDRESS ON FILE
FLEMING, GREGORY                     ADDRESS ON FILE
FLEMING, JARRETT                     ADDRESS ON FILE
FLEMING, JAY                         ADDRESS ON FILE
FLEMING, JEREMIAH                    ADDRESS ON FILE
FLEMING, KELLY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 656 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 665 of 2156

Claim Name                           Address Information
FLEMING, OMAR A                      ADDRESS ON FILE
FLEMING, PAUL                        ADDRESS ON FILE
FLEMING, ROBERT K                    ADDRESS ON FILE
FLEMING, ROBERT K                    ADDRESS ON FILE
FLEMING, STEVEN                      ADDRESS ON FILE
FLEMING, TERRANCE                    ADDRESS ON FILE
FLEMING, THOMAS                      ADDRESS ON FILE
FLEMING, TYRONE                      ADDRESS ON FILE
FLEMING, WILLIAM                     ADDRESS ON FILE
FLEMING, WILLIAM T                   ADDRESS ON FILE
FLEMING, YASHOFANA                   ADDRESS ON FILE
FLETCH TRANSPORTATION LLC            OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
FLETCH TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FLETCHALL, ERIC                      ADDRESS ON FILE
FLETCHER PLUMBING INC                3050 NW 21ST STREET OCALA FL 34475
FLETCHER TRANSPORT INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FLETCHER, AL                         ADDRESS ON FILE
FLETCHER, AL J                       ADDRESS ON FILE
FLETCHER, ALBERT                     ADDRESS ON FILE
FLETCHER, ALEXANDER                  ADDRESS ON FILE
FLETCHER, ANDY                       ADDRESS ON FILE
FLETCHER, DAVID                      ADDRESS ON FILE
FLETCHER, DOUGLAS                    ADDRESS ON FILE
FLETCHER, ELI                        ADDRESS ON FILE
FLETCHER, ELIJAH                     ADDRESS ON FILE
FLETCHER, HADEN                      ADDRESS ON FILE
FLETCHER, JAMAR                      ADDRESS ON FILE
FLETCHER, KEVIN                      ADDRESS ON FILE
FLETCHER, MARK                       ADDRESS ON FILE
FLETCHER, MCKINLEY                   ADDRESS ON FILE
FLETCHER, OTIS                       ADDRESS ON FILE
FLETCHER, RACHELLE                   ADDRESS ON FILE
FLETCHER, ROY                        ADDRESS ON FILE
FLETCHER, STEVEN                     ADDRESS ON FILE
FLETTY, ANTHONY                      ADDRESS ON FILE
FLEURIDOR, KENLEY                    ADDRESS ON FILE
FLEURY, JAKE                         ADDRESS ON FILE
FLEX CARGO INC                       OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
FLEX CARGO LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FLEX FREIGHTLINES INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLEX FREIGHTLINES INC                2455 NAGLEE RD, SUITE 352 TRACY CA 95304
FLEX LOGISTICS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
FLEX LOGISTICS LLC (MC057376)        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLEX TRANS INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FLEX TRANSPORT INC                   OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
FLEXDRIVE SERVICES LLC               3003 SUMMIT BLVD NE ATLANTA GA 30319
FLEXI-VAN LEASING, INC.              P.O. BOX 660367 DALLAS TX 75266
FLEXIBLE FREIGHT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLEXLIFE EXPRESS LLC                 OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                Page 657 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 666 of 2156

Claim Name                           Address Information
FLEXLINE EXPRESS LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FLEXOVIT USA INC                     2501 MERCANTILE DR STE E RANCHO CORDOVA CA 95742
FLEXOWASH                            2010 PLANTSIDE DR. ATTN CHRISTINE JOHNSON LOUISVILLE KY 40299
FLEXX TRANSPORTATION                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLEXXIBLE TRUCKING LLC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
FLG LOGISTICS, INC.                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLI INC                              12980 METCALF AVE STE 240 OVERLAND PARK KS 66213
FLI INC                              ATTN: AMY JOHANSEN 12980 METCALF AVE STE 240 OVERLAND PARK KS 66213
FLI TRUCKING INC                     OR 18 WHEEL FUNDING LLC DEPT 6029, PO BOX 4517 HOUSTON TX 77210-4517
FLI TRUCKING, INC.                   2075 FOXFIELD RD, STE 100 ST CHARLES IL 60174
FLICK, MARK                          ADDRESS ON FILE
FLICKINGER, DAVID                    ADDRESS ON FILE
FLIGHT EXPRESS INC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FLINK, STEVEN                        ADDRESS ON FILE
FLINN, JON                           ADDRESS ON FILE
FLINT, JEROME                        ADDRESS ON FILE
FLINT, LONNIE                        ADDRESS ON FILE
FLINT-BLYSTONE, JOEL                 ADDRESS ON FILE
FLINT-BLYSTONE, JOEL M               ADDRESS ON FILE
FLIPPIN, PHIL                        ADDRESS ON FILE
FLIPPING FREIGHT                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FLO KID TRUCKING LLC                 1335 PARK AVE BRIDGEPORT CT 06604
FLO TRANSPORT LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
FLOCK FREIGHT                        701 S COAST HWY 101 ENCINITAS CA 92024
FLOCKFREIGHT                         ATTN: MARCUS SANTOS 701 S COAST HWY 101 ENCINITAS CA 92024
FLOCKFREIGHT                         240 S CEDROS AVE STE 200 SOLANA BEACH CA 92075
FLOCOR INC                           ATTN: NATHALIE AVALLET 765 GODIN AVE QUEBEC QC G1M 2W8 CANADA
FLOEN, DAVID                         ADDRESS ON FILE
FLOER, JOSEPH                        ADDRESS ON FILE
FLOGISTICS                           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLOGISTICS LLC                       OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
FLOIED FIRE EXTINGUISHER             3060 LAMAR AVE MEMPHIS TN 38114
FLOJYMO FREIGHT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLOMANIA EXPRESS INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLOMER LLC                           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FLOOD, JENNIFER                      ADDRESS ON FILE
FLOOD, TIMOTHY                       ADDRESS ON FILE
FLOOR COVERINGS INTERNATIONALS       ATTN: LUKE MATCHETT 2995 BASELINE ROAD STE 306 BOULDER CO 80303
FLOORS & COURTS INC.                 1801 PROFESSIONAL DR. KINSTON NC 28503
FLOORS AND COURTS                    1801 PROFESSIONAL DR KINSTON NC 28501
FLORENCE LOCK & KEY                  1212 W EVANS STREET FLORENCE SC 29501
FLORENCE, WILLIAM                    ADDRESS ON FILE
FLORENDO, PAUL                       ADDRESS ON FILE
FLORES FREIGHT INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FLORES GARCIA TRUCKING               OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                     60674-0411
FLORES JR, MELQUIADES                ADDRESS ON FILE
FLORES MADRIGAL, SAMUEL              ADDRESS ON FILE
FLORES MONTERROSO TRANSPORT          OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH



Epiq Corporate Restructuring, LLC                                                                 Page 658 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 667 of 2156

Claim Name                           Address Information
FLORES MONTERROSO TRANSPORT          45263-9565
FLORES RAMIREZ, ZULMA                ADDRESS ON FILE
FLORES TRUCKING, L.L.C.              704 HASTY SCHOOL RD THOMASVILLE NC 27360
FLORES, ALEXANDER                    ADDRESS ON FILE
FLORES, ANA                          ADDRESS ON FILE
FLORES, ANGEL                        ADDRESS ON FILE
FLORES, ANGELA                       ADDRESS ON FILE
FLORES, ANTHONY                      ADDRESS ON FILE
FLORES, ANTHONY JACOB                ADDRESS ON FILE
FLORES, BENJAMIN                     ADDRESS ON FILE
FLORES, BETZABETH C                  ADDRESS ON FILE
FLORES, CALEB                        ADDRESS ON FILE
FLORES, CARLOS                       ADDRESS ON FILE
FLORES, CHRISTIAN                    ADDRESS ON FILE
FLORES, DEBORAH                      ADDRESS ON FILE
FLORES, DENNIS                       ADDRESS ON FILE
FLORES, DIANE                        ADDRESS ON FILE
FLORES, EMILIO                       ADDRESS ON FILE
FLORES, ERICK                        ADDRESS ON FILE
FLORES, ESTHER                       ADDRESS ON FILE
FLORES, FERNANDO                     ADDRESS ON FILE
FLORES, JACOB                        ADDRESS ON FILE
FLORES, JAMES                        ADDRESS ON FILE
FLORES, JOAO                         ADDRESS ON FILE
FLORES, JOEDY                        ADDRESS ON FILE
FLORES, JORGE                        ADDRESS ON FILE
FLORES, LOUIS                        ADDRESS ON FILE
FLORES, LOUIS                        ADDRESS ON FILE
FLORES, LUIS                         ADDRESS ON FILE
FLORES, MANUEL                       ADDRESS ON FILE
FLORES, MANUEL                       ADDRESS ON FILE
FLORES, MARC                         ADDRESS ON FILE
FLORES, MASON                        ADDRESS ON FILE
FLORES, MASON                        ADDRESS ON FILE
FLORES, MICHAEL                      ADDRESS ON FILE
FLORES, MICHAEL                      ADDRESS ON FILE
FLORES, MICHAEL A                    ADDRESS ON FILE
FLORES, MIGUEL                       ADDRESS ON FILE
FLORES, MIGUEL                       ADDRESS ON FILE
FLORES, NICHOLAS                     ADDRESS ON FILE
FLORES, OSCAR                        ADDRESS ON FILE
FLORES, PEDRO                        ADDRESS ON FILE
FLORES, PEDRO                        ADDRESS ON FILE
FLORES, PETER                        ADDRESS ON FILE
FLORES, ROBERT                       ADDRESS ON FILE
FLORES, ROBERTO                      ADDRESS ON FILE
FLORES, ROY                          ADDRESS ON FILE
FLORES, RUDY                         ADDRESS ON FILE
FLORES, SERINA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 659 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 668 of 2156

Claim Name                               Address Information
FLORES, VICTOR                           ADDRESS ON FILE
FLORES-MORALES, JOSE                     ADDRESS ON FILE
FLOREZ, DAVID                            ADDRESS ON FILE
FLORIDA AUTO RESERVE                     12450 NW S RIVER DR MEDLEY 33178
FLORIDA BEACH RENTALS                    516 MANDALAY AVE. CLEARWATER FL 33767
FLORIDA BEAUTY EXPRESS INC               OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLORIDA COOLING SOLUTIONS INC            PO BOX 152726 CAPE CORAL FL 33915
FLORIDA DEPARTMENT OF FINANCIAL          BUREAU OF UNCLAIMED PROPERTY REPORTING SEC, PO BOX 6350 TALLAHASSEE FL 32314
SERVICES
FLORIDA DEPARTMENT OF REVENUE            5050 W TENNESSEE ST TALLAHASSEE FL 32399
FLORIDA DEPARTMENT OF TRANSPORTATION     P.O. BOX 31241 TAMPA FL 33631
FLORIDA DEPT OF AGRICULTURE              CONSUMER SERVICES, PO BOX 6700 TALLAHASSEE FL 32314
FLORIDA DEPT OF ENVIRONMENTAL            BUREAU OF FINANCE AND ACCOUNTING P.O.BOX 3070 TALLAHASSEE FL 32315
PROTECTION
FLORIDA DEPT OF HEALTH IN DUVAL COUNTY   900 UNIVERSITY BLVD N STE 300 MC-45 JACKSONVILLE FL 32211
FLORIDA DEPT. OF TRANSPORTATION          C/O DBI SERVICES LLC 100 NORTH CONAHAN DRIVE HAZLETON PA 18201
FLORIDA DEPT. OF TRANSPORTATION          C/O PENNINGTON LAW ATTN: MATTHEW BRYANT 215 S. MONROE STREET -2ND FLOOR
                                         TALLAHASSE FL 32302
FLORIDA DOOR SOLUTIONS INC               777 S PARK AVE APOPKA FL 32703
FLORIDA DREAM LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
FLORIDA EAST COAST RAILWAY               7150 PHILIPS HWY JACKSONVILLE FL 32256
FLORIDA EAST COAST RAILWAY LLC           PO BOX 863029 ORLANDO FL 32886
FLORIDA EAST COAST RAILYARD              7411 FULLERTON ST, STE 300 JACKSONVILLE FL 32256
FLORIDA EXPRESS DELIVERY SERVICES LLC    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLORIDA HIGHWAY PATROL                   PENALTY COLLECTION, UNIT MS 24 2900 APALACHEE PKWY TALLAHASSEE FL 32399
FLORIDA HOTSHOT EXPRESS LLC              OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
FLORIDA LABOR LAW POSTER SERVICE         400 CAPITAL CIR SE STE 18 309 TALLAHASSEE FL 32301
FLORIDA MARINE TANK                      120 PETER GILL RD HENDERSON NC 27537
FLORIDA OPTIMUM TRUCKING INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLORIDA PATIO FURNITURE                  506 8TH ST W PALMETTO FL 34221
FLORIDA SPA COVERS                       ATTN: JOSE FLORES 4400 118TH AVE N STE103 CLEARWATER FL 33762
FLORIDA SPA COVERS                       ATTN: SHIPPING DEPT. HOT TUB COVER 4400 118TH AVE N STE103 CLEARWATER FL 33762
FLORIDA TRUCKING ASSOCIATION INC         350 E COLLEGE AVE TALLAHASSEE FL 32301
FLORIG, LYNN                             ADDRESS ON FILE
FLORO, STEPHEN                           ADDRESS ON FILE
FLORYANCE, STEPHEN                       ADDRESS ON FILE
FLOS TRANSPORT INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FLOURNOY, WILLIE                         ADDRESS ON FILE
FLOURTOWN SUNOCO INC                     1545 BETHLEHEM PIKE FLOURTOWN PA 19031
FLOW BROTHERS TRUCKING LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
FLOW TECH PLUMBING & HEATING INC         208 E CHICAGO ST COLUMBIA CITY IN 46725
FLOWE, ISAIAH                            ADDRESS ON FILE
FLOWERS, CARL                            ADDRESS ON FILE
FLOWERS, CHRISTOPHER                     ADDRESS ON FILE
FLOWERS, LARRY                           ADDRESS ON FILE
FLOWERS, MARY                            ADDRESS ON FILE
FLOWERS, TIMBERLAND                      ADDRESS ON FILE
FLOWMARK/HIGHTECH CO                     6837 COMMERCIAL AVE BILLINGS MT 59101
FLOWRITE PLUMBING                        102 COUNTRY WOODS DR BEAR DE 19701
FLOYD FARMS                              4943 FULTON RD BROWNSVILLE TN 38012


Epiq Corporate Restructuring, LLC                                                                    Page 660 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 669 of 2156

Claim Name                           Address Information
FLOYD INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLOYD TOWING INC                     1525 DURAND AVE RACINE WI 53403
FLOYD, ANDREW                        ADDRESS ON FILE
FLOYD, DONNELL                       ADDRESS ON FILE
FLOYD, JAMES                         ADDRESS ON FILE
FLOYD, JANELL                        ADDRESS ON FILE
FLOYD, KELLY                         ADDRESS ON FILE
FLOYD, LAKESHIA                      ADDRESS ON FILE
FLOYD, PAULA                         ADDRESS ON FILE
FLOYD, SHYDEIK                       ADDRESS ON FILE
FLOYDS PLUMBING LLC                  4145 SE 47TH PLACE OCALA FL 34480
FLOYDS TRUCK CENTER INC              PO BOX 1628 GILLETTE WY 82717
FLOYDS TRUCK CENTER, INC.            PO BOX 490 SCOTTSBLUFF NE 69363
FLOYDS TRUCK CENTER, INC.            P.O. BOX 327 BELGRADE MT 59714
FLQ LOGISTICS INC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
FLT                                  801 LUNT AVE ELK GROVE IL 60007
FLUDD, ANTOINETTE                    ADDRESS ON FILE
FLUDERER, ERIC                       ADDRESS ON FILE
FLUELLEN, RICHARD                    ADDRESS ON FILE
FLUESMEIER LEASING & SALES INC       820 APPLE BLOSSOM EXCELSIOR SPRINGS MO 64024
FLUESMELER LEASING & SALES INC       D/B/A: FLUESMEIER LEASING & SALES INC 820 APPLE BLOSSOM EXCELSIOR SPRINGS MO
                                     64024
FLUETS MOBILE TRUCK REPAIR, INC.     6810 ST MARYS RD HILLSBOROUGH NC 27278
FLUIDRA C/O ECHO                     ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
FLUIDYNE FLUID POWER                 31915 GROESBECK HWY. FRASER MI 48026
FLUKE, MARK                          ADDRESS ON FILE
FLUKE, MICHAEL                       ADDRESS ON FILE
FLUTY, CRAIG                         ADDRESS ON FILE
FLUTY, MICHAEL                       ADDRESS ON FILE
FLUTY, RANDY                         ADDRESS ON FILE
FLUXX LOGISTICS                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FLY EXPRESS INC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
FLY EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FLY LINE TRUCKING LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FLY LOGISTICS LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
FLY SQUAD TRANSPORTATION LLC         OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
FLY TRUCKING                         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FLYE, DEMETRIUS                      ADDRESS ON FILE
FLYE, RAYVION                        ADDRESS ON FILE
FLYER TRUCKING LLC                   07521 CO RD C BRYAN OH 43506
FLYERS ENERGY LLC                    PO BOX 884517 LOS ANGELES CA 90088
FLYERS ENERGY LLC                    DEPT 34516, PO BOX 39000 SAN FRANCISCO CA 94139-0001
FLYFAR LOGISTICS LLC                 9110 BEAVERHEAD AVE ENGLEWOOD FL 34224
FLYHI TRANS INC                      OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
FLYING C TRANSPORTATION LLC          OR INTERNET TRUCKSTOP PYMTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO IL
                                     60674-0411
FLYING CARRIERS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLYING CAT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FLYING DEER TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                Page 661 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 670 of 2156

Claim Name                              Address Information
FLYING EAGLE TRUCKING INC               2566 SCENIC RIDGE DR CHINO HILLS CA 91709
FLYING FLAMINGO FREIGHT INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FLYING FOX LOGISTICS LLC                715 W ELM ST CALDWELL ID 83605
FLYING OVER THE ROAD INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
FLYING R EXPRESS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FLYNN BUILDING SPECIALTIES INC          140 WHEELOCK AVE ALEXANDRIA LA 71301
FLYNN ENVIRONMENTAL, INC.               5640 WHIPPLE AVENUE N.W. NORTH CANTON OH 44720
FLYNN PLUMBING AND HEATING, INC         40A GRAFTON CIRCLE SHREWSBURY MA 01545
FLYNN, BRUCE                            ADDRESS ON FILE
FLYNN, JASON                            ADDRESS ON FILE
FLYNN, MELISSA                          ADDRESS ON FILE
FLYNN, SCOTT                            ADDRESS ON FILE
FLYNN, SCOTTIE                          ADDRESS ON FILE
FLYNN, TIMOTHY                          ADDRESS ON FILE
FLYNNS TRUCK PLAZA, LLC                 307 HARTFORD TPKE SHREWSBURY MA 01545
FLYTHE, DARNELL                         ADDRESS ON FILE
FM HENDERSON TRUCKING INC               OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
FM TRANS INC                            2969 SEASONS DR GREENWOOD IN 46143
FM TRUCKING LLC                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FM XPRESS LLC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FMA TRUCKING LLC                        4889 SINCLAIR RD SUITE 106 COLUMBUS OH 43229
FMD FREIGHT SYSTEM INC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FMD LOGISTICS INC                       110 GARYSCHOLL RD WOODBRIDGE ON L4H 3R4 CANADA
FMF ENTERPRISES LLC                     OR BIG BROTHER FINANCIAL, P.O. BOX 1949 SUGAR LAND TX 77487-1949
FMG PRIMECARE LLC.                      PO BOX 21841 BELFAST ME 04915
FMG TRUCKING LLC                        OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
FMH LOGISTICS LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FMH MATERIAL HANDLING SOLUTIONS, INC.   PO BOX 5052 DENVER CO 80217
FMI LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FMJ FREIGHT & LOGISTICS LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FMK FREIGHT                             OR WEX FLEETONE, PO BOX 94565 CLEVELAND OH 44101-4565
FMK TRUCKING LLC                        OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FMR LOGISTICS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FMS TRUCKING LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FMS TRUCKING LLC (MC1127829)            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FNS CUSTOMS BROKERS INC                 18620 HARMON AVE CARSON CA 90746
FNSFB TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOB SERVICES LLC                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FOBEAN, JEFFREY                         ADDRESS ON FILE
FOCUS CARRIERS INC                      OR PRO FUNDING INC DEPT 3045, PO BOX 1007 MEMPHIS TN 38148-3045
FOCUS FREIGHT LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FOCUS NATIONAL LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
FOCUS NORTH AMERICA TRANSPORTATION,     P.O. BOX 1567 RIDGEFIELD WA 98642
INC.
FOCUS TRANSPORTATION LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
FOCUS TRUCKING INC                      7002 N RUMI AVE FRESNO CA 93722
FOCUS TRUCKING LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
FOCUSED EXTERMINATION                   PO BOX 9434 MISSION KS 66201



Epiq Corporate Restructuring, LLC                                                                    Page 662 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 671 of 2156

Claim Name                           Address Information
FOCUSED LOGISTICS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FODERARO SCREEN DESIGN LTD.          1356 CLIFTON ST. WINNIPEG MB R3E 2V2 CANADA
FODOR, MICHAEL R                     ADDRESS ON FILE
FOEDUB TRUCKING LLP                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FOFA XPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOFANAH, FODAY                       ADDRESS ON FILE
FOFANAH, LAMIN                       ADDRESS ON FILE
FOG ENTERPRISES LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FOGARTY, MICHAEL                     ADDRESS ON FILE
FOGEL II, JOSEPH                     ADDRESS ON FILE
FOGG, ANTHONY                        ADDRESS ON FILE
FOGG, ZACHARY                        ADDRESS ON FILE
FOGLE, ROBERT                        ADDRESS ON FILE
FOGLEMAN BOYS FREIGHT LLC            OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
FOHRMAN, PAUL                        ADDRESS ON FILE
FOI LABORATORIES INC                 8014 NE 13TH AVE STE 1000 VANCOUVER WA 98665
FOLA, TANUMALIE                      ADDRESS ON FILE
FOLCK, HEATH                         ADDRESS ON FILE
FOLD-PAK                             ATTN: JOHN WEISS 33 N POWELL DR HAZLETON PA 18202
FOLDEN, KEVIN                        ADDRESS ON FILE
FOLDING, LARRY                       ADDRESS ON FILE
FOLDS, ANDREW                        ADDRESS ON FILE
FOLEY, DANIEL                        ADDRESS ON FILE
FOLEY, DAVID                         ADDRESS ON FILE
FOLEY, JAMES                         ADDRESS ON FILE
FOLEY, LONNIE                        ADDRESS ON FILE
FOLEY, LONNIE                        ADDRESS ON FILE
FOLEY, SEAN                          ADDRESS ON FILE
FOLEY, THOMAS                        ADDRESS ON FILE
FOLI TRUCKING LLC                    OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
FOLIO INVESTMENTS, INC. (0728)       ATT ASHLEY THEOBALD/PROXY MGR 8180 GREENSBORO DR 8TH FL MCLEAN VA 22102
FOLIS TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOLK, DANIEL N                       ADDRESS ON FILE
FOLK, DANIEL N                       ADDRESS ON FILE
FOLK, JEFFREY                        ADDRESS ON FILE
FOLKMAN INC                          1520 CORNELL RD GREEN BAY WI 54313
FOLLINI, JAMES                       ADDRESS ON FILE
FOLLMER, CYNTHIA                     ADDRESS ON FILE
FOLLMER, JOHN                        ADDRESS ON FILE
FOLSOM LAKE KIA                      12749 FOLSOM BLVD. FOLSOM CA 95630
FOLSOM-CASH LLC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOLTZ JR, RICHARD                    ADDRESS ON FILE
FOLTZ MFG & INDUSTRIAL SUPPLY CO     63 E WASHINGTON ST HAGERSTOWN MD 21740
FOLTZ, DOUGLAS                       ADDRESS ON FILE
FOLTZ, DOUGLAS                       ADDRESS ON FILE
FOLTZ, JOHN                          ADDRESS ON FILE
FOLTZ, STEVEN                        ADDRESS ON FILE
FOMBY AND SONS TOWING AND RECOVERY   PO BOX 446 ATOKA OK 74525
FONDA, MATTIA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 663 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 672 of 2156

Claim Name                          Address Information
FONDRY, JOHN                        ADDRESS ON FILE
FONDS DE SOLIDARITE FTQ             545 BOULEVARD CREMAZIE EST   BUREAU 200 MONTREAL QC H2N 0B5 CANADA
FONDS DES PENSIONS ALIMENTAIRES     REVENU QUEBEC C.P. 25400, SUCCURSALE TERMINUS QUEBEC QC G1A 0A8 CANADA
FONG, CRYSTAL                       ADDRESS ON FILE
FONG, JASON                         ADDRESS ON FILE
FONO, DENISE                        ADDRESS ON FILE
FONOTI, OLIVER                      ADDRESS ON FILE
FONSECA, ALEX                       ADDRESS ON FILE
FONSECA, BRIAN                      ADDRESS ON FILE
FONSECA, FELIX                      ADDRESS ON FILE
FONSECAS TRANSPORTATION INC         OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
FONT INC                            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
FONTAINE ENTERPRISE LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FONTAINE, DANIEL YANNICK            ADDRESS ON FILE
FONTAINE, DONNIE                    ADDRESS ON FILE
FONTAINE, JAVIS                     ADDRESS ON FILE
FONTAINE, JONATHAN                  ADDRESS ON FILE
FONTAINE, LUCIEN                    ADDRESS ON FILE
FONTAINE, RICHARD                   ADDRESS ON FILE
FONTANA RADIATOR SERVICE            17635 ARROW FONTANA CA 92335
FONTANA TRUCKING                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FONTANA WATER CO                    15966 ARROW ROUTE FONTANA CA 92335
FONTENOT, FABIAN                    ADDRESS ON FILE
FONTENOT, MICHAEL                   ADDRESS ON FILE
FONTONETTE, ANTHONY                 ADDRESS ON FILE
FONZI EXCAVATION INC                597 FOSTER ST NORTH ANDOVER MA 01845
FONZIE, BRANDON                     ADDRESS ON FILE
FOOD EQUIPMENT REPAIR INC           1925 MCGEE KANSAS CITY MO 64108
FOOD GRADE TRANSNATIONAL, INC.      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FOODHANDLER                         ATTN: LESLEY TAMAYO 9016 PALMETTO COMMERCE PKWY LADSON SC 29456
FOODS ALIVE                         ATTN: JACQUELINE CARRUTHERS ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                    60654
FOOR, RONALD                        ADDRESS ON FILE
FOOTE, REGINALD                     ADDRESS ON FILE
FOOTHILL FIRE PROTECTION, INC.      5948 KING RD LOOMIS CA 95650
FOOTHILLS BROKERAGE INC             PO BOX 51445 KNOXVILLE TN 37950
FOOTMAN, JERRY                      ADDRESS ON FILE
FOPMA, JERRY                        ADDRESS ON FILE
FOR THE KIDS LOGISTICS LLC          OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
FORAMES, FRANK                      ADDRESS ON FILE
FORAN, LARRY                        ADDRESS ON FILE
FORAN, THOMAS                       ADDRESS ON FILE
FORBES & FRIENDS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FORBES PAKNTAX LLC                  OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FORBES, CARLOS                      ADDRESS ON FILE
FORBES, ERERICO                     ADDRESS ON FILE
FORBES, JOHN                        ADDRESS ON FILE
FORBES, MABEL                       ADDRESS ON FILE
FORBES, ZODIE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 664 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 673 of 2156

Claim Name                           Address Information
FORBUSH, RONALD                      ADDRESS ON FILE
FORCE DELIVERY TRANSPORTATION INC    OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FORCE ONE TRUCKING INC               OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
FORCE TRANS INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
FORCE TRANSPORTATION INC             OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
FORCE, TRACY                         ADDRESS ON FILE
FORD                                 ATTN: KATERINA HYKLOVA SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
FORD                                 SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
FORD COMPONENTS SALES                ATTN: AMEE PATEL PO BOX 73076 CHICAGO IL 60673
FORD INBOUND                         ATTN: KATERINA HYKLOVA SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
FORD JR, ANDREW                      ADDRESS ON FILE
FORD METER BOX INCORPORATED          ATTN: DAVID P THOMASON 815 MILES PKWY PELL CITY AL 35125
FORD TAYLOR, SOCORRO                 ADDRESS ON FILE
FORD TRUCKING LLC                    OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
FORD, BARRY                          ADDRESS ON FILE
FORD, BOBBY                          ADDRESS ON FILE
FORD, BOSTON                         ADDRESS ON FILE
FORD, BRADLEY                        ADDRESS ON FILE
FORD, CHARLES                        ADDRESS ON FILE
FORD, COREY                          ADDRESS ON FILE
FORD, DARRYL                         ADDRESS ON FILE
FORD, DEREK                          ADDRESS ON FILE
FORD, DOMINIQUE                      ADDRESS ON FILE
FORD, DOMINIQUE                      ADDRESS ON FILE
FORD, EDDIE                          ADDRESS ON FILE
FORD, EMMA                           ADDRESS ON FILE
FORD, EMMANUEL                       ADDRESS ON FILE
FORD, ERIC                           ADDRESS ON FILE
FORD, GARLAND                        ADDRESS ON FILE
FORD, GEORGE                         ADDRESS ON FILE
FORD, GLENN                          ADDRESS ON FILE
FORD, GREG                           ADDRESS ON FILE
FORD, HARRY                          ADDRESS ON FILE
FORD, HOWARD                         ADDRESS ON FILE
FORD, ISAIAH                         ADDRESS ON FILE
FORD, JAMES                          ADDRESS ON FILE
FORD, JEFFREY                        ADDRESS ON FILE
FORD, JUSTIN                         ADDRESS ON FILE
FORD, KEVIN                          ADDRESS ON FILE
FORD, LAMARR                         ADDRESS ON FILE
FORD, LEON                           ADDRESS ON FILE
FORD, MICHAEL                        ADDRESS ON FILE
FORD, PATRICIA                       ADDRESS ON FILE
FORD, RICKY                          ADDRESS ON FILE
FORD, ROBERT                         ADDRESS ON FILE
FORD, SCOTT                          ADDRESS ON FILE
FORD, STEVEN                         ADDRESS ON FILE
FORD, TERRY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 665 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 674 of 2156

Claim Name                           Address Information
FORD, TIMOTHY                        ADDRESS ON FILE
FORD, VENNIE                         ADDRESS ON FILE
FORDE, LUCKORT                       ADDRESS ON FILE
FORDHAM, OMAR                        ADDRESS ON FILE
FORDOM FREIGHT EXPRESS LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
FORDYCE TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FORDYCE, TRACY                       ADDRESS ON FILE
FORE LAW PLLC                        9100 SHELBYVILLE RD STE 160 LOUISVILLE KY 40222
FOREIGN ENGINE                       1422 N GOVERNMENT WAY COEUR D ALENE ID 83814
FOREMAN, DUANE                       ADDRESS ON FILE
FOREMAN, JAMES                       ADDRESS ON FILE
FOREMAN, KELLEY                      ADDRESS ON FILE
FOREMAN, MICHELLE                    ADDRESS ON FILE
FOREMAN, ROBERT R                    ADDRESS ON FILE
FOREMAN, STEVEN                      ADDRESS ON FILE
FOREMAN, SUZANNE                     ADDRESS ON FILE
FOREMOST TRUCKING LLC                OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
FORERUNNER FREIGHT SYSTEMS, INC.     4545 135TH AVE HAMILTON MI 49419
FORESHEE, MEGHAN                     ADDRESS ON FILE
FOREST CITY STAFFING                 2-60 MEG DRIVE LONDON ON N6E 3T6 CANADA
FOREST LUMBER CO.                    PO BOX 101063 PITTSBURGH PA 15237
FOREST PRODUCTS DISTRIBUTORS         4200 BEACH DR 2 RAPID CITY SD 57702
FOREST RIVER                         ATTN: JEANNN CROFF 1492 GERBER ST LIGONIER IN 46767
FOREST RIVER INC                     ATTN: CAMERON BIGLER 55135 COUNTY ROAD 1 BLDG A ELKHART IN 46514
FOREST RIVER INC                     ATTN: BROOKE SHAW 201 W ELM ST MILLERSBURG IN 46543
FOREST RIVER, INC.                   201 W ELM ST MILLERSBURG IN 46543
FORESTLAND TRUCKING COMPANY          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FOREVER EXPRESS INC                  OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
FOREVER INC                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FOREVER TRANSPORTATION INC           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FOREVER TRANSPORTATION INC           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FOREVERMORE TRANSIT GROUP LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FOREWAY TRANSPORTATION, INC.         1413 RANDALL STREET COOPERSVILLE MI 49404
FOREY, BRODY                         ADDRESS ON FILE
FORGEY, KEITH                        ADDRESS ON FILE
FORKEY BROTHERS TRUCKING             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FORKLIFT PARTS SUPPLY INC            PO BOX 49303 GREENWOOD SC 29646
FORKLIFT PARTS SUPPLY INC            PO BOX 49303 GREENWOOD SC 29649
FORKLIFT SERVICES OF OREGON          13805 NE SANDY BLVD PORTLAND OR 97230
FORKLIFT SERVICES OF OREGON          700 S. CHICAGO ST. SEATTLE WA 98108
FORKLIFT SYSTEMS INC.                P.O.BOX 305172, DEPT. 138 NASHVILLE TN 37230
FORKLIFT SYSTEMS INC.                PO BOX 305172, DEPT 138 NASHVILLE TN 37230-5172
FORKLIFTS ETC                        3684 CHERRY ROAD MEMPHIS TN 38118
FORKLIFTS OF MINNNESOTA, INC.        2201 W 94TH ST BLOOMINGTON MN 55431
FORKLIFTS OF OMAHA                   1625 E EUCLID AVE DES MOINES IA 50313
FORKLIFTS OF QUINCY, INC             2426 W SCHNEIDMAN DR QUINCY IL 62305
FORMAN, LEON                         ADDRESS ON FILE
FORMAN, RONALD                       ADDRESS ON FILE
FORMULA 1 COURIER                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                Page 666 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 675 of 2156

Claim Name                           Address Information
FORMULA EXPRESS LLC                  PO BOX 245024 BROOKLYN NY 11224
FORMULA ONE CARRIERS INC             OR KY FACTORING, PO BOX 940892 MIAMI FL 33194
FORMWOOD INDUSTRIES INC              1601 PRODUCTION ROAD JEFFERSONVILLE IN 47130
FORMYDUVAL, CURTIS                   ADDRESS ON FILE
FORNEY, CHAD                         ADDRESS ON FILE
FORNEY, DAVID                        ADDRESS ON FILE
FORNEY, TRAVIS                       ADDRESS ON FILE
FORREST S GRESHAM                    ADDRESS ON FILE
FORREST T WHITNEY                    ADDRESS ON FILE
FORREST, ALEXANDER                   ADDRESS ON FILE
FORREST, ALISHA                      ADDRESS ON FILE
FORREST, NICHOLAS                    ADDRESS ON FILE
FORREST, ROAN                        ADDRESS ON FILE
FORRESTER, CRESHANE                  ADDRESS ON FILE
FORRESTER, JEFF                      ADDRESS ON FILE
FORRESTER, JEFF                      ADDRESS ON FILE
FORRESTER, ROBERT                    ADDRESS ON FILE
FORRESTER, RON                       ADDRESS ON FILE
FORRESTER, ROSS                      ADDRESS ON FILE
FORRESTER, WENDY                     ADDRESS ON FILE
FORREX LOGISTICS INC                 OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
FORRISTAL, NICHOLAS                  ADDRESS ON FILE
FORRO, JAN                           ADDRESS ON FILE
FORRY TRANSPORT, INC.                1477 CARLISLE PIKE HANOVER PA 17331
FORSAGE INC                          OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FORSEN, KAY                          ADDRESS ON FILE
FORSETH, CHRISTINE                   ADDRESS ON FILE
FORSHEE, MARK                        ADDRESS ON FILE
FORSMAN, STEVEN                      ADDRESS ON FILE
FORSTIE, JERED                       ADDRESS ON FILE
FORSYTH COUNTY TAX COLLECTOR         PO BOX 082 WINSTON SALEM NC 27102
FORSYTH COUNTY TAX COLLECTOR         PO BOX 70844 CHARLOTTE NC 28272
FORSYTH, AMOS                        ADDRESS ON FILE
FORSYTH, ROBERT                      ADDRESS ON FILE
FORSYTHE LLC                         OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
FORSYTHE, RICKY                      ADDRESS ON FILE
FORT COLLINS CO PARTS PLUS           LENNOX INDUSTRIES INC 1101 ACADEMY CT, UNIT 1B FORT COLLINS CO 80524-8966
FORT DEARBORN                        TERRI MICHEL, 1530 MORSE AVE ELK GROVE VILLAGE IL 60007
FORT GARRY INDUSTRIES LTD            731 GANA CRT MISSISSAUGA ON L5S 1P2 CANADA
FORT GARRY INDUSTRIES LTD            2525 INKSTER BLVD WINNIPEG MB R2R 2Y4 CANADA
FORT GARRY INDUSTRIES LTD            1523 ROSS AVE E REGINA SK S4N 7E5 CANADA
FORT GARRY INDUSTRIES LTD            3426 FAITHFULL AVE SASKATOON SK S7K 8H1 CANADA
FORT TOWING                          P.O. BOX 2512, 1209 SOUTH 3RD STREET LARAMIE WY 82070
FORT WORTH FREIGHTLINER-STERLI       ATTN: WILLIAM WARD PARTS 1804 NE LOOP 820 FT WORTH TX 76106
FORT YORK PAVING COMPANY LIMITED     6 6150 HWY 7 STE 492 WOODBRIDGE ON L4H 0R6 CANADA
FORT, GARY                           ADDRESS ON FILE
FORTALEZA TRANSPORT LLC              19 FIRST ST BARNEGAT NJ 08005
FORTE EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
FORTE LOGISTICS                      301 54TH AVE E STE 200 FIFE WA 98424



Epiq Corporate Restructuring, LLC                                                                Page 667 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 676 of 2156

Claim Name                             Address Information
FORTE TRANSPORT                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FORTECHO LLC                           PO BOX 3404 MUNSTER IN 46321
FORTENBERRY, BRUCE                     ADDRESS ON FILE
FORTES CORPORATION                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
FORTES, JAMES S                        ADDRESS ON FILE
FORTES, JAMES S                        ADDRESS ON FILE
FORTHUBER, RICHARD                     ADDRESS ON FILE
FORTIER, ERIC                          ADDRESS ON FILE
FORTIER, KENNETH                       ADDRESS ON FILE
FORTIER, ROBERT                        ADDRESS ON FILE
FORTIN, DEBORAH                        ADDRESS ON FILE
FORTIS BC NATURAL GAS                  16705 FRASER HIGHWAY SURREY BC V4N 0E8 CANADA
FORTIS SOLUTIONS GROUP                 1600 N SR-291 STE 1020 INDEPENDENCE MO 64058
FORTIS TRANSPORT INC.                  4538 MYSTIQUE WAY ROSWELL GA 30075
FORTIS TRANSPORTATION INC              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FORTITUDE FREIGHT LLC                  306 GARIBALDI AVE APT 1A LODI NJ 07644-3731
FORTIVE-GEM SENSORS                    TRANS AUDIT, 11 MARSHALL ROAD STE 2D WAPPINGERS FALLS NY 12590
FORTONS EXPRESS, INC.                  4200 DOVE ROAD PORT HURON MI 48060
FORTRANS, INC.                         1600 JANESVILLE AVE FORT ATKINSON WI 53538
FORTRESS EXPRESS CORP                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
FORTSCH, JANET                         ADDRESS ON FILE
FORTSON, ANDREA                        ADDRESS ON FILE
FORTUNATO, KRISTIN L                   ADDRESS ON FILE
FORTUNATO, PAUL                        ADDRESS ON FILE
FORTUNE EXPRESS TRANSPORTATION LLC     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
FORTUNE LINES INC                      OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
FORTUNE STAR GROUP INC                 9305 FOREST GLEN CT DARIEN IL 60561
FORTUNE, BLAKE                         ADDRESS ON FILE
FORTUNE, JAMES                         ADDRESS ON FILE
FORTUNE, LARRY                         ADDRESS ON FILE
FORTUNE, PIERRE                        ADDRESS ON FILE
FORTY 8 HUNDRED CARIBBEAN RESTAURANT   4800 MONROE RD. CHARLOTTE NC 28205
FORTY ONE SUPPLY CHAIN SOLUTIONS       265 RUTHERFORD ROAD SOUTH BRAMPTON ON L6W 1V9 CANADA
FORTY, GLENN                           ADDRESS ON FILE
FORWARD AIR                            DEPT, 888155 KNOXVILLE TN 37995
FORWARD FOCUS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FORWARD FREIGHT SYSTEMS INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FORWARD LINK LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FORWARD LOGISTICS LLC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FORWARD TRANSPORT LLC                  205 BOUCK RD FRANKFORT NY 13340
FORWARD TRANSPORTATON SYSTEMS LLC      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
FORYS, HARRY                           ADDRESS ON FILE
FORZA TRANSPORT LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOSHEIM, DOUGLAS                       ADDRESS ON FILE
FOSKETT, HAROLD                        ADDRESS ON FILE
FOSKO, GIO                             ADDRESS ON FILE
FOSS, ERIC                             ADDRESS ON FILE
FOSSE, KEVIN                           ADDRESS ON FILE
FOSSLER, GARY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 668 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 677 of 2156

Claim Name                            Address Information
FOSTER AND HART LOGISTICS LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOSTER DEDICATED LLC                  13312 RANCHERO RD STE 18-217 OAK HILLS CA 92344
FOSTER EQUIPMENT COMPANY, LTD         P. O. BOX 30188 HONOLULU HI 96820
FOSTER TRUCKING                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FOSTER, ANISSA                        ADDRESS ON FILE
FOSTER, ANISSA M                      ADDRESS ON FILE
FOSTER, BOB                           ADDRESS ON FILE
FOSTER, BRANDON T                     ADDRESS ON FILE
FOSTER, BRIAN                         ADDRESS ON FILE
FOSTER, CHARLES                       ADDRESS ON FILE
FOSTER, CHAZLEY                       ADDRESS ON FILE
FOSTER, CLARENCE                      ADDRESS ON FILE
FOSTER, DAMON                         ADDRESS ON FILE
FOSTER, DAN                           ADDRESS ON FILE
FOSTER, DARRELL                       ADDRESS ON FILE
FOSTER, DARRELL                       ADDRESS ON FILE
FOSTER, DARRYL                        ADDRESS ON FILE
FOSTER, DAVID                         ADDRESS ON FILE
FOSTER, DAVID                         ADDRESS ON FILE
FOSTER, DAVID                         ADDRESS ON FILE
FOSTER, DAVID                         ADDRESS ON FILE
FOSTER, DEVAN F                       ADDRESS ON FILE
FOSTER, DOMONIC                       ADDRESS ON FILE
FOSTER, DOUG                          ADDRESS ON FILE
FOSTER, EDWARD F                      ADDRESS ON FILE
FOSTER, GREGORY                       ADDRESS ON FILE
FOSTER, JACKSON                       ADDRESS ON FILE
FOSTER, JAMES                         ADDRESS ON FILE
FOSTER, JAMIE                         ADDRESS ON FILE
FOSTER, JERMAINE                      ADDRESS ON FILE
FOSTER, JERRY                         ADDRESS ON FILE
FOSTER, JULIUS                        ADDRESS ON FILE
FOSTER, KAITLYN                       ADDRESS ON FILE
FOSTER, KEVIN                         ADDRESS ON FILE
FOSTER, LARRY                         ADDRESS ON FILE
FOSTER, LONNEL                        ADDRESS ON FILE
FOSTER, MADISON                       ADDRESS ON FILE
FOSTER, MAURICE                       ADDRESS ON FILE
FOSTER, MICHAEL                       ADDRESS ON FILE
FOSTER, ROBERT F                      ADDRESS ON FILE
FOSTER, SHERRI                        ADDRESS ON FILE
FOSTER, SWIFT, COLLINS & SMITH P.C.   313 S WASHINGTON SQUARE LANSING MI 48933
FOSTER, TAMI JANE                     ADDRESS ON FILE
FOSTER, TAMMY                         ADDRESS ON FILE
FOSTER, TODD                          ADDRESS ON FILE
FOSTER, TOM                           ADDRESS ON FILE
FOTO ELECTRIC SUPPLY                  ATTN: JANIS BENHAIM 1 REWE ST BROOKLYN NY 11211
FOTU, LYNDE                           ADDRESS ON FILE
FOUCH, JOHN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 669 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 678 of 2156

Claim Name                              Address Information
FOUGHT, CHRISTOPHER                    ADDRESS ON FILE
FOULDS, TIM                            ADDRESS ON FILE
FOULK BROTHERS PLUMBING & HEATING      322 W 7TH ST SIOUX CITY IA 51103
FOULK, JOHN                            ADDRESS ON FILE
FOULSTON, RICHARD                      ADDRESS ON FILE
FOULTNER, PATIENCE                     ADDRESS ON FILE
FOUNDATION PROSERVICES                 2412 DOLLY RIDGE TRAIL BIRMINGHAM AL 35243
FOUNDER TRANSPORT INC                  OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOUNTAIN VALLEY ENTERPRISE, INC.       14986 COUNTY ROAD 20 FAYETTE OH 43521
FOUNTAIN, JUSTIN                       ADDRESS ON FILE
FOUNTAIN, JW                           ADDRESS ON FILE
FOUNTAIN, MATTHEW                      ADDRESS ON FILE
FOUNTAIN, MICHAEL                      ADDRESS ON FILE
FOUNTAINE, MATT                        ADDRESS ON FILE
FOUNTAS, JAY                           ADDRESS ON FILE
FOUR - THIRTEEN TRUCKING LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FOUR DIAMONDS TRANSPORTATION INC       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOUR JC EXPRESS                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FOUR POINT TRUCKING LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FOUR POINTS GALAXY EXPRESS LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOUR SEASONS EXPRESS INC               175 S LINCOLN AVE UNIT 16 ADDISON IL 60101
FOUR SEASONS H TRANSPORTATION INC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOUR SEASONS LAWN CARE, LLC            PO BOX 21926 LEXINGTON KY 40522
FOUR SEASONS LOGISTICS INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOUR SEASONS OUTDOOR SERVICES          7036 GRAND AVE DULUTH MN 55807
FOUR SEASONS OUTDOOR SERVICES          PO BOX 7253 DULUTH MN 55807
FOUR SEASONS TRANSPORT                 OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOUR SEASONS TRUCKING LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
FOUR STAR ASPHALT INC                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
FOUR WAY LOGISTICS LLC                 2031 SPRING CHASE CIR STONE MTN GA 30083
FOUR WAYS CARGO INC                    OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
FOUR WAYS LOGISTICS II, INC.           12910 85TH CT PALOS PARK IL 60464
FOUR WIND TRUCKING LLC                 OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FOUR-U-TRANSPORTATION, INC.            1116 FAIRFAX PIKE STEPHENS CITY VA 22655
FOURFRONT LOGISTICS                    OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T 5C5 CANADA
FOURKITES, INC.                        P.O BOX 8365 PASADENA CA 91109
FOURMAN, BRYAN                         ADDRESS ON FILE
FOURNIER, THOMAS                       ADDRESS ON FILE
FOURSTAR GROUP                         189 MAIN ST MILFORD MA 01757
FOURTH QUARTER EXPRESS & MANAGEMENT LLC OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FOURTH QUARTER TRANSPORTATION LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOURWAYS LOGISTICS LLC                 OR SMARTTRUCKER LLC PO BOX 30516, DEPT 506 LANSING MI 48909
FOURWIDE TRANSPORTATION LLC            OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
FOURWIDE TRANSPORTATION LLC            OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOUSE, VINCENT                         ADDRESS ON FILE
FOUST, BOBBY                           ADDRESS ON FILE
FOUST, JEFFREY                         ADDRESS ON FILE
FOUTCH, CHRIS                          ADDRESS ON FILE
FOUTS, DON                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 670 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 679 of 2156

Claim Name                            Address Information
FOUTS, ERIC                           ADDRESS ON FILE
FOUTS, RANDALL                        ADDRESS ON FILE
FOWLER LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FOWLER TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOWLER, ANTONIO                       ADDRESS ON FILE
FOWLER, BRIAN                         ADDRESS ON FILE
FOWLER, CARTER                        ADDRESS ON FILE
FOWLER, CHARLES A                     ADDRESS ON FILE
FOWLER, DANNY                         ADDRESS ON FILE
FOWLER, DAVID                         ADDRESS ON FILE
FOWLER, DAVID                         ADDRESS ON FILE
FOWLER, DELON                         ADDRESS ON FILE
FOWLER, HARVEY                        ADDRESS ON FILE
FOWLER, JAMIE                         ADDRESS ON FILE
FOWLER, JOHN                          ADDRESS ON FILE
FOWLER, NICHOLAS                      ADDRESS ON FILE
FOWLER, PAUL E                        ADDRESS ON FILE
FOWLER, ROBERT                        ADDRESS ON FILE
FOWLER, RYAN                          ADDRESS ON FILE
FOWLER, TERRY                         ADDRESS ON FILE
FOWLER, TONY                          ADDRESS ON FILE
FOWLER, TORI                          ADDRESS ON FILE
FOWLKES, THEODORE                     ADDRESS ON FILE
FOX BROTHERS TRANSFER, INCORPORATED   10 E PROGRESS ROAD LOMBARD IL 60148
FOX C GROUP INC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOX CARRIERS                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FOX FENCE INC                         2637 LOCKPORT ROAD NIAGARA FALLS NY 14305
FOX FIRE SAFETY INC                   4605 LINCOLN WAY E MISHAWAKA IN 46544
FOX FREIGHT INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
FOX LOGISTICS INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FOX MFG                               32535 SOUTH RIVER RD. HARRISON TWP. MI 48045
FOX RENT A CAR                        4135 SOUTH 100TH EAST AVENUE SUITE 200 TULSA OK 74146
FOX ROTHSCHILD LLP                    ATTN: ANDREW STOLL 2800 KELLY RD STE 200 WARRINGTON PA 18976
FOX TOWING TRUCK SVC                  29 W CURRY RD WILMINGTON OH 45177
FOX TRANSPORTATION INC                P.O. BOX 3119 RANCHO CUCAMONGA CA 91729
FOX TRUCKING XPRESS INC               OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
FOX VALLEY CAB                        719 W FRANCES ST. APPLETON WI 54914
FOX VALLEY FIRE & SAFETY CO           2730 PINNACLE DRIVE ELGIN IL 60124
FOX VALLEY TRUCK                      5668 NEUBERT ROAD APPLETON WI 54913
FOX WAREHOUSING & DISTRIBUTION        PO BOX 980, 200 N INDUSTRIAL PARK ROAD LIVINGSTON AL 35470
FOX, CARROLL                          ADDRESS ON FILE
FOX, CHARLES                          ADDRESS ON FILE
FOX, CHRISTOPHER                      ADDRESS ON FILE
FOX, CLEM                             ADDRESS ON FILE
FOX, CODY                             ADDRESS ON FILE
FOX, CURTIS                           ADDRESS ON FILE
FOX, CURTIS                           ADDRESS ON FILE
FOX, DARIUS                           ADDRESS ON FILE
FOX, DENISE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 671 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 680 of 2156

Claim Name                           Address Information
FOX, DERRICK                         ADDRESS ON FILE
FOX, DORIS                           ADDRESS ON FILE
FOX, ERIC                            ADDRESS ON FILE
FOX, GABRIEL                         ADDRESS ON FILE
FOX, GEORGE                          ADDRESS ON FILE
FOX, HALLIE                          ADDRESS ON FILE
FOX, JAMES                           ADDRESS ON FILE
FOX, JOHN                            ADDRESS ON FILE
FOX, JOSEPH                          ADDRESS ON FILE
FOX, JOSHUA                          ADDRESS ON FILE
FOX, KYLE                            ADDRESS ON FILE
FOX, MARC                            ADDRESS ON FILE
FOX, MARVIN                          ADDRESS ON FILE
FOX, MILTON                          ADDRESS ON FILE
FOX, ROBERT M                        ADDRESS ON FILE
FOX, SARISSA                         ADDRESS ON FILE
FOX, STEPHEN                         ADDRESS ON FILE
FOX, STRATTON                        ADDRESS ON FILE
FOX, TERRI A                         ADDRESS ON FILE
FOX-CLAY, TIFFANY                    ADDRESS ON FILE
FOXFORD LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FOXTRAN                              OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FOXWORTH, MICHAELOS                  ADDRESS ON FILE
FOXY TRANSPORTATION LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FOY, BILLY                           ADDRESS ON FILE
FOY, CRAIG                           ADDRESS ON FILE
FOY, DAVID                           ADDRESS ON FILE
FOY, JONATHAN P                      ADDRESS ON FILE
FOY, KURT                            ADDRESS ON FILE
FOY, LATRON                          ADDRESS ON FILE
FOYE, ALLAN                          ADDRESS ON FILE
FOZY TECH LLC                        OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
FPB REMITTANCE, CITY OF TOLEDO       ONE GOVERNMENT CENTER, SUITE 1710 TOLEDO OH 43604
FPL                                  4200 W FLAGLER ST CORAL GABLES FL 33134
FPL                                  700 UNIVERSE BLVD JUNO BEACH 33408
FPS TECHNOLOGIES, INC.               PO BOX 14780 OKLAHOMA CITY OK 73113
FQP HEALTHCARE                       ATTN: APRIL MCLAUGHLIN 121 NORTH RD MC ELHATTAN PA 17748
FR EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FR TRANSPORT                         OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
FR TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FR8 LYFT LLC                         OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
FRAES LOGISTICS LLC                  OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
FRAGA TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FRAGMIN, EDWARD                      ADDRESS ON FILE
FRAGOMELI, ILARIO                    ADDRESS ON FILE
FRAGOSO BULTRON, FERNANDO            ADDRESS ON FILE
FRAGOSO, HELDA                       ADDRESS ON FILE
FRAGOZA, ESMERALDA                   ADDRESS ON FILE
FRAHN, CAELAN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 672 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 681 of 2156

Claim Name                          Address Information
FRAIKES, CORY                       ADDRESS ON FILE
FRAKES, BRUCE A                     ADDRESS ON FILE
FRAKES, FREDERIC                    ADDRESS ON FILE
FRAKES, SYMONE                      ADDRESS ON FILE
FRALEY TRANSPORT LLC                8822 N RANGELINE RD, 0 COVINGTON OH 45318
FRALEY, JAMES                       ADDRESS ON FILE
FRALICK, GARY                       ADDRESS ON FILE
FRAMAR INTERNATIONAL INC            ATTN: ERICA PATERSON 7873 BLACKBURN PKWY NIAGARA FALLS ON L2H 0A6 CANADA
FRAME, CAROL                        ADDRESS ON FILE
FRAME, STACIE                       ADDRESS ON FILE
FRAMPTON, RICHARD                   ADDRESS ON FILE
FRAN ROCK TRUCK SERVICES            230 W NYACK RD WEST NYACK NY 10994
FRANCE SALES AND SERVICE INC        1151 FOUNDRY ST SCHOFIELD WI 54476
FRANCE, CHARLES                     ADDRESS ON FILE
FRANCESCHI, VICTOR H                ADDRESS ON FILE
FRANCESCONI, ADAM                   ADDRESS ON FILE
FRANCHI TRUCKING INC                3200 OLD MOUNTAIN RD TRINITY NC 27370
FRANCHISE TAX BOARD                 PO BOX 942867 SACRAMENTO CA 94267
FRANCHISE TAX BOARD                 PO BOX 942867 SACRAMENTO CA 94267-0001
FRANCHISE TAX BOARD                 ATTN: UNCLAIMED PROPERTIES, PO BOX 2800 SACRAMENTO CA 95812
FRANCIS A FULLERTON                 ADDRESS ON FILE
FRANCIS EXPRESS TRUCKING LLC        OR G SQUARED FUNDING LLC 8215 ROSWELL RD, BLDG 600 SANDY SPRINGS GA 30350
FRANCIS FERRIERO                    ADDRESS ON FILE
FRANCIS FERRIERO                    ADDRESS ON FILE
FRANCIS, CHRISTOPHER                ADDRESS ON FILE
FRANCIS, HALLIE                     ADDRESS ON FILE
FRANCIS, JOSEPH                     ADDRESS ON FILE
FRANCIS, KEVIN                      ADDRESS ON FILE
FRANCIS, RICHARD                    ADDRESS ON FILE
FRANCIS, ROBERT                     ADDRESS ON FILE
FRANCIS, ROBERT                     ADDRESS ON FILE
FRANCIS, SIDNEY                     ADDRESS ON FILE
FRANCIS, STEPHEN                    ADDRESS ON FILE
FRANCIS, STEPHON                    ADDRESS ON FILE
FRANCIS, THOMAS                     ADDRESS ON FILE
FRANCIS, WAYNE                      ADDRESS ON FILE
FRANCISCO A VILLEDA AREVALO         ADDRESS ON FILE
FRANCISCO DORADO                    ADDRESS ON FILE
FRANCISCO GALLEGOS                  ADDRESS ON FILE
FRANCISCO GONZALEZ                  ADDRESS ON FILE
FRANCISCO MIRANDA                   ADDRESS ON FILE
FRANCISCO OLMEDA                    ADDRESS ON FILE
FRANCISCO RUVALCABA GUTIERREZ       ADDRESS ON FILE
FRANCISCO, JAMES                    ADDRESS ON FILE
FRANCISCO, JARED                    ADDRESS ON FILE
FRANCISCOS TRUCKING INC.            16415 IRIS DRIVE FONTANA CA 92335
FRANCISKOVICH, SCOTT                ADDRESS ON FILE
FRANCK TRANSPORTATION CORP          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FRANCK, TOM                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 673 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 682 of 2156

Claim Name                           Address Information
FRANCKA, FAITH                       ADDRESS ON FILE
FRANCO LOPEZ, ALEJANDRO              ADDRESS ON FILE
FRANCO NIEVES, CARLOS                ADDRESS ON FILE
FRANCO ROAD SERVICES                 13647 VAN DOREN ROAD MANASSAS VA 20112
FRANCO TRANSPORTATION LLC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FRANCO TRUCKING                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
FRANCO, ADOLFO                       ADDRESS ON FILE
FRANCO, ALICIA                       ADDRESS ON FILE
FRANCO, ARTURO                       ADDRESS ON FILE
FRANCO, EDGARDO                      ADDRESS ON FILE
FRANCO, JAMES                        ADDRESS ON FILE
FRANCO, JAVIER                       ADDRESS ON FILE
FRANCO, JONATHAN                     ADDRESS ON FILE
FRANCO, JORGE                        ADDRESS ON FILE
FRANCO, KEVYN                        ADDRESS ON FILE
FRANCO-DEMME, PATRICIA               ADDRESS ON FILE
FRANCOIS, BRANLY                     ADDRESS ON FILE
FRANCOIS, GABRIEL                    ADDRESS ON FILE
FRANCOIS, JEFF                       ADDRESS ON FILE
FRANDSEN, JACOB                      ADDRESS ON FILE
FRANDSEN, STEVEN                     ADDRESS ON FILE
FRANEY JR, BRIAN                     ADDRESS ON FILE
FRANK & SONS                         17835 GALE AVE. INDUSTRY CA 91748
FRANK A CLOYD                        ADDRESS ON FILE
FRANK AND ALBERTA GANEM              ADDRESS ON FILE
FRANK B STERLING                     ADDRESS ON FILE
FRANK BENITES - SP                   ADDRESS ON FILE
FRANK BIVINS                         ADDRESS ON FILE
FRANK C STUMME                       ADDRESS ON FILE
FRANK CAPPETTA TRUCKING LLC          OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
FRANK DESLAURIERS                    ADDRESS ON FILE
FRANK DOOR COMPANY                   ATTN: DANA ELLIOTT 413 HOWARD BLVD NEWPORT NC 28570
FRANK E SANTOVI                      ADDRESS ON FILE
FRANK G SAMPSELL                     ADDRESS ON FILE
FRANK GAY SERVICES LLC               3763 MERCY STAR CT ORLANDO FL 32808
FRANK H BARRERA                      ADDRESS ON FILE
FRANK J MANZELLA JR                  ADDRESS ON FILE
FRANK JAUREGUI TRUCKING              P O BOX 1747 CHINO CA 91708
FRANK M KLEE                         ADDRESS ON FILE
FRANK TRANSPORTATION LLC             OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
FRANK WRIGHT - CI                    ADDRESS ON FILE
FRANK, DARLENE                       ADDRESS ON FILE
FRANK, DEAN                          ADDRESS ON FILE
FRANK, DILLON                        ADDRESS ON FILE
FRANK, JASON                         ADDRESS ON FILE
FRANK, JETHRO                        ADDRESS ON FILE
FRANK, KEVIN                         ADDRESS ON FILE
FRANK, MACKENZIE                     ADDRESS ON FILE
FRANK, RICHARD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 674 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 683 of 2156

Claim Name                               Address Information
FRANK, WILLIAM                           ADDRESS ON FILE
FRANKFORD, PHILLIP                       ADDRESS ON FILE
FRANKFORT LOGISTICS LLC                  281 W MAIN ST FRANKFORT NY 13340
FRANKFOTHER TRUCKING, INC.               1435 TOWNLINE RD STEWARD IL 60553
FRANKIE DUBOSE                           ADDRESS ON FILE
FRANKIE J IRVING                         ADDRESS ON FILE
FRANKIEWICZ, ERIC                        ADDRESS ON FILE
FRANKIW, LIZA                            ADDRESS ON FILE
FRANKIW, LIZA                            ADDRESS ON FILE
FRANKLIN & OSCAR TRANSPORT LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
FRANKLIN & PROKOPIK PC                   2 N CHARLES ST 6TH FL BALTIMORE MD 21201
FRANKLIN COUNTY BOARD OF COMMISSIONERS   373 S HIGH ST, 17TH FLOOR COLUMBUS OH 43215
FRANKLIN COUNTY BOARD OF COMMISSIONERS   ATTN: RICHARD CORDRAY 373 S. HIGH STREET, 17TH FL COLUMBUS OH 43215-6306
FRANKLIN COUNTY BOARD OF COMMISSIONERS   RICHARD CORDRAY, 373 S HIGH ST, 17TH FL COLUMBUS OH 43215-6306
FRANKLIN COUNTY TREASURER                1016 N 4TH AVE PASCO WA 99301
FRANKLIN COUNTY TREASURER                PO BOX 1011 PASCO WA 99301
FRANKLIN COUNTY TREASURER (OH)           373 S HIGH ST 17TH FL COLUMBUS OH 43215
FRANKLIN D COLEMAN JR                    ADDRESS ON FILE
FRANKLIN DISCOVERY ACADEMY               320 E GAMMON RD VINEYARD UT 84059
FRANKLIN DUGGER                          ADDRESS ON FILE
FRANKLIN FAMILY EXPRESS LLC              1812 JACKSON DR NORMAN OK 73071
FRANKLIN FREIGHT EXPRESS LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FRANKLIN GALLISHAW                       ADDRESS ON FILE
FRANKLIN NATIONAL LLC                    ATTN: BOB TAYLOR 400 CLEMATIS ST STE 203 W PALM BEACH FL 33401
FRANKLIN TRUCK PARTS, INC.               6925 BANDINI BLVD CITY OF COMMERCE CA 90040
FRANKLIN TRUCKING LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FRANKLIN, ADRIAN                         ADDRESS ON FILE
FRANKLIN, ALECIA                         ADDRESS ON FILE
FRANKLIN, BARRY                          ADDRESS ON FILE
FRANKLIN, CALVIN                         ADDRESS ON FILE
FRANKLIN, CHRISTOPHER                    ADDRESS ON FILE
FRANKLIN, CHRISTOPHER                    ADDRESS ON FILE
FRANKLIN, COLTON                         ADDRESS ON FILE
FRANKLIN, DAEMON                         ADDRESS ON FILE
FRANKLIN, DAVID                          ADDRESS ON FILE
FRANKLIN, DENNIS                         ADDRESS ON FILE
FRANKLIN, EDDIE                          ADDRESS ON FILE
FRANKLIN, FARNEY                         ADDRESS ON FILE
FRANKLIN, GABRIEL                        ADDRESS ON FILE
FRANKLIN, JOHN                           ADDRESS ON FILE
FRANKLIN, JOHN                           ADDRESS ON FILE
FRANKLIN, JONATHAN                       ADDRESS ON FILE
FRANKLIN, JUSTIN                         ADDRESS ON FILE
FRANKLIN, KYLE                           ADDRESS ON FILE
FRANKLIN, MARCUS                         ADDRESS ON FILE
FRANKLIN, PERRY                          ADDRESS ON FILE
FRANKLIN, PETER                          ADDRESS ON FILE
FRANKLIN, RICHARD                        ADDRESS ON FILE
FRANKLIN, RONALD                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 675 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 684 of 2156

Claim Name                          Address Information
FRANKLIN, ROSE                      ADDRESS ON FILE
FRANKLIN, TROY                      ADDRESS ON FILE
FRANKLIN, WAYNE                     ADDRESS ON FILE
FRANKLYN, KENNETH                   ADDRESS ON FILE
FRANKO FREIGHT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FRANKS AUTO SERVICE INC             185 W. MAIN ST. AMSTERDAM NY 12010
FRANKS LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FRANKS TRUCK CENTER INC             325 ORIENT WAY, P.O. BOX 503 LYNDHURST NJ 07071
FRANKS TRUCKING                     600 BIG OAK LANE DALTON GA 30721
FRANKS, BOBBY                       ADDRESS ON FILE
FRANKS, CANDACE                     ADDRESS ON FILE
FRANKS, DONALD                      ADDRESS ON FILE
FRANKS, KARRIE                      ADDRESS ON FILE
FRANKS, LARRY                       ADDRESS ON FILE
FRANKS, ROBERT L                    ADDRESS ON FILE
FRANKS, WILLIAM                     ADDRESS ON FILE
FRANKYS EXCAVATION LLC              4442 S 49TH ST TACOMA WA 98409
FRANOLICH, JOSEPH                   ADDRESS ON FILE
FRANS TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FRANTZ COMPANY, INC.                PO BOX 344 BUTLER WI 53007
FRANTZ WARD LLP                     200 PUBLIC SQUARE SUITE 3000 CLEVELAND OH 44114
FRANZ, JOANN                        ADDRESS ON FILE
FRANZEN TRUCKING,LLC                W3515 COUNTY ROAD C SHEBOYGAN FALLS WI 53085
FRANZEN, GARY                       ADDRESS ON FILE
FRANZESE, JENNIFER                  ADDRESS ON FILE
FRARY, DARRYL A                     ADDRESS ON FILE
FRASCONA, RALPH                     ADDRESS ON FILE
FRASE, ROBERT A                     ADDRESS ON FILE
FRASER, JOSEPH                      ADDRESS ON FILE
FRASER, RAYMOND                     ADDRESS ON FILE
FRASHER, KEVIN                      ADDRESS ON FILE
FRASIER DEDICATED SERVICES INC      PO BOX 612506 DFW AIRPORT TX 75261
FRASIER, DANIEL                     ADDRESS ON FILE
FRASIER, KATHLEEN                   ADDRESS ON FILE
FRATEHAUL INC                       OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
FRATELLO, GAGE                      ADDRESS ON FILE
FRATER, JACK                        ADDRESS ON FILE
FRATI, JOSIAH                       ADDRESS ON FILE
FRATICELLI, JASON                   ADDRESS ON FILE
FRAUSTO, JOSE                       ADDRESS ON FILE
FRAVEL, TAYLOR                      ADDRESS ON FILE
FRAZER, RICHARD                     ADDRESS ON FILE
FRAZIER JR, PAUL                    ADDRESS ON FILE
FRAZIER TRUCKING COMPANY INC        OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
FRAZIER, AARON                      ADDRESS ON FILE
FRAZIER, AMANDA                     ADDRESS ON FILE
FRAZIER, AMINA R                    ADDRESS ON FILE
FRAZIER, BRYAN                      ADDRESS ON FILE
FRAZIER, CLAUDE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 676 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 685 of 2156

Claim Name                           Address Information
FRAZIER, DANIEL                      ADDRESS ON FILE
FRAZIER, DARRYL                      ADDRESS ON FILE
FRAZIER, DEREK                       ADDRESS ON FILE
FRAZIER, GARY                        ADDRESS ON FILE
FRAZIER, GARY L                      ADDRESS ON FILE
FRAZIER, ISAAC                       ADDRESS ON FILE
FRAZIER, KENDRA                      ADDRESS ON FILE
FRAZIER, STEVE                       ADDRESS ON FILE
FRAZIER, TIMOTHY                     ADDRESS ON FILE
FRAZIER, WILLIAM                     ADDRESS ON FILE
FRDERICO SAENZ                       ADDRESS ON FILE
FRE TRANSPORT SERVICES LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FRED C SHIMFESSEL                    ADDRESS ON FILE
FRED E BUSSE                         ADDRESS ON FILE
FRED MEYER CHEHALIS                  ADDRESS ON FILE
FRED MEYER CHEHALIS                  ADDRESS ON FILE
FRED MEYER CLACKAMAS                 ADDRESS ON FILE
FRED MEYER CLACKAMAS                 ADDRESS ON FILE
FRED MOODY & SONS GARAGE             134 MEASLEY RD KINSTON NC 28504
FRED R SMITH                         ADDRESS ON FILE
FRED THE FIXER, INC.                 309 S. LINCOLN SIOUX FALLS SD 57104
FREDDIE & MARTIN TRUCKING LLC        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FREDDIE D EXPRESS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FREDDIE PAYNE, L.L.C.                PO BOX 906 WEDOWEE AL 36278
FREDDY ANTONIO CEDILLOS              ADDRESS ON FILE
FREDERICK AVELAR                     ADDRESS ON FILE
FREDERICK KRUMMEL                    ADDRESS ON FILE
FREDERICK LOCK & KEY INC             1022 6TH AVE ALTOONA PA 16602
FREDERICK W EITENMILLER JR           ADDRESS ON FILE
FREDERICK WILLIAMS                   ADDRESS ON FILE
FREDERICK WILLNER                    ADDRESS ON FILE
FREDERICK, AGBAYANI                  ADDRESS ON FILE
FREDERICK, ANTHONY                   ADDRESS ON FILE
FREDERICK, CHARLES                   ADDRESS ON FILE
FREDERICK, GABRIELA                  ADDRESS ON FILE
FREDERICK, GARY                      ADDRESS ON FILE
FREDERICK, JEFFREY                   ADDRESS ON FILE
FREDERICK, JERRY                     ADDRESS ON FILE
FREDERICK, MARK                      ADDRESS ON FILE
FREDERICK, PATRICK                   ADDRESS ON FILE
FREDERICK, RALPH                     ADDRESS ON FILE
FREDERICK, ROBERT                    ADDRESS ON FILE
FREDERICK, STEVEN                    ADDRESS ON FILE
FREDERICKS, RAYMOND                  ADDRESS ON FILE
FREDERICKSON, SANDRA                 ADDRESS ON FILE
FREDERICKTOWN MARATHON               17391 ZOLMAN ROAD FREDERICKTOWN OH 43019
FREDI TRANSPORT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREDIN, JOHN                         ADDRESS ON FILE
FREDMUK FREIGHT LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101



Epiq Corporate Restructuring, LLC                                                               Page 677 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 686 of 2156

Claim Name                           Address Information
FREDRICK D FREEMAN                   ADDRESS ON FILE
FREDRICK FULTON                      ADDRESS ON FILE
FREDRICKSEN, ROBERT                  ADDRESS ON FILE
FREDRICKSON, TEDRIC                  ADDRESS ON FILE
FREDRIK, JIM                         ADDRESS ON FILE
FREDRIKSEN & SONS FIRE EQUIP         PO BOX 714 BEDFORD PARK IL 60199-0714
FREDS EXPRESS LLC                    1549 W PUTNAM PORTERVILLE CA 93257
FREDS QUALITY CONCRETE               9517 RIVERA RD PICO RIVERA CA 90660
FREDS TOWING & TRANSPORT             400 INDUSTRY DR HENDERSON NC 27537
FREDS TOWING INC                     2330 W 73RD ST DAVENPORT IA 52806
FREDS TRAILER PARTS CENTER           PO BOX 5352 DELANCO NJ 08075
FREDS TRUCKING LLC                   OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
FREE AGENTS LLC                      19045 E VALLEY VIEW PKY STE E INDEPENDENCE MO 64055
FREE SHIPPING LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
FREE STATE TRUCKING LLC              64 COUNTY RD 3729 ADDISON AL 35540
FREE STYLE TRUCKING, INC             3350 126TH STREET BLUE ISLAND IL 60406
FREE WORLD TRUCKING                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FREE, ALLEN                          ADDRESS ON FILE
FREE, KERRY A                        ADDRESS ON FILE
FREE, PAMELA                         ADDRESS ON FILE
FREEDMAN TRUCKING LLC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FREEDMAN, HARRY                      ADDRESS ON FILE
FREEDOM 1, LLC                       PO BOX 809107, SUITE 1030 CHICAGO IL 60608
FREEDOM AIR & REFRIGERATION          22243 DALE PALM AVE MC ALLEN TX 78501
FREEDOM AMERICA TRANSPORTATION LLC   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
FREEDOM CARGO LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
FREEDOM CARRIERS GROUP               OR TAB BANK, PO BOX 150830 OGDEN UT 84415
FREEDOM DISTRIBUTION LLC             ATTN: RENA ALEXANDER 4225 WARD COVE DR NICEVILLE FL 32578
FREEDOM EXPRESS CARRIERS LLC         OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
FREEDOM EXPRESS, LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
FREEDOM FORD                         4001 I-30 FRONTAGE ROAD GREENVILLE TX 75402
FREEDOM FREIGHT HAULING LLC          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FREEDOM FREIGHT INC.                 3605 SELMA-JAMESTOWN ROAD SOUTH CHARLESTON OH 45368
FREEDOM FUELED TRUCKING INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREEDOM KIA                          601 MARY JANE CIRCLE MORGANTOWN WV 26501
FREEDOM ONE CARRIERS LLC             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
FREEDOM RUNNERS LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FREEDOM SOLAR SERVICES               C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE, STE 725 CHICAGO IL 60654
FREEDOM TEXAS TRANSPORT LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREEDOM TRANS CORP                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
FREEDOM TRANS DEDICATED LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREEDOM TRANSPORT                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FREEDOM TRANSPORT INC.               10959 ALDER AVE BLOOMINGTON CA 92316
FREEDOM TRUCK & TRAILER REPAIR LLC   8194 W DEER VALLEY ROAD, SUITE 106-230 PEORIA AZ 85382
FREEDOM TRUCK LINE, LLC              3786 S 3500 W WEST HAVEN UT 84401
FREEDOM TRUCKERS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREEDOM TRUCKING INC                 PO BOX 822 SADDLE BROOK NJ 07663
FREEDOM TRUCKING INC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
FREEDOM WARRIOR LOGISTICS INC        132 TRUMPET FLOWER IRVINE CA 92618



Epiq Corporate Restructuring, LLC                                                                 Page 678 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 687 of 2156

Claim Name                           Address Information
FREEDOM WINGS LOGISTICS LLC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FREEMAN                              P.O. BOX 734596 DALLAS TX 75373
FREEMAN BROS TRUCKING LLC            C/O HOMA MOLAYEM LAW CORPORAT ION 12100 WILSHIRE BOULEVARD LOS ANGELES CA
                                     90024
FREEMAN BROS TRUCKING LLC            PO BOX 1093 BELLFLOWER CA 90707
FREEMAN DISTRIBUTION SERVICES LLC    OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
FREEMAN FARMS TRUCKING, INC.         1049 N CORINTH RD PORTLAND TN 37148
FREEMAN GENERAL CONTRACTING LLC      D/B/A: FREEMAN EXTERIORS 200 W WILLIAMS ST DANVILLE IL 61832
FREEMAN HEALTH SYSTEM                3201 MCCLELLAND BLVD JOPLIN MO 64804
FREEMAN TRANSPORT LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
FREEMAN, ADAM                        ADDRESS ON FILE
FREEMAN, ANTWON                      ADDRESS ON FILE
FREEMAN, ASHFORD                     ADDRESS ON FILE
FREEMAN, BETHANY                     ADDRESS ON FILE
FREEMAN, CARL                        ADDRESS ON FILE
FREEMAN, CHAD                        ADDRESS ON FILE
FREEMAN, CHAQUEL                     ADDRESS ON FILE
FREEMAN, CHRISTOPHER                 ADDRESS ON FILE
FREEMAN, CHRISTOPHER                 ADDRESS ON FILE
FREEMAN, CHRISTOPHER                 ADDRESS ON FILE
FREEMAN, DAMON                       ADDRESS ON FILE
FREEMAN, DARREN                      ADDRESS ON FILE
FREEMAN, DEBORAH                     ADDRESS ON FILE
FREEMAN, DONALD                      ADDRESS ON FILE
FREEMAN, DOUGLAS                     ADDRESS ON FILE
FREEMAN, DUSTIN                      ADDRESS ON FILE
FREEMAN, DWIGHT                      ADDRESS ON FILE
FREEMAN, ERNEST                      ADDRESS ON FILE
FREEMAN, FRANK                       ADDRESS ON FILE
FREEMAN, FREDRICK                    ADDRESS ON FILE
FREEMAN, GARFIELD                    ADDRESS ON FILE
FREEMAN, JACOB L                     ADDRESS ON FILE
FREEMAN, KENNETH                     ADDRESS ON FILE
FREEMAN, LIEVONI                     ADDRESS ON FILE
FREEMAN, LUCAS                       ADDRESS ON FILE
FREEMAN, MARK                        ADDRESS ON FILE
FREEMAN, MICHAEL                     ADDRESS ON FILE
FREEMAN, MONDO                       ADDRESS ON FILE
FREEMAN, NATHANIEL                   ADDRESS ON FILE
FREEMAN, PATRICK                     ADDRESS ON FILE
FREEMAN, RONALD                      ADDRESS ON FILE
FREEMAN, SABRINA                     ADDRESS ON FILE
FREEMAN, SABRINA                     ADDRESS ON FILE
FREEMAN, STEVEN                      ADDRESS ON FILE
FREEMAN, TONYA                       ADDRESS ON FILE
FREEMAN, TRACEY                      ADDRESS ON FILE
FREEMAN, VERNON                      ADDRESS ON FILE
FREEMAN, YOSHIKA                     ADDRESS ON FILE
FREENET EXPRESS                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                Page 679 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 688 of 2156

Claim Name                              Address Information
FREEPORT CENTER ASSOCIATES              ATTN: BETTY PARKER PO BOX 160466 CLEARFIELD UT 84016
FREEPORT CENTER STATION                 PO BOX 160466 CLEARFIELD UT 84016
FREEPORT TRANSPORT INDUSTRIES, INC.     1200 BUTLER ROAD FREEPORT PA 16229
FREER, RICHARD                          ADDRESS ON FILE
FREERKSEN TRUCKING, INC.                9 3RD ST SW DODGE CENTER MN 55927
FREERKSEN, DAVID                        ADDRESS ON FILE
FREESTYLE EXPRESS LLC                   OR BASICBLOCK, INC, PO BOX 8697 OMAHA NE 68108
FREESTYLE EXPRESS LLC                   2807 NE 96 AVE VANCOUVER WA 98662
FREET, AUSTIN                           ADDRESS ON FILE
FREEWAY CITY TRUCKING LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FREEWAY FREIGHT LOGISTICS LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
FREEWAY LOGISTICS LLC                   1195 VALLEY PARKWAY DR BROADVIEW HTS OH 44147
FREEWAY LOGISTICS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FREEWAY LOGISTICS LLC (MC1124223)       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
FREEWAY TIRE TRUCK REPAIR               280 CENTENNIAL DR. HEYBURN ID 83336
FREEWAY TRANSPORTATION GROUP LLC        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
FREEWHEELING LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREEZE-DRY INGREDIENTS                  C/O SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
FREGIA, WOODY                           ADDRESS ON FILE
FREI, BRENDA                            ADDRESS ON FILE
FREIDLINE, RICHARD                      ADDRESS ON FILE
FREIER, CHRISTOPHER                     ADDRESS ON FILE
FREIERMUTH, MARY                        ADDRESS ON FILE
FREIGHT 2 IT LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FREIGHT ALL KINDS, INC.                 10885 E 51ST AVE DENVER CO 80239
FREIGHT AMERICA INC                     OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FREIGHT AND LOGISTICS C/O ECHO          ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
FREIGHT ASSIST TRANSPORTATION INC       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FREIGHT CARRIERS ASSOC OF CANADA INC    1270 CENTRAL PARKWAY WEST, UNIT 301 MISSISSAUGA ON L5C 4P4 CANADA
FREIGHT CHASERS LLC (MC1033425)         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT CONCEPTS EXPRESS LLC            P.O. BOX 388 WADSWORTH OH 44282
FREIGHT CONCEPTS INC.                   10805 N POMONA AVE KANSAS CITY MO 64153
FREIGHT CONNECTION INC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FREIGHT CONNECTION LLC                  OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
FREIGHT CONNECTION LOGISTICS LLC        11056 WILSON COVE LOMA LINDA CA 92354
FREIGHT CONTROL TRUCKING, INC           12672 LIMONITE AVE 3E 411 EASTVALE CA 92880
FREIGHT DEALERS INC                     OR FIRST LINE FUNDING, PO BOX 328 MADISON SD 57042
FREIGHT DIRECT LLC                      OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
FREIGHT DISPATCH SERVICE                4250 SL FULLTON PKWY COLLEGE PARK GA 30349
FREIGHT DISPATCH SERVICE INC.           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FREIGHT DRIVERS & HELPERS LOCAL UNION   557 CLERICAL 411 PHILADELPHIA ROAD, STE S BALTIMORE MD 21237
FREIGHT DRIVERS AND HELPERS LOCAL 557   PENSION PLAN 9411 PHILADELPHIA ROAD, STE S BALTIMORE MD 21237
FREIGHT ENTERPRISE SOLUTIONS LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FREIGHT ENTERPRISES                     4320 WINFIELD RD, SUITE 200 WARRENVILLE IL 60555
FREIGHT EXPEDITED                       OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
FREIGHT EXPRESS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FREIGHT EXPRESS LOGISTICS INC           OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FREIGHT EXPRESS TRUCKING                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
FREIGHT FLAG                            21001 SHAW LANE HUNTINGTON BEACH CA 92646



Epiq Corporate Restructuring, LLC                                                                   Page 680 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 689 of 2156

Claim Name                            Address Information
FREIGHT FOCUS LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
FREIGHT GEEKZ LOGISTICS LLC           OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
FREIGHT GENIE INC                     OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
FREIGHT GUARD TRANSPORT LLC           191 STATE HIGHWAY AB SEYMOUR MO 65746
FREIGHT HAUL EXPRESS                  PO BOX 5176 NORCO CA 92860
FREIGHT HAULER INC.                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FREIGHT HAWK LLC                      OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
FREIGHT HUNTER TRANSPORTATION INC     16753 MAVERICK COURT WESTFIELD IN 46074
FREIGHT HUNTERZ CORP                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREIGHT INSPECTION & TRADE SERVICES   16000 WILFRID-BOILEAU UNIT 32 ST GENEVIEVE QC H9H 1G6 CANADA
FREIGHT INSPECTORS LLC                112 PAIMETTO DUNES CIRCLE NAPLES FL 34113
FREIGHT INTERNATIONAL LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FREIGHT INTERNATIONAL LLC             OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
FREIGHT KING INC                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
FREIGHT LANE EXPRESS, INC.            PO BOX 528 WALPOLE MA 02081
FREIGHT LINE PROPERTIES LLC           ATTN: WARREN KING / THOMAS KING 3863 E BROCKBANK DRIVE SALT LAKE CITY UT 84124
FREIGHT LINE PROPERTIES, LLC          3863 E BROCKBANK DR SALT LAKE CITY UT 84124
FREIGHT LINES INC                     OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
FREIGHT LION, LLC                     OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139
FREIGHT LOGISTICAL SERVICES LLC       OR ATLAS FACTORING LLC 906 N MESA, STE 301 EL PASO TX 79902
FREIGHT MANAGEMENT SOLUTIONS, LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FREIGHT MASTER TRANS LLC              OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
FREIGHT MOVERS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREIGHT MOVERS TRANSPORTATION LLC     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
FREIGHT MOVING SOLUTIONS LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT NORTHWEST LLC                 6824 19TH ST W 198 UNIVERSITY PLACE WA 98466
FREIGHT ON WHEELS LLC                 OR RIVIERA FINANCE OF PHILADELPHIA INC PO BOX 713394 PHILADELPHIA PA 19101
FREIGHT ONE ENTERPRISES LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREIGHT ONE GROUP INC                 OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
FREIGHT ONE INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREIGHT ONE LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREIGHT ONE SOLUTIONS LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FREIGHT ONE TRUCKING INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREIGHT ONE XPRESS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT OTR SERVICES LLC              OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                      76116
FREIGHT PASS INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FREIGHT PILOTS                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT PLUS INC                      2973 AERIAL DRIVE FRISCO TX 75033
FREIGHT PRO TRANSPORT LLC             OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
FREIGHT READY LLC                     747 WILSHIRE AVE STOCKTON CA 95203
FREIGHT READY LLC                     2845 BOEING WAY STE 200 STOCKTON CA 95206
FREIGHT ROUTERS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT RUNNER LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREIGHT RUNNERS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT SAFE AND ASSOCIATES           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT SAVERS, INC.                  4506 VIOLA PL YAKIMA WA 98908
FREIGHT SEEKERS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195



Epiq Corporate Restructuring, LLC                                                                  Page 681 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 690 of 2156

Claim Name                             Address Information
FREIGHT SERVICES LLC                   PO BOX 755 OREGON CITY OR 97045
FREIGHT SHAKERS LEASING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREIGHT SHERPAS INC                    2700 N AUSTIN AVE CHICAGO IL 60639
FREIGHT SOLUTION SERVICES INC          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
FREIGHT SOLUTIONS EXPRESS INC          5317 BERINGER DR HILLIARD OH 43026
FREIGHT SOLUTIONS GROUP, INC.          PO BOX 79 SIDNEY IL 61877
FREIGHT SOLUTIONS LLC                  2423 SW 30CT GRESHAM OR 97080
FREIGHT SYSTEMS LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FREIGHT TEC                            P.O. BOX 1349 BOUNTIFUL UT 84011
FREIGHT TO GO, INC.                    PO BOX 1918 CORINTH MS 38835
FREIGHT TRAIN                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT TRANSPORT INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHT TRANSPORT INC (MC641462)       1011 SUMMER CRESTE DR INDIAN TRAIL NC 28079
FREIGHT UNION INC                      OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FREIGHT WAY EXPRESS INC                OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
FREIGHT WAY EXPRESS INC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
FREIGHT WAY LOGISTICS LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
FREIGHT X LLC                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FREIGHT XPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
FREIGHT ZONE TRANSPORTATION LLC        PO BOX 830525 DEPT R42 BIRMINGHAM AL 35283
FREIGHT, INC.                          3520 HWY 178 WEST FULTON MS 38843
FREIGHT-MAN LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FREIGHTBULL INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
FREIGHTCENTER                          FREIGHTCENTER, 34125 US 19 N STE 300 PALM HARBOR FL 34684
FREIGHTCO DEDICATED                    OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
FREIGHTCO DEDICATED                    OR TAB BANK, PO BOX 150830 OGDEN UT 84415
FREIGHTCOM                             ATTN: FREIGHTCOM CLAIMS FREIGHTCOM CLAIMS 77 PILLSWORTH RD UNIT 1 BOLTON ON
                                       L7E 4G4 CANADA
FREIGHTCOM INC.                        ATTN: FREIGHTCOM CLAIMS FREIGHTCOM CLAIMS 77 PILLSWORTH RD UNIT 1 BOLTO BOLTON
                                       ON L7E 4G4 CANADA
FREIGHTECH, INC.                       1300 N JOLIET RD ROMEOVILLE IL 60446
FREIGHTER PRO LOGISTICS INC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHTER PRO LOGISTICS INC            18750 LA GUARDIA ST ROWLAND HEIGHTS CA 91748
FREIGHTERA LOGISTICS INC               408 55 WATER ST 8036 VANCOUVER BC V6B 1A1 CANADA
FREIGHTERS ASSOCIATION INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
FREIGHTEX FREIGHT SERVICES LLC         4720 GATEWAY DR GRAND FORKS ND 58203
FREIGHTFORCE ONE LLC                   3108 VERE LEASURE EL PASO TX 79936
FREIGHTGROUP TRANSPORT, LTD            PO BOX 1433 ELMHURST IL 60126
FREIGHTHAUL INC                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
FREIGHTHAWK XPRESS LLC                 FREIGHTHAWK XPRESS LLC, 255 MADSEN DRIVE BLOOMINGDALE IL 60108
FREIGHTIE INC                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FREIGHTILLA INC                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
FREIGHTLINE REPUBLIC LLC               OR LOVES SOLUTIONS, PO BOX 639565 CINCINNATI OH 45263
FREIGHTLINE REPUBLIC LLC               OR VIVA CAPITAL FUNDING INC PO BOX 17548 EL PASO TX 79917
FREIGHTLINER & WTERN STAR OF BATAVIA   8190 STATE STREET RD BATAVIA NY 14020
LLC
FREIGHTLINER NORTHWEST                 277 STEWART RD SE PACIFIC WA 98047
FREIGHTLINER OF ALTOONA                424 KUHN LANE DUNCANSVILLE PA 16635
FREIGHTLINER OF ARIZONA, LLC           DEPT 880097, PO BOX 29650 PHOENIX AZ 85038
FREIGHTLINER OF ARIZONA, LLC           9899 W. ROOSEVELT ST. TOLLESON AZ 85353


Epiq Corporate Restructuring, LLC                                                                   Page 682 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 691 of 2156

Claim Name                              Address Information
FREIGHTLINER OF AUGUSTA LLC            PO BOX 18326 SAVANNAH GA 31418
FREIGHTLINER OF GRAND RAPIDS           5285 CLAY AVE SW WYOMING MI 49548
FREIGHTLINER OF KALAMAZOO              53449 MAIN ST MATTAWAN MI 49071
FREIGHTLINER OF MAINE, INC.            422 PERRY RD BANGOR ME 04401
FREIGHTLINER OF MAINE, INC.            PO BOX 1169 BANGOR ME 04402
FREIGHTLINER OF UTAH                   2240 S 5370 W WEST VALLEY UT 84120
FREIGHTLINER TRANSPORT LLC             OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
FREIGHTLINER WESTERN STAR OF HAGERSTOWN 16777 HALFWAY BLVD. HAGERSTOWN MD 21740
FREIGHTLINER, STERLING -               WESTERN STAR OF ARIZONA, LTD. FREIGHTLINER OF ARIZONA, LLC DEPT 880097, PO BOX
                                       29650 PHOENIX AZ 85038
FREIGHTLINER, STERLING -               WESTERN STAR OF ARIZONA, LTD. DEPT 880097, PO BOX 29650 PHOENIX AZ 85038-9650
FREIGHTMANIA, INC.                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
FREIGHTMASTER LOGISTICS LLC            6320 CADY ROAD NORTH ROYALTON OH 44133
FREIGHTMASTER USA LLC                  PO BOX 1999 VALPARAISO IN 46384
FREIGHTNUT TRANSPORTATION LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FREIGHTPLUS                            62 ACCORD PARK DRIVE NORWELL MA 02061
FREIGHTQUOTE                           ATTN: WHITNEY SPENCER 901 W CARONDELET DR KANSAS CITY MO 64114
FREIGHTQUOTE                           FREIGHTQUOTE, 901 W CARONDELET DR KANSAS CITY MO 64114
FREIGHTQUOTE.COM                       901 CARONDELET DR KANSAS CITY MO 64114
FREIGHTQUOTE.COM                       ATTN: AMBER COYLE PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       ATTN: AMBLE COYLE PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       ATTN: JENNIFER GUSHEE PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       ATTN: MASON HARRIS CLAIMS DEPARTMENT PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       ATTN: MASON HARRIS PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       ATTN: SORAYA JENNINGS PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       CLAIMS DEPARTMENT, PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTQUOTE.COM                       PO BOX 7001 OVERLAND PARK KS 66207
FREIGHTWAVES, INC                      405 CHERRY STREET CHATTANOOGA TN 37402
FREIGHTWISE                            214 CENTERVIEW DR SUITE 100 BRENTWOOD TN 37027
FREIGHTX GROUP OF COMPANIES INC        OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V 6L4
                                       CANADA
FREIGHTX LOGISTICS                     131 DUTTON WAY WOODSTOCK ON N4T 0B1 CANADA
FREIGHTX LOGISTICS INC                 2535 SPARTINA LN NAPERVILLE IL 60564
FREIGHTZONE TRANSPORTATION             26 SNARESBROOK CRES BRAMPTON ON L6P 4G7 CANADA
FREITAS, COLLIN                        ADDRESS ON FILE
FREITAS, DOUGLAS                       ADDRESS ON FILE
FRENCH LOGISTICS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
FRENCH TRUCKING, INC.                  OR TAB BANK, PO BOX 150290 OGDEN UT 84415-0290
FRENCH, DAMON                          ADDRESS ON FILE
FRENCH, EDWARD                         ADDRESS ON FILE
FRENCH, JONATHAN                       ADDRESS ON FILE
FRENCH, JOSHUA                         ADDRESS ON FILE
FRENCH, LISA                           ADDRESS ON FILE
FRENCH, LORIN                          ADDRESS ON FILE
FRENCH, LORIN L                        ADDRESS ON FILE
FRENCH, SHANE                          ADDRESS ON FILE
FRENCH, STANTON                        ADDRESS ON FILE
FRENCH, TROY                           ADDRESS ON FILE
FRENCH-AMERICAN SCHOOL                 320 E. BOSTON POST RD MAMARONECK NY 10543



Epiq Corporate Restructuring, LLC                                                                   Page 683 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 692 of 2156

Claim Name                             Address Information
FRENILUS TOYOTA                        11283 H STRAITS HIGHWAY CHEBOYGAN MI 49721
FRERICHS INC                           6660 IOWA ST ACKWORTH IA 50001
FRESCAS TRANSPORTATION SERVICES INC.   OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
FRESH 2 U TRANSPORTATION LTD           51051 US HIGHWAY 20 OBERLIN OH 44074
FRESH BLUE LOGISTICS LLC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
FRESH OUT PRODUCE LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FRESH START TRANSPORT LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FRESHONE DISTRIBUTION SERVICES LLC     4001 ADLER DR SUITE 200 DALLAS TX 75211
FRESHSTART LOGISTIC                    OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
FRESHWATER TESTING SERVICES            570 GILLETTS LAKE ROAD, SUITE 500 JACKSON MI 49201
FRESILLI, ANGELO                       ADDRESS ON FILE
FRESNO COUNTY TAX COLLECTOR            PO BOX 1192 FRESNO CA 93715
FRESNO COUNTY TREASURER                DEPT PUBLIC HEALTH-ENV HEALTH DIV, PO BOX 11800 FRESNO CA 93775
FRESNO TRUCK CENTER                    P.O. BOX 888430 LOS ANGELES CA 90088
FRESNO TRUCK CENTER                    C\O BAKERSFIELD TRUCK CENTER, P.O. BOX 80057 BAKERSFIELD CA 93380
FRESNO TRUCK CENTER                    C\O CENTRAL COAST TRUCK CENTER, P.O. BOX 5940 SANTA MARIA CA 93456
FRESNO TRUCK CENTER                    PO BOX 12346 FRESNO CA 93777
FRESNO TRUCK CENTER                    PO BOX 398430 SAN FRANCISCO CA 94139
FRESNO TRUCK CENTER                    DBA KEYES TRUCK CENTER, PO BOX 606 KEYES CA 95328
FRESNO VALVES & CASTING                7736 E SPRINGFIELD AVE SELMA CA 93662
FRESQUES, JERRY                        ADDRESS ON FILE
FRESQUES, LORENZO                      ADDRESS ON FILE
FRETUS ENGINEERING LLC                 PO BOX 13091 SAVANNAH GA 31416
FRETWELL, AUSTIN                       ADDRESS ON FILE
FRETWELL, ERIC                         ADDRESS ON FILE
FREUD TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FREUDENBERG HOUSEHOLD PRODUCTS         ATTN: RENE LEE POBOX 73181 AURORA IL 60502
FREUDENBERG HOUSEHOLD PRODUCTS         ATTN: RENE LEE PO BOX 73181 CHICAGO IL 60673
FREUDENBERG NOK INCORPORATED           ATTN: SAMANTHA WHITFORD SELAING TECHNOLOGIES 65 SPRUCE ST TILLSONBURG ON N4G
                                       5C4 CANADA
FREW, CASEY                            ADDRESS ON FILE
FREY, DARREN                           ADDRESS ON FILE
FREY, DAVID                            ADDRESS ON FILE
FREY, JEFF                             ADDRESS ON FILE
FREY, JEFF S                           ADDRESS ON FILE
FREY, JOEL                             ADDRESS ON FILE
FREY, MARC                             ADDRESS ON FILE
FREY, MATTHEW                          ADDRESS ON FILE
FREY, MICHAEL                          ADDRESS ON FILE
FREYMULLER, JOHN                       ADDRESS ON FILE
FREZ & SONS LLC                        FREZ & SONS LLC, PO BOX 10553 SILVER SPRINGS MD 20914
FREZ & SONS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FREZZO, FRANK                          ADDRESS ON FILE
FRIAR, BRIAN                           ADDRESS ON FILE
FRIAS TRANSPORT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FRIAS, GEORGE                          ADDRESS ON FILE
FRICK, DERRICK                         ADDRESS ON FILE
FRICK, LORI                            ADDRESS ON FILE
FRIDAY HARBOR FREIGHT LINES            PO BOX 728 FRIDAY HARBOR WA 98250



Epiq Corporate Restructuring, LLC                                                                   Page 684 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 693 of 2156

Claim Name                           Address Information
FRIDAY, JOHN                         ADDRESS ON FILE
FRIDAY, JOHN A                       ADDRESS ON FILE
FRIDAY, KHALLIL                      ADDRESS ON FILE
FRIDAY, LINDSAY                      ADDRESS ON FILE
FRIDAY, MILES                        ADDRESS ON FILE
FRIDEN LAND CORP.                    571 BAYFIELD STREET BARRIE ON L4M 4S5 CANADA
FRIEBEL, BRYAN                       ADDRESS ON FILE
FRIEDA AARON                         ADDRESS ON FILE
FRIEDE, DENNIS                       ADDRESS ON FILE
FRIEDEBORN, THOMAS                   ADDRESS ON FILE
FRIEDLEY, STEPHEN                    ADDRESS ON FILE
FRIEDRICH AIR CONDITIONING           ATTN: ABBEY GARCIA 10001 REUNION PL SAN ANTONIO TX 78216
FRIEND, BRADLEY                      ADDRESS ON FILE
FRIEND, HEATHER                      ADDRESS ON FILE
FRIEND, JERRY                        ADDRESS ON FILE
FRIENDLY CARGO CORP                  8350 NW 52ND TERRACE SUITE 301 MIAMI FL 33166
FRIENDLY FIRES                       ATTN: DOMINIQUE PAGE 981 HWY 7 RR 7 PETERBOROUGH ON K9J 6X8 CANADA
FRIENDLY FREIGHT INC                 OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415
FRIENDLY HANDS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FRIENDLY PLUMBING INC                PO BOX 3629 SPARKS NV 89432
FRIENDOS FREIGHT LINES LLC           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
FRIENDS IN SERVICE OF HEROES         122 N. WATERS ST OLATHE KS 66061
FRIENDS TRANSPORT LLC                11747 GRAYSTONE AVE NORWALK 90650
FRIENDS, ARCHIE                      ADDRESS ON FILE
FRIENDS, ARCHIE D                    ADDRESS ON FILE
FRIENDSHIP TRANSPORT INC             OR REVOLUTIONS CAPITAL 27 ROYTEC RD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
FRIER, WILLIAM M                     ADDRESS ON FILE
FRIERSON TRUCKING LOGISTIC LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FRIES AUTOMOTIVE SERVICES INC        81 0LD PALATINE RD WHEELING IL 60090
FRIES, ANTHONY                       ADDRESS ON FILE
FRIESEN, DUANE                       ADDRESS ON FILE
FRIESEN, KEVIN                       ADDRESS ON FILE
FRIESS, BRYAN                        ADDRESS ON FILE
FRIGINETTE, ALEX                     ADDRESS ON FILE
FRILOT, PATRICK                      ADDRESS ON FILE
FRIS FREIGHT, INC                    OR TAB BANK, PO BOX 150830 OGDEN UT 84415
FRISA LOGISTICS LLC                  OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
FRISARDS TRUCKING CO., INC.          OR CRESTMARK TPG LLC, PO BOX 682909 FRANKLIN TN 37068-2909
FRISBEES PLUMBING HEATING AIR        4101 S MINNESOTA AVE SIOUX FALLS SD 57105
FRISCH, CHAD                         ADDRESS ON FILE
FRISCIA, PAUL                        ADDRESS ON FILE
FRISCONE, MARK                       ADDRESS ON FILE
FRISON, DOROTHY                      ADDRESS ON FILE
FRISTAD, JIM                         ADDRESS ON FILE
FRISTOE, COLLENE                     ADDRESS ON FILE
FRISTROM, GARY                       ADDRESS ON FILE
FRITCHER, ERIC                       ADDRESS ON FILE
FRITH, BARBARA                       ADDRESS ON FILE
FRITO LAY                            ATTN: ANGELIC LIVINGSTON TRANSPORTATION INSIGHT 310 MAIN AVE WAY SE HICKORY NC



Epiq Corporate Restructuring, LLC                                                                 Page 685 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 694 of 2156

Claim Name                            Address Information
FRITO LAY                             28602
FRITO LAY                             323 S COUNTY RD 300 W FRANKFORT IN 46041
FRITO LAY                             8690 LOUISIANA MERRILLVILLE IN 46410
FRITSCH, BREANNA M                    ADDRESS ON FILE
FRITTS, STEPHEN                       ADDRESS ON FILE
FRITZ, CLAYTON                        ADDRESS ON FILE
FRITZ, DUANE                          ADDRESS ON FILE
FRITZ, JEFFERY                        ADDRESS ON FILE
FRITZ, LOLITA                         ADDRESS ON FILE
FRITZ, REVENNA                        ADDRESS ON FILE
FRITZ, STEVIE                         ADDRESS ON FILE
FRIZZELL, DANIEL                      ADDRESS ON FILE
FRIZZELL, MICHAEL                     ADDRESS ON FILE
FRO YO ROBO, INC.                     ATTN: GENERAL COUNSEL 6448 STAR JASMINE COURT LAS VEGAS NV 89108
FROBES, EDWARD                        ADDRESS ON FILE
FROCK BROS TRUCKING INC               125 FROCK DRIVE NEW OXFORD PA 17350
FROCK, JESSE                          ADDRESS ON FILE
FROEHLICH, THOMAS                     ADDRESS ON FILE
FROG FREIGHT CARRIERS LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FROG FREIGHT LLC                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FROGGE, BLAKE                         ADDRESS ON FILE
FROGGE, ROGER L                       ADDRESS ON FILE
FROHN JR, MICHAEL                     ADDRESS ON FILE
FROHNAPFEL, MATTHEW                   ADDRESS ON FILE
FROM HERE TO ANYWHERE EXPRESS LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FROM THE GROUND UP, LLC               PO BOX 670 OWATONNA MN 55060
FROMAN, CODY                          ADDRESS ON FILE
FROMM ENTERPRISES LLC                 8805 E LEAVENWORTH RD LEAVENWORTH WA 98826
FROMMELT DOCK & DOOR, INC.            D/B/A: FROMMELT EQUIPMENT COMPANY INC PO BOX 10 NORTH READING MA 01864
FROMMELT EQUIPMENT CO                 184 MAIN ST., PO BOX 10 ATTN: KAREN KALIRIS NORTH READING MA 01864
FROMSON, KAREN                        ADDRESS ON FILE
FRONIUS, CHRISTOPHER                  ADDRESS ON FILE
FRONT DOOR DELIVERY LLC               OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
FRONTAPP INC                          1455 MARKET STREET FLOOR 19 SAN FRANCISCO CA 94103
FRONTCZAK, ERIC                       ADDRESS ON FILE
FRONTCZAK, STEVEN                     ADDRESS ON FILE
FRONTIER                              401 MERRITT 7 NORWALK CT 06851
FRONTIER                              PO BOX 20550 ROCHESTER NY 14602
FRONTIER                              6418 GAYFIELDS RD ALEXANDRIA 22315
FRONTIER                              PO BOX 740407 CINCINNATI OH 45274
FRONTIER                              C/O CMR CLAIMS DEPARTMENT PO BOX 60553 OKLAHOMA CITY OK 73146
FRONTIER                              C/OCLAIMS MANAGEMENT RESOURCES PO BOX 60770 OKLAHOMA CITY OK 73146
FRONTIER                              82365 HWY. 111 INDIO CA 92201
FRONTIER COMMUNICATIONS               401 MERRITT 7 NORWALK 06851
FRONTIER COMMUNICATIONS OF AMERICA,   PO BOX 20567 ROCHESTER NY 14602
INC.
FRONTIER COMMUNICATIONS OF AMERICA,   PO BOX 740407 CINCINNATI OH 45274
INC.
FRONTIER EXPRESS INC                  OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 686 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 695 of 2156

Claim Name                              Address Information
FRONTIER EXPRESS LLC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
FRONTIER LEASE INC                      OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
FRONTIER LEASING, INC.                  15202 E ADMIRAL PL TULSA OK 74116
FRONTIER SPECIALIZED LLC                OR CFS INC DBA COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
FRONTIER TANK CENTER INC                PO BOX 460 RICHFIELD OH 44286
FRONTIER TRANSPORTATION SERVICES INC.   4690 MAPLE GROVE RD BEAMSVILLE ON L0R 1B1 CANADA
FRONTINE, ZACHARY                       ADDRESS ON FILE
FRONTLINE AG                            2626 US HIGHWAY 2 E HAVRE MT 59501
FRONTLINE EXPRESS INC                   P.O. BOX 90323 BROOKLYN NY 11209
FRONTLINE EXPRESS TRANSPORT LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FRONTLINE HAULERS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FRONTLINE LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
FRONTLINE LOGISTICS LLC (MC1028577)     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BO X7410411 CHICAGO
                                        IL 60674-0411
FRONZA, COSTEL                          ADDRESS ON FILE
FRONZA, COSTEL                          ADDRESS ON FILE
FROST BITE EXPRESS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FROST FREIGHT, INC.                     OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
FROST TRANSPORTATION, LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
FROST, JAMIL                            ADDRESS ON FILE
FROST, MERANDA                          ADDRESS ON FILE
FROST, RICHARD                          ADDRESS ON FILE
FROST, ROGER                            ADDRESS ON FILE
FROST, SHANE                            ADDRESS ON FILE
FROYS TRUCKING LLC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
FRS LOGISTICS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FRSA PAYMENTS                           3501 KISHWAUKEE STREET ROCKFORD IL 61109
FRT DRIV-DOCK-HELP                      LOCAL UNION 24, 3070 WEST MARKET ST AKRON OH 44333
FRUCCI, JOHN                            ADDRESS ON FILE
FRUEHAUF INC.                           277 TECHNOLOGY WAY BOWLING GREEN KY 42101
FRUM, JOSHUA                            ADDRESS ON FILE
FRUTH, CHERYL                           ADDRESS ON FILE
FRUTKIN, RICHARD                        ADDRESS ON FILE
FRY COMMUNICATIONS, INC.                ATTN: ED FITTING, 800 WEST CHURCH ROAD MECHANICSBURG PA 17055
FRY REGLET                              1377 STONEFIELD CT. ALPHARETTA GA 30004
FRY, BENJAMIN                           ADDRESS ON FILE
FRY, CURT                               ADDRESS ON FILE
FRY, JOHN                               ADDRESS ON FILE
FRY, NATHANIEL                          ADDRESS ON FILE
FRY, TIMOTHY                            ADDRESS ON FILE
FRYBERGER, RUSSELL                      ADDRESS ON FILE
FRYE, JEREMY                            ADDRESS ON FILE
FRYE, MARK                              ADDRESS ON FILE
FRYER IL, MICHAEL                       ADDRESS ON FILE
FRYER, MICHAEL R                        ADDRESS ON FILE
FRYER, SOLOMON                          ADDRESS ON FILE
FRYERY, STEPHEN                         ADDRESS ON FILE
FRYLING, JOSHUA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 687 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 696 of 2156

Claim Name                           Address Information
FRYS PLASTIC TUBING                  21 BRENNEMAN CIRCLE MECHANICSBURG PA 17050
FRZINA LOGISTICS LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
FS EXPRESS LLC                       8501 GRIFFIN PARK DR CORDOVA TN 38018-4601
FS TRANSPORTATION LLC                OR FACTORING EXPRESS LLC, P.O. BOX 150205 OGDEN UT 84415
FS.COM                               380 CENTERPOINT BLVD NEW CASTLE DE 19720
FSA TRUCKING LLC                     OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FSB FREIGHTS LLC                     OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
FSB INTERNATIONAL LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FSC MEP ENGINEERS, LLC               9225 INDIAN CREEK PARKVIEW, SUITE 300 OVERLAND PARK KS 66210
FSC MEP ENGINEERS, LLC               8675 W. 96TH STREET OVERLAND PARK KS 66212
FSL GROUP0060094465)                 PO BOX 405 STOCKBRIDGE GA 30281
FT GROUP CORP                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
FT LOGISTICS                         OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
FTC                                  6311 STONER DRIVE GREENFIELD IN 46140
FTF LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FTG LLC                              OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
FTI                                  1796 TREVINO CIRCLE BOLINGBROOK IL 60490
FTI CONSULTING TECHNOLOGY LLC        16701 MELFORD BLVD SUITE 200 BOWIE MD 20715
FTL                                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
FTL (MC1069120)                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FTL SERVICES INC                     21515 HAWTHORNE BLVD STE 200 TORRANCE CA 90503-6512
FTQ LOGISTICS INC                    OR SOUND FINANCE CORPORATION, PO BOX 679281 DALLAS TX 75267-9281
FTR TRANSPORTATION INTELLIGENCE      1720 N KINSER PIKE BLOOMINGTON IN 47404
FTS CO                               OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
FTW LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
FU, KE                               ADDRESS ON FILE
FU, KE                               ADDRESS ON FILE
FUCHS INVESTMENTS LLC                ATTN: YAIR JACKOBY 105 CATRON DRIVE RENO NV 89512-1001
FUCHS LUBRICANTS CO.                 1972 BROWN ROAD AUBURN HILLS MI 48326
FUCHS TRUCKING LLC                   7257 STATE ROAD 78 SAUK CITY WI 53583
FUCHS, STEVEN                        ADDRESS ON FILE
FUDGE, BRENDA                        ADDRESS ON FILE
FUDGE, JEROME                        ADDRESS ON FILE
FUDGE, WILLIAM                       ADDRESS ON FILE
FUELMASTER TRANSPORT LLC             8990 PENDLEDTON PIKE INDIANAPOLIS IN 46226
FUENTES AND SONS TRANSPORTATION      OR TAB BANK, PO BOX 150290 OGDEN UT 84415
FUENTES PACHEOS, GABRIELLA EDITH     ADDRESS ON FILE
FUENTES TRANS EXPRESS LLC            6932 LURLINE AVE WINNETKA CA 91306
FUENTES TRUCK SERVICES LLC           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
FUENTES, ANTHONY                     ADDRESS ON FILE
FUENTES, CARLOS                      ADDRESS ON FILE
FUENTES, DAVID                       ADDRESS ON FILE
FUENTES, DAVID                       ADDRESS ON FILE
FUENTES, FRANKIE                     ADDRESS ON FILE
FUENTES, JOE                         ADDRESS ON FILE
FUENTES, PAULA A                     ADDRESS ON FILE
FUENTES, PAULA A                     ADDRESS ON FILE
FUENTES, PEDRO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 688 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 697 of 2156

Claim Name                          Address Information
FUENTES, ROBERT                     ADDRESS ON FILE
FUERTES EXPRESS INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
FUGATE, JAMES                       ADDRESS ON FILE
FUJIFILM                            850 CENTRAL AVE HANOVER PARK IL 60133
FUJIFILM HOLDINGS AMERICA           ATTN SHERRI YONKEE, 850 CENTRAL AVE HANOVER PARK IL 60133
FUJIFILM HOLDINGS AMERICA           ATTN SHERYL YONKEE, 850 CENTRAL AVE HANOVER PARK IL 60133
FULANI, SHREENA                     ADDRESS ON FILE
FULBRIGHT, ROBERT                   ADDRESS ON FILE
FULBRIGHT, WILLIAM                  ADDRESS ON FILE
FULCE, ANTHONY                      ADDRESS ON FILE
FULCHER, BRANDON                    ADDRESS ON FILE
FULDA ELECTRIC SERVICE INC          PO BOX 348 BRANDON SD 57005
FULGER LLC                          OR PRO FUNDING INC, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
FULGER TRANSPORT INC                4016 COUNTY ROAD 23 ESSEX ON N8M 2X7 CANADA
FULGHAM, THOMAS                     ADDRESS ON FILE
FULK, RONALD                        ADDRESS ON FILE
FULL ACCESS TRANSPORTATION LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FULL CIRCLE EXPRESS INC             OR EAGLE CAPITAL CORPORATION, PO BOX 4215 TUPELO MS 38803-4215
FULL CYCLE ENTERPRISES LLC          1610 E RAWSON AVE OAK CREEK WI 53154
FULL HOUSE MOVING & STORAGE         OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
FULL SAIL TRANSPORT, LLC            PO BOX 8867 SURPRISE AZ 85374
FULL SERVICE REALTYLLC              ATTN: VICTOR WAUMETT 5325 CANADA VISTA PLACE NW ALBUQUERQUE NM 87120-2411
FULL SPEED AHEAD INC                355 W DUNDEE RD, STE 205 BUFFALO GROVE IL 60089
FULL TILT TRANSPORTATION LLC        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
FULLBRIGHT, LECIL                   ADDRESS ON FILE
FULLER, ALLAH                       ADDRESS ON FILE
FULLER, ANTONIO                     ADDRESS ON FILE
FULLER, DILLON                      ADDRESS ON FILE
FULLER, DONNIE                      ADDRESS ON FILE
FULLER, JACKIE                      ADDRESS ON FILE
FULLER, JAMES                       ADDRESS ON FILE
FULLER, JAYCEE                      ADDRESS ON FILE
FULLER, JEROD                       ADDRESS ON FILE
FULLER, JOSEPH D                    ADDRESS ON FILE
FULLER, JOSEPH D                    ADDRESS ON FILE
FULLER, KATHERINE                   ADDRESS ON FILE
FULLER, KEVIN                       ADDRESS ON FILE
FULLER, NORMAN                      ADDRESS ON FILE
FULLER, ORLANDUS                    ADDRESS ON FILE
FULLER, RARECAS                     ADDRESS ON FILE
FULLER, ROBERT                      ADDRESS ON FILE
FULLER, RONNIE L                    ADDRESS ON FILE
FULLER, STEPHEN                     ADDRESS ON FILE
FULLER, STEVE                       ADDRESS ON FILE
FULLER, TIMOTHY                     ADDRESS ON FILE
FULLERTON, EDMUND                   ADDRESS ON FILE
FULLEST LLC                         ATTN: JEFF SHEN 635 PIERCE ST SOMERSET NJ 08873
FULLEST LLC                         ATTN: JEFF SHEN ACCOUNTING 635 PIERCE ST SOMERSET NJ 08873
FULLEST LLC                         ATTN: JEFF SHEN 15600 BLACKBURN AVE NORWALK CA 90650



Epiq Corporate Restructuring, LLC                                                                Page 689 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 698 of 2156

Claim Name                          Address Information
FULLEST LLC                         ATTN: JEFF SHEN SUPPORT 15600 BLACKBURN AVE NORWALK CA 90650
FULLMAN, GERALD                     ADDRESS ON FILE
FULLMER, MARCIE                     ADDRESS ON FILE
FULLMER, STEVEN                     ADDRESS ON FILE
FULLWOOD, DOUGLAS                   ADDRESS ON FILE
FULLY, JOSEPH                       ADDRESS ON FILE
FULMER, DAVID W                     ADDRESS ON FILE
FULSE, LOVIE                        ADDRESS ON FILE
FULTON COUNTY, GA                   141 PRYOR STREET, SW ATLANTA GA 30303
FULTON III, WALTER                  ADDRESS ON FILE
FULTON PRECISION INDUSTRIES         300 SUCCESS DR MCCONNELLSBURG PA 17233
FULTON, BRODERICK                   ADDRESS ON FILE
FULTON, FRED                        ADDRESS ON FILE
FULTON, FREDRICK                    ADDRESS ON FILE
FULTON, JAMES                       ADDRESS ON FILE
FULTON, JULIE                       ADDRESS ON FILE
FULTON, WILLIAM                     ADDRESS ON FILE
FULTZ MAINTENANCE, INC              12101 GOFF LANE FAIRDALE KY 40118
FULTZ, BRANDON                      ADDRESS ON FILE
FULTZ, JUSTIN                       ADDRESS ON FILE
FULWILER, SHONIE                    ADDRESS ON FILE
FUNCHES, CARLTON                    ADDRESS ON FILE
FUNCHES, COLLIN TYUS                ADDRESS ON FILE
FUNCHES, COLLIN TYUS                ADDRESS ON FILE
FUNCK, JOHN                         ADDRESS ON FILE
FUNDERBURK, KENYATTA                ADDRESS ON FILE
FUNES, RICHARD                      ADDRESS ON FILE
FUNK, BRADLEY                       ADDRESS ON FILE
FUNK, KENNETH                       ADDRESS ON FILE
FUNK-COUCH, KENDALL                 ADDRESS ON FILE
FUNKE, BRIAN                        ADDRESS ON FILE
FUNWIE, VELDO                       ADDRESS ON FILE
FUQUA, CORNELIUS                    ADDRESS ON FILE
FUQUA, KEITH                        ADDRESS ON FILE
FUQUA, NAKITA C                     ADDRESS ON FILE
FUQUA, NAKITA C                     ADDRESS ON FILE
FUREX INC                           OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
FUREY, PATRICK                      ADDRESS ON FILE
FURFORO, NICKOLAS                   ADDRESS ON FILE
FURGE, KYLE                         ADDRESS ON FILE
FURGESON, KATRINA                   ADDRESS ON FILE
FURKAN INC                          OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
FURLAN, ROBERT                      ADDRESS ON FILE
FURMANEK, THOMAS                    ADDRESS ON FILE
FURNACE, BURNEY                     ADDRESS ON FILE
FURNISH, DAVID N                    ADDRESS ON FILE
FURNITURE DESIGN                    1500 OLD COUNTRY RD. PAINVIEW NY 11803
FURR, BILLY                         ADDRESS ON FILE
FURR, DOMMINIC                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 690 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 699 of 2156

Claim Name                               Address Information
FURR, JOHN                               ADDRESS ON FILE
FURR, LEONARD                            ADDRESS ON FILE
FURRH, BILL                              ADDRESS ON FILE
FURROW, EUGENE                           ADDRESS ON FILE
FURTADO, WALTER                          ADDRESS ON FILE
FURULA, GUYE                             ADDRESS ON FILE
FUSCO, CARL                              ADDRESS ON FILE
FUSCO, STEFANO                           ADDRESS ON FILE
FUSELIER, TODD                           ADDRESS ON FILE
FUSELIER, WILLIAM                        ADDRESS ON FILE
FUSELIER, WILLIAM                        ADDRESS ON FILE
FUSION CHARTS                            10801 N MOPAC EXPY, BLDG 1, STE 100 AUSTIN TX 78759
FUSION CLOUD SERVICES LLC                PO BOX 411467 BOSTON MA 02241
FUSION ELECTRIC LLC                      5192 51ST AVE S STE 100 FARGO ND 58104
FUSION ENGINEERING LLC                   1804 CENTRE POINT CIRCLE SUITE 112 NAPERVILLE IL 60563
FUSION FURNITURE, INC                    PO BOX 366 ECRU MS 38841
FUSION TRANSPORT                         301 ROUTE 17 NO RUTHERFORD NJ 07070
FUSION TRANSPORT                         301 ROUTE 17 NORTH RUTHERFORD NJ 07070
FUSION TRANSPORT                         301 ROUTE 17 RUTHERFORD NJ 07070
FUSION TRANSPORT                         ATTN: DORIS POLONIA CLAIMS 301 ROUTE 17 FLR 11 RUTHERFORD NJ 07070
FUSION TRANSPORT                         ATTN: MARY BETH HOEY-CASTANEDA CLAIMS 301 ROUTE 17 RUTHERFORD NJ 07070
FUSION TRANSPORT                         ATTN: MARY HOEY-CASTANEDA CLAIMS 301 ROUTE 17 RUTHERFORD NJ 07070
FUSION TRANSPORT                         ATTN: MARYBETH CASTANEDA 301 ROUTE 17 NORTH RUTHERFORD NJ 07070
FUSION TRANSPORT                         ATTN: GTLI WAREHOUSE 276 OLD NEW BRUNSWICK RD PISCATAWAY NJ 08854
FUSIONSITE                               PO BOX 60 WHITES CREEK TN 37189
FUTCH, AMY                               ADDRESS ON FILE
FUTCH, BILLY                             ADDRESS ON FILE
FUTRELL, JUNIUS                          ADDRESS ON FILE
FUTU CLEARING INC. (4272)                ATT COLLETE REX 12750 MERIT DR, STE 475 DALLAS TX 75251
FUTURE BENEFITS LLC                      OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
FUTURE LOGISTICS SYSTEMS LLC             421 E MIAMI ST DEGRAFF OH 43318
FUTURE MODERN TRANSPORT LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
FUTURE TRANS INC                         OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
FUTURE TRANSPORTATION INC                OR PRO FUNDING INC, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
FUTURE TRANSPORTATION INC (MC073677)     OR TRIUMPH FINANCIAL SERVICES LLC, PO BOX 610028 DALLAS TX 75261-0028
FUTURE TRANSPORTATION LLC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
FUTURE TRANSPORTATION OF US INC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
FUTURE TRUCKING                          PO BOX 69 WILLIAMSBURG IA 52361
FUWAN BADA INC                           OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
FUWELL, BRADD                            ADDRESS ON FILE
FUZION CARRIERS DE MEXICO S.A. DE C.V.   RFC. FCM1707183Y7 CALLE FRANCISCO I MADERO 4240 COLONIA HIDALGO NUEVO LAREDO
                                         88160 MEXICO
FV TRANSPORTS                            OR CRESTMARK, PO BOX 682348 FRANKLIN TN 37068-2348
FW FLEET CLEAN LLC                       PO BOX 5059 SAN LUIS OBISPO CA 93403
FW FLEET CLEAN LLC                       PO BOX 1478 CAMBRIA CA 93428
FW FLEET CLEAN, LLC.                     478 N. BABCOCK STREET MELBOURNE FL 32935
FW TRUCKING                              325 W MAIN, PO BOX 874280 C/O ACCOUNTS RECEIVABLE BELLEVILLE IL 62220
FW TRUCKING (VISALIA)                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
FW TRUCKING LLC                          OR TREADSTONE US CAPITAL LLC, PO BOX 631627 CINCINNATI OH 45263-1627



Epiq Corporate Restructuring, LLC                                                                    Page 691 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 700 of 2156

Claim Name                              Address Information
FWE TRUCKING LLC                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
FX SERVICES LLC                         OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
FX TRUCKING LLC                         25439 325TH ST SIOUX CITY IA 51108
FX360 TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
FYDA FREIGHTLINER CINCINNATI INC        11095 DIXIE HIGHWAY WALTON KY 41094
FYDA FREIGHTLINER CINCINNATI INC        1 FREIGHTLINER DRIVE CINCINNATI OH 45241
FYDA FREIGHTLINER CINCINNATI INC        11649 READING RD CINCINNATI OH 45241
FYDA FREIGHTLINER COLUMBUS INC          2700 NE PC GEORGESVILLE RD WEST JEFFERSON OH 43162
FYDA FREIGHTLINER COLUMBUS INC          PROFLEET HEAVY DUTY, 1219 HARMON AVE COLUMBUS OH 43223
FYDA FREIGHTLINER COLUMBUS INC          1250 WALCUTT RD COLUMBUS OH 43228
FYDA FREIGHTLINER PITTSBURGH INC        20 FYDA DRIVE CANONSBURG PA 15317
FYDA FREIGHTLINER YOUNGSTOWN            5260 SEVENTY-SIX DR YOUNGSTOWN OH 44515
FYFFE, ANTHONY                          ADDRESS ON FILE
FYN TRANSPORTATION LLC                  OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
FYNBO, DENNIS                           ADDRESS ON FILE
FYR FYTER SALES AND SERVICE INC         608 S BROAD ST MOBILE AL 36603
FYR-FYTER SALES & SERVICE               PO BOX 5640 TOLEDO OH 43613
FYR-FYTER SALES AND SERVICE INC         262 PENN-LAWRENCE RD PENNINGTON NJ 08534
FYR-FYTER SALES AND SERVICE INC         PO BOX 40620 MOBILE AL 36640
FYX FLEET LLC                           PO BOX 791661 BALTIMORE MD 21279
FZ TRANSPORTATION                       1383 CAMBRIDGE AVE KING CITY CA 93930
FZ TRANSPORTATION LLC                   OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
G & C TRANSPORTATION INC                6816 CLEVELAND BAY CT CORONA CA 92880
G & D TRUCKING LLC                      OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G & E TRANSPORT LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
G & F TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
G & F TRUCKING TN LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
G & G CARRIERS LLC                      8615 CASA VERDE RD LAREDO TX 78041
G & G FREIGHT TRUCKING LLC              OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
G & G INTERSTATE CORP                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
G & G LOGISTIC SERVICES LLC             OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
G & G LOGISTIC SERVICES LLC             PO BOX 213 HUMPHREY AR 72073
G & G LOGISTICS INC                     20359 LAKE CANYON DRIVE WALNUT CA 91789
G & G LOGISTICS SERVICES LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
G & G TRUCKING                          OR INTEGRATED LOGISTICS & ASSOCIATES, PO BOX 25189 FARMINGTON NY 14425-0189
G & H AUTO TRANSPORT                    OR TRANS FG, PO BOX 509141 DEPT 909 SAN DIEGO CA 92150
G & H DIESEL SERVICE                    3304 E MALAGA AVE FRESNO CA 93725
G & H MOTOR FREIGHT LINES               116 NW TOWNLINE RD PO BOX 239 GREENFIELD IA 50849
G & I LOGISTICS INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
G & I SOLUTIONS INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
G & J CARLSON TRUCK & TRAILER REPAIRS   PO BOX 440 HARRISON 45030
G & J CONSTRUCTION GROUP LP             11610 - 151 STREET EDMONTON AB T5M 4E9 CANADA
G & J EXPRESS LOGISTICS LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
G & K LOGISTICS INC                     OR INTEGRA FUNDING SOLUTIONS LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                        76116
G & M BROS TRUCKING LTD                 OR ECAPITAL ORILLIA (CAN), 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4
                                        CANADA
G & M TRANSPORT LLC                     OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
G & R ENTERPRISE, INC.                  PO BOX 902221 PALMDALE CA 93590



Epiq Corporate Restructuring, LLC                                                                    Page 692 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 701 of 2156

Claim Name                           Address Information
G & S LOGISTICS INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
G & S TRANSFER, INC.                 4055-A HIGHWAY VIEW DR. KENT OH 44240
G & S TRANSPORT                      OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
G & S TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
G & SONS XPRESS INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
G & T ENTERPRISES                    PO BOX 1194 HARVEY IL 60426
G & W DIESEL                         P.O. BOX 257 MEMPHIS TN 38101
G & Y TRANSPORTATION LLC             OR CASHWAY FUNDING, PO BOX 724051 ATLANTA GA 31139-4051
G & Z TRUCKING LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
G 2 EXPRESS INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
G A N N TRANSIT INC                  G A N N TRANSIT INC, 6372 GREENLAND RD STE 5 JACKSONVILLE FL 32258
G AND A EXPRESS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
G AND C EXPRESS LLC                  OR FREIGHT FACTORING SPECIALISTS LLC, DEPT 259 PO BOX 1000 MEMPHIS TN 38148
G AND G TRANSPORTATION LLC           761 WOODHAVEN PLACE LEXINGTON KY 40514
G AND S TRANSPORTS, LLC              8414 TYLER LN HENRICO VA 23231
G B R TRANSPORT INC                  OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
G BATES PLUMBING                     2170 SPEERS RD., UNIT 1 OAKVILLE ON L6L 2X8 CANADA
G C TRUCKING                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
G CARGO INC                          OR FINANCIAL CARRIER SERVICES, PO BOX 151052 OGDEN UT 84415
G CHAMBERS TRUCKING LLC              OR PORTER BILLING SERVICES LLC, PO BOX 440127 NASHVILLE TN 37244
G DUKES TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G E M FREIGHT CARRIERS LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
G E M TRUCKING                       OR ORANGE COMMERCIAL CREDIT, PO BOX 11099 OLYMPIA WA 98508-1099
G EXPORT LUMBER, INC.                OR ALTHON FACTORING SERVICES LLC, P.O. BOX 1719 MCALLEN TX 78505
G EXPRESS INC                        2651 CORDOVA PL JONESBORO GA 30236
G EXPRESS LOGISTICS LLC              OR ATLAS FACTORING LLC, 906 N. MESA STE 301 EL PASO TX 79902
G F C ECHO GLOBAL                    SUITE 725, 600 W CHICAGO AVE CHICAGO IL 60654
G F S TRANSPORT INC                  16550 PARADUXX CT BAKERSFIELD CA 93314
G G TRUCK LINES INC                  44289 WILMINGTON DR CANTON MI 48188
G GARAY TRANSPORT LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
G H S XPRESS INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
G I G TRANSPORTATION LLC             OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
G I T Y LOGISTICS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G J CHEMICAL                         ATTN: CORIN FRABASILE 128 DOREMUS AVE NEWARK NJ 07105
G K TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
G KON TRUCKING LLC                   OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
G LINE TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
G P B LOGISTICS LLC                  OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
G P TRANSPORT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
G R COOPER LOGISTICS LLC             OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G S G TRANSPORTATION                 OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
G S H EXPRESS INC                    OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
G S HALY CO                          156 ARCH ST REDWOOD CITY CA 94062
G S TRANSPORT INC                    22036 BETLEN WAY CASTRO VALLEY CA 94546
G S TRANSPORTATION & SERVICES INC    OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
G S TRANSPORTS LTD                   OR ECAPITAL FREIGHT FACTORING, 174 WEST ST SOUTH 2ND FLOOR ORILLA ON L3V 6L4
                                     CANADA
G S TRUCK LINE                       1738 SOLE VILLA LANE MANTECA CA 95337
G SAMRA INC                          OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                 Page 693 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 702 of 2156

Claim Name                              Address Information
G SANDHU TRANSPORT LLC                  27025 123RD PL SE KENT WA 98030
G SANDHU TRANSPORT LLC                  12535 SE 297TH PL AUBURN WA 98092
G SONNY MUSSO LOCAL 641                 SCHOLARSHIP FUND INC, PO BOX 175 UNION NJ 07083
G T H TRANSPORTATION LLC                OR ECAPITAL FREIGHT FACTORING, PO BOX 206773 DALLAS TX 75320-6773
G T LOGISTICS, INC                      OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
G T MICHELLI COMPANY INC                130 BROOKHOLLOW HARAHAN LA 70123
G TO G IMPORTING, LLC                   D/B/A GRAPES TO GLASS LLC ATTN: KEVIN PEREZ, AUTHRORIZED REP. 118 LILY DR.
                                        GLENSHAW PA 15116
G TRANSPORTATION LLC                    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
G TRUCKING INC                          4763 W SPRUCE AVE STE 113 FRESNO CA 93722
G V G EXPRESS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
G VIRK TRANS INC                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
G X O                                   ATTN: TRACY COLE, 4043 PIEDMONT PKWY HIGH POINT NC 27265
G YAN INC                               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
G&A CARRIERS LLC                        OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
G&C CARRIER LLC                         OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
G&C MULTI SERVICES LLC                  PO BOX 3155 PADUCAH KY 42002
G&D INTEGRATED                          50 COMMERCE DR MORTON IL 61550
G&D TRUCKING                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
G&F TRUCKING INC                        10481 TIREMAN AVENUE DEARBORN MI 48126
G&G FREIGHT WAYS INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
G&G TRUCKING IN ARIZONA, LLC.           OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
G&H LOGISTICS INC.                      75 RUE DE HAMBOURG, ST AUGUSTIN DESMAURES QC G3A 1S6 CANADA
G&I IX CHESHIRE LLC                     MSC 520, PO BOX 830469 BIRMINGHAM AL 35283
G&I IX CHESHIRE, LLC                    ATTN: COLLEEN YARNOT PO BOX 830469 BIRMINGHAM AL 35283
G&J EXPRESS LLC                         5407 CHAPEL BROOK DR HOUSTON TX 77069
G&J TRANSPORT LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
G&L EXPRESS LLC                         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                        IL 60674-0411
G&L INDUSTRIAL REPAIR SERVICE & PARTS   85 GRAVEL RIDGE RD WAYNESBORO VA 22980
G&L INDUSTRIAL REPAIR SERVICE & PARTS   PO BOX 599 CRIMORA VA 24431
G&M CARRIER                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
G&M DEGE                                147 WEST AVENUE PATCHOGUE NY 11772
G&M TOWING AND RECOVERY LLC             15963 MAIN STREET HESPERIA CA 92345
G&O LOGISTICS LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G&RR TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
G&S LOGISTICS GROUP LLC                 OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
G&S ROAD SERVICE, INC.                  696 OAK GROVE INN RD SELMA NC 27576
G&S TRAILER REPAIR INC                  14007 S. BELL RD, SUITE 323 HOMER GLEN IL 60491
G&S TREES INC.                          6051 N US HIGHWAY 19E NEWLAND 28657
G&S TRUCK LINE LLC                      1119 R ST NW AUBURN WA 98001
G&S TRUCKING CO LLC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
G&T AIR EXPEDITING SERVICE INC          1510 GRAND CENTRAL AVE ELMIRA NY 14901
G&T INTERNATIONAL                       17 GALTEE RD BRAMPTON ON L6X 0J5 CANADA
G&T LOGISTICS COMPANY                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G&T LOGISTICS INC                       OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
G&VN INC                                OR ASSIST FINANCIAL SERVICES INC, PO BOX 347 MADISON SD 57042
G&W EQUIPMENT INC                       600 LAWTON ROAD CHARLOTTE NC 28216
G&W EQUIPMENT INC                       600 LAWTON RD. CHARLOTTE NC 28216-3437



Epiq Corporate Restructuring, LLC                                                                    Page 694 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 703 of 2156

Claim Name                           Address Information
G&W EXPRESS INC                      OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
G-AMINI LOGISTICS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
G-F-T                                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
G-LINE TRUCKING LLC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
G-N-K TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
G-ROAD EXPRESS                       43 ABERDEEN AVE WOODRIDGE ON L4L 1C1 CANADA
G-TRANSLINE SERVICES                 OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
G-TRUCKING, INC                      1751 NATHAN LN AUSTELL GA 30168
G-WEST EXPRESS LLC                   1065 CARLSBAD CT SAN DIEGO CA 92114-5044
G. A. T. 22 TRANSPORTATION LLC       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G.A. KAYLOR TRANSPORTATION           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
G.C. ELECTRIC, INC.                  135 COMMERCE COURT CHESHIRE CT 06410
G.M.I JUAN TRUCKING LLC              OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
G1 TRANSPORT INC                     OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
G1 TRUCKING INC                      OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
G1 TRUCKING SERVICES LLC             OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
G2 CONNECT INC                       OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
G2 ERGONOMICS                        1008 E. COMMERCIAL ST. LYNDON IL 61261
G2 TRANSPORT                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
G2 TRANSPORT LOGISTICS LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
G2000 EXPRESS INC.                   6 MONOGRAM PL ETOBICOKE ON M9R0A1 CANADA
G24 TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
G3 CARGO SOLUTIONS LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
G3 TEXAS TRUCKING LLC                OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
G8 TRUCKING, INC.                    OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
GA DOT                               600 W PEACHTREE NW ATLANTA GA 30308
GA FREIGHT CORP                      PO BOX 87 CLIFTON NJ 07015
GA LOGISTICS INC                     OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
GA LOGISTICS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GA LOGISTICS LLC (MOCKSVILLE NC)     OR FINANCIAL CARRIER SERVICES, PO BOX 151052 OGDEN UT 84415
GAA CARGO                            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
GAAB TRUCKING INC.                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
GAABKA INC                           OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
GAAR, ANDREW                         ADDRESS ON FILE
GAARANE TRANSPORT INC                OR TRIUMPH FINANCIAL SERVICES LLC, PO BOX 610028 DALLAS TX 75261-0028
GABA LAW CORPORATION                 4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
GABALDON, JOEL                       ADDRESS ON FILE
GABBARD, DARRELL                     ADDRESS ON FILE
GABBARD, TAYLOR                      ADDRESS ON FILE
GABBERT, JAMES                       ADDRESS ON FILE
GABBYCAKES TRUCKING LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GABER, GREG                          ADDRESS ON FILE
GABER, GREGORY C                     ADDRESS ON FILE
GABI EXPRESS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GABI TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
GABINO SANCHEZ                       ADDRESS ON FILE
GABIS TRANSPORT                      OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
GABL, JAMES F                        ADDRESS ON FILE
GABLES TRANSPORT INC.                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196



Epiq Corporate Restructuring, LLC                                                                 Page 695 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 704 of 2156

Claim Name                           Address Information
GABOSE TRUCKING LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GABOUREL, FABIAN                     ADDRESS ON FILE
GABRIEL BARON                        ADDRESS ON FILE
GABRIEL C BOTTORFF                   ADDRESS ON FILE
GABRIEL MAGALLANES                   ADDRESS ON FILE
GABRIEL O OSINOWO                    ADDRESS ON FILE
GABRIEL PADILLA                      ADDRESS ON FILE
GABRIEL TRUCKING, INC.               4031 PARKWAY DRIVE SUITE C FLORENCE AL 35630
GABRIEL, BLAKE                       ADDRESS ON FILE
GABRIEL, NICKSON                     ADDRESS ON FILE
GABRIELA & BROS TRANSPORT            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
GABRIELLI TRUCK SALES                PO BOX 358137 PITTSBURGH PA 15251
GABRIELLI TRUCK SLS                  ATTN MIKE SENA, 153-20 S CONDUIT AVE JAMAICA NY 11434
GABRIELSON TRUCK RPR AND TOW         14046 LIV 249 CHILLICOTHE MO 64601
GAC EXPRESS INC                      1400 ANDREWS PKWY ALLEN TX 75002
GAC EXPRESS LLC                      OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
GAC TRANSPORT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GACHANCIPA ROZO, ANDRES FELIPE       ADDRESS ON FILE
GACKO, ISSA                          ADDRESS ON FILE
GAD, MALACHI                         ADDRESS ON FILE
GADANT TRANSPORT SERVICES LLC        9814 CLANFORD RD RANDALLSTOWN MD 21133
GADAWSKI, JEROME                     ADDRESS ON FILE
GADAY FREIGHT LLC                    OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
GADD, ROBERT                         ADDRESS ON FILE
GADDIS, FREDRICK                     ADDRESS ON FILE
GADDIS, MERLE                        ADDRESS ON FILE
GADDY TRUCKING LLC                   OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GADDY, MARLA                         ADDRESS ON FILE
GADDY, MICHAEL C                     ADDRESS ON FILE
GADDY, NICHOLAS                      ADDRESS ON FILE
GADEA, ROGER                         ADDRESS ON FILE
GADREAULT, MICHAEL                   ADDRESS ON FILE
GADS A TO B TRANSPORT LLC            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
GADSON, DERRICK                      ADDRESS ON FILE
GADSON, IVAN                         ADDRESS ON FILE
GADSON, LEKESHIA                     ADDRESS ON FILE
GADSON, ROBERT                       ADDRESS ON FILE
GADSON, ROBERT                       ADDRESS ON FILE
GADSON, WINFIELD                     ADDRESS ON FILE
GAE                                  OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
GAEDE, ANDREW                        ADDRESS ON FILE
GAEDEKE, PAUL                        ADDRESS ON FILE
GAETOS, DON                          ADDRESS ON FILE
GAFFAROV TRUCKING INC                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
GAFFGA, MATTHEW                      ADDRESS ON FILE
GAFFNEY, JAMES                       ADDRESS ON FILE
GAFFNEY, THOMAS                      ADDRESS ON FILE
GAFFORD, MELVIN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 696 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 705 of 2156

Claim Name                           Address Information
GAFUROV, MUKHAMAD                    ADDRESS ON FILE
GAFUROV, MUKHAMAD                    ADDRESS ON FILE
GAGAN ROADWAYS LTD                   22 DEEPCORAL COURT, 22 DEEPCORAL COURT BRAMPTON ON L6V 4P7 CANADA
GAGE, ALAN                           ADDRESS ON FILE
GAGE, AMY                            ADDRESS ON FILE
GAGE, DARNELL                        ADDRESS ON FILE
GAGE, MICHELLE                       ADDRESS ON FILE
GAGE, STORM                          ADDRESS ON FILE
GAGER, ROBERT                        ADDRESS ON FILE
GAGLE, DAVID                         ADDRESS ON FILE
GAGLIARDI, ALYSSA                    ADDRESS ON FILE
GAGLIARDI, NICHOLA                   ADDRESS ON FILE
GAGLIARDI, NICHOLA W                 ADDRESS ON FILE
GAGNER, MATTHEW                      ADDRESS ON FILE
GAGNON, DAWN                         ADDRESS ON FILE
GAGNON, ERIC                         ADDRESS ON FILE
GAGNON, EUGENE                       ADDRESS ON FILE
GAGNON, RUSSELL                      ADDRESS ON FILE
GAGNON, WILLIAM                      ADDRESS ON FILE
GAHAN, YVETTE                        ADDRESS ON FILE
GAHLON, BRYAN                        ADDRESS ON FILE
GAHR, CHRISTOPHER                    ADDRESS ON FILE
GAI INSURANCE COMPANY, LTD.          P.O. BOX HM 463 HAMILTON HM 08 BERMUDA
GAIA ENTERPRISES US LLC              OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
GAIA ENTERPRISES US LLC              OR TRIUMPH FINANCIAL SERVICES LLC, PO BOX 610028 DALLAS TX 75261-0028
GAIA TRANSPORTATION INC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GAIBOR, NESTOR                       ADDRESS ON FILE
GAIER CONSTRUCTION CORP.             129 WEST 2ND STREET BLACK RIVER FALLS WI 54615
GAIGE LLC                            2713 N CHITWOOD WAY BOISE ID 83704
GAILES, JAMES                        ADDRESS ON FILE
GAILLARDIA COMMUNITIES ASSOCIATION   5300 GAILLARDIA BLVD. OKLAHOMA CITY OK 73142
GAINES, BRETT                        ADDRESS ON FILE
GAINES, DALEI                        ADDRESS ON FILE
GAINES, ERIC                         ADDRESS ON FILE
GAINES, JODY                         ADDRESS ON FILE
GAINES, JOHN                         ADDRESS ON FILE
GAINES, MARCUS                       ADDRESS ON FILE
GAINES, TAVEON                       ADDRESS ON FILE
GAINES, TIMOTHY                      ADDRESS ON FILE
GAINES, VINSON                       ADDRESS ON FILE
GAINESVILLE TOWING & RECOVERY        7400 HILLWOOD DRIVE, PO BOX 145 GAINESVILLE VA 20155
GAITA LLC                            2613 MAIDENS LANE EDGEWOOD MD 21040
GAITAN, STEFAN                       ADDRESS ON FILE
GAITER, CYMONE                       ADDRESS ON FILE
GAITHER, DERRICK                     ADDRESS ON FILE
GAITHER, KENNETH                     ADDRESS ON FILE
GAITHER, MICHAEL                     ADDRESS ON FILE
GAITHER, STEVEN                      ADDRESS ON FILE
GAITHER, WILLIAM                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 697 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 706 of 2156

Claim Name                              Address Information
GAITO, DANIELA                          ADDRESS ON FILE
GAJDOSZ, JOSEPH                         ADDRESS ON FILE
GAJEWSKI, GREGORY                       ADDRESS ON FILE
GAJEWSKI, SHAWN                         ADDRESS ON FILE
GAJOS, STEVEN                           ADDRESS ON FILE
GAKAMI & SONS LOGISTICS, LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GAKAMI & SONS LOGISTICS, LLC            OR UNIFACT CAPITAL FUNDING LLC, 8330 MEADOW ROAD, SUITE 216 DALLAS TX 75231
GAKHAL EXPRESS INC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GAKHAL TRANSPORT INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GAKO LOGISTICS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GALA INTERNATIONAL GROUP LLC            2814 HAMMETT DR LAREDO TX 78041-2098
GALAN XPRESS                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GALANG, MA TERESA                       ADDRESS ON FILE
GALAPON, JONATHAN                       ADDRESS ON FILE
GALARIO TRANSPORTATION INC              OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
GALASINSKI, JAMES                       ADDRESS ON FILE
GALAVIZ CARRIERS LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GALAVIZ, JOSEPH                         ADDRESS ON FILE
GALAXY TRANSPORTATION INC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
GALBEARTH II, JOHN                      ADDRESS ON FILE
GALBRAITH, KNUTE                        ADDRESS ON FILE
GALBREATH, CARL                         ADDRESS ON FILE
GALBREATH, LARRY                        ADDRESS ON FILE
GALCAN, DIANA                           ADDRESS ON FILE
GALCO INDUSTRIES                        ATTN: JOSH MENKE 1451 E LINCOLN AVE MADISON HTS MI 48071
GALCZAK, MICHAEL                        ADDRESS ON FILE
GALDAMEZ CU, MELVIN VINICIO             ADDRESS ON FILE
GALDAMEZ, JOSE M                        ADDRESS ON FILE
GALE A WINTERS                          ADDRESS ON FILE
GALE FAMILY FREIGHT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GALE, JOHN                              ADDRESS ON FILE
GALE, MITCHELL                          ADDRESS ON FILE
GALE, WENDY                             ADDRESS ON FILE
GALE, WILLIAM                           ADDRESS ON FILE
GALEANA, NORMAN                         ADDRESS ON FILE
GALEANO, KENNETH                        ADDRESS ON FILE
GALEE TRUCKING INC                      OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GALEGO, BRITTANY                        ADDRESS ON FILE
GALEHOUSE, JOHN                         ADDRESS ON FILE
GALEN REEVES                            ADDRESS ON FILE
GALES TRUCKING LLC                      OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
GALES, JIMMY                            ADDRESS ON FILE
GALETON                                 G I, 100 FOXBOROUGH BOULEVARD FOXBORO MA 02035
GALETON INC                             100 FOXBOROUGH BLVD STE 240 FOXBORO MA 02035
GALEY, RANDALL                          ADDRESS ON FILE
GALGON HVAC & MECHANICAL SERVICE, INC   1800 MACARTHUR BLVD NW ATLANTA GA 30318
GALGOS TRUCKING INC                     312 2ND AVE NE CONOVER NC 28613
GALIANO FREIGHT SERVICE                 293 SHOPLAND ROAD GALIANO ISLAND BC V0N 1P0 CANADA
GALIETTI, RYAN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 698 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 707 of 2156

Claim Name                          Address Information
GALIN TRUCKING LLC                  OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GALINDO AND DIAZ LLC                OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
GALINDO JR., BILLY                  ADDRESS ON FILE
GALINDO, ERIC                       ADDRESS ON FILE
GALINDO, LILLIAN                    ADDRESS ON FILE
GALINDO, MICHAEL                    ADDRESS ON FILE
GALINDO, NATHANAEL                  ADDRESS ON FILE
GALINDO, NICHOLAS                   ADDRESS ON FILE
GALINDO, PAUL                       ADDRESS ON FILE
GALINDO, SABINO                     ADDRESS ON FILE
GALINDO, SAMMY                      ADDRESS ON FILE
GALL, JAMES                         ADDRESS ON FILE
GALL, JOSEPH                        ADDRESS ON FILE
GALLA, KEVIN                        ADDRESS ON FILE
GALLAGHER JR, HUGH                  ADDRESS ON FILE
GALLAGHER, DANIEL                   ADDRESS ON FILE
GALLAGHER, DEAN                     ADDRESS ON FILE
GALLAGHER, FRANCIS                  ADDRESS ON FILE
GALLAGHER, GENE                     ADDRESS ON FILE
GALLAGHER, JERRY                    ADDRESS ON FILE
GALLAGHER, KENNETH R                ADDRESS ON FILE
GALLAGHER, MARK                     ADDRESS ON FILE
GALLAGHER, PATRICK                  ADDRESS ON FILE
GALLAGHER, PATRICK F                ADDRESS ON FILE
GALLAGHER, ROBERT                   ADDRESS ON FILE
GALLAGHER, SCOTT                    ADDRESS ON FILE
GALLAGHER, SEAMUS                   ADDRESS ON FILE
GALLAGHER, SEAN                     ADDRESS ON FILE
GALLAGHER, THOMAS W                 ADDRESS ON FILE
GALLAGHER, TYLER                    ADDRESS ON FILE
GALLAGHER, WILLIAM J                ADDRESS ON FILE
GALLAHER FLEET SOLUTIONS INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GALLAHER, MURRAY                    ADDRESS ON FILE
GALLAND, LEAH                       ADDRESS ON FILE
GALLANO TRUCKING, INC.              PO BOX 313 BELVIDERE IL 61008
GALLANT, DAVID                      ADDRESS ON FILE
GALLANT, TRAYVASS                   ADDRESS ON FILE
GALLARDO TRUCKING, INC              OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
GALLARDO ZALDIVAR, MANUEL           ADDRESS ON FILE
GALLARDO ZALDIVAR, MANUEL           ADDRESS ON FILE
GALLARDO, MANUEL                    ADDRESS ON FILE
GALLARDO, RICHARD                   ADDRESS ON FILE
GALLARZO CANO, ALDO                 ADDRESS ON FILE
GALLATIN COUNTY TREASURER           311 WEST MAIN ST BOZEMAN MT 59715
GALLATIN SUBARU                     31910 FRONTAGE RD BOZEMAN MT 59715
GALLAUGHER, MIKE                    ADDRESS ON FILE
GALLAWAY, DAVID                     ADDRESS ON FILE
GALLEGO, DANIEL                     ADDRESS ON FILE
GALLEGOS TRUCKING                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                              Page 699 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 708 of 2156

Claim Name                           Address Information
GALLEGOS, ALLAN                      ADDRESS ON FILE
GALLEGOS, BENJAMIN                   ADDRESS ON FILE
GALLEGOS, CHRISTIAN                  ADDRESS ON FILE
GALLEGOS, FRANCISCO                  ADDRESS ON FILE
GALLEGOS, JAMES                      ADDRESS ON FILE
GALLEGOS, JESUS                      ADDRESS ON FILE
GALLEGOS, JOSE                       ADDRESS ON FILE
GALLEGOS, LYNN J                     ADDRESS ON FILE
GALLEGOS, ONESIMO                    ADDRESS ON FILE
GALLEGOS, ROSA                       ADDRESS ON FILE
GALLEGOS, STEVE                      ADDRESS ON FILE
GALLEGOS, URIEL                      ADDRESS ON FILE
GALLEHER CORP                        9303 GREENLEAF AVE SANTA FE SPRINGS CA 90670
GALLEHER, DENNIS                     ADDRESS ON FILE
GALLEHER, MICHAEL                    ADDRESS ON FILE
GALLERIA AT SUNSET                   1300 W. SUNSET RD.STE 1400 HENDERSON NV 89014
GALLERIA LIGHTING                    ATTN: JESSE STEVENS 100 RIO GRANDE BLVD. DENVER CO 80223
GALLES FILTER SERVICE                2920 1ST AVE SOUTH BILLINGS MT 59101
GALLES, TINA                         ADDRESS ON FILE
GALLIA COUNTY SEWER DEPARTMENT       18 LOCUST ST. RM 1263 GALLIPOLIS OH 45631
GALLIA COUNTY TREASURER              STEVE MCGHEE - TREASURER 18 LOCUST ST, ROOM 1291 GALLIPOLIS OH 45631-1291
GALLIA RURAL WATER ASSOC             542 BURNETT RD GALLIPOLIS OH 45631
GALLIGANI, ANTHONY                   ADDRESS ON FILE
GALLIPO, CRAIG                       ADDRESS ON FILE
GALLISHAW, FRANKLIN                  ADDRESS ON FILE
GALLMAN, DEON                        ADDRESS ON FILE
GALLMAN, WILLIE                      ADDRESS ON FILE
GALLO EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
GALLO, FRANK                         ADDRESS ON FILE
GALLO, JUAN                          ADDRESS ON FILE
GALLO, SHAWN                         ADDRESS ON FILE
GALLOWAY EXP LLC                     OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
GALLOWAY, BILL                       ADDRESS ON FILE
GALLOWAY, DANENON                    ADDRESS ON FILE
GALLOWAY, LEWIS                      ADDRESS ON FILE
GALLOWAY, OLIVER                     ADDRESS ON FILE
GALLOWAY, OLIVER R                   ADDRESS ON FILE
GALLUN EXPRESS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GALLUP, RANDALL                      ADDRESS ON FILE
GALLUP, REID                         ADDRESS ON FILE
GALLUP, ROBERT                       ADDRESS ON FILE
GALO, ANISETO                        ADDRESS ON FILE
GALOL TRUCKING LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GALOL TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GALOVICH, ADAM P                     ADDRESS ON FILE
GALSON, KEITH                        ADDRESS ON FILE
GALT LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GALVAN CASTREJON, DALIA              ADDRESS ON FILE
GALVAN JR, LUIS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 700 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                            Page 709 of 2156

Claim Name                         Address Information
GALVAN NATIONAL CARRIERS LLC       OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
GALVAN TRUCKING                    3032 KALEI CT PERRIS CA 92571-3773
GALVAN TRUCKING (MC423287)         PO BOX 61 GARCIASVILLE TX 78547
GALVAN, AARON                      ADDRESS ON FILE
GALVAN, EDWARD                     ADDRESS ON FILE
GALVAN, FABIAN                     ADDRESS ON FILE
GALVAN, JESSE                      ADDRESS ON FILE
GALVAN, JESUS                      ADDRESS ON FILE
GALVAN, MARIO                      ADDRESS ON FILE
GALVAN, MATTHEW                    ADDRESS ON FILE
GALVAN, MICHAEL                    ADDRESS ON FILE
GALVAN, MIGUEL                     ADDRESS ON FILE
GALVEZ TRANSPORTATION INC          19403 TOBIANO PARK DR TOMBALL TX 77377
GALVEZ, JOHN                       ADDRESS ON FILE
GALVEZ, JOSE J                     ADDRESS ON FILE
GALVEZ, RUDY                       ADDRESS ON FILE
GALVEZ, STEVEN                     ADDRESS ON FILE
GALVIN, SEAN                       ADDRESS ON FILE
GALWAY, KIMBERLY                   ADDRESS ON FILE
GAMA FREIGHT                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GAMA TRADE INC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
GAMBILL, PAUL                      ADDRESS ON FILE
GAMBINO, ROSALIA                   ADDRESS ON FILE
GAMBINO, ROSALIA                   ADDRESS ON FILE
GAMBLE JR, HERMAN E                ADDRESS ON FILE
GAMBLE TRANSPORT SERVICES, LLC     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
GAMBLE, DANNY                      ADDRESS ON FILE
GAMBLE, EVETTE                     ADDRESS ON FILE
GAMBLE, JACOB                      ADDRESS ON FILE
GAMBLE, JEFFREY                    ADDRESS ON FILE
GAMBLE, PHILLIP                    ADDRESS ON FILE
GAMBLIN, LANA                      ADDRESS ON FILE
GAMBOA, ALFONSO                    ADDRESS ON FILE
GAMBOA, FRANCISCO                  ADDRESS ON FILE
GAMBOA, RICHARD                    ADDRESS ON FILE
GAMBRELL, SCOTT D                  ADDRESS ON FILE
GAMDYSEY, MISHA                    ADDRESS ON FILE
GAMDYSEY, YURIY                    ADDRESS ON FILE
GAMER LOGISTICS                    P.O BOX 299190 EL PASO TX 79927
GAMET, ANTOINE                     ADDRESS ON FILE
GAMEZ TRUCKING                     OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
GAMEZ, BERZIL                      ADDRESS ON FILE
GAMEZ, JESUS                       ADDRESS ON FILE
GAMEZ, MANUEL                      ADDRESS ON FILE
GAMEZ, PABLO                       ADDRESS ON FILE
GAMEZ, REYNALDO                    ADDRESS ON FILE
GAMIOCHIPE, ENRIQUE                ADDRESS ON FILE
GAMM, EMILY                        ADDRESS ON FILE
GAMMA LOGISTICS USA LLC            OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701



Epiq Corporate Restructuring, LLC                                                               Page 701 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 710 of 2156

Claim Name                           Address Information
GAMMEL, BETH                         ADDRESS ON FILE
GAMMON, JIM                          ADDRESS ON FILE
GAMMONS, CHRISTOPHER                 ADDRESS ON FILE
GAMMONS, GREGORY                     ADDRESS ON FILE
GAMMONS, RICKY                       ADDRESS ON FILE
GAMONSON LOGISTICS LLC               4109 38TH AVE APT 43 MOLINE IL 61265-6703
GAMPPER, JACKSON                     ADDRESS ON FILE
GAN-TRANS, LTD A CORP.               800 CARDEN ST SAN LEANDRO CA 94577
GANAWAY, ANTHONY                     ADDRESS ON FILE
GANBAT, OYUNBAT                      ADDRESS ON FILE
GANBAT, OYUNBAT                      ADDRESS ON FILE
GANDARA, ONESIMO                     ADDRESS ON FILE
GANDOLFI, RICHARD                    ADDRESS ON FILE
GANDOLFO, VINCENT                    ADDRESS ON FILE
GANDOLPH SR., MATTHEW                ADDRESS ON FILE
GANDY, ALEXANDER                     ADDRESS ON FILE
GANDY, DAVID                         ADDRESS ON FILE
GANDY, DWUAN T                       ADDRESS ON FILE
GANDY, JOSEPH                        ADDRESS ON FILE
GANGE, PHILIP                        ADDRESS ON FILE
GANGEL, RONALD                       ADDRESS ON FILE
GANGL, DALE                          ADDRESS ON FILE
GANI, ROBERTO                        ADDRESS ON FILE
GANIC, EDIS                          ADDRESS ON FILE
GANLEY FORD INC                      2835 BARBER RD NORTON OH 44203
GANN, BOBBY                          ADDRESS ON FILE
GANN, DAVID                          ADDRESS ON FILE
GANN, JERIMY                         ADDRESS ON FILE
GANN, JOHN                           ADDRESS ON FILE
GANN, MICHAEL                        ADDRESS ON FILE
GANNER, ETHAN                        ADDRESS ON FILE
GANNON PEST CONTROL                  2925 MILTON AVE SOLVAY NY 13209
GANNON, DAKOTA                       ADDRESS ON FILE
GANNON, JAMES                        ADDRESS ON FILE
GANNON, JASON                        ADDRESS ON FILE
GANO, JOSEPH                         ADDRESS ON FILE
GANOU TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GANSTER, BEAU                        ADDRESS ON FILE
GANT, JEREMIAH                       ADDRESS ON FILE
GANT, TERRY                          ADDRESS ON FILE
GANTAAL TRANSPORTATION LLC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GANTT, SILAS                         ADDRESS ON FILE
GANTZ, JOHN                          ADDRESS ON FILE
GANZE, DAVID                         ADDRESS ON FILE
GANZHORN, RYAN                       ADDRESS ON FILE
GAO TRANSPORTATION INC               1822 SHORELINE DR MISSOURI CITY TX 77459
GAOR TRUCKING                        OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
GAP GLOBAL INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GAP LOGISTICS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                 Page 702 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 711 of 2156

Claim Name                              Address Information
GARABRANDT, MARK                        ADDRESS ON FILE
GARAGE DOOR DOCTOR, INC.                1725 S FRANKLIN RD STE B INDIANAPOLIS IN 46239
GARAGE DOOR PRO NC                      PO BOX 67 OAK RIDGE NC 27310
GARAGE DOOR STORE                       5601 BOONE AVE N NEW HOPE MN 55428
GARAGE DOOR STORE                       API GARAGE DOOR INC, PO BOX 74008409 CHICAGO IL 60674
GARAGE DOORS & MORE OF THE PIEDMONT LLC D/B/A: PRESTO GARAGE & GUTTER 18637 NORTHLINE DR. SUITE H CORNELIUS NC 28031
GARAGE DOORS BY ROY NORTH INC           2085 ANDREA LN FORT MYERS FL 33912
GARAGE ONE ENTERPRISES                  PO BOX 431 ST.JOSEPH IL 61873
GARAM TRUCKING, LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
GARAND CARRIER                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GARANT EXPRESS INC                      PO BOX 12236 CHICAGO IL 60612-9998
GARANT INC                              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GARAS TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GARASEY SERVICES LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GARAY TRUCKING                          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GARAY, HENRY                            ADDRESS ON FILE
GARAY, IVAN                             ADDRESS ON FILE
GARAY, JOE                              ADDRESS ON FILE
GARAY, OSMAN                            ADDRESS ON FILE
GARBER HEATING & AIR CONDITIONING INC   310 DETROIT AVE MORTON IL 61550
GARBER, MICHAEL                         ADDRESS ON FILE
GARBER, TERA                            ADDRESS ON FILE
GARCEAU, ERMOND E                       ADDRESS ON FILE
GARCES, OMARIS                          ADDRESS ON FILE
GARCES, SERGIO                          ADDRESS ON FILE
GARCIA & SONS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GARCIA A TRANSPORTATION LLC             OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
GARCIA BACA, JOYCE                      ADDRESS ON FILE
GARCIA BRACHO, LUIS                     ADDRESS ON FILE
GARCIA CONCRETE LLC                     2003 SOUTHLAWN DR DES MOINES IA 50315
GARCIA COVARRUBIAS, JUAN                ADDRESS ON FILE
GARCIA ENERGY SERVICES LLC              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
GARCIA GROUP LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GARCIA JR, PEDRO                        ADDRESS ON FILE
GARCIA LOPEZ, JESUS                     ADDRESS ON FILE
GARCIA MARTINEZ, JORGE                  ADDRESS ON FILE
GARCIA MEDINA, LUCINA                   ADDRESS ON FILE
GARCIA RODRIGUEZ, JAVIER ALEJANDRO      ADDRESS ON FILE
GARCIA TRANSPORT                        OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
GARCIA TRANSPORT, LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GARCIA TRUCKING                         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GARCIA TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GARCIA, ABEL                            ADDRESS ON FILE
GARCIA, ABEL                            ADDRESS ON FILE
GARCIA, ADOLFO                          ADDRESS ON FILE
GARCIA, AGUSTIN                         ADDRESS ON FILE
GARCIA, ALAN A                          ADDRESS ON FILE
GARCIA, ALDO                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 703 OF 2145
                                        Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                   Page 712 of 2156

Claim Name                       Address Information
GARCIA, ALEJANDRO                ADDRESS ON FILE
GARCIA, ALEXA                    ADDRESS ON FILE
GARCIA, ALLEN                    ADDRESS ON FILE
GARCIA, AMADO                    ADDRESS ON FILE
GARCIA, ANABEL                   ADDRESS ON FILE
GARCIA, ANDERSON                 ADDRESS ON FILE
GARCIA, ANTHONY                  ADDRESS ON FILE
GARCIA, ANTHONY                  ADDRESS ON FILE
GARCIA, ANTHONY                  ADDRESS ON FILE
GARCIA, ANTHONY                  ADDRESS ON FILE
GARCIA, ANTONIO                  ADDRESS ON FILE
GARCIA, ARMANDO                  ADDRESS ON FILE
GARCIA, ARMANDO                  ADDRESS ON FILE
GARCIA, ARMANDO R                ADDRESS ON FILE
GARCIA, ARTURO                   ADDRESS ON FILE
GARCIA, BERNARDO                 ADDRESS ON FILE
GARCIA, BETTY                    ADDRESS ON FILE
GARCIA, BILL                     ADDRESS ON FILE
GARCIA, BRITTANY                 ADDRESS ON FILE
GARCIA, CESAR                    ADDRESS ON FILE
GARCIA, CHARLES                  ADDRESS ON FILE
GARCIA, CHRISTIAN                ADDRESS ON FILE
GARCIA, CHRISTINA                ADDRESS ON FILE
GARCIA, CLEMENTE                 ADDRESS ON FILE
GARCIA, DAVID                    ADDRESS ON FILE
GARCIA, DAVID                    ADDRESS ON FILE
GARCIA, DAVID                    ADDRESS ON FILE
GARCIA, DONALDO                  ADDRESS ON FILE
GARCIA, EDUARDO                  ADDRESS ON FILE
GARCIA, EDUARDO                  ADDRESS ON FILE
GARCIA, ELMER                    ADDRESS ON FILE
GARCIA, EMILIO L                 ADDRESS ON FILE
GARCIA, ERIC                     ADDRESS ON FILE
GARCIA, ERIC                     ADDRESS ON FILE
GARCIA, ERICA                    ADDRESS ON FILE
GARCIA, ERICA                    ADDRESS ON FILE
GARCIA, FERNANDO                 ADDRESS ON FILE
GARCIA, FRANCIS                  ADDRESS ON FILE
GARCIA, FRANK                    ADDRESS ON FILE
GARCIA, GUSTAVO                  ADDRESS ON FILE
GARCIA, HECTOR                   ADDRESS ON FILE
GARCIA, HECTOR                   ADDRESS ON FILE
GARCIA, HERSHEL                  ADDRESS ON FILE
GARCIA, HILARIO                  ADDRESS ON FILE
GARCIA, ISAAK                    ADDRESS ON FILE
GARCIA, IVAN                     ADDRESS ON FILE
GARCIA, JACOB                    ADDRESS ON FILE
GARCIA, JACOB C                  ADDRESS ON FILE
GARCIA, JAMES                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                     Page 704 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 713 of 2156

Claim Name                      Address Information
GARCIA, JAMIE                   ADDRESS ON FILE
GARCIA, JANESSA                 ADDRESS ON FILE
GARCIA, JANET                   ADDRESS ON FILE
GARCIA, JASON                   ADDRESS ON FILE
GARCIA, JAVIER                  ADDRESS ON FILE
GARCIA, JAYSON                  ADDRESS ON FILE
GARCIA, JAYSON R                ADDRESS ON FILE
GARCIA, JEREMIAH                ADDRESS ON FILE
GARCIA, JESSE                   ADDRESS ON FILE
GARCIA, JESUS                   ADDRESS ON FILE
GARCIA, JESUS                   ADDRESS ON FILE
GARCIA, JESUS                   ADDRESS ON FILE
GARCIA, JESUS                   ADDRESS ON FILE
GARCIA, JIMMY                   ADDRESS ON FILE
GARCIA, JOEL                    ADDRESS ON FILE
GARCIA, JOEL                    ADDRESS ON FILE
GARCIA, JOHN                    ADDRESS ON FILE
GARCIA, JOHNNIE                 ADDRESS ON FILE
GARCIA, JON ERIC                ADDRESS ON FILE
GARCIA, JORGE                   ADDRESS ON FILE
GARCIA, JORGE                   ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE                    ADDRESS ON FILE
GARCIA, JOSE L                  ADDRESS ON FILE
GARCIA, JOSEFINA                ADDRESS ON FILE
GARCIA, JOSEPH                  ADDRESS ON FILE
GARCIA, JOSEPH                  ADDRESS ON FILE
GARCIA, JOSEPH                  ADDRESS ON FILE
GARCIA, JOSIAH                  ADDRESS ON FILE
GARCIA, JUAN                    ADDRESS ON FILE
GARCIA, JUAN                    ADDRESS ON FILE
GARCIA, JUAN                    ADDRESS ON FILE
GARCIA, JUAN                    ADDRESS ON FILE
GARCIA, KRISTIAN                ADDRESS ON FILE
GARCIA, LEONEL                  ADDRESS ON FILE
GARCIA, LEOPOLDO                ADDRESS ON FILE
GARCIA, LISETH                  ADDRESS ON FILE
GARCIA, LORI                    ADDRESS ON FILE
GARCIA, LUIS                    ADDRESS ON FILE
GARCIA, LUIS                    ADDRESS ON FILE
GARCIA, LUIS                    ADDRESS ON FILE
GARCIA, MANUEL                  ADDRESS ON FILE
GARCIA, MANUEL                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 705 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 714 of 2156

Claim Name                        Address Information
GARCIA, MARCO                     ADDRESS ON FILE
GARCIA, MARCO                     ADDRESS ON FILE
GARCIA, MARGARITA                 ADDRESS ON FILE
GARCIA, MARGARITA                 ADDRESS ON FILE
GARCIA, MARIA                     ADDRESS ON FILE
GARCIA, MARIA                     ADDRESS ON FILE
GARCIA, MARIA DEMETRIO            ADDRESS ON FILE
GARCIA, MARIA DEMETRIO            ADDRESS ON FILE
GARCIA, MARK                      ADDRESS ON FILE
GARCIA, MARTIN                    ADDRESS ON FILE
GARCIA, MARVIN                    ADDRESS ON FILE
GARCIA, MICHAEL                   ADDRESS ON FILE
GARCIA, MIGUEL A                  ADDRESS ON FILE
GARCIA, NESTOR                    ADDRESS ON FILE
GARCIA, NICOLETTE                 ADDRESS ON FILE
GARCIA, OSWALDO                   ADDRESS ON FILE
GARCIA, PAMELA                    ADDRESS ON FILE
GARCIA, PAMELA                    ADDRESS ON FILE
GARCIA, PEDRO                     ADDRESS ON FILE
GARCIA, PHILLIP                   ADDRESS ON FILE
GARCIA, QUINTIN                   ADDRESS ON FILE
GARCIA, RACHEL                    ADDRESS ON FILE
GARCIA, RAFAEL                    ADDRESS ON FILE
GARCIA, RAFAEL                    ADDRESS ON FILE
GARCIA, RAFAEL                    ADDRESS ON FILE
GARCIA, RAMON                     ADDRESS ON FILE
GARCIA, RAMONA                    ADDRESS ON FILE
GARCIA, RAY                       ADDRESS ON FILE
GARCIA, RAYMOND                   ADDRESS ON FILE
GARCIA, RAYMOND                   ADDRESS ON FILE
GARCIA, RAYMOND                   ADDRESS ON FILE
GARCIA, REBECCA                   ADDRESS ON FILE
GARCIA, RICHARD                   ADDRESS ON FILE
GARCIA, RICHARD                   ADDRESS ON FILE
GARCIA, RICHARD                   ADDRESS ON FILE
GARCIA, ROBERT                    ADDRESS ON FILE
GARCIA, ROBERT                    ADDRESS ON FILE
GARCIA, ROBERTO                   ADDRESS ON FILE
GARCIA, ROBERTO                   ADDRESS ON FILE
GARCIA, RODOLFO                   ADDRESS ON FILE
GARCIA, ROGELIO                   ADDRESS ON FILE
GARCIA, ROMULO                    ADDRESS ON FILE
GARCIA, SALVADOR                  ADDRESS ON FILE
GARCIA, SELENA                    ADDRESS ON FILE
GARCIA, SERGIO                    ADDRESS ON FILE
GARCIA, SERGIO                    ADDRESS ON FILE
GARCIA, SERGIO                    ADDRESS ON FILE
GARCIA, SERGIO                    ADDRESS ON FILE
GARCIA, STEPHANIE                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 706 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 715 of 2156

Claim Name                              Address Information
GARCIA, STEPHANIE                       ADDRESS ON FILE
GARCIA, THOMAS                          ADDRESS ON FILE
GARCIA, VERONICA                        ADDRESS ON FILE
GARCIA, VICTOR                          ADDRESS ON FILE
GARCIA, VICTOR                          ADDRESS ON FILE
GARCIA, VINCENT                         ADDRESS ON FILE
GARCIA, VINCENT                         ADDRESS ON FILE
GARCIA, YESENIA                         ADDRESS ON FILE
GARCIA-BECTON, MARIA                    ADDRESS ON FILE
GARCIA-LORENZO, MICHAEL                 ADDRESS ON FILE
GARCIAS TRANSPORTATION LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GARCIAS TRUCK LINES INC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GARD, DARIN                             ADDRESS ON FILE
GARD, EMILY                             ADDRESS ON FILE
GARD, GARY                              ADDRESS ON FILE
GARD, WILLIAM                           ADDRESS ON FILE
GARDA CANADA SECURITY CORP              1390 BARRE STREET MONTREAL QC H3C 1N4 CANADA
GARDA CANADA SECURITY CORP              1390 RUE BARRE MONTREAL QC H3C 1N4 CANADA
GARDA CANADA SECURITY CORP              2300 RUE EMILE-BELANGER SAINT-LAURENT QC H4R 3J4 CANADA
GARDASH EXPRESS INC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GARDAWORLD SECURITY SERVICES            P.O. BOX 843886 KANSAS CITY MO 64184
GARDAWORLD SECURITY SERVICES            PO BOX 843886 KANSAS CITY MO 64184-3886
GARDELLA, MICHAEL                       ADDRESS ON FILE
GARDEN CITY PLUMBING & HEATING, INC.    3955 FLYNN LN MISSOULA MT 59808
GARDEN CITY PLUMBING & HEATING, INC.    4025 FLYNN LANE MISSOULA MT 59808
GARDEN SPOT FRAME & ALIGNMENT SVC INC   205 GREENFIELD RD LANCASTER PA 17601
GARDEN STATE FREIGHT LLC                P.O. BOX 3129 EASTON PA 18045
GARDENHIRE, BRYAN                       ADDRESS ON FILE
GARDENHIRE, JASON M                     ADDRESS ON FILE
GARDENSCAPE TRANSPORT, INC.             P. O. BOX 184 EAU CLAIRE PA 16030
GARDEWINE & SONS LTD                    60 EAGLE DR WINNIPEG MB R2R 1V5 CANADA
GARDEWINE NORTH                         60 EAGLE DR WINNIPEG MB R2R 1V5 CANADA
GARDINER ROBERTS LLP                    BAY ADELAIDE CENTRE EAST TOWER 22 ADELAIDE ST W STE 3600 TORONTO ON M5H 4E3
                                        CANADA
GARDNER DENVER                          ADDRESS ON FILE
GARDNER FARMS, LLC                      OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
GARDNER FREIGHT LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
GARDNER, ADAM                           ADDRESS ON FILE
GARDNER, ALLYSON                        ADDRESS ON FILE
GARDNER, ANGELA                         ADDRESS ON FILE
GARDNER, ASHLEY                         ADDRESS ON FILE
GARDNER, BENJAMIN                       ADDRESS ON FILE
GARDNER, BRANDON                        ADDRESS ON FILE
GARDNER, BRYAN                          ADDRESS ON FILE
GARDNER, CLIFTON                        ADDRESS ON FILE
GARDNER, DAVID                          ADDRESS ON FILE
GARDNER, DAVID                          ADDRESS ON FILE
GARDNER, DIANE                          ADDRESS ON FILE
GARDNER, ERIC                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 707 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 716 of 2156

Claim Name                              Address Information
GARDNER, GEORGE                         ADDRESS ON FILE
GARDNER, GLENN                          ADDRESS ON FILE
GARDNER, GRAHAM                         ADDRESS ON FILE
GARDNER, JABREENA                       ADDRESS ON FILE
GARDNER, JERRY                          ADDRESS ON FILE
GARDNER, JESSICA                        ADDRESS ON FILE
GARDNER, JOHN                           ADDRESS ON FILE
GARDNER, JONATHAN                       ADDRESS ON FILE
GARDNER, KIRK                           ADDRESS ON FILE
GARDNER, LAQUAN                         ADDRESS ON FILE
GARDNER, LISA                           ADDRESS ON FILE
GARDNER, MICHELLE                       ADDRESS ON FILE
GARDNER, NICHOLAS                       ADDRESS ON FILE
GARDNER, PETER                          ADDRESS ON FILE
GARDNER, RAYMOND                        ADDRESS ON FILE
GARDNER, RICHARD                        ADDRESS ON FILE
GARDNER, ROBERT                         ADDRESS ON FILE
GARDNER, RONALD                         ADDRESS ON FILE
GARDNER, SCOTT                          ADDRESS ON FILE
GARDNER, SCOTT                          ADDRESS ON FILE
GARDNER, TASEV                          ADDRESS ON FILE
GARDNER, THELMA                         ADDRESS ON FILE
GARDNER, VICTOR                         ADDRESS ON FILE
GARDNER, WALTER                         ADDRESS ON FILE
GAREY, MARK                             ADDRESS ON FILE
GARFIELD, ABBEY                         ADDRESS ON FILE
GARFIELD, RYAN                          ADDRESS ON FILE
GARFOLE, ANGELO                         ADDRESS ON FILE
GARGAR TRANSPORT LLC                    3400 SWEETWATER RD APT 1401 LAWRENCEVILLE GA 30044
GARGIULO, MARY                          ADDRESS ON FILE
GARGIULO, MICHAEL                       ADDRESS ON FILE
GARI TRUCKING                           21155 SITTING BULL RD APPLE VALLEY CA 92308
GARIBALDI, MICHAEL                      ADDRESS ON FILE
GARIBAY, JUAN                           ADDRESS ON FILE
GARING, ROSS W                          ADDRESS ON FILE
GARLAND A GREEN JR                      ADDRESS ON FILE
GARLAND FORD                            ADDRESS ON FILE
GARLAND HEATING & AIR CONDITIONING CO   2113 S GARLAND AVE GARLAND TX 75041
GARLAND TRUCKING                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GARLAND, BRIAN                          ADDRESS ON FILE
GARLAND, DAVID                          ADDRESS ON FILE
GARLAND, JEFF                           ADDRESS ON FILE
GARLAND, TERRY                          ADDRESS ON FILE
GARLANDS INC                            2440 ENTERPRISE DRIVE MENDOTA HEIGHTS MN 55120
GARLATTI LANDSCAPING INC                8455 BRODERICK RD LA SALLE ON N9H 0H1 CANADA
GARLINGER, DAVID                        ADDRESS ON FILE
GARMELA TRUCKING LLC                    2715 16TH ST S 102 ST CLOUD MN 56301
GARMELA TRUCKING LLC                    OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
GARMON, MATTHEW                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 708 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 717 of 2156

Claim Name                          Address Information
GARMON, RODGER                      ADDRESS ON FILE
GARN, RICK                          ADDRESS ON FILE
GARNEAU, JAMES                      ADDRESS ON FILE
GARNEAU, JASON                      ADDRESS ON FILE
GARNER, BRENT                       ADDRESS ON FILE
GARNER, CARL                        ADDRESS ON FILE
GARNER, CHRISTOPHER                 ADDRESS ON FILE
GARNER, CLIFFORD                    ADDRESS ON FILE
GARNER, CLINT                       ADDRESS ON FILE
GARNER, DARRIN                      ADDRESS ON FILE
GARNER, DEMITRI                     ADDRESS ON FILE
GARNER, FORREST                     ADDRESS ON FILE
GARNER, JASON                       ADDRESS ON FILE
GARNER, JEFFERY                     ADDRESS ON FILE
GARNER, KEVIN                       ADDRESS ON FILE
GARNER, MAURICE                     ADDRESS ON FILE
GARNER, NATHAN                      ADDRESS ON FILE
GARNER, RICHARD                     ADDRESS ON FILE
GARNER, RICKEY                      ADDRESS ON FILE
GARNER, RONNIE K                    ADDRESS ON FILE
GARNER, TYRONE                      ADDRESS ON FILE
GARNER, ZACHARY                     ADDRESS ON FILE
GARNER-BAKER, SHARON                ADDRESS ON FILE
GARNERS TOWING SERVICE              PO BOX 334 FORTVILLE IN 46040
GARNES, HAROLD                      ADDRESS ON FILE
GARNETT, TODD                       ADDRESS ON FILE
GARNEY, ROBERT                      ADDRESS ON FILE
GARNICA URDANK, ROSEMARIE           ADDRESS ON FILE
GAROFALO, DIANNA L                  ADDRESS ON FILE
GARPIEL GROUP                       3161 CARROLLTON RD SAGINAW MI 48604
GARRAM TRANSPORT LLC                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
GARRARD, MICHELLE                   ADDRESS ON FILE
GARREL D JACKSON                    ADDRESS ON FILE
GARRELTS, ROBERT E                  ADDRESS ON FILE
GARRETSON, RONALD                   ADDRESS ON FILE
GARRETT                             PLUMBING & HEATING CO. INC 30 MILLER AVENUE JACKSON TN 38305
GARRETT JENKINS                     ADDRESS ON FILE
GARRETT TRUCKING & LOGISTICS, LLC   3673 GRAHAMS PORT LANE SNELLVILLE GA 30039
GARRETT, AARON                      ADDRESS ON FILE
GARRETT, ANTONIO                    ADDRESS ON FILE
GARRETT, ARNOLD                     ADDRESS ON FILE
GARRETT, DAREK                      ADDRESS ON FILE
GARRETT, DARRELL O                  ADDRESS ON FILE
GARRETT, DAVID                      ADDRESS ON FILE
GARRETT, DWAYNE                     ADDRESS ON FILE
GARRETT, ELTON                      ADDRESS ON FILE
GARRETT, JAMES                      ADDRESS ON FILE
GARRETT, JAMES                      ADDRESS ON FILE
GARRETT, KENDRICK                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 709 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 718 of 2156

Claim Name                           Address Information
GARRETT, LESLIE                      ADDRESS ON FILE
GARRETT, NANCY                       ADDRESS ON FILE
GARRETT, REGINALD                    ADDRESS ON FILE
GARRETT, RONALD                      ADDRESS ON FILE
GARRETT, RUSSELL                     ADDRESS ON FILE
GARRETT, TIMOTHY                     ADDRESS ON FILE
GARRETT, VERNARD                     ADDRESS ON FILE
GARRICK F SMITH                      ADDRESS ON FILE
GARRIDO COMPANY TRUCK INC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GARRIDO COMPANY TRUCK INC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GARRIDO, PEDRO                       ADDRESS ON FILE
GARRIGAN, MICHAEL                    ADDRESS ON FILE
GARRIGUS TRUCKING LLC                OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
GARRIN, BOBBY                        ADDRESS ON FILE
GARRIS, BOBBY                        ADDRESS ON FILE
GARRIS, JAKIEL                       ADDRESS ON FILE
GARRIS, SCOTT                        ADDRESS ON FILE
GARRISON, BRANDON                    ADDRESS ON FILE
GARRISON, CASEY                      ADDRESS ON FILE
GARRISON, GARY                       ADDRESS ON FILE
GARRISON, JAKE                       ADDRESS ON FILE
GARRISON, JALEN                      ADDRESS ON FILE
GARRISON, KELLY                      ADDRESS ON FILE
GARRISON, KYLE                       ADDRESS ON FILE
GARRISON, RICHARD                    ADDRESS ON FILE
GARRISON, ROBERT                     ADDRESS ON FILE
GARRISON, TONI                       ADDRESS ON FILE
GARRITY, EVAN                        ADDRESS ON FILE
GARRITY, MICHAEL                     ADDRESS ON FILE
GARRY MERCER TRUCKING, INC.          1140 MIDWAY BLVD MISSISSAUGA ON L5T 2C1 CANADA
GARSICK, THOMAS C                    ADDRESS ON FILE
GARSON, GREGG                        ADDRESS ON FILE
GARSOW, BRADLEY                      ADDRESS ON FILE
GARSTECKI, BRIAN A                   ADDRESS ON FILE
GARTEN SERVICES                      500 HAWTHORNE AVE SE SALEM OR 97301
GARTLAND, JOSEPH                     ADDRESS ON FILE
GARTNER, INC.                        PO BOX 911319 DALLAS TX 75391
GARTRELL, JAMES                      ADDRESS ON FILE
GARTUNG, SIMON                       ADDRESS ON FILE
GARVER JR, GARY                      ADDRESS ON FILE
GARVER, GREGORY                      ADDRESS ON FILE
GARVER, KORY                         ADDRESS ON FILE
GARVER, TAMARA                       ADDRESS ON FILE
GARVIN, MICHAEL                      ADDRESS ON FILE
GARWI TRUCKING INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GARWI TRUCKING INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GARWOOD, GAGE                        ADDRESS ON FILE
GARWOOD, JOSEPH                      ADDRESS ON FILE
GARY BISPELS                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 710 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 719 of 2156

Claim Name                            Address Information
GARY C NEINO                          ADDRESS ON FILE
GARY E MEEKS                          ADDRESS ON FILE
GARY EXPRESS TRUCKING LLC             1176 HENSLEY RD W FORT MILL SC 29715
GARY G ARENTZ                         ADDRESS ON FILE
GARY J STEVENS                        ADDRESS ON FILE
GARY L BLEVINS                        ADDRESS ON FILE
GARY LEE DURR                         ADDRESS ON FILE
GARY MCBRIDE PLUMBING SERVICES, INC   1209 US HWY 80 E STE D POOLER GA 31322
GARY MCINTIRE                         ADDRESS ON FILE
GARY O MCGOWAN                        ADDRESS ON FILE
GARY OLIVER.                          ADDRESS ON FILE
GARY PLATT MFG                        ATTN: JAZMIN GARCIA C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725
                                      CHICAGO IL 60654
GARY PRYOR                            ADDRESS ON FILE
GARY R KRAUS                          ADDRESS ON FILE
GARY SLEDZIEWSKI                      ADDRESS ON FILE
GARY SWIFT                            ADDRESS ON FILE
GARY SYJANSKY                         ADDRESS ON FILE
GARY TRANSPORT                        OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
GARY TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GARY W SCHAFFNER                      ADDRESS ON FILE
GARY, CHARLES                         ADDRESS ON FILE
GARY, CHARLES                         ADDRESS ON FILE
GARY, DAJUAN                          ADDRESS ON FILE
GARY, DAMON                           ADDRESS ON FILE
GARY, EDDIE                           ADDRESS ON FILE
GARY, JAMES                           ADDRESS ON FILE
GARY, JONATHAN                        ADDRESS ON FILE
GARY, MICHAEL                         ADDRESS ON FILE
GARY, WILLIAM                         ADDRESS ON FILE
GARYS TRUCK & TRAILER REPAIR INC      812 N DADE 249 ALDRICH MO 65601
GARYS TRUCKING                        OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
GARZA, ADOLFO                         ADDRESS ON FILE
GARZA, DANIEL                         ADDRESS ON FILE
GARZA, EDWARD                         ADDRESS ON FILE
GARZA, FELIX                          ADDRESS ON FILE
GARZA, FERNANDO                       ADDRESS ON FILE
GARZA, JOHN                           ADDRESS ON FILE
GARZA, LANORE                         ADDRESS ON FILE
GARZA, LEONARDO                       ADDRESS ON FILE
GARZA, LUIS                           ADDRESS ON FILE
GARZA, LUIS                           ADDRESS ON FILE
GARZA, MAURO                          ADDRESS ON FILE
GARZA, RAUL                           ADDRESS ON FILE
GARZA, TOMMY                          ADDRESS ON FILE
GARZA, TONY                           ADDRESS ON FILE
GARZA, TONY                           ADDRESS ON FILE
GARZAS TOWING INC.                    6001 RIVERSIDE DR. LAREDO TX 78041
GARZAS TRUCKING                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                 Page 711 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 720 of 2156

Claim Name                          Address Information
GARZEN TRANSPORT LLC                955 E SAN MARCELO BLVD BROWNSVILLE TX 78526
GAS FIRED PRODUCTS                  ATTN: LILY VELOZ 1700 PARKER DR CHARLOTTE NC 28208
GAS N WASH                          10000 WALTER PAYTON MEMORIAL HWY PLANO IL 60545
GAS SOUTH                           3625 CUMBERLAND BLVD, SUITE 1500 ATLANTA GA 30339
GAS TANK RENU LTD                   1414 MARTIN GROVE RD ETOBICOKE ON M9W 4X8 CANADA
GASAWAY, DEVON                      ADDRESS ON FILE
GASCHE, JAMES                       ADDRESS ON FILE
GASETOTO, TULIMATAI                 ADDRESS ON FILE
GASH EXPRESS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GASH TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GASH, RON                           ADDRESS ON FILE
GASIENICA SOBCZAK, MARCIN           ADDRESS ON FILE
GASIO, VILI                         ADDRESS ON FILE
GASIORCZYK, LEON                    ADDRESS ON FILE
GASKILL, DANIEL                     ADDRESS ON FILE
GASKIN AND SMITH VENTURES LLC       OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
GASKIN, LEE A                       ADDRESS ON FILE
GASKINS, CAREY                      ADDRESS ON FILE
GASKINS, JOSEPH                     ADDRESS ON FILE
GASKINS, KEVIN                      ADDRESS ON FILE
GASKINS, MICHAEL                    ADDRESS ON FILE
GASKINS, PAUL                       ADDRESS ON FILE
GASKINS, TYREIK                     ADDRESS ON FILE
GASOLINE EQUIPMENT SERVICE CO INC   PO BOX 10474 FORT WAYNE IN 46852
GASPAR, ANDREW                      ADDRESS ON FILE
GASPARYAN, ARMAN                    ADDRESS ON FILE
GASPER, ANDREW                      ADDRESS ON FILE
GASQUEZ, MATTHEW                    ADDRESS ON FILE
GASS TRUCKING LLC                   3255 N ST RD 39 LEBANON IN 46052
GASSAWAY, JOHN                      ADDRESS ON FILE
GASSAWAY, JOHN                      ADDRESS ON FILE
GASSERT, ROBERT                     ADDRESS ON FILE
GASSION, KELVIN                     ADDRESS ON FILE
GASSMAN, JOHANNES                   ADDRESS ON FILE
GASSMANN, WADE                      ADDRESS ON FILE
GAST, JAMIE                         ADDRESS ON FILE
GAST, RICK                          ADDRESS ON FILE
GASTELUM, JOSEPH R                  ADDRESS ON FILE
GASTELUM, LUIS                      ADDRESS ON FILE
GASTELUM, LUIS                      ADDRESS ON FILE
GASTELUM, RAMON                     ADDRESS ON FILE
GASTINEAU, STEVEN                   ADDRESS ON FILE
GASTON JR, KENNETH                  ADDRESS ON FILE
GASTON, DEVONE                      ADDRESS ON FILE
GASTON, JEFFREY                     ADDRESS ON FILE
GASTON, JOHN                        ADDRESS ON FILE
GASTON, MARTAVEUS                   ADDRESS ON FILE
GASVODA & ASSOCIATES, INC.          1530 HUNTINGTON DRIVE CALUMET CITY IL 60409
GAT GLOBAL SOLUTIONS INC            OR CAPITAL DEPOT INC 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053



Epiq Corporate Restructuring, LLC                                                               Page 712 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 721 of 2156

Claim Name                           Address Information
GAT GLOBAL SOLUTIONS INC             212 CHRISTINA DR EAST DUNDEE IL 60118
GAT TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GATE CITY TOWING SERVICE             4513 S HOLDEN RD GREENSBORO NC 27406
GATE CITY TOWING SERVICE             D/B/A: GATE CITY TOWING SVC 4513 S HOLDEN RD GREENSBORO NC 27406
GATE CITY TOWING SVC                 4513 S HOLDEN RD GREENSBORO NC 27406
GATE TRANS                           6275 BEST FRIEND RD NORCROSS GA 30071
GATEKEEPER SERVICES LLC              5518 S COUNTY ROAD 600 E PLAINFIELD IN 46168
GATELY, JOHN                         ADDRESS ON FILE
GATES, ANTHONY                       ADDRESS ON FILE
GATES, BRYAN                         ADDRESS ON FILE
GATES, DAVID                         ADDRESS ON FILE
GATES, HOLDEN                        ADDRESS ON FILE
GATES, KENESHA                       ADDRESS ON FILE
GATES, KIMBERLY                      ADDRESS ON FILE
GATES, KIMBERLY                      ADDRESS ON FILE
GATES, SHAMECCA                      ADDRESS ON FILE
GATES, SHANNON                       ADDRESS ON FILE
GATES, STEPHEN                       ADDRESS ON FILE
GATES, WILLIAM                       ADDRESS ON FILE
GATEWAY BUILDING 10 LLC              C/O COAST REAL ESTATE SERVICES, 2829 RUCKER AVENUE STE 100 EVERETT WA 98201
GATEWAY COMMERCE CTR EAST LLC        PO BOX 29125 ST. LOUIS MO 63126
GATEWAY CUSTOMS BROKERS              1555 VENETIAN BLVD, SUITE 1 POINT EDWARD ON N7T 0A9 CANADA
GATEWAY OCCUPATIONAL HEALTH          2044 MADISON AVE, SUITE G-6 GRANITE CITY IL 62040
GATEWAY OCCUPATIONAL HEALTH          ATTN OCCUPATIONAL HEALTH CLINIC DEPT, PO BOX 503706 SAINT LOUIS MO 63150
GATEWAY TO HEAVEN                    69300 VINEYARD CANYON RD. SAN MIGUEL CA 93451
GATEWAY TRAILER REPAIR INC           20 KARYDAN COURT ST CHARLES MO 63301
GATEWAY TRUCK AND REFRIGERATION      921 FOURNIE LN COLLINSVILLE IL 62234
GATEWAY TRUCK AND REFRIGERATION      PO BOX 843715 KANSAS CITY MO 64184
GATEWOOD II, DARYL                   ADDRESS ON FILE
GATEWOOD, ALCONDOE                   ADDRESS ON FILE
GATEWOOD, DARYL                      ADDRESS ON FILE
GATEWOOD, JAMES                      ADDRESS ON FILE
GATEWOOD, MATTHEW                    ADDRESS ON FILE
GATEWOOD, MATTHEW                    ADDRESS ON FILE
GATHERING HARVEST                    ATTN: DONNA PACE 3 SEMINOLE CIR BANTAM CT 06750
GATHERS, WILLIAM                     ADDRESS ON FILE
GATHINGS, JAVEZ                      ADDRESS ON FILE
GATHRIGHT, DWELLIE                   ADDRESS ON FILE
GATHRIGHT, HOWARD                    ADDRESS ON FILE
GATHS LANDSCAPING LLC                11552 PLAZA DR APT 552 CLIO MI 48420
GATLIN, WYTRIVUS                     ADDRESS ON FILE
GATLING, TODD                        ADDRESS ON FILE
GATLISI TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GATR OF SAUK RAPIDS, INC.            218 STEARNS DR, PO BOX 367 SAUK RAPIDS MN 56379
GATR OF SAUK RAPIDS, INC.            PO BOX 367 SAUK RAPIDS MN 56379
GATSON, JAYOUNA                      ADDRESS ON FILE
GATT LOGISTICS LLC                   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
GATTER, RICHARD                      ADDRESS ON FILE
GATTI-CORRIGAN, SAM                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 713 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 722 of 2156

Claim Name                        Address Information
GATTO, ANTHONY                    ADDRESS ON FILE
GATTO, DANIEL                     ADDRESS ON FILE
GATTO, DYLAN                      ADDRESS ON FILE
GATTON, MOLLY M                   ADDRESS ON FILE
GATTON, MOLLY M                   ADDRESS ON FILE
GATURUTURU LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GAUCHAT, ANDREW                   ADDRESS ON FILE
GAUDIOSO, DOMINICK                ADDRESS ON FILE
GAUDREAU, DARBY AND MARIA         ADDRESS ON FILE
GAUEN, KATHLEEN                   ADDRESS ON FILE
GAUER, BRIAN                      ADDRESS ON FILE
GAUGHAN, PETER                    ADDRESS ON FILE
GAUGLER, RICHARD                  ADDRESS ON FILE
GAUKER, GLENN                     ADDRESS ON FILE
GAUL, CHARLOTTE                   ADDRESS ON FILE
GAUL, CHARLOTTE                   ADDRESS ON FILE
GAULD, STEVEN                     ADDRESS ON FILE
GAULT, BRIAN                      ADDRESS ON FILE
GAULT, WILLIAM                    ADDRESS ON FILE
GAUNA, MICHAEL                    ADDRESS ON FILE
GAUNA, NOE                        ADDRESS ON FILE
GAUSE, RAYMOND                    ADDRESS ON FILE
GAUSE, RAYMOND A                  ADDRESS ON FILE
GAUTHIER, OLIVER                  ADDRESS ON FILE
GAVA TRUCKING LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GAVEL, ERNEST                     ADDRESS ON FILE
GAVERO, CHARLES                   ADDRESS ON FILE
GAVIGAN, PAUL                     ADDRESS ON FILE
GAVILAN, ALEJANDRO                ADDRESS ON FILE
GAVILAN, FRIDA                    ADDRESS ON FILE
GAVIN, GERALD F                   ADDRESS ON FILE
GAVIN, PAUL                       ADDRESS ON FILE
GAVINO, JOSEPH                    ADDRESS ON FILE
GAVRIAN, ANGIE                    ADDRESS ON FILE
GAWDUN, DAVID P                   ADDRESS ON FILE
GAWRON, STEPHEN                   ADDRESS ON FILE
GAXIOLA, MANUEL                   ADDRESS ON FILE
GAY, ALAINA                       ADDRESS ON FILE
GAY, BRITTANY                     ADDRESS ON FILE
GAY, CLYDE                        ADDRESS ON FILE
GAY, DWAYNE                       ADDRESS ON FILE
GAY, TRAMISHA                     ADDRESS ON FILE
GAYDEN, ANTHONY                   ADDRESS ON FILE
GAYDEN, JOCELYNN                  ADDRESS ON FILE
GAYDEN, TEDDY                     ADDRESS ON FILE
GAYDEN, TRAVIS                    ADDRESS ON FILE
GAYE, CYNTHIA                     ADDRESS ON FILE
GAYLE FRERICHS TRUCKING, L.L.C.   2425 N 25TH ST TERRE HAUTE IN 47804
GAYLE, JAMALL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 714 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 723 of 2156

Claim Name                           Address Information
GAYLOR, MICHAEL                      ADDRESS ON FILE
GAYLORD CITY TREASURER               305 EAST MAIN STREET GAYLORD MI 49735
GAYLORD TRUCK WASH                   1734 DICKERSON RD GAYLORD MI 49735
GAYLORD, JOE                         ADDRESS ON FILE
GAYLORD/MILLER ELECTRIC CORP         602 N OREGON AVE TAMPA FL 33606
GAYMON, BRENT                        ADDRESS ON FILE
GAYNER, THERESA                      ADDRESS ON FILE
GAYTAN, ERIC                         ADDRESS ON FILE
GAYTAN, INDALECIO                    ADDRESS ON FILE
GAZAWAY, TERRY                       ADDRESS ON FILE
GAZDACKO, ADAM                       ADDRESS ON FILE
GAZELLA EXPRESS LINE LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GB & L TRUCKING LLC                  OR RIVIERA FINANCE OF CA, PO BOX 848062 LOS ANGELES CA 90084-8062
GB ALBANY LLC                        277 STEWART ROAD SW AUBURN WA 98047
GB ALBANY, LLC                       ATTN: MICHELLE COWGER 277 STEWART ROAD SW PACIFIC WA 98047
GB GR TRANSPORT INC.                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GB KHOMAKS MF EXPRESS LLC            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
GB LIGHTING SOLUTIONS                1310 HIAWATHA CIRCLE, GREEN BAY WI 54313
GB ROAD LLC                          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GB TRUCK LINE LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GB TRUCKING SERVICES LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GB UNION GAP LLC                     C/O GORDON TRUCK CENTERS INC ATTN: MICHELLE COWGER 277 STEWARD RD SW PACIFIC
                                     WA 98047
GB UNION GAP, LLC                    ATTN: MICHELLE COWGER C/O GORDON TRUCK CENTERS 277 STEWART ROAD SW PACIFIC WA
                                     98047
GBA LOGISTICS INC                    24753 BLOSSOM LN ATHENS AL 35613-6660
GBA TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GBALLOU, MICHEL                      ADDRESS ON FILE
GBC DISTRO, LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GBF CONSULTING, LLC                  1281 AUTUMN BREEZE CIR GULF BREEZE FL 32563
GBF TRUCKING INC.                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GBLK ENTERPRISES INC                 601-110 TRANSCONA BLVD WINNIPEG MB R2C 5S1 CANADA
GBLK ENTERPRISES INC                 415 120 TRANSCONA BLVD WINNIPEG MB R2C 5T7 CANADA
GBM EXPRESS LLC                      S97S13927 STONEBRIDGE WAY MILWAUKEE WI 53227
GBM TRANSPORT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GBM7 TRANSPORTATION LLC              OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
GBOBES INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GBODY PARTS LLC                      ATTN: SANDY BYRD 800 W 18TH ST CONNERSVILLE IN 47331
GBOY CORP                            235 POCHET LN SCHAUMBURG IL 60193
GBS                                  7233 FREEDOM AVE NW NORTH CANTON OH 44720
GBS                                  7233 FREEDOM AVENUE NW, PO BOX 2340 NORTH CANTON OH 44720
GBS                                  PO BOX 2340 NORTH CANTON OH 44720
GBS                                  P.O. BOX 2340 NORTH CANTON OH 44720-0340
GBS & SONS FREIGHT, INC.             GBS & SONS FREIGHT INC., 4 APPLE RIDGE WAY EAST BRUNSWICK NJ 08816
GBS FREIGHT LINK INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GBS INSURANCE & RISK MGT             ATTN: JOANNA SPYCHALSKI, 1210 S. PINE ISLAND RD PLANTATION FL 33324
GBS LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GBSI TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GBT EXPRESS INC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                 Page 715 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 724 of 2156

Claim Name                          Address Information
GBT LLC                             1365 EAST FAIRGROUND ROAD MARION OH 43302
GBU LOGISTICS INC                   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
GC & SONS TRUCKING INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GC GLOBAL TRUCKING INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GC LABELS INC                       6870 W 206TH ST, PO BOX 514 STILWELL KS 66085
GC LABELS INC                       PO BOX 514 STILLWELL KS 66085
GC LOGISTICS                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
GC TRUCK LINES, INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GCC IV BOARD LLC                    C/O TRISTAR PROPERTY ASSOC., ATTN: SHERI LIVINGSTON ST. LOUIS MO 63141
GCC TRANSPORT                       OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
GCF CORP                            386 W 9400 S SANDY UT 84070
GCF TRUCKING INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GCG LOGISTICS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GCH TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GCI                                 PO BOX 99001 ANCHORAGE AK 99509
GCI TRANSPORTATION LLC              OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
GCL INTL LLC                        24585 HELENE DR BROWNSTOWN MI 48183
GCR TIRE CENTERS                    PO BOX 910530 DENVER CO 80291
GCR TIRE CENTERS                    PO BOX 102935 PASADENA CA 91189
GCR TRANSPORT INC                   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
GCS GLOBAL CARRIER SOLUTIONS LLC    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GCT ENTERPRISES LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GCT EXPRESS INC                     701 E IRVING PARK RD ST 207 ROSELLE IL 60172
GCUBED TRUCKING LLC                 OR RIVIERA FINANCE MINNEAPOLIS P.O BOX 850243 MINNEAPOLIS MN 55485-0243
GD TRANSPORT INC                    14050 SPYGLASS CR CHOWCHILLA CA 93610
GD TRANSPORT SERVICES CORP          OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
GD TRUCKING LLC                     OR FARO FACTORING, 7613 ROCIO DR LAREDO TX 78041
GD XPRESS INC                       OR IPS INVOICE PAYMENT SYSTEM PO BOX 77226 MISSISSAUGA ON L5T2P4 CANADA
GDC, INC.                           300 STEURY AVE GOSHEN IN 46528
GDL LINES LLC                       OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
GDM TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GDML TRANSPORTATION LLC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GDS                                 G D S TRANSPORTATION INC, 4590 FAIRWAY ROAD BETHLEHEM PA 18020
GDSI OVERHEAD SERVICES              316 FRICK ST MIO MI 48647
GDX INC.                            3807 S 61ST AVE CICERO IL 60804
GE APPLIANCE                        ATTN: KENNY HINKLEY 28899 NETWORK PL CHICAGO IL 60673
GE APPLIANCE PARTS PDC              ITS TRAFFIC SYSTEMS 28915 CLEMENS RD STE 200 WESTLAKE OH 44145
GE APPLIANCES                       ATTN: JODIE MACK 28899 NETWORK PL CHICAGO IL 60673
GE APPLIANCES & LIGHTING            TRANS AUDIT INC, 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
GE APPLIANCES-G02A00                ITS TRAFFIC SYSTEMS 28915 CLEMENS RD STE 200 WESTLAKE OH 44145
GE CBSI                             DEPT 801 PO BOX 402378 ATLANTA GA 30384
GE GRIFFIN TRUCKING LLC             OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
GE HEALTHCARE TECH EM6 LOGISTICS    D/B/A: GE HEALTHCARE TECH. EM6 LOGISTI ATTN: GE HEALTHCARE PO BOX 730321
                                    ORMOND BEACH FL 32173
GE LOGISTICS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GE TMS                              ATTN: FRANK POMARICO DEPT 801 13391 MCGREGOR BLVD STE 110 FT MYERS FL 33919
GE TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GE2 SERVICES LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GEA - IMMEDIATE CARE                PO BOX 650 RINCON GA 31326



Epiq Corporate Restructuring, LLC                                                                Page 716 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 725 of 2156

Claim Name                             Address Information
GEA FREIGHT INC                        OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
GEAR ENTERTAINMENT TRANSPORT           OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
GEARHART, MICHAEL                      ADDRESS ON FILE
GEARING, DIAMOND                       ADDRESS ON FILE
GEARY EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GEARY, ALLISON                         ADDRESS ON FILE
GEATHERS, NICOLAS                      ADDRESS ON FILE
GEAUX GEAUX LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GEAUX RUNNERS HOTSHOT & TRUCKING LLC   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GEBBIA, REMONT                         ADDRESS ON FILE
GEBERHIWET, KIFLOM                     ADDRESS ON FILE
GEBHARDT, GEORGE                       ADDRESS ON FILE
GEBHART, JEFFREY                       ADDRESS ON FILE
GEBHART, MARK H                        ADDRESS ON FILE
GEBREEGIZIABHER, MEKONNEN              ADDRESS ON FILE
GEBREMARIAM, MEBRAHTOM                 ADDRESS ON FILE
GEBRET LLC                             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GEBRON, GEORGE                         ADDRESS ON FILE
GEBRUDER WEISS                         ADDRESS ON FILE
GEBRUDER WEISS INC                     ATTN: PETER FISCHETTI DOMESTIC 1020 N WOOD DALE RD WOOD DALE IL 60191
GEBRUDER WEISS MISC                    251 WILLE RD ROSEMONT IL 60018
GEBRUDER WEISS, INC.                   ATTN: GENERAL COUNSEL 1020 N. WOOD DALE ROAD WOOD DALE IL 60191
GEC TRANSPORT SOLUTIONS LLC            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
GECAN, CHRIS                           ADDRESS ON FILE
GECO TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
GECOSALA, ANDREA                       ADDRESS ON FILE
GEDDIS, AARON                          ADDRESS ON FILE
GEDDIS, EMANUEL                        ADDRESS ON FILE
GEDERS, CHRISTOPHER                    ADDRESS ON FILE
GEE TRUCKING INC.                      18 ARBOR DRIVE LEXINGTON NC 27292
GEE, DAVID                             ADDRESS ON FILE
GEE, KEVIN                             ADDRESS ON FILE
GEE, ROBERT                            ADDRESS ON FILE
GEE-PEES TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GEEDEY, STEVEN                         ADDRESS ON FILE
GEEDI EXPRESS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GEEL CONVOY INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GEEL TRANSPORT LLC                     OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
GEELE, ILYAS                           ADDRESS ON FILE
GEELS TRUCKING, LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GEENEN, DANIEL                         ADDRESS ON FILE
GEEON LOGISTICS LLC                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
GEER, JAMES R                          ADDRESS ON FILE
GEER, LEAH                             ADDRESS ON FILE
GEER, RANDI                            ADDRESS ON FILE
GEESAMAN, DAVID                        ADDRESS ON FILE
GEESE CARTAGE & COURIER, LLC           1345 DIAMOND SPRINGS ROAD SUITE 101 VIRGINIA BEACH VA 23455-3629
GEESE POLICE OF KANSAS CITY            D/B/A: KC GOOSE CONTROL LLC 3550 W. 191ST STREET STILWELL KS 66085
GEFFRARD, MERCIDIEU                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 717 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 726 of 2156

Claim Name                             Address Information
GEFFREY E OAKLEY                       ADDRESS ON FILE
GEFFS                                  ATTN: THERESE GREENE 556 TIMBERWYCK DRIVE FRONTENAC MO 63131
GEFFS PARTNERSHIP                      C/O THERESE GREENE, 3257 HWY JJ SALEM MO 65560
GEFRAN CARGO                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GEGA, KLARA                            ADDRESS ON FILE
GEH TRANSPORTATION LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GEHERS, JAMES                          ADDRESS ON FILE
GEHRING, GREG                          ADDRESS ON FILE
GEHRING, GREG                          ADDRESS ON FILE
GEHRSITZ, PAUL                         ADDRESS ON FILE
GEIB, KARL                             ADDRESS ON FILE
GEIGER, CURTIS                         ADDRESS ON FILE
GEIGER, RICHARD                        ADDRESS ON FILE
GEIS, DONALD                           ADDRESS ON FILE
GEISELHART, DANIEL                     ADDRESS ON FILE
GEISER, CHARLES                        ADDRESS ON FILE
GEISLER, LOUIS                         ADDRESS ON FILE
GEISLER, PAUL                          ADDRESS ON FILE
GEIST BROTHERS AUTO BODY SHOP INC      43 FRONTAGE RD, RTE 9W GLENMONT NY 12077
GEISTER, CHRIS                         ADDRESS ON FILE
GEITH - DBA CLARK EQUIPMENT            ATTN: STEVEN FOSTER STEVEN FOSTER 2475 MILL CENTER PKWY STE 400 BUFORD GA
                                       30518
GELDHOF, SCOTT                         ADDRESS ON FILE
GELLE TRUCKING LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GELLER REAL ESTATE COMPANY             749 E CUMBERLAND ST LEBANON PA 17042
GELLIS, DONALD                         ADDRESS ON FILE
GELO TRANS LLC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GELONESE, JOSEPH                       ADDRESS ON FILE
GELY, SUSANA                           ADDRESS ON FILE
GELYON, RACHEL                         ADDRESS ON FILE
GELZER SR, DERRICK                     ADDRESS ON FILE
GEM PLUMBING & HEATING SERVICES, LLC   ONE WELLINGTON ROAD LINCOLN RI 02865
GEM STATE PAPER & SUPPLY CO.           PO BOX 469 TWIN FALLS ID 83303
GEMAIRE DISTRIBUTORS LLC               C/O TRANSPLACE CARGO CLAIMS, PO BOX 518 LOWELL AR 72745
GEMCAP TRUCKING INC.                   7570 NW 14 ST SUITE 106 MIAMI FL 33126
GEMIENHARDT, BRETT                     ADDRESS ON FILE
GEMMA CARRIERS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GEMMILL, SCOTT                         ADDRESS ON FILE
GEMSA ENTERPRISES                      ATTN: JACQUELINE CARRUTHERS ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                       60654
GEMSA OILS                             ATTN: SHALON COLEMAN ECHOGLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL
                                       60654
GEMU VALVES INC                        ATTN: CISSY TOMLINSON 3800 CAMP CREEK PKWY BLDG 2600 ATLANTA GA 30331
GEN TEAMSTERS 406                      3315 EASTERN SE GRAND RAPIDS MI 49508
GENAO, BENJAMIN                        ADDRESS ON FILE
GENCO, VINCENT                         ADDRESS ON FILE
GENDREAU, JOSEPH                       ADDRESS ON FILE
GENDREAU, MICHEL                       ADDRESS ON FILE
GENDRON CONSTRUCTION                   PO BOX 39, 421 QUINNESEC STREET QUINNESEC MI 49876
GENE PTACEK & SON                      FIRE EQUIPMENT, 7310 ASSOCIATE AVENUE BROOKLYN OH 44144


Epiq Corporate Restructuring, LLC                                                                   Page 718 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 727 of 2156

Claim Name                               Address Information
GENEL TRANSPORT                          5782 NW BELWOOD CIR PORT ST LUCIE FL 34986
GENEM LOGISTICS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GENERAC POWER SYSTEMS                    29330 NETWORK PLACE CHICAGO IL 60673
GENERAC POWER SYSTEMS                    ATTN: NICHOLE MILLER 29330 NETWORK PLACE CHICAGO IL 60673
GENERAL AUTO SUPPLY                      415 WASHINGTON STREET QUINCY MA 02169
GENERAL DATA HEALTHCARE                  ATTN: TERESA CARNDER 4354 FERGUSON DR CINCINNATI OH 45245
GENERAL DELIVERY LOGISTICS LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GENERAL DRIVERS UNION                    LOCAL NO. 554, 4349 SOUTH 90 STREET OMAHA NE 68127
GENERAL DRIVERS WAREHOUSEMEN & HELPERS   LOCAL 89, ATTN: GENERAL COUNSEL 3813 TAYLOR BLVD LOUISVILLE KY 40215
GENERAL ELECTRIC COMPANY (GSA)           13391 MCGREGOR BLVD FORT MYERS FL 33919
GENERAL ELITE TRANSPORTATION CO LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GENERAL EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GENERAL FIRE & SAFETY EQUIPMENT COMPANY 3210 E 14TH DES MOINES IA 50316
GENERAL FIRE EQUIPMENT CO INC            975 N HAWLEY RD MILWAUKEE WI 53213
GENERAL FIRE SPRINKLER COMPANY, LLC      PO BOX 412007 BOSTON MA 02241
GENERAL FIRE SPRINKLER COMPANY, LLC      10324 W. 79TH STREET SHAWNEE KS 66214
GENERAL FORKLIFT NEW JERSEY              PO BOX 30301 RICHMOND NY 10303
GENERAL FORKLIFT NEW JERSEY              PO BOX 30301 STATEN ISLAND NY 10303
GENERAL FREIGHT                          2774 E PALISADE DR FRESNO CA 93720
GENERAL FREIGHT EXPERTS                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GENERAL FREIGHT SYSTEMS LLC              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GENERAL FREIGHT TRANSPORTATION LLC       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GENERAL GOODS FREIGHT COMPANY            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GENERAL HAUL LLP                         OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415-0581
GENERAL INSULATION                       1005 REPUBLIC DRIVE, UNIT A ADDISON IL 60101
GENERAL LAB & CLEANROOM SUPPLY           2328 TELLER RD NEWBURY PARK CA 91320
GENERAL LOGISTIC TRUCK LLC               OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
GENERAL LOGISTICS LLC (CORDOVA TN)       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GENERAL PACIFIC                          PO BOX 70 FAIRVIEW OR 97024
GENERAL PARTNERS GROUP INC (MC025097)    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GENERAL PUMP CO. INC.                    ATTN: GINGER CAMPBELL 159 N ACACIA STREET SAN DIMAS CA 91773-2585
GENERAL REPAIR TRUCK & TRAILER INC       401 HARRIS ST CORDELE GA 31015
GENERAL SECURITY SERVICES                9110 MEADOWVIEW ROAD MINNEAPOLIS MN 55425
GENERAL SERVICES ADMINISTRATION          5400 FEDERAL PLAZA STE. 2100 HAMMOND IN 46320
GENERAL SOURCE INC.                      614 EAST HIGHWAY 50, SUITE 229 CLERMONT FL 34711
GENERAL SOURCE INC.                      501 SEMINOLE AVE MINNEOLA FL 34715
GENERAL TEAMSTERS                        UNION LOCAL 662, 850 HWY 153, SUITE D MOSINEE WI 54455
GENERAL TEAMSTERS LOCAL 493 H&W FUND     PO BOX 485 UNCASVILLE CT 06382
GENERAL TRANSPORT INC                    PO BOX 7727 AKRON OH 44306
GENERAL TRANSPORTATION LOGISTICS LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GENERAL TREASURER, STATE OF RHODE        UNCLAIMED PROPERTY, PO BOX 1435 PROVIDENCE RI 02901
ISLAND
GENERAL TRUCK PARTS & EQUIPMENT COMPANY 4040 W. 40TH ST. CHICAGO IL 60632
GENERAL TRUCK SALES & SERVICE, INC.      1973 E BROOKS RD, PO BOX 161202 MEMPHIS TN 38116
GENERAL TRUCK SALES, INC.                5801 SUDER AVE. TOLEDO OH 43611
GENERAL TRUCK SALES, INC.                4300 N BROADWAY MUNCIE IN 47303
GENERAL TRUCKING LLC                     OR SOUND FINANCE CORPORATION P.O. BOX 679281 DALLAS TX 75267-9281
GENERAL TRUCKING REPAIR LLC              745 ROUTE 17 CARLSTADT NJ 07072
GENERAL VL INC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                     Page 719 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 728 of 2156

Claim Name                             Address Information
GENERAL WHOLESALE ELECTRIC             ATTN: GARY GUDAITIS 11 RICKENBACKER CIR LIVERMORE CA 94551
GENERAL XPRESS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GENERALWHOLESALECOMPANY ECHO           ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GENERATION TRANSPORT INC               OR RM CAPITAL GROUP, INC, PO BOX 8331 LA CRESCENTA CA 91224
GENERATION TRUCKING CORP               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GENERATIONAL WEALTH TRANSPORT LLC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GENERATOR                              1900 CONNECTICUT AVE. WASHINGTON DC 20009
GENES 24 HOUR ROAD SERVICE             10023 FORT DALE RD FORT DEPOSIT AL 36032
GENES ALIGNMENTS                       PO BOX 13281 SPOKANE WA 99213
GENES TOWING & RECOVERY                711 STEPHENSON AVENUE ESCANABA MI 49829
GENES TOWING INC                       9212 S TACOMA WAY LAKEWOOD WA 98499
GENES VILLAGE TOWING INC               1290 PETERSON DR WHEELING IL 60090
GENESIS & MANNY TRUCKING INC.          8536 BONNET CT FORT WORTH TX 76131
GENESIS ENTERPRIZE LLC                 OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
GENESIS ENVIRONMENTAL SOLUTIONS INC.   8422 S 7 HIGHWAY BLUE SPRINGS MO 64014
GENESIS EXPEDITE LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GENESIS FREIGHTWAY LLC                 1 WINDSOR COVE STE 108 A, 0 COLUMBIA SC 29223
GENESIS KITCHEN                        270 NUCLEUS AVE COLUMBIA FALLS MT 59912
GENESIS NATL TRANSP & LOGISTICS INC    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GENESIS OCCUPATIONAL HEALTH            PO BOX 1246 MOLINE IL 61266
GENESIS TRADE SOLUTIONS LLC            14110 LOCKE LANE HOUSTON TX 77077
GENESIS TRUCKERS LLC                   OR BIG BROTHER FINANCIAL, P.O. BOX 1949 SUGAR LAND TX 77487-1949
GENESIS TRUCKING                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GENESIS TRUCKING CO                    181 SETTLER LN KALAMA WA 98625-2001
GENESIS WOOD PRODUCTS                  1853 EISENHOWER DR S GOSHEN IN 46526
GENET TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GENET TRUCKING LLC                     1145 ROSEMARY ST APT D DENVER CO 80220
GENEX                                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GENEX EXPRESS ENTERPRISES INC          152 TOUHY COURT DES PLAINES IL 60018
GENIAL TRANSPORTATION LLC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
GENIE CLEAN LLC                        1857 WOODVINE ST, APT Q6 FAIRBORN OH 45324
GENIE FORTUNE LLC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
GENIE TRUCKING LLC                     169 MILLS RUN DR SAVANNAH GA 31405
GENIER, ALAIN                          ADDRESS ON FILE
GENILO, MATTHEW                        ADDRESS ON FILE
GENIY LLC                              11811 BASILE RD PHILADELPHIA PA 19154
GENNARO, PETER                         ADDRESS ON FILE
GENOVI X-PRESS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GENSCO                                 4402 20TH ST E TACOMA WA 98424
GENSCO                                 4502 20TH ST E TACOMA WA 98424
GENSEL, DUSTIN                         ADDRESS ON FILE
GENSLER, SANDRA                        ADDRESS ON FILE
GENT, ROBERT                           ADDRESS ON FILE
GENTEMAN, CARL                         ADDRESS ON FILE
GENTER, LOGAN                          ADDRESS ON FILE
GENTILUCCI, DAN                        ADDRESS ON FILE
GENTLEMENS TRUCKING L.L.P              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GENTRY, CHARLIE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 720 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 729 of 2156

Claim Name                           Address Information
GENTRY, MELVIN                       ADDRESS ON FILE
GENTRY, PAUL W                       ADDRESS ON FILE
GENTRY, RUSSELL                      ADDRESS ON FILE
GENTRY, TELISA                       ADDRESS ON FILE
GENTRY, TERRY                        ADDRESS ON FILE
GENTRY, TODD                         ADDRESS ON FILE
GENUINE LOGISTICS LLC                OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GENX EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GENX TRANSPORT                       OR MCDOWELL FACTOR & CAPITAL SVCS LLC P.O. BOX 161086 ALTAMONTE SPRINGS FL
                                     32716-1086
GEO & WOO TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GEO FAMILY ENTERPRISE LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GEO GRAPH IND                        475 INDUSTRIAL DR HARRISON OH 45030
GEO LOGISTICS CORP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GEO. F. ALGER COMPANY                28650 HILDEBRANDT ROMULUS MI 48174
GEO. HEISER BODY CO., LLC.           9426 8TH AVE S SEATTLE WA 98108
GEOGHAN, STEVEN                      ADDRESS ON FILE
GEOGRAPHIC TRANSPORT INC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GEOLIT GROUP INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GEON PERFORMANCE SOLUTIONS           ODYSSEY PO BOX 19749 DEPT 76 CHARLOTTE NC 28219
GEORGE ALLEN                         ADDRESS ON FILE
GEORGE C POTTERFIELD TRUCKING INC    (MO. CORP) P. O. BOX 296 MONROE CITY MO 63456
GEORGE CAGE TRANSPORTATION LLC       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GEORGE E LAMAR                       ADDRESS ON FILE
GEORGE FREIGHT SOLUTIONS LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
GEORGE GEE KIA                       21502 E GEORGE GEE AVE LIBERTY LAKE WA 99019
GEORGE H MATTERN                     ADDRESS ON FILE
GEORGE J ARAICA                      ADDRESS ON FILE
GEORGE L DUCKWORTH                   ADDRESS ON FILE
GEORGE MASSEY                        ADDRESS ON FILE
GEORGE MOLITORIS                     ADDRESS ON FILE
GEORGE RAMOS                         ADDRESS ON FILE
GEORGE SANDAL                        ADDRESS ON FILE
GEORGE STARR JR.                     ADDRESS ON FILE
GEORGE T BENNETT JR                  ADDRESS ON FILE
GEORGE T SHEARY                      ADDRESS ON FILE
GEORGE T WILLIAMS                    ADDRESS ON FILE
GEORGE T WILLIAMS LTD                PO BOX 67 WARREN MB R0C 3E0 CANADA
GEORGE W GRAHAM                      ADDRESS ON FILE
GEORGE W JONES                       ADDRESS ON FILE
GEORGE W MARTIN                      ADDRESS ON FILE
GEORGE, ALVIN                        ADDRESS ON FILE
GEORGE, CEBRUM                       ADDRESS ON FILE
GEORGE, DALE                         ADDRESS ON FILE
GEORGE, DANIELLE                     ADDRESS ON FILE
GEORGE, DOUGLAS                      ADDRESS ON FILE
GEORGE, GORDON                       ADDRESS ON FILE
GEORGE, JAMES                        ADDRESS ON FILE
GEORGE, JANICE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 721 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 730 of 2156

Claim Name                              Address Information
GEORGE, JEFFERY                         ADDRESS ON FILE
GEORGE, JOHN                            ADDRESS ON FILE
GEORGE, KERRY                           ADDRESS ON FILE
GEORGE, RAYMOND T                       ADDRESS ON FILE
GEORGE, ROBERT                          ADDRESS ON FILE
GEORGE, RONALD                          ADDRESS ON FILE
GEORGE, SCOTT K                         ADDRESS ON FILE
GEORGELOS, GEORGE                       ADDRESS ON FILE
GEORGELOS, GEORGE                       ADDRESS ON FILE
GEORGIA CHEMICAL EQUIPMENT CO, INC      1580 BEAVER RUIN RD NORCROSS GA 30093
GEORGIA DEPARTMENT OF NATURAL RESOURCES GA ENVIRO PROT DIV UST PROGRAM, 4244 INTERNATIONAL PKWY STE 104 ATLANTA GA
                                        30354
GEORGIA DEPARTMENT OF PUBLIC SAFETY     ALLEICE MORTON FINANCE, PO BOX 1456 ATLANTA GA 30371
GEORGIA DEPARTMENT OF PUBLIC SAFETY     OVERWEIGHT ASSESSMENT CIT UNIT, PO BOX 1456 ATLANTA GA 30371
GEORGIA DEPARTMENT OF PUBLIC SAFETY     OVERWEIGHT ASSESS CITATION UNIT, PO BOX 406100 ATLANTA GA 30384
GEORGIA DEPARTMENT OF REVENUE           PO BOX 105136 ATLANTA GA 30348
GEORGIA DEPARTMENT OF REVENUE           PO BOX 105408 ATLANTA GA 30348
GEORGIA DEPARTMENT OF REVENUE           UNCLAIMED PROPERTY PROGRAM, 4125 WELCOME ALL RD. ATLANTA GA 30349
GEORGIA DEPARTMENT OF REVENUE           UNCLAIMED PROPERTY PROGRAM, 4125 WELCOME ALL ROAD, SUITE 701 ATLANTA GA 30349
GEORGIA DEPARTMENT OF REVENUE           UNCLAIMED PROPERTY PROGRAM, 4245 INTERNATIONAL PARKWAY STE A HAPEVILLE GA
                                        30354
GEORGIA DEPARTMENT OF REVENUE           PROCESSING CENTER PO BOX 740317 ATLANTA GA 30374
GEORGIA DEPARTMENT OF REVENUE           PO BOX 740239 ATLANTA GA 30374
GEORGIA DEPARTMENT OF REVENUE           PO BOX 740398 ATLANTA GA 30374
GEORGIA DEPARTMENT OF REVENUE           TAXPAYER SVCS DIV, PO BOX 740321 ATLANTA GA 30374
GEORGIA FORKLIFT                        PO BOX 549 BALL GROUND GA 30107
GEORGIA FREIGHTMASTER INC.              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GEORGIA MOTOR TRUCKING ASSOCIATION,     2060 FRANKLIN WAY SE MARIETTA GA 30067
INC.
GEORGIA PACIFIC                         1919 S BROADWAY GREEN BAY WI 54304-1523
GEORGIA PACIFIC                         ATTN: MINDY BERGER 1919 S BROADWAY GREEN BAY WI 54304-1523
GEORGIA PINE STRAW, INC.                148 WILLIAMS AVE LYONS GA 30436
GEORGIA POWER                           241 RALPH MCGILL BLVD NE BIN 10180 ATLANTA GA 30308-3374
GEORGIA SELF INS GUARANTY TRUST FUND    303 PEACHTREE STREET, SUITE 3500 ATLANTA GA 30308
GEORGIA SELF INS GUARANTY TRUST FUND    PO BOX 57047 ATLANTA GA 30343
GEORGIA SOUTHERN TRANSPORTATION, INC.   P.O. BOX 1775 CARTERSVILLE GA 30120
GEORGIA TRANSPORT SPECIALISTS LLC       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GEORGIA TRUCK AND TRAILER LLC           1661 HENRICO RD CONLEY GA 30288
GEORGIA TRUCK AND TRAILER LLC           PO BOX 563 CONLEY GA 30288
GEORGIA TRUCK LINES LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GEORGIA YARD BARNS                      180 LONGWOOD DR JONESBORO GA 30236
GEORGIAN FREIGHT LINES INC.             OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T5C5 CANADA
GEORGIE, F                              ADDRESS ON FILE
GEORGIES TOWING & WRECKER SERVICE       133 W FLETCHER ST ALPENA MI 49707
GEORGINA, JACQUEZ                       ADDRESS ON FILE
GEORGY E BARLOW                         ADDRESS ON FILE
GEOS ENVIRONMENTAL, INC.                13014 N DALE MABRY 117 TAMPA FL 33618
GEOS ENVIRONMENTAL, INC.                13014 N. DALE MABRY HWY NO 117 TAMPA FL 33618
GEPHART, ROBERT                         ADDRESS ON FILE
GER FANG                                ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                    Page 722 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 731 of 2156

Claim Name                         Address Information
GERACI, GENE                       ADDRESS ON FILE
GERALD A COUTS                     ADDRESS ON FILE
GERALD A WILSON                    ADDRESS ON FILE
GERALD F GAVIN                     ADDRESS ON FILE
GERALD H TASSELL                   ADDRESS ON FILE
GERALD L WILLIAMS                  ADDRESS ON FILE
GERALD M CAMERON                   ADDRESS ON FILE
GERALD R WILSON                    ADDRESS ON FILE
GERALD S RUYLE                     ADDRESS ON FILE
GERALD TIETZE                      ADDRESS ON FILE
GERALD TRUCKING INC                OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GERALD W. NAILE                    ADDRESS ON FILE
GERALD YARBROUGH                   ADDRESS ON FILE
GERALD, IAN                        ADDRESS ON FILE
GERALD, JEMIK                      ADDRESS ON FILE
GERALD, JOHN                       ADDRESS ON FILE
GERALD, THEISMON                   ADDRESS ON FILE
GERALDITO TRUCKING LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GERARD DANIEL                      ADDRESS ON FILE
GERARDO CASTRO                     ADDRESS ON FILE
GERARDO GONZALEZ                   ADDRESS ON FILE
GERARDO H WRIGHT                   ADDRESS ON FILE
GERARDO LONGORIA                   ADDRESS ON FILE
GERBER COLLISION & GLASS           7580 EXPRESSWAY DRIVE SW GRAND RAPIDS MI 49548
GERBER, DAVID                      ADDRESS ON FILE
GERBER, JULIUS C                   ADDRESS ON FILE
GERBER, KEATON                     ADDRESS ON FILE
GERBERDING, LLOYD                  ADDRESS ON FILE
GERBIER, JIMMY                     ADDRESS ON FILE
GERBRANDT, DEAN                    ADDRESS ON FILE
GERCEK, UEMUET                     ADDRESS ON FILE
GERDES, DEANNA                     ADDRESS ON FILE
GERDES, MARK                       ADDRESS ON FILE
GERDES, TRACY                      ADDRESS ON FILE
GERE TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GERE, ALLIE                        ADDRESS ON FILE
GERELUS, BLAIR                     ADDRESS ON FILE
GERGEN, JAMES                      ADDRESS ON FILE
GERGI LOGISTICS LLC                14 MOSS PINK PL ASHEVILLE NC 28806
GERGI LOGISTICS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GERGUN TRANSPORTATION INC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GERHARDS, HAYLEE                   ADDRESS ON FILE
GERHARDT, DANIEL                   ADDRESS ON FILE
GERHARZ EQUIPMENT                  ATTN: NIKITAS SKOPELITIS 220 TEALL AVE SYRACUSE NY 13210
GERHOLD, RONNIE L                  ADDRESS ON FILE
GERI CARE                          ATTN: AVI HEISLER 1295 TOWBIN AVE LAKEWOOD NJ 08701
GERIN CARRIERS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GERKE, JAMES                       ADDRESS ON FILE
GERLACH, ADAM                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 723 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 732 of 2156

Claim Name                               Address Information
GERLER, BRIAN                            ADDRESS ON FILE
GERLITS, JAY                             ADDRESS ON FILE
GERLOCK TOWING                           7821 NE 33RD DRIVE PORTLAND OR 97211
GERMAIN PLUMBING & HEATING, INC          64 WATER ST ATTLEBORO MA 02703
GERMAIN TRUCKING LLC                     9586 MUIRKIRK RD APT102 LAUREL MD 20708
GERMAN, JUSTIN                           ADDRESS ON FILE
GERMAN, WILSON                           ADDRESS ON FILE
GERMANO, MICHAEL                         ADDRESS ON FILE
GERMANY, CALECIA                         ADDRESS ON FILE
GERMANY, FELICIA                         ADDRESS ON FILE
GERMANY, KEVIN                           ADDRESS ON FILE
GERMEIL, CHALIN                          ADDRESS ON FILE
GERMOND JR, JERRY                        ADDRESS ON FILE
GERMOND, CHRISTOPHER                     ADDRESS ON FILE
GERMOND, MOLLY                           ADDRESS ON FILE
GERONIMO & SONS TRUCKING LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GERONIMO, ROSE                           ADDRESS ON FILE
GEROR, PETER                             ADDRESS ON FILE
GERRAND RATH JOHNSON LLP                 1914 HAMILTON ST 700 REGINA SK S4P 3N6 CANADA
GERRIAN, CLAYTON                         ADDRESS ON FILE
GERRITY, PATRICK                         ADDRESS ON FILE
GERROND, TERRY                           ADDRESS ON FILE
GERSCH, GREGORY                          ADDRESS ON FILE
GERSHON, DAVID                           ADDRESS ON FILE
GERSTENBERG, COLYN                       ADDRESS ON FILE
GERSTNER, GEORGE                         ADDRESS ON FILE
GERTZ, DARRYL                            ADDRESS ON FILE
GERULA, THOMAS                           ADDRESS ON FILE
GERVAN, STEPHANIE                        ADDRESS ON FILE
GERWICK, CATHLEEN                        ADDRESS ON FILE
GERWIG, ANDREW                           ADDRESS ON FILE
GERWIG, JOSEPH                           ADDRESS ON FILE
GERWITZ, MADISON                         ADDRESS ON FILE
GES TRANS INC                            OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GESCHWENDER, NATHAN                      ADDRESS ON FILE
GESELL, CHARLES                          ADDRESS ON FILE
GESFORD, COREY                           ADDRESS ON FILE
GESS, MICHAEL                            ADDRESS ON FILE
GESSERT, ERNEST                          ADDRESS ON FILE
GESSLER, PETER                           ADDRESS ON FILE
GESSNER, KENNETH                         ADDRESS ON FILE
GESUALDI, ANTHONY                        ADDRESS ON FILE
GET A QUOTE LLC                          OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GET CARGO INC                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GET IT GONE TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GET IT THEIR LLC                         2225 APACHE DR JONESBORO GA 30236
GET IT THERE TRUCKING AND DELIVERY LLC   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GET LOGISTICS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GET MOVING LLC                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                   Page 724 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 733 of 2156

Claim Name                           Address Information
GET RIGHT DISTRIBUTION               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
GET TUITT TRUCKING LLC               OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
GETGO TRANSPORTATION CO., LLC        28500 LEMOYNE RD MILLBURY OH 43447
GETHERS, KENNETH                     ADDRESS ON FILE
GETHSEMANE TRUCKING LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GETSFRIED, DANIEL                    ADDRESS ON FILE
GETTEMY, GWENDOLYN                   ADDRESS ON FILE
GETTING, RICHARD                     ADDRESS ON FILE
GETWAY EXPRESS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GETZ FIRE EQUIPMENT CO.              PO BOX 419 PEORIA IL 61651
GETZ FIRE EQUIPMENT CO.              PO BOX 419 PEORIA IL 61651-0419
GETZ, MICHAEL                        ADDRESS ON FILE
GETZ, MICHAEL                        ADDRESS ON FILE
GETZEL, BROOKLYN                     ADDRESS ON FILE
GEUKENS, TIFFANY                     ADDRESS ON FILE
GEVA TRANSPORTATION                  GEVA LOGISTICS-GEVA FREIGHT FORWARDING S PO BOX 279 CLINTON MD 20735
GEVEDON, MICHAEL                     ADDRESS ON FILE
GEVI TRANS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GEVI TRANS LLC                       13485 SOUTH UNITEC DRIVE LAREDO TX 78045
GEXPRO                               CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
GEYER, CRAIG                         ADDRESS ON FILE
GEYER, JERAMIAH                      ADDRESS ON FILE
GEYER, KEVIN                         ADDRESS ON FILE
GEYER, STEPHEN                       ADDRESS ON FILE
GEYERS TOWING & RECOVERY             19630 WATERS ROAD GERMANTOWN MD 20874
GEYMAN LOGISTICS, LLC                OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
GEZELLA, WILLIAM                     ADDRESS ON FILE
GEZIM EXPRESS LLC                    OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
GF FREIGHT TRANSPORTATION            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GF HUNT ENTERPRISES LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GF LOGISTICS INC                     10005 BOW RIDGE CT LAS VEGAS NV 89145
GF LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GF TRUCKLINE INC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GFC                                  ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GFC                                  ECHO GLOBAL, 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GFC C/O ECHO GLOBAL                  ATTN: NATASIA FIELDS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GFC C/O ECHO GLOBAL LOGISTICS        600 W CHICAGO AVE 725 CHICAGO IL 60654
GFC CARTAGE LLC                      PO BOX 1157 LA VERGNE TN 37086
GFC TRANSPORTATION INC               9780 DINO DR SUITE A ELK GROVE CA 95624
GFG EXPRESS INC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GFK TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GFL ENVIRONMENTAL                    P.O. BOX 150 CONCORD ON L4K 1B2 CANADA
GFL ENVIRONMENTAL                    PO BOX 791519 BALTIMORE MD 21279
GFL ENVIRONMENTAL SERVICES USA       19701 S 97TH AVE MOKENA IL 60448
GFORCE LOGISTICS INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
GFS EXPRESS INC                      PO BOX 831915 MIAMI FL 33283
GG CARGO GROUP INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GG FREIGHT INC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GG FREIGHT SERVICES INC.             OR AVA FINANCIAL GROUP INC 273 MOORE PARK AVENUE TORONTO ON M2M1N5 CANADA



Epiq Corporate Restructuring, LLC                                                                Page 725 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 734 of 2156

Claim Name                            Address Information
GGA LOGISTICS LLC                     OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GGC TRANSPORT INC                     OR THUNDER CARRIER SERVICES LLC P. O. BOX 1000 DEPT 3003 MEMPHIS TN 38148
GGC TRANSPORTATION LLC                OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
GGF                                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GGG LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GGH LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GGJ EXPRESS INC.                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GGK TRANSPORT INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GGUT, ERIC                            ADDRESS ON FILE
GH & W LOGISTICS LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GHAFFER, MOHAMMED A                   ADDRESS ON FILE
GHAFOORI, ABDUL                       ADDRESS ON FILE
GHAFOORI, SAYYAD                      ADDRESS ON FILE
GHAG TRANSPORT INC                    OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GHANEM, ADAM                          ADDRESS ON FILE
GHANIMAH, NAJI                        ADDRESS ON FILE
GHANMEH, AHMAD                        ADDRESS ON FILE
GHARDYAN, GAYANE                      ADDRESS ON FILE
GHARIBI, ALI                          ADDRESS ON FILE
GHATAS, MALAK                         ADDRESS ON FILE
GHATAS, MALAK                         ADDRESS ON FILE
GHAURI, TAHA                          ADDRESS ON FILE
GHC LOGISTICS                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GHD SERVICES INC.                     DEPT 406, PO BOX 8000 BUFFALO NY 14267
GHD SERVICES INC.                     PO BOX 392237 PITTSBURGH PA 15251
GHEE THREE TRUCKING ENTERPRISE CORP   OR RIVIERA FINANCE PO BOX 850243 MINNEAPOLIS MN 55485
GHENT MANUFACTURING                   ATTN: GMI COMPANIES LOGISTICS 2999 HENKLE DR LEBANON OH 45036
GHETTIE, WARREN                       ADDRESS ON FILE
GHG LOGISTICS, LLC                    6390 HEDGEWOOD DRIVE SUITE 300 ALLENTOWN PA 18106
GHIBLI INC                            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GHL SERVICES, LLC                     PO BOX 70446 0449 WEST VALLEY CITY UT 84119
GHL SERVICES, LLC                     GILL H LEATHAM, PO BOX 70446 WEST VALLEY CITY UT 84170
GHOBRIAL, AMIR                        ADDRESS ON FILE
GHOLAR ENTERPRISE LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GHOLIA BROS TRUCKING LLC              OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
GHOLIA BROS TRUCKING LLC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GHOST RIVER TRUCKING LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GHOST RUNNERS TRANSPORTATION LLC      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GHOTRA TRUCK LINE INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GHRINDY LLC                           OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GHS LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GHUMAAN TRUCKING INC                  17016 PECAN HOLLOW WAY LATHROP CA 95330
GHUMAN FREIGHTWAYS INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GHUMAN LOGISTICS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GHUMAN ROYAL TRUCKING INC             OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GHUMAN, AMARDEEP S                    ADDRESS ON FILE
GHUMMAN TRUCKING INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GHURAYA, VIJAY                        ADDRESS ON FILE
GHY USA INC                           809-167 LOMBARD AVE WINNIPEG MB R3B 3H8 CANADA



Epiq Corporate Restructuring, LLC                                                                  Page 726 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 735 of 2156

Claim Name                          Address Information
GI MAN TRANSPORT LLC                127 PINEVIEW DR LAPEER MI 48446
GI TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GIABANIS, GEORGE                    ADDRESS ON FILE
GIACOMAN, EDITH                     ADDRESS ON FILE
GIACOS TRUCKING, LLC                TRANSPORTATION ALLIANCE BANK, P.O. BOX 150290 OGDEN UT 84415
GIACULLI, PAUL                      ADDRESS ON FILE
GIAKONOSKI, JONATHAN                ADDRESS ON FILE
GIAMMONA, JOSEPH                    ADDRESS ON FILE
GIAMPAPA, PETER                     ADDRESS ON FILE
GIAMPAPA, THOMAS                    ADDRESS ON FILE
GIANCARLO, RICHARD                  ADDRESS ON FILE
GIANGARRA, ANTHONY                  ADDRESS ON FILE
GIANNI L ALBANESE                   ADDRESS ON FILE
GIANNONE, ROY                       ADDRESS ON FILE
GIANNOTTI, THOMAS J                 ADDRESS ON FILE
GIANT BICYCLE                       3587 OLD CONEJO RD NEWBURY PARK CA 91320
GIANT LOGISTICS INC                 8589 112 ST DELTA BC V4C 4X1 CANADA
GIANT TRANSPORT LINE LLC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GIBALDI, JAMES                      ADDRESS ON FILE
GIBBONS P.C.                        ONE GATEWAY CENTER NEWARK NJ 07102
GIBBONS, BRYAN                      ADDRESS ON FILE
GIBBONS, JAMES                      ADDRESS ON FILE
GIBBONS, JEFFREY                    ADDRESS ON FILE
GIBBONS, JIM                        ADDRESS ON FILE
GIBBONS, STEVEN                     ADDRESS ON FILE
GIBBS INTERNATIONAL TRUCK CTRS      PO BOX 748062 LOS ANGELES CA 90074
GIBBS, CHARLES                      ADDRESS ON FILE
GIBBS, GLENN                        ADDRESS ON FILE
GIBBS, HORACE                       ADDRESS ON FILE
GIBBS, KAREEM                       ADDRESS ON FILE
GIBBS, LOUIS                        ADDRESS ON FILE
GIBBS, MICHAEL                      ADDRESS ON FILE
GIBBS, RICHARD                      ADDRESS ON FILE
GIBBS, ROBERT                       ADDRESS ON FILE
GIBBS, TAYLOR                       ADDRESS ON FILE
GIBBY, GARY                         ADDRESS ON FILE
GIBBY, GARY                         ADDRESS ON FILE
GIBBY, TODD A                       ADDRESS ON FILE
GIBERSON, KENNETH                   ADDRESS ON FILE
GIBERSON, MICHAEL                   ADDRESS ON FILE
GIBIS, RUDOLPH JR                   ADDRESS ON FILE
GIBSOM TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GIBSON BROTHERS TRANSPORT LLC       OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
GIBSON, AUBREY                      ADDRESS ON FILE
GIBSON, BRADLEY                     ADDRESS ON FILE
GIBSON, BRADLEY                     ADDRESS ON FILE
GIBSON, BRIAN                       ADDRESS ON FILE
GIBSON, DAMIEN                      ADDRESS ON FILE
GIBSON, DAVID                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 727 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 736 of 2156

Claim Name                           Address Information
GIBSON, DAVID                        ADDRESS ON FILE
GIBSON, DEREK                        ADDRESS ON FILE
GIBSON, DERYLL                       ADDRESS ON FILE
GIBSON, DUANE                        ADDRESS ON FILE
GIBSON, EDDIE                        ADDRESS ON FILE
GIBSON, GLENN                        ADDRESS ON FILE
GIBSON, JAMES                        ADDRESS ON FILE
GIBSON, JOHN                         ADDRESS ON FILE
GIBSON, JOHN                         ADDRESS ON FILE
GIBSON, JOSHUA                       ADDRESS ON FILE
GIBSON, KEVIN                        ADDRESS ON FILE
GIBSON, KWAME                        ADDRESS ON FILE
GIBSON, LARRY                        ADDRESS ON FILE
GIBSON, LINDSEY                      ADDRESS ON FILE
GIBSON, LYNDELL                      ADDRESS ON FILE
GIBSON, MICHAEL                      ADDRESS ON FILE
GIBSON, PAUL                         ADDRESS ON FILE
GIBSON, RALPH                        ADDRESS ON FILE
GIBSON, ROBERT                       ADDRESS ON FILE
GIBSON, RODNEY                       ADDRESS ON FILE
GIBSON, SAMUEL                       ADDRESS ON FILE
GIBSON, STEVEN                       ADDRESS ON FILE
GIBSON, TIMOTHY                      ADDRESS ON FILE
GIBSON, WENDELL                      ADDRESS ON FILE
GIBSON, WINSTON                      ADDRESS ON FILE
GIBSON-SPARKS, DAQUINN               ADDRESS ON FILE
GIBSONS EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GIBZ SIAME LLC                       OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
GIDDEON, JAMES                       ADDRESS ON FILE
GIDDINS, BYRON                       ADDRESS ON FILE
GIDDINS, BYRON                       ADDRESS ON FILE
GIDEON ENTERPRISE LLC                1206 BERRYHILL DR LITHONIA GA 30058
GIDLEY, DAMON                        ADDRESS ON FILE
GIDLEY, JACK                         ADDRESS ON FILE
GIDNE TRANSPORT LLC                  7701 LINDBERGH BLVD 1103 PHILADELPHIA PA 19153
GIE TRANSPORTATION LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GIEBEL, MATTHEW                      ADDRESS ON FILE
GIEDD MOON                           ADDRESS ON FILE
GIEG, TREY                           ADDRESS ON FILE
GIER, LARRY J                        ADDRESS ON FILE
GIERA, JOHN                          ADDRESS ON FILE
GIERUT, RICHARD                      ADDRESS ON FILE
GIESBERS, BRIAN                      ADDRESS ON FILE
GIESBRECHT, DANIEL                   ADDRESS ON FILE
GIESE TRANSPORTATION LLC             W7645 AIRPORT RD CRIVITZ WI 54114
GIESEKING, GYLE                      ADDRESS ON FILE
GIESEKING, ROBERT                    ADDRESS ON FILE
GIFFORD JR, JAMES                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 728 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 737 of 2156

Claim Name                          Address Information
GIFFORD, CHAD                       ADDRESS ON FILE
GIFFORD, JASON                      ADDRESS ON FILE
GIFFORD, PATRICK D                  ADDRESS ON FILE
GIG LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GIGER, DEREK                        ADDRESS ON FILE
GIGG EXPRESS INC                    5355 CREEKBANK ROAD MISSISSAUGA ON L4W 5L5 CANADA
GIGI CARRIER CORP                   OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
GIGUERE, DENIS                      ADDRESS ON FILE
GIJON, TOMAS                        ADDRESS ON FILE
GIJV IL7 LLC                        ATTN: MIKE WALSH GPT OPERATING TRUST 220 COMMERCE DRIVE 4TH FL FORT WASHINGTON
                                    PA 19034
GIL FRANCISCO, FRANCELYS            ADDRESS ON FILE
GIL TRANSPORT INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GIL TRUCKING                        OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GIL, ALEJANDRO                      ADDRESS ON FILE
GIL, ANTONIO                        ADDRESS ON FILE
GILBARCO INC                        7300 W FRIENDLY AVE GREENSBORO NC 27410
GILBARCO INC                        12249 COLLECTIONS CENTER DR CHICAGO IL 60693
GILBERRY, SHANNON                   ADDRESS ON FILE
GILBERT A BURTON                    ADDRESS ON FILE
GILBERT, ADRIAN                     ADDRESS ON FILE
GILBERT, BRITTANY                   ADDRESS ON FILE
GILBERT, BRYCE                      ADDRESS ON FILE
GILBERT, CHRISTOPHER                ADDRESS ON FILE
GILBERT, CHRISTOPHER                ADDRESS ON FILE
GILBERT, DAMIAN                     ADDRESS ON FILE
GILBERT, DAVE                       ADDRESS ON FILE
GILBERT, JAMES                      ADDRESS ON FILE
GILBERT, JAMESON                    ADDRESS ON FILE
GILBERT, JASON                      ADDRESS ON FILE
GILBERT, JEFF                       ADDRESS ON FILE
GILBERT, JEROME                     ADDRESS ON FILE
GILBERT, JOHN                       ADDRESS ON FILE
GILBERT, JOHN                       ADDRESS ON FILE
GILBERT, JONATHAN                   ADDRESS ON FILE
GILBERT, KANITIA                    ADDRESS ON FILE
GILBERT, KAYLA                      ADDRESS ON FILE
GILBERT, MAURICE                    ADDRESS ON FILE
GILBERT, MITCHELL                   ADDRESS ON FILE
GILBERT, RANDY                      ADDRESS ON FILE
GILBERT, RONALD                     ADDRESS ON FILE
GILBERT, SEAN                       ADDRESS ON FILE
GILBERTO                            ADDRESS ON FILE
GILBERTO BERNABE                    ADDRESS ON FILE
GILBERTS MOBILE SERVICE INC         440 TENNESSE ST. ALDRICH MO 65601
GILBERTS MOBILE SERVICE INC         443 TENNEESSEE ST. ALDRICH MO 65601
GILBERTS MOBILE SERVICE INC         2329 WEST DIVISION SPRINGFIELD MO 65802
GILCHRIST, RAYMOND                  ADDRESS ON FILE
GILCHRIST, STEVE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 729 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 738 of 2156

Claim Name                           Address Information
GILDEA, SHANNA                       ADDRESS ON FILE
GILE, RUSTY                          ADDRESS ON FILE
GILEA, MIRCEA                        ADDRESS ON FILE
GILES FIRE PROTECTION CO., INC.      3749 GETWELL COVE MEMPHIS TN 38118
GILES, BALTAZAR                      ADDRESS ON FILE
GILES, BALTAZAR                      ADDRESS ON FILE
GILES, BALTAZAR                      ADDRESS ON FILE
GILES, BARBARA                       ADDRESS ON FILE
GILES, DAMIEN                        ADDRESS ON FILE
GILES, GRANT                         ADDRESS ON FILE
GILES, JON                           ADDRESS ON FILE
GILES, MICHAEL                       ADDRESS ON FILE
GILFORD, SHAWN                       ADDRESS ON FILE
GILICH, JUSTIN                       ADDRESS ON FILE
GILILLAND, DICK                      ADDRESS ON FILE
GILJES TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GILKES, KEVIN                        ADDRESS ON FILE
GILL 22 TRUCKING LLC                 503 E CONNER CT. OAK CREEK WI 53154
GILL BROS XPRESS INC                 2564 N CONSTANCE AVE FRESNO CA 93722-8753
GILL BROTHERS FAST FREIGHTLINE INC   2800 MARS HILLS ST MODESTO CA 95355
GILL BROTHERS TRANSPORT LLC          4623 COUNTRY CROSSING DR SPRING TX 77388
GILL CARRIER                         ADDRESS ON FILE
GILL EXPRESS ENTERPRISES LLC         OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
GILL EXPRESS INC                     615 MAPLE DRIVE STREAMWOOD IL 60107
GILL FREIGHT MANAGEMENT INC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GILL FREIGHTWAYS INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GILL TRANSPORT                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GILL TRUCK LINES                     24120 E BROADWAY CT LIBERTY LAKE WA 99019
GILL TRUCKING INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GILL TRUCKING INC.                   1484 CRESCENT DR STREETSBORO OH 44241
GILL TRUCKING LLC                    GILL TRUCKING LLC, 23755 HOPEWELL MANOR TERRACE ASHBURN VA 20148
GILL WAY TRUCKING LLC                PO BOX 823293 VANCOUVER WA 98682
GILL XPRESS LLC                      10050 SUNMARK LANE AVON IN 46123
GILL, AKASH                          ADDRESS ON FILE
GILL, ALEXANDER                      ADDRESS ON FILE
GILL, AZHAR                          ADDRESS ON FILE
GILL, BARRY                          ADDRESS ON FILE
GILL, CASSANDRA                      ADDRESS ON FILE
GILL, DAVID                          ADDRESS ON FILE
GILL, GEORGE                         ADDRESS ON FILE
GILL, GREGORY                        ADDRESS ON FILE
GILL, GURVINDER SINGH                ADDRESS ON FILE
GILL, JAGDEV                         ADDRESS ON FILE
GILL, PAUL                           ADDRESS ON FILE
GILL, SEAN M                         ADDRESS ON FILE
GILL, STEVEN                         ADDRESS ON FILE
GILLANI LOGISTICS INC                OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
GILLASPIE, DYLAN                     ADDRESS ON FILE
GILLCO LOGISTICS                     323 LOS ALAMOS PL NE CALGARY AB T1Y 7G8 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 730 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 739 of 2156

Claim Name                           Address Information
GILLCO SOLUTIONS                     6765 E. SUSSEX WAY FRESNO CA 93727
GILLE, RAYMOND                       ADDRESS ON FILE
GILLEN, MICHAEL                      ADDRESS ON FILE
GILLENWATER, THOMAS                  ADDRESS ON FILE
GILLESPIE PLUMBING, LLC              PO BOX 3175 OREGON CITY OR 97045
GILLESPIE, ALVIN                     ADDRESS ON FILE
GILLESPIE, CURTIS                    ADDRESS ON FILE
GILLESPIE, DARRELL                   ADDRESS ON FILE
GILLESPIE, DEJA                      ADDRESS ON FILE
GILLESPIE, DOUGLAS                   ADDRESS ON FILE
GILLESPIE, GARY                      ADDRESS ON FILE
GILLESPIE, JAMES                     ADDRESS ON FILE
GILLESPIE, JILL                      ADDRESS ON FILE
GILLESPIE, KYE                       ADDRESS ON FILE
GILLESPIE, LARRY                     ADDRESS ON FILE
GILLESPIE, LAVETTACU                 ADDRESS ON FILE
GILLESPIE, MICHAEL                   ADDRESS ON FILE
GILLESPIE, MICHAEL J                 ADDRESS ON FILE
GILLESPIE, RICHARD                   ADDRESS ON FILE
GILLESPIE, SIDNEY                    ADDRESS ON FILE
GILLESPIE, STEVEN                    ADDRESS ON FILE
GILLESPIE, TYLER                     ADDRESS ON FILE
GILLETT LOGISTICS INC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GILLETTE, REYANNA                    ADDRESS ON FILE
GILLETTE, SUZETTE                    ADDRESS ON FILE
GILLETTE, TIMOTHY                    ADDRESS ON FILE
GILLIAM TRUCKING INC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GILLIAM, AUTURIEO                    ADDRESS ON FILE
GILLIAM, AUTURIEO L                  ADDRESS ON FILE
GILLIAM, MARCUS                      ADDRESS ON FILE
GILLIAM, ROGER                       ADDRESS ON FILE
GILLIAM, TORIANO                     ADDRESS ON FILE
GILLIARD, HAROLD                     ADDRESS ON FILE
GILLIARD, MITCHELL                   ADDRESS ON FILE
GILLIG                               ATTN: CHARLENE MAFFIT 25972 EDEN LANDING RD HAYWARD CA 94545
GILLIG CORP.                         ATTN: CHARLENE MAFFIT 451 DISCOVERY DR LIVERMORE CA 94551
GILLIGAN, KOLLIN                     ADDRESS ON FILE
GILLILAND, KENNETH                   ADDRESS ON FILE
GILLILAND, PAM                       ADDRESS ON FILE
GILLILAND, TIM                       ADDRESS ON FILE
GILLINS, WAYNE                       ADDRESS ON FILE
GILLIS, TEASHA                       ADDRESS ON FILE
GILLISON, JOANN                      ADDRESS ON FILE
GILLISPIE, MARK                      ADDRESS ON FILE
GILLISSIE, KEVIN                     ADDRESS ON FILE
GILLMAN, GARY                        ADDRESS ON FILE
GILLMORE, CONNOR                     ADDRESS ON FILE
GILLOCK-HOBBS, BRIAN                 ADDRESS ON FILE
GILLOTT, LUKE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 731 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 740 of 2156

Claim Name                           Address Information
GILLOW, KARL                         ADDRESS ON FILE
GILLSON TRANS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GILLSON TRANS INC                    50 N SALADO AVE 5 PATTERSON CA 95363
GILLSON TRANSPORT                    OR FACTOR DIRECT CORP, PO BOX 606 MAPLE ON L6A1S5 CANADA
GILLSON TRUCKING INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GILLUM, JIMMY                        ADDRESS ON FILE
GILLUND, JAMES                       ADDRESS ON FILE
GILMAN ELECTRIC SUPPLY               ATTN: ERIC JACKOMINO 15 GRANITE ST ROCKLAND ME 04841
GILMAN GEAR                          ADDRESS ON FILE
GILMAN, BRIAN                        ADDRESS ON FILE
GILMARTIN, ROBERT P                  ADDRESS ON FILE
GILMER, JOSEPH                       ADDRESS ON FILE
GILMETTE, ROBERT                     ADDRESS ON FILE
GILMORE PRODUCTS                     307 27TH ST ORLANDO FL 32806
GILMORE TAYLOR, DAVONTA              ADDRESS ON FILE
GILMORE, BRYAN                       ADDRESS ON FILE
GILMORE, CASSELL                     ADDRESS ON FILE
GILMORE, CHRISTOPHER                 ADDRESS ON FILE
GILMORE, CLARENCE                    ADDRESS ON FILE
GILMORE, DELTON                      ADDRESS ON FILE
GILMORE, JIMMIE L                    ADDRESS ON FILE
GILMORE, JIMMIE L                    ADDRESS ON FILE
GILMORE, MICHAEL                     ADDRESS ON FILE
GILMORE, MICHAEL                     ADDRESS ON FILE
GILMORE, ROBERT                      ADDRESS ON FILE
GILMORE, TRAKILION                   ADDRESS ON FILE
GILOMEN, DARRELL                     ADDRESS ON FILE
GILREATH, BRANDON                    ADDRESS ON FILE
GILREATH, JOHN                       ADDRESS ON FILE
GILROY, JOHN                         ADDRESS ON FILE
GILSON, JONATHON                     ADDRESS ON FILE
GILSON, RUSSELL                      ADDRESS ON FILE
GILTNER LOGISTIC SERVICES, INC.      C/O TAB, PO BOX 150290 OGDEN UT 84415-9902
GILTON RESOURCE RECOVERY/TRANSFER    755 S YOSEMITE AVE OAKDALE 95361 4039
FACILI
GILYARD, ERIC                        ADDRESS ON FILE
GIMENO, MARIO                        ADDRESS ON FILE
GINASH TRANSFER LLC                  OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
GINGRICH FARMS TRANSPORT LLC.        300 E WADSWORTH RD BAD AXE MI 48413
GINGRICH, BRIAN                      ADDRESS ON FILE
GINN, JOSH                           ADDRESS ON FILE
GINN, SCOTT                          ADDRESS ON FILE
GINTER, JAN                          ADDRESS ON FILE
GINTHER, JOSHUA                      ADDRESS ON FILE
GINTY, THOMAS J                      ADDRESS ON FILE
GIO EXPRESS INC - NEW YORK           2180 FIFTH AVE STE 1B RONKONKOMA NY 11779
GIO EXPRESS TRUCK LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GIO TRANSIT LLC                      12416 GREEN ASH LANE CHARLOTTE NC 28215
GIO TRANSPORTATION CORPORATION       OR AEROFUND FINANCIAL INC. 6910 SANTA TERESA BLVD SAN JOSE CA 95119



Epiq Corporate Restructuring, LLC                                                                 Page 732 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 741 of 2156

Claim Name                           Address Information
GIOMBETTI, THOMAS                    ADDRESS ON FILE
GIORDANO, MATTHEW                    ADDRESS ON FILE
GIORDANO, RALPH C                    ADDRESS ON FILE
GIORGI, AMY                          ADDRESS ON FILE
GIORGI, JOSHUA                       ADDRESS ON FILE
GIORGI, MARTIN                       ADDRESS ON FILE
GIORGI, MARTIN                       ADDRESS ON FILE
GIORGI, PETER                        ADDRESS ON FILE
GIORGIO, VINCENT                     ADDRESS ON FILE
GIOVANNI LOPRESTI                    ADDRESS ON FILE
GIOVANNI R FOSKO                     ADDRESS ON FILE
GIOYAL INVESTMENTS CORP              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GIPE, RANDY                          ADDRESS ON FILE
GIPSON, BERNARD                      ADDRESS ON FILE
GIPSON, BRIAN                        ADDRESS ON FILE
GIPSON, ROTIMMI                      ADDRESS ON FILE
GIRALDO, JORGE                       ADDRESS ON FILE
GIRALO, STEVE                        ADDRESS ON FILE
GIRAO, MICHAEL                       ADDRESS ON FILE
GIRARD, JUAN                         ADDRESS ON FILE
GIRARD, TERRI                        ADDRESS ON FILE
GIRARDIS TOWING, INC.                3183 D RD GRAND JUNCTION CO 81504
GIRASUOLO, PETER                     ADDRESS ON FILE
GIRBONY, DAVID                       ADDRESS ON FILE
GIROLA, MARK                         ADDRESS ON FILE
GIRON, JOE                           ADDRESS ON FILE
GIRONA, KENNETH                      ADDRESS ON FILE
GIROUARD PLUMBING & HEATING          208 PAKACHOAG ST AUBURN MA 01501
GIRTEN, ROYCE                        ADDRESS ON FILE
GIS TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GISS FREIGHT LOGISTICS LLC           OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
GIST, CECIL                          ADDRESS ON FILE
GITHU, PATRICK                       ADDRESS ON FILE
GITLAB INC                           PO BOX 8244 PASADENA CA 91109
GITSCHLAG, MARK                      ADDRESS ON FILE
GITT-ETTER, JODI                     ADDRESS ON FILE
GITTINGS, PAUL                       ADDRESS ON FILE
GITTS SPRING CO                      PO BOX 1497 AUBURN WA 98071
GITZ INC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GIUNTO, VINCENZO                     ADDRESS ON FILE
GIUSTINO, ANTHONY                    ADDRESS ON FILE
GIUSTO, DEREK M                      ADDRESS ON FILE
GIVAUDAN                             KATTIA OLECKI, 30 HEMLOCK DR CONGERS NY 10920
GIVE2GET, INC                        OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
GIVEM60 EXPRESS LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GIVENS INC.                          1720 SOUTH MILITARY HIGHWAY CHESAPEAKE VA 23320
GIVENS, HORACE                       ADDRESS ON FILE
GIVENS, IAN                          ADDRESS ON FILE
GIVENS, JEWEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 733 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 742 of 2156

Claim Name                          Address Information
GIVOGRE, CAMERON                    ADDRESS ON FILE
GIXXER TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GIZA TRUCKING INC                   OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
GIZZI, TROY                         ADDRESS ON FILE
GJ ENT LLC                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GJ GARDNER                          ADDRESS ON FILE
GJ GROUP INC                        P O BOX 7398 GREENWOOD IN 46142
GJ TRANSPORT LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GJATA, ALBERT                       ADDRESS ON FILE
GJM TRANSPORT LLC                   OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
GJOLEKA, ALFRED                     ADDRESS ON FILE
GK AND K COMPANY FREIGHT LLC        OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
GK CARGO, INC.                      1449 CHASE CT, 0 BUFFALO GROVE IL 60089
GK CARRIER                          22334 123RD PL SE KENT WA 98031
GK CARRIER (MC1123224)              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GK EXPRESS CORPORATION              5135 OVERBEND TRL SUWANEE GA 30024
GK MEHAR INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GKS TRANSPORT INC                   OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
GKS TRUCKING LLC                    99 ASHTON STREET CARLISLE PA 17015
GKX TRANSPORT LLC                   OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
GL GROUP INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GL HYDRAULICS, INC.                 565 BIRCH COURT UNIT I COLTON CA 92324
GL MOBLEY TRUCKING INC.             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GL SAYRE INC                        120 INDUSTRIAL WAY CONSHOHOCKEN PA 19428
GLA EXPRESS INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GLACIER COMPUTER, L.L.C.            46 BRIDGE ST 1 NEW MILFORD CT 06776
GLADE, MICHAEL                      ADDRESS ON FILE
GLADEN, MICHAEL                     ADDRESS ON FILE
GLADFELTER, MARK                    ADDRESS ON FILE
GLADHILL TRACTOR MRT                5509 MOUNT ZION RD FREDERICK MD 21703
GLADIATOR EXPRESS LOGISTICS LLC     OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
GLADIATOR LOGISTICS GROUP LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GLADIATOR TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GLADNEY, TIMOTHY                    ADDRESS ON FILE
GLADSON, MATTHEW                    ADDRESS ON FILE
GLADSTONE EXCAVATING AND CONCRETE   28188 29 MILE RD NEW HAVEN MI 48048
GLADSTONE MITSUBISHI                18500 SE MCLOUGHLIN BLVD MILWAUKIE OR 97267
GLADSTONE TRANSPORTATION LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GLADSTONE, WALTER                   ADDRESS ON FILE
GLADYS BOYZ TRUCKING                OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
GLADYS TRANSPORTATION INC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GLAN LOGISTICS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GLANDER, PATRICK                    ADDRESS ON FILE
GLANTUS INC                         99 ALMADEN BLVD SUITE 600 SAN JOSE CA 95113
GLANTZ, NORRIS                      ADDRESS ON FILE
GLANVILLE, JIM                      ADDRESS ON FILE
GLAPION, MICHAEL                    ADDRESS ON FILE
GLASCO, ANTHONY                     ADDRESS ON FILE
GLASCO, GREGORY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 734 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 743 of 2156

Claim Name                              Address Information
GLASCO, LEWIS                          ADDRESS ON FILE
GLASER, DYLAN                          ADDRESS ON FILE
GLASER, JAMES                          ADDRESS ON FILE
GLASER, MICHAEL                        ADDRESS ON FILE
GLASFLOSS                              310 MAIN AVE WAY SE HICKORY NC 28602
GLASFLOSS INDUSTRIES                   310 MAIN AVE WAY SE HICKORY NC 28602
GLASFLOSS INDUSTRIES                   ATTN: ALYSSA GUTIERREZ 310 MAIN AVE WAY SE HICKORY NC 28602
GLASFLOSS INDUSTRIES                   ATTN: BRIANNA RODRIGUEZ 310 MAIN AVE WAY SE HICKORY NC 28602
GLASFLOSS INDUSTRIES                   ATTN: JESSICA MORALES 310 MAIN AVE WAY SE HICKORY NC 28602
GLASFLOSS INDUSTRIES                   ATTN: YDANIA ROBLEDO 310 MAIN AVE WAY SE HICKORY NC 28602
GLASGOW 718 TRANSPORTATION SERVICES LLC OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GLASGOW, HENRY L                       ADDRESS ON FILE
GLASGOW, JAYLON                        ADDRESS ON FILE
GLASPER, CORRIE                        ADDRESS ON FILE
GLASPER, JAMAL                         ADDRESS ON FILE
GLASPIE, REGGIE                        ADDRESS ON FILE
GLASS AMERICA                          1000 INDUSTRIAL BLVD ALIQUIPPA PA 15001
GLASS CRAFT DOOR CORPORATION           ATTN: CHRISTINA BEAUDOIN 2002 BRITTMOORE RD HOUSTON TX 77043
GLASS DOCTOR                           206 W DUSSEL DR MAUMEE OH 43537
GLASS DOCTOR OF AKRON                  1210 KELLY AVE. AKRON OH 44306
GLASS FACTORY INC                      ATTN: SCOTT POYNTER 2690 FREDERICA ST OWENSBORO KY 42301
GLASS INDUSTRIES USA LLC               340 QUINNIPIAC ST 9 WALLINGFORD CT 06492
GLASS LEWIS & CO LLC                   2323 GRAND BLVD SUITE 1125 KANSAS CITY MO 64108
GLASS MASTERS 2000 LLC                 9340 SALISBURY RD MONCLOVA OH 43542
GLASS SERVICE CENTER INC               1215 3RD AVE ROCK ISLAND IL 61201
GLASS, CHARLENE                        ADDRESS ON FILE
GLASS, CORY                            ADDRESS ON FILE
GLASS, DAVID                           ADDRESS ON FILE
GLASS, GAVIN                           ADDRESS ON FILE
GLASS, JOHN                            ADDRESS ON FILE
GLASS, KIJUAN                          ADDRESS ON FILE
GLASS, LARRY                           ADDRESS ON FILE
GLASS, MARIO                           ADDRESS ON FILE
GLASS, MICHAEL                         ADDRESS ON FILE
GLASS, NAHDIA SADE                     ADDRESS ON FILE
GLASS, NAHDIA SADE                     ADDRESS ON FILE
GLASS, NICHOLAS                        ADDRESS ON FILE
GLASS, WENDY                           ADDRESS ON FILE
GLASSMYER, DONALD                      ADDRESS ON FILE
GLASSTECH SPECIALIST, INC.             2300 S CLINTON AVE, STE A SOUTH PLAINFIELD NJ 07080
GLASTEEL                               ATTN: JAMEL KIRKLIN 285 INDUSTRIAL DR MOSCOW TN 38057
GLASTENDER INC -A-                     ATTN: STEVE GUNN 1455 AGRICOLA DR SAGINAW MI 48604
GLASTER, TYRONE                        ADDRESS ON FILE
GLATZ, DAVID                           ADDRESS ON FILE
GLAUS, JOHN                            ADDRESS ON FILE
GLAVAS, H                              ADDRESS ON FILE
GLAVE, ERIC                            ADDRESS ON FILE
GLAY, ALPHONSO                         ADDRESS ON FILE
GLAZE N SEAL PRODUCTS INC              18207 E MCDURMOTT ST C IRVINE CA 92614



Epiq Corporate Restructuring, LLC                                                                   Page 735 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 744 of 2156

Claim Name                               Address Information
GLAZE TRUCKING LLC                       OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
GLAZE, GEOFFREY                          ADDRESS ON FILE
GLAZIER TRUCKING, LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GLAZIER TRUCKING, LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
GLAZIER, CHRISTOPHER                     ADDRESS ON FILE
GLC CARGO LLC                            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GLD TRUCKING SERVICES, INC.              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
GLEASON INDUSTRIAL PRODUCTS              P.O. BOX 776202 CHICAGO IL 60677-6202
GLEASON, JONNEL                          ADDRESS ON FILE
GLEASON, MICHAEL                         ADDRESS ON FILE
GLEASON, ROSS                            ADDRESS ON FILE
GLEASON, SHANE                           ADDRESS ON FILE
GLEASON, TYLER                           ADDRESS ON FILE
GLECKNER, JIMMY                          ADDRESS ON FILE
GLEESE, CHRISTOPHER                      ADDRESS ON FILE
GLEIC TRUCKING LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GLEIC TRUCKING LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GLEN EG LLC                              PO BOX 882 SMITHVILLE MO 64089
GLEN EG, LLC                             ATTN: EDWARD ETHINGTON PO BOX 12005 OVERLAND PARK KS 66285
GLEN ELLYN STORAGE CORP.                 465 FULLERTON AVE CAROL STREAM IL 60188-5200
GLEN L ANDERSON                          ADDRESS ON FILE
GLEN M PETRICK                           ADDRESS ON FILE
GLEN SUMMIT SPRINGS WATER CO, INC        1551 CRESTWOOD DR MOUNTAIN TOP PA 18707
GLEN SUMMIT SPRINGS WATER CO, INC        PO BOX 129 MOUNTAIN TOP PA 18707
GLENDA E ORTIZ                           ADDRESS ON FILE
GLENDALE MEDICAL GROUP                   500 E COLORADO ST 100 GLENDALE CA 91205
GLENN A DILLAHUNT                        ADDRESS ON FILE
GLENN BARNOSKY DBA BARNOSKY ENTERPRISES 1168 CHUB RUN RD MOUNT CLARE WV 26408-7120
GLENN COUNTY AIR POLUTION CONTROL DIST   PO BOX 351 WILLOWS CA 95988
GLENN D ALLISON                          ADDRESS ON FILE
GLENN GREGG                              ADDRESS ON FILE
GLENN MARTES                             ADDRESS ON FILE
GLENN S BESWICK                          ADDRESS ON FILE
GLENN T GREEN                            ADDRESS ON FILE
GLENN, JACOB                             ADDRESS ON FILE
GLENN, JACOB                             ADDRESS ON FILE
GLENN, JAMES R                           ADDRESS ON FILE
GLENN, JEFF                              ADDRESS ON FILE
GLENN, JOHN                              ADDRESS ON FILE
GLENN, JUSTIN                            ADDRESS ON FILE
GLENN, SHANE                             ADDRESS ON FILE
GLENN, THOMAS                            ADDRESS ON FILE
GLENN, VESHARN                           ADDRESS ON FILE
GLENN, WILLIAM                           ADDRESS ON FILE
GLENN, WILLIAM                           ADDRESS ON FILE
GLENN, WILLIAM P                         ADDRESS ON FILE
GLENNCO TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GLENNS 24HR TOWING                       3157 COTTAGE RD GREENBAY WI 54311
GLENS TIRE                               800 FOREST AVENUE E MORA MN 55051



Epiq Corporate Restructuring, LLC                                                                     Page 736 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 745 of 2156

Claim Name                            Address Information
GLESSNER, WADE                        ADDRESS ON FILE
GLG TRANSPORT LLC                     OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320-4695
GLIC ELECTRICAL                       3060 SOUTH AVE TOLEDO OH 43609
GLICK INCORPORATED                    PO BOX 69 SHAMOKIN DAM PA 17876
GLIDER EXPRESS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GLIDER LOGISTICS INC                  16 WILD INDIGO CRES BRAMPTON ON L6R2K1 CANADA
GLIDER OIL COMPANY INC                PO BOX 289, 5276 US ROUTE 11 PULASKI NY 13142
GLIDEWELL TRANSPORTATION              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GLIDEWELL, KEDON                      ADDRESS ON FILE
GLIECO, DAVID                         ADDRESS ON FILE
GLIN, MARVIN                          ADDRESS ON FILE
GLINIEWICZ, STEPHEN                   ADDRESS ON FILE
GLINSKI, MARTIN                       ADDRESS ON FILE
GLINT INC.                            62228 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
GLINT INC.                            ATTN: COLLECTIONS, 1000 W MAUDE AVE SUNNYVALE CA 94085
GLISERMAN, EMILY                      ADDRESS ON FILE
GLISS                                 10998 SW 68TH PKWY PORTLAND OR 97223
GLISSON, KEITH                        ADDRESS ON FILE
GLITZNER, ROLF P                      ADDRESS ON FILE
GLIXTEK LOGISTICS, LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GLM TRANSPORT, INC.                   OR AMERISOURCE FUNDING INC, PO BOX 4738 HOUSTON TX 77210
GLOBAL 1 LOGISTICS INC                14125 INDUSTRIAL CENTER DR SHELBY TWP MI 48315
GLOBAL 1 LOGISTICS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GLOBAL BUSINESS INTERGROUP LLC        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GLOBAL CARGO CARE LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GLOBAL CARGO TRUCKING INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GLOBAL CARRIER INC                    49914 POINTE XING PLYMOUTH MI 48170-6434
GLOBAL CARRIER LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GLOBAL CARRIERS INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
GLOBAL CLEANING SOLUTIONS INC         134 NW 107TH TERRACE PLANTATION FL 33324
GLOBAL CLOTHING INDUSTRIES LLC        300 WHARTON CIRCLE SW ATLANTA GA 30336
GLOBAL CONVENTION SERVICES LTD        PO BOX 2329 SAINT JOHN NB E2L 3V6 CANADA
GLOBAL CORE INC                       OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
GLOBAL CORE LOGISTICS LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
GLOBAL DELIVERY AND LOGISTICS LLC     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GLOBAL DIS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GLOBAL EQUIPMENT COMPANY INC          GLOBAL INDUSTRIAL, 29833 NETWORK PL CHICAGO IL 60673
GLOBAL EQUIPMENT COMPANY INC          29833 NETWORK PL CHICAGO IL 60673-1298
GLOBAL EVOLUTION LOGISTICS LLC        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GLOBAL EXPEDITED INC                  301 NJ 17, FLOOR 11 RUTHERFORD NJ 07070
GLOBAL EXPEDITED LOGISTICS LLC        OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
GLOBAL EXPEDITED TRANSPORTATION INC   3121 S RIVERSIDE AVE BLOOMINGTON CA 92316
GLOBAL EXPRESS 1 LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GLOBAL EXPRESS LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GLOBAL EXPRESS LLC (SAVAGE MN)        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GLOBAL EXPRESS LOGISTICS              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GLOBAL EXPRESS LOGISTICS INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GLOBAL EXPRESS TRANSPORTATION INC.    OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021



Epiq Corporate Restructuring, LLC                                                                  Page 737 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 746 of 2156

Claim Name                             Address Information
GLOBAL EXPRESS TRANSPORTATION INC.     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GLOBAL EXPRESSWAY LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GLOBAL FOUNDRIES CTSI                  400 STONEBREAK EXT BALLSTON SPA NY 12020
GLOBAL FREIGHT LINES INC               5351 N EAST RIVER RD 802 CHICAGO IL 60656
GLOBAL FREIGHT LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GLOBAL FREIGHT LOGISTICS INC.          2600 OAK STREET 1399 ST. CHARLES IL 60175
GLOBAL FREIGHT LOGISTICS LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GLOBAL FREIGHT SERVICES LLC            OR BLU CAPITAL, PO BOX 17759 EL PASO TX 79917
GLOBAL FREIGHT SYSTEMS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GLOBAL FUELING SYSTEMS                 42 FIELD ST. WEST BABYLON NY 11704
GLOBAL INDUSTRIAL                      17 WEST STOW ROAD, PO BOX 562 MARLTON NJ 08053
GLOBAL INDUSTRIES                      17 W STOW ROAD MARLTON NJ 08053
GLOBAL INDUSTRIES                      ATTN: FREIGHT CLAIMS PO BOX 562 MARLTON NJ 08053
GLOBAL INDUSTRIES                      ATTN: MARIA CHERRY PO BOX 562 MARLTON NJ 08053
GLOBAL INDUSTRIES                      ATTN: FREIGHT CLAIMS 107 GAITHER DR MT LAUREL NJ 08054
GLOBAL INDUSTRIES, INC.                107 GAITHER DRIVE MOUNT LAUREL NJ 08054
GLOBAL LOGISTICS & DELIVERY SERVICES   OR WEX FLEET ONE PO BOX 94565 CLEVELAND OH 44101-4565
INC
GLOBAL LOGISTICS FREIGHT LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GLOBAL LOGISTICS LLC                   OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
GLOBAL LOGISTICS US LLC                11295 CACTUS TOWER AVENUE UNIT 101 LAS VEGAS NV 89135
GLOBAL M TRANSPORT LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GLOBAL MASTER TRANS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GLOBAL MONTELLO GROUP                  15 N.E. INDUSTRIAL ROAD BRANFORD CT 06405
GLOBAL MONTELLO GROUP                  PO BOX 3372 BOSTON MA 02241
GLOBAL NEW BEGINNINGS INC              ATTN: HEATHER KERNER PRODUCTION/FINANCE 4042 W 82ND CT MERRILLVILLE IN 46410
GLOBAL ONSITE CORPORATION              621 W. COLLEGE STREET GRAPEVINE TX 76051
GLOBAL PARCEL EXPRESS LLC              OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
GLOBAL POINT EXPRESS LLC               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
GLOBAL POOL PRODUCTS ECHO              ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GLOBAL PRECISION INVESTMENTS INC       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GLOBAL SAFETY TEXTILES LLC             1556 MONTGOMERY ST SOUTH HILL VA 23970
GLOBAL SOFTWARE, INC.                  PO BOX 200386 PITTSBURGH PA 15251
GLOBAL SPEDITION                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GLOBAL STAR EXPRESS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GLOBAL STRATEGIES INC                  1500 DISTRICT AVE 2100 BURLINGTON MA 01803
GLOBAL SYN TURF                        5960 INGLEWOOD DR STE 150 PLEASANTON CA 94588
GLOBAL TRANS LLC                       OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
GLOBAL TRANS SOLUTIONS INC             1627 N MITCHELL AVE ARLINGTON HEIGHTS IL 60004
GLOBAL TRANSIT INC                     5201 HARTWELL ST DEARBORN MI 48126
GLOBAL TRANSIT SYSTEMS INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GLOBAL TRANSPORT COMPANY               301 MCCULLOUGH DRIVE STE 400 CHARLOTTE NC 28262
GLOBAL TRANSPORT CORP                  OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
GLOBAL TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GLOBAL TRANSPORT LOGISTICS             208 HARRISTOWN RD GLEN ROCK NJ 07452
GLOBAL TRANSPORTATION LLC              1603 N CAMERSON ST HARRISBURG PA 17103
GLOBAL TRANSPORTATION MANAGEMENT LLC   34450 INDUSTRIAL RD LIVONIA MI 48150
GLOBAL TRANSPROT LLC                   OR GREAT PLAINS TRANSPORTATION SERVICES PO BOX 4539 CAROL STREAM IL 60197
GLOBAL TRANZ                           DBA CERASIS INC, PO BOX 21248 EAGAN MN 55121



Epiq Corporate Restructuring, LLC                                                                   Page 738 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 747 of 2156

Claim Name                               Address Information
GLOBAL TRANZ                             ATTN CLAIMS DEPT, PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: ALEJANDRO VARGAS PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: CAMILA PATII O PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: CAMILA PATINO PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: CARGO CLAIMS CARGO CLAIMS PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: CHRISTIN FRANCIS CARGO CLAIMS PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: CHRISTIN FRANCIS FREIGHT PRO PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: DARLYS CERA PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: GLOBAL TRANZ CARGO CLAIMS PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             ATTN: JOSE PAVA PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             CLAIMS DEPARTMENT, PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             GLOBAL TRANZ, PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ                             PO BOX 6348 SCOTTSDALE AZ 85261
GLOBAL TRANZ LOGISTICS LTD               OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
GLOBAL TRUCKING LLC                      OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
GLOBAL WAY INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GLOBAL X TRUCKLINE LLC                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GLOBALAIR TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GLOBALLY STRUCTURED INC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
GLOBALTRANZ                              1830 S OCEAN DR UNIT 4808 HALLANDALE BEACH FL 33009
GLOBALTRANZ ENTERPRISE                   GLOBALTRANZ ENTERPRISE, PO BOX 6348 SCOTTSDALE AZ 85261
GLOBALTRANZ ENTERPRISES                  GLOBALTRANZ ENTERPRISES, PO BOX 6348 SCOTTSDALE AZ 85261
GLOBALTRANZ ENTERPRISES, INC.            PO BOX 203285 DALLAS TX 75320
GLOBALTRANZ R                            PO BOX 6348 SCOTTSDALE AZ 85261
GLOBE ASPHALT PAVING CO., INC.           P.O. BOX 19168 INDIANAPOLIS IN 46219
GLOBE EXPRESS LANE INC                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GLOBE LOGISTICS INC                      70 ELM ST NORTH ARLINGTON NJ 07031
GLOBE LOGISTICS INC                      217 WASHINGTON AVE CARLSTADT NJ 07072
GLOBE TECH LLC                           101 INDUSTRIAL DR PLYMOUTH MI 48170
GLOBE TRANS LLC                          OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
GLOBE TRANSPORTATION INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GLOBEMASTER INCORPORATED                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GLOBEMAX EXPRESS INC                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
GLOBERSON, RICHARD                       ADDRESS ON FILE
GLOBETROTTER LOGISTICS INC               OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
GLOBEX TRANSPORT INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GLOBUS EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GLOBUS TRANSPORT INC                     OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
GLOBUS TRANSPORT INC                     22000 HUMBOLDT RD, STE 200 LAKEVILLE MN 55044
GLOE, DAVID                              ADDRESS ON FILE
GLOECKNER, MICHAEL                       ADDRESS ON FILE
GLOGOWSKI, PETER                         ADDRESS ON FILE
GLORIA ALEJO JONES                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GLORIA OROZCO, MAYRA                     ADDRESS ON FILE
GLORIA TRUCKING EXPRESS LLC              OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
GLORIFIED KINGDOM TRUCKING COMPANY LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GLORIOSO, CHRISTOPHER                    ADDRESS ON FILE
GLORY AUTO TRANSPORT INC.                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
GLORY HAULING ENTERPRISES LLC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                     Page 739 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 748 of 2156

Claim Name                          Address Information
GLORY LANDLINE LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GLORY ROAD TRANSPORTATION LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GLORY TO GOD CROSS CARRIER LLC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GLORY TRANSPORTATION INC            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
GLOSEN, SHANE                       ADDRESS ON FILE
GLOTFELTY, MARK                     ADDRESS ON FILE
GLOVER, BRANDON                     ADDRESS ON FILE
GLOVER, CHRISTOPHER                 ADDRESS ON FILE
GLOVER, DANGELO                     ADDRESS ON FILE
GLOVER, DANGELO                     ADDRESS ON FILE
GLOVER, DARRYL                      ADDRESS ON FILE
GLOVER, DAVID                       ADDRESS ON FILE
GLOVER, ERIC                        ADDRESS ON FILE
GLOVER, HERMAN                      ADDRESS ON FILE
GLOVER, IAN                         ADDRESS ON FILE
GLOVER, KEITH                       ADDRESS ON FILE
GLOVER, MARCO                       ADDRESS ON FILE
GLOVER, RICHARD                     ADDRESS ON FILE
GLOVER, THOMAS                      ADDRESS ON FILE
GLOVER, TRISTON                     ADDRESS ON FILE
GLOVER, WENDELL                     ADDRESS ON FILE
GLOVER, ZIYON                       ADDRESS ON FILE
GLOVIC TRANSPORT INC                OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
GLOVIS AMERICA INC                  17305 VON KARMAN AVE STE 200 IRVINE CA 92614
GLOVIS AMERICA INC                  ATTN: JOYCE TURALBA PARTS 17305 VON KARMAN AVE IRVINE CA 92614
GLOVIS AMERICA INC                  PARTS 17305 VON KARMAN AVE IRVINE CA 92614
GLS EXPRESS INC                     2375 N CLIFF DR BOURBONNAIS IL 60914-4309
GLS LOGISTICS LLC                   OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
GLS LOGISTICS SYSTEMS CANADA LTD    CP 11118 SUCCURSALE CENTRE-VILLE MONTREAL QC H3C 5H4 CANADA
GLS LOGISTICS SYSTEMS CANADA LTD.   BOX 11118 STATION CENTRE-VILLE MONTREAL QC H3C 5H4 CANADA
GLS LOGISTICS SYSTEMS CANADA LTD.   10500 RYAN AVENUE DORVAL QC H9P 2T7 CANADA
GLS TRUCKING LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GLT INC                             10 CANAL ST 318 MIAMI SPRINGS FL 33166
GLT INC                             ATTN: API LOGIN OSD 10 CANAL ST STE 318 MIAMI SPRINGS FL 33166
GLT LOGISTICS                       10 CANAL ST 318 MIAMI SPRINGS FL 33166
GLT LOGISTICS                       ATTN: ANA JARAMILLO OSD 10 CANAL ST 318 MIAMI SPRINGS FL 33166
GLT LOGISTICS                       ATTN: VALENTINA QUINTANA OS&D 10 CANAL ST STE 318 MIAMI SPRINGS FL 33166
GLUCKSNIS, WILLIAM                  ADDRESS ON FILE
GLUECKLER METAL INC.                13 WILLIAM ST. ELMVALE ON L0L 1P0 CANADA
GLUICK, PATRICK                     ADDRESS ON FILE
GLUICK, PATRICK J                   ADDRESS ON FILE
GLUNT, LEONARD                      ADDRESS ON FILE
GLUVNA, CARMEN                      ADDRESS ON FILE
GLX TRANS INC                       OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
GLYNN, ERIC                         ADDRESS ON FILE
GLYNN, LISA                         ADDRESS ON FILE
GM CARGO FORWARDERS INCORPORATED    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GM CARRIER LLC                      2609 S 275TH PL FEDERAL WAY WA 98003-2726
GM ELITE CO                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                               Page 740 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 749 of 2156

Claim Name                           Address Information
GM EXPEDITE LLC                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GM EXPRESSA INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GM TRANSPORT, INC.                   OR AFS, INC., PO BOX 347 MADISON SD 57042
GM TRUCKING LLC                      133 TORINGTON WAY NEWARK DE 19702
GM XPRESS INC                        OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
GMA EXPRESS, LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GMAN TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GMAX TRANSPORT LLC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GMB CARRIER LLC                      708 E JEFFERSON ST O FALLON IL 62269
GMC LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GMC TRUCKING SERVICE LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GMD EXPRESS INC                      1948 ROYAL LN AURORA IL 60503-7813
GMD TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
GME SOLUTIONS LLC                    OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GMG EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GMG EXPRESS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GMG TRANSPORTATION                   ATTN: RENEE SAVARIA 65 ORVILLE DR, STE 1 BOHEMIA NY 11716
GMH TRANS, LLC                       7668 US ROUTE 5 WESTMINSTER VT 05158
GML FREIGHT LLC                      4451 S 49TH ST TACOMA WA 98409-1923
GMO LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GMP TRANSPORT LLC                    OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
GMPS TRANSPORTATION                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GMR XPRESS INCORPORATED              OR ACCORD CAPITAL GROUP LLC 3 GRANT SQUARE SUITE 209 HINSDALE IL 60521
GMR XPRESS INCORPORATED              7928 GRANT ST DARIEN IL 60561
GMS AUTOGLASS                        FILE 749279 LOS ANGELES CA 90074
GMS AUTOGLASS                        5657 SILVER VALLEY AVE AGOURA HILLS CA 91301
GMS GLOBAL GROUP INC                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
GMS HYDRAULICS INC                   PO BOX 16148 HOOKSETT NH 03106
GMS TRANSPORTATION INC               OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
GMS TRANSPORTATION INC (MC1247258)   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
GMS TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GMT LOGISTIC INC                     50706 VARSITY COURT WIXOM MI 48393
GMT TRANSPORT INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GMV TRUCK LINE LLC                   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
GN CARRIER INC                       OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
GN TRANSPORT                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GN TURMAN TRUCKING LLC               123 DARWISH DR MCDONOUGH GA 30252
GNAT TRANS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GNATYUK, DENIS                       ADDRESS ON FILE
GND TRANSPORT INC                    2839 COLLETON DR MARIETTA GA 30066
GND TRANSPORT INC (MC882992)         OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
GND TRANSPORT SERVICES LLC           7750 E PADRE ISLAND HWY BROWNSVILLE TX 78521
GNG TRANS CORPORATION                6103 FIRE SIDE CIRCLE HARRISBURG PA 17109
GNH TRUCKING, INC.                   PO BOX 204 FARMINGTON PA 15437
GNI EXPRESS INC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GNJS ENTERPRISES LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GNN TRANSPORTATION INC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GNP TRANSPORT CO.                    OR AFS, INC., PO BOX 347 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                                 Page 741 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 750 of 2156

Claim Name                           Address Information
GNP TRANSPORTATION LLC               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
GNS TRUCKING INC                     OR WINDOM LEASING CO, 7545 S MADISONST BURR RIDGE IL 60527
GNT LOGISTICS                        24135 W 112TH PL OLATHE KS 66061
GO BEYOND FREIGHT & LOGISTICS INC    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GO BROTHERS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
GO CARRIER INC                       9946 CEDARSTONE LN AVON IN 46123
GO COLUMBUS INC                      OR TRUCKERS EMPIRE INC 228 MAIN ST, STE 70091 STATEN ISLAND NY 10307
GO DAWGS TRANSPORTER LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
GO DEVIL MFG CO OF LA LLC            18649 WOMACK RD BATON ROUGE LA 70817
GO EXPRESS LLC (MC1110426)           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GO EXPRESS TRANSPORTATION LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GO GET IT & GO INC                   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
GO GET IT EXPRESS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GO GET IT TRANSPORT LLC              OR OUTGO, 117 EAST LOUISA STREET SEATTLE WA 98102
GO GREEN LOGISTICS, LLC              PO BOX 382 HILLBURN NY 10931
GO GREEN TRUCKING, INC               PO BOX 382 HILLBURN NY 10931
GO LOGISTICS HUB                     OR OCEAN BANK FACTORING DIVISION 780 NW 42ND AVE. SUITE 300 MIAMI FL 33126
GO LOGISTICS LLC                     OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
GO NEAL LOGISTICS INCORPORATED       OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
GO ON CARGO LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GO POWER INC                         OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
GO POWERTRAIN LLC                    6606 RAWLEY PIKE HINTON VA 22831
GO TIME LOGISTICS LLC                814 S PINE AVE HASTINGS NE 68901-7029
GO TO LOGISTICS INC                  2233 N WEST STREET, 2233 N WEST STREET RIVER GROVE IL 60171
GO-LINE LOGISTICS LLC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
GO-MEN TRUCKING LLC                  OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
GO-TO TRANSPORT, INC.                GO-TO TRANSPORT, INC., PO BOX 2278 BAY CITY MI 48707
GO-YES LOGISTICS INC                 4828 HOLLY AVE PASADENA TX 77503
GO2 CARRIERS INC                     OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GOADISON INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOAL TRANSIT LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
GOAL TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GOAL TRUCKING INC                    OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
GOAN, ANTHONY                        ADDRESS ON FILE
GOAT TRANSPORTATION                  OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
GOATS TRANSPORT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GOBBLE, RONNIE L                     ADDRESS ON FILE
GOBELS TOWING & RECOVERY, INC.       1860 E S RANGE RD NORTH LIMA OH 44452
GOBELS TOWING & RECOVERY, INC.       1591 E WESTERN RESERVE RD POLAND OH 44514
GOBEN, MICHAEL                       ADDRESS ON FILE
GOBER, CRAIG                         ADDRESS ON FILE
GOBER, JOHNATHAN                     ADDRESS ON FILE
GOBEZ LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOBEZIE LLC                          OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
GOBIND FREIGHT CARGO INC             3389 S CHERRY AVE FRESNO CA 93706
GOBIND LLC                           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GOBRECHT, THOMAS                     ADDRESS ON FILE
GOC TRANSPORTATION LLC               PO BOX 492378 LAWERENCEVILLE GA 30049
GOCAB TRANSPORTATION COMPANY         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                 Page 742 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 751 of 2156

Claim Name                          Address Information
GOCH AND SONS TOWING                750 S DEACON ST DETROIT MI 48217
GOCHANOUR, GREGORY                  ADDRESS ON FILE
GOCHENOUR, HAROLD L                 ADDRESS ON FILE
GOCHER, PATRICIA                    ADDRESS ON FILE
GOD BLESS TRANSPORT LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOD BLESS TRANSPORTATION INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GOD FIRST XPRESS LLC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
GOD SPEED TRUCKING LLC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GODAD EXPRESS LLC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GODAR, APRIL                        ADDRESS ON FILE
GODBEE, DARRELL                     ADDRESS ON FILE
GODD2ND TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GODDARD, DEANNA                     ADDRESS ON FILE
GODEK, DOROTHY                      ADDRESS ON FILE
GODEL TRUCKING INC                  2019 HUMFORD AVE HACIENDO HEIGHTS CA 91745
GODFREY, BONNY                      ADDRESS ON FILE
GODFREY, BRIAN                      ADDRESS ON FILE
GODFREY, CATRELL                    ADDRESS ON FILE
GODFREY, LARZ                       ADDRESS ON FILE
GODINA, ANTONIO                     ADDRESS ON FILE
GODINA, EDWARD                      ADDRESS ON FILE
GODINA, FERNANDO                    ADDRESS ON FILE
GODINA, LAMBERTO                    ADDRESS ON FILE
GODINES, MARIO                      ADDRESS ON FILE
GODINEZ, JOSE A                     ADDRESS ON FILE
GODLOCK, GEORGE                     ADDRESS ON FILE
GODOY, ERIC                         ADDRESS ON FILE
GODOY, MARIA                        ADDRESS ON FILE
GODOY, SAMUEL                       ADDRESS ON FILE
GODS EAGLES TRANSPORT, INC.         OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
GODS GIVEN TRANSPORTATION LLC       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GODS MARINERS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GODS PLAN LOGISTICS LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GODS PROPERTY II                    OR BOBTAIL CAPITAL LLC, PO BOX 7410633 CHICAGO IL 60674-0633
GODS WILL TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GODSEY, COREY                       ADDRESS ON FILE
GODSEY, JOHN                        ADDRESS ON FILE
GODSPEED LOGISTICS LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GODWIN HARDWARE & PLUMBING INC      3703 S DIVISION AVE GRAND RAPIDS MI 49548
GODWIN III, LAWRENCE                ADDRESS ON FILE
GODWIN ROAD SERVICE                 1410 28TH AVE PHENIX CITY AL 36869
GODWIN, ALLAN                       ADDRESS ON FILE
GODWIN, DAVID                       ADDRESS ON FILE
GODWIN, WOODROW                     ADDRESS ON FILE
GOEBEL, HAYLEY                      ADDRESS ON FILE
GOEBEL, JOHN                        ADDRESS ON FILE
GOEBEL, JOHN                        ADDRESS ON FILE
GOEBEL, NICHOLAS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 743 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 752 of 2156

Claim Name                           Address Information
GOECKERITZ, BRYAN                    ADDRESS ON FILE
GOECKNER, TIMOTHY                    ADDRESS ON FILE
GOEDDE, DARRIN                       ADDRESS ON FILE
GOEHRING, JEFFREY                    ADDRESS ON FILE
GOESER, KENNETH                      ADDRESS ON FILE
GOETTER, BRETT                       ADDRESS ON FILE
GOETTING, TERRY                      ADDRESS ON FILE
GOETZ ENERGY CORPORATION             PO BOX A BUFFALO NY 14217
GOETZ, MICHAEL                       ADDRESS ON FILE
GOFF & BRITE TRANSPORTATION LLC      OR GULF COAST BANK & TRUST COMPANY P.O. BOX 732148 DALLAS TX 75373-2148
GOFF TRANSPORTATION INC .            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOFF, ASHTON                         ADDRESS ON FILE
GOFF, JUSTIN                         ADDRESS ON FILE
GOFF, RICKY                          ADDRESS ON FILE
GOFF, TERRY                          ADDRESS ON FILE
GOFF, TOMMY                          ADDRESS ON FILE
GOFFARD, KENNETH                     ADDRESS ON FILE
GOFFARD, KENNETH                     ADDRESS ON FILE
GOFFINETT, BOB                       ADDRESS ON FILE
GOFFNEY, RODNEY                      ADDRESS ON FILE
GOFORTH, NEIL                        ADDRESS ON FILE
GOFORTH, TERRY                       ADDRESS ON FILE
GOGA TRANSPORT LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GOGA TRUCKING INC.                   4685 MERLE HAY RD. STE. 209 DES MOINES IA 50322
GOGA TRUCKING INC.                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GOGGINS, CORY                        ADDRESS ON FILE
GOGGLES TRANSPORT LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GOGI TRANS INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GOGO CARGO INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GOGO GL TRANSPORTATION LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GOGOE, MICHAEL E                     ADDRESS ON FILE
GOGREEN TRANSPORT LTD                OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
GOGREEN TRANSPORT LTD.               3421 31 STREET NW EDMONTON AB T6T 1W4 CANADA
GOIN FAR TRANSPORTS LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GOIN MOBILE LLC                      PO BOX HAYDEN CO 81639
GOING N CIRCLES LLC                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GOING ONE DIRECTION XPRESS           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOINGS LAWN CARE LLC                 PO BOX 1628 HILLIARD OH 43026
GOINGS, ANTUANE                      ADDRESS ON FILE
GOINS, BRANDEN                       ADDRESS ON FILE
GOINS, DAVID                         ADDRESS ON FILE
GOINS, DORIAN                        ADDRESS ON FILE
GOINS, EDWARD                        ADDRESS ON FILE
GOINS, NIYAL                         ADDRESS ON FILE
GOINS, TIMOTHY                       ADDRESS ON FILE
GOJO CANADA INC                      ATTN: LAURA HARTMAN TRAFFIC DEPT PO BOX 991 AKRON OH 44309
GOJO INDUSTRIES INC                  ATTN: LAURA HARTMAN PO BOX 991 AKRON OH 44309
GOJO INDUSTRIES INCORPORATED         ATTN: LAURA HARTMAN TRAFFIC DEPT PO BOX 991 AKRON OH 44309
GOJO INDUSTRIES, INC                 PO BOX 991 AKRON OH 44309



Epiq Corporate Restructuring, LLC                                                                 Page 744 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 753 of 2156

Claim Name                             Address Information
GOKEY, BERNARD                         ADDRESS ON FILE
GOLAB, ESTHER                          ADDRESS ON FILE
GOLD APPLE TRUCKING INC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
GOLD CITY TRANSPORTATION LLC           OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GOLD COAST EXPRESS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GOLD COAST TRUCK REPAIR                PO BOX 537 COOS BAY OR 97420
GOLD COAST TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLD EAGLE EXPRESS LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
GOLD EAGLE LOGISTICS INC.              OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
GOLD EAGLE TRANSPORTATION INC          8871 NW 102 ST MEDLEY FL 33178
GOLD EXPRESS LLC                       3200 ASHFORD AVE FORT WORTH TX 76133-3102
GOLD GENERATION WEALTH LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GOLD LINE EXPRESS, INC                 286 MILL CREEK TR NE CLEVELAND TN 37323
GOLD LION TRANSPORTATION LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GOLD MEDAL PRODUCTS                    617 OLD HICKORY BLVD. OLD HICKORY TN 37138
GOLD RING LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOLD ROAD TRANSPORTS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOLD SKY LOGISTICS                     2139 N 72ND CT ELMWOOD PARK IL 60707
GOLD SKY LOGISTICS INCORPORATED        OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
GOLD SKY TRANS INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GOLD STANDARD LOGISTICS INC            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
GOLD STANDARD TRUCKING LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GOLD STAR CARRIER LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GOLD STAR EXPRESS LLC                  OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
GOLD STAR EXPRESS LLC (BOWLING GREEN   OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
KY)
GOLD STAR EXPRESS LLC (BOWLING GREEN   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KY)
GOLD STAR LOGISTICS MANAGEMENT GROUP   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LLC
GOLD STAR TRANS INC                    7116 ALLEGIANCE LANE INDIANAPOLIS IN 46259
GOLD STAR TRANSPORT INC                OR CRESTMARK TPG LLC PO BOX 682909 DRAWER 1965 FRANKLIN TN 37068
GOLD STAR TRANSPORT LLC (MC1173612)    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLD STAR TRANSPORT, LLC               4126 DEENA DR CEDAR FALLS IA 50613
GOLD STAR TRUCKING LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GOLD TOWN TRANS LLC                    3500 PYRITE ST D, 8416 63RD STREET RIVERSIDE CA 92509
GOLD US TRANSPORTATION INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLD WATER TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLD WAY EXPRESS LLC                   11718 CARMEL CREEK RD K103 SAN DIEGO CA 92130
GOLDEN 21 TRANSPORT INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLDEN ARROW LOGISTICS INC             GOLDEN ARROW LOGISTICS INC 1267 ROUTE 5 & 20 PO BOX 225 SILVER CREEK NY 14136
GOLDEN BEAR FIRE EQUIPMENT INC.        PO BOX 864 TRACY CA 95376
GOLDEN BRANCH TRUCKING LLC             OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
GOLDEN BRIDGE TRUCKING INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GOLDEN CAT TRANSPORTATION INC          OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
GOLDEN CLAW TRANZ INC.                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GOLDEN COUNTRY EXPRESS INC             OR BARON FINANCE 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
GOLDEN DESIGNS                         3550 JURUPA ST STE B ONTARIO CA 91761


Epiq Corporate Restructuring, LLC                                                                   Page 745 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 754 of 2156

Claim Name                             Address Information
GOLDEN DISTRIBUTIONS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GOLDEN EAGLE EQUIPMENT                 12861 STATE ROUTE 30 IRWIN PA 15642
GOLDEN EAGLE LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GOLDEN EAGLE TRANSPORTATION LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOLDEN EAGLE TRUCKING LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GOLDEN EAGLE TRUCKING LLC (MC023472)   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GOLDEN EMPIRE FLEET SERVICE            PO BOX 2192 BAKERSFIELD CA 93303
GOLDEN EMPIRE TOWING INC               1915 S UNION AVE BAKERSFIELD CA 93307
GOLDEN EMPIRE TOWING, INC.             D/B/A: GOLDEN EMPIRE FLEET SERVICE PO BOX 2192 BAKERSFIELD CA 93303
GOLDEN EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GOLDEN EXPRESS LLC                     OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415
GOLDEN EXPRESS LLC (PUYALLUP WA)       13503 157 TH ST CT E PUYALLUP WA 98374
GOLDEN FLIGHT TRANSPORTATION           OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
GOLDEN GATE TRANSPORT LLC              OR OTR CAPITAL LLC PO BOX 1175760 ATLANTA GA 30368-7576
GOLDEN GATE TRANSPORT LLC              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
GOLDEN GATE TRANSPORT LLC              838 SOUTHWICK DR EL PASO TX 79928
GOLDEN GATE TRUCK CENTER               P.O. BOX 6038 OAKLAND CA 94603
GOLDEN GATE TRUCK CENTER               8200 BALDWIN ST, PO BOX 6038 OAKLAND CA 94621
GOLDEN H TATE                          ADDRESS ON FILE
GOLDEN HILL TRANSPORT INC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GOLDEN HYDRAULIC & MACH INC.           2966 WIRETON ROAD BLUE ISLAND IL 60406
GOLDEN LANES TRANSPORT LLC             1252 S LA JOLLA AVE APT 3 LOS ANGELES CA 90035
GOLDEN LINE SERVICES INC.              P.O. BOX 213 GRANITE CITY IL 62040
GOLDEN LION INCORPORATED               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLDEN LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOLDEN MILE ENTERPRISES INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOLDEN NUGGET CARRIERS INC             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
GOLDEN ODYSSEY LOGISTICS LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GOLDEN PANTHER LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOLDEN PEDAL LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GOLDEN ROAD LINES INC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GOLDEN SERVICE TRANSPORT, INC.         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
GOLDEN SHORE TRUCKING CORP.            8808 PIONEER BLVD SANTA FE SPRINGS CA 90670
GOLDEN STAR LOGISTICS INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GOLDEN STAR TRANS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOLDEN STAR TRANSPORT INC              OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
GOLDEN STATE CARRIER INC               2510 TIVERTON DRIVE BAKERSFIELD CA 93311
GOLDEN STATE EQUIPMENT REPAIR          P.O. BOX 728 ROSEVILLE CA 95661
GOLDEN STATE EXPRESS LOGISTICS INC     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
GOLDEN STATE GRATING                   8224 GOLDMINE AVE FONTANA CA 92335
GOLDEN STATE TRUCK & TRAILER REPAIR    1354 DAYTON ST SUITE T SALINAS CA 93901
GOLDEN STATE WATER CO                  630 E. FOOTHILL BLVD. SAN DIMAS CA 91773
GOLDEN SYMBOL LLC                      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
GOLDEN TECHNOLOGIES                    ATTN: JOANN ESSER 525 BRIDGE ST OLD FORGE PA 18518
GOLDEN TECHNOLOGIES                    ATTN: JOANN 525 BRIDGE ST OLD FORGE PA 18518
GOLDEN TIGER TRANSPORTATION INC        28563 MALABAR RD TRAQBUCO CANYON CA 92679
GOLDEN TIME TRUCKING INC               P.O. BOX 5262 EL MONTE CA 91734
GOLDEN TRANSPORTATION FL LLC           6301 RALEIGH ST HOLLYWOOD FL 33024
GOLDEN TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161



Epiq Corporate Restructuring, LLC                                                                   Page 746 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 755 of 2156

Claim Name                              Address Information
GOLDEN TRANSPORTATION LLC (MC1117397)   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
GOLDEN TRUCKING INC                     89-27 117TH STREET RICHMOND HILL NY 11418
GOLDEN TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GOLDEN TRUCKING LLC (LAS VEGAS NV)      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GOLDEN TRUCKING LLC (MINNEAPOLIS MN)    OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
GOLDEN TRUCKING NJ LLC                  OR ECAPITAL FRIEGHT, PO BOX 206773 DALLAS TX 75320-6773
GOLDEN TRUCKING SERVICES LLC            OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
GOLDEN VALLEY TOOLS & TARPS             2597 S APACHE RD GOLDEN VALLEY AZ 86413
GOLDEN VALLEY TRUCKING LLC              OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
GOLDEN VIEW EXPRESS INC                 PO BOX 779 ELK POINT SD 57025
GOLDEN WAY LOGISTICS INC                OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
GOLDEN WAY TRUCKING INC                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
GOLDEN WEST SPECIALTY SOLUTION          8333 24TH AVE SACRAMENTO CA 95826
GOLDEN WINGS UZ INC                     604 HOGELAND LANE BENSALEM PA 19020
GOLDEN, DUANE                           ADDRESS ON FILE
GOLDEN, JESSICA                         ADDRESS ON FILE
GOLDEN, JEWELL                          ADDRESS ON FILE
GOLDEN, JOSHUA                          ADDRESS ON FILE
GOLDEN, KYLE                            ADDRESS ON FILE
GOLDEN, ROYCE D                         ADDRESS ON FILE
GOLDEN, SAMUEL                          ADDRESS ON FILE
GOLDEN, WARREN                          ADDRESS ON FILE
GOLDENBEAR LOCK & SAFE INC              7445 DARON CT PLAIN CITY OH 43064
GOLDENWAY LOGISTICS LLC                 31 W LEMON AVE ARCADIA CA 91007
GOLDER, AARON                           ADDRESS ON FILE
GOLDHORN ELECTRICALCONSTRUCTION         20 COMMERCE DRIVE ASTON PA 19014
GOLDILOCKS EXPRESS LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
GOLDING7 SERVICES INC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GOLDINGER, STEVEN                       ADDRESS ON FILE
GOLDLINE EXPRESS INC                    OR J & J FUNDING INC, 2873 LARKIN AVE CLOVIS CA 93612
GOLDLINE TRUCKING                       4460 W SHAW AVE 361 FRESNO CA 93722
GOLDLINE TRUCKING & ADMIN               OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
GOLDMAN EXPRESS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GOLDMAN SACHS (0005)                    ATT MEGHAN SULLIVAN/PROXY DEPT 30 HUDSON ST JERSEY CITY NJ 07302
GOLDMAN SACHS INTERNATL (5208)          ATT MEGHAN SULLIVAN/PROXY DEPT 30 HUDSON ST JERSEY CITY NJ 07302
GOLDMAN, SARAH                          ADDRESS ON FILE
GOLDMAX CARRIER INC                     179 WEST SPANGLER AVE ELMHURST IL 60126
GOLDMIND TRUCKING LLC                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
GOLDOWSKI JR., JOHN                     ADDRESS ON FILE
GOLDPRO TRANSPORT INC                   OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GOLDRUP, MICHAEL                        ADDRESS ON FILE
GOLDRUP-LOPEZ, SUHAIL                   ADDRESS ON FILE
GOLDSBERRY, CHARLES                     ADDRESS ON FILE
GOLDSMITH, RONDELL                      ADDRESS ON FILE
GOLDSTAR LOGISTICS LLC                  24 OAKWOOD AVE ORANGE NJ 07050
GOLDSTAR TRUCKING, INC.                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
GOLDSTATE TRANSPORT INC                 OR MEL INC, 825 F STREET SUITE 600 WEST SACRAMENTO CA 95605
GOLDSTEIN, DEBRA                        ADDRESS ON FILE
GOLDSTEIN, LYNDON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 747 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 756 of 2156

Claim Name                           Address Information
GOLDSWORTHY, STEVE                   ADDRESS ON FILE
GOLDWADE TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GOLDWAY INC                          OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
GOLDY MITSUBISHI                     440 KINETIC DR HUNTINGTON WV 25701
GOLDY TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GOLDY TRUCKING LLC                   OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GOLEMBIESKI, DEBORAH                 ADDRESS ON FILE
GOLEMBIEWSKI, JOHN                   ADDRESS ON FILE
GOLF & BUSSE TOWING                  26 W 321ST CAROL STREAM IL 60188
GOLFBALL REFURBISHERS                326 N WATER ST LOUDONVILLE OH 44842
GOLFFIN, BRIAN                       ADDRESS ON FILE
GOLGOTHA LOGISTICS LLC               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
GOLI TRUCKING INC                    OR RG CAPITAL GROUP INC 6123 MORELLA AVE NORTH HOLLYWOOD CA 91601
GOLI TRUCKING INC                    931 10TH STREET MODESTO CA 95354
GOLICH, NICHOLAS                     ADDRESS ON FILE
GOLIDY, PAUL                         ADDRESS ON FILE
GOLLER, CATHY                        ADDRESS ON FILE
GOLLER, DAVID                        ADDRESS ON FILE
GOLLER, ETHAN                        ADDRESS ON FILE
GOLMER PARTNERS SA DE CV             PELICANO 1182 COLONIA MORELOS GUADALAJARA 44910 MEXICO
GOLUB, ANDREW                        ADDRESS ON FILE
GOLUBSKI, RANDAL                     ADDRESS ON FILE
GOLUBSKI, THOMAS                     ADDRESS ON FILE
GOMAZ, JONATHAN                      ADDRESS ON FILE
GOMBOLD, MICHAEL                     ADDRESS ON FILE
GOMEL INC.                           261 RUE THERESE CASGRAIN SAINT BRUNO QC J3V 6H6 CANADA
GOMER, PENNY                         ADDRESS ON FILE
GOMES, FRANCISCO                     ADDRESS ON FILE
GOMES, HERMANN                       ADDRESS ON FILE
GOMES, LOUIS                         ADDRESS ON FILE
GOMEZ BARAJAS, JOSE                  ADDRESS ON FILE
GOMEZ EXPRESS LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
GOMEZ JR, PEDRO                      ADDRESS ON FILE
GOMEZ MELARA, VICTOR                 ADDRESS ON FILE
GOMEZ MIRANDA, INC.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOMEZ TRUCKING                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
GOMEZ, ALBERT                        ADDRESS ON FILE
GOMEZ, ALEJANDRO                     ADDRESS ON FILE
GOMEZ, ALFREDO                       ADDRESS ON FILE
GOMEZ, ANA                           ADDRESS ON FILE
GOMEZ, ANA                           ADDRESS ON FILE
GOMEZ, ANALISA                       ADDRESS ON FILE
GOMEZ, ANTHONY                       ADDRESS ON FILE
GOMEZ, ARMANDO                       ADDRESS ON FILE
GOMEZ, ARMANDO                       ADDRESS ON FILE
GOMEZ, CASEY                         ADDRESS ON FILE
GOMEZ, DAKOTA                        ADDRESS ON FILE
GOMEZ, DAMIAN                        ADDRESS ON FILE
GOMEZ, DECKNNER                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 748 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 757 of 2156

Claim Name                         Address Information
GOMEZ, EDUARDO                     ADDRESS ON FILE
GOMEZ, ERIC                        ADDRESS ON FILE
GOMEZ, FERNANDO                    ADDRESS ON FILE
GOMEZ, FRANCISCO                   ADDRESS ON FILE
GOMEZ, GRACE                       ADDRESS ON FILE
GOMEZ, HANCEL                      ADDRESS ON FILE
GOMEZ, HUNTER R                    ADDRESS ON FILE
GOMEZ, IGNACIO                     ADDRESS ON FILE
GOMEZ, JAVIER                      ADDRESS ON FILE
GOMEZ, JESSE                       ADDRESS ON FILE
GOMEZ, JLADA                       ADDRESS ON FILE
GOMEZ, JOSE                        ADDRESS ON FILE
GOMEZ, JOSE                        ADDRESS ON FILE
GOMEZ, JOSE                        ADDRESS ON FILE
GOMEZ, KASEY                       ADDRESS ON FILE
GOMEZ, KEVIN                       ADDRESS ON FILE
GOMEZ, LORRAINE                    ADDRESS ON FILE
GOMEZ, LUIS E                      ADDRESS ON FILE
GOMEZ, LUKE                        ADDRESS ON FILE
GOMEZ, MANUEL                      ADDRESS ON FILE
GOMEZ, MARIANO                     ADDRESS ON FILE
GOMEZ, MARIE                       ADDRESS ON FILE
GOMEZ, MARIO                       ADDRESS ON FILE
GOMEZ, MARIO                       ADDRESS ON FILE
GOMEZ, MARTIN                      ADDRESS ON FILE
GOMEZ, MICHAEL P                   ADDRESS ON FILE
GOMEZ, MIGUEL                      ADDRESS ON FILE
GOMEZ, MIKE                        ADDRESS ON FILE
GOMEZ, NICHOLAS                    ADDRESS ON FILE
GOMEZ, ORLANDO                     ADDRESS ON FILE
GOMEZ, PASCASIO                    ADDRESS ON FILE
GOMEZ, PEDRO                       ADDRESS ON FILE
GOMEZ, PRESTON                     ADDRESS ON FILE
GOMEZ, RAMON                       ADDRESS ON FILE
GOMEZ, ROBERT                      ADDRESS ON FILE
GOMEZ, ROY                         ADDRESS ON FILE
GOMEZ, SUSANA                      ADDRESS ON FILE
GOMILLIA, DEVIN                    ADDRESS ON FILE
GON-RUIZ TRUCKLOAD SERVICES        OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
GONAN LOGISTICS LLC                OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GONDA, DAVID                       ADDRESS ON FILE
GONDIN, YUNIOR                     ADDRESS ON FILE
GONGORA, EDGAR                     ADDRESS ON FILE
GONGORA, OSCAR                     ADDRESS ON FILE
GONIWICHA, JEFFERY                 ADDRESS ON FILE
GONSALVES, KEVIN                   ADDRESS ON FILE
GONSOULIN, PAUL                    ADDRESS ON FILE
GONZABAY, JUAN                     ADDRESS ON FILE
GONZALES, AARON                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 749 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 758 of 2156

Claim Name                          Address Information
GONZALES, ALEXANDER                 ADDRESS ON FILE
GONZALES, ANTHONY                   ADDRESS ON FILE
GONZALES, ANTHONY                   ADDRESS ON FILE
GONZALES, BOBBY                     ADDRESS ON FILE
GONZALES, CRISTIAN                  ADDRESS ON FILE
GONZALES, DENISE                    ADDRESS ON FILE
GONZALES, DICK                      ADDRESS ON FILE
GONZALES, DONALD                    ADDRESS ON FILE
GONZALES, FELICIA                   ADDRESS ON FILE
GONZALES, FRANCO                    ADDRESS ON FILE
GONZALES, GEORGE                    ADDRESS ON FILE
GONZALES, JAMES                     ADDRESS ON FILE
GONZALES, JESSE                     ADDRESS ON FILE
GONZALES, JOE                       ADDRESS ON FILE
GONZALES, JOHN                      ADDRESS ON FILE
GONZALES, JOHNNY                    ADDRESS ON FILE
GONZALES, JORGE                     ADDRESS ON FILE
GONZALES, JUAN                      ADDRESS ON FILE
GONZALES, LARRY                     ADDRESS ON FILE
GONZALES, LAWRENCE                  ADDRESS ON FILE
GONZALES, MARTIN                    ADDRESS ON FILE
GONZALES, MARTIN                    ADDRESS ON FILE
GONZALES, PATIENCE                  ADDRESS ON FILE
GONZALES, PEDRO                     ADDRESS ON FILE
GONZALES, RAELENE                   ADDRESS ON FILE
GONZALES, RICHARD                   ADDRESS ON FILE
GONZALES, ROSA                      ADDRESS ON FILE
GONZALES, SALVADOR                  ADDRESS ON FILE
GONZALES, SEBASTIAN                 ADDRESS ON FILE
GONZALES, THOMAS                    ADDRESS ON FILE
GONZALES, TORI MARIA                ADDRESS ON FILE
GONZALES, TURELL                    ADDRESS ON FILE
GONZALEZ - ORTIZ, JESUS             ADDRESS ON FILE
GONZALEZ AND SONS TRANSPORTATION    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GONZALEZ ENRIQUEZ, MARTIN           ADDRESS ON FILE
GONZALEZ ESCOBAR, MICHEL            ADDRESS ON FILE
GONZALEZ FUENTES, JHONATAN          ADDRESS ON FILE
GONZALEZ III, EDWARD                ADDRESS ON FILE
GONZALEZ JR, JOSEPH                 ADDRESS ON FILE
GONZALEZ JR, ROBERT                 ADDRESS ON FILE
GONZALEZ OLIVERA SERVICES LLC       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
GONZALEZ RUIZ, ELVIS                ADDRESS ON FILE
GONZALEZ TRANSPORT                  5315 RIO DE JANEIRO CT BAKERSFIELD CA 93313
GONZALEZ TRANSPORT LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
GONZALEZ TRANSPORTATION LLC         136 CREEKWAY LN, 26 SEGUIN TX 78155
GONZALEZ TRUCKING TEN FOUR LLC      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
GONZALEZ TRUCKING, INC.             700 HAZELHURST WAY COALINGA CA 93210
GONZALEZ, ADAM                      ADDRESS ON FILE
GONZALEZ, AIMEE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 750 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 759 of 2156

Claim Name                         Address Information
GONZALEZ, ALBERTO                  ADDRESS ON FILE
GONZALEZ, ALDO                     ADDRESS ON FILE
GONZALEZ, ALEJANDRO                ADDRESS ON FILE
GONZALEZ, ALEJANDRO                ADDRESS ON FILE
GONZALEZ, ALEJANDRO                ADDRESS ON FILE
GONZALEZ, ALEXIS                   ADDRESS ON FILE
GONZALEZ, ANDREW                   ADDRESS ON FILE
GONZALEZ, ANGEL                    ADDRESS ON FILE
GONZALEZ, ANTHONY                  ADDRESS ON FILE
GONZALEZ, ANTONIO                  ADDRESS ON FILE
GONZALEZ, ARCADIO A                ADDRESS ON FILE
GONZALEZ, ARMANDO                  ADDRESS ON FILE
GONZALEZ, ARMANDO                  ADDRESS ON FILE
GONZALEZ, ARTHUR                   ADDRESS ON FILE
GONZALEZ, AZAEL                    ADDRESS ON FILE
GONZALEZ, BRAYAM                   ADDRESS ON FILE
GONZALEZ, BRENDA                   ADDRESS ON FILE
GONZALEZ, BRIAN                    ADDRESS ON FILE
GONZALEZ, CAESAR                   ADDRESS ON FILE
GONZALEZ, CARLOS                   ADDRESS ON FILE
GONZALEZ, CARLOS                   ADDRESS ON FILE
GONZALEZ, CONSUELO                 ADDRESS ON FILE
GONZALEZ, DANIEL                   ADDRESS ON FILE
GONZALEZ, DANIELA                  ADDRESS ON FILE
GONZALEZ, DIEGO                    ADDRESS ON FILE
GONZALEZ, EDDIE                    ADDRESS ON FILE
GONZALEZ, EDGAR                    ADDRESS ON FILE
GONZALEZ, EDWIN                    ADDRESS ON FILE
GONZALEZ, EMILIO                   ADDRESS ON FILE
GONZALEZ, ENRIQUE                  ADDRESS ON FILE
GONZALEZ, ENRIQUE C                ADDRESS ON FILE
GONZALEZ, ERIK                     ADDRESS ON FILE
GONZALEZ, ESCARLINE                ADDRESS ON FILE
GONZALEZ, FERNANDO                 ADDRESS ON FILE
GONZALEZ, FRANCISCO                ADDRESS ON FILE
GONZALEZ, FRANCISCO                ADDRESS ON FILE
GONZALEZ, FRANCISCO                ADDRESS ON FILE
GONZALEZ, FRANCISCO                ADDRESS ON FILE
GONZALEZ, FRANCISCO                ADDRESS ON FILE
GONZALEZ, FREDY                    ADDRESS ON FILE
GONZALEZ, GERALD                   ADDRESS ON FILE
GONZALEZ, GERARDO                  ADDRESS ON FILE
GONZALEZ, HUMBERTO                 ADDRESS ON FILE
GONZALEZ, ISAAC                    ADDRESS ON FILE
GONZALEZ, ISAAC                    ADDRESS ON FILE
GONZALEZ, JAIME                    ADDRESS ON FILE
GONZALEZ, JANA                     ADDRESS ON FILE
GONZALEZ, JAVIER                   ADDRESS ON FILE
GONZALEZ, JAVIER                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 751 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 760 of 2156

Claim Name                        Address Information
GONZALEZ, JENNIFER                ADDRESS ON FILE
GONZALEZ, JESUS                   ADDRESS ON FILE
GONZALEZ, JESUS                   ADDRESS ON FILE
GONZALEZ, JESUS                   ADDRESS ON FILE
GONZALEZ, JONATHAN                ADDRESS ON FILE
GONZALEZ, JONATHAN                ADDRESS ON FILE
GONZALEZ, JOSE                    ADDRESS ON FILE
GONZALEZ, JOSE                    ADDRESS ON FILE
GONZALEZ, JOSE                    ADDRESS ON FILE
GONZALEZ, JOSE                    ADDRESS ON FILE
GONZALEZ, JOSE L                  ADDRESS ON FILE
GONZALEZ, JOSHUA                  ADDRESS ON FILE
GONZALEZ, JUAN                    ADDRESS ON FILE
GONZALEZ, JUAN                    ADDRESS ON FILE
GONZALEZ, JUAN                    ADDRESS ON FILE
GONZALEZ, JUAN                    ADDRESS ON FILE
GONZALEZ, JUAN                    ADDRESS ON FILE
GONZALEZ, JUAN                    ADDRESS ON FILE
GONZALEZ, JUAN A                  ADDRESS ON FILE
GONZALEZ, JUAN C                  ADDRESS ON FILE
GONZALEZ, JULIA                   ADDRESS ON FILE
GONZALEZ, KEVIN                   ADDRESS ON FILE
GONZALEZ, KEYNAN                  ADDRESS ON FILE
GONZALEZ, LETICIA                 ADDRESS ON FILE
GONZALEZ, LIBRADO                 ADDRESS ON FILE
GONZALEZ, LIZETH                  ADDRESS ON FILE
GONZALEZ, LUIS                    ADDRESS ON FILE
GONZALEZ, MANUEL                  ADDRESS ON FILE
GONZALEZ, MANUEL                  ADDRESS ON FILE
GONZALEZ, MARK                    ADDRESS ON FILE
GONZALEZ, MAURICIO                ADDRESS ON FILE
GONZALEZ, MIGUEL                  ADDRESS ON FILE
GONZALEZ, NICOLE                  ADDRESS ON FILE
GONZALEZ, NOE                     ADDRESS ON FILE
GONZALEZ, OSCAR                   ADDRESS ON FILE
GONZALEZ, OSCAR                   ADDRESS ON FILE
GONZALEZ, PABLO                   ADDRESS ON FILE
GONZALEZ, RAFAEL                  ADDRESS ON FILE
GONZALEZ, RAUL                    ADDRESS ON FILE
GONZALEZ, RAYMUNDO                ADDRESS ON FILE
GONZALEZ, RICARDO                 ADDRESS ON FILE
GONZALEZ, RICHARD                 ADDRESS ON FILE
GONZALEZ, ROBERT                  ADDRESS ON FILE
GONZALEZ, ROBERT                  ADDRESS ON FILE
GONZALEZ, ROBERT                  ADDRESS ON FILE
GONZALEZ, ROBERT B                ADDRESS ON FILE
GONZALEZ, ROBERTA                 ADDRESS ON FILE
GONZALEZ, ROBERTO                 ADDRESS ON FILE
GONZALEZ, ROGELIO                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 752 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 761 of 2156

Claim Name                           Address Information
GONZALEZ, SALVADOR                   ADDRESS ON FILE
GONZALEZ, SERGIO                     ADDRESS ON FILE
GONZALEZ, SESAR                      ADDRESS ON FILE
GONZALEZ, TIM                        ADDRESS ON FILE
GONZALEZ, TIMOTHY J                  ADDRESS ON FILE
GONZALEZ, TRACY                      ADDRESS ON FILE
GONZALEZ, VANESSA                    ADDRESS ON FILE
GONZALEZ, WENCE                      ADDRESS ON FILE
GONZALEZ, YENCE A                    ADDRESS ON FILE
GONZALEZ, YULIOR                     ADDRESS ON FILE
GONZALEZ, YUNIER                     ADDRESS ON FILE
GONZALEZ-CARILLO, FABIAN             ADDRESS ON FILE
GONZALEZ-CARILLO, FABIAN             ADDRESS ON FILE
GONZALEZ-RODRIGUEZ, SERGIO           ADDRESS ON FILE
GONZALEZ-VARGAS, CARLOS              ADDRESS ON FILE
GONZALO ALMANZA                      ADDRESS ON FILE
GONZALO RUVALCABA                    ADDRESS ON FILE
GONZBROS TRUCKING LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
GOOCH, ADAM                          ADDRESS ON FILE
GOOCH, DANYEL                        ADDRESS ON FILE
GOOCH, DECHEL                        ADDRESS ON FILE
GOOCH, JEFFERY                       ADDRESS ON FILE
GOOCH, MICAH                         ADDRESS ON FILE
GOOCH, TONY                          ADDRESS ON FILE
GOOD 2 GO TRANSPORT LLC              OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
GOOD AMERICAN TRUCKING LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GOOD BROTHERS EXPRESS LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOOD BROTHERS TRANSPORT LLC          OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
GOOD BUDDYS TRUCKING LLC             OR OPERATION FINANCE INC, PO BOX 227352 DALLAS TX 75222-7352
GOOD CARTAGE LLC                     41 STEWART AVE BETHPAGE NY 11714
GOOD CHOICE CARRIER INC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GOOD CO                              ATTN: S BROWN 6688 JOILET RD STE 185 INDIAN HEAD PARK IL 60525
GOOD CO                              ATTN: S BROWN 6688 JOLIET RD STE 185 INDIAN HEAD PARK IL 60525
GOOD DEAL TRUCKING INC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
GOOD EXCHANGE LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GOOD FAITH TRANSPORTATION LLC        OR ENGAGED FINANCIAL LLC PO BOX 775553 CHICAGO IL 60677-5553
GOOD FOLKES TRUCKING LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
GOOD GRACE LOGISTICS LLC             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GOOD GUYS TRANSPORTATION LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GOOD HAUL TRANSPORT LLC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
GOOD HAVEN LOGISTIC LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOOD HOPE TRUCKING LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GOOD JOB ROADWAYS LLC                1217 MELTON DR APT 3 YUBA CITY CA 95991-7118
GOOD LIFE TRUCKING LLC.              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GOOD LINE                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GOOD LOGISTICS LLC                   4818 PECAN ARBOR LN HOUSTON TX 77069
GOOD LUCK EXPRESS LLC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GOOD LUCK LOGISTICS LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                Page 753 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 762 of 2156

Claim Name                              Address Information
GOOD LUCK TRANSPORTATION LLC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
GOOD MORNING LOGISTICS LLC              OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
GOOD NEWS CARRIER                       13450 KING RD LEMONT IL 60439
GOOD NEWS TRUCKING                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GOOD PACE TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GOOD PARTNERS EXPRESS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GOOD QUALITY SERVICE                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOOD SERVICE BROTHERS                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GOOD SOURCE TRUCKING INC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GOOD TO GO TEAM LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOOD TRANSPORT SERVICES, INC.           4668 BREEZYVIEW RD COLUMBIA PA 17512-8404
GOOD TRIP INC                           1320 TOWER RD SCHAUMBURG IL 60173
GOOD TRIP INC                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GOOD TRUCKING LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GOOD WAY TRUCKING INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GOOD, MATHEW                            ADDRESS ON FILE
GOOD, SPENCER T                         ADDRESS ON FILE
GOOD, STEPHEN                           ADDRESS ON FILE
GOODALL TRANSPORT LTD                   144 LANDOVER DRIVE WINNIPEG MB R3Y 0X3 CANADA
GOODALL TRANSPORT LTD                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GOODBEAR, LEROY                         ADDRESS ON FILE
GOODCARE LOGISTICS INC                  75 KOPPIE DR B GILBERTS IL 60136
GOODE, SHAQUILLE                        ADDRESS ON FILE
GOODEN DELIVERY LLC                     OR TRANSPORT FACTORING INC. PO BOX 167648 IRVING TX 75016
GOODEN, HERBERT                         ADDRESS ON FILE
GOODEN, LARRY                           ADDRESS ON FILE
GOODGINE, DAVID                         ADDRESS ON FILE
GOODHEER, THOMAS                        ADDRESS ON FILE
GOODHEER, THOMAS C                      ADDRESS ON FILE
GOODIN COMPANY C/O ECHO                 ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GOODING, DEAN                           ADDRESS ON FILE
GOODINS CENTRAL DISPATCH SERVICES INC   887 N GARDNER SCOTTSBURG IN 47170
GOODLIN, JOSHUA                         ADDRESS ON FILE
GOODLING, GEORGE                        ADDRESS ON FILE
GOODLING, THOMAS                        ADDRESS ON FILE
GOODLOE, ADRIENNE                       ADDRESS ON FILE
GOODLOE, DAVID                          ADDRESS ON FILE
GOODLOE, KELEA                          ADDRESS ON FILE
GOODLOE, TIMOTHY                        ADDRESS ON FILE
GOODLOW, SONJA                          ADDRESS ON FILE
GOODLOW, SONYA                          ADDRESS ON FILE
GOODLOW, WILLIAM                        ADDRESS ON FILE
GOODMAN ELECTRIC                        5310 E NORTHGATE LOOP STE A FLAGSTAFF AZ 86004
GOODMAN, BONHAM                         ADDRESS ON FILE
GOODMAN, BRIAN                          ADDRESS ON FILE
GOODMAN, BRYAN                          ADDRESS ON FILE
GOODMAN, JARED                          ADDRESS ON FILE
GOODMAN, JEFFREY                        ADDRESS ON FILE
GOODMAN, JESSE A                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 754 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 763 of 2156

Claim Name                           Address Information
GOODMAN, JESSE A                     ADDRESS ON FILE
GOODMAN, JOSEPH                      ADDRESS ON FILE
GOODMAN, KENNETH                     ADDRESS ON FILE
GOODMAN, KENNETH                     ADDRESS ON FILE
GOODMAN, RANDALL                     ADDRESS ON FILE
GOODMAN, SOPIA L                     ADDRESS ON FILE
GOODMAN, SOPIA L                     ADDRESS ON FILE
GOODMAN-GLASGOW, LORI                ADDRESS ON FILE
GOODNIGHT EXPRESS LLC                5007 FM 294 CLARENDON TX 79226
GOODNIGHT, LEONARD                   ADDRESS ON FILE
GOODNIGHT, WILLIAM                   ADDRESS ON FILE
GOODNOUGH, SUZANNE                   ADDRESS ON FILE
GOODRICH, GLENN                      ADDRESS ON FILE
GOODRICH, MARCUS                     ADDRESS ON FILE
GOODRICH, TED                        ADDRESS ON FILE
GOODRICH, WILLIAM                    ADDRESS ON FILE
GOODRO, DANNY                        ADDRESS ON FILE
GOODRUM, ERNEST                      ADDRESS ON FILE
GOODRUM, ERNEST                      ADDRESS ON FILE
GOODS TRANSPORTATION LLC             9500 WESTON WOODS LN CHARLOTTE NC 28216
GOODSITE, DAVID                      ADDRESS ON FILE
GOODSON, CORNELUS                    ADDRESS ON FILE
GOODSON, MICHAEL                     ADDRESS ON FILE
GOODSON, MICHAEL W                   ADDRESS ON FILE
GOODTIME PEDIATRICS                  25 COOPERATIVE WAY WRIGHT CITY MO 63390
GOODVYBE GLOBAL LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GOODWAY TRUCKING LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GOODWIN PRO TURF INC                 6945 W 152ND TERRACE OVERLAND PARK KS 66223
GOODWIN TUCKER GROUP                 PO BOX 3285 DES MOINES IA 50316
GOODWIN, AARON                       ADDRESS ON FILE
GOODWIN, COLBY                       ADDRESS ON FILE
GOODWIN, DANIEL                      ADDRESS ON FILE
GOODWIN, DOUGLAS                     ADDRESS ON FILE
GOODWIN, ELI                         ADDRESS ON FILE
GOODWIN, JAMES                       ADDRESS ON FILE
GOODWIN, JEFFREY                     ADDRESS ON FILE
GOODWIN, JOE                         ADDRESS ON FILE
GOODWIN, LATOYA                      ADDRESS ON FILE
GOODWIN, LENOX D                     ADDRESS ON FILE
GOODWIN, MICHAEL                     ADDRESS ON FILE
GOODWIN, MICHAEL T                   ADDRESS ON FILE
GOODWIN, PATRICK                     ADDRESS ON FILE
GOODWIN, WILLIE                      ADDRESS ON FILE
GOODYEAR CANADA INC                  PO BOX 1981 POSTAL STATION A TORONTO ON M5W1W9 CANADA
GOODYEAR TIRE & RUBBER               ATTN: KIMBERLY HOLMES ATTN: BETH ANWAY HQ-4601 200 INNOVATION WAY AKRON OH
                                     44316
GOODYEAR TIRE & RUBBER               ATTN: KIMBERLY HOLMES ATTN: KIM HOLMES HQ-4660 200 INNOVATION WAY AKRON OH
                                     44316
GOODYEAR TIRE & RUBBER CO            ATTN: KIM HOLMES HQ-4660, 200 INNOVATION WAY AKRON OH 44316



Epiq Corporate Restructuring, LLC                                                              Page 755 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 764 of 2156

Claim Name                           Address Information
GOODYEAR TIRE & RUBBER COMPANY       CHRISTINA ZAMARRO, EVP AND CFO 200 INNOVATION WAY AKRON OH 44316-0001
GOODYS GARAGE INC                    578 PLEASANT GROVE RD ZANESVILLE OH 43701
GOOGER, CARIO                        ADDRESS ON FILE
GOOGHEE TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GOOHE TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GOOHE TRANSPORT LLC                  OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
GOOL TRUCKING                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GOOLMAN, TERRY                       ADDRESS ON FILE
GOOLSBY TRUCKING CO., INC.           104 GAP DR NEW ALBANY MS 38652
GOOLSBY, CAMENSLIN                   ADDRESS ON FILE
GOOLSBY, DENISE                      ADDRESS ON FILE
GOOLSBY, JULIEN                      ADDRESS ON FILE
GOOLSBY, MICHAEL                     ADDRESS ON FILE
GOOLSBY, MICHAEL                     ADDRESS ON FILE
GOONATILLAKE, CHANAKA                ADDRESS ON FILE
GOONDALL TRANSPORT LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GOOSSEN, DEXTER                      ADDRESS ON FILE
GOP TRANSPORT LLC                    OR TAB BANK, PO BOX 150830 OGDEN UT 84415
GOPAR ARANGO, PASTOR                 ADDRESS ON FILE
GOPAR RASGADO, EVERARDO              ADDRESS ON FILE
GOPHER GOALS MULTISERVICE LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GOPHER SPORT ECHO                    ATTN: JAZMIN GARCIA JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GOPHER SPORTS                        ATTN: STEPHEN DIAZ 2525 LEMOND ST SW OWATONNA MN 55060
GOPP, JAMI                           ADDRESS ON FILE
GOR CARGO EXPRESS LLC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
GOR GOR TRANSPORTATION LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GOR2 TRANSPORT LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GORAL, ANTHONY                       ADDRESS ON FILE
GORALSKI, ANTHONY                    ADDRESS ON FILE
GORANAC TRUCKING INC                 OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
GORAYA & SONS INC                    6702 WINDCHIME CT BAKERSFIELD CA 93313
GORCHECK, JIM                        ADDRESS ON FILE
GORDEN, RANDY                        ADDRESS ON FILE
GORDIEVSKY, VICTOR                   ADDRESS ON FILE
GORDINEER, CALI                      ADDRESS ON FILE
GORDON BLAKESLEY                     ADDRESS ON FILE
GORDON EMPIRE TRANSPORTATION LLC     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
GORDON R WITHEROW                    ADDRESS ON FILE
GORDON TRUCK CENTERS INC             277 STEWART RD SW PACIFIC WA 98047
GORDON TRUCKING LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GORDON, BILLY                        ADDRESS ON FILE
GORDON, BRYAN                        ADDRESS ON FILE
GORDON, CHARLIE                      ADDRESS ON FILE
GORDON, CHRISTOPHER                  ADDRESS ON FILE
GORDON, CHRISTOPHER                  ADDRESS ON FILE
GORDON, CHRISTOPHER                  ADDRESS ON FILE
GORDON, DARNELL                      ADDRESS ON FILE
GORDON, DARRIN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 756 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 765 of 2156

Claim Name                           Address Information
GORDON, DOKOTA                       ADDRESS ON FILE
GORDON, FRANK D                      ADDRESS ON FILE
GORDON, FRANK D                      ADDRESS ON FILE
GORDON, HEWITT                       ADDRESS ON FILE
GORDON, JAPATRICK                    ADDRESS ON FILE
GORDON, JASON                        ADDRESS ON FILE
GORDON, JEANIE                       ADDRESS ON FILE
GORDON, KENLOY                       ADDRESS ON FILE
GORDON, KEVIN                        ADDRESS ON FILE
GORDON, KEVIN                        ADDRESS ON FILE
GORDON, LANCE                        ADDRESS ON FILE
GORDON, MARIA                        ADDRESS ON FILE
GORDON, MARVIN                       ADDRESS ON FILE
GORDON, MICHAEL                      ADDRESS ON FILE
GORDON, MICHAEL                      ADDRESS ON FILE
GORDON, MICHAEL                      ADDRESS ON FILE
GORDON, MICHAEL R                    ADDRESS ON FILE
GORDON, OAKLEY                       ADDRESS ON FILE
GORDON, RICHARD                      ADDRESS ON FILE
GORDON, RICHARD                      ADDRESS ON FILE
GORDON, RODERICK                     ADDRESS ON FILE
GORDON, RONALD                       ADDRESS ON FILE
GORDON, WILLIAM                      ADDRESS ON FILE
GORDON, ZACHARY                      ADDRESS ON FILE
GORDONEL, TIMOTHY                    ADDRESS ON FILE
GORDONS LANDSCAPING LLC              733 FISHING CREEK RD NEW CUMBERLAND PA 17070
GORE, JEFFREY                        ADDRESS ON FILE
GORE, STEVE                          ADDRESS ON FILE
GORE, THOMAS                         ADDRESS ON FILE
GORENDA LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GORENEY TRANSPORT                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GORESH, FRANK                        ADDRESS ON FILE
GOREY, GEORGE E                      ADDRESS ON FILE
GORGAN TRUCKING LLC                  OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
GORGOR TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GORHAM FENCE COMPANY, INC.           36 EMERY ROAD STANDISH ME 04084
GORHAM, CHRISTOPHER                  ADDRESS ON FILE
GORHAM, JEFFREY                      ADDRESS ON FILE
GORHAM, JOHN                         ADDRESS ON FILE
GORIAL, ROBERT                       ADDRESS ON FILE
GORILLA GLUE COMPANY                 ATTN: JESSICA HAAS 2101 E KEMPER RD CINCINNATI OH 45241
GORILLA TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GORILLA TRUCKING AND TRANSPORT LLC   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GORJIZADEH, NASIM                    ADDRESS ON FILE
GORMAN, DRAKE                        ADDRESS ON FILE
GORMAN, JOHN                         ADDRESS ON FILE
GORMAN, KEVIN                        ADDRESS ON FILE
GORMAN, ROBERT                       ADDRESS ON FILE
GORMAN, WENDY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 757 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 766 of 2156

Claim Name                           Address Information
GORMANS KITCHEN & BATH GALLERY       3989 PROSPECT AVE. NAPLES FL 34104
GORMLEY, THOMAS                      ADDRESS ON FILE
GORNY, KEVIN                         ADDRESS ON FILE
GORSETH, KEITH                       ADDRESS ON FILE
GORSETH, KEVIN                       ADDRESS ON FILE
GORSKI CONSTRUCTION                  1723 ROBISON RD W ERIE PA 16509
GORSLINE, ZACHARY                    ADDRESS ON FILE
GORY, KIAM                           ADDRESS ON FILE
GOSAL, AMARJIT                       ADDRESS ON FILE
GOSEN, DEBRA                         ADDRESS ON FILE
GOSS, ALAN                           ADDRESS ON FILE
GOSS, CEAMON                         ADDRESS ON FILE
GOSS, LEO                            ADDRESS ON FILE
GOSS, MICHELLE                       ADDRESS ON FILE
GOSS, STEPHEN                        ADDRESS ON FILE
GOSSER MOBILE TRUCK REPAIR L.L.C.    PO BOX 1057 OSWEGO IL 60543
GOSSERAND, ANTHONY                   ADDRESS ON FILE
GOSSETT, DAVID                       ADDRESS ON FILE
GOSSMEYER, MELVIN                    ADDRESS ON FILE
GOSTAR XPRESS                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GOSWICK, HOWARD                      ADDRESS ON FILE
GOT A GO RENTALS & SEPTIC SERVICES   11690 BANKLICK RD WALTON KY 41094
GOT INC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GOT IT TRUCKING INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GOTHAM EXPRESS LLC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GOTHARD, WILLIAM                     ADDRESS ON FILE
GOTO, DANIEL R                       ADDRESS ON FILE
GOTO, DANIEL R                       ADDRESS ON FILE
GOTO, PATTY J                        ADDRESS ON FILE
GOTO, PATTY J                        ADDRESS ON FILE
GOTSCH, DANIEL                       ADDRESS ON FILE
GOTSCHALL, JOSEPH                    ADDRESS ON FILE
GOTSHALL, AMIE                       ADDRESS ON FILE
GOTTA EXPRESS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GOTTENBORG, JEFFREY                  ADDRESS ON FILE
GOTTHARDT, ROBERT                    ADDRESS ON FILE
GOTTSCHALK, CAMERON                  ADDRESS ON FILE
GOTTSCHALL, ALAN                     ADDRESS ON FILE
GOUACIDE, LOUIS                      ADDRESS ON FILE
GOUDARZI, MAYSAM                     ADDRESS ON FILE
GOUDEAU, KEITH                       ADDRESS ON FILE
GOUDREAU, GLENN                      ADDRESS ON FILE
GOUDREAU, GLENN D                    ADDRESS ON FILE
GOUGH, JESSE                         ADDRESS ON FILE
GOULD, DARRYL                        ADDRESS ON FILE
GOULD, DAVID                         ADDRESS ON FILE
GOULD, KEVIN                         ADDRESS ON FILE
GOULD, RAYMOND                       ADDRESS ON FILE
GOULD, RICHARD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 758 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 767 of 2156

Claim Name                           Address Information
GOULD, SONJA                         ADDRESS ON FILE
GOULDMAN, CLEATIUS                   ADDRESS ON FILE
GOULET, JORDAN                       ADDRESS ON FILE
GOULETTE, DANIEL                     ADDRESS ON FILE
GOULETTE, WILLIAM                    ADDRESS ON FILE
GOURDET FREIGHT TRANSPORT            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GOURMET INNOVATIONS                  1550 NW 18TH ST UNIT 601 POMPANO BEACH FL 33069
GOUVEIA, DANIEL                      ADDRESS ON FILE
GOV FORWARD INC                      OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
GOVAN TRUCKING LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GOVERNMENT OF ALBERTA                PO BOX 67076 MEADOWLARK POST OFFICE EDMONTON AB T5R 5Y3 CANADA
GOWANS-KNIGHT CO                     49 KNIGHT ST WATERTOWN CT 06795
GOWER, LEROY                         ADDRESS ON FILE
GOWIN, DAVID P                       ADDRESS ON FILE
GOWIN, GREGORY                       ADDRESS ON FILE
GOWIN-COLLINS, ROBERT                ADDRESS ON FILE
GOWING, AMBER                        ADDRESS ON FILE
GOWLING LAFLEUR HENDERSON            P.O. BOX 466 STATION D OTTAWA ON K1P 1C3 CANADA
GOWLING LAFLEUR HENDERSON LLP        BOX 466 STATION D OTTAWA ON K1P 1C3 CANADA
GOWLING WLG                          PO BOX 466 STATION D OTTAWA ON K1P 1C3 CANADA
GOWLINGS LAFLEUR HENDERSON LLP       160 ELGIN ST SUITE 200 OTTAWA ON K2P 2C4 CANADA
GOYEN, DARCEY                        ADDRESS ON FILE
GOYETTE, RONALD                      ADDRESS ON FILE
GOYTIA, SERGIO                       ADDRESS ON FILE
GOZAL INCORPORATED                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GP CARRIER LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GP SWIFT LOGISTICS LLC               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
GP TRANS INC                         OR TAB BANK, PO BOX 150830 OGDEN UT 84415-0830
GP TRANSPORTATION COMPANY            PO BOX 95379 CHICAGO IL 60694
GP TRUCKING & TRANSPORT LLC          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
GPA TRUCKING EXPRESS INC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
GPEX TRANSPORT INC                   16 PRAIRIE PL ST ANDREWS MB R1A 3P2 CANADA
GPM LANDSCAPE                        PO BOX 86955 PHOENIX AZ 85080
GPS 21 TRUCKING INC                  S77W29760 HIGH CROSS DR MUKWONAGO WI 53149
GPS CARRIERS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GPS TRANSPORT                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GPS TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GPT DEER PARK TERMINAL OWNER LLC     ATTN: ASHLEY PATEL C/O LINK INDUSTRIAL MANAGEMENT LLC 220 COMMERCE DRIVE, STE
                                     400 FORT WASHINGTON PA 19034
GPT OPERATING PARTNERSHIP LP         550 BLAIR MILL ROAD SUITE 120 HORSHAM PA 19044
GPT OPERATING PARTNERSHIP LP         C/O GUV IL7 LLC, PO BOX 007302 CHICAGO IL 60674
GPT OPERATING PARTNERSHIP LP         PO BOX 007302 CHICAGO IL 60674
GPT OPERATING PARTNERSHIP LP         DBA GPT SANTA FE SPRINGS OWNER LP, LOCK BOX 505486 800 MARKET ST 4TH FL ST
                                     LOUIS MO 63101
GPT OPERATING PARTNERSHIP LP         C/O GPT SANTA FE SPRINGS OWNER LP, PO BOX 200507 DALLAS TX 75320
GPT OPERATING PARTNERSHIP LP         GPT ELKRIDGE TERMINAL OWNER LLC, PO BOX 200507 DALLAS TX 75320
GPT ORLANDO TERMINAL OWNER LLC       ATTN: ASHLEY PATEL 220 COMMERCE DRIVE SUITE 400 FORT WASHINGTON PA 19034
GR EXPRESS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GR LOADPK LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                 Page 759 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 768 of 2156

Claim Name                          Address Information
GR PALMER & CO                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GR PALMER & CO                      26630 BELLWOOD PINES DR KATY TX 77494
GR TRANSPORTATION CORP              1010 SAINT GREGORY DR MANSFIELD TX 76063
GR TRUCKING NC LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GRAAP, PAUL                         ADDRESS ON FILE
GRAB, RUSTY                         ADDRESS ON FILE
GRABANSKI, MICHAEL                  ADDRESS ON FILE
GRABAVOY, JOHN                      ADDRESS ON FILE
GRABERS DIESEL REPAIR OF CHEYENNE   101 AVENUE C UNIT 2 CHEYENNE WY 82007
GRABERS DIESEL REPAIR OF CHEYENNE   3306 WEST COLLEGE DR. CHEYENNE WY 82007
GRABNER, JEREMY                     ADDRESS ON FILE
GRABOWSKI, KEITH A                  ADDRESS ON FILE
GRACE CARRIERS LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
GRACE EXPRESS LLC                   ATTN: KHLOPKOV YEVGENIY 241 WINDMILL HILL RD IMMAN SC 29349
GRACE JR, WILLIE JAMES              ADDRESS ON FILE
GRACE LOGISTICS LLC                 1011 MISTY GLENN CT, N LAS VEGAS NV 89032
GRACE MOVING & TRANSPORT LLC        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GRACE WAY TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GRACE, DALLAS                       ADDRESS ON FILE
GRACE, DILLON                       ADDRESS ON FILE
GRACE, FREDERICK                    ADDRESS ON FILE
GRACE, JOHN                         ADDRESS ON FILE
GRACE, MARCUS                       ADDRESS ON FILE
GRACE, MYLISSA                      ADDRESS ON FILE
GRACE, ROBERT                       ADDRESS ON FILE
GRACE, STEPHEN                      ADDRESS ON FILE
GRACE, WILLIE J.                    ADDRESS ON FILE
GRACEAL LLC                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GRACEFUL TOUCH CARRIERS LLC         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GRACELAND LOGISTICS INC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GRACI HART ELECTRIC                 1720 ORPHEUM AVE METAIRIE LA 70005
GRACIA HOTSHOT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRACIA, EDUARDO                     ADDRESS ON FILE
GRACIAS ARK TRANSPORTATION INC      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GRAD GROUP INC                      1723 ST ANNA DR HANOVER PARK IL 60133
GRAD, PAUL                          ADDRESS ON FILE
GRADY K TATUM                       ADDRESS ON FILE
GRADY, CHRISTOPHER                  ADDRESS ON FILE
GRADY, CINDY                        ADDRESS ON FILE
GRADY, JACK                         ADDRESS ON FILE
GRADY, JAMES                        ADDRESS ON FILE
GRADY, JERMAINE                     ADDRESS ON FILE
GRADY, KRISHONDA                    ADDRESS ON FILE
GRADY, MALCOLM                      ADDRESS ON FILE
GRAEF, LEONARD                      ADDRESS ON FILE
GRAF, JOSEPH E                      ADDRESS ON FILE
GRAF, TODD                          ADDRESS ON FILE
GRAFF, JAMES                        ADDRESS ON FILE
GRAFFITI BUSTERS LLC                ATTN: WHITNEY GARLAND 4640 UNION BAY PLACE NE SEATTLE WA 98105



Epiq Corporate Restructuring, LLC                                                              Page 760 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 769 of 2156

Claim Name                          Address Information
GRAFTON, JASON                      ADDRESS ON FILE
GRAGG, ALVIN C                      ADDRESS ON FILE
GRAGG, RICKEY                       ADDRESS ON FILE
GRAHAM H GARDNER                    ADDRESS ON FILE
GRAHAM INTERNATIONAL, INC.          5800 TEXOMA PARKWAY SHERMAN TX 75090
GRAHAM SIMON PLUMBING CO LLC        176 SIMPSON ST CLARKSBURG WV 26301
GRAHAM TIRE ABERDEEN                2320 6TH AVENUE S.E. ABERDEEN SD 57401
GRAHAM TRUCK TIRE CENTER, L.P.      1002 W BULLOCK ST DENISON TX 75020
GRAHAM TRUCKING LLC                 PO BOX 402 NESBIT MS 38651
GRAHAM, AARON                       ADDRESS ON FILE
GRAHAM, ALEXSANDER                  ADDRESS ON FILE
GRAHAM, ANTHONY                     ADDRESS ON FILE
GRAHAM, BRYANT                      ADDRESS ON FILE
GRAHAM, CAMERON                     ADDRESS ON FILE
GRAHAM, CHASE                       ADDRESS ON FILE
GRAHAM, DEWAYNE                     ADDRESS ON FILE
GRAHAM, DIQUAN                      ADDRESS ON FILE
GRAHAM, DUANE                       ADDRESS ON FILE
GRAHAM, DUANE                       ADDRESS ON FILE
GRAHAM, EDWARD                      ADDRESS ON FILE
GRAHAM, GLENDON                     ADDRESS ON FILE
GRAHAM, HERBERT                     ADDRESS ON FILE
GRAHAM, JAMES                       ADDRESS ON FILE
GRAHAM, JAMES                       ADDRESS ON FILE
GRAHAM, JOHN                        ADDRESS ON FILE
GRAHAM, JOHN D                      ADDRESS ON FILE
GRAHAM, KEITH                       ADDRESS ON FILE
GRAHAM, LUKE                        ADDRESS ON FILE
GRAHAM, MATTHEW                     ADDRESS ON FILE
GRAHAM, MICHAEL                     ADDRESS ON FILE
GRAHAM, MILES                       ADDRESS ON FILE
GRAHAM, RAHEEM                      ADDRESS ON FILE
GRAHAM, RANDY                       ADDRESS ON FILE
GRAHAM, RAYMOND                     ADDRESS ON FILE
GRAHAM, RONALD                      ADDRESS ON FILE
GRAHAM, RYAN                        ADDRESS ON FILE
GRAHAM, THOMAS                      ADDRESS ON FILE
GRAHAM, THOMAS                      ADDRESS ON FILE
GRAHAM, THOMAS                      ADDRESS ON FILE
GRAHAM, WILLIAM                     ADDRESS ON FILE
GRAIL, GARRETT                      ADDRESS ON FILE
GRAINDA BUILDERS                    14815 RAMAH CHURCH RD. HUNTERSVILLE NC 28078
GRAINGER                            DEPT. 800204091 PALATINE IL 60038
GRAINGER                            DEPT. 803695709 PALATINE IL 60038
GRAINGER                            DEPT 806741450, P.O. BOX 419267 KANSAS CITY MO 64141
GRAINGER                            DEPT 856281290, PO BOX 419267 KANSAS CITY MO 64141
GRAINGER                            DEPT. 802672675, P.O BOX 419267 KANSAS CITY MO 64141
GRAINGER                            PO BOX 419267 KANSAS CITY MO 64141
GRAINGER                            502 E 40TH ST LUBBOCK TX 79404



Epiq Corporate Restructuring, LLC                                                               Page 761 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 770 of 2156

Claim Name                            Address Information
GRAJEDA, EDUARDO                      ADDRESS ON FILE
GRAMAJO, JUAN                         ADDRESS ON FILE
GRAMERCY BAKERY                       20405 GRAMERCY PL. STE. B TORRANCE CA 90501
GRAMM, BRETT                          ADDRESS ON FILE
GRAMS EXPRESS, LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GRAMS TRANS LLC                       OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
GRANABOS, RODOLFO                     ADDRESS ON FILE
GRANADINO, RICHARD                    ADDRESS ON FILE
GRANADOS, ALICIA                      ADDRESS ON FILE
GRANADOS, ALVARO                      ADDRESS ON FILE
GRANADOS, RODOLFO                     ADDRESS ON FILE
GRANAT, JOHN                          ADDRESS ON FILE
GRANATA, JACK J                       ADDRESS ON FILE
GRAND ARMORY BREWING                  1734 AIR PARK DR. GRAND HAVEN MI 49417
GRAND CANYON TRANSPORTATION LLC       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GRAND EXPRESS TRANSPORT, LLC          5120 KEY VIEW WAY PERRY HALL MD 21128
GRAND HUSKY LOGISTICS INC             3025 N GREAT SW PKWY GRAND PRAIRIE TX 75050
GRAND INTEREST INC                    1400 S CALIFORNIA AVE W COVINA CA 91790
GRAND JUDE INC                        2409 WHITEHAVEN RD GRAND ISLAND NY 14072
GRAND RAPIDS TRANSPORT, INC.          2278 PORT SHELDON ST JENISON MI 49428
GRAND SLAM EXPEDITED INC              31 SPRING RUN ROAD EXTENSION CORAOPOLIS PA 15108
GRAND SLAM TRUCKING LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GRAND SMITHS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GRAND SOLUTIONS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRAND SOLUTIONS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GRAND TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GRAND TRANSPORTATION                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GRAND TRAVERSE DIESEL SERVICE         194 MEMORIAL S COMMONS TRAVERSE CITY MI 49684
GRAND V INC                           OR SAINT JOHN CAPITAL CORPORATION PO BOX 7400761 CHICAGO IL 60674
GRAND VALLEY AUTOMATION INC           4275 SPARTAN INDUSTRIAL DRIVE GRANDVILLE MI 49418
GRANDBERRY, TERRENCE                  ADDRESS ON FILE
GRANDERSON, JOHNNY                    ADDRESS ON FILE
GRANDETTI, VALENTINA                  ADDRESS ON FILE
GRANDI, ENZO                          ADDRESS ON FILE
GRANDI, JOSEPH                        ADDRESS ON FILE
GRANDLINE LOGISTICS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GRANDMARK SIGNS, LLC                  15301 W 109TH STREET LENEXA KS 66219
GRANDMAS TRUCKING INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GRANDSTAND SPORTSWEAR & GLASSW        REDDAWAY DOCK, 4375 W 1385 S SALT LAKE CITY UT 84104
GRANDSTAND SPORTSWEAR AND GLASSWARE   3840 GREENWAY CIR LAWRENCE KS 66046
GRANDVIEW WINNELSON SUPPLY CO.        PO BOX 70, 13500 S 71 HIGHWAY GRANDVIEW MO 64030
GRANDVILLE, ANTHONY                   ADDRESS ON FILE
GRANDVOYAGE LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GRANELA VAZQUEZ & SONS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRANGER HUNTER IMPROVEMENT DIS        2888 3600 W WEST VALLEY CITY UT 84119
GRANGER, DANNY                        ADDRESS ON FILE
GRANGER, JASON                        ADDRESS ON FILE
GRANGER, ROBERT                       ADDRESS ON FILE
GRANIELA, RICKY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 762 OF 2145
                                           Yellow Corporation
                     Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 771 of 2156

Claim Name                          Address Information
GRANIERO, THOMAS                    ADDRESS ON FILE
GRANITE                             17482 GRANITE WEST RD COLD SPRING MN 56320
GRANITE                             ATTN: DEBORAH HANSON 17482 GRANITE WEST RD COLD SPRING MN 56320
GRANITE CO                          ATTN: LYNN ERKENS 17482 GRANITE WEST RD COLD SPRING MN 56320
GRANITE SPRINGS WATER AND ICE INC   PO BOX 1517 MINOT ND 58702
GRANITE TELECOMMUNICATIONS          100 NEWPORT AVENUE EXTENSION QUINCY MA 02171
GRANITE TELECOMMUNICATIONS          CLIENT ID 311, PO BOX 983119 BOSTON MA 02298
GRANT GLOBAL LOGISTICS INC          960 EDGELEY BLVD, UNIT 1A SECOND FLOOR CONCORD ON L4K4V4 CANADA
GRANT S EWELL                       ADDRESS ON FILE
GRANT SR, CARL                      ADDRESS ON FILE
GRANT SUPPLIES                      39-15 21ST STREET LONG ISLAND CITY NY 11101
GRANT THORNTON LLP                  3333 FINLEY RD STE 700 DOWNERS GROVE IL 60515
GRANT THORNTON LLP                  33562 TREASURY CENTER CHICAGO IL 60694
GRANT TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GRANT, AMELIA                       ADDRESS ON FILE
GRANT, ANDREW                       ADDRESS ON FILE
GRANT, ARIANA                       ADDRESS ON FILE
GRANT, BOBBY                        ADDRESS ON FILE
GRANT, BRAD                         ADDRESS ON FILE
GRANT, BRIANA                       ADDRESS ON FILE
GRANT, CARLO                        ADDRESS ON FILE
GRANT, CHERIE                       ADDRESS ON FILE
GRANT, DERAYFUS                     ADDRESS ON FILE
GRANT, DEXTER                       ADDRESS ON FILE
GRANT, DONALD                       ADDRESS ON FILE
GRANT, ERIC                         ADDRESS ON FILE
GRANT, FITZROY                      ADDRESS ON FILE
GRANT, FRANK                        ADDRESS ON FILE
GRANT, HENRY                        ADDRESS ON FILE
GRANT, HOBART                       ADDRESS ON FILE
GRANT, JAMES                        ADDRESS ON FILE
GRANT, JAMES                        ADDRESS ON FILE
GRANT, JEFFREY                      ADDRESS ON FILE
GRANT, JORGE                        ADDRESS ON FILE
GRANT, KENNETH                      ADDRESS ON FILE
GRANT, LINDA                        ADDRESS ON FILE
GRANT, LISA R                       ADDRESS ON FILE
GRANT, MARCELL                      ADDRESS ON FILE
GRANT, MARIO                        ADDRESS ON FILE
GRANT, MARK                         ADDRESS ON FILE
GRANT, MICHAEL                      ADDRESS ON FILE
GRANT, NEAL                         ADDRESS ON FILE
GRANT, RAYMOND                      ADDRESS ON FILE
GRANT, ROBBY                        ADDRESS ON FILE
GRANT, ROGER                        ADDRESS ON FILE
GRANT, RON                          ADDRESS ON FILE
GRANT, SHERWIN                      ADDRESS ON FILE
GRANT, SYDNEY                       ADDRESS ON FILE
GRANT, WESLEY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 763 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 772 of 2156

Claim Name                           Address Information
GRANT, WILLIAM                       ADDRESS ON FILE
GRANT, YONA W                        ADDRESS ON FILE
GRANT, YONA W                        ADDRESS ON FILE
GRANT-PAUL, SIANILEE                 ADDRESS ON FILE
GRANTSVILLE TRUCK & TRAILER LLC      PO BOX 693 GRANTSVILLE MD 21536
GRANTZ, AUBREE                       ADDRESS ON FILE
GRANTZ, DANIEL                       ADDRESS ON FILE
GRANVILLE, CURTIS                    ADDRESS ON FILE
GRAPE SOLAR                          2635 W 7TH PL EUGENE OR 97402
GRAPEVINE DESIGNS LLC                PO BOX 9475 SHAWNEE MISSION KS 66201
GRAPEVINE DESIGNS, LLC               8406 MELROSE DR LENEXA KS 66214
GRAPEVINE DISTRIBUTION OF SOUT       ATTN: GRANT MACCOY 6904 N MAIN ST STE 109 COLUMBIA SC 29203
GRAPHIC & INDUSTRIAL CIRCUIT         ATTN: JESSICA LODGE 100 N 6TH ST KIRKLAND IL 60146
GRAPHIC ARTS EXPRESS, INC.           1155 E IL RT 64 E OREGON IL 61061
GRAPHIC PACKAGING INTERNATIONAL      CARGO CLAIMS PO BOX 518 LOWELL AR 72745
GRAPPE, LISA                         ADDRESS ON FILE
GRASLEY, STEVEN                      ADDRESS ON FILE
GRASMAN, SCOTT                       ADDRESS ON FILE
GRASO TRANSPORT SERVICES LLC         2200 WHITCOMB CIRCLE APT A PARKVILLE MD 21234
GRASS ROOTS LAWN CARE                P.O. BOX 4111 CHESTER VA 23831
GRASS ROOTS TRUCKIN LLC              N2320 FALL RIVER-COLUMBUS ROAD COLUMBUS WI 53925
GRASS VALLEY                         PO BOX 730 GRASS VALLEY CA 95945
GRASS VALLEY TRANSFER                PO BOX 730, PO BOX 730 GRASS VALLEY CA 95945
GRASS, STUART                        ADDRESS ON FILE
GRASSETTE, RONALD                    ADDRESS ON FILE
GRASSHOPPER TRANS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GRASSIE, MICHAEL                     ADDRESS ON FILE
GRASSL, MARK                         ADDRESS ON FILE
GRASSMASTERS INC                     PO BOX 23953 LEXINGTON KY 40523
GRASSMYER, MELODY                    ADDRESS ON FILE
GRASSO, RICHARD                      ADDRESS ON FILE
GRASSROOTS TRUCKING LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GRASTY, MARIA                        ADDRESS ON FILE
GRASTY, MARVIN                       ADDRESS ON FILE
GRATEFUL CLAY STUDIO                 3213 N. IL 71 OTTAWA IL 61350
GRATEFUL TRANSPORT INC               OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
GRATEFUL TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GRATEREAUX PENA, MARIO               ADDRESS ON FILE
GRATES WRECKER SERVICE INC           PO BOX 220 LAGRANGE IN 46761
GRATIOT TOWING LLC                   125 N COURT AVE ALMA MI 48801
GRAU OIL EQUIPMENT MAINTENANCE       112 NORTH STREET WILDER KY 41071
GRAVELY, BRAD                        ADDRESS ON FILE
GRAVELY, CHRISTOPHER M               ADDRESS ON FILE
GRAVELY, MARK A                      ADDRESS ON FILE
GRAVES II, WOODROW                   ADDRESS ON FILE
GRAVES LUMBER COMPANY                1315 S CLEVELAND MASSILLON RD AKRON OH 44321
GRAVES MURRY, LORI                   ADDRESS ON FILE
GRAVES, BYRON                        ADDRESS ON FILE
GRAVES, CHADBOURNE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 764 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 773 of 2156

Claim Name                           Address Information
GRAVES, DAVID                        ADDRESS ON FILE
GRAVES, DUANE                        ADDRESS ON FILE
GRAVES, GREGORY                      ADDRESS ON FILE
GRAVES, JARROD                       ADDRESS ON FILE
GRAVES, KEITH                        ADDRESS ON FILE
GRAVES, MARIENO                      ADDRESS ON FILE
GRAVES, MAURICE                      ADDRESS ON FILE
GRAVES, MISTI                        ADDRESS ON FILE
GRAVES, PATRICK                      ADDRESS ON FILE
GRAVES, STEVEN                       ADDRESS ON FILE
GRAVES, TERRY                        ADDRESS ON FILE
GRAVES, TODD                         ADDRESS ON FILE
GRAVES, TONY                         ADDRESS ON FILE
GRAVES, TROY                         ADDRESS ON FILE
GRAVES, WILLIE                       ADDRESS ON FILE
GRAVETT, MELISSA                     ADDRESS ON FILE
GRAVITT, KATHY                       ADDRESS ON FILE
GRAVITY LOGISTICS INC                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
GRAVITY SHIPPING LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GRAVUNDER, ALEX                      ADDRESS ON FILE
GRAY ELECTRIC                        N4703 HWY 12-16 MAUSTON WI 53948
GRAY ELECTRIC                        N4717 HWY 12-16 MAUSTON WI 53948
GRAY HEATING & AIR CONDITIONING      110 ATLANTIC ROAD EL PASO TX 79922
GRAY HORSE TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRAY JAY GROUND INC                  5 CLYDESDALE CIRCLE BRAMPTON ON L6Y 3R4 CANADA
GRAY MANUFACTURING COMPANY, INC.     PO BOX 728 SAINT JOSEPH MO 64502
GRAY MANUFACTURING COMPANY, INC.     PO BOX 728 ST. JOSEPH MO 64502-0728
GRAY MANUFACTURING COMPANY, INC.     PO BOX 1587 ST. JOSEPH MO 64507
GRAY MANUFACTURING INC               AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
GRAY TRANSFER                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GRAY TRANSPORTATION, INC.            OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GRAY TRUCKING                        735 BROAD STREET BEVERLY NJ 08010
GRAY, BEN                            ADDRESS ON FILE
GRAY, BRADLEY                        ADDRESS ON FILE
GRAY, BRANDON                        ADDRESS ON FILE
GRAY, BRANDON                        ADDRESS ON FILE
GRAY, BRIAN                          ADDRESS ON FILE
GRAY, CAROL                          ADDRESS ON FILE
GRAY, CHARLES                        ADDRESS ON FILE
GRAY, CHARLES                        ADDRESS ON FILE
GRAY, CHAUNCEY                       ADDRESS ON FILE
GRAY, CHRISTOPHER                    ADDRESS ON FILE
GRAY, CHRISTOPHER                    ADDRESS ON FILE
GRAY, CLAYTON                        ADDRESS ON FILE
GRAY, COURTNEY                       ADDRESS ON FILE
GRAY, DAVID                          ADDRESS ON FILE
GRAY, DERRICK                        ADDRESS ON FILE
GRAY, EDDIE                          ADDRESS ON FILE
GRAY, ERIC                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 765 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                        Page 774 of 2156

Claim Name                      Address Information
GRAY, GLENN                     ADDRESS ON FILE
GRAY, HOWARD                    ADDRESS ON FILE
GRAY, JAMES                     ADDRESS ON FILE
GRAY, JASON                     ADDRESS ON FILE
GRAY, JEROME                    ADDRESS ON FILE
GRAY, JERRY                     ADDRESS ON FILE
GRAY, JESSICA                   ADDRESS ON FILE
GRAY, JOHN                      ADDRESS ON FILE
GRAY, JOHN                      ADDRESS ON FILE
GRAY, JONATHAN                  ADDRESS ON FILE
GRAY, KENNETH                   ADDRESS ON FILE
GRAY, KERRY                     ADDRESS ON FILE
GRAY, KEVIN                     ADDRESS ON FILE
GRAY, LANCE                     ADDRESS ON FILE
GRAY, LAZARUS                   ADDRESS ON FILE
GRAY, LEE                       ADDRESS ON FILE
GRAY, MARCUS                    ADDRESS ON FILE
GRAY, MARVIN                    ADDRESS ON FILE
GRAY, MEGHAN                    ADDRESS ON FILE
GRAY, MICHAEL                   ADDRESS ON FILE
GRAY, MICHAEL                   ADDRESS ON FILE
GRAY, OLIVER                    ADDRESS ON FILE
GRAY, PERRY                     ADDRESS ON FILE
GRAY, RANDY                     ADDRESS ON FILE
GRAY, RONALD                    ADDRESS ON FILE
GRAY, ROOSEVELT                 ADDRESS ON FILE
GRAY, ROXANN                    ADDRESS ON FILE
GRAY, SANDRA                    ADDRESS ON FILE
GRAY, SEAN                      ADDRESS ON FILE
GRAY, SHAWN A                   ADDRESS ON FILE
GRAY, SHIRLEY                   ADDRESS ON FILE
GRAY, STANLEY                   ADDRESS ON FILE
GRAY, TAKOBE                    ADDRESS ON FILE
GRAYBAR                         300 SW 27TH ST RENTON WA 98057
GRAYBAR                         ATTN: LESLIE NOORDMAN 300 SW 27TH ST STE B RENTON WA 98057
GRAYBAR ELECTRIC                ATTN: SANDY GRECO 2 WERNER RD HALFMOON NY 12065
GRAYBAR ELECTRIC                2204 TURNER AVE NW GRAND RAPIDS MI 49544
GRAYBAR ELECTRIC                1600 N RIVERFRONT DR MANKATO MN 56001
GRAYBAR ELECTRIC                ATTN: HAROLD GREENLEE 1904 N LE COMPTE AVE BLDG 12 SPRINGFIELD MO 65802
GRAYBAR ELECTRIC                480 E 55TH AVE UNIT 500 DENVER CO 80216
GRAYBAR ELECTRIC                ATTN: BRAD CHRISTOPHER 480 E 55TH AVE STE 500 DENVER CO 80216
GRAYBAR ELECTRIC                3350 W EARLL DRIVE PHOENIX AZ 85017
GRAYBAR ELECTRIC                130 VALLEY VISTA DR 100 DIAMOND BAR CA 91765
GRAYBAR ELECTRIC                1370 VALLEY VISTA DR 10 DIAMOND BAR CA 91765
GRAYBAR ELECTRIC                1370 VALLEYVISTA DR STE 100 DIAMOND BAR CA 91765
GRAYBAR ELECTRIC                2205 MOUNT VERNON AVE POMONA CA 91768
GRAYBAR ELECTRIC                2205 MT VEMON AVE POMONA CA 91768
GRAYBAR ELECTRIC                2959 CENTURY PL COSTA MESA CA 92626
GRAYBAR ELECTRIC                ATTN: SUSAN MARTINEZ 4401 E CENTRAL AVE FRESNO CA 93725



Epiq Corporate Restructuring, LLC                                                            Page 766 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 775 of 2156

Claim Name                              Address Information
GRAYBAR ELECTRIC CO                     7055 S DECATUR BLVD STE 100 LAS VEGAS NV 89118
GRAYBAR ELECTRIC CO                     5360 OVERPASS RD SANTA BARBARA CA 93111
GRAYBAR ELECTRIC CO                     6100 SCHIRRA CT BAKERSFIELD CA 93313
GRAYBAR ELECTRIC CO                     3089 WHIPPLE RD UNION CITY CA 94587
GRAYBAR ELECTRIC CO INC                 ATTN: MIKE LAJOCIES 1465 MONAD RD BILLINGS MT 59101
GRAYBAR ELECTRIC CO INC0060048921)      4401 E CENTRAL AVE FRESNO CA 93725
GRAYBAR ELECTRIC COMPANY, INC.          PO BOX 403062 ATLANTA GA 30384
GRAYBAR ELECTRIC COMPANY, INC.          12444 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
GRAYBAR ELECTRIC COMPANY, INC.          PO BOX 504490 ST. LOUIS MO 63150
GRAYBAR ELECTRIC COMPANY, INC.          GRAYBAR ELECTRIC CO., PO BOX 840458 DALLAS TX 75284
GRAYBAR ELECTRIC VC 8794208             2841 S 900 W SALT LAKE CITY UT 84119
GRAYBAR GLENDALE HEIGHTS                900 REGENCY DR GLENDALE HTS IL 60139
GRAYBAR PORTLAND                        ATTN: SHERI LEMASTERS 901 NE 60TH PORTLAND OR 97213
GRAYELL, STU                            ADDRESS ON FILE
GRAYLESS FILTER SERVICES INC            PO BOX 3123 TERRE HAUTE IN 47803
GRAYMAR ENVIRONMENTAL SERVICES INC      100 SPRINGDALE ROAD, SUITE A3    BOX 302 CHERRY HILL NJ 08003
GRAYS EXPRESS TRUCKING LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GRAYS FREIGHT SERVICES LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GRAYS ON-SITE REPAIR, LLC               7645 MARKER RD MIDDLETOWN MD 21769
GRAYSON COUNTY ASSESSOR                 AND COLLECTOR OF TAXES, PO BOX 2107 SHERMAN TX 75091
GRAYSON INTERNATIONAL                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
GRAYSON, AMY                            ADDRESS ON FILE
GRAYSON, DAVID                          ADDRESS ON FILE
GRAYSON, ELISHA                         ADDRESS ON FILE
GRAYSON, MICHAEL                        ADDRESS ON FILE
GRAYSON, RONALD                         ADDRESS ON FILE
GRAYSON, SOLOMON                        ADDRESS ON FILE
GRAYTON, JAMARI                         ADDRESS ON FILE
GRAZIANO, DAVID                         ADDRESS ON FILE
GRAZIANO, JOSEPH                        ADDRESS ON FILE
GRAZILLA, MICHAEL                       ADDRESS ON FILE
GRD TRANSPORT                           2650 HENRI-DUNANT LACHINE QC H8S 1R6 CANADA
GREAKER, ANDERSEN                       ADDRESS ON FILE
GREAR, TYLER                            ADDRESS ON FILE
GREAR, WINDY                            ADDRESS ON FILE
GREAT AMERICA INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREAT AMERICA LOGISTICS INC             OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GREAT AMERICAN ASSURANCE CO.            11325 N COMMUNITY HOUSE RD 2 CHARLOTTE NC 28277
GREAT AMERICAN LOGISTICS INC            OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
GREAT AMERICAN TRANSP RESOURCES LLC     11968 E 550 S LAOTTO IN 46763
GREAT AMERICAN, INCORPORATED            1781 WESTFORK DR STE 104 LITHIA SPRINGS GA 30122
GREAT BASIN FIRE EQUIPMENT              PO BOX 1666 SANDY UT 84091
GREAT BASIN FIRE PROTECTION             PO BOX 60789 RENO NV 89508
GREAT BASIN GRANITE                     680 W CEDAR ST STE B ELKO NV 89801
GREAT BLESSING INC                      OR GENERAL BUSINESS CREDIT 110 E. 9TH ST, STE C-900 LOS ANGELES CA 90079
GREAT CONNECTIONS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GREAT DANE TRAILERS INC                 25768 NETWORK PLACE CHICAGO IL 60673
GREAT DANE TRUCKING                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
GREAT DANE UTAH PARTS & SERVICE, INC.   770 WEST 2100 SOUTH SALT LAKE CITY UT 84119



Epiq Corporate Restructuring, LLC                                                                    Page 767 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 776 of 2156

Claim Name                               Address Information
GREAT FARMERS GROUP TRANSPORT            OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
GREAT FORTUNES LIMITED                   UNIT 2 20/F MALAYSIA BUILDING 50 GLOUCESTER ROAD WANCHAI HONG KONG
GREAT FREIGHT CARRIERS LLC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
GREAT GRIZZLY BAR AND GRILL              1027 GEYER AVE ST LOUIS MO 63104
GREAT GURU LOGISTICS INC                 25 HOWARD ST GREENFIELD IN 46140
GREAT KIDS ACADEMY                       24310 76TH AVE. EDMONDS WA 98026
GREAT LAKES AERO PRODUCTS                ATTN: HEATHER ZOFKO-WILES 915 KEARSLEY PARK BLVD FLINT MI 48503
GREAT LAKES CARGO INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GREAT LAKES CARRIER LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GREAT LAKES DISTRIBUTING, INC            2601 BERNICE RD. LANSING IL 60438
GREAT LAKES ELECTRICAL CONTRACTING       440 ARCO DR TOLEDO OH 43607
GREAT LAKES LOGISTICS & TRANSPORTATION   9338 HARRISON RD ROMULUS MI 48174
GREAT LAKES LOGISTICS & TRANSPORTATION   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GREAT LAKES ONE CARRIER LLC              P O BOX 947 DEARBORN MI 48121
GREAT LAKES PETROLEUM CO                 PO BOX 780040 PHILADELPHIA PA 19178
GREAT LAKES RUBBER &SUPPLY               6150 N FLINT RD MILWAUKEE WI 53209
GREAT LAKES SHIPPING INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
GREAT LAKES TESTING SERVICES             500 DAVIS ST EVANSTON IL 60201
GREAT LAKES TRUCK CENTERS                1600 E WATERLOO RD AKRON OH 44306
GREAT LAKES TRUCKING MI INC              OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
GREAT LAKES WATERPROOFING                3186 CHURCH ST CALEDONIA NY 14423
GREAT LAKES WESTERN STAR                 FREIGHTLINER, 1630 TELB ROAD MONROE MI 48162
GREAT LAKES WESTERN STAR                 1630 TELB ROAD MONROE MI 48162-2572
GREAT LAKES WINDOW CLEANING              4801 INDUSTRIAL PKWY INDIANAPOLIS IN 46226
GREAT NORTHERN TRANSPORTATION CO.        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GREAT NORTHWEST TRANSPORT, LLC           OR GREAT NORTHWEST TRANSPORT P O BOX 2565 PASCO WA 99302
GREAT OAK MANOR                          10568 CLIFF RD. CHESTERTOWN MD 21620
GREAT ONE LOGISTIC LLC                   1638 MILLER RD STE 3 DEARBORN MI 48120
GREAT OUTDOOR YARD SRV LLC               PO BOX 1551 GAYLORD MI 49734
GREAT PACIFIC LOGISTICS INC.             9590 CHERRY GROVE CIR SACRAMENTO CA 95829
GREAT PLAINS MOVING AND STORAGE          22700 EAST I-76 FRONTAGE ROAD, SUITE 100 BRIGHTON CO 80603
GREAT POWER TRUCKING INC                 4238 WOODS CREEK LN SUWANEE GA 30024
GREAT PRAIRIE RISK SOLUTIONS             PO BOX 7037 DEERFIELD IL 60015
GREAT PRAIRIE RISK SOLUTIONS, INC.       1111 PFINGSTEN ROAD SUITE 165 DEERFIELD IL 60015
GREAT TRANS INC                          OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GREAT TRANS INC (MC1434450)              OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
GREAT TRUCKING LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GREAT WAY FREIGHT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GREAT WEST TRUCK AND AUTO INC            PO BOX 3697 KINGMAN AZ 86401
GREAT WESTERN PRODUCTS COMPANY           ATTN: CHRISTIE GILLIAM 30290 US HIGHWAY 72 HOLLYWOOD AL 35752
GREAT WESTERN SUPPLY CO                  116 E 53RD ST, PO BOX 2786 DAVENPORT IA 52809
GREAT WESTERN SWEEPING, INC.             PO BOX 926 SHERWOOD OR 97140
GREAT WESTERN TRAILER                    PO BOX 296 WORCESTER MA 01613
GREAT WHITE LOGISTICS INC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
GREATER GRNVLLE SANITATION DST           1600 W WASHINGTON ST GREENVILLE SC 29601
GREATER KANSAS CITY CHAMBER OF COMMERCE 30 W PERSHING RD STE 301 KANSAS CITY MO 64108
GREATER KUDU EXPRESS LLC                 OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
GREATER SOMA TRUCKING LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GREATHOUSE, BRIAN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 768 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 777 of 2156

Claim Name                              Address Information
GREATHOUSE, DONNIE                      ADDRESS ON FILE
GREATHOUSE, DOUGLAS                     ADDRESS ON FILE
GREATHOUSE, RONALD                      ADDRESS ON FILE
GREATWAY TRANSPORTATION INC             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GREATWEST KENWORTH LTD                  5909 6TH STREET S.E. CALGARY AB T2H 1L8 CANADA
GREATWEST MAINTENANCE SERVICE           465 EGESZ ST WINNIPEG MB R2R 2V5 CANADA
GREATWEST MAINTENANCE SERVICE           1447 WELLINGTON AVENUE WINNIPEG MB R3E 0K4 CANADA
GREBEN, RICHARD                         ADDRESS ON FILE
GRECZANIK, RICHARD                      ADDRESS ON FILE
GREDE LLC                               52000 FOUNDRY CIRCLE ST CLOUD MN 56303
GREDER, EDMUND                          ADDRESS ON FILE
GREDER, EDMUND                          ADDRESS ON FILE
GREELY, REGINALD                        ADDRESS ON FILE
GREEN AMERICA TRUCKING INC              OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GREEN APPLE LLC                         OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
GREEN ARROW LOGISTICS INCORPORATED      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
GREEN ARROW TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GREEN ARROW TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN BIRD TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GREEN BLUE 1818 LLC                     C/O BLOCK REAL ESTATE SERVICES LLC, 700 W 47TH STREET SUITE 200 KANSAS CITY MO
                                        64112
GREEN CHOICE SOLAR,LLC                  3104 E. CAMELBACK RD SUITE 1033 PHOENIX AZ 85016
GREEN COUNTRY LAWNSCAPES, LLC           PO BOX 141092 BROKEN ARROW OK 74014
GREEN COUNTRY TESTING INC               6825 E 38TH ST TULSA OK 74145
GREEN DIAMOND COMMERCIAL CLEANING LLC   OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
GREEN DRAYAGE SYSTEMS INC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
GREEN DROP                              1741 MCDONALD ST REGINA SK S4N 6A9 CANADA
GREEN FREIGHT INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GREEN FUTURE XPRESS INC.                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
GREEN GROUND LOGISTICS, INC             OR ROYALTY CAPITAL, INC, PO BOX 842205 DALLAS TX 75284-2205
GREEN HORNET INVESTMENT GROUP LLC       5009 BEATTIES FORD RD STE 107-203 CHARLOTTE NC 28216
GREEN HORNETS LOGISTICS INC             OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
GREEN HOUSE TRANSPORTATION INC          3118 LA PLATA AVE HACIENDA HTS CA 91745
GREEN JR, LEANDREW                      ADDRESS ON FILE
GREEN KEY TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREEN LAND TRANSPORTATION LLC           OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
GREEN LEAF CARRIERS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN LEAF LOGISTICS INC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GREEN LIGHT CARRIER LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GREEN LIGHT EXPRESS LLC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GREEN LIGHT FREIGHT INC                 4413 ROLLING HILLS DR LAKE IN THE HIL IL 60156
GREEN LIGHT HAULING CORP                OR PREMIER CAPITAL LTD 1000 W WASHINGTON AVE CROYDON PA 19021
GREEN LIGHT HAULING CORP                2333 ALEXANDRIA DR LEXINGTON KY 40504
GREEN LIGHTS RECYCLING, INC             10040 DAVENPORT ST NE BLAINE MN 55449
GREEN LINE LOGISTICS, INC.              PO BOX 1098 HOMEWOOD IL 60430
GREEN LOGISTICS CANADA INC              55 ADMINISTRATION ROAD 11 CONCORD ON L4K 4G9 CANADA
GREEN MILE LLC                          OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
GREEN MILE LOGISTICS LLC                4011 W. PLANO PARKWAY SUITE 107 PLANO TX 75093
GREEN MILES INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                    Page 769 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 778 of 2156

Claim Name                               Address Information
GREEN MIRE CORP                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN MOUNTAIN ELECTRIC SUPPLY           DYNAMIC LOGISTIX FREIGHT CLAIMS D PO BOX 26353 OVERLAND PARK KS 66225
GREEN MOUNTAIN POWER CORP                163 ACORN LANE COLCHESTER VT 05446
GREEN MOUNTAIN POWERCORP                 ATTN: ASHLEY MCCORMACK 2152 POST ROAD RUTLAND VT 05701
GREEN MOUNTAIN TRANSPORT INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GREEN MOUNTAIN TRANSPORTATION, INC.      430 ATLAS DRIVE NASHVILLE TN 37211
GREEN PARADISE LANDSCAPING LLC           5206 170TH PL NE ARLINGTON WA 98223
GREEN PARROT LOGISTICS INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN PRODUCTS                           ATTN: SARAH CARPENTER 410 W CTR CONRAD IA 50621
GREEN RIVER EXPRESS, INC.                3217 SW 103 PL OKLAHOMA CITY OK 73159
GREEN RIVER EXPRESS, INC.                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
GREEN RIVER ROOFING & CONSTRUCTION INC   1304 SW MARKET STREET LEES SUMMIT MO 64081
GREEN RIVER TRUCKING LLC                 36 EAST CLEVELAND GREENFIELD MA 01301
GREEN ROAD LOGISTICS INC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GREEN ROAD TRANSPORTATION CORPORATION    OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
GREEN SERVICES INC                       458 S WASHINGTON ST VALPARAISO IN 46383
GREEN SHARK TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREEN STAR TRANSPORT LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GREEN STAR TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN TRANSPORT LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GREEN TRANSPORT LLC (MC1155846)          OR ITHRIVE FUNDING LLC DEP 848 PO BOX 1000 MEMPHIS TN 38148-1000
GREEN TRANSPORTER SERVICES               OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GREEN TRUCK EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GREEN TRUCK MOVING AND STORAGE           OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GREEN TRUCKING                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN TRUCKING (JACKSON TN)              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GREEN TRUCKING LLC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GREEN TRUCKING LLC (MC901224)            2504 WEEPING BEECH LN PFLUGERVILLE TX 78660
GREEN VALLEY LANDSCAPING                 5106 AVOCA AVE ELLICOTT CITY MD 21043
GREEN VALLEY LANDSCAPING                 7057 KIT KAT RD ELKRIDGE MD 21075
GREEN VALLEY LANDSCAPING & MAINTENANCE   1742 W TAMARISK ST PHOENIX AZ 85041
GREEN VALLEY LOGISTICS CORP              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GREEN VALLEY LOGISTICS CORP              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GREEN VALLEY SEPTIC                      229933 CLOVERBELT RD WAUSAU WI 54403
GREEN WAVE INGREDIENTS                   ATTN: ABRIL MENDEZ 230 MILL RD EDISON NJ 08817
GREEN WAY EXPRESS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GREEN WAY EXPRESS LLC (PORTLAND OR)      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
GREEN WAY FREIGHT INC                    4061 GRANDVIEW AVE GURNEE IL 60031
GREEN WAY TRANSPORTATION LLC             OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
GREEN, ADAM                              ADDRESS ON FILE
GREEN, ALEXANDER                         ADDRESS ON FILE
GREEN, ALEXIS                            ADDRESS ON FILE
GREEN, ALLEN                             ADDRESS ON FILE
GREEN, ANDREW                            ADDRESS ON FILE
GREEN, ANTHONY                           ADDRESS ON FILE
GREEN, ANTHONY                           ADDRESS ON FILE
GREEN, ANTHONY                           ADDRESS ON FILE
GREEN, ANTOINETTE                        ADDRESS ON FILE
GREEN, ARTHUR                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 770 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                      Page 779 of 2156

Claim Name                          Address Information
GREEN, BILLY                        ADDRESS ON FILE
GREEN, BLU                          ADDRESS ON FILE
GREEN, BOBBY                        ADDRESS ON FILE
GREEN, BRANDON                      ADDRESS ON FILE
GREEN, BRIAN                        ADDRESS ON FILE
GREEN, BRIAN                        ADDRESS ON FILE
GREEN, BRITTNEY                     ADDRESS ON FILE
GREEN, CARLTON                      ADDRESS ON FILE
GREEN, CHACE                        ADDRESS ON FILE
GREEN, CHARLES                      ADDRESS ON FILE
GREEN, CHARLES                      ADDRESS ON FILE
GREEN, CHRISTOPHER                  ADDRESS ON FILE
GREEN, CHRISTOPHER R                ADDRESS ON FILE
GREEN, CORY                         ADDRESS ON FILE
GREEN, DANNY                        ADDRESS ON FILE
GREEN, DARNELL                      ADDRESS ON FILE
GREEN, DAVID                        ADDRESS ON FILE
GREEN, DAVID                        ADDRESS ON FILE
GREEN, DELBERT                      ADDRESS ON FILE
GREEN, DEMOND                       ADDRESS ON FILE
GREEN, DEVIN                        ADDRESS ON FILE
GREEN, DON                          ADDRESS ON FILE
GREEN, DONALD                       ADDRESS ON FILE
GREEN, DOUGLAS                      ADDRESS ON FILE
GREEN, DUAINE                       ADDRESS ON FILE
GREEN, DWAYNE                       ADDRESS ON FILE
GREEN, EARL                         ADDRESS ON FILE
GREEN, EDWIN                        ADDRESS ON FILE
GREEN, ERIC                         ADDRESS ON FILE
GREEN, ERIC                         ADDRESS ON FILE
GREEN, ETHAN                        ADDRESS ON FILE
GREEN, GARLAND                      ADDRESS ON FILE
GREEN, GEORGE                       ADDRESS ON FILE
GREEN, HOWARD                       ADDRESS ON FILE
GREEN, JACKIE                       ADDRESS ON FILE
GREEN, JAMES                        ADDRESS ON FILE
GREEN, JAMES                        ADDRESS ON FILE
GREEN, JAMES                        ADDRESS ON FILE
GREEN, JAMES                        ADDRESS ON FILE
GREEN, JASMINE                      ADDRESS ON FILE
GREEN, JEFFREY                      ADDRESS ON FILE
GREEN, JEFFREY                      ADDRESS ON FILE
GREEN, JEREMIAH                     ADDRESS ON FILE
GREEN, JEREMY                       ADDRESS ON FILE
GREEN, JOHN                         ADDRESS ON FILE
GREEN, JOHN                         ADDRESS ON FILE
GREEN, JONATHAN                     ADDRESS ON FILE
GREEN, JOSEPH                       ADDRESS ON FILE
GREEN, JOSEPH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                        Page 771 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 780 of 2156

Claim Name                      Address Information
GREEN, JOSEPH                   ADDRESS ON FILE
GREEN, KAYLA                    ADDRESS ON FILE
GREEN, KAZUAL                   ADDRESS ON FILE
GREEN, KENNETH                  ADDRESS ON FILE
GREEN, KEVIN                    ADDRESS ON FILE
GREEN, KEVIN                    ADDRESS ON FILE
GREEN, KIMBERLY                 ADDRESS ON FILE
GREEN, KIRK                     ADDRESS ON FILE
GREEN, KYLE                     ADDRESS ON FILE
GREEN, LAMARCUS                 ADDRESS ON FILE
GREEN, LAMARR                   ADDRESS ON FILE
GREEN, LARRY                    ADDRESS ON FILE
GREEN, LARRY                    ADDRESS ON FILE
GREEN, LAURA                    ADDRESS ON FILE
GREEN, LEON                     ADDRESS ON FILE
GREEN, LOZARUS                  ADDRESS ON FILE
GREEN, MARC                     ADDRESS ON FILE
GREEN, MARK                     ADDRESS ON FILE
GREEN, MICHAEL                  ADDRESS ON FILE
GREEN, MICHAEL                  ADDRESS ON FILE
GREEN, MICHAEL C                ADDRESS ON FILE
GREEN, MICHELLE                 ADDRESS ON FILE
GREEN, OSCAR                    ADDRESS ON FILE
GREEN, PAMELA                   ADDRESS ON FILE
GREEN, PATRICK                  ADDRESS ON FILE
GREEN, PATRICK                  ADDRESS ON FILE
GREEN, PURVIS                   ADDRESS ON FILE
GREEN, RAAMEL                   ADDRESS ON FILE
GREEN, RAMON                    ADDRESS ON FILE
GREEN, RAYMOND                  ADDRESS ON FILE
GREEN, REKEYIA                  ADDRESS ON FILE
GREEN, ROBERT                   ADDRESS ON FILE
GREEN, RONALD                   ADDRESS ON FILE
GREEN, RONALD                   ADDRESS ON FILE
GREEN, RONALD                   ADDRESS ON FILE
GREEN, ROSS                     ADDRESS ON FILE
GREEN, RYAN                     ADDRESS ON FILE
GREEN, SHAWN                    ADDRESS ON FILE
GREEN, SHELY                    ADDRESS ON FILE
GREEN, TERRELL                  ADDRESS ON FILE
GREEN, THOMAS                   ADDRESS ON FILE
GREEN, TIM                      ADDRESS ON FILE
GREEN, TITUS                    ADDRESS ON FILE
GREEN, TONY A                   ADDRESS ON FILE
GREEN, TROE                     ADDRESS ON FILE
GREEN, VERNON J                 ADDRESS ON FILE
GREEN, WESLEY                   ADDRESS ON FILE
GREEN, WILLIAM                  ADDRESS ON FILE
GREEN, WILLIE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 772 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 781 of 2156

Claim Name                           Address Information
GREEN, WILLIE L                      ADDRESS ON FILE
GREEN, XAVIER                        ADDRESS ON FILE
GREENACRES GYPSUM & LIME, INC.       PO BOX 250 GREENACRES WA 99016
GREENBERG, CHRISTOPHER               ADDRESS ON FILE
GREENBERG, JUSTIN                    ADDRESS ON FILE
GREENBUSH LOGISTICS, INC.            PO BOX 11407 BIRMINGHAM AL 35246-2084
GREENBUSH LOGISTICS, INC.            445 SINGLETARY RD ABBEVILLE AL 36310
GREENE COUNTY TAX COLLECTOR          940 BOONVILLE SPRINGFIELD MO 65802
GREENE COUNTY TAX COLLECTOR          940 BOONVILLE AVE SPRINGFIELD MO 65802
GREENE TREE CARE                     83 DAWSON DRIVE CAMARILLO CA 93012
GREENE, BOYCE                        ADDRESS ON FILE
GREENE, CORSHAE                      ADDRESS ON FILE
GREENE, DAVID                        ADDRESS ON FILE
GREENE, DEDRICK                      ADDRESS ON FILE
GREENE, ERIC                         ADDRESS ON FILE
GREENE, JEREMIAH                     ADDRESS ON FILE
GREENE, JERMIA                       ADDRESS ON FILE
GREENE, JERRY                        ADDRESS ON FILE
GREENE, JOHN                         ADDRESS ON FILE
GREENE, JONATHAN                     ADDRESS ON FILE
GREENE, JOSHUAH                      ADDRESS ON FILE
GREENE, KEITH                        ADDRESS ON FILE
GREENE, LAWRENCE                     ADDRESS ON FILE
GREENE, MARCUS                       ADDRESS ON FILE
GREENE, MICHAEL                      ADDRESS ON FILE
GREENE, ROBERT                       ADDRESS ON FILE
GREENE, ROBERT                       ADDRESS ON FILE
GREENE, SCOTT                        ADDRESS ON FILE
GREENE, SCOTT                        ADDRESS ON FILE
GREENE, SHERRY L                     ADDRESS ON FILE
GREENE, STANTON                      ADDRESS ON FILE
GREENE, TIMOTHY                      ADDRESS ON FILE
GREENE, TIMOTHY                      ADDRESS ON FILE
GREENE, TRAVIS                       ADDRESS ON FILE
GREENE, TROY                         ADDRESS ON FILE
GREENE, TYLER                        ADDRESS ON FILE
GREENERPRINTER                       1003 CANAL BLVD RICHMOND CA 94804
GREENEVILLE ENERGY AUTHORITY         110 N COLLEGE ST GREENEVILLE TN 37743
GREENFELD, STEPHEN                   ADDRESS ON FILE
GREENFIELD, DOUGLAS                  ADDRESS ON FILE
GREENFIELD, GARY                     ADDRESS ON FILE
GREENFIELD, MATTHEW                  ADDRESS ON FILE
GREENGO TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GREENGRO LLC                         PO BOX 976 WINDSOR CA 95492
GREENHAW, ZACHARY P                  ADDRESS ON FILE
GREENHECK FAN COMPANY                ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GREENHOUSE                           1936 GRANT ST. BELLINGHAM WA 98225
GREENIA, MARK                        ADDRESS ON FILE
GREENIER, SCOTT                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 773 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 782 of 2156

Claim Name                               Address Information
GREENLAND TRANSPORT INC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GREENLAND TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GREENLANE TRANSPORT LLC                  1801 W CALCITE CT MERIDIAN ID 83642
GREENLEAF TRANSPORT LLC                  PO BOX 147 TAYLOR WI 54659
GREENLEAF TRANSPORTATION SERVICES, LLC   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
GREENLEAF, JAMES A                       ADDRESS ON FILE
GREENLEAF, SEAN                          ADDRESS ON FILE
GREENLEAF, TONY                          ADDRESS ON FILE
GREENLEE, HAROLD                         ADDRESS ON FILE
GREENLIGHT CARGO CARRIER LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GREENLIGHT TRANSPORT LLC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GREENLINE DISTRIBUTION                   751 W WARM SPRINGS RD STE 140 HENDERSON NV 89011
GREENLINE EXPRESS INC                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
GREENLINE TRANSPORTATION LLC             8737 WILSHIRE BLVD BEVERLY HILLS CA 90211
GREENLINE TRANSPORTATION LOGISTICS       OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GREENMAN, DAVID                          ADDRESS ON FILE
GREENO, MARK                             ADDRESS ON FILE
GREENS PREMIER TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREENS R&R WRECKER SERVICE LLC           6379 STONEY POINTE DR. CALEDONIA MI 49316
GREENS TOWING AND RECOVERY LLC           1713 GREEN LANE SHELBYVILLE TN 37160
GREENSCAPES LANDSCAPING                  4220 WINCHESTER PIKE COLUMBUS OH 43232
GREENSCREENS AI LLC                      PO BOX 567 FORT PIERCE FL 34954
GREENSKEEPER                             853 56TH STREET EAST SASKATOON SK S7K 5Y9 CANADA
GREENSOLV                                141 LABROSSE AVE POINTE-CLAIRE QC H9R 1A3 CANADA
GREENSTEIN, DONALD                       ADDRESS ON FILE
GREENSWEEP LLC                           821 NORWOOD ROAD SILVER SPRING MD 20905
GREENTREE TRANSPORTATION COMPANY         200 AIRSIDE DR, SUITE 260 MOON TOWNSHIP PA 15108
GREENUP AREA FIRE PROTECTION DISTRICT    C\O MED-I-CLAIMS, 2000 W PIONEER PARKWAY, STE 4 PEORIA IL 61615
GREENVILLE COUNTY TAX COLLECTOR          DEPARTMENT 390 PO BOX 100221 COLUMBIA SC 29202-3221
GREENVILLE COUNTY TAX COLLECTOR          PO BOX 19114 GREENVILLE SC 29602
GREENVILLE POWER AND LIGHT               110 N COLLEGE ST GREENEVILLE TN 37743
GREENVILLE PRINT SOLUTIONS LLC           31 RUSHMORE DR GREENVILLE SC 29615
GREENVILLE TRUCKING LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GREENVILLE WATER                         407 WEST BROAD STREET P.O. BOX 687 GREENVILLE SC 29601
GREENWALD, MICHAEL                       ADDRESS ON FILE
GREENWAY CARRIERS                        5 COPPER ROAD BRAMPTON ON L6T 4W5 CANADA
GREENWAY CARRIERS CORP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREENWAY CARRIERS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREENWAY COMMERCIAL LANDSCAPE SVCS INC   PO BOX 77373 SHORELINE WA 98177
GREENWAY TRANSPORT INC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GREENWAY TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GREENWAY TRANSPORTATION, INC.            PO BOX 669 AVOCA IA 51521
GREENWELL, JOHN                          ADDRESS ON FILE
GREENWOOD ENTERPRISES LLC                407 N PACIFIC COAST HWY 794 REDONDO BEACH CA 90277
GREENWOOD PLASTICS                       1126 N KIMBALL ST DANVILLE IL 61832
GREENWOOD PLASTICS                       ATTN: BRANDI TUTTLE 1126 N KIMBALL ST DANVILLE IL 61832
GREENWOOD, ANDREW                        ADDRESS ON FILE
GREENWOOD, MATTHEW                       ADDRESS ON FILE
GREENWOOD, TRACY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 774 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 783 of 2156

Claim Name                               Address Information
GREER & LEWIS LIGHT INC                  21490 GARFIELD RD PERRIS CA 92570-9641
GREER, CASSANDRA                         ADDRESS ON FILE
GREER, COURTNEY                          ADDRESS ON FILE
GREER, DAVIS                             ADDRESS ON FILE
GREER, DONALD                            ADDRESS ON FILE
GREER, FLINT                             ADDRESS ON FILE
GREER, GEORGE                            ADDRESS ON FILE
GREER, GEORGE R                          ADDRESS ON FILE
GREER, HARRY                             ADDRESS ON FILE
GREER, KYLE                              ADDRESS ON FILE
GREER, KYLE                              ADDRESS ON FILE
GREER, NATHANIEL                         ADDRESS ON FILE
GREER, NICOLE                            ADDRESS ON FILE
GREER, RAS                               ADDRESS ON FILE
GREER, SCOTT                             ADDRESS ON FILE
GREER, TERRY L                           ADDRESS ON FILE
GREER, THOMAS                            ADDRESS ON FILE
GREER, TIMOTHY                           ADDRESS ON FILE
GREER, VINCENT                           ADDRESS ON FILE
GREER, WALTER                            ADDRESS ON FILE
GREER, ZKHELE                            ADDRESS ON FILE
GREERS SUPPLY CO INC                     2401-A PLANTATION RD ROANOKE VA 24012
GREESON, JAY                             ADDRESS ON FILE
GREESON, JAY                             ADDRESS ON FILE
GREG A OVERSTREET                        ADDRESS ON FILE
GREG A RICHARDSON                        ADDRESS ON FILE
GREG BEATY                               ADDRESS ON FILE
GREG COUPER                              ADDRESS ON FILE
GREG E KOSTENKO                          ADDRESS ON FILE
GREG ELSER - WO                          ADDRESS ON FILE
GREG HANSON TRUCKING                     1181 420TH AVE KARLSTAD MN 56732
GREG MUTO                                ADDRESS ON FILE
GREG RUPP                                ADDRESS ON FILE
GREGA, ERIC                              ADDRESS ON FILE
GREGA, JEFF                              ADDRESS ON FILE
GREGATH, VICTOR                          ADDRESS ON FILE
GREGERSON, JAY                           ADDRESS ON FILE
GREGG A PARKER TRUCKING LOGISTICS LLC    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREGG DISTRIBUTORS LIMITED PARTNERSHIP   16215-118 AVENUE EDMONTON AB T5V 1C7 CANADA
GREGG GUYDISH                            ADDRESS ON FILE
GREGG YOUNG MITSUBISHI                   ATTN: JOHN DIBBERN PARTS DEPARTMENT 6320 TELLURIDE DR LINCOLN NE 68521
GREGG, DARNELL                           ADDRESS ON FILE
GREGG, GLENN                             ADDRESS ON FILE
GREGG, LIZ                               ADDRESS ON FILE
GREGGS, FREDRICK                         ADDRESS ON FILE
GREGOIRE, CHARLES J                      ADDRESS ON FILE
GREGOIRE, DANIEL F                       ADDRESS ON FILE
GREGOIRE, PHILIP                         ADDRESS ON FILE
GREGOLUNAS, JOHN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 775 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 784 of 2156

Claim Name                            Address Information
GREGOR, HARRY                         ADDRESS ON FILE
GREGORICH, BRUCE                      ADDRESS ON FILE
GREGORICH, LISA                       ADDRESS ON FILE
GREGORY A KRUEGER                     ADDRESS ON FILE
GREGORY B TEKAUTZ                     ADDRESS ON FILE
GREGORY CHRISTOFF                     ADDRESS ON FILE
GREGORY HOLLEMAN                      ADDRESS ON FILE
GREGORY J CARBETT                     ADDRESS ON FILE
GREGORY L JACKSON                     ADDRESS ON FILE
GREGORY L NEWLAND                     ADDRESS ON FILE
GREGORY MICHAEL BUDNER                ADDRESS ON FILE
GREGORY P STEWART                     ADDRESS ON FILE
GREGORY R DUTTON                      ADDRESS ON FILE
GREGORY R DUTTON                      ADDRESS ON FILE
GREGORY S TOTTEN                      ADDRESS ON FILE
GREGORY SMITH                         ADDRESS ON FILE
GREGORY TRUCKING COMPANY, INC.        11340 HALIFAX RD JAVA VA 24565
GREGORY VIOLA                         ADDRESS ON FILE
GREGORY, BARNETT O                    ADDRESS ON FILE
GREGORY, EDDIE                        ADDRESS ON FILE
GREGORY, ERIN                         ADDRESS ON FILE
GREGORY, GARY                         ADDRESS ON FILE
GREGORY, JAMES                        ADDRESS ON FILE
GREGORY, JASEN                        ADDRESS ON FILE
GREGORY, JERRY                        ADDRESS ON FILE
GREGORY, JIM                          ADDRESS ON FILE
GREGORY, KEVIN                        ADDRESS ON FILE
GREGORY, KEVIN                        ADDRESS ON FILE
GREGORY, KRISTIN                      ADDRESS ON FILE
GREGORY, LAZERRICK                    ADDRESS ON FILE
GREGORY, NICK                         ADDRESS ON FILE
GREGORY, QUAINE                       ADDRESS ON FILE
GREGORY, ROBERT                       ADDRESS ON FILE
GREGORY, SHERYL                       ADDRESS ON FILE
GREGORY, TRAVIS                       ADDRESS ON FILE
GREGORYS MAINTENANCE & REPAIR, INC.   600 S. WALNUT ST. RISING SUN IN 47040
GREGORYS TRAILER SERVICE              417 CHAPEL RD GREER SC 29651
GREGPOL EXPRESS INC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                      33631-3792
GREGS OVERHEAD DOOR SERVICES INC.     4905 CR 467 ELGIN TX 78621
GREGS TRUCK SERVICE,INC               145 MADISON RD. MOCKSVILLE NC 27028
GREHAM, RHONDA                        ADDRESS ON FILE
GREIBROK, DWIGHT                      ADDRESS ON FILE
GREINER INDUSTRY                      1650 STEEL WAY MOUNT JOY PA 17552
GRELLA, JOHN                          ADDRESS ON FILE
GRENIUK, DARIUSZ                      ADDRESS ON FILE
GRESHAM, BERNEY                       ADDRESS ON FILE
GRESHAM, BILLY                        ADDRESS ON FILE
GRESHAM, ISAAC                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 776 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 785 of 2156

Claim Name                             Address Information
GRESS, DONALD                          ADDRESS ON FILE
GRESSMAN, SCOTT                        ADDRESS ON FILE
GRETTER, MATTHEW                       ADDRESS ON FILE
GREVING, ANNE                          ADDRESS ON FILE
GREWAL BROTHERS INC                    1765 ETTLE ST MANTECA CA 95337
GREWAL FREIGHT LINES LLC               7185 MARTOCK DR PLAINFIELD IN 46168
GREWAL TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREWAL TRANSPORT LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GREWAL TRUCK LINES LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREWAL TRUCKING, INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GREWAL, GURPARTAP                      ADDRESS ON FILE
GREWAL, GURPARTAP                      ADDRESS ON FILE
GREY TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREY WOLF EXPRESS LLC                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GREY, CONLIFF                          ADDRESS ON FILE
GREY, GEOFF                            ADDRESS ON FILE
GREY, GREGORY                          ADDRESS ON FILE
GREY, KAYLEN                           ADDRESS ON FILE
GREY, KYLE                             ADDRESS ON FILE
GREYBEARD LOGISTICS & TRANSPORTATION   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LLC
GREYHOUND TRANSPORT INC                40634 SPRUCE DR STERLING HTS MI 48313-4367
GREYHOUND TRUCKING INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GREYS TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GREYSTONE POWER CORP                   3400 HIRAM DOUGLASVILLE HIGHWAY HIRAM GA 30141
GRG LOGISTICS LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
GRIBBEN, ROBERT                        ADDRESS ON FILE
GRICE, DANNY                           ADDRESS ON FILE
GRICE, ROBERT                          ADDRESS ON FILE
GRIEGO, JEFF                           ADDRESS ON FILE
GRIEGO, MARTIN                         ADDRESS ON FILE
GRIER JR, HERMAN                       ADDRESS ON FILE
GRIER JR, JB                           ADDRESS ON FILE
GRIER, SECONDI                         ADDRESS ON FILE
GRIERSON, TRACY                        ADDRESS ON FILE
GRIES, ALLEN                           ADDRESS ON FILE
GRIESER, ABIGAIL R                     ADDRESS ON FILE
GRIESINGER, SHANNON                    ADDRESS ON FILE
GRIEVES, WILLIAM                       ADDRESS ON FILE
GRIEZER, SEAN                          ADDRESS ON FILE
GRIFFIN AND GRIFFINENTERPRISES, INC.   6819 E GREAT MARSH CHURCH ROAD SAINT PAULS NC 28384-6715
GRIFFIN BROS. INC.                     4455 MARION STREET SE ALBANY OR 97322
GRIFFIN TRANSPORTATION INC             4525 CLAY AVENUE SW GRAND RAPIDS MI 49548
GRIFFIN WORLDWIDE LOGISTICS LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRIFFIN, ADRIAN                        ADDRESS ON FILE
GRIFFIN, ALBERT                        ADDRESS ON FILE
GRIFFIN, ANTHONY                       ADDRESS ON FILE
GRIFFIN, BRENTLEY                      ADDRESS ON FILE
GRIFFIN, CALVIN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 777 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 786 of 2156

Claim Name                              Address Information
GRIFFIN, DAVID                         ADDRESS ON FILE
GRIFFIN, EDRIS                         ADDRESS ON FILE
GRIFFIN, FRANCIS                       ADDRESS ON FILE
GRIFFIN, HOWARD R                      ADDRESS ON FILE
GRIFFIN, IRISH                         ADDRESS ON FILE
GRIFFIN, JAMES                         ADDRESS ON FILE
GRIFFIN, JOSEPH                        ADDRESS ON FILE
GRIFFIN, KEN                           ADDRESS ON FILE
GRIFFIN, KENYAWNA                      ADDRESS ON FILE
GRIFFIN, LARRY                         ADDRESS ON FILE
GRIFFIN, LATHAM                        ADDRESS ON FILE
GRIFFIN, LAVETIS                       ADDRESS ON FILE
GRIFFIN, LUCAS                         ADDRESS ON FILE
GRIFFIN, MARKISHA                      ADDRESS ON FILE
GRIFFIN, MAYAA                         ADDRESS ON FILE
GRIFFIN, MELISSA                       ADDRESS ON FILE
GRIFFIN, MILES                         ADDRESS ON FILE
GRIFFIN, MONTRELLE                     ADDRESS ON FILE
GRIFFIN, NAPOLEAN                      ADDRESS ON FILE
GRIFFIN, PAMELA TERRY                  ADDRESS ON FILE
GRIFFIN, PAMELA TERRY                  ADDRESS ON FILE
GRIFFIN, RANDEL                        ADDRESS ON FILE
GRIFFIN, RANDY                         ADDRESS ON FILE
GRIFFIN, ROBERT                        ADDRESS ON FILE
GRIFFIN, ROBERT                        ADDRESS ON FILE
GRIFFIN, ROLAND                        ADDRESS ON FILE
GRIFFIN, SEAN                          ADDRESS ON FILE
GRIFFIN, SHANE                         ADDRESS ON FILE
GRIFFIN, THOMAS                        ADDRESS ON FILE
GRIFFIN, THOMAS                        ADDRESS ON FILE
GRIFFIN, TYREE                         ADDRESS ON FILE
GRIFFIN, TYRONE                        ADDRESS ON FILE
GRIFFIN, WAYNE                         ADDRESS ON FILE
GRIFFIN, WILLIAM                       ADDRESS ON FILE
GRIFFIN, WILLIAM                       ADDRESS ON FILE
GRIFFINS TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRIFFIS, MARK                          ADDRESS ON FILE
GRIFFITH ENERGY - FUEL ACCT ENDING 4373 PO BOX 70282 PHILADELPHIA PA 19176
GRIFFITH ENERGY SERVICES INC.          PO BOX 70282 PHILADELPHIA PA 19176
GRIFFITH ENERGY SERVICES, INC.         3223 SUN ST BALTIMORE MD 21226
GRIFFITH TOWING LLC                    3750 HACKS CROSS RD STE 102 MEMPHIS TN 38125
GRIFFITH, DAVID                        ADDRESS ON FILE
GRIFFITH, DAVID                        ADDRESS ON FILE
GRIFFITH, RONALD E                     ADDRESS ON FILE
GRIFFITH, WILLIAM                      ADDRESS ON FILE
GRIFFITHS, BRENDA                      ADDRESS ON FILE
GRIFFITHS, BRETT                       ADDRESS ON FILE
GRIFFITHS, SCOTT                       ADDRESS ON FILE
GRIFFITHS, STEVEN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 778 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 787 of 2156

Claim Name                          Address Information
GRIFFITHS, THOMAS                   ADDRESS ON FILE
GRIGG, JUSTIN                       ADDRESS ON FILE
GRIGGS, CHARLIE                     ADDRESS ON FILE
GRIGGS, DAETON                      ADDRESS ON FILE
GRIGGS, DONTE                       ADDRESS ON FILE
GRIGGS, FOSTER                      ADDRESS ON FILE
GRIGGS, GEORGE                      ADDRESS ON FILE
GRIGGS, JIMMY                       ADDRESS ON FILE
GRIGGS, LEE                         ADDRESS ON FILE
GRIGGS, MICHAEL                     ADDRESS ON FILE
GRIGGS, RONALD N                    ADDRESS ON FILE
GRIGGS, RONNIE                      ADDRESS ON FILE
GRIGSBY, DANNY                      ADDRESS ON FILE
GRIGSBY, JEFFREY                    ADDRESS ON FILE
GRIGSBY, JEREMY                     ADDRESS ON FILE
GRIGSBY, KENITH                     ADDRESS ON FILE
GRIGSBY, KEVIN                      ADDRESS ON FILE
GRIGSBY, REBECCA                    ADDRESS ON FILE
GRILL, AUREL                        ADDRESS ON FILE
GRILLO LANDSCAPE SOLUTIONS          PO BOX 1564 SPARKS NV 89432
GRILLS, ASHLEY                      ADDRESS ON FILE
GRILLS, JOSEPH                      ADDRESS ON FILE
GRIM, DANIEL                        ADDRESS ON FILE
GRIMA, MICHAEL                      ADDRESS ON FILE
GRIMALDI, DAVID                     ADDRESS ON FILE
GRIMES, ARRIE                       ADDRESS ON FILE
GRIMES, CHELSEA                     ADDRESS ON FILE
GRIMES, DEL                         ADDRESS ON FILE
GRIMES, HERBERT                     ADDRESS ON FILE
GRIMES, MICKEY                      ADDRESS ON FILE
GRIMES, WILLIAM                     ADDRESS ON FILE
GRIMES, WILLIE                      ADDRESS ON FILE
GRIMM BROTHERS                      101 GUN CLUB ROAD SAGLE ID 83860
GRIMM, CHARLES E                    ADDRESS ON FILE
GRIMMER, DANNY L                    ADDRESS ON FILE
GRIMMER, TED                        ADDRESS ON FILE
GRIMSHAW TRANSPORT                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GRIMSHAW TRUCKING LP                PO BOX 960 EDMONTON AB T5J 2L8 CANADA
GRIMSHAW, JOSHUA                    ADDRESS ON FILE
GRIMSHAW, ROBERT                    ADDRESS ON FILE
GRIMSTAD, TERRY                     ADDRESS ON FILE
GRIND HARD TRANSPORT LLC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GRIND TIME LOGISTICS LLC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GRINDER, NORMAN W                   ADDRESS ON FILE
GRINDSTAFF, DAVID                   ADDRESS ON FILE
GRINDSTONE TRUCKING LLC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GRINE, WILLIAM R                    ADDRESS ON FILE
GRINER, PHILLIP                     ADDRESS ON FILE
GRINER, ROBIN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 779 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 788 of 2156

Claim Name                           Address Information
GRINNELL, MICHAEL                    ADDRESS ON FILE
GRINNEN, ROBERT                      ADDRESS ON FILE
GRINSTON, ANTHONY                    ADDRESS ON FILE
GRISAFE, PAUL                        ADDRESS ON FILE
GRISBY, KYLE                         ADDRESS ON FILE
GRISCAVAGE, JOHN                     ADDRESS ON FILE
GRISELDA GUERRA                      ADDRESS ON FILE
GRISELDA GUERRA                      ADDRESS ON FILE
GRISHAM, FRED                        ADDRESS ON FILE
GRISSINGER, KEVIN                    ADDRESS ON FILE
GRISSMAN, ARTHUR                     ADDRESS ON FILE
GRISSOM, ALAINA                      ADDRESS ON FILE
GRISSOM, BOBBY                       ADDRESS ON FILE
GRISSOM, BOBBY                       ADDRESS ON FILE
GRISSOM, GLENN                       ADDRESS ON FILE
GRISSOM, JACK                        ADDRESS ON FILE
GRISSOM, JOSHUA                      ADDRESS ON FILE
GRISSOM, MATTHEW                     ADDRESS ON FILE
GRISSOM, ROBERT                      ADDRESS ON FILE
GRISSOM, RODRECKUS                   ADDRESS ON FILE
GRISWOLD, ERON                       ADDRESS ON FILE
GRISWOLD, MARY                       ADDRESS ON FILE
GRIT TRANS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRIVAD CO                            OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
GRIZZEL, JAMES                       ADDRESS ON FILE
GRIZZLE, PAULINA                     ADDRESS ON FILE
GRIZZLEY IMPORTS                     ATTN: ACCOUNTS PAYABLE P O BOX 2069 BELLINGHAM WA 98227
GRIZZLEY IMPORTS                     ATTN: DANIELLE PULIDO P O BOX 2069 BELLINGHAM WA 98227
GRIZZLEY IMPORTS                     ATTN: JOSHUA BARNETT PO BOX 2069 BELLINGHAM WA 98227
GRIZZLEY IMPORTS                     PO BOX 2069 BELLINGHAM WA 98227
GRIZZLY CARTAGE LLC                  OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
GRIZZLY INDUSTRIAL                   ATTN: JOSHUA BARNETT PO BOX 2069 BELLINGHAM WA 98227
GRIZZLY INDUSTRIAL                   FREIGHT CLAIMS, PO BOX 2069 BELLINGHAM WA 98229
GRIZZLY INDUSTRIAL INC               PO BOX 2069 BELLINGHAM WA 98227
GRIZZLY INDUSTRIAL INC               1821 VALENCIA ST BELLINGHAM WA 98229
GRIZZLY INDUSTRIAL, INC.             ATTN: DANIELLE PULIDO PO BOX 2069 BELLINGHAM WA 98227
GRIZZLY LOGISTICS                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GRIZZLY LOGISTICS LLC                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
GRIZZLY TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GRIZZLYS POWER WASHING               8250 DETROIT STREET MOUNT MORRIS MI 48458
GRM TRANSPORT LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
GRMAY TRUCKING LLC                   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
GRMEC EXPEDITE INC                   OR JD FACTORS, PO BOX 687 WHEATON IL 60187
GRMI LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GRO TRUCKING & DISPATCHING           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
GROBARCIK, JOSEPH                    ADDRESS ON FILE
GROCE, JESSE                         ADDRESS ON FILE
GROCE, MICHAEL                       ADDRESS ON FILE
GROCHOWSKI, RALPH                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 780 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 789 of 2156

Claim Name                         Address Information
GRODI, SUSAN                       ADDRESS ON FILE
GROEBEL, BRIAN                     ADDRESS ON FILE
GROEN ENTERPRISES, INC.            7568 US 264 E WASHINGTON NC 27889
GROENEWEG, JUDITH                  ADDRESS ON FILE
GROF, ROBERT                       ADDRESS ON FILE
GROFF, HERB                        ADDRESS ON FILE
GROFF, MICHAEL                     ADDRESS ON FILE
GROFFMANN, PETER                   ADDRESS ON FILE
GROGAN, HEATHER                    ADDRESS ON FILE
GROGG, BRANDON                     ADDRESS ON FILE
GROGG, STEVEN                      ADDRESS ON FILE
GROH, MICHAEL                      ADDRESS ON FILE
GROH, MITCHELL                     ADDRESS ON FILE
GROHN, JOSH                        ADDRESS ON FILE
GROHN, JOSHUA                      ADDRESS ON FILE
GROHN, RONALD                      ADDRESS ON FILE
GROLOCK, LISA                      ADDRESS ON FILE
GROMAN, DANEILLE                   ADDRESS ON FILE
GROMAN, OLIVER                     ADDRESS ON FILE
GROMBERG, RYAN                     ADDRESS ON FILE
GRONDIN, ELLIOT                    ADDRESS ON FILE
GRONERT, AURA                      ADDRESS ON FILE
GRONKE, WILLIAM E                  ADDRESS ON FILE
GROOM, STEVEN                      ADDRESS ON FILE
GROOMS, CAMERON                    ADDRESS ON FILE
GROOVING & MOVING TRUCKING LLC     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GROPP HEATING                      225 W A ST MOSCOW ID 83843
GROPP, DOUG                        ADDRESS ON FILE
GROSE, JESSICA                     ADDRESS ON FILE
GROSFILLEX                         ATTN: SUSAN GIBBEL 1575 JOEL DR LEBANON PA 17046
GROSKO, JOSHUA                     ADDRESS ON FILE
GROSS, BRANDON                     ADDRESS ON FILE
GROSS, CARL                        ADDRESS ON FILE
GROSS, CINDERELLA                  ADDRESS ON FILE
GROSS, CLEVELAND                   ADDRESS ON FILE
GROSS, CORBIN                      ADDRESS ON FILE
GROSS, EARL                        ADDRESS ON FILE
GROSS, ERIK                        ADDRESS ON FILE
GROSS, GARY                        ADDRESS ON FILE
GROSS, GLENN                       ADDRESS ON FILE
GROSS, JAMES                       ADDRESS ON FILE
GROSS, JASON                       ADDRESS ON FILE
GROSS, LANCE                       ADDRESS ON FILE
GROSS, SIERA                       ADDRESS ON FILE
GROSS, VICTOR                      ADDRESS ON FILE
GROSS, WILLIAM                     ADDRESS ON FILE
GROSS, WILLIAM                     ADDRESS ON FILE
GROSSHANDLER, DAVID                ADDRESS ON FILE
GROSSHANDLER, MARY                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 781 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 790 of 2156

Claim Name                              Address Information
GROSSHANDLER, MARY                     ADDRESS ON FILE
GROSSHANDLER, SOPHIE                   ADDRESS ON FILE
GROSSHANDLER, SOPHIE                   ADDRESS ON FILE
GROSSHANDLER, STEPHANIE                ADDRESS ON FILE
GROSSHANDLER, STEPHANIE                ADDRESS ON FILE
GROSSLEY, RAYMOND                      ADDRESS ON FILE
GROTHUSEN, JAY                         ADDRESS ON FILE
GROTT LOCKSMITH CENTER, INC            1112 WINCHESTER ROAD LEXINGTON KY 40505
GROTZ, DENNIS                          ADDRESS ON FILE
GROTZ, LYSSA                           ADDRESS ON FILE
GROULX, GRANT                          ADDRESS ON FILE
GROUND EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GROUND LOGISTICS AND TRANSPORTATION INC PO BOX 53026 PITTSBURGH PA 15219
GROUND MESSENGER LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GROUND PENETRATING RADAR SYSTEM INC    D/B/A: GROUND PENETRATING RADAR SYSTEMS PO BOX 932 TOLEDO OH 43697
GROUND PENETRATING RADAR SYSTEMS LLC   PO BOX 932 TOLEDO OH 43697
GROUND PILOT EXPRESS INC               OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
GROUND SERVICE INC                     11209 JOLIET RD, SUITE 1 LEMONT IL 60439
GROUND SHAKER TRANSPORT LLC            1 EYE CENTER DRIVE MUNCY PA 17756
GROUND UP CARRIERS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GROUND XPRESS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GROUNDED AIR TRANSPORT                 16015 CENTRAL AVE NE HAM LAKE MN 55304
GROUNDKITE LLC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GROUNDS, MARVIN                        ADDRESS ON FILE
GROUNDSYSTEMS, INC.                    PO BOX 714774 CINCINNATI OH 45271
GROUP PF INC                           OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
GROUPE SEB                             5 WOOD HOLLOW RD 2ND FI PARSIPPANY NJ 07054
GROUPE SEB                             5 WOOD HOLLOW RD PARSIPPANY NJ 07054
GROUPE SEB                             ATTN: JULIE HUEBNER 5 WOOD HOLLOW RD 2ND FL PARSIPPANY NJ 07054
GROUPE SEB USA                         ATTN: KED NOVEMBERE ACCOUNTS RECEIVABLE DEPT 5 WOOD HOLLOW RD FLR 2ND
                                       PARSIPPANY NJ 07054
GROUPE SEB USA                         ATTN: LYNN PATEREK 5 WOOD HOLLOW RD PARSIPPANY NJ 07054
GROUPE SEB USA                         ATTN: VIRGINIA GABEL 5 WOOD HOLLOW RD 2ND FLOOR PARSIPPANY NJ 07054
GROUPE TRANSRAPIDE 2014 INC            230 CHEMIN DES ILES LEVIS QC G6V 7M5 CANADA
GROUPO MERCADER                        ATTN: JESUS ABEL ESQUIVEL NUNEZ 5219 MCPHERSON RD STE 430 LAREDO TX 78041
GROUSTRA, JEFF                         ADDRESS ON FILE
GROVE, ALEX                            ADDRESS ON FILE
GROVE, KARL                            ADDRESS ON FILE
GROVER ELECTRIC & PLUMBING             2902 N PACIFIC HWY MEDFORD OR 97501
GROVER STEPHENS                        ADDRESS ON FILE
GROVER, CHARLES                        ADDRESS ON FILE
GROVER, ROOSEVELT                      ADDRESS ON FILE
GROVER, WILLIAM J                      ADDRESS ON FILE
GROVERS PAY & PACK 3                   5730 W FRANKLIN RD BOISE ID 83705
GROVES, BRETT                          ADDRESS ON FILE
GROVES, CASSEY                         ADDRESS ON FILE
GROVES, CHARLES                        ADDRESS ON FILE
GROVES, CODY                           ADDRESS ON FILE
GROVES, COURTNEY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 782 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 791 of 2156

Claim Name                           Address Information
GROVES, ERROLL                       ADDRESS ON FILE
GROVES, JAMES                        ADDRESS ON FILE
GROVES, JEREMY                       ADDRESS ON FILE
GROVES, JERRY                        ADDRESS ON FILE
GROVES, JOE                          ADDRESS ON FILE
GROVES, JOHN                         ADDRESS ON FILE
GROVES, KENNETH                      ADDRESS ON FILE
GROVES, PAUL                         ADDRESS ON FILE
GROVES, SCOTT                        ADDRESS ON FILE
GROW GREEN INDUSTRIES                ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
GROW MORE TRANSPORT INC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GROW, MICHAEL                        ADDRESS ON FILE
GROWERS HOUSE                        3635 E. 34TH STREET TUCSON AZ 85713
GROWTH FUNDING EQUIPMENT FINANCE     FINANCE, 33 EAST MAIN ST AMERICAN FORK UT 84003
GROWTH FUNDING EQUIPMENT FINANCE     DIV OF PEOPLES INTERMOUNTAIN BANK 2691 WEST 12600 SOUTH RIVERTON UT 84065
GROWTH FUNDING EQUIPMENT FINANCE     2691 WEST 12600 SOUTH RIVERTON UT 84065
GRP 298 ASTOR LLC                    1212 YORK RD SUITE C-300 LUTHERVILLE MD 21093
GRP 298 ASTOR LLC                    ATTN: DAN FLAMHOLZ 1212 YORK ROAD SUITE C-300 LUTHERVILLE MD 21093
GRS AUCTION                          ATTN: MATTHEW BAKER 1505 FENPARK DR FENTON MO 63026
GRS EXPRESS INC                      5143 UNION ST CHINO CA 91710
GRS TRANSPORTATION LLC               16903 CTY HWY X CHIPPEWA FALLS WI 54729
GRT GENEVA ROTH TRANSPORTATION LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GRUBB, DONALD E                      ADDRESS ON FILE
GRUBB, MICHEAL                       ADDRESS ON FILE
GRUBB, NATHAN                        ADDRESS ON FILE
GRUBBS, BRANDON                      ADDRESS ON FILE
GRUBBS, DAVID                        ADDRESS ON FILE
GRUBBS, JAMES L                      ADDRESS ON FILE
GRUBE, JAMES                         ADDRESS ON FILE
GRUBE, MICHAEL                       ADDRESS ON FILE
GRUBE, TAMMY                         ADDRESS ON FILE
GRUBER COMMUNICATIONS                21439 N. 2ND AVE PHOENIX AZ 85027
GRUBER, ANTHONEY                     ADDRESS ON FILE
GRUBICH, MICHAEL                     ADDRESS ON FILE
GRUBISA, SUSAN                       ADDRESS ON FILE
GRUBY, JOSHUA                        ADDRESS ON FILE
GRUENBERG, JEREMY                    ADDRESS ON FILE
GRUESHABER, DONALD                   ADDRESS ON FILE
GRUETZMACHER, MICHAEL                ADDRESS ON FILE
GRUHLKE, REUBEN                      ADDRESS ON FILE
GRUICH, ZIVAN                        ADDRESS ON FILE
GRUJIC, GORAN                        ADDRESS ON FILE
GRUNAU COMPANY, INC.                 PO BOX 74008409 CHICAGO IL 60674
GRUNAU COMPANY, INC.                 PO BOX 74008409 CHICAGO IL 60674-8409
GRUND UP TRANSPORTATION LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GRUNDMAN, BRUCE                      ADDRESS ON FILE
GRUNDNER, RICHARD                    ADDRESS ON FILE
GRUNDON, TINA                        ADDRESS ON FILE
GRUNDY, SAMADJ                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 783 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 792 of 2156

Claim Name                           Address Information
GRUNDYS TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GRUNTHAL CARTAGE                     ADDRESS ON FILE
GRUPO 3C CARRIERS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GRUPO LOZANO TRANSPORTES LLC         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GRUSE, EDDIE                         ADDRESS ON FILE
GRUSZCZYNSKI, DONALD                 ADDRESS ON FILE
GRUVER, JASON                        ADDRESS ON FILE
GRV TRANSPORTATION LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GRX LOGISTICS INC                    1005 SKINNER DRIVE SMYRNA TN 37167
GRYCZKOWSKI, MEGAN                   ADDRESS ON FILE
GRYNKOV, VALERIY                     ADDRESS ON FILE
GRYTNESS, ANTHONY                    ADDRESS ON FILE
GRYTSENKO, YEVGEN                    ADDRESS ON FILE
GRZESIAK, MARK                       ADDRESS ON FILE
GRZESIAK, WALTER                     ADDRESS ON FILE
GRZESNIKOWSKI, CHESTER               ADDRESS ON FILE
GRZESNIKOWSKI, CHESTER W             ADDRESS ON FILE
GRZYB, MICHAEL                       ADDRESS ON FILE
GS CARRIERS INC (CERRES CA)          OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
GS EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GS EXPRESS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GS EXPRESS LLC (MC1057152)           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GS EXPRESS TRUCKING INC              OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GS LOGISTICS                         PO BOX 248147, 3350 CLEVELAND AVE SUITE 1934B COLUMBUS OH 23224
GS LOGISTICS                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GS LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GS TRANSPORT EXPRESS LLC             OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GS TRUCKING                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GS TRUCKING INC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GS TRUCKING LOGISTICS LLC            321 12TH ST BLAINE WA 98230
GS W                                 227 CHERRY VALLEY DR APT G-6 INKSTER MI 48141
GS XPRESS INC                        4660 W JOLINE DR FRESNO CA 93722
GSA INTERNATIONAL LTD.               PO BOX 696 WAYNE MI 48184-0696
GSA TRANSPORT INC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
GSB LOGISTICS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
GSB TRUCKING INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
GSB TRUCKING LLC                     OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GSC CARRIER                          OR CD CONSORTIUM CORPORATION 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
GSC HEAVY HAULING LLC                OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
GSG TRANSPORTATION, LLC.             4149 ST AUGUSTINE RD JACKSONVILLE FL 32207
GSI                                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GSI EXPRESS INC                      OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
GSK TRANSPORT INC                    14107 APRIL GLEN CT CYPRESS TX 77429
GSM                                  1131 EMORY FOLMAR BLVD. MONTGOMERY AL 36108
GSM HOLDING INC                      OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
GSM TRUCKING AND TRANSPORT INC       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GSN                                  109 GLENDALE AVE CENTREVILLE MD 21617
GSN TRANSPORT                        OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 784 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 793 of 2156

Claim Name                           Address Information
GSP CARRIER INC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
GSP EXPRESS LLC                      OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
GSP FREIGHTLINES INC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
GSP FREIGHTLINES INC                 OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
GSP TRANS INC.                       7416 PIPESTONE DRIVE INDIANAPOLIS IN 46217
GSR TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GSR TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GST FREIGHT CARRIER INC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GST TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GSTAR XPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GSV EXPRESS INC                      3424 KLEVNER WAY RANCHO CORDOVA CA 95670
GSW TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GT ARM TRUCKING INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GT BLUE TRUCK INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GT EXPEDITED INC                     2233 N WEST ST. RIVER GROVE IL 60171
GT EXPRESS (MC912065)                2117 VETERANS BLVD, SUITE 307 METAIRIE LA 70002
GT EXPRESS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GT LINES INC                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GT MIDATLANTIC                       629 S PHILADELPHIA, BLVD ABERDEEN MD 21001
GT TOW                               111 JAMES ST SMITHVILLE MO 64089
GT TRANSPORT                         1553 DOGWOOD ROAD EL CENTRO CA 92243
GT TRANSPORTERS LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
GT TRUCK AND TRANSPORTATION          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
GT WORLDWIDE TRANSPORT               PO BOX 72124 CLEVELAND OH 44192
GT XPRESS INC                        OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
GT-TRUCKING LTD                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GTA FREIGHT SERVICES                 BSTM 4 POLAR BEER PL BRAMPTON ON L6R 3L7 CANADA
GTA IMPERIAL LOGISTICS               OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
GTB FREIGHT LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GTB ROADWAYS INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
GTB TRANSPORT INC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GTB TRANSPORT LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GTB XPRESS LLC                       5489 E BURNS AVE FRESNO CA 93727
GTC                                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GTC LOGISTICS INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
GTC TRANS INC                        16339 BROOK LN FONTANA CA 92336
GTC TRANSPORT & BROKERAGE INC        FORWARD MOTION LOGISTICS, 280 MISHAWUM RD WOBURN MA 01801
GTG                                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
GTG EXPRESS INC                      124 THOMAS AVE BRANTFORD ON N3S 0C9 CANADA
GTG TRANSPORTATION, INC.             P. O. BOX 1082 JONESBORO GA 30237
GTG TRUCKING INC                     4804 LAKES EDGE LN KISSIMMEE FL 34744
GTI                                  GTI, 56 PEBBLE DRIVE BROOKLYN MD 21225
GTI (ELK GROVE CA)                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GTI TRANSPORT LLC                    OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
GTI TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GTL EXPRESS LOGISTICS INC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GTL XPRESS LLC                       OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
GTLI GLOBAL TRANSPORTATION           ATTN: DORIS POLONIA CLAIMS 276 OLD NEW BRUNSWICK RD PISCATAWAY NJ 08854



Epiq Corporate Restructuring, LLC                                                                 Page 785 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 794 of 2156

Claim Name                              Address Information
GTM TRANSPORT INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GTM TRANSPORT LLC                      OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
GTM TRANSPORT SVC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GTMM TRANSPORTATION LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GTO TRANSPORTS                         OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84115
GTR                                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
GTR TECHNOLOGIES                       PO BOX 1506 GIG HARBOR WA 98335
GTS                                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GTS (NEWARK DE)                        OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
GTS (THOMASVILLE NC)                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GTS EXPRESS INC                        2300 N BARRINGTON ROAD STE 400 HOFFMAN ESTATES IL 60169
GTS EXPRESS, INC.                      OR TRANSPORT CLEARINGS EAST 9140 ARROWPOINT BLVD SUITE 370 CHARLOTTE NC 28273
GTS TRANSPORTATION CORPORATION         7545 S MADISON ST BURR RIDGE IL 60527
GTS TRANSPORTATION LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GTS WRECKER SERVICE & AUTO REPAIR, INC. 706 GIL HARBIN INDUS BLVD VALDOSTA GA 31601
GTS, USA LLC                           3895 VANTECH DR. MEMPHIS TN 38115
GTX TRANSPORT, INC                     OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
GTY SERVICES LLC                       1449 VFW DR SW CONYERS GA 30012
GTY SERVICES LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GTZ 12 TRANSPORTATION INC              OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
GTZ EXPRESS LLC                        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GTZ TRANSPORT LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GUADALUPE TRANSPORT LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GUAJARDO TRUCKING                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GUAJARDO, JUAN                         ADDRESS ON FILE
GUAJARDO, JUVENAL                      ADDRESS ON FILE
GUAJARDO, RAFAEL                       ADDRESS ON FILE
GUALAZZI, MICHAEL                      ADDRESS ON FILE
GUAMAN, CHRISTOPHER                    ADDRESS ON FILE
GUAMEX FREIGHT                         OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
GUANDIQUE, FABIO                       ADDRESS ON FILE
GUARANTEE PEST CONTROL                 752 EAST SEVENTH ST LEXINGTON KY 40505
GUARANTEED DELIVERY SVC                PO BOX 42265 CLEVELAND OH OH 44142
GUARANTEED UPRIGHT TRUCKING LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
GUARD-X INC                            10600 BOUL PARKWAY VILLE DANJOU MONTREAL QC H1J 1R6 CANADA
GUARDADO, RAUL                         ADDRESS ON FILE
GUARDADO, WILLIAM                      ADDRESS ON FILE
GUARDERAS, RICHARD                     ADDRESS ON FILE
GUARDIAN BARRIER SERVICES LLC          170 NEW HAVEN STREET MOUNT JOY PA 17552
GUARDIAN EXPRESS INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GUARDIAN LOGISTICS                     DBA GUARDIAN LOGISTICS SOLUTIONS, P.O. BOX 51160 DURHAM NC 27717
GUARDIAN LOGISTICS CORP.               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GUARDIAN MOVING AND STORAGE            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUARDIAN SECURITY                      710 E MAIN ST LEXINGTON-FAYETTE KY 40502
GUARDONE SECURITY                      D/B/A: SECURITY SOLUTIONS OF AMERICA PO BOX 733803 DALLAS TX 75373
GUARILL, DAYNA                         ADDRESS ON FILE
GUARINO, MICHAEL                       ADDRESS ON FILE
GUATEMALA, KEVIN                       ADDRESS ON FILE
GUAY, DONALD                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 786 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 795 of 2156

Claim Name                          Address Information
GUAY, KARINE                        ADDRESS ON FILE
GUDINO, EDUARDO                     ADDRESS ON FILE
GUDINO, JOSEPH                      ADDRESS ON FILE
GUDINOS TRUCKING LLC                11630 WADDELL STREET WHITTIER CA 90606
GUDZ, DAVID                         ADDRESS ON FILE
GUEKA LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUENTHER, JEFFREY                   ADDRESS ON FILE
GUERIN, DENIS                       ADDRESS ON FILE
GUERRA, GRISELDA                    ADDRESS ON FILE
GUERRA, JESUS                       ADDRESS ON FILE
GUERRA, JOSE A                      ADDRESS ON FILE
GUERRA, JOSEPH                      ADDRESS ON FILE
GUERRA, MARIA                       ADDRESS ON FILE
GUERRA, MARTIN                      ADDRESS ON FILE
GUERRERO CHAGOLLA, LIZBETH          ADDRESS ON FILE
GUERRERO TRUCKING (MC965189)        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GUERRERO, ALBINO                    ADDRESS ON FILE
GUERRERO, ANDY                      ADDRESS ON FILE
GUERRERO, CANDELARIO                ADDRESS ON FILE
GUERRERO, CANDIDO                   ADDRESS ON FILE
GUERRERO, DANIEL                    ADDRESS ON FILE
GUERRERO, JILDARDO                  ADDRESS ON FILE
GUERRERO, JORGE                     ADDRESS ON FILE
GUERRERO, JOSE                      ADDRESS ON FILE
GUERRERO, JULIAN                    ADDRESS ON FILE
GUERRERO, LEANDRO                   ADDRESS ON FILE
GUERRERO, LESLIE                    ADDRESS ON FILE
GUERRERO, LUCIO                     ADDRESS ON FILE
GUERRERO, QUINTIN                   ADDRESS ON FILE
GUERRERO, RIGOBERTO                 ADDRESS ON FILE
GUERRERO, TONY                      ADDRESS ON FILE
GUERRERO, VINCENT                   ADDRESS ON FILE
GUERREROS TRUCKING                  P O BOX 3968 FONTANA CA 92334
GUESS EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUESS, JAMES                        ADDRESS ON FILE
GUESS, LAISHA                       ADDRESS ON FILE
GUEST TRUCKING                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GUEST, AMANDA                       ADDRESS ON FILE
GUEST, LORENZO                      ADDRESS ON FILE
GUEVARA, ANTHONY                    ADDRESS ON FILE
GUEVARA, ROBERT                     ADDRESS ON FILE
GUEVARA, ROBERT L                   ADDRESS ON FILE
GUFFEY, LINDA                       ADDRESS ON FILE
GUFFIN, TAMARUS                     ADDRESS ON FILE
GUGINO, KRISTIN                     ADDRESS ON FILE
GUHDIJA, ERMIN                      ADDRESS ON FILE
GUIANO INTERNATIONAL LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUIBER USA, INC.                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GUIBERT, LUIS A                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 787 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 796 of 2156

Claim Name                               Address Information
GUIDA, SHARON                            ADDRESS ON FILE
GUIDA, WILBERT                           ADDRESS ON FILE
GUIDEPOINT SECURITY FINANCIAL LLC        PO BOX 392458 CLEVELAND OH 44193
GUIDEPOINT SECURITY LLC                  PO BOX 844716 BOSTON MA 02284
GUIDO, THOMAS                            ADDRESS ON FILE
GUIDRY, RYAN                             ADDRESS ON FILE
GUIFFREDA, GREGORY                       ADDRESS ON FILE
GUIFFREDA, GREGORY                       ADDRESS ON FILE
GUIGNARD, GREGORY                        ADDRESS ON FILE
GUILFORD COUNTY TAX DEPT                 PO BOX 71072 CHARLOTTE NC 28272-1072
GUILFORD LOCKSMITHING INC                506 EDWARDIA DR STE C GREENSBORO NC 27409
GUILFORD, ROBERT                         ADDRESS ON FILE
GUILFORD, ROBERT                         ADDRESS ON FILE
GUILFOYLE, JOSEPH                        ADDRESS ON FILE
GUILLEN, ROBERTO                         ADDRESS ON FILE
GUILLERMO, ROMAR                         ADDRESS ON FILE
GUILLORY, CHRISTOPHER                    ADDRESS ON FILE
GUILLORY, JEREMIAH                       ADDRESS ON FILE
GUILLORY, KEVIN                          ADDRESS ON FILE
GUILLORY, MALCOLM                        ADDRESS ON FILE
GUILLOZET, JOE                           ADDRESS ON FILE
GUILMAIN, ROBERT                         ADDRESS ON FILE
GUILMETTE, PETER                         ADDRESS ON FILE
GUIMEL TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GUINN, BRADLEY                           ADDRESS ON FILE
GUINN, JONATHAN                          ADDRESS ON FILE
GUINYARD, MONIQUE                        ADDRESS ON FILE
GUINYARD, WILLIAM                        ADDRESS ON FILE
GUIRGUIS, ADEL                           ADDRESS ON FILE
GUITAR CENTER                            950 E NORTHFIELD DR BROWNSBURG IN 46112
GULA, DENNIS                             ADDRESS ON FILE
GULA, JOHN                               ADDRESS ON FILE
GULED TRANSPORTATION INC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
GULF CITY BODY AND TRAILER WORKS, INC.   601 S CONCEPTION ST, PO BOX 144 MOBILE AL 36601
GULF CITY BODY AND TRAILER WORKS, INC.   601 S CONCEPTION STREET MOBILE AL 36603
GULF COAST FREIGHT INC                   17811 BELLA AVA TOMBALL TX 77377
GULF COAST MECHANICAL                    2337 WADSWORTH HOUSTON TX 77015
GULF COAST TRANSIT DISTRICT              ATTN: TED ROSS 101 CANNA LANE LAKE JACKSON TX 77566
GULF COAST TRUCKING LLC                  1120-G JOANEEN DRIVE SARALAND AL 36571
GULF COAST WRECKERS & REPAIR LLC         1134 PONCE DE LEON BLVD BROOKSVILLE FL 34601
GULF COAST XPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GULF INTERMODAL SERVICES LLC             1305 SCHILLING BLVD WEST, PO BOX 415000-0171 COLLIERVILLE TN 38017
GULF LINE GROUP LTD                      1278 CONCESSION RD CAMBRIDGE ON N3H4L6 CANADA
GULF RELAY, LLC                          1021 CLINTON INDL PARK RD, DEPT 5898 CLINTON MS 39056
GULF ROYAL LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GULF STATES TRANSPORT INC                1303 CEDAR CREEK DR OPELIKA AL 36801
GULF STATES TRUCKING INC                 OR PHOENIX CAPITAL GROUP LLC PO BOX 1415 DES MOINES IA 50305
GULF STATES TRUCKING INC                 OR GULF COAST BANK & TRUST COMPANY P.O. BOX 732148 DALLAS TX 75373
GULF STREAM TRANSPORTATION INC.          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                     Page 788 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 797 of 2156

Claim Name                              Address Information
GULFSTREAM COACH                        503 S OAKLAND AVEMELANIE ODELL NAPPANEE IN 46550
GULFSTREAM LOGISTICS, INC.              OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
GULLATTE, TRACY                         ADDRESS ON FILE
GULLEDGE, JAMES                         ADDRESS ON FILE
GULLEDGE, LORENZO                       ADDRESS ON FILE
GULLEY, ODELL                           ADDRESS ON FILE
GULLEY, WILLIAM A                       ADDRESS ON FILE
GULLICK, CHARLES                        ADDRESS ON FILE
GULLY, TYRESE                           ADDRESS ON FILE
GULZAR, WILLSON                         ADDRESS ON FILE
GUMBE LOGISTICS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
GUMP TRUCKN LLC                         OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
GUN ROCK TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUNDERSON GIMSA                         ATTN: SELENE MARTINEZ PURCHASING 102 MEMO ROBINSON RD EAGLE PASS TX 78852
GUNDERSON, ANGELICA                     ADDRESS ON FILE
GUNDERSON, ANNDEE                       ADDRESS ON FILE
GUNDLACH & SONS LEASING COMPANY, INC.   P O BOX 830 LA PAZ IN 46537
GUNDRUM, RICK                           ADDRESS ON FILE
GUNJAK, MICHAEL                         ADDRESS ON FILE
GUNN TRANSPORTATIONLLC                  PO BOX 102 PITTSBORO MS 38951
GUNN, MARSHALL T                        ADDRESS ON FILE
GUNN, RASHAWNDA                         ADDRESS ON FILE
GUNNAR WOMAC                            ADDRESS ON FILE
GUNNELS, JEFFERY                        ADDRESS ON FILE
GUNNELS, MELISSA                        ADDRESS ON FILE
GUNNER 11 TRUCKING INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GUNNER, DAVID                           ADDRESS ON FILE
GUNNERS LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GUNNING TRANSPORTATION SERVICES LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GUNNINK, DEBRA                          ADDRESS ON FILE
GUNNOE, JOHNNY                          ADDRESS ON FILE
GUNTAMUKKALA, SWECCHA                   ADDRESS ON FILE
GUNTER, EDWARD                          ADDRESS ON FILE
GUNTER, VINCENT                         ADDRESS ON FILE
GUNTERMAN, JOSEPH                       ADDRESS ON FILE
GUNTREN TRUCKING, L.L.C.                PO BOX 2548 SIOUX CITY IA 51106
GUO, QIAN W                             ADDRESS ON FILE
GUPTA, CHANDER                          ADDRESS ON FILE
GUPTON, DOUGLAS C                       ADDRESS ON FILE
GUR EXPRESS INC                         404 SOUTHWOOD CIRCLE STREAMWOOD IL 60107
GUR EXPRESS INC (MC1221653)             OR CAPITAL DEPOT 8930 N WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
GUR NANAK FREIGHT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GURAN TRUCK LINE INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GURAYA INC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GURB TRANSP0RT LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GURBACHAN SINGH SIDHU                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GURE TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GUREEY EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GURER JR, THOMAS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 789 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 798 of 2156

Claim Name                           Address Information
GUREY CARRIER LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUREY GLOBAL TRUCKING LLC            OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GURFATEH TRUCKING                    794 MERRITT CIR WOODLAND CA 95776
GURGEL, DALE                         ADDRESS ON FILE
GURGEN TRUCKING INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
GURI TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GURJOT TRANSPORATION CORP            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
GURJOT TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GURLEY, MICHAEL D                    ADDRESS ON FILE
GURM LINES                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GURM TRANSPORT INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GURM TRANSPORT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GURMAN TRUCKING INC                  450 S. RONALD REAGAN BLVD LONGWOOD FL 32750
GURMAN TRUCKING, INC.                OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
GURMEL LOGISTICS LLC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
GURMUKH EXPRESS INC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
GURNAV ROAD LINE                     7299 W OSWEGO AVE FRESNO CA 93723
GUROBI OPTIMIZATION, INC.            9450 SW GEMINI DR. 90729 BEAVERTON OR 97008
GUROCK SOFTWARE GMBH                 SUKDLICHE RINGSTRABE 175 LANGEN 63225 GERMANY
GURON EXPRESS LLC                    4 OAKMONT TER EAST WINDSOR NJ 08520
GURPARKAR TRANSPORT INC              2370 W CLEVELAND AVE PMB178 MADERA CA 93637
GURROLA-ROMAN, ISRAEL                ADDRESS ON FILE
GURSEWAK LOGISTICS INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
GURSUKH TRANSPORT LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
GURSUM TRANSPORT SERVICES LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GURU HARRAI LLC                      6125 S SAN JACINTO ST GILBERT AZ 85298
GURU KIRPA LOGISTICS INC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
GURU KIRPA TRUCKING INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GURU KIRPA TRUCKING LTD              OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA AB L3V 6L4
                                     CANADA
GURU NANAK TRANSPORTATION CORP       6884 WARD RD NIAGARA FALLS NY 14304
GURU TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GURUNANDA LLC                        6645 CABALLERO BLVD BUENA PARK CA 90620
GURUNANDA LLC                        ATTN: NORMAN BELANIO SHIPPING DEPT 6645 CABALLERO BLVD BUENA PARK CA 90620
GURUNG, BHAKTA                       ADDRESS ON FILE
GURUNG, PRAKASH                      ADDRESS ON FILE
GURZENDA, MICHAEL                    ADDRESS ON FILE
GUS JOHNSON FORD                     8300 E SPRAGUE AVE SPOKANE WA 99212
GUS ZSCHABER                         ADDRESS ON FILE
GUSLER, DOUGLAS                      ADDRESS ON FILE
GUSMANO, MORGAN                      ADDRESS ON FILE
GUSS, MICHAEL                        ADDRESS ON FILE
GUSTAVO ZAZUETA                      ADDRESS ON FILE
GUSTAVUS A ZSCHABER                  ADDRESS ON FILE
GUSTAVUS A ZSCHABER                  ADDRESS ON FILE
GUSTIN, JEFFREY                      ADDRESS ON FILE
GUTCHER, RICHARD                     ADDRESS ON FILE
GUTHMILLER, MICHAEL                  ADDRESS ON FILE
GUTHRIDGE, GEORGE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 790 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 799 of 2156

Claim Name                          Address Information
GUTHRIE, GEORGE                     ADDRESS ON FILE
GUTHRIE, GLEN                       ADDRESS ON FILE
GUTHRIE, HANS                       ADDRESS ON FILE
GUTHRIE, JOSHUA W                   ADDRESS ON FILE
GUTHRIE, LARRY                      ADDRESS ON FILE
GUTHRIE, RANDY                      ADDRESS ON FILE
GUTHRIE, SHAWN                      ADDRESS ON FILE
GUTHRIE, STEPHANIE                  ADDRESS ON FILE
GUTHRIE, SY                         ADDRESS ON FILE
GUTHRIE, ZACHARY                    ADDRESS ON FILE
GUTHRIES ACE - GOODLETTSVILLE       110 RIVERGATE PKWY GOODLETTSVILLE TN 37072
GUTIERREZ IRIZARRY, JEISON          ADDRESS ON FILE
GUTIERREZ IRIZARRY, JEISON E        ADDRESS ON FILE
GUTIERREZ TRANSPORTS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
GUTIERREZ, ABELARDO                 ADDRESS ON FILE
GUTIERREZ, ABELARDO                 ADDRESS ON FILE
GUTIERREZ, ADAM                     ADDRESS ON FILE
GUTIERREZ, ALONZO                   ADDRESS ON FILE
GUTIERREZ, ANDY                     ADDRESS ON FILE
GUTIERREZ, ANGEL                    ADDRESS ON FILE
GUTIERREZ, CHRIS                    ADDRESS ON FILE
GUTIERREZ, CHRISTIAN                ADDRESS ON FILE
GUTIERREZ, DAISY                    ADDRESS ON FILE
GUTIERREZ, DAVID                    ADDRESS ON FILE
GUTIERREZ, DAVID                    ADDRESS ON FILE
GUTIERREZ, DESTINY                  ADDRESS ON FILE
GUTIERREZ, DIEGO                    ADDRESS ON FILE
GUTIERREZ, EDUARDO                  ADDRESS ON FILE
GUTIERREZ, EDWARD                   ADDRESS ON FILE
GUTIERREZ, FELIX                    ADDRESS ON FILE
GUTIERREZ, FRANCISCO                ADDRESS ON FILE
GUTIERREZ, HENRY                    ADDRESS ON FILE
GUTIERREZ, JESUS                    ADDRESS ON FILE
GUTIERREZ, JESUS                    ADDRESS ON FILE
GUTIERREZ, JOHNSON                  ADDRESS ON FILE
GUTIERREZ, JOSE                     ADDRESS ON FILE
GUTIERREZ, JOSE R                   ADDRESS ON FILE
GUTIERREZ, JOSEPH                   ADDRESS ON FILE
GUTIERREZ, JOSEPH                   ADDRESS ON FILE
GUTIERREZ, JUAN                     ADDRESS ON FILE
GUTIERREZ, JULIO                    ADDRESS ON FILE
GUTIERREZ, KAREN                    ADDRESS ON FILE
GUTIERREZ, KATHY                    ADDRESS ON FILE
GUTIERREZ, KEVIN                    ADDRESS ON FILE
GUTIERREZ, LENIN                    ADDRESS ON FILE
GUTIERREZ, LUIS I                   ADDRESS ON FILE
GUTIERREZ, MIGUEL                   ADDRESS ON FILE
GUTIERREZ, NATHANIEL                ADDRESS ON FILE
GUTIERREZ, NELSON                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 791 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 800 of 2156

Claim Name                           Address Information
GUTIERREZ, NOE                       ADDRESS ON FILE
GUTIERREZ, OLIVIA                    ADDRESS ON FILE
GUTIERREZ, PETER                     ADDRESS ON FILE
GUTIERREZ, RAFAEL                    ADDRESS ON FILE
GUTIERREZ, RAMIRO                    ADDRESS ON FILE
GUTIERREZ, RICARDO                   ADDRESS ON FILE
GUTIERREZ, RICHARD                   ADDRESS ON FILE
GUTIERREZ, SALVADOR                  ADDRESS ON FILE
GUTIERREZ, STALIN                    ADDRESS ON FILE
GUTIERREZ, STEVE                     ADDRESS ON FILE
GUTIERREZ, STEVE                     ADDRESS ON FILE
GUTIERREZ-IRIZAROY, JEISON           ADDRESS ON FILE
GUTSHALL, BRIAN                      ADDRESS ON FILE
GUTSHALL, RONALD                     ADDRESS ON FILE
GUTTENPLAN, ALYS                     ADDRESS ON FILE
GUTTENPLAN, ALYS                     ADDRESS ON FILE
GUY M. COOPER, INC.                  300 DAVISVILLE RD WILLOW GROVE PA 19090
GUY M. TURNER, INC.                  4514 S HOLDEN ROAD GREENSBORO NC 27406
GUY, COURTNEY                        ADDRESS ON FILE
GUY, ELBERT                          ADDRESS ON FILE
GUY, JOSEPH                          ADDRESS ON FILE
GUY, MARK                            ADDRESS ON FILE
GUY, PAUL                            ADDRESS ON FILE
GUYA TRANSPORT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
GUYDISH, GREGG                       ADDRESS ON FILE
GUYER THE MOVER, INC.                1050 INDUSTRIAL PARKWAY PERU IN 46970
GUYER, JAMES                         ADDRESS ON FILE
GUYER, JERRIDON                      ADDRESS ON FILE
GUYER, MELISSA                       ADDRESS ON FILE
GUYETTE, BRANDON                     ADDRESS ON FILE
GUYS TRUCK & TRACTOR SERVICE INC     PO BOX 60 KIELER WI 53812-0060
GUYTON, LAWRENCE                     ADDRESS ON FILE
GUYTON, MILTON                       ADDRESS ON FILE
GUYTON, ROGER                        ADDRESS ON FILE
GUYTON, TORREY                       ADDRESS ON FILE
GUZEK, CHRISTOPHER                   ADDRESS ON FILE
GUZIK, PAUL                          ADDRESS ON FILE
GUZMAN BROTHERS CORPORATION          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
GUZMAN CASTILLO TRANSPORTATION       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
GUZMAN EXPRESS LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
GUZMAN JR, EUGENE                    ADDRESS ON FILE
GUZMAN RODRIGUEZ, LUIS               ADDRESS ON FILE
GUZMAN TRUCK LINES LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
GUZMAN TRUCKING                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
GUZMAN TRUCKING, LLC                 820 WARD ST APT 3 ALLENTOWN PA 18104
GUZMAN, ALBERTO                      ADDRESS ON FILE
GUZMAN, ALEJANDRO                    ADDRESS ON FILE
GUZMAN, ALONSO                       ADDRESS ON FILE
GUZMAN, ANTONIO                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 792 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 801 of 2156

Claim Name                              Address Information
GUZMAN, BRANDON                        ADDRESS ON FILE
GUZMAN, CARLOS                         ADDRESS ON FILE
GUZMAN, DANIELLE                       ADDRESS ON FILE
GUZMAN, DAVID                          ADDRESS ON FILE
GUZMAN, ERIC                           ADDRESS ON FILE
GUZMAN, HERBERT                        ADDRESS ON FILE
GUZMAN, JANETH                         ADDRESS ON FILE
GUZMAN, JAVIER                         ADDRESS ON FILE
GUZMAN, JOSE                           ADDRESS ON FILE
GUZMAN, JUAN                           ADDRESS ON FILE
GUZMAN, LEAH                           ADDRESS ON FILE
GUZMAN, LEONARDO                       ADDRESS ON FILE
GUZMAN, MARIA                          ADDRESS ON FILE
GUZMAN, MIGUEL                         ADDRESS ON FILE
GUZMAN, PETER                          ADDRESS ON FILE
GUZMAN, RICHARD                        ADDRESS ON FILE
GUZMAN, SCOTT                          ADDRESS ON FILE
GUZO TRANSPORT LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GUZOWSKI, DONALD P                     ADDRESS ON FILE
GV TRANS, INC                          14040 SLOVER AVE. FONTANA CA 92337
GV TRUCKING                            19 COUR MADELEINE PALOS HILLS IL 60465
GV&R LOGISTICS LLC                     OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
GVA TRANSPORTATION INC                 1431 OPUS PLACE SUITE 110 DOWNERS GROVE IL 60515
GVJII TRANSPORT LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
GVT FREIGHT SERVICES INC               OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
GW ENTERPRISE INC                      8801 BISCAYNE BLVD 103 MIAMI FL 33138
GW EQUIPMENT SERVICE                   14826 N 60TH AVE GLENDALE AZ 85306
GWADA EXPRESS LLC                      OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
GWF CARGO SERVICES LLC                 176 PERIWINKLE LANE BOLINGBROOK IL 60490-4549
GWG WOOD GROUP, INC.                   2201 LONG PRAIRIE RD, SUITE 107 LB 310 FLOWER MOUND TX 75022
GWINN, TOBY                            ADDRESS ON FILE
GWINNETT TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GWYN, NATHAN                           ADDRESS ON FILE
GWYNN, HUNTER                          ADDRESS ON FILE
GX3 LOGISTICS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
GXL GROUP INC                          OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
GXL GROUP INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GY TRUCKING LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GYANT, MARVIN                          ADDRESS ON FILE
GYGER, SAMANTHA                        ADDRESS ON FILE
GYORFI, STEVEN                         ADDRESS ON FILE
GYR, ROBERT                            ADDRESS ON FILE
GYS EXPRESS CORPORATION                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
GYS EXPRESS CORPORATION                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
GYT TRANS INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
GYURAS, KEVIN                          ADDRESS ON FILE
GZA GEOENVIRONMENTAL TECHNOLOGIES, INC. PO BOX 711810 CINCINNATI OH 45271
GZG EXPRESS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
H & A CARGO LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                  Page 793 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 802 of 2156

Claim Name                               Address Information
H & A LLC                                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
H & A TRANSPORT INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
H & A TRANSPORTATION LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
H & B LOGISTICS CORP                     209 SAWMILL ROAD BRICK NJ 08724
H & B TRUCK SHOP                         PO BOX 302 WATERTOWN SD 57201
H & CW TRANSPORT LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
H & G SERVICES                           3419 N. HOME ST. MISHAWAKA IN 46545
H & H EXPRESS LANES LLC                  7186 LIMERICK LN SW BYRON CENTER MI 49315
H & H EXPRESS LANES LLC                  5245 RISCHOW DR SW WYOMING MI 49509
H & H EXPRESS LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
H & H SERVICES GROUP, LLC                PO BOX 1407 SOUTHHAVEN MS 38671
H & H TOWING LLC                         3906 ELM STREET BETTENDORF IA 52722
H & H TRANSPORT OF TAMPA INC             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
H & H TRANSPORTATION SVCES INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
H & H TRANSPORTATION, INC. (BRINKLEY     PO BOX 725 BRINKLEY AR 72021
AR)
H & H TRUCK AND TRAILER REPAIR           PO BOX 151 MIDDLETOWN DE 19709
H & H TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
H & J TRANSPORT INC                      21 SHELDUCK LANE MECHANICSBURG PA 17050
H & J TRANSPORTATION LLC                 PO BOX 958 LELAND MS 38756
H & J TRANSPORTS LLC                     OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320-7527
H & K EQUIPMENT, INC.                    RENTAL DEPARTMENT, 4200 CASTEEL DRIVE CORAOPOLIS PA 15108
H & L TRANSPORTATION OF NEW YORK, INC.   67 FOREST HILL ROAD NEW WINDSOR NY 12553
H & M LOGISTICS                          OR TRANSPORT FACTORING INC. PO BOX 167648 IRVING TX 75016
H & M METAL                              1414 KENMORE BLVD AKRON OH 44314
H & M TRANSPORT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
H & O TRUCKING LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
H & P FARMS OF SMITHVILLE LLC            825 SCOTT ACRES SMITHVILLE TN 37166
H & P TRANSPORT LLC                      OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
H & R HEATING AND AIR CONDITIONING, INC 7 KING COURT NEW CASTLE DE 19720
H & R R TRUCKING INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
H & S ENTERPRISES, INC.                  199 STRYKERS ROAD PHILLIPSBURG NJ 08865
H & S HEATING,                           A/C RESIDENTIAL & SERVICE LLC 3995 COUNTY ROAD 74 SAINT CLOUD MN 56301
H & S TOWING SERVICE INC                 4180 CHAMBERS HILL RD HARRISBURG PA 17111
H & S TRANSPORT LLC                      5728 NORTH BROADWAY SUITE B GLADSTONE MO 64118
H & S TRANSPORT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
H & S TRUCKING SERVICES LLC              OR TRAKKXPAY DEPARTMENT 530, PO BOX 1000 MEMPHIS TN 38148
H & SONS EXPRESS INC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
H & SONS TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
H & W CONTRACT CARRIERS, INC.            2915 NATIONAL RD SW HEBRON OH 43025
H & Y TRUCKING                           20733 E ALPINE MEADOWS CIR WALNUT CA 91789
H & Y TRUCKING, INC.                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
H A M M TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
H AND H DIESEL INC                       PO BOX 3549 IDAHO FALLS ID 83403
H AND N EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
H AND R TRANSPORT, LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
H B TRANSPORT                            BOX 1388 HUDSON BAY SK S0E 0Y0 CANADA
H BANEGAS TRANSPORT LLC                  OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
H C BROKERS INC                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411



Epiq Corporate Restructuring, LLC                                                                     Page 794 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 803 of 2156

Claim Name                           Address Information
H C BROKERS INC                      CHICAGO IL 60674-0411
H CLASS SOLUTIONS CORP               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
H ENTERPRISE CORP                    114 CRESTVIEW DRIVE READING PA 19608
H G N TRUCKING INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
H H BARNUM COMPANY                   ATTN: JACKI BRASHEAR 7915 LOCHLIN DR BRIGHTON MI 48116
H H C LLC                            OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
H H LINE LLC                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
H I TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
H J CHAHAL TRANS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
H J TOWING & RECOVERY INC            1511 COMMERCE AVE CARLISLE PA 17015
H JACKS PLUMBING & HEATING CO.       1523 CASCADE ST ERIE PA 16502
H L PRECISION MANUFACTURING INC      302 W DIVISION ST FISHER IL 61843
H M B SERVICES, INC.                 OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
H M LALLY INC                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
H M VAN INCORPORATED                 20444 ELKWOOD ST WINNETKA CA 91306
H O TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
H S T EXPRESS INC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
H S TRANSPORT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
H SHIGE EXPRESS LLC                  1931 BERKSHIRE DR EAGAN MN 55122
H T BAR, INC.                        705 QUAIL RIDGE ALEDO TX 76008
H T EXPRESS INC                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
H TOWN TRANS LLC                     OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
H&A LOGISTICS INC                    OR RIVIERA FINANCE OF TEXAS PO BOX 202487 DALLAS TX 75320-2487
H&A TRANSPORT LLC                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
H&B TRANSPORT INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
H&E EQUIPMENT SERVICES, INC.         P.O. BOX 849850 DALLAS TX 75284
H&H EXPRESS INC                      PO BOX 709 RATHDRUM ID 83858
H&H OVERSTOCK                        ATTN: MARK HATFIELD 11747 87TH ST LARGO FL 33773
H&H SINGH TRANSPORT LLC              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
H&H TRANS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
H&H TRUCK PARTS                      5500 CLOVERLEAF PKWY SOUTH SUITE VALLEY VIEW OH 44125
H&H VAC SERVICES, LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
H&J ELIZONDO LLC                     2514 STITES RD DONNA TX 78537-9023
H&J EXPRESS                          7090 W SAN JOSE AVE FRESNO CA 93723
H&J TRANSPORTS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
H&K ELECTRIC, INC.                   106 SLATON DR NASH TX 75569
H&M DAVIS LOGISTICS, LLC             OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
H&M TRANSPORT EXPRESS LLC            OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
H&M TRANSPORTATION INC               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
H&M TRANSPORTATION LLC               OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
H&MF TRANSPORTATION LLC              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
H&O TRANSPORT LLC                    35 PARK AVENUE, 4R, 4R SUFFERN NY 10901
H&R SIERRA TRUCKING INC              4209 WHIPPOORWILL DR GREENSBORO NC 27407
H&S LOGISTICS INC.                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
H&S LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
H&T RELIABLE TRANSPORT LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
H&V TRANSPORT LLC                    OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
H&W FUND LOCAL 404                   PO BOX 1370 SPRINGFIELD MA 01101
H&W LOGISTIC INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                                 Page 795 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 804 of 2156

Claim Name                               Address Information
H&W TRANSPORT                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
H&Y EXPRESS                              OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
H-KAZI TRUCKING LLC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
H. L. B. TRANSPORTATION SERVICES         PO BOX 180536 DALLAS TX 75218
H. L. GAGE SALES INC                     121 WASHINGTON AVE EXTN, PO BOX 5170 ALBANY NY 12205
H. WAYNE MITCHELL HOLDINGS LLC           ATTN: WAYNE MITCHELL 41430 E I-55 SERVICE ROAD HAMMOND LA 70403-1348
H.E.R. FARMS, LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
H.E.R. TRUCKING, INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
H.F. KROEGER TRUCKING, LLC               106 S 3RD AVE ELDRIDGE IA 52748
H/B TRANSPORT INC                        3497 LEVANTO WAY MANTECA CA 95337
H2O FIRE PROTECTION INC                  7135 IVY ST COMMERCE CITY CO 80022
H2O POWER EQUIPMENT                      6057 E 49TH DR COMMERCE CITY CO 80022
H2O POWER EQUIPMENT, INC                 6057 E 49TH AVENUE COMMERCE CITY CO 80022
H2O TO GO INC                            1009 EXECUTIVE BLVD CHESAPEAKE VA 23320
H2O TO GO INC                            5821 WARD COURT VIRGINIA BEACH VA 23455
HA BIZ TRUCKING LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
HA INC.                                  9905 ROUT 269 N BELLEVUE OH 44811
HA INTERNATIONAL                         6300 OAKMONT LANE WESTMONT IL 60559
HA&RD TRANSPORT LLC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
HAA TRUCKING LLC                         OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
HAAG, DEBRA                              ADDRESS ON FILE
HAAHR, THEO                              ADDRESS ON FILE
HAAKANA, RICHARD                         ADDRESS ON FILE
HAAR, ANDREW                             ADDRESS ON FILE
HAAR, DYLAN                              ADDRESS ON FILE
HAARP TRANS LTD                          7050B BRAMALEA ROAD UNIT 52A MISSISSAUGA ON L5S1S9 CANADA
HAAS AUTOMATION                          ATTN: LUIS SALDANA 2900 CHALLENGER PL OXNARD CA 93030
HAAS AUTOMATION                          ATTN: OSCAR HERRERA 2900 CHALLENGER PL OXNARD CA 93030
HAAS AUTOMATION                          ATTN: YOLANDA VASQUEZ YOLANDA VASQUEZ 2900 CHALLENGER PL OXNARD CA 93030
HAAS CARRIAGE, INC.                      PO BOX 104 SELLERSBURG IN 47172
HAAS EXPRESS INC                         318 KENBRIDGE COURT VALPARAISO IN 46385
HAAS TRUCKING INC.                       PO BOX 386 ALBION MI 49224
HAAS, DONALD E                           ADDRESS ON FILE
HAAS, DUSTIN                             ADDRESS ON FILE
HAAS, JEREMY                             ADDRESS ON FILE
HAAS, JIM                                ADDRESS ON FILE
HAAS, JOHN                               ADDRESS ON FILE
HAAS, ROBERT                             ADDRESS ON FILE
HAAS, RONALD                             ADDRESS ON FILE
HAASE, ROBERT                            ADDRESS ON FILE
HABBEGGER                                3079 SILVER DRIVE COLUMBUS OH 43224
HABEGGER                                 130 EAST MAIN STREET NEW ALBANY IN 47150
HABER LLP                                30195 CHAGRIN BLVD STE 323 PEPPER PIKE OH 44124
HABERT, KENNETH                          ADDRESS ON FILE
HABESHA LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HABESHA SHIPPING TRACKING & MOVING LLC   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HABIL TRANSPORTATION LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HABTEMARIAM, PETROS                      ADDRESS ON FILE
HACHOS TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                     Page 796 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 805 of 2156

Claim Name                          Address Information
HACK, MARC                          ADDRESS ON FILE
HACK, ROBERT                        ADDRESS ON FILE
HACK, SAMUEL                        ADDRESS ON FILE
HACKATHORN, CHARLOETTE              ADDRESS ON FILE
HACKBART BROTHERS INC.              PO BOX 434 SEWARD NE 68434
HACKBARTH DELIVERY SERVICE, INC.    3200 EXECUTIVE PARK CIR MOBILE AL 36606
HACKER, DUDLEY                      ADDRESS ON FILE
HACKER, JONATHAN                    ADDRESS ON FILE
HACKETT, CHARLES                    ADDRESS ON FILE
HACKETT, CHRISELL                   ADDRESS ON FILE
HACKETT, JOHN                       ADDRESS ON FILE
HACKETT, KEVIN J                    ADDRESS ON FILE
HACKETT, LAMONT                     ADDRESS ON FILE
HACKNEY, JEFFREY                    ADDRESS ON FILE
HACKNEY, KIRK                       ADDRESS ON FILE
HACKWORTH, PATRICK                  ADDRESS ON FILE
HACKWORTH, WILLIAM                  ADDRESS ON FILE
HACS LOGISTICS                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HADAMIK, TINA                       ADDRESS ON FILE
HADASH TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HADAWAY, JASON                      ADDRESS ON FILE
HADAWAY, JASON W                    ADDRESS ON FILE
HADDEN, ROBERT G                    ADDRESS ON FILE
HADDIX, BONNIE                      ADDRESS ON FILE
HADDIX, DONALD                      ADDRESS ON FILE
HADDOCK, DAVID                      ADDRESS ON FILE
HADDOCK, KERRY                      ADDRESS ON FILE
HADDOCK, SCOTT                      ADDRESS ON FILE
HADDOCK, WILLIAM                    ADDRESS ON FILE
HADEL, MAX                          ADDRESS ON FILE
HADERMANN, ELIZABETH                ADDRESS ON FILE
HADFIELD JR, JAMES                  ADDRESS ON FILE
HADI TRANSPORT LLC                  OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
HADLEY TOW                          11819 E. HADLEY ST. WHITTIER CA 90601
HADLEY TRANSIT LLC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HADLEY, BRIDGET                     ADDRESS ON FILE
HADLEY, CHRISHANA                   ADDRESS ON FILE
HADLEY, DAWN                        ADDRESS ON FILE
HADLEY, JIMMIE                      ADDRESS ON FILE
HADLEY, JON                         ADDRESS ON FILE
HADRITS, REEGAN                     ADDRESS ON FILE
HADZIC, ADIS                        ADDRESS ON FILE
HADZIC, EDIN                        ADDRESS ON FILE
HAEFFNER, RANDY                     ADDRESS ON FILE
HAEFNER FARM                        ADDRESS ON FILE
HAEFNER FARM                        ADDRESS ON FILE
HAEFNER, RAYMOND                    ADDRESS ON FILE
HAEGELE, CHANCE                     ADDRESS ON FILE
HAEMONETICS CORPORATION HAECAD      DATA2LOGISTICSLLC, 12631 WESTLINKS DR FORT MYERS FL 33913



Epiq Corporate Restructuring, LLC                                                               Page 797 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 806 of 2156

Claim Name                              Address Information
HAENER PROPERTIES LIMITED PTRSHP       1918 4TH AVE N LEWISTON ID 83501
HAENER PROPERTIES LP                   ATTN: AL HAENER 1918 4TH AVE N LEWISTON ID 83501
HAFER PETROLEUM EQUIPMENT LTD          34 ANGSTADT LANE BIRDSBORO PA 19508
HAFER TRUCK SERVICE, INC.              5879 US HWY 19 COCHRANTON PA 16314
HAFER, KEVIN                           ADDRESS ON FILE
HAFSA INC                              OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
HAFSA TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HAFT, RICHARD                          ADDRESS ON FILE
HAGAL LLC                              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HAGAN, JOSHUA                          ADDRESS ON FILE
HAGAN, ROSELYN                         ADDRESS ON FILE
HAGAR, CHRISTOPHER                     ADDRESS ON FILE
HAGAR, KALEB                           ADDRESS ON FILE
HAGE, KEITH                            ADDRESS ON FILE
HAGEDORN, JOHN                         ADDRESS ON FILE
HAGEMYER, JOE                          ADDRESS ON FILE
HAGEN, ETHAN                           ADDRESS ON FILE
HAGEN, MICHAEL                         ADDRESS ON FILE
HAGEN, ROBERT                          ADDRESS ON FILE
HAGEN, RONALD                          ADDRESS ON FILE
HAGER TRUCKING COMPANY, INC.           OR TRANSPORT CLEARINGS EAST 9140 ARROWPOINT BLVD SUITE 370 CHARLOTTE NC 28273
HAGER, DARRYL                          ADDRESS ON FILE
HAGER, JOSEPH                          ADDRESS ON FILE
HAGER, ROBERT G                        ADDRESS ON FILE
HAGER, WALTER                          ADDRESS ON FILE
HAGERMAN, MARIEA                       ADDRESS ON FILE
HAGERSTOWN MOTOR CARRIERS AND          TEAMSTERS PENSION PLAN 10312 REMINGTON DRIVE HAGERSTOWN MD 21740
HAGERSTOWN SPRING &                    437 E BALTIMORE ST HAGERSTOWN MD 21740
HAGERSTOWN TEAMSTERS & MOTOR CARRIERS - HEALTH & WELFARE FUND 10312 REMINGTON DR HAGERSTOWN MD 21740
HAGGAGI TRUCKING LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
HAGGARD & STOCKING ASSOCIATES INC.     ATTN: TINA SCHWIND 5318 VICTORY DRIVE INDIANAPOLIS IN 46203-5951
HAGGARD, BRYAN                         ADDRESS ON FILE
HAGGINS, ARPELL                        ADDRESS ON FILE
HAGLER, GERALD                         ADDRESS ON FILE
HAGLUND, NICHOLAS                      ADDRESS ON FILE
HAGMAN, ARLIN                          ADDRESS ON FILE
HAGMAN, BRIAN                          ADDRESS ON FILE
HAGOS TRUCKING LLC                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
HAGSTROM, ALLAN                        ADDRESS ON FILE
HAGUE, GWEN                            ADDRESS ON FILE
HAGWOOD, JOSHUA                        ADDRESS ON FILE
HAGY, ROBERT                           ADDRESS ON FILE
HAHA LLC                               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HAHN, GARY L                           ADDRESS ON FILE
HAHN, JOHN                             ADDRESS ON FILE
HAHN, MICHAEL                          ADDRESS ON FILE
HAHN, SHARI                            ADDRESS ON FILE
HAI LOGISTICS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HAIGHT FIRE EQUIPMENT                  199 LITTLE BRITAIN RD NEWBURGH NY 12550



Epiq Corporate Restructuring, LLC                                                                  Page 798 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 807 of 2156

Claim Name                              Address Information
HAIGHT, MELVIN                          ADDRESS ON FILE
HAILE, RYAN                             ADDRESS ON FILE
HAILEMARIAM, KIRUBEL                    ADDRESS ON FILE
HAILEY, CHRYSTAL                        ADDRESS ON FILE
HAILYN TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HAIN, RICCI                             ADDRESS ON FILE
HAINES, DALE                            ADDRESS ON FILE
HAINES, JAMES                           ADDRESS ON FILE
HAINES, JONES & CADBURY                 ATTN: AMANDA FRETWELL CLAIMS/CREDIT 2706 OTIS CORELEY DRIVE, SUITE BENTONVILLE
                                        AR 72712
HAINES, RICKY                           ADDRESS ON FILE
HAINES, RICKY A                         ADDRESS ON FILE
HAINES, WILLIAM                         ADDRESS ON FILE
HAINESPORT ENTERPRISES INC              1466 ROUTE 38 HAINESPORT NJ 08036
HAINLEY, RICHARD                        ADDRESS ON FILE
HAIR, FARRELL                           ADDRESS ON FILE
HAIR, HALLIE                            ADDRESS ON FILE
HAIR, JODY                              ADDRESS ON FILE
HAIR, RANDY                             ADDRESS ON FILE
HAIRABEDIAN, DENNIS J                   ADDRESS ON FILE
HAIRE, SAMARIA                          ADDRESS ON FILE
HAIRELL, RONALD                         ADDRESS ON FILE
HAIRES ENGINE & TRUCK SERVICE           4560 HWY 371 SOUTH MAGNOLIA AR 71753
HAIRR, ROBERT                           ADDRESS ON FILE
HAIRSTON, MARVIN                        ADDRESS ON FILE
HAIRSTON, SHANNON                       ADDRESS ON FILE
HAITHCOX, ANTHONY                       ADDRESS ON FILE
HAITZ, TIMOTHY                          ADDRESS ON FILE
HAIWATHA LANE LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HAJ TRANSPORTATION                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HAJDU, STEVE                            ADDRESS ON FILE
HAJI SALUM                              ADDRESS ON FILE
HAJI TRANSPORTATION LLC                 1540 THOMAS LAKE POINTE RD 304 EAGAN MN 55122
HAJISON TRUCKING LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HAJOCA                                  13455 ESTELLE ST. CORONA CA 92879
HAJOCA CORPORATION                      ATTN: JOE HEURICH 1208 FRONT ST RALEIGH NC 27609
HAKABO TRANSPORT LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HAKE, DANNY                             ADDRESS ON FILE
HAKI TRANSPORTATION LLC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HAKIM TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HAKIR TRANSPORT LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HAL BURNS TRUCK & EQUIPMENT SVCS, LLC   14 CAMINO CHARRO SANTA FE NM 87507
HALABY, JOSEPH                          ADDRESS ON FILE
HALAL EXPRESS LLC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HALAL TRANS LLC                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HALAPIN, JOHN                           ADDRESS ON FILE
HALASZ, LINDA                           ADDRESS ON FILE
HALATOKOUA, SHOBNALATA                  ADDRESS ON FILE
HALAWA TRUCKING LLC                     OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504



Epiq Corporate Restructuring, LLC                                                                   Page 799 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 808 of 2156

Claim Name                           Address Information
HALBROOK WOOD PC                     3500 WEST 75TH STREET SUITE 300 PRAIRIE VILLAGE KS 66208
HALCO LIGHTING TECHNOLOGIES          310 MAIN AVE WAY SE HICKORY NC 28602
HALCOMB, BENJAMIN                    ADDRESS ON FILE
HALCON TRUCKING INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HALDEMAN, BRIAN                      ADDRESS ON FILE
HALE TRAILER BRAKE & WHEEL, INC.     PO BOX 1400 VOORHEES NJ 08043
HALE XPRESS                          C\O CJ SOLUTIONS GROUP INC., 1026 W. EI NORTE PKWY 250 ESCONDIDO CA 92026
HALE, BARRY                          ADDRESS ON FILE
HALE, CARL                           ADDRESS ON FILE
HALE, CHRIS                          ADDRESS ON FILE
HALE, CHRISTOPHER                    ADDRESS ON FILE
HALE, DARRELL                        ADDRESS ON FILE
HALE, DVANTAE                        ADDRESS ON FILE
HALE, ERIC                           ADDRESS ON FILE
HALE, FRANK                          ADDRESS ON FILE
HALE, GARY                           ADDRESS ON FILE
HALE, JAMIE                          ADDRESS ON FILE
HALE, JEFFREY                        ADDRESS ON FILE
HALE, JERRY                          ADDRESS ON FILE
HALE, JOHN                           ADDRESS ON FILE
HALE, JOSHUA                         ADDRESS ON FILE
HALE, REGINA                         ADDRESS ON FILE
HALE, SONYA                          ADDRESS ON FILE
HALE, TERRY                          ADDRESS ON FILE
HALES & PHILLIPS CORPORATION         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HALES, BENJAMIN                      ADDRESS ON FILE
HALES, DEBORAH                       ADDRESS ON FILE
HALES, RODNEY                        ADDRESS ON FILE
HALES, RODNEY G                      ADDRESS ON FILE
HALES, WAYNE                         ADDRESS ON FILE
HALEY A NAHF                         ADDRESS ON FILE
HALEY TRANSPORTATION LLC             OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
HALEY, JOHN                          ADDRESS ON FILE
HALEY, KYLE                          ADDRESS ON FILE
HALEY, RUFUS                         ADDRESS ON FILE
HALEY, SEAN                          ADDRESS ON FILE
HALEY, STUART T                      ADDRESS ON FILE
HALEY, WILLIAM                       ADDRESS ON FILE
HALEY, WILLIAM                       ADDRESS ON FILE
HALGAN TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HALIBURTON, SHANNON                  ADDRESS ON FILE
HALIFAX FLOORING INC                 28 N 1330 W OREM UT 84057-4483
HALIK EXPRESS INC                    OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HALKO, ROBERT                        ADDRESS ON FILE
HALL CONTRACTING OFKY                3800 CRITTENDEN DR LOUISVILLE KY 40209
HALL FAMILY LOGISTICS LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HALL LOGISTICS COMPANY, LLC          2001 E 5TH ST. NORTH LITTLE ROCK AR 72119
HALL ONE TRUCKING LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HALL, AARON                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 800 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 809 of 2156

Claim Name                         Address Information
HALL, AARON                        ADDRESS ON FILE
HALL, ADAM                         ADDRESS ON FILE
HALL, ALPHONSO                     ADDRESS ON FILE
HALL, ANDRE                        ADDRESS ON FILE
HALL, ANTHONY                      ADDRESS ON FILE
HALL, ANTHONY                      ADDRESS ON FILE
HALL, ANTONIO                      ADDRESS ON FILE
HALL, ANTWAN                       ADDRESS ON FILE
HALL, AUBREY                       ADDRESS ON FILE
HALL, BRANDAN                      ADDRESS ON FILE
HALL, BRANDON                      ADDRESS ON FILE
HALL, BRANDON                      ADDRESS ON FILE
HALL, BRANDON                      ADDRESS ON FILE
HALL, BRENDA                       ADDRESS ON FILE
HALL, BRIAN                        ADDRESS ON FILE
HALL, BRIAN                        ADDRESS ON FILE
HALL, CARL                         ADDRESS ON FILE
HALL, CAVEN                        ADDRESS ON FILE
HALL, CHARLES                      ADDRESS ON FILE
HALL, CHARLES T                    ADDRESS ON FILE
HALL, CHRIS                        ADDRESS ON FILE
HALL, CHRISTIAN                    ADDRESS ON FILE
HALL, CHRISTOPHER                  ADDRESS ON FILE
HALL, CHRISTOPHER R                ADDRESS ON FILE
HALL, CLIFFORD                     ADDRESS ON FILE
HALL, COREY                        ADDRESS ON FILE
HALL, CURTIS                       ADDRESS ON FILE
HALL, CURTIS                       ADDRESS ON FILE
HALL, DANIEL                       ADDRESS ON FILE
HALL, DANIEL                       ADDRESS ON FILE
HALL, DANIELLE                     ADDRESS ON FILE
HALL, DANNY                        ADDRESS ON FILE
HALL, DARIUS                       ADDRESS ON FILE
HALL, DAVID                        ADDRESS ON FILE
HALL, DAVID                        ADDRESS ON FILE
HALL, DAVID                        ADDRESS ON FILE
HALL, DAVID H                      ADDRESS ON FILE
HALL, DEREK                        ADDRESS ON FILE
HALL, DEREK                        ADDRESS ON FILE
HALL, DON                          ADDRESS ON FILE
HALL, DONEL                        ADDRESS ON FILE
HALL, DONTAE                       ADDRESS ON FILE
HALL, EDGAR                        ADDRESS ON FILE
HALL, EDWARD                       ADDRESS ON FILE
HALL, ELIJAH R                     ADDRESS ON FILE
HALL, FELTON                       ADDRESS ON FILE
HALL, FRANK                        ADDRESS ON FILE
HALL, FRED                         ADDRESS ON FILE
HALL, FREDERICK                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 801 OF 2145
                                       Yellow Corporation
                  Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 810 of 2156

Claim Name                      Address Information
HALL, GREGORY                   ADDRESS ON FILE
HALL, GREGORY                   ADDRESS ON FILE
HALL, GREGORY J                 ADDRESS ON FILE
HALL, HERMAN                    ADDRESS ON FILE
HALL, JAMES                     ADDRESS ON FILE
HALL, JAMES                     ADDRESS ON FILE
HALL, JEFFERY                   ADDRESS ON FILE
HALL, JEMIKA                    ADDRESS ON FILE
HALL, JOHN                      ADDRESS ON FILE
HALL, JOYCE                     ADDRESS ON FILE
HALL, JULIUS                    ADDRESS ON FILE
HALL, KIM                       ADDRESS ON FILE
HALL, KYLE                      ADDRESS ON FILE
HALL, LAUREN                    ADDRESS ON FILE
HALL, LESLIE                    ADDRESS ON FILE
HALL, LONNIE                    ADDRESS ON FILE
HALL, LONNIE                    ADDRESS ON FILE
HALL, LONNY                     ADDRESS ON FILE
HALL, MARION                    ADDRESS ON FILE
HALL, MARK                      ADDRESS ON FILE
HALL, MICHAEL                   ADDRESS ON FILE
HALL, MICHAEL                   ADDRESS ON FILE
HALL, MICHAEL                   ADDRESS ON FILE
HALL, MILES                     ADDRESS ON FILE
HALL, NATHAN                    ADDRESS ON FILE
HALL, PHILLIP                   ADDRESS ON FILE
HALL, RACHEL                    ADDRESS ON FILE
HALL, RICHARD                   ADDRESS ON FILE
HALL, RICHARD D                 ADDRESS ON FILE
HALL, ROBERT                    ADDRESS ON FILE
HALL, ROBERT                    ADDRESS ON FILE
HALL, ROBERT                    ADDRESS ON FILE
HALL, RONALD                    ADDRESS ON FILE
HALL, SAM                       ADDRESS ON FILE
HALL, SAM                       ADDRESS ON FILE
HALL, SCOTT                     ADDRESS ON FILE
HALL, SCOTT                     ADDRESS ON FILE
HALL, SPENCER                   ADDRESS ON FILE
HALL, STEPHANIE                 ADDRESS ON FILE
HALL, STEPHEN                   ADDRESS ON FILE
HALL, TIMOTHY                   ADDRESS ON FILE
HALL, TONY                      ADDRESS ON FILE
HALL, TRAVIS                    ADDRESS ON FILE
HALL, TRAVIS A                  ADDRESS ON FILE
HALL, TURNER                    ADDRESS ON FILE
HALL, VAUGHN                    ADDRESS ON FILE
HALL, VONNIE                    ADDRESS ON FILE
HALL, WILLIAM                   ADDRESS ON FILE
HALL, WILLIAM                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 802 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 811 of 2156

Claim Name                             Address Information
HALL, WILLIAM                          ADDRESS ON FILE
HALL, WILLIAM                          ADDRESS ON FILE
HALL, WILLIAM                          ADDRESS ON FILE
HALLADA, JAYSON                        ADDRESS ON FILE
HALLAHAN, ANNETTE                      ADDRESS ON FILE
HALLAHAN, MICHAEL                      ADDRESS ON FILE
HALLAHAN, SEAN                         ADDRESS ON FILE
HALLAMORE CORP, D/B/A B.T. EQUIPMENT   ATTN: GENERAL COUNSEL 795 PLYMOUTH STREET HOLBROOK MA 02343
HALLETT, ERIC                          ADDRESS ON FILE
HALLIE BARRON                          ADDRESS ON FILE
HALLIE FRANCIS                         ADDRESS ON FILE
HALLIGAN, DUANE                        ADDRESS ON FILE
HALLIGAN, FRANK E                      ADDRESS ON FILE
HALLIGAN, ROBERT                       ADDRESS ON FILE
HALLIHAN, PETER                        ADDRESS ON FILE
HALLIHAN, STEPHEN                      ADDRESS ON FILE
HALLMAN TRUCKING                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HALLMAN, ELIJAH                        ADDRESS ON FILE
HALLMAN, JUSTIN                        ADDRESS ON FILE
HALLMAN, LEVI                          ADDRESS ON FILE
HALLMARK C/O ECHO                      600 W CHICAGO AVE 725 CHICAGO IL 60654
HALLOCK, SCOTT                         ADDRESS ON FILE
HALLORAN, CHRISTOPHER                  ADDRESS ON FILE
HALLS HOMES RE LLC                     PO BOX 498 OAKLAND ME 04963
HALLS TRUCKING INC.                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HALLS UNITED TRUCKING LLC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HALLUM, BROOKE                         ADDRESS ON FILE
HALLUM, CHERYL                         ADDRESS ON FILE
HALLWAY LOGISTICS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
HALLY, MICHAEL                         ADDRESS ON FILE
HALLZ LOGISTIC                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HALO BRANDED SOLUTIONS                 25420 NETWORK PLACE CHICAGO IL 60673
HALO BRANDED SOLUTIONS                 3182 MOMENTUM PLACE CHICAGO IL 60689
HALO FREIGHT EXPEDITERS LLC            OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
HALO LOGISTICS LLC                     OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
HALO RECOGNITION                       ATTN: TIA VELAZQUEZ HICKS 2804 WEST LEFEVRE ROAD STERLING IL 61081
HALOL TRANSPORT LLC                    OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
HALOS DEDICATED TRANSPORTATION LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HALPER, JAMES                          ADDRESS ON FILE
HALPERN LAW FIRM PLLC                  4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
HALSEY, JOHN                           ADDRESS ON FILE
HALSEY, PIERRE                         ADDRESS ON FILE
HALSEY, SYLVESTER                      ADDRESS ON FILE
HALSTEAD, NATALIE                      ADDRESS ON FILE
HALSTEAD, SCOTT                        ADDRESS ON FILE
HALTER TRANSPORTATION SERVICES         713 S 5TH ST SAINT JOSEPH MO 64501
HALTON, KENNETH                        ADDRESS ON FILE
HALVERSON, DAVE                        ADDRESS ON FILE
HALVERSON, HEATHER                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 803 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 812 of 2156

Claim Name                               Address Information
HALVERSON, JENNIE                        ADDRESS ON FILE
HALVOR LINES, INC.                       PO BOX 151004 OGDEN UT 84415
HALVORSON, ERIC                          ADDRESS ON FILE
HALVORSON, MICHAEL                       ADDRESS ON FILE
HALWEG, CHARLES                          ADDRESS ON FILE
HALWO TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HAM TRANSPORT LLC                        OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
HAM, AUSTIN                              ADDRESS ON FILE
HAM, ERIC                                ADDRESS ON FILE
HAM, JACOB                               ADDRESS ON FILE
HAM, JIMMY                               ADDRESS ON FILE
HAMAMOTO, RONALD                         ADDRESS ON FILE
HAMANN, DENNIS                           ADDRESS ON FILE
HAMANN, JEANETTE                         ADDRESS ON FILE
HAMANN, SAVANNAH                         ADDRESS ON FILE
HAMBALEK, KEVIN                          ADDRESS ON FILE
HAMBEL, JEFREY                           ADDRESS ON FILE
HAMBLET, BRANDEN                         ADDRESS ON FILE
HAMBLETON, DESTINY                       ADDRESS ON FILE
HAMBLIN & HAMBLIN, INC                   837 N EASON BLVD TUPELO MS 38804
HAMBLIN, ROGER                           ADDRESS ON FILE
HAMBONE DELIVERY LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HAMBONE TRUCKING LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HAMBRICK, JOHN P                         ADDRESS ON FILE
HAMBRICK, JOHNNY                         ADDRESS ON FILE
HAMBURG OVERHEAD DOOR , INC              5659 HERMAN HILL ROAD HAMBURG NY 14075
HAMBY, DAVID                             ADDRESS ON FILE
HAMBY, DWIGHT                            ADDRESS ON FILE
HAMBY, LARRY                             ADDRESS ON FILE
HAMD EXPRESS LLC                         OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
HAMEL, ANDRE                             ADDRESS ON FILE
HAMEL, LANCE                             ADDRESS ON FILE
HAMEL, LEO                               ADDRESS ON FILE
HAMEN, BRIAN                             ADDRESS ON FILE
HAMER DOOR & PARTITIONS                  778 N. WILLISTON RD. FLORENCE SC 29506
HAMER TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HAMER, CAITLEIGH                         ADDRESS ON FILE
HAMER, WILLIAM                           ADDRESS ON FILE
HAMIDIY INC                              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HAMILTON BEACH BRANDS INC                ATTN: HOLLY MENKE IL2000 CLAIMS PO BOX 8372 VIRGINIA BEACH VA 23450
HAMILTON C TRUCKING LLC                  OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
HAMILTON COUNTY GENERAL SESSIONS COURT   736 MARKET STREET, SUITE 1320 CHATTANOOGA TN 37402
HAMILTON HAULING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HAMILTON PARKER                          ADDRESS ON FILE
HAMILTON TOWNSHIP                        SEWER UTILITY, PO BOX 00150 HAMILTON NJ 08650
HAMILTON TOWNSHIP TAX COLLECTOR          DIV OF REV COLLECTION 2090 GREENWOOD AVE PO BOX 00150 HAMILTON TOWNSHIP NJ
                                         08609
HAMILTON TRANSPORTATION, LLC             PO BOX 1355, 1751 SHIRLEY RD BUNKIE LA 71322
HAMILTON TRUCKING COMPANY, INC.          350 S SHERIDAN AVE VALLEY CENTER KS 67147-2237



Epiq Corporate Restructuring, LLC                                                                     Page 804 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 813 of 2156

Claim Name                           Address Information
HAMILTON TRUCKING UNLIMITED LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HAMILTON, ANNETTE                    ADDRESS ON FILE
HAMILTON, ARLENE                     ADDRESS ON FILE
HAMILTON, BOBBY                      ADDRESS ON FILE
HAMILTON, BONITA                     ADDRESS ON FILE
HAMILTON, BONITA                     ADDRESS ON FILE
HAMILTON, CHARLES                    ADDRESS ON FILE
HAMILTON, DANIEL                     ADDRESS ON FILE
HAMILTON, DONALD                     ADDRESS ON FILE
HAMILTON, DOUGLAS                    ADDRESS ON FILE
HAMILTON, DUSTIN                     ADDRESS ON FILE
HAMILTON, EDWARD                     ADDRESS ON FILE
HAMILTON, FRANCINE                   ADDRESS ON FILE
HAMILTON, GARY                       ADDRESS ON FILE
HAMILTON, JACKSON                    ADDRESS ON FILE
HAMILTON, JAMES                      ADDRESS ON FILE
HAMILTON, JAMES                      ADDRESS ON FILE
HAMILTON, JEQUAN                     ADDRESS ON FILE
HAMILTON, JOHN                       ADDRESS ON FILE
HAMILTON, JON                        ADDRESS ON FILE
HAMILTON, JONI                       ADDRESS ON FILE
HAMILTON, KSHIN                      ADDRESS ON FILE
HAMILTON, MARK D                     ADDRESS ON FILE
HAMILTON, NORMAN                     ADDRESS ON FILE
HAMILTON, RANDALL                    ADDRESS ON FILE
HAMILTON, RICK                       ADDRESS ON FILE
HAMILTON, TOBIAS                     ADDRESS ON FILE
HAMLER, WILLIAM                      ADDRESS ON FILE
HAMLIN TRANSPORT LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HAMLIN, DANNY                        ADDRESS ON FILE
HAMLIN, DEVIN                        ADDRESS ON FILE
HAMLIN, MARK                         ADDRESS ON FILE
HAMLIN, SHAWN                        ADDRESS ON FILE
HAMM & SONS PLUMBING, INC.           6350 SOMMER AWNING BLVD. INDIANAPOLIS IN 46220
HAMM, DIONDRE                        ADDRESS ON FILE
HAMM, HERB                           ADDRESS ON FILE
HAMM, JUSTIN                         ADDRESS ON FILE
HAMM, NATHAN                         ADDRESS ON FILE
HAMM, SCOTT                          ADDRESS ON FILE
HAMM, TOM                            ADDRESS ON FILE
HAMMACK, MARK                        ADDRESS ON FILE
HAMMAN, ANTHONY L                    ADDRESS ON FILE
HAMMAN, DUSTIN                       ADDRESS ON FILE
HAMMEL, DANIELLE                     ADDRESS ON FILE
HAMMEL, STEVE                        ADDRESS ON FILE
HAMMER LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HAMMER LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HAMMER TIME TRANSPORT                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HAMMER TRANSPORTATION CO             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                 Page 805 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 814 of 2156

Claim Name                            Address Information
HAMMER, DILLON                        ADDRESS ON FILE
HAMMER, STEVEN                        ADDRESS ON FILE
HAMMERDOWN LOGISTICS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
HAMMERS TOWING INC                    1298 VALLEY ROAD POTTSVILLE PA 17901
HAMMERS TOWING INC                    PO BOX 80282 TOLEDO OH 43608
HAMMERSMITH, KYLE                     ADDRESS ON FILE
HAMMETT, ROBERT                       ADDRESS ON FILE
HAMMON LOGISTICS LLC                  OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
HAMMOND LEAD PRODUCTS                 2308 E 165TH ST HAMMOND IN 46320
HAMMOND MANUFACTURING CO              475 CAYUGA RD SUITE 100 CHEEKTOWAGA NY 14225
HAMMOND MFG                           ATTN: KIM ALLEN 475 CAYUGA RD CHEEKTOWAGA NY 14225
HAMMOND, CHRISTOPHER                  ADDRESS ON FILE
HAMMOND, DAVID                        ADDRESS ON FILE
HAMMOND, JOSEPH                       ADDRESS ON FILE
HAMMOND, LONNEY E                     ADDRESS ON FILE
HAMMOND, TEDRIC                       ADDRESS ON FILE
HAMMOND, WALTER                       ADDRESS ON FILE
HAMMONDS, BERNARD                     ADDRESS ON FILE
HAMMONDS, EDDY                        ADDRESS ON FILE
HAMMONDS, JOHNNY                      ADDRESS ON FILE
HAMMONDS, ROBERT                      ADDRESS ON FILE
HAMMONDS, TONY                        ADDRESS ON FILE
HAMMONS HURST & ASSOCIATES            325 DEAN A MCGEE AVE OKLAHOMA CITY OK 73102
HAMMONS, ELIZABETH                    ADDRESS ON FILE
HAMMONS, JAMES                        ADDRESS ON FILE
HAMMOUDEH, MOHAMMAD                   ADDRESS ON FILE
HAMNER, LEVI                          ADDRESS ON FILE
HAMNER, OLIVIA                        ADDRESS ON FILE
HAMO TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HAMP FREIGHT SYSTEM LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HAMPDEN TOWNSHIP                      209 S. SPORTING HILL ROAD MECHANICSBURG PA 17050
HAMPDEN TOWNSHIP                      230 S SPORTING HILL RD MECHANICSBURG PA 17050
HAMPEL OIL DISTRIBUTORS INC           PO BOX 875477 KANSAS CITY MO 64187
HAMPS LOGISTICS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HAMPSHER, MATTHEW                     ADDRESS ON FILE
HAMPSHIRE TOWING                      650 NEW LUDLOW RD SOUTH HADLEY MA 01075
HAMPSON, BEAU                         ADDRESS ON FILE
HAMPSON, KEITH                        ADDRESS ON FILE
HAMPSON, KEVIN                        ADDRESS ON FILE
HAMPTON LOGISTIC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HAMPTON PAVING, LLC                   PO BOX 518 LA GRANDE OR 97850
HAMPTON PRODUCTS INTERNATIONAL CORP   PO BOX 844187 LOS ANGELES CA 90084
HAMPTON PRODUCTS INTERNATIONAL CORP   FILE 2354, 1801 W. OLYMPIC BLVD PASADENA CA 91199
HAMPTON TRANSPORTATION LLC            9478 SE COLE TRAIN LN HAPPY VALLEY OR 97086
HAMPTON, ADARIUS                      ADDRESS ON FILE
HAMPTON, ANTHONY                      ADDRESS ON FILE
HAMPTON, DEVSHAN                      ADDRESS ON FILE
HAMPTON, FREDRICK                     ADDRESS ON FILE
HAMPTON, JAMES                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 806 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 815 of 2156

Claim Name                          Address Information
HAMPTON, JOANNE                     ADDRESS ON FILE
HAMPTON, JOYCE                      ADDRESS ON FILE
HAMPTON, KALEEL                     ADDRESS ON FILE
HAMPTON, LEONARD                    ADDRESS ON FILE
HAMPTON, LEROY                      ADDRESS ON FILE
HAMPTON, MATTHEW D                  ADDRESS ON FILE
HAMPTON, OZELL                      ADDRESS ON FILE
HAMPTON, RANDY                      ADDRESS ON FILE
HAMPTON, RICHARD                    ADDRESS ON FILE
HAMPTON, ROBERT                     ADDRESS ON FILE
HAMPTON, RONALD                     ADDRESS ON FILE
HAMPTON, SHANNON                    ADDRESS ON FILE
HAMPTON, STEPHEN                    ADDRESS ON FILE
HAMPTON, TREVON                     ADDRESS ON FILE
HAMPTON, TRICHAE                    ADDRESS ON FILE
HAMPTOWN LOGISTICS LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
HAMRICKS COMPANY INCORPORATED       ATTN: BRYCE HAMRICK 742 PEACHOID RD GAFFNEY SC 29341
HAMRO TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HAMSKI, BRENDAN                     ADDRESS ON FILE
HAMSTRA, TRACY                      ADDRESS ON FILE
HAMZA M WRIGHT                      ADDRESS ON FILE
HAMZA TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HAMZIC TRUCKING LLC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
HAN, FANGZHENG                      ADDRESS ON FILE
HAN, HYUN N                         ADDRESS ON FILE
HAN, HYUN N                         ADDRESS ON FILE
HAN, RUI                            ADDRESS ON FILE
HAN, TONY L                         ADDRESS ON FILE
HANAK, JULIUS B                     ADDRESS ON FILE
HANAMOTO, TAIKI                     ADDRESS ON FILE
HANANIA, CHRIS                      ADDRESS ON FILE
HANBACK, MARK                       ADDRESS ON FILE
HANCHETT, WALTER                    ADDRESS ON FILE
HANCOCK & NORTHWESTERN TRANSP CO.   P O BOX 691 BERKELEY SPRINGS WV 25411
HANCOCK TRANSPORTATION LLC          12270 CANAL BANK RD GARLAND UT 84312
HANCOCK TREE SERVICE LLC            6124 LITTLE MADISON WAY KNOXVILLE TN 37923
HANCOCK, CHRISTIOHER                ADDRESS ON FILE
HANCOCK, KEITH                      ADDRESS ON FILE
HANCOCK, MARK                       ADDRESS ON FILE
HAND TO HAND TRANSPORTATION         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HAND, KAREN                         ADDRESS ON FILE
HAND, STEFANIE                      ADDRESS ON FILE
HAND, WILLIAM T                     ADDRESS ON FILE
HANDI LIFT SERVICE                  730 GARDEN ST CARLSTADT NJ 07072
HANDI-CRAFT CO                      4433 FYLER ST LOUIS MO 63116
HANDLE WITH CARE, INC.              PO BOX 649 BOUND BROOK NJ 08805
HANDLEMAN, LARRY                    ADDRESS ON FILE
HANDLEY, JAMES                      ADDRESS ON FILE
HANDLEY, KENNETH                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 807 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 816 of 2156

Claim Name                           Address Information
HANDLIN, BARBARA                     ADDRESS ON FILE
HANDS ON LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HANDY LOGISTICS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HANDY TRANSPORT SERVICE LLC          OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
HANDY TRANSPORTATION INC             OR MUTUAL INVESTMENTS LLC 2863 W 95TH STREET SUITE 143-333 NAPERVILLE IL 60564
HANDY WACKS CORP                     100 E AVERILL ST SPARTA MI 49345
HANDY WACKS CORPORATION              PO BOX 129 SPARTA MI 49345
HANDY, BRANT                         ADDRESS ON FILE
HANDYMAN SERVICES LLC                ATTN: GLENN ALEXANDER, 345 N RAILROAD ST MONTICELLO FL 32344
HANDYMAN TECH LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HANDYSIDE, KENNETH                   ADDRESS ON FILE
HANDYTRAC SYSTEMS                    510 STAGHORN CT. ALPHARETTA GA 30004
HANECA, HENRY                        ADDRESS ON FILE
HANES COMPANIES                      PO BOX 457 CONOVER NC 28613
HANES GEO COMPONENTS                 14200 E 35TH PL STE 100 AURORA CO 80011
HANEY FREIGHTWAYS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HANEY, ANTONIO                       ADDRESS ON FILE
HANEY, DAVID                         ADDRESS ON FILE
HANEY, DOUGLAS                       ADDRESS ON FILE
HANEY, GEO B                         ADDRESS ON FILE
HANEY, NICHOLAS R                    ADDRESS ON FILE
HANEY, RANDY                         ADDRESS ON FILE
HANEY, RODNEY S                      ADDRESS ON FILE
HANEY, RODNEY S                      ADDRESS ON FILE
HANFAR INC                           OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HANFORD, PAIGE                       ADDRESS ON FILE
HANFORD, PAIGE                       ADDRESS ON FILE
HANG, KEVIN                          ADDRESS ON FILE
HANIFEN CO. INC.                     5329 2ND AVE DES MOINES IA 50313
HANIFFA, RIZLY                       ADDRESS ON FILE
HANIGAN, SETH                        ADDRESS ON FILE
HANK BICKMANN                        ADDRESS ON FILE
HANK GALLEGOS TRUCKING INC           139 RANCHITOS RD NW ALBUQUERQUE NM 87114
HANKEL, STACEY                       ADDRESS ON FILE
HANKERSON, ALDUHA                    ADDRESS ON FILE
HANKERSON, CEDRIC                    ADDRESS ON FILE
HANKIN SPECIALTY ELEVATORS, INC.     3237 FITZGERALD RD RANCHO CORDOVA CA 95742
HANKINS TRUCKING LLC                 408 MAIN STREET CORWITH IA 50430
HANKINS, DANNY                       ADDRESS ON FILE
HANKINS, LORIE                       ADDRESS ON FILE
HANKINS, NATHAN                      ADDRESS ON FILE
HANKINS, RYAN                        ADDRESS ON FILE
HANKINS, TYLER                       ADDRESS ON FILE
HANKS ELECTRICAL SUPPLY              ATTN: MICHELLE CHRISTENSEN 1718 PLACENTIA AVE COSTA MESA CA 92627
HANKS, ALONZA                        ADDRESS ON FILE
HANKS, SHANE                         ADDRESS ON FILE
HANKS, TINA                          ADDRESS ON FILE
HANLET S DIAZ MARTE                  ADDRESS ON FILE
HANLEY, BRADLEY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 808 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 817 of 2156

Claim Name                              Address Information
HANLEY, GREG                           ADDRESS ON FILE
HANLEY, MARTIN                         ADDRESS ON FILE
HANLEY, MARTIN T                       ADDRESS ON FILE
HANLON, GARY                           ADDRESS ON FILE
HANLON, PERRY                          ADDRESS ON FILE
HANN, ANDREW                           ADDRESS ON FILE
HANNA BROPHY MAC LEAN MC ALEER & JENSEN PO BOX 742910 LOS ANGELES CA 90074
HANNA PAPER RECYCLING INC.             475 LUDWIG AVENUE BUFFALO NY 14227
HANNA TRANSFER, LLC                    681 PRISK STREET BELLEVILLE WI 53508
HANNA XPRESS LLC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HANNA, DANNY                           ADDRESS ON FILE
HANNA, DONNY                           ADDRESS ON FILE
HANNA, MICHAEL                         ADDRESS ON FILE
HANNA, MICHAEL                         ADDRESS ON FILE
HANNA, SARGON                          ADDRESS ON FILE
HANNA, SHAUN                           ADDRESS ON FILE
HANNA, VICKI                           ADDRESS ON FILE
HANNAH B LOGISTICS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HANNAH KATHERINE REYES                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HANNAH, JACK                           ADDRESS ON FILE
HANNAH, JEREMY                         ADDRESS ON FILE
HANNAH, RYAN                           ADDRESS ON FILE
HANNAH, SHANE                          ADDRESS ON FILE
HANNAH, VINCENT                        ADDRESS ON FILE
HANNAS WRECKER SERVICE, INC            DBA GRAHAMS WRECKER SERVICE, 750 HAMILTON AVE FRANKLIN IN 46131
HANNAS WRECKER SERVICE, INC            3501 WEST KELLY STREET INDIANAPOLIS IN 46241
HANNAWALD, DAVID                       ADDRESS ON FILE
HANNEGAN VALLEY INDUSTRIAL PARK        DBA HVIP INDUSTRIAL PARK, 3463 CEDARVILLE ROAD BELLINGHAM WA 98226
HANNON HAULING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HANNON, FRANK                          ADDRESS ON FILE
HANNON, MONICA                         ADDRESS ON FILE
HANNUM, JAMES                          ADDRESS ON FILE
HANOVER DOOR SYSTEMS INC.              105 COMMERCE DRIVE STEINBACH MB R5G 1W6 CANADA
HANRAHAN, RICCI                        ADDRESS ON FILE
HANS D GUTHRIE                         ADDRESS ON FILE
HANS DEREK SCHOLZ                      ADDRESS ON FILE
HANS FREIGHTLINER OF CLEVELAND         14520 BROADWAY AVE CLEVELAND OH 44125
HANS TRANSPORT                         8986 NINTH LINE NORVAL ON L0P 1K0 CANADA
HANSEN AG SERVICES LLC                 6383 HWY F17 W BAXTER IA 50028
HANSEN AIR PROS LLC                    3833 ALBIGAIL DR THEODORE AL 36582
HANSEN CONCRETE COMPANY                45744 820TH ST., PO BOX 987 LAKEFIELD MN 56150
HANSEN ELECTRIC                        3833 ABIGAIL DR THEODORE AL 36582
HANSEN ELECTRIC                        5821 RANGELINE RD STE 107 THEODORE AL 36582
HANSEN EXPRESS INC                     W9730 STATE RD 33 WONEWOC WI 53968
HANSEN HEATING & AIR                   PO BOX 851869 MOBILE AL 36685
HANSEN III, DONALD                     ADDRESS ON FILE
HANSEN LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HANSEN PLUMBING                        P.O. BOX 851869 MOBILE AL 36685
HANSEN SERVICES, INC.                  P.O. BOX 1252 BOLINGBROOK IL 60440



Epiq Corporate Restructuring, LLC                                                                 Page 809 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 818 of 2156

Claim Name                           Address Information
HANSEN, ALEXANDER                    ADDRESS ON FILE
HANSEN, ANN                          ADDRESS ON FILE
HANSEN, ANTHONY                      ADDRESS ON FILE
HANSEN, BILL                         ADDRESS ON FILE
HANSEN, CARLA                        ADDRESS ON FILE
HANSEN, CASEY                        ADDRESS ON FILE
HANSEN, CHRISTINA                    ADDRESS ON FILE
HANSEN, COLIN                        ADDRESS ON FILE
HANSEN, CRAIG                        ADDRESS ON FILE
HANSEN, DANIEL                       ADDRESS ON FILE
HANSEN, ERIC                         ADDRESS ON FILE
HANSEN, ERIC                         ADDRESS ON FILE
HANSEN, ERIK                         ADDRESS ON FILE
HANSEN, JOHN                         ADDRESS ON FILE
HANSEN, JOHNATHAN                    ADDRESS ON FILE
HANSEN, MATTHEW                      ADDRESS ON FILE
HANSEN, STEVE                        ADDRESS ON FILE
HANSEN, TODD                         ADDRESS ON FILE
HANSERS AUTOMOTIVE & WRECKING        D/B/A: HANSERS WRECKER COMPANY 430 S BILLINGS BLVD BILLINGS MT 59101
HANSERS WRECKER COMPANY              430 S BILLINGS BLVD BILLINGS MT 59101
HANSFORD, LEIGHANDRUS                ADDRESS ON FILE
HANSHAW, LARRY                       ADDRESS ON FILE
HANSHAW, REBECCA                     ADDRESS ON FILE
HANSOME, JESSE L                     ADDRESS ON FILE
HANSON CARTAGE INC                   PO BOX 356 JAMESTOWN NY 14702
HANSON, ALTON                        ADDRESS ON FILE
HANSON, DAVID                        ADDRESS ON FILE
HANSON, HUBERT                       ADDRESS ON FILE
HANSON, JASON                        ADDRESS ON FILE
HANSON, JOHN                         ADDRESS ON FILE
HANSON, KATHY                        ADDRESS ON FILE
HANSON, PAUL                         ADDRESS ON FILE
HANSON, PAUL J                       ADDRESS ON FILE
HANSON, ROBERT                       ADDRESS ON FILE
HANSON, RUSSELL                      ADDRESS ON FILE
HANSON, RYAN                         ADDRESS ON FILE
HANSON, SHAWN                        ADDRESS ON FILE
HANSON, SUE ELLEN                    ADDRESS ON FILE
HANSON, TYLER                        ADDRESS ON FILE
HANSRA TRANSPORT INC                 8663 JENROSE WAY ELK GROVE CA 95624
HANTHORN, DEBORAH                    ADDRESS ON FILE
HANTON SERVICES INC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
HANTOVER INC                         5200 W 110TH STE 100 OVERLAND PARK KS 66211
HANYZEWSKI, CHARLES                  ADDRESS ON FILE
HAO TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HAPI LOGISTICS LLC                   2163 RAVENHILL DR STERLING HEIGHTS MI 48314
HAPPANEY, KIMBERLY                   ADDRESS ON FILE
HAPPY NATION LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HAPPY SUN ENTERPRISE INC             ATTN: SAMUEL HANOPOP AP 1680 EXECUTIVE DR STE 400 DULUTH GA 30096



Epiq Corporate Restructuring, LLC                                                                Page 810 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 819 of 2156

Claim Name                           Address Information
HAPPY TRANSPORT A LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
HAPPY TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HAPPY TRUCK CORP                     OR GENERAL BUSINESS CREDIT 110 E. 9TH ST, STE C-900 LOS ANGELES CA 90079
HAQ, ANWAR                           ADDRESS ON FILE
HAR G LOGISTICS                      OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T 5C5 CANADA
HARAH TRANSPORTATION GROUP LLC       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HARAKTERNUK CORP                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
HARALSON, DEANDRE                    ADDRESS ON FILE
HARAR EXPRESS LINE LLC               OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
HARAR TRUCKING LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HARBAN, RACHEL                       ADDRESS ON FILE
HARBI LLC                            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HARBIN, BRANDON                      ADDRESS ON FILE
HARBIN, JASON B                      ADDRESS ON FILE
HARBISON WALKER INTERNATIONAL        TRANSCORE, 21 NABCO ST STE 200 CONWAY AR 72032
HARBISON, JAMES                      ADDRESS ON FILE
HARBLAM LOGISTICS LLC                OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
HARBOR CAPITAL LEASING               7901 SOUTHPARK PLAZA 204 LITTLETON CO 80120
HARBOR CAPITAL LEASING INC           3665 PARK PLACE W, 150 MISHAWAKA IN 46545
HARBOR CAPITAL LEASING INC           7901 SOUTHPARK PLAZA SUITE 204 LITTLETON CO 80120
HARBOR CAPITAL LEASING INC           260 NORTH CHARLES LINDBERGH DR SALT LAKE CITY UT 84116
HARBOR CAPITAL LEASING, LLC          260 NORTH CHARLES LINDBERGH DR SALT LAKE CITY UT 84116
HARBOR CAPITAL LEASING, LLC          C/O FIFTH THIRD BANK, 260 NORTH CHARLES LINDBERGH DR SALT LAKE CITY UT 84116
HARBOR CAPITAL LEASING, LLC          MAC U1240-026 C/O FIFTH THIRD BANK., 260 NORTH CHARLES LINDBERGH DR SALT LAKE
                                     CITY UT 84116
HARBOR CAPITAL LEASING, LLC          260 N CHARLES LINDBERGH DR MAC U1240-026 SALT LAKE CITY UT 84116-2812
HARBOR FOODSERVICE                   3901 HOQUIM BAY RD NE LACEY WA 98516
HARBOR SHORES LOGISTICS LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HARBOR WHOLESALE                     1601 AUSTIN RD ROSEBURG OR 97471
HARBORFARMS ENTERPRISES LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HARBOUR INTERNATIONAL TRUCKS LTD     19880 96TH AVE LANGLEY BC V1M 0B8 CANADA
HARBOUR, JAMES                       ADDRESS ON FILE
HARBOUR, RALPH                       ADDRESS ON FILE
HARBOUR, RICHARD                     ADDRESS ON FILE
HARCLERODE, PAUL                     ADDRESS ON FILE
HARCO EQUIPMENT                      610 ATLANTA HWY. NW WINDER GA 30680
HARCO INDUSTRIES INC                 PO BOX 371 GIBSONIA PA 15044
HARCROS                              ATTN: JANEE BROOKS 5200 SPEAKER ROAD KANSAS CITY KS 66106
HARD DA WAY TRUCKING LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
HARD FOX TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HARDAWAY TRUCKING                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HARDAWAY, DEMPSEY                    ADDRESS ON FILE
HARDAWAY, ERIK                       ADDRESS ON FILE
HARDAWAY, JERRON                     ADDRESS ON FILE
HARDAWAY, PHILLIP                    ADDRESS ON FILE
HARDCASTLE, SHERRY                   ADDRESS ON FILE
HARDCASTLE, TYLER                    ADDRESS ON FILE
HARDCORE HARLEY TRUCKING LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HARDEE, DEBBIE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 811 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 820 of 2156

Claim Name                             Address Information
HARDEN TRUCKING LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HARDEN, ADRIAN                         ADDRESS ON FILE
HARDEN, ERIC                           ADDRESS ON FILE
HARDEN, GREGORY                        ADDRESS ON FILE
HARDEN, JASMERA                        ADDRESS ON FILE
HARDEN, MICHAEL                        ADDRESS ON FILE
HARDEN, RYAN                           ADDRESS ON FILE
HARDEN, SEBRENIA                       ADDRESS ON FILE
HARDEN, TRISTEN                        ADDRESS ON FILE
HARDEN, VIOLA                          ADDRESS ON FILE
HARDENBERGH, THOMAS                    ADDRESS ON FILE
HARDESTY, GENE                         ADDRESS ON FILE
HARDESTY, JAY M                        ADDRESS ON FILE
HARDESTY, MICHAEL                      ADDRESS ON FILE
HARDGROW, TRULAINE                     ADDRESS ON FILE
HARDIAL, SINGH                         ADDRESS ON FILE
HARDIMAN, ROBERT                       ADDRESS ON FILE
HARDIMAN, ROBERT C                     ADDRESS ON FILE
HARDIMON, BRENDA                       ADDRESS ON FILE
HARDIN, DAVID                          ADDRESS ON FILE
HARDIN, GRAYLING                       ADDRESS ON FILE
HARDIN, QUANDRIA                       ADDRESS ON FILE
HARDIN, RICHARD                        ADDRESS ON FILE
HARDIN, RICKY                          ADDRESS ON FILE
HARDIN, TERRY                          ADDRESS ON FILE
HARDING METALS INC                     42 HARDING DRIVE NORTHWOOD NH 03261
HARDING, CALVIN                        ADDRESS ON FILE
HARDING, CORDELL                       ADDRESS ON FILE
HARDING, DARRYL                        ADDRESS ON FILE
HARDING, JOHN                          ADDRESS ON FILE
HARDING, MICHAEL                       ADDRESS ON FILE
HARDING, TODD                          ADDRESS ON FILE
HARDING, VANESSA                       ADDRESS ON FILE
HARDINGER TRANSFER CO., INC.           1314 WEST 18 STREET ERIE PA 16502
HARDISON, BENJAMIN-DAVID               ADDRESS ON FILE
HARDISON, DANIEL                       ADDRESS ON FILE
HARDISON, KENNETH                      ADDRESS ON FILE
HARDLINE EXPRESS                       OR DOVE FINANCIAL SERVICES LLC 230 CARR RD PASCO WA 99301
HARDMAN, JEREMY                        ADDRESS ON FILE
HARDMAN, SHELDON                       ADDRESS ON FILE
HARDRICK TRUCKING ENTERPRISES INC      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HARDRICK, KEITH                        ADDRESS ON FILE
HARDROCK CONCRETE                      38146 ABRUZZI DR WESTLAND 48185
HARDWAY TRANSPORTATION INC             OR TBS FACTORING SERVICE, PO BOX 151052 OGDEN UT 84415
HARDWICK & SON PRINTING INC            1976 S.OATES ST DOTHAN AL 36301
HARDWICK BROTHERS TRANSPORTATION LLC   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HARDWICK, JAMES                        ADDRESS ON FILE
HARDWICT, STEPHON                      ADDRESS ON FILE
HARDWIRED INSTALLERS                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                  Page 812 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 821 of 2156

Claim Name                           Address Information
HARDWOOD LUMBER COMPANY INC.         13813 STATION RD. MIDDLEFIELD OH 44062
HARDY ENTERPRISES LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HARDY, ADOLPHUS                      ADDRESS ON FILE
HARDY, BARRY                         ADDRESS ON FILE
HARDY, CHARDRICK                     ADDRESS ON FILE
HARDY, DAVID                         ADDRESS ON FILE
HARDY, DAVID                         ADDRESS ON FILE
HARDY, DON                           ADDRESS ON FILE
HARDY, DWIGHT                        ADDRESS ON FILE
HARDY, ERIC                          ADDRESS ON FILE
HARDY, ERIC                          ADDRESS ON FILE
HARDY, ERIC                          ADDRESS ON FILE
HARDY, IKE                           ADDRESS ON FILE
HARDY, JAMAL                         ADDRESS ON FILE
HARDY, JAMES                         ADDRESS ON FILE
HARDY, JEROME                        ADDRESS ON FILE
HARDY, JEROME                        ADDRESS ON FILE
HARDY, KIMBERLY                      ADDRESS ON FILE
HARDY, LARRY                         ADDRESS ON FILE
HARDY, MASON                         ADDRESS ON FILE
HARDY, SHANE                         ADDRESS ON FILE
HARDY, SIDNEY                        ADDRESS ON FILE
HARDY, SIDNEY                        ADDRESS ON FILE
HARDY, WILLIE                        ADDRESS ON FILE
HARE, JAMES                          ADDRESS ON FILE
HARE, MARI                           ADDRESS ON FILE
HARE, RACHEL                         ADDRESS ON FILE
HAREG TRUCKING LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HARELSON, TYLER                      ADDRESS ON FILE
HAREN, CHRIS                         ADDRESS ON FILE
HAREYA TRANSPORTATION LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HARFFMAN, STEVEN                     ADDRESS ON FILE
HARGIS, GARY                         ADDRESS ON FILE
HARGIS, JEFFERY                      ADDRESS ON FILE
HARGIS, KAI                          ADDRESS ON FILE
HARGRAVE, CHARLES                    ADDRESS ON FILE
HARGRAVE, MARK                       ADDRESS ON FILE
HARGRAVE, WALTER                     ADDRESS ON FILE
HARGRAVES, ROBERT                    ADDRESS ON FILE
HARGRETT, FREEMAN                    ADDRESS ON FILE
HARGROVE, DAVID A                    ADDRESS ON FILE
HARGROVE, GAVIN                      ADDRESS ON FILE
HARGROVE, JORDAN                     ADDRESS ON FILE
HARGROVE, LINDA                      ADDRESS ON FILE
HARGROVE, LINDA                      ADDRESS ON FILE
HARGROVE, REGINA                     ADDRESS ON FILE
HARGROVE, ROGER                      ADDRESS ON FILE
HARGUR TRANS INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
HARI INCORPORATION                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                 Page 813 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 822 of 2156

Claim Name                              Address Information
HARI TRANSPORT LLC                      7136 KENDRICK CT HAMILTON OH 45011-1144
HARIBO                                  9488 122ND AVE. PLEASANT PRAIRIE WI 53158
HARISAR LOGISTICS INC                   2085 TOWN CENTER RD CANTON MI 48188
HARJAS FREIGHT INC                      211 AMERICAN FARMS AVE LATHROP CA 95330
HARJES, ROBERT                          ADDRESS ON FILE
HARJI TRANSPORT INC                     OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
HARJOCHEE, KAYLI                        ADDRESS ON FILE
HARJOT TRUCKING INC                     1 SUNNYVIEW ROAD BRAMPTON ON L7A 3E3 CANADA
HARKE, KENNETH                          ADDRESS ON FILE
HARKINS ELECTRICAL AND LIGHTING, LLC    10 PADDOCK LANE GREER SC 29650
HARKINS, GEORGE                         ADDRESS ON FILE
HARKINS, JOHN                           ADDRESS ON FILE
HARKINS, KYLE                           ADDRESS ON FILE
HARKLESS, ALAN                          ADDRESS ON FILE
HARKNESS N FAMILY TRANSPORTATION LLC    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
HARKNESS, DANIEL                        ADDRESS ON FILE
HARKRAFT, INC.                          13310 INDUSTRIAL PARK BLVD STE 164 - ATTN: WARREN ECK PLYMOUTH MN 55441-3815
HARLAN, DEB                             ADDRESS ON FILE
HARLAN, KELLY                           ADDRESS ON FILE
HARLEQUIN TRANSPORT LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HARLEY, ARIANA                          ADDRESS ON FILE
HARLEY, FRANK                           ADDRESS ON FILE
HARLEY, GARY                            ADDRESS ON FILE
HARLEY, WILLIAM                         ADDRESS ON FILE
HARLOW TRUCK & BUS REPAIR               PO BOX 2139 LOWELL AR 72745
HARLOW TRUCK & BUS REPAIR               PO BOX 2139 LOWELL AR 72764
HARLOW, BRUCE                           ADDRESS ON FILE
HARLOW, DANIEL                          ADDRESS ON FILE
HARLOW, LOWELL                          ADDRESS ON FILE
HARLOW, MARK                            ADDRESS ON FILE
HARLOWS TRUCK CENTER                    8275 US HIGHWAY 10 W STE 2 MISSOULA MT 59808
HARLOWS TRUCK CENTER INC                MISSOULA, 1021 S 23RD ST BISMARCK ND 58504
HARMAN III, FRANCIS                     ADDRESS ON FILE
HARMAN, ROY                             ADDRESS ON FILE
HARMAN, YVETTE                          ADDRESS ON FILE
HARMANDER TRANSPORT INC                 390 CONSERVATION DR BRAMPTON ON L6Z 0B9 CANADA
HARMEET TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HARMEN TRANSPORT COMPANY                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HARMEYER TRANSPORT INC                  4668 S COUNTY ROAD 950 WEST GREENSBURG IN 47240
HARMON FIRE EXTINGUISHER SERVICE INC.   725 S. BRITAIN ROAD IRVING TX 75060
HARMON JR, ALEXANDER                    ADDRESS ON FILE
HARMON, CHRISTOPHER                     ADDRESS ON FILE
HARMON, CRAIG                           ADDRESS ON FILE
HARMON, DOUG                            ADDRESS ON FILE
HARMON, JARED                           ADDRESS ON FILE
HARMON, RANDALL                         ADDRESS ON FILE
HARMON, RANDY                           ADDRESS ON FILE
HARMON, RODERICK                        ADDRESS ON FILE
HARMON, STEVEN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 814 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 823 of 2156

Claim Name                           Address Information
HARMON, TREN                         ADDRESS ON FILE
HARMON, WENDEL                       ADDRESS ON FILE
HARMON, WILLIAM                      ADDRESS ON FILE
HARMON, WILLIAM                      ADDRESS ON FILE
HARMONY CONNECTIONS LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HARMS PACIFIC TRANSPORT INC          PO BOX 1164 PASCO WA 99301
HARMS, SCOTTY                        ADDRESS ON FILE
HARMS, SHAUNA                        ADDRESS ON FILE
HARNER, ERIC                         ADDRESS ON FILE
HARNER, ROY                          ADDRESS ON FILE
HARNICK, DEBI                        ADDRESS ON FILE
HARNIK, STEPHEN                      ADDRESS ON FILE
HARNISHFEGER, JOHN                   ADDRESS ON FILE
HARNISHFEGER, JOSEPH                 ADDRESS ON FILE
HARNOIS, JAMES                       ADDRESS ON FILE
HARNOOR INTERNATIONAL INC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
HARNOOR TRANSPORT INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HARO, JUAN CARLOS                    ADDRESS ON FILE
HARO, PEDRO                          ADDRESS ON FILE
HAROLD A WOODS                       ADDRESS ON FILE
HAROLD AREVALO                       ADDRESS ON FILE
HAROLD B REEVES                      ADDRESS ON FILE
HAROLD D OWEN                        ADDRESS ON FILE
HAROLD D WILLMON                     ADDRESS ON FILE
HAROLD DANNY QUIROGA                 ADDRESS ON FILE
HAROLD E SPRENKLE III                ADDRESS ON FILE
HAROLD ERB                           ADDRESS ON FILE
HAROLD L BARNES II                   ADDRESS ON FILE
HAROLD L GOCHENOUR                   ADDRESS ON FILE
HAROLD LAMEY                         ADDRESS ON FILE
HAROLD WELLS                         ADDRESS ON FILE
HAROLD, LAURA                        ADDRESS ON FILE
HAROUI, REDOUANE                     ADDRESS ON FILE
HARP ELECTRIC COMPANY                DBA HARP SERVICE COMPANY, 5009 WEST 62ND STREET TULSA OK 74131
HARP, DALE                           ADDRESS ON FILE
HARP, DANIEL                         ADDRESS ON FILE
HARP, LESLIE                         ADDRESS ON FILE
HARP, LESTER E                       ADDRESS ON FILE
HARP, SAMUEL                         ADDRESS ON FILE
HARP, STACY                          ADDRESS ON FILE
HARPEL, KEVIN                        ADDRESS ON FILE
HARPER KIA                           ADDRESS ON FILE
HARPER TRUCKING LLC                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
HARPER, ALLEN                        ADDRESS ON FILE
HARPER, ANDREA                       ADDRESS ON FILE
HARPER, ANDREW                       ADDRESS ON FILE
HARPER, ARICO                        ADDRESS ON FILE
HARPER, BRANDON                      ADDRESS ON FILE
HARPER, DALVIN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 815 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 824 of 2156

Claim Name                        Address Information
HARPER, DAVID                     ADDRESS ON FILE
HARPER, DAVID                     ADDRESS ON FILE
HARPER, DOUGLAS J                 ADDRESS ON FILE
HARPER, FRANKLIN                  ADDRESS ON FILE
HARPER, JANET                     ADDRESS ON FILE
HARPER, JEFFREY                   ADDRESS ON FILE
HARPER, KATHERINE                 ADDRESS ON FILE
HARPER, KELLY                     ADDRESS ON FILE
HARPER, KENNETH                   ADDRESS ON FILE
HARPER, KYRA                      ADDRESS ON FILE
HARPER, LUCIOUS                   ADDRESS ON FILE
HARPER, RANDALL                   ADDRESS ON FILE
HARPER, ROBECIA                   ADDRESS ON FILE
HARPER, ROBERT                    ADDRESS ON FILE
HARPER, SAMUEL                    ADDRESS ON FILE
HARPER, SHONTRELL                 ADDRESS ON FILE
HARPER, STEVE                     ADDRESS ON FILE
HARPER, STEVEN                    ADDRESS ON FILE
HARPER, TELLY                     ADDRESS ON FILE
HARPER, THOMAS                    ADDRESS ON FILE
HARPER, TOMMIE                    ADDRESS ON FILE
HARPER, WHITNEY                   ADDRESS ON FILE
HARPERS HOT SHOT TRUCKING LLC     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HARPLEY, CYNTHIA                  ADDRESS ON FILE
HARPOLE, JAY                      ADDRESS ON FILE
HARPST, JEREMY                    ADDRESS ON FILE
HARPSTER, ERIC                    ADDRESS ON FILE
HARRALL, GARY                     ADDRESS ON FILE
HARRALL, GARY                     ADDRESS ON FILE
HARREL, TERRY                     ADDRESS ON FILE
HARRELL KING HEATING & AIR        P.O. BOX 202 BAINBRIDGE GA 39818
HARRELL, D                        ADDRESS ON FILE
HARRELL, HERMAN                   ADDRESS ON FILE
HARRELL, JANIS                    ADDRESS ON FILE
HARRELL, KELSEY                   ADDRESS ON FILE
HARRELL, STACEY                   ADDRESS ON FILE
HARRELSON, CHRISTOPHER            ADDRESS ON FILE
HARRELSON, JAMES                  ADDRESS ON FILE
HARREN, JESSE                     ADDRESS ON FILE
HARRIED, CAPRICE                  ADDRESS ON FILE
HARRIER, ROBERT                   ADDRESS ON FILE
HARRIET N KEENE                   ADDRESS ON FILE
HARRIGAN, MAUREEN                 ADDRESS ON FILE
HARRING, ASHLEY                   ADDRESS ON FILE
HARRINGTON, AARON                 ADDRESS ON FILE
HARRINGTON, COLT                  ADDRESS ON FILE
HARRINGTON, JACOB                 ADDRESS ON FILE
HARRINGTON, JOSEPH                ADDRESS ON FILE
HARRINGTON, KEVIN                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 816 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 825 of 2156

Claim Name                          Address Information
HARRINGTON, KEVIN                   ADDRESS ON FILE
HARRINGTON, MARK                    ADDRESS ON FILE
HARRINGTON, TIMOTHY                 ADDRESS ON FILE
HARRINGTON, XAVIER                  ADDRESS ON FILE
HARRINGTON-LAWSON, STEPHAAN         ADDRESS ON FILE
HARRIS & HARRIS LTD                 111 W JACKSON BLVD STE 400 CHICAGO IL 60604
HARRIS COUNTY                       C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP PO BOX 3064 HOUSTON TX 77253-3064
HARRIS COUNTY TAX ASSESSOR          PO BOX 4622 HOUSTON TX 77210
HARRIS COUNTY TOLL ROAD AUTHORITY   PO BOX 4440 DEPT 8 HOUSTON TX 77210
HARRIS EXPRESS INC                  OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
HARRIS HILL NURSINGFACILITY         2699 WEHRLE DRIVE ATTN DANIELLE WILLIAMSVILLE NY 14221
HARRIS REAL ESTATE HOLDINGS LLC     1001 STEPHENSON STREET NORWAY MI 49870
HARRIS REAL ESTATE HOLDINGS, LLC    ATTN: BOB GERHARD 1001 STEPHENSON STREET NORWAY MI 49870
HARRIS TRANSPORTATION CO. LLC       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HARRIS TRUCKING LOGISTICS LLC       OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
HARRIS, AARON                       ADDRESS ON FILE
HARRIS, ADREAN                      ADDRESS ON FILE
HARRIS, ADRIAN                      ADDRESS ON FILE
HARRIS, AHKEEM                      ADDRESS ON FILE
HARRIS, ALICIA                      ADDRESS ON FILE
HARRIS, AMANDA                      ADDRESS ON FILE
HARRIS, AMELIA                      ADDRESS ON FILE
HARRIS, ANDRE                       ADDRESS ON FILE
HARRIS, ANDREAS                     ADDRESS ON FILE
HARRIS, ANDREW                      ADDRESS ON FILE
HARRIS, ANDREW                      ADDRESS ON FILE
HARRIS, ANTHONY                     ADDRESS ON FILE
HARRIS, ANTHONY                     ADDRESS ON FILE
HARRIS, ARY                         ADDRESS ON FILE
HARRIS, BENJAMIN                    ADDRESS ON FILE
HARRIS, BRONSON                     ADDRESS ON FILE
HARRIS, BRUCE                       ADDRESS ON FILE
HARRIS, BRYANT                      ADDRESS ON FILE
HARRIS, CALVIN                      ADDRESS ON FILE
HARRIS, CARLTON                     ADDRESS ON FILE
HARRIS, CASSANDRA                   ADDRESS ON FILE
HARRIS, CHARITY                     ADDRESS ON FILE
HARRIS, CHARLES                     ADDRESS ON FILE
HARRIS, CHRISTOPHER                 ADDRESS ON FILE
HARRIS, CHRISTOPHER                 ADDRESS ON FILE
HARRIS, CLARENCE                    ADDRESS ON FILE
HARRIS, CLIFFORD                    ADDRESS ON FILE
HARRIS, CLYDE                       ADDRESS ON FILE
HARRIS, COURTNEY                    ADDRESS ON FILE
HARRIS, DAMAN                       ADDRESS ON FILE
HARRIS, DAMION                      ADDRESS ON FILE
HARRIS, DAMON                       ADDRESS ON FILE
HARRIS, DANA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 817 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 826 of 2156

Claim Name                        Address Information
HARRIS, DANNY                     ADDRESS ON FILE
HARRIS, DANNY J                   ADDRESS ON FILE
HARRIS, DARREL                    ADDRESS ON FILE
HARRIS, DARREL J                  ADDRESS ON FILE
HARRIS, DARRETT                   ADDRESS ON FILE
HARRIS, DARRYL                    ADDRESS ON FILE
HARRIS, DAVID                     ADDRESS ON FILE
HARRIS, DAVID                     ADDRESS ON FILE
HARRIS, DEANGELO                  ADDRESS ON FILE
HARRIS, DEBORAH                   ADDRESS ON FILE
HARRIS, DEONTAE                   ADDRESS ON FILE
HARRIS, DERRICK D                 ADDRESS ON FILE
HARRIS, DEVON                     ADDRESS ON FILE
HARRIS, DEVON                     ADDRESS ON FILE
HARRIS, DON                       ADDRESS ON FILE
HARRIS, DWAYNE                    ADDRESS ON FILE
HARRIS, EARNESTINE                ADDRESS ON FILE
HARRIS, ELIJAH                    ADDRESS ON FILE
HARRIS, ERIC                      ADDRESS ON FILE
HARRIS, FRED                      ADDRESS ON FILE
HARRIS, GARY                      ADDRESS ON FILE
HARRIS, GEMARIO                   ADDRESS ON FILE
HARRIS, GEMARIO J                 ADDRESS ON FILE
HARRIS, GENE                      ADDRESS ON FILE
HARRIS, GREG                      ADDRESS ON FILE
HARRIS, GREGORY                   ADDRESS ON FILE
HARRIS, GREGORY                   ADDRESS ON FILE
HARRIS, GUY                       ADDRESS ON FILE
HARRIS, HERB                      ADDRESS ON FILE
HARRIS, ISRAEL                    ADDRESS ON FILE
HARRIS, JADA                      ADDRESS ON FILE
HARRIS, JAIVON                    ADDRESS ON FILE
HARRIS, JAMES                     ADDRESS ON FILE
HARRIS, JAMIE                     ADDRESS ON FILE
HARRIS, JAMIE                     ADDRESS ON FILE
HARRIS, JASON                     ADDRESS ON FILE
HARRIS, JEFFERY                   ADDRESS ON FILE
HARRIS, JEFFREY                   ADDRESS ON FILE
HARRIS, JEFFREY                   ADDRESS ON FILE
HARRIS, JEFFREY M                 ADDRESS ON FILE
HARRIS, JEROME                    ADDRESS ON FILE
HARRIS, JERRY                     ADDRESS ON FILE
HARRIS, JIMMY W                   ADDRESS ON FILE
HARRIS, JOCELYN                   ADDRESS ON FILE
HARRIS, JOHN                      ADDRESS ON FILE
HARRIS, JOHN B                    ADDRESS ON FILE
HARRIS, JOHN RYAN                 ADDRESS ON FILE
HARRIS, JOHNNY                    ADDRESS ON FILE
HARRIS, JONATHAN                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 818 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 827 of 2156

Claim Name                         Address Information
HARRIS, JOSEPH                     ADDRESS ON FILE
HARRIS, JOSEPH                     ADDRESS ON FILE
HARRIS, JOSEPH                     ADDRESS ON FILE
HARRIS, JOSEPH                     ADDRESS ON FILE
HARRIS, JOSHUA                     ADDRESS ON FILE
HARRIS, JUANITA                    ADDRESS ON FILE
HARRIS, JUDY                       ADDRESS ON FILE
HARRIS, KARL                       ADDRESS ON FILE
HARRIS, KEARRA                     ADDRESS ON FILE
HARRIS, KENNETH                    ADDRESS ON FILE
HARRIS, KENNETH                    ADDRESS ON FILE
HARRIS, KENNETH                    ADDRESS ON FILE
HARRIS, KENNETH                    ADDRESS ON FILE
HARRIS, KEVIN                      ADDRESS ON FILE
HARRIS, KOVESKEY                   ADDRESS ON FILE
HARRIS, L                          ADDRESS ON FILE
HARRIS, LARRY                      ADDRESS ON FILE
HARRIS, LEONDO                     ADDRESS ON FILE
HARRIS, LINNARD                    ADDRESS ON FILE
HARRIS, LOY                        ADDRESS ON FILE
HARRIS, MACY                       ADDRESS ON FILE
HARRIS, MARIO                      ADDRESS ON FILE
HARRIS, MARQUETTE                  ADDRESS ON FILE
HARRIS, MARQUETTE A                ADDRESS ON FILE
HARRIS, MARVIN                     ADDRESS ON FILE
HARRIS, MATTHEW                    ADDRESS ON FILE
HARRIS, MATTHEW                    ADDRESS ON FILE
HARRIS, MATTHEW T                  ADDRESS ON FILE
HARRIS, MAURICE                    ADDRESS ON FILE
HARRIS, MAXUEL                     ADDRESS ON FILE
HARRIS, MEYA                       ADDRESS ON FILE
HARRIS, MICHAEL                    ADDRESS ON FILE
HARRIS, MICHAEL                    ADDRESS ON FILE
HARRIS, MICHAEL                    ADDRESS ON FILE
HARRIS, MYKEA                      ADDRESS ON FILE
HARRIS, NICHOLAS                   ADDRESS ON FILE
HARRIS, NICK                       ADDRESS ON FILE
HARRIS, PAMELA                     ADDRESS ON FILE
HARRIS, PATRICK                    ADDRESS ON FILE
HARRIS, PHILLIP                    ADDRESS ON FILE
HARRIS, QUANTAVIOUS                ADDRESS ON FILE
HARRIS, QUENTIN                    ADDRESS ON FILE
HARRIS, QUINDARIUS                 ADDRESS ON FILE
HARRIS, RAHMEL                     ADDRESS ON FILE
HARRIS, RAY                        ADDRESS ON FILE
HARRIS, RICHARD                    ADDRESS ON FILE
HARRIS, RICHARD                    ADDRESS ON FILE
HARRIS, ROBERT                     ADDRESS ON FILE
HARRIS, RODNEY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 819 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 828 of 2156

Claim Name                          Address Information
HARRIS, RODNEY L                    ADDRESS ON FILE
HARRIS, RON                         ADDRESS ON FILE
HARRIS, RONALD L                    ADDRESS ON FILE
HARRIS, RONNIE                      ADDRESS ON FILE
HARRIS, RYAN                        ADDRESS ON FILE
HARRIS, SCOTT                       ADDRESS ON FILE
HARRIS, SHAWN                       ADDRESS ON FILE
HARRIS, STEPHEN                     ADDRESS ON FILE
HARRIS, TAURACE                     ADDRESS ON FILE
HARRIS, TERRIL R                    ADDRESS ON FILE
HARRIS, TERRY                       ADDRESS ON FILE
HARRIS, TERRY A                     ADDRESS ON FILE
HARRIS, TODD                        ADDRESS ON FILE
HARRIS, TOMMY                       ADDRESS ON FILE
HARRIS, TONYA                       ADDRESS ON FILE
HARRIS, TYLER                       ADDRESS ON FILE
HARRIS, TYREE                       ADDRESS ON FILE
HARRIS, TYSHAWN                     ADDRESS ON FILE
HARRIS, VAUGHN                      ADDRESS ON FILE
HARRIS, VAUGHN F                    ADDRESS ON FILE
HARRIS, VAUGHN F                    ADDRESS ON FILE
HARRIS, VICTOR                      ADDRESS ON FILE
HARRIS, WILLIAM                     ADDRESS ON FILE
HARRIS, WILLIAM                     ADDRESS ON FILE
HARRIS, WILLIE                      ADDRESS ON FILE
HARRIS, WYLIE                       ADDRESS ON FILE
HARRIS-SIMMONS, ERIC                ADDRESS ON FILE
HARRISON COUNTY TAX COLLECTOR       301 W MAIN ST CLARKSBURG WV 26301
HARRISON III, ROOSEVELT             ADDRESS ON FILE
HARRISON P LOGGINS                  ADDRESS ON FILE
HARRISON PROPERTIESLLC              12711 VENTURA BLVD, STE 310 STUDIO CITY 91604
HARRISON, ALLEN                     ADDRESS ON FILE
HARRISON, ANTHONY                   ADDRESS ON FILE
HARRISON, BILL N DEB                ADDRESS ON FILE
HARRISON, BRANDON                   ADDRESS ON FILE
HARRISON, BRANDON                   ADDRESS ON FILE
HARRISON, CARLY                     ADDRESS ON FILE
HARRISON, DANNY                     ADDRESS ON FILE
HARRISON, DAVID                     ADDRESS ON FILE
HARRISON, DENNIS                    ADDRESS ON FILE
HARRISON, DEVONTE                   ADDRESS ON FILE
HARRISON, GARY                      ADDRESS ON FILE
HARRISON, GREG                      ADDRESS ON FILE
HARRISON, GREGORY                   ADDRESS ON FILE
HARRISON, HARTH                     ADDRESS ON FILE
HARRISON, HARTH                     ADDRESS ON FILE
HARRISON, ISAAC                     ADDRESS ON FILE
HARRISON, JACKEY                    ADDRESS ON FILE
HARRISON, JAMES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 820 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 829 of 2156

Claim Name                             Address Information
HARRISON, JAMES                        ADDRESS ON FILE
HARRISON, JAMES                        ADDRESS ON FILE
HARRISON, JOEY                         ADDRESS ON FILE
HARRISON, KARA                         ADDRESS ON FILE
HARRISON, KARA G                       ADDRESS ON FILE
HARRISON, KEITH                        ADDRESS ON FILE
HARRISON, MARSHALL                     ADDRESS ON FILE
HARRISON, MARYANN                      ADDRESS ON FILE
HARRISON, MICHAEL                      ADDRESS ON FILE
HARRISON, MICHAEL                      ADDRESS ON FILE
HARRISON, PRESTON                      ADDRESS ON FILE
HARRISON, RICHARD                      ADDRESS ON FILE
HARRISON, RONALD                       ADDRESS ON FILE
HARRISON, RUBEN                        ADDRESS ON FILE
HARRISON, SKYLAR                       ADDRESS ON FILE
HARRISON, TOMMY                        ADDRESS ON FILE
HARRISON, VIANTE                       ADDRESS ON FILE
HARRISON, ZACHARY                      ADDRESS ON FILE
HARRISON, ZACHARY TIM                  ADDRESS ON FILE
HARROD, JAMES                          ADDRESS ON FILE
HARROP, DAWN                           ADDRESS ON FILE
HARROW, NELTA                          ADDRESS ON FILE
HARRS AUTO GLASS, INC.                 2630 PARSONS AVENUE COLUMBUS OH 43207
HARRS FORKLIFT SERVICE INC             1181 REFUGEE RD COLUMBUS OH 43207
HARRY & AMY CHIN                       ADDRESS ON FILE
HARRY CARGO INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HARRY HAGEN, TREASURER/TAX COLLECTOR   COUNTY OF SANTA BARBARA, PO BOX 579 SANTA BARBARA CA 93102
HARRY J FILOON                         ADDRESS ON FILE
HARRY J. EPSTEIN COMPANY               301 W 8TH ST KANSAS CITY MO 64105
HARRY PETERS                           ADDRESS ON FILE
HARRY TRUCKING                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
HARRY, NARVIS                          ADDRESS ON FILE
HARSCH, KATRINA                        ADDRESS ON FILE
HARSHA, ZACHARY                        ADDRESS ON FILE
HARSHMAN, LEONARD                      ADDRESS ON FILE
HARSIM TRANSPORT, INC.                 OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
HARSIM TRANSPORT, INC.                 OR SINGH FINANCING 10206 FAIRBANKS N HOUSTON RD HOUSTON TX 77064
HARSIN, MAURICE                        ADDRESS ON FILE
HARSTER, MATTHEW                       ADDRESS ON FILE
HART ELECTRIC INC.                     201 SOUTH RAILROAD, PO BOX 291 MATTHEWS MO 63867
HART FUELING SERVICES LLC              PO BOX 9 NEWTOWN SQUARE PA 19073
HART TO HART TRANSPORTATION LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HART XPRESS INC                        4031 PARKWAY DR STE D FLORENCE AL 35630
HART, ADRIAN                           ADDRESS ON FILE
HART, ALLEN                            ADDRESS ON FILE
HART, ANDRE                            ADDRESS ON FILE
HART, ANGELICA                         ADDRESS ON FILE
HART, ANNETTE                          ADDRESS ON FILE
HART, CAREY                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 821 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 830 of 2156

Claim Name                           Address Information
HART, CHARLES                        ADDRESS ON FILE
HART, CHRISTINA                      ADDRESS ON FILE
HART, DERRICK                        ADDRESS ON FILE
HART, DOUGLAS                        ADDRESS ON FILE
HART, EDWARD                         ADDRESS ON FILE
HART, EMERSON/HEATHER                ADDRESS ON FILE
HART, JASON                          ADDRESS ON FILE
HART, JONATHON                       ADDRESS ON FILE
HART, MARTINIQUE                     ADDRESS ON FILE
HART, MARTY                          ADDRESS ON FILE
HART, MIKEL                          ADDRESS ON FILE
HART, MUSTAFA                        ADDRESS ON FILE
HART, MYKILIA                        ADDRESS ON FILE
HART, PHILLIP                        ADDRESS ON FILE
HART, RANDY L                        ADDRESS ON FILE
HART, RAYMOND                        ADDRESS ON FILE
HART, RONNIE                         ADDRESS ON FILE
HART, THOMAS                         ADDRESS ON FILE
HART, TIMOTHY                        ADDRESS ON FILE
HARTE HANKS                          2 EXECUTIVE DR STE 103 CHELMSFORD MA 01824
HARTE HANKS                          1400 E NEWPORT DR 200 DEERFIELD BEACH FL 33442
HARTE HANKS                          ATTN: HARTE HANKS 1400 E NEWPORT CENTER DR DEERFIELD BEACH FL 33442
HARTE HANKS                          ATTN: SAMANTHA BENNETT 1400 E NEWPORT CENTER DR DEERFIELD BEACH FL 33442
HARTELL, TILLMAN                     ADDRESS ON FILE
HARTENSTEIN, LANDON                  ADDRESS ON FILE
HARTER, BRENDA                       ADDRESS ON FILE
HARTER, JACOB                        ADDRESS ON FILE
HARTER, RONALD                       ADDRESS ON FILE
HARTFIEL, JASON                      ADDRESS ON FILE
HARTFIEL, LOGAN                      ADDRESS ON FILE
HARTFORD FIRE INSURANCE COMPANY      PO BOX 913385 DENVER CO 80291
HARTFORD LIFE AND ACCIDENT INS CO    P O BOX 8500 3690 PHILADELPHIA PA 19178
HARTL, LAURENCE                      ADDRESS ON FILE
HARTLE, AUSTIN JAMES                 ADDRESS ON FILE
HARTLEY, EMILY                       ADDRESS ON FILE
HARTLIEB, RICHARD J                  ADDRESS ON FILE
HARTLINE, SHANE                      ADDRESS ON FILE
HARTMAN ROAD LLC                     ATTN: WADE GOETZ 1904 MONROE DRIVE SUITE 250 ATLANTA GA 30324
HARTMAN ROAD LLC                     C/O BAKER DENNARD & GOETZ INC, 1904 MONROE DRIVE SUITE 250 ATLANTA GA 30324
HARTMAN, CARL                        ADDRESS ON FILE
HARTMAN, CHARLES                     ADDRESS ON FILE
HARTMAN, CHELSEA                     ADDRESS ON FILE
HARTMAN, DARRELL                     ADDRESS ON FILE
HARTMAN, DENNIS                      ADDRESS ON FILE
HARTMAN, EDWARD                      ADDRESS ON FILE
HARTMAN, FRANKLIN                    ADDRESS ON FILE
HARTMAN, HOLLY                       ADDRESS ON FILE
HARTMAN, JAMES                       ADDRESS ON FILE
HARTMAN, JUSTIN S                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 822 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 831 of 2156

Claim Name                           Address Information
HARTMAN, KEITH                       ADDRESS ON FILE
HARTMAN, KEITH                       ADDRESS ON FILE
HARTMAN, LORNA                       ADDRESS ON FILE
HARTMAN, RANDY                       ADDRESS ON FILE
HARTMAN, RAYMOND                     ADDRESS ON FILE
HARTMAN, RICHARD                     ADDRESS ON FILE
HARTMAN, ROBERT                      ADDRESS ON FILE
HARTMAN, THOMAS                      ADDRESS ON FILE
HARTMAN, WENDY                       ADDRESS ON FILE
HARTMANN, DERRICK                    ADDRESS ON FILE
HARTNER, TIFFANY                     ADDRESS ON FILE
HARTS ROAD SERVICE                   935 AIRPORT RHODHISS RD HICKORY NC 28601
HARTS ROAD SERVICE                   955 AIRPORT RHODHISS RD HICKORY NC 28601
HARTSAW, ERIC                        ADDRESS ON FILE
HARTSAW, KIMLA                       ADDRESS ON FILE
HARTSHORN, MARCOS                    ADDRESS ON FILE
HARTT TRANSPORTATION SYSTEMS, INC.   PO BOX 1385 BANGOR ME 04402
HARTWELL, JOHN                       ADDRESS ON FILE
HARTWELL, LEVI                       ADDRESS ON FILE
HARTWELL, ROGER                      ADDRESS ON FILE
HARTWIG, TRAVIS                      ADDRESS ON FILE
HARTZ TRUCK LINE, INC.               PO BOX 618 THIEF RIVER FALLS MN 56701
HARTZOG, CARL                        ADDRESS ON FILE
HARU EXPRESS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HARUN TRANSPORT INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HARUST COMPANY                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HARVEE LOGISTICS INC                 OR T-PINE FINANCIAL SERVICES 6050 DIXIE ROAD MISSISSAUGA AB L5T1A6 CANADA
HARVELL, JOSEPH                      ADDRESS ON FILE
HARVEST EXPRESS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HARVEST MILES TRANSPORT LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HARVEY & PRICE CO.                   PO BOX 1910 EUGENE OR 97440
HARVEY LOGISTICS LLC                 OR CONNECT CAPITAL LLC 437 GRANT STREET; STE 2000 PITTSBURGH PA 15219
HARVEY, ANGILA                       ADDRESS ON FILE
HARVEY, BENNY                        ADDRESS ON FILE
HARVEY, BERNICE                      ADDRESS ON FILE
HARVEY, DANTHONY O                   ADDRESS ON FILE
HARVEY, DELBERT                      ADDRESS ON FILE
HARVEY, DERRICK                      ADDRESS ON FILE
HARVEY, DORREL                       ADDRESS ON FILE
HARVEY, FRANKIE                      ADDRESS ON FILE
HARVEY, GARY                         ADDRESS ON FILE
HARVEY, JAMES                        ADDRESS ON FILE
HARVEY, JAMES                        ADDRESS ON FILE
HARVEY, JOEL                         ADDRESS ON FILE
HARVEY, JOHNNY                       ADDRESS ON FILE
HARVEY, KENNETH                      ADDRESS ON FILE
HARVEY, KEVIN Q                      ADDRESS ON FILE
HARVEY, MARLON                       ADDRESS ON FILE
HARVEY, MATTHEW                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 823 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 832 of 2156

Claim Name                           Address Information
HARVEY, MICHEAL                      ADDRESS ON FILE
HARVEY, REESE                        ADDRESS ON FILE
HARVEY, REGINALD                     ADDRESS ON FILE
HARVEY, STEVEN                       ADDRESS ON FILE
HARVEY, WILLARD                      ADDRESS ON FILE
HARVIE, STEVEN                       ADDRESS ON FILE
HARVILL, LOUIS                       ADDRESS ON FILE
HARVILLE, ALBERT                     ADDRESS ON FILE
HARVIN, ANGELA                       ADDRESS ON FILE
HARWATEK, STEVE                      ADDRESS ON FILE
HARWELL, DEAMEN                      ADDRESS ON FILE
HARWELL, JEFFERY                     ADDRESS ON FILE
HARYANA EXPRESS INC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HARYANA TRANSPORT INC                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HARYANA TRANSPORT LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HAS TRANSPORTATION LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HAS TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HASA                                 23119 DRAYTON ST SAUGUS CA 91350
HASAN, ABDULKHALEQ A                 ADDRESS ON FILE
HASART, MICHAEL                      ADDRESS ON FILE
HASAS EXPRESS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HASBROUCK, MATTHEW                   ADDRESS ON FILE
HASCALL, DEBORAH                     ADDRESS ON FILE
HASCHKA, DANIEL                      ADDRESS ON FILE
HASENBALG, YANNICK                   ADDRESS ON FILE
HASENFELD, STEVE                     ADDRESS ON FILE
HASH HOUSE                           5350 INTERNATIONAL DRIVE ORLANDO FL 32819
HASHIM ADDOW                         ADDRESS ON FILE
HASIC EXPRESS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HASIUK TRAILERS                      A DIVISION OF 941807 ONTARIO LIMITED, P.O. BOX 722 COLBORNE ON K0K 1S0 CANADA
HASKELL OFFICE                       ATTN: KAREN DRAPELA 3770 HAGEN DR SE WYOMING MI 49548
HASKELL, FRANK                       ADDRESS ON FILE
HASKELL, LANCE K                     ADDRESS ON FILE
HASKELL, LLOYD                       ADDRESS ON FILE
HASKELL, LLOYD                       ADDRESS ON FILE
HASKELL, STEPHEN                     ADDRESS ON FILE
HASKELLS FURNITURE                   465 NEVADA AVE LOVELL WY 82431
HASKETT, TERRY E                     ADDRESS ON FILE
HASKIE, CAMMIE                       ADDRESS ON FILE
HASKIN, ERIC E                       ADDRESS ON FILE
HASKINS, JAY                         ADDRESS ON FILE
HASKINS, KEVIN                       ADDRESS ON FILE
HASKINS, ROBINSON                    ADDRESS ON FILE
HASLIP, JASON                        ADDRESS ON FILE
HASS, KERRY                          ADDRESS ON FILE
HASSAN, HASSAN                       ADDRESS ON FILE
HASSAN, YUSSUF                       ADDRESS ON FILE
HASSAN, YUSSUF                       ADDRESS ON FILE
HASSANI TRANS LLC                    5613 GREENBLUFF RD APT 204 LOUISVILLE KY 40219



Epiq Corporate Restructuring, LLC                                                                 Page 824 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 833 of 2156

Claim Name                           Address Information
HASSEL, WHYMAN J                     ADDRESS ON FILE
HASSELL, DELTON                      ADDRESS ON FILE
HASSELL, DREXLER                     ADDRESS ON FILE
HASSELL, JAMES                       ADDRESS ON FILE
HASSEM INVESTMENT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HASSENMAYER, BRIAN                   ADDRESS ON FILE
HASSINGER, MARK D                    ADDRESS ON FILE
HASSLER, STEPHEN                     ADDRESS ON FILE
HASTE, ANTHONY                       ADDRESS ON FILE
HASTEY, DALTON                       ADDRESS ON FILE
HASTINGS, CARL                       ADDRESS ON FILE
HASTINGS, CHARLES                    ADDRESS ON FILE
HASTINGS, DARYL                      ADDRESS ON FILE
HASTINGS, MARK                       ADDRESS ON FILE
HASTINGS, MARKICE                    ADDRESS ON FILE
HASTINGS, ROBERT J                   ADDRESS ON FILE
HASTINGS, ROWAN                      ADDRESS ON FILE
HASTINGS, WILLIAM                    ADDRESS ON FILE
HASTON HAULING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HASWELL, DARREL                      ADDRESS ON FILE
HASWELL, JOHN                        ADDRESS ON FILE
HATCH, DENISE                        ADDRESS ON FILE
HATCH, KEVIN                         ADDRESS ON FILE
HATCH, PAUL                          ADDRESS ON FILE
HATCH, ROB                           ADDRESS ON FILE
HATCH, WILLIE                        ADDRESS ON FILE
HATCHER, CHARLES                     ADDRESS ON FILE
HATCHER, CLYDE                       ADDRESS ON FILE
HATCHER, JOSHUA                      ADDRESS ON FILE
HATCHER, KORI                        ADDRESS ON FILE
HATCHER, MAXINE                      ADDRESS ON FILE
HATCHER, MICHAEL                     ADDRESS ON FILE
HATCHER, ROGER                       ADDRESS ON FILE
HATCHETT, ANDRONE                    ADDRESS ON FILE
HATFIELD & ASSOC                     574 NEW MARKET DEP R NEW MARKET VA 22844
HATFIELD TOWNSHIP                    TAX COLLECTOR, 2028 LENHART ROAD HATFIELD PA 19440
HATFIELD TOWNSHIP TAX COLLECTOR      2000 SCHOOL RD HATFIELD PA 19440
HATFIELD, GARY                       ADDRESS ON FILE
HATFIELD, JAMES                      ADDRESS ON FILE
HATFIELD, JEFFREY                    ADDRESS ON FILE
HATFIELD, MICHAEL                    ADDRESS ON FILE
HATFIELD, RICHARD                    ADDRESS ON FILE
HATHALE, JAYME                       ADDRESS ON FILE
HATHAWAY, CARL                       ADDRESS ON FILE
HATHAWAY, DAVID                      ADDRESS ON FILE
HATHAWAY, DONALD                     ADDRESS ON FILE
HATHAWAY, TURRELL                    ADDRESS ON FILE
HATHORN, AARON                       ADDRESS ON FILE
HATHORN, JAMES                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 825 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 834 of 2156

Claim Name                           Address Information
HATHORN, JONATHAN                    ADDRESS ON FILE
HATHORN, WESLEY                      ADDRESS ON FILE
HATHORN, WESLEY J                    ADDRESS ON FILE
HATT, RICHARD                        ADDRESS ON FILE
HATTABAUGH, KRIS                     ADDRESS ON FILE
HATTEN, ALEXANDER                    ADDRESS ON FILE
HATTEN, JEFFREY                      ADDRESS ON FILE
HATTEN, LARRY                        ADDRESS ON FILE
HATTEN, SHANNON                      ADDRESS ON FILE
HATTON, CORNELL                      ADDRESS ON FILE
HATTON, JACK                         ADDRESS ON FILE
HATTON, MARK                         ADDRESS ON FILE
HATTON, MICHAEL                      ADDRESS ON FILE
HATTON, SCOTTY                       ADDRESS ON FILE
HATZEL & BUEHLER, INC.               ATTN: JOHN JAVA 307 23RD STREET EXT STE 550 PITTSBURGH PA 15215
HAUCK, SCOTT                         ADDRESS ON FILE
HAUGEN, JON                          ADDRESS ON FILE
HAUGEN, ZACHARY                      ADDRESS ON FILE
HAUGH, DEVIN                         ADDRESS ON FILE
HAUGH, TRACY                         ADDRESS ON FILE
HAUGHT, JASON A                      ADDRESS ON FILE
HAUGSNESS, CHRISTOPHER               ADDRESS ON FILE
HAUKE, JAMES                         ADDRESS ON FILE
HAUL AND SHINE LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HAUL ASS TRANSPORTATION LLC          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HAUL ASSURED TRANSPORT LLC           PO BOX 550548 DALLAS TX 75355
HAUL IT ALL TRANSPORTATION LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HAUL IT LOGISTICS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HAUL IT RIGHT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HAUL OF FAME TRANSPORTATION          8544 W. BELLFORT AVE. SUITE 281 HOUSTON TX 77071
HAUL RIDER FREIGHT                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HAUL RUN INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HAUL TECH LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HAULAGE NORTH AMERICA INC            24 BUSHCROFT TRAIL BRAMPTON ON L7A 2L1 CANADA
HAULING REORGANIZATION III LLC       251 DUNN DRIVE BECKLEY WV 25801
HAULISTIC LLC                        4101 WINFIELD RD STE 400 WARRENVILLE IL 60555
HAULISTIC LLC                        PO BOX 778724 CHICAGO IL 60677-8724
HAULISTIC LLC - CARGO CLAIMS         4101 WINFIELD ROAD, SUITE 400 WARRENVILLE IL 60555
HAULN LLC                            69 BUCKEYE TRL GARNER NC 27529
HAULSEND LLC                         PO BOX 59 RIVERSIDE IL 60546
HAULSTER TRANSPORT LTD.              62 ROZMUS BAY WINNIPEG MB R2P 1E1 CANADA
HAULVIP INC                          OR HGS FUNDING, PO BOX 1359 RANCHO CUCAMONGA CA 91729
HAULWELL TRANSPORT INC               49 RIDGEMORE CRES BRAMPTON ON L7A2L4 CANADA
HAUN, CHRISTOPHER                    ADDRESS ON FILE
HAUN, MELANIE                        ADDRESS ON FILE
HAUNGS, SHAWN                        ADDRESS ON FILE
HAUPT, MICHAEL                       ADDRESS ON FILE
HAUSER, CURTIS                       ADDRESS ON FILE
HAUSER, PATRICK                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 826 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 835 of 2156

Claim Name                              Address Information
HAUSER, PATRICK J                      ADDRESS ON FILE
HAUSRATH LANDSCAPE MAINTENANCE INC     451 MEYER ROAD AMHERST NY 14226
HAUSRATHS LANDSCAPE MAINTENANCE INC    D/B/A: HAUSRATH LANDSCAPE MAINTENANCE 451 MEYER ROAD AMHERST NY 14226
HAUSSLER, CONNOR                       ADDRESS ON FILE
HAUSTETTER, ERIC                       ADDRESS ON FILE
HAUSWIRTH, EDWIN                       ADDRESS ON FILE
HAUT, PAUL                             ADDRESS ON FILE
HAUT, SARAH                            ADDRESS ON FILE
HAUVER, STEVEN                         ADDRESS ON FILE
HAUVONEN, SEAN                         ADDRESS ON FILE
HAVANA EXPRESS LLC                     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
HAVANA FORD                            302 S. MAIN ST. HAVANA FL 32333
HAVANA LOGISTICS, LLC.                 OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
HAVARD, BILL                           ADDRESS ON FILE
HAVE LIGHTS WILL TRAVEL, INC.          605 BOXINGTON WAY 110 SPARKS NV 89434
HAVEA, FELETI K                        ADDRESS ON FILE
HAVEL, PETER                           ADDRESS ON FILE
HAVENS, JAMES                          ADDRESS ON FILE
HAVENS, NATHAN                         ADDRESS ON FILE
HAVERFIELD, JEFFREY                    ADDRESS ON FILE
HAVERLY, ADAM                          ADDRESS ON FILE
HAVILAND, BRIAN D                      ADDRESS ON FILE
HAVLICEK TRUCKING, INC.                408 W NORTH ST MONONA IA 52159
HAVLU, RYAN                            ADDRESS ON FILE
HAVMOORE LOGISTICS                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HAVRE ST PIERRE EXPRESS                1390 LIONEL BOULET BLVD VARENNES QC J3X 1P7 CANADA
HAWAII LOGISTICS SERVICES              PO BOX 970009 WAIPAHU HI 96797
HAWAII MEDICAL SERVICE ASSOCIATION     PO BOX 29810 HONOLULU HI 96820
HAWAII PUBLIC UTILITIES COMM           465 S KING ST ROOM 103 HONOLULU HI 96813
HAWAII STATE TAX COLLECTOR             OAHU DISTRICT OFFICE, PO BOX 1425 HONOLULU HI 96806
HAWAII STATE TAX COLLECTOR             PO BOX 1425 HONOLULU HI 96806
HAWAII TEAMSTERS HEALTH & WELFARE TRUST 560 N. NIMITZ HIGHWAY SUITE 209 HONOLULU HI 96817
HAWAII TRANSFER CO LTD                 PO BOX 665 PEARL CITY HI 96782
HAWAII TRANSPORTATION ASSOCIATION      PO BOX 30166 HONOLULU HI 96820
HAWAII TRUCKERS - TEAMSTERS            UNION PENSION PLAN 560 N. NIMITZ HIGHWAY, SUITE 209 HONOLULU HI 96817
HAWAII TRUCKERS UNION PENSION FUND     PO BOX 3170 HONOLULU HI 96814
HAWAIIAN ELECTRIC COMPANY              1001 BISHOP STREET SUITE 2900 HONOLULU HI 96813
HAWAIIAN TELCOM, INC.                  PO BOX 30770 HONOLULU HI 96820
HAWARD SUPPLY CO                       4100 INTERNATIONAL PLAZA 850 FORT WORTH TX 76109
HAWBAKER, ANDREW                       ADDRESS ON FILE
HAWD TRUCKING LINES LLC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HAWES, BOBBY                           ADDRESS ON FILE
HAWG TYED BBQ                          9660 MANU RD FREMONT WI 54940
HAWGSHOTS LLC                          19900 TUPELO ROAD SPRINGDALE AR 72764
HAWI EXPRESS LLC                       12250 ABRAMS ROAD APT 2223 DALLAS TX 75243
HAWI EXPRESS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HAWK CREEK FENCE LLC                   6088 US ROUTE 7 FERRISBURGH VT 05456
HAWK EXPRESS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
HAWK FRAME & AXLE                      77 OCONNOR ROAD FAIRPORT NY 14450



Epiq Corporate Restructuring, LLC                                                                   Page 827 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 836 of 2156

Claim Name                           Address Information
HAWK HAULERS INC                     OR SPEEDY INV LLC, 19425 GLENDALE TRL TINLEY PARK IL 60487
HAWK HAULERS INC                     3390 COUNTRY VILLAGE RD 1218 RIVERSIDE CA 92509-1082
HAWK HAULING INC                     OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HAWK JR, KENNETH                     ADDRESS ON FILE
HAWK LOGISTICS (VANCOUVER WA)        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
HAWK LOGISTICS LLC                   OR BC FACTORING LLC DBA BRIDGE CAPITAL BUSINESS SERVICES LLC PO BOX 172091
                                     MEMPHIS TN 38187
HAWK LOGISTICS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HAWK TRANSPORTATION INC.             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HAWK TRUCKING LLC                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HAWK, AUTUMN                         ADDRESS ON FILE
HAWK, COREY                          ADDRESS ON FILE
HAWK, JOHN S                         ADDRESS ON FILE
HAWK, JOSHUA                         ADDRESS ON FILE
HAWK, MICHAEL                        ADDRESS ON FILE
HAWK, THOMAS                         ADDRESS ON FILE
HAWKEY TRANSPORTATION                ATTN: MIKE HAWKEY PO BOX 732 BEAVERTON OR 97075
HAWKEY TRANSPORTATION INC            PO BOX 732 BEAVERTON OR 97075
HAWKEYE INFORMATION SYSTEMS INC      PO BOX 2167 FORT COLLINS CO 80522
HAWKEYE LIFT TRUCK SERVICE           PO BOX 37225 DES MOINES IA 50315-0320
HAWKEYE TRANSPORT, LLC               PO BOX 381 SPENCER IA 51301
HAWKEYE TRANSPORTATION, LLC          OR ADVANCED INVOICE FUNDING, PO BOX 1215 CEDAR FALLS IA 50613
HAWKEYE WOOD SHAVINGS INC            1500 SLOANS WAY PLEASANT HILL IA 50327
HAWKINS ELECTRIC INC                 10 1033 PATTULLO AVENUE WOODSTOCK ON N4V 1C8 CANADA
HAWKINS IV, ROWLF                    ADDRESS ON FILE
HAWKINS TOWING, INC.                 32 TAUNYA LANE TRAVELERS REST SC 29690
HAWKINS, ANTOINE                     ADDRESS ON FILE
HAWKINS, CARLA                       ADDRESS ON FILE
HAWKINS, CATHERINE DENISE            ADDRESS ON FILE
HAWKINS, CATHERINE DENISE            ADDRESS ON FILE
HAWKINS, CHARLES                     ADDRESS ON FILE
HAWKINS, CHARLES                     ADDRESS ON FILE
HAWKINS, CURTIS                      ADDRESS ON FILE
HAWKINS, CUYLER                      ADDRESS ON FILE
HAWKINS, DANIELLE                    ADDRESS ON FILE
HAWKINS, DARREN                      ADDRESS ON FILE
HAWKINS, DARREN                      ADDRESS ON FILE
HAWKINS, DARRYL                      ADDRESS ON FILE
HAWKINS, DAWN                        ADDRESS ON FILE
HAWKINS, DENNIS                      ADDRESS ON FILE
HAWKINS, DENNIS                      ADDRESS ON FILE
HAWKINS, ERIC                        ADDRESS ON FILE
HAWKINS, FRANKLIN                    ADDRESS ON FILE
HAWKINS, GARY                        ADDRESS ON FILE
HAWKINS, GLENN                       ADDRESS ON FILE
HAWKINS, JACKIE                      ADDRESS ON FILE
HAWKINS, JACOB                       ADDRESS ON FILE
HAWKINS, JAMES                       ADDRESS ON FILE
HAWKINS, JEFFERSON                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 828 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 837 of 2156

Claim Name                           Address Information
HAWKINS, JERRY                       ADDRESS ON FILE
HAWKINS, JOHN                        ADDRESS ON FILE
HAWKINS, JOHN                        ADDRESS ON FILE
HAWKINS, KAYLAH                      ADDRESS ON FILE
HAWKINS, KENNETH                     ADDRESS ON FILE
HAWKINS, KIMBERLY                    ADDRESS ON FILE
HAWKINS, KIRK                        ADDRESS ON FILE
HAWKINS, MICHAEL                     ADDRESS ON FILE
HAWKINS, MICHAEL                     ADDRESS ON FILE
HAWKINS, NICHOLOUS                   ADDRESS ON FILE
HAWKINS, RASHARD                     ADDRESS ON FILE
HAWKINS, RICKY                       ADDRESS ON FILE
HAWKINS, RYAN                        ADDRESS ON FILE
HAWKINS, SEAN                        ADDRESS ON FILE
HAWKINS, SHAWN                       ADDRESS ON FILE
HAWKINS, TERRELL                     ADDRESS ON FILE
HAWKINS, TIMOTHY                     ADDRESS ON FILE
HAWKINS, WILLIAM                     ADDRESS ON FILE
HAWKINSON, BILLY                     ADDRESS ON FILE
HAWKINSON, TYE                       ADDRESS ON FILE
HAWKMTN LABS INC                     201 WEST CLAY AVENUE HAZLE TOWNSHIP PA 18202
HAWKS RANCH TRUCKING LLC             OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
HAWKS TRANSPORT LLC                  OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
HAWKS TRANSPORTATION                 44 RAINBROOK CLOSE BRAMPTON ON L6R 0Y9 CANADA
HAWKS, CHARLIE                       ADDRESS ON FILE
HAWKSLEY, GREG                       ADDRESS ON FILE
HAWKSLEY, GREGORY                    ADDRESS ON FILE
HAWKSLEY, GREGORY J                  ADDRESS ON FILE
HAWLEY JR, NORMAN                    ADDRESS ON FILE
HAWLEY, BRETT                        ADDRESS ON FILE
HAWLEY, DAN                          ADDRESS ON FILE
HAWLEY, JOSEPH                       ADDRESS ON FILE
HAWORTH, DOUGLAS                     ADDRESS ON FILE
HAWORTH, KARI                        ADDRESS ON FILE
HAWS CO                              1455 KLEPPE LN SPARKS NV 89431
HAWS, GREGORY                        ADDRESS ON FILE
HAWTHORNE HYDROPONICS                ATTN: KEVIN WALLACK LOCKBOX SVC 200054 2975 REGENT BLVD IRVING TX 75063
HAWTHORNE HYDROPONICS LLC            ATTN: MOLLY BURNS LOCKBOX 200054 2975 REGENT BLVD IRVING TX 75063
HAWTHORNE HYDROPONICS LLC.           LOCKBOX 200054 2975 REGENT BLVD IRVING TX 75063
HAWTHORNE TRANSPORTATION LLC         OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
HAWTHORNE, JEREMY                    ADDRESS ON FILE
HAWTON, BRIAN                        ADDRESS ON FILE
HAXTON, BRANDON                      ADDRESS ON FILE
HAXTON, RAYMOND                      ADDRESS ON FILE
HAY, DANIEL                          ADDRESS ON FILE
HAY, SCOTT                           ADDRESS ON FILE
HAYA, YANIS                          ADDRESS ON FILE
HAYASHI, JERRAMY                     ADDRESS ON FILE
HAYAT EXPRESS LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627



Epiq Corporate Restructuring, LLC                                                               Page 829 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 838 of 2156

Claim Name                           Address Information
HAYDEN PERRY                         ADDRESS ON FILE
HAYDEN, JAISON                       ADDRESS ON FILE
HAYDEN, MARQUIS                      ADDRESS ON FILE
HAYDEN, ROBERT                       ADDRESS ON FILE
HAYDEN, TIMOTHY                      ADDRESS ON FILE
HAYDENS TRUCKING LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HAYDER, BLAKE                        ADDRESS ON FILE
HAYDON BOLTS, INC.                   1181 UNITY ST PHILADELPHIA PA 19124
HAYDT, DAVID E                       ADDRESS ON FILE
HAYDUCEK, ADAM                       ADDRESS ON FILE
HAYE, CAMAR                          ADDRESS ON FILE
HAYE, LLOYD                          ADDRESS ON FILE
HAYER TRANSPORT LLC                  1890 TAHOE CT CANTON MI 48187
HAYER TRANSPORT LLC (MC1212868)      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HAYER TRUCK LINES INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HAYES BROS TRUCKING, INC.            5297 US HWY 68 W BENTON KY 42025
HAYES BUILDING CO                    325A 10TH ST ARCATA CA 95521
HAYES TRANSPORT LLC                  OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
HAYES TRANSPORT, INC.                P O BOX 930279 VERONA WI 53593
HAYES TRANSPORTATION LLC             OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
HAYES, AARON                         ADDRESS ON FILE
HAYES, BEARRY                        ADDRESS ON FILE
HAYES, CHRISTIAN                     ADDRESS ON FILE
HAYES, CURTIS                        ADDRESS ON FILE
HAYES, CYNTHIA                       ADDRESS ON FILE
HAYES, DANIEL                        ADDRESS ON FILE
HAYES, DANIEL                        ADDRESS ON FILE
HAYES, DANIEL                        ADDRESS ON FILE
HAYES, DANIEL                        ADDRESS ON FILE
HAYES, DARLA                         ADDRESS ON FILE
HAYES, DARREN                        ADDRESS ON FILE
HAYES, DEBORAH                       ADDRESS ON FILE
HAYES, DERRICK                       ADDRESS ON FILE
HAYES, DOMINIQUE                     ADDRESS ON FILE
HAYES, EARL                          ADDRESS ON FILE
HAYES, ERNEST                        ADDRESS ON FILE
HAYES, EVELYN                        ADDRESS ON FILE
HAYES, HUNTER                        ADDRESS ON FILE
HAYES, JAMAAL                        ADDRESS ON FILE
HAYES, KELLEY                        ADDRESS ON FILE
HAYES, KENNETH R                     ADDRESS ON FILE
HAYES, LARRY                         ADDRESS ON FILE
HAYES, MAISHA                        ADDRESS ON FILE
HAYES, MARSHALL                      ADDRESS ON FILE
HAYES, MATTHEW                       ADDRESS ON FILE
HAYES, MATTHEW H                     ADDRESS ON FILE
HAYES, MICHAEL                       ADDRESS ON FILE
HAYES, MOLLY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 830 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 839 of 2156

Claim Name                         Address Information
HAYES, MYLES                       ADDRESS ON FILE
HAYES, PAUL                        ADDRESS ON FILE
HAYES, PAUL E                      ADDRESS ON FILE
HAYES, RANDALL                     ADDRESS ON FILE
HAYES, ROBERT                      ADDRESS ON FILE
HAYES, ROBERT W                    ADDRESS ON FILE
HAYES, RODNEY                      ADDRESS ON FILE
HAYES, SAMANTHA                    ADDRESS ON FILE
HAYES, SCOTT C                     ADDRESS ON FILE
HAYES, SHARON                      ADDRESS ON FILE
HAYES, SHERRI                      ADDRESS ON FILE
HAYES, TRAVIS                      ADDRESS ON FILE
HAYES, TRAVON                      ADDRESS ON FILE
HAYES, VALERIE                     ADDRESS ON FILE
HAYES, WALTER L                    ADDRESS ON FILE
HAYES, ZOEBIA                      ADDRESS ON FILE
HAYES, ZOEBIA                      ADDRESS ON FILE
HAYES, ZYNIA                       ADDRESS ON FILE
HAYES, ZYNIA                       ADDRESS ON FILE
HAYGOOD, JAMES                     ADDRESS ON FILE
HAYLING, RAWLE                     ADDRESS ON FILE
HAYMAN, WILLIAM                    ADDRESS ON FILE
HAYMON, RONALD                     ADDRESS ON FILE
HAYNER TRANSPORTATION INC          11385A VENTURE DR MIRA LOMA CA 91752
HAYNES TRANSPORTATION LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674
HAYNES TRUCKING                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HAYNES TRUCKING LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HAYNES, BRENT                      ADDRESS ON FILE
HAYNES, CRAIG                      ADDRESS ON FILE
HAYNES, JAMIR                      ADDRESS ON FILE
HAYNES, JANEL                      ADDRESS ON FILE
HAYNES, JOHN                       ADDRESS ON FILE
HAYNES, KELVIN                     ADDRESS ON FILE
HAYNES, LANTON                     ADDRESS ON FILE
HAYNES, RICHARD                    ADDRESS ON FILE
HAYNES, STANLEY                    ADDRESS ON FILE
HAYNES, TAMEEKA                    ADDRESS ON FILE
HAYNES, TAMMY                      ADDRESS ON FILE
HAYNES, TERRELL                    ADDRESS ON FILE
HAYNES, THOMAS                     ADDRESS ON FILE
HAYNIE, JAMAL                      ADDRESS ON FILE
HAYS CATTLE & TRUCKING             1365 COUNTY ROAD 69 CANON CITY CO 81212
HAYS, GERALD                       ADDRESS ON FILE
HAYS, JACOB                        ADDRESS ON FILE
HAYS, KEITH                        ADDRESS ON FILE
HAYS, PAULA                        ADDRESS ON FILE
HAYS, ROBERT                       ADDRESS ON FILE
HAYS, RONALD                       ADDRESS ON FILE
HAYS, RUSSELL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 831 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 840 of 2156

Claim Name                           Address Information
HAYS, ZACHARY                        ADDRESS ON FILE
HAYSE LOCK AND SERVICE               1111 CENTRAL PARK BOULEVARD N GREENWOOD IN 46143
HAYSLIP, BRADLEY                     ADDRESS ON FILE
HAYTER, CHRISTOPHER                  ADDRESS ON FILE
HAYU TRUCKING LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HAYWARD EDMOND JR                    ADDRESS ON FILE
HAYWARD INDUSTRIES C/O ECHO          ATTN: SHAKITA WEBB 600 W CHICAGO AVE CHICAGO IL 60654
HAYWARD WATER SYSTEM                 777 B ST. HAYWARD CA 94541
HAYWARD, ANTHONY                     ADDRESS ON FILE
HAYWARD, DANIEL                      ADDRESS ON FILE
HAYWARD, RANDOLPH                    ADDRESS ON FILE
HAYWOOD, CURTIS                      ADDRESS ON FILE
HAYWOOD, HAL T                       ADDRESS ON FILE
HAYWOOD, LINSEY                      ADDRESS ON FILE
HAYWOOD, QUENTIN                     ADDRESS ON FILE
HAYWOOD-NUNN, CHRISTY                ADDRESS ON FILE
HAZ MAT SPECIAL SERVICES LLC         529 S 16TH ST LA PORTE TX 77571
HAZ-MAT RESPONSE INC                 1203C S PARKER ST OLATHE KS 66061
HAZ-MAT SERVICES INC                 1225 LE GILLILAND ROAD TEXARKANA AR 71854
HAZARA TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HAZARA TRANSPORTATION INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HAZARD EXPRESS, INC.                 931 W KY HIGHWAY 80, PO BOX 1599 HAZARD KY 41702
HAZARD, MICHAEL                      ADDRESS ON FILE
HAZEL EYES INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HAZEL, ALBERT                        ADDRESS ON FILE
HAZEL, ANTHONY                       ADDRESS ON FILE
HAZEL, COREY                         ADDRESS ON FILE
HAZEL, DEMETRIUS                     ADDRESS ON FILE
HAZEL, FREDRICK                      ADDRESS ON FILE
HAZELWOOD, BILL                      ADDRESS ON FILE
HAZELWOOD, EMMETT                    ADDRESS ON FILE
HAZEMO TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HAZEN, JEFFREY                       ADDRESS ON FILE
HAZLETON OIL & ENVIRONMENTAL INC     300 TAMAQUA STREET HAZLETON PA 18201
HAZLETT, TANNER L                    ADDRESS ON FILE
HAZLEWOOD, RICHARD                   ADDRESS ON FILE
HAZO ENTERPRISES                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HAZURE, KEVIN                        ADDRESS ON FILE
HB LOGISTICS                         980 9TH STREET, 16TH FL SACRAMENTO CA 95814
HB LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HB TRUCKING LLC (ORLEANS IN)         PO BOX 133 ORLEANS IN 47452-0133
HBB TRANS INC                        OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
HBC STRATEGIES                       ATTN: GENERAL COUNSEL 165 MIDDLE ST SUITE 1101 LAKE MARY FL 32746
HBC TRANSPORTATION INC               OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T 5C5 CANADA
HBC TRANSPORTATION INC               33 ARMSTRONG AVE UNIT 2 GEORGETOWN ON L7G4S1 CANADA
HBK LOGISTICS INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HBM EXPRESS INC.                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HBM LOGISTICS LLC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
HBM TRUCK INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                Page 832 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 841 of 2156

Claim Name                           Address Information
HBY TRANSPORT LLC                    2820 BLAISDELL AVE APT 103 MINNEAPOLIS MN 55408
HC MONEYBALL LLC                     333 E 75TH ST PHC NEW YORK NY 10021
HCAA MEDICAL GROUP, PA               25 BRIERCROFT OFFICE PARK LUBBOCK TX 79412
HCC                                  C/O US SPECIALTY INS CO 13403 NORTHWEST FREEWAY HOUSTON TX 77040
HCH TRUCKING INC                     97 NEWKIRK ST, OFFICE 307 JERSEY CITY NJ 07306
HCH TRUCKING INC                     OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
HD CARRIERS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HD DISTRIBUTION CO.                  2600 INDUSTRIAL BLVD WEST SACRAMENTO CA 95691
HD EXPRESS TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HD INDUSTRIES                        PO BOX 21399 LONG BEACH CA 90801
HD SUPPLY                            FM FREIGHT PAYABLES, 3400 CUMBERLAND BLVD SE 0 ATLANTA GA 30339
HD SUPPLY CORPORATE                  3400 CUMBERLAND BLVD ATLANTA GA 30339
HD TRANS INC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HD TRANS INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HD TRANSPORTATION LLC                8265 MISTY SHORE DRIVE WEST CHESTER OH 45069
HD TRANSPORTATION LLC (MC1299898)    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HDH EXPRESS INC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HDH TRANSPORT LLC                    OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
HDH TRANSPORTATION INC               3006 N HUNTINGTON DR ARLINGTON HEIGHTS IL 60004
HDM TOWING & RECOVERY, LLC           130 OASIS LANE, PO BOX 737 LAKE MILLS WI 53551
HDM TOWING & RECOVERY, LLC           P.O. BOX 737 LAKE MILLS WI 53551
HDMONA TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HDR TRANSPORT, LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HDZ TRANSPORTATION CO                HDZ TRANSPORTATION CO, 125 WOODSTREAM BLVD SUITE 301 STAFFORD VA 22556
HE DID IT TRUCKING LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
HE LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HE, SAIRONG                          ADDRESS ON FILE
HEAD, MONDARIUS                      ADDRESS ON FILE
HEADING, DOUGLAS                     ADDRESS ON FILE
HEADING, MATTHEW                     ADDRESS ON FILE
HEADLINER, LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
HEADRICK, DANIEL                     ADDRESS ON FILE
HEADRICK, DEREK                      ADDRESS ON FILE
HEADRICK, PHILLIP                    ADDRESS ON FILE
HEADS ELECTRIC INC                   2416 E MORGAN AVE EVANSVILLE IN 47711
HEADS, CYNTHIA                       ADDRESS ON FILE
HEADZUP INC                          PO BOX 2579 PLAZA NJ 07094
HEAFNER, GARY                        ADDRESS ON FILE
HEAFNER, WILLIAM                     ADDRESS ON FILE
HEALEY KIA                           114 ROUTE 17K NEWBURGH NY 12550
HEALEY, DALTON                       ADDRESS ON FILE
HEALTH EXTENSIONS                    50 COMMERCE HAUPPAUGE NY 11788
HEALTH SOURCE INTEGRATED SOLUTIONS   2121 SW CHELSEA DRIVE TOPEKA KS 66614
HEALTHCARE EXPRESS LLP               PO BOX 5637 OAK LAWN TX 75505
HEALTHGROUP OF ALABAMA, LLC          PO BOX 7187 HUNTSVILLE AL 35807
HEALTHSOURCE INTEGRATED SOLUTIONS    ATTN: SUSAN SMITH 2121 SW CHELSEA DRIVE TOPEKA KS 66614
HEALTHTRUST PURCHASING GROUP, LP     ATTN: C/O WELLS FARGO, P.O. BOX 751576 CHARLOTTE NC 28275
HEALTHWISE MEDICAL CLINIC PLLC       101 OXBOW DRIVE ALPENA MI 49707
HEALTHWORKS BILLING OFFICE           C\O FAIRGROUND MEDICAL CENTER, 400 NORTH 17TH ST, SUITE 207 ALLENTOWN PA 18104



Epiq Corporate Restructuring, LLC                                                                 Page 833 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 842 of 2156

Claim Name                             Address Information
HEALTHWORKS OCCUPATIONAL HEALTY        1501 4TH ST SW MASON CITY IA 50401
HEALTHWORKS SOUTHTOWN                  PO BOX 8000, DEPT 425 BUFFALO NY 14267
HEALTHY LIVING HOUSING INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HEALTHY SOLUTIONS TRANSPORTATION LLC   15232 FOOTHILL BLVD UNIT 142 SYLMAR CA 91342-8361
HEALTHY TRUCKS R WEALTHY TRUCKS        6807 N I-27 LUBBOCK TX 79403
HEALWOLE, AMANDA                       ADDRESS ON FILE
HEALY, SEAN                            ADDRESS ON FILE
HEANEY, JOHN                           ADDRESS ON FILE
HEARD, ANTHONY                         ADDRESS ON FILE
HEARD, III, WILLIE F                   ADDRESS ON FILE
HEARD, III, WILLIE F                   ADDRESS ON FILE
HEARD, JAHMAL                          ADDRESS ON FILE
HEARD, JALEESA                         ADDRESS ON FILE
HEARD, JONATHAN                        ADDRESS ON FILE
HEARD, LEMISHA                         ADDRESS ON FILE
HEARD, RODRIGUEZ                       ADDRESS ON FILE
HEARD, STEPHANIE                       ADDRESS ON FILE
HEARD, TIMOTHY                         ADDRESS ON FILE
HEARN, MATTHEW                         ADDRESS ON FILE
HEARNE, CHRISTOPHER                    ADDRESS ON FILE
HEARNE, MATTHEW                        ADDRESS ON FILE
HEARNE, SAMUEL                         ADDRESS ON FILE
HEARSHMAN, DANIEL                      ADDRESS ON FILE
HEART OF AMERICA TRUCKING LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HEARTBEAT GROUP LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HEARTBEAT TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HEARTH & HOME                          WILLIAMS & ASSOCIATES, 405 E 78TH ST BLOOMINGTON MN 55420
HEARTH CLASSICS BY AMERICAN PANEL      PO BOX 131 GRAND HAVEN MI 49417
HEARTHCO INC                           C/O ECHO, 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
HEARTHSTONE QUALITY HHP                ATTN: SIMON TEECE 317 STAFFORD AVE MORRISVILLE VT 05661
HEARTHSTONE QUALITY HOME HEATI         317 STAFFORD AVE MORRISVILLE VT 05661
HEARTLAND AUTO BODY & TOWING           2642 MARKET HANNIBAL MO 63401
HEARTLAND CUSTOMER SOLUTIONS LLC       14206 OVERBROOK RD LEAWOOD KS 66224
HEARTLAND ELECTRIC LLC                 715 N MORRIS AVE STE B BLOOMINGTON IL 61701
HEARTLAND EXPRESS SERVICES INC         901 N. KANSAS AVE NORTH LIBERTY IA 52317
HEARTLAND TOWING & RECOVERY            1909 W EVERGREEN EFFINGHAM IL 62401
HEARTLAND TOWING & RECOVERY            P.O. BOX 1634 EFFINGHAM IL 62401
HEARTSDALE TRUCKING LLC                OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320
HEARTY, JOHNNIE                        ADDRESS ON FILE
HEARTY, JOHNNIE                        ADDRESS ON FILE
HEASLEY, DOUGLAS                       ADDRESS ON FILE
HEASLEY, SEAN                          ADDRESS ON FILE
HEAT MAKES SENSE                       300 MESEROLE ST BROOKLYN NY 11206
HEATER, ANGELA                         ADDRESS ON FILE
HEATER, CHARLES                        ADDRESS ON FILE
HEATH FOLCK                            ADDRESS ON FILE
HEATH MULHOLLAN                        ADDRESS ON FILE
HEATH PAINTING                         2905 N. FORTH ST. FLAGSTAFF AZ 86004
HEATH, BRANDON                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 834 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 843 of 2156

Claim Name                            Address Information
HEATH, BUCK                           ADDRESS ON FILE
HEATH, EDWARD                         ADDRESS ON FILE
HEATH, JAMES                          ADDRESS ON FILE
HEATH, JASON                          ADDRESS ON FILE
HEATH, MARK                           ADDRESS ON FILE
HEATH, MATTHEW G                      ADDRESS ON FILE
HEATH, MELISSA                        ADDRESS ON FILE
HEATH, MICHAEL                        ADDRESS ON FILE
HEATH, RENEE                          ADDRESS ON FILE
HEATH, STEVE                          ADDRESS ON FILE
HEATH, TIMOTHY                        ADDRESS ON FILE
HEATHER A TANNER                      ADDRESS ON FILE
HEATHER M FRIEND                      ADDRESS ON FILE
HEATHER NAUERT NORBY                  ADDRESS ON FILE
HEATHER NAUERT NORBY                  ADDRESS ON FILE
HEATHER SLIVAN                        ADDRESS ON FILE
HEATHER THOMAS                        ADDRESS ON FILE
HEATHER WEISS                         ADDRESS ON FILE
HEATHER, MILES S                      ADDRESS ON FILE
HEATHERTON, KURTIS                    ADDRESS ON FILE
HEATHMAN, DONALD                      ADDRESS ON FILE
HEATHMAN, JEFFREY                     ADDRESS ON FILE
HEATLEY, DAVID                        ADDRESS ON FILE
HEATLEY, TIMOTHY                      ADDRESS ON FILE
HEATON, TOD                           ADDRESS ON FILE
HEATWOLE, DAVID                       ADDRESS ON FILE
HEAVEN EXPRESS INC                    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HEAVEN EXPRESS LLC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
HEAVEN EXPRESS LLC (ALLENTOWN PA)     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HEAVEN GROUP TRANSPORTATION LLC       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HEAVENER, BRYAN                       ADDRESS ON FILE
HEAVENER, RONALD                      ADDRESS ON FILE
HEAVENLY BOUND EXPRESS SERVICES LLC   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
HEAVRIN, JOHN                         ADDRESS ON FILE
HEAVY B TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HEAVY HAUL SOLUTIONS LLC              OR COMMERCIAL FUNDING INC, PO BOX 207527 DALLAS TX 75320-7527
HEAVY LANE TRANSPORT                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HEAVY LOAD TRANSPORT LLC              OR PDM FINANCIAL LLC, P.O.BOX 3336 DES MOINES IA 50316
HEAVY MOTORS & LOGISTICS LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HEAVY TREAD TRUCKING LLC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HEAWY TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HEB LOGISTICS INC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HEBENSTREIT, RICHARD                  ADDRESS ON FILE
HEBERT, BRITTANY                      ADDRESS ON FILE
HEBERT, CHRISTIAN                     ADDRESS ON FILE
HEBERT, DUANE                         ADDRESS ON FILE
HEBERT, JAMES                         ADDRESS ON FILE
HEBERT, MICHAEL                       ADDRESS ON FILE
HEBREW TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411



Epiq Corporate Restructuring, LLC                                                                  Page 835 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 844 of 2156

Claim Name                               Address Information
HEBREW TRANSPORT LLC                     CHICAGO IL 60674-0411
HEBRON TRUCKING LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HECHAVARRIA PEREZ LLC                    OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
HECHT, BRIAN                             ADDRESS ON FILE
HECK, WESLEY A                           ADDRESS ON FILE
HECKARD, ANDREW                          ADDRESS ON FILE
HECKENBACH, WILLIAM                      ADDRESS ON FILE
HECKMAN, STEVEN                          ADDRESS ON FILE
HECKS LAWN SERVICE & SNOWPLOWING         11724 CARROLL LYNN DRIVE FORT WAYNE IN 46818
HECTOR D CARATACHEA                      ADDRESS ON FILE
HECTOR M LOPEZ                           ADDRESS ON FILE
HECTOR MARTINEZ TRANSP & LOGISTICS LLC   OR TETRA CAPITAL LLC PO BOX 25297 SALT LAKE CITY UT 84125
HECTOR MONTENEGRO                        ADDRESS ON FILE
HECTOR VALENZUELA RENTERIA               ADDRESS ON FILE
HECTOR VARGAS                            ADDRESS ON FILE
HECTOR, ANTHONY                          ADDRESS ON FILE
HECTOR, LOUIS                            ADDRESS ON FILE
HEDAC TRUCKING LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HEDDEN, JEFFREY                          ADDRESS ON FILE
HEDDEN, TROY                             ADDRESS ON FILE
HEDEEN, PAUL                             ADDRESS ON FILE
HEDENKAMP, BILL                          ADDRESS ON FILE
HEDGCOTH, STEVEN                         ADDRESS ON FILE
HEDGE & HERBERG, INC.                    PO BOX 98 BIG STONE CITY SD 57216
HEDGECOCK, JAMES                         ADDRESS ON FILE
HEDGEPETH, SAMUEL                        ADDRESS ON FILE
HEDGER, JOHN                             ADDRESS ON FILE
HEDGES, CHRISTOPHER                      ADDRESS ON FILE
HEDGES, JAMES                            ADDRESS ON FILE
HEDING, COLTON                           ADDRESS ON FILE
HEDKE, DANIEL L                          ADDRESS ON FILE
HEDRICK, ADAM                            ADDRESS ON FILE
HEDRICK, CASSANDRA                       ADDRESS ON FILE
HEDRICK, JACQUELINE                      ADDRESS ON FILE
HEDRICK, JEFFREY D                       ADDRESS ON FILE
HEDRICK, MICHAEL                         ADDRESS ON FILE
HEDRICK, RANDAL                          ADDRESS ON FILE
HEDRICK, REID                            ADDRESS ON FILE
HEEG TRUCKING                            PO BOX 1134 APPLETON WI 54912
HEENAN, MICHAEL                          ADDRESS ON FILE
HEENAN, TOM                              ADDRESS ON FILE
HEER GROUP TRUCKING INC                  OR BLACKJACK EXPRESS, INC., PO BOX 5699 CAROL STREAM IL 60197
HEER TRUCKING INC                        10703 POKAGON WAY INDIANAPOLIS IN 46239
HEER TRUCKING INC (MC001910)             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HEERDE, GLEN                             ADDRESS ON FILE
HEEREN, KEITH                            ADDRESS ON FILE
HEEREN, RICHARD                          ADDRESS ON FILE
HEETER PLUMBING LLC                      8633 N DIXIE DR DAYTON OH 45414
HEFFELFINGER JR, MICHAEL                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 836 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 845 of 2156

Claim Name                          Address Information
HEFFELFINGER, DONALD                ADDRESS ON FILE
HEFFERNAN, WILLIAM                  ADDRESS ON FILE
HEFFLEFINGER, TERRY                 ADDRESS ON FILE
HEFFLEY, JACK                       ADDRESS ON FILE
HEFFNER, ADOLPHUS                   ADDRESS ON FILE
HEFFNER, ADOLPHUS                   ADDRESS ON FILE
HEFLIN ENTERPRISES LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
HEFLIN, JAN                         ADDRESS ON FILE
HEFNER, RICHARD                     ADDRESS ON FILE
HEFNER, TRACY                       ADDRESS ON FILE
HEFNER-MANUEL, KENYA                ADDRESS ON FILE
HEFTON, MICHAEL                     ADDRESS ON FILE
HEGAR, JESSIE                       ADDRESS ON FILE
HEGENER, DAVID                      ADDRESS ON FILE
HEGERTY, WILLIAM                    ADDRESS ON FILE
HEGEWALD, DAVID                     ADDRESS ON FILE
HEGGE, JILL                         ADDRESS ON FILE
HEGGS TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HEGI, LEONARD                       ADDRESS ON FILE
HEGRENES, BRIAN                     ADDRESS ON FILE
HEH TRUCKING INC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
HEHAR TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HEIBERG, CLAYT                      ADDRESS ON FILE
HEICHEL, DENNIS                     ADDRESS ON FILE
HEICHELBECH, TIM                    ADDRESS ON FILE
HEIDELBERG, ISIAH                   ADDRESS ON FILE
HEIDELBERG, JOHN                    ADDRESS ON FILE
HEIDELBERG, MICHAEL                 ADDRESS ON FILE
HEIDEN PLUMBING COMPANY, INC        1100 W. BRUCE ST. MILWAUKEE WI 53204
HEIDER ELECTRIC INC                 PO BOX 233 TWIN FALLS ID 83303
HEIDLE, BRIAN                       ADDRESS ON FILE
HEIER, NORMAN                       ADDRESS ON FILE
HEIER, THEA                         ADDRESS ON FILE
HEIGHT, CHYANN                      ADDRESS ON FILE
HEIGHT, DEMARIO                     ADDRESS ON FILE
HEIGHTLAND, BILLY                   ADDRESS ON FILE
HEIGHTON, MIKE                      ADDRESS ON FILE
HEIGL ADHESIVES                     7667 CAHILL RD 100 EDINA MN 55439
HEIKES, JAMES                       ADDRESS ON FILE
HEIM, DAVID                         ADDRESS ON FILE
HEIMAN FIRE EQUIPMENT INC.          25814 RUDOLPH AVE SIOUX FALLS SD 57107
HEIMAN, JON                         ADDRESS ON FILE
HEIN, HENRY                         ADDRESS ON FILE
HEIN, JEFFREY                       ADDRESS ON FILE
HEIN, NATHAN                        ADDRESS ON FILE
HEINAR TRUCKING LLC                 OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
HEINECKE, BRANDON                   ADDRESS ON FILE
HEINEY, RONALD                      ADDRESS ON FILE
HEININGER, ROBERT                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 837 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 846 of 2156

Claim Name                           Address Information
HEINLY, JON                          ADDRESS ON FILE
HEINRICHS, BRANDON                   ADDRESS ON FILE
HEINRICHS, GLEN                      ADDRESS ON FILE
HEINS EMPLOYMENT LAW PRACTICE LLC    1001 W GLEN OAKS LN MEQUON WI 53092
HEINS, HERNANDEZ                     ADDRESS ON FILE
HEINS, HERNANDEZ                     ADDRESS ON FILE
HEINZ STRATEGIES LLC                 CENTRAL STATE PENSION FUND ATTN: SUE ROGOWSKI 8647 W. HIGGINS ROAD CHICAGO IL
                                     60631
HEINZ, CHRISTOPHER                   ADDRESS ON FILE
HEINZE, DON                          ADDRESS ON FILE
HEISER LOGISTICS                     35 NORTH STREET SUITE 50 CANANDAIGUA NY 14424
HEISER, JAMES                        ADDRESS ON FILE
HEISEY, ROBERT                       ADDRESS ON FILE
HEISEY, SCOTT                        ADDRESS ON FILE
HEITMAN, RICHARD                     ADDRESS ON FILE
HEITMANN, CAROL                      ADDRESS ON FILE
HEITZ, MICHAEL                       ADDRESS ON FILE
HEITZMAN, MATTHEW                    ADDRESS ON FILE
HELBIG, GREGORY                      ADDRESS ON FILE
HELBING, SHANE                       ADDRESS ON FILE
HELD, MICHAEL                        ADDRESS ON FILE
HELDA FRAGOSO                        ADDRESS ON FILE
HELDERMAN, ANDREW                    ADDRESS ON FILE
HELDERMAN, KEVIN                     ADDRESS ON FILE
HELDERMAN, THOMAS                    ADDRESS ON FILE
HELEN PITEO INTERIORS                2795 W MAIN ST WAPPINGERS FALLS 12590
HELENA AGRI ENTERPRISES              3100 ORANGE GROVE AVE NORTH HIGHLANDS CA 95660
HELENS DELIVERY LLC                  OR LOAD X FACTORING, PO BOX 41 JARRELL TX 76537
HELEY TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HELGESEN, KORBIN                     ADDRESS ON FILE
HELGESON, TRACEY                     ADDRESS ON FILE
HELIAE DEVELOPMENT LLC               614 E GERMANN RD GILBERT AZ 85297
HELIN, ROBERT                        ADDRESS ON FILE
HELIOSPHERE INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
HELIS, PAUL                          ADDRESS ON FILE
HELIX MECHANICAL INC                 1100 N MAGNOLIA AVE SUITE L EL CAJON CA 92020
HELIX UNDERWRITING PARTNERS LTD      96 PITTS BAY ROAD CHESNEY HOUSE HAMILTON HM 08 BERMUDA
HELLERMAN, CINDY                     ADDRESS ON FILE
HELLING, CHASE                       ADDRESS ON FILE
HELLMUTH, EBERT                      ADDRESS ON FILE
HELLRICH, WESLEY                     ADDRESS ON FILE
HELLSING TRUCKING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HELLSING TRUCKING LLC                1014 SAVI DR UNIT 103 CORONA CA 92880-7775
HELLYER, KEVIN                       ADDRESS ON FILE
HELM, MICHAEL                        ADDRESS ON FILE
HELM, PAULA                          ADDRESS ON FILE
HELMAN, JOHN                         ADDRESS ON FILE
HELMAR                               100 RED SCHOOLHOUSE RD UNIT C7 CHESTNUT RIDGE NY 10977
HELMAR INC                           ATTN: MARYANN VECCHIO 100 RED SCHOOLHOUSE RD STE C7 CHESTNUT RIDGE NY 10977



Epiq Corporate Restructuring, LLC                                                                Page 838 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 847 of 2156

Claim Name                               Address Information
HELMS, MISTY D                           ADDRESS ON FILE
HELP ME HELP YOU HELP SOMEONE ELSE LLC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HELP US HELP U LOGISTICS INC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HELPFAST PERSONNEL INC                   5920 ATLANTIC DR MISSISSAUGA ON L4W 1N6 CANADA
HELPING HANDS SERVICES KANSAS            311 E 7TH STREET STE. A JOPLIN MO 64801
HELPING HANDS TRUCKING SERVICE LLC       OR SEVENOAKS CAPITAL ASSOCIATES LLC PO BOX 669130 HOUSTON TX 75266
HELPSYSTEMS LLC                          NW 5955, PO BOX 1450 MINNEAPOLIS MN 55485
HELPU2BESEEN LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HELSEL-JEPPERSON ELECTRICAL              103 N. HALSTED STREET, P.O. BOX 310 CHICAGO HEIGHTS IL 60412
INCORPORATED
HELSINKI CUSTOMS AND REPAIR LLC          P.O. BOX 547 FRUITA CO 81521
HELTON, CHARLES                          ADDRESS ON FILE
HELTON, CODY J                           ADDRESS ON FILE
HELTON, GALE                             ADDRESS ON FILE
HELTON, GALE                             ADDRESS ON FILE
HELTON, RICHARD                          ADDRESS ON FILE
HELTON, SHERRY                           ADDRESS ON FILE
HELUKABEL                                1201 WESEMANN DR W DUNDEE IL 60118
HELVIE, KEVIN                            ADDRESS ON FILE
HELZER, KIRK                             ADDRESS ON FILE
HEMANN, ZACHARY                          ADDRESS ON FILE
HEMBREE, ANDREW                          ADDRESS ON FILE
HEMET VALLEY RV                          4149 E FLORIDA AVE HEMET CA 92544
HEMET VALLEY RV                          41491 E FLORIDA AVE HEMET CA 92544
HEMET VALLEY RV0060091849)               41491 STATE HIGHWAY 74 HEMET CA 92544
HEMLOCK ENTERPRISE LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HEMMANN, RICKY                           ADDRESS ON FILE
HEMMEKE, KEN                             ADDRESS ON FILE
HEMMING, DANNY                           ADDRESS ON FILE
HEMMINGSON, JOHN                         ADDRESS ON FILE
HEMPHILL & SON, INC.                     PO BOX 160 TOCCOA GA 30577
HEMPHILL, MARK                           ADDRESS ON FILE
HEMPLEMAN, SARA                          ADDRESS ON FILE
HEMPSTEAD COUNTY SHERIFFS DEPT           PO BOX 416 HOPE AR 71802
HEMPSTEAD HOT SHOT LLC                   30806 MELLMAN RD HEMPSTEAD TX 77445
HEMRY, MARTIN                            ADDRESS ON FILE
HEMY TRANSPORT LOGISTICS LLC             OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
HENDERSON CIRCUIT COURT CLERK            CLYDE GREGORY SUTTON, PO BOX 675 HENDERSON KY 42419
HENDERSON NISSAN                         ATTN: DENISE HENDRIX 295 AUTO MALL DRIVE HENDERSON NV 89014-6707
HENDERSON SR, JOHN                       ADDRESS ON FILE
HENDERSON, BETTY JO                      ADDRESS ON FILE
HENDERSON, BRANDON                       ADDRESS ON FILE
HENDERSON, BRUNARD                       ADDRESS ON FILE
HENDERSON, CAMERON                       ADDRESS ON FILE
HENDERSON, CAROL                         ADDRESS ON FILE
HENDERSON, CEDRIC                        ADDRESS ON FILE
HENDERSON, CICELY                        ADDRESS ON FILE
HENDERSON, CLAUDE                        ADDRESS ON FILE
HENDERSON, COURTNEY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 839 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 848 of 2156

Claim Name                          Address Information
HENDERSON, DARIUS                   ADDRESS ON FILE
HENDERSON, DEVIN                    ADDRESS ON FILE
HENDERSON, DONYALE                  ADDRESS ON FILE
HENDERSON, EMIL                     ADDRESS ON FILE
HENDERSON, FRANKLIN                 ADDRESS ON FILE
HENDERSON, HALLE                    ADDRESS ON FILE
HENDERSON, HOLLIS                   ADDRESS ON FILE
HENDERSON, JAAMAL                   ADDRESS ON FILE
HENDERSON, JAMES                    ADDRESS ON FILE
HENDERSON, JASHAUN                  ADDRESS ON FILE
HENDERSON, JASON                    ADDRESS ON FILE
HENDERSON, JENNA                    ADDRESS ON FILE
HENDERSON, JEREMIAH                 ADDRESS ON FILE
HENDERSON, JEWELL                   ADDRESS ON FILE
HENDERSON, JOHN                     ADDRESS ON FILE
HENDERSON, JOHN                     ADDRESS ON FILE
HENDERSON, JOHNNIE L                ADDRESS ON FILE
HENDERSON, JOSEPH                   ADDRESS ON FILE
HENDERSON, JOSEPH M                 ADDRESS ON FILE
HENDERSON, JOSHUA                   ADDRESS ON FILE
HENDERSON, JOSHUA                   ADDRESS ON FILE
HENDERSON, JOSIE                    ADDRESS ON FILE
HENDERSON, KYLEE                    ADDRESS ON FILE
HENDERSON, LARRY                    ADDRESS ON FILE
HENDERSON, MARCUS                   ADDRESS ON FILE
HENDERSON, MICHAEL                  ADDRESS ON FILE
HENDERSON, NICKLOS D                ADDRESS ON FILE
HENDERSON, PAUL                     ADDRESS ON FILE
HENDERSON, PAUL                     ADDRESS ON FILE
HENDERSON, RANDY                    ADDRESS ON FILE
HENDERSON, RASHAD                   ADDRESS ON FILE
HENDERSON, RICKY                    ADDRESS ON FILE
HENDERSON, ROSS                     ADDRESS ON FILE
HENDERSON, SCOTT                    ADDRESS ON FILE
HENDERSON, SCOTT W                  ADDRESS ON FILE
HENDERSON, SHAYNE                   ADDRESS ON FILE
HENDERSON, TAMI                     ADDRESS ON FILE
HENDERSON, TIM                      ADDRESS ON FILE
HENDERSON, TONY                     ADDRESS ON FILE
HENDERSON, TRUDY                    ADDRESS ON FILE
HENDERSON, TYJUAN                   ADDRESS ON FILE
HENDERSON, TYLER                    ADDRESS ON FILE
HENDERSON, WILLIE                   ADDRESS ON FILE
HENDERSON, YVONNE                   ADDRESS ON FILE
HENDERSON-TRUCKING LLC              2512 MEDFORD CAMPBELL BLVD MURFREESBORO TN 37127-6996
HENDKING, MAURICE                   ADDRESS ON FILE
HENDLEY, ERIC                       ADDRESS ON FILE
HENDREN, TERRY                      ADDRESS ON FILE
HENDRICK, ROBIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 840 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 849 of 2156

Claim Name                          Address Information
HENDRICKS, BRETT                    ADDRESS ON FILE
HENDRICKS, JOHN                     ADDRESS ON FILE
HENDRICKS, KENOLY                   ADDRESS ON FILE
HENDRICKS, LEROY                    ADDRESS ON FILE
HENDRICKS, MARCUS                   ADDRESS ON FILE
HENDRICKS, MARSHALL                 ADDRESS ON FILE
HENDRICKS, MIKE                     ADDRESS ON FILE
HENDRICKS, PAUL                     ADDRESS ON FILE
HENDRICKS, ROBERT                   ADDRESS ON FILE
HENDRICKSON                         EMERGENCY SERVICE, 140 HOFFMAN LANE ISLANDIA NY 11749
HENDRICKSON                         TRUCK CENTER, 140 HOFFMAN LANE ISLANDIA NY 11749
HENDRICKSON TRUCK LINES             C/O TRANSPORTATION ALLIANCE BANK, PO BOX 150290 OGDEN UT 84415
HENDRICKSON TRUCK LINES             OR TAB BANK, PO BOX 150290 OGDEN UT 84415
HENDRICKSON, JAMES                  ADDRESS ON FILE
HENDRICKSON, MATTHEW                ADDRESS ON FILE
HENDRICKSON, THOMAS                 ADDRESS ON FILE
HENDRICKSONS TOWING, INC.           3285 N WRIGHT RD IDAHO FALLS ID 83401
HENDRIKSON, RODNEY                  ADDRESS ON FILE
HENDRIX, GALEN E                    ADDRESS ON FILE
HENDRIX, NICOLE                     ADDRESS ON FILE
HENDRIX, RACHEL                     ADDRESS ON FILE
HENDRIX, TIMOTHY                    ADDRESS ON FILE
HENDRIX, VINCENT                    ADDRESS ON FILE
HENDSBEE, BRADLEY                   ADDRESS ON FILE
HENDSBEE, DARYL                     ADDRESS ON FILE
HENEGHAN, KENNETH                   ADDRESS ON FILE
HENG, SOKLA                         ADDRESS ON FILE
HENG, STEVEN                        ADDRESS ON FILE
HENGJIA TRANSPORTATION INC          OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HENISE, WESLEY                      ADDRESS ON FILE
HENKE, PATRICK                      ADDRESS ON FILE
HENKEL CORP                         CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
HENKEL CORPORATION                  PO BOX 27950 SCOTTSDALE AZ 85255
HENKEL GLOBAL                       PO BOX 490 TROY MI 48099
HENKEL GLOBAL SUPPLY CHAIN          PO BOX 21511 NEW YORK NY 10087
HENKEL GLOBAL SUPPLY CHAIN          PO BOX 21511 NEW YORK NY 10087-1511
HENKES, JAMES                       ADDRESS ON FILE
HENLE, HEIDI                        ADDRESS ON FILE
HENLE, SCOTT                        ADDRESS ON FILE
HENLEY, GARY                        ADDRESS ON FILE
HENLEY, HANNAH                      ADDRESS ON FILE
HENLEY, KEVIN                       ADDRESS ON FILE
HENLEY, LAUREN                      ADDRESS ON FILE
HENNEMAN, MICHAEL                   ADDRESS ON FILE
HENNEN, KIEL                        ADDRESS ON FILE
HENNEPIN COUNTY                     A-600 GOVERNMENT CENTER 300 SOUTH 6TH STREET MINNEAPOLIS MN 55487
HENNESSY & HENNESSY P.C.            PO BOX 5211 WEST CHESTER PA 19380
HENNING, DANIEL                     ADDRESS ON FILE
HENNING, MIKE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 841 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 850 of 2156

Claim Name                              Address Information
HENNING, RISASI                         ADDRESS ON FILE
HENNINGER, CLAY                         ADDRESS ON FILE
HENNINGER, JACOB                        ADDRESS ON FILE
HENNINGHAM, MICAIAH                     ADDRESS ON FILE
HENNIS, DENNIS                          ADDRESS ON FILE
HENO TRANSPORT LLC                      OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
HENOK TRANSPORTATION                    642 TIFFANY TR, 0 RICHARDSON TX 75081
HENOS TRUCKING LLC                      OR APEX CAPITAL CORP, P.O.BOX 961029 FORT WORTH TX 76161
HENRI P ARDANTZ                         ADDRESS ON FILE
HENRICH, DONALD                         ADDRESS ON FILE
HENRICH, ROBERT                         ADDRESS ON FILE
HENRICHSMEYER, NICHOLAS                 ADDRESS ON FILE
HENRICKSON, CHRISTOPHER                 ADDRESS ON FILE
HENRICO LOGISTICS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HENRIKSEN, KEVIN                        ADDRESS ON FILE
HENRIKSEN, THOMAS                       ADDRESS ON FILE
HENRIQUES, KYLER                        ADDRESS ON FILE
HENRIQUEZ, JOSE                         ADDRESS ON FILE
HENRIQUEZ, MICHAEL                      ADDRESS ON FILE
HENRY CO                                3810 MILLER PARK DR GARLAND TX 75042
HENRY COUNTY CLERK OF COURT             100 E WASHINTON SUITE 300 MOUNT PLEASANT IA 52641
HENRY D GARAY                           ADDRESS ON FILE
HENRY ELECTRIC INC                      3709 TRANSPORTATION DR FORT WAYNE IN 46818
HENRY FORD ALLEGIANCE OCCL HEALTH       100 E MICHIGAN AVE SUITE 101 JACKSON MI 49201
HENRY NATIONAL TRANSPORTATION LLC       7928 E 130TH CT GRANDVIEW MO 64030-2740
HENRY POPIEL                            ADDRESS ON FILE
HENRY ROBLES ROMERO                     ADDRESS ON FILE
HENRY RODRIGUEZ ELECTRICAL CONTRACTOR   14522 SW 142 PL CIR MIAMI FL 33186
HENRY S GRAYS TOWING                    D/B/A: REINERT & BENDER INC 12075 DIXIE HWY BIRCH RUN MI 48415
HENRY S. GRAYS TOWING                   D/B/A: REINERT & BENDER INC 12075 DIXIIE HIGHWAY BIRCH RUN MI 48415
HENRY V HEIN                            ADDRESS ON FILE
HENRY, ALBERT                           ADDRESS ON FILE
HENRY, BENJAMIN                         ADDRESS ON FILE
HENRY, CHRISTOPHER                      ADDRESS ON FILE
HENRY, CORY                             ADDRESS ON FILE
HENRY, DALE                             ADDRESS ON FILE
HENRY, DAMON                            ADDRESS ON FILE
HENRY, DANIEL                           ADDRESS ON FILE
HENRY, DARRYL                           ADDRESS ON FILE
HENRY, DONAVON                          ADDRESS ON FILE
HENRY, JAMES                            ADDRESS ON FILE
HENRY, JASON                            ADDRESS ON FILE
HENRY, JEFFERY                          ADDRESS ON FILE
HENRY, JOSHUA                           ADDRESS ON FILE
HENRY, JOSHUA                           ADDRESS ON FILE
HENRY, JULIE                            ADDRESS ON FILE
HENRY, LA TASHA                         ADDRESS ON FILE
HENRY, MAXINE                           ADDRESS ON FILE
HENRY, MORLON                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 842 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 851 of 2156

Claim Name                          Address Information
HENRY, NICHOLAS                     ADDRESS ON FILE
HENRY, PAUL                         ADDRESS ON FILE
HENRY, RICHARD                      ADDRESS ON FILE
HENRY, RICKEY                       ADDRESS ON FILE
HENRY, RODERICK                     ADDRESS ON FILE
HENRY, THOMAS                       ADDRESS ON FILE
HENRY, TYRONE                       ADDRESS ON FILE
HENSCHEL, CRAIG                     ADDRESS ON FILE
HENSEL, TIMOTHY                     ADDRESS ON FILE
HENSEL, TODD                        ADDRESS ON FILE
HENSLEY, CECIL                      ADDRESS ON FILE
HENSLEY, DARREN                     ADDRESS ON FILE
HENSLEY, GARY                       ADDRESS ON FILE
HENSLEY, INC.                       PO BOX 597 OSAKIS MN 56360
HENSLEY, JAMES                      ADDRESS ON FILE
HENSLEY, JAMES                      ADDRESS ON FILE
HENSLEY, JAY                        ADDRESS ON FILE
HENSLEY, JEREMY                     ADDRESS ON FILE
HENSLEY, M                          ADDRESS ON FILE
HENSLEY, NICHOLAS                   ADDRESS ON FILE
HENSLEY, ROBERT                     ADDRESS ON FILE
HENSLEY, STEVE                      ADDRESS ON FILE
HENSLEY, STEVE H                    ADDRESS ON FILE
HENSLEY, TODD                       ADDRESS ON FILE
HENSON TRUCKING                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
HENSON, BRANDON                     ADDRESS ON FILE
HENSON, HENRY                       ADDRESS ON FILE
HENSON, JAMES                       ADDRESS ON FILE
HENSON, JIMMY                       ADDRESS ON FILE
HENSON, MICHAEL                     ADDRESS ON FILE
HENSON, NATASHA                     ADDRESS ON FILE
HENSON, RICHARD                     ADDRESS ON FILE
HENSON, TIMOTHY                     ADDRESS ON FILE
HENSON, TOMMY                       ADDRESS ON FILE
HENSON, WESLEY                      ADDRESS ON FILE
HENTON, PAUL                        ADDRESS ON FILE
HENTON, SHANIKA                     ADDRESS ON FILE
HENTZ, MEGAN                        ADDRESS ON FILE
HENWILL TRUCKING LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HENY TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HEO TRUCKING INC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
HEP INC                             PO BOX 14668 KNOXVILLE TN 37914
HEPACO                              PO BOX 746228 ATLANTA GA 30374
HEPNER, JEFF                        ADDRESS ON FILE
HEPPERLE, NATHAN                    ADDRESS ON FILE
HER, CHOUA                          ADDRESS ON FILE
HER, KYLE                           ADDRESS ON FILE
HER, WINN                           ADDRESS ON FILE
HERALD, DANNY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 843 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 852 of 2156

Claim Name                             Address Information
HERBEL, GRANT                          ADDRESS ON FILE
HERBER, ROBERT                         ADDRESS ON FILE
HERBERT WILLIAMS FIRE EQUIPMENT LTD.   3115 MARKHAM ROAD UNIT1 TORONTO ON M1X 0B5 CANADA
HERBERT, AARON                         ADDRESS ON FILE
HERBERT, ANTONIO                       ADDRESS ON FILE
HERBERT, BRETT                         ADDRESS ON FILE
HERBERT, MARK                          ADDRESS ON FILE
HERBERT, STEPHAN                       ADDRESS ON FILE
HERBERT, THOMAS                        ADDRESS ON FILE
HERBIE TRUCKING                        OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
HERBOTH, NICHOLAS                      ADDRESS ON FILE
HERBSTER, MITCHELL                     ADDRESS ON FILE
HERC RENTALS                           PO BOX 936257 ATLANTA GA 31193
HERC RENTALS                           770 LARSEN LN. BENSENVILLE IL 60106
HERC RENTALS                           P.O.BOX 650280 DALLAS TX 75265
HERC U LIFT                            5655 HIGHWAY 12 MAPLE PLAIN MN 55359
HERC U LIFT                            5655 US HWY 12 W MAPLE PLAIN MN 55359
HERC U LIFT                            PO BOX 69 MAPLE PLAIN MN 55359-0069
HERCHE, ARVIN                          ADDRESS ON FILE
HERCIS LOGISTICS                       OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
HERCORP                                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HERCULES IND                           255 S BABBITT DR FLAGSTAFF AZ 86001
HERDER, JAMES                          ADDRESS ON FILE
HERDT, KENNETH                         ADDRESS ON FILE
HERE & THERE TRUCKING LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
HERE AND THERE INTERNATIONAL LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HERE AND THERE TRUCKING LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HERE WE COME TRUCKING LLC              OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HEREDIA, JUAN                          ADDRESS ON FILE
HEREDIA, LUIS                          ADDRESS ON FILE
HEREDIA, MATHEW                        ADDRESS ON FILE
HEREFORD, PHIL                         ADDRESS ON FILE
HERGENHAN, STACY                       ADDRESS ON FILE
HERGETT, TERI                          ADDRESS ON FILE
HERGO EXPRESS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
HERGZ GLOBAL LOGISTICS LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HERIG, JASON                           ADDRESS ON FILE
HERING, JAMES                          ADDRESS ON FILE
HERITAGE CARRIERS LLC                  504 DEACON RIDGE ST WAKE FOREST NC 27587
HERITAGE CRYSTAL CLEAN LLC             2000 CENTER DRIVE SUITE EAST C300 HOFFMAN ESTATES IL 60192
HERITAGE CRYSTAL CLEAN LLC             13621 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
HERITAGE CRYSTAL CLEAN LLC             13621 COLLECTIONS CTR DRIVE CHICAGO IL 60693-0136
HERITAGE FREIGHT WAREHOUSING &         PO BOX 125 SYLACAUGA AL 35150
LOGISTICS
HERITAGE HAULERS LOGISTICS LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HERITAGE LOGISTICS LLC                 OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084-8244
HERITAGE MEDICAL GROUP                 PO BOX 7007 LANCASTER CA 93539
HERITAGE PACKAGING                     625 FISHERS RUN VICTOR NY 14564
HERITAGE PETROLEUM LLC                 PO BOX 6850 EVANSVILLE IN 47719



Epiq Corporate Restructuring, LLC                                                                   Page 844 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 853 of 2156

Claim Name                             Address Information
HERITAGE PROPANE                       1873 MILFORD AVE. MARYSVILLE OH 43040
HERITAGE TRANSIT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HERITAGE TRANSPORTATION GROUP LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HERITAGE VICTOR VALLEY MEDICAL GROUP   PO BOX 7007 LANCASTER CA 93539
HERKEN, BLAIR                          ADDRESS ON FILE
HERKEY, LISA                           ADDRESS ON FILE
HERKO, FREDERICK                       ADDRESS ON FILE
HERLACHE TRUCK LINES LLC               PO BOX 362 FOND DU LAC WI 54936
HERLAND TRUCKING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HERLIHY, DOUGLAS                       ADDRESS ON FILE
HERMAN BRAXTON                         ADDRESS ON FILE
HERMAN, DANIEL                         ADDRESS ON FILE
HERMAN, GEORGE                         ADDRESS ON FILE
HERMAN, MARK                           ADDRESS ON FILE
HERMANN TRANSPORTATION SERVICES        PO BOX 95000-5985, PO BOX 161086 PHILADELPHIA PA 19195-5985
HERMANN, JOHN                          ADDRESS ON FILE
HERMANS BODY SHOP                      7510 TYLER BLVD MENTOR OH 44060
HERMANSEN, BRETT                       ADDRESS ON FILE
HERMANSON, DONALD                      ADDRESS ON FILE
HERMELO O HIERRO                       ADDRESS ON FILE
HERMES NVC CORP                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HERMES NVC CORP.                       650 E. 107TH STREET SUITE 140 BOLINGBROOK IL 60440
HERMES SERVICE AND SALES LLC           PO BOX 3304 BLOOMINGTON IL 61702
HERMES SERVICE AND SALES, LLC          409 S CENTER ST BLOOMINGTON IL 61701
HERMES TRANS INC                       OR ASSIST FINANCIAL SERVICES, PO BOX 347 MADISON SD 57042
HERMES TRUCKING LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HERMOSILLO, EDGAR                      ADDRESS ON FILE
HERMOSILLO, MARTIN                     ADDRESS ON FILE
HERMOSILLO, RUBEN                      ADDRESS ON FILE
HERNANDEZ BETANCES, NICOLE             ADDRESS ON FILE
HERNANDEZ CHAMBERLAIN, ADRIEL          ADDRESS ON FILE
HERNANDEZ CHICAS, ELMER                ADDRESS ON FILE
HERNANDEZ CUEVAS, JOEL                 ADDRESS ON FILE
HERNANDEZ ENTERPRISES LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HERNANDEZ HAULERS LLC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HERNANDEZ JR, JERRY                    ADDRESS ON FILE
HERNANDEZ JR., ANTONIO                 ADDRESS ON FILE
HERNANDEZ REYES, JORGE                 ADDRESS ON FILE
HERNANDEZ SANCHEZ, CECILIO             ADDRESS ON FILE
HERNANDEZ, ABI                         ADDRESS ON FILE
HERNANDEZ, ADAM                        ADDRESS ON FILE
HERNANDEZ, ADAM                        ADDRESS ON FILE
HERNANDEZ, ADRIAN                      ADDRESS ON FILE
HERNANDEZ, AGUSTIN                     ADDRESS ON FILE
HERNANDEZ, ALBERTO                     ADDRESS ON FILE
HERNANDEZ, ALEJANDRO                   ADDRESS ON FILE
HERNANDEZ, ALEXIS                      ADDRESS ON FILE
HERNANDEZ, ALFREDO                     ADDRESS ON FILE
HERNANDEZ, ALFREDO                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 845 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                       Page 854 of 2156

Claim Name                           Address Information
HERNANDEZ, AMPARO                    ADDRESS ON FILE
HERNANDEZ, ANDRES                    ADDRESS ON FILE
HERNANDEZ, ANDREW                    ADDRESS ON FILE
HERNANDEZ, ANDREW                    ADDRESS ON FILE
HERNANDEZ, ANGEL                     ADDRESS ON FILE
HERNANDEZ, ANGEL                     ADDRESS ON FILE
HERNANDEZ, ANGELA                    ADDRESS ON FILE
HERNANDEZ, ANTHONY                   ADDRESS ON FILE
HERNANDEZ, ANTHONY                   ADDRESS ON FILE
HERNANDEZ, ANTHONY                   ADDRESS ON FILE
HERNANDEZ, ANTHONY                   ADDRESS ON FILE
HERNANDEZ, ANTHONY M                 ADDRESS ON FILE
HERNANDEZ, ANTONIO                   ADDRESS ON FILE
HERNANDEZ, ANTONIO                   ADDRESS ON FILE
HERNANDEZ, ARMANDO                   ADDRESS ON FILE
HERNANDEZ, ARTEMIO                   ADDRESS ON FILE
HERNANDEZ, BENIGNO                   ADDRESS ON FILE
HERNANDEZ, BENJAMIN                  ADDRESS ON FILE
HERNANDEZ, BRIAN                     ADDRESS ON FILE
HERNANDEZ, CAMERON                   ADDRESS ON FILE
HERNANDEZ, CARLOS                    ADDRESS ON FILE
HERNANDEZ, CARLOS                    ADDRESS ON FILE
HERNANDEZ, CAROL                     ADDRESS ON FILE
HERNANDEZ, CESAR                     ADDRESS ON FILE
HERNANDEZ, CHRISTOHER                ADDRESS ON FILE
HERNANDEZ, CRUZ                      ADDRESS ON FILE
HERNANDEZ, DANIEL                    ADDRESS ON FILE
HERNANDEZ, DANIEL                    ADDRESS ON FILE
HERNANDEZ, DANIEL                    ADDRESS ON FILE
HERNANDEZ, DANIEL                    ADDRESS ON FILE
HERNANDEZ, DANNA                     ADDRESS ON FILE
HERNANDEZ, DAVID                     ADDRESS ON FILE
HERNANDEZ, DAVID                     ADDRESS ON FILE
HERNANDEZ, EDUARDO                   ADDRESS ON FILE
HERNANDEZ, EDUARDO                   ADDRESS ON FILE
HERNANDEZ, EDWARD                    ADDRESS ON FILE
HERNANDEZ, EDWARDO                   ADDRESS ON FILE
HERNANDEZ, EDWIN                     ADDRESS ON FILE
HERNANDEZ, EGRISELDO                 ADDRESS ON FILE
HERNANDEZ, ELIAS                     ADDRESS ON FILE
HERNANDEZ, ELIGIO                    ADDRESS ON FILE
HERNANDEZ, ELMER                     ADDRESS ON FILE
HERNANDEZ, EMELY                     ADDRESS ON FILE
HERNANDEZ, ERIC                      ADDRESS ON FILE
HERNANDEZ, ERIC                      ADDRESS ON FILE
HERNANDEZ, ERIC                      ADDRESS ON FILE
HERNANDEZ, ERIK                      ADDRESS ON FILE
HERNANDEZ, ERIKA                     ADDRESS ON FILE
HERNANDEZ, FELIPE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 846 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                      Page 855 of 2156

Claim Name                          Address Information
HERNANDEZ, FELIPE                   ADDRESS ON FILE
HERNANDEZ, FRANCIS                  ADDRESS ON FILE
HERNANDEZ, FRANCISCA                ADDRESS ON FILE
HERNANDEZ, FRANKIE                  ADDRESS ON FILE
HERNANDEZ, FREDDIE                  ADDRESS ON FILE
HERNANDEZ, GABRIEL                  ADDRESS ON FILE
HERNANDEZ, GABRIEL                  ADDRESS ON FILE
HERNANDEZ, GABRIEL                  ADDRESS ON FILE
HERNANDEZ, GABRIEL S                ADDRESS ON FILE
HERNANDEZ, GILBERT                  ADDRESS ON FILE
HERNANDEZ, GILBERT                  ADDRESS ON FILE
HERNANDEZ, GRACE                    ADDRESS ON FILE
HERNANDEZ, GREGORY                  ADDRESS ON FILE
HERNANDEZ, GUADALUPE                ADDRESS ON FILE
HERNANDEZ, HECTOR                   ADDRESS ON FILE
HERNANDEZ, HENRY P                  ADDRESS ON FILE
HERNANDEZ, HENRY P                  ADDRESS ON FILE
HERNANDEZ, JACOB                    ADDRESS ON FILE
HERNANDEZ, JEANETTE                 ADDRESS ON FILE
HERNANDEZ, JERRY                    ADDRESS ON FILE
HERNANDEZ, JOAQUIN G                ADDRESS ON FILE
HERNANDEZ, JOE                      ADDRESS ON FILE
HERNANDEZ, JOEL                     ADDRESS ON FILE
HERNANDEZ, JOEL                     ADDRESS ON FILE
HERNANDEZ, JOEL                     ADDRESS ON FILE
HERNANDEZ, JOEL                     ADDRESS ON FILE
HERNANDEZ, JOEY J                   ADDRESS ON FILE
HERNANDEZ, JONATHON                 ADDRESS ON FILE
HERNANDEZ, JORGE                    ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSE                     ADDRESS ON FILE
HERNANDEZ, JOSEPH                   ADDRESS ON FILE
HERNANDEZ, JOSHUA                   ADDRESS ON FILE
HERNANDEZ, JOSHUA                   ADDRESS ON FILE
HERNANDEZ, JOSUE                    ADDRESS ON FILE
HERNANDEZ, JUAN                     ADDRESS ON FILE
HERNANDEZ, JUAN                     ADDRESS ON FILE
HERNANDEZ, JUAN                     ADDRESS ON FILE
HERNANDEZ, JUAN                     ADDRESS ON FILE
HERNANDEZ, JULIAN                   ADDRESS ON FILE
HERNANDEZ, JULIO                    ADDRESS ON FILE
HERNANDEZ, KARL                     ADDRESS ON FILE
HERNANDEZ, KENNETH                  ADDRESS ON FILE
HERNANDEZ, LEONARDI                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                        Page 847 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                       Page 856 of 2156

Claim Name                           Address Information
HERNANDEZ, LEOVARDO                  ADDRESS ON FILE
HERNANDEZ, LUIS                      ADDRESS ON FILE
HERNANDEZ, LUIS                      ADDRESS ON FILE
HERNANDEZ, LUIS                      ADDRESS ON FILE
HERNANDEZ, MANUEL                    ADDRESS ON FILE
HERNANDEZ, MARCUS                    ADDRESS ON FILE
HERNANDEZ, MARIO                     ADDRESS ON FILE
HERNANDEZ, MICHAEL                   ADDRESS ON FILE
HERNANDEZ, MICHAEL                   ADDRESS ON FILE
HERNANDEZ, MIGUEL                    ADDRESS ON FILE
HERNANDEZ, MIGUEL A                  ADDRESS ON FILE
HERNANDEZ, MIGUEL A                  ADDRESS ON FILE
HERNANDEZ, MIRANDA L                 ADDRESS ON FILE
HERNANDEZ, MOISES                    ADDRESS ON FILE
HERNANDEZ, NICOLASA                  ADDRESS ON FILE
HERNANDEZ, OBDULIO                   ADDRESS ON FILE
HERNANDEZ, OVIDIO                    ADDRESS ON FILE
HERNANDEZ, PABLO                     ADDRESS ON FILE
HERNANDEZ, PAUL                      ADDRESS ON FILE
HERNANDEZ, PAUL                      ADDRESS ON FILE
HERNANDEZ, PEDRO                     ADDRESS ON FILE
HERNANDEZ, PETER                     ADDRESS ON FILE
HERNANDEZ, RAMON                     ADDRESS ON FILE
HERNANDEZ, RAUL                      ADDRESS ON FILE
HERNANDEZ, REBECCA                   ADDRESS ON FILE
HERNANDEZ, RENE                      ADDRESS ON FILE
HERNANDEZ, RENE                      ADDRESS ON FILE
HERNANDEZ, REYNALDO                  ADDRESS ON FILE
HERNANDEZ, RICARDO                   ADDRESS ON FILE
HERNANDEZ, RICARDO                   ADDRESS ON FILE
HERNANDEZ, RICARDO                   ADDRESS ON FILE
HERNANDEZ, RICHARD                   ADDRESS ON FILE
HERNANDEZ, RICHARD                   ADDRESS ON FILE
HERNANDEZ, RICO JAIME                ADDRESS ON FILE
HERNANDEZ, RIGOBERTO                 ADDRESS ON FILE
HERNANDEZ, RONNIE                    ADDRESS ON FILE
HERNANDEZ, ROSARIO                   ADDRESS ON FILE
HERNANDEZ, ROSENDO                   ADDRESS ON FILE
HERNANDEZ, RUBEN                     ADDRESS ON FILE
HERNANDEZ, RUDY                      ADDRESS ON FILE
HERNANDEZ, SANDRA                    ADDRESS ON FILE
HERNANDEZ, SERGIO                    ADDRESS ON FILE
HERNANDEZ, STEVEN                    ADDRESS ON FILE
HERNANDEZ, TIMOTHY                   ADDRESS ON FILE
HERNANDEZ, TONY                      ADDRESS ON FILE
HERNANDEZ, UZZIEL                    ADDRESS ON FILE
HERNANDEZ, VICENTE                   ADDRESS ON FILE
HERNANDEZ, VINCENTE                  ADDRESS ON FILE
HERNANDEZ, WALTER                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 848 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 857 of 2156

Claim Name                          Address Information
HERNANDEZ, WILLIAM                  ADDRESS ON FILE
HERNANDEZ-ANAYA, DAVID              ADDRESS ON FILE
HERNANDEZ-CAMBERO, NOEL             ADDRESS ON FILE
HERNANDEZ-LACY, SEAN N              ADDRESS ON FILE
HERNANDEZ-RAMIREZ, MARIO            ADDRESS ON FILE
HERNANDEZ-RAMIREZ, MARIO            ADDRESS ON FILE
HERNDON, DUSTIN                     ADDRESS ON FILE
HERNDON, ERIC                       ADDRESS ON FILE
HERO FREIGHT LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                    CHICAGO IL 60674-0411
HERO TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HERO TRANSPORT LLC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HEROD, DARRIN                       ADDRESS ON FILE
HEROLD, BRUCE                       ADDRESS ON FILE
HEROLD, RAYMOND                     ADDRESS ON FILE
HERRADA, DAVID                      ADDRESS ON FILE
HERRADI, NABIHA                     ADDRESS ON FILE
HERREN, AIMEE                       ADDRESS ON FILE
HERRERA CRISANTOS, JESUS            ADDRESS ON FILE
HERRERA EXPRESS LLC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
HERRERA HINOJOS, FRANCISCO          ADDRESS ON FILE
HERRERA, AARON                      ADDRESS ON FILE
HERRERA, ALBERT                     ADDRESS ON FILE
HERRERA, ALFREDO                    ADDRESS ON FILE
HERRERA, ARMANDO                    ADDRESS ON FILE
HERRERA, BETTE                      ADDRESS ON FILE
HERRERA, BRIAN                      ADDRESS ON FILE
HERRERA, CELINA                     ADDRESS ON FILE
HERRERA, CHRISTOPHER                ADDRESS ON FILE
HERRERA, DANIEL                     ADDRESS ON FILE
HERRERA, ELIEL                      ADDRESS ON FILE
HERRERA, EVAN                       ADDRESS ON FILE
HERRERA, HERMILINDO                 ADDRESS ON FILE
HERRERA, JEREMIAH                   ADDRESS ON FILE
HERRERA, JOEY                       ADDRESS ON FILE
HERRERA, JORGE                      ADDRESS ON FILE
HERRERA, JORGE                      ADDRESS ON FILE
HERRERA, JOSE                       ADDRESS ON FILE
HERRERA, JUAN                       ADDRESS ON FILE
HERRERA, JUAN                       ADDRESS ON FILE
HERRERA, JUAN                       ADDRESS ON FILE
HERRERA, JUAN                       ADDRESS ON FILE
HERRERA, MANUEL                     ADDRESS ON FILE
HERRERA, MIGUEL                     ADDRESS ON FILE
HERRERA, MOISES                     ADDRESS ON FILE
HERRERA, RAMON                      ADDRESS ON FILE
HERRERA, RAQUEL                     ADDRESS ON FILE
HERRERA, RUDY R                     ADDRESS ON FILE
HERRERA, SELSO                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 849 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 858 of 2156

Claim Name                           Address Information
HERRERA, STEVEN                      ADDRESS ON FILE
HERRERA-TIRADO, EMMANUEL             ADDRESS ON FILE
HERRERAS EXPRESS INC                 5455 S BOYLE AVE VERNON CA 90058
HERRERAS TRANSPORT LLC               1014 DE WITT AVE SANGER CA 93657
HERRICK TRANSPORT LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HERRICK, MICHAEL                     ADDRESS ON FILE
HERRICK, RAYMON G                    ADDRESS ON FILE
HERRICK, ZACHARY                     ADDRESS ON FILE
HERRIN, MARK                         ADDRESS ON FILE
HERRING, ALEXIS                      ADDRESS ON FILE
HERRING, DONNELL                     ADDRESS ON FILE
HERRING, JIMMY                       ADDRESS ON FILE
HERRING, JOSHUA                      ADDRESS ON FILE
HERRING, MARIO                       ADDRESS ON FILE
HERRING, SARAH                       ADDRESS ON FILE
HERRINGTON TRANSPORTATION INC        432 PRAIRIE AVENUE PARIS IL 61944
HERRINGTON, DANA                     ADDRESS ON FILE
HERRINGTON, DAVID B                  ADDRESS ON FILE
HERRINGTON, JAMES                    ADDRESS ON FILE
HERRINGTON, MICHAEL                  ADDRESS ON FILE
HERRINGTON, PAUL                     ADDRESS ON FILE
HERRIOTT, RONALD                     ADDRESS ON FILE
HERRLEY, BENJAMIN                    ADDRESS ON FILE
HERRMANN, CHRISTOPHER                ADDRESS ON FILE
HERRMANN, EDWARD                     ADDRESS ON FILE
HERRON HOTSHOT SERVICE               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HERRON SR., ANDRE                    ADDRESS ON FILE
HERRON, CHARLES                      ADDRESS ON FILE
HERRON, DAVID                        ADDRESS ON FILE
HERRON, EDWARD                       ADDRESS ON FILE
HERRON, HOWARD                       ADDRESS ON FILE
HERRON, LAMARR                       ADDRESS ON FILE
HERRON, MAURICE                      ADDRESS ON FILE
HERRON, ORLANDO                      ADDRESS ON FILE
HERRON, RAMON                        ADDRESS ON FILE
HERRON, RANDY                        ADDRESS ON FILE
HERRON, SHAHAMA                      ADDRESS ON FILE
HERSH PROPERTIES LLC                 11906 MEADOW LANE W MINNETONKA MN 55305-3822
HERSHEY ENTERTAINMENT (GOLF CLUB)    1000 EAST DERRY ROAD HERSHEY PA 17033
HERSHEY, BRENDA L                    ADDRESS ON FILE
HERSHOWITZ, JOHN                     ADDRESS ON FILE
HERSHOWITZ, JOHN                     ADDRESS ON FILE
HERSMAN, ETHAN                       ADDRESS ON FILE
HERSOL LOGISTICS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HERSOL LOGISTICS LLC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HERSOM, NICOLE                       ADDRESS ON FILE
HERTEL, JAMES                        ADDRESS ON FILE
HERTHER, ROBERT                      ADDRESS ON FILE
HERTLE, STEVEN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 850 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 859 of 2156

Claim Name                          Address Information
HERTULIEN, GUIVENSEN                ADDRESS ON FILE
HERTWECK, BERNARD                   ADDRESS ON FILE
HERTZ                               PO BOX 921186 PEACHTREE CORNERS GA 30010
HERTZ                               2302 S AIRPORT FRONTAGE RD DES MOINES IA 50321
HERTZ                               9150 AVIATION BLVD INGLEWOOD CA 90301
HERTZ FURNITURE                     170 WILLIAMS DR RAMSEY NJ 07446
HERTZ FURNITURE                     170 WILLIAMS DR. SUITE201 RAMSEY NJ 07446
HERTZ FURNITURE SYS                 ATTN: STACEY FORBES 170 WILLIAMS DR RAMSEY NJ 07446
HERTZ FURNITURE SYS                 ATTN: STACY FORBES 170 WILLIAMS DR 201-529-2100 RAMSEY NJ 07446
HERTZ, NIELS                        ADDRESS ON FILE
HERTZOG, MICHAEL                    ADDRESS ON FILE
HERTZOG, RANDY                      ADDRESS ON FILE
HERUDA TRUCKING                     OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
HERVERY, MARILYN M.                 ADDRESS ON FILE
HERVIEUX, JEFFREY                   ADDRESS ON FILE
HERVIEUX, JEFFREY S                 ADDRESS ON FILE
HERZIC, FRANKIE                     ADDRESS ON FILE
HERZOG TRUCK SERVICES LLC           4152 BRODHEAD RD MONACA PA 15061
HES TRANS INC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HES TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HESELSCHWERDT, CALEN                ADDRESS ON FILE
HESLES TRUCKING DIVISION LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HESLOP, VICTOR                      ADDRESS ON FILE
HESS, ARIC                          ADDRESS ON FILE
HESS, DANIEL                        ADDRESS ON FILE
HESS, JAMES                         ADDRESS ON FILE
HESS, JEFFERY                       ADDRESS ON FILE
HESS, JOHN                          ADDRESS ON FILE
HESS, JOSEPH                        ADDRESS ON FILE
HESS, JUSTIN                        ADDRESS ON FILE
HESS, MICHAEL                       ADDRESS ON FILE
HESS, WILLIAM                       ADDRESS ON FILE
HESSE, DAVID                        ADDRESS ON FILE
HESSE, RICHARD                      ADDRESS ON FILE
HESSEL, KATHERINE                   ADDRESS ON FILE
HESSINGER, CATHLEEN                 ADDRESS ON FILE
HESSION, ALEX                       ADDRESS ON FILE
HESSION, BRIAN G                    ADDRESS ON FILE
HESSLER, ARDANNA                    ADDRESS ON FILE
HESSMAN, GRANT                      ADDRESS ON FILE
HESSTIAN TRANSPORTATION LLC         OR FACTORTEK LLC P.O. BOX 1668, DEPT 330 HOUSTON TX 77251
HESTER JR., THEODORE G              ADDRESS ON FILE
HESTER, AMY                         ADDRESS ON FILE
HESTER, DAVID                       ADDRESS ON FILE
HESTER, JAMES                       ADDRESS ON FILE
HESTER, JAUNEE                      ADDRESS ON FILE
HESTER, JERMAINE                    ADDRESS ON FILE
HESTER, LEANN                       ADDRESS ON FILE
HESTER, MARCUS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 851 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 860 of 2156

Claim Name                              Address Information
HESTER, PAUL                            ADDRESS ON FILE
HESTER, THEODORE                        ADDRESS ON FILE
HET-HORA EXPRESS                        OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HETH, ERIC                              ADDRESS ON FILE
HETH, SCOTT                             ADDRESS ON FILE
HETLAND, MICHAEL                        ADDRESS ON FILE
HETMEYER XPRESS, LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
HETRICK, GREGORY S                      ADDRESS ON FILE
HETTICK, RACHAEL L                      ADDRESS ON FILE
HETTICK, RACHAEL L                      ADDRESS ON FILE
HETTINGER TRUCKING LLC                  PO BOX 273 DREXEL MO 64742
HETTINGER, INC.                         PO BOX 1429 KULPSVILLE PA 19443
HETZEL, AARON                           ADDRESS ON FILE
HETZEL, RICHARD                         ADDRESS ON FILE
HETZELS OVERLAND TRANSPORT, INC.        P O BOX 6075 EFFINGHAM IL 62401
HEUERMAN, SCOTT                         ADDRESS ON FILE
HEUNG CHAN KIM                          ADDRESS ON FILE
HEUSS, BRADLEY                          ADDRESS ON FILE
HEUSS, SUSAN                            ADDRESS ON FILE
HEVII TRANSPORT LLC                     1775 PARKER RD SE STE C210 CONYERS GA 30094
HEVII TRANSPORT LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HEWITT, GREG                            ADDRESS ON FILE
HEWITT, GREGORY                         ADDRESS ON FILE
HEWITT, JIM                             ADDRESS ON FILE
HEWITT, KENARDO                         ADDRESS ON FILE
HEWITT, MARK                            ADDRESS ON FILE
HEWITT, WILBUR                          ADDRESS ON FILE
HEWLETT, ADONIS                         ADDRESS ON FILE
HEWLETT, ARNOLD                         ADDRESS ON FILE
HEWLETT, JARAUD                         ADDRESS ON FILE
HEXION INC                              AMERICAN TRUCK & RAIL AUDITS, PO BOX 278 NORTH LITTLE ROCK AR 72115
HEY, TED                                ADDRESS ON FILE
HEYA, JAMIE S                           ADDRESS ON FILE
HEYBOER LANDSCAPE MAINT INC             4735 8TH ST CALEDONIA MI 49316
HEYER TRANSPORTATION LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HEYERLY, JADE                           ADDRESS ON FILE
HEYMANS, ROBERT                         ADDRESS ON FILE
HEYMANS, THOMAS                         ADDRESS ON FILE
HEYSE, BRANDON                          ADDRESS ON FILE
HEYSER, MICHAEL                         ADDRESS ON FILE
HEYWARD & CO LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HEYWARD TRUCKING AND DISTRIBUTION LLC   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HEYWARD, LEON                           ADDRESS ON FILE
HEZAGIRA LLC                            OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
HEZAR, CAIRO                            ADDRESS ON FILE
HEZAR, ZHILA J                          ADDRESS ON FILE
HEZAR, ZHILA J                          ADDRESS ON FILE
HF LAW FIRM LLC                         3101 W 86TH STREET LEAWOOD KS 66206
HF TRUCKING LLC                         OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399



Epiq Corporate Restructuring, LLC                                                                  Page 852 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 861 of 2156

Claim Name                              Address Information
HFC PRESTIGE INTL US LLC                ATTN: GARY MIRON 1400 BROADWAY RD SANFORD NC 27332
HFC TRUCKING                            225 HWY 69 NORTH PARIS TN 38242
HFM SERVICES CORP                       OR RTS FINANCIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284-0267
HFT LOGISTICS INC                       1120 OAK HILL RD MOUNTAIN TOP PA 18707
HFT LOGISTICS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HG FREIGHT INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HGC                                     34 PERDUE COURT CALEDON ON L7C 3M6 CANADA
HH LOGISTICS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HH TRANSPORT LLC                        2071 ROXY LOOP FERNDALE WA 98248
HHB TRUCKING LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HHF TRUCKING LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HHG TRUCKING LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HHH TRUCKING INC                        952 S JAKOB STREET GILBERT AZ 85296
HHS SUPPLY SERVICE CENTER               BUILDING 14 PERRY POINT MD 21902
HHV TRUCKING LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HI DESERT FIRE PROTECTION SERVICE INC   PO BOX 400182 HESPERIA CA 92340
HI FI TRANS INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HI FLOAT                                13025 MIDDLETOWN INDUSTRIAL BLVD LOUISVILLE KY 40223
HI LOGISTICS NJ                         ATTN: TANYA MORRELL 111 SYLVAN AVE ENGLEWOOD CLIFFS NJ 07632
HI SPEED INDUSTRIAL SERVICE             PO BOX 2959 JACKSON MS 39207
HI STAR GROUP INC                       23 BLUFFWOOD CRES BRAMPTON ON L6P 2P4 CANADA
HI TRUCKING INC.                        OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
HI WAY 9 EXPRESS LTD                    PO BOX 2020 DRUMHELLER AB T0J 0Y0 CANADA
HI-LINE ELECTRIC CO                     1119 R ST SACRAMENTO CA 95811
HI-LO PRO FORKLIFT SERVICE INC          PO BOX 780059 MASPETH NY 11378
HI-REL                                  7575 JURUPA AVE. RIVERSIDE CA 92504
HI-TECH EXPRESS, INC.                   8500 NAPLES ST MINNEAPOLIS MN 55449
HI-TECH TRUCKING INC                    PO BOX 632 RAHWAY NJ 07065
HI-WAY 42 GARAGE & TOWING LLC           8934 BONDE COURT MANITOWOC WI 54220
HIAB USA INC                            PO BOX 643148 PITTSBURGH PA 15264
HIALEAH AUTO TAG AGENCY                 1550 W 84TH ST STE 75 HIALEAH FL 33014
HIATT, JENNIFER                         ADDRESS ON FILE
HIBBARD, ALBERT                         ADDRESS ON FILE
HIBBARD, DAVID M                        ADDRESS ON FILE
HIBBARD, DOYLE R                        ADDRESS ON FILE
HIBBERD, PAYTON                         ADDRESS ON FILE
HIBBERT, CLAUDE A                       ADDRESS ON FILE
HIBBERT, OSAVIA                         ADDRESS ON FILE
HIBBERT, VALENCIA                       ADDRESS ON FILE
HIBBITTS, TERRY                         ADDRESS ON FILE
HIBBLER, TONITA                         ADDRESS ON FILE
HIBBLER, TONITA                         ADDRESS ON FILE
HIBLER, MICHAEL                         ADDRESS ON FILE
HIBO TRUCKING LLC                       OR TAFS, INC., PO BOX 872632 KANSAS CITY MO 64187
HICE, JAMES                             ADDRESS ON FILE
HICE, JIMMY                             ADDRESS ON FILE
HICKEIN, LINDA                          ADDRESS ON FILE
HICKERSON, JAMES                        ADDRESS ON FILE
HICKEY, DEBORAH                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 853 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 862 of 2156

Claim Name                           Address Information
HICKEY, ELAINE                       ADDRESS ON FILE
HICKEY, HAROLD                       ADDRESS ON FILE
HICKEY, JOSEPH                       ADDRESS ON FILE
HICKEY, ROBERT                       ADDRESS ON FILE
HICKEY, STEVEN                       ADDRESS ON FILE
HICKEY, TIMOTHY                      ADDRESS ON FILE
HICKMAN WILLIAMS & COMPANY           2321 WEST PROGRESS DRIVE LAPORTE IN 46350
HICKMAN, ALEXIS C                    ADDRESS ON FILE
HICKMAN, ALEXIS C                    ADDRESS ON FILE
HICKMAN, DONALD                      ADDRESS ON FILE
HICKMAN, DONALD                      ADDRESS ON FILE
HICKMAN, ESSENCE                     ADDRESS ON FILE
HICKMAN, JASON                       ADDRESS ON FILE
HICKMAN, JUSTIN                      ADDRESS ON FILE
HICKMAN, LINDSEY                     ADDRESS ON FILE
HICKMAN, MARKEITH                    ADDRESS ON FILE
HICKMON LOGISTICS LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HICKS TRANSPORTATION, INC.           OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
HICKS, ANTHONY                       ADDRESS ON FILE
HICKS, CARL                          ADDRESS ON FILE
HICKS, CHERYL                        ADDRESS ON FILE
HICKS, DANIEL                        ADDRESS ON FILE
HICKS, DAVID                         ADDRESS ON FILE
HICKS, DWIGHT                        ADDRESS ON FILE
HICKS, EDWARD                        ADDRESS ON FILE
HICKS, FRED                          ADDRESS ON FILE
HICKS, GREGORY                       ADDRESS ON FILE
HICKS, HALEY                         ADDRESS ON FILE
HICKS, JACOB E                       ADDRESS ON FILE
HICKS, JASON                         ADDRESS ON FILE
HICKS, JOSHUA                        ADDRESS ON FILE
HICKS, KEIR                          ADDRESS ON FILE
HICKS, KEVIN                         ADDRESS ON FILE
HICKS, KEVIN                         ADDRESS ON FILE
HICKS, MAREE                         ADDRESS ON FILE
HICKS, MAREE                         ADDRESS ON FILE
HICKS, MICHAEL                       ADDRESS ON FILE
HICKS, MIYAKO                        ADDRESS ON FILE
HICKS, RASHAD                        ADDRESS ON FILE
HICKS, SHAUN                         ADDRESS ON FILE
HICKS, STEVEN                        ADDRESS ON FILE
HICKS, TEDDY JOE                     ADDRESS ON FILE
HICKS, TEDDY JOE                     ADDRESS ON FILE
HICKS, TYRONE                        ADDRESS ON FILE
HICKS, VANCE                         ADDRESS ON FILE
HICKS, VANCE                         ADDRESS ON FILE
HICKS, ZACHERY                       ADDRESS ON FILE
HICKSON, SHERMAINE                   ADDRESS ON FILE
HICOVILLE INTL INC                   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                                Page 854 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 863 of 2156

Claim Name                               Address Information
HIDA, KHALID                             ADDRESS ON FILE
HIDALGO COUNTY IRRIGATION DISTRICT NO.   PO BOX 6 SAN JUAN TX 78589
2
HIDALGO COUNTY TAX ASSESSOR / COLLECTOR PO BOX 178 EDINBURG TX 78540
HIDALGO, JACOB                           ADDRESS ON FILE
HIDALGO, JUAN                            ADDRESS ON FILE
HIDALGO, WILLY                           ADDRESS ON FILE
HIDAT TRUCKING                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HIDDEN VALLEY TRANSPORT LLC              OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
HIDROCALIDO TRUCKING LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
HIEBER, ANTHONY                          ADDRESS ON FILE
HIEBER, STEVEN                           ADDRESS ON FILE
HIEBERT, CARLA                           ADDRESS ON FILE
HIELKEMA, TODD                           ADDRESS ON FILE
HIENTON, MICHAEL                         ADDRESS ON FILE
HIENTON, MICHAEL                         ADDRESS ON FILE
HIER, HAROLD                             ADDRESS ON FILE
HIESRODT, JOSH                           ADDRESS ON FILE
HIESTAND, AARON                          ADDRESS ON FILE
HIETPAS, JEFF                            ADDRESS ON FILE
HIFI FREIGHT SYSTEMS INC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
HIGAREDA TRANSPORT LLC                   OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
HIGAREDA, LUIS                           ADDRESS ON FILE
HIGBEE, TODD A                           ADDRESS ON FILE
HIGDON, MATTHEW                          ADDRESS ON FILE
HIGDON, THOMAS                           ADDRESS ON FILE
HIGDON, WESLEY                           ADDRESS ON FILE
HIGEAR CDL                               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HIGGINBOTHAM, TIM                        ADDRESS ON FILE
HIGGINBOTTOM, ALFONZO                    ADDRESS ON FILE
HIGGINS HAULING LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
HIGGINS JR, DANIEL                       ADDRESS ON FILE
HIGGINS, ANTHONY                         ADDRESS ON FILE
HIGGINS, ARTHUR                          ADDRESS ON FILE
HIGGINS, DONALD                          ADDRESS ON FILE
HIGGINS, FRANK                           ADDRESS ON FILE
HIGGINS, JAMES                           ADDRESS ON FILE
HIGGINS, JODY                            ADDRESS ON FILE
HIGGINS, JONATHAN                        ADDRESS ON FILE
HIGGINS, KRISTY                          ADDRESS ON FILE
HIGGINS, LEE                             ADDRESS ON FILE
HIGGINS, LEE                             ADDRESS ON FILE
HIGGINS, MICHAEL                         ADDRESS ON FILE
HIGGINS, NATHAN                          ADDRESS ON FILE
HIGGINS, PHILIP                          ADDRESS ON FILE
HIGGINS, POLLY                           ADDRESS ON FILE
HIGGINS, RICHARD                         ADDRESS ON FILE
HIGGINS, RICHARD                         ADDRESS ON FILE
HIGGINS-WOODS, AMY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 855 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 864 of 2156

Claim Name                           Address Information
HIGGS, DAMAR                         ADDRESS ON FILE
HIGGS, SEAN                          ADDRESS ON FILE
HIGH CALIBER TRANSIT LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HIGH CLOUD LOGISTICS LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HIGH COUNTRY PLASTICS INC            1502 AVIATION WAY CALDWELL ID 83605
HIGH FREQUENCY FREIGHT LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
HIGH LINER LOGISTIC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HIGH PERFORMANCE LOGISTICS LLC       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HIGH POINT LOGISTICS LLC             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
HIGH QUALITY ORGANICS                12101 MOYA BLVD RENO NV 89506
HIGH QUALITY TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HIGH ROAD TOWING                     D/B/A: HIGH ROAD TOWING & TRUCK REPAIR 2372 JACKSON PIKE BIDWELL OH 45614
HIGH ROAD TOWING & TRUCK REPAIR      2372 JACKSON PIKE BIDWELL OH 45614
HIGH ROAD TRUCKING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
HIGH ROADS USA LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HIGH ROLLAS TRANSPORT LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HIGH ROLLAS TRANSPORT LLC            7367 LAGOON BLUE ST LAS VEGAS NV 89139
HIGH SIERRA ELEVATOR INSPECTIONS     4894 SPARKS BLVD SPARKS NV 89436
HIGH SKY TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HIGH SPEED TRUCKING LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HIGH STAR TRUCKING SERVICES, LLC.    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HIGH TEMP METALS                     ATTN: JUAN J URIBE 12500 FOOTHILL BLVD SYLMAR CA 91342
HIGH VISION TRUCKING LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HIGH, MYRON                          ADDRESS ON FILE
HIGH-WAY TRUCKING INC                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HIGHBOOST CORP                       5 TERRITORIAL CT BOLINGBROOK IL 60440
HIGHBRIDGE TRANSPORT LLC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
HIGHER LEVEL LOGISTICS LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HIGHLAND DALLAS FREIGHT INC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HIGHLAND ENTERPRISES INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HIGHLAND EXPRESS INC                 OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
HIGHLAND IMPORTS                     ATTN: LIZ OCONNELL 74 LINWOOD AVE FAIRFIELD CT 06824
HIGHLAND INVESTMENTS LLLP            4720 BOW MAR DRIVE BOW MAR CO 80123
HIGHLAND INVESTMENTS, LLLP           ATTN: ROXANNE FIE ANDERSON 4720 BOW MAR DRIVE BOW MAR CO 80123
HIGHLAND PREP WEST                   12235 W. VAN BUREN ST. AVONDALE AZ 85323
HIGHLAND PRODUCTS GROUP LLC          ATTN: CALEB CHARLES 220 CONGRESS PARK DR DELRAY BEACH FL 33445
HIGHLANDER FREIGHT LINES LLC         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HIGHLANDER TRANSPORTATION INC        1300 LUNT AVE ELK GROVE VILLAGE IL 60007
HIGHLANDER XPRESS INC                OR SEVENOAKS CAPITAL ASSOCIATES LLC PO BOX 669130 HOUSTON TX 75266
HIGHLEY, JERRY                       ADDRESS ON FILE
HIGHLINE WARREN                      4500 MALONE RD STE 1 MEMPHIS TN 38118
HIGHLINE WARREN                      4500 MALONE RD MEMPHIS TN 38118
HIGHLINE WARREN                      4500 MALONE MEMPHIS TN 38118
HIGHLINE WARREN                      4500 MCLONE RD MEMPHIS TN 38118
HIGHLINE WARREN - ELKTON, MD         4500 MALONE ROAD MEMPHIS TN 38118
HIGHQ TRANSPORT LLC                  OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320-7527
HIGHROAD CARRIERS INC                OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
HIGHSIDE TRANSPORTATION LLC          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HIGHT, CANDACE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 856 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 865 of 2156

Claim Name                              Address Information
HIGHTECH TRUCKING LLC                   2587 N KAMIAKAN ST CORNELIUS OR 97113
HIGHTOWER, CHANCE W                     ADDRESS ON FILE
HIGHTOWER, GARREN                       ADDRESS ON FILE
HIGHTOWER, HUSANI                       ADDRESS ON FILE
HIGHTOWER, LESLIE                       ADDRESS ON FILE
HIGHTOWER, RYAN                         ADDRESS ON FILE
HIGHTOWERS PETROLEUM COMPANY            3577 COMMERCE DRIVE MIDDLETOWN OH 45005
HIGHWAY 65 INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HIGHWAY CARRIER INC.                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HIGHWAY CUSTOMS WAREHOUSE LTD           1-2091 BROOKSIDE BLVD WINNIPEG MB R2R 2Y3 CANADA
HIGHWAY EXPRESS                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HIGHWAY EXPRESS INC (SHELBYVILLE KY)    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
HIGHWAY FREIGHTLINE LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HIGHWAY GARAGE, INC.                    1269 AMERICAN LEGION RD FREDERICKSBURG VA 22405
HIGHWAY HARVESTERS, LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HIGHWAY HAULERS LLC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HIGHWAY HAULING EXPRESS INC             OR QUICK FREIGHT FACTOR INC PO BOX 203802 DALLAS TX 75320
HIGHWAY HUSKIES LLC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HIGHWAY LEGENDS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HIGHWAY LIVING LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HIGHWAY MOTORS, INCORPORATED            5307 PETERS CREEK RD ROANOKE VA 24019
HIGHWAY STAR LLC                        OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
HIGHWAY SURFERS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HIGHWAY TO HEAVEN TRUCKING INCORPORATED OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
HIGHWAY TRAILER SALES, INC.             1850 SOUTHERN RD KANSAS CITY MO 64120
HIGHWAY TRANSPORT                       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
HIGHWAY TRANSPORT LLC                   19182 SE HWY 212 DAMASCUS OR 97089
HIGHWAY TRUCKING LLC                    PO BOX 2410 STOW OH 44224
HIGHWAY XPRESS LLC                      OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
HIGHWAYMEN TRANSPORT COMPANY            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HIGHWAYS & SKYWAYS OF NC, INC.          7617 BENTLEY ROAD SUITE A GREENSBORO NC 27409
HIGHWAYS & SKYWAYS TRANSPORTATION LLC   HIGHWAYS & SKYWAYS TRANSPORTATION LLC, 927 DR MLK FR WAY GASTONIA NC 28054
HIGINBOTHAM, CHRISTY                    ADDRESS ON FILE
HIGINBOTHAM, JEFFREY                    ADDRESS ON FILE
HIGUERA TRUCKING                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HIKARI SALES USA INC                    ATTN: BONHAM SHAWN 2230 DAVIS CT HAYWARD CA 94545
HIKIMA TRANSPORTATION LLC               OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
HILAIRE ENTERPRISE INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HILAL ENTERPRISES LLC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
HILAO, DERRICK                          ADDRESS ON FILE
HILARIOS SERVICE CENTER                 131 MOUNT PLEASANT RD NEWTOWN CT 06470
HILARIOS SERVICE CENTER, INC.           295 WHITE ST DANBURY CT 06810
HILARY A RATHS                          ADDRESS ON FILE
HILBERT, EVAN                           ADDRESS ON FILE
HILBERT, SCOTT                          ADDRESS ON FILE
HILBISH, BRIAN                          ADDRESS ON FILE
HILBURN, RAYMOND                        ADDRESS ON FILE
HILBURN, SCOTT                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 857 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 866 of 2156

Claim Name                           Address Information
HILDEBRAN, JONATHAN                  ADDRESS ON FILE
HILDEBRAND, CHAD                     ADDRESS ON FILE
HILDEBRAND, GEORGE                   ADDRESS ON FILE
HILDEBRAND, JAN                      ADDRESS ON FILE
HILDEBRANDT, LEIF                    ADDRESS ON FILE
HILDENBRAND, RICHARD                 ADDRESS ON FILE
HILDERBRAND, THOMAS                  ADDRESS ON FILE
HILDRETH, ARTHUR                     ADDRESS ON FILE
HILDRETH, CARYLA                     ADDRESS ON FILE
HILES, RORY                          ADDRESS ON FILE
HILFIKER RETAINING WALLS             1902 HILFIKER LN EUREKA CA 95503
HILGENDORF, KRISTIN                  ADDRESS ON FILE
HILINSKI JR, MICHAEL                 ADDRESS ON FILE
HILKER, JORDAN                       ADDRESS ON FILE
HILL BROTHERS TRANSPORTATION, INC.   7850 I STREET OMAHA NE 68127
HILL CITY FREIGHT LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HILL ELECTRIC, INC.                  1513 EMIL ST MADISON WI 53713
HILL III, WILLIE                     ADDRESS ON FILE
HILL INTERNATIONAL                   701 STEEL STREET ALIQUIPPA PA 15001
HILL INTERNATIONAL                   47866 Y AND O RD EAST LIVERPOOL OH 43920
HILL INTERNATIONAL                   PO BOX 2170 EAST LIVERPOOL OH 43920
HILL JR, ROGER                       ADDRESS ON FILE
HILL KING, STACY                     ADDRESS ON FILE
HILL MANUFACTURING COMPANY INC       1500 JONESBORO RD S E ATLANTA GA 30315
HILL SERVICES                        PO BOX 1000 DEPT 369 MEMPHIS TN 38148
HILL SERVICES INDUSTRIAL &           4940 COVINGTON WAY MEMPHIS TN 38128
ENVIRONMENTAL
HILL TRUCKING LLC                    C/O G SQUARED FUNDING LLC, 8215 ROSWELL RD BLD 600 SANDY SPRINGS GA 30350
HILL, AARON                          ADDRESS ON FILE
HILL, AMBER                          ADDRESS ON FILE
HILL, AMY                            ADDRESS ON FILE
HILL, ANTHONY                        ADDRESS ON FILE
HILL, ANTONIO                        ADDRESS ON FILE
HILL, ANTONIO                        ADDRESS ON FILE
HILL, ASHLEY                         ADDRESS ON FILE
HILL, AUSTIN                         ADDRESS ON FILE
HILL, BENJAMIN                       ADDRESS ON FILE
HILL, BILLY                          ADDRESS ON FILE
HILL, BRANDON                        ADDRESS ON FILE
HILL, BRIAN                          ADDRESS ON FILE
HILL, BRIDGETT                       ADDRESS ON FILE
HILL, CALVIN                         ADDRESS ON FILE
HILL, CHESLA                         ADDRESS ON FILE
HILL, CHRIS                          ADDRESS ON FILE
HILL, CHRISTINE                      ADDRESS ON FILE
HILL, CHRISTOPHER                    ADDRESS ON FILE
HILL, CHRISTOPHER                    ADDRESS ON FILE
HILL, CHRISTOPHER                    ADDRESS ON FILE
HILL, CIERA                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 858 OF 2145
                                       Yellow Corporation
                  Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 867 of 2156

Claim Name                      Address Information
HILL, DANIEL                    ADDRESS ON FILE
HILL, DARIZ                     ADDRESS ON FILE
HILL, DAVID                     ADDRESS ON FILE
HILL, DAWN                      ADDRESS ON FILE
HILL, DENNIS                    ADDRESS ON FILE
HILL, DOMENIQUE                 ADDRESS ON FILE
HILL, DOMENIQUE                 ADDRESS ON FILE
HILL, DONNIE                    ADDRESS ON FILE
HILL, EARLENE                   ADDRESS ON FILE
HILL, EDGAR                     ADDRESS ON FILE
HILL, ELDON                     ADDRESS ON FILE
HILL, ERIC                      ADDRESS ON FILE
HILL, GARY                      ADDRESS ON FILE
HILL, GEORGE                    ADDRESS ON FILE
HILL, GREGORY                   ADDRESS ON FILE
HILL, GREGORY                   ADDRESS ON FILE
HILL, HOLLIS                    ADDRESS ON FILE
HILL, JAY                       ADDRESS ON FILE
HILL, JEFFERY                   ADDRESS ON FILE
HILL, JEFFERY                   ADDRESS ON FILE
HILL, JEFFREY                   ADDRESS ON FILE
HILL, JEFFREY                   ADDRESS ON FILE
HILL, JEROME                    ADDRESS ON FILE
HILL, JERRY                     ADDRESS ON FILE
HILL, JOHN                      ADDRESS ON FILE
HILL, JOHN                      ADDRESS ON FILE
HILL, JONATHAN                  ADDRESS ON FILE
HILL, JOSEPH                    ADDRESS ON FILE
HILL, JUSTIN                    ADDRESS ON FILE
HILL, KATHERINE                 ADDRESS ON FILE
HILL, KAYLA                     ADDRESS ON FILE
HILL, KELSIE                    ADDRESS ON FILE
HILL, KEVIN                     ADDRESS ON FILE
HILL, KEVIN                     ADDRESS ON FILE
HILL, KEVIN                     ADDRESS ON FILE
HILL, KEVIN                     ADDRESS ON FILE
HILL, KEVIN                     ADDRESS ON FILE
HILL, LARRY                     ADDRESS ON FILE
HILL, LASHAN                    ADDRESS ON FILE
HILL, LAUNEICE                  ADDRESS ON FILE
HILL, LORENZO                   ADDRESS ON FILE
HILL, MARTIN                    ADDRESS ON FILE
HILL, MARVIN                    ADDRESS ON FILE
HILL, MICHAEL                   ADDRESS ON FILE
HILL, MICHAEL                   ADDRESS ON FILE
HILL, MICHAEL                   ADDRESS ON FILE
HILL, MICHELE                   ADDRESS ON FILE
HILL, NORMAN                    ADDRESS ON FILE
HILL, ORLANDER                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 859 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 868 of 2156

Claim Name                        Address Information
HILL, ORLANDER D                  ADDRESS ON FILE
HILL, ORLANDER D                  ADDRESS ON FILE
HILL, PETER                       ADDRESS ON FILE
HILL, RICHARD                     ADDRESS ON FILE
HILL, RICHARD                     ADDRESS ON FILE
HILL, ROBERT                      ADDRESS ON FILE
HILL, ROBERT                      ADDRESS ON FILE
HILL, RUSSELL                     ADDRESS ON FILE
HILL, RUSSELL                     ADDRESS ON FILE
HILL, RYAN                        ADDRESS ON FILE
HILL, SALEEM                      ADDRESS ON FILE
HILL, SAMUEL                      ADDRESS ON FILE
HILL, SHAI                        ADDRESS ON FILE
HILL, SHANE                       ADDRESS ON FILE
HILL, STACIA                      ADDRESS ON FILE
HILL, SUSAN                       ADDRESS ON FILE
HILL, TAMIA                       ADDRESS ON FILE
HILL, TEDDIE                      ADDRESS ON FILE
HILL, TENAYA                      ADDRESS ON FILE
HILL, TERRANCE                    ADDRESS ON FILE
HILL, THEODORE T                  ADDRESS ON FILE
HILL, TINA                        ADDRESS ON FILE
HILL, TINA                        ADDRESS ON FILE
HILL, TRACY                       ADDRESS ON FILE
HILL, TREMAYNE J                  ADDRESS ON FILE
HILL, VICTOR C                    ADDRESS ON FILE
HILL, WALTER                      ADDRESS ON FILE
HILL, WAYNE                       ADDRESS ON FILE
HILL, WILLIAM                     ADDRESS ON FILE
HILL, WILLIAM                     ADDRESS ON FILE
HILL, WILLIAM                     ADDRESS ON FILE
HILL, WILLIE                      ADDRESS ON FILE
HILLAKER, KATHEN                  ADDRESS ON FILE
HILLARD, DENNIS                   ADDRESS ON FILE
HILLARD, KENYATTA                 ADDRESS ON FILE
HILLARY, ALEXIS                   ADDRESS ON FILE
HILLER, KEVIN                     ADDRESS ON FILE
HILLER, KEVIN C                   ADDRESS ON FILE
HILLER, LANCE                     ADDRESS ON FILE
HILLHOUSE NATURALS                ATTN: BRENDA WILKERSON 1917 HUGHES RD WICKLIFFE KY 42087
HILLIARD, DONALD                  ADDRESS ON FILE
HILLIARD, ERIC                    ADDRESS ON FILE
HILLIARD, GREGORY                 ADDRESS ON FILE
HILLIARD, PAUL                    ADDRESS ON FILE
HILLIE, WORLEY                    ADDRESS ON FILE
HILLING, JASON                    ADDRESS ON FILE
HILLIS, DIANE                     ADDRESS ON FILE
HILLIS, SCOTT                     ADDRESS ON FILE
HILLMAN, BILL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 860 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 869 of 2156

Claim Name                              Address Information
HILLMAN, JEFFERY                        ADDRESS ON FILE
HILLMAN, JERRY                          ADDRESS ON FILE
HILLMAN, KENNETH                        ADDRESS ON FILE
HILLNER INDUSTRIAL MAINTENANCE CO INC   PO BOX 42 WILLOW SPRINGS IL 60480
HILLS FREIGHT, LLC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
HILLS, ANTONIO                          ADDRESS ON FILE
HILLS, BRIAN                            ADDRESS ON FILE
HILLS, TAS                              ADDRESS ON FILE
HILLSBORO TOWING SERVICE                895 SW BASELINE HILLSBORO OR 97123
HILLSBOROUGH COUNTY TAX                 PO BOX 172920 TAMPA FL 33672
HILLSIDE LOGISTICS COMPANY LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HILLSMAN, ANTHONY                       ADDRESS ON FILE
HILLSMAN, KENNETH                       ADDRESS ON FILE
HILLTOP CREAMERY                        123 DAVY RD FORT PLAIN NY 13339
HILLTOP DUMPING AND HAULING LLC         OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HILLTOP EXPRESS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HILLTOP SECS (0279)                     ATT PROXY DEPT 1201 ELM ST STE 3500 DALLAS TX 75270
HILLY TRANSPORT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HILMAS DISTRIBUTINGINC.                 1107 W 1ST ST TRENTON NJ 66293 1085
HILOWLE EXPRESS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HILPERT, ERIC                           ADDRESS ON FILE
HILSCHER-CLARKE ELECTRIC CO.            519 4TH STREET NW CANTON OH 44703
HILSENKOPF, EMILY                       ADDRESS ON FILE
HILT, DAVID                             ADDRESS ON FILE
HILTON 5 TRANSPORTATION,LLC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HILTON, CORY                            ADDRESS ON FILE
HILTON, JAMES                           ADDRESS ON FILE
HILTON, JOHN                            ADDRESS ON FILE
HILTON, KENNETH                         ADDRESS ON FILE
HILTON, LANE                            ADDRESS ON FILE
HILTON, OLIVER                          ADDRESS ON FILE
HILTON, STEVEN                          ADDRESS ON FILE
HILTON-SPENCERPORT EXPRESS, INC.        PO BOX 55 KENDALL NY 14476
HILTS GARAGE INC                        208 DEADMORE ST ABINGDON VA 24210
HILTS, JULIE                            ADDRESS ON FILE
HIM TRANSPORTATION LLC                  3566 GARDEN MANOR DRIVE LOGANVILLE GA 30052
HIM, SOPHAI                             ADDRESS ON FILE
HIMELICK, MARC                          ADDRESS ON FILE
HIMES, CALVIN                           ADDRESS ON FILE
HIMES, MARK                             ADDRESS ON FILE
HIMES, MYRON                            ADDRESS ON FILE
HIMES, WALTER                           ADDRESS ON FILE
HIMSTEDT, MICHAEL R                     ADDRESS ON FILE
HINCKLEY SPRINGS                        6055 S HARLEM AVE CHICAGO IL 60638
HINCKLEY SPRINGS                        PO BOX 660579 DALLAS TX 75266
HINDERER, JOHN                          ADDRESS ON FILE
HINDMAN, DANA                           ADDRESS ON FILE
HINDMAN, JAMES                          ADDRESS ON FILE
HINER, CHARLES E                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 861 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 870 of 2156

Claim Name                          Address Information
HINER, JOSHUA T                     ADDRESS ON FILE
HINES TRANSPORTATION SERVICES LLC   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HINES, ALAN                         ADDRESS ON FILE
HINES, BILLY                        ADDRESS ON FILE
HINES, DANIEL                       ADDRESS ON FILE
HINES, DEVON                        ADDRESS ON FILE
HINES, DOUGLAS                      ADDRESS ON FILE
HINES, EUGENE L                     ADDRESS ON FILE
HINES, IRA                          ADDRESS ON FILE
HINES, JAMAR                        ADDRESS ON FILE
HINES, JAMES                        ADDRESS ON FILE
HINES, JAMES                        ADDRESS ON FILE
HINES, JEFFREY M                    ADDRESS ON FILE
HINES, JON J                        ADDRESS ON FILE
HINES, KHIRY                        ADDRESS ON FILE
HINES, SAMMY K.                     ADDRESS ON FILE
HINEY, STEPHEN                      ADDRESS ON FILE
HINGST, SCOTT                       ADDRESS ON FILE
HINKEL, KHRYSTAL                    ADDRESS ON FILE
HINKLE, AMANDA                      ADDRESS ON FILE
HINKLE, BOBBY                       ADDRESS ON FILE
HINKLE, JEREMY                      ADDRESS ON FILE
HINKLE, NICOLE                      ADDRESS ON FILE
HINKSON, KENNETH                    ADDRESS ON FILE
HINOJOSA, FERNANDO                  ADDRESS ON FILE
HINOJOSA, FRANK                     ADDRESS ON FILE
HINOJOSA, JAVIER                    ADDRESS ON FILE
HINRICHSEN, RANDALL                 ADDRESS ON FILE
HINSHAW, JOSHUA                     ADDRESS ON FILE
HINSON, CHRISTOPHER                 ADDRESS ON FILE
HINSON, ZACHARIAH                   ADDRESS ON FILE
HINTHORN, DOUGLAS                   ADDRESS ON FILE
HINTON EAGLE EXPRESS LLC            OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
HINTON EXPRESS FREIGHT LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HINTON TRUCKING LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HINTON, JESSE L                     ADDRESS ON FILE
HINTON, JOE                         ADDRESS ON FILE
HINTON, JOHNNIE                     ADDRESS ON FILE
HINTON, JOHNNY                      ADDRESS ON FILE
HINTON, PETER                       ADDRESS ON FILE
HINTON, TERRANCE                    ADDRESS ON FILE
HINTT, SHANE                        ADDRESS ON FILE
HIPOLITO, DEREK                     ADDRESS ON FILE
HIPOLITO, MARCOS                    ADDRESS ON FILE
HIRA TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HIRAN EXPRESS LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HIRD, JUSTIN                        ADDRESS ON FILE
HIRE QUEST LLC                      DBA TROJAN LABOR, PO BOX 890714 CHARLOTTE NC 28289
HIRES, ROBERT                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 862 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 871 of 2156

Claim Name                            Address Information
HIRKIC, SMAIL                         ADDRESS ON FILE
HIRSCH ELECTRIC LLC                   603 DUNDALK AVENUE BALTIMORE MD 21224
HIRSCH, JUSTIN                        ADDRESS ON FILE
HIRSCH, RUSSELL                       ADDRESS ON FILE
HIRSCHBACH                            2460 KERPER BLVD DUBUQUE IA 52001
HIRSCHBACH TRANSPORTATION SERVICES,   PO BOX 854409 MINNEAPOLIS MN 55485-4409
INC.
HIRSCHFELD, DONALD J                  ADDRESS ON FILE
HIRSCHFELT, MICHAEL                   ADDRESS ON FILE
HIRSCHMUGL, BRIAN                     ADDRESS ON FILE
HIRSH INDUSTRIES                      631 RIDGELY ST STE 14 DOVER DE 19904
HIRSHEY, STANLEY                      ADDRESS ON FILE
HIRSI EXPRESS LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
HIRSI LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HIRST, DWAYNE PETER                   ADDRESS ON FILE
HIRTZ, JOHN                           ADDRESS ON FILE
HIS & HERRS LLC                       476 E WOODVIEW DR NAPPANEE IN 46550
HISE, SHANNON                         ADDRESS ON FILE
HISLE, ROBERT                         ADDRESS ON FILE
HISPANIC PRODUCTS CORP                ATTN: OSMANJUJICA 2550 AMERA TRL ST CLOUD FL 34771
HISPEED DELIVERY CORP                 3228 SW 62ND COURT MIAMI FL 33155
HITACHI GLOBAL AIR POWER LLC          ATTN: PATTY MUSIAL 1 SULLAIR WAY MICHIGAN CITY IN 46360
HITCHINER MANUFACTURING               594 ELM ST MILFORD NH 03055
HITE, STANLEY                         ADDRESS ON FILE
HITES, SAMUEL                         ADDRESS ON FILE
HITT, VICTOR                          ADDRESS ON FILE
HITTERMAN, ALEC                       ADDRESS ON FILE
HITZEMAN, GAVIN                       ADDRESS ON FILE
HIWAY TOWING                          1811 S 11TH ST UNION GAP WA 98903
HIWAY TOWING & TRUCK SERVICE          1313 GORDON RD YAKIMA WA 98901
HIWAY TRUCKING LLC                    15702 E 113TH STREET FORTVILLE IN 46040
HIX WRECKER SERVICE INC               3200 BLUFF RD INDIANAPOLIS IN 46217
HIX, TERESA                           ADDRESS ON FILE
HIXON, RICHARD                        ADDRESS ON FILE
HIXSON, HOWARD                        ADDRESS ON FILE
HIYAB LLC                             OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
HIYAB LLC                             OR FIRST LINE FINDING GROUP, PO BOX 328 MADISON SD 57042
HIYAB TRANSPORTATION LLC              OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
HIZER, LARRY                          ADDRESS ON FILE
HJ PERTZBORN PLUMBING &               FIRE PROTECTION CORP 802 JOHN NOLEN DR MADISON WI 53713
HJ TOWING & RECOVERY INC              34 RICHCREEK RIDGE LANE LANDISBURG PA 17040
HJC                                   310 SW 24TH ST BENTONVILLE AR 72712
HJETS TRANSPORTATION LLC              OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HJR TRUCKING LLC                      OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
HK DIRECT INC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HK HAUL ALL TRANSPORT, LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HK TRANS LLC                          8689 BOWERS AVE SOUTH GATE CA 90280
HK TRANSPORTATION LLC                 OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HKK TRANSPORT INC                     190 SANDPIPER LANE GRAND ISLAND NY 14072



Epiq Corporate Restructuring, LLC                                                                Page 863 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 872 of 2156

Claim Name                           Address Information
HKM DIRECT MARKET COMMUNICATION      ATTN: GENERAL COUNSEL 5501 CASS AVE CLEVELAND OH 44102
HKS GROUP LLC                        OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
HL HOLMES                            ADDRESS ON FILE
HL TRANSPORTATION                    108 PINE ST KEENE TX 76059
HL TRANSPORTATION LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HLADY, KATHERINE                     ADDRESS ON FILE
HLASTA, PATRICIA                     ADDRESS ON FILE
HLAVACS, JAMES                       ADDRESS ON FILE
HLBJ                                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HLH TRANSPORT LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HLM TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HLY TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HM CLAUSE INC                        555 CODONI AVE MODESTO CA 95357
HM FREIGHT LLC                       10921 REED HARTMAN HWY 304G BLUE ASH OH 45242
HM NARVAEZ MALDONADO                 ADDRESS ON FILE
HM TRANSPORT LLC                     HM TRANSPORT LLC, 16115 23RD ST E LAKE TAPPS WA 98391
HMC TRUCKING INC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HMD EXPRESS IL INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HMD FREIGHT                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
HMD LLC                              OR HMD TRUCKING INC. 10031 VIRGINIA AVE CHICAGO RIDGE IL 60415
HMD TRUCKING, INC.                   10031 VIRGINIA AVE CHICAGO RIDGE IL 60415
HMD TRUCKING, INC.                   D/B/A: HMD LLC OR HMD TRUCKING, INC. 10031 VIRGINIA AVE CHICAGO RIDGE IL 60415
HMGB FLOORING                        309 THE KINGSWAY 103 ETOBICOKE ON M9A 3V3 CANADA
HMI TRANSPORTATION LLC               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HMNG TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HMS TRANSPORT                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HN LOGISTICS LLC                     1 SPRING DRIVE BURLINGTON NJ 08016
HN TRUCKING LLC                      21005 W 53RD TER SHAWNEE KS 66218-9245
HNH VAN LINES, LTD. CO.              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HNI CORP                             C/O SCHNEIDER LOGISTICS INC, PO BOX 18157 MILWAUKEE WI 53278
HNI CORP                             C/O SCHNEIDER LOGISTICS INC, PO BOX 78158 MILWAUKEE WI 53278
HNI CORP                             C/O SCHNEIDER LOGISTICS, PO BOX 78158 MILWAUKEE WI 53278
HNI CORPORATION                      ATTN: MARYJOY DIZON BARRAMEDA PO BOX 78158 MILWAUKEE WI 53278
HNI CORPORATION                      ATTN: MARYJOY DIZON BARRAMEDA SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE
                                     WI 53278
HNI CORPORATION                      ATTN: MARYJOY DIZON BARRAMEDA SCHNEIDER LOGISTICS PO BOX 78158 MILWAUKEE WI
                                     53278
HNI CORPORATION                      SCHNEIDER LOGISTICS, PO BOX 78158 MILWAUKEE WI 53278
HNRY LOGISTICS                       1250 TERMINUS DR., SUITE 200 LITHIA SPRINGS GA 30122
HNRY LOGISTICS                       D/B/A: YELLOW LOGISTICS INC PO BOX 775556 CHICAGO IL 60677
HNS TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HNTC GROUP INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HO, DANNY                            ADDRESS ON FILE
HO, DAVID                            ADDRESS ON FILE
HOAK, JAMES G                        ADDRESS ON FILE
HOANG, UYEN L M                      ADDRESS ON FILE
HOARD TELEPORT-HT                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HOARD, SIDNEY                        ADDRESS ON FILE
HOATS, JAMI                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 864 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 873 of 2156

Claim Name                          Address Information
HOBART K HOWARD                     ADDRESS ON FILE
HOBBS DOCK AND DOORS INC            4745 W 135TH ST BLDG D CRESTWOOD IL 60445
HOBBS, ALEX                         ADDRESS ON FILE
HOBBS, ALICE                        ADDRESS ON FILE
HOBBS, CARLTON                      ADDRESS ON FILE
HOBBS, DAVID                        ADDRESS ON FILE
HOBBS, DAVID                        ADDRESS ON FILE
HOBBS, DAVID G                      ADDRESS ON FILE
HOBBS, ENRIQUE                      ADDRESS ON FILE
HOBBS, ENRIQUE                      ADDRESS ON FILE
HOBBS, JOHN                         ADDRESS ON FILE
HOBBS, MARJORIE                     ADDRESS ON FILE
HOBBS, MATTHEW J                    ADDRESS ON FILE
HOBBS, SAMUEL                       ADDRESS ON FILE
HOBBS, SHEILA                       ADDRESS ON FILE
HOBSON, DARNELL                     ADDRESS ON FILE
HOBSON, HARRY                       ADDRESS ON FILE
HOBSON, JUAN                        ADDRESS ON FILE
HOBSON, TYLER                       ADDRESS ON FILE
HOCH, AARON                         ADDRESS ON FILE
HOCH, AUSTIN                        ADDRESS ON FILE
HOCH, ROBERT                        ADDRESS ON FILE
HOCH, WESLEY                        ADDRESS ON FILE
HOCHBERG, KEITH                     ADDRESS ON FILE
HOCHSTEDLER, JEFFREY                ADDRESS ON FILE
HOCHSTEIN, KURT                     ADDRESS ON FILE
HOCHSTETLER, ANDREW                 ADDRESS ON FILE
HOCHSTETLER, KENNETH                ADDRESS ON FILE
HOCHSTRASSER, RUBEN                 ADDRESS ON FILE
HOCKENBERRY, BRADLEY                ADDRESS ON FILE
HOCKENBERRY, BRIAN                  ADDRESS ON FILE
HOCKENBERRY, JAMES                  ADDRESS ON FILE
HOCKENBERRY, KYLE                   ADDRESS ON FILE
HOCKENBERRY, MELISSA                ADDRESS ON FILE
HOCKENBERRY, STEVEN                 ADDRESS ON FILE
HOCKER, KIMBERLY                    ADDRESS ON FILE
HOCKETT, RICHARD                    ADDRESS ON FILE
HOCKEY TRANSPORTATION LLC           OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
HODAN TRANS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HODASI, ANDREW                      ADDRESS ON FILE
HODEN, DARREN                       ADDRESS ON FILE
HODGE MATERIAL HANDLING             7465 CHAVENELLE ROAD DUBUQUE IA 52002
HODGE, AARON                        ADDRESS ON FILE
HODGE, ALBERT                       ADDRESS ON FILE
HODGE, ALBERT                       ADDRESS ON FILE
HODGE, EMRITH                       ADDRESS ON FILE
HODGE, JACKIE                       ADDRESS ON FILE
HODGE, JACKIE L                     ADDRESS ON FILE
HODGE, JAMES A                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 865 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 874 of 2156

Claim Name                              Address Information
HODGE, THOMAS                          ADDRESS ON FILE
HODGE, TIMOTHY                         ADDRESS ON FILE
HODGES HEAVY DUTY TRUCK PARTS & SVC INC PO BOX 668 RUSSELLVILLE AR 72811
HODGES LAWN CARE SERVICES              PO BOX 186 NORWALK IA 50211
HODGES LAWN CARE SERVICES              1194 NW 66TH AVENUE DES MOINES IA 50313
HODGES LOGISTICS LLC                   125 6TH STREET MONTGOMERY AL 36104
HODGES, ALISON                         ADDRESS ON FILE
HODGES, ANTHONY                        ADDRESS ON FILE
HODGES, DANIEL                         ADDRESS ON FILE
HODGES, GORDON                         ADDRESS ON FILE
HODGES, HAMILTON                       ADDRESS ON FILE
HODGES, JEFFERY                        ADDRESS ON FILE
HODGES, JOHN                           ADDRESS ON FILE
HODGES, JOYCE                          ADDRESS ON FILE
HODGES, KRYSTAL                        ADDRESS ON FILE
HODGES, LEWIS                          ADDRESS ON FILE
HODGES, MALCOLM                        ADDRESS ON FILE
HODGES, MICHAEL                        ADDRESS ON FILE
HODGES, RICHARD T                      ADDRESS ON FILE
HODGES, RONALD                         ADDRESS ON FILE
HODGESON, ALBERT                       ADDRESS ON FILE
HODGINS MENTZER, KIMBERLY              ADDRESS ON FILE
HODGSON FREIGHTWAYS                    5 9452 193A ST SURREY BC V4N 4E6 CANADA
HODGSON RUSS LP                        140 PEARL STREET STE 100 BUFFALO NY 14202
HODMAN TRANSIT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HODO, SHELIA                           ADDRESS ON FILE
HODOR, BRIAN MICHAEL                   ADDRESS ON FILE
HODOUS, MICHAEL                        ADDRESS ON FILE
HODSON JR, DAVID                       ADDRESS ON FILE
HODSON SR, DAVID                       ADDRESS ON FILE
HODSON, CHARLES                        ADDRESS ON FILE
HODUM TRUCKING, INC.                   7505 HWY 18 WEST MENDENHALL MS 39114
HOEFER, MYRON                          ADDRESS ON FILE
HOEFT, JOANNA                          ADDRESS ON FILE
HOEHN, TIMOTHY                         ADDRESS ON FILE
HOEKS, STEVEN                          ADDRESS ON FILE
HOELSCHER, NEAL                        ADDRESS ON FILE
HOELZEL, MICHAEL                       ADDRESS ON FILE
HOEMSEN, MARCELL                       ADDRESS ON FILE
HOENIG, JULIE                          ADDRESS ON FILE
HOENSCHEIDT TRANSPORTATION SERVICE     PO BOX 19818 SAN DIEGO CA 92159
HOEPFNER, LOREN                        ADDRESS ON FILE
HOEPFNER, ROULA                        ADDRESS ON FILE
HOEPNER, DENISE                        ADDRESS ON FILE
HOEPPNER, JEFFREY                      ADDRESS ON FILE
HOERLER, DREW                          ADDRESS ON FILE
HOERLER, MICHAEL                       ADDRESS ON FILE
HOERMAN, MICHELLE                      ADDRESS ON FILE
HOERNER, PETER                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 866 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 875 of 2156

Claim Name                           Address Information
HOERNER, TYLER                       ADDRESS ON FILE
HOESCH, CANDIS                       ADDRESS ON FILE
HOESCHEN, ALLEN                      ADDRESS ON FILE
HOESLI DIESEL SERVICE                8906 N KENTUCKY AVE EVANSVILLE IN 47725
HOF ALAPAHA KENNELS                  212 JERICO RD SELKIRK NY 12158
HOF, STEVEN R                        ADDRESS ON FILE
HOFER, CRAIG                         ADDRESS ON FILE
HOFER, JAMIE                         ADDRESS ON FILE
HOFER, MIKE L                        ADDRESS ON FILE
HOFER, TERRY                         ADDRESS ON FILE
HOFF, ETHAN                          ADDRESS ON FILE
HOFF, SANDRA                         ADDRESS ON FILE
HOFFARTH, DALE                       ADDRESS ON FILE
HOFFAS, MARK                         ADDRESS ON FILE
HOFFBECK, JARED                      ADDRESS ON FILE
HOFFER, DANNY R                      ADDRESS ON FILE
HOFFER, GARY                         ADDRESS ON FILE
HOFFER, TOMMY                        ADDRESS ON FILE
HOFFMAN TEXAS, INC.                  DBA ROTO-ROOTER SERVICE AND, 3817 CONFLANS IRVING TX 75061
HOFFMAN TRANSIT COMPANY,INC.         P. O. BOX 87 GRESHAM WI 54128
HOFFMAN TRANSPORT, INC.              485 MASON DIXON ROAD GREENCASTLE PA 17225
HOFFMAN TRANSPORTATION               OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
HOFFMAN, ALBERTO                     ADDRESS ON FILE
HOFFMAN, ANDREW                      ADDRESS ON FILE
HOFFMAN, AUSTIN                      ADDRESS ON FILE
HOFFMAN, BRENDA L                    ADDRESS ON FILE
HOFFMAN, CHRISTOPHER                 ADDRESS ON FILE
HOFFMAN, DAVID                       ADDRESS ON FILE
HOFFMAN, DILLON                      ADDRESS ON FILE
HOFFMAN, GARY                        ADDRESS ON FILE
HOFFMAN, GEORGE R                    ADDRESS ON FILE
HOFFMAN, JASON                       ADDRESS ON FILE
HOFFMAN, JEFFREY                     ADDRESS ON FILE
HOFFMAN, JOHN                        ADDRESS ON FILE
HOFFMAN, KATIE                       ADDRESS ON FILE
HOFFMAN, LINDA                       ADDRESS ON FILE
HOFFMAN, LISA                        ADDRESS ON FILE
HOFFMAN, MANDY                       ADDRESS ON FILE
HOFFMAN, MICHAEL                     ADDRESS ON FILE
HOFFMAN, MICHAEL                     ADDRESS ON FILE
HOFFMAN, MICHELE                     ADDRESS ON FILE
HOFFMAN, PATRICK                     ADDRESS ON FILE
HOFFMAN, RICHARD                     ADDRESS ON FILE
HOFFMAN, RONALD                      ADDRESS ON FILE
HOFFMAN, SARAH                       ADDRESS ON FILE
HOFFMAN, TIMOTHY                     ADDRESS ON FILE
HOFFMAN, WENDY                       ADDRESS ON FILE
HOFFMAN, ZANE                        ADDRESS ON FILE
HOFFMANN BROTHERS                    1025 HANLEY INDUSTRIAL ST LOUIS MO 63144



Epiq Corporate Restructuring, LLC                                                                 Page 867 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 876 of 2156

Claim Name                           Address Information
HOFFMANN, DAVID                      ADDRESS ON FILE
HOFFMANN, ERNEST                     ADDRESS ON FILE
HOFFMANN, JEFFREY                    ADDRESS ON FILE
HOFFPAUIR, CRAIG                     ADDRESS ON FILE
HOFFPAUIR, JOE                       ADDRESS ON FILE
HOFMANN TRUCKING, LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HOFMANN, AMANDA                      ADDRESS ON FILE
HOFNER, KELLY                        ADDRESS ON FILE
HOG TRANSPORT                        OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
HOGA, MICHAEL                        ADDRESS ON FILE
HOGAN                                DEPARTMENT NO 55, PO BOX 21228 TULSA OK 74121
HOGAN LOVELLS                        COUNSEL TO THE BANK OF NEW YORK MELLON ATTN: RONALD SILVERMAN 390 MADISON
                                     AVENUE NEW YORK NY 10017
HOGAN TRANSPORTATION LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
HOGAN TRUCK LEASING, INC.            2150 SCHUETZ RD, SUITE 210 SAINT LOUIS MO 63146
HOGAN TRUCK LEASING, INC.            7501 STADIUM DR. KANSAS CITY MO 64129
HOGAN, DARREN                        ADDRESS ON FILE
HOGAN, DARRIE                        ADDRESS ON FILE
HOGAN, EUGENE F                      ADDRESS ON FILE
HOGAN, EVAN                          ADDRESS ON FILE
HOGAN, JACQUELYNE                    ADDRESS ON FILE
HOGAN, JOHN                          ADDRESS ON FILE
HOGAN, JOHN                          ADDRESS ON FILE
HOGAN, JONATHAN L                    ADDRESS ON FILE
HOGAN, KEITH                         ADDRESS ON FILE
HOGAN, KEN                           ADDRESS ON FILE
HOGAN, KENNETH E                     ADDRESS ON FILE
HOGAN, NATALIE                       ADDRESS ON FILE
HOGAN, RODARIUS                      ADDRESS ON FILE
HOGAN, TIMMY                         ADDRESS ON FILE
HOGAN, TRISHA                        ADDRESS ON FILE
HOGBIN, VINCE                        ADDRESS ON FILE
HOGE, HENRY E                        ADDRESS ON FILE
HOGE, MELISSA                        ADDRESS ON FILE
HOGEBACK, FRED                       ADDRESS ON FILE
HOGG LIFE LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HOGGARD, ADAM                        ADDRESS ON FILE
HOGGARD, ANDREW                      ADDRESS ON FILE
HOGGATT, KYLE                        ADDRESS ON FILE
HOGGES, SANIJAWA                     ADDRESS ON FILE
HOGLAND TRANSFER                     6605 HARDESON ROAD SUITE 101 EVERETT WA 98203
HOGLANDS                             6605 HARDESON RD 101 EVERETT WA 98203
HOGMAN LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HOGSTON, RALPH                       ADDRESS ON FILE
HOGUE DIESEL SERVICE LLC             750 2ND AVE NW WEST FARGO ND 58078
HOGUE, SAMUEL                        ADDRESS ON FILE
HOGUE, TOBOK                         ADDRESS ON FILE
HOHL, GREGORY                        ADDRESS ON FILE
HOHLMAIER, PAUL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 868 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 877 of 2156

Claim Name                            Address Information
HOHLMAIER, PAUL                       ADDRESS ON FILE
HOHLT, BRYAN                          ADDRESS ON FILE
HOHMAN, JEFFERY                       ADDRESS ON FILE
HOHMAN, WILLIAM                       ADDRESS ON FILE
HOHULIN FENCE COMPANY                 P.O. BOX 107, 116 S HARRISON STREET GOODFIELD IL 61742
HOISINGTON, RICHARD                   ADDRESS ON FILE
HOJ FORKLIFT SYSTEMS                  P.O. BOX 271123 SALT LAKE CITY UT 84127
HOJ TRANSPORTATION NC LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
HOKA INCORPORATED                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HOKE, DEBRA                           ADDRESS ON FILE
HOKER TRUCKING LLC                    30923 52ND AVENUE DIXON IA 52745
HOLATA, LUDEK                         ADDRESS ON FILE
HOLBA, JOHN                           ADDRESS ON FILE
HOLBERT, RANDAL                       ADDRESS ON FILE
HOLBERT, RONNIE                       ADDRESS ON FILE
HOLBERT, TKEYAH                       ADDRESS ON FILE
HOLBRON, CODY                         ADDRESS ON FILE
HOLBROOK ASPHALT                      1545 E COMMERCE DR ST GEORGE 84790
HOLBROOK MFG.                         288 HOLBROOK DRIVE WHEELING IL 60090
HOLBROOK, JAMES                       ADDRESS ON FILE
HOLBROOK, KENNETH                     ADDRESS ON FILE
HOLBROOK, MICHAEL                     ADDRESS ON FILE
HOLBROOK, TERRY                       ADDRESS ON FILE
HOLCIM SOLUTIONS AND PRODUCTS US      ATTN: BRAD BRISKEY GL 800233 / PC 100000 PO BOX 93661 CHICAGO IL 60673
HOLCIM SOLUTIONS AND PRODUCTS US LL   ATTN: BRAD BRISKEY PO BOX 93661 CHICAGO IL 60673
HOLCIM SOLUTIONS AND PRODUCTS US, L   PO BOX 93661 CHICAGO IL 60673
HOLCOMB, BRANDON                      ADDRESS ON FILE
HOLCOMB, HUNTER                       ADDRESS ON FILE
HOLCOMB, SUSAN                        ADDRESS ON FILE
HOLCOMBE, DAVONTE                     ADDRESS ON FILE
HOLCOMBE, JEFFERY                     ADDRESS ON FILE
HOLD PROMOTIONS                       11 FIRST ROAD NOLALU ON P0T 2K0 CANADA
HOLDAHL, BRADLEY                      ADDRESS ON FILE
HOLDEN AND SONS LOGISTICS LLC         OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
HOLDEN, JAMES                         ADDRESS ON FILE
HOLDEN, JOSEPH                        ADDRESS ON FILE
HOLDEN, LARRY                         ADDRESS ON FILE
HOLDEN, NICK                          ADDRESS ON FILE
HOLDEN, ZOE                           ADDRESS ON FILE
HOLDER, BILLY                         ADDRESS ON FILE
HOLDER, CRAIG                         ADDRESS ON FILE
HOLDER, CRAIG                         ADDRESS ON FILE
HOLDER, JOHN                          ADDRESS ON FILE
HOLDER, NICHOLAS                      ADDRESS ON FILE
HOLDER, RODNEY                        ADDRESS ON FILE
HOLDER, RON                           ADDRESS ON FILE
HOLDER, TIMOTHY                       ADDRESS ON FILE
HOLDER, TYRONE                        ADDRESS ON FILE
HOLDERBAUGH, DAVID                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 869 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 878 of 2156

Claim Name                           Address Information
HOLDERFIELD, CHRISTOPHER             ADDRESS ON FILE
HOLDERFIELD, MARK A                  ADDRESS ON FILE
HOLDERITH, BRUCE                     ADDRESS ON FILE
HOLDERMAN TRUCKING                   5643 LICKING CREEK RD MIFFLINTOWN PA 17059
HOLDERMAN, STEPHEN                   ADDRESS ON FILE
HOLDERMAN, STEPHEN F                 ADDRESS ON FILE
HOLDREN, ROBERT                      ADDRESS ON FILE
HOLE PRODUCTS                        ATTN: MALORI MILLER 309 13TH AVE NW LITTLE FALLS MN 56345
HOLEC, CLAYTON                       ADDRESS ON FILE
HOLEMAN, CLAYTON C                   ADDRESS ON FILE
HOLENCY, JOHN                        ADDRESS ON FILE
HOLESCKO, JEFF                       ADDRESS ON FILE
HOLEVAS, NIKOLAOS                    ADDRESS ON FILE
HOLEWINSKI, ANDREW                   ADDRESS ON FILE
HOLGATE MILLING                      ATTN: BROOKE STCLAIR G510 COUNTY ROAD 14 HOLGATE OH 43527
HOLGUIN, CHRISTOPHER                 ADDRESS ON FILE
HOLGUIN, ERICA                       ADDRESS ON FILE
HOLGUIN, JESUS                       ADDRESS ON FILE
HOLGUIN, SONIA                       ADDRESS ON FILE
HOLIDAY INN EXPRESS                  201 LAKE ST. SHREVEPORT LA 71101
HOLIDAY STATIONSTORES LLC            4567 AMERICAN BLVD W BLOOMINGTON MN 55437
HOLIDAY TRANSPORT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HOLIDAY WRECKER SERVICE              1060 S HINKLE DR. TIFFIN IA 52340
HOLIDAY, DAVID                       ADDRESS ON FILE
HOLJES, MICHAEL                      ADDRESS ON FILE
HOLLAM GLOBAL LOGISTICS LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HOLLAND                              1536 GENSIS RD CROSSVILLE TN 38555
HOLLAND & KNIGHT LLP                 COUNSEL TO ALTER DOMUS PRODS, DIP AGENT ATTN: JOSHUA M. SPENCER 150 N.
                                     RIVERSIDE PLAZA, SUITE 2700 CHICAGO IL 60606
HOLLAND & KNIGHT LLP                 COUNSEL TO ALTER DOMUS PRODUCTS CORP. ADMIN AGT B2 TERM LOAN, ATTN: J. SPENCER
                                     150 N. RIVERSIDE PLAZA, SUITE 2700 CHICAGO IL 60606
HOLLAND BOARD OF PUBLIC WORKS        321 SETTLERS RD, STE 2 HOLLAND MI 49423
HOLLAND BOARD OF PUBLIC WORKS        625 HASTINGS AVE. HOLLAND MI 49423
HOLLAND LOGISTICS LLC                OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
HOLLAND PAVING                       4538 W 130TH STREET CLEVELAND OH 44135
HOLLAND TRANSPORT SERVICES LLC       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
HOLLAND TRANSPORTATION COMPANY       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HOLLAND TRUCKING LLC                 125 EVERGREEN FOREST DR OAKLAND MD 21550
HOLLAND UNITED LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HOLLAND, ADAM                        ADDRESS ON FILE
HOLLAND, CHRISTIAN                   ADDRESS ON FILE
HOLLAND, CHRISTOPHER                 ADDRESS ON FILE
HOLLAND, DENNIS                      ADDRESS ON FILE
HOLLAND, DERWIN                      ADDRESS ON FILE
HOLLAND, DEVONNE                     ADDRESS ON FILE
HOLLAND, ERIC                        ADDRESS ON FILE
HOLLAND, GARY T                      ADDRESS ON FILE
HOLLAND, JAMES                       ADDRESS ON FILE
HOLLAND, JAMES                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 870 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 879 of 2156

Claim Name                         Address Information
HOLLAND, LAZHAN                    ADDRESS ON FILE
HOLLAND, LEON                      ADDRESS ON FILE
HOLLAND, PATRICK                   ADDRESS ON FILE
HOLLAND, ROBERT                    ADDRESS ON FILE
HOLLAND, RONALD                    ADDRESS ON FILE
HOLLAND, RONALD J                  ADDRESS ON FILE
HOLLAND, SCOTT                     ADDRESS ON FILE
HOLLAND, SETH                      ADDRESS ON FILE
HOLLAND, SHANE                     ADDRESS ON FILE
HOLLAND, THOMAS                    ADDRESS ON FILE
HOLLAND, TYLER                     ADDRESS ON FILE
HOLLAND, WILBURN                   ADDRESS ON FILE
HOLLANDBU                          D/B/A: AFFORDABLE CLEANING & MAINTENANCE OF WI LLC PO BOX 942 ELKHORN WI 53121
HOLLANDSWORTH, CHRISTOPHER         ADDRESS ON FILE
HOLLANDSWORTH, LEVI                ADDRESS ON FILE
HOLLANDSWORTH, LEVI                ADDRESS ON FILE
HOLLANDSWORTH, RYON                ADDRESS ON FILE
HOLLEMAN, GREGORY                  ADDRESS ON FILE
HOLLENBEAK, DONALD                 ADDRESS ON FILE
HOLLENBECK, STEVE                  ADDRESS ON FILE
HOLLERAN, BRIAN                    ADDRESS ON FILE
HOLLERMAN, PEGGY                   ADDRESS ON FILE
HOLLETT, NICHOLAS                  ADDRESS ON FILE
HOLLETT, RODNEY                    ADDRESS ON FILE
HOLLEY PERFORMANCE                 ATTN: CYNTHIA CHANEY 487 CENTURY ST BOWLING GREEN KY 42101
HOLLEY, CARL                       ADDRESS ON FILE
HOLLEY, DALE                       ADDRESS ON FILE
HOLLEY, DENISE                     ADDRESS ON FILE
HOLLEY, GLEN                       ADDRESS ON FILE
HOLLEY, JACK                       ADDRESS ON FILE
HOLLEY, JOSEPH                     ADDRESS ON FILE
HOLLEY, KEVIN                      ADDRESS ON FILE
HOLLEY, TAQUAN                     ADDRESS ON FILE
HOLLIDAY EXTERMINATING CO. INC     2521 FRISCO MEMPHIS TN 38114
HOLLIDAY, DESIREE                  ADDRESS ON FILE
HOLLIDAY, DONTRELLE                ADDRESS ON FILE
HOLLIDAY, ELIZABETH                ADDRESS ON FILE
HOLLIDAY, JOHN                     ADDRESS ON FILE
HOLLIDAY, JOYCE                    ADDRESS ON FILE
HOLLIDAY, STEVEN                   ADDRESS ON FILE
HOLLIDAY, TYMIKO                   ADDRESS ON FILE
HOLLIE LYNOTT                      ADDRESS ON FILE
HOLLIE, HENRY                      ADDRESS ON FILE
HOLLINGSWORTH PAVING INC           1633 FERRELL PARK DRIVE MEMPHIS TN 38116
HOLLINGSWORTH, JOHN                ADDRESS ON FILE
HOLLINGTON, DARELL                 ADDRESS ON FILE
HOLLINGWORTH, JOHN                 ADDRESS ON FILE
HOLLINQUEST, ANDRE                 ADDRESS ON FILE
HOLLINS, ANTONIO                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 871 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 880 of 2156

Claim Name                          Address Information
HOLLINS, BRIANA                     ADDRESS ON FILE
HOLLINS, DIANE                      ADDRESS ON FILE
HOLLINS, JOSEPHINE                  ADDRESS ON FILE
HOLLINS, KENNY                      ADDRESS ON FILE
HOLLINS, LARRY                      ADDRESS ON FILE
HOLLINS, MARK                       ADDRESS ON FILE
HOLLINSHEAD, ANTHONY                ADDRESS ON FILE
HOLLIS, AARON                       ADDRESS ON FILE
HOLLIS, AARON                       ADDRESS ON FILE
HOLLIS, ASHLEY                      ADDRESS ON FILE
HOLLIS, BLAKE                       ADDRESS ON FILE
HOLLIS, BRECK                       ADDRESS ON FILE
HOLLIS, CARLA                       ADDRESS ON FILE
HOLLIS, DANIEL                      ADDRESS ON FILE
HOLLIS, JEFFREY                     ADDRESS ON FILE
HOLLIS, JOHN                        ADDRESS ON FILE
HOLLIS, QUAN                        ADDRESS ON FILE
HOLLIS, TALEAH                      ADDRESS ON FILE
HOLLISTER, STACEY                   ADDRESS ON FILE
HOLLISTER, TOM                      ADDRESS ON FILE
HOLLOMAN, NAKEA                     ADDRESS ON FILE
HOLLOMAN, WARREN                    ADDRESS ON FILE
HOLLON FIRE PROTECTION, LLC         15750 E 590 RD INOLA OK 74036
HOLLON, STEVEN R                    ADDRESS ON FILE
HOLLOWAY, BRIA                      ADDRESS ON FILE
HOLLOWAY, BRIAN                     ADDRESS ON FILE
HOLLOWAY, BRIAN                     ADDRESS ON FILE
HOLLOWAY, CORNAE                    ADDRESS ON FILE
HOLLOWAY, CORTEZ                    ADDRESS ON FILE
HOLLOWAY, CORTEZ                    ADDRESS ON FILE
HOLLOWAY, CORTEZ D                  ADDRESS ON FILE
HOLLOWAY, DARREN                    ADDRESS ON FILE
HOLLOWAY, DERRIN                    ADDRESS ON FILE
HOLLOWAY, DONNICCO                  ADDRESS ON FILE
HOLLOWAY, EZEKIEL                   ADDRESS ON FILE
HOLLOWAY, HARVEY                    ADDRESS ON FILE
HOLLOWAY, JAMES                     ADDRESS ON FILE
HOLLOWAY, MAURICE                   ADDRESS ON FILE
HOLLOWAY, MAURICE                   ADDRESS ON FILE
HOLLOWAY, ROBERT                    ADDRESS ON FILE
HOLLOWAY, STEVEN R                  ADDRESS ON FILE
HOLLOWAY, WILLIAM                   ADDRESS ON FILE
HOLLOWELL TRANSPORT LLC             OR MURPHY HOFFMAN COMPANY, PO BOX 874091 KANSAS CITY MO 64187
HOLLOWELL TRANSPORT LLC             OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
HOLLY, CECIL                        ADDRESS ON FILE
HOLLY, JAMAL                        ADDRESS ON FILE
HOLLY, RICHARD                      ADDRESS ON FILE
HOLLYWOOD SIGNS & GRAPHIC           720 NE HOGAN DR GRESHAM OR 97030
HOLMAN RODRIGUEZ                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 872 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 881 of 2156

Claim Name                          Address Information
HOLMAN TRUCKING LLC                 OR SMART FREIGHT FUNDING 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
HOLMAN, BRAD                        ADDRESS ON FILE
HOLMAN, DERICK                      ADDRESS ON FILE
HOLMAN, JUSTIN                      ADDRESS ON FILE
HOLMAN, RICKY                       ADDRESS ON FILE
HOLMAN, ROBERT                      ADDRESS ON FILE
HOLMAN, SKYLAR                      ADDRESS ON FILE
HOLMAN, TODD                        ADDRESS ON FILE
HOLMBERG, COLLIN                    ADDRESS ON FILE
HOLMES LLL, ERNEST                  ADDRESS ON FILE
HOLMES MANUFACTURING                6775 COUNTY ROAD 624 MILLERSBURG OH 44654
HOLMES, BENNIE                      ADDRESS ON FILE
HOLMES, BERNARD                     ADDRESS ON FILE
HOLMES, BRIAN                       ADDRESS ON FILE
HOLMES, BRYAN                       ADDRESS ON FILE
HOLMES, CHRISTOPHER                 ADDRESS ON FILE
HOLMES, CLINTON                     ADDRESS ON FILE
HOLMES, DANIEL                      ADDRESS ON FILE
HOLMES, DANNY                       ADDRESS ON FILE
HOLMES, DONNIE                      ADDRESS ON FILE
HOLMES, FLOYD                       ADDRESS ON FILE
HOLMES, FREDRICKED                  ADDRESS ON FILE
HOLMES, GIDEON                      ADDRESS ON FILE
HOLMES, GRADY                       ADDRESS ON FILE
HOLMES, GREGORY                     ADDRESS ON FILE
HOLMES, JACK                        ADDRESS ON FILE
HOLMES, JASON                       ADDRESS ON FILE
HOLMES, JAWAN                       ADDRESS ON FILE
HOLMES, JENNIFER                    ADDRESS ON FILE
HOLMES, JEROME                      ADDRESS ON FILE
HOLMES, KENNETH                     ADDRESS ON FILE
HOLMES, KIRK                        ADDRESS ON FILE
HOLMES, LAUREN                      ADDRESS ON FILE
HOLMES, LAURENCE                    ADDRESS ON FILE
HOLMES, MELISSA                     ADDRESS ON FILE
HOLMES, RANDALL                     ADDRESS ON FILE
HOLMES, RENO                        ADDRESS ON FILE
HOLMES, ROBERT                      ADDRESS ON FILE
HOLMES, ROBERT                      ADDRESS ON FILE
HOLMES, RONDARIUS                   ADDRESS ON FILE
HOLMES, TAYLOR                      ADDRESS ON FILE
HOLMES, TERRY                       ADDRESS ON FILE
HOLMES, WILLIE                      ADDRESS ON FILE
HOLMES, YOLANDA                     ADDRESS ON FILE
HOLMS RADIATOR LLC DBA AMERICAN     1616 NE BROADWAY AVENUE DES MOINES IA 50313
RADIATOR
HOLMS RADIATOR LLC DBA AMERICAN     D/B/A: AMERICAN RADIATOR 1616 NE BROADWAY AVENUE DES MOINES IA 50313
RADIATOR
HOLOGIC INC                         C/O GLOBAL POST AUDITING SOLUTIONS LLC 3401 SALTERBECK STREET STE 201 MOUNT
                                    PLEASANT SC 29466


Epiq Corporate Restructuring, LLC                                                             Page 873 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 882 of 2156

Claim Name                              Address Information
HOLOGIC INC                            DATA2LOGISTICS, PO BOX 61050 FORT MYERS FL 33906
HOLOGIC INC                            PO BOX 61050 FORT MYERS FL 33906
HOLOMAN, BRANDI                        ADDRESS ON FILE
HOLOWCHAK, CHRISTIAN                   ADDRESS ON FILE
HOLSAPPLE, JOHN                        ADDRESS ON FILE
HOLSAPPLE, MARSHA                      ADDRESS ON FILE
HOLSBEKE, KAROLINE                     ADDRESS ON FILE
HOLSBEKE, LANCE                        ADDRESS ON FILE
HOLSEY, EDWIND                         ADDRESS ON FILE
HOLSHOUSER, RUSSELL D                  ADDRESS ON FILE
HOLSINGERS PLUMBING HEATING & AIR CONDI & AIR CONDITIONING, 1326 POLK AVE ALTOONA PA 16602
HOLSOPPLE, MICHAEL                     ADDRESS ON FILE
HOLST, JEFFREY                         ADDRESS ON FILE
HOLSTEGE, DUANE                        ADDRESS ON FILE
HOLSTER JR, HENRY                      ADDRESS ON FILE
HOLSTON GASES                          PO BOX 90445, 109 CENTENNIAL CIRCLE NASHVILLE TN 37209
HOLSTON MEDICAL GROUP, P.C.            PO BOX 896230 CHARLOTTE NC 28289
HOLSTON MEDICAL GROUP, P.C.            105 W STONE DR STE 1J KINGSPORT TN 37660
HOLSTON MEDICAL GROUP, P.C.            PO BOX 9 KINGSPORT TN 37662
HOLSTON, RONALD                        ADDRESS ON FILE
HOLSTON, RONALD                        ADDRESS ON FILE
HOLSTROM, ERIN                         ADDRESS ON FILE
HOLT JR, JERRY                         ADDRESS ON FILE
HOLT OF CALIFORNIA                     PO BOX 100001 SACRAMENTO CA 95813
HOLT TRANSPORTATION                    PO BOX 398 ATTN SUE HOLT EWING NE 68735
HOLT TRUCK CENTER                      PO BOX 675112 DALLAS TX 75267
HOLT, CONSUELA                         ADDRESS ON FILE
HOLT, DAVID                            ADDRESS ON FILE
HOLT, JAMES                            ADDRESS ON FILE
HOLT, JORDAN                           ADDRESS ON FILE
HOLT, KELLY                            ADDRESS ON FILE
HOLT, KEVIN                            ADDRESS ON FILE
HOLT, LAWRENCE                         ADDRESS ON FILE
HOLT, LEROY                            ADDRESS ON FILE
HOLT, MATTHEW                          ADDRESS ON FILE
HOLT, MATTHEW                          ADDRESS ON FILE
HOLT, MICHAEL                          ADDRESS ON FILE
HOLT, MICHAEL                          ADDRESS ON FILE
HOLT, MICHAEL                          ADDRESS ON FILE
HOLT, RICHARD                          ADDRESS ON FILE
HOLT, RICHARD                          ADDRESS ON FILE
HOLT, ROGER                            ADDRESS ON FILE
HOLT, ROGER                            ADDRESS ON FILE
HOLT, RONALD                           ADDRESS ON FILE
HOLT, SAMUEL                           ADDRESS ON FILE
HOLT, THOMAS                           ADDRESS ON FILE
HOLT, THOMAS                           ADDRESS ON FILE
HOLT, TREVOR                           ADDRESS ON FILE
HOLT, VALRIE BAUMANN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 874 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 883 of 2156

Claim Name                            Address Information
HOLT, WHITNEY                         ADDRESS ON FILE
HOLT, WILLIAM                         ADDRESS ON FILE
HOLTEGAARD, LYDELL                    ADDRESS ON FILE
HOLTKAMP TRANSPORTATION LLC           2282 WINDMILL WAY WEST POINT IA 52656
HOLTMAN, JOHN                         ADDRESS ON FILE
HOLTON TRUCK LINE, INC.               PO BOX 358 ALAMO NV 89001
HOLTON TRUCK LINES                    P.O. BOX 358 ALAMO NV 89001
HOLTON, WILLIAM                       ADDRESS ON FILE
HOLTSCHULT, SCOTT                     ADDRESS ON FILE
HOLTZ, DENNIS                         ADDRESS ON FILE
HOLTZ, JOSEPH A                       ADDRESS ON FILE
HOLUB, CHRISTOPHER                    ADDRESS ON FILE
HOLUB, MARTIN                         ADDRESS ON FILE
HOLUB, SHAWN                          ADDRESS ON FILE
HOLWADEL, BRENDON                     ADDRESS ON FILE
HOLWELL, HARRY                        ADDRESS ON FILE
HOLY SPIRIT TRUCKING LLC              OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
HOLYCROSS TRUCKING LLC                OR AEROFUND FINANCIAL INC 6910 SANTA TERESA BLVD SAN JOSE CA 95119
HOLZAPFEL, CATHERINE                  ADDRESS ON FILE
HOLZER CLINIC                         PO BOX 22880 BELFAST ME 04915
HOMAN, ADAM                           ADDRESS ON FILE
HOME CITY ICE COMPANY                 PO BOX 111116 CINCINNATI OH 45211
HOME DEPOT                            RECEIVABLES/FREIGHT CLAIMS, PO BOX 7247-7491 PHILADELPHIA PA 19170
HOME DEPOT                            RECEIVABLES/FRT CLAIMS, PO BOX 7247-7491 PHILADELPHIA PA 19170
HOME DEPOT                            2455 PACES FERRY RD B-11 ATLANTA GA 30339
HOME DEPOT                            2455 PACES FERRY RD BUILDING C-20 ATLANTA GA 30339
HOME DEPOT                            B-10 FREIGHT CLAIMS DEPARTMENT 2455 PACES FERRY RD ATLANTA GA 30339
HOME DEPOT                            TED DECKER, CHAIRMAN, PRESIDENT & CEO 2455 PACES FERRY RD SE ATLANTA GA 30339
HOME DEPOT                            CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
HOME DEPOT                            CONDATA, 1314 W 22ND ST STE 300 OAK BROOK IL 60523
HOME DEPOT                            GONDATA GLOBAL, 1315 2 22ND ST STE 300 OAK BROOK IL 60523
HOME DEPOT                            9222 W JEFFERSON BLVD GRAND PRAIRIE TX 75050
HOME DEPOT - RECEIVABLES0060099035)   FREIGHT CLAIM, PO BOX 7247-7491 PHILADELPHIA PA 19170
HOME DEPOT CREDIT SERVICES            DEPT XXXXXX4057, PO BOX 9001043 LOUISVILLE KY 40290
HOME DEPOT PRO                        151 JOHN JAMES AUDUBON PKWY BUFFALO NY 14228
HOME DEPOT PRO NATIONAL TRAFFIC       701 SAN MARCO BLVD JACKSONVILLE FL 32207
HOME DEPOT USA, INC.                  (ATTN: MATT HALL) 2455 PACES FERRY RD, BLDGC-20 ATLANTA GA 30339
HOME ELECTRICAL SERVICES LLC          2254 MELODY LN NE MOSES LAKE WA 98837
HOME FOLK TRANSPORTATION, LLC         OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
HOME HARDWARE BUILDING CENTRE         1147 DUNDAS ST E WOODSTOCK ON N4S8W3 CANADA
HOME HEATING AC & PLBG                701 28TH ST S FARGO ND 58103
HOME LEGEND                           PO BOX 887 ADAIRSVILLE GA 30103
HOME MAID HELPER                      1249 KILDAIRE FARM RD., 169 CARY NC 27511
HOME PRO INC                          1325 CAPITAL PKWY STE 117 CARROLLTON TX 75006
HOME PRODUCTS INTERNATIONAL, INC.     ATTN: GENERAL COUNSEL 4501 W 47TH ST CHICAGO IL 60632
HOMELAND TRANSPORT INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HOMELAND TRANSPORTATION INC           3513 ALBANY KNOLL LN APT B COLUMBUS OH 43219-6274
HOMELAND VINYL                        1550 RED HOLLOW RD. BIRMINGHAM AL 35215
HOMELITE CONSUMER POWER TOOLS         203 ORANGE WAY ANDERSON SC 29621



Epiq Corporate Restructuring, LLC                                                                  Page 875 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 884 of 2156

Claim Name                             Address Information
HOMER EXPRESS LLC                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
HOMERO ZENDEJAS                        ADDRESS ON FILE
HOMERS BOX TRUCKING LLC                4019 BROOKHEAD TRL HOUSTON TX 77066-3620
HOMERS TOWING AND SERVICE INC          11412 W BROWN DEER RD MILWAUKEE WI 53224
HOMERUN TRUCKING INC                   18 CAMPUS BLVD 100 NEWTON SQUARE PA 19073
HOMERUN TRUCKING INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HOMIB TRUCKING LLC                     14606 DALLAS PKWY APT 1062 DALLAS TX 75254
HOMMAN, BROOKE                         ADDRESS ON FILE
HOMMYS TRANSPORT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HOMONAI, JEFFREY                       ADDRESS ON FILE
HOMOTOFF, STEPHEN                      ADDRESS ON FILE
HOMYAK, DANIEL                         ADDRESS ON FILE
HON CARGO LLC                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HONADICK, BRADLEY                      ADDRESS ON FILE
HONADICK, BRADLEY W                    ADDRESS ON FILE
HONADICK, WHITNEY                      ADDRESS ON FILE
HONAKER, STEPHEN                       ADDRESS ON FILE
HONCELL, ALEXANDER                     ADDRESS ON FILE
HONCHELL, JAMES                        ADDRESS ON FILE
HONCOOP TRUCKING, LLC                  8911 GUIDE MERIDIAN RD LYNDEN WA 98264
HONDU MEX TRANSPORT LLLP               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
HONEST EXPRESS LLC                     OR YANKTON FACTORING INC, PO BOX 217 YANKTON SD 57078
HONEY BUCKET PORTABLE RESTROOMS        PO BOX 73399 PUYALLUP WA 98373
HONEY LOCUST FARMS, LLC                2454 STONEY POINT ROAD EAST BERLIN PA 17316
HONEY-DOS LANDSCAPE MAINTENANCE        P.O. BOX 1402 SPRINGFIELD OR 97477
HONEYBEE TRANSPORTATION INCORPORATED   OR HONEYBEE TRANSPORTATION INCORP 3655 MUNICH COURT WINDSOR ON N8N 0E7 CANADA
HONEYBUCKETS                           D/B/A: HONEY BUCKET PORTABLE RESTROOMS PO BOX 73399 PUYALLUP WA 98373
HONEYCUTT, CHRISTOPHER                 ADDRESS ON FILE
HONEYCUTT, MATTHEW                     ADDRESS ON FILE
HONEYDEL LOGISTICS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HONEYSAY LLC                           9805 TULE LAKE RD FORT WORTH TX 76177
HONEYTREE ARBORIST SERVICES            934 129TH AVE SHELBYVILLE MI 49344
HONEYVILLE INC                         ATTN: LIESEL BOROVSKY IL2000 PO BOX 8372 VIRGINIA BEACH VA 23450
HONEYWELL FMT LLC                      14510 BOTTS RD. KANSAS CITY MO 64147
HONEYWELL LIMITED                      PO BOX 9614 STN M CALGARY AB T2P 0E9 CANADA
HONEYWELL SCANNING AND MOBILITY        9680 OLD BAILES ROAD FORT MILL SC 29707
HONEYWELL SCANNING AND MOBILITY        DBA HAND HELD PRODUCTS INC, 9680 OLD BAILES ROAD FORT MILL SC 29707
HONEYWELL SCANNING AND MOBILITY        9680 OLD BAILES RD FORT MILL SC 29707-7539
HONEYWELL SCANNING AND MOBILITY        62408 COLLECTIONS CENTER DR CHICAGO IL 60693
HONEYWELL SCANNING AND MOBILITY        DBA HAND HELD PRODUCTS INC., 62408 COLLECTIONS CENTER DR CHICAGO IL 60693
HONEYWELL, STEVEN                      ADDRESS ON FILE
HONG, BAO                              ADDRESS ON FILE
HONG, HAN G                            ADDRESS ON FILE
HONG, ISAAC                            ADDRESS ON FILE
HONG, ISAAC                            ADDRESS ON FILE
HONG, MARYBETH                         ADDRESS ON FILE
HONG, SARIN                            ADDRESS ON FILE
HONGTONG EXPRESS INC                   4700 GREGG RD PICO RIVERA CA 90660
HONOLD, JEREMY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 876 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 885 of 2156

Claim Name                               Address Information
HONOLULU CITY AND COUNTY TAX COLLECTOR   PO BOX 4200 HONOLULU HI 96812
HONOR FOODS                              5505 TACONY ST PHILDELPHIA PA 19137
HONORABLE LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HONORABLE MICHAEL W GALLAGHER            ADDRESS ON FILE
HONORE, CURTIS                           ADDRESS ON FILE
HONYOUST, DAVID                          ADDRESS ON FILE
HOOD, BRYCE                              ADDRESS ON FILE
HOOD, CHARLES                            ADDRESS ON FILE
HOOD, CHRISTOPHER                        ADDRESS ON FILE
HOOD, FELTON                             ADDRESS ON FILE
HOOD, LARRY                              ADDRESS ON FILE
HOOD, LMARCUS                            ADDRESS ON FILE
HOOD, MARK                               ADDRESS ON FILE
HOOD, SAM                                ADDRESS ON FILE
HOOD, STEVEN                             ADDRESS ON FILE
HOOD, WAYMON                             ADDRESS ON FILE
HOODA TRANSPORT INC                      OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                         UT 84130
HOOGENDOORN, RICK                        ADDRESS ON FILE
HOOGLAND, LUIS                           ADDRESS ON FILE
HOOK AND GO TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HOOK EXPRESS INC                         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
HOOK TRANSPORTATION INC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
HOOK TRANSPORTATION LLC                  PO BOX 361 WASHINGTON C H OH 43160
HOOKER, DENNIS                           ADDRESS ON FILE
HOOKER, JASON                            ADDRESS ON FILE
HOOKER, LORA                             ADDRESS ON FILE
HOOKS, JOHNATHAN                         ADDRESS ON FILE
HOOKS, MYRON                             ADDRESS ON FILE
HOOLEY, PATRICK                          ADDRESS ON FILE
HOOPAUGH, JOHN                           ADDRESS ON FILE
HOOPER, ANTONIO                          ADDRESS ON FILE
HOOPER, CHARLES                          ADDRESS ON FILE
HOOPER, ISAIAH                           ADDRESS ON FILE
HOOPER, JOSEPH                           ADDRESS ON FILE
HOOPER, JUAN                             ADDRESS ON FILE
HOOPER, MELVIN                           ADDRESS ON FILE
HOOPER, MICHAEL                          ADDRESS ON FILE
HOOPER, RILEY                            ADDRESS ON FILE
HOOPER, RONNIE                           ADDRESS ON FILE
HOOPES FIRE PREVENTION, INC.             PO BOX 7839 NEWARK DE 19714
HOOPINGARNER, DARRYL                     ADDRESS ON FILE
HOOPMAN, TINA                            ADDRESS ON FILE
HOOSH LOGISTICS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HOOSIER CARRIER SERVICES LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HOOSIER FREIGHT AND WAREHOUSING LLC      5935 ENTERPRISE DR MCCORDSVILLE IN 46055
HOOSIER RACING TIRE                      ATTN: MELANIE STRAIN 2307 PIDCO DR PLYMOUTH IN 46563
HOOSIER SCALE COMPANY, LLC               6615 RATLIFF ROAD CAMBY IN 46113



Epiq Corporate Restructuring, LLC                                                                   Page 877 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 886 of 2156

Claim Name                             Address Information
HOOSIER SCALE COMPANY, LLC             PO BOX 192 MOORESVILLE IN 46158
HOOT OWL TRUCKIN LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HOOTEN, JERRY                          ADDRESS ON FILE
HOOTEN, JULIAN                         ADDRESS ON FILE
HOOTEN, KENNETH                        ADDRESS ON FILE
HOOTEN, STEVEN                         ADDRESS ON FILE
HOOTS, JOEL                            ADDRESS ON FILE
HOOTS, NATHAN                          ADDRESS ON FILE
HOOVER CARRIERS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
HOOVER TRANSPORTATION SERVICES, INC.   8200 EAST MAIN STREET REYNOLDSBURG OH 43068
HOOVER, ANDREW                         ADDRESS ON FILE
HOOVER, BLAINE                         ADDRESS ON FILE
HOOVER, CARL                           ADDRESS ON FILE
HOOVER, DAVID                          ADDRESS ON FILE
HOOVER, DEAN                           ADDRESS ON FILE
HOOVER, J                              ADDRESS ON FILE
HOOVER, JEFFREY                        ADDRESS ON FILE
HOOVER, JEFFREY                        ADDRESS ON FILE
HOOVER, JEREMY                         ADDRESS ON FILE
HOOVER, MARK                           ADDRESS ON FILE
HOOVER, MARK K                         ADDRESS ON FILE
HOOVER, MEGANN                         ADDRESS ON FILE
HOOVER, MICHAEL                        ADDRESS ON FILE
HOOVER, NATHANIEL                      ADDRESS ON FILE
HOOVER, RANDAL                         ADDRESS ON FILE
HOOVER, WILLIAM                        ADDRESS ON FILE
HOOYO LOGISTICS LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
HOOYO TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HOPE 27 EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HOPE EXPEDITED FREIGHT INC             OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
HOPE GAS                               781 CHESTNUT RIDGE ROAD MORGANTOWN WV 26505
HOPE LOGISTICS LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FT WORTH TX 76116
HOPE TRANS INC                         2848 BARNES CT GREENWOOD IN 46143
HOPE TRUCKING LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
HOPE, DANIEL                           ADDRESS ON FILE
HOPE, MARK                             ADDRESS ON FILE
HOPE, MARTY                            ADDRESS ON FILE
HOPE, URICO                            ADDRESS ON FILE
HOPEWELL TRANS INC                     7281 E VASSAR AVE FRESNO CA 93737-0005
HOPGOOD, CHELSIE                       ADDRESS ON FILE
HOPKINS DISTRIBUTION0060080841)        1195 TRADEMARK DR, STE 201 RENO NV 89521
HOPKINS MFG                            ATTN: TRICIA SEYMOUR SUNSET TRANSPORTATION 10877 WATSON RD ST LOUIS MO 63127
HOPKINS, AKEEME                        ADDRESS ON FILE
HOPKINS, AUDREY                        ADDRESS ON FILE
HOPKINS, BAKARRIE                      ADDRESS ON FILE
HOPKINS, CHIKA                         ADDRESS ON FILE
HOPKINS, CHRISTOPHER S                 ADDRESS ON FILE
HOPKINS, JASON                         ADDRESS ON FILE
HOPKINS, JEFFREY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 878 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 887 of 2156

Claim Name                           Address Information
HOPKINS, KAREN                       ADDRESS ON FILE
HOPKINS, KENYATTA                    ADDRESS ON FILE
HOPKINS, LOVANTRICE                  ADDRESS ON FILE
HOPKINS, MARIA                       ADDRESS ON FILE
HOPKINS, MARK                        ADDRESS ON FILE
HOPKINS, NICOLAUS J                  ADDRESS ON FILE
HOPKINS, PATRICK                     ADDRESS ON FILE
HOPKINS, RICKY                       ADDRESS ON FILE
HOPKINS, SHIIESHA                    ADDRESS ON FILE
HOPKINS, STEVEN                      ADDRESS ON FILE
HOPKINS, STEVEN                      ADDRESS ON FILE
HOPKINS, STEVEN                      ADDRESS ON FILE
HOPKINS, TIM                         ADDRESS ON FILE
HOPKINS, TOMMY                       ADDRESS ON FILE
HOPKINS, VICTOR                      ADDRESS ON FILE
HOPLE, CHARLES                       ADDRESS ON FILE
HOPLOCK, BURNIE                      ADDRESS ON FILE
HOPP, BRIAN                          ADDRESS ON FILE
HOPPE LAWN AND SNOW PLOWING          2919 STANDFORD AVE FORT WAYNE IN 46808
HOPPER SMITH, TYRELLE                ADDRESS ON FILE
HOPPER, ANTHONY                      ADDRESS ON FILE
HOPPER, BRIAN                        ADDRESS ON FILE
HOPPER, IAN                          ADDRESS ON FILE
HOPPER, JOSHUA                       ADDRESS ON FILE
HOPPER, MISTY                        ADDRESS ON FILE
HOPPER, RODNEY                       ADDRESS ON FILE
HOPPERS HAULING                      OR GULF COAST BANK & TRUST COMPANY P.O. BOX 732148 DALLAS TX 75373-2148
HOPPIUS, ROBERT                      ADDRESS ON FILE
HOPSON, LOUIE                        ADDRESS ON FILE
HORACE E CROUCH                      ADDRESS ON FILE
HORAN, BRAD                          ADDRESS ON FILE
HORD, BRIONNA                        ADDRESS ON FILE
HOREB TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HORGER, JAMES                        ADDRESS ON FILE
HORIZON CARRIER                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HORIZON DISTRIBUTORS                 4630A CORONA DR. CORPUS CHRISTI TX 78411
HORIZON DISTRIBUTORS INC H520        ATTN: LANCE HUGHES 3411 CHAPEL ST S LAKEWOOD WA 98499
HORIZON EXPRESS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HORIZON EXPRESS INC                  13855 RIO BRAVO AVE CHINO CA 91710-7492
HORIZON EXPRESS SERVICES, LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HORIZON FREIGHT SYSTEM, INC.         PO BOX 70242 CLEVELAND OH 44190
HORIZON FREIGHTLINES LLC             OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
HORIZON IRRIGATION & TURF            3112 NE 112TH AVE STE F VANCOUVER WA 98682
HORIZON IRRIGATION & TURF SOL        11135 NE 33RD PL BELLEVUE WA 98004
HORIZON LANES                        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
HORIZON LED ENERGY SOLUTIONS         3420-Z SAINT VARDELL LANE CHARLOTTE NC 28217
HORIZON LED ENERGY SOLUTIONS         3421 SAINT VARDELL LANE, SUITE A CHARLOTTE NC 28217
HORIZON MIDWEST INC                  PO BOX 70242 CLEVELAND OH 44190
HORIZON OVERHEAD DOOR SOLUTIONS      BOX 59 GRP 32 RR2 STE ANNE MB R5H 1R2 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 879 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 888 of 2156

Claim Name                             Address Information
HORIZON SOUTH INC                      8777 ROCKSIDE ROAD CLEVELAND OH 44125
HORIZON TRANSPORT CORP                 8048 W GIDDINGS AVE NORRIDGE IL 60706
HORIZON TRANSPORTATION LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HORIZON TRANSPORTING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HORIZON TRUCKING AND DISPATCHING LLC   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
HORKEY, THERESA                        ADDRESS ON FILE
HORLICK, GARY                          ADDRESS ON FILE
HORMAR LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HORMEL                                 1816 9TH ST. NE AUSTIN MN 55912
HORN TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HORN, ELIJAH                           ADDRESS ON FILE
HORN, JAMES                            ADDRESS ON FILE
HORN, MELANIE                          ADDRESS ON FILE
HORN, TRANG                            ADDRESS ON FILE
HORNACK, BRIAN                         ADDRESS ON FILE
HORNADY, DAVID                         ADDRESS ON FILE
HORNAK, ROBERT                         ADDRESS ON FILE
HORNBAKER, ROBERT                      ADDRESS ON FILE
HORNBAKER, RUSSELL                     ADDRESS ON FILE
HORNBECK, JAMES                        ADDRESS ON FILE
HORNBERGER, DAVID                      ADDRESS ON FILE
HORNBUCKLE, STEPHEN                    ADDRESS ON FILE
HORNE, DANIELLE                        ADDRESS ON FILE
HORNE, EURIC                           ADDRESS ON FILE
HORNE, JAMES                           ADDRESS ON FILE
HORNE, JOHNNIE                         ADDRESS ON FILE
HORNE, JUSTIN                          ADDRESS ON FILE
HORNE, MATTHEW                         ADDRESS ON FILE
HORNE, PAMELA                          ADDRESS ON FILE
HORNE, ROBERT                          ADDRESS ON FILE
HORNE, RODNEY J                        ADDRESS ON FILE
HORNE, SHANE                           ADDRESS ON FILE
HORNEDO, RAYMOND                       ADDRESS ON FILE
HORNER, A J                            ADDRESS ON FILE
HORNER, A.J.                           ADDRESS ON FILE
HORNET TRUCKING                        8392 N LOCUST DR KIRTLAND OH 44094
HORNINGS SUPPLY INC                    23 PARK LANE HEGINS PA 17938
HORNISH BROS INC.                      2060 E 2ND ST STE 101 DEFIANCE OH 43512
HORNOI LEASING LTD                     762 MCDONALD ST. REGINA SK S4N 7M7 CANADA
HORNSBY, CHRISTOPHER                   ADDRESS ON FILE
HORNSBY, SHAWN                         ADDRESS ON FILE
HORNSTRA, ANDREW                       ADDRESS ON FILE
HORNUNG, WILLIAM                       ADDRESS ON FILE
HORRIGAN, ANTHONY                      ADDRESS ON FILE
HORROCKS, JAMES T                      ADDRESS ON FILE
HORSBURGH AND SCOTT                    5114 HAMILTON AVE. CLEVELAND OH 44114
HORSE POWER TRANSPORT LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HORSE POWER TRANSPORTATION, INC.       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
HORSE TECH                             ATTN: ISARLENE PEREZ 112 WALNUT ST LAURENS IA 50554



Epiq Corporate Restructuring, LLC                                                                  Page 880 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 889 of 2156

Claim Name                          Address Information
HORSESHOE CARRIERS INC              OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
HORSLEY, ERIC                       ADDRESS ON FILE
HORTON LOGISTICS LLC                OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
HORTON, BRANDON                     ADDRESS ON FILE
HORTON, CORIE                       ADDRESS ON FILE
HORTON, CRAIG                       ADDRESS ON FILE
HORTON, DANTWAN                     ADDRESS ON FILE
HORTON, DEREK                       ADDRESS ON FILE
HORTON, GARY                        ADDRESS ON FILE
HORTON, JACARI                      ADDRESS ON FILE
HORTON, JAMES                       ADDRESS ON FILE
HORTON, JEFF                        ADDRESS ON FILE
HORTON, JOE                         ADDRESS ON FILE
HORTON, KYLE                        ADDRESS ON FILE
HORTON, LOUIS                       ADDRESS ON FILE
HORTON, MARY                        ADDRESS ON FILE
HORTON, MATTHEW                     ADDRESS ON FILE
HORTON, MICHAEL                     ADDRESS ON FILE
HORTON, MYKEAL                      ADDRESS ON FILE
HORTON, OMAR                        ADDRESS ON FILE
HORTON, PATRICK                     ADDRESS ON FILE
HORTON, POSEY                       ADDRESS ON FILE
HORTON, RALPH                       ADDRESS ON FILE
HORTON, ROBERT                      ADDRESS ON FILE
HORTON, ROMEL                       ADDRESS ON FILE
HORTON, SAMUEL                      ADDRESS ON FILE
HORTON, TERRY                       ADDRESS ON FILE
HORTON, TYLER                       ADDRESS ON FILE
HORTONS ASAP ENTERPRISES LLC        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
HORVATH, BENJAMIN                   ADDRESS ON FILE
HORVATH, CHRISTINA                  ADDRESS ON FILE
HORVATH, JOSEPH                     ADDRESS ON FILE
HORVATH, KAREN                      ADDRESS ON FILE
HORVATH, KEITH                      ADDRESS ON FILE
HORVATH, PAUL                       ADDRESS ON FILE
HORVATH, SEAN                       ADDRESS ON FILE
HORVATITS, ANDREW                   ADDRESS ON FILE
HORWATH, SANDRA                     ADDRESS ON FILE
HORWITH FREIGHTLINER                RT 329 P O BOX 7 NORTHAMPTON PA 18067
HOSANNA TRANSPORTATION INC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HOSBACH, JONATHAN                   ADDRESS ON FILE
HOSE AND RUBBER SUPPLY              PO BOX 158 RANDOLPH UT 84064
HOSE, JEFFREY                       ADDRESS ON FILE
HOSEK, PETRO                        ADDRESS ON FILE
HOSEY, JAMES                        ADDRESS ON FILE
HOSFORD, SCOTT                      ADDRESS ON FILE
HOSH TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HOSH, MOHAMED                       ADDRESS ON FILE
HOSIER, HOLT                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 881 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 890 of 2156

Claim Name                             Address Information
HOSKING, DANIEL                        ADDRESS ON FILE
HOSKINS ENTERPRISES LLC                7668 ONEIDA RD GRAND LEDGE MI 48837
HOSKINS ENTERPRISES LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HOSKINS, ADAM                          ADDRESS ON FILE
HOSKINS, ADRIAN                        ADDRESS ON FILE
HOSKINS, BRANDON                       ADDRESS ON FILE
HOSKINS, CAMRHN                        ADDRESS ON FILE
HOSKINS, DENNIS                        ADDRESS ON FILE
HOSKINS, JERRY                         ADDRESS ON FILE
HOSKINS, LAVINA                        ADDRESS ON FILE
HOSKINS, MUHAMMAD                      ADDRESS ON FILE
HOSKINS, STEVE                         ADDRESS ON FILE
HOSKINS, TREVOR                        ADDRESS ON FILE
HOSKINS, VERNIE                        ADDRESS ON FILE
HOSMER, NATHAN                         ADDRESS ON FILE
HOSON LOGISTICS AMERICA INC            476 THOMAS DRIVE BENSENVILLE IL 60106
HOSPICE OF MICHIGAN                    TEAMSTERS LOCAL 406, 3315 EASTERN AVE SE GRAND RAPIDS MI 49508
HOST INDUSTRIES                        20545 MURRAY RD BEND OR 97701
HOSTETLER, ANTHONY C                   ADDRESS ON FILE
HOSTETLER, AUSTIN                      ADDRESS ON FILE
HOSTETLER, SCOTT                       ADDRESS ON FILE
HOSTETLER, TIMOTHY                     ADDRESS ON FILE
HOSTETTER, EARL AND LAURA              ADDRESS ON FILE
HOSTLER FROM SAMS                      2101 SE SIMPLE SAVINGS DR BENTONVILLE AR 72712
HOSTLER, DALE E                        ADDRESS ON FILE
HOT LTL LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HOT METAL EQUIPMENT, INC.              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HOT RODS EXPRESS LLC                   OR TBS FACTORING SERIVCE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HOT SERVICE, LLC                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
HOT SHOT EXPRESS LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
HOT SHOT FINAL MILE, LLC               PO BOX 701189, 0 HOUSTON TX 77270-1189
HOT-LINE FREIGHT SYSTEM, INC.          PO BOX 205 WEST SALEM WI 54669
HOTCHKISS, DONALD                      ADDRESS ON FILE
HOTH, MICHAEL                          ADDRESS ON FILE
HOTKIEWICZ, NEIL                       ADDRESS ON FILE
HOTMER, LEONARD                        ADDRESS ON FILE
HOTRA, MARK                            ADDRESS ON FILE
HOTSHOT TRANSPORTES LIBERTAD INC       OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
HOTSTAR TRANSPORTATION LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HOTSY EQUIPMENT COMPANY OF CLEVELAND   77 S ILLINOIS AVE MANSFIELD OH 44905
HOTY-101 STORAGE                       3513 N. BAY DRIVE SANDUSKY OH 44870
HOUCK, CECIL                           ADDRESS ON FILE
HOUCK, CHRISTOPHER                     ADDRESS ON FILE
HOUCK, MICHELLE                        ADDRESS ON FILE
HOUG SPECIAL SERVICES, INC.            NW 7939, PO BOX 1450 MINNEAPOLIS MN 55485
HOUGE, JOEL                            ADDRESS ON FILE
HOUGH, KERRY                           ADDRESS ON FILE
HOUGH, KIM                             ADDRESS ON FILE
HOUGHTELING, RAYMOND                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 882 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 891 of 2156

Claim Name                              Address Information
HOUGHTON, STEVEN                       ADDRESS ON FILE
HOUGLAND, BRENNEN                      ADDRESS ON FILE
HOUHA, LEONARD                         ADDRESS ON FILE
HOUK, BRANDON                          ADDRESS ON FILE
HOUK, BRIAN                            ADDRESS ON FILE
HOUK, TIMOTHY W                        ADDRESS ON FILE
HOULAHAN, JEANNA                       ADDRESS ON FILE
HOULE, DONALD                          ADDRESS ON FILE
HOULES PLUMBING HEATING                PO BOX 296 WATERVILLE ME 04901
HOULTON, ETHAN                         ADDRESS ON FILE
HOUPT, TAMMY                           ADDRESS ON FILE
HOURIGAN, CASIE                        ADDRESS ON FILE
HOUSBY, DAVID                          ADDRESS ON FILE
HOUSE FREIGHT LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HOUSE OF CLEAN, INC.                   PO BOX 804921 KANSAS CITY MO 64180
HOUSE OF GLASS                         2 STATE ST. N ABERDEEN SD 57401
HOUSE OF LIGHTS                        2611 DOGWOOD ST. SANFORD NC 27332
HOUSE, ANA                             ADDRESS ON FILE
HOUSE, CHARLES                         ADDRESS ON FILE
HOUSE, CHRISTOPHER                     ADDRESS ON FILE
HOUSE, CRYSTAL                         ADDRESS ON FILE
HOUSE, FRANK                           ADDRESS ON FILE
HOUSE, GABRIEL                         ADDRESS ON FILE
HOUSE, JOSHUA W                        ADDRESS ON FILE
HOUSE, JOSHUA W                        ADDRESS ON FILE
HOUSE, KENNETH                         ADDRESS ON FILE
HOUSE, MAREO                           ADDRESS ON FILE
HOUSE, MICHAEL                         ADDRESS ON FILE
HOUSE, NATHAN                          ADDRESS ON FILE
HOUSEKNECHT, CURTIS                    ADDRESS ON FILE
HOUSER, BRADLEY                        ADDRESS ON FILE
HOUSER, CAROL                          ADDRESS ON FILE
HOUSER, CATHY                          ADDRESS ON FILE
HOUSER, KEVIN                          ADDRESS ON FILE
HOUSER, ROBERT                         ADDRESS ON FILE
HOUSER, WILLIAM                        ADDRESS ON FILE
HOUSESPRINGS TRUCKING LC               OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
HOUSLEY, JOHN                          ADDRESS ON FILE
HOUSNER, KEVIN                         ADDRESS ON FILE
HOUSTON C OUSLEY                       ADDRESS ON FILE
HOUSTON DRIVE TRAIN SERVICE, INC.      7959 NORTH LOOP E HOUSTON TX 77028
HOUSTON FREIGHTLINER INC               P.O. BOX 222038 DALLAS TX 75222
HOUSTON FREIGHTLINER INC               9550 NORTH LOOP E HOUSTON TX 77029
HOUSTON MANUFACTURING SPECIALTY CO INC. PO BOX 24339 HOUSTON TX 77229
HOUSTON NORTH AIR CONDITIONING, INC.   PO BOX 91188 HOUSTON TX 77291
HOUSTON TANK SERVICES, LLC             P.O. BOX 566 PARIS TN 38242
HOUSTON TRANSPORTATION LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HOUSTON WIRE WORKS                     ATTN: BARBARA LEGLER 1007 KENTUCKY ST S HOUSTON TX 77587
HOUSTON, CHARQUAN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 883 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 892 of 2156

Claim Name                           Address Information
HOUSTON, COREY                       ADDRESS ON FILE
HOUSTON, CORNELIUS                   ADDRESS ON FILE
HOUSTON, DELVON R                    ADDRESS ON FILE
HOUSTON, DEONTE                      ADDRESS ON FILE
HOUSTON, DWIGHT                      ADDRESS ON FILE
HOUSTON, ERIC                        ADDRESS ON FILE
HOUSTON, GREGORY                     ADDRESS ON FILE
HOUSTON, ISAIAH                      ADDRESS ON FILE
HOUSTON, JAMES                       ADDRESS ON FILE
HOUSTON, JASON                       ADDRESS ON FILE
HOUSTON, JEREMY                      ADDRESS ON FILE
HOUSTON, JOSHUA                      ADDRESS ON FILE
HOUSTON, KEVIN                       ADDRESS ON FILE
HOUSTON, LARRY                       ADDRESS ON FILE
HOUSTON, RICK                        ADDRESS ON FILE
HOUSTON, RONNIE                      ADDRESS ON FILE
HOUSTON, TANA                        ADDRESS ON FILE
HOUSTON, TERRELL                     ADDRESS ON FILE
HOUSTON, THERESA                     ADDRESS ON FILE
HOUSTON-CRAIG, MICHELE               ADDRESS ON FILE
HOUSTONS                             ATTN: STEVE HALL 9799 SW FREEMAN DR WILSONVILLE OR 97070
HOUT, SOKORN                         ADDRESS ON FILE
HOUX-SCHAEFFER, CLAIRE               ADDRESS ON FILE
HOVAN, MATTHEW                       ADDRESS ON FILE
HOVATTER, DIANNE                     ADDRESS ON FILE
HOVEN, STEPHEN                       ADDRESS ON FILE
HOVIS TRUCK SERVICE                  6010 EMLENTON CLINT RD EMLENTON PA 16373
HOVIS TRUCK SERVICE                  PO BOX 486 EMLENTON PA 16373
HOVRUD, SANDRA                       ADDRESS ON FILE
HOWANIEC, RICHARD                    ADDRESS ON FILE
HOWARD & WATSON TRUCKING LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HOWARD COMPANIES                     2916 KENTUCKY AVE INDIANAPOLIS IN 46221
HOWARD COUNTY                        BUREAU OF UTILITIES 8250 OLD MONTGOMERY RD COLUMBIA MD 21045
HOWARD COUNTY DIRECTOR FINANCE       BUSINESS TAX DIVISION, PO BOX 3370 ELLICOTT CITY MD 21041
HOWARD COUNTY DIRECTOR FINANCE       3430 COURTHOUSE DRIVE ELLICOTT CITY MD 21043
HOWARD FAGGANS                       ADDRESS ON FILE
HOWARD III, TILLMON                  ADDRESS ON FILE
HOWARD JR, ALFRED                    ADDRESS ON FILE
HOWARD K BOBO                        ADDRESS ON FILE
HOWARD LOGISTICS                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
HOWARD MILLER COMPANY                860 E MAIN AVE ZEELAND MI 49464
HOWARD STEEL, LLC                    3528 N GRAHAM ST CHARLOTTE NC 28206
HOWARD STEEL, LLC                    2343 ROCKINGHAM RD DAVENPORT IA 52802
HOWARD, ALEX                         ADDRESS ON FILE
HOWARD, ANDRE                        ADDRESS ON FILE
HOWARD, ANICIA                       ADDRESS ON FILE
HOWARD, ASHLYN                       ADDRESS ON FILE
HOWARD, BILLY                        ADDRESS ON FILE
HOWARD, BRANDON                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 884 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 893 of 2156

Claim Name                         Address Information
HOWARD, BRIAN                      ADDRESS ON FILE
HOWARD, CALEB                      ADDRESS ON FILE
HOWARD, CARL                       ADDRESS ON FILE
HOWARD, CHANADE M                  ADDRESS ON FILE
HOWARD, CHRISTOPHER                ADDRESS ON FILE
HOWARD, DAKARAI                    ADDRESS ON FILE
HOWARD, DANIEL                     ADDRESS ON FILE
HOWARD, DESHAWNA                   ADDRESS ON FILE
HOWARD, EDDIE A                    ADDRESS ON FILE
HOWARD, EDWARD                     ADDRESS ON FILE
HOWARD, EUGENE                     ADDRESS ON FILE
HOWARD, GLORIA                     ADDRESS ON FILE
HOWARD, HENRY                      ADDRESS ON FILE
HOWARD, HENRY                      ADDRESS ON FILE
HOWARD, HOBART                     ADDRESS ON FILE
HOWARD, JAMES                      ADDRESS ON FILE
HOWARD, JAMES                      ADDRESS ON FILE
HOWARD, JEREMY                     ADDRESS ON FILE
HOWARD, JOHN                       ADDRESS ON FILE
HOWARD, JOSEPH                     ADDRESS ON FILE
HOWARD, JOSHUA                     ADDRESS ON FILE
HOWARD, JOSHUA                     ADDRESS ON FILE
HOWARD, KENNETH                    ADDRESS ON FILE
HOWARD, LACLETHA N                 ADDRESS ON FILE
HOWARD, LACLETHA N                 ADDRESS ON FILE
HOWARD, LAUREN                     ADDRESS ON FILE
HOWARD, LUTHER                     ADDRESS ON FILE
HOWARD, MARK                       ADDRESS ON FILE
HOWARD, MATTHEW                    ADDRESS ON FILE
HOWARD, MELVIN                     ADDRESS ON FILE
HOWARD, MICHAEL                    ADDRESS ON FILE
HOWARD, MICHAEL                    ADDRESS ON FILE
HOWARD, MICHELE                    ADDRESS ON FILE
HOWARD, NORBERT                    ADDRESS ON FILE
HOWARD, OSCAR                      ADDRESS ON FILE
HOWARD, PATRICK                    ADDRESS ON FILE
HOWARD, PATRICK                    ADDRESS ON FILE
HOWARD, RAFE                       ADDRESS ON FILE
HOWARD, REED                       ADDRESS ON FILE
HOWARD, RICHARD                    ADDRESS ON FILE
HOWARD, RICHARD                    ADDRESS ON FILE
HOWARD, RICKY                      ADDRESS ON FILE
HOWARD, RONALD                     ADDRESS ON FILE
HOWARD, RUPPERT W                  ADDRESS ON FILE
HOWARD, RUSSELL                    ADDRESS ON FILE
HOWARD, RUSSELL                    ADDRESS ON FILE
HOWARD, SCOTT                      ADDRESS ON FILE
HOWARD, STEVEN                     ADDRESS ON FILE
HOWARD, STEVEN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 885 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 894 of 2156

Claim Name                              Address Information
HOWARD, TALISHA                        ADDRESS ON FILE
HOWARD, TAWONDA                        ADDRESS ON FILE
HOWARD, THOMAS                         ADDRESS ON FILE
HOWARD, THOMAS                         ADDRESS ON FILE
HOWARD, TODD                           ADDRESS ON FILE
HOWARD, WAYNE                          ADDRESS ON FILE
HOWARD, WILLIAM                        ADDRESS ON FILE
HOWARDS WRECKER SERVICE                2465 VENTURA PLACE SMYRNA GA 30080
HOWARDS WRECKER SERVICE                1650 ARMSTRONG PL SE MABLETON GA 30126
HOWARTH, DANIEL                        ADDRESS ON FILE
HOWDEN AMERICAN FAN                    ATTN: BRYCE KENNEDY 3025 SYMMES RD HAMILTON OH 45015
HOWE FREIGHTWAYS, INC.                 HOWE FREIGHTWAYS, INC., PO BOX 5763 ROCKFORD IL 61125
HOWE, ANDREW                           ADDRESS ON FILE
HOWE, BRIAN                            ADDRESS ON FILE
HOWE, PAUL                             ADDRESS ON FILE
HOWE, TIMOTHY                          ADDRESS ON FILE
HOWE, WILLIAM M                        ADDRESS ON FILE
HOWELL, BECKY                          ADDRESS ON FILE
HOWELL, BENJAMIN                       ADDRESS ON FILE
HOWELL, BUTCH                          ADDRESS ON FILE
HOWELL, DAMON                          ADDRESS ON FILE
HOWELL, ELIJAH                         ADDRESS ON FILE
HOWELL, JANETTE                        ADDRESS ON FILE
HOWELL, JEFFREY                        ADDRESS ON FILE
HOWELL, JESSE                          ADDRESS ON FILE
HOWELL, KENNETH                        ADDRESS ON FILE
HOWELL, LARRY                          ADDRESS ON FILE
HOWELL, MARK                           ADDRESS ON FILE
HOWELL, PATRICIA                       ADDRESS ON FILE
HOWELL, PAUL                           ADDRESS ON FILE
HOWELL, RANDALL                        ADDRESS ON FILE
HOWELL, SEDRIC                         ADDRESS ON FILE
HOWELL, STEVEN                         ADDRESS ON FILE
HOWELLS SUPPLY                         5959 YELLOW CREEK RD. BALL GROUND GA 30107
HOWER, STEVEN                          ADDRESS ON FILE
HOWERTON, KENNETH F                    ADDRESS ON FILE
HOWES OIL CO., INC.                    823 EAST 14TH STREET, PO BOX 1025 SIOUX FALLS SD 57101
HOWES, BRIAN                           ADDRESS ON FILE
HOWES, CYNTHIA                         ADDRESS ON FILE
HOWINGTON, DWAYNE                      ADDRESS ON FILE
HOWL TRANSPORTATION, LLC.              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HOWLAND, SUSAN                         ADDRESS ON FILE
HOWLE TRUCKING AND LOGISTICS LLC       OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
HOWLER, AMY                            ADDRESS ON FILE
HOWLETT TRANSPORTATION AND SERVICES LLC OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
HOWLETT TRUCKING LLC                   9 CRYSTAL HEIGHTS PL VENTURA IA 50482
HOWMET AEROSPACE                       SUITE 2D TRANSAUDIT, INC WAPPINGERS FALLS NY 12590
HOWZE TRUCKING LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
HOWZE, JOSEPH                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 886 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 895 of 2156

Claim Name                           Address Information
HOXHA EXPRESS INC                    OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
HOXWORTH, CARY L                     ADDRESS ON FILE
HOYLE, JAMES                         ADDRESS ON FILE
HOYNACKI, PAUL                       ADDRESS ON FILE
HOYOS, CONRAD                        ADDRESS ON FILE
HOYT, BRUCE                          ADDRESS ON FILE
HOYT, DANE                           ADDRESS ON FILE
HOYT, KEVIN                          ADDRESS ON FILE
HOYT, MICHAEL                        ADDRESS ON FILE
HOYT, RANDY                          ADDRESS ON FILE
HOYT, WILLIAM                        ADDRESS ON FILE
HOYTE, PRINCE-MICHAEL                ADDRESS ON FILE
HOYTS TRUCK REPAIR                   2613 STINA CT TOPEKA KS 66618
HOYTS TRUCK REPAIR                   4425 NW US HIGHWAY 24 TOPEKA KS 66618
HOYTT, XIAORU L                      ADDRESS ON FILE
HP FORKLIFTS                         420 S OUTER DR SAGINAW MI 48601
HP FREIGHT INC                       OR SOLISHUB, 465 W CROSSROADS PKWY BOLINGBROOK IL 60440
HP LIFT & LOADER                     D/B/A: HP FORKLIFTS 420 S. OUTER DRIVE SAGINAW MI 48601
HP LOGISTICS                         543 S MAIN ST SWEETWATER TN 37874
HP TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HP TRANSPORT SISTEM CORPORATION      OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
HP TRANSPORTATIONS LLC               OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
HP UNITED TRUCKING INC               67 BLUEGRASS WY NEW WHITELAND IN 46184
HPK TRANSPORT INC.                   OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA QC L4Z 1X8
                                     CANADA
HPSS TRANS INC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HPT TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HQ EXPRESS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
HQ TRANSPORT INC                     20 BONAVENTURE DR E WINNIPEG MB R3X0M9 CANADA
HR EXPRESS LLC (MC1154530)           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HR MINISTRIES                        ATTN: JONAS YODER 409 DAWSON RD PRINCETON KY 42445
HR TRANSIT INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HR TRANSPORT INC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
HR TRANSPORT, LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
HR&B LLC                             OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
HR07 TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HRABNICKY, ANGELA                    ADDRESS ON FILE
HRAM LINE INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HRC                                  10135 56TH AVE NE MARYSVILLE WA 98270
HRD EXPRESS LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
HRDLICKA, JOHN                       ADDRESS ON FILE
HRIBAR BROS., INC.                   7213 HWY 41 CALEDONIA WI 53108
HRIMNAK, TIMOTHY                     ADDRESS ON FILE
HRISTOV, IVAN                        ADDRESS ON FILE
HRITZ, STEPHEN                       ADDRESS ON FILE
HRN EXPRESS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HROBSKY, JEREMY                      ADDRESS ON FILE
HROMADA, EDWARD                      ADDRESS ON FILE
HRP TRUCKING CORP                    OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320



Epiq Corporate Restructuring, LLC                                                                 Page 887 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                            Page 896 of 2156

Claim Name                         Address Information
HRR CUSTOM DESIGNS                 ATTN: RICCARDO TAGLIAVIA 7133 N LOOP E HOUSTON TX 77028
HRT FIN LLC (0369)                 ATT PROXY MGR 32 OLD SLIP 30TH FL NEW YORK NY 10005
HRUBS                              P.O. BOX 5911 VIRGINIA BEACH VA 23471-0911
HS CARRIER LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
HS CARRIER LLC                     5545 N MADELYN AVE FRESNO CA 93723
HS EXPRESS LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
HS EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HS LOGISTICS INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HS TRANS INC                       OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
HS TRANSPORT INC                   42 OAKCREST DR EAST BRUNSWICK NJ 08816
HS TRANSPORT LLC                   2052 MEADOWOOD BLVD TWINSBURG OH 44087
HSA INC                            ATTN: ALAN OGLESBY 1717 E 6TH ST MISHAWAKA IN 46544
HSB SERVICES LLC                   297 DIXON RUN ROAD JACKSON OH 45640
HSB TRUCKING INC                   OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
HSBC BANK USA/CLEARING (8396)      ATT BARBARA SKELLY/PROXY MGR 545 WASHINGTON BLVD 10TH FL JERSEY CITY NJ 07310
HSC TRANSPORTATION INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HSG CARGO INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
HSG TRUCKING INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HSM TRUCKING LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
HST CARRIERS LLC                   1501 HALL JOHNSON RD P.O BOX 202 COLLEYVILLE TX 76034
HST TRUCKING                       28409 STORMY SKIES CIRCLE MENIFEE CA 92585
HT BUS SERVICES INC                253 RIVER AVE LAKEWOOD NJ 08701
HT EXPRESS LLC                     27016-111TH PL SE KENT WA 98030
HT FASHION TRANSPORTATION LLC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HT TRUCKING INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HT&T TRUCK CENTER                  311-A PACIFIC ST HONOLULU HI 96817
HTC LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HTI                                OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
HTL                                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
HTS LOGISTICS LLC (MC1257495)      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
HTS TRANSPORT LLC                  OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
HU, SU XIA                         ADDRESS ON FILE
HU, TING CANG                      ADDRESS ON FILE
HU, TING CANG                      ADDRESS ON FILE
HUA MING TECHNOLOGY CO.            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HUANOSTA, DANIEL                   ADDRESS ON FILE
HUB CITY OVERHEAD DOOR CO., INC.   1402 CATHEAD RD CORPUS CHRISTI TX 78409
HUB CITY PBE                       364 S ROYAL ST JACKSON TN 38301
HUB CITY PBE INC                   ATTN: BRANDON SHIDLER 344 S ROYAL ST JACKSON TN 38301
HUB CITY TERMINAL                  ATTN FREIGHT CLAIMS, 36258 TREASURY CTR CHICAGO IL 60694
HUB CITY TERMINALS                 INC, 36258 TREASURY CTR CHICAGO IL 60694
HUB CITY TERMINALS INC             36258 TREASURY CIRCLE CHICAGO IL 60694
HUB CITY TERMINALS INC             ATTN: SHELLA ILAGAN 36258 TREASURY CENTER CHICAGO IL 60694
HUB CITY TERMINALS INC             36258 TREASURY CENTER CHICAGO IL 60694-6200
HUB CITY TERMINALS INC             ATTN: SANETA BELGIRA 36258 TREASURY CENTER CHICAGO IL 60694-6200
HUB GROUP                          ATTN: AVAMAE ESTORICO HUB CITY TERMINALS INC 36258 TREASURY CTR CHICAGO IL
                                   60694
HUB GROUP INC.                     UNYSON LOGISTICS, 2000 CLEARWATER DR OAK BROOK IL 60523
HUB GROUP TRUCKING INC             2002 HUB GROUP WAY OAKBROOK IL 60523



Epiq Corporate Restructuring, LLC                                                               Page 888 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 897 of 2156

Claim Name                          Address Information
HUB LOGISTICS INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HUB LOGISTICS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HUB TRANSPORTATION, LLC.            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HUB2HOME LLC                        41 ORCHARD ST 103 RAMSEY NJ 07446
HUBAL EXPRESS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HUBBARD EXPRESS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
HUBBARD, ANTHONY                    ADDRESS ON FILE
HUBBARD, CAMEO                      ADDRESS ON FILE
HUBBARD, CHARLES                    ADDRESS ON FILE
HUBBARD, DAVID                      ADDRESS ON FILE
HUBBARD, DWAYNE                     ADDRESS ON FILE
HUBBARD, JAMAL                      ADDRESS ON FILE
HUBBARD, JESSE                      ADDRESS ON FILE
HUBBARD, JUSTIN                     ADDRESS ON FILE
HUBBARD, MICHAEL                    ADDRESS ON FILE
HUBBARD, MICHAEL F                  ADDRESS ON FILE
HUBBARD, TERRELL                    ADDRESS ON FILE
HUBBARD, TINA                       ADDRESS ON FILE
HUBBARD, VERNELL                    ADDRESS ON FILE
HUBBELL ELECTRICAL DIST             TRANS AUDIT INC, 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
HUBBELL LIGHTING INC                701 MILLENNIUM BLVD GREENVILLE SC 29607
HUBBELL LIGHTING INC                701 MINNENNIUM BLVD GREENVILLE SC 29607
HUBBELL POWER SYSTEMS INC           ATTN: MALED GOMEZ 300 N HOWARD BURTON CENTRALIA MO 65240
HUBBELL, KURT                       ADDRESS ON FILE
HUBBERT, KARENA                     ADDRESS ON FILE
HUBBERT, KENNETH                    ADDRESS ON FILE
HUBBS, MICHAEL R                    ADDRESS ON FILE
HUBER, BRYNA                        ADDRESS ON FILE
HUBER, JAMES                        ADDRESS ON FILE
HUBER, JERRY                        ADDRESS ON FILE
HUBER, RHONDA                       ADDRESS ON FILE
HUBER, STEVEN                       ADDRESS ON FILE
HUBER, TIMOTHY                      ADDRESS ON FILE
HUBERT T BURTON                     ADDRESS ON FILE
HUBERT, JIMMIE                      ADDRESS ON FILE
HUBERT, JIMMIE                      ADDRESS ON FILE
HUBERT, RANDY D                     ADDRESS ON FILE
HUBERTZ, ROBERT                     ADDRESS ON FILE
HUBLYS TOWING & REPAIR INC          2240 W STATION ST KANKAKEE IL 60901
HUBMANN, RANDY                      ADDRESS ON FILE
HUBNER, JAY                         ADDRESS ON FILE
HUCK, RANDY                         ADDRESS ON FILE
HUCKABY, BENJAMIN A                 ADDRESS ON FILE
HUCKABY, STEVE                      ADDRESS ON FILE
HUCKE, PAUL                         ADDRESS ON FILE
HUCKEBA, BUFORD                     ADDRESS ON FILE
HUCKLEBERRY TRUCKING LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
HUCKO, CODY                         ADDRESS ON FILE
HUCKS, NOVELLA N                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 889 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 898 of 2156

Claim Name                               Address Information
HUCKS, NOVELLA N                         ADDRESS ON FILE
HUCZEK, STEVEN                           ADDRESS ON FILE
HUDA LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HUDAKS TRANSPORT INC                     OR ALNED HOLDINGS LLC 1146 N. CENTRAL AVE, STE 606 GLENDALE CA 91202
HUDDLESTON ENTERPRISES, INC.             2525 FARRISVIEW MEMPHIS TN 38118
HUDDLESTON MACHINERY MOVING INC          7800 E 12TH STREET KANSAS CITY MO 64126
HUDEC, MYRA                              ADDRESS ON FILE
HUDGINS, JALEEL                          ADDRESS ON FILE
HUDGINS, PHILLIP                         ADDRESS ON FILE
HUDNUT, ISAAC                            ADDRESS ON FILE
HUDON, JEFFREY                           ADDRESS ON FILE
HUDSON CARTAGE                           ADDRESS ON FILE
HUDSON COUNTY MOTORS, INC.               614 NEW COUNTY RD, PO BOX 2611 SECAUCUS NJ 07096
HUDSON COUNTY MOTORS, INC.               P.O. BOX 2611, 290 SECAUCUS RD. SECAUCUS NJ 07096
HUDSON COUNTY REGIONAL HEALTH            595 COUNTY AVE BUILDING 1 SECAUCUS NJ 07094
COMMISSION
HUDSON EXPRESS COMPANY OF NY & NJ INC.   202 KNOX AVE CLIFFSIDE PARK NJ 07010
HUDSON LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HUDSON LOGISTICS LLC (MC031432)          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HUDSON TEA CO ECHO                       ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
HUDSON TRUCKING, LLC                     236 PLAINVIEW LN DRAKES BRANCH VA 23937
HUDSON, ARTHUR J                         ADDRESS ON FILE
HUDSON, CHARLETTA                        ADDRESS ON FILE
HUDSON, CHRISTINE                        ADDRESS ON FILE
HUDSON, CRAIG                            ADDRESS ON FILE
HUDSON, DARRELL                          ADDRESS ON FILE
HUDSON, DAVID                            ADDRESS ON FILE
HUDSON, DENNIS                           ADDRESS ON FILE
HUDSON, DEONBRYE                         ADDRESS ON FILE
HUDSON, DEONTE                           ADDRESS ON FILE
HUDSON, DOYLE                            ADDRESS ON FILE
HUDSON, EARNEST                          ADDRESS ON FILE
HUDSON, HERBERT                          ADDRESS ON FILE
HUDSON, JACQUELINE                       ADDRESS ON FILE
HUDSON, JANAVIS                          ADDRESS ON FILE
HUDSON, JAY                              ADDRESS ON FILE
HUDSON, JENNIFER                         ADDRESS ON FILE
HUDSON, JERMARCUS                        ADDRESS ON FILE
HUDSON, JERRY                            ADDRESS ON FILE
HUDSON, JIMMY                            ADDRESS ON FILE
HUDSON, JUDITH                           ADDRESS ON FILE
HUDSON, LARRY B                          ADDRESS ON FILE
HUDSON, MARCUS                           ADDRESS ON FILE
HUDSON, MARQUES                          ADDRESS ON FILE
HUDSON, MICHAEL                          ADDRESS ON FILE
HUDSON, MINGO                            ADDRESS ON FILE
HUDSON, RACHEL                           ADDRESS ON FILE
HUDSON, RAYMOND                          ADDRESS ON FILE
HUDSON, RAYNEL                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                    Page 890 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                       Page 899 of 2156

Claim Name                          Address Information
HUDSON, ROBERT                      ADDRESS ON FILE
HUDSON, RONALD                      ADDRESS ON FILE
HUDSON, RONALD                      ADDRESS ON FILE
HUDSON, STEPHEN                     ADDRESS ON FILE
HUDSON, STERLING                    ADDRESS ON FILE
HUDSON, TERRELL                     ADDRESS ON FILE
HUDSON, TRAVIS                      ADDRESS ON FILE
HUDSON, TREVON                      ADDRESS ON FILE
HUDSON, TYRONE                      ADDRESS ON FILE
HUDSON, WILLIAM                     ADDRESS ON FILE
HUDSON, WILLIE                      ADDRESS ON FILE
HUDSPETH, MARK                      ADDRESS ON FILE
HUDYMA, DELORIS                     ADDRESS ON FILE
HUEHN, KEVIN                        ADDRESS ON FILE
HUENINK, JAMES                      ADDRESS ON FILE
HUERTA, ABRAHAM                     ADDRESS ON FILE
HUERTA, ALEX                        ADDRESS ON FILE
HUERTA, ANDRES                      ADDRESS ON FILE
HUERTA, CESAR                       ADDRESS ON FILE
HUERTA, GIOVANNI                    ADDRESS ON FILE
HUERTA, JESUS                       ADDRESS ON FILE
HUERTA, MARIO                       ADDRESS ON FILE
HUERTA, MOISES                      ADDRESS ON FILE
HUERTA, REYNALDO                    ADDRESS ON FILE
HUERTER, MITCHELL                   ADDRESS ON FILE
HUERTER, WILL                       ADDRESS ON FILE
HUET, KRISTIE                       ADDRESS ON FILE
HUEY, BOB                           ADDRESS ON FILE
HUEY, CRAIG                         ADDRESS ON FILE
HUEY, MARSHA                        ADDRESS ON FILE
HUEY, ROBERT                        ADDRESS ON FILE
HUEY, THERESA                       ADDRESS ON FILE
HUFF TRUCKING INC                   3170 ZIEGLER ROAD PIQUA OH 45356
HUFF, BRENDAN                       ADDRESS ON FILE
HUFF, CARLOS                        ADDRESS ON FILE
HUFF, CHANCE                        ADDRESS ON FILE
HUFF, DANIEL                        ADDRESS ON FILE
HUFF, HAROLD                        ADDRESS ON FILE
HUFF, HUBERT                        ADDRESS ON FILE
HUFF, JAMES                         ADDRESS ON FILE
HUFF, JUWAUN                        ADDRESS ON FILE
HUFF, LEE                           ADDRESS ON FILE
HUFF, SAMUEL                        ADDRESS ON FILE
HUFF, TERRY                         ADDRESS ON FILE
HUFF, WILLIAM                       ADDRESS ON FILE
HUFFER, NICHOLAS                    ADDRESS ON FILE
HUFFIN, DARNELL                     ADDRESS ON FILE
HUFFINE, MATTHEW                    ADDRESS ON FILE
HUFFMAN, CHRISTOPHER                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 891 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 900 of 2156

Claim Name                               Address Information
HUFFMAN, HANNAH                          ADDRESS ON FILE
HUFFMAN, JONATHAN                        ADDRESS ON FILE
HUFFMAN, LANCE                           ADDRESS ON FILE
HUFFMAN, LEVI                            ADDRESS ON FILE
HUFFMAN, MICHAEL                         ADDRESS ON FILE
HUFFMAN, MICHAEL                         ADDRESS ON FILE
HUFFMAN, MICHAEL D                       ADDRESS ON FILE
HUFFMAN, THOMAS                          ADDRESS ON FILE
HUFFMANS LAWN SERVICE                    304 CRYSTAL COURT SERGEANT BLUFF IA 51054
HUFFMASTER, RACHAEL                      ADDRESS ON FILE
HUFFORD, BRIAN                           ADDRESS ON FILE
HUFFORD, STEVEN                          ADDRESS ON FILE
HUFFSTUTLER, KYLE                        ADDRESS ON FILE
HUGG AND HALL EQUIPMENT COMPANY          PO BOX 194110 LITTLE ROCK AR 72219
HUGG AND HALL EQUIPMENT COMPANY          4700 NORTH BRYANT OKLAHOMA CITY OK 73121
HUGGHIS, CASSANDRA                       ADDRESS ON FILE
HUGGINS WASTE SERVICES                   71 HORSETRAIL ROAD PEMBROKE GA 31321
HUGGINS, JARRETT                         ADDRESS ON FILE
HUGGINS, KEVIN                           ADDRESS ON FILE
HUGHES BROTHERS TRANSPORT LLC            OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
HUGHES ENVIRONMENTAL ENGINEERING, INC.   14 LEIGHTON PL MAHWAH NJ 07430
HUGHES TRUCK REPAIR LLC                  881 N 300 E KOKOMO IN 46901
HUGHES TRUCKING, INC.                    W 1203 VAUGHN ROAD CAMBRIA WI 53923
HUGHES, ADONIS                           ADDRESS ON FILE
HUGHES, ASHLEE                           ADDRESS ON FILE
HUGHES, BELINDA M                        ADDRESS ON FILE
HUGHES, BILLY                            ADDRESS ON FILE
HUGHES, BOYD                             ADDRESS ON FILE
HUGHES, BRIAN                            ADDRESS ON FILE
HUGHES, BRIAN                            ADDRESS ON FILE
HUGHES, BROCK                            ADDRESS ON FILE
HUGHES, BRYAN                            ADDRESS ON FILE
HUGHES, CADEN                            ADDRESS ON FILE
HUGHES, CHRISTOPHER                      ADDRESS ON FILE
HUGHES, DARRELL                          ADDRESS ON FILE
HUGHES, DAVID                            ADDRESS ON FILE
HUGHES, EVERARD V                        ADDRESS ON FILE
HUGHES, FRANKIE                          ADDRESS ON FILE
HUGHES, GREGORY A                        ADDRESS ON FILE
HUGHES, HELENA                           ADDRESS ON FILE
HUGHES, HIRAM                            ADDRESS ON FILE
HUGHES, JACK                             ADDRESS ON FILE
HUGHES, JARMAINE                         ADDRESS ON FILE
HUGHES, JENNIFER                         ADDRESS ON FILE
HUGHES, KAITLYN                          ADDRESS ON FILE
HUGHES, KEIDRON                          ADDRESS ON FILE
HUGHES, KRISTOPHER                       ADDRESS ON FILE
HUGHES, KYLE                             ADDRESS ON FILE
HUGHES, LINDSEY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 892 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 901 of 2156

Claim Name                          Address Information
HUGHES, MALIK                       ADDRESS ON FILE
HUGHES, MILTON                      ADDRESS ON FILE
HUGHES, RANDALL                     ADDRESS ON FILE
HUGHES, REX                         ADDRESS ON FILE
HUGHES, RONALD                      ADDRESS ON FILE
HUGHES, TIMOTHY                     ADDRESS ON FILE
HUGHES, TOMMY                       ADDRESS ON FILE
HUGHES, WARREN                      ADDRESS ON FILE
HUGHES, WILLIAM                     ADDRESS ON FILE
HUGHES, WIMBERLY                    ADDRESS ON FILE
HUGHETT, ZACH                       ADDRESS ON FILE
HUGHS BODY SHOP INC.                452 ROANOKE RD. DALEVILLE VA 24083
HUGO ENRIQUE SERRANO QUINTERO       OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
HUGO HUNTER INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
HUGO PASSOS SIMAO                   ADDRESS ON FILE
HUGUENARD, LARRY                    ADDRESS ON FILE
HUGULEY, ALFRED                     ADDRESS ON FILE
HUGUNIN, CURTIS M                   ADDRESS ON FILE
HUISENGA, ERIC                      ADDRESS ON FILE
HUITT, CECIL                        ADDRESS ON FILE
HUITT, SHENA                        ADDRESS ON FILE
HUIZEN, BRAD                        ADDRESS ON FILE
HUJDA, RICHARD                      ADDRESS ON FILE
HUJO TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HULBERT, CATRINA                    ADDRESS ON FILE
HULEN, REX                          ADDRESS ON FILE
HULETT, JOHN                        ADDRESS ON FILE
HULETT, ROBERT                      ADDRESS ON FILE
HULETTE, DOUGLAS                    ADDRESS ON FILE
HULETTE, DUSTIN                     ADDRESS ON FILE
HULK TRANSPORTATION INC             OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
HULKE, TIM                          ADDRESS ON FILE
HULL LIFT TRUCK INC                 22105 ELKHART E BLVD ELKHART IN 46514
HULL LIFT TRUCK INC                 22105 ELKHART EAST BLVD PARKMOR IN 46514
HULL, ARTHUR                        ADDRESS ON FILE
HULL, BRIAN                         ADDRESS ON FILE
HULL, CIERRA                        ADDRESS ON FILE
HULL, CLAY                          ADDRESS ON FILE
HULL, DANIELLE                      ADDRESS ON FILE
HULL, DAVID                         ADDRESS ON FILE
HULL, DAVID                         ADDRESS ON FILE
HULL, DUANE                         ADDRESS ON FILE
HULL, ELIJAH                        ADDRESS ON FILE
HULL, JAMIN                         ADDRESS ON FILE
HULL, MICHAEL                       ADDRESS ON FILE
HULL, ROBERT                        ADDRESS ON FILE
HULL, RYAN                          ADDRESS ON FILE
HULLABY LLC                         OR THUNDER CARRIER SERVICES LLC DEPT 3003 PO BOX 1000 MEMPHIS TN 38148-3003
HULLETTE, BOBBY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 893 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 902 of 2156

Claim Name                              Address Information
HULLETTS SERVICE CENTER LLC            608 WOODBURY HWY MANCHESTER TN 37355
HULLINGER, THOMAS                      ADDRESS ON FILE
HULLUM, WENDY                          ADDRESS ON FILE
HULS, JACKY                            ADDRESS ON FILE
HULSEY, DAVID                          ADDRESS ON FILE
HULSEY, JAMES                          ADDRESS ON FILE
HULSING, JOHN                          ADDRESS ON FILE
HULSIZER, STEVEN M                     ADDRESS ON FILE
HULST, JEFFREY                         ADDRESS ON FILE
HULVA, MITCHELL                        ADDRESS ON FILE
HULX TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HUMAN PILOT TRUCKING                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HUMAN, DAVID                           ADDRESS ON FILE
HUMANA AUTOS LLC                       OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
HUMANE SOCIETY                         1 POMONA CA 91766
HUMBERT SANITARY SERVICE, INC          P.O. BOX 2126 NORTH CANTON OH 44720-9968
HUMBERTO GONZALEZ                      ADDRESS ON FILE
HUMBERTO OROZCO PUERTAS                OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
HUMBLE SERVICE TRANSPORT LLC           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
HUMBLE TRANSLINK INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HUMBLE TRUCKLINE INC                   OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HUMBLE, ROBERT                         ADDRESS ON FILE
HUMBLE, RODERICK                       ADDRESS ON FILE
HUMBLET, ADAM                          ADDRESS ON FILE
HUMBOLDT COUNTY TAX COLLECTOR          825 FIFTH ST EUREKA CA 95501
HUMBOLT COUNTY DEPT HEALTH & HUMAN SVCS DIVISION OF ENVIRONMENTAL HEALTH, 100 H STREET SUITE 100 EUREKA CA 95501
HUMBURG, JOHN                          ADDRESS ON FILE
HUME, MARK                             ADDRESS ON FILE
HUMEL, NORMAN                          ADDRESS ON FILE
HUMES, TODD                            ADDRESS ON FILE
HUMMEL, CARL                           ADDRESS ON FILE
HUMMEL, EDWARD                         ADDRESS ON FILE
HUMMEL, HEATH                          ADDRESS ON FILE
HUMMEL, HEATHER                        ADDRESS ON FILE
HUMMEL, JEFFREY                        ADDRESS ON FILE
HUMMELSUND, ERIK                       ADDRESS ON FILE
HUMMER, DENISE                         ADDRESS ON FILE
HUMMINGBIRD EXPRESS CORP               14172 E COLORADO DR 102 AURORA CO 80012
HUMO LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HUMO TRANSPORT LLC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
HUMP LEASING, LLC.                     P.O. BOX 2222 DECATUR AL 35609
HUMPERT, JEFF                          ADDRESS ON FILE
HUMPHERY, TONY                         ADDRESS ON FILE
HUMPHREY, ANTHONY                      ADDRESS ON FILE
HUMPHREY, COLLEEN                      ADDRESS ON FILE
HUMPHREY, DARRELL                      ADDRESS ON FILE
HUMPHREY, JACK                         ADDRESS ON FILE
HUMPHREY, JIMMIE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 894 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 903 of 2156

Claim Name                         Address Information
HUMPHREY, MATTHEW                  ADDRESS ON FILE
HUMPHREY, MICHAEL                  ADDRESS ON FILE
HUMPHREYS, ANTHONY                 ADDRESS ON FILE
HUMPHRIES, DON                     ADDRESS ON FILE
HUMPICH, LEONARD                   ADDRESS ON FILE
HUNCHO TRANSPORTATION LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HUND, MELISSA                      ADDRESS ON FILE
HUNDAL BROS EXPRESS INC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HUNDAL CARRIERS INC                OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
HUNDAL TRANSPORT                   923 KIWI ST MADERA CA 93638
HUNDERMAN, JORDAN                  ADDRESS ON FILE
HUNDT, PARKER                      ADDRESS ON FILE
HUNERYAGER, KYLE                   ADDRESS ON FILE
HUNEYCUTT, JAMES                   ADDRESS ON FILE
HUNG, YOU-JOU                      ADDRESS ON FILE
HUNGRIA-CARRIEL, ANGEL A           ADDRESS ON FILE
HUNHOFF, LORI                      ADDRESS ON FILE
HUNN, ERIC                         ADDRESS ON FILE
HUNSICKER, JACOB                   ADDRESS ON FILE
HUNSINGER, JAMES                   ADDRESS ON FILE
HUNSPERGER, WILLIAM                ADDRESS ON FILE
HUNT ELECTRIC CORPORATION          CM 9488 ST PAUL MN 55170-9488
HUNT ELECTRIC CORPORATION          ECSI SYSTEM INTEGRATORS, PO BOX 860531 MINNEAPOLIS MN 55486
HUNT, AMBER                        ADDRESS ON FILE
HUNT, ANDRE                        ADDRESS ON FILE
HUNT, ANDRE K                      ADDRESS ON FILE
HUNT, ANDRE K                      ADDRESS ON FILE
HUNT, ANDREW                       ADDRESS ON FILE
HUNT, BRADLEY                      ADDRESS ON FILE
HUNT, BRADLY                       ADDRESS ON FILE
HUNT, CHAD                         ADDRESS ON FILE
HUNT, DARCY                        ADDRESS ON FILE
HUNT, DONALD                       ADDRESS ON FILE
HUNT, DONALD                       ADDRESS ON FILE
HUNT, FREDERICK                    ADDRESS ON FILE
HUNT, GREGORY                      ADDRESS ON FILE
HUNT, HERMAN                       ADDRESS ON FILE
HUNT, ISAIAH                       ADDRESS ON FILE
HUNT, JEFFERY                      ADDRESS ON FILE
HUNT, JO                           ADDRESS ON FILE
HUNT, JO M                         ADDRESS ON FILE
HUNT, LAPAUL                       ADDRESS ON FILE
HUNT, LENDALE                      ADDRESS ON FILE
HUNT, MARQUIS                      ADDRESS ON FILE
HUNT, MICHAEL                      ADDRESS ON FILE
HUNT, NICOLAS                      ADDRESS ON FILE
HUNT, PATRICK                      ADDRESS ON FILE
HUNT, RICHARD                      ADDRESS ON FILE
HUNT, ROBERT                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 895 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 904 of 2156

Claim Name                            Address Information
HUNT, ROY                             ADDRESS ON FILE
HUNT, RYAN                            ADDRESS ON FILE
HUNT, SAMANTHA                        ADDRESS ON FILE
HUNT, STEVEN                          ADDRESS ON FILE
HUNT, TANNER                          ADDRESS ON FILE
HUNT, THOMAS                          ADDRESS ON FILE
HUNT, TIMOTHY                         ADDRESS ON FILE
HUNT, TIMOTHY                         ADDRESS ON FILE
HUNT, TRENT                           ADDRESS ON FILE
HUNT, TYLER                           ADDRESS ON FILE
HUNT, ZACHARY                         ADDRESS ON FILE
HUNTE, JAMES                          ADDRESS ON FILE
HUNTER & SONS ELECTRIC LLC            106 JUPITER COURT BARTONSVILLE PA 18321
HUNTER AUSTIN & DEBRA L AUSTIN        ADDRESS ON FILE
HUNTER AUTO & WRECKER SERVICE, INC.   PO BOX 5324 CHARLOTTE NC 28299
HUNTER CARGO LLC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
HUNTER FREIGHT LLC                    OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
HUNTER HAMILTON                       ADDRESS ON FILE
HUNTER JERSEY PETERBILT               ADDRESS ON FILE
HUNTER JR, NATHANIEL                  ADDRESS ON FILE
HUNTER LANES TRANSPORTATION LLC       OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
HUNTER MACHINE                        4669 W 3500 S 6 WEST VALLEY CITY UT 84120
HUNTER MAGNUS TRANSPORTATION INC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HUNTER R GOMEZ                        ADDRESS ON FILE
HUNTER TRUCK SALES & SERVICE INC      C/O HUNTER KEYSTONE PETERBUILT, PO BOX 820849 PHILADELPHIA PA 19182
HUNTER TRUCK SALES & SERVICE INC      519 PITTSBURGH RD BUTLER PA 16001
HUNTER TRUCK SALES & SERVICE INC      4637 CAMPBELLS RUN RD PITTSBURGH PA 15205
HUNTER TRUCK SALES & SERVICE INC      PO BOX 640057 PITTSBURGH PA 15264
HUNTER, ANDREA MONIQUE                ADDRESS ON FILE
HUNTER, ANDREW                        ADDRESS ON FILE
HUNTER, CHAD                          ADDRESS ON FILE
HUNTER, CHARLES                       ADDRESS ON FILE
HUNTER, CHARLES                       ADDRESS ON FILE
HUNTER, DEVYN                         ADDRESS ON FILE
HUNTER, DONALD                        ADDRESS ON FILE
HUNTER, GEORGE                        ADDRESS ON FILE
HUNTER, GREGORY                       ADDRESS ON FILE
HUNTER, HALE                          ADDRESS ON FILE
HUNTER, HASSAN                        ADDRESS ON FILE
HUNTER, HERBERT                       ADDRESS ON FILE
HUNTER, IRVINE                        ADDRESS ON FILE
HUNTER, JAY                           ADDRESS ON FILE
HUNTER, JEREMY                        ADDRESS ON FILE
HUNTER, JOHN                          ADDRESS ON FILE
HUNTER, JOSHUA                        ADDRESS ON FILE
HUNTER, JULIE                         ADDRESS ON FILE
HUNTER, KAREEM                        ADDRESS ON FILE
HUNTER, KIMBERLY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 896 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 905 of 2156

Claim Name                           Address Information
HUNTER, KRISTOFER                    ADDRESS ON FILE
HUNTER, LARRY                        ADDRESS ON FILE
HUNTER, LOUIS                        ADDRESS ON FILE
HUNTER, LYLE                         ADDRESS ON FILE
HUNTER, MARK                         ADDRESS ON FILE
HUNTER, MARVIN                       ADDRESS ON FILE
HUNTER, NATHANIEL                    ADDRESS ON FILE
HUNTER, NICHOLAS                     ADDRESS ON FILE
HUNTER, NIKOLAS                      ADDRESS ON FILE
HUNTER, PATRICK                      ADDRESS ON FILE
HUNTER, PAUL                         ADDRESS ON FILE
HUNTER, QUENTIN                      ADDRESS ON FILE
HUNTER, ROY                          ADDRESS ON FILE
HUNTER, SHACOLA                      ADDRESS ON FILE
HUNTER, SHAYDE N                     ADDRESS ON FILE
HUNTER, THAD                         ADDRESS ON FILE
HUNTER, THEODORE                     ADDRESS ON FILE
HUNTER, TIFFANY                      ADDRESS ON FILE
HUNTER, WALTER                       ADDRESS ON FILE
HUNTER, WILLARD                      ADDRESS ON FILE
HUNTER, WILLIAM                      ADDRESS ON FILE
HUNTER, WILLIAM A                    ADDRESS ON FILE
HUNTER-PATRICK, JONATHAN             ADDRESS ON FILE
HUNTERS BODY SHOP                    2433 KEITH DRIVE COLUMBIA TN 38401
HUNTERS EXPRESS INC                  3102 GLOUCESTER DR STERLING HEIGHTS MI 48310
HUNTERS EXPRESS INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
HUNTINGTON TECHNOLOGY FINANCE INC.   ATTN: GENERAL COUNSEL 301 NJ-17 RUTHERFORD NJ 07070
HUNTON ANDREWS KURTH LLP             951 E BYRD ST RICHMOND VA 23219
HUNTSMAN, LORI                       ADDRESS ON FILE
HUNTSMAN, PATRICK                    ADDRESS ON FILE
HUNTSMAN, WILLIAM                    ADDRESS ON FILE
HUNTZBERRY BROTHERS INC              21536 CHEWSVILLE RD SMITHSBURG MD 21783
HUNZEKER, JOSEPH                     ADDRESS ON FILE
HUPFS REPAIR CENTER                  717 S. CENTER ST. BEAVER DAM WI 53916
HUPP TOYOTALIFT                      PO BOX 353 CEDAR RAPIDS IA 52406
HUPP TOYOTALIFT                      PO BOX 353 CEDAR RAPIDS IA 52406-0353
HUPP TOYOTALIFT                      8915 N PIONEER RD PEORIA IL 61615
HUPP, LEE                            ADDRESS ON FILE
HUPPMANN, JONATHAN                   ADDRESS ON FILE
HURD TRANSPORTATION                  390 NEW SWAMP ROAD HUDSON FALLS NY 12839
HURD, BRANDON                        ADDRESS ON FILE
HURD, DERON                          ADDRESS ON FILE
HURD, JOE                            ADDRESS ON FILE
HURD, KENNETH                        ADDRESS ON FILE
HURD, LENORA                         ADDRESS ON FILE
HURDIS, BRADLEY                      ADDRESS ON FILE
HURDLE, JEFFREY S                    ADDRESS ON FILE
HURLBURT, LARRY                      ADDRESS ON FILE
HURLEY OCCUPATIONAL HEALTH           1125 S LINDEN RD STE 950 FLINT MI 48532



Epiq Corporate Restructuring, LLC                                                               Page 897 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 906 of 2156

Claim Name                         Address Information
HURLEY OCCUPATIONAL HEALTH         2050 S. LINDEN RD SUITE 300 FLINT MI 48532
HURLEY, CHESTER                    ADDRESS ON FILE
HURLEY, DARREL                     ADDRESS ON FILE
HURLEY, EUGENE                     ADDRESS ON FILE
HURLEY, JAMES                      ADDRESS ON FILE
HURLEY, JOSHUA                     ADDRESS ON FILE
HURLEY, ROBERT                     ADDRESS ON FILE
HURLEY, THOMAS                     ADDRESS ON FILE
HURLEY, VIVIAN                     ADDRESS ON FILE
HURN, MICHELLE                     ADDRESS ON FILE
HURNI, STEVEN                      ADDRESS ON FILE
HURON LOGISTICS LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
HURON, DAVID                       ADDRESS ON FILE
HURON, NORA                        ADDRESS ON FILE
HURRICANE FENCE CO                 PO BOX 27527 RICHMOND VA 23261
HURRICANE PROOF                    889 NW 6TH AVENUE DELRAY BEACH FL 33444
HURRICANE TRANSPORTATION           OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
HURRICANE WRECKER                  PO BOX 13412 CHARLESTON WV 25360
HURRY LOGISTICS INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
HURSH, THERESA                     ADDRESS ON FILE
HURST HARDWOODS                    ATTN: NATALIE VALENTINE 13902 LYNMAR BLVD TAMPA FL 33626
HURST LOGISTICS , INC.             2491 KERPER BLVD DUBUQUE IA 52001
HURST TOWING & RECOVERY INC        PO BOX 852 FULTONDALE AL 35068
HURST TOWING & RECOVERY INC        1620 CARSON RD N BIRMINGHAM AL 35217
HURST TRUCKING LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
HURST, BRAD                        ADDRESS ON FILE
HURST, DIANE                       ADDRESS ON FILE
HURST, GERALD                      ADDRESS ON FILE
HURST, GERALD D                    ADDRESS ON FILE
HURST, JUDE                        ADDRESS ON FILE
HURST, KATHRYN                     ADDRESS ON FILE
HURST, TYLER                       ADDRESS ON FILE
HURT, ANDRE                        ADDRESS ON FILE
HURT, JASON                        ADDRESS ON FILE
HURT, JOHN                         ADDRESS ON FILE
HURT, KENNETH                      ADDRESS ON FILE
HURT, RODNEY                       ADDRESS ON FILE
HURT, RYAN                         ADDRESS ON FILE
HURTADO HERNANDEZ, JOSEPH          ADDRESS ON FILE
HURTADO TRUCKING ENTERPRISES LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HURTADO, ANDERSON                  ADDRESS ON FILE
HURTADO, ANTHONY                   ADDRESS ON FILE
HURTADO, ESTANISLAO                ADDRESS ON FILE
HURTADO, GUSTAVO                   ADDRESS ON FILE
HURTADO, HECTOR                    ADDRESS ON FILE
HURTADO, NESTOR                    ADDRESS ON FILE
HUSABOE, JULIE                     ADDRESS ON FILE
HUSARY, FAIK                       ADDRESS ON FILE
HUSBAND&WIFE TRANSPORTATION LLC    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                             Page 898 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 907 of 2156

Claim Name                           Address Information
HUSBY, MICHAEL                       ADDRESS ON FILE
HUSCH BLACKWELL LLP                  4801 MAIN ST STE 1000, PO BOX 802765 KANSAS CITY MO 64180
HUSCH BLACKWELL LLP                  4801 MAIN ST KANSAS CITY MO 64180
HUSEBY, TODD                         ADDRESS ON FILE
HUSIC, SUE                           ADDRESS ON FILE
HUSKA LLC                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HUSKER, CHRISTOPHER                  ADDRESS ON FILE
HUSKER, CHRISTOPHER F                ADDRESS ON FILE
HUSKEY, DENNIS K                     ADDRESS ON FILE
HUSKOVIC TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
HUSKY TRANSPORTATION INC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
HUSKY TRUCKING CO., LLC              OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
HUSKYS HAULING LLC                   902 N WOOD ST APT A GRIFFITH IN 46319
HUSMANN, SHAWN                       ADDRESS ON FILE
HUSO, RAND                           ADDRESS ON FILE
HUSQVARNA                            A3 FREIGHT PAYMENT 3150 LENOX PARK BLVD STE 400 MEMPHIS TN 38115
HUSS, ADAM                           ADDRESS ON FILE
HUSS, WILFRED                        ADDRESS ON FILE
HUSSAIN, BRENDA                      ADDRESS ON FILE
HUSSAIN, CATHERINE                   ADDRESS ON FILE
HUSSAIN, IMRAN                       ADDRESS ON FILE
HUSSAIN, MALAK                       ADDRESS ON FILE
HUSSAIN, SABAH                       ADDRESS ON FILE
HUSSAIN, WAZEER                      ADDRESS ON FILE
HUSSAINNINASEB, FARIDA               ADDRESS ON FILE
HUSSAR LLC                           4456 HARBOR CIR HOFFMAN EST IL 60192
HUSSAR, JASON                        ADDRESS ON FILE
HUSSEIN, ABDIKARIM                   ADDRESS ON FILE
HUSSEIN, ANAS                        ADDRESS ON FILE
HUSSEIN, BAKR                        ADDRESS ON FILE
HUSSEIN, HASSAN M                    ADDRESS ON FILE
HUSSEIN, ZAKARIA                     ADDRESS ON FILE
HUSSEY, JOHN                         ADDRESS ON FILE
HUSTED, DARIN                        ADDRESS ON FILE
HUSTLE & GO TRANSPORT                14792 NW GLACIER LN BEAVERTON OR 97006
HUSTLE HARD TRUCKING SERVICES        OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
HUSTLE HYDRATION LLP                 8823 ZEALAND AVE NORTH, SUITE C BROOKLYN PARK MN 55445
HUSTLE10 LLC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
HUSTON, BRITNI                       ADDRESS ON FILE
HUSTON, JOY                          ADDRESS ON FILE
HUTCH PAVING                         3000 E 10 MILE ROAD WARREN MI 48091
HUTCH, EDWIN                         ADDRESS ON FILE
HUTCH, PETER                         ADDRESS ON FILE
HUTCHCRAFT, LEON                     ADDRESS ON FILE
HUTCHENS, CHARLES                    ADDRESS ON FILE
HUTCHENS, DAVID                      ADDRESS ON FILE
HUTCHENS, JEREMY                     ADDRESS ON FILE
HUTCHENS, TYLER                      ADDRESS ON FILE
HUTCHERSON, GEORGE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 899 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                             Page 908 of 2156

Claim Name                          Address Information
HUTCHESON, GEOFFREY                 ADDRESS ON FILE
HUTCHINGS, DONALD                   ADDRESS ON FILE
HUTCHINGS, MICHAEL W                ADDRESS ON FILE
HUTCHINS, JOHN                      ADDRESS ON FILE
HUTCHINS, LARRY                     ADDRESS ON FILE
HUTCHINS, LAWRENCE                  ADDRESS ON FILE
HUTCHINSON                          621 CHAPEL AVENUE CHERRY HILL NJ 08034
HUTCHINSON INDUSTRIES INC BUFF      ATTN: KENON GARDNER 92 MONSIGNOR VALENTE DR BUFFALO NY 14206
HUTCHINSON, ANTJWUAN                ADDRESS ON FILE
HUTCHINSON, BRIAN                   ADDRESS ON FILE
HUTCHINSON, CARMELINO R             ADDRESS ON FILE
HUTCHINSON, LELAND                  ADDRESS ON FILE
HUTCHISON, BENJAMIN                 ADDRESS ON FILE
HUTCHS TOWING & RECOVERY            14 066 M 50 HOLIDAY CITY OH 43543
HUTCHS WRECKER SERVICE LLC          P.O. BOX 40, 45 LOWER DRIVE HANDLEY WV 25102
HUTCHWAY HAULING LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HUTSON, CLIFFORD                    ADDRESS ON FILE
HUTSON, MARQUIS                     ADDRESS ON FILE
HUTSON, RUBEN                       ADDRESS ON FILE
HUTT, DAWN                          ADDRESS ON FILE
HUTT, MAURICE                       ADDRESS ON FILE
HUTT, MAURICE                       ADDRESS ON FILE
HUTT, STANLEY M                     ADDRESS ON FILE
HUTTER, MICHAEL                     ADDRESS ON FILE
HUTTING, DANIEL                     ADDRESS ON FILE
HUX, JOHN                           ADDRESS ON FILE
HUYAN INTERNATIONAL GROUP INC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HUYAN INTERNATIONAL GROUP INC       1051 S ROCKEFELLER AVE ONTARIO CA 91761
HUYNH, JOSHUA                       ADDRESS ON FILE
HUYNH, LE ANH KHUONG                ADDRESS ON FILE
HUZEJROVIC, ANEL                    ADDRESS ON FILE
HVAC STARPLUS LLC                   PO BOX 12530 WILMINGTON NC 28405
HVIP INDUSTRIAL PARK                ATTN: BRENT COWDEN 3463 CEDARVILLE RD. BELLINGHAM WA 98226
HVR SOFTWARE USA, INC.              44 MONTGOMERY STREET, 3RD FLOOR SAN FRANCISCO CA 94104
HWY 911 LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
HWY EXPRESS INCORPORATED            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
HWY LOGISTICS LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
HXI LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HY FREIGHT INC                      1683 MORNING CREST LANE LILBURN GA 30047
HY SPEED MACHINING                  353 CALIFORNIA ST GRANTS PASS OR 97526
HYATT HOUSE ANCHORANGE              5141 BUSINESS PARK BLVD ANCHORAGE AK 99503
HYATT, ADAM                         ADDRESS ON FILE
HYATT, CHARLES                      ADDRESS ON FILE
HYATT, FERRELL                      ADDRESS ON FILE
HYATT, JOHN                         ADDRESS ON FILE
HYATT, MARK                         ADDRESS ON FILE
HYATT, THEODORE                     ADDRESS ON FILE
HYBRID LOGISTICS LLC                P.O.BOX 153927 IRVING TX 75015
HYBRID TRUCKING LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086



Epiq Corporate Restructuring, LLC                                                                Page 900 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 909 of 2156

Claim Name                           Address Information
HYC TRUCKING LLC                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
HYCHE, DERRICK                       ADDRESS ON FILE
HYDE MFG CO                          ATTN: JUDITH MANDEVILLE 54 EASTFORD RD SOUTHBRIDGE MA 01550
HYDE PARK INTERIORS                  8924 E PINNACLE PEAK RD SCOTTSDALE AZ 85255
HYDE, JOHNNY                         ADDRESS ON FILE
HYDE, RAYMON                         ADDRESS ON FILE
HYDEN, KYLE                          ADDRESS ON FILE
HYDER, DANIEL                        ADDRESS ON FILE
HYDER, TREMAYNE                      ADDRESS ON FILE
HYDRA SPORTS CUSTOM BOATS            23 EXCELLENCE WAY VONORE TN 37885
HYDRATE HQ OF SOCAL LLC              79 NORTH MAIN STREET CHAGRIN FALLS OH 44022
HYDRAULAX PRODUCTS, INC.             6360 BASEHORE RD. MECHANICSBURG PA 17050
HYDRAULAX PRODUCTS, INC.             5606 TULIP ST PHILADELPHIA PA 19124
HYDRAULAX PRODUCTS, INC.             PO BOX 9580, 5606 TULIP STREET PHILADELPHIA PA 19124
HYDRAULIC CONTROLS                   PO BOX 8007 EMERYVILLE CA 94662
HYDRITE CHEMICALS CO                 1603 CLANCY CT VISALIA CA 93291
HYDRO ONE NETWORKS INC               483 BAY ST (SOUTH TOWER) 8TH FLOOR RECEPTION TORONTO ON M5G 2P5 CANADA
HYDRO QUEBEC                         75, BOULEVARD RENE-LEVESQUE OUEST MONTREAL QC H2Z 1A4 CANADA
HYDRO RAIN INC                       PO BOX 540508 NORTH SALT LAKE UT 84054
HYDRO TECH                           65 INDUSTRIAL COURT B SAULT STE MARIE P6B 5Z9 CANADA
HYDRO-CHEM SYSTEMS                   6605 BROADMOOR AVE SE CALEDONIA MI 49316
HYDRO-FLO PRODUCTS,INC               3655 ZN. 124TH ST 2452 BROOKFIELD WI 53005
HYE TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
HYEND TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
HYG FINANCIAL SERVICES INC           PO BOX 35701 BILLINGS MT 59107
HYGENEX                              PO BOX 5334 CARSON CA 90749
HYLAND SOFTWARE, INC.                PO BOX 846261 DALLAS TX 75284
HYLAND, BRYAN                        ADDRESS ON FILE
HYLEMAN, DARRELL                     ADDRESS ON FILE
HYLSKY, RYAN                         ADDRESS ON FILE
HYMAN TRUCKING LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
HYMAN, CHARLES                       ADDRESS ON FILE
HYMAN, DANIEL                        ADDRESS ON FILE
HYMER, JOHN                          ADDRESS ON FILE
HYMON, TREZVANT                      ADDRESS ON FILE
HYNDMAN AREA HEALTH CENTER INC.      PO BOX 706 HYNDMAN PA 15545
HYNDMAN AREA HEALTH CENTER, INC.     104 RAILROAD ST BEDFORD PA 15522
HYNES TRUCKING AND LOGISTICS LLC     800 BRYCE ST BRANDON MS 39047
HYNES, WILLIAM T                     ADDRESS ON FILE
HYOSUK PARK                          2411 EAST RIDGE ROAD APT 171 ROCHESTER NY 14622
HYOUNG, JOON H                       ADDRESS ON FILE
HYPER FOX INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
HYPER FREIGHT                        OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
HYPER FREIGHT                        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
HYPER FREIGHT                        OR RM CAPITAL GROUP INC PO BOX 509141, DEPT 914 SAN DIEGO CA 92150
HYPER LANE LOGISTICS CORP            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
HYPES, STANLEY                       ADDRESS ON FILE
HYPES, STANLEY                       ADDRESS ON FILE
HYPOLITE, TRACY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 901 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 910 of 2156

Claim Name                           Address Information
HYRE, STEPHAN                        ADDRESS ON FILE
HYSAJ, MICHAEL                       ADDRESS ON FILE
HYSENI, PERPARIM                     ADDRESS ON FILE
HYSER, MICHAEL                       ADDRESS ON FILE
HYSER, MICHAEL                       ADDRESS ON FILE
HYUNDAI MOTOR                        D/B/A: GLOVIS AMERICA 17305 VON KARMAN AVE STE 200 IRVINE CA 92614
HYUNDAI TRANSLEAD                    ATTN: A/R DEPARTMENT, P.O. BOX 409472 ATLANTA GA 30384
HYUNDAI TRANSLEAD                    ATTN: ANA GRAGEOLA 8880 RIO SAN DIEGO DR STE 600 SAN DIEGO CA 92108
HZ ELECTRIC SUPPLY/USESI             22 WADE RD LATHAM NY 12110
HZB LLC                              4316 W MINNESOTA ST INDIANAPOLIS IN 46241
HZM-ECONOMY POLYMERS& CHEMICALS      11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
I & A EXPRESS INC                    551 SHELLY CT APT A WHEELING IL 60090
I & A TRANS INC                      8509 ARROWROOT CIR ANTELOPE CA 95843-3725
I & B TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
I & E TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
I & F TRANSPORT LLC                  OR TAFS, INC., PO BOX 872632 KANSAS CITY MO 64187
I & L TRUCKING LLC                   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
I & N TRANSPORTATION LLC             16725 168TH TERRACE SE RENTON WA 98058
I & S LOGISTICS INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
I & T TRANSFER                       PO BOX 950 SHELBY MT 59474
I & Y TRANSPORT INC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
I & Z SERVICES INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
I A M NATIONAL PENSION FUND          1300 CONNECTICUT AVE NW, SUITE 300 WASHINGTON DC 20036
I A VALMAS TRANSPORTATION LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
I B LOGISTICS                        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
I B OF TEAMSTERS                     UNION LOCAL 20, 435 S HAWLEY ST TOLEDO OH 43609
I BELIEVE IN YOU LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
I D C TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
I D E TRANSPORTS INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
I D TRUCKING INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
I DRIVE TRANSPORT                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
I EXPRESS LLC                        OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
I FREIGHT SOLUTIONS LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
I L A UNION LOCAL 1730               576 ROCKAWAY STREET STATEN ISLAND NY 10307
I L A UNION LOCAL 1730               CHRISTOPHER WALSH, PO BOX 70116 STATEN ISLAND NY 10307
I LABS INC                           ATTN: RECEIVING 1111 MACARTHUR BLVD MAHWAH NJ 07430
I LOAD LOGISTIC LLP                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
I LOVE TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
I M S DIV OF ANIXTER                 KATHY BAKKE, 1305 JOHN FITCH BLVD SOUTH WINDSOR CT 06074
I M TRUCKING                         3060 LAURELHURST DR APT 73 RANCHO CORDOVA CA 95670
I N B T TRANSPORT LLC                OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
I N K TRUCKING LLC                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
I O C TRANSPORT LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
I R TRONIX                           ATTN: MADHARA RATHNAYAKE 20900 NORMANDIE AVE BLDG B TORRANCE CA 90502
I R TRONIX                           ATTN: MADHARA 20900 NORMANDIE AVE BLDG B TORRANCE CA 90502
I RUIZ TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
I S EXPRESS LLC                      OR AFS, INC., PO BOX 347 MADISON SD 57042
I S TRANSPORTATION CORP              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
I S VENTURA TRANSPORT LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 902 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 911 of 2156

Claim Name                              Address Information
I STATE TRUCK CENTER                   NW7246, PO BOX 1450 MINNEAPOLIS MN 55485-7246
I T NELLA INC                          OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
I T S TRUCKING                         I T S TRUCKING, PO BOX 1057 INMAN SC 29349
I TRANSPORT INC                        OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
I TRUCKING LLC                         OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
I&B TRANSPORT                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
I&D GREEN LOGISTICS LLC                OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
I&K TRUCKING INC                       W53N166 GARFIELD CT CEDARBURG WI 53012
I&R TRUCKING LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
I&S TRANSPORT                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
I&S TRANSPORTATION INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
I&V TRANSPORT LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
I-15 MOBILE REPAIR SERVICES INC        3170 VIA DA VINCI HENDERSON NV 89044
I-44 TRUCK CENTER & WRECKER SERVICE LLC 705 NORTH SERVICE RD SAINT CLAIR MO 63077
I-44 TRUCK CENTER & WRECKER SERVICE LLC 3600 CENTER DR ROLLA MO 65401
I-55 LOGISTICS LLC                     131 PCR 528 PERRYVILLE MO 63775
I-70 TOWING & RECOVERY LLC             4201 INTERSTATE 70 DR. SE COLUMBIA MO 65201
I-80 TOWING                            PO BOX 2512, 1209 S 3RD ST LARAMIE WY 82070
I-CARRIERS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
I-DECAL SIGN CO                        600 N CONWAY AVE MISSION TX 78572
I-KEY 2 0 LLC                          2630 SUMAC PLACE GREEN BAY WI 54313
I-LOG TRANSPORTATION CORP              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
I-LOG, LLC                             PO BOX 3196 BONITA SPRINGS FL 34133
I-TRADE LLC                            OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
I. D. M. TRUCKING, INC.                73 RAILSIDE DRIVE WEYERS CAVE VA 24486
I. RAY ZIMMERMAN INC                   1100 HOCKLEY HILL RD TURBOTVILLE PA 17772
I.A.M. LOCAL 447 WELFARE FUND          C/O CROWN BENEFITS GROUP INC, 2914 PINE AVE NIAGARA FALLS NY 14301
I.B. OF T. UNION LOCAL 710             D/B/A: IBT LOCAL 710 PENSION, 9179 PAYSPHERE CIRCLE CHICAGO IL 60674
I.V.P. INC. DBA V & L REPAIR           13053 WHITTRAM AVENUE RANCHO CUCAMONGA CA 91739
I5 SPORTS                              635 PACIFIC BLVD SW ALBANY OR 97321
I5 TRANS INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
I70 TOWING AND RECOVERY                4201 I 70 DR. SE COLUMBIA MO 65201
I95SOUTH TRANSPORTATION LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IA DEPT OF PUBLIC TRANSPORTATION       800 LINCOLN WAY ATTN CASHIER OFFICE AMES IA 50010
IA EXPRESS LLC (N OLMSTED OH)          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IAC                                    P.O. BOX 1239 JEFFERSONVILLE IN 47131
IAC MAPLE                              ATTN: JENNIFER SPENCER UBER FREIGHT PO BOX 518 LOWELL AR 72745
IACONO, MARK                           ADDRESS ON FILE
IAD XPRESS LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
IAKEEM ROBINSON                        ADDRESS ON FILE
IAM                                    9000 MACHINISTS PLACE UPPPER MARLBORO MD 20772
IAM K CURTIS                           ADDRESS ON FILE
IAM LOCAL 447 HEALTH/WELFARE FUND      2914 PINE AVENUE NIAGARA FALLS NY 14301
IAM MOTOR CITY FRINGE                  COMERICA BANK BENEFIT FUNDS, 411 W LAFAYETTE DETROIT MI 48226
IAM MOTOR CITY H/W FUND                COMERICA BANK, 411 W LAFAYETTE DETROIT MI 48226
IAM MOTOR CITY PENSION FUND            COMERICA BANK, 411 W LAFAYETTE DETROIT MI 48226
IAM MOTOR CITY PENSION PLAN            700 TOWER DRIVE SUITE 300 TROY MI 48098
IAM NATIONAL 401K PLAN                 P.O. BOX 791158 BALTIMORE MD 21279



Epiq Corporate Restructuring, LLC                                                                   Page 903 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 912 of 2156

Claim Name                            Address Information
IAM NATIONAL 401K PLAN                1300 CONNECTICUT AVE NW, SUITE 300 WASHINGTON DC 20036
IAM NATIONAL 401K PLAN                ROBERT MARTINEZ, JR., PRESIDENT C/O INTERNATIONAL ASSO OF MACHINISTS 12365 ST.
                                      CHARLES ROCK ROAD BRIDGETON MO 63044
IAM NATIONAL PENSION FUND             PO BOX 64341 BALTIMORE MD 21264-4341
IAM NATIONAL PENSION FUND             99 M STREET, SE SUITE 600 WASHINGTON DC 20003
IAM NATIONAL PENSION FUND             99 M STREET, S.E. SUITE 600 WASHINGTON DC 20003-3799
IAM NATIONAL PENSION FUND (BUF 447)   9 M STREET SUITE 600 WASHINGTON DC 20003-3799
IAM NATIONAL PENSION FUND (ST PAUL)   9 M STREET SUITE 600 WASHINGTON DC 20003-3799
IAMFR8 INC                            25350 MAGIC MOUNTAIN PKWY STE 300 VALENCIA CA 91355
IAN A STROUT                          ADDRESS ON FILE
IAN DEFFEBACH                         ADDRESS ON FILE
IAN K CURTIS                          ADDRESS ON FILE
IAN L GERALD                          ADDRESS ON FILE
IAN LAVALLEE                          ADDRESS ON FILE
IANA INC                              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
IANNICELLO, THOMAS                    ADDRESS ON FILE
IANNITTI, MARCO                       ADDRESS ON FILE
IANSWAY TRANSIT SYSTEM LLC            501 CAMBRIA AVE SUITE 251 BENSALEM PA 19020
IB LOGISTICS LLC                      405 G ST SE APT 3 QUINCY WA 98848-1570
IB TRUCKING LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
IBARRA ACOSTA, MARTIN                 ADDRESS ON FILE
IBARRA TRANSPORTATION LLC             26620 OAK ST ELKO MN 55020
IBARRA, CRIS                          ADDRESS ON FILE
IBARRA, FERNANDO                      ADDRESS ON FILE
IBARRA, JOSE                          ADDRESS ON FILE
IBARRA, JOSE                          ADDRESS ON FILE
IBARRA, LUIS                          ADDRESS ON FILE
IBARRA, MARK                          ADDRESS ON FILE
IBARRA, MIGUEL                        ADDRESS ON FILE
IBARRA, MIGUEL                        ADDRESS ON FILE
IBARRA, ROBERT                        ADDRESS ON FILE
IBARRA, RUBEN                         ADDRESS ON FILE
IBARRA, RUBIE                         ADDRESS ON FILE
IBARRA-BASTIDAS, GABRIELA             ADDRESS ON FILE
IBARRA-BASTIDAS, GABRIELA             ADDRESS ON FILE
IBARRAS TRANSPORTATION, INC           OR CHARTER CAPITAL, P.O. BOX 270568 HOUSTON TX 77277-0568
IBC AIRWAYS                           5600 NW 36TH ST. MIAMI FL 33166
IBC LOCAL 104                         1450 S. 27TH AVE PHOENIX AZ 85009
IBE TRANSPORTE LLC                    OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
IBERIA EXPRESS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
IBI TRANSPORT INC                     16655 PENN DR LIVONIA MI 48154
IBM CORPORATION                       PO BOX 676673 DALLAS TX 75267
IBMI                                  1120 E. PRODUCE RD. HIDALGO TX 78557
IBO EXPRESS LLC                       OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
IBOTAD TRANS INC                      6601 BAY PARKWAY APT 2E BROOKLYN NY 11204
IBRA TRANSPORTATION                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
IBRAHIM GOUNE KANTE                   ADDRESS ON FILE
IBRAHIM IBRAHIMOVIC.                  ADDRESS ON FILE
IBRO FAMILY TRANS LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 904 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 913 of 2156

Claim Name                            Address Information
IBS SOLUTIONS/PITT PLASTICS           ATTN: 3Q61270 PO BOX 356 PITTSBURG KS 66762
IBS TRANSPORT LTD                     OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON NS L6T 5C5 CANADA
IBSA TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
IBT LOCAL 191 HEALTH SERVICES         & INSURANCE PLAN 1139 FAIRFIELD AVENUE BRIDGEPORT CT 06605
IBT LOCAL 667                         796 E BROOKS RD MEMPHIS TN 38116
IBT LOCAL 710                         SEAN OBRIEN, GENERAL PRESIDENT C/O INTL BROTHERHOOD OF TEAMSTERS 25 LOUISIANA
                                      AVE, N.W. WASHINGTON DC 20001
IBT LOCAL 710                         HEALTH & WELFARE, 9179 PAYSPHERE CIRCLE CHICAGO IL 60674
IBT LOCAL 710                         PENSION, 9179 PAYSPHERE CIRCLE CHICAGO IL 60674
IBT LOCAL 710 HEALTH & WELFARE        200 W MONROE ST STE 200 CHICAGO IL 60606
IBT LOCAL 710 HEALTH & WELFARE FUND   9000 W. 187TH STREET MOKENA IL 60448
IBT LOCAL 710 PENSION FUND            200 W MONROE ST STE 200 CHICAGO IL 60606
IBT NO. 710 PENSION FUND              9000 W. 187TH STREET MOKENA IL 60448
IBY TRANSPORT INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IC GLOBAL LOGISTICS LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
IC LOGISTIC CORP                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
IC TRANSPORT                          ATTN: IC TRANSPORT 22675 DULLES SUMMIT CT STE 175 STERLING VA 20166
IC TRUCKING, LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ICA INSULATION                        500 S. 9TH STREET LEHIGHTON PA 18235
ICAT LOGISTICS                        ATTN: BECKY DOSSETT SOUTHWIRE CO CLAIM DEPARTMENT 1900 BRANNAN RD, STE 300
                                      MCDONOUGH GA 30253
ICBC INCORPORATION                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ICBS LTD CO                           809 NAFTA BLVD LAREDO TX 78045
ICC                                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ICC INTERNATIONAL                     ATTN: CHUCK DODSON 2100 E VALENCIA DR STE D FULLERTON CA 92831
ICC TRUCKING LLC                      OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
ICD FREIGHT INC                       13202 W 98TH ST LENEXA KS 66215
ICE FREIGHT LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ICE MASTERS INC                       6218 MELROSE LANE SHAWNEE KS 66203
ICE MASTERS INC                       PO BOX 650769 DALLAS TX 75265
ICE PLANT, INCORPORATED               P.O. BOX 4057 MERIDIAN MS 39304
ICE SYSTEMS INC.                      PO BOX 11126 HAUPPAUGE NY 11788
ICE TRANSPORTATION LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
ICEBOX LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ICEE CORPORATION                      ATTN: HANNAH SWIFT FREIGHT MANAGEMENT INC 2900 E. LA PALMA AVE ANAHEIM CA
                                      92806
ICELAND TRANSPORT INC                 671 SOUDER ROAD SOUDERTON PA 18964
ICENOGLE, JOSEPH                      ADDRESS ON FILE
ICETECH INC                           PO BOX 272610 OKLAHOMA CITY OK 73137
ICIMS INC                             29348 NETWORK PLACE CHICAGO IL 60673
ICKES, MICHAEL                        ADDRESS ON FILE
ICLF TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ICM LOGISTICS LLC                     101 S CONCORD TER GALLOWAY 08205
ICM TRANSPORT CORP                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ICMS LOGISTICS LLC                    6449 CYPRESSDALE DR UNIT 101 RIVERVIEW FL 33578
ICOG EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ICON FREIGHT LOGISTICS                OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ICON GLASS                            847 NORTH POINTE CIRCLE, NORTH SALT LAKE UT 84054
ICON TRANS INC                        1025 EBBETTS AVE MANTECA CA 95337
ICONEX LLC                            310 MAIN AVE WAY SE HICKORY NC 28602


Epiq Corporate Restructuring, LLC                                                                  Page 905 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 914 of 2156

Claim Name                            Address Information
ICONIC CARRIERS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ICONIC FLEET LLC                      OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
ICONIC PINEAPPLE                      ATTN: LAURA PINGEL 3015 RT 32 W FRIENDSHIP MD 21794
ICOOL USA                             1638 THOMPSON RD SE HARTSELLE AL 35640
ICP CONSTRUCTION                      10313 BUNSEN WAY LOUISVILLE KY 40299
ICP.GG                                ATTN JENNIFER MARTINEZ, 4161 E 7TH AVE TAMPA FL 33605
ICROM LOGISTICS INC                   OR WEX FLEETONE, PO BOX 94565 CLEVELAND OH 44101
ICROM LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ICS JANITORIAL                        D/B/A: INNOVATIVE CLEANING SOLUTIONS 2909 EASTHILLS DRIVE LEXINGTON KY 40515
ICS JANITORIAL                        D/B/A: INNOVATIVE CLEANING SOLUTIONS 3175 CUSTER DR STE 101 LEXINGTON KY 40517
ID EXPRESS LLC                        1251 OLDE LEXINGTON RD HOSCHTON GA 30548
ID TRUCKING, LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ID WHOLESALER                         PO BOX 95265 CHICAGO IL 60694
IDA TRANSPORTATION SERVICES LLC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
IDAHO DEPT OF AGRICULTURE             WEIGHTS AND MEASURES PO BOX 7249 BOISE ID 83707
IDAHO DEPT OF ENVIRONMENTAL QUALITY   ACCOUNTS RECEIVABLE-FISCAL OFFICE, 1410 NORTH HILTON BOISE ID 83706
IDAHO ICE                             220 W MORTON MOSCOW ID 83843
IDAHO MATERIAL HANDLING INC           PO BOX 271123 SALT LAKE CITY UT 84127
IDAHO MATERIAL HANDLING, INC.         4800 N YELLOWSTONE HWY IDAHO FALLS ID 83401
IDAHO POWER                           P.O. BOX 70 BOISE ID 83707
IDAHO SECRETARY OF STATE              450 N 4TH STREET, PO BOX 83720 BOISE ID 83720
IDAHO STATE TAX COMMISSION            P O BOX 70012 BOISE ID 83707
IDAHO STATE TAX COMMISSION            PO BOX 76 BOISE ID 83707
IDAHO STATE TAX COMMISSION            PO BOX 83784 BOISE ID 83707
IDAHO STATE TREASURERS OFFICE         UNCLAIMED PROPERTY PROGRAM, 304 N 8TH ST STE 208 BOISE ID 83702
IDAHO TRUCKING ASSOCIATION            3405 E OVERLAND RD 175 MERIDIAN ID 83642
IDAHOAN FOODS                         900 PIER VIEW DR IDAHO FALLS ID 83402
IDE, KYLE                             ADDRESS ON FILE
IDEA GROUP INC                        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
IDEA LINE INC                         13488 MAGALA LN CHINO HILLS CA 91709
IDEAL COURIER LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
IDEAL HEATING AC & REFRIG INC         1417 N HARDING STREET INDIANAPOLIS IN 46202
IDEAL LOGISTICS                       1810 E ESTES ELK GROVE VILLAGE IL 60007
IDEAL LOGISTICS GROUP INC.            6600 GOREWAY DRIVE UNIT E MISSISSAUGA ON L4V 1S6 CANADA
IDEAL STAIR PARTS                     SANDY REGAN, 225 W MAIN ST LITTLE FALLS NY 13365
IDEAL TRANS LLC                       1498 CLYDE WAITE DR BRISTOL PA 19007
IDEAL TRUCK SERVICES, INC.            PO BOX 146 MOBILE AL 36601
IDEAL XPRESS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
IDEALAIR HEATING & COOLING            1396 PLANE SITE BLVD DEPERE WI 54115
IDEALEASE OF ATLANTA, LLC             PO BOX 532256 ATLANTA GA 30353
IDEALEASE OF ATLANTA, LLC             PO BOX 532256 ATLANTA GA 30353-2256
IDEALEASE OF HOUSTON                  14201 HEMPSTEAD HWY., BLDG G HOUSTON TX 77040
IDEALITY INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IDELIVER XPRESS, LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
IDEN, DONALD                          ADDRESS ON FILE
IDENTICARD LIMITED                    PO BOX 57097 POSTAL STATION A TORONTO ON M5W 5M5 CANADA
IDESES, STEVE                         ADDRESS ON FILE
IDHB TRANSPORT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                  Page 906 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 915 of 2156

Claim Name                           Address Information
IDI MACARTHUR CO                     1869 RESEARCH WAY WEST VALLEY UT 84119
IDIL TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IDJ LOGISTICS LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
IDLEBURG, WD                         ADDRESS ON FILE
IDLI                                 PO BOX 870 SEVERNA PARK MD 21146
IDLI                                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
IDM GROUP INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
IDOW LOGISTICS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
IDOWU, CHRISTOPHER                   ADDRESS ON FILE
IDS EXPRESS INC                      195 GREEN POND RD ROCKAWAY NJ 07866
IDS EXPRESS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IDS TRANSPORT INC.                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
IDS TRUCKING INC                     OR JD FACTORS LLC 490 E ROOSEVELT ROAD SUITE 103 WEST CHICAGO IL 60185
IDZINSKI, ANN                        ADDRESS ON FILE
IERENIMO F UINI                      ADDRESS ON FILE
IEWC                                 ATTN: CONNIE STAFFORD MANAGED SERVICES 29857 NETWORK PLACE CHICAGO IL 60673
IF LOGISTICS INC                     OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
IFC                                  OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
IFIGOURMET                           360 HARBOR WAY SOUTH SAN FRANCISCO CA 94080
IFILL, ROYBRIAN                      ADDRESS ON FILE
IFIXIT                               ATTN: MARK JENSEN 1330 MONTEREY ST SAN LUIS OBISPO CA 93401
IFKOVITS, MATTHEW                    ADDRESS ON FILE
IFN INC                              2219 MAPLE HILL CT DOWNERS GROVE IL 60515
IFREIGHT LLC                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
IFTIN CARRIER LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
IFTING TRANSPORTATION LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
IG TRANSPORTATION INC                500 SOUTH LOMBARD RD UNIT A ADDISON IL 60101
IGBINEWEKA, SAMSON                   ADDRESS ON FILE
IGD TRUCKING INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
IGL EXPEDITED INC                    OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
IGLI TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IGN LOGISTICS CO                     IGN LOGISTICS CO, 15725 ORLAN BROOK DR 73 ORLAND PARK IL 60462
IGNACE, CHRISTOPHER                  ADDRESS ON FILE
IGNACIO, EDUARDO                     ADDRESS ON FILE
IGO FREIGHT LLC                      OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
IGS LOGISTICS LLC                    OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
IGS TRANS INC                        33286 N BATTERSHALL RD GRAYSLAKE IL 60030
IHAUL FREIGHT, INC.                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068-2348
IHAUL FREIGHT, INC.                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
IHAUL FREIGHT, INC.                  OR RM CAPITAL GROUP INC PO BOX 509141, DEPT 914 SAN DIEGO CA 92150
IHAUL LLC                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
IHAUL LOGISTICS LLC                  OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
IHC GROUP                            923 MILLWORKS CRESCENT MISSISSAUGA ON L5V 1C4 CANADA
IHOO GROUP LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
IHOUL LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IHR TRANSPORT                        PO BOX 2229 EDINBURG TX 78540
II RICARDO INC                       16139 E PLEASURE DR LOXAHATCHEE FL 33470
IIA KANSAS CITY CHAPTER              C/O TOMMY KERR, 6110 W 55TH ST MISSION KS 66202
III TRUCKING LLC                     6706 SAN MOORE DR PINSON AL 35126



Epiq Corporate Restructuring, LLC                                                                 Page 907 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 916 of 2156

Claim Name                               Address Information
IIK TRANSPORT INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IINAD TRUCKING LLC                       OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
IJM LLC                                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
IKAIA TRANSPORT SERVICES LLC             293 W FOXTROT CIR FAIR GROVE MO 65648
IKAMAL INC                               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
IKAPA TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IKARD TOWING & SALES INC                 1841 DECHERD BLVD DECHERD TN 37324
IKARUS INC                               6501 HARDING PIKE APT J40 NASHVILLE TN 37205
IKE SQUAD LLC                            330 W 400 S TOOELE UT 84074
IKHLAS LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IKKO LOGISTICS LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
IKO EXPRESS INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
IKOLMANAS INCORPORATED                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
IKON TRUCKING LLC                        1807 TATUM HWY LOVINGTON NM 88260
IKONICK TRANSPORTATION INC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
IKUA, PATRICK                            ADDRESS ON FILE
IL                                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
IL DOT                                   2300 S DIRKSEN PKWY SPRINGFIELD 62764
IL DOT                                   ILLINOIS DOT 2300 S. DIRKSEN PARKWAY SPRINGFIELD IL 62764
ILA LOCAL 1730                           ATTN: WAYNE WALSH, PRESIDENT P.O. BOX 61415 STATEN ISLAND NY 61415
ILAGOR, STEVE                            ADDRESS ON FILE
ILAHI LLC                                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ILAM TRANSPORTATION LLC                  OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
ILAN, BEN                                ADDRESS ON FILE
ILC LOGISTICS                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ILEANA TRUCKING CORP                     OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
ILEANA, MIHAIL                           ADDRESS ON FILE
ILEIWAT, SALAH                           ADDRESS ON FILE
ILEYE TRUCKING LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ILIC, IVAN                               ADDRESS ON FILE
ILIC, MILENTIJA                          ADDRESS ON FILE
ILLIKAINEN, FLOYD                        ADDRESS ON FILE
ILLINGWORTH, ADAM                        ADDRESS ON FILE
ILLINOIS AMERICAN WATER                  208 SO LASALLE ST, SUITE 814 CHICAGO IL 60604-1101
ILLINOIS COLORADO EXPRESS, INC.          9529 NORTH KEYSTONE AVE SKOKIE IL 60076
ILLINOIS DEPARTMENT OF AGRICULTURE       801 E SANGAMON AVE SPRINGFIELD IL 62702
ILLINOIS DEPARTMENT OF AGRICULTURE       BUREAU OF WEIGHTS & MEASURES PO BOX 19281 SPRINGFIELD IL 62794
ILLINOIS DEPARTMENT OF AGRICULTURE       BUREAU OF WEIGHTS & MEASURES PO BOX 19281 STATE FAIRGRNDS SPRINGFIELD IL
                                         62794-9281
ILLINOIS DEPARTMENT OF REVENUE           PO BOX 19034 SPRINGFIELD IL 62794
ILLINOIS DEPARTMENT OF REVENUE           PO BOX19038 SPRINGFIELD IL 62794
ILLINOIS DEPARTMENT OF REVENUE           RETAILERS OCCUPATION TAX SPRINGFIELD IL 62796
ILLINOIS DEPT. OF TRANSPORTATION, DIST   126 E ASH STREET SPRINGFIELD IL 62704
2
ILLINOIS ENVIRONMENTAL PROTECTION        FISCAL SERVICES 2, PO BOX 19276 SPRINGFIELD IL 62794
AGENCY
ILLINOIS ENVIRONMENTAL PROTECTION        FISCAL SERVICES 2, PO BOX 19276 SPRINGFIELD IL 62794-9276
AGENCY
ILLINOIS MATERIAL HANDLING               D/B/A: WOLTER INC KENSAR EQUIPMENT COMPANY, 2588 SOLUTIONS CENTER CHICAGO IL
                                         60677


Epiq Corporate Restructuring, LLC                                                                     Page 908 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 917 of 2156

Claim Name                             Address Information
ILLINOIS MATERIAL HANDLING             D/B/A: WOLTER INC 2588 SOLUTIONS CENTER CHICAGO IL 60677-2055
ILLINOIS MECHANICAL SERVICE & DESIGN   PO BOX 10494 PEORIA IL 61612
INC
ILLINOIS SECRETARY OF STATE            501 S 2ND STREET SPRINGFIELD IL 62756
ILLINOIS SECRETARY OF STATE            501 SOUTH 2ND STREET, 300 HOWLETT BLDG. SPRINGFIELD IL 62756
ILLINOIS SECRETARY OF STATE            501 W 2ND ST, 300 HOWLETT BLDG SPRINGFIELD IL 62756
ILLINOIS SECRETARY OF STATE            DEPT OF BUSINESS SERVICES, 501 S 2ND ST ROOM 350 SPRINGFIELD IL 62756
ILLINOIS SELF-INSURERS ADMIN FUND      4500 S. SIXTH ST. FRONTAGE ROAD SPRINGFIELD IL 62703
ILLINOIS STATE FIRE MARSHALL           DIVISION OF FIRE PREVENTION, 555 W MONROE ST SUITE 1300-N CHICAGO IL 60661
ILLINOIS STATE TOLLHIGHWAY AUTHORITY   2700 OGDEN AVE DOWNERS GROVE IL 60515-1703
ILLINOIS STATE TREASURERS OFFICE       UNCLAIMED PROPERTY DIVISION P.O. BOX 19496 SPRINGFIELD IL 62794
ILLINOIS STATE TREASURERS OFFICE       UNCLAIMED PROPERTY DIVISION P.O. BOX 19496 SPRINGFIELD IL 62794-9496
ILLINOIS TRANSPORT GROUP INC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ILLINOIS TRUCKING ASSOCIATION INC      2250 S CHICAGO STREET SUITE 201 JOLIET IL 60436
ILLINOIS VALLEY TOWING                 1511 W LINCOLN AVE PEORIA IL 61605
ILLINOIS VALLEY TOWING                 1541 W LINCOLN AVE PEORIA IL 61605
ILLINOIS WORKERS COMPENSATION COMM     ATTN: FISCAL DEPARTMENT, 100 W RANDOLPH STE 8-329 CHICAGO IL 60601
ILLINOIS WORKERS COMPENSATION COMM     FISCAL OFFICE, 100 W RANDOLPH ST STE 8-200 CHICAGO IL 60601
ILLINOIS WORKERS COMPENSATION COMM     ATTN: FISCAL DEPARTMENT, 69 W WASHINGTON ST SUITE 900 CHICAGO IL 60602
ILLINOIS WORKERS COMPENSATION COMM     OFFICE OF SELF INSURANCE, 400 S 9TH ST STE 106 SPRINGFIELD IL 62701
ILLUMINATI COSMETICS                   595 PARK AVE, STE 300 SAN JOSE 95110
ILMO PRODUCTS COMPANY                  PO BOX 6007 DECATUR IL 62524
ILOAD EXPRESS LLC                      OR INTEGRA FUNDING SOLUTIONS 6300 RIDGLEA PL, STE 1101 FORTH WORTH TX 76116
ILOAD TRUCKING LTD                     5308 E GREEN ALDER WAY, 0 REGINA SK S4V 3M7 CANADA
ILOCA SERVICES, INC.                   9S104 FRONTENAC STREET AURORA IL 60504
ILOCA SERVICES, INC.                   PO BOX 773395 CHICAGO IL 60677
ILS INC.                               18618 S. FERRIS PL RANCHO DOMINGUEZ CA 90220
ILYAS A GEELE                          ADDRESS ON FILE
IM TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IM, ANDREW                             ADDRESS ON FILE
IMAGE FIRST                            1838 NEW BRITAIN AVE. FARMINGTON CT 06032
IMAGE FLOORING, LLC                    1325 N WARSON RD ST LOUIS MO 63132
IMAGE IV SYSTEMS, INC.                 512 S VARNEY ST BURBANK CA 91502
IMAGE LOGISTICS CORPORATION            4323 SWAN DRIVE VALDOSTA GA 31602
IMAGE TRANSPORTATION SERVICES INC.     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
IMAGING CENTER                         22647 VENTURA BLVD. STE. 661 WOODLAND HILLS CA 91364
IMAGING CONCEPTS LLC                   3785 S 500 W SALT LAKE CITY UT 84115
IMAGININGS 3 SOURCE ALLIANCE           ATTN: NADIA NUNEZ 2023 W CARROLL AVE STE C205 CHICAGO IL 60612
IMAN LOGISTICS INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
IMAN LOGISTICS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
IMAN LOGISTICS LLC (MC1332695)         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
IMAN TRANS LLC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
IMAN TRANSPORT LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IMAN TRANSPORTATION LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
IMAN TRUCKING LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IMAN TRUCKING LLC (MC1072031)          525 E LASALLE AVE BARRON WI 54812-1912
IMAN TRUCKING LLC (MC1072031)          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
IMAXX GROUP INC                        OR TRUCKERS EMPIRE INC 228 MAIN ST, STE 70091 STATEN ISLAND NY 10307
IMB TRUCKING, INCORPORATED             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                                   Page 909 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 918 of 2156

Claim Name                             Address Information
IMC INSULATION MATERIALS CORP.         2941 DUTTON MILL ROAD ASTON PA 19014
IMCO TRAILERS                          4565 E 7TH AVE COMMERCE CITY CO 80022
IME LOGISTICS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IMEGA LOGISTICS                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IMELDA TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
IMER EXPRESS INC                       17W544 SUTTON PL DARIEN IL 60561
IMF TRANSPORTATION LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
IMG LOGISTICS INC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
IMG TRANSPORT INC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
IMG TRUCKING INC                       1051 N GARFFIELD ST LOMBARD IL 60148
IMG TRUCKING INC                       2001 CORNELL AVE MELROSE PARK IL 60160
IMG, TRUCK LLC.                        1757 VERMONT DR ELK GROVE VILLAGE IL 60007
IMHOFF, RALPH                          ADDRESS ON FILE
IMI TRANSPORTATION INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
IMLER, NATHAN                          ADDRESS ON FILE
IMMANUEL REALTY                        1400 WILLOW UNIT 1801-1802 LOUISVILLE KY 40204
IMMANUEL TRINITY LOGISTICS LLC         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
IMMEDIATE FAMILY MEDICAL CARE          PO BOX 511519 LOS ANGELES CA 90051
IMMER, MARK                            ADDRESS ON FILE
IMMER, MARK C                          ADDRESS ON FILE
IMOMIO, MARCUS                         ADDRESS ON FILE
IMOVE FREIGHT LOGISTICS LLC            2740 HUNTINGTON SPRINGS DR ROCKINGHAM VA 22801
IMPACT COLLISION                       11645 N. DESERT VISTA FOUNTAIN HILLS AZ 85268
IMPACT DIVERSITY EXPRESS CORPORATION   10115 WEST VAN BUREN SUITE C6 TOLLESON AZ 85353
IMPACT FIRE                            26 HAMPSHIRE DRIVE HUDSON NH 03051
IMPACT FIRE                            552 AVENUE D SUITE 20 WILLISTON VT 05495
IMPACT FIRE SERVICES                   PO BOX 735063 DALLAS TX 75373
IMPACT FIRE SERVICES                   1 CHISOLM TRAIL ROAD SUITE 330 ROUND ROCK TX 78681
IMPACT PRODUCTS                        ATTN: DONNA HAMILTON 1759 SHERIDAN ST RICHMOND IN 47374
IMPACT RECOVERY SYSTEMS                4955 STOUT DR SAN ANTONIO TX 78219
IMPACT WATER PRODUCTS                  2101 E FRANCIS ST ONTARIO CA 91761
IMPALA LOGISTICS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
IMPALA XP INC                          OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
IMPEL TRANSPORT INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
IMPERATO, MARK                         ADDRESS ON FILE
IMPERIAL                               1128 SHEARBORN ST. CORONA CA 92879
IMPERIAL EAGLE EXPRESS, INC.           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
IMPERIAL IRRIGATION DISTRICT           333 E. BARIONI BLVD. IMPERIAL CA 92251
IMPERIAL LOGISTICS INC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
IMPERIAL LOGISTICS INC                 601 VALLEY AVE NE, SUITE L PUYALLUP WA 98372
IMPERIAL LOGISTICS LLC                 OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
IMPERIAL OIL LIMITED                   PO BOX 1700 DON MILLS ON M3C 4J4 CANADA
IMPERIAL ONE INC                       304 JESSIE MARIE LN SAINT PETERS MO 63376
IMPERIAL ROUTE TRANSPORT, INC.         OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
IMPERIAL SUPPLIES LLC                  PO BOX 5362 JANESVILLE WI 53547
IMPERIAL SUPPLIES LLC                  PO BOX 5362 JANESVILLE WI 53547-5362
IMPERIAL SUPPLIES LLC                  PO BOX 11008 GREEN BAY WI 54307
IMPERIAL TRUCK CENTER                  397 E EVAN HEWES HWY EL CENTRO CA 92243
IMPERIAL TRUCK LINES INC               1123 EAGLE RIDGE DR EL PASO TX 79912



Epiq Corporate Restructuring, LLC                                                                   Page 910 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 919 of 2156

Claim Name                            Address Information
IMPERIAL WINDOW AND DOOR INC          380 S MAIN CEDAR CITY UT 84720
IMPERIO LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
IMPERIO TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IMPERIUM LOGISTICS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IMPERO WINE DISTRIBUTORS SAN D        ATTN: ANDREA DANGIO 8680 MIRALANI DR STE 124 SAN DIEGO CA 92126
IMPORT & EXPORT BROKER LLC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
IMPORT SERVICES, LLC                  878 ELM STREET PERRYSBURG OH 43551
IMPSON, CLEVE                         ADDRESS ON FILE
IMRAN INC                             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
IMRIE DEMOLITION                      65 HIGGINS AVE WINNIPEG MB R3B 0A9 CANADA
IMS LINE LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
IMS TRANSPORT, LLC                    OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
IMSCO - ALBUQUERQUE NM                PO BOX 540757 DALLAS TX 75354
IMT TRANSPORT                         PO BOX 38 GARNER IA 50438
IMUSA USA                             6000 NW 97TH AVE STE 26 MIAMI FL 33178
IMV GROUP INC                         OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
IN & OUT DELIVERIES LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IN AND OUT EXPRESS CARE               838A OLD GEORGE WASHINGTON HWY CHESAPEAKE VA 23323
IN DOT                                100 N SENATE AVENUEM INDIANAPOLIS IN 46204
IN DOT                                100 N SENATE AVENUEM 46204 2249
IN HOT WATER TRANSPORT                431 LINDY WAY TOOELE UT 84074
IN ROUTE TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IN THE DITCH TOWING                   ATTN: STACEY CHARLES 2915 INDUSTRIAL WAY MOUNTAIN HOME ID 83647
IN TIME LLC                           OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
IN TIME TRANSPORT CORP                OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
IN TOLL BOOTH                         3200 CASSOPOLIS ST ELKHEART 46514
IN TRANSIT FREIGHT, LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IN-COM DATA SYSTEMS                   1810 CHEYENNE DR RICHARDSON TX 75080
IN-HOUSE PRODUCTIONS                  6620 W ARBY AVE LAS VEGAS NV 89118-4663
IN-PLACE                              3811 N. HOLTON ST MILWAUKEE WI 53208
INA LOGISTICS LLC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
INA XPRESS LLC                        OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
INABNIT, BENJAMIN                     ADDRESS ON FILE
INB TRANSPORTATION INC                9415 SUNSTONE DR WEST CHESTER OH 45241
INBOSTON LLC                          ATTN: JON JOO 73 DEWEY ST GARFIELD NJ 07026
INCE MOTOR FREIGHT                    7202 NORTHERN BLVD EAST SYRACUSE NY 13057
INCE, JONATHAN                        ADDRESS ON FILE
INCE, KIRBY                           ADDRESS ON FILE
INCH, HARRY                           ADDRESS ON FILE
INCOMING TRANSPORT LLC                OR LOVES SOLUTIONS DBA VERO BUSINESS CAPITAL PO BOX 639565 CINCINNATI OH 45263
INCSTORES LLC                         ATTN: OPERATIONS OPERATIONS 11201 N TATUM BLVD PHOENIX AZ 85028
INCSTORES LLC                         2045 S VINEYARD AVE STE 118 MESA AZ 85210
IND EXPRESS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IND TRANSPORT LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
IND. HEATING MELTING                  1745 OVERLAND AVE. NE WARREN OH 44483
INDE TRANSPORTATION INC               3612 WILLOW LANE SOUTH MILWAUKEE WI 53172
INDEED, INC.                          MAIL CODE 5160, P.O. BOX 660367 DALLAS TX 75266
INDEMNITY INS. CO. OF NORTH AMERICA   A/S/O PERRIGO COMPANY ATTN: GENERAL COUNSEL 1601 CHESTNUT STREET PHILADELPHIA
                                      PA 19192



Epiq Corporate Restructuring, LLC                                                                  Page 911 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 920 of 2156

Claim Name                              Address Information
INDEPENDENCE TRUCK REPAIR LLC          PO BOX 300274 WATERFORD MI 48330
INDEPENDENCE TRUCK REPAIR LLC          PO BOX 300274 WATERFORD MI 48330-0274
INDEPENDENCE TRUCKING LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
INDEPENDENT AIR CONDITIONING INC       3424 E 7TH AVE TAMPA FL 33605
INDEPENDENT CONSTRUCTION COMPANY       2163 WHITE LANE STOCKTON CA 95215
INDEPENDENT CONSTRUCTION MANAGEMENT INC 15 PERCIVAL DR EMERALD PARK SK S4L 1B7 CANADA
INDEPENDENT DAIRY                      COMMODITIES INC, 1201 CENTRE ST STE 2 EASTON PA 18042
INDEPENDENT ELECTRIC 74                DIVISION OF SONEPAR, 777 E MACARTHUR CIR TUCSON AZ 85714
INDEPENDENT ELECTRIC SUPPLY            698 N LAVERNE AVE FRESNO CA 93727
INDEPENDENT ELECTRIC SUPPLY            1575 BURKE AVE SAN FRANCISCO CA 94124
INDEPENDENT ELECTRIC SUPPLY            446 S ABBOTT AVE MILPITAS CA 95035
INDEPENDENT EQUIPMENT REPAIR           1182 TOPSIDE RD LOUISVILLE TN 37777
INDEPENDENT FIRE AND SAFETY COMPANY    PO BOX 22723 BAKERSFIELD CA 93390
INDEPENDENT OVERHEAD DOOR CO INC       176 US HIGHWAY 206 HILLSBOROUGH NJ 08844
INDEPENDENT PET SUPPLY                 20124 BROADWAY AVE STE B101 SNOHOMISH WA 98296
INDEPENDENT PLASTICS INC               ATTN: ROB FROST 3060 S COMMERCE DR NEW CASTLE IN 47362
INDEPENDENT PUMPING                    D/B/A: INDEPENDENT PUMPING GROUP INC 7056 ARCHIBALD AVE, SUITE 102-277 CORONA
                                       CA 92880
INDEPENDENT PUMPING GROUP INC          7056 ARCHIBALD AVE, SUITE 102-277 CORONA CA 92880
INDEPENDENT RADIATOR SERVICE           1701 ASPEN AVE NW BLDG W ALBUQUERQUE NM 87104
INDEPENDENT TRUCK SERVICE              481 HARTFORD TPKE SHREWSBURY MA 01545
INDEPENDENT UTILITY SUPPLY             200 E LARCH RD TRACY CA 95304
INDHO TRANSPORTATION LLC               OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
INDHO TRUCKING LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
INDIA ON WHEELS LLC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
INDIA TRANSPORT INC                    525 LAKE MEDLOCK DRIVE ALPHARETTA GA 30022
INDIAN CREEK EXPRESS, LLC              OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
INDIANA ALCOHOL & TOBACCO COMM         302 W WASHINGTON RM E114 INDIANAPOLIS IN 46204
INDIANA ATTORNEY GENERALS OFFICE       DIVISION OF UNCLAIMED PROPERTY, 35 SOUTH PARK BLVD GREENWOOD IN 46143
INDIANA CAST STONE                     650 W. MARKET ST. SPENCER IN 47460
INDIANA CONFERENCE OF TEAMSTERS        SAFETY TRAINING & EDUCATIONAL TRUST FUND 2829 MADISON AVE INDIANAPOLIS IN
                                       46225
INDIANA DEPARTMENT OF REVENUE          PO BOX 1028 INDIANAPOLIS IN 46206
INDIANA DEPARTMENT OF REVENUE          PO BOX 6032 INDIANAPOLIS IN 46206
INDIANA DEPARTMENT OF REVENUE          PO BOX 7218 INDIANAPOLIS IN 46207
INDIANA DEPARTMENT OF REVENUE          MOTOR CARRIER SERVICES DIV, 7811 MILLHOUSE RD SUITE M INDIANAPOLIS IN 46241
INDIANA DEPARTMENT OF REVENUE          MOTOR VEHICLES SERVICES 7811 MILLHOUSE RD INDIANAPOLIS IN 46241-9612
INDIANA DEPT OF ENVIRONMENTAL          PO BOX 3295 INDIANAPOLIS IN 46206
MANAGEMENT
INDIANA DEPT OF ENVIRONMENTAL          PO BOX 3295 INDIANAPOLIS IN 46206-3295
MANAGEMENT
INDIANA FURNITURE                      ATTN: JARED SCHEU 1095 W 100 S JASPER IN 47546
INDIANA FURNITURE                      PO BOX 270 JASPER IN 47547
INDIANA MICHIGAN POWER                 110 E WAYNE ST FORT WAYNE IN 46802
INDIANA MOTOR TRUCK ASSN               DEPT 78738 PO BOX 78000 DETROIT MI 48278
INDIANA OXYGEN CO.                     P.O. BOX 78588 INDIANAPOLIS IN 46278
INDIANA RAILROAD                       ATTN: SHERRI WILSON 8864 N 1380 W JASONVILLE IN 47438
INDIANA STATE DEPARTMENT OF REVENUE    ONE NATIONAL CITY CENTER INDIANAPOLIS IN 46206
INDIANA TEAMSTERS SAFETY               TRAINING & EDUCATIONAL, TRUST FUND INDIANAPOLIS IN 46225
INDIANA TEAMSTERS SAFETY TRAINING      AND EDUCATIONAL TRUST, 1233 SHELBY ST INDIANAPOLIS IN 46203


Epiq Corporate Restructuring, LLC                                                                  Page 912 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 921 of 2156

Claim Name                               Address Information
INDIANA WORKERS COMPENSATION BOARD       402 W WASHINGTON ST W196 INDIANAPOLIS IN 46204
INDIGO TRANSPORT LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
INDOCAN LOGISTICS INC                    OR V4U LOGISTICS INC, 27 HANSEN RD BRAMPTON ON L6W 3H7 CANADA
INDOMA INC                               OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
INDOOR BILLBOARD/NORTHWEST, INC.         PO BOX 17555 PORTLAND OR 97217
INDORE TRANSPORT INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
INDOT                                    ATTN: AGENT CASHIER 100 N SENATE AVE IGCN 749 INDIANAPOLIS IN 46204
INDUSTRIAL CHEM LABS                     55 BROOK AVE SUITE G DEER PARK NY 11729
INDUSTRIAL CHEMICAL CORP.                885 WEST SMITH ROAD MEDINA OH 44256
INDUSTRIAL COMMISSION ARIZONA            ATTN TAX ACCOUNTANT 800 W WASHINGTON ST STE 301 PHOENIX AZ 85007
INDUSTRIAL COMMUNICATIONS                1019 E EUCLID AVE SAN ANTONIO TX 78212
INDUSTRIAL COMMUNICATIONS SALES, INC     1100 N CARPENTER RD MODESTO CA 95351
INDUSTRIAL ELECTRIC MOTOR                3779 N 3400 E KIMBERLY ID 83341
INDUSTRIAL EQUIPMENT & SPECIALTIES       219 E MALLORY AVE MEMPHIS TN 38109
INDUSTRIAL EQUIPMENT & SPECIALTIES       PO. BOX 840602 DALLAS TX 75284
INDUSTRIAL FAIRWAY SUPPLY                ATTN: DAN PEDERSON 1106 38TH ST NW FARGO ND 58102
INDUSTRIAL FENCE & LANDSCAPING           12030 PLEASANT STREET DETROIT MI 48217
INDUSTRIAL FINISHES & SYST R             PO BOX 2824 EUGENE OR 97402
INDUSTRIAL FINISHES & SYSTEMS, INC.      PO BOX 2824 EUGENE OR 97402
INDUSTRIAL HANDLING EQUIPMENT INC        846 S STANFORD WAY, PO BOX 191 SPARKS NV 89431
INDUSTRIAL HORSEPOWER PLUS, INC.         PO BOX 845 VERNAL UT 84078
INDUSTRIAL HYDRAULICS, INC.              1005 WESTERN DR INDIANAPOLIS IN 46241
INDUSTRIAL MED TESTING, INC.             220 TOM MILLER ROAD PLATTSBURGH NY 12901
INDUSTRIAL PLASTICS                      ATTN: TOM 14025 NW 58TH CT MIAMI LAKES FL 33014
INDUSTRIAL RADIATOR SERVICES, INC.       4954 PARA DR. CINCINNATI OH 45237
INDUSTRIAL SCALE LTD                     445 MAXWELL CRES REGINA SK S4N 5X9 CANADA
INDUSTRIAL SERVICE COMPONENTS, INC.      P.O. BOX 363 BATTLE GROUND WA 98604
INDUSTRIAL SERVICE COMPONENTS, INC.      PO BOX 363 VANCOUVER WA 98682
INDUSTRIAL SERVICE SOLUTIONS             10687 NW 123RD STREET RD DORAL FL 33178
INDUSTRIAL SOURCE NATIONAL FIRE          PO BOX 7577 SPRINGFIELD OR 97475
FIGHTER&
INDUSTRIAL SUPPLY                        1704 WEST 2550 SOUTH OGDEN UT 84401
INDUSTRIAL TRANSPORT SERVICES, LLC       PO BOX 608 MT VERNON IN 47620
INDUSTRIAL TRANSPORTATION CONSULTANTS    PO BOX 1319 DOUGLASVILLE GA 30133
INDUSTRIAL TRUCK SERVICE LTD             89 DURAND RD WINNIPEG MB R2J 3T1 CANADA
INDUSTRIAL TRUCK SERVICE LTD             822 43RD ST SASKATOON SK S7K 3V1 CANADA
INDUSTRIAL TRUCK SERVICES, INC.          27759 INDUSTRIAL BLVD HAYWARD CA 94545
INDUSTRIAL WASTE SERVICE INC.            960 EGYPT ROAD CAMDEN SC 29020
INDUSTRIAL WELDING AND FABRICATION INC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INDUSTRIAL WELDING SERVICE               PO BOX 22053 OKLAHOMA CITY OK 73123
INDUSTRIOUS TRUCKING COMPANY LLC         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
INDY CARGO LLC                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INDY LOGISTICS INC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
INDY ROADWAYS GROUP INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
INDY STAR TRANSPORT INC                  OR ASSIST FINANCIAL SERVICES, PO BOX 347 MADISON SD 57042
INDYS FINEST FENCE                       7009 W THOMPSON RD INDIANAPOLIS IN 46241
INEFFABLE LOGISTICS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
INEOS COMPOSITES US LLC                  5220 BLAZER PARKWAY DUBLIN OH 43017
INEXPRESS INC                            LEE GILMORE, 10619 S JORDAN GTWY RIVERTON UT 84095



Epiq Corporate Restructuring, LLC                                                                     Page 913 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 922 of 2156

Claim Name                           Address Information
INFALLIBLE LOGISTICS LLC             OR SAIL ON FINANCIAL, LLC, P O BOX 418 DAWSONVILLE GA 30534
INFAMOUS TRANSPORT                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
INFINIT FREIGHT LLC                  OR TRIUMPH BUSINESS CAPITAL P O BOX 610028 DALLAS TX 75261
INFINITE EXPRESS LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
INFINITE LEGACY ENTERPRISE           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
INFINITE LOGISTICS                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
INFINITE LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
INFINITE PROGRESS TRUCKING INC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INFINITE ROUTE LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INFINITE SERVICES INC                OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
INFINITE TRANSPORTATION LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
INFINITI FREIGHT LOGISTICS           OR ORANGE COMMERICAL CREDIT PO BOX 11099 OLYMPIA WA 98508
INFINITI LANEZ LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
INFINITY                             21707 NORTHERN BLVD. QUEENS NY 11361
INFINITY 2 TRANSPORTATION LLC        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
INFINITY BROWN LAWN LLC              1807 DUBOURG AVE LOUISVILLE KY 40216
INFINITY CARRIERS INC                7812 NE 217TH AVE VANCOUVER WA 98682
INFINITY ELECTRICAL                  PO BOX 2575 WHITE CITY OR 97503
INFINITY EXPRESS LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
INFINITY LINE LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
INFINITY LINES INC                   OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
INFINITY LINES LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
INFINITY RELIABLE TRANSPORT LLC      OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
INFINITY TRUCKING AND MORE LLC       OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
INFINITY TRUCKING LLC (MC1300698)    110 JEFFERSON LN E HARTFORD CT 06118-2109
INFINITY TRUCKING LLC (MC1300698)    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
INFINITY WAY TRANSPORT LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
INFO TECH TRANS INC                  OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
INFO TECH TRANS INC                  17701 108TH AVE SE BOX NO 536 RENTON WA 98055
INFOARMOR INC                        DEPT 3189, PO BOX 123189 DALLAS TX 75312
INFOARMOR INC                        7001 N SCOTTSDALE RD STE 2020 SCOTTSDALE AZ 85253
INFOCOM USA LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
INFOIMPEX INC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
INFORMX TECHNOLOGIES, LLC            ATTN CHRIS GOTCH, 452 E SIVERADO RANCH BLVD BOX 355 LAS VEGAS NV 89183
INFOSAT COMMUNICATIONS LP            302-809 MANNING RD NE CALGARY T2E 7M9 CANADA
INFOSTRETCH CORPORATION              3200 PATRICK HENRY DR STE 250 SANTA CLARA CA 95054
INGALSBE, WAYNE                      ADDRESS ON FILE
INGE, STEVEN                         ADDRESS ON FILE
INGEBRETSEN, THOMAS                  ADDRESS ON FILE
INGENIOUS LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INGENIUM                             480 ALDO AVE SANTA CLARA CA 95054
INGERSOLL RAND                       CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
INGERSOLL RAND COMPANY               PO BOX 7415768 CHICAGO IL 60674
INGERSOLL RAND COMPANY               15768 COLLECTION CTR DR CHICAGO IL 60693
INGERSOLL RAND COMPANY               INDUSTRIAL TECHNOLOGIES, 15768 COLLECTIONS CENTER DR CHICAGO IL 60693
INGERSOLL, MERLE                     ADDRESS ON FILE
INGLE, ANTHONY                       ADDRESS ON FILE
INGLE, BENJAMIN                      ADDRESS ON FILE
INGLE, MICHAEL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 914 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 923 of 2156

Claim Name                            Address Information
INGLESE, BRUCE                        ADDRESS ON FILE
INGRAHAM, RICK                        ADDRESS ON FILE
INGRAM MICRO FREIGHT CLAIMS DEPARTM   1759 WEHRLE DRIVE WILLIAMSVILLE NY 14221
INGRAM, ANTONIO                       ADDRESS ON FILE
INGRAM, BENNIE                        ADDRESS ON FILE
INGRAM, BRAD                          ADDRESS ON FILE
INGRAM, BRETT                         ADDRESS ON FILE
INGRAM, CAMERON                       ADDRESS ON FILE
INGRAM, CHRISTOPHER                   ADDRESS ON FILE
INGRAM, CHRISTOPHER                   ADDRESS ON FILE
INGRAM, DON                           ADDRESS ON FILE
INGRAM, JAVONIE                       ADDRESS ON FILE
INGRAM, KEITH                         ADDRESS ON FILE
INGRAM, LAFAYETTE                     ADDRESS ON FILE
INGRAM, LARRY                         ADDRESS ON FILE
INGRAM, LATICIA                       ADDRESS ON FILE
INGRAM, LEMAR                         ADDRESS ON FILE
INGRAM, PATRICK                       ADDRESS ON FILE
INGRAM, ROSS                          ADDRESS ON FILE
INGRAM, SARAH                         ADDRESS ON FILE
INGRAM, SHANE                         ADDRESS ON FILE
INGRAM, TAELOR                        ADDRESS ON FILE
INGRAM, THOMAS                        ADDRESS ON FILE
INGRAM, WILLIAM                       ADDRESS ON FILE
INGRAM-RIGGS, VANTRELL                ADDRESS ON FILE
INGRID TRANSPORT INC                  OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
INGVALDSON, PATRICK                   ADDRESS ON FILE
INHAND TRANSPORTATION INC             479 BYRON BLVD WASHINGTON TWP OH 45458
INIGUEZ, MARTIN                       ADDRESS ON FILE
INJI TRANSPORTATION LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
INKMANN, NICHOLAS                     ADDRESS ON FILE
INLAND EXPRESS                        406 LAWNDALE DR SOUTH SALT LAKE UT 84115
INLAND GLASS                          441 MCPHILLIPES STREET WINNIPEG MB R2X 2Z8 CANADA
INLAND KENWORTH                       26770 GLOUCESTER WAY, 2ND FL LANGLEY BC V4W 3V6 CANADA
INLAND KENWORTH                       5550 GORING ST BURNABY BC V5B 3A4 CANADA
INLAND KENWORTH                       INLAND KENWORTH PARTNERSHIP C/O VX5327C PO BOX 7727 VANCOUVER BC V6B 4E2
                                      CANADA
INLAND KENWORTH                       ATTN: CECILIA GONZALEZ 1600 WASHINGTON BLVD MONTEBELLO CA 90640
INLAND KENWORTH                       500 N JOHNSON AVE EL CAJON CA 92020
INLAND KENWORTH (US) INC.             PO BOX 208756 DALLAS TX 75320
INLAND KENWORTH (US) INC.             9730 CHERRY AVE FONTANA CA 92335
INLAND KENWORTH FONTANA               ATTN: AUSTIN MCANINCH 9730 CHERRY AVE FONTANA CA 92335
INLAND KENWORTH INC                   8314 W ROOSEVELT ST TOLLESON AZ 85353
INLAND KENWORTH PARTNERSHIP           C/O VX5327C PO BOX 7727 VANCOUVER BC V6B 4E2 CANADA
INLAND KENWORTH-FARMINGTON            3924 BLOOMFIELD HWY FARMINGTON NM 87401
INLAND PACIFIC HOSE & FITTINGS        4110 E. TRENT AVE SPOKANE WA 99202
INLAND STAR DISTRIBUTION CNTR         PO BOX 2396 FRESNO CA 93745
INLAND TRANSPORT INTERNATIONAL        PO BOX 92946 LONG BEACH CA 90809
INLAND TRANSPORT LLC                  1218 E BLACKHAWK DR SPOKANE WA 99208



Epiq Corporate Restructuring, LLC                                                                 Page 915 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 924 of 2156

Claim Name                               Address Information
INLAND TRUCK PARTS & SERVICE             3609 PARIS RD COLUMBIA MO 65202
INLAND TRUCK PARTS & SERVICE             8801 N.E. PARVIN RD KANSAS CITY MO 64161
INLAND TRUCK PARTS & SERVICE             P.O. BOX 2486 SCOTTSBLUFF NE 69361
INLAND TRUCK PARTS & SERVICE             4440 MARK DABLING BOULEVARD COLORADO SPRINGS CO 80907
INLAND TRUCK PARTS & SERVICE             PO BOX 3837 MISSOULA MT 59806
INLAND TRUCKING INC                      INLAND TRUCKING INC, 3210 FRIENDLY AVE ORLANDO FL 32808
INLINE ELECTRIC & CONTROLS INC           10787 PAW PAW DRIVE HOLLAND MI 49424
INLITE RESEARCH INC                      615 TEMPLETON CT SUNNYVALE CA 94087
INM EXPRESS LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INMAN, BRANDON                           ADDRESS ON FILE
INMAN, DAVID                             ADDRESS ON FILE
INMAN, FRANKIE                           ADDRESS ON FILE
INMAN, MATTHEW                           ADDRESS ON FILE
INMAN, PAUL                              ADDRESS ON FILE
INMARK                                   ATTN: ARIAL WATERS 675 HARTMAN RD STE 100 AUSTELL GA 30168
INMOD                                    SUITE 2N, 668 AMER LEGION DR TEANECK NJ 07666
INNES & SONS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INNES, MICHAEL                           ADDRESS ON FILE
INNFINITY LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
INNOCENT TRANSPORT LLC                   OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
INNOVAPAD                                PO BOX 95095 NEWTON MA 02495
INNOVATION TRANSPORTATION                43 ASH HILL AVENUE CALEDON EAST ON L7C 4E8 CANADA
INNOVATIVE C/O MGN LOGISTICS             ATTN: DONNA PABON 89 PROVIDENCE HWY E STE 1F WESTWOOD MA 02090
INNOVATIVE CLEANING SOLUTIONS            154 PATCHEN DR STE 90 LEXINGTON KY 40517
INNOVATIVE CLEANING SOLUTIONS            3175 CUSTER DR STE 101 LEXINGTON KY 40517
INNOVATIVE COMPANIES INC                 OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
INNOVATIVE CONCEPTS AND DESIGN           C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
INNOVATIVE ENGINEERING SOLUTIONS, INC.   37 PEARL STREET 1 BRAINTREE MA 02184
INNOVATIVE HEARTH PRODUCTS               1769 E LAWRENCE ST E RUSSELLVILLE AL 35654
INNOVATIVE LANDSCAPES                    68 WESTWOOD AVE DEER PARK NY 11729
INNOVATIVE MARINE                        ATTN: BRIAN HSIEH 16026 CARMENITA RD CERRITOS CA 90703
INNOVATIVE STAMPING                      2068 E GLADWICK ST COMPTON CA 90220
INNOVATIVE TRUCK LINES LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
INNOVATIVE WATER CARE LLC                1400 BLUEGRASS LAKES PKWY ALPHARETTA GA 30004
INNOVATIVE48 LLC                         OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
INNOVATORS TRUCK LINE                    OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
INOAR PROFESSIONAL C/O ECHO              ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
INOCENTE, DHERLYS                        ADDRESS ON FILE
INPAX SHIPPING SOLUTIONS INC             2444 FORREST PARK RD ATLANTA GA 30315
INPAX SHIPPING SOLUTIONS INC             OR GULF COAST BUSINESS CREDIT PO BOX 732148 DALLAS TX 75373-2148
INPRO TECHNOLOGIES INC                   DANIELLE REEVES, 5112 PEGASUS COURT SUITE Q FREDERICK MD 21704
INSIGHT CANADA INC                       PO BOX 15320 STATION A TORONTO ON M5W 1C1 CANADA
INSIGHT DIRECT USA, INC.                 PO BOX 731069 DALLAS TX 75373
INSIGHT LOGISTICS MANAGEMENT LLC         PO BOX 2437 CONWAY AR 72033
INSIGHT REBUS LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
INSIGHTSOFTWARE LLC                      PO BOX 200386 PITTSBURGH PA 15251
INSINC PROMOTIONS                        360 REVUS AVENUE UNIT 16 MISSISSAUGA ON L5G 4S4 CANADA
INSIXIENGMAY, DETPHASOUK                 ADDRESS ON FILE
INSIXIENGMAY, SAVANA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                     Page 916 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 925 of 2156

Claim Name                               Address Information
INSLEY-MCENTEE EQUIPMENT CO. INC         1112 EMERSON STREET ROCHESTER NY 14606
INSOMNIA 888 CORP                        OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
INSPARISK                                18-10 WHITESTONE EXPRESSWAY, 3RD FLOOR WHITESTONE NY 11357
INSPIRE TRANSPORT INC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
INSTAFREIGHT INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INSTALLATION SERVICES & DELIVERY INC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INSTALLATIONS BY GEMINI INC.             120 FREEMAN LANE MANORVILLE NY 11949
INSTANT SHIFT WORLDWIDE LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
INSTANT TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
INSTANT TRANSPORT LLC (MC1387980)        OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
INSTANT TRUCKING INC                     PO BOX 2016 BRIDGEVIEW IL 60455
INSTAWARES                               CTS FREIGHT PAYMENT PO BOX 441326 KENNESAW GA 30160
INSTAWARES C/O CTS                       1915 VAUGHN RD KENNESAW GA 30144
INSTI CO EXPRESS, LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
INSTITUTE FOR MANAGEMENT STUDIES, INC.   201 W LIBERTY ST STE 100 RENO NV 89501
INSTITUTE FOR MANAGEMENT STUDIES, INC.   241 RIDGE ST. STE 250 RENO NV 89501
INSTORE DESIGN DISPLAY                   105 W 26TH AVE NORTH KANSAS CITY MO 64116
INSTRUCTIONAL TECHNOLOGIES INCORPORATED 800 NE TENNEY RD, STE 110/203 VANCOUVER WA 98685
INSTRUCTIONAL TECHNOLOGIES INCORPORATED P.M.B 203, 800 N.E. TENNEY RD, STE 110 VANCOUVER WA 98685
INSULATION DISTRIBUTORS INC              1869 W RESEARCH WAY WEST VALLEY CITY UT 84119
INSURANCE DIVISION OF IOWA               1963 BELL AVENUE, SUITE 100 DES MOINES IA 50315
INT APP                                  PO BOX 207884 DALLAS TX 75320
INT APP                                  200 PORTAGE AVE PALO ALTO CA 94306
INTACT GROUP                             605 HIGHWAY 169 N PLYMOUTH MN 55441
INTACT LINES LLC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
INTACT TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INTAFOAM                                 320 PRAIRIE ROAD PLATTEVILLE WI 53818
INTASCO CORPORATION                      510 MCGREGOR AVE LONDON N6J 2S9 CANADA
INTC LLC                                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
INTEGRA FREIGHT MANAGEMENT INC           2004 L DON DODSON, STE 200 BEDFORD TX 76021
INTEGRA GROUP INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
INTEGRA TIRE (MORRIS)                    860 MAIN STREET SOUTH BOX 580 MORRIS MB R0G 1K0 CANADA
INTEGRAL EXPRESS INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
INTEGRATED DISTRIBUTION SVCS             9431 ALL POINT PPKWY PLAINFIELD IN 46168
INTEGRATED MAINT SOLUTIONS               12277 APPLE VALLEY RD 396 APPLE VALLEY CA 92308
INTEGRATED MAINT SOLUTIONS               15149 BOYLE AVE FONTANA CA 92337
INTEGRATED OPENINGSSOLUTIONS             ATTN: BRANDON GUYETTE 14901 W 117TH STREET OLATHE KS 66062-9307
INTEGRATED SECURITY SOLUTIONS            1710 WEST 2ND STREET HASTINGS NE 68901
INTEGRATED SECURITY TECHNOLOGIES LLC     1273 METROPOLITAN AVE. SE STE 17692 ATLANTA GA 30316
INTEGRATED SERVICES & CONSULTING, INC.   PMB 186 P.O. BOX 7891 GUAYNABO PR 00970
INTEGRATED SUPPLY NETWORK                2727 INTERSTATE DR LAKELAND FL 33805
INTEGRATED SUPPLY NETWORK                DATA2LOGISTICS, PO BOX 61050 FORT MYERS FL 33906
INTEGRATED SUPPORT SERV                  10926 DAVID TAYLOR DR 100 CHARLOTTE NC 28262
INTEGRATED SUPPORT SERVICES              10926 DAVID TAYLOR DR STE 100 CHARLOTTE NC 28262
INTEGRISERV CLEANING SYST LLC            PO BOX 499 TOLEDO OH 43697
INTEGRITY CARGO LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INTEGRITY COMPACTOR SERVICES LLC         3528 16TH AVE HUDSONVILLE MI 49426
INTEGRITY EXPRESS LOGISTICS LLC          62488 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
INTEGRITY FIRE SAFETY SERVICES           PO BOX 748568 ATLANTA GA 30374



Epiq Corporate Restructuring, LLC                                                                     Page 917 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 926 of 2156

Claim Name                               Address Information
INTEGRITY FIRE SAFETY SERVICES           2695 W 3RD AVE DENVER CO 80219
INTEGRITY FREIGHT SERVICES, INC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
INTEGRITY GROUP LLC                      OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
INTEGRITY LOGISTICS OF IOWA LLC          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
INTEGRITY MOTORS                         4650 EL CAMINO REAL ATASCADERO CA 93422
INTEGRITY TOWING INC.                    6516 RT 22 PLATTSBURGH NY 12901
INTEGRITY TRANS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
INTEGRITY TRANSPORTATION                 OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
INTEGRITY TRANSPORTATION LLC             OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
INTEGRITY TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INTEGRITY WHOLESALE FURNITURE            301 PORTLAND DRIVE VERMILION OH 44089
INTELLATRANS INC                         OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
INTELLIAS                                4215 BELTWOOD PARKWAY FARMERS BRANCH TX 75244
INTELLIGENT AUDIT                        365 W PASSAIC ST 455 ROCHELLE PARK NJ 07662
INTELLIGENT AUDIT                        365 W PASSAIC ST STE 455 ROCHELLE PARK NJ 07662
INTELLIGENT AUDIT                        C/O JOHNSON CONTROLS, 365 W PASSAIC 455 ROCHELLE PARK NJ 07662
INTELLIGENT SYSTEMS SERVICES INC         371 BALM CT WOOD DALE IL 60191
INTELLIGENT TRUCKING INC                 OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
INTELLIVATION                            C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
INTENSE FREIGHT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
INTEPLAST BUILDING PRODUCTS              ATTN: JEFF PAULUS CUSTOMER SERVICE - MOMB 2030 W BENDER RD GLENDALE WI 53209
INTEPLAST GROUP CORP                     5125 E MADISON ST PHOENIX AZ 85034
INTEPLAST GROUP-PITT PLASTICS            ATTN: ANN KELLER PO BOX 356 PITTSBURG KS 66762
INTER 24 LLC                             OR ARSENAL FUNDING LLC, PO BOX 150959 OGDEN UT 84415-0954
INTER EXPRESS INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INTER FREIGHT INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INTER GRAPHICS                           180 DEBAETS STREET WINNIPEG MB R2J 3W6 CANADA
INTER GROUP INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
INTER RAIL GROUP                         ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
INTER RAPID INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
INTER-CONTINENTAL GEAR & BRAKE USA       6431-A REAMES RD. CHARLOTTE NC 28216
INTER-CONTINENTAL GEAR & BRAKE USA       923 WHITAKER ROAD, SUITE F PLAINFIELD IN 46168
INTER-CONTINENTAL GEAR & BRAKE USA       1129 AVENUE R, UNIT 100 GRAND PRAIRIE TX 75050
INTER-CONTINENTAL GEAR & BRAKE USA       1326 WEST CARRIER PARKWAY GRAND PRAIRIE TX 75050
INTER-MOUNTAIN ENTERPRISES LLC           OR SMART FREIGHT FUNDING 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
INTER-PAVE                               1401 PITFIELD BOULEVARD SAINT-LAURENT QC H4S 1G3 CANADA
INTER-STATE OIL CO.                      8221 ALPINE AVE SACRAMENTO CA 95826
INTERACTIVE BROKERS (0534)               ATT KARIN MCCARTHY/PROXY DEPT 2 PICKWICK PLAZA, 2ND FL GREENWICH CT 06830
INTERACTIVE MEDIA GROUP INC              D/B/A: EYEMG - INTERACTIVE MEDIA GROUP 190 N UNION ST STE 300 AKRON OH 44304
INTERBORO PACKAGING                      114 BRACKEN RD MONTGOMERY NY 12549
INTERBORO PACKAGING CORP                 ATTN: BLIMY MERTZ 114 BRACKEN RD MONTGOMERY NY 12549
INTERBORO PACKAGING CORP.                ATTN: GENERAL COUNSEL 114 BRACKEN RD MONTGOMERY NY 12549
INTERBORO PACKAGING CORP.                C/O: CATANIA, MAHON & RIDER, PLLC ATTN: RICHARD M. MAHON 641 BROADWAY NEWBURGH
                                         NY 12550
INTERCEPT LOGISTICS, INC.                675 DOWD AVE ELIZABETH NJ 07201
INTERCEPT LOGISTICS, INC.                676 DOWD AVENUE ELIZABETH NJ 07201
INTERCITY TRUCK & TRAILER REPAIR, INC.   101 MENAUL NE ALBUQUERQUE NM 87107
INTERCON CARRIERS, L.C.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
INTERCONTINENTAL CARRIERS INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                     Page 918 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 927 of 2156

Claim Name                               Address Information
INTERCONTINENTAL HOLDING & SHIPPING LLC OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INTERDEL LOGISTICS                       ECHO GLOBAL STE 725, 600 W CHICAGO AVE CHICAGO IL 60654
INTERFLET TRANSPORT INC                  212 FLECHA LN LAREDO TX 78045
INTERFLETES-ESCOBEDO TRUCKING, LLC       OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
INTERGRATED SUPPLY NETWORK               2727 INTERSTATE DR LAKELAND FL 33805
INTERLINE                                701 SAN MARCO BLVD JACKSONVILLE FL 32207
INTERLINE BRANDS                         701 SAN MARCO BLVD JACKSONVILLE FL 32207
INTERLINK LOGISTICS PARTNERS LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INTERLINK TRANSPORTATION LLC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
INTERMETRO                               FREIGHTWISE 214 CENTERVIEW DR STE 100 BRENTWOOD TN 37027
INTERMODAL MAINTENANCE GROUP LLC         5444 W 73RD ST BEDFORD PARK IL 60638
INTERMODALL                              2472 CARROLLTON PIKE WOODLAWN VA 24381
INTERMOUNTAIN GAS COMPANY                555 S. COLE ROAD BOISE ID 83709
INTERMOUNTAIN LIFT TRUCK                 P.O. BOX 26893 SALT LAKE CITY UT 84126
INTERMOUNTAIN PIPE & THREADING           ATTN: TRACI YOUNG 3621 BELL CASPER WY 82604
INTERMOUNTAIN PLUMBING & MECHANICAL      PO BOX 31145 FLAGSTAFF AZ 86003
INTERMOUNTAIN RADIATOR INC               1612 S STATE ST SALT LAKE CITY UT 84115
INTERMOUNTAIN SWEEPER CO.                6972 AIRPORT RD WEST JORDAN UT 84084
INTERMOUNTAIN TIRE CENTER                PO BOX 180 WELLS NV 89835
INTERMOUNTAIN TRAILER SALES & SVC LLC    5510 W LAMPERT LANE WEST VALLEY CITY UT 84120
INTERMOUNTAIN TRAILER SALES & SVC LLC    PO BOX 702390 WEST VALLEY UT 84170
INTERMOUNTAIN WOOD PRODUCTS INC.         1948 S WEST TEMPLE SALT LAKE CITY UT 84115
INTERMOUNTAIN WORKMED                    PO BOX 30180 SALT LAKE CITY UT 84130
INTERNAL REVENUE SERVICE                 CENTRALIZED INSOLVENCY OPERATION P.O. BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                 PO BOX 12192 COVINGTON KY 41012
INTERNAL REVENUE SERVICE                 STOP 8420G PO BOX 145595 CINCINNATI OH 45250-9734
INTERNAL REVENUE SERVICE                 ATTN: EIN OPERATION CINCINNATI OH 45999
INTERNAL REVENUE SERVICE                 NO ADDRESS REQUIRED CINCINNATI OH 45999
INTERNATIONAL ASSOC OF MACHINISTS (IAM) ATTN: ROBERT MARTINEZ, JR., PRESIDENT 9000 MACHINISTS PLACE UPPER MARLBORO MD
                                        20772
INTERNATIONAL BROTHERHOOD OF TEAMSTERS   25 LOUISIAN AVE, N.W. WASHINGTON DC 20001
INTERNATIONAL BROTHERHOOD OF TEAMSTERS   25 LOUISIANA AVENUE N.W. WASHINGTON DC 20001
INTERNATIONAL BROTHERHOOD OF TEAMSTERS   ATTN: SEAN OBRIEN, GENERAL PRESIDENT AND JOHN MURPHY, FREIGHT DIRECTOR 25
                                         LOUISIANA AVE, N.W. WASHINGTON DC 20001
INTERNATIONAL BROTHERHOOD OF TEAMSTERS   C/O ZENITH AMERICAN SOLUTIONS PITTSBURGH 3 GATEWAY CTR 401 LIBERTY AVE STE
                                         1200 PITTSBURGH PA 15222
INTERNATIONAL CARRIER, INC.              OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
INTERNATIONAL CARRIER, INC.              4618 TRADD CIRCLE MONROE NC 28110
INTERNATIONAL CODE COUNCIL               CERTIFICATION RENEWALS, WEST REG OFFICE 3060 SATURN ST, STE 100 BREA CA 92821
INTERNATIONAL ENTERPRISE SOLUTIONS,      PO BOX 373361 DECATUR GA 30037
INC.
INTERNATIONAL FLATBED SERVICES INC.      OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
INTERNATIONAL FLEET SERVICES             7048 SMITH INDUSTRIAL DR AMHERSTBURG ON N0R 1J0 CANADA
INTERNATIONAL FLEET SERVICES             IFS TRUCK & TRAILER REPAIR, 5305 WALKER ROAD OLDCASTLE ON N0R 1L0 CANADA
INTERNATIONAL FOOD PACKAGING-            ATTN: MARIBEL LOPEZ 340 PORT ROAD 22 ( DOCK 105 STOCKTON CA 95203
INTERNATIONAL GRAPHICS ULC               505 DOURO ST STRATFORD ON N5A 3S9 CANADA
INTERNATIONAL INTEGRITY TRUCKING LLC     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
INTERNATIONAL MOULDING                   10708 VANOWEN ST NORTH HOLLYWOOD CA 91605
INTERNATIONAL SYSTEM TRANSPORT LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INTERNATIONAL TRANSPORT ASSOC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195


Epiq Corporate Restructuring, LLC                                                                     Page 919 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 928 of 2156

Claim Name                               Address Information
INTERNATIONAL TRUCK & ENGINE             PO BOX 844508 DALLAS TX 75284
INTERNATIONAL TRUCK & ENGINE             FLEET CHARGE, PO BOX 844508 DALLAS TX 75284-4315
INTERNATIONAL TRUCKING SERVICE GBM INC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INTERNATIONAL WINES AND CRAFT BEERS      ATTN: CRUZ 100 GILBERT DR ALABASTER AL 35007
INTERPLAST GROUP                         5125 E. MADISON ROAD PHOENIX AZ 85034
INTERPOINT TRANSPORT                     7740 PAINTER AVE STE 204 WHITTIER CA 90602
INTERPORT LOGISTICS                      12950 NW 25TH STREET MIAMI FL 33182
INTERROLL ENGINEERING WEST               ATTN: CHRIS ZELEZNIKAR 1 FORGE RD CANON CITY CO 81212
INTERSPORT LLC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
INTERSTATE 40 INC                        OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
INTERSTATE AC SERVICE, LLC               1877 AIR LANE DRIVE NASHVILLE TN 37210
INTERSTATE AUTO & TRUCK BODY LLC         1655 HIGHLAND RD TWINSBURG OH 44087
INTERSTATE BATTERIES OF GRAND RAPIDS     PO BOX 88024 GRAND RAPIDS MI 49518
INTERSTATE BATTERIES, INC.               894 S FRONT ST CENTRAL POINT OR 97502
INTERSTATE BATTERY                       ATTN: ANTHONY CELSI RUAN TRANSPORT PO BOX 9319 DES MOINES IA 50306
INTERSTATE BATTERY                       ATTN: LUKE PARKER RUAN TRANSPORT PO BOX 9319 DES MOINES IA 50306
INTERSTATE BATTERY                       ATTN: THEA BEARD RUAN TRANS PO BOX 9319 DES MOINES IA 50306
INTERSTATE BATTERY                       C/O THEA BEARD OF RUAN TRANSPORT PO BOX 9319 DES MOINES IA 50306
INTERSTATE BATTERY                       RUAN LOGISTICS BILLING, PO BOX 9319 DES MOINES IA 50306
INTERSTATE BUILDING MAINTENANCE CORP.    508 PRUDENTIAL ROAD, SUITE 100 HORSHAM PA 19044
INTERSTATE CARGO CARRIERS LLC            INTERSTATE CARGO CARRIERS LLC, 8 SANTA FE AVENUE OLD BRIDGE NJ 08857
INTERSTATE CARGO INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
INTERSTATE CARRIER LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
INTERSTATE CARRIERS INC                  OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
INTERSTATE DELAWARE & SOUTH INC          2460 N GRAHAM AVE INDIANAPOLIS IN 46218
INTERSTATE EMERGENCY SERVICES INC        171 TRANSPORT ST BEDFORD PA 15522
INTERSTATE FLEET SERVICES                PO BOX 807 HORSHAM PA 19044
INTERSTATE FREIGHT AUDITING CO           108 REID WAY WHITE HOUSE TN 37188
INTERSTATE FREIGHT CARRIERS LLC          OR COMMERCIAL FUNDING INC, PO BOX 207527 DALLAS TX 75320-7527
INTERSTATE FREIGHTS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
INTERSTATE GROUP INC                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
INTERSTATE HAULERS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
INTERSTATE INSPECTIONS                   20 BLUEBERRY LANE SOUTH GLASTONBURY CT 06073
INTERSTATE K.A.M.P LOGISTICS             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INTERSTATE LOGIC INC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
INTERSTATE MECHANICAL SERVICE LLC        P.O. BOX 52788 KNOXVILLE TN 37950
INTERSTATE MOTOR CARRIER                 OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                         CANADA
INTERSTATE ONE EXPRESS LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
INTERSTATE ONE INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
INTERSTATE PLASTICS                      PO BOX 398 POST FALLS ID 83877
INTERSTATE POWER SYSTEMS                 600 INDUSTRIAL PARK DRIVE IRON MOUNTAIN MI 49801
INTERSTATE POWER SYSTEMS                 NW 7244, PO BOX 1450 MINNEAPOLIS MN 55485
INTERSTATE POWER SYSTEMS                 NW 7244, PO BOX 1450 MINNEAPOLIS MN 55485-7244
INTERSTATE POWER SYSTEMS                 3902 12TH AVE N FARGO ND 58102
INTERSTATE POWER SYSTEMS                 10143 S 136TH ST OMAHA NE 68138
INTERSTATE ROADWAYS CORP                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
INTERSTATE TOWING & RECOVERY             8324 W I-40 SERVICE RD OKLAHOMA CITY OK 73128
INTERSTATE TOWING & TRANSPORT            P.O. BOX 067231 NORTHFIELD OH 44067



Epiq Corporate Restructuring, LLC                                                                     Page 920 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 929 of 2156

Claim Name                               Address Information
SPECIALIST                               P.O. BOX 067231 NORTHFIELD OH 44067
INTERSTATE TOWING & TRANSPORT            P.O. BOX 670231 NORTHFIELD OH 44067
SPECIALIST
INTERSTATE TOWING & TRANSPORT            1655 E HIGHLAND RD TWINSBURG OH 44087
SPECIALIST
INTERSTATE TOWING & TRANSPORT            124 B CLEVELAND RD. NORWALK OH 44857
SPECIALIST
INTERSTATE TOWING INC.                   2600 NW 1ST AVE, STE B BOCA RATON 33431 6661
INTERSTATE TRANS LLC                     OR GATEWAY COMMERCIAL FINANCE PO BOX 1000, DEPT 996 MEMPHIS TN 38148-0996
INTERSTATE TRANSP EQUIPMENT CO., INC.    PO BOX 3237 JOPLIN MO 64803
INTERSTATE TRANSPORT LLC (MC1345575)     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
INTERSTATE TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INTERSTATE TRUCK CENTER                  2110 S SINCLAIR AVE STOCKTON CA 95215
INTERSTATE TRUCK CENTER INC              D/B/A: COX AUTOMOTIVE MOBILITY - EMS DIV 13720 E 42ND TERRACE S INDEPENDENCE
                                         MO 64055
INTERSTATE TRUCK CENTER INC              D/B/A: COX AUTOMOTIVE MOBILITY - EMS DIV 9403 E US HIGHWAY 40 INDEPENDENCE MO
                                         64055
INTERSTATE TRUCK CENTER INC              D/B/A: COX AUTOMOTIVE MOBILITY - EMS DIV PO BOX 334 RAYMORE MO 64083
INTERSTATE TRUCK CENTER, LLC             13720 E 42ND TERR S INDEPENDENCE MO 64055
INTERSTATE TRUCK CENTER, LLC             INTERSTATE TRUCK CENTER, PO BOX 334 RAYMORE MO 64083
INTERSTATE TRUCK CENTER, LLC             2110 S. SINCLAIR AVE, P O BOX 6463 STOCKTON CA 95206
INTERSTATE TRUCK LINES INC               7011 PARK MANOR AVE, 0 VALLEY GLEN CA 91605
INTERSTATE TRUCK REPAIR                  7739 NEW CARLISLE PIKE HUBER HEIGHTS OH 45424
INTERSTATE UTILITY TRAILER               PO BOX 11530 CINCINNATI OH 45211
INTERSTATE UTILITY TRAILER               1755 DREMAN AVE CINCINNATI OH 45223
INTERSTATE VENTURES INC                  1261 E TRI COUNTY BLVD OLIVER SPRINGS TN 37840
INTERSTATE WASTE SVC                     300 FRANK W BURR BLVD. SUITE 39 TEANECK NJ 07666
INTERSTATE WASTE SVC                     PO BOX 554744 DETROIT MI 48255
INTERSTATE WAYS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INTERTAPE C/O UBER FREIGHT               PO BOX 518 LOWELL AR 72745
INTERTAPE POLYMER                        ATTN CLAIMS DEPT, 9999 CAVENDISH BLVD 200 SAINT-LAURENT QC H4M 2X5 CANADA
INTERTAPE POLYMER                        TRANSPLACE, PO BOX 518 LOWELL AR 72745
INTERTAPE POLYMER CORP                   C/O TRANSPLACE CARGO CLAIMS, PO BOX 518 LOWELL AR 72745
INTERTAPE POLYMER GROUP                  ATTN: AMY YAUK C/O TRANSPLACE CARGO CLAIMS PO BOX 518 LOWELL AR 72745
INTERTAPE POLYMER GROUP                  C/O TRANSPLACE CARGO CLAIMS, PO BOX 518 LOWELL AR 72745
INTERTAPE POLYMER GROUP                  C/O UBER FREIGHT, PO BOX 518 LOWELL AR 72745
INTERTECH FILTRATION SYSTEMS             11907 S MEMORIAL DR STE C BIXBY OK 74008
INTERWORLD FREIGHT INC                   9705 NW 108TH AVE STE 18 MIAMI FL 33178
INTEX TRANSPORTATION, INC.               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INTHA, SISACK                            ADDRESS ON FILE
INTL COMMERCE ENTERPRISE CAC LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INTL FCSTONE FIN, INC. (0750)            ATT KEN SIMPSON OR PROXY MGR 2 PERIMETER PARK, STE 100W BIRMINGHAM AL 35209
INTOUCH INSIGHT INC                      400 MARCH RD OTTAWA ON K2K 3H4 CANADA
INTRA LOGIC LOGISTICS INC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INTRA-NATIONAL TRANSPORTATION SVCS LLC   OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                         ANGELES CA 90074
INTRADO DIGITAL MEDIA LLC                D/B/A: DIGITAL MEDIA INNOVAT. NOTIFIED C/O WEST TECHNOLOGY GROUP LLC PO BOX
                                         74007143 CHICAGO IL 60674
INTRADO DIGITAL MEDIA LLC                D/B/A: DIGITAL MEDIA INNOVAT. NOTIFIED 11808 MIRACLE HILLS DR OMAHA NE 68154
INTRANSIT WEST LLC                       OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244



Epiq Corporate Restructuring, LLC                                                                    Page 921 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 930 of 2156

Claim Name                               Address Information
INTRAPACK INDUSTRIES                     ATTN: KATHRYN LU 10650 MARKISON RD DALLAS TX 75238
INTRICATE AUTO GLASS                     828 RED CROSSBILL SAN ANTONIO TX 78253
INTRIGUE SERVICES WORLDWIDE LLC          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
INTROMATIC MOVES LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
INTRUDER ALERT SYSTEMS OF SAN ANTONIO    PO BOX 791475 SAN ANTONIO TX 78279
INVERGO, ANTHONY                         ADDRESS ON FILE
INVERMEX LLC                             2741 CROWN HILL STE B EAGLE PASS TX 78852
INVERMEX, LLC                            ATTN: PACO MONDRAGON 2741 CROWN HILL STE B EAGLE PASS TX 78852
INVESTMENT LINK LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
INVESTMENTS TRUCKING AND TRANSPORT LLC   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
INVESTORS BANK                           99 WOOD AVENUE S ISELIN NJ 08830
INVICTUS LOGISTICS LLC                   4214 HILL FOREST DR KINGWOOD TX 77345
INVICTUS LOGISTICS LLC (MC1161870)       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
INVICTUS LOGISTICS LLC (MC1161870)       4780 I-55 N, SUITE 100-1021 JACKSON MS 39211
INVICTUS TRANSPORT LLC                   OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
INVICTUS TRANSPORT LLC                   7927 DOCKAL ROAD HOUSTON TX 77028
INVINCIBLE TRANSPORTS INC                OR SUMMAR FINANCIAL LLC 2299 SW 27TH AVE MIAMI FL 33145
INVISIONAPP INC.                         P.O. BOX 32126 NEW YORK NY 10087
INXEPTION CORP                           185 VALLEY DR BRISBANE CA 94005
INXPRESS                                 305 700 DORVAL DR OAKVILLE ON L6K 3V3 CANADA
INXPRESS                                 10619 S JORDAN GTWY 110 S JORDAN UT 84095
INXPRESS                                 7950 E ACOMA DRIVE PHOENIX AZ 85024
INXPRESS AMERICAS                        ATTN: MARY GARGIULO PO BOX 709030 SANDY UT 84070
INXPRESS CANADA                          305-700 DORVAL DR OAKVILLE ON L6K 3V3 CANADA
INXPRESS CANADA                          ATTN: TOM SETKA 700 DORVAL DR STE 305 OAKVILLE ON L6K 3V3 CANADA
INXPRESS FRANCHISE 287                   ATTN: MARIO MARTINEZ 10619 S. JORDAN GATEWAY BLVD SUITE 110 SOUTH JORDAN UT
                                         84095
INXPRESS LLC                             10619 S JORDAN GTWY STE 110 SOUTH JORDAN UT 84095
INZONE LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IO FAST TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
IODICE, NICHOLAS                         ADDRESS ON FILE
ION LIGHTING                             11483 ROCKET BLVD. ORLANDO FL 32824
IONIQ TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IONISIANI, IURI                          ADDRESS ON FILE
IORIO, MARTIN                            ADDRESS ON FILE
IOSCO TRUCKING, LLC                      PO BOX 426 WILSONVILLE OR 97070
IOWA CITY BRAKE, INC.                    2930 INDUSTRIAL PARK RD H IOWA CITY IA 52240
IOWA CITY BRAKE, INC.                    2930 J INDUSTRIAL PARK RD IOWA CITY IA 52240
IOWA DEPARTMENT OF NATURAL RESOURCES     502 EAST 9TH ST DES MOINES IA 50319-0034
IOWA EXPRESS, INC.                       OR ASSIST FINANCIAL SERVICES, PO BOX 347 MADISON SD 57042
IOWA MOTOR TRUCK ASSOCIATION INC         717 E COURT AVE DES MOINES IA 50309
IOWA OSHA                                ADDRESS ON FILE
IP EXPRESS INC                           8888 BELTON DR, N RIDGEVILLE OH 44039
IP FREIGHT SYSTEMS INC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
IP TRANSPORTATION INC                    OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
IPEX INC                                 ATTN: CLEMENT DREHER TRANSPORT 3 PLACE DU COMMERCE VERDUN QC H3E 1V6 CANADA
IPEX INC                                 ATTN: NAVJOT KAUR TRANSPORT 3 PLACE DU COMMERCE VERDUN QC H3E 1V6 CANADA
IPEX MANAGEMENT INC                      ATTN ACCOUNTS PAYABLE TRANSPOR CP 63102 VERDUN QC H3E 1V3 CANADA
IPEX MANAGEMENT INC                      ATTN: CLEMENT DREHER PO BOX 63102 CSP PL DU COMME VERDUN QC H3E 1V6 CANADA



Epiq Corporate Restructuring, LLC                                                                    Page 922 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 931 of 2156

Claim Name                               Address Information
IPI TRANSPORT, INC.                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
IPICKUP LLC                              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
IPM TRANSPORT LLC                        OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
IPPOLITO, CHRISTINE                      ADDRESS ON FILE
IPPOLITO, GREGG                          ADDRESS ON FILE
IPS INDUSTRIES INC                       ATTN: YUTO USUI 12641 166TH ST CERRITOS CA 90703
IPS WORLDWIDE                            ATTN: GENERAL COUNSEL 265 CLYDE MORRIS BLVD SUITE 100 ORMOND BEACH FL 32174
IPT TRUCKING LLC                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
IPUTON225 TRANSPORT LLC                  136 MAUMELLE VALLEY DR MAUMELLE AR 72113-6779
IPV MOTOR LINES INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
IQ TRANS INC                             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
IQ TRUCKING LLC                          1303 PARK AVE S MILWAUKEE WI 53172
IQ TRUCKING LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IQBAL, JAVAID                            ADDRESS ON FILE
IQOR / RMS                               PO BOX 604036 CHARLOTTE NC 28260
IQOR CANADA LTD                          C/O TH1034C, PO BOX 4283 POSTAL STATION A TORONTO ON M5W 5W6 CANADA
IQOR CANADA LTD                          C/O TH1034U USD FUNDS PO BOX 4283 POSTAL STATION A TORONTO ON M5W 5W6 CANADA
IQS GROUP                                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IQUALITY LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IRA HANSEN AND SONS PLUMBING             58 HARDY DR SPARKS NV 89431
IRA P MATTHEWS                           ADDRESS ON FILE
IRACHETA TRANSPORT LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
IRBY JR, ISAAC                           ADDRESS ON FILE
IRBY LOGISTIC LLC                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
IRBY, BRYAN R                            ADDRESS ON FILE
IRBY, ROBERT                             ADDRESS ON FILE
IREK ZIEMKIEWICZ                         ADDRESS ON FILE
IRELAND ELECTRICAL SERVICES TECL 34074   406 W FAIRVIEW ST SHERMAN TX 75092
IRELAND, JEFFREY                         ADDRESS ON FILE
IRELAND, JONATHAN                        ADDRESS ON FILE
IRELAND, MATTHEW                         ADDRESS ON FILE
IRELAND, TERRENCE                        ADDRESS ON FILE
IRFAN HADZIALIJAGIC                      ADDRESS ON FILE
IRIS TRUCKING                            20822 CURRIER RD WALNUT CA 91789
IRIS TRUCKING LLC                        OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
IRISH MECHANICAL SERVICES, INC.          7008 E 43RD STREET INDIANAPOLIS IN 46226
IRISH S GRIFFIN                          ADDRESS ON FILE
IRISH, ERNIE                             ADDRESS ON FILE
IRISH, MATTHEW                           ADDRESS ON FILE
IRISKIC TRUCKING INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
IRISTON INC                              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
IRIZARRY, CHRISTOPHER                    ADDRESS ON FILE
IRIZARRY, IRIS                           ADDRESS ON FILE
IRIZARRY, ISMAEL                         ADDRESS ON FILE
IRIZARRY, JORGE                          ADDRESS ON FILE
IRIZARRY, MICHAEL                        ADDRESS ON FILE
IRIZARRY, TAYLOR                         ADDRESS ON FILE
IRMER, REX                               ADDRESS ON FILE
IRON A WAY                               220 W. JACKSON STREET MORTON IL 61550



Epiq Corporate Restructuring, LLC                                                                     Page 923 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 932 of 2156

Claim Name                           Address Information
IRON BRIGADE LOGISTICS CORP          OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320-7527
IRON BROTHERS DIESEL REPAIR          3804 W 1400 N CEDAR CITY UT 84721
IRON FLEET TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IRON HILL HAULING                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
IRON HORSE TOWING INC                211 W BROADWAY ST MISSOULA MT 59802
IRON HORSE TOWING INC                6593 HWY 10 WEST MISSOULA MT 59808
IRON MAINTENANCE LLC                 PO BOX 841328 LOS ANGELES CA 90084
IRON MOUNTAIN                        PO BOX 27128 NEW YORK NY 10087
IRON MOUNTAIN                        PO BOX 915004 DALLAS TX 75391
IRON MOUNTAIN                        PO BOX 601002 PASADENA CA 91189
IRON OUTLAW TRUCKING LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
IRON OX LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IRON RIVER EXPRESS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IRON SHORE CONSULTING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IRON STAG TRANSPORT INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IRON TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IRON TRUCKS LOGISTICS LLC            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
IRON WAY TRANSPORTATION INC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
IRONMAN INDUSTRIES LLC               65 WILLOW STREET MELROSE MA 02176
IRONS, ERICA C                       ADDRESS ON FILE
IRONS, ERICA C                       ADDRESS ON FILE
IRONS, JAMIENE                       ADDRESS ON FILE
IRONS, JERRY                         ADDRESS ON FILE
IRONTON AUTO BODY INC                4136 MAUCH CHUNK ROAD COPLAY PA 18037
IRONWOOD MFG                         1700 TURNER ST STE 1 MISSOULA MT 59802
IRONWORKS INDIANAPOLIS LLC           2727 E. 86TH ST. INDIANAPOLIS IN 46240
IRR TRANSPORTATION LLC               OR OTR COLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
IRS - EXCISE TAX DIVISION            PO BOX 93500 LOUISVILLE KY 40293-2500
IRV INC                              783 FEATHER SOUND DR BOLINGBROOK IL 60440
IRVIN LEON MOLINA                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IRVIN TRUCKING, INC.                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
IRVIN, LEMUEL                        ADDRESS ON FILE
IRVIN, TIMOTHY                       ADDRESS ON FILE
IRVING ISD                           C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 2777 N STEMMONS FWY, STE 1000 DALLAS
                                     TX 75207
IRVING ISD TAX OFFICE                2621 W AIRPORT FWY, PO BOX 152021 IRVING TX 75015
IRVING, DWIGHT                       ADDRESS ON FILE
IRVING, FRANKIE                      ADDRESS ON FILE
IRVING, JOSEPH                       ADDRESS ON FILE
IRWIN FITNESS AND SUPPLY             ATTN: GARTH IRWIN UNIT 5 79 4TH AVE NW CARMAN MB R0G 0J0 CANADA
IRWIN, GEORGE                        ADDRESS ON FILE
IRWIN, JARED                         ADDRESS ON FILE
IRWIN, MICHAEL                       ADDRESS ON FILE
IRYS TRUCKING INC                    OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
IS EXPRESS LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
IS EXPRESS LLC (MC1190146)           OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
ISA ART TRUCKING INC                 1136 WINCHESTER AVE APT 202 GLENDALE CA 91201-1856
ISA TRANSPORT INC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
ISA TRANSPORTATION LLC               OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                                 Page 924 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 933 of 2156

Claim Name                          Address Information
ISAAC & SON LOGISTICS L.L.C.        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ISAAC BROTHERS TRANSPORTATION INC   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
ISAAC E GONZALEZ                    ADDRESS ON FILE
ISAAC LOGISTICS LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ISAAC PHOCOLE LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ISAAC SERVICES INC                  OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
ISAAC TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ISAAC TRUCKING SERVICES INC         OR PDM FINANCIAL LLC, P.O.BOX 3336 DES MOINES IA 50316
ISAAC TRUCKLINE LLC                 OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ISAAC, CHARLES                      ADDRESS ON FILE
ISAAC, DONNY                        ADDRESS ON FILE
ISAAC, JAMETRIUS                    ADDRESS ON FILE
ISAAC, JERMAIN                      ADDRESS ON FILE
ISAAC, KARLOS                       ADDRESS ON FILE
ISAACO ENTERPRISES LLC              OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ISAACS ENTERPRISES LLC              OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
ISAACS FORKLIFT REPAIR              6745 VAN WAGENER RD LONDON OH 43140
ISAACS WRECKER SERVICE              13452 FM206 TYLER TX 75709
ISAACS, BRYAN                       ADDRESS ON FILE
ISAACS, CHRISTOPHER                 ADDRESS ON FILE
ISAACS, KENNETH                     ADDRESS ON FILE
ISAACS, ROGER                       ADDRESS ON FILE
ISAAK, CATHERINE                    ADDRESS ON FILE
ISABELL, LESLIE                     ADDRESS ON FILE
ISABELLA CISNEROS                   ADDRESS ON FILE
ISABELLE TRANSPORT INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ISABELLE TRANSPORT INC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ISACC DAVID TRANSPORT INC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ISAIAH LOGISTICS LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ISAILY, DECLAN                      ADDRESS ON FILE
ISAK TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ISBELL, KENNETH D                   ADDRESS ON FILE
ISBILL, DOUGLAS                     ADDRESS ON FILE
ISCAR                               1182 NW 159TH DR. MIAMI GARDENS FL 33169
ISCO EXPRESS TRUCKING LLC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ISCO TRUCKING LLC                   C/O APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
ISENBERG, KEVIN                     ADDRESS ON FILE
ISENBERG, KEVIN                     ADDRESS ON FILE
ISFELD, DWAYNE                      ADDRESS ON FILE
ISH TRANSPORTATION SERVICES LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ISHAA LOGISTICS LLC                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ISHAM, BRITT C                      ADDRESS ON FILE
ISHAM, STEPHEN                      ADDRESS ON FILE
ISHAR TRANS                         1300 NORTH BLACKWOOD AVE CLOVIS CA 93619
ISHER TRANSPORT INC                 OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ISHER TRANSPORT INC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
ISHER TRANSPORTATION INC            3214 ZACCARIA WAY STOCKTON CA 95212
ISHIHARA CORP                       C/O ECHO GLOBAL, 600 W CHICAGO STE 725 CHICAGO IL 60654
ISI NORTH AMERICA                   ATTN: ROBERT FALCO 175 US HIGHWAY 46 UNIT C FAIRFIELD NJ 07004



Epiq Corporate Restructuring, LLC                                                               Page 925 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 934 of 2156

Claim Name                           Address Information
ISIDOR A AVALOS                      ADDRESS ON FILE
ISIDORO, ANTONIO                     ADDRESS ON FILE
ISKA EXPRESS LLC                     OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
ISKA LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ISKENDEROV, VADYM                    ADDRESS ON FILE
ISLA GUZMAN LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ISLAM, JALIL                         ADDRESS ON FILE
ISLAND CHROME SERVICES LLC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
ISLAND EXPRESS                       4771 WAYCROSS RD FORT MYERS FL 33905
ISLAND FENCE, INC                    PO BOX 397 JUNCTION CITY OR 97448
ISLAND MOVERS INC.                   PO BOX 17865 HONOLULU HI 96817
ISLAND PUMP & TANK CORP.             40 DOYLE COURT EAST NORTHPORT NY 11731
ISLAND STONE                         3145 TIGER RUN CT STE 111 CARLSBAD CA 92010
ISLAND VIBE LOGISTICS LLC            OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
ISLAND WEST HOA                      2 CORPUS CHRISTI 302 HILTON HEAD SC 29928
ISLANDAIRE                           500 MIDDLE COUNTRY RD. ST. JAMES NY 11780
ISLAS-TORRES, MARCO                  ADDRESS ON FILE
ISLER, JOSH                          ADDRESS ON FILE
ISLEY, GARRY                         ADDRESS ON FILE
ISMAEL IRIZARRY                      ADDRESS ON FILE
ISMAEL, FARAH                        ADDRESS ON FILE
ISMAEL, FARAH                        ADDRESS ON FILE
ISMAIL HUMMOS & RASAHABUINNAD        ADDRESS ON FILE
ISME TRANSPORT LLC                   OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
ISN                                  2727 INTERSTATE DR LAKELAND FL 33805
ISO LOGISTICS LLC                    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
ISOM, DAVID                          ADDRESS ON FILE
ISOM, JERMMIE                        ADDRESS ON FILE
ISR TRANSPORTATION INC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ISRAEL PEREZ                         ADDRESS ON FILE
ISRAEL, AZAR                         ADDRESS ON FILE
ISRAEL, MELEK                        ADDRESS ON FILE
ISRAEL, PHAREZ                       ADDRESS ON FILE
ISRAEL, SHAMIR HOPHNI                ADDRESS ON FILE
ISRAEL, YAWASAP B                    ADDRESS ON FILE
ISRAEL, ZACHAIOS                     ADDRESS ON FILE
ISRO TRANSPORTATION LLC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ISS CORPORATE SOLUTIONS INC          702 KING FARM BLVD SUITE 400 ROCKVILLE MD 20850
ISSA LOGISTICS LLC                   6532 BEVERLY PLAZA ROMULUS MI 48174
ISSA LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ISSA, MOHAMED                        ADDRESS ON FILE
ISSACK TRUCKING LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ISSIE EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IST FREIGHT INC                      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
IST LEASING INCORPORATED             6301 WEST 158TH STREET OVERLAND PARK KS 66223
IST LOGISTICS                        701 RTE HARWOOD VAUDREUIL-DORION QC J7V 8P2 CANADA
IST TRANSPORTATION INC               OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
ISTATE EXPRESS LLC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ISTATE TRUCK CENTER                  NW 7246, PO BOX 1450 MINNEAPOLIS MN 55485



Epiq Corporate Restructuring, LLC                                                                 Page 926 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 935 of 2156

Claim Name                           Address Information
ISTOGROUP INC                        OR TRUCKERS EMPIRE INC 228 MAIN ST, STE 70091 STATEN ISLAND NY 10307
ISTRE, DANIEL                        ADDRESS ON FILE
ISUZU WARRANTY CENTER                ATTN: MIHO KOTSUJI 1600 S CLAUDINA WAY ANAHEIM CA 92805
ISW CORPORATION INC                  4300 GATEWAY BLVD SPRINGFIELD OH 45502
ISX LLC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IT SERVICES LLC                      328 FARMDALE RD MOORESTOWN NJ 08057
ITA                                  P.O. BOX 51718 LAFAYETTE LA 70505
ITA                                  2835 NW EVANGELINE THWY LAFAYETTE LA 70507
ITAMAH, ODION                        ADDRESS ON FILE
ITANGISHAKA, RASHEL                  ADDRESS ON FILE
ITASCA CONSTRUCTION                  341 HAMBRIDGE COURT LAWRENCEVILLE GA 30043
ITDS, INC.                           PO BOX 11530 CINCINATTI OH 45211-0530
ITERNA                               ATTN: HAMDI MOHAMED 479 QUADRANGLE DR STE D BOLINGBROOK IL 60440
ITF LLC                              11990 MISSOURI BOTTOM RD HAZELWOOD MO 63042
ITF LLC                              11990 MISSOURI BOTTON RD HAZELWOOD 63042
ITF LLC                              OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
ITL INC                              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ITL INC (MC033177)                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ITM EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ITM TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ITN EXPRESS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ITNYRE, GEORGE                       ADDRESS ON FILE
ITONEY, DONALD                       ADDRESS ON FILE
ITP                                  INNOVATIVE TECHNOLOGIES IN PRINT, 200 SOUTH CHESTNUT STREET ELIZABETHTOWN PA
                                     17022
ITR CONCESSION CO. LLC               3200 CASSOPOLIS STREET ELKHART IN 46514
ITR CONCESSION COMPANY               ATTN ACCOUNTS RECEIVABLE UPT ELKHART IN 46514
ITRANSPORT                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ITREND USA LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ITRUCK LOGISTICS, INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ITRUCKING INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ITRUCKING LLC (MC1040744)            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ITRUCKING SERVICES INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ITRUCKS INC                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ITRUX LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ITS                                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
ITS (MC200276)                       8401 54TH AVE N NEW HOPE MN 55428
ITS DELIVERED LOGISTICS INC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ITS ELECTRIC RENTALS LLC             120 S. FAIRFAX ST. DENVER CO 80246
ITS HIS TRUCK LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
ITS LOGISTICS                        555 VISTA BLVD SPARKS NV 89434
ITS LOGISTICS                        50 W LIBERTY ST 400 RENO NV 89501
ITS LOGISTICS R                      555 VISTA BLVD SPARKS NV 89434
ITS NATIONAL, LLC                    555 VISTA BOULEVARD SPARKS NV 89434
ITS TECHNOLOGIES & LOGISTICS LLC     ITS TECHNOLOGIES & LOGISTICS LLC, CHICAGO 63RD NS, 169 EAST 63RD STREET
                                     CHICAGO IL 60637
ITS TECHNOLOGIES & LOGISTICS LLC     5284 PAYSPHERE CIRCLE CHICAGO IL 60674
ITURIAGA, JUAN                       ADDRESS ON FILE
ITURRIAGA, ALVARO JAVIER             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 927 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 936 of 2156

Claim Name                               Address Information
ITW BRANDS                               155 HARLEM AVE BLDG N3E GLENVIEW IL 60025
ITW PRO BRANDS                           ATTN: JANE STUTZ 4647 HUGH HOWELL RD TUCKER GA 30084
ITW PRO BRANDS                           ATTN: PAMELA HARGROVE 4647 HUGH HOWELL RD TUCKER GA 30084
ITW PRO BRANDS                           ATTN: GAYLE KELLY 805 E OLD 56 HWY OLATHE KS 66061
ITW SHAKEPROOF INDUSTRIAL                2000 INDUSTRIAL IRON RIDGE WI 53035
IUVO LOGISTICS, LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
IVADAN INC                               OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
IVAN & JS TRUCKING INC.                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
IVAN FERNANDEZ                           ADDRESS ON FILE
IVAN ILIC                                ADDRESS ON FILE
IVAN RAMOS                               ADDRESS ON FILE
IVAN ROJAS TRANSPORTATION LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
IVANCICTS, JEFF                          ADDRESS ON FILE
IVARS DISPLAYS WEST                      2314 E LOCUST CT ONTARIO CA 91761
IVATRANS INCORPORATED                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
IVEN, KEVIN                              ADDRESS ON FILE
IVERSON, PAUL                            ADDRESS ON FILE
IVERY, DAVID                             ADDRESS ON FILE
IVERY, RYAN                              ADDRESS ON FILE
IVEY LEAGUE TRANSP & HOT SHOT SVC LLC    OR OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
IVEY SELF STORAGE                        1517 KIRKLAND ROAD RALEIGH NC 27603
IVEY SELF STORAGE, INC.                  ATTN: LARRY FAUCI PO BOX 608 SMITHFIELD NC 27577
IVEY, OCTAVIOUS                          ADDRESS ON FILE
IVEY, TARRIE                             ADDRESS ON FILE
IVEYS TOWING AND TRANSPORT               D/B/A: EAST COAST TOWING 100 RUPERT ROAD RALEIGH NC 27603
IVF TRUCKING LLC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
IVIE, TYREL                              ADDRESS ON FILE
IVIT LOGISTICS INC                       781 S MIDLOTHIAN RD 303 MUNDELEIN IL 60060
IVORY LOGISTICS LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
IVORY SAPP                               ADDRESS ON FILE
IVORY, GREGORY                           ADDRESS ON FILE
IVORY, KEIRE                             ADDRESS ON FILE
IVORYS TRUCKING LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
IVP TRANSPORT LLC                        17793 PRINCETON CIR STRONGSVILLE OH 44149
IVS LOGISTICS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
IVS TRANS INC.                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
IVWT TRANSPORT LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
IVY COLD LLC                             2600 OAK STREET, 6041 SAINT CHARLES IL 60175
IVY TECH COMMUNITY COLLEGE OF INDIDANA   220 DEAN JOHNSON BLVD SOUTH BEND IN 46601
IVY, CRAIG                               ADDRESS ON FILE
IVY, ROBERT                              ADDRESS ON FILE
IVY, RODRIC                              ADDRESS ON FILE
IVY, SCOTT                               ADDRESS ON FILE
IVY, SHATILLA                            ADDRESS ON FILE
IWABUCHI, MICHAEL                        ADDRESS ON FILE
IWACHU TRANSPORTATION LLC                OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
IWASKIEWICZ, TIMOTHY                     ADDRESS ON FILE
IWATA, MINORU                            ADDRESS ON FILE
IWDC                                     6331 E 30TH ST STE 104 INDIANAPOLIS IN 46219



Epiq Corporate Restructuring, LLC                                                                     Page 928 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 937 of 2156

Claim Name                              Address Information
IWDC                                    ATTN: QUANTUNNA JOHNSON 6331 E 30TH ST INDIANAPOLIS IN 46219
IWIN                                    736 SW WASHINGTON ST PEORIA IL 61602
IWM TRANSPORT LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
IWS SALES                               3190 INDUSTRIAL WAY MOUNTAIN HOME ID 83647
IZ EXPRESS                              375 JORDAN CREEK FARM RD WELLFORD SC 29385
IZAGUIRRE MENDOZA, RUBIO                ADDRESS ON FILE
IZMA CONCEPTS INC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
IZMIRLIC, DAMIR                         ADDRESS ON FILE
IZQUIERDO, JESUS                        ADDRESS ON FILE
IZWORSKI, JOSH                          ADDRESS ON FILE
IZZY COVERED WAGON SERVICES LLC         PO BOX 4618 NEW WINDSOR NY 12553-0618
J & A FREIGHT                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J & A FREIGHT                           7619 LION STREET RANCHO CUCAMONGA CA 91730
J & A TRANSLINE LLC                     PO BOX 240 TATAMY PA 18085
J & A TRANSPORT LLC                     PO BOX 12321 CHICAGO IL 60612-9998
J & A TRUCK LINES LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J & A USA INC                           ATTN: ALBERT KIM OFFICE ADMIN 335 CROOKED HILL RD BRENTWOOD NY 11717
J & A USA INC                           ATTN: ALBERT KIM SHIPPING 335 CROOKED HILL RD BRENTWOOD NY 11717
J & ANGELS TRUCKING CORP                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
J & B GARAGE DOORS LLC                  2019 64TH ST LUBBOCK TX 79412
J & B GORE ENTERPRISES LLC              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
J & B HEATING                           AND AIR CONDITIONING, 6170 INDUSTRIAL COURT GREENDALE WI 53129
J & B SERVICES, INC.                    J & B SERVICES INC., 79 SAND PEBBLE DRIVE JACKSON TN 38305
J & C BROTHERS TRUCKING                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J & C CUSTOM DELIVERIES, INC.           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
J & C FREIGHT LLC                       5550 E MICHIGAN ST APT 1125 ORLANDO FL 32822-1656
J & C GILMAN FAMILY LIMITED             1940 DEWEY BLVD C/O FIRST NATIONAL BANK (234 664) BUTTE MT 59701
J & C GILMAN FAMILY LIMITED             C/O FIRST NATIONAL BANK 234 664 1940 DEWEY BLVD, BUTTE MT 59701
J & C GILMAN FAMILY LP                  ATTN: DAN PETRITZ 3099 GRAND AVENUE BUTTE MT 59701
J & C GILMAN LLC                        D/B/A: J AND C GILMAN LLC 74 COFFEE CT BUTTE MT 59701
J & C TRANSPORTATION LLC (MC915797)     OR WALLACE COMPANY INC, PO BOX 988 FULTON MS 38843
J & C TRUCK AND TRAILER REPAIR INC      PO BOX 8134 ERIE PA 16505
J & D FLEET SERVICE INC                 PO BOX 1324 WHITTIER CA 90609
J & D JOHNSON SERVICES LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J & D TRANSPORTATION                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
J & D TRUCK REPAIR INC                  PO BOX 4882 789 CARTER DRIVE HELENA MT 59604
J & E ARIAS TRANSPORT INC.              14141 LAURAMORE CT FONTANA CA 92336
J & E FREIGHT SERVICES LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
J & E TRUCK SERVICE & REPAIR INC        1483 W. ANDERSON ST. STOCKTON CA 95206
J & F AUTO GLASS INC                    725 CENTER STREET RACINE WI 53403
J & F CLEANERS                          16 ARROW ST WINNIPEG MB R2R 0R7 CANADA
J & F TRUCKING INC                      OR CFS INC DBA COMFREIGHT HAULPAY P.O. BOX 200400 DALLAS TX 75320-0400
J & H BUILDERS WAREHOUSE                2505 AVENUE C N SASKATOON SK S7L 6A6 CANADA
J & H DISTRIBUTING INC.                 398 MOUNT HERMAN ROAD HUDSON NC 28638
J & H TRANSPORT LLC                     OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
J & H TRUCKING INC                      PO BOX 131 ANDOVER KS 67002
J & H TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J & J AUTO BODY LLC / J & J TRUCK SVC   103 S ST TROY NH 03465



Epiq Corporate Restructuring, LLC                                                                    Page 929 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 938 of 2156

Claim Name                           Address Information
J & J CARRIERS CORP                  OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
J & J DIESEL REPAIR LLC              1513 E COMMERCE AVE. CARLISLE PA 17015
J & J EXPRESS LOGISTICS INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J & J GROUND MAINTENANCE LLC         3947 CUMBERLAND DR AUSTINTOWN OH 44515
J & J HERNANDEZ INC                  OR TAFS, PO BOX 872632 KANSAS CITY MO 64187
J & J INTERIORS INC                  PO BOX 41458 NASHVILLE TN 37204
J & J LAWN SERVICES                  927 11TH AVENUE PLEASANT GROVE AL 35127
J & J LOGISTICS COMPANY LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J & J LOGISTICS OF FLORIDA, LLC      OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
J & J MOBILE REPAIR, LLC             11 JOE TABOR RD CROSSVILLE TN 38571
J & J MOBILE SERVICES                13502 WHITTIER BLVD, SUITE H 276 WHITTIER CA 90605
J & J MOTOR SERVICE INC              2338 S INDIANA AVE CHICAGO IL 60616
J & J MOTORING INC                   1185 BULLFROG RD FAIRFIELD PA 17320
J & J REPAIR                         434 WESTMINSTER SAN ANTONIO TX 78228
J & J TRAILER SERVICES LLC           1228 PEMBERTON DR FORT WAYNE IN 46805
J & J TRANSPORT COMPANY LLC          OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
J & J TRUCKING                       OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
J & J TRUCKING (MC587609)            OR PHOENIX CAPITAL GROP LLC, PO BOX 1415 DES MOINES IA 50305
J & J TRUCKING AND HAULING LLC       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
J & JS TRUCKING SERVICE              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J & K 24 HOUR DIESEL SERVICE INC     385 N 400 W FILLMORE UT 84631
J & K 24 HOUR DIESEL SERVICE INC     PO BOX 560021 SCIPIO UT 84656
J & K MOVER LLC                      OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
J & K TRUCKING                       403 TAA BELLA PL LINCOLN CA 95648
J & K TRUCKING SERVICES, LLC         24 SUE STREET WESTERN GROVE AR 72685
J & L DOORS AND GATES LLC            6490 JOHNSON RANCH RD FLAGSTAFF AZ 86004
J & L ELECTRIC INC                   2117 MISSION RD SAN ANTONIO TX 78214
J & L FASTENERS                      6944 PARRISH AVE HAMMOND IN 46323
J & L FLOURISH EXPRESS INC           OR RTS FINANCIAL SERVICE IN PO BOX 840267 DALLAS TX 75284-0267
J & L FLOURISH EXPRESS INC           18351 COLIMA RD STE 523 ROWLAND HEIGHTS CA 91748
J & M ELECTRIC INC                   2221 LIVINGSTON AVE MISSOULA MT 59801
J & M EXCAVATION                     4159 TWELVE CORNERS RD MORAVIA NY 13118
J & M FORKLIFT, INC.                 119 E. BURRVILLE ROAD CRETE IL 60417
J & M HAULING CORP                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
J & M LOGISTICS LLC (MC1117146)      OR MATCH FACTORS, PO BOX 13259 FLORENCE SC 29504
J & M RAMIREZ TRUCKING               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
J & M SAINT LOGISTICS LLC            1412 NW 208TH ST MIAMI FL 33169
J & M TOWING                         3304 HAMMER AVE. NORCO CA 92860
J & M TOWING INC                     8964 INKSTER RD ROMULUS MI 48174
J & M TRANSPORT                      2907 LISMORE DR SEAGOVILLE TX 75159
J & M TRANSPORT NORTH LTD            BOX 195, 19 MAPLE DRIVE CLANDEBOYE MB R0C 0P0 CANADA
J & M TRANZPORT INC                  OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
J & M TRUCKING & TRANSPORT LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J & M VELASQUEZ CORPORATION          11543 LOCUST AVENUE HESPERIA CA 92345
J & M XPRESS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
J & N TEAM EXPRESS INC               OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
J & N TRANSPORTATION LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
J & N TRUCKING CO                    1047 POPLAR SPRINGS RD ELBERTON GA 30635
J & P TRUCKING, INC.                 OR PROBILLING AND FUNDING SERVICE P.O. BOX 2222 DECATUR AL 35609



Epiq Corporate Restructuring, LLC                                                                Page 930 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 939 of 2156

Claim Name                              Address Information
J & R AUTO GROUP LLC                   330 E. COMMERCE STREET STE 577 BRIDGETON NJ 08302
J & R EXPRESS, INC                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
J & R HYDRAULIC SERVICE                3616 S ARCHER AVE CHICAGO IL 60609
J & R TRANS INC                        813 FIRESIDE DR GREENWOOD IN 46143
J & R TRANSPORT                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA OK 73124-8920
J & R TRANSPORT (MC767025)             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J & S DRAYAGE, LLC                     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
J & S DRAYAGE, LLC                     PO BOX 6818 OAKLAND CA 94603
J & S ELECTRICAL CONTRACTORS INC       3170 KNIGHTS RD BENSALEM PA 19020
J & S TRANSPORTATION LLC               279 S HWY 112 GRANTSVILLE UT 84029
J & S TRUCKING (MC079588)              588 BRAMBLEWOOD AVE LATHROP CA 95330-9369
J & S TRUCKING SERVICES INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J & S XPRESS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J & SS TRUCKING INC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
J & T CARRIERS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J & T DUNLAP TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J & T MOTORFREIGHT LLC                 P O BOX 429 HUBBARD IA 50122
J & T TRUCKING                         OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
J & V RESTAURANT SUPPLY & REFRIGERATION 810 1ST AVE N GREAT FALLS MT 59401
J & W SWIFT LOGISTICS & TRUCKING LLC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
J & Y CARGO LOGISTIC LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
J & Y TRUCKING                         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
J & Z EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J & Z TRUCKING SERVICE CORP            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J 3 TRANSPORT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
J A C E LOGISTICS LLC                  OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
J A M EXPRESS LLC                      32020 HULL RD COTTAGE GROVE OR 97424
J ADAMS MASONRY INC                    74 THUNDER TRL CRANSTON RI 02921
J ALLEN TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J AMARO LOGISTICS LLC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
J AND A LOGISTICS LLC                  OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
J AND C FREIGHT SOLUTIONS LLC          OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
J AND C XPRESS LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
J AND D TRANSPORTATION SERVICE LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
J AND H INC.                           ATTN: JOE SMITH 645 VOLUNTOWN ROAD JEWETT CITY CT 06351-2659
J AND J HAULING                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
J AND J LOGISTICS GROUP INC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
J AND J TRUCKING                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
J AND L DOOR SERVICE INC.              PO BOX 56 CHESTERLAND OH 44026
J AND M TRUCKING CO LLC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
J AND N TRANSPORT LLC                  OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
J AZTECA EXPRESS INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
J B EXPRESS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
J B F EMPOWER TRUCKING                 10332 NEOPOLITAN PLACE LAS VEGAS NV 89144
J B HUNT                               ATTN: STEPHANIE GOBLE - CLAIM EXAMINER PO BOX 598 LOWELL AR 72745
J B HUNT TRANSP0RT INC                 ATTN CARGO CLAIMS DEPT PO BOX 598 LOWELL AR 72745
J B K TRUCK TRAILER                    8669 S STATE RD 67 CAMBY IN 46113



Epiq Corporate Restructuring, LLC                                                                   Page 931 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 940 of 2156

Claim Name                           Address Information
J B T TRANSPORT INC.                 105 GUTHRIE ST AYR ON N0B 1E0 CANADA
J B TRAILER SERVICES                 PO BOX 310095 FONTANA CA 92331
J B TRAILER SERVICES                 14962 VALLEY BLVD FONTANA CA 92335
J B TRANSPORT LLC                    OR GRADE A FUNDING INC., P.O. BOX 45 HUNTINGBURG IN 47542
J BLACK TRANSPORT                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
J C CARRIER LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
J C D EXPRESS INC                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
J C ELECTRIC LLC                     2421 WALL STREET MILLBROOK AL 36054
J C MAINTENANCE                      1746 GLADIOLA LAREDO TX 78046
J C TRUCKING COMPANY                 1415 W ANDERSON ST STOCKTON CA 95206
J CHEEMA TRUCKING INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J CHEEMA TRUCKING INC                OR HGS FUNDING, P.O. BOX 1359 RANCHO CUCAMONGA CA 91729
J CLARK LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J D DICKINSON COMPRESSOR CO          2557 W OLIVE ST SPRINGFIELD MO 65802
J D FACTORS                          ADDRESS ON FILE
J D FREIGHT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
J D L TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
J D SCHMITZ TRUCKING                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J D SMITH                            ADDRESS ON FILE
J D TRANS INC.                       993 CREEKSIDE DR WATERLOO ON N2V 2W3 CANADA
J D TRUCKING                         5788 N RUMI AVE FRESNO CA 93723
J DOT LOGISTICS INC                  OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA NS L3V 6L4
                                     CANADA
J DS HAULING & TOWING LLC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
J DUMAS TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J E ALLAN                            ADDRESS ON FILE
J E H TRANSPORT INC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
J E HERRING MOTOR CO                 286 NEILAN RD SOMERSET PA 15501
J E HOME CARE AND REPAIR LLC         242585 COUNTY RD J WAUSAU WI 54403
J E OWEN TRUCKING                    1091 BLACKWATER ROAD FOREST VA 24551
J E R O TRUCKING                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J EDWARDS TRUCKING & LOGISTICS LLC   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
J EXPRESS                            OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
J EXPRESS TRANSPORT LLC              OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
J F AHERN CO                         ACCOUNTING DEPARTMENT, PO BOX 1316 FOND DU LAC WI 54936
J F AHERN CO                         PO BOX 1316 FOND DU LAC WI 54936-1316
J F BARNES AND SONS, LLC             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
J FRANKLIN TRANSPORTATION INC        2748 NW 104TH AVE, APT 407 SUNRISE FL 33322
J G TRANSPORT SERVICE LLC            OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
J GALLOSO CUBAN TRUCK LLC            OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
J GROUP TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
J H CROSSROAD INC.                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J H MOTORS INC                       P O BOX 795 BILLINGS MT 59103
J H SHACKLES3 TRUCKING LLC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
J HARRISON JONES TRUCKING LLC        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
J I B CORPORATION                    OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
J I T TRANSPORT CORP                 106 RICHFIELD CT APT A CLIFTON NJ 07012
J IVEY LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J J KELLER & ASSOCIATES INC          PO BOX 548 NEENAH WI 54957



Epiq Corporate Restructuring, LLC                                                                 Page 932 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                                Page 941 of 2156

Claim Name                             Address Information
J J KELLER & ASSOCIATES INC            PO BOX 6609 CAROL STREAM IL 60197-6609
J J S XPRESS                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
J J TRUCKING LLC                       OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
J J TRUCKLOAD LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
J JAVI EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J JORDAN 24 VENTURES LLC               OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
J JUNIOR TRUCKING INC                  OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
J K LOGISTICS INC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
J K LOGISTICS LLC                      7051 KELTNER DR WEST CHESTER OH 45069
J K S TRUCKING LLC                     2025 HARMON AVE COLUMBUS OH 43223
J L BACON                              ADDRESS ON FILE
J L BELL LOGISTICS INC                 OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
J L BRADY CO LLC                       4831 41ST STREET QUAD CITY AIRPORT IL 61265
J L CLARK CORPORATION                  12 LEXUS DRIVE HURRICANE WV 25526
J L SPENCER TRUCKING INC               10832 ST RT 118 ANSONIA OH 45303
J LARIOS TRANSPORTATION                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
J LAZO TRANSPORT                       OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
J LEE MAC TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
J M GASTELUM TRANSPORT LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
J M KELLEY                             ADDRESS ON FILE
J M MOORE INVESTORS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J M TRANSIT                            1800 LEON HARMEL QUEBEC QC G1N 4R9 CANADA
J M W TRUCKING LLC C                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J M Z TRANSPORTATION INC               OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
J MAC HAUL TRUCKING & TRANSPORTATION   PO BOX 2001 RICHMOND TX 77406
LLC
J MACS EXPRESS, LLC                    1557 PATTY ROAD CADES SC 29518
J MENARD                               ADDRESS ON FILE
J MONEY ENTERPRIZE LLC                 PO BOX 2402 SAPULPA OK 74067
J N J CARRIER, LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
J N M TRANSPORT LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
J N TRUCKING INC                       1314 VENICE CIR STOCKTON CA 95206
J NAVARRO CORP                         OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
J ONE LOGISTICS INC                    910 YOSEMITE TRAIL D ROSELLE IL 60172
J P L TRUCKING                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J P M EXPRESS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
J P TRUCKING SERVICES LLC              62 DANIEL STREET PORT READING NJ 07064
J PAYNE TRUCKING LLC                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
J PLUS TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J POWER                                ADDRESS ON FILE
J R HILL TRANSPORTS                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J R LINES CORP                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
J R T TRANS CORP                       OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
J RAM TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J RAM TRANSPORT LLC                    PO BOX 450521 LAREDO TX 78045
J RAMIREZ TRUCKING                     OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
J RAMOS LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
J RAMOS TRUCKING INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                   Page 933 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 942 of 2156

Claim Name                             Address Information
J ROD TRUCKING INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
J ROJAS TRUCKING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J S B I LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J S DHATT TRUCKING INC                 8616 NE 90TH PLACE VANCOUVER WA 98662
J STAR EQUIPMENT                       265 TOWNSHIP RD 1381 GREENWICH OH 44837
J STAR EXPRESS                         5341 E CHAPMAN AVE FRESNO CA 93725
J SUAREZ ENTERPRISE LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
J T FENNELL COMPANY INCORPORAT         ATTN: JOHN CASALINA 1104 N FRONT CHILLICOTHE IL 61523
J T I                                  OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
J T I EXPRESS INC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
J T RYAN TRUCKING                      OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
J TAYLOR TRUCKING LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
J TODD TRUCKING LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
J TRANS, INCORPORATED                  2025 E 38TH ST MARION IN 46953
J V CARGO CORP                         OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                       35246-2659
J VARELA HOTSHOT FREIGHT CARRIER LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J W COLE & SONS INC                    201 N RIVERSIDE AVE, SUITE E2-B SAINT CLAIR MI 48079
J W COLE & SONS INC                    6500 MT ELLIOTT DETROIT MI 48211
J W NELSON LOGISTICS INC               PO BOX 68 BRADFORD AR 72020
J W PEPPER & SON                       ATTN: ANDREW KEIGHTLEY ANDREW KEIGHTLEY 191 SHEREE BLVD EXTON PA 19341
J WALTER EXPRESS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J YARBROUGH EXPRESS LLC                OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
J YOUNGSILVER TRUCKING LLC             OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
J&A CARRIERS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
J&A FREIGHT SYSTEMS                    4704 W IRVING PARK RD STE 8 CHICAGO IL 60641
J&A HOT SHOTS                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J&A PRESTIGE TRANSPORT SERVICES LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J&A TRANSPORT INC                      OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
J&A TRUCKING LLC                       OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
J&A TRUCKING LLC (MC083037)            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J&B EXPRESS LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J&B LOGISTICS INC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
J&C LOGISTICS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
J&C LOGISTICS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
J&C TRUCKING                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
J&C TRUCKING SERVICES CORP             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
J&CV INTERNATIONAL LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J&D FLOOR COVERING & MILLWORKS         PO BOX 88, 4088 PEET STREET MIDDLEPORT NY 14105
J&D TRANSPORT INC                      OR BUSBOT INCORPORATED DBA DENIM PO BOX 392797 PITTSBURGH PA 15251-9797
J&D TRUCK REPAIR                       610 MEADOWS DR MOORESVILLE IN 46158
J&D TRUCK REPAIR                       4440 S HIGH SCHOOL RD STE E INDIANAPOLIS IN 46241
J&DS SEALTECH                          138 CHANDLER ST BUFFALO NY 14207
J&E ASPHALT MAINTENANCE INC            PO BOX 222 PICO RIVERA CA 90660
J&E TRANS                              15035 PROCTOR AVE, D CITY OF INDUSTRY CA 91746
J&F FREIGHT LLC                        OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
J&G FORWARDING                         OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
J&G HOTSHOT LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267


Epiq Corporate Restructuring, LLC                                                                   Page 934 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 943 of 2156

Claim Name                            Address Information
J&G LOGISTICS LLC                     OR BIG BROTHER FINANCIAL, P.O. BOX 1949 SUGAR LAND TX 77487-1949
J&G TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
J&H LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J&H TRANSPORT INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
J&H TRANSPORTATION LLC                OR FLOWFACTOR CAPITAL, LLC, PO BOX 971 BERWICK PA 18603
J&H TRANSPORTATION LLC                715 108TH PL SE EVERETT WA 98208
J&J CRUZ TRUCKING                     9750 VIA DE LA AMISTAD 6BQ SAN DIEGO CA 92154
J&J EXCAVATING LLC                    C/O JACK HOLLAND, 163 HARVESTERS SQUARE TUPELO MS 38801
J&J EXPRESS LLC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
J&J INTERNATIONAL LLC                 184-54 149 AVE SPRINGFIELD GARDENS NY 11413
J&J LOGISTICS & HAULING LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
J&J MENDEZ TRANSPORTATION INC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
J&J MILE 20                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
J&J PALLET SOLUTIONS, INC.            P.O. BOX 1147 ALPHARETTA GA 30009
J&J TRANSPORT LLC                     333 BRONDER DR FOLEY MN 56329
J&J TRUCK LEASING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
J&L EXPRESS CARGO LLC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
J&L TRUCK ENTERPRISES INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
J&L TRUCK RECYCLING LTD               303 PARKDALE ROAD ST ANDREWS MB R1A 3N9 CANADA
J&L TRUCKING SERVICE CORP             OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
J&M AC RECOVERING CORP                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J&M CARGO INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
J&M EXPRESS INC                       OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
J&M EXPRESS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J&M HILL TRANSPORT LLC                227 LUCAS WAY, 0 STATHAM GA 30666
J&M TOWING OF NORCO                   3304 HAMNER AVE. NORCO CA 92860
J&O NISSI TRANSPORT INC               OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
J&O TRANSPORT INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J&P AUTO COLLISION INC.               3551 BEVERLY BLVD. LOS ANGELES CA 90004
J&P EXPRES TRANSPORTATION LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
J&P LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J&P LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J&R COVARRUBIAS TRUCKING              OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
J&R TRUCKING EXPRESS LLC              OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
J&S FUNK TRANSPORT LLC                3499 SE 25TH RD SUMTERVILLE FL 33585
J&S ROYAL TRUCKING LLC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
J&S TRANSPORTATION II LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
J&S TRANSPORTATIONS CORPORATION       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
J&T TRAILER SERVICE                   820 SAINT ANNE LN MONROE MI 48162
J&V XPRESS CARRIER LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
J&W TRUCKING LLC                      OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
J&Y LOGISTICS INC                     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
J-23 TRANSPORTATION INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
J-8 EQUIPMENT CO. OF TEXAS, INC.      D/B/A: J8 EQUIPMENT CO OF TEXAS INC. P.O.BOX 224647 DALLAS TX 75222
J-MAC EXPRESS LOGISTICS LLC           OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
J-MAC RADIATOR SERVICE                3520 S STATE ST SALT LAKE CITY UT 84115
J-MAX TRANSPORTATION SERVICES, INC.   10845 CHICAGO DRIVE ZEELAND MI 49464



Epiq Corporate Restructuring, LLC                                                                  Page 935 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 944 of 2156

Claim Name                              Address Information
J-SONS LAND MANAGEMENT & TRUCKING LLC   OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
J. A. D. TRUCKING, INC.                 3601 SW 109TH AVE. MIAMI FL 33165
J. A. TRUCKING, INC.                    212 COUNTRY LANE WEST NEWTON PA 15089
J. ANTHONY EXPRESS, INC.                PO BOX 246 SWANSEA MA 02777-0246
J. ASHLEYS LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J. B. WRIGHT                            ADDRESS ON FILE
J. B. WRIGHT                            ADDRESS ON FILE
J. CIOFFI LEASING & TRUCKING INC        PO BOX 591 CARTERET NJ 07008
J. COOPER ENTERPRISES, LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
J. D. & BILLY HINES TRUCKING, INC.,     PO BOX 777 PRESCOTT AR 71857
J. D. HOLDEN TRUCKING, LLC              OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
J. GARNICA TRUCKING, INC.               P.O BOX 70715 BAKERSFIELD CA 93307
J. H. MENGE & ASSOCIATES, LLC           5825 PLAUCHE STREET HARAHAN LA 70123-4121
J. HOGAN REFRIGERATION & MECHANICAL INC PO BOX 67 PERU NY 12972
J. J. A. MUNOZ DIST., INC.              PO BOX 291360 EL PASO TX 79929
J. J. LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
J. JONES MACHINE                        8876 E 400 S NEW ROSS IN 47968
J. K. FREIGHTT, LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA OK 73124-8920
J. L. BRADY COMPANY, LLC                4831 41ST STREET MOLINE IL 61265
J. L. CLARK CORPORATION                 ATTN: JACK CLARK PO BOX 1117 POCA WV 25159
J. L. ROTHROCK, INC.                    P O BOX 77257 GREENSBORO NC 27417
J. M. LEASING CO.                       P.O. BOX 27 CLARION PA 16214
J. MELTON TRUCKING CO., INC.            7627 EAST 600 SOUTH GLENWOOD IN 46133
J. R. C. TRANSPORTATION INC.            PO BOX 366, PO BOX 366 THOMASTON CT 06787
J. R. GUDDE FARM                        1444 SW STATE ROUTE 2 HOLDEN MO 64040
J. R. S TRANSPORTATION, INC.            PO BOX 512, PO BOX 409 GREEN FOREST AR 72638
J. R. TRANSPORT, INC.                   P.O. BOX 202 SUMMIT IL 60501
J. RAYL TRANSPORT, INC.                 J. RAYL TRANSPORT, INC., PO BOX 932499 CLEVELAND OH 44193
J. SQUARED ENTERPRISES                  186 PRAIRIE SPRINGS AIRDRIE AB T4B 0G1 CANADA
J. T. EXPRESS, INC.                     311 N 350 E WASHINGTON IN 47501
J. V. GONZALEZ TRUCKING LLC             OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
J.A. BRUNDAGE THE DRAIN DOCTOR INC      1400 COLLEGE AVE NIAGARA FALLS NY 14305
J.A. ROBINSON PUMP SERVICE LTD          PO BOX 1144 SAINT JOHN NB E2L 4E6 CANADA
J.A. TURK TRUCKING LLC                  OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
J.B.T. TRUCKING, INC.                   9815 KY HWY 1247 WAYNESBURG KY 40489
J.D. BRIGGS COMMUNICATION, INC.         PO BOX 66 BARSTOW CA 92311
J.D. COCKBURN & ASSOCIATES INC          2 MASSARI ST CALEDON VILLAGE ON L7K 0B6 CANADA
J.D. GARCIA TRANSPORTATION CORP         OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
J.D. SAPP                               OR TRANSPORT FACTORING INC. PO BOX 167648 IRVING TX 75016
J.D.S. SERVICES                         340 4TH ST WHITEHALL PA 18052
J.E.T., INC. OF SEARCY                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
J.F. YOUNG TRUCKING, L.L.C.             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
J.H.C, SOUTH, INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
J.J. ADVANTAGE SECURITY                 24449 ARROWHEAD DR MANHATTAN IL 60442
J.J. ADVANTAGE SECURITY                 P.O. BOX 50 MANHATTAN IL 60442
J.J. ADVANTAGE SECURITY                 PO BOX 50 MANHATTAN IL 60442-1452
J.J. SANTINI SPECIALIZED TRANSPORT, LLC OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
J.K. MILLER BROS GARAGE LLC             238 EAST EMMAUS AVE ALLENTOWN PA 18103
J.LEWIS TRUCKING, L.L.C.                6 VIRUNGA CT APT L WINDSOR MILL MD 21244



Epiq Corporate Restructuring, LLC                                                                    Page 936 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 945 of 2156

Claim Name                           Address Information
J.M.B TRANSPORT                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
J.O.Y. TRUCKING                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
J.P. ELLIOTT ASSOCIATES, INC.        6789 MAIN STREET BUFFALO NY 14221
J.P. ENTERPRISES, LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
J.P. MORGAN/CLEARING (0352)          ATT CORPORATE ACTIONS TEAM 500 STANTON CHRISTIANA RD. NCC5 FL3 NEWARK DE 19713
J.P.S AIR CONDITIONING SERVICE LTD   69 MILLSTREAM WAY WINNIPEG MB R3T 5P8 CANADA
J.P.S AIR CONDITIONING SERVICE LTD   90 LILAC BAY OAKBANK MB R5N 0J3 CANADA
J.R. ELECTRICAL LLC                  703 FAIRGATE RD, SUITE 103 MARIETTA GA 30064
J.S. ALLISON TRANSPORT, INC.         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
J.S.K. TRUCKING COMPANY, INC.        OR J D FACTORS, PO BOX 687 WHEATON IL 60187
J.S.L. FAMILY TRUCKING L.L.C.        OR TAB BANK, PO BOX 150830 OGDEN UT 84415
J.T. MARTIN FIRE & SAFETY            PO BOX 670 CLARKSBURG WV 26302
J.W. HURD FABRICATION INC            939 ANTELOPE RD WHITE CITY OR 97503
J1S LOGISTICS LLC                    141 MOUNTAIN VIEW DRIVE GARNER NC 27529
J1SLOGISTICS                         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
J2 COMPANY LLC                       38 OLD HICKORY CV, SUITE E-100 JACKSON TN 38305
J2 LOGISTICS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
J2O CONSULTANTS LLC                  OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
J3 TRUCKING LLC                      OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
J5 CARGO LLC                         300 LENORA ST 703 SEATTLE WA 98121
J7 EXPRESS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
J8 EQUIPMENT CO OF TEXAS INC.        P.O.BOX 224647 DALLAS TX 75222
JA FREIGHT SERVICES INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JA GALLARDO TRANSPORT                2398 SOLANO AVE TULARE CA 93274-6188
JA GO TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JA NATIONWIDE INC                    ATTN: BECKY CONANT PO BOX 1090 MCHENRY IL 60051
JA RENTALS                           C/O ACCOUNTS RECEIVABLE, PO BOX 88893 CAROL STREAM IL 60188
JA RU INC                            12901 FLAGLER CENTER BLVD JACKSONVILLE FL 32258
JA RU INC                            ATTN: TORY KING 13875 GRAN BAY PKWY JACKSONVILLE FL 32258
JA TRANSPORT LLC                     700 BARNETT HWY BREWTON AL 36426
JAA TRANSPORT LOGISTICS LLC          OR ITHRIVE FUNDING DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
JAALEX TRANSPORTATION LLC            OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
JAAM TRUCKING INC                    12200 VISTA POINT CIR JACKSONVILLE FL 32246
JAAZ FREIGHT TRANSPORTATION LLC      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
JAAZ FREIGHT TRANSPORTATION LLC      OR TAB BANK, PO BOX 150290 OGDEN UT 84415
JABARI I HERRING                     ADDRESS ON FILE
JABARI O LEWIS                       ADDRESS ON FILE
JABCUGA, DAVID                       ADDRESS ON FILE
JABI TRANSPORTATION LLC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
JABLONSKI, JAMES                     ADDRESS ON FILE
JABLONSKI, ROBERT                    ADDRESS ON FILE
JAC TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JAC TRANSPORTATION LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JAC TRUCKING CORPORATE INC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JACE TRANSPORT LLC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
JACEWICZ, ALAN                       ADDRESS ON FILE
JACIAM SERVICES & TRANSPORT INC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JACINTO GARCIA, OSCAR                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 937 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 946 of 2156

Claim Name                           Address Information
JACINTO GARCIA, SERGIO               ADDRESS ON FILE
JACINTO, FLORENTINO                  ADDRESS ON FILE
JACINTO, JACK                        ADDRESS ON FILE
JACK C. MOSS TRUCKING INC            N76W19651 BECKER DRIVE LANNON WI 53046
JACK CHAMBERLAIN                     ADDRESS ON FILE
JACK D SHUGURS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JACK GALLMAN TRUCKING                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JACK KITCHINGHAM                     ADDRESS ON FILE
JACK LYONS TRUCK PARTS, INC.         8482 NW 96TH ST MEDLEY FL 33166
JACK MAGGS INSURANCE AGENCY          5301 GROVE RD PITTSBURGH PA 15236
JACK PEDOWITZ ENTERPRISES INC.       1765 EXPRESS DRIVE NORTH HAUPPAUGE NY 11788
JACK WARD & SONS PLUMBING CO. INC    1100 TUCKAHOE DR NASHVILLE TN 37207
JACK, BRUCE                          ADDRESS ON FILE
JACK, BRYAN                          ADDRESS ON FILE
JACK, CHRISTOPHER                    ADDRESS ON FILE
JACKET TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JACKIE L FULLER                      ADDRESS ON FILE
JACKIE TOBIN                         ADDRESS ON FILE
JACKLICK, JOAQUIN                    ADDRESS ON FILE
JACKMAN, RACHEL                      ADDRESS ON FILE
JACKNOB CPR                          ATTN: ANGELA COSTA 290 OSER AVE HAUPPAUGE NY 11788
JACKO LOGIISTICS LLC                 JACKO LOGIISTICS LLC, PO BOX 871627 VANCOUVER WA 98687
JACKPOT LOGISTICS LLC                OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
JACKRAY TRUCKING LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JACKS DO IT SHOP & UPHOLSTERY LLC    2099 FARDOWN AVENUE SALT LAKE CITY UT 84121
JACKSON AIR & HYDRAULIC, INC.        PO BOX 180142 RICHLAND MS 39218
JACKSON ASSOCIATED EXPRESS LLC       OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JACKSON BIG RIGS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JACKSON CITY TRANSPORT               706 MARTIN LUTHER KING JR DR JACKSON MI 49203
JACKSON COMMUNICATIONS INC           309A AIRPORT RD SOUTH PEARL MS 39208
JACKSON COMPACTION LLC               6420 2ND ST NW ALBUQUERQUE NM 87107
JACKSON CONTROL                      1708 E. 10TH ST. INDIANAPOLIS IN 46201
JACKSON COUNTY AUD./TREAS.           P.O. BOX 226 JACKSON MN 56143-0226
JACKSON COUNTY GA                    67 ATHENS STREET JEFFERSON GA 30549
JACKSON COUNTY PAYMENT CTR           PO BOX 5020 PORTLAND OR 97208
JACKSON COUNTY TAX COLLECTOR         PO BOX 219747 KANSAS CITY MO 64121
JACKSON COUNTY TAX COMMISSIONER      PO BOX 247 JEFFERSON GA 30549
JACKSON EMC                          P.O. BOX 38 850 COMMERCE ROAD JEFFERSON GA 30549
JACKSON ENERGY AUTHORITY             351 DR MARTIN LUTHER KING JR DR JACKSON TN 38301
JACKSON EXPRESS TRUCKING LLC         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JACKSON GLASS WORKS, INC             555 SOUTH COOPER ST. JACKSON MI 49201
JACKSON GROUP PETERBILT              PO BOX 27634 SALT LAKE CITY UT 84127
JACKSON GROUP PETERBILT SALINA       385 E 1620 S SALINA UT 84654
JACKSON GROUP PORTLAND PETERBILT     5555 N LAGOON AVE PORTLAND OR 97217
JACKSON JR, GLEN                     ADDRESS ON FILE
JACKSON L PARSHALL                   ADDRESS ON FILE
JACKSON OVERHEAD DOOR COMPANY        2136 HOLLYWOOD DRIVE JACKSON TN 38305
JACKSON PAPER COMPANY                4400-C MANGUM DRIVE FLOWOOD MS 39232
JACKSON ROYAL CARRIERS LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                Page 938 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 947 of 2156

Claim Name                              Address Information
JACKSON SERVICES                        1411 WHITESVILLE ST LAGRANGE GA 30240
JACKSON SHIPPING LLC                    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
JACKSON TRAILER & EQUIPMENT, LLC        PO BOX 6366 PEARL MS 39208
JACKSON TRAILER SERVICE INC             20 EL MORGAN DR JACKSON TN 38305
JACKSON TRANSPORT SERVICES LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JACKSON TRANSPORT XPRESS LLC            OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
JACKSON TRANSPORTATION SERVICES, INC.   PO BOX 3154 GRAPEVINE TX 76099
JACKSON TRUCK & TRAILER REPAIR, INC.    D/B/A: JACKSON TRAILER & EQUIPMENT, LLC PO BOX 6366 PEARL MS 39208
JACKSON TRUCK & TRAILER REPAIR, INC.    PO BOX 10215 JEFFERSON LA 70181
JACKSON TRUCKERS LLC                    5604 DAYWALT AVE BALTIMORE MD 21206-4407
JACKSON TRUCKERS LLC                    OR BOBTAIL CAPTIAL LLC, PO BOX 7410633 CHICAGO IL 60674-0633
JACKSON V ENTERPRISE LLC                1740 HUDSON BRIDGE RD STE 1207 STOCKBRIDGE GA 30281
JACKSON, AARON                          ADDRESS ON FILE
JACKSON, ABBIGAIL                       ADDRESS ON FILE
JACKSON, ADAM                           ADDRESS ON FILE
JACKSON, ALANDIS                        ADDRESS ON FILE
JACKSON, ALEX                           ADDRESS ON FILE
JACKSON, ALFRED                         ADDRESS ON FILE
JACKSON, ALIAYAH                        ADDRESS ON FILE
JACKSON, ALISON                         ADDRESS ON FILE
JACKSON, ALISON                         ADDRESS ON FILE
JACKSON, ANTHONY                        ADDRESS ON FILE
JACKSON, ANTHONY                        ADDRESS ON FILE
JACKSON, ANTHONY                        ADDRESS ON FILE
JACKSON, ANTHONY                        ADDRESS ON FILE
JACKSON, ANTHONY                        ADDRESS ON FILE
JACKSON, ANTHONY                        ADDRESS ON FILE
JACKSON, AUSTIN                         ADDRESS ON FILE
JACKSON, BARRY                          ADDRESS ON FILE
JACKSON, BENJAMIN                       ADDRESS ON FILE
JACKSON, BOBBY                          ADDRESS ON FILE
JACKSON, BOBBY R                        ADDRESS ON FILE
JACKSON, BRAD                           ADDRESS ON FILE
JACKSON, BRYAN                          ADDRESS ON FILE
JACKSON, BRYAN A                        ADDRESS ON FILE
JACKSON, CALVIN                         ADDRESS ON FILE
JACKSON, CAROLYN                        ADDRESS ON FILE
JACKSON, CASEY                          ADDRESS ON FILE
JACKSON, CECIL                          ADDRESS ON FILE
JACKSON, CEDRIC                         ADDRESS ON FILE
JACKSON, CHANDLER                       ADDRESS ON FILE
JACKSON, CHARLES                        ADDRESS ON FILE
JACKSON, CHRISTOPHER                    ADDRESS ON FILE
JACKSON, CHRISTOPHER                    ADDRESS ON FILE
JACKSON, CHRISTOPHER                    ADDRESS ON FILE
JACKSON, CHRISTOPHER                    ADDRESS ON FILE
JACKSON, COLLIN                         ADDRESS ON FILE
JACKSON, CORNELL                        ADDRESS ON FILE
JACKSON, DAMON                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 939 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 948 of 2156

Claim Name                        Address Information
JACKSON, DARIUS                   ADDRESS ON FILE
JACKSON, DARLENE                  ADDRESS ON FILE
JACKSON, DARNELL                  ADDRESS ON FILE
JACKSON, DARRELL                  ADDRESS ON FILE
JACKSON, DAVE                     ADDRESS ON FILE
JACKSON, DAVID                    ADDRESS ON FILE
JACKSON, DAYZAWN                  ADDRESS ON FILE
JACKSON, DEANGELO                 ADDRESS ON FILE
JACKSON, DEMARIUS                 ADDRESS ON FILE
JACKSON, DEMESHUN                 ADDRESS ON FILE
JACKSON, DENITA                   ADDRESS ON FILE
JACKSON, DERWIN                   ADDRESS ON FILE
JACKSON, DEVEYON                  ADDRESS ON FILE
JACKSON, DEVONIA                  ADDRESS ON FILE
JACKSON, DIANTAE                  ADDRESS ON FILE
JACKSON, DIMARIO                  ADDRESS ON FILE
JACKSON, DWIGHT                   ADDRESS ON FILE
JACKSON, EARNEST                  ADDRESS ON FILE
JACKSON, EDWARD                   ADDRESS ON FILE
JACKSON, EDWARD                   ADDRESS ON FILE
JACKSON, ELESTER                  ADDRESS ON FILE
JACKSON, ERIC                     ADDRESS ON FILE
JACKSON, ERIC                     ADDRESS ON FILE
JACKSON, FRAN                     ADDRESS ON FILE
JACKSON, GARREL                   ADDRESS ON FILE
JACKSON, GAYLEN                   ADDRESS ON FILE
JACKSON, GEORGE                   ADDRESS ON FILE
JACKSON, GERALDINE                ADDRESS ON FILE
JACKSON, GINA                     ADDRESS ON FILE
JACKSON, GREGG                    ADDRESS ON FILE
JACKSON, GREGORY                  ADDRESS ON FILE
JACKSON, HAROLD                   ADDRESS ON FILE
JACKSON, HENRY                    ADDRESS ON FILE
JACKSON, HOLLY                    ADDRESS ON FILE
JACKSON, IASSAC                   ADDRESS ON FILE
JACKSON, IVAN                     ADDRESS ON FILE
JACKSON, JACK                     ADDRESS ON FILE
JACKSON, JACKIE                   ADDRESS ON FILE
JACKSON, JAMES                    ADDRESS ON FILE
JACKSON, JAMES                    ADDRESS ON FILE
JACKSON, JAMES                    ADDRESS ON FILE
JACKSON, JAMES                    ADDRESS ON FILE
JACKSON, JASMINE                  ADDRESS ON FILE
JACKSON, JASON                    ADDRESS ON FILE
JACKSON, JAYLEN                   ADDRESS ON FILE
JACKSON, JEREMY                   ADDRESS ON FILE
JACKSON, JEROME                   ADDRESS ON FILE
JACKSON, JEROME                   ADDRESS ON FILE
JACKSON, JEROME                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 940 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 949 of 2156

Claim Name                         Address Information
JACKSON, JERRED                    ADDRESS ON FILE
JACKSON, JERRY                     ADDRESS ON FILE
JACKSON, JERRY                     ADDRESS ON FILE
JACKSON, JERRY                     ADDRESS ON FILE
JACKSON, JESSE                     ADDRESS ON FILE
JACKSON, JIMMY                     ADDRESS ON FILE
JACKSON, JOHNATHAN                 ADDRESS ON FILE
JACKSON, JONATHAN A                ADDRESS ON FILE
JACKSON, JOSEPH                    ADDRESS ON FILE
JACKSON, JOSEPH                    ADDRESS ON FILE
JACKSON, JOSHUA                    ADDRESS ON FILE
JACKSON, JOVIAN                    ADDRESS ON FILE
JACKSON, JULIUS                    ADDRESS ON FILE
JACKSON, JULIUS                    ADDRESS ON FILE
JACKSON, KAREN                     ADDRESS ON FILE
JACKSON, KEITH                     ADDRESS ON FILE
JACKSON, KELLY                     ADDRESS ON FILE
JACKSON, KENNETH                   ADDRESS ON FILE
JACKSON, KENNETH                   ADDRESS ON FILE
JACKSON, KENNETH                   ADDRESS ON FILE
JACKSON, KETLA                     ADDRESS ON FILE
JACKSON, KEVIN                     ADDRESS ON FILE
JACKSON, KEVIN                     ADDRESS ON FILE
JACKSON, KEVIN                     ADDRESS ON FILE
JACKSON, KIVVON                    ADDRESS ON FILE
JACKSON, KNILYN                    ADDRESS ON FILE
JACKSON, KYLE                      ADDRESS ON FILE
JACKSON, LARRY                     ADDRESS ON FILE
JACKSON, LATORSHE                  ADDRESS ON FILE
JACKSON, LATORSHE                  ADDRESS ON FILE
JACKSON, LATOYA                    ADDRESS ON FILE
JACKSON, LAWRENCE                  ADDRESS ON FILE
JACKSON, LEROY                     ADDRESS ON FILE
JACKSON, LEROY                     ADDRESS ON FILE
JACKSON, LEROY                     ADDRESS ON FILE
JACKSON, LEROY                     ADDRESS ON FILE
JACKSON, LEROY F                   ADDRESS ON FILE
JACKSON, LEROY F                   ADDRESS ON FILE
JACKSON, LEWANA                    ADDRESS ON FILE
JACKSON, LOURDES                   ADDRESS ON FILE
JACKSON, MALIK                     ADDRESS ON FILE
JACKSON, MARCUS                    ADDRESS ON FILE
JACKSON, MARK                      ADDRESS ON FILE
JACKSON, MARK                      ADDRESS ON FILE
JACKSON, MARLON                    ADDRESS ON FILE
JACKSON, MATTHEW                   ADDRESS ON FILE
JACKSON, MAURICE                   ADDRESS ON FILE
JACKSON, MAURICE                   ADDRESS ON FILE
JACKSON, MICHAEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 941 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 950 of 2156

Claim Name                        Address Information
JACKSON, MICHAEL                  ADDRESS ON FILE
JACKSON, MICHAEL                  ADDRESS ON FILE
JACKSON, MICHAEL                  ADDRESS ON FILE
JACKSON, MICHAEL                  ADDRESS ON FILE
JACKSON, MICHAEL                  ADDRESS ON FILE
JACKSON, MICHAEL A                ADDRESS ON FILE
JACKSON, MIKE                     ADDRESS ON FILE
JACKSON, MODEACON                 ADDRESS ON FILE
JACKSON, MONROE                   ADDRESS ON FILE
JACKSON, MONTEZ                   ADDRESS ON FILE
JACKSON, MYRON                    ADDRESS ON FILE
JACKSON, NETTA                    ADDRESS ON FILE
JACKSON, NICHOLAS                 ADDRESS ON FILE
JACKSON, ORLANDO                  ADDRESS ON FILE
JACKSON, ORLANDO                  ADDRESS ON FILE
JACKSON, PAULA SAMANTHA           ADDRESS ON FILE
JACKSON, PERRY                    ADDRESS ON FILE
JACKSON, PETER                    ADDRESS ON FILE
JACKSON, PHILIP                   ADDRESS ON FILE
JACKSON, PRINCE                   ADDRESS ON FILE
JACKSON, RASHEED                  ADDRESS ON FILE
JACKSON, RAYMOND                  ADDRESS ON FILE
JACKSON, RICHARD                  ADDRESS ON FILE
JACKSON, RICK                     ADDRESS ON FILE
JACKSON, ROBERT                   ADDRESS ON FILE
JACKSON, RODERICK                 ADDRESS ON FILE
JACKSON, RONALD                   ADDRESS ON FILE
JACKSON, ROY                      ADDRESS ON FILE
JACKSON, SCOTT                    ADDRESS ON FILE
JACKSON, SHADREKA                 ADDRESS ON FILE
JACKSON, SHANNON                  ADDRESS ON FILE
JACKSON, STERLING                 ADDRESS ON FILE
JACKSON, SYLVESTER                ADDRESS ON FILE
JACKSON, TAKAI                    ADDRESS ON FILE
JACKSON, TARIUS                   ADDRESS ON FILE
JACKSON, TERESA                   ADDRESS ON FILE
JACKSON, TERRANCE                 ADDRESS ON FILE
JACKSON, TERRENCE                 ADDRESS ON FILE
JACKSON, TERRY                    ADDRESS ON FILE
JACKSON, THOMAS                   ADDRESS ON FILE
JACKSON, THOMAS                   ADDRESS ON FILE
JACKSON, TIMOTHY                  ADDRESS ON FILE
JACKSON, TOMMY                    ADDRESS ON FILE
JACKSON, TRAVIS                   ADDRESS ON FILE
JACKSON, VAN                      ADDRESS ON FILE
JACKSON, VICTOR                   ADDRESS ON FILE
JACKSON, VINCENT                  ADDRESS ON FILE
JACKSON, WILBERT                  ADDRESS ON FILE
JACKSON, WILLIE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 942 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 951 of 2156

Claim Name                           Address Information
JACKSONS HEATING & AIR               1411 WHITESVILLE ST LAGRANGE GA 30240
JACKYMOON CORP                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JACMA SERVICES LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JACOB A FLORES                       ADDRESS ON FILE
JACOB A LEINER                       ADDRESS ON FILE
JACOB BARKELL                        ADDRESS ON FILE
JACOB BURK                           ADDRESS ON FILE
JACOB C CONOVER                      ADDRESS ON FILE
JACOB CAVAZOS                        ADDRESS ON FILE
JACOB D BOUTIN                       ADDRESS ON FILE
JACOB DAUGHERTY                      ADDRESS ON FILE
JACOB E THOMAS                       ADDRESS ON FILE
JACOB J KITSON                       ADDRESS ON FILE
JACOB KOELLING                       ADDRESS ON FILE
JACOB O ALVA                         ADDRESS ON FILE
JACOB O ALVA                         ADDRESS ON FILE
JACOB TRANSPORT INC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
JACOB TRANSPORT INC (MC426331)       OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
JACOB, APOLLO                        ADDRESS ON FILE
JACOB, CHRISTINE                     ADDRESS ON FILE
JACOBIN LOGISTICS LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JACOBINOS TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JACOBO, CHRISTOPHER                  ADDRESS ON FILE
JACOBS AUTO GLASS                    111 N VISTA RD 48 SPOKANE WA 99212
JACOBS ENTERPRISE, LLC               260 E 200 N RUSHVILLE IN 46173
JACOBS LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JACOBS LOGISTICS LLC                 54 LANYARD COURT SACRAMENTO CA 95831
JACOBS TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JACOBS, AMANDA                       ADDRESS ON FILE
JACOBS, BARON                        ADDRESS ON FILE
JACOBS, BENJAMIN                     ADDRESS ON FILE
JACOBS, CHRISTOPHER                  ADDRESS ON FILE
JACOBS, DEAN                         ADDRESS ON FILE
JACOBS, DERRICK                      ADDRESS ON FILE
JACOBS, DERRIN                       ADDRESS ON FILE
JACOBS, DWAYNE C                     ADDRESS ON FILE
JACOBS, DWIGHT                       ADDRESS ON FILE
JACOBS, FALCON                       ADDRESS ON FILE
JACOBS, JAKEISHA                     ADDRESS ON FILE
JACOBS, JEFFREY                      ADDRESS ON FILE
JACOBS, MARTIN                       ADDRESS ON FILE
JACOBS, MIKE                         ADDRESS ON FILE
JACOBS, ROBERT                       ADDRESS ON FILE
JACOBS, RYAN                         ADDRESS ON FILE
JACOBS, SANDRA                       ADDRESS ON FILE
JACOBS, TEDRICK                      ADDRESS ON FILE
JACOBS, WILLIAM                      ADDRESS ON FILE
JACOBSEN, CHASE                      ADDRESS ON FILE
JACOBSEN, MARK                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 943 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 952 of 2156

Claim Name                           Address Information
JACOBSON TRANS LLC                   587 ELWOOD DRIVE DUNCAN SC 29334
JACOBSON, EMILY                      ADDRESS ON FILE
JACOBSON, KIMBERLY                   ADDRESS ON FILE
JACOBSON, RANDY                      ADDRESS ON FILE
JACOBSON, RICH                       ADDRESS ON FILE
JACOBSON, SAMUEL                     ADDRESS ON FILE
JACOBSON, SYLVIA                     ADDRESS ON FILE
JACOBSON, TONIA & RICHARD            ADDRESS ON FILE
JACOBSON, TONIA & RICHARD            ADDRESS ON FILE
JACOBUS ENERGY LLC                   PO BOX 532156 ATLANTA GA 30353
JACOBUS ENERGY LLC                   BOX 88249 MILWAUKEE WI 53288-0249
JACOBUSSE, JOHN                      ADDRESS ON FILE
JACOBY, BARBARA                      ADDRESS ON FILE
JACOP LOGISTICS INC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
JACOX, DAVID                         ADDRESS ON FILE
JACQUELINE M MINICH                  ADDRESS ON FILE
JACQUELINE MCGILLICK                 ADDRESS ON FILE
JACQUELYN LEAP                       ADDRESS ON FILE
JACQUET, ROWAN                       ADDRESS ON FILE
JACQULYN MINGLIN-DOWSETT             ADDRESS ON FILE
JAD EXPRESS CORP                     PO BOX 335 LODI NJ 07644
JAD EXPRESS CORP                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JADA TRANSPORTATION LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JADAN & WALL ENTERPRISES LLC         OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
JADE HEYERLY                         ADDRESS ON FILE
JADE LOGISTICS                       4703 W GATE CITY BLVD GREENSBORO NC 27407-5303
JADE TRANSPORT ENTERPRISE LLC        OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
JADE TRANSPORT ENTERPRISE LLC        18638 NW 78TH COURT HIALEAH FL 33015
JADEN EXPRESS INC                    PO BOX 1676 CHINO CA 91708
JADL LOGISTICS LLC                   19519 PORTSMOUTH DR HAGERSTOWN MD 21742
JADPAK TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JAEGER, BRADLEY                      ADDRESS ON FILE
JAEGLE, DERRICK                      ADDRESS ON FILE
JAELLE TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAES TOWING & REPAIR                 1697 HEBRON ROAD HEATH OH 43056
JAEZRA TRANSPORT LLC                 OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
JAF TRUCKING INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
JAFFAL, AHMED                        ADDRESS ON FILE
JAFFE, MICHAEL                       ADDRESS ON FILE
JAFRY CARTAGE LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JAG FREIGHT INC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JAG PAVING CORP                      220 KEARNY AVE KEARNY NJ 07032
JAG TRANSPORT USA INC                2833 COLLETON DR MARIETTA GA 30066
JAG TRUCKING, INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JAGAL TRANSPORTATION SERVICE LLC     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
JAGAR TRUCKING INC                   10129 FLAXMAN ST HOUSTON TX 77029
JAGDEV GILL                          ADDRESS ON FILE
JAGELSKI, BENJAMIN                   ADDRESS ON FILE
JAGER, ALLEN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 944 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 953 of 2156

Claim Name                           Address Information
JAGER, ERIK                          ADDRESS ON FILE
JAGG ELECTRIC                        18 LANCASTER PKWY. LANCASTER NY 14086
JAGGA TRANSPORT LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JAGGER, DONNA                        ADDRESS ON FILE
JAGGERS, JEFFREY                     ADDRESS ON FILE
JAGGERS, PATRICIA                    ADDRESS ON FILE
JAGGIE, SHAWN                        ADDRESS ON FILE
JAGIM TRANSPORTATION, INC.           4335 PARADISE RD, PO BOX 206 WATSONTOWN PA 17777
JAGUAR GLOBAL SOLUTIONS LLC          OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
JAGUAR GROUND EXPEDITE LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JAGUAR HAULING LTD.                  3524-8ST, N2 EDMONTON AB T6T 1A2 CANADA
JAGUAR LOGISTICS LLC                 OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
JAGUAR TRANS INC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
JAGUAR TRANSPORTS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JAH & KING TRANSPORT LLC.            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JAH TRANSPORT LLC                    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JAHBLESS EXPRESS                     OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
JAHG TRANSPORT LLC                   180 SEASE HILL ROAD LEXINGTON SC 29073
JAHJA, AGRON                         ADDRESS ON FILE
JAIEM TRANSPORT LLC                  3 TURNER STREET WILLIMANTIC CT 06226
JAIKARA TRANS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JAILHOUSE ENTERPRISES, LLC           2911 EMERSON AVE PARKERSBURG WV 26104
JAILHOUSE ENTERPRISES, LLC           220 GILMAN AVENUE MARIETTA OH 45750
JAIME BARRAGAN                       ADDRESS ON FILE
JAIME, MARIA LUISA                   ADDRESS ON FILE
JAIMES, ALBINO                       ADDRESS ON FILE
JAIMES, MARCELO                      ADDRESS ON FILE
JAIN, SAMTA                          ADDRESS ON FILE
JAIPUR LIVING                        ATTN: HOLLY MENKE IL2000 PO BOX 8372 VIRGINIA BEACH VA 23450
JAISON HAYDEN                        ADDRESS ON FILE
JAISWAL, MANTHAN HARESHKUMAR         ADDRESS ON FILE
JAJ TRUCKING                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JAJU, PRAKASH RAMRATON               ADDRESS ON FILE
JAK CARRIERS INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JAK LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JAK S HAULER TRANSPORTING LLC        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JAKE BADOVINAC                       ADDRESS ON FILE
JAKE GLENN                           ADDRESS ON FILE
JAKE J DENNIS                        ADDRESS ON FILE
JAKE MARSHALL SERVICE INC            611 W. MANNING ST. PO BOX 4324 CHATTANOOGA TN 37405
JAKE MARSHALL SERVICE INC            P.O. BOX 4324 CHATTANOOGA TN 37405
JAKE TRANSPORTATION INC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JAKES, COURTNEY                      ADDRESS ON FILE
JAKIELASZEK, MICHAEL T               ADDRESS ON FILE
JAKOB EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JAKOVLJEVIC, MOMIR                   ADDRESS ON FILE
JAKOVLJEVIC, SRDAN                   ADDRESS ON FILE
JAKS CONTINENTAL TRANSPORT INC.      PO BOX 6366 VANCOUVER WA 98668
JAKUB MISZTAL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 945 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 954 of 2156

Claim Name                            Address Information
JAL TRANSPORTATION LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JALEN T RICE                          ADDRESS ON FILE
JALILZADEH, MOSTAFA                   ADDRESS ON FILE
JALLA INTERNATIONAL SERVICES LLC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JALLO LOGISTICS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JALLOH TRANSPORTATION LLC             OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
JALUDI, ABDUL                         ADDRESS ON FILE
JALWO TRUCKING LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
JAM BEST ONE FLEET SERVICE            5353 STICKNEY AVE. TOLEDO OH 43612
JAM BEST ONE FLEET SERVICE            6202 FAIRFIELD DR. NORTHWOOD OH 43619
JAM EXPRESS                           OR MDR CAPITAL LLC, PO BOX 686 FORT JONES CA 96032
JAM4 TRUCKING LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JAMAAL DOUGLAS                        ADDRESS ON FILE
JAMAICAN WALKERS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JAMAL A MAHMOOD                       ADDRESS ON FILE
JAMAL D JOHNSON                       ADDRESS ON FILE
JAMAL DOUGLAS                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JAMAR PITTS                           ADDRESS ON FILE
JAMBO LOGISTICS                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JAMBO TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JAMCO EXPRESS LLC                     OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                      UT 84130
JAMCO EXPRESS LLC (MC1334114)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JAMEN, MICHAEL                        ADDRESS ON FILE
JAMERE VALLEY LOGISTICS LLC           OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JAMES & CO TRUCKING LLC               OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
JAMES & JAMES FULFILLMENT INC         ATTN: SUPPORT 2235 SOUTHWEST BLVD STE H GROVE CITY OH 43123
JAMES A DEUTSCHMAN                    ADDRESS ON FILE
JAMES A NELSON                        ADDRESS ON FILE
JAMES A SCHULZ                        ADDRESS ON FILE
JAMES A SEMRAD                        ADDRESS ON FILE
JAMES A SMITH JR                      ADDRESS ON FILE
JAMES A WILLIS                        ADDRESS ON FILE
JAMES A ZENTZ                         ADDRESS ON FILE
JAMES A. SMITH TRANSPORTATION, INC.   PO BOX 1947 CULLMAN AL 35056
JAMES ABERNATHY TRUCKING LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAMES ACKER                           ADDRESS ON FILE
JAMES AND JAMES WOOD SHOP             1609 N. MISSOURI RD. SPRINGDALE AR 72764
JAMES AND JORDAN TRUCKING LLC         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
JAMES B AUDLEY                        ADDRESS ON FILE
JAMES B FARRINGTON                    ADDRESS ON FILE
JAMES BARTLETT                        ADDRESS ON FILE
JAMES BROTHERS TRANSPORTATION, LLC    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAMES BUNTING                         ADDRESS ON FILE
JAMES C OBRIEN                        ADDRESS ON FILE
JAMES C VANDERHOOF                    ADDRESS ON FILE
JAMES CHAPUT                          ADDRESS ON FILE
JAMES D BARACOSA                      ADDRESS ON FILE
JAMES D CRUMP                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 946 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                        Page 955 of 2156

Claim Name                        Address Information
JAMES D DUELLO                    ADDRESS ON FILE
JAMES D GIBBONS                   ADDRESS ON FILE
JAMES D HARTT                     ADDRESS ON FILE
JAMES D JOHNSON                   ADDRESS ON FILE
JAMES DEINER                      ADDRESS ON FILE
JAMES E HOFFMAN                   ADDRESS ON FILE
JAMES E ISOM                      ADDRESS ON FILE
JAMES E SIMMS                     ADDRESS ON FILE
JAMES E WOOD                      ADDRESS ON FILE
JAMES F ARIS                      ADDRESS ON FILE
JAMES FAUGHT                      ADDRESS ON FILE
JAMES FERGUSON                    ADDRESS ON FILE
JAMES FREEMAN                     ADDRESS ON FILE
JAMES G DEWISE                    ADDRESS ON FILE
JAMES G MOORE                     ADDRESS ON FILE
JAMES GASCHE                      ADDRESS ON FILE
JAMES H BLAKNEY                   ADDRESS ON FILE
JAMES H COLEMAN                   ADDRESS ON FILE
JAMES H HEDGECOCK                 ADDRESS ON FILE
JAMES HINES                       ADDRESS ON FILE
JAMES I FAIR                      ADDRESS ON FILE
JAMES JR, WILLIAM                 ADDRESS ON FILE
JAMES L BLANTON                   ADDRESS ON FILE
JAMES L MILES                     ADDRESS ON FILE
JAMES L SPENCE                    ADDRESS ON FILE
JAMES L SPENCE                    ADDRESS ON FILE
JAMES L TAUSCHER                  ADDRESS ON FILE
JAMES LENZ                        ADDRESS ON FILE
JAMES LENZ                        ADDRESS ON FILE
JAMES M CLAWSON                   ADDRESS ON FILE
JAMES M COOPER                    ADDRESS ON FILE
JAMES M DONLEY                    ADDRESS ON FILE
JAMES M FEZZA                     ADDRESS ON FILE
JAMES M HOLT                      ADDRESS ON FILE
JAMES M HOLT                      ADDRESS ON FILE
JAMES M HOWLAND                   ADDRESS ON FILE
JAMES M MULLEN                    ADDRESS ON FILE
JAMES M NACHE                     ADDRESS ON FILE
JAMES M SULLIVAN                  ADDRESS ON FILE
JAMES M VOGEL                     ADDRESS ON FILE
JAMES MASON ENTERPRISES, INC.     3810 BRIDGEPORT CIRCLE WICHITA KS 67219
JAMES MCCORMICK                   ADDRESS ON FILE
JAMES MOONEY                      ADDRESS ON FILE
JAMES OLIVER                      ADDRESS ON FILE
JAMES P ANGLIN                    ADDRESS ON FILE
JAMES P GILLESPIE                 ADDRESS ON FILE
JAMES P JENKINS                   ADDRESS ON FILE
JAMES P MCMANUS                   ADDRESS ON FILE
JAMES P MCMANUS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 947 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 956 of 2156

Claim Name                         Address Information
JAMES PAULSEN                      ADDRESS ON FILE
JAMES R BAAR                       ADDRESS ON FILE
JAMES R DARENDINGER                ADDRESS ON FILE
JAMES R HARDY JR                   ADDRESS ON FILE
JAMES R HARTMAN                    ADDRESS ON FILE
JAMES R HENRY                      ADDRESS ON FILE
JAMES R LOCKE                      ADDRESS ON FILE
JAMES R MERZ                       ADDRESS ON FILE
JAMES R OSBORNE                    ADDRESS ON FILE
JAMES R OSBORNE                    ADDRESS ON FILE
JAMES R RICHARDS                   ADDRESS ON FILE
JAMES R WHITE                      ADDRESS ON FILE
JAMES RICHARD ECK TRUCKING         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JAMES RIVER AIR LLC                1955 GLENRIDGE DRIVE KERNERSVILLE NC 27284
JAMES RIVER PETROLEUM, INC.        10487 LAKERIDGE PARKWAY ASHLAND VA 23005
JAMES RIVER PETROLEUM, INC.        DEPT 720067, P.O. BOX 1335 CHARLOTTE NC 28201
JAMES ROGERS                       ADDRESS ON FILE
JAMES S BURN                       ADDRESS ON FILE
JAMES S LOBMILLER                  ADDRESS ON FILE
JAMES SCHLECHTER                   ADDRESS ON FILE
JAMES SNEARLEY                     ADDRESS ON FILE
JAMES T GROVES                     ADDRESS ON FILE
JAMES T LOCKE                      ADDRESS ON FILE
JAMES T ONEAL                      ADDRESS ON FILE
JAMES TAYLOR JR                    ADDRESS ON FILE
JAMES TRUCKING LLC                 32654 TIMBER POINT DR BROOKSHIRE TX 77423-2840
JAMES V VIDA                       ADDRESS ON FILE
JAMES W E SLOAN                    ADDRESS ON FILE
JAMES W GREEN                      ADDRESS ON FILE
JAMES W JACKSON                    ADDRESS ON FILE
JAMES W JACKSON                    ADDRESS ON FILE
JAMES W OWENS                      ADDRESS ON FILE
JAMES W PAINTER                    ADDRESS ON FILE
JAMES WAY TRUCKING LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAMES WAYDULA                      ADDRESS ON FILE
JAMES WEAKMAN                      ADDRESS ON FILE
JAMES WILLETT                      ADDRESS ON FILE
JAMES, ADIO                        ADDRESS ON FILE
JAMES, AHMAD                       ADDRESS ON FILE
JAMES, AMARAL G                    ADDRESS ON FILE
JAMES, ANDREZ                      ADDRESS ON FILE
JAMES, ANITA                       ADDRESS ON FILE
JAMES, BARBARA                     ADDRESS ON FILE
JAMES, COLE                        ADDRESS ON FILE
JAMES, DARRIUS                     ADDRESS ON FILE
JAMES, DESEAN                      ADDRESS ON FILE
JAMES, DEXTER                      ADDRESS ON FILE
JAMES, ERIC                        ADDRESS ON FILE
JAMES, FITZROY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 948 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 957 of 2156

Claim Name                             Address Information
JAMES, FREDERICK                       ADDRESS ON FILE
JAMES, GARY                            ADDRESS ON FILE
JAMES, GEOFFERY                        ADDRESS ON FILE
JAMES, HORIZON                         ADDRESS ON FILE
JAMES, JUSTIN                          ADDRESS ON FILE
JAMES, KEITH                           ADDRESS ON FILE
JAMES, KENNETH                         ADDRESS ON FILE
JAMES, KRISTOPHER                      ADDRESS ON FILE
JAMES, LANDIS                          ADDRESS ON FILE
JAMES, LYSHATRIUS                      ADDRESS ON FILE
JAMES, MARDERICA                       ADDRESS ON FILE
JAMES, MARK                            ADDRESS ON FILE
JAMES, MARQUICE                        ADDRESS ON FILE
JAMES, MARTHA                          ADDRESS ON FILE
JAMES, MESHA                           ADDRESS ON FILE
JAMES, MESHA S                         ADDRESS ON FILE
JAMES, NOAH                            ADDRESS ON FILE
JAMES, PAMELA                          ADDRESS ON FILE
JAMES, RANDY                           ADDRESS ON FILE
JAMES, RAYMOND                         ADDRESS ON FILE
JAMES, RONNIE                          ADDRESS ON FILE
JAMES, ROY                             ADDRESS ON FILE
JAMES, SHAY                            ADDRESS ON FILE
JAMES, SIGRISS                         ADDRESS ON FILE
JAMES, STEPHEN                         ADDRESS ON FILE
JAMES, THOMAS                          ADDRESS ON FILE
JAMES, TIMOTHY                         ADDRESS ON FILE
JAMES, TOBY                            ADDRESS ON FILE
JAMES, TRENTON                         ADDRESS ON FILE
JAMES, TREVOR                          ADDRESS ON FILE
JAMES, WILLIAM                         ADDRESS ON FILE
JAMES, ZACHARY                         ADDRESS ON FILE
JAMES-POWELL, EDWARD                   ADDRESS ON FILE
JAMESKONEDO LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JAMESTOWN INDUSTRIAL TRUCKS            BOX 613 FREWSBURG NY 14738
JAMIE DAVIS MOTOR TRUCK AND AUTO LTD   19683 SILVER SKAGIT RD RR2 HOPE BC V0X 1L2 CANADA
JAMIE KOMORNIK                         ADDRESS ON FILE
JAMIE L AL-BILALI FOSTER               ADDRESS ON FILE
JAMIE L AL-BILALI FOSTER               ADDRESS ON FILE
JAMIE L CAMP                           ADDRESS ON FILE
JAMIE L STEWART                        ADDRESS ON FILE
JAMIE R BREEDLOVE                      ADDRESS ON FILE
JAMIESON, CHAD                         ADDRESS ON FILE
JAMIKE TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JAMIL, UZAIR                           ADDRESS ON FILE
JAMISON, CHRISTOPHER                   ADDRESS ON FILE
JAMISON, JERRY                         ADDRESS ON FILE
JAMISON, KEONI                         ADDRESS ON FILE
JAMISON, MARLO                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 949 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 958 of 2156

Claim Name                               Address Information
JAMMIE KELLY                             ADDRESS ON FILE
JAMMIES ENVIRONMENTAL INC.               128 INDUSTRIAL WAY LONGVIEW WA 98632
JAMMU BROS XPRESS INC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JAMRAKK TRANSPORT LLC                    10017 WINDING LAKE RD APT 104 SUNRISE FL 33351
JAMROCK TRUCKING COMPANY LLC             OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
JAMS INC                                 PO BOX 845402 LOS ANGELES CA 90084
JAN BALOGH                               ADDRESS ON FILE
JAN DOOR                                 ADDRESS ON FILE
JAN FORRO                                ADDRESS ON FILE
JAN O. KAFKA TRUCKING                    721 DANA DR VISTA CA 92083
JAN-PRO CENTRAL COAST                    1660 S. BROADWAY SUITE 101 SANTA MARIA CA 93455
JAN-PRO CLEANING SYSTEMS OF SW ONTARIO   C/O JUDOE INC 335 SOVEREIGN RD UNIT 2 LONDON ON N6M 1A6 CANADA
JANA EXPRESS INC                         4156 SOUTHWYCK RD UNIONTOWN OH 44685
JANACARO, MARK                           ADDRESS ON FILE
JANAVIS S HUDSON                         ADDRESS ON FILE
JANAVIS S HUDSON                         ADDRESS ON FILE
JANCAUSKAS, JOHNATHAN                    ADDRESS ON FILE
JANCO TRANSPORT                          34 BURGESS PLACE WAYNE NJ 07470
JANDO TRANSPORTATION                     4988 KINGSLEY ST MONTCLAIR CA 91763
JANE JONES                               ADDRESS ON FILE
JANE MUNGER                              ADDRESS ON FILE
JANE TRANSPORTATION, INC.                OR WALLACE COMPANY INC, PO BOX 988 FULTON MS 38843
JANELA, CARLOS                           ADDRESS ON FILE
JANES, ERICA                             ADDRESS ON FILE
JANES, NICHOLAS                          ADDRESS ON FILE
JANET ATWOOD-LUTES                       ADDRESS ON FILE
JANET H PARKEY                           ADDRESS ON FILE
JANET S. BISCHER FARMS, INC.             6121 PURDY ROAD RUTH MI 48470
JANG, ANNIE                              ADDRESS ON FILE
JANGA TRANSPORT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JANI LOGISTICS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JANI-KING OF NEW ORLEANS                 300 NE I-55 SERVICE ROAD PONCHATOULA LA 70454
JANI-KING OF ROANOKE / LYNCHBURG         3290 AIRLINE BLVD PORTSMOUTH VA 23701
JANIAK, BRADLEY                          ADDRESS ON FILE
JANICE NIXON                             ADDRESS ON FILE
JANICE STEWART                           ADDRESS ON FILE
JANICE STEWART                           ADDRESS ON FILE
JANIS, MICHAEL                           ADDRESS ON FILE
JANISERV INC.                            P.O. BOX 95512 SOUTH JORDAN UT 84095
JANITORIAL CORONAS                       ADDRESS ON FILE
JANITORIAL CORONAS                       ADDRESS ON FILE
JANKOVIK & SON ASPHALT SEALING           6100 ITALY RD EXPORT PA 15632
JANKOWSKI, JOESPH                        ADDRESS ON FILE
JANKOWSKI, MICHAEL                       ADDRESS ON FILE
JANKOWSKI, WENDY                         ADDRESS ON FILE
JANN LOGISTICS INC                       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
JANNA TRANSPORT LLC                      OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
JANNEY MONT. SCOTT INC. (0374)           ATT KURT DODDS OR PROXY MGR 1717 ARCH ST, 17TH FL PHILADELPHIA PA 19103
JANNOTTI, LAWRENCE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 950 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 959 of 2156

Claim Name                           Address Information
JANOW, ROB                           ADDRESS ON FILE
JANOWICZ, JOSEPH A.                  ADDRESS ON FILE
JANOWICZ, JOSEPH A.                  ADDRESS ON FILE
JANSAN, JEGAN                        ADDRESS ON FILE
JANSEN, ALAN                         ADDRESS ON FILE
JANSEN, COREY                        ADDRESS ON FILE
JANSEN, DOUGLAS                      ADDRESS ON FILE
JANSSEN PEST SOLUTIONS INC           10552 JUSTIN DR URBANDALE IA 50322
JANSSEN RESEARCH & DEVELOPMENT       ATTN: THUON THEP 1600 SIERRA POINT PKWY BRISBANE CA 94005
JANSSEN, DAVID                       ADDRESS ON FILE
JANSSEN, JASON                       ADDRESS ON FILE
JANSSEN, PENNEE                      ADDRESS ON FILE
JANSSENS, MATTHEW                    ADDRESS ON FILE
JANSY TRANSPORT LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JANTIZE AMERICA                      5555 CONCORD PKWY SOUTH, STE 336 CONCORD NC 28027
JANTTI, MELVIN                       ADDRESS ON FILE
JANTZEN, DUSTIN                      ADDRESS ON FILE
JANTZEN, JOELLE                      ADDRESS ON FILE
JANUARY THRU DECEMBER TRUCKING LLC   OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
JANUS INTERNATIONAL                  135 JANUS INTERNATIONAL BLVD TEMPLE GA 30179
JANVIER, MARIO                       ADDRESS ON FILE
JAO TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JAP EXPRESS LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JAP TRANS INC                        11614 CANNINGTON CIR FISHERS IN 46037
JAP TRUCKING INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JAP TRUCKING LTD                     OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA AB L3V 6L4
                                     CANADA
JAPAN ENGINE INC                     2131 WILLIAMS ST SAN LEANDRO CA 94577
JAPCO TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JAPRA CORPORATION                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JAQUEZ, JUAN                         ADDRESS ON FILE
JAQUEZ, RUBEN                        ADDRESS ON FILE
JAQUITA CAUGHRON                     ADDRESS ON FILE
JAR EXPRESS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAR-CRIS ENTERPRISES INC.            65 ORVILLE DRIVE BOHEMIA NY 11716-2517
JARA, GUILLERMO                      ADDRESS ON FILE
JARA, JOHNATHAN H                    ADDRESS ON FILE
JARAMILLO, BALTAZAR                  ADDRESS ON FILE
JARAMILLO, ERNESTO                   ADDRESS ON FILE
JARAMILLO, HERNAN                    ADDRESS ON FILE
JARAMILLO, HERNAN D                  ADDRESS ON FILE
JARAMILLO, JESUS                     ADDRESS ON FILE
JARAMILLO, YOSUA                     ADDRESS ON FILE
JARED A CLEMENTS                     ADDRESS ON FILE
JARED M JONES                        ADDRESS ON FILE
JARED S DYCK                         ADDRESS ON FILE
JARED SCHREIWEIS                     ADDRESS ON FILE
JAREK NICZYPORUK                     ADDRESS ON FILE
JARGUELLO TRUCKING                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 951 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 960 of 2156

Claim Name                          Address Information
JARMAN, MARK                        ADDRESS ON FILE
JARNIGAN, DANIEL                    ADDRESS ON FILE
JARNIGAN, JOHN                      ADDRESS ON FILE
JARRARD, CHASE                      ADDRESS ON FILE
JARRED, CHRIS                       ADDRESS ON FILE
JARRELL, DAVID                      ADDRESS ON FILE
JARRELL, JACOB                      ADDRESS ON FILE
JARRETT LOGISTICS                   1347 N MAIN ST ORRVILLE OH 44667
JARRETT LOGISTICS                   ATTN: BRENDA BENEDUM 1347 N MAIN ST ORRVILLE OH 44667
JARRETT LOGISTICS                   ATTN: LORA RUFENER 1347 N MAIN ST ORRVILLE OH 44667
JARRETT, ANTHONY                    ADDRESS ON FILE
JARRETT, HUNTER                     ADDRESS ON FILE
JARRETT, JORDAN                     ADDRESS ON FILE
JARRETT, SEBASTIAN                  ADDRESS ON FILE
JARVIS CUTTING TOOLS                JARVIS CUTTING TOOLS, 100 JARVIS AVE ROCHESTER NH 03868
JARVIS S ROWELL                     ADDRESS ON FILE
JARVIS T NAYLOR                     ADDRESS ON FILE
JARVIS, DEAN                        ADDRESS ON FILE
JARVIS, DONALD                      ADDRESS ON FILE
JARVIS, LEANNE                      ADDRESS ON FILE
JARVIS, MICHAEL                     ADDRESS ON FILE
JARVIS, STEVEN                      ADDRESS ON FILE
JAS FORWARDING                      4 PARKLANE BLVD SUITE 330 DEARBORN MI 48126
JAS FORWARDING USA                  6165 BARFIELD RD ATLANTA GA 30328
JASB TRANSPORTATION LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JASCO LOGISTICS LLC                 67 JACKSON AVENUE CARTERET NJ 07008
JASCO PRODUCTS                      UBER FREIGHT PO BOX 518 LOWELL AR 72745
JASHON TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JASINSKI, MARK                      ADDRESS ON FILE
JASKANWAR TRANSPORT INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JASKI, CHAD                         ADDRESS ON FILE
JASMA LLC                           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
JASMIN BAKIJA                       ADDRESS ON FILE
JASMIN EXPRESS LLC                  6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX 76116
JASMIN EXPRESS LLC                  OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL STE 1101 FORT WORTH TX 76116
JASMIN LOGISTICS LLC                1300 HARVARD DR ROCHESTER HILLS MI 48307
JASO, JOSEPH                        ADDRESS ON FILE
JASON C OLINGER                     ADDRESS ON FILE
JASON CURRY PERSONAL REP FOR        TOMLINSON ESTATE 2020 N KENNEDY ST ARLINGTON VA 22205
JASON J SEWILL                      ADDRESS ON FILE
JASON JUNGERMAN                     ADDRESS ON FILE
JASON L EVANS                       ADDRESS ON FILE
JASON L JACKSON                     ADDRESS ON FILE
JASON L WHITFIELD                   ADDRESS ON FILE
JASON L WILSON                      ADDRESS ON FILE
JASON M BONNEMA                     ADDRESS ON FILE
JASON M CRUME                       ADDRESS ON FILE
JASON M MCGARVEY                    ADDRESS ON FILE
JASON M SMITH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 952 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 961 of 2156

Claim Name                           Address Information
JASON P GOOTEE                       ADDRESS ON FILE
JASON PICKERILL                      ADDRESS ON FILE
JASON R CALHOUN                      ADDRESS ON FILE
JASON SCHNEBLIN                      ADDRESS ON FILE
JASON SMITH                          ADDRESS ON FILE
JASON SOLHEIM                        ADDRESS ON FILE
JASON STRANGE                        ADDRESS ON FILE
JASON STULL                          ADDRESS ON FILE
JASON T RINGGENBERG                  ADDRESS ON FILE
JASON T RINGGENBERG                  ADDRESS ON FILE
JASON TAYLOR                         ADDRESS ON FILE
JASON TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JASON TRUCKS INC                     407 MYSTIC AVE MEDFORD MA 02155
JASON W BERGMAN                      ADDRESS ON FILE
JASON W COOPER                       ADDRESS ON FILE
JASON W SMITH                        ADDRESS ON FILE
JASON ZUR                            ADDRESS ON FILE
JASON, TONY                          ADDRESS ON FILE
JASONS LAWN CARE & LANDSCAPING INC   PO BOX 878 LORENA TX 76655
JASONS LAWN WORKS                    PO BOX 763 VALDOSTA GA 31603
JASPER COUNTY COLLECTOR              PO BOX 421 CARTHAGE MO 64836-0421
JASPER SEATING JASPER GROUP          225 CLAY ST FRENCH LICK IN 47432
JASPER WAREHOUSE                     ATTN: COREY SCHERER 473 11TH AVE JASPER IN 47546
JASPER, CLARENCE                     ADDRESS ON FILE
JASPERSON, THOMAS                    ADDRESS ON FILE
JASS, MELISSA                        ADDRESS ON FILE
JASSAR LOGISTICS INC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
JASSAR TRANSPORT INC.                18 AMBROSE CT AMHERST NY 14228
JASSI TRANS INC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
JASSO, CHRISTINA                     ADDRESS ON FILE
JASSO, DAVID                         ADDRESS ON FILE
JASSO, ISMAEL                        ADDRESS ON FILE
JASTREMSKY TRANSPORTS                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JAT OF FORT WAYNE, INC.              5031 INDUSTRIAL ROAD FORT WAYNE IN 46825
JAT SOLUTIONS LLC                    OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
JAT TRANSPORT SERVICES INC           OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JATAES TRANSPORTATION, INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JATEK LLC                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JATHAN BRADLEY CALLAHAN              ADDRESS ON FILE
JATHEDAR TRUCKING INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JATO LOGISTICS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JATSUN LOGISTICS LTD                 15 STARHILL CRESCENT BRAMPTON ON L6R 2P9 CANADA
JATT AIRWAYS TRANSPORT INC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JATT CARGO INC                       OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                     ANGELES CA 90074
JAUBERT, LIONELL                     ADDRESS ON FILE
JAUME, MICHAEL                       ADDRESS ON FILE
JAURA EXPRESS INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JAUREGUI, LUIS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 953 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 962 of 2156

Claim Name                              Address Information
JAURIGUI, BRYANT                        ADDRESS ON FILE
JAURIQUI, DAMIAN                        ADDRESS ON FILE
JAV LOGISTICS LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JAVA LOGISTICS AND TRANSPORTATION LLC   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
JAVASE PELOI                            ADDRESS ON FILE
JAVENER, PATTI                          ADDRESS ON FILE
JAVI TRANSPORTATION LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAVIER A MENDOZA                        ADDRESS ON FILE
JAVIER EVANS                            ADDRESS ON FILE
JAVISAMM TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JAVUREK EXPRESS LLC                     PO BOX 1446 ELYRIA OH 44036
JAWSON, JORDAN                          ADDRESS ON FILE
JAX RIDERS CO                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JAXSON D MORRIS                         ADDRESS ON FILE
JAXX TRANSPORTATION INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JAY & DEE EXPRESS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JAY B EXPRESS, LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JAY D TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JAY F MANNINO TRUST                     ADDRESS ON FILE
JAY F. MANNINO TRUST                    ADDRESS ON FILE
JAY HUNTER                              ADDRESS ON FILE
JAY J PLASTER                           ADDRESS ON FILE
JAY J PLASTER                           ADDRESS ON FILE
JAY KEY SERVICE, INC.                   1106 E SAINT LOUIS ST SPRINGFIELD MO 65806
JAY L HARMAN FIRE EQUIPMENT CO          1921 E YANDELL DR EL PASO TX 79903
JAY L HARMAN FIRE EQUIPMENT CO          1930 E YANDELL DR EL PASO TX 79903
JAY L PROVO                             ADDRESS ON FILE
JAY M HAYTER                            ADDRESS ON FILE
JAY MAC BODY & FRAME                    PO BOX 6118 CANTON OH 44706
JAY MAHAKALI TRUCKING LLC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
JAY NATIONAL TRANSPORTATION LLC         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JAY TRANS INC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JAY TRUCKING LLC                        17818 ELWOOD JUNCTION RD NEOSHO MO 64850
JAY, DENNIS L                           ADDRESS ON FILE
JAY, MARY                               ADDRESS ON FILE
JAY-C TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAYCASH GROUP LLC                       OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JAYCE TRANSPORTATION LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JAYCOB TRUCKING LLC                     OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
JAYDA TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JAYGA SERVICES LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JAYJAY TRUCKING LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JAYLEN EXPRESS LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
JAYNES, DARRYL                          ADDRESS ON FILE
JAYNES, JOHN                            ADDRESS ON FILE
JAYNES, SEAN L                          ADDRESS ON FILE
JAYPUR LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
JAYS AIRWAYS LLC                        OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
JAYS KIRKLAND AUTOCARE                  ATTN: KYLE BRYANT 817 7TH AVE. KIRKLAND WA 98033



Epiq Corporate Restructuring, LLC                                                                    Page 954 OF 2145
                                             Yellow Corporation
                        Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 963 of 2156

Claim Name                            Address Information
JAYS TRANSPORTATION GROUP I           100 MCDONALD ST., BOX 4560 REGINA SK S4P 3Y3 CANADA
JAYS TRANSPORTATION GROUP I           555 PARK ST, PO BOX 4560 REGINA SK S4P 3Y3 CANADA
JAYSON E WEIZEL                       ADDRESS ON FILE
JAYSTAL TRUCKING, INC.                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAYTAY HAULING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JAZ FREIGHT                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JAZ LOGISTICS INC                     5370 N CENTRAL AVE APT 2 CHICAGO IL 60630
JAZBAL TRANSPORTATION LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JAZO CUEVAS, JULIO                    ADDRESS ON FILE
JAZZ ENTERPRISES LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JAZZI TRANSPORT INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JB & SONS EXPRESS LLC                 PO BOX 966 BANNING CA 92220
JB CARRIER                            OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72401
JB CARRIER                            1228 OSWALD RD YUBA CITY CA 95991
JB CARRIERS LLC                       2452 CANDLEWICK CT SE GRAND RAPIDS MI 49546
JB EXPRESS INCORPORATED               12650 S CLINTON ST OLATHE KS 66061
JB EXPRESS TRANSPORT INC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JB FREIGHT GROUP INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JB FREIGHT TRANSPORT                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
JB GROUP LOGISTICS LLC                OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
JB HUNT                               615 JB UNT CORPORATE DR LOWELL 72745
JB HUNT TRANSPORT INC                 9200 E 146TH ST NOBLESVILLE IN 46060
JB HUNT TRANSPORT INC                 ATTN: NICHOLE LEMING, PO BOX 598 LOWELL AR 72745
JB HUNT TRANSPORTATION                PO BOX 598 LOWELL AR 72745
JB INTERNATIONAL LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
JB KINGS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JB MIRE LLC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JB ROADWAYS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JB ROMANO                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JB TRANS CO LLC                       OR SMARTTRUCKER LLC 33 NEW MONTGOMERY ST SUITE 1000 SAN FRANCISCO CA 94105
JB TRANSPORT                          13693 RITA WAY GAINESVILLE VA 20155
JB TRANSPORT LLC                      3120 W CAREFREE HIGHWAY SUITE 1-149 PHOENIX AZ 85086
JB TRANSPORTATION INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JB TRUCKING LLC                       OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JB TRUCKN LLC                         OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
JB XPRESS                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JBAC TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JBARON TRANSPORTATION SOLUTIONS INC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JBB XPRESS INC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JBC CARRIERS LLC                      1439 HEATHER WAY DALTON GA 30721
JBC EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JBC TRANSPORT                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JBC TRANSPORTATION LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JBC TRUCKING                          OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
JBC TRUCKING LLC (MC1304567)          OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
JBD TRANSPORT INC                     13170 ANDREA DR VICTORVILLE CA 92392
JBE INC                               512 HARTLAND DR HARTSVILLE SC 29550
JBF LOGISTICS                         1700 EAST PESCADERO AVE SUITE 101 TRACY CA 95304
JBHS TRUCKING INC                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                                  Page 955 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 964 of 2156

Claim Name                           Address Information
JBI TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JBJ 1 TRANSPORT INC                  OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
JBM CARGO LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JBM FREIGHT                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JBM TRUCK LINES                      343 SPRINGFIELD DR MANTECA CA 95337
JBR TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JBRO TRANSPORT LLC                   10040 STAGE ROAD MCCLURE PA 17841
JBS EXPRESS INC                      OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
JBS EXPRESS TRANSPORTATION LLC       OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JBS TRUCKING                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JBS TRUCKING INC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JBT AEROTECH JETWAY SYSTEMS          ATTN: TRACY STRONG 3100 PENNSYLVANIA AVE OGDEN UT 84401
JBT TRUCKER INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JBTRANSCO LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JBX                                  P.O BOX 3336 YUBA CITY CA 95992
JC & N TRANSPORT SERVICES LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JC & REINA TRANSPORTATION LLC        OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
JC 34 TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JC AND JC HAULING LLC                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JC CARGO LINE INC                    2118 SADDLEBROOK ST STOCKTON CA 95209
JC CARRIER CORP                      OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
JC EHRLICH CO INC                    PO BOX 13848 READING PA 19612
JC EHRLICH CO INC                    PO BOX 13848 READING PA 19612-3848
JC EHRLICH CO INC                    P.O. BOX 740608 CINCINNATI OH 45274
JC EXPRESS LLC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
JC EXPRESS LLC (MC090411)            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JC EXPRESS LOGISTICS INC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
JC FENCE CO                          1924 ELMWOOD AVE WARWICK RI 02888
JC FREIGHT LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JC GENERAL CLEANING                  35111-F NEWARK BLVD 137 NEWARK CA 94560
JC GREENE LOGISTICS LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JC GROUNDS MANAGEMENT                20 GARDEN STREET DANVERS MA 01923
JC LOADING LLC                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
JC ON THE ROAD LLC                   OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
JC SPEED SERVICES LLC                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JC STAR TRANSPORTATION LLC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JC TRANSPORT (MC761361)              OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR 1 ST GEORGE UT 84790
JC TRANSPORT LLC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
JC TRANSPORT LLC (MC858911)          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JC XPRESS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JCA LOGISTIC CORP                    OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
JCA TRANSPORT INC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
JCB DOCKBOARD MAINTENANCE            100 PENNSYLVANIA AVE WHITE HOUSE TN 37188
JCC TRANSPORT INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JCC TRANSPORT INC                    295 NAPLES ST MENDOTA CA 93640
JCD TRANSPORTATION                   9543 M65 SOUTH LACHINE MI 49753
JCJ FRESH LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                Page 956 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 965 of 2156

Claim Name                           Address Information
JCJ LOGISTICS CORPORATION            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JCJ TRANSPORT                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JCK ENGINEERING INC                  2424 COLLEGE AVE REGINA SK S4P 1C8 CANADA
JCL DEED FAITH TRANSPORTATION LLC    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
JCL DEED FAITH TRANSPORTATION LLC    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JCM CONSTRUCTION & LOGISTICS LLC     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JCM EXPRESS LLC                      OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
JCM FREIGHT COMPANY LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JCM LOGISTICS                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JCM RIDERS LLC                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JCM TRANSPORT LLC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
JCM TRUCKING LLC                     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
JCMC TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JCMX TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JCN TRUCKING AND LOGISTICS           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JCP TRANS LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JCP&L                                33 WASHINGTON ST NEWARK 07102
JCPENNEY COMPANY INC                 ATTN: LORA MARTINEZ 4455 S 700 E SUITE 100 SALT LAKE CITY UT 84107
JCR TRANSPORT SERVICES               PO BOX 87 CULLMAN AL 35056
JCROXABELLA LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JCS CARRIERS LLC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
JCS ENTERPRISES                      3501 MORELAND AVE CONLEY GA 30288
JCS ENTERPRISES                      FABRICATION & WELDING, 3501 MORELAND AVE CONLEY GA 30288
JCS ENTERPRISES                      PO BOX 449 CONLEY GA 30288
JCS LANDSCAPING & SNOW SERVICE LLC   821 W RAYEN AVE YOUNGSTOWN OH 44502
JCS LANDSCAPING & SNOW SERVICE LLC   D/B/A: JCS LANDSCAPING AND SNOW SERVICE 821 W RAYEN AVE YOUNGSTOWN OH 44502
JCS LANDSCAPING AND SNOW SERVICE     544 SYCAMORE DR CAMPBELL OH 44405
JCS LANDSCAPING AND THE TREE DUDES   D/B/A: JCS LANDSCAPING AND SNOW SERVICE 821 W RAYEN AVE YOUNGSTOWN OH 44502
JCT TRUCKING INC                     P.O. BOX 369 FOWLER CA 93625
JD & SONS FREIGHT DISTRIBUTION LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JD CARRIERS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JD EXPRESS, INC                      OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
JD GOLDEN STATE TRANSPORT LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JD HAULERS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JD LOGISTICS                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JD LOGISTICS TRUCKING INC            1933 S WEST AVE WAUKESHA WI 53189
JD MILLS TRUCKING LLC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JD OGDEN PLUMBING                    PO BOX 689 NEENAH WI 54957
JD SPECIALIZED TRANSPORT COMPANY     215 N WALNUT SAPULPA OK 74066
JD TRANSPORT                         OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
JD TREMEC LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JD TRUCKLINE INC                     25061 AVE 18 MADERA CA 93638
JDB LOGISTICS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JDB TRUCKING INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JDC LOGISTICS LLC                    OR NUKO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
JDE EXPRESS INC                      427 SONJA CIR DAVENPORT FL 33897
JDE FIRE & SECURITY                  2005 LEE ST, UNIT A LAKEWOOD CO 80215



Epiq Corporate Restructuring, LLC                                                                 Page 957 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 966 of 2156

Claim Name                           Address Information
JDF TRUCKING, LLC                    405 GAMBIT CIR WAKE FOREST NC 27587
JDH DECKS & FENCES INC               30 BRYCE INDUSTRIAL DR SAVANNAH GA 31405
JDH LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JDH LOGISTICS LLC (MC1069486)        2650 N LAKEVIEW AVE, UNIT 3703 CHICAGO IL 60614
JDI EXPRESS CORP                     OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
JDI FAMILY LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JDI LOGISTIC LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JDI LOGISTICS CORPORATION            ATTN: DANIEL CELOS 263 E REDONDO BEACH BLVD GARDENA CA 90248
JDK RELIABLE FREIGHT-                JDK RELIABLE-JDK LLC OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX
                                     79917
JDL LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JDLE LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JDM EXPEDITE INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JDM FREIGHT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JDM TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JDN TRANSPORTATIONS CORP             OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
JDS BROTHERS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JDS SPEEDY COURIER SERVICES LLC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JDS TRANSPORT LLC                    OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
JDS TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JDW INTERNATIONAL                    21 UBE DRIVE SARNIA ON N4W 1B6 CANADA
JDX TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JDX TRANSPORTATION SERVICES LLC      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JE EMPIRE LLC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JE RELIABLE TRUCKING                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JE TRUCKING                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JEA                                  225 N. PEARL ST. JACKSONVILLE FL 32202
JEAH MILES LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JEAN DANIELS                         ADDRESS ON FILE
JEAN ETIENNE                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JEAN PAUL R GREGORY                  ADDRESS ON FILE
JEAN PIERRE, WICHNEL                 ADDRESS ON FILE
JEAN, AUBERNE E                      ADDRESS ON FILE
JEAN, DAYAN                          ADDRESS ON FILE
JEAN, KARL                           ADDRESS ON FILE
JEAN, PATRICE                        ADDRESS ON FILE
JEAN-BAPTISTE, IRVING                ADDRESS ON FILE
JEAN-BAPTISTE, JEAN-CHARDINS         ADDRESS ON FILE
JEAN-BAPTISTE, ROSELIN               ADDRESS ON FILE
JEANETTE C TURNER                    ADDRESS ON FILE
JEANNA LASSETT                       ADDRESS ON FILE
JEANNIE JASIEN                       ADDRESS ON FILE
JEANSIMON, GABRIEL                   ADDRESS ON FILE
JEBA TRUCKING INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JEBABRA, MOHAMMED                    ADDRESS ON FILE
JEBO CORP                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JEC EXPRESS INC.                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JECH, HELMUT                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 958 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 967 of 2156

Claim Name                               Address Information
JECIEL, RICHARD                          ADDRESS ON FILE
JED TRANSPORT, LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JEDS LLC                                 713 PARK DR S FARGO ND 58103
JEDS, LLC                                ATTN: JAMES JOHANNESSON 713 PARK DRIVE FARGO ND 58103
JEDWARDS INTERNATIONAL INC               141 CAMPANELLI DR BRAINTREE MA 02184
JEDWARDS INTERNATIONAL INC               ATTN: LYNDA RICHARDS 141 CAMPANELLI DR BRAINTREE MA 02184
JEEGO EXPRESS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JEENARINE, TARIQ H                       ADDRESS ON FILE
JEENINGA, DONALD                         ADDRESS ON FILE
JEEP TRANSPORT INC                       OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
JEET TRANSPORT SERVICES LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JEETA TRUCKING COMPANY                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JEF TRUCKING LLC                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JEFCOAT FENCE CO INC                     PO BOX 6197 PEARL MS 39288
JEFCOAT FENCE CO., INC.                  4080 HIGHWAY 80 E PEARL MS 39208
JEFES LAWN                               PO BOX 641 JOPLIN MO 64802
JEFF A GILBERT                           ADDRESS ON FILE
JEFF A GILBERT                           ADDRESS ON FILE
JEFF A POPLIN                            ADDRESS ON FILE
JEFF A TREVENA                           ADDRESS ON FILE
JEFF ANDERS TRUCKING                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JEFF CUSHMAN                             ADDRESS ON FILE
JEFF FOSTER TRUCKING INC.                PO BOX 367 SUPERIOR WI 54880
JEFF HALL TRUCKING LLC                   201 ENGLE LAKE RD W LIGONIER IN 46767
JEFF HEEREN TRUCKING, INC.               8269 WEST SQUAW LAKE ROAD LAC DU FLAMBEAU WI 54538
JEFF J CROOME                            ADDRESS ON FILE
JEFF KISOR                               ADDRESS ON FILE
JEFF LASSITER                            ADDRESS ON FILE
JEFF M BARON                             ADDRESS ON FILE
JEFF MILLER                              ADDRESS ON FILE
JEFF REEDER                              ADDRESS ON FILE
JEFF S CARPENTER                         ADDRESS ON FILE
JEFF WILLS                               ADDRESS ON FILE
JEFF, HENRY                              ADDRESS ON FILE
JEFFCO MOBILE SERVICE INC                10334 KENNERLY RD ST. LOUIS MO 63128
JEFFERDS CORPORATION                     P.O. BOX 757 ST. ALBANS WV 25177
JEFFERDS, MARK                           ADDRESS ON FILE
JEFFERIES & CO, INC. (0019)              ATT ROBERT MARANZANO/PROXY MGR 34 EXCHANGE PL JERSEY CITY NJ 07311
JEFFERS, DANIEL                          ADDRESS ON FILE
JEFFERS, ERIC                            ADDRESS ON FILE
JEFFERS, FREDRICK                        ADDRESS ON FILE
JEFFERS, TYRONE                          ADDRESS ON FILE
JEFFERSON COUNTY CIRCUIT COURT           311 S CENTER AVE JEFFERSON WI 53549
JEFFERSON COUNTY DEPARTMENT OF REVENUE   TRAVIS A HULSEY DIRECTOR, PO BOX 12207 BIRMINGHAM AL 35202
JEFFERSON COUNTY MAGISTRATE COURT        210 COURTHOUSE WAY RIGBY ID 83442
JEFFERSON COUNTY SHERIFFS                531 COURT PLACE SUITE 604 LOUISVILLE KY 40202
JEFFERSON COUNTY TAX COLLECTOR           716 RICHARD ARRINGTON JR BLVD N BIRMINGHAM AL 35203
JEFFERSON COUNTY TAX COLLECTOR           PO BOX 2112 BEAUMONT TX 77704
JEFFERSON COUNTY, ALABAMA                ROOM 160 COURTHOUSE 716 RICHARD ARRINGTON JR BLVD N BIRMINGHAM AL 35203



Epiq Corporate Restructuring, LLC                                                                     Page 959 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                               Page 968 of 2156

Claim Name                            Address Information
JEFFERSON COUNTY, ALABAMA             ROOM 160 COURTHOUSE, 716 RICHARD ARRINGTON BLVD N BIRMINGHAM AL 35203
JEFFERSON ENTERPRISES LLC             OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JEFFERSON FIRE & SAFETY, INC.         7620 DONNA DR MIDDLETON WI 53562
JEFFERSON MOORE, TERRIQ               ADDRESS ON FILE
JEFFERSON TRUCKING, LLC               OR MDR CAPITAL LLC, P.O. BOX 686 FORT JONES CA 96032
JEFFERSON, ALETHEA                    ADDRESS ON FILE
JEFFERSON, ALEXANDRIA S               ADDRESS ON FILE
JEFFERSON, AMANDA                     ADDRESS ON FILE
JEFFERSON, ARRON                      ADDRESS ON FILE
JEFFERSON, CALVIN                     ADDRESS ON FILE
JEFFERSON, CARL                       ADDRESS ON FILE
JEFFERSON, CAROLE                     ADDRESS ON FILE
JEFFERSON, CHRISTOPHER                ADDRESS ON FILE
JEFFERSON, CORY                       ADDRESS ON FILE
JEFFERSON, CORY E                     ADDRESS ON FILE
JEFFERSON, DALE                       ADDRESS ON FILE
JEFFERSON, DEMOND                     ADDRESS ON FILE
JEFFERSON, DEMONTE                    ADDRESS ON FILE
JEFFERSON, JAKOBE                     ADDRESS ON FILE
JEFFERSON, KEITH                      ADDRESS ON FILE
JEFFERSON, MARK                       ADDRESS ON FILE
JEFFERSON, MARTELL ANTONIO            ADDRESS ON FILE
JEFFERSON, MICHAEL                    ADDRESS ON FILE
JEFFERSON, MICHAEL                    ADDRESS ON FILE
JEFFERSON, NICHOLAS                   ADDRESS ON FILE
JEFFERSON, OLIVER                     ADDRESS ON FILE
JEFFERSON, ROBERT                     ADDRESS ON FILE
JEFFERSON, WILLIAM                    ADDRESS ON FILE
JEFFERSONVILLE WASTEWATER DEPT        423 LEWMAN WAY JEFFERSONVILLE IN 47130
JEFFERY A THOMAS                      ADDRESS ON FILE
JEFFERY C GREGA                       ADDRESS ON FILE
JEFFERY C PETERSON                    ADDRESS ON FILE
JEFFERY D TIPTON                      ADDRESS ON FILE
JEFFERY F WHELESS                     ADDRESS ON FILE
JEFFERY HOLCOMBE                      ADDRESS ON FILE
JEFFERY MCGHEE                        ADDRESS ON FILE
JEFFERY WILFONG                       ADDRESS ON FILE
JEFFERY WILFONG                       ADDRESS ON FILE
JEFFERYS ENVIRONMENTAL SERVICES INC   3 INVICTA ST, BOX 126 WARREN MB R0C3E0 CANADA
JEFFREY A HOOVER                      ADDRESS ON FILE
JEFFREY A ORMSBY                      ADDRESS ON FILE
JEFFREY A SCOTT                       ADDRESS ON FILE
JEFFREY A SNYDER                      ADDRESS ON FILE
JEFFREY A VOYLES                      ADDRESS ON FILE
JEFFREY A WORRELL                     ADDRESS ON FILE
JEFFREY ANDERSON                      ADDRESS ON FILE
JEFFREY B RICE                        ADDRESS ON FILE
JEFFREY BURTIS - OW                   ADDRESS ON FILE
JEFFREY C LAWRENCE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 960 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 969 of 2156

Claim Name                           Address Information
JEFFREY CASTILLO                     ADDRESS ON FILE
JEFFREY COURT INC                    620 PARKRIDGE NORCO CA 92860
JEFFREY D MOUL                       ADDRESS ON FILE
JEFFREY ELLRICH - JO                 ADDRESS ON FILE
JEFFREY FREIGHT LINES LLC            3600 FORMOSA AVE, BLDG N MCALLEN TX 78503
JEFFREY G FERGUSON                   ADDRESS ON FILE
JEFFREY GLENN                        ADDRESS ON FILE
JEFFREY HUDON                        ADDRESS ON FILE
JEFFREY IRELAND                      ADDRESS ON FILE
JEFFREY J HELM                       ADDRESS ON FILE
JEFFREY L ZIMMERMAN                  ADDRESS ON FILE
JEFFREY M HORIGAN                    ADDRESS ON FILE
JEFFREY R HUDON                      ADDRESS ON FILE
JEFFREY R PRINGLE                    ADDRESS ON FILE
JEFFREY S BROWN                      ADDRESS ON FILE
JEFFREY S GOODWIN                    ADDRESS ON FILE
JEFFREY S. BROWN                     ADDRESS ON FILE
JEFFREY T NOLAN                      ADDRESS ON FILE
JEFFREY W RIKARD                     ADDRESS ON FILE
JEFFREY WHITE - LI                   ADDRESS ON FILE
JEFFREY ZALDIVAR                     ADDRESS ON FILE
JEFFREY, CHARLES                     ADDRESS ON FILE
JEFFREY, DAVID                       ADDRESS ON FILE
JEFFREY, KEVIN                       ADDRESS ON FILE
JEFFREY, MICHAEL                     ADDRESS ON FILE
JEFFRIES EXPRESS LLC                 OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
JEFFRIES, CORTEZ                     ADDRESS ON FILE
JEFFRIES, ERIC                       ADDRESS ON FILE
JEFFRIES, JOE                        ADDRESS ON FILE
JEFFRIES, RALPH                      ADDRESS ON FILE
JEFFRIES, RENALDO                    ADDRESS ON FILE
JEFFRIES, RICARDO                    ADDRESS ON FILE
JEFFRIES, STEVEN                     ADDRESS ON FILE
JEFFRIES, THOMAS                     ADDRESS ON FILE
JEFFS DOUBLE B GARAGE & SERVICE      3911 GOSHEN AVE FORT WAYNE IN 46818
JEFFS MOBILE GLASS INC               14450 GRIFFITH ST SAN LEANDRO CA 94577
JEFFS TOWING                         3135 SPARTA ST MCMINNVILLE TN 37110
JEFFS TOWING & TRUCK REPAIR LLC      114 TRUCKERS LN MANCHESTER TN 37355
JEFFS TRUCK SERVICE & POWER, INC.    13514 STATE HIGHWAY 99 N CHICO CA 95973
JEHLE, CORY                          ADDRESS ON FILE
JEHLE, JACOB                         ADDRESS ON FILE
JEHNER, GREGORY                      ADDRESS ON FILE
JEHOVAH TRANSPORT INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JEIMY R MARTINEZ                     ADDRESS ON FILE
JEK LOGISTICS LLC                    OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
JEL TRANSPORTATION LLC               OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
JELD WEN                             31725 HIGHWAY 97 N CHILOQUIN OR 97624
JELD WEN                             31725 US 97 CHILOQUIN OR 97624



Epiq Corporate Restructuring, LLC                                                                Page 961 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 970 of 2156

Claim Name                           Address Information
JELD WEN INC                         31725 HIGHWAY 97 N STE A CHILOQUIN OR 97624
JELD WEN INTERIOR DOORS 260          DOOR DIVISION, 31725 HIGHWAY 97 N STE A B C CHILOQUIN OR 97624
JELENS TRANSPORTATION, INC.          PO BOX 119 LONG POND PA 18334
JELJALANE, AZDEEN                    ADDRESS ON FILE
JELLY BELLY                          ATTN: DEBBIE PAULOS 2330 COURAGE DR FAIRFIELD CA 94533
JELLY BELLY CANDY CO                 1 JELLY BELLY LN FAIRFIELD CA 94533
JELONEK, JASON J                     ADDRESS ON FILE
JEM LOGISTICS INC                    OR FREIGHT COLLECT INC., P.O. BOX 603748 CHARLOTTE NC 28260
JEMA TRANSPORT CO LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JEMERSON, MELISSA                    ADDRESS ON FILE
JEMKO TRANSPORT, INC.                3457 UNION ST NORTH CHILI NY 14514
JEMPS TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
JEMS LOGISTICS, LLC                  OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
JENAB, EDDIE                         ADDRESS ON FILE
JENAB, EDWARD                        ADDRESS ON FILE
JENCO INC                            DBA JEN SERVICE, 15990 N GREENWAY HAYDEN LOOP STE C110 SCOTTSDALE AZ 85260
JENIG, STEPHAN                       ADDRESS ON FILE
JENISON, DAVID                       ADDRESS ON FILE
JENK TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JENKINS BOY LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JENKINS EXPRESS INC                  OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
JENKINS GLOBAL LOGISTICS LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JENKINS, BENJAMIN                    ADDRESS ON FILE
JENKINS, BRANDEY                     ADDRESS ON FILE
JENKINS, BRANDON                     ADDRESS ON FILE
JENKINS, BRIAN                       ADDRESS ON FILE
JENKINS, CHARLES                     ADDRESS ON FILE
JENKINS, CHARLES                     ADDRESS ON FILE
JENKINS, CHRISTIANA                  ADDRESS ON FILE
JENKINS, CHRISTINA                   ADDRESS ON FILE
JENKINS, CHRISTOPHER                 ADDRESS ON FILE
JENKINS, COREEN                      ADDRESS ON FILE
JENKINS, CRAIG                       ADDRESS ON FILE
JENKINS, DARNEAIL                    ADDRESS ON FILE
JENKINS, DEREK                       ADDRESS ON FILE
JENKINS, DERRICK                     ADDRESS ON FILE
JENKINS, DUANE                       ADDRESS ON FILE
JENKINS, EDMON                       ADDRESS ON FILE
JENKINS, GARRETT                     ADDRESS ON FILE
JENKINS, GREGORY                     ADDRESS ON FILE
JENKINS, JAMES                       ADDRESS ON FILE
JENKINS, JAZZMEN R                   ADDRESS ON FILE
JENKINS, JERRELL                     ADDRESS ON FILE
JENKINS, JORDAN                      ADDRESS ON FILE
JENKINS, JOSEPH                      ADDRESS ON FILE
JENKINS, JUSTIN                      ADDRESS ON FILE
JENKINS, KELLY                       ADDRESS ON FILE
JENKINS, KYERSTEN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 962 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 971 of 2156

Claim Name                           Address Information
JENKINS, KYERSTEN L                  ADDRESS ON FILE
JENKINS, LAKIRA                      ADDRESS ON FILE
JENKINS, LEE                         ADDRESS ON FILE
JENKINS, LESTER                      ADDRESS ON FILE
JENKINS, ME-SHELL                    ADDRESS ON FILE
JENKINS, MICHAEL                     ADDRESS ON FILE
JENKINS, NICOLE                      ADDRESS ON FILE
JENKINS, PAMELA                      ADDRESS ON FILE
JENKINS, QUINCY                      ADDRESS ON FILE
JENKINS, RICARDO                     ADDRESS ON FILE
JENKINS, RICK                        ADDRESS ON FILE
JENKINS, ROBERT                      ADDRESS ON FILE
JENKINS, RODNEY                      ADDRESS ON FILE
JENKINS, TEVAUGHN                    ADDRESS ON FILE
JENKINS, TIFFANY                     ADDRESS ON FILE
JENKINS, TIMOTHY                     ADDRESS ON FILE
JENKINS, TONETTA                     ADDRESS ON FILE
JENKINS, TRACI                       ADDRESS ON FILE
JENKINS, TREVONN                     ADDRESS ON FILE
JENKINS, TYRELL                      ADDRESS ON FILE
JENKINS, WAYNE                       ADDRESS ON FILE
JENKINS, WILLIAM                     ADDRESS ON FILE
JENKINS, WYNDELL                     ADDRESS ON FILE
JENKINSON, ROBERT                    ADDRESS ON FILE
JENKS, DEAN                          ADDRESS ON FILE
JENMAX FOODS LLC C/O ECHO            ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
JENNA EXPRESS                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JENNIE L HALVERSON                   ADDRESS ON FILE
JENNIFER BENNER                      ADDRESS ON FILE
JENNIFER E MORRIS                    ADDRESS ON FILE
JENNIFER FEAR                        ADDRESS ON FILE
JENNIFER GARRETT                     ADDRESS ON FILE
JENNIFER L REDAM                     ADDRESS ON FILE
JENNIFER MARQUARDT - RO              ADDRESS ON FILE
JENNIFER N KETTNER                   ADDRESS ON FILE
JENNIFER ROMO DOWD                   ADDRESS ON FILE
JENNINGS LEASING LC                  ATTN: GILBERT JENNINGS, 333 E ST GEORGE BLVD STE 301 ST GEORGE UT 84770
JENNINGS LEASING, LC                 ATTN: GILBERT JENNINGS 335 EAST ST. GEORGE BOULEVARD ST. GEORGE UT 84770
JENNINGS PLUMBING & MECHANICAL LLC   2733 GEORGIA ST MEDFORD OR 97501
JENNINGS, ALBERT                     ADDRESS ON FILE
JENNINGS, ANTWIONE                   ADDRESS ON FILE
JENNINGS, BILLY                      ADDRESS ON FILE
JENNINGS, DARRIUS                    ADDRESS ON FILE
JENNINGS, DARRYL                     ADDRESS ON FILE
JENNINGS, DARRYL M                   ADDRESS ON FILE
JENNINGS, JALEN                      ADDRESS ON FILE
JENNINGS, JOHNAIJA                   ADDRESS ON FILE
JENNINGS, KALON                      ADDRESS ON FILE
JENNINGS, KYLE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 963 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 972 of 2156

Claim Name                           Address Information
JENNINGS, LARRY                      ADDRESS ON FILE
JENNINGS, MATTHEW                    ADDRESS ON FILE
JENNINGS, PETER                      ADDRESS ON FILE
JENNINGS, RICHARD                    ADDRESS ON FILE
JENNINGS, RODNEY                     ADDRESS ON FILE
JENNINGS, RONALD                     ADDRESS ON FILE
JENNINGS, TIMOTHY                    ADDRESS ON FILE
JENNINGS, WESLEY                     ADDRESS ON FILE
JENNINGS-BOYCE, DOMINIQUE            ADDRESS ON FILE
JENNSONS TRANSPORT LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JENNUM, ADAM                         ADDRESS ON FILE
JENNY TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
JENSEN BYRD CO INC                   TA, PO BOX 3708 SPOKANE WA 99220
JENSEN TOWING                        5410 50TH ST KENOSHA WI 53144
JENSEN, ADAM                         ADDRESS ON FILE
JENSEN, ANDREW                       ADDRESS ON FILE
JENSEN, AUSTIN                       ADDRESS ON FILE
JENSEN, AUSTIN K                     ADDRESS ON FILE
JENSEN, DAVID                        ADDRESS ON FILE
JENSEN, DOUGLAS                      ADDRESS ON FILE
JENSEN, HENRY JEFFERY                ADDRESS ON FILE
JENSEN, JEFFERY                      ADDRESS ON FILE
JENSEN, JOHN                         ADDRESS ON FILE
JENSEN, LANDON                       ADDRESS ON FILE
JENSEN, MARK                         ADDRESS ON FILE
JENSEN, MICHAEL                      ADDRESS ON FILE
JENSEN, NICOLE                       ADDRESS ON FILE
JENSEN, RICKY                        ADDRESS ON FILE
JENSEN, ROGAN                        ADDRESS ON FILE
JENSEN, SHANE                        ADDRESS ON FILE
JENSEN, SPENCER                      ADDRESS ON FILE
JENSEN, TRENT                        ADDRESS ON FILE
JENSON, ANTHONY                      ADDRESS ON FILE
JEP TRANSPORTATION INC               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JEPPSON, EDWARD                      ADDRESS ON FILE
JEPPSON, JAENA                       ADDRESS ON FILE
JEPSEN, WILLIAM                      ADDRESS ON FILE
JEPSON, SHERI                        ADDRESS ON FILE
JERAD W WOODWARD                     ADDRESS ON FILE
JERALD HOFSTADT                      ADDRESS ON FILE
JERALD K. HOFSTAD                    ADDRESS ON FILE
JERDON, DAVID                        ADDRESS ON FILE
JEREMI TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JEREMIAH A SMITH                     ADDRESS ON FILE
JEREMIAH L NADEAU                    ADDRESS ON FILE
JEREMIAH, THOMAS                     ADDRESS ON FILE
JEREMIAS C OLVERA                    ADDRESS ON FILE
JEREMY A PURVIS                      ADDRESS ON FILE
JEREMY C GRIGSBY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 964 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 973 of 2156

Claim Name                          Address Information
JEREMY EVERETT                      ADDRESS ON FILE
JEREMY EVERETT                      ADDRESS ON FILE
JEREMY G MUELLER                    ADDRESS ON FILE
JEREMY H BURLESON                   ADDRESS ON FILE
JEREMY J HANNAH                     ADDRESS ON FILE
JEREMY J NOTARO                     ADDRESS ON FILE
JEREMY J THOMAS                     ADDRESS ON FILE
JEREMY J VILLWOCK                   ADDRESS ON FILE
JEREMY KEARNEY                      ADDRESS ON FILE
JEREMY L CHARLES                    ADDRESS ON FILE
JEREMY LEON                         ADDRESS ON FILE
JEREMY M AVERS                      ADDRESS ON FILE
JEREMY M THORNTON                   ADDRESS ON FILE
JEREMY P DIAZ                       ADDRESS ON FILE
JEREMY P RILEY                      ADDRESS ON FILE
JEREMY STEVENSON                    ADDRESS ON FILE
JEREMY T RUSSELL                    ADDRESS ON FILE
JEREMY TRANSPORT EXPRESS LLC        OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
JERKINS, VERNICIA                   ADDRESS ON FILE
JERMAINE G MEMBERS                  ADDRESS ON FILE
JERMAINE J NAVARRO                  ADDRESS ON FILE
JERNICK MOVING & STORAGE INC        PO BOX 826 SHELTER ISLAND NY 11964
JERNIGAN, GREGORY                   ADDRESS ON FILE
JERNIGAN, JOSEPH                    ADDRESS ON FILE
JERNIGAN, MARK                      ADDRESS ON FILE
JERO, JONATHAN                      ADDRESS ON FILE
JEROME DISTRIBUTING, INC            PO BOX 3147 BISMARCK ND 58502
JEROME ELECTRIC INC                 370 A LIST ST FRANKENMUTH MI 48734
JEROME FIRE EQUIPMENT CO., INC.     8721 CAUGHDENOY RD CLAY NY 13041
JEROME M PRATT                      ADDRESS ON FILE
JEROME MARSHALL                     ADDRESS ON FILE
JEROME, SAMUEL                      ADDRESS ON FILE
JERONIMO FREIGHT LLC                OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
JEROR, ERIC                         ADDRESS ON FILE
JERP TRANSPORT CO                   OR CHUGH CAPITAL, LLC, PO BOX 4437 WARREN NJ 07059
JERPBAK BAYLESS CO.                 34180 SOLON RD. SOLON OH 44139
JERRELL, KEVIN                      ADDRESS ON FILE
JERRELL, MADISON                    ADDRESS ON FILE
JERROD R DANTZLER                   ADDRESS ON FILE
JERROLD B MEEKS (JERRY)             ADDRESS ON FILE
JERROLD MILANO                      ADDRESS ON FILE
JERRY & KEITHS INC                  2814 LANDCO DR BAKERSFIELD CA 93308
JERRY A ARROYO                      ADDRESS ON FILE
JERRY B DE LA FUENTE                ADDRESS ON FILE
JERRY D PENLEY                      ADDRESS ON FILE
JERRY E REKIETA                     ADDRESS ON FILE
JERRY H KING                        ADDRESS ON FILE
JERRY HALE                          ADDRESS ON FILE
JERRY L BULLOCK                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 965 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 974 of 2156

Claim Name                              Address Information
JERRY L FOSTER                         ADDRESS ON FILE
JERRY L JENNINGS                       ADDRESS ON FILE
JERRY LEFTRIDGE                        ADDRESS ON FILE
JERRY LIPPS, INC.                      P O BOX F CAPE GIRARDEAU MO 63702
JERRY MARIS                            ADDRESS ON FILE
JERRY SEINER DEALERSHIPS               730 W 2100 S SALT LAKE CITY UT 84119
JERRY W GRAY                           ADDRESS ON FILE
JERRY, MARC                            ADDRESS ON FILE
JERRYS TOWING                          644 STARR LANE, PO BOX 66 ROBERTS WI 54023
JERRYS TOWING                          PO BOX 66 ROBERTS WI 54023
JERRYS TOWING & RECOVERY               1381 S. EVERGREEN WHITE CLOUD MI 49349
JERRYS TRUCK AND TRAILER               690 STARR LN ROBERTS WI 54023
JERRYS TRUCK AND TRAILER               PO BOX 66 ROBERTS WI 54023
JERRYS TRUCKING LLC                    OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
JERS TRUCKING LLC                      OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
JERSEY AUTO TRANS LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
JERSEY SMITH ELITE TRUCKING LLC        OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
JERSEY UNITED TRANSPORT LLC            200 BRINKERHOFF ST RIDGEFIELD PARK NJ 07660
JERSTAD, GREGORY                       ADDRESS ON FILE
JERZAK, TONY M                         ADDRESS ON FILE
JERZY TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JES TRANSPORTS OF MILWAUKEE, WI, L.L.C. OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JESCAR ENTERPRISES                     213 AIRPORT EXECUTIVE PARK NANUET NY 10954
JESCAR TRANSPORT INC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JESHUA D BRUINSMA                      ADDRESS ON FILE
JESIONOWSKI, RONALD                    ADDRESS ON FILE
JESPERSEN, RICHARD                     ADDRESS ON FILE
JESS R BEACH                           ADDRESS ON FILE
JESSE J SPENCER                        ADDRESS ON FILE
JESSE JAMES WEST EXPRESS LLC           OR BIG BROTHER FINANCIAL, P.O. BOX 1949 SUGAR LAND TX 77487-1949
JESSE L PATTERSON                      ADDRESS ON FILE
JESSE L WIENKE                         ADDRESS ON FILE
JESSE WHITE SECRETARY OF STATE         DEPARTMENT OF BUSINESS SERVICES, 501 S 2ND STREET SPRINGFIELD IL 62756
JESSEE, KORRIN                         ADDRESS ON FILE
JESSEE, TANNER                         ADDRESS ON FILE
JESSEN, AARON                          ADDRESS ON FILE
JESSEN, MICHAEL                        ADDRESS ON FILE
JESSES TRUCKING                        OR TETRA CAPITAL LLC, PO BOX 25297 SALT LAKE CITY UT 84125
JESSEY TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JESSICA JUST UPDATING YOU ON           ADDRESS ON FILE
JESSICA L PEMPSELL                     ADDRESS ON FILE
JESSICA MARIE HOPE                     ADDRESS ON FILE
JESSIE D PARSONS                       ADDRESS ON FILE
JESSIE, CARL                           ADDRESS ON FILE
JESSIE, CLARENCE                       ADDRESS ON FILE
JESSIE, JASMINE                        ADDRESS ON FILE
JESSOP, CLYDE                          ADDRESS ON FILE
JESSUP LOGISTICS LLC                   11180 NORTH STATE ROAD 67 MOORESVILLE IN 46158
JESSUP, GARY                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 966 OF 2145
                                              Yellow Corporation
                        Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 975 of 2156

Claim Name                             Address Information
JESTER, DEMETRIUS                      ADDRESS ON FILE
JESTER, TIMOTHY                        ADDRESS ON FILE
JESUS HERNANDEZ                        ADDRESS ON FILE
JESUS IZQUIERDO                        ADDRESS ON FILE
JESUS MICHUA-HOWE                      ADDRESS ON FILE
JESUS MORALES                          ADDRESS ON FILE
JESUS PEREZ                            ADDRESS ON FILE
JESUS R GALVAN                         ADDRESS ON FILE
JET CARGO EXPRESS LLC                  OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
JET DELIVERY, INC.                     2169 WRIGHT AVE LA VERNE CA 91750
JET ESTATES                            OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
JET EXPRESS INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JET EXPRESS LLC                        OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
JET LINE PRODUCTS                      ATTN: YING LOUIE 1400 TAYLORS LN CINNAMINSON NJ 08077
JET PLUMBING & DRAIN SERVICE           1553 HYMER AVE SPARKS NV 89431
JET REPAIR SERVICES                    1125 W WATERFORD AVE MILWAUKEE WI 53221
JET STAR ENTERPRISES LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JET TRANSPORTS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JET TRUCKING & LOGISTICS LLC           2600 HOMESTEAD PL COMPTON CA 90220
JET XPRESS LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JET614 EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JETA EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JETCO MACHINE & FAB                    1625 MAIN ST LEWISTON ID 83501
JETER, DAVID                           ADDRESS ON FILE
JETER, DEVONDA                         ADDRESS ON FILE
JETER, GREGORY                         ADDRESS ON FILE
JETER, REGINALD                        ADDRESS ON FILE
JETER, TRAVIS                          ADDRESS ON FILE
JETEX FREIGHT LLC                      1001 W HUNTER FERRELL RD GRAND PRAIRIE TX 75050
JETH TRUCKING                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JETSONS GLOBAL LOGISTICS LLC           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
JETT, CARLTONITA                       ADDRESS ON FILE
JETT, STEVEN                           ADDRESS ON FILE
JETTE, COLIN                           ADDRESS ON FILE
JETTEX LLC                             OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
JETTS EXPRESS DELIVERY SERVICES LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JETTS TRUCKING LLC                     OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
JETWAY CARRIERS LLC                    509 WESTCLIFF DR EULESS TX 76040
JETWIND LLC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JEUDY BROTHERS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JEVAYUS LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JEVON L WHITE                          ADDRESS ON FILE
JEWEL OF THE NILE TRANSPORTATION LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JEWELL A LOWNSBERY                     ADDRESS ON FILE
JEWELL A LOWNSBERY                     ADDRESS ON FILE
JEWELL, JAMES                          ADDRESS ON FILE
JEWELL, LANCE                          ADDRESS ON FILE
JEWELL, MILTON                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 967 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 976 of 2156

Claim Name                           Address Information
JEWETT REPAIR LLC                    3016 CENTRE ST ARCOLA IN 46704
JEWETT, CHRISTOPHER                  ADDRESS ON FILE
JEWETT, DANIEL                       ADDRESS ON FILE
JEWETT, DONALD                       ADDRESS ON FILE
JEWETT, LORRAINE                     ADDRESS ON FILE
JEWETT, MICHAEL D                    ADDRESS ON FILE
JEWETT, PAUL                         ADDRESS ON FILE
JEWETT, TORI                         ADDRESS ON FILE
JEYMAR TRANSPORTATION LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JEZ EXPRESS LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JEZ TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP FULTON PO BOX 206773 DALLAS TX 75320-6773
JEZIORSKI, BRENDA                    ADDRESS ON FILE
JEZIORSKI, BRENDA                    ADDRESS ON FILE
JF LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JF PETROLEUM GROUP                   JF ACQUISITION LLC, PO BOX 531829 ATLANTA GA 30353
JF TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JF TRANSPORT LLC (MC1296943)         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JFC LOGISTICS                        1291 E GLENDALE AVE SPARKS NV 89431-6416
JFG INTERNATIONAL INC                2312 MARCONI PL SAN DIEGO CA 92154
JFK CARTAGE INC                      600 BAYVIEW AVE QUEENS NY 11096
JFM TRUCKING INC                     OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
JFROG INC                            DEPT LA 24906 PASADENA CA 91185
JFROG INC                            270 EAST CARIBBEAN DR SUNNYVALE CA 94089
JFS LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JFS TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JFT                                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JFT TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JG CARRIERS INC.                     OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
JG FREIGHT TRUCKING LLC              OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
JG TRANSPORTATION LLC (MC997511)     10930 RENN AVE CLOVIS CA 93619
JGA TRUCKING, INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JGC EXPRESS LLC                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JGC TRANSPORT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JGF TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JGL TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JGM TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JGM TRANSPORT LLC                    PO BOX 545 WEST SACRAMENTO CA 95691
JGONZALEZ TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JH INDUSTRIES, INC.                  1981 EAST AURORA ROAD TWINSBURG OH 44087
JH LOGISTICS LLC                     OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
JH TRANS                             591 VISTA DR EASTON PA 18042
JH TRANSPORTATION                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
JH TRANSPORTATION LLC                OR 18 WHEEL FUNDING LLC DEPARTMENT 6029 PO BOX 4517 HOUSTON TX 77210-4517
JHA TRANSPORT INC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
JHA, RAJESH                          ADDRESS ON FILE
JHAISCOB TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JHAMP DISTRIBUTION & LOGISTICS LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JHATTU EXPRESS LLC                   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
JHC TRUCKING                         1251 PEACH CT, 0 MADERA CA 93638



Epiq Corporate Restructuring, LLC                                                                 Page 968 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 977 of 2156

Claim Name                               Address Information
JHI TRANSPORT                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JHL EXPRESS INC (MC1252774)              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JHL TRANSPORT LLC                        OR BLU CAPITAL, PO BOX 17759 EL PASO TX 79917
JHL XPRESS CORP                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JHONY KERMITT ROSA TRANSPORT LLC         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JHOOK TOWING & RECOVERY                  865 FRONTAGE RD LONOKE AR 72086
JHOOK TOWING & RECOVERY                  100 INMON DR NORTH LITTLE ROCK AR 72117
JHOOK TOWING & RECOVERY                  7303 HWY 70 NORTH LITTLE ROCK AR 72117
JHOOK TOWING & RECOVERY                  PO BOX 17832 NORTH LITTLE ROCK AR 72117
JHR TRANSPORTATION INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JHS LOGISTIX LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JHT SERVICE & REPAIR LLC                 424 S 2ND ST LA SALLE CO 80645
JHW EXPRESS INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JHW EXPRESS INC                          PO BOX 2071 IRWINDALE CA 91706
JI, ZHI PENG                             ADDRESS ON FILE
JIA LIU, HUI                             ADDRESS ON FILE
JIANYI, ZHAO                             ADDRESS ON FILE
JIBED TRANSPORT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JIE SHAO, HUE                            ADDRESS ON FILE
JIE TRUCKING INC                         14001 HUNTERVALE DR EASTVALE CA 92880
JIGSAW TRUCKING INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JIHAD R SANDERS                          ADDRESS ON FILE
JIL TRUCKING LLC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JILES, MICHAEL                           ADDRESS ON FILE
JILLAMY WAREHOUSE & PACKAGING            ATTN: SUZANNE WASHINGTON 1070 HORSHAM RD N WALES PA 19454
JILLY LIVRISON LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JIM AMAR TRUCKING                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JIM D WELBORN                            ADDRESS ON FILE
JIM FREDRIK                              ADDRESS ON FILE
JIM HAWK TRUCK TRAILER, INC.             3119 S 9TH STREET COUNCIL BLUFFS IA 51501
JIM HAWK TRUCK TRAILER, INC.             3119 SOUTH 9TH ST COUNCIL BLFS IA 51501
JIM HAWK TRUCK TRAILER, INC.             JIM HAWK TRUCK TRAILERS SIOUX FALLS, 3119 SOUTH 9TH ST COUNCIL BLFS IA 51501
JIM HAWK TRUCK TRAILERS INC.             1401 E. BENSON RD. SIOUX FALLS SD 57104
JIM HAWK TRUCK TRAILERS INC.             7500 N E GARDNER AVE, PO BOX 34193 KANSAS CITY MO 64120
JIM HEATHERLY                            ADDRESS ON FILE
JIM LAMB TRUCKING, INC.                  3001 CO RD 4 SW ALEXANDRIA MN 56308
JIM LAWRENCE TRANSPORTATION INC          20086 US HIGHWAY 301 NORTH STARKE FL 32091
JIM LUPIENT INFINITY                     7200 WAYZATA BLVD. GOLDEN VALLEY MN 55426
JIM MCCOY                                ADDRESS ON FILE
JIM N I SERVICES INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JIM OVERTON DUVAL COUNTY TAX COLLECTOR   PO BOX 44007 JACKSONVILLE FL 32231
JIM RESSLER TRUCKING, INC.               PO BOX 2546 BISMARCK ND 58502
JIM TRANSPORTATION LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
JIM TROCCIAS GARAGE                      204 PARK AVE ELMIRA NY 14901
JIM TRUCKING LLC (MC1316297)             OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
JIM WHITEHEADS BEST ONE                  2514 DEANS BRIDGE ROAD AUGUSTA GA 30906
JIMAVI TRANSPORT LLC                     OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
JIMBUCKS ROAD SERVICE LLC.               P.O. BOX 247 LEWISVILLE PA 19351
JIMBUCKS ROAD SERVICE LLC.               659 WEST CHESTNUT HILL RD NEWARK DE 19713



Epiq Corporate Restructuring, LLC                                                                    Page 969 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 978 of 2156

Claim Name                           Address Information
JIMCAST TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JIMENEZ TRUCKING                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JIMENEZ, AARON                       ADDRESS ON FILE
JIMENEZ, ADRIAN                      ADDRESS ON FILE
JIMENEZ, ANIBERKA                    ADDRESS ON FILE
JIMENEZ, BRENDA                      ADDRESS ON FILE
JIMENEZ, DELANEY                     ADDRESS ON FILE
JIMENEZ, EDGAR                       ADDRESS ON FILE
JIMENEZ, EFRAIN                      ADDRESS ON FILE
JIMENEZ, ELENA                       ADDRESS ON FILE
JIMENEZ, ESMERALDA                   ADDRESS ON FILE
JIMENEZ, FIDEL                       ADDRESS ON FILE
JIMENEZ, FRANCISCO                   ADDRESS ON FILE
JIMENEZ, FRANK                       ADDRESS ON FILE
JIMENEZ, FRANKLYN                    ADDRESS ON FILE
JIMENEZ, IAN                         ADDRESS ON FILE
JIMENEZ, IGNACIO                     ADDRESS ON FILE
JIMENEZ, ISMAEL                      ADDRESS ON FILE
JIMENEZ, JESSE                       ADDRESS ON FILE
JIMENEZ, JOEL                        ADDRESS ON FILE
JIMENEZ, JOHN                        ADDRESS ON FILE
JIMENEZ, JONATHAN                    ADDRESS ON FILE
JIMENEZ, JOSE                        ADDRESS ON FILE
JIMENEZ, JOSE                        ADDRESS ON FILE
JIMENEZ, JOSE                        ADDRESS ON FILE
JIMENEZ, JUAN                        ADDRESS ON FILE
JIMENEZ, JUAN                        ADDRESS ON FILE
JIMENEZ, JUAN                        ADDRESS ON FILE
JIMENEZ, KATHLEEN                    ADDRESS ON FILE
JIMENEZ, LUIS                        ADDRESS ON FILE
JIMENEZ, LUIS                        ADDRESS ON FILE
JIMENEZ, LUIS                        ADDRESS ON FILE
JIMENEZ, LUIS                        ADDRESS ON FILE
JIMENEZ, MOISES                      ADDRESS ON FILE
JIMENEZ, NERY                        ADDRESS ON FILE
JIMENEZ, ODILON                      ADDRESS ON FILE
JIMENEZ, OSCAR                       ADDRESS ON FILE
JIMENEZ, RICARDO                     ADDRESS ON FILE
JIMENEZ, RIGOBERTO                   ADDRESS ON FILE
JIMENEZ, ROBERTO                     ADDRESS ON FILE
JIMENEZ, ROBERTO                     ADDRESS ON FILE
JIMENEZ, ROMANTE                     ADDRESS ON FILE
JIMENEZ, SALVADOR                    ADDRESS ON FILE
JIMENEZ, SAMUEL                      ADDRESS ON FILE
JIMERSON, CHRISTOPHER                ADDRESS ON FILE
JIMERSON, DONALD                     ADDRESS ON FILE
JIMMA CARRIER LLC                    3570 BAYWATER TRL SNELLVILLE GA 30039
JIMMA TRUCKING LLC                   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JIMMERSON, JULIUS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 970 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 979 of 2156

Claim Name                           Address Information
JIMMIES WRECKER SERVICE INC.         4201 W MICHIGAN AV JACKSON MI 49201
JIMMIES WRECKER SERVICE INC.         4201 W MICHIGAN AVE JACKSON MI 49201
JIMMU TRANSPORT LLC                  8944 LANDER ST WESTMINSTER CO 80031
JIMMU TRANSPORT LLC                  OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
JIMMY D CATHEY                       ADDRESS ON FILE
JIMMY D TRUCKING INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JIMMY L CARMOUCHE                    ADDRESS ON FILE
JIMMY TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JIMMY W WELLS                        ADDRESS ON FILE
JIMOH TRANSPORTATION LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JIMS JANITORIAL SERVICE              PO BOX 4101 ABILENE TX 79608
JIMS LOCK & SAFE SERVICE             2005 N 77TH STREET KANSAS CITY KS 66109
JIMS PACIFIC GARAGES, INC.           2708 N COMMERCIAL AVE PASCO WA 99301
JIMS TOWING INC                      PO BOX 782 WEST FARGO ND 58078
JIMS TOWING SERVICE INC              PO BOX 40970 BAKERSFIELD CA 93384
JINEZ LLC                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JINEZ LLC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JINSKY TRUCKING                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JINXIN INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JIREH CARRIERS CORPORATION           OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JIREH EXPRESS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JIREH EXPRESS LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JIREH LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JIREH TRANSPORT, LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JIREH TRUCK LINES LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JIREH-SHALOM TRUCKING LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JIRO & BROS EXPRESS                  24488 AVENUE 80 TERRA BELLA CA 93270
JIRON, TIMOTHY                       ADDRESS ON FILE
JIROVEC, SHANE                       ADDRESS ON FILE
JISZKA CLEMENT                       ADDRESS ON FILE
JIT - EX, LLC                        3344 CAZASSA RD MEMPHIS TN 38116
JIT TOYOTA-LIFT                      999 HARLEM RD WEST SENECA NY 14224
JIT TOYOTA-LIFT                      52 S PEARL ST FREWSBURG NY 14738
JITE TRUCKING LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JIZAWI TRUCKING INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JJ CLEMENTE EXPRESS LLC              OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
JJ KELLER & ASSOCIATES INC           PO BOX 6609 CAROL STREAM IL 60197
JJ LOGISTIC SERVICES LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JJ MULLEN TRUCKING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JJ TRANSPORT (MCKINNEY, TX)          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JJ TRANSPORT LOGISTICS LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
JJ TRANSPORT OF NC                   OR ECAPITAL FRREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JJ TRANSPORTATION CORP               OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
JJ TRANSPORTATION LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JJ TRUCKING                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JJ TRUCKLINES LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JJ&K TRUCKING LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
JJ&L LOGISTICS                       OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
JJB ENTERPRISE INC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                 Page 971 OF 2145
                                                Yellow Corporation
                        Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                  Page 980 of 2156

Claim Name                               Address Information
JJC TRUCKING & CARGO LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JJIREH07 ENT LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JJJK SANTOS TRANSPORT LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JJK TRANSPORT                            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JJK TRANSPORT LLC                        OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
JJK XPRESS INC                           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JJM TRUCK INC                            OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
JJP EXPRESS LLC                          OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
JJR TRUCKING LLC                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
JJS TRANSPORT LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JJS TRUCK & TRAILER REPAIR               1989 ST JOHN AVE DYERSBURG TN 38024
JJT TRANSPORTATION                       PO BOX 412, 0 WATHENA KS 66090
JJTD, LLC                                13 PLEASANT VALLEY COURT BUTLER KY 41006
JK FREIGHT EXPRESS INC                   OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
JK GROUP LOGISTICS LLC                   OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
JK TRANSPORT                             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
JK TRANSPORT LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JK TRUCKING (LOS ANGELES)                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JK&K TRANSPORTING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JKA TRUCKING, LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JKD DESTINATION LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JKEP TRUCKING LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JKET LLC                                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JKG ELECTRIC                             2157 DON ST SPRINGFIELD OR 97477
JKH TRANS INC                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JKJ LOADS TRANSPORTATION LLC             OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
JKJ TRANSPORT INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JKK ENTERPRISES INC                      3508 MOHAN CT SACHSE TX 75048
JKL EXPRESS LLC                          OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
JKL TRUCKING LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JKL TRUCKING LLC (MC1292385)             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JKL TRUCKING LLC (MC1313806)             OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
JKP LOGISTICS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JKR TRUCKING LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JKR TRUCKING LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JKS ALL SERVICES, INC.                   14562 S APPALOOSA LN HOMER GLEN IL 60491
JL & I TRUCKING                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JL CARRIERS INC                          OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JL ELITE ENTERPRISES LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JL HAULING LLC                           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JL INTERNATIONAL LOGISTICS SERVICE LLC   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JL OCEAN CONTAINER SERVICE LLC           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JLA LOGISTIC SOLUTIONS LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JLA TRANSPORT INC                        17820 SAN JACINTO AVE FONTANA CA 92336
JLB SYSTEMS                              250 RIVERVIEW AVE BLOOMSBURG PA 17815
JLC FREIGHT LLC                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JLE EXPRESS LLC                          OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
JLE TRUCKWASH LLC                        DEPT 2140, PO BOX 986500 BOSTON MA 02298
JLF INDUSTRIES LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                     Page 972 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 981 of 2156

Claim Name                           Address Information
JLGB LOGISTICS LLC                   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JLM                                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JLM LOGISTICS INC                    710 HARDING STREET CHANNEL VIEW TX 77530
JLM TRANSPORTATION LLC               PO BOX 199 MENA AR 71953
JLN TRANSPORT INC.                   OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
JLONDONO TRANSPORT LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JLS SHIPPING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JLS TRANSPORT                        4905 W CHESTNUT AVENUE VISALIA CA 93277
JLT MOBILE COMPUTERS INC.            7402 W. DETROIT ST. SUITE 150 CHANDLER AZ 85226
JM & SONS TRUCKS TRANSPORTATION      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JM CRUZ TRANSPORT INC                OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
JM EAGLE CO                          5200 W CENTURY BLVD FL 10 LOS ANGELES CA 90045
JM EXPRESS LLC (MC1242851)           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JM EXPRESS SERVICES INC              P.O. BOX 4117 CLIFTON NJ 07012
JM FREIGHT LOGISTICS, INC.           450 MAGUIRE RD SUITE B OCOEE FL 34761
JM TRANSPORT                         OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
JM TRANSPORT (MC1018865)             OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
JM&F USA TRANSPORT CORP              OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JMA LLC                              OR TAB BANK, P.O. BOX 150830 OGDEN UT 84415
JMA ROCKET LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JMAC ELECTRIC LLC                    1010 E PENNSYLVANIA ST STE 204 TUCSON AZ 85714
JMARCE TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JMB EXPRESS TRUCKING LLC             OR ENGAGED FINANCIAL, PO BOX 775553 CHICAGO IL 60677
JMC EXPRESS INC                      3035 BELLBROOK CENTER DRIVE MEMPHIS TN 38116
JMC LOGISTICS SERVICES INC           OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
JMC TRANS LLC                        OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
JMC TRUCKING                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JMD CARRIERS INC                     OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
JMD RECYCLING SERVICES INC           OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
JME                                  ATTN: NADIA NUNEZ SOURCE ALLIANCE NETWOR 2023 W CARROLL AVE C 205 CHICAGO IL
                                     60612
JME EXPRESS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JMEEXPRESS                           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JMG PLUS LLC                         OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
JMG SECURITY SYSTEMS, INC.           17150 NEWHOPE ST, SUITE 109 FOUNTAIN VALLEY CA 92708
JMG TRANSPORT LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JMH IMMEDIATE CARE                   PO BOX 314 FRANKLIN IN 46131-0314
JMH TRANSPORT LLC (BLOOMFIELD NJ)    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JMJ EXPRESS CARRIERS, LLC            PO BOX 1495 EAGLE PASS TX 78853
JMJ FREIGHT CARRIERS LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JMJ GROUP, LLC                       PO BOX 1203 THOMASVILLE GA 31799
JMJ TRANSPORTATION                   PO BOX 7280 AKRON OH 44306
JMJ TRANSPORTATION LLC               240 HUGH DR COVINGTON GA 30016-9030
JMJ TRANSPORTATION LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JMK CARRIERS LLC                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
JMK LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JMK TRANSPORT INC                    OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
JML LOGISTICS SERVICES INC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576


Epiq Corporate Restructuring, LLC                                                                 Page 973 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 982 of 2156

Claim Name                          Address Information
JML TRANSPORTATION LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
JML TRANSPORTATION, INC.            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JMN LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JMONG LOGISTIC LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JMOREL TRANSPORTATION LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JMP EXPRESS INC                     OR RIVIERA FINANCE OF IOWA PO BOX 310243 DES MOINES IA 50331-0243
JMR LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JMR OPERATIONS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JMRD TRUCKING                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JMS EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JMT EXPRESS INC                     OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
JMT FREIGHT SPECIALIST              1011 LAKE RD MEDINA OH 44256
JMT TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JMT TRANSPORTATION CORP             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JMT TRANSPORTATION CORP             6355 SW 8 ST UNIT 909 MIAMI FL 33144
JMTK ENTERPRISES LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JMU TRANSPORTATION LLC              OR J.O.B.E SERVICES INC. P.O. BOX 4346 DEPT. 22 HOUSTON TX 77210
JMV CARRIERS INC                    OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
JMV LOGISTICS INC                   2920 AVENUE F ARLINGTON TX 76011
JMV LOGISTICS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JMV TRANS, LLC                      OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320
JMV TRANSPORT INC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JMY BROTHERS LOGISTIC INC           OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
JMY TRANSPORTATION SERVICES LLC     OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
JMZ EXPRESS INC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
JN EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JN TRANS LLC                        4140 BULRUSH ST TIPP CITY OH 45371
JN TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JN3 TRANSPORT LLC                   OR TAFS, INC., PO BOX 872632 KANSAS CITY MO 64187
JNA EXPRESS                         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                    CHICAGO IL 60674-0411
JNAS TRANSPORTATION LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JNB CARRIER LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JNB LOGISTICS INC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JND LOGISTICS , LLC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JNG TRUCKING LLC                    OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
JNJ CARRIER LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JNJ CARRIER LLC.                    28 CHARLES ST FL 2 CARTERET NJ 07008-3102
JNJ EXPRESS, INC.                   JNJ EXPRESS MEMPHIS TN 38130-0983
JNJ EXPRESS, INC.                   JNJ EXPRESS, INC., PO BOX 30983 MEMPHIS TN 38130-0983
JNJ INVESTMENT GROUP LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JNJ MOTOR GROUP LLC                 OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
JNL TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JNP EXPRESS INC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JNP TRANSPORT, LLC                  OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
JNR HAULING LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JNR TRANSPORT INC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JNS EXPRESS INC                     OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
JNS SMITHCHEM LLC                   90 6TH AVE PATERSON NJ 07524



Epiq Corporate Restructuring, LLC                                                                Page 974 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 983 of 2156

Claim Name                              Address Information
JNS TRUCKING LLC                        OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
JNX INC                                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JO HAMMER TRUCKING INC                  OR GENERAL BUSINESS CREDIT 110 E. 9TH ST, STE C-900 LOS ANGELES CA 90079
JO TRANSPORT LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JOACHIM, PAMELA                         ADDRESS ON FILE
JOAN C CRAWFORD                         ADDRESS ON FILE
JOANN DITOMASSO                         ADDRESS ON FILE
JOANN GRAHAM                            ADDRESS ON FILE
JOANNA TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JOANNE VANDER ESPT                      ADDRESS ON FILE
JOB SHAKERS, LLC                        611 W. 57TH ST. KANSAS CITY MO 64113
JOB SHAKERS, LLC                        4851 MEADOWBROOK PKWY 140 PRAIRIE VILLAGE KS 66207
JOB SHAKERS, LLC                        12105 HORTON OVERLAND PARK KS 66209
JOBAR INTERNATIONAL                     3112 KASHIWA STREET TORRANCE CA 90505
JOBE, NICHOLAS                          ADDRESS ON FILE
JOBE, WETZEL                            ADDRESS ON FILE
JOBI EXPRESS LLC                        OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JOBST, KURT                             ADDRESS ON FILE
JOBVITE INC                             PO BOX 208262 DALLAS TX 75320
JOCELIN, NICK                           ADDRESS ON FILE
JOCHENS, MICHAEL                        ADDRESS ON FILE
JOCHUM, ROBERT                          ADDRESS ON FILE
JODAC OFFICE OUTFITTERS                 ATTN: TIMBERLY HALL 2402 S MOBBERLY AVE LONGVIEW TX 75602-3818
JODEE R LANTZ                           ADDRESS ON FILE
JODETTE K PALACIOS                      ADDRESS ON FILE
JODI CORRIGAN                           ADDRESS ON FILE
JODY D WISENBAUGH                       ADDRESS ON FILE
JODY DACKEWICH                          ADDRESS ON FILE
JODY DACKEWICH                          ADDRESS ON FILE
JOE & GLO TRANSPORTATION LLC            539 W COMMERCE ST 1152 DALLAS TX 75208
JOE BEARD AND SONS CORP                 5766 PROSPECT DRIVE NEWBURGH IN 47630
JOE DICKEY ELECTRIC                     PO BOX 158 NORTH LIMA OH 44452
JOE EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JOE FAMILY TRUCKING LLC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JOE GODDARD ENTERPRISES                 ATTN: COURTNEY 11950 THOUSAND OAKS DR EDMOND OK 73034
JOE L MARTINEZ                          ADDRESS ON FILE
JOE PELICAN MOTOR FREIGHT CORPORATION   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JOE WHEELER EMC                         PO BOX 460 TRINITY AL 35673
JOE, DON                                ADDRESS ON FILE
JOE, SWITHSON                           ADDRESS ON FILE
JOEDICKE, JASON                         ADDRESS ON FILE
JOEL A MOYER                            ADDRESS ON FILE
JOEL J HOWARD                           ADDRESS ON FILE
JOEL L KECK                             ADDRESS ON FILE
JOEL MILNER                             ADDRESS ON FILE
JOEL PINGEON TRUCKING, INC,             OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
JOEL T NORRIS                           ADDRESS ON FILE
JOEL, KIMBERLY                          ADDRESS ON FILE
JOELG TRUCKING                          OR AZALINE CAPITAL, LLC, PO BOX 200814 DALLAS TX 75320-0814



Epiq Corporate Restructuring, LLC                                                                    Page 975 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                              Page 984 of 2156

Claim Name                           Address Information
JOES AUTO RV & TRUCK                 561 N LAKE HAVASU AVE LAKE HAVASU CITY AZ 86403
JOES GARAGE                          10603 BACK ORRVILLE RD ORRVILLE OH 44667
JOES PAINT AND BODY SHOP INC         35 INDUSTRIAL BLVD, PO BOX 523 CAMILLA GA 31730
JOES TOWING & RECOVERY               2233 SPRINGFIELD RD BLOOMINGTON IL 61701
JOES TRANSPORTATION INC              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JOGI, HITENDRA                       ADDRESS ON FILE
JOGUE INC                            ATTN: KWESI AKAAH 14731 HELM CT PLYMOUTH MI 48170
JOHA FLASH ENTERPRISE CORP           11 STEINER PLACE, NORTH PLAINFIELD NJ 07060
JOHAL TRANSPORT INC                  3039 N REDDA RD FRESNO CA 93737
JOHAL TRUCK LINES                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JOHALS TRUCKING INC                  4731 SIMPSON DRIVE BURLINGTON ON L7M 0K4 CANADA
JOHAN CATANO                         ADDRESS ON FILE
JOHANN, SHAUN                        ADDRESS ON FILE
JOHANNES, NICHOLAS                   ADDRESS ON FILE
JOHANNINGMEIER, JAMES                ADDRESS ON FILE
JOHANSEN, HENRY                      ADDRESS ON FILE
JOHANSEN, TENA                       ADDRESS ON FILE
JOHANSON, CLIFFORD                   ADDRESS ON FILE
JOHANSSON, KURT                      ADDRESS ON FILE
JOHN & ANNE GAUGHAN                  ADDRESS ON FILE
JOHN & BRADS TRUCK & TRAILER R       401 E PANOLA MOUNT ENTERPRISE TX 75681
JOHN & JR EXPRESS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JOHN A CHACON                        ADDRESS ON FILE
JOHN A DAVIS JR                      ADDRESS ON FILE
JOHN A GONZALES                      ADDRESS ON FILE
JOHN A RIZO                          ADDRESS ON FILE
JOHN A ROBB                          ADDRESS ON FILE
JOHN A RUSSELL                       ADDRESS ON FILE
JOHN A RUSSELL                       ADDRESS ON FILE
JOHN A WAGNER TRUCKING LLC           649 SOUTHWICK RD SOMERDALE NJ 08083
JOHN AGUILERA                        ADDRESS ON FILE
JOHN ALLEN BARKER                    ADDRESS ON FILE
JOHN ALSTATT III                     ADDRESS ON FILE
JOHN ANOP                            ADDRESS ON FILE
JOHN ASTA & CO                       PO BOX L-715 LANGHORNE PA 19047
JOHN B STOKES JR                     ADDRESS ON FILE
JOHN B STOKES JR                     ADDRESS ON FILE
JOHN B STOKES JR                     ADDRESS ON FILE
JOHN BOOS & CO                       3601 S BANKER ST EFFINGHAM IL 62401
JOHN BOOS & CO                       ATTN: CHERYL GARRISON 3601 S BANKER ST EFFINGHAM IL 62401
JOHN BOUCHARD & SONS CO.             MSC 30305, PO BOX 415000 NASHVILLE TN 37241
JOHN BOWKER                          ADDRESS ON FILE
JOHN BRYANT                          ADDRESS ON FILE
JOHN BUSSARD                         ADDRESS ON FILE
JOHN C BENNETT                       ADDRESS ON FILE
JOHN C HULETT                        ADDRESS ON FILE
JOHN C QUANDT                        ADDRESS ON FILE
JOHN C SCHRADER                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 976 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                 Page 985 of 2156

Claim Name                              Address Information
JOHN CACERES III                        ADDRESS ON FILE
JOHN CAMPBELL                           ADDRESS ON FILE
JOHN CARRIER                            ADDRESS ON FILE
JOHN CARRILLO HYDRONIC HEATING SPEC     7800 MILLER DR UNIT C FREDERICK CO 80504
JOHN CROSLIN                            ADDRESS ON FILE
JOHN D KLEINHEKSEL                      ADDRESS ON FILE
JOHN D MESSINA                          ADDRESS ON FILE
JOHN D SARNO                            ADDRESS ON FILE
JOHN D SARNO                            ADDRESS ON FILE
JOHN D WEST                             ADDRESS ON FILE
JOHN D WIDGER                           ADDRESS ON FILE
JOHN DEERE CLAIMS                       300 DATA CT DUBUQUE IA 52003
JOHN DEERE CLAIMS                       ATTN: ABIGAIL SALIGUMBA 300 DATA CT DUBUQUE IA 52003
JOHN DEERE CLAIMS                       ATTN: GERALD DACANAY 300 DATA CT DUBUQUE IA 52003
JOHN DIBARI                             ADDRESS ON FILE
JOHN DSUBAN SPRING SERVICE              4830 DUFF DRIVE CINCINNATI OH 45246
JOHN E NIXON                            ADDRESS ON FILE
JOHN E RUTH CO INC                      5621 OLD FREDERICK RD BALTIMORE MD 21228
JOHN E RUTH CO INC                      5621 OLD FREDERICK ROAD SUITE 2 BALTIMORE MD 21228
JOHN E SAWYER                           ADDRESS ON FILE
JOHN EXPRESS INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JOHN EXPRESS TRUCKING LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JOHN F RINGWOOD JR                      ADDRESS ON FILE
JOHN F TRANSPORT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JOHN FAYARD MOVING & WAREHOUSING, LLC   P O BOX 2189 GULFPORT MS 39505
JOHN G CATALDO AIA CSI ARCHITECT INC    835 MISSION ST SOUTH PASADENA CA 91030
JOHN GREENE                             ADDRESS ON FILE
JOHN GRELLA                             ADDRESS ON FILE
JOHN H NEWTON                           ADDRESS ON FILE
JOHN HARDING                            ADDRESS ON FILE
JOHN HORSE LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JOHN HORTON ENTERPRISE LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JOHN J KOEHLER                          ADDRESS ON FILE
JOHN J MCNAMARA                         ADDRESS ON FILE
JOHN J MCNAMARA                         ADDRESS ON FILE
JOHN J WILSON                           ADDRESS ON FILE
JOHN J ZIRPOLI                          ADDRESS ON FILE
JOHN K TATE                             ADDRESS ON FILE
JOHN L ARMITAGE COMPANY                 545 NATIONAL DR GALLATIN TN 37066
JOHN L CHRISTIE                         ADDRESS ON FILE
JOHN L HALL                             ADDRESS ON FILE
JOHN L SELF                             ADDRESS ON FILE
JOHN L. LOGISTICS                       D/B/A: THE JOHN L GROUP 436 SAGINAW ST STE 300 FLINT MI 48502
JOHN M FISHER JR                        ADDRESS ON FILE
JOHN M LAWLER                           ADDRESS ON FILE
JOHN M MCCLURE                          ADDRESS ON FILE
JOHN M STRAUCH                          ADDRESS ON FILE
JOHN MARCUS                             ADDRESS ON FILE
JOHN MASTERS ORGANIC                    ATTN: CHARLIE SLUSHER 14201 C ST AUBURN WA 98001



Epiq Corporate Restructuring, LLC                                                                   Page 977 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 986 of 2156

Claim Name                           Address Information
JOHN MATERA                          ADDRESS ON FILE
JOHN MCBRIDE                         ADDRESS ON FILE
JOHN MCKEE                           ADDRESS ON FILE
JOHN MCMANIS TRUCKING                OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
JOHN MICHAEL WOODDY                  ADDRESS ON FILE
JOHN MONAHAN                         ADDRESS ON FILE
JOHN MORGAN TRANSPORT, INC.          621 SOUTH GROVE ST WAUPUN WI 53963
JOHN P LESMEISTER                    ADDRESS ON FILE
JOHN P STRATTON                      ADDRESS ON FILE
JOHN PACK                            ADDRESS ON FILE
JOHN PERRY                           ADDRESS ON FILE
JOHN POLLITT                         ADDRESS ON FILE
JOHN R AMES                          ADDRESS ON FILE
JOHN R CASHEN                        ADDRESS ON FILE
JOHN R JOYCE                         ADDRESS ON FILE
JOHN R ROLSTON                       ADDRESS ON FILE
JOHN RANDALL CARNETT                 ADDRESS ON FILE
JOHN RICHARD                         ADDRESS ON FILE
JOHN S JOHNSON                       ADDRESS ON FILE
JOHN SCHEIDT                         ADDRESS ON FILE
JOHN SEARS JR                        ADDRESS ON FILE
JOHN SHEI GARAGE LLC                 3011 WEST JOLIET RD LAPORTE IN 46350
JOHN SHUCK PLUMBING                  120 W. WARREN ST., PO BOX 611 TOMAH WI 54660
JOHN STEPANOV TRUCKING               5978 S. VALLEY PIKE MT. CRAWFORD VA 22841
JOHN STORLIE                         ADDRESS ON FILE
JOHN SWANSON                         ADDRESS ON FILE
JOHN T TRULUCK                       ADDRESS ON FILE
JOHN TOSET                           ADDRESS ON FILE
JOHN VER MULM                        ADDRESS ON FILE
JOHN W EVANS                         ADDRESS ON FILE
JOHN W MYERS                         ADDRESS ON FILE
JOHN W. KENNEDY COMPANY - RI         990 WATERMAN AVENUE, P.O. BOX 14217 EAST PROVIDENCE RI 02914
JOHN WHITSELL                        ADDRESS ON FILE
JOHN XXL                             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JOHNATHAN ANDERSON                   ADDRESS ON FILE
JOHNATHAN D JOHNSON                  ADDRESS ON FILE
JOHNATHAN REIFF                      ADDRESS ON FILE
JOHNBOYS TOWING INC                  2091 21ST ST OCEANO CA 93445
JOHNIES TRUCK & TRAILER LLC          OR PHOENIX CAPITAL, P.O. BOX 1415 DESMOINES IA 50305
JOHNIGARN, KEVIN                     ADDRESS ON FILE
JOHNKE, KATHRYN                      ADDRESS ON FILE
JOHNNIE L HENDERSON                  ADDRESS ON FILE
JOHNNIE SHELTON                      ADDRESS ON FILE
JOHNNY D ROSTYKUS                    ADDRESS ON FILE
JOHNNY L NIGOS ELECTRIC              1115 N 17TH ST EL CENTRO CA 92243
JOHNNY MERIDITH                      ADDRESS ON FILE
JOHNNY REID JR                       ADDRESS ON FILE
JOHNNY STALLWORTH                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 978 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 987 of 2156

Claim Name                               Address Information
JOHNNY TRANS LLC                         OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
JOHNNY TRANSPORT SERVICE LLC             PO BOX 437 BEATTYVILLE KY 41311
JOHNNY VILLANUEVA & SONS                 2414 COLIMA SAN ANTONIO TX 78207
JOHNNY WILLIAMS                          ADDRESS ON FILE
JOHNNYS AUTO & TRUCK TOWING              1122 SWEITZER AVE AKRON OH 44301
JOHNNYS FINE FOODS                       NFI INDUSTRIES, PO BOX 68671 SEATTLE WA 98168
JOHNS GARAGE INC                         6332 W US 30 WANATAH IN 46390
JOHNS HOME AND YARD SERVICE              PO BOX 21460 BILLINGS MT 59104
JOHNS HOME RESTORATION & REPAIR          PO BOX 262 SIKESTON MO 63801
JOHNS LAWN SERVICE                       644 GREEN POND ROAD ROCKAWAY NJ 07866
JOHNS MOBILE REPAIR SERVICE              1511 E COMMERCE AVE CARLISLE PA 17015
JOHNS PAINT & GLASS                      1060 S MAIN STREET, P.O. BOX 72 POCATELLO ID 83204
JOHNS PLUMBING INC                       5851 SERVICE ROAD BIRMINGHAM AL 35235
JOHNS TOWING & REPAIR SERVICE            544 COMMERCE DR BRYAN OH 43506
JOHNS TOWING & STORAGE                   1121 SHERIDAN DR TONAWANDA NY 14150
JOHNS TRUCK AND TRAILER REPAIR, INC.     1418 S 1ST AVE POCATELLO ID 83201
JOHNS WELDING & TOWING, INC              850 N. COUNTY RD. 11 TIFFIN OH 44883
JOHNS, ARIST                             ADDRESS ON FILE
JOHNS, BILLY                             ADDRESS ON FILE
JOHNS, CAITLIN                           ADDRESS ON FILE
JOHNS, DEREK                             ADDRESS ON FILE
JOHNS, MATTHEW                           ADDRESS ON FILE
JOHNS, MICHAEL                           ADDRESS ON FILE
JOHNS, RICHARD                           ADDRESS ON FILE
JOHNS, SHERIE                            ADDRESS ON FILE
JOHNS, TIMOTHY                           ADDRESS ON FILE
JOHNS, WILLIAM                           ADDRESS ON FILE
JOHNSEN TRAILER SALES, INC.              2100 INDUSTRIAL DR BISMARCK ND 58501
JOHNSEN TRAILER SALES, INC.              P.O. BOX 1516 BISMARCK ND 58502
JOHNSEN, CHRISTOPHER                     ADDRESS ON FILE
JOHNSEN, DAVID                           ADDRESS ON FILE
JOHNSEN, LAURA                           ADDRESS ON FILE
JOHNSEN, NOAH                            ADDRESS ON FILE
JOHNSEN, PETER                           ADDRESS ON FILE
JOHNSEN, TODD                            ADDRESS ON FILE
JOHNSON & JOHNSON LOGISTICS LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JOHNSON & JOHNSON TRANSP-KJS LOGISTICS   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JOHNSON & MCKINNEY HOLDINGS LLC          OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
JOHNSON & TOWERS INC                     500 WILSON POINT ROAD BALTIMORE MD 21220
JOHNSON & TOWERS INC                     PO BOX 7788 PORTSMOUTH VA 23707
JOHNSON BROS. MFG. INC.                  47 MERIT CRESCENT, WEST ST PAUL MB R2P 2W5 CANADA
JOHNSON CITY POWER                       2600 BOONES CREEK RD JOHNSON CITY 37615
JOHNSON CONTROL                          10610 BLUEGRASS PKWY. LOUISVILLE KY 40299
JOHNSON CONTROL                          12222 PORT ROAD PASADENA TX 77507
JOHNSON CONTROLS                         ATTN: VANESSA PLEASANT FREIGHT CLAIMS 2600 W POINT DR, STE 100 LITHIA SPRINGS
                                         GA 30122
JOHNSON CONTROLS                         C/O SMITH TRANSPORTATION, 5040 JOANNE KEARNEY BLVD TAMPA FL 33619
JOHNSON CONTROLS                         TRANS INTERNATIONAL LLC, N93 W 16288 MEGAL DR MENOMONEE FALLS WI 53051
JOHNSON CONTROLS                         TRANS INTERNATIONAL, N93 W16288 MEGAL DR MENOMONEE FALLS WI 53051



Epiq Corporate Restructuring, LLC                                                                   Page 979 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 988 of 2156

Claim Name                              Address Information
JOHNSON CONTROLS                        ATTN: ALAN ARISTA SAUCEDA KYLE BOERS 507 E. MICHIGAN AVE, M80 MILWAUKEE WI
                                        53202
JOHNSON CONTROLS                        C/O AMERICAN TRUCK & RAIL AUDITS, PO BOX 278 NORTH LITTLE ROCK AR 72115
JOHNSON CONTROLS                        12728 SHOEMAKER AVE SANTA FE SPRINGS CA 90670
JOHNSON CONTROLS KOCH FILTER            INTELLIGENT AUDIT, 1355 WINDWARD CONCOURSE STE 20 ALPHARETTA GA 30005
JOHNSON CONTROLS POOL                   TRANS INTERNATIONAL, N93W16288 MEGAL DR MENOMONEE FALLS WI 53051
JOHNSON CONTROLS SECURITY SOLUTIONS     P.O. BOX 371967 PITTSBURGH PA 15250
JOHNSON CONTROLS SECURITY SOLUTIONS     PO BOX 371994 PITTSBURGH PA 15250
JOHNSON CONTROLS SECURITY SOLUTIONS     SOLUTIONS LLC, PO BOX 371967 PITTSBURGH PA 15250
JOHNSON CONTROLS SECURITY SOLUTIONS     DEPT CH 10320 PALATINE IL 60055
JOHNSON CONTROLS, INC.                  FIRE PROTECTION LP, DEPT CH 10320 PALATINE IL 60055
JOHNSON CONTROLS, INC.                  FIRE PROTECTION LP, DEPT CH 10320 PALATINE IL 60055-0320
JOHNSON CONTROLS, INC.                  PO BOX 730068 DALLAS TX 75373
JOHNSON COUNTY FEED                     1315 W. MAIN ST. TISHOMINGO OK 73460
JOHNSON COUNTY PARK & RECREATION DIST   MILL CREEK ACTIVITY CENTER, 6518 VISTA DRIVE SHAWNEE KS 66218
JOHNSON COUNTY TREASURER                PO BOX 2902 SHAWNEE MISSION KS 66201
JOHNSON COUNTY TREASURER                PO BOX 29192 SHAWNEE MISSION KS 66201
JOHNSON COUNTY TREASURER                76 NORTH MAIN ST RM 102 BUFFALO WY 82834
JOHNSON COUNTY TREASURER, KANSAS        111 SOUTH CHERRY ST, SUITE 1200 OLATHE KS 66061
JOHNSON COUNTY TREASURER, WYOMING       76 NORTH MAIN ST RM 102 BUFFALO WY 82834
JOHNSON COUNTY WASTEWATER               111 S. CHERRY ST. OLATHE KS 66061
JOHNSON CRUSHER INC                     TCI, PO BOX 750236 MEMPHIS TN 38175
JOHNSON EQUIPMENT COMPANY               PO BOX 802009 DALLAS TX 75380
JOHNSON FILTRATION                      ATTN: JUSTIN MCKEE 1950 OLD HIGHWAY 8 NW NEW BRIGHTON MN 55112
JOHNSON FRUIT & COLD STORAGE            PO BOX 916 SUNNYSIDE WA 98944
JOHNSON GAS APPLIANCE CO                520 E AVE NW CEDAR RAPIDS IA 52405
JOHNSON HARDWARE COMPANY                1201 PACIFIC STREET OMAHA NE 68108
JOHNSON II, ROBERT                      ADDRESS ON FILE
JOHNSON JR, CLARENCE                    ADDRESS ON FILE
JOHNSON OIL CO                          PO BOX 629 GAYLORD MI 49734
JOHNSON PLUMBING                        PO BOX 1265 TONTITOWN AR 72770
JOHNSON SR., RODNEY                     ADDRESS ON FILE
JOHNSON STORAGE & MOVING INC            7009 S JORDAN RD CENTENNIAL CO 80112
JOHNSON TOWING & RECOVERY               110 N BOLLMAN ST NEW BEDFORD IL 61346
JOHNSON TOWING OF STEVENS POINT         3801 PATCH ST STEVENS POINT WI 54481
JOHNSON TRANSPORT SOLUTIONS, LLC        OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
JOHNSON TRANSPORT, INC.                 2844 TILGHMAN RD, 0 WILSON NC 27896
JOHNSON TRUCK CENTER                    500 WILSON POINT BALTIMORE MD 21220
JOHNSON TRUCK CENTER                    3801 IRONWOOD PLACE LANDOVER MD 20785
JOHNSON TRUCK CENTER                    PO BOX 7788 PORTSMOUTH VA 23707
JOHNSON TRUCKIN LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JOHNSON TRUCKING (MC796198)             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JOHNSON UNITED LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JOHNSON WORLDWIDE ASSOCIATES            ATTN: DEANNE CARBONNEAU 121 POWER DR MANKATO MN 56001
JOHNSON, AARON                          ADDRESS ON FILE
JOHNSON, ADAM                           ADDRESS ON FILE
JOHNSON, ALAIA                          ADDRESS ON FILE
JOHNSON, ALEX                           ADDRESS ON FILE
JOHNSON, ALLEN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 980 OF 2145
                                       Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                  Page 989 of 2156

Claim Name                      Address Information
JOHNSON, AMY                    ADDRESS ON FILE
JOHNSON, AMY                    ADDRESS ON FILE
JOHNSON, ANDREA                 ADDRESS ON FILE
JOHNSON, ANDREW                 ADDRESS ON FILE
JOHNSON, ANNETTE                ADDRESS ON FILE
JOHNSON, ANTOINE                ADDRESS ON FILE
JOHNSON, ANTONIO                ADDRESS ON FILE
JOHNSON, ARIANNA                ADDRESS ON FILE
JOHNSON, ARTHUR                 ADDRESS ON FILE
JOHNSON, ARTHUR                 ADDRESS ON FILE
JOHNSON, AUDRA                  ADDRESS ON FILE
JOHNSON, AUSTIN                 ADDRESS ON FILE
JOHNSON, AUSTIN                 ADDRESS ON FILE
JOHNSON, AUSTIN                 ADDRESS ON FILE
JOHNSON, BARRY                  ADDRESS ON FILE
JOHNSON, BENNIE                 ADDRESS ON FILE
JOHNSON, BEVERLY                ADDRESS ON FILE
JOHNSON, BILLY                  ADDRESS ON FILE
JOHNSON, BOBBY                  ADDRESS ON FILE
JOHNSON, BOBBY                  ADDRESS ON FILE
JOHNSON, BOBBY                  ADDRESS ON FILE
JOHNSON, BOBBY                  ADDRESS ON FILE
JOHNSON, BRADLEY                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRANDON                ADDRESS ON FILE
JOHNSON, BRENT                  ADDRESS ON FILE
JOHNSON, BRENT                  ADDRESS ON FILE
JOHNSON, BRIAN                  ADDRESS ON FILE
JOHNSON, BRIAN                  ADDRESS ON FILE
JOHNSON, BRIAN                  ADDRESS ON FILE
JOHNSON, BRYAN                  ADDRESS ON FILE
JOHNSON, CAMERON                ADDRESS ON FILE
JOHNSON, CANDICE                ADDRESS ON FILE
JOHNSON, CAREY                  ADDRESS ON FILE
JOHNSON, CARL                   ADDRESS ON FILE
JOHNSON, CARROLL                ADDRESS ON FILE
JOHNSON, CARY                   ADDRESS ON FILE
JOHNSON, CEDGRIC                ADDRESS ON FILE
JOHNSON, CEDRIC                 ADDRESS ON FILE
JOHNSON, CEDRIC                 ADDRESS ON FILE
JOHNSON, CEDRIC                 ADDRESS ON FILE
JOHNSON, CHAD                   ADDRESS ON FILE
JOHNSON, CHARLES                ADDRESS ON FILE
JOHNSON, CHARLES                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 981 OF 2145
                                           Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                      Page 990 of 2156

Claim Name                          Address Information
JOHNSON, CHARLES                    ADDRESS ON FILE
JOHNSON, CHARLES                    ADDRESS ON FILE
JOHNSON, CHARLES                    ADDRESS ON FILE
JOHNSON, CHARLES                    ADDRESS ON FILE
JOHNSON, CHARLES                    ADDRESS ON FILE
JOHNSON, CHAUNCEY                   ADDRESS ON FILE
JOHNSON, CHAVON                     ADDRESS ON FILE
JOHNSON, CHERYL                     ADDRESS ON FILE
JOHNSON, CHRIS                      ADDRESS ON FILE
JOHNSON, CHRISTOPHER                ADDRESS ON FILE
JOHNSON, CHRISTOPHER                ADDRESS ON FILE
JOHNSON, CHRISTOPHER                ADDRESS ON FILE
JOHNSON, CLARENCE                   ADDRESS ON FILE
JOHNSON, CLARENCE                   ADDRESS ON FILE
JOHNSON, CLAY                       ADDRESS ON FILE
JOHNSON, CLIFFORD                   ADDRESS ON FILE
JOHNSON, CLIFFORD                   ADDRESS ON FILE
JOHNSON, CLINT                      ADDRESS ON FILE
JOHNSON, COREY                      ADDRESS ON FILE
JOHNSON, CORNELIUS                  ADDRESS ON FILE
JOHNSON, COURTNEY                   ADDRESS ON FILE
JOHNSON, CRAIG                      ADDRESS ON FILE
JOHNSON, CRAIG                      ADDRESS ON FILE
JOHNSON, CRAIG N                    ADDRESS ON FILE
JOHNSON, CURTIS                     ADDRESS ON FILE
JOHNSON, DALE                       ADDRESS ON FILE
JOHNSON, DAMION                     ADDRESS ON FILE
JOHNSON, DAMON                      ADDRESS ON FILE
JOHNSON, DANARY                     ADDRESS ON FILE
JOHNSON, DANIEL                     ADDRESS ON FILE
JOHNSON, DANIEL                     ADDRESS ON FILE
JOHNSON, DANNY                      ADDRESS ON FILE
JOHNSON, DANNY B                    ADDRESS ON FILE
JOHNSON, DANTE                      ADDRESS ON FILE
JOHNSON, DARNELL                    ADDRESS ON FILE
JOHNSON, DARRYL                     ADDRESS ON FILE
JOHNSON, DARRYLE                    ADDRESS ON FILE
JOHNSON, DARYL                      ADDRESS ON FILE
JOHNSON, DASHAUN                    ADDRESS ON FILE
JOHNSON, DAVID                      ADDRESS ON FILE
JOHNSON, DAVID                      ADDRESS ON FILE
JOHNSON, DAVID                      ADDRESS ON FILE
JOHNSON, DAVID                      ADDRESS ON FILE
JOHNSON, DAVID                      ADDRESS ON FILE
JOHNSON, DAVID                      ADDRESS ON FILE
JOHNSON, DEANGELO                   ADDRESS ON FILE
JOHNSON, DEBORAH                    ADDRESS ON FILE
JOHNSON, DELTON                     ADDRESS ON FILE
JOHNSON, DEMAIL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                        Page 982 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 991 of 2156

Claim Name                        Address Information
JOHNSON, DEMARQUAE                ADDRESS ON FILE
JOHNSON, DENA                     ADDRESS ON FILE
JOHNSON, DENISE                   ADDRESS ON FILE
JOHNSON, DENISE                   ADDRESS ON FILE
JOHNSON, DENNIS                   ADDRESS ON FILE
JOHNSON, DENNIS A                 ADDRESS ON FILE
JOHNSON, DEREK                    ADDRESS ON FILE
JOHNSON, DERRELL                  ADDRESS ON FILE
JOHNSON, DERRICK                  ADDRESS ON FILE
JOHNSON, DERRICK                  ADDRESS ON FILE
JOHNSON, DERRICK                  ADDRESS ON FILE
JOHNSON, DEXTER                   ADDRESS ON FILE
JOHNSON, DOMINIQUE                ADDRESS ON FILE
JOHNSON, DONALD                   ADDRESS ON FILE
JOHNSON, DONALD                   ADDRESS ON FILE
JOHNSON, DONALD                   ADDRESS ON FILE
JOHNSON, DONTE P                  ADDRESS ON FILE
JOHNSON, DUANE                    ADDRESS ON FILE
JOHNSON, DURANT                   ADDRESS ON FILE
JOHNSON, DUSTIN                   ADDRESS ON FILE
JOHNSON, EDDIE                    ADDRESS ON FILE
JOHNSON, EDDIE                    ADDRESS ON FILE
JOHNSON, EDWARD                   ADDRESS ON FILE
JOHNSON, EDWARD                   ADDRESS ON FILE
JOHNSON, EDWARD                   ADDRESS ON FILE
JOHNSON, EDWARD                   ADDRESS ON FILE
JOHNSON, ELLERY                   ADDRESS ON FILE
JOHNSON, ELMOS                    ADDRESS ON FILE
JOHNSON, EMMANUEL                 ADDRESS ON FILE
JOHNSON, ERNEST                   ADDRESS ON FILE
JOHNSON, ETHA                     ADDRESS ON FILE
JOHNSON, EUGENE                   ADDRESS ON FILE
JOHNSON, EUGENE                   ADDRESS ON FILE
JOHNSON, FERDINAND                ADDRESS ON FILE
JOHNSON, FRANKLYN                 ADDRESS ON FILE
JOHNSON, FRED                     ADDRESS ON FILE
JOHNSON, FREDERICK                ADDRESS ON FILE
JOHNSON, GABRIEL                  ADDRESS ON FILE
JOHNSON, GARRETT                  ADDRESS ON FILE
JOHNSON, GARRY                    ADDRESS ON FILE
JOHNSON, GARY                     ADDRESS ON FILE
JOHNSON, GEORGE                   ADDRESS ON FILE
JOHNSON, GERALD                   ADDRESS ON FILE
JOHNSON, GERALD D                 ADDRESS ON FILE
JOHNSON, GLEN                     ADDRESS ON FILE
JOHNSON, GLEN                     ADDRESS ON FILE
JOHNSON, GLENN                    ADDRESS ON FILE
JOHNSON, GLENN                    ADDRESS ON FILE
JOHNSON, GLENN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 983 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 992 of 2156

Claim Name                        Address Information
JOHNSON, GLENN                    ADDRESS ON FILE
JOHNSON, GLORIA                   ADDRESS ON FILE
JOHNSON, GREGORY                  ADDRESS ON FILE
JOHNSON, GREGORY                  ADDRESS ON FILE
JOHNSON, GROVER                   ADDRESS ON FILE
JOHNSON, HASSAN                   ADDRESS ON FILE
JOHNSON, HEATHER                  ADDRESS ON FILE
JOHNSON, HEATHER                  ADDRESS ON FILE
JOHNSON, HEIDI                    ADDRESS ON FILE
JOHNSON, HENRY                    ADDRESS ON FILE
JOHNSON, HOWARD                   ADDRESS ON FILE
JOHNSON, IVAN                     ADDRESS ON FILE
JOHNSON, JACKIE                   ADDRESS ON FILE
JOHNSON, JACOB                    ADDRESS ON FILE
JOHNSON, JAMAL D                  ADDRESS ON FILE
JOHNSON, JAMES                    ADDRESS ON FILE
JOHNSON, JAMES                    ADDRESS ON FILE
JOHNSON, JAMES                    ADDRESS ON FILE
JOHNSON, JAMES                    ADDRESS ON FILE
JOHNSON, JAMES                    ADDRESS ON FILE
JOHNSON, JAMES                    ADDRESS ON FILE
JOHNSON, JANICE                   ADDRESS ON FILE
JOHNSON, JASON                    ADDRESS ON FILE
JOHNSON, JASON                    ADDRESS ON FILE
JOHNSON, JASON                    ADDRESS ON FILE
JOHNSON, JASON                    ADDRESS ON FILE
JOHNSON, JASON                    ADDRESS ON FILE
JOHNSON, JASON L                  ADDRESS ON FILE
JOHNSON, JAY                      ADDRESS ON FILE
JOHNSON, JAY                      ADDRESS ON FILE
JOHNSON, JAYLIN                   ADDRESS ON FILE
JOHNSON, JEFF                     ADDRESS ON FILE
JOHNSON, JEFFREY                  ADDRESS ON FILE
JOHNSON, JEFFREY                  ADDRESS ON FILE
JOHNSON, JEFFREY                  ADDRESS ON FILE
JOHNSON, JEFFREY                  ADDRESS ON FILE
JOHNSON, JEFFREY                  ADDRESS ON FILE
JOHNSON, JEHOSHUAH                ADDRESS ON FILE
JOHNSON, JENNIFER                 ADDRESS ON FILE
JOHNSON, JEREMY                   ADDRESS ON FILE
JOHNSON, JEREMY                   ADDRESS ON FILE
JOHNSON, JEREMY                   ADDRESS ON FILE
JOHNSON, JERMAINE                 ADDRESS ON FILE
JOHNSON, JERMOND                  ADDRESS ON FILE
JOHNSON, JERRY                    ADDRESS ON FILE
JOHNSON, JERRY                    ADDRESS ON FILE
JOHNSON, JERRY                    ADDRESS ON FILE
JOHNSON, JESSE                    ADDRESS ON FILE
JOHNSON, JESSICA                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 984 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 993 of 2156

Claim Name                        Address Information
JOHNSON, JIMMY                    ADDRESS ON FILE
JOHNSON, JODY                     ADDRESS ON FILE
JOHNSON, JOEL                     ADDRESS ON FILE
JOHNSON, JOEY                     ADDRESS ON FILE
JOHNSON, JOHN                     ADDRESS ON FILE
JOHNSON, JOHN                     ADDRESS ON FILE
JOHNSON, JOHN D                   ADDRESS ON FILE
JOHNSON, JOHNATHAN                ADDRESS ON FILE
JOHNSON, JOHNNY L                 ADDRESS ON FILE
JOHNSON, JORDAN                   ADDRESS ON FILE
JOHNSON, JORDAN                   ADDRESS ON FILE
JOHNSON, JOSEPH                   ADDRESS ON FILE
JOHNSON, JOSEPH                   ADDRESS ON FILE
JOHNSON, JOSEPH                   ADDRESS ON FILE
JOHNSON, JOSHUA                   ADDRESS ON FILE
JOHNSON, JOSHUA                   ADDRESS ON FILE
JOHNSON, JOSHUA                   ADDRESS ON FILE
JOHNSON, JUDY                     ADDRESS ON FILE
JOHNSON, JUDY                     ADDRESS ON FILE
JOHNSON, KAITLIN                  ADDRESS ON FILE
JOHNSON, KALA                     ADDRESS ON FILE
JOHNSON, KAMERON                  ADDRESS ON FILE
JOHNSON, KASEY                    ADDRESS ON FILE
JOHNSON, KATHRYN                  ADDRESS ON FILE
JOHNSON, KELLY M                  ADDRESS ON FILE
JOHNSON, KEMARI                   ADDRESS ON FILE
JOHNSON, KENNETH                  ADDRESS ON FILE
JOHNSON, KENNETH                  ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KEVIN                    ADDRESS ON FILE
JOHNSON, KIMBERLY                 ADDRESS ON FILE
JOHNSON, KIRK                     ADDRESS ON FILE
JOHNSON, KRAIG                    ADDRESS ON FILE
JOHNSON, KRIST                    ADDRESS ON FILE
JOHNSON, KRISTEN                  ADDRESS ON FILE
JOHNSON, KYLE                     ADDRESS ON FILE
JOHNSON, KYLIN                    ADDRESS ON FILE
JOHNSON, LACY                     ADDRESS ON FILE
JOHNSON, LAQUASIA                 ADDRESS ON FILE
JOHNSON, LARRY                    ADDRESS ON FILE
JOHNSON, LARRY                    ADDRESS ON FILE
JOHNSON, LARRY                    ADDRESS ON FILE
JOHNSON, LELAND                   ADDRESS ON FILE
JOHNSON, LEROY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 985 OF 2145
                                          Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                     Page 994 of 2156

Claim Name                         Address Information
JOHNSON, LILLIE P                  ADDRESS ON FILE
JOHNSON, LILLIE P                  ADDRESS ON FILE
JOHNSON, LINAE                     ADDRESS ON FILE
JOHNSON, LISA                      ADDRESS ON FILE
JOHNSON, LONNIE                    ADDRESS ON FILE
JOHNSON, LORENZO                   ADDRESS ON FILE
JOHNSON, MACHELLE                  ADDRESS ON FILE
JOHNSON, MALIK                     ADDRESS ON FILE
JOHNSON, MANDY                     ADDRESS ON FILE
JOHNSON, MARCIA                    ADDRESS ON FILE
JOHNSON, MARCUS                    ADDRESS ON FILE
JOHNSON, MARCUS                    ADDRESS ON FILE
JOHNSON, MARCUS                    ADDRESS ON FILE
JOHNSON, MARK                      ADDRESS ON FILE
JOHNSON, MARK                      ADDRESS ON FILE
JOHNSON, MARK                      ADDRESS ON FILE
JOHNSON, MARKITA                   ADDRESS ON FILE
JOHNSON, MARKUS                    ADDRESS ON FILE
JOHNSON, MARLON                    ADDRESS ON FILE
JOHNSON, MARTAVIOUS                ADDRESS ON FILE
JOHNSON, MARVIN                    ADDRESS ON FILE
JOHNSON, MASON                     ADDRESS ON FILE
JOHNSON, MATHIEU                   ADDRESS ON FILE
JOHNSON, MAURICE                   ADDRESS ON FILE
JOHNSON, MICHAEL                   ADDRESS ON FILE
JOHNSON, MICHAEL                   ADDRESS ON FILE
JOHNSON, MICHAEL                   ADDRESS ON FILE
JOHNSON, MICHAEL                   ADDRESS ON FILE
JOHNSON, MICHAEL                   ADDRESS ON FILE
JOHNSON, MICHAEL                   ADDRESS ON FILE
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JOHNSON, MICHAEL                   ADDRESS ON FILE
JOHNSON, MICHAEL D                 ADDRESS ON FILE
JOHNSON, MICHAEL D                 ADDRESS ON FILE
JOHNSON, MICHEAL                   ADDRESS ON FILE
JOHNSON, MIKE                      ADDRESS ON FILE
JOHNSON, MONICA                    ADDRESS ON FILE
JOHNSON, MONTRAY                   ADDRESS ON FILE
JOHNSON, NAKESHA                   ADDRESS ON FILE
JOHNSON, NANCY                     ADDRESS ON FILE
JOHNSON, NAOMI                     ADDRESS ON FILE
JOHNSON, NATASHA                   ADDRESS ON FILE
JOHNSON, NATHAN                    ADDRESS ON FILE
JOHNSON, NICHOLAS                  ADDRESS ON FILE
JOHNSON, NOAH                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 986 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 995 of 2156

Claim Name                        Address Information
JOHNSON, OSHAE                    ADDRESS ON FILE
JOHNSON, PAMELA                   ADDRESS ON FILE
JOHNSON, PATRICK                  ADDRESS ON FILE
JOHNSON, PATRICK                  ADDRESS ON FILE
JOHNSON, PATRICK                  ADDRESS ON FILE
JOHNSON, PAUL                     ADDRESS ON FILE
JOHNSON, PAUL C                   ADDRESS ON FILE
JOHNSON, PETE                     ADDRESS ON FILE
JOHNSON, PETER                    ADDRESS ON FILE
JOHNSON, PHILLIP W                ADDRESS ON FILE
JOHNSON, POLLY                    ADDRESS ON FILE
JOHNSON, QUINCY                   ADDRESS ON FILE
JOHNSON, QUINN                    ADDRESS ON FILE
JOHNSON, RANDY                    ADDRESS ON FILE
JOHNSON, RANDY                    ADDRESS ON FILE
JOHNSON, RASHEEK                  ADDRESS ON FILE
JOHNSON, RAYMOND                  ADDRESS ON FILE
JOHNSON, RAYMOND                  ADDRESS ON FILE
JOHNSON, REGGIE                   ADDRESS ON FILE
JOHNSON, REGINALD                 ADDRESS ON FILE
JOHNSON, REGINALD                 ADDRESS ON FILE
JOHNSON, REUBEN                   ADDRESS ON FILE
JOHNSON, RICHARD                  ADDRESS ON FILE
JOHNSON, RICHARD                  ADDRESS ON FILE
JOHNSON, RICHARD T                ADDRESS ON FILE
JOHNSON, RICHARD T                ADDRESS ON FILE
JOHNSON, RICK                     ADDRESS ON FILE
JOHNSON, RICKIE                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, ROBERT                   ADDRESS ON FILE
JOHNSON, RODERICK                 ADDRESS ON FILE
JOHNSON, RODNEY                   ADDRESS ON FILE
JOHNSON, RODNEY                   ADDRESS ON FILE
JOHNSON, ROLAND                   ADDRESS ON FILE
JOHNSON, RONALD                   ADDRESS ON FILE
JOHNSON, RONALD                   ADDRESS ON FILE
JOHNSON, RONNIE                   ADDRESS ON FILE
JOHNSON, RONNIE                   ADDRESS ON FILE
JOHNSON, ROSS                     ADDRESS ON FILE
JOHNSON, ROY                      ADDRESS ON FILE
JOHNSON, RUFUS                    ADDRESS ON FILE
JOHNSON, RUSSELL                  ADDRESS ON FILE
JOHNSON, RYAN                     ADDRESS ON FILE
JOHNSON, SAMUEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 987 OF 2145
                                         Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                    Page 996 of 2156

Claim Name                        Address Information
JOHNSON, SCOTT                    ADDRESS ON FILE
JOHNSON, SCOTT                    ADDRESS ON FILE
JOHNSON, SCOTT                    ADDRESS ON FILE
JOHNSON, SEANTORE                 ADDRESS ON FILE
JOHNSON, SETH                     ADDRESS ON FILE
JOHNSON, SHANE                    ADDRESS ON FILE
JOHNSON, SHATELA                  ADDRESS ON FILE
JOHNSON, STANLEY                  ADDRESS ON FILE
JOHNSON, STEPHANIE                ADDRESS ON FILE
JOHNSON, STERLING                 ADDRESS ON FILE
JOHNSON, STEVEN                   ADDRESS ON FILE
JOHNSON, STEVEN                   ADDRESS ON FILE
JOHNSON, STEVEN                   ADDRESS ON FILE
JOHNSON, TAMMY                    ADDRESS ON FILE
JOHNSON, TATIANA                  ADDRESS ON FILE
JOHNSON, TATIANA                  ADDRESS ON FILE
JOHNSON, TAVARES                  ADDRESS ON FILE
JOHNSON, TAYON                    ADDRESS ON FILE
JOHNSON, TERESA                   ADDRESS ON FILE
JOHNSON, TERRY                    ADDRESS ON FILE
JOHNSON, TERRY                    ADDRESS ON FILE
JOHNSON, TERRY                    ADDRESS ON FILE
JOHNSON, THOMAS                   ADDRESS ON FILE
JOHNSON, TIMOTHY                  ADDRESS ON FILE
JOHNSON, TIMOTHY                  ADDRESS ON FILE
JOHNSON, TIMOTHY                  ADDRESS ON FILE
JOHNSON, TIMOTHY                  ADDRESS ON FILE
JOHNSON, TINA                     ADDRESS ON FILE
JOHNSON, TONY L                   ADDRESS ON FILE
JOHNSON, TRACY                    ADDRESS ON FILE
JOHNSON, TRACY                    ADDRESS ON FILE
JOHNSON, TRAVIS                   ADDRESS ON FILE
JOHNSON, TREVION                  ADDRESS ON FILE
JOHNSON, TURNER                   ADDRESS ON FILE
JOHNSON, TYLER                    ADDRESS ON FILE
JOHNSON, VALERIE                  ADDRESS ON FILE
JOHNSON, VALERIE                  ADDRESS ON FILE
JOHNSON, VANCE                    ADDRESS ON FILE
JOHNSON, VICTOR                   ADDRESS ON FILE
JOHNSON, VICTOR                   ADDRESS ON FILE
JOHNSON, VINCE                    ADDRESS ON FILE
JOHNSON, VINGILAN                 ADDRESS ON FILE
JOHNSON, VIRGIL                   ADDRESS ON FILE
JOHNSON, WALLACE                  ADDRESS ON FILE
JOHNSON, WALTER                   ADDRESS ON FILE
JOHNSON, WAYNE                    ADDRESS ON FILE
JOHNSON, WAYNE                    ADDRESS ON FILE
JOHNSON, WENDELL                  ADDRESS ON FILE
JOHNSON, WILBERT                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 988 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 997 of 2156

Claim Name                           Address Information
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIAM                     ADDRESS ON FILE
JOHNSON, WILLIE                      ADDRESS ON FILE
JOHNSON, WILLIE                      ADDRESS ON FILE
JOHNSON, XAVIER                      ADDRESS ON FILE
JOHNSON, ZACH                        ADDRESS ON FILE
JOHNSONS ELECTRONICS INC             1437 MILLER STREET WINSTON-SALEM NC 27103
JOHNSONS FLEET SERVICE INC           PO BOX 171149 AUSTIN TX 78717
JOHNSONS HEAVY TOWING, INC.          P.O. BOX 30606 FLAGSTAFF AZ 86003
JOHNSONS TRANSPORT LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JOHNSONS TRANSPORTATION INC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JOHNSTON DIESEL & AUTOMOTIVE         PO BOX 2204 GOODLETTSVILLE TN 37072
JOHNSTON EQUIPMENT                   G.N. JOHNSTON EQUIPMENT CO. LTD., 5990 AVEBURY ROAD MISSISSAUGA ON L5R 3R2
                                     CANADA
JOHNSTON HOTSHOTS                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JOHNSTON, CHRISTOPHER                ADDRESS ON FILE
JOHNSTON, DENNIS                     ADDRESS ON FILE
JOHNSTON, DOUGLAS                    ADDRESS ON FILE
JOHNSTON, ERIC                       ADDRESS ON FILE
JOHNSTON, ERIC                       ADDRESS ON FILE
JOHNSTON, J                          ADDRESS ON FILE
JOHNSTON, JOSEPH                     ADDRESS ON FILE
JOHNSTON, JOSEPH                     ADDRESS ON FILE
JOHNSTON, LEO                        ADDRESS ON FILE
JOHNSTON, MARK                       ADDRESS ON FILE
JOHNSTON, RICKY                      ADDRESS ON FILE
JOHNSTON, SAMUEL H                   ADDRESS ON FILE
JOHNSTON, SHAREE                     ADDRESS ON FILE
JOHNSTON, STEPHEN                    ADDRESS ON FILE
JOHNSTON, THOMAS                     ADDRESS ON FILE
JOHNSTON, TODD                       ADDRESS ON FILE
JOHNSTON, WALTER                     ADDRESS ON FILE
JOHNSTON, WES                        ADDRESS ON FILE
JOHNSTON, WILLIAM                    ADDRESS ON FILE
JOHNSTONE SUPPLY                     1548 PENNSYLVANIA AVE MONACA PA 15061
JOHNSTONE SUPPLY                     ECHO S-725, 600 W CHICAGO AVE CHICAGO IL 60654
JOHNSTONE SUPPLY                     C\O JOHNSTONE SUPPLY 372, 2324 KERMIT HIGHWAY ODESSA TX 79761
JOHNSTONE SUPPLY                     1395 GREG ST STE 114 SPARKS NV 89431
JOHNSTONE SUPPLY                     940 WALL ST REDDING CA 96002
JOHNSTONE SUPPLY                     1212 E FRONT AVE SPOKANE WA 99202
JOHNSTONE SUPPLY 165                 3900 N W ST PENSACOLA FL 32505
JOHNSTONE SUPPLY C/O ECHO            ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                               Page 989 OF 2145
                                            Yellow Corporation
                        Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 998 of 2156

Claim Name                           Address Information
JOINER, ALAN                         ADDRESS ON FILE
JOINER, BLAKE                        ADDRESS ON FILE
JOINER, SHAWN                        ADDRESS ON FILE
JOINER, TYRONE                       ADDRESS ON FILE
JOINER, WALTER                       ADDRESS ON FILE
JOINT COUNCIL 36                     CHARITY GOLF TOURNAMENT 490 EAST BROADWAY VANCOUVER BC V5T 1X3 CANADA
JOINT WESTERN AREA COMMITTEE         379 W VALLEY BLVD RIALTO CA 92376
JOINT WESTERN AREA COMMITTEE         LOCAL 63 379 W VALLEY BLVD RIALTO CA 92376
JOJOLA, CARLTON                      ADDRESS ON FILE
JOJOS TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JOKA, SLOBODAN                       ADDRESS ON FILE
JOKANOVICH, ALEX                     ADDRESS ON FILE
JOKE TRANSPORTATION LLC              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JOKER CARRIER LLC                    3207 PENDLETON CT COLUMBUS OH 43219-3248
JOLENE MINDRUP                       ADDRESS ON FILE
JOLIET MACHINE & ENGINEERING         D/B/A: STANDARD TRUCK PARTS INC 566 N CHICAGO ST JOLIET IL 60432
JOLIET SUSPENSION INC                809 S LARKIN ROCKDALE IL 60436
JOLLEY, DAVID                        ADDRESS ON FILE
JOLLIFF, LEWIS                       ADDRESS ON FILE
JOLLIFFE, LARRY M                    ADDRESS ON FILE
JOLLY GREEN LAWN CARE                10054 MCKINLEY RD. MONTROSE MI 48457
JOLLY MAN LOGISTICS INC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JOLLY, KEVIN                         ADDRESS ON FILE
JOLLY, TIM                           ADDRESS ON FILE
JOLLY, TIM                           ADDRESS ON FILE
JOLY, ROBERT                         ADDRESS ON FILE
JOMA LOGISTICS INC                   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
JOMARRON TRANSPORTATION LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JOMIAS TRANSPORT LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JOMIJE TRANSPORTING LLC              4019 TRANSFER RD, SUITE A LAREDO TX 78045
JON C FRANK                          ADDRESS ON FILE
JON C MEADOWS                        ADDRESS ON FILE
JON DON                              ADDRESS ON FILE
JON GRISAK                           ADDRESS ON FILE
JON HOMRICH DIESEL LLC               2357 HICKORY RDG GALESBURG MI 49053
JON K BROWN                          ADDRESS ON FILE
JON R BEVILL                         ADDRESS ON FILE
JONAS, DAVID L                       ADDRESS ON FILE
JONAS, DON                           ADDRESS ON FILE
JONAS, HELEN                         ADDRESS ON FILE
JONAS, MICHAEL                       ADDRESS ON FILE
JONAS, TYLER                         ADDRESS ON FILE
JONATHAN & ASSOCIATES CHB SERVICES   ATTN: JAMES BAE 500 E CARSON PLAZA DR 219 CARSON CA 90746
JONATHAN C DAVIS                     ADDRESS ON FILE
JONATHAN D TAYLOR                    ADDRESS ON FILE
JONATHAN D WILSON JR                 ADDRESS ON FILE
JONATHAN HADIX                       ADDRESS ON FILE
JONATHAN I JIMENEZ                   ADDRESS ON FILE
JONATHAN I SMITH                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 990 OF 2145
                                               Yellow Corporation
                        Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 999 of 2156

Claim Name                              Address Information
JONATHAN J BOUCHER                     ADDRESS ON FILE
JONATHAN K ALLGOOD                     ADDRESS ON FILE
JONATHAN L BRYANT                      ADDRESS ON FILE
JONATHAN M MURRAY                      ADDRESS ON FILE
JONATHAN M REPPERT                     ADDRESS ON FILE
JONATHAN M ROMAN                       ADDRESS ON FILE
JONATHAN R EDWARADS                    ADDRESS ON FILE
JONATHAN SILVA                         ADDRESS ON FILE
JONATHAN VILLA                         ADDRESS ON FILE
JONATHAN W MCGUIRE                     ADDRESS ON FILE
JONATHON L KING                        ADDRESS ON FILE
JONATHON L SCHRADER                    ADDRESS ON FILE
JONCO TRANSPORTATION INCORPORATED      OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
JONED TRANSPORT                        OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
JONES & FRANK CORP                     D/B/A: JF PETROLEUM GROUP JF ACQUISITION LLC, PO BOX 531829 ATLANTA GA 30353
JONES & JONES LOGISTICS LLC            OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
JONES & PROCTOR TRANSPORTATION, LLC    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
JONES & SON TRUCK REPAIR               4532 SALTWELL RD BRIDGEPORT WV 26330
JONES - STARLING, CLAUDETTE            ADDRESS ON FILE
JONES BROTHERS TOWING AND TRUCKING, INC 1995 BRADSHAW ROAD, P.O. BOX 83 HOPKINSVILLE KY 42241
JONES CMJ LLC                          OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
JONES EMPIRE TRANSPORTATION LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JONES FAMILY LOGISTICS LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JONES FREIGHT LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JONES III, JOHN                        ADDRESS ON FILE
JONES IV, GEORGE                       ADDRESS ON FILE
JONES LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JONES MOTOR CO., INC.                  PO BOX 137 SPRING CITY PA 19475
JONES NATURALS LLC                     ATTN: SHANNA TAYLOR 4960 28TH AVE ROCKFORD IL 61109
JONES TOP TIER TRANSPORT LLC           OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
JONES TRANSPORTATION, INC.             1160 STRIPLING CHAPEL RD CARROLLTON GA 30116
JONES TRUCKING LLC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JONES TRUCKING LLC (MC1411789)         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JONES WELDING & INDUSTRIAL SUPPLIES INC PO BOX 71826 ALBANY GA 31708
JONES, AARON                           ADDRESS ON FILE
JONES, ADAM                            ADDRESS ON FILE
JONES, ADAM                            ADDRESS ON FILE
JONES, ALAN                            ADDRESS ON FILE
JONES, ALBERT                          ADDRESS ON FILE
JONES, ALLEN                           ADDRESS ON FILE
JONES, ALVIN                           ADDRESS ON FILE
JONES, AMIR                            ADDRESS ON FILE
JONES, AMONT                           ADDRESS ON FILE
JONES, ANDRE                           ADDRESS ON FILE
JONES, ANDRE                           ADDRESS ON FILE
JONES, ANDREA                          ADDRESS ON FILE
JONES, ANDREW                          ADDRESS ON FILE
JONES, ANGEL                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 991 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1000 of 2156

Claim Name                         Address Information
JONES, ANTHONY                     ADDRESS ON FILE
JONES, ANTHONY                     ADDRESS ON FILE
JONES, ANTHONY                     ADDRESS ON FILE
JONES, ANTONIO                     ADDRESS ON FILE
JONES, ASA                         ADDRESS ON FILE
JONES, ASHLEY                      ADDRESS ON FILE
JONES, AUBREY                      ADDRESS ON FILE
JONES, BILL                        ADDRESS ON FILE
JONES, BILLY                       ADDRESS ON FILE
JONES, BOBBY                       ADDRESS ON FILE
JONES, BRANDEN                     ADDRESS ON FILE
JONES, BRANDON                     ADDRESS ON FILE
JONES, BRANDON                     ADDRESS ON FILE
JONES, BRANDON                     ADDRESS ON FILE
JONES, BRANDON                     ADDRESS ON FILE
JONES, BRANDON E                   ADDRESS ON FILE
JONES, BRENDA                      ADDRESS ON FILE
JONES, BRENDA                      ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIAN                       ADDRESS ON FILE
JONES, BRIDGET                     ADDRESS ON FILE
JONES, BRYAN                       ADDRESS ON FILE
JONES, CALVIN                      ADDRESS ON FILE
JONES, CARL                        ADDRESS ON FILE
JONES, CARLOS                      ADDRESS ON FILE
JONES, CARLOS                      ADDRESS ON FILE
JONES, CARLTEZION                  ADDRESS ON FILE
JONES, CEDRIC                      ADDRESS ON FILE
JONES, CHARLES                     ADDRESS ON FILE
JONES, CHARLES                     ADDRESS ON FILE
JONES, CHARLES                     ADDRESS ON FILE
JONES, CHARLES                     ADDRESS ON FILE
JONES, CHARLES D                   ADDRESS ON FILE
JONES, CHARON                      ADDRESS ON FILE
JONES, CHERRELLE                   ADDRESS ON FILE
JONES, CHRISTOPHER                 ADDRESS ON FILE
JONES, CHRISTOPHER                 ADDRESS ON FILE
JONES, CHRISTOPHER                 ADDRESS ON FILE
JONES, CHRISTOPHER                 ADDRESS ON FILE
JONES, CLARENCE                    ADDRESS ON FILE
JONES, CLEVELAND                   ADDRESS ON FILE
JONES, CLIFTON                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 992 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1001 of 2156

Claim Name                         Address Information
JONES, CLIFTON J                   ADDRESS ON FILE
JONES, COREY                       ADDRESS ON FILE
JONES, CORY                        ADDRESS ON FILE
JONES, CORY                        ADDRESS ON FILE
JONES, CORY                        ADDRESS ON FILE
JONES, CURTIS                      ADDRESS ON FILE
JONES, CURTIS                      ADDRESS ON FILE
JONES, DAMARCUS                    ADDRESS ON FILE
JONES, DANIEL                      ADDRESS ON FILE
JONES, DANIEL                      ADDRESS ON FILE
JONES, DARIUS                      ADDRESS ON FILE
JONES, DARREON                     ADDRESS ON FILE
JONES, DARVEZ                      ADDRESS ON FILE
JONES, DARYL                       ADDRESS ON FILE
JONES, DAVID                       ADDRESS ON FILE
JONES, DAVID                       ADDRESS ON FILE
JONES, DAVID                       ADDRESS ON FILE
JONES, DAVID                       ADDRESS ON FILE
JONES, DAVION                      ADDRESS ON FILE
JONES, DEANDRE                     ADDRESS ON FILE
JONES, DELORES                     ADDRESS ON FILE
JONES, DELORES                     ADDRESS ON FILE
JONES, DEMETRIUS                   ADDRESS ON FILE
JONES, DENZEL                      ADDRESS ON FILE
JONES, DEOCTAVIOUS                 ADDRESS ON FILE
JONES, DERANDALL                   ADDRESS ON FILE
JONES, DERICK                      ADDRESS ON FILE
JONES, DERRELL                     ADDRESS ON FILE
JONES, DILLON                      ADDRESS ON FILE
JONES, DISHON                      ADDRESS ON FILE
JONES, DOLORES (WIDOW)             ADDRESS ON FILE
JONES, DOMINIQUE                   ADDRESS ON FILE
JONES, DOMINIQUE R                 ADDRESS ON FILE
JONES, DONALD                      ADDRESS ON FILE
JONES, DONALD                      ADDRESS ON FILE
JONES, DONALD                      ADDRESS ON FILE
JONES, DONALD                      ADDRESS ON FILE
JONES, DOUG                        ADDRESS ON FILE
JONES, DYLAN                       ADDRESS ON FILE
JONES, EDDIE                       ADDRESS ON FILE
JONES, EDDY                        ADDRESS ON FILE
JONES, EDDY                        ADDRESS ON FILE
JONES, ENOCH                       ADDRESS ON FILE
JONES, ERIC                        ADDRESS ON FILE
JONES, ERIK                        ADDRESS ON FILE
JONES, EUGENE                      ADDRESS ON FILE
JONES, FLOYD                       ADDRESS ON FILE
JONES, FRANK                       ADDRESS ON FILE
JONES, FREDDIE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 993 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1002 of 2156

Claim Name                       Address Information
JONES, GARY                      ADDRESS ON FILE
JONES, GARY                      ADDRESS ON FILE
JONES, GARY O                    ADDRESS ON FILE
JONES, GARY W                    ADDRESS ON FILE
JONES, GEORGE                    ADDRESS ON FILE
JONES, GIGI                      ADDRESS ON FILE
JONES, GLENN                     ADDRESS ON FILE
JONES, GREG                      ADDRESS ON FILE
JONES, GREGORY                   ADDRESS ON FILE
JONES, GREGORY                   ADDRESS ON FILE
JONES, HAMBRY                    ADDRESS ON FILE
JONES, HARRY                     ADDRESS ON FILE
JONES, HERBERT                   ADDRESS ON FILE
JONES, IRA                       ADDRESS ON FILE
JONES, IRELAND                   ADDRESS ON FILE
JONES, ISAIAH R                  ADDRESS ON FILE
JONES, JACOB                     ADDRESS ON FILE
JONES, JACOB                     ADDRESS ON FILE
JONES, JAHKAVEUS                 ADDRESS ON FILE
JONES, JAHMAL                    ADDRESS ON FILE
JONES, JAMES                     ADDRESS ON FILE
JONES, JAMES                     ADDRESS ON FILE
JONES, JAMES                     ADDRESS ON FILE
JONES, JAMES                     ADDRESS ON FILE
JONES, JAMES                     ADDRESS ON FILE
JONES, JAMES                     ADDRESS ON FILE
JONES, JANAZA                    ADDRESS ON FILE
JONES, JARVIS                    ADDRESS ON FILE
JONES, JASMINE                   ADDRESS ON FILE
JONES, JASON                     ADDRESS ON FILE
JONES, JASON                     ADDRESS ON FILE
JONES, JAVIUS                    ADDRESS ON FILE
JONES, JAYRON                    ADDRESS ON FILE
JONES, JEFFERY                   ADDRESS ON FILE
JONES, JEFFREY                   ADDRESS ON FILE
JONES, JENNIFER                  ADDRESS ON FILE
JONES, JENNIFER                  ADDRESS ON FILE
JONES, JEREMY                    ADDRESS ON FILE
JONES, JERMAINE                  ADDRESS ON FILE
JONES, JERRY                     ADDRESS ON FILE
JONES, JERYLE                    ADDRESS ON FILE
JONES, JESSE                     ADDRESS ON FILE
JONES, JESSIE                    ADDRESS ON FILE
JONES, JOHN                      ADDRESS ON FILE
JONES, JOHN                      ADDRESS ON FILE
JONES, JOHN                      ADDRESS ON FILE
JONES, JOHNNY                    ADDRESS ON FILE
JONES, JON                       ADDRESS ON FILE
JONES, JONATHAN                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 994 OF 2145
                                       Yellow Corporation
                  Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                 Page 1003 of 2156

Claim Name                      Address Information
JONES, JONATHAN                 ADDRESS ON FILE
JONES, JOSEPH                   ADDRESS ON FILE
JONES, JOSEPH                   ADDRESS ON FILE
JONES, JOSEPH                   ADDRESS ON FILE
JONES, JOSEPH                   ADDRESS ON FILE
JONES, JOSEPH                   ADDRESS ON FILE
JONES, JOSEPH                   ADDRESS ON FILE
JONES, JOSHUA                   ADDRESS ON FILE
JONES, JOSHUA                   ADDRESS ON FILE
JONES, JULIUS                   ADDRESS ON FILE
JONES, KA-RON                   ADDRESS ON FILE
JONES, KAMERON                  ADDRESS ON FILE
JONES, KATHY                    ADDRESS ON FILE
JONES, KAYLOB                   ADDRESS ON FILE
JONES, KEITH                    ADDRESS ON FILE
JONES, KELLY                    ADDRESS ON FILE
JONES, KELLY                    ADDRESS ON FILE
JONES, KENDRICK                 ADDRESS ON FILE
JONES, KENNETH                  ADDRESS ON FILE
JONES, KENNETH                  ADDRESS ON FILE
JONES, KENNETH                  ADDRESS ON FILE
JONES, KENT                     ADDRESS ON FILE
JONES, KEVIN                    ADDRESS ON FILE
JONES, KEVIN                    ADDRESS ON FILE
JONES, KEVIN                    ADDRESS ON FILE
JONES, KEVIN                    ADDRESS ON FILE
JONES, KEVIN R                  ADDRESS ON FILE
JONES, KILE                     ADDRESS ON FILE
JONES, KRYSTLE                  ADDRESS ON FILE
JONES, KYLE                     ADDRESS ON FILE
JONES, KYLE                     ADDRESS ON FILE
JONES, KYMBER                   ADDRESS ON FILE
JONES, LACRICIA                 ADDRESS ON FILE
JONES, LADAWN                   ADDRESS ON FILE
JONES, LAMONT                   ADDRESS ON FILE
JONES, LANCE                    ADDRESS ON FILE
JONES, LASHUNDA                 ADDRESS ON FILE
JONES, LEVI                     ADDRESS ON FILE
JONES, LEWIS                    ADDRESS ON FILE
JONES, LILLIE                   ADDRESS ON FILE
JONES, LONNIE R                 ADDRESS ON FILE
JONES, LORENZO                  ADDRESS ON FILE
JONES, LORENZO                  ADDRESS ON FILE
JONES, LORETTA                  ADDRESS ON FILE
JONES, LYNDON B                 ADDRESS ON FILE
JONES, MARCUS                   ADDRESS ON FILE
JONES, MARCUS                   ADDRESS ON FILE
JONES, MARCUS                   ADDRESS ON FILE
JONES, MARK                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 995 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1004 of 2156

Claim Name                       Address Information
JONES, MARK                      ADDRESS ON FILE
JONES, MARK                      ADDRESS ON FILE
JONES, MARK                      ADDRESS ON FILE
JONES, MARKESE                   ADDRESS ON FILE
JONES, MARQUIS                   ADDRESS ON FILE
JONES, MATTHEW                   ADDRESS ON FILE
JONES, MAURICE                   ADDRESS ON FILE
JONES, MAURICE                   ADDRESS ON FILE
JONES, MAURICE E                 ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MICHAEL                   ADDRESS ON FILE
JONES, MIKE                      ADDRESS ON FILE
JONES, NANCY                     ADDRESS ON FILE
JONES, NATHANIEL                 ADDRESS ON FILE
JONES, OKOYE                     ADDRESS ON FILE
JONES, OLIVIA                    ADDRESS ON FILE
JONES, PAM                       ADDRESS ON FILE
JONES, PATRICIA                  ADDRESS ON FILE
JONES, PAUL                      ADDRESS ON FILE
JONES, PAUL                      ADDRESS ON FILE
JONES, PEARL                     ADDRESS ON FILE
JONES, PHILLIP                   ADDRESS ON FILE
JONES, RALPH                     ADDRESS ON FILE
JONES, RAMATU                    ADDRESS ON FILE
JONES, RAMON                     ADDRESS ON FILE
JONES, RANDAL                    ADDRESS ON FILE
JONES, RANDY                     ADDRESS ON FILE
JONES, RANDY                     ADDRESS ON FILE
JONES, REG                       ADDRESS ON FILE
JONES, REGINA                    ADDRESS ON FILE
JONES, REGINALD                  ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT                    ADDRESS ON FILE
JONES, ROBERT K                  ADDRESS ON FILE
JONES, RODNEY                    ADDRESS ON FILE
JONES, RODNEY T                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 996 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1005 of 2156

Claim Name                       Address Information
JONES, ROGER                     ADDRESS ON FILE
JONES, RONNIE                    ADDRESS ON FILE
JONES, ROSZINA                   ADDRESS ON FILE
JONES, RYAN                      ADDRESS ON FILE
JONES, SCOTT W                   ADDRESS ON FILE
JONES, SCOTTIE                   ADDRESS ON FILE
JONES, SEAN                      ADDRESS ON FILE
JONES, SEAN                      ADDRESS ON FILE
JONES, SHANNON                   ADDRESS ON FILE
JONES, SHARON                    ADDRESS ON FILE
JONES, SHAUN                     ADDRESS ON FILE
JONES, SHERILYN                  ADDRESS ON FILE
JONES, SIROYA                    ADDRESS ON FILE
JONES, STEPHEN T                 ADDRESS ON FILE
JONES, STEPHON                   ADDRESS ON FILE
JONES, TAMIEKA                   ADDRESS ON FILE
JONES, TAMIEKA                   ADDRESS ON FILE
JONES, TAMISHA                   ADDRESS ON FILE
JONES, TANYA                     ADDRESS ON FILE
JONES, TEKAYLE                   ADDRESS ON FILE
JONES, TERRY                     ADDRESS ON FILE
JONES, TERRY                     ADDRESS ON FILE
JONES, TERRY                     ADDRESS ON FILE
JONES, THADDEUS                  ADDRESS ON FILE
JONES, THOMAS                    ADDRESS ON FILE
JONES, THOMAS                    ADDRESS ON FILE
JONES, THOMAS                    ADDRESS ON FILE
JONES, THOMAS J                  ADDRESS ON FILE
JONES, TIESHA                    ADDRESS ON FILE
JONES, TIMMY R                   ADDRESS ON FILE
JONES, TIMOTHY                   ADDRESS ON FILE
JONES, TIMOTHY                   ADDRESS ON FILE
JONES, TIMOTHY L                 ADDRESS ON FILE
JONES, TODD                      ADDRESS ON FILE
JONES, TOMMY                     ADDRESS ON FILE
JONES, TOMMY                     ADDRESS ON FILE
JONES, TONI                      ADDRESS ON FILE
JONES, TONY                      ADDRESS ON FILE
JONES, TONY                      ADDRESS ON FILE
JONES, TORRANCE                  ADDRESS ON FILE
JONES, TRAVEON                   ADDRESS ON FILE
JONES, TRAVIS                    ADDRESS ON FILE
JONES, TREMOND                   ADDRESS ON FILE
JONES, TRENT                     ADDRESS ON FILE
JONES, TRINITY                   ADDRESS ON FILE
JONES, TROY                      ADDRESS ON FILE
JONES, TYLAN                     ADDRESS ON FILE
JONES, VINCENT                   ADDRESS ON FILE
JONES, WAYNE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 997 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1006 of 2156

Claim Name                           Address Information
JONES, WAYNE                         ADDRESS ON FILE
JONES, WESLEY                        ADDRESS ON FILE
JONES, WESLEY                        ADDRESS ON FILE
JONES, WILLIAM                       ADDRESS ON FILE
JONES, WILLIAM F                     ADDRESS ON FILE
JONES, WILLIAM F                     ADDRESS ON FILE
JONES, WILLIE                        ADDRESS ON FILE
JONES, YASHIKA                       ADDRESS ON FILE
JONES, YVONNE                        ADDRESS ON FILE
JONES, ZAKEE                         ADDRESS ON FILE
JONES-JOHNSON, CLIFFORD              ADDRESS ON FILE
JONESBORO FREIGHT TERMINAL LLC       PO BOX 999 NEWPORT AR 72112
JONEZ TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JONGGI TRANSPORT INC                 OR T-PINE FINANCIAL SERVICES 34880 LYNDON B JOHNSON FWY DALLAS TX 75241
JONI TRANS LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JONJOHA TRUCKING LLC                 OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
JONNEL GLEASON                       ADDRESS ON FILE
JONSEY AND SON LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JOOST, SCOTT                         ADDRESS ON FILE
JOPLIN TRAILER SALES, INC.           2430 DAVIS BLVD JOPLIN MO 64804
JOPLIN, WILLIAM                      ADDRESS ON FILE
JOPOL INC                            2108 E 36TH STREET KEARNEY NE 68847
JOPP, MAGEN                          ADDRESS ON FILE
JOPRIS LAWN CARE & PAINTING LLC      136 CENTER ST MILTON PA 17847
JORAMO, STEVEN                       ADDRESS ON FILE
JORDAN D WALBER                      ADDRESS ON FILE
JORDAN EXPRESS, LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JORDAN HIGH SCHOOL                   600 SUNSET DR JORDAN MN 55352
JORDAN N TIRADO                      ADDRESS ON FILE
JORDAN ORNANO, MARYCEL               ADDRESS ON FILE
JORDAN SCHERZI                       ADDRESS ON FILE
JORDAN SNYDER                        ADDRESS ON FILE
JORDAN SPATES                        ADDRESS ON FILE
JORDAN T QUADE                       ADDRESS ON FILE
JORDAN TRANSPORT LLC                 OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
JORDAN TRUCKING SERVICES LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JORDAN WELLS PAVING                  ADDRESS ON FILE
JORDAN, ADRIAN                       ADDRESS ON FILE
JORDAN, ADRIAN                       ADDRESS ON FILE
JORDAN, ALONZO                       ADDRESS ON FILE
JORDAN, ALONZO                       ADDRESS ON FILE
JORDAN, ALTO                         ADDRESS ON FILE
JORDAN, ANITA M                      ADDRESS ON FILE
JORDAN, ANTHONY                      ADDRESS ON FILE
JORDAN, BARNARD                      ADDRESS ON FILE
JORDAN, BRAD                         ADDRESS ON FILE
JORDAN, BRIAN                        ADDRESS ON FILE
JORDAN, BRUCE                        ADDRESS ON FILE
JORDAN, BRYANT                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 998 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1007 of 2156

Claim Name                            Address Information
JORDAN, CAREY C                       ADDRESS ON FILE
JORDAN, CARLTON                       ADDRESS ON FILE
JORDAN, CECIL                         ADDRESS ON FILE
JORDAN, CHARLES                       ADDRESS ON FILE
JORDAN, CRAIG                         ADDRESS ON FILE
JORDAN, DANIEL                        ADDRESS ON FILE
JORDAN, DARELL                        ADDRESS ON FILE
JORDAN, DAVID                         ADDRESS ON FILE
JORDAN, DEON                          ADDRESS ON FILE
JORDAN, DONALD                        ADDRESS ON FILE
JORDAN, DUSTIN                        ADDRESS ON FILE
JORDAN, GARY                          ADDRESS ON FILE
JORDAN, JACARIEN                      ADDRESS ON FILE
JORDAN, JACKIE                        ADDRESS ON FILE
JORDAN, JAMES                         ADDRESS ON FILE
JORDAN, JAMES                         ADDRESS ON FILE
JORDAN, JAMES                         ADDRESS ON FILE
JORDAN, JARED                         ADDRESS ON FILE
JORDAN, JASON                         ADDRESS ON FILE
JORDAN, JEFFREY                       ADDRESS ON FILE
JORDAN, JOHNATHAN                     ADDRESS ON FILE
JORDAN, JOSH                          ADDRESS ON FILE
JORDAN, JOSHUA                        ADDRESS ON FILE
JORDAN, KENNETH                       ADDRESS ON FILE
JORDAN, KEONTAY                       ADDRESS ON FILE
JORDAN, LLOYD                         ADDRESS ON FILE
JORDAN, MARCUS                        ADDRESS ON FILE
JORDAN, MARILYN                       ADDRESS ON FILE
JORDAN, MARK                          ADDRESS ON FILE
JORDAN, MATTHEW                       ADDRESS ON FILE
JORDAN, MAYA                          ADDRESS ON FILE
JORDAN, MICHAEL                       ADDRESS ON FILE
JORDAN, PARIS                         ADDRESS ON FILE
JORDAN, PATRICIA                      ADDRESS ON FILE
JORDAN, RAYMOND                       ADDRESS ON FILE
JORDAN, RICHARD                       ADDRESS ON FILE
JORDAN, ROBIN                         ADDRESS ON FILE
JORDAN, RODNEY                        ADDRESS ON FILE
JORDAN, RODNEY                        ADDRESS ON FILE
JORDAN, RON                           ADDRESS ON FILE
JORDAN, ROY A                         ADDRESS ON FILE
JORDAN, SHANNON                       ADDRESS ON FILE
JORDAN, THEOPHILUS                    ADDRESS ON FILE
JORDAN, THOMAS                        ADDRESS ON FILE
JORGABY FREIGHT SERVICES LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JORGE L AREVALO                       ADDRESS ON FILE
JORGE LUIS MONTES                     ADDRESS ON FILE
JORGE P LLC                           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JORGE RODRIGUEZ TRANSPORTATION INC.   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                               Page 999 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1008 of 2156

Claim Name                           Address Information
JORGENSEN, CURTISS                   ADDRESS ON FILE
JORGENSEN, RONALD                    ADDRESS ON FILE
JORGENSEN, RYAN                      ADDRESS ON FILE
JORGENSEN, SHANE                     ADDRESS ON FILE
JORGENSON INDUSTRIAL COMPANIES       D/B/A: DIVIS10N DIVIS10N, 3264 UNION ST SE WYOMING MI 49548
JORGI LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JORMICH DEVELOPMENT LLC              OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
JOROLOVE TRANSPORTATION INC          OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
JORRIS, KYLE                         ADDRESS ON FILE
JOSAN LOGISTICS LLC                  OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
JOSAN TRANSPORT, INC.                OR HGS FUNDING, P.O. BOX 1359 RANCHO CUCAMONGA CA 91729
JOSE 2 INC                           OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
JOSE A AGUILAR                       ADDRESS ON FILE
JOSE A FLORES-MORALES                ADDRESS ON FILE
JOSE A IBARRA                        ADDRESS ON FILE
JOSE A MACIAS                        ADDRESS ON FILE
JOSE A RAMIREZ                       ADDRESS ON FILE
JOSE C MORENO                        ADDRESS ON FILE
JOSE CRUZ PENALOZA                   ADDRESS ON FILE
JOSE DAVILA                          ADDRESS ON FILE
JOSE E RONDEROS                      ADDRESS ON FILE
JOSE EMILIO RONDEROS                 ADDRESS ON FILE
JOSE GUARDIOLA                       ADDRESS ON FILE
JOSE H MOREIRA                       ADDRESS ON FILE
JOSE J SERNA                         ADDRESS ON FILE
JOSE L CASTANEDA                     ADDRESS ON FILE
JOSE L TRANSPORT CORP                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JOSE LUIS TRANSPORT                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JOSE M GARCIA                        ADDRESS ON FILE
JOSE M PINA                          ADDRESS ON FILE
JOSE M VALENZUELA                    ADDRESS ON FILE
JOSE M. PEREZ TRUCKING LLC           OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
JOSE P FIMBRES                       ADDRESS ON FILE
JOSE PONCE                           ADDRESS ON FILE
JOSE R MARTINEZ                      ADDRESS ON FILE
JOSE RODRIGUEZ                       ADDRESS ON FILE
JOSE S ESCOBAR                       ADDRESS ON FILE
JOSE TREJO                           ADDRESS ON FILE
JOSE VELAZQUEZ                       ADDRESS ON FILE
JOSE VIDAL                           ADDRESS ON FILE
JOSE WILFREDO ZEPEDA                 ADDRESS ON FILE
JOSEAN RAMIREZ                       ADDRESS ON FILE
JOSEF HLAVACEK                       ADDRESS ON FILE
JOSEFINA PEREZ                       ADDRESS ON FILE
JOSELYN HENDERSON                    ADDRESS ON FILE
JOSEMAR SERVICE CORP                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JOSEPH A ALVA                        ADDRESS ON FILE
JOSEPH A HOLDEN                      ADDRESS ON FILE
JOSEPH A LONG                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1000 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1009 of 2156

Claim Name                             Address Information
JOSEPH A MILLER                        ADDRESS ON FILE
JOSEPH A PALADINO                      ADDRESS ON FILE
JOSEPH ALEXANDER WILLIAMS              ADDRESS ON FILE
JOSEPH AND MARCIA STIO                 ADDRESS ON FILE
JOSEPH BELTRAN                         ADDRESS ON FILE
JOSEPH C KING                          ADDRESS ON FILE
JOSEPH CORNEILLE                       ADDRESS ON FILE
JOSEPH DELBENE                         ADDRESS ON FILE
JOSEPH E AMICK                         ADDRESS ON FILE
JOSEPH EXPRESS DELIVERY LLC            47 WARREN ST NEWLONDON CT 06320
JOSEPH F LAUBACKER                     ADDRESS ON FILE
JOSEPH G PISCOPO                       ADDRESS ON FILE
JOSEPH GARCIA                          ADDRESS ON FILE
JOSEPH GUDINO                          ADDRESS ON FILE
JOSEPH INDUSTRIES LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JOSEPH J MERCURIO PLUMBING & HEATING   1042 PRINCETON ROAD PITTSBURGH PA 15205
JOSEPH J MUFFOLETTO II                 ADDRESS ON FILE
JOSEPH J MUFFOLETTO II                 ADDRESS ON FILE
JOSEPH J STONE                         ADDRESS ON FILE
JOSEPH JR., FELIX                      ADDRESS ON FILE
JOSEPH KARLAR LOGISTIC LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JOSEPH L GANDY                         ADDRESS ON FILE
JOSEPH L PATTERSON                     ADDRESS ON FILE
JOSEPH M BURTON                        ADDRESS ON FILE
JOSEPH M LEWIS                         ADDRESS ON FILE
JOSEPH M PROVINO                       ADDRESS ON FILE
JOSEPH OROCHENA                        ADDRESS ON FILE
JOSEPH P LOREDO                        ADDRESS ON FILE
JOSEPH P MCENERY JR                    ADDRESS ON FILE
JOSEPH P RAY                           ADDRESS ON FILE
JOSEPH P SPIERING                      ADDRESS ON FILE
JOSEPH PAHL                            ADDRESS ON FILE
JOSEPH PALMER SPRING CO INC            7 WALNUT HILL PARK WOBURN MA 01801
JOSEPH QUINN                           ADDRESS ON FILE
JOSEPH S SAGER                         ADDRESS ON FILE
JOSEPH SANTORO                         ADDRESS ON FILE
JOSEPH T FAMAGELTTO                    ADDRESS ON FILE
JOSEPH T FERRANTE                      ADDRESS ON FILE
JOSEPH TOME                            ADDRESS ON FILE
JOSEPH TRANSPORT LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JOSEPH W MURRAY JR                     ADDRESS ON FILE
JOSEPH W WHITEAKER                     ADDRESS ON FILE
JOSEPH WILLIAMS                        ADDRESS ON FILE
JOSEPH, ANDREW                         ADDRESS ON FILE
JOSEPH, BRANDON                        ADDRESS ON FILE
JOSEPH, DAVID                          ADDRESS ON FILE
JOSEPH, EMMANUEL                       ADDRESS ON FILE
JOSEPH, EMMANUEL                       ADDRESS ON FILE
JOSEPH, JEREMY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1001 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1010 of 2156

Claim Name                          Address Information
JOSEPH, JOHN                        ADDRESS ON FILE
JOSEPH, JOSALYN                     ADDRESS ON FILE
JOSEPH, LOUIS E                     ADDRESS ON FILE
JOSEPH, MICHAEL                     ADDRESS ON FILE
JOSEPH, MICHAEL                     ADDRESS ON FILE
JOSEPH, NORMAN                      ADDRESS ON FILE
JOSEPH, OSCAR                       ADDRESS ON FILE
JOSEPH, PROPHETE                    ADDRESS ON FILE
JOSEPHS TRANSPORTATION LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JOSES DIESEL REPAIR                 2841 N VALLE VERDE DR NOGALES AZ 85621
JOSES DIESEL REPAIR                 D/B/A: NOGALES DIESEL REPAIR LLC 2841 N VALLE VERDE DRIVE NOGALES AZ 85621
JOSES FORKLIFT SERVICE LLC          13027 DUNROBIN AVE DOWNEY CA 90242
JOSEY, SCOTT                        ADDRESS ON FILE
JOSH D OLIVER                       ADDRESS ON FILE
JOSH M BLAKE                        ADDRESS ON FILE
JOSH R ZAMBONI                      ADDRESS ON FILE
JOSH ROBERTS TRUCKING INC           OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                    35246-2659
JOSH SERVICES INC                   OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
JOSHEN PAPER                        ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
JOSHS TRUCK CARE                    PO BOX 74 CONNELLY SPRINGS NC 28612
JOSHUA A EICKHOLT                   ADDRESS ON FILE
JOSHUA A LEZAMA                     ADDRESS ON FILE
JOSHUA D COBB                       ADDRESS ON FILE
JOSHUA D REYNOLDS                   ADDRESS ON FILE
JOSHUA D YATES                      ADDRESS ON FILE
JOSHUA DICKSON                      ADDRESS ON FILE
JOSHUA EXPRESS TRANSPORT LLC        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JOSHUA HOPPER                       ADDRESS ON FILE
JOSHUA I THOMPSON                   ADDRESS ON FILE
JOSHUA I THOMPSON                   ADDRESS ON FILE
JOSHUA I WILSON                     ADDRESS ON FILE
JOSHUA J WARD                       ADDRESS ON FILE
JOSHUA L DENNERLINE                 ADDRESS ON FILE
JOSHUA L DENNERLINE                 ADDRESS ON FILE
JOSHUA L MAZUR                      ADDRESS ON FILE
JOSHUA L PETERSON                   ADDRESS ON FILE
JOSHUA M BOWEN                      ADDRESS ON FILE
JOSHUA R BREWER                     ADDRESS ON FILE
JOSHUA W COOPER                     ADDRESS ON FILE
JOSHUA W GUTHRIE                    ADDRESS ON FILE
JOSIA LOGISTICS LLC                 OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
JOSIAH JOHNSON                      ADDRESS ON FILE
JOSIAHS EMPIRE TRANSPORT INC        OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JOSIP BANIC                         ADDRESS ON FILE
JOSJOR, DENNIS                      ADDRESS ON FILE
JOSLIN & SON SIGNS                  630 MURFREESBORO PK NASHVILLE TN 37210
JOSLIN SIGN & MAINTENANCE CO, INC   PO BOX 100994 NASHVILLE TN 37224
JOSLIN, CHRISTOPHER                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1002 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1011 of 2156

Claim Name                           Address Information
JOSLIN, PAUL D                       ADDRESS ON FILE
JOSMAY TRANSPORTATION LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JOSNITA LOGISTICS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JOST, DAVID L                        ADDRESS ON FILE
JOST, SHERRI G                       ADDRESS ON FILE
JOSWICK, GARRETT                     ADDRESS ON FILE
JOSWICK, STEPHEN                     ADDRESS ON FILE
JOSZEF M MICEK                       ADDRESS ON FILE
JOT LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JOT TRUCKING                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JOT TRUCKING INC                     9610 NE 164TH AVE, 9610 NE 164TH AVE VANCOUVER WA 98682
JOTO TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JOTUL AMERICA                        55 HUTCHERSON DR GORHAM ME 04038
JOUBERT, RIVESTON                    ADDRESS ON FILE
JOUQUIH J MCCALL                     ADDRESS ON FILE
JOURNAL GRAPHICS                     2840 NW 35TH AVE STE B PORTLAND OR 97210
JOURNAL GRAPHICS                     2840 NW 35TH AVE. PORTLAND OR 97210
JOURNEY TRANSPORTATION CORPORATION   OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
JOURNEYS TRUCKING LLC                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
JOVA DELIVERIES INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JOVA TRANSPORT INC                   OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
JOVANOVIC, TONY                      ADDRESS ON FILE
JOVIAN M JACKSON                     ADDRESS ON FILE
JOVIC INC                            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
JOVIC TRANSPORTATION INC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JOVIC XPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JOVIS TRANSPORT LLC                  15233 RIDGEWAY AVE, ATTN ANA ALONZO MIDLOTHIAN IL 60445
JOWIN EXPRESS, INC.                  1498 HIGHWAY 13 N COLUMBIA MS 39429
JOY & JOY TRANSPORTATION INC         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JOY TRANSPORT LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JOY, CHRISTOPHER                     ADDRESS ON FILE
JOY, MATTHEW                         ADDRESS ON FILE
JOY, SEAN                            ADDRESS ON FILE
JOYCE ANN WENGER                     ADDRESS ON FILE
JOYCE JR, BRIAN                      ADDRESS ON FILE
JOYCE TRUCKING INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JOYCE Y HODGES                       ADDRESS ON FILE
JOYCE Y HODGES                       ADDRESS ON FILE
JOYCE, BONNIE                        ADDRESS ON FILE
JOYCE, BRIAN                         ADDRESS ON FILE
JOYCE, DAVID H                       ADDRESS ON FILE
JOYCE, DWAIN                         ADDRESS ON FILE
JOYCE, JASON                         ADDRESS ON FILE
JOYCE, JEFF                          ADDRESS ON FILE
JOYCE, JEREMIAH                      ADDRESS ON FILE
JOYCE, JOHN R                        ADDRESS ON FILE
JOYCE, JOSH                          ADDRESS ON FILE
JOYCE, LEO                           ADDRESS ON FILE
JOYCE, MARIAGNES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1003 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1012 of 2156

Claim Name                           Address Information
JOYCE, MARY                          ADDRESS ON FILE
JOYCE, SEAN                          ADDRESS ON FILE
JOYCE, TAMARA                        ADDRESS ON FILE
JOYCE, THOMAS                        ADDRESS ON FILE
JOYCE, TONY                          ADDRESS ON FILE
JOYFUL NOISE ENTERPRISES LLC         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
JOYLINE TRANSPORTATION LLC           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JOYLINERS                            OR SMART TRUCKING LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
JOYNER, AARON                        ADDRESS ON FILE
JOYNER, FELISHA                      ADDRESS ON FILE
JOYNER, GERALD                       ADDRESS ON FILE
JOYNER, GERALD                       ADDRESS ON FILE
JOYNER, JEFFERY                      ADDRESS ON FILE
JOYNER, JEFFREY                      ADDRESS ON FILE
JOYNER, LARRY                        ADDRESS ON FILE
JOYNER, NATHANIEL                    ADDRESS ON FILE
JOYNER, ROBIN                        ADDRESS ON FILE
JOYNER, SEAN                         ADDRESS ON FILE
JOYNER, TIMOTHY                      ADDRESS ON FILE
JOYNT, KENNETH                       ADDRESS ON FILE
JOYRIDE LOGISTICS LLC                809 W GERMANN RD CHANDLER AZ 85286
JOYRIDE TRANSPORT LLC                1059 OLD COLUMBUS RD WOOSTER OH 44691
JOYS JOHNS                           PO BOX 554884 DETROIT MI 48255
JP CARGO INC                         431 SEXTANT WAY SACRAMENTO CA 95838
JP CARRIERS INC                      11202 LAGUNA MESA DR CYPRESS TX 77433
JP CHARLES FREIGHT                   OR GENERAL BUSINESS CREDIT 110 E. 9TH ST, STE C-900 LOS ANGELES CA 90079
JP ELITE TRUCKING INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JP ENTERPRISE LLC                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
JP EXPRESS INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JP FREIGHT INC                       OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
JP GOMEZ TRANSPORT LLC               OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
JP HEATING OF NORTHERN MI LLC        1830 DICKERSON RD GAYLORD MI 49734
JP J&E TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
JP LOGISTICS INC                     671 EXECUTIVE DRIVE SUITE C, 671 EXECUTIVE DRIVE SUITE C WILLOWBROOK IL 60527
JP MARTINEZ TRUCKING LLC             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JP MASONRY LLC                       1702 GOLF RD READING PA 19601
JP MILLER TRUCKING, LLC              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JP MORGAN SE                         TAUNUSTOR 1 (TAUNUSTURM) FRANKFORT AM MAIN DE60310 GERMANY
JP MORGAN SE                         AMSTERDAM BRANCH STRAWINSKYLAAN 1135, TOWER B AMSTERDAM 1077 XX NETHERLANDS
JP TRANS CARGO LLC                   5201 MEADOWVIEW AVE APT 2 NORTH BERGEN NJ 07047
JP TRANSPORTATION                    27 HUTTON CRES CALEDON ON L7C 1A3 CANADA
JP TRANSPORTATION (MC1143392)        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
JP TRANSPORTS LLC                    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JP TRUCKING                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JP TRUCKING INC                      54340 SMILAX ROAD NEW CARLISLE IN 46552
JPA 2 TRANSPORT LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
JPATT LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JPD SERVICES CORP                    7947 W 99TH ST PALOS HILLS IL 60465-1549



Epiq Corporate Restructuring, LLC                                                               Page 1004 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1013 of 2156

Claim Name                           Address Information
JPG TRUCKING                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JPJ TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JPL LOGISTICS LLC                    1152 DEERFOOT TRL SANFORD NC 27332
JPL WORLDWIDE INC                    OR LEE INVESTMENT GROUP, PO BOX 893591 TEMECULA CA 92591
JPM CHASE/PUB EMPLOYEES (2975)       ATT KENNY CHIU PROXY MGR NY1-C094 4 METROTECH CTR - 3RD FL BROOKLYN NY 11245
JPMORGAN CHASE (0902)                ATT KENNY CHIU PROXY MGR NY1-C094 4 METROTECH CTR - 3RD FL BROOKLYN NY 11245
JPMORGAN CHASE (2357)                ATT KENNY CHIU PROXY MGR NY1-C094 4 METROTECH CTR - 3RD FL BROOKLYN NY 11245
JPMORGAN CHASE (3622)                ATT KENNY CHIU PROXY MGR NY1-C094 4 METROTECH CTR - 3RD FL BROOKLYN NY 11245
JPMORGAN CHASE / EURO (1970)         ATT KENNY CHIU PROXY MGR NY1-C094 4 METROTECH CTR - 3RD FL BROOKLYN NY 11245
JPMORGAN CHASE BANK NA               AS COLLATERAL AGENT 270 PARK AVE, 4TH FL NEW YORK NY 10017
JPMORGAN CHASE BANK NA               PO BOX 182051 COLUMBUS OH 43218-2051
JPMORGAN CHASE BANK NA               AS COLLATERAL AGENT 1111 FANNIN ST, FL 10 HOUSTON TX 77002
JPMORGAN CHASE BANK NA               AS COLLATERAL AGENT 1111 FANNIN ST, FL 9 HOUSTIN TX 77002
JPP EXPRESS LOGISTICS                2361 WEHRLE DR STE 5 WILLIAMSVILLE NY 14221
JPS                                  2201 S. MURRAY ST. ANDERSON SC 29624
JPS CARRIERS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JPS LOGISTIC LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JPS LOGISTICS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JPS TOOLS INC.                       C/O JOHN SHEEHY, 13720 BOSTON STREET BRIGHTON CO 80602
JPS TRANSPORT INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JPS TRUCKING AND HAULING LLC         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
JPS TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JPT TRANSPORTATION                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JQ TRANSPORT SERVICE LLC             OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
JR & SON TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JR BROWN TRANSPORT LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JR CABALLERO TRUCKING LLC            OR PHOENIX CAPITAL GROUP PO BOX 1415 DES MOINES IA 50305
JR EXPRESS CORPORATION OF TN         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JR EXPRESS FREIGHT LLC               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
JR KAYS TRUCKING INC                 31 RAILROAD STREET CLARENDON PA 16313
JR LOGISTICS                         OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
JR MERRITT CONTROLSINC.              ATTN: VINCENT DENARDO 55 SPERRY AVE STRATFORD CT 06615-7317
JR MOBILE SERVICE                    521 S CEDAR AVE PASCO WA 99301
JR QUALITY TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JR TRANS INC                         1500 CLYDE WAITE DR BRISTOL PA 19007
JR TRANSFER                          RIO SUCHIATE NO 67 FRACC EL CAMPANARIO CP NUEVO LAREDO 88160 MEXICO
JR TRANSPORT INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JR TRUCKING LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JR. SERVICES & REPAIR CORP           405 SE 30TH DR HOMESTEAD FL 33033
JRAY TRUCKING LLC                    OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
JRC & SONS LLC                       124 SE 11TH AVE MILTON FREEWATER OR 97862
JRC MECHANICAL LLC                   417 NETWORK STATION STE 101 CHESAPEAKE VA 23320
JRC SERVICES LLC                     417 NETWORK STATION 101 CHESAPEAKE VA 23320
JRC TRANSPORT                        OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
JRCO                                 20195 S. DIAMOND LAKE RD SUITE 100 ROGERS MN 55374
JRCT TRUCKING CORP                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
JRD TRANSPORTATION INC               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
JRD TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1005 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1014 of 2156

Claim Name                            Address Information
JRE LOGISTICS, LLC                    OR TREADSTONE US CAPITAL, PO BOX 631627 CINCINNATI OH 45263-1627
JRE TRANSPORTATION INC                OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
JRG TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JRG TRANSPORTATION LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JRJ LOGISTICS TRANSPORT LLC           OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
JRJ TRUCKING EXPRESS INC              OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
JRK LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JROYAL TRANS INC                      OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                      ANGELES CA 90074
JRR TRANSPORT INC                     4511 BIRD FARM RD CHINO HILLS CA 91709
JRS EXPEDITED FREIGHT LLC             PO BOX 4863 EVANSVILLE IN 47724
JRS EXPRESS                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
JRS LOGISTICS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JRS TRANSPORTATION, LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JRS TRUCKING                          OR BLU CAPITAL, PO BOX 17759 EL PASO TX 79917
JRT TRUCKING CORPORATION              OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                      33631-3792
JRW LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JS CARGO LLC                          OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
JS MIANI TRUCKING INC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
JS MULTI SERVICES LLC                 OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
JS PEST CONTROL                       4429 LOSEE RD NORTH LAS VEGAS NV 89081
JS TRANS LLC                          12845 S GALLERY ST OLATHE KS 66062
JS TRANSPORTATION                     21306 W 82ND STREET LENEXA KS 66220
JS TRANSPORTATION INCORPORATED        39959 HUDSON COURT TEMECULA CA 92591
JS TRUCKING INC                       144 SOUTH LANE GRAND ISLAND NY 14072
JS TRUCKING LLC (CITRUS HEIGHTS CA)   OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
JS UNITED EXPRESS INC                 5438 W HARVARD AVE FRESNO CA 93722
JS XPRESS LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JS1 TRANSPORT LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JSA TRUCKING LLC                      OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
JSBH TRANSPORTATION LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JSBS TRANS INC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JSC                                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
JSC LOGISTICS                         4799 GRAPHITE CREEK ROAD JURUPA CA 91754
JSC LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JSC LOGISTICS LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
JSD TRANS INCORPORATED                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JSD TRANS INCORPORATED                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JSD TRUCKING CORP                     OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
JSE TRANSPORT CORP                    PO BOX 262 BLOOMFIELD NJ 07003
JSE TRANSPORT CORP                    358 PARKER STREET NEWARK NJ 07104
JSFS TRANSPORT                        7531 FRANKLIN BLVD 9 SACRAMENTO CA 95823
JSH TRANSPORT, INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JSI TRUCKING SERVICES LLC             OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JSIV TRUCKING                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JSJ TRANSPORTATION, INC. (MC978894)   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JSJ TRUCKING INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JSK LOGISTICS                         848 STOUTT CRES MILTON ON L9T7R1 CANADA



Epiq Corporate Restructuring, LLC                                                                Page 1006 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1015 of 2156

Claim Name                           Address Information
JSK SOLUTIONS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JSL EXPRESS LLC                      2802 KINGS MILL RD GREENSBORO NC 27407
JSL TRANSPORT                        OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JSL TRANSPORT INC                    2718 NE 126TH AVE VANCOUVER WA 98684
JSL TRUCKING INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JSM TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JSP HERAN TRANSPORT INC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JSP TRANSPORTATION LLC               376 PIERINA DR PITTSBURGH PA 15243
JSQ EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JSR TRANSPORTATION & LOGISTICS LLC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JSR TRUCKING LLC                     857 GRAYSTONE CIR NORTHAMPTON PA 18067
JST                                  PO BOX 146 HALLS TN 38040
JST ENTERPRISES LLC                  UNIQUE HEAVY RECOVERY, 2075 W WILLIAMS DR PHOENIX AZ 85027
JSW EXPRESS LLC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
JSW LOGISTICS INC                    604 CENTRAL AVENUE SUITE 2 EAST ORANGE NJ 07018
JSW TRANSPORT LTD                    6124 180 SURREY BC V3S 5W5 CANADA
JSX LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
JT CARGO INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JT CONSULTINA & LOGISTICS LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JT DAVIDSON INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JT FREIGHT INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JT HOLLIE, LLC                       PO BOX 4779 TULSA OK 74159
JT LOGISTICS LLC                     OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
JT MAJESTIC TRUCKING COMPANY LLC     OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
JT NOVEC LLC                         OR PTL FUNDING LLC, 17380 NACHTWEY ROAD MARIBEL WI 54227
JT TRANS                             OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                     ANGELES CA 90074
JT TRANSPORT (MC0580767)             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JT TRANSPORTATION INC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
JT TRANSPORTATION LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
JT TRANSPORTATION, LLC               3811 DIXON ST DES MOINES IA 50313
JT TRUCKING                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JT TRUCKING (PALMVIEW TX)            OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JTA EXPRESS CORP                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JTB TRANSPORT LOGISTICS LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JTC FREIGHT AND LOGISTICS LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JTD UNDER PRESSURE                   D/B/A: JUST THE DETAILS 8681 FENWICK WAY DUBLIN CA 94568
JTG MASTER PLUMBING CORP.            500 MAMARONECK AVENUE, STE 320 HARRISON NY 10528
JTH GARAGE DOOR LLC                  14607 7TH AVE NW ANDOVER MN 55304
JTH GARAGE DOOR LLC                  13215 OAKWOOD RD ZIMMERMAN MN 55398
JTL EXPRESS INC.                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JTL LLC                              JAX TRANSPORTATION, 331 GARNER ROAD SPARTANBURG SC 29303
JTM GLOBAL EXPRESS LLC               3005 MORGAN ST HUNTSVILLE AL 35805
JTR FREIGHT CORP                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JTS EXPRESS LLC                      OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
JTS LOGISTICS                        ATTN: AUSTIN RAWLINGS 5441 ALESIA CT SE SALEM OR 97306
JTS TOOLS SALES LLC                  100 BERRY GENTRY LN SCOTTSVILLE KY 42164
JTS TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                               Page 1007 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1016 of 2156

Claim Name                          Address Information
JTS TRANSPORT INC                   OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
JTS TRUCK REPAIR                    PO BOX 40970 BAKERSFIELD CA 93384
JTT LOGISTICS INC                   OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
JTT TRANSPORT OF PALM BEACH CORP    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JTX                                 OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
JUAN A MARTINEZ                     ADDRESS ON FILE
JUAN A MARTINEZ                     ADDRESS ON FILE
JUAN A QUINONES                     ADDRESS ON FILE
JUAN AVILA CASTRO                   ADDRESS ON FILE
JUAN B RAZO                         ADDRESS ON FILE
JUAN C GONZABAY                     ADDRESS ON FILE
JUAN CALDERA TRANSPORT CORP         23265 WALNUT ST PERRIS CA 92570
JUAN CARLOS MARCIAL                 ADDRESS ON FILE
JUAN E NIEVES GONZALOZ              ADDRESS ON FILE
JUAN ESPARZA SOTO                   ADDRESS ON FILE
JUAN F GALLO                        ADDRESS ON FILE
JUAN GARCIA                         ADDRESS ON FILE
JUAN H. PORTILLO                    ADDRESS ON FILE
JUAN J GARZA TRUCKIN LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
JUAN J LOPEZ                        ADDRESS ON FILE
JUAN J MONTIEL TRUCKING LLC         OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JUAN L CASTILLO                     ADDRESS ON FILE
JUAN M SERRANO                      ADDRESS ON FILE
JUAN PRADO                          ADDRESS ON FILE
JUAN RANGEL                         ADDRESS ON FILE
JUANA ANGELICA SANCHEZ              ADDRESS ON FILE
JUANGCO, CORAZON                    ADDRESS ON FILE
JUAREZ EXPRESS LLC                  OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
JUAREZ, ALFREDO                     ADDRESS ON FILE
JUAREZ, ANA                         ADDRESS ON FILE
JUAREZ, ANA D                       ADDRESS ON FILE
JUAREZ, ANDREW                      ADDRESS ON FILE
JUAREZ, ANDREW                      ADDRESS ON FILE
JUAREZ, JOEL                        ADDRESS ON FILE
JUAREZ, JULIO                       ADDRESS ON FILE
JUAREZ, LUIS                        ADDRESS ON FILE
JUAREZ, MARCIAL                     ADDRESS ON FILE
JUAREZ, MAURICIO                    ADDRESS ON FILE
JUAREZ, MICHAEL                     ADDRESS ON FILE
JUAREZ, RAYMUNDO                    ADDRESS ON FILE
JUAREZ, ROGER                       ADDRESS ON FILE
JUAREZ, VANESSA                     ADDRESS ON FILE
JUAREZ, VICTOR                      ADDRESS ON FILE
JUAREZ-GUTIERREZ, EDGAR             ADDRESS ON FILE
JUB DELIVERY SERVICES INC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JUBA VALLEY TRUCKING LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
JUBIDU LLC                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
JUBILANT TRANSPORTATION INC         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JUDAY, GRACE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1008 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1017 of 2156

Claim Name                           Address Information
JUDD & SHELLEY RIDDLE                ADDRESS ON FILE
JUDD, NICOLE                         ADDRESS ON FILE
JUDD, RICHARD                        ADDRESS ON FILE
JUDD, RUSSEL                         ADDRESS ON FILE
JUDE HURST                           ADDRESS ON FILE
JUDE ROBERT                          ADDRESS ON FILE
JUDGE EXPRESS LTD                    16 BURLWOOD RD BRAMPTON ON L6O 4E9 CANADA
JUDGE FARM LLC                       1765 TUSCANY DR YUBA CITY CA 95993
JUDGE TRANSPORTATION LLC             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
JUDGE TRUCKLINES INC                 OR J & J FUNDING INC, 2873 LARKIN AVE CLOVIS CA 93612
JUDGE, ALLEN                         ADDRESS ON FILE
JUDGE, BENJAMIN                      ADDRESS ON FILE
JUDGE, MARLON                        ADDRESS ON FILE
JUDITH TRANSPORT & LOGISTICS LLC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JUDSON, JEFFREY                      ADDRESS ON FILE
JUDSON, TIA                          ADDRESS ON FILE
JUDY DAVENPORT                       ADDRESS ON FILE
JUDY JONES TRUCKING, INC.            P O BOX 98 NAPLES NC 28760
JUDY RIGGI                           ADDRESS ON FILE
JUENEMANN, ALEXANDER                 ADDRESS ON FILE
JUERGENS, MICHAEL                    ADDRESS ON FILE
JUGGERNAUT                           179 W 500 S PAYSON UT 84651
JUGGERNAUT SPARK LOGISTICS LLC       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JUGNU TRUCKING LLC                   17906 WICHITA RIVER WAY CYPRESS TX 77433
JUGRAN, AMIT                         ADDRESS ON FILE
JUJHAR EXPRESS LLC                   507 BABBLING BROOKE DR MONROE OH 45050
JUJHAR GILL                          ADDRESS ON FILE
JUJU & D LLC                         OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
JUJUAN STRICKLAND                    ADDRESS ON FILE
JUJUS TRANSPORTATION LLC             OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
JUKNYS LOGISTICS LTD                 OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
JUKS LOGISTICS & INVESTMENTS LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JULES JACQUES, BARBARA               ADDRESS ON FILE
JULIA ENTERPRISE INC                 OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
JULIA M GONZALEZ                     ADDRESS ON FILE
JULIA TRUCKING CORP                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JULIAN, ERIC                         ADDRESS ON FILE
JULIAN, JOSE                         ADDRESS ON FILE
JULIAN, JOSE                         ADDRESS ON FILE
JULIANS TRANSPORT INC                OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
JULIE C FLANAGAN                     ADDRESS ON FILE
JULIEANN H AMBROISE                  ADDRESS ON FILE
JULIEN, JACKSON                      ADDRESS ON FILE
JULIO A CASTRO                       ADDRESS ON FILE
JULIO A HERNANDEZ                    ADDRESS ON FILE
JULIO AGUILAR III                    ADDRESS ON FILE
JULIOS EASY STOP                     5945 GREENWOOD DRIVE CORPUS CHRISTI TX 78417
JULIOS LOGISTICS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JULIOUS, EDWARD                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1009 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1018 of 2156

Claim Name                           Address Information
JULIUS, TREVOR                       ADDRESS ON FILE
JUMAANE J MAYBERRY SR                ADDRESS ON FILE
JUMBO CARGO TRANSPORTATION LLC       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JUMELET, AJ                          ADDRESS ON FILE
JUMP START CONSULTANTS INC           4649 CAROLINA AVE RICHMOND VA 23222
JUMPSPORT                            ATTN: JACQUELINE CARRUTHERS ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                     60654
JUNCAJ, MARASH                       ADDRESS ON FILE
JUNCO, LUIS                          ADDRESS ON FILE
JUNCTION GS TRANSPORT SERVICES LLC   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
JUNDT, MICHAEL E                     ADDRESS ON FILE
JUNG Y CHUNG                         ADDRESS ON FILE
JUNG, ELGIN                          ADDRESS ON FILE
JUNG, JAMES                          ADDRESS ON FILE
JUNG, MICHAEL                        ADDRESS ON FILE
JUNGELS, REGINA                      ADDRESS ON FILE
JUNGERMAN, JASON                     ADDRESS ON FILE
JUNGERMAN, JOHN                      ADDRESS ON FILE
JUNGEWAELTER, MITCHELL               ADDRESS ON FILE
JUNGLE, JAKE                         ADDRESS ON FILE
JUNGWIRTH, DONALD                    ADDRESS ON FILE
JUNIOR TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JUNIOR, AARON                        ADDRESS ON FILE
JUNIOR, ROBERT                       ADDRESS ON FILE
JUNIORDS TRANSPORTATION LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JUNIPER LOGISTICS LLC                OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
JUNITOS LOGISTICS LLC                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
JUNK KING MADISON                    ADDRESS ON FILE
JUNKER, KEVIN                        ADDRESS ON FILE
JUP TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JUPITER TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
JURADO, GABRIEL                      ADDRESS ON FILE
JURAIN, RONALD                       ADDRESS ON FILE
JURASINSKI, JIM                      ADDRESS ON FILE
JURCISEK, JAMES                      ADDRESS ON FILE
JURGENSMEYER, DAVID                  ADDRESS ON FILE
JURMANN, JAMES                       ADDRESS ON FILE
JUS GLO TRUCKING CO                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JUSJUE TRUCKING LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
JUSSAUME, RICHARD                    ADDRESS ON FILE
JUST - VAN TRANSPORT INC             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
JUST 4 YOU EH LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JUST DRAINS INC                      3129 KENTUCKY AVE INDIANAPOLIS IN 46221
JUST DUCTLESS                        1951 NW MULHOLLAND DR STE 200 ROSEBURG OR 97470
JUST ELITE TRANSPORT                 OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
JUST ENERGY                          P.O.BOX 650518 DALLAS TX 75265
JUST FAIR LOGISTICS INC              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
JUST FOR FUN TRUCKING                1630 LEXHAM AVE SOUTH EL MONTE CA 91733
JUST GOODS INC                       311 W 43RD ST 12TH FLOOR NEW YORK NY 10036



Epiq Corporate Restructuring, LLC                                                             Page 1010 OF 2145
                                              Yellow Corporation
                     Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1019 of 2156

Claim Name                             Address Information
JUST IN TIME SERVICES INC              ATTN: INGRID FEIJOO 11450 NW 34TH ST STE 100 DORAL FL 33178
JUST IN TIME SYSTEMS LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
JUST LOAD IT LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
JUST LOGISTICS INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JUST MAN FREIGHT LINES, INC.           4855 SOUTH ROBERT TRAIL EAGAN MN 55123
JUST ON TIME TRANSPORT LTD             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
JUST RIDING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JUST THE DETAILS                       8681 FENWICK WAY DUBLIN CA 94568
JUST TRUCKING ROSIE LLC                OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
JUST, BRADY                            ADDRESS ON FILE
JUST, JAMES                            ADDRESS ON FILE
JUST-IN SERVICE ENTERPRISE LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
JUST-N-TIME LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JUSTBUCKS TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JUSTICE FIRE & SAFETY                  405 COUNTY RD E W ST PAUL MN 55126
JUSTICE FIRE & SAFETY                  3601 N POTSDAM AVENUE SIOUX FALLS SD 57104
JUSTICE FLEET MAINTENANCE              3645 NC HIGHWAY 20 WEST SAINT PAULS NC 28384
JUSTICE LOGISTICS LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
JUSTICE ROAD LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JUSTICE, ELIAS S                       ADDRESS ON FILE
JUSTICE, WILLIAM                       ADDRESS ON FILE
JUSTIN A ADKINS                        ADDRESS ON FILE
JUSTIN A HESS                          ADDRESS ON FILE
JUSTIN A MULLINS                       ADDRESS ON FILE
JUSTIN A MULLINS                       ADDRESS ON FILE
JUSTIN BASSETT                         ADDRESS ON FILE
JUSTIN BASSETT                         ADDRESS ON FILE
JUSTIN C BODDIE                        ADDRESS ON FILE
JUSTIN D LONG                          ADDRESS ON FILE
JUSTIN E PIMENTEL                      ADDRESS ON FILE
JUSTIN GOLDSTEIN                       ADDRESS ON FILE
JUSTIN I MICHEAU                       ADDRESS ON FILE
JUSTIN K SOWARDS                       ADDRESS ON FILE
JUSTIN L BAILEY                        ADDRESS ON FILE
JUSTIN L BAILEY                        ADDRESS ON FILE
JUSTIN L WEITERS                       ADDRESS ON FILE
JUSTIN M CAIRD                         ADDRESS ON FILE
JUSTIN M CLINE                         ADDRESS ON FILE
JUSTIN M PAONE                         ADDRESS ON FILE
JUSTIN MABE                            ADDRESS ON FILE
JUSTIN R BECKLER                       ADDRESS ON FILE
JUSTIN R LYONS                         ADDRESS ON FILE
JUSTIN R POOLE                         ADDRESS ON FILE
JUSTIN SONKO                           ADDRESS ON FILE
JUSTIN STOTTS                          ADDRESS ON FILE
JUSTIN WILLIAMS TRUCKING COMPANY LLC   OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
JUSTIN WILLIAMSON                      ADDRESS ON FILE
JUSTIN, WAYNE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1011 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1020 of 2156

Claim Name                          Address Information
JUSTUS, ROGER                       ADDRESS ON FILE
JUTZI, SEAN                         ADDRESS ON FILE
JUVEN TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
JUVERA, JESUS                       ADDRESS ON FILE
JUVONEN, WALTER K                   ADDRESS ON FILE
JUZA LLC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JUZNI VETAR LOGISTICS INC.          OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
JUZNI VETAR LOGISTICS INC.          OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
JUZNI VETAR LOGISTICS INC.          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
JV FREIGHT LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JV LOGISTICS,LLC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
JV TRANSPORT INC                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
JV TRANSPORTATION LLP               OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
JVA LOGISTICS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JVC MAJESTICS LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JVC TRANSPORT                       OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
JVCA INVESTMENTS, LLC               2400 E PACIFIC COAST HWY WILMINGTON CA 90744
JVCA INVESTMENTS, LLC               ATTN: PATRICK WILSON 2400 E PACIFIC COAST HIGHWAY WILMINGTON CA 90744
JVD TRANSFER INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
JVG TRANS INC.                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JVI TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JVIS CO                             34501 HARPER AVE CLINTON TOWNSHIP MI 48035
JVJ TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JVM TRUCKING INC                    2105 SPRINGWOOD CARROLLTON TX 75006
JVP TRUCKING LLC                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
JVP TRUCKING LLC (MC1386220)        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JVQ TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
JVR TRANSPORT INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
JVR TRANSPORTATION LLC              OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
JVS TRANSPORT LLC                   11962 COPPERFIELD DR CARMEL IN 46032
JVS TRUCKING LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
JVY EXPRESS INC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JW HELTON TRANSPORT INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
JW LOGISTICS                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
JW MARRIOTT GRAND RAPIDS            ATTN: NICOLE HOWE 235 LOUIS ST GRAND RAPIDS MI 49503
JW MARRIOTT INDIANAPOLIS            ACCT ENDING IN 1170, 62960 COLLECTION DR CHICAGO IL 60693
JW SUPREME XPRESS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
JW WELDING                          1012 THUNDER RD RIO RANCHO NM 87124
JWA EXPRESS INC                     JWA EXPRESS INC, 6499 WELLS SPRINGS ST EASTVALE CA 91752
JWC TRUCKING LLC                    PO BOX 345 GILLETT WI 54124
JWP EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
JWP TRANS INC                       OR GENERAL BUSINESS CREDIT 110 E. 9TH ST, STE C-900 LOS ANGELES CA 90079
JWR TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
JX ENTERPRISES INC                  PO BOX 689958 CHICAGO IL 60695
JX ENTERPRISES INC.                 BOX 689958 CHICAGO IL 60695-9958
JX TRUCK CENTER                     925 WALNUT RIDGE DRIVE SUITE 150 HARTLAND WI 53029
JX TRUCK CENTER                     1039 KRONENWETTER DR KRONENWETTER 54455
JX TRUCK CENTER                     225 COURTLAND ST, BUILDING 2 MORTON IL 61550



Epiq Corporate Restructuring, LLC                                                              Page 1012 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1021 of 2156

Claim Name                              Address Information
JX TRUCK CENTER-B CLARE                 9989 REBAK WAY CLARE MI 48617
JYAKKS TRUCKING AND HAULING LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
JZ CONTRACTING, INC.                    DBA PRO SWEEP PLUS, PO BOX 16801 MISSOULA MT 59808
JZ CONTRACTING, INC.                    PRO SWEEP PLUS, 7341 RACETRACK DR MISSOULA MT 59808
JZX INC                                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
K & A EXPRESS LLC                       OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
K & A LOGISTICS LLC                     OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
K & A SOMO TRUCKING INC                 11424 VIA RANCH SAN DIEGO, UNIT 89 EL CAJON CA 92019-5236
K & A TRANSPORTATION LLC                OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
K & B CARRIERS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
K & B TRUCKING INC.                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
K & E EXPRESS TRUCKING LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
K & E TRANSPORTATION ASSOCIATES, INC.   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
K & E TRANSPORTING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K & H DISPATCH COURIERS                 C145 6286 203 ST LANGLEY BC V2Y 3S1 CANADA
K & H DISPATCH COURIERS                 103-6592 176 ST SURREY BC V3S 4G5 CANADA
K & H DISPATCH COURIERS                 107-3950 191 ST SURREY BC V3Z 0Y6 CANADA
K & H DISPATCH COURIERS                 ATTN ACCOUNTS PAYABLE 3985 STILL CREEK AVE BURNABY BC V5C 4E2 CANADA
K & H PRINTERS                          PO BOX 388 EVERETT WA 98203
K & I TRANSPORTS LLC                    5148 LORING CT INDIANAPOLIS IN 46268
K & I TRANSPORTS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
K & J CAMACHO TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K & J EXPRESS LOGISTICS LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
K & J FREIGHT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K & J TRUCKING                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
K & K JUMP STARTS                       1205 JOHNSON FY RD, STE 136 506 MARIETTA GA 30068
K & K LOGISTICS LLC (MC787762)          OR GLOBAL EXPRESS INC. 4012 HUNSINGER LANE LOUISVILLE KY 40220
K & K MAINTANCE CO INC                  5460 DIXIE HWY WATERFORD MI 48329
K & K TRANSPORT INC                     OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
K & K TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
K & K TRUCKING INC                      18898 HOSHEL RD THREE RIVERS MI 49093
K & L CAR WASH INC.                     371 BERRY CREEK PLACE SPRING CREEK NV 89815
K & L FREIGHT LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
K & M EXPRESS LLC                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
K & M TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
K & M TRANSPORTATION OF SPARTANBURG,    PO BOX 875 ROEBUCK SC 29376
LLC
K & M TRUCKING                          219 CENTER ST. NORTH ROTHSAY MN 56579
K & R TRUCKING                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K & S PRO SERVICES INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
K & S TRANS LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
K & S TRANSPORTATION, LLC               P O BOX 357 LINEVILLE AL 36266
K & T MOVING AND DELIVERY LLC           OR COPPERWOOD CAPITAL PO BOX 4776 DEPARTMENT 300 HOUSTON TX 77210
K & W EXPRESS LLC                       8161 N THOMAS MEYERS DR APT E KANSAS CITY MO 64118
K & Y TRANSPORTATION INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
K A I TOTAL PAVEMENT MANAGEMENT         D/B/A: KANSAS ASPHALT INC 7000 W 206TH STREET BUCYRUS KS 66013
K A P TRANSPORT CORP                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
K A TRANSPORT LLC                       2125 129TH PL SE EVERETT WA 98208
K AND B TRANSPORTATION LLC              P 0 BOX 240932 MONTGOMERY AL 36124



Epiq Corporate Restructuring, LLC                                                                  Page 1013 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1022 of 2156

Claim Name                           Address Information
K AND D HOTSHOTS LLC                 3200 ST MARYS AVE HANNIBAL MO 63401
K AND G TRUCKING                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K AND J TRUCK REPAIR                 PO BOX 634 HARVEY LA 70059
K AND L TRUCKING                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
K BROSS CARRIERS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
K CROOM TRUCKING                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
K D TRUCK & TRAILER REPAIR           3091 HWY 32N HOPE AR 71801
K DARBY TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K DOMINICH TRUCKING CORP             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
K EVANS TRUCKING LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
K FRANCIS TRUCKING INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
K I M EXPRESS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K JR TRANSPORT LLC                   49732 BROADACRE DR MACOMB MI 48042
K K EXPRESS INC                      810 SOUTH MAIN STREET AKRON OH 44311
K K LOGISTICS LLC                    OR PIN STREET FACTORING PO BOX 339 CROSSETT AR 71635
K L HARRING TRANSPORTATION LLC       P.O. BOX 56 BETHEL PA 19507
K L TRANSPORT LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
K LINE TRANSPORT INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
K LINE TRANSPORT INC (MC062984)      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
K LOGISTICS INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K MURDOCK DEVELOPMENTS LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
K N T LOGISTICS LLC                  OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
K N TRANSPORT INC.                   5355 W FREMONT AVE FRESNO CA 93722-8301
K NATIONAL LINE INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
K NINE TRANSPORTATION LLC            OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
K O R E TRANSPORTATION               OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
K P TRUCKING                         OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
K RAIN MANUFACTURING                 ATTN: RENIEL ZAMORA CUSTOMER SERVICE 1640 AUSTRALIAN AVE RIVIERA BEACH FL
                                     33404
K S K P CARRIER INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K S K ROADLINES INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
K S TRANSPORT                        OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480
K S TRUCKING                         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
K SALEH TRUCKING                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K SCALE                              ADDRESS ON FILE
K SEC TRANSPORTATION                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K SQUARE LOGISTICS LLC               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
K STAR TRANS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
K T C TRUCKING LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
K T I - KREKA TRANS, INC.            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
K TAHOE TRUCKING, INC                OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193
K TRANS                              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
K TRANSCO INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
K W EXPRESS, INC.                    6100 E. BELDING RD. BELDING MI 48809
K W TRANSPORTATION LLC               44 TREATY LN CLAYTON DE 19938
K W TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K Y K TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K&A TRANSPORT LLC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431



Epiq Corporate Restructuring, LLC                                                               Page 1014 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1023 of 2156

Claim Name                            Address Information
K&B EAGLE TRANSPORT LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
K&C LOGISTICS LLC                     OR ECAPITAL FREIGHT FACTORING COR PO BOX 206773 DALLAS TX 75320-6773
K&C TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
K&CEE TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K&D CONTRACT HAULING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
K&D LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K&G TRUCK LINES LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K&I LOGISTIC LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
K&J TRUCKING EXPRESS LLC              555 MARRIOTT DR STE 315 NASHVILLE TN 37214
K&K CARGO LINE INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
K&K CARRIER LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K&K CARRIER SERVICES LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
K&K FREIGHTWAYS INC                   OR J & J FUNDING INC, 2873 LARKIN AVE CLOVIS CA 93612
K&K TRANSPORTATION USA LLC            OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
K&L ELITE TRUCKING LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K&L SUPPLY                            2099 S 10TH ST SAN JOSE CA 95112
K&L SUPPLY                            2099 S. 10TH ST. UNIT 80 SAN JOSE CA 95118
K&M FREIGHT SERVICES, LLC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
K&N EXPRESS INC                       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
K&P LOGISTICS INC                     17192 MURPHY AVE 17672 IRVINE CA 92623
K&S PLUMBING CO., INC.                6980 HAMMOND, AVENUE SE CALEDONIA MI 49316
K&S RELIABLE TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
K&S ROAD TRANSPORT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
K&S TRANSPORT AND LOGISTICS LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
K&S XPRESS TRANSPORTATION LLC         723 S BRIERWOOD AVE RIALTO CA 92376
K&T LOGISTICS LLC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
K-BECK LOGISTICS INC                  OR MURPHY HOFFMAN COMPANY, PO BOX 874091 KANSAS CITY MO 64187
K-BECK LOGISTICS INC                  OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
K-HALL LLC                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
K-NIGHT CARRIERS INC                  OR BVD CAPITAL CORPORATION, 8177 TORBRAM ROAD BRAMPTON ON L6T5C5 CANADA
K-WAY EXPRESS INC.                    281 RAMBLER DR CAPE GIRARDEAU MO 63701
K-WAY EXPRESS, INC.                   PO BOX 266 WINSTED MN 55395
K. & T. TRANSPORT LTD.                P O BOX 389 FORT FAIRFIELD ME 04742
K. B. & COMPANY LLC                   ATTN: STEVEN MEREDITH 17603 HIGHWAY 31 S HENRYVILLE IN 47126-8638
K. BUCKLEY TOWING & RECOVERY INC      PO BOX 918, 510 MAPLE PARK HILLS MO 63601
K. M. PULLEY TRUCKING COMPANY, INC.   P O BOX 8043 ROCKY MOUNT NC 27804
K. W. SERVICE, INC.                   12236 JEFFERSON STREET PERRYSBURG OH 43551
K.LATTIMORE LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K.M. NEWHOUSE & SONS TRUCKING         OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
K.M. NEWHOUSE & SONS TRUCKING         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
K.M. WALKER TRUCK & TRAILER           PO BOX 3835 DAYTON OH 45401
K.M.M. TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
K.N.T. TIRE & TRUCK SERVICE           PO BOX 5294 PRINCETON WV 24740
K.W. TRANS, LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
K1 TRANSFREIGHT INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
K2 ELECTRIC                           4038 E SUPERIOR AVE 102 PHOENIX AZ 85040
K2 ELECTRIC                           4038 E. SUPERIOR AVE. PHOENIX AZ 85040
K2 EXPRESS, INC.                      OR MARQUETTE TRANPORTATION FINANCE P O BOX 1450 NW 7939 MINNEAPOLIS MN 55485
K2 EXPRESS, INC.                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                Page 1015 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1024 of 2156

Claim Name                           Address Information
K2 TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
K2 TRANSPORTATION LLC (MC1350380)    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
K2M TRANSPORTATION                   2292 PEMBROOK PL NE ATLANTA GA 30324
K7 GROUP LLC                         5580 PIERCE LANE RIVERBANK CA 95367
KA EXPRESS LOGISTICS INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
KA TRUCKING LLC                      4354 HIALEAH DR PASADENA TX 77503-3551
KA, OUMAR                            ADDRESS ON FILE
KAA TRANSPORTATION LLC (MC1290833)   OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
KAAA II, JOSEPH                      ADDRESS ON FILE
KAAD ENTERPRISE LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KAAIHUE, ALVIN                       ADDRESS ON FILE
KAAMBO, UZERA                        ADDRESS ON FILE
KAAWA, CHANTELL                      ADDRESS ON FILE
KAAWA, CLINTON                       ADDRESS ON FILE
KABA TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KABAMBA, ORVILLE                     ADDRESS ON FILE
KABBA TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KABIR TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KABIR TRUCKS LLC                     OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
KABIROW LOGISTICS LLC                OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
KABKABIYA INTERNATIONAL TRAVEL LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KABMAR TRUCKIN LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
KABORK LOGISTICS LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
KABREY, BAILEY                       ADDRESS ON FILE
KABS EXPRESS INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
KABUL EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KABUS, PAUL                          ADDRESS ON FILE
KABYSH, DANIIL                       ADDRESS ON FILE
KAC FOOD PRODUCTS                    1366 MT PLEASANT ST NW NORTH CANTON OH 44720
KAC TRANSPORT                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KACS TRANSPORT, LLC                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
KACZMAREK, MICHAEL                   ADDRESS ON FILE
KACZMAREK, MICHAEL                   ADDRESS ON FILE
KACZOR, BRIAN                        ADDRESS ON FILE
KACZOR, CASEY                        ADDRESS ON FILE
KAD GROUP LOGISTICS INC              113 MCHENRY RD, STE 135 BUFFALO GROVE IL 60089
KADAFY LOGISTICS CORP                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
KADANT UNIFLEX                       PO BOX 1229 ANDERSON SC 29622
KADAR TRUCKING LLC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
KADAS, JAMES                         ADDRESS ON FILE
KADAS, JOHN                          ADDRESS ON FILE
KADASH, JUDY                         ADDRESS ON FILE
KADE LOGISTICS, LLC                  3315 S 250 W RENSSELAER IN 47978
KADIC, ESAD                          ADDRESS ON FILE
KADUCEUS TRANSPORT INC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KADUGA, CHAKA                        ADDRESS ON FILE
KAE EXPRESS LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
KAESLIN, PETER                       ADDRESS ON FILE
KAFER, DAVID                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1016 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1025 of 2156

Claim Name                            Address Information
KAFKA TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KAFKA, TOM                            ADDRESS ON FILE
KAGAN, EDUARD                         ADDRESS ON FILE
KAGE INNOVATION C/O ECHO              ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
KAGET SERVICES LLC                    OR TRUWEST CREDIT UNION, PO BOX 3489 SCOTTSDALE AZ 85271
KAGIE, DAVID                          ADDRESS ON FILE
KAHALA BROTHERS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
KAHIYE EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KAHLER, EDWIN                         ADDRESS ON FILE
KAHLER, ERIC                          ADDRESS ON FILE
KAHLER, GARY H                        ADDRESS ON FILE
KAHLER, ROGER                         ADDRESS ON FILE
KAHLON TRUCK LINES INC                2568 CORMORANT DR GREENWOOD IN 46143
KAHLON TRUCKING INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KAHN, JOSHUA                          ADDRESS ON FILE
KAHNSPORTATION INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
KAHTAVA, ZACHARY                      ADDRESS ON FILE
KAI LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KAIHEWALU, DEREK                      ADDRESS ON FILE
KAILAND LOGISTICS LLC                 OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
KAILER, JOACHIM                       ADDRESS ON FILE
KAILIAN, ROBERT                       ADDRESS ON FILE
KAINAN TRUCKLINE LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KAINOA, DAVID                         ADDRESS ON FILE
KAION M DILLS                         ADDRESS ON FILE
KAIRON TRANSPORT                      40 PAPILLON DOLLARD DES ORMEAUX QC H9B 3I7 CANADA
KAIRON TRANSPORT                      OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
KAIROS LOGISTICS INC                  OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
KAISER FOUNDATION HEALTH PLAN - NCA   PO BOX 741562 LOS ANGELES CA 90074
KAISER FOUNDATION HEALTH PLAN - NCA   FILE NUMBER 73029, PO BOX 60000 SAN FRANCISCO CA 94160
KAISER FOUNDATION HEALTH PLAN - NW    PO BOX 34178 SEATTLE WA 98124
KAISER FOUNDATION HEALTH PLAN - SCA   PO BOX 741562 LOS ANGELES CA 90074
KAISER FOUNDATION HEALTH PLAN - SCA   WORLDWAY POSTAL CENTER, PO BOX 80204 LOS ANGELES CA 90080
KAISER TRANSPORT INC.                 2907 E. MCCORMICK DR MILTON WI 53563
KAISER TRANSPORT INC.                 2907 MCCORMICK DRIVE MILTON WI 53563
KAISER, BLAIR                         ADDRESS ON FILE
KAISER, CAMDYN                        ADDRESS ON FILE
KAISER, CARIE                         ADDRESS ON FILE
KAISER, CHARLES                       ADDRESS ON FILE
KAISER, GRETA                         ADDRESS ON FILE
KAISER, HOWARD                        ADDRESS ON FILE
KAISER, JONATHON                      ADDRESS ON FILE
KAISER, JUSTIN                        ADDRESS ON FILE
KAISER, QUINTON                       ADDRESS ON FILE
KAISER, ROBERT                        ADDRESS ON FILE
KAISER, TERRY                         ADDRESS ON FILE
KAJ TRANSPORTATION INC                1665 COUNTRY CLUB DR GLENDALE CA 91208
KAJ TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KAJA, GRZEGORZ                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1017 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1026 of 2156

Claim Name                           Address Information
KAKLEAS, DANIEL J                    ADDRESS ON FILE
KAKUBO, MANDLA                       ADDRESS ON FILE
KAL TRANSPORT INC                    PO BOX 51465 LIVONIA MI 48151
KALAFOGE EXPRESS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KALASHNIKOV, VICTOR B                ADDRESS ON FILE
KALCHBRENNER, KERRY                  ADDRESS ON FILE
KALE HEATING & AIR CONDITIONING      122 RIVER DR MOLINE IL 61265
KALEB TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KALEL TRANSPORT LLC                  OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
KALEMOV, TODOR                       ADDRESS ON FILE
KALEPA, KEONI                        ADDRESS ON FILE
KALESKAS, GARY                       ADDRESS ON FILE
KALI CARGO INC                       PO BOX 96-0479 OKLAHOMA CITY OK 73196
KALIL VALLEY TRANSPORTATIONS LLC     5420 W GLASS LN LAVEEN AZ 85339
KALINIAK, DANIEL                     ADDRESS ON FILE
KALININ, DANNY                       ADDRESS ON FILE
KALINOWSKI, PATRICK                  ADDRESS ON FILE
KALINOWSKI, TIFFANY                  ADDRESS ON FILE
KALIRAI FREIGHT LLC                  P O BOX 127 FOWLER CA 93625
KALIRAI TRANS INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
KALISH, JASON                        ADDRESS ON FILE
KALK, ANDREW                         ADDRESS ON FILE
KALLIN, GLEN                         ADDRESS ON FILE
KALLIN-JOHNSON MONUMENT              1914 N. 15TH ST. FT. DODGE IA 50501
KALLOS TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KALMAR TERMINAL TRACTORS UTAH        4970 W 2100 S, PO BOX 25305 SALT LAKE CITY UT 84125
KALMBACH, CHRISTOPHER                ADDRESS ON FILE
KALNASI, VIRGINIA                    ADDRESS ON FILE
KALNASY, ANDREW                      ADDRESS ON FILE
KALOGJERA, DIN                       ADDRESS ON FILE
KALON TRUCKING LLC                   OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
KALON TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KALONIAL TRANSPORT, LTD.             PO BOX 832 KALONA IA 52247
KALONICK, MICHAEL                    ADDRESS ON FILE
KALOUPEK, HANNAH                     ADDRESS ON FILE
KALOUPEK, ZANE                       ADDRESS ON FILE
KALTON FREIGHT, LLC                  KALTON FREIGHT LLC, 2621 SANDY PLAINS ROAD 302 MARIETTA GA 30066
KALTON FREIGHT, LLC                  OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
KALV LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KALYAN, MIKE                         ADDRESS ON FILE
KAM HYDRAULICS, INC.                 5340 S HARDING ST INDIANAPOLIS IN 46217
KAM TRANSPORTATION LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KAM TRANSPORTATION LLC (MC1123650)   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KAM, MARK                            ADDRESS ON FILE
KAMAL CARRIER INC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KAMAL CARRIER INC                    3556 LIBBY LN YUBA CITY CA 95993
KAMALEBOS LLC                        339 PAIGE AVE BOWLING GREEN KY 42101
KAMAN INDUSTRIAL                     ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
KAMAN INDUSTRIAL TECH                C/O ECHO GLOBAL 600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                             Page 1018 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1027 of 2156

Claim Name                           Address Information
KAMAN, FOSTER                        ADDRESS ON FILE
KAMARA, ALHAJI                       ADDRESS ON FILE
KAMARA, VARMUN                       ADDRESS ON FILE
KAMAU CARRIERS LLC                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
KAMAU, ALLAN                         ADDRESS ON FILE
KAMAX LP                             1805 BOWERS RD LAPEER MI 48446
KAMBA, ELIJAH                        ADDRESS ON FILE
KAMBALA, BLESSINGS                   ADDRESS ON FILE
KAMBOJ EXPRESS INC.                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
KAMBOJ, HEMANT                       ADDRESS ON FILE
KAMCHE LLC                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
KAMER, DAVID                         ADDRESS ON FILE
KAMEX TRANSPORT LLC                  500 LINWOOD DRIVE APT 3H FORT LEE NJ 07024
KAMGA TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KAMINDOS LOGISTIC LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KAMINSKI, WILLIAM                    ADDRESS ON FILE
KAMINSKY, WARREN                     ADDRESS ON FILE
KAMION SCM INC                       20715 N PIMA ROAD SUITE 108 SCOTTSDALE AZ 85255
KAMMERMEYER, ANDREW                  ADDRESS ON FILE
KAMO INC                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KAMP, DEBRA S                        ADDRESS ON FILE
KAMP, DEBRA S                        ADDRESS ON FILE
KAMPMAN, PATRICK                     ADDRESS ON FILE
KAMS TRUCKING INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
KAMSTRA, RAYMOND                     ADDRESS ON FILE
KAMUNA EXPRESS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KAMWAY EXPRESS LLC                   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
KAMYON CARRIERS LLC                  OR TRAVLYNN FINANCE LLC 1547 ESSARY ROAD LEXINGTON TN 38351
KAMZ LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KAMZY FREIGHT SERVICES LLC           5335 GARDEN TRAIL LN COLLIERVILLE TN 38017
KAN, TIMOTHY                         ADDRESS ON FILE
KAN-SEEK SERVICES                    PO BOX 916 MOUNT OLIVE NC 28365
KANAAN TRUCKING SERVICES LLC         OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
KANAGY, REBECCA                      ADDRESS ON FILE
KANAN TRUCKING LLC                   37 PARKVIEW TER BAYONNE NJ 07002-1708
KANDATH, SANJAYAN                    ADDRESS ON FILE
KANDICE BLODGETT                     ADDRESS ON FILE
KANDICE BLODGETT                     ADDRESS ON FILE
KANDOLA BROTHERS INC                 9700 BROOKS DRIVE MC CORDSVILLE IN 46055
KANDREGULA, AARATHI                  ADDRESS ON FILE
KANE, CHRISTOPHER                    ADDRESS ON FILE
KANE, DANIEL                         ADDRESS ON FILE
KANE, DARIUS                         ADDRESS ON FILE
KANE, DARIUS                         ADDRESS ON FILE
KANE, GARY G                         ADDRESS ON FILE
KANE, JAMES                          ADDRESS ON FILE
KANE, MICHAEL                        ADDRESS ON FILE
KANE, MICHELLE                       ADDRESS ON FILE
KANE, PATRICK                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1019 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1028 of 2156

Claim Name                              Address Information
KANE, RICHARD                          ADDRESS ON FILE
KANE, ROBERT                           ADDRESS ON FILE
KANE, SARAH                            ADDRESS ON FILE
KANEBRIDGE CORPORATION                 SANDRA HARLOS, 153 BAUER DR OAKLAND NJ 07436
KANETA, MICHAEL                        ADDRESS ON FILE
KANG BROS LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KANG BROS LOGISTICS LLC                1114 SAM RIDER WAY YUBA CITY CA 95991-6727
KANG BROS TRANSPORT INC                5034 W RIALTO CT VISALIA CA 93277
KANG FARMS & TRUCKING INC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KANG TRANSPORT INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KANG TRUCKING INCORPORATED             28 JEFFREY LANE EAST WINDSOR NJ 08520
KANG, DEREK                            ADDRESS ON FILE
KANGAROO LOGISTICS                     OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
KANGAS, ARLIE                          ADDRESS ON FILE
KANGAS, GREGORY                        ADDRESS ON FILE
KANIA, FRANK                           ADDRESS ON FILE
KANIHO, JOSHUA                         ADDRESS ON FILE
KANNADAN, AJESH                        ADDRESS ON FILE
KANNEGANTI, AKHIL                      ADDRESS ON FILE
KANNON ELECTRICAL SERVICES LLC         PO BOX 60490 EWA BEACH HI 96706
KANONE LLC                             OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
KANSAS ASPHALT INC                     7000 W 206TH STREET BUCYRUS KS 66013
KANSAS CHAMBER OF COMMERCE AND INDUSTRY WORKERS COMPENSATION CORPORATION 835 SW TOPEKA BLVD TOPEKA KS 66612
KANSAS CITY BD OF PUBLIC UTIL          540 MINNESOTA AVE KANSAS CITY KS 66101
KANSAS CITY FREIGHTLINER SALES, INC.   PO BOX 418050 KANSAS CITY MO 64141
KANSAS CITY INSTALLERS                 ATTN: DENNIS 3117 HOLMES ST KANSAS CITY MO 64109
KANSAS CITY INTERMODAL LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KANSAS CITY METROPOLITAN CRIME COMM    ATTN: BARRY MAYER, 3100 BROADWAY BLVD STE 1234 KANSAS CITY MO 64111
KANSAS CITY SMARTPORT                  ATTN CHRIS GUTIERREZ, 30 W PERSHING ROAD SUITE 200 KANSAS CITY MO 64108
KANSAS CITY SOUTHERN                   36454 TREASURY CENTER CHICAGO IL 60694
KANSAS CORPORATION COMMISSION          TRANSPORTATION DIVISION, 1500 S W ARROWHEAD ROAD TOPEKA KS 66604
KANSAS DEPARTMENT OF REVENUE           120 SE 10TH AVE TOPEKA KS 66625
KANSAS DEPARTMENT OF REVENUE           RECORDS PROCESSING WITHHOLDING, TAX STATE OFFICE BLDG TOPEKA KS 66625
KANSAS DEPARTMENT OF REVENUE           SALES TAX, 915 SW HARRISON TOPEKA KS 66625-5000
KANSAS DEPT OF REVENUE                 PO BOX 12003 TOPEKA KS 66601
KANSAS DEPT OF REVENUE                 STATE OFFICE BLDG PO BOX 750680 TOPEKA KS 66625
KANSAS DEPT OF REVENUE                 SALES AND EXCISE TAX TOPEKA KS 66625
KANSAS DEPT OF REVENUE - SALES & USE   915 SW HARRISON ST TOPEKA KS 66625
TAX
KANSAS DEPT OF REVENUE - WITHHOLDING   TAX STATE OFFICE BLDG, RECORDS PROCESSING WITHHOLDING PO BOX 3506 TOPEKA KS
TAX                                    66625
KANSAS FIRE & SAFETY EQUIPMENT INC     PO BOX 8004 TOPEKA KS 66608
KANSAS GAS SERVICE                     7421 W. 129TH STREET OVERLAND PARK KS 66213
KANSAS INSURANCE DEPARTMENT            1300 SW ARROWHEAD, ATTN: COMPTROLLER DIVISION TOPEKA KS 66604
KANSAS MOTOR CARRIERS ASSN INC         PO BOX 1673 TOPEKA KS 66601
KANSAS OFFICE OF THE STATE             KANSAS STATE TREASURER, UNCLAIMED PROPERTY DIVISION, HOLDER SERVICES 900 SW
                                       JACKSON STE 201 TOPEKA KS 66612
KANSAS SECRETARY OF STATE              MEMORIAL HALL 1ST FLOOR, 120 SW 10TH AVE TOPEKA KS 66612
KANT LOSE LOGISTICS LLC                OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
KANTE, IBRAHIM                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                 Page 1020 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1029 of 2156

Claim Name                           Address Information
KANTO CORP                           13424 N WOODRUSH WAY PORTLAND OR 97203
KANYER, GUADALUPE                    ADDRESS ON FILE
KANYER-VOTAW, KRISTEN                ADDRESS ON FILE
KAO EXPRESS LOGISTICS LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KAOE TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KAOS LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KAP LOGISTICS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KAPANO, NICHOLAS                     ADDRESS ON FILE
KAPEL & ASSOCIATES INC               60 PAVANE LINKWAY STE 1112 NORTH YORK ON M3C 1A2 CANADA
KAPELA, LAURA                        ADDRESS ON FILE
KAPELL, EDWARD                       ADDRESS ON FILE
KAPELO LLC                           OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
KAPFENSTEIN, JESSE                   ADDRESS ON FILE
KAPIL TRANSPORT LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KAPISH TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KAPITULA, ALEKSANDER                 ADDRESS ON FILE
KAPLAN, ADAM                         ADDRESS ON FILE
KAPLAN, ALLAN                        ADDRESS ON FILE
KAPLAN, MARK                         ADDRESS ON FILE
KAPLAN, MATTHEW                      ADDRESS ON FILE
KAPLANOV, GEORGI                     ADDRESS ON FILE
KAPLINGER, GREGORY                   ADDRESS ON FILE
KAPLINSKI, KEVIN                     ADDRESS ON FILE
KAPLLANI LLC                         200 GOVERNORS DR APT 30 WINTHROP MA 02152
KAPP, ROBERT                         ADDRESS ON FILE
KAPPA TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KAPPEL, AMY                          ADDRESS ON FILE
KAPPELMAN, REED                      ADDRESS ON FILE
KAPPER, ZACHARY                      ADDRESS ON FILE
KAPRYKORN TRANSPORT LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KAPTAN LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KAPUA, CHASITY                       ADDRESS ON FILE
KAR TRUCKING, LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KARA D FREEMAN                       ADDRESS ON FILE
KARA KUM CARRIER INC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
KARA L KENNEDY                       ADDRESS ON FILE
KARA, KEVIN                          ADDRESS ON FILE
KARAGAT INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KARAJ CARRIERS INC                   OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
KARAKATSANIS, BENEDETTA E            ADDRESS ON FILE
KARALAN TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KARAM, ANDREW                        ADDRESS ON FILE
KARAN 007 TRANSPORT INC              94 VALLEY CREEK DR BRAMPTON ON L6P 2C8 CANADA
KARAN TRANSPORT INC                  3 RIBBON DR BRAMPTON ON L6R 1X3 CANADA
KARAN, DIYA                          ADDRESS ON FILE
KARANICOLA, NICK                     ADDRESS ON FILE
KARAPETYAN FAMILY TRANS INC          OR CAPITALITY MANAGEMENT 3651 LINDELL RD STE D1195 LAS VEGAS NV 89103
KARASKIEWICZ, MICHAEL                ADDRESS ON FILE
KARAVAN LINE INC.                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                               Page 1021 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1030 of 2156

Claim Name                           Address Information
KARAVAN LINE INC.                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
KARAVAN, JOSEPH                      ADDRESS ON FILE
KARBAN, JOHN                         ADDRESS ON FILE
KARBOWSKI, ROBERT                    ADDRESS ON FILE
KARBOWSKI, VICTOR                    ADDRESS ON FILE
KARDAN TRUCKING, INC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KARDIL TRUCKING INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KAREEM BARKHADLE                     ADDRESS ON FILE
KAREEM TEAM CO                       4620 E 53RD ST STE 200 DAVENPORT IA 52807
KARELL R CARTER                      ADDRESS ON FILE
KAREN D KENT                         ADDRESS ON FILE
KAREN KASE                           ADDRESS ON FILE
KAREN KISOR                          ADDRESS ON FILE
KAREN MOLONEY                        ADDRESS ON FILE
KAREN WILLIAMS                       ADDRESS ON FILE
KAREN YACKANICZ                      ADDRESS ON FILE
KAREY CARGO SYSTEMS INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KARGOMITTEN INC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
KARI FLORES                          ADDRESS ON FILE
KARI FLORES                          ADDRESS ON FILE
KARIM II, SHARRIEFF                  ADDRESS ON FILE
KARIM II, SHARRIEFF A                ADDRESS ON FILE
KARIM LI, SHARRIEFF                  ADDRESS ON FILE
KARIM TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KARIM, SHARRIEFF                     ADDRESS ON FILE
KARINA/ ELIZABETH PETTENGER          49B S KLEPALDO RD LAKE ARIEL PA 18436
KARINE GUAY                          ADDRESS ON FILE
KARINS, JONATHAN S                   ADDRESS ON FILE
KARIUS, BRYAN                        ADDRESS ON FILE
KARL A MENDENHALL                    ADDRESS ON FILE
KARL BUSINESS MACHINES               ATTN: RICK DUTCZAK 2562 NOTTINGHAM WAY HAMILTON NJ 08619
KARL VIEMEISTER                      ADDRESS ON FILE
KARL W PETREY                        ADDRESS ON FILE
KARLOWSKI, PAULA                     ADDRESS ON FILE
KARLS SONS EXPRESS INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KARLS TRANSPORT, INC.                PO BOX 333 ANTIGO WI 54409
KARLSON, JARED                       ADDRESS ON FILE
KARLSON, LENNY                       ADDRESS ON FILE
KARLUK, CHRISTINE                    ADDRESS ON FILE
KARMA TRANSPORT LLC                  OR OPENROAD FINANCIAL SERVICES INC PO BOX 484 DALLAS OR 97338
KARMA TRUCKING LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KARMUE, EMMANUEL                     ADDRESS ON FILE
KARNER, CAROL J                      ADDRESS ON FILE
KARNEY TRANSPORT LLC                 OR OTR CAPITAL LLC PO BOX 1175760 ATLANTA GA 30368-7576
KARNOWSKI, JOSEPH                    ADDRESS ON FILE
KARON R WHITE                        ADDRESS ON FILE
KARONJO, BONFACE                     ADDRESS ON FILE
KARR, CHRISTOPHER                    ADDRESS ON FILE
KARR, GARY                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1022 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1031 of 2156

Claim Name                           Address Information
KARR, JON                            ADDRESS ON FILE
KARR, SABRINA                        ADDRESS ON FILE
KARRAKER, MICHAEL                    ADDRESS ON FILE
KARREN TRUCKING LLC                  PO BOX 904 MOUNTAIN HOME ID 83647
KARRIEM, WILLIAM                     ADDRESS ON FILE
KARS TRANSPORT                       OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
KARS TRANSPORT                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KARSTEN, BRAD                        ADDRESS ON FILE
KARTAR SONS TRANSPORT LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KARTCHNER, JOSEPH                    ADDRESS ON FILE
KARWACKI, KRISTINE                   ADDRESS ON FILE
KARWAN EXPRESS LLC                   OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
KARY ENVIRONMENTAL SERVICES, INC.    641 S DREW ST MESA AZ 85210
KASAK WORLD LOGISTICS INC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
KASAK, TERESA                        ADDRESS ON FILE
KASAL, KENNETH                       ADDRESS ON FILE
KASARCIK, JEFFREY                    ADDRESS ON FILE
KASAS LOGISTICS LLC                  OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
KASAT TRUCKING AND TRANSPORTATION    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KASCO HVAC/R INC.                    P.O. BOX 461387 AURORA CO 80046
KASCO HVAC/R INC.                    18596 LONGS WAY B19 PARKER CO 80134
KASE TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KASH LOGISTICS LLC                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 63187
KASHI TRANSPORT CORP                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KASHMIR TRANSPORT                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KASINENI, GOWTHAMI                   ADDRESS ON FILE
KASINGER, JOSHUA                     ADDRESS ON FILE
KASONGO TRUCKING LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KASOWITZ BENSON TORRES LLP           1633 BROADWAY NEW YORK NY 10019
KASPAR, MICHAEL                      ADDRESS ON FILE
KASPER EXPRESS INC                   12820 W PHEASANT CT HOMER GLEN IL 60491
KASPER, DALE                         ADDRESS ON FILE
KASPER, DONNA                        ADDRESS ON FILE
KASPER, JAMES                        ADDRESS ON FILE
KASPER, RYAN                         ADDRESS ON FILE
KASPRZAK, JOHN                       ADDRESS ON FILE
KASPRZYK, EDWARD                     ADDRESS ON FILE
KASS FREIGHT LINES, INC.             2 EAST BUTLER DR STE 5 DRUMS PA 18222
KASS LOGISTICS LLC                   OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
KASSAM, HALWAN                       ADDRESS ON FILE
KASSIRI TRANSPORTATION LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KASSNER, ERIN                        ADDRESS ON FILE
KASSNER, MURRAY                      ADDRESS ON FILE
KAST, GEORGE                         ADDRESS ON FILE
KASTA TRANSPORTATION INC             OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
KASTEN, KENNETH                      ADDRESS ON FILE
KASTEN, RAYMOND                      ADDRESS ON FILE
KASTENS, JOY                         ADDRESS ON FILE
KASTING, NEAL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1023 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1032 of 2156

Claim Name                           Address Information
KASTLE WEST DISTRIBUTING, INC.       1688 S 2700 W ABERDEEN ID 83210
KASTNING, SCOTT                      ADDRESS ON FILE
KASTROLL, HOWARD                     ADDRESS ON FILE
KASTUKEVICH, GREGORY                 ADDRESS ON FILE
KASUNIC, GEORGE                      ADDRESS ON FILE
KASZUBA, THOMAS                      ADDRESS ON FILE
KAT PRODUCTS LLC                     OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
KAT TRUCKING INC                     385 COLONIAL DRIVE WEST GRAND ISLAND NY 14072
KATAMAR LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KATANICH, SAMUEL                     ADDRESS ON FILE
KATARKOV, ALEX                       ADDRESS ON FILE
KATAVITCH, WILLIAM                   ADDRESS ON FILE
KATELYN M PETERSON                   ADDRESS ON FILE
KATH TRANSPORTATION LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KATHLEEN COOPER                      ADDRESS ON FILE
KATHRYN C GRAY                       ADDRESS ON FILE
KATHY HOWELL                         ADDRESS ON FILE
KATHY L MASLIN                       ADDRESS ON FILE
KATHY LOMBARDO                       ADDRESS ON FILE
KATHY THOMAS LOGISTICS TRANSP LLC    OR APEX CAPITAL CORP PO BOX 961029 FT WORTH TX 76161-1029
KATIC, JOHN                          ADDRESS ON FILE
KATKIY TRUCKING LLC                  OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
KATMANN GROUP LLC                    OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
KATO, JONATHAN                       ADDRESS ON FILE
KATOSANG, SCOTT                      ADDRESS ON FILE
KATRINA M TILLMAN                    ADDRESS ON FILE
KATT, BRADLEY                        ADDRESS ON FILE
KATY LOGISTIC GROUP INC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KATY TRANS INC                       8839 ARCADIA AVE SAN GABRIEL CA 91775
KATZ DELIVERY SERVICE LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KATZ, MATTHEW                        ADDRESS ON FILE
KATZ, RICHARD                        ADDRESS ON FILE
KAUFF, JOHN E                        ADDRESS ON FILE
KAUFFMAN, RICK                       ADDRESS ON FILE
KAUFFMANS TRANSPORT LLC              KAUFFMANS TRANSPORT LLC, 6371 GA HWY57 EAST WRIGHTSVILLE GA 30196
KAUFFS OF FT PIERCE INC              D/B/A: KAUFFS TRANSPORTATION SYSTEMS P.O. BOX 628703 ORLANDO FL 32862
KAUFFS OF MIAMI, INC.                GUARDIAN FLEET SERVICES INC, P.O. BOX 628703 ORLANDO FL 32862
KAUFFS OF MIAMI, INC.                2435 ALI BABA AVE OPA LOCKA FL 33054
KAUFFS OF PALM BEACH, INC.           P.O. BOX 628703 ORLANDO FL 32862
KAUFFS OF PALM BEACH, INC.           4701 EAST AVENUE WEST PALM BEACH FL 33407
KAUFFS OF PALM BEACH, INC.           KAUFFS TRANSPORTATION SYSTEMS, 4701 EAST AVENUE WEST PALM BEACH FL 33407
KAUFFS TRANSPORTATION SYSTEMS        P.O. BOX 628703 ORLANDO FL 32862
KAUFFS TRANSPORTATION SYSTEMS        KAUFFS TRANSPORTATION SYSTEMS, 8920 NW GLADES CUTOFF RD PORT ST. LUCIE FL
                                     34986
KAUFMAN & SON TRUCKING LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KAUFMAN JR., DENNIS                  ADDRESS ON FILE
KAUFMAN, KENNETH                     ADDRESS ON FILE
KAUFMAN, RHONDA                      ADDRESS ON FILE
KAUFMAN, ROGER                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1024 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1033 of 2156

Claim Name                           Address Information
KAUFMAN, TIMOTHY                     ADDRESS ON FILE
KAUFMANN, BRUCE                      ADDRESS ON FILE
KAUL, IBRAHIME                       ADDRESS ON FILE
KAULPUR EXPRESS INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KAUR LOGISTICS LLC                   OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
KAUR, HARWINDER                      ADDRESS ON FILE
KAUR, JASPREET                       ADDRESS ON FILE
KAUR, RAVNEET                        ADDRESS ON FILE
KAURA TRUCKING LTD                   8 JAYFIELD RD BRAMPTON ON L6S 3G6 CANADA
KAUS, RUSSELL                        ADDRESS ON FILE
KAUSHAL TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KAUSHAL, VARUN                       ADDRESS ON FILE
KAUTTER, TIMOTHY                     ADDRESS ON FILE
KAUTZ, CHARLES                       ADDRESS ON FILE
KAUTZ, DANIEL                        ADDRESS ON FILE
KAVA TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
KAVANAGH, MARCEAU                    ADDRESS ON FILE
KAVANAGH, RYAN                       ADDRESS ON FILE
KAVANAUGH, ALEC                      ADDRESS ON FILE
KAVKAZ EXPRESS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KAVSAR LLC                           9393 W 110TH ST SUITE 500 PMB 5178 OVERLAND PARK KS 66210
KAWAHARA, BRIAN                      ADDRESS ON FILE
KAWRAL FREIGHT SYSTEM LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KAWSKY, ARNOLD                       ADDRESS ON FILE
KAWTHOOLEI TRUCKING LLC              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
KAY B TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KAY LOGISTICS LLC                    1117 SPANISH DOVE DR LITTLE ELM TX 75068
KAY TRANS LLC                        OR MCDOWELL FACTOR & CAPITAL SVCS LLC PO BOX 161086 ALTAMONTE SPRINGS FL
                                     32716-1086
KAY TRANS LLC                        12701 PRAIRIE DR URBANDALE IA 50323
KAY, GARY                            ADDRESS ON FILE
KAY, HEATHER                         ADDRESS ON FILE
KAYAK EXPRESS                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KAYAK KATALOGUE CORPORATION          2000 COMMERCE PKWY LANCASTER NY 14086
KAYAK KTALOGUE CORP                  ATTN: CINDY OKNESKI 2000 COMMERCE PKWY LANCASTER NY 14086
KAYAK POOL CORP                      2000 COMMERCE PKWY LANCASTER NY 14086
KAYDEN TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
KAYE, ELIZABETH                      ADDRESS ON FILE
KAYEMBE, THIERRY                     ADDRESS ON FILE
KAYHAN TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KAYLAN C ALLEN                       ADDRESS ON FILE
KAYLEN LOGISITCS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KAYLOR OF COLORADO                   237 22ND ST GREELEY CO 80631
KAYLOR OF COLORADO WHSE              237 22ND ST GREELEY CO 80631
KAYROS CONTRACTING INC               OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
KAYS, JAMES                          ADDRESS ON FILE
KAYSEN, TYLER                        ADDRESS ON FILE
KAZ TRUCKING, LLC                    302 NORTH RD BROAD BROOK CT 06016



Epiq Corporate Restructuring, LLC                                                              Page 1025 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1034 of 2156

Claim Name                               Address Information
KAZANECKI, WILLIAM                       ADDRESS ON FILE
KAZIBA, RICHARD                          ADDRESS ON FILE
KAZIBA, RICHARD                          ADDRESS ON FILE
KAZUMURA, HENRY                          ADDRESS ON FILE
KAZYAK, AMY                              ADDRESS ON FILE
KB BROTHERS TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KB CARRIERS LLC                          OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
KB ELECTRIC LLC                          114 GRIGSBY DR BOSSIER CITY LA 71112
KB EXPEDITING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KB FREIGHT LLC                           P O BOX 272 HOPELAND PA 17533
KB TRANSPORT                             OR APEX CPAITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KB TRANSPORT LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KB TRUCK REPAIR, INC.                    2358 HWY 111 PONTOON BEACH IL 62040
KB TRUCKING LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KB XPRESS CORP                           14 E 5TH STREET PATERSON NJ 07524
KBA TRANSPORT LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KBB LOGISTICS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KBB LOGIX INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KBB TRANSPORTATION LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KBB TRUCKING INC                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
KBC SAFE TRANSPORT CORP.                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
KBD TRANSPORTATION                       PO BOX 1310 IROQUOIS ON K0E 1K0 CANADA
KBG COMMERCIAL INC.                      ATTN: JON CRUZ 50 INEZ DRIVE BAY SHORE NY 11706-2204
KBG LOGISTICS                            50 INEZ DR BAY SHORE NY 11706
KBHL CARRIERS LLC                        OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
KBINNS COMMUNICATIONS INC                12 PHILLIPS RD POQUOSON VA 23662
KBK TRUCKING INC                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KBL TRUCKING LLC                         OR YANKTON FACTORING INC, PO BOX 217 YANKTON SD 57078
KBS TRANSPORT INC                        OR GENERAL BUSINESS CREDIT 110 E 9TH ST SUITE C-900 LOS ANGELES CA 90079
KC CARRIERS INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KC DISTRIBUTION                          ATTN: CHRIS KING 7400 E 12TH ST UNIT 4 KANSAS CITY MO 64126
KC FREIGHT TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KC GLOBAL TRUCKING                       PO BOX 24366 HOUSTON TX 77229
KC GOOSE CONTROL LLC                     3550 W. 191ST STREET STILWELL KS 66085
KC KRICHBAUM                             ADDRESS ON FILE
KC LOGISTICS                             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KC SNOW TRANSPORTATION LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
KC TRANSPORT                             3361 DAVIDSON RD LAPEER 48446
KC TRANSPORT LLC                         40513 W CRANE DR MARICOPA AZ 85138
KC TRANSPORTATION SERVICE INCORPORATED   OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
KC WATER                                 4800 EAST 63RD STREET KANSAS CITY MO 64130
KC, SAMRAT                               ADDRESS ON FILE
KCA TRUCKING CO.                         773 OLLER STREET STE A MENDOTA CA 93640-2377
KCC LOGISTICS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KCD                                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KCD ENTERPRISES LLC                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
KCE ENTERPRISES LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KCI CORP.                                475 GEORGE WASHINGTON HWY SMITHFIELD RI 02917
KCJ LOGISTICS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                   Page 1026 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1035 of 2156

Claim Name                             Address Information
KCL TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KCP&L                                  1200 MAIN ST KANSAS CITY MO 64105
KCPK TRUCKING, INC.                    PO BOX 57 DEMING WA 98244-0057
KCS CARGO ON THE GO LLC                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
KCS TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KD CHICAGO LLC                         OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
KD ELECTRIC                            PO BOX 34373 RENO NV 89533
KD ELITE TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KD EXPRESS TRANSPORT LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KD FLEET SERVICES LLC                  10929 BRISTERSBURG RD CATLETT VA 20119
KD TRANSPORT LLC                       OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
KDA LOGISTIC INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KDA LOGISTIC INC                       OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
KDB TRUCKING LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KDC INC                                4462 CORPORATE CENTER DR LOS ALAMITOS CA 90720
KDK LOGISTICS LLC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
KDK TRANSPORTATION INC                 OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
KDK TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KDL FREIGHT MANAGEMENT                 ATTN: VICKIE HARTY PO BOX 752 CARNEGIE PA 15106
KDL FREIGHT MANAGEMENT                 PO BOX 752 CARNEGIE PA 15106
KDM SPECIALIZED TRANSPORT              10101 NORTH GRAY ROAD INDIANAPOLIS IN 46280
KDS TRANSPORTATION INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KE INTERSTATE TRANSPORT, LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KE LOVE FREIGHT LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
KEALEY, RICK                           ADDRESS ON FILE
KEANE FIRE & SAFETY                    1500 MAIN ST WALTHAM MA 02451
KEANE THUMMEL TRUCKING, INC.           PO BOX 33 NEW MARKET IA 51646
KEANE, CYNTHIA                         ADDRESS ON FILE
KEANE, WHITLEY                         ADDRESS ON FILE
KEARNEY TOWING & REPAIR CENTER, INC.   1303 E 22ND ST KEARNEY NE 68847
KEARNEY VOLUNTEER FIRE DEPT            2211 A AVE KEARNEY NE 68847
KEARNEY, ADAM                          ADDRESS ON FILE
KEARNEY, ANDREW                        ADDRESS ON FILE
KEARNEY, JEREMY                        ADDRESS ON FILE
KEARNEY, MICHAEL                       ADDRESS ON FILE
KEARNEY, RICHARD                       ADDRESS ON FILE
KEARNEY, VICTORIA                      ADDRESS ON FILE
KEARNS, ANDRE                          ADDRESS ON FILE
KEARNS, DARRELL                        ADDRESS ON FILE
KEARNS, JAMES                          ADDRESS ON FILE
KEARNS, LORI                           ADDRESS ON FILE
KEARNY MUNICIPAL UTILITIES             39 CENTRAL AVENUE KEARNY NJ 07032
KEARNY MUNICIPAL UTILITIES AUTHORITY   UTILITIES AUTHORITY, 39 CENTRAL AVE KEARNY NJ 07032
KEARNY WATER DEPT                      570 ELM ST KEARNY NJ 07032
KEARSE, ROMANDEL                       ADDRESS ON FILE
KEARSE, TERRY                          ADDRESS ON FILE
KEAST, PENNY                           ADDRESS ON FILE
KEATING, JAMES                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1027 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1036 of 2156

Claim Name                            Address Information
KEATING, LARRY                        ADDRESS ON FILE
KEATINGS, CRAIG                       ADDRESS ON FILE
KEATON TRANSPORTATION LLC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
KEATON, DAVID                         ADDRESS ON FILE
KEATON, PAUL                          ADDRESS ON FILE
KEATON, SAMUEL                        ADDRESS ON FILE
KEAWE I STRICKLAND                    ADDRESS ON FILE
KEB, CYNTHIA                          ADDRESS ON FILE
KEBRON EXPRESS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KEBRON TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KECK HEATING & AIR CONDITIONING INC   431 STATE ST QUINCY IL 62301
KECK, ALAN                            ADDRESS ON FILE
KECK, DAVE                            ADDRESS ON FILE
KECK, DONALD                          ADDRESS ON FILE
KECK, EDWIN                           ADDRESS ON FILE
KECK, JOEL                            ADDRESS ON FILE
KECKLER, ANTHONY                      ADDRESS ON FILE
KECKS REPAIR                          7123 SW 82ND AVE OWATONNA MN 55060
KED TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KEDANIS, KENNY                        ADDRESS ON FILE
KEE SAFETY                            ATTN: AMANDA DUNNING 100 STRADTMAN ST STE 8 BUFFALO NY 14206
KEECH, BLAKE                          ADDRESS ON FILE
KEECO                                 1420 N. TAMARIND AVE. RIALTO CA 92376
KEEF, ROGER                           ADDRESS ON FILE
KEEFE SUPPLY CO                       12000 E 45TH AVE STE 100 DENVER CO 80239
KEEFE, GREGORY                        ADDRESS ON FILE
KEEFE, JOHN                           ADDRESS ON FILE
KEEFE, MICHAEL                        ADDRESS ON FILE
KEEFER, BRIAN                         ADDRESS ON FILE
KEEFER, MICHAEL                       ADDRESS ON FILE
KEEFER, WILLIAM                       ADDRESS ON FILE
KEEFFE, JASON                         ADDRESS ON FILE
KEEGAN, JOHN                          ADDRESS ON FILE
KEEHN TRUCKING L.L.C.                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KEEL, GEORGE                          ADDRESS ON FILE
KEEL, LARRY                           ADDRESS ON FILE
KEELE, KERRIGAN                       ADDRESS ON FILE
KEELER, CHRISTOPHER                   ADDRESS ON FILE
KEELER, THOMAS                        ADDRESS ON FILE
KEELER, WILLIAM                       ADDRESS ON FILE
KEELING, AARON                        ADDRESS ON FILE
KEELING, MARK                         ADDRESS ON FILE
KEELING, WILLIAM                      ADDRESS ON FILE
KEELS, RAMONE                         ADDRESS ON FILE
KEELY, ANTHONY                        ADDRESS ON FILE
KEELY, ANTHONY J                      ADDRESS ON FILE
KEEN CARGO EXPEDITE INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KEEN CARGO INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KEEN COMPRESSED GAS CO.               PO BOX 15151 WILMINGTON DE 19850



Epiq Corporate Restructuring, LLC                                                             Page 1028 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1037 of 2156

Claim Name                               Address Information
KEEN TRANSPORT & LOGISTICS INC           180 RYAN STREET WINNIPEG MB R2R 0P1 CANADA
KEEN, DANNIE                             ADDRESS ON FILE
KEEN, DUANE                              ADDRESS ON FILE
KEEN, JULIE                              ADDRESS ON FILE
KEENAN LAW & CONSULTING                  6465 N QUAIL HOLLOW SUITE 200 MEMPHIS TN 38120
KEENAN, GEORGE                           ADDRESS ON FILE
KEENE, BRANDON                           ADDRESS ON FILE
KEENE, FRANK E                           ADDRESS ON FILE
KEENE, HARRIET                           ADDRESS ON FILE
KEENE, JAMES                             ADDRESS ON FILE
KEENE, MICHAEL                           ADDRESS ON FILE
KEENE, NICHOLAS                          ADDRESS ON FILE
KEENEY, ADAM                             ADDRESS ON FILE
KEENEY, ILYANA                           ADDRESS ON FILE
KEENEYE TRUCKING INC                     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
KEEP IT MOVING TRANSPORT LLC             OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
KEEP IT MOVING TRANSPORT LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
(MC1387927)
KEEP IT MOVING TRUCKING                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEEP IT PUSHING TRUCKING LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
KEEP IT PUSHING TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEEP IT TRELL BOX TRUCK LLC              OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
KEEP MOVING FREIGHT LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
KEEP ON TRUCKIN                          1520 44TH AVE DES MOINES IA 50313
KEEP ON TRUCKIN                          1520 NE 44TH AVE DES MOINES IA 50313
KEEP ON TRUCKIN TRANSPORTATION LLC       10 MAYFIELD COURT HIRAM GA 30141
KEEP ON TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KEEP ON TRUCKING LLC (MC1374146)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KEEP TRUCKING LLC (MC772268)             OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
KEEP TRUCKING LLC (MC772268)             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLS TX 75284-0267
KEEP TRUCKING TRANSPORTATION LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KEEPING IT SIMPLE LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KEEPING UP WITH THE JONES TRUCKING LLC   OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
KEERY, SHAWN M                           ADDRESS ON FILE
KEESE, MICHAEL                           ADDRESS ON FILE
KEETER, ANDREW                           ADDRESS ON FILE
KEETON EXPRESS LLC                       OR TBS FACTORING, P.O. BOX 248920 OKLAHOMA CITY OK 73124
KEEVER, KEVIN                            ADDRESS ON FILE
KEEWATIN TRUCK SERVICE                   610 KEEWATIN ST WINNIPEG MB R2X 2R9 CANADA
KEFFER, BILLY                            ADDRESS ON FILE
KEGELER, RICHARD                         ADDRESS ON FILE
KEGGO DELIVERY INC                       888 BELFAST RD OTTAWA ON K1G 0Z6 CANADA
KEHE, AARON                              ADDRESS ON FILE
KEHL, KENNETH                            ADDRESS ON FILE
KEHRER, KENNETH                          ADDRESS ON FILE
KEHS, DOUGLAS                            ADDRESS ON FILE
KEIFER, JACOB                            ADDRESS ON FILE
KEIFMAN, WAYNE                           ADDRESS ON FILE
KEIGHTLEY, WILLIAM                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1029 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1038 of 2156

Claim Name                           Address Information
KEIGHTLEY, WILLIAM                   ADDRESS ON FILE
KEIL, DANIEL                         ADDRESS ON FILE
KEILA EXPRESS LLC                    OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
KEILHOLZ, JAMES G                    ADDRESS ON FILE
KEIM TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEIM, CHRISTOPHER                    ADDRESS ON FILE
KEIM, KEVIN                          ADDRESS ON FILE
KEISER, MATT                         ADDRESS ON FILE
KEITA, BASALIF M                     ADDRESS ON FILE
KEITH A BUTLER                       ADDRESS ON FILE
KEITH A HUGHES                       ADDRESS ON FILE
KEITH A LAWLESS COMPANIES, LLC.      OR VENTURE CAPITAL INC., P.O. BOX 274 DRAPER UT 84020-0274
KEITH ALAN WALKER                    ADDRESS ON FILE
KEITH E LIENHARD                     ADDRESS ON FILE
KEITH FUQUA                          ADDRESS ON FILE
KEITH HARPER TRUCKING LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KEITH JACKSON                        ADDRESS ON FILE
KEITH L CONRAD                       ADDRESS ON FILE
KEITH MCNEILL PLUMBING INC           3505 N MONROE STREET TALLAHASSEE FL 32303
KEITH R HEEREN                       ADDRESS ON FILE
KEITH R HORVATH                      ADDRESS ON FILE
KEITH SOYZA - BR                     ADDRESS ON FILE
KEITH TRANSFER LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KEITH WALKER                         ADDRESS ON FILE
KEITH, AUSTIN                        ADDRESS ON FILE
KEITH, CHRISTOPHER                   ADDRESS ON FILE
KEITH, JEFFREY                       ADDRESS ON FILE
KEITH, KEVIN                         ADDRESS ON FILE
KEITH, MICHAEL                       ADDRESS ON FILE
KEITH, ROBERT                        ADDRESS ON FILE
KEITH, ROBERT                        ADDRESS ON FILE
KEITH, STEPHEN                       ADDRESS ON FILE
KEITHS TOWING SERVICE                830 TWIN VIEW BLVD REDDING CA 96003
KEJARIWAL, VIKRAM                    ADDRESS ON FILE
KEJLAT, SAUL                         ADDRESS ON FILE
KEJU, WINGATE                        ADDRESS ON FILE
KEKA LOGISTICS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
KEKIMO TRANSPORT INC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
KEKO TRUCK INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KEL & JON TRUCKING LLC               30 PILOT STREET SUITE 6H BRONX NY 10464
KEL & NATE TRANSPORTATION LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KEL LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KELA TRANSPORT LLC                   PO BOX 270564 HARTFORD WI 53027
KELANI LOGISTICS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KELDAR LAWN & GARDEN                 132 CENTER RD PENNELLVILLE NY 13132
KELE R BEDELL                        ADDRESS ON FILE
KELEMEN, JOSEPH                      ADDRESS ON FILE
KELEMEN, JOSEPH G                    ADDRESS ON FILE
KELIN SERVICES LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633



Epiq Corporate Restructuring, LLC                                                               Page 1030 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1039 of 2156

Claim Name                           Address Information
KELL, DUSTIN                         ADDRESS ON FILE
KELL, DUSTIN                         ADDRESS ON FILE
KELLAR, DAVID                        ADDRESS ON FILE
KELLEHER, CODY                       ADDRESS ON FILE
KELLEHER, TIMOTHY                    ADDRESS ON FILE
KELLENBERGER, JOHN                   ADDRESS ON FILE
KELLENBERGER, LUCAS                  ADDRESS ON FILE
KELLER FIRE & SAFETY, INC.           1138 KANSAS AVE KANSAS CITY KS 66105
KELLER SUPPLY                        5600 SW 107TH AVE BEAVERTON OR 97005
KELLER SUPPLY 46                     16212 E MARIETTA LN SPOKANE VALLEY WA 99216
KELLER SUPPLY BRS2                   3330 LATHROP ST FAIRBANKS AK 99701
KELLER TRUCK LLC                     3743 E ADAMS AVE CUDAHY WI 53110
KELLER TRUCK LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KELLER TRUCK SERVICES INC            PO BOX 1396 SIKESTON MO 63801
KELLER, ANDREW                       ADDRESS ON FILE
KELLER, CHAD                         ADDRESS ON FILE
KELLER, CHRISTINE                    ADDRESS ON FILE
KELLER, DAVID                        ADDRESS ON FILE
KELLER, DAVID                        ADDRESS ON FILE
KELLER, DENNIS                       ADDRESS ON FILE
KELLER, ERIC W                       ADDRESS ON FILE
KELLER, JIM                          ADDRESS ON FILE
KELLER, JOHN                         ADDRESS ON FILE
KELLER, JOSEPH                       ADDRESS ON FILE
KELLER, JOSEPH W                     ADDRESS ON FILE
KELLER, JOSHUA                       ADDRESS ON FILE
KELLER, KANDACE                      ADDRESS ON FILE
KELLER, KARRY                        ADDRESS ON FILE
KELLER, MICHAEL                      ADDRESS ON FILE
KELLER, RCHIAD                       ADDRESS ON FILE
KELLER, ROBERT                       ADDRESS ON FILE
KELLER, SARAH                        ADDRESS ON FILE
KELLER, SHERYL                       ADDRESS ON FILE
KELLER, THOMAS                       ADDRESS ON FILE
KELLER, TIFFANY                      ADDRESS ON FILE
KELLERMAN WOODWORKS,LLC              1820 WOODDALE COURT BATON ROUGE LA 70806
KELLERMAN, WILLIAM F                 ADDRESS ON FILE
KELLERMANN, KATHRYN L                ADDRESS ON FILE
KELLEY CONNECT                       3521 AVION DR. MEDFORD OR 97504
KELLEY M WHITE                       ADDRESS ON FILE
KELLEY TRANSPORTATION LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KELLEY TRANSPORTATION LLC            OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
KELLEY WILLIAMSON COMPANY            1132 HARRISON AVE ROCKFORD IL 61104
KELLEY, ANTONIO                      ADDRESS ON FILE
KELLEY, BRADLEY                      ADDRESS ON FILE
KELLEY, DAVID                        ADDRESS ON FILE
KELLEY, DAVID L                      ADDRESS ON FILE
KELLEY, ED                           ADDRESS ON FILE
KELLEY, EDWARD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1031 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1040 of 2156

Claim Name                           Address Information
KELLEY, HERSCHEL                     ADDRESS ON FILE
KELLEY, J                            ADDRESS ON FILE
KELLEY, JACK                         ADDRESS ON FILE
KELLEY, JOHN                         ADDRESS ON FILE
KELLEY, KATHRYN                      ADDRESS ON FILE
KELLEY, MICHAEL                      ADDRESS ON FILE
KELLEY, RICK                         ADDRESS ON FILE
KELLEY, ROBERT                       ADDRESS ON FILE
KELLEY, RONALD                       ADDRESS ON FILE
KELLEY, SAM                          ADDRESS ON FILE
KELLEY, TIMOTHY                      ADDRESS ON FILE
KELLIE TRANSPORT INCORPORATED        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KELLIHER, HOWARD                     ADDRESS ON FILE
KELLISON, DONALD                     ADDRESS ON FILE
KELLMANN, MICHAEL                    ADDRESS ON FILE
KELLNER, JAMES                       ADDRESS ON FILE
KELLOG, DAVID                        ADDRESS ON FILE
KELLOGG, DAVID J                     ADDRESS ON FILE
KELLOGG, HALEY                       ADDRESS ON FILE
KELLOGG, MARK                        ADDRESS ON FILE
KELLOGG, MESHACH                     ADDRESS ON FILE
KELLOGGS SERVICE                     15315 N NEWPORT HIGHWAY MEAD WA 99021
KELLS, CHARLES                       ADDRESS ON FILE
KELLUM, JASON                        ADDRESS ON FILE
KELLUM, MIKE                         ADDRESS ON FILE
KELLY ANDERTON                       ADDRESS ON FILE
KELLY ANSELME                        ADDRESS ON FILE
KELLY CURTIS                         ADDRESS ON FILE
KELLY IVERSON TRUCKING, INC.         W26941 HUNT LN ELEVA WI 54738
KELLY PAPER COMPANY                  NATIONAL TRAFFIC SERVICE, 151 JOHN JAMES AUDUBON PKWY AMHERST NY 14228
KELLY RYAN EQUIPMENT                 ATTN: DALLAS FLYNN 900 KELLY RYAN DR BLAIR NE 68008
KELLY SPARKS                         ADDRESS ON FILE
KELLY SPICERS                        ATTN: ROSE GOMEZ 47422 KATO RD FREMONT CA 94538
KELLY SYSTEMS, INC.                  422 N WESTERN AVE CHICAGO IL 60612
KELLY T JONES                        ADDRESS ON FILE
KELLY T JONES                        ADDRESS ON FILE
KELLY TRUCKING EXPRESS LLC           3307 MANZANILLA FORNEY TX 75126
KELLY TRUCKING EXPRESS LLC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KELLY, ANTHONY                       ADDRESS ON FILE
KELLY, BRIAN                         ADDRESS ON FILE
KELLY, BRYANT                        ADDRESS ON FILE
KELLY, CHRISTIAN                     ADDRESS ON FILE
KELLY, CHRISTOPHER                   ADDRESS ON FILE
KELLY, CODY                          ADDRESS ON FILE
KELLY, DONNIE                        ADDRESS ON FILE
KELLY, EDWARD                        ADDRESS ON FILE
KELLY, FRANK                         ADDRESS ON FILE
KELLY, FREDERICK                     ADDRESS ON FILE
KELLY, FRIZZELL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1032 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 1041 of 2156

Claim Name                         Address Information
KELLY, GARY                        ADDRESS ON FILE
KELLY, GUY                         ADDRESS ON FILE
KELLY, IRA                         ADDRESS ON FILE
KELLY, JAMES                       ADDRESS ON FILE
KELLY, JAMES                       ADDRESS ON FILE
KELLY, JAMMIE                      ADDRESS ON FILE
KELLY, JOHN                        ADDRESS ON FILE
KELLY, JOHNNY                      ADDRESS ON FILE
KELLY, JOHNNY                      ADDRESS ON FILE
KELLY, JOSEPH                      ADDRESS ON FILE
KELLY, JOSHUA                      ADDRESS ON FILE
KELLY, JUSTIN A                    ADDRESS ON FILE
KELLY, JUSTIN A                    ADDRESS ON FILE
KELLY, KAITLIN                     ADDRESS ON FILE
KELLY, KENNETH M                   ADDRESS ON FILE
KELLY, KEVIN                       ADDRESS ON FILE
KELLY, KEVIN                       ADDRESS ON FILE
KELLY, LEONARD                     ADDRESS ON FILE
KELLY, LISA                        ADDRESS ON FILE
KELLY, LOREAL                      ADDRESS ON FILE
KELLY, MARGARET                    ADDRESS ON FILE
KELLY, MICHAEL                     ADDRESS ON FILE
KELLY, NICHOLAS                    ADDRESS ON FILE
KELLY, RICARDO                     ADDRESS ON FILE
KELLY, RICHARD A                   ADDRESS ON FILE
KELLY, RONALD                      ADDRESS ON FILE
KELLY, SEAN                        ADDRESS ON FILE
KELLY, SEAN                        ADDRESS ON FILE
KELLY, THOMAS                      ADDRESS ON FILE
KELLY, THOMAS                      ADDRESS ON FILE
KELLY, TIMOTHY                     ADDRESS ON FILE
KELLY, TIMOTHY                     ADDRESS ON FILE
KELLY, TIMOTHY                     ADDRESS ON FILE
KELLY, TRENT                       ADDRESS ON FILE
KELLY, WILLIAM                     ADDRESS ON FILE
KELLYLYNN FAUGHT                   ADDRESS ON FILE
KELLYS AUTO REPAIR                 105 W GALLATIN ST VANDALIA IL 62471
KELLYS INC                         OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
KELLYS TRUCK AND TIRE REPAIR       102 W 7TH ST RUSSELL KS 67665
KELLYZZ TRUCKING SERVICES LLC      1823 MARCEAU DR CONLEY GA 30288-1968
KELLYZZ TRUCKING SERVICES LLC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KELM, BARBARA                      ADDRESS ON FILE
KELO, NICHOLAS                     ADDRESS ON FILE
KELRON TRUCKING                    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
KELSAN, INC.                       P. O. BOX 639235 CINCINNATI OH 45263
KELSAY, ANTHONY                    ADDRESS ON FILE
KELSH, BRETT                       ADDRESS ON FILE
KELSIE, ADAM                       ADDRESS ON FILE
KELSIE, ADAM                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1033 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1042 of 2156

Claim Name                            Address Information
KELSO, ADONIS                         ADDRESS ON FILE
KELSO, FRANK                          ADDRESS ON FILE
KELSO, JOHN                           ADDRESS ON FILE
KELSO, KELLY                          ADDRESS ON FILE
KELSO, KENDRA                         ADDRESS ON FILE
KELSO, MARK                           ADDRESS ON FILE
KELSO-BURNETT CO                      PO BOX 1125 BEDFORD PARK IL 60499
KELSON, MARTY                         ADDRESS ON FILE
KELTNER, CURTIS                       ADDRESS ON FILE
KELVA EXPRESS LLC                     OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
KELVIN D WILLIAMS                     ADDRESS ON FILE
KEM TRANSPORT INC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
KEM TRUCKING LLC                      3722 W CTY RD 1100 N FARMERSBURG IN 47850
KEMCO OF BURLINGTON                   428 AUTO PARK DRIVE GRAHAM NC 27253
KEMMANN, RICK                         ADDRESS ON FILE
KEMMERER MASONRY INC                  PO BOX 532 MOUNTAIN TOP PA 18707
KEMMERER, BRUCE                       ADDRESS ON FILE
KEMNA ENTERPRISES                     OR KEMNA FINANCIAL, PO BOX 942 JEFFERSON CITY MO 65102
KEMP, JAY                             ADDRESS ON FILE
KEMP, PATRICK                         ADDRESS ON FILE
KEMP, SHANNON                         ADDRESS ON FILE
KEMPER SYSTEMS                        1200 NORTH AMERICAN DR. WEST SENECA NY 14224
KEMPER, KELLY                         ADDRESS ON FILE
KEMPF, NICHOLE                        ADDRESS ON FILE
KEMPKES, TAMMY                        ADDRESS ON FILE
KEMPLIN, MARK                         ADDRESS ON FILE
KEMPS LOGISTICS & TRANSPORT LLC       OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
KEN CENTRAL TRANSPORTATION INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KEN CORE TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEN DEVRIES                           ADDRESS ON FILE
KEN GRAHAM TRUCKING, INC.             5018 W M-28 BRIMLEY MI 49715
KEN GRIFFIN                           ADDRESS ON FILE
KEN MACE                              ADDRESS ON FILE
KEN R KASTEN                          ADDRESS ON FILE
KEN RELL LLC                          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KEN TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEN TRUCKING                          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
KEN TRUCKING LLC                      168 CHESTNUT ST BOONTON NJ 07005
KENAER TRANSPORTATION SERVICES LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KENAGY, PAMELA                        ADDRESS ON FILE
KENAN ADVANTAGE GROUP, INC.           137 SOUTH OLIVE STREET NORTH CANTON OH 44720
KENAN EXPRESS INC                     OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
KENCO LOGISTICS SERVICES (INVACARE)   ATTN: GENERAL COUNSEL 2001 RIVERSIDE DRIVE CHATTANOOGA TN 37406
KENDALE TRUCKING LLC                  634 W EXCHANGE ST UNIT 22208 AKRON OH 44302-9509
KENDALL ELECTRIC                      15 COLWELL LN CONSHOHOCKEN PA 19428
KENDALL HUNT PUBLISHING               4050 WESTMARK DR DUBUQUE IA 52002
KENDALL SUPPLY                        388 RICHARDSON RD SW CALHOUN GA 30701
KENDALL, BOBBY                        ADDRESS ON FILE
KENDALL, DAREN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1034 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1043 of 2156

Claim Name                           Address Information
KENDALL, JEFF                        ADDRESS ON FILE
KENDALL, KEITH                       ADDRESS ON FILE
KENDALL, KELLY                       ADDRESS ON FILE
KENDALL, MEGHAN                      ADDRESS ON FILE
KENDALL, RAMELL                      ADDRESS ON FILE
KENDALL, ROBERT                      ADDRESS ON FILE
KENDALL, WILLIAM                     ADDRESS ON FILE
KENDALLS LAWN SERVICE                305 SYCAMORE GOODLAND KS 67735
KENDELL N SEATON                     ADDRESS ON FILE
KENDER, GREGORY                      ADDRESS ON FILE
KENDLE, BENJAMIN                     ADDRESS ON FILE
KENDRA GARLAND                       ADDRESS ON FILE
KENDRIC D COLLINS                    ADDRESS ON FILE
KENDRICK, DARREN                     ADDRESS ON FILE
KENDRICK, DAVID                      ADDRESS ON FILE
KENDRICK, FRANITA                    ADDRESS ON FILE
KENDRICK, FREDERICK                  ADDRESS ON FILE
KENDRICK, JAY                        ADDRESS ON FILE
KENDRICK, JUSTIN                     ADDRESS ON FILE
KENDRICK, MARQUIS                    ADDRESS ON FILE
KENDRICK, WALTER                     ADDRESS ON FILE
KENEMUTH, STEVEN                     ADDRESS ON FILE
KENENGUNIS, COSTADINOS               ADDRESS ON FILE
KENIMOND, RICHARD                    ADDRESS ON FILE
KENIN EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KENK, DARIO                          ADDRESS ON FILE
KENKAT LOGISTICS LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
KENLEY F FLEURIDOR                   ADDRESS ON FILE
KENMAR EXPRESS, INC.                 OR KMX LOGISTICS, PO BOX 12175 GREENVILLE SC 29612
KENN M L.L.C                         OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
KENNALLY, BERNIE                     ADDRESS ON FILE
KENNEBEC WATER DISTRICT              131 DRUMMOND AVE WATERVILLE ME 04901
KENNECOTT UTAH COPPER                4700 W DAYBREAK PKWY SOUTH JORDAN UT 84009
KENNEDY WELDING LLC                  PO BOX 196 MIAMITOWN OH 45041
KENNEDY, BRANDE                      ADDRESS ON FILE
KENNEDY, BRIAN                       ADDRESS ON FILE
KENNEDY, DANNY                       ADDRESS ON FILE
KENNEDY, DEANGELO                    ADDRESS ON FILE
KENNEDY, DERIC D                     ADDRESS ON FILE
KENNEDY, DYLAN                       ADDRESS ON FILE
KENNEDY, ERIC                        ADDRESS ON FILE
KENNEDY, ERIC                        ADDRESS ON FILE
KENNEDY, ERIC L                      ADDRESS ON FILE
KENNEDY, ERICA                       ADDRESS ON FILE
KENNEDY, HARLEY                      ADDRESS ON FILE
KENNEDY, JEFFREY                     ADDRESS ON FILE
KENNEDY, JEFFREY                     ADDRESS ON FILE
KENNEDY, JOHN                        ADDRESS ON FILE
KENNEDY, KELLIE J                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1035 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1044 of 2156

Claim Name                             Address Information
KENNEDY, LARRY                         ADDRESS ON FILE
KENNEDY, LORI                          ADDRESS ON FILE
KENNEDY, MARTIN                        ADDRESS ON FILE
KENNEDY, MICHAEL                       ADDRESS ON FILE
KENNEDY, MONTRELL                      ADDRESS ON FILE
KENNEDY, NATHAN                        ADDRESS ON FILE
KENNEDY, RHONDA                        ADDRESS ON FILE
KENNEDY, ROBERT                        ADDRESS ON FILE
KENNEDY, RUEBIN                        ADDRESS ON FILE
KENNEDY, RUEBIN                        ADDRESS ON FILE
KENNEDY, TERI L                        ADDRESS ON FILE
KENNEDY, WES                           ADDRESS ON FILE
KENNELL, MICHAEL                       ADDRESS ON FILE
KENNELLY, MATTHEW                      ADDRESS ON FILE
KENNETH A CHADWICK                     ADDRESS ON FILE
KENNETH ARYCHUK                        ADDRESS ON FILE
KENNETH B PERRIMAN JR                  ADDRESS ON FILE
KENNETH B TUCKER                       ADDRESS ON FILE
KENNETH BENNETT SR                     ADDRESS ON FILE
KENNETH BUTTERFIELD                    ADDRESS ON FILE
KENNETH C HENRICKSEN                   ADDRESS ON FILE
KENNETH CHILTON                        ADDRESS ON FILE
KENNETH E HAWK SR                      ADDRESS ON FILE
KENNETH E SMITH                        ADDRESS ON FILE
KENNETH GALLOWAY & SONS 24-HOUR ROAD   TRUCK & TRAILER REPAIR, 618 E LAKEWOOD DR. JACKSON TN 38305
SVC
KENNETH GETHERS                        ADDRESS ON FILE
KENNETH HARDISON                       ADDRESS ON FILE
KENNETH JOHNSON                        ADDRESS ON FILE
KENNETH L CURTIS                       ADDRESS ON FILE
KENNETH L PETERSON                     ADDRESS ON FILE
KENNETH LEYDA                          ADDRESS ON FILE
KENNETH M DAVOREN                      ADDRESS ON FILE
KENNETH R ALDER                        ADDRESS ON FILE
KENNETH R BAKER                        ADDRESS ON FILE
KENNETH R MCWILLIAMS                   ADDRESS ON FILE
KENNETH R MEARIDA                      ADDRESS ON FILE
KENNETH R PETTIE                       ADDRESS ON FILE
KENNETH W BOWERS                       ADDRESS ON FILE
KENNETH W BURKS                        ADDRESS ON FILE
KENNETH WHITE                          ADDRESS ON FILE
KENNETH WILSON TRUCKING                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
KENNEWICK INDUSTRIAL                   113 E COLUMBIA DR KENNEWICK WA 99336
KENNEY, AMANDA                         ADDRESS ON FILE
KENNEY, BIN                            ADDRESS ON FILE
KENNEY, CLAY                           ADDRESS ON FILE
KENNEY, KEITH                          ADDRESS ON FILE
KENNEY, KEVIN                          ADDRESS ON FILE
KENNEY, RICHARD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1036 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1045 of 2156

Claim Name                          Address Information
KENNON, KYLE                        ADDRESS ON FILE
KENNY CARPETS                       2995 SHERIDAN DRIVE CHEEKTOWAGA NY 14226
KENNY PERALES & LINDA PERALES       ADDRESS ON FILE
KENNY, BARRY                        ADDRESS ON FILE
KENNY, DONALD                       ADDRESS ON FILE
KENOWA AUTO SUPPLY                  2665 84TH ST. BYRON CENTER MI 49315
KENS CRANE SERVICE                  SHERBROOK MOTORS, 1350 WALL STREET WINNIPEG MB R3E 2S3 CANADA
KENS SERVICE CENTER LLC             2023 AVON STREET LA CROSSE WI 54603
KENS TL/LTL HAULING LLC             2605 BERWICK BLVD. COLUMBUS OH 43209
KENS TOWING INC                     P.O. BOX 1145 OZARK AR 72949
KENS TOWING SERVICE                 HAPPY DAY INC, PO BOX 709 BAKER CA 92309
KENS TOWING SERVICE                 PO BOX 709 BAKER CA 92309
KENSINGER, MICHAEL                  ADDRESS ON FILE
KENSTAR TRANSPORT LTD               378 CARTERSIAN GATE WINNIPEG MB R2P 1W4 CANADA
KENT COMMUNICATIONS INC             3901 EAST PARIS AVE SE GRAND RAPIDS MI 49512
KENT COMMUNICATIONS INC             D/B/A: KCI 3901 EAST PARIS AVE SE GRAND RAPIDS MI 49512
KENT COUNTY TREASURERS OFFICE       COUNTY ADMIN BLDG, 300 MONROE AVE NW GRAND RAPIDS MI 49503
KENT DESIGN & MANUFACTURING         3522 LOUSMA DR. SE GRAND RAPIDS MI 49548
KENT R ADAMS                        ADDRESS ON FILE
KENT RUBBER SUPPLY CO               4655 CLYDE PARK SW GRAND RAPIDS MI 49509
KENT RUBBER SUPPLY CO               PO BOX 9348 GRAND RAPIDS MI 49509
KENT RUBBER SUPPLY COMPANY          ATTN: PAUL MOSHER 4655 CLYDE PARK SW GRAND RAPIDS MI 49509
KENT, AMBER                         ADDRESS ON FILE
KENT, CLYDE                         ADDRESS ON FILE
KENT, DENISHA R                     ADDRESS ON FILE
KENT, ELIJAH                        ADDRESS ON FILE
KENT, GEORGE                        ADDRESS ON FILE
KENT, JORDAN                        ADDRESS ON FILE
KENT, KAREN D                       ADDRESS ON FILE
KENT, LARRY                         ADDRESS ON FILE
KENT, MALIK                         ADDRESS ON FILE
KENT, NICHOLAS                      ADDRESS ON FILE
KENT, RICHARD                       ADDRESS ON FILE
KENT, RICHARD                       ADDRESS ON FILE
KENT, WILLIE                        ADDRESS ON FILE
KENTUCKIANA BLINDS LLC              365 WHITESIDE RD. COXS CREEK KY 40013
KENTUCKIANA COMFORT CENTER          PO BOX 99369 LOUISVILLE KY 40269
KENTUCKIANA COMFORT CENTER          2716 GRASSLAND DRIVE LOUISVILLE KY 40299
KENTUCKY BLUE GRASS LTD             6107 34 ST EDMONTON AB T6B 2V6 CANADA
KENTUCKY BLUE GRASS LTD             8450 13 ST EDMONTON AB T6P 0C7 CANADA
KENTUCKY DEPARTMENT OF REVENUE      DIVISION OF SALES AND USE TAX STATION 67, PO BOX 181 FRANKFORT KY 40602
KENTUCKY DEPARTMENT OF TREASURY     UNCLAIMED PROPERTY DIVISION, 1050 US HWY 127 S STE 100 FRANKFORT KY 40601
KENTUCKY DEPT OF REVENUE            FRANKFORT KY 40620
KENTUCKY DEPT OF REVENUE            KENTUCKY DEPT. OF REVENUE FRANKFORT KY 40620-0003
KENTUCKY FREIGHTLINER TRUCKS        993 NANDINO BLVD., P.O BOX 11070 LEXINGTON KY 40511
KENTUCKY STATE TREASURER            DIV OF WASTE MGMT HAZ WASTE FUND ATTN JENNIE PERRY 300 SOWER BLVD 2ND FL
                                    FRANKFORT KY 40601
KENTUCKY STATE TREASURER            UNCLAIMED PROPERTY DIVISION, 1050 US HWY 127 SOUTH FRANKFORT KY 40601
KENTUCKY STATE TREASURER            DEPT OF VEHICLE REGULATION PO BOX 2004 FRANKFORT KY 40602



Epiq Corporate Restructuring, LLC                                                             Page 1037 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1046 of 2156

Claim Name                              Address Information
KENTUCKY STATE TREASURER                KY TRANSPORTATION CABINET-DMC, PO BOX 2004 FRANKFORT KY 40602
KENTUCKY STATE TREASURER                PO BOX 2004 FRANKFORT KY 40602
KENTUCKY STATE TREASURER                DEPARTMENT OF REVENUE, PO BOX 5110 FRANKFORT KY 40619
KENTUCKY TRUCK SALES INC                1403 TRUCKERS BLVD JEFFERSONVILLE IN 47130
KENTUCKY TRUCKING ASSOCIATION           P.O. BOX 818 FRANKFORT KY 40602
KENWAL TRANSPORT INC                    2079 LAUREL LEAF LN AVON IN 46123
KENWORTH                                291 MADAWASKA RD GRAND FALLS NB E3Y 1A4 CANADA
KENWORTH NORTHEAST GROUP INC.           100 COMMERCE DRIVE BUFFALO NY 14218
KENWORTH NORTHWEST                      11300 31ST DR NE MARYSVILLE WA 98271
KENWORTH NORTHWEST INC.                 PO BOX 98967 SEATTLE WA 98198
KENWORTH OF BUFFALO                     100 COMMERCE DR. BUFFALO NY 14218
KENWORTH OF PENNSYLVANIA                PO BOX 1922 CARLISLE PA 17013
KENWORTH OF PENNSYLVANIA                4909 LOUISE DRIVE SUITE 105 MECHANICSBURG PA 17055
KENWORTH SALES                          6420 E BROADWAY AVE SPOKANE WA 99212
KENWORTH SALES COMPANY                  2125 S CONSTITUTION WEST VALLEY CITY UT 84119
KENWORTH SALES COMPANY                  DEPT 001, PO BOX 27088 SALT LAKE CITY UT 84127
KENWORTH SALES ELKO                     DEPT 001, PO BOX 27088 SALT LAKE CITY UT 84127
KENWORTH TRUCK CENTRES                  500 CREDITSTONE RD. CONCORD ON L4K 3Z3 CANADA
KENWORTHY, ADELE                        ADDRESS ON FILE
KENWORTHY, VANESSA                      ADDRESS ON FILE
KENYO TRANSPORT LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KENYON, BOB                             ADDRESS ON FILE
KENYON, JASON                           ADDRESS ON FILE
KENYON, JONATHAN                        ADDRESS ON FILE
KENYON, TIMOTHY                         ADDRESS ON FILE
KEOGH, MICHAEL                          ADDRESS ON FILE
KEOHANE, DAVID                          ADDRESS ON FILE
KEPHART, CLINT                          ADDRESS ON FILE
KEPHART, EARL                           ADDRESS ON FILE
KEPHART, MICHAEL                        ADDRESS ON FILE
KEPNER, BRYAN                           ADDRESS ON FILE
KEPPLE, MICHAEL                         ADDRESS ON FILE
KEPPLER, ROBERT J                       ADDRESS ON FILE
KERAMIDA, INC                           401 N COLLEGE AVE INDIANAPOLIS IN 46202
KERCE, JAMES V                          ADDRESS ON FILE
KERIC S MCKENNA                         ADDRESS ON FILE
KERIN, MIKE                             ADDRESS ON FILE
KERMA MEDICAL PRODUCTS                  ATTN: KERMA MEDICAL PRODUCTS 215 SUBURBAN DR SUFFOLK VA 23434
KERMA MEDICAL PRODUCTS                  ATTN: KRYSTINA MROCZKOWSKI RECONEX 384 INVERNESS PKWY STE 140 ENGLEWOOD CO
                                        80112
KERN COUNTY TREASURER                   TAX COLLECTOR 2ND FL, 1115 TRUXTUN AVE BAKERSFIELD CA 93301
KERN COUNTY TREASURER & TAX COLLECTOR   PAYMENT CENTER PO BOX 541004 LOS ANGELES CA 90054
KERN DELTA WATER DISTRICT               501 TAFT HIGHWAY BAKERSFIELD CA 93307
KERN, CALEB                             ADDRESS ON FILE
KERN, CHAD                              ADDRESS ON FILE
KERN, DONALD                            ADDRESS ON FILE
KERN, KENNETH                           ADDRESS ON FILE
KERN, MATTHEW                           ADDRESS ON FILE
KERN, ROBERT                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1038 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1047 of 2156

Claim Name                           Address Information
KERN, RUSSELL                        ADDRESS ON FILE
KERN, WILLIAM K                      ADDRESS ON FILE
KERNAGHAN, GRANT                     ADDRESS ON FILE
KERNEL POPS                          ATTN: MARIA BOODY 2126 MCCULLOCH BLVD N STE 18 LAKE HAVASU CITY AZ 86403
KERNEL TRANSPORT SYSTEMS INC         600 PHIPPS BLVD NE 2607 ATLANTA GA 30326
KERNEL TRANSPORT SYSTEMS INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KERNES, JAMES                        ADDRESS ON FILE
KERNODLE, TIMOTHY                    ADDRESS ON FILE
KERO, SCOTT                          ADDRESS ON FILE
KERR LAKESIDE INC.                   26841 TUNGSTEN RD. EUCLID OH 44132
KERR S LEACH SR                      ADDRESS ON FILE
KERR, CHRISTIE                       ADDRESS ON FILE
KERR, DAVID                          ADDRESS ON FILE
KERR, DUDLEY L                       ADDRESS ON FILE
KERR, ERIC                           ADDRESS ON FILE
KERR, HERCHEL                        ADDRESS ON FILE
KERR, JOHN                           ADDRESS ON FILE
KERR, JUSTIN                         ADDRESS ON FILE
KERR, RAYMOND                        ADDRESS ON FILE
KERRIGAN, JUDE                       ADDRESS ON FILE
KERRY AUTER                          ADDRESS ON FILE
KERRY INGREDIENTS                    220 24TH AVE. OWATONNA MN 55060
KERRY STATES LOGISTICS               CLAIMS DEPT KERRY INC, 3400 MILLINGTON RD BELOIT WI 53511
KERSCHNER, SCOTT                     ADDRESS ON FILE
KERSEY, MICHAEL                      ADDRESS ON FILE
KERSHAN TRUCKING INC                 PO BOX 442 DOTHAN AL 36302
KERSHAW, NATHAN                      ADDRESS ON FILE
KES                                  726 HWY. 44 WEST SHEPHERDSVILLE KY 40165
KES TRANSPORTATION CORP              OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425
KESH EXPRESS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KESHAV TRANSPORT INC                 OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
KESKES, ERIK                         ADDRESS ON FILE
KESLER, LOGAN                        ADDRESS ON FILE
KESNER, TODD                         ADDRESS ON FILE
KESS TRUCKING                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KESSEL, LUKE                         ADDRESS ON FILE
KESSINGER, BRYAN                     ADDRESS ON FILE
KESSLER, DELBERT L                   ADDRESS ON FILE
KESSLER, FREDERICK                   ADDRESS ON FILE
KESSLER, KATHRYN                     ADDRESS ON FILE
KESSLER, MICHAEL                     ADDRESS ON FILE
KESSLER, REX                         ADDRESS ON FILE
KESSLER, ROBERT                      ADDRESS ON FILE
KESSNICK, ARTHUR                     ADDRESS ON FILE
KESSNICK, MICHAEL                    ADDRESS ON FILE
KESTER, ROBERT                       ADDRESS ON FILE
KESTNER, DAVID                       ADDRESS ON FILE
KESTNER, JEFFREY                     ADDRESS ON FILE
KESTREL CROSSDOCK LLC                ATTN: JIM KEMMERER 310 SPRUCE ST MISSOULA MT 59802



Epiq Corporate Restructuring, LLC                                                            Page 1039 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1048 of 2156

Claim Name                         Address Information
KESTREL CROSSDOCK, LLC             310 W SPRUCE ST MISSOULA MT 59802
KESTREL GROWTH BRANDS              255 WALLIS ST 1 EUGENE OR 97402
KESTREL LOGISTICS GROUP LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KESYTONE                           ATTN: JANAU WASHINGTON ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                   60654
KETCHEM, KODY                      ADDRESS ON FILE
KETCHUM, GARY                      ADDRESS ON FILE
KETCHUM, JEFFERY                   ADDRESS ON FILE
KETCHUM, JUSTIN                    ADDRESS ON FILE
KETELS, RICHARD                    ADDRESS ON FILE
KETNER & SONS ELECTRIC INC         1416 LAFAYETTE AVE TERRE HAUTE IN 47804
KETNER, DYLAN                      ADDRESS ON FILE
KETTER, LANCE                      ADDRESS ON FILE
KETTLES, CHRISTIAN                 ADDRESS ON FILE
KETTNER, JENNIFER                  ADDRESS ON FILE
KETTOU, MOHAMMED                   ADDRESS ON FILE
KETWAROO, HEMRAJ                   ADDRESS ON FILE
KEUL, TOBIAS                       ADDRESS ON FILE
KEURIG DR. PEPPER                  ANTHONY SHOEMAKER, CLO & GEN COUNSEL 6425 HALL OF FAME LANE FRISCO TX 75034
KEVEN RAE                          ADDRESS ON FILE
KEVIN A CORREIA                    ADDRESS ON FILE
KEVIN A RUBALCAVA                  ADDRESS ON FILE
KEVIN A UTLEY                      ADDRESS ON FILE
KEVIN A WILSON                     ADDRESS ON FILE
KEVIN B HASKINS                    ADDRESS ON FILE
KEVIN BROWN                        ADDRESS ON FILE
KEVIN BROWN                        ADDRESS ON FILE
KEVIN C BONILLA                    ADDRESS ON FILE
KEVIN C JACKSON                    ADDRESS ON FILE
KEVIN C THAO                       ADDRESS ON FILE
KEVIN CARLETON                     ADDRESS ON FILE
KEVIN CUNNINGHAM                   ADDRESS ON FILE
KEVIN CYPRET                       ADDRESS ON FILE
KEVIN D CALLAHAN                   ADDRESS ON FILE
KEVIN D FLETCHER                   ADDRESS ON FILE
KEVIN D LEGLER                     ADDRESS ON FILE
KEVIN D ROBINSON                   ADDRESS ON FILE
KEVIN D WESTWOOD                   ADDRESS ON FILE
KEVIN E JOHNSON                    ADDRESS ON FILE
KEVIN HILLER                       ADDRESS ON FILE
KEVIN J MCCOLLUM                   ADDRESS ON FILE
KEVIN L HAYES                      ADDRESS ON FILE
KEVIN L HENLEY                     ADDRESS ON FILE
KEVIN L KOHAUT                     ADDRESS ON FILE
KEVIN LUCAS TRUCKINGINC            12276 HARDINSBURG RD VERTREES KY 42724
KEVIN M MCGINNIS                   ADDRESS ON FILE
KEVIN PAGLIEI                      ADDRESS ON FILE
KEVIN PAGLIEI                      ADDRESS ON FILE
KEVIN PARKER                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1040 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1049 of 2156

Claim Name                             Address Information
KEVIN PARKER SERVICES LLC              4043 HWY 297A CANTONMENT FL 32533
KEVIN RYMAN, INC.                      PO BOX 366 BERWICK PA 18603
KEVIN S LEWIS                          ADDRESS ON FILE
KEVIN S ROST                           ADDRESS ON FILE
KEVIN SEABORN                          ADDRESS ON FILE
KEVIN TRANSPORT                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
KEVINS ROAD SERVICE                    PO BOX 94 SAINT GEORGES DE 19733
KEVION D LEWIS                         ADDRESS ON FILE
KEVION L BRODIE                        ADDRESS ON FILE
KEVLIN, ROBYN                          ADDRESS ON FILE
KEVYN TRUCKING INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KEX DISTRIBUTION                       343 W 400 S SALT LAKE CITY UT 84101
KEY CARRIER GROUP, CO.                 OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
KEY EXPRESS LLC                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
KEY LOGISTICS                          PO BOX 64548 ROCHESTER NY 14624
KEY LOGISTICS GROUP, LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
KEY TRANSPORTATION INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEY WEST EXPRESS                       PO BOX 1120 FORT LANGLEY BC V1M 2A0 CANADA
KEY, ALLEN                             ADDRESS ON FILE
KEY, COURTNEY F                        ADDRESS ON FILE
KEY, FRANKLIN                          ADDRESS ON FILE
KEY, JAMES A                           ADDRESS ON FILE
KEY, JOCELYN N                         ADDRESS ON FILE
KEY, MICHAEL                           ADDRESS ON FILE
KEY, MICHAEL                           ADDRESS ON FILE
KEY, ROBERT                            ADDRESS ON FILE
KEYASHA N LEWIS                        ADDRESS ON FILE
KEYES TRANSPORTATION & LOGISTICS LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KEYES, JAKWAN                          ADDRESS ON FILE
KEYES, NAOMI                           ADDRESS ON FILE
KEYES, WESLEY                          ADDRESS ON FILE
KEYHOLE SECURITY INC                   708 S WENATCHEE AVE WENATCHEE WA 98801
KEYNNECT LOGISTICS INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KEYNNECT LOGISTICS INC.                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KEYS, BERNARD                          ADDRESS ON FILE
KEYS, BOB                              ADDRESS ON FILE
KEYS, EVA M                            ADDRESS ON FILE
KEYS, EVA M                            ADDRESS ON FILE
KEYS, HENRY                            ADDRESS ON FILE
KEYS, JOHN                             ADDRESS ON FILE
KEYSER VALLEY AUTO WRECKERS, INC       DBA MILEWSKI TOWING, 2300 WASHBURN STREET SCRANTON PA 18504
KEYSHIP EXPRESS                        GLOBAL TRANZ, PO BOX 6348 SCOTTSDALE AZ 85261
KEYSTONE                               609 S. OLD PIEDMONT HWY. GREENVILLE SC 29609
KEYSTONE                               ATTN: JANAU WASHINGTON ECHO GLOBAL LOGISTICS 600 WEST CHICAGO AVE STE 725
                                       CHICAGO IL 60654
KEYSTONE                               C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
KEYSTONE                               ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
KEYSTONE AUTOMOTIVE ECHO               ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
KEYSTONE AUTOMOTIVE ECHO               ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                               Page 1041 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1050 of 2156

Claim Name                           Address Information
KEYSTONE AUTOMOTIVE OPERATIONS       ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
KEYSTONE C/O ECHO                    ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
KEYSTONE CARRIER LLC                 576 STATE ROUTE 93 SUGARLOAF PA 18249
KEYSTONE COLLECTIONS GROUP           546 WENDEL RD IRWIN PA 15642
KEYSTONE DEDICATED LOGISTICS         PO BOX 752 CARNEGIE PA 15106
KEYSTONE ELECTRONICS                 ATTN: JIMMY WANG 55 DENTON AVE S NEW HYDE PARK NY 11040
KEYSTONE FLEET SERVICE INC           277 MULBERRY DR MECHANICSBURG PA 17055
KEYSTONE INDUSTRIAL MEDICINE         1950 S. SUNWEST LN, SUITE 108 SAN BERNARDINO CA 92408
KEYSTONE INDUSTRIES                  ATTN: VICKIE STEGMAN 52 W KING ST MYERSTOWN PA 17067
KEYSTONE PETROLEUM EQUIPMENT, LTD.   981 W TRINDLE RD MECHANICSBURG PA 17055
KEYSTONE RV                          ADDRESS ON FILE
KEYSTONE RV COMPANY                  ATTN: DONNA MAYNARD CUSTOMER SERVICE 2425 DAVIS DR GOSHEN IN 46526
KEYSTONE TECH                        2221 CABOT WEST LANGHOME PA 19040
KEYSTONE TECHNOLOGIES                2750 MORRIS RD LANSDALE PA 19446
KEYSTONE TRAILER SERVICE             100 W CRONE RD YORK PA 17406
KEYTA LOGISTICS LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
KEYTE JR, SCOTT                      ADDRESS ON FILE
KEYTHREE LOGISTICS LLC               6021 FAIRVIEW ROAD SUITE 200 CHARLOTTE NC 28210
KEZO EXPRESS LLC                     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
KFC TRUCKING LOGISTICS LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
KFC TRUCKING LTD                     OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
KFK TRANSPORT LLC                    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
KFM TRANSPORT LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
KFORCE                               PO BOX 277997 ATLANTA GA 30384
KFORCE EXPRESS, INC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
KG 20 20 TRUCKING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KG EXPRESS SHIPPING INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KG FREIGHT INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KG GROUP LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KG LINE GROUP INCORPORATED           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KG LINE INC                          OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
KG LOADED INC                        OR RTS FINANCIAL SERVICE INC. PO BOX 840267 DALLAS TX 75284
KG STAR INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KG TRANSPORTATION LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
KG TRANZ CORP                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KG TRUCKING                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KGC LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KGF TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KGG LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KGG TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KGI GROUP INC                        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
KGP CO RENO                          ATTN: VIRIDIANA GERMAN 13900 MOUNT LIMBO ST RENO NV 89506
KGP TELECOMMUNICATIONS               310 MAIN AVE WAY SE HICKORY NC 28602
KGP TELECOMMUNICATIONS               ATTN: SHANNON HOLTGRAVER 310 MAIN AVE WAY SE HICKORY NC 28602
KGP TELECOMMUNICATIONS OUTBOUND      ATTN: SHANNON HOLTGRAVER 310 MAIN AVE WAY SE HICKORY NC 28602
KGP TELECOMMUNICATIONS, LLC          3305 HWY 60 W SARIBAULT MN 55021
KGS LOGISTICS INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479



Epiq Corporate Restructuring, LLC                                                               Page 1042 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1051 of 2156

Claim Name                           Address Information
KGS TRANSPORT LLC                    OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
KGW                                  1501 SW JEFFERSON ST. PORTLAND OR 97201
KGZ TRANSPORT CORP                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KGZ03 INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KHABE CORP                           OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
KHABRA, GURINDERPAL                  ADDRESS ON FILE
KHADIJAH TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
KHAIR, NAEAZY                        ADDRESS ON FILE
KHAIRA BROS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KHAIRA CARRIER INC                   1360 WHISPERING WIND DR TRACY CA 95377
KHAIRA FREIGHT                       1339 INDUSTRIAL RD, 0 CAMBRIDGE ON N3H 4W3 CANADA
KHAIRA TRANSPORT INC                 17738 ALMOND ORCHARD WAY LATHROP CA 95330
KHAIRA, JARNAIL S                    ADDRESS ON FILE
KHAIRA, JARNAIL S                    ADDRESS ON FILE
KHAJA, SALEEM                        ADDRESS ON FILE
KHAKH CARRIER LLC                    29 VAN BUREN ST WOODBRIDGE NJ 07095-2409
KHALID, SHARIF                       ADDRESS ON FILE
KHALIFA DAW SHADI                    ADDRESS ON FILE
KHALIQ, HAMZA                        ADDRESS ON FILE
KHALSA TRANS INC                     1876 TULE AVE MANTECA CA 95337
KHALSA TRANSPORT                     3870 SARAVA COURT RENO NV 89512
KHALSA TRANSPORTATION, INC.          13371 SOUTH FOWLER AVE SELMA CA 93662
KHAN LOGISTICS LLC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
KHAN TRANSPORT LLC                   525 E EDGEWOOD BLVD, APT 820 LANSING MI 48911
KHAN, AAMIR                          ADDRESS ON FILE
KHAN, ASHRAF                         ADDRESS ON FILE
KHAN, FAWAD                          ADDRESS ON FILE
KHAN, MURTUZA                        ADDRESS ON FILE
KHAN, NUR                            ADDRESS ON FILE
KHAN, RUKON                          ADDRESS ON FILE
KHAN, SAHAR                          ADDRESS ON FILE
KHAN, ZIYARAT                        ADDRESS ON FILE
KHANNA, JUGESH                       ADDRESS ON FILE
KHANTHVANG, SAENGJOY                 ADDRESS ON FILE
KHAREL, CHANDRA                      ADDRESS ON FILE
KHAYLEN D MOSS                       ADDRESS ON FILE
KHD ENTERPRISES LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KHE EXPRESS INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
KHEDER, DJAFFAR                      ADDRESS ON FILE
KHEEL, ANTHONY                       ADDRESS ON FILE
KHEHRA RELOAD LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
KHELA FREIGHTLINES INC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
KHELLA TRANSPORT                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
KHELLA TRANSPORT                     1322 ESTRELLA WAY TURLOCK CA 95382
KHER BROTHERS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KHERA TRANSPORT INC                  OR T-PINE FINANCIAL SERVICES 1450 MEYERSIDE DR 4TH FL SUITE 401 MISSISSAUGA ON
                                     L5T 2N5 CANADA
KHERA TRANSPORT LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                            Page 1043 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1052 of 2156

Claim Name                           Address Information
KHJ TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KHM EXPRESS INC                      9384 BAY COLONY DR APT 2N DES PLAINES IL 60016
KHODARHAM, AMIGHI                    ADDRESS ON FILE
KHOZA TRUCKING                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KHR ON WHEELS INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KHRYSTAL L HINKEL                    ADDRESS ON FILE
KHUA, JOHNATHON                      ADDRESS ON FILE
KHUON, JUSTIN                        ADDRESS ON FILE
KI                                   ATTN: DEANNA SNELL ACCOUNTS RECEIVABLE P.O. BOX 204576 DALLAS TX 75230-4576
KI                                   ATTN: DEANNA SNELL ATTN: ACCOUNTS RECEIVABLE PO BOX 204576 DALLAS TX 75320
KI                                   ATTN: DEANNA SNELL ACCOUNTS RECEIVABLE PO BOX 737048 DALLAS TX 75373
KI                                   ATTN: DEANNA SNELL PO BOX 737048 DALLAS TX 75373
KI                                   PO BOX 737048 DALLAS TX 75373
KI                                   ATTN: DEANNA SNELL ACCOUNTS RECEIVABLE P.O. BOX 737048 DALLAS TX 75373-7048
KI                                   ATTN: DEANNA SNELL P.O. BOX 737048 DALLAS TX 75373-7048
KI TRANSPORT INC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
KIA, HADDA                           ADDRESS ON FILE
KIANDY EXPRESS LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
KIANKA, MICHAEL                      ADDRESS ON FILE
KIANKA, MICHAEL W                    ADDRESS ON FILE
KIARA MURPHY                         ADDRESS ON FILE
KIB LOGISTICS LLC                    612 KENT LANE WHITE LAKE MI 48386
KIBEL, JASON                         ADDRESS ON FILE
KIBLER, MARK                         ADDRESS ON FILE
KIBROM TRANSPORTATION LLC            OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
KIC TRANSPORT INC                    PO BOX 34645 CHICAGO IL 60634
KICHLER LIGHTING LLC                 ATTN: ED CARUSO 7650 CHIPPEWA RD STE 300 BRECKSVILLE OH 44141
KICINSKI, CHERIE                     ADDRESS ON FILE
KID FOX TRUCKING LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
KIDA TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KIDANE, HENOK                        ADDRESS ON FILE
KIDANE, MENGESHA                     ADDRESS ON FILE
KIDD TRUCKING GROUP INC              10260 SW GREENBURG RD, 4TH FLOOR PORTLAND OR 97223
KIDD, EDWARD                         ADDRESS ON FILE
KIDD, GARRET                         ADDRESS ON FILE
KIDD, JAMES                          ADDRESS ON FILE
KIDD, JUSTIN                         ADDRESS ON FILE
KIDD, RON                            ADDRESS ON FILE
KIDD, WILLIAM                        ADDRESS ON FILE
KIDD, WILLIAM                        ADDRESS ON FILE
KIDDE                                1016 CORPORATE PARK DR MEBANE NC 27302
KIDDE SAFETY                         ATTN: PRAMOD KUMAR 3825 S WILLOW AVE STE 104 FRESNO CA 93725
KIDDE SAFETY-CA                      3825 S WILLOW AVE STE 104 FRESNO CA 93725
KIDDER, RAYMOND                      ADDRESS ON FILE
KIDDO TRANSPORT                      12535 KENNEDY RD CALEDON ON L7C 3T6 CANADA
KIDS                                 3333 PEIDMOUNT RD NE ATLANTA GA 30305
KIDS WHEELS                          ATTN: FLAVIO LEAL 13055 FM 971 GRANGER TX 76530
KIDSMANIA INC                        5012 4TH ST IRWINDALE CA 91706
KIDUSE TRANSPORTATION LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                              Page 1044 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1053 of 2156

Claim Name                          Address Information
KIDWELL ELECTRIC                    100 FRONT STREET WEST SPRINGFIELD MA 01089
KIDWELL, DAVID                      ADDRESS ON FILE
KIDWELL, HARRY                      ADDRESS ON FILE
KIDWELL, THOMAS                     ADDRESS ON FILE
KIEBACH, TERRY                      ADDRESS ON FILE
KIEFER, DAVID                       ADDRESS ON FILE
KIEFFER, CRAIG                      ADDRESS ON FILE
KIEFFER, FRANZ                      ADDRESS ON FILE
KIEFT, STEVEN                       ADDRESS ON FILE
KIEHL, PHILLIP                      ADDRESS ON FILE
KIEL, BROOKLYN                      ADDRESS ON FILE
KIEL, BROOKLYN                      ADDRESS ON FILE
KIEL, MINDY ANN                     ADDRESS ON FILE
KIEL, TAYLOR                        ADDRESS ON FILE
KIEL, TAYLOR                        ADDRESS ON FILE
KIELING, JOHN                       ADDRESS ON FILE
KIENEL, JAMES                       ADDRESS ON FILE
KIERAN J MILLER                     ADDRESS ON FILE
KIERNAN, LARRY                      ADDRESS ON FILE
KIERNEY, DAVID                      ADDRESS ON FILE
KIERNEY, JAMES                      ADDRESS ON FILE
KIERSTEIN, JOHN                     ADDRESS ON FILE
KIES, STEPHANIE                     ADDRESS ON FILE
KIESS, RONALD                       ADDRESS ON FILE
KIESTER, JERRY                      ADDRESS ON FILE
KIESTER, JERRY                      ADDRESS ON FILE
KIEV TRANSPORTATION INC             477 S KINGSTON CIR AURORA CO 80012
KIEZER, MITCHAEL                    ADDRESS ON FILE
KIFFA CARGO INC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
KIGER, CAITLIN                      ADDRESS ON FILE
KIGER, MARCELLA                     ADDRESS ON FILE
KIK, LLC                            OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
KIKER, JEFFREY                      ADDRESS ON FILE
KIKI, JARON                         ADDRESS ON FILE
KIKIRIKI TRUCKING                   477 NEW BRIGHTON DR SE CALGARY AB T2Z 0N9 CANADA
KILBANE, BRIAN                      ADDRESS ON FILE
KILBURN, RICKY                      ADDRESS ON FILE
KILCOYNE, TERRENCE                  ADDRESS ON FILE
KILDOW, GEORGE                      ADDRESS ON FILE
KILDUFF, WALTER                     ADDRESS ON FILE
KILE, ROBERT                        ADDRESS ON FILE
KILE, SUSAN                         ADDRESS ON FILE
KILGORE II, RICK                    ADDRESS ON FILE
KILGORE, CARL                       ADDRESS ON FILE
KILGORE, RONALD                     ADDRESS ON FILE
KILICHOWSKI, DANIEL                 ADDRESS ON FILE
KILIMANJARO EXPRESS LLC             OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
KILIMANJARO LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
KILION, RICHARD                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1045 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1054 of 2156

Claim Name                           Address Information
KILISZEWSKI, MARY                    ADDRESS ON FILE
KILKENNY, JAMES                      ADDRESS ON FILE
KILLEEN, SYLVIA                      ADDRESS ON FILE
KILLEN, JORDAN                       ADDRESS ON FILE
KILLIAN, CHARLES                     ADDRESS ON FILE
KILLIAN, CHRISTOPHER                 ADDRESS ON FILE
KILLIAN, DIAMOND                     ADDRESS ON FILE
KILLINGSWORTH, DAVID                 ADDRESS ON FILE
KILLINGSWORTH, KRISTY                ADDRESS ON FILE
KILLION INDUSTRIES                   1380 POINSETTIA AVE. VISTA CA 92081
KILLION, EMILLY                      ADDRESS ON FILE
KILLIUS, WALTER                      ADDRESS ON FILE
KILLORAN, DAVID                      ADDRESS ON FILE
KILMER, RENEE                        ADDRESS ON FILE
KILPATRICK, BRIAN                    ADDRESS ON FILE
KILPATRICK, JOE                      ADDRESS ON FILE
KILPATRICK, RICK                     ADDRESS ON FILE
KILROY ARCHITECTURAL WINDOWS INC     425 AUSTIN PL BRONX NY 10455
KILSON, DAVID                        ADDRESS ON FILE
KILSON, JAMES                        ADDRESS ON FILE
KIM & LAE TRUCKING CORP              1506 RUSTIC DR APT 5 OCEAN NJ 07712
KIM & LAE TRUCKING CORP              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KIM BARRIE                           ADDRESS ON FILE
KIM FORD                             ADDRESS ON FILE
KIM L SEIBEL                         ADDRESS ON FILE
KIM LOGISTIC INC                     OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
KIM M LAIRD                          ADDRESS ON FILE
KIM R HOUGH                          ADDRESS ON FILE
KIM STROM                            ADDRESS ON FILE
KIM TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KIM TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KIM, DEVIN                           ADDRESS ON FILE
KIM, GUNHO                           ADDRESS ON FILE
KIM, GYEONGSIK                       ADDRESS ON FILE
KIM, HONGJOON                        ADDRESS ON FILE
KIM, MI-HE                           ADDRESS ON FILE
KIM, PHILLIP                         ADDRESS ON FILE
KIM, SUHYUN                          ADDRESS ON FILE
KIMA MOORE                           ADDRESS ON FILE
KIMANI TRUCKING LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KIMBALL MIDWEST                      DEPT L 2780 COLUMBUS OH 43260
KIMBALL MIDWEST                      DEPT L-2780 COLUMBUS OH 43260-2780
KIMBALL, CHRISTOPHER                 ADDRESS ON FILE
KIMBER L BRYAN                       ADDRESS ON FILE
KIMBERLY E RODRIGUEZ                 ADDRESS ON FILE
KIMBERLY LYNN TAYLOR                 ADDRESS ON FILE
KIMBERLY MEETER                      ADDRESS ON FILE
KIMBERLY PEARSON                     ADDRESS ON FILE
KIMBERLY TRUCKING                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                             Page 1046 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1055 of 2156

Claim Name                           Address Information
KIMBLE RECYCLING & DISPOSAL          3596 STATE ROUTE 39 DOVER OH 44622
KIMBLE RECYCLING & DISPOSAL          PO BOX 448 DOVER OH 44622
KIMBLE, ASHLEY                       ADDRESS ON FILE
KIMBLE, BRANDON                      ADDRESS ON FILE
KIMBLE, BRIAN                        ADDRESS ON FILE
KIMBLE, JEFFREY                      ADDRESS ON FILE
KIMBLE, MONTREL                      ADDRESS ON FILE
KIMBRO DAIRY PRODUCTS INC.           206 E VINE DR ASTORIA 61501
KIMBRO MECHANICAL, LLC               1877 AIR LANE DRIVE NASHVILLE TN 37210
KIMBRO WATER COMPANY                 PO BOX 23089 NASHVILLE TN 37202
KIMBROUGH ELECTRIC, INC              LICENSE 81262, 4600 LINCOLN RD. NE SUITE 11 ALBUQUERQUE NM 87109
KIMBROUGH TRANSPORT LLC              OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
KIMBROUGH, CATHERINE                 ADDRESS ON FILE
KIMBROUGH, KAMERON                   ADDRESS ON FILE
KIMCHRIS XPRESS TRANSPORT LLC        OR SEVENOAKS CAPITAL ASSOCIATES LLC P O BOX 669130 HOUSTON TX 75266
KIMELI TRUCKLINE LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KIMERER, STEVEN                      ADDRESS ON FILE
KIMIL CONSTRUCTION INC               493 KENNEDY ROAD CHEEKTOWAGA NY 14227
KIMK LOGISTICS LLC                   OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
KIMLER, BRANDON                      ADDRESS ON FILE
KIMLER, KENDALL                      ADDRESS ON FILE
KIMLING, DOUGLAS                     ADDRESS ON FILE
KIMMEL, SHARON                       ADDRESS ON FILE
KIMMEN PLUMBING & HEATING, INC.      415 SOUTH DARTMOUTH LANE ALTOONA PA 16602
KIMMONS, EDWARD                      ADDRESS ON FILE
KIMMONS, TERENCE                     ADDRESS ON FILE
KIMMONS, WAYNE                       ADDRESS ON FILE
KIMPTON TRUCK SERVICE                401 HOLLAND ST TOMAH WI 54660
KIMPTONS TRUCK SERVICE               D/B/A: KIMPTON TRUCK SERVICE INC 401 HOLLAND ST TOMAH WI 54660
KIMS TOWING                          1601 HWY 72 W CORINTH MS 38834
KIMTEK CORPORATION                   ATTN: KIMBALL JOHNSON 326 INDUSTRIAL PARK LN ORLEANS VT 05860
KINA TRUCKING INC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KINARD, CANDICE                      ADDRESS ON FILE
KINARD, KAITLIN                      ADDRESS ON FILE
KINARD, KENNETH                      ADDRESS ON FILE
KINCADE TRUCKING SOLUTIONS LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KINCAID, AARON                       ADDRESS ON FILE
KINCAID, CHARLES                     ADDRESS ON FILE
KINCAID, DONALD L                    ADDRESS ON FILE
KINCAID, GARY                        ADDRESS ON FILE
KINCAID, JEROME                      ADDRESS ON FILE
KINCAID, KENNETH                     ADDRESS ON FILE
KINCAID, LARISSA                     ADDRESS ON FILE
KINCER, JESSE                        ADDRESS ON FILE
KINCHELOW, BYRON                     ADDRESS ON FILE
KINCHELOW, ERIK                      ADDRESS ON FILE
KIND EXPRESS LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
KIND HEART CARRIERS LLC              OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
KIND TRANSPORT INC                   OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                               Page 1047 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1056 of 2156

Claim Name                           Address Information
KINDER ACADEMY                       3259 W. BASELINE LAVEEN AZ 85339
KINDER, DANIEL                       ADDRESS ON FILE
KINDER, KENNETH                      ADDRESS ON FILE
KINDER, LEROY                        ADDRESS ON FILE
KINDER, RAQUAN                       ADDRESS ON FILE
KINDER, RODNEY                       ADDRESS ON FILE
KINDERKNECHT, THOMAS                 ADDRESS ON FILE
KINDERSLEY TRANSPORT LTD             PO BOX 7290 SASKATOON SK S7K4J2 CANADA
KINDIG, WALTER                       ADDRESS ON FILE
KINDLE, MICHAEL                      ADDRESS ON FILE
KINDLINGER, MICHAEL                  ADDRESS ON FILE
KINDOLL, RICHARD                     ADDRESS ON FILE
KINDRED, BRANDY                      ADDRESS ON FILE
KINDRED, STEVEN                      ADDRESS ON FILE
KINEDYNE                             9350 METCALF AVE OVERLAND PARK KS 66212
KINETIC SOLUTIONS, LLC               OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
KINETIC SUPPLY CHAIN SERVICES LLC    16 BETHANY ROAD HAZLET NJ 07730
KINETIC SUPPLY CHAIN SERVICES LLC    5 VILLAGE CT HAZLET TOWNSHIP NJ 07730
KINEY, SEAN                          ADDRESS ON FILE
KING ABATCHA TRUCKING INC            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KING AND QUEEN TRUCKING LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KING CARRIER LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KING CARRIERS, LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KING CASTLE TRUCKING LLC             OR TRAKKXPAY 1302 N COAST HWY 101 SUITE 201 ENCENITAS CA 92024
KING COUNTY FINANCE                  KING COUNTY TREASURY DIVISION, 500 FOURTH AVE 600 SEATTLE WA 98104
KING COUNTY TREASURY                 201 S JACKSON ST 710 SEATTLE WA 98104
KING DOOR CO INC                     PO BOX 21675 BAKERSFIELD CA 93390
KING DOVE EXPRESS L.L.C.             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
KING EXPRESS FREIGHT LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KING FAMILY ENTERPRISE INC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KING INDUSTRIES LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KING K TRUCKING INC                  16635 DARLINGTON ST DELHI CA 95315
KING KANG LLC                        OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
KING KONG TRANSPORTATION. INC        2743 EVELYN AVE ROSEMEAD CA 91770
KING LOGISTICS, INC.                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
KING OF DIAMONDS LOGISTIC INC        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
KING OF THE ROAD TRUCKING            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KING PALLET                          1112 HENGEMIHLE AVE BALTIMORE MD 21221
KING RADIATOR, INC.                  316 KIRBY ROAD KING NC 27021
KING REYES TRUCKING LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KING SAFE TRUCKING LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KING SHA LOGISTICS INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KING SOLUTIONS                       11011 HOLLY LN N DAYTON MN 55369
KING SOLUTIONS                       ATTN: DANIELLE BURSLIE 11011 HOLLY LN N DAYTON MN 55369
KING SOLUTIONS                       ATTN: HEATHER HUBERTY 11011 HOLLY LN N DAYTON MN 55369
KING SOOPERS                         1015 S. TAFT HILL RD. FORT COLLINS CO 80521
KING SR, TIMOTHY                     ADDRESS ON FILE
KING TOWING                          1625 SHAWSON DR MISSISSAUGA ON L4W 1T7 CANADA
KING TOWING INC                      251 14TH ST SE LOVELAND CO 80537



Epiq Corporate Restructuring, LLC                                                              Page 1048 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1057 of 2156

Claim Name                          Address Information
KING TRANS INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KING TRANS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KING TRANSPORT INC                  OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
KING TRANSPORT INC (KENT, WA)       10302 SE 230TH PL KENT WA 98031
KING TRANSPORTATION                 15426 RANCHO FONTANA VILLAGE PKWY, STE P FONTANA 92336
KING TRUCKING LTD                   7280 131 STREET, 131STREET SURREY BC V3W 5V2 CANADA
KING V TALAMONI                     ADDRESS ON FILE
KING, AARON J                       ADDRESS ON FILE
KING, ADAM                          ADDRESS ON FILE
KING, ADRIAN                        ADDRESS ON FILE
KING, AHMED                         ADDRESS ON FILE
KING, ALLAN                         ADDRESS ON FILE
KING, AMANDA                        ADDRESS ON FILE
KING, ANDREW AND ANSTICE            ADDRESS ON FILE
KING, ANTHONY                       ADDRESS ON FILE
KING, ANTHONY                       ADDRESS ON FILE
KING, ASIA                          ADDRESS ON FILE
KING, BERNADETTE                    ADDRESS ON FILE
KING, BRANDON                       ADDRESS ON FILE
KING, BRIAN                         ADDRESS ON FILE
KING, CARRIE                        ADDRESS ON FILE
KING, CHARLES                       ADDRESS ON FILE
KING, CHRIS                         ADDRESS ON FILE
KING, CHRIS                         ADDRESS ON FILE
KING, CHRISTION                     ADDRESS ON FILE
KING, CURTIS                        ADDRESS ON FILE
KING, DARRELL                       ADDRESS ON FILE
KING, DAVID                         ADDRESS ON FILE
KING, DAVID                         ADDRESS ON FILE
KING, DESHANNON                     ADDRESS ON FILE
KING, DIANA                         ADDRESS ON FILE
KING, DOMINIC                       ADDRESS ON FILE
KING, DONALD                        ADDRESS ON FILE
KING, DONTEZ                        ADDRESS ON FILE
KING, DYLAN                         ADDRESS ON FILE
KING, EMILY                         ADDRESS ON FILE
KING, EMMA                          ADDRESS ON FILE
KING, GARTH                         ADDRESS ON FILE
KING, GENA                          ADDRESS ON FILE
KING, GEORGE                        ADDRESS ON FILE
KING, HEATHER                       ADDRESS ON FILE
KING, JACOB                         ADDRESS ON FILE
KING, JAMES                         ADDRESS ON FILE
KING, JAMES                         ADDRESS ON FILE
KING, JAYLIN                        ADDRESS ON FILE
KING, JEFFREY                       ADDRESS ON FILE
KING, JESSICA                       ADDRESS ON FILE
KING, JOHN                          ADDRESS ON FILE
KING, JOHN N                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1049 OF 2145
                                       Yellow Corporation
                  Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                     Page 1058 of 2156

Claim Name                      Address Information
KING, JONATHAN                  ADDRESS ON FILE
KING, JONATHON                  ADDRESS ON FILE
KING, JOSEPH                    ADDRESS ON FILE
KING, JOSEPH                    ADDRESS ON FILE
KING, JOSHUA                    ADDRESS ON FILE
KING, KAMARR                    ADDRESS ON FILE
KING, KENYATTA                  ADDRESS ON FILE
KING, KEVEN                     ADDRESS ON FILE
KING, KEVIN                     ADDRESS ON FILE
KING, LAHN                      ADDRESS ON FILE
KING, LEVI                      ADDRESS ON FILE
KING, LUIS                      ADDRESS ON FILE
KING, MADARIS                   ADDRESS ON FILE
KING, MARQUISE                  ADDRESS ON FILE
KING, MARSHALL                  ADDRESS ON FILE
KING, MARTIN                    ADDRESS ON FILE
KING, MELODY                    ADDRESS ON FILE
KING, MICHAEL                   ADDRESS ON FILE
KING, MICHAEL                   ADDRESS ON FILE
KING, MICHAEL                   ADDRESS ON FILE
KING, MICHAEL                   ADDRESS ON FILE
KING, MICHELE                   ADDRESS ON FILE
KING, MURCHISON                 ADDRESS ON FILE
KING, NATHANIEL                 ADDRESS ON FILE
KING, NICHOLAS                  ADDRESS ON FILE
KING, PARKS                     ADDRESS ON FILE
KING, PHILLIP                   ADDRESS ON FILE
KING, PRINCESS                  ADDRESS ON FILE
KING, RITCHIE                   ADDRESS ON FILE
KING, ROBERT                    ADDRESS ON FILE
KING, RONALD                    ADDRESS ON FILE
KING, RONALD M                  ADDRESS ON FILE
KING, SAMUEL                    ADDRESS ON FILE
KING, SHANE                     ADDRESS ON FILE
KING, SHANTILA                  ADDRESS ON FILE
KING, SHAYLA                    ADDRESS ON FILE
KING, SHERIEN                   ADDRESS ON FILE
KING, STEVEN                    ADDRESS ON FILE
KING, TAMMY                     ADDRESS ON FILE
KING, TIMOTHY                   ADDRESS ON FILE
KING, TIMOTHY                   ADDRESS ON FILE
KING, TODD                      ADDRESS ON FILE
KING, TOMMY                     ADDRESS ON FILE
KING, TYLER                     ADDRESS ON FILE
KING, WILLIAM                   ADDRESS ON FILE
KING, WILLIAM                   ADDRESS ON FILE
KING, WILLIE                    ADDRESS ON FILE
KING, WILLIS                    ADDRESS ON FILE
KINGARM INC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053



Epiq Corporate Restructuring, LLC                                                       Page 1050 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1059 of 2156

Claim Name                             Address Information
KINGDOM EXPRESS COURIER SERVICE INC.   110 CLIMBING VINE RUN ELIZABETH CITY NC 27909
KINGDOM EXPRESS LLC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
KINGDOM EXPRESS LLC (MONTGOMERY, IL)   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
KINGDOM SHIPPING MANAGEMENT LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KINGDOM TRANSPORT LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KINGDOM TRUCKING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KINGFISHER LOGISTICS LLC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
KINGFISHER TRANSPORT INC               1452 DUNCAN WAY STREETSBORO OH 44241
KINGFISHER TRANSPORTATION INC          PO BOX 9185 FRESNO CA 93791
KINGFLEET INC                          PO BOX 3640 ALHAMBRA CA 91803
KINGLOAD LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KINGMAKER STEEL COMPANY                KINGMAKER STEEL COMPANY, 133 BELMONT DRIVE SOMERSET NJ 08873
KINGMAN DIESEL REPAIR, LLC             PO BOX 4161 KINGMAN AZ 86409
KINGMAN STORAGE                        2740 W. LEXINGTON AVE ELKHART IN 46514
KINGMAN TRUCK SERVICE INC              2740 W LEXINGTON AVE ELKHART IN 46514
KINGPIN TRAILERS LTD.                  15210 YELLOWHEAD TRAIL EDMONTON AB T5V 1A1 CANADA
KINGPIN TRUCKING INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
KINGS ACQUISITIONS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KINGS CARGO INC                        OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
KINGS CROWN LLC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
KINGS EAGLE, INC.                      OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
KINGS FLEET NW LLC                     2022 MILWAUKEE WAY TACOMA WA 98421
KINGS FLEET NW LLC                     DBA TACOMA & FIFE TRAILER REPAIR, 10020 SALES RD S LAKEWOOD WA 98499
KINGS MOUNTAIN NATIONAL CARRIERS INC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KINGS MOVING & STORAGE INC             2111 INDUSTRIAL PO BOX 16284 WICHITA KS 67218
KINGS OF LOGISTICS LLC                 OR VIVA CAPITAL FUNDING, INC PO BOX 17548 EL PASO TX 79917
KINGS OF TRUCKING LLC                  OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                       76116
KINGS TRANSPORTATION INC.              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KINGS TRUCKING                         OR RIVIERA FINANCE OF CA, PO BOX 848062 LOS ANGELES CA 90084-8062
KINGS TRUCKING ENTERPRISES LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KINGS WAY TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KINGS-LAND TRUCKING INC                OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
KINGSAKOUNTHONG, KINGSADA              ADDRESS ON FILE
KINGSBURY, JEFFERY                     ADDRESS ON FILE
KINGSBY, NIGEL                         ADDRESS ON FILE
KINGSCO TRANSPORT LTD                  77 WHEELER ROAD FOUR CORNERS NB E4G 2W5 CANADA
KINGSLANDING LOGISTICS LLC             OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
KINGSLANE LOGISTICS                    OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T 5C5 CANADA
KINGSLEY TRANSPORTATION LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
KINGSLEY, RICHARD                      ADDRESS ON FILE
KINGSMEN SERVICES LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
KINGSMILLS AUTO SERVICE INC            1732 BENEFIT ST NEW ORLEANS LA 70122
KINGSTON LOGISTICS LLC                 PO BOX 13294 MILWAUKEE WI 53213-0294
KINGSTON, WAYNE                        ADDRESS ON FILE
KINGSVILLE TOWING & REPAIR INC         5370 STATE ROUTE 193 KINGSVILLE OH 44048
KINGWORLD TRUCKLINE                    67 BINDERTWINE TRAILE BRAMPTON ON L6X 4T2 CANADA
KINKEL, JESSE J                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1051 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1060 of 2156

Claim Name                           Address Information
KINKELLA, JOSEPH                     ADDRESS ON FILE
KINLEY GOLF                          5101 FLEUR DR. DES MOINES IA 50321
KINLEY, NATHAN                       ADDRESS ON FILE
KINMAN TOWING & RECOVERY CO          1420 S CR 450 WEST NORTH VERNON IN 47265
KINMAN, CHRISTOPHER                  ADDRESS ON FILE
KINNAMAN, ANNA                       ADDRESS ON FILE
KINNARD, TERRENCE                    ADDRESS ON FILE
KINNEY, JESSE                        ADDRESS ON FILE
KINNEY, MICHAEL L                    ADDRESS ON FILE
KINNEY, RODNEY                       ADDRESS ON FILE
KINNICK, MARK                        ADDRESS ON FILE
KINNIE TRANSPORTATION GROUP, INC.    32097 HOLLINGSWORTH AVE WARREN MI 48092
KINNISON, RANDALL                    ADDRESS ON FILE
KINNUNEN, GREGG                      ADDRESS ON FILE
KINOLAND LOGISTICS LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
KINOS TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KINS, CORTNEY                        ADDRESS ON FILE
KINSAM ENTERPRISE LLC                OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
KINSELLA, ANNA                       ADDRESS ON FILE
KINSELLA, JEANETTE C                 ADDRESS ON FILE
KINSEY, CHARLES                      ADDRESS ON FILE
KINSEY, DEVON                        ADDRESS ON FILE
KINSEY, DOUGLAS                      ADDRESS ON FILE
KINSEY, JAY                          ADDRESS ON FILE
KINSEYS LAWN & TRACTOR               PO BOX 1272 PADUCAH KY 42002
KINSLEY POWER SYSTEMS                14 CONNECTICUT S DR EAST GRANBY CT 06026
KINSLEY POWER SYSTEMS                DEPARTMENT 2150, PO BOX 986500 BOSTON MA 02298
KINSLEY, CORY                        ADDRESS ON FILE
KINSMAN, BRET                        ADDRESS ON FILE
KINSTLE, VINCENT                     ADDRESS ON FILE
KINSTON TRUCKING AND TRANSPORT LLC   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
KINT                                 PO BOX 60490 HARRISBURG PA 17106
KINVILLE, ANTHONY                    ADDRESS ON FILE
KIONGERA, ROBERT M                   ADDRESS ON FILE
KIP DANIELSON                        ADDRESS ON FILE
KIPFER, KENNETH                      ADDRESS ON FILE
KIRA TRUCKING                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KIRAT TRUCKING LLC                   503 E CONNER CT. OAK CREEK WI 53154
KIRBERG COMPANY                      1400 SOUTH THIRD ST. ST. LOUIS MO 63104
KIRBY TRANSPORT INC                  OR OPEN ROAD, PO BOX 484 DALLAS OR 97338
KIRBY, AARON                         ADDRESS ON FILE
KIRBY, ARTHUR                        ADDRESS ON FILE
KIRBY, ARTHUR                        ADDRESS ON FILE
KIRBY, BRANDON                       ADDRESS ON FILE
KIRBY, COREY                         ADDRESS ON FILE
KIRBY, COREY G                       ADDRESS ON FILE
KIRBY, JIMMY                         ADDRESS ON FILE
KIRBY, NICHOLAS                      ADDRESS ON FILE
KIRBY, RELONDA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1052 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1061 of 2156

Claim Name                              Address Information
KIRBY, TERRY                           ADDRESS ON FILE
KIRBY, THOMAS                          ADDRESS ON FILE
KIRBY, VICKI                           ADDRESS ON FILE
KIRBY, WILLIAM                         ADDRESS ON FILE
KIRBYS REMODELING & FLOORING CENTER INC 5200 E. TRINDLE ROAD MECHANICSBURG PA 17050
KIRCHER, PETER                         ADDRESS ON FILE
KIRCHER, STEVEN                        ADDRESS ON FILE
KIRCHNER, BRAD                         ADDRESS ON FILE
KIRCHNER, DARYL                        ADDRESS ON FILE
KIRCHNER, STACY                        ADDRESS ON FILE
KIRCHNER, WILLIAM                      ADDRESS ON FILE
KIRCHOFF, MIKE                         ADDRESS ON FILE
KIRCHON, JOSEPH                        ADDRESS ON FILE
KIRILOV, SVYATOSLAV                    ADDRESS ON FILE
KIRK A ROGERS                          ADDRESS ON FILE
KIRK NATIONALEASE CO.                  PO BOX 4369 SIDNEY OH 45365
KIRK TRUCKING SERVICE, INC.            PO BOX 365 DELMONT PA 15626
KIRK, CRAIG                            ADDRESS ON FILE
KIRK, EVAN                             ADDRESS ON FILE
KIRK, GARY                             ADDRESS ON FILE
KIRK, KELLY                            ADDRESS ON FILE
KIRK, ROGER D                          ADDRESS ON FILE
KIRK, STEVEN                           ADDRESS ON FILE
KIRK, TRACY                            ADDRESS ON FILE
KIRKBRIDE, CHARLES                     ADDRESS ON FILE
KIRKBRIDE, ROBERT                      ADDRESS ON FILE
KIRKENDALL, DYLAN                      ADDRESS ON FILE
KIRKENDALL, JOSHUA                     ADDRESS ON FILE
KIRKER, DANIEL                         ADDRESS ON FILE
KIRKING, FAYE                          ADDRESS ON FILE
KIRKLAND AND SHAW INC                  5 ADAMS ST BURLINGTON MA 01803
KIRKLAND LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KIRKLAND, CHRISTOPHER                  ADDRESS ON FILE
KIRKLAND, ERIC                         ADDRESS ON FILE
KIRKLAND, LEROY                        ADDRESS ON FILE
KIRKLAND, LILLIE                       ADDRESS ON FILE
KIRKLANDS TRANSPORT & LOGISTICS LLC    OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
KIRKPATRICK, ANGELA                    ADDRESS ON FILE
KIRKPATRICK, DAVID                     ADDRESS ON FILE
KIRKPATRICK, DAVID                     ADDRESS ON FILE
KIRKPATRICK, JEFF                      ADDRESS ON FILE
KIRKPATRICK, JOHN                      ADDRESS ON FILE
KIRKPATRICK, KENNETH                   ADDRESS ON FILE
KIRKPATRICK, LARRY                     ADDRESS ON FILE
KIRKPATRICK, THOMAS                    ADDRESS ON FILE
KIRKPATRICK, TIMOTHY                   ADDRESS ON FILE
KIRKS SINEATH TOWING COMPANY           700 PATTON AVE GREENSBORO NC 27406
KIRKS TRUCK SERVICE INC                303 MCCAMPBELL RD CORPUS CHRISTI TX 78469
KIRKS TRUCKING LLC                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101



Epiq Corporate Restructuring, LLC                                                                 Page 1053 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1062 of 2156

Claim Name                           Address Information
KIRKSEY TRUCKING, INC.               4650 RIVER ROAD MANTACHIE MS 38855
KIRKUK EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KIRKWOOD, CARNECIA                   ADDRESS ON FILE
KIRKWOOD, RICHARD                    ADDRESS ON FILE
KIRKWOOD, WILLIAM E                  ADDRESS ON FILE
KIRLIN WAY SERVICE                   8610 WALLISVILLE ROAD HOUSTON TX 77029
KIRN, COLENAN B                      ADDRESS ON FILE
KIRN, COLENAN B                      ADDRESS ON FILE
KIRSAAN                              23935 PINECREEK PT SPRING TX 77373
KIRSCH TRUCKING, LLC                 11064 ALEXANDER RD ATTICA NY 14011
KIRSCH, TERRENCE                     ADDRESS ON FILE
KIRSCHNER IMPL INC                   12 KINGS CT KEARNEY NE 68845
KIRTLEY, STEVEN                      ADDRESS ON FILE
KIRTONS LANDSCAPE MAINTENANCE        PO BOX 1480 CHINO HILLS CA 91709
KIRVEM TRANSPORTATION INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KIRWAN, JAMES                        ADDRESS ON FILE
KIRWIN, JJ                           ADDRESS ON FILE
KIRYK, KEVIN                         ADDRESS ON FILE
KIS MAYO TRANSPORTATION LLC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
KIS TRANSPORTATION LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KISELA, JAMES                        ADDRESS ON FILE
KISER, MICKEY                        ADDRESS ON FILE
KISERI ENTERPRISE LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KISH, STEVE                          ADDRESS ON FILE
KISHONIS, PATRICK                    ADDRESS ON FILE
KISLANS TRUCKING                     C/O EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
KISLEY, BEN                          ADDRESS ON FILE
KISLIA, KYLE                         ADDRESS ON FILE
KISLIA, R                            ADDRESS ON FILE
KISLIA, STEVEN                       ADDRESS ON FILE
KISLO, LUCAS                         ADDRESS ON FILE
KISMAYO TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KISON, KEITH                         ADDRESS ON FILE
KISS MY GLASS LLC                    5135 CORUNNA RD FLINT MI 48532
KISSAH EXPRESS                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KISSEL, BRIAN                        ADDRESS ON FILE
KISSINGER, BRETT                     ADDRESS ON FILE
KISSOON TRUCKING USA LLC             652 TORONTO CIR HAMPTON GA 30228
KISTLER, LARRY                       ADDRESS ON FILE
KISTLER, MARK                        ADDRESS ON FILE
KISTLER-OBRIEN FIRE PROTECTION       2210 CITY LINE RD BETHLEHEM PA 18017
KISTNER, PAMELA                      ADDRESS ON FILE
KISWANI NATIONAL INC                 555 WEST TAFT DRIVE SOUTH HOLLAND IL 60473
KIT GLOBAL LLC                       9961 NW 51ST LANE DORAL FL 33178
KITANA TRUCKING XPRESS LLC           OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
KITCH, ALAN                          ADDRESS ON FILE
KITCH, SHERRY L                      ADDRESS ON FILE
KITCHELL, DWAIN                      ADDRESS ON FILE
KITCHEN BATH COLLECTION              2860 CALIFORNIA ST TORRANCE CA 90503



Epiq Corporate Restructuring, LLC                                                               Page 1054 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1063 of 2156

Claim Name                           Address Information
KITCHEN KABOODLE                     ATTN: ALEX WOODWARD CLAIMS 2344 NW 21ST AVE PORTLAND OR 97209
KITCHEN USA                          6965 PHILLIPS HIGHWAY JACKSONVILLE FL 32216
KITCHEN, WILLIAM                     ADDRESS ON FILE
KITCHENER, JACOB                     ADDRESS ON FILE
KITCHENS, CHRISTOPHER                ADDRESS ON FILE
KITCHINGHAM, JACKIE                  ADDRESS ON FILE
KITCHINGS, MARCUS                    ADDRESS ON FILE
KITE, RUTH                           ADDRESS ON FILE
KITENGE, BRIAN                       ADDRESS ON FILE
KITEUR ENTERPRISES, INC.             OR LOVES SOLTUIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KITEX USA LLC                        160 SUMMIT AVE MONTVALE NJ 07645
KITSON, ANDREW                       ADDRESS ON FILE
KITSON, JACOB                        ADDRESS ON FILE
KITT, CAMERON                        ADDRESS ON FILE
KITT, LOUISE M                       ADDRESS ON FILE
KITTLE EXCAVATING COMPANY            183 KITTLE RD FLEMINGTON WV 26347
KITTLE, KEITH                        ADDRESS ON FILE
KITTRELL, ANTHONY                    ADDRESS ON FILE
KITTRELL, DARRELL D                  ADDRESS ON FILE
KITTRICH CORP                        1585 W MISSION BLVD POMONA CA 91766
KITTS, ROBERT                        ADDRESS ON FILE
KITTY CAT CARRIER LLC                4041 POWDER MILL RD, SUITE 310 UNIT 301 BELTSVILLE MD 20705
KITTY TRANSPORTATION LLC             OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
KITZMILLER, CHRISTIE                 ADDRESS ON FILE
KITZMILLER, CHRISTIE                 ADDRESS ON FILE
KITZMILLER, EUGENE                   ADDRESS ON FILE
KIV CARGO LLC                        OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
KIVI, THOMAS                         ADDRESS ON FILE
KIWI LOGISTICS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KIWI TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KIYA EXPRESS LLC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
KIYOSHI, PHILLIP MANNY               ADDRESS ON FILE
KIZER FIRE PROTECTION COMPANY, LLC   PO BOX 267 LEXINGTON TN 38351
KJ CARRIERS LLC                      18203 W DEVONSHIRE AVE GOODYEAR AZ 85395
KJ FREIGHT LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KJ LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
KJ TOOLS LLC                         3260 W 2700 S SYRACUSE UT 84075
KJ TRANSPORT, INC.                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KJ1 TRUCKING LLC                     PO BOX 362 N HOUSTON BLVD CENTERVILLE GA 31028
KJA TRUCKING LLC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
KJAJ TRUCKING LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KJAM TRANSPORT LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KJB TRANSPORTATION INC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
KJELDGAARD, MIKE                     ADDRESS ON FILE
KJELL ANDREW BAUMGARTEN              ADDRESS ON FILE
KJELL P ENGEBRETSEN                  ADDRESS ON FILE
KJK TRUCKING                         24710 MEADOW CREEK CT. ACAMPO CA 95220
KJM WORLDWIDE LLC                    OR TRIUMPH FINANCIAL SERVICES PO BOX 610028 DALLAS TX 75261-0028
KJR & SONS TRUCKING SERVICE LLC      OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244



Epiq Corporate Restructuring, LLC                                                               Page 1055 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1064 of 2156

Claim Name                          Address Information
KJS CARRIERS INC                    OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE AB L6A 1S5 CANADA
KJV EXPRESS                         12329 HIGH COUNTRY DR BAKERSFIELD CA 93312
KK CARRIER INC (FONTANA CA)         OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
KK PENNER TIRE CENTERS INC          BOX 9 BLUMENORT MB R0A 0C0 CANADA
KK SAFEWAY LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KK TRUCKING EXPRESS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KKAY WAY TRANSPORT LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KKCB ENTERPRISE LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KKM HOLDINGS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
KKM TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
KKR LOGISTICS LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
KL & A TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KL HARDY TRUCKING LLC               OR RIVIERA FINANCE OF PHILADELPHIA, INC PO BOX 713394 PHILADELPHIA PA
                                    19171-3394
KL LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KL PRICE TRUCKING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KLAAHSEN, RYAN                      ADDRESS ON FILE
KLABEN CHRYSLER                     1338 W. MAIN ST. KENT OH 44240
KLAESER, JASON                      ADDRESS ON FILE
KLAGES, RICHARD                     ADDRESS ON FILE
KLAGGE, DAVID                       ADDRESS ON FILE
KLAHOLD, KIMBALL                    ADDRESS ON FILE
KLAMATH COUNTY JUSTICE COURT        6500 S 6TH ST KLAMATH FALLS OR 97603
KLAMECKI, CHRISTOPHER               ADDRESS ON FILE
KLANN, GREG                         ADDRESS ON FILE
KLAPACZ, MICHAEL                    ADDRESS ON FILE
KLARICH, JOHN                       ADDRESS ON FILE
KLASHORST, AMBER                    ADDRESS ON FILE
KLASHORST, AMBER L                  ADDRESS ON FILE
KLASSEN, MICHELE                    ADDRESS ON FILE
KLATKA, CHRISTOPHER                 ADDRESS ON FILE
KLATT EQUIPMENT, INC.               5969 S PENNSYLVANIA CUDAHY WI 53110
KLATT EQUIPMENT, INC.               PO BOX 100118 CUDAHY WI 53110
KLATT, JACOB                        ADDRESS ON FILE
KLAUKE, CHRISTOPHER                 ADDRESS ON FILE
KLAYMAN, ALEXANDER                  ADDRESS ON FILE
KLC BROKERAGE, INCORPORATED         2111 EAST PRATT BLVD ELK GROVE VILLAGE IL 60007
KLC TRANSPORTATION LLC              OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
KLCO, TREVOR                        ADDRESS ON FILE
KLEA TRANSPORTATION INC             OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
KLEBS, GREG                         ADDRESS ON FILE
KLECAN, ADAM                        ADDRESS ON FILE
KLECKNER, JASON                     ADDRESS ON FILE
KLEE, FRANK                         ADDRESS ON FILE
KLEE, JACOB                         ADDRESS ON FILE
KLEIN TRANSPORTATION CORP           15245 MANOR LN HOMER GLEN IL 60491
KLEIN, DOUGLAS                      ADDRESS ON FILE
KLEIN, HENRY                        ADDRESS ON FILE
KLEIN, MARY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1056 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1065 of 2156

Claim Name                           Address Information
KLEIN, SEAN W                        ADDRESS ON FILE
KLEIN, TOM                           ADDRESS ON FILE
KLEIN, WILLIAM                       ADDRESS ON FILE
KLEINEN, JESSE                       ADDRESS ON FILE
KLEINERT, BERNARD                    ADDRESS ON FILE
KLEINEWEBER, ROGER                   ADDRESS ON FILE
KLEINHEKSEL, JOHN                    ADDRESS ON FILE
KLEINJANS, STANLEY                   ADDRESS ON FILE
KLEINSCHMIDT INC.                    450 LAKE COOK RD, DEERFIELD IL 60015
KLEINSCHMIDT INC.                    PO BOX 7158 DEERFIELD IL 60015
KLEINSCHMIDT, HAROLD                 ADDRESS ON FILE
KLEINSCHMIT TRUCKING, INC.           88780 HWY. 57 HARTINGTON NE 68739-6113
KLEIST, JEFFREY                      ADDRESS ON FILE
KLEMP, LYNNE                         ADDRESS ON FILE
KLEMS, MICHAEL                       ADDRESS ON FILE
KLEOPPEL, GARRETT                    ADDRESS ON FILE
KLEPAREK, MARTIN                     ADDRESS ON FILE
KLEPPS, DANIEL                       ADDRESS ON FILE
KLF LOGISTICS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KLF TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KLH TRANSPORT LLC                    3321 N COUNTY RD H CATO WI 54230
KLICH, JEFFERY                       ADDRESS ON FILE
KLIESE, NICHOLAS                     ADDRESS ON FILE
KLIGYS, DEIDRE                       ADDRESS ON FILE
KLIM INC                             OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
KLIMCHAK, BRIAN                      ADDRESS ON FILE
KLIME INC                            PO BOX 962 RIO LINDA CA 95673
KLIMECKO, DARYL                      ADDRESS ON FILE
KLINCK, AUSTIN                       ADDRESS ON FILE
KLINE & CO                           PO BOX 798 FAIRLAND OK 74343
KLINE, ERIK                          ADDRESS ON FILE
KLINE, JOE                           ADDRESS ON FILE
KLINE, JOE                           ADDRESS ON FILE
KLINE, JOHN                          ADDRESS ON FILE
KLINE, KENNETH                       ADDRESS ON FILE
KLINE, RODNEY                        ADDRESS ON FILE
KLINE, SCOTT                         ADDRESS ON FILE
KLINE, STEPHEN                       ADDRESS ON FILE
KLINE, STEPHEN                       ADDRESS ON FILE
KLINE, SYLVIA                        ADDRESS ON FILE
KLINE, TODD                          ADDRESS ON FILE
KLINE, TROY                          ADDRESS ON FILE
KLINEFELDT, LINDA                    ADDRESS ON FILE
KLINETOBE, JAMES                     ADDRESS ON FILE
KLING, DANIEL                        ADDRESS ON FILE
KLINGAMAN, JASON                     ADDRESS ON FILE
KLINGBEIL, JEREMY                    ADDRESS ON FILE
KLINGBEIL, RONALD L                  ADDRESS ON FILE
KLINGELHOFER, JOHN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1057 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1066 of 2156

Claim Name                           Address Information
KLINGELSMITH, JEFFREY                ADDRESS ON FILE
KLINGENSMITH, DALTON                 ADDRESS ON FILE
KLINGER, DON                         ADDRESS ON FILE
KLINGER, MARK                        ADDRESS ON FILE
KLINGER, MICHAEL                     ADDRESS ON FILE
KLINGER, NICHOLAS                    ADDRESS ON FILE
KLINGLER, SHAWN                      ADDRESS ON FILE
KLINGSHIRN & SONS TRUCKING, INC.     P O BOX 98 BURKETTSVILLE OH 45310
KLINGSHIRN, CRAIG                    ADDRESS ON FILE
KLINK EQUIPMENT, LLC                 W1970 C INDUSTRIAL DR FREEDOM WI 54130
KLINKEL, CAMERON                     ADDRESS ON FILE
KLINKERS, TAMI                       ADDRESS ON FILE
KLINKNER, PAUL                       ADDRESS ON FILE
KLINKOSH, ALLISON                    ADDRESS ON FILE
KLINKOSH, JOHN                       ADDRESS ON FILE
KLIPPERT, TRACY                      ADDRESS ON FILE
KLITZKE, MARVIN                      ADDRESS ON FILE
KLJ TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
KLJUCO, SAMIR                        ADDRESS ON FILE
KLKL TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KLLM                                 135 RIVERVIEW DR RICHLAND 39218
KLM LOGISTICS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KLM TRANS INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
KLMB TRANSPORTATION INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KLME LOGISTICS GROUP LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
KLO TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KLOCK, LEON                          ADDRESS ON FILE
KLOCKE, WESLEY                       ADDRESS ON FILE
KLOEP, BENJAMIN                      ADDRESS ON FILE
KLOEP, JAMES                         ADDRESS ON FILE
KLOEP, JIMMY                         ADDRESS ON FILE
KLOEP, KYLE                          ADDRESS ON FILE
KLOEP, KYLE                          ADDRESS ON FILE
KLOEPPING, KENNETH                   ADDRESS ON FILE
KLOEPPING, THOMAS                    ADDRESS ON FILE
KLON ENTERPRISES INC                 244 CAMBRIDGE RD DES PLAINES IL 60016
KLOPP, PETER                         ADDRESS ON FILE
KLOSS, JOHN                          ADDRESS ON FILE
KLOTZ, BRENT                         ADDRESS ON FILE
KLOTZ, STEVEN                        ADDRESS ON FILE
KLOUBEK, PETR                        ADDRESS ON FILE
KLP TRUCKING & TRANSPORTATION        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KLR TRANSPORTATION LLC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
KLUCHUROSKY, GREGORY                 ADDRESS ON FILE
KLUESNER, TACY                       ADDRESS ON FILE
KLUG TRANSPORT, INC.                 5813 HWY DD FARMINGTON MO 63640
KLUG, CHRISTOPHER                    ADDRESS ON FILE
KLUG, DANIEL                         ADDRESS ON FILE
KLUG, KYLE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1058 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1067 of 2156

Claim Name                               Address Information
KLUGE SERVICES                           2013 VONDRON RD MADISON WI 53716
KLUGE SERVICES                           PO BOX 75 WILD ROSE WI 54984
KLUSMAN, GREG                            ADDRESS ON FILE
KLUSMAN, WILLIAM                         ADDRESS ON FILE
KLUTTZ, MICHAEL                          ADDRESS ON FILE
KLUXEN, MICHAEL                          ADDRESS ON FILE
KLUXEN, MICHAEL                          ADDRESS ON FILE
KLV LLC                                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KLW TRANSFER LLC                         OR FLAT RATE FUNDING GROUP, LLC P.O. BOX 150581 OGDEN UT 84415
KLX LLC                                  OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
KLY EXPRESS LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KLYM SPIRIT INCORPORATED                 OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
KM CARRIER INC                           OR PARTNERS FUNDING, INC., PO BOX 5431 CAROL STREAM IL 60197-5431
KM FREIGHT LINE LLC                      64 RENEE CT JACKSON NJ 08527
KM LOGISTICS                             4375 S. KANSAS AVE. MILWAUKEE WI 53235
KM NATIONWIDE TRANSPORTATION LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KM TRANSPORT LLC                         15447 468TH AVE STOCKHOLM SD 57264
KMAN SERVICES                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KMASH LOGISTICS LLC                      5299 LINCOLN HWY W THOMASVILLE PA 17364
KMB LOGISTICS GROUP INC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
KMBS LLC                                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KMCI TRANSPORTATION                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KMD TRANSPORTATION INC                   OR ROYALTY CAPITAL, INC., P.O. BOX 842205 DALLAS TX 75284
KME LOGISTIC LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KMENT, CASADY                            ADDRESS ON FILE
KMH TRANSPORT LLC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
KMI, INC.                                ATTN: PAM HUBBARD 2010 RAILROAD ST STATHAM GA 30666
KMJ LOGISITICS                           2134 S RENE DRIVE SANTA ANA CA 92704
KMJ LOGISTICS LLC                        OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
KML CARRIERS, LLC                        OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
KML EXPRESS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KMR TRUCK PARTS AND SERVICE OF MISSOURI 33605 E US HWY 50 LEES SUMMIT MO 64086
KMS EXPRESS INC (ELK GROVE VILLAGE IL)   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
KMS HUTCH                                ATTN: KYLE HOUGH 3401 E 4TH AVE HUTCHINSON KS 67501
KMS TRANS INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KMS TRANS INC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KMU PERFORMANCE LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
KN EXPRESS INC                           OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
KN LOGISTICS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KNAFF, ROBERT                            ADDRESS ON FILE
KNAGA LOGISTICS LLC                      OR AEROFUND FINANCIAL, INC., 6910 SANTA TERESA BLVD SAN JOSE CA 95119
KNAPP TRUCKING LLC                       OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
KNAPP, CHARLES                           ADDRESS ON FILE
KNAPP, CHRISTOPHER                       ADDRESS ON FILE
KNAPP, EDWARD                            ADDRESS ON FILE
KNAPP, JEFFREY                           ADDRESS ON FILE
KNAPP, JOHN                              ADDRESS ON FILE
KNAPP, STEVEN                            ADDRESS ON FILE
KNAPP, TOM L                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1059 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1068 of 2156

Claim Name                           Address Information
KNAPP, VIC                           ADDRESS ON FILE
KNAPP, WILLIAM                       ADDRESS ON FILE
KNAPPEN, EDWARD                      ADDRESS ON FILE
KNAR EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KNARR, RICKI                         ADDRESS ON FILE
KNAUSS, RONALD R                     ADDRESS ON FILE
KND TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
KND TRANSPORTATION LLC               OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
KNECHT, DANIEL                       ADDRESS ON FILE
KNEESE, JAMES                        ADDRESS ON FILE
KNEPP, LAURA                         ADDRESS ON FILE
KNEPPER, TIMOTHY                     ADDRESS ON FILE
KNEPPYS FIREWORKS INC.               PO BOX 253 WINBURNE PA 16879-0253
KNESE ENTERPRISES INC                PO BOX 475 FLORAL PARK NY 11002
KNETTER, RHONDA                      ADDRESS ON FILE
KNF NEILLE OLSON                     C/O ECHO GLOBAL LOGISTICS, 600 W CHICAGO AVE 725 CHICAGO IL 60654
KNF TRANSPORT LLC                    OR INTEGRA FUNDING SOLUTIONS, LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
KNIBBS, STEPHEN                      ADDRESS ON FILE
KNICKERBOCKER BED CO                 770 COMMERCIAL AVE CARLSTADT NJ 07072
KNICKERBOCKER BED COMPANY            ATTN: LAZAR POLEVOY 770 COMMERCIAL AVE CARLSTADT NJ 07072
KNICKERBOCKER RUSSELL CO. INC.       4759 CAMPBELLS RUN RD. PITTSBURGH PA 15205
KNICKERBOCKER, CHARLES               ADDRESS ON FILE
KNICKERBOCKER, CHARLES               ADDRESS ON FILE
KNICKERBOCKER, KEVIN                 ADDRESS ON FILE
KNIEFEL, WILLIAM E                   ADDRESS ON FILE
KNIFE RIVER MATERIALS                PO BOX 1427 ROSEBURG OR 97470
KNIFE RIVER MATERIALS                PO BOX 1145 MEDFORD OR 97501
KNIGHT CARPET CO                     3401 N 1ST ST ABILENE TX 79603
KNIGHT JR, RICHARD                   ADDRESS ON FILE
KNIGHT LOGISTICS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KNIGHT RIDER EXPRESS, LLC            370 WHITING RD WEBSTER NY 14580
KNIGHT RIDERS TRANS LLC              OR TRANSPORTATION PERFORMANCE SOLUTONS, PO BOX 45 HUNTINGBURG IN 47542
KNIGHT RYDERS TRANSPORT INC          OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
KNIGHT STORAGE TRAILER, LLC          P.O. BOX 4632 OCALA FL 34478
KNIGHT SWEEPING                      P.O. BOX 2595 SPARKS NV 89432
KNIGHT TRAIN EXPRESS LLC             OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KNIGHT TRAIN TRUCKING LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KNIGHT TRANSPORTATION                C/O HIRST APPLEGATE LLP ATTN: RICHARD A. MINCER P.O. BOX 1083 CHEYENNE WY
                                     82003
KNIGHT TRANSPORTATION                20002 N 19TH AVE PHOENIX 85027
KNIGHT TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KNIGHT, AARON                        ADDRESS ON FILE
KNIGHT, ASHLEY                       ADDRESS ON FILE
KNIGHT, BLAIR                        ADDRESS ON FILE
KNIGHT, BRANDON                      ADDRESS ON FILE
KNIGHT, BRIAN                        ADDRESS ON FILE
KNIGHT, DALLAS                       ADDRESS ON FILE
KNIGHT, DOLRELL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1060 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1069 of 2156

Claim Name                           Address Information
KNIGHT, EDWARD                       ADDRESS ON FILE
KNIGHT, FLEMING                      ADDRESS ON FILE
KNIGHT, HAKHIEM                      ADDRESS ON FILE
KNIGHT, JACK                         ADDRESS ON FILE
KNIGHT, JAHEIM                       ADDRESS ON FILE
KNIGHT, JAMAL                        ADDRESS ON FILE
KNIGHT, JEROME                       ADDRESS ON FILE
KNIGHT, JODIE A                      ADDRESS ON FILE
KNIGHT, JOHN                         ADDRESS ON FILE
KNIGHT, JOHNNY                       ADDRESS ON FILE
KNIGHT, JOSEPH                       ADDRESS ON FILE
KNIGHT, KEVIN                        ADDRESS ON FILE
KNIGHT, LARRY                        ADDRESS ON FILE
KNIGHT, LEVI                         ADDRESS ON FILE
KNIGHT, LLOYD                        ADDRESS ON FILE
KNIGHT, MICHAEL                      ADDRESS ON FILE
KNIGHT, MICHAEL                      ADDRESS ON FILE
KNIGHT, RAYMAR                       ADDRESS ON FILE
KNIGHT, STEVEN                       ADDRESS ON FILE
KNIGHT, TERRY                        ADDRESS ON FILE
KNIGHT, THOMAS                       ADDRESS ON FILE
KNIGHT, THOMAS                       ADDRESS ON FILE
KNIGHT-SWIFT TRANSPORTATION          PO BOX 71963 CHICAGO IL 60694
KNIGHTEN, JAMES                      ADDRESS ON FILE
KNIGHTON, JEROME                     ADDRESS ON FILE
KNIGHTS PLUMBING                     PO BOX 590639 HOUSTON TX 77259
KNIGHTS TRUSTED TRUCKING LLC         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
KNIPP, ROBERT                        ADDRESS ON FILE
KNIPPER, KELLYLYNN                   ADDRESS ON FILE
KNIPPLE, CHERRY                      ADDRESS ON FILE
KNISELY & SONS, INC.                 125 EAST PITT STREET BEDFORD PA 15522
KNITTLE, TIMOTHY                     ADDRESS ON FILE
KNITTLES TOWING                      2412 JEFFERSON ST. NE ALBUQUERQUE NM 87110
KNL LOGISTICS                        OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
KNM EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KNM SERVICES INC                     PO BOX 1828 WATERLOO IA 50704
KNM TRANSPORT INC                    OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
KNN                                  10505 SAILPOINTE AVE STOCKTON CA 95219
KNOBLAUCH, DONALD                    ADDRESS ON FILE
KNOBLETT, RANDY                      ADDRESS ON FILE
KNOCK KNOCK LLC                      ATTN: LENA MARION 6695 GREEN VALLEY CIR CULVER CITY CA 90230
KNOCKOUT SUPPLIES                    ATTN: MICHAEL KROITOR 3315 SW 13TH ST STE 205 OCALA FL 34474
KNOCKOUT TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KNODEL, RODNEY                       ADDRESS ON FILE
KNOFF, JERRED                        ADDRESS ON FILE
KNOLL INC                            1235 WATER ST EAST GREENVILLE PA 18041
KNOLL, ROBERT                        ADDRESS ON FILE
KNOLL, SEAN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1061 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1070 of 2156

Claim Name                          Address Information
KNOOP, DENNIS                       ADDRESS ON FILE
KNOPP, TERESA                       ADDRESS ON FILE
KNOPPEL, MARK                       ADDRESS ON FILE
KNOR, SCOTT                         ADDRESS ON FILE
KNOR, TYLER                         ADDRESS ON FILE
KNOTEK, ALLEN                       ADDRESS ON FILE
KNOTEK, KYLE                        ADDRESS ON FILE
KNOTH, DEWITT                       ADDRESS ON FILE
KNOTT, SHARON                       ADDRESS ON FILE
KNOTT, WILLIAM                      ADDRESS ON FILE
KNOTTS, KENDRID R                   ADDRESS ON FILE
KNOTTS, RICHARD                     ADDRESS ON FILE
KNOTTS, WESLEY                      ADDRESS ON FILE
KNOW HOW AUTO                       2116 NY 208 MONTGOMERY NY 12549
KNOWLDEN, DAVID                     ADDRESS ON FILE
KNOWLEDGE IN A BOX LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
KNOWLES ONSITE REPAIR               7481 NORTH PALAFOX ST PENSACOLA FL 32503
KNOWLES TRUCK SERVICE LLC           3145 FLEENOR RD MITCHELL IN 47446
KNOWLES, BRUCE                      ADDRESS ON FILE
KNOWLES, GREGORY                    ADDRESS ON FILE
KNOWLES, PAUL                       ADDRESS ON FILE
KNOWLES, STANLEY                    ADDRESS ON FILE
KNOWLES, STANLEY D                  ADDRESS ON FILE
KNOWLES, STEVE L                    ADDRESS ON FILE
KNOWLES, THOMAS                     ADDRESS ON FILE
KNOWLTON TOWING, INC.               7609 W HATCHER PEORIA AZ 85345
KNOX CANYON TRANSPORT LLC           OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
KNOX COUNTY CLERK                   PO BOX 1566 KNOXVILLE TN 37901
KNOX COUNTY CLERK                   300 MAIN STREET STE 219 KNOXVILLE TN 37902
KNOX COUNTY TRUSTEE                 PO BOX 70 KNOXVILLE TN 37901
KNOX COUNTY TRUSTEE                 FRED SISK, P.O. BOX 70 KNOXVILLE TN 37901-0070
KNOX FIRE EXTINGUISHER              1201 UNIVERSITY AVE KNOXVILLE TN 37921
KNOX III, ROBERT                    ADDRESS ON FILE
KNOX ROYAL BRASS AND HOSE           PO BOX 51468 KNOXVILLE TN 37950
KNOX TRAILERS INC                   2607 MIDDLEBROOK PIKE KNOXVILLE TN 37921
KNOX, DARION                        ADDRESS ON FILE
KNOX, EDWARD                        ADDRESS ON FILE
KNOX, EMANUEL                       ADDRESS ON FILE
KNOX, HILARY                        ADDRESS ON FILE
KNOX, RAYMOND                       ADDRESS ON FILE
KNOX, ROBERT D                      ADDRESS ON FILE
KNOX, SAMUEL                        ADDRESS ON FILE
KNOX, SEDRICK                       ADDRESS ON FILE
KNOX, STACY                         ADDRESS ON FILE
KNOX, STEVEN                        ADDRESS ON FILE
KNPM TRUCKING                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
KNR ENTERPRISE LLC                  4122 L ST PHILADELPHIA PA 19124-5347
KNS LOGISTICS GROUP INC             OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
KNT EXPRESS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                              Page 1062 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1071 of 2156

Claim Name                               Address Information
KNT FREIGHT LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KNU LLC                                  ATTN: ROBERT WORBINGTON 1300 N BROAD LELAND MS 38756
KNUDSEN TRUCKING INC                     N1811 785TH ST HAGER CITY WI 54014
KNUDSEN, SARAH L                         ADDRESS ON FILE
KNUDSON, JOEL                            ADDRESS ON FILE
KNUDSON, KELSIE                          ADDRESS ON FILE
KNUTSON, GARY                            ADDRESS ON FILE
KNUTSON, KYLE                            ADDRESS ON FILE
KNUTSON, MICHAEL J                       ADDRESS ON FILE
KNZ TRANSWINNERS LLC                     OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
KO ELITE TRANSIT INC                     280 CRESTVIEW BLVD COMMERCE TWP MI 48390
KOAHL S DESHAZER                         ADDRESS ON FILE
KOBAN TRUCKING LLC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
KOBE EXPRESS                             1232 INGLE RD SUITE B WAYLAND MI 49348
KOBE M EDLUND                            ADDRESS ON FILE
KOBERNA, ROBERT                          ADDRESS ON FILE
KOBERNUSZ, SHAUN                         ADDRESS ON FILE
KOBESKE, MICHAEL                         ADDRESS ON FILE
KOBILKA, ANTHONY                         ADDRESS ON FILE
KOBISTEK, JOHN                           ADDRESS ON FILE
KOBLE, VICTOR                            ADDRESS ON FILE
KOBOAT TRUCKING LLC                      OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
KOCAK TRANSPORTATION AND LOGISTICS INC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KOCEV TRUCKING INC                       OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320-5154
KOCH AIR INDIANAPOLIS                    5620 DIVIDEND RD INDIANAPOLIS IN 46241
KOCH EXPRESS INC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KOCH EXPRESS INC                         OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320
KOCH FILTER                              8401 AIR COMMERCE DR LOUISVILLE KY 40219
KOCH LOGISTICS                           ATTN: PA MOUA PO BOX 4239 ST PAUL MN 55101
KOCH LOGISTICS                           PO BOX 4239 SAINT PAUL MN 55165
KOCH, BRIAN                              ADDRESS ON FILE
KOCH, CARL                               ADDRESS ON FILE
KOCH, CRAIG                              ADDRESS ON FILE
KOCH, CURTIS                             ADDRESS ON FILE
KOCH, DAVID                              ADDRESS ON FILE
KOCH, DRAKLEY                            ADDRESS ON FILE
KOCH, EDWARD                             ADDRESS ON FILE
KOCH, HEATHER                            ADDRESS ON FILE
KOCH, KEITH                              ADDRESS ON FILE
KOCH, KEVIN                              ADDRESS ON FILE
KOCH, LESLEY                             ADDRESS ON FILE
KOCH, MICHAEL                            ADDRESS ON FILE
KOCH, THOMAS                             ADDRESS ON FILE
KOCHANI TRUCKING INC                     1229 HARTMANN DR SCHAUMBURG IL 60193
KOCHANOWSKI, DAVID                       ADDRESS ON FILE
KOCHEL EQUIPMENT CO, INC                 3030 RIDGE RD ELVERSON PA 19520
KOCHERSBERGER, THEODORE                  ADDRESS ON FILE
KOCHESKI, PETER                          ADDRESS ON FILE
KOCHEVAR, MADELEINE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1063 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1072 of 2156

Claim Name                           Address Information
KOCHIS, RICKY                        ADDRESS ON FILE
KODAK                                100 LATONA RD BLDG 326 ROCHESTER NY 14652
KODAK                                ATTN: DONALD ROOT 100 LATONA RD B326 RM 316 ROCHESTER NY 14652
KODAL TRANSPORT INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
KODAM, SWATHI                        ADDRESS ON FILE
KODEX GROUP INC                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KODIAK EQUIPMENT, INC.               1603 ENGLE CREEK RD BARNHART MO 63012
KODIAK LOGISTICS LLC                 OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
KODIAK TRUCKING, LLC                 131 HAGUE CIR PARKER CO 80138
KODY TEXAS ENTERPRISES LLC           11115 BLUE FEATHER DR HOUSTON TX 77064-4366
KOEBEL, STEVEN                       ADDRESS ON FILE
KOEGER TRUCKING LLC                  DBA THE DRAYAGE COMPANY LLC, PO BOX 708 BENTON MO 63736
KOEHLE, MATTHEW                      ADDRESS ON FILE
KOEHLER, ALVIN                       ADDRESS ON FILE
KOEHLER, JOHN                        ADDRESS ON FILE
KOEHLER, MICHEAL                     ADDRESS ON FILE
KOELLING, JACOB R                    ADDRESS ON FILE
KOENEN, NIKOLE                       ADDRESS ON FILE
KOENIG, GREGORY                      ADDRESS ON FILE
KOENIG, JOSEPH                       ADDRESS ON FILE
KOENIGSKNECHT, GARY                  ADDRESS ON FILE
KOEPFER, SEAN                        ADDRESS ON FILE
KOERNER, ELVIS                       ADDRESS ON FILE
KOERNER, ERIN                        ADDRESS ON FILE
KOESTER METALS INC                   ATTN: KAIA DONAY 301 W WATER ST FREMONT IN 46737
KOESTER, KENT                        ADDRESS ON FILE
KOESTERS BODY SHOP                   6818 US HWY 30 E FORT WAYNE IN 46803
KOETTNER, JACOB                      ADDRESS ON FILE
KOF TRANSPORTATION LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KOFRON, JOSEPH                       ADDRESS ON FILE
KOG TRANSPORTATION, LLC              OR TREADSTONE US CAPITAL, LLC, PO BOX 631627 CINCINNATI OH 45263-1627
KOGELMAN, APRIL                      ADDRESS ON FILE
KOGELMAN, MARK                       ADDRESS ON FILE
KOGLER EQUIPMENT SERVICE INC         8155 INDUSTRIAL DR OLIVE BRANCH MS 38654
KOGUT, MARK                          ADDRESS ON FILE
KOHAUT, KEVIN                        ADDRESS ON FILE
KOHEL INTERSTATE TRANSPORT CORP.     1425 E RAMSDELL ST MARION WI 54950
KOHEL, MARVIN                        ADDRESS ON FILE
KOHL, JOHNNY E                       ADDRESS ON FILE
KOHL, JOSHUA                         ADDRESS ON FILE
KOHLER CO                            444 HIGHLAND DRIVE MAIL STOP 106 KOHLER WI 53044
KOHLER CO                            ATTN: KIM SIP 444 HIGHLAND DRIVE MAILS STOP 106 KOHLER WI 53044
KOHLER CO                            ATTN: KIM SIPPEL 444 HIGHLAND DRIVE MAILS STOP 106 KOHLER WI 53044
KOHLER CO                            MAIL STOP 106, 444 HIGHLAND DR KOHLER WI 53044
KOHLER COMPANY                       ATTN: KIM SIPPEL 444 HIGHLAND DR MAIL STOP 106 KOHLER WI 53044
KOHLER, DALTON C                     ADDRESS ON FILE
KOHLER, DEBBY                        ADDRESS ON FILE
KOHLER, KASEY                        ADDRESS ON FILE
KOHLER, MATT                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1064 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1073 of 2156

Claim Name                          Address Information
KOHLER, RONALD                      ADDRESS ON FILE
KOHLER, ZACHARY                     ADDRESS ON FILE
KOHLER, ZACHARY L                   ADDRESS ON FILE
KOHLS, RICHARD                      ADDRESS ON FILE
KOHMAN, JAMES L                     ADDRESS ON FILE
KOHOL, CHRISTIAN                    ADDRESS ON FILE
KOI AUTO PARTS                      11849 KEMPER SPRINGS DR CINCINNATI OH 45240
KOI ENTERPRISES, INC.               D/B/A: KOI AUTO PARTS 11849 KEMPER SPRINGS DR CINCINNATI OH 45240
KOITHAN, DOUGLAS                    ADDRESS ON FILE
KOK GLOBAL                          OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
KOKENY, RICHARD                     ADDRESS ON FILE
KOKOB TRANSPORT LLC                 OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KOKOFU, ERNEST                      ADDRESS ON FILE
KOKOSKA, MICHAEL J                  ADDRESS ON FILE
KOLADE LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KOLB, MICHAEL                       ADDRESS ON FILE
KOLCUN, DENNIS                      ADDRESS ON FILE
KOLE, DAVID                         ADDRESS ON FILE
KOLEILAT, MAHER                     ADDRESS ON FILE
KOLESAR, WAYNE                      ADDRESS ON FILE
KOLESNIKOV TRUCKING INC.            OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320
KOLESNIKOV, FEDOR                   ADDRESS ON FILE
KOLK, DEREK                         ADDRESS ON FILE
KOLKA LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KOLLA, GARY                         ADDRESS ON FILE
KOLLAR VARNER                       ADDRESS ON FILE
KOLLAR, JEFFREY                     ADDRESS ON FILE
KOLLAR, TIMOTHY                     ADDRESS ON FILE
KOLLECK, HEIDI                      ADDRESS ON FILE
KOLLECK, WILLIAM                    ADDRESS ON FILE
KOLLER, TIMOTHY                     ADDRESS ON FILE
KOLOAMATANGI, VUNA                  ADDRESS ON FILE
KOLOBOK INC                         3 GOLF CENTER UNITE 180 HOFFMAN ESTATES IL 60169
KOLONKAN LOGISTICS LLC              OR CARRIERNET GROUP FINANCIAL, PO BOX 1130 SIOUX FALLS SD 57101
KOLOVRAT EXPRESS, INC.              OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KOLSTER, MICHELLE                   ADDRESS ON FILE
KOLTON L TEACHEY                    ADDRESS ON FILE
KOM TRANSPORT INC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
KOMADINA, DAVID                     ADDRESS ON FILE
KOMANECK, STEVEN                    ADDRESS ON FILE
KOMANSKI, WALDEMAR                  ADDRESS ON FILE
KOMAR ANCHOR PLUMBING               PO BOX 3279 YOUNGSTOWN OH 44513
KOMAROCK LOGISTICS LLC              OR INTEGRA FUNDING SOLUTIONS, LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                    76116
KOMATSU FORKLIFT NORTHERN CAL       15868 COLLECTIONS CENTER DR CHICAGO IL 60693
KOMATSU FORKLIFT NORTHERN CAL       PO BOX 749389 LOS ANGELES CA 90074
KOMATZ, JESSE                       ADDRESS ON FILE
KOMELON USA                         ATTN: BILL AYERS N8W22380 JOHNSON DRIVE WAUKESHA WI 53186
KOMISARCIK, PHILLIP                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1065 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1074 of 2156

Claim Name                           Address Information
KOMMY LOGISTICS LLC                  OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
KOMOROWICZ, MAREK                    ADDRESS ON FILE
KOMP, NATHAN                         ADDRESS ON FILE
KOMPAS LOGISTICS INC                 OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
KON KRETE                            ADDRESS ON FILE
KON, MARK                            ADDRESS ON FILE
KONA TRANSPORTATION CO INC           74-5039A QUEEN KAAHUMANU HWY KAILUA KONA HI 96740
KONARSKE, TERRY                      ADDRESS ON FILE
KONCEPT LOGISTICS LLC                OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
KONCHAN, RICHARD                     ADDRESS ON FILE
KONCSICS, DAVID                      ADDRESS ON FILE
KONDOR EXPRESS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KONDRATOWICZ, PIOTR                  ADDRESS ON FILE
KONE INC.                            4156, PO BOX 894156 LOS ANGELES CA 90189
KONE INC.                            P.O. BOX 102425 PASADENA CA 91189
KONECNE, CASEY                       ADDRESS ON FILE
KONECRANES INC                       PO BOX 641807 PITTSBURGH PA 15264
KONECRANES INC                       CHA-CHARLOTTE, NC, 4205 STUART ANDREW BLVD, STE J CHARLOTTE NC 28217
KONECRANES, INC.                     PO BOX 644994 PITTSBURGH PA 15264
KONECRANES, INC.                     PO BOX 644994 PITTSBURGH PA 15264-4994
KONED LOGISTICS INC                  OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
KONEKT TRANSPORTATION INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KONETA INC                           PO BOX 644222 PITTSBURGH PA 15264
KONETA INC                           RO0016, PO BOX 644222 PITTSBURGH PA 15264
KONETA INC                           1400 LUNAR DR WAPAKONETA OH 45895
KONETA INC                           400 PARK ST WAPAKONETA OH 45895
KONETA INC                           PO BOX 150 WAPAKONETA OH 45895
KONETA INC                           PO BOX 150, 1400 LUNAR DRIVE WAPAKONETA OH 45895
KONG COMPANY                         16191 TABLE MOUNTAIN PKWY STE D GOLDEN CO 80403
KONG, TERRY                          ADDRESS ON FILE
KONHAUS, PAUL                        ADDRESS ON FILE
KONIGSBERG, LEAH                     ADDRESS ON FILE
KONIX LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
KONKOL, CALEB                        ADDRESS ON FILE
KONKOS TRANSPORTATION LLC            6212 W UMATILLA AVE KENNEWICK WA 99336
KONNEH TRANSPORTATION LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
KONOP, JOEL                          ADDRESS ON FILE
KONQUEST LOGISTICS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KONRAD TRANSPORT INC                 OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KONTAK, JAMES                        ADDRESS ON FILE
KONTZ, TERESA                        ADDRESS ON FILE
KONYNENBELT, ERIK                    ADDRESS ON FILE
KONZ, STACEY                         ADDRESS ON FILE
KONZELMAN, MARK                      ADDRESS ON FILE
KOOB AUTOMOTIVE & TOWING INC         110 W 11TH ST MONTICELLO IA 52310
KOOKEN, STACY                        ADDRESS ON FILE
KOOL RUNNINGS TRANSPORT              2053 OCTOBER DRIVE DURHAM NC 27703
KOOLA BUCK INC                       ATTN: NIKKI FREMER 494 SERVICE CENTER RD BROOKVILLE PA 15825
KOOLATRON                            4330 COMMERCE DR BATAVIA NY 14020



Epiq Corporate Restructuring, LLC                                                               Page 1066 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1075 of 2156

Claim Name                           Address Information
KOOM TRANSPORT INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
KOOMEN, JONATHAN                     ADDRESS ON FILE
KOONER FREIGHTLINES INC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KOONER LOGISTICS INC                 OR SOUND FINANCE CORPORATION, PO BOX 679281 DALLAS TX 75267-9281
KOONER ROADLINES INC                 OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
KOONER TRANSPORT GROUP               2931 CEDAR CREEK ROAD AYR ON N0B 1E0 CANADA
KOONER TRUCK LINES INC.              OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
KOONS TRUCKING, LLC                  PO BOX 25307 DALLAS TX 75225
KOONS, DAWSON                        ADDRESS ON FILE
KOONS, JAMES                         ADDRESS ON FILE
KOONTZ, HARRY                        ADDRESS ON FILE
KOONTZ, MARK                         ADDRESS ON FILE
KOONTZ, RALPH                        ADDRESS ON FILE
KOORSEN                              4725 HITCH PETERS RD. EVANSVILLE IN 47711
KOORSEN FIRE & SECURITY INC          875 SEVILLE RD WADSWORTH OH 44281
KOORSEN FIRE & SECURITY INC          2719 N ARLINGTON AVE INDIANAPOLIS IN 46218
KOPCHAR, CHARLES                     ADDRESS ON FILE
KOPCSO, RAYMOND                      ADDRESS ON FILE
KOPCZYNSKI, KAILEY                   ADDRESS ON FILE
KOPCZYNSKI, KURT                     ADDRESS ON FILE
KOPE, MATTHEW                        ADDRESS ON FILE
KOPELAND CARRIERS LLC                OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
KOPELEVICH, VIKTORIYA                ADDRESS ON FILE
KOPELEVICH, VIKTORIYA                ADDRESS ON FILE
KOPP, CHRIS                          ADDRESS ON FILE
KOPP, DAVID                          ADDRESS ON FILE
KOPP, ISAAC                          ADDRESS ON FILE
KOPP, NICHOLAS                       ADDRESS ON FILE
KOPPA, ZACHARY                       ADDRESS ON FILE
KOPPOS, RICK                         ADDRESS ON FILE
KOR EXPEDITE LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
KORAB, SCOTT                         ADDRESS ON FILE
KORANA TRANSIT INC                   540 NORTH AVE TALLMADGE OH 44278
KORAY CORPORATION                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KORBIN LOGISTICS LLC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
KORDUN EXPRESS INC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KORENEWSKY, JOSEPH                   ADDRESS ON FILE
KORENICH, WAYNE                      ADDRESS ON FILE
KORETZ, JOSEPH                       ADDRESS ON FILE
KORGAN, CAROL                        ADDRESS ON FILE
KORINEK, THOMAS                      ADDRESS ON FILE
KORING, JAMES                        ADDRESS ON FILE
KORMAN, BARTOSZ                      ADDRESS ON FILE
KORNMAIER, MARK                      ADDRESS ON FILE
KOROSA, JOHN                         ADDRESS ON FILE
KORPELA, MICK                        ADDRESS ON FILE
KORQAJ, RAMADAN                      ADDRESS ON FILE
KORRECT PLUMBING HEATING & A/C       7967 W 3RD ST DAYTON OH 45417



Epiq Corporate Restructuring, LLC                                                             Page 1067 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1076 of 2156

Claim Name                           Address Information
KORRECT PLUMBING HEATING & A/C       7967 WEST THIRD STREET DAYTON OH 45417-7561
KORTA, VICTOR                        ADDRESS ON FILE
KORTE, DOUG                          ADDRESS ON FILE
KORTE, PAUL                          ADDRESS ON FILE
KORTEE, JENNIFER                     ADDRESS ON FILE
KORZYM, KEVIN                        ADDRESS ON FILE
KOSA, BLAIR                          ADDRESS ON FILE
KOSAKOWSKI, NICK                     ADDRESS ON FILE
KOSCIOLEK, KENNETH                   ADDRESS ON FILE
KOSCIUCZYK, KRZYSZTOF                ADDRESS ON FILE
KOSGEI, AMOS                         ADDRESS ON FILE
KOSHT, GEORGE                        ADDRESS ON FILE
KOSIEK, EUGENE                       ADDRESS ON FILE
KOSINSKI, AUDRA                      ADDRESS ON FILE
KOSIR, PAUL                          ADDRESS ON FILE
KOSISKE, JOSHUA                      ADDRESS ON FILE
KOSKI TRUCKING, INC.                 P O BOX F HURLOCK MD 21643
KOSKI, ANDREW                        ADDRESS ON FILE
KOSKO SERVICES LLC                   OR ORANGE COMMERCIAL CREDIT, PO BOX 11099 OLYMPIA WA 98508-1099
KOSKOVICH, FRANK                     ADDRESS ON FILE
KOSORALO, MARCIN                     ADDRESS ON FILE
KOSSEN, MICHAEL & SUSANNE            ADDRESS ON FILE
KOST TRANSPORT LLC                   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
KOSTER, MICHAEL                      ADDRESS ON FILE
KOSTER, NATHAN                       ADDRESS ON FILE
KOSTIC INC                           OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KOSTOS, DANIEL                       ADDRESS ON FILE
KOSTROUN, HEATHER                    ADDRESS ON FILE
KOSTURIK, JOSEPH                     ADDRESS ON FILE
KOSTYK, DAVID                        ADDRESS ON FILE
KOSYSTEM LLC                         19584 CROSS TRL N STRONGSVILLE OH 44136-8201
KOSZEWSKI, EDWARD                    ADDRESS ON FILE
KOT LOGISTICS LLC                    OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
KOTCHERIAN, PAUL                     ADDRESS ON FILE
KOTCHIK, CHRISTOPHER                 ADDRESS ON FILE
KOTLA EXPRESS LLC                    2639 WALNUT HILL LN STE 108 DALLAS TX 75229
KOTLEWSKI, MARK                      ADDRESS ON FILE
KOTSKO, RICHARD                      ADDRESS ON FILE
KOTTKAMP, DALE                       ADDRESS ON FILE
KOTULA, JOHN                         ADDRESS ON FILE
KOTY, TYRONE                         ADDRESS ON FILE
KOUASSI, BI GOORE JULIS              ADDRESS ON FILE
KOUDOU, ROMUALD                      ADDRESS ON FILE
KOUEDJIN, KOFI                       ADDRESS ON FILE
KOULOUJIAN, ARAM                     ADDRESS ON FILE
KOULOUJIAN, HAGOP                    ADDRESS ON FILE
KOULOUJIAN, HAGOP                    ADDRESS ON FILE
KOUNDOG TRANSPORTATION LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KOURBATOV, KONSTANTIN                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1068 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1077 of 2156

Claim Name                           Address Information
KOVAC EXPRESS INC                    OR SAFINANCIAL GROUP INC, PO BOX 195 GRANGER IN 46530
KOVAC, RACHEL                        ADDRESS ON FILE
KOVACIK, NICHOLAS                    ADDRESS ON FILE
KOVACS, BRYAN                        ADDRESS ON FILE
KOVACS, JEFFREY                      ADDRESS ON FILE
KOVACS, MICHAEL                      ADDRESS ON FILE
KOVACS, STEVEN                       ADDRESS ON FILE
KOVAL SUPPLY                         65 SCOTT AVE MORGANTOWN WV 26508
KOVAL TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KOVALICK, CHRISTOPHER                ADDRESS ON FILE
KOVALICK, DANIEL                     ADDRESS ON FILE
KOVALICK, MICHAEL                    ADDRESS ON FILE
KOVALSCIK, JOSHUA                    ADDRESS ON FILE
KOVTUN INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KOWAL, MICHAEL J                     ADDRESS ON FILE
KOWALCZEWSKI, PATRICIA               ADDRESS ON FILE
KOWALCZIK, MICHAEL                   ADDRESS ON FILE
KOWALSKI MARTINEZ                    ADDRESS ON FILE
KOWALSKI, DAVID                      ADDRESS ON FILE
KOWALSKI, EDWARD                     ADDRESS ON FILE
KOWALSKI, KEVIN                      ADDRESS ON FILE
KOWALSKI, WALTER                     ADDRESS ON FILE
KOWASRI, JAVIE                       ADDRESS ON FILE
KOWING, JASON                        ADDRESS ON FILE
KOZA, JANICE                         ADDRESS ON FILE
KOZAK TRANSPORT INC                  OR MD FINANCE, INC, PO BOX 5202 BUFFFALO GROVE IL 60089
KOZAK, DAVID                         ADDRESS ON FILE
KOZAR, DEBBRAH                       ADDRESS ON FILE
KOZIEL, ANDREW                       ADDRESS ON FILE
KOZLOSKI, KEVIN                      ADDRESS ON FILE
KOZLOWSKI, MARK                      ADDRESS ON FILE
KOZNOWSKY, GARY                      ADDRESS ON FILE
KOZOVA TRANSPORT INC                 1649 MAPLE GROVE CT STREETSBORO OH 44241
KOZUBAL, GLEN                        ADDRESS ON FILE
KOZYKOWSKI, MICHAEL                  ADDRESS ON FILE
KPAKIWA, ALEX                        ADDRESS ON FILE
KPEGLO, KOKOU                        ADDRESS ON FILE
KPELAPAUZE, EMMANUEL                 ADDRESS ON FILE
KPETEMEY, ADJEODAH                   ADDRESS ON FILE
KPK TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KPM LOGISTICS LLC                    OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KPMG LLP                             DEPT 0522, PO BOX 120522 DALLAS TX 75312
KPMG LLP                             DEPT 0970, PO BOX 120970 DALLAS TX 75312
KPO LOGISTICS INC                    OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
KPO LOGISTICS INC                    OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
KPT TRUCKING INC                     PO BOX 432 DEMOTTE IN 46310
KR CARRIERS LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KR PERRY TRUCKING LLC                1885 CENTER MILLS ROAD ASPERS PA 17304
KRA TRUCKING EXPRESS LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, P.O. BOX 7410411



Epiq Corporate Restructuring, LLC                                                               Page 1069 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1078 of 2156

Claim Name                           Address Information
KRA TRUCKING EXPRESS LLC             CHICAGO IL 60674-0411
KRAATZ, KOREY                        ADDRESS ON FILE
KRACHT, MICHAEL                      ADDRESS ON FILE
KRACK, JOE                           ADDRESS ON FILE
KRAEMER, ROBERT                      ADDRESS ON FILE
KRAETON FREIGHT LLC                  OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KRAETSCH, JERALD                     ADDRESS ON FILE
KRAFT ENTERPRISES                    P.O. BOX 586 BELTON MO 64012
KRAFT TRUCKING LLC                   2000 WAYNE TRACE FORT WAYNE IN 46803
KRAGNES, BRENT                       ADDRESS ON FILE
KRAGNESS, JAMES                      ADDRESS ON FILE
KRAGT, AARON                         ADDRESS ON FILE
KRAHN, FRANK                         ADDRESS ON FILE
KRAHN, MIKE                          ADDRESS ON FILE
KRAJCIK, DANIEL                      ADDRESS ON FILE
KRAJEWSKI, FRANCIS                   ADDRESS ON FILE
KRAJNOVIC, NIKOLA                    ADDRESS ON FILE
KRAKOWSKI TRUCKING, INC.             1100 W SMITH RD MEDINA OH 44256
KRALIS, CHELSEY                      ADDRESS ON FILE
KRALIS, WILLIAM                      ADDRESS ON FILE
KRALL, JACOB                         ADDRESS ON FILE
KRALL, KEVIN                         ADDRESS ON FILE
KRAMER & FELDMAN, INC.               7636 PRODUCTION DRIVE CINCINNATI OH 45237
KRAMER, DANIEL                       ADDRESS ON FILE
KRAMER, DWAYNE                       ADDRESS ON FILE
KRAMER, DWAYNE                       ADDRESS ON FILE
KRAMER, FREDRICK                     ADDRESS ON FILE
KRAMER, GARY                         ADDRESS ON FILE
KRAMER, LYNN                         ADDRESS ON FILE
KRAMER, MADISON                      ADDRESS ON FILE
KRAMER, MOLLY                        ADDRESS ON FILE
KRAMER, PATRICK                      ADDRESS ON FILE
KRAMER, THOMAS                       ADDRESS ON FILE
KRAMER, TROY                         ADDRESS ON FILE
KRANAWETTER TRANSPORT LLC            RT 5 BOX 2228 PATTON MO 63662
KRANE, SHERRY                        ADDRESS ON FILE
KRANICH, NICHOLAS                    ADDRESS ON FILE
KRANSKE, PHILIP                      ADDRESS ON FILE
KRANZ AUTO BODY                      2012 TELEVISION PLACE KANSAS CITY MO 64126
KRANZ, LLOYD                         ADDRESS ON FILE
KRANZER, KYLE                        ADDRESS ON FILE
KRAR LOGISTICS LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KRASNENKOV, VADIM                    ADDRESS ON FILE
KRASNER, MICHAEL                     ADDRESS ON FILE
KRASNIQI DOUBLE EAGLE                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KRASNIQI TRANSPORTATION LLC          1801 E 5650 S OGDEN UT 84403
KRASOWSKI, JOSEPH P                  ADDRESS ON FILE
KRATER SERVICES, LLC                 445 HOBBIT HOLLOW RD ALTOONA PA 16601
KRATZ TRUCKING, INC.                 160 KEYSTONE DRIVE TELFORD PA 18969



Epiq Corporate Restructuring, LLC                                                               Page 1070 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1079 of 2156

Claim Name                           Address Information
KRATZER, ANDREW                      ADDRESS ON FILE
KRAUS DAIRY LLC                      OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KRAUS, JEFFREY                       ADDRESS ON FILE
KRAUS, SHELLY                        ADDRESS ON FILE
KRAUSE SHEET METAL & HEATING         2020 W 1ST ST DULUTH MN 55806
KRAUSE, CHRISTINE                    ADDRESS ON FILE
KRAUSE, KEITH                        ADDRESS ON FILE
KRAUSE, KEITH                        ADDRESS ON FILE
KRAUSE, T                            ADDRESS ON FILE
KRAUSE, WAYNE                        ADDRESS ON FILE
KRAUSNICK, JAMES                     ADDRESS ON FILE
KRAUSS, MARK                         ADDRESS ON FILE
KRAUSZ, TIMOTHY                      ADDRESS ON FILE
KRAWCZYK, THEODORE                   ADDRESS ON FILE
KRAYNYK, BOHDAN                      ADDRESS ON FILE
KRAZY K INC.                         11393 1400 ROAD FREDONIA KS 66736
KRC T & T LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KREBS, JOHN                          ADDRESS ON FILE
KREED LOGISTICS INC                  OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
KREFTA SNOW & ICE MANAGEMENT, LLC    223 RANGEWAY RAOD BILLERICA MA 01862
KREGEL, EMILY                        ADDRESS ON FILE
KREIDER, JEFFREY                     ADDRESS ON FILE
KREIGER, TIFFANY                     ADDRESS ON FILE
KREILKAMP TRUCKING, INC.             6487 HWY 175 ALLENTOWN WI 53002
KREIMEYER, NATHAN                    ADDRESS ON FILE
KREINER, PHYLLIS                     ADDRESS ON FILE
KREISER, LONNIE                      ADDRESS ON FILE
KREISER, RUSSELL                     ADDRESS ON FILE
KREISER, RYAN                        ADDRESS ON FILE
KREISL, RICHARD                      ADDRESS ON FILE
KREITZBURG, LORI                     ADDRESS ON FILE
KREMEN, VLAD                         ADDRESS ON FILE
KREMER TRUCKING, LLC                 452 MANTON RD BARDSTOWN KY 40004
KREMER, JOHN                         ADDRESS ON FILE
KRENN, GAIL                          ADDRESS ON FILE
KRENNER, JAMES                       ADDRESS ON FILE
KRENTSCHER, ROGER                    ADDRESS ON FILE
KRENZ EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
KREPEK, ROBERT                       ADDRESS ON FILE
KREPS, DAKOTA                        ADDRESS ON FILE
KRESEFSKI, RAYMOND B                 ADDRESS ON FILE
KRESOWATY, SCOTT                     ADDRESS ON FILE
KRESTON LOGISTICS LLC                OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
KRETER, RICHARD                      ADDRESS ON FILE
KRETZER, CHARLES                     ADDRESS ON FILE
KRETZER, WAYNE                       ADDRESS ON FILE
KREUN, PAMELA                        ADDRESS ON FILE
KREUSER, TRAVIS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1071 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1080 of 2156

Claim Name                              Address Information
KREYE, DONALD                          ADDRESS ON FILE
KREYLA EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KRG BAYONNE URBAN RENEWAL, LLC         ATTN: TORI YEAST 30 SOUTH MERIDIAN ST., SUITE 1 INDIANAPOLIS IN 46204
KRI CARRIER LLC                        OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
KRICHBAUM, K.C                         ADDRESS ON FILE
KRICHILSKY, ANDREW                     ADDRESS ON FILE
KRICK PLUMBING & HEATING COMPANY INC   5011 46TH AVE. HYATTSVILLE MD 20781
KRICKHAN, DAVID                        ADDRESS ON FILE
KRIEBLE, THEODORA                      ADDRESS ON FILE
KRIEG, HUGH                            ADDRESS ON FILE
KRIEG, MICHAEL                         ADDRESS ON FILE
KRIETE TRUCK CENTER MADISON            KRIETE GROUP, PO BOX 2208 DECATUR AL 35609
KRIKOR BARSOUMIAN                      DBA: WICKED MOTOR WORKS 21422 PARTHENIA STREET CANOGA PARK CA 91304
KRIKORIAN MOTORS INC                   432 FRANKLIN STREET WORCESTER MA 01604
KRIMINAL INC                           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
KRIMMER, WALTER                        ADDRESS ON FILE
KRINER, VAUGHN                         ADDRESS ON FILE
KRINGEN, ANGIE                         ADDRESS ON FILE
KRINKE, JOHN                           ADDRESS ON FILE
KRIS BREWER                            ADDRESS ON FILE
KRISCHARIS INTERNATIONAL LLC           OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
KRISHNA, AKASH                         ADDRESS ON FILE
KRISKE, JEFFERY E                      ADDRESS ON FILE
KRISSADA NOKIANGTHONG                  ADDRESS ON FILE
KRISTAL D BOLEN                        ADDRESS ON FILE
KRISTI DUKE                            ADDRESS ON FILE
KRISTIAAN PROVOST                      ADDRESS ON FILE
KRISTIN D ZIEGLER                      ADDRESS ON FILE
KRISTINAT, MATTHEW                     ADDRESS ON FILE
KRISTINE LEONARD                       ADDRESS ON FILE
KRISTOF, PHIL                          ADDRESS ON FILE
KRISTOPHER WILLIAMS                    ADDRESS ON FILE
KRK PETROLEUM ENGINEERING SOLUTIONS LLC 2929 PRAIRIE COURT LAWRENCE KS 66046
KRK PETROLEUM ENGINEERING SOLUTIONS LLC 1875 INDUSTRIAL WAY SPARKS NV 89431
KRL HOTSHOT SERVICES LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KRO TRUCKING INC.                      OR INTEGRATED LOGISTICS & ASSOCIATES, PO BOX 25189 FARMINGTON NY 14425
KROACH ENTERPRISES LLC                 KROACH ENTERPRISES LLC, 1230 WALTS ROAD GEORGETOWN IN 47122
KROCHOCK, STEVEN                       ADDRESS ON FILE
KROCK, JAMES                           ADDRESS ON FILE
KROETCH, TIM                           ADDRESS ON FILE
KROGER, RICHARD                        ADDRESS ON FILE
KROGSTAD, SAMUEL                       ADDRESS ON FILE
KROGSTAD, SAMUEL                       ADDRESS ON FILE
KROL, JOHN                             ADDRESS ON FILE
KROLCZYK, ROBERT                       ADDRESS ON FILE
KROLL, ANDREW                          ADDRESS ON FILE
KROLL, ANDREW E                        ADDRESS ON FILE
KROM, JOSEPH                           ADDRESS ON FILE
KROME TRUCK WASH & REPAIR, LLC         800 E. STANFIELD AVE STANFIELD OR 97875



Epiq Corporate Restructuring, LLC                                                                 Page 1072 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1081 of 2156

Claim Name                           Address Information
KROME TRUCK WASH & REPAIR, LLC       800 STANFIELD AVE STANFIELD OR 97875
KROMER, JEREMIAH                     ADDRESS ON FILE
KRONENWETTER, THADDAEUS              ADDRESS ON FILE
KRONER, MICHAEL                      ADDRESS ON FILE
KRONK, ROBIN                         ADDRESS ON FILE
KRONMILLER, NEIL                     ADDRESS ON FILE
KRONOS CANADA INC                    LOCKBOX 916110 PO BOX 4090 STN A TORONTO ON M5W 0E9 CANADA
KRONOS CANADA INC                    PO BOX 743114 ATLANTA GA 30374
KRONOS CANADIAN SYSTEMS INC          A UKG CO C/O LOCKBOX 916110 PO BOX 4090 STN A TORONTO ON M5W 0E9 CANADA
KRONYAK, CATHY                       ADDRESS ON FILE
KROPF, STEVEN                        ADDRESS ON FILE
KROPP, JAMES                         ADDRESS ON FILE
KROSSWOOD DOORS                      1440 S EUCLID AVE TUCSON AZ 85713
KROSSWOOD DOORS                      ATTN: KALEISHA TISDALE 1440 S EUCLID AVE TUCSON AZ 85713
KROTZ, DOUGLAS                       ADDRESS ON FILE
KROUSE, WILLIAM                      ADDRESS ON FILE
KROUT, TIFFANY                       ADDRESS ON FILE
KRS LOGISTICS INC                    OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KRSO EXPRESS LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
KRUEGER INTERNATIONAL INC            ATTN: DEANNA SNELL ACCOUNTS RECEIVABLE PO BOX 8100 GREEN BAY WI 54308-8100
KRUEGER TRUCKING, INC.               21964 STATE HWY 56 AUSTIN MN 55912
KRUEGER, BLAINE                      ADDRESS ON FILE
KRUEGER, DAVID                       ADDRESS ON FILE
KRUEGER, GREGORY                     ADDRESS ON FILE
KRUEGER, JAY                         ADDRESS ON FILE
KRUEGER, JEFFREY                     ADDRESS ON FILE
KRUEGER, KEVIN M                     ADDRESS ON FILE
KRUEGER, MICHAEL M                   ADDRESS ON FILE
KRUEPKE TRUCKING, INC.               KRUEPKE TRUCKING, INC., PO BOX 503 JACKSON WI 53037
KRUG TRANSPORTATION, INC.            OR AFS, INC., PO BOX 347 MADISON SD 57042
KRUG, STEPHEN                        ADDRESS ON FILE
KRUGER, DANIEL                       ADDRESS ON FILE
KRUGER, DARLENE                      ADDRESS ON FILE
KRUGER, HOWARD                       ADDRESS ON FILE
KRUGER, HOWARD W                     ADDRESS ON FILE
KRUGER, MICHAEL                      ADDRESS ON FILE
KRUGS TOWING & REPAIR                N3470 COUNTY ROAD Q MEDFORD WI 54451
KRUK TRANSPORTATION INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KRUKOWSKI, CHRIS                     ADDRESS ON FILE
KRUL, THOMAS                         ADDRESS ON FILE
KRULL, MICHAEL                       ADDRESS ON FILE
KRUM, ANTHONY                        ADDRESS ON FILE
KRUM, JUSTIN                         ADDRESS ON FILE
KRUMRIE, TINA                        ADDRESS ON FILE
KRUPA, DALE F                        ADDRESS ON FILE
KRUPINSKI, WITOLD                    ADDRESS ON FILE
KRUSZELNICKI, TOMASZ                 ADDRESS ON FILE
KRUSZYNSKI, GEOFFREY                 ADDRESS ON FILE
KRYPTIC TRANSPORTATION LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                               Page 1073 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1082 of 2156

Claim Name                              Address Information
KRYPTONITE CONSTRUCTION SERVICES        7N540 IL RT 25 ELGIN IL 60120
KRYPTONITE CONSTRUCTION SERVICES        DBA TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
KRYSTAL CLEAR JANITORIAL SERVICES LTD   1973 ROSS AVE W WINNIPEG MB R2R 0E8 CANADA
KRYSTAL KLEER LLC                       PO BOX 3069 WOBURN MA 01888
KRYSTAL L WILSON                        ADDRESS ON FILE
KRYSTAL TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
KRYTKOWSKI, CRAIG                       ADDRESS ON FILE
KRZEMIEN, WALTER                        ADDRESS ON FILE
KRZEMINSKI, GEORGE                      ADDRESS ON FILE
KRZEMINSKI, ZENON                       ADDRESS ON FILE
KRZYZANOWSKI, TERRI                     ADDRESS ON FILE
KS DIVISION OF WORKERS COMPENSATION     401 SW TOPEKA BLVD STE 2 TOPEKA KS 66603
KS PRIME LOGISTICS LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
KS SIDHU EXPRESS                        553 HOWELL RD CHOWCHILLA CA 93610
KS TRUCK SERVICE                        1035 MCDOWELL AVE NE ROANOKE VA 24012
KS TRUCKING EXPRESS INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KSA EXPRESS INC                         360 S LILAC AVE RIALTO CA 92376
KSA EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KSAFE CORP.                             422 N WESTERN AVE CHICAGO IL 60612
KSB LOGISTICS LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KSB PUMPS INC.                          5205 TOMKEN ROAD MISSISSAUGA ON L4W3N8 CANADA
KSC TRUCKING LLC                        3903 KLINE AVE READING PA 19606
KSC TRUCKING LLC                        OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
KSDS CLEANING LLC                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
KSE TRUCKING LLC                        OR FLASH FUNDING LLC, PO BOX 4745 HOUSTON TX 77210
KSI FREIGHT                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KSIOSZK, ANGELA                         ADDRESS ON FILE
KSK TRANSPORT INC.                      1916 WRIGHT BLVD SCHAUMBURG IL 60193
KSL TRUCKING LLC                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
KSM CARRIER GROUP INC                   OR PRO FUNDING INC, DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
KSM TRANSPORTATION LLC                  33533 AVENIDA CHRISTEL DR STERLING HTS MI 48312
KSM TRUCKING LLC                        OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                        IL 60674-0411
KSN EXPRESS INC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
KSN TRANS                               3548 MONROE DRIVE YUBA CITY CA 95993
KSR LOGISTICS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KSSL TRANSPORT LLC                      OR TRANSPORT FACTORING, INC PO BOX 167648 IRVING TX 75016
KST LOGISTICS GROUP CORP                OR SUN CAPITAL GROUP, 6664 ANGELINA CT CHINO CA 91710
KST SERVICE INC                         OR NEAL FREEMAN INVESTMENTS, PO BOX 505062 ST LOUIS MO 63150
KSTALLION INC                           OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KSTALLION INC                           PO BOX 2440 FONTANA CA 92334
KSV TRANSPORT LLC                       8258 ZEPHYR ST ARVADA CO 80004
KSX TRANSPORTATION LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
KT HANDY TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KT LOGISTICS, LLC                       850 HELEN DRIVE LEBANON PA 17042
KT TRANS LLC                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KT TRANSPORT                            PO BOX 463, P O BOX 463 ROCKFORD MI 49341
KTAN TRUCKING LLC                       8 E PARK LOOP BLUFFTON SC 29910
KTC CARRIER LLC                         3637 COLUMBUS AVE APT 1 MINNEAPOLIS MN 55407



Epiq Corporate Restructuring, LLC                                                                  Page 1074 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 1083 of 2156

Claim Name                         Address Information
KTC-USA TRANSPORT INC              OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KTH TRANSPORT                      2662 N CONSTANCE AVE FRESNO CA 93722
KTI, LTD.                          PO BOX 946 PULASKI VA 24301
KTK LOGISTICS LLC                  OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KTL                                OR CAPITAL SOLUTIONS, PO BOX 930330 ATLANTA GA 31193-0330
KTL LLC                            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KTL TRANSPORTATION CORP.           2955 OATES STREET WEST SACRAMENTO CA 95691
KTL TRUCK LINES                    8655 TRUMPET CT ELK GROVE CA 95624
KTL TRUCKING, LLC                  OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
KTM LOGISTICS LLC                  102 APOLLO CT MUKWONAGO WI 53149-1701
KTM TECHNOLOGY SOLUTIONS LLC       C/O CORNERSTONE BILLING, PO BOX 428 BEDFORD PARK IL 60499
KTM UNITED INC                     OR PRO FUNDING INC, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
KTN EXPRESS LLC                    4115 TOWNHOUSE RD APT S HENRICO VA 23228
KTOWN DELIVERY INC                 PO BOX 8073 STATION T OTTAWA ON K1G 3H9 CANADA
KTS HYDRAULIC & TOOL REPAIR LLC    4360 E STATE RD 144 MOORESVILLE IN 46158
KTS HYDRAULIC & TOOL REPAIR LLC    702 S LYNHURST INDIANAPOLIS IN 46241
KTX LLC                            OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
KU MEDWEST OCCUPATIONAL HEALTH     PO BOX 958701 ST. LOUIS MO 63195-8701
KUB                                445 S. GAY STREET KNOXVILLE TN 37902
KUB LLC                            OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KUB TRADESHOW SUPPORT, LLC         19 N TEXAS AVENUE ORLANDO FL 32805
KUBA, STEVEN                       ADDRESS ON FILE
KUBACH, DYLAN                      ADDRESS ON FILE
KUBAT EQUIPMENT & SERVICE CO.      1070 S GALAPAGO ST DENVER CO 80223
KUBAT, RONALD                      ADDRESS ON FILE
KUBITZA, KRISTIN                   ADDRESS ON FILE
KUCH, KEVIN                        ADDRESS ON FILE
KUCHCINSKI, ROBERT                 ADDRESS ON FILE
KUCHINSKI, MICHAEL                 ADDRESS ON FILE
KUCHINSKI, STEPHEN                 ADDRESS ON FILE
KUCHTA, LYNETTE                    ADDRESS ON FILE
KUDELKA, ROBBIE                    ADDRESS ON FILE
KUDUS TRUCKING LLC                 886 BLUE HERON DR FORNEY TX 75126
KUDUS TRUCKING LLC                 OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KUEBELBECK, TAYLOR                 ADDRESS ON FILE
KUEBLER-HUNT, CHEYENNE             ADDRESS ON FILE
KUEHL, RAYMOND                     ADDRESS ON FILE
KUEHN, FRANK                       ADDRESS ON FILE
KUEHN, MARK                        ADDRESS ON FILE
KUEHNE & NAGEL                     ATTN S MUNIZ, 22 SPENCER ST NAUGATUCK CT 06770
KUEHNER, MICHAEL                   ADDRESS ON FILE
KUEHNLE, ROSE                      ADDRESS ON FILE
KUETH, NHIAL                       ADDRESS ON FILE
KUETTELS SEPTIC SERVICE LLC        N2057 CTY RD T HORTONVILLE WI 54944
KUFNER TOWING                      3775 RIDGE ROAD CLEVELAND OH 44144
KUHAR, CHARLES                     ADDRESS ON FILE
KUHLENBECK, DONALD                 ADDRESS ON FILE
KUHLMAN, JASON                     ADDRESS ON FILE
KUHLMAN, JENNIFER                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1075 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1084 of 2156

Claim Name                           Address Information
KUHN, CRAIG G                        ADDRESS ON FILE
KUHN, JONATHAN                       ADDRESS ON FILE
KUHN, MICHAEL A                      ADDRESS ON FILE
KUHN, PAUL                           ADDRESS ON FILE
KUHN, STEFAN                         ADDRESS ON FILE
KUHN, STEVEN                         ADDRESS ON FILE
KUIPER, DOUGLAS                      ADDRESS ON FILE
KUIPER, KELLEN                       ADDRESS ON FILE
KUITA, DAVID                         ADDRESS ON FILE
KUJAWA, EDWIN                        ADDRESS ON FILE
KUKENAN LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KUKLINSKI, EDWARD                    ADDRESS ON FILE
KUKLINSKI, VALERIE                   ADDRESS ON FILE
KUL LOGISTICS SOLUTIONS CO           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
KULA, JOZEF                          ADDRESS ON FILE
KULANDAIVELU, BALASUBRAMANIAN        ADDRESS ON FILE
KULAR TRANSPORT INC                  253 CATHERINE ST, 253 CATHERINE ST SOUTH AMBOY NJ 08879
KULAR TRANSPORTATION INC             OR ORANGE COMMERCIAL CREDIT, PO BOX 11099 OLYMPIA WA 98508-1099
KULAS, DAVE                          ADDRESS ON FILE
KULAS, GERALD                        ADDRESS ON FILE
KULAW, JOSEPH                        ADDRESS ON FILE
KULCSAR, PHILIP                      ADDRESS ON FILE
KULCSAR, TERRY                       ADDRESS ON FILE
KULESA, ERIN                         ADDRESS ON FILE
KULESZYNSKI, MATTHEW                 ADDRESS ON FILE
KULICK, DANIEL                       ADDRESS ON FILE
KULIKOWSKI, CASMIR                   ADDRESS ON FILE
KULINSKI, KENNETH                    ADDRESS ON FILE
KULKIN, IVAN                         ADDRESS ON FILE
KULLAN EXPRESS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
KULLAR BROS INC                      25 ROCK ROAD EPHRATA PA 17522
KULPA, JERROD                        ADDRESS ON FILE
KULWAY TRANSPORT LLC                 OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284
KULYK, RONALD                        ADDRESS ON FILE
KULZER INC                           ATTN: STEVE SCHULTZ 4315 S LAFAYETTE S BEND IN 46614
KUMAR, ASHOK                         ADDRESS ON FILE
KUMAR, NARINDER                      ADDRESS ON FILE
KUMAR, SANDEEP                       ADDRESS ON FILE
KUMARI, SUDESH                       ADDRESS ON FILE
KUMARS LOGISTICS INCORPORATED        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KUMBIER, AUSTIN                      ADDRESS ON FILE
KUMLER, KADEN                        ADDRESS ON FILE
KUMM, DAVID                          ADDRESS ON FILE
KUMUL TRANSPORTATION LLC             OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
KUNDE, STEVEN                        ADDRESS ON FILE
KUNDRA BROS TRANSPORT                OR T-PINE FINANCIAL SERVICES, 6050 DIXIE ROAD MISSISSAUGA SK L5T1A6 CANADA
KUNDRA BROS TRANSPORT                3315 GREEN LILY RD REGINA SK S4V 3M3 CANADA
KUNKEL, JOEL                         ADDRESS ON FILE
KUNKEL, RYAN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1076 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1085 of 2156

Claim Name                          Address Information
KUNKLE, DANIEL                      ADDRESS ON FILE
KUNKLE, MATTHEW                     ADDRESS ON FILE
KUNO, TERRY                         ADDRESS ON FILE
KUNOW EXPRESS LLC                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
KUNSMAN, JAMES                      ADDRESS ON FILE
KUNZ, JOSEPH R                      ADDRESS ON FILE
KUNZE, CHAD                         ADDRESS ON FILE
KUNZIE, KIMBERLY                    ADDRESS ON FILE
KUO LIN TANG                        ADDRESS ON FILE
KUPEL TRANSPORT LLC                 OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
KUPERUS TRUCKING, INC.              2225 CENTER INDUSTRIAL COURT JENISON MI 49428
KUPISZEWSKI, JANICE                 ADDRESS ON FILE
KUPLIC, MICHAEL                     ADDRESS ON FILE
KUPNIWSKI, WILLIAM                  ADDRESS ON FILE
KURANT, KEVIN                       ADDRESS ON FILE
KURANT, KEVIN                       ADDRESS ON FILE
KUREY, JAMES                        ADDRESS ON FILE
KURITA                              11500 OUTLOOK STREET, STE. 400 OVERLAND PARK KS 66211
KURLAND, ZACHARY                    ADDRESS ON FILE
KURT KOPCZYNSKI                     ADDRESS ON FILE
KURT, ANTHONY                       ADDRESS ON FILE
KURT, JAMES                         ADDRESS ON FILE
KURTH, CHARLES                      ADDRESS ON FILE
KURTISHI, VAIT                      ADDRESS ON FILE
KURTZ, AMBER                        ADDRESS ON FILE
KURTZ, CHRISTOPHER                  ADDRESS ON FILE
KURTZ, KENNETH                      ADDRESS ON FILE
KURYLUK, SEBASTIAN                  ADDRESS ON FILE
KURZROCK, MIKE                      ADDRESS ON FILE
KUSAK, SEAN                         ADDRESS ON FILE
KUSAMA, YOKO                        ADDRESS ON FILE
KUSH TRUCK SERVICE LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KUSH, THOMAS                        ADDRESS ON FILE
KUSH, THOMAS                        ADDRESS ON FILE
KUSHNER, MARJORIE                   ADDRESS ON FILE
KUSIAK, CHRIS                       ADDRESS ON FILE
KUSICK, MITCHELL                    ADDRESS ON FILE
KUSLUCH, ROBERT                     ADDRESS ON FILE
KUSMAN, JOSEPH                      ADDRESS ON FILE
KUSTOM KWIK PRINT, INC.             212 W IRVING BLVD IRVING TX 75060
KUSTOM TOWING INC                   PO BOX 111 SUMMIT IL 60501
KUSUM TRANSPORT INC                 OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KUTCHER, PAUL                       ADDRESS ON FILE
KUTH, BRYON                         ADDRESS ON FILE
KUTH, MARYBEL P                     ADDRESS ON FILE
KUTOL PRODUCTS COMPANY              ATTN: NOREEN TIMBERS PO BOX 630104 CINCINNATI OH 45263
KUTSCHER, DAVID                     ADDRESS ON FILE
KUTZ, JOSHUA                        ADDRESS ON FILE
KUTZ, RICHARD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1077 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1086 of 2156

Claim Name                           Address Information
KUTZNER, SCOTT                       ADDRESS ON FILE
KUYCHIYEV, ISLAM                     ADDRESS ON FILE
KUYKENDALL, DELOIS                   ADDRESS ON FILE
KUYKENDALL, DELOIS                   ADDRESS ON FILE
KUYPER, ALLEN                        ADDRESS ON FILE
KUYPERS, DOUGLAS                     ADDRESS ON FILE
KUZDA, KENNETH                       ADDRESS ON FILE
KUZIAN, STEVE J                      ADDRESS ON FILE
KUZMICKAS, ROBERT                    ADDRESS ON FILE
KUZMIK, ZHANNA                       ADDRESS ON FILE
KUZNIA, RUSSELL                      ADDRESS ON FILE
KV EXPRESS INC                       OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KV EXPRESS INC                       OR TRANSPORT FINANCIAL SOLUTIONS, PO BOX 845981 DALLAS TX 75284
KV FREIGHT LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
KV PRIDE TRANSPORT LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
KVAN TRUCKING LLC                    OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
KVARTLER, VADIM                      ADDRESS ON FILE
KVC LOGISTICS CORP                   OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
KVDY BLESSED TRUCK INC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
KVRJ TRANSPORTATION COMPANY          OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
KVV TRANSPORT LLC                    OR EAGLE CAPITAL CORPORATION, PO BOX 4215 TUPELO MS 38803
KW FUEL INC.                         PO BOX 1288 HOBBS NM 88241
KW TRANSPORT AND SERVICES CO         OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320-5154
KWADWO, AHMED A                      ADDRESS ON FILE
KWAK, SUJIN                          ADDRESS ON FILE
KWAKUYI, DAVID                       ADDRESS ON FILE
KWC TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KWEENS TRUCKING LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
KWESI TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
KWESI TRUCKING LLC                   OR TAB BANK, PO BOX 150830 OGDEN UT 84415
KWIATKOWSKI, DANIEL                  ADDRESS ON FILE
KWIATKOWSKI, JEFFREY                 ADDRESS ON FILE
KWIATKOWSKI, JOSEPH                  ADDRESS ON FILE
KWIECINSKI, ELIZABETH                ADDRESS ON FILE
KWIK LINE XPRESS                     OR CARRIERNET GROUP FINANCIAL, PO BOX 1130 SIOUX FALLS SD 57101
KWIK TRIP INC                        PO BOX 1597 LACROSSE WI 54602-1597
KWIK TRUCKING SERVICES INC           OR ECAPITAL ORILLIA (CAN), 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4
                                     CANADA
KWIK TRUCKING SERVICES INC           779 SHEPPARD ST WINNIPEG MB R2P 0H6 CANADA
KWIK X TRANSPORT                     45 LISSON CRES BRAMPTON ON L6X 5H9 CANADA
KWIK-LOC CORP.                       7340 DORR ST TOLEDO OH 43615
KWIKSHOT TRANSPORT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
KWL, INC.                            15 LIBERTY WAY FRANKLIN MA 02038
KY EXPRESS LLC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
KY LOGISTICS LLC                     OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KY TRANS LLC                         OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KY TRUCK LINES LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
KY TRUCKING INC                      OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
KYA TRANSPORT, INC.                  421 S DARRINGTON RD EL PASO TX 79928



Epiq Corporate Restructuring, LLC                                                               Page 1078 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1087 of 2156

Claim Name                            Address Information
KYAM EXPRESS INC                      OR TRIUMPHS BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KYG EXPRESS LLC                       OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
KYKER, PAUL                           ADDRESS ON FILE
KYLE A MAYFIELD                       ADDRESS ON FILE
KYLE D JONES                          ADDRESS ON FILE
KYLE E MARAGH                         ADDRESS ON FILE
KYLE EXPRESS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
KYLE J HUGHES                         ADDRESS ON FILE
KYLE M FERNANDEZ                      ADDRESS ON FILE
KYLE MABREY                           ADDRESS ON FILE
KYLE MEINHART                         ADDRESS ON FILE
KYLE O POKORNEY                       ADDRESS ON FILE
KYLE, GRAHAM                          ADDRESS ON FILE
KYLE, PHILLIP                         ADDRESS ON FILE
KYLE, ROCKY                           ADDRESS ON FILE
KYLER, DREW                           ADDRESS ON FILE
KYLIE P MCDONALD                      ADDRESS ON FILE
KYNGW TRANSPORTATION LLC              OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                      45263-9565
KYRA J HARPER                         ADDRESS ON FILE
KYRIAKOULIS, GEORGE                   ADDRESS ON FILE
KYRISH TRUCK CENTERS OF AUSTIN        8900 NORTH LOOP EAST HOUSTON TX 77029
KYRISH TRUCK CENTERS OF HOUSTON       8900 NORTH LOOP E HOUSTON TX 77029
KYRISH TRUCK CENTERS OF HOUSTON       9100 NORTH LOOP EAST HOUSTON TX 77029
KYRISH TRUCK CENTERS OF SAN ANTONIO   1380 ACKERMAN RD SAN ANTONIO TX 78219
KYROWS TRUCKING INC                   OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KYSER, JASON                          ADDRESS ON FILE
KYTONEN, ALEX                         ADDRESS ON FILE
KYZ TRANSPORTATION LLC                OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
KYZER TRUCK AND TRAILER REPAIR        P.O. BOX 90513 COLUMBIA SC 29290
KZ MIDWEST INC                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
KZM TRANSPORT INC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
L & A PRO GROUP INC                   OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320-5154
L & A TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
L & A TRANSPORTATION INCORPORTAED     12955 HARLON AVE LAKEWOOD OH 44107
L & A TRANSPORTATION INCORPORTAED     OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
L & B CARTAGE, INC.                   PO BOX 404 BRIDGEPORT MI 48722
L & C WILLIAMS INC.                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 46187
L & D TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L & E LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L & G TRUCKING LLC (MC1232317)        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L & H TRUCKING                        OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
L & H TRUCKING (MC553264)             107 SANTA ELENA AVE SAN JUAN TX 78589
L & J EXPRESS INC                     425 W COUNTRY CLUB DR WESTAMPTON NJ 08060
L & J EXPRESS LLC                     OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
L & J TAMPA TRANSPORT LLC             OR INTERNET TRUCKSTOP PAYMENTS, LLC, PO BOX 7410411 CHICAGO IL 60674-0411
L & J TRANSPORT, LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
L & J TRUCKING                        OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
L & J TRUCKING AND TRANSPORT LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                Page 1079 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1088 of 2156

Claim Name                           Address Information
L & J TRUCKING LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
L & L AUTO GROUP                     OR FACTORING EXPRESS LLC, P.O. BOX 150205 OGDEN UT 84415
L & L AUTO MOTIVES INC               2150B FT CAMPBELL BLVD CLARKSVILLE TN 37042
L & L EXPRESS SVC LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
L & L LESTER TRUCKING                OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
L & L XPRESS CORP                    OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
L & M BAG & SUPPLY INC               126 TEXAS AVE BLDG 2 SAN MARCOS TX 78666
L & M TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
L & M TRUCKING                       OR PARIKH FINANCIAL, 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
L & O TIRE SERVICE INC               14555 ST-RT 119 ANNA OH 45302
L & P TRUCKING LLC                   OR FINANCIAL CARRIER SERVICES, PO BOX 151052 OGDEN UT 84415
L & S TRUCKING SERVICE INC.          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
L & T BROOKS LOGISTICS LLC           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
L & T TOWING INC                     459 N COLUSA STREET WILLOWS CA 95988
L & W ENGINEERING                    13112 ONEIDA ROAD GRAND LEDGE MI 48837
L & Y DYNAMIC TRUCKING INC           22932 RIO LOBOS RD DIAMOND BAR CA 91765
L & Y TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
L A & SONS FARM                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
L A COUNTY DEPT OF PUBLIC WORKS      PO BOX 1460 ALHAMBRA CA 91802
L A COUNTY SHERIFF DEPT CARSON STN   21356 AVALON BLVD CARSON CA 90745
L A ELECTRIC                         902 INCENTIVE DR FORT WAYNE IN 46825
L A W TRANSPORT LLC                  OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
L AND P TRANSPORTATION LLC           RT. 10 GREEN HILLS READING PA 19603
L B TRUCKING LLC                     OR FLAT RATE FUNDING GROUP, LLC, PO BOX 150581 OGDEN UT 84415
L BROTHERS LOGISTICS INC             OR ASSIST FINANCIAL SERVICES, INC., PO BOX 347 MADISON SD 57042
L CARTER TRUCKING INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
L DINO TRUCKING LLC                  OR INSIGHT TECHNOLOGY, INC, PO BOX 200399 DALLAS TX 75320-0399
L E JOHNSON PRODUCTS INC             ATTN: STEVE CREAL 2100 STERLING AVE ELKHART IN 46516
L G N TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L K LEWIS LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L KNIGHT LLC                         PO BOX 2310 VALDOSTA GA 31605
L LOGISTICS LLC                      OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
L M MAINTENANCE                      23 CHURCHILL COURT SASKATOON SK S7K 3W9 CANADA
L MARTIN TRANSPORT LLC               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
L MOON TRANSPORT, LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
L N S AMERICA                        ATTN: CHUCK RHOADES 4621 E TECH DR CINCINNATI OH 45245
L N Z TRUCKING                       OR LEE INVESTMENT GROUP, PO BOX 893591 TEMECULA CA 92591
L O R TRUCKING LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
L P I CORPORATION                    ATTN: TRACY ATKINSON 3000 TAFT ST HOLLYWOOD FL 33021
L REYES TRANSPORTATION INC           OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
L S D LOGISTICS LLC                  PO BOX 661 EFFINGHAM SC 29541
L SIX TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L STARZ ENTERPRISE LLC               OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
L T I                                OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
L T TRUCKING                         PO BOX 133 MIRA LOMA CA 91752
L TRANSPORTATION                     OR PARIKH FINANCIAL, 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
L TRIPLE J LLC                       OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267


Epiq Corporate Restructuring, LLC                                                               Page 1080 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1089 of 2156

Claim Name                              Address Information
L V TRANSPORT                          OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
L W MILLER TRUCK & TRAILER REPAIR      94 NORTH 400 WEST NORTH SALT LAKE UT 84054
L WILLIAMS TRANSPORTATION LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
L Y EXPRESS LLC                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
L& V EXPRESS TRANSPORTATION, INC.      OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
L&A DELIVERY SERVICE LLC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
L&A LOGISTICS LLC (MC109424)           OR CAPITAL DEPOT, 8930 N WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
L&C DIVERSE BUSINESS MANAGEMENT        AND CONSULTING INC 1455 NW LEARY WAY SUITE 400 SEATTLE WA 98107
L&C TRANSPORT                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
L&C TRANSPORT LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
L&C TRANSPORTATION LLC                 OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
L&C TRUCKING LLC                       OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
L&D CONSTRUCTION                       11620 COUNTY ROAD L WAUSEON OH 43567-9252
L&D TRANSPORT                          OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
L&D TRANSPORTATION OF ILLINOIS LLC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
L&H TRANSPORT LLC                      2781 MALLARD CT IMPERIAL MO 63052-1499
L&H TRANSPORTATION LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
L&J FIRE EQUIPMENT                     ATTN: MARK PUCEL 10926 DAVID TAYLOR DR CHARLOTTE NC 28262
L&K PREMIER LOGISTICS LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
L&L (LOCAL & LONG-DISTANCE)            TRANSPORTATION LLC OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK
                                       73124-8920
L&L NURSERY SUPPLY EDI                 2507 FRANK ALBERT RD E C130 FIFE WA 98424
L&L NURSERY SUPPLY INC                 2552 SHENANDOAH WAY SAN BERNARDINO CA 92407
L&L NURSERY SUPPLY INC EDI             2552 SHENANDOAH WAY SAN BERNARDINO CA 92407
L&L TRANSPORT GROUP LLC                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
L&O TRANSPORT LLC                      OR TBS FACTORING SERVICE, PO BOX 151052 OGDEN UT 84415
L&P AUTO TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
L&R MANAGEMENT AND CONSULTING          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
L&R TRANSPORT                          OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
L&T ELITE TRANSPORT LLC                1510 ROOSEVELT DR SHARON HILL PA 19079
L&V USA TRANSPORTATION LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
L&W SUPPLY CORPORATION                 PO BOX 745813 ATLANTA GA 30374
L&W SUPPLY CORPORATION                 PO BOX 74008229 CHICAGO IL 60674
L&Z FREIGHT INC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
L. E. BALLANCE ELECTRICAL SERVICE, INC. P.O. BOX 2336 CHESAPEAKE VA 23327
L. E.D. TRUCKING, INC.                 60 INDY LANE INMAN SC 29349
L. E.D. TRUCKING, INC.                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
L. J. ROGERS, JR. TRUCKING, INC.       L. J. ROGERS, JR. TRUCKING, INC., PO BOX 75999 CHARLOTTE NC 28275-0999
L. L. LEASING, INC.                    3327 SOUTH ROSE KALAMAZOO MI 49001
L. S. S. D. INC.                       PO BOX 167 GRIGGSVILLE IL 62340
L.A PERKS PLUMBING & HEATING, INC      765 EAST GREG ST. 103 SPARKS NV 89431
L.E.C. TRANSPORT INC                   OR OTR CAPITAL DBA OTR SOLTUIONS, PO BOX 1175760 ATLANTA GA 30368-7576
L.M.R. TRANSPORT                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
L.R. LOGISTICS INC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
L13 LOGISTICS                          630 KILEY DR HOUSTON TX 77073
L4 CARRIERS LLC                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
L7 TRUCKING LLC                        12216 VERDELHO AVE BAKERSFIELD CA 93312
L7 TRUCKING LLC (MC1377424)            OR DORADO FINANCE, 1790 LEE TREVINO STE 600 EL PASO TX 79936
LA CABAL TRANSPORTATION INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                 Page 1081 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1090 of 2156

Claim Name                             Address Information
LA CITY CLERK SUNSET & VINE BID        200 N SPRING ST, ROOM 360 LOS ANGELES CA 90012
LA COSTA SHADE                         ATTN: RYAN 2121 ENTERPRISE ST ESCONDIDO CA 92029
LA COUNTY AGRICULTURE COMMISSION       WEIGHTS & MEASURES, 11012 GARFIELD AVE SOUTH GATE CA 90280
LA CRANE LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LA CROIX, JEFF                         ADDRESS ON FILE
LA CROSSE CITY TREASURER               400 LA CROSSE ST LA CROSSE WI 54601
LA CROSSE TRUCK CENTER, INC.           3959 N KINNEY COULEE RD LA CROSSE WI 54601
LA CROSSE TRUCK CENTER, INC.           205 CAUSEWAY BLVD. LA CROSSE WI 54603
LA ERA CONSTRUCTION MATERIALS HAULER   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
INC
LA FE TRANSPORT INC                    OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
LA FLOTILLA TRANS                      OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
LA FRECCE CARRIER CORP                 OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
LA GREENWHEELS TRANSPORTATION INC      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
LA HAULERS LLC                         5544 JUBILEE PL, UNIT B EASTVALE CA 91752
LA MACHINIST BENEFIT TRUST             201 QUEEN ANNE AVE NORTH, SUITE 100 SEATTLE WA 98109
LA MACHINISTS BENEFIT TRUST (LOCAL     1325 N GRAND AVE. SUITE 200 COVINA CA 91724
1186)
LA MAJIA DEL TRANSPORTE CORP           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LA NETWORK LLC                         OR INTERNET TRUCKSTOP PAYMENTS LLC, PO BOX 7410411 CHICAGO IL 60674-0411
LA PORTE, LORI                         ADDRESS ON FILE
LA ROCCO, CAMALA                       ADDRESS ON FILE
LA ROSA-ORTEGA, CHRISTIAN              ADDRESS ON FILE
LA RUEDA TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LA SEA INC                             30745 VIA LA CRESTA RCH PALOS VRD CA 90275-5310
LA SHIPMENTS LLC                       OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LA TRANSPORT OHIO LLC                  6728 CENTENNIAL DR REYNOLDSBURG OH 43068
LA TRUCK & TRAILER                     1860 MEYERSIDE DR MISSISSAUGA ON L5T 1B4 CANADA
LA TRUCKING ENTERPRISES, INC.          PO BOX 5142 BUFFALO GROVE IL 60089
LA TRUCKING LLC                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LA XPRESSWAY CORP                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LAA TRUCKING INC.                      OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
LAABS, BRYAN ALEX                      ADDRESS ON FILE
LAABS, CHRISTOPHER                     ADDRESS ON FILE
LAARS C/O MGN LOGISTICS, INC           ATTN: DONNA PABON 89 PROVIDENCE HWY, STE 1F WESTWOOD MA 02090
LAARS C/O MGN LOGISTICS, INC           ATTN: DONNA PABON LAARS C/O MGN LOGISTICS INC 89 PROVIDENCE HWY, STE 1F
                                       WESTWOOD MA 02090
LAB PRODUCTS                           ATTN: RAFAEL LEMUS 2225 PULASKI HWY ABERDEEN MD 21001
LAB, MICHAEL                           ADDRESS ON FILE
LABADIE, JAMES                         ADDRESS ON FILE
LABADIE, REBECCA                       ADDRESS ON FILE
LABAFF, TERRY                          ADDRESS ON FILE
LABAK, TED                             ADDRESS ON FILE
LABANA TRANSPORTATION LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LABARBERA, FRANK                       ADDRESS ON FILE
LABEL MASTER                           PO BOX 46402 CHICAGO IL 60646
LABELLA ASSOCIATES DPC                 300 STATE ST STE 201 ROCHESTER NY 14614
LABELLA, JOHN                          ADDRESS ON FILE
LABELLE, DEREK                         ADDRESS ON FILE
LABELLE, JACQUELINE                    ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                 Page 1082 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1091 of 2156

Claim Name                              Address Information
LABELLE, JAY                           ADDRESS ON FILE
LABENDEIRA, ELANA                      ADDRESS ON FILE
LABES, PAUL                            ADDRESS ON FILE
LABISSIERE, ANGELOT                    ADDRESS ON FILE
LABONTE, PASCAL                        ADDRESS ON FILE
LABOR FINDERS                          P.O. BOX 6458 LAKE WORTH FL 33466
LABORDE, MICHAEL                       ADDRESS ON FILE
LABORDE, TIMOTHY                       ADDRESS ON FILE
LABORDENENS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LABORERS LOCAL 1191                    2161 W GRAND BLVD DETROIT MI 48208
LABORLAWCENTER INC                     3501 W GARRY AVE SANTA ANA CA 92704
LABORTREE, LLC                         OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
LABOSSIERE, LOUIS                      ADDRESS ON FILE
LABOW, WILLIAM                         ADDRESS ON FILE
LABOY EXPRESS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LABOY EXPRESS LLC                      PO BOX 150523, PO BOX 150523 OGDEN UT 84415-0664
LABREC, HARLEY                         ADDRESS ON FILE
LAC TRUCKING INC                       OR FIDELITYT FACTORING, 2121 AVENUE OF THE STARS SUITE 800 CENTURY CITY CA
                                       90067
LACE TRANSPORTATION LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LACEFIELD, KENNETH                     ADDRESS ON FILE
LACELLE, THOMAS                        ADDRESS ON FILE
LACEY, DANIEL E                        ADDRESS ON FILE
LACEY, ERIC                            ADDRESS ON FILE
LACEY, PAUL                            ADDRESS ON FILE
LACEY, RYAN                            ADDRESS ON FILE
LACEY, SANDRA                          ADDRESS ON FILE
LACEY, TIMOTHY                         ADDRESS ON FILE
LACH EXPRESS CORP.                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LACHAPELLE, CHERI                      ADDRESS ON FILE
LACHEMEIER-MILLER                      1320 LESLIE DR DOUGLASVILLE GA 30134
LACHI ENTERPRISE LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LACHINA, ANTHONY                       ADDRESS ON FILE
LACHIUSA, RONALD                       ADDRESS ON FILE
LACKAWANNA RVR BASIN SWR AUTH          PO BOX 280 OLYPHANT PA 18447-0280
LACKEY, CHRISTOPHER                    ADDRESS ON FILE
LACKEY, CHRISTOPHER                    ADDRESS ON FILE
LACKEY, CHRISTOPHER G                  ADDRESS ON FILE
LACKEY, GEORGE                         ADDRESS ON FILE
LACKEY, MICHELE L                      ADDRESS ON FILE
LACKEY, PHILLIP L                      ADDRESS ON FILE
LACKEY, WINSTON                        ADDRESS ON FILE
LACKI, PAUL                            ADDRESS ON FILE
LACKING, LAMAR                         ADDRESS ON FILE
LACKNER-RODRIGUEZ ENTERPRISES LLC      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LACLEDE CHAIN MANUFACTURING CO         ATTN: RICKY L HART 2500 E FIRST ST MARYVILLE MO 64468
LACLEDE CHAIN MANUFACTURING COMPANY LLC PO BOX 32127 SAINT LOUIS MO 63132
LACLEDE TRAINING CONSULTANTS, LLC      8129 DELMAR AVE., SUITE 203 UNIVERSITY CITY MO 63130
LACOMBE, CHRISTOPHER                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1083 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1092 of 2156

Claim Name                           Address Information
LACOSTE, LYSANNE                     ADDRESS ON FILE
LACOUETTE, NICHOLAS                  ADDRESS ON FILE
LACRETE TRANSPORT                    PO BOX 248 LACRETE AB T0H 2H0 CANADA
LACROIX, FRITZ                       ADDRESS ON FILE
LACROIX, KEITH L                     ADDRESS ON FILE
LACY, GLENN                          ADDRESS ON FILE
LACY, JAMES                          ADDRESS ON FILE
LACY, KADARRION                      ADDRESS ON FILE
LACY, LAROBERT                       ADDRESS ON FILE
LADA TRANSPORTATION                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LADA, KEITH                          ADDRESS ON FILE
LADARIUS V THOMAS                    ADDRESS ON FILE
LADD TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LADD'S TOWING LLC                    4435 S HWY 91 CEDAR CITY UT 84720
LADD, BESSIE                         ADDRESS ON FILE
LADD, MICHAEL                        ADDRESS ON FILE
LADD-PORTER, DOROTHY                 ADDRESS ON FILE
LADDARAN, BEATRIZ                    ADDRESS ON FILE
LADDAWN INC                          155 JACKSON RD DEVENS MA 01434
LADDY, JOEL                          ADDRESS ON FILE
LADEKOP EXPRESS LLC                  OR THUNDER CARRIER SERVICES, LLC, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LADHAR TRUCKING INC                  OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LADIES FIRST TRANSIT LLC             8508 CRENSHAW DR GROVETOWN GA 30813-8319
LADISLAS, LOUIS                      ADDRESS ON FILE
LADNER, TRENT                        ADDRESS ON FILE
LADRILLO, ROGER                      ADDRESS ON FILE
LADSON, DERRICK                      ADDRESS ON FILE
LADUKE, MICHAEL                      ADDRESS ON FILE
LADUKE, MICHAEL C                    ADDRESS ON FILE
LADWIG, BRADLEY                      ADDRESS ON FILE
LADWIGS CULLIGAN                     ADDRESS ON FILE
LADY BLUE LOGISTICS, INC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LADY BURD COSMETICS                  44 EXECUTIVE BLVD FARMINGDALE NY 11735
LADY TRUCKER LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LAF LOGISTICS INC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
LAFATA, JOSEPH                       ADDRESS ON FILE
LAFAYETTE COUNTY CIRCUIT COURT       116 S 10TH STREET LEXINGTON MO 64067
LAFAYETTE, DANIEL                    ADDRESS ON FILE
LAFAYETTE, DAVID                     ADDRESS ON FILE
LAFAZIA, LORI                        ADDRESS ON FILE
LAFERO SERVICE                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LAFERRIERE, NORMAND                  ADDRESS ON FILE
LAFERTY, CHRISTOPHER                 ADDRESS ON FILE
LAFEVER TRUCKING LLC                 120 IAN CT STEPHENS CITY VA 22655
LAFFERTY, GERALD                     ADDRESS ON FILE
LAFFERTY, HOWARD                     ADDRESS ON FILE
LAFFERTY, JAMES                      ADDRESS ON FILE
LAFFERTY, MARISSA                    ADDRESS ON FILE
LAFFOON, CHRISTOPHER                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1084 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1093 of 2156

Claim Name                               Address Information
LAFIL TRUCKING LLC                       1718 AIRCRAFT DR SE MARIETTA GA 30060
LAFLAMME, ANDREW                         ADDRESS ON FILE
LAFLEUR, PHILIP                          ADDRESS ON FILE
LAFLIN, TROY                             ADDRESS ON FILE
LAFOCA, SAMUEL                           ADDRESS ON FILE
LAFONN LLC                               6721 KATELLA AVE CYPRESS CA 90630
LAFOU TRANSPORTATION LLC                 OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
LAFOY, CAMERON                           ADDRESS ON FILE
LAFRANCE, MOIESE                         ADDRESS ON FILE
LAFRATTA, BARRY                          ADDRESS ON FILE
LAFT INC                                 715 E ALONDRA BLVD COMPTON CA 90220
LAFT INC                                 ATTN: HYANG SHIN, 16794 DEER RIDGE ROAD SAN DIEGO CA 92127
LAFUENTE, CHRISTELIA                     ADDRESS ON FILE
LAFUENTE, DANIEL                         ADDRESS ON FILE
LAGACY, MURRELL                          ADDRESS ON FILE
LAGATTUTA, MICHAEL                       ADDRESS ON FILE
LAGBUKAS & SON LOGISTIC LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LAGE, CHARLES                            ADDRESS ON FILE
LAGERSMITH CAN SUPPLY CO                 2077 ELLIS AVE DOOR 27 ST PAUL MN 55114
LAGESSE-ROACH, STACY                     ADDRESS ON FILE
LAGO PLUS LLC                            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
LAGO TRANSPORT LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LAGORIO, LAWRENCE                        ADDRESS ON FILE
LAGOSH, WENDELL                          ADDRESS ON FILE
LAGRANGE FIRE PROTECTION SERVICES, INC   2447 WEST POINT ROAD LA GRANGE GA 30240
LAGRANGE LOCK & SAFE                     5546 SOUTH BRAINARD COUNTRYSIDE IL 60525
LAGRANGE, GEORGE                         ADDRESS ON FILE
LAGUARDIA, JASON                         ADDRESS ON FILE
LAGUNA EXPRESS INC                       OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
LAGUNA TRUCKING LLC                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LAGUNA, HELMER                           ADDRESS ON FILE
LAGUNA, SERGIO                           ADDRESS ON FILE
LAGUNAS ARELLANO, SAUL                   ADDRESS ON FILE
LAGUNAS TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LAHA, MICHAEL                            ADDRESS ON FILE
LAHEY, JEREMY                            ADDRESS ON FILE
LAHMAN, THOMAS                           ADDRESS ON FILE
LAHN, CHARLEY                            ADDRESS ON FILE
LAHR, JAKE                               ADDRESS ON FILE
LAHR, JOHN                               ADDRESS ON FILE
LAHR, TIMOTHY                            ADDRESS ON FILE
LAHTI, DARIN                             ADDRESS ON FILE
LAHUE, STEPHAN                           ADDRESS ON FILE
LAI, JASON                               ADDRESS ON FILE
LAIDLAW, DENNIS                          ADDRESS ON FILE
LAIDLAW, JANICE                          ADDRESS ON FILE
LAIN, JOE                                ADDRESS ON FILE
LAINE, BLAKE                             ADDRESS ON FILE
LAINEZ, CARLOS                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1085 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1094 of 2156

Claim Name                              Address Information
LAIPPLE, JANA                           ADDRESS ON FILE
LAIRD PLASTICS                          211 SINCLAIR ST BRISTOL PA 19007
LAIRD PLASTICS                          40 51ST WAY STE 200 MINNEAPOLIS MN 55421
LAIRD, BENJAMIN                         ADDRESS ON FILE
LAIRD, JEREMY                           ADDRESS ON FILE
LAIRD, JOHN                             ADDRESS ON FILE
LAIRD, MICHAEL                          ADDRESS ON FILE
LAIRD, MICHAEL P                        ADDRESS ON FILE
LAIRD, WILLIAM                          ADDRESS ON FILE
LAITH LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LAJ TRUCKING LLC                        OR THUNDER CARRIER SERVICES, LLC, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LAJEUNESSE, STEVEN                      ADDRESS ON FILE
LAJOIE, RICHARD                         ADDRESS ON FILE
LAK HAL, RACHID                         ADDRESS ON FILE
LAKAR LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LAKAY TRUCKING LLC                      1745 CHRISTINA LEE LN SAINT CLOUDS FL 34769
LAKE CHAMPLAIN TRANSPORTATION COMPANY   KING ST DOCK BURLINGTON VT 05401
LAKE CITY FIRE EQUIPMENT                42 SKYWAY PLAZA SUITE 5 PLATTSBURGH NY 12901
LAKE CITY TOWING                        2904 WINTER ST SUPERIOR WI 54880
LAKE CITY TRANSPORT LLC                 OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320-5154
LAKE COUNTY GRADINGCOMPANY LLC          PO BOX L LIBERTYVILLE IL 60048-4912
LAKE EFFECT                             23300 STATE ROAD 23 SOUTH BEND IN 46614
LAKE ERIE ELECTRIC, INC                 25730 FIRST STREET WESTLAKE OH 44145
LAKE ERIE LOGISTICS                     3025 W 17TH ST ERIE PA 16505
LAKE ERIE LOGISTICS                     PO BOX 8307 ERIE PA 16505
LAKE ERIE TRUCKING, LLC                 P.O. BOX 8307 ERIE PA 16505
LAKE HAVASU CITY                        PO BOX 5142 HARLAN IA 51593
LAKE HAVASU CITY                        PO BOX 5142 HARLAN IA 51593-0642
LAKE HAVASU CITY                        2330 MCCULLOCH BLVD N LAKE HAVASU CITY AZ 86403
LAKE LEMON                              SHORE DR. UNIONVILLE IN 47468
LAKE OF GRACE LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LAKE SIDE CARRIERS LLC                  OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LAKE TRUCKING LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LAKE VUE ELECTRIC LLC                   227 TOPSAIL WATCH DR HAMPSTEAD NC 28443
LAKE WEST MEDICAL CENTER                36000 EUCLID AVE. WILLOUGHBY OH 44094
LAKE, CRAIG                             ADDRESS ON FILE
LAKE, DARRON                            ADDRESS ON FILE
LAKE, DAVID                             ADDRESS ON FILE
LAKE, LAKARA                            ADDRESS ON FILE
LAKE, SEAN                              ADDRESS ON FILE
LAKEBERG, KATHRYN M                     ADDRESS ON FILE
LAKEITH ROSE TRANSPORTATION LLC         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
LAKELAND DELIVERY SERVICE, INC.         153 THOMPSON AVE E WEST SAINT PAUL MN 55118
LAKELAND FEED                           110 MILL ST HAMILTON MT 59840
LAKELAND LOGISTICS LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
LAKELAND TRUCKING LLC                   OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LAKES INC.                              3744 S BROOKS RD MUSKEGON MI 49444
LAKES STATES TRUCKING LOGISTICS LLC     OR INTEGRA FUNDING SOLUTIONS LLC, 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX



Epiq Corporate Restructuring, LLC                                                                  Page 1086 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                           Page 1095 of 2156

Claim Name                            Address Information
LAKES STATES TRUCKING LOGISTICS LLC   76116
LAKESHORE EXHIBIT SERVICE INC         5850 W OGDEN AVE CICERO IL 60804
LAKESHORE TRANSPORTATION LLC          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LAKESIDE BOOK COMPANY                 ATTN: MICHAEL SAUTNER 600 STATE ROAD 32 W CRAWFORDSVILLE IN 47933
LAKESIDE TRAILER SERVICE              C/O DAVID BANDA, 5 POND LANE EXT. BILLERICA MA 01821
LAKEVILLE TRUCKING INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LAKEWOOD LOGISTICS, INC               9475 NICKLAUS LN CRYSTAL LAKE IL 60014
LAKEWOOD PAVING COMPANY               10748 S CENTRAL AVE CHICAGO RIDGE IL 60415
LAKHA TRANSPORT INC                   122 GOODWIN CRES MILTON ON L9E 1H9 CANADA
LAKHA TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LAKHANPAL, BHARAT                     ADDRESS ON FILE
LAKOU22 TRANSPORTATION LLC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LAL TRANSPORT INC                     7915 E EMERSON AVE SUIT B 250 INDIANAPOLIS IN 46237-9836
LALA TRANS LLC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LALIBERTE, STEPHEN                    ADDRESS ON FILE
LALLER TRUCKING LLC                   OR SAINT JOHN CAPITAL CORPORATION, PO BOX 74007671 CHICAGO IL 60674
LALLY, RYAN                           ADDRESS ON FILE
LALO EXPRESS INC                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LALONDE TRANSPORTATION INC.           P.O. BOX 482 STANDISH MI 48658
LALONE, DUSTIN                        ADDRESS ON FILE
LALY BARRY TRANSPORT LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LALY EXPRESS LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
LAM CARGO LLC                         15938 CAMINO DEL SOL DRIVE HOUSTON TX 75222
LAM TRUCK LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
LAM TRUCKING LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
LAM, SCOTT                            ADDRESS ON FILE
LAM, TODD                             ADDRESS ON FILE
LAM, UY                               ADDRESS ON FILE
LAMA EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LAMA EXPRESS LLC                      OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
LAMA TRUCKING INC                     OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LAMANCUSA, ANDREW                     ADDRESS ON FILE
LAMAR D BROWN                         ADDRESS ON FILE
LAMAR MILTON                          ADDRESS ON FILE
LAMAR, ANTARRIOS                      ADDRESS ON FILE
LAMAR, GEORGE                         ADDRESS ON FILE
LAMAR, SHANTE                         ADDRESS ON FILE
LAMAR, TONY                           ADDRESS ON FILE
LAMARC GROUP LLC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LAMARCHE, BRIAN                       ADDRESS ON FILE
LAMARQUIS, IVY                        ADDRESS ON FILE
LAMARR, CARLOS                        ADDRESS ON FILE
LAMARRE, BRIAN                        ADDRESS ON FILE
LAMARTI, MARISSA                      ADDRESS ON FILE
LAMARTI-MILLER, HAYLIE                ADDRESS ON FILE
LAMARTINA, GIANFRANCO                 ADDRESS ON FILE
LAMASSU TRANSPORT INC                 OR JD FACTORS, 500 SILVER SPUR RD PALOS VERDES CA 90275
LAMATTINA, MATTHEW                    ADDRESS ON FILE
LAMB, BRYAN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1087 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 1096 of 2156

Claim Name                         Address Information
LAMB, CURTIS                       ADDRESS ON FILE
LAMB, DENNIS                       ADDRESS ON FILE
LAMB, DOUGLASS                     ADDRESS ON FILE
LAMB, JOSHUA                       ADDRESS ON FILE
LAMB, KENNETH                      ADDRESS ON FILE
LAMB, LUCINDA                      ADDRESS ON FILE
LAMB, MARCELLIS                    ADDRESS ON FILE
LAMB, MICHAEL                      ADDRESS ON FILE
LAMB, NATHAN                       ADDRESS ON FILE
LAMB, THOMAS                       ADDRESS ON FILE
LAMB, WAYNE                        ADDRESS ON FILE
LAMB, WILLIAM                      ADDRESS ON FILE
LAMBDIN, JASON                     ADDRESS ON FILE
LAMBERSON, KARLA                   ADDRESS ON FILE
LAMBERT TRANSFER CO., INC.         PO BOX 1179 POCA WV 25159
LAMBERT, ARMANI                    ADDRESS ON FILE
LAMBERT, DAVID                     ADDRESS ON FILE
LAMBERT, DERIC                     ADDRESS ON FILE
LAMBERT, DONTA                     ADDRESS ON FILE
LAMBERT, JANET                     ADDRESS ON FILE
LAMBERT, JOEY D                    ADDRESS ON FILE
LAMBERT, JOSHUA                    ADDRESS ON FILE
LAMBERT, MARISSA                   ADDRESS ON FILE
LAMBERT, MICHAEL                   ADDRESS ON FILE
LAMBERT, MICHAEL                   ADDRESS ON FILE
LAMBERT, MICHAEL R                 ADDRESS ON FILE
LAMBERT, NANCY                     ADDRESS ON FILE
LAMBERT, PATRICK                   ADDRESS ON FILE
LAMBERT, PAUL                      ADDRESS ON FILE
LAMBERT, RAYMOND                   ADDRESS ON FILE
LAMBERT, RICKEY                    ADDRESS ON FILE
LAMBERT, SHAWN                     ADDRESS ON FILE
LAMBERT, SHONEE                    ADDRESS ON FILE
LAMBERT, TERRY                     ADDRESS ON FILE
LAMBERT, WALTER                    ADDRESS ON FILE
LAMBERTH & SONS PLUMBING CO        PO BOX 1410 GOODLETTSVILLE TN 37072
LAMBERTS COFFEE                    3588 OLD GETWELL RD. MEMPHIS TN 38118-6080
LAMBERTS TRANSPORT SERVICES INC    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LAMBETH, TERRY                     ADDRESS ON FILE
LAMBOURNE, BRET                    ADDRESS ON FILE
LAMBOY, ANTHONY                    ADDRESS ON FILE
LAMBRECHT, HAROLD                  ADDRESS ON FILE
LAMBROS, LYNN                      ADDRESS ON FILE
LAMBUS, AHMAD                      ADDRESS ON FILE
LAMEY, HAROLD                      ADDRESS ON FILE
LAMI MUSIC                         20768 E. ARROW HIGHWAY COVINA CA 91724
LAMI, MELISSA                      ADDRESS ON FILE
LAMIN, ELMER                       ADDRESS ON FILE
LAMIN, PAUL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1088 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1097 of 2156

Claim Name                           Address Information
LAMKER, DARRELL                      ADDRESS ON FILE
LAMKER, DARRELL                      ADDRESS ON FILE
LAMOILLE FENCING                     PO BOX 281275 LAMOILLE NV 89828
LAMON, MARK                          ADDRESS ON FILE
LAMON, PAIGE                         ADDRESS ON FILE
LAMON, STEPHANIE                     ADDRESS ON FILE
LAMON, TAYLOR                        ADDRESS ON FILE
LAMOND FERGUSON                      ADDRESS ON FILE
LAMONICA, SALVATORE                  ADDRESS ON FILE
LAMONT JENKINS                       OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
LAMONT SUPERIOR COURT                12022 MAIN ST LAMONT CA 93241
LAMONTA WADE                         ADDRESS ON FILE
LAMONTE TOREGANO                     ADDRESS ON FILE
LAMOORE, MICHAEL                     ADDRESS ON FILE
LAMORES GULF STATION                 450 SILAS DEANE HWY WETHERSFIELD CT 06109
LAMOSEK, JEFFREY                     ADDRESS ON FILE
LAMOURIE, SCOTT                      ADDRESS ON FILE
LAMPE, TRACY                         ADDRESS ON FILE
LAMPE, WILLIAM                       ADDRESS ON FILE
LAMPEN, STACY                        ADDRESS ON FILE
LAMPHERE, TINA                       ADDRESS ON FILE
LAMPKIN, CHARLES                     ADDRESS ON FILE
LAMPKIN, EUNICE                      ADDRESS ON FILE
LAMPKIN, KEVIN                       ADDRESS ON FILE
LAMPKIN, MELISSA                     ADDRESS ON FILE
LAMPORT, ALYSSA                      ADDRESS ON FILE
LAMPRECHT, DAVID                     ADDRESS ON FILE
LAMPTEY, GEOFFREY                    ADDRESS ON FILE
LAMPTON WELDING SUPPLY CO INC        PO BOX 765 WICHITA KS 67201
LAMROUEX, DAVID                      ADDRESS ON FILE
LAMSON, CHRISTOPHER                  ADDRESS ON FILE
LAMTORO TRANSPORTATION LLC           OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LAMTRANS INC                         79 CH DES CEDRES RIGAUD QC J0P 1P0 CANADA
LAMUNION, DENNIS                     ADDRESS ON FILE
LAMUREN, PAUL                        ADDRESS ON FILE
LAMZA TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LANAY MCCORD                         ADDRESS ON FILE
LANCASTER CONSTRUCTION CO            806 WARRINGTON AVE DANVILLE IL 61832
LANCASTER TRUCKING LLC               OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
LANCASTER, CYNTHIA                   ADDRESS ON FILE
LANCASTER, INC                       TOTAL TRUCK SERVICE, 910 RADFORD RD CHRISTIANSBURG VA 24073
LANCASTER, JAMES                     ADDRESS ON FILE
LANCASTER, RICHIE                    ADDRESS ON FILE
LANCASTER, ROBERT                    ADDRESS ON FILE
LANCE A WHITE                        ADDRESS ON FILE
LANCE EXPRESS, LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LANCE, ARTIE                         ADDRESS ON FILE
LANCE, DAVID                         ADDRESS ON FILE
LANCE, EDWIN P                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1089 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1098 of 2156

Claim Name                              Address Information
LANCE, JEFFERY                          ADDRESS ON FILE
LANCE, JOSEPH                           ADDRESS ON FILE
LANCER CAMPBELL                         ADDRESS ON FILE
LANCER EXPRESS LLC                      OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
LANCER L MARTIN                         ADDRESS ON FILE
LANCES WRECKER SERVICE, LLC             64 RUTLEDGE ROAD FLETCHER NC 28732
LANCIONI, JACOB                         ADDRESS ON FILE
LANCOUR, CHARLES                        ADDRESS ON FILE
LAND AIR EXPRESS OF VERMONT             PO BOX 503 WILLISTON VT 05495
LAND CRUISER LOGISTICS                  OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LAND EXPRESS INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LAND FREIGHT INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LAND JET TRANS INC                      OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                        45263-9565
LAND LOGISTICS INC                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LAND LOGISTICS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LAND MASTER FREIGHT LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LAND N SEA                              3421 E NORTH AVE 101 FRESNO CA 93725
LAND O LAKES/FARMLAND/PURINA            FREIGHT PAYABLES MS 5505, PO BOX 64406 SAINT PAUL MN 55164
LAND ROVER JAGUAR WEST CHESTER          1330 WILMINGTON PIKE WEST CHESTER PA 19382
LAND SEA AIR MEDICAL REVIEW             910 ROUTE 109, N LINDENHURST NY 11757
LAND SEA AND AIR CONSULTING & TESTING   910 ROUTE 109 LINDENHURST NY 11757
LAND XPRESS LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LAND, CRAIG                             ADDRESS ON FILE
LAND, JACOB                             ADDRESS ON FILE
LAND, PETE                              ADDRESS ON FILE
LAND, TIM                               ADDRESS ON FILE
LANDE TRUCKING INC                      PO BOX 15454 TAMPA FL 33684-5454
LANDE, GAIL                             ADDRESS ON FILE
LANDER TRANSPORT INC                    OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
LANDER, BRIANNA                         ADDRESS ON FILE
LANDEROS, MIGUEL                        ADDRESS ON FILE
LANDERS TOWING & COLLISION INC          1862 CHARLESTON RD SALEM IL 62881
LANDERS, MICHELLE                       ADDRESS ON FILE
LANDES, KYLE                            ADDRESS ON FILE
LANDES, ROBERT                          ADDRESS ON FILE
LANDFORCE CORPORATION                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LANDGRAF, G W                           ADDRESS ON FILE
LANDHAWK CARRIERS INC                   OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LANDIN, ALBERTO                         ADDRESS ON FILE
LANDIN, LINDSAY                         ADDRESS ON FILE
LANDIS EXPRESS LLC                      2600 BELTLINE AVE READING PA 19605
LANDIS, ERIC                            ADDRESS ON FILE
LANDIS, FRED                            ADDRESS ON FILE
LANDIS, LARRY                           ADDRESS ON FILE
LANDLINER INC                           OR PATHWARD NATIONAL ASSOCIATION, PO BOX 682348 FRANKLIN TN 37068
LANDMARK                                3230 ARENA BLVD SUITE 245-246 SACRAMENTO CA 95834
LANDMARK EXCAVATING & DEVELOPING LLC    PO BOX 73 THOMPSON RIDGE NY 10985
LANDMARK IDEALEASE                      4550 RUTLEDGE PIKE KNOXVILLE TN 37914



Epiq Corporate Restructuring, LLC                                                               Page 1090 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1099 of 2156

Claim Name                              Address Information
LANDMARK TRANSFER LTD                   BOX 102 LANDMARK MB R0A 0X0 CANADA
LANDMARK TRUCKS, LLC                    4550 RUTLEDGE PIKE KNOXVILLE TN 37914
LANDMARK TRUCKS, LLC                    PO BOX 6539 KNOXVILLE TN 37914
LANDMESSERS TOOLS CO INC                960 S CASS LAKE RD WATERFORD MI 48328
LANDMICHL, EDWARD                       ADDRESS ON FILE
LANDON TRUCKING INC                     OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
LANDON, CHARLES                         ADDRESS ON FILE
LANDONS DIESEL SERVICE                  540 S 300W PRICE UT 84501
LANDRAU, JEREMY                         ADDRESS ON FILE
LANDRIGAN, BRUCE                        ADDRESS ON FILE
LANDRITH, BRET                          ADDRESS ON FILE
LANDRON, ADAM                           ADDRESS ON FILE
LANDRUM, CHARLES                        ADDRESS ON FILE
LANDRUM, DONNY                          ADDRESS ON FILE
LANDRUM, MICHAEL T                      ADDRESS ON FILE
LANDRY, GLENN D                         ADDRESS ON FILE
LANDRY, LAWRENCE                        ADDRESS ON FILE
LANDRY, MKENDRA                         ADDRESS ON FILE
LANDRY, SCOTT                           ADDRESS ON FILE
LANDSCAPES UNLIMITED                    5321 WILLOW LAKE DR CLARENCE NY 14031
LANDSDOWNE-MOODY COMPANY                8445 EAST FRWY. HOUSTON TX 77029
LANDSHARK EXPRESS, LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
LANDSHARK TRUCKING INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LANDSKROENER, DENNIS                    ADDRESS ON FILE
LANDSTAR                                13410 SUTTON PARK DR S JACKSONVILLE FL 32224
LANDSTAR EXPRESS AMERICA, INC.          13410 SUTTON PARK DRIVE SOUTH JACKSONVILLE IL 32224
LANDSTAR EXPRESS AMERICA, INC.          16881 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
LANDSTAR GEMINI, INC.                   P O BOX 784302 PHILADELPHIA PA 19178
LANDSTAR GEMINI, INC.                   LANDSTAR RANGER, PO BOX 784293 PHILADELPHIA PA 19178-4293
LANDSTAR GLOBAL LOGISTICS               ATTN: BETSY HARPER 13410 SUTTON DR. SOUTH JACKSONVILLE FL 32224
LANDSTAR GLOBAL LOGISTICS               ATTN: BETSY HARPER 13410 SUTTON PARK DR S JACKSONVILLE FL 32224
LANDSTAR LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LANDSTAR RANGER, INC.                   P.O. BOX 784293 PHILADELPHIA PA 19178
LANE 5 TRANSPORTATION & LOGISTICS LLC   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LANE COUNTY TAX COLLECTOR               PO BOX 3014 PORTLAND OR 97208
LANE ENTERPRISES                        8271 MERCER ST PULASKI PA 16143
LANE JR., RONALD                        ADDRESS ON FILE
LANE TRUCKING CORP                      OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LANE, ADAM                              ADDRESS ON FILE
LANE, AVERY                             ADDRESS ON FILE
LANE, BRODERICK                         ADDRESS ON FILE
LANE, CHARLES                           ADDRESS ON FILE
LANE, CHARLES                           ADDRESS ON FILE
LANE, COLT E                            ADDRESS ON FILE
LANE, DONALD G                          ADDRESS ON FILE
LANE, FRANKIE                           ADDRESS ON FILE
LANE, GARRETT                           ADDRESS ON FILE
LANE, GERMAINE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1091 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1100 of 2156

Claim Name                           Address Information
LANE, GREGORY                        ADDRESS ON FILE
LANE, JERAME                         ADDRESS ON FILE
LANE, JILL                           ADDRESS ON FILE
LANE, JIM                            ADDRESS ON FILE
LANE, JONATHAN                       ADDRESS ON FILE
LANE, JOSEPH                         ADDRESS ON FILE
LANE, LANCE                          ADDRESS ON FILE
LANE, LESLIE                         ADDRESS ON FILE
LANE, MAIYA                          ADDRESS ON FILE
LANE, MARK                           ADDRESS ON FILE
LANE, MICHAEL                        ADDRESS ON FILE
LANE, NICHOLAS                       ADDRESS ON FILE
LANE, RICKY                          ADDRESS ON FILE
LANE, ROBERT                         ADDRESS ON FILE
LANE, ROBERT                         ADDRESS ON FILE
LANE, ROSEANN                        ADDRESS ON FILE
LANE, TERRANCE                       ADDRESS ON FILE
LANE, TRACY                          ADDRESS ON FILE
LANE, WILLIAM                        ADDRESS ON FILE
LANE2 TRANSPORT LLC                  OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LANEHART, CHARLES                    ADDRESS ON FILE
LANES EXPOSED LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LANES TRANSFER, INC.                 807 N JACKSON ST LIMA OH 45801
LANEY, JOHN                          ADDRESS ON FILE
LANEY, TYLER                         ADDRESS ON FILE
LANG, BARBARA                        ADDRESS ON FILE
LANG, DOUGLAS                        ADDRESS ON FILE
LANG, IMANI                          ADDRESS ON FILE
LANG, JESSICA                        ADDRESS ON FILE
LANG, JOHN                           ADDRESS ON FILE
LANG, JOSEPH                         ADDRESS ON FILE
LANG, JOSEPH R                       ADDRESS ON FILE
LANG, LOREN                          ADDRESS ON FILE
LANG, MICHAEL                        ADDRESS ON FILE
LANG, MICHAEL                        ADDRESS ON FILE
LANG, RAYMOND                        ADDRESS ON FILE
LANG, TONYA                          ADDRESS ON FILE
LANG, WALTER J                       ADDRESS ON FILE
LANG, WESLEY                         ADDRESS ON FILE
LANGAN, TERESA                       ADDRESS ON FILE
LANGBEL, MATIAS                      ADDRESS ON FILE
LANGE FREIGHT & LOGISTICS LLC        7613 CARRIAGE LN CINCINNATI OH 45242
LANGE MOVING & STORAGE               615 W DALE AVE MUSKEGON MI 49441
LANGE TRUCK LINES                    PO BOX 28 PLEASANTON TX 78064
LANGE, ALLEN                         ADDRESS ON FILE
LANGE, AMANDA                        ADDRESS ON FILE
LANGE, COLTON                        ADDRESS ON FILE
LANGE, RACHEL                        ADDRESS ON FILE
LANGEL, JOSEPH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1092 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1101 of 2156

Claim Name                           Address Information
LANGER, GERVASE                      ADDRESS ON FILE
LANGERMEIER, ERIC                    ADDRESS ON FILE
LANGEVIN, STEVEN                     ADDRESS ON FILE
LANGEVIN, STEVEN                     ADDRESS ON FILE
LANGEVIN, STEVEN                     ADDRESS ON FILE
LANGFELDT, TIMOTHY J                 ADDRESS ON FILE
LANGFORD, CHRISTOPHER                ADDRESS ON FILE
LANGFORD, JAMES                      ADDRESS ON FILE
LANGFORD, KEVIN                      ADDRESS ON FILE
LANGFORD, RICKEY                     ADDRESS ON FILE
LANGFORD, TIMOTHY                    ADDRESS ON FILE
LANGHORST, CHRISTOPHER               ADDRESS ON FILE
LANGLEY, BRANDON L                   ADDRESS ON FILE
LANGLEY, JONATHAN                    ADDRESS ON FILE
LANGLEY, MICHAEL                     ADDRESS ON FILE
LANGLEY, VIRGIL                      ADDRESS ON FILE
LANGLEY, WYATT                       ADDRESS ON FILE
LANGLOIS, JON                        ADDRESS ON FILE
LANGRECK, BENNETT                    ADDRESS ON FILE
LANGRIDGE, BRUCE                     ADDRESS ON FILE
LANGSCHWAGER ELECTRIC CORPORATION    725 BUFFALO RD ROCHESTER NY 14611
LANGSDORF, DAVID                     ADDRESS ON FILE
LANGSTER, BRIAN                      ADDRESS ON FILE
LANHAM TRUCKING LLC                  ATTN: TIM LANHAM PO BOX 23 MONTICELLO IN 47960-0023
LANHAM, DANNY                        ADDRESS ON FILE
LANHAM, DAVID                        ADDRESS ON FILE
LANIER TRANSPORTATION INC            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LANIER, BRIAN                        ADDRESS ON FILE
LANIER, CARL                         ADDRESS ON FILE
LANIER, DYLLAN                       ADDRESS ON FILE
LANIER, JONATHAN                     ADDRESS ON FILE
LANIER, KIMBERLY                     ADDRESS ON FILE
LANIEWSKI, GARY                      ADDRESS ON FILE
LANING, KEVIN                        ADDRESS ON FILE
LANITA SPECIALIZED LLC               PO BOX 7747 LANCASTER PA 17604
LANJERON LOGISTICS INC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LANKFORD, ALTON                      ADDRESS ON FILE
LANKFORD, DANIEL                     ADDRESS ON FILE
LANKFORD, JAMES                      ADDRESS ON FILE
LANKFORD, JOHN                       ADDRESS ON FILE
LANKFORD, LORENZA                    ADDRESS ON FILE
LANKOTA                              ATTN: MICHEAL JOHNSON SHIPPING 270 WESTPARK AVE HURON SD 57350
LANKTREE, ANTHONY                    ADDRESS ON FILE
LANMAN & KEMP                        ATTN: MOLLY BURNS 25 WOODLAND AVE WESTWOOD NJ 07675
LANMAN, TERRANCE                     ADDRESS ON FILE
LANNING, BLAIR                       ADDRESS ON FILE
LANNOM, GREGORY                      ADDRESS ON FILE
LANSDALE, NICHOLAS                   ADDRESS ON FILE
LANSDOWNE, RAYMOND                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1093 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1102 of 2156

Claim Name                          Address Information
LANSER GARAGE & TOWING INC          825 MAIN ST BELGIUM WI 53004
LANSING BUILDING PRODUCTS           11810 N. LAKERIDGE PKWY. BUILDING C ASHLAND VA 23005
LANSING, NEIL                       ADDRESS ON FILE
LANTERN TRANSPORT LLC               OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
LANTIGUA, JOSE                      ADDRESS ON FILE
LANTRIP, JOHN                       ADDRESS ON FILE
LANTZ, JESSE                        ADDRESS ON FILE
LANTZ, JODEE                        ADDRESS ON FILE
LANUZA, OSCAR                       ADDRESS ON FILE
LANYAP PEST CONTROL, INC.           P.O. BOX 84314 PEARLAND TX 77584
LANZA, ADRIAN                       ADDRESS ON FILE
LANZA, IVO                          ADDRESS ON FILE
LAO-HMONG SECURITY AGENCY INC       10682 TRASK AVE GARDEN GROVE CA 92843
LAP TECH IND INC                    1605 TIMBERLAND CT YORK SC 29745
LAP TRANSPORTATION LLC              OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
LAP, RICHARD                        ADDRESS ON FILE
LAPAGLIA, CARL                      ADDRESS ON FILE
LAPAPA JR., MICHAEL                 ADDRESS ON FILE
LAPAPA, CARMEN                      ADDRESS ON FILE
LAPE, TYLER                         ADDRESS ON FILE
LAPEARL, MICHAEL                    ADDRESS ON FILE
LAPIANA, GIOVANNI-GIUSEPPE          ADDRESS ON FILE
LAPIANA, JOHN                       ADDRESS ON FILE
LAPIN, RICHARD                      ADDRESS ON FILE
LAPLANTE, DENISE                    ADDRESS ON FILE
LAPOLLA, BLAISE E                   ADDRESS ON FILE
LAPOLLA, BLAISE E                   ADDRESS ON FILE
LAPORTA, FRANK A                    ADDRESS ON FILE
LAPP USA                            ATTN: KATHY KELLY 29 HANOVER RD FLORHAM PARK NJ 07932
LAPP, GEORGE                        ADDRESS ON FILE
LAPPIN ELECTRIC 526                 ATTN: DIVISION OF CED 3160 PRAIRIE AVE BELOIT WI 53511
LAPPIN, ALONZO                      ADDRESS ON FILE
LARA BRIZUELA, SAYDA JOHANA         ADDRESS ON FILE
LARA BRIZUELA, SAYDA JOHANA         ADDRESS ON FILE
LARA CASCHERA                       ADDRESS ON FILE
LARA LOGISTIC LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LARA, ADRIAN                        ADDRESS ON FILE
LARA, BRIANNA                       ADDRESS ON FILE
LARA, BRYANT                        ADDRESS ON FILE
LARA, CARLOS                        ADDRESS ON FILE
LARA, EMILY                         ADDRESS ON FILE
LARA, ESMERALDA                     ADDRESS ON FILE
LARA, GERALD                        ADDRESS ON FILE
LARA, JOSE A                        ADDRESS ON FILE
LARA, MARIO                         ADDRESS ON FILE
LARA, OMAR                          ADDRESS ON FILE
LARA, PEDRO                         ADDRESS ON FILE
LARA, REGULO                        ADDRESS ON FILE
LARA, SAMANTHA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1094 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1103 of 2156

Claim Name                              Address Information
LARA-RAMIREZ, JOSE                      ADDRESS ON FILE
LARAMIE COUNTY TAX COLLECTOR            PO BOX 125 CHEYENNE WY 82003
LARAMORE, LATOYA                        ADDRESS ON FILE
LARDZABAL, NESTOR                       ADDRESS ON FILE
LAREDO EXPRESS INC                      1625 HUNTER ROAD HANOVER PARK IL 60133
LARIMORE, BOBBY                         ADDRESS ON FILE
LARIN TRANSPORT                         OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
LARIVE, BRIAN                           ADDRESS ON FILE
LARIVIERE, HELEN                        ADDRESS ON FILE
LARIZZA, EDWARD                         ADDRESS ON FILE
LARJ LOGISTICS LLC                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
LARK ELLEN FARM                         ATTN: MIKE MENDOZA 420 BRYANT CIRCLE OJAI CA 93023
LARKIN, AARON                           ADDRESS ON FILE
LARKIN, BRANDON                         ADDRESS ON FILE
LARKIN, CHARLES                         ADDRESS ON FILE
LARKIN, DANIEL                          ADDRESS ON FILE
LARKIN, JAMES                           ADDRESS ON FILE
LARKIN, KEVIN                           ADDRESS ON FILE
LARKIN, KEVIN                           ADDRESS ON FILE
LARKIN, KRISTINA                        ADDRESS ON FILE
LARKIN, NATHAN                          ADDRESS ON FILE
LARKIN, SAVANNAH                        ADDRESS ON FILE
LARKIN, SEAN                            ADDRESS ON FILE
LARKIN, SEAN                            ADDRESS ON FILE
LARKIN, WESLEY                          ADDRESS ON FILE
LAROCCA, MARTIN                         ADDRESS ON FILE
LAROCQUE, CHASE                         ADDRESS ON FILE
LAROCQUE, CHRISTOPHER                   ADDRESS ON FILE
LARON TRANSPORTATION LLC                OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
LAROSE, ALEX                            ADDRESS ON FILE
LAROSE, KEVIN                           ADDRESS ON FILE
LARRABEES TIRE SERVICE LLC              17 HUNT CREEK RD NICHOLS NY 13812
LARRALDE TRANSPORT COMPANY LLC          OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LARRANCE, TAYLOR                        ADDRESS ON FILE
LARRY A SWAFFORD                        ADDRESS ON FILE
LARRY ALLEN - GY                        ADDRESS ON FILE
LARRY ALLEN - GY                        ADDRESS ON FILE
LARRY BRANTON                           ADDRESS ON FILE
LARRY CAMPBELLS TOWING & RECOVERY INC   7327 OLD STATESVILLE ROAD CHARLOTTE NC 28269
LARRY D BRINEY                          ADDRESS ON FILE
LARRY D WILLARD                         ADDRESS ON FILE
LARRY E GRASTEIT                        ADDRESS ON FILE
LARRY GOODEN                            ADDRESS ON FILE
LARRY J. FLEET SERVICES LTD.            9905-54 ST. SE CALGARY AB T2C 5J5 CANADA
LARRY KENNEDY EQUIPMENT REPAIR          4669 FISHER LN SENECA MO 64865
LARRY L COLE                            ADDRESS ON FILE
LARRY L GREEN                           ADDRESS ON FILE
LARRY L GREEN                           ADDRESS ON FILE
LARRY MILLER FORD                       11595 W. 6TH AVE. LAKEWOOD CO 80215



Epiq Corporate Restructuring, LLC                                                               Page 1095 OF 2145
                                                Yellow Corporation
                     Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1104 of 2156

Claim Name                               Address Information
LARRY QUICK TRANSPORTATION LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LARRY REAMY                              ADDRESS ON FILE
LARRY SAM FREIGHT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LARRY SIMONS                             ADDRESS ON FILE
LARRY STEWNER                            ADDRESS ON FILE
LARRY THOMPSON                           ADDRESS ON FILE
LARRY TRUCKING LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LARRY VITITOW TRUCKING, L.L.C.           PO BOX 351 SULPHUR SPRINGS TX 75482
LARRY W HAMBY                            ADDRESS ON FILE
LARRY WILLIAMS TRUCKING, L.L.C.          3000 HWY 412 WEST COLCORD OK 74338
LARRY WILSON TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LARRY, CHRISTOPHER                       ADDRESS ON FILE
LARRY, DENISE                            ADDRESS ON FILE
LARRY, JAMES                             ADDRESS ON FILE
LARRYS SERVICE AND TOWING                73111 FULTON ST ARMADA MI 48005
LARRYS TOOLS & HYDRAULIC JACK SERVICES   702 S LYNHURST DR INDIANAPOLIS IN 46241
LARRYS TRUCK & TRAILER SERVICE           1050 N US 421, PO BOX 202 MADISON IN 47250
LARRYS TRUCKING & WAREHOUSING, INC.      7402 RIDGEWOOD ROAD ST CLOUD MN 56303
LARSA TRANSPORTATION LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LARSEN TRANSPORTATION LLC                OR FREIGHT FACTORING SPECIALISTS LLC, DEPT 259 PO BOX 1000 MEMPHIS TN 38148
LARSEN, BRANDON                          ADDRESS ON FILE
LARSEN, BRIAN                            ADDRESS ON FILE
LARSEN, DANICA                           ADDRESS ON FILE
LARSEN, HEIDI                            ADDRESS ON FILE
LARSEN, JOHN                             ADDRESS ON FILE
LARSEN, KEVIN                            ADDRESS ON FILE
LARSEN, KYLE                             ADDRESS ON FILE
LARSEN, LANCE                            ADDRESS ON FILE
LARSEN, LINDA                            ADDRESS ON FILE
LARSEN, MARK                             ADDRESS ON FILE
LARSEN, MEGAN                            ADDRESS ON FILE
LARSEN, PAUL                             ADDRESS ON FILE
LARSEN, TIMOTHY J                        ADDRESS ON FILE
LARSEN, ZACHERY                          ADDRESS ON FILE
LARSH, ANDREW                            ADDRESS ON FILE
LARSON, AMY                              ADDRESS ON FILE
LARSON, BEN                              ADDRESS ON FILE
LARSON, BRANDON                          ADDRESS ON FILE
LARSON, BRAXTON                          ADDRESS ON FILE
LARSON, DONALD                           ADDRESS ON FILE
LARSON, DONNA                            ADDRESS ON FILE
LARSON, ERIC                             ADDRESS ON FILE
LARSON, JAMES                            ADDRESS ON FILE
LARSON, JAY                              ADDRESS ON FILE
LARSON, JAY M                            ADDRESS ON FILE
LARSON, JOHANN                           ADDRESS ON FILE
LARSON, KEVIN                            ADDRESS ON FILE
LARSON, PATRICK                          ADDRESS ON FILE
LARSON, ROBERT S                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1096 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1105 of 2156

Claim Name                          Address Information
LARSON, STEVE                       ADDRESS ON FILE
LARSONS SEASONAL ENTERPRISES INC    31 SMITH ST BLUE POINT NY 11715
LARUE, DEAN                         ADDRESS ON FILE
LARUE, JALEN                        ADDRESS ON FILE
LARUE, LYNN D                       ADDRESS ON FILE
LARUSSA, RUSSELL                    ADDRESS ON FILE
LARY, DEANDRE                       ADDRESS ON FILE
LARY, TERRANCE                      ADDRESS ON FILE
LAS BALAS, CORP.                    15311 SW 307 ROAD HOMESTEAD FL 33033
LAS MARIAS PALLETS                  ADDRESS ON FILE
LAS TRUCKING LLC                    OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LAS VEGAS FENCE                     4295 ARVILLE ST LAS VEGAS NV 89103
LAS VEGAS LOGISTICS LLC             PO BOX 357 HAZLET NJ 07730
LAS VEGAS TRANSPORT LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LASALLE JR., REYES                  ADDRESS ON FILE
LASANE, CAESAR                      ADDRESS ON FILE
LASARA GOLDEN LLC                   OR ASSIST FINANCIAL SERVICES, INC., PO BOX 347 MADISON SD 57042
LASARTE, ARIEL                      ADDRESS ON FILE
LASCO, RODWIN                       ADDRESS ON FILE
LASER FORWARDING, INC.              13166 S UNITEC DR LAREDO TX 78045
LASER LINE LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LASER TRANSPORT INC                 OR TBS FACTORING SERVICE LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LASH, ROBERT                        ADDRESS ON FILE
LASH, TEDDY                         ADDRESS ON FILE
LASHANDAS TRUCKING SERVICE          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LASHAW, RICHARD                     ADDRESS ON FILE
LASHAW, RICHARD                     ADDRESS ON FILE
LASHLEE, ASA                        ADDRESS ON FILE
LASHLEY, ERIC                       ADDRESS ON FILE
LASHMET, FRED                       ADDRESS ON FILE
LASHMET, SHAWN                      ADDRESS ON FILE
LASHUA, KATHERINE                   ADDRESS ON FILE
LASHWAY, DARRELL L                  ADDRESS ON FILE
LASKER, ALAN                        ADDRESS ON FILE
LASKEY, SHARRITA S                  ADDRESS ON FILE
LASLEY, JASON                       ADDRESS ON FILE
LASLEY, SKYI                        ADDRESS ON FILE
LASLIE, DONALD                      ADDRESS ON FILE
LASORSA, NATHAN                     ADDRESS ON FILE
LASSAK, PATRICK                     ADDRESS ON FILE
LASSALLE, NICHOLAS                  ADDRESS ON FILE
LASSEN CARGO INC                    OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LASSITER, CODY                      ADDRESS ON FILE
LASSITER, CRYSTAL                   ADDRESS ON FILE
LASSITER, DAVID                     ADDRESS ON FILE
LASSITER, JEFF                      ADDRESS ON FILE
LASSWELL, TAVINE                    ADDRESS ON FILE
LAST CALL LOGISTICS LLC             N7784 HIGHWAY 67 MAYVILLE WI 53050
LAST CHANCE TRANSPORT LLC           10913 ALDER AV BLOOMINGTON CA 92316



Epiq Corporate Restructuring, LLC                                                            Page 1097 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1106 of 2156

Claim Name                           Address Information
LAST CHOICE TRANSPORTATION LLC       OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
LAST FRONTIER TRANSPORT LLC          4481 W MEDICINE MAN RD PAHRUMP NV 89048
LAST MILE SIGNATURE LLC              OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
LAST MILES EXPRESS LLC               OR FINANCIAL CARRIER SERVICES, PO BOX 151052 OGDEN UT 84415
LAST MINUTE EXPRESS LLC              PO BOX 301075, STE 350 KANSAS CITY MO 64130
LASTA TRANS INC                      OR AFS, INC., PO BOX 347 MADISON SD 57042
LASTORIA, ETHAN                      ADDRESS ON FILE
LASWELL, DON                         ADDRESS ON FILE
LAT LOGISTICS                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LATASHA HENRY                        ADDRESS ON FILE
LATE NITE TRUCKING INC               OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
LATEER, WAYNE                        ADDRESS ON FILE
LATENDER, DONALD L                   ADDRESS ON FILE
LATENDER, DONALD L                   ADDRESS ON FILE
LATHAM TRANSPORT LLC                 OR TRUCKSTOP, P.O. BOX 74 0411 CHICAGO IL 60674
LATHAM, GEORGE                       ADDRESS ON FILE
LATHON, JACK                         ADDRESS ON FILE
LATHONS INC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LATHROP, RACHELLE                    ADDRESS ON FILE
LATHROP, ROBIN                       ADDRESS ON FILE
LATI TRANS INC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LATIC EXPRESS, INC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LATICRETE INTERNATIONAL INC          4620 W 84TH ST INDIANAPOLIS IN 46268
LATIFAH LLC                          OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LATIMER, JAKE                        ADDRESS ON FILE
LATIMER, JAMES                       ADDRESS ON FILE
LATIMER, KENNETH                     ADDRESS ON FILE
LATIMORE TRUCKING INC                OR TRANSAM FINANCIAL SERVICES, INC., PO BOX 872632 KANSAS CITY MO 64187
LATIMORE, STEPHEN                    ADDRESS ON FILE
LATIN TRANSPORT INC                  OR FINANCIAL CARRIER SERVICES, PO BOX 151052 OGDEN UT 84415
LATIN, TREJOHN                       ADDRESS ON FILE
LATMAN, EMILY                        ADDRESS ON FILE
LATOURNEAU, ADAM                     ADDRESS ON FILE
LATOYA JONES                         ADDRESS ON FILE
LATOZ, KRAIG                         ADDRESS ON FILE
LATRELL MITCHELL                     ADDRESS ON FILE
LATRICE A EDMOND                     ADDRESS ON FILE
LATTA, CHARLES                       ADDRESS ON FILE
LATTA, WILLIAM                       ADDRESS ON FILE
LATTIMORE, SETH                      ADDRESS ON FILE
LATTY, EARL                          ADDRESS ON FILE
LATULIPPE, JONATHAN                  ADDRESS ON FILE
LATUSZEK, STEVE P                    ADDRESS ON FILE
LATY SENGNAVONG                      ADDRESS ON FILE
LAU HOLDINGS                         4509 SPRINGFIELD ST. DAYTON OH 45431
LAU, MAY                             ADDRESS ON FILE
LAUBACH, BRYAN                       ADDRESS ON FILE
LAUBACKER, JOSEPH                    ADDRESS ON FILE
LAUBENTHAL, MELISSA ANNE             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1098 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1107 of 2156

Claim Name                           Address Information
LAUDERDALE, VINCENT                  ADDRESS ON FILE
LAUER, DANIEL                        ADDRESS ON FILE
LAUER, DAVID                         ADDRESS ON FILE
LAUER, MANDI                         ADDRESS ON FILE
LAUER, SHAWN                         ADDRESS ON FILE
LAUGHERY TRUCKING, LLC               7600 OLD MEADVILLE RD UNION CITY PA 16438
LAUGHERY TRUCKING, LLC               OR TRANSAM FINANCIAL SERVICES, INC., PO BOX 872632 KANSAS CITY MO 64187
LAUGHLIN, DAVID                      ADDRESS ON FILE
LAUGHLIN, MICHAEL                    ADDRESS ON FILE
LAUGHNAN, MICHAEL                    ADDRESS ON FILE
LAUNDRA, LINDA                       ADDRESS ON FILE
LAUNDRY SERVICE OF TENNESSEE         1506 W MEADOW CT SEVIERVILLE TN 37862
LAURA AKER                           ADDRESS ON FILE
LAURA KAPELA                         ADDRESS ON FILE
LAURA L NICHOLS                      ADDRESS ON FILE
LAURA SCHULZ                         ADDRESS ON FILE
LAURA SCHULZ                         ADDRESS ON FILE
LAURA WAGNER                         ADDRESS ON FILE
LAURAS ORIGINAL BOSTON BROWNIES IN   ATTN: STEPHEN MADURI 818 VANDERBILT PI SAN DIEGO CA 92103
LAURAS TRUCKING INC.                 OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
LAUREANO OROZCO, EMILIANO            ADDRESS ON FILE
LAUREANO, JESUS                      ADDRESS ON FILE
LAUREANO, REYNALDO                   ADDRESS ON FILE
LAUREN A ROBLES                      ADDRESS ON FILE
LAUREN A ROBLES                      ADDRESS ON FILE
LAUREN FLORIDA TRUCKS INC            OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
LAUREN M CALHOUN                     ADDRESS ON FILE
LAUREN M CALHOUN                     ADDRESS ON FILE
LAUREN N HOWARD                      ADDRESS ON FILE
LAURENCE D WILCOX                    ADDRESS ON FILE
LAURENCE, GREGG A                    ADDRESS ON FILE
LAURENCE, JOSHUA                     ADDRESS ON FILE
LAURENTIAL BK OF CAN/CDS(5001)       ESTELLE COLLE OR PROXY MGR 1981 MCGILL COLLEGE AVE STE 100 MONTREAL QC H3A 3K3
                                     CANADA
LAURIE AND ROBERT WALTER             ADDRESS ON FILE
LAURIE, NELSON                       ADDRESS ON FILE
LAURINE E JONES                      ADDRESS ON FILE
LAURITZEN, ERIC                      ADDRESS ON FILE
LAURY, DEVERAND                      ADDRESS ON FILE
LAUSH TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC, PO BOX 840267 DALLAS TX 75284-0267
LAUTERBACH, BENJAMIN                 ADDRESS ON FILE
LAUTZENHEISER, KEVIN                 ADDRESS ON FILE
LAUX, DOUGLAS                        ADDRESS ON FILE
LAUZARDO, DANIEL                     ADDRESS ON FILE
LAUZAU, THOMAS                       ADDRESS ON FILE
LAUZON LOGISTICS                     4729 PERIWINKLE CR WINDSOR ON N9G 3G5 CANADA
LAVAGE CL                            ADDRESS ON FILE
LAVALLE TRANSPORTATION, INC.         PO BOX 550 POTSDAM NY 13676
LAVALLEE, IAN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1099 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1108 of 2156

Claim Name                               Address Information
LAVALLEY, WILLIAM                        ADDRESS ON FILE
LAVALLIE, STACY                          ADDRESS ON FILE
LAVARNWAY, MICHAEL                       ADDRESS ON FILE
LAVATAI, BRYTON                          ADDRESS ON FILE
LAVEEN EXPRESS LLC                       OR ADVANCED COMMERCIAL CAPITAL, 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
LAVELLE, ANDREW                          ADDRESS ON FILE
LAVENDER, JEFFERY                        ADDRESS ON FILE
LAVENDER, MICHAEL                        ADDRESS ON FILE
LAVENDERS TRUCKING 1 LLC                 OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
LAVERN CROSS TRUCKING                    14728 C.R. 20 MIDDLEBURY IN 46540
LAVERTY, PAUL                            ADDRESS ON FILE
LAVIGNE OIL COMPANY OF BATON ROUGE LLC   11203 PROVERBS AVE BATON ROUGE LA 70816
LAVISH TRANSPORT LTD.                    344 DAWSON ROAD N WINNIPEG MB R2J 0S7 CANADA
LAVOIE, RICHARD                          ADDRESS ON FILE
LAVOIE, SYLVAIN                          ADDRESS ON FILE
LAVULO, OSAIASI                          ADDRESS ON FILE
LAW OFFICE OF AMANDA L IRELAND           AND MICHAEL E. ELBRADER, 260 FRANKLIN STREET 14TH FLOOR BOSTON MA 02110
LAW OFFICE OF LARRY R DAVIDSON           CLIENTS TRUST ACCOUNT 121 SW MORRISON ST STE 1020 PORTLAND OR 97204
LAW OFFICES OF JAMES M GULLEY            119 S MAIN ST SUITE 500 MEMPHIS TN 38103
LAW OFFICES OF MICHAEL T SMITH           & ASSOCIATES PC C/O KIM HOLESHA, 735 FAIRVIEW LN SOUTH ELGIN IL 60177
LAW TRANSPORT LLC                        OR WEX FLEET ONE, P.O. BOX 94565 CLEVELAND OH 44101
LAW, FRANK                               ADDRESS ON FILE
LAW, JACK                                ADDRESS ON FILE
LAW, TIMOTHY                             ADDRESS ON FILE
LAW, TIMOTHY                             ADDRESS ON FILE
LAW, WILLIAM                             ADDRESS ON FILE
LAWALL TRUCKING, INC.                    134 POND HILL MT RD WAPWALLOPEN PA 18660
LAWANDA JACKSON HEYTHALER                ADDRESS ON FILE
LAWCO FIRE PROTECTION                    5350 BOUNTY LANE CENTRAL POINT OR 97502
LAWHEAD, RYAN                            ADDRESS ON FILE
LAWHORN, CHRISTOPHER                     ADDRESS ON FILE
LAWIM TRUCKING                           OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
LAWLER, ELAINE                           ADDRESS ON FILE
LAWLER, JOHN M                           ADDRESS ON FILE
LAWLOR, ROBERT                           ADDRESS ON FILE
LAWN CARE EQUIPMENTCOMPANY               8925 WATSON ROAD WEBSTER GROVES MO 63119
LAWN PROS                                PO BOX 869 SERGEANT BLUFF IA 51054
LAWRENCE                                 872 LEE HIGHWAY ROANOKE VA 24019
LAWRENCE & ASSOCIATES LAWRENCEQUEEN      701 EAST FRANKLIN STREET SUITE 700 RICHMOND VA 23219
LAWRENCE CULPEPPER LLC                   OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
LAWRENCE E. TURNER TRUCKING, LLC         4859 175TH AVENUE HERSEY MI 49639
LAWRENCE G AYERS                         ADDRESS ON FILE
LAWRENCE GLASS COMPANY INC.              2450 RIDEOUT LANE MURFREESBORO TN 37128
LAWRENCE GLASS COMPANY INC.              294 HERMITAGE AVENUE NASHVILLE TN 37210
LAWRENCE J WILHELM                       ADDRESS ON FILE
LAWRENCE LYNN                            ADDRESS ON FILE
LAWRENCE REUBIN                          ADDRESS ON FILE
LAWRENCE TRANSPORTATION COMPANY          1515 INDUSTRIAL DRIVE NW ROCHESTER MN 55901
LAWRENCE, AARON                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1100 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1109 of 2156

Claim Name                           Address Information
LAWRENCE, ANDREW J                   ADDRESS ON FILE
LAWRENCE, BARRY                      ADDRESS ON FILE
LAWRENCE, BRENT                      ADDRESS ON FILE
LAWRENCE, CHARLES                    ADDRESS ON FILE
LAWRENCE, CLIFTON R                  ADDRESS ON FILE
LAWRENCE, DAVEY                      ADDRESS ON FILE
LAWRENCE, DEMARCUS                   ADDRESS ON FILE
LAWRENCE, EARL                       ADDRESS ON FILE
LAWRENCE, EDWARD                     ADDRESS ON FILE
LAWRENCE, EDWARD                     ADDRESS ON FILE
LAWRENCE, EMMANUEL                   ADDRESS ON FILE
LAWRENCE, ERIC                       ADDRESS ON FILE
LAWRENCE, IAN                        ADDRESS ON FILE
LAWRENCE, JEFFREY                    ADDRESS ON FILE
LAWRENCE, KENDALL                    ADDRESS ON FILE
LAWRENCE, KENNETH                    ADDRESS ON FILE
LAWRENCE, MALEAK                     ADDRESS ON FILE
LAWRENCE, MARK                       ADDRESS ON FILE
LAWRENCE, MATTHEW                    ADDRESS ON FILE
LAWRENCE, PAUL                       ADDRESS ON FILE
LAWRENCE, REGINALD                   ADDRESS ON FILE
LAWRENCE, RICK                       ADDRESS ON FILE
LAWRENCE, ROBERT                     ADDRESS ON FILE
LAWRENCE, SHANNON                    ADDRESS ON FILE
LAWRENCE, STEV                       ADDRESS ON FILE
LAWRENCE, TERRAL                     ADDRESS ON FILE
LAWRENCE, THORMONN                   ADDRESS ON FILE
LAWREY, NASHAE                       ADDRESS ON FILE
LAWS, SCOTT A                        ADDRESS ON FILE
LAWS, VINCENT                        ADDRESS ON FILE
LAWSON LOGISTICS LLC                 OR ITHRIVE FUNDING LLC, DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
LAWSON TRUCKING EXPRESS LLC          OR PRO FUNDING INC, DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
LAWSON TRUCKING LLC                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
LAWSON, BRIAN                        ADDRESS ON FILE
LAWSON, BRIAN                        ADDRESS ON FILE
LAWSON, CHARLES                      ADDRESS ON FILE
LAWSON, CHRIS                        ADDRESS ON FILE
LAWSON, DANIEL                       ADDRESS ON FILE
LAWSON, DANNY                        ADDRESS ON FILE
LAWSON, DAVID                        ADDRESS ON FILE
LAWSON, DEBRA                        ADDRESS ON FILE
LAWSON, EDWARD                       ADDRESS ON FILE
LAWSON, FRANK                        ADDRESS ON FILE
LAWSON, GLENN                        ADDRESS ON FILE
LAWSON, GREG                         ADDRESS ON FILE
LAWSON, JAMES                        ADDRESS ON FILE
LAWSON, JERTARA                      ADDRESS ON FILE
LAWSON, JOHN                         ADDRESS ON FILE
LAWSON, JRAMIER                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1101 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1110 of 2156

Claim Name                           Address Information
LAWSON, MIKE                         ADDRESS ON FILE
LAWSON, PAUL                         ADDRESS ON FILE
LAWTON FREIGHT LLC                   OR INTERNET TRUCKSTOP PAYMENTS, LLC, PO BOX 7410411 CHICAGO IL 60674-0411
LAWTON, IGNACIO                      ADDRESS ON FILE
LAWTON, JONATHAN                     ADDRESS ON FILE
LAWTON, STEPHEN                      ADDRESS ON FILE
LAWYER, CHARLES                      ADDRESS ON FILE
LAWYER, PATRICIA                     ADDRESS ON FILE
LAWYERS FOR JUSTICE PC               ATTN EDWIN AIWAZIAN, 410 ARDEN AVE STE 203 GLENDALE CA 91203
LAXTON, STEVEN                       ADDRESS ON FILE
LAXTON, ZACHARY                      ADDRESS ON FILE
LAY, BRANDON                         ADDRESS ON FILE
LAY, FRED                            ADDRESS ON FILE
LAYER, RICK                          ADDRESS ON FILE
LAYLAND, DEREK                       ADDRESS ON FILE
LAYMAN, BRIAN                        ADDRESS ON FILE
LAYMAN, VICKIE                       ADDRESS ON FILE
LAYMANCE, RICKEY                     ADDRESS ON FILE
LAYMON, CODY                         ADDRESS ON FILE
LAYON TRANSPORT LLC                  OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
LAYOR LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LAYTE FAMILY LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LAYTON, JON                          ADDRESS ON FILE
LAYTON, WILLIAM                      ADDRESS ON FILE
LAYTON, YVONNE                       ADDRESS ON FILE
LAYTRUCKING LLC                      OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
LAZAR FREIGHT LLC                    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LAZARD TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LAZARO LEOVEL TRUCKING               OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
LAZARO, DAVID                        ADDRESS ON FILE
LAZARO, JONATHAN                     ADDRESS ON FILE
LAZARUS, JAMES                       ADDRESS ON FILE
LAZENBY, RANDALL M                   ADDRESS ON FILE
LAZER HOME SERVICES                  5703 NORTHWEST 2ND STREET DES MOINES IA 50313
LAZERFOCUS TRANSPORTATIONS LLC       OR TREADSTONE US CAPITAL, LLC, PO BOX 631627 CINCINNATI OH 45263-1627
LAZIZ CARGO INC                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LAZMAR TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC, PO BOX 7410411 CHICAGO IL 60674-0411
LAZO EXPRESS CORP                    OR FREIGHT FACTORING SPECIALISTS LLC, DEPT 259 PO BOX 1000 MEMPHIS TN 38148
LAZO EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LAZO, MICHAEL                        ADDRESS ON FILE
LAZUK, THOMAS                        ADDRESS ON FILE
LAZYSUZY                             ATTN: ARZAN RAIMALWALA 1461 7TH AVE SAN FRANCISCO CA 94122
LB INDEPENDENT CORP                  OR NEXT DAY FUNDING, INC, PO BOX 640 CHICAGO HEIGHTS IL 60412
LB TRANSPORT INC                     OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320-5154
LB TRANSPORT LTD                     OR J D FACTORS CORPORATION, 315 MATHESON BLVD EAST MISSISSAUGA AB L4Z 1X8
                                     CANADA
LB TRUCKING LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
LBA SERVICES                         & PLUMBING INC, PO BOX 790379 ST LOUIS MO 63179-0379
LBC BAKERY                           ONE INDUSTRIAL COMPL NESQUEHONING PA 18240



Epiq Corporate Restructuring, LLC                                                              Page 1102 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1111 of 2156

Claim Name                              Address Information
LBH TRANSPORT INC                      OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LBI TRANSPORT                          2711 LOS MISIONEROS LAS CRUCES NM 88011-9044
LBJ TRANSPORT LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LBJ TRANSPORTATION GROUP LLC           OR ECAPITAL FREIGHT FACTORING CORP., PO BOX 206773 DALLAS TX 75320-6773
LBL TRANSPORTATION LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
LBM WORLDWIDE LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LBY TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LC CARRIER INC.                        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LC EMPIRE TRUCKING LLC                 OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
LC INNOVATIVE LOGISTICS L              CARRIE KUREK, PO BOX 1375 BUFFALO NY 14226
LC TRANSPORTING LLC                    6816 KIVETTE HOUSE RD GIBSONVILLE NC 27249-8763
LCA TRUCKING, INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LCD TRANSPORTATION LLC                 OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
LCD XPRESS INC                         OR PARTNERS FUNDING INC.    PO BOX 5431 CAROL STREAM IL 60197-5431
LCH FREIGHT INC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
LCI                                    OR BARON FINANCE CALIFORNIA INC DA REVOLUTION CAPITAL, PO BOX 741791 LOS
                                       ANGELES CA 90074
LCP LITEHOUSE CUSTOM PRINTING          PO BOX 216 SANDPOINT ID 83864
LCR TRANSPORT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LD TRANS INC                           7235 N RIVERSIDE DR FRESNO CA 93722-3684
LDA TRANSPORT, LLC                     PO BOX 1023 BRUSH PRAIRIE WA 98606
LDG TECHNICAL SERVICES CORP            ATTN: LEISHA VAZQUEZ PO BOX 190275 SAN JUAN PR 00919
LDH FREIGHT, INC.                      OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195
LDH FREIGHT, INC.                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LDH TRUCKING INC                       OR OTR CAPITAL DBA OTR SOLUTIONS , PO BOX 1175760 ATLANTA GA 30368-7576
LDI ENTERPRISES                        OR SMART FREIGHT FUNDING, 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
LDK & SONS LLC                         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411
LDL LOGISTICS INC                      110 SHINNECOCK DRIVE MANALAPAN NJ 07726
LDM 816913                             OR CFS INC DBA COMFREIGHT HAULPAY, P.O. BOX 200400 DALLAS TX 75320-0400
LDM TRUCKING INC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LDS EXPRESS CORP                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LDS TRANSPORTATION LLC (LOS ANGELES CA) OR INTERNET TRUCKSTOP PAYMENTS, LLC, PO BOX 7410411 CHICAGO IL 60674-0411
LDW TRANSPORTATION LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411
LE JADE TRANSPORT LLC                  OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
LE PRESTON MANAGEMENT                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411
LE SCHWAB WAREHOUSE CENTER INC         PO BOX 5350 BEND OR 97708
LE SURE, ZACARA                        ADDRESS ON FILE
LE TRANSPORT INC                       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
LE, ALEX                               ADDRESS ON FILE
LE, DINH                               ADDRESS ON FILE
LE, DONG                               ADDRESS ON FILE
LE, NHAN                               ADDRESS ON FILE
LE, TOMSON                             ADDRESS ON FILE
LE, VIET                               ADDRESS ON FILE
LEA TRANSPORT LLC                      OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
LEA, DENNIS                            ADDRESS ON FILE
LEA, STEFON                            ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                 Page 1103 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1112 of 2156

Claim Name                           Address Information
LEAA TRANSPORT LLC                   1315 LEVICK STREET PHILADELPHIA PA 19111
LEACH BROS INC                       6721 PARK AVE PENNSAUKEN NJ 08109
LEACH TRUCKING CO.                   6150 JUNCTION ROAD BRIDGEPORT MI 48722
LEACH, DENNIS                        ADDRESS ON FILE
LEACH, DOUGLAS                       ADDRESS ON FILE
LEACH, GARY                          ADDRESS ON FILE
LEACH, HARVEY J                      ADDRESS ON FILE
LEACH, HOWARD                        ADDRESS ON FILE
LEACH, JEFF                          ADDRESS ON FILE
LEACH, KEITH                         ADDRESS ON FILE
LEACH, KERR S                        ADDRESS ON FILE
LEACH, MATTHEW                       ADDRESS ON FILE
LEACH, NOEL                          ADDRESS ON FILE
LEACOCK, MARVIS                      ADDRESS ON FILE
LEAD CARGO INC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LEAD CARGO INC                       OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LEAD LOGISTICS LLC                   OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LEAD TRUCKING TRANSPORTATION INC     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEADEN, MATTHEW                      ADDRESS ON FILE
LEADER FREIGHT SYSTEMS INC           OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LEADER GROUP INC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEADER ONE INC.                      OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LEADERS IN FREIGHT, INC.             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LEADERSHIP INNOVATIONS               324 SE WILLIAMSBURG CIRCLE LEES SUMMIT MO 64063
LEADING EDGE COMPOSITES              645 SANDS CT COATESVILLE PA 19320
LEADING LOGISTICS INC                OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LEADWAY TRANSPORTATION INC           OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
LEADY, DAVID                         ADDRESS ON FILE
LEAENO, JOHNSON                      ADDRESS ON FILE
LEAF                                 PO BOX 5066 HARTFORD CT 06102
LEAF TRANSPORTATION INC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LEAGUE, CLIFFORD                     ADDRESS ON FILE
LEAH J DESPAIN                       ADDRESS ON FILE
LEAHY, MARGARET                      ADDRESS ON FILE
LEAHY, MICHAEL                       ADDRESS ON FILE
LEAKE, DONNA                         ADDRESS ON FILE
LEAKE, KEVIN                         ADDRESS ON FILE
LEAL TRANSPORT SERVICES, CORP.       PO BOX 8138 CORAL SPRINGS FL 33075
LEAL, DANIEL                         ADDRESS ON FILE
LEAL, FRANK                          ADDRESS ON FILE
LEAL, FRED                           ADDRESS ON FILE
LEAL, MANUEL                         ADDRESS ON FILE
LEAL, OSCAR                          ADDRESS ON FILE
LEAL, SEBASTIAN                      ADDRESS ON FILE
LEALAO, SOLOMON                      ADDRESS ON FILE
LEALS TRUCKING LLC                   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
LEAMER, RONALD E                     ADDRESS ON FILE
LEAN ENVIRONMENT INC                 2335 S HOOD ST TACOMA WA 98402
LEAN ENVIRONMENT INC                 4500A 15TH ST. E TACOMA WA 98424



Epiq Corporate Restructuring, LLC                                                               Page 1104 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1113 of 2156

Claim Name                           Address Information
LEAN LANE, L.L.C.                    OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEAN STAFFING SOLUTIONS INC          11555 HERON BAY BLVD STE 301 CORAL SPRINGS FL 33076
LEANDRO GUERRERO                     ADDRESS ON FILE
LEANNE SHELDON                       ADDRESS ON FILE
LEANO, ANDREW                        ADDRESS ON FILE
LEANOS, SANDRA                       ADDRESS ON FILE
LEAP LOGISTICS LLC                   4595 N BAIN AVE FRESNO CA 93722-7532
LEAP TRUCKING LLC                    OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LEARCH, BRIAN                        ADDRESS ON FILE
LEARCH, DAVID                        ADDRESS ON FILE
LEARDI, BETH                         ADDRESS ON FILE
LEARMONTH, DEREK                     ADDRESS ON FILE
LEARY, BRIAN P                       ADDRESS ON FILE
LEARY, MARLAN                        ADDRESS ON FILE
LEARY, STEVEN                        ADDRESS ON FILE
LEAS, DANIEL                         ADDRESS ON FILE
LEAS, PATRICK                        ADDRESS ON FILE
LEASAU, JESSE                        ADDRESS ON FILE
LEASH TRANSPORTATION LLC             OR FIVE STAR FACTORING LLC, 5789 WESTWOOD DRIVE WELDON SPRING MO 63304
LEASURE, RYAN                        ADDRESS ON FILE
LEATHER TECHNOLOGY                   1010 RICHARDS ROAD HARTLAND WI 53029
LEATHERMAN, SHAWN                    ADDRESS ON FILE
LEATHERS, COLT                       ADDRESS ON FILE
LEATHERWOOD, ANTHONY                 ADDRESS ON FILE
LEATHERWOOD, DUANE                   ADDRESS ON FILE
LEATHERWOOD, ROBERT                  ADDRESS ON FILE
LEAVER, THOMAS J                     ADDRESS ON FILE
LEAVITT MACHINERY                    PO BOX 24782 SEATTLE WA 98124
LEAVITT, JUSTIN                      ADDRESS ON FILE
LEAVITT, ROBERT                      ADDRESS ON FILE
LEAVITT, ROBERT                      ADDRESS ON FILE
LEBANANAURORA PARTS                  500 S ENTERPRISE BLVD LEBANON IN 46052
LEBANON COUNTY                       SPECIAL OPERATIONS & HAZMAT TEAM 400 S 8TH ST RM 12 LEBANON PA 17042
LEBANON COUNTY                       ROOM 103, 400 SOUTH 8TH STREET LEBANON PA 17042
LEBANON COUNTY SPECIAL OPERATIONS    400 S. 8TH ST. RM 12 LEBANON PA 17042
LEBANON TRUCK & TRAILER SERVICE LP   PO BOX 2121 LEBANON IN 46052
LEBAP INC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LEBBERT, RYAN                        ADDRESS ON FILE
LEBEAU, BRUCE                        ADDRESS ON FILE
LEBEAU, JENNETTE                     ADDRESS ON FILE
LEBEC ROAD SERVICE                   PO BOX 1685 FRAZIER PARK CA 93225
LEBED, LUKE                          ADDRESS ON FILE
LEBER ELECTRIC INC                   1017 W LACKAWANNA AVENUE SCRANTON PA 18504
LEBLANC, JULIEN                      ADDRESS ON FILE
LEBLANC, RICKY                       ADDRESS ON FILE
LEBLANC, RONALD                      ADDRESS ON FILE
LEBO, JONATHAN                       ADDRESS ON FILE
LEBRON, ALEXANDER                    ADDRESS ON FILE
LEBRUN, MARK A                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1105 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1114 of 2156

Claim Name                           Address Information
LEC TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING INC, PO BOX 206773 DALLAS TX 75320-6773
LECEA, DANIEL                        ADDRESS ON FILE
LECHUGA, ALONSO                      ADDRESS ON FILE
LECKA INC                            OR CAPITAL DEPOT, 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
LECKEY, REGINALD                     ADDRESS ON FILE
LECNA TRANSPORTATION                 OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LECURU, NICHOLAS                     ADDRESS ON FILE
LECUYER, DARRELL                     ADDRESS ON FILE
LECUYER, DARRELL                     ADDRESS ON FILE
LED BY CHRIST TRUCKING LLC           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LEDAY, BERNARD                       ADDRESS ON FILE
LEDBETTER, COREY                     ADDRESS ON FILE
LEDBETTER, COREY D                   ADDRESS ON FILE
LEDBETTER, JEFFREY                   ADDRESS ON FILE
LEDBETTER, PIERRE                    ADDRESS ON FILE
LEDBETTER, THOMAS                    ADDRESS ON FILE
LEDBETTER, WILLIAM                   ADDRESS ON FILE
LEDEN LOGISTICS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LEDESMA MORALES, FLORENCIO           ADDRESS ON FILE
LEDESMA TRUCKING                     OR INSIGHT TECHNOLOGY, INC, PO BOX 200399 DALLAS TX 75320-0399
LEDESMA TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LEDESMA, FERNANDO                    ADDRESS ON FILE
LEDESMA, MICHELLE                    ADDRESS ON FILE
LEDESMA, STEVAN                      ADDRESS ON FILE
LEDEZMA, OSCAR                       ADDRESS ON FILE
LEDFORD, BRANDON                     ADDRESS ON FILE
LEDFORD, CLARENCE                    ADDRESS ON FILE
LEDFORD, DARRYL                      ADDRESS ON FILE
LEDFORD, KEITH                       ADDRESS ON FILE
LEDFORD, KEVIN                       ADDRESS ON FILE
LEDFORD, STEVEN                      ADDRESS ON FILE
LEDGERWOOD, MICHAEL                  ADDRESS ON FILE
LEDGISTER&SONS LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEDNAM LOGISTICS LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
LEDO TRUCKING LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LEDOUX, ALAN                         ADDRESS ON FILE
LEDOUX, BRIAN                        ADDRESS ON FILE
LEDUC, GILBERT                       ADDRESS ON FILE
LEDUC, MEGAN                         ADDRESS ON FILE
LEDUC, MICHAEL                       ADDRESS ON FILE
LEDVANCE LLC                         11 MARSHALL ROAD SUITE 2D WAPPINGERS FALLS NY 12590
LEE A COLE                           ADDRESS ON FILE
LEE A WELLS                          ADDRESS ON FILE
LEE A WIGGINS                        ADDRESS ON FILE
LEE A. WIGGINS                       ADDRESS ON FILE
LEE COUNTY CLERK OF COURT            701 AVENUE F, FORT MADISON IA 52627
LEE COUNTY TAX COLLECTOR             PO BOX 271 TUPELO MS 38802
LEE COUNTY TAX COLLECTOR             PO BOX 1609 FORT MYERS FL 33901



Epiq Corporate Restructuring, LLC                                                               Page 1106 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1115 of 2156

Claim Name                         Address Information
LEE ENTERPRISE                     OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
LEE FAST TRACK LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LEE HI TOWING & RECOVERY           210 CARVER AVE NE ROANOKE VA 24012
LEE JR, CHRIS                      ADDRESS ON FILE
LEE RAPAPORT                       ADDRESS ON FILE
LEE RICKS LOGISTICS LLC            9401 JIMBERT DR PINE BLUFF AR 71603-6606
LEE SMITH INC                      2600 8TH AVE CHATTANOOGA TN 37407
LEE TRANSPORTATION INC             563 N CASS AVE PONTIAC MI 48342
LEE TRANZ LLC                      OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LEE TRUCKING EXPRESS INC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LEE, AARON                         ADDRESS ON FILE
LEE, ALEX                          ADDRESS ON FILE
LEE, ALEXANDER                     ADDRESS ON FILE
LEE, ALFRED                        ADDRESS ON FILE
LEE, ALISSA                        ADDRESS ON FILE
LEE, ALISSA                        ADDRESS ON FILE
LEE, ANTHONY                       ADDRESS ON FILE
LEE, ANTWAN                        ADDRESS ON FILE
LEE, BERNARD                       ADDRESS ON FILE
LEE, BRIAN                         ADDRESS ON FILE
LEE, CECIL                         ADDRESS ON FILE
LEE, CHRIS                         ADDRESS ON FILE
LEE, CHRISTINE                     ADDRESS ON FILE
LEE, CHRISTOPHER                   ADDRESS ON FILE
LEE, CHRISTOPHER                   ADDRESS ON FILE
LEE, CHUEYEE                       ADDRESS ON FILE
LEE, CHUN                          ADDRESS ON FILE
LEE, CORY                          ADDRESS ON FILE
LEE, CORY A                        ADDRESS ON FILE
LEE, CURTIS                        ADDRESS ON FILE
LEE, DAMIEN                        ADDRESS ON FILE
LEE, DARRELL                       ADDRESS ON FILE
LEE, DAVID                         ADDRESS ON FILE
LEE, DAVID                         ADDRESS ON FILE
LEE, DAVID                         ADDRESS ON FILE
LEE, DEBORAH                       ADDRESS ON FILE
LEE, DILLON                        ADDRESS ON FILE
LEE, DONALD                        ADDRESS ON FILE
LEE, DUSTIN                        ADDRESS ON FILE
LEE, EMMANUEL                      ADDRESS ON FILE
LEE, EUN                           ADDRESS ON FILE
LEE, EUN                           ADDRESS ON FILE
LEE, GARY                          ADDRESS ON FILE
LEE, HAREM                         ADDRESS ON FILE
LEE, HARLEY                        ADDRESS ON FILE
LEE, HOK                           ADDRESS ON FILE
LEE, JAMES                         ADDRESS ON FILE
LEE, JEFFREY                       ADDRESS ON FILE
LEE, JERRY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1107 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1116 of 2156

Claim Name                          Address Information
LEE, JESSE                          ADDRESS ON FILE
LEE, JHONG                          ADDRESS ON FILE
LEE, JOY                            ADDRESS ON FILE
LEE, JULIUS                         ADDRESS ON FILE
LEE, JUSTIN                         ADDRESS ON FILE
LEE, KADEN                          ADDRESS ON FILE
LEE, KENNETH                        ADDRESS ON FILE
LEE, KEVIN                          ADDRESS ON FILE
LEE, KEYSHAWN                       ADDRESS ON FILE
LEE, KOBE                           ADDRESS ON FILE
LEE, KWOK CHE                       ADDRESS ON FILE
LEE, LARRY                          ADDRESS ON FILE
LEE, LAWRENCE                       ADDRESS ON FILE
LEE, MABLE                          ADDRESS ON FILE
LEE, MARC                           ADDRESS ON FILE
LEE, MARCEZ                         ADDRESS ON FILE
LEE, MARCUS                         ADDRESS ON FILE
LEE, MARK                           ADDRESS ON FILE
LEE, MATTHEW                        ADDRESS ON FILE
LEE, MERCY                          ADDRESS ON FILE
LEE, MICHAEL                        ADDRESS ON FILE
LEE, MICHAEL A                      ADDRESS ON FILE
LEE, MYRA                           ADDRESS ON FILE
LEE, NICHOLAS                       ADDRESS ON FILE
LEE, NICOLE                         ADDRESS ON FILE
LEE, OCIE                           ADDRESS ON FILE
LEE, PATRICK                        ADDRESS ON FILE
LEE, PATRICK                        ADDRESS ON FILE
LEE, PAUL                           ADDRESS ON FILE
LEE, PAUL D                         ADDRESS ON FILE
LEE, PAUL KWANGWON                  ADDRESS ON FILE
LEE, RAVEN                          ADDRESS ON FILE
LEE, RAYMOND                        ADDRESS ON FILE
LEE, REMOND                         ADDRESS ON FILE
LEE, RICKY                          ADDRESS ON FILE
LEE, ROBERT                         ADDRESS ON FILE
LEE, ROBERT T                       ADDRESS ON FILE
LEE, ROGER                          ADDRESS ON FILE
LEE, RONALD                         ADDRESS ON FILE
LEE, RONE                           ADDRESS ON FILE
LEE, ROXANNE REGINA                 ADDRESS ON FILE
LEE, SAMUEL                         ADDRESS ON FILE
LEE, SEGRO                          ADDRESS ON FILE
LEE, SHARON                         ADDRESS ON FILE
LEE, SHAUN                          ADDRESS ON FILE
LEE, SHAWNDELL                      ADDRESS ON FILE
LEE, SHAY                           ADDRESS ON FILE
LEE, STEVE                          ADDRESS ON FILE
LEE, SUNG M                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1108 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1117 of 2156

Claim Name                            Address Information
LEE, SUNG M                           ADDRESS ON FILE
LEE, SUNGGUEN                         ADDRESS ON FILE
LEE, THOMAS                           ADDRESS ON FILE
LEE, TIMOTHY                          ADDRESS ON FILE
LEE, TOBY                             ADDRESS ON FILE
LEE, VAUN                             ADDRESS ON FILE
LEE, VINCENT                          ADDRESS ON FILE
LEE, WAYNE                            ADDRESS ON FILE
LEE, WILLIAM                          ADDRESS ON FILE
LEE, WILLIAM                          ADDRESS ON FILE
LEE, YENG                             ADDRESS ON FILE
LEE-WARD, KATRINA                     ADDRESS ON FILE
LEED CARRIERS LLC                     OR THUNDER FUNDING, DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
LEED WAY LLC                          OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
LEEKS, ERNIE                          ADDRESS ON FILE
LEEKS, VIOLET                         ADDRESS ON FILE
LEELO LOGISTICS LLC                   OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LEEN, RICHARD                         ADDRESS ON FILE
LEENA TRUCKING INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
LEEPER TRANSPORTERS LLC               OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LEEPER, MASON B                       ADDRESS ON FILE
LEEPER, SUSAN                         ADDRESS ON FILE
LEEPS SUPPLY COMPANY                  C\O LEEPS SUPPLY- MERRILLVILLE, 8001 TYLER STREET MERRILLVILLE IN 46410
LEES HAULING SERVICES LLC             OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEES HEATING & AIR CONDITIONING       404 IRONWOOD DRIVE SALT LAKE CITY UT 84115
LEES LOGISTICS & TRANSPORTATION INC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LEES SERVICE INC                      9971 US 26, 9901 RD 92 BRIDGEPORT NE 69336
LEES TRANSPORT                        244 OAKHURST LN 4936800 ARCADIA CA 91007
LEES TRUCKIN LLC                      OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
LEESER TX, INC.                       6985 CO RD 326 PALMYRA MO 63461
LEESHANTEA JOHNSON                    ADDRESS ON FILE
LEFEBVRE, SERGE                       ADDRESS ON FILE
LEFELD INDUSTRIAL &WELDING SUPPLIES   600 N. 2ND ST. COLDWATER OH 45828
LEFEVER, CHRISTOPHER                  ADDRESS ON FILE
LEFFELER, BRIAN                       ADDRESS ON FILE
LEFFEW, GERALD                        ADDRESS ON FILE
LEFFLER ENERGY                        PO BOX 70282 PHILADELPHIA PA 19176
LEFFLER, JEFFREY                      ADDRESS ON FILE
LEFFLER, JUSTIN                       ADDRESS ON FILE
LEFFLER, MARK                         ADDRESS ON FILE
LEFFLER, MARK                         ADDRESS ON FILE
LEFKER, STEVEN                        ADDRESS ON FILE
LEFLER, RONNIE                        ADDRESS ON FILE
LEFLER, RYAN                          ADDRESS ON FILE
LEFLORE, DONYELL                      ADDRESS ON FILE
LEFLORE, JOHN                         ADDRESS ON FILE
LEFLORE, MICHAEL                      ADDRESS ON FILE
LEFOI, URIAN                          ADDRESS ON FILE
LEFOTU, ISAAKO                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1109 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1118 of 2156

Claim Name                           Address Information
LEFROY INTERNATIONAL INC.            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LEFT COAST SCALE SERVICES            1310 DODSON WAY RIVERSIDE CA 92507
LEFTER, KEVIN                        ADDRESS ON FILE
LEFTRIDGE, JERRY                     ADDRESS ON FILE
LEFTRIDGE, KEITH                     ADDRESS ON FILE
LEFTRIDGE, SCOTT                     ADDRESS ON FILE
LEFTWICH, JOSHUA                     ADDRESS ON FILE
LEG TRUCKING                         OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LEGACY ADVANTAGE TRUCKING            OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LEGACY CARGO & CARRIER LLC           OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
LEGACY ELECTRICAL SERVICES INC       2421 LANCE CT STE C LOGANVILLE GA 30052
LEGACY EXPRESS LLC                   W6974 COUNTY ROAD OO FOND DU LAC WI 54937
LEGACY EXPRESS LLC (CLEVELAND OH)    3208 MEADOW LANE NORTH ROYALTON OH 44133
LEGACY EXPRESS TRUCKING INC          OR COMPASS FUNDING SOLUTIONS, PO BOX 205154 DALLAS TX 75320
LEGACY FASTENERS LLC                 5710 TECHNICAL DR POPLAR BLUFF MO 63901
LEGACY FREIGHT SERVICE LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LEGACY HEATING & AIR                 6502 BLUFFTON ROAD FORT WAYNE IN 46809
LEGACY HEATING & COOLING             88 E WESTVIEW AVE SPOKANE WA 99218
LEGACY INC.                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LEGACY LOGISTICS                     840 N 700 W NORTH SALT LAKE UT 84054
LEGACY LOGISTICS (MC1393480)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LEGACY LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LEGACY LOGISTICS LLC (CALERA AL)     938 TIMERLINE CIRCLE CALERA AL 35040
LEGACY LOGISTICS/CAPSTONE            840 N 700 W NORTH SALT LAKE UT 84054
LEGACY PLUMBING, LLC                 3955 40TH AVE S SUITE A FARGO ND 58104
LEGACY PORT TRANSPORT INC            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LEGACY TAT LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEGACY TRANSPORT SERVICES LLC        1938 COLLINGWOOD DETROIT MI 48206
LEGACY TRANSPORTATION LLC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
LEGACY TRANSPORTATION SYSTEMS, LLC   840 NORTH 700 WEST NORTH SALT LAKE UT 84054
LEGACY TRAVELS LLC                   128 WHALEHEAD RD GALES FERRY CT 06335
LEGACY, MONICA                       ADDRESS ON FILE
LEGAL FREIGHTLINES                   OR TRAKKXPAY, 1302 N COAST HWY 101 SUITE 201 ENCENITAS CA 92024
LEGARE, JAMAL                        ADDRESS ON FILE
LEGARE, REBECCA                      ADDRESS ON FILE
LEGATH, NICHOLAS                     ADDRESS ON FILE
LEGELEGE, OUMAR                      ADDRESS ON FILE
LEGELEGE, OUMAR                      ADDRESS ON FILE
LEGEND EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEGEND LANDSCAPE CO                  PO BOX 717 DEER PARK NY 11729
LEGEND SEATING                       ADDRESS ON FILE
LEGEND SERVICES INC                  14050 12TH AVE MARNE MI 49435
LEGENDARY FLOORS INC                 ATTN: SHARON JORDAN 3036 PARQUET DR DALTON GA 30720
LEGENDARY MOTORCAR CO LTD            ATTN: SARAH YUAN 8220 FIFTH LINE GEORGETOWN ON L7G 4S6 CANADA
LEGENDARY TRUCKING MATTERS INC       OR TRANSAM FINANCIAL SERVICES, INC., PO BOX 872632 KANSAS CITY MO 64187
LEGENDS ASIAN MART                   ADDRESS ON FILE
LEGENDS MECHANICAL                   5526 W 13400 S 217 HERRIMAN UT 84096
LEGER, ULYSSE                        ADDRESS ON FILE
LEGERE, KYLE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1110 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1119 of 2156

Claim Name                               Address Information
LEGERITY TRUCKING LLC                    OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
LEGETTE, ZENO                            ADDRESS ON FILE
LEGG, CHAZ                               ADDRESS ON FILE
LEGG, RANDAL                             ADDRESS ON FILE
LEGGETT, SCOTT                           ADDRESS ON FILE
LEGGINS, BRIAN                           ADDRESS ON FILE
LEGGIO, VINCENT                          ADDRESS ON FILE
LEGIER, ANTHONY                          ADDRESS ON FILE
LEGION CARGO LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LEGION LOGISTICS LTD                     OR THUNDER FUNDING, DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LEGION TRANSIT LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LEGION TRUCKING INC                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
LEGIONARY TRANSPORT INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LEGIT EXPRESS                            OR TRANSAM FINANCIAL SERVICES, INC., PO BOX 872632 KANSAS CITY MO 64187
LEGLER, KEVIN                            ADDRESS ON FILE
LEGO SYSTEMS                             ATTN: HEATHER SHELDON 100 PRINT SHOP RD ENFIELD CT 06082
LEGO TRANSPORTATION INC                  804 FREDERICK TRL SOUTH LEBANON OH 45065
LEGRAND                                  WILLIAMS AND ASSOCIATES 405 E 78TH ST BLOOMINGTON MN 55420
LEGRAND AV INC                           WILLIAMS & ASSOCIATES 405 E 78TH ST BLOOMINGTON MN 55420
LEGRAND AV INC                           WILLIAMS AND ASSOC 405 E 78TH ST BLOOMINGTON MN 55420
LEGRAND WIREMOLD                         60 WOODLAWN ST WEST HARTFORD CT 06110
LEGRAND WIREMOLD                         80 WOODLAWN ST WEST HARTFORD CT 06110
LEGRAND, DYLAN                           ADDRESS ON FILE
LEGRAND, JEFFREY                         ADDRESS ON FILE
LEGRAND, NOAH                            ADDRESS ON FILE
LEGREE, BREANNA                          ADDRESS ON FILE
LEHIGH TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LEHIGH VALLEY CREMATORY SERVICES         326 MAIN STREET HELLERTOWN PA 18055
LEHIGH VALLEY FENCE CO                   6587 JACKSONVILLE RD BATH PA 18014
LEHIGH VALLEY PHYSICIAN GROUP            AR COORDINATED HEALTH BETHLEHEM, 2300 HIGHLAND AVE BLDG A BETHLEHEM PA 18020
LEHIGH VALLEY PHYSICIAN GROUP HAZLETON   COORDINATED HEALTH BETHLEHEM, 2300 HIGHLAND AVE BLDG A BETHLEHEM PA 18020
LEHIGH VALLEY ROADSIDE, LLC              OR WEX BANK, PO BOX 94565 CLEVELAND OH 44101
LEHMAN TRUCKING                          OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
LEHMAN, ANDREW                           ADDRESS ON FILE
LEHMAN, DAVID                            ADDRESS ON FILE
LEHMAN, JEFFREY                          ADDRESS ON FILE
LEHMAN, JULIA                            ADDRESS ON FILE
LEHMAN, LUKE                             ADDRESS ON FILE
LEHMAN, MIKE                             ADDRESS ON FILE
LEHNE, LUKE                              ADDRESS ON FILE
LEHNER, JAMES M                          ADDRESS ON FILE
LEHNHOF, LORI                            ADDRESS ON FILE
LEHOTAN, DANIEL                          ADDRESS ON FILE
LEHRA TRANSPORT INC                      OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LEHRBACH, WES                            ADDRESS ON FILE
LEIBEL, KIMBERLY                         ADDRESS ON FILE
LEIBHAM, AMANDA                          ADDRESS ON FILE
LEIBSON, DAVID                           ADDRESS ON FILE
LEIDY, RONALD                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1111 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1120 of 2156

Claim Name                          Address Information
LEIF E HILDEBRANDT                  ADDRESS ON FILE
LEIF, JERALD                        ADDRESS ON FILE
LEIFHEIT, ANNE                      ADDRESS ON FILE
LEIGH, VANCE                        ADDRESS ON FILE
LEIGHNER, DUSTIN                    ADDRESS ON FILE
LEIGHNOR, ROBERT                    ADDRESS ON FILE
LEIGHTON, STANLEY                   ADDRESS ON FILE
LEIJA, GILBERT                      ADDRESS ON FILE
LEILANIES TRANSPORT INC             OR ADVANCED COMMERCIAL CAPITAL, 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
LEIMER, SCOTT                       ADDRESS ON FILE
LEINER, JACOB                       ADDRESS ON FILE
LEINONEN, LYNN                      ADDRESS ON FILE
LEISA WEIR                          ADDRESS ON FILE
LEISCHNER, EARL                     ADDRESS ON FILE
LEISMER, RALPH                      ADDRESS ON FILE
LEISURE CONCEPTS                    5342 N FLORIDA ST SPOKANE WA 99217
LEISURE LIVING                      ATTN: TODD HAINES 574 MAIN ST TONAWANDA NY 14150
LEISURE TIME PRODUCTS               1300 E 12TH ST LAMAR MO 64759
LEISURE TIME PRODUCTS               3002 N ROUSE PITTSBURGH KS 66762
LEISURE TIME PRODUCTS INC           ATTN: AMY RAKESTRAW 3001 N ROUSE AVE PITTSBURG KS 66762
LEISURE, JEREMY                     ADDRESS ON FILE
LEISURETIME                         1500 SOUTHFORD RD. SOUTHBURY CT 06488
LEITER, JOSHUA                      ADDRESS ON FILE
LEITER, STANLEY                     ADDRESS ON FILE
LEITZMAN, CODY                      ADDRESS ON FILE
LEJSEK, KEITH                       ADDRESS ON FILE
LEKAJ, IDRIZ                        ADDRESS ON FILE
LEKELA TRANS EXPRESS,LLC            OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
LEKO, NATHAN                        ADDRESS ON FILE
LELAND MULLENNIX                    ADDRESS ON FILE
LELAND TRAILER                      616 N LAKE RD SPOKANE VALLEY WA 99212
LEM LOGISTICA LLC                   OR PARIKH FINANCIAL, 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
LEM LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LEMANI, SAM                         ADDRESS ON FILE
LEMASTUS, JASON                     ADDRESS ON FILE
LEMAY, KEVIN                        ADDRESS ON FILE
LEMBERG GROUP INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LEMBERG GROUP INC                   OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284
LEMBERG LOGISTICS INC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
LEMBKE, JESSICA                     ADDRESS ON FILE
LEMELLE, ELROY                      ADDRESS ON FILE
LEMELLE, FERNANDO                   ADDRESS ON FILE
LEMIEUX, JILL                       ADDRESS ON FILE
LEMIEUX, JOANNE                     ADDRESS ON FILE
LEMIEUX, RICHARD                    ADDRESS ON FILE
LEMIEUX, TIMOTHY                    ADDRESS ON FILE
LEMING, JAMES                       ADDRESS ON FILE
LEMKE, EMILY                        ADDRESS ON FILE
LEMLEM TRUCKING LLC                 OR INTEGRA FUNDING SOLUTIONS, LLC, 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX



Epiq Corporate Restructuring, LLC                                                              Page 1112 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1121 of 2156

Claim Name                           Address Information
LEMLEM TRUCKING LLC                  76116
LEMMAN, ATBI                         ADDRESS ON FILE
LEMMOND, BARCLEY                     ADDRESS ON FILE
LEMON TRANSPORTATION LLC             OR TRIUMPH FINANCIAL SERVICES, LLC, PO BOX 610028 DALLAS TX 75261-0028
LEMON, DEWONE M                      ADDRESS ON FILE
LEMON, JASON                         ADDRESS ON FILE
LEMON, JOE                           ADDRESS ON FILE
LEMON, SHATIQUE                      ADDRESS ON FILE
LEMONS, AUSTIN                       ADDRESS ON FILE
LEMONS, ROCHELLE                     ADDRESS ON FILE
LEMONS, SAMANTHA                     ADDRESS ON FILE
LEMORE ENTERPRISES LLC               15250 SCHOOL STREET FORT MYERS FL 33908
LEMOS, DAREN                         ADDRESS ON FILE
LEMUR-COURIER&SUPPLIES LLC           OR GATEWAY COMMERCIAL FINANCE, P.O BOX 1000. DEPT 996 MEMPHIS TN 38148
LEMUS TRUCKING EXPRESS INC           6336 REDBIRD DR PICO RIVERA CA 90660
LEMUS, DIANDRE                       ADDRESS ON FILE
LEMUS, JOSE                          ADDRESS ON FILE
LEMUS, ROBERTO                       ADDRESS ON FILE
LEMUS, VINCENT                       ADDRESS ON FILE
LENAHAN, SHAWN                       ADDRESS ON FILE
LENART, MARK                         ADDRESS ON FILE
LENARTZ, MARK                        ADDRESS ON FILE
LENAS TRANSPORT LLC                  OR ASSIST FINANCIAL SERVICES, INC., PO BOX 347 MADISON SD 57042
LENDECHE GOMEZ, LEONARDO             ADDRESS ON FILE
LENDING CLUB BANK NA                 1 HARBOR STREET STE 201 BOSTON MA 02210
LENER, SUSAN                         ADDRESS ON FILE
LENEVICH, CHRISTOPHER                ADDRESS ON FILE
LENGEMA DULIA, AXEL                  ADDRESS ON FILE
LENGEN, MARK                         ADDRESS ON FILE
LENGEN, ROBERT                       ADDRESS ON FILE
LENGOR EXPRESS INC                   2698 JACKSON RD LA GRANGE TX 78945
LENHART, KENNETH                     ADDRESS ON FILE
LENICH, CHRISTOPHER                  ADDRESS ON FILE
LENING, DOYLE                        ADDRESS ON FILE
LENING, MICHAEL                      ADDRESS ON FILE
LENK, KURT                           ADDRESS ON FILE
LENKE, THOMAS                        ADDRESS ON FILE
LENKER, GARY                         ADDRESS ON FILE
LENKTIS, ROBERT                      ADDRESS ON FILE
LENN CORPORATION                     OR CD CONSORTIUM CORP., 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
LENNEAR, ANTHONY                     ADDRESS ON FILE
LENNERT, STEVEN                      ADDRESS ON FILE
LENNON, JAQUAN                       ADDRESS ON FILE
LENNOX A ABRAHAMS                    OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
LENNOX INDUSTRIES                    1 SPAR DR BRAMPTON ON L6S 6E1 CANADA
LENNOX INDUSTRIES                    BAY 40 5350 86TH AVE SE CALGARY AB T2C 4L7 CANADA
LENNOX INDUSTRIES                    2962 LAKE CITY WAY BURNABY BC V5A 3A2 CANADA
LENNOX INDUSTRIES                    1400 AIP DR MIDDLETOWN PA 17057
LENNOX INDUSTRIES INC                ATTN: SUZY EDWARDS 4000 HAMNER AVE MIRA LOMA CA 91752



Epiq Corporate Restructuring, LLC                                                            Page 1113 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1122 of 2156

Claim Name                           Address Information
LENNOX RESIDENTIAL A520              2105 70TH AVE E STE 100 FIFE WA 98424
LENNOX, HERBERT                      ADDRESS ON FILE
LENNYS FURNITURE                     15485 S TAMIAMI TRAIL FORT MYERS FL 33908
LENO, JOHNATHON                      ADDRESS ON FILE
LENSKING LOGISTICS LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LENTZ, DAVID T                       ADDRESS ON FILE
LENTZ, DON                           ADDRESS ON FILE
LENTZ, GREGORY                       ADDRESS ON FILE
LENTZ, JEFFREY                       ADDRESS ON FILE
LENTZ, JEFFREY                       ADDRESS ON FILE
LENTZ, PATRICK                       ADDRESS ON FILE
LENTZ, PAUL                          ADDRESS ON FILE
LENZ, JAMES                          ADDRESS ON FILE
LEO EXPRESS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LEO EXPRESS LLC (MC074906)           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LEO LOGISTICS INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LEO TRANS                            OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LEO W ROOHAN                         ADDRESS ON FILE
LEO, ALFREDO                         ADDRESS ON FILE
LEO, SHAWN                           ADDRESS ON FILE
LEOMBRUNI, ROLAND                    ADDRESS ON FILE
LEON A STOTTS                        ADDRESS ON FILE
LEON CANNON TRUCKING LLC             PO BOX 979 LOWELL AR 72745
LEON TRANS INC                       OR PRO FUNDING INC, DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
LEON TRANSPORT, LLC                  OR ASSIST FINANCIAL SERVICES, INC., PO BOX 347 MADISON SD 57042
LEON, ARIEL                          ADDRESS ON FILE
LEON, BALTAZAR                       ADDRESS ON FILE
LEON, CARLOS                         ADDRESS ON FILE
LEON, CLARA                          ADDRESS ON FILE
LEON, DOUGLAS                        ADDRESS ON FILE
LEON, ELIAS                          ADDRESS ON FILE
LEON, ENRIQUE                        ADDRESS ON FILE
LEON, ERIN                           ADDRESS ON FILE
LEON, GUSTAVO                        ADDRESS ON FILE
LEON, JOSE                           ADDRESS ON FILE
LEON, JOSE M                         ADDRESS ON FILE
LEON, WILMER                         ADDRESS ON FILE
LEON, YASMANI                        ADDRESS ON FILE
LEONARD LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LEONARD MECHANICAL SERVICES          145 HARRISBURG DRIVE ENGLEWOOD OH 45322
LEONARD, ANDREW M                    ADDRESS ON FILE
LEONARD, ANTONIO                     ADDRESS ON FILE
LEONARD, BALRAM                      ADDRESS ON FILE
LEONARD, BRIAN                       ADDRESS ON FILE
LEONARD, CALANDRA                    ADDRESS ON FILE
LEONARD, DANIEL                      ADDRESS ON FILE
LEONARD, DARRYL                      ADDRESS ON FILE
LEONARD, GUILHERME J                 ADDRESS ON FILE
LEONARD, GUILHERME J                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1114 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1123 of 2156

Claim Name                            Address Information
LEONARD, JAMES                        ADDRESS ON FILE
LEONARD, JAMES                        ADDRESS ON FILE
LEONARD, JAMISON                      ADDRESS ON FILE
LEONARD, JORDAN                       ADDRESS ON FILE
LEONARD, JUSTIN                       ADDRESS ON FILE
LEONARD, KADEN                        ADDRESS ON FILE
LEONARD, KEITH                        ADDRESS ON FILE
LEONARD, KENNETH                      ADDRESS ON FILE
LEONARD, KRISTINE                     ADDRESS ON FILE
LEONARD, KRISTINE A                   ADDRESS ON FILE
LEONARD, MACK                         ADDRESS ON FILE
LEONARD, MAEGHAN                      ADDRESS ON FILE
LEONARD, MATTHEW                      ADDRESS ON FILE
LEONARD, MICHEAL                      ADDRESS ON FILE
LEONARD, NATHAN                       ADDRESS ON FILE
LEONARD, OKEEFE                       ADDRESS ON FILE
LEONARD, PATRICK                      ADDRESS ON FILE
LEONARD, RICHARD                      ADDRESS ON FILE
LEONARD, ROBERT                       ADDRESS ON FILE
LEONARD, ROBERT                       ADDRESS ON FILE
LEONARD, TERRY                        ADDRESS ON FILE
LEONARD, WILLIAM B                    ADDRESS ON FILE
LEONARDO GARZA                        ADDRESS ON FILE
LEONARDO GARZA                        ADDRESS ON FILE
LEONARDO LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEONARDO TRANSPORTATION, INC          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
LEONARDO TRUCK & EQUIPMENT REPAIR     PO BOX 1143 EAGLE POINT OR 97524
LEONARDO, JOSEPH R                    ADDRESS ON FILE
LEONARDOS TRANSPORT INC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LEONARDS EXPRESS, INC.                PO BOX 25130 FARMINGTON NY 14425
LEONARDS EXPRESS, INC.                P O BOX 92901 CLEVELAND OH 44194
LEONE, ANTHONY                        ADDRESS ON FILE
LEONE, BRUCE                          ADDRESS ON FILE
LEONE, CRAIG B                        ADDRESS ON FILE
LEONE, LAWRENCE                       ADDRESS ON FILE
LEONE, MICHAEL J                      ADDRESS ON FILE
LEONE, MICHEAL                        ADDRESS ON FILE
LEONEL TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEONHARD, BRYAN                       ADDRESS ON FILE
LEONHARD, PAUL                        ADDRESS ON FILE
LEONHARDT, TERRY                      ADDRESS ON FILE
LEONS TRANSPORTATION SERVICE CO LLC   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LEONTIOS, LUCIFER                     ADDRESS ON FILE
LEOPARD TRANSPORTATION INC            16329 CADMIUM CT CHINO HILLS CA 91709
LEOPOLD, JOHNATHAN                    ADDRESS ON FILE
LEOPOLDO RIOJAS                       ADDRESS ON FILE
LEOS ONE TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEOS OVERHEAD DOOR INC                540 PAWLING AVE TROY NY 12180
LEOS TRUCKING LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                              Page 1115 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1124 of 2156

Claim Name                           Address Information
LEOS TRUCKING LLC (MC1072123)        OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEOS TRUCKING TX LLC                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LEOTEK ELECTRONICS                   ATTN: ANH 1955 LUNDY AVE SAN JOSE CA 95131
LEOVARDO HERNANDEZ                   ADDRESS ON FILE
LEPAGE, LANDON                       ADDRESS ON FILE
LEPAGE, ROBERT                       ADDRESS ON FILE
LEPES TRANSPORTATION LLC             OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
LEPISTO, MICHELLE                    ADDRESS ON FILE
LEPORT, RANDALL                      ADDRESS ON FILE
LEPPER, JOE                          ADDRESS ON FILE
LEPPERT, MICHAEL                     ADDRESS ON FILE
LEPRI, ANTHONY L                     ADDRESS ON FILE
LERA EXPRESS LLC                     OR ENGLAND CARRIER SERVICES, PO BOX 953086 ST LOUIS MO 63195-3086
LERMA, KEVIN                         ADDRESS ON FILE
LERO LOGISTICS                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
LEROY WASHINGTON                     ADDRESS ON FILE
LEROY, SHARA                         ADDRESS ON FILE
LERTORA, DAVID                       ADDRESS ON FILE
LES CAMIONS INTER ESTRIE 1991 INC.   250, RUE LEGER SHERBROOKE QC J1L 1M1 CANADA
LES EMBALLAGES CARROUSEL INC         1401 AMPERE BOUCHERVILLE QC J4B5Z5 CANADA
LES OVERNIGHT TRANSPORTATION LLC     OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
LES PORTES LALIBERTE INC             740 RUE SICARD MASCOUCHE QC J7K 3G5 CANADA
LES SCHWAB WAREHOUSE CENTER, INC.    ATTN: CENTRAL BILLED DEPT, PO BOX 7125 BEND OR 97708
LES SERV.DE COURRIER CHAMPION INC.   3750 BOUL. CREMAZIE EST 102 MONTREAL QC H2A 1B6 CANADA
LES SERVICES DENTRETIEN NANO INC     104 1447 PAINTER CIRCLE SAINT-LAURENT QC H4L 3C2 CANADA
LES SERVICES DENTRETIEN NANO INC.    104-1447 RUE DE PAINTER CIRCLE SAINT-LAURENT QC H4L 3C2 CANADA
LES SERVICES DENTRETIEN NANO INC.    D/B/A: SERVICE DENTRETIEN NANO INC 104-1447 RUE DE PAINTER CIRCLE
                                     SAINT-LAURENT QC H4L 3C2 CANADA
LES TRANSPORTS JEAN-FRANCOIS INC.    770 AVE GUY POULIN ST-JOSEPH-DE-BEA QC G0S 2V0 CANADA
LESA, AIOLEOGE                       ADDRESS ON FILE
LESAGE, THOMAS R                     ADDRESS ON FILE
LESCANEC, LAWRENCE                   ADDRESS ON FILE
LESCANO, PEDRO                       ADDRESS ON FILE
LESGO TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LESHAWN W TERRY                      ADDRESS ON FILE
LESHER MACK SALES & SERVICE INC      2700 CUMBERLAND ST LEBANON PA 17042
LESKA INTERNATIONAL CARRIERS, COM.   OR ATLAS FACTORING LLC, 906 N. MESA STE 301 EL PASO TX 79902
LESKERA LAW FIRM                     120 E CHURCH ST COLLINSVILLE IL 62234
LESLEY, JOHN                         ADDRESS ON FILE
LESLEY, NICK                         ADDRESS ON FILE
LESLIE CROMWELL                      ADDRESS ON FILE
LESLIE SCHWIEM                       ADDRESS ON FILE
LESLIE TRANSPORT LLC                 PO BOX 340 SPRING GREEN WI 53588
LESLIE, DANIEL                       ADDRESS ON FILE
LESLIE, STEVEN                       ADDRESS ON FILE
LESLIE, WADE                         ADDRESS ON FILE
LESLIES POOLMART C/O ECHO            ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
LESMEISTER, JOHN                     ADDRESS ON FILE
LESPERANCE, ALEXANDRA                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1116 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1125 of 2156

Claim Name                           Address Information
LESPERANCE, KEVIN                    ADDRESS ON FILE
LESSAR, SCOTT                        ADDRESS ON FILE
LESSO AMERICAN INC                   2075 W BEECHER RD ADRIAN MI 49221
LESTER B JONES                       ADDRESS ON FILE
LESTER D ALLEN                       ADDRESS ON FILE
LESTER R WIDENER                     ADDRESS ON FILE
LESTER, BROOKE                       ADDRESS ON FILE
LESTER, EMORY                        ADDRESS ON FILE
LESTER, JASON                        ADDRESS ON FILE
LESTER, JERRY D                      ADDRESS ON FILE
LESTER, JOE                          ADDRESS ON FILE
LESTER, JOSEPH                       ADDRESS ON FILE
LESTER, KEVIN D                      ADDRESS ON FILE
LESTER, KIMBERLY                     ADDRESS ON FILE
LESTER, MICHAEL                      ADDRESS ON FILE
LESTER, ROGER                        ADDRESS ON FILE
LESTER, RUDOLPH                      ADDRESS ON FILE
LESTER, SHAUN                        ADDRESS ON FILE
LESTER, SHEILA                       ADDRESS ON FILE
LESTER, SHEILA                       ADDRESS ON FILE
LESTER, THOMAS                       ADDRESS ON FILE
LESTINA, SCOTT                       ADDRESS ON FILE
LESZKOVICS, MATTHEW                  ADDRESS ON FILE
LET IT RIDE TRUCKING LLC             6935 ALIANTE PKWY STE 104-102 NORTH LAS VEGAS NV 89084
LETANG, NIAHSON                      ADDRESS ON FILE
LETEM TRANSPORTATION LLC             2828 SOUTH 35TH AVE PHOENIX AZ 85009-6700
LETICIA PONCE QUISMORIO              ADDRESS ON FILE
LETICIA ROBLES RODRIGUEZ             ADDRESS ON FILE
LETOURNEAU, ADAM                     ADDRESS ON FILE
LETOURNEAU, ANN                      ADDRESS ON FILE
LETRO P BRUNDIDGE                    ADDRESS ON FILE
LETS GET MOVING LLLP                 119928 RICK JONES WAY BUTTE MT 59750
LETS GO LLC                          OR RTS FINANCIAL SERVICE, INC, PO BOX 840267 DALLAS TX 75284-0267
LETS MOVE IT, INC.                   ATTN: GENERAL COUNSEL 401 EAST LOUTHER STREET CARLISLE PA 17013
LETS ROLL LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LETSON, THOMAS                       ADDRESS ON FILE
LETT, BRANDEN                        ADDRESS ON FILE
LETTES HAULING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LETTS DO CARS                        55 6TH AVE LINEVILLE AL 36266
LEUENBERGER, MATTHEW                 ADDRESS ON FILE
LEUF OF FLORIDA INC                  7900 GLADES ROAD SUITE 120 BOCA RATON FL 33434
LEUF OF FLORIDA INC                  216 AVALON CIRCLE SUITE B BRANDON MS 39047
LEUNG, MARINA                        ADDRESS ON FILE
LEUNG, MARINA                        ADDRESS ON FILE
LEUSCHNER, STEVEN                    ADDRESS ON FILE
LEUSZLER, ANNA                       ADDRESS ON FILE
LEUTY, SHERRY                        ADDRESS ON FILE
LEVAN ASSET MANAGEMENT CORP          8250 COLLEGE PARKWAY SUITE 201 AGENT FOR MID CAPE 954 FORT MYERS FL 33919
LEVART, MARK                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1117 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1126 of 2156

Claim Name                           Address Information
LEVEL 3 COMMUNICATIONS LLC           1025 ELDORADO BLVD BROOMFIELD CO 80021-8869
LEVEL 3 COMMUNICATIONS LLC           PO BOX 910182 DENVER CO 80291
LEVEL ONE LOGISTICS INC              OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261
LEVELED UP ONE LOGISTICS LLC         OR PORTER BILLING SERVICES, LLC, PO BOX 440127 NASHVILLE TN 37244
LEVELS H & C INC                     OR TRIUMPH BUSINESS CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
LEVELS TRUCKING LLC                  OR INTEGRITY FACTORING & CONSULTING INC, PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
LEVEN, ROGELIO                       ADDRESS ON FILE
LEVENE, KAITLYN                      ADDRESS ON FILE
LEVEQUE, THOMAS                      ADDRESS ON FILE
LEVERCOM, DONALD                     ADDRESS ON FILE
LEVERETT, MICHAEL                    ADDRESS ON FILE
LEVERETTE, KEVIN                     ADDRESS ON FILE
LEVERETTE, REYNOLDS                  ADDRESS ON FILE
LEVERING, WYATT                      ADDRESS ON FILE
LEVERTON, WILLIAM                    ADDRESS ON FILE
LEVESTON, GREGORY                    ADDRESS ON FILE
LEVET, JUSTIN                        ADDRESS ON FILE
LEVI EXPRESS LLC                     OR INTEGRA FUNDING SOLUTIONS LLC, 6300 RIDGLEA PL, STE 1101 FORT WORTH TX
                                     76116
LEVI, ANDREW                         ADDRESS ON FILE
LEVI, CARLI                          ADDRESS ON FILE
LEVI, DUKE                           ADDRESS ON FILE
LEVI, RUSSELLY                       ADDRESS ON FILE
LEVIATHAN FREIGHT LTD CO             OR TAB BANK, PO BOX 150830 OGDEN UT 84415
LEVIN FURNITURE                      301 FITZ HENRY ROAD SMITHTON PA 15479
LEVINE, JAMES                        ADDRESS ON FILE
LEVINE, SUE                          ADDRESS ON FILE
LEVINGSTON, KEITH                    ADDRESS ON FILE
LEVINS, ALLEN                        ADDRESS ON FILE
LEVINS, MARK                         ADDRESS ON FILE
LEVITON                              ATTN: ANGELA BARBARO ATTN: LOGISTICS 96 ISIDOR CT SPANISH SPRINGS NV 89441
LEVITON                              ATTN: ANGELA BARBARO LOGISTICS 96 ISIDOR CT SPANISH SPRINGS NV 89441
LEVITON MFG CO                       ATTN: ANGELA BARBARO 103 LEVITON DR LEBANON TN 37090
LEVITON MFG CO INC                   201 N SERVICE RD MELVILLE NY 11747
LEVITT SAFETY                        ADDRESS ON FILE
LEVIYA TRUCKING INC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
LEVSKI INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LEVY & LEVY S.C.                     N61 W6058 COLUMBIA ROAD CEDARBURG WI 53012
LEVY GARAGE DOORS LLC                822 UPLAND RIDGE DRIVE FORT WAYNE IN 46825
LEVY, RAVON                          ADDRESS ON FILE
LEWALLEN, BRANDON                    ADDRESS ON FILE
LEWALLEN, PATSY                      ADDRESS ON FILE
LEWANDOWSKI, ERIC                    ADDRESS ON FILE
LEWANDOWSKI, JAMES                   ADDRESS ON FILE
LEWE, JAMES                          ADDRESS ON FILE
LEWIN, KERRY                         ADDRESS ON FILE
LEWIN, SCOTT                         ADDRESS ON FILE
LEWINGTON, CATHARINE                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1118 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1127 of 2156

Claim Name                            Address Information
LEWIS BRISBOIS BISGAARD & SMITH LLP   2929 N CENTRAL AVE STE 1700 PHOENIX AZ 85012
LEWIS BRISBOIS BISGAARD & SMITH LLP   633 W 5TH ST STE 4000 LOS ANGELES CA 90071
LEWIS IV, ROBERT                      ADDRESS ON FILE
LEWIS JR, DELBERT                     ADDRESS ON FILE
LEWIS LOGISTICS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LEWIS TIRE & TRUCK REPAIR, L.L.C.     1837 HIGHWAY 531 MINDEN LA 71055
LEWIS TRANSPORTATION, INC.            13523 E 1750TH AVE NEWTON IL 62448
LEWIS TRUCK LINES                     OR TRANSPORT CLEARING EAST 4651 CHARLOTTE PARK DR SUITE 450 CHARLOTTE NC 28217
LEWIS TRUCKING L.L.C.                 OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
LEWIS WAGNER LLP                      1411 ROOSEVELT AVE STE 102 INDIANAPOLIS IN 46201
LEWIS, ADRIAN                         ADDRESS ON FILE
LEWIS, ALEX                           ADDRESS ON FILE
LEWIS, ALEXIA                         ADDRESS ON FILE
LEWIS, ALPHONSO                       ADDRESS ON FILE
LEWIS, ANDRE                          ADDRESS ON FILE
LEWIS, ANTHONY                        ADDRESS ON FILE
LEWIS, AUDRA                          ADDRESS ON FILE
LEWIS, BRAM                           ADDRESS ON FILE
LEWIS, BRENDA                         ADDRESS ON FILE
LEWIS, BYRON                          ADDRESS ON FILE
LEWIS, CALEB                          ADDRESS ON FILE
LEWIS, CALVIN                         ADDRESS ON FILE
LEWIS, CARL                           ADDRESS ON FILE
LEWIS, CHAD                           ADDRESS ON FILE
LEWIS, CHRIS                          ADDRESS ON FILE
LEWIS, CHRIS                          ADDRESS ON FILE
LEWIS, CHRISTINA                      ADDRESS ON FILE
LEWIS, CHRISTOPHER                    ADDRESS ON FILE
LEWIS, CRAIG                          ADDRESS ON FILE
LEWIS, CURTIS                         ADDRESS ON FILE
LEWIS, DARNELL                        ADDRESS ON FILE
LEWIS, DARWIN                         ADDRESS ON FILE
LEWIS, DAVID                          ADDRESS ON FILE
LEWIS, DEANTHONY                      ADDRESS ON FILE
LEWIS, DEMARCUS                       ADDRESS ON FILE
LEWIS, DENISE                         ADDRESS ON FILE
LEWIS, DERECK                         ADDRESS ON FILE
LEWIS, DERRICK                        ADDRESS ON FILE
LEWIS, DEVONTA                        ADDRESS ON FILE
LEWIS, DONELL                         ADDRESS ON FILE
LEWIS, DONOVAN                        ADDRESS ON FILE
LEWIS, DYZIER                         ADDRESS ON FILE
LEWIS, EARLIE                         ADDRESS ON FILE
LEWIS, ELIJAH                         ADDRESS ON FILE
LEWIS, GARY                           ADDRESS ON FILE
LEWIS, GARY                           ADDRESS ON FILE
LEWIS, GERALD                         ADDRESS ON FILE
LEWIS, HOWARD                         ADDRESS ON FILE
LEWIS, ISAIAH                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1119 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1128 of 2156

Claim Name                        Address Information
LEWIS, JABARI                     ADDRESS ON FILE
LEWIS, JACK                       ADDRESS ON FILE
LEWIS, JAMEISHA                   ADDRESS ON FILE
LEWIS, JAMES B                    ADDRESS ON FILE
LEWIS, JAMES T                    ADDRESS ON FILE
LEWIS, JAVON                      ADDRESS ON FILE
LEWIS, JEREMY                     ADDRESS ON FILE
LEWIS, JERMAINE B                 ADDRESS ON FILE
LEWIS, JESSIE                     ADDRESS ON FILE
LEWIS, JOE                        ADDRESS ON FILE
LEWIS, JOHN                       ADDRESS ON FILE
LEWIS, JOHN                       ADDRESS ON FILE
LEWIS, JOHN                       ADDRESS ON FILE
LEWIS, JOHN                       ADDRESS ON FILE
LEWIS, JONATHAN                   ADDRESS ON FILE
LEWIS, JOSEPH                     ADDRESS ON FILE
LEWIS, JOSEPH                     ADDRESS ON FILE
LEWIS, JOSHUA                     ADDRESS ON FILE
LEWIS, JOSHUA                     ADDRESS ON FILE
LEWIS, JUSTIN                     ADDRESS ON FILE
LEWIS, KAHLIK                     ADDRESS ON FILE
LEWIS, KAHLIK                     ADDRESS ON FILE
LEWIS, KEITH                      ADDRESS ON FILE
LEWIS, KEVIN                      ADDRESS ON FILE
LEWIS, KEVIN                      ADDRESS ON FILE
LEWIS, KEVIN                      ADDRESS ON FILE
LEWIS, KEVION                     ADDRESS ON FILE
LEWIS, KYLE                       ADDRESS ON FILE
LEWIS, LAMAR                      ADDRESS ON FILE
LEWIS, LANCE R                    ADDRESS ON FILE
LEWIS, LATITIA                    ADDRESS ON FILE
LEWIS, LAWRENCE                   ADDRESS ON FILE
LEWIS, LAWRENCE                   ADDRESS ON FILE
LEWIS, LEE                        ADDRESS ON FILE
LEWIS, LEROY                      ADDRESS ON FILE
LEWIS, LORI                       ADDRESS ON FILE
LEWIS, LORI                       ADDRESS ON FILE
LEWIS, LUCAS                      ADDRESS ON FILE
LEWIS, MARION                     ADDRESS ON FILE
LEWIS, MARK                       ADDRESS ON FILE
LEWIS, MARQUIS                    ADDRESS ON FILE
LEWIS, MARTIN                     ADDRESS ON FILE
LEWIS, MICHAEL                    ADDRESS ON FILE
LEWIS, MICHAEL                    ADDRESS ON FILE
LEWIS, MONICA                     ADDRESS ON FILE
LEWIS, MORRIS                     ADDRESS ON FILE
LEWIS, MORRIS                     ADDRESS ON FILE
LEWIS, PAUL                       ADDRESS ON FILE
LEWIS, PAUL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1120 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1129 of 2156

Claim Name                          Address Information
LEWIS, PETER                        ADDRESS ON FILE
LEWIS, RAY                          ADDRESS ON FILE
LEWIS, RAY                          ADDRESS ON FILE
LEWIS, REGINALD                     ADDRESS ON FILE
LEWIS, RICHARD                      ADDRESS ON FILE
LEWIS, ROBERT                       ADDRESS ON FILE
LEWIS, ROBERT                       ADDRESS ON FILE
LEWIS, ROOSEVELT                    ADDRESS ON FILE
LEWIS, ROSS                         ADDRESS ON FILE
LEWIS, RYAN                         ADDRESS ON FILE
LEWIS, RYAN                         ADDRESS ON FILE
LEWIS, SAMUEL                       ADDRESS ON FILE
LEWIS, SARIAH                       ADDRESS ON FILE
LEWIS, SCOTT                        ADDRESS ON FILE
LEWIS, SHANNON                      ADDRESS ON FILE
LEWIS, SHAUN                        ADDRESS ON FILE
LEWIS, SHAWN                        ADDRESS ON FILE
LEWIS, SHAWN E                      ADDRESS ON FILE
LEWIS, STEPHEN                      ADDRESS ON FILE
LEWIS, STEVE                        ADDRESS ON FILE
LEWIS, STEVEN                       ADDRESS ON FILE
LEWIS, SUSAN                        ADDRESS ON FILE
LEWIS, SUSAN                        ADDRESS ON FILE
LEWIS, TAMEKA                       ADDRESS ON FILE
LEWIS, TED                          ADDRESS ON FILE
LEWIS, THEODORE L                   ADDRESS ON FILE
LEWIS, TIMOTHY                      ADDRESS ON FILE
LEWIS, TIMOTHY                      ADDRESS ON FILE
LEWIS, TIMOTHY C                    ADDRESS ON FILE
LEWIS, TODD                         ADDRESS ON FILE
LEWIS, TREMAIN                      ADDRESS ON FILE
LEWIS, TROBIA                       ADDRESS ON FILE
LEWIS, VERNIE                       ADDRESS ON FILE
LEWIS, WILLIAM A                    ADDRESS ON FILE
LEWIS, WILLIAM A                    ADDRESS ON FILE
LEWISON, BETH                       ADDRESS ON FILE
LEWISTON WELDING & MACHINING LLC    25022 CO RD 29 LEWISTON MN 55952
LEWTER, JOHN                        ADDRESS ON FILE
LEWTER, KIMBERLY                    ADDRESS ON FILE
LEX LEX EXPRESS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LEX-LONDON                          C/O AMERICAN INTERNATIONAL REINSURANCE CO LTD 27 RICHMOND ROAD HAMILTON HM 08
                                    BERMUDA
LEX-LONDON                          C/O AMERICAN INTERNATIONAL GROUP UK LIMITED 58 FENCHURCH ST LONDON EC3M 4AB
                                    UNITED KINGDOM
LEXACT CARRIERS LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
LEXINGTON COMPUTER RECYCLING L      ATTN: SHANE 3007 PARK CENTRAL AVE BLDG B NICHOLASVILLE KY 40356
LEXINGTON FAYETTE URBAN CO GOV      200 E MAIN ST LEXINGTON KY 40507
LEXINGTON INSURANCECOMPANY          C/O WHITE AND WILLIAMS LLP ATTN: MARCIA RICHARDS 1650 MARKET STREET, SUITE
                                    1800 PHILADELPHIA PA 19103
LEXINGTON INSURANCECOMPANY          2118 E. ONTARIO ST. PHILADELPHIA PA 19134


Epiq Corporate Restructuring, LLC                                                           Page 1121 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1130 of 2156

Claim Name                            Address Information
LEXINGTON PLUMBING & HTG. CO., INC.   1620 TROOST AVE KANSAS CITY MO 64108
LEXINGTON PLUMBING & HTG. CO., INC.   PO BOX 875810 KANSAS CITY MO 64187
LEXINGTON TRUCK & TRAILER             410 S GROVE, PO BOX 56 LEXINGTON IL 61753
LEXINGTON TRUCK SALES, INC.           PO BOX 11276 LEXINGTON KY 40574
LEXINGTON-FAYETTE URBAN COUNTY GVT    DIVISION OF REVENUE PO BOX 14058 LEXINGTON KY 40512
LEXMARK CANADA INC                    125 COMMERCE VALLEY DR WEST STE 600 MARKHAM ON L3T 7W4 CANADA
LEXMARK CANADA INC                    BANK OF AMERICA 181 BAY ST, SUITE 400 TORONTO ON M5J 2V8 CANADA
LEXMARK CANADA INC                    C/O 911470 PO BOX 4090, STN A TORONTO ON M5W 0E9 CANADA
LEXMARK INTERNATIONAL                 ATTN: RHONDA MCGWIER RYDER 13599 PARK VISTA BLVD 38 FORT WORTH TX 76177
LEXMARK INTERNATIONAL, INC.           740 NEW CIRCLE RD NW LEXINGTON KY 40550
LEXMARK INTERNATIONAL, INC.           PO BOX 402285 ATLANTA GA 30384
LEXMARK INTERNATIONAL, INC.           PO BOX 96612 CHICAGO IL 60693
LEXMARK INTL PUERTO RICO              255 PONCE DE LEON AVENUE SAN JUAN PR 00917
LEXMARK INTL PUERTO RICO              PO BOX 11898 SAN JUAN PR 00919
LEXON TRANSPORT INC                   OR CROSSROAD SERVICES, PO BOX 653076 DALLAS TX 75265-3076
LEXORA INC.                           211 COUNTY AVE. SECAUCUS NJ 07094
LEY, FREDERICK                        ADDRESS ON FILE
LEYDA, KENNETH                        ADDRESS ON FILE
LEYENDECKER SUPPLY CHAIN SOLUTION     PO BOX 450401 LAREDO TX 78045
LEYHEW, RICHARD                       ADDRESS ON FILE
LEYVA D TRUCKING                      OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
LEYVA DE LA CRUZ, ALEXANDER           ADDRESS ON FILE
LEYVA MIAMI EXPRESS CORP              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LEYVA, DANIEL                         ADDRESS ON FILE
LEYVA, GUILLERMO                      ADDRESS ON FILE
LEYVA, LUIS                           ADDRESS ON FILE
LEYVA, REINALDO                       ADDRESS ON FILE
LEYVAS, NICOLE                        ADDRESS ON FILE
LEZAJ, ROBERT                         ADDRESS ON FILE
LEZAMA EXPRESS LLC                    OR PHOENIX CAPITAL GROUP LLC PO BOX 1415 DES MOINES IA 50305
LEZAMA, MARCO                         ADDRESS ON FILE
LEZOTTE, WILLIAM                      ADDRESS ON FILE
LF TRUCKING                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LFG LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LFS USA TRUCKING INC                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
LG CARGO LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LG EXPRESS GROUP INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LG EXPRESS INC (MC986037)             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LG LOGISTICS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LG LOGISTICS LLC                      OR ASSIST FINANCIAL SERVICE PO BOX 347 MADISON SD 57042
LG TRUCK LINES LLC                    OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
LG XPRESS INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LGB LOGISTICS INC                     3 STIMA AVE CARTERET NJ 07008
LGG TRANSPORTATION LLC                OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LGIAE LLC                             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LGL INC                               376 QUAIL RIDGE IRVINE CA 92603
LGM FASTER & SAFER EXPRESS LLC        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LGM FASTER & SAFER EXPRESS LLC        4545 WILLOWROCK LN FORT WORTH TX 77244
LGM TRANSPORT LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                                Page 1122 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1131 of 2156

Claim Name                           Address Information
LGO TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LGS ELITE TRANSPORTATION LLC         7159 W MAGNUM VISTA PL WEST VALLEY CITY UT 84128
LH LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LH TRANSPORTATION INC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LH TRUCKING                          2725 LAUREL HILL DR FLOWER MOUND TX 75028
LHAMO, TSERING                       ADDRESS ON FILE
LHL TRANSPORT INC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
LHR EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LHW TRANSPORT, LLC.                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
LI, FANFU                            ADDRESS ON FILE
LI, SHUANG                           ADDRESS ON FILE
LIA EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LIA LOGISTICS CO                     OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
LIAH TRANSPORTATION LLC              5475 SUNCREEK CT ORLANDO FL 32839
LIAMS DEE EXPRESS, INC.              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
LIANDA CORPORATION                   8285 DARROW RD TWINSBURG OH 44087
LIANG, TAI                           ADDRESS ON FILE
LIANIDES, JAMES                      ADDRESS ON FILE
LIAS, LUIS                           ADDRESS ON FILE
LIB FAST-TRACK TRANSPORT LLC         OR CAPITAL DEPOT 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
LIBBY, LAWRENCE                      ADDRESS ON FILE
LIBER, KYLE                          ADDRESS ON FILE
LIBERITY TRANSPORT INC               727 LEGACY BLVD GREENWOOD IN 46143
LIBERITY TRANSPORT INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LIBERTI, VINCENT                     ADDRESS ON FILE
LIBERTUCCI, TIMOTHY J                ADDRESS ON FILE
LIBERTY CARGO COMPANY                1050 E INTERSTATE AVE SECOND FLOOR BISMARCK ND 58503
LIBERTY CARRIERS                     247 BELLEPERCHE PL, 0 WINDSOR ON N8S 3B6 CANADA
LIBERTY DIVERSIFIELD INTL            5600 HWY 169 N NEW HOPE MN 55428
LIBERTY ELECTRIC                     ATTN: MELISSA MORALES DYNAMIC LOGISTIX FREIGHT CLAIMS D PO BOX 26353 OVERLAND
                                     PARK KS 66225
LIBERTY ELECTRIC INC                 9660 SUMMIT DRIVE MISSOULA MT 59808
LIBERTY ENVIRONMENTAL INC            505 PENN STREET SUITE 400 READING PA 19601
LIBERTY EXCAVATORS, INC.             4402 GETTYSBURG RD CAMP HILL PA 17011
LIBERTY FIELD SERVICES LLC           1958 NEWARD RD ZANESVILLE OH 43701
LIBERTY FIRE PROTECTION, INC.        PO BOX 42239 CHARLESTON SC 29423
LIBERTY FIRE SOLUTIONS, LLC.         13210 DUNNINGS HIGHWAY CLAYSBURG PA 16625
LIBERTY FURNITURE INDUSTRIES         6021 GREENSBORO DR SW ATLANTA GA 30336
LIBERTY HILL COUNTRY TRANSPORT LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LIBERTY INTERNATIONAL TRUCKS         1400 SOUTH WILLOW STREET MANCHESTER NH 03103
LIBERTY LAND CARRIERS LLC            OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LIBERTY LINEHAUL WEST INC.           1501 CHAPIN ROAD MONTEBELLO CA 90640
LIBERTY MOTORS LLC                   ATTN: IVAN 77 CENTER AVE SALT LAKE CITY UT 84107
LIBERTY MULTI-MODAL                  ATTN: TOM ARANT 9498 SW BARBUR BLVD STE 200 PORTLAND OR 97219
LIBERTY MUTUAL GROUP                 175 BERKELEY STREET BOSTON MA 02116
LIBERTY MUTUAL/SAFECO INSURANCE      PO BOX 4155 SARASOTA FL 34230
LIBERTY PLUMBING LLC                 7853 DRAPER RD JACKSON MI 49201
LIBERTY POWER HOLDINGS               2100 W CYPRESS CREEK ROAD SUITE 130 FORT LAUDERDALE FL 33306



Epiq Corporate Restructuring, LLC                                                               Page 1123 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1132 of 2156

Claim Name                           Address Information
LIBERTY PRINT SOLUTIONS              3230 E MAIN AVE SPOKANE WA 99202
LIBERTY ROAD TRANSPORTATION INC      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LIBERTY TOWING SERVICE               2601 PROGRESS RD MADISON WI 53716
LIBERTY TRADE & LOGISTICS LLC        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LIBERTY TRAILER CO., INC.            P.O. BOX 17940 NORTH LITTLE ROCK AR 72117
LIBERTY TRANSIT LLC                  OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
LIBERTY TRANSPORT                    PO BOX 1213 MIDLOTHIAN VA 23113
LIBERTY TRANSPORT CORP               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LIBERTY TRANSPORT GROUP LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LIBERTY TRANSPORT LLC                P.O.. BOX 844556 LOS ANGELES CA 90084
LIBERTY TRANSPORT, INC.              PO BOX 8 WEVER IA 52658
LIBERTY TRANSPORTATION, INC.         838 CROFT ROAD GREENSBURG PA 15601
LIBERTY TRUCKING LLC                 OR INSTAPAY FLEXIBLE, LLC, PO BOX 660771 DALLAS TX 75266-0771
LIBERTY TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LIBERTY UTILITIES MIDSTATES          2751 N HIGH ST JACKSON MO 63755-4003
LIBERTY XPRESS TRUCKING INC          50 LIBERTY WAY HORSEHEADS NY 14845-9013
LIBERTY, MICHAEL                     ADDRESS ON FILE
LIBERTYHILL TRANSPORT LLC            OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LIBMAN, GENNADY                      ADDRESS ON FILE
LIBRA EXPRESS LLC                    1778 N MAIN STREET LOS ANGELES CA 90031
LIBRA HAULING INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LIBRA TRUCKING LLC                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
LIC-A-LOAD TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LICAJ TRANSPORT INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LICASTRI, JOE                        ADDRESS ON FILE
LICAVOLI, GRAZIANO                   ADDRESS ON FILE
LICEA, LETICIA                       ADDRESS ON FILE
LICEA, RAFAEL                        ADDRESS ON FILE
LICHAY, STEVEN                       ADDRESS ON FILE
LICHTAS, PAUL                        ADDRESS ON FILE
LICHTEFELD, MICHAEL                  ADDRESS ON FILE
LICHTLE, MICHAEL                     ADDRESS ON FILE
LICIAGA-RIQUELME, ELVIN              ADDRESS ON FILE
LIDDELL, AARON                       ADDRESS ON FILE
LIDDELL, ALAN                        ADDRESS ON FILE
LIDDELL, MARK                        ADDRESS ON FILE
LIDDELL, SHELTON                     ADDRESS ON FILE
LIDER EXPRESS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LIDO TRANSPORT INC                   OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
LIDO TRANSPORTATION INC              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
LIEBMAN DRAYAGE                      ADDRESS ON FILE
LIEBRECHT, CLAYTON                   ADDRESS ON FILE
LIEDEL, ALEXA                        ADDRESS ON FILE
LIENHARD, KEITH                      ADDRESS ON FILE
LIENS, RAYMOND                       ADDRESS ON FILE
LIERAS, XAVIER                       ADDRESS ON FILE
LIESER, MATTHEW J                    ADDRESS ON FILE
LIESKE, DENNIS                       ADDRESS ON FILE
LIETZKE, BRUCE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1124 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1133 of 2156

Claim Name                             Address Information
LIEU, DWAYNE                           ADDRESS ON FILE
LIEUTENANT TRANSPORTATION LLC          532 PENNINGTON ST. 2ND FL ELIZABETH NJ 07202
LIEVROUW, DENNIS                       ADDRESS ON FILE
LIEVROUW, DENNIS                       ADDRESS ON FILE
LIF INDUSTRIES                         5 HARBOR PARK DR PORT WASHINGTON NY 11050
LIFE AND DREAM LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LIFE GATE LOGISTICS LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LIFE SUPPORT CONSULTANTS LLC           303 W OHIO ST UNIT 3409 CHICAGO IL 60654
LIFEBOOST LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LIFELINE LOGISTICS INC                 3365 SMOKETREE DR APT 254 SACRAMENTO CA 95834-1824
LIFES LESSONS TRANSPORT LLC            OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
LIFESAFE SERVICES, LLC                 5971 POWERS AVE STE 108 JACKSONVILLE FL 32217
LIFESPAN FITNESS                       785 W 1700 S STE 3 SALT LAKE CITY UT 84104
LIFETIME CHIMNEY SUPPLY                171 E. AMES CT. PLAINVIEW NY 11803
LIFETIME HOME IMPROVEMENT              7022 S. REVERE PARKWAY STE. 240 CENTENIAL CO 80112
LIFETIME PRODUCTS                      ATTN: TAZIA PTACEK PO BOX 160010 CLEARFIELD UT 84016
LIFETIME PRODUCTS                      CLAIM ACCNTS REC FREEPORT CENTER BLDG D11 CLEARFIELD UT 84016
LIFETIME PRODUCTS                      PO BOX 160010 CLEARFIELD UT 84016
LIFETIME PRODUCTS                      PO BOX 160010 CLEARIFELD UT 84016
LIFETIME PRODUCTS                      LOCK BOX 271102, PO BOX 35146 SEATTLE WA 98124
LIFETIME PRODUCTS                      PO BOX 35146 LOCKBOX 271102 SEATTLE WA 98124
LIFETIME PRODUCTS, INC.                ATTN: TAZIA PTACEK LOCK BOX 271102, PO BOX 35146 SEATTLE WA 98124
LIFETIME TEA                           3235 N ARIZONA AVE STE D4 CHANDLER AZ 85225
LIFT INC                               PO BOX 7657 LANCASTER PA 17604
LIFT POWER, INC.                       6801 SUEMAC PL JACKSONVILLE FL 32254
LIFT PRO EQUIPMENT CO., INC.           3621 N POTSDAM AVE, PO BOX 1482 SIOUX FALLS SD 57101
LIFT PRO EQUIPMENT CO., INC.           PO BOX 1482 SIOUX FALLS SD 57101
LIFT SOLUTIONS, INC                    14616 SHEPARD STREET OMAHA NE 68138
LIFT TRUCK CENTER, INC.                PO BOX 17084 WICHITA KS 67217
LIFT TRUCK SALES, SERVICE AND RENTAL   P.O. BOX 12040 KNOXVILLE TN 37912
INC
LIFT TRUCK SALES, SERVICE AND RENTAL   201 VAN HUSS AVE. KNOXVILLE TN 37917
INC
LIFT TRUCK SERVICE CENTER, INC.        12829 INTERSTATE 30 LITTLE ROCK AR 72209
LIFT TRUCK SERVICES                    1701 MAGOFFIN AVE EL PASO TX 79901
LIFT TRUCK SPECIALISTS OF KS INC       529 N BROADWAY BLVD. SALINA KS 67401
LIFT TRUCK SUPPLY INC                  PO BOX 8251 TYLER TX 75711
LIFTGATE INTERSTATE TRUCKING LLC       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
LIFTGATE SERVICE                       953 N ENTERPRISE ST ORANGE CA 92867
LIFTONE                                PO BOX 602727 CHARLOTTE NC 28260
LIFTONE                                PO BOX 602727 CHARLOTTE NC 28260-2727
LIFTOW LIMITED                         C.P. 8092 STN A TORONTO ON M5W 3W5 CANADA
LIFTOW LIMITED                         PO BOX 8092, STN A TORONTO ON M5W 3W5 CANADA
LIFTTRUCK PARTS & SERVICE INC          PO BOX 1091 WEST SPRINGFIELD MA 01090
LIGE, ANTHEAUS                         ADDRESS ON FILE
LIGER TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LIGGETT TRANSPORT & CRANE LLC          292 STATE HWY 230 UNIT B LARAMIE WY 82070
LIGHT EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LIGHT LOGISTICS, LLC                   6825 S 7TH ST UNIT 8422 PHOENIX AZ 85042



Epiq Corporate Restructuring, LLC                                                                 Page 1125 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1134 of 2156

Claim Name                              Address Information
LIGHT SPEED LOGISTICS INC.              122 CARMEK BLVD ROCKY VIEW AB T1X 1X1 CANADA
LIGHT SPEED TRANS LLC                   OR SOUND FINANCE CORPORATION P.O. BOX 679281 DALLAS TX 75267-9281
LIGHT SPEED TRANSPORT LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LIGHT SPEED TRANSPORT LLC (MC1193645)   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LIGHT, JED                              ADDRESS ON FILE
LIGHT, JEFFREY L                        ADDRESS ON FILE
LIGHTBODY, ROGER                        ADDRESS ON FILE
LIGHTCRAFT INC                          766 THERESE TER DES PLAINES IL 60016
LIGHTENING LOGISTICS, LLC               1580 HOLLOW POINT DR CANTONMENT FL 32533
LIGHTFOOT, DEREK                        ADDRESS ON FILE
LIGHTFOOT, ERNEST                       ADDRESS ON FILE
LIGHTFOOT, JASON                        ADDRESS ON FILE
LIGHTHOUSE FOR THE BLIND                10440 TRENTON AVE OLIVETTE MO 63132
LIGHTING MAINTENANCE, INC.              351 N 6TH AVE ELDRIDGE IA 52748
LIGHTING OF GEORGIA, INC.               PO BOX 1927 POWDER SPRINGS GA 30127
LIGHTING PICK                           20525 SW DIPOLE RD SHERWOOD OR 97140
LIGHTING RES LLC                        498 PARK 800 DR. GREENWOOD IN 46143
LIGHTING WORLD DECORATOR                1720 RICHMOND AVE STATEN ISLAND NY 10314
LIGHTNER, GEORGE                        ADDRESS ON FILE
LIGHTNER, GREG                          ADDRESS ON FILE
LIGHTNING AUTO ASSISTANCE LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LIGHTNING EXPRESS TOWING                N 2880 COUNTY RD K MERRILL WI 54452
LIGHTNING GLASSWORKS & SCREENS LLC      PO BOX 21 PENROSE CO 81240
LIGHTNING KHALSA TRANSPORT              84 DURANGO DR BRAMPTON ON L6X 5G9 CANADA
LIGHTNING TRANSPORT AND LOGISTICS LLC   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
LIGHTNING TRANSPORT INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
LIGHTNING TRANSPORTATION LLC            312 EAST RAILROAD ST RAWLINS WY 82301-6384
(MC1220622)
LIGHTNING TWO-WAY RADIO, INC.           784 REDBUD LANE GREENWOOD IN 46142
LIGHTSEY, JENNIFER                      ADDRESS ON FILE
LIGMAN, BUCK                            ADDRESS ON FILE
LIGNE DYNAMIQUE                         ADDRESS ON FILE
LIGON, MAURICE                          ADDRESS ON FILE
LIGON, SHANNON                          ADDRESS ON FILE
LIGONDE, JENNIFER                       ADDRESS ON FILE
LIGONS, GEORGIANN                       ADDRESS ON FILE
LIGONS, SUVEAHA                         ADDRESS ON FILE
LIIBAAN EXPRESS INC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
LIION MOUNTAIN TRANSPORT LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LIJON, KHALIL                           ADDRESS ON FILE
LIKA EXPRESS LLC                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LIKAM INTEGRATED SOLUTIONS INC.         4500 BORDENTOWN AVE, PMB 128 SAYREVILLE NJ 08872
LIKE TRUCKING CORP                      OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LIKE WIND TRANSPORT LLC                 5511 TERRITORIAL RD NW ALBUQUERQUE NM 87120
LIKELY, CHRISTINA                       ADDRESS ON FILE
LIKENS, JAMES                           ADDRESS ON FILE
LIKIS INC                               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
LIL GRIZ TRUCKING LLC                   OR TRUENORTH SERVICES LLC PO BOX 30516, DEPT 509 LANSING MI 48909
LIL HOMIE TRANSPORTATION LLC            OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051



Epiq Corporate Restructuring, LLC                                                               Page 1126 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1135 of 2156

Claim Name                            Address Information
LILA KATE TRUCKING LLC                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
LILDA EXPRESS INC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LILE INTERNATIONAL COMPANIES          8060 SW PFAFFLE ST 200 TIGARD OR 97223
LILES, CHARLES                        ADDRESS ON FILE
LILES, PHILLIP                        ADDRESS ON FILE
LILES, TIMOTHY                        ADDRESS ON FILE
LILES, ZACKARY                        ADDRESS ON FILE
LILI TRUCKING                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LILIENTHAL, JAMES                     ADDRESS ON FILE
LILIENTHAL, JAMES                     ADDRESS ON FILE
LILLARD, DANIEL                       ADDRESS ON FILE
LILLARD, JUSTIN                       ADDRESS ON FILE
LILLEY, PATRICK O                     ADDRESS ON FILE
LILLEY, THOMAS                        ADDRESS ON FILE
LILLEY, THOMAS                        ADDRESS ON FILE
LILLIE NELMS                          ADDRESS ON FILE
LILLIE, AMANDA                        ADDRESS ON FILE
LILLIS, PAUL                          ADDRESS ON FILE
LILLO, DARLENE                        ADDRESS ON FILE
LILLO, NICHOLE                        ADDRESS ON FILE
LILLO, WAYLON                         ADDRESS ON FILE
LILLY, ASHLEY                         ADDRESS ON FILE
LILLY, BRANDON W                      ADDRESS ON FILE
LILLY, KEITH                          ADDRESS ON FILE
LILLY, MARCUS                         ADDRESS ON FILE
LILLY, MATTHEW                        ADDRESS ON FILE
LILLY, MITCH                          ADDRESS ON FILE
LILLYS T EXPRESS                      OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
LILOS CONSTRUCTION                    27183 LOMA CT GROSSE ILE MI 48138
LILY PEREZ TRUCKING LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LILYDALE DANCE HALLAND EVENT CENTER   6343 COUNTY ROAD HWY N CHIPPEWA FALLS WI 54729
LIM, ANDREW                           ADDRESS ON FILE
LIM, CHRIS                            ADDRESS ON FILE
LIM, RICA                             ADDRESS ON FILE
LIMA 22 TRUCKING LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LIMA EXPEDITED INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LIMA MEMORIAL HEALTH SYSTEM           PO BOX 182014 COLUMBUS OH 43218
LIMA MEMORIAL HEALTH SYSTEM           1001 BELLEFONTAINE AVENUE LIMA OH 45804
LIMA NOGUEIRA, LUCAS                  ADDRESS ON FILE
LIMA PEREZ, JUAN                      ADDRESS ON FILE
LIMA TRANSPORTATION LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LIMA, ALBERTO                         ADDRESS ON FILE
LIMA, ANDRE                           ADDRESS ON FILE
LIMA, MICHAEL                         ADDRESS ON FILE
LIMA, RIJKAARD                        ADDRESS ON FILE
LIMAS, DANIEL                         ADDRESS ON FILE
LIMBERS, TOM                          ADDRESS ON FILE
LIMEHOUSE, TYREEK                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1127 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1136 of 2156

Claim Name                           Address Information
LIMITED EDITION TRANSPORTATION INC   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
LIMITLESS EXPRESS LLC                OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
LIMITLESS LOGISTICS LLC              OR SEVENOAKS CAPITAL ASSOCIATES LLC PO BOX 669130 HOUSTON TX 75266
LIMITLESS SOLUTIONS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LIMITLESS TRANS AUTO GROUP INC.,     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
LIMITLESS TRANSPORTATION LLC         OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LIMITLESS TRUCKING LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LIMO TRUCKING LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
LIMOGE & SONS GARAGE DOORS           136 JAMES BROWN DR WILLISTON VT 05495
LIMOGES, GUYLAIN                     ADDRESS ON FILE
LIMON, GREGORY                       ADDRESS ON FILE
LIMONS ROAD SERVICE, LTD.            PO BOX 831214 SAN ANTONIO TX 78283
LIMONTA, JOSE                        ADDRESS ON FILE
LIN TRANSPORT INC                    38517 TERRY LN WESTLAND MI 48185
LIN TRANSPORT INC                    OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
LIN-MAR MOTORS INC                   5940 W OAKTON ST. MORTON GROVE IL 60053-3306
LIN-MAR TOWING & RECOVERY L.L.C.     5940 W. OAKTON ST. MORTON GROVE IL 60053
LINA TRANSPORT LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LINAHON ELECTRIC, INC.               817 S WASHINGTON AVE MASON CITY IA 50401
LINARES TRANSPORT                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LINARES TRUCKING                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
LINARES TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LINARES, JOSE                        ADDRESS ON FILE
LINAT LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LINAT LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LINCLAU LOGISTICS & CONSULTING LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LINCOLN BOWEN LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LINCOLN CRUDE OIL MARKETING          ATTN: JESSE HINTON. P O BOX 1449 MT. VERNON IL 62864
LINCOLN ELECTRIC COMPANY             22801 ST. CLAIR AVE CLEVELAND OH 44117
LINCOLN ELECTRIC COMPANY             ATTN: RONNIE RANSOM 22801 ST. CLAIR AVE. CLEVELAND OH 44117
LINCOLN ENTERPRISES                  1265 YARDVILLE ALLENTOWN RD. ALLENTOWN NJ 08501
LINCOLN ENTERPRISES                  4165 S BROAD ST YARDVILLE NJ 08620
LINCOLN LANSING DRAINAGE DIST        2685 E LINCOLN HWY CHICAGO HEIGHTS IL 60411
LINCOLN, DANIEL                      ADDRESS ON FILE
LINCOLN, DANIEL                      ADDRESS ON FILE
LINCOLN, JAMES                       ADDRESS ON FILE
LINCOLN, JAMES                       ADDRESS ON FILE
LINCOLN, MARY                        ADDRESS ON FILE
LINCOLN, STEPHEN                     ADDRESS ON FILE
LINCOLN, THOMAS                      ADDRESS ON FILE
LINCOLN, UT                          ADDRESS ON FILE
LINCOLN, WILLIE                      ADDRESS ON FILE
LIND, FRANK                          ADDRESS ON FILE
LIND, JEREMIAH                       ADDRESS ON FILE
LIND, KAMERON                        ADDRESS ON FILE
LIND, KRISTOPHER C                   ADDRESS ON FILE
LIND, KURT A                         ADDRESS ON FILE
LIND, STEPHEN C                      ADDRESS ON FILE
LINDA A ALVARADO LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                               Page 1128 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1137 of 2156

Claim Name                           Address Information
LINDA DZURA                          ADDRESS ON FILE
LINDA KERLIK                         ADDRESS ON FILE
LINDA PRICE                          ADDRESS ON FILE
LINDAUER, TIMOTHY                    ADDRESS ON FILE
LINDAVID INC DBA C&C FENCE           2680 HIGHWAY 42 N MCDONOUGH GA 30253
LINDBERG, KELLY                      ADDRESS ON FILE
LINDE                                321 ROANOKE AVE. NEWARK NJ 07105
LINDE CANADA INC                     PO BOX 400, STN D SCARBOROUGH ON M1R 5M1 CANADA
LINDE CANADA INC                     PO BOX 2531 STN M CALGARY AB T2P 0S6 CANADA
LINDE GAS & EQUIPMENT                ATTN: CHRIS FLINT 4236 STATESVILLE RD CHARLOTTE NC 28269
LINDE GAS & EQUIPMENT INC.           PO BOX 382000 PITTSBURGH PA 15250
LINDE GAS & EQUIPMENT INC.           DEPT CH 10660 PALATINE IL 60055
LINDE GAS & EQUIPMENT INC.           DEPT 0812, PO BOX 120812 DALLAS TX 75312
LINDE GAS & EQUIPMENT INC.           DEPT LA 21511 PASADENA CA 91185
LINDEMAN, MICHAEL                    ADDRESS ON FILE
LINDEMANN, VICTOR                    ADDRESS ON FILE
LINDEMOEN, RANDY                     ADDRESS ON FILE
LINDEN ELECTRIC, INC                 9401 MIERAS RD YAKIMA WA 98901
LINDER, DANIEL                       ADDRESS ON FILE
LINDER, FRED                         ADDRESS ON FILE
LINDGREN, DANIEL                     ADDRESS ON FILE
LINDHOLM, BORJE                      ADDRESS ON FILE
LINDO, KISHAWN                       ADDRESS ON FILE
LINDON, THOMAS                       ADDRESS ON FILE
LINDSAY LAWRENCE ARBITRATION         & MEDIATION SERVICES, PO BOX 146 3219 YONGE ST TORONTO ON M4N 2L3 CANADA
LINDSAY WINDOWS                      ATTN: DEE NELSON 11 CEDAR CT UNION MO 63084
LINDSAY, CAPO                        ADDRESS ON FILE
LINDSAY, CRAIG                       ADDRESS ON FILE
LINDSAY, DARIUS                      ADDRESS ON FILE
LINDSAY, JAMES                       ADDRESS ON FILE
LINDSAY, JOHN                        ADDRESS ON FILE
LINDSAY, KADIE                       ADDRESS ON FILE
LINDSAY-WILLIAMS, DEANNA             ADDRESS ON FILE
LINDSEY E HICKMAN                    ADDRESS ON FILE
LINDSEY M CUNNINGHAM                 ADDRESS ON FILE
LINDSEY, AL                          ADDRESS ON FILE
LINDSEY, BRIAN S                     ADDRESS ON FILE
LINDSEY, BRUCE                       ADDRESS ON FILE
LINDSEY, BRUCE A                     ADDRESS ON FILE
LINDSEY, CEDRIC                      ADDRESS ON FILE
LINDSEY, DESMOND                     ADDRESS ON FILE
LINDSEY, JAMES A                     ADDRESS ON FILE
LINDSEY, KENNETH                     ADDRESS ON FILE
LINDSEY, MICHAEL                     ADDRESS ON FILE
LINDSEY, MILBURN                     ADDRESS ON FILE
LINDSEY, RICHARD                     ADDRESS ON FILE
LINDSEY, WILLIAM R                   ADDRESS ON FILE
LINDSLEY, MICHAEL                    ADDRESS ON FILE
LINDSTROM, STEPHEN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1129 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1138 of 2156

Claim Name                           Address Information
LINDSTROM, THERESA                   ADDRESS ON FILE
LINE DRIVE TRUCKING INC              5942 EDINGER AVE STE 113 HUNTINGTON BEACH CA 92649
LINE IT UP STRIPING LLC              3540 W LOUISIANA STATE RD KENNER LA 70065
LINE STAR CARRIER LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LINE XPRESS TRUCKING LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LINEA TEAM LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LINEAGE                              8208 NIEMAN RD LENEXA KS 66214
LINEAGE TRANSPORT LLC                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
LINEAGE TRANSPORT LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LINEAGE TRUCKING                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
LINEBARGER, MISCHELL                 ADDRESS ON FILE
LINEBERRY, RICHARD                   ADDRESS ON FILE
LINES, CHRISTOPHER                   ADDRESS ON FILE
LINESTAR LOGISTICS LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LINEY-STANTIAL, SAMANTHA             ADDRESS ON FILE
LINEY-STANTIAL, SAMANTHA             ADDRESS ON FILE
LINFANTE, JOHN                       ADDRESS ON FILE
LINFANTE, JOHN J                     ADDRESS ON FILE
LINGENFELTER, HARRY                  ADDRESS ON FILE
LINGERFELT, JOSHUA                   ADDRESS ON FILE
LINGERFELT, WILLIAM                  ADDRESS ON FILE
LINGL, ROSE                          ADDRESS ON FILE
LINGLE, GILBERT                      ADDRESS ON FILE
LINGNAU, DAVID                       ADDRESS ON FILE
LINGNER, JOHN                        ADDRESS ON FILE
LINH, SOKEREY                        ADDRESS ON FILE
LINIFORM SERVICE                     1050 NORTHVIEW AVE BARBERTON OH 44203
LINK AND LAURA WELBORN               ADDRESS ON FILE
LINK EXPRESS LLC                     PO BOX 234 GALLOWAY OH 43119-0234
LINK LOGISTICS INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
LINK PLUS FRIGHT LLC                 9141 116TH ST RICHMOND HILL NY 11418
LINK TRANSPORT LLC                   36914 SE BRAEBURN STREET SNOQUALMIE WA 98065
LINK TRANSPORTATION                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LINK TRUCKING LLC                    8517 VALLEY VIEW RD CUSTER WA 98240
LINK US TRANSPORTATION INC           12429 DENHOLM DR EL MONTE CA 91732
LINK, TIMOTHY                        ADDRESS ON FILE
LINK, TRAVIS                         ADDRESS ON FILE
LINKEDIN CORPORATION                 62228 COLLECTIONS CENTER DR CHICAGO IL 60693
LINKEL COMPANY LLC                   ATTN: JAMA LINKEL 1081 MORRIS ROAD BATESVILLE IN 47006-8490
LINKER, ALLEN                        ADDRESS ON FILE
LINKHAUER, CHRISTY                   ADDRESS ON FILE
LINKHAUER, CURT                      ADDRESS ON FILE
LINKOUS, RODNEY                      ADDRESS ON FILE
LINKQUE TRUCKING LLC                 706 HICKORY LANE LOGANVILLE GA 30052
LINKS XPRESS LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LINKTRANS LLC                        96 OUTLAW RD CAMDEN SC 29020-7744
LINN EXPRESS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LINN OWEN TRUCKING INC               2495 E HWY 190 SAN SABA TX 76877
LINN, RICK                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1130 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1139 of 2156

Claim Name                           Address Information
LINNE, JEFFREY                       ADDRESS ON FILE
LINNELL, KEVIN                       ADDRESS ON FILE
LINNELL, STEVEN                      ADDRESS ON FILE
LINNEN, TERENCE                      ADDRESS ON FILE
LINO EXPRESS INC                     707 N WORKMAN ST SAN FERNANDO CA 91340
LINQ HOTEL & CASINO                  ATTN: MICHAEL FAUFHN 3535 S LAS VEGAS BLVD LAS VEGAS NV 89109
LINS, JASON                          ADDRESS ON FILE
LINSCOTT, ERIN                       ADDRESS ON FILE
LINT, CHRISTOPHER                    ADDRESS ON FILE
LINT, DAVID                          ADDRESS ON FILE
LINTON TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LINTON, MADALENA                     ADDRESS ON FILE
LINTON, THAD                         ADDRESS ON FILE
LINTZ LAWN & LANDSCAPING INC         8638 LEPERE SCHOOL RD MILLSTADT IL 62260
LINX LOGISTICS LLC                   8640 INNOVATION CAMPUS WAY NEW ALBANY OH 43054
LINZY, DESHON                        ADDRESS ON FILE
LION & LIONESS TRUCKING LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LION BG INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LION CARGO INC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LION FORCE TRANSPORT INC             6950 KENDERRY GATE MISSISSAUGA ON L5T 2S7 CANADA
LION HEART LOGISTICS LLC             OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
LION KING EXPRESS INC                OR GREAT PLAINS TRANSPORTATION SERVICES INC PO BOX 4539 CAROL STREAM IL
                                     60197-4539
LION KING ROAD INC                   OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
LION KING TRANSPORTATION LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LION TRANS INC.                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LION TRANSPORTATION LLC              OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
LION TRUCKING INC                    OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE230 MORTON GROVE IL 60053
LION TRUCKING INC (MC1140958)        OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
LION TRUCKING LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LIONESS LOGISTICS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LIONHART TRANSPORTATION LLC          PO BOX 809107 CHICAGO IL 60680
LIONHEART HELPING HANDS LLC          50 CARRIAGE TRCE STOCKBRIDGE GA 30281-1328
LIONIX CARGO LLC                     1324 S 51ST AVE CICERO IL 60804
LIONIZE DELIVERY SOLUTIONS, INC.     P O BOX 157 DUNDEE IL 60118
LIONS                                OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
LIONS CARRIER INC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LIONS EMPIRE INC                     OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
LIONSFLEET LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LIONSTAR EXPRESS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LIPARI, JAMES                        ADDRESS ON FILE
LIPCZYNSKI, LYNN                     ADDRESS ON FILE
LIPFORD, RANDALL                     ADDRESS ON FILE
LIPFORD, RENALDO                     ADDRESS ON FILE
LIPICO INC                           OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
LIPOME, SALVATORE D                  ADDRESS ON FILE
LIPP, JEFFREY                        ADDRESS ON FILE
LIPP, TODD                           ADDRESS ON FILE
LIPPER INTERNATIONAL                 235 WASHINGTON ST WALLINGFORD CT 06492



Epiq Corporate Restructuring, LLC                                                               Page 1131 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1140 of 2156

Claim Name                           Address Information
LIPPINCOTT PLUMBING-HEATING          & AIR CONDITIONING INC 872 ST JOHNS AVE LIMA OH 45804
LIPPS WRECKER SERVICE, LLC           314 BROAD RUN CHURCH ROAD JANE LEW WV 26378
LIPPS, ADAM                          ADDRESS ON FILE
LIPPS, MICHAEL                       ADDRESS ON FILE
LIPPY, TONO                          ADDRESS ON FILE
LIPSCOMB, ERIK                       ADDRESS ON FILE
LIPSCOMB, RODERICK                   ADDRESS ON FILE
LIPSCOMB, THOMAS                     ADDRESS ON FILE
LIPSEY TRUCKING LLC                  5600 BRAINERD RD, SUITE E2 CHATTANOOGA TN 37411
LIPSKI, MATHEW                       ADDRESS ON FILE
LIQUID PRODUCTS                      ATTN: NATASIA FIELDS ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO
                                     IL 60654
LIQUIDX TRANSPORTATION LLC           OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
LIRANZO ORTEGA, JUAN                 ADDRESS ON FILE
LIRAS TRUCKING LLC                   OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
LIRETTE, DINA                        ADDRESS ON FILE
LIS TRANSPORT CORP                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LIS, DOUGLAS                         ADDRESS ON FILE
LIS, SEBASTIAN                       ADDRESS ON FILE
LISA D TRUCKING LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LISA D TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LISA HOWARD                          ADDRESS ON FILE
LISA KASTELIC                        ADDRESS ON FILE
LISA LONGLAND                        ADDRESS ON FILE
LISA MCGHEE                          ADDRESS ON FILE
LISA R EVANS                         ADDRESS ON FILE
LISA TRANSPORTATION LLC              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
LISA TREADWAY                        ADDRESS ON FILE
LISBY, JASON                         ADDRESS ON FILE
LISENBEE, GARRY                      ADDRESS ON FILE
LISENBEE, HASHARA                    ADDRESS ON FILE
LISENBEE, ZANE                       ADDRESS ON FILE
LISENBERY, SEAN                      ADDRESS ON FILE
LISHMAN, GERMAINE                    ADDRESS ON FILE
LISI, ANDREW                         ADDRESS ON FILE
LISICHONAK, DZMITRY                  ADDRESS ON FILE
LISICK, BRIAN                        ADDRESS ON FILE
LISIS TOWING SERVICE INC.            ROUTE 6, 3402 DANBURY ROAD BREWSTER NY 10509
LISK, MICHAEL                        ADDRESS ON FILE
LISNIK LLC                           115 CATKIN DR SOUTH BURLINGTON VT 05403
LISOWSKI, LINDA                      ADDRESS ON FILE
LISS LOGISTICS                       OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LISSA COULSON                        ADDRESS ON FILE
LIST TRUCKING INC                    1500 STEVENS AVE APT E SAN GABRIEL CA 91776-1340
LIST, NEIL                           ADDRESS ON FILE
LISTER, WILLIAM                      ADDRESS ON FILE
LISTO SERVICES                       817 OHARE PKWY MEDFORD OR 97504
LISTON, ADAM                         ADDRESS ON FILE
LISTON, VERNON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1132 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1141 of 2156

Claim Name                           Address Information
LISZT, PATRICK                       ADDRESS ON FILE
LIT EXPRESS LLC                      1226 S 206TH AVE BUCKEYE AZ 85326
LITA & SONS TRUCKING LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LITALIEN, JADE                       ADDRESS ON FILE
LITAMOSA LOGISTICS LLC               OR COMMERCE COMMERCIAL CREDIT INC PO BOX 88714 MILWAUKEE WI 53288-8714
LITCHFIELD SPORTS LLC                311 W KIRKHAM ST LITCHFIELD IL 62056
LITCHFIELD, GARY                     ADDRESS ON FILE
LITCHFIELD, JOSHUA                   ADDRESS ON FILE
LITEHOUSE CUSTOM PRINTING            ATTN: SUSAN MCDADE 1920 INDUSTRIAL DR SANDPOINT ID 83864
LITHCO 1, LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
LITHERLAND, QUENTIN                  ADDRESS ON FILE
LITHIA FORD L267                     3943 BROOKS ST MISSOULA MT 59804
LITHKO CONTRACTING                   1811A OLD HWY 14 S ATTN MICHELLE CARROLL GREER SC 29651
LITIMCO, JAMES                       ADDRESS ON FILE
LITLE, MARY L                        ADDRESS ON FILE
LITMAN, GEORGE                       ADDRESS ON FILE
LITMAX LINES INC                     OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
LITSAS, PETER                        ADDRESS ON FILE
LITTEN, MATTHEW                      ADDRESS ON FILE
LITTLE AS DELIVERY SERVICE           OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
LITTLE BEAR ENTERPRISES LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LITTLE BEE TRANSPORTATION INC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LITTLE BEE TRUCKING COMPANY          3118 E LAVENDER DR ONTARIO CA 91762
LITTLE EGYPT GOLF CART               150 LITTLE EGYPT LANE SALEM IL 62281
LITTLE G TRUCKING LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LITTLE H EXPRESS TRUCKING, LLC       204 PEPPERTOWN RD LORETTO TN 38469
LITTLE H TRUCKING                    PO BOX 343 VERNON CENTER MN 56090
LITTLE HARDWARE CO., INC.            1400 S MINT ST CHARLOTTE NC 28203
LITTLE MAN TRUCKING LLC              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
LITTLE RIVER TRANSPORTATION LLC      OR PROBILLING & FUNDING SERVICES P.O. BOX 2222 DECATUR AL 35609
LITTLE ROCK DEPARTMENT OF FINANCE&   PO BOX 896 ROOM 230 PO BOX 3861 LITTLE ROCK AR 72203
ADMIN
LITTLE SR, MICHAEL A                 ADDRESS ON FILE
LITTLE STAR TRANS INC                OR CAPITAL DEPOT 8930 WAUKEGAN RD, STE230 MORTON GROVE IL 60053
LITTLE, ALAN                         ADDRESS ON FILE
LITTLE, ANTOINE                      ADDRESS ON FILE
LITTLE, DAVID                        ADDRESS ON FILE
LITTLE, DAVID                        ADDRESS ON FILE
LITTLE, DERRICK                      ADDRESS ON FILE
LITTLE, DIEDRE                       ADDRESS ON FILE
LITTLE, DONOVAN                      ADDRESS ON FILE
LITTLE, JARVIS                       ADDRESS ON FILE
LITTLE, JERRY                        ADDRESS ON FILE
LITTLE, JUSTIN                       ADDRESS ON FILE
LITTLE, KENNETH                      ADDRESS ON FILE
LITTLE, LACHAROB                     ADDRESS ON FILE
LITTLE, LAMONICA                     ADDRESS ON FILE
LITTLE, LARRY                        ADDRESS ON FILE
LITTLE, LASHANGUS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1133 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1142 of 2156

Claim Name                           Address Information
LITTLE, MICHAEL                      ADDRESS ON FILE
LITTLE, MICHAEL                      ADDRESS ON FILE
LITTLE, MICHAEL V                    ADDRESS ON FILE
LITTLE, NATHANIEL S                  ADDRESS ON FILE
LITTLE, ROBERT                       ADDRESS ON FILE
LITTLE, ROBERT W                     ADDRESS ON FILE
LITTLE, TIMOTHY                      ADDRESS ON FILE
LITTLE, TIMOTHY                      ADDRESS ON FILE
LITTLE, TRACY                        ADDRESS ON FILE
LITTLEFIELD, BRENDA                  ADDRESS ON FILE
LITTLEFORD, STEVEN                   ADDRESS ON FILE
LITTLEJOHN, JOSEPH                   ADDRESS ON FILE
LITTLEJOHN, JOSEPH                   ADDRESS ON FILE
LITTLEJOHN, THEAUTRY                 ADDRESS ON FILE
LITTLEJOHN, TRAVIS                   ADDRESS ON FILE
LITTLEPAGE, ROBERT                   ADDRESS ON FILE
LITTLER, ANDREW                      ADDRESS ON FILE
LITTLEROCK SHIPPING INC              OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
LITTLES TRANSPORTATION LLC           10610 GREENHEAD VIEW RD CHARLOTTE NC 28262
LITTLES, AARON                       ADDRESS ON FILE
LITTLES, AARON                       ADDRESS ON FILE
LITTLES, DEMOND                      ADDRESS ON FILE
LITTLETON, DAMIEN                    ADDRESS ON FILE
LITTLEWOLF, ALYSSA                   ADDRESS ON FILE
LITTMANN, MARK                       ADDRESS ON FILE
LITTRAL, WILLIAM A                   ADDRESS ON FILE
LITTRAL, WILLIAM A                   ADDRESS ON FILE
LITZ, ABBI                           ADDRESS ON FILE
LITZAU, DAVID                        ADDRESS ON FILE
LITZELMAN, MATTHEW S                 ADDRESS ON FILE
LITZENBERGER, TROY                   ADDRESS ON FILE
LITZENBERGERS SEPTIC SERVICE         460 UNION RD LEBANON PA 17046
LIU, DANIEL                          ADDRESS ON FILE
LIU, JIMMY                           ADDRESS ON FILE
LIU, JIMMY                           ADDRESS ON FILE
LIU, SHIYAO                          ADDRESS ON FILE
LIU, XIAOYU                          ADDRESS ON FILE
LIU, YAOHUA                          ADDRESS ON FILE
LIV ENTERPRISES INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LIV TRANSPORTATION INC               2 PLAZA DR 5098 WOODRIDGE IL 60517
LIVAI, SIUAKI                        ADDRESS ON FILE
LIVE 61 INC                          6619 E ALMERIA RD SCOTTSDALE AZ 85257
LIVECCHI, VINCENT                    ADDRESS ON FILE
LIVELY, MICHAEL                      ADDRESS ON FILE
LIVELY, ROBERT                       ADDRESS ON FILE
LIVEN 4 BETTER TRUCKING LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LIVENCIEO J WHITLOCK                 ADDRESS ON FILE
LIVENGOOD, ROGER                     ADDRESS ON FILE
LIVEPERSON, INC.                     27260 NETWORK PLACE CHICAGO IL 60673



Epiq Corporate Restructuring, LLC                                                            Page 1134 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1143 of 2156

Claim Name                           Address Information
LIVEPERSON, INC.                     27260 NETWORK PL CHICAGO IL 60673-1272
LIVERGOOD, DAVID                     ADDRESS ON FILE
LIVERS, RICHARD                      ADDRESS ON FILE
LIVESAY, MATTHEW                     ADDRESS ON FILE
LIVESAY, TIMOTHY J                   ADDRESS ON FILE
LIVESTOCK LENS                       14617 S KAW DR OLATHE KS 66062
LIVEX LIGHTING                       46 CLYDE RD SOMERSET NJ 08873
LIVING ESSENTIALS                    ATTN: SARALYN TYNER 200 BOND ST WABASH IN 46992
LIVING SPACES FURNITURE              14501 ARTESIA BLVD LA MIRADA CA 90638
LIVINGOODS APPLIANCE                 126 WESTSIDE BLVD POOLER GA 31322
LIVINGSTON TRUCKING, INC.            PO BOX 7761 TEXARKANA TX 75505
LIVINGSTON, DAVID                    ADDRESS ON FILE
LIVINGSTON, RICKY                    ADDRESS ON FILE
LIVINGSTON, SPENCER                  ADDRESS ON FILE
LIVINGSTON, YUREE                    ADDRESS ON FILE
LIVINGTREE TRANSPORTATION CORP       12782 HUNGARIAN ST EASTVALE CA 92880
LIVONGO HEALTH INC                   DEPT CH 17624 PALATINE IL 60055
LIVONGO HEALTH INC                   150 W EVELYN AVENUE SUITE 150 MOUNTAIN VIEW CA 94041
LIX, WILLIAM                         ADDRESS ON FILE
LIZ GLOVER                           ADDRESS ON FILE
LIZ TRANSPORTATION, LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LIZ, LAUREN                          ADDRESS ON FILE
LIZAK, DANIEL P                      ADDRESS ON FILE
LIZAK, JOANNE                        ADDRESS ON FILE
LIZAMA TRANSPORT INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
LIZAMA TRUCKING CORPORATION          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LIZAMA, ALEXANDER                    ADDRESS ON FILE
LIZANO TRUCKING LLC                  OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
LIZARD TRANSPORT INC                 OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
LIZARDO, JOSH                        ADDRESS ON FILE
LIZARRAGA, CESAR                     ADDRESS ON FILE
LIZARRAGA, RUBEN                     ADDRESS ON FILE
LIZAS EXPRESS INC                    2225 BENSON AVE APT 3C BROOKLYN NY 11214
LIZAS EXPRESS INC                    OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425
LIZUT MECHANICAL INC                 905 ORCHARD LAKE RD PONTIAC MI 48341
LJ EVANS TRANSPORTATION LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LJ LIGHTNING TRANSPORT LLC           OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
LJ STAR LOGISTICS INC                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
LJ TRANSPORTATION                    176 WINDING CEDAR DR STATESVILLE NC 28677
LJM INTERNATIONAL LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LJP TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LJR TRANSPORT LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
LJS ENTERPRISES LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LK LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LKC FRESNO CORP.                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LKQ                                  A3 FREIGHT PAYMENT 3150 LENOX PARK BLVD STE 400 MEMPHIS TN 38115
LKQ BELLEVILLE                       ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
LKQ CORP                             5846 CROSSINGS BLVD ANTIOCH TN 37013
LKQ CORP                             125 S GOLD ST WYKOFF MN 55990



Epiq Corporate Restructuring, LLC                                                               Page 1135 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1144 of 2156

Claim Name                              Address Information
LKQ HEAVY TRUCK                        1019 S 50TH ST TAMPA FL 33619
LKQ HEAVY TRUCK                        16801 EXCHANGE AVE SUITE 1 LANSING IL 60438
LKQ ROUTE 16 AUTO PARTS                ATTN: DARREL WESTON 4 OLD DOUGLAS ROAD WEBSTER MA 01570-3206
LKQ WESTERN TRUCK PARTS                9090 BRIGHTON RD HENDERSON CO 80640
LKR POWER CORP                         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
LKRZ LLC                               OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
LKS EXPRESS INC                        2805 W HELLMAN AVE ALHAMBRA CA 91803
LKS TRUCKIN LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LKWATKINSLLC                           OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
LL TRUCKING COMPANY LLC                11087 SKY COUNTRY DR MIRA LOMA CA 91752
LL&R TRANSPORTATION LLC                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
LLA EXPRESS INC                        24415 KENNEDY CIR PLAINFIELD IL 60544
LLAH EXPRESS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LLAMAS PEREZ, JOSE                     ADDRESS ON FILE
LLAMAS PEREZ, JOSE                     ADDRESS ON FILE
LLAMAS, GLORIA                         ADDRESS ON FILE
LLEWELLYN, STEVE                       ADDRESS ON FILE
LLEWELYN, ROBERT                       ADDRESS ON FILE
LLH FREIGHT INC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LLI                                    145 ENGLAND DRIVE NEW TAZEWELL TN 37825
LLJ CARRIER SERVICES LLC               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LLOYD BARKER                           ADDRESS ON FILE
LLOYD GRAY WHITEHEAD & MONROE PC       880 MONTCLAIR RD STE 100 BIRMINGHAM AL 35213
LLOYD LONDON DAVIS                     ADDRESS ON FILE
LLOYD LONDON DAVIS                     ADDRESS ON FILE
LLOYD SPEARMAN                         ADDRESS ON FILE
LLOYD, ANTHONY                         ADDRESS ON FILE
LLOYD, CHRISTOPHER                     ADDRESS ON FILE
LLOYD, DAREN                           ADDRESS ON FILE
LLOYD, DAVELL                          ADDRESS ON FILE
LLOYD, DEMARCUS                        ADDRESS ON FILE
LLOYD, DERRICK                         ADDRESS ON FILE
LLOYD, HAROLD                          ADDRESS ON FILE
LLOYD, KOLBY                           ADDRESS ON FILE
LLOYD, MARIEL                          ADDRESS ON FILE
LLOYD, MARK                            ADDRESS ON FILE
LLOYD, MAURICE                         ADDRESS ON FILE
LLOYD, SHELBY                          ADDRESS ON FILE
LLOYD, TARA                            ADDRESS ON FILE
LLOYD, THERESA                         ADDRESS ON FILE
LLOYD, THOMAS                          ADDRESS ON FILE
LLOYDS GROUNDS MANAGEMENT PROFESSIONALS 1893 REGIONAL ROAD 3 ENNISKILLEN ON L0B 1J0 CANADA
LLOYDS OF LONDON                       UNDERWRITERS AT LLOYDS LONDON ONE LIME ST LONDON EC3M 7HA UNITED KINGDOM
LLP TRANSPORTATION                     OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
LLZ TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LM HOTSHOT TRUCKING LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LM STANDING LLC                        1018 E 161ST PL SOUTH HOLLAND IL 60473
LM TRANSPORTATION SERVICES LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LMA TRANSPORT LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553



Epiq Corporate Restructuring, LLC                                                               Page 1136 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1145 of 2156

Claim Name                              Address Information
LMB DISTRIBUTORS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LMB EXPRESS INC                        3454 HANOVER DR BRUNSWICK OH 44212
LMC TRANSPORT LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
LMC TRUCKING LLC                       9973 W FARM ROAD 56 WALNUT GROVE MO 65770-8441
LMD INTEGRATED LOGISTICS SERVICES, INC. 3136 EAST VICTORIA STREET RANCHO DOMINGUEZ CA 90221
LMD LOG INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LMD TRUCKING CORP                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
LMG ASSOCIATES                         ATTN: DARCIE SCHULTZ 1705 BYFIELD CT GAMBRILLS MD 21054
LMG CARRIER INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LMH TRANSPORTATION LLC                 OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
LMI DESIGNS                            606 POST RD E WESTPORT CT 06880
LMJ TRUCKING INC                       OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
LMK TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LML EXPRESS NC LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LML TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LMM EXPRESS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LMN JOBARTEHS GROUP                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LMS INTELLIBOUND INC                   3086 MOMENTUM PLACE CHICAGO IL 60689
LMZ TRUCKING, INC.                     1620 VIVIAN COURT WEST BEND WI 53090
LN PEREZ TRUCKING LLC                  OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
LNA SOLUTIONS                          ATTN: MARGIE SCHWINDLER SALES SUPPORT 100 STRADTMAN ST STE 8 BUFFALO NY 14206
LNA TRUCKING LLC                       OR TRUENORTH SERVICES LLC C/O STABLE 2261 MARKET ST 4697 SAN FRANCISCO CA
                                       94114
LNB COURIER LLC                        177 LEDFORD LN MC DONALD TN 37353
LNC LLC                                7350 GREEN ASH DR OLIVE BRANCH MS 38654
LNC TRUCKING 1 LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LNT TRANSPORT L.L.C.                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
LNV ENTERPRISE                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LNW TRUCKING LLC                       18196 COUNTY ROAD M1 NAPOLEON OH 43545
LO PRINGLEY TRANSPORT LLC              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LO TRANS INC                           17 W 415 ROOSEVELT RD OAKBROOK TERRACE IL 60181
LO, KA                                 ADDRESS ON FILE
LO, ROBBERT                            ADDRESS ON FILE
LOAD & GO LLC                          2594 WALLCREST BLVD COLUMBUS OH 43231
LOAD & GO LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LOAD & ROLL EXPRESS INC                OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
LOAD CARRIERS LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
LOAD DASH LLC                          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LOAD EXPRESS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOAD INTEGRITY TRUCKING LLC            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LOAD KING TRANSPORT INC                181 TRADE VALLEY DRIVE WOODBRIDGE ON L4H3N6 CANADA
LOAD KING TRUCKING LLC                 OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
LOAD KINGS TRUCKING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LOAD MASTER & MOVERS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOAD MONSTER INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOAD MY FREIGHT LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LOAD N GO, INC.                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOAD ON LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LOAD ONE, LLC                          13221 INKSTER ROAD TAYLOR MI 48180



Epiq Corporate Restructuring, LLC                                                                 Page 1137 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1146 of 2156

Claim Name                           Address Information
LOAD RIDER LOGISTICS LLC             LOAD RIDER LOGISTICS LLC, 328 E BEECH ST HAZLETON PA 18201
LOAD RIDER LOGISTICS LLC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LOAD RUNNER TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LOAD RUNNERS CARRIERS LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
LOAD SOLUTIONS USA INC               2121 LOCKPORT RD NIAGARA FALLS NY 14304
LOAD TIME TRUCKING                   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
LOAD TIME TRUCKING                   3007 MERLIN CT VACAVILLE CA 95688
LOAD TO RIDE TRANSPORTATION LLC      PO BOX 72655 CLEVELAND OH 44192-0002
LOAD TO RIDE TRANSPORTATION LLC      OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
LOAD-EXP LOGISTICS                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LOADANDGO                            OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
LOADB TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LOADBUDDY INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOADCENTRIC INC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LOADED UP LOGISTICS                  OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
LOADER SERVICES & EQUIP              319 BEARDEN RD PELHAM AL 35124
LOADEX INC                           6713 BROOK FALLS CIR STOCKTON CA 95219
LOADLINER INC                        P O BOX 681151 SCHAUMBURG IL 60168
LOADLINK EXPRESS, LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LOADLINK LOGISTICS LLC               PO BOX 36 RUSSELLVILLE TN 37860
LOADMODE LLC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LOADOUT TRANSPORT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LOADPAL INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOADPRO CARRIER LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LOADPRO TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LOADS 24-7 TRANSPORT LLC             961 GARRISON DR GREENWOOD IN 46143
LOADS 24-7 TRANSPORT LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LOADS AND HAULING SOLUTIONS LLC      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LOADS LOGISTICS LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LOADS OF FAITH TRANSPORTATION LLC    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LOADS ON THE MOVE LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LOADS TO ROADS LOGISTICS LLC         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LOADSMART                            ATTN: CLAIMS DEPT PO BOX 2999 PHOENIX AZ 85062-2999
LOADSMART INC                        CLAIMS DEPARTMENT PO BOX 2999 PHOENIX AZ 85062
LOADSMART INC                        PO BOX 2999 PHOENIX AZ 85062
LOADSTAR LOGISTICS INC               OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
LOADSTAR TRUCKING LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LOADWARE TRANSPORTATION LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOADX LOGISTICS LLC                  PO BOX 41 JARRELL TX 76537
LOBB, DAVID A                        ADDRESS ON FILE
LOBB, RANDY                          ADDRESS ON FILE
LOBBY TRAFFIC SYSTEMS INCORPORATED   8583 IRVINE CENTER DRIVE 10 IRVINE CA 92618
LOBERG ROOFING.COM INC               5800 188TH ST SW STE A LYNNWOOD WA 98037
LOBETTI, STEVEN                      ADDRESS ON FILE
LOBO-RAMIREZ, RAMIRO                 ADDRESS ON FILE
LOBOS, LUIS                          ADDRESS ON FILE
LOC 705 IB T PN FD                   1645 W JACKSON CHICAGO IL 60612
LOC UNION 705 IBT                    1645 W JACKSON BLVD, 7TH FLOOR CHICAGO IL 60612
LOC. DE CAMIONS RYDER                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1138 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1147 of 2156

Claim Name                              Address Information
LOCAL 1908                              TCU, PO BOX 79891 BALTIMORE MD 21279
LOCAL 251 H & W FUND                    1201 ELMWOOD AVE PROVIDENCE RI 02907
LOCAL 294 ALBANY AREA TRUCKING          IND WELFARE FUND, 890 3RD ST ALBANY NY 12206
LOCAL 301 WELFARE FUND                  36990 N GREEN BAY RD WAUKEGAN IL 60087
LOCAL 443 HEALTH SERVICE &INSURANCE     PO BOX 1710 NEW HAVEN CT 06507
PLAN
LOCAL 443 TRANSPORTATION                200 WALLACE ST NEW HAVEN CT 06511
LOCAL 445 PENSION FUND                  PO BOX 2572, STONE CASTLE RD NEWBURGH NY 12550
LOCAL 457                               2590 BERLIN TURNPIKE SUITE 1 BERLIN CT 06037
LOCAL 493 HEALTH SERVICE& INSURANCE     18 CRESCENT STREET UNCASVILLE CT 06382
PLAN
LOCAL 557 FREIGHT DRIVERS               PENSION FUND, 9411 PHILADELPHIA RD STE S BALTIMORE MD 21237
LOCAL 557 PENSION FUND                  9411 PHILADELPHIA RD STE S BALTIMORE MD 21237
LOCAL 641 WELFARE FUND                  714 RAHWAY AVENUE 2ND FLOOR UNION NJ 07083
LOCAL 653 H&W FUND                      4 B HAMPDEN DRIVE SOUTH EASTON MA 02375
LOCAL 667 (MICAH FARRIS)                796 E BROOKS RD MEMPHIS TN 38116
LOCAL 701 MID JERSEY TRUCKING           2003 US HIGHWAY 130 STE A NORTH BRUNSWICK NJ 08902
LOCAL 701 MID JERSEY TRUCKING           INDUSTRY WELFARE FUND 2003 US HWY 130 SUITE A NORTH BRUNSWICK NJ 08902
LOCAL 705 IBOF T HEALTH AND WELFARE     AND WELFARE FUND, 1645 W JACKSON CHICAGO IL 60612
FUND
LOCAL 705 IBT PENSION PLAN              1645 WEST JACKSON BLVD. SUITE 700 CHICAGO IL 60612
LOCAL 707                               KEVIN MCCAFFREY, PRESIDENT 14 FRONT STREET SUITE 301 HEMPSTEAD NY 11550
LOCAL 707                               NEW PENN PENSION FUND 14 FRONT ST STE 301 HEMPSTEAD NY 11550
LOCAL 707                               NEW PENN WELFARE FUND 14 FRONT ST STE 301 HEMPSTEAD NY 11550
LOCAL 710 STIPEND                       9000 WEST 187TH ST MOKENA IL 60448
LOCAL 805 H & W PENSION FUND            60 BROAD ST NEW YORK NY 10004
LOCAL 805 PENSION AND RETIREMENT PLAN   60 BROAD STREET 37TH FLOOR NEW YORK NY 10004
LOCAL 805 PENSION AND RETIREMENT PLAN   ARTHUR KATZ, PLAN TRUSTEE 60 BROAD STREET 37TH FLOOR NEW YORK NY 10004
LOCAL HAULING LLC                       12215 HUNTERS CHASE DR UNIT 4103N AUSTIN TX 78729
LOCAL HAULING LLC                       9900 QUAIL BLVD APT 124 AUSTIN TX 78758
LOCAL MOVERS LLC                        OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
LOCAL NO. 71                            2529 BELTWAY BLVD CHARLOTTE NC 28214
LOCAL TRUCK REPAIR                      4362 GLENN HIGHWAY CAMBRIDGE OH 43725
LOCAL UNION 002                         PO BOX 3745 BUTTE NH 59702
LOCAL UNION 371                         101 31ST AVENUE ROCK ISLAND IL 61201
LOCAL UNION 495                         800 S BARRANCA AVE STE 320 COVINA CA 91723
LOCAL UNION 495                         225 N BARRANCA ST 4TH FLOOR WEST COVINA CA 91791
LOCAL UNION 673                         1050 W ROOSEVELT RD WEST CHICAGO IL 60185
LOCAL UNION 687                         14 ELM ST POTSDAM NY 13676
LOCAL UNION 737                         1010 E HIGHWAY 96 VADNAIS HEIGHTS MN 55127
LOCAL UNION 795                         4921 E CESSNA DR WICHITA KS 67210
LOCAL UNION 89                          3813 TAYLOR BLVD LOUISVILLE KY 40215-2695
LOCCHETTA, MICHAEL                      ADDRESS ON FILE
LOCHE, WILLIAM                          ADDRESS ON FILE
LOCICERO, PATRICIA                      ADDRESS ON FILE
LOCK N KEY STORAGE                      1669 COKER BUTTE RD. MEDFORD OR 97502
LOCK SURGEON INC                        17812 118 AVE EDMONTON AB T5S 2W3 CANADA
LOCKDOWN MANAGEMENT, INC.               815 NORTHWOOD HILLS AVE DURHAM NC 27704
LOCKDOWN7 LLC                           OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                        UT 84130


Epiq Corporate Restructuring, LLC                                                               Page 1139 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1148 of 2156

Claim Name                             Address Information
LOCKE, ANDREW                          ADDRESS ON FILE
LOCKE, CHARITY                         ADDRESS ON FILE
LOCKE, CHRISTOPHER                     ADDRESS ON FILE
LOCKE, DANNY                           ADDRESS ON FILE
LOCKE, JAMES                           ADDRESS ON FILE
LOCKE, RYAN                            ADDRESS ON FILE
LOCKE, TYLER                           ADDRESS ON FILE
LOCKE, WALTER                          ADDRESS ON FILE
LOCKED-UP TRUCKING LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOCKER, LINLEY                         ADDRESS ON FILE
LOCKETT LOGISTICS INC.                 8222 N MARSTON AVE KANSAS CITY MO 64151-3710
LOCKETT TRUCKING AND TRANSPORT LLC     612 COLEBRIDGE DR BLACKLICK OH 43004
LOCKETT, ERIC                          ADDRESS ON FILE
LOCKETT, JEFFREY                       ADDRESS ON FILE
LOCKHART, BAXTER                       ADDRESS ON FILE
LOCKHART, DAMOND                       ADDRESS ON FILE
LOCKHART, DWAYNE                       ADDRESS ON FILE
LOCKHART, KENDRA                       ADDRESS ON FILE
LOCKHEED MARTIN AERONAUTICS CO         ATTN: JOE CHASTAIN TRAFFIC OFFICE, MZ 6888 1 LOCKHEED BLVD BLDG 182 FT WORTH
                                       TX 76108
LOCKHEED MARTIN CORPORATI              SUITE 300 CONDATA OAK BROOK IL 60523
LOCKMAN, JAMES                         ADDRESS ON FILE
LOCKMAN, JOHN                          ADDRESS ON FILE
LOCKMER PLUMBING HEATING & UTILITIES   P.O. BOX 591 BUTTE MT 59703
INC
LOCKOUT EXPRESS                        233 MATTESON STREET DYER IN 46311
LOCKPORT EXPRESS MEDICAL GROUP INC     PO BOX 84040 CHICAGO IL 60689
LOCKREY, KENNETH                       ADDRESS ON FILE
LOCKRIDGE, NATHAN                      ADDRESS ON FILE
LOCKRIDGE, TAMEKIA                     ADDRESS ON FILE
LOCKSHINE, JOSHUA                      ADDRESS ON FILE
LOCKSMITH AND MORE LLC                 516 5TH SE WATERTOWN SD 57201
LOCKSMITH DISCIPLES LLC                3015 85TH AVE N MINNEAPOLIS MN 55444
LOCKSMITH DISCIPLES LLC                8470 XERXES AVE N BROOKLYN PARK MN 55444
LOCKSMITH SERVICES                     117 S 6TH ST MILLVILLE NJ 08332
LOCKTON                                444 W 47TH ST. SUITE 900 KANSAS CITY MO 64112
LOCKTON COMPANIES                      FOUNDERS SERIES C/O COMMERCE BANK 444 W 47TH STREET SUITE 900 KANSAS CITY MO
                                       64112
LOCKTON COMPANIES                      C/O COMMERCE BANK, PO BOX 802707 KANSAS CITY MO 64180
LOCKTON COMPANIES INTERNATIONAL        (BERMUDA) LTD, THE EMPORIUM BUILDING 69 FRONT STREET, 3RD FL HAMILTON HM12
                                       BERMUDA
LOCKTON COMPANIES LLP                  THE ST BOTOLPH BUILDING 138 HOUNDSDITCH LONDON EC3A 7AG UNITED KINGDOM
LOCKTON INVESTMENT ADVISORS LLC        DEPT 999224, PO BOX 219153 KANSAS CITY MO 64121
LOCKWOOD JR, THOMAS                    ADDRESS ON FILE
LOCKWOOD, RICHARD                      ADDRESS ON FILE
LOCKWOOD, SEBASTIAN                    ADDRESS ON FILE
LOCKWOOD, STEVE                        ADDRESS ON FILE
LOCKWORX INC                           9035 SIERRA AVE FONTANA CA 92335
LOCOMOTE EXPRESS LLC                   PO BOX 2693 HUNTINGTON WV 25726
LOCRICCHIO, VITO                       ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                              Page 1140 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1149 of 2156

Claim Name                          Address Information
LODGE CLEANING BUSINESS             9601 ALBERDEER WAY A AUSTIN TX 78753
LODGING KIT COMPANY                 ATTN: HILARY CONNELLY 210 DALE ST EDGEWATER FL 32132
LODI METALS                         PO BOX 337 BELLVILLE OH 44813
LODI TRUCKING INC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
LODICO, JONATHAN                    ADDRESS ON FILE
LODWICK, JAMES                      ADDRESS ON FILE
LODX LLC                            2200 W MAIN ST CARMEL IN 46032
LOEFFLER JR., GARY                  ADDRESS ON FILE
LOEFFLER, ROBERT                    ADDRESS ON FILE
LOEHR, MARY                         ADDRESS ON FILE
LOERA JR, ARTHUR                    ADDRESS ON FILE
LOERA, JAIME                        ADDRESS ON FILE
LOERA, SAUL                         ADDRESS ON FILE
LOERKE, TERRY                       ADDRESS ON FILE
LOESCH, JOHN                        ADDRESS ON FILE
LOEUNG, JOHNSON                     ADDRESS ON FILE
LOEVE, JEFFREY                      ADDRESS ON FILE
LOEW, MICHAEL                       ADDRESS ON FILE
LOEWE, HEATHER                      ADDRESS ON FILE
LOEWENSTEIN, MIKE                   ADDRESS ON FILE
LOFA TRUCKING, LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
LOFTIN, LEON                        ADDRESS ON FILE
LOFTLY, KENNETH                     ADDRESS ON FILE
LOFTON, ADINA                       ADDRESS ON FILE
LOFTON, CALVINO                     ADDRESS ON FILE
LOFTON, DEPREE                      ADDRESS ON FILE
LOFTON, GEORGE                      ADDRESS ON FILE
LOFTON, KEVIN                       ADDRESS ON FILE
LOFTON, NEHARI                      ADDRESS ON FILE
LOFTON, WILLIAM                     ADDRESS ON FILE
LOFTUS, FRANCIS                     ADDRESS ON FILE
LOFTY, DONALD                       ADDRESS ON FILE
LOGAN ALLEN                         ADDRESS ON FILE
LOGAN ALUMINUM                      ADDRESS ON FILE
LOGAN COUNTY COLLECTOR              PO BOX 400 LINCOLN IL 62656
LOGAN J ALLRED                      ADDRESS ON FILE
LOGAN TOWING                        45 LEWIS AVE JERSEY CITY NJ 07306
LOGAN TRANSPORTATION LLC            OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
LOGAN VANCE                         ADDRESS ON FILE
LOGAN, ANTHONY                      ADDRESS ON FILE
LOGAN, BRANDON                      ADDRESS ON FILE
LOGAN, ERAL                         ADDRESS ON FILE
LOGAN, JALEN T                      ADDRESS ON FILE
LOGAN, KEVIN                        ADDRESS ON FILE
LOGAN, RODNEY                       ADDRESS ON FILE
LOGAN, SAM                          ADDRESS ON FILE
LOGAN, SANDRA                       ADDRESS ON FILE
LOGAN, SCOTT                        ADDRESS ON FILE
LOGAN, SCOTT                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1141 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1150 of 2156

Claim Name                           Address Information
LOGAN, SEAN                          ADDRESS ON FILE
LOGAN, TERRANCE                      ADDRESS ON FILE
LOGAN, TRAVIS                        ADDRESS ON FILE
LOGAN, VENUS                         ADDRESS ON FILE
LOGEX TRANSPORTATION LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
LOGGERS, DEMETRIUS                   ADDRESS ON FILE
LOGGINS LOGISTICS, INC.              5706 COMMERCE SQUARE JONESBORO AR 72401
LOGGINS, DANIEL                      ADDRESS ON FILE
LOGGINS, HARRISON                    ADDRESS ON FILE
LOGGINS, KENNETH                     ADDRESS ON FILE
LOGHRY-JANSEN, JACOB                 ADDRESS ON FILE
LOGI-FREIGHT TRANSPORT LLC           OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
LOGICO LINES LLC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
LOGIFLEX                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOGIPRO                              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LOGIST TRANSPORT INC                 OR CAPITAL DEPOT 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
LOGISTIC LANES LLC                   3700 KYLE XING KYLE TX 78640
LOGISTIC PROS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LOGISTICA ZEMOG                      OFICINAS CAMPESTRE BULEVAR TOMAS FERNANDEZ 7930-EDIFICIO B, INT 408, CAMINO
                                     REAL CHIHUAHUA, CIUDAD JUAREZ 32460 MEXICO
LOGISTICAL LABS                      640 N LASALLE DR 555 CHICAGO IL 60654
LOGISTICIZE LTD                      861 E PERRY ST PAULDING OH 45879
LOGISTICS 365 LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LOGISTICS ENTERPRISE INC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LOGISTICS EXPERTS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LOGISTICS EXPRESS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOGISTICS FOX                        7461 GARDEN GROVE BLVD STE A GARDEN GROVE CA 92841
LOGISTICS FREIGHT SOLUTIONS          LFS, PO BOX 720637 MIAMI FL 33172
LOGISTICS FREIGHT SOLUTIONS IN       ATTN: ANDRES GIRALDO PO BOX 720637 MIAMI FL 33172
LOGISTICS FREIGHT SOLUTIONS INC      PO BOX 720637 MIAMI FL 33172
LOGISTICS LLC                        OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320-4695
LOGISTICS NATION LLC                 145 PIKE DR ELLERSLIE GA 31807
LOGISTICS PLUS                       1406 PEACH ST ERIE PA 16501
LOGISTICS PLUS                       ATTN: KRISTEN RZODKIEWICZ LTL CLAIMS 1406 PEACH ST ERIE PA 16501
LOGISTICS PLUS                       ATTN: LEE ANNE KENNEDY KARCHER CLAIMS 1406 PEACH ST ERIE PA 16501
LOGISTICS PLUS - NAD CLAIMS          1406 PEACH ST ERIE PA 16501
LOGISTICS SERVICE GROUP LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LOGISTICS SERVICES, INC.             900 APOLLO ROAD EAGAN MN 55121
LOGISTICS SOLUTIONS GROUP LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LOGISTICS SUPPLY                     10926 DAVID TAYLOR DR STE 100 CHARLOTTE NC 28262
LOGISTICS SUPPLY                     10926 LORD TAYLOR DR 100 CHARLOTTE NC 28262
LOGISTICSTAR, LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
LOGISTIX SERVICES INC                61953 US 31 S SOUTH BEND IN 46614-5017
LOGITRAQ, LLC                        ATTN: GENERAL COUNSEL 3900 S STONEBRIDGE DR MCKINNEY TX 75070
LOGIX TRANSPORTATION, INC.           NW 7215, PO BOX 1450 MINNEAPOLIS MN 55485-7215
LOGOLOGO, TOEUPU                     ADDRESS ON FILE
LOGOS TRANSIT LINES INC              OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
LOGPAC EXPRESS LLC                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
LOGSDON, GREGORY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1142 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1151 of 2156

Claim Name                           Address Information
LOGSDON, HOWARD                      ADDRESS ON FILE
LOGSDON, PAUL                        ADDRESS ON FILE
LOGSTAR                              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
LOGTRANS CORPORATION                 21447 BURGUNDY DR FRANKFORT IL 60423
LOGUIDICE, MICHAEL                   ADDRESS ON FILE
LOGUS LTD                            OR ASSIST FINANCIAL SERVICE INC PO BOX 347 MADISON SD 57042
LOGWIN TRUCKING LTD                  DBA ARKTEK XPRESS LTD, 1224 240 STREET LANGLEY BC V2Z 2Y6 CANADA
LOHER, KEVIN                         ADDRESS ON FILE
LOHR, OMAR                           ADDRESS ON FILE
LOHR, SHAWN                          ADDRESS ON FILE
LOHRMAN, CHARLES                     ADDRESS ON FILE
LOHSE TRANSFER INC                   PO BOX 97 ANNANDALE MN 55302
LOIACONO, MARLEE                     ADDRESS ON FILE
LOIACONO, MARLEE                     ADDRESS ON FILE
LOJEWSKI, STANLEY                    ADDRESS ON FILE
LOJKO, RICHARD                       ADDRESS ON FILE
LOKDAL TRANSPORT INC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LOKEY ENTERPRISE LLC                 OR RIVIERA FINANCE OF PHILADELPHIA INC PO BOX 713394 PHILADELPHIA PA
                                     19171-3394
LOKKEN, BRADLEY                      ADDRESS ON FILE
LOKKO, GEORGE                        ADDRESS ON FILE
LOKMIC, ALMEDIN                      ADDRESS ON FILE
LOKO FAYE SERVICES LLC               OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
LOLA M STEPHENSON                    ADDRESS ON FILE
LOLA TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOLI EXPRESS LLC                     4003 S MADISON BLVD FRANKLIN WI 53132
LOLLAR, GENE                         ADDRESS ON FILE
LOLLIS, RANDY                        ADDRESS ON FILE
LOLLMAN, DAVE                        ADDRESS ON FILE
LOLY TRANSPORT                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
LOMAE, KENNETH                       ADDRESS ON FILE
LOMAE, LAAN                          ADDRESS ON FILE
LOMAH FUND II LLC                    10 BURWOOD LANE SAN ANTONIO TX 78216
LOMAX JR, BILLY                      ADDRESS ON FILE
LOMAX, ROMEO                         ADDRESS ON FILE
LOMBARDI, RICHARD                    ADDRESS ON FILE
LOMBARDI, THOMAS                     ADDRESS ON FILE
LOMBARDO, JOHN                       ADDRESS ON FILE
LOMBARDO, KATHLEEN                   ADDRESS ON FILE
LOMBARDO, LEAH                       ADDRESS ON FILE
LOMBARDO, MARY JO                    ADDRESS ON FILE
LOMBARDO, MASSIMO                    ADDRESS ON FILE
LOMBARDO, ROBERT                     ADDRESS ON FILE
LOMBARDY DOOR SALES & SERVICE CORP   734 BELLEVILLE AVE BELLEVILLE NJ 07109
LOMBERA, ABRAHAM                     ADDRESS ON FILE
LOMC                                 3202 N FOURTH ST STE 100 LONGVIEW TX 75605
LOMEDICO, JOSEPH                     ADDRESS ON FILE
LOMELI, ADOLFO                       ADDRESS ON FILE
LOMELI, ALEJANDRO                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1143 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1152 of 2156

Claim Name                              Address Information
LOMELI, ESMERALDA                      ADDRESS ON FILE
LOMELIN, MANUEL                        ADDRESS ON FILE
LOMEX LIMITED                          OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
LOMIWAY TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LONDON LIFE INSURANCE COMPANY          PO BOX 7200 STATION MAIN WINNIPEG MB R3C 4W4 CANADA
LONDON TRUCKING LLC                    OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
LONDON, ANTONIO                        ADDRESS ON FILE
LONDON, BRYAN                          ADDRESS ON FILE
LONDON, DAVID                          ADDRESS ON FILE
LONDON, PATRICK                        ADDRESS ON FILE
LONDON, TRENT                          ADDRESS ON FILE
LONE CONE                              ADDRESS ON FILE
LONE OAK TRUCKING                      12 S HUDSON AVE TULSA OK 74112
LONE RANGER EXPRESS LLC                OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
LONE STAR ELECTRIC CO                  P.O. BOX 6451 ABILENE TX 79608
LONE STAR ENTERPRISES AND LOGISTICS INC OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LONE STAR TRUCK AND TIRE, INC          PO BOX 514, 4173 HWY 21 BROOKLYN IA 52211
LONESTAR ELECTRIC                      ATTN: GARRETT WELCH 4036 BINZ ELECTRIC STE 208 SAN ANTONIO TX 78219
LONESTAR EXPEDITORS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LONESTAR GROUP INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LONESTAR LOGISTICS                     OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
LONESTAR LOGISTICS                     1347 HELSINKI COURT WINDSOR ON N9G 0B4 CANADA
LONESTAR MAINTENANCE                   16418 S. INTERSTATE 35 BRUCEVILLE TX 76630
LONESTAR TRUCK GROUP                   LONESTAR TRUCK SHREVEPORT 7300 GRENWOOD RD SHREVEPORT LA 71119
LONESTAR TRUCK GROUP                   4848 N GENERAL BRUCE TEMPLE TX 76501
LONEXPRESS LLC                         OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LONEY, ALEXANDER                       ADDRESS ON FILE
LONEY, COLIN                           ADDRESS ON FILE
LONEY, KEVIN                           ADDRESS ON FILE
LONG & LOW TRUCKING LLC                OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458-0054
LONG ELECTRIC                          704 N. 36TH ST. LAFAYETTE IN 47905
LONG ELECTRIC COMPANY, INC.            P.O. BOX 6269- DEPT. 315 INDIANAPOLIS IN 46206
LONG ELECTRIC COMPANY, INC.            6902 HAWTHORN PARK DR INDIANAPOLIS IN 46220
LONG FENCE COMPANY, INC.               1910 BETSON COURT ODENTON MD 21113
LONG HAUL TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LONG HAUL TRUCKING COMPANY, LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LONG LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LONG LOGISTICS LLC (MC879697)          OR MATCH FACTORS, PO BOX 13259 FLORENCE SC 29504
LONG ROAD TRANSPORTATION LLC           OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
LONG ROAD TRANSPORTATION LLC (KENT, WA) 13036 SE KENT-KANGLEY RD, PMB 541 KENT WA 98030
LONG RUN EXPRESS LLC                   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LONG TRAILER AND BODY SERVICE, INC.    PO BOX 5105 GREENVILLE SC 29606
LONG TYME TRUCKING, LLC                OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
LONG VIEW RV SUPERSTORES               27 LAWRENCE ROAD WINDSOR LOCKS CT 06096
LONG YUN LOGISTICS INC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
LONG, AARON                            ADDRESS ON FILE
LONG, AMANDA                           ADDRESS ON FILE
LONG, ARAMIS                           ADDRESS ON FILE
LONG, BRANDON                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1144 OF 2145
                                              Yellow Corporation
                     Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                        Page 1153 of 2156

Claim Name                             Address Information
LONG, CAROL                            ADDRESS ON FILE
LONG, CHRIS                            ADDRESS ON FILE
LONG, CHRISTOPHER                      ADDRESS ON FILE
LONG, COLEEN                           ADDRESS ON FILE
LONG, CRAIG                            ADDRESS ON FILE
LONG, CRISSY                           ADDRESS ON FILE
LONG, CYNTHIA                          ADDRESS ON FILE
LONG, DANIEL                           ADDRESS ON FILE
LONG, DINA                             ADDRESS ON FILE
LONG, DUANE                            ADDRESS ON FILE
LONG, GARRETT                          ADDRESS ON FILE
LONG, GARY                             ADDRESS ON FILE
LONG, GARY                             ADDRESS ON FILE
LONG, GEORGE                           ADDRESS ON FILE
LONG, JACOB                            ADDRESS ON FILE
LONG, JAJA                             ADDRESS ON FILE
LONG, JAMES                            ADDRESS ON FILE
LONG, JAMES                            ADDRESS ON FILE
LONG, JASON                            ADDRESS ON FILE
LONG, JEARL                            ADDRESS ON FILE
LONG, JEFFERY                          ADDRESS ON FILE
LONG, JEFFREY                          ADDRESS ON FILE
LONG, JEREMY                           ADDRESS ON FILE
LONG, JERRY                            ADDRESS ON FILE
LONG, JERRY                            ADDRESS ON FILE
LONG, JON                              ADDRESS ON FILE
LONG, JOSEPH                           ADDRESS ON FILE
LONG, JOSHUA                           ADDRESS ON FILE
LONG, JOSHUA                           ADDRESS ON FILE
LONG, KELSIE                           ADDRESS ON FILE
LONG, KEVIN                            ADDRESS ON FILE
LONG, KYLE                             ADDRESS ON FILE
LONG, MARK                             ADDRESS ON FILE
LONG, MARK                             ADDRESS ON FILE
LONG, MATTHEW                          ADDRESS ON FILE
LONG, MIKE                             ADDRESS ON FILE
LONG, NATHAN                           ADDRESS ON FILE
LONG, SAOL                             ADDRESS ON FILE
LONG, SIDNEY                           ADDRESS ON FILE
LONG, STEVEN                           ADDRESS ON FILE
LONG, TIM                              ADDRESS ON FILE
LONG, TIMOTHY                          ADDRESS ON FILE
LONG, TRISHA                           ADDRESS ON FILE
LONGBOW LOGISTICS LLC                  67 ELM AVE CORAM NY 11727
LONGBOW TRANSPORTATION AND LOGISTICS   PO BOX 809107 CHICAGO IL 60680
LLC
LONGBOY, FRANCIS                       ADDRESS ON FILE
LONGCHAMP, TIMOTHY                     ADDRESS ON FILE
LONGE, GAVIN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 1145 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1154 of 2156

Claim Name                           Address Information
LONGE, JUSTIN                        ADDRESS ON FILE
LONGEST, LESLIE                      ADDRESS ON FILE
LONGEVITCH, RONALD                   ADDRESS ON FILE
LONGEVITY CENTER, C.A.               1608 W CAMPBELL AVE 334 CAMPBELL 95008
LONGGO TRANS                         PO BOX 1578 CHINO CA 91708
LONGHAUL LOGISTICS LLC               OR TRANSPORT FACTORING INC. PO BOX 167648 IRVING TX 75016
LONGIA TRUCK LINES                   7272 E VESSAR AVE FRESNO CA 93737
LONGIA TRUCKING INC                  4316 MALDENHAIR DR INDIANAPOLIS IN 46239
LONGLAND, LISA                       ADDRESS ON FILE
LONGMIRE, KEITH                      ADDRESS ON FILE
LONGO, JONATHAN                      ADDRESS ON FILE
LONGO, JOSEPH                        ADDRESS ON FILE
LONGO, MICHAEL                       ADDRESS ON FILE
LONGO, MICHAEL                       ADDRESS ON FILE
LONGORIA, ARMANDO                    ADDRESS ON FILE
LONGORIA, GERARDO                    ADDRESS ON FILE
LONGORIA, JUSTIN                     ADDRESS ON FILE
LONGORIA, LUIS                       ADDRESS ON FILE
LONGORIA, RANDY                      ADDRESS ON FILE
LONGRUNTRUCKINGLLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LONGS LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LONGSHIP FREIGHT LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LONGSTREET LIVING LLC                ATTN: NICK LONGSTREET 720 E CHICAGO ROAD COLDWATER MI 49036-9404
LONGVIEW LOGISTICS LTD               OR JD FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
LONGVIEW OF AMERICA LLC              PO BOX 200410 PITTSBURGH PA 15250
LONGVIEW TRUCKLINE LTD               OR ECAPITAL FREIGHT FACTORING INC 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V
                                     6L4 CANADA
LONGWAY TRANSPORTATION LLC           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LONGWAY TRUCKLINE INC                12620 FM 1960 W STE A-4 127 HOUSTON TX 77065
LONGWORTH TRUCKING                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LONGWORTH, RODNEY                    ADDRESS ON FILE
LONIEWSKI, MAREK                     ADDRESS ON FILE
LONNEL D FOSTER                      ADDRESS ON FILE
LONNEVILLE, JACOB                    ADDRESS ON FILE
LONNIE JOHNSON                       ADDRESS ON FILE
LONSEAL                              ATTN: PRESCILLA VIELMAN PRESCILLA VIELMAN 928 E 238TH ST CARSON CA 90745
LOOFTANZA ROADLINER EXPRESS LLC      PO BOX 271048 PO BOX 271048 DALLAS TX 75227
LOOKABAUGH, STEVEN                   ADDRESS ON FILE
LOOKOUT PEST CONTROL                 PO BOX 5408 FT. OGLETHORPE GA 30742
LOOM EXPRESS LOGISTICS LLC           470 GOLD KNOB RD SALISBURY NC 28146
LOOM EXPRESS LOGISTICS LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
LOOM EXPRESS LOGISTICS LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LOOMAS, IRA                          ADDRESS ON FILE
LOOMER, KELLY                        ADDRESS ON FILE
LOOMIS, MARSHALL                     ADDRESS ON FILE
LOOMIS, MARSHALL                     ADDRESS ON FILE
LOOMIS, PAUL                         ADDRESS ON FILE
LOONA INC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOONEY, BILLY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1146 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1155 of 2156

Claim Name                           Address Information
LOONEY, RONNIE                       ADDRESS ON FILE
LOONSFOOT, TIMOTHY                   ADDRESS ON FILE
LOOP TRUCKING LLC                    OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
LOOP XPRESS INC                      1660 CHARL ANN DR ALLIANCE OH 44601
LOPAC, JOHN                          ADDRESS ON FILE
LOPER, DAVID                         ADDRESS ON FILE
LOPER, DOUGLAS                       ADDRESS ON FILE
LOPES, CARLOS                        ADDRESS ON FILE
LOPES, DONNA                         ADDRESS ON FILE
LOPES, WILSON                        ADDRESS ON FILE
LOPEX.LOGISTICS LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
LOPEZ AUTO FREIGHT                   D/B/A: LOPEZ ISLAND FREIGHT LLC (URDFM:0060002612) PO BOX 92 LOPEZ ISLAND WA
                                     98261
LOPEZ BROS TRANSPORT LLC             17014 LA VIDA CT FONTANA CA 92337
LOPEZ CAMACHO, EVERADO               ADDRESS ON FILE
LOPEZ DIAZ, HELADIO                  ADDRESS ON FILE
LOPEZ EXPRESS FREIGHT INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LOPEZ FONTALVO, HUMBERTO             ADDRESS ON FILE
LOPEZ HERRERA, ENRIQUE               ADDRESS ON FILE
LOPEZ ISLAND FREIGHT LLC             PO BOX 92 LOPEZ ISLAND WA 98261
LOPEZ JACINTO, DANIEL                ADDRESS ON FILE
LOPEZ JR, RODRIGO                    ADDRESS ON FILE
LOPEZ JR., RAMON                     ADDRESS ON FILE
LOPEZ JUAREZ, LUIZ                   ADDRESS ON FILE
LOPEZ LOGISTICS                      436 PINE BROOK PL WILKESBORO NC 28697
LOPEZ LORETO, ROBERTO                ADDRESS ON FILE
LOPEZ NIEVES, IRVIN                  ADDRESS ON FILE
LOPEZ PENA BROTHERS TRUCKING         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LOPEZ ROSADO, ADALBERTO              ADDRESS ON FILE
LOPEZ TRANSPORTATION INC             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
LOPEZ TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LOPEZ TRUCKING 1 LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LOPEZ VAZQUEZ, JORGE                 ADDRESS ON FILE
LOPEZ, AGUSTIN                       ADDRESS ON FILE
LOPEZ, ALEJANDRO                     ADDRESS ON FILE
LOPEZ, ALFREDO                       ADDRESS ON FILE
LOPEZ, ANDREW                        ADDRESS ON FILE
LOPEZ, ANTHONY                       ADDRESS ON FILE
LOPEZ, ANTHONY                       ADDRESS ON FILE
LOPEZ, ASTRID                        ADDRESS ON FILE
LOPEZ, BEATRICE                      ADDRESS ON FILE
LOPEZ, BEN V                         ADDRESS ON FILE
LOPEZ, BREIER                        ADDRESS ON FILE
LOPEZ, BRYANT                        ADDRESS ON FILE
LOPEZ, CALIXTO J                     ADDRESS ON FILE
LOPEZ, CARLOS                        ADDRESS ON FILE
LOPEZ, CARLOS                        ADDRESS ON FILE
LOPEZ, CARLOS N                      ADDRESS ON FILE
LOPEZ, CRISTHIAN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1147 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1156 of 2156

Claim Name                       Address Information
LOPEZ, DANNY J                   ADDRESS ON FILE
LOPEZ, DAVID                     ADDRESS ON FILE
LOPEZ, DOROTEO                   ADDRESS ON FILE
LOPEZ, EDWARD                    ADDRESS ON FILE
LOPEZ, EDWIN                     ADDRESS ON FILE
LOPEZ, EMIGDIO                   ADDRESS ON FILE
LOPEZ, EMMANUEL                  ADDRESS ON FILE
LOPEZ, ERIC                      ADDRESS ON FILE
LOPEZ, ERIC                      ADDRESS ON FILE
LOPEZ, ERICK                     ADDRESS ON FILE
LOPEZ, ERICKA                    ADDRESS ON FILE
LOPEZ, ERIK                      ADDRESS ON FILE
LOPEZ, ERIK                      ADDRESS ON FILE
LOPEZ, ERNEST                    ADDRESS ON FILE
LOPEZ, ERNEST                    ADDRESS ON FILE
LOPEZ, FERNANDO                  ADDRESS ON FILE
LOPEZ, FERNANDO                  ADDRESS ON FILE
LOPEZ, FERNANDO                  ADDRESS ON FILE
LOPEZ, FERNANDO                  ADDRESS ON FILE
LOPEZ, FERNANDO                  ADDRESS ON FILE
LOPEZ, FIDEL                     ADDRESS ON FILE
LOPEZ, GEOFFREY                  ADDRESS ON FILE
LOPEZ, HECTOR                    ADDRESS ON FILE
LOPEZ, HUMBERTO                  ADDRESS ON FILE
LOPEZ, ISRAEL                    ADDRESS ON FILE
LOPEZ, JAIRON                    ADDRESS ON FILE
LOPEZ, JAMES                     ADDRESS ON FILE
LOPEZ, JERRY                     ADDRESS ON FILE
LOPEZ, JESSICA                   ADDRESS ON FILE
LOPEZ, JOHN                      ADDRESS ON FILE
LOPEZ, JOHN                      ADDRESS ON FILE
LOPEZ, JONATHAN                  ADDRESS ON FILE
LOPEZ, JORDAN                    ADDRESS ON FILE
LOPEZ, JORGE                     ADDRESS ON FILE
LOPEZ, JORGE                     ADDRESS ON FILE
LOPEZ, JOSE                      ADDRESS ON FILE
LOPEZ, JOSE                      ADDRESS ON FILE
LOPEZ, JOSE                      ADDRESS ON FILE
LOPEZ, JOSE                      ADDRESS ON FILE
LOPEZ, JOSEPH                    ADDRESS ON FILE
LOPEZ, JUAN                      ADDRESS ON FILE
LOPEZ, JUAN                      ADDRESS ON FILE
LOPEZ, JUAN                      ADDRESS ON FILE
LOPEZ, JUAN R                    ADDRESS ON FILE
LOPEZ, JULIO                     ADDRESS ON FILE
LOPEZ, KOMASQUIN                 ADDRESS ON FILE
LOPEZ, LAURA                     ADDRESS ON FILE
LOPEZ, LUCIANO                   ADDRESS ON FILE
LOPEZ, LUIS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1148 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1157 of 2156

Claim Name                           Address Information
LOPEZ, LUIS                          ADDRESS ON FILE
LOPEZ, LUIS                          ADDRESS ON FILE
LOPEZ, LUIS                          ADDRESS ON FILE
LOPEZ, LYDIA                         ADDRESS ON FILE
LOPEZ, MANUEL                        ADDRESS ON FILE
LOPEZ, MANUEL                        ADDRESS ON FILE
LOPEZ, MARCELINO                     ADDRESS ON FILE
LOPEZ, MARCO                         ADDRESS ON FILE
LOPEZ, MARCO                         ADDRESS ON FILE
LOPEZ, MARCOS                        ADDRESS ON FILE
LOPEZ, MARIANDRE                     ADDRESS ON FILE
LOPEZ, MICHAEL                       ADDRESS ON FILE
LOPEZ, MIGUEL                        ADDRESS ON FILE
LOPEZ, OMAR                          ADDRESS ON FILE
LOPEZ, OMAR                          ADDRESS ON FILE
LOPEZ, OSCAR                         ADDRESS ON FILE
LOPEZ, PEDRO                         ADDRESS ON FILE
LOPEZ, PEDRO                         ADDRESS ON FILE
LOPEZ, QUINTON                       ADDRESS ON FILE
LOPEZ, RAFAEL                        ADDRESS ON FILE
LOPEZ, RAMON                         ADDRESS ON FILE
LOPEZ, RAMON                         ADDRESS ON FILE
LOPEZ, RAUL                          ADDRESS ON FILE
LOPEZ, RAY                           ADDRESS ON FILE
LOPEZ, ROBERT                        ADDRESS ON FILE
LOPEZ, ROBERT                        ADDRESS ON FILE
LOPEZ, ROBERTO                       ADDRESS ON FILE
LOPEZ, ROLAND                        ADDRESS ON FILE
LOPEZ, ROMAN                         ADDRESS ON FILE
LOPEZ, RUDDY                         ADDRESS ON FILE
LOPEZ, RUDY                          ADDRESS ON FILE
LOPEZ, SAUL                          ADDRESS ON FILE
LOPEZ, SERGIO                        ADDRESS ON FILE
LOPEZ, STEPHANIE                     ADDRESS ON FILE
LOPEZ, TIMOTHY                       ADDRESS ON FILE
LOPEZ, VALERIE                       ADDRESS ON FILE
LOPEZ, WILLIAM                       ADDRESS ON FILE
LOPEZ, XAVIER                        ADDRESS ON FILE
LOPEZ-BUILES, MARTHA                 ADDRESS ON FILE
LOPEZ-BUILES, MARTHA                 ADDRESS ON FILE
LOPEZ-DOMINGUEZ, DAGOBERTO           ADDRESS ON FILE
LOPEZ-ONTIVEROS, ANTONIO             ADDRESS ON FILE
LOPEZ-ORTIZ, ANTONIO                 ADDRESS ON FILE
LOPEZ-ROSADO, JAVIER                 ADDRESS ON FILE
LOPICCOLO, PETE                      ADDRESS ON FILE
LOPOUR, KEVIN                        ADDRESS ON FILE
LOPRESTI, JOHN                       ADDRESS ON FILE
LOPRIORE, STEVEN                     ADDRESS ON FILE
LOR, MAI                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1149 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1158 of 2156

Claim Name                              Address Information
LOR, PORCHOUA                          ADDRESS ON FILE
LORA G TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
LORA, AARON                            ADDRESS ON FILE
LORAN, KERRY                           ADDRESS ON FILE
LORANCE, BRIAN E                       ADDRESS ON FILE
LORAND EXPRESS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LORANN, JAMES                          ADDRESS ON FILE
LORD TRANSPORTATION INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
LORD, BETTY                            ADDRESS ON FILE
LORD, BRIAN                            ADDRESS ON FILE
LORD, JAMES                            ADDRESS ON FILE
LORD, ROBERT                           ADDRESS ON FILE
LORDS VALLEY TOWING INC                500 ROUTE 739 LORDS VALLEY PA 18428
LOREDO, ARMANDO                        ADDRESS ON FILE
LOREDO, JOSEPH                         ADDRESS ON FILE
LOREDO-DELAO, ANNA                     ADDRESS ON FILE
LOREEN BUTCHER                         ADDRESS ON FILE
LOREN SERDA BACKFLOW TESTING           14318 PRESTONBROOK DRIVE BAKERSFIELD CA 93314
LORENE MARIE JOHNSON                   ADDRESS ON FILE
LORENS TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LORENSEN, PAUL                         ADDRESS ON FILE
LORENZ, BRIAN                          ADDRESS ON FILE
LORENZ, DONALD                         ADDRESS ON FILE
LORENZANA, MARTHA                      ADDRESS ON FILE
LORENZANA, MICHAEL                     ADDRESS ON FILE
LORENZANA, ROBERT                      ADDRESS ON FILE
LORENZANA, ROBERT L                    ADDRESS ON FILE
LORENZI, ALEXANDER                     ADDRESS ON FILE
LORENZO B WILKERSON                    ADDRESS ON FILE
LORENZO PATTERSON                      ADDRESS ON FILE
LORENZO RICHARDS                       ADDRESS ON FILE
LORENZO TRANSPORT LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
LORENZO, SANDRA                        ADDRESS ON FILE
LORES TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LORETTA CRADY HARDIN COUNTY CIRCUIT CLK 120 E DIXIE AVE ELIZABETHTOWN KY 42701
LORI ANN GILMORE                       ADDRESS ON FILE
LORI M SPRADLING                       ADDRESS ON FILE
LORI TROYER                            ADDRESS ON FILE
LORI TRUCKING LLC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LORIAN TRUCKING LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LORICH, LAWRENCE C                     ADDRESS ON FILE
LORIGA EXPRESS LLC                     OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
LORIN C PENDLEY                        ADDRESS ON FILE
LORIN C PENDLEY                        ADDRESS ON FILE
LORIS SANITATION SERVICES              1821 ELENA PL CALEXICO CA 92231
LORKOWSKI, ADAM                        ADDRESS ON FILE
LORKOWSKI, DALE                        ADDRESS ON FILE
LORMAND, TIM                           ADDRESS ON FILE
LORRAINE CARLSON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1150 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1159 of 2156

Claim Name                               Address Information
LORRARK TRUCKING INC                     648 WESTFIELD AVE 308 ELIZABETH NJ 07208
LORRY TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LOS ALAMOS EXPRESS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LOS ANGELES COUNTY                       PO BOX 54088 LOS ANGELES CA 90039
LOS ANGELES COUNTY AUDITOR - CONTROLLER PROPERTY TAX SERVICES DIVISION, 500 WEST TEMPLE STREET, RM 153 LOS ANGELES CA
                                        90012
LOS ANGELES COUNTY DEPT OF PUBLIC WORKS CASHIER UNIT, PO BOX 1460 ALHAMBRA CA 91802
LOS ANGELES COUNTY FIRE DEPT             PO BOX 513148 LOS ANGELES CA 90051
LOS ANGELES COUNTY SHERIFFS DEPARTMENT   BAKER 3121703040427, PO BOX 843580 LOS ANGELES CA 90084
LOS ANGELES COUNTY TAX COLLECTOR         PO BOX 513191 LOS ANGELES CA 90051
LOS ANGELES COUNTY TAX COLLECTOR         PO BOX 54018 LOS ANGELES CA 90054
LOS ANGELES COUNTY TAX COLLECTOR         PO BOX 54027 LOS ANGELES CA 90054
LOS ANGELES COUNTY TREASURER             PO BOX 54088 LOS ANGELES CA 90039
LOS ANGELES COUNTY TREASURER             WEIGHTS & MEASURES, PO BOX 512399 LOS ANGELES CA 90051
LOS ANGELES DEPT OF WTR & PWR            LADWP GENERAL CORRESPONDENCE PO BOX 51111 LOS ANGELES CA 90051-0100
LOS ANGELES TRUCK CENTERS, LLC           FREIGHTLINER OF ARIZONA LLC DEPT 880097 PO BOX 29650 PHOENIX AZ 85038
LOS ANGELES TRUCK CENTERS, LLC           C/O VELOCITY TRUCK CENTERS PO BOX 101284 PASADENA CA 91189
LOS ANGELES TRUCK CENTERS, LLC           PO BOX 101284 PASADENA CA 91189
LOS ANGELES TRUCK CENTERS, LLC           SAN DIEGO FREIGHTLINER, PO BOX 101284 PASADENA CA 91189
LOS ANGELES TRUCK CENTERS, LLC           FONTANA FREIGHTLINER, 13800 VALLEY BLVD FONTANA CA 92335
LOS COLOMBINOS TRANSPORT INC             OR CAPITAL CREDIT INC, PO BOX 204695 DALLAS TX 75320-4695
LOS MACHOS GONZALEZ INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LOS OCHOA TRUCKING LLC                   OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
LOSER, CHAD                              ADDRESS ON FILE
LOSEV TRUCKING LLC                       167 CHERRY STREET SUITE 416 MILFORD CT 06460
LOSH, LANCE                              ADDRESS ON FILE
LOSHIAVO, RICK                           ADDRESS ON FILE
LOSIEWICZ, EDWIN                         ADDRESS ON FILE
LOSING, EDWARD                           ADDRESS ON FILE
LOSLO, PAUL                              ADDRESS ON FILE
LOSS, JENNIFER                           ADDRESS ON FILE
LOST CHORD GUITARS                       ATTN: ANNA MKRTCHYAN 1576 COPENHAGEN DR STE 101 SOLVANG CA 93463
LOSTRA BROTHERS TOWING &                 WRECK RECOVERY SERVICE PO BOX 2742 ELKO NV 89803
LOSTRA BROTHERS TOWING AND WRECK         RECOVERY SERVICE, LLC, A NEVADA LLC DBA LOSTRA BROS TOWING & WRECK REC. SVC PO
                                         BOX 2742 ELKO NV 89803
LOSTWORLD TRANSPORTATION LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LOSURDO, SAM                             ADDRESS ON FILE
LOTAKI, LEGION                           ADDRESS ON FILE
LOTAKI, MACARUTHER                       ADDRESS ON FILE
LOTH, JEFFREY                            ADDRESS ON FILE
LOTS OF LOADS CORP                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LOTT, DERRICK                            ADDRESS ON FILE
LOTT, ROBERT                             ADDRESS ON FILE
LOTT, THOMAS                             ADDRESS ON FILE
LOTTE CHEMICAL                           6 CENTERPOINT LA PALMA CA 90623
LOTTE GLOBAL LOGISTICS NORTH AMERICA     19875 PACIFIC GATEWAY DR LOS ANGELES CA 90502
INC
LOTUS TRANSPORT INC (MC1219777)          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LOTZ, RAYMOND                            ADDRESS ON FILE
LOU, STEVEN                              ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                   Page 1151 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1160 of 2156

Claim Name                               Address Information
LOUALLEN, WALTER H                       ADDRESS ON FILE
LOUCKS, EDWARD R                         ADDRESS ON FILE
LOUCKS, MIRIAM                           ADDRESS ON FILE
LOUD, RICHARD                            ADDRESS ON FILE
LOUDEN, TYLER                            ADDRESS ON FILE
LOUDON COUNTY TRUCKING, LLC.             PO BOX 529 LOUDON TN 37774
LOUELLA D BARNETT                        ADDRESS ON FILE
LOUGHRY, WYATT                           ADDRESS ON FILE
LOUIS & TRENNY MAIER                     ADDRESS ON FILE
LOUIS A CALONICO                         ADDRESS ON FILE
LOUIS BROTHERS LOGISTIC INC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LOUIS HERNDON                            ADDRESS ON FILE
LOUIS, FARRELL E                         ADDRESS ON FILE
LOUIS, JOSEPH                            ADDRESS ON FILE
LOUIS, KERBY                             ADDRESS ON FILE
LOUIS, KERBY                             ADDRESS ON FILE
LOUIS, KIRBY                             ADDRESS ON FILE
LOUIS, KIRBY                             ADDRESS ON FILE
LOUIS, ROBERT                            ADDRESS ON FILE
LOUISIANA DEPARTMENT OF REV AND          PO BOX 91011 BATON ROUGE LA 70821
TAXATION
LOUISIANA DEPARTMENT OF REV AND          PO BOX 751 BATON ROUGE LA 70821
TAXATION
LOUISIANA DEPARTMENT OF REV AND          POST OFFICE BOX 3138 BATON ROUGE LA 70821
TAXATION
LOUISIANA DEPARTMENT OF THE TREASURY     UNCLAIMED PROPERTY DIVISION 1051 N. 3RD ST, RM 150 BATON ROUGE LA 70802
LOUISIANA DEPARTMENT OF TRANSPORTATION   AND DEVELOPMENT, LADOTD SECTION 52 PO BOX 94245 BATON ROUGE LA 70804
LOUISIANA MOTOR TRANSPORT ASSOC INC      PO BOX 80278 BATON ROUGE LA 70898
LOUISIANA WORKFORCE COMMISSION           LA OWC ASSESSMENTS DEPT 165026 PO BOX 62600 NEW ORLEANS LA 70162
LOUISSAINT, GARRY                        ADDRESS ON FILE
LOUISSANT, HENRISEL                      ADDRESS ON FILE
LOUISVILLE LADDER                        TMCO-OP, 500 WINN SCHOOL RD GLASGOW KY 42141
LOUISVILLE METRO REVENUE COMMISSION      PO BOX 35410 LOUISVILLE KY 40232
LOUISVILLE SWITCHING                     8901 N. INDUSTRIAL ROAD PEORIA IL 61615
LOUKYA INC                               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LOUM, ALASSAN                            ADDRESS ON FILE
LOUM, ALASSAN J                          ADDRESS ON FILE
LOUM, EL HADJI M                         ADDRESS ON FILE
LOUNA TRANSPORTATION LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LOUNNIVONGSA, SINEKA                     ADDRESS ON FILE
LOUP LOGISTICS COMPANY                   14671 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
LOUPE, DENIS                             ADDRESS ON FILE
LOUPE, DENIS J                           ADDRESS ON FILE
LOURDES OCCUPATIONAL HLTH CTR            ATTN: ACCOUNTS RECEIVABLE, PO BOX 94331 SEATTLE WA 98124
LOURDES OCCUPATIONAL HLTH CTR            PO BOX 94331 SEATTLE WA 98124
LOURDES OCCUPATIONAL HLTH CTR            9915 SANDIFUR PARKWAY PASCO WA 99301
LOURO, EMILY J                           ADDRESS ON FILE
LOURO, EMILY J                           ADDRESS ON FILE
LOURO, MARIA S                           ADDRESS ON FILE
LOUS ENTERPRISES, LLC                    550 HOLLYWOOD AVENUE SOUTH PLAINFIELD NJ 07080


Epiq Corporate Restructuring, LLC                                                                   Page 1152 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1161 of 2156

Claim Name                           Address Information
LOUTON, MICHAEL                      ADDRESS ON FILE
LOUTTIT, GEORGE                      ADDRESS ON FILE
LOVAN, BOBBI                         ADDRESS ON FILE
LOVAR TRUCKING LLC                   ATTN: DAVID EDUARDO LOPEZ GUTI 11110 ESCANDON DR LAREDO TX 78045
LOVARE TRUCKING INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
LOVATO, KENNETH                      ADDRESS ON FILE
LOVE EXPRESS TRUCKING CORP           OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
LOVE FREIGHTWAYS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOVE II, IVAN                        ADDRESS ON FILE
LOVE IS THE CURE TRUCKING LLC        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LOVE IT ENTERPRISES LLC              OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
LOVE, BRANDON                        ADDRESS ON FILE
LOVE, CODY                           ADDRESS ON FILE
LOVE, DANYA                          ADDRESS ON FILE
LOVE, DAVID                          ADDRESS ON FILE
LOVE, DEREK                          ADDRESS ON FILE
LOVE, DONALD                         ADDRESS ON FILE
LOVE, GEORGE                         ADDRESS ON FILE
LOVE, ISAAC                          ADDRESS ON FILE
LOVE, JAMIS                          ADDRESS ON FILE
LOVE, JOHN                           ADDRESS ON FILE
LOVE, JOSHUA                         ADDRESS ON FILE
LOVE, KELVIN                         ADDRESS ON FILE
LOVE, LEE                            ADDRESS ON FILE
LOVE, LORENZO                        ADDRESS ON FILE
LOVE, MARIA                          ADDRESS ON FILE
LOVE, MARKUS                         ADDRESS ON FILE
LOVE, MICHAEL                        ADDRESS ON FILE
LOVE, NDIAH C                        ADDRESS ON FILE
LOVE, TERRY                          ADDRESS ON FILE
LOVE, TERRY                          ADDRESS ON FILE
LOVE, WARREN                         ADDRESS ON FILE
LOVEALL, KELLY                       ADDRESS ON FILE
LOVEHONEY LTD                        5156 SOUTHRIDGE PKWY STE 110/120 COLLEGE P ATLANTA GA 30349
LOVEHONEY LTD                        ATTN: GEORGIA RETAIL 5156 SOUTHRIDGE PKWY STE 100/120 COLLEGE PARK ATLANTA GA
                                     30349
LOVEJOY, GEORGIA                     ADDRESS ON FILE
LOVEJOY, RONALD                      ADDRESS ON FILE
LOVEL, ROBERT                        ADDRESS ON FILE
LOVELACE, MADELEINE                  ADDRESS ON FILE
LOVELACE, MICHAEL                    ADDRESS ON FILE
LOVELACE, NICHOLAS                   ADDRESS ON FILE
LOVELACE, NICHOLAS                   ADDRESS ON FILE
LOVELACE, TERRANCE                   ADDRESS ON FILE
LOVELAND, SHAWN                      ADDRESS ON FILE
LOVELLS TRAILER REPAIR               170 W. 18TH ST. WATERLOO IA 50702
LOVERIDGE, CRAIG                     ADDRESS ON FILE
LOVERO, ROXANNE                      ADDRESS ON FILE
LOVES PAVING                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1153 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1162 of 2156

Claim Name                              Address Information
LOVES TRAVEL STOPS                     PO BOX 26210 OKLAHOMA CITY OK 73126
LOVES TRAVEL STOPS & COUNTRY STORES INC 10601 N PENNSYLVANIA OKLAHOMA CITY OK 73120
LOVES TRAVEL STOPS & COUNTRY STORES INC LOVES TIRE CARE 339, 1901 I-20 ODESSA TX 79766
LOVES TRUCK STOPS                      PO BOX 26210 ATTN RISK MGT OKLAHOMA CITY OK 73126
LOVETT INC                             6920 NE 42ND AVE PORTLAND OR 97218
LOVETT TRUCKING                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LOVETT, DONAVAN                        ADDRESS ON FILE
LOVETT, GLENN                          ADDRESS ON FILE
LOVETT, JOE D                          ADDRESS ON FILE
LOVETTE, DARREN                        ADDRESS ON FILE
LOVEYS TOWING AND RECOVERY             632 LAKE ST SHREWSBURY MA 01545
LOVIE FULSE                            ADDRESS ON FILE
LOVISTA TRANSPORT & LOGISTICS LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOVO SYSTEMS, INC                      5480 SWANTON DR LEXINGTON KY 40509
LOVRIC, MARKO                          ADDRESS ON FILE
LOVSTAD, KENNETH                       ADDRESS ON FILE
LOW BOBS DISCOUNT TOBACCO              126 N 6TH STREET RICHMOND IN 47374-3019
LOWBROW CUSTOMS                        2873 INTERSTATE PKWY. BRUNSWICK OH 44212
LOWDEN, DONALD                         ADDRESS ON FILE
LOWDON, LYNSEY                         ADDRESS ON FILE
LOWE & MOYER GARAGE INC.               731 CHURCH ST., P.O. BOX 266 FOGELSVILLE PA 18051
LOWE, ALEXANDER                        ADDRESS ON FILE
LOWE, ANTHONY J                        ADDRESS ON FILE
LOWE, CHERYL                           ADDRESS ON FILE
LOWE, CHRISTOPHER                      ADDRESS ON FILE
LOWE, DAVID                            ADDRESS ON FILE
LOWE, DENTIN                           ADDRESS ON FILE
LOWE, DONALD                           ADDRESS ON FILE
LOWE, DOUGLAS                          ADDRESS ON FILE
LOWE, GLENN                            ADDRESS ON FILE
LOWE, GRAYLINE                         ADDRESS ON FILE
LOWE, HEATH                            ADDRESS ON FILE
LOWE, JACK                             ADDRESS ON FILE
LOWE, JOSHUA                           ADDRESS ON FILE
LOWE, LANELL                           ADDRESS ON FILE
LOWE, MARION                           ADDRESS ON FILE
LOWE, MATTHEW                          ADDRESS ON FILE
LOWE, MELVIN                           ADDRESS ON FILE
LOWE, RONALD                           ADDRESS ON FILE
LOWE, ROY                              ADDRESS ON FILE
LOWE, SANDRA                           ADDRESS ON FILE
LOWE, SCOTT                            ADDRESS ON FILE
LOWE, TARA                             ADDRESS ON FILE
LOWE, WILEY                            ADDRESS ON FILE
LOWE, WILFRED                          ADDRESS ON FILE
LOWE, YVONNE                           ADDRESS ON FILE
LOWELL CAMPBELL                        ADDRESS ON FILE
LOWELL FLEET MAINTENANCE, LLC          26 TANNER ST LOWELL MA 01852
LOWELL FLEET MAINTENANCE, LLC          PO BOX 9010 LOWELL MA 01853



Epiq Corporate Restructuring, LLC                                                              Page 1154 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1163 of 2156

Claim Name                           Address Information
LOWER CAPE CANVAS & SAIL             65 WHITES PATH S YARMOUTH MA 02664
LOWER MAINLAND FIRE & SAFETY LTD.    14926 76A AVE SURREY BC V3S 1S3 CANADA
LOWERY LOGISTICS LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
LOWERY, BILL                         ADDRESS ON FILE
LOWERY, CURTIS                       ADDRESS ON FILE
LOWERY, JEFFERY                      ADDRESS ON FILE
LOWERY, JOSEPH                       ADDRESS ON FILE
LOWERY, KRISTI                       ADDRESS ON FILE
LOWERY, PEGGY                        ADDRESS ON FILE
LOWERY, SHAWN                        ADDRESS ON FILE
LOWERY, STEVEN                       ADDRESS ON FILE
LOWERY, WILLIAM                      ADDRESS ON FILE
LOWERY, WILLIAM                      ADDRESS ON FILE
LOWERYS TRANSPORTATION LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LOWES                                1651 NE PINE ISLAND RD CAPE CORAL FL 33909
LOWES HOME CENTERS, LLC              PO BOX 530954 ATLANTA GA 30353
LOWHORN, BRIANNA                     ADDRESS ON FILE
LOWMOVERS LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LOWNDES COUNTY TAX OFFICE            300 N PATTERSON ST, PO BOX 1409 VALDOSTA GA 31603
LOWNEY, PETER                        ADDRESS ON FILE
LOWRANCE, BRIAN                      ADDRESS ON FILE
LOWRANCE, HERBERT D                  ADDRESS ON FILE
LOWREY, PATRICK                      ADDRESS ON FILE
LOWRY, CASEY                         ADDRESS ON FILE
LOWRY, CHARLES F                     ADDRESS ON FILE
LOWRY, MICHAEL                       ADDRESS ON FILE
LOWTHARP, GORDON                     ADDRESS ON FILE
LOWTHER, JOHN                        ADDRESS ON FILE
LOWTHER, JOHNNIE                     ADDRESS ON FILE
LOX TRUCKING LLC                     OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
LOY, STEVEN                          ADDRESS ON FILE
LOYA TRUCKING LLC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
LOYA, JESSE                          ADDRESS ON FILE
LOYA, MANUEL                         ADDRESS ON FILE
LOYAL EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LOYAL ROOTS TRANSPORT LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LOYAL SERVICES TRANSPORTATION LLC    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOYAL TRUCKING                       OR AFFINITAS LLC, PO BOX 823473 PHILADELPHIA PA 19182-3473
LOYAL TRUCKING LLC (MC1216021)       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LOYAL, OMAR L                        ADDRESS ON FILE
LOYALTY 1ST LOGISTICS LLC            OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LOYALTY 5 TRANSPORT                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOYALTY COURIER SERVICES LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LOYALTY ENTERPRISE INDUSTRIES CORP   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LOYALTY EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOYALTY TRANSPORT CORP               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LOYALTY TRANSPORT CORP               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LOYALTY TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LOYD, GREGORY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1155 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1164 of 2156

Claim Name                           Address Information
LOYOLA, ANGEL                        ADDRESS ON FILE
LOZA TRUCKING INC                    OR TRUCKSTOP FACTORING, P O BOX 7410411 CHICAGO IL 60674
LOZA, JOSE                           ADDRESS ON FILE
LOZADA, ANGEL                        ADDRESS ON FILE
LOZADA, RICARDO                      ADDRESS ON FILE
LOZANO & SON TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LOZANO DE LA PAZ, EFRAIN             ADDRESS ON FILE
LOZANO ROMO, JORGE                   ADDRESS ON FILE
LOZANO, ANDRES                       ADDRESS ON FILE
LOZANO, DANNY                        ADDRESS ON FILE
LOZANO, FRED                         ADDRESS ON FILE
LOZANO, HUGO                         ADDRESS ON FILE
LOZANO, KEITH                        ADDRESS ON FILE
LOZANO, RAFAEL ANTONIO               ADDRESS ON FILE
LOZANO, ROGELIO                      ADDRESS ON FILE
LOZANO, VICTOR                       ADDRESS ON FILE
LOZAR INC                            5105 TOLLVIEW DRIVE SUITE 295 ROLLING MEADOWS IL 60008
LOZON, ANTHONY                       ADDRESS ON FILE
LOZON, NICHOLE                       ADDRESS ON FILE
LOZOYA, ANGEL                        ADDRESS ON FILE
LOZOYA, RYAN                         ADDRESS ON FILE
LOZZI, FRED                          ADDRESS ON FILE
LP TRUCKING INC                      2102 WOODCREEK CROSSING BLVD AVON IN 46123
LPH                                  2975 FAIRFAX AVE SAN JOSE CA 95148
LPJ INCORPORATE                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LPL FIN CORP (0075)                  ATT CORPORATE ACTIONS 1055 LPL WAY FORT MILL SC 29715
LPS MATERIAL HANDLING                PO BOX 1341 VAN BUREN AR 72957
LPS OFFICE INTERIOR                  75 BROAD HOLLOW ROAD FARMINGDALE NY 11735
LPZ CARGO LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LPZ EXPRESS LLC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LPZ TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LQS TRANSPORT LLC                    OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
LR CARRIERS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LRB TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LRH SOLUTIONS                        ATTN: RON LUCARELLI CDS 171 WEST WING STREET SUITE 204A ARLINGTON HEIGHTS IL
                                     60005
LRH SOLUTIONS C/O CDS                171 WEST WING ST 204A ARLINGTON HEIGHTS IL 60005
LRL ENTERPRISE LOGISTICS LLC         OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
LRL TRANSPORTATION LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LRP JANITORIAL SERVICE               149 LOTTVILLE ROAD CANTON MS 39046
LRP JANITORIAL SERVICE               C\O LRP JANITORIAL AND LAWN SERVICES PO BOX 1024 CANTON MS 39046
LS & R TRANSPORTATION LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LS BUILDING PRODUCTS                 211 SOUTH STALEY ROAD CHAMPAIGN IL 61822
LS GHOTRA TRUCKING CORP              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LS LOGISTICS INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LS TRANSPORT LLC                     26056 PRADO CT INKSTER MI 48141-1913
LSC COMM US TOPS PRODUCTS            850 W PARK ROAD UNION MO 63084
LSC COMMUNICATIONS                   ATTN: PHIL ALTES 1000 WINDHAM PKWY BOLINGBROOK IL 60490
LSC COMMUNICATIONS LOGISTICS         ATTN: PHIL ALTES 1000 WINDHAM PKWY BOLINGBROOK IL 60490



Epiq Corporate Restructuring, LLC                                                               Page 1156 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1165 of 2156

Claim Name                           Address Information
LSC COMMUNICATIONS MCL LLC           1000 WINDHAM PARKWAY BOLINGBROOK IL 60490
LSE FREIGHT LLC                      PO BOX 23782 OVERLAND PARK KS 66283
LSJ TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LSKY TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LSL HEALTHCARE INC.                  6200 W. HOWARD STREET NILES IL 60714
LSL INDUSTRIES INC                   6200 W HOWARD ST NILES IL 60714
LSL LOGISTICS LLC                    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
LSM TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LSMA INC                             4097 ABA LANE NORTH PORT FL 34287
LSR ONE LOGISTICS LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LSR REFRIGERATED INC                 PO BOX 537 GARDEN CITY UT 84028
LST EXPRESS INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
LT DELIVERY, INC.                    7163 SW KAREN RD TRIMBLE MO 64492
LT TRANSPORT LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LT TRUCKING COMPANY                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
LT UNITED EXPRESS INC                2640 MITCHELL DR APT 1 WOODRIDGE IL 60517
LTA MANUFACTURING                    801 E NORTH ST OTTAWA KS 66067
LTA SANT CORP.,                      530 CHASE DR APT 13 CLARENDON HILLS IL 60514
LTA TRANSPORT                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LTC LOGISTICS LLC                    7313 W US HIGHWAY 90 LAKE CITY FL 32055
LTC PROFESSIONALS INC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LTE TRANS INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LTE TRUCKING INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LTF HANDYMAN SERVICES LLC            250 PEHLE AVE STE 200 SADDLE BROOK NJ 07663
LTL LOGISTICS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LTL LUX TRUCK LINE                   OR AMERICAS FACTORS INC 10430-28 PIONEER BLVD SANTA FE SPRINGS CA 90670
LTL SERVICE, INC.                    330 E MAHN COURT STE 200 OAK CREEK WI 53154
LTR LOGISTICS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LTS ENTERPRISES                      7362 EASTMAN ROAD NORTH SYRACUSE NY 13212
LTT TRUCKING LLC                     119 SHADY SHORES DR MABANK TX 75156
LTU LOGISTICS                        OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
LTX LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LTX TEXAS TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LTYH AMERICAN TRANSPORT LLC          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LU LEGENDARY TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LU, REDENTOR                         ADDRESS ON FILE
LUAK, PUOT                           ADDRESS ON FILE
LUAMANUVAE, NIUVAAI                  ADDRESS ON FILE
LUBANA TRUCKLINE INC                 OR REV CAPITAL - HEAD OFFICE 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3
                                     CANADA
LUBBOCK CENTRAL APPRAISAL DISTRICT   C/O LAURA J MONROE PO BOX 817 LUBBOCK TX 79408
LUBBOCK CENTRAL APPRAISAL DISTRICT   1715 26TH ST P O BOX 10568 LUBBOCK TX 79408
LUBE-TECH & PARTNERS, LLC            28873 NETWORK PLACE CHICAGO IL 60673-1288
LUBECON USA LLC                      SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
LUBENOW EXPRESS, LLC                 PO BOX 28207 GREEN BAY WI 54324-0207
LUBER, JASON                         ADDRESS ON FILE
LUCAS COUNTY TREASURER               ONE GOVERNMENT CTR 500 TOLEDO OH 43604
LUCAS LIFTRUCK SERVICES LTD          402 ALLANBURG RD THOROLD ON L2V 1A4 CANADA
LUCAS OIL PRODUCTS, INC.             3199 HARRISON WAY CORYDON IN 47112



Epiq Corporate Restructuring, LLC                                                               Page 1157 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 1166 of 2156

Claim Name                         Address Information
LUCAS TRUCK SALES                  205 STATE STREET ZANESVILLE OH 43701
LUCAS, AARON                       ADDRESS ON FILE
LUCAS, ANTHONY                     ADDRESS ON FILE
LUCAS, BRIAN                       ADDRESS ON FILE
LUCAS, CASSIE                      ADDRESS ON FILE
LUCAS, CHARLES                     ADDRESS ON FILE
LUCAS, DAVID                       ADDRESS ON FILE
LUCAS, DONOVAN                     ADDRESS ON FILE
LUCAS, EDWARD                      ADDRESS ON FILE
LUCAS, EMERSON H                   ADDRESS ON FILE
LUCAS, ERIK                        ADDRESS ON FILE
LUCAS, GENERAL                     ADDRESS ON FILE
LUCAS, HAZEEZ                      ADDRESS ON FILE
LUCAS, JEFFREY                     ADDRESS ON FILE
LUCAS, KERRY                       ADDRESS ON FILE
LUCAS, MAULANA                     ADDRESS ON FILE
LUCAS, MICHAEL                     ADDRESS ON FILE
LUCAS, MICHAEL                     ADDRESS ON FILE
LUCAS, MICHAEL                     ADDRESS ON FILE
LUCAS, NATHADIS                    ADDRESS ON FILE
LUCAS, PERVIS                      ADDRESS ON FILE
LUCAS, RAMON                       ADDRESS ON FILE
LUCAS, RICHARD E                   ADDRESS ON FILE
LUCAS, RODNEY                      ADDRESS ON FILE
LUCAS, SHELBY                      ADDRESS ON FILE
LUCAS, STEPHEN                     ADDRESS ON FILE
LUCAS, THEODORE                    ADDRESS ON FILE
LUCAS, TIMOTHY                     ADDRESS ON FILE
LUCAS, TYRONE                      ADDRESS ON FILE
LUCAS, WILLIE                      ADDRESS ON FILE
LUCAYA LAKE CLUB                   C/O INFRAMARK 2654 CYPRESS RIDGE BLVD STE101 WESLEY CHAPEL FL 33544-6322
LUCE II, JAMES                     ADDRESS ON FILE
LUCE, JOHN                         ADDRESS ON FILE
LUCE, JOHN                         ADDRESS ON FILE
LUCERO, ANTHONY                    ADDRESS ON FILE
LUCERO, ERNEST                     ADDRESS ON FILE
LUCERO, FRANK                      ADDRESS ON FILE
LUCERO, ISAAC                      ADDRESS ON FILE
LUCERO, JOIE                       ADDRESS ON FILE
LUCERO, VALENTIN D                 ADDRESS ON FILE
LUCHT, PETER                       ADDRESS ON FILE
LUCIANO, ANA                       ADDRESS ON FILE
LUCIANO, JULIA                     ADDRESS ON FILE
LUCIDWORKS, INC                    DEPT LA 25179 PASADENA CA 91185
LUCIDWORKS, INC                    235 MONTGOMERY STREET SUITE 500 SAN FRANCISCO CA 94104
LUCINDA A LAMB                     ADDRESS ON FILE
LUCIOUS WAY TRANSPORTATION LLC     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LUCK, DONAVYN                      ADDRESS ON FILE
LUCKENBACH, MARTIN                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1158 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1167 of 2156

Claim Name                               Address Information
LUCKETT, AMY                             ADDRESS ON FILE
LUCKETT, ANDY                            ADDRESS ON FILE
LUCKETT, BRODERICK                       ADDRESS ON FILE
LUCKETT, DOMINIQUE                       ADDRESS ON FILE
LUCKETT, JAMES H                         ADDRESS ON FILE
LUCKETT, LARRY                           ADDRESS ON FILE
LUCKETT, MARCEL B                        ADDRESS ON FILE
LUCKETT, MELVIN                          ADDRESS ON FILE
LUCKETT, ROLAND                          ADDRESS ON FILE
LUCKETT, THOMAS                          ADDRESS ON FILE
LUCKIE EXPRESS LLC                       OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LUCKIE XPRESS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LUCKY 2 TRANSPORTATION LLC               OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
LUCKY 247 LLC                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LUCKY 7 TAVAREZ TRUCKING COMPANY         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
LUCKY 7 TRANSPORTATION INC               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
LUCKY 7 TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LUCKY BEAR TRANSPORT INC                 232 W LE ROY AVE ARCADIA CA 91007
LUCKY CHARM LOGISTICS INCORPORATED       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LUCKY EXPRESS GROUP INC                  OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
LUCKY EXPRESS TRANSPORTATION CORP        OR J D FACTORS, PO BOX 687 WHEATON IL 60187
LUCKY HAULERS INC.                       OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
LUCKY ROAD INC                           6322 W IRVING PARK RD UNIT 3 CHICAGO IL 60634
LUCKY STAR TRUCKING                      603 SUTHERLAND DR STOCKTON CA 95210-4470
LUCKY STARR LOGISTICS LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LUCKY STARS TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LUCKY STONE EXPRESS INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LUCKY STONE EXPRESS INC                  5988 EL PRADO AVE EASTVALE CA 92880
LUCKY THREE TRANS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LUCKY TRANSPORT LLC                      PO BOX 316 CARTERET NJ 07008
LUCKY TRANSPORT LLC (ST LOUIS MO)        5953 SOUTHCREST WAY SAINT LOUIS MO 63129
LUCKY TRANSPORTATION INC (WEBSTER, NY)   1083 MT READ BLVD ROCHESTER NY 14606
LUCKY TRANSPORTATION LLC                 7728 W 158TH CT ORLAND PARK IL 60462
LUCKY WAY LOGISTICS INC                  OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
LUCKY WEST COAST EXPRESS INC             5201 WB GOODMAN LANE FAIRFIELD CA 94533
LUCKY WHEELS LLC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
LUCKY WORLD INC                          4450 137TH PLACE CRESTWOOD IL 60418
LUCKY WORLD INC                          OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
LUCKY7 TRANSPORTATION                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LUCKYCHLOGISTICS LLC                     5900 BALCONES DR STE 8089 AUSTIN TX 78731
LUCKYDOWG LOGISTICS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
LUCKYJM TRANSPORT INC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
LUCKYS OF VERMONT                        402 VT ROUTE 107 SOUTH ROYALTON VT 05068
LUCKYS ON TIME FREIGHT                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LUCRATIVE TRANSPORTATION & LOGISTICS     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LLC
LUCRATIVE TRUCKING SERVICE INC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LUCRATIVE VENTURES LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LUCZYNSKI, ADAM                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1159 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1168 of 2156

Claim Name                           Address Information
LUDA EXPRESS                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LUDA INC                             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LUDA INC                             165 PATRICK AVE WILLOW SPGS IL 60480
LUDDEN, SETH                         ADDRESS ON FILE
LUDEN TRANSPORT                      4910 KENTWALK DRIVE HOUSTON TX 77041
LUDEN, MICHAEL                       ADDRESS ON FILE
LUDESCHER, GERALD                    ADDRESS ON FILE
LUDESCHER, JEREMY                    ADDRESS ON FILE
LUDINGTON, ROBERT                    ADDRESS ON FILE
LUDINGTON, RYAN                      ADDRESS ON FILE
LUDOLPH, THOMAS A                    ADDRESS ON FILE
LUDOVICO, FAUSTOS ODEN               ADDRESS ON FILE
LUDTKE-PACIFIC TRUCKING, INC.        4059 BAKERVIEW VALLEY RD BELLINGHAM WA 98226
LUDWIG, HOPE                         ADDRESS ON FILE
LUDWIN A FLORES                      ADDRESS ON FILE
LUEDTKE, PERRY                       ADDRESS ON FILE
LUEL SOLUTIONS                       ATTN: BARB SMITH 6340B CLINTON HWY KNOXVILLE TN 37912
LUELEY TRUCKING LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LUELLEN, MONTY                       ADDRESS ON FILE
LUERA, ELISHA                        ADDRESS ON FILE
LUETA LOGISTICS LLC                  OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
LUEVANO, VERONICA                    ADDRESS ON FILE
LUFF INDUSTRIES                      ATTN: MANDY WILD 235010 WRANGLER RD ROCKY VIEW AB T1X 0K3 CANADA
LUGAN, JESS                          ADDRESS ON FILE
LUGARI WRECKER SERVICE               510 W SOUTH SIDE DRIVE DECATUR IL 62521
LUGG, ERIC                           ADDRESS ON FILE
LUGO CARRIERS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LUGO TRANSPORTATION LP               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LUGO, EDWIN                          ADDRESS ON FILE
LUGO, ELI                            ADDRESS ON FILE
LUGO, FERNANDO                       ADDRESS ON FILE
LUHM, STEVEN                         ADDRESS ON FILE
LUHUMU FORKLIFT II ENGINE LLC        7555 NW 82 PLACE, P.O. BOX 668433 MIAMI FL 33166
LUHUMU FORKLIFT II ENGINE LLC        PO BOX 668433 MIAMI FL 33166
LUIKEN, NOAH                         ADDRESS ON FILE
LUIS A CERRITOS                      ADDRESS ON FILE
LUIS A COLON                         ADDRESS ON FILE
LUIS A JUNCO                         ADDRESS ON FILE
LUIS A PIMENTEL                      ADDRESS ON FILE
LUIS D VELAZQUEZ                     ADDRESS ON FILE
LUIS E JUAREZ                        ADDRESS ON FILE
LUIS E PUENTE SALAS                  ADDRESS ON FILE
LUIS FERNANDO GARCIA                 ADDRESS ON FILE
LUIS FERNANDO GARCIA                 ADDRESS ON FILE
LUIS G ROSETE TRANSPORT              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LUIS G ZAVALA                        ADDRESS ON FILE
LUIS J CONCEPCION                    ADDRESS ON FILE
LUIS M LEYVA                         ADDRESS ON FILE
LUIS MIGUEL BARRERA SARPEC           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1160 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1169 of 2156

Claim Name                           Address Information
LUIS R MARTINEZ                      ADDRESS ON FILE
LUIS R VELEZ                         ADDRESS ON FILE
LUIS ROJAS CABRERA                   ADDRESS ON FILE
LUIS, ARTURO                         ADDRESS ON FILE
LUIS, DANIEL                         ADDRESS ON FILE
LUISA V PELE                         ADDRESS ON FILE
LUJAN TRUCKING                       OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
LUJAN, ANDY                          ADDRESS ON FILE
LUJAN, DAVID                         ADDRESS ON FILE
LUJAN, JOSHUA                        ADDRESS ON FILE
LUJAN, MARISELA                      ADDRESS ON FILE
LUJAN, MICHAEL                       ADDRESS ON FILE
LUKA TRANSPORT                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
LUKA TRANSPORTATION INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
LUKACHIK, DMYTRO                     ADDRESS ON FILE
LUKAH LOGISTICS CORP                 OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
LUKAS CARGO SYSTEMS LLC              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
LUKAS, JACK                          ADDRESS ON FILE
LUKAS, LACY                          ADDRESS ON FILE
LUKBEYOND LLC                        553 BURRITT ST NEW BRITAIN CT 06053-2823
LUKE A BYERS                         ADDRESS ON FILE
LUKE EXPRESS INC                     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
LUKE OIL CO INC                      3592 N HOBART RD HOBART IN 46342
LUKE, BRANDON                        ADDRESS ON FILE
LUKE, LAURENCE                       ADDRESS ON FILE
LUKENS SEPTIC SERVICE INC            C\O WILLIAM THARP, 2412 HILL ROAD SELLERSVILLE PA 18960
LUKENS, ROBERT                       ADDRESS ON FILE
LUKENS, ROBERT                       ADDRESS ON FILE
LUKES, MARK                          ADDRESS ON FILE
LUKMAN, UTOSO                        ADDRESS ON FILE
LUL TRUCKING LLC                     OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
LULA EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LULA LOGISTICS INC                   OR RIVIERA FINANCE OF CA, PO BOX 848062 LOS ANGELES CA 90084-8062
LULENDO, MABENDO J                   ADDRESS ON FILE
LULU FREIGHT LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
LUMEN CONCEPTS INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
LUMEN TECHNOLOGIES                   C/O JNR ADJUSTMENT CO., INC. PO BOX 27070 MINNEAPOLIS MN 55427
LUMIFI CYBER INC                     ATTN: ACCOUNTS RECEIVABLE 1475 N SCOTTSDALE RD STE 410 SCOTTSDALE AZ 85257
LUMINOR ENVIRONMENTAL INC            ATTN: MIKE ISLEY 80 SOUTHGATE DR UNIT 4 GUELPH ON N1G 4P5 CANADA
LUMIPRO INC.                         640 AVENUE LEPINE DORVAL QC H9P 1G2 CANADA
LUMLEY, CHRISTOPHER                  ADDRESS ON FILE
LUMLEY, THOMAS                       ADDRESS ON FILE
LUMPKIN, ROBERT                      ADDRESS ON FILE
LUMPKIN, WILLIE                      ADDRESS ON FILE
LUMPKINS, HARRISON                   ADDRESS ON FILE
LUMSDEN, JAMES                       ADDRESS ON FILE
LUMSDEN, ZAKIYAH                     ADDRESS ON FILE
LUNA AYALA, EDUARDO                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1161 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1170 of 2156

Claim Name                           Address Information
LUNA BOJORQUEZ, JUAN                 ADDRESS ON FILE
LUNA DE LA ROSA, ARNOLDO             ADDRESS ON FILE
LUNA JR, FRANK                       ADDRESS ON FILE
LUNA TRAILER REPAIR                  PO BOX 39273 DOWNEY CA 90239
LUNA TRUCKING (SOCORRO TX)           OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
LUNA, ANTONIO                        ADDRESS ON FILE
LUNA, ANTONIO                        ADDRESS ON FILE
LUNA, CARLOS                         ADDRESS ON FILE
LUNA, CARLOS                         ADDRESS ON FILE
LUNA, DANIEL                         ADDRESS ON FILE
LUNA, EDGAR                          ADDRESS ON FILE
LUNA, EFRAIN                         ADDRESS ON FILE
LUNA, ENRIQUE                        ADDRESS ON FILE
LUNA, HERIK                          ADDRESS ON FILE
LUNA, JOAQUIN                        ADDRESS ON FILE
LUNA, JOHN                           ADDRESS ON FILE
LUNA, JONATHAN                       ADDRESS ON FILE
LUNA, JOSE MIGUEL VICENTE            ADDRESS ON FILE
LUNA, JUAN                           ADDRESS ON FILE
LUNA, MANUEL                         ADDRESS ON FILE
LUNA, NICOLAS                        ADDRESS ON FILE
LUNA, OSCAR                          ADDRESS ON FILE
LUNA, RAMON                          ADDRESS ON FILE
LUNA, RUBEN                          ADDRESS ON FILE
LUNA, SEMIR                          ADDRESS ON FILE
LUNA, SERGIO                         ADDRESS ON FILE
LUNA, YANETTE                        ADDRESS ON FILE
LUNAS TRUCKING                       OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DRIVE 1 ST GEORGE UT 84790
LUNAS TRUCKING INC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
LUNAU, BRADLEY                       ADDRESS ON FILE
LUNCEFORD, PAUL                      ADDRESS ON FILE
LUND, JACLYN M                       ADDRESS ON FILE
LUND, STORM                          ADDRESS ON FILE
LUNDAY, BRYAN                        ADDRESS ON FILE
LUNDBERG, DILLON                     ADDRESS ON FILE
LUNDBERG, MARISA                     ADDRESS ON FILE
LUNDBLADE, WALTER                    ADDRESS ON FILE
LUNDEEN, JEFFREY                     ADDRESS ON FILE
LUNDGREN, DANIEL                     ADDRESS ON FILE
LUNDIE, EDGAR                        ADDRESS ON FILE
LUNDQUIST, ALEXANDRA                 ADDRESS ON FILE
LUNDY, JOSEPH                        ADDRESS ON FILE
LUNDYZ TRANSPORT LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LUNGHI, MARCO                        ADDRESS ON FILE
LUNGHI, MARCO                        ADDRESS ON FILE
LUNHAAS LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LUNN, RYAN                           ADDRESS ON FILE
LUNN, SEAN                           ADDRESS ON FILE
LUNORT LOGISTICS CORPORATION         OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996



Epiq Corporate Restructuring, LLC                                                             Page 1162 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1171 of 2156

Claim Name                            Address Information
LUNSFORD, PATRICK                     ADDRESS ON FILE
LUNSFORD, QUNITIN                     ADDRESS ON FILE
LUNSFORD, RANDY                       ADDRESS ON FILE
LUONG, STACY                          ADDRESS ON FILE
LUPE, ARNOLD                          ADDRESS ON FILE
LUPER, COLETON                        ADDRESS ON FILE
LUPESCU, CHRISTIAN                    ADDRESS ON FILE
LUPIA PAT C                           MUHLENBERG TWP TAX COLLECTOR 210 GEORGE STREET READING PA 19605
LUPILLO TRANSPORTATION SERVICES INC   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LUPO, ADAM                            ADDRESS ON FILE
LUPUS 7 INC                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
LUPUS EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LUPUS SUPERIOR LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LUQUE, ALEXEI                         ADDRESS ON FILE
LUQUIS, SAMUEL                        ADDRESS ON FILE
LURMAX EXPRESS INC                    OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
LURRY SR, KENNETH                     ADDRESS ON FILE
LUSANIA, JESSICA                      ADDRESS ON FILE
LUSBY, BRENT                          ADDRESS ON FILE
LUSH, CHRISTOPHER                     ADDRESS ON FILE
LUSITANO TRANSPORTATION LLC           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
LUSK, DAVID                           ADDRESS ON FILE
LUSK, GERALD                          ADDRESS ON FILE
LUSK, JEFF                            ADDRESS ON FILE
LUSK, JERRY                           ADDRESS ON FILE
LUSK, JOHN                            ADDRESS ON FILE
LUSS, JEFFREY                         ADDRESS ON FILE
LUTFI, OMAR                           ADDRESS ON FILE
LUTH, MICHAEL                         ADDRESS ON FILE
LUTH, ROBERT                          ADDRESS ON FILE
LUTHENS, CHAD                         ADDRESS ON FILE
LUTHER LOGISTIC TRANSPORTATION LLC    50 64TH AVE COOPERSVILLE MI 49404
LUTHER, ALEXANDER                     ADDRESS ON FILE
LUTHER, ALFRED                        ADDRESS ON FILE
LUTHER, ELENA                         ADDRESS ON FILE
LUTHER, JOSEPH                        ADDRESS ON FILE
LUTHRA, AMIT                          ADDRESS ON FILE
LUTINSKI, JOHN                        ADDRESS ON FILE
LUTSK EXPRESS LLC                     4226 KIOWA RD RICHFIELD OH 44286
LUTTRELL, ROBERT                      ADDRESS ON FILE
LUTTRULL, SHAUN                       ADDRESS ON FILE
LUTU, SIAOSI                          ADDRESS ON FILE
LUTZ AIR CONDITIONING INC             66 TAYLOR DR RUMFORD RI 02916
LUTZ, ALLYSON                         ADDRESS ON FILE
LUTZ, DAVID                           ADDRESS ON FILE
LUTZ, KENNETH                         ADDRESS ON FILE
LUTZ, MICAH                           ADDRESS ON FILE
LUTZ, PETER                           ADDRESS ON FILE
LUTZ, TODD                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1163 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1172 of 2156

Claim Name                           Address Information
LUU, TONY                            ADDRESS ON FILE
LUVERT, EUGENE                       ADDRESS ON FILE
LUX DELIVERY LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LUX EXPRESS LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LUX TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
LUX TRANSPORTING LLC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
LUXE LOGISTICS LLC                   OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
LUXMI TRUCKING LLC                   101 CAMPUS LN GREENWOOD IN 46143-1410
LUXMORE, LEONARD                     ADDRESS ON FILE
LUXO GROUP INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
LUXOR DRIVE INC                      1812 GROVE AVE SCHAUMBURG IL 60193
LUXURY GOURMET SWEETS                ATTN: OFIRA DAYAN 80 58TH ST BROOKLYN NY 11220
LUXURY LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LUYENDYK, PAUL                       ADDRESS ON FILE
LUYKEN, FRANK                        ADDRESS ON FILE
LUZBETAK, JEFFREY                    ADDRESS ON FILE
LUZNEY, SHARI                        ADDRESS ON FILE
LUZS MEXICAN FOOD                    2715 3RD AVE NW GREAT FALLS MT 59404
LV COMPANY, INC.                     RT 329 PO BOX 7 NORTHAMPTON PA 18067
LV EXPRESS LLC (HENDERSON, NV)       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
LV TRANSPORT                         4650 PEPPERWOOD AVE LONG BEACH CA 90808
LV XPRESS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LVA TRANSPORT LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
LVD TRANSPORT LLC                    5333 TOPAZ ST, 5333 LAS VEGAS NV 89120
LVG TRANSPORT LLC                    15057 N 900 E ODON IN 47562-5256
LVH TRUCKING LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
LVL TRANSPORT LLC                    OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
LVM EXPRESS COMPANY                  4136 C ALDER LN AURORA IL 60504-8155
LVOV TRUCKING INCORPORATED           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
LVT TRANS INC                        12363 S BLUE WATER PARKWAY PLAINFIELD IL 60585
LVVWD                                1001 S VALLEY VIEW BLVD, LASVEGAS NV 89153
LW TRUCKING, INC                     6322 CARNABY COURT RANCHO CUCAMONGA CA 91739
LXT CARRIER LLC                      1757 BAYLAND ST ROUND ROCK TX 78664
LY LOGISTICS INC                     6828 SWEET CLOVER CT CORONA CA 92880
LYA AUTO TRANSPORT                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LYA SERVICES INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LYA SERVICES INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
LYBECK, GENEVA                       ADDRESS ON FILE
LYELL, RONALD                        ADDRESS ON FILE
LYEWSKI, MICHAEL                     ADDRESS ON FILE
LYG TRANSPORT INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LYH TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
LYKE FURNITURE GROUP LLC             3612 DECATUR ST PHILADELPHIA PA 19136
LYKES CARTAGE COMPANY                PO BOX 310 ROUND ROCK TX 78680
LYKINS, CHRISTIAN                    ADDRESS ON FILE
LYKOWSKI, MICHAEL                    ADDRESS ON FILE
LYLE POST                            ADDRESS ON FILE
LYLE V MILLS                         ADDRESS ON FILE
LYLE, CHRISTOPHER                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1164 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1173 of 2156

Claim Name                          Address Information
LYLE, ED                            ADDRESS ON FILE
LYLE, PARRIS                        ADDRESS ON FILE
LYLE, PATRIC                        ADDRESS ON FILE
LYLE, ROBERT                        ADDRESS ON FILE
LYLES LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LYLES SERVICES LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
LYLES, ANTHONY                      ADDRESS ON FILE
LYLES, AVANGELA                     ADDRESS ON FILE
LYLES, DONALD                       ADDRESS ON FILE
LYLES, EUGENE                       ADDRESS ON FILE
LYLES, JAMES                        ADDRESS ON FILE
LYLES, JUSTIN                       ADDRESS ON FILE
LYLES, MARTIN                       ADDRESS ON FILE
LYLES, RON                          ADDRESS ON FILE
LYM EXPRESS INC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
LYMAN, BRETT                        ADDRESS ON FILE
LYMAN, CHAD                         ADDRESS ON FILE
LYMAN, CHARLES                      ADDRESS ON FILE
LYMAN, CHRISTOPHER                  ADDRESS ON FILE
LYMAN, DAVID                        ADDRESS ON FILE
LYMAN, JOSHUA                       ADDRESS ON FILE
LYMAN, RICKY                        ADDRESS ON FILE
LYN TRUCK LINES                     PO BOX 2897 SAN GABRIEL CA 91778
LYNCH LOGISTICS, INC.               78 RICE STREET BANGOR ME 04401
LYNCH OIL COMPANY INC (FLORIDA)     PO BOX 450669 KISSIMMEE FL 34745
LYNCH OIL, INC (IDAHO)              PO BOX 790 BURLEY ID 83318
LYNCH, ALSTON                       ADDRESS ON FILE
LYNCH, BAHIN                        ADDRESS ON FILE
LYNCH, DARREN                       ADDRESS ON FILE
LYNCH, JACOB                        ADDRESS ON FILE
LYNCH, JAMES                        ADDRESS ON FILE
LYNCH, JASON                        ADDRESS ON FILE
LYNCH, JIMMY                        ADDRESS ON FILE
LYNCH, JOSHUA                       ADDRESS ON FILE
LYNCH, KAREEM                       ADDRESS ON FILE
LYNCH, KENNETH                      ADDRESS ON FILE
LYNCH, KIERAN                       ADDRESS ON FILE
LYNCH, KRISTINE                     ADDRESS ON FILE
LYNCH, LAWSON                       ADDRESS ON FILE
LYNCH, MARK                         ADDRESS ON FILE
LYNCH, MICHAEL                      ADDRESS ON FILE
LYNCH, PETER                        ADDRESS ON FILE
LYNCH, PHIL                         ADDRESS ON FILE
LYNCH, ROBERT                       ADDRESS ON FILE
LYNCH, SEAN                         ADDRESS ON FILE
LYNCH, SEAN                         ADDRESS ON FILE
LYNCH, TABITHA                      ADDRESS ON FILE
LYNCH, THOMAS                       ADDRESS ON FILE
LYNCH, THOMAS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1165 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1174 of 2156

Claim Name                           Address Information
LYNCH, TRAVIS                        ADDRESS ON FILE
LYNCH, TRAVOY                        ADDRESS ON FILE
LYNCH, WARREN                        ADDRESS ON FILE
LYNCH, ZACHARY                       ADDRESS ON FILE
LYNDELL W COLBURN                    ADDRESS ON FILE
LYNDEN P LOGISTICS LLC               OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
LYNDEN TRANSPORT, INC.               PO BOX 34026 SEATTLE WA 98124
LYNDON C GOLDSTEIN                   ADDRESS ON FILE
LYNDON TRUCK CENTER                  83 HEMLOCK LANE, PO BOX 21 LYNDONVILLE VT 05851
LYNDSEY, DAVID                       ADDRESS ON FILE
LYNETTES TRUCKING LLC                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
LYNFOX FREIGHT SYSTEM                OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE AB L6A 1S5 CANADA
LYNN ANDERSON TRUCKING               15118 400TH AVE SPRINGFIELD MN 56087
LYNN MALONE WRECKER                  REPAIR SHOP, PO BOX 355 GREENEVILLE TN 37744
LYNN QUIGLEY                         ADDRESS ON FILE
LYNN TRUCKING, INC.                  PO BOX 654 TAYLOR MI 48180
LYNN, DANIEL                         ADDRESS ON FILE
LYNN, ELLEN                          ADDRESS ON FILE
LYNN, IVORY                          ADDRESS ON FILE
LYNN, LAWRENCE                       ADDRESS ON FILE
LYNN, NATHAN                         ADDRESS ON FILE
LYNN, PHILLIP                        ADDRESS ON FILE
LYNN, ROBERT                         ADDRESS ON FILE
LYNN, WILSON                         ADDRESS ON FILE
LYNNIE PEARL TRUCKING, LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
LYNX AMERICA                         151 WOODPECKER LANE PORT MATILDA PA 16870
LYNX INC                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LYNX TRANSPORT                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
LYNXUS SOLUTIONS LLC                 1820 N CORPORATE LAKES BLVD STE 109 WESTON FL 33326
LYON                                 PO BOX 671 AURORA IL 60507
LYON DISTRICT COURT                  PO BOX 565 EDDYVILLE KY 42038
LYON LLC                             420 N MAIN ST MONTGOMERY IL 60538
LYON LOGISTICS, LLC                  OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
LYON, BETH                           ADDRESS ON FILE
LYON, EVERETT                        ADDRESS ON FILE
LYON, GARY                           ADDRESS ON FILE
LYON, MARSHALL                       ADDRESS ON FILE
LYON, MICHAEL                        ADDRESS ON FILE
LYON, MICHAEL                        ADDRESS ON FILE
LYON, NATALIE                        ADDRESS ON FILE
LYON, RALPH                          ADDRESS ON FILE
LYON, ROBERT                         ADDRESS ON FILE
LYONS ELECTRIC COMPANY, INC.         650 E. ELM AVE LA GRANGE IL 60525
LYONS ELECTRIC COMPANY, INC.         650 E. ELM AVE., PO BOX 749 LA GRANGE IL 60525
LYONS TOWNSHIP HIGHSCHOOL            100 S. BRAINARD AVE. LA GRANGE IL 60525
LYONS, CHRISTINA                     ADDRESS ON FILE
LYONS, CHRISTOPHER                   ADDRESS ON FILE
LYONS, CRAIG                         ADDRESS ON FILE
LYONS, DANIEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1166 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1175 of 2156

Claim Name                            Address Information
LYONS, DELONTATE M                    ADDRESS ON FILE
LYONS, DONALD                         ADDRESS ON FILE
LYONS, EARL                           ADDRESS ON FILE
LYONS, HEE J                          ADDRESS ON FILE
LYONS, HEE J                          ADDRESS ON FILE
LYONS, HORACE                         ADDRESS ON FILE
LYONS, JACK                           ADDRESS ON FILE
LYONS, JAMES                          ADDRESS ON FILE
LYONS, JUSTIN                         ADDRESS ON FILE
LYONS, KIANA                          ADDRESS ON FILE
LYONS, MARK                           ADDRESS ON FILE
LYONS, MARTY                          ADDRESS ON FILE
LYONS, MARVELLE                       ADDRESS ON FILE
LYONS, RANDY                          ADDRESS ON FILE
LYONS, RON                            ADDRESS ON FILE
LYONS, STEFKA                         ADDRESS ON FILE
LYONS, WALTER                         ADDRESS ON FILE
LYONTRANS LLC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
LYONTRANS LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
LYSAK TRUCKING INC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
LYSANDER TRANSPORT INC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
LYSHER, JOHN                          ADDRESS ON FILE
LYTLE EXPRESS LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LYTTLE, ASIA                          ADDRESS ON FILE
LYTX, INC.                            PO BOX 849972 LOS ANGELES CA 90084
LZ EXPRESS LLC (MC1393454)            OR APEX CPAITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
LZM 2 LLC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
M & A CARGO                           OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
M & A EXPRESS TRANSPORT LLC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
M & A FREIGHT CORPORATION             24608 MELROSE PL ELKHART IN 46517
M & A TRUCKING INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
M & A TRUCKING, LLC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKTOP FACTORING, PO BOX 7410411 CHICAGO
                                      IL 60674-0411
M & C TRANSPORTATION CO LLC           OR SOUTHLAND TRANSPORT SERVICE 1085 HWY 165 NORTH STUTTGART AR 72160
M & D TRANSPORT LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
M & D TRANSPORTATION CO., INC.        OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
M & D TRANSPORTATION SERVICES LLC     OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
M & D TRUCKING                        OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
M & G CARGO INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
M & G CARRIERS, LLC.                  PO BOX 96607, PO BOX 96607 HOUSTON TX 77213
M & G TRANSPORT INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
M & G TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M & G TRUCKING                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
M & G TRUCKING & TRANSPORTATION INC   444 NARRAGANSETT PARK DRIVE PAWTUCKET RI 02861
M & G TRUCKING, LTD.                  P O BOX 110 MANAWA WI 54949
M & H BROTHERS LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
M & H FREIGHT INC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
M & H TRANSPORT                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
M & H TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                              Page 1167 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1176 of 2156

Claim Name                           Address Information
M & H TRUCKING LLC (LUGOFF SC)       OR TRUENORTH SERVICES LLC PO BOX 30516 DEPT 509 LANSING MI 48909
M & I TRUCKING LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
M & J BROWN TRUCKING LLC             OR TRUENORTH SERVICES LLC 2261 MARKET ST 4697 C/O STABLE SAN FRANCISCO CA
                                     94114
M & J GROUP TRUCKING INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M & J TRANSPORT INC                  OR CFS INC DBA COMFREIGHT HAULPAY P.O. BOX 200400 DALLAS TX 75320-0400
M & J TRANSPORT LLC                  35 CHESTER RIDGE RD CLARKSBURG WV 26301
M & J TRANSPORTATION COMPANY         5036 GARDNER AVE KANSAS CITY MO 64120
M & J TRANSPORTATION INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
M & J TRUCK AUTOMOTIVE REPAIR INC    2201 S STOUGHTON RD MADISON WI 53716
M & J TRUCK AUTOMOTIVE REPAIR INC    D/B/A: M & J TRUCK AUTO REPAIR INC 2201 S STOUGHTON RD MADISON WI 53716
M & J TRUCKING                       OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
M & JEFF ENTERPRISES CORP            718 GRIER AVE, 2ND FLOOR ELIZABETH NJ 07202
M & K INTERNATIONAL                  541 COMMERCIAL DR STATHAM GA 30666
M & K QUALITY TRUCK SALES            PO BOX 268 BYRON CENTER MI 49315
M & K TRANS INC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
M & K TRANS LLC                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
M & K TRANSPORT CORP                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M & K UNITED TRANSPORTING LLC        OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
M & L COUNTERTOPS & MORE INC         3919 17TH ST BLDG 3 EAST MOLINE IL 61244
M & L TRANS                          TAMI BECKWITH, PO BOX 4140 ROME NY 13440
M & M AMERICAN, INC.                 7300 INDUSTRIAL ROW DRIVE MASON OH 45040
M & M EXPRESS INC                    4701-B W ELECTRIC AVE, PO BOX 28827 WEST MILWAUKEE WI 53219
M & M FREIGHT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
M & M GRAPHICS INC                   105 N CHESTNUT ST STE C BELTON MO 64012
M & M HOTSHOT SERVICE, LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
M & M LANDSCAPING AND LAWN CARE      PO BOX 5906 NORMAN OK 73070
M & M LIGHTING SUPPLY, INC.          PO BOX 100821 NASHVILLE TN 37224
M & M REPAIR AND TOWING, INC         1901 N LINDEN ST VALDEZ CO 81082
M & M RIDERS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
M & M TRANS.                         17 JUNE STRET OXFORD MA 01540
M & M TRANSPORT                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
M & M TRUCKING AND TRANSPORT LLC     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M & M TRUCKING INC.                  264 ST RT 2839 DIXON KY 42409
M & M TRUCKING LIMITED LIABILITY     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
COMPANY
M & M WRECKER SERVICE                PO BOX 31 CARTHAGE MO 64836
M & M WRECKER SERVICE                1619 US HIGHWAY 67 N PRESCOTT AR 71857
M & N LOGISTICS INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M & N TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M & P LOGISTICS INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M & P TRUCKING                       150 W SOUTH BOUNDARY ST PMB127 PERRYSBURG OH 43551
M & R ARIAS TRANSPORT INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M & R BEST TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M & R TRANSPORTATION LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M & R TRUCKING ENTERPRISES, INC.     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
M & S EQUIPMENT                      5798 COUNTY D CASHTON WI 54619
M & S EXPRESS TRUCKING LLC           OR APEX CAPITAL CORP, PO BOX 61029 FT WORTH TX 76161-1029
M & S GLOBAL LOGISTICS INC           1558 DARIEN LAKE DRIVE DARIEN IL 60561


Epiq Corporate Restructuring, LLC                                                               Page 1168 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1177 of 2156

Claim Name                           Address Information
M & S TRANS LOGISTICS                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
M & S TRANSPORT INC                  765 RT 83 STE 112 BENSENVILLE IL 60106
M & S TRANSPORTATION                 1600 MARSH ST SAN JOSE CA 95122
M & S TRANSPORTATION                 1660 MARSH ST SAN JOSE CA 95122
M & T TRANSMISSIONS LLC              51 31 59TH PLACE WOODSIDE NY 11377
M & T TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M & T TRUCKING                       2300 E PHILLIP AVE, LOT 8AA NORTH PLATTE NE 69101
M & W TRANSPORTATION CO., INC.       PO BOX 100225 NASHVILLE TN 37224
M & W TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
M & Y TRANSPORTATION LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
M 1 TRANSPORTATION INC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M 712 TRUCKING INC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
M A C FREIGHT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M A GERMAN TRANSPORT INC             OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
M A J TRANSPORT                      303 S VIRGINIA AVE AZUSA CA 91702
M A LLC                              OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
M A R CARRIER LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
M ACEVES TRANSPORT                   2131 ACACIA AVE SANGER CA 93657
M ALVIN SERVICES                     PO BOX 656689 FRESH MEADOWS NY 11365
M AND A EXPRESS TRUCKING LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M AND J ELECTRIC                     5209 INDUSTRIAL WAY ANDERSON CA 96007
M AND J TRANSPORTATION               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
M AND N FARMS                        562 MULCAHY RD TOWANDA PA 18848
M AND P TRUCKING                     1187 WELFORD PLACE WOODSTOCK ON N4S 7W3 CANADA
M AND P TRUCKING LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
M B P TRANSPORT LLC                  OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
M BELTON TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M C G FREIGHT EXPRESS INC            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
M C G TRANSPORT LLC                  OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
M C TANK TRANSPORT INC               ATTN: JEFF KELLEY, 10134 MOSTELLER LN WEST CHESTER TOWNSHIP OH 45069
M DAY TRANSPORT LLC                  OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
M DESIGN VILLAGE                     701 COTTONTAIL LN SOMERSET NJ 08873
M GARCIA TRUCKING                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
M GARRY TRANSPORT                    OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE AB L4L 8E3 CANADA
M GLOSSER & SONS INC                 72 MESSENGER ST JOHNSTOWN PA 15902
M GRANDE TRANSPORT ENTERPRISES LLC   OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
M GROUP LOGISTICS INC                OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
M H GROUP LLC                        4237 US HWY 57 EAGLE PASS TX 78852
M H MOOSER                           ADDRESS ON FILE
M H TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
M HERNANDEZ TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M HOLLAND                            C/O ECHO, 600 W CHICAGO STE 725 CHICAGO IL 60654
M I E TRANSPORTATION INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
M I J TRUCKING LLC                   OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
M J ROCK LLC                         PO BOX 2166 POCATELLO ID 83206
M J ROCK PROPERTY, LLC               ATTN: MARVIN ROCK/ ETHLENE ROCK C/O SALMON RIVER STAGES PO BOX 2166 POCATELLO
                                     ID 83206


Epiq Corporate Restructuring, LLC                                                              Page 1169 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1178 of 2156

Claim Name                           Address Information
M K BATTERY                          9108 YELLOW BRICK RD STE C BALTIMORE MD 21237
M K BATTERY                          9108 YELLOW BRICK RD STE C ROSEDALE MD 21237
M L WILLIS LLC                       OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
M LEWIS LOGISTICS INC                75 DOVE TRAIL HOSCHTON GA 30548
M LOPEZ TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
M M 2 TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
M MCNEILL LLC                        OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
M MIGUELE LLC                        6328 ARMADILLO CT FT WORTH TX 76179
M N A EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M N H LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M O A TRANSPORTATION LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
M ORTIZ TRANSPORTATION INC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
M P G TRANSPORT LLC                  OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
M P R TRANSPORT LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
M P SERVICES LLC                     9 CARO DR OAK RIDGE NJ 07438
M PET GROUP                          ATTN: JAIME MENDAL 2980 NE 207TH ST STE 701 AVENTURA FL 33180
M PLUS LOGISTICS INC                 1501 PARKER CANYON RD WALNUT CA 91789
M PLUS TRANSPORTATION CORPORATION    15774 S LA GRANGE RD ST 128 ORLAND PARK IL 60462
M POWER LOGISTICS INC                1585 DENNISON ROAD HOFFMAN ESTATES IL 60169
M R D TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M R L LOGISTICS INC                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
M R M SERVICES INC.                  PO BOX 327 DOUSMAN WI 53118
M R S TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
M R W TECHNICAL SERVICES             25453 VAN HORN BROWNSTOWN MI 48134
M RODRIGUEZ TRUCKING INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M ROMOS TRANSPORT INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
M S BROTHERS LOGISTICS LLC           OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
M S CARRIERS INC                     3063 STANLEY DRIVE STOCKTON CA 95212
M S INTERNATIONAL INC                ATTN: KAVYANJALI 2095 N BATAVIA ORANGE CA 92865
M S N A LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
M S TRANSPORT CO                     9401 WALLISVILLE ROAD HOUSTON TX 77013
M S TRANSPORT INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M SEA SOLUTIONS                      OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
M SIMS LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M SMALLS ENTERPRISE LLC              OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
M SPINELLO & SON                     PO BOX 1116, 522 CHESTNUT ST ROCKFORD IL 61105
M T I                                OR SOUND FINANCE CORPORATION P.O. BOX 679281 DALLAS TX 75267-9281
M T P ENTERPRISE INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
M T T P EXPRESS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
M TRANS EXPRESS LLC                  2487 S GILBERT RD 106-426 GILBERT AZ 85295
M TRANSPORTATION                     16989 BELLCHASE ROAD LATHROP CA 95330
M TRUCKING INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
M V K TRANSPORT CORPORATION          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
M V O INC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
M W CARRIERS LLC                     PO BOX 333 BEDFORD PA 15522
M&A TRANSPORTATION LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
M&B LOGISTICS                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M&B TRUCKING EXPRESS CORP            OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
M&C CHOCO TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                               Page 1170 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1179 of 2156

Claim Name                          Address Information
M&C FREIGHT LOGISTICS LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
M&C INTEGRITY TRANSPORT LLC         OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
M&C TRANSPORT INC                   OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
M&C503 TRUCKING LLC                 OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
M&D FAMILY TRANSPORT LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
M&D LOGISTICS LLC                   30196 65TH AVE S AUBURN WA 98001
M&E EXPRESS TRUCKING LLC            OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
M&F TRANSPORT LLC                   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
M&G LOGISTICS LLC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
M&G TRUCKING SOLUTIONS LLC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M&H ELECTRIC                        2387 71ST STREET AVOCA MN 56114
M&H EXPRESS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
M&H TRANSPORT LLC                   938 EAST SWAN CREEK RD 263 FORT WASHINGTON MD 20744
M&H TRUCKING LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
M&I IMPORTS INC                     2772 SKOKIE VALLEY RD HIGHLAND PARK IL 60035
M&J CARRIERS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
M&J INTERMODAL LLC                  4900 S MASON AVE CHICAGO IL 60638
M&J TRUCKING                        2310 S ROCK CITY RD RIDOTT IL 61067
M&K EXPRESS CARRIERS INC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
M&K LOGISTICS LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
M&K SAFELOAD LLC                    OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
M&K SERVICES LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
M&K TRANS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M&K TRANSIT LOGISTICS LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
M&K TRANSPORTATION                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
M&K TRUCK CENTERS                   PO BOX 268 BYRON CENTER MI 49315
M&L 1TRANSPORT LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
M&L GARCIA TRANSPORTATION LLC       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
M&L TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M&L TRANSPORT OF PALLC              1 REVERE PARK ROME NY 13440
M&L WORLDWIDE LOGISTICS             P O BOX 4140 ROME NY 13442
M&M EXPRESS LOGISTICS LLC           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
M&M FLEET LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
M&M FREIGHT LINES INC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
M&M FREIGHT LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
M&M HEATING & COOLING INC           1515 WASHINGTON STREET TOLEDO OH 43604
M&M MOTOR SERVICE                   P.O. BOX 857 ITASCA IL 60143
M&M MOTOR SERVICE                   3401 S. LAWNDALE AVE CHICAGO IL 60623
M&M MOVING SERVICES CORP            OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
M&M SISTERS TRANSPORT LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M&M TRANS INC                       237 RIVER PARK NORTH DRIVE WOODSTOCK GA 30188
M&M TRANSIT LLC                     6664 WHITTEN GROVE DR MEMPHIS TN 38134
M&M TRANSPORTATION                  OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
M&M TRANSPORTATION LLC              2019 SUNNY LANE ASHEBORO NC 27205
M&M WORLDWIDE LOGISTICS LLC         OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
M&P KANG TRANSPORT INC              OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
M&P TRANSPORT                       OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
M&P TRANSPORT SERVICES LLC          OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
M&P TRANSPORT SERVICES LLC          PO BOX 45605 TACOMA WA 98448-5605



Epiq Corporate Restructuring, LLC                                                              Page 1171 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1180 of 2156

Claim Name                             Address Information
M&R DREAMS ENTERPRISES, LLC            OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
M&R TRANSPORT SOLUTIONS LLC            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
M&R TRUCKING, INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M&S                                    M & S HEATING AND AIR 605 SPICE ISLAND SUITE 5 SPARKS NV 89431
M&S CONTEH TRANSPORT LLC               OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
M&S READY 2 LOAD INC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
M&V TRANSPORTATION                     OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
M&V TRANSPORTATIONS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
M&Y TRUCKING LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
M, MEGAN                               ADDRESS ON FILE
M-A-K EXPRESS LLC                      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
M-EAST TRANS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M-ENGINEERING                          750 BROOKSEDGE BLVD WESTERVILLE OH 43081
M-N TRANSPORTATION INC                 OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
M-O FREIGHT WORKS                      1 MARITIME ONTARIO BLVD BRAMPTON ON L6S 6G4 CANADA
M-WEST-EXPRESS LLC                     OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
M. D. TRANSPORT CO. LTD.               1683 MT LEHMAN RD ABBOTSFORD BC V2T 6H6 CANADA
M.A.A. EXPRESS INC.                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
M.A.C. TRANSPORT, INC.                 4225 QUINLAN DR BURTON MI 48529
M.A.P. ENTERPRISE TRUCKING LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
M.C. FREIGHT                           101 SKINNER INDUSTRIAL DRIVE ST CHARLES MO 63301
M.J. HENRY PLUMBING & DRAIN CLEANING   855 FERNWOOD AVE LANGHORNE PA 19047
M.M & R.R TRUCKING, LLC                OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
M.O.S. ENTERPRISE, INC                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
M.R DAVISON LOGISTICS LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
M.R. TRANS LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
M.R.S. ENTERPRISES INC                 15 BLACKSMITH ROAD OAK BLUFF MB R4G 0A2 CANADA
M.SIMON&SONS TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
M1 FINANCE (1497)                      ATTN PROXY MGR 200 N LASALLE ST, STE 800 CHICAGO IL 60601
M1 LOGISTICS LLC                       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
M1 TRUCKING LLC                        OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
M2 TRUCKING INC                        OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
M3 ALLIANCE LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
M3 DELIVERY INC                        OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
M3 EXPRESS INC                         200 NEW HOPE RD THOMASVILLE NC 27360-9268
M3 TEXAS TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
M365 LOGISTICS LLC                     111 STONECUTTER CT GARNER NC 27529
M3V EXPRESS LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
M4 TERMINALS LLC                       PO BOX 51467 LOS ANGELES CA 90051
M4 TERMINALS, LLC                      ATTN: JOAN MOSES C/O MARK IV CAPITAL INC. 4450 MACARTHUR BLVD 2ND FLOOR
                                       NEWPORT BEACH CA 92660
M4 TERMINALS, LLC                      ATTN: JOAN MOSES C/O MARK IV CAPITAL, INC. 4450 MACARTHUR BOULEVARD NEWPORT
                                       BEACH CA 92660
M53 AUTO SALES                         2246 E. 12 MILE ROAD WARREN MI 48092
MA . HOTSHOT LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MA DOT                                 10 PARK PLAZA ROOM 3740 BOSTON MA 02116
MA DOT                                 10 PARK PLAZA SUITE 4160 BOSTON MA 02116
MA EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MA JA TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 1172 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1181 of 2156

Claim Name                           Address Information
MA LOGISTICS                         OR RTS FINACIAL SERIVCE INC PO BOX 840267 DALLAS TX 75284
MA LOGISTICS LLC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MA TRANSPORT LLC (CHASKA MN)         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MA TRANSPORT SOLUTIONS INC           MCDOWELL FACTOR & CAPITAL SERVICES LLC P.O. BOX 161086 ALTAMONTE SPRINGS FL
                                     32716-1086
MA YARTU EXPRESS LLC                 OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
MAAAD TRUCKING SERVICES INC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAACO                                STORE M1970, 12220 RIVERWOOD BURNSVILLE MN 55337
MAAG TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 151052 OGDEN UT 84415
MAAN ENTERPRISE LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MAAN TRANS INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MAAN TRANSPORT LLC (MC1113556)       OR TAB BANK, PO BOX 150290 OGDEN UT 84415
MAAN TRUCKS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAAS LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAAZ EXPRESS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MAAZY TRANSPORTATION LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAB 2 TRUCKING, INC.                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAB-TRANS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MABE, JUSTIN                         ADDRESS ON FILE
MABE, LESLEY                         ADDRESS ON FILE
MABERY, MCKAYLA                      ADDRESS ON FILE
MABIEN, LASHA                        ADDRESS ON FILE
MABLE LOGISTIC INC                   OR SAFINANCIAL GROUP INC, P.O. BOX 195 GRANGER IN 46530
MABON, DARREN                        ADDRESS ON FILE
MABON, HERBERT                       ADDRESS ON FILE
MABON, JAMES                         ADDRESS ON FILE
MABON, KEDRIC                        ADDRESS ON FILE
MABON, NORMAN                        ADDRESS ON FILE
MABRY, MICHAEL A                     ADDRESS ON FILE
MABRY, SHAWN                         ADDRESS ON FILE
MAC                                  50855 E. RUSSELL SCHMIDT BLVD. CHESTERFIELD MI 48051
MAC INDUSTRIES, INC.                 P O BOX 1041 WEST PLAINS MO 65775
MAC RIDE TRANSPORTATION LLC          133 TYSON WOODS RD ACWORTH GA 30102
MAC TOOLS DISTRIBUTOR                224 W 1100 SOUTH LEHI UT 84043
MAC TRAILER AFTERMARKET PARTS, INC   14599 COMMERCE ST ALLIANCE OH 44601
MAC TRANSPORT CORP                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAC TRANSPORT EXPRESS LLC            OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
MAC TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAC TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAC TRUCKING LLC (MC076463)          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MACABIO, MARIA                       ADDRESS ON FILE
MACALLAN TRANSPORT INC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
MACASPAC, ANTHONY                    ADDRESS ON FILE
MACCARONE PLUMBING INC.              10 SEA CLIFF AVE GLEN COVE NY 11542
MACCIA, PATRICK                      ADDRESS ON FILE
MACDANIEL, TROY                      ADDRESS ON FILE
MACDONALD, DAVID                     ADDRESS ON FILE
MACDONALD, JOHN                      ADDRESS ON FILE
MACDONALD, KENNETH                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1173 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1182 of 2156

Claim Name                              Address Information
MACDONALD, MATHEW                       ADDRESS ON FILE
MACDONALD, PATRICK                      ADDRESS ON FILE
MACDONALD, STEVE                        ADDRESS ON FILE
MACDONALD, WILLIAM                      ADDRESS ON FILE
MACDORMAND, ROBERT                      ADDRESS ON FILE
MACDOUGALL, RORY                        ADDRESS ON FILE
MACE, ADAM                              ADDRESS ON FILE
MACE, KENNETH                           ADDRESS ON FILE
MACEDO-GONZALEZ, GABRIELA               ADDRESS ON FILE
MACES HEAVY DUTY TOWING SERIES LLC      3501 KNIGHT ARNOLD RD MEMPHIS TN 38118
MACES TOWING                            3501 KNIGHT ARNOLD RD MEMPHIS TN 38118
MACH, JESUS                             ADDRESS ON FILE
MACHADO XPRESS INC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MACHADO, FRANCISCO                      ADDRESS ON FILE
MACHADO, HENRY                          ADDRESS ON FILE
MACHADO, HENRY                          ADDRESS ON FILE
MACHADO, LUIS                           ADDRESS ON FILE
MACHADO, NICHOLAS                       ADDRESS ON FILE
MACHAIN RODRIGUEZ, MIGUEL               ADDRESS ON FILE
MACHALICEK, JOEL                        ADDRESS ON FILE
MACHHAL TRUCK LINES CORP                OR T-PINE FINANCIAL SERVICES 6050 DIXIE ROAD MISSISSAUGA ON L5T1A6 CANADA
MACHHOUR, SALAH                         ADDRESS ON FILE
MACHICHE, PABLO                         ADDRESS ON FILE
MACHIN TRUCKING LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MACHINE FABRICATION & REPAIR, INC.      3122 MIDDLEBROOK PIKE KNOXVILLE TN 37921
MACHINE ICE CO                          8915 SWEETWATER LN STE A HOUSTON TX 77037
MACHINIST MONEY PURCHASE PENSION FUND   140 SYLVAN AVENUE SUITE 303 ENGLEWOOD CLIFFS NJ 07632
MACHUTTA, DEAN                          ADDRESS ON FILE
MACHUTTA, GLENN                         ADDRESS ON FILE
MACHUTTA, TAYLOR                        ADDRESS ON FILE
MACIAS H, GUADALUPE                     ADDRESS ON FILE
MACIAS, AMOS                            ADDRESS ON FILE
MACIAS, ANGELICA                        ADDRESS ON FILE
MACIAS, ANTHONY                         ADDRESS ON FILE
MACIAS, ANTONIO                         ADDRESS ON FILE
MACIAS, CHRISTOPHER                     ADDRESS ON FILE
MACIAS, DANIEL                          ADDRESS ON FILE
MACIAS, EDGAR                           ADDRESS ON FILE
MACIAS, ERNEST                          ADDRESS ON FILE
MACIAS, GREGORY                         ADDRESS ON FILE
MACIAS, ISAIAH                          ADDRESS ON FILE
MACIAS, JOSE                            ADDRESS ON FILE
MACIAS, JOSETTE                         ADDRESS ON FILE
MACIAS, LATISHA                         ADDRESS ON FILE
MACIAS, MARTIN                          ADDRESS ON FILE
MACIAS, NOEL                            ADDRESS ON FILE
MACIAS, OSCAR                           ADDRESS ON FILE
MACIAS, OSCAR                           ADDRESS ON FILE
MACIEL, ENRIQUE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1174 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1183 of 2156

Claim Name                             Address Information
MACIEL, GABRIEL                        ADDRESS ON FILE
MACIEL, JIMI                           ADDRESS ON FILE
MACIEL, JOSE                           ADDRESS ON FILE
MACIEL, MCKENZIE                       ADDRESS ON FILE
MACIK, JOHN                            ADDRESS ON FILE
MACIK, ROBERT                          ADDRESS ON FILE
MACK CARTER FREIGHT LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MACK LOGISTICS INC                     206 WISTERIA CT WOOD DALE IL 60191
MACK MANITOBA LTD.                     385 EAGLE DRIVE GROUP 200 BOX 99 RR2 WINNIPEG MB R3C 2E6 CANADA
MACK SALES & SERVICE OF MANITOBA LTD   385 EAGLE DR WINNIPEG MB R3C 2E6 CANADA
MACK SALES & SERVICE OF MORTON         800 W BIRCHWOOD ST MORTON IL 61550
MACK SALES & SERVICE OF MORTON         PO BOX 3665 QUINCY IL 62305
MACK, ANNA                             ADDRESS ON FILE
MACK, ANTHONY                          ADDRESS ON FILE
MACK, ARDELLA                          ADDRESS ON FILE
MACK, CARL                             ADDRESS ON FILE
MACK, CEDRICK                          ADDRESS ON FILE
MACK, CHARLES                          ADDRESS ON FILE
MACK, DEMARIO                          ADDRESS ON FILE
MACK, DENNIS                           ADDRESS ON FILE
MACK, DONTEZ                           ADDRESS ON FILE
MACK, JACOB                            ADDRESS ON FILE
MACK, JAMES                            ADDRESS ON FILE
MACK, JOHN G                           ADDRESS ON FILE
MACK, LANCE                            ADDRESS ON FILE
MACK, MELVIN                           ADDRESS ON FILE
MACK, RAEKWON                          ADDRESS ON FILE
MACK, RICO                             ADDRESS ON FILE
MACK, TABALA                           ADDRESS ON FILE
MACK, TOMMY                            ADDRESS ON FILE
MACK-BELLAMY, HARPER                   ADDRESS ON FILE
MACKAY, FRED ALLAN                     ADDRESS ON FILE
MACKAY, JOHN                           ADDRESS ON FILE
MACKENZIE                              PO BOX 14310 PORTLAND OR 97293
MACKENZIE, CHELSEA                     ADDRESS ON FILE
MACKENZIE, JAMES IAN                   ADDRESS ON FILE
MACKERETH TRUCKING INC                 8566 150TH ST KIMBALL MN 55353
MACKERMAN, BONNIE                      ADDRESS ON FILE
MACKEY LOGISTICS LLC                   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MACKEY, GUY                            ADDRESS ON FILE
MACKEY, ISAAC                          ADDRESS ON FILE
MACKEY, JAMES A                        ADDRESS ON FILE
MACKEY, JOSHUA                         ADDRESS ON FILE
MACKEY, PATRICK                        ADDRESS ON FILE
MACKEY, PATRICK                        ADDRESS ON FILE
MACKEY, TODD                           ADDRESS ON FILE
MACKEY, TYLER                          ADDRESS ON FILE
MACKEY, VERNARD                        ADDRESS ON FILE
MACKEY, WENDIE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1175 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1184 of 2156

Claim Name                            Address Information
MACKEY, WILLIAM                       ADDRESS ON FILE
MACKIE RESEARCH CAP/CDS (5029)        ATT TONY RODRIGUES/PROXY MGR 199 BAY ST COMMERCE CT WEST, STE 4600 TORONTO ON
                                      M5L 1G2 CANADA
MACKIE, JAMES                         ADDRESS ON FILE
MACKIEWICZ, ANTHONY                   ADDRESS ON FILE
MACKINAC BRIDGE AUTHORITY             DEBIT ACCOUNT MANAGER, N415 1-75 ST IGNACE MI 49781
MACKINNEY SYSTEMS, INC.               4411 E STATE HIGHWAY D STE F SPRINGFIELD MO 65809
MACKINNON, RODERICK                   ADDRESS ON FILE
MACKINS JR., ALVIN                    ADDRESS ON FILE
MACKISEY, KEVIN                       ADDRESS ON FILE
MACKLIN, NICHOLAS                     ADDRESS ON FILE
MACKS GOODS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MACKY TRUCKING LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MACLELLAN, JAMES                      ADDRESS ON FILE
MACLEOD, TIM                          ADDRESS ON FILE
MACLIN LOGISTICS                      4995 OUTLAND CENTER DRIVE STE 101 MEMPHIS TN 38118
MACMILLIAN, MATTHEW                   ADDRESS ON FILE
MACO EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MACO TRANSPORTATION LLC               PO BOX 382 NESBIT MS 38651
MACO TRANSPORTATION LLC (MC1321764)   OR PDM FINANCIAL LLC, PO BOX 3336 DES MOINES IA 50316
MACOMBER TRANS. INC.                  181 LEWISTON RD WEST GARDINER ME 04345
MACOMBER, KENNETH                     ADDRESS ON FILE
MACON MOVES TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MACON OCCUPATIONAL MEDICINE LLC       124 3RD ST MACON GA 31201
MACON RIDGE FENCE LLC                 42 TODD CHAPMAN RD MANGHAM LA 71259
MACON SUPPLY                          PO BOX 80250 BILLINGS MT 59108
MACON WATER AUTHORITY                 790 2ND ST PO BOX 108 MACON GA 31202-0108
MACON-BIBB COUNTY TAX COMMISSIONER    PO BOX 4724 MACON GA 31213
MACOTELA, XAVIER                      ADDRESS ON FILE
MACR EXPRESS INC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MACRA TRUCKING INC                    OR INTEGRA FUNDING SOLUTIONS 6300 RIDGLEA PLACE FORT WORTH TX 76116
MACROLANE INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MACS DELIVERY SERVICE                 2740 LOSEE RD NORTH LAS VEGAS NV 89030
MACS DELIVERY SERVICE, INC.           PO BOX 309 LAS VEGAS NV 89125
MACS HARDWARE                         BLUE TARP CREDIT SERVICES, PO BOX 105525 ATLANTA GA 30348
MACS HARDWARE                         PO BOX 105526 ATLANTA GA 30348
MACTRANS LOGISTICS INC                ATTN: VALIRIE MCSWEEN 81 ZENWAY UNIT 16 WOODBRIDGE ON L4H 0S5 CANADA
MACY, BRET                            ADDRESS ON FILE
MACYS INC                             145 PROGRESS PLACE SPRINGDALE OH 45246
MACZURA, RAYMOND                      ADDRESS ON FILE
MAD & MUS WORLD TRANSPORTATION INC    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MAD ACQUISITIONS, LLC                 435 ESSEX AVE 105 WAYNESBORO VA 22980
MAD ACQUISITIONS, LLC                 ATTN: DAVID GAULDIN II 435 ESSEX AVENUE SUITE 105 WAYNESBORO VA 22980
MAD DUCK LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAD EXPRESS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MAD MAX TRANSPORTATION, INC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAD MAX TRUCKING LLC                  OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084
MAD TAG LLC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAD TRANSPORTATION & TOWING LLC       2305 SALT CREEK HWY CASPER WY 82601



Epiq Corporate Restructuring, LLC                                                                Page 1176 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1185 of 2156

Claim Name                           Address Information
MAD WILLS FOOD COMPANY               ATTN: VALERIE KNECHT CUSTOMER SERVICE 2043 AIRPARK CT AUBURN CA 95602
MADADOV, RASUL                       ADDRESS ON FILE
MADANI, MOHAMMED                     ADDRESS ON FILE
MADAY TRUCKING LLC                   OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
MADCAP SOFTWARE, INC.                11401 CENTURY OAKS TERRACE   SUITE 250 AUSTIN TX 78758
MADCAP SOFTWARE, INC.                7777 FAY AVENUE, SUITE 210 LA JOLLA CA 92037
MADCO TRUCK PLAZA INC                27416 ECORSE RD ROMULUS MI 48174
MADD GEAR                            ATTN: AMY FULLER 5780 W OAKLAND ST CHANDLER AZ 85226
MADD OX FREIGHT SOLUTIONS LLC        1235 REDFISH DR RIVIERA BEACH TX 78379
MADDALONE DEVELOPMENT                2510 CC 33 CORPUS CHRISTI TX 78415
MADDEN, AUTUMN                       ADDRESS ON FILE
MADDEN, DALLAS                       ADDRESS ON FILE
MADDEN, DARCIE                       ADDRESS ON FILE
MADDEN, DONTE                        ADDRESS ON FILE
MADDEN, HARDIA                       ADDRESS ON FILE
MADDEN, JACKIE                       ADDRESS ON FILE
MADDEN, JAYLIN J                     ADDRESS ON FILE
MADDEN, JAYLIN J                     ADDRESS ON FILE
MADDEN, JIM                          ADDRESS ON FILE
MADDEN, MICAH                        ADDRESS ON FILE
MADDEN, THOMAS                       ADDRESS ON FILE
MADDIPOTI, SRIDHAR                   ADDRESS ON FILE
MADDIX, CHRIS                        ADDRESS ON FILE
MADDOX, ALTERIO                      ADDRESS ON FILE
MADDOX, BRANDON                      ADDRESS ON FILE
MADDOX, BYRON                        ADDRESS ON FILE
MADDOX, DONALD                       ADDRESS ON FILE
MADDOX, JENNIE                       ADDRESS ON FILE
MADDOX, JENNIFER                     ADDRESS ON FILE
MADDOX, TAURUS                       ADDRESS ON FILE
MADDRON, ARIC                        ADDRESS ON FILE
MADDUX, JOSHUA                       ADDRESS ON FILE
MADDUX, NICHOLAS                     ADDRESS ON FILE
MADDUX, RICHARD                      ADDRESS ON FILE
MADE GOODS                           ATTN: EUGENIE TRAN 918 S STIMSON AVE CITY OF INDUSTRY CA 91745
MADE OFF LOGISTICS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MADE, MESFIN                         ADDRESS ON FILE
MADE4FREIGHT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MADELLE, MICHAEL                     ADDRESS ON FILE
MADERA TRANSPORT CORP                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MADERO, LUCAS                        ADDRESS ON FILE
MADEX LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MADEY TRANSPORTATION                 OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
MADEY, ABDIKADIR                     ADDRESS ON FILE
MADHIRA, UMA                         ADDRESS ON FILE
MADI TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MADID TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MADIGAN, JOSEPH                      ADDRESS ON FILE
MADINA CITY EXPRESS                  1236 WESTMINSTER DR HIGH POINT NC 27262



Epiq Corporate Restructuring, LLC                                                             Page 1177 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1186 of 2156

Claim Name                           Address Information
MADISON A WHITLOCK                   ADDRESS ON FILE
MADISON COUNTY                       100 E MAIN JACKSON TN 38301
MADISON COUNTY CIRCUIT COURT         155 NORTH MAIN STREET, ROOM 103 EDWARDSVILLE IL 62025
MADISON COUNTY SANITARY SEWER        301 E CHAIN OF ROCKS RD MITCHELL IL 62040
MADISON COUNTY TREASURER             KURT PRENZLER, PO BOX 849 EDWARDSVILLE IL 62025-0849
MADISON GAS & ELECTRIC               23 RAILROAD ST MADISON WI 53703
MADISON L GERWITZ                    ADDRESS ON FILE
MADISON MOBILE STORAGE INC           PO BOX 2222 DECATUR AL 35609
MADISON MOBILE STORAGE INC           PO BOX 2222 DECATUR AL 35609-2222
MADISON MOTOR SERVICE INC            2921 W STATE ST FREEMONT OH 43420
MADISON MOTOR SERVICE INC            2921 W STATE ST FREMONT OH 43420
MADISON, DEMOND                      ADDRESS ON FILE
MADISON, DWAYNE                      ADDRESS ON FILE
MADISON, RICHARD                     ADDRESS ON FILE
MADISON, ROBERT                      ADDRESS ON FILE
MADISON, ROBERT                      ADDRESS ON FILE
MADISON, RONALD                      ADDRESS ON FILE
MADISON, STEVE                       ADDRESS ON FILE
MADISON-ADELEKAN, AKEMI              ADDRESS ON FILE
MADISON-SMITH MACHINE & TOOL         2601 HAPPY VALLEY RD GLASGOW KY 42141
MADKIN, DAMON                        ADDRESS ON FILE
MADL, SUSAN                          ADDRESS ON FILE
MADLAND TOYOTA-LIFT, INC.            4485 BUCK OWENS BLVD. BAKERSFIELD CA 93308
MADLEEN TRUCKING LLC                 OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
MADLENER DUPLEX, JEANNE              ADDRESS ON FILE
MADOLIMOV, EDWARD                    ADDRESS ON FILE
MADONIS, SARAH                       ADDRESS ON FILE
MADRID TRUCKING INC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MADRID, ANDREW                       ADDRESS ON FILE
MADRID, EDWARD                       ADDRESS ON FILE
MADRID, OSCAR                        ADDRESS ON FILE
MADRID-MONROY, DAVID                 ADDRESS ON FILE
MADRIGAL, ELIAS                      ADDRESS ON FILE
MADRIGAL, JOSE                       ADDRESS ON FILE
MADRIGAL, MOSES                      ADDRESS ON FILE
MADRIZ LEDEZMA, ROCIO                ADDRESS ON FILE
MADRONA CUTTER, LLC                  AND GULSONS CUTTER, LLC, JAMES WINKLER 210 SW MORRISON STREETSUITE 600
                                     PORTLAND OR 97204
MADRONA CUTTER, LLC                  C/O WINKLER DEVELOPMENT CORPORATION 210 SW MORRISON STREET STE 600 PORTLAND OR
                                     97204
MADSEN, KYLE                         ADDRESS ON FILE
MADSEN, PAUL                         ADDRESS ON FILE
MADSON, DAVID                        ADDRESS ON FILE
MADVIN TRUCKING CORP.                OR FREIGHT FACTORING SPECIALISTS DEPT 10010 PO BOX 31792 TAMPA FL 33631-3792
MADVIN TRUCKING CORP.                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MADY, MICHAEL                        ADDRESS ON FILE
MAE EXPRESS LLC                      OR OTR CAPITAL LLC DEPT 390 P.O. BOX 1000 MEMPHIS TN 38148
MAE EXPRESS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MAE MASTERS 8 LLC                    OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                            Page 1178 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1187 of 2156

Claim Name                           Address Information
MAE WYMAN TRANSPORT LLC              OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MAEA, WAYNE                          ADDRESS ON FILE
MAEHL, JAMIE                         ADDRESS ON FILE
MAERE, BRET                          ADDRESS ON FILE
MAERSK INC                           180 PARK AVE SUITE 105 FLORHAM PARK NJ 07932
MAES, ANGELICA                       ADDRESS ON FILE
MAES, KENNETH                        ADDRESS ON FILE
MAESTRE, MARCOS                      ADDRESS ON FILE
MAEWEATHER LLC                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MAF EXPEDITED/BHM EXPRESS            4820 WESTPORT BLVD MONTGOMERY AL 36108
MAG CARRIERS LLC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MAG CARRIERS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAG EXPRESS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
MAG FAMILY LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MAG INTL TRANSPORT LLC               OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
MAG3 TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAGA LINE TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAGAHA, MICHAEL                      ADDRESS ON FILE
MAGAHA, MICHAEL P                    ADDRESS ON FILE
MAGALLANES BIRHANZEL, LUIS           ADDRESS ON FILE
MAGALLANES JR, ARTURO                ADDRESS ON FILE
MAGALLANES, ABEL                     ADDRESS ON FILE
MAGALLANES, GABRIEL                  ADDRESS ON FILE
MAGALLANES, GUSTAVO                  ADDRESS ON FILE
MAGALLANES, ISIDRO                   ADDRESS ON FILE
MAGALLANES, MARTIN                   ADDRESS ON FILE
MAGALLANES, RAYMOND                  ADDRESS ON FILE
MAGAN, ZANDRE                        ADDRESS ON FILE
MAGANA, DAN                          ADDRESS ON FILE
MAGANA, ERICK                        ADDRESS ON FILE
MAGANA, JESUS                        ADDRESS ON FILE
MAGANA, MIGUEL                       ADDRESS ON FILE
MAGANA, REYES                        ADDRESS ON FILE
MAGANA, RUDY                         ADDRESS ON FILE
MAGANA-ESTRADA, HECTOR               ADDRESS ON FILE
MAGANAS TRUCKING LLC                 OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
MAGBANUA, SYRA                       ADDRESS ON FILE
MAGDALENO, GERALD                    ADDRESS ON FILE
MAGDALENO, ISMAEL                    ADDRESS ON FILE
MAGEE MOTOR LINES, LLC               PO BOX 510095 ST LOUIS MO 63151
MAGEE, CHRISTIAN D                   ADDRESS ON FILE
MAGEE, MARY                          ADDRESS ON FILE
MAGEE, RODERICK                      ADDRESS ON FILE
MAGESTERIAL DISTRICT NO 31-3-02      GREEN HILLS COMMERCE CTR 5925 TILGHMAN ST. STE 500 ALLENTOWN PA 18104
MAGGARD, AUDY                        ADDRESS ON FILE
MAGGARD, JOSHUA                      ADDRESS ON FILE
MAGGARD, ROBERT                      ADDRESS ON FILE
MAGGETT, LORI                        ADDRESS ON FILE
MAGGIE EXPRESS CORP                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                               Page 1179 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1188 of 2156

Claim Name                            Address Information
MAGGIEFIELD, JACQUINNSS               ADDRESS ON FILE
MAGGIO TRUCK CENTER INC.              4752 BAXTER RD ROCKFORD IL 61109
MAGGIORE, ARTHUR                      ADDRESS ON FILE
MAGHINAY, NIKKI B                     ADDRESS ON FILE
MAGI TRUCK INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAGIA LOGISTICS LLC                   536 3 4TH ST BERNVILLE PA 19506
MAGIC DREAM TRUCKING LLC              OR LOVES SOLUTIONS LLC PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MAGIC FREIGHT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAGIC GARAGE DOOR INC                 2949 LINCOLN WAY E. MASSILLON OH 44646
MAGIC GARAGE DOOR INC                 P.O.BOX 3027 MINOT ND 58702
MAGIC MOVES INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MAGIC SERVICES LLC                    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
MAGIC TRANS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAGIC VALLEY TOWING & REPAIR          1805 OSTERLOH TWIN FALLS ID 83301
MAGIC VALLEY TOWING & REPAIR          104 S 450 E BURLEY ID 83318
MAGILL, AMANDA                        ADDRESS ON FILE
MAGILL, MACKLIN                       ADDRESS ON FILE
MAGILL, WAYNE                         ADDRESS ON FILE
MAGISTERIAL DISTRICT NO MDJ-23-3-05   2739 BERNVILLE ROAD LEESPORT PA 19533
MAGISTERIAL DISTRICT NO MDJ-42-3-03   200 MAIN ST TOWANDA PA 18848
MAGISTRATE COURT                      624 E CENTER RM 215 POCATELLO ID 83201
MAGISTRATE COURT                      210 COURHOUSE WAY SUITE 120 RIGBY ID 83442
MAGLOIRE, DENIS                       ADDRESS ON FILE
MAGNA CARTA - AEGIS                   C/O MAGNA CARTA INSURANCE, LTD. WINDSOR PLACE, 22 QUEEN STREET HAMILTON HM 12
                                      BERMUDA
MAGNAFLOW/CAR SOUND                   1901 CORPORATE CTR OCEANSIDE CA 92056
MAGNAN, RENE                          ADDRESS ON FILE
MAGNATAG INC                          290 WOODCLIFF DR STE 102 FAIRPORT NY 14450
MAGNATE FREIGHT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MAGNAY AUTOMOBILE TRANSPORT           AND GENERAL MERCHANDISE LLC, OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS
                                      TX 75284
MAGNEGAS WELDING SUPPLY-WEST LLC      24980 N. 83RD AVE, STE 100 PEORIA AZ 85383
MAGNO, CARMINE                        ADDRESS ON FILE
MAGNOLIA FREIGHT SERVICE, LLC         120 CR 1389 SALTILLO MS 38866
MAGNUM BIKES                          629 S STATE ST SALT LAKE CITY UT 84111
MAGNUM CONSTRUCTION INC               2401 W MILL RD EVANSVILLE IN 47720
MAGNUM DEDICATED, INC.                PO BOX 2023 FARGO ND 58107
MAGNUM EXPRESS, INC.                  OR MARQUETTE TRANPORTATION FINANCE P O BOX 1450 NW 7939 MINNEAPOLIS MN 55485
MAGNUM EXPRESS, INC.                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MAGNUM FREIGHT INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MAGNUM LOGISTICS                      8835 EVERGREEN BLVD. NW COON RAPIDS MN 55433
MAGNUM LTD                            ATTN CLAIMS DEPT, PO BOX 2023 FARGO ND 58107
MAGNUM LTD                            PO BOX 2023 FARGO ND 58107
MAGNUM LTL                            ATTN RYAN HAM, PO BOX 2023 FARGO ND 58107
MAGNUM LTL                            P.O. BOX 2023 FARGO ND 58107
MAGNUM LTL, INC.                      3000 7TH AVE N, PO BOX 2023 FARGO ND 58107
MAGNUM TRANSHAUL INC                  3315 18TH STREET NW EDMONTON AB T6T 0H4 CANADA
MAGNUSON, PAUL D                      ADDRESS ON FILE
MAGOFFIN, RANDY G                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1180 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1189 of 2156

Claim Name                          Address Information
MAGOS, CRISTOFER                    ADDRESS ON FILE
MAGRUDER, KEVIN                     ADDRESS ON FILE
MAGS TRUCKING, INC.                 PO BOX 333 CABOT AR 72023
MAGTEYN TRANSPORT LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MAGUELLAL, ALEXA                    ADDRESS ON FILE
MAGUIRE, DYLAN                      ADDRESS ON FILE
MAGUIRE, GARY                       ADDRESS ON FILE
MAGUIRE, GARY                       ADDRESS ON FILE
MAGUIRE, MARK                       ADDRESS ON FILE
MAGUIRE, NATHAN                     ADDRESS ON FILE
MAGUIRE, SEAN                       ADDRESS ON FILE
MAGUIRE, THOMAS                     ADDRESS ON FILE
MAGUIRES MOBILE TIRE SERVICE        823 ALICE ST WOODSTOCK ON N4S 2J2 CANADA
MAH UNITED TRUCKING INC             OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
MAHA TRANSPORTATION CO              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MAHA TRANSPORTATION INC             OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MAHADY, MICHAEL                     ADDRESS ON FILE
MAHAL TRANSPORT INC                 1860 YORK AVE LIVINGSTON CA 95334
MAHAL TRANSPORT LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MAHAL TRUCKING LLC                  149 5TH AVE SW PACIFIC WA 98047-1326
MAHAMAT, ELADJ                      ADDRESS ON FILE
MAHAN, KIMBERLY                     ADDRESS ON FILE
MAHAN, TIM                          ADDRESS ON FILE
MAHAN, TIMOTHY P                    ADDRESS ON FILE
MAHANT TRANSPORTATION LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAHARAJ, WENDELL                    ADDRESS ON FILE
MAHAT TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAHAYDIK, MATTHEW                   ADDRESS ON FILE
MAHDIA TRANSPORT L.L.C.             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAHE, SAULISI                       ADDRESS ON FILE
MAHER, LAUN                         ADDRESS ON FILE
MAHER, MICHAEL                      ADDRESS ON FILE
MAHER, MICHAEL                      ADDRESS ON FILE
MAHER, RYAN                         ADDRESS ON FILE
MAHER, SHARON                       ADDRESS ON FILE
MAHER, WILLIAM                      ADDRESS ON FILE
MAHIR INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAHJOUBE, MOHAMED LEMINE            ADDRESS ON FILE
MAHL, ARTHUR                        ADDRESS ON FILE
MAHL, ROBERT E                      ADDRESS ON FILE
MAHLER, HENRY                       ADDRESS ON FILE
MAHLER, WAYNE                       ADDRESS ON FILE
MAHLICH, DUSTIN                     ADDRESS ON FILE
MAHMOOD, ARSHAD                     ADDRESS ON FILE
MAHMOOD, JAMAL                      ADDRESS ON FILE
MAHONING COUNTY SANITARY            761 INDUSTRIAL ROAD YOUNGSTOWN OH 44509
MAHONING COUNTY TREASURER           120 MARKET ST YOUNGSTOWN OH 44503
MAHONING COUNTY TREASURER           MAHONING COUNTY COURTHOUSE 120 MARKET ST, 1ST FL YOUNGSTOWN OH 44503
MAHWAH TOWNSHIP PUBLIC SCHOOLS      60 RIDGE ROAD MAHWAH NJ 07430



Epiq Corporate Restructuring, LLC                                                            Page 1181 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1190 of 2156

Claim Name                           Address Information
MAI, BINH                            ADDRESS ON FILE
MAI, PATRICK                         ADDRESS ON FILE
MAIA, MARCUS VINICIUS                ADDRESS ON FILE
MAIAVA, ROPATI                       ADDRESS ON FILE
MAICITO TRUCKING LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAID CLEANING SIMPLE LLC             924 ROBBINS AVE NILES OH 44446
MAID, PHILIP                         ADDRESS ON FILE
MAIER RACING                         22215 MEEKLAND AVE HAYWARD CA 94541
MAIER, JEFFREY                       ADDRESS ON FILE
MAIER, SAMUEL                        ADDRESS ON FILE
MAIER-PRZEKWAS, LINDA                ADDRESS ON FILE
MAIKOS TRUCKING (1990) LTD           PO BOX 3322 MORINVILLE AB T8R 1S2 CANADA
MAIL MANAGEMENT SERVICES INC         1919 S 40TH STREET SUITE 222 LINCOLN NE 68506
MAILAND, KEVIN                       ADDRESS ON FILE
MAILLET, JEAN-NOEL                   ADDRESS ON FILE
MAILLETTE, DAKOTA                    ADDRESS ON FILE
MAIN - A LIMITED LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MAIN DOOR0060084711)                 235 E 157TH ST GARDENA CA 90248
MAIN ELECTRIC SUPPLY                 6425 S JONES BLVD STE 101 LAS VEGAS NV 89118
MAIN ELECTRIC SUPPLY                 3600 W SEGERSTROM AVE SANTA ANA CA 92704
MAIN STREAM ELECTRIC                 2795 EAST BIDWELL STREET SUITE 100-315 FOLSOM CA 95630
MAIN, AUSTIN                         ADDRESS ON FILE
MAIN, ROBERT                         ADDRESS ON FILE
MAIN, STEVEN                         ADDRESS ON FILE
MAINA, ERIC                          ADDRESS ON FILE
MAINA, MIRIAM                        ADDRESS ON FILE
MAINE HARDWARE LLC                   ATTN: RICK TUCKER 274 SAINT JOHN STREET PORTLAND ME 04102-3019
MAINE MOTOR TRANSPORT ASSOCIATION    PO BOX 857 AUGUSTA ME 04332
MAINE REVENUE SERVICES               PO BOX 9101, PO BOX 9112 AUGUSTA ME 04332-9101
MAINFREIGHT                          C/O INTERCLAIMS 5901 W CENTURY BLVD 1250 LOS ANGELES CA 90045
MAINGOT HUMPHREY, BEVERLY            ADDRESS ON FILE
MAINGOT HUMPHREY, BEVERLY            ADDRESS ON FILE
MAINLAND CARGO INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MAINLAND FORD                        14530 104TH AVE SURREY BC V3R 1L9 CANADA
MAINLAND PLUMBING & HEATING LTD      UNIT 34 145 SCHOOLHOUSE ST COQUITLAM BC V3K 4X8 CANADA
MAINLINE EQUIPMENT LIMITED           14535 114TH AVENUE EDMONTON AB T5M 2Y8 CANADA
MAINLINE TRANSPORTATION, INC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MAINSTREAM FREIGHT LLC               OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
MAINTAIN IT ALL                      18 W MOUNT KIRK AVE EAGLEVILLE PA 19403
MAINTENANCE ENFORCEMENT PROGRA       7TH FLOOR J. E BROWNLEE BLDG 10365-97 ST NW EDMONTON AB T5J 3W7 CANADA
MAINTENANCE WELDING PRODUCTS LTD.    59 BANNISTER ROAD WINNIPEG MB R2R 0P2 CANADA
MAINTENANCE/PLANT OPS DEPT 9450      3300 SUMMIT BLVD WEST PALM BEACH FL 33406
MAIO, KIMO                           ADDRESS ON FILE
MAIORINO, DONALD                     ADDRESS ON FILE
MAISHA LOGISTIC LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MAISIES TRUCKING LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MAISIO, LANA                         ADDRESS ON FILE
MAISONETTE, HAKEEM                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1182 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1191 of 2156

Claim Name                            Address Information
MAIZE, GARRY                          ADDRESS ON FILE
MAJ TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAJEED, SHAH                          ADDRESS ON FILE
MAJERUS, AARON                        ADDRESS ON FILE
MAJESTIC CARGO LINE INC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MAJESTIC FREIGHT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MAJEWSKI TRANSPORTATION LLC.          14700 NORTH FREEWAY SUITE 100 HOUSTON TX 77090
MAJEWSKI, ALLEN                       ADDRESS ON FILE
MAJEWSKI, EDWARD                      ADDRESS ON FILE
MAJEWSKI, RAYMOND                     ADDRESS ON FILE
MAJHA LOGISTICS INC                   3892 SUNSETPARKE WAY SACRAMENTO CA 95834
MAJHA TRANSPORTATION INC              OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MAJHAMS TRANSPORTATION LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MAJHATRANS INC.                       1706 ARIANA DR BARTLETT IL 60103
MAJIC CO LLC                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MAJIC EXPRESS INC                     1700 SAN PABLO RD S APT 510 JACKSONVILLE FL 32224
MAJIDI, KHALID                        ADDRESS ON FILE
MAJIK EXPEDITING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MAJIX TRANSPORTATION LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAJOR CARRIER CORP                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAJOR LEAGUE HAULERS INC              1661 W PINE CONE CIR LAYTON UT 84041
MAJOR LEAGUE TRANSPORTATION LLC       1570 RATHBONE ST WYOMING MI 49509
MAJOR LEAGUE TRANSPORTATION LLC       (MC1296921) OR FACTORTEK LLC PO BOX 1668 DEPT 330 HOUSTON TX 77251
MAJOR TRANSPORTATION SERVICES, INC.   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MAJOR TRUCKERS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MAJOR TRUCKING & TRANSPORTATION LLC   3920 FUSELIER FR NORTH LAS VEGAS NV 89032
MAJOR, DEJOINEA                       ADDRESS ON FILE
MAJOR, MICHAEL                        ADDRESS ON FILE
MAJOR, WILLIAM                        ADDRESS ON FILE
MAJORS, ALFRED                        ADDRESS ON FILE
MAJORS, DOUGLAS                       ADDRESS ON FILE
MAJORS, KUWAN                         ADDRESS ON FILE
MAJORS, ROBERT                        ADDRESS ON FILE
MAJSTORIC, HARIZ                      ADDRESS ON FILE
MAJSZAK, SAM                          ADDRESS ON FILE
MAK EXPRESS FREIGHT                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MAK FREIGHT SERVICES LLC              OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MAK LOGISTICS                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAK LUX LLC                           OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MAK MAX LLC                           OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
MAK RAY LLC                           OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
MAK TRANSPORT LLC                     3787 S DAYTON ST AURORA CO 80014
MAK WAY INC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAKA TRANSPORTATION LLC               OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
MAKALIO, ABINADI                      ADDRESS ON FILE
MAKALIO, SIALE                        ADDRESS ON FILE
MAKANJU, NATALIA                      ADDRESS ON FILE
MAKARAN TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MAKAYA TRUCKING LLC                   OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY



Epiq Corporate Restructuring, LLC                                                              Page 1183 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1192 of 2156

Claim Name                              Address Information
MAKAYA TRUCKING LLC                     UT 84130
MAKE IT WORK TRUCKING LLC               OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
MAKE MY DAY TRANSPORTATION              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MAKEDON TRANSPORTATION SOLUTIONS INC.   OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MAKEMSON, JOSEPH                        ADDRESS ON FILE
MAKENA EXPRESS                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MAKERS GROUP LLC                        OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
MAKI, GREGORY                           ADDRESS ON FILE
MAKI, JEFFREY                           ADDRESS ON FILE
MAKI, RYAN                              ADDRESS ON FILE
MAKING MOVES TRANSPORTATION LLC         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MAKINGCOSMETICS                         10800 231ST WAY NE REDMOND WA 98053
MAKINI LLC                              3413 MAGGIE ROAD MELISSA TX 75454
MAKITA                                  10200 MILITARY RD RENO NV 89506
MAKITA USA                              2660 BUFORD HIGHWAY BUFORD GA 30518
MAKITAS TRUCKING CO                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAKK TRANSPORTS LLC                     206 ANACUA LOOP MANCHACA TX 78652-3511
MAKK TRUCKING                           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MAKKI ELGABORI                          ADDRESS ON FILE
MAKN MAJA M8V3S MMM LLC                 4224 HICKORY RD SUMTER SC 29154
MAKO TRANSPORTATION LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MAKO TRUCKING                           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MAKOA TRUCKING & TRUCKING               P.O.BOX 1478 KAUNAKAKAI HI 96748
MAKOGONYUK, VALENTYN                    ADDRESS ON FILE
MAKOLLI USA LLC                         MAKOLLI USA LLC, PO BOX 686 BARRINGTON IL 60010
MAKOPALA LOGISTICS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MAKOUMBOU, GUY                          ADDRESS ON FILE
MAKSI TRANS LLC                         1385 101ST ST STE F LEMONT IL 60439
MAKSUTI, BEKIM                          ADDRESS ON FILE
MAKURA INC                              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MALABAG, KENNETH                        ADDRESS ON FILE
MALABANAN, CRISLEEN                     ADDRESS ON FILE
MALABANAN, CRISLEEN                     ADDRESS ON FILE
MALADY TRUCK PARTS, INC                 11823 SLAUSON AVE, STE 13 SANTA FE SPRINGS CA 90670
MALAGA COUNTY WATER DISTRICT            580 S FRANK AVE FRESNO CA 93725
MALAGA, FRANCESCO                       ADDRESS ON FILE
MALAK LLC                               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MALAL TRUCKING LLC                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MALANAPHY, MICHAEL                      ADDRESS ON FILE
MALAYSIA ON THE GO TRUCKING SERVICE LLC OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
MALCO PRODUCTS SBC                      14080 STATE HIGHWAY 55 NW ANNANDALE MN 55302
MALCOLM J MCGARTLAND                    ADDRESS ON FILE
MALCOLM, PETER                          ADDRESS ON FILE
MALCOLM, PETER                          ADDRESS ON FILE
MALCOLM, PETER                          ADDRESS ON FILE
MALCOM IV, FRANK                        ADDRESS ON FILE
MALDANADO, JESUS                        ADDRESS ON FILE
MALDONADO FERNANDEZ, EDGARDO            ADDRESS ON FILE
MALDONADO JR, ROLANDO                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1184 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1193 of 2156

Claim Name                           Address Information
MALDONADO LOGISITICS                 871 MORRILL STREET HAYWARD CA 94541
MALDONADO TRANSPORT LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MALDONADO, ANA                       ADDRESS ON FILE
MALDONADO, EDGAR                     ADDRESS ON FILE
MALDONADO, FRANCISCO                 ADDRESS ON FILE
MALDONADO, FRANCISCO                 ADDRESS ON FILE
MALDONADO, JEFFREY                   ADDRESS ON FILE
MALDONADO, JESUS                     ADDRESS ON FILE
MALDONADO, JOSE O                    ADDRESS ON FILE
MALDONADO, JOSEPH A                  ADDRESS ON FILE
MALDONADO, JULISSA                   ADDRESS ON FILE
MALDONADO, LUIS                      ADDRESS ON FILE
MALDONADO, ROBELTO                   ADDRESS ON FILE
MALDONADO, YVONNE                    ADDRESS ON FILE
MALDUPS, SHIRLEY                     ADDRESS ON FILE
MALECHA, ANDREW                      ADDRESS ON FILE
MALEK ARDAVAN SADRI ESTATE           518 W JONQUIL RD SANTA ANA CA 92706
MALEK-MOHAMMADI, MAZIAR              ADDRESS ON FILE
MALESZEWSKI, ROMAN                   ADDRESS ON FILE
MALEY, ROBERT                        ADDRESS ON FILE
MALFABON, MARIO                      ADDRESS ON FILE
MALFETTANO, MICHAEL                  ADDRESS ON FILE
MALHEUR COUNTY JUSTICE COURT         1178 SOUTHWEST 4TH ST STE 1 ONTARIO OR 97914
MALHI BROS                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MALHI EXPRESS                        569 CARNELIAN AVE LATHROP CA 95330
MALHI LOGISTICS INC                  OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
MALHI TRANSPORT                      235 HAMPTON ST TULARE CA 93274
MALHI TRANSPORT LLC                  OR AFS, P O BOX 347 MADISON SD 57042
MALHI, AJAYPAUL                      ADDRESS ON FILE
MALHI, PARMDEEP                      ADDRESS ON FILE
MALIC-BOLANOS, ANDREA                ADDRESS ON FILE
MALICKI, GREGORY                     ADDRESS ON FILE
MALIETUFA, JARAH                     ADDRESS ON FILE
MALIGNAGGI, PAUL                     ADDRESS ON FILE
MALIK C JOHNSON                      ADDRESS ON FILE
MALIK J ROBERSON                     ADDRESS ON FILE
MALINOVIC, MILORAD                   ADDRESS ON FILE
MALINOWSKI, ANDRZEJ                  ADDRESS ON FILE
MALINOWSKI, TROY                     ADDRESS ON FILE
MALINOWSKI, WILLIAM                  ADDRESS ON FILE
MALKAI, NANSON                       ADDRESS ON FILE
MALKE, KELLI-MARIE                   ADDRESS ON FILE
MALKEMUS, DAVID                      ADDRESS ON FILE
MALKEMUS, DEBORAH                    ADDRESS ON FILE
MALL, CALEB                          ADDRESS ON FILE
MALLA EXPRESS INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MALLARD, ERIC                        ADDRESS ON FILE
MALLECK, LYNN                        ADDRESS ON FILE
MALLES, STUART                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1185 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1194 of 2156

Claim Name                               Address Information
MALLETT, DANTRELL                        ADDRESS ON FILE
MALLETT, MICAELA                         ADDRESS ON FILE
MALLEY INDUSTRIES                        ATTN: DARRYL GOMEZ PURCHASING 1100 AVIATION AV DIEPPE NB E1A 9A3 CANADA
MALLEY, MICHEAL                          ADDRESS ON FILE
MALLEY, TAMMY                            ADDRESS ON FILE
MALLHI BROS TRUCKINGLTD                  78 MARTHAS MEADOWS CLOSE NE CALGARY AB T3J 4N7 CANADA
MALLIARD, RAYMOND                        ADDRESS ON FILE
MALLIARD, SHARNELL                       ADDRESS ON FILE
MALLINI TRANSPORT, LLC                   6110 STOREY DR HUMBLE TX 77396
MALLON, WAYNE                            ADDRESS ON FILE
MALLORY SAFETY & SUPPLY                  GLOBALTRANZ, PO BOX 6348 SCOTTSDALE AZ 85261
MALLORY SAFETY AND SUPPLY LLC            3241 NW INDUSTRIAL ST PORTLAND OR 97210
MALLORY SAFETY AND SUPPLY LLC            PO BOX 2068 LONGVIEW WA 98632
MALLORY, DENISE                          ADDRESS ON FILE
MALLORY, DENNIS                          ADDRESS ON FILE
MALLORY, JAMES                           ADDRESS ON FILE
MALLORY, LOGAN                           ADDRESS ON FILE
MALLOZZI, VINCENZO                       ADDRESS ON FILE
MALMGREN, MONICA                         ADDRESS ON FILE
MALONE EXPRESS HOTSHOT SERVICE COMPANY   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MALONE WRECKER & REPAIR                  PO BOX 355 GREENEVILLE TN 37744
MALONE, CHRISTOPHER                      ADDRESS ON FILE
MALONE, DESMOND                          ADDRESS ON FILE
MALONE, DESTINY                          ADDRESS ON FILE
MALONE, DESTINY                          ADDRESS ON FILE
MALONE, FRANK                            ADDRESS ON FILE
MALONE, GREGORY E                        ADDRESS ON FILE
MALONE, JOHN                             ADDRESS ON FILE
MALONE, KISHA                            ADDRESS ON FILE
MALONE, MARY                             ADDRESS ON FILE
MALONE, ORAN                             ADDRESS ON FILE
MALONE, PATRICK                          ADDRESS ON FILE
MALONE, RAYCE                            ADDRESS ON FILE
MALONE, REGINALD                         ADDRESS ON FILE
MALONE, RUSSELL                          ADDRESS ON FILE
MALONE, SHADSTON                         ADDRESS ON FILE
MALONE, STEPHEN                          ADDRESS ON FILE
MALONE, TIMOTHY                          ADDRESS ON FILE
MALONEY PLUMBING, LLC                    9119 N 7TH ST, STE 201 PHOENIX AZ 85020
MALONEY, CHRISTOPHER                     ADDRESS ON FILE
MALONEY, KRISTEN                         ADDRESS ON FILE
MALONEY, MICHAEL                         ADDRESS ON FILE
MALONEY, QUINN                           ADDRESS ON FILE
MALONSON TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MALONSON, CHRISTPHER                     ADDRESS ON FILE
MALORNI, DANIEL                          ADDRESS ON FILE
MALOTT, ERIC                             ADDRESS ON FILE
MALOUF                                   1525 W 2960 S LOGAN UT 84321
MALOY, WILLIE R                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1186 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1195 of 2156

Claim Name                              Address Information
MALSY, VINCENT G                        ADDRESS ON FILE
MALT TRANSPORT LLC                      OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
MALTEUROP                               ENVOY LOGISTICS, PO BOX 2803 OSHKOSH WI 54903
MALU TRUCKING LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MALVIDO, JOSE                           ADDRESS ON FILE
MALVIS LLC                              2131 W REPUBLIC RD 573 SPRINGFIELD MO 65807-5705
MALWA COMPANY                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MALWA TRANSPORT INC                     MALWA TRANSPORT INC, 59 TEMPLEHILL ROAD BRAMPTON ON L6R3S4 CANADA
MALWA TRANSPORT INC (INDIANAPOLIS IN)   OR CAPITAL DEPOT 8930 N WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
MALWA TRANSPORT LTD.                    1326 DANHOF DRIVE BOLINGBROOK IL 60490
MAM BABY                                ATTN: JOANA PITRE GEODIS PO BOX 2208 BRENTWOOD TN 37024
MAMADO TRUCKING INC                     OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
MAMBA LOGISTICS LLC                     OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
MAMBA TRANS INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MAMEBOUSSO LOGISTICS INC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MAMMATO, ANDREW                         ADDRESS ON FILE
MAMMEN, BRYAN                           ADDRESS ON FILE
MAMMOTH HAULING INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
MAMMOTH TRANSPORT LLC                   OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
MAMOU TRANSPORT LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAN & HELEN TRUCK LINES LTD             12111 82 AVE SURREY BC V3W3E4 CANADA
MAN WITH A VAN                          2700 HIKES LN LOUISVILLE KY 40218
MANAC INC                               270 CHEMIN DU TREMBLAY BOUCHERVILLE QC J4B5X9 CANADA
MANAGEMENT LABOR PENSION & WELFARE FUND 358 NEW DORP LANE 1ST FLOOR STATEN ISLAND NY 10306
MANAGEMENT LABOR PENSION & WELFARE FUND LOCAL 1730 ILA 358 NEW DORP LANE 1ST FLOOR STATEN ISLAND NY 10306
MANAGEMENT LABOR PENSION FUND LOCAL     C/O I.ESHAFFER & CO, PO BOX 1028 TRENTON NJ 08628
1730
MANAGEMENT LABOR WELFARE &              PENSION FUNDS - LOCAL 1730 ILA, 830 BEAR TAVERN ROAD WEST TRENTON NJ
                                        08628-1020
MANAGEMENT LABOR WELFARE LOCAL 1730 ILA C/O I.E SHAFFER & COMPANY, PO BOX 1028 TRENTON NJ 08628
MANAGEMENT-LABOR PENSION                FUND LOCAL 1730 ILA, 830 BEAR TAVERN RD WEST TRENTON NJ 08628
MANAMED                                 5240 W. CHARLESTON BLVD. LAS VEGAS NV 89146
MANANT LLC                              OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
MANARINO, CHRISTOPHER                   ADDRESS ON FILE
MANART HIRSCH CO INC                    314 HENDRICKSON AVE LYNBROOK NY 11563
MANAS EXPRESS CORP                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MANAS, WILLIAM                          ADDRESS ON FILE
MANASSAH, JON                           ADDRESS ON FILE
MANATY TRANSPORT LLC                    OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MANAUSA, SCOTT-LEE                      ADDRESS ON FILE
MANBECK, ANDREW                         ADDRESS ON FILE
MANCHAME INTERIANO, ALEXIS              ADDRESS ON FILE
MANCHAS TRANSPORT LLC                   OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
MANCHESTER TRUCK CENTER                 911 BURRINGTON RD MANCHESTER IA 52057
MANCHESTER TRUCKING CORP LLC            19176 HALL RD STE 125 CLINTON TWP MI 48038
MANCHESTERUNITEDD LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MANCHINE JR, EDWARD                     ADDRESS ON FILE
MANCILLA, JOSE                          ADDRESS ON FILE
MANCILLA, MARCO                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1187 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1196 of 2156

Claim Name                           Address Information
MANCILLA, RODOLFO                    ADDRESS ON FILE
MANCILLAS TRANSPORTATION LLC         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MANCILLLA, JUAN                      ADDRESS ON FILE
MANCKA TRANSPORT INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MANCUSO, CORY                        ADDRESS ON FILE
MANCUSO, JOHN                        ADDRESS ON FILE
MANCUSO, MARK                        ADDRESS ON FILE
MAND FREIGHT WORKS LLC               24 DURHAM DRIVE COLUMBUS NJ 08022
MAND TRANSPORT                       15225 BROOKSTONE ST FONTANA CA 92336
MAND TRUCKING LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
MANDALAY FREIGHT LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MANDALAY FREIGHT LLC                 OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
MANDEE HENNESSEY                     ADDRESS ON FILE
MANDER LION TRANS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MANDER TRUCKING, INC.                2364 SOUTH HIGHLAND AVE SANGER CA 93657
MANDERY, JONATHAN                    ADDRESS ON FILE
MANDES, JULIAN                       ADDRESS ON FILE
MANDEVILLE, BONNIE                   ADDRESS ON FILE
MANDIA, MATTHEW                      ADDRESS ON FILE
MANDO TRUCKING INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MANDUJANO ROJAS, ANDRES              ADDRESS ON FILE
MANE INC.                            ATTN: KIM ROEDER 2501 HENKLE DR LEBANON OH 45036
MANE, MORU                           ADDRESS ON FILE
MANEAFAIGA, LORENZO                  ADDRESS ON FILE
MANESS TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MANESS, JOEL                         ADDRESS ON FILE
MANESS, ROGER                        ADDRESS ON FILE
MANG, JOHNNY                         ADDRESS ON FILE
MANGALAM MANAGEMENT                  OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
MANGAN, KAITLIN                      ADDRESS ON FILE
MANGAN, KAITLIN                      ADDRESS ON FILE
MANGANO, MATTHEW                     ADDRESS ON FILE
MANGARERO, LYRIC                     ADDRESS ON FILE
MANGAS, JOSEPH                       ADDRESS ON FILE
MANGAT BROS TRUCKING INC             13352 MUSCATEL STREET HESPERIA CA 92344
MANGAT CARRIERS INC                  145 KINCARDINE STREET KLEINBURG ON L4H 4J3 CANADA
MANGAT GROUP INC                     OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL 60197
MANGAT TRANSPORT INC                 4038 STUBBINGTON LN INDIANAPOLIS IN 46239
MANGAT TRUCK LINE INC                13378 MUSCATEL ST HESPERIA CA 92344
MANGES, CURT                         ADDRESS ON FILE
MANGES, DONALD E                     ADDRESS ON FILE
MANGINI, ROBERT                      ADDRESS ON FILE
MANGO TREE TRUCKING INC              13236 N 7TH ST STE 4-248 PHOENIX AZ 85022
MANGOLD, BRYAN                       ADDRESS ON FILE
MANGONES, CARL-HENRY                 ADDRESS ON FILE
MANGOS TRANSPORTATION                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MANGOS TRUCKING LLC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
MANGROVE TRANSPORTATION INC          16018 ADELANTE STREET UNIT D IRWINDALE CA 91702
MANGRUM, DONNA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1188 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1197 of 2156

Claim Name                              Address Information
MANGRUM, WAYNE                          ADDRESS ON FILE
MANGSY, PHAYROD                         ADDRESS ON FILE
MANGUMS INC                             PO BOX 7177 WILSON NC 27895
MANGUMS TOWING & ROAD SERVICE           PO BOX 7177 WILSON NC 27895
MANGUMS TOWING INC                      PO BOX 7177 WILSON NC 27893
MANGUS, LAWRENCE J                      ADDRESS ON FILE
MANHARD, MATTHEW                        ADDRESS ON FILE
MANHATTAN ASSOCIATES, INC.              P.O. BOX 405696 ATLANTA GA 30384
MANHATTAN LOGISTICS GROUP INC           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MANI TRANSPORT LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MANI, ANITA                             ADDRESS ON FILE
MANIANI TRANSPORT INC                   OR T-PINE FINANCIAL SERVICES 6050 DIXIE ROAD MISSISSAUGA QC L5T1A6 CANADA
MANIFEST TRANSPORTS AND LOGISTICS LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MANIFOLD, JOHN                          ADDRESS ON FILE
MANIGAULT, LOUIS                        ADDRESS ON FILE
MANIGO, CRAIG                           ADDRESS ON FILE
MANILA XPRESS                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MANILA, SHANE                           ADDRESS ON FILE
MANIS, GARY                             ADDRESS ON FILE
MANIS, MICHAEL                          ADDRESS ON FILE
MANISON, AGGREY                         ADDRESS ON FILE
MANITOBA                                C/O OFFICE OF THE FIRE COMMISSIONER 508-401 YORK AVENUE WINNIPEG MB R3C 0P8
                                        CANADA
MANITOBA HYDRO                          360 PORTAGE AVENUE WINNIPEG MB R3C 0G8 CANADA
MANITOBA PUBLIC INSURANCE               234 DONALD ST BOX 6300 WINNIPEG MB R3C 4A4 CANADA
MANITOBA PUBLIC INSURANCE               ROOM 929 - EATON PLACE 234 DONALD ST WINNIPEG MB R3C 4A4 CANADA
MANITOBA TRUCKING ASSOCIATION           25 BUNTING ST WINNIPEG MB R2X 2P5 CANADA
MANITOULIN GROUP OFCOMPANIES            154 HWY 540B PO BOX 390 GORE BAY ON P0P 1H0 CANADA
MANITOULIN TRANSPORT INC                PO BOX 390 GORE BAY ON P0P 1H0 CANADA
MANITOULIN TRANSPORT INC                PO BOX 390, 154 HWY 540B GORE BAY ON P0P 1H0 CANADA
MANITOWOC ICE INC                       2100 SOUTH 26TH ST MANITOWOC WI 54220
MANITOWOC ICE INC                       2110 S 26TH ST MANITOWOC WI 54220
MANJINDER SINGH SOLE MBR                ADDRESS ON FILE
MANKES, GARY                            ADDRESS ON FILE
MANKINS, DAVID                          ADDRESS ON FILE
MANKINS, KELLEY                         ADDRESS ON FILE
MANLEY, BOOKER                          ADDRESS ON FILE
MANLEY, BOOKER T                        ADDRESS ON FILE
MANLEY, JAMES                           ADDRESS ON FILE
MANLEY, KEITH                           ADDRESS ON FILE
MANLEY, ROBERT                          ADDRESS ON FILE
MANLEY, THOMAS                          ADDRESS ON FILE
MANLEY, TORRENCE                        ADDRESS ON FILE
MANLEY, WILLIAM S                       ADDRESS ON FILE
MANLEYMEN TRUCKING LLC                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
MANLEYS BASICS                          152 KENDALL ST POINT EDWARD ON N7V 4G5 CANADA
MANLY, DANIEL                           ADDRESS ON FILE
MANN & HUMMEL                           1551 MOUNT OLIVE CHURCH RD GASTONIA NC 28052
MANN AND BAL TRUCKING                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                  Page 1189 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1198 of 2156

Claim Name                          Address Information
MANN BROS LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MANN BROS LOGISTICS INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MANN BROS TRUCKING LLC              PO BOX 545, 207 BRODIE CT MULLICA HILL NJ 08062
MANN CARRIER LLC                    6129 80TH AVE NE MARYSVILLE WA 98270
MANN EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MANN HUMMEL PUROLATOR FILTERS       GOODMAN REICHWALD, PO BOX 26067 MILWAUKEE WI 53226
MANN PAVING                         849 W. TROY AVE INDIANAPOLIS IN 46225
MANN TRANSPORT LLC                  20506 TRANCAS CT CYPRESS TX 77433
MANN TRUCKING (MC784524)            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MANN TRUCKING (STOCKTON CA)         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MANN&HUMMEL                         1 WIX WAY GASTONIA NC 28054
MANN, ASIA                          ADDRESS ON FILE
MANN, ASIA                          ADDRESS ON FILE
MANN, BRANDON                       ADDRESS ON FILE
MANN, CURT                          ADDRESS ON FILE
MANN, DAVID                         ADDRESS ON FILE
MANN, GUILFORD                      ADDRESS ON FILE
MANN, JAMES                         ADDRESS ON FILE
MANN, JEFFREY                       ADDRESS ON FILE
MANN, JERRY                         ADDRESS ON FILE
MANN, JOHN                          ADDRESS ON FILE
MANN, JOHN                          ADDRESS ON FILE
MANN, MARK                          ADDRESS ON FILE
MANN, MICHAEL                       ADDRESS ON FILE
MANN, MICHAEL                       ADDRESS ON FILE
MANN, MILTON                        ADDRESS ON FILE
MANN, MYRON                         ADDRESS ON FILE
MANN, REAGAN                        ADDRESS ON FILE
MANN, ROBERT                        ADDRESS ON FILE
MANN, ROBERT                        ADDRESS ON FILE
MANN, ROLAND                        ADDRESS ON FILE
MANN, STEPHEN                       ADDRESS ON FILE
MANN, THERESA                       ADDRESS ON FILE
MANN, TIMOTHY W                     ADDRESS ON FILE
MANN, WILLIAM                       ADDRESS ON FILE
MANNA LOGISTICS LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MANNA TRANSPORTATION LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MANNA, STEVEN                       ADDRESS ON FILE
MANNA, STEVEN A                     ADDRESS ON FILE
MANNAT TRUCKING INC                 OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
MANNAT TRUCKING LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
MANNER TRUCKING SERVICE             410 CENTRAL ST ORLAND CA 95963
MANNERING, WILLIAM                  ADDRESS ON FILE
MANNERS, MATTHEW                    ADDRESS ON FILE
MANNERS, RODNEY                     ADDRESS ON FILE
MANNING TRANSFER, INC.              2775 101 ST AVENUE N.E. BLAINE MN 55449
MANNING, ADRIAN                     ADDRESS ON FILE
MANNING, ALFONSO                    ADDRESS ON FILE
MANNING, CHRISTINA                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1190 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1199 of 2156

Claim Name                          Address Information
MANNING, DAVID                      ADDRESS ON FILE
MANNING, DERRICK                    ADDRESS ON FILE
MANNING, FRANK J                    ADDRESS ON FILE
MANNING, GREG                       ADDRESS ON FILE
MANNING, JEREMY                     ADDRESS ON FILE
MANNING, JEREMY                     ADDRESS ON FILE
MANNING, MICHAEL                    ADDRESS ON FILE
MANNING, NATHAN                     ADDRESS ON FILE
MANNING, RASHEA                     ADDRESS ON FILE
MANNING, SHAWN                      ADDRESS ON FILE
MANNING, STEVEN                     ADDRESS ON FILE
MANNING, SUSAN C                    ADDRESS ON FILE
MANNING, TROY                       ADDRESS ON FILE
MANNION, JOHN                       ADDRESS ON FILE
MANNISI, THOMAS                     ADDRESS ON FILE
MANNIX, ETHAN                       ADDRESS ON FILE
MANNS LAWNCARE                      5 HUTTON ST WINNIPEG MB R2V 4K5 CANADA
MANNS WRECKER SERVICE               2100 HIGHWAY 70 E JACKSON TN 38305
MANNS, DARWIN                       ADDRESS ON FILE
MANNS, DONYALE                      ADDRESS ON FILE
MANNS, KEVIN                        ADDRESS ON FILE
MANNS, LES                          ADDRESS ON FILE
MANNS, LESLEY R                     ADDRESS ON FILE
MANNS, TIMOTHY                      ADDRESS ON FILE
MANNY TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MANO FREIGHT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MANOLARAKIS, NICHOLAS S             ADDRESS ON FILE
MANOR CHEMICAL CO INC               6901 HEEGE RD ST LOUIS MO 63123
MANOR, DAQUAN                       ADDRESS ON FILE
MANOR, HENRY M                      ADDRESS ON FILE
MANOTTO EXPRESS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MANPOWER - HUNTINGTON               PO BOX 385 HUNTINGTON WV 25708
MANPRASERT, DAVID                   ADDRESS ON FILE
MANRIQUE, KLEABER                   ADDRESS ON FILE
MANRIQUEZ, THOMAS                   ADDRESS ON FILE
MANSARAY BROTHERS LOGISTICS LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MANSELL, ERIC                       ADDRESS ON FILE
MANSFIELD DICKERSON, BRNEL          ADDRESS ON FILE
MANSFIELD OIL CO                    C/O RXO CORPORATE SOLUTIONS LLC PO BOX 736945 DALLAS TX 75373
MANSFIELD OIL COMPANY               MANSFIELD OF CANADA ULC PO BOX 15866 STN A TORONTO ON M5W 1C1 CANADA
MANSFIELD OIL COMPANY               PO BOX 638544 CINCINNATI OH 45263-8544
MANSFIELD OIL COMPANY               MOBILE FUEL, PO BOX 934067 ATLANTA GA 31193
MANSFIELD OIL COMPANY               PO BOX 733706 DALLAS TX 75373
MANSFIELD, CLAY                     ADDRESS ON FILE
MANSFIELD, CLAY A                   ADDRESS ON FILE
MANSOFF, DON                        ADDRESS ON FILE
MANSON, DAVE                        ADDRESS ON FILE
MANSON, NAITHAN                     ADDRESS ON FILE
MANSON, STEVEN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1191 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1200 of 2156

Claim Name                             Address Information
MANSOOR TRANSPORT INC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MANSOUR, JIMEL L                       ADDRESS ON FILE
MANSUR LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MANSUR TRUCKING, INC.                  PO BOX 2650 JANESVILLE WI 53547-2650
MANTA FREIGHT LLC                      OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101-1394
MANTA, LEO                             ADDRESS ON FILE
MANTE FREIGHT INC                      OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MANTEJ TRANSPORT INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MANTEJ TRUCKING LLC                    2609 S 275TH PL FEDERAL WAY WA 98003
MANTHAN JAISWAL                        ADDRESS ON FILE
MANTHEI, GLEN R                        ADDRESS ON FILE
MANTLE, ANDREW                         ADDRESS ON FILE
MANTLE, ANDREW                         ADDRESS ON FILE
MANTOOTH, STANLEY                      ADDRESS ON FILE
MANTRANS INC                           4895 ELESTER DRIVE SAN JOSE CA 95124
MANU TANU TRUCKING                     22203 WITCHHAZEL AVE MORENO VALLEY CA 92553
MANU, KAPIOLANI                        ADDRESS ON FILE
MANU, LESINALI                         ADDRESS ON FILE
MANU, VALENCIA                         ADDRESS ON FILE
MANUEL CONTRERAS                       ADDRESS ON FILE
MANUEL CONTRERAS                       ADDRESS ON FILE
MANUEL FLORES CONCRETE CONSTRUCTION,   509 A EMERSON AVE. CALEXICO CA 92231
INC
MANUEL GAXIOLA                         ADDRESS ON FILE
MANUEL H SILVA                         ADDRESS ON FILE
MANUEL J URENA                         ADDRESS ON FILE
MANUEL ORTIZ                           ADDRESS ON FILE
MANUEL VALLEJO                         ADDRESS ON FILE
MANUEL VALLEJO                         ADDRESS ON FILE
MANUEL VALLEJO                         ADDRESS ON FILE
MANUEL, AARON                          ADDRESS ON FILE
MANUEL, PHILLIP                        ADDRESS ON FILE
MANUEL, STACY                          ADDRESS ON FILE
MANUELS TRUCKING                       4328 1/2 LIMA ST LOS ANGELES CA 90011
MANULIFE FINANCIAL                     PO BOX 396 WATERLOO ON N4S 0A7 CANADA
MANUS, EDWARD                          ADDRESS ON FILE
MANUTEL                                3110 RUE DE MINIAC SAINT-LAURENT QC H4S 1N5 CANADA
MANUTEL                                2087 AV CHARTIER DORVAL QC H9P 1H3 CANADA
MANVILLE, MARK                         ADDRESS ON FILE
MANWARING, LAWSON                      ADDRESS ON FILE
MANWILLER, DAVID                       ADDRESS ON FILE
MANZANA PRODUCTS                       ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
MANZANARES, ELUID                      ADDRESS ON FILE
MANZANO ARREOLA, DANIEL                ADDRESS ON FILE
MANZELLA, ANTHONY                      ADDRESS ON FILE
MANZELLA, FRANK                        ADDRESS ON FILE
MANZELLA, GERALD                       ADDRESS ON FILE
MANZO, MARTIN                          ADDRESS ON FILE
MANZO, MICHAEL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1192 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1201 of 2156

Claim Name                              Address Information
MANZUETA, JOSE                         ADDRESS ON FILE
MAO TRANSPORTATION LLC                 512 S MAIN AVE SCRANTON PA 18504
MAP LOGISTICS, LLC                     2600 N WEST RIVER ROAD SANFORD MI 48657
MAP TRUCKING LLC                       7108 PROSPECT CHURCH RD TRLR 23 THOMASVILLE NC 27360-8879
MAPEI CORP                             1851 NW 22ND ST FORT LAUDERDALE FL 33311
MAPEL, DAN                             ADDRESS ON FILE
MAPKO TRANS INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MAPLE EXPRESS                          180 RUE YVONNE LACROIX BOISBRIAND QC J7G 0A5 CANADA
MAPLE EXPRESS                          OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL, PO BOX 741791 LOS
                                       ANGELES CA 90074
MAPLE, JOSHUA                          ADDRESS ON FILE
MAPLE, MARVIN                          ADDRESS ON FILE
MAPLECREEK TRANSPORT LTD               OR SMART FLEET FUNDING INC, PO BOX 61021 OAKVILLE ON L6J 6X0 CANADA
MAPLES EXPRESS DELIVERY SERVICES LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAPLES, RANDALL                        ADDRESS ON FILE
MAPP CASTER AND SUPPLY INC             ATTN: JON MARTINEZ 320 N SAMPSON ST HOUSTON TX 77003
MAPP, ANTONIO                          ADDRESS ON FILE
MAPPS TRUCKING, LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAPS TRUCKING INC                      OR FRONTIER FUNDING, INC, PO BOX 24245 OVERLAND PARK KS 66285
MAPULA LOGISTICS LLC                   2331 SW 5TH ST OCALA FL 34471
MAR EXPRESS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAR LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAR LOGISTICS SERVICES                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MAR-BAL INC                            787 RENAISSANCE PKWY PAINESVILLE OH 44077
MARA LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MARA TRANSPORT, INC.                   1249 HART AVENUE UNION IA 50258
MARABLE, BRIAN                         ADDRESS ON FILE
MARABLE, CHRIS                         ADDRESS ON FILE
MARAL EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARALDO, RYAN                          ADDRESS ON FILE
MARAM LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARANAN, ALLAN                         ADDRESS ON FILE
MARANATHA TRUCK LINES LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MARANDO, PERI                          ADDRESS ON FILE
MARANELL, RICKY                        ADDRESS ON FILE
MARANELLO SPORTS                       ATTN: PETER MICIELI PARTS DEPT 200 AUTO PARK CIR VAUGHAN ON L4L 8R1 CANADA
MARAS, MARSO                           ADDRESS ON FILE
MARASPEED LOGISTICS INC                12057 FLINT DR HOMER GLEN IL 60491
MARAT EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MARATHON AROUND THE CLOCK LOGISTICS LLC OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MARATHON COMPANIES                     MARATHON COMPANIES, 3310 N BENZING RD ORCHARD PARK NY 14127
MARATHON COUNTY TREASURER              AUDREY JENSEN, 500 FORREST ST. WAUSAU WI 54403-5568
MARATHON EXPRESS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MARATHON FREIGHT LLP                   2131 VALTERRA VISTA WAY VALRICO FL 33594
MARATHON HOTSHOT SERVICES LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARATHON INDUSTRIES INC                ATTN: RICK COURTNEY 25667 SPRINGBROOK AVE SANTA CLARITA CA 91350
MARATHON TRANSPORT LLC (ATLANTA GA)    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MARATHON TRANSPORT LLC (MC1075371)     4427 BLACKBERRY RD SARCOXIE MO 64862
MARATHON TRANSPORT LLC (MC1105633)     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 1193 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1202 of 2156

Claim Name                           Address Information
MARATHON TRANSPORT NC LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MARATHON TRUCK BODIES                ATTN: RICK COURTNEY 25667 SPRINGBROOK AVE SANTA CLARITA CA 91350
MARATHON TRUCK LINES LLLP            OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
MARATHON TRUCKING                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MARATHON TRUCKING (MC1102524)        OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
MARAVILLA CUBIAS, JOSE D             ADDRESS ON FILE
MARAVILLAS, GONZALO                  ADDRESS ON FILE
MARAVILLAS, PATRICIA                 ADDRESS ON FILE
MARAZZI, GREGORY R                   ADDRESS ON FILE
MARBAR LOGISTICS INC                 OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MARBETH, SHANICE                     ADDRESS ON FILE
MARBLE, ERIC                         ADDRESS ON FILE
MARBURGER, TODD                      ADDRESS ON FILE
MARBURY, GREGORY                     ADDRESS ON FILE
MARC M PACIONE                       ADDRESS ON FILE
MARC T BAIN                          ADDRESS ON FILE
MARCANO, JOSUE                       ADDRESS ON FILE
MARCEL CHINEK LLC                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MARCEL CONCEPTS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MARCEL LOGISTICS LLC                 OR UNIFACT CAPITAL FUNDING LLC 2913 SALTWOOD CT CELINA TX 75009
MARCELINO CANTU III                  ADDRESS ON FILE
MARCELINO CANTU III                  ADDRESS ON FILE
MARCELL HOEMSEN                      ADDRESS ON FILE
MARCELLINO, DAVID                    ADDRESS ON FILE
MARCELLINO, SANDRA                   ADDRESS ON FILE
MARCELLO M MOORE                     ADDRESS ON FILE
MARCELLUS PINCKNEY, CAMERON          ADDRESS ON FILE
MARCELO, JORGE                       ADDRESS ON FILE
MARCH TRANS INC                      OR G SQUARED FUNDIN LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MARCH, CRYSTAL                       ADDRESS ON FILE
MARCH, ROY                           ADDRESS ON FILE
MARCHANT, STEPHEN                    ADDRESS ON FILE
MARCHBANKS TRUCKING                  OR TAB BANK, PO BOX 150290 OGDEN UT 84415
MARCHEL, JON                         ADDRESS ON FILE
MARCHESE, MICHAEL F                  ADDRESS ON FILE
MARCHESSAULT, STEVEN                 ADDRESS ON FILE
MARCHETTI, DAWN                      ADDRESS ON FILE
MARCHETTI, MICHAEL                   ADDRESS ON FILE
MARCHETTO, MICHAEL                   ADDRESS ON FILE
MARCHIONE, CONNOR                    ADDRESS ON FILE
MARCIAL TRUCKING INC                 11430 TIARA WAY E JACKSONVILLE FL 32223
MARCIAL TRUCKING INC                 ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320
MARCIEL, JERI                        ADDRESS ON FILE
MARCIEL, THOMAS                      ADDRESS ON FILE
MARCO COMPANY                        ATTN: VIRGINIA HUTSELL 1000 TERMINAL ROAD, STE 150 FT WORTH TX 76106
MARCO INDUSTRIES INC                 C/O MAR-CO EQUIPMENT CO 130 ATLANTIC STREET POMONA CA 91768
MARCO RELIABLE TRANSPORT LLC         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MARCO, ELIJAH                        ADDRESS ON FILE
MARCOLINI, FRANCIS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1194 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1203 of 2156

Claim Name                           Address Information
MARCOS TRANS INC                     OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL, PO BOX 741791 CHICAGO
                                     IL 60674-0411
MARCOS TRANSPORT LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MARCRUM, DONALD                      ADDRESS ON FILE
MARCUS A QUINN                       ADDRESS ON FILE
MARCUS A QUINN                       ADDRESS ON FILE
MARCUS D AUSTIN                      ADDRESS ON FILE
MARCUS L JONES                       ADDRESS ON FILE
MARCUS SHANNON                       ADDRESS ON FILE
MARCUS, ADRIANA                      ADDRESS ON FILE
MARCUS, BRANDON                      ADDRESS ON FILE
MARCUS, JOHN                         ADDRESS ON FILE
MARCUS, JOHN                         ADDRESS ON FILE
MARCUS, LUCIANA                      ADDRESS ON FILE
MARDEL OMNI LLC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MARDEN LLC                           OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
MARDI GRASS LAWN CARE                1294 CHEVRIER BLVD WINNIPEG MB R3T 1Y3 CANADA
MARDIS, JAMES                        ADDRESS ON FILE
MARDORF, TERESA                      ADDRESS ON FILE
MAREK GROUP                          ATTN: JEREMY PREISER W228 N821 WESTMOUND DR WAUKESHA WI 53186
MARENGO TRANSPORT LLC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MARENTES, JESSICA                    ADDRESS ON FILE
MARES, ESTEBAN                       ADDRESS ON FILE
MARES, EVAN                          ADDRESS ON FILE
MARES, HERIBERTO I                   ADDRESS ON FILE
MARES, JOE                           ADDRESS ON FILE
MARES, MONICA                        ADDRESS ON FILE
MARES, SCOTT                         ADDRESS ON FILE
MARF TRANSPORT SERVICES LLC          OR AEROFUND FINANCIAL INC. 6910 SANTA TERESA BLVD SAN JOSE CA 95119
MARGARET A MERKERT                   ADDRESS ON FILE
MARGARET BAINBRIDGE                  ADDRESS ON FILE
MARGARET MURTAS                      ADDRESS ON FILE
MARGEN TRUCKING                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MARGENTINO, JENNIFER                 ADDRESS ON FILE
MARGERET FARNON                      ADDRESS ON FILE
MARGOTTA, ANTHONY                    ADDRESS ON FILE
MARIA & MICHAEL INC                  8831 MURIETTA AVE PANORAMA CITY CA 91402
MARIA BARAJAS                        ADDRESS ON FILE
MARIA C GRASTY                       ADDRESS ON FILE
MARIA MCENEANEY                      ADDRESS ON FILE
MARIA ONTIVEROS                      ADDRESS ON FILE
MARIA ONTIVEROS                      ADDRESS ON FILE
MARIA R RAMIREZ                      ADDRESS ON FILE
MARIA R RAMIREZ                      ADDRESS ON FILE
MARIA SALATA                         ADDRESS ON FILE
MARIAH STEAD                         ADDRESS ON FILE
MARIAM SERVICE LLC                   OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
MARIANA PALACIOS-SUAREZ              ADDRESS ON FILE
MARIANAS LOGISTICS INC               489 HIGHWAY 8 DUNDAS ON L9H 5E2 CANADA



Epiq Corporate Restructuring, LLC                                                            Page 1195 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1204 of 2156

Claim Name                              Address Information
MARIANI, DONALD                         ADDRESS ON FILE
MARIBETH B CORTES                       ADDRESS ON FILE
MARIC ENTERPRISES LLC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MARICOPA COUNTY TREASURER               PO BOX 52133 PHOENIX AZ 85072
MARIEL TOLLINCHI CUST                   ADDRESS ON FILE
MARIELLE TOLENTINO                      ADDRESS ON FILE
MARIETTA POWER WATER                    675 NORTH MARIETTA PKWY NE MARIETTA GA 30060
MARIETTA WRECKER SERVICE                950 ALLGOOD RD NE MARIETTA GA 30062
MARIGOLD LOGISTICS                      452 OZERNA ROAD NW EDMONTON AB T5Z 3R1 CANADA
MARIGOLD TRANSPORTATION SOLUTIONS LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARILIN CONARD                          ADDRESS ON FILE
MARILYN MCKENZIE                        ADDRESS ON FILE
MARIN AND KENIA LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARIN MUNOZ, JOSE                       ADDRESS ON FILE
MARIN PACIFIC INTERNATIONAL LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MARIN, DAVID                            ADDRESS ON FILE
MARIN, MICHELLE                         ADDRESS ON FILE
MARINDER KUMAR                          ADDRESS ON FILE
MARINER DISTRIBUTION, INC.              PO BOX 1052 BEL AIR MD 21014
MARINERO, JAYCEE                        ADDRESS ON FILE
MARINES, MICHAEL                        ADDRESS ON FILE
MARINGER, BERNARD                       ADDRESS ON FILE
MARINI, PATRICIA                        ADDRESS ON FILE
MARINO A WALTON                         ADDRESS ON FILE
MARINO TRANSPORT LLC                    9528 BLUE KNOLL CT CHARLOTTE NC 28215
MARINO, LINDA                           ADDRESS ON FILE
MARINO, MICHAEL                         ADDRESS ON FILE
MARINO, RALPH                           ADDRESS ON FILE
MARINS TRANSPORT & LOGISTICS LLC        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MARIO A ACEVEDO                         ADDRESS ON FILE
MARIO A CANO                            ADDRESS ON FILE
MARIO A SANCHEZ                         ADDRESS ON FILE
MARIO BRECEDA III                       ADDRESS ON FILE
MARIO CASTILLO                          ADDRESS ON FILE
MARIO CORONA                            ADDRESS ON FILE
MARIO CRUZ ROSAS                        ADDRESS ON FILE
MARIO INDUSTRIES                        ATTN: JACKIE BLANK 2490 PATTERSON AVE SW ROANOKE VA 24016
MARIO J FERNANDEZ                       ADDRESS ON FILE
MARIO MARTINEZ                          ADDRESS ON FILE
MARIO PENA, INC.                        C\O LIC. U.S. CUSTOMS BROKER & BONDED WAREHOUSE, 14212 ATLANTA DRIVE LAREDO TX
                                        78045
MARIO THOMAS                            ADDRESS ON FILE
MARIO VIENS                             ADDRESS ON FILE
MARION CENTER SUPPLY                    517 CHURCH STREET MARION CENTER PA 15759
MARION COUNTY TAX COLLECTOR             PO BOX 970 OCALA FL 34478
MARION COUNTY TREASURER                 200 E WASHINGTON ST STE 1001 INDIANAPOLIS IN 46204
MARION COUNTY TREASURER                 PO BOX 6145 INDIANAPOLIS IN 46206
MARION COUNTY TREASURER                 PO BOX 6145 INDIANAPOLIS IN 46206-6145
MARION HIGH SCHOOL                      750 W. 26TH ST. MARION IN 46953



Epiq Corporate Restructuring, LLC                                                                  Page 1196 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1205 of 2156

Claim Name                               Address Information
MARION TOWING & REPAIR LLC               1601 E BROOKS RD. MEMPHIS TN 38116
MARION, JAMES                            ADDRESS ON FILE
MARIONA, JESSE                           ADDRESS ON FILE
MARIOS TRUCKING SERVICES INC.            319 JENNIFER LANE ROSELLE IL 60172
MARIOTTI, MARIO                          ADDRESS ON FILE
MARIPOMA ENTERPRISE LLC                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MARIPOSA LABS                            270 E 50TH ST BOISE ID 83714
MARIS, JERRY                             ADDRESS ON FILE
MARISCAL, JAIME                          ADDRESS ON FILE
MARISSA MIRANDA                          ADDRESS ON FILE
MARISSA O FLORES                         ADDRESS ON FILE
MARITIME-ONTARIO FREIGHT LINES LIMITED   1890 BARTREL ST OTTAWA ON K1B 5M8 CANADA
MARITIME-ONTARIO FREIGHT LINES LIMITED   1 MARITIME ONTARIO BLVD BRAMPTON ON L6S 6G4 CANADA
MARITT, CLEVE                            ADDRESS ON FILE
MARIUS EXPRESS CORP                      PO BOX 5687 WOODRIDGE IL 60517
MARIUS KUILA LOGISTICS LLC               OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
MARIZA EXPRESS LLC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MARJORIE HOBBS                           ADDRESS ON FILE
MARK & CO INC                            PO BOX 21002 EUGENE OR 97402
MARK A BELSKY                            ADDRESS ON FILE
MARK A GLADFELTER                        ADDRESS ON FILE
MARK A HODYNA                            ADDRESS ON FILE
MARK A HODYNA                            ADDRESS ON FILE
MARK A IACONO                            ADDRESS ON FILE
MARK A LONG                              ADDRESS ON FILE
MARK A MARQUARDT                         ADDRESS ON FILE
MARK A MCCALL                            ADDRESS ON FILE
MARK A RIVORD                            ADDRESS ON FILE
MARK A SELDERS                           ADDRESS ON FILE
MARK A SLAVIN                            ADDRESS ON FILE
MARK A STEVENS                           ADDRESS ON FILE
MARK A ZARLINGO                          ADDRESS ON FILE
MARK AGNOR                               ADDRESS ON FILE
MARK BANGIT                              ADDRESS ON FILE
MARK BENNETT                             ADDRESS ON FILE
MARK C CUMMINS                           ADDRESS ON FILE
MARK C STANSBURY                         ADDRESS ON FILE
MARK C. POPE ASSOCIATES, INC.            4910 MARTIN COURT SE SMYRNA GA 30082
MARK D BOEHMER                           ADDRESS ON FILE
MARK DECH                                ADDRESS ON FILE
MARK DECH                                ADDRESS ON FILE
MARK DOMAKO - DE                         ADDRESS ON FILE
MARK E DRIVER                            ADDRESS ON FILE
MARK E KOGUT                             ADDRESS ON FILE
MARK E MASHBURN                          ADDRESS ON FILE
MARK E SEABORN                           ADDRESS ON FILE
MARK GERDES                              ADDRESS ON FILE
MARK GIROLA                              ADDRESS ON FILE
MARK GT KNOTT                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1197 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1206 of 2156

Claim Name                           Address Information
MARK H LEVINS                        ADDRESS ON FILE
MARK HAUL LOGISTICS LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MARK HOGAN TRUCKING LLC              OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
MARK IV VALLEY VIEWLLC               C/O MARIA GOLIAC 4450 MACARTHUR BLVD FL 2 NEWPORT BEACH CA 92660-2045
MARK J ERDMANN                       ADDRESS ON FILE
MARK J PFAFF                         ADDRESS ON FILE
MARK K JOHNSON                       ADDRESS ON FILE
MARK M JEFFERDS                      ADDRESS ON FILE
MARK MITCHELL                        ADDRESS ON FILE
MARK NUELLE TRUCKING, L.L.C.         414 SE 1221 RD KNOB NOSTER MO 65336
MARK O LONG                          ADDRESS ON FILE
MARK OGREN                           ADDRESS ON FILE
MARK ONE TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARK P THOMAS                        ADDRESS ON FILE
MARK RICHARDSON                      ADDRESS ON FILE
MARK RIES TRUCKING INC.              3926 WICKIUP HILL RD TODDVILLE IA 52341
MARK S ALLEN                         ADDRESS ON FILE
MARK SCHOFIELD                       ADDRESS ON FILE
MARK T GARCIA                        ADDRESS ON FILE
MARK T LIVINGSTON                    ADDRESS ON FILE
MARK TRADER                          ADDRESS ON FILE
MARK V BILANZIC                      ADDRESS ON FILE
MARK V TELLEZ                        ADDRESS ON FILE
MARK W TROUTT                        ADDRESS ON FILE
MARK W WEEDEN                        ADDRESS ON FILE
MARK WILLIAMSON                      ADDRESS ON FILE
MARK, SALVATORE                      ADDRESS ON FILE
MARK-IT EXPRESS LOGISTICS LLC        13555 MAIN ST LEMONT IL 60439
MARK. BENNETT                        ADDRESS ON FILE
MARKA TRANSPORT INC                  PO BOX 66 WOOD DALE IL 60191
MARKA TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MARKAM DELIVERIES, LTD CO            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MARKANDA EXPRESS LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MARKAS GROUP INC                     30W282 CLAYMORE LN NAPERVILLE IL 60563
MARKEISHA K. SAVAGE                  C/O: EEOC 1407 UNION AVENUE, SUITE 900 MEMPHIS TN 38104
MARKEL                               TEN PARKWAY NORTH DEERFIELD IL 60015-2526
MARKEL BERMUDA                       MARKEL HOUSE 2 FRONT STREET HAMILTON HM 11 BERMUDA
MARKENSON TRANSPORT LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MARKETING SPECIALTIES INCORPORATED   PO BOX 141 BILLINGS MT 59103
MARKETING TRANSPORT SOLUTIONS LLC    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MARKETSPHERE CONSULTING LLC          PO BOX 30123 OMAHA NE 68103
MARKEY, JOSHUA                       ADDRESS ON FILE
MARKHAM, CARLOS                      ADDRESS ON FILE
MARKIETH T WILLIAMS                  ADDRESS ON FILE
MARKIT NORTH AMERICA, INC.           450 WEST 33RD STREET, 5TH FLOOR NEW YORK NY 10001
MARKIT NORTH AMERICA, INC.           620 8TH AVE 35TH FLOOR NEW YORK NY 10018
MARKLE, DAVID                        ADDRESS ON FILE
MARKLE, SCOTT                        ADDRESS ON FILE
MARKLEY, JACOB                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1198 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1207 of 2156

Claim Name                           Address Information
MARKLEY, JAMES                       ADDRESS ON FILE
MARKO LAW PLLC                       4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
MARKO POLO EXPRESS LLC               OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
MARKO RADIATOR, INC.                 725 W COAL ST SHENANDOAH PA 17976
MARKO TRANSPORT LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MARKO, JEFFREY                       ADDRESS ON FILE
MARKOSKY, TROY                       ADDRESS ON FILE
MARKOTT, RICHARD                     ADDRESS ON FILE
MARKOVITCH, IVAN P                   ADDRESS ON FILE
MARKOWSKI, AMY                       ADDRESS ON FILE
MARKOWSKI, GALE                      ADDRESS ON FILE
MARKS GARAGE DOOR                    8 HAZEL STREET COVENTRY RI 02816
MARKS GARAGE DOOR                    P.O.BOX 229 COVENTRY RI 02816
MARKS NELSON                         ADDRESS ON FILE
MARKS PLUMBING INC                   233 FILLMORE AVE STE 23 TONAWANDA NY 14150
MARKS REDDI ROOTER & PLUMBING        1425 GILSON STREET MADISON WI 53715
MARKS TRANSPORTATION                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MARKS, ANDREW                        ADDRESS ON FILE
MARKS, CHANDLER                      ADDRESS ON FILE
MARKS, DONTARIUS                     ADDRESS ON FILE
MARKS, IBN                           ADDRESS ON FILE
MARKS, JAMIE                         ADDRESS ON FILE
MARKS, JOSHUA                        ADDRESS ON FILE
MARKS, KEVIN                         ADDRESS ON FILE
MARKS, MICHAEL                       ADDRESS ON FILE
MARKS, TODD                          ADDRESS ON FILE
MARKS, WILLIAM                       ADDRESS ON FILE
MARKUL, JERRY                        ADDRESS ON FILE
MARKYS SUPERTOW                      1406 KIMBERLY RD TWIN FALLS ID 83301
MARLENEE, DALLAS                     ADDRESS ON FILE
MARLER, BARRY                        ADDRESS ON FILE
MARLETT, KELLY                       ADDRESS ON FILE
MARLEY RMC II LLC                    4622 PENNSYLVANIA AVENUE SUITE 700 ATTN: ACCOUNTING KANSAS CITY MO 64112
MARLIN BUSINESS BANK                 PO BOX 13604 PHILADELPHIA PA 19101
MARLIN LOGISTICS LLC                 3326 GATEWAY LAKES DR GROVECITY OH 43123
MARLIN SOFTWARE                      DEPT CH 17896 PALATINE IL 60055
MARLIN THOMAS & SON EXCAVATING       141 BEAR RUN RD HOLLIDAYSBURG PA 16648
MARLIN TRUCKING LLC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MARLIN, DOUGLAS                      ADDRESS ON FILE
MARLO S JAMISON                      ADDRESS ON FILE
MARLOCK ELECTRIC, INC.               104 EMMONS ST NEWARK NY 14513
MARLON A ROMERO, INC.                15454 SW 260TH ST HOMESTEAD FL 33032
MARLON TRANSPORTATION LLC            OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
MARLOW, BRADLEY                      ADDRESS ON FILE
MARLOW, JAMES                        ADDRESS ON FILE
MARMIC FIRE & SAFETY CO., INC.       PO BOX 1086 JOPLIN MO 64802
MARMIC FIRE & SAFETY CO., INC.       PO BOX 1939 LOWELL AR 72745
MARMOL, GARVEY                       ADDRESS ON FILE
MARMOLEJO, PHILLIP                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1199 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1208 of 2156

Claim Name                           Address Information
MARNETT, REGINA                      ADDRESS ON FILE
MARNEY, MICHAEL                      ADDRESS ON FILE
MARNOCH, JAMES                       ADDRESS ON FILE
MARNOCH, JAMES                       ADDRESS ON FILE
MARON, RICHARD                       ADDRESS ON FILE
MARONEY, GREG L                      ADDRESS ON FILE
MARONEY, PATRICK                     ADDRESS ON FILE
MAROQAND INC                         8452 SUGAR MAPLE DR APT 105 MASON OH 45040-7455
MAROTI TRANSPORT INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
MARPLE, KENNETH                      ADDRESS ON FILE
MARQUARDT, JENNIFER                  ADDRESS ON FILE
MARQUARDT, MICHAEL                   ADDRESS ON FILE
MARQUARDT, RANDY                     ADDRESS ON FILE
MARQUART, JEFFRY                     ADDRESS ON FILE
MARQUEZ, BRANDON                     ADDRESS ON FILE
MARQUEZ, DIANA                       ADDRESS ON FILE
MARQUEZ, EDGAR                       ADDRESS ON FILE
MARQUEZ, EMILIO                      ADDRESS ON FILE
MARQUEZ, ESMERALDA                   ADDRESS ON FILE
MARQUEZ, FERNANDO                    ADDRESS ON FILE
MARQUEZ, GONZALO                     ADDRESS ON FILE
MARQUEZ, JESUS                       ADDRESS ON FILE
MARQUEZ, JOAQUIN                     ADDRESS ON FILE
MARQUEZ, JUAN M                      ADDRESS ON FILE
MARQUEZ, LUIS                        ADDRESS ON FILE
MARQUEZ, MELESIO                     ADDRESS ON FILE
MARQUEZ, RENE                        ADDRESS ON FILE
MARQUEZ, RICHARD                     ADDRESS ON FILE
MARQUEZ, ROBERT                      ADDRESS ON FILE
MARQUEZ, RONY                        ADDRESS ON FILE
MARQUEZ, RUBEN                       ADDRESS ON FILE
MARQUEZ, VANESSA                     ADDRESS ON FILE
MARQUIS CARPET MILLS                 ATTN: DEB GRANT CLAIMS DEPT DEB GRANT 2743 HIGHWAY 76 CHATSWORTH GA 30705
MARQUIS INDS.                        ATTN: TEKIESHA WIGGINS CLAIMS P O BOX 1308 CHATSWORTH GA 30705
MARQUIS INDUSTRIES                   ATTN: DEB GRANT CLAIMS 449 LOWY DR CHATSWORTH GA 30705
MARQUIS INDUSTRIES                   ATTN: TEKIESHA WIGGINS 449 LOWY DR CHATSWORTH GA 30705
MARQUIS INDUSTRIES                   ATTN: TEKIESHA WIGGINS CLAIMS 449 LOWY DR CHATSWORTH GA 30705
MARQUIS TRANS LOGISTICS LLC          9100 US HIGHWAY 287 FORT WORTH TX 76177
MARQUIS, DANNY                       ADDRESS ON FILE
MARQUISE J THOMAS                    ADDRESS ON FILE
MARRELLO, RICHARD                    ADDRESS ON FILE
MARRERO TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MARRERO, ISAAC                       ADDRESS ON FILE
MARRERO, JESUS                       ADDRESS ON FILE
MARRERO, JOSE                        ADDRESS ON FILE
MARRERO, WILSON                      ADDRESS ON FILE
MARRIO G BELL                        ADDRESS ON FILE
MARRIOTT HOTEL                       2 BOLAND WAY SPRINGFIELD MA 01103
MARRLIN TRANSIT, INC.                13397 LAKE FRONT DR STE 200 EARTH CITY MO 63045



Epiq Corporate Restructuring, LLC                                                               Page 1200 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1209 of 2156

Claim Name                           Address Information
MARRON, HUGO                         ADDRESS ON FILE
MARRONE LOGISTICS                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MARROQUIN TRANSPORT LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MARROQUIN, RUBEN                     ADDRESS ON FILE
MARROQUIN, VICTOR                    ADDRESS ON FILE
MARROSSO EXPRESS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MARROW FREIGHT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARROW, JAMES                        ADDRESS ON FILE
MARROW, MICHAEL                      ADDRESS ON FILE
MARRS, DANA                          ADDRESS ON FILE
MARRS, JAMES                         ADDRESS ON FILE
MARS DIESEL & EQUIPMENT              106 MEXICO RD PINE GROVE PA 17963
MARS PETCARE USA INC                 ATTN: REBECCA CAROTHERS UBER FREIGHT PO BOX 518 LOWELL AR 72745
MARS TRANSPORTATION INC              OR BARON FINANCE CALIFORNIA DBA REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES
                                     CA 90074-1791
MARS TRUCKING INC.                   7350 ASSOCIATE AVE BROOKLYN OH 44144
MARS, JASON                          ADDRESS ON FILE
MARSCHALL, WILLIAM                   ADDRESS ON FILE
MARSCO INVESTMENT CORP (0287)        ATT KAREN JACOBSEN/PROXY MGR 101 EISENHOWER PKWY ROSELAND NJ 07068
MARSEILLE, JOSEPH                    ADDRESS ON FILE
MARSEILLE, JOSEPH                    ADDRESS ON FILE
MARSH CANADA LIMITED                 PO BOX 9741 POSTAL STATION A TORONTO ON M5W 1R6 CANADA
MARSH SALDANA                        ADDRESS ON FILE
MARSH USA INC                        PO BOX 846015 DALLAS TX 75284
MARSH USA INC.                       NY OPERATIONS 16937 COLLECTIONS CENTER DR CHICAGO IL 60693
MARSH, BRIAN                         ADDRESS ON FILE
MARSH, DALE                          ADDRESS ON FILE
MARSH, DAVID                         ADDRESS ON FILE
MARSH, DAVID                         ADDRESS ON FILE
MARSH, DAVID                         ADDRESS ON FILE
MARSH, JACK                          ADDRESS ON FILE
MARSH, JOHN C                        ADDRESS ON FILE
MARSH, KRYSTAL                       ADDRESS ON FILE
MARSH, MARILYN                       ADDRESS ON FILE
MARSH, RICHARD                       ADDRESS ON FILE
MARSH, TED                           ADDRESS ON FILE
MARSH, TINA                          ADDRESS ON FILE
MARSHA RILEY                         ADDRESS ON FILE
MARSHALL III, CLIFTON                ADDRESS ON FILE
MARSHALL JR, DONALD                  ADDRESS ON FILE
MARSHALL M BANKS                     ADDRESS ON FILE
MARSHALL STAMPING ECHO               ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
MARSHALL TRUCKING AND LEASING LLC    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
MARSHALL, AARON                      ADDRESS ON FILE
MARSHALL, AARON                      ADDRESS ON FILE
MARSHALL, ANTHONY                    ADDRESS ON FILE
MARSHALL, ANTWAN                     ADDRESS ON FILE
MARSHALL, BERNARD                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1201 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1210 of 2156

Claim Name                            Address Information
MARSHALL, BILLY                       ADDRESS ON FILE
MARSHALL, CARMEN                      ADDRESS ON FILE
MARSHALL, DANIEL                      ADDRESS ON FILE
MARSHALL, DESHAWN                     ADDRESS ON FILE
MARSHALL, HEATHER                     ADDRESS ON FILE
MARSHALL, ISAIAH                      ADDRESS ON FILE
MARSHALL, JACK                        ADDRESS ON FILE
MARSHALL, JAMES                       ADDRESS ON FILE
MARSHALL, JEREMIAH                    ADDRESS ON FILE
MARSHALL, JEREMY                      ADDRESS ON FILE
MARSHALL, JEROME                      ADDRESS ON FILE
MARSHALL, JON                         ADDRESS ON FILE
MARSHALL, KENNETH                     ADDRESS ON FILE
MARSHALL, KEVIN                       ADDRESS ON FILE
MARSHALL, LAQUINN                     ADDRESS ON FILE
MARSHALL, LESTER                      ADDRESS ON FILE
MARSHALL, MALIA                       ADDRESS ON FILE
MARSHALL, MATTHEW                     ADDRESS ON FILE
MARSHALL, MITCHEL                     ADDRESS ON FILE
MARSHALL, PAT                         ADDRESS ON FILE
MARSHALL, QUANANDRE                   ADDRESS ON FILE
MARSHALL, REUBEN                      ADDRESS ON FILE
MARSHALL, ROBERT                      ADDRESS ON FILE
MARSHALL, RONALD                      ADDRESS ON FILE
MARSHALL, RONALD                      ADDRESS ON FILE
MARSHALL, SETH                        ADDRESS ON FILE
MARSHALL, SOMARI                      ADDRESS ON FILE
MARSHALL, STEPHEN R                   ADDRESS ON FILE
MARSHALL, THEODIS                     ADDRESS ON FILE
MARSHALL, TIMOTHY                     ADDRESS ON FILE
MARSHALL, TINCH                       ADDRESS ON FILE
MARSHALL, TOBIAS                      ADDRESS ON FILE
MARSHALL, TYREESE                     ADDRESS ON FILE
MARSHALL, WAYNE                       ADDRESS ON FILE
MARSHALL-PARKS, MELISSA               ADDRESS ON FILE
MARSHALLS INDUSTRIAL HARD             D/B/A: MARSHALLS INDUSTRIAL HARDWARE LLC 2210 W CALIFORNIA AVE SALT LAKE CITY
                                      UT 84104
MARSHALLS INDUSTRIAL HARDWARE, LLC    2210 W CALIFORNIA AVE SALT LAKE CITY UT 84104
MARSHALLTOWN CO                       2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALLTOWN CO                       ATTN: STACY KELLEY 2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALLTOWN COMPANY                  2200 S INDUSTRIAL DR FAYETTEVILLE AR 72701
MARSHALLTOWN COMPANY                  ATTN: CUSTOMER SERVICE 2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALLTOWN COMPANY                  ATTN: CUSTOMER SERVICE CLAIMS 2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALLTOWN COMPANY                  ATTN: MICHELE REINERT 2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALLTOWN COMPANY                  ATTN: SABRINA JAYNE 2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALLTOWN TROWEL                   P O BOX 738 MARSHALLTOWN IA 50158
MARSHALLTOWN TROWEL COMPANY           ATTN: SABRINA JAYNE 2364 ARMSTRONG AVE FAYETTEVILLE AR 72701
MARSHALS CANADIAN EXPRESS INC         4019 3 ST NW EDMONTON AB T6P 1T3 CANADA
MARSHFIELD CLINIC HEALTH SYSTEM INC   1000 N OAK AVE MARSHFIELD WI 54449



Epiq Corporate Restructuring, LLC                                                             Page 1202 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1211 of 2156

Claim Name                               Address Information
MARSHMAN, BRIAN                          ADDRESS ON FILE
MARSIGLIO, REED                          ADDRESS ON FILE
MARSOLAIS, BRADY                         ADDRESS ON FILE
MARSTEIN, ALAN                           ADDRESS ON FILE
MARTA D WILLIAMS                         ADDRESS ON FILE
MARTA I RAMIREZ ORELLANA                 ADDRESS ON FILE
MARTEL, FREDERIC                         ADDRESS ON FILE
MARTELL ELECTRIC LLC                     PO BOX 3965 SOUTH BEND IN 46619
MARTELL ENTERPRISES INC.                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MARTELL ENTERPRISES INC.                 MARTELL TRUCKING LLC, 1305 COAHUILA LOOP LAREDO TX 78045
MARTELL, JASON                           ADDRESS ON FILE
MARTEN TRANSPORT SERVICES, LTD.          SDS 12-1733, PO BOX 86 MINNEAPOLIS MN 55486
MARTENS, ALEXANDER                       ADDRESS ON FILE
MARTENS, JAMES                           ADDRESS ON FILE
MARTENS, LAT                             ADDRESS ON FILE
MARTENSEN, MICHAEL                       ADDRESS ON FILE
MARTES, GLENN                            ADDRESS ON FILE
MARTHA FEIMSTER                          ADDRESS ON FILE
MARTHA MUNOZ                             ADDRESS ON FILE
MARTHA WELNOWSKA                         ADDRESS ON FILE
MARTHA, JESUS                            ADDRESS ON FILE
MARTI, JORGE                             ADDRESS ON FILE
MARTIAL SLATER                           ADDRESS ON FILE
MARTIAN EXPRESS CO                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MARTIMARR TRANSPORTATION SERVICESE, LLC OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MARTIN & JOSIE TRANSPORT INC             OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
MARTIN BRADLEY PLUMBING                  4892 MCCRACKEN ROAD KERNERSVILLE NC 27284
MARTIN CARRIERS INC                      313 TECUMSEH ST P.O. BOX 1541 WOODSTOCK ON N4S 0A7 CANADA
MARTIN CLINE TURNER ESTATE               707 OAKVALE DRIVE SHELBY NC 28150
MARTIN DAVIDOVSKI                        ADDRESS ON FILE
MARTIN EQUIPMENT OF IA-IL                3720 85TH AVE W ROCK ISLAND IL 61201
MARTIN EXPRESS                           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MARTIN F HOLUB                           ADDRESS ON FILE
MARTIN FREIGHT OF NC LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MARTIN I ACOSTA                          ADDRESS ON FILE
MARTIN J ROWE                            ADDRESS ON FILE
MARTIN J URANGA                          ADDRESS ON FILE
MARTIN KILPATRICK TABLE TENNIS COMPANY   4482 TECHNOLOGY DR NW WILSON NC 27896
MARTIN MACIAS                            ADDRESS ON FILE
MARTIN MANZO II                          ADDRESS ON FILE
MARTIN OIL COMPANY                       528 N 1ST ST BELLWOOD PA 16617
MARTIN POWERWASH                         PO BOX 5032 MISSOULA MT 59806
MARTIN STICKLE, ANTONIO                  ADDRESS ON FILE
MARTIN TRANSPORTATION SYSTEMS            7300 CLYDE PARK AVE SQ BYRON CENTER 49315
MARTIN, A JOHN                           ADDRESS ON FILE
MARTIN, ALAN                             ADDRESS ON FILE
MARTIN, ALEXIS                           ADDRESS ON FILE
MARTIN, ALLAN                            ADDRESS ON FILE
MARTIN, AMY                              ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1203 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1212 of 2156

Claim Name                          Address Information
MARTIN, ANDREW                      ADDRESS ON FILE
MARTIN, ANTHONY                     ADDRESS ON FILE
MARTIN, ANTONIO                     ADDRESS ON FILE
MARTIN, BARRY                       ADDRESS ON FILE
MARTIN, BRANDIE                     ADDRESS ON FILE
MARTIN, BRENDA                      ADDRESS ON FILE
MARTIN, BRYAN                       ADDRESS ON FILE
MARTIN, CHADWICK                    ADDRESS ON FILE
MARTIN, CHARLES                     ADDRESS ON FILE
MARTIN, CHARLES                     ADDRESS ON FILE
MARTIN, CHRISTOPHER                 ADDRESS ON FILE
MARTIN, CHRISTOPHER                 ADDRESS ON FILE
MARTIN, CHRISTOPHER                 ADDRESS ON FILE
MARTIN, CHRISTOPHER                 ADDRESS ON FILE
MARTIN, CLIFFORD C                  ADDRESS ON FILE
MARTIN, CODY                        ADDRESS ON FILE
MARTIN, COLIN                       ADDRESS ON FILE
MARTIN, COURTNEY                    ADDRESS ON FILE
MARTIN, CURTIS                      ADDRESS ON FILE
MARTIN, CURTIS                      ADDRESS ON FILE
MARTIN, DAISY M                     ADDRESS ON FILE
MARTIN, DALE                        ADDRESS ON FILE
MARTIN, DAMION                      ADDRESS ON FILE
MARTIN, DANIEL                      ADDRESS ON FILE
MARTIN, DANNY                       ADDRESS ON FILE
MARTIN, DAVID                       ADDRESS ON FILE
MARTIN, DAVID                       ADDRESS ON FILE
MARTIN, DEBORAH E                   ADDRESS ON FILE
MARTIN, DELANEY                     ADDRESS ON FILE
MARTIN, DENNIS                      ADDRESS ON FILE
MARTIN, DEON                        ADDRESS ON FILE
MARTIN, DION                        ADDRESS ON FILE
MARTIN, DONALD                      ADDRESS ON FILE
MARTIN, DONALD                      ADDRESS ON FILE
MARTIN, DONNA                       ADDRESS ON FILE
MARTIN, DOUGLAS                     ADDRESS ON FILE
MARTIN, DWAYNE                      ADDRESS ON FILE
MARTIN, DWIGHT                      ADDRESS ON FILE
MARTIN, ETHAN                       ADDRESS ON FILE
MARTIN, FOREST                      ADDRESS ON FILE
MARTIN, FRANCO                      ADDRESS ON FILE
MARTIN, FRANK                       ADDRESS ON FILE
MARTIN, FRED                        ADDRESS ON FILE
MARTIN, FRED                        ADDRESS ON FILE
MARTIN, GEORGE                      ADDRESS ON FILE
MARTIN, GEORGE W                    ADDRESS ON FILE
MARTIN, GERALD                      ADDRESS ON FILE
MARTIN, GERARDO                     ADDRESS ON FILE
MARTIN, GUY C                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1204 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1213 of 2156

Claim Name                        Address Information
MARTIN, HAROLD                    ADDRESS ON FILE
MARTIN, HOWARD                    ADDRESS ON FILE
MARTIN, IRENE                     ADDRESS ON FILE
MARTIN, IRENE                     ADDRESS ON FILE
MARTIN, JACKIE                    ADDRESS ON FILE
MARTIN, JALEXUS                   ADDRESS ON FILE
MARTIN, JAMAL                     ADDRESS ON FILE
MARTIN, JAMES                     ADDRESS ON FILE
MARTIN, JAMES                     ADDRESS ON FILE
MARTIN, JAMES                     ADDRESS ON FILE
MARTIN, JAMES                     ADDRESS ON FILE
MARTIN, JAMES                     ADDRESS ON FILE
MARTIN, JAMES E                   ADDRESS ON FILE
MARTIN, JAMES P                   ADDRESS ON FILE
MARTIN, JANAE                     ADDRESS ON FILE
MARTIN, JANAE                     ADDRESS ON FILE
MARTIN, JARED                     ADDRESS ON FILE
MARTIN, JARED                     ADDRESS ON FILE
MARTIN, JOHN                      ADDRESS ON FILE
MARTIN, JOHN                      ADDRESS ON FILE
MARTIN, JOHN                      ADDRESS ON FILE
MARTIN, JOHN                      ADDRESS ON FILE
MARTIN, JOHN B                    ADDRESS ON FILE
MARTIN, JON                       ADDRESS ON FILE
MARTIN, JULIE                     ADDRESS ON FILE
MARTIN, JUSTIN                    ADDRESS ON FILE
MARTIN, JUSTIN                    ADDRESS ON FILE
MARTIN, JUSTIN                    ADDRESS ON FILE
MARTIN, KAMA                      ADDRESS ON FILE
MARTIN, KAMERON                   ADDRESS ON FILE
MARTIN, KENDELL                   ADDRESS ON FILE
MARTIN, KENNETH                   ADDRESS ON FILE
MARTIN, KRISTINA                  ADDRESS ON FILE
MARTIN, LANCE                     ADDRESS ON FILE
MARTIN, LEE                       ADDRESS ON FILE
MARTIN, LEIGH ANN                 ADDRESS ON FILE
MARTIN, LESTER                    ADDRESS ON FILE
MARTIN, MANUEL                    ADDRESS ON FILE
MARTIN, MARK                      ADDRESS ON FILE
MARTIN, MARK                      ADDRESS ON FILE
MARTIN, MARQUELL                  ADDRESS ON FILE
MARTIN, MATTHEW                   ADDRESS ON FILE
MARTIN, MATTHEW                   ADDRESS ON FILE
MARTIN, MICHAEL                   ADDRESS ON FILE
MARTIN, MICHAEL                   ADDRESS ON FILE
MARTIN, MICHAEL                   ADDRESS ON FILE
MARTIN, MONTOYA                   ADDRESS ON FILE
MARTIN, MONTRELL                  ADDRESS ON FILE
MARTIN, NEAL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1205 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1214 of 2156

Claim Name                           Address Information
MARTIN, PHILIP                       ADDRESS ON FILE
MARTIN, RANDY                        ADDRESS ON FILE
MARTIN, RICHARD                      ADDRESS ON FILE
MARTIN, ROB                          ADDRESS ON FILE
MARTIN, ROBERT                       ADDRESS ON FILE
MARTIN, ROBERT B                     ADDRESS ON FILE
MARTIN, ROBERT B                     ADDRESS ON FILE
MARTIN, ROY                          ADDRESS ON FILE
MARTIN, RYAN                         ADDRESS ON FILE
MARTIN, SARAH                        ADDRESS ON FILE
MARTIN, SCOTT                        ADDRESS ON FILE
MARTIN, SHANE                        ADDRESS ON FILE
MARTIN, SHAUN                        ADDRESS ON FILE
MARTIN, SHERI                        ADDRESS ON FILE
MARTIN, SIDNEY                       ADDRESS ON FILE
MARTIN, STACIE                       ADDRESS ON FILE
MARTIN, STEPHEN                      ADDRESS ON FILE
MARTIN, STEVEN                       ADDRESS ON FILE
MARTIN, TANAHWEAH                    ADDRESS ON FILE
MARTIN, TIMOTHY                      ADDRESS ON FILE
MARTIN, TONY                         ADDRESS ON FILE
MARTIN, TONY                         ADDRESS ON FILE
MARTIN, TONY A                       ADDRESS ON FILE
MARTIN, TREIYRE                      ADDRESS ON FILE
MARTIN, TROY                         ADDRESS ON FILE
MARTIN, TROY                         ADDRESS ON FILE
MARTIN, TYRONE                       ADDRESS ON FILE
MARTIN, WALTER                       ADDRESS ON FILE
MARTIN, ZACHARY                      ADDRESS ON FILE
MARTINA, MICHAEL D                   ADDRESS ON FILE
MARTINDALE, BRAD                     ADDRESS ON FILE
MARTINDALE, DEVIN                    ADDRESS ON FILE
MARTINDALE, TYLER                    ADDRESS ON FILE
MARTINEAU, DAVID ALAN                ADDRESS ON FILE
MARTINEAU, DAVID ALAN                ADDRESS ON FILE
MARTINETTI, PAUL                     ADDRESS ON FILE
MARTINEZ ESPINOSA, NERY GRISEL       ADDRESS ON FILE
MARTINEZ GENERAL FLEET SERVICE       3650 LAS OLAS DRIVE COLLEGE PARK GA 30349
MARTINEZ HERRERA, ARTURO             ADDRESS ON FILE
MARTINEZ III, HUMBERTO               ADDRESS ON FILE
MARTINEZ JR, ARTURO                  ADDRESS ON FILE
MARTINEZ JR, GILBERTO                ADDRESS ON FILE
MARTINEZ JR, SAMUEL                  ADDRESS ON FILE
MARTINEZ JR, TONY                    ADDRESS ON FILE
MARTINEZ L EVANS                     ADDRESS ON FILE
MARTINEZ LANDSCAPE                   12357 SAN FERNANDO RD SYLMAR CA 91342
MARTINEZ MORAN, BONIFACIO            ADDRESS ON FILE
MARTINEZ OROPEZA, HECTOR             ADDRESS ON FILE
MARTINEZ SUPERMARKET                 3301 S MORGAN ST CHICAGO IL 60608



Epiq Corporate Restructuring, LLC                                                           Page 1206 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1215 of 2156

Claim Name                             Address Information
MARTINEZ TRANSPORT, INC.               8779 S 4770 W WEST JORDAN UT 84088
MARTINEZ TRANSPORTATION SERVICES INC   OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
MARTINEZ TREVINO, JOSEPH               ADDRESS ON FILE
MARTINEZ TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MARTINEZ TRUCKING (MC979731)           16144 PASTORAL CT DELHI CA 95315-9232
MARTINEZ USA TRANSPORT LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411
MARTINEZ, ADRIAN                       ADDRESS ON FILE
MARTINEZ, ADRIAN                       ADDRESS ON FILE
MARTINEZ, AGUSTIN                      ADDRESS ON FILE
MARTINEZ, ALEJANDRO                    ADDRESS ON FILE
MARTINEZ, ANDREA                       ADDRESS ON FILE
MARTINEZ, ANDRES                       ADDRESS ON FILE
MARTINEZ, ANGEL                        ADDRESS ON FILE
MARTINEZ, ANTHONY                      ADDRESS ON FILE
MARTINEZ, ANTHONY                      ADDRESS ON FILE
MARTINEZ, ANTHONY M                    ADDRESS ON FILE
MARTINEZ, ANTONIO G                    ADDRESS ON FILE
MARTINEZ, ARMANDO                      ADDRESS ON FILE
MARTINEZ, BREEZA                       ADDRESS ON FILE
MARTINEZ, BRENDAN                      ADDRESS ON FILE
MARTINEZ, BRIAN                        ADDRESS ON FILE
MARTINEZ, BRYANT                       ADDRESS ON FILE
MARTINEZ, BULMARO                      ADDRESS ON FILE
MARTINEZ, CARLOS M                     ADDRESS ON FILE
MARTINEZ, CELSO                        ADDRESS ON FILE
MARTINEZ, CHARLES                      ADDRESS ON FILE
MARTINEZ, CHRISTOPHER                  ADDRESS ON FILE
MARTINEZ, DAMARI                       ADDRESS ON FILE
MARTINEZ, DAMIEN                       ADDRESS ON FILE
MARTINEZ, DANIEL                       ADDRESS ON FILE
MARTINEZ, DANIEL W                     ADDRESS ON FILE
MARTINEZ, DAVID                        ADDRESS ON FILE
MARTINEZ, DAVID                        ADDRESS ON FILE
MARTINEZ, DAVID                        ADDRESS ON FILE
MARTINEZ, EDGAR                        ADDRESS ON FILE
MARTINEZ, EDGAR                        ADDRESS ON FILE
MARTINEZ, EDUARDO                      ADDRESS ON FILE
MARTINEZ, EDWARD                       ADDRESS ON FILE
MARTINEZ, ENYER                        ADDRESS ON FILE
MARTINEZ, ERIC                         ADDRESS ON FILE
MARTINEZ, FRANCISCO                    ADDRESS ON FILE
MARTINEZ, FRANCISCO                    ADDRESS ON FILE
MARTINEZ, FRANCISCO                    ADDRESS ON FILE
MARTINEZ, FRANCISCO A                  ADDRESS ON FILE
MARTINEZ, FRANCOIS                     ADDRESS ON FILE
MARTINEZ, GABRIEL                      ADDRESS ON FILE
MARTINEZ, GABRIEL                      ADDRESS ON FILE
MARTINEZ, GEORGE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1207 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1216 of 2156

Claim Name                         Address Information
MARTINEZ, GERARDO                  ADDRESS ON FILE
MARTINEZ, GERARDO                  ADDRESS ON FILE
MARTINEZ, GUSTAVO                  ADDRESS ON FILE
MARTINEZ, HECTOR                   ADDRESS ON FILE
MARTINEZ, HENRY                    ADDRESS ON FILE
MARTINEZ, HUGO                     ADDRESS ON FILE
MARTINEZ, HUGO                     ADDRESS ON FILE
MARTINEZ, ISAAC                    ADDRESS ON FILE
MARTINEZ, ISMAEL                   ADDRESS ON FILE
MARTINEZ, ISRAEL                   ADDRESS ON FILE
MARTINEZ, JAIME                    ADDRESS ON FILE
MARTINEZ, JAIME                    ADDRESS ON FILE
MARTINEZ, JAMES                    ADDRESS ON FILE
MARTINEZ, JEIMY                    ADDRESS ON FILE
MARTINEZ, JESSE                    ADDRESS ON FILE
MARTINEZ, JESSE                    ADDRESS ON FILE
MARTINEZ, JOE                      ADDRESS ON FILE
MARTINEZ, JOEL                     ADDRESS ON FILE
MARTINEZ, JOEL                     ADDRESS ON FILE
MARTINEZ, JOHAN                    ADDRESS ON FILE
MARTINEZ, JOHN                     ADDRESS ON FILE
MARTINEZ, JOHN                     ADDRESS ON FILE
MARTINEZ, JOHN                     ADDRESS ON FILE
MARTINEZ, JOHNNY                   ADDRESS ON FILE
MARTINEZ, JOHNNY                   ADDRESS ON FILE
MARTINEZ, JOHNNY                   ADDRESS ON FILE
MARTINEZ, JOSE                     ADDRESS ON FILE
MARTINEZ, JOSE                     ADDRESS ON FILE
MARTINEZ, JOSE                     ADDRESS ON FILE
MARTINEZ, JOSE                     ADDRESS ON FILE
MARTINEZ, JOSEPH                   ADDRESS ON FILE
MARTINEZ, JOSEPH                   ADDRESS ON FILE
MARTINEZ, JUAN                     ADDRESS ON FILE
MARTINEZ, JUAN                     ADDRESS ON FILE
MARTINEZ, JUAN                     ADDRESS ON FILE
MARTINEZ, JUAN                     ADDRESS ON FILE
MARTINEZ, JUAN                     ADDRESS ON FILE
MARTINEZ, JUAN                     ADDRESS ON FILE
MARTINEZ, KOWALSKI                 ADDRESS ON FILE
MARTINEZ, LAURA                    ADDRESS ON FILE
MARTINEZ, LAWRENCE                 ADDRESS ON FILE
MARTINEZ, LORENZO                  ADDRESS ON FILE
MARTINEZ, LORIE                    ADDRESS ON FILE
MARTINEZ, LUIS                     ADDRESS ON FILE
MARTINEZ, LUIS                     ADDRESS ON FILE
MARTINEZ, LUIS R                   ADDRESS ON FILE
MARTINEZ, MANUEL                   ADDRESS ON FILE
MARTINEZ, MARCOS                   ADDRESS ON FILE
MARTINEZ, MARCUS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1208 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1217 of 2156

Claim Name                           Address Information
MARTINEZ, MARDO                      ADDRESS ON FILE
MARTINEZ, MARIO                      ADDRESS ON FILE
MARTINEZ, MARIO                      ADDRESS ON FILE
MARTINEZ, MARIO                      ADDRESS ON FILE
MARTINEZ, MARK                       ADDRESS ON FILE
MARTINEZ, MARTIN                     ADDRESS ON FILE
MARTINEZ, MARTIN                     ADDRESS ON FILE
MARTINEZ, MARTIN                     ADDRESS ON FILE
MARTINEZ, MATTHEW                    ADDRESS ON FILE
MARTINEZ, MAXIMILIAN                 ADDRESS ON FILE
MARTINEZ, MAYRA                      ADDRESS ON FILE
MARTINEZ, MICHAEL                    ADDRESS ON FILE
MARTINEZ, MICHAEL                    ADDRESS ON FILE
MARTINEZ, MICHAEL D                  ADDRESS ON FILE
MARTINEZ, MIGUEL                     ADDRESS ON FILE
MARTINEZ, MIGUEL                     ADDRESS ON FILE
MARTINEZ, MIGUEL J                   ADDRESS ON FILE
MARTINEZ, MIKE                       ADDRESS ON FILE
MARTINEZ, MIKE                       ADDRESS ON FILE
MARTINEZ, MOSES                      ADDRESS ON FILE
MARTINEZ, NATALIE                    ADDRESS ON FILE
MARTINEZ, NELSON                     ADDRESS ON FILE
MARTINEZ, OSCAR                      ADDRESS ON FILE
MARTINEZ, PABLO                      ADDRESS ON FILE
MARTINEZ, PEPE                       ADDRESS ON FILE
MARTINEZ, PHILLIP                    ADDRESS ON FILE
MARTINEZ, QUIN                       ADDRESS ON FILE
MARTINEZ, RALPH                      ADDRESS ON FILE
MARTINEZ, RAMON                      ADDRESS ON FILE
MARTINEZ, RAY                        ADDRESS ON FILE
MARTINEZ, RAYMUNDO                   ADDRESS ON FILE
MARTINEZ, REYDIS                     ADDRESS ON FILE
MARTINEZ, REYNA                      ADDRESS ON FILE
MARTINEZ, RICARDO                    ADDRESS ON FILE
MARTINEZ, ROBERT                     ADDRESS ON FILE
MARTINEZ, ROBERT                     ADDRESS ON FILE
MARTINEZ, ROBERTO                    ADDRESS ON FILE
MARTINEZ, ROBERTO                    ADDRESS ON FILE
MARTINEZ, ROBERTO C                  ADDRESS ON FILE
MARTINEZ, ROEL                       ADDRESS ON FILE
MARTINEZ, ROGER                      ADDRESS ON FILE
MARTINEZ, RUBEN                      ADDRESS ON FILE
MARTINEZ, RUBEN                      ADDRESS ON FILE
MARTINEZ, SALVADOR                   ADDRESS ON FILE
MARTINEZ, SANTOS J                   ADDRESS ON FILE
MARTINEZ, SAUL                       ADDRESS ON FILE
MARTINEZ, SONY                       ADDRESS ON FILE
MARTINEZ, STEVEN                     ADDRESS ON FILE
MARTINEZ, STEVEN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1209 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1218 of 2156

Claim Name                              Address Information
MARTINEZ, SYLVIA                       ADDRESS ON FILE
MARTINEZ, TONY                         ADDRESS ON FILE
MARTINEZ, VICTOR                       ADDRESS ON FILE
MARTINEZ, VICTOR                       ADDRESS ON FILE
MARTINEZ, VICTOR A                     ADDRESS ON FILE
MARTINEZ, VIRGINIA                     ADDRESS ON FILE
MARTINEZ, ZENON                        ADDRESS ON FILE
MARTINEZ-ELIASON, MARIA                ADDRESS ON FILE
MARTINEZ-MORTON, DOMINIQUE             ADDRESS ON FILE
MARTINI FIRE PREVENTION CO INC         2037 CENTRAL PARK AVE YONKERS NY 10710
MARTINI INVESTMENT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MARTINMAAS, JESSE                      ADDRESS ON FILE
MARTINO, JOSEPH                        ADDRESS ON FILE
MARTINO, RONALD                        ADDRESS ON FILE
MARTINS PETERBILT                      ATTN: MATT KERLEY PTP 174 OLD WHITLEY RD LONDON KY 40744
MARTINS UNLOADING SERVICE              PO BOX 208 NORLINA NC 27563
MARTINS, CARLOS                        ADDRESS ON FILE
MARTINS, EYAN                          ADDRESS ON FILE
MARTINSON LOT MAINTENANCE              1802 7TH AVENUE NORTH FARGO ND 58102
MARTINY, RUSSELL                       ADDRESS ON FILE
MARTIROS EXPRESS INC                   4717 HONDO PASS DR, SUITE 1D 3005 EL PASO TX 79904
MARTORANA, MICHAEL                     ADDRESS ON FILE
MARTOS, ANGELICA                       ADDRESS ON FILE
MARTUS, JOHN                           ADDRESS ON FILE
MARTY FEWELL                           ADDRESS ON FILE
MARTY LOGANS HOUSE OF COLOUR, INC      2310 JIM STREET DALLAS TX 75212
MARTY VINSON                           ADDRESS ON FILE
MARTY, NEIL                            ADDRESS ON FILE
MARTYANOV, IGOR                        ADDRESS ON FILE
MARTYN EXPRESS INC                     1500 MOUND RD ROCKDALE IL 60436
MARTZ, JONATHAN                        ADDRESS ON FILE
MARTZ, WILLIAM                         ADDRESS ON FILE
MARVCO ENTERPRISES, INC.               DBA HEADSETTERS, 12123 EMMET ST OMAHA NE 68164
MARVEL CARRIER UNITED                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MARVEL TRANSPORT LLC                   2710 95TH AVE CT E EDGEWOOD WA 98371
MARVIN D SAXTON                        ADDRESS ON FILE
MARVIN KELLER TRUCKING, INC.           MARVIN KELLER TRUCKING, INC., PO BOX 313 SULLIVAN IL 61951
MARVIN L WALKER & ASSOC INC            3045 KINGSTON CT PEACHTREE CORNERS GA 30071
MARVIN TRANSPORT LOGISTIC INC          OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MARVIN, PAUL                           ADDRESS ON FILE
MARVIN, TIMOTHY                        ADDRESS ON FILE
MARVS IRRIGATION                       30625 DUNHILL CROSSING ELKHART IN 46517
MARWAHA TRUCK LINES INC                OR BUSBOT INCORPORATED DBA DENIM PO BOX 392797 PITTSBURGH PA 15251-9797
MARX BROTHERS FIRE EXTINGUISHERS CO INC 1159 S SOTO ST LOS ANGELES CA 90023
MARX BROTHERS FIRE EXTINGUISHERS CO,   P.O. BOX 23460 LOS ANGELES CA 90023
INC
MARX TRAILER                           ADDRESS ON FILE
MARX TRANSPORTATION LLC                13313 FOX CHASE LANE SPOTSYLVANIA VA 22553-7769
MARX WELDING, INC.                     PO BOX 234 MARYLHURST OR 97036



Epiq Corporate Restructuring, LLC                                                                 Page 1210 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1219 of 2156

Claim Name                               Address Information
MARX, DANIEL T                           ADDRESS ON FILE
MARX, DONAVAN C                          ADDRESS ON FILE
MARX, JAMES A                            ADDRESS ON FILE
MARX, RICHARD K                          ADDRESS ON FILE
MARY A FAZIO LIMITED PARTNERSHIP I       C/O BLOCK AND CHATARD LLC 1201 SW 12TH AVENUE SUITE 222 PORTLAND OR 97205
MARY A FAZIO LIMITED PARTNERSHIP I       8422 NE 13TH AVE PORTLAND OR 97211
MARY A FAZIO LIMITED PARTNERSHIP II      C/O BLOCK AND CHATARD LLC 1201 SW 12TH AVENUE SUITE 222 PORTLAND OR 97205
MARY A. FAZIO LIMITED PARTNERSHIP I      ATTN: TONY FAZIO 8433 NE 13TH AVENUE PORTLAND OR 97231
MARY ANN TRUCKING                        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                         45263-9565
MARY BOATRIGHT                           ADDRESS ON FILE
MARY E OXENDINE                          ADDRESS ON FILE
MARY ELAINE NAY                          ADDRESS ON FILE
MARY L WILLIAMSON                        ADDRESS ON FILE
MARY LYNN KLEIN                          ADDRESS ON FILE
MARY M SANCHEZ                           ADDRESS ON FILE
MARY ROBIN KEHOE                         ADDRESS ON FILE
MARY TRUCKING INC                        OR TAB BANK, PO BOX 150830 OGDEN UT 84415
MARY TYLOR NATURALS                      ADDRESS ON FILE
MARYBETH C MACK                          ADDRESS ON FILE
MARYKANN XIONG                           ADDRESS ON FILE
MARYLAND ALCOHOL & TOBACCO TAX           TREASURY BLDG PO BOX 2999 ANNAPOLIS MD 21404
MARYLAND ALCOHOL & TOBACCO TAX           110 CAROL STREET ANNAPOLIS MD 21411
MARYLAND COMPTROLLER OF TREASURY         110 CARROLL ST ANNAPOLIS MD 21411
MARYLAND DEPARTMENT OF AGRICULTURE       WEIGHTS AND MEASURES, PO BOX 17304 BALTIMORE MD 21297
MARYLAND DEPARTMENT OF THE ENVIRONMENT   PO BOX 2057 BALTIMORE MD 21203
MARYLAND DISTRICT OF COLUMBIA JAC        TRANSPORT EMPLOYERS ASSOCIATION PO BOX 388 HUNTLEY IL 60142
MARYLAND HEATING & AIR LLC               1 MACE AVE ESSEX MD 21221
MARYLAND MOTOR TRUCK ASSOCIATION         9256 BENDIX ROAD, SUITE 203 COLUMBIA MD 21045
MARYLAND PLATING & SERVICING, INC.       ATTN: DONNA TIEMANN 8243 ROSEBANK AVE BALTIMORE MD 21222-2849
MARYLAND PUMP & TANK                     PO BOX 869 FALLSTON MD 21047
MARYLAND TRANSPORTATION AUTH             PO BOX 17600 BALTIMORE MD 21297
MARYNIAK, TIMOTHY                        ADDRESS ON FILE
MARYTEX FREIGHT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MARZ, VALERIE                            ADDRESS ON FILE
MARZO, GINA-MARIE                        ADDRESS ON FILE
MAS CARRIERS LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MAS MEDICAL CENTER                       2731 B CAPITAL BLVD RALEIGH NC 27604
MAS PLACE                                ATTN: BRUCE JOHNSON 906 GARNER DRIVE OZARK MO 65721
MAS TRANSPORT INC                        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                         45263-9565
MAS TRANSPORT INC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MAS TRANSPORTATION NW LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MAS TRUCKING INC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MASA LOGISTICS LLC                       OR SAINT JOHN CAPITAL CORPORTAION PO BOX 74007671 CHICAGO IL 60674
MASA TRANSPORTATION LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MASAI PRO LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MASANIAI, CASEY                          ADDRESS ON FILE
MASANNAT SHIPPING                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154



Epiq Corporate Restructuring, LLC                                                                 Page 1211 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1220 of 2156

Claim Name                          Address Information
MASAWA EXPRESS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MASCARENAZ, CHARLES                 ADDRESS ON FILE
MASCHE, JACOB                       ADDRESS ON FILE
MASCIANA, FRANK                     ADDRESS ON FILE
MASCORRO, MATTHEW                   ADDRESS ON FILE
MASCOW DISTRIBUTION                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MASCOW DISTRIBUTION                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MASEL, JUSTIN                       ADDRESS ON FILE
MASFA LOGISTIC INC                  OR GSQUARD FUNDING, 8215 ROSWELL RD ATLANTA GA 30350
MASHBURN, MARK                      ADDRESS ON FILE
MASHE &N INC                        OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
MASHIA, ERIC                        ADDRESS ON FILE
MASI, PHILLIP                       ADDRESS ON FILE
MASIH, VIVEK                        ADDRESS ON FILE
MASILES, CARLOS                     ADDRESS ON FILE
MASKE, STEVEN                       ADDRESS ON FILE
MASKEL, BALEI                       ADDRESS ON FILE
MASKEL, PAMELA                      ADDRESS ON FILE
MASKER, WALTER W                    ADDRESS ON FILE
MASLIN, KATHY                       ADDRESS ON FILE
MASLIN, PETER                       ADDRESS ON FILE
MASLYN, KYLE                        ADDRESS ON FILE
MASON AND MEFFORD                   3705 N SHUN PIKE ROAD MADISON IN 47250
MASON CITY PUBLIC UTILITIES         10 1ST ST NW MASON CITY IA 50401
MASON EXPRESS DELIVERY              OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MASON EXPRESS TRUCKING INC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MASON JR., BRADLEY                  ADDRESS ON FILE
MASON LIFT LTD                      1605 CLIVEDEN AVE DELTA BC V3M 6P7 CANADA
MASON T LOGISTICS CORPORATION       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MASON TRANSLINE LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MASON TRANSPORT COMPANY LLC         PO BOX 2499 KELLER TX 76244
MASON, ALAN                         ADDRESS ON FILE
MASON, ALBERT                       ADDRESS ON FILE
MASON, BILL                         ADDRESS ON FILE
MASON, BRIAN                        ADDRESS ON FILE
MASON, CARL                         ADDRESS ON FILE
MASON, CORTNEY                      ADDRESS ON FILE
MASON, DANIEL                       ADDRESS ON FILE
MASON, DANIEL                       ADDRESS ON FILE
MASON, DANIEL J                     ADDRESS ON FILE
MASON, DANNY                        ADDRESS ON FILE
MASON, DANNY                        ADDRESS ON FILE
MASON, DAVID                        ADDRESS ON FILE
MASON, DAVID M                      ADDRESS ON FILE
MASON, ERIC                         ADDRESS ON FILE
MASON, ERNEST                       ADDRESS ON FILE
MASON, GEORGE                       ADDRESS ON FILE
MASON, GLENN                        ADDRESS ON FILE
MASON, GREGORY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1212 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1221 of 2156

Claim Name                               Address Information
MASON, JAMES                             ADDRESS ON FILE
MASON, JENNIFER                          ADDRESS ON FILE
MASON, JONNEY B                          ADDRESS ON FILE
MASON, KELSEY                            ADDRESS ON FILE
MASON, KENYATTE                          ADDRESS ON FILE
MASON, KYLE                              ADDRESS ON FILE
MASON, MASSON                            ADDRESS ON FILE
MASON, MICAH                             ADDRESS ON FILE
MASON, MICHAEL                           ADDRESS ON FILE
MASON, PAUL                              ADDRESS ON FILE
MASON, QUINTEN                           ADDRESS ON FILE
MASON, QWAHYEA                           ADDRESS ON FILE
MASON, RASHEEN J                         ADDRESS ON FILE
MASON, ROBERT                            ADDRESS ON FILE
MASON, ROBERT                            ADDRESS ON FILE
MASON, ROGER                             ADDRESS ON FILE
MASON, SHAQUILLE                         ADDRESS ON FILE
MASON, SIERRA                            ADDRESS ON FILE
MASON, STEPHEN                           ADDRESS ON FILE
MASON, TERRY                             ADDRESS ON FILE
MASON, TERRY                             ADDRESS ON FILE
MASON, WILLIAM                           ADDRESS ON FILE
MASON-LIPSCOMB, WINNIE                   ADDRESS ON FILE
MASONRY CENTER                           300 EXPRESSWAY A MISSOULA MT 59808
MASONRY CENTER                           PO BOX 7825 BOISE ID 83707
MASONRY CENTER INC                       585 W MAPLE ST POCATELLO ID 83201
MASONRY CENTER INC                       1424 N ORCHARD ST BOISE ID 83706
MASONS AUTO                              203 THOMPSON AVE IOWA FALLS IA 50126
MASONS EXPRESS SERVICES                  OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MASONS LOGISTICS SOUTH LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MASPETH CONTRACTORS CORP                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MASS ENTERPRISES LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MASS LOGISTICS LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MASSA, REYNALDO                          ADDRESS ON FILE
MASSACHUSETTS DEPARTMENT OF REVENUE      PO BOX 7010 BOSTON MA 02204
MASSACHUSETTS DEPARTMENT OF REVENUE      PO BOX 7012 BOSTON MA 02204
MASSACHUSETTS DEPARTMENT OF REVENUE      PO BOX 419272 BOSTON MA 02241
MASSACHUSETTS DEPARTMENT OF REVENUE      PO BOX 7089 BOSTON MA 02241
MASSACHUSETTS FLEET PROCESSING CTR INC   162 BOARDMAN ST E BOSTON MA 02128
MASSACHUSETTS USE TAX                    PO BOX 7010 BOSTON MA 02204
MASSAFARO, NICHOLAS                      ADDRESS ON FILE
MASSARA, ANGELO                          ADDRESS ON FILE
MASSARE, SCOTT                           ADDRESS ON FILE
MASSARELLI, ANNETTE                      ADDRESS ON FILE
MASSARO, JASON                           ADDRESS ON FILE
MASSAROLO, STEVEN R                      ADDRESS ON FILE
MASSELLI, JOEY                           ADDRESS ON FILE
MASSELLI, JOSEPH                         ADDRESS ON FILE
MASSENGALE, CRAIG                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1213 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1222 of 2156

Claim Name                              Address Information
MASSEY CO                               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MASSEY ELECTRIC                         D/B/A: ALLEN BROTHERS CONSTRUCTION INC 546 EASTERN STAR RD KINGSPORT TN 37663
MASSEY FORKLIFT SERVICE                 9004 CURTIS RD STRAWBERRY PLAINS TN 37871
MASSEY SERVICES, INC.                   PO BOX 547668 ORLANDO FL 32854
MASSEY TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MASSEY, CALVINISIA                      ADDRESS ON FILE
MASSEY, CLAYTON                         ADDRESS ON FILE
MASSEY, CONNIE                          ADDRESS ON FILE
MASSEY, DAVID                           ADDRESS ON FILE
MASSEY, FREDRICK                        ADDRESS ON FILE
MASSEY, MILLIS                          ADDRESS ON FILE
MASSEY, VERNON                          ADDRESS ON FILE
MASSEY, WESLEY                          ADDRESS ON FILE
MASSEYS DIESEL REPAIR INC               PO BOX 14029 PHOENIX AZ 85063
MASSIELLO, GINO                         ADDRESS ON FILE
MASSIELLO, GINO                         ADDRESS ON FILE
MASSINGHAM, LANE                        ADDRESS ON FILE
MASSIVE TRUCKING INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MASSIVECERT INC                         PO BOX 200751 DENVER CO 80220
MASSMAN TRUCKING INC                    3403 JAMES PHILLIPS DR OKEMOS MI 48864
MASSON GIANT CONSTRUCTION CORPORATION   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MASSONE, JOHNATHIN                      ADDRESS ON FILE
MASSROCK, CHRISTIE                      ADDRESS ON FILE
MASSROCK, CHRISTY                       ADDRESS ON FILE
MASTELL BROTHERS TRAILER SRVC           14636 LAKE DR NE FOREST LAKE MN 55025
MASTER BUILDERS TMC                     1103 NORTHPOINT PKWY SE ACWORTH GA 30102
MASTER CARGO INC                        OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MASTER CARRIER INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MASTER FLEET LLC                        ACCOUNTS RECEIVABLE, PO BOX 11906 GREEN BAY WI 54307
MASTER FLEET LLC                        PO BOX 11906 GREEN BAY WI 54307-1906
MASTER FREIGHT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MASTER HAULING LLC                      426 MAIN ST SUITE 215 SPOTSWOOD NJ 08884
MASTER LIFT TRUCK SERVICE INC           2899 PLYMOUTH DR OAKVILLE ON L6H 6G7 CANADA
MASTER LIGHTING SERVICE, INC.           P.O. BOX 605 LITHOPOLIS OH 43136
MASTER LOCK                             8651 CANE RUN RD LOUISVILLE KY 40258
MASTER LOCK                             ATTN: PATRICICA SCHULTZ 8651 CANE RUN RD LOUISVILLE KY 40258
MASTER LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
MASTER MAGNETICS INC                    1211 ATCHISON CT CASTLE ROCK CO 80109
MASTER MOBILE MECHANICS                 24654 N LAKE PLEASANT PKWY MAILBOX 103-552, PEORIA AZ 85383
MASTER MOTOR REBUILDERS                 1204 W. NATIONAL AVE. ADDISON IL 60101
MASTER ROOTER PLUMBING                  PO BOX 208 MERIDIAN ID 83680
MASTER TRAILER REPAIR, INC.             10134 E SKY CASTLE WAY TUCSON AZ 85730
MASTER TRANS INC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MASTER TRUCKING INC                     1421 INDIANHEAD DRIVE MENOMONIE WI 54751
MASTER TRUCKING USA CORP                OR FIRST LINE FUNDING, PO BOX 328 MADISON SD 57042
MASTER UNIFORM                          ATTN: BRIAN 2101 ALBRIGHT RD OSWEGO IL 60543
MASTER WASH, INC.                       PO BOX 18183 IRVINE CA 92623
MASTERBRAND CABINETS INC                ATTN: FREIGHT CLAIMS ONE MASTERBRAND CABINETS DR JASPER IN 47547
MASTERCOOL INC                          ATTN: JOHN GUNIA 1 ASPEN DR RANDOLPH NJ 07869



Epiq Corporate Restructuring, LLC                                                                  Page 1214 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1223 of 2156

Claim Name                           Address Information
MASTERCRAFT IND INC                  PO BOX 2310 NEWBURGH NY 12550
MASTERGEORGE, MICHAEL                ADDRESS ON FILE
MASTERLIFT                           6180 ORDAN DR. MISSISSAUGA ON L5T 2B3 CANADA
MASTERMIND DELIVERY LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MASTERMIND LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MASTERPIECE INTERNATIONAL            ATTN: DORENE PHILLIPS TRADE SHOW 1960 E GRAND AVE STE 560 EL SEGUNDO CA 90245
MASTERS REFRESHMENT SERVICES LLC     16666 SMOKETREE ST. STE. B2 HESPERIA CA 92345
MASTERS, ALAN                        ADDRESS ON FILE
MASTERS, CHARLES                     ADDRESS ON FILE
MASTERS, CHELSIE                     ADDRESS ON FILE
MASTERS, ELIZABETH                   ADDRESS ON FILE
MASTERSON LOGISTICS LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BO 1000 MEMPHIS TN 38148-1000
MASTERSON, CONRAD L                  ADDRESS ON FILE
MASTERWAY EXPRESS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MASTIFF TRUCKING LLC                 6389 N STATE ROUTE 48 LEBANON OH 45036
MASTIN, TROY                         ADDRESS ON FILE
MASTIO & COMPANY LLC                 3300 DALE AVENUE SUITE 109 SAINT JOSEPH MO 64506
MASTRANGELO, JOSEPH                  ADDRESS ON FILE
MASUCCI, UMBERTO ALBERT L            ADDRESS ON FILE
MAT CARRIERS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAT EQUIPMENT CO.                    51 PIERCE ST WEST CARROLLTON OH 45449
MAT HOLDINGS, INC                    6700 WILDLIFE WAY LONG GROVE IL 60047
MAT INDUSTRIES                       118 W ROCK ST SPRINGFIELD MN 56087
MAT TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MAT TRANSPORT INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MATA LOPEZ, JUAN                     ADDRESS ON FILE
MATA, GEORGE                         ADDRESS ON FILE
MATA, MARTIN NAVA                    ADDRESS ON FILE
MATA, MARTIN NAVA                    ADDRESS ON FILE
MATA, STEVE                          ADDRESS ON FILE
MATA, VICTOR                         ADDRESS ON FILE
MATAAFA, PULETUA                     ADDRESS ON FILE
MATAB TRANS INC                      9006 FARMINGTON WAY BAKERSFIELD CA 93313
MATAMATIC INC.                       181 WESTEC DR. MT. PLEASANT PA 15666
MATANA TRANSPORT SERVICE LLC         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MATARESE, STEVE                      ADDRESS ON FILE
MATARESE, STEVE J                    ADDRESS ON FILE
MATAS TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MATAWA, JOEL                         ADDRESS ON FILE
MATCASH TRANSPORTATION CORP          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MATCH EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MATCH FREIGHT LINES                  ATTN: ANDRES GUERRA 9450 SW GEMINI DR BEAVERTON OR 97008
MATCHETTE, GLORIA                    ADDRESS ON FILE
MATCO EXPRESS                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MATCO FORKLIFT OPERATOR              4403 ALLEN RD STOW OH 44224
MATCO TOOLS                          C/O DBR, 4403 ALLEN RD STOW OH 44224
MATCO TOOLS CORP C/O DBR             4403 ALLEN RD STOW OH 44224
MATCO TOOLS CORP C/O DBR             ATTN DAVID KOON, 4403 ALLEN RD STOW OH 44224
MATCO TOOLS CORPORATION              ATTN: FARYN BERMEYER DBR 4403 ALLEN RD STOW OH 44224



Epiq Corporate Restructuring, LLC                                                               Page 1215 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1224 of 2156

Claim Name                           Address Information
MATCO TOOLS CORPORATION              ATTN: LISA FIEDLER DBR 4403 ALLEN ROAD STOW OH 44224
MATCO TOOLS CORPORATION              DBR 4403 ALLEN ROAD STOW OH 44224
MATCOR METAL FABRICATIONS            1021 W BIRCHWOOD ST MORTON IL 61550
MATE MOTORS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MATELESKO, PAUL                      ADDRESS ON FILE
MATELICH CRANE PIER & PILING         ATTN: ERICA MATELICH PO BOX 1621 KALISPELL MT 59903
MATELICH CRANE PIER & PILING INC     PO BOX 1621, ATTN: ERICA MATELICH KALISPELL MT 59903
MATELLO, DEIRDRE                     ADDRESS ON FILE
MATEO CARGO INC                      OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458-0054
MATERA, JOHN                         ADDRESS ON FILE
MATERBUILDERS SOLUTIONS              23700 CHAGRIN BLVD CLEVELAND OH 44122
MATERIAL HANDLING EXCHANGE           1800 CHURCHMAN AVE INDIANAPOLIS IN 46203
MATERIAL HANDLING EXCHANGE           2027 E BEECHER ST INDIANPOLIS IN 46203
MATERIAL HANDLING EXCHANGE           ATTN: SHELBI GIBSON 1800 CHURCHMAN AVE INDIANAPOLIS IN 46203
MATERIAL HANDLING RESOURCES, LLC     PO BOX 15604 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
MATERIAL SCIENCES CORP               6855 COMMERCE BLVD CANTON MI 48187
MATEUS PROFESSIONAL INC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MATHARU, KULDEEP                     ADDRESS ON FILE
MATHENA, DUSTIN                      ADDRESS ON FILE
MATHENA, TWILA                       ADDRESS ON FILE
MATHENJEE TRANSPORT LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MATHENY MOTOR TRUCK COMPANY INC      4125 1ST AVENUE NITRO WV 25143
MATHENY MOTOR TRUCK COMPANY INC      PO BOX 1304 PARKERSBURG WV 26102
MATHENY MOTOR TRUCK COMPANY INC      CORPORATE BILLING LLC, DEPT 100 BIRMINGHAM AL 35283
MATHENY, CORDETTE                    ADDRESS ON FILE
MATHER TRUCKING, INC.                2213 FRANKLIN BELLEVUE NE 68005
MATHER TRUCKING, INC.                OR AMERICAN NATIONAL BANK, PO BOX 3544 OMAHA NE 68103
MATHER, CLIFFORD                     ADDRESS ON FILE
MATHER, ETHAN                        ADDRESS ON FILE
MATHERS, DANIEL                      ADDRESS ON FILE
MATHES, ADAM                         ADDRESS ON FILE
MATHES, CRAIG                        ADDRESS ON FILE
MATHES, HILLIS                       ADDRESS ON FILE
MATHES, JESSICA                      ADDRESS ON FILE
MATHES, MARTY                        ADDRESS ON FILE
MATHESON                             9920 DEER PARK RD. WAVERLY NE 68462
MATHESON TRI GAS                     DEPT LA 23793 PASADENA CA 91185
MATHESON TRI-GAS, INC.               PO BOX 347297 PITTSBURGH PA 15251
MATHESON TRI-GAS, INC.               DEPT 3028, PO BOX 123028 DALLAS TX 75312
MATHEW J CARMEN                      ADDRESS ON FILE
MATHEW, JOSHUA                       ADDRESS ON FILE
MATHEWS AIR COMFORT SOLUTIONS LLC    4933 AMBASSADOR ROW CORPUS CHRISTI TX 78416
MATHEWS CCAC HEATING & COOLING LLC   4502 S PADRE ISLAND DR CORPUS CHRISTI TX 78411
MATHEWS HEAVY HAUL LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MATHEWS LIGHTING GROUP LLC           6111 BROADWAY ST SAN ANTONIO TX 78209
MATHEWS, CLARENCE J                  ADDRESS ON FILE
MATHEWS, DANIEL                      ADDRESS ON FILE
MATHEWS, HARRY                       ADDRESS ON FILE
MATHEWS, JULIA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1216 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1225 of 2156

Claim Name                           Address Information
MATHIAS, TERRY                       ADDRESS ON FILE
MATHIESEN, GREGORIO                  ADDRESS ON FILE
MATHIEU, LUKE                        ADDRESS ON FILE
MATHIEU, VICTOR                      ADDRESS ON FILE
MATHIS, ANTHONY                      ADDRESS ON FILE
MATHIS, BRAD                         ADDRESS ON FILE
MATHIS, BRANDON                      ADDRESS ON FILE
MATHIS, DAVID                        ADDRESS ON FILE
MATHIS, DERRICK                      ADDRESS ON FILE
MATHIS, DONALD                       ADDRESS ON FILE
MATHIS, JAMES K                      ADDRESS ON FILE
MATHIS, MARK                         ADDRESS ON FILE
MATHIS, MELVIN                       ADDRESS ON FILE
MATHIS, MICHAEL                      ADDRESS ON FILE
MATHIS, RONALD                       ADDRESS ON FILE
MATHIS, TERI                         ADDRESS ON FILE
MATHIS, TERI-ANNE                    ADDRESS ON FILE
MATHRE, BRITA                        ADDRESS ON FILE
MATHY LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MATIAS, CHRISTIAN                    ADDRESS ON FILE
MATIAS, RAFAEL E                     ADDRESS ON FILE
MATIAS, RAQUEL                       ADDRESS ON FILE
MATIC LOGISTIC SOLUTIONS INC.        8-3020 DOUGALL AVE WINDSOR ON N9E 1S4 CANADA
MATICH, MICHAEL                      ADDRESS ON FILE
MATISZ, ANDREW                       ADDRESS ON FILE
MATLOCK, JOHN                        ADDRESS ON FILE
MATOON LLC                           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MATOS MOJICA, CARLOS                 ADDRESS ON FILE
MATOS SANCHEZ, JASON                 ADDRESS ON FILE
MATOS, JUAN                          ADDRESS ON FILE
MATOS, MICHAEL                       ADDRESS ON FILE
MATOS, PEDRO                         ADDRESS ON FILE
MATOS, TODD                          ADDRESS ON FILE
MATRISCIANO, TOM                     ADDRESS ON FILE
MATRIX EXPRESS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MATRIX INC                           2200 STONINGTON AVE STE 240 & 250 HOFFMAN ESTATES IL 60169
MATRIX LOGISTICS INC                 MATRIX LOGISTICS INC 1375 REMINGTON RD SUITE U SCHAUMBURG IL 60173
MATRIX TECHNOLOGIES                  1760 INDIAN WOOD CIRCLE MAUMEE OH 43537
MATRIX TRANSPORT                     2200 STONINGTON AVD 250 HOFFMAN ESTATES, IL 60169
MATRIX TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MATSIM CORPORATION                   1400 BROADFIELD BLVD SUITE 200 HOUSTON TX 77084
MATSON INTEGRATED LOGISTICS, INC     PO BOX 6480 VILLA PARK IL 60181
MATSON, GORDON FLOYD                 ADDRESS ON FILE
MATSON, MICHAEL                      ADDRESS ON FILE
MATSON, RYAN W                       ADDRESS ON FILE
MATSOUMOU, BELON                     ADDRESS ON FILE
MATT ELSTON                          ADDRESS ON FILE
MATT EXPRESS INC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
MATT GENERAL TRANSPORTATION LLC      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                             Page 1217 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1226 of 2156

Claim Name                           Address Information
MATT HENNINGS TRUCKING, INC.         2700 33RD AVE SW CEDAR RAPIDS IA 52404
MATT RIGGS                           ADDRESS ON FILE
MATT T MAYHEW                        ADDRESS ON FILE
MATT W GLADSON                       ADDRESS ON FILE
MATTEL                               1456 E HARRY SHEPPARD BLVD SAN BERNARDINO CA 92408
MATTEL                               ATTN: MARITZA CABADA 1456 E HARRY SHEPPARD BLVD SAN BERNARDINO CA 92408
MATTEL                               ATTN: MARITZA CABADA CLAIMS DEPARTMENT 1456 E HARRY SHEPPARD BLVD SAN
                                     BERNARDINO CA 92408
MATTEL                               ATTN: MARTIZA CABADA 1456 E HARRY SHEPPARD BLVD SAN BERNARDINO CA 92408
MATTENSON, RYAN                      ADDRESS ON FILE
MATTEO, ROBERT B                     ADDRESS ON FILE
MATTER SURFACES                      ATTN: LINDSAY BOYDEN CUSTOMER SERVICE - CLAIM 179 CAMPANELLI PKWY STOUGHTON MA
                                     02072
MATTER, DOUGLAS S                    ADDRESS ON FILE
MATTER, JOHN                         ADDRESS ON FILE
MATTERN, GEORGE                      ADDRESS ON FILE
MATTESON, ETHAN                      ADDRESS ON FILE
MATTEUCCI, ANTHONY                   ADDRESS ON FILE
MATTHAI MATERIAL HANDLING, INC.      1405 TANGLER DRIVE SUITE A BALTIMORE MD 21220
MATTHEES, NICHELLE L                 ADDRESS ON FILE
MATTHEW A BOYER                      ADDRESS ON FILE
MATTHEW A MERGLER                    ADDRESS ON FILE
MATTHEW ABEL                         ADDRESS ON FILE
MATTHEW B DALRYMPLE                  ADDRESS ON FILE
MATTHEW BARR                         ADDRESS ON FILE
MATTHEW BARR                         ADDRESS ON FILE
MATTHEW C CRON                       ADDRESS ON FILE
MATTHEW CAR CORP                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MATTHEW D PUSCH                      ADDRESS ON FILE
MATTHEW E ODETTE                     ADDRESS ON FILE
MATTHEW EDWARD                       ADDRESS ON FILE
MATTHEW GIORDANO                     ADDRESS ON FILE
MATTHEW J BADON                      ADDRESS ON FILE
MATTHEW J HOBBS                      ADDRESS ON FILE
MATTHEW LOGISTICS LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MATTHEW P KASPER                     ADDRESS ON FILE
MATTHEW P ROHBECK                    ADDRESS ON FILE
MATTHEW RELLIHAN                     ADDRESS ON FILE
MATTHEW ROSAS                        ADDRESS ON FILE
MATTHEW S MANHARD                    ADDRESS ON FILE
MATTHEW STEPHEN PFEFFERKORN          ADDRESS ON FILE
MATTHEW V NAPIER                     ADDRESS ON FILE
MATTHEW W KOPE                       ADDRESS ON FILE
MATTHEWS CARGO                       OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
MATTHEWS III, WILLIAM                ADDRESS ON FILE
MATTHEWS MILLWORK                    ATTN: ROGER DEBNAM 1105 JIM CIR MONROE NC 28110
MATTHEWS TRUCK SERVICE INC           29 LEGATE HILL ROAD STERLING MA 01564
MATTHEWS, AARON                      ADDRESS ON FILE
MATTHEWS, ALTON                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1218 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1227 of 2156

Claim Name                            Address Information
MATTHEWS, ARMOND                      ADDRESS ON FILE
MATTHEWS, DAVID                       ADDRESS ON FILE
MATTHEWS, DAVID A                     ADDRESS ON FILE
MATTHEWS, GERARD                      ADDRESS ON FILE
MATTHEWS, HARRINGTON                  ADDRESS ON FILE
MATTHEWS, JACKIE                      ADDRESS ON FILE
MATTHEWS, JAMES                       ADDRESS ON FILE
MATTHEWS, JEFFERY                     ADDRESS ON FILE
MATTHEWS, JERNARIOUS                  ADDRESS ON FILE
MATTHEWS, JODI                        ADDRESS ON FILE
MATTHEWS, JORDAN                      ADDRESS ON FILE
MATTHEWS, KATHLEEN                    ADDRESS ON FILE
MATTHEWS, KEVIN                       ADDRESS ON FILE
MATTHEWS, MICHAEL                     ADDRESS ON FILE
MATTHEWS, NEHEMIAH                    ADDRESS ON FILE
MATTHEWS, NEHEMIAH                    ADDRESS ON FILE
MATTHEWS, TAMEKA                      ADDRESS ON FILE
MATTHEWS, TONY                        ADDRESS ON FILE
MATTHEWS, WILLIE                      ADDRESS ON FILE
MATTIE MAE TRUCKING LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MATTIFORD, DAVID                      ADDRESS ON FILE
MATTIFORD, JEFFREY                    ADDRESS ON FILE
MATTINGLY, BRENT                      ADDRESS ON FILE
MATTINGLY, BRIAN                      ADDRESS ON FILE
MATTINGLY, EDWARD                     ADDRESS ON FILE
MATTINGLY, KEVIN                      ADDRESS ON FILE
MATTINGLY, ROBERT                     ADDRESS ON FILE
MATTISON, JAMES L                     ADDRESS ON FILE
MATTIX, CHRISTINE                     ADDRESS ON FILE
MATTOON, HAROLD                       ADDRESS ON FILE
MATTOON, JOHN                         ADDRESS ON FILE
MATTOS, KENNETH                       ADDRESS ON FILE
MATTOX, JOHN T                        ADDRESS ON FILE
MATTOX, MICHAEL                       ADDRESS ON FILE
MATTS HEAVY DUTY MOBILE DIAGNOSTICS   P. O. BOX 511 SOUDERTON PA 18964
MATTS MOBILE MECH MAINT               PO BOX 928 PLEASANTON CA 94588
MATTSON, CONNIE                       ADDRESS ON FILE
MATTSON, JOSEPH                       ADDRESS ON FILE
MATTU EXPRESS INC.                    OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
MATTU TRANS INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MATUG, TADEUSZ                        ADDRESS ON FILE
MATULAVICH, MARK                      ADDRESS ON FILE
MATULNIK, TODD                        ADDRESS ON FILE
MATUSZAK, TODD                        ADDRESS ON FILE
MATUT TRUCKING SERVICE INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MATUTE TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MATUU-MALEPEAI, BERLIN                ADDRESS ON FILE
MATYASHUK, ALEKSANDR                  ADDRESS ON FILE
MATZKVECH, MARK                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1219 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1228 of 2156

Claim Name                           Address Information
MAUCK, JOHN                          ADDRESS ON FILE
MAUELLEN INC                         5812 SNOOKS TRL WAKE FOREST NC 27587-8423
MAUGA, MALOTUMAU                     ADDRESS ON FILE
MAUGER, MARK                         ADDRESS ON FILE
MAULDIN, FRANKLIN                    ADDRESS ON FILE
MAULDIN, FRANKLIN C                  ADDRESS ON FILE
MAULL TRANSPORT, LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MAUNEY, JACKIE                       ADDRESS ON FILE
MAUPIN, GREGORY R                    ADDRESS ON FILE
MAUPIN, LORRAINE                     ADDRESS ON FILE
MAURAS, MALIK                        ADDRESS ON FILE
MAURER TRUCK REPAIR INC.             20702 GASKIN DR LOCKPORT IL 60441
MAURER, BRIAN                        ADDRESS ON FILE
MAURER, CLINTON                      ADDRESS ON FILE
MAURER, KEVIN                        ADDRESS ON FILE
MAURICE H FOSTER                     ADDRESS ON FILE
MAURICE, ERIC                        ADDRESS ON FILE
MAURITZ, MICHAEL                     ADDRESS ON FILE
MAURO AND ANA TRUCKING               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAURO, KATHRYN                       ADDRESS ON FILE
MAURTUA, VICTOR                      ADDRESS ON FILE
MAUS, ROBBIE                         ADDRESS ON FILE
MAV TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAVAEGA, SOFENI                      ADDRESS ON FILE
MAVEN LOGISTICS INC                  OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
MAVEN LOGISTICS INC                  OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
MAVEN PAVEMENT SOLUTIONS             14840 S CRICKETWOOD HOMER GLEN IL 60491
MAVEN TRANSPORT LTD                  7101 HORNE STREET, UNIT 2 MISSION BC V2V 7A2 CANADA
MAVERICK COUNTY TAX ASSESSOR         370 N MONROE ST STE 3 EAGLE PASS TX 78852
MAVERICK COUNTY TAX OFFICE           370 N MONROE PO BOX 3 EAGLE PASS TX 78852
MAVERICK EXPRESS CARRIERS LLC        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MAVERICK EXPRESS CARRIERS LLC        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MAVERICK EXPRESS CORP                OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
MAVERICK EXPRESS, INC.               OR UMB CAPITAL FINANCE, PO BOX 874654 KANSAS CITY MO 64187-4654
MAVERICK EXPRESS, INC.               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MAVERICK GATES                       ADDRESS ON FILE
MAVERICK GLASS                       ADDRESS ON FILE
MAVERICK LAWN                        10399 SEYMOUR RD MONTROSE MI 48457
MAVERICK TRUCKING LLC                134 N 9TH AVE HIGHLAND PARK NJ 08904
MAVERIK INC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MAVI CARGO CO.                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MAVRIC TRUCKING INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAVRIN, VALERIY                      ADDRESS ON FILE
MAVRODIS, STEVEN                     ADDRESS ON FILE
MAVRODIS, STEVEN J                   ADDRESS ON FILE
MAWDHA, BASSAM                       ADDRESS ON FILE
MAWHORR, BRIAN                       ADDRESS ON FILE
MAWSON & MAWSON, INC.                1800 OLD LINCOLN HWY LANGHORNE PA 19047-3141
MAWUVI TRUCKING EXPRESS LLC          OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350



Epiq Corporate Restructuring, LLC                                                            Page 1220 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1229 of 2156

Claim Name                             Address Information
MAX BRIDDICK                           ADDRESS ON FILE
MAX CARRIERS INC                       5200 W LAWNDALE AVE SUMMIT IL 60501
MAX D MILLER                           ADDRESS ON FILE
MAX EXPRESS INC                        OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
MAX FREIGHT RUNNERS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAX FREIGHTLINES INC.                  904 S ROSELLE RD, 191 SCHAUMBURG IL 60193
MAX INDUSTRIES INC                     W140 N5985 LILLY RD MENOMONEE FALLS WI 53051
MAX MOVE LLC                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAX PACKAGING                          ATTN: ALICIA THOMPSON DUNAVANT PO BOX 172248 MEMPHIS TN 38119
MAX PACKAGING DUNAVANT                 ATTN: ALICIA THOMPSON PO BOX 172248 MEMPHIS TN 38119
MAX POWER TRANSPORT INC                5151 N EAST RIVER RD, UNIT 127 CHICAGO IL 60656
MAX ROSS SERVICES, INC.                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAX SYSTEMS LLC                        23533 45TH ST SE LAKE LILLIAN MN 56253
MAX TRANS LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAX TRANS LLC (JACKSON TN)             PO BOX 11507 JACKSON TN 38308
MAX TRUCKING, LLC                      OR APEX CAPITAL COR PO BOX 961029 FORT WORTH TX 76161
MAX-MAXTRUCKING                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MAX-POWER EXPRESS LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MAX11 EXPRESS                          8300 STANDUSTRIAL ST STANTON CA 90680
MAX1FREIGHT LLC                        OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MAXAM TIRE                             4406 MALONE RD. MEMPHIS TN 38118
MAXAM TIRE NA                          4600 MALONE RD MEMPHIS TN 38118
MAXAM TIRE NORTH AMERICA INC           ATTN: MARK CURTIS 4406 MALONE RD MEMPHIS TN 38118
MAXAM, JAMES                           ADDRESS ON FILE
MAXFIELD CANDY CO.                     ATTN: GENERAL COUNSEL 1050 S 200 W SALT LAKE CITY UT 84101
MAXFINE GROUP INC                      121 S DEL MAR AVE C68 SAN GABRIEL CA 91766
MAXIES EXCAVATING LTD                  3303 FAITHFULL AVE SASKATOON SK S7K 8H5 CANADA
MAXIM GROUP COMPANIES                  GEODIS, PO BOX 2208 BRENTWOOD TN 37024
MAXIM LLC                              OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
MAXIM LOGISTICS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAXIM TRANSPORTATION LLC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
MAXIM TRUCK & TRAILER                  11300 COLBERT ST ANJOU QC H1J 2S4 CANADA
MAXIM TRUCK & TRAILER                  1725 CHEMIN ST. FRANCOIS, DORVAL QC H9P 2S1 CANADA
MAXIM TRUCK & TRAILER                  1280 SHAWSON DR MISSISSAUGA ON L4W 1C4 CANADA
MAXIM TRUCK & TRAILER                  1860 BROOKSIDE BLVD WINNIPEG MB R3C 2E6 CANADA
MAXIM TRUCK & TRAILER                  BOX 42, GROUP 200, RR2 1860 BROOKSIDE BLVD WINNIPEG MB R3C 2E6 CANADA
MAXIM TRUCK & TRAILER                  3250 IDYLWYLD DR NORTH SASKATOON SK S7L 5Y7 CANADA
MAXIM TRUCK & TRAILER                  13240 170TH ST N.W. EDMONTON AB T5V 1M7 CANADA
MAXIM TRUCK AND TRAILER                640A PLESSIS RD WINNIPEG MB R2C 2Z4 CANADA
MAXIM TRUCK AND TRAILER                475 HENDERSON DR REGINA SK S4P 3C2 CANADA
MAXIMILLIUS TRANSPORTATION GROUP INC   OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
MAXIMO TRANSPORTATION LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MAXIMUM LOGISTICS INC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MAXIMUM LOGISTICS SERVICES CORP        OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
MAXIMUM TOWING & RECOVERY              5300 W. LAKE ST MELROSE PARK IL 60160
MAXIMUS TRUCKING GROUP                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAXIS, JEAN                            ADDRESS ON FILE
MAXLINE EXPRESS, INC.                  P O BOX 329 KENTON OH 43326
MAXLINE LOGISTICS INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                               Page 1221 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1230 of 2156

Claim Name                           Address Information
MAXLINE LOGISTICS INC                OR ASTERIA CORP, PO BOX 911 BURBANK CA 91503
MAXLITE INC                          12 YORK AVE NORTH CALDWELL NJ 07006
MAXON LIFT CORP                      PO BOX 678434 DALLAS TX 75267
MAXON, COURTNEY                      ADDRESS ON FILE
MAXPAX LLC                           401 E MORRISSEY DR ELKHORN WI 53121
MAXSON, KURT                         ADDRESS ON FILE
MAXSON, SCOTT                        ADDRESS ON FILE
MAXWELL MOTOR LINE LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MAXWELL TRUCKING LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MAXWELL, ANTONIO                     ADDRESS ON FILE
MAXWELL, BARRY                       ADDRESS ON FILE
MAXWELL, BRIAN                       ADDRESS ON FILE
MAXWELL, ELBERT                      ADDRESS ON FILE
MAXWELL, JAMES                       ADDRESS ON FILE
MAXWELL, KARL                        ADDRESS ON FILE
MAXWELL, NINA                        ADDRESS ON FILE
MAXWELL, PHILLIP                     ADDRESS ON FILE
MAXWELL, RYAN                        ADDRESS ON FILE
MAXX FLEET SERVICE                   7070 SMITH RD DENVER CO 80207
MAXX LOGISTICS LLC                   OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
MAXX START CORP.                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAXX TRANS LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MAXXIMUM XPRESS TRUCKING GROUP LLC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAY CARRIERS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MAY EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAY FIFTH INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75264-0267
MAY STAR GROUP                       OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
MAY TRANSPORTATION LLC               OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
MAY, ALBERT                          ADDRESS ON FILE
MAY, AMY                             ADDRESS ON FILE
MAY, DANIEL                          ADDRESS ON FILE
MAY, KEITH                           ADDRESS ON FILE
MAY, KRYSTAL                         ADDRESS ON FILE
MAY, LAURA                           ADDRESS ON FILE
MAY, MATTHEW                         ADDRESS ON FILE
MAY, SHANNON                         ADDRESS ON FILE
MAY, STEVEN                          ADDRESS ON FILE
MAY, TERRY                           ADDRESS ON FILE
MAY, VINCENT                         ADDRESS ON FILE
MAY, WAYNE                           ADDRESS ON FILE
MAY-PEROSKY, ANDREW                  ADDRESS ON FILE
MAYA SIMONE TRUCKING LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MAYA, ENRIQUE                        ADDRESS ON FILE
MAYABB, KENNETH                      ADDRESS ON FILE
MAYADAILY LINES LLC                  OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
MAYAKA, PRINCE                       ADDRESS ON FILE
MAYANI TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MAYBACH INTERNATIONAL GROUP INC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                            Page 1222 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1231 of 2156

Claim Name                          Address Information
MAYBERRY, JESSE                     ADDRESS ON FILE
MAYBERRY, JUMAANE                   ADDRESS ON FILE
MAYE, ZYSHAWN                       ADDRESS ON FILE
MAYENGO LLC                         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MAYER, BRIAN                        ADDRESS ON FILE
MAYER, DONNA                        ADDRESS ON FILE
MAYER, JIM                          ADDRESS ON FILE
MAYER, JOSEPH                       ADDRESS ON FILE
MAYER, MARK                         ADDRESS ON FILE
MAYER, ROBIN                        ADDRESS ON FILE
MAYER, SEBASTIAN                    ADDRESS ON FILE
MAYERS ELECTRIC COMPANY INC         4004 ERIE CT CINCINNATI OH 45227
MAYES 1ST TRANSPORTATION LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAYES, DENNIS                       ADDRESS ON FILE
MAYES, GALEN                        ADDRESS ON FILE
MAYES, JOHN                         ADDRESS ON FILE
MAYES, SABRINA                      ADDRESS ON FILE
MAYES, SCOTT                        ADDRESS ON FILE
MAYFIELD, ANDREW                    ADDRESS ON FILE
MAYFIELD, ANDREW                    ADDRESS ON FILE
MAYFIELD, ANTHONY                   ADDRESS ON FILE
MAYFIELD, CAEMEN                    ADDRESS ON FILE
MAYFIELD, DUSTIN                    ADDRESS ON FILE
MAYFIELD, KEVIN                     ADDRESS ON FILE
MAYFIELD, KYLE                      ADDRESS ON FILE
MAYFIELD, MARVIN                    ADDRESS ON FILE
MAYFIELD, MICHAEL                   ADDRESS ON FILE
MAYFIELD, OTIS J                    ADDRESS ON FILE
MAYFIELD, RUSSELL                   ADDRESS ON FILE
MAYFIELD, WILLIAM                   ADDRESS ON FILE
MAYFIELDS LANDSCAPING               120 S HIBBARD STAUNTON IL 62088
MAYFLOWER LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAYFLOWER TRANSPORTATION INC        6313 COSMOS ST EASTVALE CA 92880
MAYHEW, ROBERT                      ADDRESS ON FILE
MAYHEW, SAMUEL                      ADDRESS ON FILE
MAYHEW, SAMUEL A                    ADDRESS ON FILE
MAYLONE, CHRIS                      ADDRESS ON FILE
MAYNARD F SKARKA JR                 ADDRESS ON FILE
MAYNARD LESIEUR, INC.               P.O. BOX 823 NASHUA NH 03061
MAYNARD TRANSPORT LLC               OR PORTER BILLING SERVICES LLC P.O. BOX 398 BIRMINGHAM AL 35201
MAYNARD, ALEXANDER                  ADDRESS ON FILE
MAYNARD, ALEXANDER                  ADDRESS ON FILE
MAYNARD, AUBREY                     ADDRESS ON FILE
MAYNARD, BRADLEY                    ADDRESS ON FILE
MAYNARD, DUANE                      ADDRESS ON FILE
MAYNARD, JASEN                      ADDRESS ON FILE
MAYNARD, JEFFREY                    ADDRESS ON FILE
MAYNARD, MICHAEL                    ADDRESS ON FILE
MAYNARD, RONALD                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1223 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1232 of 2156

Claim Name                          Address Information
MAYNARD, TYLER                      ADDRESS ON FILE
MAYNES, LISA                        ADDRESS ON FILE
MAYNOR, DONALD W                    ADDRESS ON FILE
MAYNOR, MICHAEL                     ADDRESS ON FILE
MAYO CLINIC HEALTH SYSTEM           PO BOX 790339 ST. LOUIS MO 63179
MAYO, BUFORD                        ADDRESS ON FILE
MAYO, CHRISTOPHER                   ADDRESS ON FILE
MAYO, DAMIEN                        ADDRESS ON FILE
MAYO, MICHAEL                       ADDRESS ON FILE
MAYOR TRANSPORT                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAYRA EDITH RAMIREZ AGUILAR         ADDRESS ON FILE
MAYS SNOW PLOWING & REMOVAL         2146 RIVES EATON RD JACKSON MI 49201
MAYS, ANTHONY                       ADDRESS ON FILE
MAYS, CHARLOTTE                     ADDRESS ON FILE
MAYS, COLTON S                      ADDRESS ON FILE
MAYS, JAMES                         ADDRESS ON FILE
MAYS, JOHN T                        ADDRESS ON FILE
MAYS, LAWRENCE                      ADDRESS ON FILE
MAYS, LESTER                        ADDRESS ON FILE
MAYS, MICHAEL                       ADDRESS ON FILE
MAYS, NIKITA                        ADDRESS ON FILE
MAYS, PAUL                          ADDRESS ON FILE
MAYS, REGINALD                      ADDRESS ON FILE
MAYSONET, WILFREDO                  ADDRESS ON FILE
MAYVIK TRANSPORTATION LLC           3431 ALDER CANYON WAY ANTELOPE CA 95843
MAYWEATHER, WILLIE                  ADDRESS ON FILE
MAZ ENTERPRISE LLC                  323 BRIDGE CROSSING DR SIMPSONVILLE SC 29681
MAZ ENTERPRISE LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAZ TRUCKING                        7536 MANDY DR SACRAMENTO CA 95823
MAZ TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MAZA LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MAZAC TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MAZAGAN TRANSPORTATION INC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MAZARELLA, ANTHONY                  ADDRESS ON FILE
MAZARI TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MAZDA MOTORS OF AMERICA             NATIONAL TRAFFIC CONSULTANTS PO BOX 4367 LOS ANGELES CA 90078
MAZE TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MAZIARKA, GREGORY                   ADDRESS ON FILE
MAZUR, ANDREW                       ADDRESS ON FILE
MAZUR, JOSHUA                       ADDRESS ON FILE
MAZUR, PHILLIP                      ADDRESS ON FILE
MAZURKIEWICZ, WAYNE                 ADDRESS ON FILE
MAZURSKI, RITA                      ADDRESS ON FILE
MAZYCK TRANSPORTATION INC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MAZZA, JENNIE                       ADDRESS ON FILE
MAZZA, STEVEN                       ADDRESS ON FILE
MAZZA, TIFFANY                      ADDRESS ON FILE
MAZZAFERRO, GREGORY                 ADDRESS ON FILE
MAZZELLA, RICHARD                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1224 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1233 of 2156

Claim Name                           Address Information
MAZZOLA, ROGER                       ADDRESS ON FILE
MB CARGO LLC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MB ELECTRIC CO INC                   PO BOX 5745 FLORENCE SC 29502
MB EXPRESS INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MB FREIGHT TRANSPORT LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MB GROUP                             11 CHERRY TAYLOR AVE CAMBRIDGE ON N3H 0B5 CANADA
MB ROADWAYS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MB TRANSBUILD INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MB TRANSIT INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MB TRANSPORTATION                    3 TREADGOLD RD BRAMPTON ON L6P 2J4 CANADA
MB TRUCKING                          PO BOX 41 COUDERSPORT PA 16915
MB TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MBA TRANSPORT LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MBA TRANSPORT OF COLUMBUS LLC        OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL 60197
MBATANG WANDJI, NATANAEL             ADDRESS ON FILE
MBE 1                                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MBEIM4 LLC                           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
MBENGUE, FATOU                       ADDRESS ON FILE
MBG LOGISTICS & TRANSPORTATION INC   OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
MBG LOGISTICS INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MBH TRANSPORTATION LLC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MBH TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MBJM TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MBJN TRANS INC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MBL DEDICATED, LLC.                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MBL LOGISTICS LLC                    OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
MBL SANDHILL LLC                     2550 OVERLAND AVE STE 200 LOS ANGELES CA 90064-3346
MBL TRANSPORT LLC                    89 OSPREY DRIVE OLD BRIDGE NJ 08857
MBM GLOBAL INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MBM LOGISTICS                        4950 SERVICE DR WINONA MN 55987
MBM TRANSPORT                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MBM TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MBN TRUCK LLC                        OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
MBR TRUCKING LLC                     223 NW MOCKINGBIRD RD LAWTON OK 73507
MBS TRANSIT GLOBAL LOGISTICS         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MBSK TRANSPORTATION LLC              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MBSTAR LLC                           2609 W 15TH AVE SPOKANE WA 99224
MBULA, CELESTINE                     ADDRESS ON FILE
MBULA, CELESTINE                     ADDRESS ON FILE
MBW TRANSPORT SERVICES LLC           OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
MBW TRANSPORT SERVICES LLC           OR BRIDGE CAPITAL BUSINESS SERVICES LLC P.O. BOX 172091 MEMPHIS TN 38187
MC CARRIER LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MC CLEVELAND FUNDINGCOMPANY LLC      4540 WEST 160TH STREET CLEVELAND OH 44135
MC ELITE SERVICES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MC EXPRESS LOGISTICS INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MC FAUL FENCING LTD                  83 CIGAS ROAD COURTICE ON L1E 2T2 CANADA
MC GUERRERO TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MC LOAD LOGISTICS CO.                OR CD CONSORTIUM CORPORATION 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
MC PRO DELIVERY LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411



Epiq Corporate Restructuring, LLC                                                               Page 1225 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1234 of 2156

Claim Name                           Address Information
MC REALTY GROUP, LLC                 114 W 11TH ST STE 200 KANSAS CITY MO 64105
MC RENTALS LLC                       15N272 ROUTE 25 EAST DUNDEE IL 60118
MC SYSTEMS INC                       8977 TECHNOLOGY DR, SUITE A-2 FISHERS IN 46038
MC TRANSPORT (MC625882)              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MC TRANSPORT II INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MC TRUCKING & FREIGHT COMPANY LLC    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MC TRUCKING (MC1259170)              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MC2 FREIGHT                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MC2 TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MCA TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MCABEE, EDWARD                       ADDRESS ON FILE
MCADAMS, BRYAN                       ADDRESS ON FILE
MCADAMS, JOSHUA R                    ADDRESS ON FILE
MCADAMS, SHANNON                     ADDRESS ON FILE
MCADOOS TRUCKING SERVICE LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MCAFEE, CURTIS                       ADDRESS ON FILE
MCAFEE, DAVID                        ADDRESS ON FILE
MCAFEE, GARY                         ADDRESS ON FILE
MCAFEE, JACOB                        ADDRESS ON FILE
MCAFEE, JAMES                        ADDRESS ON FILE
MCAFEE, MICHAEL                      ADDRESS ON FILE
MCAFEE, PAUL                         ADDRESS ON FILE
MCAFEE, RACHEL                       ADDRESS ON FILE
MCAFEE, WILLIAM                      ADDRESS ON FILE
MCAHREN, PATRICK                     ADDRESS ON FILE
MCALEXANDER, JOHN                    ADDRESS ON FILE
MCALISTER, RHONDA                    ADDRESS ON FILE
MCALLEN MOTOR FREIGHT LLC            1113 N.41 ST MCALLEN TX 78501
MCALLEN MOTOR FREIGHT LLC            OR GEELERS FINANCIAL INC 760 E TASMAN DR MILPITAS CA 95035
MCALLEN PUBLIC UTILITY               1300 W HOUSTON AVE MCALLEN TX 78501
MCALLISTER, ARTHUR                   ADDRESS ON FILE
MCALLISTER, CARLTON J                ADDRESS ON FILE
MCALLISTER, CARLTON J                ADDRESS ON FILE
MCALLISTER, DEWAYNE                  ADDRESS ON FILE
MCALLISTER, HARRY                    ADDRESS ON FILE
MCALLISTER, PATRICK                  ADDRESS ON FILE
MCALLISTER, TRAYVON D                ADDRESS ON FILE
MCALPINE, LENDELL                    ADDRESS ON FILE
MCALPINE, SEAN                       ADDRESS ON FILE
MCANANY OIL COMPANY INC              PO BOX 906 OLATHE KS 66051
MCANINCH, ASHLEY                     ADDRESS ON FILE
MCARTHUR, EDWARD                     ADDRESS ON FILE
MCATEE, DEBORAH                      ADDRESS ON FILE
MCATEE, TODD                         ADDRESS ON FILE
MCAULIFFE, CHRISTINE                 ADDRESS ON FILE
MCAULIFFE, EDWARD                    ADDRESS ON FILE
MCAULIFFE, KEVIN                     ADDRESS ON FILE
MCAULIFFE, RICHARD                   ADDRESS ON FILE
MCBEAN, CAMILA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1226 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1235 of 2156

Claim Name                             Address Information
MCBEAN, CAMILA                         ADDRESS ON FILE
MCBEATH, JIMMY                         ADDRESS ON FILE
MCBEE, ANTHONY                         ADDRESS ON FILE
MCBEE, ARTAVEON                        ADDRESS ON FILE
MCBEE, LARRY                           ADDRESS ON FILE
MCBRAYER, CARLTON                      ADDRESS ON FILE
MCBRIDE MACK SALES & SERVICE, INC.     155 MCBRIDE LANE, P.O. BOX 2620 PADUCAH KY 42002
MCBRIDE MACK SALES & SERVICE, INC.     10466 BRAYFIELD RD, PO BOX 3036 CARBONDALE IL 62902
MCBRIDE ORTHOPEDIC HOSPITAL            9600 BROADWAY EXTENSION OKLAHOMA CITY OK 73114
MCBRIDE ORTHOPEDIC HOSPITAL            PO BOX 268921 OKLAHOMA CITY OK 73126
MCBRIDE TRUCK LINE LLC                 OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MCBRIDE, DENNIS                        ADDRESS ON FILE
MCBRIDE, JOHN                          ADDRESS ON FILE
MCBRIDE, TALLMAN                       ADDRESS ON FILE
MCBRIEN, THOMAS                        ADDRESS ON FILE
MCBROOM, KAMERON                       ADDRESS ON FILE
MCC FAMILY TRANSPORT                   OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
MCCABE CHAPEL UNITEDMETHODIST CHURCH   1523 N. PINE ST. NORTH LITTLE ROCK AR 72118
MCCABE SOFTWARE, INC.                  3300 NORTH RIDGE RD., SUITE 175 ELLICOTT CITY MD 21043
MCCABE SOFTWARE, INC.                  29 BROAD ST., UNIT 203 BERLIN MD 21811
MCCABE TRUCKING, INC.                  PO BOX 248, PO BOX 248 CLAYSBURG PA 16625
MCCABE, JAMES                          ADDRESS ON FILE
MCCABE, JENNIFER                       ADDRESS ON FILE
MCCABE, TRACEY                         ADDRESS ON FILE
MCCAFFERTY, ETHAN                      ADDRESS ON FILE
MCCAFFREY, KEVIN                       ADDRESS ON FILE
MCCAFFREY, LEATH                       ADDRESS ON FILE
MCCAIN, BRIAN                          ADDRESS ON FILE
MCCAIN, LARRY                          ADDRESS ON FILE
MCCAIN, TYLER                          ADDRESS ON FILE
MCCALEB, BRYAN                         ADDRESS ON FILE
MCCALL, DANIEL                         ADDRESS ON FILE
MCCALL, DIONTE                         ADDRESS ON FILE
MCCALL, IAN                            ADDRESS ON FILE
MCCALL, JAMES                          ADDRESS ON FILE
MCCALL, JEANETTE                       ADDRESS ON FILE
MCCALL, JOUQUIH                        ADDRESS ON FILE
MCCALL, MARK                           ADDRESS ON FILE
MCCALL, ROY                            ADDRESS ON FILE
MCCALL, ZION                           ADDRESS ON FILE
MCCALLEBB, ROBERT                      ADDRESS ON FILE
MCCALLON, BRIAN                        ADDRESS ON FILE
MCCALLOP, WILIAM                       ADDRESS ON FILE
MCCALLUM FAMILY LLC                    2471 RIVERSIDE PARKWAY A GRAND JUNCTION CO 81505
MCCALLUM FAMILY LLC                    ATTN: STEVE OR BOBETTE MCCALLUM 2471 RIVERSIDE PARKWAY A GRAND JUNCTION CO
                                       81505
MCCALLUM, JAMES                        ADDRESS ON FILE
MCCALLUM, JOHNNIE                      ADDRESS ON FILE
MCCAMAN, MEKAYLA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1227 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1236 of 2156

Claim Name                              Address Information
MCCANDLESS INTERNATIONAL                4030 CLUB MANOR DRIVE PUEBLO CO 81005
MCCANDLESS INTERNATIONAL TRUCKS, INC.   3780 LOSEE RD NORTH LAS VEGAS NV 89030
MCCANDLESS INTL COLO                    136 GARDEN OF THE GODS RD COLORADO SPRINGS CO 80907
MCCANDLESS INTL COLORADO                16704 EAST 32ND AVE AURORA CO 80011
MCCANDLESS TRUCK CENTER, LLC            16704 E 32ND AVE AURORA CO 80011
MCCANDLESS TRUCK CENTER, LLC            3780 LOSEE RD NORTH LAS VEGAS NV 89030
MCCANE, WILLIAM                         ADDRESS ON FILE
MCCANN EQUIPMENT                        10255 CH COTE-DE-LIESSE DORVAL QC H9P 1A3 CANADA
MCCANN, ALLEN                           ADDRESS ON FILE
MCCANN, CHRISTOPHER                     ADDRESS ON FILE
MCCANN, CHRISTOPHER                     ADDRESS ON FILE
MCCANN, CONNOR                          ADDRESS ON FILE
MCCANN, JAMES                           ADDRESS ON FILE
MCCANN, JEFF                            ADDRESS ON FILE
MCCANN, JEFF S                          ADDRESS ON FILE
MCCANN, JONATHAN                        ADDRESS ON FILE
MCCANN, RANDY                           ADDRESS ON FILE
MCCANN, WAYNE                           ADDRESS ON FILE
MCCANTS, CLIFF                          ADDRESS ON FILE
MCCARL, AUSTIN                          ADDRESS ON FILE
MCCARREN, WILLIAM                       ADDRESS ON FILE
MCCARTER, TAMMY                         ADDRESS ON FILE
MCCARTHY TETRAULT LLP                   500, GRANDE ALLEE EST, 9E ETAGE QC G1R 2J7 CANADA
MCCARTHY TIRE SERVICE COMPANY INC       PO BOX 1125 WILKES BARRE PA 18703
MCCARTHY, BRANDEN                       ADDRESS ON FILE
MCCARTHY, CASSIDY                       ADDRESS ON FILE
MCCARTHY, CHARLIE                       ADDRESS ON FILE
MCCARTHY, COREY                         ADDRESS ON FILE
MCCARTHY, DUANE F                       ADDRESS ON FILE
MCCARTHY, GEORGE                        ADDRESS ON FILE
MCCARTHY, GEORGE                        ADDRESS ON FILE
MCCARTHY, HALEY                         ADDRESS ON FILE
MCCARTHY, JOHN                          ADDRESS ON FILE
MCCARTHY, KEVIN                         ADDRESS ON FILE
MCCARTHY, MICHAEL                       ADDRESS ON FILE
MCCARTHY, MICHAEL                       ADDRESS ON FILE
MCCARTHY, MICHAEL                       ADDRESS ON FILE
MCCARTHY, MICHAEL                       ADDRESS ON FILE
MCCARTHY, PATRICK                       ADDRESS ON FILE
MCCARTHY, RICHARD                       ADDRESS ON FILE
MCCARTHY, RUSSELL                       ADDRESS ON FILE
MCCARTHY, SEAN                          ADDRESS ON FILE
MCCARTNEY, GARY                         ADDRESS ON FILE
MCCARTNEY, MARTIN                       ADDRESS ON FILE
MCCARTNEY, MICHAEL                      ADDRESS ON FILE
MCCARTNEY, VALERIE                      ADDRESS ON FILE
MCCARTY, DANIEL                         ADDRESS ON FILE
MCCARTY, FREDRICK                       ADDRESS ON FILE
MCCARTY, JACOB                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1228 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1237 of 2156

Claim Name                           Address Information
MCCARTY, JOHN                        ADDRESS ON FILE
MCCARTY, KATHLEEN                    ADDRESS ON FILE
MCCARTY, MICHAEL                     ADDRESS ON FILE
MCCARTY, STEVEN                      ADDRESS ON FILE
MCCARTY-ROGERS, GAIL                 ADDRESS ON FILE
MCCARY, REGINALD                     ADDRESS ON FILE
MCCASKEL, ANTHONY                    ADDRESS ON FILE
MCCASKILL, ERIC                      ADDRESS ON FILE
MCCASLIN, LARRY                      ADDRESS ON FILE
MCCASLIN, PATRICK                    ADDRESS ON FILE
MCCAULEY POTTER FAIN ASSOCIATES      4990 SW ANGEL AVE BEAVERTON OR 97005
MCCAULEY, BRIAN                      ADDRESS ON FILE
MCCAULEY, CALEB                      ADDRESS ON FILE
MCCAULEY, PAMELA                     ADDRESS ON FILE
MCCAULEY, WILLIAM                    ADDRESS ON FILE
MCCAUSLAND, BRANDON                  ADDRESS ON FILE
MCCAWLEY, JEFFREY                    ADDRESS ON FILE
MCCHESNEY, DONALD                    ADDRESS ON FILE
MCCLAIN MOVING                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MCCLAIN TRUCKING                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MCCLAIN, ALLEN ONEIL                 ADDRESS ON FILE
MCCLAIN, ELLIOTT                     ADDRESS ON FILE
MCCLAIN, LUKE                        ADDRESS ON FILE
MCCLAIN, MARK                        ADDRESS ON FILE
MCCLAIN, MARK                        ADDRESS ON FILE
MCCLAIN, RONNIE                      ADDRESS ON FILE
MCCLAIN, TEDDY                       ADDRESS ON FILE
MCCLANAHAN, CARL                     ADDRESS ON FILE
MCCLARTY LOCKSMITH                   6870 BLUE BIRD LN OLIVE BRANCH MS 38654
MCCLARY, COY                         ADDRESS ON FILE
MCCLARY, KEVIN                       ADDRESS ON FILE
MCCLARY, TERRY                       ADDRESS ON FILE
MCCLATCHEY, MUSTAFA                  ADDRESS ON FILE
MCCLEARY, CONSTANTINO                ADDRESS ON FILE
MCCLEARY, STEVEN                     ADDRESS ON FILE
MCCLELLAN, CHERYL                    ADDRESS ON FILE
MCCLELLAN, JOHN                      ADDRESS ON FILE
MCCLELLAN, MINDY                     ADDRESS ON FILE
MCCLENDON, ALVIN                     ADDRESS ON FILE
MCCLENDON, BYRON A                   ADDRESS ON FILE
MCCLENDON, CHARLES                   ADDRESS ON FILE
MCCLENDON, COURTNEY                  ADDRESS ON FILE
MCCLENDON, DANIEL                    ADDRESS ON FILE
MCCLENDON, DOMINIK                   ADDRESS ON FILE
MCCLENDON, DWAIN                     ADDRESS ON FILE
MCCLENDON, MICHAEL                   ADDRESS ON FILE
MCCLENDON, ROBERT                    ADDRESS ON FILE
MCCLESKEY, JAMES                     ADDRESS ON FILE
MCCLINEK, ROBERT                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1229 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1238 of 2156

Claim Name                           Address Information
MCCLINTOCK, ANDREW                   ADDRESS ON FILE
MCCLOSKEY, LISA                      ADDRESS ON FILE
MCCLOSKY, JAMES                      ADDRESS ON FILE
MCCLOUD, ASHLEY                      ADDRESS ON FILE
MCCLOUD, JOHN                        ADDRESS ON FILE
MCCLOUD, KEVIN                       ADDRESS ON FILE
MCCLOUD, LAWRENCE                    ADDRESS ON FILE
MCCLOUD, ROBERT                      ADDRESS ON FILE
MCCLOUD, SCOTT E                     ADDRESS ON FILE
MCCLOUD, ZAKIYYAH A                  ADDRESS ON FILE
MCCLUNG, JAMES                       ADDRESS ON FILE
MCCLUNG, JAYLIN                      ADDRESS ON FILE
MCCLURE III, ROBERT                  ADDRESS ON FILE
MCCLURE, CLARENCE                    ADDRESS ON FILE
MCCLURE, DANIEL                      ADDRESS ON FILE
MCCLURE, DAVID D                     ADDRESS ON FILE
MCCLURE, IAN                         ADDRESS ON FILE
MCCLURE, JOHN                        ADDRESS ON FILE
MCCLURE, KEVIN                       ADDRESS ON FILE
MCCLURE, MARK                        ADDRESS ON FILE
MCCLURE, NICK                        ADDRESS ON FILE
MCCLURE, RUSS                        ADDRESS ON FILE
MCCLURE, WILLIAM                     ADDRESS ON FILE
MCCLURES A/C ELECTRICAL              115 FLYNN LOOP JENA LA 71342
MCCLUSKEY, BILLIE                    ADDRESS ON FILE
MCCLUSKEY, HENRY                     ADDRESS ON FILE
MCCLUSKY, JAMES                      ADDRESS ON FILE
MCCOLLOM, JONATHAN                   ADDRESS ON FILE
MCCOLLUM ELECTRICAL SERVICES INC     660 ZEIGLER CIR E MOBILE AL 36608
MCCOLLUM, BRIAN                      ADDRESS ON FILE
MCCOLLUM, CAROLINE                   ADDRESS ON FILE
MCCOLLUM, JOSEPH                     ADDRESS ON FILE
MCCOLLUM, KEVIN                      ADDRESS ON FILE
MCCOLLUM, WILLIAM                    ADDRESS ON FILE
MCCOMBS TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCCOMBS, GREGORY                     ADDRESS ON FILE
MCCOMBS, LAWTON                      ADDRESS ON FILE
MCCONAUGHEY, ERIC                    ADDRESS ON FILE
MCCONEGHY, ADAM                      ADDRESS ON FILE
MCCONLEY, STEPHEN                    ADDRESS ON FILE
MCCONNELL & ASSOCIATES CORP.         1225 IRON NORTH KANSAS CITY MO 64116
MCCONNELL LOGISTICS LLC              8003 SOUTHAMPTON AVE WYNDMOOR PA 19038
MCCONNELL TRANSPORT LLC              211 INDIAN STEPS ROAD AIRVILLE PA 17302
MCCONNELL, KAREN                     ADDRESS ON FILE
MCCONNELL, KARMI                     ADDRESS ON FILE
MCCONNELL, LINDY                     ADDRESS ON FILE
MCCONNELL, MICHAEL                   ADDRESS ON FILE
MCCONNELL, ROBERT                    ADDRESS ON FILE
MCCONNELL, ROBERT                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1230 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1239 of 2156

Claim Name                              Address Information
MCCONNER, MICHAEL                       ADDRESS ON FILE
MCCONNIEL, DAVID                        ADDRESS ON FILE
MCCONWAY & TORLEY CORPORATION           110 51ST ST PITTSBURGH PA 15201
MCCOOL ROADSIDE SERVICE LLC             MCCOOL ROADSIDE SERVICES LLC 303 S WALNUT ST WESTVILLE IL 61883
MCCOOL ROADSIDE SERVICE LLC             REPAIR & ROADSIDE SERVICES 303 S WALNUT ST. WESTVILLE IL 61883
MCCOOL ROADSODE SERVICE LLC             D/B/A: MCCOOL ROADSIDE SERVICE LLC 303 S WALNUT ST WESTVILLE IL 61883
MCCOOL ROADSODE SERVICE LLC             D/B/A: MCCOOL ROADSIDE SERVICE LLC REPAIR & ROADSIDE SERVICES 303 S WALNUT ST.
                                        WESTVILLE IL 61883
MCCOOL TRANS. REFRIGERATION             D/B/A: MCCOOL ROADSIDE SERVICE LLC 303 S WALNUT ST WESTVILLE IL 61883
MCCOOL TRANS. REFRIGERATION             D/B/A: MCCOOL ROADSIDE SERVICE LLC REPAIR & ROADSIDE SERVICES 303 S WALNUT ST.
                                        WESTVILLE IL 61883
MCCOOL TRANSPORT REFRIGERATION REPAIR   AND ROADSIDE SERVICES LLC D/B/A: MCCOOL ROADSIDE SERVICE LLC 303 S WALNUT ST
                                        WESTVILLE IL 61883
MCCOOL TRANSPORT REFRIGERATION REPAIR   D/B/A: MCCOOL ROADSIDE SERVICE LLC REPAIR & ROADSIDE SERVICES 303 S WALNUT ST.
                                        WESTVILLE IL 61883
MCCOPPIN, ZACHARY                       ADDRESS ON FILE
MCCORD, COLTON                          ADDRESS ON FILE
MCCORD, DARYL                           ADDRESS ON FILE
MCCORD, DENISE                          ADDRESS ON FILE
MCCORD, DEVIN                           ADDRESS ON FILE
MCCORD, KENT                            ADDRESS ON FILE
MCCORD, ROBERT                          ADDRESS ON FILE
MCCORD, TRAVION                         ADDRESS ON FILE
MCCORKLE SIGN CO.                       1107 E. GEER ST. DURHAM NC 27704
MCCORKLE, RONNIE                        ADDRESS ON FILE
MCCORMACK, ERNIE                        ADDRESS ON FILE
MCCORMICK AND MCCORMICK, INC.           PO BOX 157 KENNAN WI 54537-0157
MCCORMICK, CARLSON                      ADDRESS ON FILE
MCCORMICK, DOYLE                        ADDRESS ON FILE
MCCORMICK, JAMES                        ADDRESS ON FILE
MCCORMICK, JEFFERY                      ADDRESS ON FILE
MCCORMICK, JORDAN                       ADDRESS ON FILE
MCCORMICK, MARQUISE                     ADDRESS ON FILE
MCCORMICK, MICHAEL                      ADDRESS ON FILE
MCCORMICK, MITCHELL                     ADDRESS ON FILE
MCCORMICK, PATRICE                      ADDRESS ON FILE
MCCORMICK, SCOTT                        ADDRESS ON FILE
MCCORMICK, STANLEY                      ADDRESS ON FILE
MCCORT, JACOB                           ADDRESS ON FILE
MCCORT, MIKE                            ADDRESS ON FILE
MCCOURT, RODNEY                         ADDRESS ON FILE
MCCOURT, RONALD                         ADDRESS ON FILE
MCCOY FREIGHTLINER                      ATTN: GENERAL COUNSEL 2675 MORGANTOWN ROAD READING PA 19607
MCCOY FREIGHTLINER                      PO BOX 17218, 9622 N E VANCOUVER WAY PORTLAND OR 97211
MCCOY FREIGHTLINER                      9622 N E VANCOUVER WAY, PO BOX 17218 PORTLAND OR 97217
MCCOY FREIGHTLINER                      P.O. BOX 17218 PORTLAND OR 97217
MCCOY III, FREDDIE                      ADDRESS ON FILE
MCCOY, ANTWAN                           ADDRESS ON FILE
MCCOY, CAMERON                          ADDRESS ON FILE
MCCOY, CARL                             ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                Page 1231 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1240 of 2156

Claim Name                           Address Information
MCCOY, CLYDE                         ADDRESS ON FILE
MCCOY, DAVID A                       ADDRESS ON FILE
MCCOY, DIANNA                        ADDRESS ON FILE
MCCOY, DONALD                        ADDRESS ON FILE
MCCOY, HALISI                        ADDRESS ON FILE
MCCOY, HOWARD                        ADDRESS ON FILE
MCCOY, JAMES                         ADDRESS ON FILE
MCCOY, JASON                         ADDRESS ON FILE
MCCOY, LAWRENCE                      ADDRESS ON FILE
MCCOY, MICHAEL                       ADDRESS ON FILE
MCCOY, NICHOLAS                      ADDRESS ON FILE
MCCOY, NICHOLAS                      ADDRESS ON FILE
MCCOY, NICHOLAS W                    ADDRESS ON FILE
MCCOY, RICHARD F                     ADDRESS ON FILE
MCCOY, RICKY                         ADDRESS ON FILE
MCCOY, ROBERT                        ADDRESS ON FILE
MCCOY, RODNEY                        ADDRESS ON FILE
MCCOY, ROGER                         ADDRESS ON FILE
MCCOY, SALLY                         ADDRESS ON FILE
MCCOY, SEAN                          ADDRESS ON FILE
MCCOY, TIMOTHY                       ADDRESS ON FILE
MCCRACKEN COUNTY SHERIFF             COUNTY COURTHOUSE 300 CLARENCE GAINES ST PADUCAH KY 42003
MCCRACKEN COUNTY SHERIFF             COUNTY COURTHOUSE PADUCAH KY 42003
MCCRACKEN COUNTY TAX ADMINISTRATOR   PO BOX 2658 PADUCAH KY 42002
MCCRACKEN, DAVID                     ADDRESS ON FILE
MCCRACKEN, DEANNA                    ADDRESS ON FILE
MCCRAE, ORLANDO                      ADDRESS ON FILE
MCCRAIN, WILLIAM                     ADDRESS ON FILE
MCCRANEY, MATTHEW                    ADDRESS ON FILE
MCCRANEY, MATTHEW M                  ADDRESS ON FILE
MCCRANIE, ROBERT                     ADDRESS ON FILE
MCCRARY, COLIN                       ADDRESS ON FILE
MCCRARY, JAMES                       ADDRESS ON FILE
MCCRARY, JORDAN                      ADDRESS ON FILE
MCCRARY, JUSTIN                      ADDRESS ON FILE
MCCRARY, KIM                         ADDRESS ON FILE
MCCRARY, LASHEANA                    ADDRESS ON FILE
MCCRAW, CHASE                        ADDRESS ON FILE
MCCRAW, WAYNE                        ADDRESS ON FILE
MCCRAY, CHARLES                      ADDRESS ON FILE
MCCRAY, CHARLES                      ADDRESS ON FILE
MCCRAY, CLINTON                      ADDRESS ON FILE
MCCRAY, DERRAY                       ADDRESS ON FILE
MCCRAY, LAMAR                        ADDRESS ON FILE
MCCRAY, NEIL                         ADDRESS ON FILE
MCCRAY, RANDY                        ADDRESS ON FILE
MCCRAY, TORRENCE                     ADDRESS ON FILE
MCCREA, WILFRED                      ADDRESS ON FILE
MCCREARY, WALTER                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1232 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1241 of 2156

Claim Name                           Address Information
MCCREE, TYRIQ                        ADDRESS ON FILE
MCCRILLIS, MICHAEL                   ADDRESS ON FILE
MCCRIMMON, THOMAS                    ADDRESS ON FILE
MCCRINK, WILLIAM                     ADDRESS ON FILE
MCCRINK, WILLIAM                     ADDRESS ON FILE
MCCRODDEN, SHAWN                     ADDRESS ON FILE
MCCROSKEY, MICHAEL                   ADDRESS ON FILE
MCCROSSEN CHIROPRACTIC               ADDRESS ON FILE
MCCROSSEN CHIROPRACTIC               ADDRESS ON FILE
MCCUBBIN, IAN                        ADDRESS ON FILE
MCCUBBINS, STEVEN                    ADDRESS ON FILE
MCCUE, MARK                          ADDRESS ON FILE
MCCUISTION, BRITTANY                 ADDRESS ON FILE
MCCUISTION, MICHAEL                  ADDRESS ON FILE
MCCULLAR, JOSEPH                     ADDRESS ON FILE
MCCULLEN, DEBORAH                    ADDRESS ON FILE
MCCULLEN, MICHAEL                    ADDRESS ON FILE
MCCULLER-SWAN, DAISHAWN              ADDRESS ON FILE
MCCULLERS DELIVERY SERVICE           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MCCULLOUGH, BRIAN                    ADDRESS ON FILE
MCCULLOUGH, BRUCE                    ADDRESS ON FILE
MCCULLOUGH, CHARLIE                  ADDRESS ON FILE
MCCULLOUGH, DARIUS                   ADDRESS ON FILE
MCCULLOUGH, DUSTIN                   ADDRESS ON FILE
MCCULLOUGH, JABARI                   ADDRESS ON FILE
MCCULLOUGH, JACOB                    ADDRESS ON FILE
MCCULLOUGH, JAMES                    ADDRESS ON FILE
MCCULLOUGH, THOMAS                   ADDRESS ON FILE
MCCULLOUGH, VERSHAWN                 ADDRESS ON FILE
MCCULLOUGH, VERSHAWN                 ADDRESS ON FILE
MCCULLY, ALEXIS T                    ADDRESS ON FILE
MCCULLY, ALEXIS T                    ADDRESS ON FILE
MCCULLY, ALONZA EUGENE               ADDRESS ON FILE
MCCULLY, ALONZA EUGENE               ADDRESS ON FILE
MCCULLY, PHILIP                      ADDRESS ON FILE
MCCUMBER, CADEN                      ADDRESS ON FILE
MCCUNE, DANIEL & BETH                ADDRESS ON FILE
MCCUNE, MICHAEL                      ADDRESS ON FILE
MCCURDY RICHARDSON, DARREN           ADDRESS ON FILE
MCCURLEY, JERRY                      ADDRESS ON FILE
MCCURREN, SEAMUS                     ADDRESS ON FILE
MCCURRY, DAMON                       ADDRESS ON FILE
MCCURRY, GERALD                      ADDRESS ON FILE
MCCUSKER, NICHOLETTE                 ADDRESS ON FILE
MCCUTCHAN, WILLIAM                   ADDRESS ON FILE
MCCUTCHEON, SHAWN                    ADDRESS ON FILE
MCD LOGISTICS LLC                    1200 TOUSON DR JANESVILLE WI 53546
MCD TRANSPORTATION INC.              2493 ROLL DR. SUITE 210-2003 SAN DIEGO CA 92154
MCDAL CORPORATION                    475 E CHURCH RD KING OF PRUSSIA PA 19406



Epiq Corporate Restructuring, LLC                                                             Page 1233 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1242 of 2156

Claim Name                           Address Information
MCDANIEL CONSTRUCTION INC            4692 N 1350 E RD HEYWORTH IL 61745
MCDANIEL PLUMBING                    445 E BIRCHWOOD ST, SUITE B MORTON IL 61550
MCDANIEL, ANTHONY                    ADDRESS ON FILE
MCDANIEL, CARL                       ADDRESS ON FILE
MCDANIEL, CHARLES                    ADDRESS ON FILE
MCDANIEL, CLAUDE                     ADDRESS ON FILE
MCDANIEL, DEAN                       ADDRESS ON FILE
MCDANIEL, DONTARIOUS                 ADDRESS ON FILE
MCDANIEL, ED                         ADDRESS ON FILE
MCDANIEL, ISIAH                      ADDRESS ON FILE
MCDANIEL, JAMES                      ADDRESS ON FILE
MCDANIEL, JEFFERY                    ADDRESS ON FILE
MCDANIEL, JOHN L                     ADDRESS ON FILE
MCDANIEL, JULIA                      ADDRESS ON FILE
MCDANIEL, KENNETH M                  ADDRESS ON FILE
MCDANIEL, LOREN                      ADDRESS ON FILE
MCDANIEL, MARK                       ADDRESS ON FILE
MCDANIEL, MELISSA                    ADDRESS ON FILE
MCDANIEL, RANDALL                    ADDRESS ON FILE
MCDANIEL, RICHARD                    ADDRESS ON FILE
MCDANIEL, STEVEN                     ADDRESS ON FILE
MCDANIEL, TIMOTHY                    ADDRESS ON FILE
MCDANIEL, WHITLEY                    ADDRESS ON FILE
MCDANILES, CASEY                     ADDRESS ON FILE
MCDAY, ADRIAN                        ADDRESS ON FILE
MCDAY, JOHN                          ADDRESS ON FILE
MCDERMOTT FENCE & CONST INC.         9940 SE OAK ST PORTLAND OR 97216
MCDERMOTT, COLE                      ADDRESS ON FILE
MCDERMOTT, KEVIN                     ADDRESS ON FILE
MCDERMOTT, RANDALL                   ADDRESS ON FILE
MCDERMOTT, WILL, & EMERY LLP         444 WEST LAKE STREET SUITE 4000 CHICAGO IL 60606
MCDONALD TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCDONALD, ANTHONY                    ADDRESS ON FILE
MCDONALD, BRIAN                      ADDRESS ON FILE
MCDONALD, BRITTANY                   ADDRESS ON FILE
MCDONALD, CEDRIC                     ADDRESS ON FILE
MCDONALD, CONNOR                     ADDRESS ON FILE
MCDONALD, DANIEL                     ADDRESS ON FILE
MCDONALD, DAVID                      ADDRESS ON FILE
MCDONALD, DAVID                      ADDRESS ON FILE
MCDONALD, DEDRIC                     ADDRESS ON FILE
MCDONALD, DONNA                      ADDRESS ON FILE
MCDONALD, DOUGLAS J                  ADDRESS ON FILE
MCDONALD, ERIC                       ADDRESS ON FILE
MCDONALD, JADEN                      ADDRESS ON FILE
MCDONALD, JOHN                       ADDRESS ON FILE
MCDONALD, JOSHUA                     ADDRESS ON FILE
MCDONALD, JUDD                       ADDRESS ON FILE
MCDONALD, JUSTIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1234 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1243 of 2156

Claim Name                          Address Information
MCDONALD, KENNETH                   ADDRESS ON FILE
MCDONALD, KYLIE                     ADDRESS ON FILE
MCDONALD, LOUIS                     ADDRESS ON FILE
MCDONALD, MARCUS                    ADDRESS ON FILE
MCDONALD, MICHAEL                   ADDRESS ON FILE
MCDONALD, MISTY                     ADDRESS ON FILE
MCDONALD, PEGGY                     ADDRESS ON FILE
MCDONALD, RANDY                     ADDRESS ON FILE
MCDONALD, ROBERT                    ADDRESS ON FILE
MCDONALD, STACY                     ADDRESS ON FILE
MCDONALD, STARLING                  ADDRESS ON FILE
MCDONALD, TERRY                     ADDRESS ON FILE
MCDONALD, TERRY                     ADDRESS ON FILE
MCDONALD, THOMAS                    ADDRESS ON FILE
MCDONALD, TONY                      ADDRESS ON FILE
MCDONALD, TYNESHA                   ADDRESS ON FILE
MCDONALD, WARREN                    ADDRESS ON FILE
MCDONALDS EXPRESS LINE INC          PO BOX 322 REMSEN NY 13438
MCDONALDS LOGISTICS LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MCDONNELL, DAVID                    ADDRESS ON FILE
MCDONNELL, JOHN                     ADDRESS ON FILE
MCDONNELL, PATRICK                  ADDRESS ON FILE
MCDONNELL, SHANNON                  ADDRESS ON FILE
MCDONOUGH, SEAN                     ADDRESS ON FILE
MCDOUGALL & SONS CONSTRUCTION LLC   3612 E CHATHAM ST SIOUX FALLS SD 57108
MCDOUGALL, ROBERT T                 ADDRESS ON FILE
MCDOUGLE, ALAN                      ADDRESS ON FILE
MCDOWELL TRUCK & AUTO REPAIR        1603 275TH ST. MANCHESTER IA 52057
MCDOWELL WRECKER SERVICE INC        2555 E KEAMEY ST. SPRINGFIELD MO 65803
MCDOWELL WRECKER SERVICE INC        2555 E KEARNEY ST. SPRINGFIELD MO 65803
MCDOWELL WRECKER SERVICE INC        2555 E KEARNEY SPRINGFIELD MO 65803
MCDOWELL, CRAIG                     ADDRESS ON FILE
MCDOWELL, JASON                     ADDRESS ON FILE
MCDOWELL, KYLE                      ADDRESS ON FILE
MCDOWELL, MATTHEW                   ADDRESS ON FILE
MCDOWELL, OWENS                     ADDRESS ON FILE
MCDOWELL, SCOTT                     ADDRESS ON FILE
MCDUFFEE, DUNCAN                    ADDRESS ON FILE
MCDUFFEY, ROD                       ADDRESS ON FILE
MCDUFFIE, CAMERON                   ADDRESS ON FILE
MCEACHERN, AMIJAH                   ADDRESS ON FILE
MCEACHERN, JOSEPH                   ADDRESS ON FILE
MCELDOWNEY, DAVID                   ADDRESS ON FILE
MCELDOWNEY, DAVID                   ADDRESS ON FILE
MCELFRESH, MELISSA                  ADDRESS ON FILE
MCELHANNON, KANDI                   ADDRESS ON FILE
MCELHENEY, TAMMY                    ADDRESS ON FILE
MCELRATH, JARACZ                    ADDRESS ON FILE
MCELROY, BRANDON                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1235 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1244 of 2156

Claim Name                           Address Information
MCELROY, DAVARIUS                    ADDRESS ON FILE
MCELROY, ERIC                        ADDRESS ON FILE
MCELROY, MICHAEL                     ADDRESS ON FILE
MCELROY, SHERMAN                     ADDRESS ON FILE
MCELROYS INC                         3310 SW TOPEKA BLVD TOPEKA KS 66611
MCELVANY, AARON M                    ADDRESS ON FILE
MCELWAIN, DREW                       ADDRESS ON FILE
MCELWEE TRANSPORTATION, LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MCENEANEY, JOSEPH                    ADDRESS ON FILE
MCENERY, JOSEPH                      ADDRESS ON FILE
MCEUEN, RONALD                       ADDRESS ON FILE
MCEVOY TRUCKING, INC.                P.O. BOX 390424 OMAHA NE 68137
MCF TECHNOLOGY SOLUTIONS             PO BOX 63 AVON OH 44011
MCFADDEN, ANDREW                     ADDRESS ON FILE
MCFADDEN, BRANDAN                    ADDRESS ON FILE
MCFADDEN, BRANDON                    ADDRESS ON FILE
MCFADDEN, DAIGRE                     ADDRESS ON FILE
MCFADDEN, JAMES                      ADDRESS ON FILE
MCFADDEN, LEONARD                    ADDRESS ON FILE
MCFADDEN, QUINCY                     ADDRESS ON FILE
MCFADDEN, ROBERT                     ADDRESS ON FILE
MCFALLS, JOSHUA                      ADDRESS ON FILE
MCFARLAN, MICHAEL                    ADDRESS ON FILE
MCFARLAND, KEVIN                     ADDRESS ON FILE
MCFARLAND, ROBERT                    ADDRESS ON FILE
MCFARLANE, DAMION                    ADDRESS ON FILE
MCFARLIN, CURT                       ADDRESS ON FILE
MCFARREN, ALLISON                    ADDRESS ON FILE
MCG MECHANICAL SERVICES              2000 PEARMAN DAIRY RD ANDERSON SC 29625
MCGAHEY, JENNIFER                    ADDRESS ON FILE
MCGARRY, NICHOLAS                    ADDRESS ON FILE
MCGARRY, ROBERT                      ADDRESS ON FILE
MCGARTLAND, MALCOLM                  ADDRESS ON FILE
MCGARVEY, JASON                      ADDRESS ON FILE
MCGARVEY, JOSEPH                     ADDRESS ON FILE
MCGAUGHEY, FREDERICK                 ADDRESS ON FILE
MCGAUGHY, DEWAYNE                    ADDRESS ON FILE
MCGAUGHYS SUSPENSION PARTS           4603 E. VINE AVE. FRESNO CA 93725
MCGAW, RYAN                          ADDRESS ON FILE
MCGEE COMPLETE TRANSPORT             OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
MCGEE SR, ZERAN                      ADDRESS ON FILE
MCGEE TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MCGEE, ANDREW                        ADDRESS ON FILE
MCGEE, CYNTHIA Y                     ADDRESS ON FILE
MCGEE, DANNY                         ADDRESS ON FILE
MCGEE, DAVID                         ADDRESS ON FILE
MCGEE, DERWIN                        ADDRESS ON FILE
MCGEE, DONALD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1236 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1245 of 2156

Claim Name                               Address Information
MCGEE, EVERETT C                         ADDRESS ON FILE
MCGEE, FRANCIS                           ADDRESS ON FILE
MCGEE, JEFFREY                           ADDRESS ON FILE
MCGEE, JONATHAN                          ADDRESS ON FILE
MCGEE, JOSEPH                            ADDRESS ON FILE
MCGEE, LAVON                             ADDRESS ON FILE
MCGEE, MICHAELDIAMOND                    ADDRESS ON FILE
MCGEE, MILTON                            ADDRESS ON FILE
MCGEE, PATRICK                           ADDRESS ON FILE
MCGEE, ROBERT                            ADDRESS ON FILE
MCGEE, STEVEN                            ADDRESS ON FILE
MCGEE, SYLVESTER                         ADDRESS ON FILE
MCGEE, TOMMIE                            ADDRESS ON FILE
MCGEE, ZEBIAN                            ADDRESS ON FILE
MCGEE, ZERAN                             ADDRESS ON FILE
MCGEEHAN TRANSPORTATION CONSULTING LLC   253 S HOMESTEAD DR LANDISVILLE PA 17538
MCGEEHAN, JIM                            ADDRESS ON FILE
MCGEOUGH, DEVON                          ADDRESS ON FILE
MCGEOUGH, DEVON                          ADDRESS ON FILE
MCGETTIGAN, NICHOLAS                     ADDRESS ON FILE
MCGHEE TREE CARE                         C\O JOSEPH MCGHEE, 125 SPRING VIEW DR. LA FOLLETTE TN 37766
MCGHEE, ALLEN                            ADDRESS ON FILE
MCGHEE, CEASAR                           ADDRESS ON FILE
MCGHEE, DERRICK                          ADDRESS ON FILE
MCGHEE, DERRICK                          ADDRESS ON FILE
MCGHEE, JEFFERY                          ADDRESS ON FILE
MCGHEE, KEENAN                           ADDRESS ON FILE
MCGILL TRANSPORT, LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MCGILL, BARRY                            ADDRESS ON FILE
MCGILL, CARL                             ADDRESS ON FILE
MCGILL, JAMES                            ADDRESS ON FILE
MCGILL, PAUL                             ADDRESS ON FILE
MCGILL, RODERICK D                       ADDRESS ON FILE
MCGILL-CLARK, COURTNEE                   ADDRESS ON FILE
MCGILLICK, JACQUELINE                    ADDRESS ON FILE
MCGINN, JAMES                            ADDRESS ON FILE
MCGINNESS, MICHAEL                       ADDRESS ON FILE
MCGINNIS LUMBER COMPANY INC              PO BOX 2049 MERIDIAN MS 39302-2049
MCGINNIS, JAMES                          ADDRESS ON FILE
MCGINNIS, JOHN                           ADDRESS ON FILE
MCGINNIS, JOUNTE                         ADDRESS ON FILE
MCGINNIS, LABRENN                        ADDRESS ON FILE
MCGINNIS, MELODY                         ADDRESS ON FILE
MCGINNIS, SCOTT                          ADDRESS ON FILE
MCGINNIS, WILLIAM                        ADDRESS ON FILE
MCGINNISS JR, DONALD                     ADDRESS ON FILE
MCGINTY, ALAN                            ADDRESS ON FILE
MCGINTY, FRANK                           ADDRESS ON FILE
MCGIRL, WALTER                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1237 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1246 of 2156

Claim Name                           Address Information
MCGIRT, BILLY                        ADDRESS ON FILE
MCGLAUGHLIN, CORY E                  ADDRESS ON FILE
MCGLENN, CHRISTOPHER                 ADDRESS ON FILE
MCGLENN, RANDY                       ADDRESS ON FILE
MCGLOTHLIN, DEREK                    ADDRESS ON FILE
MCGONAGILL, JOE                      ADDRESS ON FILE
MCGONEGAL, DAMIAN                    ADDRESS ON FILE
MCGONEGLE, BRIAN                     ADDRESS ON FILE
MCGOVERN, LEE                        ADDRESS ON FILE
MCGOVERN, THOMAS                     ADDRESS ON FILE
MCGOWAN COLE TRUCKING CORP           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MCGOWAN, BRIAN                       ADDRESS ON FILE
MCGOWAN, COMMER                      ADDRESS ON FILE
MCGOWAN, DANIEL                      ADDRESS ON FILE
MCGOWAN, GARY                        ADDRESS ON FILE
MCGOWAN, SEAN                        ADDRESS ON FILE
MCGOWAN, SUSAN                       ADDRESS ON FILE
MCGOWN IRON WOCKS                    641 6TH AVE COOS BAY OR 97420
MCGRAIL, WESLEY                      ADDRESS ON FILE
MCGRATH, LORI                        ADDRESS ON FILE
MCGRATH, PATRICK                     ADDRESS ON FILE
MCGRATH, SCOTT                       ADDRESS ON FILE
MCGRATH, TAMMY                       ADDRESS ON FILE
MCGRAW, DUSTIN                       ADDRESS ON FILE
MCGRAW, JOEY                         ADDRESS ON FILE
MCGRAW, KEITH                        ADDRESS ON FILE
MCGRAW, STEVEN                       ADDRESS ON FILE
MCGREGOR, MEGAN                      ADDRESS ON FILE
MCGREW, GEORGE                       ADDRESS ON FILE
MCGREW, KIERA                        ADDRESS ON FILE
MCGREW, KIERA                        ADDRESS ON FILE
MCGRIFF, RYAN                        ADDRESS ON FILE
MCGRUDER, KENNETHE                   ADDRESS ON FILE
MCGRUDER, KENNETHE                   ADDRESS ON FILE
MCGUINESS, MICHAEL                   ADDRESS ON FILE
MCGUIRE BEARING CO                   947 SE MARKET ST PORTLAND OR 97214
MCGUIRE III, EARL                    ADDRESS ON FILE
MCGUIRE, GERALD D                    ADDRESS ON FILE
MCGUIRE, GREGORY                     ADDRESS ON FILE
MCGUIRE, JAMES                       ADDRESS ON FILE
MCGUIRE, JOHN                        ADDRESS ON FILE
MCGUIRE, JOHNNY                      ADDRESS ON FILE
MCGUIRE, JON                         ADDRESS ON FILE
MCGUIRE, JOY                         ADDRESS ON FILE
MCGUIRE, KEVIN                       ADDRESS ON FILE
MCGUIRE, LEIGH                       ADDRESS ON FILE
MCGUIRE, RANDALL                     ADDRESS ON FILE
MCH EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MCH LOGISTICS LLC                    OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL



Epiq Corporate Restructuring, LLC                                                            Page 1238 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1247 of 2156

Claim Name                          Address Information
MCH LOGISTICS LLC                   35246-2659
MCH TRANSPORTATION CO.              P O BOX 7764 JACKSON MS 39284
MCH TRUCKING                        2180 PALMYRA RD BEDFORD KY 40006
MCHALE, MARTIN                      ADDRESS ON FILE
MCHALE, NICHOLAS                    ADDRESS ON FILE
MCHARGUE TRUCKING                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MCHENRY, MALAKI                     ADDRESS ON FILE
MCHENRY, MANDY                      ADDRESS ON FILE
MCHENRY, RICHARD                    ADDRESS ON FILE
MCHENRY, THOMAS                     ADDRESS ON FILE
MCHORNEY, LAVERN                    ADDRESS ON FILE
MCI EXPRESS                         OR TAB BANK, PO BOX 150290 OGDEN UT 84415
MCILVAINE, DAVID                    ADDRESS ON FILE
MCILWAINE, ARTHUR                   ADDRESS ON FILE
MCINDOO, JOHN                       ADDRESS ON FILE
MCINNIS, ROBERT J                   ADDRESS ON FILE
MCINTIRE, GARY                      ADDRESS ON FILE
MCINTOSH LOGISTICS LLC              1672 VILLAGE PLACE CIR NE CONYERS GA 30012-7108
MCINTOSH TRUCK, INC                 6100 HWY 273 ANDERSON CA 96007
MCINTOSH TRUCKING LLC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MCINTOSH, ALVIE                     ADDRESS ON FILE
MCINTOSH, JAMES                     ADDRESS ON FILE
MCINTOSH, LINDA                     ADDRESS ON FILE
MCINTOSH, MARK                      ADDRESS ON FILE
MCINTOSH, RICHARD                   ADDRESS ON FILE
MCINTOSH, SAMMIE                    ADDRESS ON FILE
MCINTOSH, SANDY                     ADDRESS ON FILE
MCINTOSH, THOMAS                    ADDRESS ON FILE
MCINTYER, DEONTA                    ADDRESS ON FILE
MCINTYRE LOGISTICS                  OR TAB BANK, PO BOX 150830 OGDEN UT 84415
MCINTYRE TRANSPORTATION LLC         OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
MCINTYRE WRECKER SERVICE            4515 E.HWY. 80 MESQUITE TX 75150
MCINTYRE, CHAYSE                    ADDRESS ON FILE
MCINTYRE, GLENN                     ADDRESS ON FILE
MCINTYRE, JOHN                      ADDRESS ON FILE
MCINTYRE, OSHAE                     ADDRESS ON FILE
MCINTYRE, RANDALL                   ADDRESS ON FILE
MCINTYRE, ROBERT                    ADDRESS ON FILE
MCINTYRE, STACI                     ADDRESS ON FILE
MCINTYRE, SUSAN                     ADDRESS ON FILE
MCINTYRE, WILLIAM                   ADDRESS ON FILE
MCIVER, BRUCE                       ADDRESS ON FILE
MCIVER, TAURICE                     ADDRESS ON FILE
MCJUNKIN, DIANE                     ADDRESS ON FILE
MCJUNKIN, MICHAEL                   ADDRESS ON FILE
MCJUNKIN, NICOLE                    ADDRESS ON FILE
MCK LOGISTICS LLC                   OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
MCKANNAN, DAKOTA                    ADDRESS ON FILE
MCKARCHEY, CHARLES                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1239 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1248 of 2156

Claim Name                          Address Information
MCKAUFMAN, DEONTE                   ADDRESS ON FILE
MCKAY TRUCKING LLC                  PO BOX 692 MT POCONO PA 18344
MCKAY, DWAYNE                       ADDRESS ON FILE
MCKAY, GEORGE                       ADDRESS ON FILE
MCKAY, MICHAEL                      ADDRESS ON FILE
MCKAYS AUTOMOTIVE                   9630 LOUETTA RD. SPRING TX 77379
MCKEE AUTO                          2205 BECKLER RD. NEW MARSHFIELD OH 45766
MCKEE, CABELL                       ADDRESS ON FILE
MCKEE, ERIC                         ADDRESS ON FILE
MCKEE, JEREMIAH                     ADDRESS ON FILE
MCKEE, JOSHUA                       ADDRESS ON FILE
MCKEE, KEVIN                        ADDRESS ON FILE
MCKEE, MARTY                        ADDRESS ON FILE
MCKEE, MICHAEL                      ADDRESS ON FILE
MCKEE, TIMOTHY                      ADDRESS ON FILE
MCKEEHEN, CHERYL                    ADDRESS ON FILE
MCKEEN, BRYAN                       ADDRESS ON FILE
MCKEEVER, TIMOTHY                   ADDRESS ON FILE
MCKELLAR, JOHN                      ADDRESS ON FILE
MCKELLER, VASHAWN                   ADDRESS ON FILE
MCKELLOP, DEAN                      ADDRESS ON FILE
MCKELVEY, ASHLEY                    ADDRESS ON FILE
MCKENDRY, JOHN                      ADDRESS ON FILE
MCKENNA, JOSEPH                     ADDRESS ON FILE
MCKENNA, MICHELE                    ADDRESS ON FILE
MCKENNEY LOGISTICS, LLC.            OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
MCKENNEY, ROBERT                    ADDRESS ON FILE
MCKENNEY, WILLIAM                   ADDRESS ON FILE
MCKENNY, HENRY                      ADDRESS ON FILE
MCKENREE CORP                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCKENZIE SPORTS                     1910 ST. LUKES CHURCH RD. SALISBURY NC 28146
MCKENZIE TRUCKING CO.               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MCKENZIE, AARON                     ADDRESS ON FILE
MCKENZIE, ALEXANDER                 ADDRESS ON FILE
MCKENZIE, ANDRE                     ADDRESS ON FILE
MCKENZIE, BRIAN                     ADDRESS ON FILE
MCKENZIE, EBONY                     ADDRESS ON FILE
MCKENZIE, JEFF                      ADDRESS ON FILE
MCKENZIE, JEFF                      ADDRESS ON FILE
MCKENZIE, JEREL                     ADDRESS ON FILE
MCKENZIE, RICARDO                   ADDRESS ON FILE
MCKENZIE, TROY                      ADDRESS ON FILE
MCKEOWN, ROBERT A                   ADDRESS ON FILE
MCKERNAN, DAVID                     ADDRESS ON FILE
MCKERNAN, MATTHEW                   ADDRESS ON FILE
MCKEVER, KEITH                      ADDRESS ON FILE
MCKIBBEN, DOUG                      ADDRESS ON FILE
MCKIBBEN, MARCUS                    ADDRESS ON FILE
MCKIBBEN, PETER                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1240 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1249 of 2156

Claim Name                               Address Information
MCKIE, SHERMAN                           ADDRESS ON FILE
MCKIM, MELISSA                           ADDRESS ON FILE
MCKINLEY, AMANDA                         ADDRESS ON FILE
MCKINLEY, BISHARA                        ADDRESS ON FILE
MCKINLEY, CRAIG                          ADDRESS ON FILE
MCKINLEY, FRED                           ADDRESS ON FILE
MCKINLEY, NICHOLAS                       ADDRESS ON FILE
MCKINLEY, RANDOLPH                       ADDRESS ON FILE
MCKINLEY, ROBERT                         ADDRESS ON FILE
MCKINLEY, TERRY                          ADDRESS ON FILE
MCKINNEY JR, KENNETH                     ADDRESS ON FILE
MCKINNEY TOWING                          360 NW MAIN ST, PO BOX 137 ELKHART IA 50073
MCKINNEY TOWING                          360 NW MAIN ST, PO BOX 137 ELKHART IA 50073-0137
MCKINNEY TRAILER RENTALS                 P.O. BOX 515574 LOS ANGELES CA 90051
MCKINNEY TRUCKING SERVICES LLC           OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
MCKINNEY, AARON                          ADDRESS ON FILE
MCKINNEY, BRYCE                          ADDRESS ON FILE
MCKINNEY, DAMON                          ADDRESS ON FILE
MCKINNEY, DEEDREA                        ADDRESS ON FILE
MCKINNEY, DOUGLAS                        ADDRESS ON FILE
MCKINNEY, EDMOND                         ADDRESS ON FILE
MCKINNEY, JR., JAMES                     ADDRESS ON FILE
MCKINNEY, JUDY                           ADDRESS ON FILE
MCKINNEY, KENDALL                        ADDRESS ON FILE
MCKINNEY, MARCUS                         ADDRESS ON FILE
MCKINNEY, PHILLIP                        ADDRESS ON FILE
MCKINNEY, QUENTEZ                        ADDRESS ON FILE
MCKINNEY, ROBERT                         ADDRESS ON FILE
MCKINNEY, ROBERT                         ADDRESS ON FILE
MCKINNEY, ROBERT                         ADDRESS ON FILE
MCKINNEY, TIM & KELLIE                   ADDRESS ON FILE
MCKINNEY, VALERIE                        ADDRESS ON FILE
MCKINNIES, HUGH                          ADDRESS ON FILE
MCKINSTRY II, SCOTT                      ADDRESS ON FILE
MCKINSTRY, ANNETTE                       ADDRESS ON FILE
MCKINSTRY, BRENDON                       ADDRESS ON FILE
MCKINSTRY, TIMOTHY                       ADDRESS ON FILE
MCKINZIE, CHARLES A                      ADDRESS ON FILE
MCKINZIE, LEON                           ADDRESS ON FILE
MCKIRDY, TIMOTHY                         ADDRESS ON FILE
MCKITTRICK, SEAN                         ADDRESS ON FILE
MCKNIGHT EMERGENCY WRECKER SERVICE INC   PO BOX 2 WEST FORK AR 72774
MCKNIGHT TIRE CO                         MCKNIGHT TIRE JEFFERSON CITY 425 W DUNKLIN ST JEFFERSON CITY MO 65101
MCKNIGHT, BRADLEY                        ADDRESS ON FILE
MCKNIGHT, JAMES                          ADDRESS ON FILE
MCKNIGHT, KELLEY                         ADDRESS ON FILE
MCKNIGHT, MAX                            ADDRESS ON FILE
MCKNIGHT, REGINALD                       ADDRESS ON FILE
MCKNIGHT, STEPHEN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1241 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1250 of 2156

Claim Name                           Address Information
MCKNIGHT, THOMAS                     ADDRESS ON FILE
MCKNOUGHT, DANIEL                    ADDRESS ON FILE
MCKOY, COURTNEY                      ADDRESS ON FILE
MCKOY, DELANDER LEE                  ADDRESS ON FILE
MCL LINEHAUL LLC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MCL TRANS INC                        OR OUTSOURCE FINANCIAL SERVICES INC. PO BOX 5172 DENVER CO 80217
MCLACHLAN, MARIE                     ADDRESS ON FILE
MCLAIN, JAMES                        ADDRESS ON FILE
MCLAIN, KEOLA                        ADDRESS ON FILE
MCLAIN, SHANTIA                      ADDRESS ON FILE
MCLANAHAN TOWING, INC                105 SOUTH SEMINARY COLLINSVILLE IL 62234
MCLANE COMPANY                       P.O. BOX 6115 TEMPLE TX 76503
MCLAREN CORPORATE SERVICES SYSTOC    PO BOX 775395 CHICAGO IL 60677
MCLAREN TRANSPORT LLC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
MCLAREN, CRISTA                      ADDRESS ON FILE
MCLAREN, IAN                         ADDRESS ON FILE
MCLAREN, KEVIN                       ADDRESS ON FILE
MCLAREY, JOYCE                       ADDRESS ON FILE
MCLAUD, CINDA                        ADDRESS ON FILE
MCLAUGHLIN, DOUGLAS                  ADDRESS ON FILE
MCLAUGHLIN, JAMES                    ADDRESS ON FILE
MCLAUGHLIN, JOHN                     ADDRESS ON FILE
MCLAUGHLIN, JOSEPH                   ADDRESS ON FILE
MCLAUGHLIN, KATHLEEN                 ADDRESS ON FILE
MCLAUGHLIN, RONALD                   ADDRESS ON FILE
MCLAURIN, CHERYL                     ADDRESS ON FILE
MCLAURIN, JUSTIN                     ADDRESS ON FILE
MCLAURIN, MAURICE                    ADDRESS ON FILE
MCLAURIN, ROY                        ADDRESS ON FILE
MCLAURIN, ROY                        ADDRESS ON FILE
MCLAURIN, RYAN                       ADDRESS ON FILE
MCLEAN LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCLEAN, JAMES                        ADDRESS ON FILE
MCLEAN, JOHN                         ADDRESS ON FILE
MCLEAN, JOSHUA                       ADDRESS ON FILE
MCLEAN, JR                           ADDRESS ON FILE
MCLEAN, KENNETH                      ADDRESS ON FILE
MCLEAN, MARK                         ADDRESS ON FILE
MCLEAN, TIQUAN                       ADDRESS ON FILE
MCLEAN, WILLIAM                      ADDRESS ON FILE
MCLEAN, WILLIAM L                    ADDRESS ON FILE
MCLEE, TIMOTHY                       ADDRESS ON FILE
MCLEES, DAVID                        ADDRESS ON FILE
MCLELAND, NORRIS                     ADDRESS ON FILE
MCLELLAN, LAURIE                     ADDRESS ON FILE
MCLEMORE, JOSH                       ADDRESS ON FILE
MCLEMORE, MARK                       ADDRESS ON FILE
MCLEMORE, WAYNE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1242 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1251 of 2156

Claim Name                          Address Information
MCLENDON, JORDAN                    ADDRESS ON FILE
MCLENNAN COUNTY TAX COLLECTOR       PO BOX 406 WACO TX 76703
MCLENNAN, ELIZABETH                 ADDRESS ON FILE
MCLENNAN, FRANCIS                   ADDRESS ON FILE
MCLENNAN, FRANK                     ADDRESS ON FILE
MCLENNON, MICHAEL                   ADDRESS ON FILE
MCLEOD 9 TRUCK LINE LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCLEOD 9 TRUCK LINE, INC.           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MCLEOD, HASSAN                      ADDRESS ON FILE
MCLEOD, HILARY                      ADDRESS ON FILE
MCLEOD, PAMELA                      ADDRESS ON FILE
MCLEOD, RANDY                       ADDRESS ON FILE
MCLILLY, CURTIS B                   ADDRESS ON FILE
MCLO                                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MCLOAD LLC                          OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MCLOSLAVAYA, SOFYA                  ADDRESS ON FILE
MCLOUD, MICHAEL                     ADDRESS ON FILE
MCLS GLOBAL ENTERPRISES INC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MCM TRANSPORTATION LLC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MCM TRUCK REPAIR PARTS & SERVICE    P.O. BOX 718 531 BUSINESS HUB DR. SUITE A BELGRADE MT 59714
MCM TRUCK REPAIR PARTS & SERVICE    P.O. BOX 718, 531 BUSINESS HUB DR. BELGRADE MT 59714
MCM TRUCKING BUSINESS LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MCM TRUCKING INC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
MCM TRUCKING INC (MC834934)         OR ELSTON BUSINESS CAPITAL LLC 2701 BROWN TRAIL STE 301 BEDFORD TX 76021
MCMACKIN, CATHARINE                 ADDRESS ON FILE
MCMACKIN, THOMAS                    ADDRESS ON FILE
MCMACKIN, THOMAS J                  ADDRESS ON FILE
MCMACKIN, THOMAS J                  ADDRESS ON FILE
MCMAHAN, JEFFERY                    ADDRESS ON FILE
MCMAHAN, MATTHEW A                  ADDRESS ON FILE
MCMAHAN, SARA                       ADDRESS ON FILE
MCMAHON TIRE INC                    2828 W COLISEUM BLVD FORT WAYNE IN 46808
MCMAHON, JOHN                       ADDRESS ON FILE
MCMAHON, JOHN                       ADDRESS ON FILE
MCMAHON, KELLI                      ADDRESS ON FILE
MCMAHON, KEVIN                      ADDRESS ON FILE
MCMAHON, MAX                        ADDRESS ON FILE
MCMAHON, WILLIAM                    ADDRESS ON FILE
MCMAIN, JARROD                      ADDRESS ON FILE
MCMANNEN, REGINALD                  ADDRESS ON FILE
MCMANUS CONSTRUCTION INC            4631 LEMAY FERRY ROAD ST. LOUIS MO 63129
MCMANUS, JAMES                      ADDRESS ON FILE
MCMANUS, JERRY                      ADDRESS ON FILE
MCMASTER CARR                       ATTN: LORETTA MARCHESE CORP TRANSPORTATION PO BOX 4355 CHICAGO IL 60680-4355
MCMASTER CARR                       PO BOX 4355 CHICAGO IL 60680-4355
MCMASTER, DILLON                    ADDRESS ON FILE
MCMASTER, DYLAN M                   ADDRESS ON FILE
MCMASTER-CARR SUPPLY COMPANY        PO BOX 7690 CHICAGO IL 60680
MCME ENTERPRISE LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                              Page 1243 OF 2145
                                           Yellow Corporation
                     Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1252 of 2156

Claim Name                          Address Information
MCMEEN, BARRY                       ADDRESS ON FILE
MCMICHAEL, KENNETH                  ADDRESS ON FILE
MCMILLAN ELECTRIC COMPANY           ATTN: JESSICA SCHAFFER 400 BEST RD WOODVILLE WI 54028
MCMILLAN, ERIC                      ADDRESS ON FILE
MCMILLAN, JAMIE                     ADDRESS ON FILE
MCMILLAN, NORMAN                    ADDRESS ON FILE
MCMILLAN, TERENCE                   ADDRESS ON FILE
MCMILLAN, THOMAS                    ADDRESS ON FILE
MCMILLEN, ADAM                      ADDRESS ON FILE
MCMILLEN, DANIELLE                  ADDRESS ON FILE
MCMILLIAN, NATHAN                   ADDRESS ON FILE
MCMILLIN, CORY                      ADDRESS ON FILE
MCMILLION, RICHARD                  ADDRESS ON FILE
MCMILLON, LARRY N                   ADDRESS ON FILE
MCMINN, JOHN                        ADDRESS ON FILE
MCMORRAN, PAUL                      ADDRESS ON FILE
MCMULLEN, DIANDRE                   ADDRESS ON FILE
MCMULLEN, DWIGHT                    ADDRESS ON FILE
MCMULLEN, JERICO                    ADDRESS ON FILE
MCMULLEN, KEVIN                     ADDRESS ON FILE
MCMULLEN, LUCINDA                   ADDRESS ON FILE
MCMULLEN, OTIS                      ADDRESS ON FILE
MCMULLEN, RYAN                      ADDRESS ON FILE
MCMULLEN, RYAN                      ADDRESS ON FILE
MCMURL, JASON                       ADDRESS ON FILE
MCMURRAY, DON                       ADDRESS ON FILE
MCMURRIN, ANDREW                    ADDRESS ON FILE
MCMURTRY, JAMES A                   ADDRESS ON FILE
MCMURTRY, MASON                     ADDRESS ON FILE
MCNAB, MICHAEL                      ADDRESS ON FILE
MCNABB, AARON                       ADDRESS ON FILE
MCNABB, BRIAN                       ADDRESS ON FILE
MCNABB, BRIAN E                     ADDRESS ON FILE
MCNAIR, GRADY                       ADDRESS ON FILE
MCNAIR, JOHN                        ADDRESS ON FILE
MCNAIR, ROBERT                      ADDRESS ON FILE
MCNAIR, SHANNON                     ADDRESS ON FILE
MCNAIR-LABRECQUE, CADENCE           ADDRESS ON FILE
MCNAMARA, JOHN                      ADDRESS ON FILE
MCNAMEE, TIMOTHY                    ADDRESS ON FILE
MCNARA RILEY TRANSPORT LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MCNAUGHTON MCKAY ELECTRIC COMPANY   PO BOX 71487 MADISON HEIGHTS MI 48071
MCNAUGHTON, KIM                     ADDRESS ON FILE
MCNEAL JR, JAMES                    ADDRESS ON FILE
MCNEAL, CARL                        ADDRESS ON FILE
MCNEAL, CHRISTINA                   ADDRESS ON FILE
MCNEAL, LAMAR D                     ADDRESS ON FILE
MCNEAL, MYRON                       ADDRESS ON FILE
MCNEAL, RALPH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1244 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1253 of 2156

Claim Name                           Address Information
MCNEAL, RANDALL                      ADDRESS ON FILE
MCNEAL, RAYMOND                      ADDRESS ON FILE
MCNEALEY, MARCUS                     ADDRESS ON FILE
MCNEELY, ANDRE                       ADDRESS ON FILE
MCNEELY, ELBERT                      ADDRESS ON FILE
MCNEELY, JEROME P                    ADDRESS ON FILE
MCNEELY, ROBERT                      ADDRESS ON FILE
MCNEFF, KATHY                        ADDRESS ON FILE
MCNEIL, ARTRA                        ADDRESS ON FILE
MCNEIL, CHAD                         ADDRESS ON FILE
MCNEIL, JAMES                        ADDRESS ON FILE
MCNEIL, JOHN                         ADDRESS ON FILE
MCNEIL, MARVIN                       ADDRESS ON FILE
MCNEIL, ROBERT                       ADDRESS ON FILE
MCNEIL, SHERMAN                      ADDRESS ON FILE
MCNEILL, COREY                       ADDRESS ON FILE
MCNEILL, JAMES                       ADDRESS ON FILE
MCNEILL, JOHN                        ADDRESS ON FILE
MCNEILL, ROBERT G                    ADDRESS ON FILE
MCNEILL, SCOTT                       ADDRESS ON FILE
MCNEILLY, BROCK                      ADDRESS ON FILE
MCNELLY, ANDREW                      ADDRESS ON FILE
MCNEMAR, KEVIN                       ADDRESS ON FILE
MCNEMAR, WILLIAM                     ADDRESS ON FILE
MCNERNEY, CODY                       ADDRESS ON FILE
MCNETT, TODD                         ADDRESS ON FILE
MCNEW, JOSEPH                        ADDRESS ON FILE
MCNEW, PAUL                          ADDRESS ON FILE
MCNICHOLAS, THOMAS                   ADDRESS ON FILE
MCNICHOLS TRUCKING LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MCNIEL, JOEL                         ADDRESS ON FILE
MCNISH, JACK                         ADDRESS ON FILE
MCNULTY, MONTI                       ADDRESS ON FILE
MCNULTY, NIALL                       ADDRESS ON FILE
MCNUTT, MICHAEL                      ADDRESS ON FILE
MCNUTT, SALLIE                       ADDRESS ON FILE
MCNUTT, WILLIAM                      ADDRESS ON FILE
MCO EXPRESS ORLANDO INC              OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
MCOM TRANSPORT CORP                  OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MCPEAK, TAYLOR                       ADDRESS ON FILE
MCPECK, STEVEN                       ADDRESS ON FILE
MCPHAUL, MICHAEL                     ADDRESS ON FILE
MCPHEE, ALEX                         ADDRESS ON FILE
MCPHEE, BRIAN                        ADDRESS ON FILE
MCPHERSON OIL                        5051 CARDINAL ST TRUSSVILLE AL 35173
MCPHERSON, IRVIN                     ADDRESS ON FILE
MCPHERSON, KATHERINE                 ADDRESS ON FILE
MCPHERSON, MICHAEL                   ADDRESS ON FILE
MCPHERSON, REXFERD                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1245 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1254 of 2156

Claim Name                           Address Information
MCPHERSON, STEVE                     ADDRESS ON FILE
MCPHERSON, TRAVAWN                   ADDRESS ON FILE
MCPHILLIPS PLUMBING HEATING          & AIR CONDITIONING, 16115 WATERLOO ROAD CLEVELAND OH 44110
MCPIKE, KENNETH                      ADDRESS ON FILE
MCQUADE, SHANE                       ADDRESS ON FILE
MCQUAY, WILLIAM FRANKY               ADDRESS ON FILE
MCQUEARY, ARTHUR                     ADDRESS ON FILE
MCQUEARY, DAVID                      ADDRESS ON FILE
MCQUEARY, JOSHUA                     ADDRESS ON FILE
MCQUEARY, LARAY                      ADDRESS ON FILE
MCQUEEN, BERTONIO                    ADDRESS ON FILE
MCQUEEN, SHATERIKA                   ADDRESS ON FILE
MCQUIGGAN, DAVID                     ADDRESS ON FILE
MCQUILLIN, JOE                       ADDRESS ON FILE
MCQUILLIN, REX                       ADDRESS ON FILE
MCQUISTEN, MICHAEL                   ADDRESS ON FILE
MCR TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCRAE, JODY L                        ADDRESS ON FILE
MCRAE, JOHN                          ADDRESS ON FILE
MCRAE, TIMOTHY J                     ADDRESS ON FILE
MCRATTY TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MCRAY TRUCKING INC.                  13061 QUIET CANYON DR. VICTORVILLE CA 92395
MCRC TRANSPORTATION LLC (MC904033)   OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
MCREYNOLDS HOTSHOTS LLC              OR OTR CAPITAL LLC DEPT 390 P.O. BOX 1000 MEMPHIS TN 38148
MCROBERT, LANA                       ADDRESS ON FILE
MCROY, MARK                          ADDRESS ON FILE
MCS CARRIER LLC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MCS LOGISTICS INC                    153 MACRIDGE AVE JOHNSTOWN PA 15904-2916
MCS MOTOR CARRIERS LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MCS TRANSPORT LLC                    OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MCSHANE SALCEDO, MICHEAL             ADDRESS ON FILE
MCSHANE, CIARAN                      ADDRESS ON FILE
MCSHEER TRUCKIN, LLC                 2470 LITTLE ROCK RD ROSE BUD AR 72137
MCSORLEY, RICKIE A                   ADDRESS ON FILE
MCSPADDEN, PATTIE                    ADDRESS ON FILE
MCSWAIN, AMY                         ADDRESS ON FILE
MCSWAIN, BILLY                       ADDRESS ON FILE
MCSWAIN, BILLY G                     ADDRESS ON FILE
MCSWAIN, MARK                        ADDRESS ON FILE
MCT, INC                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MCTHENIA, CHARLES                    ADDRESS ON FILE
MCV TRUCKING                         D/B/A: NEW ERA E & E TRANS LLC OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000
                                     MEMPHIS TN 38148
MCVAY, JACOB                         ADDRESS ON FILE
MCVEY INDUSTRIES                     7126 NEW HAVEN HARRISON OH 45030
MCVEY, JAMES                         ADDRESS ON FILE
MCVEY, JAMES M                       ADDRESS ON FILE
MCVICKER, GARRETT                    ADDRESS ON FILE
MCVICKER, GARRETT                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1246 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1255 of 2156

Claim Name                            Address Information
MCVICKER, STEPHEN                     ADDRESS ON FILE
MCW EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MCWHORTER, ROBERT                     ADDRESS ON FILE
MCWHORTER, TIMOTHY R                  ADDRESS ON FILE
MCWHORTERS TIRE CO LTD                PO BOX 2974 LUBBOCK TX 79408
MCWILLIAMS, JARED                     ADDRESS ON FILE
MCWILLIAMS, KENNETH                   ADDRESS ON FILE
MCWILLIAMS, MARION                    ADDRESS ON FILE
MCWILLIE, JAMES                       ADDRESS ON FILE
MD BUILDING                           LYNNCO 2448 E 81ST ST STE 2800 TULSA OK 74137
MD CARGO INC                          OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                      60197-4539
MD CARRIER INC                        OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
MD EXPRESS AUTOMOBILE TRANSPORT LLC   PO BOX 20513 COLUMBUS OH 43220
MD FREIGHT CORP                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MD GLOBAL FREIGHT INC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MD POWER INC                          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MD TRANS SERVICES LLC                 621 PLAINFIELD RD STE 202C WILLOWBROOK IL 60527
MD TRUCKIN                            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MD TRUCKING                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MD TURBINES LOGISTICS INC             3850 W 108TH ST SUITE 15 HIALEAH FL 33018
MD UNITED INC                         OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                      60197-4539
MD UNITED INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MD&M LA-MERVEILLE LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MDA EXPRESS INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MDA LEXFREIGHT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MDA LOGISTICS INC                     OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MDAWSON TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MDC TRANSPORT LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MDD TRUCKING INC                      4474 HUNTERS HAVEN LANE E JACKSONVILLE FL 32224
MDE LOGISTICS INC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MDF TRANSPORTATION LLC                OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
MDG TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MDH TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MDI                                   3425 N. 22ND STREET DECATUR IL 62526
MDI SERVICES LLC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MDI TRANSPORT INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MDJ EXPRESS INC                       OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
MDK MONEY TRUCKING INC                8750 S 11TH AVE OAK CREEK WI 53154
MDK TRUCKING INC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MDK TRUCKING LLC                      PO BOX 813 GREENSBORO GA 30642
MDL DEDICATED LOGISTICS               OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MDM EXCAVATING LLC                    2420 7TH STREET CUMBERLAND WI 54829
MDM TRANSPORT CORP                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MDM TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MDM TRANSPORT LLC (HARRISBURG PA)     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MDN FREIGHT INC                       OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
MDN FREIGHT INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                Page 1247 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1256 of 2156

Claim Name                              Address Information
MDO EXPRESS LLC                         OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MDOT FINANCIAL MANAGEMENT               BOX 3649 JACKSON MS 39207
MDR CARRIERS, LLC                       1800 W MEYER LN 15108, 15108 OAK CREEK WI 53154
MDS GLOBAL LLC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MDS TRUCKING V INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MDT TRUCKING INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MDT TRUCKING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MDV / A SPARTAN NASH COMPANY            BOX 809147 CHICAGO IL 60680
MDV NASH FINCH                          360 HOFFMAN CT W SAINT CLOUD MN 56301
MDW TRANSIT SOLUTIONS LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MDX TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ME & MY BROTHERS TRUCKING CORPORATION   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ME3 TRUCKING LLC                        OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
MEACH, GABRIELLE                        ADDRESS ON FILE
MEAD, EDWARD                            ADDRESS ON FILE
MEAD, GREG                              ADDRESS ON FILE
MEAD, PEGGYSUE                          ADDRESS ON FILE
MEADATH, TYLER                          ADDRESS ON FILE
MEADE TRACTOR                           19226 LEE HWY ABINGDON VA 24210
MEADE, ASHLEY                           ADDRESS ON FILE
MEADE, CRAIG                            ADDRESS ON FILE
MEADE, DARIUS                           ADDRESS ON FILE
MEADE, GLENDA                           ADDRESS ON FILE
MEADE, JOHN                             ADDRESS ON FILE
MEADE, ORVILLE                          ADDRESS ON FILE
MEADE, SCOT                             ADDRESS ON FILE
MEADE, THOMAS                           ADDRESS ON FILE
MEADE, ZACHARY                          ADDRESS ON FILE
MEADERS, ROBERT                         ADDRESS ON FILE
MEADOR, JOEY E                          ADDRESS ON FILE
MEADOR, TRINITY                         ADDRESS ON FILE
MEADOW LARK TRANSPORT, INC.             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MEADOW LARK TRANSPORT, INC.             OR TAB BANK, PO BOX 150029 OGDEN UT 84415
MEADOWS, CHRISTOPHER                    ADDRESS ON FILE
MEADOWS, JABOR                          ADDRESS ON FILE
MEADOWS, JEFF                           ADDRESS ON FILE
MEADOWS, JEMAL                          ADDRESS ON FILE
MEADOWS, JONATHAN                       ADDRESS ON FILE
MEADOWS, TIMOTHY                        ADDRESS ON FILE
MEADOWS, TIMOTHY                        ADDRESS ON FILE
MEADOWS, TROY                           ADDRESS ON FILE
MEAGHER, JAMES                          ADDRESS ON FILE
MEAJAR, NABIL                           ADDRESS ON FILE
MEALER, JARID                           ADDRESS ON FILE
MEANS JR., STEVEN                       ADDRESS ON FILE
MEANS, ALAN                             ADDRESS ON FILE
MEANS, BOB                              ADDRESS ON FILE
MEANS, BURUNDI                          ADDRESS ON FILE
MEANS, DILLON                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1248 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1257 of 2156

Claim Name                             Address Information
MEANS, HOLLY                           ADDRESS ON FILE
MEANS, WILLIAM                         ADDRESS ON FILE
MEARIDA, KENNETH                       ADDRESS ON FILE
MEARS FERTILIZER, INC.                 P O BOX 1271 EL DORADO KS 67042-1271
MEARS, MELISSA                         ADDRESS ON FILE
MEAS, EDDIE                            ADDRESS ON FILE
MEASUREMENT STANDARDS BRANCH           1851 AUIKI ST HONOLULU HI 96819
MEASURES, DANIEL                       ADDRESS ON FILE
MEAZI EXPRESS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MEBA TRUCKING                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MEBANE, NATHAN                         ADDRESS ON FILE
MECCA LLC                              OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
MECCA TRANS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MECCA TRANSPORT                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MECHANICAL AIR SYSTEMS COMPANY         2417 S FEDERAL MASON CITY IA 50401
MECHANICAL PLASTICS                    ATTN: TERRYCALVIN 110 RICHARDS AVE STE 1 NORWALK CT 06854
MECHANICAL SYSTEMS,INC.                ATTN: JEAN BAZEMORE 7835 F STREET OMAHA NE 68127-1887
MECHANICAL TRANSPORTATION SYSTEM LLC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MECHANICS MOTOR CITY LODGE NO. 698,    IAM WELFARE FUND, 841 N WAYNE ROAD WESTLAND MI 48185-3690
MECHANIX UNLIMITED, INC                5001 49TH ST SW GREAT FALLS MT 59404
MECI TRADING                           MECI TRADING, PO BOX 269 KEASBEY NJ 08832
MECKLENBURG COUNTY TAX COLLECTOR       VALERIE C. WOODARD CENTER 3205 FREEDOM DR., SUITE 3000 CHARLOTTE NC 28208
MECKLENBURG COUNTY TAX COLLECTOR       PO BOX 71063 CHARLOTTE NC 28272
MECKLENBURG COUNTY TAX COLLECTOR       PO BOX 71063 CHARLOTTE NC 28272-1063
MECKLENBURG COUNTY TAX COLLECTOR       TAX COLLECTOR, PO BOX 71063 CHARLOTTE NC 28272-1063
MECO AUGUSTA GREENVILLE                POST OFFICE BOX 696 AUGUSTA-RICHMOND GA 30903
MECO OF ATLANTA                        PO BOX 48327 DORAVILLE GA 30362
MECO TRUCKING LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MECUM FLEET SERVICE LLC                1904 EDGEWOOD DR LEAVENWORTH KS 66048
MED 1 LEONARD                          PO BOX 3320 GRAND RAPIDS MI 49501
MED EXPRESS URGENT CARE                PO BOX 11240 BELFAST ME 04915
MED EXPRESS URGENT CARE                PO BOX 7964 BELFAST ME 04915
MED WATER SYSTEMS                      625 N 1250 W CENTERVILLE UT 84014
MED-1 BRETON LLC                       PO BOX 3319 GRAND RAPIDS MI 49501
MED-1 HOLLAND                          P.O. BOX 2995 GRAND RAPIDS MI 49501
MEDA, EDWIN                            ADDRESS ON FILE
MEDALLION TRANSPORT & LOGISTICS LLC    1210 NORTHBROOK DR STE 420 TREVOSE PA 19053
MEDASH, DAVID                          ADDRESS ON FILE
MEDCALF, JAMES                         ADDRESS ON FILE
MEDCOMP                                3088 EAST 33RD PLACE YUMA AZ 85365
MEDCRUISE TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MEDDERS, JACK                          ADDRESS ON FILE
MEDEGEN MEDICAL                        ATTN: JAMES RAY TCI PO BOX 750236 MEMPHIS TN 38175
MEDEIROS TRUCKING                      157 SUMMIT ST EAST PROVIDENCE RI 02914
MEDEIROS, BRIAN                        ADDRESS ON FILE
MEDEIROS, JEFFREY                      ADDRESS ON FILE
MEDELEZ, PEDRO                         ADDRESS ON FILE
MEDENWALDT, MAGGIE                     ADDRESS ON FILE
MEDER, CONNIE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1249 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1258 of 2156

Claim Name                               Address Information
MEDEXPRESS URGENT CARE ARKANSAS, P.A.    PO BOX 13417 WALDO ME 04915
MEDEXPRESS URGENT CARE MINNESOTA PC      PO BOX 17916 BELFAST ME 04915
MEDEXPRESS URGENT CARE PC MARYLAND       PO BOX 7958 BELFAST ME 04915
MEDEXPRESS URGENT CARE PC WEST VIRGINIA PO BOX 7959 BELFAST ME 04915
MEDEXPRESS URGENT CARE PC-MI             PO BOX 13706 BELFAST ME 04915-7900
MEDEXPRESS URGENT CARE, PC PENNSYLVANIA PO BOX 7964 BELFAST ME 04915
MEDFORD RADIATOR SERVICE INC             PO BOX 311 GOLD HILL OR 97525
MEDFORD TOOLS & SUPPLY INC               2160 N PACIFIC HWY, PO BOX 8091 MEDFORD OR 97501
MEDIA TECHNOLOGY SOLUTIONS LLC           430 E 8TH ST 130 HOLLAND MI 49423
MEDIANT COMMUNICATIONS INC.              PO BOX 75185 CHICAGO IL 60675
MEDICAL FOUNDATION OF CENTRAL MS, INC.   PO BOX 2153 DEPT 1947 BIRMINGHAM AL 35201
MEDILL, MARK                             ADDRESS ON FILE
MEDINA AGUILAR, FRANCISCO                ADDRESS ON FILE
MEDINA AGUILAR, JOSE                     ADDRESS ON FILE
MEDINA ALVARDO, MIGUEL                   ADDRESS ON FILE
MEDINA IBANEZ, EDUARDO                   ADDRESS ON FILE
MEDINA NUNO, JORGE                       ADDRESS ON FILE
MEDINA TRUCKING                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MEDINA TRUCKING LLC                      3907 S GROVE ST ENGLEWOOD CO 80110
MEDINA, ALEJANDRO                        ADDRESS ON FILE
MEDINA, ANGEL                            ADDRESS ON FILE
MEDINA, ANGEL                            ADDRESS ON FILE
MEDINA, BENNY                            ADDRESS ON FILE
MEDINA, CASSANDRA                        ADDRESS ON FILE
MEDINA, CHRISTOPHER                      ADDRESS ON FILE
MEDINA, CRISTAL                          ADDRESS ON FILE
MEDINA, DALIA                            ADDRESS ON FILE
MEDINA, DANIEL                           ADDRESS ON FILE
MEDINA, ELIZABETH                        ADDRESS ON FILE
MEDINA, FRANK                            ADDRESS ON FILE
MEDINA, ISAAC                            ADDRESS ON FILE
MEDINA, JESUS T                          ADDRESS ON FILE
MEDINA, JOSE                             ADDRESS ON FILE
MEDINA, JUAN                             ADDRESS ON FILE
MEDINA, MARCELINO                        ADDRESS ON FILE
MEDINA, PABLO                            ADDRESS ON FILE
MEDINA, RAFAEL                           ADDRESS ON FILE
MEDINA, RAMON                            ADDRESS ON FILE
MEDINA, RAQUEL                           ADDRESS ON FILE
MEDINA, REYNALDO                         ADDRESS ON FILE
MEDINA, RUBEN                            ADDRESS ON FILE
MEDINA, VICTOR                           ADDRESS ON FILE
MEDINA, WILLIAM                          ADDRESS ON FILE
MEDINAS TRANSPORT LLP                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MEDINAS TRUCKING                         6592 COUNTY ROAD 20 ORLAND CA 95963
MEDION CORP                              OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MEDION CORP                              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MEDIX OCCUPATIONAL HEALTH SERVICES       1824 SW WHITE BIRCH CIR ANKENY IA 50023
MEDLEY MATERIAL HANDLING COMPANY         2150 FORD AVENUE SPRINGDALE AR 72764



Epiq Corporate Restructuring, LLC                                                                Page 1250 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1259 of 2156

Claim Name                            Address Information
MEDLEY MATERIAL HANDLING COMPANY      PO BOX 258881 SECTION 345 OKLAHOMA CITY OK 73125
MEDLEY MATERIAL HANDLING COMPANY      PO BOX 26706 OKLAHOMA CITY OK 73126
MEDLEY, DANIEL                        ADDRESS ON FILE
MEDLEY, ROBERT                        ADDRESS ON FILE
MEDLEYS TRUCKING LLC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MEDLIN, VERNON                        ADDRESS ON FILE
MEDLINE IDUSTRIES                     ATTN: MELISSA MARINO CLAIMS ADMINISTRATOR 1 MEDLINE PL MUNDELEIN IL 60060
MEDLINE INDUSTRIES                    ATTN FREIGHT CLAIMS, ONE MEDLINE PLACE MUNDELEIN IL 60060
MEDLINE INDUSTRIES                    ATTN: MELISSA MARINO FREIGHT CLAIMS 1 MEDLINE PL MUNDELEIN IL 60060
MEDLINE INDUSTRIES                    CORPORATE CLAIMS, 1 MEDLINE PL MUNDELEIN IL 60060
MEDLINE INDUSTRIES                    DATA2LOGISTICSLLCC, PO BOX 61050 FORT MYERS FL 33906
MEDLINE INDUSTRIES CORPORATE CLAI     ONE MEDLINE PLACE MUNDELEIN IL 60060
MEDLINE INDUSTRIES/CORPORATE CLAIMS   ATTN: MELISSA MARINO ATTN: FREIGHT CLAIMS ONE MEDLINE PLACE MUNDELEIN IL 60060
MEDLOCK, JAMES                        ADDRESS ON FILE
MEDLOCK, RUFUS                        ADDRESS ON FILE
MEDLOCK, ZEXTUR                       ADDRESS ON FILE
MEDO STAR TRANSPORTATION LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MEDRANO, CODY                         ADDRESS ON FILE
MEDRANO, JOSE                         ADDRESS ON FILE
MEDRANO, MELISSA                      ADDRESS ON FILE
MEDRANO, STEVEN                       ADDRESS ON FILE
MEDRANO, TANA                         ADDRESS ON FILE
MEDRANO-MYERS, JONATHAN               ADDRESS ON FILE
MEDSOURCE ONE                         5350 TRANSPORTATION BLVD GARFIELD HEIGHTS OH 44125
MEDSOURCE ONE                         5350 TRANSPORTATION BLVD. CLEVELAND OH 44125
MEDSOURCE ONE                         ATTN: SCOTT SINGER MD MPH 5350 TRANSPORTATION BLVD GARFIELD HEIGHTS OH 44125
MEDWAY LOGISTICS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MEDWAY, THOMAS R                      ADDRESS ON FILE
MEECO EXPRESS LLC                     OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
MEEHAN, JOSEPH                        ADDRESS ON FILE
MEEHAN, MICHAEL                       ADDRESS ON FILE
MEEHL, LANCE                          ADDRESS ON FILE
MEEK, COREY                           ADDRESS ON FILE
MEEK, JAMES                           ADDRESS ON FILE
MEEKER, DAVID                         ADDRESS ON FILE
MEEKHOF TIRE OF SOUTH HOLLAND         1640 OLSON NE GRAND RAPIDS MI 49503
MEEKHOF, GRACE                        ADDRESS ON FILE
MEEKINS, RICHARD                      ADDRESS ON FILE
MEEKS, COREY                          ADDRESS ON FILE
MEEKS, DANIEL R                       ADDRESS ON FILE
MEEKS, JERRY                          ADDRESS ON FILE
MEEKS, RECARDO                        ADDRESS ON FILE
MEEKS, ROGER D                        ADDRESS ON FILE
MEEKS, TERRANCE                       ADDRESS ON FILE
MEENDERINCK LLC                       PO BOX 4305 NOOKSACK WA 98276
MEERAB FREIGHTLINES INC               58A RACINE RD, 10 FORSYTH CRESCENT ETOBICOKE ON M9W 2Z7 CANADA
MEES, PETE                            ADDRESS ON FILE
MEESE, MILES                          ADDRESS ON FILE
MEESIG, GEORGE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1251 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1260 of 2156

Claim Name                           Address Information
MEET CARRIER LLC                     2131 OUTLOOK DR SE, 6506 HARTMAN DR SE CALEDONIA MI 49316
MEET LOGISTICS INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MEET TRUCKING INC                    OR EXPEDITED FINANCIAL INC 4460 W SHAW AVE FRESNO CA 93722
MEETER, KIMBERLY                     ADDRESS ON FILE
MEETZE PLUMBING CO                   PO BOX 1577 IRMO SC 29063
MEFFERT, KEITH                       ADDRESS ON FILE
MEFFORD, JEFFREY                     ADDRESS ON FILE
MEGA BUSINESS TRUCK LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MEGA DISPATCH INC                    PO BOX 6838 ELIZABETHPORT NJ 07206
MEGA EXPRESS INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MEGA FREIGHT LLC                     OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
MEGA LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MEGA MILE CORP.                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MEGA PRIME FREIGHT INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MEGA STARS INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MEGA TRANS GROUP LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MEGA TRANSPORTATION LLC              OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
MEGA TRUCKERS LOGISTICS LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MEGA TRUCKING LLC (MC904298)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MEGAN BANKER                         ADDRESS ON FILE
MEGAN DELAROSA                       ADDRESS ON FILE
MEGAN NASON                          ADDRESS ON FILE
MEGAPRIME EXPRESS INC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MEGATRANS INCORPORATED               106 COLONY PARK DRIVE SUITE 900-H CUMMING GA 30040
MEGATRUCK LOGISTICS INC              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
MEGAYLE UNDERWOOD                    ADDRESS ON FILE
MEGEE                                22965 LEWIS GEORGETOWN HWY, P.O. BOX 745 GEORGETOWN DE 19947
MEGHARAJ, PANDARPURKAR               ADDRESS ON FILE
MEGHOO, CHRISTOPHER                  ADDRESS ON FILE
MEGHRAJANI, AMAN                     ADDRESS ON FILE
MEGROUS, HOUSSAM                     ADDRESS ON FILE
MEHAK TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MEHAR TERI TRANS INC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MEHLHORN, JUSTIN                     ADDRESS ON FILE
MEHLHORN, STEPHEN                    ADDRESS ON FILE
MEHMEDI TRUCKING INC                 OR ALADDIN FINANCIAL INC, P.O. BOX 1394 SIOUX FALLS SD 57101
MEHOK, JEFFREY                       ADDRESS ON FILE
MEHR, JASON                          ADDRESS ON FILE
MEHRINGER, BERNARD                   ADDRESS ON FILE
MEHTA, SANGEETA                      ADDRESS ON FILE
MEHTA, SOURABH                       ADDRESS ON FILE
MEHTA, SOURABH                       ADDRESS ON FILE
MEHTAB CARRIER INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MEI FREIGHT INC.                     OR CRESTMARK, P.O. BOX 682338 FRANKLIN TN 37068
MEIER ARCHITECTURE ENGINEERING       12 W KENNEWICK AVE KENNEWICK WA 99336
MEIER, GEORGE                        ADDRESS ON FILE
MEIER, HALEY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1252 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1261 of 2156

Claim Name                               Address Information
MEIER, ROBERT                            ADDRESS ON FILE
MEIER, TROY                              ADDRESS ON FILE
MEIER, TYLER                             ADDRESS ON FILE
MEIER, WILSON                            ADDRESS ON FILE
MEIGHAN, JASON                           ADDRESS ON FILE
MEIHY TRANSPORT INC                      764 DONOVAN ST MANTECA CA 95337
MEIJER                                   2929 WALKER AVE NW, STE 982 GRAND RAPIDS MI 49544-9428
MEIJER CORP                              PO BOX 74008449 CHICAGO IL 60674
MEIJER DISTRIB. FORKLIFT OPERATOR        2929 WALKER AVE NW, STE 982 GRAND RAPIDS MI 49544-9428
MEIJER DISTRIBUTING/ FORKLIFT INCIDENT   2929 WALKER AVE NW, STE 982 GRAND RAPIDS MI 49544-9428
MEIKO AMERICA                            888 ACE DR WOOD DALE IL 60191
MEILS, TRAVIS                            ADDRESS ON FILE
MEINEN, WAYNE                            ADDRESS ON FILE
MEINERSHAGEN, JACOB                      ADDRESS ON FILE
MEINHART, KYLE                           ADDRESS ON FILE
MEIRA BASTOS, IGOR M                     ADDRESS ON FILE
MEIRA, WILLIAM                           ADDRESS ON FILE
MEIS, JOSEPH                             ADDRESS ON FILE
MEISLER TRAILER RENTALS LLC              PO BOX 772320 DETROIT MI 48277
MEISSNER, JERRY                          ADDRESS ON FILE
MEISSNER, ROBERT                         ADDRESS ON FILE
MEISTER LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MEJIA GOMEZ, IZAMAR                      ADDRESS ON FILE
MEJIA ZUNIGA, DAVID J                    ADDRESS ON FILE
MEJIA, BRITTANY                          ADDRESS ON FILE
MEJIA, DANIEL                            ADDRESS ON FILE
MEJIA, DAVID                             ADDRESS ON FILE
MEJIA, DOUGLAS                           ADDRESS ON FILE
MEJIA, EDGAR                             ADDRESS ON FILE
MEJIA, FREDDY                            ADDRESS ON FILE
MEJIA, HECTOR                            ADDRESS ON FILE
MEJIA, KEVIN                             ADDRESS ON FILE
MEJIA, MANUEL                            ADDRESS ON FILE
MEJIA, SUHA                              ADDRESS ON FILE
MEJIA, YARAH                             ADDRESS ON FILE
MEJIA, YOWNER                            ADDRESS ON FILE
MEJIAS LLC                               8000 WEST DR APT 716 NORTH BAY VILLAGE FL 33141-5788
MEK EXPRESS LLC                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MEKIC, TIMOTHY                           ADDRESS ON FILE
MEL TRUCKING LLC                         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MELA TRANSPORTATION LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MELALEUCA                                4777 W 65TH S IDAHO FALLS ID 83402
MELALEUCA                                5075 W 65TH S IDAHO FALLS ID 83402
MELALEUCA                                ATTN: JENIFER BROWN, 4609 W 65TH S EAGLE ROCK ID 83402
MELALEUCA INC                            4609 W 65TH ST IDAHO FALLS ID 83402
MELALEUCA INC .                          4609 W 65TH S IDAHO FALLS ID 83402
MELANCON, KAYLA                          ADDRESS ON FILE
MELANCON, KAYLA                          ADDRESS ON FILE
MELAND, KEVIN                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1253 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1262 of 2156

Claim Name                           Address Information
MELANIE M HORN                       ADDRESS ON FILE
MELANIE M HORN                       ADDRESS ON FILE
MELANY JOSEFINA OGANDO ALMANZAR      ADDRESS ON FILE
MELBEN LOGISTIC INC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MELCAR TRANS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MELCHER, JOSEPH                      ADDRESS ON FILE
MELCHOR VASQUEZ                      ADDRESS ON FILE
MELDER, TOM                          ADDRESS ON FILE
MELDRUM SCALE CO                     541 W 9560 S SANDY UT 84070
MELDRUM, DAWN                        ADDRESS ON FILE
MELE, MARGARET                       ADDRESS ON FILE
MELE, MARGARET                       ADDRESS ON FILE
MELE, PETER                          ADDRESS ON FILE
MELENDEZ CHAVAJE, CLEMENTE           ADDRESS ON FILE
MELENDEZ SR, ANTHONY                 ADDRESS ON FILE
MELENDEZ, DAMIAN                     ADDRESS ON FILE
MELENDEZ, DAMIAN                     ADDRESS ON FILE
MELENDEZ, JOSE                       ADDRESS ON FILE
MELENDEZ, JOSE                       ADDRESS ON FILE
MELENDEZ, OSCAR                      ADDRESS ON FILE
MELENDEZ, OTIS                       ADDRESS ON FILE
MELENDEZ, ROLAND                     ADDRESS ON FILE
MELENDEZ, SEAN                       ADDRESS ON FILE
MELENDEZ, STEVEN                     ADDRESS ON FILE
MELENDEZ, STEVEN                     ADDRESS ON FILE
MELENDEZ, TONI-NICOLE                ADDRESS ON FILE
MELENDREZ ANGUIANO, CHRISTIAN        ADDRESS ON FILE
MELENDREZ MOVING LLC                 OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
MELENDREZ, JOSE                      ADDRESS ON FILE
MELENDREZ, MANUEL                    ADDRESS ON FILE
MELERZYK, ROMUALD                    ADDRESS ON FILE
MELEY EXPRESS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MELGAR TRUCKING                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MELGAR TRUCKING SERVICE INC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MELGAREJO, DONATO                    ADDRESS ON FILE
MELGOZA, MARIA                       ADDRESS ON FILE
MELHORN, MARVIN                      ADDRESS ON FILE
MELISH, AUGUST                       ADDRESS ON FILE
MELISSA TOMLEN                       ADDRESS ON FILE
MELIUS WELDING, INC                  453 PAYNE AVE NORTH TONAWANDA NY 14120
MELKAN EXPRESS LLC                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MELL, JON                            ADDRESS ON FILE
MELLAT TRANSPORT LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MELLINGER, KYLE                      ADDRESS ON FILE
MELLINO, THOMAS                      ADDRESS ON FILE
MELLINO, THOMAS W                    ADDRESS ON FILE
MELLO, CHRIS                         ADDRESS ON FILE
MELLO, RONALD                        ADDRESS ON FILE
MELLO, WILLIE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1254 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1263 of 2156

Claim Name                           Address Information
MELLOS LOCKSMITH LLC                 817 PIN OAK DRIVE NASHVILLE TN 37013
MELLOTT, TRAVIS                      ADDRESS ON FILE
MELO, ADONIS                         ADDRESS ON FILE
MELODY J ESPOSITO                    ADDRESS ON FILE
MELODY KING                          ADDRESS ON FILE
MELODY LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MELODY TRANSPORTATION INC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MELODY TRUCKING LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MELODY TRUCKING LLC                  1220 FOOTHILL BLVD APT N OAKLAND TX 94606
MELONE, NICK                         ADDRESS ON FILE
MELOY, MARK                          ADDRESS ON FILE
MELS AUTO GLASS                      11775 READING RD CINCINNATI OH 45241
MELSON, PETER                        ADDRESS ON FILE
MELTON TRUCK LINES, INC.             808 N. 161ST E. AVE. TULSA OK 74116
MELTON, CHAD                         ADDRESS ON FILE
MELTON, COREY                        ADDRESS ON FILE
MELTON, DONALD                       ADDRESS ON FILE
MELTON, JACOB                        ADDRESS ON FILE
MELTON, KURT                         ADDRESS ON FILE
MELTON, LARRY                        ADDRESS ON FILE
MELTON, MICHAEL                      ADDRESS ON FILE
MELTON, PAMELA                       ADDRESS ON FILE
MELTON, PAMELA                       ADDRESS ON FILE
MELTON, RANDALL                      ADDRESS ON FILE
MELTON, RENEE                        ADDRESS ON FILE
MELTON, WILLIAM                      ADDRESS ON FILE
MELVILLE, KELLY                      ADDRESS ON FILE
MELVIN C CARTER                      ADDRESS ON FILE
MELVIN CONNER                        ADDRESS ON FILE
MELVIN K HEALY                       ADDRESS ON FILE
MELVIN L WALKER                      ADDRESS ON FILE
MELVIN WEAVER & SONS                 ATTN: DEREK WEAVER 2213 LEABROOK RD LANCASTER PA 17601
MELVIN, BRIAN                        ADDRESS ON FILE
MELVIN, BRITNEY                      ADDRESS ON FILE
MELVIN, DONALD                       ADDRESS ON FILE
MELVIN, ERNEST                       ADDRESS ON FILE
MELVIN, KELLI                        ADDRESS ON FILE
MELVIN, LINDA                        ADDRESS ON FILE
MELVIN, RANDY                        ADDRESS ON FILE
MELYNDA K STEELE                     ADDRESS ON FILE
MELZERS FUEL SERVICE                 PO BOX 785995 PHILADELPHIA PA 19178
MEM                                  30 WEST SILVERDOME PONTIAC MI 48342
MEMA, EDMOND                         ADDRESS ON FILE
MEMAG TRANSPORTATION INC             OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                     60197-4539
MEMBERS, JERMAINE                    ADDRESS ON FILE
MEMORIAL HERMAN                      9250 PINECROFT DR. SHENANDOAH TX 77380
MEMPHIS FENCE COMPANY LLC            1380 N WILLETT ST MEMPHIS TN 38108
MEMPHIS ICE MACHINE CO               4130 DELP ST MEMPHIS TN 38118



Epiq Corporate Restructuring, LLC                                                             Page 1255 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1264 of 2156

Claim Name                           Address Information
MEMPHIS LIGHT GAS & WATER DIV        245 SOUTH MAIN STREET MEMPHIS TN 38103
MEMPHIS SCALE WORKS, INC.            PO BOX 16726 MEMPHIS TN 38186
MENA TRUCKING & TRANSPORT LLC        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MENA, ADRIAN                         ADDRESS ON FILE
MENA, JESSE                          ADDRESS ON FILE
MENA, JUAN A                         ADDRESS ON FILE
MENA, JUAN DE JESUS                  ADDRESS ON FILE
MENA, MARK                           ADDRESS ON FILE
MENARD, TIMOTHY                      ADDRESS ON FILE
MENAS TRANSPORT LLC                  OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
MENAS, BOB                           ADDRESS ON FILE
MENCKE, CHARLES                      ADDRESS ON FILE
MENCKE, CHARLES                      ADDRESS ON FILE
MENCOTTI, JOSEPH                     ADDRESS ON FILE
MENDELSON, BOB MICHAEL               ADDRESS ON FILE
MENDELSON, JAY                       ADDRESS ON FILE
MENDENHALL, KARL                     ADDRESS ON FILE
MENDENHALL, MICHAEL                  ADDRESS ON FILE
MENDENHALL, PAUL M                   ADDRESS ON FILE
MENDES, JOHN                         ADDRESS ON FILE
MENDETTA, ROGER                      ADDRESS ON FILE
MENDEZ GUEVARA, NICOLAS MATEO        ADDRESS ON FILE
MENDEZ MEDINA, ARMANDO               ADDRESS ON FILE
MENDEZ, ALEJANDRO                    ADDRESS ON FILE
MENDEZ, CARLOS                       ADDRESS ON FILE
MENDEZ, DAVID                        ADDRESS ON FILE
MENDEZ, FRANCISCO                    ADDRESS ON FILE
MENDEZ, JANELLA                      ADDRESS ON FILE
MENDEZ, JOHN                         ADDRESS ON FILE
MENDEZ, JOSE                         ADDRESS ON FILE
MENDEZ, MIGUEL                       ADDRESS ON FILE
MENDEZ, REY                          ADDRESS ON FILE
MENDEZ, ROBERTO                      ADDRESS ON FILE
MENDIETA, ALBERTO                    ADDRESS ON FILE
MENDIOLA MIRANDA, HEBER              ADDRESS ON FILE
MENDIOLA TRUCKING LLC                OR RELIABLE FACTORS, INC, PO BOX 669130 DALLAS TX 75266-9130
MENDIOLA, DANIEL                     ADDRESS ON FILE
MENDIOLAZA, JESUS                    ADDRESS ON FILE
MENDLI, ATTILA                       ADDRESS ON FILE
MENDOZA AVILA, OSWALDO               ADDRESS ON FILE
MENDOZA MEDINA, JUAN                 ADDRESS ON FILE
MENDOZA TRANSPORT INC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MENDOZA, ALEXANDER                   ADDRESS ON FILE
MENDOZA, ANDRES                      ADDRESS ON FILE
MENDOZA, ANDREW                      ADDRESS ON FILE
MENDOZA, ANGEL                       ADDRESS ON FILE
MENDOZA, CECILIO                     ADDRESS ON FILE
MENDOZA, CHRISTIAN                   ADDRESS ON FILE
MENDOZA, DAVID                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1256 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1265 of 2156

Claim Name                          Address Information
MENDOZA, ELMA                       ADDRESS ON FILE
MENDOZA, ERIC                       ADDRESS ON FILE
MENDOZA, HECTOR                     ADDRESS ON FILE
MENDOZA, IRVING                     ADDRESS ON FILE
MENDOZA, J. GILBERT                 ADDRESS ON FILE
MENDOZA, JAVIER                     ADDRESS ON FILE
MENDOZA, JEFFREY                    ADDRESS ON FILE
MENDOZA, JORGE                      ADDRESS ON FILE
MENDOZA, JOSE                       ADDRESS ON FILE
MENDOZA, JOSE                       ADDRESS ON FILE
MENDOZA, JOSE                       ADDRESS ON FILE
MENDOZA, JUAN                       ADDRESS ON FILE
MENDOZA, JULIE                      ADDRESS ON FILE
MENDOZA, LEYNER                     ADDRESS ON FILE
MENDOZA, MANNY                      ADDRESS ON FILE
MENDOZA, MARIJOSE                   ADDRESS ON FILE
MENDOZA, MARK                       ADDRESS ON FILE
MENDOZA, MATTHEW                    ADDRESS ON FILE
MENDOZA, MICHAEL                    ADDRESS ON FILE
MENDOZA, MICHEAL                    ADDRESS ON FILE
MENDOZA, MIKE                       ADDRESS ON FILE
MENDOZA, OSCAR                      ADDRESS ON FILE
MENDOZA, PETER                      ADDRESS ON FILE
MENDOZA, RAFIEL                     ADDRESS ON FILE
MENDOZA, RAMEY                      ADDRESS ON FILE
MENDOZA, RAUL                       ADDRESS ON FILE
MENDOZA, RICARDO                    ADDRESS ON FILE
MENDOZA, SERAFIN                    ADDRESS ON FILE
MENDOZA, THOMAS C                   ADDRESS ON FILE
MENDOZA, VICTOR                     ADDRESS ON FILE
MENDOZA-LOPEZ, JOSE                 ADDRESS ON FILE
MENDOZA-MEZA, CESAR                 ADDRESS ON FILE
MENEES, BILLY                       ADDRESS ON FILE
MENEFEE, ROBERT                     ADDRESS ON FILE
MENEHUNE WATER COMPANY, INC.        99-1205 HALAWA VALLEY ST AIEA HI 96701
MENENDEZ LOGISTICS LLC              OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
MENENDEZ TEJEDA, RENE               ADDRESS ON FILE
MENEZ, SUZANNE                      ADDRESS ON FILE
MENFIX TRANSPORTATION INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MENGE, JENNA                        ADDRESS ON FILE
MENGES, JAMES                       ADDRESS ON FILE
MENGESHA, YIMESGEN                  ADDRESS ON FILE
MENGINE, LEON                       ADDRESS ON FILE
MENH LLC                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MENIFEE, BRIELLE                    ADDRESS ON FILE
MENJIVAR, GUSTAVO                   ADDRESS ON FILE
MENKE LLC                           6260 E TOWER RD LEAVENWORTH IN 47137
MENOSCAL, CARLOS                    ADDRESS ON FILE
MENSAH, DOUGLAS                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1257 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1266 of 2156

Claim Name                             Address Information
MENSAH, KOKOU                          ADDRESS ON FILE
MENSALE, ELIZABETH                     ADDRESS ON FILE
MENTER, LARRY                          ADDRESS ON FILE
MENTER, LARRY A                        ADDRESS ON FILE
MENTING, JOSEPH                        ADDRESS ON FILE
MENTING, LOGAN                         ADDRESS ON FILE
MENTZER, ROBERT                        ADDRESS ON FILE
MENTZER, SAMANTHA                      ADDRESS ON FILE
MENUARD, JAMAR                         ADDRESS ON FILE
MENWEZZ, SHENUL                        ADDRESS ON FILE
MER-TRAN, INC.                         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MERACLE, CHRISTOPHER                   ADDRESS ON FILE
MERAKI CJ GROUP LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MERAKI TRANSPORT INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MERANCIO-RUIZ, MARCO                   ADDRESS ON FILE
MERANDO, DAVID                         ADDRESS ON FILE
MERANTE TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MERANTE TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MERCADO HERNANDEZ, CONCHITA            ADDRESS ON FILE
MERCADO TRANSPORTATION                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MERCADO, ADRIANA                       ADDRESS ON FILE
MERCADO, AMANDA                        ADDRESS ON FILE
MERCADO, EVELYN                        ADDRESS ON FILE
MERCADO, MICHAEL                       ADDRESS ON FILE
MERCADO, MILAGROS V                    ADDRESS ON FILE
MERCADO, MILAGROS V                    ADDRESS ON FILE
MERCADOR, ROCIO                        ADDRESS ON FILE
MERCADOS TRUCKING CORP                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MERCATOR GLOBAL LOGISTICS LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MERCED FACULTY ASSOCIATES              PO BOX 8592 BELFAST ME 04915
MERCEDES & SONS TRANSPORTATION LLC     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MERCEDES-BENZ FIN SERV USA LLC         PAYMENT PROCESSING, BOX 5261 CAROL STREAM IL 60197
MERCEDES-BENZ FINANCIAL SERVICES USA   PO BOX 5260 CAROL STREAM IL 60197
LLC
MERCEK, KEITH S                        ADDRESS ON FILE
MERCEK, KEITH S                        ADDRESS ON FILE
MERCER TOOL CORPORATION                ATTN: FRAN DOCETI 1860 SMITHTOWN AVE RONKONKOMA NY 11779
MERCER TRANSPORTATION INC              1128 W MAIN ST ATTN MARTY ATHERTON LOUISVILLE KY 40203
MERCER WAY LOGISTIC CORPORATION        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MERCER, BOBBY                          ADDRESS ON FILE
MERCER, JAMES                          ADDRESS ON FILE
MERCER, SCOTT                          ADDRESS ON FILE
MERCHANDISE DRIVERS LOCAL 641          714 RAHWAY AVE UNION NJ 07083
MERCHANDISE DRIVERS LOCAL 641          TEAMSTERS UNION, 714 RAHWAY AVE UNION NJ 07083
MERCHANT EXCAVATING, INC               404 N STATE RD ALMA MI 48801
MERCHANT, AMY                          ADDRESS ON FILE
MERCHANT, CHRISTOPHER                  ADDRESS ON FILE
MERCHANT, DELDRICK                     ADDRESS ON FILE
MERCHANT, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1258 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1267 of 2156

Claim Name                            Address Information
MERCHANTS SOLUTION LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MERCHANTS TRANSPORT OF HICKORY, LLC   PO BOX 2148 HICKORY NC 28603
MERCURIO, ROBERT                      ADDRESS ON FILE
MERCURY MARINE                        C/O WILLIAMS & ASSOCIATES, 405 E 78TH ST BLOOMINGTON MN 55420
MERCURY MARINE                        WILLIAMS & ASSOCIATES INC 405 E 78TH ST BLOOMINGTON MN 55420
MERCURY MARINE                        WILLIAMS & ASSOCIATES INC 405 E 78TH ST BLOOMINGTON MN 55420-1251
MERCY                                 PO BOX 505511 ST LOUIS MO 63150
MERCY & GRACE LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MERCY BUSINESS HEALTH SERVICES        PO BOX 328 SIOUX CITY IA 51102
MERCY BUSINESS HEALTH SERVICES        3500 SINGING HILLS BLVD 100 SIOUX CITY IA 51106
MERCY CLINIC OCCUPATIONAL MEDICINE    PO BOX 776075 CHICAGO IL 60677
MERCY EXPRESS LLC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MERCYDAN LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MERDZIC TRANSPORTATION SERVICES INC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MEREB TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MEREDITH, GEORGE                      ADDRESS ON FILE
MEREDITH, JAMES                       ADDRESS ON FILE
MEREDITH, SHAWN                       ADDRESS ON FILE
MEREDITH, SHAWN G                     ADDRESS ON FILE
MERELUS TRANSPORT CORP                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MERENESS, BRIAN                       ADDRESS ON FILE
MERGE                                 P.O. BOX 7044 CAROL STREAM IL 60197
MERGE DISTRICT LLC                    OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
MERGE TRUCKING & LOGISTICS LLC        OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MERGLER, MATTHEW                      ADDRESS ON FILE
MERHABA TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MERHOFF, KARL                         ADDRESS ON FILE
MERIC TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MERICA, CURTIS                        ADDRESS ON FILE
MERICLE, JUDI                         ADDRESS ON FILE
MERIDA LOGISTICS LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
MERIDETH JR, DANIEL                   ADDRESS ON FILE
MERIDETH, TRAVIS                      ADDRESS ON FILE
MERIDITH, JOHNNY                      ADDRESS ON FILE
MERIH COTTON CORPORATION              3710 CEDAR BLVD BAYTOWN TX 77523
MERIH TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MERIMON, STEPHEN R                    ADDRESS ON FILE
MERINO, STEVE                         ADDRESS ON FILE
MERIOLES, JUDY                        ADDRESS ON FILE
MERIT INTEGRATED LOGISTICS, LLC       29122 RANCHO VIEJO RD 211 SAN JUAN CAPISTRANO CA 92675
MERIT INTEGRATED LOGISTICS, LLC       33332 VALLE RD. 100 SAN JUAN CAPISTRANO CA 92675
MERIT TRUCKING COMPANY INC            PO BOX 5507 NORCO CA 92860
MERIWEATHER COUNTY SCHOOLS            2100 GASTON ST GREENVILLE 30222
MERIX EXPEDITED SERVICES LLC          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MERJ FLEET SERVICES, INC.             1989 HARLEM ROAD BUFFALO NY 14212
MERKEL, IAN                           ADDRESS ON FILE
MERKERT, MARGARET                     ADDRESS ON FILE
MERKEY, TRESSA                        ADDRESS ON FILE
MERL EXPRESS EXPEDITING LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                Page 1259 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1268 of 2156

Claim Name                           Address Information
MERLES GARAGE & TOWING INC           6016 S MACKINEE TRAIL SAULT STE. MARIE MI 49785
MERLI AUTOMOTIVE                     846 S MAIN ST TORRINGTON CT 06790
MERLIN TRUCKING LLC                  2980 MASTERS VIEW RD LEXINGTON KY 40511-8780
MERLINI, THOMAS                      ADDRESS ON FILE
MERLO PLUMBING CO INC                11041 GRAVOIS INDUSTRIAL COURT ST. LOUIS MO 63128
MERLOS, ALEXANDER                    ADDRESS ON FILE
MEROLA SALES CO. INC.                20 REED PLACE AMITYVILLE NY 11701
MEROLA SALES COMPANY                 ATTN: ANN MARIE WHITAKER 217 COUNTY RD MANALAPAN NJ 07726
MEROLA SALES CORP                    217 COUNTRY RD 522 ENGLISHTOWN NJ 07726
MEROLA TILE                          217 COUNTY ROAD 522 ENGLISHTOWN NJ 07726
MEROLA TILE                          ATTN: KATE GREBINSKAYA 217 COUNTY RD 522 MANALAPAN NJ 07726
MERPAW, RICHARD                      ADDRESS ON FILE
MERRELL, TAMEEKA                     ADDRESS ON FILE
MERRICK ENTERPRISES CORP.            3857 BRECKSVILLE RD, PO BOX 13 RICHFIELD OH 44286
MERRICK, ADRIAN                      ADDRESS ON FILE
MERRICK, ORBY                        ADDRESS ON FILE
MERRICK, ZACHARY                     ADDRESS ON FILE
MERRIFIELD, AUSTIN                   ADDRESS ON FILE
MERRILL CONSULTANTS                  10717 CROMWELL DR DALLAS TX 75229
MERRILL LYNCH (0671)                 ATT EARL WEEKS/PROXY DEPT C/O MERRILL LYNCH CORP ACTIONS 4804 DEER LAKE DR. E.
                                     JACKSONVILLE FL 32246
MERRILL LYNCH (8862)                 ATT EARL WEEKS/PROXY DEPT C/O MERRILL LYNCH CORP ACTIONS 4804 DEER LAKE DR. E.
                                     JACKSONVILLE FL 32246
MERRILL LYNCH/STK (6582)             ATT EARL WEEKS/PROXY DEPT C/O MERRILL LYNCH CORP ACTIONS 4804 DEER LAKE DR. E.
                                     JACKSONVILLE FL 32246
MERRILL, BERNARD                     ADDRESS ON FILE
MERRILL, CLAYTON                     ADDRESS ON FILE
MERRILL, LARRY                       ADDRESS ON FILE
MERRILL, MILTON                      ADDRESS ON FILE
MERRILL, NATHAN                      ADDRESS ON FILE
MERRILL, RICHARD                     ADDRESS ON FILE
MERRILL, ROXANN                      ADDRESS ON FILE
MERRIMAN, STEVE                      ADDRESS ON FILE
MERRIMAN, STEVEN                     ADDRESS ON FILE
MERRITT TRAILERS INC                 9339 BRIGHTON ROAD HENDERSON CO 80640
MERRITT, ANGELA                      ADDRESS ON FILE
MERRITT, CHRISTOPHER                 ADDRESS ON FILE
MERRITT, DAVE                        ADDRESS ON FILE
MERRITT, JOSHUA                      ADDRESS ON FILE
MERRITT, KELVIN                      ADDRESS ON FILE
MERRIWEATHER, ANTONIO                ADDRESS ON FILE
MERROW, CHRISTOPHER                  ADDRESS ON FILE
MERROW, JUDITH                       ADDRESS ON FILE
MERRYMAN, DARRELL                    ADDRESS ON FILE
MERRYMAN, LISA                       ADDRESS ON FILE
MERSEN                               900 HARRISON ST. BAY CITY MI 48708
MERTENS, JOSHUA                      ADDRESS ON FILE
MERTL, RONALD                        ADDRESS ON FILE
MERTOX PLUS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MERTZ, BRIAN                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                            Page 1260 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1269 of 2156

Claim Name                           Address Information
MERTZ, CHAD                          ADDRESS ON FILE
MERTZ, JOSEPH                        ADDRESS ON FILE
MERTZ, SHANNON                       ADDRESS ON FILE
MERX GLOBAL INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MERX, ANTHONY                        ADDRESS ON FILE
MERY ENTERPRISE LLC                  OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
MERZ, JAMES                          ADDRESS ON FILE
MERZ, STEPHAN                        ADDRESS ON FILE
MERZ, STEPHANIE                      ADDRESS ON FILE
MERZOIAN, DIANA                      ADDRESS ON FILE
MES TRANSPORT LLC                    693 WALSTON ROAD ALMO KY 42020
MESA COMMUNITY COLLEGE               1833 W. SOUTHERN AVE. MESA AZ 85202
MESA COUNTY TREASURER                PO BOX 2086 ENGLEWOOD CO 80110
MESA COUNTY TREASURER                2471 RIVERSIDE PARKWAY A GRAND JUNCTION CO 81505
MESA HIDALGO, DANIEL                 ADDRESS ON FILE
MESA, JAIME                          ADDRESS ON FILE
MESA, JAIMIE                         ADDRESS ON FILE
MESCA FREIGHT SERVICES, LLC          PO BOX 70000 NEWARK NJ 07101
MESERVEY, DAVID                      ADDRESS ON FILE
MESHA S JAMES                        ADDRESS ON FILE
MESHAW, BENJAMIN                     ADDRESS ON FILE
MESI TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MESIONA, MICHAEL                     ADDRESS ON FILE
MESLERS SERVICE GARAGE               163 MORRIS ST MORRISTOWN NJ 07960
MESMERIZE MEDIA                      C/O AFS LOGISTICS LLC, PO BOX 18170 SHREVEPORT LA 71138
MESQUITE CITY SCHOOL DISTRICT        PO BOX 850267 MESQUITE TX 75185
MESQUITE MEDICAL ASSOCIATES LTD      1830 MESQUITE AVE STE A LAKE HAVASU CITY AZ 86403
MESQUITE TAX FUND                    PO BOX 850267 MESQUITE TX 75185
MESSEMER, MICHAEL                    ADDRESS ON FILE
MESSENGER, CRAIG                     ADDRESS ON FILE
MESSENGER, PATRICK                   ADDRESS ON FILE
MESSENGER, THOMAS                    ADDRESS ON FILE
MESSER, EVAN                         ADDRESS ON FILE
MESSER, JOSEPH                       ADDRESS ON FILE
MESSER, LOGAN                        ADDRESS ON FILE
MESSERCOLA EXCAVATING INC.           549 E. 3RD STREET PLAINFIELD NJ 07060
MESSIAH LOGISTICS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MESSIAH UNIVERSITY                   ATTN: DEPT. OF OPERATIONS ONE UNIVERSITY AVE STE 3035 MECHANICSBURG PA 17055
MESSICK, ARLEND                      ADDRESS ON FILE
MESSICK, ARLEND                      ADDRESS ON FILE
MESSICK, CHRISTOPHER                 ADDRESS ON FILE
MESSICK, MICHAEL                     ADDRESS ON FILE
MESSIER, CARROLL                     ADDRESS ON FILE
MESSIER, KYLE                        ADDRESS ON FILE
MESSIN, ROGER                        ADDRESS ON FILE
MESSINA, ANTHONY                     ADDRESS ON FILE
MESSINA, BRUCE                       ADDRESS ON FILE
MESSINA, FRANK                       ADDRESS ON FILE
MESSING, ZACHARY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1261 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1270 of 2156

Claim Name                               Address Information
MESSITI, ROBERT                          ADDRESS ON FILE
MESSMER, RICK                            ADDRESS ON FILE
MESSNER, JOSEPH M                        ADDRESS ON FILE
MESSURI, MATTHEW                         ADDRESS ON FILE
MESTECK                                  3576 S. FIELDS ST. FARMVILLE NC 27828
MESTEK-DADANCO                           PO BOX 69 ROCHESTER NH 03866
MESTER, DANIEL                           ADDRESS ON FILE
MESTRE, SHELDRED                         ADDRESS ON FILE
MESZAROS, RONALD                         ADDRESS ON FILE
MET ED                                   1911 CHARLOTTE DR, CHARLOTTE NC 28203
MET NY LLC                               518 UNION BLVD WEST ISLIP NY 11795
MET TRANSFER                             ARTEGA 4955 COL HIDALGO TAMAULIPAS NUEVO LAREDO 88160 MEXICO
META EXPRESS, INC                        58 CHIP SHOT COURT ROSEVILLE CA 95678
META LOGISTICS ENTERPRISE INCORPORATED   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
META TRUCKING SERVICES LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
METAL FINISHERS                          110 SW BOOTH ST GRANTS PASS OR 97526
METAL FORM MANUFACTURING CO IN           ATTN: LISA CARRASCO 5960 W WASHINGTON ST PHOENIX AZ 85043
METAL INDUSTRIES, LLC ECHO               ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
METAL MAGIC                              3320 EAST ROESER RD. PHOENIX AZ 85040
METAL PRODUCTS CO                        PO BOX 703 SPRINGFIELD OR 97477
METAL RECOVERY LLC                       1680 FLAT ST PENN YAN NY 14527
METAL SUPERMARKETS                       D/B/A: METAL SUPERMARKETS BALTIMORE 7120 GOLDEN RING RD BALTIMORE MD 21221
METAYER, FRANCKY                         ADDRESS ON FILE
METCALF TRUCKING LLC                     METCALF TRUCKING LLC, 215 N 4300 E RIGBY ID 83442
METCALF TRUCKING LLC (MC1367023)         2314 PEACH BLOSSOM CT MURFREESBORO TN 37127
METCALF, ERIC                            ADDRESS ON FILE
METCALF, GREG                            ADDRESS ON FILE
METCALF, JEFFREY                         ADDRESS ON FILE
METCALF, JEREMIAH                        ADDRESS ON FILE
METCALF, KAREN                           ADDRESS ON FILE
METCALF, KENTON L                        ADDRESS ON FILE
METCALF, LAURA                           ADDRESS ON FILE
METCALF, LEWIS                           ADDRESS ON FILE
METCALF-SMITH, NICOLE                    ADDRESS ON FILE
METCALFE TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
METCO                                    102 ENTERPRISE DR, PO BOX 448 HILLSBORO WI 54634
METELLUS, ASHLEY                         ADDRESS ON FILE
METELUS, JAMES K                         ADDRESS ON FILE
METELUS, JAMES K                         ADDRESS ON FILE
METEOR LOGISTICS LLC                     OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
METHIA R REEVES                          ADDRESS ON FILE
METHUM, JACOB                            ADDRESS ON FILE
METIME LOGISTICS LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
METOYER, BRYAN                           ADDRESS ON FILE
METRO AIRPORT TRUCK                      13385 INKSTER RD TAYLOR MI 48180
METRO ALARM OFFICE                       PO BOX 178 MEMPHIS TN 38101
METRO ALARM OFFICE                       125 N MAIN ST 1B20 MEMPHIS TN 38103
METRO CLEVELAND SECURITY INC.            5627 MEMPHIS AVE CLEVELAND OH 44144
METRO COLLISION SERVICES INC.            A-475 SEAMAN STREET STONEY CREEK ON L8E 2R2 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 1262 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1271 of 2156

Claim Name                             Address Information
METRO DELIVERY INC.                    PO BOX 3238 ANN ARBOR MI 48106
METRO DOOR AND DOCK, INC               34691 N. WILSON ROAD INGLESIDE IL 60041
METRO ELECTRIC, INC.                   1901 INDUSTRIAL DRIVE MC ALLEN TX 78504
METRO EXPRESS LOGISTICS INC            4010 FOTHHILLS BLVD STE 1031 ROSEVILLE CA 95747
METRO FENCE COMPANY INC                8335 QUEBEC ST COMMERCE CITY CO 80022
METRO FENCE INDUSTRIES, INC.           4521 BISHOP LANE LOUISVILLE KY 40218
METRO FIRE PROTECTION                  PO BOX 2207 WAUSAU WI 54402-2207
METRO FREIGHT GROUP INC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
METRO GARAGE DOOR CO.                  8175 LEWIS RD GOLDEN VALLEY MN 55427
METRO GARAGE DOOR CO.                  8175-A LEWIS ROAD GOLDEN VALLEY MN 55427
METRO LEGAL                            P O BOX 196300 NASHVILLE TN 37219-6300
METRO MILWAUKEE TRANSPORT LLC          OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
METRO OVERHEAD DOOR, INC.              2525 NE COLUMBIA BLVD PORTLAND OR 97211
METRO PEST CONTROL LTD                 B 1883 LOGAN AVE WINNIPEG MB R2R 0H6 CANADA
METRO PRESORT, INC.                    3506 NW 35TH AVE PORTLAND OR 97210
METRO RETAIL RECYCLING SERVICES, LLC   1845 EMERSON ST ROCHESTER NY 14606
METRO SAFETY & FIRE, INC.              PO BOX 33650 PORTLAND OR 97292
METRO TANK AND PUMP COMPANY            1111 W DUNDEE RD WHEELING IL 60090
METRO TOWING                           1800 LEE ST. ALEXANDRIA LA 71301
METRO TRAILER LEASING, INC.            100 METRO PARKWAY PELHAM AL 35124
METRO TRAILER REPAIR                   2720 THORNGROVE PIKE KNOXVILLE TN 37914
METRO TRAILER REPAIR                   PO BOX 6702 KNOXVILLE TN 37914
METRO TRAILER REPAIR CO INC            904 N 30TH ST BIRMINGHAM AL 35203
METRO TRANSPORT                        91 WHITE HOUSE CRES BRAMPTON ON L6P 1L7 CANADA
METRO TRANSPORT GROUP, L.L.C.          3054 HWY 11 SOUTH ATHENS TN 37303
METRO TRANSPORT SERVICES L.L.C.        PO BOX 289 NEWPORT MN 55055
METRO TRANSPORT UNLIMITED INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
METRO TRUCK GROUP                      475 SEAMAN STREET UNIT A STONEY CREEK ON L8E 2R2 CANADA
METRO TRUCKING ASSOCIATES LLC          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
METRO WATER SERVICES                   1700 3RD AVE N NASHVILLE TN 37208
METRO WEST SERVICES, INC.              1325 N 10TH STREET SAINT LOUIS MO 63106
METRO XPRESS LLC                       OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
METRO-BLUE LOGISTICS LLC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
METROLINE INC.                         2250 MEIJER DR TROY MI 48084
METROPLEX WELDING SUPPLY, INC.         1970 W. NORTHWEST HWY. DALLAS TX 75220
METROPOLIS LOGISTICS LLC               2 EMPIRE BLVD MOONACHIE NJ 07074
METROPOLITAN HARDWOOD FLOORS           8106 S 216TH ST KENT WA 98032
METROPOLITAN INDUSTRIES, INC.          37 FORESTWOOD DR ROMEOVILLE IL 60446
METROPOLITAN REPORTING BUREAU          PO BOX 926 WILLIAM PENN ANNEX PHILADELPHIA PA 19105
METROPOLITAN SITE & SAFETY EQUIPMENT   2910 LEKA DR HUNTINGTOWN MD 20639
LLC
METROPOLITAN SITE & SAFETY EQUIPMENT   OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
LLC
METROPOLITAN ST LOUIS SWR DIST         2350 MARKET STREET WALNUT PL ST LOUIS MO 63103
METROPOLITAN TRAILER SERVICE           28650 HILDEBRANDT ROMULUS MI 48174
METROPOLITAN TRUSTEE NASHVILLE         PO BOX 305012 NASHVILLE TN 37230
METROPOLITAN TRUSTEE NASHVILLE         P.O. BOX 305012 NASHVILLE TN 37230-5012
METROPOLITAN TRUSTEE NASHVILLE         UTILITY TAX DEPARTMENT, P.O. BOX 305012 NASHVILLE TN 37230-5012
METROPOLITAN UTILITIES DIST            7350 WORLD COMMUNICATIONS DR. OMAHA NE 68122-4041



Epiq Corporate Restructuring, LLC                                                                Page 1263 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1272 of 2156

Claim Name                           Address Information
METSCH, JAMES                        ADDRESS ON FILE
METSO OUTOTEC                        275 CORPORATE PARKWAY BROOKFIELD WI 53045
METTES, MARK                         ADDRESS ON FILE
METTLER, FRED                        ADDRESS ON FILE
METTLER-TOLEDO LLC                   PO BOX 730867 DALLAS TX 75373
METU TRANS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
METZ, FRED                           ADDRESS ON FILE
METZ, SAMUEL                         ADDRESS ON FILE
METZCUS, MARK                        ADDRESS ON FILE
METZENDORF, JONATHAN                 ADDRESS ON FILE
METZGER & SON TRUCKING CO., INC.     P O BOX 8 SILVER LAKE IN 46982
METZGER, JAY                         ADDRESS ON FILE
METZGER, MARLENE                     ADDRESS ON FILE
METZGER, WILLIAM                     ADDRESS ON FILE
MEUNIER & ASSOCIATES                 11908 PAWNEE LANE LEAWOOD KS 66211
MEUNIOT, DAVID                       ADDRESS ON FILE
MEWBORN, KIMBERLY                    ADDRESS ON FILE
MEWBORN, KIMBERLY L                  ADDRESS ON FILE
MEWCO TRANSPORTING SERVICES LLP      152 BERMUDA LN ALBANY GA 31707
MEWSHAW, KARL                        ADDRESS ON FILE
MEXICAN TAX ADMINISTRATION SERVICE   AV. HIDALGO 77, COL. GUERRERO MEXICO CITY 06300 MEXICO
MEXICAN, DAJA                        ADDRESS ON FILE
MEXICO PLASTIC LLC                   2000 W BOULEVARD MEXICO MO 65265
MEYER ENTERPRISES LLC                80 WHITING ST PLAINVILLE CT 06062
MEYER LABORATORY, INC                2401 W JEFFERSON BLUE SPRINGS MO 64015
MEYER LTG & SUPPLY                   497 E CRYSTAL SPRING DR DRAPER UT 84020
MEYER UNKOVIC & SCOTT LLP            535 SMITHFIELD ST STE 1300 PITTSBURGH PA 15222
MEYER, AMANDA                        ADDRESS ON FILE
MEYER, DAVID                         ADDRESS ON FILE
MEYER, ERIC                          ADDRESS ON FILE
MEYER, JOHN                          ADDRESS ON FILE
MEYER, JOHN                          ADDRESS ON FILE
MEYER, LINDA                         ADDRESS ON FILE
MEYER, LISA                          ADDRESS ON FILE
MEYER, MARVIN                        ADDRESS ON FILE
MEYER, MILISSA                       ADDRESS ON FILE
MEYER, PENNY                         ADDRESS ON FILE
MEYER, RON                           ADDRESS ON FILE
MEYER, SIDNEY                        ADDRESS ON FILE
MEYER, STANLEY                       ADDRESS ON FILE
MEYER, STEPHANIE                     ADDRESS ON FILE
MEYER, THOMAS                        ADDRESS ON FILE
MEYERS BROS. TRUCKING, LLC           16879 COUNTY ROAD 15 PIONEER OH 43554
MEYERS, CHRISTOPHER                  ADDRESS ON FILE
MEYERS, DAVID                        ADDRESS ON FILE
MEYERS, DIANE                        ADDRESS ON FILE
MEYERS, DONALD                       ADDRESS ON FILE
MEYERS, JEFFREY                      ADDRESS ON FILE
MEYERS, JOSEPH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1264 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1273 of 2156

Claim Name                           Address Information
MEYERS, KENT                         ADDRESS ON FILE
MEYERS, LARRY                        ADDRESS ON FILE
MEYERS, NATHAN                       ADDRESS ON FILE
MEYERS, RACHEL                       ADDRESS ON FILE
MEYERS, ROBERT C                     ADDRESS ON FILE
MEYERS, THOMAS                       ADDRESS ON FILE
MEYERS, TIMOTHY                      ADDRESS ON FILE
MEYMUNA TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MEYSEMBOURG, JOHN                    ADDRESS ON FILE
MEYSENBURG, ANDREW                   ADDRESS ON FILE
MEYSING LOGISTICS INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MEZA, EDGAR                          ADDRESS ON FILE
MEZA, GABRIEL                        ADDRESS ON FILE
MEZA, HUGO                           ADDRESS ON FILE
MEZA, JOSEPH                         ADDRESS ON FILE
MEZA, MITCHELL                       ADDRESS ON FILE
MEZA, NATHANIEL                      ADDRESS ON FILE
MEZA, PATRIC                         ADDRESS ON FILE
MEZA, PETINA                         ADDRESS ON FILE
MEZA, RAMIRO                         ADDRESS ON FILE
MEZA, RAMIRO                         ADDRESS ON FILE
MEZZANO, JAMES                       ADDRESS ON FILE
MEZZATESTA, FRANK                    ADDRESS ON FILE
MF EXPRESS, INC.                     OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
MF FREIGHT LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MF TRUCKING CO                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MFA OIL COMPANY                      2304 BUSINESS LOOP 70 E COLUMBIA MO 65201
MFA OIL COMPANY                      P.O. BOX 809023 KANSAS CITY MO 64180
MFA OIL COMPANY                      PO BOX 843784 KANSAS CITY MO 64184
MFA TRANSPORT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MFA TRANSPORTATION LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MFA TRUCKING LLC                     OR EAST VALLEY CAPITAL LLC PO BOX 51357 MESA AZ 85208
MFAM TRUCKING                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MFCP INC.                            8433 SOLUTION CENTER CHICAGO IL 60677
MFN PARTNERS MANAGEMENT, LP          ATTN: JONATHAN REISMAN 222 BERKELEY ST 13TH FLOOR BOSTON MA 02116
MFR LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MFT                                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MFVS INC.                            PO BOX 974 DOWNEY CA 90241
MG & GA TRANSPORT LLC                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MG CARRIERS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MG DELIVERY LLC                      OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
MG EXPRESS INC                       15347 S US 169 HWY STE A OLATHE KS 66062-3403
MG EXPRESS TRUCKING LLC              PO BOX 1682 HIGHTSTOWN NJ 08520
MG EXPRESS TX LLC                    OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
MG FISHERSVILLE I LLC                C/O COLLIERS INTERNATIONAL VIRGINIA PO BOX 13470 RICHMOND VA 23225
MG FISHERSVILLE I, LLC               ATTN: THERESA C. ANDERSON C/O COLLIERS INTERNATIONAL VIRGINIA PO BOX 13470
                                     RICHMOND VA 23225
MG TRANS EXPRESS.                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MG TRANS FREIGHT INC                 OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053



Epiq Corporate Restructuring, LLC                                                               Page 1265 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1274 of 2156

Claim Name                           Address Information
MG TRANSPORT LTD                     33203 ROSE AVE MISSION BC V2V 4Z4 CANADA
MG TRUCKIN LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MGA LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MGA TRANSPORT LLC                    OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
MGC TRANSPORTATIONS LLC              OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MGD TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MGE GROUP CORPORATION                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MGG TRANSPORTATION LLC               OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
MGH EXPRESS INC                      OR CROSSROAD SERVICES, PO BOX 653076 DALLAS TX 75265-3076
MGH ROVER LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MGH TRANSPORT LLC                    OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                     60197-4539
MGI EXPRESS LLC (MC081135)           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MGI TRANSPORTATION INC               OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
MGM EXPRESS TRANSPORT CORP           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MGM TRANSFORMER CO                   5701 SMITHWAY ST COMMERCE CA 90040
MGM TRANSFORMER CO R                 5701 SMITHWAY ST COMMERCE CA 90040
MGM TRANSPORT L.L.C.                 OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
MGM TRANSPORTATION LLC               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MGM TRUCKING DISTRIBUTION LLC        OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MGM TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MGM WORLDWIDE LOGISTICS INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MGN LOGISTICS                        MGN LOGISTICS, 712 FERRY ST EASTON PA 18042
MGO TRANSPORT CORP                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MGR TRADING CORP                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MGR TRANS CORP                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MGR TRUCKLINE                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75268-0028
MGRW CORP                            10409 MAYFIELD AVE APT 2A OAK LAWN IL 60453
MGRW CORP                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MGS TRANSPORT LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MGS TRUCKING INC                     7831 TWINFLOWER DR MADISON WI 53719
MGSG LOGISTICS LLC                   OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
MGT TRANSPORTATION LLC               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MH EQUIPMENT COMPANY                 2055 HARDY PARKWAY GROVE CITY OH 43123
MH EQUIPMENT COMPANY                 P.O. BOX 854469 MINNEAPOLIS MN 55485
MH EQUIPMENT COMPANY                 774469, 4469 SOLUTIONS CENTER CHICAGO IL 60677
MH EQUIPMENT COMPANY                 774469, 4469 SOLUTIONS CENTER CHICAGO IL 60677-4004
MH EQUIPMENT COMPANY                 MH EQUIPMENT DANVILLE, 1644 GEORGETOWN TILTON IL 61832
MH EXPRESS LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MH EXPRESS LLC (BATESVILLE, MS)      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
MH TRANSPORT INC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MH TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MH UNITED CORP                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MHA LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MHA TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MHC KENWORTH                         OKLAHOMA CITY, PO BOX 879269 KANSAS CITY MO 64187
MHC KENWORTH                         ATTN: STACIE HENDRIX, PO BOX 879269 KANSAS CITY MO 64187-9269
MHC KENWORTH - KANSAS CITY           KANSAS CITY 1524 N CORRINGTON 1435 & FRONT ST KANSAS CITY MO 64120



Epiq Corporate Restructuring, LLC                                                             Page 1266 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1275 of 2156

Claim Name                              Address Information
MHC KENWORTH - KANSAS CITY              MHC KENWORTH OLATHE 1301 SOUTH HAMILTON CIRCLE OLATHE KS 66061
MHC KENWORTH - QUAD CITIES              3600 78TH AVE WEST ROCK ISLAND IL 61201
MHC KENWORTH - QUAD CITIES              PO BOX 879269 KANSAS CITY MO 64187
MHC KENWORTH- COLORDO KENWORTH          752 23 1/2 RD GRAND JUNCTION CO 81505
MHC TRANSPORT INC                       12654 SECOND AVE VICTORVILLE CA 92395
MHC TRANSPORTS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MHCS INC                                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MHE SERVICES LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MHEIRAT, BASEL                          ADDRESS ON FILE
MHERETAB S ESHETE                       ADDRESS ON FILE
MHF, INC.                               OR TAB BANK, PO BOX 150290 OGDEN UT 84415-0290
MHRT TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MHS AUTOMOTION                          95 SOUTH ROUTE 83 GRAYSLAKE IL 60030
MI ALI LOGISTICS                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MI-T M CORP                             PO BOX 50 PEOSTA IA 52068
MIA EXPRESS INC                         1185 KELLY AVE AKRON OH 44306
MIAMI CARGO CORP                        OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
MIAMI DADE FIRE RESCUE DEPARTMENT       9300 NW 41ST ST DORAL FL 33178
MIAMI ONE WAY TRUCKING LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIAMI TRANSPORT INC                     5431 BENTLEY RD, APT 205 WEST BLOOMFIELD MI 48322
MIAMI VALLEY LIGHTING LLC               1065 WOODMAN DR DAYTON OH 45432-1423
MIAMI WALK IN COOLER                    ATTN: SCOTT CHEHAB 18730 SW 104TH AVE MIAMI FL 33157
MIAMI-DADE COUNTY DERM PERMIT RENEWAL   PO BOX 947532 ATLANTA GA 30394
MIAS LOGISTICS INC                      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
MIAS MOBILE TRUCK REPAIRS & TOWING      DBA SAFETY FIRST, PO BOX 446 IMPERIAL CA 92251
MIAS MOBILE TRUCK REPAIRS & TOWING      PO BOX 446 IMPERIAL CA 92251
MICA L BEALE                            ADDRESS ON FILE
MICCICHE, CHRISTOPHER                   ADDRESS ON FILE
MICCICHE, DAVID                         ADDRESS ON FILE
MICCICHE, DYLAN                         ADDRESS ON FILE
MICCICHE, MAYRA                         ADDRESS ON FILE
MICHAEL & SON SERVICES                  4001 ATLANTIC AVE. RALEIGH NC 27604
MICHAEL A CLARK TRUCKING INC            PO BOX 27043 SALT LAKE CITY UT 84127
MICHAEL A DIXON                         ADDRESS ON FILE
MICHAEL A ECKERMAN                      ADDRESS ON FILE
MICHAEL A ERVIN                         ADDRESS ON FILE
MICHAEL A HERRICK                       ADDRESS ON FILE
MICHAEL A HOWARD                        ADDRESS ON FILE
MICHAEL A KUHN                          ADDRESS ON FILE
MICHAEL A MERCHANT                      ADDRESS ON FILE
MICHAEL A MILLS                         ADDRESS ON FILE
MICHAEL A ROBBINS                       ADDRESS ON FILE
MICHAEL A ROSS                          ADDRESS ON FILE
MICHAEL A SHULER JR                     ADDRESS ON FILE
MICHAEL A YOVANNO                       ADDRESS ON FILE
MICHAEL ALLEN                           ADDRESS ON FILE
MICHAEL ANGELOS BAKERY                  8035 BROADVIEW ROAD BROADVIEW HEIGHTS OH 44147
MICHAEL ANTHONY SHULER JR               ADDRESS ON FILE
MICHAEL ARNOLD                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1267 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1276 of 2156

Claim Name                          Address Information
MICHAEL B ANDERSON                  ADDRESS ON FILE
MICHAEL B CALDWELL                  ADDRESS ON FILE
MICHAEL B FOSTER                    ADDRESS ON FILE
MICHAEL BARNES                      ADDRESS ON FILE
MICHAEL BIGG JR INC                 PO BOX 181 VAILS GATE NY 12584
MICHAEL C BOOK                      ADDRESS ON FILE
MICHAEL C MCDONALD                  ADDRESS ON FILE
MICHAEL C NOVACHEK                  ADDRESS ON FILE
MICHAEL C SANCHEZ                   ADDRESS ON FILE
MICHAEL C SKLADANY                  ADDRESS ON FILE
MICHAEL CLINE                       ADDRESS ON FILE
MICHAEL D BANKS                     ADDRESS ON FILE
MICHAEL D BEST                      ADDRESS ON FILE
MICHAEL D GLAPION                   ADDRESS ON FILE
MICHAEL D GURLEY                    ADDRESS ON FILE
MICHAEL D KING                      ADDRESS ON FILE
MICHAEL D LINDSEY                   ADDRESS ON FILE
MICHAEL D MCNUTT                    ADDRESS ON FILE
MICHAEL D NESS                      ADDRESS ON FILE
MICHAEL D WHEELAND                  ADDRESS ON FILE
MICHAEL DAVID WADDELL               ADDRESS ON FILE
MICHAEL DOBRES                      ADDRESS ON FILE
MICHAEL DOCKERY                     DBA PINNACLE VIEW HERBALS, 46 SHARON ST BROCKTON MA 02302
MICHAEL DZURA - CL                  ADDRESS ON FILE
MICHAEL E COONE                     ADDRESS ON FILE
MICHAEL E GLEASON                   ADDRESS ON FILE
MICHAEL E JONES                     ADDRESS ON FILE
MICHAEL E SNICKLES                  ADDRESS ON FILE
MICHAEL E TOLLISON                  ADDRESS ON FILE
MICHAEL F BADYRKA                   ADDRESS ON FILE
MICHAEL G ADAMS                     ADDRESS ON FILE
MICHAEL G FLANAGAN                  ADDRESS ON FILE
MICHAEL G GUARINO                   ADDRESS ON FILE
MICHAEL G SMART                     ADDRESS ON FILE
MICHAEL G TEACHEY                   ADDRESS ON FILE
MICHAEL G TOBOLIC                   ADDRESS ON FILE
MICHAEL H ALBINIAK                  ADDRESS ON FILE
MICHAEL H ENGELSMAN                 ADDRESS ON FILE
MICHAEL H KEENE JR                  ADDRESS ON FILE
MICHAEL ICKES                       ADDRESS ON FILE
MICHAEL IWASZEWSKI                  ADDRESS ON FILE
MICHAEL J BERTRAM                   ADDRESS ON FILE
MICHAEL J CHARLES                   ADDRESS ON FILE
MICHAEL J ERNST                     ADDRESS ON FILE
MICHAEL J FOX                       ADDRESS ON FILE
MICHAEL J GILLESPIE                 ADDRESS ON FILE
MICHAEL J HENDERSON                 ADDRESS ON FILE
MICHAEL J JONES                     ADDRESS ON FILE
MICHAEL J KNEELAND                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1268 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1277 of 2156

Claim Name                           Address Information
MICHAEL J KOWAL                      ADDRESS ON FILE
MICHAEL J KOZYKOWSKI                 ADDRESS ON FILE
MICHAEL J WILLIAMS                   ADDRESS ON FILE
MICHAEL J WOJTYLKO                   ADDRESS ON FILE
MICHAEL JACKSON                      ADDRESS ON FILE
MICHAEL JOHN GONZALES                ADDRESS ON FILE
MICHAEL JOSEPH CRAWFORD              ADDRESS ON FILE
MICHAEL K APPELMAN                   ADDRESS ON FILE
MICHAEL K WATKINS                    ADDRESS ON FILE
MICHAEL KACZMAREK                    ADDRESS ON FILE
MICHAEL L HOLBROOK                   ADDRESS ON FILE
MICHAEL L MINOR                      ADDRESS ON FILE
MICHAEL L SMITH                      ADDRESS ON FILE
MICHAEL L THURMAN                    ADDRESS ON FILE
MICHAEL L VANNATTA                   ADDRESS ON FILE
MICHAEL LAMOORE                      ADDRESS ON FILE
MICHAEL LANGAN, TREASURER            ADDRESS ON FILE
MICHAEL LAZO                         ADDRESS ON FILE
MICHAEL LEONARD                      ADDRESS ON FILE
MICHAEL LITTLE                       ADDRESS ON FILE
MICHAEL LOONEY TRUCKING, LLC         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MICHAEL M BAINES                     ADDRESS ON FILE
MICHAEL MAJOR                        ADDRESS ON FILE
MICHAEL MALONEY                      ADDRESS ON FILE
MICHAEL MATSON                       ADDRESS ON FILE
MICHAEL MAYES                        ADDRESS ON FILE
MICHAEL MCLEAN                       ADDRESS ON FILE
MICHAEL MENDOZA                      ADDRESS ON FILE
MICHAEL MIGUEL                       ADDRESS ON FILE
MICHAEL MURPHY.                      ADDRESS ON FILE
MICHAEL N MARCHETTI                  ADDRESS ON FILE
MICHAEL NEWSTEAD                     ADDRESS ON FILE
MICHAEL ODEYS TRUCKING               OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
MICHAEL PAUL UNDERKOFFLER            ADDRESS ON FILE
MICHAEL PITT                         ADDRESS ON FILE
MICHAEL PLECZEN                      ADDRESS ON FILE
MICHAEL R ANZALDUA                   ADDRESS ON FILE
MICHAEL R BORREGO                    ADDRESS ON FILE
MICHAEL R BROWN                      ADDRESS ON FILE
MICHAEL R FRYER                      ADDRESS ON FILE
MICHAEL R GORDON                     ADDRESS ON FILE
MICHAEL R HARPER                     ADDRESS ON FILE
MICHAEL R NICHOLES                   ADDRESS ON FILE
MICHAEL R SANBORN                    ADDRESS ON FILE
MICHAEL R. CASE                      ADDRESS ON FILE
MICHAEL REIBSANE                     ADDRESS ON FILE
MICHAEL ROUSSEAU                     ADDRESS ON FILE
MICHAEL ROUSSEAU                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1269 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1278 of 2156

Claim Name                            Address Information
MICHAEL S JOHNSON                     ADDRESS ON FILE
MICHAEL S NOLAN                       ADDRESS ON FILE
MICHAEL S STONE                       ADDRESS ON FILE
MICHAEL SAHR LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MICHAEL SITAL                         ADDRESS ON FILE
MICHAEL SMITH                         ADDRESS ON FILE
MICHAEL SPARKS                        ADDRESS ON FILE
MICHAEL T BAUTH                       ADDRESS ON FILE
MICHAEL T FASSETT                     ADDRESS ON FILE
MICHAEL T GROW                        ADDRESS ON FILE
MICHAEL T KENNELL                     ADDRESS ON FILE
MICHAEL T STONE                       ADDRESS ON FILE
MICHAEL TINHONG WONG                  ADDRESS ON FILE
MICHAEL TRANSPORT LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MICHAEL TRANSPORTATION LLC            18467 E AMHERST DR AURORA CO 80013
MICHAEL TRANSPORTATION SERVICES LLC   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MICHAEL TRUCKING LLC                  OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
MICHAEL VARFOLOMEIEFF                 ADDRESS ON FILE
MICHAEL W HERRING                     ADDRESS ON FILE
MICHAEL W POWELL                      ADDRESS ON FILE
MICHAEL W ROLLANS                     ADDRESS ON FILE
MICHAEL W ROLLANS                     ADDRESS ON FILE
MICHAEL W STORY                       ADDRESS ON FILE
MICHAEL W STORY                       ADDRESS ON FILE
MICHAEL WILLAMS                       ADDRESS ON FILE
MICHAEL, CHRISTOPHER                  ADDRESS ON FILE
MICHAEL, DANIEL                       ADDRESS ON FILE
MICHAEL, KIMBERLY                     ADDRESS ON FILE
MICHAEL, SAMUEL                       ADDRESS ON FILE
MICHAELA A OLNEY                      ADDRESS ON FILE
MICHAELS, CHARLES                     ADDRESS ON FILE
MICHAELS, SPENCER B                   ADDRESS ON FILE
MICHAELS, TIMOTHY                     ADDRESS ON FILE
MICHAELS, TIMOTHY                     ADDRESS ON FILE
MICHALAK, VICKIE                      ADDRESS ON FILE
MICHALETZ TRUCKING,INC.               750 32ND AVENUE NW OWATONNA MN 55060
MICHALSKI, BRETT                      ADDRESS ON FILE
MICHALSKI, DAVID                      ADDRESS ON FILE
MICHALSKI, JOHN                       ADDRESS ON FILE
MICHALSKI, KAYLA                      ADDRESS ON FILE
MICHALSKI, STEVEN                     ADDRESS ON FILE
MICHANOS, CHRISSAIDO                  ADDRESS ON FILE
MICHAUD TRUCKING INCORPORATED         MICHAUD TRUCKING INCORPORATED 808 S VAN BUREN KINGSFORD MI 49802
MICHAUD, JAMES D                      ADDRESS ON FILE
MICHAUX TRUCKING EXPRESS LLC          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MICHEAL A LEWIS JR                    ADDRESS ON FILE
MICHEAL E MCINNIS                     ADDRESS ON FILE
MICHEAL S RIDGE                       ADDRESS ON FILE
MICHEAU, JUSTIN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1270 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1279 of 2156

Claim Name                             Address Information
MICHEL A CLEMENT JR                    ADDRESS ON FILE
MICHEL, ANDREW                         ADDRESS ON FILE
MICHEL, INC                            PO BOX 1140 BRIDGEPORT WV 26330
MICHEL, MICHELSON                      ADDRESS ON FILE
MICHEL, REGINALD                       ADDRESS ON FILE
MICHEL, REGINALD                       ADDRESS ON FILE
MICHELANGELO MOULDING                  1400 46TH AVE LACHINE QC H8T 3R3 CANADA
MICHELBRINK, CATHERINE                 ADDRESS ON FILE
MICHELE K GOODIN                       ADDRESS ON FILE
MICHELE KLASSEN                        ADDRESS ON FILE
MICHELE MCKENNA                        ADDRESS ON FILE
MICHELE P LACHIUSA                     ADDRESS ON FILE
MICHELI, MIHAILA                       ADDRESS ON FILE
MICHELIN NORTH AMERICA (CANADA) INC.   PO BOX 11291 MONTREAL QC H3C 5G9 CANADA
MICHELIN NORTH AMERICA (CANADA) INC.   ATTN: M81725C, PO BOX 11725 SUCCURSALE CENTRE-VILLE MONTREAL QC H3C 6P4 CANADA
MICHELIN NORTH AMERICA (CANADA) INC.   ATTN:M817250 P.O.BOX 11725 SUCCURSALE CENTRE- VILLE MONTREAL QC H3C 6P4 CANADA
MICHELIN NORTH AMERICA (CANADA) INC.   PO BOX 11725 MONTREAL QC H5C 6P4 CANADA
MICHELIN NORTH AMERICA INC             ALEXIS GARCIN, PRESIDENT AND CEO 1 PARKWAY S GREENVILLE SC 29615
MICHELIN NORTH AMERICA INC             PO BOX 100860 ATLANTA GA 30384
MICHELIN NORTH AMERICA INC             12398 COLLECTIONS CENTER DR CHICAGO IL 60693
MICHELLE A RIBBLE                      ADDRESS ON FILE
MICHELLE A TAGUE                       ADDRESS ON FILE
MICHELLE F OSTERBERG                   ADDRESS ON FILE
MICHELLE HOLIDAY                       ADDRESS ON FILE
MICHELLE RIDLEY                        ADDRESS ON FILE
MICHELLE THOMAS                        ADDRESS ON FILE
MICHELLE TRUCKING LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MICHELS CORPORATION                    PO BOX 95 BROWNSVILLE WI 53006-0095
MICHELS, DARRELL                       ADDRESS ON FILE
MICHELS, NICHOLAS                      ADDRESS ON FILE
MICHELSON, WARREN                      ADDRESS ON FILE
MICHIANA RENTALS                       3003 S. 11TH ST. NILES MI 49120
MICHIGAN CAT                           DEPT. 77576, PO BOX 77000 DETROIT MI 48277-0576
MICHIGAN CAT                           ATTN: KRYSTYN BROWN 24800 NOVI ROAD NOVI MI 48375
MICHIGAN CONFERENCE OF                 TEAMSTERS WELFARE FUND 2700 TRUMBULL AVE DETROIT MI 48216
MICHIGAN CONFERENCE OF TEAMSTERS       KYLE STALLMAN, EXECUTIVE DIRECTOR 2700 TRUMBULL AVENUE DETROIT MI 48216
MICHIGAN CONFERENCE OF TEAMSTERS       PO BOX 331033 DETROIT MI 48232
MICHIGAN CONFERENCE OF TEAMSTERS       TEAMSTERS, PO BOX 331033A DETROIT MI 48232
MICHIGAN DEPARTMENT OF TREASURY        SALES AND USE TAX, PO BOX 30324 LANSING MI 48909
MICHIGAN KENWORTH LLC                  PO BOX 689706 CHICAGO IL 60695
MICHIGAN KENWORTH LLC                  PO BOX 681143 CHICAGO IL 60695-2143
MICHIGAN OFFICE SOLUTIONS              DBA INTEGRITY ONE TECHNOLOGIES PO BOX 936719 ATLANTA GA 31193
MICHIGAN PROCUREMENTS LLC              OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
MICHIGAN TRUCKING ASSOCIATION          1131 CENTENNIAL WAY LANSING MI 48917
MICHNAL, DAVID                         ADDRESS ON FILE
MICHUA-HOWE, JESUS                     ADDRESS ON FILE
MICK, HUNTER                           ADDRESS ON FILE
MICKEL, TREVOR                         ADDRESS ON FILE
MICKELS, KAMERON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1271 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1280 of 2156

Claim Name                              Address Information
MICKENS, CHARLES                        ADDRESS ON FILE
MICKENS, JERMAIN                        ADDRESS ON FILE
MICKENS, MARVIN                         ADDRESS ON FILE
MICKEY LANGSTON                         ADDRESS ON FILE
MICKLES, JAMES                          ADDRESS ON FILE
MICKLES, KLARISSA                       ADDRESS ON FILE
MICM TRANSPORT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MICRO CENTER                            PO BOX 848 HILLIARD OH 43026
MICRO FOCUS                             ATTN: GENERAL COUNSEL 2440 SAND HILL ROAD SUITE 302 MENLO PARK CA 94025
MICRO TEL                               3700 HOLCOMB BRIDGE RD SUITE 5 PEACHTREE CORNERS GA 30092
MICROBIOLOGICS                          ATTN: JOSH KACURES 200 COOPER AVE N ST CLOUD MN 56303
MICROSOFT CORPORATION                   C/O BANK OF AMERICA 1950 N STEMMONS FWY STE 5010 LB 842467 DALLAS TX 75207
MICROSOFT CORPORATION                   MICROSOFT CORPORATION C/O BANK OF AMERICA LOCKBOX 844510 1950 NORTH STEMMONS
                                        FWY, SUITE 5010 DALLAS TX 75207
MICROSOFT CORPORATION                   PO BOX 844510 BANK OF AMERICA DALLAS TX 75284
MICROSOFT LICENSING GROUP               C/O BANK OF AMERICA LB 842467 1950 N STEMMONS FWY STE 5010 DALLAS TX 75207
MICROSTAR LOGISTICS                     2401 15TH ST STE 200 DENVER CO 80202
MID ATLANTIC ENTRY SYSTEMS INC          8450 OLD RICHFOOD RD, DCJS 11-2887 MECHANICSVILLE VA 23116
MID ATLANTIC INDUSTRIAL EQUIPMENT LTD   1231 E WALLACE ST YORK PA 17403
MID ATLANTIC INDUSTRIAL EQUIPMENT LTD   PO BOX 70871 PHILADELPHIA PA 19176
MID ATLANTIC INDUSTRIAL EQUIPMENT LTD   PO BOX 6288 HERMITAGE PA 16148
MID ATLANTIC REALTY MANAGEMENT INC      DOMINIC RANDLE 0721-2010, PO BOX 193 COCKEYSVILLE MD 21030
MID ATLANTIC TRUCK CENTER, INC.         525 LINDEN AVENUE WEST LINDEN NJ 07036
MID ATLANTIC TRUCK CENTER, INC.         525 W. LINDEN AVE LINDEN NJ 07036
MID CITY EXPRESS                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MID COAST TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MID COLUMBIA FORKLIFT, INC.             PO BOX 9667 YAKIMA WA 98909
MID COLUMBIA FORKLIFT, INC.             2605 NORTH COMMERCIAL PASCO WA 99301
MID CONTINENT STEEL & WIRE, INC.        PO BOX 841355 DALLAS TX 75284
MID CONTINENT VAN SERVICE, INC.         148 MILLWELL MARYLAND HEIGHTS MO 63043
MID DAKOTA CLINIC, P.C.                 401 N 9TH ST BISMARCK ND 58501
MID DAKOTA CLINIC, P.C.                 PO BOX 5538 BISMARCK ND 58506
MID DAKOTA WHEEL ALIGNMENT              & FRAME SERVICE INC, 3650 GLOBAL DR BISMARCK ND 58501
MID GROUP LOGISTICS INC                 OR PRO FUNDING, PO BOX 1000 DEPT 3045 MEMPHIS TN 38148
MID GROUP TRANSPORTATION INC            OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
MID LOGISTICS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MID MISSOURI ELECTRIC                   1917 PARIS ROAD COLUMBIA MO 65201
MID NORTH TRANSPORT LTD                 BOX 117 OSLER SK S0K 3A0 CANADA
MID OHIO FORKLIFTS INC                  1336 HOME AVE AKRON OH 44310
MID OHIO TRUCKING LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MID SOUTH TOWING LLC                    17712 US HWY 64 E SOMERVILLE TN 38068
MID SOUTH TRANSPORT, INC.               P O BOX 16013 MEMPHIS TN 38186
MID SOUTH TRANSPORTATION LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MID SOUTH TRANSPORTATION, LLC           PO BOX 4343 TUPELO MS 38803
MID STAR EXPRESS                        4524 WIMBERLY RD TOXEY AL 36921
MID STATE                               1101 GAHANNA PARKWAY COLUMBUS OH 43230
MID STATE CONSTRUCTION                  260 BRUSH MOUNTAIN RD ALTOONA PA 16601
MID STATE TRAILER REPAIR, INC.          575 MCCARTHY DR LEWISBERRY PA 17339
MID STATE TRUCKING LLC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316



Epiq Corporate Restructuring, LLC                                                                  Page 1272 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1281 of 2156

Claim Name                               Address Information
MID STATES SUPPLY                        1415 GUINOTTE AVE. KANSAS CITY MO 64120
MID STATES TRUCK & TRAILER REPAIR        127 BYASSEE DRIVE HAZELWOOD MO 63042
MID TENN DIESEL REPAIR LLC               2205 CENTER POINT ROAD HENDERSONVILLE TN 37075
MID TRANSPORT LLC                        PO BOX 100112 NASHVILLE TN 37224
MID VALLEY DISPOSAL                      PO BOX 12146 FRESNO CA 93776
MID VALLEY DISPOSAL                      MID VALLEY RO RECYCLING & TRANSFER STATION PO BOX 12385 FRESNO CA 93777
MID VALLEY DISPOSAL                      MVD FRESNO RECYCLING & TRANSFER STATION PO BOX 12146 FRESNO CA 93777
MID VALLEY STRUCTURES INC                5152 E PICKARD MOUNT PLEASANT MI 48858
MID-AMERICAN CONSTRUCTORS LLC            JARRETT R. MINCH, AGENT 4202 PINGREE ROAD HOWELL MI 48843
MID-AMERICAN CONSTRUCTORS LLC            PO BOX 496 HOWELL MI 48843
MID-ATLANTIC PPS GROUP LLC               3000 BETHESDA PLACE STE 403 WINSTON-SALEM NC 27103
MID-CANADA FREIGHT LTD                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MID-CENTRAL XPRESS INC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MID-CITY ELECTRIC                        937 EASTWIND DRIVE WESTERVILLE OH 43081
MID-CON CARRIERS CORP.                   9600 S SUNNYLANE ROAD OKLAHOMA CITY OK 73160
MID-IOWA TOWING                          109 EAST 28TH STREET DES MOINES IA 50317
MID-JERSEY TRUCKING INDUSTRY AND         LOCAL 701 WELFARE FUND 2003 US ROUTE 130 SUITE A NORTH BRUNSWICK NJ 08902
MID-JERSEY TRUCKING INDUSTRY AND LOCAL   701 PENSION AND ANNUITY FUND, 2003 US ROUTE 130 SUITE A NORTH BRUNSWICK NJ
                                         08902
MID-OHIO MATERIAL HANDLING INC           1040 INDUSTRIAL PARKWAY BRUNSWICK OH 44212
MID-SOUTH DOOR                           PO BOX 36 OLIVE BRANCH MS 38654
MID-SOUTH HYDRAULICS &                   EQUIPMENT REPAIR 1053 DR ML KING JR. AVE MEMPHIS TN 38104
MID-STATE INDUSTRIAL SERVICE, INC.       88696 MCVAY HWY. EUGENE OR 97405
MID-STATE INTERNATIONAL TRUCKS           2100 E 29TH ST, PO BOX 1150 MARSHFIELD WI 54449
WISCONSIN
MID-STATE INTERNATIONAL TRUCKS           PO BOX 550 MARSHFIELD WI 54449
WISCONSIN
MID-STATE TRUCK SERVICE INC.             C\O IDEALEASE OF CENTRAL WISCONSIN PO BOX 753 MARSHFIELD WI 54449
MID-STATE TRUCK SERVICE INC.             PO BOX 1150 MARSHFIELD WI 54449
MID-STATES UTILITY TRAILER SALES INC     5700 NORTH SEUBERT AVE. SIOUX FALLS SD 57104
MID-STATES UTILITY TRAILER SALES INC     4550 S 96TH ST OMAHA NE 68127
MID-TENN EXPRESS INC                     1629 EDEN ROSE PL NOLENSVILLE TN 37135
MIDAMERICAN ENERGY CO                    P.O. BOX 657 DES MOINES IA 50306-0657
MIDAMERICAN ENERGY SERVICES              320 LECLAIRE P.O. BOX 4290 DAVENPORT IA 52808-4290
MIDAS CONVENTION SERVICES                539 W ROSECRANS AVE GARDENA CA 90248
MIDAS SOLUTIONS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDDLE BAY TRANSPORTATION                PO BOX 745020 ATLANTA GA 30374
MIDDLE CREEK GARAGE INC                  3949 NATIONAL RD TRIADELPHIA WV 26059
MIDDLE MILE LOGISTICS L L C              OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MIDDLE MINN                              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDDLE SIS INC                           ATTN: NICOLE CAPORUSSO 303 MERRICK RD STE 510 LYNBROOK NY 11563
MIDDLEBROOK, DERRICK                     ADDRESS ON FILE
MIDDLEBROOKS, LORENZO                    ADDRESS ON FILE
MIDDLEBURG YARN ECHO                     ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
MIDDLEBY WORLDWIDE SA DE CV              ATTN: MIDDLEBY WORLDWIDE SA DE C.V. AUT. MEX-QRO KM 26 5 LOMAS BLVARES
                                         TLALNEPANTLA 54020 MEXICO
MIDDLEBY WORLDWIDE SA DE CV              AUT. MEX-QRO KM 26 5 LOMAS BLVARES TLALNEPANTLA 54020 MEXICO
MIDDLESEX GASES & TECHNOLOGIES, INC.     TECHNOLOGIES, PO BOX 490249 EVERETT MA 02149
MIDDLESEX TOWNSHIP COLLECTOR-CUMBERLAND 152 FIELDSTONE DRIVE CARLISLE PA 17013
MIDDLESEX TOWNSHIP MUNIE AUTH            350 N MIDDLESEX RD 2 CARLISLE PA 17013


Epiq Corporate Restructuring, LLC                                                                   Page 1273 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1282 of 2156

Claim Name                             Address Information
MIDDLETON POWER CENTER                 3230 PARMENTER ST MIDDLETON WI 53562
MIDDLETON, ANGELA                      ADDRESS ON FILE
MIDDLETON, DEMETRIUS                   ADDRESS ON FILE
MIDDLETON, GERALD                      ADDRESS ON FILE
MIDDLETON, ISIAH                       ADDRESS ON FILE
MIDDLETON, MICHAEL                     ADDRESS ON FILE
MIDDLETONS TRUCKING                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDDLETOWN & NEW JERSEY RAILROAD LLC   C/O REL TEK OPS GROUP 6 TERRI LANE SUITE 300 BURLINGTON NJ 08016
MIDDLETOWN MEDICAL, P.C.               111 MALTESE DR MIDDLETOWN NY 10940
MIDDLEWEST MOTOR FREIGHT BUREAU        4218 ROANOKE RD STE 200 KANSAS CITY MO 64111
MIDEAST CARRIER LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDGETTE, BRYAN                        ADDRESS ON FILE
MIDI TRANSPORT INC                     OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
MIDKIFF, SAMANTHA                      ADDRESS ON FILE
MIDLAND EXPRESS LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MIDLAND EXPRESS LLC                    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
MIDLAND EXPRESS LLC (MC1209488)        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MIDLAND FENCE COMPANY                  6000 N SAGINAW RD MIDLAND MI 48642
MIDLAND FREIGHT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIDLAND FUNDING LLC                    CARTER CC2017074233RC 2365 NORTHSIDE DR SUITE 300 SAN DIEGO CA 92108
MIDLAND LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDLAND MECHANICAL                     PO BOX 20224 BILLINGS MT 59104
MIDLAND PAPER COMPANY                  1140 PAYSPHERE CIRCLE CHICAGO IL 60674
MIDLAND SCIENTIFIC                     2805 RESEARCH PKWY. SUITE 100 DAVENPORT IA 52806
MIDLAND TRANSPORT LLC (GARFIELD NJ)    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MIDLANDER PREMIUM BOAT HOISTS          6016 N MERIDIAN RD HOPE MI 48628
MIDLINK LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MIDNIGHT CARGO EXPRESS LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MIDNIGHT CARGO EXPRESS LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MIDNIGHT EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIDNIGHT SUN TRANSPORTATION SERVICES   PO BOX 878 AUBURN WA 98001
INC
MIDNIGHT TRANSPORT CORP                OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MIDNIGHT XPRESS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MIDSOUTH PROFESSIONAL CLEANING         8520 MEADOW VALE DR. MEMPHIS TN 38125
MIDSTATE FIRE EXTINGUISHER CO          3241 N MARKS 105 FRESNO CA 93722
MIDSTATE LLC                           PO BOX 15432 LITTLE ROCK AR 72231
MIDSTATE OVERHEAD DOORS, INC           PO BOX 3517 DECATUR IL 62524
MIDSTATE OVERHEAD DOORS, INC           PO BOX 3517 DECATUR IL 62524-3517
MIDTOWN FREIGHT INC                    12070 CASALINDA CT MORENO VALLEY CA 92555
MIDTOWN SEMI-TRAILER EQUIPMENT INC     12311 REECK RD SOUTHGATE MI 48195
MIDTOWN SERVICE INC                    2615 LAKESIDE AVE E CLEVELAND OH 44114
MIDWAY CAR RENTAL                      4751 WILSHIRE BLVD SUITE 120 ATTN CLAIMS LOS ANGELES CA 90010
MIDWAY EXPRESS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDWAY EXPRESS LLC (DUNCAN SC)         PO BOX 40, 0 OREGON CITY OR 97045
MIDWAY FORD TRUCK CENTER, INC.         PO BOX 12656 KANSAS CITY MO 64116
MIDWAY FREIGHT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDWAY FREIGHTLINER INC                PO BOX 34754 KANSAS CITY MO 64116
MIDWAY OCEAN AGENCIES                  825 FRELINGHUYSEN AVE NEWARK NJ 07114



Epiq Corporate Restructuring, LLC                                                                 Page 1274 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1283 of 2156

Claim Name                               Address Information
MIDWAY TRUCKLINE LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIDWAY USA COLLISION CENTER              3420 GARDNER AVE KANSAS CITY MO 64120
MIDWEST ALARM SERVICES                   PO BOX 4511 DAVENPORT IA 52808-4511
MIDWEST AUTOMATIC FIRE SPRINKLER CO INC 2001 DEWOLF ST DES MOINES IA 50316
MIDWEST AUTOMATIC FIRE SPRINKLER CO INC 1823 RACCOON ST DES MOINES IA 50317
MIDWEST BINDING SYSTEMS                  11700 W 91ST STREET OVERLAND PARK KS 66214
MIDWEST CARGO LINES INC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MIDWEST CARRIERS                         PO BOX 107 KAUKAUNA WI 54130
MIDWEST CARRIERS TRUCKING LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MIDWEST CRANE SERVICE LLC                4230 S 57TH ST ATTN MARK RASMUSSEN OMAHA NE 68117
MIDWEST CUSTOM INSTALLATION LLC          5515 NW PLATTE PURCHASE DR KANSAS CITY MO 64151
MIDWEST DIESEL SERVICE INC               3041 82ND LANE NE BLAINE MN 55449
MIDWEST DIESEL TUNING, LLC               10601 WOOD GATE DR DUBUQUE IA 52003
MIDWEST DIRECT TRANSPORT                 411 64TH AVENUE COOPERSVILLE MI 49404
MIDWEST DOCK SOLUTIONS, INC.             27 E. 36TH PLACE STEGER IL 60475
MIDWEST DOCK SOLUTIONS, INC.             P.O. BOX 363 STEGER IL 60475
MIDWEST DUCT CLEANING SERVICES           9111 W 51ST TERRACE MERRIAM KS 66203
MIDWEST EXPEDITED CO                     OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
MIDWEST EXPRESS                          4931 WIND CREEK DR SACRAMENTO CA 95838
MIDWEST EXPRESS CORPORATION              9220 MARSHALL DRIVE LENEXA KS 66215
MIDWEST EXPRESS INC                      P.O. BOX 1897 HIGHLAND IN 46322
MIDWEST EXPRESS INC (MC984410)           OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
MIDWEST EXPRESS LLC                      3627 FOREST DALE DRIVE ST LOUIS MO 63125
MIDWEST EXPRESS LLC (MC1087355)          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MIDWEST EXPRESS, LLC                     MIDWEST EXPRESS, LLC, PO BOX 95189 CHICAGO IL 60694-5189
MIDWEST FASTENER CORPORATION             9031 SHAVER RD PORTAGE MI 49024
MIDWEST FASTENERS C/O ECHO               ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
MIDWEST FLEET SERVICE INC                D/B/A: MIDWEST FLEET SERVICE INC - IL PO BOX 850 WEST CHESTER OH 45071
MIDWEST FLEET SERVICE INC                35044 ZILM ROAD LAKEWOOD SHORES IL 60481
MIDWEST FLEET SERVICE INC - IL           PO BOX 850 WEST CHESTER OH 45071
MIDWEST FLEET SERVICES                   PO BOX 850 WEST CHESTER OH 45071
MIDWEST FLEET TRANSPORTATION             D/B/A: MIDWEST FLEET SERVICES PO BOX 850 WEST CHESTER OH 45071
MIDWEST FREIGHT EXPRESS, INC             796 FAIRWAY DRIVE BENSENVILLE IL 60106
MIDWEST FREIGHT EXPRESS, INC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MIDWEST FREIGHT SERVICE CORP             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIDWEST FREIGHT SYSTEMS CORP             21900 HOOVER ROAD, 21900 HOOVER ROAD WARREN MI 48089
MIDWEST GARAGE DOORS                     PO BOX 116 LAKEFIELD MN 56150
MIDWEST INDUSTRIAL EQUIPMENT, INC.       PO BOX 1869 PIQUA OH 45356
MIDWEST INDUSTRIAL SALES INC             ATTN: TABITHA 423 INDUSTRY AVE GARDNER IL 60424
MIDWEST INSPECTION SERVICE               3240 N GORDON PL MILWAUKEE WI 53212
MIDWEST LOGISTICS SERVICES               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MIDWEST OCCUPATIONAL HEALTH ASSOCIATES   775 ENGINEERING DRIVE SPRINGFIELD IL 62703
MIDWEST OCCUPATIONAL HEALTH ASSOCIATES   PO BOX 19217 SPRINGFIELD IL 62794
MIDWEST OVERHEAD DOOR                    PO BOX 1517 FOND DU LAC WI 54936
MIDWEST PLATING                          613 NORTH AVE. NE GRAND RAPIDS MI 49503
MIDWEST PUMP & METER CO INC              2000 S. BROADWAY SAINT LOUIS MO 63104
MIDWEST RADIATOR                         3106 TRUMAN RD. KANSAS CITY MO 64127
MIDWEST SERVICE ENTERPRISE INC           3900 PAYSON RD QUINCY IL 62305
MIDWEST SHIPPING INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076



Epiq Corporate Restructuring, LLC                                                                   Page 1275 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1284 of 2156

Claim Name                           Address Information
MIDWEST SHREDDING SERVICE, L.L.C.    501 N ATLANTIC AVENUE KANSAS CITY MO 64116
MIDWEST STAR GROUP INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MIDWEST TERMINAL                     PO BOX 552 LEWISBURG OH 45338
MIDWEST TERMINAL                     PO BOX 959 PADUCAH KY 42002
MIDWEST TERMINAL MAINTENANCE         P.O. BOX 552 LEWISBURG OH 45338
MIDWEST TRANS LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MIDWEST TRANSIT AUTHORITY LLC        4410 CROSSBOW CT W LAFAYETTE IN 47906-7116
MIDWEST TRANSPORTATION GROUP INC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIDWEST TRANZ INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MIDWEST TRUCK PARTS & SERVICE        5075 COOK ST DENVER CO 80216
MIDWEST TRUCK SALES & SERVICE INC    3120 NASH RD SCOTT CITY MO 63780
MIDWEST TRUCKING SERVICE INC         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MIDWEST TRUCKING SERVICES, LLC       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MIDWEST TRUST CO TRUSTEE             507 CANYON BLVD 100 BOULDER CO 80302
MIDWEST TRUST LOGISTICS LLC          PO BOX 28437 COLUMBUS OH 43228
MIDWEST VETERINARY SUPPLY            5374 MALY RD SUN PRAIRIE WI 53590
MIDWEST WHEEL COMPANIES, INC.        PO BOX 1461 DES MOINES IA 50305
MIDWEST WHEEL COMPANIES, INC.        PO BOX 1461 DES MOINES IA 50306
MIDWEST XPRESS INC.                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MIDWESTERN MECHANICAL                ATTN: JARED HARRISON 3905 4TH AVE W SPENCER IA 51301
MIDWESTERN PET FOODS, INC            9634 HEDDEN RD EVANSVILLE IN 47725
MIEL EXPRESS LLC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIELE, ANTHONY                       ADDRESS ON FILE
MIELKE, DAVID                        ADDRESS ON FILE
MIELNICKI, SCOTT                     ADDRESS ON FILE
MIELO, MICHAEL                       ADDRESS ON FILE
MIELOCH, DAVID                       ADDRESS ON FILE
MIESOWITZ, DON                       ADDRESS ON FILE
MIG TRANSPORTATION INC               OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                     60197-4539
MIGGINS, JONATHAN                    ADDRESS ON FILE
MIGHTY DUCKS HAULING LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MIGHTY DUCTS INC                     26285 BROADWAY AVE BEDFORD OH 44146
MIGHTY HANDS TRANSPORTATION LLC      OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
MIGHTY MOOSE TRANSPORTERS LLC        OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
MIGHTY TRANSPORTATION                OR ITRHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MIGLANI TRUCKING INC                 1 LENA DR AMERICAN CANYON CA 94503
MIGLICIO, SCOTT                      ADDRESS ON FILE
MIGNEREY, JAY                        ADDRESS ON FILE
MIGOSI LLC                           OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MIGUEL A BOJORQUEZ                   ADDRESS ON FILE
MIGUEL A COBOS                       ADDRESS ON FILE
MIGUEL A FLORES                      ADDRESS ON FILE
MIGUEL A FONSECA                     ADDRESS ON FILE
MIGUEL A PINEDA ARTEAGA              ADDRESS ON FILE
MIGUEL LOPEZ                         ADDRESS ON FILE
MIGUEL PAMATZ TRUCKING               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MIGUT, JEROME                        ADDRESS ON FILE
MIGWAY INC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                             Page 1276 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1285 of 2156

Claim Name                              Address Information
MIH FLEET SERVICES LLC                  OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
MIHAI GOAGA                             ADDRESS ON FILE
MIHATOV, ZORAN                          ADDRESS ON FILE
MIHIR TRANSPORTATION INC.               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MIHLFELD ASSOCIATES                     PO BOX 3928 SPRINGFIELD MO 65808
MIHM BROTHERS, INC.                     2728 STATE HWY 24 FORT ATKINSON IA 52144
MIHM COMPANY                            3944 E 1000 N DECATUR IN 46733
MIITCHELL, KENNETH                      ADDRESS ON FILE
MIJEDA TRANSPORT LLC                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
MIK CARRIER LLC                         OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320
MIKA LOGISTICS INC                      PO BOX 88418 CAROL STREAM IL 60139
MIKADE DELIVERY SERVICE, INC.           4530 MOUNTAIN RD PASADENA MD 21123
MIKAELE, EDWARD                         ADDRESS ON FILE
MIKALA N PAUL                           ADDRESS ON FILE
MIKAS TRANSPORT                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MIKE & STACY WALDENBERG                 ADDRESS ON FILE
MIKE ADAMS TOWING                       & AIR CUSHION RECOVERY INC 1950 EMERY HIGHWAY MACON GA 31217
MIKE AND MATT ELSASSER TRUCKING, INC.   563 COUNTY ROAD 500E SPARLAND IL 61565
MIKE BLEWETT                            ADDRESS ON FILE
MIKE BRANN TRUCKING                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIKE D MYERS                            ADDRESS ON FILE
MIKE DARLAK SIGNS                       ADDRESS ON FILE
MIKE DOYLE LTD                          856 ILANIWAI STREET NO104 HONOLULU HI 96813
MIKE FROST TRUCKING INC                 P.O. BOX 393 VARNELL GA 30756
MIKE HANNA                              ADDRESS ON FILE
MIKE IMADA                              ADDRESS ON FILE
MIKE J MOSES                            ADDRESS ON FILE
MIKE JEFFERS TRUCKING                   161 TOOMEY FALLS RD ONEIDA TN 37841
MIKE LAMB TRUCKING, INC.                PO BOX 330 CHUCKEY TN 37641
MIKE LINDLEY TRUCKING LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA OK 73124-8920
MIKE LOGISTICS LLC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MIKE M PHIMMASONE                       ADDRESS ON FILE
MIKE M TRANSPORT CORPORATION            MIKE M TRANSPORT CORPORATION 7118 ROUTE 209 STROUDSBURG PA 18360
MIKE MILLER MITSUBISHI                  ATTN: JOY THANNERT 2007 W PIONEER PKWY PEORIA IL 61615
MIKE MOORES PLUMBING & SEPTIC           160 WANSLEY DR. SUITE B CARTERSVILLE GA 30121
MIKE MOORES PLUMBING & SEPTIC           91 CLIFF NELSON RD EUHARLEE GA 30145
MIKE MOORES PLUMBING & SEPTIC           D/B/A: MIKE MOORES PLUMBING & 91 CLIFF NELSON RD EUHARLEE GA 30145
MIKE MORPHEW                            ADDRESS ON FILE
MIKE NECESSARY EXCAVATING, INC          PO BOX 83 HEYWORTH IL 61745
MIKE NORRIS                             ADDRESS ON FILE
MIKE RASMUSEN TRUCKING                  8275 COUNTY RD 82 NELSON MN 56355
MIKE REZI NISSAN ATLANTA                2551 THE NALLEY WAY ATLANTA GA 30360
MIKE SULLIVAN TAX ASSESSOR COLLECTOR    ADDRESS ON FILE
MIKE TENNANT                            ADDRESS ON FILE
MIKE TILTON QUALITY PLUMBING&HEATING    9461 LINWOOD AVE SHREVEPORT LA 71106
LLC
MIKE TRANSPORT                          OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
MIKE TRANSPORTATION LLC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MIKE W WOJNOWSKI                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1277 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1286 of 2156

Claim Name                           Address Information
MIKE WILLIS FORD                     ATTN: ANDREA BEAUGH 930 BEGLIS PKWY. SULPHUR LA 70663-5102
MIKE WINGERTER                       ADDRESS ON FILE
MIKE-B TRUCKING EXPRESS LLC          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIKEL TRUCKING LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MIKES II TRUCKING                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MIKES MOBILE WRENCHES                5456 PEACHTREE BLVD 629 ATLANTA GA 30341
MIKES QUALITY POOL SPA REPAIR        334 URANUS CT NIPOMO CA 93444
MIKES SERVICE LTD                    3514 S ARCHER AVE CHICAGO IL 60609
MIKES TOWING                         816 LIBERTY AVE BROOKLYN NY 11208
MIKES TOWING & RECOVERY INC          643 EAST MAIN ST. BRIDGEWATER NJ 08807
MIKES TOWING & RECOVERY INC          MIKES AUTO SERVICE, 643 EAST MAIN ST. BRIDGEWATER NJ 08807
MIKES TRANSPORTATION, LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MIKES WRECKER SERVICE INC            2522 HESS AVE SAGINAW MI 48601-3985
MIKES, CHRISTOPHER                   ADDRESS ON FILE
MIKEYS TRUCKING                      OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
MIKHNOVSKY, SERGEY                   ADDRESS ON FILE
MIKKELSEN COWARD & CO LTD            1615 INKSTER BOULEVARD WINNIPEG MB R2X 1R2 CANADA
MIKLE, MARCUS                        ADDRESS ON FILE
MIKLE, SAUNDRA                       ADDRESS ON FILE
MIKMO TRANSPORT LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MIKRON HOMES AND CONSTRUCTION LTD    822 BATTEL STREET REGINA SK S4X 2H8 CANADA
MIKROPOR AMERICA                     ATTN: GORDON MCCLENDON LOGISTICS 10025 PORTER RD STE 300 LA PORTE TX 77571
MIKULAK, EMILY                       ADDRESS ON FILE
MIKULEC, THOMAS                      ADDRESS ON FILE
MIKUTIS, MICHELLE                    ADDRESS ON FILE
MIKY TRANSPORT COMPANY INC           3907 TRANSPORTATION DRIVE FORT WAYNE IN 46818
MILA, WALTER                         ADDRESS ON FILE
MILAAP TRANSPORT INC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MILAAP TRANSPORT INC                 7180 W MORRIS AVE FRESNO CA 93723
MILAM TRANSPORT LLC                  OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MILAM, REX                           ADDRESS ON FILE
MILAN EXPRESS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MILAN LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MILAN MOMIC                          ADDRESS ON FILE
MILAN SUPPLY CHAIN SOLUTIONS, INC.   MILAN SUPPLY CHAIN SOLUTIONS INC. 79 SAND PEBBLE DRIVE JACKSON TN 38305
MILANO, OLGA                         ADDRESS ON FILE
MILAS TRUCKING LLC                   508 BELLA WOODS TRL INMAN SC 29349-8320
MILBAIN, RUBEN                       ADDRESS ON FILE
MILBANK                              4720 DERAMUS KANSAS CITY MO 64120
MILBANK LLP                          COUNSEL TO APOLLO CAPITAL MANAGEMENT, LP ATTN: DENNIS F. DUNNE & MATTHEW L.
                                     BROD 55 HUDSON YARDS NEW YORK NY 10001
MILBURN, GRANT                       ADDRESS ON FILE
MILBURN, JOE                         ADDRESS ON FILE
MILBURN, RODRICK                     ADDRESS ON FILE
MILBY, DALE                          ADDRESS ON FILE
MILCA FREIGHT LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MILDA, DARLA                         ADDRESS ON FILE
MILE HIGH EXPRESS LLC                4425 W AIRPORT FRWY 142 IRVING TX 75061
MILE HIGH FENCE INC                  23212 E DORADO AVE AURORA CO 80015



Epiq Corporate Restructuring, LLC                                                               Page 1278 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1287 of 2156

Claim Name                           Address Information
MILE MARKER TRANSPORTATION LLC       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MILE TRANSPORT LLC                   521 BAHMA CIRCLE V ELM CITY NC 27822
MILE TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MILEM, CHRISTOPHER                   ADDRESS ON FILE
MILENIA TRANSPORTS LLC               OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MILENKO MIHIC                        ADDRESS ON FILE
MILENKOVIC, MARKO                    ADDRESS ON FILE
MILER TRANSPORT SERVICES             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MILER XPRESS INC                     OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL, PO BOX 741791 LOS
                                     ANGELES CA 90074
MILERUN TRUCKING LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MILES AHEAD TRUCKING LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MILES AND SMILES TRANSPORT LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MILES FREIGHT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MILES MASTER INC                     100 E MAIN ST STE 204 SEVIERVILLE TN 37862-3588
MILES MASTER INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MILES TRUCK SERVICES                 3301 MAGNUM DRIVE ELKHART IN 46516
MILES, ALFRED                        ADDRESS ON FILE
MILES, BRADLEY                       ADDRESS ON FILE
MILES, BRIAN                         ADDRESS ON FILE
MILES, BRIAN                         ADDRESS ON FILE
MILES, CHARLES                       ADDRESS ON FILE
MILES, CHRISTOPHER                   ADDRESS ON FILE
MILES, DAMIANE                       ADDRESS ON FILE
MILES, DARIAN                        ADDRESS ON FILE
MILES, DOMINIQUE                     ADDRESS ON FILE
MILES, EDDIE                         ADDRESS ON FILE
MILES, HAROLD                        ADDRESS ON FILE
MILES, JAMES                         ADDRESS ON FILE
MILES, JOHNATHAN                     ADDRESS ON FILE
MILES, MAURICE                       ADDRESS ON FILE
MILES, MICHAEL                       ADDRESS ON FILE
MILES, PHILIP                        ADDRESS ON FILE
MILES, REGINALD                      ADDRESS ON FILE
MILES, ROBERT                        ADDRESS ON FILE
MILES, THOMAS                        ADDRESS ON FILE
MILES, TRAVIS                        ADDRESS ON FILE
MILES, WALTER                        ADDRESS ON FILE
MILES, YOLANDA                       ADDRESS ON FILE
MILESTONE EQUIPMENT CORPORATION      101 MERRITT SEVEN NORWALK CT 06851
MILESTONE EQUIPMENT CORPORATION      1660 TIBURON BLVD, STE E TIBURON CA 94920
MILESTONE FREIGHT DELIVERY LLC       OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MILESTONE PARTNERS INC               3939 BLUE HEIGHTS DR TRAVERSE CITY MI 49686
MILESTONE TRAILER LEASING            DBA PERSONAL ATTENTION LEASING 571 S JOLIET ROAD BOLINGBROOK IL 60440
MILESTONE TRAILER LEASING            ATTN: GENERAL COUNSEL 1520 S. 5TH STREET SUITE 270 ST. CHARLES MO 63303
MILESTONE TRAILER LEASING LLC        DBA MILESTONE EQUPMENT HOLDINGS 1520 SOUTH 5TH ST STE 270 SAINT CHARLES MO
                                     63303
MILESTONE TRAILER LEASING LLC        DBA MILESTONE EQUIPMENT COMPANY PO BOX 205589 DALLAS TX 75320
MILESTONE TRAILER LEASING LLC        DBA PERSONAL ATTENTION LEASING PO BOX 205589 DALLAS TX 75320



Epiq Corporate Restructuring, LLC                                                               Page 1279 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1288 of 2156

Claim Name                           Address Information
MILESTONE TRAILER LEASING LLC        MILESTONE EQUPMENT COMPANY LLC PO BOX 205589 DALLAS TX 75320
MILESTONE TRAILER LEASING LLC        PO BOX 205589 DALLAS TX 75320
MILESTONE TRAILER LEASING LLC        PO BOX 205589 DALLAS TX 75320-5580
MILESTONE TRUCKING                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MILEWSKI TOWING SERVICE              2300 WASHBURN ST SCRANTON PA 18504
MILEWSKI, JACOB                      ADDRESS ON FILE
MILEY, STEPHEN                       ADDRESS ON FILE
MILFORD TOWING & SERVICE INC         799 STATE ROUTE 50 UNION TOWNSHIP OH 45150
MILFORD, WILLIAM                     ADDRESS ON FILE
MILHOUSE, DARRYL                     ADDRESS ON FILE
MILI TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MILIAN XPRESS INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MILIUS TRUCKING, LLC                 OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
MILKWAY TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MILKYWAY TRANSPORTATION LLC          OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MILL-RITE, INC.                      ATTN: MIKE MCPHERSON S82W18848 GEMINI DRIVE MUSKEGO WI 53150-9222
MILLAN-SANCHEZ, ANGEL                ADDRESS ON FILE
MILLARD D MILLNER III                ADDRESS ON FILE
MILLARD, SHANE                       ADDRESS ON FILE
MILLEA, MATTHEW                      ADDRESS ON FILE
MILLEDGE, JOHN A                     ADDRESS ON FILE
MILLEN EXPRESS INC                   2926 OTTUMWA DR SACRAMENTO CA 95835
MILLENBRUCK, REBECCA                 ADDRESS ON FILE
MILLENIA AERO CORP.                  5757 W CENTRURY BLVD, SUITE 700-5M LOS ANGELES CA 90045
MILLENIUM AUTOMOTIVE SERVICES        6275 NETHERHART ROAD MISSISSAUGA ON L5T 1A2 CANADA
MILLENNIUM CARRIERS LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MILLENNIUM TRUCKING LLC              PO BOX 25659 CHARLOTTE NC 28229
MILLER & COHEN P C                   4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
MILLER & MARTIN HOLDINGS LLC         P.O. BOX 110 60 CARTER ST. FAIRVIEW IL 61432-0110
MILLER AND SONS PLUMBING, INC        7365 SW 38TH STREET, 205 OCALA FL 34474
MILLER AND SONS TRUCKING CO          OF GREATER CLEVELAND LLC, OR TAFS INC P.O. BOX 872632 KANSAS CITY MO 64187
MILLER AUTO INC                      19505 HARROD RD LIMA OH 45806
MILLER DIVERSIFIED,INC.              1656 HENTHORNE DRIVE SUITE 200 MAUMEE OH 43537
MILLER ELECTRICLTD OF PA             PO BOX 150 A BOALSBURG PA 16827
MILLER EXPEDITED FREIGHT, INC.       4219 S HIGH SCHOOL INDIANSPOLIS IN 46241
MILLER FAMILY ENTERPRISES LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MILLER JOHNSON JONES ANTONISSE       & WHITE PLLC, 500 NW 6TH ST STE 300 OKLAHOMA CITY OK 73102
MILLER LOGISTICS INC                 656 STATE ROUTE 211 MONTGOMERY NY 12549
MILLER PANELING                      450 DOUGLAS LANE WOODLAND CA 95776
MILLER SEWER & DRAIN INC             4650 W 750 N LARWILL IN 46764
MILLER TOWING INC                    2935 PLEASANT AVE MINNEAPOLIS MN 55408
MILLER TOWING INC                    4360 N LYNDALE AVE MINNEAPOLIS MN 55412
MILLER TRANSPORT INC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MILLER TRANSPORTATION LLP            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MILLER TRUCK LINES, LLC              P. O. BOX 665 STROUD OK 74079
MILLER TRUCKING GROUP INC            OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
MILLER TRUCKING, LTD.                P O BOX 283 LA CROSSE KS 67548-0283
MILLER'S TOWING INC                  PO BOX 26217 208 W WATERLOO RD AKRON OH 44319
MILLER, ALFRED                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1280 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1289 of 2156

Claim Name                          Address Information
MILLER, ALTON                       ADDRESS ON FILE
MILLER, ANDREA                      ADDRESS ON FILE
MILLER, ANDY                        ADDRESS ON FILE
MILLER, ANTHONY                     ADDRESS ON FILE
MILLER, ANTHONY                     ADDRESS ON FILE
MILLER, ASHLEY                      ADDRESS ON FILE
MILLER, AUGUST                      ADDRESS ON FILE
MILLER, AUSTIN                      ADDRESS ON FILE
MILLER, BETHANY                     ADDRESS ON FILE
MILLER, BLAIR                       ADDRESS ON FILE
MILLER, BOB                         ADDRESS ON FILE
MILLER, BONNIE                      ADDRESS ON FILE
MILLER, BRADLEY                     ADDRESS ON FILE
MILLER, BRADLEY                     ADDRESS ON FILE
MILLER, BRAHEEM                     ADDRESS ON FILE
MILLER, BRANDI                      ADDRESS ON FILE
MILLER, BRIAN                       ADDRESS ON FILE
MILLER, BRIAN                       ADDRESS ON FILE
MILLER, BRIAN                       ADDRESS ON FILE
MILLER, BRIAN                       ADDRESS ON FILE
MILLER, BRUCE                       ADDRESS ON FILE
MILLER, BRYAN                       ADDRESS ON FILE
MILLER, CAMERON                     ADDRESS ON FILE
MILLER, CARL                        ADDRESS ON FILE
MILLER, CARL                        ADDRESS ON FILE
MILLER, CARLA                       ADDRESS ON FILE
MILLER, CHAD                        ADDRESS ON FILE
MILLER, CHAD                        ADDRESS ON FILE
MILLER, CHARLES                     ADDRESS ON FILE
MILLER, CHARLES                     ADDRESS ON FILE
MILLER, CHARLES                     ADDRESS ON FILE
MILLER, CHARLES                     ADDRESS ON FILE
MILLER, CHARLIE                     ADDRESS ON FILE
MILLER, CHASE                       ADDRESS ON FILE
MILLER, CHELSEA                     ADDRESS ON FILE
MILLER, CHERI                       ADDRESS ON FILE
MILLER, CHRIS                       ADDRESS ON FILE
MILLER, CHRISTOPHER                 ADDRESS ON FILE
MILLER, CHRISTOPHER                 ADDRESS ON FILE
MILLER, CHRISTOPHER                 ADDRESS ON FILE
MILLER, CHRISTOPHER                 ADDRESS ON FILE
MILLER, CHRISTOPHER                 ADDRESS ON FILE
MILLER, CODY                        ADDRESS ON FILE
MILLER, COREY                       ADDRESS ON FILE
MILLER, CORIN                       ADDRESS ON FILE
MILLER, COURTNEY                    ADDRESS ON FILE
MILLER, DAN                         ADDRESS ON FILE
MILLER, DAN                         ADDRESS ON FILE
MILLER, DANIEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1281 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1290 of 2156

Claim Name                        Address Information
MILLER, DANIEL                    ADDRESS ON FILE
MILLER, DANIEL                    ADDRESS ON FILE
MILLER, DANTE                     ADDRESS ON FILE
MILLER, DARLENE                   ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID                     ADDRESS ON FILE
MILLER, DAVID L                   ADDRESS ON FILE
MILLER, DENNIS                    ADDRESS ON FILE
MILLER, DENNIS                    ADDRESS ON FILE
MILLER, DENNIS                    ADDRESS ON FILE
MILLER, DEONDRAY                  ADDRESS ON FILE
MILLER, DEVAL                     ADDRESS ON FILE
MILLER, DOUGLAS                   ADDRESS ON FILE
MILLER, DOUGLAS                   ADDRESS ON FILE
MILLER, DUANE                     ADDRESS ON FILE
MILLER, EARL                      ADDRESS ON FILE
MILLER, ELBERT J                  ADDRESS ON FILE
MILLER, EMERSON                   ADDRESS ON FILE
MILLER, ERIN                      ADDRESS ON FILE
MILLER, FRANCIS                   ADDRESS ON FILE
MILLER, FRANK JONATHAN            ADDRESS ON FILE
MILLER, GARY                      ADDRESS ON FILE
MILLER, GEORGE                    ADDRESS ON FILE
MILLER, GEORGE                    ADDRESS ON FILE
MILLER, GERARD                    ADDRESS ON FILE
MILLER, GEROME                    ADDRESS ON FILE
MILLER, HERMAN G                  ADDRESS ON FILE
MILLER, IRA                       ADDRESS ON FILE
MILLER, IRA                       ADDRESS ON FILE
MILLER, ISHMAEL                   ADDRESS ON FILE
MILLER, JABARI                    ADDRESS ON FILE
MILLER, JALESA                    ADDRESS ON FILE
MILLER, JAMES                     ADDRESS ON FILE
MILLER, JAMES                     ADDRESS ON FILE
MILLER, JAMES                     ADDRESS ON FILE
MILLER, JAMES A                   ADDRESS ON FILE
MILLER, JARQUIS                   ADDRESS ON FILE
MILLER, JASON                     ADDRESS ON FILE
MILLER, JASON                     ADDRESS ON FILE
MILLER, JAZZMIN                   ADDRESS ON FILE
MILLER, JEFF                      ADDRESS ON FILE
MILLER, JEFFERY                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1282 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1291 of 2156

Claim Name                        Address Information
MILLER, JEFFREY                   ADDRESS ON FILE
MILLER, JEFFREY                   ADDRESS ON FILE
MILLER, JEFFREY                   ADDRESS ON FILE
MILLER, JEFFREY                   ADDRESS ON FILE
MILLER, JEFFREY D                 ADDRESS ON FILE
MILLER, JEREMY                    ADDRESS ON FILE
MILLER, JESSE                     ADDRESS ON FILE
MILLER, JOHN                      ADDRESS ON FILE
MILLER, JOHN                      ADDRESS ON FILE
MILLER, JONATHAN                  ADDRESS ON FILE
MILLER, JOSEPH                    ADDRESS ON FILE
MILLER, JOSEPH                    ADDRESS ON FILE
MILLER, JOSEPH                    ADDRESS ON FILE
MILLER, JOSEPH                    ADDRESS ON FILE
MILLER, JOSEPH                    ADDRESS ON FILE
MILLER, JOSHUA                    ADDRESS ON FILE
MILLER, JOSHUA                    ADDRESS ON FILE
MILLER, JOY                       ADDRESS ON FILE
MILLER, JUDE                      ADDRESS ON FILE
MILLER, KALIN                     ADDRESS ON FILE
MILLER, KAREN                     ADDRESS ON FILE
MILLER, KAREN                     ADDRESS ON FILE
MILLER, KEVIN                     ADDRESS ON FILE
MILLER, KIERAN                    ADDRESS ON FILE
MILLER, KRISTI                    ADDRESS ON FILE
MILLER, KYLE                      ADDRESS ON FILE
MILLER, KYLE                      ADDRESS ON FILE
MILLER, KYLE W                    ADDRESS ON FILE
MILLER, LA DALE                   ADDRESS ON FILE
MILLER, LARRY                     ADDRESS ON FILE
MILLER, LATHAREO                  ADDRESS ON FILE
MILLER, LAUREN                    ADDRESS ON FILE
MILLER, LAVELLE                   ADDRESS ON FILE
MILLER, LAVELLE                   ADDRESS ON FILE
MILLER, LILY                      ADDRESS ON FILE
MILLER, LISA K                    ADDRESS ON FILE
MILLER, LUCAS                     ADDRESS ON FILE
MILLER, MARK                      ADDRESS ON FILE
MILLER, MARK                      ADDRESS ON FILE
MILLER, MARK                      ADDRESS ON FILE
MILLER, MARTIN                    ADDRESS ON FILE
MILLER, MARY                      ADDRESS ON FILE
MILLER, MATTHEW                   ADDRESS ON FILE
MILLER, MATTHEW                   ADDRESS ON FILE
MILLER, MATTHEW                   ADDRESS ON FILE
MILLER, MELINDA S                 ADDRESS ON FILE
MILLER, MELVIN                    ADDRESS ON FILE
MILLER, MICHAEL                   ADDRESS ON FILE
MILLER, MICHAEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1283 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1292 of 2156

Claim Name                        Address Information
MILLER, MICHAEL                   ADDRESS ON FILE
MILLER, MICHAEL                   ADDRESS ON FILE
MILLER, MICHAEL                   ADDRESS ON FILE
MILLER, MICHAEL                   ADDRESS ON FILE
MILLER, MICHAEL                   ADDRESS ON FILE
MILLER, MICHAEL A                 ADDRESS ON FILE
MILLER, MICHAEL P                 ADDRESS ON FILE
MILLER, MICHAEL T                 ADDRESS ON FILE
MILLER, MICHAELA                  ADDRESS ON FILE
MILLER, MICHELLE                  ADDRESS ON FILE
MILLER, MIKE                      ADDRESS ON FILE
MILLER, NANCY                     ADDRESS ON FILE
MILLER, NATHAN                    ADDRESS ON FILE
MILLER, NATHANIEL                 ADDRESS ON FILE
MILLER, NEALSO                    ADDRESS ON FILE
MILLER, NILES                     ADDRESS ON FILE
MILLER, NOAH                      ADDRESS ON FILE
MILLER, PATRICIA                  ADDRESS ON FILE
MILLER, PATRICK                   ADDRESS ON FILE
MILLER, PETER                     ADDRESS ON FILE
MILLER, PHILLIP                   ADDRESS ON FILE
MILLER, RAY                       ADDRESS ON FILE
MILLER, RAYMOND                   ADDRESS ON FILE
MILLER, RAYMOND                   ADDRESS ON FILE
MILLER, REBECCA                   ADDRESS ON FILE
MILLER, REGINALD                  ADDRESS ON FILE
MILLER, RICHARD                   ADDRESS ON FILE
MILLER, ROBERT                    ADDRESS ON FILE
MILLER, ROBERT                    ADDRESS ON FILE
MILLER, ROBERT                    ADDRESS ON FILE
MILLER, ROBERT                    ADDRESS ON FILE
MILLER, ROBERT                    ADDRESS ON FILE
MILLER, ROBERT                    ADDRESS ON FILE
MILLER, ROBERTA                   ADDRESS ON FILE
MILLER, ROHAN                     ADDRESS ON FILE
MILLER, RONALD                    ADDRESS ON FILE
MILLER, RONALD                    ADDRESS ON FILE
MILLER, RONNIE                    ADDRESS ON FILE
MILLER, RUBEN                     ADDRESS ON FILE
MILLER, RUSSELL                   ADDRESS ON FILE
MILLER, RUSSELL                   ADDRESS ON FILE
MILLER, RYAN                      ADDRESS ON FILE
MILLER, SAMUEL                    ADDRESS ON FILE
MILLER, SAMUEL                    ADDRESS ON FILE
MILLER, SHANNON                   ADDRESS ON FILE
MILLER, STEPHEN                   ADDRESS ON FILE
MILLER, STEPHEN                   ADDRESS ON FILE
MILLER, STEVE                     ADDRESS ON FILE
MILLER, STEVEN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1284 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1293 of 2156

Claim Name                           Address Information
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, STEVEN                       ADDRESS ON FILE
MILLER, SUSIE                        ADDRESS ON FILE
MILLER, TAMMY                        ADDRESS ON FILE
MILLER, TANYA                        ADDRESS ON FILE
MILLER, TERECE                       ADDRESS ON FILE
MILLER, TERRI                        ADDRESS ON FILE
MILLER, THOMAS                       ADDRESS ON FILE
MILLER, THOMAS                       ADDRESS ON FILE
MILLER, THOMAS                       ADDRESS ON FILE
MILLER, THOMAS                       ADDRESS ON FILE
MILLER, TIFFANY                      ADDRESS ON FILE
MILLER, TOMMY                        ADDRESS ON FILE
MILLER, TONY                         ADDRESS ON FILE
MILLER, TRACY                        ADDRESS ON FILE
MILLER, TRAVIS                       ADDRESS ON FILE
MILLER, TRAVIS D                     ADDRESS ON FILE
MILLER, TREVOR                       ADDRESS ON FILE
MILLER, TROY                         ADDRESS ON FILE
MILLER, VICTOR                       ADDRESS ON FILE
MILLER, VINCENT                      ADDRESS ON FILE
MILLER, VINCENT                      ADDRESS ON FILE
MILLER, WALTER                       ADDRESS ON FILE
MILLER, WILLIAM                      ADDRESS ON FILE
MILLER, WILLIAM                      ADDRESS ON FILE
MILLER, WILLIAM                      ADDRESS ON FILE
MILLER-MCNEIL, JOSEF                 ADDRESS ON FILE
MILLER-STILL, SHIRLEY                ADDRESS ON FILE
MILLERS ELITE TRANSPORTERS, LLC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MILLERS EXPRESS TRUCKING LLC         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MILLERS GARAGE OF MIDDLEBURY INC     PO BOX 331, 823 S. MAIN ST. MIDDLEBURY IN 46540
MILLERS MACHINE TECHNOLOGIES         P.O. BOX 217, 100 NORTH SCHOOL STREET SHIPPENVILLE PA 16254
MILLERS MOBILE WRENCHIN INC          1526 PERU OLENA ROAD WEST NORWALK OH 44857
MILLERS TOWING INC                   208 W. WATERLOO RD AKRON OH 44319
MILLERS TOWING INC                   PO BOX 26217 AKRON OH 44319
MILLERT, DEVIN                       ADDRESS ON FILE
MILLHOAN, NICOLE                     ADDRESS ON FILE
MILLHORN, RICHARD                    ADDRESS ON FILE
MILLI O XPRESS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MILLIGAN, JASON                      ADDRESS ON FILE
MILLIGAN, MINDY                      ADDRESS ON FILE
MILLIGAN, SHAYNE                     ADDRESS ON FILE
MILLIKAN, LARRY                      ADDRESS ON FILE
MILLIMAN, INC.                       PO BOX 75553 CHICAGO IL 60675



Epiq Corporate Restructuring, LLC                                                            Page 1285 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1294 of 2156

Claim Name                          Address Information
MILLINES, DEONDREA                  ADDRESS ON FILE
MILLING, DOMINIQUE                  ADDRESS ON FILE
MILLING, WILLIAM                    ADDRESS ON FILE
MILLION TRANSPORTATION LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MILLIPORE SIGMA                     871 MORRILL STREET HAYWARD CA 94541
MILLIRONS, PAUL                     ADDRESS ON FILE
MILLNER, DMETRIOUS                  ADDRESS ON FILE
MILLNER, MILLARD                    ADDRESS ON FILE
MILLOY, JOHN                        ADDRESS ON FILE
MILLS III, JAMES A.                 ADDRESS ON FILE
MILLS LOGISTICS                     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
MILLS PROPERTY MANAGEMENT           PO BOX 436 ALCOA TN 37701
MILLS, ANTHONY                      ADDRESS ON FILE
MILLS, ASHLYNN                      ADDRESS ON FILE
MILLS, CLIFTON                      ADDRESS ON FILE
MILLS, CLIFTON                      ADDRESS ON FILE
MILLS, DAVE                         ADDRESS ON FILE
MILLS, DEANGELO                     ADDRESS ON FILE
MILLS, DESTINY                      ADDRESS ON FILE
MILLS, DEVONNE                      ADDRESS ON FILE
MILLS, DOUGLAS                      ADDRESS ON FILE
MILLS, DUNNETTE                     ADDRESS ON FILE
MILLS, GARY                         ADDRESS ON FILE
MILLS, GINA                         ADDRESS ON FILE
MILLS, HEATHER                      ADDRESS ON FILE
MILLS, IVAN                         ADDRESS ON FILE
MILLS, JADA                         ADDRESS ON FILE
MILLS, JALON                        ADDRESS ON FILE
MILLS, JAMES                        ADDRESS ON FILE
MILLS, JAMES A                      ADDRESS ON FILE
MILLS, JOHN                         ADDRESS ON FILE
MILLS, JONATHAN                     ADDRESS ON FILE
MILLS, JOSHUA                       ADDRESS ON FILE
MILLS, JOSHUA                       ADDRESS ON FILE
MILLS, LYLE                         ADDRESS ON FILE
MILLS, MICHAEL                      ADDRESS ON FILE
MILLS, MICHAEL                      ADDRESS ON FILE
MILLS, ROBERT                       ADDRESS ON FILE
MILLS, ROBERT G                     ADDRESS ON FILE
MILLS, RONALD                       ADDRESS ON FILE
MILLS, SELVIN                       ADDRESS ON FILE
MILLS, SKY                          ADDRESS ON FILE
MILLS, THOMAS                       ADDRESS ON FILE
MILLSAP, GRAYSEN                    ADDRESS ON FILE
MILLVILLE CITY TAX COLLECTOR        12 S. HIGH ST. P.O. BOX 609 MILLVILLE NJ 08332
MILLVILLE FIRE DEPARTMENT           BUREAU OF FIRE SAFETY, 420 BUCK STREET MILLVILLE NJ 08332
MILLWOOD, ROBERT                    ADDRESS ON FILE
MILLZ FREIGHT LOGISTICS LLC         108 FISK AVE APT 5 DEKALB IL 60115
MILLZ FREIGHT LOGISTICS LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                            Page 1286 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1295 of 2156

Claim Name                           Address Information
MILNE TOWING, LLC                    1700 MARIETTA WAY SPARKS NV 89431
MILNE, SEAN                          ADDRESS ON FILE
MILNE, THOMAS                        ADDRESS ON FILE
MILNER, ALTOVISE                     ADDRESS ON FILE
MILNER, JOEL                         ADDRESS ON FILE
MILNER, JOHN                         ADDRESS ON FILE
MILNER, MARK                         ADDRESS ON FILE
MILNER, RICHARD                      ADDRESS ON FILE
MILNER, WILLIE                       ADDRESS ON FILE
MILOS TOWING AND REPAIR              62531 VINEYARD RD PRAIRE DU CHIEN WI 53821
MILOS TRUCKING                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MILOSLAVSKIY, MIKHAIL                ADDRESS ON FILE
MILOSLAVSKIY, MIKHAIL                ADDRESS ON FILE
MILROSE TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MILSPED FREIGHT LLC                  1699 WALL ST, SUITE 220 MOUNT PROSPECT IL 60056
MILTENOV, NIKOLAY                    ADDRESS ON FILE
MILTER, KENNETH                      ADDRESS ON FILE
MILTON C MCGEE                       ADDRESS ON FILE
MILTON G VENEY                       ADDRESS ON FILE
MILTON, LAMAR                        ADDRESS ON FILE
MILTON, MAURICE                      ADDRESS ON FILE
MILTONS TRANSPORTATION INC           8737 HELMS AVE RANCHO CUCAMONGA CA 91730
MILTOWN EXPRESS TRUCKING INC         OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
MILUM, BILLY                         ADDRESS ON FILE
MILWAUKEE FENCE CO                   1630 S 38TH STREET MILWAUKEE WI 53215
MILWAUKEE PUBLIC LIBRARY             814 WEST WISCONSIN AVE. MILWAUKEE WI 53224
MIM EXPRESS INC                      PO BOX 59372 SCHAUMBURG IL 60173
MIM TRANSPORT GROUP LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MIMI TRUCKING, LLC                   OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
MIMS LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MIMS, COREY                          ADDRESS ON FILE
MIMS, KEVIN                          ADDRESS ON FILE
MIN, KEVIN                           ADDRESS ON FILE
MINA EXPRESS LLC                     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
MINA GLOBAL LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MINA, FIDEL                          ADDRESS ON FILE
MINARD, DYLLAN                       ADDRESS ON FILE
MINARD, EDWARD                       ADDRESS ON FILE
MINARD, JOHN D                       ADDRESS ON FILE
MINASOLA, DOMINICK                   ADDRESS ON FILE
MINATEE, LESTER                      ADDRESS ON FILE
MINAYA, RICKY                        ADDRESS ON FILE
MINCBERGER, LESLIE                   ADDRESS ON FILE
MINCE, RYAN                          ADDRESS ON FILE
MINCHEW, JIMMY                       ADDRESS ON FILE
MINCY, DARRIUS                       ADDRESS ON FILE
MIND AT EASE LLC                     125 CLAREMONT AVE MOUNT VERNON NY 10550
MIND AT EASE LLC                     64 ASHLAND STREET NEW ROCHELLE NY 10801
MIND OVER MUSCLE LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                             Page 1287 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1296 of 2156

Claim Name                           Address Information
MINDEN, DAVID                        ADDRESS ON FILE
MINDFUL TRUCKING LLC                 OR SMART FREIGHT FUNDING, PO BOX 3474 OMAHA NE 68103
MINDRUP, JOLENE                      ADDRESS ON FILE
MINDSHARE STRATEGIES INC             PO BOX 843 SPRINGFIELD TN 37172
MINER                                PO BOX 953381 ST LOUIS MO 63195
MINER, AUSTIN                        ADDRESS ON FILE
MINER, BRENT                         ADDRESS ON FILE
MINER, JORDAN                        ADDRESS ON FILE
MINER, KEVIN                         ADDRESS ON FILE
MINERLY, JOHN                        ADDRESS ON FILE
MINERVA, FRANK                       ADDRESS ON FILE
MINGERINK, KURT                      ADDRESS ON FILE
MINGHO CONSTRUCTION                  9820 RUSH ST. SOUTH ALMONTE CA 91733
MINGLE, TERRY                        ADDRESS ON FILE
MINGLEDORFF, ALFREDDIE               ADDRESS ON FILE
MINGO, STANLEY                       ADDRESS ON FILE
MINGUS, JOHN                         ADDRESS ON FILE
MINHAS EXPRESS INC                   26064 ARROYO LN LOMA LINDA CA 92354
MINHAS LOGISTICS LLC (MC1276987)     18 PINE ST CARTERET NJ 07008-2117
MINHAS RAJPUT INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MINI PET MART                        1060 SE M ST GRANTS PASS OR 97526
MINICH TRUCK REPAIR                  11758 TOWNSHIP RD. 100 FINDLAY OH 45840
MINICH, JACQUELINE                   ADDRESS ON FILE
MINING CITY SERVICES                 2730 ABERDEEN BUTTE MT 59701
MININNO, JAMES                       ADDRESS ON FILE
MINISTER OF FINANCE                  ATTN: CLAUDIA LARIVIERE 1265 BOULEVARD CHAREST QUEST QUEBEC QC G1N 4V5 CANADA
MINISTER OF FINANCE                  ATTN: JULES ROBITAILLE 1265 BOULEVARD CHAREST QUEST QUEBEC QC G1N 4V5 CANADA
MINISTER OF FINANCE                  PO BOX 9100 KINGSTON ON K7L5K3 CANADA
MINISTER OF FINANCE                  33 KING ST WEST PO BOX 620 OSHAWA ON L1H 8E9 CANADA
MINISTER OF FINANCE                  33 KING ST PO BOX 620 OSHAWA ON L1H 8E9 CANADA
MINISTER OF FINANCE                  33 KING ST OSHAWA ON L1H8E9 CANADA
MINISTER OF FINANCE                  COURT OF QUEENS BENCH, 100C 408 YORK AVE WINNIPEG MB R3C 0P9 CANADA
MINISTER OF FINANCE                  17TH FLOOR 215 GARRY ST WINNIPEG MB R3C 3Z1 CANADA
MINISTER OF FINANCE                  MANITOBA INFRA & TRANS FINAN SVCS 17TH FLOOR 215 GARRY STREET WINNIPEG MB R3C
                                     3Z1 CANADA
MINISTER OF FINANCE                  100 373 BROADWAY AVE WINNIPEG MB R3C 4S4 CANADA
MINISTER OF FINANCE (MANITOBA)       100 - 373 BROADWAY AVE WINNIPEG MB R3C 4S4 CANADA
MINISTER OF FINANCE OF MANITOBA      101-401 YORK AVE WINNIPEG MB R3C 0P8 CANADA
MINISTER OF FINANCE OF MANITOBA      COURT OF QUEENS BENCH WINNIPEG CENTRE 100C-408 YORK AVE. WINNIPEG MB R3C 0P9
                                     CANADA
MINISTER OF FINANCE-PROVINCE OF      MAINTENANCE ENFORCEMENT 100-352 DONALD ST WINNIPEG MB R3B 2H8 CANADA
MANITOBA
MINISTER OF FINANCE-PROVINCE OF      MAINTENANCE ENFORCEMENT PROGRAM JE BROWNLEE BLDG 10365-97 ST NW, 7TH FL
MANITOBA                             EDMONTON AB T5J 3W7 CANADA
MINISTER OF FINANCE/MTO              1270 HUMBER PLACE OTTAWA ON K1B 3W3 CANADA
MINISTER OF FINANCE/MTO              3091 ALBION RD N UNIT 2 OTTAWA ON K1V 9V9 CANADA
MINISTER OF FINANCE/MTO              301 ST PAUL STREET 3RD FLOOR ST CATHARINES ON L2R 7R4 CANADA
MINISTER OF REVENUE                  CP 25500 SUCCURSALE TERMINUS QUEBEC QC G1A 0A9 CANADA
MINISTER OF REVENUE OF QUEBEC        C.P. 25125 SUCCURSALE TERMINUS QUEBEC QC G1A 0A9 CANADA
MINISTER OF REVENUE OF QUEBEC        3800 RUE DE MARLY, C.P. 25666 SUCCURSALE TERMINUS QC G1A 1B6 CANADA


Epiq Corporate Restructuring, LLC                                                              Page 1288 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1297 of 2156

Claim Name                              Address Information
MINISTER OF REVENUE OF QUEBEC           3800 RUE DE MARLY, C.P. 25555 SUCCURSALE TERMINUS QC G1A 1B9 CANADA
MINISTER OF REVENUE OF QUEBEC           ATTN: CLAUDIA LARIVIERE 1265 BOULEVARD CHAREST QUEST QUEBEC QC G1N 4V5 CANADA
MINISTERE DE LA JUSTICE                 1200 ROUTE DE EGLISE 6 ETAGE QUEBEC QC G1V 4X1 CANADA
MINISTERE DES TRANSPORTS, DIV           3800 RUE DE MARLY STE-FOY QC G1X 4A5 CANADA
MINK, JEFF                              ADDRESS ON FILE
MINK, KENNETH                           ADDRESS ON FILE
MINK, STEVEN                            ADDRESS ON FILE
MINKE, WILLIAM                          ADDRESS ON FILE
MINKS, CLIFF                            ADDRESS ON FILE
MINKS, EDWARD                           ADDRESS ON FILE
MINKY COUTURE                           ADDRESS ON FILE
MINLAND OF TEXAS INC                    ATTN: EDWARD WU 10515 HARWIN DR STE 130 HOUSTON TX 77036
MINNA TRANSPORTATION LLC                OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
MINNA TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MINNANE TRUCKING LLC                    OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
MINNER, RONALD                          ADDRESS ON FILE
MINNESOTA 19 TRUCK REPAIR               46057 HIGHWAY 19 BOULEWARD, PO BOX 54 GAYLORD MN 55334
MINNESOTA 401K FUND                     30001 METRO DRIVE SUITE 500 BLOOMINGTON MN 55425
MINNESOTA AIR                           6901 W OLD SHAKOPEE RD BLOOMINGTON MN 55438
MINNESOTA COURT PAYMENT CENTER          PO BOX 898 WILLMAR MN 56201
MINNESOTA DEPARTMENT OF COMMERCE        85 7TH PLACE E STE 280 SAINT PAUL MN 55101
MINNESOTA DEPARTMENT OF REVENUE         P.O. BOX 64622 ST. PAUL MN 55164
MINNESOTA DEPT. OF TRANSPORTATION       6000 MINNEHAHA AVE S SAINT PAUL MN 55111
MINNESOTA ENERGY RESOURCES              2685 145TH ST W ROSEMOUNT MN 55068
MINNESOTA FREIGHT EXPRESS LLC           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MINNESOTA LANDSCAPE PROFESSION          9819 VALLEY VIEW RD EDEN PRAIRIE MN 55344
MINNESOTA LOGISTICS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MINNESOTA OCCUPATIONAL HEALTH           LOCKBOX 135054 PO BOX 1150 MINNEAPOLIS MN 55480
MINNESOTA PETROLEUM SERVICE             682 39TH AVE NE COLUMBIA HEIGHTS MN 55421
MINNESOTA POLLUTION                     CONTROL AGENCY, PO BOX 64893 ST PAUL MN 55164-0893
MINNESOTA REVENUE                       MAIL STATION 1275 ST PAUL MN 55145
MINNESOTA REVENUE                       SALES AND USE TAX, PO BOX 64622 ST PAUL MN 55164
MINNESOTA SELF-INSURERS SECURITY FUND   PO BOX 860792 MINNEAPOLIS MN 55486
MINNESOTA TEAMSTERS                     HEALTH AND WELFARE PLAN C/O WILSON-MCSHANE CORP BLOOMINGTON MN 55425
MINNESOTA TEAMSTERS 401(K) PLA          D/B/A: MINNESOTA TEAMSTERS 401(K) PLAN 3001 METRO DRIVE SUITE 500 BLOOMINGTON
                                        MN 55425
MINNESOTA TEAMSTERS 401(K) PLAN         3001 METRO DRIVE SUITE 500 BLOOMINGTON MN 55425
MINNESOTA TEAMSTERS HEALTH& WELFARE     30001 METRO DRIVE SUITE 500 BLOOMINGTON MN 55425
PLAN
MINNESOTA TRANSIT LLC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
MINNESOTA TREASURY OFFICES              ANOKA COUNTY TREASURY OFFICE 2100 3RD AVE SUITE 300 ANOKA MN 55303
MINNESOTA TRUCK LEASING INC             U.S. HIGHWAY 63 SOUTH POST OFFICE BOX 6699 ROCHESTER MN 55903
MINNESOTA TRUCKING ASSOCIATION          6160 SUMMIT DRIVE NORTH, SUITE 330 BROOKLYN CENTER MN 55430
MINNESOTA VALLEY TREE SERVICE           PO BOX 248 MONTEVIDEO MN 56265
MINNICH, CORBIN                         ADDRESS ON FILE
MINNICK SERVICES                        222 N. THOMAS ROAD FORT WAYNE IN 46818
MINNICK, DEBRA                          ADDRESS ON FILE
MINNICK, JORDAN                         ADDRESS ON FILE
MINNICK, RICHARD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1289 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1298 of 2156

Claim Name                           Address Information
MINNICK, RICHARD L                   ADDRESS ON FILE
MINNICK, STEVEN                      ADDRESS ON FILE
MINNIS, CAMERON                      ADDRESS ON FILE
MINNIS, CAMERON L                    ADDRESS ON FILE
MINNIS, CODY                         ADDRESS ON FILE
MINNIS, LOREAL                       ADDRESS ON FILE
MINOR FIGURES                        C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
MINOR LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MINOR R WAGUK                        ADDRESS ON FILE
MINOR, JUAN                          ADDRESS ON FILE
MINOR, PARIS                         ADDRESS ON FILE
MINOR, ROBERT                        ADDRESS ON FILE
MINOS TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MINOT MOBILE INC                     PO BOX 8813 SURPRISE AZ 85374
MINOTT, ROBERT                       ADDRESS ON FILE
MINSON, CHARLES                      ADDRESS ON FILE
MINSON, GRANT                        ADDRESS ON FILE
MINSTAR TRANSPORT INC                837 APOLLO RD EAGAN MN 55121
MINSTER, MICHAEL                     ADDRESS ON FILE
MINT EXPRESS INC                     OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MINT LLC                             25 KIMBELL CT GREENVILLE SC 29617
MINTER, FRANK                        ADDRESS ON FILE
MINTER, JEFFREY                      ADDRESS ON FILE
MINTER, WARREN                       ADDRESS ON FILE
MINTON, ADAM                         ADDRESS ON FILE
MINTON, COREY                        ADDRESS ON FILE
MINTON, DENNIS                       ADDRESS ON FILE
MINTON, KIM                          ADDRESS ON FILE
MINTON, MICHAEL                      ADDRESS ON FILE
MINTZ, LEE                           ADDRESS ON FILE
MINUTE, MICHAEL P                    ADDRESS ON FILE
MINUTEMEN PRECISION MACHINE & TOOL   135 RAYNOR AVE RONKONKOMA NY 11779
MINUTEMEN TRUCKING LLC               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MIQ GLOBAL LLC                       32344 COLLECTION CENTER DRIVE CHICAGO IL 60693
MIR TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIR TRANSPORTATION INC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MIRA EXPRESS INC                     77 AUTUMN RD SOUTHAMPTON PA 18966
MIRA INTERNATIONAL FOODS             ATTN: SWATHI CHAVAN CLAIMS 20 ELEANORE FINE RD BEAUFORT SC 29906
MIRA MAR TRANSPORT LLC               OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
MIRA TRANSPORTATION INC              OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
MIRABAL TRUCKING                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIRABAL, JOSE                        ADDRESS ON FILE
MIRABELLA, PATRICIA                  ADDRESS ON FILE
MIRABELLA, RICHARD A                 ADDRESS ON FILE
MIRABELLA, VINCENT                   ADDRESS ON FILE
MIRABITO ENERGY PRODUCTS             PO BOX 5306 BINGHAMTON NY 13902
MIRACLE EXPRESS, INC.                2785 FAIRVIEW AVE, PO BOX 131420 ROSEVILLE MN 55113
MIRACLE FREIGHT CORP                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
MIRACLE TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                              Page 1290 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1299 of 2156

Claim Name                              Address Information
MIRACLE WORKER TRUCKING CORP            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MIRACLE, JAMES                          ADDRESS ON FILE
MIRAGE RECOVERY SERVICE                 8051 ROSEMARY ST COMMERCE CITY CO 80022
MIRAGE TRANSPORTATION INC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MIRAGE TRANSPORTATION INC (MC1182107)   481 MAPLEWOODS LANE WEBSTER NY 14580
MIRAGLIOTTA, JOHN                       ADDRESS ON FILE
MIRAMAX CONSULTING INC                  MIRAMAX CONSULTING, 631 W KENILWORTH AVE PALATINE IL 60067
MIRAMONTES, RAFAEL                      ADDRESS ON FILE
MIRANDA DEL RIO, SALVADOR               ADDRESS ON FILE
MIRANDA TRANSPORT                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MIRANDA, ABRAHAM                        ADDRESS ON FILE
MIRANDA, BELARMIN                       ADDRESS ON FILE
MIRANDA, CANDI-LYNNE                    ADDRESS ON FILE
MIRANDA, CARLOS                         ADDRESS ON FILE
MIRANDA, DANIEL                         ADDRESS ON FILE
MIRANDA, FLOREMAR                       ADDRESS ON FILE
MIRANDA, FRANCISCO                      ADDRESS ON FILE
MIRANDA, GEORGE                         ADDRESS ON FILE
MIRANDA, JUAN                           ADDRESS ON FILE
MIRANDA, LEO                            ADDRESS ON FILE
MIRANDA, MIGUEL                         ADDRESS ON FILE
MIRANDAS TRANSPORTATION LLC             OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
MIRANTIS, INC.                          PO BOX 8552 PASADENA CA 91109
MIRATECH                                ATTN: ADAM MERILLAT 420 S 145TH EAST AVE DOCK 113 TULSA OK 74108
MIRAYAH TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIRELDOR CORPORATION                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MIRELES BROTHERS EXPRESS LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MIRELES, CHRIS                          ADDRESS ON FILE
MIRELES, RAYMOND J                      ADDRESS ON FILE
MIRI PIRI TRANSPORTATION INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MIRIS TRANSPORT INC                     18-03 SPLIT ROCK RD FAIR LAWN NJ 07410
MIRIZIO, MICHAEL                        ADDRESS ON FILE
MIRON, CARL                             ADDRESS ON FILE
MIRSO J TRANSPORT LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIRUG TRANSPORT LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MISA, MT                                ADDRESS ON FILE
MISALI TRANSPORTATION LLC               OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MISCH, ERIC                             ADDRESS ON FILE
MISCH, MATTHEW                          ADDRESS ON FILE
MISENHELTER, BRIAN                      ADDRESS ON FILE
MISFELDT, KEVIN                         ADDRESS ON FILE
MISHA GAMDYSEY                          ADDRESS ON FILE
MISHLER, DAVID                          ADDRESS ON FILE
MISHLER, JASON                          ADDRESS ON FILE
MISHLONEY, JACOB                        ADDRESS ON FILE
MISIALEK, STEVE                         ADDRESS ON FILE
MISICKA, MICHAEL                        ADDRESS ON FILE
MISKEL, DAVEON                          ADDRESS ON FILE
MISKOWIEC, BLAKE L                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1291 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1300 of 2156

Claim Name                               Address Information
MISL TRANSPORT, INC.                     PO BOX 8050 ELBURN IL 60119
MISNER, DREW                             ADDRESS ON FILE
MISNER, GAYLAND                          ADDRESS ON FILE
MISQUEZ, AARON S                         ADDRESS ON FILE
MISQUEZ, AARON S                         ADDRESS ON FILE
MISQUEZ, RAMON                           ADDRESS ON FILE
MISSION LINEN & UNIFORM SVC              136 COYADO AVE MODESTO CA 95350
MISSION TRANSPORT, INC.                  15044 HOTCHKISS VALLEY ROAD E LOUDON TN 37774
MISSION TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MISSION TRUCKING LLC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MISSION WRECKER SERVICE S.A INC          4535 FARM TO MARKET 1516 CONVERSE TX 78109
MISSISSIPPI DEPARTMENT OF PUBLIC SAFETY PO BOX 132 JACKSON MS 39205
MISSISSIPPI DEPARTMENT OF REVENUE        PO BOX 1033 JACKSON MS 39215
MISSISSIPPI DEPARTMENT OF REVENUE        PO BOX 23050 JACKSON MS 39225
MISSISSIPPI DEPARTMENT OF REVENUE        PO BOX 23075 JACKSON MS 39225
MISSISSIPPI DEPARTMENT OF                MDOT FINANCIAL MANAGEMENT, BOX 3649 JACKSON MS 39207
TRANSPORTATION
MISSISSIPPI TRUCK & TRAILER REPAIR INC   PO BOX 6888 ROCK ISLAND IL 61204
MISSISSIPPI TRUCKING ASSOCIATION INC     825 NORTH PRESIDENT STREET JACKSON MS 39202
MISSISSIPPI WORKERS COMPENSATION COMM    PO BOX 5300 JACKSON MS 39296
MISSOULA COUNTY TREASURER                200 W BROADWAY MISSOULA MT 59802
MISSOULA FIRE EQUIPMENT                  2606 MURPHY ST MISSOULA MT 59808
MISSOURI AMERICAN WATER                  P.O. BOX 6029 CAROL STREAM IL 60197-6029
MISSOURI DELTA MEDICAL CENTER            1008 N MAIN SIKESTON MO 63801
MISSOURI DEPARTMENT OF AGRICULTURE       PO BOX 630 JEFFERSON CITY MO 65102
MISSOURI DEPARTMENT OF NATURAL           DIV OF ADMIN SUPPORT ACCTG PGRM PO BOX 477 JEFFERSON CITY MO 65102
RESOURCES
MISSOURI DEPARTMENT OF REVENUE           UNCLAIMED PROPERTY DIVISION 301 W HIGH STREET ROOM 157 JEFFERSON CITY MO 65101
MISSOURI DEPARTMENT OF REVENUE           SALES & USE TAX PO BOX 840 JEFFERSON CITY MO 65105
MISSOURI DEPARTMENT OF REVENUE           PO BOX 840 JEFFERSON CITY MO 65105-0840
MISSOURI DEPARTMENTOF TRANSPORTATION     CMR P.O. BOX 60770 OKLAHOMA CITY OK 73146
MISSOURI DEPT. OF TRANSPORTATION         C/O CLAIMS MGMT RESOURCES P.O. BOX 60770 OKLAHOMA CITY OK 73146
MISSOURI DOOR CO INC                     DBA: OMEGA DOOR AND HARDWARE 1223 GIBSON ST YOUNGSTOWN OH 44502
MISSOURI PIPE FITTINGS CO                400 WITHERS AVE ST. LOUIS MO 63147
MISSOURI RELIABLE TRANSPORTATION LLC     4482 FORDER GROVE COURT SAINT LOUIS MO 63129
MISSOURI SCALE PROGRAM                   DIVISION OF WEIGHTS & MEASURES PO BOX 630 JEFFERSON CITY MO 65102
MISSOURI STATE HIGHWAY PATROL            200 EAST MAIN STREET CHARLESTON MO 63834
MISSOURI STATE HIGHWAY PATROL            COMMERCIAL VEHICLE ENFORCEMENT DIVISION PO BOX 568 JEFFERSON CITY MO 65102
MISSOURI STATE HIGHWAY PATROL            116 S 10TH ST LEXINGTON MO 64067
MISSOURI STATE TREASURER                 PO BOX 1272 JEFFERSON CITY MO 65102
MISSOURI TRUCKING ASSOCIATION            102 EAST HIGH STREET JEFFERSON CITY MO 65101
MIST CORPORATION                         OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MISTER ICE OF INDIANAPOLIS               7954 EAST 88TH STREET INDIANAPOLIS IN 46256
MISTER J EXPRESS LLC                     5316 GEORGIA LN LOUISVILLE KY 40219
MISTER SAFETY SHOES INC                  2300 FINCH AVENUE W SUITE 6 TORONTO ON M9M 2Y3 CANADA
MISTER TRUCKING SOLUTIONS LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MISTER V TRANSPORT INC                   OR OTR SOLUTONS, PO BOX 1175760 ATLANTA GA 30368-7576
MISTER V TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MISTER, BRIAN                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1292 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1301 of 2156

Claim Name                           Address Information
MISTER, RANDY                        ADDRESS ON FILE
MISTER, RONDERICK                    ADDRESS ON FILE
MISTY D WARNER                       ADDRESS ON FILE
MISTY MOUNTAIN LOGISTICS LLC         139 N 3050 W LAYTON UT 84041
MISUNAS, MICHAEL                     ADDRESS ON FILE
MISZTAL, JAKUB                       ADDRESS ON FILE
MIT FREIGHT, INC.                    OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
MIT FREIGHT, INC.                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MIT LOGISTICS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MIT US INC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MITCHELL COMMUNICATIONS INC          3470 MANCHESTER RD AKRON OH 44319
MITCHELL COMMUNICATIONS INC          101 N VILLA AVE A OKLAHOMA CITY OK 73107-6959
MITCHELL G ACOSTA                    ADDRESS ON FILE
MITCHELL INDUSTRIAL TIRE COMPA       ATTN: CLAY MASSINGILL 2915 8TH AVE CHATTANOOGA TN 37407
MITCHELL J GILBERT                   ADDRESS ON FILE
MITCHELL LILLY                       ADDRESS ON FILE
MITCHELL NELSON                      ADDRESS ON FILE
MITCHELL NELSON                      ADDRESS ON FILE
MITCHELL PUBLIC WATER DISTRICT       745 E CHAIN OF ROCKS RD. P.O. BOX 8125 GRANITE CITY IL 62040-8125
MITCHELL R HENARD                    ADDRESS ON FILE
MITCHELL S NASHVILLE WRCKR           D/B/A: MITCHELLS WEST NASHVILLE WRECKER SERVICE LLC 6311 CENTENNIAL BLVD
                                     NASHVILLE TN 37209
MITCHELL S NASHVILLE WRCKR           D/B/A: MITCHELLS WEST NASHVILLE WRECKER SERVICE LLC 6400 LOUISIANA AVE
                                     NASHVILLE TN 37209
MITCHELL, AARON                      ADDRESS ON FILE
MITCHELL, ALAN D                     ADDRESS ON FILE
MITCHELL, ALYSSE                     ADDRESS ON FILE
MITCHELL, AMOS                       ADDRESS ON FILE
MITCHELL, ANTHONY                    ADDRESS ON FILE
MITCHELL, ANTHONY                    ADDRESS ON FILE
MITCHELL, ANTHONY                    ADDRESS ON FILE
MITCHELL, ASHLEY                     ADDRESS ON FILE
MITCHELL, BERT                       ADDRESS ON FILE
MITCHELL, BILLY                      ADDRESS ON FILE
MITCHELL, BILLY                      ADDRESS ON FILE
MITCHELL, BRANDON                    ADDRESS ON FILE
MITCHELL, BRANDON                    ADDRESS ON FILE
MITCHELL, BRYAN                      ADDRESS ON FILE
MITCHELL, BRYAN                      ADDRESS ON FILE
MITCHELL, CARL                       ADDRESS ON FILE
MITCHELL, CARLOS D                   ADDRESS ON FILE
MITCHELL, CAYCE                      ADDRESS ON FILE
MITCHELL, CHARNY                     ADDRESS ON FILE
MITCHELL, CHERYL                     ADDRESS ON FILE
MITCHELL, CHRISTOPHER                ADDRESS ON FILE
MITCHELL, DAMON                      ADDRESS ON FILE
MITCHELL, DANCHARLES                 ADDRESS ON FILE
MITCHELL, DANIEL                     ADDRESS ON FILE
MITCHELL, DANIEL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1293 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1302 of 2156

Claim Name                          Address Information
MITCHELL, DARREN                    ADDRESS ON FILE
MITCHELL, DEANDRE                   ADDRESS ON FILE
MITCHELL, DELEON                    ADDRESS ON FILE
MITCHELL, DYLAN                     ADDRESS ON FILE
MITCHELL, EARL S                    ADDRESS ON FILE
MITCHELL, EDMOND                    ADDRESS ON FILE
MITCHELL, EDWARD                    ADDRESS ON FILE
MITCHELL, ERROL                     ADDRESS ON FILE
MITCHELL, FREDDIE                   ADDRESS ON FILE
MITCHELL, GARY                      ADDRESS ON FILE
MITCHELL, GLORIA                    ADDRESS ON FILE
MITCHELL, GREGORY B                 ADDRESS ON FILE
MITCHELL, GREGORY B                 ADDRESS ON FILE
MITCHELL, JACET                     ADDRESS ON FILE
MITCHELL, JADYN                     ADDRESS ON FILE
MITCHELL, JAMES                     ADDRESS ON FILE
MITCHELL, JAMES                     ADDRESS ON FILE
MITCHELL, JAMES                     ADDRESS ON FILE
MITCHELL, JAMES                     ADDRESS ON FILE
MITCHELL, JOHN C                    ADDRESS ON FILE
MITCHELL, JOHNNY                    ADDRESS ON FILE
MITCHELL, JOSEPH                    ADDRESS ON FILE
MITCHELL, JOSEPH                    ADDRESS ON FILE
MITCHELL, JOSEPH                    ADDRESS ON FILE
MITCHELL, JOSHUA                    ADDRESS ON FILE
MITCHELL, KEITH                     ADDRESS ON FILE
MITCHELL, KEVIN                     ADDRESS ON FILE
MITCHELL, KEVIN                     ADDRESS ON FILE
MITCHELL, KURT                      ADDRESS ON FILE
MITCHELL, LAMAR                     ADDRESS ON FILE
MITCHELL, LANCE                     ADDRESS ON FILE
MITCHELL, LATRELL                   ADDRESS ON FILE
MITCHELL, LEGETTE                   ADDRESS ON FILE
MITCHELL, LIAM                      ADDRESS ON FILE
MITCHELL, LUCAS                     ADDRESS ON FILE
MITCHELL, MARJORIE                  ADDRESS ON FILE
MITCHELL, MARK                      ADDRESS ON FILE
MITCHELL, MARK                      ADDRESS ON FILE
MITCHELL, MATTHEW                   ADDRESS ON FILE
MITCHELL, MAURICIO                  ADDRESS ON FILE
MITCHELL, MICHAEL                   ADDRESS ON FILE
MITCHELL, MICHAEL                   ADDRESS ON FILE
MITCHELL, MICHAEL                   ADDRESS ON FILE
MITCHELL, MICHAEL                   ADDRESS ON FILE
MITCHELL, MICHAEL                   ADDRESS ON FILE
MITCHELL, MICHAEL                   ADDRESS ON FILE
MITCHELL, MIKE                      ADDRESS ON FILE
MITCHELL, MIKE                      ADDRESS ON FILE
MITCHELL, NATHANIEL                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1294 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1303 of 2156

Claim Name                          Address Information
MITCHELL, NORMAN                    ADDRESS ON FILE
MITCHELL, PHYLLIS                   ADDRESS ON FILE
MITCHELL, RAFAEL                    ADDRESS ON FILE
MITCHELL, RANDY                     ADDRESS ON FILE
MITCHELL, RASHEEN                   ADDRESS ON FILE
MITCHELL, RAY                       ADDRESS ON FILE
MITCHELL, REGINALD                  ADDRESS ON FILE
MITCHELL, REGINALD                  ADDRESS ON FILE
MITCHELL, RICHARD                   ADDRESS ON FILE
MITCHELL, RICHARD W                 ADDRESS ON FILE
MITCHELL, ROBERT                    ADDRESS ON FILE
MITCHELL, ROBERT J                  ADDRESS ON FILE
MITCHELL, RODNEY                    ADDRESS ON FILE
MITCHELL, SAVALAS                   ADDRESS ON FILE
MITCHELL, SHANIKA                   ADDRESS ON FILE
MITCHELL, STARSKY                   ADDRESS ON FILE
MITCHELL, TADARIUS                  ADDRESS ON FILE
MITCHELL, THOMAS                    ADDRESS ON FILE
MITCHELL, TIMOTHY                   ADDRESS ON FILE
MITCHELL, TRE                       ADDRESS ON FILE
MITCHELL, WENDELL                   ADDRESS ON FILE
MITCHELL, WILLIAM                   ADDRESS ON FILE
MITCHELL, WILLIAM                   ADDRESS ON FILE
MITCHELL, YOLANDA                   ADDRESS ON FILE
MITCHELL1                           25029 NETWORK PL CHICAGO IL 60673
MITCHELLS FREIGHT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MITCHELLS WEST NASHVILLE            WRECKER SERVICE LLC, 6400 LOUISIANA AVE. NASHVILLE TN 37209
MITCHEM, ALDRICK                    ADDRESS ON FILE
MITCHEM, OTIS                       ADDRESS ON FILE
MITCHEM, ROBIN                      ADDRESS ON FILE
MITCHEN, THOMAS                     ADDRESS ON FILE
MITCHENER, TOMMY                    ADDRESS ON FILE
MITCHUM, MARK                       ADDRESS ON FILE
MITCO IND                           PO BOX 9537 CHATTANOOGA TN 37412
MITEFF, MATTHEW                     ADDRESS ON FILE
MITEL BUSINESS SYSTEMS, INC         PO BOX 975171 DALLAS TX 75397
MITEL BUSINESS SYSTEMS, INC.        PO BOX 53230 PHOENIX AZ 85072
MITOBE, RICHARD                     ADDRESS ON FILE
MITOCARU, ADRIAN                    ADDRESS ON FILE
MITOK EXPRESS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MITRA                               OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                    45263-9565
MITRA KRATOM, LLC                   ATTN: ROBERT KEITH JOHNSON 4762 E. HARMONY CIR. MESA AZ 85206-3332
MITSUBISHI INTL FOOD INGRED         STE 400, 5080 TUTTLE CROSSING BLVD DUBLIN OH 43016
MITSUBISHI LOGISNEXT AMERICAS       (HOUSTON) INC, 2121 W SAM HOUSTON PKWY N HOUSTON TX 77043
MITSUBISHI MOTORS SEPDC             ATTN: MICHAEL GRAMMATICO 801 INTERSTATE WEST PKWY LITHIA SPRINGS GA 30122
MITTEN TRANSPORTATION LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MITULSKI, MIKE                      ADDRESS ON FILE
MITY LITE                           ATTN: JEREMY K WILLIAMS LOGISTICS 1307 W 400 N OREM UT 84057



Epiq Corporate Restructuring, LLC                                                           Page 1295 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1304 of 2156

Claim Name                           Address Information
MITY LITE                            ATTN: JEREMY WILLIAMS LOGISTICS 1301 W 400 N OREM UT 84057
MITZEL, MICHAEL                      ADDRESS ON FILE
MITZELFELT, DAVID                    ADDRESS ON FILE
MIX, BARRY                           ADDRESS ON FILE
MIX-TEK WISCONSIN LLC                212 WEST 3RD STREET NECEDAH WI 54646
MIXA TRANSPORTATION LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MIXON, LINDA                         ADDRESS ON FILE
MIXON, TODD                          ADDRESS ON FILE
MIXSON, EMILY                        ADDRESS ON FILE
MIYAH LOGISTICS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MIZCO INTERNATIONAL INC              ATTN: JACKIE DAVIS-MARTIN 125 MOEN AVE UNIT 2 CRANFORD NJ 07016
MIZE, RYAN                           ADDRESS ON FILE
MIZERAK, MICHAEL                     ADDRESS ON FILE
MJ & J ENTERPRISES LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MJ & S FREIGHT CORPORATION           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MJ CARGO LLC                         OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
MJ DIESEL SERVICES LLC               OR OTR CAPITAL LLC PO BOX 1175760 ATLANTA GA 30368-7576
MJ EXPRESS LINES INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MJ FREIGHT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MJ HOUSTON TRANSPORT, LLC            OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MJ INTERSTATE INC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
MJ JEFFERSON TRUCKING LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MJ LOGISTIC LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MJ LOGISTIC SERVICES INC             1335 ALEX DRIVE NORTH BRUNSWICK NJ 08902
MJ MECHANICAL SERVICES, INC.         2040 MILITARY RD TONAWANDA NY 14150
MJ MECHANICAL SERVICES, INC.         95 PIRSON PARKWAY TONAWANDA NY 14150
MJ MODERN TRUCKING INC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MJ TRANSPORT OF ORLANDO LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MJ TRANSPORTATION EXPRESS            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MJ TRANSPORTATIONS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MJB TRANSPORTATION INC               OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
MJC TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MJH LOGISTICS LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
MJL TRUCKING                         OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
MJM CARRIER EXPRESS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MJM FREIGHT CO                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MJM TRANSFERS, LLC.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MJN ENTERPRISES LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MJN TRANSPORT INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MJR TRUCKING LLC (MC046370)          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MJS EXPRESS TRUCKING LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MJS USA TRANSPORTATION INC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MJSISITRUCKING LLC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MK BOSS TRANSPORTATION INC.          140 WESTBROOK RD FEASTERVILLE PA 19053
MK CARGO INC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MK CARRIERS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MK CARRIERS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                               Page 1296 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1305 of 2156

Claim Name                           Address Information
MK FREIGHT INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MK FREIGHT LLC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MK GLOBAL INC                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MK LOGISTICS HOLDING INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MK LOGISTICS LLC (ARLINGTON TX)      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MK LOS ANGELES TRANSPORT LLC         OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MK MOVERS                            91 NEW ENGLAND AVE PISCATAWAY NJ 08854
MK MOVERS                            OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
MK PREMIER INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MK QUALITY CARGO INC                 OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
MK TRANSPORT LLC (MC104962)          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MK TRUCKING EXPRESS LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MK TRUCKING LLC                      OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
MK TRUCKING LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MK-TRUCKING                          OR GULF COAST BANK & TRUST COMPANY P.O. BOX 732148 DALLAS TX 75373
MK1 TRANS                            836 RUDYTOWN ROAD NEW CUMBERLAND PA 17070
MKA EXPRESS LLC                      OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
MKARGO LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MKB TRUCKING LLC                     6641 WAKEFIELD DR APT 303 ALEXANDRIA VA 22307
MKB TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MKD ENERGIZE LLC                     PO BOX 292412 DAYTON OH 45429
MKD LOGISTICS                        OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
MKENDRA A LANDRY                     ADDRESS ON FILE
MKF TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MKG INC                              OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
MKGTRANSPORTATION LLC                871 JEFFERSON DR SW CONYERS GA 30094-5067
MKH TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MKM INVESTING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MKM LOGISTICS LLC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
MKN UNITED INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MKO LOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MKSEAL TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MKT FREIGHTS LLC                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MKT TRUCKING LLC                     OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320
MKU4 LLC                             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MKU4 LLC                             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ML COMPANY                           OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
ML EXPRESS CARRIER CORP              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
ML TRANSPORT LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MLAA LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MLAT EXPRESS TRANSPORT LLC           OR LITTLE MOUNTAIN LOGISTICS LLC PO BOX 850001 DEPT 9912 ORLANDO FL 32885-9912
MLBD TRANSPORTATION LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MLC BRAVO TRUCKING LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MLC CARRIER INC                      OR LOVES SOLUTIONS, PO BOX 639565 CINCINNATI OH 45263-9565
MLC CARRIER INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MLC FREIGHT SERVICES, LLC            PO BOX 12651 CHICAGO IL 60612
MLC TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MLD TRUCKIN LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MLDT                                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1297 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1306 of 2156

Claim Name                              Address Information
MLG EXPEDITING LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MLG FREIGHT LLC                         OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MLJ LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MLK EXPRESS LLC                         OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
MLT TRANSPORT INC                       OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
MLT TRANSPORT, LLC                      1841 GOVER PARKWAY MT. PLEASANT MI 48858
MLW TRUCKING LLC                        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MM BROTHERS INC                         OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MM CARRIER INC                          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
MM COURIER LLC                          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MM EXPRESS                              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MM EXPRESS LLC.                         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MM HOME DELIVERY SERVICES INC           9519 AVENEL RD SILVER SPRING MD 20903
MM LOGISTICS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MM QUALITY LOGISTICS INC                PO BOX 823184 VANCOUVER WA 98682
MM TRANSPORTATION LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MM TRUCKING LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MM&K TRUCKING INC                       P0 BOX 5021 GREENVILLE MS 38704
MM&SJ TRANSPORT LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MM2 UNIVERSAL LOGISTICS SOLUTIONS INC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MMA TRANSPORT SERVICES CORP             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MMA TRUCKING LLC                        OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MMA TRUCKING LLC (MC1195232)            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MMB EXPRESS LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MMB TRUCKING LLC                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MMDR CARRIERS INC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MME LOGISTICS                           65 28TH ST S FARGO ND 58103
MMG MODERN LLC                          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MMG TRUCK & TRAILER REPAIR              236 CHOCTAW LN SPARTA TN 38583
MMH SIMBA LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MMJ LOGISTICS LLC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MMJ LOGISTICS LLC (MC1177702)           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MMK TRANSPORT INC                       8825 S 84TH CT HICKORY HILLS IL 60457
MMM CARGO CO                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MMM FREIGHT CORP                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MMM PRIME INC                           606 BROADWAY WISC DELLS WI 53965-1552
MMM TRANSPORTATION LTD                  3730 CAPRI CT GLENVIEW IL 60025
MMM-EXPRESS                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MMNF LOGISTICS INC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
MMP SERVICES INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MMR CARRIERS LLC                        OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
MMR TRUCKING                            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MMS EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MMS LOGISTICS INCORPORATED              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MMS TRANSPORTATION LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MMT TRANSPORT INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MMX TRANSPORTATION INC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MN CARRIER LLC                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MN CARRIER LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                  Page 1298 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1307 of 2156

Claim Name                           Address Information
MN CARRIER LTD                       OR BVD CAPITAL, 8117 TORBRAM RD BRAMPTON ON L6T 5C5 CANADA
MN DEPT OF LABOR AND INDUSTRY        FINANCIAL SERVICES, 443 LAFAYETTE RD SAINT PAUL MN 55155
MN DEPT OF LABOR AND INDUSTRY        FINANCIAL SERVICES OFFICE, PO BOX 64219 ST. PAUL MN 55164
MN DOT                               395 JOHN IRELAND BLVD ST. PAUL MN 55155
MN EXPRESS INC                       13520 MERRIMAN RD LIVONIA MI 48150
MN H EXPRESS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MN LOGISTICS LLC                     OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
MN LOGISTICS LLC (MC052716)          OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
MN TRUCKING SW INC                   2498 ROLL DR 622 SAN DIEGO CA 92154
MN WEIGHTS AND MEASURES              MINNESOTA DEPT. OF COMMERCE 85 7TH PLACE E SUITE 280 ST. PAUL MN 55101-2198
MN89 INC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MNA TRANSPORTATION                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MNA TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MNALAN TRUCKING CORP                 1401 N WOOD DALE RD WOOD DALE IL 60191
MNALAN TRUCKING CORP                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MNE FREIGHT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MNG TRANSPORTATION INC               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674-7671
MNH TRUCK LEASING CO., LLC           MNH TRUCK LEASING CO., LLC, PO BOX 984 FOSTORIA OH 44830
MNJ TRUCKING LLC                     OR W W PAYMENT SYSTEM INC DEPT. 996 PO BOX 14910 HUMBLE TX 77347-4910
MNK TRANS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MNM CARRIER GROUP LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MNM FREIGHT LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MNM FREIGHT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MNM MANUFACTURING                    3019 E HARCOURT ST COMPTON CA 90221
MNM TRANSPORT SERVICES LLC           OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
MNPL FUND                            9000 MACHINISTS PLACE UPPER MARLBORO MD 20772
MNQ LOGISTICS LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MNS1 EXPRESS INC                     PO BOX 95341 CHICAGO IL 60694-5341
MNS1 EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MNT BROTHERS TRANSPORTATION LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MNU7 LOGISTICS LLC                   OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
MO DEPT OF TRANSPORTATION            PO BOX 60770 CMR OKLAHOMA CITY OK 73146
MO DOT                               105 W CAPITOL AVE JEFFERSON CITY 65102
MO DOT                               105 W. CAPITOL AVENUE JEFFERSON CITY MO 65102
MO LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MO PARADICE INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MO TRANSPORT LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MO TRANSPORT, INC.                   P.O. BOX 782 LOVELAND OH 45140
MO TRUCKING INC                      21 PICONE BLVD FARMINGDALE NY 11735
MO TRUCKING INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MO TRUCKING LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MOA LOGISTICS LLC                    OR LOGISTICS RESOURCES LLC 900 APOLLO ROAD EAGAN MN 55121
MOA, PENITANI                        ADDRESS ON FILE
MOAD, ROY B                          ADDRESS ON FILE
MOAK, LINDA                          ADDRESS ON FILE
MOALA, SEPETI                        ADDRESS ON FILE
MOALUSI, CHINGAIPE                   ADDRESS ON FILE
MOAN, RENEE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1299 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1308 of 2156

Claim Name                              Address Information
MOANT TRANSPORTATION LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MOATES EXCAVATING                      5964 SE BEASLEY RIVERTON KS 66770
MOAVAN TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MOB HAULING LLC                        OR INTEGRA FREIGHT MANAGEMENT 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
MOBAL TRUCKING, INC.                   12 ASPEN RIDGE COURT ST PETERS MO 63376
MOBERLY, RASHAD                        ADDRESS ON FILE
MOBI EXPRESS INC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MOBILE AIR TRANSPORT, INC.             PO BOX 219 LATHAM NY 12110
MOBILE AIRPORT AUTHORITY               1891 NINTH STREET MOBILE AL 36615
MOBILE AIRPORT AUTHORITY               ATTN: CHRIS CURRY 1891 9TH STREET MOBILE AL 36615
MOBILE AREA WATER & SEWER SYS          725 MOFFETT RD MAWSS PARK FOREST PLAZA MOBILE AL 36618
MOBILE COUNTY REVENUE COMMISSIONER,    TAX ASSESSOR, 3925 MICHAEL BLVD SUITE G MOBILE AL 36609
MOBILE DIESEL REPAIR SERVICES INC      PO BOX 795 SUTHERLIN OR 97479
MOBILE DIESEL SERVICE                  PO BOX 795 SUTHERLIN OR 97479
MOBILE DIESEL SERVICE - ND             PO BOX 71 MANDAN ND 58554
MOBILE DIESEL SERVICE LLC              PO BOX 185 BROOKHAVEN MS 39602
MOBILE FENCE CO INC.                   4308 HALLS MILL ROAD MOBILE AL 36693
MOBILE FLEET SERVICE INC               P O BOX 10828 YAKIMA WA 98909
MOBILE FLEET WASH, INC.                PO BOX 3312 LA HABRA CA 90631
MOBILE FORKLIFT AND TRUCK SERVICE, INC. 1120 VALENTINE RD FARMINGTON NM 87401
MOBILE HYDRAULICS OF GEORGIA INC       PO BOX 2292 DACULA GA 30019
MOBILE MAINTENANCE & TOWING LLC        2014 W GARDNER LANE TUCSON AZ 85705
MOBILE MEDICAL EXPRESS LLC             10900 MENAUL BLVD NE STE C ALBUQUERQUE NM 87112
MOBILE MINI SOLUTIONS                  PO BOX 650882 DALLAS TX 75265
MOBILE ROAD SERVICE                    P.O. BOX 151 MINOTOLA NJ 08341
MOBILE SERVICES LLC                    PO BOX 3336 ALBUQUERQUE NM 87190
MOBILE STOR INC                        1125 MAGGIE LN STE B BILLINGS MT 59101
MOBILE TRAILER REPAIR                  3435 ASTROZON CT COLORADO SPRINGS CO 80910
MOBILE TRANSPORTATION SERVICE          2100 MEREDITH PARK DR. MCDONOUGH GA 30253
MOBILE TRUCK REPAIR                    545 W CEDER GROVE RD IRVINE KY 40336
MOBILE TRUCK WASH                      PO BOX 6208 RENO NV 89513
MOBILE TRUCKING L.L.C.                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MOBILE UTILITY SERVICES LTD CO         323 W 32ND STREET DAVENPORT IA 52803
MOBILI PROPERTY MANAGEMENT             PO BOX 1543 SABANA SECA PR 00952
MOBLEY, BERTIS                         ADDRESS ON FILE
MOBLEY, NICHOLAS                       ADDRESS ON FILE
MOBLEY, RAY                            ADDRESS ON FILE
MOBLEY, TERRELL                        ADDRESS ON FILE
MOBLEY, WILEY                          ADDRESS ON FILE
MOBO TRANSPORTATION LLC                OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOCERA, EDWARD                         ADDRESS ON FILE
MOCERINO, PERRY                        ADDRESS ON FILE
MOCK, BRUCE                            ADDRESS ON FILE
MOCK, CHANDA                           ADDRESS ON FILE
MOCK, GREGORY                          ADDRESS ON FILE
MOCK, TROY                             ADDRESS ON FILE
MOCKENHAUPT, LINDA                     ADDRESS ON FILE
MOCKINGBIRD TRANSPORT LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MOCO TRUCKING SERVICES LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                Page 1300 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1309 of 2156

Claim Name                           Address Information
MOCTEZUMA TRANSPORT LLC              OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
MOD ENTERPRISES INC                  5596 MURPHY RD STE 101 LOCKPORT NY 14094
MODE GLOBAL                          14785 PRESTON RD STE 850 DALLAS TX 75254
MODE GLOBAL                          ATTN: ASHLEIGH FARKAS 14785 PRESTON ROAD, SUITE 850 DALLAS TX 75254
MODE GLOBAL                          ATTN: CARGO CLAIMS DEPT 14785 PRESTON RD STE 850 DALLAS TX 75254
MODE GLOBAL                          ATTN: DWANE CRAIN CARGO CLAIMS DEPT 14785 PRESTON RD 850 DALLAS TX 75254
MODE GLOBAL                          ATTN: RENE PINON 14785 PRESTON ROAD SUITE 850 DALLAS TX 75254
MODE GLOBAL                          ATTN: TIERNERY WILLIAMS CARGO CLAIMS DEPT 14785 PRESTON RD 850 DALLAS TX 75254
MODE GLOBAL                          ATTN: YOLANDA MARTINEZ 14785 PRESTON RD STE 850 DALLAS TX 75254
MODE GLOBAL                          CARGO CLAIMS DEPT 14785 PRESTON RD 850 DALLAS TX 75254
MODE TRANSPORTATION                  PO BOX 654371 DALLAS TX 75265
MODE TRANSPORTATION LLC              6077 PRIMACY PARKWAY 4TH FLOOR SUITE 400 MEMPHIS TN 38119
MODE TRANSPORTATION LLC              ATTN: SUZANNE WASHINGTON PO BOX 654371 DALLAS TX 75265
MODE TRANSPORTATION LLC              PO BOX 654371 DALLAS TX 75265-4371
MODEL 2 TRANSPORT LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MODEL FREIGHT LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MODEL LINEN SUPPLY                   PO BOX 1669 OGDEN UT 84402
MODEL TRANSPORT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MODEL TRANSPORT LLC                  9304 FOREST LN 236 DALLAS TX 75243
MODEL TRANSPORT LLC (MC052641)       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MODENA FREIGHT LLC                   OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
MODERN DISPOSAL SERVICES, INC.       4746 MODEL CITY RD, PO BOX 209 MODEL CITY NY 14107
MODERN EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MODERN GROUP LTD.                    PO BOX 216 BRIDGEPORT CT 06601
MODERN GROUP LTD.                    T/A MODERN HANDLING EQUIPMENT 295 NEW COMMERCE BLVD WILKES BARRE PA 18706
MODERN HOPS LLC                      1007 BRANCH DR ALPHRETTA GA 30004
MODERN LANDFILL, INC                 2025 FRUITBELT PARKWAY NIAGARA FALLS ON L2J 0A5 CANADA
MODERN MOVERS                        5607 8TH ST. W LEHIGH ACRES FL 33971
MODERN NOMAD INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MODERN TRUCKING INC                  525 SUMMIT BLVD BOWLING GREEN KY 42104
MODESTO ALFONSO JARA                 ADDRESS ON FILE
MODESTO OVERHEAD DOOR                608 GLASS LANE MODESTO CA 95356
MODI LOGISTICS SOLUTIONS LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MODICA, DENNIS                       ADDRESS ON FILE
MODLINSKI, JEFFREY                   ADDRESS ON FILE
MODREES TERATA TRUCKING LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MODRELL, SCOTT                       ADDRESS ON FILE
MODULUBE                             15115 SW SEQUOIA PKWY STE 110 PORTLAND OR 97224
MODZELEWSKI, CHRISTOPHER             ADDRESS ON FILE
MOE - MOVING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOE ACRES INDUSTRIAL SERVICES        809 S 113TH AVE AVONDALE AZ 85323-6866
MOE JO LOGISTICS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MOE LOGISTICS INC                    OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
MOE TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MOE, JUNE                            ADDRESS ON FILE
MOE, LISA                            ADDRESS ON FILE
MOE, THOMAS                          ADDRESS ON FILE
MOEDL, BILL L                        ADDRESS ON FILE
MOEGO EXPRESS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                             Page 1301 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1310 of 2156

Claim Name                           Address Information
MOEHNKE, DALE                        ADDRESS ON FILE
MOELLER, CORY                        ADDRESS ON FILE
MOELLER, JAMES                       ADDRESS ON FILE
MOEN, KYLE                           ADDRESS ON FILE
MOEN, STEVE                          ADDRESS ON FILE
MOENOA, JOSEPH                       ADDRESS ON FILE
MOEONE, ROMAN                        ADDRESS ON FILE
MOES TRANSPORTATION INC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MOES, TERRI                          ADDRESS ON FILE
MOFFA JR, CARMEN                     ADDRESS ON FILE
MOFFETT, DANIEL                      ADDRESS ON FILE
MOFFETT, JUSTIN                      ADDRESS ON FILE
MOFFITE, ANTONIO H                   ADDRESS ON FILE
MOFFITT, KEVIN                       ADDRESS ON FILE
MOGE, TODD                           ADDRESS ON FILE
MOGENSEN, RUSSELL                    ADDRESS ON FILE
MOGES, TEODROS                       ADDRESS ON FILE
MOGGEL, SCOTT                        ADDRESS ON FILE
MOGNET, TRAVIS                       ADDRESS ON FILE
MOGU LLC                             8911 BLAIR RD MINT HILL NC 28227
MOGUEL, TANIA                        ADDRESS ON FILE
MOH FREIGHT CARRIERS                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MOH MOH EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MOHA LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MOHAMED L MAHJOUBE                   ADDRESS ON FILE
MOHAMED, ABDIKANI                    ADDRESS ON FILE
MOHAMED, AHMED                       ADDRESS ON FILE
MOHAMED, ALAADIN                     ADDRESS ON FILE
MOHAMED, IBRAHIM                     ADDRESS ON FILE
MOHAMED, MOHAMED                     ADDRESS ON FILE
MOHAMED, MOHAMED A                   ADDRESS ON FILE
MOHAMED, YUSUF                       ADDRESS ON FILE
MOHAMMAD ELHARRAGUI& ZAHRA KIHEL     ADDRESS ON FILE
MOHAMMED K AMRO                      ADDRESS ON FILE
MOHAMMED, ABDUL                      ADDRESS ON FILE
MOHAMMED, FADIL                      ADDRESS ON FILE
MOHAMMED, FIDDEOUS                   ADDRESS ON FILE
MOHAMMED, HAFEEZ                     ADDRESS ON FILE
MOHAMMED, SARA                       ADDRESS ON FILE
MOHAR TRANSPORT LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MOHAVE COUNTY                        PO BOX 712 KINGMAN AZ 86402
MOHAVE COUNTY TREASURER              PO BOX 53078 PHOENIX AZ 85072
MOHAVE COUNTY TREASURER              MELISSA HAVATONE, PO BOX 53078 PHOENIX AZ 85072
MOHAVE COUNTY TREASURER              PO BOX 712 KINGMAN AZ 86402
MOHAWK INDUSTRIES                    ATTN: JOHN PEMBERTON PO BOX 12069 CALHOUN GA 30703
MOHAWK PAPER                         108 SMITH BLVD ALBANY NY 12202
MOHAWK STREET PROPERTIES LLC         ATTN: JODI JOHNSTON, CUSHMAN & WAKEFIELD PO BOX 399118 SAN FRANCISCO CA 94139
MOHAWK USA                           458 DANBURY RD BLDG B NEW MILFORD CT 06776



Epiq Corporate Restructuring, LLC                                                            Page 1302 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1311 of 2156

Claim Name                           Address Information
MOHEB, ALEX                          ADDRESS ON FILE
MOHIE TRANS LINE                     OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
MOHLER JR, MICHAEL                   ADDRESS ON FILE
MOHNEY, TIMOTHY                      ADDRESS ON FILE
MOHR, KRISTINE                       ADDRESS ON FILE
MOHR, MIKE E                         ADDRESS ON FILE
MOHR, WILL                           ADDRESS ON FILE
MOI, ANDREW                          ADDRESS ON FILE
MOI, LOUIS R                         ADDRESS ON FILE
MOIYOL TRANSPORTATION SERVICES LLC   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MOIZ EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MOJACK TERMINAL MAINTENANCE, INC     387 MAGNOLIA AVE. STE 103-340 CORONA CA 92879
MOJICA, MARIO                        ADDRESS ON FILE
MOJICA, XAVIER                       ADDRESS ON FILE
MOJO GROUP HOLDINGS LLC              214 SHADY LANE SPRING LAKE MI 49456
MOJO TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MOKRI, LEAH                          ADDRESS ON FILE
MOKULEHUA, LAWRENCE                  ADDRESS ON FILE
MOL, WILLIAM J                       ADDRESS ON FILE
MOLANCO SERVICES LLC                 701 W STATE BLVD FORT WAYNE IN 46808
MOLBAKS                              ATTN: DARCIE SCHULTZ 13625 NE 175 WOODINVILLE WA 98072
MOLDENHAUER, FRANK                   ADDRESS ON FILE
MOLDEX INC.                          OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MOLDEX TRANSPORT INC                 OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
MOLEK, DAVID                         ADDRESS ON FILE
MOLENAAR, JURJEN                     ADDRESS ON FILE
MOLES, CHANDLER                      ADDRESS ON FILE
MOLESKI, NICK                        ADDRESS ON FILE
MOLETTE, JUSTYCE                     ADDRESS ON FILE
MOLIDOR, JOHN                        ADDRESS ON FILE
MOLIGA, MATAGOFIE                    ADDRESS ON FILE
MOLINA CAMARGO, ROMEL                ADDRESS ON FILE
MOLINA MORENO, JESUS ALBERTO         ADDRESS ON FILE
MOLINA ONE INC                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MOLINA, ANTHONY                      ADDRESS ON FILE
MOLINA, CARLOS                       ADDRESS ON FILE
MOLINA, DIEGO                        ADDRESS ON FILE
MOLINA, FRANCISCO                    ADDRESS ON FILE
MOLINA, GUADALUPE                    ADDRESS ON FILE
MOLINA, MARIO                        ADDRESS ON FILE
MOLINA, MIGUEL                       ADDRESS ON FILE
MOLINA, NORMA                        ADDRESS ON FILE
MOLINA, OMAR                         ADDRESS ON FILE
MOLINA, RAFAEL                       ADDRESS ON FILE
MOLINA, RICARDO                      ADDRESS ON FILE
MOLINAR, GILBERTO                    ADDRESS ON FILE
MOLINAS TRANSPORT LLC                800 JEROME PL WEST LAWN PA 19609
MOLIOO, TOESE                        ADDRESS ON FILE
MOLITIKA, SIONE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1303 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1312 of 2156

Claim Name                              Address Information
MOLL, TODD                              ADDRESS ON FILE
MOLLETT, BILLY                          ADDRESS ON FILE
MOLLMANS CULLIGAN WATER                 2521 S I-35 SERVICE RD, PO BOX 95247 OKLAHOMA CITY OK 73143
MOLLMANS CULLIGAN WATER                 PO BOX 95247 OKLAHOMA CITY OK 73143
MOLLOHAN, AARON                         ADDRESS ON FILE
MOLLOY, KASSANDRA                       ADDRESS ON FILE
MOLLY LOGISTICS INC                     OR AZALINE CAPITAL LLC 8724 SUNSET DRIVE, 231 MIAMI FL 33173
MOLLYS SUDS                             C/O ECHO GLOBAL 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
MOLNAR EXCAVATING                       2955 SAGE ROAD BUCHANAN MI 49107
MOLNAR, BRANDON                         ADDRESS ON FILE
MOLNAR, CORY                            ADDRESS ON FILE
MOLNAR, JOHN                            ADDRESS ON FILE
MOLNAR, MICHAEL                         ADDRESS ON FILE
MOLO OIL COMPANY                        ELDRIDGE WAREHOUSE, PO BOX 1540 SAGEVILLE IA 52001
MOLO PETROLEUM                          123 SOUTHERN AVENUE DUBUQUE IA 52001
MOLONEY, ANDREW                         ADDRESS ON FILE
MOLONEY, KAREN                          ADDRESS ON FILE
MOLSEY, LARIE                           ADDRESS ON FILE
MOLSTAD, MICHAEL                        ADDRESS ON FILE
MOLTBIA, JONATHAN                       ADDRESS ON FILE
MOLTON, RICHARD                         ADDRESS ON FILE
MOMBERGER, DAVID                        ADDRESS ON FILE
MOMBERGER, JAKE                         ADDRESS ON FILE
MOMENTUM HAULERS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MOMENTUM TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MOMENTUM TRUCK GROUP                    PO BOX 1475 SAINT CLOUD MN 56302
MOMIC, IVANKA                           ADDRESS ON FILE
MOMO & CO LLC                           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOMO LOGISTICS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MOMO TEA INC                            ATTN: JIMMY LEE 5611 ARNOLD AVE MASPETH NY 11378
MOMO TRANSPORTATION LLC                 OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MOMO&BROTHERS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MOMONA TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MOMS MEKHI &MIKES MEMORIAL LOGISTICS    2125 JONESVILLE RD SIMPSONVILLE SC 29681-4321
LLC
MOMS MEKHI &MIKES MEMORIAL LOGISTICS    OR SEVEN OAKS CAPITAL PO BOX 669130 DALLAS TX 75266-9130
LLC
MON MACK TRUCKING                       4113 W MILE 17 1/2 RD EDINBURG TX 78541-2057
MON PRIDE EXPRESS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MONACO TRANSPORT                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MONACO, DANIELLE                        ADDRESS ON FILE
MONACO, JOHN                            ADDRESS ON FILE
MONACO, MICHAEL                         ADDRESS ON FILE
MONADNOCK LIFT TRUCK SERVICE            788 NORTH ST, PO BOX 293 JAFFREY NH 03452
MONADNOCK MOUNTAIN SPRING WATER, INC.   PO BOX 518 WILTON NH 03086
MONAFRUITS LLC                          OR OTR CAPITAL LLC DEPT 390 P.O. BOX 1000 MEMPHIS TN 38148
MONAHAN, CAROLYN                        ADDRESS ON FILE
MONAHAN, JERRY                          ADDRESS ON FILE
MONAHAN, JOHN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1304 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1313 of 2156

Claim Name                           Address Information
MONAHAN, PHILIP                      ADDRESS ON FILE
MONAHON, RONALD                      ADDRESS ON FILE
MONANGA, FREDDY                      ADDRESS ON FILE
MONARCH LITHO INC                    1501 DATE ST MONTEBELLO CA 90640
MONARCH METAL INC                    1700 OCEAN AVE 2 RONKONKOMA NY 11779
MONARCH METAL INC                    1700 OCEAN AVE, SUITE 2 RONKONKOMA NY 11779
MONARK LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MONARK PREMIUM APPLIANCE             9025 S KYRENE RD TEMPE AZ 85284
MONCAYO, CARLOS                      ADDRESS ON FILE
MONCAYO, JOEL                        ADDRESS ON FILE
MONCHI TRANSPORT LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MONCIVAIS, FILIBERTO                 ADDRESS ON FILE
MONDAINE, DANIELLE                   ADDRESS ON FILE
MONDAIR TRUCKING INC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MONDAY, FELTON                       ADDRESS ON FILE
MONDAY, GODWIN                       ADDRESS ON FILE
MONDAY, JONATHAN                     ADDRESS ON FILE
MONDAY, STORMY                       ADDRESS ON FILE
MONDIAL AUTOMOTIVE, INC.             PO BOX 560248 COLLEGE POINT NY 11356
MONDIE, ANTWON                       ADDRESS ON FILE
MONDINE, BRANDOM                     ADDRESS ON FILE
MONDO MOTION LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MONDRAGON & SON TRUCKING LLC         OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MONDRAGON, FELIPE                    ADDRESS ON FILE
MONDREY, CYNTHIA                     ADDRESS ON FILE
MONDY, VARICE                        ADDRESS ON FILE
MONE TRANSPORT, LLC                  14002 MINES RD STE 2 LAREDO TX 78045
MONETTE JR, STEVEN                   ADDRESS ON FILE
MONEY LONG LOGISTICS LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MONEY MAKER ENTERPRISES LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MONEY MOTIVATED LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MONEY TRANSPORT, INC.                13113 GIRVAN WAY FISHERS IN 46037
MONEY TREE EXPRESS LLC               686 K ST DAVID CITY NE 68632
MONEYPENNY TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MONGAN JR, JAMES                     ADDRESS ON FILE
MONGAN, JASON                        ADDRESS ON FILE
MONGAR, ROY                          ADDRESS ON FILE
MONGARE TRANSPORTERS LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MONGE VITERI, ALBERTO                ADDRESS ON FILE
MONGE, CHRISTOPHER                   ADDRESS ON FILE
MONGEAU, DONALD                      ADDRESS ON FILE
MONGELLI, PAUL L                     ADDRESS ON FILE
MONGELLI, PAUL L                     ADDRESS ON FILE
MONIX, ANTHONY                       ADDRESS ON FILE
MONIZ, LOGAN                         ADDRESS ON FILE
MONJE/PEDMOND                        10200 N. LOMBARD PORTLAND OR 97203
MONK, FRANK                          ADDRESS ON FILE
MONK, JAEDEN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1305 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1314 of 2156

Claim Name                              Address Information
MONK, WALTER                            ADDRESS ON FILE
MONKEYS TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MONO TRUCKING                           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MONONA PLUMBING & FIRE PROTECTION INC   3126 WATFORD WAY MADISON WI 53713
MONONGAHELA POWER                       5001 NASA BLVD FAIRMONT WV 26554
MONROE ALLIANCE FREIGHT                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MONROE BRADLEY                          ADDRESS ON FILE
MONROE COUNTY DEPT OF WEIGHTS           AND MEASURES, 145 PAUL ROAD ROCHESTER NY 14624
MONROE COUNTY TREASURER                 PO BOX 14420 ROCHESTER NY 14614
MONROE COUNTY WATER AUTHORITY           475 NORRIS DR ROCHESTER NY 14610
MONROE D BRADLEY                        ADDRESS ON FILE
MONROE D BRADLEY                        ADDRESS ON FILE
MONROE EXTINGUISHER CO INC              105 DODGE ST, PO BOX 60980 ROCHESTER NY 14606
MONROE LINCOLN                          ADDRESS ON FILE
MONROE, ALBERT                          ADDRESS ON FILE
MONROE, ALLISON                         ADDRESS ON FILE
MONROE, ANTHONY                         ADDRESS ON FILE
MONROE, APRIL                           ADDRESS ON FILE
MONROE, ASHLEY                          ADDRESS ON FILE
MONROE, CARLETTE                        ADDRESS ON FILE
MONROE, CHARLES                         ADDRESS ON FILE
MONROE, DANIEL                          ADDRESS ON FILE
MONROE, HARTWELL                        ADDRESS ON FILE
MONROE, KEITH                           ADDRESS ON FILE
MONROE, MARGIE A                        ADDRESS ON FILE
MONROE, MIGUEL                          ADDRESS ON FILE
MONROE, RANDY                           ADDRESS ON FILE
MONROE, REGINALD                        ADDRESS ON FILE
MONROE, ROBERT G                        ADDRESS ON FILE
MONROVIA BOZ TRANSPORT LLC              OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MONRREAL-VILLALOBOS, JORGE              ADDRESS ON FILE
MONSALVE, ANGEL                         ADDRESS ON FILE
MONSALVE, JORDAN                        ADDRESS ON FILE
MONSE TRUCKING LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MONSEES, LLOYD                          ADDRESS ON FILE
MONSKEY, SAMUEL                         ADDRESS ON FILE
MONSON TRUCK AND TRAILER REPAIR INC     4900 WAPELLO AVE. DAVENPORT IA 52802
MONSOUR, GEORGE E                       ADDRESS ON FILE
MONSTER TRUCKING LLC                    2223 BROOKSTONE CENTRE PKWY STE C COLUMBUS GA 31904
MONSTER TRUCKS 2 INC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MONSTWILLO, PETER                       ADDRESS ON FILE
MONT WAY-EX INC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MONTAGNA, SCOTT                         ADDRESS ON FILE
MONTAGUE, CHONTAY                       ADDRESS ON FILE
MONTALBANO, VINCENT                     ADDRESS ON FILE
MONTALVO, CINDY                         ADDRESS ON FILE
MONTANA AIR CARTAGE INC                 PO BOX 81022 BILLINGS MT 59108
MONTANA DAKOTA UTILITIES CO             5181 SOUTHGATE DR BILLINGS MT 59101
MONTANA DEPARTMENT OF REVENUE           DEPARTMENT OF REVENUE, PO BOX 8021 HELENA MT 59604



Epiq Corporate Restructuring, LLC                                                                Page 1306 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1315 of 2156

Claim Name                              Address Information
MONTANA DEPARTMENT OF REVENUE           PO BOX 8021 HELENA MT 59604
MONTANA DEPARTMENT OF REVENUE           UNCLAIMED PROPERTY PROGRAM, PO BOX 5805 HELENA MT 59604
MONTANA DEPT OF ENVIRONMENTAL QUALITY   FINANCIAL SERVICES DIVISION PO BOX 200901 HELENA MT 59620
MONTANA EXPRESS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MONTANA FENCE                           7403 ENTRYWAY DRIVE BILLINGS MT 59101
MONTANA FLOUR & GRAIN                   PO BOX 517 FORT BENTON MT 59442
MONTANA GROUP OF COMPANIES LIMITED      MONTANA GROUP OF COMPANIES LIMITED 52 CRANSTON DR CALEDON EAST ON L7C1P6
                                        CANADA
MONTANA MILLING                         2123 VAUGHN RD GREAT FALLS MT 59404
MONTANA PETERBILT                       9550 CARTAGE RD MISSOULA MT 59808
MONTANA SECRETARY OF STATE              PO BOX 202801 HELENA MT 59620
MONTANA TOWING LLC                      PO BOX 5525 MISSOULA MT 59806
MONTANA TRANSPORTATION INC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
MONTANA, ANTHONY                        ADDRESS ON FILE
MONTANA, OMAR                           ADDRESS ON FILE
MONTANARO, CATHERINE                    ADDRESS ON FILE
MONTANO EXPRESS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MONTANO XPRESS CORPORATION              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MONTANO, CASTULO                        ADDRESS ON FILE
MONTANO, MANUEL                         ADDRESS ON FILE
MONTANO, NICHOLAS                       ADDRESS ON FILE
MONTANO, THOMAS                         ADDRESS ON FILE
MONTANYE, ANTHONY                       ADDRESS ON FILE
MONTAQUE, JOHN                          ADDRESS ON FILE
MONTASSER, OSAMA                        ADDRESS ON FILE
MONTE, BRUCE                            ADDRESS ON FILE
MONTEAGLE TRUCK & TIRE, INC.            508 FORESITE AVENUE, I-24 EXIT 135 MONTEAGLE TN 37356
MONTEAGLE WRECKER & RECOVERY            801 DIXIE LEE AVE MONTEAGLE TN 37356
MONTECA TRANSPORT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MONTECITO EXPRESS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MONTECORP LLC                           OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MONTECORP LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MONTEIL, LEO                            ADDRESS ON FILE
MONTEIRO, RICHARD                       ADDRESS ON FILE
MONTEITH, THOMAS                        ADDRESS ON FILE
MONTEJANO LOGISTICS                     OR MDR CAPITAL LLC, PO BOX 200917 DALLAS TX 75320-0917
MONTEJANO, RAFAEL                       ADDRESS ON FILE
MONTEJANO, RAFAEL                       ADDRESS ON FILE
MONTELBANO, RONALD                      ADDRESS ON FILE
MONTELEONE, CODY                        ADDRESS ON FILE
MONTELLA, STEPHEN J                     ADDRESS ON FILE
MONTELLANO, RICARDO                     ADDRESS ON FILE
MONTELONGO, LUIS                        ADDRESS ON FILE
MONTEMAYOR, JOEL                        ADDRESS ON FILE
MONTEMAYOR, JOSE                        ADDRESS ON FILE
MONTEMAYOR, RICHARD                     ADDRESS ON FILE
MONTEREY TRANSPORT LLC                  440 CONCRETE AVE LEOLA PA 17540
MONTERO AREVALO, OSCAR                  ADDRESS ON FILE
MONTERO TRUCKING                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                  Page 1307 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1316 of 2156

Claim Name                              Address Information
MONTERO, DANIEL B                      ADDRESS ON FILE
MONTERO, LETICIA                       ADDRESS ON FILE
MONTERO, MARCOS                        ADDRESS ON FILE
MONTERO, MIGUEL                        ADDRESS ON FILE
MONTERO, MIGUEL                        ADDRESS ON FILE
MONTERO, YARELLI                       ADDRESS ON FILE
MONTES DE OCA, PERCY E                 ADDRESS ON FILE
MONTES, IGNACIO R                      ADDRESS ON FILE
MONTES, JORGE                          ADDRESS ON FILE
MONTES, JORGE L                        ADDRESS ON FILE
MONTES, JUAN                           ADDRESS ON FILE
MONTES, JUAN                           ADDRESS ON FILE
MONTES, JULIO                          ADDRESS ON FILE
MONTES, SAUL                           ADDRESS ON FILE
MONTEZ PHENIQUE DURHAM                 ADDRESS ON FILE
MONTEZ, JOSE                           ADDRESS ON FILE
MONTEZ, TOMMY                          ADDRESS ON FILE
MONTFLEURY, DUCARMEL                   ADDRESS ON FILE
MONTGOMERY CITY REVENUE COMMISSIONER   PO BOX 1667 MONTGOMERY AL 36102
MONTGOMERY COUNTY                      EXECUTIVE OFFICE BUILDING 101 MONROE STREET, 2ND FLOOR ROCKVILLE MD 20850
MONTGOMERY COUNTY COMMISSION           PO BOX 830469 BIRMINGHAM AL 35283
MONTGOMERY COUNTY COURT                120 N MAIN ST HILLSBORO IL 62049
MONTGOMERY COUNTY TREASURER            451 W THIRD ST PO BOX 817600 DAYTON OH 45422-0475
MONTGOMERY COUNTY TREASURER            CAROLYN RICE, TREASURER 451 WEST THIRD ST DAYTON OH 45422-0475
MONTGOMERY TOWNSHIP BOARD OF SUPERVIORS 1001 STUMP ROAD MONTGOMERYVILLE PA 18936
MONTGOMERY WATER WRKS & SEWER          2000 INTERSTATE PARK DR MONTGOMERY AL 36109
MONTGOMERY, BOBBY                      ADDRESS ON FILE
MONTGOMERY, CHRISTINE                  ADDRESS ON FILE
MONTGOMERY, DARREN                     ADDRESS ON FILE
MONTGOMERY, DAWN M                     ADDRESS ON FILE
MONTGOMERY, DYLAN                      ADDRESS ON FILE
MONTGOMERY, ERIC                       ADDRESS ON FILE
MONTGOMERY, FRANK                      ADDRESS ON FILE
MONTGOMERY, JAMES                      ADDRESS ON FILE
MONTGOMERY, JEFFREY                    ADDRESS ON FILE
MONTGOMERY, JERRY                      ADDRESS ON FILE
MONTGOMERY, JUDGE                      ADDRESS ON FILE
MONTGOMERY, LARRY                      ADDRESS ON FILE
MONTGOMERY, LUSTER                     ADDRESS ON FILE
MONTGOMERY, MELODY                     ADDRESS ON FILE
MONTGOMERY, MICHAEL                    ADDRESS ON FILE
MONTGOMERY, MICHELLE                   ADDRESS ON FILE
MONTGOMERY, ORLANDO                    ADDRESS ON FILE
MONTGOMERY, PATRICK                    ADDRESS ON FILE
MONTGOMERY, RILEY                      ADDRESS ON FILE
MONTGOMERY, ROBERT                     ADDRESS ON FILE
MONTGOMERY, RODNEY                     ADDRESS ON FILE
MONTGOMERY, THOMAS                     ADDRESS ON FILE
MONTGOMERY, TORRY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1308 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1317 of 2156

Claim Name                           Address Information
MONTGOMERY, VICTORIA                 ADDRESS ON FILE
MONTIEL, JUAN                        ADDRESS ON FILE
MONTIEL, SERGIO                      ADDRESS ON FILE
MONTILLA, DAVID                      ADDRESS ON FILE
MONTIQUE LLC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MONTOYA, ALVARO                      ADDRESS ON FILE
MONTOYA, BRANDON                     ADDRESS ON FILE
MONTOYA, DANNY                       ADDRESS ON FILE
MONTOYA, DENNIS                      ADDRESS ON FILE
MONTOYA, HUMBERTO                    ADDRESS ON FILE
MONTOYA, JACOB J                     ADDRESS ON FILE
MONTOYA, JOHNNY                      ADDRESS ON FILE
MONTOYA, JOSE                        ADDRESS ON FILE
MONTOYA, JOSE                        ADDRESS ON FILE
MONTOYA, JUAN                        ADDRESS ON FILE
MONTOYA, KRISTOPHER                  ADDRESS ON FILE
MONTOYA, LARRY                       ADDRESS ON FILE
MONTOYA, MARTIN                      ADDRESS ON FILE
MONTOYA, MICHAEL                     ADDRESS ON FILE
MONTOYA, MIGUEL                      ADDRESS ON FILE
MONTOYA, MIGUEL                      ADDRESS ON FILE
MONTOYA, RICARDO                     ADDRESS ON FILE
MONTREAL NEON SIGNS                  4130 DESSERTE SUD AUT-440 QUEST LAVAL QC H7T 0H3 CANADA
MONTROSE M MYERS                     ADDRESS ON FILE
MONTROSE WATER FACTORY LLC           201 COLORADO AVENUE MONTROSE CO 81401
MONTROSE WATER FACTORY LLC           PO BOX 367 MONTROSE CO 81402
MONTROY SUPPLY                       1649 W 1700 S SALT LAKE CITY UT 84104
MONTVALE TRANSPORT LLC               4522 HOMESTEAD DR. NAZARETH PA 18064
MONUMENTAL GROUP LLC                 5684 KLEMENTS LN FLORENCE MT 59833
MONY ENTERPRISES INC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MONZON, CHARLES                      ADDRESS ON FILE
MONZON, JONATHAN IGNACIA             ADDRESS ON FILE
MONZON, JONATHAN IGNACIA             ADDRESS ON FILE
MOOCHIES TRUCKING LLC                OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
MOOD MEDIA                           P.O. BOX 71070 CHARLOTTE NC 28272
MOODY FARMS LOGISTICS LLC            12225 EAST 1200TH ROAD PARIS IL 61944
MOODY, CARLOS                        ADDRESS ON FILE
MOODY, CURTIS                        ADDRESS ON FILE
MOODY, DARIUS                        ADDRESS ON FILE
MOODY, DAVID                         ADDRESS ON FILE
MOODY, JONATHAN                      ADDRESS ON FILE
MOODY, JULIANN                       ADDRESS ON FILE
MOODY, MECHELLE                      ADDRESS ON FILE
MOODY, NEAL                          ADDRESS ON FILE
MOODY, TERRENCE                      ADDRESS ON FILE
MOODYS INVESTORS SERVICE, INC.       PO BOX 102597 ATLANTA GA 30368
MOODYS PREMIER LOGISTICS             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MOOG LOUISVILLE WAREHOUSE            PO BOX 2555 LOUISVILLE KY 40201-2555
MOON & STAR LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                              Page 1309 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1318 of 2156

Claim Name                            Address Information
MOON AND STAR EXPRESS LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MOON EXPRESS INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MOON EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MOON LIGHT EXPRESS INC                OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
MOON LOGISTICS INC                    OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
MOON LOGISTICS INC.                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MOON STAR LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MOON STAR TRANSPORT LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MOON, DAVID                           ADDRESS ON FILE
MOON, GIEDD J                         ADDRESS ON FILE
MOON, JERRY                           ADDRESS ON FILE
MOON, TANYA                           ADDRESS ON FILE
MOON, TONY                            ADDRESS ON FILE
MOONA, DOMINIC                        ADDRESS ON FILE
MOONEY, JOHNNY                        ADDRESS ON FILE
MOONILAL-SINGH, KAVIR                 ADDRESS ON FILE
MOONILAL-SINGH, KAVIR                 ADDRESS ON FILE
MOONLIGHT EXPRESS LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MOONLIGHT LOGISTICS, INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MOONLIGHT TRANS INC                   6507 PACIFIC AVE UNIT 228 STOCKTON CA 95207
MOONLIGHT TRANSPORT LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MOONLIGHT TRANSPORTATION LLC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MOONLIGHT TRANSPORTATION LLC          OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
(MC1034534)
MOONLIGHT TRUCKING SERVICES LLC       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MOONLITE CARRIER LLC                  OR CRESTMARK, PO BOX 3625 COMMERCE COURT POSTAL STATION TORONTO ON M5L 1K1
                                      CANADA
MOONLITE TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MOONSHINE EXPRESS INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MOONSTAR TRANS CORP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MOONSTARS LOGISTIC LLC                OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
MOONSTONE LOGISTICS LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MOORE 2 COME, LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOORE CANADA CORPORATION              DEPT 400011, PO BOX 4375 STATION A TORONTO ON M5W 0J3 CANADA
MOORE CANADA CORPORATION              PO BOX 3537 POSTAL STATION A TORONTO ON M5W 3G4 CANADA
MOORE ENTERPRISE1 LLC                 OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
MOORE EXPRESS LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MOORE FAMILY TRUCKING                 2036 CHERRYTREE LN WINTERVILLE NC 28590
MOORE FIRE EXTINGUISHER SERVICE INC   PO BOX 1432 WEST MONROE LA 71294
MOORE GLOBAL TRANSPORTATION MGT LLC   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MOORE LOGISTICS LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MOORE MOVES LOGISTICS LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MOORE TRANSPORTATION INCORPORATED     2929 BLUE CLAY ROAD CASTLE HAYNE NC NC 28429
MOORE, ADAM                           ADDRESS ON FILE
MOORE, ADAM                           ADDRESS ON FILE
MOORE, ALLAN                          ADDRESS ON FILE
MOORE, ANDREW                         ADDRESS ON FILE
MOORE, ANTHONY                        ADDRESS ON FILE
MOORE, ANTHONY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1310 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1319 of 2156

Claim Name                         Address Information
MOORE, ANTHONY                     ADDRESS ON FILE
MOORE, BARRY                       ADDRESS ON FILE
MOORE, BLAINE                      ADDRESS ON FILE
MOORE, BOBBY                       ADDRESS ON FILE
MOORE, BOBBY                       ADDRESS ON FILE
MOORE, BRENDA                      ADDRESS ON FILE
MOORE, BRET                        ADDRESS ON FILE
MOORE, BRIAN                       ADDRESS ON FILE
MOORE, BRIAN                       ADDRESS ON FILE
MOORE, BRIAN                       ADDRESS ON FILE
MOORE, BRIAN T                     ADDRESS ON FILE
MOORE, BRYANT                      ADDRESS ON FILE
MOORE, CACELIA                     ADDRESS ON FILE
MOORE, CARL                        ADDRESS ON FILE
MOORE, CARLTON                     ADDRESS ON FILE
MOORE, CHANTEE                     ADDRESS ON FILE
MOORE, CHARLIE                     ADDRESS ON FILE
MOORE, CHARLIE                     ADDRESS ON FILE
MOORE, CHELESTE                    ADDRESS ON FILE
MOORE, CHRISTOPHER                 ADDRESS ON FILE
MOORE, CHRISTOPHER                 ADDRESS ON FILE
MOORE, CORTEZ                      ADDRESS ON FILE
MOORE, CRIS                        ADDRESS ON FILE
MOORE, CURTIS                      ADDRESS ON FILE
MOORE, CYNTHIA                     ADDRESS ON FILE
MOORE, DANA                        ADDRESS ON FILE
MOORE, DANIEL                      ADDRESS ON FILE
MOORE, DANIEL                      ADDRESS ON FILE
MOORE, DANIEL                      ADDRESS ON FILE
MOORE, DARIUS                      ADDRESS ON FILE
MOORE, DAVID                       ADDRESS ON FILE
MOORE, DAVID                       ADDRESS ON FILE
MOORE, DAVID                       ADDRESS ON FILE
MOORE, DAVID                       ADDRESS ON FILE
MOORE, DAVID                       ADDRESS ON FILE
MOORE, DAVID                       ADDRESS ON FILE
MOORE, DEBORAH                     ADDRESS ON FILE
MOORE, DENNIS                      ADDRESS ON FILE
MOORE, DENNIS                      ADDRESS ON FILE
MOORE, DERRICK                     ADDRESS ON FILE
MOORE, DERRICK                     ADDRESS ON FILE
MOORE, DEVAUNTE                    ADDRESS ON FILE
MOORE, DONALD                      ADDRESS ON FILE
MOORE, DONDRIA                     ADDRESS ON FILE
MOORE, DOUGLAS                     ADDRESS ON FILE
MOORE, EDDY                        ADDRESS ON FILE
MOORE, EDWARD                      ADDRESS ON FILE
MOORE, EILEEN                      ADDRESS ON FILE
MOORE, ELIZABETH                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1311 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1320 of 2156

Claim Name                       Address Information
MOORE, ERIN                      ADDRESS ON FILE
MOORE, ETHAN M                   ADDRESS ON FILE
MOORE, FRANCESCO                 ADDRESS ON FILE
MOORE, GARY                      ADDRESS ON FILE
MOORE, GEORGE                    ADDRESS ON FILE
MOORE, GERALISHA                 ADDRESS ON FILE
MOORE, GREG                      ADDRESS ON FILE
MOORE, HERBERT                   ADDRESS ON FILE
MOORE, HEROD S                   ADDRESS ON FILE
MOORE, HOWARD                    ADDRESS ON FILE
MOORE, HUBERT                    ADDRESS ON FILE
MOORE, JACOB                     ADDRESS ON FILE
MOORE, JACOB L                   ADDRESS ON FILE
MOORE, JADE                      ADDRESS ON FILE
MOORE, JAMEL                     ADDRESS ON FILE
MOORE, JAMES                     ADDRESS ON FILE
MOORE, JAMES                     ADDRESS ON FILE
MOORE, JAMES                     ADDRESS ON FILE
MOORE, JAMES                     ADDRESS ON FILE
MOORE, JAMES                     ADDRESS ON FILE
MOORE, JAMES T                   ADDRESS ON FILE
MOORE, JAMIE                     ADDRESS ON FILE
MOORE, JASON                     ADDRESS ON FILE
MOORE, JEFF                      ADDRESS ON FILE
MOORE, JEFFERY                   ADDRESS ON FILE
MOORE, JEFFERY                   ADDRESS ON FILE
MOORE, JEFFERY                   ADDRESS ON FILE
MOORE, JEFFREY                   ADDRESS ON FILE
MOORE, JERRY                     ADDRESS ON FILE
MOORE, JOE                       ADDRESS ON FILE
MOORE, JOHN                      ADDRESS ON FILE
MOORE, JOHN                      ADDRESS ON FILE
MOORE, JOHNNIE                   ADDRESS ON FILE
MOORE, JOHNNY                    ADDRESS ON FILE
MOORE, JOSEPH                    ADDRESS ON FILE
MOORE, JOSEPH                    ADDRESS ON FILE
MOORE, JOSEPH                    ADDRESS ON FILE
MOORE, JOSH                      ADDRESS ON FILE
MOORE, JOSHUA                    ADDRESS ON FILE
MOORE, JUSTIN                    ADDRESS ON FILE
MOORE, JUWAN                     ADDRESS ON FILE
MOORE, KARISSA                   ADDRESS ON FILE
MOORE, KEDRICK                   ADDRESS ON FILE
MOORE, KEITH                     ADDRESS ON FILE
MOORE, KELLY                     ADDRESS ON FILE
MOORE, KELVIN                    ADDRESS ON FILE
MOORE, KEMHARI                   ADDRESS ON FILE
MOORE, KENNETH                   ADDRESS ON FILE
MOORE, KENNETH                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1312 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1321 of 2156

Claim Name                         Address Information
MOORE, KENYA                       ADDRESS ON FILE
MOORE, KERRY                       ADDRESS ON FILE
MOORE, KEVIN                       ADDRESS ON FILE
MOORE, KEVIN                       ADDRESS ON FILE
MOORE, KIMA                        ADDRESS ON FILE
MOORE, KIRKLAND                    ADDRESS ON FILE
MOORE, KROY                        ADDRESS ON FILE
MOORE, KROY                        ADDRESS ON FILE
MOORE, LAROGERRICK                 ADDRESS ON FILE
MOORE, LAVELUS                     ADDRESS ON FILE
MOORE, MARCELLO                    ADDRESS ON FILE
MOORE, MARCUS                      ADDRESS ON FILE
MOORE, MARISA                      ADDRESS ON FILE
MOORE, MARK                        ADDRESS ON FILE
MOORE, MARK                        ADDRESS ON FILE
MOORE, MARK                        ADDRESS ON FILE
MOORE, MARK A                      ADDRESS ON FILE
MOORE, MARQUITA                    ADDRESS ON FILE
MOORE, MARVIN                      ADDRESS ON FILE
MOORE, MARVIN                      ADDRESS ON FILE
MOORE, MARY                        ADDRESS ON FILE
MOORE, MATT                        ADDRESS ON FILE
MOORE, MATTHEW G                   ADDRESS ON FILE
MOORE, MAURICE                     ADDRESS ON FILE
MOORE, MAURICE                     ADDRESS ON FILE
MOORE, MICHAEL                     ADDRESS ON FILE
MOORE, MICHAEL                     ADDRESS ON FILE
MOORE, MICHAEL                     ADDRESS ON FILE
MOORE, MICHELLE                    ADDRESS ON FILE
MOORE, NICOLE                      ADDRESS ON FILE
MOORE, NIJAH AMARI                 ADDRESS ON FILE
MOORE, NIJAH AMARI                 ADDRESS ON FILE
MOORE, NIKOLAS                     ADDRESS ON FILE
MOORE, OSKAR                       ADDRESS ON FILE
MOORE, PAIGE                       ADDRESS ON FILE
MOORE, PATRICK                     ADDRESS ON FILE
MOORE, PATRICK                     ADDRESS ON FILE
MOORE, QUENTIN                     ADDRESS ON FILE
MOORE, QUIAN                       ADDRESS ON FILE
MOORE, RALPH                       ADDRESS ON FILE
MOORE, RANDALL                     ADDRESS ON FILE
MOORE, RANDY                       ADDRESS ON FILE
MOORE, RASHAAD                     ADDRESS ON FILE
MOORE, RAYMOND                     ADDRESS ON FILE
MOORE, RICHARD                     ADDRESS ON FILE
MOORE, ROBERT                      ADDRESS ON FILE
MOORE, RODNEY                      ADDRESS ON FILE
MOORE, RODRICK                     ADDRESS ON FILE
MOORE, ROGER                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1313 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1322 of 2156

Claim Name                           Address Information
MOORE, ROLANDO                       ADDRESS ON FILE
MOORE, RONALD                        ADDRESS ON FILE
MOORE, RONELL                        ADDRESS ON FILE
MOORE, RONNIE                        ADDRESS ON FILE
MOORE, RONNIE                        ADDRESS ON FILE
MOORE, RUFUS                         ADDRESS ON FILE
MOORE, SCOTT                         ADDRESS ON FILE
MOORE, SEATON                        ADDRESS ON FILE
MOORE, SHAHEED                       ADDRESS ON FILE
MOORE, SHANNON                       ADDRESS ON FILE
MOORE, SHIRON                        ADDRESS ON FILE
MOORE, STAN                          ADDRESS ON FILE
MOORE, STANLEY                       ADDRESS ON FILE
MOORE, STEPHANIE                     ADDRESS ON FILE
MOORE, STEVEN                        ADDRESS ON FILE
MOORE, STEVEN                        ADDRESS ON FILE
MOORE, STEVEN                        ADDRESS ON FILE
MOORE, SUTUAN                        ADDRESS ON FILE
MOORE, TAMMY                         ADDRESS ON FILE
MOORE, TERRELL                       ADDRESS ON FILE
MOORE, TERRY                         ADDRESS ON FILE
MOORE, THOMAS                        ADDRESS ON FILE
MOORE, TOBIAS                        ADDRESS ON FILE
MOORE, TODD                          ADDRESS ON FILE
MOORE, TRAVOLTA                      ADDRESS ON FILE
MOORE, TYRONE                        ADDRESS ON FILE
MOORE, VERTIS                        ADDRESS ON FILE
MOORE, WALTER                        ADDRESS ON FILE
MOORE, WAYNE                         ADDRESS ON FILE
MOORE, WENDELL                       ADDRESS ON FILE
MOORE, WENDY                         ADDRESS ON FILE
MOORE, WILLIAM                       ADDRESS ON FILE
MOORE, WILLIAM                       ADDRESS ON FILE
MOORE, WILLIAM F                     ADDRESS ON FILE
MOORE, ZACKARY                       ADDRESS ON FILE
MOORECO C O BEST RITE CHALKBOA       ATTN: JERI RICHARDS 2885 LORRAINE AVE TEMPLE TX 76503
MOOREHEAD, ORLANDO                   ADDRESS ON FILE
MOOREHEAD, TIMOTHY                   ADDRESS ON FILE
MOORER, JOSEPH                       ADDRESS ON FILE
MOORES A/C & HEATING INC             PO BOX 469 BLANCHARD LA 71009
MOORES EXPRESS TRUCKING LLC          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MOORES HARDCORE TRUCKING INC         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MOORES TOWING                        728 MIDDLETON RUN ROAD ELKHART IN 46516
MOOREY, AMANDA                       ADDRESS ON FILE
MOORHEAD TRUCKIN LLC                 OR EXCHANGE CAPITAL CORPORATION PO BOX 11920 CONWAY AR 72034
MOORHEAD, REGINA                     ADDRESS ON FILE
MOORLAND LOGISTICS LLC               OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOORMAN, BRET                        ADDRESS ON FILE
MOORMAN, SARA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1314 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1323 of 2156

Claim Name                           Address Information
MOORSHEAD, CLAUDE                    ADDRESS ON FILE
MOOSE JAW                            ATTN: MELANIE THIEMANN 1955 CARIBOU STW MOOSE JAW SK S6H 4P2 CANADA
MOOSE POWER INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MOOSER, MIKE                         ADDRESS ON FILE
MOPEE LOGISTICS                      OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MOR FREIGHT TRANSPORTATION LLC       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MOR LLC                              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
MORA SERVICES LLC                    OR INTEGRA FUNDING SOLUTIONS 6300 RIDGLEA PL SUITE 1101 FT WORTH TX 76116
MORA, ALBERTO                        ADDRESS ON FILE
MORA, ALFREDO                        ADDRESS ON FILE
MORA, CHRISTOPHER                    ADDRESS ON FILE
MORA, DAVID                          ADDRESS ON FILE
MORA, ERNESTO                        ADDRESS ON FILE
MORA, JOAQUIN                        ADDRESS ON FILE
MORA, JOEL                           ADDRESS ON FILE
MORA, JONATHAN                       ADDRESS ON FILE
MORA, JOSE                           ADDRESS ON FILE
MORA, LUCY                           ADDRESS ON FILE
MORA, MONICA H                       ADDRESS ON FILE
MORACHEZ TRANSPORT INC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MORACK, ALEX                         ADDRESS ON FILE
MORACO, MATTHEW                      ADDRESS ON FILE
MORAGNE, STEVE                       ADDRESS ON FILE
MORAIS, JOSE                         ADDRESS ON FILE
MORAL TRANSPORTATION LLC             OR ENGLAND CARRIER SERVICES LLC PO BOX 953086 ST LOUIS MO 63195-3086
MORAL TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MORALEDA, JORGE                      ADDRESS ON FILE
MORALEDA, JORGE                      ADDRESS ON FILE
MORALES FLOOR FINISH                 BDA VIETNAM, 49 CALLE A GUAYNABO PR 00965
MORALES FREIGHT CORP                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MORALES JR., RENE                    ADDRESS ON FILE
MORALES TRANSPORT LLC                OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
MORALES TRANSPORT LLC (MC1345394)    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MORALES, ABRAHAM                     ADDRESS ON FILE
MORALES, ALCADIO                     ADDRESS ON FILE
MORALES, ALCADIO                     ADDRESS ON FILE
MORALES, ALEX                        ADDRESS ON FILE
MORALES, ALFONSO                     ADDRESS ON FILE
MORALES, ALFRED                      ADDRESS ON FILE
MORALES, ANDREW                      ADDRESS ON FILE
MORALES, AUGRORA                     ADDRESS ON FILE
MORALES, BENJAMIN                    ADDRESS ON FILE
MORALES, BERTRAND                    ADDRESS ON FILE
MORALES, BRANDON                     ADDRESS ON FILE
MORALES, CARLOS A                    ADDRESS ON FILE
MORALES, DANIEL                      ADDRESS ON FILE
MORALES, DAVID                       ADDRESS ON FILE
MORALES, DENISE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1315 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1324 of 2156

Claim Name                         Address Information
MORALES, DENNIS                    ADDRESS ON FILE
MORALES, ERNESTO                   ADDRESS ON FILE
MORALES, FABIAN                    ADDRESS ON FILE
MORALES, FELIX                     ADDRESS ON FILE
MORALES, GABRIEL                   ADDRESS ON FILE
MORALES, ISRAEL                    ADDRESS ON FILE
MORALES, IVAN                      ADDRESS ON FILE
MORALES, JAIME                     ADDRESS ON FILE
MORALES, JESUS                     ADDRESS ON FILE
MORALES, JOHNNY                    ADDRESS ON FILE
MORALES, JOHNNY                    ADDRESS ON FILE
MORALES, JOSE                      ADDRESS ON FILE
MORALES, JOSE                      ADDRESS ON FILE
MORALES, JOSE                      ADDRESS ON FILE
MORALES, JUAN                      ADDRESS ON FILE
MORALES, JUAN                      ADDRESS ON FILE
MORALES, JUAN                      ADDRESS ON FILE
MORALES, LARRY                     ADDRESS ON FILE
MORALES, LUIS                      ADDRESS ON FILE
MORALES, MARGARET                  ADDRESS ON FILE
MORALES, MAURICIO                  ADDRESS ON FILE
MORALES, OSCAR                     ADDRESS ON FILE
MORALES, RAFAEL                    ADDRESS ON FILE
MORALES, RAFAEL                    ADDRESS ON FILE
MORALES, RALPH                     ADDRESS ON FILE
MORALES, RICHARD                   ADDRESS ON FILE
MORALES, RICHARD A                 ADDRESS ON FILE
MORALES, RODRIGO                   ADDRESS ON FILE
MORALES, SALVADOR                  ADDRESS ON FILE
MORALES, TADEO                     ADDRESS ON FILE
MORALES, TOMAS                     ADDRESS ON FILE
MORALES, VICTOR                    ADDRESS ON FILE
MORALES, VICTOR                    ADDRESS ON FILE
MORALES, WILFREDO                  ADDRESS ON FILE
MORALES, WILSON                    ADDRESS ON FILE
MORALES-PEREZ, CLAUDIA             ADDRESS ON FILE
MORAN TRUCKING                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MORAN, ADRIAN                      ADDRESS ON FILE
MORAN, ALEXANDRIA                  ADDRESS ON FILE
MORAN, ANGEL                       ADDRESS ON FILE
MORAN, ANTONIO                     ADDRESS ON FILE
MORAN, ESTEVAN                     ADDRESS ON FILE
MORAN, JESSICA                     ADDRESS ON FILE
MORAN, JESUS                       ADDRESS ON FILE
MORAN, JESUS                       ADDRESS ON FILE
MORAN, KEVIN                       ADDRESS ON FILE
MORAN, LAURA                       ADDRESS ON FILE
MORAN, MATTHEW                     ADDRESS ON FILE
MORAN, RENE F                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1316 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1325 of 2156

Claim Name                           Address Information
MORAN, SHAUN                         ADDRESS ON FILE
MORAN, SHAWN                         ADDRESS ON FILE
MORAN, WILLIAM                       ADDRESS ON FILE
MORANO, JOSEPH                       ADDRESS ON FILE
MORANT, MATTHEW                      ADDRESS ON FILE
MORARIU, SILVANA                     ADDRESS ON FILE
MORASCH, DAVID                       ADDRESS ON FILE
MORASSE, ANGELA                      ADDRESS ON FILE
MORAVAC, LINDA                       ADDRESS ON FILE
MORAWIEC, ADAM                       ADDRESS ON FILE
MORAYMA ENTERPRISE LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MORDAN TRANSPORT CORPORATION         OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MORDLES TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MORE INDUSTRIAL SERVICE              PO BOX 3141 SANTA FE SPRINGS CA 90670
MORE SIMPLE TRANSPORT LLC            OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
MORE TRANSPORT LLC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MORE, GRANT                          ADDRESS ON FILE
MOREAU ENTERPRISES INC.              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MOREHART, RYIAN                      ADDRESS ON FILE
MOREHEAD, RANDY                      ADDRESS ON FILE
MOREHOUSE, NATHANIEL                 ADDRESS ON FILE
MOREIRA REZABALA, CRISTHIAN M        ADDRESS ON FILE
MOREIRA, DAVID                       ADDRESS ON FILE
MOREIRA, JOSE H                      ADDRESS ON FILE
MOREL TRANSPORTATION LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MORELAND TRANSPORT AND LOGISTICS     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
MORELAND, CLAYTON                    ADDRESS ON FILE
MORELAND, SANDRA                     ADDRESS ON FILE
MORELLA, JOHN                        ADDRESS ON FILE
MORELOS LEMUS, BENJAMIN              ADDRESS ON FILE
MORENO BATH                          ATTN: LESLEY SOTO 2222 DAVIE AVE COMMERCE CA 90040
MORENO DE ALBA, JOSE                 ADDRESS ON FILE
MORENO GLOBAL LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MORENO HOTSHOTS, LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MORENO PEREZ, LUIS                   ADDRESS ON FILE
MORENO TRUCKING                      OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
MORENO VALENZUELA, LUIS              ADDRESS ON FILE
MORENO, ANGELICA                     ADDRESS ON FILE
MORENO, ANTHONY                      ADDRESS ON FILE
MORENO, BOBBY                        ADDRESS ON FILE
MORENO, DAVID                        ADDRESS ON FILE
MORENO, EDSEL                        ADDRESS ON FILE
MORENO, EDWARD J                     ADDRESS ON FILE
MORENO, ERNESTO                      ADDRESS ON FILE
MORENO, FLORENCIO                    ADDRESS ON FILE
MORENO, FRANK                        ADDRESS ON FILE
MORENO, FRANK                        ADDRESS ON FILE
MORENO, GADDI                        ADDRESS ON FILE
MORENO, GEORGE R                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1317 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1326 of 2156

Claim Name                           Address Information
MORENO, GILBERT                      ADDRESS ON FILE
MORENO, GRISELA                      ADDRESS ON FILE
MORENO, GUADALUPE                    ADDRESS ON FILE
MORENO, GUILLERMO                    ADDRESS ON FILE
MORENO, IVAN                         ADDRESS ON FILE
MORENO, JAMES                        ADDRESS ON FILE
MORENO, JENNIFER                     ADDRESS ON FILE
MORENO, JERRY                        ADDRESS ON FILE
MORENO, JESUS OMAR                   ADDRESS ON FILE
MORENO, JHON                         ADDRESS ON FILE
MORENO, JOSE                         ADDRESS ON FILE
MORENO, JOSE                         ADDRESS ON FILE
MORENO, JOSEPH                       ADDRESS ON FILE
MORENO, JOSH                         ADDRESS ON FILE
MORENO, JOSUE                        ADDRESS ON FILE
MORENO, JULIAN                       ADDRESS ON FILE
MORENO, JULIAN                       ADDRESS ON FILE
MORENO, LONNIE                       ADDRESS ON FILE
MORENO, LUCIO                        ADDRESS ON FILE
MORENO, LUIS                         ADDRESS ON FILE
MORENO, MANUEL                       ADDRESS ON FILE
MORENO, MASON                        ADDRESS ON FILE
MORENO, MICHAEL                      ADDRESS ON FILE
MORENO, MIGUEL                       ADDRESS ON FILE
MORENO, OZZIE                        ADDRESS ON FILE
MORENO, PEDRO                        ADDRESS ON FILE
MORENO, RAUL                         ADDRESS ON FILE
MORENO, RENEE                        ADDRESS ON FILE
MORENO, RICARDO                      ADDRESS ON FILE
MORENO, RICARDO                      ADDRESS ON FILE
MORENO, RICH                         ADDRESS ON FILE
MORENO, RICHARD                      ADDRESS ON FILE
MORENO, SEBASTIAN                    ADDRESS ON FILE
MORENO, SERENITY                     ADDRESS ON FILE
MORENO, STEPHEN                      ADDRESS ON FILE
MORENO, STEVEN                       ADDRESS ON FILE
MORENOS EXPRESS                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MORENOS TRUCKING                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MORET ENTERPRISE LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MORETTI, LISA                        ADDRESS ON FILE
MORETTO, RYAN                        ADDRESS ON FILE
MORFF ELECTRIC INC                   10316 SEPULVEDA BLVD 441 MISSION HILLS CA 91345
MORFIN, GERARDO                      ADDRESS ON FILE
MORFIN, GILBERT                      ADDRESS ON FILE
MORFINS EMPIRE TRANSPORTATION        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MORG TRUCKING LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MORGAN & MORGAN PA                   PO BOX 622289 ORLANDO FL 32862
MORGAN BROTHERS TRANSPORT LLC        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MORGAN COUNTY TAX COLLECTOR          302 LEE STREET, NE P.O. BOX 696 DECATUR AL 35602



Epiq Corporate Restructuring, LLC                                                               Page 1318 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1327 of 2156

Claim Name                           Address Information
MORGAN COUNTY TAX COLLECTOR          PO BOX 696 DECATUR AL 35602
MORGAN COUNTY TAX COLLECTOR          REVENUE COMMISSIONER AMANDA G. SCOTT, CPA DECATUR AL 35602
MORGAN DISTRIBUTING INC              3425 N 22ND ST DECATUR IL 62526
MORGAN GALLACHER INC                 8707 MILLERGROVE DR SANTA FE SPRINGS CA 90670
MORGAN HEATING & COOLING, INC.       472 FLOWING WELLS RD H5 MARTINEZ GA 30907
MORGAN HUNTER CORPORATION            7600 W 110TH ST OVERLAND PARK KS 66210
MORGAN LOGISTICS, INC.               186 NICHOLS RD TEMPLE GA 30179
MORGAN PALMER                        ADDRESS ON FILE
MORGAN RESOURCES LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MORGAN STANLEY & CO. (0050)          ATT MS PROXY DEPT 1300 THAMES ST WHARF BALTIMORE MD 21231
MORGAN USA EXPRESS LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MORGAN, ANTHONY                      ADDRESS ON FILE
MORGAN, BOB                          ADDRESS ON FILE
MORGAN, BREANNA                      ADDRESS ON FILE
MORGAN, BRYANT                       ADDRESS ON FILE
MORGAN, CHASITY                      ADDRESS ON FILE
MORGAN, CHESTER                      ADDRESS ON FILE
MORGAN, CHRISTOPHER                  ADDRESS ON FILE
MORGAN, CHRISTOPHER                  ADDRESS ON FILE
MORGAN, CLAYTON                      ADDRESS ON FILE
MORGAN, CONAN                        ADDRESS ON FILE
MORGAN, CORDNEY                      ADDRESS ON FILE
MORGAN, DAVID                        ADDRESS ON FILE
MORGAN, DAVID                        ADDRESS ON FILE
MORGAN, DAVID                        ADDRESS ON FILE
MORGAN, DEBORA                       ADDRESS ON FILE
MORGAN, DENNA                        ADDRESS ON FILE
MORGAN, DENNIS                       ADDRESS ON FILE
MORGAN, EBONY                        ADDRESS ON FILE
MORGAN, EBONY                        ADDRESS ON FILE
MORGAN, EMMA                         ADDRESS ON FILE
MORGAN, ERIC                         ADDRESS ON FILE
MORGAN, ERIC L                       ADDRESS ON FILE
MORGAN, ETHAN                        ADDRESS ON FILE
MORGAN, HAROLD                       ADDRESS ON FILE
MORGAN, HAROLD                       ADDRESS ON FILE
MORGAN, HEATHER                      ADDRESS ON FILE
MORGAN, JACOBE                       ADDRESS ON FILE
MORGAN, JAMES                        ADDRESS ON FILE
MORGAN, JAMES                        ADDRESS ON FILE
MORGAN, JERMAINE                     ADDRESS ON FILE
MORGAN, JERMAINE                     ADDRESS ON FILE
MORGAN, JOAN                         ADDRESS ON FILE
MORGAN, JOE                          ADDRESS ON FILE
MORGAN, KWESI                        ADDRESS ON FILE
MORGAN, LAMAR                        ADDRESS ON FILE
MORGAN, LANCE                        ADDRESS ON FILE
MORGAN, LARRY                        ADDRESS ON FILE
MORGAN, LAWRENCE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1319 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1328 of 2156

Claim Name                          Address Information
MORGAN, LEWIS & BOCKIUS LLP         COUNSELORS AT LAW, PO BOX 8500 S-6050 PHILADELPHIA PA 19178
MORGAN, MATTHEW                     ADDRESS ON FILE
MORGAN, MIKE                        ADDRESS ON FILE
MORGAN, NICHOLAS                    ADDRESS ON FILE
MORGAN, NICOBY                      ADDRESS ON FILE
MORGAN, OLIVIA                      ADDRESS ON FILE
MORGAN, PATRICK                     ADDRESS ON FILE
MORGAN, RANDALL                     ADDRESS ON FILE
MORGAN, RICK                        ADDRESS ON FILE
MORGAN, ROBERT                      ADDRESS ON FILE
MORGAN, ROBERT                      ADDRESS ON FILE
MORGAN, RONALD                      ADDRESS ON FILE
MORGAN, SAM                         ADDRESS ON FILE
MORGAN, SAMUEL                      ADDRESS ON FILE
MORGAN, SAMUEL                      ADDRESS ON FILE
MORGAN, SHANE                       ADDRESS ON FILE
MORGAN, SHELBY                      ADDRESS ON FILE
MORGAN, THOMAS                      ADDRESS ON FILE
MORGAN, TIMOTHY                     ADDRESS ON FILE
MORGAN, TRACY                       ADDRESS ON FILE
MORGAN, TRAVIS                      ADDRESS ON FILE
MORGAN, TRELLIS                     ADDRESS ON FILE
MORGAN, WENDELL                     ADDRESS ON FILE
MORGANS MECHANICAL LLC              7281 BANKS MILL RD DOUGLASVILLE GA 30135
MORI FREIGHT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MORI FREIGHT INC                    1684 QUINCY AVE SUITE 100A NAPERVILLE IL 60540
MORIDGE MANUFACTURING INC           AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
MORILLO TRANSPORT LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MORIMANNO, ELI                      ADDRESS ON FILE
MORIN, DAVID                        ADDRESS ON FILE
MORIN, JASON                        ADDRESS ON FILE
MORIN, MICHAEL                      ADDRESS ON FILE
MORIO, GEORGE A                     ADDRESS ON FILE
MORISETTE, AARON                    ADDRESS ON FILE
MORISETTE, CINDY                    ADDRESS ON FILE
MORISETTE, DAVID                    ADDRESS ON FILE
MORLAN, MICHAEL                     ADDRESS ON FILE
MORLEY, FRANK                       ADDRESS ON FILE
MORLEY, PAUL                        ADDRESS ON FILE
MORLEY, RAYMOND                     ADDRESS ON FILE
MORLOCK ASPHALT LTD                 9362 MERMILL RD PORTAGE OH 43451
MORNEAU TRANSPORT                   40 PRINCIPALE, ST ARSENE QC G0L 2K0 CANADA
MORNEAU TRANSPORT                   40 RUE PRINCIPALE SAINT ARSENE QC G0L 2K0 CANADA
MORNI INC                           OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL, P.O. BOX 741791 LOS
                                    ANGELES CA 90074
MORNING DEW LANDSCAPING INC         2684 E HUNTINGTON DR FLAGSTAFF AZ 86004
MORNING STAR EXPRESS INC            OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MORNING STAR FREIGHT LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
MORNING, REGINALD L                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1320 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1329 of 2156

Claim Name                             Address Information
MORONES, JOSEPH                        ADDRESS ON FILE
MORPEX LLC                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MORPHEW, MIKE                          ADDRESS ON FILE
MORPHIS, ROGER                         ADDRESS ON FILE
MORPHO TRUST USA                       296 CONCORD RD STE 300 BILLERICA MA 01821
MORQUECHO, ADRIAN                      ADDRESS ON FILE
MORQUECHO, ANDREW                      ADDRESS ON FILE
MORQUECHO, JORGE A                     ADDRESS ON FILE
MORREN, RONALD                         ADDRESS ON FILE
MORRILL COUNTY COMMUNITY HOSP          1313 S ST STE A BRIDGEPORT NE 69336
MORRILL COUNTY TREASURER               PO BOX G BRIDGEPORT NE 69336
MORRIS E CLARKS TRUCKING COMPANY LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MORRIS EXCAVATING CO INC               10566 WOODLAND TRAIL COUNCIL BLUFFS IA 51503
MORRIS ISLAND TRUCKING LLC             OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MORRIS PLUMBING COMPANY                1377 OLD HIGHWAY 24 TRINITY AL 35673
MORRIS TRANS CORP                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MORRIS TRUCKING CORPORATION            OR MORRIS TRUCKING CORPORATION, POB 2042 TERRE HAUTE IN 47807
MORRIS W JONES                         ADDRESS ON FILE
MORRIS, ANDRE                          ADDRESS ON FILE
MORRIS, ANTOINETTE                     ADDRESS ON FILE
MORRIS, APRIL                          ADDRESS ON FILE
MORRIS, BILLY                          ADDRESS ON FILE
MORRIS, BRIAN K                        ADDRESS ON FILE
MORRIS, BROCK                          ADDRESS ON FILE
MORRIS, BYRON                          ADDRESS ON FILE
MORRIS, CHRIS                          ADDRESS ON FILE
MORRIS, CHRISTOPHER                    ADDRESS ON FILE
MORRIS, CLIFTON                        ADDRESS ON FILE
MORRIS, COREYYION                      ADDRESS ON FILE
MORRIS, COREYYION                      ADDRESS ON FILE
MORRIS, DAIMARR M                      ADDRESS ON FILE
MORRIS, DAMOND                         ADDRESS ON FILE
MORRIS, DENNIS                         ADDRESS ON FILE
MORRIS, DEVIN                          ADDRESS ON FILE
MORRIS, DUSTIN                         ADDRESS ON FILE
MORRIS, FIONA                          ADDRESS ON FILE
MORRIS, GLEN                           ADDRESS ON FILE
MORRIS, GREGORY                        ADDRESS ON FILE
MORRIS, GREGORY                        ADDRESS ON FILE
MORRIS, HARRISON                       ADDRESS ON FILE
MORRIS, HARVEY                         ADDRESS ON FILE
MORRIS, IAN                            ADDRESS ON FILE
MORRIS, IAN                            ADDRESS ON FILE
MORRIS, JAXSON                         ADDRESS ON FILE
MORRIS, JOSHUA                         ADDRESS ON FILE
MORRIS, JUSTIN                         ADDRESS ON FILE
MORRIS, KEANMA D                       ADDRESS ON FILE
MORRIS, KELLEY                         ADDRESS ON FILE
MORRIS, KENNETH                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1321 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1330 of 2156

Claim Name                              Address Information
MORRIS, KEVIN                           ADDRESS ON FILE
MORRIS, KYLE                            ADDRESS ON FILE
MORRIS, LAMAR                           ADDRESS ON FILE
MORRIS, LAURIAN                         ADDRESS ON FILE
MORRIS, MARCUS                          ADDRESS ON FILE
MORRIS, MARK                            ADDRESS ON FILE
MORRIS, MARK                            ADDRESS ON FILE
MORRIS, MARK                            ADDRESS ON FILE
MORRIS, MAURICE                         ADDRESS ON FILE
MORRIS, MICHAEL                         ADDRESS ON FILE
MORRIS, MICHAEL                         ADDRESS ON FILE
MORRIS, NICHOLS, ARSHT & TUNNELL LLP    PO BOX 1347 WILMINGTON DE 19899
MORRIS, OLIVER                          ADDRESS ON FILE
MORRIS, ORLANDO                         ADDRESS ON FILE
MORRIS, OTIS                            ADDRESS ON FILE
MORRIS, PATRICK                         ADDRESS ON FILE
MORRIS, PAULINE                         ADDRESS ON FILE
MORRIS, PHILLIP                         ADDRESS ON FILE
MORRIS, PHILLIP                         ADDRESS ON FILE
MORRIS, PHILLIP                         ADDRESS ON FILE
MORRIS, RANDY                           ADDRESS ON FILE
MORRIS, REMEL                           ADDRESS ON FILE
MORRIS, RODNEY                          ADDRESS ON FILE
MORRIS, ROGER                           ADDRESS ON FILE
MORRIS, ROXIE                           ADDRESS ON FILE
MORRIS, SCOTT                           ADDRESS ON FILE
MORRIS, SEAN                            ADDRESS ON FILE
MORRIS, SEAN                            ADDRESS ON FILE
MORRIS, SHAVON                          ADDRESS ON FILE
MORRIS, SOPHIA                          ADDRESS ON FILE
MORRIS, SOPHIA                          ADDRESS ON FILE
MORRIS, STEPHEN                         ADDRESS ON FILE
MORRIS, STEPHEN                         ADDRESS ON FILE
MORRIS, TATIANNA                        ADDRESS ON FILE
MORRIS, TEALICIA                        ADDRESS ON FILE
MORRIS, THOMAS                          ADDRESS ON FILE
MORRIS, THOMAS                          ADDRESS ON FILE
MORRIS, TRAVIS                          ADDRESS ON FILE
MORRIS, TYLER                           ADDRESS ON FILE
MORRIS, WILLIS                          ADDRESS ON FILE
MORRISON FENCE COMPANY INC              9 BROOKS POND ROAD SPENCER MA 01562
MORRISON FREIGHT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MORRISON GROUP                          ATTN: VONDA JONES 3400 S KELLY AVE DOCK 21 EDMOND OK 73013
MORRISON INC                            D/B/A: MORRISON INDUSTRIAL EQUIPMENT CO PO BOX 1803 GRAND RAPIDS MI 49501
MORRISON INDUSTRIAL EQUIPMENT COMPANY   PO BOX 1803 GRAND RAPIDS MI 49501
MORRISON INDUSTRIAL EQUIPMENT COMPANY   2505 NORTH FOUNDATION DR SOUTH BEND IN 46628
MORRISON MOTOR FREIGHT LLC              27788 HWY B WARRENTON MO 63383
MORRISON SUPPLY CO                      5673 STATE HWY 359 LAREDO TX 78043
MORRISON TRANSPORT LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                                  Page 1322 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1331 of 2156

Claim Name                           Address Information
MORRISON, BRANDON                    ADDRESS ON FILE
MORRISON, CLIVE                      ADDRESS ON FILE
MORRISON, COOPER                     ADDRESS ON FILE
MORRISON, DWAYNE                     ADDRESS ON FILE
MORRISON, ERSHALA                    ADDRESS ON FILE
MORRISON, EVERTON                    ADDRESS ON FILE
MORRISON, GARY                       ADDRESS ON FILE
MORRISON, JAMES                      ADDRESS ON FILE
MORRISON, JERRY                      ADDRESS ON FILE
MORRISON, LAWRENCE                   ADDRESS ON FILE
MORRISON, MARK                       ADDRESS ON FILE
MORRISON, MICHAEL                    ADDRESS ON FILE
MORRISON, MICHAEL                    ADDRESS ON FILE
MORRISON, MONTEZ                     ADDRESS ON FILE
MORRISON, RAUNDERIO                  ADDRESS ON FILE
MORRISON, TAMERA                     ADDRESS ON FILE
MORRISON, TIM                        ADDRESS ON FILE
MORRISON, TIMOTHY                    ADDRESS ON FILE
MORRISON, WILLIAM                    ADDRESS ON FILE
MORRISON, XANDER                     ADDRESS ON FILE
MORRISSETTE, BRANDON                 ADDRESS ON FILE
MORRISSETTE, NORMAN                  ADDRESS ON FILE
MORRISTOWN DRIVERS SERVICE, INC.     P O BOX 2158 MORRISTOWN TN 37816
MORRONE, EMILEE                      ADDRESS ON FILE
MORRONE, VINCENT A                   ADDRESS ON FILE
MORRONE, XAVIER                      ADDRESS ON FILE
MORROW SODALI LLC                    333 LUDLOW STREET 5TH FL STAMFORD CT 06902
MORROW UNITED TRANSPORT LLC          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MORROW, DARRYL                       ADDRESS ON FILE
MORROW, DENNIS                       ADDRESS ON FILE
MORROW, JALEN                        ADDRESS ON FILE
MORROW, MARCUS                       ADDRESS ON FILE
MORROW, MEREDITH                     ADDRESS ON FILE
MORROW, MILDRED                      ADDRESS ON FILE
MORROW, ROGER                        ADDRESS ON FILE
MORROW, SCOTT                        ADDRESS ON FILE
MORROW, VINCENT                      ADDRESS ON FILE
MORSCO HVAC SUPPLY                   1202 N 54TH AVE STE 111 PHOENIX AZ 85043
MORSE CHEMICAL                       ATTN: NICOLE TUCKER ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
MORSE COMMERCIAL TRUCK SERVICE       67 ROCKY DUNDEE RD BUXTON ME 04093
MORSE COMMERCIAL TRUCK SERVICE LLC   25 VALVIEW DRIVE AUBURN ME 04210
MORSE COMMERICAL TRUCK SERVICE       D/B/A: MORSE COMMERCIAL TRUCK SERVICE 67 ROCKY DUNDEE RD BUXTON ME 04093
MORSE REPAIR INC                     943 NORTH BRANCH ST BENNINGTON VT 05201
MORSE TRUCKING INC                   OR S. S BROWNFUNDING, P.O. BOX 1267 MANSFIELD TX 76063
MORSE, AARON                         ADDRESS ON FILE
MORSE, ANTONIO                       ADDRESS ON FILE
MORSE, CHRISTOPHER                   ADDRESS ON FILE
MORSE, DANIEL                        ADDRESS ON FILE
MORSE, DIANNE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1323 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1332 of 2156

Claim Name                           Address Information
MORSE, DYLAN                         ADDRESS ON FILE
MORSE, ERIC                          ADDRESS ON FILE
MORSE, GREGORY                       ADDRESS ON FILE
MORSE, ROBERT                        ADDRESS ON FILE
MORSER INC                           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
MORSUCCI, RUBEN                      ADDRESS ON FILE
MORSUS MIHI CORP                     OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MORTENSEN, DEBRA                     ADDRESS ON FILE
MORTENSEN, MARK                      ADDRESS ON FILE
MORTIMER ELECTRIC, INC.              110 SCHOOL ST BEDFORD PA 15522
MORTIS, ROXANN                       ADDRESS ON FILE
MORTON EXPRESS, LLC                  OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
MORTON HEAVY HAUL LLC                1719 DRAYTON DR MURFREESBORO TN 37130
MORTON SALT, INC.                    DEPT. CH 19973 PALATINE IL 60055
MORTON UTILITIES                     120 NORTH MAIN STREET PO BOX 28 MORTON IL 61550
MORTON, BARNABAS                     ADDRESS ON FILE
MORTON, CARNELL                      ADDRESS ON FILE
MORTON, DONALD                       ADDRESS ON FILE
MORTON, JAMES                        ADDRESS ON FILE
MORTON, JAMES                        ADDRESS ON FILE
MORTON, JAMES R                      ADDRESS ON FILE
MORTON, KRISTEN                      ADDRESS ON FILE
MORTON, PAUL                         ADDRESS ON FILE
MORTON, REGAN                        ADDRESS ON FILE
MORTON, WILLIAM                      ADDRESS ON FILE
MORTON, WILLIAM                      ADDRESS ON FILE
MORTON, WILLIAM S                    ADDRESS ON FILE
MORU K MANE                          ADDRESS ON FILE
MOS LOGISTICS LLC                    OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
MOSAIC                               C/O ALLIANZ GLOBAL RISK US INSURANCE CO ATTN: ALISON LA FIELD 225 W WASHINGTON
                                     ST, STE 1800 CHICAGO IL 60606
MOSAIC LOGISTICS INC                 ATTN: GARY MARSH 266 CHARLOTTE ST PETERBOROUGH ON K9J 2V4 CANADA
MOSAKOWSKI, STANLEY                  ADDRESS ON FILE
MOSBEY, MAX                          ADDRESS ON FILE
MOSBY, BRYAN                         ADDRESS ON FILE
MOSBY, JOHN                          ADDRESS ON FILE
MOSBY, WARDELL                       ADDRESS ON FILE
MOSBYS TOWING & TRANSPORT LLC        P.O. BOX 16388 LOUISVILLE KY 40256
MOSCATELLO, JOHN P                   ADDRESS ON FILE
MOSCHINI, MARK                       ADDRESS ON FILE
MOSCHINI, MATTHEW                    ADDRESS ON FILE
MOSCOSO, ALMA                        ADDRESS ON FILE
MOSCOSO, FRANKLIN                    ADDRESS ON FILE
MOSELEY, DANNY                       ADDRESS ON FILE
MOSELEY, SAMAR                       ADDRESS ON FILE
MOSER CORPORATION                    ATTN: DAN HICKMAN PO BOX 1984 ROGERS AR 72757-1984
MOSER TRUCKING                       1465 BUCK MOUNTAIN RD WEATHERLY PA 18255
MOSER, BRIAN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1324 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1333 of 2156

Claim Name                          Address Information
MOSER, BRIAN J                      ADDRESS ON FILE
MOSER, DAVID                        ADDRESS ON FILE
MOSER, MATTHEW                      ADDRESS ON FILE
MOSER, MITCHUM                      ADDRESS ON FILE
MOSER, NIKOLAS                      ADDRESS ON FILE
MOSER, RANDY                        ADDRESS ON FILE
MOSER, TERRY                        ADDRESS ON FILE
MOSES L CANTY                       ADDRESS ON FILE
MOSES TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MOSES, CALEB                        ADDRESS ON FILE
MOSES, DAVID                        ADDRESS ON FILE
MOSES, LENDERRICK                   ADDRESS ON FILE
MOSES, MARLON                       ADDRESS ON FILE
MOSES, MICHAEL                      ADDRESS ON FILE
MOSES, REGINALD                     ADDRESS ON FILE
MOSES, RICKY                        ADDRESS ON FILE
MOSES, UNDRA                        ADDRESS ON FILE
MOSHER, ANTONIO                     ADDRESS ON FILE
MOSHER, JAMES                       ADDRESS ON FILE
MOSHER, JOEL                        ADDRESS ON FILE
MOSIER, CHRISTOPHER                 ADDRESS ON FILE
MOSILLAMI, LAURIANN                 ADDRESS ON FILE
MOSIN LOGISTICS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MOSINEE CITY TREASURER              225 MAINT ST MOSINEE WI 54455-1498
MOSKITO EXPRESS INC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MOSLEY, BOYCE                       ADDRESS ON FILE
MOSLEY, DAVEON                      ADDRESS ON FILE
MOSLEY, DERRICK                     ADDRESS ON FILE
MOSLEY, HARVEY                      ADDRESS ON FILE
MOSLEY, JERMAINE                    ADDRESS ON FILE
MOSLEY, LARRY                       ADDRESS ON FILE
MOSLEY, MYRANDA                     ADDRESS ON FILE
MOSLEY, NEKISHA                     ADDRESS ON FILE
MOSLEY, SHENEA                      ADDRESS ON FILE
MOSLEY, TEQUILLA L                  ADDRESS ON FILE
MOSLEY, TONY                        ADDRESS ON FILE
MOSOB TRANSPORTATION LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MOSQUEDA, JOSE                      ADDRESS ON FILE
MOSQUEDA, MARTIN                    ADDRESS ON FILE
MOSS TRUCKING LLC                   OR TRIUMPH BUSINESS CAPTIAL PO BOX 610028 DALLAS TX 75261-0028
MOSS, ANDREW                        ADDRESS ON FILE
MOSS, AVERY                         ADDRESS ON FILE
MOSS, BARTHOLOMEW                   ADDRESS ON FILE
MOSS, CHRIS                         ADDRESS ON FILE
MOSS, DAN                           ADDRESS ON FILE
MOSS, DAN W                         ADDRESS ON FILE
MOSS, DAVID                         ADDRESS ON FILE
MOSS, DAVID                         ADDRESS ON FILE
MOSS, DOUG                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1325 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1334 of 2156

Claim Name                              Address Information
MOSS, EVERETT                          ADDRESS ON FILE
MOSS, HEATH                            ADDRESS ON FILE
MOSS, JAMES                            ADDRESS ON FILE
MOSS, KEITH                            ADDRESS ON FILE
MOSS, KENNETH M                        ADDRESS ON FILE
MOSS, KEVIN                            ADDRESS ON FILE
MOSS, KHAYLEN                          ADDRESS ON FILE
MOSS, LYNN                             ADDRESS ON FILE
MOSS, MARILYN                          ADDRESS ON FILE
MOSS, MYCHAEL                          ADDRESS ON FILE
MOSS, ROBERT                           ADDRESS ON FILE
MOSS, SHAHLAA M                        ADDRESS ON FILE
MOSSEY, MICHAEL                        ADDRESS ON FILE
MOSSING, RUSS                          ADDRESS ON FILE
MOST LOGISTICS INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MOST, JASON K                          ADDRESS ON FILE
MOST, JASON K                          ADDRESS ON FILE
MOSTAPHA, ALEX                         ADDRESS ON FILE
MOSTARDI, SAMUEL                       ADDRESS ON FILE
MOSTEK ELECTRIC INC                    PO BOX 518 KEARNEY NE 68848
MOSTELLERS                             C/O SOUTHEASTERN FUNDING GROUP PO BOX 3261 CLEVELAND TN 37320-3261
MOSTELLERS                             D/B/A: MOSTELLERS WRECKER INC P.O. BOX 3006 CHATTANOOGA TN 37404
MOSTELLERS TOWING INC                  C/O SOUTHEASTERN FUNDING GROUP PO BOX 3261 CLEVELAND TN 37320
MOSTELLERS WRECKER INC                 C/O J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
MOSZCZYNSKI, MARK                      ADDRESS ON FILE
MOTA, SHAWN                            ADDRESS ON FILE
MOTA-ARACENA, ANDREA                   ADDRESS ON FILE
MOTES, SYDNEY                          ADDRESS ON FILE
MOTES, WILLIAM                         ADDRESS ON FILE
MOTHERS POLISHES                       5456 INDUSTRIAL DR HUNTINGTON BEACH CA 92649
MOTHERS POLISHES                       ATTN: GLORIA MONTANO 5456 INDUSTRIAL DR HUNTINGTON BEACH CA 92649
MOTHERSHIP TECHNOLOGIES INC            ATTN: ZACHARY KIDD PO BOX 515381 PMB 48766 LOS ANGELES CA 90051
MOTHERSHIP TECHNOLOGIES INC            PO BOX 515381, PMB 48766 LOS ANGELES CA 90051
MOTI DELIVERY & TRANSPORTATION SVCS LLC OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
MOTI TRUCKING LLC                      OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
MOTION & FLOW CONTROL PRODUCTS         8433 SOLUTION CENTER CHICAGO IL 60677
MOTION CA78                            ATTN: MARIE ORNELLAS 4165 COMMERCIAL DR TRACY CA 95304
MOTION DYNAMICS POWER SERVICES INC.    367 HOLLOW HILL DR. WAUCONDA IL 60084
MOTION INDUSTRIES                      6140 CENTRAL CHURCH ROAD DOUGLASVILLE GA 30135
MOTION INDUSTRIES                      6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
MOTION INDUSTRIES                      3390 E US HIGHWAY 12 HELENA MT 59601
MOTION INDUSTRIES                      116 W BONNEVILLE ST PASCO WA 99301
MOTION INDUSTRIES CANADA               ATTN: HERITIER NGALAMULUME 9803 12 AVE SW EDMONTON AB T6X 0E3 CANADA
MOTION INDUSTRIES CANADA               ATTN: JENNIFER STEWART 9803 12 AVE SW EDMONTON AB T6X 0E3 CANADA
MOTION TECH                            140 N. KEOWEE STREET DAYTON OH 45404
MOTIVATED FREIGHT LLC                  OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
MOTIVE BROTHERS LOGISTICS LLC          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MOTLEY CREW TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MOTLEY, CHARITY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1326 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1335 of 2156

Claim Name                             Address Information
MOTLEY, GILBERT                        ADDRESS ON FILE
MOTO MIKES LLC                         PO BOX 189 MONA UT 84645
MOTO MIKES LLC                         195 STATE ROAD 198 SALEM UT 84653
MOTON, RICKY                           ADDRESS ON FILE
MOTON, ROBERT                          ADDRESS ON FILE
MOTOR CARGO INC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MOTOR CARRIERS OF MONTANA              501 N SANDERS 201 HELENA MT 59601
MOTOR CITY LOGISTICS ONE INC           OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
MOTOR CITY XPRESS                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOTOR MART                             150 MARR ST WENATCHEE WA 98801
MOTOR POWER EQUIPMENT                  PO BOX 80030 BILLINGS MT 59108
MOTOR POWER EQUIPMENT CO               4941 MIDLAND RD BILLINGS MT 59101
MOTOR SUPPLY, INC.                     1332 MAIN STREET SUITE 204 COLUMBIA SC 29201
MOTOR TRANSPORT ASSOC OF CONNECTICUT   60 FOREST ST HARTFORD CT 06105
INC
MOTOR TRUCK EQUIPMENT COMPANY          ATTN: TIM SHUSTACK SALES 198 KOST RD CARLISLE PA 17015
MOTOR TRUCKS INC                       315 RIVERSIDE RD EVERETT WA 98201
MOTOR VEHICLE DEPARTMENT               PO BOX 35011 BILLINGS MT 59107
MOTORCOACH MAINTENANCE                 & TRUCK REPAIR OF MONTANA INC PO BOX 718 531 BUSINESS HUB DR SUITE A BELGRADE
                                       MT 59714
MOTORCOACH MAINTENANCE                 & TRUCK REPAIR OF MONTANA INC PO BOX 718 BELGRADE MT 59714
MOTORCOACH MAINTENANCE                 & TRUCK REPAIR OF MONTANA, INC. 531 BUSINESS HUB DR SUITE A BELGRADE MT 59714
MOTORS & ARMATURES                     ATTN: LORI CAVA 13490 LAKEFRONT DR EARTH CITY MO 63045
MOTORS AND ARMATURES                   ATTN: HILARY HARRIS CS 13490 LAKEFRONT DR EARTH CITY MO 63045
MOTORS AND ARMATURES                   ATTN: MAXINE BLOCK 13490 LAKEFRONT DR EARTH CITY MO 63045
MOTORS AND ARMATURES                   ATTN: SYLVIA LIGORIO 13490 LAKEFRONT DR EARTH CITY MO 63045
MOTORS AND ARMATURES                   ATTN: VERONICA VALENTINE 13490 LAKEFRONT DR EARTH CITY MO 63045
MOTORWAY CARGO LLC                     14039 PURITAS AVE UNIT 35273 CLEVELAND OH 44135-2888
MOTORWAY EXPRESS                       24 PENDERGAST CT BRAMPTON ON L6P4G7 CANADA
MOTSENBOCKER, DARRYL                   ADDRESS ON FILE
MOTT WHEELS INCORPORATED               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MOTT, MELISSA                          ADDRESS ON FILE
MOTT, RANDALL                          ADDRESS ON FILE
MOTT, ROBERT                           ADDRESS ON FILE
MOTTER, TRAVIS                         ADDRESS ON FILE
MOTTS WRECKER SERVICE                  PO BOX 719 MARION TX 78124
MOTTS WRECKER SERVICE                  17316 BELL NORTH DR SCHERTZ TX 78154
MOTUS LLC                              1 BEACON STREET FLOOR 15 BOSTON MA 02108
MOTUS LLC                              TWO FINANCIAL CENTER 60 SOUTH STREET SUITE 1200 BOSTON MA 02111
MOTUS TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MOTYL, MICHAEL                         ADDRESS ON FILE
MOUA, CHEE                             ADDRESS ON FILE
MOUA, JOUA                             ADDRESS ON FILE
MOUDRIK, ABDERRAHIM                    ADDRESS ON FILE
MOUGHLER, BRUCE                        ADDRESS ON FILE
MOUL, JEFFREY                          ADDRESS ON FILE
MOULTON, BRIAN                         ADDRESS ON FILE
MOULTON, ELIZABETH                     ADDRESS ON FILE
MOULTRIE, MYLES                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1327 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1336 of 2156

Claim Name                              Address Information
MOULTRIE, PERCY                        ADDRESS ON FILE
MOUNCE, JACOB                          ADDRESS ON FILE
MOUNCE, STERLING                       ADDRESS ON FILE
MOUNCE, TIM                            ADDRESS ON FILE
MOUNCE, TIM                            ADDRESS ON FILE
MOUNCE, WILLIE                         ADDRESS ON FILE
MOUNHEN TRUCKING LLC                   OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
MOUNT TRAILER CO.                      6364 NE 63RD AVE PORTLAND OR 97218
MOUNT VERNON CONTROLLERS OFFICE        PO BOX 1006 MOUNT VERNON NY 10551
MOUNT, JEFF                            ADDRESS ON FILE
MOUNTAIN ALARM FIRE & SECURITY         P.O. BOX 12487 OGDEN UT 84412
MOUNTAIN COUNTRY FOODS                 ATTN: BILL NORTH 1721 N 200 E SPANISH FORK UT 84660
MOUNTAIN ELECTRIC                      PO BOX 31532 BILLINGS MT 59107
MOUNTAIN HI TRANSPORTATION LLC         PO BOX 165 WALLA WALLA WA 99362
MOUNTAIN ISLAND MOTORS                 6000 BROOKSHIRE BLVD CHARLOTTE NC 28216
MOUNTAIN LOGISTICS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MOUNTAIN MILLING INC                   ATTN: BRIAN J SNELL 2123 VAUGHAN RD LINDON UT 84042
MOUNTAIN MIST                          PO BOX 44427 TACOMA WA 98448
MOUNTAIN MOVERS                        601 HANOVER DR 675 GRAPEVINE TX 76051
MOUNTAIN MOVERS TRANSPORTATION, LLC    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
MOUNTAIN PARK SPRING WATER INC         2835 LOWERY STREET WINSTON SALEM NC 27101
MOUNTAIN RECOVERY                      150 E BEAVER CREEK BLVD A102-429 POB 19000-429 AVON CO 81620
MOUNTAIN RECOVERY                      POB 19000-429 AVON CO 81620
MOUNTAIN RECOVERY                      1000 LIONS RIDGE LOOP VAIL CO 81657
MOUNTAIN TOP HAULING LLC               OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MOUNTAIN VIEW TRUCKING LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MOUNTAIN WEST MILK TRANSPORT INC.      PO BOX 2615 CEDAR CITY UT 84721
MOUNTAIN WEST TRUCK CENTER             321 CENTENNIAL DRIVE HEYBURN ID 83336
MOUNTAIN WEST TRUCK CENTER             5914 S. DOUG ANDRUS DRIVE IDAHO FALLS ID 83402
MOUNTAIN WEST TRUCK CENTER             PO BOX 25117 SALT LAKE CITY UT 84125
MOUNTAIN WEST TRUCK CENTER             7114 W SR201, N FRONTAGE ROAD WEST VALLEY CITY UT 84128
MOUNTAINEER EQUIPMENT COMPANY          65 HANES RD. NEWLAND NC 28657
MOUNTAINEER GAS COMPANY                PO BOX 5201 CHARLESTON WV 25361-0201
MOUNTAINEER THERMO KING                PO BOX 538509 ATLANTA GA 30353
MOUNTAINEER TRANSPORTATION LLC         200 E MAIN ST WILKESBORO NC 28697
MOUNTAINLAND SUPPLY CO                 1433 W 130 S OREM UT 84058
MOUNTAINLAND TRANSPORTATION            777 EAST 600 SOUTH HEBER CITY UT 84032
MOUNTAINMOVERS TRUCKING, LTD.          PO BOX 153 GRAPEVINE TX 76099
MOUNTRAIL-WILLIAMS ELECTRIC COOPERATIVE 218 58TH ST. W. WILLISTON ND 58802
MOUNTS, BOBBY                          ADDRESS ON FILE
MOUNTS, KIMBERLY                       ADDRESS ON FILE
MOURADI, KHALID                        ADDRESS ON FILE
MOUSER TRANSPORT INC                   1143 HILL MESA COURT COLORADO SPRINGS CO 80905
MOUSER, CHRISTOPHER                    ADDRESS ON FILE
MOUSER, DENNIS L                       ADDRESS ON FILE
MOUSER, MICHAEL                        ADDRESS ON FILE
MOUSSEAU, FABIAN                       ADDRESS ON FILE
MOUTON, CHRISTOPHER                    ADDRESS ON FILE
MOUTON, TYRONE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1328 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1337 of 2156

Claim Name                           Address Information
MOUTRAY, DEMETRY                     ADDRESS ON FILE
MOUZON, SHANNON                      ADDRESS ON FILE
MOVE AMERICA LOGISTICS LLC           OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
MOVE AND CARE LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MOVE EXPRESS INC                     6500 HARBOR TOWN DR APT 2902 HOUSTON TX 77036
MOVE FOR LESS TRANSPORTATION LLC     1518 INDUSTRIAL DRIVE EDGEWATER FL 32132
MOVE IT RIGHT TRANSPORTATION LLC     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
MOVE SAFELY LOGISTICS LLC            OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
MOVERS AND SHAKERS TRUCKING LLC      677 WINNERS CIRCLE WHITSETT NC 27377
MOVING LANES TRANSPORTATION LLC      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MOVING SERVICES TRANSPORTATION INC   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MOVING SOLUTIONS, INC.               8001 MOVING WAY MENTOR OH 44060
MOVING STAR TRUCKING INC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MOVING WORLDWIDE LLC                 OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
MOVINGONUP TRANSPORTATION LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MOW TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MOWAD, VINCENT                       ADDRESS ON FILE
MOWATT, GEOFFREY                     ADDRESS ON FILE
MOWDY, DAVID                         ADDRESS ON FILE
MOWDY, DENNIS                        ADDRESS ON FILE
MOWER, EDWARD                        ADDRESS ON FILE
MOWERY, ANGELA                       ADDRESS ON FILE
MOWERY, RICK                         ADDRESS ON FILE
MOWLANA LOGISTICS LLC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
MOY TRUCKING LLC                     OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MOYA, RICHARD J                      ADDRESS ON FILE
MOYAL, DAVID                         ADDRESS ON FILE
MOYAS TRANSPORTATION                 OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
MOYE, NIYA                           ADDRESS ON FILE
MOYER, A                             ADDRESS ON FILE
MOYER, A J                           ADDRESS ON FILE
MOYER, DAVID                         ADDRESS ON FILE
MOYER, FLOYD                         ADDRESS ON FILE
MOYER, GREGORY                       ADDRESS ON FILE
MOYER, JAMES                         ADDRESS ON FILE
MOYER, NENA                          ADDRESS ON FILE
MOYER, SEAN                          ADDRESS ON FILE
MOYER, STEVE                         ADDRESS ON FILE
MOYER, TIMOTHY                       ADDRESS ON FILE
MOYER, ZACHARY                       ADDRESS ON FILE
MOYLAN, HUNTER                       ADDRESS ON FILE
MOYLAN, MICHAEL                      ADDRESS ON FILE
MOYNIHAN, JAMES                      ADDRESS ON FILE
MOZUCH, AMANDA                       ADDRESS ON FILE
MP CARRIERS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MP FREIGHT                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MP FREIGHT                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
MP SERVICES UTAH LLC                 DBA SMASH MY TRASH SALT LAKE CITY 5698 GREEN OAKS DR GREENWOOD VILLAGE CO
                                     80121



Epiq Corporate Restructuring, LLC                                                               Page 1329 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1338 of 2156

Claim Name                           Address Information
MP SERVICES UTAH LLC                 349 S 475 OREM UT 84097
MP TRANS INC                         OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415-0581
MP TRANSPORT LLC                     320 W SCOTT ST MILWAUKEE WI 53204
MP TRANSPORTER INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MP TRUCKING LLC                      135 46 122ND PL JAMAICA NY 11420
MP TRUCKING LLC (MC1039133)          OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
MPCO CARRIERS, INC.                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MPD EXPRESS CORP                     OR CFS INC DBA COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
MPG EXPRESS, LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MPIO INC                             ATTN: ORLANDO TORRES 18553 S DOMINGUEZ HILLS DR RANCHO DOMINGUEZ CA 90220
MPP OHIO MAIN WHSE                   ATTN: MANSFIELD PLUMBING 1430 GEORGE RD ASHLAND OH 44805
MPR TRUCKING LLC                     4400 W VICTORY CREEK DR FRANKLIN WI 53132
MPW ENTERPRISES                      14 N. AIRMONT ROAD SUFFERN NY 10901
MR 13 INC                            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
MR BIT TRANSPORT LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MR BROWN LOGISTICS LLC               OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
MR BUUL CORP                         OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
MR CARRIERS LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MR CUMMINS TRANSPORT LLC             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
MR ELECTRIC OF GREENSBORO            806 GREEN VALLEY RD STE 200 GREENSBORO NC 27408
MR ELECTRIC OF MCLENNAN COUNTY       PO BOX 1146 HEWITT TX 76643
MR ELECTRIC OF SOUTH WEST FLORIDA    71 MID CAPE TERR UNIT 1 CAPE CORAL FL 33991
MR ELECTRIC OF WEST FORT WORTH       13450 OAK GROVE RD S BURLESON TX 76028
MR FRANCO TRANSPORT LLC              OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
MR GLOBAL TRUCKING SOLUTIONS INC     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MR GO2 LLC                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MR HANDYMAN OF DES MOINES            9559 NIXON ST INDIANOLA IA 50125
MR KUMAR TRANSPORT INC               OR HGS FUNDING, P.O. BOX 1359 RANCHO CUCAMONGA CA 91729-1359
MR LAURA INC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MR LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MR MANN TRUCKING LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MR MOW-IT LAWN MAINTENANCE LLC       D/B/A: MR MOW-IT LLC P.O. BOX 724 CAMDEN NJ 08101
MR MOW-IT LLC                        P.O. BOX 724 CAMDEN NJ 08101
MR MUDD CONCRETE CORP                400 E 52ND ST GARDEN CITY ID 83714
MR P TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MR PRESIDENT INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MR ROOTER PLUMBING                   1655 MARIEETTA WAY 102 SPARKS NV 89431
MR ROOTER PLUMBING OF DENVER         3801 GODDING HOLLOW PKWY FREDERICK CO 80516
MR ROOTER PLUMBING OF SEATTLE        2000 S 116TH ST SEATTLE WA 98168
MR SHIPPING LLC                      OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MR SINGH TRANSPORT INC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MR TRANS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MR TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MR TRANSPORTATION LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MR TRANSPORTER LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MR VALDEZ TRUCKING INC               OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
MR. D XPRESS, INC.                   4225 W BANFF LANE PHOENIX AZ 85053
MR. ELECTRIC - MCLENNAN COUNTY       D/B/A: MR ELECTRIC OF MCLENNAN COUNTY PO BOX 1146 HEWITT TX 76643
MR. ELECTRIC OF WEST FORT WORTH      119 NW HILLERY STREET BURLESON TX 76028



Epiq Corporate Restructuring, LLC                                                               Page 1330 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1339 of 2156

Claim Name                            Address Information
MR. FROGS TRUCKING LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MR. HANDYMAN OF NORTHERN VIRGINIA     ARLINGTON TO HAYMARKET 9120 I-BEAM LN MANASSAS VA 20110
MR. HANDYMAN OF NORTHERN VIRGINIA -   ARLINGTON TO HAYMARKET 9030 EUCLID AVE MANASSAS VA 20110
MR. K ENTERPRISES, INC.               OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MR. RELIABLE TRANSPORT LLC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
MR. ROOTER PLUMBING                   4 1955 LOGAN AVENUE WINNIPEG MB R2R 0H6 CANADA
MR. ROOTER PLUMBING                   OF GREATER SYRACUSE, 1770 ERIE BLVD W SYRACUSE NY 13204
MR. ROOTER PLUMBING                   2606 N VENTURA AVE VENTURA CA 93001
MR. ROOTER PLUMBING OF WINNIPEG       753 HENRY AVENUE WINNIPEG MB R3E 1V2 CANADA
MRBULLY HOTSHOT LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MRG TRUCKING                          OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
MRI SOFTWARE LLC                      28925 FOUNTAIN PKWY SOLON OH 44139
MRIYA TRUCKING LLC                    OR TAB BANK, P.O. BOX 150363 OGDEN UT 84415
MRK TRUCKING LLC                      OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
MRKONJA, THEODORE                     ADDRESS ON FILE
MRKZ EXPRESS INC.,                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MRL FREIGHT CORP                      OR TBS FACTORING SERVICE, PO BOX 151052 OGDEN UT 84415
MRL TRANSPORT LLC                     2032 CAMPBELL LAKE CT YORK SC 29745
MRM EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MROCZKOWSKI, KATARZYNA                ADDRESS ON FILE
MROD LOGISTICS LLC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
MROZICKI, TAMMY                       ADDRESS ON FILE
MROZINSKI, LARRY                      ADDRESS ON FILE
MRR UNITED LLC                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
MRT DISTRIBUTION INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MRT LOGISTICS LLC                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
MRT TRANSPORT LLC                     1 ELIZABETH DR TUNKHANNOCK PA 18657
MRT TRANSPORTATION LLC                4447 KIRK LN SW ALBUQUERQUE NM 87121-7418
MRTC INC                              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MRV TRUCKING                          8480 GARDEN VIEW AVE SOUTH GATE CA 90280
MS                                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MS AEROSPACE INC                      ATTN: BRIAN GONZALEZ 13928 BALBOA BLVD SYLMAR CA 91342
MS AIR INC                            PO BOX 48203 WATAUGA TX 76148
MS BEAS TRUCKING LLC                  OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
MS EXPRESS INC                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MS EXPRESS INC (GREENWOOD IN)         5168 CITADEL DR NOBLESVILLE IN 46062
MS EXPRESS LOGISTIC LLC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MS EXPRESS LOGISTIC LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MS INTERNATIONAL                      12220 SW CIMINO ST STE 104 TUALATIN OR 97062
MS INTERNATIONAL INC                  2095 N BATAVIA ST ORANGE CA 92865
MS INTERNATIONAL INC                  ATTN: UPASANA POWAR 2095 N BATAVIA ST ORANGE CA 92865
MS INTERNATIONAL INC                  637 S LUCILE ST SEATTLE WA 98108
MS LINES AND MORE CORP                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MS LOGISTICS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MS POWELL LOGISTICS INC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
MS TRANS INC                          OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458
MS TRANSPORT LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MS TRANSPORTES                        D/B/A: ROSALINO NOLASCO TRINIDAD MIGUEL TRILLO 128, COL FRANCISCO VILLA NUEVO
                                      LAREDO TAMAULIPAS 88284 MEXICO



Epiq Corporate Restructuring, LLC                                                                Page 1331 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1340 of 2156

Claim Name                             Address Information
MS WORKERS COMPENSATION INDIVIDUAL     SELF-INSURER GUARANTY ASSOCIATION PO BOX 5300 JACKSON MS 39296
MS XPRESS INC                          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
MSA EXPRESS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MSA TRANSPORT SOLUTIONS INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MSB LOGISTICS LLC                      17806 IH 10 W SUITE 300 SAN ANTONIO TX 78257
MSB SERVICE & SUPPLY CORP              PO BOX 716 COARSEGOLD CA 93614
MSB SERVICE & SUPPLY CORP              3808 E JENSEN AVE FRESNO CA 93725
MSC                                    PO BOX 9073 MELVILLE NY 11747
MSC DIRECT                             ATTN JODYANN HARRIS/AP 525 HARBOUR PLACE DR DAVIDSON NC 28036
MSC IND DIRECT                         525 HARBOUR PLACE DR DAVIDSON NC 28036
MSC IND SUPPLY                         ATTN: DOMINICK AGNESE, 515 BROADHOLLOW MELVILLE NY 11747
MSC INDUSTRIAL DIRECT                  ATTN: CINDY RING ATTN RITA MARCONI A/R 515 BROADHOLLOW RD STE 1000 MELVILLE NY
                                       11747
MSC INDUSTRIAL SUPPLY                  ATTN: MARYVETT SUSS 6700 DISCOVERY BLVD MABLETON GA 30126
MSC TRANSPORTATION CORP                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MSCARRIER LLC                          OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
MSCISZ, KRZYSZTOF                      ADDRESS ON FILE
MSD EXPRESS INC                        980 LAMBERT LANE ELGIN IL 60120
MSD PROPERTY SERVICES, INC             1005 NORTH POINT BLVD., SUITE 729 BALTIMORE MD 21224
MSD PROPERTY SERVICES, INC             317 NORTH POINT BLVD. BALTIMORE MD 21224
MSD TRANS LTD                          OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MSD TRANS LTD                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MSDS ON LINE                           27185 NETWORK PLACE CHICAGO IL 60673
MSE SUPPLIES                           ATTN: BYRON CALDERON 3440 BRITANNIA DR UNIT 190 TUCSON AZ 85706
MSG TRANSPORT LLC                      OR COMFREIGHT, 65 PINE AV. STE 853 LONG BEACH CA 90802
MSG TRUCKING                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73195-0479
MSG TRUCKING LLC                       OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
MSH CARRIER INC                        OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
MSH LOGISTICS, LLC                     20450 SIBLEY RD BROWNSTOWN MI 48193
MSI                                    12929 E. PEAKVIEW CENTINIAL CO 80111
MSL CHILE                              5901 W CENTURY BLVD STE 1250 LOS ANGELES CA 90045
MSL SHIP NOW                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MSM FREIGHT EXPRESS GROUP              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MSM TRANSPORT LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MSM TRANSPORT LLC                      2109 HAMILTON RD STE 230 OKEMOS MI 48864
MSM TRANSPORT LLC (HARTFORD CT)        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MSM3 TRUCKING INC                      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
MSO                                    9022-0435 QUEBEC INC 3896 ROUTE 346 STE 7 ST-ALEXIS QC J0K 1T0 CANADA
MSO TRANSPORTATION LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MSP LOGISTICS INC                      1311 MILTON LN SCHAUMBURG IL 60193
MSP TRUCK LINES INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MSP TRUCK LINES INC                    926 EASTCREST CT YUBA CITY CA 95991
MSR EXPRESS INC                        OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
MSS EXPRESS LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MSSB (0015)                            ATT MS PROXY DEPT 1300 THAMES ST WHARF BALTIMORE MD 21231
MST TRANSPORTATION LLC                 100 E GREENWOOD RD MCDONOUGH GA 30253
MSTAR GLOBAL TRANSPORTATION SERVICES   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
INC
MSV TRANSPORTATION INC                 OR ADFIN INC, PO BOX 474 LAGRANGE IL 60525



Epiq Corporate Restructuring, LLC                                                                 Page 1332 OF 2145
                                              Yellow Corporation
                     Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1341 of 2156

Claim Name                             Address Information
MT BROTHERS GROUP INC                  520 MEEKER AVE LA PUENTE CA 91746
MT CARRIERS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MT DOT                                 2701 PROSPECT AVE PO BOX 201001 HELENA 59620-1001
MT EMPIRE INC                          4740 N CUMBERLAND AVE 103 CHICAGO IL 60656
MT EXPRESS LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MT LASSEN TRANSPORTATION LLC           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
MT TRANS INC                           OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
MT TRANSPORTATION AND LOGISTICS SVC,   45 MALL DR SUITE 6A COMMACK NY 11729
INC
MT TRANSPORTATION LLC (MC1343704)      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
MT&L                                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MT. POCONO TRANSPORTATION INC          469 INDUSTRIAL PARK DRIVE MT POCONO PA 18344
MT26 EXPRESS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MTA TRANSPORT LLC                      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
MTC                                    N10627 BAY VIEW LANE PHILLIPS WI 54555
MTC FORT WAYNE                         ATTN: RICHARD MATHE 2505 WAYNE HAVEN ST FT WAYNE IN 46803
MTC FREIGHT LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
MTC TRANSPORT LLC                      OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
MTC TRUCKING LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MTD PRODUCTS INC                       ATTN: PATTY BLAZE/ TIM REED PO BOX 368022 CLEVELAND OH 44136
MTD PRODUCTS INCORPORATED              ATTN: PATTY BLAGE PO BOX 368022 CLEVELAND OH 44136
MTD PRODUCTS INCORPORATED              ATTN: PATTY BLAZE PO BOX 368022 CLEVELAND OH 44136
MTE HYDRAULICS INC                     4701 KISHWAUKEE ST. ROCKFORD IL 61109
MTED TRANSPORT INC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
MTEY EXPRESS INC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
MTF LOGISTICS LLC                      OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
MTG TRANSPORTATION SERVICES INC        OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
MTG TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MTGA LOGISTICS                         OR CROSSROAD SERVICES, PO BOX 653076 DALLAS TX 75265-3076
MTH TRANSPORT                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MTH TRUCKING LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MTH TRUCKING LLC (MC1102488)           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MTI (MC1086729)                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
MTI CANADA INC                         1720 BOUL GUILLAUME-COUTURE LEVIS QC G6W 0R5 CANADA
MTI CANADA INC                         ATTN: NICOLLE VERBRUGGE 1720 DE LA RIVE SUD BLVD ST ROMUALD QC G6W 5M6 CANADA
MTI INSPECTION SERVICES INC            PO BOX 6999 COLORADO SPG CO 80934
MTI INSPECTION SERVICES INC            PO BOX 6999 COLORADO SPRINGS CO 80934
MTI TRANS LLC                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
MTI TRANSPORT                          1800-106 HYMUS BLVD DORAL QC H9P2N6 CANADA
MTI TRANSPORTS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MTI TRANSPORTS LTD                     327 42 AVE NW EDMONTON AB T6T 1J2 CANADA
MTJ AMERICAN                           P.O. BOX 826 GRANITE FALLS NC 28630
MTL                                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MTL COMPANIES                          PO BOX 431330 BROOKLYN PARK MN 55443
MTL INC                                163 VO TECH DR JOHNSTOWN PA 15904-2951
MTL TRUCKING LLC                       2458 SE ELLIOTT DR, 0 GRESHAM OR 97080
MTL TRUCKING LLC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MTM EXPRESS LLC                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MTM LEGACY TRANSPORT LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                 Page 1333 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1342 of 2156

Claim Name                           Address Information
MTM RECOGNITION CORPORATION          PO BOX 15659 OKLAHOMA CITY OK 73115
MTM TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MTM TRUCKING&TRANSPORTATION LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MTN CARGO LLC                        OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
MTN. HI TRUCK & EQUIPMENT            PO BOX 165 WALLA WALLA WA 99362
MTR                                  D/B/A: MTR - MOBILE TRANSPORT REPAIR 3435 ASTROZON COURT COLORADO SPRINGS CO
                                     80910
MTR - MOBILE TRANSPORT REPAIR        3435 ASTROZON COURT COLORADO SPRINGS CO 80910
MTR EXPRESS INC                      1121 N ELLIS ST BENSENVILLE IL 60106
MTR FREIGHT SYSTEMS INC              300 N CANAL ST APT 811 CHICAGO IL 60606-1271
MTR LLC                              7405 S 212TH STREET, SUITE112 KENT WA 98032
MTR TRUCKING, LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MTS (MENDOZA TRUCKING SERVICES)      OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
MTS CONTRACTING, INC.                1019 SWIFT AVE. NORTH KANSAS CITY MO 64116
MTS INC (MC971580)                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MTS LOGISTIC SERVICES LLC            OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
MTS LOGISTICS GROUP LLC              OR TRIUMPH FINANCIAL SERVICE LLC PO BOX 610028 DALLAS TX 75261-0028
MTS TRANS INC                        OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
MTT EXPRESS LINE INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MTY TRANSPORTATION LLC               3838 RHOTEN DR STERLING HEIGHTS MI 48310
MTZ CARRIERS INC                     OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MTZ CO                               2411 ENTERPRISE BLVD CALEXICO CA 92231
MTZ TRANSPORTATION SERVICES LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MUASAU, TONY                         ADDRESS ON FILE
MUASAU, ZACHARY                      ADDRESS ON FILE
MUBIN TRANSPORTATION                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MUCHAI LLC                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MUCHIE TRANSPORTATION LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MUCHIRI, WALTER                      ADDRESS ON FILE
MUCKEY, SCOTT                        ADDRESS ON FILE
MUCKLOW, MATTHEW                     ADDRESS ON FILE
MUDD, ROBERT C                       ADDRESS ON FILE
MUDE TRANSPORTATION INC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MUDEY TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUDICK, ANDREW                       ADDRESS ON FILE
MUDKA TRANSPORTATION LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
MUEGGE TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUELLER INDUSTRIES                   150 SCHILLING BLVD 201 COLLIERVILLE TN 38017
MUELLER INDUSTRIES                   TRANS DEPT, 150 SCHILLING BLVD COLLIERVILLE TN 38017
MUELLER INDUSTRIES INC               150 SCHILLING BLVD STE 201 COLLIERVILLE TN 38017
MUELLER STREAMLINE                   150 SCHILLING BLVD COLLIERVILLE TN 38017
MUELLER STREAMLINE EDI               HATFIELD AND ASSOCIATES LLC 5100 POPLAR AVE STE 3119 MEMPHIS TN 38137
MUELLER TRUCKING L L C               N11264 PINE LANE AVE SPENCER WI 54479
MUELLER, ANTHONY                     ADDRESS ON FILE
MUELLER, DAVID                       ADDRESS ON FILE
MUELLER, DAVID J                     ADDRESS ON FILE
MUELLER, GREGORY                     ADDRESS ON FILE
MUELLER, HENRY                       ADDRESS ON FILE
MUELLER, JAMES                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1334 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1343 of 2156

Claim Name                          Address Information
MUELLER, JODI                       ADDRESS ON FILE
MUELLER, STEPHEN                    ADDRESS ON FILE
MUENCH, JUSTIN                      ADDRESS ON FILE
MUETING, MICHAEL                    ADDRESS ON FILE
MUFASA LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUFFETT, EARL                       ADDRESS ON FILE
MUFFOLETTO, JOSEPH                  ADDRESS ON FILE
MUGARO TRUCKING LLC                 OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
MUGARTEGUI, STEVEN                  ADDRESS ON FILE
MUGBRACE LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MUGHADAM, DAVID                     ADDRESS ON FILE
MUGHADAM, DAVID                     ADDRESS ON FILE
MUGNAINI, ROBERT                    ADDRESS ON FILE
MUGO, ROY                           ADDRESS ON FILE
MUH, MASON                          ADDRESS ON FILE
MUHA, LAIRD                         ADDRESS ON FILE
MUHAMMAD, ABDUL-MALIK               ADDRESS ON FILE
MUHAMMAD, BERNARD                   ADDRESS ON FILE
MUHAMMAD, DAWUD                     ADDRESS ON FILE
MUHAMMAD, DEMOND                    ADDRESS ON FILE
MUHAMMAD, HAKI                      ADDRESS ON FILE
MUHAMMAD, JAMAL                     ADDRESS ON FILE
MUHAMMAD, LARRY                     ADDRESS ON FILE
MUHAMMAD, OMAUN                     ADDRESS ON FILE
MUHAMMAD, RAHIM                     ADDRESS ON FILE
MUHAMMAD, SHARIF                    ADDRESS ON FILE
MUHASKY, DAVID                      ADDRESS ON FILE
MUHASKY, DAVID                      ADDRESS ON FILE
MUHL, ERIC                          ADDRESS ON FILE
MUHLBEIER, DAVID                    ADDRESS ON FILE
MUHLBEIER, DAVID                    ADDRESS ON FILE
MUHLENBERG TOWNSHIP AUTHORITY       2840 KUTZTOWN RD READING PA 19605
MUHLENBERG TOWNSHIP TAX COLLECTOR   210 GEORGE STREET READING PA 19605
MUHSIN, YOUSUF                      ADDRESS ON FILE
MUHTAREVIC, EMMA                    ADDRESS ON FILE
MUHTAREVIC, ENVER                   ADDRESS ON FILE
MUIR, TYLER                         ADDRESS ON FILE
MUISER, ROCHELLE                    ADDRESS ON FILE
MUJALLI, FAHD                       ADDRESS ON FILE
MUK TRANSPORTATION INC              533 SURF CT WHEELING IL 60090-5142
MUK TRANSPORTATION INC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MUKES, AARON                        ADDRESS ON FILE
MUKHERJEE, RESHMI                   ADDRESS ON FILE
MUKILTEO WATER & WASTWTR DIST       7824 MUKILTEO SPEEDWAY MUKILTEO WA 98275
MUKO, DAVID                         ADDRESS ON FILE
MUKULE, NYOTA                       ADDRESS ON FILE
MUKUMOE LLC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
MUKUNDI, GAIL                       ADDRESS ON FILE
MULA, EZRA B                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1335 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1344 of 2156

Claim Name                           Address Information
MULA, JOHN                           ADDRESS ON FILE
MULAJ TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MULALLY, TOD                         ADDRESS ON FILE
MULAN LOGISTICS INC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
MULARZ, JOHN P                       ADDRESS ON FILE
MULDER, JENNIFER                     ADDRESS ON FILE
MULDREW, BOBBY L                     ADDRESS ON FILE
MULE, ANTOINETTE                     ADDRESS ON FILE
MULGADO FAMILY TRANSPORTATION LLC    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
MULGREW OIL & PROPANE                P.O. BOX 894 DUBUQUE IA 52004
MULHERIN, JACOB                      ADDRESS ON FILE
MULHOLLAND HOME OWNERS ASSOCIATION   1326 FRETZ DR ATTN EMILY CODDING EDMOND OK 73003
MULITALO, RODNEY                     ADDRESS ON FILE
MULKI LOGISTICS LLC                  OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
MULKI TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MULL, CHRISTOPHER                    ADDRESS ON FILE
MULL, STEVEN                         ADDRESS ON FILE
MULLA, FAROOK                        ADDRESS ON FILE
MULLANE, TIMOTHY                     ADDRESS ON FILE
MULLANEY, KIM                        ADDRESS ON FILE
MULLANY, THOMAS                      ADDRESS ON FILE
MULLEAVY, KURT                       ADDRESS ON FILE
MULLEN, DONOVAN                      ADDRESS ON FILE
MULLEN, JAMES                        ADDRESS ON FILE
MULLEN, RICARDO                      ADDRESS ON FILE
MULLEN, STANLEY                      ADDRESS ON FILE
MULLENNIX, LELAND                    ADDRESS ON FILE
MULLER WELDING COMPANY, INC.         3300 S HARDING ST INDIANAPOLIS IN 46217
MULLER WORLDWIDE INC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
MULLER, DEVIN                        ADDRESS ON FILE
MULLER, JACK                         ADDRESS ON FILE
MULLER, JONNA                        ADDRESS ON FILE
MULLER, RICHARD                      ADDRESS ON FILE
MULLER, THOMAS                       ADDRESS ON FILE
MULLETT, LARRY                       ADDRESS ON FILE
MULLIGAN, BARRY                      ADDRESS ON FILE
MULLIGAN, NICOL                      ADDRESS ON FILE
MULLINAX, BILLY                      ADDRESS ON FILE
MULLINAX, MARK                       ADDRESS ON FILE
MULLINAX, RICK                       ADDRESS ON FILE
MULLINS ASPHALT                      425 E HIGH ST JACKSON MI 49203
MULLINS MOTOR TRANSPORT INC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MULLINS, ANTHONY                     ADDRESS ON FILE
MULLINS, DEBORAH                     ADDRESS ON FILE
MULLINS, JACKAE                      ADDRESS ON FILE
MULLINS, JUSTIN                      ADDRESS ON FILE
MULLINS, ROBERT                      ADDRESS ON FILE
MULLINS, SEAN                        ADDRESS ON FILE
MULLINS, SHIRL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1336 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1345 of 2156

Claim Name                           Address Information
MULLINS, TOMMY                       ADDRESS ON FILE
MULLIS, STACY                        ADDRESS ON FILE
MULLONE, MATTHEW                     ADDRESS ON FILE
MULTI BASE INC                       22556 NETWORK PLACE CHICAGO IL 60601
MULTI COLOR CORPORATION              ATTN: VIVIAN CAUDELL MULTI-COLOR CARGO CLAIMS PO BOX 518 LOWELL AR 72745
MULTI IMAGE GROUP INC                1701 CLINT MOORE RD BOCA RATON FL 33487
MULTI STATES TRANSPORT LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MULTI WAY EXPRESS CO                 4736 SYLVAN AVENUE PITTSBURGH PA 15207
MULTI WAY EXPRESS CO                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MULTI-BASE, INC.                     ATTN: GIFFORD SHEARER 3835 COPLEY ROAD COPLEY OH 44321
MULTI-LOAD TRANSPORT, INC.           PO BOX 116 RICE MN 56367
MULTI-M SERVICES LLC                 OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
MULTI-MILLION LOGISTICS LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MULTI-PACK SOLUTIONS                 ATTN: JUSIN COOPER 1301 PERIMETER RD GREENVILLE SC 29605
MULTIFAB, INC.                       3808 N SULLIVAN RD BLDG 6, BUILDING 6 SPOKANE VALLEY WA 99216
MULTIFORME SERVICES LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MULTIQUIP                            C/O ECHO GLOBAL 600 WEST CHICAGO AVE STE 725 CHICAGO IL 60654
MULTIQUIP INC                        6141 KATELLA AVE 200 CYPRESS CA 90630
MULTIQUIP INC                        1801 W OLYMPIC BLVD PASADENA CA 91199
MULTITRASLADOS REGIONALES LLC        OR RTS FINANCIAL SERVICES INC PO BOX 840267 DALLAS TX 75284-0267
MULTNOMAH COUNTY TAX COLLECTOR       PO BOX 2716 PORTLAND OR 97208
MULVANEY, JASON                      ADDRESS ON FILE
MULWEE, JOSHUA                       ADDRESS ON FILE
MUMAW, KEMP                          ADDRESS ON FILE
MUMAW, KIM                           ADDRESS ON FILE
MUMFORD, JOHN                        ADDRESS ON FILE
MUMIN TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUMINOVIC, EMIR                      ADDRESS ON FILE
MUMMA, MICHAEL D                     ADDRESS ON FILE
MUMPAR, MELVIN                       ADDRESS ON FILE
MUMPER, DYLAN                        ADDRESS ON FILE
MUMPER, HUNTER                       ADDRESS ON FILE
MUMPER, SEBASTIAN                    ADDRESS ON FILE
MUMPHREY TRANSPORTATION LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
MUMTAZ TRUCKING LLC                  OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
MUNA TRANSPORTATION LLC              OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
MUNAFO, NATHAN                       ADDRESS ON FILE
MUNCHKIN INC                         ATTN: JENNY TORRES A/R ATTN: JENNY TORRES 7835 GLORIA AVE VAN NUYS CA 91406
MUNCHS SUPPLY                        300 N MANNHEIM RD HILLSIDE 60162
MUNCY, GREGORY                       ADDRESS ON FILE
MUNCY, SIDNEY                        ADDRESS ON FILE
MUNDAY, CRAIG                        ADDRESS ON FILE
MUNDI TRUCKING                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MUNDIE, TERRI                        ADDRESS ON FILE
MUNDIS, EMORY                        ADDRESS ON FILE
MUNDIS, MATTHEW                      ADDRESS ON FILE
MUNDO RODRIGUEZ, ANGEL               ADDRESS ON FILE
MUNDY, DOMINIC                       ADDRESS ON FILE
MUNDY, MARK                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1337 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1346 of 2156

Claim Name                          Address Information
MUNDY, VICTOR                       ADDRESS ON FILE
MUNENE, JAMES                       ADDRESS ON FILE
MUNERA & MERCADO                    PO BOX 16593 SAN JUAN PR 00908
MUNFORD, WALTER                     ADDRESS ON FILE
MUNGARRO MACIAS, ANGELO             ADDRESS ON FILE
MUNGIA, ADAN                        ADDRESS ON FILE
MUNGO, JARVIS                       ADDRESS ON FILE
MUNGOVAN, COREY                     ADDRESS ON FILE
MUNGUIA AGUILAR, ANGEL R            ADDRESS ON FILE
MUNGUIA, MIGUEL                     ADDRESS ON FILE
MUNICIPALITE DE DIXVILLE            251 CH PARKER DIXVILLE QC J0B 1P0 CANADA
MUNICIPALITE DE DIXVILLE            251, CHEMIN PARKER DIXVILLE QC J0B 1P0 CANADA
MUNISA TRANS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUNISA TRANS INC.                   1601 BOND ST NAPERVILLE IL 60563
MUNIZ TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MUNIZ, ARIC                         ADDRESS ON FILE
MUNIZ, DARYN                        ADDRESS ON FILE
MUNIZ, RAFAEL                       ADDRESS ON FILE
MUNIZ, RAUL                         ADDRESS ON FILE
MUNIZ, RAUL A                       ADDRESS ON FILE
MUNIZ, RAYMOND C                    ADDRESS ON FILE
MUNIZ, VICTOR                       ADDRESS ON FILE
MUNN, CHARLES W                     ADDRESS ON FILE
MUNN, JEFFERY                       ADDRESS ON FILE
MUNNS, HOWARD                       ADDRESS ON FILE
MUNOS, OTHON                        ADDRESS ON FILE
MUNOZ DALLAS TRUCKING               MUNOZ DALLAS DBA STELLAR SIX LLC 1101 B NORTH DARRINGTON RD EL PASO TX 79928
MUNOZ LOPEZ, RAUL                   ADDRESS ON FILE
MUNOZ MUNOZ, FRANCISCO              ADDRESS ON FILE
MUNOZ TRUCKING INC.                 12460 WEAVER RD. EL PASO TX 79928
MUNOZ, ADRIAN                       ADDRESS ON FILE
MUNOZ, ALEXANDER                    ADDRESS ON FILE
MUNOZ, ANGEL                        ADDRESS ON FILE
MUNOZ, ANGEL                        ADDRESS ON FILE
MUNOZ, CARLOS                       ADDRESS ON FILE
MUNOZ, CHRISTIAN                    ADDRESS ON FILE
MUNOZ, FELIPE                       ADDRESS ON FILE
MUNOZ, FRANCISCO                    ADDRESS ON FILE
MUNOZ, JASMIN                       ADDRESS ON FILE
MUNOZ, JESUS                        ADDRESS ON FILE
MUNOZ, JUAN                         ADDRESS ON FILE
MUNOZ, KEVIN                        ADDRESS ON FILE
MUNOZ, LUIS                         ADDRESS ON FILE
MUNOZ, MANUEL                       ADDRESS ON FILE
MUNOZ, MIGUEL                       ADDRESS ON FILE
MUNOZ, NOAH                         ADDRESS ON FILE
MUNOZ, OCTAVIO                      ADDRESS ON FILE
MUNOZ, RAFAEL                       ADDRESS ON FILE
MUNOZ, RUBEN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1338 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1347 of 2156

Claim Name                              Address Information
MUNOZ, SANDRA                          ADDRESS ON FILE
MUNOZ, TAMMY                           ADDRESS ON FILE
MUNOZ, TEODOMIRO                       ADDRESS ON FILE
MUNOZ, WILLIAM                         ADDRESS ON FILE
MUNOZ-MENDOZA, ABIMAEL                 ADDRESS ON FILE
MUNOZ-MENDOZA, ABIMAEL                 ADDRESS ON FILE
MUNRO, SHERRY                          ADDRESS ON FILE
MUNROE, SCOTT                          ADDRESS ON FILE
MUNSON HEALTHCARE MANISTEE HOSPITAL    WSMC PHYSICIAN SERVICES 375 RIVER STREET MANISTEE MI 49660
MUNSON HEALTHCARE OMH                  MEDICAL GROUP GAYLORD, 271 W MCCOY RD GAYLORD MI 49735
MUNSON II, JOHN                        ADDRESS ON FILE
MUNSON, BRANDON                        ADDRESS ON FILE
MUNSON, BRANDON L                      ADDRESS ON FILE
MUNSON, JOHN                           ADDRESS ON FILE
MUNSON, LAWRENCE                       ADDRESS ON FILE
MUNTER, DANIEL                         ADDRESS ON FILE
MUNTO, CARLOS                          ADDRESS ON FILE
MUNYORI LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MUNZ, DAVID M                          ADDRESS ON FILE
MUOIO, NICHOLAS                        ADDRESS ON FILE
MURAL                                  3003 TASMAN DRIVE SANTA CLARA CA 95054
MURAMASTER EXPRESS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MURANYI, JOHN                          ADDRESS ON FILE
MURATOV, RASHID                        ADDRESS ON FILE
MURAWSKI, JOHN                         ADDRESS ON FILE
MURAWSKI, RON                          ADDRESS ON FILE
MURCHISON, OJIE                        ADDRESS ON FILE
MURCIA HERNANDEZ, DANIEL               ADDRESS ON FILE
MURCIA HERNANDEZ, DIEGO                ADDRESS ON FILE
MURCIA HERNANDEZ, FRANCISCO            ADDRESS ON FILE
MURCIER, JIMMY                         ADDRESS ON FILE
MURDAUGH, DESHON                       ADDRESS ON FILE
MURDOCH, MARC                          ADDRESS ON FILE
MURDOCK TECHNOLOGY SERVICES CORPORATION OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
MURDOCK, DERRICK                       ADDRESS ON FILE
MURDOCK, JOHNNY                        ADDRESS ON FILE
MURDOCK, JOSHUA                        ADDRESS ON FILE
MURDOCK, KEITH                         ADDRESS ON FILE
MURDOCK, MAX                           ADDRESS ON FILE
MURDOFF, JAYSON                        ADDRESS ON FILE
MURFF, DERRIC                          ADDRESS ON FILE
MURGUIA, CHRISTOPHER                   ADDRESS ON FILE
MURGUIA, LUIS                          ADDRESS ON FILE
MURIE, KEVIN                           ADDRESS ON FILE
MURILLO, DESIREE                       ADDRESS ON FILE
MURILLO, LEONARDO                      ADDRESS ON FILE
MURILLO, LUIS                          ADDRESS ON FILE
MURILLO, MARCO                         ADDRESS ON FILE
MURILLO, PASCUAL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1339 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1348 of 2156

Claim Name                           Address Information
MURKS, JAMES                         ADDRESS ON FILE
MURLATT, JEFFREY                     ADDRESS ON FILE
MURLEY, GARY                         ADDRESS ON FILE
MURNIGKEIT, JASON                    ADDRESS ON FILE
MURO, MARTIN                         ADDRESS ON FILE
MURON, JOHN                          ADDRESS ON FILE
MURPHEY, COLETTE                     ADDRESS ON FILE
MURPHY AND LANDON PA                 C/O KEVIN HILLER, 1011 CENTRE RD STE 210 WILMINGTON DE 19805
MURPHY COMPANY                       PO BOX 790379 ST. LOUIS MO 63179
MURPHY CONSTRUCTION SERVICES LLC     16W273 83RD ST STE D BURR RIDGE IL 60527
MURPHY DOOR                          ADDRESS ON FILE
MURPHY PLUMBING & HEATING            1115 DAVIS AVE PITTSBURGH PA 15212
MURPHY PLYWOOD CO                    2350 PRAIRIE RD EUGENE OR 97402
MURPHY TRANSPORTATION                6720 KILBY ROAD HARRISON OH 45030
MURPHY, ANDREW                       ADDRESS ON FILE
MURPHY, ANTHONY                      ADDRESS ON FILE
MURPHY, ARTHUR                       ADDRESS ON FILE
MURPHY, BARBARA                      ADDRESS ON FILE
MURPHY, BRENDEN                      ADDRESS ON FILE
MURPHY, CALEB                        ADDRESS ON FILE
MURPHY, CHRISS                       ADDRESS ON FILE
MURPHY, CHRISTOPHER                  ADDRESS ON FILE
MURPHY, DANIEL                       ADDRESS ON FILE
MURPHY, DAVID                        ADDRESS ON FILE
MURPHY, DAVID                        ADDRESS ON FILE
MURPHY, DEREK                        ADDRESS ON FILE
MURPHY, DEVEDA                       ADDRESS ON FILE
MURPHY, GREGORY                      ADDRESS ON FILE
MURPHY, JASON                        ADDRESS ON FILE
MURPHY, JOSEPH                       ADDRESS ON FILE
MURPHY, JOSEPH                       ADDRESS ON FILE
MURPHY, KATIE                        ADDRESS ON FILE
MURPHY, KELVIN                       ADDRESS ON FILE
MURPHY, KENNETH                      ADDRESS ON FILE
MURPHY, KENNETH                      ADDRESS ON FILE
MURPHY, KYMOTHY                      ADDRESS ON FILE
MURPHY, LANCE                        ADDRESS ON FILE
MURPHY, LEON                         ADDRESS ON FILE
MURPHY, LOUIS                        ADDRESS ON FILE
MURPHY, MARTIN                       ADDRESS ON FILE
MURPHY, MAULIK                       ADDRESS ON FILE
MURPHY, MICHAEL                      ADDRESS ON FILE
MURPHY, MICHAEL                      ADDRESS ON FILE
MURPHY, MICHAEL                      ADDRESS ON FILE
MURPHY, MICHAEL                      ADDRESS ON FILE
MURPHY, MICHAEL                      ADDRESS ON FILE
MURPHY, MICHAEL                      ADDRESS ON FILE
MURPHY, NATALIE                      ADDRESS ON FILE
MURPHY, PAISLEY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1340 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1349 of 2156

Claim Name                             Address Information
MURPHY, PATRICK                        ADDRESS ON FILE
MURPHY, RENE                           ADDRESS ON FILE
MURPHY, ROBIN                          ADDRESS ON FILE
MURPHY, SABRINA                        ADDRESS ON FILE
MURPHY, SAMUEL                         ADDRESS ON FILE
MURPHY, SEAN                           ADDRESS ON FILE
MURPHY, SHELDON                        ADDRESS ON FILE
MURPHY, STEPHEN                        ADDRESS ON FILE
MURPHY, THOMAS                         ADDRESS ON FILE
MURPHY, WILLIAM                        ADDRESS ON FILE
MURPHYS AND MURPHYS ENTERPRISES INC    12408 S GARNETT RD BUCK EYE AZ 85326
MURPHYS LOGISTICS CO                   OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
MURPHYS LOGISTICS LLC                  1628 MONO RD PINON HILLS CA 92372
MURPHYS TOWING & AUTOMOTIVE SERVICES   PO BOX 1911 ASH FORK AZ 86320
LLC
MURR, TIMOTHY                          ADDRESS ON FILE
MURRAY BROS., L.L.C.                   3548 ROSENER RD. FARMINGTON MO 63640
MURRAY L TARSHIS                       ADDRESS ON FILE
MURRAY LOGISTICS GROUP LLC             OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
MURRAY, ALAN                           ADDRESS ON FILE
MURRAY, BRIAN                          ADDRESS ON FILE
MURRAY, BRIAN                          ADDRESS ON FILE
MURRAY, BRIAN M                        ADDRESS ON FILE
MURRAY, CARMEN                         ADDRESS ON FILE
MURRAY, DAVID                          ADDRESS ON FILE
MURRAY, DENNIS                         ADDRESS ON FILE
MURRAY, DENNIS                         ADDRESS ON FILE
MURRAY, DREW                           ADDRESS ON FILE
MURRAY, GILBERT                        ADDRESS ON FILE
MURRAY, JACK                           ADDRESS ON FILE
MURRAY, JESSICA                        ADDRESS ON FILE
MURRAY, JOSEPH                         ADDRESS ON FILE
MURRAY, JULIE                          ADDRESS ON FILE
MURRAY, JUNIOR                         ADDRESS ON FILE
MURRAY, KALYNN                         ADDRESS ON FILE
MURRAY, KELLY                          ADDRESS ON FILE
MURRAY, KRISTIN                        ADDRESS ON FILE
MURRAY, KURT                           ADDRESS ON FILE
MURRAY, LERONALD                       ADDRESS ON FILE
MURRAY, MARCUS                         ADDRESS ON FILE
MURRAY, MICHAEL                        ADDRESS ON FILE
MURRAY, MICHAEL                        ADDRESS ON FILE
MURRAY, NICHOLAS                       ADDRESS ON FILE
MURRAY, PATRICK                        ADDRESS ON FILE
MURRAY, PERNELL                        ADDRESS ON FILE
MURRAY, RANDAL                         ADDRESS ON FILE
MURRAY, RICHARD                        ADDRESS ON FILE
MURRAY, TRAVIS                         ADDRESS ON FILE
MURRAY, TRAVIS                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1341 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1350 of 2156

Claim Name                              Address Information
MURRAY, TREVOR                          ADDRESS ON FILE
MURRAY, WAYNE                           ADDRESS ON FILE
MURRAYS WE FREIGHT RIGHT TRUCKING LLC   OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
MURRELL, ERIC                           ADDRESS ON FILE
MURRELL, ERIC                           ADDRESS ON FILE
MURRIEL, KEITH                          ADDRESS ON FILE
MURRIETA, RUDY                          ADDRESS ON FILE
MURROWS TRANSFER, INC.                  PO BOX 4095 HIGH POINT NC 27263
MURRY, ELMONDA                          ADDRESS ON FILE
MURTAS, MARGARET                        ADDRESS ON FILE
MURTHA, ALYSON                          ADDRESS ON FILE
MURTHA, BRANDON                         ADDRESS ON FILE
MURTHA, CHRISTOPHER                     ADDRESS ON FILE
MURTHA, ERIN                            ADDRESS ON FILE
MURTHA, TYLER                           ADDRESS ON FILE
MURZYNSKI, TINA                         ADDRESS ON FILE
MUSA EXPRESS LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MUSA, SALEH                             ADDRESS ON FILE
MUSA, SAMER                             ADDRESS ON FILE
MUSALL, JAMES                           ADDRESS ON FILE
MUSCH, BETH                             ADDRESS ON FILE
MUSCLE MAXIMUM PUSH LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MUSE FREIGHT                            ATTN: NATE STOVER 3943 MAIN ST KANSAS CITY MO 64111
MUSE FREIGHT                            ATTN: SHEA 3943 MAIN ST KANSAS CITY MO 64111
MUSE TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUSE, ELIZABETH                         ADDRESS ON FILE
MUSE, JEAN                              ADDRESS ON FILE
MUSE, JONATHAN                          ADDRESS ON FILE
MUSE, MARYAN                            ADDRESS ON FILE
MUSGRAVE, WES                           ADDRESS ON FILE
MUSGROVE, LEE                           ADDRESS ON FILE
MUSHTAQ TRANSPORT LLC                   OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
MUSHTAQ, AHMAD                          ADDRESS ON FILE
MUSHU EXPRESS                           1305 STANLEY AVE UNIT 17 GLENDALE CA 91206
MUSIC CITY LARBON INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MUSIC CITY TRANS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MUSIC MOUNTAIN WATER                    305 STONER AVE SHREVEPORT LA 71101
MUSICARO, VINCENT                       ADDRESS ON FILE
MUSICIANS FRIEND INC                    4001 N NORFLEET RD KANSAS CITY MO 64161
MUSICK, TODD                            ADDRESS ON FILE
MUSIELAK, COREY                         ADDRESS ON FILE
MUSKEGON COUNTY ROADCOMMISSION          7700 EAST APPLE AVE MUSKEGON MI 49442
MUSKEGON QUALITY BUILDERS INC           2837 PECK ST MUSKEGON MI 49444
MUSKELLY, DEVONAR                       ADDRESS ON FILE
MUSKET CORPORATION                      PO BOX 26210 OKLAHOMA CITY OK 73120
MUSKET CORPORATION                      PO BOX 26210 OKLAHOMA CITY OK 73126
MUSLEH, BASEL                           ADDRESS ON FILE
MUSONI, MAURICE                         ADDRESS ON FILE
MUSQUIZ, VICTOR                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1342 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1351 of 2156

Claim Name                             Address Information
MUSSELMAN, DOUGLAS                     ADDRESS ON FILE
MUSSER, ELIZABETH                      ADDRESS ON FILE
MUSSERS FAMILY CLEANING SERVICE, INC   14244 MELVIN ST. LIVONIA MI 48154
MUSSIE EMBAYE                          ADDRESS ON FILE
MUSTAFA, GHULAM                        ADDRESS ON FILE
MUSTANG 69 TRANSPORT LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MUSTANG EXPRESS LLC                    OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
MUSTANG TRUCKLINES                     4 GONDOLA CIRLCE DEPTFORD NJ 08096
MUSTAPHA SANNOH                        OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
MUSTARDO, THOMAS                       ADDRESS ON FILE
MUSTER, JOHN                           ADDRESS ON FILE
MUSWASWA, ERIC                         ADDRESS ON FILE
MUSZYNSKI, ANGELA                      ADDRESS ON FILE
MUT TRUCKING                           OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
MUTAWE, KATHLEEN                       ADDRESS ON FILE
MUTH ELECTRIC, INC.                    PO BOX 1400 MITCHELL SD 57301
MUTH, SCOTT                            ADDRESS ON FILE
MUTHAI TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MUTO, GREGORY                          ADDRESS ON FILE
MUTRIE, ROBERT                         ADDRESS ON FILE
MUTSCHLER, ANDREW K                    ADDRESS ON FILE
MUTTER, JUSTIN                         ADDRESS ON FILE
MUTTON, SHIRLEY                        ADDRESS ON FILE
MUTUAL WHEEL COMPANY, INC.             2345 4TH AVE MOLINE IL 61265
MUTUNGI, OWEN                          ADDRESS ON FILE
MUXLOW, DAVID                          ADDRESS ON FILE
MUZA TRANSPORT INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
MUZAC, JEAN P                          ADDRESS ON FILE
MUZAN LIMITED LIABILITY COMPANY        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MUZOM TRANSPORTATION INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MV & SONS LOGISTICS, INC.              OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
MV FREIGHT INC                         OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
MV TRUCKING                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MVC TRANSPORT LLC                      OR FARO FACTORING LLC, 7613 ROCIO DR LAREDO TX 78041
MVF TRUCKING LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MVP CARRIERS INC                       PO BOX 533 SUWANEE GA 30023
MVP PLUMBING CORP                      1995 AUCUTT RD MONTGOMERY IL 60538
MVP PROLOGISTICS                       PO BOX 1347 RIVERTON UT 84065
MVP PROLOGISTICS R                     DBA MVP LOGISTICS, 1481 S 700 W SALT LAKE CITY UT 84104
MVP TRANSPRO LLC                       7720 S 2200 W SPANISH FORK UT 84660
MVP TRUCKIN INC                        OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
MVRN TRANSPORT LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
MVS EXPRESS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MVS FREIGHT                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MVT                                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MVT                                    5868 WESTHEIMER 140 HOUSTON TX 77057
MVT SERVICES LLC                       PO BOX 675002 DALLAS TX 75267-5002
MVT SERVICES LLC                       3590 W PICACHO AVE LAS CRUCES NM 88007
MW CARRIERS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 1343 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1352 of 2156

Claim Name                               Address Information
MW CARRIERS INC (MC003789)               15181 SKY VALLEY DR HAYMARKET VA 20169
MW ELECTRIC                              PO BOX 841 PLAINFIELD IN 46168
MW EXPRESS CORP                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MW TRANSPORT LLC                         PO BOX 772 EAGLE POINT OR 97524
MW TRANSPORT LLC (MC1458683)             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MW TRUCKING LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
MWAKA, JUSTIN                            ADDRESS ON FILE
MWBRY LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MWIHAKI, JAMES                           ADDRESS ON FILE
MX LOGISTICS                             20 CONSTITUTION AVE PISCATAWAY NJ 08854
MX TRANSPORT LLC                         2450 ADONAI BLVD COLUMBUS OH 43219
MY & J TRANSPORT, INC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MY 3 SONS TRUCKING LLC                   OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
MY ALARM CENTER                          3803 WEST CHESTER PIKE, STE. 100 NEWTOWN SQUARE PA 19073
MY LITTLE ANGEL TRUCKING LLC             OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
MY M&M TRANSPORT LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
MY MAI LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MY PRECIOUS LOGISTICS LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
MY SPA COVER TREND TRANSPORT             ATTN: EUGENE YESIN CLAIM 400 N BERRY ST BREA CA 92821
MY TURN TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
MY VOLGA TRUCKING                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MY WAY TRANSPORTATION LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
MY-WAY TRANSPORTATION, INC. (MC302947)   PO BOX 1171 CULLMAN AL 35056
MYA TRANSPORTATION, LLC                  D/B/A: JT TRANSPORTATION, LLC 3811 DIXON ST DES MOINES IA 50313
MYA TRUCKING LLC                         OR DIVERSIFIED LENDERS INC PO BOX 94208 LUBBOCK TX 79493
MYAAM LOGISTICS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
MYB EXPRESS INC                          OR WEX BANK, PO BOX 94565 CLEVELAND OH 44101-4565
MYBAR SERVICES INC.                      NORTH BRANCH STATION, PO BOX 5178 SOMERVILLE NJ 08876
MYBAR SERVICES INC.                      PO BOX 5178 NORTH BRANCH STATION SOMERVILLE NJ 08876
MYBHYAKOV, ARTUR                         ADDRESS ON FILE
MYCC1, LLC                               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MYER COMPANIES                           744 BLACKBURN DR. MOBILE AL 36608
MYER, JASON                              ADDRESS ON FILE
MYERS INDUSTRIES INC                     1110 S 3800 W STE 400 SALT LAKE CITY UT 84104
MYERS TIRE - CHARLOTTE 18                24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE - CHICAGO 12                  24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE - CLEVELAND 10                24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE - KANSAS CITY 16              24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE - OAKLAND 17                  PO BOX 100169 PASADENA CA 91189
MYERS TIRE - PHOENIX 35                  PO BOX 100169 PASADENA CA 91189
MYERS TIRE - SALT LAKE CITY 20           PO BOX 100169 PASADENA CA 91189
MYERS TIRE - SAN ANTONIO 34              PO BOX 100169 PASADENA CA 91189
MYERS TIRE - YORK 26                     24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE SUPPLY                        D/B/A: MYERS TIRE SUPPLY-BIRMINGHAM 41 C\O MYERS TIRE BIRMINGHAM 41 24377
                                         NETWORK PLACE CHICAGO IL 60673
MYERS TIRE SUPPLY                        D/B/A: MYERS TIRE SUPPLY-BIRMINGHAM 41 C\O MYERS TIRE RICHMOND 09 24377
                                         NETWORK PLACE CHICAGO IL 60673
MYERS TIRE SUPPLY                        24377 NETWORK PLACE CHICAGO IL 60673-1243
MYERS TIRE SUPPLY                        D/B/A: MYERS TIRE SUPPLY-BIRMINGHAM 41 MYERS TIRE LOS ANGELES 14, PO BOX
                                         100169 PASADENA CA 91189


Epiq Corporate Restructuring, LLC                                                                   Page 1344 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1353 of 2156

Claim Name                            Address Information
MYERS TIRE SUPPLY - BIRMINGHAM 41     C\O MYERS TIRE BIRMINGHAM 41 24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE SUPPLY - BIRMINGHAM 41     C\O MYERS TIRE RICHMOND 09 24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE SUPPLY CHICAGO 12          24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE SUPPLY DISTRIBUTION        24377 NETWORK PLACE CHICAGO IL 60673
MYERS TIRE-LOS ANGELES 14             PO BOX 100169 PASADENA CA 91189
MYERS TRANSPORTATION SERVICES, INC.   5668 N STATE RD 57 WASHINGTON IN 47501
MYERS, BRANDON                        ADDRESS ON FILE
MYERS, BRIANNA S                      ADDRESS ON FILE
MYERS, BRYSTON                        ADDRESS ON FILE
MYERS, CAROL                          ADDRESS ON FILE
MYERS, CHRISTOPHER                    ADDRESS ON FILE
MYERS, DONALD A                       ADDRESS ON FILE
MYERS, ELIZABETH                      ADDRESS ON FILE
MYERS, JAMES                          ADDRESS ON FILE
MYERS, JENNA                          ADDRESS ON FILE
MYERS, JENNIFER                       ADDRESS ON FILE
MYERS, JERRY                          ADDRESS ON FILE
MYERS, JESSICA                        ADDRESS ON FILE
MYERS, JIMMY                          ADDRESS ON FILE
MYERS, JOHN                           ADDRESS ON FILE
MYERS, JOHN                           ADDRESS ON FILE
MYERS, JOHN E                         ADDRESS ON FILE
MYERS, KENNETH                        ADDRESS ON FILE
MYERS, KURT                           ADDRESS ON FILE
MYERS, LARRY                          ADDRESS ON FILE
MYERS, LEWIS                          ADDRESS ON FILE
MYERS, LOGAN                          ADDRESS ON FILE
MYERS, LUANNE                         ADDRESS ON FILE
MYERS, MARK                           ADDRESS ON FILE
MYERS, MARTIN                         ADDRESS ON FILE
MYERS, MICHAEL                        ADDRESS ON FILE
MYERS, MICHAEL                        ADDRESS ON FILE
MYERS, NICHOLAS                       ADDRESS ON FILE
MYERS, RAY                            ADDRESS ON FILE
MYERS, RAYMOND                        ADDRESS ON FILE
MYERS, REBECCA                        ADDRESS ON FILE
MYERS, RICHARD                        ADDRESS ON FILE
MYERS, RICHARD W                      ADDRESS ON FILE
MYERS, RICHARD W                      ADDRESS ON FILE
MYERS, ROBERT                         ADDRESS ON FILE
MYERS, RUSSELL                        ADDRESS ON FILE
MYERS, SARA A                         ADDRESS ON FILE
MYERS, STEVEN                         ADDRESS ON FILE
MYERS, TANGELA                        ADDRESS ON FILE
MYERS, TERRY                          ADDRESS ON FILE
MYERS, TIM                            ADDRESS ON FILE
MYERS, TIMOTHY R                      ADDRESS ON FILE
MYERS, TRACY                          ADDRESS ON FILE
MYERS, WILLIAM                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1345 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1354 of 2156

Claim Name                           Address Information
MYFREIGHTWORLD                       7007 COLLEGE BLVD STE 150 OVERLAND PARK KS 66211
MYG EXPRESS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
MYG EXPRESS LLC                      PO BOX 140983 IRVING TX 75014
MYGRANT GLASS CO                     16311 E EUCLID AVE SPOKANE WA 99216
MYH TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
MYJ EXPRESS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
MYKAYLA TRUCKING INC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
MYKITTOS EXPRESS CORP                OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
MYLE LOGISTICS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MYLER, CURTIS                        ADDRESS ON FILE
MYLES LAND AND IMPROVEMENT           256 EAGLE VIEW BLVD., PMB 261 EXTON PA 19341
MYLES, JARRET                        ADDRESS ON FILE
MYREN, MICHAEL                       ADDRESS ON FILE
MYRES, JOHNATHAN                     ADDRESS ON FILE
MYRIAM S RUIZ                        ADDRESS ON FILE
MYRICK, DARRIUS                      ADDRESS ON FILE
MYRICK, ERIC                         ADDRESS ON FILE
MYRICK, JUSTIN                       ADDRESS ON FILE
MYRICK, MAURICE                      ADDRESS ON FILE
MYRICKS, ROMEL                       ADDRESS ON FILE
MYRNA MANON J THOMAS                 ADDRESS ON FILE
MYRNA MANON THOMAS                   ADDRESS ON FILE
MYRNA MANON THOMAS                   ADDRESS ON FILE
MYRON D WEST                         ADDRESS ON FILE
MYRON MAXWELL                        ADDRESS ON FILE
MYS MARION TRAVEL CENTER             ATTN: MOHAMMAD MALIK 6934 INTERSTATE 55 MARION AR 72364-9775
MYSHYAKOV, ARTUR                     ADDRESS ON FILE
MYSTIC LIGHT TRANSPORT, INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
MYSTICAL VIBE TRUCKING LLC           4459 S 2000 W REXBURG ID 83440
MYT EXPRESS TRANSPORT LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
MYTHEN, JOSEPH                       ADDRESS ON FILE
MYTRANSPORTEX LTD.                   9913 STABLE STONE TR FISHERS IN 46040
MYWAY EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
MZ BOSS TRANSPORTATION LLC           OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
MZ FASHION INC                       1230 SANTA ANITA AVE, H S EL MONTE CA 91733
MZ ROY INC                           OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
MZ TRANSPORT INC                     12275 CORNWALLIS CT EASTVALE CA 91752
MZ TRUCKING LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
MZITO LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
MZM TRUCKING INCORPORATED            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
N & A TRUCKING VA, LLC               9018 SPARROW DR HENRICO VA 23229
N & B LOGISTICS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
N & C X-PRESS INC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
N & D TRANSPORTATION COMPANY, INC.   100 INDUSTRIAL DRIVE NORTH SMITHFIELD RI 02896
N & F TRUCKING (HUMBLE TX)           OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
N & H TRUCKING LLC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
N & J LAKAY TRANSPORTATION LLC       OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
N & L EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
N & L TRANSPORT CORP                 OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403



Epiq Corporate Restructuring, LLC                                                               Page 1346 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1355 of 2156

Claim Name                              Address Information
N & M TRANSFER CO., INC.                630 MUTTART RD NEENAH WI 54956
N & O TRANSPORT LLC                     OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
N & R EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
N & S ELECTRIC                          120 ALLEN ST. STRATFORD CT 06615
N & S TRANSPORTATION CORP               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
N AMERICAN CARRIERS INC (FT WORTH TX)   1732 E HICKS FIELD RD FT WORTH TX 76179
N AMERICAN DISTRIBUTION CENTER          ATTN: JENNIFER DECROIX 6416 INDUCON DR SANBORN NY 14132
N AMERICAN TRANSPORTATION COUNCIL INC   PO BOX 548 BUFFALO NY 14225
N AND H TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
N AND N TRANSPORTATION LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
N AND N TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
N C I - NORTHERN CALIFORNIA INSPECTIONS PO BOX 1543 BENICIA CA 94510
N C I - NORTHERN CALIFORNIA INSPECTIONS P.O. BOX 1658 PARADISE CA 95967
N CHRISTY CONSULTING                    421 E 74TH TERRACE KANSAS CITY MO 64131
N G TRANSPORT INC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
N O EXPRESS INC                         OR ECAPTIAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
N S EXPRESS LLC                         OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
N S FISHER TRUCKING LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
N T SOLUTIONS INC                       6042 LENZI AVE HODGKINS IL 60525
N T SOLUTIONS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
N T SOLUTIONS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
N W TRUCKING                            OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
N Y A TRUCKING INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
N&D DISTRIBUTION CORP                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
N&D TRUCKING AND LOGISTICS LLC          INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
N&E TRANSPORTATION SERVICES INC         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
N&J EXPRESS LLC                         OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
N&L TRANSPORT                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
N&M FREIGHT LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
N&NSTANT LLC                            OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
N&P TRUCKING                            OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
N&S ELECTRIC SUPPLY                     ATTN: MELISSA MORALES DYNAMIC LOGISTIX FREIGHT CLAIMS D PO BOX 26353 OVERLAND
                                        PARK KS 66225
N&S FREIGHT LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
N&S SUPPLY CORP                         N&S SUPPLY CORP 205 OLD RTE 9 FISHKILL NY 12524
N&V GROUP LLC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
N&V TRUCKING LLC                        OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
N. D. ERYOU PHD PE                      ADDRESS ON FILE
N.C. LEASING INC.                       PO BOX 8968 BALTIMORE MD 21222
N.E. IOWA FREIGHT, LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
N.M. TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
N3 TRUCKING LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
N8 LOGISTICS LLC                        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NAAZ TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NABARRETTE, JONATHEN                    ADDRESS ON FILE
NABARRETTE, JOSEPH                      ADDRESS ON FILE
NABER TRUCKING, LLC                     84187 ATKINS RD HALSEY NE 69142
NABI TRUCKING LLC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
NABINGER, DANIEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1347 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1356 of 2156

Claim Name                           Address Information
NABORLY EXPEDITING LLC               OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
NABORS, MASON                        ADDRESS ON FILE
NABORS, SENECA                       ADDRESS ON FILE
NABOZNY TRANSPORT LLC                801 W VULCANITE AVE ALPHA NJ 08865
NABU TRUCKING LLC                    PO BOX 391616 SNELLVILLE GA 30039
NAC MECHANICAL & ELEC SVCS           1001 LABORE INDUSTRIAL CT STE B VADNALS HEIGHTS MN 55110
NAC TRUCKING LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
NACARATO TRUCKS, INC.                4342 NORTH VALDOSTA ROAD VALDOSTA GA 31602
NACARATO TRUCKS, INC.                1612 US HWY 82 W TIFTON GA 31793
NACARATO TRUCKS, INC.                560 ALFRED THUN ROAD CLARKSVILLE TN 37040
NACARATO TRUCKS, INC.                519 NEW PAUL RD LA VERGNE TN 37086
NACARATO VOLVO TRUCKS                519 NEW PAUL RD LA VERGNE TN 37086
NACD                                 1515 N COURTHOUSE ROAD ARLINGTON VA 22201
NACHE, JAMES                         ADDRESS ON FILE
NACHI AMERICA INC.                   715 PUSHVILLE ROAD GREENWOOD IN 46143
NACM SOUTHWEST                       751 PLAZA BLVD COPPELL TX 75019
NADALA TRANSPORT INC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
NADC GROUP                           ATTN: CHUCK SCHIEK 6460 W 51ST STREET FORREST VIEW IL 60638-1352
NADE TRUCKING LLC                    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
NADEAU, DAWN                         ADDRESS ON FILE
NADOLNY, CHERYL                      ADDRESS ON FILE
NAEL                                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NAEREST CRUVER TRUCKING              63 LUCIOUS JOHNSON RD NEWNAN GA 30265
NAESS, RODNEY                        ADDRESS ON FILE
NAF SERVICES LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NAF SYSTEMS INC.                     7820 BOULEVARD HENRI BOURASSA EAST ANJOU QC H1E1P2 CANADA
NAFECO                               1515 W MOULTON ST DECATUR AL 35601
NAFTA ENVIRONMENTAL, INC.            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NAGI GROUP INC                       5905 EDELLE DR INDIANAPOLIS IN 46237
NAGLE, JOSEPH                        ADDRESS ON FILE
NAGLE, KIRK                          ADDRESS ON FILE
NAGLER, STEVEN                       ADDRESS ON FILE
NAGLICH, RAYMOND                     ADDRESS ON FILE
NAGORNOV, VLADISLAV                  ADDRESS ON FILE
NAGRA EXPRESS INC                    411 W COUNTRY CLUB DR MOUNT HOLLY NJ 08060-4741
NAGY, JOSEPH                         ADDRESS ON FILE
NAGY, PETER                          ADDRESS ON FILE
NAHAR, OMAR                          ADDRESS ON FILE
NAHAUL, INC.                         OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
NAHF, HALEY                          ADDRESS ON FILE
NAHRA, JAMES                         ADDRESS ON FILE
NAI TRANSPORTATION LLC               OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
NAILER, ODARRIUS                     ADDRESS ON FILE
NAILOR, LAZAVIER                     ADDRESS ON FILE
NAILS, REGINALD                      ADDRESS ON FILE
NAIR EXPRESS LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
NAIR, RESHMI                         ADDRESS ON FILE
NAIROBI SERVICES LLC                 OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
NAIS TRUCKING INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                               Page 1348 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1357 of 2156

Claim Name                            Address Information
NAISSUS INC.                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NAITHAN M MANSON                      ADDRESS ON FILE
NAJ LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NAJERA, JAVIER                        ADDRESS ON FILE
NAJERA, MARISELA                      ADDRESS ON FILE
NAJI TRUCKING INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NAJJAR BROTHERS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NAJM, INC.                            2100 S. HARBOR BLVD. ANAHEIM CA 92802
NAKARMI, SUMI                         ADDRESS ON FILE
NAKFA TRUCKING LLC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
NAKS INC                              ATTN: ANGELA 172 REASER CT ELYRIA OH 44035
NAKUROI                               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
NALCO COMPANY                         PO BOX 730005 DALLAS TX 75373
NALE LOGISTICS & EXPEDITE LLC         PO BOX 402 OAKLAND TN 38060
NALLEY, JAMES L                       ADDRESS ON FILE
NALLS SPECIALIZED HAULING INC.        4880 BARDSTOWN ROAD ELIZABETHTOWN KY 42701
NALLS WRECKER SERVICE                 510 MCCAMISH DRIVE ELIZABETHTOWN KY 42701
NALTY, KEVIN                          ADDRESS ON FILE
NAMA, RODRIGUE                        ADDRESS ON FILE
NAMAHA TRANSPORT SERVICES INC.        14 ROYAL GARDEN BLVD WOODBRIDGE ON L4L 7C2 CANADA
NAMANAGH INC                          130 CENTURY CT APT 01 SCHAUMBURG IL 60193
NAMANAGH INC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NAMASTE LABORATORIES                  ATTN: DAVE DUFFY 62615 COLLECTION CENTRE DR CHICAGO IL 60693
NAME ON FILE                          ADDRESS ON FILE
NAME ON FILE                          ADDRESS ON FILE
NAME ON FILE                          ADDRESS ON FILE
NAME ON FILE                          ADDRESS ON FILE
NAME ON FILE                          ADDRESS ON FILE
NAMI TRANSPORTATION INC.              6249 N CICERO AVE STE 2N CHICAGO IL 60646
NAMOZGOH AUTO CORP                    OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
NAMYSLOWSKI, ALBERT                   ADDRESS ON FILE
NAN TRANSPORTATION INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NANAK ENTERPRISES LLC                 P O BOX 95 LEWIS CENTER OH 43035
NANAK EXPEDITORS                      OR GFC, PO BOX 187 MCCORDSVILLE IN 46055
NANAK EXPEDITORS                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NANAK TRANSPORTATION INC              10304 N RIVER TRL KNOXVILLE TN 37922
NANAK TRANSPORTS INC                  11950 SPRING CYPRESS RD 127 TOMBALL TX 77377
NANCE CLEARING & GRADING OF VA, LLC   336 WILLARD DRIVE CHESAPEAKE VA 23322
NANCE, CHESTER                        ADDRESS ON FILE
NANCE, DELROY D                       ADDRESS ON FILE
NANCE, MARKEL                         ADDRESS ON FILE
NANCE, RODERICK                       ADDRESS ON FILE
NANCE, SONJYA                         ADDRESS ON FILE
NANCE, SONJYA R                       ADDRESS ON FILE
NANCY C MILLAN TAX COLLECTOR          ADDRESS ON FILE
NANCY PINCUSPY                        ADDRESS ON FILE
NANCY STAHL                           ADDRESS ON FILE
NANCY TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NANDLEEN LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                Page 1349 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1358 of 2156

Claim Name                           Address Information
NANGLE, KEVIN                        ADDRESS ON FILE
NANO TRUCKING LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NAOD TRUCKING                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NAOD TRUCKING LLC                    12250 ABRAMS RD APT 1116 DALLAS TX 75243
NAPA ATLANTA STORE 089               104 EMPIRE STREET ATLANTA IL 61723
NAPA AUTO PARTS                      2815 FAITHFULL AVE SASKATOON SK S7K 8E8 CANADA
NAPA AUTO PARTS                      14839-118TH AVENUE EDMONTON AB T5L 2M7 CANADA
NAPA AUTO PARTS                      SINCLAIR SUPPLY, 93 2ND AVE HAMILTON NJ 08619
NAPA AUTO PARTS                      9 ELEANOR DRIVE NEW KINGSTOWN PA 17072
NAPA AUTO PARTS                      PO BOX 414988 BOSTON MA 02241
NAPA AUTO PARTS                      30550 ECORSE RD ROMULUS MI 48174
NAPA AUTO PARTS                      22727 ECORSE RD TAYLOR MI 48180
NAPA AUTO PARTS                      104 W. DIVISION ST. DOWAGIAC MI 49047
NAPA AUTO PARTS                      6081 S. DIVISION GRAND RAPIDS MI 49548
NAPA AUTO PARTS                      8623 OGDEN AVE LYONS IL 60534
NAPA AUTO PARTS                      5959 COLLECTIONS CTR DRIVE CHICAGO IL 60693
NAPA AUTO PARTS                      591 HWY 49 S RICHLAND MS 39218
NAPA AUTO PARTS                      PO BOX 3758 PARKER AZ 85344
NAPA AUTO PARTS                      GENUINE PARTS CO, FILE 56893 LOS ANGELES CA 90074
NAPA AUTO PARTS                      PO BOX 1385 EL CAJON CA 92022
NAPA AUTO PARTS                      42100 BEACON PALM DESERT CA 92211
NAPA AUTO PARTS                      ATTN: NICOLE STEPHENS 829 MLK WAY MERCED CA 95340
NAPA AUTO PARTS                      501 N FREYA STREET SPOKANE WA 99202
NAPA ELECTRIC                        2240 BROWN ST NAPA CA 94558
NAPA VALLEY TRANS INC                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
NAPA-HEIGHTS AUTOMOTIVE              710 N ELMHURST ROAD PROSPECT HTS IL 60070
NAPIER, CONNER                       ADDRESS ON FILE
NAPIER, MATTHEW                      ADDRESS ON FILE
NAPIER, MICHAELSCOTT                 ADDRESS ON FILE
NAPIER, ROBERT                       ADDRESS ON FILE
NAPIWOCKI, JILL                      ADDRESS ON FILE
NAPIWOCKI, JILL                      ADDRESS ON FILE
NAPLETON NISSAN                      10964 PAGE AVE. ST. LOUIS MO 63132
NAPOLEON NELOMS                      ADDRESS ON FILE
NAPOLEON, PATRICK                    ADDRESS ON FILE
NAPOLEONYX TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NAPOLEONYX TRANSPORT LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NAPOLITANO, CHRISTINA                ADDRESS ON FILE
NAPOLITANO, EDWARD                   ADDRESS ON FILE
NAPOLITANO, MICHAEL                  ADDRESS ON FILE
NAPOLITANO, THOMAS                   ADDRESS ON FILE
NAPOLITANO, VICTOR                   ADDRESS ON FILE
NAPORA INC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NAPPER TRANSPORT LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
NAPPER, AUSTIN                       ADDRESS ON FILE
NAPPER, LARRY                        ADDRESS ON FILE
NAPPER, STEVE                        ADDRESS ON FILE
NARANJO, CHRISTINA                   ADDRESS ON FILE
NARANJO, FREDDIE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1350 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1359 of 2156

Claim Name                           Address Information
NARANJO, JACQUELINE                  ADDRESS ON FILE
NARAYAN TRANSPORT LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NARAYAN, SALVIN                      ADDRESS ON FILE
NARD, BERNARD                        ADDRESS ON FILE
NARDI, WILLIAM                       ADDRESS ON FILE
NARDIELLO, JAMES                     ADDRESS ON FILE
NARDONE, ANGELO F                    ADDRESS ON FILE
NARDONE, CHRISTOPHER                 ADDRESS ON FILE
NARES TRUCKING INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NARI, MAK                            ADDRESS ON FILE
NARINDER SINGH                       ADDRESS ON FILE
NARINE LOGISTICS & TRANSPORTATION    1019 MAIN ST 1162 BRIDGEPORT CT 06604
NARINE LOGISTICS & TRANSPORTATION    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NARINKEVICUIS, KARL W                ADDRESS ON FILE
NARKAISI TRANSPORT LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NARLOCH, DAVID                       ADDRESS ON FILE
NARO ENTERPRISES, INC.               500 SCRANTON POCONO HIGHWAY COVINGTON TOWNSHIP PA 18444
NARON, DARYL                         ADDRESS ON FILE
NARRAGANSETT BAY COMMISSION          1 SERVICE RD PROVIDENCE RI 02905
NARROW GATE FREIGHT LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NARROWPATH LOGISTICS INC             OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
NARROWSBURG LOGISTICS LLC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
NARTEY, EBENEZER                     ADDRESS ON FILE
NARUP, JOHN                          ADDRESS ON FILE
NARVIES, JR., JUAN                   ADDRESS ON FILE
NARVIES, JR., JUAN                   ADDRESS ON FILE
NAS LOGISTICS LLC                    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
NAS TRUCKING LLC (MC1428246)         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
NASA SERVICES                        PO BOX 1755 MONTEBELLO CA 90640
NASAL, DANIEL J                      ADDRESS ON FILE
NASAL, JASON                         ADDRESS ON FILE
NASCO                                6922 FOREST HILLS RD UNIT B LOVES PARK IL 61111
NASDAQ CORPORATE SOLUTIONS LLC       151 W 42ND STREET NEW YORK NY 10036
NASEEB TRANSPORT LLC                 3218 S 148TH ST, 0 SEATAC WA 98168
NASG INDIANA LLC                     3401 W 8TH ST MUNCIE IN 47302
NASH CARRIER INC                     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
NASH COUNTY TAX COLLECTOR            NASH COUNTY OFFICE BLDG 120 W WASHINGTON ST STE 2058 NASHVILLE NC 27856
NASH POWERSPORTS AUBURN              1611 W. VALLEY HWY S. AUBURN WA 98001
NASH TRANSPORT LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NASH TRUCKING                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NASH, ARMONT                         ADDRESS ON FILE
NASH, ARONALD                        ADDRESS ON FILE
NASH, ARTHUR                         ADDRESS ON FILE
NASH, CHARLES                        ADDRESS ON FILE
NASH, JAMES                          ADDRESS ON FILE
NASH, JONATHAN                       ADDRESS ON FILE
NASH, MICHAEL                        ADDRESS ON FILE
NASH, MICHAEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1351 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1360 of 2156

Claim Name                           Address Information
NASH, NATHANIEL                      ADDRESS ON FILE
NASH, RYAN                           ADDRESS ON FILE
NASH, SAMMIE                         ADDRESS ON FILE
NASH, TRACI                          ADDRESS ON FILE
NASH, WAYNE                          ADDRESS ON FILE
NASH, WENDELL                        ADDRESS ON FILE
NASHAD TRUCKING LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NASHID, TALIB                        ADDRESS ON FILE
NASHLA EXPRESS CORP                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NASHVILLE ELECTRIC SERVICE           888 ELM HILL PIKE NASHVILLE TN 37210
NASHVILLE ELECTRIC SERVICE           1214 CHURCH STREET NASHVILLE TN 37246
NASHVILLE EQUIPMENT SERVICE          6101 CALIFORNIA AVE., PO BOX 90282 NASHVILLE TN 37209
NASHVILLE EQUIPMENT SERVICE          6101 CALIFORNIA AVENUE NASHVILLE TN 37209
NASI TRANSPORTATION INCORPORATED     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NASILAI, LAUTAIMI                    ADDRESS ON FILE
NASON, JONATHAN                      ADDRESS ON FILE
NASON, MEGAN                         ADDRESS ON FILE
NASS, ROBERT                         ADDRESS ON FILE
NASSANI, STACY                       ADDRESS ON FILE
NASSAU COUNTY DEPARTMENT OF HEALTH   BUREAU OF ENVIRONMENTAL PROTECTION 200 COUNTY SEAT DR MINEOLA NY 11501
NASSER, AMER                         ADDRESS ON FILE
NASSER, SAIVY AMER                   ADDRESS ON FILE
NASSER, SAIVY AMER                   ADDRESS ON FILE
NASSES, LORENE                       ADDRESS ON FILE
NASSIF, RONALD                       ADDRESS ON FILE
NASTAJ, AARON                        ADDRESS ON FILE
NASTAR TRANSPORTATION LLC            OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
NASTELLI, SANDRA                     ADDRESS ON FILE
NASTOS, EDWARD                       ADDRESS ON FILE
NATALIE C BOGART                     ADDRESS ON FILE
NATALIE EXPRESS                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NATALIE LYON                         ADDRESS ON FILE
NATAN TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NATASA LLC                           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NATASHA DENONA TRADING, LTD.         ATTN: GENERAL COUNSEL 39 E 30TH ST NEW YORK NY 10016
NATCO DISTRIBUTION LLC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
NATE MITCHELL                        ADDRESS ON FILE
NATE MOJONNIER                       ADDRESS ON FILE
NATE TRANSPORTATIONS LLC             OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
NATHAN A LEE                         ADDRESS ON FILE
NATHAN A WILLIAMS                    ADDRESS ON FILE
NATHAN C BATTLE                      ADDRESS ON FILE
NATHAN D SHAVER                      ADDRESS ON FILE
NATHAN EXPRESS INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NATHAN J BROWN                       ADDRESS ON FILE
NATHAN J LAVALLEE                    ADDRESS ON FILE
NATHAN S LONG                        ADDRESS ON FILE
NATHAN TRANSPORTATION LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NATHAN TRUCKING L.L.C.               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161



Epiq Corporate Restructuring, LLC                                                               Page 1352 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1361 of 2156

Claim Name                             Address Information
NATHAN TRUCKING LLC (MC952820)         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NATHAN, PRINCETON                      ADDRESS ON FILE
NATHANIEL BROCK                        ADDRESS ON FILE
NATHANIEL S LITTLE                     ADDRESS ON FILE
NATHANIEL, ANTONIO                     ADDRESS ON FILE
NATHANS ENTERPRISE INC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NATHANSON, PATRICIA                    ADDRESS ON FILE
NATHANSON, PATRICIA                    ADDRESS ON FILE
NATION EXPRESS LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NATION EXPRESS LLC (MC1233575)         OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NATION FREIGHT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATION FREIGHT INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
NATION HAULING TRANSPORT LLC           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411
NATION LINK TRANSPORT, INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
NATION ONE TRUCKING INC                PO BOX 717 PLAINFIELD IL 60544
NATION WIDE TRANSPORTATION, LLC        OR YANKTON FACTORING, PO BOX 217 YANKTON SD 57078
NATIONAL AIR AND ENERGY                2053 KURTZ ST SAN DIEGO CA 92110
NATIONAL BUSINESS FURNITURE            ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NATIONAL BUSINESS FURNITURE LLC        770 S 70TH ST MILWAUKEE WI 53214
NATIONAL CARGO CARRIER LLC             OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
NATIONAL CARGO INC                     OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                       60197-4539
NATIONAL CARRIER LLC (MC1224211)       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7575
NATIONAL CARWASH SOLUTIONS             GEODIS PO BOX 2208 BRENTWOOD TN 37024
NATIONAL COATINGS & SUPPLIES           1591 W ALAMEDA AVE DENVER CO 80223
NATIONAL COATINGS & SUPPLIES           400 N TOWNSEND AVE MONTROSE CO 81401
NATIONAL COATINGS & SUPPLIES           1931 E MAIN ST GRAND JUNCTION CO 81501
NATIONAL COMPRESSOR                    ATTN: ROB BROSMAN 5 DUBON CT FARMINGDALE NY 11735
NATIONAL D.R.I.V.E.                    PO BOX 758637 BALTIMORE MD 21275
NATIONAL D.R.I.V.E.                    INTERNATIONAL BROTHERHOOD OF TEAMSTERS 25 LOUISIANA AVE NW WASHINGTON DC 20001
NATIONAL DELIVERY SYSTEMS, INC.        8700 ROBERT FULTON DR 600 COLUMBIA MD 21046
NATIONAL DISTRIBUTION & CONTRACTING    310 MAIN AVE WAY SE HICKORY NC 28602
NATIONAL DISTRIBUTORS LEASING, INC.    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NATIONAL EQUIPMENT & SERVICE           3334 E COAST HWY, PMB 317 CORONA DEL MAR CA 92625
CORPORATION
NATIONAL EQUIPMENT & SERVICE           3334 EAST COAST HIGHWAY 317 CORONA DEL MAR CA 92625
CORPORATION
NATIONAL EXPRESS CARRIERS INC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NATIONAL FAST FREIGHT INC              2085 TOWN CENTER RD CANTON MI 48188
NATIONAL FILTERS ECHO                  ATTN: NICOLE TUCKER 600 W CHICAGO AVE CHICAGO IL 60654
NATIONAL FLEET MANAGEMENT, INC.        PO BOX 896738 CHARLOTTE NC 28289
NATIONAL FLEET MANAGEMENT, INC.        PO BOX 896738 CHARLOTTE NC 28289-6738
NATIONAL FLOORING PRODUCT              1975 E LOCUST ST ONTARIO CA 91761
NATIONAL FLOORING PRODUCT              ATTN: JAMIE MOYA 1975 E LOCUST ST STE A ONTARIO CA 91761
NATIONAL FLOORING PRODUCT              ATTN: JAMIE MOYA CLAIM SUPPORT 1975 E LOCUST ST STE A ONTARIO CA 91761
NATIONAL FLOORING PRODUCT              ATTN: JAMIE MOYA CLAIMS 1975 E LOCUST ST STE A ONTARIO CA 91761
NATIONAL FLOORING PRODUCTS INC         1975 E LOCUST ST STE A ONTARIO CA 91761
NATIONAL FOOD GROUP                    C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
NATIONAL FREIGHT LINES INC (ASHEBORO   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099


Epiq Corporate Restructuring, LLC                                                                 Page 1353 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1362 of 2156

Claim Name                               Address Information
NC)                                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
NATIONAL FREIGHT LOGISTICS LLC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
NATIONAL FREIGHT SOLUTION INC            PO BOX 9223 AURORA IL 60598
NATIONAL FREIGHT TRUCKING LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATIONAL FUEL                            6363 MAIN STREET WILLIAMSVILLE NY 14221
NATIONAL GRID                            PO BOX 29791 NEW YORK NY 10087-9791
NATIONAL GRID                            100 E ASHLAND ST BROCKTON MA 02302
NATIONAL GRID                            40 SYLVAN ROAD WALTHAM MA 02451
NATIONAL GROUND TRANSPORTATION INC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NATIONAL LANDSCAPE MANAGEMENT            3865 HOLCOMB BRIDGE ROAD NORCROSS GA 30092
NATIONAL LEASE/RENTAL COMPANY            2651 WARRENVILLE ROAD, SUITE 560 DOWNERS GROVE IL 60515
NATIONAL LOGISTICS CORP                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NATIONAL LOGISTICS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NATIONAL LOGISTICS NETWORK, LLC          PO BOX 6528 ERIE PA 16512
NATIONAL LOGISTICS PLUS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NATIONAL LOGISTICS SERVICES INC          OR BLUE CAPITAL, PO BOX 17759 EL PASO TX 79917
NATIONAL MOTOR FREIGHT TRAFFIC ASSOC     1001 N FAIRFAX ST STE 600 ALEXANDRIA VA 22314
INC
NATIONAL OAK DISTRIBUTORS                ATTN: LIESEL BOROVSKY IL2000 PO BOX 8372 VIRGINIA BEACH VA 23450
NATIONAL OAK DISTRIBUTORS                ATTN: SUNNY CERDENA 2824 142ND AVE EAST SUMMER WA 98390-9615
NATIONAL OAK DISTRIBUTORSIL2000          ATTN: HOLLY MENKE PO BOX 8372 VIRGINIA BEACH VA 23450
NATIONAL OAK DISTRIBUTORSIL2000          ATTN: LIESEL BOROVSKY PO BOX 8372 VIRGINIA BEACH VA 23450
NATIONAL PENSION FUND                    (LOCAL 778 MECHANICS), 9 M STREET SUITE 600 WASHINGTON DC 20003-3799
NATIONAL PREMIER TRUCKING                OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
NATIONAL PREMIUM LOGISTICS INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATIONAL PREMIUM LOGISTICS INC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NATIONAL PRODUCTS INC                    ATTN: Y VONNE LOPEZ 8410 DALLAS AVE SOUTH SEATTLE WA 98108
NATIONAL PROGRESSIVE LOGISTICS LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NATIONAL PUBLIC SEATING                  149 ENTIN RD. CLIFTON NJ 07014
NATIONAL PUBLIC SEATING                  ATTN: SASHA SANTO 149 ENTIN RD CLIFTON NJ 07014
NATIONAL PURCHASING PARTNERS, LLC        17930 INTERNATIONAL BLVD SEATTLE WA 98101
NATIONAL ROOFING CO INC                  6821 ACADEMY PARKWAY WEST NE ALBUQUERQUE NM 87109
NATIONAL SEATING                         COLLECTIONS CENTER DRIVE, PO BOX 15694 CHICAGO IL 60693
NATIONAL SEATING                         PO BOX 15694 CHICAGO IL 60693
NATIONAL SEATING                         PO BOX 15694 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
NATIONAL SERVICE LOGISTICS INC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NATIONAL SHIPPING INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NATIONAL TEAM TRANSPORTATION LLC         OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
NATIONAL TIME EQUIPMENT CO LTD           31 CORONET RD TORONTO ON M8Z 2L8 CANADA
NATIONAL TRAFFIC SERVICE                 151 JOHN JAMES AUDUBON PKWY AMHERST NY 14228
NATIONAL TRANS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NATIONAL TRANSPORT CARRIER INC           4001 PEACOCK DR BETHLEHEM PA 18020
NATIONAL TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NATIONAL TRANSPORTATION CONSULTING LLC   2090 OAKVALE CT NW KENNESAW GA 30152
NATIONAL TRANSPORTATION SERVICES INC     PO BOX 1226 KENT WA 98035
NATIONAL TRUCKING GROUP INC              OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
NATIONAL WIPER ALLIANCE                  875 WARREN WILSON RD. SWANNANOA NC 28778
NATIONAL WRECKER INC                     295 W RD PORTSMOUTH NH 03801
NATIONLINK LOGISTICS LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101



Epiq Corporate Restructuring, LLC                                                                   Page 1354 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1363 of 2156

Claim Name                             Address Information
NATIONLINK TRUCKING INC                OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
NATIONS EQUIPMENT FINANCE              101 MERRITT SEVEN BELDEN CT 06851
NATIONS EQUIPMENT FINANCE LLC          40 DANBURY ROAD WILTON CT 06897
NATIONS FUND I INC                     501 MERRITT SEVEN, 6TH FL NORWALK CT 06851
NATIONS FUND I INC                     101 MERRITT SEVEN NORWALK CT 06851
NATIONS FUND I LLC                     501 MERRITT SEVEN NORWALK CT 06851
NATIONS LOGISTICS INC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NATIONS MEDICAL                        P.O. BOX 150124 ELY NV 89315
NATIONSERVE                            D/B/A: OVERHEAD DOOR CORPORATION PO BOX 740702 ATLANTA GA 30374
NATIONSERVE                            D/B/A: OVERHEAD DOOR CORPORATION C\O OVERHEAD DOOR CORPORATION P.O BOX 676576
                                       DALLAS TX 75267
NATIONWIDE CARRIER INC                 200 BROWN RD, SUITE 203 FREMONT CA 94539
NATIONWIDE CARRIER LLC                 OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NATIONWIDE DISPATCH INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NATIONWIDE EQUIPMENT TRANS             ATTN: LAURA HEATLTHCARE 10940 PARALLEL PKWY STE K BOX 235 KANSAS CITY KS 66109
NATIONWIDE EXPRESS LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NATIONWIDE FREIGHT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATIONWIDE FREIGHT LINES LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NATIONWIDE FREIGHT SOLUTIONS INC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NATIONWIDE FREIGHT SYSTEMS INC         1579 HIGHPOINT DR ELGIN IL 60123-9303
NATIONWIDE JANITORIAL SERVICE          3002 N HOME STREET MISHAWAKA IN 46545
NATIONWIDE LIFT TRUCKS INC             2481 PORT W BLVD. WEST PALM BEACH FL 33407
NATIONWIDE LOGISTICS COMPANY           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NATIONWIDE LOGISTICS INC               6920 S CIMARRON RD, SUITE 100 LAS VEGSA NV 89113
NATIONWIDE LOGISTICS LLC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
NATIONWIDE MUTUAL INSURANCE COMPANY    ATTN: GENERAL COUNSEL 1 NATIONWIDE PLAZA COLUMBUS OH 43215
NATIONWIDE SUNSHINE LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATIONWIDE TRANS, INC.                 PO BOX 2558 CHINO CA 91708-2558
NATIONWIDE TRANSFER INC                4800 N VELOCITY AVE SIOUX FALLS SD 57104
NATIONWIDE TRANSPORT LTD.              PO BOX 248 STATION A BRAMPTON ON L6V 2L1 CANADA
NATIONWIDE TRANSPORT, L.L.C.           12114 172ND ST CT E PUYALLUP WA 98374
NATIONWIDE TRANSPORTATION & LOGISTIC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
INC
NATIONWIDE TRANSPORTATION INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATIONWIDE TRANSPORTATION, INC.        13100 W 118TH PLACE CEDAR LAKE IN 46303
NATIONWIDE TRUCK LINE, INC.            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NATIONWIDE TRUCK REPAIR CENTER, INC.   95 IRON MOUNTAIN RD MINE HILL NJ 07803
NATIONWIDE TRUCK SERVICE CORP          PO BOX 21608 LOUISVILLE KY 40221
NATIONWIDE TRUCKING LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
NATIONWIDE VISION LOGISTICS, LLC       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101-1394
NATIVE AMERICAN LOGISTICS              3039 AIRPARK DR N FLINT MI 48507
NATIVE INK LLC                         5524 S MINGO RD, BOX 412 TULSA OK 74146
NATIVE RESERVES LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NATL FIN SVCS. (0226)                  ATT SEAN COLE OR PROXY DEPT NEWPORT OFFICE CTR III 499 WASHINGTON BLVD JERSEY
                                       CITY NJ 07310
NATMI LPF BLOOMINGTON LP               PO BOX 740502 LOS ANGELES CA 90074
NATMI LPF BLOOMINGTON, LP              ATTN: STEVE PANOS 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
NATMI NATIONAL FX PROPERTIES LLC       25296 NETWORK PLACE CHICAGO IL 60673
NATMI NATIONAL FX PROPERTIES, LLC      ATTN: VICTOR CIRRINCIONE 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
NATMI NATIONAL TAMPA, LLC              ATTN: TOM MATHEWS 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401


Epiq Corporate Restructuring, LLC                                                                 Page 1355 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1364 of 2156

Claim Name                            Address Information
NATMI NATIONAL TRUCK TERMINALS LLC    201 W ST STE 200 ANNAPOLIS MD 21401
NATMI NATIONAL TRUCK TERMINALS LLC    25296 NETWORK PLACE CHICAGO IL 60673
NATMI NATIONAL TRUCK TERMINALS, LLC   ATTN: JOHN CROSSEN 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
NATNA EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NATNA TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NATRONA COUNTY                        PO BOX 2300 CASPER WY 82602
NATTE, DRE                            ADDRESS ON FILE
NATTE, DRE R                          ADDRESS ON FILE
NATURAL PIGMENTS                      ATTN: GEORGE OHANLON 291 SHELL LN WILLITS CA 95490
NATURAL REFRESHMENT SERVICE           DBA MOUNTAIN VALLEY OF TEXARKANA PO BOX 3150 TEXARKANA TX 75504
NATURAL STATE CARRIERS INC            135 JOHNSTON RD SEARCY AR 72143
NATURALENRICHMENTINDUSTRIESEC         ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NATURCHEM, INC.                       P.O. BOX 161748 ATLANTA GA 30321
NATURE SCAPE LAWN & LDSCP CARE        370 ERIE AVENUE MORTON IL 61550
NATURES FOODZ CORP                    501 SAWGRASS CORPORATE PKWY FORT LAUDERDALE FL 33325
NAUGHTON, ERIC                        ADDRESS ON FILE
NAUGHTON, PATRICK                     ADDRESS ON FILE
NAULA, EDDIE                          ADDRESS ON FILE
NAULLS, JAMAAL                        ADDRESS ON FILE
NAULT, STEVEN                         ADDRESS ON FILE
NAUMANN HOBBS MATERIAL HANDLING       PO BOX 29201 MSC-749 PHOENIX AZ 85038
NAUMANN HOBBS MATERIAL HANDLING       DEPT 710007, PO BOX 514670 LOS ANGELES CA 90051
NAUMANN HOBBS MATERIAL HANDLING       PO BOX 31001-3356 PASADENA CA 91110
NAUMANN, BRAEDEN                      ADDRESS ON FILE
NAUMCHIK, MICHAEL                     ADDRESS ON FILE
NAUMENKO, SERG                        ADDRESS ON FILE
NAUROTH, DAVE                         ADDRESS ON FILE
NAUTA, HILARY                         ADDRESS ON FILE
NAV CARRIER LLC                       15298 W MORELAND ST GOODYEAR AZ 85338
NAV TRANS INC                         10112 GOOSE ROCK LN INDIANAPOLIS IN 46239
NAV TRANSPORTATION LLC                35 SADDLE LANE EASTON PA 18045
NAV TRANSPORTATION, INC               9711 DRIFTING OAKS CT HOUSTON TX 77095
NAVA ALVAREZ, SALVADOR                ADDRESS ON FILE
NAVA, CANDELARIO                      ADDRESS ON FILE
NAVARRETE, ROBERT                     ADDRESS ON FILE
NAVARRETTE, XAVIER                    ADDRESS ON FILE
NAVARRO JR, GREGORIO                  ADDRESS ON FILE
NAVARRO US LLC                        OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NAVARRO, ALBERT                       ADDRESS ON FILE
NAVARRO, BRIAN                        ADDRESS ON FILE
NAVARRO, DAVID                        ADDRESS ON FILE
NAVARRO, EDUARDO                      ADDRESS ON FILE
NAVARRO, JERMAINE                     ADDRESS ON FILE
NAVARRO, JORGE                        ADDRESS ON FILE
NAVARRO, JUVENTINO                    ADDRESS ON FILE
NAVARRO, LEOPOLDO                     ADDRESS ON FILE
NAVARRO, MARC                         ADDRESS ON FILE
NAVARRO, MARCUS                       ADDRESS ON FILE
NAVARRO, OTONIEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1356 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1365 of 2156

Claim Name                              Address Information
NAVARRO, PAOLO JAMES A                 ADDRESS ON FILE
NAVARRO, RICHARD                       ADDRESS ON FILE
NAVARRO, VICKIE                        ADDRESS ON FILE
NAVARRO, VINCENT                       ADDRESS ON FILE
NAVARRO, YTIEL                         ADDRESS ON FILE
NAVAS EXPRESS INC                      438 CITY VIEW ST ASHEBORO NC 27203
NAVAS EXPRESS INC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NAVAS TRANSPORTATION LLC               OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
NAVAS, PHILLIP                         ADDRESS ON FILE
NAVE, GARY                             ADDRESS ON FILE
NAVE, LANTZ                            ADDRESS ON FILE
NAVEA LOGISTICS LLC                    OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
NAVEX GLOBAL INC.                      PO BOX 60941 CHARLOTTE NC 28260
NAVI INC                               OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NAVI TRANSPORT INC                     OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
NAVIGATE EXPRESS LLC                   8242 FANNING WAY SACRAMENTO CA 95829
NAVIGATION GLOBAL LLC                  OR RTS FINANCIAL SERVICES INC PO BOX 840267 DALLAS TX 75284
NAVIGATION LOGISTICS INC               OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
NAVIGATOR LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NAVIGATOR SOLUTIONS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NAVIGATOR TRUCKING LLC                 3 BLUE SKY CT MISSOURI CITY TX 77459
NAVIGATORS LOGISTICS INC               15696 PORTERFIELD HIGHWAY ABINGDON VA 24210
NAVIS                                  RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
NAVISTAR                               PRECISE FREIGHT AUDIT, PO BOX 14402 SPRINGFIELD MO 65814
NAVISTAR INC                           DATA2LOGISTICSLLC 6053 S FASHION SQUARE DR STE 1 SALT LAKE CITY UT 84107
NAVISTAR LOGISTICS LLC                 3701 SAN MATEO BLVD. NE SUITE 103 ALBUQUERQUE NM 87110
NAVISTAR USA INC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
NAVIVAN CORP                           200 CROFTON RD, BLDG 10-B, SUITE 2 KENNER LA 70062
NAVN TRANSPORT INC                     3276 ZACCARIA WAY STOCKTON CA 95212
NAVRATIL EXCAVATING, INC               P.O. BOX 1404 MASON CITY IA 50402
NAVRATIL, DAVID                        ADDRESS ON FILE
NAVU TRANS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NAVY EXCHANGE SERVICE COMMAND          3280 VIRGINIA BEACH BLVD VIRGINIA BEACH VA 23452
NAVY EXCHANGE SERVICE COMMAND          ATTN: JON HUFF CODE D TRANS & TRAFFIC 3280 VIRGINIA BEACH BLVD VIRGINIA BEACH
                                       VA 23452
NAVY, GERARD                           ADDRESS ON FILE
NAVY, JOHN                             ADDRESS ON FILE
NAWABZ TRUCKING INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NAWAZ, ALI                             ADDRESS ON FILE
NAWROCKI, GREGG H                      ADDRESS ON FILE
NAY, DANIEL                            ADDRESS ON FILE
NAYLOR AUTOMOTIVE ENGINEERING CO., INC. 4645 S KNOX AVE CHICAGO IL 60632
NAYLOR, DELLA                          ADDRESS ON FILE
NAYLOR, JARVIS                         ADDRESS ON FILE
NAYLOR, MARQUAUIOUS                    ADDRESS ON FILE
NAZAR GROUP INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NAZAR, ANTHONY                         ADDRESS ON FILE
NAZARIO, RICARDO                       ADDRESS ON FILE
NAZARUK, STEPHEN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1357 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1366 of 2156

Claim Name                               Address Information
NAZERINO PRODUCE                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NAZINITSKY, PIERCE                       ADDRESS ON FILE
NAZIRA CORP                              4396 DANBERRY DR NORTH OLMSTED OH 44070
NAZZARO, BRIAN                           ADDRESS ON FILE
NAZZARO, BRIAN                           ADDRESS ON FILE
NAZZLE TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NB EXPRESS LLC                           OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
NB EXPRESS LLC (MC1316650)               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NB INTERSTATE LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NB LOGISTICS LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NB LOGISTICS LP                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NB TRANSPORTATION LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NBA AUTO TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NBA TRANSPORT LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NBA XPRESS LLC                           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
NBB TRANS L L C                          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NBBR TRANS INC                           OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NBCN INC. /CDS (5008)                    ATT DANIEL NTAP OR PROXY MGR 1010 DE LA GAUCHETIERE OUEST STE 1925 MONTREAL QC
                                         H3B 5J2 CANADA
NBF                                      C/O ECHO GLOBAL 600 W CHICAGO AVE SUITE 725 CHICAGO IL 60654
NBF                                      ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NBF C/O ECHO GLOBAL                      600 W CHICAGO, SUITE 725 CHICAGO IL 60654
NBF C/O ECHO GLOBAL                      ATTN: NATASIA FIELDS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NBF C/O ECHO GLOBAL LOGISTICS            600 W CHICAGO AVE 725 CHICAGO IL 60654
NBF C/O ECHO GLOBAL LOGISTICS            ATTN: NATASIA FIELDS 600 W CHICAGO AVE 725 CHICAGO IL 60654
NBG TRUCKING LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NBK GROUP INC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NBL                                      OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
NBP TRANSPORTATION INC                   OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
NBS EXPRESS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NBS LOGISTICS LLC                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NC DEPARTMENT OF REVENUE                 INSURANCE PREMIUM TAX UNIT, PO BOX 25000 RALEIGH NC 27640
NC DEPARTMENT OF TRANSPORTATION          1150 FOSTER AVE. RALEIGH NC 27699
NC DEPT. OF CORRECTIONS                  633 OLD LANDFIELD RD. TAYLORSVILLE NC 28681
NC DEPT. OF TRANSPORTATION               C/O CMR PO BOX 60770 OKLAHOMA CITY OK 73146
NC DIVISION OF MOTOR VEHICLES            VEHICLE REGISTRATION SECTION MAIL AND DISTRIBUTION UNIT RALEIGH NC 27699-3148
NC DOT                                   7703 DISTRICT DR CHARLOTTE NC 28213
NC FILTRATION                            1 MILLER ST. BELMONT NC 28012
NC FREIGHTS LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NC SECRETARY OF STATE                    BUSINESS REGISTRATION DIVISION PO BOX 29622 RALEIGH NC 27626
NC SELF-INSURANCE SECURITY ASSOCIATION   1620 S MKL JR AVENUE, SUITE107 SALISBURY NC 28144
NC STATE LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NC TRUCKING INC                          5423 WEST LAWRENCE AVE CHICAGO IL 60630
NCA TRANSPORT INC                        23394 TUMBLEWEED LN BROWNSTOWN TWP MI 48183
NCA TRANSPORT LLC                        OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
NCA TRANSPORT, INC                       1625 HOLLY AVE DARIEN IL 60561
NCAS TRANSPORTATION CORP                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
NCCI HOLDINGS INC                        12218 COLLECTIONS CENTER DR CHICAGO IL 60693
NCDENR DIV OF ENERGY MINERAL & LAND RES ATTN: STORMWATER BILLING 1612 MAIL SREVICE CENTER RALEIGH NC 27699



Epiq Corporate Restructuring, LLC                                                                   Page 1358 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1367 of 2156

Claim Name                           Address Information
NCDEQ                                1646 MAIL SERVICE CENTER ATTN: MARY SIDELECKI RALEIGH NC 27699
NCDEQ-DIVISION OF                    ENERGY MINERAL & LAND RES ATTN: STORMWATER BILLING 1612 MAIL SERVICE CENTER
                                     RALEIGH NC 27699
NCHARGE TRUCKING LOGISTICS LLC       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NCORE INC                            35 AMBER ROCK ST HENDERSON NV 89012
NCR TRUCKING INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NCS                                  ATTN: SARAH NEWSOME GEODIS PO BOX 2208 BRENTWOOD TN 37024
NCS                                  GEODIS PO BOX 2208 BRENTWOOD TN 37024
NCS TSS                              ATTN: SARAH NEWSOME GEODIS PO BOX 2208 BRENTWOOD TN 37024
ND LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NDAYIKEJE, SEBASTIAN                 ADDRESS ON FILE
NDETI, KITETU                        ADDRESS ON FILE
NDIAMBOUR TRUCKING INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NDIAYE, ALFHA                        ADDRESS ON FILE
NDIAYE, BABACAR                      ADDRESS ON FILE
NDIAYE, CHEIKH                       ADDRESS ON FILE
NDIKINTUM, CECILE                    ADDRESS ON FILE
NDIKINTUM, CECILE                    ADDRESS ON FILE
NDK COURIER SERVICE                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NDL TRUCKING LLC                     2930 QUEEN CITY RD STE 3 CHESAPEAKE VA 23325-4100
NDONGWA TRUCKING INC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NDTA                                 50 S PICKETT ST, SUITE 220 ALEXANDRIA VA 22304
NE TRANSPORTATION LLC                OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
NEAF, MIKE                           ADDRESS ON FILE
NEAGLE, ANTHONY                      ADDRESS ON FILE
NEAGU INC                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
NEAL BOYZ FAMILY TRUCKING, LLC       OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
NEAL KAHNY PLUMBING                  6070 GAINES ROAD CINCINNATI OH 45247
NEAL KAHNY PLUMBING                  6201 CASTLE STONE LANE CINCINNATI OH 45247
NEAL, ALLEN                          ADDRESS ON FILE
NEAL, ANDY                           ADDRESS ON FILE
NEAL, ARTETRIC                       ADDRESS ON FILE
NEAL, DANIEL                         ADDRESS ON FILE
NEAL, DAVID                          ADDRESS ON FILE
NEAL, GREGORY                        ADDRESS ON FILE
NEAL, JALEN                          ADDRESS ON FILE
NEAL, JAUNE                          ADDRESS ON FILE
NEAL, JIM                            ADDRESS ON FILE
NEAL, KEIARABRA                      ADDRESS ON FILE
NEAL, LISA                           ADDRESS ON FILE
NEAL, MALIK                          ADDRESS ON FILE
NEAL, MARCUS                         ADDRESS ON FILE
NEAL, PAUL                           ADDRESS ON FILE
NEAL, RANDY                          ADDRESS ON FILE
NEAL, RONALD                         ADDRESS ON FILE
NEAL, RUSSELL                        ADDRESS ON FILE
NEAL, SHELDON                        ADDRESS ON FILE
NEAL, STEVIE                         ADDRESS ON FILE
NEAL, TANYA                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1359 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1368 of 2156

Claim Name                               Address Information
NEAL, TEBBIE                             ADDRESS ON FILE
NEAL, TERRI                              ADDRESS ON FILE
NEAL, TROY                               ADDRESS ON FILE
NEAL, TRUITT                             ADDRESS ON FILE
NEAL, WILLIAM                            ADDRESS ON FILE
NEALS CARRIERS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NEALS RADIATOR SERVICE INC               116 GRAND ISLAND BLVD TONAWANDA NY 14150
NEALY, DERRICK                           ADDRESS ON FILE
NEALY, JD                                ADDRESS ON FILE
NEALY, JIMMIE D                          ADDRESS ON FILE
NEAPCO                                   4305 N LAMB BLVD STE 500 LAS VEGAS NV 89115
NEARHOOD JR, SCOTT                       ADDRESS ON FILE
NEARHOOD, SCOTT                          ADDRESS ON FILE
NEARU DELIVERY LLC                       OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
NEAT TRANSPORT LLC                       1333 COMO DR MATECA CA 95337
NEATHERY, ANTHONY S                      ADDRESS ON FILE
NEATHERY, ANTHONY S                      ADDRESS ON FILE
NEBEL, JEFFREY                           ADDRESS ON FILE
NEBEL, ZOILA                             ADDRESS ON FILE
NEBIL EXPRESS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NEBRASKA DEPARTMENT OF REVENUE           PO BOX 98923 LINCOLN NE 68509
NEBRASKA EXPRESS                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NEBRASKA PUBLIC POWER DIST               1414 15TH STREET PO BOX 499 COLUMBUS NE 68602-0499
NEBRASKA SAFETY AND FIRE EQUIPMENT INC   PO BOX 1229, 111 W 6TH ST NORTH PLATTE NE 69103
NEBRASKA TRUCKING ASSOCIATION            1701 K STREET LINCOLN NE 68508
NEBRASKA-IOWA INDUSTRIAL FASTENERS,      PO BOX 27391 OMAHA NE 68127
INC.
NEC ELECTRIC INC                         17015 S BROADWAY GARDENA CA 90248
NECESSARY NEEDS TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NECESSARY, JACOB                         ADDRESS ON FILE
NECOLLINS, STEVE                         ADDRESS ON FILE
NECOLOFF, CHRIS                          ADDRESS ON FILE
NED PROPERTIES LLC                       PO BOX 30076 SALT LAKE CITY UT 84130
NED PROPERTIES, LLC                      ATTN: MARK DEWALD 2200 EAST CAMELBACK ROAD SUITE 101 PHOENIX AZ 85016
NEDCO SUPPLY                             4200 SPRING MOUNTAIN RD LAS VEGAS NV 89102
NEDEAU, SAM                              ADDRESS ON FILE
NEDEX EXPRESS INC                        8538 W NORTH TER NILES IL 60714
NEDROW, JOSH                             ADDRESS ON FILE
NEDWARDS, TIM                            ADDRESS ON FILE
NEE, JAMES                               ADDRESS ON FILE
NEEDHAM, DALE                            ADDRESS ON FILE
NEEDHAM, IRLE                            ADDRESS ON FILE
NEEDHAM, LINDSAY                         ADDRESS ON FILE
NEEDHAM, REBECCA                         ADDRESS ON FILE
NEEDHAM, STEPHANIE                       ADDRESS ON FILE
NEEL, LEEANN                             ADDRESS ON FILE
NEELEY, TERRY                            ADDRESS ON FILE
NEELEY, TOM                              ADDRESS ON FILE
NEELEYS SERVICE CENTER                   4005 E 58TH TEXARKANA AR 71854



Epiq Corporate Restructuring, LLC                                                                Page 1360 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1369 of 2156

Claim Name                           Address Information
NEELJALA TRANSPORT INC               460 TOPAZ LN BARTLETT IL 60103
NEELY AND SON LLC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
NEELY COBLE COMPANY                  15151 AL HWY 20 SW MADISON AL 35756
NEELY, DAYNA                         ADDRESS ON FILE
NEELY, JULIAN                        ADDRESS ON FILE
NEELY, KENDEN                        ADDRESS ON FILE
NEELY, MICHELLE R                    ADDRESS ON FILE
NEELY, SAMUEL                        ADDRESS ON FILE
NEELY, SHAWN                         ADDRESS ON FILE
NEELY, TINA                          ADDRESS ON FILE
NEELY, TODD R                        ADDRESS ON FILE
NEELY, TOMARIA                       ADDRESS ON FILE
NEEMAN, GARY L                       ADDRESS ON FILE
NEEQUAYE, DAVID                      ADDRESS ON FILE
NEER, CHRISTOPHER                    ADDRESS ON FILE
NEES, ANDREW                         ADDRESS ON FILE
NEESE, JEREMY                        ADDRESS ON FILE
NEF LOGISTICS INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NEFAN ENTERPRISES LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NEFF, JOSEPH                         ADDRESS ON FILE
NEFF, KELLY                          ADDRESS ON FILE
NEFT, JOSH                           ADDRESS ON FILE
NEFTIN, IGOR                         ADDRESS ON FILE
NEGAT TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NEGATIVE FREIGHT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NEGEN, ADAM                          ADDRESS ON FILE
NEGOSHIANS TOWING SERVICE            PO BOX 424 NEWTON MA 02464
NEGREROS, GALINDO                    ADDRESS ON FILE
NEGRETE, JOSE                        ADDRESS ON FILE
NEGRI, JEFFREY                       ADDRESS ON FILE
NEGRIN & SON CORP                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NEGRON, JOSE                         ADDRESS ON FILE
NEHAL TRUCKING LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NEHTRAC TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NEIBEL, ROBERT                       ADDRESS ON FILE
NEIDEL, JAMES                        ADDRESS ON FILE
NEIGHBORHOOD KREW INC                1167 UNIVERSITY DR YARDLEY PA 19067
NEIGHBORS LOGISTICS LLC              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
NEIGHBORS TRANSPORT LLC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NEIGHBOURS, JERRY                    ADDRESS ON FILE
NEIKO J MOULTRIE LLC                 2827 RITZ LANE MATTHEWS NC 28105
NEIL BLANKENSHIP                     ADDRESS ON FILE
NEIL H BUTLER                        ADDRESS ON FILE
NEIL R SMITH                         ADDRESS ON FILE
NEIL, DARRYL W                       ADDRESS ON FILE
NEIL, TYRON                          ADDRESS ON FILE
NEIL, TYRON                          ADDRESS ON FILE
NEIL, VICKY                          ADDRESS ON FILE
NEILD, DALE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1361 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1370 of 2156

Claim Name                             Address Information
NEILL, BENJAMIN                        ADDRESS ON FILE
NEILL, JASON                           ADDRESS ON FILE
NEILL, LESLIE                          ADDRESS ON FILE
NEILMED                                601 AVIATION BLVD. SANTA ROSA CA 95403
NEILS TRAILER REPAIR LLC               3302 20TH ST SW LANETT AL 36863
NEILSEN, SCOTT                         ADDRESS ON FILE
NEILSON, RICHARD                       ADDRESS ON FILE
NEILSON, THOMAS                        ADDRESS ON FILE
NEIMAN BROTHERS COMPANY INC            ATTN: LIMARY SKWERES 3322 W NEWPORT CHICAGO IL 60618
NEINO, GARY                            ADDRESS ON FILE
NEIS, BRENDAN                          ADDRESS ON FILE
NEISEN, CHAD                           ADDRESS ON FILE
NEISTAT, WILLIAM                       ADDRESS ON FILE
NEITZ, MARTIN                          ADDRESS ON FILE
NEITZEL, TIMOTHY                       ADDRESS ON FILE
NEJ TRUCKING LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NEJAME, RICHARD                        ADDRESS ON FILE
NEKIZ LOGISTICS LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
NEKOOSA COATED PRODUCTS                6 INGERSOLL RD SOUTH PLAINFIELD NJ 07080
NEKOOSA COATED PRODUCTS LLC            841 MARKET ST NEKOOSA WI 54457
NEKOOSA COATED PRODUCTS LLC            1320 S BAKER AVE STE B ONTARIO CA 91761
NELALEX EXPRESS INC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
NELAM TRANSPORT INC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
NELAND, RICK                           ADDRESS ON FILE
NELIS TRANSPORTS LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NELLIS TRUCKING LLC                    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
NELLO, DOMINICK                        ADDRESS ON FILE
NELLUM, GERALD                         ADDRESS ON FILE
NELLYS EXPRESS, INC.                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
NELMS, MATTHEW                         ADDRESS ON FILE
NELOMS, MATTHEW                        ADDRESS ON FILE
NELOMS, NAPOLEON                       ADDRESS ON FILE
NELSEN, ASHLEY                         ADDRESS ON FILE
NELSON & NELSON TRANSPORT              PO BOX 111, 0 BETHLEHEM GA 30620
NELSON CARLSON MECHANICAL              PO BOX 4183 ROCKFORD IL 61110
NELSON DRIVING SERVICES CORP           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NELSON E BENNETT                       ADDRESS ON FILE
NELSON EQUIPMENT                       ATTN: KURT NELSON PO BOX 18170 SHREVEPORT LA 71138
NELSON FIRE PROTECTION                 10853 N. 2ND STREET ROCKFORD IL 61115
NELSON FREIGHT SERVICE, INC.           PO BOX 7 PESHTIGO WI 54157
NELSON FUEL INCORPORATED               1511 S OLIVE ST SOUTH BEND IN 46619
NELSON GLOBAL PRODUCTS                 1560 WILLIAMS DR STOUGHTON 53589
NELSON INTERNATIONAL DIV               PO BOX 993 WILLMAR MN 56201
NELSON IRRIGATION CORP                 850 AIRPORT RD WALLA WALLA WA 99362
NELSON MASONRY INC                     3341 KNIGHT RD MARIETTA GA 30066
NELSON TRUCK & EQUIPMENT SERVICE INC   PO BOX 296 TWO RIVERS WI 54241
NELSON TRUCK & EQUIPMENT SERVICE INC   EQUIPMENT SERVICE INC., PO BOX 296 TWO RIVERS WI 54241-0296
NELSON TRUCK LINES                     PO BOX 53 MANITOWOC WI 54221
NELSON WIRE & STEEL                    1015 NEW SALEM RD NEW SALEM PA 15468



Epiq Corporate Restructuring, LLC                                                              Page 1362 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1371 of 2156

Claim Name                          Address Information
NELSON WIRE & STEEL LLC             WMC HOLDINGS LP, PO BOX 74780 CHICAGO IL 60694
NELSON, ANDRAE                      ADDRESS ON FILE
NELSON, ANDREW                      ADDRESS ON FILE
NELSON, ANTHONY                     ADDRESS ON FILE
NELSON, BENNIE                      ADDRESS ON FILE
NELSON, BONNIE                      ADDRESS ON FILE
NELSON, BRIAN                       ADDRESS ON FILE
NELSON, BRIAN                       ADDRESS ON FILE
NELSON, BROOKS                      ADDRESS ON FILE
NELSON, CATHERINE                   ADDRESS ON FILE
NELSON, CHARLES                     ADDRESS ON FILE
NELSON, CHERRY                      ADDRESS ON FILE
NELSON, CHRISTINA S                 ADDRESS ON FILE
NELSON, CHRISTOPHER                 ADDRESS ON FILE
NELSON, CHRISTOPHER                 ADDRESS ON FILE
NELSON, DANIEL                      ADDRESS ON FILE
NELSON, DARYL                       ADDRESS ON FILE
NELSON, DAVID                       ADDRESS ON FILE
NELSON, DEANDRE                     ADDRESS ON FILE
NELSON, DEREK                       ADDRESS ON FILE
NELSON, DONALD                      ADDRESS ON FILE
NELSON, DOUGLAS                     ADDRESS ON FILE
NELSON, EDWARD                      ADDRESS ON FILE
NELSON, ERIC                        ADDRESS ON FILE
NELSON, ERIC K                      ADDRESS ON FILE
NELSON, GABRIEL                     ADDRESS ON FILE
NELSON, GEORGE                      ADDRESS ON FILE
NELSON, GIAA MAYET                  ADDRESS ON FILE
NELSON, GILBERT                     ADDRESS ON FILE
NELSON, HARRY                       ADDRESS ON FILE
NELSON, JACOB                       ADDRESS ON FILE
NELSON, JACOB                       ADDRESS ON FILE
NELSON, JAMES                       ADDRESS ON FILE
NELSON, JAMES                       ADDRESS ON FILE
NELSON, JASON                       ADDRESS ON FILE
NELSON, JEFF                        ADDRESS ON FILE
NELSON, JONATHAN                    ADDRESS ON FILE
NELSON, JORDAN                      ADDRESS ON FILE
NELSON, JOSEPH T                    ADDRESS ON FILE
NELSON, JULIE                       ADDRESS ON FILE
NELSON, JULIE                       ADDRESS ON FILE
NELSON, KELSEY                      ADDRESS ON FILE
NELSON, KENNETH                     ADDRESS ON FILE
NELSON, KENNY                       ADDRESS ON FILE
NELSON, KERRY                       ADDRESS ON FILE
NELSON, KESLEE                      ADDRESS ON FILE
NELSON, KEVIN                       ADDRESS ON FILE
NELSON, KHALEB                      ADDRESS ON FILE
NELSON, KHALEB                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 1363 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1372 of 2156

Claim Name                         Address Information
NELSON, KYLE                       ADDRESS ON FILE
NELSON, LARRY                      ADDRESS ON FILE
NELSON, LORI                       ADDRESS ON FILE
NELSON, MARK                       ADDRESS ON FILE
NELSON, MARKESE                    ADDRESS ON FILE
NELSON, MATTHEW                    ADDRESS ON FILE
NELSON, MEGAN                      ADDRESS ON FILE
NELSON, MICHAEL                    ADDRESS ON FILE
NELSON, MICHAEL                    ADDRESS ON FILE
NELSON, MYRON                      ADDRESS ON FILE
NELSON, OLIVIA                     ADDRESS ON FILE
NELSON, OMER                       ADDRESS ON FILE
NELSON, PAYTON                     ADDRESS ON FILE
NELSON, PETER                      ADDRESS ON FILE
NELSON, RANDOLPH                   ADDRESS ON FILE
NELSON, RAYMOND                    ADDRESS ON FILE
NELSON, REAGAN                     ADDRESS ON FILE
NELSON, RICHARD                    ADDRESS ON FILE
NELSON, RICKEY R                   ADDRESS ON FILE
NELSON, RICKY                      ADDRESS ON FILE
NELSON, RILEY                      ADDRESS ON FILE
NELSON, ROBERT                     ADDRESS ON FILE
NELSON, ROBINSON                   ADDRESS ON FILE
NELSON, ROD                        ADDRESS ON FILE
NELSON, RODRIQUS                   ADDRESS ON FILE
NELSON, RON                        ADDRESS ON FILE
NELSON, SAMANTHA                   ADDRESS ON FILE
NELSON, SHON                       ADDRESS ON FILE
NELSON, STANLEY                    ADDRESS ON FILE
NELSON, STEPHANIE                  ADDRESS ON FILE
NELSON, STEVAN                     ADDRESS ON FILE
NELSON, STEVE                      ADDRESS ON FILE
NELSON, SYLVESTER                  ADDRESS ON FILE
NELSON, THERENS                    ADDRESS ON FILE
NELSON, THOMAS                     ADDRESS ON FILE
NELSON, TODD                       ADDRESS ON FILE
NELSON, TRAVIS                     ADDRESS ON FILE
NELSON, VINCE                      ADDRESS ON FILE
NELSON, WILLIAM                    ADDRESS ON FILE
NELSON, WILLIAM                    ADDRESS ON FILE
NELSON, ZACHARY                    ADDRESS ON FILE
NELTAJOE TRANSPORT                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NELTRUCKER TRANSPORT LLC           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
NEMBHARD, WINSOR                   ADDRESS ON FILE
NEMEC, STEPHEN                     ADDRESS ON FILE
NEMETH, DAVID                      ADDRESS ON FILE
NEMETHY, LEE                       ADDRESS ON FILE
NEMEX TRUCKING INC                 2401 W 15TH ST CHESTER PA 19013
NEMI, LISA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1364 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1373 of 2156

Claim Name                           Address Information
NEMO EXPRESS INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
NEMO TILE                            ATTN: KEITH FECHTIG 11540 DUNKIRK ST ST ALBANS NY 11412
NENEDJIAN, MICHELLE                  ADDRESS ON FILE
NENIC LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NENTWIG, PAIGE                       ADDRESS ON FILE
NENUCO TRANSPORT INC                 871 UPPPER BRANDON DR AURORA IL 60506
NEOGEN CORP                          1355 PAULSON RD TURLOCK CA 95380
NEON CAPITAL LOGISTICS LLC           OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NEON FREIGHT INC                     106 HIGHLAND CREEK RD WINNIPEG MB R3Y 0K4 CANADA
NEOPOST, INC                         DEPT 3689, PO BOX 123689 DALLAS TX 75312
NEP TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NEPTUNE SERVICES LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
NEPTUNES HARVEST                     ATTN: MAIA MCKINNEY 28 KONDELIN RD GLOUCESTER MA 01930
NEREO CALDERON                       ADDRESS ON FILE
NERI LOGISTICS                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
NERI, TOM                            ADDRESS ON FILE
NERKOS EXPRESS TRUCKING LLC          OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
NERONSKY, GERALD L                   ADDRESS ON FILE
NES EXPRESS LLC (GLENDALE, AZ)       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NES INC                              620 COOLIDGE DR STE 100 FOLSOM CA 95630
NES TRANSPORT INC                    628 STANSBERRY COVE LEXINGTON KY 40509
NES TRUCKING, LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NESBITT 1 TRUCKING, LLC              PO BOX 67 UNION POINT GA 30669
NESBITT LOGISTICS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NESBITT, DAVID                       ADDRESS ON FILE
NESBITT, DIJONNA                     ADDRESS ON FILE
NESBITT, STEPHON                     ADDRESS ON FILE
NESCI TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
NESCO RESOURCE                       PO BOX 901372 CLEVELAND OH 44190
NESMITH, DARLEEN                     ADDRESS ON FILE
NESMITH, JOHN                        ADDRESS ON FILE
NESMITH, RAY                         ADDRESS ON FILE
NESSEL, PATRICK                      ADDRESS ON FILE
NESSI, GUSTAVO                       ADDRESS ON FILE
NESSUM LLC                           OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
NEST GROUP LLC                       OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
NESTA INTERNATIONAL LLC              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
NESTICO, JASON                       ADDRESS ON FILE
NESTOR A GAIBOR                      ADDRESS ON FILE
NESTOR, KEVIN                        ADDRESS ON FILE
NET DIRECT                           217 N SEMINARY ST FLORENCE AL 35630
NET DIRECT MERCHANTS                 ATTN: ACCOUNTS PAYABLE 217 N SEMINARY ST STE FLORENCE AL 35630
NET DIRECT MERCHANTS                 ATTN: KAREN JONES 217 N SEMINARY ST STE 200 FLORENCE AL 35630
NET EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NET FREIGHT SYSTEM INC               7650 BATH ROAD MISSISSAUGA ON L4T 1L2 CANADA
NET LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NETBASE SOLUTIONS INC                DEPT LA 24577 PASADENA CA 91185
NETFLIX INC                          48119 WARM SPRINGS BLV D WARM SPRINGS CA 94539



Epiq Corporate Restructuring, LLC                                                              Page 1365 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1374 of 2156

Claim Name                              Address Information
NETH, JACOB                             ADDRESS ON FILE
NETHERTON, DEVON                        ADDRESS ON FILE
NETHERTON, NATHANIEL                    ADDRESS ON FILE
NETHERTONS TRUCKING LLC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
NETPARCEL INC                           9131 KEELE ST UNIT A4 CONCORD ON L4K 0G7 CANADA
NETRALITY DATA CENTERS                  401 N. BROAD ST. (SUITE 210F) PHILADELPHIA PA 19108
NETTLES, DEANNA                         ADDRESS ON FILE
NETTLES, JERELL                         ADDRESS ON FILE
NETTLES, ROBERT                         ADDRESS ON FILE
NETWORK CRAZE TECHNOLOGIES, INC         PO BOX 536538 PITTSBURGH PA 15253
NETWORK ENVIRONMENTAL SYSTEMS, INC      1141 SIBLEY ST FOLSOM CA 95630
NETWORK LINE LLC                        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NETWORK TRANS LLC                       OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
NETWORK TRANSPORTATION LLC              PO BOX 5091 GOODYEAR AZ 85338
NETWORK XPRESS, INC.                    P O BOX 551 LEBANON TN 37088
NETZEL, MARCUS                          ADDRESS ON FILE
NEUBAUER FABRICATIONS INC.              N112 W19401 MEQUON ROAD GERMANTOWN WI 53022
NEUBECKER, SCOTT                        ADDRESS ON FILE
NEUFELD, ELI                            ADDRESS ON FILE
NEUFELD, JACK                           ADDRESS ON FILE
NEUFELD, JAMES                          ADDRESS ON FILE
NEUMAN, DONALD                          ADDRESS ON FILE
NEUMANN AGRIPRISES, INC.                P.O. BOX 456 DENMARK WI 54208
NEUMANN, CHRISTOPHER                    ADDRESS ON FILE
NEUMANN, GEORGE                         ADDRESS ON FILE
NEUMAYER EQUIPMENT COMPANY              5060 ARSENAL STREET SAINT LOUIS MO 63139
NEUTZMAN, RAYMOND                       ADDRESS ON FILE
NEUWIRTH, LAWRENCE                      ADDRESS ON FILE
NEVA LOGISTICS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NEVADA DEPARTMENT OF MOTOR VEHICLES     COMPLIANCE ENFORCEMENT DIVISION 305 GALLETI WAY RENO NV 89512
NEVADA DEPARTMENT OF TAXATION           1550 COLLEGE PARKWAY, SUITE 115 CARSON CITY NV 89706
NEVADA DEPARTMENT OF TAXATION           PO BOX 51107 LOS ANGELES CA 90051
NEVADA DEPARTMENT OF TAXATION           PO BOX 7165 SAN FRANCISCO CA 94120
NEVADA DIVISION OF ENVIRON PROTECTION   BUREAU OF WATER POLLUTION CONT 901 S STEWART ST STE 4001 CARSON CITY NV 89701
NEVADA DIVISION OF ENVIRONMENTAL        BUREAU OF WATER POLLUTION 901 S STEWART ST STE 4001 CARSON CITY NV 89701
PROTECT
NEVADA DIVISION OF INSURANCE            1818 E COLLEGE PKWY STE 103 CARSON CITY NV 89706
NEVADA HEALTH CENTERS, INC.             PO BOX 21226 CARSON CITY NV 89721
NEVADA HIGHWAY PATROL                   HAZMAT REGISTRATION & PERMIT SECTION 555 WRIGHT WAY CARSON CITY NV 89711
NEVADA OFFICE OF THE STATE TREASURER    UNCLAIMED PROPERTY DIVISION 555 E WASHINGTON AVE STE 4200 LAS VEGAS NV 89101
NEVADA TRUCKING ASSOCIATION             8745 TECHNOLOGY WAY STE E RENO NV 89521
NEVAREZ, JOHN                           ADDRESS ON FILE
NEVAREZ, JOSE                           ADDRESS ON FILE
NEVAREZ, JOSE                           ADDRESS ON FILE
NEVCO MECHANICAL LLC                    102 CHESTNUT ST LITITZ PA 17543
NEVE, JIMMY                             ADDRESS ON FILE
NEVELS LOGISTICS CORP                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NEVELS, CHARLES                         ADDRESS ON FILE
NEVELS, TIMOTHY P                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1366 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1375 of 2156

Claim Name                            Address Information
NEVEN BOCA                            ADDRESS ON FILE
NEVER LATE FREIGHT LLC                C/O C/O THE EXPO GROUP NEUROSCIENCE 801 MOUNT VERNON PLACE. NW WASHINGTON DC
                                      20001
NEVER LATE FREIGHT LLC                9702 PEACE SPRINGS RIDGE LAUREL MD 20723
NEVERS, CODY                          ADDRESS ON FILE
NEVES, BRENT                          ADDRESS ON FILE
NEVILLE TOWNSHIP                      NEVILLE TOWNSHIP MUNICIPAL BUILDING 5050 GRAND AVENUE NEVILLE ISLAND PA 15225
NEVILLE TOWNSHIP                      5050 GRAND AVE PITTSBURGH PA 15225
NEVILLE TOWNSHIP                      JORDAN TAX SERVICE INC., 102 RAHWAY ROAD MCMURRAY PA 15317
NEVILLE, BRENDAN                      ADDRESS ON FILE
NEVILLE, JEFFREY                      ADDRESS ON FILE
NEVILLE, NIKOLAS                      ADDRESS ON FILE
NEVILLE, PERRY                        ADDRESS ON FILE
NEVILLE, THOMAS S                     ADDRESS ON FILE
NEVILLE, THOMAS S                     ADDRESS ON FILE
NEVILLS, TIFFANY                      ADDRESS ON FILE
NEVINS, CURTIS                        ADDRESS ON FILE
NEVINS, RICKY                         ADDRESS ON FILE
NEVINS, THOMAS                        ADDRESS ON FILE
NEVINSKI LLC                          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
NEVIS TRANSPORT                       OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NEVIS TRANSPORT                       OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
NEW AGE MOVING CO                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NEW AGE PRIDE, LLC                    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
NEW AGE TRANSPORT INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NEW ALLIANCE INSURANCE AGENCY INC     PO BOX 195555 SAN JUAN PR 00919
NEW B TRUCKING INC                    6101 REDLANDS LN FONTANA CA 92336
NEW BEDFORD MITSUBUSHI                547 BELLEVILLE AVE NEW BEDFORD MA 02746
NEW BEDFORD WELDING SUPPLY INC.       PO BOX 951 NEW BEDFORD MA 02741
NEW BEGINNINGS TRANSPORTATION INC     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NEW BEST TRANSPORT LLC                1512 49TH STREET NE AUBURN WA 98002
NEW BORN LOGISTICS INC.               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
NEW CASTLE COUNTY                     87 READ'S WAY NEW CASTLE DE 19720
NEW CASTLE COUNTY                     PO BOX 15358 WILMINGTON DE 19886
NEW CASTLE COUNTY                     1002400002, PO BOX 15359 WILMINGTON DE 19886
NEW CENTURY PROJECT MGMT SOLUTIONS,   OR ENGAGED FINANCIAL LLC PO BOX 775553 CHICAGO IL 60677-5553
INC.
NEW CENTURY TRANSPORT LLC             OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
NEW CENTURY TRANSPORT LLC             250 H STREET 311 BLAINE WA 98230
NEW CONCEPT TRANSIT LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NEW DAY LOGISTICS INC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
NEW DAY TRANSPORT LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NEW DELTA INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NEW DESERT XPRESS INC                 PO BOX 720139 PHELAN CA 92371
NEW DIAMOND TRANSPORTATION INC        OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
NEW EAGLE TRANSPORT                   1432 30 STREET NW EDMONTON AB T6T 1A8 CANADA
NEW ENGLAND DUCT CLEANING             165 GARDENS DRIVE SPRINGFIELD MA 01119
NEW ENGLAND KENWORTH                  P.O. BOX 2700 CONCORD NH 03302
NEW ENGLAND LIFT TRUCK CORPORATION    131 COMSTOCK PARKWAY CRANSTON RI 02921



Epiq Corporate Restructuring, LLC                                                                Page 1367 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1376 of 2156

Claim Name                              Address Information
NEW ENGLAND TEAMSTERS & TRUCKING       INDUSTRY PENSION PLAN, 1 WALL STREET 4TH FLOOR BURLINGTON MA 01803
NEW ENGLAND TEAMSTERS PENSION FUND     1 WALL ST BURLINGTON MA 01803
NEW ENGLAND TECH AIR                   ATTN: GARRETT DUFFY 16 MANSON LIBBY ROAD SCARBOROUGH ME 04074
NEW ENGLAND TRANSPORT LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NEW ENGLAND TRUCK CENTER               156 EPPING RD EXETER NH 03833
NEW ENGLAND TRUCK MAINT & REPR         PO BOX 16610 HOOKSETT NH 03106
NEW ENGLAND UNIFORM                    355 UNION ST WEST SPRINGFIELD MA 01089
NEW ENTERPRISE STONE & LIME CO INC     PO BOX 645211 PITTSBURGH PA 15264
NEW ENTERPRISE STONE& LIME CO., INC.   400 NORTH ST., FIFTH FLOOR HARRISBURG PA 17120
NEW ENTERPRISE STONE& LIME COMPANY, INC 3912 BRUMBAUGH ROAD NEW ENTERPRIAW PA 16664
NEW ERA TRANSPORTATION INC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NEW EVOLUTION LOGISTICS LLC            OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
NEW FATEH TRANSPORT INC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NEW FATEH TRANSPORT INC                5293 W RICHART AVE FRESNO CA 93722
NEW GENERATION CARRIERS, LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NEW GENERATION LANDSCAPING AND LAWN LLC 18273 MUNICH PONDS DR SOUTH BEND IN 46637
NEW GENERATION RECYCLING LLC           1900 NORTH AUSTIN, BOX 113 CHICAGO IL 60639
NEW GENERATION TRUCK INC.              3941 PARK DRIVE STE 20-537 EL DORADO HILLS CA 95762
NEW GENFLO INC                         OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
NEW GOOD WILL TRANSPORTATION           63 EVANSGLEN CIRCLE NW CALGARY AB T3P 0W7 CANADA
NEW GROUND TRUCKING LLC                OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
NEW HAMPSHIRE DEPT OF STATE CORP DIV   NEW HAMPSHIRE BUSINESS LICENSE 107 N MAIN ST ROOM 204 CONCORD NH 03301
NEW HAMPSHIRE MOTOR TRANSPORT ASSOC    PO BOX 3898 CONCORD NH 03302
NEW HANOVER COUNTY TAX OFFICE          PO BOX 580070 CHARLOTTE NC 28258
NEW HARRISBURG TRUCK BODY COMPANY      408 SHEELY LN MECHANICSBURG PA 17050
NEW HAVEN UTILITIES                    P.O. BOX 570 NEW HAVEN IN 46774
NEW HEAVENS LOGISTICS INC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NEW HIGHWAY STAR LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NEW HORIZON INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NEW HORIZON TRUCKING LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NEW IDEAS LOGISTICS INC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEW JACK TRUCKING LLC                  OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
NEW JERSEY - NEW YORK JAC              PO BOX 388 HUNTLEY IL 60142
NEW JERSEY AMERICAN WATER              1 WATER STREET CAMDEN NJ 08102
NEW JERSEY DEPARTMENT OF TAXATION      PO BOX 816 TRENTON NJ 08625
NEW JERSEY DEPARTMENT OF TREASURY      STATE OF NJ UNCLAIMED PROPERY ADMIN 50 WEST STATE ST 6TH FL TRENTON NJ 08608
NEW JERSEY DIVISION OF REVENUE         PO BOX 308 TRENTON NJ 08646
NEW JERSEY DOOR WORKS, INC.            689 RAMSEY AVE HILLSIDE NJ 07205
NEW JERSEY SELF INSURERS GUARANTY ASSOC 107 TINDALL ROAD SUITE 6 MIDDLETOWN NJ 07748
NEW JERSEY TURNPIKEAUTHORITY           1 TURNPIKE PLAZA - PO BOX 5042 WOODBRIDGE NJ 07095
NEW LEGACY LOGISTICS LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NEW LEVEL TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NEW LIFE CARRIERS INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NEW LIFE TRANSPORTATION LLC (MC1129765) OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NEW LINE CARRIERS INC                  OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
NEW LINE EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NEW LINE EXPRESS, INC                  OR NATIONWIDE TRANSPORT FINANCE P.O. BOX 81860 LAS VEGAS NV 89180-1860
NEW LINE GROUP INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NEW LINE TRANSPORT                     OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8



Epiq Corporate Restructuring, LLC                                                                 Page 1368 OF 2145
                                                  Yellow Corporation
                      Case 23-11069-CTG           Doc 655   Filed 09/25/23
                                                       Service List
                                                                                 Page 1377 of 2156

Claim Name                               Address Information
NEW LINE TRANSPORT                       CANADA
NEW LOOK POWERWASHING                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NEW MAJHA TRANSPORT INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NEW MALWA EXPRESS INC                    28666 HILDEBRANDT ST ROMULUS MI 48174
NEW MALWA TRANSPORT INC                  5590 W OLIVE AVE FRESNO CA 93722
NEW MEXICO DEPARTMENT OF TAX & REVENUE   PO BOX 25123 SANTA FE NM 87504
NEW MEXICO DEPARTMENT OF TAX & REVENUE   PO BOX 630 SANTA FE NM 87504
NEW MEXICO DEPARTMENT OF TAX & REVENUE   UNCLAIMED PROPERTY OFFICE 1200 S SAINT FRANCIS DR SANTA FE NM 87505
NEW MEXICO DEPT OF TAXATION AND REVENUE PO BOX 25128 SANTA FE NM 87504
NEW MEXICO ENVIRONMENT                   DEPT PETROLEUM TANK BUREAU 2905 RODEO PARK EAST BLD 1 ATTN: PREVENTION
                                         INSPECTION PROGRAM SANTA FE NM 87505
NEW MEXICO GAS CO                        P.O. BOX 27885 ALBUQUERQUE NM 87125-7885
NEW MEXICO TRUCKING ASSOCIATION INC      4700 LINCOLN NE ALBUQUERQUE NM 87109
NEW MEXICO TRUCKING ASSOCIATION INC      4809 JEFFERSON NE ALBUQUERQUE NM 87109
NEW PENN MOTOR EXPRESS, INC              PIER ACCOUNT, 36 HACKENSACK AVE S KEARNY NJ 07032
NEW PENN MOTOR EXPRESS, INC              24801 NETWORK PLACE CHICAGO IL 60673
NEW PIG                                  1 PORK AVE TIPTON PA 16684
NEW PIG CORP                             ONE PORK AVE TIPTON PA 16684
NEW PIG CORPORATION                      ATTN MICHAEL MATOSZIUK, 3 PORK AVE TIPTON PA 16684
NEW PIG CORPORATION                      ONE PARK AVE, PO BOX 304 TIPTON PA 16684
NEW POWER TRUCKING INC                   20218 EDGEMONT PLACE WALNUT CA 91789
NEW PROSPECT TRANSPORT LLC               241 CARMEN LN INMAN SC 29349
NEW RAM EXPRESS LLC                      OR ENGAGED FINANCIAL, PO BOX 775553 CHICAGO IL 60677
NEW RESTORATION & RECOVERY SERVICES LLC PO BOX 670612 DALLAS TX 75267
NEW RIVER LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NEW ROADS NATIONAL LEASING               ATTN: IAN ROY 18100 YONGE STREET NEWMARKET ON L3Y 8V1 CANADA
NEW ROADS NATIONAL LEASING               C/O MONARCH LEGAL SERVICES ATTN: FARNAZ AZIZA, B.A. 95 MURAL STREET RICHMOND
                                         HILL ON L4B 3G2 CANADA
NEW SERVICE TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEW SOUND TRANSPORT INC                  214 W DEVON AVE ROSELLE IL 60172
NEW STAR EXPEDITING SERVICES LLC         PO BOX 374 WEST POINT GA 31833
NEW STATE LINE LOGISTICS INC             1937 ANTHONY DR YUBA CITY CA 95993
NEW STREAM INC                           OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
NEW SUNRISE MOVERS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEW SUNSHINE TRANSPORTATION, INC.        OR CRESTMARK, PO BOX 682348 FRANKLIN TN 37068-2348
NEW SYSTEM TRANSPORT LLC                 OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
NEW TRANS LOGISTIC INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NEW TRANSPORTATION GROUP LLC             35126 B JANESVILLE RD MUKWONAGO WI 53149
NEW TRANZ INC                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NEW TREND SERVICES                       PO BOX 1853 CARLIN NV 89822
NEW ULM TRUCK & TRAILER                  PO BOX 804 NEW ULM MN 56073
NEW VALLEY TRANSPORT INC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NEW VISION LOGISTICS, LLC                OR SAFINANCIAL GROUP INC, P.O. BOX 195 GRANGER IN 46530
NEW WAVE LOGISTICS & TRANSPORTS INC      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NEW WAVE LOGISTICS & TRANSPORTS INC      636 VISTA DR GROVETOWN GA 30813
NEW WAVE LOGISTICS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NEW WAVE TRANSPORT, LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NEW WAY EXPRESS INC                      309 E RAND RD STE 178 ARLINGTON HEIGHTS IL 60004
NEW WAY TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                   Page 1369 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1378 of 2156

Claim Name                               Address Information
NEW WAY TRANSPORTATION INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
NEW WAYS LLC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75264-0267
NEW WEST FREIGHTLINER INC                5925 79TH AVE. S.E. CALGARY AB T2C 5K3 CANADA
NEW WORLD TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEW YORK BOILER CO                       C/O NEXTERUS, 802 FAR HILLS DR NEW FREEDOM PA 17349
NEW YORK CITY DEPARTMENT OF FINANCE      PO BOX 5040 KINGSTON NY 12402
NEW YORK COMMISSIONER OF TAX & FINANCE   NYS HIGHWAY USE TAX RPC-HUT ALBANY NY 12212-5166
NEW YORK STATE CORPORATION TAX           PO BOX 22109 ALBANY NY 12201
NEW YORK STATE CORPORATION TAX           NYS ESTIMATED CORPORATION TAX PO BOX 15180 ALBANY NY 12212
NEW YORK STATE CORPORATION TAX           NYS ESTIMATED CORPORATION TAX PO BOX 4136 BINGHAMTON NY 13902
NEW YORK STATE DEPTOF TRANSPORTATION     100 SENECA ST BUFFALO NY 14203
NEW YORK STATE ELEC & GAS CORP           18 LINK DRIVE BINGHAMTON NY 13904
NEW YORK STATE FENCE, INC.               858 MANITOU RD HILTON NY 14468
NEW YORK STATE JOINT AREA COMMITTEE      PO BOX 388 HUNTLEY IL 60142
NEW YORK STATE SALES TAX                 PO BOX 15174 ALBANY NY 12212
NEW YORK STATE TAX COMMISSION            PO BOX 15166 ALBANY NY 12212
NEW YORK STATE TEAMSTERS                 HEALTH HOSPITAL, PO BOX 4928 SYRACUSE NY 13221
NEW YORK STATE TEAMSTERS                 PENSION & RETIREMENT, PO BOX 4928 SYRACUSE NY 13221
NEW YORK STATE TEAMSTERS (LOCAL 445)     99 M STREET, S.E. SUITE 600 WASHINGTON, DC 20003-3799
NEW YORK STATE TEAMSTERS CONFERENCE      PENSION AND RETIREMENT FUND 151 NORTHERN CONCOURSE SYRACUSE NY 13212-4047
NEW YORK STATE TEAMSTERS COUNCILHEALTH   & HOSPITAL FUND 151 NORTHERN CONCOURSE SYRACUSE NY 13212-4047
NEW YORK STATE THRUWAY AUTHORITY         PO BOX 189 ALBANY NY 12201-0189
NEW YORK STATE THRUWAY AUTHORITY         C/O ATTORNEY GENERAL CIVIL RECOVERIES BUREAU THE CAPITOL, ATTN: DOMENCO
                                         PIRROTTA ALBANY NY 12224
NEW YORK STATE WELFARE FUND              PO BOX 4928 SYRACUSE NY 13221
NEW YORK TRUCK PARTS                     12 OGORMAN RD WURTSBORO NY 12790
NEW YORK WORKERS COMPENSATION BOARD      FINANCE OFFICE ASSESSMENT UNIT 328 STATE ST RM 331 SCHENECTADY NY 12305
NEWAGE PRODUCTS INC                      1190 CALEDONIA RD TORONTO ON M6A 2W5 CANADA
NEWBAUER, DONALD                         ADDRESS ON FILE
NEWBERG, JOHAN                           ADDRESS ON FILE
NEWBERN, MICHAEL                         ADDRESS ON FILE
NEWBERRY INC                             2703 CRAMER LN KEOKUK IA 52632
NEWBERRY, JEFFREY                        ADDRESS ON FILE
NEWBILL, RICHARD                         ADDRESS ON FILE
NEWBOLD, KEVIN                           ADDRESS ON FILE
NEWBOLD, MIKAL                           ADDRESS ON FILE
NEWBURGH, TODD                           ADDRESS ON FILE
NEWBY, JAMES                             ADDRESS ON FILE
NEWBY, MATT                              ADDRESS ON FILE
NEWCOMB, JEFFREY                         ADDRESS ON FILE
NEWCOMB, MURRAY                          ADDRESS ON FILE
NEWCOME, JOHN                            ADDRESS ON FILE
NEWCOMER, DANIEL                         ADDRESS ON FILE
NEWELL BRANDS                            ATTN: RHONDA MCGWIER RYDER 13599 PARK VISTA BLVD 38 FORT WORTH TX 76177
NEWELL BRANDS                            ATTN: RHONDA MCGWIER RYDER 13599 PARK VISTA BLVD FT WORTH TX 76177
NEWELL BRANDS                            RYDER 13599 PARK VISTA BLVD 38 FORT WORTH TX 76177
NEWELL BRANDS DISTRIBUTION LLC           3124 VALLEY AVE WINCHESTER VA 22601
NEWELL RUBBERMAID                        CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
NEWELL RUBBERMAID FREIGHT - HC           PO BOX 774 FREEPORT IL 61032



Epiq Corporate Restructuring, LLC                                                                 Page 1370 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1379 of 2156

Claim Name                              Address Information
NEWELL RUBBERMAID FREIGHT -EDI          ATTN: FREIGHT PAYMENT 29 E STEPHENSON ST FREEPORT IL 61032
NEWELL RUBBERMAID FRT PYMT R            ATTN: FREIGHT PAYMENT 29 E STEPHENSON ST FREEPORT IL 61032
NEWELL, DAVID                           ADDRESS ON FILE
NEWELL, DELVIN                          ADDRESS ON FILE
NEWELL, DONNIE                          ADDRESS ON FILE
NEWELL, HAP                             ADDRESS ON FILE
NEWELL, JOHN                            ADDRESS ON FILE
NEWELL, KATHLEEN                        ADDRESS ON FILE
NEWELL, KELLY                           ADDRESS ON FILE
NEWELL, MATTHEW                         ADDRESS ON FILE
NEWELL, MEGAN                           ADDRESS ON FILE
NEWELL, MICHAEL                         ADDRESS ON FILE
NEWENHAM, BENJAMIN                      ADDRESS ON FILE
NEWGEN TRANSIT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NEWKIRK ELECTRIC ASSOCIATES INC         1875 ROBERTS ST MUSKEGON MI 49442
NEWKIRK LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NEWLAND, GREGORY                        ADDRESS ON FILE
NEWLAND, JAMNES                         ADDRESS ON FILE
NEWLINE SUPER EXPRESS INC               PO BOX 1205 GUASTI CA 91743
NEWLINE TRANSPORT INC                   4460 W SHAW AVE STE 234 FRESNO CA 93722
NEWLY WEDS FOODS                        2323 VICTORY AVE, STE 1600 DALLAS TX 75219
NEWLY WEDS FOODS INC.                   ATTN: MICHAEL GALLAGHER 70-80 GROVE STREET WATERTOWN MA 02472-2829
NEWLY WEDS FOODS, INC.                  ATTN DAVID BAUTZ, 4140 WEST FULLERTON CHICAGO IL 60639
NEWMAN LOGISTICS LLC                    OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
NEWMAN, CHARLES                         ADDRESS ON FILE
NEWMAN, CHARLES                         ADDRESS ON FILE
NEWMAN, CHARLES                         ADDRESS ON FILE
NEWMAN, CLAYTON                         ADDRESS ON FILE
NEWMAN, DAVID                           ADDRESS ON FILE
NEWMAN, DERON                           ADDRESS ON FILE
NEWMAN, ERNEST                          ADDRESS ON FILE
NEWMAN, JOSHUA                          ADDRESS ON FILE
NEWMAN, MARCUS                          ADDRESS ON FILE
NEWMAN, MARK L                          ADDRESS ON FILE
NEWMAN, MICHAEL                         ADDRESS ON FILE
NEWMAN, PAUL                            ADDRESS ON FILE
NEWMAN, RICCARDO                        ADDRESS ON FILE
NEWMAN, RODGER                          ADDRESS ON FILE
NEWMAN, SARAH                           ADDRESS ON FILE
NEWMAN, STEPHEN                         ADDRESS ON FILE
NEWMANS COAST TO COAST LLC              OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NEWMANS PLUMBING SERVICE & REPAIR LLC   2140 COLORADO AVE PORTSMOUTH VA 23701
NEWMI LOGISTICS LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
NEWNESS LOGISTICS LLC                   9830 LIBERTY ROAD RANDALLSTOWN MD 21133
NEWPORT TRANSPORTATION INC              5353 RURAL RIDGE CIR ANAHEIM CA 92807
NEWPORT, MICHAEL                        ADDRESS ON FILE
NEWPORT, MICHAEL E                      ADDRESS ON FILE
NEWSOM CORTER, JAKOB                    ADDRESS ON FILE
NEWSOM, WAYNE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1371 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1380 of 2156

Claim Name                               Address Information
NEWSOME EXPRESS TRUCKING LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
NEWSOME, ROGER                           ADDRESS ON FILE
NEWSOME, RYAN                            ADDRESS ON FILE
NEWSOME, TINA                            ADDRESS ON FILE
NEWSON TRANSPORTATION INC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEWSTAR COMMERCIAL LEASE FUNDING I LLC   500 BOYLSTON ST BOSTON MA 02116
NEWSTAR EQUIPMENT FINANCE I LLC          500 BOYLSTON ST, STE 1200 BOSTON MA 02116
NEWSWANGER LAWN EQUIPMENT CO.            370 SUEDBERG RD. PINE GROVE PA 17963
NEWTON COMPLETE LAWN CARE                PO BOX 135 SIKESTON MO 63801
NEWTON COUNTY CIRCUIT COURT              123 EAST MAIN NEOSHO MO 64850
NEWTON SELF STORAGE                      7268 132 ST SURREY BC V3W 4M4 CANADA
NEWTON, CHRIS                            ADDRESS ON FILE
NEWTON, DOUGLAS                          ADDRESS ON FILE
NEWTON, GAVIN                            ADDRESS ON FILE
NEWTON, GLENN                            ADDRESS ON FILE
NEWTON, HENERY                           ADDRESS ON FILE
NEWTON, JESSE                            ADDRESS ON FILE
NEWTON, JESSE                            ADDRESS ON FILE
NEWTON, KELVIN                           ADDRESS ON FILE
NEWTON, LEE                              ADDRESS ON FILE
NEWTON, MATTHEW                          ADDRESS ON FILE
NEWTON, RICHARD                          ADDRESS ON FILE
NEWTON, RICHARD                          ADDRESS ON FILE
NEWTON, ROBERT                           ADDRESS ON FILE
NEWTOWN CREEK GROUP                      ATTN: GENERAL COUNSEL 520 KINGSLAND AVE BROOKLYN NY 11222
NEWVIZION GLOBAL LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEX GENERATION LLC                       OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NEXAIR, LLC                              PO BOX 125 MEMPHIS TN 38101
NEXCOM ACCTS REC OFFICE                  ATTN: GUINEVERE PANTIG PO BOX 368150 SAN DIEGO CA 92136
NEXGEN TRANSPORT LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NEXGISTICS WEST LLC                      425 CAYUGA RD STE 200 BUFFALO NY 14225
NEXJIN LOGISTICS                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NEXL INC                                 4444 FRIZELL AVE SACRAMENTO CA 95842
NEXLOAD LLC                              903 SOCIETY CIR ATLANTA GA 30331
NEXOSS TRUCKING                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NEXT CARRIER INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NEXT DAY EXPRESS INC                     OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
NEXT DAY FREIGHT SOLUTION INC            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
NEXT DIRECT TRUCKING-NEXT DIRECT         TRUCKING INC, OR ENGAGED FINANCIAL LLC PO BOX 775553 CHICAGO IL 60677-5553
NEXT GENERATION IN TRUCKING              9523 US HIGHWAY 42, P.O. BOX 534 PROSPECT KY 40059
NEXT LEVEL ELEVATOR SERVICES LLC         650 C CENTRAL PARK YONKERS NY 10704
NEXT LEVEL FIRE & SAFETY INC             232 N SERMAN AVE STE C CORONA CA 92882
NEXT LEVEL FREIGHT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NEXT LEVEL TRANS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NEXT LEVEL TRANSPORT LLC                 508 FLORENCE FIELDS LN NEW CASTLE DE 19720
NEXT LEVEL TRANSPORTATION CORPORATION    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NEXT LEVEL TRANSPORTATION INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NEXT LOGISTICS INC                       26789 W TAYLOR ST BARRINGTON IL 60010-2731
NEXT TRANSPORT LLC                       253 BRAYTON LOOP YUBA CITY CA 95993



Epiq Corporate Restructuring, LLC                                                                   Page 1372 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1381 of 2156

Claim Name                            Address Information
NEXT UNLIMITED TRUCKING SERVICE LLC   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
NEXTCARE URGENT CARE 0018             PO BOX 843833 LOS ANGELES CA 90084
NEXTEL COMMUNICATIONS, INC.           12502 SUNRISE VALLEY DR RESTON VA 20191-3438
NEXTEL COMMUNICATIONS, INC.           PO BOX 4181 CAROL STREAM IL 60197
NEXTERA ENERGY SERVICES               C/O GREENBERG GRANT & RICHARDS INC 5858 WESTHEIMER RD STE 500 HOUSTON TX 77057
NEXTGEN TELECOM SERVICES GROUP        P.O. BOX 947030 ATLANTA GA 30394
NEXTGEN TRUCKING                      7007 GOSSAMER LN SUGAR LAND TX 77479-5790
NEXTOW HEAVY RECOVERY, LLC            1201 W. WASHINGTON ST. HAGERSTOWN MD 21740
NEXTRAN TRUCK CENTER                  328 SW RING CT LAKE CITY FL 32025
NEXTRAN TRUCK CENTER                  4740 BLOUNTSTOWN HWY. TALLAHASSEE FL 32304
NEXTRAN TRUCK CENTER                  2200 W LANDSTREET RD ORLANDO FL 32809
NEXTRAN TRUCK CENTER                  7810 ADAMO DR TAMPA FL 33619
NEXTRAN TRUCK CENTER                  P.O. BOX 820 FULTONDALE AL 35068-0820
NEXTRAN TRUCK CENTER                  6801 NW 74 AVE MIAMI FL 33166
NEXTRAN TRUCK CENTER                  2150 ROCKFILL ROAD FORT MYERS FL 33916
NEXTRAN TRUCK CENTER                  P.O. BOX 418050 KANSAS CITY MO 64141
NEXTRAN TRUCK CENTER                  3915 NE RANDOLPH RD KANSAS CITY MO 64161
NEXTRAN TRUCK CENTERS MIDWEST INC     4001 RANDOLPH RD KANSAS CITY MO 64161
NEXTY ELECTRONICS                     1626 MUSTANG DR MARYVILLE TN 37801
NEXUS                                 1000 PHILADELPHIA ST CANONSBURG PA 15317
NEXUS EXPRESS LLC                     OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NEXUS LOGISTICS LLC                   OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
NEXUS RELOCATION GROUP, INC.          2041 W 141ST TERRACE LEAWOOD KS 66224
NEXUS TRANSPORT LLC                   322 W LAKE ST STE 216 MINNEAPOLIS MN 55408
NEXUS TRANSPORT LLC                   OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
NEXWALLY TRANSPORTATION LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NEYMAN, STEPHEN                       ADDRESS ON FILE
NEYRA PAVING                          ADDRESS ON FILE
NEYRINCK, RAYMOND                     ADDRESS ON FILE
NF EXPRESS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NF TRUCKING COMPANY LLC               2715 NW 66TH ST KANSAS CITY MO 64151
NFF TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NFG TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NFG TRUCKLINE INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NFI                                   ATTN: ATTN: CHRISTINE MCMURTRIE PO BOX 96001 CAMDEN NJ 08101
NFI                                   ATTN: CHRISTINE MCMURTRIE PO BOX 96001 CAMDEN NJ 08101
NFI                                   ATTN: SEAN NELSON PO BOX 96001 CAMDEN NJ 08101
NFI                                   15750 MOUNTAIN AVE CHINO CA 91708
NFI INDUSTRIES                        ATTN: SEAN NELSON GLOBAL INDUSTRIAL 10 N MARTINGALE RD, SUITE 610 CAMDEN NJ
                                      08101
NFI INDUSTRIES                        ATTN: SEAN NELSON 10 MARTINGALE RD SUITE 610 SCHAUMBURG IL 60173
NFI INDUSTRIES                        ATTN: SEAN NELSON GLOBAL INDUSTRIAL 10 MARTINGALE RD STE 610 SCHAUMBURG IL
                                      60173
NFI INDUSTRIES                        ATTN: SEAN NELSON GLOBAL INDUSTRIAL 10 N MARTINGALE RD SUITE 610 SCHAUMBURG IL
                                      60173
NFI LOGISTICS                         10 MARTINGALE RD SUITE 610 SCHAUMBURG IL 60173
NFI LOGISTICS                         ATTN CLAUDIA CARDOSO 10 MARTINGALE RD 610 SCHAUMBURG IL 60173
NFI LOGISTICS                         ATTN SEAN NELSON 10 MARTINGALE RD 610 SCHAUMBURG IL 60173
NFI LOGISTICS                         ATTN SEAN NELSON 60 MARTINGALE RD 610 SCHAUMBURG IL 60173
NFI LOGISTICS                         ATTN: SEAN NELSON 10 MARTINGALE RD STE 610 SCHAUMBURG IL 60173


Epiq Corporate Restructuring, LLC                                                                Page 1373 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1382 of 2156

Claim Name                          Address Information
NFI LOGISTICS                       ATTN: SEAN NELSON GLOBAL INDUSTRIAL 10 MARTINGALE RD SUITE 610 SCHAUMBURG IL
                                    60173
NFI TRANSPORTATION                  PO BOX 417736 BOSTON MA 02241
NFL LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NFL TRANSPORTATION CORP             10527 E COUNTY ROAD 600 N SUITE B INDIANAPOLIS IN 46234
NFN DAVENDARAN                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NFS GLOBAL INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
NFS GLOBAL INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NG TRANSPORT LLC                    3724 LENTZ AVE LOUISVILLE KY 40215-1823
NG TRUCKING, INC.                   NG TRUCKING, INC., PO BOX 531076 SAN DIEGO CA 92153
NGA EXPRESS LLC                     7756 S ROYAL CT CANTON MI 48187-2327
NGA EXPRESS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NGA MYERS                           ADDRESS ON FILE
NGAH AMPAH, ROMANIC CHRISTIAN       ADDRESS ON FILE
NGATCHOU MBIAPA, OLIVIER            ADDRESS ON FILE
NGATI, LINDZZI                      ADDRESS ON FILE
NGETA LOGISTICS LLC                 OR CAPITALITY MANAGEMENT 3651 LINDELL RD STE D1195 LAS VEGAS NV 89103
NGI CAPITAL INC. DBA APEX IT        PO BOX 5871 DENVER CO 80217
NGK TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NGK TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NGL EXPRESS LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NGL TRANSPORTATION LLC              OR TAB BANK, PO BOX 150830 OGDEN UT 84415
NGLAM, JUNIOR                       ADDRESS ON FILE
NGO, KEN                            ADDRESS ON FILE
NGOC AI TRANSPORT INC.              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
NGP ENTERPRISES LLC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
NGUYEN TRUCKING LLC                 14461 TREELINE DR OLIVE BRANCH MS 38654
NGUYEN, ADAM                        ADDRESS ON FILE
NGUYEN, BRANDON                     ADDRESS ON FILE
NGUYEN, CHARLIE                     ADDRESS ON FILE
NGUYEN, CONG                        ADDRESS ON FILE
NGUYEN, GIAU                        ADDRESS ON FILE
NGUYEN, HAI                         ADDRESS ON FILE
NGUYEN, HANH HONG THI               ADDRESS ON FILE
NGUYEN, HUNG                        ADDRESS ON FILE
NGUYEN, HUNG                        ADDRESS ON FILE
NGUYEN, HUNG                        ADDRESS ON FILE
NGUYEN, HUONG                       ADDRESS ON FILE
NGUYEN, KEVIN                       ADDRESS ON FILE
NGUYEN, KEVIN                       ADDRESS ON FILE
NGUYEN, KRYSTAL                     ADDRESS ON FILE
NGUYEN, LONG                        ADDRESS ON FILE
NGUYEN, LONG                        ADDRESS ON FILE
NGUYEN, MARIE                       ADDRESS ON FILE
NGUYEN, MICHAEL                     ADDRESS ON FILE
NGUYEN, NANG                        ADDRESS ON FILE
NGUYEN, QUI                         ADDRESS ON FILE
NGUYEN, SUNNY                       ADDRESS ON FILE
NGUYEN, TERESA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1374 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1383 of 2156

Claim Name                           Address Information
NGUYEN, THANH                        ADDRESS ON FILE
NGUYEN, TOLINH                       ADDRESS ON FILE
NGUYEN, TOLINH                       ADDRESS ON FILE
NGUYEN, TRANG D                      ADDRESS ON FILE
NGUYEN, TRIEU                        ADDRESS ON FILE
NGUYEN, TUAN T                       ADDRESS ON FILE
NGUYEN, VIET                         ADDRESS ON FILE
NGUYEN, VINH                         ADDRESS ON FILE
NGUYEN, VU                           ADDRESS ON FILE
NGUYEN, XUAN                         ADDRESS ON FILE
NGUYEN-TRAN, ANH                     ADDRESS ON FILE
NH LOGISTICS LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
NH LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NHA GLOBAL INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NHD TRUCKING LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
NHM TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NHM TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NHN TRANSPORTATION LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NHO LEGISTIC LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NHY TRANSPORTATION INC               OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NIA BERRY                            ADDRESS ON FILE
NIAGARA FALLS BRIDGE                 ATTN: TRACY GLASSER PO BOX 395 NIAGARA FALLS ON L2E 6T8 CANADA
NIAGARA FALLS BRIDGE COMM            PO BOX 395 NIAGARA FALLS ON L2E 6T8 CANADA
NIAGRA LASALLE CORP                  16655 S CANAL ST SOUTH HOLLAND IL 60473
NIANTHONY LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NIAX LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NIAZI GOODS                          OR TAB BANK, PO BOX 150830 OGDEN UT 84415
NIAZI, JOPIN                         ADDRESS ON FILE
NIBBELIN, DAVID                      ADDRESS ON FILE
NIBCO INC                            1516 MIDDLEBURG ST ELKHART IN 46516
NIBCO INC                            ATTN: LINDSEY JACQUEZ FREIGHT CLAIMS 1516 MIDDLEBURY ST ELKHART IN 46516
NIBLETT, JOSEPH                      ADDRESS ON FILE
NIBUNGCO, LUIS                       ADDRESS ON FILE
NICAS FREIGHT GROUP LLC              NICAS FREIGHT GROUP LLC 19201 CRANWOOD PKWY WARRENSVILLE HTS OH 44128
NICE GUYS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NICE MAN TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NICE PARK COLLECTIONS                PO BOX 713227 CHICAGO IL 60677
NICE TRUCKING INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
NICE, COLLIN                         ADDRESS ON FILE
NICELY, EDDIE                        ADDRESS ON FILE
NICEWANDER, LINDA                    ADDRESS ON FILE
NICHE TRUCKING LLC                   OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
NICHEO USA INC                       3663 N SAM HOUSTON PARKWAY E, STE 600 HOUSTON TX 77032
NICHIBEI GLOBALL LLC                 ATTN: SAORI WILLIS 4110 SE HAWTHORNE BLVD STE 190 PORTLAND OR 97214
NICHOLAS A DELGADO                   ADDRESS ON FILE
NICHOLAS A WILLIAMS                  ADDRESS ON FILE
NICHOLAS J MEDENWALDT                ADDRESS ON FILE
NICHOLAS MASSAFARO                   ADDRESS ON FILE
NICHOLAS R GLASS                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1375 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                         Page 1384 of 2156

Claim Name                           Address Information
NICHOLAS R KLIESE                    ADDRESS ON FILE
NICHOLAS ROSPUTNI                    ADDRESS ON FILE
NICHOLAS W THOMAS                    ADDRESS ON FILE
NICHOLAS, SOUCHITTA                  ADDRESS ON FILE
NICHOLAS, STEVEN                     ADDRESS ON FILE
NICHOLAS, WILLIAM                    ADDRESS ON FILE
NICHOLLE RENNE                       ADDRESS ON FILE
NICHOLS ELECTRIC SUPPLY              7450 MARCO DR EVANSVILLE IN 47715
NICHOLS, AARON                       ADDRESS ON FILE
NICHOLS, CHRISTOPHER                 ADDRESS ON FILE
NICHOLS, CURTIS                      ADDRESS ON FILE
NICHOLS, DANIEL                      ADDRESS ON FILE
NICHOLS, DAVID                       ADDRESS ON FILE
NICHOLS, DONALD                      ADDRESS ON FILE
NICHOLS, DOYLE                       ADDRESS ON FILE
NICHOLS, EVAN                        ADDRESS ON FILE
NICHOLS, FREDRICK                    ADDRESS ON FILE
NICHOLS, GEORGE                      ADDRESS ON FILE
NICHOLS, GILSCOTT                    ADDRESS ON FILE
NICHOLS, JARED                       ADDRESS ON FILE
NICHOLS, JEFFERY                     ADDRESS ON FILE
NICHOLS, JERRY                       ADDRESS ON FILE
NICHOLS, JESSE                       ADDRESS ON FILE
NICHOLS, JOSEPH                      ADDRESS ON FILE
NICHOLS, JOSEPH E                    ADDRESS ON FILE
NICHOLS, JULIA                       ADDRESS ON FILE
NICHOLS, KELVIN                      ADDRESS ON FILE
NICHOLS, KENNY                       ADDRESS ON FILE
NICHOLS, KRISTA                      ADDRESS ON FILE
NICHOLS, LAURA                       ADDRESS ON FILE
NICHOLS, LUCIAN                      ADDRESS ON FILE
NICHOLS, LUCIAN                      ADDRESS ON FILE
NICHOLS, LYNSIE                      ADDRESS ON FILE
NICHOLS, MICHAEL                     ADDRESS ON FILE
NICHOLS, MICHAEL                     ADDRESS ON FILE
NICHOLS, MIKE                        ADDRESS ON FILE
NICHOLS, RAYMOND                     ADDRESS ON FILE
NICHOLS, REBECCA                     ADDRESS ON FILE
NICHOLS, REGINALD                    ADDRESS ON FILE
NICHOLS, SAVANNAH                    ADDRESS ON FILE
NICHOLS, STEVEN                      ADDRESS ON FILE
NICHOLS, STEVEN                      ADDRESS ON FILE
NICHOLS, TERRY                       ADDRESS ON FILE
NICHOLS, WESLEY                      ADDRESS ON FILE
NICHOLS, WILLIAM                     ADDRESS ON FILE
NICHOLS, WILLIAM                     ADDRESS ON FILE
NICHOLSON, ANDRE                     ADDRESS ON FILE
NICHOLSON, ANTHONY                   ADDRESS ON FILE
NICHOLSON, BRYCE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 1376 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1385 of 2156

Claim Name                           Address Information
NICHOLSON, JOHN                      ADDRESS ON FILE
NICHOLSON, LONDELL                   ADDRESS ON FILE
NICHOLSON, ROBERT                    ADDRESS ON FILE
NICHOLSON, SCOTT                     ADDRESS ON FILE
NICHOLSON, SCOTT                     ADDRESS ON FILE
NICHOLSON, STERLING                  ADDRESS ON FILE
NICK D ALLEN                         ADDRESS ON FILE
NICK DENI TRUCKING                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
NICK DOLINIC HEATING& COOLING        759 LEMAY FERRY ST. LOUIS MO 63125
NICK HOLDEN TRANSPORT COMPANY        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NICK KATIB                           ADDRESS ON FILE
NICK KATIB                           ADDRESS ON FILE
NICK MAYER WESTLAKEBODY SHOP         24400 CENTER RIDGE RD.Y WESTLAKE OH 44145
NICK TSOLAKOS                        ADDRESS ON FILE
NICKCHEN, CHRIS                      ADDRESS ON FILE
NICKCHEN, JESSE                      ADDRESS ON FILE
NICKEL EXPRESS INC                   4257 EASTLAWN ST WAYNE MI 48184
NICKELL, CLINTON                     ADDRESS ON FILE
NICKELS, BETH                        ADDRESS ON FILE
NICKELSON, HARRY                     ADDRESS ON FILE
NICKERSON, EARL                      ADDRESS ON FILE
NICKLES, DAVID                       ADDRESS ON FILE
NICKOLAISEN, JASON                   ADDRESS ON FILE
NICKOLAS DAVIS TRANSPORT INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NICKS EXPEDITING COMPANY LLC         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NICKS TOWING SERVICE INC             158 E PASSAIC AVE RUTHERFORD NJ 07070
NICKSON TRUCKING LLC                 1504 BEAVER TAN CT WAKE FOREST NC 27587
NICKTRANS                            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
NICKYS TRUCKS INC                    OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
NICO TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
NICOL ELECTRIC INC.                  PO BOX 45116 RIO RANCHO NM 87174
NICOLAISEN, HEATHER                  ADDRESS ON FILE
NICOLAS M ROBERTS                    ADDRESS ON FILE
NICOLAS, BOB                         ADDRESS ON FILE
NICOLAS, EMILIANO                    ADDRESS ON FILE
NICOLAS, THANEL                      ADDRESS ON FILE
NICOLE B ENTERPRISE CORP             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NICOLE E METCALF-SMITH               ADDRESS ON FILE
NICOLE EXPRESS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
NICOLE GARDNER                       ADDRESS ON FILE
NICOLE WEST                          ADDRESS ON FILE
NICOLODEMOS, PHIL                    ADDRESS ON FILE
NICOLOPOULOS, EMILY                  ADDRESS ON FILE
NICOPOULOS, JIMMIE                   ADDRESS ON FILE
NICOR GAS                            PO BOX 5407 CAROL STREAM IL 60197-5407
NICOR GAS                            1844 FERRY ROAD NAPERVILLE IL 60563-9600
NICOS LOGISTICS                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
NICOSIA, LOUIS                       ADDRESS ON FILE
NICOTERA, MICHAEL                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1377 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1386 of 2156

Claim Name                            Address Information
NICS TRANSPORTATION                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NICZYPORUK, JAROSLAW                  ADDRESS ON FILE
NIDIA TRUCKING LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
NIDO, LUIS                            ADDRESS ON FILE
NIE, YTELE                            ADDRESS ON FILE
NIEDERMAYER JR, RICHARD               ADDRESS ON FILE
NIEDRINGHAUS, CHARLES                 ADDRESS ON FILE
NIEHOFF, GERALD                       ADDRESS ON FILE
NIELSEN, BOBBIE                       ADDRESS ON FILE
NIELSEN, ERIC                         ADDRESS ON FILE
NIELSEN, FRANK                        ADDRESS ON FILE
NIELSEN, GARY W                       ADDRESS ON FILE
NIELSEN, JEFF                         ADDRESS ON FILE
NIELSEN, KATHERINE                    ADDRESS ON FILE
NIELSEN, LARRY                        ADDRESS ON FILE
NIELSEN, PETER                        ADDRESS ON FILE
NIELSEN, RANDALL                      ADDRESS ON FILE
NIELSEN, SARAH                        ADDRESS ON FILE
NIELSEN, TARYN                        ADDRESS ON FILE
NIELSEN, TARYN J                      ADDRESS ON FILE
NIELSEN, TREVOR                       ADDRESS ON FILE
NIELSEN-ARENA, SYDNEY                 ADDRESS ON FILE
NIELSON, DERRICK                      ADDRESS ON FILE
NIELSON, JASON                        ADDRESS ON FILE
NIEMAN, CARL E                        ADDRESS ON FILE
NIEMAN, KURT                          ADDRESS ON FILE
NIEMAN, PAUL                          ADDRESS ON FILE
NIEMANN, COLTON                       ADDRESS ON FILE
NIETO MOBILE TRUCK & TRAILER REPAIR   341 SW 64TH WAY PEMBROKE PINES FL 33023
CORP
NIETO MOBILE TRUCK & TRAILER REPAIR   1932 NW 2 ST MIAMI FL 33125
CORP
NIETO, ANTHONY P                      ADDRESS ON FILE
NIETO, ERIC                           ADDRESS ON FILE
NIETO, MARVIN                         ADDRESS ON FILE
NIETO, PAMELA                         ADDRESS ON FILE
NIETO, RENE                           ADDRESS ON FILE
NIETO, RYAN                           ADDRESS ON FILE
NIETOS & SONS TRUCKING LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NIEVA, MARLON                         ADDRESS ON FILE
NIEVES, DIANA                         ADDRESS ON FILE
NIEVES, DORIAN                        ADDRESS ON FILE
NIEVES, EDUARDO                       ADDRESS ON FILE
NIEVES, JOHN                          ADDRESS ON FILE
NIEVES, RAFAEL                        ADDRESS ON FILE
NIFONG, TANNER                        ADDRESS ON FILE
NIFTY FREIGHT CARRIERS                OR ECAPITAL FREIGHT FACTORING 174 WEST ST SOUTH 2ND FLOOR ORILLA ON L3V 6L4
                                      CANADA
NIGHT DREAM INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NIGHT FOX TRUCKING LLC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086


Epiq Corporate Restructuring, LLC                                                                Page 1378 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1387 of 2156

Claim Name                           Address Information
NIGHT FOX TRUCKING LLC               OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
NIGHT FREIGHT EXPRESS LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NIGHT LINE EXPRESS INC               14544 CLUB CIRCLE DR OAK FOREST IL 60452
NIGHT OWL JANITORIAL INC.            4976 W BUCKSKIN POCATELLO ID 83201
NIGHT OWL TRUCK REPAIR               32428 LIPAROTO DR ROCKWOOD MI 48173
NIGHT RIDER                          OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
NIGHT RIDER EXPRESS LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NIGHT TRAIN TRANSPORT LLC            OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
NIGHTHAWK ENTERPRISES, INC.          3275 NW 41ST MIAMI FL 33142
NIGHTHAWK LLC                        OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
NIGHTHAWK TRANSPORT LLC              1019 S HASTINGS AVE FULLERTON CA 92833-3427
NIGHTHAWKS INC                       PO BOX 101 LEONIA NJ 07605
NIGHTINGALE TRANSPORT LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NIGHTLINE EXPRESS, INC.              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NIGRO, MICHAEL                       ADDRESS ON FILE
NIGSAM INC                           2162 CONWELL AVE PHILADELPHIA PA 19115
NIIAKWEI ACQUAYE                     ADDRESS ON FILE
NIICHEL, STEVEN                      ADDRESS ON FILE
NIJA UNDERWOOD                       ADDRESS ON FILE
NIJAZ TRUCKING INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NIJJAR CARGO INC                     8756 TERRACORVO CIR STOCKTON CA 95212
NIJJAR FREIGHTLINES                  OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
NIJJAR TRUCKING LTD                  12829 116 AVE SURREY BC V3R 2S5 CANADA
NIJJER CARRIER LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NIJMAN FRANZETTI LLP                 10 S LASALLE STREET SUITE 3600 CHICAGO IL 60603
NIK LOGISTICS LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
NIKA TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NIKA TRANSPORTATION LLC              17199 WATERBRIDGE DR NORTH ROYALTON OH 44133
NIKA TRUCKING CORPORATION            OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA SK L4Z 1X8
                                     CANADA
NIKI EXPRESS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NIKLOADS LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NIKO LOGISTICS CORPORATION           OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NIKOLOVSKI, LJUPCO                   ADDRESS ON FILE
NIKONOV, GLEB                        ADDRESS ON FILE
NILE EXPRESS LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
NILE EXPRESS, LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NILE TRUCKING                        5120 S DECATUR BLVD SUITE 104 LAS VEGAS NV 89118
NILLES, BRETT                        ADDRESS ON FILE
NILSON, KEITH                        ADDRESS ON FILE
NILSON, MAHINA                       ADDRESS ON FILE
NILSON, TIMOTHY                      ADDRESS ON FILE
NILSSON, ERICK                       ADDRESS ON FILE
NILSSON, SVEN                        ADDRESS ON FILE
NIMAGA, CHEICKNA                     ADDRESS ON FILE
NIMAGA, CHEICKNA                     ADDRESS ON FILE
NIMBLE TRANSPORT                     835 SOUTH ST PAUL STREET KANSAS CITY KS 66105
NIMETH, JAMES                        ADDRESS ON FILE
NIMMO, LARRY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1379 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1388 of 2156

Claim Name                           Address Information
NIMMO, STEVEN                        ADDRESS ON FILE
NIMMONS TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NIMMONS, QULOCK                      ADDRESS ON FILE
NINA ADRIENNE THOMAS-DAYAFLEH        ADDRESS ON FILE
NINCHE TRANSPORT SOLUTIONS LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NINE 22 TRANSPORT LLC                OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
NINE TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NINER TRANSPORT LLC                  2605 GREENWOOD CT BEDFORD TX 76021
NINIK INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NINO, GUILLERMO                      ADDRESS ON FILE
NINO, RICARDO                        ADDRESS ON FILE
NIPPER, JACK                         ADDRESS ON FILE
NIPPERT, JAMES                       ADDRESS ON FILE
NIPPONKOA INSURANCE                  C/O SOMPO ATTN: GENERAL COUNSEL 777 3RD AVE, 24TH FLOOR NEW YORK NY 10017
NIPSCO                               135 NORTH PENNSYLVANIA STREET SUITE 1610 INDIANAPOLIS IN 46204
NIQUETTE, CHRIS                      ADDRESS ON FILE
NIRAM INCORPORATED                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
NIRVAAN TRANSPORTATION LLC           OR EXPEDITED FINANCIAL 4460 W SHAW AVE 429 FRESNO CA 93722
NIRVAIR EXPRESS LLC                  OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
NIRVANA TRANSPORT                    OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA
NIRVANA TRUCKING INC                 5533 LACKLAND WAY SACRAMENTO CA 95835
NIS FREIGHT LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NISBET, LAURENCE                     ADDRESS ON FILE
NISHAN TRANSPORT INC.                1805 CHEMIN ST FRANCOIS, DORVAL QC H9P 2S1 CANADA
NISSAN                               445 COUCHVILLE INDUSTRIAL BLVD MOUNT JULIET TN 37122
NISSAN HAYWARD                       24644 MISSION BLVD. HAYWARD CA 94544
NISSEN, BRENDON                      ADDRESS ON FILE
NISSIN FOODS USA CO INC              2001 W ROSECRANS AVE GARDENA CA 90249
NISSIN INTERNATIONAL                 16940 SQUARE DR MARYSVILLE OH 43040
NISSLEY, TYLER                       ADDRESS ON FILE
NISWONGER, DAVID                     ADDRESS ON FILE
NITRO GREEN PROFESSIONAL LAWN        AND TREE CARE INC, PO BOX 3533 GREAT FALLS MT 59403
NITRO TRUCKING LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NITTI, FRANK                         ADDRESS ON FILE
NIVAL TRANSPORT LLC                  OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084-8244
NIVLAMA INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
NIX EXCAVATING INC                   4020 N 2600 E FILER ID 83328
NIX, JESSE                           ADDRESS ON FILE
NIX, MARCUS                          ADDRESS ON FILE
NIX, TERRY                           ADDRESS ON FILE
NIXON, GLEN                          ADDRESS ON FILE
NIXON, KENNETH                       ADDRESS ON FILE
NIXON, LINDA                         ADDRESS ON FILE
NIXON, MICHAEL                       ADDRESS ON FILE
NIXON, WILLIE I                      ADDRESS ON FILE
NIXON, WYATT                         ADDRESS ON FILE
NIZIGIYIMANA, BENNIT                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1380 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1389 of 2156

Claim Name                           Address Information
NIZNIK, DAVID                        ADDRESS ON FILE
NIZZARI, KORVID                      ADDRESS ON FILE
NJ BEST TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NJ DOT                               1035 PKWY AVE TRENTON NJ 08625
NJ DOT                               1 EXECUTIVE CAMPUS CHERRY HILL NJ 08002
NJ EXPEDITE LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
NJ LOGISTICS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
NJ MOTOR TRUCK ASSOCIATIONS          160 TICES LANE EAST BRUNSWICK NJ 08816
NJ PETROS EXPRESS LLC                8 DIAMOND HILL RD MARLBORO NJ 07746
NJ TRANSPORT SERVICES LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NJ TRUCK LINE                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NJ TRUCKING INC                      3375 MEETING CREEK RD EASTIEW KY 42732
NJC LOGISTICS LLC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
NJIE, DEED                           ADDRESS ON FILE
NJK ENTERPRISES LLC                  15812 FAIRFIELD DR MATTHEWS NC 28104
NJM EXPEDITE INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NJN LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NJOOD TRUCKING INC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NJOROGE, CLEMENCIA                   ADDRESS ON FILE
NJOY LLC                             C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NK CARRIES INC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NK DESIGN INTERNATIONAL INC          OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
NK TRANSPORT LLC                     PO BOX 458 GLENDALE AZ 85311
NKA TRANSPORTATION, INC.             777 S KUTHER RD SIDNEY OH 45365
NKELE, KAGISO                        ADDRESS ON FILE
NKOUA EBOH, GUY SERGE                ADDRESS ON FILE
NKR TRANSPORT LLC                    OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
NKTT FREIGHT LLC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
NKUNDA EXPRESS                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NL                                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NLOMBE, SAINTUCH                     ADDRESS ON FILE
NLS TRUCKING CORP                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NM EXPEDITED INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
NM LOGISTICS INC                     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
NM TRANSPORT LLC                     PO BOX 4282 BURBANK CA 91503
NMB TRANSPORT LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
NMEL TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NMHG FINANCIAL SERVICES              ATTN: GENERAL COUNSEL PO BOX 35701 BILLINGS MT 59107
NMHG FINANCIAL SERVICES INC          PO BOX 35701 BILLINGS MT 59107
NMJ CARGO LLC                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
NMK EXPRESS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
NMS TRUCKING CO                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
NMV EXPEDITION INC                   15428 PRESCOTT HILL AVE CHARLOTTE NC 28277
NN TRANS INC                         5220 N ROCKWELL ST APT GS CHICAGO IL 60625
NN TRANSPORT                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NN TRUCKING INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
NNA-AILN                             200 SAM GRIFFIN DOOR 232 SMYRNA TN 37167
NNAWUIHE NOSIRI                      ADDRESS ON FILE
NNT EXPRESS INC.                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                               Page 1381 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1390 of 2156

Claim Name                             Address Information
NO BREATHIN ROOM LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
NO BULL-SHIPPING, LLC.                 1102 SCARLET OAK AVE TOMS RIVER NJ 08755
NO CHOICE INC                          OR OUTGO INC, 117 E LOUISA ST. 161 SEATTLE WA 98102
NO DAYS OFF TRANSPORT LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NO DOUBT TRANSPORTATION LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
NO EXCUSEZ TRANSPORT LLC               OR TAB BANK, PO BOX 150830 OGDEN UT 84415
NO FEAR FITNESS SUPPLY                 323 THOMAS PL SUITE B EVERMAN TX 76140
NO LIMIT LOGISTICS                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NO LIMIT LOGISTICS INC                 OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
NO LIMIT TRANSPORTATION SERVICES LLC   OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
NO LIMIT TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NO LIMITATIONS INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NO LIMITS LLC                          213 PEPPERTOWN PLAZA FULTON MS 38843
NO MANS LAND TRANSPORT LLC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NO MERCY EXCAVATING LLC                6161 CTY HWY X CHIPPEWA FALLS WI 54729
NO STOP TRUCKING LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NO TOWN TRUCKING                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NO XCUSE FREIGHT LLC                   311 DUNN RD FAYETTEVILLE NC 28312
NO1 LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NOA, LAFI                              ADDRESS ON FILE
NOACK LAW FIRM PLLC                    4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
NOAH EXPRESS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NOAH HUMPHREYS                         ADDRESS ON FILE
NOAH LOGISTICS LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
NOAH TRANSPORT LLC                     2309 JULIA LN FORNEY TX 75126
NOAH TRANSPORTATION LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
NOAH XPRESS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NOAHS ARK TRUCKING LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NOAHS CARGO CARRIERS INC               1553 GLENWOOD RD GLENDALE CA 91201
NOAHS TRANSPORT LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NOATUM LOGISTICS USA, LLC              32344 COLLECTION CENTER DR CHICAGO IL 60693
NOB TRANS LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NOBAR, CHARLES                         ADDRESS ON FILE
NOBBS, HARRY                           ADDRESS ON FILE
NOBILITY TRUCKING INC                  1275 ELM AVE GLENDALE CA 91201-1311
NOBLE ESTATE ENTERPRISE LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NOBLE EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
NOBLE FREIGHT LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
NOBLE HIGHWAY TRANSPORTATION LLC       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NOBLE LOCKSMITH LTD                    249 NOTRE DAME AVE WINNIPEG MB R3B 1N8 CANADA
NOBLE LOGISTICS INC.                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NOBLE OIL SERVICES, INC.               5617 CLYDE RHYNE DR SANFORD NC 27330
NOBLE OIL SERVICES, INC.               PO BOX 4419 SANFORD NC 27331
NOBLE ONE GROUP LLC                    2218 E CR 650 N LOGANSPORT IN 46947
NOBLE PINE PRODUCTS                    ATTN: ENILDA BRITO 240 E SEVENTH ST MT VERNON NY 10550
NOBLE RESOURCES INC                    PO BOX 1333 LEONARD TX 75452
NOBLE SYSTEMS CORPORATION              1200 ASHWOOD PARKWAY, SUITE 300 ATLANTA GA 30338
NOBLE TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NOBLE, CHARLES                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1382 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1391 of 2156

Claim Name                          Address Information
NOBLE, CLAYTON                      ADDRESS ON FILE
NOBLE, DEANDRE                      ADDRESS ON FILE
NOBLE, FREDDY                       ADDRESS ON FILE
NOBLE, LOGAN                        ADDRESS ON FILE
NOBLES, EDWARD                      ADDRESS ON FILE
NOBLES, ERIC                        ADDRESS ON FILE
NOBLEZADA, JONATHAN T               ADDRESS ON FILE
NOBLIT, STEPHEN                     ADDRESS ON FILE
NOBOUPHASAVANH, SAM                 ADDRESS ON FILE
NOBURE, DONTAE                      ADDRESS ON FILE
NOC TRUCKING CORP                   OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
NOCERO, JASON                       ADDRESS ON FILE
NOCERO, RENALDO                     ADDRESS ON FILE
NOCHES, SERGIO                      ADDRESS ON FILE
NOCHY TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NODARSE, JUAN                       ADDRESS ON FILE
NODURFT, RAE                        ADDRESS ON FILE
NOE, HUBERT                         ADDRESS ON FILE
NOE, LYNN                           ADDRESS ON FILE
NOEL CASTRO                         ADDRESS ON FILE
NOEL EVANS TRUCKING                 29245 PIGEON DR LEBANON MO 65536
NOEL TRANSPORTATION CORP            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NOEL, CHARLES                       ADDRESS ON FILE
NOEL, CHARLES                       ADDRESS ON FILE
NOEL, DAVID                         ADDRESS ON FILE
NOEL, GARY M                        ADDRESS ON FILE
NOEL, GREGORY                       ADDRESS ON FILE
NOEL, MATTHEW                       ADDRESS ON FILE
NOEL, PHILIP                        ADDRESS ON FILE
NOEL, RICHARD                       ADDRESS ON FILE
NOEL, RICHARD                       ADDRESS ON FILE
NOEL, SCOTT                         ADDRESS ON FILE
NOEL, WILLIAM                       ADDRESS ON FILE
NOELCKE, DANIEL                     ADDRESS ON FILE
NOELTNER, JERRY D                   ADDRESS ON FILE
NOET LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NOFSINGER, SCOTT                    ADDRESS ON FILE
NOFZIGER, HAROLD                    ADDRESS ON FILE
NOGALES DIESEL REPAIR LLC           2841 N VALLE VERDE DRIVE NOGALES AZ 85621
NOGALES RIO RICO PLUMBING L.L.C.    728 E. SKYLINE DRIVE NOGALES AZ 85621
NOGOB LLC                           OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
NOGUERA RODRIGUEZ, ERICK            ADDRESS ON FILE
NOGUERA RODRIGUEZ, ERICK            ADDRESS ON FILE
NOGUEROL TRANSPORT CORP             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NOGUES, NEIL P                      ADDRESS ON FILE
NOHAM AGELIS                        ADDRESS ON FILE
NOHEJL, AMY                         ADDRESS ON FILE
NOHEJL, STEVEN                      ADDRESS ON FILE
NOHID TRUCKING LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195



Epiq Corporate Restructuring, LLC                                                            Page 1383 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1392 of 2156

Claim Name                             Address Information
NOKES, NATALIE                         ADDRESS ON FILE
NOKIA OF AMERICA CORPORATION           ACCOUNTS RECEIVABLE, PO BOX 911476 DALLAS TX 75391
NOKIANGTHONG, KRISSADA                 ADDRESS ON FILE
NOLA TRANSPORTATION LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NOLAN ELECTRIC                         866 POST OAK RD RINGGOLD GA 30736
NOLAN TRANSPORTATION GROUP             ATTN: MICHAEL OLSON 2535 BROCKTON DRIVE SUITE 500 AUSTIN TX 78758
NOLAN, CALVIN D                        ADDRESS ON FILE
NOLAN, DANIEL S                        ADDRESS ON FILE
NOLAN, JOSEPH                          ADDRESS ON FILE
NOLAN, MICHAEL                         ADDRESS ON FILE
NOLAN, PATRICK                         ADDRESS ON FILE
NOLAN, THYEIS                          ADDRESS ON FILE
NOLAN, TIMOTHY                         ADDRESS ON FILE
NOLAN, ZACHARY                         ADDRESS ON FILE
NOLAND, HEATHER                        ADDRESS ON FILE
NOLANDS CYLINDER HEAD SERVICE          1519 CHARLOTTE ST KANSAS CITY MO 64108
NOLASCO ARROYO, INC.                   OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
NOLASCO, MARK                          ADDRESS ON FILE
NOLASCO, MIGUEL                        ADDRESS ON FILE
NOLBU EXPRESS INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
NOLDEN TRANS INC                       460 W. IRVING PARK RD., STE C UNIT 177 BENSENVILLE IL 60106
NOLEN, EDWARD                          ADDRESS ON FILE
NOLEN, PHILLIP                         ADDRESS ON FILE
NOLES, TIMOTHY                         ADDRESS ON FILE
NOLIN, JOHN                            ADDRESS ON FILE
NOLIN, JOHN R                          ADDRESS ON FILE
NOLL, DANIELLE                         ADDRESS ON FILE
NOLLEY, DARIUS                         ADDRESS ON FILE
NOLLEY, LEONARD                        ADDRESS ON FILE
NOLLIE, DENNIS                         ADDRESS ON FILE
NOLLY EXPRESS LLC                      OR ALTACAPITAL 10455 N CENTRAL EXPRESSWAY 109-364 DALLAS TX 75231
NOLPORT TRUCK LLC                      OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
NOLTEE, CASSONDRA                      ADDRESS ON FILE
NOLTES NORTHSIDE SVC                   2850 JACKSON STREET OSHKOSH WI 54901
NOMAD EXPRESS                          OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
NOMAD FREIGHT INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NOMAD TRANS INC                        OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
NOMAD TRANSPORTATION                   3536 TERTULIA AVENUE NORTH LAS VEGAS NV 89081
NOMAD TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NOMAD TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NOMANSON, TIMOTHY                      ADDRESS ON FILE
NOMATIC TRANS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NOMIC TRANSPORT LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
NON FOUR LOGISTICS INC                 1008 EDDYSTONE CT READING PA 19605-3296
NON FOUR LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NON STOP FREIGHT SOLUTIONS, INC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NON-STOP EXPRESS TRANSPORTATION SRVS   OR BASICBLOCK INC. PO BOX 8697 OMAHA NE 68108
LLC
NONINI, GENA                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1384 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1393 of 2156

Claim Name                           Address Information
NONNENMOCHER, SELENA                 ADDRESS ON FILE
NONSTOP PRINTING                     6226 SANTA MONICA BLVD LOS ANGELES CA 90038
NONSTOP TRUCKING INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NONSTOP TRUCKING INC                 5778 WINCHESTER CT RANCHO CUCAMONGA CA 91737
NOON, MICHAEL                        ADDRESS ON FILE
NOON, MICHAEL                        ADDRESS ON FILE
NOONEY, MARTIN                       ADDRESS ON FILE
NOONEY, MARTIN                       ADDRESS ON FILE
NOOR FREIGHTLINE LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NOOR LOGISTICS LLC                   OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
NOOR QADERI LOGISTICS INC            OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
NOOR TRANSIT LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NOOR TRANSPORTATION LLC              OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NOOR, ABDIHODAN                      ADDRESS ON FILE
NOORI, ABDUL                         ADDRESS ON FILE
NOORMAN, MATTHEW                     ADDRESS ON FILE
NOR CAL WASTE SERVICES               299 PARK STREET SAN LEANDRO CA 94577
NOR CAL WASTE SERVICES               5714 FOLSOM BLVD. PMB 285 SACRAMENTO CA 95819
NOR CAL WASTE SERVICES               PO BOX 292805 SACRAMENTO CA 95829
NOR-TECH TRANSPORTATION LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORAH, JEREMY                        ADDRESS ON FILE
NORBERG, SCOTT                       ADDRESS ON FILE
NORBERT S DOBRZANSKI                 ADDRESS ON FILE
NORBERTO, HENRY                      ADDRESS ON FILE
NORBREY, MATTHEW                     ADDRESS ON FILE
NORC-CAL VANS                        1300 NORD AVE STE 125 CHICO CA 95926
NORCAL KENWORTH                      ADDRESS ON FILE
NORCO                                PO BOX 79550 SAGINAW TX 76179
NORCO.                               1125 W AMITY RD BOISE ID 83705
NORCROSS, RYAN                       ADDRESS ON FILE
NORCROSS, SHANE                      ADDRESS ON FILE
NORD GEAR CORPORATION                ATTN: KRISTIN WIGGLESWORTH 800 NORD DR WAUNAKEE WI 53597
NORD, JOHN                           ADDRESS ON FILE
NORDAM X-PRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORDBY, KEVIN W                      ADDRESS ON FILE
NORDEN ROAD REPAIR LLC               5208 PACKER DRIVE NE MENOMONIE WI 54751
NORDEN TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NORDGREN, KEVIN                      ADDRESS ON FILE
NORDIC INDUSTRIES                    591622 SASKATCHEWAN LTD 404 MELVILLE STREET SASKATOON SK S7J 4M2 CANADA
NORDIC MECHANICAL SERVICES           11965 LARC INDUSTRIAL BLVD., SUITE 600 BURNSVILLE MN 55337
NORDIC WARE DIVISION OF NORTHL       ATTN: KURT TIMIAN 5005 COUNTY ROAD 25 MINNEAPOLIS MN 55416
NORDIKE, MITCHELL                    ADDRESS ON FILE
NORDKVIST, ERIC                      ADDRESS ON FILE
NORDS ELECTRIC SUPPLY                PO BOX 9550 SPOKANE WA 99209
NORDSELL, MICHAEL                    ADDRESS ON FILE
NORDWALL, MATTHEW                    ADDRESS ON FILE
NORED, THOMAS                        ADDRESS ON FILE
NOREIKA, DAVID                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1385 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1394 of 2156

Claim Name                           Address Information
NORFLEET AND NELSON TRUCKING LLC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORFLEET TRANSPORTATION, LLC         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NORFLEET TRUCKING LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NORFLEET, ERIC                       ADDRESS ON FILE
NORFOLK SOUTHERN CORPORATION         LOC 00441 CINCINNATI OH 45264
NORFOLK SOUTHERN CORPORATION         PO BOX 532797 ATLANTA GA 30353
NORFOLK SOUTHERN RAILROAD            ATTN TOREN ELSEN 3 COMMERCIAL PL NORFOLK VA 23510
NORFOLK SOUTHERN RAILROAD            1600 MARIETTA RD. NW ATLANTA GA 30318
NORFOLK SOUTHERN RR                  650 W PEACHTREE ST NW ATLANTA GA 30308
NORFOLK SOUTHERN RR133967            ATTN TOREN ELSEN 3 COMMERCIAL PL NORFOLK VA 23510
NORGAARD, DARIN                      ADDRESS ON FILE
NORLIFT                              512 N FRANCHER PO BOX 11006 SPOKANE WA 99211
NORLIFT MATERIAL HANDLING            D/B/A: NORLIFT 512 N FRANCHER PO BOX 11006 SPOKANE WA 99211
NORLIFT MATERIAL HANDLING            D/B/A: NORLIFT PO BOX 11006 SPOKANE WA 99211
NORLIFT MATERIAL HANDLING            PO BOX 11006 SPOKANE WA 99211
NORLIFT OF OREGON, INC.              PO BOX 68348 PORTLAND OR 97268
NORM D COLE                          ADDRESS ON FILE
NORM STANEK INC                      307 N STATE RD MEDINA OH 44256
NORMA I BLANCO                       ADDRESS ON FILE
NORMA I REYES                        ADDRESS ON FILE
NORMAN ALEXENDER CONTRACTOR          ADDRESS ON FILE
NORMAN DUPRE                         ADDRESS ON FILE
NORMAN INTERNATIONAL                 28 CENTERPOINTE DRIVE, SUITE 120 LA PALMA CA 90623
NORMAN INTERNATIONAL                 CENTERPOINTE DRIVE SUITE 120 LA PALMA CA 90623
NORMAN, CHRISTIAN                    ADDRESS ON FILE
NORMAN, DARYLANDO                    ADDRESS ON FILE
NORMAN, DONALD                       ADDRESS ON FILE
NORMAN, DUANE                        ADDRESS ON FILE
NORMAN, EARON                        ADDRESS ON FILE
NORMAN, HAROLD                       ADDRESS ON FILE
NORMAN, HOYT                         ADDRESS ON FILE
NORMAN, JAMES                        ADDRESS ON FILE
NORMAN, JEFFERY                      ADDRESS ON FILE
NORMAN, JOHN                         ADDRESS ON FILE
NORMAN, JOSEPH                       ADDRESS ON FILE
NORMAN, KARRIN                       ADDRESS ON FILE
NORMAN, XAVIER                       ADDRESS ON FILE
NORMAN-HARDY, CYNTHIA                ADDRESS ON FILE
NORMANDIN, MARK                      ADDRESS ON FILE
NORMANDY, JOHN                       ADDRESS ON FILE
NORMS PLUMBING & HEATING             1325 173RD ST HAMMOND IN 46324
NORON INC.                           5465 ENTERPRISE TOLEDO OH 43612
NORPAC SHEET METAL INC               PO BOX 30776 BILLINGS MT 59107
NORPLEX INC                          PO BOX 814 AUBURN WA 98071
NORRELL, COREY                       ADDRESS ON FILE
NORRICK, TIMITHY                     ADDRESS ON FILE
NORRINGTON, HOZA                     ADDRESS ON FILE
NORRIS MCLELAND                      ADDRESS ON FILE
NORRIS, DANIEL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1386 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1395 of 2156

Claim Name                             Address Information
NORRIS, EAON                           ADDRESS ON FILE
NORRIS, FRANCISCA                      ADDRESS ON FILE
NORRIS, GREGORY                        ADDRESS ON FILE
NORRIS, JAMES                          ADDRESS ON FILE
NORRIS, JAMES                          ADDRESS ON FILE
NORRIS, JEFFERY                        ADDRESS ON FILE
NORRIS, JOEL                           ADDRESS ON FILE
NORRIS, KENNETH                        ADDRESS ON FILE
NORRIS, KENNETH                        ADDRESS ON FILE
NORRIS, KENNETH                        ADDRESS ON FILE
NORRIS, KENNETH                        ADDRESS ON FILE
NORRIS, LAMIER                         ADDRESS ON FILE
NORRIS, MALLORY                        ADDRESS ON FILE
NORRIS, MIKE                           ADDRESS ON FILE
NORRIS, PENNY                          ADDRESS ON FILE
NORRIS, QUINCY                         ADDRESS ON FILE
NORRIS, ROBERT                         ADDRESS ON FILE
NORRIS, RONALD                         ADDRESS ON FILE
NORRIS, ROY                            ADDRESS ON FILE
NORRIS, SUSAN                          ADDRESS ON FILE
NORRIS, WILL                           ADDRESS ON FILE
NORSE LOGISTICS GROUP                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NORSEMEN SPECIALIZED DIVISION, INC.    106 EAST MAIN STREET LAKE MILLS IA 50450-1441
NORSHEL IND                            2933 RIVER RD CROYDON PA 19021
NORSTAR WALKER INC.                    ATTN: AARON BROWN 7077 KEELE ST STE 102 CONCORD ON L4K 0B6 CANADA
NORTEK GLOBAL HVAC LLC                 SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
NORTH 40 TRANSPORT LLC                 6 CEDAR RIDGE CT VENTURA IA 50482
NORTH ACRES DEVELOPMENT CO             601 OHIO STREET TERRE HAUTE IN 47807
NORTH ACRES DEVELOPMENT CO             DBA NEWLIN-JOHNSON CO., INC. 601 OHIO ST TERRE HAUTE IN 47807
NORTH ACRES DEVELOPMENT CO., INC.      ATTN: JOHN NEWLIN 601 OHIO STREET TERRE HAUTE IN 47807
NORTH ALABAMA ELECTRIC                 135A REFRESHMENT PLACE, P.O. BOX 1824 DECATUR AL 35602
NORTH ALABAMA ELECTRIC                 PO BOX 1824 DECATUR AL 35602
NORTH AMERICAN CARGO SERVICES, INC.    365 H STREET STE 227 BLAINE WA 98230
NORTH AMERICAN CARRIERS INC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NORTH AMERICAN FREIGHT SERVICES CORP   303 WEST 24TH STREET SEDALIA MO 65301
NORTH AMERICAN LIGHTING                ARGUS PO BOX 4750 TROY MI 48099
NORTH AMERICAN SEASONING               NFI INDUSTRIES, PO BOX 68671 SEATTLE WA 98168
NORTH AMERICAN SOLUTIONS CORP          590 MUSKEGAN CT VERNON HILLS IL 60061
NORTH AMERICAN TRAILER LLC             2896 W 2100 S SALT LAKE CITY UT 84119
NORTH AMERICAN TRAILER LLC             10541 MULBERRY AVE FONTANA CA 92337
NORTH AMERICAN TRAILER SALES           7649 CONCORD BLVD INVER GROVE HEIGHT MN 55076
NORTH AMERICAN TRAILER SALES, LTD      11015 CLARK ROAD INVER GROVE HEIGHTS MN 55077
NORTH AMERICAN TRANSACTION SERVICES    PO BOX 4228 POSTAL STATION A TORONTO ON M5W 5N9 CANADA
NORTH AMERICAN TRANSACTION SERVICES    BARBARA CARLSON, AUTHORIZED REP. PO BOX 7247-6171 PHILADELPHIA PA 19170
NORTH AMERICAN TRANSACTION SERVICES    PO BOX 7247 6171 PHILADELPHIA PA 19170
NORTH AMERICAN TRANSACTION SERVICES    SERVICES, PO BOX 7247-6171 PHILADELPHIA PA 19170-6171
NORTH AMERICAN TRANSACTION SERVICES    7025 ALBERT PICK RD STE 1 GREENSBORO NC 27409
NORTH AMERICAN TRUCKING INC            2210 GREEN CREEK RD CEDAR FALLS IA 50613
NORTH ATLANTIC TRUCKING INC            100 PROGRESS AVE SPRINGFIELD MA 01104



Epiq Corporate Restructuring, LLC                                                                Page 1387 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1396 of 2156

Claim Name                               Address Information
NORTH ATLANTIC TRUCKING INC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NORTH CANTON TRUCKING INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NORTH CAROLINA DEPARTMENT OF LABOR       BOILER SAFETY BUREAU 1101 MAIL SERVICE CENTER RALEIGH NC 27699
NORTH CAROLINA DEPARTMENT OF REVENUE     MECKLENBURG COUNTY PO BOX 25000 RALEIGH NC 27640
NORTH CAROLINA DEPARTMENT OF REVENUE     PO BOX 25000 RALEIGH NC 27640
NORTH CAROLINA DEPT OF STATE TREASURER   UNCLAIMED PROPERTY PROGRAM 3200 ATLANTIC AVE RALEIGH NC 27604
NORTH CAROLINA DEPT OF TRANSPORTATION    FISCAL SECTION PO BOX 29615 RALEIGH NC 27626
NORTH CAROLINA LOGOSTICS INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
NORTH CAROLINA STATE HIGHWAY PATROL      NC DEPT OF TRANSPORTATION FISCAL SECTION PO BOX 29615 RALEIGH NC 27626
NORTH CAROLINA STATE HIGHWAY PATROL      PO BOX 29615 RALEIGH NC 27626
NORTH CAROLINA TRUCKING ASSOCIATION      PO BOX 2947 RALEIGH NC 27602
NORTH COAST ELECTRIC                     2010 S 3RD ST W STE B MISSOULA MT 59801
NORTH COAST ELECTRIC                     ATTN: CHELSEA BOEHOLT 20048 NE SAN RAFAEL ST PORTLAND OR 97230
NORTH COAST ELECTRIC                     1005 C ST NW AUBURN WA 98001
NORTH COAST ELECTRIC                     ATTN: JENNIFER JENSEN 1005 C ST NW AUBURN WA 98001
NORTH COAST ELECTRIC                     ATTN: ROCHELLE RAZOR OPERATIONS 1005 C ST NW AUBURN WA 98001
NORTH COAST ELECTRIC                     2424 8TH AVE S SEATTLE WA 98134
NORTH COAST ELECTRIC CO INC              1836 RACINE ST BELLINGHAM WA 98229
NORTH COAST GRESHAM 200                  20048 NE SAN RAFAEL ST PORTLAND OR 97230
NORTH COAST MED INC ECHO                 ATTN: NICOLE TUCKER 600 W CHICAGO AVE CHICAGO IL 60654
NORTH COUNTRY CAPITAL LLC                MATTHEW DOHENY 215 WASHINGTON ST STE 006 WATERTOWN NY 13601
NORTH COUNTRY CAPITAL LLC                MATT DOHENY THE DOHENY BLDG, 57 CHURCH ST ALEXANDRIA BAY NY 13607
NORTH COUNTRY TRUCKS & PARTS INC         1660 INDUSTRIAL DR BISMARCK ND 58501
NORTH DAKOTA MOTOR CARRIERS ASSOCIATION PO BOX 874 BISMARCK ND 58502
NORTH DAKOTA OFFICE OF STATE TAX COMM    STATE CAPITOL 600 E BOULEVARD AVE BISMARCK ND 58505
NORTH DAKOTA WORKFORCE SAFETY & INSUR    1600 EAST CENTURY AVE STE 1, PO BOX 5558 BISMARCK ND 58506
NORTH DELAWARE PRINTING INC              645 DELAWARE ST TONAWANDA NY 14150
NORTH EAST EXPRESS LLC                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
NORTH EAST FREIGHTWAYS INC               15 CROSS RD HOOKSETT NH 03106
NORTH EAST FREIGHTWAYS INC               DBA LAND AIR EXPRESS WILLISTON VT 05495
NORTH EAST LOGISTICS LLC.                1529 SUBSTATION RD BRUNSWICK OH 44212
NORTH EAST SERVICES LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NORTH EAST TRANSIT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORTH EAST TRANSPORTATION SERVICES LLC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NORTH EXPRESS LLC                        4961 S IMPERIAL CIR GREENFIELD WI 53220
NORTH FACE MECHANICAL LTD                PO BOX 5215 SPRUCE GROVE AB T7X 3A3 CANADA
NORTH FLORIDA TIRE AND ROAD SERVICES     295 NW COMMONS LOOP LAKE CITY FL 32055
NORTH FUSIONS (NORTH BRANDS)             6900 WINNETKA CIRCLE BROOKLYN PARK MN 55428
NORTH GEORGIA EMC                        1850 CLEVELAND HWY DALTON GA 30721
NORTH GEORGIA FREIGHT INC                OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NORTH HOPE LOGISTIC LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
NORTH INC                                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NORTH IOWA SAND & GRAVEL, INC.           14300 300TH COURT MASON CITY IA 50401
NORTH JERSEY TRAILER AND TRUCK INC       975 BELMONT AVE NORTH HALEDON NJ 07508
NORTH LAKE SERVICES LLC                  OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
NORTH LIBERTY TRANSPORTATION, LLC        P.O. BOX 397 NORTH LIBERTY IA 52317
NORTH LOGISTICS COMPANY                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NORTH LOGISTICS INC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NORTH LOGISTICS INC (MC1392969)          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154



Epiq Corporate Restructuring, LLC                                                                   Page 1388 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1397 of 2156

Claim Name                               Address Information
NORTH MANUFACTURING                      PO BOX 266303 KANSAS CITY MO 64126
NORTH PARK TRANSPORTATION                5150 COLUMBINE ST DENVER CO 80216
NORTH PARK TRANSPORTATION CO INC         5150 COLUMBINE DENVER CO 80216
NORTH PARK TRANSPORTATION CO INC         ATTN: JIM EDMUNDS, 3612 HWY 12 EAST HELENA MT 59601
NORTH READING FIRE DEPARTMENT            152 PARK STREET NORTH READING MA 01864
NORTH RIVER BOATS INC                    1750 GREEN SIDING RD ROSEBURG OR 97471
NORTH RIVER LOGISTICS LLC                865 N RIVER RD MIDDLETOWN VA 22645
NORTH ROCK / CNA                         C/O NORTH ROCK INSURANCE COMPANY SPURLING HUNTER CANONS COURT HAMILTON HM 08
                                         BERMUDA
NORTH SHORE TOWING INC                   2527 OAKTON ST EVANSTON IL 60202
NORTH SIDE PLUMBING & HEATING            2234 NORTH CLINTON ST FORT WAYNE IN 46805
NORTH SOUTH TRANSPORT INC                OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V 6L4
                                         CANADA
NORTH STAR RANCH, INC.                   3575 W GRAND RIVER AVE HOWELL MI 48855
NORTH TECH EQUIPMENT REPAIR              PO BOX 6837 KENNEWICK WA 99336
NORTH TEXAS COVENANT TRANSPORT LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORTH TEXAS TOLLWAY AUTHORITY            PO BOX 660244 DALLAS TX 75266
NORTH TEXAS TRANSPORTATION LLC           PO BOX 565913 DALLAS TX 75356
NORTH TRUST TRUCKING & COURIER SERVICES 6501 ARLINGTON EXPRESSWAY B105 JACKSONVILLE FL 32211
NORTH TRUST TRUCKING & COURIER SERVICES OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NORTH VALLEY DISTRIBUTING                ATTN: TODD WILSON 3081 CROSSROADS DR REDDING CA 96003
NORTH WAY EXPRESS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NORTH WAY EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NORTH WEST HANDLING SYSTEMS, INC.        PO BOX 749861 LOS ANGELES CA 90074
NORTH WEST TRUCKING                      428 FAYVILLE RD GALWAY NY 12074
NORTH WOLF LOGISTICS GROUP INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORTH, BRUCE                             ADDRESS ON FILE
NORTH, SHAWN                             ADDRESS ON FILE
NORTH, WILLIAM                           ADDRESS ON FILE
NORTHAM LOGISTICS LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
NORTHAMPTON PEANUT CO                    ATTN: CRYSTAL STAUFFER PO BOX 149 SEVERN NC 27877
NORTHAMPTON PEANUT CO                    ATTN: MELISSA FOWLER CLAIMS DEPT MAIN & VIRCAR ST SEVERN NC 27877
NORTHBOUND TRANSPORT INC                 14720 55TH AVE CT E PUYALLUP WA 98375
NORTHCENTRAL ELECTRIC COOP               4600 NORTHCENTRAL WAY OLIVE BRANCH MS 38654
NORTHCROSS, TERRY                        ADDRESS ON FILE
NORTHCUTT, ROGER                         ADDRESS ON FILE
NORTHEAST DOOR SALES CO                  3221 SCRANTON CARBONDALE HWY BLAKELY PA 18447
NORTHEAST EXPRESS LLC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
NORTHEAST FENCE & IRON WORKS INC         8451 HEGERMAN STREET PHILADELPHIA PA 19136
NORTHEAST FIRST AID & SAFETY             1275 CROMWELL 11 AVE UNIT B 1 ROCKY HILL CT 06067
NORTHEAST FIRST AID & SAFETY             1275 CROMWELL AVE., STE B1 ROCKY HILL CT 06067
NORTHEAST MOTOR LINE LLC                 PO BOX 356 BRUNSWICK OH 44212
NORTHEAST MOTOR LINE LLC                 OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
NORTHEAST OHIO REGION SWR DIST           MCMONAGLE ADMINISTRATION BUILDING 3900 EUCLID AVENUE CLEVELAND OH 44115
NORTHEAST OHIO REGIONAL SEWER DISTRICT   3900 EUCLID AVE. (ATTN: ANKA M. DAVIS) CLEVELAND OH 44115
NORTHEAST TRANS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NORTHEAST TRANSPORT INC                  13494 PORT DR LAREDO TX 78045
NORTHEAST TRANSPORT INC (MC947724)       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
NORTHEAST TRANSPORT, INC.                506 SOUTH FIFTH STREET READING PA 19602



Epiq Corporate Restructuring, LLC                                                                 Page 1389 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1398 of 2156

Claim Name                            Address Information
NORTHEAST TRUCK & TRAILER CO          CORPORATE BILLING DEPT 100, POBOX 830604 BIRMINGHAM AL 35283
NORTHEASTERN PETROLEUM                D/B/A: NORTHEASTERN PETROLEUM SERVICE & SUPPLY, INC 37 BROOKLEY ROAD BOSTON MA
                                      02130
NORTHEASTERN PETROLEUM SERVICE        & SUPPLY INC 51-B STREET BAY-2 HANOVER MA 02339
NORTHEASTERN REHABILITATION           ATTENTION: BILLING DEPARTMENT 5 MORGAN HIGH WAY, STE 4 SCRANTON PA 18508
NORTHEASTERN SEALCOAT & PAVING        2117 BUFFALO RD, 295 ROCHESTER NY 14624
NORTHEASTERN TRANSFER, INC.           8855 M-65 SOUTH POSEN MI 49776
NORTHEND WAREHOUSINGLTD.              411B 50TH STREET EAST SASKATOON SK S7K 6K1 CANADA
NORTHERN ALLIANCE LOGISTICS           OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON NS L6T 5C5 CANADA
NORTHERN ARIZONA                      C/O RETRANS FREIGHT, 420 AIRPORT RD FALL RIVER MA 02720
NORTHERN ARIZONA                      RETRANS FREIGHT, 420 AIRPORT RD FALL RIVER MA 02720
NORTHERN BUILDING COMP                ATTN: SHARI LUZNEY 44815 CR 388 BLOOMINGDALE MI 49026
NORTHERN CALIFORNIA RECYCLING ASSOC   3544 ARDEN RD HAYWARD CA 94545
NORTHERN COAST TRANSPORTATION INC     OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
NORTHERN DOCK SYSTEMS INC             415 AMBASSADOR DR MISSISSAUGA ON L5T 2J3 CANADA
NORTHERN ENERGY                       PO BOX 1237 GAYLORD MI 49734
NORTHERN EXPRESS LLC                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
NORTHERN EXPRESS LOGISTICS LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORTHERN INDUSTRIAL                   756 N. OTSEGO DRIVE GAYLORD MI 49735
NORTHERN LIGHTS LINE STRIPING, INC    PO BOX 1411 KNIGHTDALE NC 27545
NORTHERN LINK LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NORTHERN LOGISTICS                    4915 E COLONVILLE RD CLARE 48617
NORTHERN LOGISTICS, INC.              23791 NEW YORK STATE ROAD 342 WATERTOWN NY 13601
NORTHERN LOGISTICS, INC. (CLARE MI)   PO BOX. 650 CLARE MI 48617
NORTHERN NEW ENGLAND                  BENEFIT TRUST, PO BOX 4604 MANCHESTER NH 03108
NORTHERN NEW ENGLAND BENEFIT          TRUST (ALLEGIANT CARE) 51 GOFFSTOWN RD MANCHESTER NH 03102
NORTHERN NEW ENGLAND BENEFIT TRUST    51 GOFFSTOWN RD MANCHESTER NH 03102
NORTHERN PRIDE EXPRESS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORTHERN SAFETY CO., INC.             PO BOX 4250 UTICA NY 13504
NORTHERN SKY TRUCKING LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NORTHERN TANK TRUCK SERVICE INC       PO BOX 8 WATERS MI 49797
NORTHERN TECHNOLOGY                   22 VILLAGE PARKWAY CIRCLE PINES MN 55014
NORTHERN TOOL & EQUIP ECHO            600 W CHICAGO AVE, STE 725 CHICAGO IL 60654
NORTHERN TOOL & EQUIPMENT             ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NORTHERN TOOL & EQUIPMENT             C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NORTHERN TOOL AND EQUIPMENT           ATTN: SHAKITA WEBB ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL
                                      60654
NORTHERN TOOL C/O ECHO                ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NORTHERN TOOL ECHO GLOBAL LO          ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
NORTHERN TOOL EQUIP                   PO BOX 1219 BURNSVILLE MN 55337
NORTHERN TOYOTA LIFT                  683 PINE ST BURLINGTON VT 05401
NORTHERN TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NORTHERN TST CO, THE (2669)           ATT ANDREW LUSSEN OR PROXY MGR 801 S. CANAL ST ATT: CAPITAL STRUCTURES-C1N
                                      CHICAGO IL 60607
NORTHGATE CONSTRUCTORS AJV            ATTN: KIMBERLY BELLAMY 5354 E LOOP 820 S FORT WORTH TX 76119
NORTHLAKE LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NORTHLAND INC.                        4078 STRATFORD LN CARPENTERSVILLE IL 60110
NORTHLAND LOGISTICS LLC               OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
NORTHLAND PETROLEUM SERVICE           22743 171ST STREET BIG LAKE MN 55309
NORTHLAND SYSTEMS, INC.               9560 85TH AVE N MAPLE GROVE MN 55369


Epiq Corporate Restructuring, LLC                                                                Page 1390 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1399 of 2156

Claim Name                              Address Information
NORTHLINE                              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
NORTHMEX TRUCKING LLC                  OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
NORTHPOINT TRANSPORTATION INC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NORTHPOINTE BPLP                       ATTN: GARY TAMOUZIAN 8570 S CEDAR AVE FRESNO CA 93725-8905
NORTHRIDGE EXPRESS, INC.               OR CONCEPT FINANCIAL GROUP INC PO BOX 490700 MINNEAPOLIS MN 55449
NORTHROP GRUMMAN                       1151 W REEVES AVE RIDGECREST CA 93555
NORTHSIDE SERVICE INC                  226 RUSSELL ST LANSING MI 48906
NORTHSIDE SERVICE INC                  226 RUSSELL LANSING MI 48906
NORTHSIDE TOWING                       541 NORTH 3RD STREET SOUTH PARK LA 71301
NORTHSIDE TRUCK & EQUIPME              N 6814 JULIA SPOKANE WA 99217
NORTHSIDE TRUCK BODY & EQUIP           PO BOX 55010 PORTLAND OR 97238
NORTHSTAR CARRIERS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NORTHSTAR ENVIRONMENTAL GROUP, INC.    417 N BLYTHE ST GALLATIN TN 37066
NORTHSTAR TRANSPORT INC.               OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T5C5 CANADA
NORTHSTAR TRANSPORT LLC                OR SWORD GATE CAPITAL, LLC, PO BOX 21003 CHARLESTON SC 29413
NORTHTIME LOGISTICS                    11 RUBYSILVER DR BRAMPTON ON L6P 1P9 CANADA
NORTHTRUCKING                          10416 LEOLANG AVENUE SUNLAND CA 91040
NORTHUP, BRIAN                         ADDRESS ON FILE
NORTHUP, CARLY                         ADDRESS ON FILE
NORTHUP, JOSEPH                        ADDRESS ON FILE
NORTHWEST CARRIER EXPRESS LLC          PO BOX 3662 FEDERAL WAY WA 98003
NORTHWEST ELECTRIC INC                 PO BOX 694 FAYETTEVILLE AR 72702
NORTHWEST EQUIPMENT SALES, INC.        2992 KINBERLY RD E TWIN FALLS ID 83301
NORTHWEST EQUIPMENT SALES, INC.        2405 S JANEEN ST BOISE ID 83709
NORTHWEST EQUIPMENT SALES, INC.        171 GATEWAY ROAD BURBANK WA 99323
NORTHWEST EXPRESS ENTERPRISES, INC.    1535 BROAD ST. MOUNT VERNON WA 98274
NORTHWEST FENCE CO INC                 14909 E SPRAGUE AVE SPOKANE WA 99216
NORTHWEST FREIGHT HANDLERS, INC.       PO BOX 48295 SPOKANE WA 99228
NORTHWEST FREIGHTLINER                 2120 RAND RD PALATINE IL 60074
NORTHWEST GA EXPRESS LLC               OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
NORTHWEST LAND & HARDSCAPES            134 SOUTH SECOND STREET PRIEST RIVER ID 83856
NORTHWEST OHIO URGENT CARE, INC.       PO BOX 1017 TOLEDO OH 43697
NORTHWEST PARKWAY                      3701 NORTHWEST PARKWAY BROOMFIELD CO 80023
NORTHWEST PIPE FITTING INC             1725 MAJESTIC LN BILLINGS MT 59102
NORTHWEST PREMIER DELIVERY LLC         6421 S 216TH ST KENT WA 98032
NORTHWEST PUMP & EQUIPMENT CO.         DEPT LA 25257 PASADENA CA 91185
NORTHWEST PUMP & EQUIPMENT CO.         2800 NW 31ST AVE PORTLAND OR 97210
NORTHWEST RADIATOR                     4715 E TRENT SPOKANE WA 99212
NORTHWEST SAFE CO                      830 COLE ST ENUMCLAW WA 98022
NORTHWEST TOWING RECOVERY INC.         2900 N MARTIN LUTHER KING BLVD MUNCIE IN 47304
NORTHWEST TRAILER CENTER INC           PO BOX 11096 SPOKANE VALLEY WA 99211
NORTHWEST TRAILER SALES & SERVICE, INC. PO BOX 6977 W T TOLEDO OH 43612
NORTHWEST TRANSPORTERS LLC             7945 14TH AVE SW SEATTLE WA 98106
NORTHWEST TRUCK                        D/B/A: NORTHWEST FREIGHTLINER 2120 RAND RD PALATINE IL 60074
NORTHWEST TRUCK REPAIR INC             1200 E OREGON LN KALISPELL MT 59901
NORTHWEST TRUCK REPAIR INC             PO BOX 774 KALISPELL MT 59903
NORTHWEST TRUCK SERVICE                4477 ROBIN ROAD EAU CLAIRE WI 54703
NORTHWESTERN ELECTRIC INC              PO BOX 1058 MINOT ND 58702
NORTHWESTERN ENERGY                    3010 W 69TH ST SIOUX FALLS SD 57108-5613



Epiq Corporate Restructuring, LLC                                                                 Page 1391 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1400 of 2156

Claim Name                           Address Information
NORTHWESTERN REPAIR                  2551 FLYNN LANE MISSOULA MT 59808
NORTHWESTERN REPAIR LLC              2551 FLYNN LN MISSOULA MT 59808
NORTHWESTERN TOWING                  10721 NE SIMPSON PORTLAND OR 97220
NORTHWESTERN WATER & SEWER DIS       P.O. BOX 348 BOWLING GREEN OH 43402
NORTHWESTERN WATER & SWR DIST        12560 MIDDLETON PIKE BOWLING GREEN OH 43402
NORTHWOOD DOOR, LLC                  P.O. BOX 563 WALBRIDGE OH 43465
NORTHWOOD MANUFACTURING INC          PO BOX 3359 LA GRANDE OR 97850
NORTIA LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NORTON ELECTRIC                      1375 N BROADWAY LOS ANGELES CA 90012
NORTON HOSPITAL                      4960 NORTON HEALTHCARE BLVD. LOUISVILLE KY 40241
NORTON ROSE CANADA LLP               STE 3800, 200 BAY ST, S TOWER TORONTO ON M5J 2Z4 CANADA
NORTON ROSE FULBRIGHT US LLP         DEPT 2613, PO BOX 122613 DALLAS TX 75312
NORTON TRUCKING INC                  1327 STANFORD DR KANKAKEE IL 60901
NORTON, ALIZE                        ADDRESS ON FILE
NORTON, DEBRA                        ADDRESS ON FILE
NORTON, DEETTE                       ADDRESS ON FILE
NORTON, JAMES                        ADDRESS ON FILE
NORTON, JEREMY                       ADDRESS ON FILE
NORTON, MATT G                       ADDRESS ON FILE
NORTON, REGINALD                     ADDRESS ON FILE
NORTON, RICHARD                      ADDRESS ON FILE
NORTON, SCOTT                        ADDRESS ON FILE
NORTON, THOMAS                       ADDRESS ON FILE
NORTON, TIMOTHY                      ADDRESS ON FILE
NORUM, ALEX                          ADDRESS ON FILE
NORUM, SCOTT                         ADDRESS ON FILE
NORVELL, CHRIS                       ADDRESS ON FILE
NORVELL, TONY                        ADDRESS ON FILE
NORWAY AIR CONDITIONING INC          406 BOOMTOWN ST LAREDO TX 78043
NORWAY SPRINGS INC                   1001 STEPHENSON ST., SUITE G NORWAY MI 49870
NORWECO                              ATTN: MELISSA CRISWELL 220 REPUBLIC ST NORWALK OH 44857
NORWOOD, JANA                        ADDRESS ON FILE
NORWOOD, MONTE                       ADDRESS ON FILE
NORWOOD, PAUL                        ADDRESS ON FILE
NORWOOD, PAUL                        ADDRESS ON FILE
NOS LOGIX LLC                        OR QP CAPITAL LLC, PO BOX 150145 OGDEN UT 84415
NOS TRANSPORTATION INC               OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
NOS TRANSPORTATION INC               8309 LAUREL CANYON BLVD 149 SUN VALLEY CA 91352
NOSA LLC                             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NOSEWORTHY, GERALD                   ADDRESS ON FILE
NOSIRI, EMEKA                        ADDRESS ON FILE
NOSS, KENDRA                         ADDRESS ON FILE
NOTIONS MARKETING                    AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
NOTO, ANDREW                         ADDRESS ON FILE
NOTT, NICOLE                         ADDRESS ON FILE
NOTTO LOGISTICS INC                  OR W W PAYMENT SYSTEM INC DEPT. 996 PO BOX 14910 HUMBLE TX 77347-4910
NOU, SENG                            ADDRESS ON FILE
NOUNES, AHMED                        ADDRESS ON FILE
NOUROUDINE, MOHAMMAD M               ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1392 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1401 of 2156

Claim Name                            Address Information
NOURYON CHEMICALS                     131 S DEARBORN ST. SUITE 1000 CHICAGO IL 60603-5566
NOVA 4 INC                            34396 N EASTING WAY GURNEE IL 60031
NOVA CARRIERS INC                     OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
NOVA FREIGHT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NOVA FREIGHT LLC (MC1161243)          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NOVA HEALTHCARE CENTERS               PO BOX 840066 DALLAS TX 75284
NOVA HEALTHCARE CENTERS               616 FM 1960 STE 530 HOUSTON TX 77090
NOVA HEALTHCARE TN, PLLC              PO BOX 840138 DALLAS TX 75284
NOVA HEALTHCARE, P.A.                 PO BOX 840066 DALLAS TX 75284
NOVA KOOL MANUFACTURING INCORP        ATTN: MIGUEL DE GUZMAN 1578 HARTLEY AVE COQUITLAM BC V3K 7A1 CANADA
NOVA LINES INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NOVA MEDICAL CENTERS                  PO BOX 848513 DALLAS TX 75284
NOVA SOLO FURNITURE LLC               BMO HARRIS BANK, PO BOX 88840 CAROL STREAM IL 60188-0840
NOVA START INC                        16165 N 83RD AVE STE 200 PEORIA AZ 85382
NOVA TILE & STONE                     2548 BUSINESS PKWY MINDEN NV 89423
NOVA TRANSPORT INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NOVA WILDCAT SHUR-LINE HOLDINGS       (H2 GROUP) ATTN: GENERAL COUNSEL 324A HALF ACRE ROAD CRANBURY NJ 08512
NOVA, DIMAS                           ADDRESS ON FILE
NOVACARE REHABILITATION               PO BOX 643361 PITTSBURGH PA 15264
NOVACEL                               21 3RD ST PALMER MA 01069
NOVACHEK, MICHAEL                     ADDRESS ON FILE
NOVAK, DAVID                          ADDRESS ON FILE
NOVAK, ERIC                           ADDRESS ON FILE
NOVAK, FRANK A                        ADDRESS ON FILE
NOVAK, JOHN                           ADDRESS ON FILE
NOVAK, MICHAEL                        ADDRESS ON FILE
NOVAK, MICHAEL                        ADDRESS ON FILE
NOVANT HEALTH OCCUPATIONAL MEDICINE   PO BOX 71052 CHARLOTTE NC 28272
NOVAS EXPRESS INC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
NOVATRANZ INC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NOVEL TRANSPORT INC                   17 ADDISCOTT ST BRAMPTON ON L6R 0Y2 CANADA
NOVELTY LIGHTS INC                    9800 E EASTER AVE STE 160 ENGLEWOOD CO 80112
NOVENCIDO, CARMINA                    ADDRESS ON FILE
NOVEX                                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NOVEXCO                               950 PLACE PAUL-KANE LAVAL QC H7C 2T2 CANADA
NOVEXCO                               100-103 A STEELCASE ROAD EAST MARKHAM ON L3R 1E8 CANADA
NOVEXCO                               1325 CLARK BLVD, UNIT 1 BRAMPTON ON L6T 5R5 CANADA
NOVI TRUCKING INC                     OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
NOVICIC, CVETKO                       ADDRESS ON FILE
NOVKOVIC TEN INC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
NOVO TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NOVOLEX BAGCRAFT PACKAGING            ATTN: LAURA GARRISON PO BOX 518 LOWELL AR 72745
NOVOLEX HERITAGE BAG                  ATTN: LAURA GARRISON PO BOX 518 LOWELL AR 72745
NOVOLEX-SHEILDS                       TRANSPLACE, PO BOX 518 LOWELL AR 72745
NOVOLEX-SHIELDS                       C/O TRANSPLACE, PO BOX 518 LOWELL AR 72745
NOVOLEX-SHIELDS                       CARGO CLAIMS PO BOX 518 LOWELL AR 72745
NOVOSEL, DAMEON                       ADDRESS ON FILE
NOVOTNY, NICK                         ADDRESS ON FILE
NOVROS TRANS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                Page 1393 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1402 of 2156

Claim Name                           Address Information
NOW DELIVERY & LOGISTICS LLC         4580 AIRWEST DR SE KENTWOOD MI 49512
NOW FOODS                            244 KNOLLWOOD DR STE 300 BLOOMINGDALE IL 60108
NOW OR NEVER TRANSPORTATION LLC      OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
NOW TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NOW TRANSPORTATION LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
NOW WON TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NOWAK SUPPLY CO INC                  302 W SUPERIOR ST FORT WAYNE IN 46802
NOWAK SUPPLY CO INC                  302 W SUPERIOR FT WAYNE IN 46802
NOWAK, BRETT                         ADDRESS ON FILE
NOWAK, DANIEL                        ADDRESS ON FILE
NOWAK, DAVID                         ADDRESS ON FILE
NOWAK, KERRY                         ADDRESS ON FILE
NOWAK, THOMAS                        ADDRESS ON FILE
NOWAKOWSKI, ANDREW                   ADDRESS ON FILE
NOWAKOWSKI, ANTHONY                  ADDRESS ON FILE
NOWCARE PHYSICIANS PC                PO BOX 7068 PORTSMOUTH VA 23707
NOWELL, CHRISTOPHER                  ADDRESS ON FILE
NOWERS, COLE                         ADDRESS ON FILE
NOWERS, JACOB                        ADDRESS ON FILE
NOWERS, PADEN                        ADDRESS ON FILE
NOWICKI, JOHN                        ADDRESS ON FILE
NOWICKI, LAWRENCE                    ADDRESS ON FILE
NOWICKI, LAWRENCE                    ADDRESS ON FILE
NOWICKI, RICHARD                     ADDRESS ON FILE
NOWLIN, ANTOINE                      ADDRESS ON FILE
NOWLIN, DOUGLAS                      ADDRESS ON FILE
NOWLIN, JAMES                        ADDRESS ON FILE
NOWLIN, RODRIGUEZE L                 ADDRESS ON FILE
NOWLIN, TIMOTHY                      ADDRESS ON FILE
NOWOWIEJSKI, JOHN                    ADDRESS ON FILE
NOWTRUCKING 365 LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NOX SERVICES LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NOXCUSE TRANSIT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NOXPANGO BUSTAMANTE, OSCAR           ADDRESS ON FILE
NOYES TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NOYSE, ROBERT                        ADDRESS ON FILE
NOZZLE NOLEN INC                     3975 COCONUT RD LAKE WORTH FL 33461
NP CARRIERS LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
NP FREIGHT INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NP LOGISTICS INC                     OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
NPK FREIGHT LLC                      3815 GUNNISON DR IRVING TX 75063-3548
NR TRUCKING LLC                      OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
NRAR HAULING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NRC                                  400 HARLEY KNOX BLVD. PERRIS CA 92571
NRE PADUCAH                          PO BOX 1416 MOUNT VERNON IL 62864
NRG & ASSOCIATES                     107 PIMLICO DRIVE DILLSBURG PA 17019
NRG LOGISTICS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NRG TRUCKING COMPANY                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NRG TRUCKLINES INC                   OR CROSSROAD SERVICES LLC P.O. BOX 653076 DALLAS TX 75265-3076



Epiq Corporate Restructuring, LLC                                                               Page 1394 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1403 of 2156

Claim Name                              Address Information
NRH TRANSPORT INC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NRI DISPATCH SERVICES LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NRJ LOGISTICS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305-1415
NRJJ TRANSPORT INC                     OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
NRT LLC                                OR GREAT PLAINS TRANSPORTATION SERVICES INC, PO BOX 4539 CAROL STREAM IL
                                       60197-4539
NS BROTHERS INC                        OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
NS EXPRESS LLC                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
NS RR TRL 142780                       ATTN TOREN ELSEN 3 COMMERCIAL PL NORFOLK VA 23510
NS RR TRL 143601 RAIL DMG              ATTN TOREN ELSEN 3 COMMERCIAL PL NORFOLK VA 23510
NS SANDHU TRUCKLINE INC                4111 N BLYTHE AVE APT 210 FRESNO CA 93722
NS TRANSPORT                           400 N BERRY ST BREA CA 92821
NS TRUCKING INC (MC049687)             12233 COBBLESTONE DR FISHERS IN 46037-3903
NSB TRANSPORTATION INC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NSD LOGISTICS INC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NSH TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NSJ TRANSPORT, LLC                     OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
NSL TRUCKING INC                       OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
NSLI RESTORATION INC                   501 MIDDLE COUNTRY RD CORAM NY 11727
NSN TRANSPORT                          2261 RUE DE NICE SAINT-LAZARE QC J7T 2C4 CANADA
NSONE INC                              55 BROAD ST, 19TH FLOOR NEW YORK NY 10004
NSP TRANSPORTATION INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NSR FREIGHT CARRIERS LLC               7 GOODYEAR LN BURLINGTON NJ 08016-3417
NSRR                                   ATTN TOREN ELSEN 3 COMMERCIAL PL NORFOLK VA 23510
NSRR - TRL 139869                      650 W PEACHTREE ST NW ATLANTA GA 30308
NSRR - TRL 530058                      ATTN TOREN ELSEN 3 COMMERCIAL PL NORFOLK VA 23510
NSRR, TRL 139292                       650 W PEACHTREE ST NW ATLANTA GA 30308
NSTAR ELECTRIC COMPANY D/B/A EVERSOURCE 105 HOLLIS STREET FRAMINGHAM MA 01702
NSTAR ELECTRIC COMPANY D/B/A EVERSOURCE C/O BOLDEN & BONFIGLIO, LLC ATTN: JOSEPH BONFIGLIO 40 LOWELL STREET PEABODY MA
                                        01960
NSW TRUCKING INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NT LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NT TRANSPORTATION LLC                  OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
NTB LOGISTICS, INC.                    P.O. BOX 335 FULTONVILLE NY 12072
NTI                                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NTIRUGELEGWA, HUSSEIN                  ADDRESS ON FILE
NTK EXPRESS LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
NTK LOGISTICS TRANSPORTATION           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NTL                                    NTL, 9933 DOVE SHELL WAY ELK GROVE CA 95757
NTL (MANTECA CA)                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NTL (MC1087722)                        OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FT WORTH TX 76116
NTL BRANDS                             ATTN: KIM PLATT 3901 PIPESTONE RD DALLAS TX 75212
NTL TRUCKING LLC                       OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
NTL TRUCKING LLC (HASLET TX)           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NTM TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NTONI, ISAAC                           ADDRESS ON FILE
NTSS USA LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NTT DATA SERVICES LLC                  P.O. BOX 677956 DALLAS TX 75267
NTT TRANSPORT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                 Page 1395 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1404 of 2156

Claim Name                               Address Information
NTTS BREAKDOWN INC                       PO BOX 57012 UNIT 1 MISSISSAUGA ON L5M 0M5 CANADA
NTX HAULERS LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NU AGE LOGISTICS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NU GENERATION TRANSIT INC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NU NATURALS                              2220 W 2ND AVE STE 1 EUGENE OR 97402
NU NATURALS                              2220 W 2ND AVE EUGENE OR 97402
NU WAY CONCRETE FORMS, INC.              4190 HOFFMEISTER AVENUE SAINT LOUIS MO 63125
NU-LITE ELECTRIC                         2406 W. CHURCH ST. HAMMOND LA 70401
NU-WAY                                   FUEL DISTRIBUTORS, 7450 HALL ST ST LOUIS MO 63147
NU-WAY FUEL DISTRIBUTORS CO              7450 HALL ST ST LOUIS MO 63147
NU-WAY REPAIR CO                         7450 HALL ST ST LOUIS MO 63147
NUART GALLERY                            ATTN: JUAN KELLY 670 CANYON RD SANTA FE NM 87501
NUCCI BROS. TRANSPORT INC.               145 OVAL DRIVE ISLANDIA NY 11749
NUCHIMANIYANDA, VINUTHA                  ADDRESS ON FILE
NUCHOLS, MITCHELL A                      ADDRESS ON FILE
NUCKLES, RONALD                          ADDRESS ON FILE
NUCKOLS PLUMBING & GAS                   2245 DABNEY RD. RICHMOND VA 23230
NUCOR LMP                                2000 E 1ST ST MARYVILLE MO 64468
NUDO PRODUCTS                            ATTN: TINA WENDLING 1500 TAYLOR AVE SPRINGFIELD IL 62703
NUDO, PATRICK                            ADDRESS ON FILE
NUECES COUNTY ASSESSOR & TAX COLLECTOR   PO BOX 2810 CORPUS CHRISTI TX 78403
NUERNBERGER, ERIC                        ADDRESS ON FILE
NUESSEN, SANDRA                          ADDRESS ON FILE
NUG TRUCKING LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NUGAAL TRUCKING LLC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
NUGENT, ALEXANDER                        ADDRESS ON FILE
NUGENT, RANDALL                          ADDRESS ON FILE
NUKA EXPRESS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NUKS TRANSPORTATION                      OR J.O.B.E SERVICES INC P.O. BOX 4346 DEPT. 22 HOUSTON TX 77210-4346
NULINE DELIVERY                          9043 SIEMPRE VIVA RD STE 130 SAN DIEGO CA 92154
NULL FURNITURE INC                       PO BOX 308 NEWTON NC 28658
NULL, DUSTIN                             ADDRESS ON FILE
NULL, GARRETT                            ADDRESS ON FILE
NULL, SCOTT                              ADDRESS ON FILE
NULTON, JEFFREY                          ADDRESS ON FILE
NULTON, JEFFREY L                        ADDRESS ON FILE
NUMBER 1 INDUSTRIAL                      ATTN: JAY MCMANUS 400 S 25TH ST LOUISIANA MO 63353
NUMBER 1 MOVING                          11668 TUXFORD STREET SUN VALLEY CA 91352
NUMBER 1 TRANSPORTATION, L.L.C.          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NUNES LOGISTICS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NUNES TRANSPORTATION LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NUNES, DWAYNE                            ADDRESS ON FILE
NUNES, TONY                              ADDRESS ON FILE
NUNEZ CEREZO, LAZARO                     ADDRESS ON FILE
NUNEZ, ALEXIS                            ADDRESS ON FILE
NUNEZ, ALFRED                            ADDRESS ON FILE
NUNEZ, CHRISTOPHER                       ADDRESS ON FILE
NUNEZ, GILBERTO                          ADDRESS ON FILE
NUNEZ, HUGO                              ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1396 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1405 of 2156

Claim Name                          Address Information
NUNEZ, JORGE                        ADDRESS ON FILE
NUNEZ, JOSE                         ADDRESS ON FILE
NUNEZ, MAURICIO                     ADDRESS ON FILE
NUNEZ, OSCAR                        ADDRESS ON FILE
NUNEZ, RAMON                        ADDRESS ON FILE
NUNEZ, RUBEN                        ADDRESS ON FILE
NUNEZ-MCCAFFERTY, CINDY             ADDRESS ON FILE
NUNLEY, JERRY                       ADDRESS ON FILE
NUNLEY, VAUDRA                      ADDRESS ON FILE
NUNN, BIANCA                        ADDRESS ON FILE
NUNN, CHANDLER                      ADDRESS ON FILE
NUNN, DOMINQUE                      ADDRESS ON FILE
NUNN, JAMES                         ADDRESS ON FILE
NUNN, JAMIE                         ADDRESS ON FILE
NUNN, JEMAREAU                      ADDRESS ON FILE
NUNN, KENNARD                       ADDRESS ON FILE
NUNO TRANSPORT                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
NUNO, ANTHONY                       ADDRESS ON FILE
NUNOW TRUCKING LLC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
NUOVA DIST CENTER                   6940 SALASHAN PKWY A FERNDALE WA 98248
NUPLA CORP                          29E MADISON STE 900 CHICAGO IL 60602
NURIAK INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NURISH BRANDS, INC.                 ATTN: GENERAL COUNSEL 29488 WOODWARD AVE STE 270 ROYAL OAK MI 48073
NURISH BRANDS, INC.                 C/O: GIARMARCO, MULLINS & HORTON, P.C. ATTN: GEOFFREY S. WAGNER 101 WEST BIG
                                    BEAVER ROAD TROY MI 48084
NUROTA INC                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
NURPURI TRANS INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NURSE ASSIST                        4409 HALTOM RD HALTOM CITY TX 76117
NURSE ASSIST INC                    ATTN: CHERYL MARTIN CUSTOMER SERVICE 4409 HALTOM RD HALTOM CITY TX 76117
NUSBAUM, DAVID                      ADDRESS ON FILE
NUSS EQUIPMENT                      PO BOX 6699 ROCHESTER MN 55903
NUSS TRUCK & EQUIPMENT              12540 DUPONT AVE S BURNSVILLE MN 55337
NUSS TRUCK & EQUIPMENT              9403 WEST GATE BLVD. DULUTH MN 55810
NUSS TRUCK & EQUIPMENT              PO BOX 6699, 6500 HWY 63 ROCHESTER MN 55903
NUTRACEUTICAL CORP                  223 N 600 W 3C BAY 5 OGDEN UT 84404
NUTRI BON                           510 MADRID AVE TORRANCE CA 90501
NUTRITION DISTRIBUTION CO           510 MADRID AVE TORRANCE CA 90501
NUTTER, CHAD                        ADDRESS ON FILE
NUTTER, ROBERT                      ADDRESS ON FILE
NUTTER, SCOTT                       ADDRESS ON FILE
NUVERA                              PO BOX 697 NEW ULM MN 56073
NUWAY LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NUWAY LOGISTICS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
NUXOLL, JASON                       ADDRESS ON FILE
NV CARRIERS LLC                     OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
NV ENERGY                           6226 W. SAHARA AVE. LAS VEGAS NV 89146
NV FREIGHT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
NV GLADIATOR LOGISTICS              OR RIVIEREA FINANCE, PO BOX 850243 MINNEAPOLIS MN 55485-0243
NV LOGISTICS INC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                             Page 1397 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1406 of 2156

Claim Name                           Address Information
NVA TRANSPORTATION INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NVB EQUIPMENT, INC.                  PO BOX 2367 FRESNO CA 93745
NVC LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
NVC LOGISTICS LLC                    1917 N RD AVE PASCO WA 99301
NVC LOGISTICS LLC (MC1164785)        4255 WESTBROOK DR STE 207 AURORA IL 60504
NVENT                                2100 HOFFMAN WAY TRAFFIC ANOKA MN 55303
NVENT                                ATTN LOGISTICS, 2100 HOFFMAN WAY ANOKA MN 55303
NVENT HOFFMAN ENCLOSURES             2100 HOFFMAN WAY ANOKA MN 55303
NVENT/HOFFMAN ENCLOSURES             100 HOFFMAN WAY-TRAFFIC ANOKA MN 55303
NVG EXPRESS LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NVISION GLOBAL0060079901)            1900 BRANNAN RD STE 300 MCDONOUGH GA 30253
NVK LOGISTICS INC.                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
NVN LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NVR EXPRESS INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
NW 5B OFFICE AND RETAIL LLC          5036 BROADWAY PL STE 216 NASHVILLE TN 37203
NW 5B OFFICE AND RETAIL LLC          ATTN: MONIKA HARTMAN 5036 BROADWAY PLACE SUITE 216 NASHVILLE TN 37203
NW FLEET TRUCKTRAILER REPAIR INC     1427 132ND ST S E EVERETT WA 98208
NW NATURAL                           250 SW TAYLOR ST PORTLAND OR 97204
NW SCIENTIFIC INC                    725 LOHWEST LN UNIT M BILLINGS MT 59106
NW XPRESS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
NWESTCO LLC                          2209 ZEUS COURT BAKERSFIELD CA 93308
NWESTCO LLC                          ATTN: M STROMECKI 2209 ZEUS CT BAKERSFIELD CA 93308
NWESTCO LLC                          PO BOX 82285 BAKERSFIELD CA 93380
NWESTCO LLC                          6292 SAN IGNACIO AVE STE E SAN JOSE CA 95119
NWF LOGISTICS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
NXI                                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
NXTGEN EXTERIORS INC                 800 LUND BLVD ANOKA MN 55303
NXTGEN PLUMBING                      2230 S 27TH ST OMAHA NE 68105
NY BLAZE TRUCKING INC                115 MCKINLEY ST BRENTWOOD NY 11717-3122
NY DEPT OF PARKS & RECREATION        1234 5TH AVE NEW YORK NY 10029
NY DOT                               NY-30 AMSTERDAM NY 12010
NY FAST EXPRESS INCORPORATED         OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
NY ST TEAMSTERS                      PENSION & RET FUND, PO BOX 4928 SYRACUSE NY 13221
NY STATE TEAMSTERS COUNCIL           JOHN A. BULGARO, CO-CHAIRMAN 151 NORTHERN CONCOURSE SYRACUSE NY 13212-4047
NY STATE TEAMSTERS COUNCIL           PENSION FUND, PO BOX 4928 SYRACUSE NY 13221
NY STATE TEAMSTERS COUNCIL           WELFARE FUND, PO BOX 4928 SYRACUSE NY 13221
NY TRANS EXPRESS INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
NY TRANSPORT INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
NY URGENT CARE PRACTICE PC           DBA WELLNOW UC CICERO, PO BOX 10459 ALBANY NY 12201
NYABUTO, OBADIAH                     ADDRESS ON FILE
NYAKANGO, JOSEPH                     ADDRESS ON FILE
NYANDA ENTERPRISE LLC                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
NYB VENTURES GROUP INC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
NYBERG, DEREK                        ADDRESS ON FILE
NYBERG, DEREK E                      ADDRESS ON FILE
NYC DEPARTMENT OF FINANCE            OFFICE OF THE SHERIFF 30-10 STARR AVENUE LONG ISLAND CITY NY 11101
NYC DEPARTMENT OF FINANCE            GENERAL CORPORATION TAX, PO BOX 5070 KINGSTON NY 12402
NYC DEPT OF FINANCE                  P.O. BOX 3615 CHURCH STREET STATION NEW YORK NY 10008
NYC FIRE DEPARTMENT                  P.O. BOX 412014 BOSTON MA 02241



Epiq Corporate Restructuring, LLC                                                               Page 1398 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1407 of 2156

Claim Name                               Address Information
NYC SANITATION DEPT.                     125 WORTH ST NEW YORK NY 10013
NYC TRANS INC                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
NYC TRANSPORT INC                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
NYC TRUCKING INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NYC WATER BOARD                          59-17 JUNCTION BLVD QUEENS NY 11373
NYCDOT                                   55 WATER STREET NEW YORK NY 10041
NYCUM, SCOTT                             ADDRESS ON FILE
NYE, LARRY                               ADDRESS ON FILE
NYE, STEVEN                              ADDRESS ON FILE
NYE, SUSAN                               ADDRESS ON FILE
NYES WRECKER SERVICE INC                 801 S LIBERTY ST MUNCIE IN 47302
NYGAARD, RANDAL C                        ADDRESS ON FILE
NYGHT, KYLE                              ADDRESS ON FILE
NYHOFF, RONALD                           ADDRESS ON FILE
NYKAZA, HENRY                            ADDRESS ON FILE
NYM TRUCKING                             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
NYM TRUCKING                             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
NYMAN, DOUGLAS                           ADDRESS ON FILE
NYOTA LOGISTICS LLC                      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
NYPD                                     51-15 58TH ST QUEENS NY 11377
NYQZ TRANSPORT INC                       24 JAMES ST APT 4A NEW YORK NY 10038
NYS DEPT OF ENVIRONMENTAL CONSERVATION   625 BROADWAY ALBANY NY 12233
NYS DEPT OF ENVIRONMENTAL CONSERVATION   625 BROADWAY 10TH FLOOR ALBANY NY 12233
NYS DEPT OF ENVIRONMENTAL CONSERVATION   PO BOX 784971 PHILADELPHIA PA 19178
NYS DEPT OF TAXATION & FINANCE           STATE CAMPUS ALBANY NY 12227
NYS DEPT OF TAXATION & FINANCE           PO BOX 4127 BINGHAMTON NY 13902
NYSDEC                                   REGION 4, 1130 NORTH WESTCOTT RD SCHENECTADY NY 12306
NYSDEC                                   REGION 3, 21 SOUTH PUTT CORNERS RD NEW PALTZ NY 12561
NYSDEC                                   REGION 9, 270 MICHIGAN AVE BUFFALO NY 14203
NYSR TRUCKING LLC                        2505 PALISADE AVE UNIT 1 UNION CITY NJ 07087
NYSR TRUCKING LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
NYZ TRUCKING INC                         OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
O & J FAST TRUCKING INC                  OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
O & S TRANSPORT LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
O BROTHERS TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
O BS EXPRESS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
O CONNOR HARDWARE                        446 BOSTON RD BILLERICA MA 01821
O D TRUCKING                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
O DISTANCE EXPRESS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
O DRISCOLL, KIERAN                       ADDRESS ON FILE
O J TRANSPORT INC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
O K B TRANSPORT INC.                     5822 BEESTON LN HOUSTON TX 77084
O K TRANSPORT LLC                        647 SW CHERRY PK RD, PO BOX 593 TROUTDALE OR 97060
O P E U WELFARE FUND                     MARANA BENEFITS ADMIN INC, PO BOX 1320 SUISUN CITY CA 94585
O P TRANSPORTATION LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
O SHEA, DAN                              ADDRESS ON FILE
O T TRUCKING LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
O T TRUCKING LLC                         OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
O TOOLS                                  541 BURTON ST SW, DOOR 6 GRAND RAPIDS MI 49507



Epiq Corporate Restructuring, LLC                                                                   Page 1399 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1408 of 2156

Claim Name                             Address Information
O&L TRUCKING LLC                       OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
O-WRIGHT LLC                           OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
O.K. TRANSPORT, INC.                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
O.T.M TRUCKING                         OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139
O11 NETWORK INC                        OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
O2R GLOBAL LLC                         OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
OAK BROOK MECHANICAL SERVICES, INC     961 S. ROUTE 83 ELMHURST IL 60126
OAK BROOK MECHANICAL SERVICES, INC     HEATING AND AIR CONDITIONING 961 S. ROUTE 83 ELMHURST IL 60126
OAK CREEK WATER & SEWER                170 W DREXEL AVENUE OAK CREEK WI 53154
OAK EXPRESS TRANSPORT INC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
OAK GROVE FARM                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
OAK GROVE TERMITE & PEST CONTROL LLC   12809 ST RT 554 BIDWELL OH 45614
OAK LEAF LAWN & LANDSCAPE LTD          P.O. BOX 148 GALLOWAY OH 43119
OAK LINE LLC                           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411
OAK MERCHANDISE & MANAGEMENT CO        OR TRIUMPH BUSINESS CAPITAL P.O. BOX 610028 DALLAS TX 75261-0028
OAK SERVICES                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OAK TRUCK LINES LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
OAK TRUCKERS LLC                       OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
OAKBRIDGE TRANSPORTATION INC.          3730 IVORY RD GLENELG MD 21737
OAKDALE ELECTRIC COOP                  489 N OAKWOOD ST TOMAH WI 54660
OAKES HAULING                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
OAKES, ALLEN                           ADDRESS ON FILE
OAKES, JAY                             ADDRESS ON FILE
OAKES, RUSSELL                         ADDRESS ON FILE
OAKES, TIMOTHY                         ADDRESS ON FILE
OAKLEAF, KEVIN                         ADDRESS ON FILE
OAKLEY, GEFFREY                        ADDRESS ON FILE
OAKLEY, JACOB                          ADDRESS ON FILE
OAKLEY, MICHAEL                        ADDRESS ON FILE
OAKLEY, RANDY                          ADDRESS ON FILE
OAKLEY, RICHARD                        ADDRESS ON FILE
OAKLEY, RICHARD                        ADDRESS ON FILE
OAKMON EXPRESS LLC                     13164 MOENART ST DETROIT MI 48212
OAKMONT TRANSPORT LLC                  OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
OAKS AUTO / TRUCK SERVICE LLC          1706 PITTSBURGH ST CHESWICK PA 15024
OAKS, JOSHUA                           ADDRESS ON FILE
OASIS LOGISTICS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
OASIS TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OATES, DEMARCUS                        ADDRESS ON FILE
OATES, TREMAYNE                        ADDRESS ON FILE
OATES, TREMAYNE                        ADDRESS ON FILE
OATS, STEVE                            ADDRESS ON FILE
OB TRACKING LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
OBAN TRANSPORTATION INC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
OBANDO, CARLOS                         ADDRESS ON FILE
OBANDO, EDWARD                         ADDRESS ON FILE
OBANKS, DYLAN                          ADDRESS ON FILE
OBANNON, LARRY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1400 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1409 of 2156

Claim Name                               Address Information
OBEID, MUSTAFA                           ADDRESS ON FILE
OBENG INTERNATIONAL & AMERICAN WEST      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
CORP
OBERENDER, KATHERINE                     ADDRESS ON FILE
OBERG, EMIL                              ADDRESS ON FILE
OBERHOLZER, KIRK                         ADDRESS ON FILE
OBERLEY, ROBIN                           ADDRESS ON FILE
OBERLIN, JERRY                           ADDRESS ON FILE
OBERMAN LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
OBERMARK, DANNY                          ADDRESS ON FILE
OBERMAYER REBMANN MAXWELL & HIPPEL LLP   CENTRE SQUARE WEST 1500 MARKET ST STE 3400 PHILADELPHIA PA 19102
OBERMEYER, CARL                          ADDRESS ON FILE
OBERMEYER, LEROY                         ADDRESS ON FILE
OBERNBERGER, MICHAEL                     ADDRESS ON FILE
OBERRENDER, DAVE                         ADDRESS ON FILE
OBERSTEADT, BAILEY                       ADDRESS ON FILE
OBERT, KERMIT                            ADDRESS ON FILE
OBERTO SAUSAGE COMPANY                   ATTN: DEANNA CRAFT 7060 OBERTO DR KENT WA 98032
OBERTO SNACK INC                         7060 OBERTO DR KENT WA 98032
OBERTO SNACKS                            ATTN: SARAH BARGER PO BOX 84931 SEATTLE WA 98124
OBERTO SNACKS                            PO BOX 84931 SEATTLE WA 98124
OBERTO SNACKS INC                        22513 54TH AVE S KENT WA 98032
OBERTO SNACKS INC                        ATTN: MICHELLE FREED 7060 OBERTO DR KENT WA 98032
OBERTO SNACKS INC.                       ATTN: KIMBERLY SMITH 22513 54TH AVE S KENT WA 98032
OBEY, JULIAN                             ADDRESS ON FILE
OBI FREIGHT INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OBIDOS, ROBIN                            ADDRESS ON FILE
OBIE CARTER JR                           ADDRESS ON FILE
OBILLO, EDUARDO                          ADDRESS ON FILE
OBINO, AKROYD                            ADDRESS ON FILE
OBIO LOGISTICS INC                       24 HOWARD SQ BROCKTON MA 02301
OBRADOR TRANSPORT LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
OBRADOVIC TRUCKING INC.                  2307 TRIBUTE DRIVE ARNOLD MO 63010
OBRAN, DALE                              ADDRESS ON FILE
OBRAY, CHRISTIAN                         ADDRESS ON FILE
OBRIEN, AUSTIN                           ADDRESS ON FILE
OBRIEN, AUSTIN                           ADDRESS ON FILE
OBRIEN, BRETT                            ADDRESS ON FILE
OBRIEN, BRIAN                            ADDRESS ON FILE
OBRIEN, DONALD                           ADDRESS ON FILE
OBRIEN, JAMIE                            ADDRESS ON FILE
OBRIEN, KEELY                            ADDRESS ON FILE
OBRIEN, LARRY                            ADDRESS ON FILE
OBRIEN, MARTIN                           ADDRESS ON FILE
OBRIEN, MATTHEW                          ADDRESS ON FILE
OBRIEN, PATRICK                          ADDRESS ON FILE
OBRIEN, TIMOTHY                          ADDRESS ON FILE
OBRIEN, WILLIAM                          ADDRESS ON FILE
OBRIEN, WILLIAM                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1401 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1410 of 2156

Claim Name                               Address Information
OBRIENS LOCK SERVICE                     1960 SULLIVANT AVENUE COLUMBUS OH 43223
OBROCHTA, ANTHONY                        ADDRESS ON FILE
OBSAY TRANSPORTATION LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
OBSIDIAN LANE SERVICES LLC               OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
OBSIDIAN WEST LOGISTICS INC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
OBVIO LOGISTICS LLC                      4575 SW 68TH COURT CIR APT 2 MIAMI FL 33155
OC EQUITY LLC                            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
OC FREIGHT INC                           OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
OCALA HEATING AND AIR CONDITIONING LLC   3695 S E 58TH AVE OCALA FL 34480
OCALLAGHAN, BRANDON                      ADDRESS ON FILE
OCALLAGHAN, JOHN                         ADDRESS ON FILE
OCAMPO JR, MANUEL                        ADDRESS ON FILE
OCAMPO, FRANCISCO                        ADDRESS ON FILE
OCAMPOS TRANSPORTATION CORP              OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
OCASIO GUZMAN, JOSE                      ADDRESS ON FILE
OCCUHEALTH                               2570 NW EDENBOWER BLVD ROSEBURG OR 97471
OCCUMED PLUS - GRAND PRAIRIE             2046 FOREST LN 180 GARLAND TX 75042
OCCUMED PLUS - GRAND PRAIRIE             PO BOX 462052 GARLAND TX 75046
OCCUPATIONAL HEALTH CENTERS              OF ARKANSAS, P.A. PO BOX 82730 HAPEVILLE GA 30354
OCCUPATIONAL HEALTH CENTERS              OF KANSAS, P.A., PO BOX 369 LOMBARD IL 60148
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 8750 ELKRIDGE MD 21075
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 20127 CRANSTON RI 02920
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 5012 SOUTHFIELD MI 48086-5012
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 82730 HAPEVILLE GA 30354
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 82549 HAPEVILLE GA 30354
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 1297 BROOKFIELD WI 53008
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., P.O. BOX 1297 BROOKFIELD WI 53008-1297
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 488 LOMBARD IL 60148
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 488 LOMBARD IL 60148-0488
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST PA CO, PO BOX 75388 OKLAHOMA CITY OK 73147
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 75410 OKLAHOMA CITY OK 73147
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 75427 OKLAHOMA CITY OK 73147
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 75388 OKLAHOMA CITY OK 73147-0388
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 75427 OKLAHOMA CITY OK 73147-5427
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A, PO BOX 9005 ADDISON TX 75001
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST PA CO, PO BOX 9008 BROOMFIELD CO 80021
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 9009 BROOMFIELD CO 80021
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST PA CO, 1818 E SKY HARBOR CIR N 150 PHOENIX AZ 85034
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST PA CO, 1818 E SKY HARBOR CIR N PHOENIX AZ 85034
OCCUPATIONAL HEALTH CENTERS OF           THE SOUTHWEST, P.A., PO BOX 4300 RANCHO CUCAMONGA CA 91729
OCCUPATIONAL HEALTH CENTERS OF           WASHINGTON, P.S, PO BOX 4300 RANCHO CUCAMONGA CA 91729
OCCUPATIONAL HEALTH CENTERS OF AR P.A.   PO BOX 82878 ATLANTA GA 30354
OCCUPATIONAL HEALTH CENTERS OF AR P.A.   PO BOX 75388 OKLAHOMA CITY OK 73147
OCCUPATIONAL HEALTH CENTERS OF CA        A MEDICAL CORP PO BOX 3700 RANCHO CUCAMONGA CA 91729
OCCUPATIONAL HEALTH CENTERS OF CA,       PO BOX 3700 RANCHO CUCAMONGA CA 91729
OCCUPATIONAL HEALTH CENTERS OF DELAWARE PO BOX 18277 BALTIMORE MD 21227
OCCUPATIONAL HEALTH CENTERS OF GEORGIA, P.O. BOX 82730 HAPEVILLE GA 30354
OCCUPATIONAL HEALTH CENTERS OF IL, P.C. PO BOX 488 LOMBARD IL 60148
OCCUPATIONAL HEALTH CENTERS OF KS, P.A. PO BOX 369 LOMBARD IL 60148



Epiq Corporate Restructuring, LLC                                                                   Page 1402 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1411 of 2156

Claim Name                              Address Information
OCCUPATIONAL HEALTH CENTERS OF MI, P.C. P.O. BOX 5106 SOUTHFIELD MI 48086
OCCUPATIONAL HEALTH CENTERS OF NE, P.C. PO BOX 75428 OKLAHOMA CITY OK 73147
OCCUPATIONAL HEALTH CENTERS OF NJ, P.A. PO BOX 8750 ELKRIDGE MD 21075
OCCUPATIONAL HEALTH CENTERS OF NY PA PC PO BOX 20127 CRANSTON RI 02920
OCCUPATIONAL HEALTH CENTERS OF OH P.A   P.O BOX 5012 SOUTHFIELD MI 48086
CO
OCCUPATIONAL HEALTH CENTERS OF SW PA    PO BOX 3700 RANCHO CUCAMONGA CA 91729
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 8750 ELKRIDGE MD 21075
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 18277 BALTIMORE MD 21227
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 20220 CRANSTON RI 02920
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 82730 HAPEVILLE GA 30354
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 1297 ACCOUNT ENDING 0994 BROOKFIELD WI 53008
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 488 LOMBARD IL 60148
OCCUPATIONAL HEALTH CENTERS OF SW PA PC OF THE SOUTHWEST, P.A., CO., PO BOX 488 LOMBARD IL 60148-0488
OCCUPATIONAL HEALTH CENTERS OF SW PA PC PO BOX 9005 ADDISON TX 75001
OCCUPATIONAL HEALTH CENTERS OF THE      SOUTHWEST, P.A., PO BOX 18277 BALTIMORE MD 21227
OCCUPATIONAL HEALTH CENTERS OF THE      SOUTHWEST, P.A., PO BOX 9008 BROOMFIELD CO 80021
OCCUPATIONAL HEALTH CENTERS OF THE      SOUTHWEST, P.A., PO BOX 9010 BROOMFIELD CO 80021
OCCUPATIONAL HEALTH SOLUTIONS, INC.     101 W. CATALDO AVE., SUITE 100 SPOKANE WA 99201
OCCUSTAR INC.                           4267 TRANSIT ROAD WILLIAMSVILLE NY 14221
OCEAN AMUSEMENTS, INC.                  C/O: ALLEN & ALLEN, CHTD ATTORNEYS AT LAW, A GILLIS ALLEN, II 207 W. MAIN ST.,
                                        STE 3, P.O. BOX 990 SALISBURY MD 21803-0990
OCEAN AMUSEMENTS, INC.                  ATTN: GENERAL COUNSEL 2901 PHILADELPHIA AVE P.O. BOX 527 OCEAN CITY MD 21842
OCEAN BAY CORP                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OCEAN BLUE TRUCKING LTD                 SUITE 620 1A 12830, 96TH AVE SURREY BC V3V 0C2 CANADA
OCEAN CARGO RECOVERIES INC              ATTN: LAURA DOIRON 66 WHITECAP DR N KINGSTOWN RI 02852
OCEAN CARGO RECOVERIES INC              ATTN: MIKAYLA OSBERG 66 WHITECAP DR N KINGSTOWN RI 02852
OCEAN FIRST BANK                        411 RT 33 HAMILTON NJ 08690
OCEAN LOGISTICS GROUP                   431 CAMINO DE GLORIA WALNUT CA 91789
OCEAN PRIME LOGISTICS LLC               OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX 76116
OCEAN RUNS INC                          8189 MEDEIROS WAY SACRAMENTO CA 95829
OCEAN SIDE LOGISTICS INC                OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
OCEAN SUBARU OF FULLERTON               ATTN: BRAD AUBUCHON 1100 S EUCLID STREET FULLERTON CA 92832-2817
OCEAN TRAILER                           15205 131ST AVENUE EDMONTON AB T5V 0A4 CANADA
OCEAN TRAILER                           9076 RIVER RD DELTA BC V4G 1B5 CANADA
OCEAN TRUCKING INC                      2723 SOUTH STATE ST SUITE 150 ANN ARBOR MI 48104
OCEAN XPRESS INC                        OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
OCEANS WEST                             4426 TEMECULA ST NO 1 SAN DIEGO CA 92107
OCEGUERA, DAVID E                       ADDRESS ON FILE
OCEGURA, RAYMOND                        ADDRESS ON FILE
OCELOT LOGISTICS CORP                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OCHAB, DEAN                             ADDRESS ON FILE
OCHAT, CHRISTOPHER                      ADDRESS ON FILE
OCHOA ELECTRIC                          757 EMORY ST 113 IMPERIAL BEACH CA 91932
OCHOA MENDOZA, OMAR                     ADDRESS ON FILE
OCHOA, ANTONIO                          ADDRESS ON FILE
OCHOA, CESAR                            ADDRESS ON FILE
OCHOA, DAVID                            ADDRESS ON FILE
OCHOA, DAVID                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1403 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1412 of 2156

Claim Name                           Address Information
OCHOA, ELIACER                       ADDRESS ON FILE
OCHOA, EMMANUEL                      ADDRESS ON FILE
OCHOA, ERIC                          ADDRESS ON FILE
OCHOA, EUGENIO N                     ADDRESS ON FILE
OCHOA, FRANCISCO                     ADDRESS ON FILE
OCHOA, GABRIEL                       ADDRESS ON FILE
OCHOA, GILBERTO                      ADDRESS ON FILE
OCHOA, HUGO                          ADDRESS ON FILE
OCHOA, JESUS                         ADDRESS ON FILE
OCHOA, JOSE                          ADDRESS ON FILE
OCHOA, JOSEDEJESUS                   ADDRESS ON FILE
OCHOA, JOSHUA                        ADDRESS ON FILE
OCHOA, MANUEL                        ADDRESS ON FILE
OCHOA, MARCO                         ADDRESS ON FILE
OCHOA, MIKE                          ADDRESS ON FILE
OCHOA, PATRICIO                      ADDRESS ON FILE
OCHOA, SILVESTER                     ADDRESS ON FILE
OCHS JR, MICHEAL                     ADDRESS ON FILE
OCHS, DANIEL                         ADDRESS ON FILE
OCHSNER CLINIC LLC                   PO BOX 54107 NEW ORLEANS LA 70154
OCHSNER CLINIC LLC                   PO BOX 669489 DALLAS TX 75266
OCHWAT, SANDRA                       ADDRESS ON FILE
OCIUS EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OCKER, CODY                          ADDRESS ON FILE
OCKER, WILLIAM                       ADDRESS ON FILE
OCKEY, EDWARD C                      ADDRESS ON FILE
OCLOCK CARRIERS INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
OCMC TRUCKING INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
OCONNELL ELECTRIC COMPANY            P.O. BOX 8000, DEPARTMENT NO. 342 BUFFALO NY 14267
OCONNELL, DANIEL                     ADDRESS ON FILE
OCONNELL, SCOTT                      ADDRESS ON FILE
OCONNOR, DUSTIN                      ADDRESS ON FILE
OCONNOR, JOHN                        ADDRESS ON FILE
OCONNOR, JOHN                        ADDRESS ON FILE
OCONNOR, JOHN                        ADDRESS ON FILE
OCONNOR, LOGAN                       ADDRESS ON FILE
OCONNOR, PATRICK                     ADDRESS ON FILE
OCONNOR, THOMAS                      ADDRESS ON FILE
OCONNOR-ROWAN, RAYMOND               ADDRESS ON FILE
OCONNORS FACILITY MAINTENANCE        1646 SULLIVAN TRAIL TANNERSVILLE PA 18372
OCP GROUP                            ATTN: LEO SANCHEZ 7130 ENGINEER RD SAN DIEGO CA 92111
OCTAVIA TRUCKING LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
OCTAVIO ANDRADE CORELLA              C\O TRANSPORTES OA, PO BOX 6246 NOGALES AZ 85621
OCTAVIO ANDRADE CORELLA              PO BOX 6246 NOGALES AZ 85628
OCTRANS LOGISTICS INC                OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
OCWRC                                ONE PUBLIC WORKS BUILDING 95W, WATERFPRD MI 48328-1907
ODA STAR EXPRESS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ODAA BULTUM EXPRESS                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ODAA EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                             Page 1404 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1413 of 2156

Claim Name                            Address Information
ODACS INC                             836 S KINGSHIGHWAY, CAPE GIRARDEAU MO 63703
ODANAH TRUCK LINE INC.                BOX 20121 BRANDON MB R7A 6Y8 CANADA
ODAYS TRANSPORT LLC                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ODB LLC                               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ODDNYTE LLC                           OR BIG BROTHER FINANCIAL, P.O. BOX 1949 SUGAR LAND TX 77487-1949
ODDO, JOHN                            ADDRESS ON FILE
ODEA, EUGENE                          ADDRESS ON FILE
ODEKIRK, AUSTIN                       ADDRESS ON FILE
ODELL CARTER                          ADDRESS ON FILE
ODELL, BRIAN                          ADDRESS ON FILE
ODELL, JONATHAN                       ADDRESS ON FILE
ODELL, MICHAEL                        ADDRESS ON FILE
ODELL, MICHAEL B                      ADDRESS ON FILE
ODEN TRUCKING                         310 W WASHINGTON AVE MAGNOLIA NJ 08049-1704
ODEN, WILLIAM                         ADDRESS ON FILE
ODENDAHL, ERIC                        ADDRESS ON FILE
ODENS AUTO GLASS INC                  2253 2ND AVE NW CULLMAN AL 35058
ODETTE, MATTHEW                       ADDRESS ON FILE
ODF LOGISTICS CORP                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ODHOMO, KINGSLEY                      ADDRESS ON FILE
ODILIONE LLC                          OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
ODILON JIMENEZ                        ADDRESS ON FILE
ODLE, BRANDON                         ADDRESS ON FILE
ODLE, SEAN                            ADDRESS ON FILE
ODNEAL, PATRICIA                      ADDRESS ON FILE
ODOM, ALEXIS                          ADDRESS ON FILE
ODOM, QUENTIN                         ADDRESS ON FILE
ODOM, XAVIER                          ADDRESS ON FILE
ODONNELL, DONTAY                      ADDRESS ON FILE
ODONNELL, JAMES                       ADDRESS ON FILE
ODONNELL, JOHN                        ADDRESS ON FILE
ODONNELL, JOSEPH                      ADDRESS ON FILE
ODONNELL, RICHARD                     ADDRESS ON FILE
ODONNELL, RICHARD                     ADDRESS ON FILE
ODORAN, MICHAEL                       ADDRESS ON FILE
ODOWD, FRANK                          ADDRESS ON FILE
ODRISCOLL, WILLIAM                    ADDRESS ON FILE
ODUM, RICHARD                         ADDRESS ON FILE
ODUM, RICKEY                          ADDRESS ON FILE
ODUM, TYRONE                          ADDRESS ON FILE
ODW LOGISTICS                         345 HIGH ST STE 600 HAMILTON OH 45011
ODW LOGISTICS                         ATTN: LANA SMITH 345 HIGH ST SUITE 600 HAMILTON OH 45011
ODW LTS                               ATTN: LANA SMITH 345 HIGH ST SUITE 600 HAMILTON OH 45011
ODW LTS - OH                          345 HIGH ST STE 600 HAMILTON OH 45011
ODW LTS - OH                          ATTN: LANA SMITH 345 HIGH STREET; SUITE 600 HAMILTON OH 45011
ODW TRUCKING & SERVICE LLC            OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
ODWYERS ELECTRIC SERVICE              2927 KATHY JO LN GRAND JUNCTION CO 81503
ODYSSEIA INC                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ODYSSEY LOGISTICS & TECHNOLOGY CORP   ATTN: ACCOUNTING 1915 VAUGHN RD KENNESAW GA 30144



Epiq Corporate Restructuring, LLC                                                                Page 1405 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1414 of 2156

Claim Name                              Address Information
ODYSSEY/CTS                             1915 VAUGHN RD KENNESAW GA 30144
OEG EXPRESS INC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
OEHLER, FREDRICK                        ADDRESS ON FILE
OEHLER, TIMOTHY                         ADDRESS ON FILE
OEINCK, WILLIAM                         ADDRESS ON FILE
OEM SURPLUS DEPOT                       ATTN: RALPH HERRERA 2175 W 76TH STREET HIALEAH FL 33016-1838
OENOTHERA D/B/A GOLDEN NURSERY          ATTN: CHRIS TAKEMORI 1122 SECOND AVE SAN MATEO CA 94401-2910
OERLIKON METCO                          ATTN: MIKEL MCCLELLAN 1972 MEIJER DR TROY MI 48084
OERTEL, TERRY                           ADDRESS ON FILE
OFARRELL, JENNIFER                      ADDRESS ON FILE
OFF RAMP TRUCKING LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
OFF THE RACKS LLC                       1293 SW 4TH AVE ONTARIO OR 97914
OFFEN PETROLEUM INC                     5100 E 78TH AVE IRONDALE CO 80022
OFFEN PETROLEUM LLC                     5100 E 78TH AVE IRONDALE CO 80022
OFFEN PETROLEUM LLC                     PO BOX 17451 DENVER CO 80217
OFFICE DEPOT                            ATTN: BRIAN STRAUSS OFFICE DEPOT CLAIMS - N204M 6600 N MILITARY TRL BOCA RATON
                                        FL 33496
OFFICE DEPOT                            ATTN: JACOB PEREZ OFFICE DEPOT CLAIMS - N204M 6600 N MILITARY TRL BOCA RATON
                                        FL 33496
OFFICE DEPOT                            ATTN: MARLON GOJIT OFFICE DEPOT CLAIMS - N204M 6600 N MILITARY TRL BOCA RATON
                                        FL 33496
OFFICE DEPOT                            ATTN: NANETTE ALBANO OFFICE DEPOT CLAIMS - N204M 6600 N MILITARY TRL BOCA
                                        RATON FL 33496
OFFICE DEPOT DISTRIBUTION BUS. SRV. DIV 6700 AUTO MALL PKWY FREMONT CA 94538
OFFICE DEPOT HARTE HANKS                PO BOX 700367 DALLAS TX 75370
OFFICE ENVIRONMENTS INCORPORATED        11407 GRANITE ST CHARLOTTE NC 28273
OFFICE H2O LLC                          7402 E 90TH ST INDIANAPOLIS IN 46256
OFFICE OF FAYETTE COUNTY SHERIFF        PO BOX 34148 LEXINGTON KY 40588
OFFICE OF FAYETTE COUNTY SHERIFF        SHERIFF, PO BOX 34148 LEXINGTON KY 40588-4148
OFFICE OF STATE FIRE MARSHAL            JAMES R THOMPSON CTR 100 W RANDOLPH STE 4 600 CHICAGO IL 60601
OFFICE OF STATE FIRE MARSHAL            MARSHALL, 100 WEST RANDOLPH SUITE 4-600 CHICAGO IL 60601
OFFICE OF STATE FIRE MARSHAL            DIVISION OF FIRE PREVENTION 555 W MONROE ST SUITE 1300-N CHICAGO IL 60661
OFFICE OF STATE FIRE MARSHAL            BOILER SAFETY, 800 SW JACKSON, SUITE 104 TOPEKA KS 66612
OFFICE OF STATE POLICE                  PO BOX 61047 NEW ORLEANS LA 70161
OFFICE OF THE UNITED STATES ATTORNEY    DISTRICT OF DELAWARE HERCULES BUILDING 1313 N MARKET ST, STE 400 WILMINGTON DE
                                        19801
OFFICE OF THE US TRUSTEE                DISTRICT OF DELAWARE 844 KING STREET, SUITE 2207 LOCKBOX 35 WILMINGTON DE
                                        19801
OFFICE OF WORKERS COMP ADMIN FUND       1001 NORTH 23RD ST, PO BOX 94040 BATON ROUGE LA 70804
OFFICE PRIDE COMMERCIAL CLEANING SVCS   3450 E LAKE RD STE 202 PALM HARBOR FL 34685
OFFICER EDWARD J AJAMIAN                ADDRESS ON FILE
OFFSHORE TRANSPORTATION LLC             OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
OFFUTT, JOHN                            ADDRESS ON FILE
OFICINA REGIONAL DE BAYAMON             CORPORACION FONDO DEL SEGURO DEL ESTADO PO BOX 248 BAYAMON PR 00960
OFIS TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OFLAHERTY JR., ROBERT                   ADDRESS ON FILE
OFOE, TEYE                              ADDRESS ON FILE
OFT TRANSPORTATION LLC                  4690 OLD HIGHWAY 48 CUNNINGHAM TN 37052
OFTEDAHL, PATRICK                       ADDRESS ON FILE
OG MASTER TRUCKING LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841


Epiq Corporate Restructuring, LLC                                                                  Page 1406 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1415 of 2156

Claim Name                               Address Information
OG TRANSPORTATION INC                    OR PAY4FREIGHT, PO BOX 1429 BELLEVUE NE 68005-1429
OG TRUCKING LLC                          OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                         33631-3792
OGANDO TRANSPORT LLC                     OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
OGANESYAN, SHARA                         ADDRESS ON FILE
OGBARA, TAOFIK                           ADDRESS ON FILE
OGBEBOR, GOODLUCK                        ADDRESS ON FILE
OGBURN TRUCK PARTS LP                    PO BOX 4630 FORT WORTH TX 76164
OGDEN, ERIN                              ADDRESS ON FILE
OGDEN, KEITH                             ADDRESS ON FILE
OGDEN, MARK                              ADDRESS ON FILE
OGDEN, RYAN                              ADDRESS ON FILE
OGDEN, TYLER                             ADDRESS ON FILE
OGE                                      PO BOX 321 OKLAHOMA CITY OK 73101-0321
OGG, DAVID                               ADDRESS ON FILE
OGLE, HORACE                             ADDRESS ON FILE
OGLE, KEVIN                              ADDRESS ON FILE
OGLE, KEVIN A                            ADDRESS ON FILE
OGLE, LINCOLN                            ADDRESS ON FILE
OGLE, LYNN                               ADDRESS ON FILE
OGLESBY JR, STEPHEN                      ADDRESS ON FILE
OGLESBY, DONNA                           ADDRESS ON FILE
OGLESBY, JASON                           ADDRESS ON FILE
OGLESBY, STANLEY                         ADDRESS ON FILE
OGLESBY, STEPHANIE                       ADDRESS ON FILE
OGLETREE, DEAKINS, NASH,                 SMOAK & STEWART, P.C, PO BOX 89 COLUMBIA SC 29202
OGLETREE, DERRIK                         ADDRESS ON FILE
OGLETREE, TIMOTHY                        ADDRESS ON FILE
OGNIBENE, JOHN                           ADDRESS ON FILE
OGRE-S                                   2429 1ST AVE N BIRMINGHAM AL 35203
OGRE-S                                   ATTN: MARY CATHERINE BRANYON 2429 1ST AVE N BIRMINGHAM AL 35203
OGREN, MARK                              ADDRESS ON FILE
OGROSKY, JOSEPH                          ADDRESS ON FILE
OGS ONLY GREAT SERVICE TRUCKING CO LLC   OR TAFS INC P.O. BOX 872632 KANSAS CITY MO 64187
OGS TRUCKING LLC                         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
OGUNWALE, ADEBOSE                        ADDRESS ON FILE
OH DOT                                   400 E WILLIAM ST, DELAWARE OH 43015
OH DOT                                   300 SMITH DR CLAYTON OH 45315
OH TURNPIKE                              682 PROSPECT ST BEREA 44017-2799
OH, DAVID                                ADDRESS ON FILE
OHAIRE, DOUGLAS                          ADDRESS ON FILE
OHALLORAN, AL                            ADDRESS ON FILE
OHANA DEPOT BLUE GRACE LOGISTICS LLC     2846 S. FALKENBURG RD RIVERVIEW FL 33578
OHARA, ALAN M                            ADDRESS ON FILE
OHARE TOWING & RECOVERY SVC              2424 WISCONSIN AVE DOWNERS GROVE IL 60515
OHENE-FRIMPONG, DAVID                    ADDRESS ON FILE
OHHZONE TRUCKING                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OHIO BUREAU OF WORKERS COMPENSATION      PO BOX 89492 CLEVELAND OH 44101
OHIO CAT                                 3993 E. ROYALTON ROAD BROADVIEW HEIGHTS OH 44147



Epiq Corporate Restructuring, LLC                                                                Page 1407 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1416 of 2156

Claim Name                              Address Information
OHIO CAT                                P.O. BOX 854439 MINNEAPOLIS MN 55485
OHIO CAT                                BOX 774439, 4439 SOLUTIONS CENTER CHICAGO IL 60677
OHIO COMMERCIAL DOOR                    962 FREEWAY DR N COLUMBUS OH 43229
OHIO DEPARTMENT OF COMMERCE             DIVISION OF UNCLAIMED FUNDS 77 S HIGH ST 20TH FLOOR COLUMBUS OH 43215
OHIO DEPARTMENT OF TAXATION             PO BOX 16158 COLUMBUS OH 43216
OHIO DEPARTMENT OF TAXATION             PO BOX 16561 COLUMBUS OH 43216
OHIO DEPARTMENT OF TAXATION             PO BOX 2679 COLUMBUS OH 43270-2679
OHIO DIESEL                             3316 LIMA SANDUSKY RD SANDUSKY OH 44870
OHIO EDISON                             117 PUBLIC SQ MEDINA 44256
OHIO EDISON                             76 SOUTH MAIN STREET AKRON OH 44308
OHIO EDISON CO.                         965 KEYNOTE CIRCLE CLEVELAND OH 44131
OHIO EDISON CO.                         C/O WELTMAN, WEINBERG & REIS CO., LPA ATTN: AMANDA RASBACH YURECHKO 965
                                        KEYNOTE CIRCLE CLEVELAND OH 44131
OHIO ELECTRIC SERVICES                  1555 STANLEY AVE DAYTON OH 45404
OHIO EPA                                ATTN: CAROL BUTLER PO BOX 1049 50 W TOWN ST STE 700 COLUMBUS OH 43216
OHIO EPA                                PO BOX 1049 50 W TOWN ST STE 700 COLUMBUS OH 43216
OHIO EXPEDITED LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
OHIO FREIGHT SOLUTIONS LLC              445 W NORTH BEND RD CINCINNATI OH 45216
OHIO HYDRAULICS, INC.                   2510 E SHARON RD CINCINNATI OH 45241
OHIO HYDRAULICS, INC.                   2510 E SHARON ROAD CINCINNATI OH 45241-1891
OHIO MACHINERY CO.                      OHIO PETERBILT, P.O. BOX 854439 MINNEAPOLIS MN 55485
OHIO ORDNANCE WORKS INC                 310 PARK DR CHARDON OH 44024
OHIO PAINTING COMPANY                   3040 S. TECH BLVD. MIAMISBURG OH 45342
OHIO SECRETARY OF STATE                 PO BOX 788 COLUMBUS OH 43216
OHIO SEMITRAILER, INC                   9099 BANK ST VALLEY VIEW OH 44125
OHIO STAR LOGISTICS LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
OHIO TRANSIT COMPANY INC                OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
OHIO TRANSPORT CORPORATION              OHIO TRANSPORT CORPORATION PO BOX 896751 CHARLOTTE NC 28289-6751
OHIO TRUCKING ASSOC                     655 COOPER ROAD WESTERVILLE OH 43081
OHIO TRUCKING ASSOC                     21 EAST STATE STREET SUITE 900 COLUMBUS OH 43215
OHIO TRUCKING ENTERPRISE LLC            OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
OHIO TURNPIKE                           P O BOX 75517 CLEVELAND OH 44101-4755
OHIO TURNPIKE AND INFRASTRUCTURE COMM   682 PROSPECT ST BEREA OH 44017
OHIO TURNPIKE COMMISSION                682 PROSPECT STREET BEREA OH 44017
OHIO TURNPIKE COMMISSION                PO BOX 75517 CLEVELAND OH 44101
OHIO VALLEY ELECTRICAL SERVICES LLC     4585 CORNELL RD CINCINNATI OH 45241
OHIOHEALTH / WORKHEALTH                 DEPT L-3234 COLUMBUS OH 43260
OHL                                     STE 350, 7101 EXECUTIVE CENTER DR BRENTWOOD TN 37027
OHLSON, CINDY                           ADDRESS ON FILE
OHLSON, CINDY                           ADDRESS ON FILE
OHLSON, DIRK                            ADDRESS ON FILE
OHMER, WILLIAM                          ADDRESS ON FILE
OHMITE HOLDINGS                         ATTN: BROOKE SULLIVAN RYAN TRANS 9350 METCALF AVE OVERLAND PARK KS 66212
OHNSORG TRUCK BODY ECHO                 ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
OHOL, STEVEN                            ADDRESS ON FILE
OIDA LOGISTICS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
OILFIELD EQUIPMENT SALES                5320 FM 902 GAINESVILLE TX 76240
OJ ENT                                  OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
OJ SANDERSON                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1408 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1417 of 2156

Claim Name                           Address Information
OJ TRANSPORT SERVICES LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
OJEDA CAMARENA, JOSE                 ADDRESS ON FILE
OJEDA TRUCKING                       313 HARVEST RUN IDAHO FALLS ID 83404
OJEDA, FLOR                          ADDRESS ON FILE
OJG TRANSPORT LLC                    OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
OJS TRANSPORT LLC                    PO BOX 5551 FRESNO CA 93755
OJV TRUCKING COMPANY LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OK ELECTRIC INC                      PO BOX 6545 SPOKANE WA 99217
OK TIRE                              PETERBILT LOCATION, 94 GOVERNMENT RD VAL RITA ON P0L 2G0 CANADA
OK TRANS LLC                         302 PLANTATION VIEW CT WARNER ROBINS GA 31088
OK TRANSIT LLC                       OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
OK XPRESS INC                        6362 TRELAWNEY AVE TEMPLE CITY CA 91780
OKAFOR, AMALACHUKWU                  ADDRESS ON FILE
OKBAY, GEZAEI                        ADDRESS ON FILE
OKE, TYLER                           ADDRESS ON FILE
OKEEFE DRILLING COMPANY INC          PO BOX 3810 BUTTE MT 59702
OKEEFE, DAVID                        ADDRESS ON FILE
OKEEFE, HEATHER                      ADDRESS ON FILE
OKEEFE, PATRICK                      ADDRESS ON FILE
OKEEFE, THOMAS                       ADDRESS ON FILE
OKEY, RICHARD                        ADDRESS ON FILE
OKH EXPRESS CORP                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
OKIES PAVEMENT MAINTENANCE LLC       PO BOX 1193 NICOMA PARK OK 73066
OKIES TOWING AND TRUCK REPAIR        PO BOX 128 KETTLEMAN CITY CA 93239
OKLAHOMA CORPORATION COMMISSION      PETROLEUM STORAGE TANK DIVISION JIM THORPE BLDG RM 480, PO BOX 5200 OKLAHOMA
                                     CITY OK 73152
OKLAHOMA CORPORATION COMMISSION      PO BOX 52000 OKLAHOMA CITY OK 73152
OKLAHOMA COUNTY TREASURER            PO BOX 268875 OKLAHOMA CITY OK 73126
OKLAHOMA HIGHWAY PATROL TROOPS S     200 NE 21ST ST OKLAHOMA CITY OK 73105
OKLAHOMA NATURAL GAS                 401 N. HARVEY P.O. BOX 401 OKLAHOMA CITY OK 73101-0401
OKLAHOMA STATE TREASURER             UNCLAIMED PROPERTY DIVISION 9520 N MAY AVE LOWER LEVEL OKLAHOMA CITY OK 73120
OKLAHOMA TAX COMMISSION              FRANCHISE TAX, PO BOX 26930 OKLAHOMA CITY OK 73126
OKLAHOMA TAX COMMISSION              PO BOX 26850 OKLAHOMA CITY OK 73126
OKLAHOMA TAX COMMISSION              2501 N LINCOLN BLVD OKLAHOMA CITY OK 73194
OKLAHOMA TRUCKING ASSOCIATION        3909 N LINDSAY AVE OKLAHOMA CITY OK 73105
OKM TRUCKING INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
OKMA EXPRESS INC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
OKMK TRANSPORT INC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
OKNINSKI, DAVID                      ADDRESS ON FILE
OKONJI, AUGUSTINE                    ADDRESS ON FILE
OKTA INC                             P.O. BOX 743620 LOS ANGELES CA 90074
OKYERE, SAMUEL                       ADDRESS ON FILE
OL EXPRESS INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
OLA JORDAN LLC                       OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
OLA TRANSPORT LLC                    8748 RIDGE RD N ROYALTON OH 44133
OLAITAN, OLANIYI                     ADDRESS ON FILE
OLALDE, DAVID                        ADDRESS ON FILE
OLALEYE, OLUWASEUN MARK              ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1409 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1418 of 2156

Claim Name                           Address Information
OLCC                                 PO BOX 22297 MILWAUKIE OR 97269
OLD BRIDGE TRANSPORT LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OLD CITY EXPRESS LLC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
OLD DOMINION                         10626 I ST OMAHA NE 68127
OLD DOMINION FREIGHTLINE             500 OLD DOMINION WAY THOMASVILLE NC 27360
OLD DOMINION HAY                     PO BOX 894 SMITHFIELD VA 23431
OLD DOMINION TRAILER                 500 OLD DOMINION WAY THOMASVILLE NC 27360-8923
OLD DOMINION TRUCKING                2000 ACCESS BLVD. MADISON IL 62060
OLD EMPIRE INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
OLD FORGE SERVICES, INC.             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
OLD JAMES FREIGHT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OLD MILE TRANSPORT LLC               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
OLD MULE INC                         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
OLD OVERTON ASSOCIATION              C/O NEIGHBORHOOD MGMT LLC 1000 URBAN CENTER DRIVE STE 23 BIRMINGHAM AL
                                     35242-2228
OLD PAL TRANSPORTATION INC           18492 PEPPER ST CASTRO VALLEY CA 94546
OLD REPUBLIC INSURANCE CO.           307 NORTH MICHIGAN CHICAGO IL 60601
OLD REPUBLIC INSURANCE CO.           C/O OLD REPUBLIC GENERAL INSURANCE CORPORATION 307 NORTH MICHIGAN CHICAGO IL
                                     60601
OLD REPUBLIC INSURANCE COMPANY       445 SOUTH MOORLAND ROAD, SUITE 300 BROOKFIELD WI 53005
OLD REPUBLIC INSURANCE COMPANY       ATTN: GENERAL COUNSEL 307 NORTH MICHIGAN AVENUE CHICAGO IL 60601
OLD REPUBLIC INSURANCE COMPANY OF    100 KING STREET WEST PO BOX 557 HAMILTON ON L8N 3K9 CANADA
CANADA
OLD REPUBLIC RISK MANAGEMENT INC     C/O OLD REPUBLIC RISK MGMT, PO BOX 2939 MILWAUKEE WI 53201
OLD SKOOL TRANSPORT INC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
OLD SKOOL TRUCKING LLC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
OLD SOUTHERN DIESEL REPAIR LLC       262 JACKSON LAKE ROAD MILLBROOK AL 36054
OLD TIME EXPRESS, INC.               600 INDUSTRIAL PARK DRIVE HARTSVILLE TN 37074
OLD TOWN ROAD TRUCKING LLC           115 JAMES ST FL 1 LODI NJ 07644-3146
OLD WORLD INDUSTRIES, LLC            3100 SANDERS RD 500 NORTHBROOK IL 60062
OLD WORLD INDUSTRIES, LLC            PO BOX 204549 DALLAS TX 75320
OLD WORLD INDUSTRIES, LLC            PO BOX 204549 DALLAS TX 75320-4549
OLD WORLD STONE IMPORTS              1514 W 400 S STE 1 OREM UT 84058
OLDAKER DOOR SALES INC               2345 AMITY RD HILLIARD OH 43026
OLDAKER DOOR SALES INC               PO BOX 23527, 1580 SULLIVANT AVE. COLUMBUS OH 43223
OLDAKER, ADRIAN                      ADDRESS ON FILE
OLDCASTLE ENCLOSURE SOLUTIONS        ATTN: AARON BOSTELMAN 509 S MCKENNA ST POTEAU OK 74953
OLDE TOWNE LOCK & KEY                C\O OLDE TOWNE HARDWARE 101 WEST JACKSON BLVD. JONESBOROUGH TN 37659
OLDENBROEK TRUCKING LLC              PO BOX 71 HUDSONVILLE MI 49426
OLDHAM, JOSEPH                       ADDRESS ON FILE
OLDHAM, PHILLIP                      ADDRESS ON FILE
OLDHAMS LAWN SERVICE, INC            9042 GRIMES DR ROGERS AR 72756
OLDS, DARLINE                        ADDRESS ON FILE
OLDS, JAMES                          ADDRESS ON FILE
OLDS, SHANE                          ADDRESS ON FILE
OLDXPRESS                            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
OLE ROWDY FO LO TRUCKING LLC         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
OLE TIME FENCE LLC                   13720 OLD ST AUGUSTINE RD STE 8 196 JACKSONVILLE FL 32258
OLEARY XPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OLEARY, AMIE                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                               Page 1410 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1419 of 2156

Claim Name                            Address Information
OLEARY, MICHAEL                       ADDRESS ON FILE
OLEGS TRUCKING COMPANY                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
OLEJARZ, TYLER                        ADDRESS ON FILE
OLEJNICZAK, SCOTT                     ADDRESS ON FILE
OLES, JERRY B                         ADDRESS ON FILE
OLESON, DANIEL                        ADDRESS ON FILE
OLEY TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OLF, RONDA                            ADDRESS ON FILE
OLFRA TRANSPORT LLC                   OR 18 WHEEL FUNDING LLC DEPARTMENT 6029 PO BOX 4517 HOUSTON TX 77210-4517
OLGAS TEAM CORP                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
OLGUIN, BEATRIS                       ADDRESS ON FILE
OLGUIN, TONY                          ADDRESS ON FILE
OLICAV INTERNATIONAL INC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
OLIGROW TRUCKING LLC                  OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
OLIMPIA TRANSPORT LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
OLIN CORPORATION                      ATTN: KATHY N ACCOUNTS RECEIVABLE 600 POWDER E ALTON IL 62024-1197
OLIN WINCHESTER LLC                   600 POWDER MILL RD E ALTON IL 62024
OLINGER, BRIAN                        ADDRESS ON FILE
OLINGER, JASON                        ADDRESS ON FILE
OLIVA ARCINIEGA, RAFAEL               ADDRESS ON FILE
OLIVA TRUCKING LLC                    OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
OLIVA, JOSEPH                         ADDRESS ON FILE
OLIVA, RUBEN                          ADDRESS ON FILE
OLIVA, VICTOR                         ADDRESS ON FILE
OLIVARES, ALFREDO                     ADDRESS ON FILE
OLIVARES, KARI                        ADDRESS ON FILE
OLIVARES, MILTON                      ADDRESS ON FILE
OLIVARES, NIDIA                       ADDRESS ON FILE
OLIVARES-RIVERA, CINDY                ADDRESS ON FILE
OLIVAREZ GUTIERREZ, JUAN              ADDRESS ON FILE
OLIVAS HAULING LLC                    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
OLIVAS LOGISTICS SOLUTIONS LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
OLIVE BRANCH FAMILY MEDICAL           9075 SANDIDGE CENTER AVE OLIVE BRANCH MS 38654
OLIVE PACKING COMPANY INC             1500 SABINE AVE PORT ARTHUR TX 77642
OLIVE, MURPHY                         ADDRESS ON FILE
OLIVELLO TRANSPORTATIONS LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OLIVER A GROMAN                       ADDRESS ON FILE
OLIVER CHEN                           ADDRESS ON FILE
OLIVER GARCIA                         ADDRESS ON FILE
OLIVER MCMILLIAN SPECTRUM EMERY LLC   733 8TH AVE SAN DIEGO CA 92101
OLIVER POPOVIC TRANSPORT, INC.        OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
OLIVER, BRIAN                         ADDRESS ON FILE
OLIVER, CRAIG                         ADDRESS ON FILE
OLIVER, CURTIS                        ADDRESS ON FILE
OLIVER, DESHAWN                       ADDRESS ON FILE
OLIVER, DWAYNE                        ADDRESS ON FILE
OLIVER, ERIC M                        ADDRESS ON FILE
OLIVER, GARY                          ADDRESS ON FILE
OLIVER, GARY W                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1411 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1420 of 2156

Claim Name                           Address Information
OLIVER, HAYWARD                      ADDRESS ON FILE
OLIVER, JARRON                       ADDRESS ON FILE
OLIVER, JENNIFER                     ADDRESS ON FILE
OLIVER, JOSHUA                       ADDRESS ON FILE
OLIVER, KIJUAN                       ADDRESS ON FILE
OLIVER, MARK                         ADDRESS ON FILE
OLIVER, MATTHEW                      ADDRESS ON FILE
OLIVER, MICHAEL                      ADDRESS ON FILE
OLIVER, MICHAEL                      ADDRESS ON FILE
OLIVER, PEDRO                        ADDRESS ON FILE
OLIVER, ROBERT                       ADDRESS ON FILE
OLIVER, SHARON                       ADDRESS ON FILE
OLIVER, STEPHEN                      ADDRESS ON FILE
OLIVER, STEVE                        ADDRESS ON FILE
OLIVERA TRUCKING LLC                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
OLIVERA TRUCKS & SERVICES LLC        OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
OLIVERA, GABRIEL                     ADDRESS ON FILE
OLIVERMCMILLAN SPECTRUM EMERY LLC    PO BOX 936773, 5B OFFICE ATLANTA GA 31193
OLIVERMCMILLAN SPECTRUM EMERY LLC    C/O BROOKFIELD PROPERTIES 5036 BROADWAY PLACE SUITE 216 NASHVILLE TN 37203
OLIVIA LOGISTICS LLC                 OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, STE 316 FORT WORTH TX 76116
OLIVIA STRAYER                       ADDRESS ON FILE
OLIVIER, DANIEL                      ADDRESS ON FILE
OLIVIER, JOSEPH                      ADDRESS ON FILE
OLIVO, JOSE                          ADDRESS ON FILE
OLIVO, JOSE                          ADDRESS ON FILE
OLIVOLA, JAMES                       ADDRESS ON FILE
OLLIE, SHUNTORY                      ADDRESS ON FILE
OLLIE, TOMMIE                        ADDRESS ON FILE
OLLIS, GARY                          ADDRESS ON FILE
OLLOQUI TRANSPORT INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
OLLOQUI, OSCAR                       ADDRESS ON FILE
OLM, TONY                            ADDRESS ON FILE
OLMEDA, FRANCISCO                    ADDRESS ON FILE
OLMO, EDUARDO                        ADDRESS ON FILE
OLMOS JR, ROBERT                     ADDRESS ON FILE
OLMOS, KEVIN                         ADDRESS ON FILE
OLMSTEAD, ARLENE J                   ADDRESS ON FILE
OLMSTEAD, ARLENE J                   ADDRESS ON FILE
OLMSTEAD, CHRISTOPHER                ADDRESS ON FILE
OLNEY, MICHAELA                      ADDRESS ON FILE
OLOL LOGISTIC LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OLONE, JOHN                          ADDRESS ON FILE
OLP, SCOTT                           ADDRESS ON FILE
OLR EXPRESS LLC                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
OLR LOGISTICS LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
OLSAKOVSKY, NICHOLAS                 ADDRESS ON FILE
OLSEN TRANSPORT, INC.                W11270 ST HWY 64 POUND WI 54161
OLSEN, BJORN                         ADDRESS ON FILE
OLSEN, DARYL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1412 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1421 of 2156

Claim Name                           Address Information
OLSEN, JEFFERY D                     ADDRESS ON FILE
OLSEN, JEFFREY                       ADDRESS ON FILE
OLSEN, JEREMY                        ADDRESS ON FILE
OLSEN, VINCENT                       ADDRESS ON FILE
OLSINSKI, TERESA                     ADDRESS ON FILE
OLSOFSKY, MICHAEL                    ADDRESS ON FILE
OLSON, ANTHONY                       ADDRESS ON FILE
OLSON, BLAKE                         ADDRESS ON FILE
OLSON, BOB                           ADDRESS ON FILE
OLSON, BRENT                         ADDRESS ON FILE
OLSON, BRIAN                         ADDRESS ON FILE
OLSON, CODI                          ADDRESS ON FILE
OLSON, DANIEL                        ADDRESS ON FILE
OLSON, DAVID                         ADDRESS ON FILE
OLSON, DAVID                         ADDRESS ON FILE
OLSON, GARY                          ADDRESS ON FILE
OLSON, JAMES                         ADDRESS ON FILE
OLSON, JOSHUA                        ADDRESS ON FILE
OLSON, LINDSAY                       ADDRESS ON FILE
OLSON, MICAH                         ADDRESS ON FILE
OLSON, MICHAEL                       ADDRESS ON FILE
OLSON, MONTY                         ADDRESS ON FILE
OLSON, NATHAN                        ADDRESS ON FILE
OLSON, RAYMOND                       ADDRESS ON FILE
OLSON, ROBERT                        ADDRESS ON FILE
OLSON, SHELDON                       ADDRESS ON FILE
OLSONS CUSTOM HAULING                34325 STATE HWY 87 FRAZEE MN 56544
OLSSON INDUSTRIAL ELECTRIC           PO BOX 70413 SPRINGFIELD OR 97475
OLSSON, LYNN                         ADDRESS ON FILE
OLT TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OLT WAY INC                          OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
OLUOMO TRUCKING LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
OLVERA, JEREMIAS                     ADDRESS ON FILE
OLVERAS LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OLY                                  875 E PATRIOT BLVD STE 205 RENO NV 89511
OLYMPIA CHIMNEY                      ATTN: CORTNIE GOTSCHALL TRANSLOGISTICS 321 N FURNACE ST STE 300 BIRDSBORO PA
                                     19508
OLYMPIA CHIMNEY                      ATTN: KIERSTIN MOULDEN TRANSLOGISTICS 321 N. FURNACE STREET BIRDSBORO PA 19508
OLYMPIA CHIMNEY                      TRANSLOGISTICS 321 N. FURNACE STREET BIRDSBORO PA 19508
OLYMPIA CHIMNEY                      TRANSLOGISTICS, 321 N FURNACE ST STE 300 BIRDSBORO PA 19508
OLYMPIA FIELDS PHOTO ENFORCEMENT     CUSTOMER SERVICE CENTER, PO BOX 42034 PHOENIX AZ 85080
OLYMPIA TRANSPORTATION LLC           1200 BALASIS PL BAKERSFIELD CA 93307
OLYMPIAN EXPRESS LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
OLYMPIAN GROUP SYSTEMS INC           19 FAIRMONT CLOSE BRAMPTON ON L6Y 2Y3 CANADA
OLYMPIC AERO SERVICES INC            PO BOX 7608 OLYMPIA WA 98507
OLYMPIC EXPRESS INC                  OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                     CANADA
OLYMPIC FIRE PROTECTION CORP         1355 STATE AVE NW OWATONNA MN 55060
OLYMPIC METALS                       7956 S POTOMAC ST CENTENNIAL CO 80112



Epiq Corporate Restructuring, LLC                                                              Page 1413 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1422 of 2156

Claim Name                          Address Information
OLYMPIC MOUNTAIN PRODUCTS           8655 S 208TH ST KENT WA 98031
OLYMPIC TRANSFER CORP.              OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
OLYMPIC TRANSPORT                   704 MOZELLE ST PHARR TX 78577
OLYMPIC TRANSPORT LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
OLYMPIC TRUCK SERVICE               INTERSTATE BILLING, PO BOX 2208 DECATUR AL 35609
OLYMPIC TRUCK SERVICE               PO BOX 7608 OLYMPIA WA 98507
OLZ EXPRESS INC                     4158 COVE LN APT B GLENVIEW IL 60025
OM EXPRESS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
OM TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
OMACHRON SCIENCE INC.               ATTN: GENERAL COUNSEL P. O. BOX 130 HAMPTON ON L0B 1J0 CANADA
OMADA WORLDWIDE EXPEDITE INC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OMADA WORLDWIDE EXPEDITE INC        853 SOUTH COLUMBIA ROAD SUITE PLAINFIELD IN 46168
OMAGA, ALEJANDRO                    ADDRESS ON FILE
OMAHA DOOR & WINDOW CO INC          4665 G ST OMAHA NE 68117
OMAHA PUBLIC POWER DIST             ENERGY PLAZA 444 S 16TH STREET OMAHA NE 68102
OMALLEY, JACOB                      ADDRESS ON FILE
OMANOVIC, ASIM                      ADDRESS ON FILE
OMANOVIC, SUAD                      ADDRESS ON FILE
OMAR A SEGURA MATOS                 ADDRESS ON FILE
OMAR M ELHABBAL                     ADDRESS ON FILE
OMAR RAMIREZ PEREZ                  ADDRESS ON FILE
OMAR TRANSPORTATION LLC             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
OMAR, ABAS                          ADDRESS ON FILE
OMBATI, JIM                         ADDRESS ON FILE
OMEARA, ASHLEY                      ADDRESS ON FILE
OMEGA CHEMICAL                      ATTN: GENERAL COUNSEL 12504 E WHITTIER BLVD WHITTIER CA 90602
OMEGA CORP.                         11 PARKWAY CENTER SUITE 300 PITTSBURGH PA 15220
OMEGA FREIGHT SYSTEMS INC           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
OMEGA FREIGHT, LLC                  PO BOX 2808 DES PLAINES IL 60017
OMEGA GROUP USA LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OMEGA MAN LOGISTICS                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
OMEGA NATIONAL PRODUCTS             ATTN: PETE YODER 1010 ROWE STREET ELKHART IN 46516
OMEGA SHIPPING EXPRESS INC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OMEGA TRANS CARRIER                 OR Z & Z FINANCIAL GROUP 2300 STEELES AVE UNIT 160 CONCORD ON L4K 5X6 CANADA
OMEGA TRANS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
OMEGA TRANZ LLC                     OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
OMEGA TRUCKING LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
OMEGA TRUCKING LLC (DEARBORN, MI)   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
OMEGA TRUCKING SOLUTIONS LLC        OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
OMEGASTYLEZ INDUSTRIES LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OMEJEC, KRESIMIR                    ADDRESS ON FILE
OMER Y YASARLAR                     ADDRESS ON FILE
OMI TRUCKING INC                    105 NORTH STREET FAYETTEVILLE NY 13066
OMIELIFE INC                        724 LAKE ST SAN FRANCISCO CA 94118
OMIYALE, SABUR                      ADDRESS ON FILE
OMLIE, JUSTIN                       ADDRESS ON FILE
OMLM EXPRESS TRANSPORT LLC          OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
OMN TRANSPORTATION LLC              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
OMNI 33                             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                            Page 1414 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1423 of 2156

Claim Name                             Address Information
OMNI TRANSPORTATION                    PO BOX 120114 GRAND RAPIDS MI 49528
OMNI WAREHOUSE SUPPLIES LLC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
OMNIA TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
OMNIMAX INTERNATIONAL                  4455 RIVER GREEN PARKWAY DULUTH GA 30096
OMNIMAX INTERNATL                      4455 RIVER GREEN PKW DULUTH GA 30096
OMNITRANS CUSTOMS BROKERS INC          ATTN: HUGO PAREDES TRUCK DEPT 4300 JEANTALON W MONTREAL QC H4P 1W3 CANADA
OMRON C/O ECHO GLOBAL                  ATTN: NATASIA FIELDS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
OMS TRANSPORT LLC                      1041 NORTH BLUFF ROAD GREENWOOD IN 46142
OMWEXPRESS LLC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ON CALL MOBILE SERVICES INC            58438 FILBERT RD MISHAWAKA IN 46545
ON DA PULL UP LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ON DEMAND TRUCKING & HAULING LLC       PO BOX 305 REYNOLDSBURG OH 43068
ON DUTY TRANSPORTATION LLC             OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ON GO TRANSPORTATION, LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ON GOING EXPRESS                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ON INC                                 1250 NW 9TH AVE SUITE 500 PORTLAND OR 97209
ON LAND TRANSPORT INC.                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ON LAND TRANSPORT INC.                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ON MY WAY TRUCKING LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
ON POINT OB TRANSPORT INC              OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
ON POINT TRUCKING EXPRESS INC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ON POINT TRUCKING SVCS LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ON SITE FLEET SERVICES OF MIDDLE TN    PO BOX 641 PLEASANT VIEW TN 37146
ON SITE GROUP LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ON SITE MECHANICAL SERVICES LLC        2657 E ROYAL RIDGE DR CRETE IL 60417
ON SITE MECHANICAL SERVICES LLC        PO BOX 292 MONEE IL 60449
ON SOURCE LOGISTICS                    OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ON THE BALL TRUCKING LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ON THE GO TRANSPORTATION INC           OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
ON THE GO TRANSPORTATION LLC           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ON THE GO TRUCKING SERVICES LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ON THE GO TRUCKING, LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ON THE GRIND LOGISTICS LLC             OR G SQUARED FUNDING LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
ON THE HOOK LLC                        6708 ZERO ROAD CASPER WY 82604
ON THE MAPP TRUCKING                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ON THE MOVE TRUCKING INC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ON THE ROAD LOGISTICS LLC              5119 GLENEAGLES WAY SUFFOLK VA 23435
ON THE ROCK LOGISTICS &                FREIGHT FORWARDING, INC. OR SUNBELT FINANCE LLC DEPT 144 PO BOX 1000 MEMPHIS
                                       TN 38148-0144
ON THE RUN FREIGHT LOGISTICS CO        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ON THE RUN TRUCKING 247 LLC            OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ON THE RUN TRUCKING LLC                OR VERO BUSINESS CAPITAL, PO BOX 639565 CINCINNATI OH 45263-9565
ON THE SPOT TRUCKING, INC.             PO BOX 2567 KENNESAW GA 30156
ON THE VIRG TRUCKING INC               14586 WISCONSIN ST DETROIT MI 48238
ON THE WAY LOGISTICS LLC (MC1229015)   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ON THE WAY TRANSPORT SVCS LLC          OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ON THE WAY TRUCKING LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ON THE XPRESSWAY LLC                   6342 ANTHPNY DR LIBERTY TWP OH 45011
ON TIME 5 TRANSPORT CORP.              1918 SW 44TH AVE FORT LAUDERDALE FL 33317



Epiq Corporate Restructuring, LLC                                                                 Page 1415 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1424 of 2156

Claim Name                              Address Information
ON TIME CARRIERS INC                   P.O. BOX 8238 JERSEY CITY NJ 07308
ON TIME CARRIERS INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ON TIME CLOCKS                         PO BOX 4173 DOWNEY CA 90241
ON TIME COURIER, INC.                  3260 MILLER PIKE LEBANON KY 40033
ON TIME DELIVERY, INC.                 1800 PREBLE AVE PITTSBURGH PA 15233
ON TIME FREIGHT TRANSPORT LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ON TIME LOGISTIC LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ON TIME LOGISTICS CO.                  5336 S MERRIMAC AVE APT 1R CHICAGO IL 60638
ON TIME LOGISTICS FREIGHT LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ON TIME LOGISTICS SVCS LLC             OR TRIUMPH BUS. CAPITA PO BOX 610028 DALLAS TX 75261
ON TIME QUALITY TRANSPORT LLC          3302 OLSON RD SPRING HILL FL 34607
ON TIME TRAILER MAINTENANCE            14212 BRANDT DR MORENO VALLEY CA 92553
ON TIME TRANSIT INC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ON TIME TRANSIT INC                    OR TRANS FINANCIAL GROUP, PO BOX 743863 LOS ANGELES CA 90074-3863
ON TIME TRANSPORT                      OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
ON TIME TRANSPORT (MC654999)           OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
ON TIME TRANSPORT AND DELIVERY LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ON TIME TRANSPORTATION TRUCKING        500 N STATE COLLEGE BLVD SUITE 1100 ORANGE CA 92868
ON TIME TRUCKING CORPORATION           OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
ON TRAC TRANSPORT INC                  7902 GERBER RD, 287 SACRAMENTO CA 95828
ON TRACK FREIGHT INC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ON TRACK OVERHEAD DOORS INC            16606 W CHERRY CREEK CT JOLIET IL 60433
ON TRACK TRANSPORTATION LLC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
ON TRACK TRANSPORTATION LLC (MC1341514) OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ON TYME LOGISTICS LLC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ON&M TRUCKING LLC                      OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
ON-ACCOUNT                             PO BOX 1035 CLACKAMAS OR 97015
ON-SITE FLEET SERVICES                 7620 OLD STATE ROAD 60 SELLERSBURG IN 47172
ON-SITE REPAIR SERVICE INC             1115 N IRISH ROAD DAVISON MI 48423
ON-TIME EXPRESS INC.                   PO BOX 68095 BONNIE DOON EDMONTON AB T6C 4N6 CANADA
ONAIL, BRYAN                           ADDRESS ON FILE
ONATE LOGISTICS INC.                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
ONBOARD TRANSPORTATION LLC             OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
ONCOR ELECTRIC DELIVERY                C/O JNR ADJUSTMENT CO., INC. 3300 FERNBROOK LANE N STE 225 PLYMOUTH MN 55447
ONCOR ELECTRIC DELIVERY                1616 WOODALL RODGERS FRWY. (ATTN: 5TH FLOOR CLAIMS) DALLAS TX 75202
ONCOR ELECTRIC DELIVERY                C/O ANOZIE, LLP ATTN: JORDON J. DUKES 6120 SWISS AVENUE DALLAS TX 75214
ONCOR ELECTRIC DELIVERY COMPANY        1616 WOODALL RODGERS FRWY DALLAS TX 75202
ONCOR ELECTRIC DELIVERY COMPANY        C/O ANOZIE, LLP ATTN: JOURDAN J. DUKES 6120 SWISS AVE DALLAS TX 75214
ONDERISIN, THOMAS                      ADDRESS ON FILE
ONDREY, ZACHARY                        ADDRESS ON FILE
ONDRICK, DAVID                         ADDRESS ON FILE
ONE 21 TRANSPORT                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ONE CALL TRANSPORT LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ONE CARGO                              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ONE CARRIER INC                        11 TWIG LANE LEVITTOWN NY 11756
ONE COUNTRY LOGISTICS LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ONE DEPENDABLE TRANSPORT LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ONE DIRECTION LOGISTICS LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ONE FAMILY TRUCKING INC                OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                                 Page 1416 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1425 of 2156

Claim Name                              Address Information
ONE FLESH TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA OK 73124-8920
ONE FOR ALL LOGISTICS LLC              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
ONE GLOBE TRANSPORTATION LLC           OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ONE GOAL TRANSPORTATION                OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
ONE HEART TRANSPORTATION LLC           OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ONE LEVEL TRANSPORT INC                OR CROSSROAD SERVICES, PO BOX 653076 DALLAS TX 75265-3076
ONE LOGISTIC & SERVICE LLC             OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
ONE LOVE TRUCKING L.L.C                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ONE NATION TRANS INC.                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ONE NATION TRUCKING LLC                OR TRIUMPH BUS. CAPITA PO BOX 610028 DALLAS TX 75261
ONE NETWORK ENTERPRISES, INC.          PO BOX 679180 DALLAS TX 75267
ONE OF A KIND EXPRESS LLC              PO BOX 8065 SEBRING FL 33872
ONE PRINCESS TRUCKING LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ONE ROAD LLC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ONE SOURCE                             1812 KIMBERLY PARK DR DALTON GA 30720
ONE SOURCE FACILITY MANAGEMENT SVCS LLC 1740 TWINSBURG RD TWINSBURG OH 44087
ONE STOP                               ATTN: JOHN BIRD INVENTORY 2686 NORTHRIDGE DR NW GRAND RAPIDS MI 49544
ONE STOP FREIGHT SOLUTIONS             6041 25TH ST RIVERSIDE CA 92509
ONE TIME LOGISTICS LLC                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ONE TO GO WITH TRANSPORTATION LLC      337 MAPLE STREET HICKORY FLAT MS 38633
ONE TOUCH GLOBAL TECHNOLOGIES          1111 N 102ND CT STE 330 OMAHA NE 68114
ONE USA GROUP INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ONE WAY EXPRESS                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ONE WAY HAULING EXPRESS CO             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ONE WAY INTERNATIONAL LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ONE WAY LLC                            4308 NE 136TH AVE VANCOUVER WA 98682
ONE WAY OUT TRUCKING LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ONE WAY TRANSPORT SERVICE LLC          OR RIVIERA FINANCE MINNEAPOLIS P.O BOX 850243 MINNEAPOLIS MN 55485-0243
ONE WAY TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ONE WAY TRUCKING LLC (MC1249803)       OR TRIUMPH FINANCIAL SVCS PO BOX 610028 DALLAS TX 75261-0028
ONE WAY UP INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ONE WORLD TRANSPORT                    41040 ROSEWALK CT FREMONT CA 94539
ONE WORLD TRUCKING INC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ONE8 FREIGHT LLC                       3813 ILLINOIS AVE ST CHARLES IL 60174
ONE9 TRUCKING LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ONEAL MANUFACTURING                    5184 LIMABURG RD. BURLINGTON KY 41005
ONEAL, AARON                           ADDRESS ON FILE
ONEAL, BERTRAM                         ADDRESS ON FILE
ONEAL, CYPRUS                          ADDRESS ON FILE
ONEAL, DANNY                           ADDRESS ON FILE
ONEAL, DARIN                           ADDRESS ON FILE
ONEAL, DAVID                           ADDRESS ON FILE
ONEAL, DEMETRIC                        ADDRESS ON FILE
ONEAL, HANNAH                          ADDRESS ON FILE
ONEAL, IAN                             ADDRESS ON FILE
ONEAL, JASON                           ADDRESS ON FILE
ONEAL, JOSH                            ADDRESS ON FILE
ONEAL, RAYMOND                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1417 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1426 of 2156

Claim Name                             Address Information
ONEAL, RICKY                           ADDRESS ON FILE
ONEAL, TREVOR                          ADDRESS ON FILE
ONEAL, WILLIAM                         ADDRESS ON FILE
ONEIL, MICHAEL                         ADDRESS ON FILE
ONEIL, MICHAEL                         ADDRESS ON FILE
ONEIL, MICHAEL                         ADDRESS ON FILE
ONEIL, OLEAN                           ADDRESS ON FILE
ONEIL, RICK                            ADDRESS ON FILE
ONEIL, STEVE                           ADDRESS ON FILE
ONEILL, BILL                           ADDRESS ON FILE
ONEILL, COURTNEY                       ADDRESS ON FILE
ONEILL, EVAN                           ADDRESS ON FILE
ONEILL, JAMES                          ADDRESS ON FILE
ONEILL, JOHN                           ADDRESS ON FILE
ONEILL, MICHAEL                        ADDRESS ON FILE
ONEILL, PATRICK                        ADDRESS ON FILE
ONEILL, PATRICK T                      ADDRESS ON FILE
ONEILL, PATRICK T                      ADDRESS ON FILE
ONEILL, SEAN                           ADDRESS ON FILE
ONEILL, STEVEN                         ADDRESS ON FILE
ONEILL, WILLIAM                        ADDRESS ON FILE
ONEL FAMILY TRUCKING INC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ONETAZO TRUCK LLC                      OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
ONEWAY TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ONG, MARIA ANNA JANE                   ADDRESS ON FILE
ONG, XIN WEI                           ADDRESS ON FILE
ONGUARD FENCE SYSTEM                   355 N ALBANY RD MOORESTOWN NJ 08057
ONI TRUCKING, LLC                      PO BOX 47052 ATLANTA GA 30362
ONKAR CARRIERS LLC                     OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
ONKAR EXPRESS INC                      54 CHESTNUT ST HICKSVILLE NY 11801-3222
ONKAR TRANSPORT INC                    OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ONKAR TRANSPORTATION INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ONKAR TRUCKING LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ONKST, VERONICA                        ADDRESS ON FILE
ONLINE TRANSPORT, INC.                 6311 STONER DRIVE GREENFIELD IN 46140
ONLINE TRUCKING LOGISTICS              1485 POINSETTIA AVE SUITE 117 ATTN KIERRA JOHNSON VISTA CA 92081
ONLINE TRUCKING LOGISTICS INC          1485 POINSETTIA AVE STE 117 VISTA CA 92081
ONLY, WILLIAM                          ADDRESS ON FILE
ONLY1 LOGISTICS, LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ONLY1ONE TRANSPORTATION LLC            OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
ONOFRE GABINO, URSO                    ADDRESS ON FILE
ONORATO, GARY O                        ADDRESS ON FILE
ONOREVOLE TRANSPORTATION LLC           OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
ONSET WORLDWIDE                        ATTN: SARA 843 STATE ROUTE 12 STE B15 FRENCHTOWN NJ 08825
ONSIGHT TRANSPORT LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ONSITE TRUCK & EQUIPMENT REPAIR, INC   6403 S. BRYE ROAD LUDINGTON MI 49431
ONSITE TRUCK & TRAILER SERVICE, INC    3433 S 7TH ST RD LOUISVILLE KY 40216
ONSITE TRUCK & TRAILER SERVICE, INC    PO BOX 21757 LOUISVILLE KY 40221
ONSLOW COUNTY TAX COLLECTOR            PO BOX 580428 CHARLOTTE NC 28258



Epiq Corporate Restructuring, LLC                                                               Page 1418 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1427 of 2156

Claim Name                             Address Information
ONSLOW FIRE EXTINGUISHER, INC.         349 CENTER ST STE-D JACKSONVILLE NC 28546
ONSUREZ, OSCAR                         ADDRESS ON FILE
ONTARIO DRIVING SCHOOL OF LONDON IBC   427 EXETER RD LONDON ON N6E 2Z3 CANADA
ONTARIO FREIGHT SERVICE                PO BOX 30027 COUNTRYSIDE BRAMPTON ON L6R0S9 CANADA
ONTARIO TEAMSTERS BENEFIT PLAN LOCAL   2-1793 DUNDAS ST E LONDON ON N5W 3E6 CANADA
879
ONTARIO TRUCKING ASSOCIATION           555 DIXON RD TORONTO ON M9W 1H8 CANADA
ONTHEGO VENTURES21 LLC                 7244 CASTOR AVE 1076 PHILADELPHIA PA 19149-1109
ONTIBEROS, SHIRELLE                    ADDRESS ON FILE
ONTIME CARRIER INC                     5829 EDGEWOOD TRACE BLVD 5829 EDGEWOOD TRACE BLVD INDIANAPOLIS IN 46239
ONTIME CARRIER LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ONTIME COURIER SERVICES INC            2900 SUNRIDGE HEIGHTS PKWY 1327 HENDERSON NV 89052
ONTIME EXPRESS LINE, INC.              OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
ONTIME EXPRESS, LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ONTIME TRANS INC                       OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
ONTIME TRANS INC (BRUBANK CA)          OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
ONTIME TRANS INC (BRUBANK CA)          2600 W OLIVE AVE 5TH FL BURBANK CA 91505
ONTIME TRANSPORT & LOGISTICS LLC       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ONTIME TRANSPORT LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ONTIVEROS, ANTHONY                     ADDRESS ON FILE
ONTRACK TRANSPORTATION, INC            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ONUGHA, GERALD                         ADDRESS ON FILE
ONULIAK, CHRISTOPHER                   ADDRESS ON FILE
ONUORA, LAWRENCE                       ADDRESS ON FILE
ONWARD FREIGHT SVCS                    OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA AB L4Z 1X8
                                       CANADA
ONWAY LOGISTICS                        4005 MANZANITA AVENUE SUITE 6-135 CARMICHAEL CA 95608
ONYSKO, KENNETH E                      ADDRESS ON FILE
ONYX DIAMOND TRANSPORT LLC             OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189
ONYX FREIGHT LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ONYX STUDIO INC                        38 N TRACY AVE BOZEMAN MT 59715
ONYX TRANSPORT INC (MC1294370)         OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ONYX TRANSPORTATION INC                OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                       76116
ONYX-ROCK TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OOMS, GLYNN                            ADDRESS ON FILE
OOMS, GLYNN                            ADDRESS ON FILE
OONI                                   2140 S DUPONT HWY CAMDEN DE 19934
OOO LOGISTIC INC                       5357 MAPLEDALE WAY MASON OH 45040
OP TRUCKING                            8200 BOULEVARD E APT 6J NORTH BERGEN NJ 07047-6040
OPATIK, MIKALOS                        ADDRESS ON FILE
OPDAHL, CHRISTOPHER                    ADDRESS ON FILE
OPEIU LOCAL 129                        7677 OAKPORT STREET SUITE 480 OAKLAND CA 94621
OPEIU LOCAL 29                         ADDRESS ON FILE
OPEIU LOCAL 29                         ADDRESS ON FILE
OPEN COAST LOGISTICS INC               315 N WASHINGTON AVE MOORESTOWN NJ 08057
OPEN COUNTRY LOGISTICS, LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
OPEN DOOR PRESS                        338 SEVEN OAKS AVE WINNIPEG MB R2V 0L3 CANADA
OPEN MIND TRUCKING LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
OPEN ROAD LOGISTIC INCORPORATION       OR THUNDER FUINDING, PO BOX 1000, DEPT 3003 MEMPHIS TN 38148-3003


Epiq Corporate Restructuring, LLC                                                                 Page 1419 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1428 of 2156

Claim Name                           Address Information
OPEN ROAD TRANSPORT LLC              OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
OPEN ROAD TRUCKING LLC               OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
OPEN SQUARE                          303 S RIVER ST SEATTLE WA 98108
OPEN WHEEL LOGISTICS LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OPENSHAW, ANNE-CELESTE               ADDRESS ON FILE
OPENSHAW, ANNE-CELESTE               ADDRESS ON FILE
OPENTEXT INC.                        C/O JP MORGAN LOCKBOX, 24685 NETWORK PL CHICAGO IL 60673
OPENTEXT INC.                        155 N ROSEMONT BLVD, STE 101 TUCSON AZ 85711-3137
OPERATION HANDYMAN                   1629 4TH AVE SE STE 100G DECATUR AL 35601
OPEU WELFARE FUND                    4160 DUBLIN BLVD SUITE 400 DUBLIN CA 94568
OPEX LOGISTICS SVCS LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OPIS                                 OIL PRICE INFORMATION SVC, LLC PO BOX 9407 GAITHERSBURG MD 20898
OPITZ, EDDIE                         ADDRESS ON FILE
OPK INSURANCE CO. LTD                10990 ROE AVE LEAWOOD KS 66211
OPOKU ADDO, CHRISTIAN                ADDRESS ON FILE
OPOKU AMPONSAH, ISAAC                ADDRESS ON FILE
OPP LOGISTICS INC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
OPPENHEIMER & CO. INC. (0571)        ATT COLIN SANDY OR PROXY MGR 85 BROAD ST, 4TH FL NEW YORK NY 10004
OPPOR2UNITY TRUCKING LLC             OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
OPS-KC ASPIRIA LLC                   PO BOX 776761 CHICAGO IL 60677
OPS-KC ASPIRIA, LLC                  ATTN: SARABETH STAHL 165 S. ROCK ISLAND AVE. SUITE 300 WICHITA KS 67202
OPTIMA EXPRESS LINES INC             217 WATERS RUN LN SIMPSONVILLE SC 29681
OPTIMA FREIGHT TRANS INC             OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
OPTIMA INC                           ATTN: KAREN MACDONALD 220 CHERRY ST SHREWSBURY MA 01545
OPTIMA USA                           3480 N. 127TH ST. BROOKFIELD WI 53005
OPTIMAL DELTA T INC                  ATTN: AMR EL KADRI 3513 MORGAN CRESCENT LONDON ON N6L 0B7 CANADA
OPTIMAL ELITE TRUCKING               OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
OPTIMAL TRUCKING COMPANY, INC.       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
OPTIMAS C O RL JONES                 ATTN: MANUEL MILLER 1778 ZINETTA RD CALEXICO CA 92231
OPTIMUM ALLIANCE, LLC                PO BOX 1434 BENTONVILLE AR 72712
OPTIMUM LOGISTIC SERVICE LLC         OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
OPTIMUM RV                           2540 W. CR 48 BUSHNELL FL 33513
OPTIMUM TRANS INC                    11500 HOLLYBROOK LANE BAKERSFIELD CA 93311
OPTIMUM TRUCKING LLC                 36 CHESTNUT ST FL 2 GARFIELD NJ 07026-2822
OPTIMUM WATER SOLUTIONS, INC.        P. O. BOX 349 FRANKLIN IN 46131
OPTIMUS LOGISTICS INC                2646 W LINCOLN HWY MERRILLVILLE IN 46410
OPTIMUS PRIME FREIGHT LLC            OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
OPTIMUS SOLUTIONS INC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
OPTIMUS TRANS TRUCKING LLC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OPTIMUS TRANS TRUCKING LLC           806 BROKEN TRACE CT ROUND ROCK TX 78665
OPTIN TRANSPORT LLC                  OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
OPTIV SECURITY INC.                  PO BOX 28216 NETWORK PLACE CHICAGO IL 60673
OPTYM                                7600 NW 5TH PL GAINESVILLE FL 32607
OPULENT LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OPW FUEL INC                         3250 US HWY 70 BUSINESS W SMITHFIELD NC 27577
OPW FUELING                          ATTN: KARLA HERNANDEZ 3250 US HWY 70 BUS W SMITHFIELD NC 27577
OPW INC                              ATTN: KARLA HERNANDEZ 3250 US HWY 70 BUSINESS W SMITHFIELD NC 27577
OPWFCS                               ATTN: KARLA HERNANDEZ 3250 US HWY 70 BUSINESS W SMITHFIELD NC 27577
OQED EXPRESS INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                               Page 1420 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1429 of 2156

Claim Name                              Address Information
OQUENDO, ISAAC                          ADDRESS ON FILE
OQUINN, CANDACE                         ADDRESS ON FILE
OR DOT                                  355 CAPITOL ST. NE, MS11. SALEM OR 97301
ORACLE                                  ATTN: GENERAL COUNSEL 2300 CLOUD WAY AUSTIN TX 78741
ORACLE AMERICA INC                      PO BOX 71028 CHICAGO IL 60694
ORACLE AMERICA INC                      PO BOX 203448 DALLAS TX 75320
ORACLE AMERICA, INC.                    PO BOX 44471 SAN FRANCISCO CA 94144
ORACLE TRANSPORTATION SOLUTIONS, INC    ORACLE TRANSPORTATION SOLUTIONS, INC PO BOX 515 SUN VALLEY CA 91353
ORAFOL AMERICAS                         ATTN: WENDY MEUSE 1915 VAUGHN ROAD KENNESAW GA 30144
ORAM, DANIEL                            ADDRESS ON FILE
ORAM, LINDSAY                           ADDRESS ON FILE
ORAM, WHITNEY                           ADDRESS ON FILE
ORANGE BATAVIA I LLC                    ATTN: MATT LAMAR, C/O SARES-REGIS GROUP 3501 JAMBOREE ROAD SUITE 3000 NEWPORT
                                        BEACH CA 92660
ORANGE COAST EXPRESS INC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ORANGE COAST PETROLEUM EQUIPMENT, INC   1015 N. PARKER STREET ORANGE CA 92867
ORANGE COMMERCIAL CREDIT, INC.          PO BOX 11099 OLYMPIA WA 98508
ORANGE COUNTY TAX COLLECTOR             PO BOX 545100 ORLANDO FL 32854
ORANGE COUNTY TREASURER                 SEALER OF WEIGHTS & MEASURERS 222 E BRISTOL LANE ORANGE CA 92865
ORANGE COUNTY TREASURER TAX COLLECTOR   PO BOX 1438 SANTA ANA CA 92702
ORANGE ELECTRICAL CONTRACTORS INC       448 S MONTGOMERY WAY ORANGE CA 92868
ORANGE EV LLC                           5710 NW 41ST ST STE 300 RIVERSIDE MO 64150
ORANGE FLAG TRANS INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ORANGE LOGISTICS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ORANGE, JACK                            ADDRESS ON FILE
ORANGE, KEVIN                           ADDRESS ON FILE
ORANGEMELON TRANSPORTATION              18004 JEANNIE DR LA PUENTE CA 91744-5822
ORANTES & GONZALEZ TRANSPORTATION INC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ORAS EXPRESS LLC                        OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
ORAS LOGISTIC LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ORB TRANSPORT LLC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ORB TRUCKING LLC                        OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ORBE SILVA, EDUARDO                     ADDRESS ON FILE
ORBERSON, HUNTER                        ADDRESS ON FILE
ORBIT EXPRESS INC                       OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
ORBIT IRRIGATION EDI                    PO BOX 328 BOUNTIFUL UT 84011
ORBIT LANE EXPRESS LLC                  OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                        76116
ORBIT TRANSPORT INC                     14854 BOLTON ROAD CENTREVILLE VA 20121
ORBIT TRANSPORT INC (FONTANA CA)        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ORBITAL JUMP-FREIGHT LLC                OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
ORBITZ SVCS & SUPPLIES LLC              OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ORC RENO DIST CNTR                      990 N HILLS BLVD RENO NV 89506
ORCA EXPRESS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ORCA TRUCKING TEAM LLC                  OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
ORCAS ISLAND FREIGHT LINES              34 W BEACH RD EASTSOUND WA 98245
ORCAS ISLAND OFFICE                     34B W BEACH EASTSOUND WA 98245
ORCHARD INVESTMENTS                     ATTN: MARCIA THOMPSON 2620 OLD ORCHARD ROAD JACKSON MO 63755
ORCHARD INVESTMENTS INC                 2620 OLD ORCHARD ROAD JACKSON MO 63755



Epiq Corporate Restructuring, LLC                                                                  Page 1421 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1430 of 2156

Claim Name                              Address Information
ORD TRANS INC                           2375 PRATT BLVD ELK GROVE VILLAGE IL 60007
ORD TRANSPORTATION INC                  8N154 PHAR LAP DR ST CHARLES IL 60175
ORDAZ TRANSPORTATION INC                OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ORDONEZ, ARACELI                        ADDRESS ON FILE
ORDONEZ, ARACELI                        ADDRESS ON FILE
ORDONEZ, CESAR                          ADDRESS ON FILE
ORDOTRANSPORT LLC                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ORDWAY CENTER FOR THE PERFORMING ARTS   345 WASHINGTON ST ST. PAUL MN 55102
ORE, KYLE                               ADDRESS ON FILE
OREAR, GEORGE                           ADDRESS ON FILE
OREAR, MICHAEL                          ADDRESS ON FILE
OREGARRO, JOHNNY                        ADDRESS ON FILE
OREGON AUTO SPRING SERVICE              18650 SW PACIFIC HWY TUALATIN OR 97062
OREGON BREWING CO                       2320 SE OSU DR NEWPORT OR 97365
OREGON DEPARTMENT OF REVENUE            3930 FAIRVIEW INDUSTRIAL DR SE SALEM OR 97302
OREGON DEPARTMENT OF REVENUE            PO BOX 14780 SALEM OR 97309
OREGON DEPARTMENT OF REVENUE            955 CENTER ST NE SALEM OR 97310
OREGON DEPARTMENT OF STATE LANDS        UNCLAIMED PROPERTY PROGRAM UNIT 18, PO BOX 4395 PORTLAND OR 97208
OREGON DEPARTMENT OF STATE LANDS        UNCLAIMED PROPERTY SECTION 775 SUMMER STREET NE, SUITE 100 SALEM OR 97301
OREGON DEPARTMENT OF TRANSPORTATION     3930 FAIRVIEW INDUSTRIAL DR SE SALEM OR 97302
OREGON DEPT OF AGRICULTURE              PO BOX 4395 UNIT 17 PORTLAND OR 97208
OREGON DEPT OF ENVIRONMENTAL QUALITY    ATTN: ACCOUNTING OFFICE 700 NE MULTNOMAH ST., SUITE 600 PORTLAND OR 97232
OREGON DEPT OF REVENUE                  955 CENTER ST NE SALEM OR 97301
OREGON DEPT OF TRANSPORTATION           MOTOR CARRIER TRANSPORT DIVISION 3930 FAIRVIEW INDUSTRIAL DRIVE SE SALEM OR
                                        97302
OREGON DMV                              1905 LANA AVE NE SALEM OR 97314
OREGON DOOR                             PO BOX 1960 WINSTON OR 97496
OREGON DOOR INC                         477 DILLARD GARDENS RD WINSTON OR 97496
OREGON DOT/MCT                          3930 FAIRVIEW INDUSTRIAL DR SE SALEM OR 97302
OREGON TEAMSTER EMPLOYERS TRUST         UNIT 42 PO BOX 4900 PORTLAND OR 97208
OREGON TEAMSTERS 401K                   401 LIBERTY AVE STE 1200 PITTSBURGH PA 15222-1024
OREGON TEAMSTERS EMPLOYERS TRUST        1860 NE 162ND AVE PORTLAND OR 97230
OREGON TRAIL ELECTRIC COOP              4005 23RD ST BAKER CITY OR 97814
OREGON TRANS LLC                        4069 SW MAWRCREST AVE GRESHAM OR 97080
OREGON TRUCKING ASSOCIATIONS INC        4005 SE NAEF RD PORTLAND OR 97267
OREGON VALLEY GREENHOUSES               PO BOX 220 AURORA OR 97002
OREGON-ALBERTO, EDGAR                   ADDRESS ON FILE
OREILLY FIRST CALL                      PO BOX 9464 SPRINGFIELD MO 65801
OREILLY MEDIA INC                       DEPT CH 19813 PALATINE IL 60055
OREILLY, KEVIN                          ADDRESS ON FILE
OREKOYA, TAOFEEK                        ADDRESS ON FILE
ORELLANA, MELVIN                        ADDRESS ON FILE
ORELLANA, ROBERTO                       ADDRESS ON FILE
ORENCO SYSTEMS                          814 AIRWAY AVE SUTHERLIN OR 97479
ORENT, JIMMY                            ADDRESS ON FILE
OREPAC BUILDING PRODUCTS                4640 S 5400 W WEST VALLEY CITY UT 84120
ORES, ERIC                              ADDRESS ON FILE
ORESMAN, CY                             ADDRESS ON FILE
ORESSEY, CARL                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1422 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 1431 of 2156

Claim Name                         Address Information
OREST EXPRESS INC                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
ORFO TRUCKING LLC                  OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ORGANIC TRANSPORTATION LLC         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ORGANIFI                           7535 METROPOLITAN DR SAN DIEGO CA 92108
ORGANIZED LOGISTICS LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ORGASS, PETER                      ADDRESS ON FILE
ORGIL INC                          10700 W HIGGINS RD 200 ROSEMONT IL 60026
ORGILL INC                         ATTN: JEFFERY TANNER 260 JORDAN RD TIFTON GA 31794
ORGILL INC                         LOGISTIC & OPERATIONS DEPT, PO BOX 140 MEMPHIS TN 38101
ORGILL INC                         HATFIELD & ASSOC 5100 POPLAR AVE STE 3119 MEMPHIS TN 38137
ORGILL INC                         7001 ELDER LAKE RD KILGORE TX 75662
ORIA, ALFREDO                      ADDRESS ON FILE
ORIA, ALFREDO                      ADDRESS ON FILE
ORIA, ALFREDO A                    ADDRESS ON FILE
ORIA, VICENTE                      ADDRESS ON FILE
ORIAN W JOHNSON                    ADDRESS ON FILE
ORIBELLO, CANDICE                  ADDRESS ON FILE
ORIGAMI RISK LLC                   P.O. BOX 74751 CHICAGO IL 60694
ORIGINAL TRUCKING LLC              3909 E MORROW DR PHOENIX AZ 85050
ORION POWER SYSTEM                 2939 W BEAVER ST JACKSONVILLE FL 32254
ORION ROPEWORKS                    953 BENTON AVE WINSLOW ME 04901
ORION TRUCK INC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ORION TRUCK INC                    OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
ORIVE, SIDNEY                      ADDRESS ON FILE
ORKIN                              15 HAZELWOOD DR, SUITE 110 AMHERST NY 14228
ORKIN                              352-BRISTOL, TN, 2000 HIGHWAY 75 BLOUNTVILLE TN 37617
ORKIN                              PO BOX 5275 KINGSPORT TN 37663
ORKIN                              6230 HUNTLEY RD COLUMBUS OH 43229
ORKIN                              571-FT, WAYNE, IN, P O BOX 740589 CINCINNATI OH 45274
ORKIN                              596-TERRE HAUTE, IN, P O BOX 740589 CINCINNATI OH 45274
ORKIN                              690-MILWAUKEE COMM, WI, P O BOX 740589 CINCINNATI OH 45274
ORKIN                              964-BUFFALO, NY, P O BOX 740847 CINCINNATI OH 45274
ORKIN                              ORKIN, 526-DAVENPORT, IA, PO BOX 740589 CINCINNATI OH 45274
ORKIN                              P O BOX 740300 CINCINNATI OH 45274
ORKIN                              PO BOX 740589 CINCINNATI OH 45274
ORKIN                              3835 SUPERIOR RIDGE DR FORT WAYNE IN 46808
ORKIN                              4995 LACROSS RD, SUITE 1150 NORTH CHARLESTON SC 29406
ORKIN                              596 TERRE HAUTE, IN, 3733 E MARGARET DR TERRE HAUTE IN 47803
ORKIN                              596-TERRE HAUTE, IN, P O BOX 9427 TERRE HAUTE IN 47808
ORKIN                              P O BOX 9427 TERRE HAUTE IN 47808
ORKIN                              501 W 76TH ST DAVENPORT IA 52806
ORKIN                              PO BOX 2351 DAVENPORT IA 52809
ORKIN                              10101 W INNOVATION DR STE 500 MILWAUKEE WI 53226
ORKIN                              971 BUSSE RD ELK GROVE VILLAGE IL 60007
ORKIN                              603 E DIEHL RD, SUITE 124 NAPERVILLE IL 60563
ORKIN                              2619 S MAIN ST BLOOMINGTON IL 61704
ORKIN                              4507 S 134TH ST OMAHA NE 68137
ORKIN                              885 LAS VEGAS COMMERCIAL 6450 CAMERON ST, ST 100 LAS VEGAS NV 89118
ORKIN                              741 - FRESNO, CA P O BOX 7161 PASADENA CA 91109



Epiq Corporate Restructuring, LLC                                                            Page 1423 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1432 of 2156

Claim Name                           Address Information
ORKIN                                P O BOX 7161 PASADENA CA 91109
ORKIN                                741-FRESNO CA, 5830 SHIELDS AVE FRESNO CA 93727
ORKIN - DAVENPORT, IA                6230 HUNTLEY RD COLUMBUS OH 43229
ORKIN - DAVENPORT, IA                501 W 76TH ST DAVENPORT IA 52806
ORKIN - DAVENPORT, IA                4201 W. 36TH ST. CHICAGO IL 60632
ORKIN - DAVENPORT, IA                2619 MAIN ST BLOOMINGTON IL 61704-7315
ORKIN CANADA CORPORATION             5840 FALBOURNE ST MISSISSAUGA ON L5R 4B5 CANADA
ORKIN FRANCHISE 926                  P.O. BOX 3208 SHERMAN TX 75091
ORKIN/SAWYER, INC.                   107 W 43RD ST BOISE ID 83714
ORKOWSKI, LUDWIG                     ADDRESS ON FILE
ORLAND TRANSPORT AND LOGISTICS INC   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ORLANDER HILL                        ADDRESS ON FILE
ORLANDINI, ANDREW                    ADDRESS ON FILE
ORLANDO B MCCRAE                     ADDRESS ON FILE
ORLANDO DENDY                        ADDRESS ON FILE
ORLANDO EXPRESS INC                  OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ORLANDO L HERRON                     ADDRESS ON FILE
ORLANDO PRO TRUCK REPAIRS LLC        34415 S HAINES CREEK RD LEESBURG FL 34788
ORLANDO SUN TRUCKING INC             OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
ORLANDO UTILITIES COMMISSION         100 W ANDERSON ST ORLANDO FL 32801
ORLANDO XPRESS INC                   OR TAB BANK, PO BOX 150830 OGDEN UT 84415
ORLANDO, MICHAEL                     ADDRESS ON FILE
ORLANDO, RICHARD                     ADDRESS ON FILE
ORLANDO, RICHIE                      ADDRESS ON FILE
ORLIN COWBOY TRANSPORT LLC           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ORME, PERNELL                        ADDRESS ON FILE
ORMOND, TERRY                        ADDRESS ON FILE
ORMSBY, JEFFREY                      ADDRESS ON FILE
ORMSBY, RICHARD                      ADDRESS ON FILE
ORNAMENTAL GATE & FENCE              E. 11901 MIDWAY RD. MEAD WA 99021
ORNCE, JESSICA                       ADDRESS ON FILE
ORNCE, MICHAEL                       ADDRESS ON FILE
ORNCE, MICHAEL J                     ADDRESS ON FILE
ORNELAS, GILBERTO                    ADDRESS ON FILE
ORNELAS, ISSAC                       ADDRESS ON FILE
ORNELAS, JEFFREY                     ADDRESS ON FILE
ORNELAS, PORFIRIO                    ADDRESS ON FILE
ORNELAS, VICTOR                      ADDRESS ON FILE
ORNS, CHRISTOPHER                    ADDRESS ON FILE
ORO TRANS INC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ORO TRANSPORTATION LLC               OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
OROCHENA, JOSEPH G                   ADDRESS ON FILE
ORONA, DANNY                         ADDRESS ON FILE
OROPEZA, JOSE                        ADDRESS ON FILE
OROPEZA, MARK                        ADDRESS ON FILE
ORORKE, RYAN                         ADDRESS ON FILE
OROS, MICHAEL                        ADDRESS ON FILE
OROUKE SALES                         3885 ELMORE AVE STE 100 DAVENPORT IA 52807
OROURKE SALES                        ATTN: KIRBI MCCUBBIN 3885 ELMORE AVENUE, STE 100 DAVENPORT IA 52807



Epiq Corporate Restructuring, LLC                                                               Page 1424 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1433 of 2156

Claim Name                           Address Information
OROURKE SALES COMPANY                ATTN: DAWN HEDGECOCK 3885 ELMORE AVE 100 DAVENPORT IA 52807
OROURKE, LINDA                       ADDRESS ON FILE
OROURKE, LINDA                       ADDRESS ON FILE
OROZCO TRUCKING                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
OROZCO TRUCKING INC                  OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
OROZCO, DAVID                        ADDRESS ON FILE
OROZCO, DERICK                       ADDRESS ON FILE
OROZCO, FRANCISCO                    ADDRESS ON FILE
OROZCO, JAIME                        ADDRESS ON FILE
OROZCO, JORGE                        ADDRESS ON FILE
OROZCO, JOSE                         ADDRESS ON FILE
OROZCO, RAUL                         ADDRESS ON FILE
OROZCO, RAUL                         ADDRESS ON FILE
OROZCOS INC                          8370 MINES RD LAREDO TX 78045
ORPURT, GARETT                       ADDRESS ON FILE
ORR, CHRISTOPHER                     ADDRESS ON FILE
ORR, DERRICK                         ADDRESS ON FILE
ORR, DONALD                          ADDRESS ON FILE
ORR, EDDIE                           ADDRESS ON FILE
ORR, EUGENE                          ADDRESS ON FILE
ORR, JONATHAN                        ADDRESS ON FILE
ORR, KRISTAL                         ADDRESS ON FILE
ORR, NICOLAS                         ADDRESS ON FILE
ORR, RYAN                            ADDRESS ON FILE
ORR, TRAVIS                          ADDRESS ON FILE
ORR, VICTOR                          ADDRESS ON FILE
ORRANTIA, ROY                        ADDRESS ON FILE
ORREGO, EMILIO                       ADDRESS ON FILE
ORTAL, JUAN                          ADDRESS ON FILE
ORTAS TRUCKING                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ORTEGA AND BARRAZA TRUCKING LLC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ORTEGA GARCIA, FELIP                 ADDRESS ON FILE
ORTEGA HERNANDEZ, JOAQUIN            ADDRESS ON FILE
ORTEGA TRANSPORT                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ORTEGA, ALEX                         ADDRESS ON FILE
ORTEGA, ALFRED                       ADDRESS ON FILE
ORTEGA, BENJAMIN                     ADDRESS ON FILE
ORTEGA, CAMERON                      ADDRESS ON FILE
ORTEGA, DANIEL                       ADDRESS ON FILE
ORTEGA, EDWARD                       ADDRESS ON FILE
ORTEGA, EDWIN                        ADDRESS ON FILE
ORTEGA, ELOJO                        ADDRESS ON FILE
ORTEGA, ELVIA RUBY                   ADDRESS ON FILE
ORTEGA, EMIGDIO                      ADDRESS ON FILE
ORTEGA, GENARO                       ADDRESS ON FILE
ORTEGA, JESUS                        ADDRESS ON FILE
ORTEGA, JOSE                         ADDRESS ON FILE
ORTEGA, JOSE                         ADDRESS ON FILE
ORTEGA, JOSE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1425 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1434 of 2156

Claim Name                          Address Information
ORTEGA, JOSE                        ADDRESS ON FILE
ORTEGA, LUIS                        ADDRESS ON FILE
ORTEGA, MARIA                       ADDRESS ON FILE
ORTEGA, MARIO                       ADDRESS ON FILE
ORTEGA, MIGUEL                      ADDRESS ON FILE
ORTEGA, MIGUEL                      ADDRESS ON FILE
ORTEGA, PEDRO                       ADDRESS ON FILE
ORTEGA, REFUGIO                     ADDRESS ON FILE
ORTEGA, ROY                         ADDRESS ON FILE
ORTEGA-RAMOS, ROBERTO               ADDRESS ON FILE
ORTEGAS PRINCESS TRUCKING           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ORTEZ, PETER                        ADDRESS ON FILE
ORTHMAN LOGISTICS COMPANY           PO BOX 638 LEXINGTON NE 68850
ORTHOILLINOIS                       BOX 78529 MILWAUKEE WI 53278
ORTI GROUP LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ORTICKE, MALCOM                     ADDRESS ON FILE
ORTIZ RUIZ, CARLOS                  ADDRESS ON FILE
ORTIZ TORRES, MARIO                 ADDRESS ON FILE
ORTIZ TORRES, RODOLFO               ADDRESS ON FILE
ORTIZ TRANSPORT LLC                 OR AXLE, PO BOX 392797 PITTSURGH PA 15251-9797
ORTIZ TRUCKING CORP                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ORTIZ TRUCKING INTERNATIONAL INC    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ORTIZ, AARON                        ADDRESS ON FILE
ORTIZ, ANGEL                        ADDRESS ON FILE
ORTIZ, ANGEL                        ADDRESS ON FILE
ORTIZ, ANTHONY                      ADDRESS ON FILE
ORTIZ, BYRON                        ADDRESS ON FILE
ORTIZ, CAPRIANO A                   ADDRESS ON FILE
ORTIZ, CARLOS                       ADDRESS ON FILE
ORTIZ, DANIEL                       ADDRESS ON FILE
ORTIZ, DAVID                        ADDRESS ON FILE
ORTIZ, DAVID                        ADDRESS ON FILE
ORTIZ, DELBY                        ADDRESS ON FILE
ORTIZ, DIANA                        ADDRESS ON FILE
ORTIZ, ENRIQUE                      ADDRESS ON FILE
ORTIZ, FRANCISCO                    ADDRESS ON FILE
ORTIZ, GENARO                       ADDRESS ON FILE
ORTIZ, GLENDA                       ADDRESS ON FILE
ORTIZ, HILDA                        ADDRESS ON FILE
ORTIZ, JADY                         ADDRESS ON FILE
ORTIZ, JAMIE                        ADDRESS ON FILE
ORTIZ, JASON                        ADDRESS ON FILE
ORTIZ, JEFFREY                      ADDRESS ON FILE
ORTIZ, JOHN                         ADDRESS ON FILE
ORTIZ, JOHNATHAN                    ADDRESS ON FILE
ORTIZ, JOHNNY D                     ADDRESS ON FILE
ORTIZ, JOSE                         ADDRESS ON FILE
ORTIZ, JOSE                         ADDRESS ON FILE
ORTIZ, JOSE L                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1426 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1435 of 2156

Claim Name                          Address Information
ORTIZ, JUAN                         ADDRESS ON FILE
ORTIZ, JUAN                         ADDRESS ON FILE
ORTIZ, JUAN                         ADDRESS ON FILE
ORTIZ, LUIS                         ADDRESS ON FILE
ORTIZ, MANUEL                       ADDRESS ON FILE
ORTIZ, MICHAEL                      ADDRESS ON FILE
ORTIZ, ORLANDO                      ADDRESS ON FILE
ORTIZ, OSCAR                        ADDRESS ON FILE
ORTIZ, OSCAR                        ADDRESS ON FILE
ORTIZ, OSCAR                        ADDRESS ON FILE
ORTIZ, PEDRO                        ADDRESS ON FILE
ORTIZ, PEDRO S                      ADDRESS ON FILE
ORTIZ, RAYMOND                      ADDRESS ON FILE
ORTIZ, RICARDO                      ADDRESS ON FILE
ORTIZ, ROBERTO                      ADDRESS ON FILE
ORTIZ, RODRIGO                      ADDRESS ON FILE
ORTIZ, RONALD                       ADDRESS ON FILE
ORTIZ, SANTIAGO                     ADDRESS ON FILE
ORTIZ, TRISTAN                      ADDRESS ON FILE
ORTIZ, URBANO                       ADDRESS ON FILE
ORTIZ, WILLIAM                      ADDRESS ON FILE
ORTIZ, XIOMARA                      ADDRESS ON FILE
ORTIZ-CALDERON, WILMER              ADDRESS ON FILE
ORTIZ-RIVERA, AGUSTIN               ADDRESS ON FILE
ORTIZ-RIVERA, AGUSTIN               ADDRESS ON FILE
ORTLIEB, KEITH                      ADDRESS ON FILE
ORTMEIR TECHNICAL SERVICE INC       PO BOX 157 YUTAN NE 68073
ORTMEIR TECHNICAL SERVICE INC       PO BOX 157 YUTAN NE 68073-0157
ORZECHOWSKI, KONRAD                 ADDRESS ON FILE
ORZEL, JESSICA                      ADDRESS ON FILE
ORZU EXPRESS INC                    OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
OS TRANS EXPRESS, INC.              5654 S TRUMBULL AVE CHICAGO IL 60629
OS TRANS INC.                       244 WEISS CT ATWATER CA 95301
OS TRANSPORT LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
OS TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
OSANI, JOSEPH                       ADDRESS ON FILE
OSB TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OSBON, SHAUN                        ADDRESS ON FILE
OSBORN, BOBBY                       ADDRESS ON FILE
OSBORN, JAMES                       ADDRESS ON FILE
OSBORN, JILL                        ADDRESS ON FILE
OSBORN, SHEREE                      ADDRESS ON FILE
OSBORN, STACEY                      ADDRESS ON FILE
OSBORNE ELECTRIC COMPANY            101 NE 46TH ST OKLAHOMA CITY OK 73105
OSBORNE, ANTHONY                    ADDRESS ON FILE
OSBORNE, BRADLEY                    ADDRESS ON FILE
OSBORNE, BRIAN                      ADDRESS ON FILE
OSBORNE, CAMERON                    ADDRESS ON FILE
OSBORNE, DAVID                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1427 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1436 of 2156

Claim Name                             Address Information
OSBORNE, DAVID                         ADDRESS ON FILE
OSBORNE, DYLAN                         ADDRESS ON FILE
OSBORNE, JAMES                         ADDRESS ON FILE
OSBORNE, JAMES                         ADDRESS ON FILE
OSBORNE, JASON                         ADDRESS ON FILE
OSBORNE, JONATHAN                      ADDRESS ON FILE
OSBORNE, MACK                          ADDRESS ON FILE
OSBORNE, NATHAN                        ADDRESS ON FILE
OSBORNE, RICK                          ADDRESS ON FILE
OSBORNE, SETH                          ADDRESS ON FILE
OSBORNE, STEPHEN                       ADDRESS ON FILE
OSBORNE, TERRY                         ADDRESS ON FILE
OSBORNE, TERRY L                       ADDRESS ON FILE
OSBORNE, ZEB                           ADDRESS ON FILE
OSBURN MECHANICAL PLUMBING & HEATING   830 WALNUT ST ELMIRA NY 14901
OSBURN, BRENDA                         ADDRESS ON FILE
OSBURN, DAWN                           ADDRESS ON FILE
OSCAR AGUILLE                          ADDRESS ON FILE
OSCAR CAO                              ADDRESS ON FILE
OSCAR HOWARD JR                        ADDRESS ON FILE
OSCAR L ELLIOTT                        ADDRESS ON FILE
OSCAR LOGISTICS, LLC                   PO BOX 361019 SAN JUAN PR 00936
OSCAR MORENO                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
OSCAR O AGUIRRE                        ADDRESS ON FILE
OSCAR STAR TRUCKING LLC                OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
OSCAR W. LARSON CO.                    6462 OAKLANDON RD. INDIANAPOLIS IN 46236
OSCARS AUTO CARRIER LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OSCARS CEMENT LLC                      395 ST JOHN WYANDOTTE MI 48192
OSCARS TRUCKING LLC                    395 ST JOHN WYANDOTTE MI 48192
OSCEOLA MEDICAL CENTER                 C/O OCCUPATIONAL HEALTH DEPT PO BOX 218 OSCEOLA WI 54020
OSCO INCORPORATED                      PO BOX 70 LEMONT IL 60439
OSCO INCORPORATED                      P.O BOX 698 MINOOKA IL 60447
OSE, ALFRED                            ADDRESS ON FILE
OSEGUERA, JEYSSON                      ADDRESS ON FILE
OSEPO INC                              333 N ALABAMA ST STE 350 4034 INDIANAPOLIS IN 46204-2275
OSGOOD, HAROLD                         ADDRESS ON FILE
OSHA4LESS                              PO BOX 6510 PASADENA CA 91109
OSHEA, DANIEL                          ADDRESS ON FILE
OSHEA, DANIEL                          ADDRESS ON FILE
OSHIRAK, LISA                          ADDRESS ON FILE
OSHKOSH CORP                           CASS INFO SYSTEMS, PO BOX 17600 SAINT LOUIS MO 63178
OSHKOSH CORP                           CASS INFORMATION SYSTEMS, PO BOX 17632 SAINT LOUIS MO 63178
OSHKOSH CORP                           C/O CASS INFORMATION SYSTEMS PO BOX 17600 SAINT LOUIS MO 63179
OSHKOSH CORPORATION                    ATTN: TJ JACKSON CASS INFORMATION SYSTEMS PO BOX 17600 ST LOUIS MO 63179
OSHO, JOSH                             ADDRESS ON FILE
OSI ENVIRONMENTAL, INC.                912 TESCH COURT WAUKESHA WI 53186
OSI GLOBAL IT                          OSI HARDWARE INC, 606 OLIVE STREET SANTA BARBARA CA 93101
OSICK, WILLIAM                         ADDRESS ON FILE
OSIKANII LOGISTICS INCORPORATED        OR INTEGRA FUNDING SOLUTIONS, LLC 630 RIDGLEA PL, SUITE 1101 FORT WORTH TX



Epiq Corporate Restructuring, LLC                                                                 Page 1428 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1437 of 2156

Claim Name                           Address Information
OSIKANII LOGISTICS INCORPORATED      76116
OSINOWO, GABRIEL O                   ADDRESS ON FILE
OSKAR EX INCORPORATED                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
OSLUND, JEFFREY                      ADDRESS ON FILE
OSMAN TRANSPORT LLC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
OSMAN, ABDIRIZAK                     ADDRESS ON FILE
OSMAN, OBSA                          ADDRESS ON FILE
OSMAN, TARIQ                         ADDRESS ON FILE
OSMAN, TARIQ                         ADDRESS ON FILE
OSMANI TRANSPORTATION INC            OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
OSMOND, JAMES                        ADDRESS ON FILE
OSO TRANSPORTATION LLC               OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
OSOBLE EXPRESS LLC                   OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
OSORIO, ISRAEL                       ADDRESS ON FILE
OSORIO, MIGUEL                       ADDRESS ON FILE
OSORIO, RICHARD                      ADDRESS ON FILE
OSORIO, WILLIAM M                    ADDRESS ON FILE
OSORTO-BLANCO, SANTOS                ADDRESS ON FILE
OSPRIA COMPANY                       420 TELFAIR RD SAVANNAH GA 31415
OSR ENTERPRISES LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
OSS TRANSPORT CO                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OSSE, PATRICK                        ADDRESS ON FILE
OST TRANS LLC                        OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
OSTEMPOWSKI, PETE                    ADDRESS ON FILE
OSTERBERG, MICHELLE                  ADDRESS ON FILE
OSTLER, COLBY                        ADDRESS ON FILE
OSTORGA, JULIO E                     ADDRESS ON FILE
OSTRADICK, ADAM                      ADDRESS ON FILE
OSTRANDER, MICHAEL                   ADDRESS ON FILE
OSTROM ENTERPRISES INC               2459 FALCONER-FREWSBURG RD JAMESTOWN NY 14701
OSTROM ENTERPRISES INC               2459 FLCONER FREWSBURG RD JAMESTOWN NY 14701
OSTROM, DENNIS                       ADDRESS ON FILE
OSTROSKY, ROBERT                     ADDRESS ON FILE
OSTROWSKI, JOSEPH                    ADDRESS ON FILE
OSTT INC                             344 WENTWORTH LANE BARTLETT IL 60103
OSTT INC                             OR BINTEE CAPITAL, 4940 LAWRENCE AVE CHICAGO IL 60630
OSTUNI, FELICIO                      ADDRESS ON FILE
OSTUNI, RICARDO                      ADDRESS ON FILE
OSULLIVAN, DANIEL J                  ADDRESS ON FILE
OSULLIVAN, TIM                       ADDRESS ON FILE
OSUNA, HECTOR                        ADDRESS ON FILE
OSUNA, TOMAS                         ADDRESS ON FILE
OSVALDO TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
OSVEGO INC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OSWALD, CATHERINE                    ADDRESS ON FILE
OSWALD, DAVID                        ADDRESS ON FILE
OSWALD, KARL                         ADDRESS ON FILE
OSWALD, LEAH M                       ADDRESS ON FILE
OSWALD, STEPHEN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1429 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1438 of 2156

Claim Name                            Address Information
OSWALD, TERRY                         ADDRESS ON FILE
OSWALDO GAMARRA                       ADDRESS ON FILE
OT DELIVERY                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OTA TRUCKING LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
OTAL TRANSPORT LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
OTAMAN TRANS GROUP INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OTC/AIR                               1900 JETWAY BLVD COLUMBUS OH 43219
OTD ON TIME DELIVERIES, LLC           OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
OTEK LLC                              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OTELLO & BAME CRANES TRUCKS LLC       OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
OTELLO & BAME CRANES TRUCKS LLC       OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
OTERO, BRUCE                          ADDRESS ON FILE
OTERO, NOEL                           ADDRESS ON FILE
OTERO, ROCIO                          ADDRESS ON FILE
OTESCO LOGISTICS LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
OTEY, VICTORIA                        ADDRESS ON FILE
OTF CARRIER LLC                       OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
OTI                                   OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
OTI GROUP INC                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
OTI TRANSPORTATION LLC                1920 FAY DR PARMA OH 44134
OTIS B SHELTON                        ADDRESS ON FILE
OTIS ELEVATOR CO                      ATTN: MIKE DION 840 FRANKLIN CT MARIETTA GA 30067
OTIS ELEVATOR COMPANY                 P.O. BOX 73579 CHICAGO IL 60673
OTIS MAYFIELD                         ADDRESS ON FILE
OTIS TRANSPORTATION LLC               PO BOX 154176 IRVING TX 75015
OTKUPMAN LAW FIRM A LAW CORPORATION   5743 CORSA AVE STE 123 WESTLAKE VILLAGE CA 91362
OTM MOVING COMPANY LLC                4050 ENTERPRISE WAY SUITE 180 FLOWERY BRANCH GA 30542
OTONIEL NAVARRO                       ADDRESS ON FILE
OTOOLE, CORYN                         ADDRESS ON FILE
OTR EXPRESS INC                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
OTR EXPRESS TRANSPORT LLC             OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
OTR FLEET SERVICE INC                 P.O. BOX 11279 HOUSTON TX 77293
OTR FLEET SERVICE, INC                11051 EASTEX FREEWAY HOUSTON TX 77093
OTR RUNS INC                          OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
OTR TRUCKING SOLVING SOLUTION LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OTSEGO LAKE SERVICE                   3975 OLD 27 SOUTH GAYLORD MI 49735
OTSEGO MEMORIAL HOSPITAL              D/B/A: MUNSON HEALTHCARE OMH MEDICAL GROUP GAYLORD 271 W MCCOY RD GAYLORD MI
                                      49735
OTT TRANSPORT LLC                     5923 KINGSTON PIKE SUITE 309 KNOXVILLE TN 37919
OTT TRANSPORTATION SERVICES INC.      8952 HOLDT RD, UNIT 101 SURREY BC V3V 4H2 CANADA
OTT, CHRISTOPHER                      ADDRESS ON FILE
OTT, DOUGLAS                          ADDRESS ON FILE
OTT, GEORGE                           ADDRESS ON FILE
OTTAVIANO, PAUL                       ADDRESS ON FILE
OTTAWA LOGISTICS LTD                  1270 LEEDS AVE OTTAWA ON K1B 3W3 CANADA
OTTEN, GUY                            ADDRESS ON FILE
OTTEN, RANDY                          ADDRESS ON FILE
OTTEN, RICHARD                        ADDRESS ON FILE
OTTEN, RICHARD P                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1430 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1439 of 2156

Claim Name                           Address Information
OTTENWESS, CHRISTOPHER               ADDRESS ON FILE
OTTERNESS, JOHN                      ADDRESS ON FILE
OTTESON, KEVIN                       ADDRESS ON FILE
OTTINGER, ROGER                      ADDRESS ON FILE
OTTO A CABRERA                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
OTTO TOWING & RECOVERY LLC           4411 WHITE PINE LOOP EAGLE RIVER WI 54521
OTTO, JOHNATHAN                      ADDRESS ON FILE
OTTO, ROBBIE                         ADDRESS ON FILE
OTTO, ROBERT                         ADDRESS ON FILE
OTTOLINI, NICHOLAS                   ADDRESS ON FILE
OTTOS AC REPAIR                      6051 TOLO RD CENTRAL POINT OR 97502
OTTOS PARKING MARKING CO             2449 E MAIN ST GREENWOOD IN 46143
OTTS FARM EQUIPMENT & SUPPLIES       5130 RENO HWY FALLON NV 89406
OTUAFI, KEPUELI                      ADDRESS ON FILE
OTUAFI, OFA                          ADDRESS ON FILE
OU LOGISTICS GROUP LLC               11469 OLIVE BLVD 131 SAINT LOUIS MO 63141
OUACHITA PARISH SCHOOLS              PO BOX 1803 MONROE LA 71210
OUBRE, DOMINIQUE                     ADDRESS ON FILE
OUCHIDA, DALE                        ADDRESS ON FILE
OUDOMVILAY, VANH                     ADDRESS ON FILE
OUK, PHY                             ADDRESS ON FILE
OUMAROU, MAHAMADOU                   ADDRESS ON FILE
OURADNIK, ALBERT                     ADDRESS ON FILE
OURADNIK, BENJAMIN                   ADDRESS ON FILE
OUSLEY, HOUSTON                      ADDRESS ON FILE
OUSTERMAN, MICHAEL                   ADDRESS ON FILE
OUTAGAMIE COUNTY                     320 S. WALNUT ST APPLETON WI 54911
OUTDOOR EQUIPMENT DISTRIBUTORS       ATTN: TIFFANY BOWMAN 2721 DISCOVERY DR RALEIGH NC 27616
OUTDOOR HOME INC                     ATTN: JUSTIN SOLES 1214 N EAGLECREST ST NIXA MO 65714
OUTDOOR INDUSTRY ASSOCIATION         PO BOX 21497 BOULDER CO 80303
OUTFRONT TRANSPORTING SVCS LLC       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
OUTIN, WAYNE                         ADDRESS ON FILE
OUTING, STEVON                       ADDRESS ON FILE
OUTING, WALTER                       ADDRESS ON FILE
OUTKAST TIMBER HARVESTING LLC        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
OUTLAND, CHRISTOPHER                 ADDRESS ON FILE
OUTLAW LOGISTICS LLC (MC1084421)     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
OUTLAW OVERLAND EXPRESS LLC          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
OUTLAW, DANNY                        ADDRESS ON FILE
OUTLER, DARRYL                       ADDRESS ON FILE
OUTLET ELECTRIC                      1258 E PRINCE RD TUCSON AZ 85719
OUTLINE TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
OUTSEN, FRANK                        ADDRESS ON FILE
OUTSOURCE LOGISTICS L. L.C.          PO BOX 2290 VALDOSTA GA 31604
OUTWATER PLASTICS                    ATTN: JADE JOHNSON 24 RIVER RD STE 108 BOGOTA NJ 07603
OUTWATER PLASTICS                    ATTN: STEPHANIE CACCAMESE STEPHANIE CACCAMESE 24 RIVER RD STE 108 BOGOTA NJ
                                     07603
OUTWEST EXPRESS LLC                  PO BOX 664129 DALLAS TX 75266-4129
OV CARRIER INC                       OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                              Page 1431 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1440 of 2156

Claim Name                               Address Information
OV TRANS CORP                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
OVA TRANSPORT LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OVALLE, BRANDON                          ADDRESS ON FILE
OVD TRANSPORT                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OVENS & ADVANCED COOKING                 ATTN: TAMYRA FRANKS TAMYRA FRANKS 1 DELFIELD LN COVINGTON TN 38019
OVER THE JUNK HAULING LLC                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
OVER THE RHINE TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OVER, PAUL                               ADDRESS ON FILE
OVERALL FACITITY MAINTENANCE             1184 MURFF ACRES RD ASHLAND CITY TN 37015
OVERALL SUPPLY INC                       823 E GATE DR UNIT 2 MOUNT LAUREL NJ 08054
OVERALL SUPPLY, INC                      1117 DELSEA DRIVE SUITE 184 WESTVILLE GROVE NJ 08093
OVERBAUGH, WILLIAM                       ADDRESS ON FILE
OVERBAUGH, WILLIAM S                     ADDRESS ON FILE
OVERBY, SCOTT                            ADDRESS ON FILE
OVERCOMER LOGISTICS LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
OVERDRIVE LLC                            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OVEREZ CHICKEN COOP                      ATTN: RACHEL SHUPP 340 HOSTETTER RD MANHEIM PA 17545
OVEREZ CHICKEN COOP LLC                  340 HOSTETTER RD MANHEIM PA 17545
OVERFELT, ERICA                          ADDRESS ON FILE
OVERHEAD DOOR                            3195 TERMINAL RD. EAGAN MN 55121
OVERHEAD DOOR                            621 ALLUMBAUGH LN BOISE ID 83704
OVERHEAD DOOR CO KANSAS CITY             1901 E 119TH ST OLATHE KS 66061
OVERHEAD DOOR CO OF ELMIRA               1251 COLLEGE AVE ELMIRA NY 14901
OVERHEAD DOOR CO OF MASON CITY           225 18TH ST SE, PO BOX 710 MASON CITY IA 50402
OVERHEAD DOOR CO OF POCATELLO            PO BOX 190 POCATELLO ID 83201
OVERHEAD DOOR CO OF QUINCY, INC          6923 STATE ST QUINCY IL 62305
OVERHEAD DOOR CO OF SOUTHWEST MONTANA    60 BEARCAT LOOP BELGRADE MT 59714
OVERHEAD DOOR CO OF SPRINGDALE INC       2400 S THOMPSON, PO BOX 131 SPRINGDALE AR 72765
OVERHEAD DOOR CO OF SPRINGDALE INC       800 CLAYTON STREET, PO BOX 131 SPRINGDALE AR 72765
OVERHEAD DOOR CO OF TERRE HAUTE, INC     533 N 15TH ST TERRE HAUTE IN 47807
OVERHEAD DOOR CO OF VANCOUVER            202 11 BURBIDGE STREET COQUITLAM BC V3K 7B2 CANADA
OVERHEAD DOOR CO PLATTSBURGH             589 STATE ROUTE 3 PLATTSBURGH NY 12901
OVERHEAD DOOR CO TRI CITIES              7400 W ARROWHEAD AVE KENNEWICK WA 99336
OVERHEAD DOOR CO WATERTOWN, INC          1001 16TH ST SW WATERTOWN SD 57201
OVERHEAD DOOR CO. (ST CATHARINES) LTD    13 SEAPARK DR SUITE 1 ST CATHARINES ON L2M 6S5 CANADA
OVERHEAD DOOR CO. OF GREATER PITTSBURGH GREATER PITTSBURGH, 400 POPLAR ST PITTSBURGH PA 15223
OVERHEAD DOOR CO. OF SIOUX FALLS, INC.   6408 W 12TH ST SIOUX FALLS SD 57107
OVERHEAD DOOR COMPANY                    60 SUNDERLAND ROAD WORCESTER MA 01604
OVERHEAD DOOR COMPANY                    OF SPRINGFIELD, 1901 E 119TH ST OLATHE KS 66061
OVERHEAD DOOR COMPANY                    6215 E KELLOGG DR WICHITA KS 67218
OVERHEAD DOOR COMPANY OF                 THE CHIPPEWA VALLEY, INC. 4901 LYLE LANE, P.O. BOX 1083 EAU CLAIRE WI 54702
OVERHEAD DOOR COMPANY OF AKRON           1750 NEWBERRY ST CUYAHOGA FALLS OH 44221
OVERHEAD DOOR COMPANY OF FARGO           3125 FIECHTNER DRIVE FARGO ND 58103
OVERHEAD DOOR COMPANY OF GRAND JUNCTION 2944 I-70 BUSINESS LOOP UNIT 303 GRAND JUNCTION CO 81504
OVERHEAD DOOR COMPANY OF GRAND RAPIDS    5761 N. HAWKEYE CT SW GRAND RAPIDS MI 49509
OVERHEAD DOOR COMPANY OF KEARNEY         2110 EAST HIGHWAY 30 SUITE 3 KEARNEY NE 68847
OVERHEAD DOOR COMPANY OF KEARNEY         PO BOX 676576 DALLAS TX 75267
OVERHEAD DOOR COMPANY OF MACON INC       PO BOX 26039 MACON GA 31221
OVERHEAD DOOR COMPANY OF MINOT           1905 BURDICK EXPY W, PO BOX 1755 MINOT ND 58702



Epiq Corporate Restructuring, LLC                                                                   Page 1432 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1441 of 2156

Claim Name                              Address Information
OVERHEAD DOOR COMPANY OF PORTLAND       PO BOX 10576 PORTLAND OR 97296
OVERHEAD DOOR COMPANY OF PORTLAND ME    533 RIVERSIDE INDUST PKWY PORTLAND ME 04103
OVERHEAD DOOR COMPANY OF ROGUE VALLEY   PO BOX 8193 MEDFORD OR 97501
OVERHEAD DOOR COMPANY OF ROSEBURG       1045 NE ALDER ST., PO BOX 1606 ROSEBURG OR 97470
OVERHEAD DOOR COMPANY OF SIOUX CITY,    PO BOX 1915 SIOUX CITY IA 51102
INC
OVERHEAD DOOR COMPANY OF WACO           PO BOX 21987 WACO TX 76702
OVERHEAD DOOR COMPANY OF WORCESTER,     60 SUNDERLAND RD WORCESTER MA 01604
INC.
OVERHEAD DOOR CORPORATION               C\O OVERHEAD DOOR CORPORATION P.O BOX 676576 DALLAS TX 75267
OVERHEAD DOOR OF BATTLE CREEK           4407 W COLUMBIA AVE BATTLE CREEK MI 49015
OVERHEAD DOOR OF DALLAS                 PO BOX 676576 DALLAS TX 75267
OVERHEAD DOOR OF INDIANAPOLIS           8811 BASH STREET, PO BOX 50648 INDIANAPOLIS IN 46250
OVERHEAD DOOR OF PITTSBURGH             PO BOX 676576 DALLAS TX 75267
OVERHEAD FIRE PROTECTION INC            PO BOX 5863 SPARKS NV 89432
OVERHOLSER, PAUL                        ADDRESS ON FILE
OVERLAND PARK CHAMBER OF COMMERCE       9001 W 110TH ST STE 150 OVERLAND PARK KS 66210
OVERLAND TRANSPORT INC                  518 N SUGAR ST NAMPA ID 83687
OVERLAND TRANSPORT LLC                  OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
OVERLAND TRANSPORT LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
OVERLAND TRUCKING LLC (ARLINGTON)       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
OVERLAND WEST FREIGHT LINES             PO BOX 2069 WINNIPEG MB R3C 3R4 CANADA
OVERLAND WEST FREIGHT LINES             STATION MAIN, PO BOX 2069 WINNIPEG MB R3C 3R4 CANADA
OVERLAND WEST FREIGHT LINES LTD         PO BOX 2069 STN MAIN WINNIPEG MB R3C 3R4 CANADA
OVERLANDER, MARK                        ADDRESS ON FILE
OVERLEY, REBECCA                        ADDRESS ON FILE
OVERLOAD LOGISTICX LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OVERLOG INC                             OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
OVERMAN, ALVIN                          ADDRESS ON FILE
OVERMAN, GARLAND                        ADDRESS ON FILE
OVERNIGHT DELIVERY INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
OVERNIGHT EXPRESS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
OVERSEAS TRUCKING USA LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
OVERSTOCK                               PO BOX 755 RIVERTON UT 84065
OVERSTOCK CENTRAL                       ATTN: RANDALL HORVATH 13421 MC KINLEY HWY MISHAWAKA IN 46545
OVERSTOCK.COM INC                       799 W COLISEUM WAY MIDVALE UT 84047
OVERSTREET, GREG                        ADDRESS ON FILE
OVERSTREET, JONATHAN                    ADDRESS ON FILE
OVERSTREET, KENNETH                     ADDRESS ON FILE
OVERSTREET, TIMOTHY                     ADDRESS ON FILE
OVERSTREET, TROY                        ADDRESS ON FILE
OVERTIME MOVERS                         2941 ZEANDALE RD MANHATTAN KS 66502
OVERTON, DEANGELO                       ADDRESS ON FILE
OVERTON, NELSON                         ADDRESS ON FILE
OVERTON, ZACHARY                        ADDRESS ON FILE
OVH TRANSPORT LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OVIEDO EXPRESS                          1202 SUDBURY DR PASADENA TX 77504
OVS FREIGHT LLC                         80 SUGAR MAPLE WAY YOUNGSVILLE NC 27596
OVY TRUCKING INC.                       640 TUNNEL RD WHITE HAVEN PA 18661



Epiq Corporate Restructuring, LLC                                                                  Page 1433 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                         Page 1442 of 2156

Claim Name                        Address Information
OWATONNA PUBLIC UTILITIES         208 WALNUT AVE OWATONNA MN 55060
OWEN, DANIEL                      ADDRESS ON FILE
OWEN, DOUGLAS                     ADDRESS ON FILE
OWEN, HAROLD                      ADDRESS ON FILE
OWEN, JEFFERY                     ADDRESS ON FILE
OWEN, JOHN                        ADDRESS ON FILE
OWEN, KIRK                        ADDRESS ON FILE
OWEN, RACHEL                      ADDRESS ON FILE
OWENS & MINOR                     NVISION GLOBAL, 1900 BRANNAN RD STE 300 MCDONOUGH GA 30253
OWENS DIESEL SERVICE INC          2550 HIGHWAY 61 N VICKSBURG MS 39183
OWENS, ALVIN                      ADDRESS ON FILE
OWENS, ASHLEY                     ADDRESS ON FILE
OWENS, CARL                       ADDRESS ON FILE
OWENS, CEDRIC                     ADDRESS ON FILE
OWENS, CHARLES                    ADDRESS ON FILE
OWENS, DAVID                      ADDRESS ON FILE
OWENS, DAVID                      ADDRESS ON FILE
OWENS, DAVID                      ADDRESS ON FILE
OWENS, EDWARD                     ADDRESS ON FILE
OWENS, ERIC                       ADDRESS ON FILE
OWENS, FELICITY                   ADDRESS ON FILE
OWENS, FRANK                      ADDRESS ON FILE
OWENS, FRANK                      ADDRESS ON FILE
OWENS, HALEY                      ADDRESS ON FILE
OWENS, JAMES                      ADDRESS ON FILE
OWENS, JAMES W                    ADDRESS ON FILE
OWENS, JEFFREY                    ADDRESS ON FILE
OWENS, JEFFREY                    ADDRESS ON FILE
OWENS, JILLIAN                    ADDRESS ON FILE
OWENS, JOHN                       ADDRESS ON FILE
OWENS, JOHN                       ADDRESS ON FILE
OWENS, JONATHAN                   ADDRESS ON FILE
OWENS, JUSTIN                     ADDRESS ON FILE
OWENS, KELVIN                     ADDRESS ON FILE
OWENS, KERRY                      ADDRESS ON FILE
OWENS, LANNY                      ADDRESS ON FILE
OWENS, LATRELLE                   ADDRESS ON FILE
OWENS, LOUIS                      ADDRESS ON FILE
OWENS, LYNN                       ADDRESS ON FILE
OWENS, MICHAEL                    ADDRESS ON FILE
OWENS, NICKOLAS                   ADDRESS ON FILE
OWENS, ROBERT                     ADDRESS ON FILE
OWENS, STEPHEN                    ADDRESS ON FILE
OWENS, STEVEN                     ADDRESS ON FILE
OWENS, STEVEN                     ADDRESS ON FILE
OWENS, THOMAS                     ADDRESS ON FILE
OWENS, THOMAS                     ADDRESS ON FILE
OWENS, TIMOTHY                    ADDRESS ON FILE
OWENS, TONY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 1434 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1443 of 2156

Claim Name                          Address Information
OWENS, TRACY                        ADDRESS ON FILE
OWENS, TYSON                        ADDRESS ON FILE
OWENS, WILLIAM                      ADDRESS ON FILE
OWENS, ZYRON                        ADDRESS ON FILE
OWHENE, WILLIAM                     ADDRESS ON FILE
OWINGS, TIMOTHY                     ADDRESS ON FILE
OWL EYE TRANSPORTATION LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OWL FREIGHT INC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
OWL LAND OF ILLINOIS INC            OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
OWL TRANSPORTATION                  OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
OWNBY, KEITH                        ADDRESS ON FILE
OWNER OPERATOR INC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                    IL 60674-0411
OWNER OPERATORS COOPERATIVE INC     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
OWS FOODS                           ATTN: JACQUELINE CARRUTHERS ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                    60654
OWSLEY, WILLIAM                     ADDRESS ON FILE
OX TRUCKING INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
OXARC INC                           4003 E BROADWAY AVE SPOKANE WA 99202
OXARC INC                           PO BOX 2605 SPOKANE WA 99220
OXDL TRANSPORT LLC                  OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
OXE TRANSPORTATION INC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
OXENDALE HYUNDAI                    ATTN: MARLEY DONOVAN PARTS 1160 W ROUTE 66 FLAGSTAFF AZ 86001
OXENDINE, ANDREW                    ADDRESS ON FILE
OXENDINE, MARY                      ADDRESS ON FILE
OXENDINE, MICHAEL                   ADDRESS ON FILE
OXENDORF, KEVIN                     ADDRESS ON FILE
OXFORD CHIROPRATIC CENTER           PO BOX 525 SENECA MO 64865
OXFORD CIVIL GROUP INC              PO BOX 1654 WOODSTOCK ON N4S 0A9 CANADA
OXFORD EXPRESS LLC                  OR MCDOWELL FACTOR & CAPITAL SVCS PO BOX 161086 ALTAMONTE SPRINGS FL
                                    32716-1086
OXFORD PLUMBING INC                 1244 PARKINSON RD WOODSTOCK ON N4S 7W3 CANADA
OXFORD TRANS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
OXFORD, JOSEPH                      ADDRESS ON FILE
OXFOX CARRIERS LLC                  OR ENGLAND CARRIER SVC PO BOX 953086 ST LOUIS MO 63195-3086
OXLEY, JOHN                         ADDRESS ON FILE
OXO INTERNATIONAL                   PO BOX 849920 DALLAS TX 75284
OXO REVLON                          ATTN: KAREN TELEP D&J ASSOCIATES INC 14545 J MILITARY TRL 192 DELRAY BEACH FL
                                    33484
OXOS LLC                            OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
OYLER, STEVEN                       ADDRESS ON FILE
OYSTER FREIGHT SERVICES INC         5-93 ARMSTRONG AVENUE GEORGETOWN ON L7G 4R9 CANADA
OZ LOGISTICS LLC                    OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
OZ TRUCKING, INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
OZARK MOUTAIN MECHANICAL SERVICES   1600 W PATRICIA OZARK MO 65721
OZARKS PUMPING SERVICE INC          PO BOX 579 NIXA MO 65714
OZMAG TRANSPORT LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
OZONE EXPRESS LOGISTICS LLC         OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
OZTURK FAMILY TRANSPORTATION LLC    OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
OZUNA, MANUEL                       ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                              Page 1435 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1444 of 2156

Claim Name                            Address Information
OZUNA, MANUEL A                       ADDRESS ON FILE
OZZ EXPRESS LLC                       6184 JAMESTOWN DR PARMA OH 44134
OZZY TRANSPORT LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
P & B TRUCKING INC                    OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
P & C MAJOR LIMITED LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
P & D EXPRESS INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
P & D SERVICES                        8105 CHESTNUT HILL CHURCH RD COOPERSBURG PA 18036
P & D TRANSPORTATION, INC.            PO BOX 2909 ZANESVILLE OH 43702
P & G KEENE ELECTRICAL REBUILD        8432 S. BELOIT AVE. BRIDGEVIEW IL 60455
P & H AUTO ELECTRIC INC               7990-92 EAST BALTIMORE ST. BALTIMORE MD 21224
P & H AUTO ELECTRIC INC               PO BOX 25889 BALTIMORE MD 21224
P & J BETTER VALUE LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
P & J CARRIERS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
P & J TRANSPORTS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
P & K EXPRESS, INC.                   P O BOX 823 NEWTON NC 28658
P & M TRUCKING, INC.                  920 N INDIANA AVE BROWNSVILLE TX 78521
P & O EXPRESS                         8544 WEST BELLFORT APT 713 HOUSTON TX 77071
P & P EXPRESS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
P & P TRANSPORT LLC                   OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
P & P TRANSPORTATION SERVICES, INC.   63030 CONSTANTINE RD CONSTANTINE MI 49042
P & P TRUCK LINE CORP                 OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
P & P TRUCKING, INC.                  2807 QUALITY DRIVE SEARCY AR 72143
P & R PROPERTY MANAGEMENT             ATTN: RAY PERRON 2468 DORM DRIVE TWIN FALLS ID 83301
P & R RANDHAWA TRANSPORT INC          10 MIDVALE RD BRAMPTON ON L7A 2N1 CANADA
P & R TRUCKING INC                    3205 OLD COOKEVILLE RD SPARTA TN 38583
P & S TRANSPORTING LLC                5310 CANE CREEK RD WAXHAW NC 28173
P & T TRUCKING                        OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
P A UNITED, LLC                       5 MILTON AVE WESTFIELD MA 01085
P G TRANS INC                         OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
P H T                                 5840 E EUGENIA AVE FRESNO CA 93727-9021
P I & I MOTOR EXPRESS, INC.           PO BOX 685 SHARON PA 16146
P I UNITED INC                        6736 BRIARGATE DR DOWNERS GROVE IL 60516
P J TRUCKING 4 INC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
P MONEY HAULING SERVICES LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
P MORALES TRUCKING                    OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
P R TRANSPORTATION INC                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
P S FREIGHT LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
P T I TRANS INC.                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
P TRANSPORT INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
P W D TRANSPORTATION INC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
P&A NEUDER & SONS TRUCKING LLC        OR SMART FREIGHT FUNDING 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
P&A TRUCKING                          OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
P&A. S TRUCKING INC                   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
P&B INTERMODAL SERVICES LLC           221 RIVER ST STE 9 HOBOKEN NJ 07030
P&B INTERMODAL SVCS, LLC              FLS LOCKBOX PROCESSING 100 GROVE ROAD SUITE F WEST DEPTFORD NJ 08066
P&B LOGISTICS INC                     14302 S 81ST COURT ORLAND PARK IL 60462
P&B TRANS INC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
P&C CONSTRUCTION                      15727 SW TAYLOR PORTLAND OR 97224
P&C TRANSPORT LLC                     OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                               Page 1436 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1445 of 2156

Claim Name                            Address Information
P&D FLEET RENTALS INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
P&D FREIGHTLINES                      2404 HAINES RD UNIT 21 MISSISSAUGA ON L4Y 4B8 CANADA
P&E DELIVERIES LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
P&F EXPRESS LLC                       10281, DYER ST. EL PASO TX 79924
P&J GARLAND TRUCK LINE LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
P&J TRANS EXPRESS INC                 OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
P&J TRUCKING                          OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
P&J TRUCKING                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
P&J XPRESS CORP                       636 KEEPSAKE RUN GREENWOOD IN 46142
P&K LOGISTICS                         OR PROVIDENT COMMERCIAL FINANCE, LLC PO BOX 11407 BIRMINGHAM AL 35246-2659
P&K LOGISTICS                         OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
P&K XPRESS INC                        OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
P&L TRANSPORT LLC                     206 JAMES STREET UTICA NY 13501
P&M MARTINEZ TRUCKING INC             117 S MERIDIAN RD CHANA IL 61015
P&P SEPTIC SERVICE                    P.O. BOX 639 WILLISTON VT 05495
P&R PROPERTY MANAGEMENT               P & R PROPERTY MANAGEMENT, 2468 DORM DR TWIN FALLS ID 83301
P&R TECHNOLOGIES.                     9550 SW NIMBUS AVE BEAVERTON OR 97008
P&R TRUCKING LLC                      OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
P&T TRANSPORTATION INC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
P&Y XPRESS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
P.C. LOGISTICS LLC                    6930 S 6TH STREET OAK CREEK WI 53154
P.D.Q DOOR                            589 MAIN ROAD NORTH HAMPDEN ME 04444
P.E.R. TOWING AND RECOVERY LLC        211 W ANDRES ST TOMAH WI 54660
P.O.J. SOLUTIONS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
P2P LOGISTICS LLC                     LEIS BRIANNA, 24 AERO ROAD BOHEMIA NY 11716
P2P LOGISTICS LLC                     4250 VETERANS MEMORIAL HWY STE 2080 HOLBROOK NY 11741
P2P LOGISTICS LLC                     ATTN: CHRIS LEIS 4250 VETERANS HWY HOLBROOK NY 11741
P3 LOGISTICS LLC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
P3 TRANSPORT LLC                      5494 DRYE RUN ROAD JOELTON TN 37080
P4L LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PA DEP                                DIV OF STORAGE TANKS, PO BOX 8762 HARRISBURG PA 17105
PA DEPARTMENT OF REVENUE BUREAU       OF COMPLIANCE WAGE GARNISHMENT SECTION (S & U) DEPT 280406 HARRISBURG PA 17128
PA DEPT OF ENVIRONMENTAL PROTECTION   BUREAU OF CLEAN WATER CHAPTER 92A ANNUAL FEE PO BOX 8466 HARRISBURG PA 17105
PA DEPT OF ENVIRONMENTAL PROTECTION   BUREAU OF POINT & NON-POINT SOURCE MGMT PO BOX 8466 HARRISBURG PA 17105
PA DEPT OF REVENUE                    BUREAU OF CORP TAXES PO BOX 280427 HARRISBURG PA 17128
PA DEPT OF REVENUE                    BUREAU OF CORP TAXES, PO BOX 280420 HARRISBURG PA 17128
PA DEPT OF REVENUE                    BUREAU OF MOTOR VEHICLES, PO BOX 280646 HARRISBURG PA 17128
PA DEPT OF REVENUE                    PO BOX 280422 HARRISBURG PA 17128
PA DISTRIBUTION                       4310 W 5TH AVE EUGENE OR 97402
PA DOT                                400 NORTH ST., FIFTH FLOOR HARRISBURG PA 17120
PA FIRE RECOVERY SERVICE              7260 PERIWINKLE DRIVE MACUNGIE PA 18062
PA INDUSTRIAL EQUIPMENT, INC.         215 S WASHINGTON ST BOYERTOWN PA 19512
PAASCH, TOM                           ADDRESS ON FILE
PABLA FREIGHTLINE INC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PABLO G MARTINEZ                      ADDRESS ON FILE
PABLO RODRIGUEZ                       ADDRESS ON FILE
PABLO VILLARREAL JR                   ADDRESS ON FILE
PABLO, JOSE                           ADDRESS ON FILE
PABON, RAYMOND                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1437 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1446 of 2156

Claim Name                           Address Information
PABST, GREGORY                       ADDRESS ON FILE
PAC OPERATING LIMITED PARTNERSHIP    ATTN: HALLE GREENHUT 383 NORTH FRONT STREET SUITE 1A COLUMBUS OH 43215
PAC OPERATING LTD PARTNERSHIP        383 N FRONT STREET SUITE 1A COLUMBUS OH 43215
PAC OPERATING LTD PARTNERSHIP        C/O PROLOGIS MANAGEMENT LLC 383 NORTH FRONT STREET COLUMBUS OH 43215
PAC WORLDWIDE                        15435 NE 92ND ST REDMOND WA 98052
PAC WORLDWIDE C/O TRAFFIX            1-375 WHEELABRATOR WAY MILTON ON L9T3C1 CANADA
PAC-MODAL TRUCKING LLC               OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848244 LOS ANGELES CA 90084-8244
PAC-MODAL TRUCKING LLC               P O BOX 288 WOODINVILLE WA 98072
PACAM TRANSPORT LLC                  4303 N VETERANS BLVD SAN JUAN TX 78589
PACCAR FINANCIAL CORP                DEPT 1166, PO BOX 121166 DALLAS TX 75312-1166
PACCAR LEASING COMPANY               PACCAR LEASING COMPANY BRAMPTON 119 EAST DRIVE BRAMPTON ON L6T 1B5 CANADA
PACCAR LEASING COMPANY-MISSISSAUGA   6465 VAN DEEMTER COURT MISSISSAUGA ON L5T 1S1 CANADA
PACCAR PARTS                         ATTN: MICHAEL DEMARIA DEALER RETURNS 6650 RANDY COE LN LOUISVILLE KY 40272
PACCAR PARTS                         5700 S COUNCIL RD OKLAHOMA CITY OK 73179
PACCAR PARTS                         750 HOUSER WAY N RENTON WA 98057
PACCAR PARTS DIV                     ATTN: JOE ISHITANI 405 HOUSER WAY N RENTON WA 98057
PACCAR PARTS FLEET SERVICES          P.O. BOX 731165 DALLAS TX 75373
PACCIONE, MIKE                       ADDRESS ON FILE
PACE                                 ROCK SOLID LOGISTICS, PO BOX 1767 BRIGHTON MI 48116
PACE ANALYTICAL NATIONAL             29196 NETWORK PLACE CHICAGO IL 60673
PACE ANALYTICAL NATIONAL             P.O. BOX 684056 CHICAGO IL 60695
PACE MOTOR LINES INC                 PO BOX 842925 BOSTON MA 02284
PACE POSITIVE ACTION CARRIER         PENTERPRISE LLC OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
PACE SR, KURTIS                      ADDRESS ON FILE
PACE TRANSPORT INC                   OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
PACE TRANSPORTATION SERVICES         8788 BYRON COMMERCE DR SW BYRON CENTER MI 49315
PACE TRANSPORTATION SERVICES         8788 BYRON COMMERCE DRIVE BYRON CENTER MI 49315
PACE, ALFRED                         ADDRESS ON FILE
PACE, LINDA                          ADDRESS ON FILE
PACE, MARK                           ADDRESS ON FILE
PACE, MICHAEL                        ADDRESS ON FILE
PACE, NICOLE                         ADDRESS ON FILE
PACE, STANLEY                        ADDRESS ON FILE
PACENZIA, RYAN                       ADDRESS ON FILE
PACES CULLIGAN BOTTLED WATER         PO BOX 1854 CEDAR CITY UT 84721
PACESETTER LOGISTICS LLC             OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
PACHA, COLBY                         ADDRESS ON FILE
PACHECO TRUCKING INC                 21 B SCHOOL STREET HOLYOKE MA 01040
PACHECO, ALBERT                      ADDRESS ON FILE
PACHECO, ALVARO                      ADDRESS ON FILE
PACHECO, CAMERON                     ADDRESS ON FILE
PACHECO, CHRISTOPHER                 ADDRESS ON FILE
PACHECO, DANIEL                      ADDRESS ON FILE
PACHECO, DAVID                       ADDRESS ON FILE
PACHECO, DEBRA                       ADDRESS ON FILE
PACHECO, EDGAR                       ADDRESS ON FILE
PACHECO, ERICA                       ADDRESS ON FILE
PACHECO, IDA                         ADDRESS ON FILE
PACHECO, MICHAEL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1438 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1447 of 2156

Claim Name                              Address Information
PACHECO, RANDOLPH                       ADDRESS ON FILE
PACHECO, VINCENT                        ADDRESS ON FILE
PACHECO, YOANDY                         ADDRESS ON FILE
PACHUCKI, WALDEMAR                      ADDRESS ON FILE
PACIFIC COAST DIAGNOSTICS AND REPAIRS   3042 SOUTH D STREET OXNARD CA 93033
PACIFIC COAST EXPRESS LLC               OR SOUND FINANCE CORPORATIO PO BOX 679281 DALLAS TX 75267-9281
PACIFIC COAST EXPRESS LLC               7619 137 ST CT E PUYALLUP WA 98373
PACIFIC COAST FLEET SERVICES, INC.      D/B/A: KINGFLEET INC PO BOX 3640 ALHAMBRA CA 91803
PACIFIC COAST HEAVY TRUCK GROU          9758-203RD ST LANGLEY BC V1M 4B9 CANADA
PACIFIC COAST HEAVY TRUCK GROU          918 CLIVEDEN AVE NEW WESTMINSTER BC V3M 5R5 CANADA
PACIFIC COAST LIGHTING                  20238 PLUMMER ST CHATSWORTH CA 91311
PACIFIC COAST MARINE WINDSHIEL          ATTN: DARLENE OWENS 8129 RIVER WAY DELTA BC V4G 1L2 CANADA
PACIFIC COAST PROPANE LLC               PO BOX 353 ONTARIO CA 91762
PACIFIC COAST PROPANE LLC               PO BOX 0427 RIALTO CA 92377
PACIFIC CREST BUILDING PRODS            4227 S MERIDIAN C114 PUYALLUP WA 98373
PACIFIC CREST BUILDING PRODUCT          ATTN: LAVINA NOGA CLAIMS 3480 W VALLEY HWY E SUMNER WA 98390
PACIFIC FREIGHT INC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
PACIFIC GAS AND ELECTIC CO.             12840 BILL CLARK WAY AUBURN CA 95949
PACIFIC GATEWAY TRANSPORT INC           OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480
PACIFIC HIGH SCHOOL                     1020 PACIFIC ST. SAN BERNARDINO CA 92346
PACIFIC HIGHWAY EXPRESS LLC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
PACIFIC INDUSTRIAL PARTS                ATTN: NIDIA PADILLA 221 CAMPILLO ST STE C CALEXICO CA 92231
PACIFIC ISLAND AIR TECH CO INC          PO BOX 26386 HONOLULU HI 96825
PACIFIC LINE LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PACIFIC LINER LLC                       OR OPENROAD FINANCIAL SVCS, INC PO BOX 484 DALLAS OR 97338
PACIFIC LOCK & SECURITY INC.            P.O. BOX 2642 CYPRESS CA 90630
PACIFIC MOBILE STRUCTURES, INC.         PO BOX 24747 SEATTLE WA 98124
PACIFIC MOTOR TRANSPORT INC             10261 CHARLES MORRIS WAY ELK GROVE CA 95757
PACIFIC NORTHWEST FREIGHT SYSTEMS       3 BURNS RD WHITEHORSE NT Y1A 4Z3 CANADA
PACIFIC NORTHWEST MOVING (YUKON)        3 BURNS RD WHITEHORSE NT Y1A 4Z3 CANADA
LIMITED
PACIFIC NORTHWEST MOVING (YUKON)        NO 3 BURNS RD WHITEHORSE NT Y1A 4Z3 CANADA
LIMITED
PACIFIC NORTHWEST ORGANICS              P.O. BOX 44 GASQUET CA 95543
PACIFIC NORTHWEST STREET SWEEPING       206 FRONTAGE ROAD N. STE. B2 PACIFIC WA 98047
PACIFIC NORTHWEST TRANSPORT LLC         15814 SE PINE STREET PORTLAND OR 97233
PACIFIC OCEAN TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PACIFIC PARKING LOT MAINTENANCE         3232 NE 86TH STREET SEATTLE WA 98115
PACIFIC PORTABLE SERVICES LLC           655 S MAIN ST STE 200-22 ORANGE CA 92868
PACIFIC POWER                           825 NE MULTNOMAH ST PORTLAND OR 97232
PACIFIC POWER                           ATTN: DARYL DAWSON 1950 MALLARD LN. KLAMATH FALLS OR 97601
PACIFIC POWER GROUP, LLC                PO BOX 748720 LOS ANGELES CA 90074
PACIFIC POWER GROUP, LLC                PO BOX 1949 VANCOUVER WA 98668
PACIFIC PRESS PUBLISHING                PO BOX 5353 NAMPA ID 83653
PACIFIC SAFETY SUPPLY INC               36442 TREASURY CENTER CHICAGO IL 60694
PACIFIC STEEL & RECYCLING               5 RIVER DR S GREAT FALLS MT 59405
PACIFIC STEEL & RECYCLING               5 RIVER DR GREAT FALLS MT 59405
PACIFIC STEEL & RECYCLING               5120 EMERALD STREET BOISE ID 83706
PACIFIC SUN TRUCKING LLC                PO BOX 6376 SANTA MARIA CA 93456



Epiq Corporate Restructuring, LLC                                                                  Page 1439 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1448 of 2156

Claim Name                             Address Information
PACIFIC TIME LLC                       500 SE ARROW CREEK LN GRESHAM OR 97080
PACIFIC TOWING AND TRANSPORT           761 E. LACEY BLVD. HANFORD CA 93230
PACIFIC TRADING INLAND INC             ATTN: KENT KOWALSKI CLAIMS 15 82ND DR GLADSTONE OR 97027
PACIFIC TRADING INLAND INC             PO BOX 786 GLADSTONE OR 97027
PACIFIC TRANSPORT LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PACIFIC TRANSSHIPMENT CENTERS LLC      100 WATERBIRD LANDING COOLIN ID 83821
PACIFIC TRUCK LINES LLC                1940 HILLDALE DR LA CANADA FLT CA 91011-3003
PACIFIC TRUCKING AND LOGISTICS LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PACIFIC WESTERN BANK                   DBA CAPITALSOURCE CAF COLLECTORS 5404 WISCONSIN AVE 2ND FL CHEVY CHASE MD
                                       20815
PACIFIC WIRE & FILTER                  1526 STERLING CT ESCONDIDO CA 92029
PACIFIC XPRESS INC                     1807 TRUDEAN WAY SAN JOSE CA 95132
PACIFICA ATLANTIC LOGISTICS LLC        OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
PACIFICORP                             ARDMORE LOGISTICS 24610 DETROIT RD STE 1200 WESTLAKE OH 44145
PACIFICORP                             ATTN: DAVID HOLT 1407 W NORTH TEMPLE SUITE 110 SALT LAKE CITY UT 84116
PACIFICORP                             PO BOX 5504, ACCT ENDING 0093 PORTLAND OR 97228
PACIGA, JAMES                          ADDRESS ON FILE
PACIGA, ROBERT                         ADDRESS ON FILE
PACK LOGISTICS, INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
PACK, ARNOLD                           ADDRESS ON FILE
PACK, BRENT                            ADDRESS ON FILE
PACK, CARLAS                           ADDRESS ON FILE
PACK, COREY                            ADDRESS ON FILE
PACK, DAVE                             ADDRESS ON FILE
PACK, DUSTIN                           ADDRESS ON FILE
PACK, EMILY                            ADDRESS ON FILE
PACK, JAMES                            ADDRESS ON FILE
PACK, JOHN                             ADDRESS ON FILE
PACK, MARCUS                           ADDRESS ON FILE
PACK, SAMUEL                           ADDRESS ON FILE
PACK, TERRY                            ADDRESS ON FILE
PACKAGE EXPRESS FREIGHT INC.           2322 MARTIN LUTHER KING CALEXICO CA 92231
PACKAGE PROS LOGISTICS LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PACKAGING CORPORATION OF AMERICA       36596 TREASURY CENTER CHICAGO IL 60694
PACKAGING CORPORATION OF AMERICA       P.O. BOX 51584 LOS ANGELES CA 90051
PACKAGING SPECIALTIES                  2758 WASHINGTON AVE BURLEY ID 83318
PACKAGING SPECIALTIES INC              PO BOX 360 FAYETTEVILLE AR 72702
PACKARD, JEFFREY                       ADDRESS ON FILE
PACKARD, JOEL                          ADDRESS ON FILE
PACKARD, MARTHA                        ADDRESS ON FILE
PACKER CITY INTERNATIONAL TRUCKS INC   PO BOX 2238 GREEN BAY WI 54306
PACKER, JOSEPH                         ADDRESS ON FILE
PACKER, MIKE                           ADDRESS ON FILE
PACKERLAND RENT-A-MAT INC              PO BOX 233 BUTLER WI 53007
PACKFAST TRANSPORT CANADA INC          624 MIDTOWN PL SW AIRDRIE AB T4B 4E5 CANADA
PACKFORM USA LLC                       28338 CONSTELLATION RD UNIT 900 SANTA CLARITA CA 91355
PACKHORSE LIMITED                      OR FAM FINANCIAL SVCS, LLC 7876 PLANTATION DRIVE WEST CHESTER OH 45069-2265
PACKUSA LLC                            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PACOS TRUCK CORP                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                 Page 1440 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1449 of 2156

Claim Name                           Address Information
PACTIV EVERGREEN                     ATTN: LISA MIGON 1900 W FIELD CT LAKE FOREST IL 60045
PACTRANS LLC                         18302 CROCKER AVE CARSON CA 90746
PADAMATA, ANKA DURGA BHAVANI         ADDRESS ON FILE
PADDA BROS LLC                       312 BLOOMFIELD DR LITITZ PA 17543
PADDA EXPRESS LINE INC               108 MASHAM CT ROSEVILLE CA 95747-8848
PADDA TRANSPORT INC                  OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
PADDA, GAGANDEEP                     ADDRESS ON FILE
PADDOCK, EBERLY                      ADDRESS ON FILE
PADGETT, JEFFREY                     ADDRESS ON FILE
PADGETT, JOHN                        ADDRESS ON FILE
PADGETT, LAURA                       ADDRESS ON FILE
PADGETT, NANCY                       ADDRESS ON FILE
PADGETT, RICHARD                     ADDRESS ON FILE
PADIA, ARTHUR                        ADDRESS ON FILE
PADILLA CARRIERS, L.L.C.             13110 SPIVEY DR STE A LAREDO TX 78045
PADILLA, ALEX                        ADDRESS ON FILE
PADILLA, DANIEL                      ADDRESS ON FILE
PADILLA, EDWARD                      ADDRESS ON FILE
PADILLA, FAUSTINO                    ADDRESS ON FILE
PADILLA, FELIX                       ADDRESS ON FILE
PADILLA, FERNANDO                    ADDRESS ON FILE
PADILLA, GABRIEL                     ADDRESS ON FILE
PADILLA, JESUS                       ADDRESS ON FILE
PADILLA, JOHN                        ADDRESS ON FILE
PADILLA, JORGE                       ADDRESS ON FILE
PADILLA, JOSE                        ADDRESS ON FILE
PADILLA, JOSE                        ADDRESS ON FILE
PADILLA, JUSTO                       ADDRESS ON FILE
PADILLA, RAMON                       ADDRESS ON FILE
PADILLA, SERGIO                      ADDRESS ON FILE
PADILLA, VICTOR                      ADDRESS ON FILE
PADOVA, JACQUELINE                   ADDRESS ON FILE
PADRON, IVAN                         ADDRESS ON FILE
PADUA, JOHNATHON                     ADDRESS ON FILE
PADUA, JOSHUA                        ADDRESS ON FILE
PADUCAH POWER SYSTEM                 1500 BROADWAY ST PADUCAH KY 42001
PADUCAH WATER                        1800 N 8TH ST PADUCAH KY 42001
PAEZ, JESUS                          ADDRESS ON FILE
PAF DISTRIBUTING                     6029 IA-28 NORWALK IA 50211
PAF TRANSPORTATION                   PO BOX 730 SCARBOROUGH ME 04070
PAFFEL, RAYMOND                      ADDRESS ON FILE
PAGAN, MARK                          ADDRESS ON FILE
PAGAN, MARK                          ADDRESS ON FILE
PAGAN, MIGUEL                        ADDRESS ON FILE
PAGANO, RICHARD                      ADDRESS ON FILE
PAGE II, RAFAEL                      ADDRESS ON FILE
PAGE, BOBBY                          ADDRESS ON FILE
PAGE, CHRISTOPHER                    ADDRESS ON FILE
PAGE, DAVID                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1441 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1450 of 2156

Claim Name                           Address Information
PAGE, DUSTIN                         ADDRESS ON FILE
PAGE, DUSTIN                         ADDRESS ON FILE
PAGE, JIMMY                          ADDRESS ON FILE
PAGE, KEVIN                          ADDRESS ON FILE
PAGE, MARK                           ADDRESS ON FILE
PAGE, RANDY                          ADDRESS ON FILE
PAGE, RAY                            ADDRESS ON FILE
PAGLIARO, MICHAEL                    ADDRESS ON FILE
PAGLIEI, KEVIN                       ADDRESS ON FILE
PAHAL TRANSPORT INC                  4424 N CASEY AVE FRESNO CA 93723
PAIANO, LUCIO & ANNA                 ADDRESS ON FILE
PAIGE ELECTRIC CORPORATION           ATTN: SAMONE CLEMONS 16110 MANNING WAY CERRITOS CA 90703
PAIGE LOGISTICAL SOLUTIONS, LLC      2506 MOUNT MORIAH RD, SUITE B418 MEMPHIS TN 38115
PAIGE STRUCTURAL GLASS CO.           ATTN: CHRISTINE PAIGE 75 WILLIAMS AVE SAN FRANCISICO CA 94124-2617
PAIGE, CURTIS                        ADDRESS ON FILE
PAIGE, ROBERT                        ADDRESS ON FILE
PAIGE, ROBERT                        ADDRESS ON FILE
PAILLANT, LOVENSKY                   ADDRESS ON FILE
PAINE, JOSHUA                        ADDRESS ON FILE
PAINE, MARSHALL                      ADDRESS ON FILE
PAINLEY, JOSEPH                      ADDRESS ON FILE
PAINT SUNDRIES SOLUTIONS             930 7TH AVE KIRKLAND WA 98033
PAINTER, AUDIE                       ADDRESS ON FILE
PAINTER, JACK                        ADDRESS ON FILE
PAINTER, JOSEPH                      ADDRESS ON FILE
PAIR, GEORGE                         ADDRESS ON FILE
PAIRMORE, NORMAN                     ADDRESS ON FILE
PAISA TRANSPORT LLC                  14265 SW DOMINO STREET BEAVERTON OR 97005
PAIZ TRANSPORTATION INC              3391 RUBIDOUX BLVD APT 24 JURUPA VALLEY CA 92509-4473
PAJJETA INTERNATIONAL INC            OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                     ANGELES CA 90074
PAJU, MICHAEL                        ADDRESS ON FILE
PAJU, MICHAEL                        ADDRESS ON FILE
PAK AUTO TRANSPORTERS LLC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PAK EXPRESS TRANSPORT LLC            OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
PAK SWANS TRANSPORTATION INC         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PAK, JOHNNY                          ADDRESS ON FILE
PAKETA EXPRESS LLC                   OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
PAKI LOGISTICS LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PAKLAND TRUCKING                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PAKMAIL                              400 LAPALCO BLVD. SUITE H GRETNA LA 70056
PAKRITE SYSTEMS & SUPPLIES INC.      106 CALENDAR COURT STE 160 LA GRANGE IL 60525
PAKURIS, NICHOLAS                    ADDRESS ON FILE
PALACIO, RENE                        ADDRESS ON FILE
PALACIOS PINEDA, JOHNNY              ADDRESS ON FILE
PALACIOS TRUCKING LLC                OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
PALACIOS, ANA                        ADDRESS ON FILE
PALACIOS, ANTONIO                    ADDRESS ON FILE
PALACIOS, DANIEL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1442 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1451 of 2156

Claim Name                           Address Information
PALACIOS, DAVID                      ADDRESS ON FILE
PALACIOS, ELOY EDUARDO L             ADDRESS ON FILE
PALACIOS, GUILLERMO                  ADDRESS ON FILE
PALACIOS, JOSEPH                     ADDRESS ON FILE
PALACIOS-SUAREZ, MARIANA             ADDRESS ON FILE
PALADINO, DONALD                     ADDRESS ON FILE
PALADINO, MARK                       ADDRESS ON FILE
PALADINO, RICHARD                    ADDRESS ON FILE
PALAFOX TRANSPORT                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PALAFOX TRUCKING INC                 5207 W UNIVERSITY AVE FRESNO CA 93722
PALAMARIS, BRANDI                    ADDRESS ON FILE
PALATO, ARTURO                       ADDRESS ON FILE
PALCZEWSKI, NICHOLAS                 ADDRESS ON FILE
PALEAFEI, LEUEA                      ADDRESS ON FILE
PALEMA P ETEAKI                      ADDRESS ON FILE
PALEMA TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PALERMO, JOSEPH                      ADDRESS ON FILE
PALERMO, VINCENT                     ADDRESS ON FILE
PALFINGER LIFTGATES, LLC             PO BOX 5822 CAROL STREAM IL 60197
PALFINGER LIFTGATES, LLC             15939 PIUMA AVE CERRITOS CA 90703
PALGUTA, WYATT                       ADDRESS ON FILE
PALHEGYI, BRANDON                    ADDRESS ON FILE
PALI BOMO LOGISTICS                  39899 BALENTINE DR UNIT 200 NEWARK CA 94560
PALI TRANSPORT LLC                   1170 OLD COVINGTON HWY CONYERS GA 30012
PALIDER, ANDREW                      ADDRESS ON FILE
PALIN USA TRUCKING                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PALIN, ZACHARY                       ADDRESS ON FILE
PALING, LIAM                         ADDRESS ON FILE
PALIS, MELANIE                       ADDRESS ON FILE
PALISADES COLLECTION LLC             KEGELER 060387L4, PO BOX 7811 SANDY UT 84094
PALIZAY, KENNETH M                   ADDRESS ON FILE
PALKA, MICHAEL                       ADDRESS ON FILE
PALKO TRUCK AND TRAILER SHOP         PO BOX 1774 GREENSBURG PA 15601
PALLADINO, JACK                      ADDRESS ON FILE
PALLATI FREIGHT GLOBAL INC           OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PALLATI FREIGHT GLOBAL INC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PALLE TRUCKING LLC                   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PALLETIZED TRUCKING INC.             PO BOX 8744 HOUSTON TX 77249
PALLETS PLUS LLC                     4279 ROSWELL RD NE STE 208 255 ATLANTA GA 30342
PALLETT, RANDALL                     ADDRESS ON FILE
PALLEY, APARNA                       ADDRESS ON FILE
PALM BEACH COUNTY TAX                PO BOX 3353 WEST PALM BEACH FL 33402
PALM MEDICAL GROUP                   222 W SHAW AVE FRESNO CA 93704
PALM TRUCKING INC                    6640 183RD STREET APT 2B TINLEY PARK IL 60477
PALM, BRANDON                        ADDRESS ON FILE
PALMA, DAVID                         ADDRESS ON FILE
PALMA, JONKARLO                      ADDRESS ON FILE
PALMA, JOSUE                         ADDRESS ON FILE
PALMELA TRANS LLC                    OR CHUGH CAPITAL, LLC, PO BOX 4437 WARREN NJ 07059



Epiq Corporate Restructuring, LLC                                                            Page 1443 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1452 of 2156

Claim Name                           Address Information
PALMER ELECTRIC COMPANY              875 JACKSON AVE STE 100 WINTER PARK FL 32789
PALMER LEASING INC.                  3 UNION SEVENTY CENTER DRIVE SAINT LOUIS MO 63120
PALMER POWER & TRUCK EQUIPMENT       PO BOX 631178 CINCINNATI OH 45263
PALMER POWER & TRUCK EQUIPMENT       PALMER TURCKS INC, 2929 S HOLT RD INDIANAPOLIS IN 46241
PALMER TRUCK & TRAILER REPAIR        604 BARNEY ST. SALINA KS 67401
PALMER TRUCKS                        PO BOX 631178 CINCINNATI OH 45263
PALMER TRUCKS                        2929 SOUTH HOLT ROAD INDIANAPOLIS IN 46241
PALMER, BARNETT                      ADDRESS ON FILE
PALMER, BRIAN                        ADDRESS ON FILE
PALMER, CARL                         ADDRESS ON FILE
PALMER, CHARLES                      ADDRESS ON FILE
PALMER, CHRISTOPHER                  ADDRESS ON FILE
PALMER, DARREN                       ADDRESS ON FILE
PALMER, DARYOUSH                     ADDRESS ON FILE
PALMER, DEVAN                        ADDRESS ON FILE
PALMER, DOUGLAS                      ADDRESS ON FILE
PALMER, DUSTIN                       ADDRESS ON FILE
PALMER, EASTON                       ADDRESS ON FILE
PALMER, ERIC                         ADDRESS ON FILE
PALMER, FREDERICK                    ADDRESS ON FILE
PALMER, JAN                          ADDRESS ON FILE
PALMER, JEFFREY H                    ADDRESS ON FILE
PALMER, JONATHAN                     ADDRESS ON FILE
PALMER, JOSEPH                       ADDRESS ON FILE
PALMER, MARCEL                       ADDRESS ON FILE
PALMER, NANCY                        ADDRESS ON FILE
PALMER, ROBERT                       ADDRESS ON FILE
PALMER, SCOTT                        ADDRESS ON FILE
PALMER, STEVE                        ADDRESS ON FILE
PALMER, STEVEN                       ADDRESS ON FILE
PALMER, WILLIAM                      ADDRESS ON FILE
PALMER, WILLIAM                      ADDRESS ON FILE
PALMER, WILLIAM                      ADDRESS ON FILE
PALMETER, TIMOTHY                    ADDRESS ON FILE
PALMETTO SAFE & LOCK                 2544 MORNINGSIDE DRIVE, SUITE C WEST COLUMBIA SC 29169
PALMIOTTO, JOHN                      ADDRESS ON FILE
PALMIOTTO, JOHN A                    ADDRESS ON FILE
PALMISANO DELIVERY SERVICE           OF SAN FRANCISCO LLC 365 EAST GRAND AVENUE UNIT C SOUTH SAN FRANCISCO CA 94080
PALMITER, IAN                        ADDRESS ON FILE
PALMORE, HAYWARD                     ADDRESS ON FILE
PALMOWSKI, MARK                      ADDRESS ON FILE
PALMS, CHRISTOPHER                   ADDRESS ON FILE
PALMVIEW TRUCKING LOGISTICS LLC      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PALOMAR, IZMENIA                     ADDRESS ON FILE
PALOMAR, MANUEL                      ADDRESS ON FILE
PALOMBO, BRUNO                       ADDRESS ON FILE
PALOMINO, ANTHONY                    ADDRESS ON FILE
PALOMINO, ANTIONETTE                 ADDRESS ON FILE
PALOMINO, KEVIN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1444 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1453 of 2156

Claim Name                           Address Information
PALOS GARZA FORWARDING LLC           8417 AMPARAN RD LAREDO TX 78045
PALOS, JONNATHAN                     ADDRESS ON FILE
PALUBICKI, JONATHAN                  ADDRESS ON FILE
PALUCACOS, GEORGE                    ADDRESS ON FILE
PALUCCI, ROBERT                      ADDRESS ON FILE
PALUCH, SHIRLEY                      ADDRESS ON FILE
PALUMBO, LAURENCE                    ADDRESS ON FILE
PALUS, WAYNE                         ADDRESS ON FILE
PALUSKA PLUMBING, INC.               P.O. BOX 5264 PEORIA IL 61601
PALWINDER TRUCKING LTD               248 SETON VILLAS SE CALGARY AB T3M 3M2 CANADA
PAM INTERNATIONAL INC                OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
PAMA LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PAMELA D JOHNSON                     ADDRESS ON FILE
PAMELA GURLEY                        ADDRESS ON FILE
PAMELA J BAILEY                      ADDRESS ON FILE
PAMELA N BENTON                      ADDRESS ON FILE
PAMELA NOA                           ADDRESS ON FILE
PAMELA T MCCAULEY                    ADDRESS ON FILE
PAMELMANY TRANSPORTATION LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PAMEX INC                            ATTN: CHRIS TRUONG 4680 VINITA CT CHINO CA 91710
PAMMA TRANSPORTATION INC             201 SOUTH D ST 510 MADERA CA 93638
PAMPLIN, VINCENT                     ADDRESS ON FILE
PAMS LOGISTICS LLC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PAMS POSIES                          ADDRESS ON FILE
PAMWAY LOGISTICS LLC                 OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
PAN AMERICAN CARGO LLC               925 S CLINTON ST STE B 1038 DEFIANCE OH 43512
PAN AMERICAN CARGO LLC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PAN AMERICAN EXPRESS, INC.           PO BOX 3317 LAREDO TX 78041
PAN EXPRESS INC                      2986 SE ELLIOTT PL GRESHAM OR 97080
PAN TRUCKING                         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PANA-PACIFIC                         ATTN: BRENDA JIMENEZ ACCOUNTS PAYABLE 838 N LAVERNE AVE FRESNO CA 93727
PANAGIOTOU, STEVE                    ADDRESS ON FILE
PANAM GROUP INTERNATIONAL INC        410 INDUSTRIAL DR UNIT A MILTON ON L5T 2K3 CANADA
PANAM ROAD ENTERPRISE LLC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PANAMA TRANSFER INCORPORATED         600 LASALLE AVE PANAMA IA 51562
PANASONIC                            CHRLTL, 14800 CHARLSON RD EDEN PRAIRIE MN 55347
PANASONIC CORPORATION OF N.A.        PO BOX 730060 DALLAS TX 75373
PANDA TRANSPORTATION LTD             OR SMART FLEET FUNDING CORP PO BOX 856714 MINNEAPOLIS MN 55485-6714
PANDHER CARGO INC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PANDHER EXPRESS INC                  1347 PRESERVE CT GREENWOOD IN 46143
PANDHER TRANSPORT INC                203 ROCHDALE ST ROSEVILLE CA 95661-2551
PANDHER TRANSPORT LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PANDOLFO, ANTHONY                    ADDRESS ON FILE
PANDUIT                              ATTN: SHAVAUN CATANZARO CDS 171 WEST WING STREET 204A ARLINGTON HEIGHTS IL
                                     60005
PANDUIT CORPORATION TRANZACT TECH    D/B/A: PANDUIT CORPORATION 18900 PANDUIT DR TINLEY PARK IL 60487
PANDYA, PARIN                        ADDRESS ON FILE
PANEL BUILT INC                      PO BOX 2658 BLAIRSVILLE GA 30514
PANELTECH ECHO                       ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                             Page 1445 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1454 of 2156

Claim Name                           Address Information
PANESIS, DEAN                        ADDRESS ON FILE
PANG, SOL                            ADDRESS ON FILE
PANGO LOGISTICS INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PANIAGUA TRUCKING, LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PANIAGUA-SANCHEZ, AMY                ADDRESS ON FILE
PANJAAB TRANSPORT                    OR BVD CAPITAL CORPORATION 8177 TRBRAM RD BRAMPTON ON L6T 5C5 CANADA
PANJSHIRE EXPRESS LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PANJWAR TRANSPORT LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PANKE, MATTHEW                       ADDRESS ON FILE
PANKEYS RADIATOR SHOP, INC           21805 FOOTHILL BLVD HAYWARD CA 94541
PANKO, SCOTT                         ADDRESS ON FILE
PANNEBAKER, JEFFREY                  ADDRESS ON FILE
PANNELL, MATTHEW                     ADDRESS ON FILE
PANNELL, MATTHEW                     ADDRESS ON FILE
PANNILL, BRADLEE                     ADDRESS ON FILE
PANNU BROTHERS INC                   10730 MILLER DR INDIANAPOLIS IN 46231
PANNU INC                            OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
PANNU TRANSPORT INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PANORAMA LOGISTICS LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PANT, DONALD                         ADDRESS ON FILE
PANTALEON, ANGEL                     ADDRESS ON FILE
PANTERA TRANSPORTATION               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
PANTERS TRANSPORTATION LLC           OR FACTORTEK LLC P.O. BOX 1668, DEPT 330 HOUSTON TX 77251
PANTHER INTERSTATE CARRIERS INC      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PANTHER LOGISTICS INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
PANTHER TRANS INC                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
PANTHER TRANSPORT INC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PANTHER TRANSPORT LOGISTICS INC.     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PANTO EXPRESS INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PANTO, MICHAEL                       ADDRESS ON FILE
PANTOJA TRANSPORTATION LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PANTOJA, LIZETTE                     ADDRESS ON FILE
PANTOJA, VICTOR                      ADDRESS ON FILE
PANTOJA, WILFREDO                    ADDRESS ON FILE
PANTOS NORTH AMERICA                 NORTH BUILDING L3, 111 SYLVAN AVE ENGLEWOOD CLIFFS NJ 07632
PANTOS NORTH AMERICA                 PO BOX 21174 NEW YORK NY 10087
PANTOS USA                           PO BOX 21174 NEW YORK NY 10087
PANTOS USA INC                       111 SYLVAN AVE NORTH BLDG L3 ENGLEWOOD CLIFFS NJ 07632
PANTOS USA INC                       ATTN: HYO YOON PARK SOUTH BUILDING L2 111 SYLVAN AVE ENGLEWOOD CLIFFS NJ 07632
PANUSKY, MATTHEW                     ADDRESS ON FILE
PANZARELLA, SALVATORE                ADDRESS ON FILE
PANZER, BRUCE                        ADDRESS ON FILE
PAOLICELLI, FRANK C                  ADDRESS ON FILE
PAOLUCCI, ROBERTO                    ADDRESS ON FILE
PAONE, JUSTIN                        ADDRESS ON FILE
PAPA C N TOWN LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
PAPA TRANSPORTATION LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PAPADAKIS, DAMIANOS                  ADDRESS ON FILE
PAPALIA, ELIZABETH                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1446 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1455 of 2156

Claim Name                               Address Information
PAPAS TRUCK & TRAILER REPAIR LLC         5650 6TH ST SW CEDAR RAPIDS IA 52404
PAPATOUKAKIS, BARBARA                    ADDRESS ON FILE
PAPAYO TRANSPORT, LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PAPCO INC                                4920 SOUTHERN BLVD VIRGINIA BEACH VA 23462
PAPE KENWORTH                            PO BOX 5077 PORTLAND OR 97208
PAPE KENWORTH                            PO BOX 35144 5077 SEATTLE WA 98124
PAPE KENWORTH NORTHWEST                  PO BOX 35146 1007 SEATTLE WA 98124
PAPE MACHINERY AGRICULTURE & TURF        1510 E. POWELL BLVD. GRESHAM OR 97030
PAPE MATERIAL                            D/B/A: PAPE MATERIAL HANDLING P.O. BOX 35144 5077 SEATTLE WA 98124
PAPE MATERIAL HANDLING                   P.O. BOX 35144 5077 SEATTLE WA 98124
PAPE MATERIAL HANDLING EXCHANGE          PO BOX 35144 5077 SEATTLE WA 98124
PAPE, RANDY                              ADDRESS ON FILE
PAPER LOGISTICS, INC.                    100 SOUTH HARRIS ROAD PIEDMONT SC 29673
PAPER TUBE AND CORE                      239 LINDBERGH PL ATTN PATRICIA GRIGGERS PATERSON NJ 07503
PAPER, FREDERICK                         ADDRESS ON FILE
PAPERCRAFT 80800                         15959 PIUMA AVE CERRITOS CA 90703
PAPERLESSPAY CORPORATION                 800 WATER STREET, SUITE 203 JACKSONVILLE FL 32204
PAPESH, CHRISTOPHER                      ADDRESS ON FILE
PAPOLOVE TRUCKING LLC                    PO BOX 6800 ELIZABETH NJ 07206
PAPPI TRANSPORT INC                      OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PAPURA, DAVID                            ADDRESS ON FILE
PAQUETTE, MARIO                          ADDRESS ON FILE
PAR LOGISTICS, LLC                       7377 EXPRESSWAY DRIVE STE D GRAND RAPIDS MI 49548
PARA SYSTEMS INC                         ATTN: C FORD 1455 LEMAY RD CARROLLTON TX 75007
PARABEN CORPORATION                      P.O. BOX 277 ALDIE VA 20105
PARACHE, PETER                           ADDRESS ON FILE
PARACLETE LOGISTICS LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PARACLETE TRANSPORT LTD.                 PO BOX 1028 PORTAGE LA PRAIRIE MB R1N3C5 CANADA
PARACO GAS CORPORATION                   10 EDISON AVE MOUNT VERNON NY 10550
PARACO GAS CORPORATION                   800 WESTCHESTER AVE RYE BROOK NY 10573
PARACO GAS CORPORATION                   PO BOX 412227 BOSTON MA 02241
PARADA, ARTHUR                           ADDRESS ON FILE
PARADIGM LOGISTICAL SOLUTIONS LLC        6008 COUNTY ROAD 47 SAINT JOE IN 46785
PARADIGM TRANSPORTATION                  MANAGEMENT GROUP LLC INC PO BOX 72124 CLEVELAND OH 44192
PARADIS INC                              812 HWY 92 W BROOKS MN 56715
PARADISE TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
PARADISE TRUCK AND TRAILER REPAIRS INC   CALGARY BRANCH, 6404 BURBANK ROAD SE CALGARY AB T2H 2C2 CANADA
PARADISE TRUCKING CORP                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PARADISE, JULIE                          ADDRESS ON FILE
PARADOX LOGISTICS LLC                    OR SUNBELT FINANCE, DEPT 144 PO BOX 1000 MEMPHIS TN 38148-0144
PARADYME                                 16115 SW 117TH AVE, STE A2 MIAMI FL 33177
PARADZIK, IGOR                           ADDRESS ON FILE
PARAGON CORVETTE REPRODUCTIONS           8040 JENNINGS RD. SWARTZ CREEK MI 48473
PARAGON FILMS                            3500 W TACOMA BROKEN ARROW OK 74012
PARAGON FREIGHT INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PARAGON LABRATORIES                      ATTN: ANDREA LOCKHART 20433 EARL ST TORRANCE CA 90503
PARAGON LOGISTICS LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PARALLELOGRAM LLC                        8765 STOCKARD DRIVE STE 201A FRISCO TX 75034



Epiq Corporate Restructuring, LLC                                                                   Page 1447 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1456 of 2156

Claim Name                              Address Information
PARAM TRUCKING L.L.C                    975 COSENZA COURT EASTON PA 18040
PARAMO PEREZ, MARIA                     ADDRESS ON FILE
PARAMO TRUCKING LLC                     OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
PARAMOUNT LOGISTICS INC                 4826 4TH ST IRWINDALE CA 91706
PARAMOUNT TRANSPORTATION SYSTEMS INC    1350 GRAND AVE SAN MARCOS CA 92078
PARAMOUNT TRANSPORTS INC                20687 AMAR RD STE 2-259 WALNUT CA 91789
PARASOURCE INC                          OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PARATROOPER EXPRESS LLC                 OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
PARATROOPER EXPRESS LLC                 OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PARCEL DELIVERY EXPRESS, INCORPORATED   6525 WASHINGTON BLVD ELKRIDGE MD 21075
PARCHER, ROBERT                         ADDRESS ON FILE
PARCHMAN, BRYAN                         ADDRESS ON FILE
PARCHUK ENTERPRISES LLC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
PARDEE, RICHARD                         ADDRESS ON FILE
PARDO FLEET SOLUTIONS                   PO BOX 569 SEWELL NJ 08080
PARDUE, ALEXANDER                       ADDRESS ON FILE
PARDUE, AMANDA                          ADDRESS ON FILE
PARDUE, BARRY                           ADDRESS ON FILE
PARDUE, KAILEY                          ADDRESS ON FILE
PARDUE, KAREN                           ADDRESS ON FILE
PAREDES, DENILSON                       ADDRESS ON FILE
PAREDES, GASTON                         ADDRESS ON FILE
PAREDES, MARTIN                         ADDRESS ON FILE
PARENT, ANDREW                          ADDRESS ON FILE
PARENT, KESENIA                         ADDRESS ON FILE
PARENTEAU, LIONEL                       ADDRESS ON FILE
PARFENE EXPRESS CO                      OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
PARGA, MANUEL                           ADDRESS ON FILE
PARICON LLC                             PO BOX 157 S PARIS ME 04281
PARIGIAN, CHARLES                       ADDRESS ON FILE
PARIGIAN, MATTHEW                       ADDRESS ON FILE
PARIGIAN, SAMUEL                        ADDRESS ON FILE
PARIGORIS, JASON                        ADDRESS ON FILE
PARILLO, ANTHONY                        ADDRESS ON FILE
PARIS LOGISTICS LLC                     OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PARIS TRANSPORT LLC                     118 JAMES LAKE WAY EASLEY SC 29642-8868
PARIS UNIFORM SERVICES                  67 HOOVER AVE, PO BOX 1043 DU BOIS PA 15801
PARIS UNIFORM SERVICES                  PO BOX 1043 DU BOIS PA 15801
PARISH, KELLY                           ADDRESS ON FILE
PARISH, NATHAN                          ADDRESS ON FILE
PARISH, STEVEN                          ADDRESS ON FILE
PARISH, TAT                             ADDRESS ON FILE
PARISH, THOMAS                          ADDRESS ON FILE
PARISI, ANTHONY                         ADDRESS ON FILE
PARK AVENUE TURF INC                    3075 OLD GRAVENSTEIN HWY SO SEBASTOPOL CA 95472
PARK CITY WINLECTRIC CO                 4174 FORESTDALE DR PARK CITY UT 84098
PARK LANDSCAPE MAINTENANCE              8106 HANSEN LENE SEBASTOPOL CA 95472
PARK ONE PRO LLC                        4449 EASTON WAY STE 200 COLUMBUS OH 43219
PARK ONE PRO LLC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                                 Page 1448 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1457 of 2156

Claim Name                           Address Information
PARK, CLARENCE                       ADDRESS ON FILE
PARK, DAVID                          ADDRESS ON FILE
PARK, JACK                           ADDRESS ON FILE
PARKALA, ROBERT                      ADDRESS ON FILE
PARKBROS LLC                         16145 SE ENGERT RIDGE DR DAMASCUS OR 97089
PARKE, GARY                          ADDRESS ON FILE
PARKE, GARY                          ADDRESS ON FILE
PARKER                               CASS INFO SYSTEMS, PO BOX 17600 SAINT LOUIS MO 63178
PARKER & PARKER PLUMBING             PO BOX 7443 VISALIA CA 93290
PARKER C BROUSSARD                   ADDRESS ON FILE
PARKER CORP                          ATTN: AMY SMITH CASS INFORMATION SYSTEMS PO BOX 17600 ST LOUIS MO 63178
PARKER CORP                          C/O CASS INFORMATION SYSTEMS PO BOX 17600 SAINT LOUIS MO 63178
PARKER EXPRESS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PARKER HANNIFIN                      CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
PARKER HANNIFIN EDI                  WILLIAMS & ASSOCIATES, 405 E 78TH ST BLOOMINGTON MN 55420
PARKER ROYALE LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PARKER SERVICE INC                   2416 CASS ST. FORT WAYNE IN 46808
PARKER SERVICE INC                   7534 ST JOE RD FORT WAYNE IN 46835
PARKER SERVICE INC                   7544 SAINT JOE RD FORT WAYNE IN 46835
PARKER SR TRUCKING LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PARKER TRANSPORT & LOGISTICS         PO BOX 519 BLACK DIAMOND AB T0L 0H0 CANADA
PARKER TRANSPORT INC                 234 DOUGALL AVE CALEDON ON L7C 3M7 CANADA
PARKER TRANSPORTATION EXPRESS LLC    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
PARKER TRUCK REPAIR LLC              7545 BRACKLYN CT THEODORE AL 36582
PARKER TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PARKER, ADAGIO                       ADDRESS ON FILE
PARKER, ADAM                         ADDRESS ON FILE
PARKER, ADAM                         ADDRESS ON FILE
PARKER, ALVIN                        ADDRESS ON FILE
PARKER, AUSTIN                       ADDRESS ON FILE
PARKER, BOBBY                        ADDRESS ON FILE
PARKER, BRUCE                        ADDRESS ON FILE
PARKER, CARL                         ADDRESS ON FILE
PARKER, CHRISTOPHER                  ADDRESS ON FILE
PARKER, CURTIS                       ADDRESS ON FILE
PARKER, DAMON                        ADDRESS ON FILE
PARKER, DANIEL                       ADDRESS ON FILE
PARKER, DANIEL                       ADDRESS ON FILE
PARKER, DEANNA                       ADDRESS ON FILE
PARKER, DENNIS                       ADDRESS ON FILE
PARKER, DEREK                        ADDRESS ON FILE
PARKER, DESJUANAE                    ADDRESS ON FILE
PARKER, DYLAN                        ADDRESS ON FILE
PARKER, ERICA                        ADDRESS ON FILE
PARKER, ERICK                        ADDRESS ON FILE
PARKER, FRANKIE                      ADDRESS ON FILE
PARKER, GEORGE                       ADDRESS ON FILE
PARKER, GERALD                       ADDRESS ON FILE
PARKER, HENRY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1449 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1458 of 2156

Claim Name                           Address Information
PARKER, JACK                         ADDRESS ON FILE
PARKER, JAMAAL                       ADDRESS ON FILE
PARKER, JAMAL                        ADDRESS ON FILE
PARKER, JAMES                        ADDRESS ON FILE
PARKER, JAMES                        ADDRESS ON FILE
PARKER, JEFF                         ADDRESS ON FILE
PARKER, JEFFERY S                    ADDRESS ON FILE
PARKER, JERRY                        ADDRESS ON FILE
PARKER, JERRY R                      ADDRESS ON FILE
PARKER, JOHN                         ADDRESS ON FILE
PARKER, JOHN                         ADDRESS ON FILE
PARKER, JOHN                         ADDRESS ON FILE
PARKER, JUSTIN                       ADDRESS ON FILE
PARKER, KEITH                        ADDRESS ON FILE
PARKER, KENNETH                      ADDRESS ON FILE
PARKER, KEVIN                        ADDRESS ON FILE
PARKER, KEVIN                        ADDRESS ON FILE
PARKER, KEVIN                        ADDRESS ON FILE
PARKER, LENNELL                      ADDRESS ON FILE
PARKER, LLOYD                        ADDRESS ON FILE
PARKER, MICHAEL                      ADDRESS ON FILE
PARKER, MICHELLE                     ADDRESS ON FILE
PARKER, MIYA                         ADDRESS ON FILE
PARKER, OCTAVIUS                     ADDRESS ON FILE
PARKER, PATRICK                      ADDRESS ON FILE
PARKER, PHILEMON                     ADDRESS ON FILE
PARKER, RAPHAEL                      ADDRESS ON FILE
PARKER, RASHAD                       ADDRESS ON FILE
PARKER, RASHEAN                      ADDRESS ON FILE
PARKER, ROBERT                       ADDRESS ON FILE
PARKER, ROSIE                        ADDRESS ON FILE
PARKER, SHAD                         ADDRESS ON FILE
PARKER, SHEANA                       ADDRESS ON FILE
PARKER, STEVEN                       ADDRESS ON FILE
PARKER, TIMOTHY                      ADDRESS ON FILE
PARKER, TROY                         ADDRESS ON FILE
PARKER, TROY                         ADDRESS ON FILE
PARKER, TYLER                        ADDRESS ON FILE
PARKER, VICKIE                       ADDRESS ON FILE
PARKER, VICKY                        ADDRESS ON FILE
PARKER, WILLIAM                      ADDRESS ON FILE
PARKER, WILLIAM                      ADDRESS ON FILE
PARKER-BROOKS, DAVID                 ADDRESS ON FILE
PARKERS HEATING & COOLING, INC       2903 HWY 84 E CAIRO GA 39828
PARKHOUSE TIRE SERVICE, INC.         PO BOX 2430 BELL CA 90202
PARKHURST, ALEXUS                    ADDRESS ON FILE
PARKHURST, DAVID                     ADDRESS ON FILE
PARKHURST, DAVID                     ADDRESS ON FILE
PARKHURST, JASON                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1450 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1459 of 2156

Claim Name                               Address Information
PARKHURST, TIMOTHY                       ADDRESS ON FILE
PARKING VIOLATIONS                       22 NW 1 STREET, 4TH FLOOR MIAMI FL 33128
PARKING VIOLATIONS BUREAU                PO BOX 52828 NEW ORLEANS LA 70152
PARKINSON, BENJAMIN                      ADDRESS ON FILE
PARKINSON, PAUL                          ADDRESS ON FILE
PARKINSON, RONALD                        ADDRESS ON FILE
PARKINSON, SEAN                          ADDRESS ON FILE
PARKINSON, TRAVIS                        ADDRESS ON FILE
PARKLAND TRUCKING CORP                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PARKLAWN LOGISTICS LLC                   OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
PARKMAN, ANDREA PARKMAN                  ADDRESS ON FILE
PARKMAN, CHARLES                         ADDRESS ON FILE
PARKMAN, JAMES                           ADDRESS ON FILE
PARKS COFFEE CALIFORNIA, INC.            PO BOX 110914 CARROLLTON TX 75011
PARKS MEDICAL TRANSPORTATION LTD CO      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PARKS TRANSPORTATION AND LOGISTICS LLC   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PARKS TRUCK REPAIR LLC                   704 MURRAY ROAD DOTHAN AL 36303
PARKS, CATHERINE                         ADDRESS ON FILE
PARKS, CURTIS                            ADDRESS ON FILE
PARKS, EDDIE                             ADDRESS ON FILE
PARKS, HARRY                             ADDRESS ON FILE
PARKS, HOLLIS                            ADDRESS ON FILE
PARKS, JAMES                             ADDRESS ON FILE
PARKS, JOHN                              ADDRESS ON FILE
PARKS, KEVIN                             ADDRESS ON FILE
PARKS, MARCUS                            ADDRESS ON FILE
PARKS, MAURICE                           ADDRESS ON FILE
PARKS, ROBERT                            ADDRESS ON FILE
PARKS, RONALD                            ADDRESS ON FILE
PARKS, TIMOTHY                           ADDRESS ON FILE
PARKS, WILLIAM                           ADDRESS ON FILE
PARKS-MARTIN, LATISHA                    ADDRESS ON FILE
PARKSIDE FIRE & SECURITY                 237 HIGHLAND PKWY BUFFALO NY 14223
PARKVIEW OCCUPATIONAL HEALTH             NW 6476, PO BOX 1450 MINNEAPOLIS MN 55485
PARKWAY FAMILY KIA                       443 INTERSTATE 45 S CONROE TX 77301
PARKWAY LOGISTICS LLC                    OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
PARLO INC                                562-B OSBORNE ST WINNIPEG MB R3L 2B4 CANADA
PARMAN ENERGY CORPORATION                PO BOX 197557 NASHVILLE TN 37219
PARMAR TRUCK LINES LLC                   11630 SE 233RD CT KENT WA 98031
PARMELEE, MICHAEL                        ADDRESS ON FILE
PARMELEE, STEVEN                         ADDRESS ON FILE
PARMENTER, RICHARD                       ADDRESS ON FILE
PARMER WATER COMPANY                     109 WESTSIDE DR LAGRANGE GA 30240
PARMER, MYKENZIE                         ADDRESS ON FILE
PARNASS, ADRIAN                          ADDRESS ON FILE
PARNELL, COREY                           ADDRESS ON FILE
PARNELL, GARY                            ADDRESS ON FILE
PARR, BRIAN                              ADDRESS ON FILE
PARRA ALVAREZ, OSCAR                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1451 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1460 of 2156

Claim Name                           Address Information
PARRA, HECTOR                        ADDRESS ON FILE
PARRA, JORGE                         ADDRESS ON FILE
PARRA, MARIANNA                      ADDRESS ON FILE
PARRA, PERFECTO                      ADDRESS ON FILE
PARRA, RUBEN                         ADDRESS ON FILE
PARRA, SAUL                          ADDRESS ON FILE
PARRACINO, ROGER                     ADDRESS ON FILE
PARRETT, CHRISTOPHER                 ADDRESS ON FILE
PARRETT, JAMES                       ADDRESS ON FILE
PARRETT, TERRY                       ADDRESS ON FILE
PARRILLO, GINA                       ADDRESS ON FILE
PARRILLO, GINA                       ADDRESS ON FILE
PARRIS, FREDDIE C                    ADDRESS ON FILE
PARRIS, GAVIN                        ADDRESS ON FILE
PARRIS, JOHN                         ADDRESS ON FILE
PARRIS, MICHAEL                      ADDRESS ON FILE
PARRIS, RYAN                         ADDRESS ON FILE
PARRIS, WALT                         ADDRESS ON FILE
PARRISH DEDICATED SERVICES INC       5104 OLD MAUMEE ROAD FORT WAYNE IN 46803
PARRISH WRECKER & HEAVY HAULING      P. O. BOX 1487 ROCKY FACE GA 30740
PARRISH, BENJAMIN                    ADDRESS ON FILE
PARRISH, BRETT                       ADDRESS ON FILE
PARRISH, DYLAN                       ADDRESS ON FILE
PARRISH, GERALD                      ADDRESS ON FILE
PARRISH, MATTHEW E                   ADDRESS ON FILE
PARRISH, NICKLAS                     ADDRESS ON FILE
PARRISH, ROBERT                      ADDRESS ON FILE
PARRISH, RONALD                      ADDRESS ON FILE
PARRISH, STEVEN                      ADDRESS ON FILE
PARRISH, SUSIE                       ADDRESS ON FILE
PARRISH, WILLIAM                     ADDRESS ON FILE
PARRY, BRUCE                         ADDRESS ON FILE
PARRY, FRED                          ADDRESS ON FILE
PARSAI, LAXMI                        ADDRESS ON FILE
PARSHALL, JACKSON                    ADDRESS ON FILE
PARSI, HESAMODIN                     ADDRESS ON FILE
PARSLEY, GREGORY                     ADDRESS ON FILE
PARSLEY, RANDY                       ADDRESS ON FILE
PARSON, BOBBY                        ADDRESS ON FILE
PARSON, KEVIN                        ADDRESS ON FILE
PARSON, MARTIN                       ADDRESS ON FILE
PARSON, STEVEN                       ADDRESS ON FILE
PARSONS TRUCKING                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PARSONS, ALEX                        ADDRESS ON FILE
PARSONS, BAILEY                      ADDRESS ON FILE
PARSONS, BRANDON                     ADDRESS ON FILE
PARSONS, BRENT                       ADDRESS ON FILE
PARSONS, BRIAN                       ADDRESS ON FILE
PARSONS, BRUCE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1452 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1461 of 2156

Claim Name                            Address Information
PARSONS, CYRUS                        ADDRESS ON FILE
PARSONS, DANNY                        ADDRESS ON FILE
PARSONS, ESTHER                       ADDRESS ON FILE
PARSONS, FRED                         ADDRESS ON FILE
PARSONS, GREGORY                      ADDRESS ON FILE
PARSONS, JACK                         ADDRESS ON FILE
PARSONS, JAMES A                      ADDRESS ON FILE
PARSONS, JESSIE                       ADDRESS ON FILE
PARSONS, JOHN                         ADDRESS ON FILE
PARSONS, TIMOTHY                      ADDRESS ON FILE
PARSONS, TRAVAREZ                     ADDRESS ON FILE
PARSPECS                              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PARTAIN, STEVEN                       ADDRESS ON FILE
PARTAP TRANSPORT INC                  9774 CARMENCITA AVE SACRAMENTO CA 95829-9258
PARTEE, RODNEY                        ADDRESS ON FILE
PARTELLO, DERRICK                     ADDRESS ON FILE
PARTEN, AUSTIN                        ADDRESS ON FILE
PARTIN, ANDREW                        ADDRESS ON FILE
PARTIN, SHAWN                         ADDRESS ON FILE
PARTLOW, CHARLES                      ADDRESS ON FILE
PARTNER CARRIER LLC                   12600 ROCKSIDE RD UNIT 260 GARFIELD HEIGHTS OH 44125
PARTNER FREIGHT LINES INC             5455 HAGEMANN POINTE DR SAINT LOUIS MO 63128-4534
PARTNERS EXPRESS TRANSPORTATION LLC   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
PARTNERSHIP                           ATTN: PARTNERSHIP CLAIMS 500 E LORAIN ST OBERLIN OH 44074
PARTNERSHIP FOR EMERGENCY PLANNING    ATTN A.J. HEIER, PO BOX 593 SHAWNEE MISSION KS 66201
PARTRIDGE, GEORGE                     ADDRESS ON FILE
PARTRIDGE, TRAVIS                     ADDRESS ON FILE
PARTS CARGO INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PARTS MART                            6335 N. 53RD AVE. GLENDALE AZ 85301
PARTS SOURCE                          14453 W EDISON DR NEW LENOX IL 60451
PARTY CITY                            ATTN: GENERAL COUNSEL 100 TICE BLVD WOODCLIFF LAKE NJ 07677-8404
PARVIAINEN, MARKO                     ADDRESS ON FILE
PARVIN, CHRISTOPHER                   ADDRESS ON FILE
PARVIS, ROBERT                        ADDRESS ON FILE
PARVIS, ROBERT                        ADDRESS ON FILE
PAS TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PAS TRUCK AND TRAILER                 16 CAPRON ST ATTLEBORO MA 02703
PASCAL CARRIER INC                    OR INSIGHT TECHNOLOGY, INC PO BOX 200399 DALLAS TX 75320-0399
PASCAL LABONTE                        ADDRESS ON FILE
PASCALE SERVICE CORPORATION           51 DELTA DR PAWTUCKET RI 02860
PASCAT TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
PASCHAL, BOBBY                        ADDRESS ON FILE
PASCHKE, JAMES                        ADDRESS ON FILE
PASCIOLLA, GEORGE                     ADDRESS ON FILE
PASCO COUNTY BOARD OF COMMISSIONERS   38053 LIVE OAK AVE. ROOM 201 DADE CITY FL 33523
PASCO SCHOOL DISTRICT                 1215 W. LEWIS ST. PASCO WA 99301
PASCO TOWING                          320 S MAIN PASCO WEST WA 99301
PASCUA, JOEFREY                       ADDRESS ON FILE
PASCUAL DOMINGUEZ                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1453 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1462 of 2156

Claim Name                           Address Information
PASCUAL, PASCUAL J                   ADDRESS ON FILE
PASCUAL, PASCUAL J                   ADDRESS ON FILE
PASEKEL, BRANDON                     ADDRESS ON FILE
PASHA HAWAII HOLDINGS LLC            PO BOX 741142 LOS ANGELES CA 90074
PASHKOW, JUSTIN                      ADDRESS ON FILE
PASHOS, ARTHUR                       ADDRESS ON FILE
PASIETA, NICHOLAS                    ADDRESS ON FILE
PASILLAS, FABIAN                     ADDRESS ON FILE
PASLEY, JASON L                      ADDRESS ON FILE
PASLEY, SHONTRAE                     ADDRESS ON FILE
PASLEY, WILDER                       ADDRESS ON FILE
PASQUALE BEACH REALITY LLC           ATTN: JIM BEACH 43 E MAIN STREET NORTH EAST PA 16428-1340
PASQUALICHIO BROS. INC.              ATTN: MIKE PASQUALICHIO JR 220 VALLEY VIEW DRIVE JESSUP PA 18434
PASS & SEYMOUR / LEGRAND             50 BOYD AVE SYRACUSE NY 13209
PASSAGE TRANSPORT LLC                OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
PASSARELLA, JAMES J                  ADDRESS ON FILE
PASSARO, RICHARD                     ADDRESS ON FILE
PASSE, ANTHONY                       ADDRESS ON FILE
PASSE, RICHARD                       ADDRESS ON FILE
PASSIVE TRUCKING LLC                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
PASSMORE, CLARENCE                   ADDRESS ON FILE
PASSMORE, THOMAS                     ADDRESS ON FILE
PASTERNAK, MATTHEW                   ADDRESS ON FILE
PASTOR JULIUS TRUCKING LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PASTOR, SUSAN                        ADDRESS ON FILE
PASTORAL, ROBERT                     ADDRESS ON FILE
PASTRAN, JOSE                        ADDRESS ON FILE
PASTRANA-MARTINEZ, JORGE R           ADDRESS ON FILE
PASTULA, DEAN                        ADDRESS ON FILE
PASZKE, SCOTT                        ADDRESS ON FILE
PAT & SON TOWING & RECOVERY          25600 PEMBERVILLE ROAD PERRYBURG OH 43551
PAT REILLY TRUCKING                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PATCH MY PC LLC                      PO BOX 1436 CASTLE ROCK CO 80104
PATCH, JOSHUA                        ADDRESS ON FILE
PATCHON, JEROLD                      ADDRESS ON FILE
PATCO TRANSPORTATION INC.            7 COCHRAN DRIVE AYR ON N0B 1E0 CANADA
PATE, DEREK                          ADDRESS ON FILE
PATE, JOEL                           ADDRESS ON FILE
PATE, JOHN                           ADDRESS ON FILE
PATE, LARRY                          ADDRESS ON FILE
PATE, MARK                           ADDRESS ON FILE
PATEL TRANSPORT                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PATEL, ANKIT K                       ADDRESS ON FILE
PATEL, ANKIT K                       ADDRESS ON FILE
PATEL, HARRY                         ADDRESS ON FILE
PATEL, MANAV                         ADDRESS ON FILE
PATEL, PANKAJ                        ADDRESS ON FILE
PATEL, PULLIAM AND MEDICAL ASSOC     D/B/A: PREMIER URGENT CARE APMC DBA TRACY OCCUPATIONAL MEDICAL 644 W 12TH
                                     STREET TRACY CA 95376



Epiq Corporate Restructuring, LLC                                                            Page 1454 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1463 of 2156

Claim Name                             Address Information
PATEL, SAMUEL                          ADDRESS ON FILE
PATEL, SARJU                           ADDRESS ON FILE
PATEL, VIRALKUMAR                      ADDRESS ON FILE
PATEL, VIRALKUMAR 'RICK'               ADDRESS ON FILE
PATERSON PACIFIC PARCHMENT CO          625 GREG ST SPARKS NV 89431
PATERSON PAPER                         SUNSET FINANCIAL SERVICES, PO BOX 270509 SAINT LOUIS MO 63127
PATERSON PAPER                         625 GREG ST SPARKS NV 89431
PATERSON, SCOTT                        ADDRESS ON FILE
PATERSON, TIMOTHY                      ADDRESS ON FILE
PATERSON, WILLIAM                      ADDRESS ON FILE
PATES, DESTINY                         ADDRESS ON FILE
PATHAK, FALGUN                         ADDRESS ON FILE
PATHFINDER TRUCKING CORP               OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
PATHIVARA TRAVELS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PATHWAY LOGISTICS LLC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PATHWAY LOGISTICS LLC (MC1284033)      OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PATIENT CARE PLUS                      42 LAMBERT ST STE 111 STAUNTON VA 24401
PATIENT FIRST RICHMOND MEDICAL GROUP   PO BOX 716389 PHILADELPHIA PA 19171
P.L
PATIENT FIRST RICHMOND MEDICAL GROUP   PO BOX 76389 BALTIMORE MD 21275
P.L
PATINA PRODUCTS                        ATTN: JOHN WATERMAN 4303 HUASNA RD ARROYO GRANDE CA 93420
PATINO, ALFREDO                        ADDRESS ON FILE
PATINO, ARTURO                         ADDRESS ON FILE
PATINO, CARLOS                         ADDRESS ON FILE
PATINO, CHRISTOPHER                    ADDRESS ON FILE
PATINO, JANETH                         ADDRESS ON FILE
PATMAN, JOHNNY                         ADDRESS ON FILE
PATMORE, DAVID                         ADDRESS ON FILE
PATNA TRUCKING LLC                     OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                       76116
PATNAUDE, MARK C                       ADDRESS ON FILE
PATON, BRADLEY                         ADDRESS ON FILE
PATON, DAMON                           ADDRESS ON FILE
PATONY TRUCKING, INC.                  OR NATIONWIDE TRANSPORT FINANCE P.O. BOX 81860 LAS VEGAS NV 89180
PATRICE JEAN                           ADDRESS ON FILE
PATRICIA A TWIFORD                     ADDRESS ON FILE
PATRICIA HULL                          ADDRESS ON FILE
PATRICIA J BEKAERT                     ADDRESS ON FILE
PATRICIA L DOBEK                       ADDRESS ON FILE
PATRICIA M AMRHEIN                     ADDRESS ON FILE
PATRICIA M NAZEMETZ                    ADDRESS ON FILE
PATRICIA R ODNEAL                      ADDRESS ON FILE
PATRICK C JOHNSON                      ADDRESS ON FILE
PATRICK D DAWKINS                      ADDRESS ON FILE
PATRICK ELECTRIC SERVICE LLC           320 N 5TH ST MONROE LA 71201
PATRICK IND                            ATTN: NORA STOUT 8399 W VAN BUREN ST STE 106 TOLLESON AZ 85353
PATRICK INDUSTRIES INC.                P.O. BOX 638 ELKHART IN 46515
PATRICK J BAUMHOVER                    ADDRESS ON FILE
PATRICK J BROWN                        ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                               Page 1455 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1464 of 2156

Claim Name                               Address Information
PATRICK J BROWN                          ADDRESS ON FILE
PATRICK JUSTIN ROELEN                    ADDRESS ON FILE
PATRICK MCALLISTER                       ADDRESS ON FILE
PATRICK TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PATRICK TRANSPORTATION, LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PATRICK VOEGEL                           ADDRESS ON FILE
PATRICK W BRENDA                         ADDRESS ON FILE
PATRICK, CARL                            ADDRESS ON FILE
PATRICK, CHANCE                          ADDRESS ON FILE
PATRICK, DAVID                           ADDRESS ON FILE
PATRICK, GERALD A                        ADDRESS ON FILE
PATRICK, JAMES                           ADDRESS ON FILE
PATRICK, JAROD                           ADDRESS ON FILE
PATRICK, JEFFREY                         ADDRESS ON FILE
PATRICK, JERRY                           ADDRESS ON FILE
PATRICK, JOHN                            ADDRESS ON FILE
PATRICK, JOSEPH                          ADDRESS ON FILE
PATRICK, MELVIN J                        ADDRESS ON FILE
PATRICK, PAUL                            ADDRESS ON FILE
PATRICK, RONALD                          ADDRESS ON FILE
PATRICK, TIMOTHY                         ADDRESS ON FILE
PATRICKS MOBILE TRUCK & TRALIER REPAIR   1825 CHERRYWOOD TRAIL LONDON ON N6H 0E2 CANADA
PATRICKS MOBILE TRUCK & TRALIER REPAIR   2505 KAINS ROAD LONDON ON N6K 0C8 CANADA
PATRICKS TRANSPORTATION LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PATRICS SERVICES LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PATRIDGE, GORDON                         ADDRESS ON FILE
PATRIOT CARGO SOLUTIONS LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PATRIOT DIRECT TRANSPORT LLC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PATRIOT EXPRESS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PATRIOT FREIGHTLINER-WESTERN STAR        6243 US RT 5 WESTMINSTER VT 05158
PATRIOT ICE SYSTEMS                      PO BOX 23051 CHATTANOOGA TN 37422
PATRIOT INSURANCE CO.                    55 WEST WEBSTER ST. MANCHESTER NH 03104
PATRIOT INSURANCE CO.                    C/O NIEDERMAN, STANZEL & LIND SEY ATTN: THOMAS E. WALKER, JR. 55 WEST WEBSTER
                                         STREET MANCHESTER NH 03104
PATRIOT LAWN AND LANDSCAPE               PO BOX 2154 MANASSAS VA 20108
PATRIOT LOGISTICS INC                    4301 EAST PARK DR HOUSTON IN 77028
PATRIOT PEST MANAGEMENT, LLC             793 S TRACY BLVD 135 TRACY CA 95376
PATRIOT STAR                             ADDRESS ON FILE
PATRIOT TOWING                           2475 EAST 5TH STREET WASHINGTON MO 63090
PATRIOT TRANSPORT INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PATRIOT TRANSPORT LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PATRIOT WELDING SERVICES LLC             321 JOHN HOLLIDAY RD SIX MILE SC 29682
PATROVICH, STEPHEN                       ADDRESS ON FILE
PATRUYO, LONDA                           ADDRESS ON FILE
PATSON, INC.                             D/B/A: TRANSCHICAGO TRUCK GROUP 2333 W 25TH AVE GARY IN 46404
PATSON, INC.                             D/B/A: TRANSCHICAGO TRUCK GROUP 776 N YORK RD ELMHURST IL 60126
PATSON, INC.                             D/B/A: TRANSCHICAGO TRUCK GROUP 776 N YORK STREET ELMHURST IL 60126
PATSON, INC.                             D/B/A: TRANSCHICAGO TRUCK GROUP DBA JOLIET TRANSCHICAGO TRUCK 19521 NE
                                         FRONTAGE ROAD SHOREWOOD IL 60404



Epiq Corporate Restructuring, LLC                                                                   Page 1456 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1465 of 2156

Claim Name                             Address Information
PATSUE, JEFFREY                        ADDRESS ON FILE
PATT, ALLEN                            ADDRESS ON FILE
PATT, LAWRENCE                         ADDRESS ON FILE
PATTAT, WILLIAM                        ADDRESS ON FILE
PATTEN, CHRISTOPHER                    ADDRESS ON FILE
PATTENDEN, DAVE                        ADDRESS ON FILE
PATTERSON BELKNAP WEBB & TYLER LLP     1133 AVENUE OF THE AMERICAS NEW YORK NY 10036
PATTERSON PLUMBING CO                  2086 LARS WAY MEDFORD OR 97501
PATTERSON TIRE AND FRONT END SERVICE   PO BOX 37 GRANITE CITY IL 62040
PATTERSON, BOBBY                       ADDRESS ON FILE
PATTERSON, BOUDEY                      ADDRESS ON FILE
PATTERSON, BRADLEY                     ADDRESS ON FILE
PATTERSON, BYRON                       ADDRESS ON FILE
PATTERSON, CHARLIE                     ADDRESS ON FILE
PATTERSON, CHRISTOPHER                 ADDRESS ON FILE
PATTERSON, DANIEL                      ADDRESS ON FILE
PATTERSON, DONALD                      ADDRESS ON FILE
PATTERSON, DONALD                      ADDRESS ON FILE
PATTERSON, IKE                         ADDRESS ON FILE
PATTERSON, JAMES                       ADDRESS ON FILE
PATTERSON, JAMES                       ADDRESS ON FILE
PATTERSON, JAMES J                     ADDRESS ON FILE
PATTERSON, JESSE                       ADDRESS ON FILE
PATTERSON, JOEL                        ADDRESS ON FILE
PATTERSON, JONATHAN                    ADDRESS ON FILE
PATTERSON, JOSEPH                      ADDRESS ON FILE
PATTERSON, JOSHUA                      ADDRESS ON FILE
PATTERSON, JOSHUA                      ADDRESS ON FILE
PATTERSON, JOSHUA                      ADDRESS ON FILE
PATTERSON, JUANITA                     ADDRESS ON FILE
PATTERSON, LARRY                       ADDRESS ON FILE
PATTERSON, LAWRENCE                    ADDRESS ON FILE
PATTERSON, LORENZO                     ADDRESS ON FILE
PATTERSON, MARY                        ADDRESS ON FILE
PATTERSON, MATT                        ADDRESS ON FILE
PATTERSON, MICHAEL                     ADDRESS ON FILE
PATTERSON, MYLES                       ADDRESS ON FILE
PATTERSON, NANCY                       ADDRESS ON FILE
PATTERSON, NANCY                       ADDRESS ON FILE
PATTERSON, NANCY                       ADDRESS ON FILE
PATTERSON, NICHOLAS                    ADDRESS ON FILE
PATTERSON, NORMAN                      ADDRESS ON FILE
PATTERSON, RAMON                       ADDRESS ON FILE
PATTERSON, RAMON                       ADDRESS ON FILE
PATTERSON, RICK                        ADDRESS ON FILE
PATTERSON, ROBERT                      ADDRESS ON FILE
PATTERSON, RODERICK                    ADDRESS ON FILE
PATTERSON, ROGER                       ADDRESS ON FILE
PATTERSON, RONDA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1457 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1466 of 2156

Claim Name                            Address Information
PATTERSON, ROOSEVELT                  ADDRESS ON FILE
PATTERSON, RYAN                       ADDRESS ON FILE
PATTERSON, TRAVIS                     ADDRESS ON FILE
PATTERSON, TRAVIS                     ADDRESS ON FILE
PATTERSON, TYRONE                     ADDRESS ON FILE
PATTERSON, UPTON                      ADDRESS ON FILE
PATTERSON, WENDELL                    ADDRESS ON FILE
PATTERSON-KELLEY LLC                  C/O DYNAMIC LOGISTIX FREIGHT CLAIMS DEPT, 7220 W 98TH TERR OVERLAND PARK KS
                                      66212
PATTILLO, QUENICAS                    ADDRESS ON FILE
PATTISON, JONATHAN                    ADDRESS ON FILE
PATTISON, KELLY                       ADDRESS ON FILE
PATTON CONTRACTING, LLC               P.O. BOX 1040 CASTLEWOOD VA 24224
PATTON HEATING AND AIR CONDITIONING   589 SWAN LAKE LN NW EAST BETHEL MN 55011
PATTON RING TRUCK & ENG SPEC          PO BOX 2009 EAST PEORIA IL 61611
PATTON SALES CORP.                    PO BOX 273 ONTARIO CA 91762
PATTON, ANTONIO                       ADDRESS ON FILE
PATTON, CHARLES                       ADDRESS ON FILE
PATTON, CHRISTIAN                     ADDRESS ON FILE
PATTON, CHRISTOPHER                   ADDRESS ON FILE
PATTON, CORNELIUS                     ADDRESS ON FILE
PATTON, CURTIS                        ADDRESS ON FILE
PATTON, DEVON                         ADDRESS ON FILE
PATTON, JON                           ADDRESS ON FILE
PATTON, JULIE                         ADDRESS ON FILE
PATTON, MARCUS                        ADDRESS ON FILE
PATTON, MICHAEL                       ADDRESS ON FILE
PATTON, MICHAEL                       ADDRESS ON FILE
PATTON, MICHAEL A                     ADDRESS ON FILE
PATTON, MICHELLE                      ADDRESS ON FILE
PATTON, NOEL                          ADDRESS ON FILE
PATTON, RANDALL A                     ADDRESS ON FILE
PATTON, RANDY                         ADDRESS ON FILE
PATTON, ROBERT                        ADDRESS ON FILE
PATTON, STEVEN                        ADDRESS ON FILE
PATTONS INC.                          DEPT 2227, PO BOX 122227 DALLAS TX 75312
PATTY, DONALD                         ADDRESS ON FILE
PATUSZYNSKI, WILLIAM                  ADDRESS ON FILE
PATWALIA TRANSPORT LLC                1050 COZZENS LANE NORTH BRUNSWICK TOWNSHIP NJ 08902
PATWALIA TRANSPORT LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PAUDEL TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PAUKERT, DARRYL                       ADDRESS ON FILE
PAUL & SONS TRANSPORT LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PAUL A ASHE                           ADDRESS ON FILE
PAUL A DOOLEY                         ADDRESS ON FILE
PAUL ADAIR                            ADDRESS ON FILE
PAUL ALAN TRANS, INC.                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068-2348
PAUL B STEGALL                        ADDRESS ON FILE
PAUL BOEKER                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1458 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1467 of 2156

Claim Name                           Address Information
PAUL BRUNO                           ADDRESS ON FILE
PAUL DEMARCO TRUCKING INC            3585 NEW ROAD DUNKIRK NY 14048
PAUL DUQUETTE                        ADDRESS ON FILE
PAUL E DERONCERAY                    ADDRESS ON FILE
PAUL E FRAZIER                       ADDRESS ON FILE
PAUL E ISAACSON CO                   PO BOX 30740 BELLINGHAM WA 98228
PAUL HOYNACKI                        ADDRESS ON FILE
PAUL ISAACSON                        ADDRESS ON FILE
PAUL J RANGE                         ADDRESS ON FILE
PAUL KWANGWON LEE                    ADDRESS ON FILE
PAUL LABES                           ADDRESS ON FILE
PAUL LARSON CONCRETE                 3456 EDDIE RD WINNEBAGO IL 61088
PAUL LORENSEN                        ADDRESS ON FILE
PAUL LOSLO                           ADDRESS ON FILE
PAUL MADSEN                          ADDRESS ON FILE
PAUL MOAK VOLVO                      ATTN: DAVID DICKSON 740 LARSON ST. JACKSON MS 39202
PAUL RANKIN TRUCKING LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PAUL RANKIN TRUCKING LLC             115 KING ROAD HOLLADAY TN 38341
PAUL S BLAIR                         ADDRESS ON FILE
PAUL SCHAFFER                        ADDRESS ON FILE
PAUL SOLOMON                         ADDRESS ON FILE
PAUL TRUCK LINE INC                  PO BOX 9577 FRESNO CA 93793
PAUL W JONES                         ADDRESS ON FILE
PAUL WATTS TRUCKING, INC.            3668 SUMMIT ROAD NORTON OH 44203
PAUL YAKUBICKA                       ADDRESS ON FILE
PAUL YAKUBICKA                       ADDRESS ON FILE
PAUL, CARL                           ADDRESS ON FILE
PAUL, DAMON                          ADDRESS ON FILE
PAUL, DAVID                          ADDRESS ON FILE
PAUL, JOHN                           ADDRESS ON FILE
PAUL, KESSY                          ADDRESS ON FILE
PAUL, KEVIN                          ADDRESS ON FILE
PAUL, LOGAN                          ADDRESS ON FILE
PAUL, ROBIN                          ADDRESS ON FILE
PAUL, RUSSELL                        ADDRESS ON FILE
PAUL, RUSTY                          ADDRESS ON FILE
PAUL, STEVEN                         ADDRESS ON FILE
PAUL, UTLY                           ADDRESS ON FILE
PAUL, WEISS, RIFKIND,                WHARTON & GARRISON LLP 1285 AVENUE OF THE AMERICAS NEW YORK NY 10019
PAULA REYNOLDS                       ADDRESS ON FILE
PAULAUSKY, ANTHONY                   ADDRESS ON FILE
PAULDO, SHANIQUA                     ADDRESS ON FILE
PAULELLO, JUDY                       ADDRESS ON FILE
PAULES, AUSTIN                       ADDRESS ON FILE
PAULEY, NICKOLAUS                    ADDRESS ON FILE
PAULEY, STEPHEN                      ADDRESS ON FILE
PAULING, DCARLO                      ADDRESS ON FILE
PAULING, EMMANUEL                    ADDRESS ON FILE
PAULINO FREIGHT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1459 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1468 of 2156

Claim Name                           Address Information
PAULINO, DARWIN                      ADDRESS ON FILE
PAULINO, JONATHAN                    ADDRESS ON FILE
PAULK, CHRIS                         ADDRESS ON FILE
PAULO TRUCKING LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PAULO, JACK                          ADDRESS ON FILE
PAULS PLUMBING, HEATING AND A/C      1121 CORPORATE BLVD RENO NV 89502
PAULS PRIORITY TRUCKS INC.           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PAULS TRUCKING                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PAULSEN, SCOTT                       ADDRESS ON FILE
PAULSON, BARRY                       ADDRESS ON FILE
PAULSON, DUSTIN                      ADDRESS ON FILE
PAULSON, KAYLA                       ADDRESS ON FILE
PAULSON, KYAIRA                      ADDRESS ON FILE
PAULSON, WANDA                       ADDRESS ON FILE
PAULUS, LUKE                         ADDRESS ON FILE
PAUMI, THOMAS                        ADDRESS ON FILE
PAUSE AND CO                         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PAUSZEK, SUZANNE                     ADDRESS ON FILE
PAUWELS, JEFFREY                     ADDRESS ON FILE
PAUWELS, THOMAS                      ADDRESS ON FILE
PAV TRUCKING                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PAV TRUCKING                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PAVA TRUCKING INC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
PAVA TRUCKING INC                    OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PAVA TRUCKING INC                    10005 TOINETTE ST LAREDO TX 78045
PAVAN, JOSHUA                        ADDRESS ON FILE
PAVAO, JOSHUA                        ADDRESS ON FILE
PAVECON, LTD.                        P.O.BOX 535457 GRAND PRAIRIE TX 75053
PAVEL, NORM                          ADDRESS ON FILE
PAVELOCK, MICHAEL                    ADDRESS ON FILE
PAVER, RICHARD                       ADDRESS ON FILE
PAVESI, DAVID                        ADDRESS ON FILE
PAVESICH, CARL                       ADDRESS ON FILE
PAVILION CARRIERS LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PAVING SOLUTIONS LLC                 12009 HUDSON DR ALVARADO TX 76009
PAVLICH, INC                         250 S 5TH ST KANSAS CITY KS 66101
PAVLICK, STEPHEN                     ADDRESS ON FILE
PAVON, ARMONDO                       ADDRESS ON FILE
PAWAR TRANS INC                      3801 DUCKHORN DR APT 1114 SACRAMENTO CA 95834-1087
PAWAR TRANS INC (MC137470)           1642 LIMERICK LN AVON IN 46123-5544
PAWELCZYK, LEONARD                   ADDRESS ON FILE
PAWLAK, MARTIN                       ADDRESS ON FILE
PAWLICK, ROBERT C                    ADDRESS ON FILE
PAWLIKOWSKI, ZIGGY                   ADDRESS ON FILE
PAWLING CORPORATION                  ATTN: RON PECK 32 NELSON HILL RD WASSAIC NY 12592
PAWLOWSKI, ANDRZEJ                   ADDRESS ON FILE
PAWLOWSKI, MICHAEL                   ADDRESS ON FILE
PAWLOWSKI, PAUL                      ADDRESS ON FILE
PAXTON COMPANY ECHO                  ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654



Epiq Corporate Restructuring, LLC                                                               Page 1460 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1469 of 2156

Claim Name                          Address Information
PAXTON, ALANA                       ADDRESS ON FILE
PAXTON, DAVID                       ADDRESS ON FILE
PAY, GRANT                          ADDRESS ON FILE
PAYAM TRANSPORTATION INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PAYAMI, MATTHEW                     ADDRESS ON FILE
PAYAMI, MATTHEW                     ADDRESS ON FILE
PAYAN, MONICA                       ADDRESS ON FILE
PAYER, GILBERT                      ADDRESS ON FILE
PAYGAI, TEDDY                       ADDRESS ON FILE
PAYNE TRANSPORTATION INCORPORATED   OR PROVIDENT COMMERCIAL FINANCE, LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                    35246
PAYNE&CHIVA TRUCKING LLC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PAYNE, BARRY                        ADDRESS ON FILE
PAYNE, BECKY                        ADDRESS ON FILE
PAYNE, BRIAN                        ADDRESS ON FILE
PAYNE, CHARLES                      ADDRESS ON FILE
PAYNE, CHAYVAUGHN                   ADDRESS ON FILE
PAYNE, CHRISTOPHER                  ADDRESS ON FILE
PAYNE, COLE                         ADDRESS ON FILE
PAYNE, DAVID                        ADDRESS ON FILE
PAYNE, DAVID                        ADDRESS ON FILE
PAYNE, GABRIEL                      ADDRESS ON FILE
PAYNE, INC.                         10411 HALL INDUSTRIAL DR FREDERICKSBURG VA 22408
PAYNE, JASON                        ADDRESS ON FILE
PAYNE, JASON                        ADDRESS ON FILE
PAYNE, JEFFREY                      ADDRESS ON FILE
PAYNE, JILL                         ADDRESS ON FILE
PAYNE, JOHN                         ADDRESS ON FILE
PAYNE, JONATHAN                     ADDRESS ON FILE
PAYNE, KEITH                        ADDRESS ON FILE
PAYNE, LADARIUS                     ADDRESS ON FILE
PAYNE, MARTEZ                       ADDRESS ON FILE
PAYNE, MELVIN                       ADDRESS ON FILE
PAYNE, MICHAEL                      ADDRESS ON FILE
PAYNE, MICHAEL                      ADDRESS ON FILE
PAYNE, NATHAN                       ADDRESS ON FILE
PAYNE, PAUL                         ADDRESS ON FILE
PAYNE, PAULETTE                     ADDRESS ON FILE
PAYNE, PRENTIS                      ADDRESS ON FILE
PAYNE, RACHEL LINDSEY               ADDRESS ON FILE
PAYNE, RACHEL LINDSEY               ADDRESS ON FILE
PAYNE, ROBERT                       ADDRESS ON FILE
PAYNE, RUSSELL L                    ADDRESS ON FILE
PAYNE, SHEROD                       ADDRESS ON FILE
PAYNE, TASHIA                       ADDRESS ON FILE
PAYNES INC.                         806 WEST MCKAY FRONTENAC KS 66763
PAYNES TOWING AND RECOVERY          248 INDUSTRIAL DR RUCKERSVILLE VA 22968
PAYNES TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PAYNOW                              D/B/A: EGS FINANCIAL CARE 28756 NETWORK PLACE CHICAGO IL 60673



Epiq Corporate Restructuring, LLC                                                              Page 1461 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1470 of 2156

Claim Name                           Address Information
PAYNOW                               D/B/A: EGS FINANCIAL CARE ATTN: ACCOUNTS RECEIVABLE, PO BOX 741030 LOS ANGELES
                                     CA 90074
PAYNOW                               D/B/A: EGS FINANCIAL CARE DBA PAYNOW, PO BOX 741026 LOS ANGELES CA 90074
PAYNTER, JENNIFER                    ADDRESS ON FILE
PAYPOOL LLC                          800 MAINE AVENUE SW SUITE 650 WASHINGTON DC 20024
PAYRO BARFIELD TRUCKING LLC          OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
PAYSCALE, INC                        75 REMITTANCE DR. DEPT. 1343 CHICAGO IL 60675
PAYSCALE, INC                        PO BOX 207845 DALLAS TX 75320
PAYSEUR, DONALD                      ADDRESS ON FILE
PAYSEUR, RONALD                      ADDRESS ON FILE
PAYTON II, WILLIAM                   ADDRESS ON FILE
PAYTON JACKSON, BRAYDON              ADDRESS ON FILE
PAYTON, DAVID                        ADDRESS ON FILE
PAYTON, JIMMY                        ADDRESS ON FILE
PAYTON, JOHN                         ADDRESS ON FILE
PAYTON, PARIS                        ADDRESS ON FILE
PAYTON, ROBERT                       ADDRESS ON FILE
PAYTON, RUDOLPH                      ADDRESS ON FILE
PAYTON, SANDRA                       ADDRESS ON FILE
PAYTON, TYLER                        ADDRESS ON FILE
PAZ GONZALEZ, DANIEL                 ADDRESS ON FILE
PAZ, ANDY                            ADDRESS ON FILE
PAZ, CARLOS                          ADDRESS ON FILE
PAZ, GERMAN                          ADDRESS ON FILE
PAZ, JOSE                            ADDRESS ON FILE
PAZDAN, BRIAN                        ADDRESS ON FILE
PAZDRO, CURT                         ADDRESS ON FILE
PAZDZIOCH, RICHARD                   ADDRESS ON FILE
PAZONA, RALPH                        ADDRESS ON FILE
PB 10 TRUCK LINE LLC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PB 1X LLC                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PB 33 CARGO INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PB CONSULTANTS INC                   PO BOX 37 BROADALBIN NY 12025
PB EXPRESS LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PB FREIGHTWAYS INC                   106 ALLERTON DR, 0 SCHAUMBURG IL 60194
PB LEINER                            7001 BRADY ST DAVENPORT IA 52806
PB TRANSPORTATION INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PB TRANSPORTATION LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PB WAY INC                           349 E 59TH ST HINSDALE IL 60521
PB X TRUCKLINE                       OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                     ANGELES CA 90074
PB02 TRANSPORT INC                   OR GREAT PLAINS TRANSPORTATION SVCS. INC PO BOX 4539 CAROL STREAM IL 60197
PB08 INC                             OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PB10 TRUCKING                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PB10 TRUCKING                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PB31 TRANSPORT LLC                   786 ALLEN WAY YUBA CITY CA 95993
PB32 TRUCKING INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PB36 TRUCKING LLC                    6649 S PRINCETON DR FRANKLIN WI 53132
PBA TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1462 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1471 of 2156

Claim Name                           Address Information
PBC CONSTRUCTION                     1200 HILLCREST SUITE 101 ORLANDO FL 32803
PBE LOGISTICS LLC                    OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
PBF TRUCKING                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PBJ EXPRESS INC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PBR TRANS INC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PBS ENGINEERING                      4412 S CORBETT PORTLAND OR 97239
PBX                                  8324 MEDEIROS WAY SACRAMENTO CA 95829
PBX CARRIERS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PBX TRUCK SERVICE INC                BOX 26 BLUMENORT MB R0A 0C0 CANADA
PC & C LOGISTICS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PC FREIGHT LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PC LOGISTICS GROUP INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
PCAOB                                PO BOX 418631 BOSTON MA 02241
PCC REFRIGERATED EXPRESS, INC.       OR CORPORATE BILLING, LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
PCD&P LLC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PCE FITNESS                          785 W 1700 S STE 3 SALT LAKE CITY UT 84104
PCL                                  OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
PCOLLINS VENTURES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PCS SURFACE DELIVERY                 9791 IRVINE CENTER DRIVE IRVINE CA 92618
PCTT INC                             OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
PD CONSULTING GROUP                  C/O PARIS DENNARD, 1221 S EADS ST 1009 ARLINGTON VA 22202
PDL TRUCKING INC                     7419 TOCCOA CIRCLE UNION CITY GA 30291
PDM TRANSPORTATION, INC.             16016 SLOVER AVE FONTANA CA 92337
PDP TRUCKING INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
PDQ LAWN SERVICE                     1775 E 85TH ST KANSAS CITY MO 64131
PDR LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PDS EXPRESS INC                      1070 SWANSON DR BATAVIA IL 60510
PDS EXPRESS TRANSPORT LLC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PDS FREIGHT SERVICES INC             230-79 ROCKAWAY BLVD DOOR 23 SPRINGFIELD GARDENS NY 11413
PDSTRUCKING LLC                      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
PDW ENTERPRISE                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PDX TRANS LLC                        23800 NE HOLLADAY ST WOOD VILLAGE OR 97060
PDX TRANSIT LLC                      PO BOX 410 CLACKAMAS OR 97015-0410
PE CARGO EXPRES LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PEA GROUP                            2430 ROCHESTER CT   SUITE 100 TROY MI 48083
PEA GROUP                            2430 ROCHESTER CT STE 100 TROY MI 48083-1872
PEA GROUP                            1849 POND RUN AUBURN HEIGHTS MI 48326
PEABODY, CHARLES                     ADDRESS ON FILE
PEABODY, TAMMY                       ADDRESS ON FILE
PEABUDYS INC.                        2900 POLO ROAD STERLING IL 61081
PEACE & TRUELIGHT LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
PEACE ARCH TRUCKING SERVICE INC      1685 H STREET UNIT 1091 1091 BLAINE WA 98230
PEACE EXPRESS INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PEACE TRANSPORT LLC                  1108 VINEWOOD RD LOUISVILLE KY KY 40219
PEACE TRUCKING LLC                   1500 E COLLEGE WAY STE A PMB 450 MOUNT VERNON WA 98273
PEACE TRUCKING LLC (MC1315386)       OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
PEACEMAX LLC                         PO BOX 1100 RICHMOND TX 77406-0028
PEACH STATE TRUCK CENTERS            PO BOX 808 NORCROSS GA 30091



Epiq Corporate Restructuring, LLC                                                               Page 1463 OF 2145
                                           Yellow Corporation
                     Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1472 of 2156

Claim Name                          Address Information
PEACH STATE TRUCK SALES             D/B/A: PEACH STATE TRUCK CENTERS PO BOX 808 NORCROSS GA 30091
PEACH TREE TRANSPORTATION, LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PEACH TRUCKING LLC                  770 COUNTY LINE AUBURN RD STE A WINDER GA 30680
PEACH, GEORGE                       ADDRESS ON FILE
PEACH, RICKY                        ADDRESS ON FILE
PEACH, SCOTT                        ADDRESS ON FILE
PEACOCK, LINDA                      ADDRESS ON FILE
PEACOCK, MICHAEL                    ADDRESS ON FILE
PEACOCK, MICHAEL R                  ADDRESS ON FILE
PEACOCK, ZILPHIA                    ADDRESS ON FILE
PEAK FENCING INC                    3450 FILLMORE RIDGE HTS COLORADO SPRINGS CO 80907
PEAK PAINTING LLC                   ATTN: RACHEL HANCOCK 701 COUNTY ROAD 51 DIVIDE CO 80814
PEAK QUALITY TRUCKING INC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PEAK SUPPLY CHAIN SOLUTIONS, INC.   4603 ALLMOND AVE SUITE 2 LOUISVILLE KY 40209
PEAK TO PEAK TRUCK REPAIR INC       TOWING & RECOVERY, PO BOX 2825 SILVERTHORNE CO 80498
PEAK TRADING CORPORATION            ATTN: TERRI SCHNELL 1 TOMSONS RD UNIT 100 SAUGERTIES NY 12477
PEAK TRAILER GROUP                  PO BOX 268989 DEPT. 1078 OKLAHOMA CITY OK 73126
PEAK TRAILER GROUP                  P.O.BOX 207198 DALLAS TX 75320
PEAK, GREG                          ADDRESS ON FILE
PEAKE TRANSPORTATION SVCS LLC       OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
PEAPACK CAPITAL CORPORATION         500 HILLS DRIVE, PO BOX 700 BEDMINSTER NJ 07921
PEARCE DELIVERY AND LOGISTICS       OR VIVA CAPITAL FUNDING INC PO BOX 17548 EL PASO TX 79917
PEARCE, DARREL                      ADDRESS ON FILE
PEARCE, MICHAEL                     ADDRESS ON FILE
PEARCE, MIKE                        ADDRESS ON FILE
PEARL LENZEN                        ADDRESS ON FILE
PEARL LENZEN                        ADDRESS ON FILE
PEARL, CLIFFORD                     ADDRESS ON FILE
PEARL, CRAIG                        ADDRESS ON FILE
PEARL, MICHAEL                      ADDRESS ON FILE
PEARMON, GAIL                       ADDRESS ON FILE
PEARS, DEBRA                        ADDRESS ON FILE
PEARSON, ALAN                       ADDRESS ON FILE
PEARSON, APRIL                      ADDRESS ON FILE
PEARSON, BOBBY                      ADDRESS ON FILE
PEARSON, CHARLES                    ADDRESS ON FILE
PEARSON, DALLAS                     ADDRESS ON FILE
PEARSON, DAWAYNE                    ADDRESS ON FILE
PEARSON, HENRY                      ADDRESS ON FILE
PEARSON, JAY                        ADDRESS ON FILE
PEARSON, JEROME                     ADDRESS ON FILE
PEARSON, JERRY                      ADDRESS ON FILE
PEARSON, JOSEPH                     ADDRESS ON FILE
PEARSON, KIMBERLY                   ADDRESS ON FILE
PEARSON, MICHAEL                    ADDRESS ON FILE
PEARSON, MICHAEL                    ADDRESS ON FILE
PEARSON, RIAN                       ADDRESS ON FILE
PEARSON, ROBERT                     ADDRESS ON FILE
PEARSON, SCOTT                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1464 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1473 of 2156

Claim Name                              Address Information
PEARSON, SCOTT                          ADDRESS ON FILE
PEARSON, SHAWN                          ADDRESS ON FILE
PEART, BARRY                            ADDRESS ON FILE
PEARY, RYAN                             ADDRESS ON FILE
PEASANT, LASHAUNDA                      ADDRESS ON FILE
PEASE, CASEY                            ADDRESS ON FILE
PEASE, JAMARI                           ADDRESS ON FILE
PEASE, THOMAS                           ADDRESS ON FILE
PEASLEE, CLAYTON                        ADDRESS ON FILE
PEAUSEIDON                              CP 34009 GALERIES LACHINE LACHINE QC H8S 4H4 CANADA
PEAVEY, DARREL                          ADDRESS ON FILE
PEAVEY, DARREL                          ADDRESS ON FILE
PEAY, RICKEY                            ADDRESS ON FILE
PEC, JOSEPH                             ADDRESS ON FILE
PECHAL, DOUGLAS                         ADDRESS ON FILE
PECHO, JASON                            ADDRESS ON FILE
PECK, ALLEN                             ADDRESS ON FILE
PECK, CECIL                             ADDRESS ON FILE
PECK, DAVID                             ADDRESS ON FILE
PECK, DAVID S                           ADDRESS ON FILE
PECK, SCOTT                             ADDRESS ON FILE
PECK, TREY                              ADDRESS ON FILE
PECKA, GEORGE                           ADDRESS ON FILE
PECKA, MELVIN W                         ADDRESS ON FILE
PECKHAM LANDSCAPING & EXCAVATING        6551 LAKE RD WINDSOR WI 53598
PECO                                    830 SCHUYLKILL AVE, PHILADELPHIA PA 19146
PECO ENERGY                             2301 MARKET ST PHILADELPHIA PA 19103
PECO PAYMENT PROCESSING                 2301 MARKET ST PHILADELPHIA PA 19103
PECOR, KEVIN                            ADDRESS ON FILE
PEDAL TO THE METAL TRANSPORTATION LLC   OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
PEDEN, DEANGELO                         ADDRESS ON FILE
PEDEN, JEFF                             ADDRESS ON FILE
PEDEN, STEVEN                           ADDRESS ON FILE
PEDERSEN, DANIEL                        ADDRESS ON FILE
PEDERSEN, JIM                           ADDRESS ON FILE
PEDERSEN, ROY                           ADDRESS ON FILE
PEDERSON, ALDEN                         ADDRESS ON FILE
PEDERSON, CODY                          ADDRESS ON FILE
PEDERSON, JODIE                         ADDRESS ON FILE
PEDIGO, DAVID                           ADDRESS ON FILE
PEDRAZA TRUCKING, LLC                   599 FREEDOM DR NAPOLEON OH 43545
PEDRAZA, FAUSTINO                       ADDRESS ON FILE
PEDRAZA, ROGER                          ADDRESS ON FILE
PEDRAZA, WILLIAM                        ADDRESS ON FILE
PEDREGON, MYRA                          ADDRESS ON FILE
PEDRICK, JENNIFER                       ADDRESS ON FILE
PEDRO CARDENAS                          ADDRESS ON FILE
PEDRO F GOMEZ SACA                      ADDRESS ON FILE
PEDRO PAU TRANSPORTATION LLC            OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222



Epiq Corporate Restructuring, LLC                                                                Page 1465 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1474 of 2156

Claim Name                               Address Information
PEDRO PEREZ                              ADDRESS ON FILE
PEDRO T VILLANUEVA                       ADDRESS ON FILE
PEDRO TORRES-SEGUI                       ADDRESS ON FILE
PEDROSA QUINONES, JOEL                   ADDRESS ON FILE
PEDROZA AND ALEMAN TRUCKING LLC          OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
PEDROZA, DANIA                           ADDRESS ON FILE
PEDROZA, JUAN                            ADDRESS ON FILE
PEDROZA, ORLANDO                         ADDRESS ON FILE
PEDRUS, PATRICK R                        ADDRESS ON FILE
PEEBLES, PAUL                            ADDRESS ON FILE
PEEBLISS INTEGRATED SVCS LLC             OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
PEED, THOMAS                             ADDRESS ON FILE
PEEDIN, EDWARD                           ADDRESS ON FILE
PEEK, BRADLEY                            ADDRESS ON FILE
PEEK-O-BOO                               11455 E 13 MILE RD STE 202 WARREN MI 48093
PEEK-O-BOO                               27701 GAIL WARREN MI 48093
PEELER, KORTEVIA                         ADDRESS ON FILE
PEEPLES, QUEENA                          ADDRESS ON FILE
PEEPS TRANSPORTATION INC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PEER, COURTNEY                           ADDRESS ON FILE
PEER, TOM                                ADDRESS ON FILE
PEERBOLTS INC.                           400 E. WASHINGTON ZEELAND MI 49464
PEERLESS CHAIN                           PO BOX 949 CLACKAMAS OR 97015
PEERLESS CHAIN COMPANY                   MBM LOGISTICS, 4950 SERVICE DR WINONA MN 55987
PEERLESS PREMIER APPLIANCE CO            ATTN: JULIE CALDWELL 350 MOSS DR CLINTON KY 42031
PEERY, SCOTT                             ADDRESS ON FILE
PEERY, STEWART                           ADDRESS ON FILE
PEETS COFFEE & TEA                       1400 PARK AVE EMERYVILLE CA 94608
PEETS COFFEE & TEA ENVISTA               1400 PARK AVE, STE 300 EMERYVILL CA 94608
PEETZ, PATRICK                           ADDRESS ON FILE
PEFFLEY & HINSHAW WRECKER SERVICE INC    3030 4TH AVE TERRE HAUTE IN 47802
PEGASO FLATBED EXPRESS LLC               OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
PEGASO TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PEGASUS FREIGHT EXPRESS LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PEGASUS GLOBAL LOGISTICS INC             OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PEGASUS LOGISTICS LLC                    OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                         ANGELES CA 90074
PEGASUS MEDICAL CONCEPTS                 ATTN: HECTOR QUIJANO 905 E ROSE ST LAKELAND FL 33801
PEGASUS TRANS LINK INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PEGASUS WORLDWIDE LOGISTICS              CTS NVOCC & FRT FORWARDERS PO BOX 441326 KENNESAW GA 30160
PEGEESE, DANELL                          ADDRESS ON FILE
PEGGY ANN WRECKER & REPAIR SERVICE INC   703 S GATEWAY BLVD ROCKWOOD TN 37854
PEGGY L ARNOLD                           ADDRESS ON FILE
PEGRA TRANSPORT LLC                      OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189
PEGU, HOPESON BERNAR                     ADDRESS ON FILE
PEGUERO, ALBERTO                         ADDRESS ON FILE
PEGUERO, YENCY                           ADDRESS ON FILE
PEGUERO, YENCY                           ADDRESS ON FILE
PEGUES, EDWARD                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1466 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1475 of 2156

Claim Name                           Address Information
PEGULA, MATTHEW                      ADDRESS ON FILE
PEHLER & SONS, INC.                  P. O. BOX 335 ARCADIA WI 54612
PEI, INC.                            598 RED OAK ROAD STOCKBRIDGE GA 30281
PEIFFER, BRIAN                       ADDRESS ON FILE
PEIGE TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PEIL, AARON                          ADDRESS ON FILE
PEINE, LINDA                         ADDRESS ON FILE
PEIZ TRUCKING CO                     7575 POWER INN RD APT 41 SACRAMENTO CA 95828
PEKIPAKI, TINA                       ADDRESS ON FILE
PEKOWSKI, ROBERT M                   ADDRESS ON FILE
PELA, LAWRENCE                       ADDRESS ON FILE
PELAEZ LLC                           OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
PELAGIO, LEONARD                     ADDRESS ON FILE
PELARIUM TRANSPORTATION INC          325 SANDY RIDGE RD DUNN NC 28334-8825
PELAYO, JOSE                         ADDRESS ON FILE
PELAYO, JOSE L                       ADDRESS ON FILE
PELAYO, LUIS                         ADDRESS ON FILE
PELE, LUISA                          ADDRESS ON FILE
PELEOWO, MONSURU                     ADDRESS ON FILE
PELESCHAK, JOHN                      ADDRESS ON FILE
PELESHUCK, NICOLE                    ADDRESS ON FILE
PELICAN HAULING AND TRANSPORT LLC    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PELICAN PRODUCTS INC                 ATTN: JENNIFER SPENCER UBER FREIGHT PO BOX 518 LOWELL AR 72745
PELICO TRUCKING                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PELK TRANSPORTATION LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PELKE, RONALD                        ADDRESS ON FILE
PELL, MELISSA                        ADDRESS ON FILE
PELLBAS TRANSPORTATION CORP          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PELLERIN, BRADLEY                    ADDRESS ON FILE
PELLETIER, MICHEAL                   ADDRESS ON FILE
PELLEY, CHAR                         ADDRESS ON FILE
PELLITIERI, CYNTHIA                  ADDRESS ON FILE
PELLOT, JULIUS                       ADDRESS ON FILE
PELLUM, BOBBY                        ADDRESS ON FILE
PELMORE, RONEESHA                    ADDRESS ON FILE
PELMYER, JAY                         ADDRESS ON FILE
PELOI, JAVASE                        ADDRESS ON FILE
PELOTON EXPRESS, INC.                13101 PRESTON RD 110 DALLAS TX 75240
PELOTON EXPRESS, INC.                OR COMMERCIAL FUNDING INC, PO BOX 207527 DALLAS TX 75320-7527
PELSETS MST INC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PELTIER, JAMES                       ADDRESS ON FILE
PELTIER, JOHNATHAN                   ADDRESS ON FILE
PELTON SHEPHERD IND                  ATTN: MELISSA BILBREY 4600 FREDERICK DR SW ATLANTA GA 30336
PELTON, DAWAYNE A                    ADDRESS ON FILE
PELTON, RICHARD                      ADDRESS ON FILE
PELUSIO, DALTON                      ADDRESS ON FILE
PELUSIO, JOSEPH                      ADDRESS ON FILE
PELZ, MICHAEL                        ADDRESS ON FILE
PELZ, RICK                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1467 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1476 of 2156

Claim Name                           Address Information
PEMBA, VIGNOLA                       ADDRESS ON FILE
PEMBA, VIGNOLA                       ADDRESS ON FILE
PEMBERTON, MELVIN                    ADDRESS ON FILE
PEMBERTON, REBECCA                   ADDRESS ON FILE
PEMBERTON, SHANE                     ADDRESS ON FILE
PEMBERTON-DAVIS ELECTRIC INC         PO BOX 1034 MISHAWAKA IN 46546
PEMBROOK, TROY                       ADDRESS ON FILE
PEMCO SERVICES                       1040 E SECOND ST GILMAN IL 60938
PEN, JONATHAN                        ADDRESS ON FILE
PENA JR, ISRAEL                      ADDRESS ON FILE
PENA TOVAR, SALVADOR                 ADDRESS ON FILE
PENA, BERNARDO                       ADDRESS ON FILE
PENA, CANDELARIO                     ADDRESS ON FILE
PENA, CARLOS                         ADDRESS ON FILE
PENA, DIOMEDES                       ADDRESS ON FILE
PENA, ELEAZAR                        ADDRESS ON FILE
PENA, FELIX                          ADDRESS ON FILE
PENA, GERMAN                         ADDRESS ON FILE
PENA, ISRAEL                         ADDRESS ON FILE
PENA, JOEL                           ADDRESS ON FILE
PENA, JORGE                          ADDRESS ON FILE
PENA, LINDA                          ADDRESS ON FILE
PENA, RAYMOND                        ADDRESS ON FILE
PENA, SALOMON                        ADDRESS ON FILE
PENA, TOVAR                          ADDRESS ON FILE
PENA, YABRIEL                        ADDRESS ON FILE
PENA, YANETTE                        ADDRESS ON FILE
PENA-BRACAMONTES, CARLOS             ADDRESS ON FILE
PENALO, JOHAN                        ADDRESS ON FILE
PENBERTHY, MICHAEL                   ADDRESS ON FILE
PENCE, BILLY                         ADDRESS ON FILE
PENCE, DONNA                         ADDRESS ON FILE
PENCE, MICHAEL                       ADDRESS ON FILE
PENCEK, CALEB                        ADDRESS ON FILE
PENCEK, NICHOLAS                     ADDRESS ON FILE
PENCO TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
PENDA CORPORATION                    ATTN: JAKE MCKEVITT 29145 NETWORK PLACE CHICAGO IL 60673
PENDA CORPORATION                    ATTN: MCCAFFERY PINTAR 29145 NETWORK PLACE CHICAGO IL 60673
PENDELTON, QUINN A                   ADDRESS ON FILE
PENDER, KERI                         ADDRESS ON FILE
PENDER, TED                          ADDRESS ON FILE
PENDERGAST, ROB                      ADDRESS ON FILE
PENDERGRAFT, ERIC                    ADDRESS ON FILE
PENDERGRAFT, TERRY                   ADDRESS ON FILE
PENDLETON, CHARLES                   ADDRESS ON FILE
PENDLETON, PETE                      ADDRESS ON FILE
PENDLEY, GARRETT                     ADDRESS ON FILE
PENDO.IO INC                         PO BOX 734650 DALLAS TX 75373
PENDRAK, RONALD                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1468 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1477 of 2156

Claim Name                          Address Information
PENDTRANSPORT LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PENELEC                             C/O FIRSTENERGY CORP 76 S MAIN ST AKRON OH 44308
PENETONE CORP                       ATTN: GEORGE TIMEK PO BOX 552 MILFORD NJ 08848
PENEUETA, LARRY                     ADDRESS ON FILE
PENEV, VASIL                        ADDRESS ON FILE
PENFIELD, GREGORY                   ADDRESS ON FILE
PENG, RUI                           ADDRESS ON FILE
PENG, RUI                           ADDRESS ON FILE
PENGE, RYAN                         ADDRESS ON FILE
PENHALE, MICHAEL                    ADDRESS ON FILE
PENICK, JAMES                       ADDRESS ON FILE
PENICK, JON                         ADDRESS ON FILE
PENINSULA TRUCK LINES               33455 6TH AVE S, STE 2A FEDERAL WAY WA 98003
PENITANI MOA                        ADDRESS ON FILE
PENLAND, JOHN                       ADDRESS ON FILE
PENLEY, JERRY                       ADDRESS ON FILE
PENMAN, DALE                        ADDRESS ON FILE
PENMARK TRANSPORTATION INC          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PENN CENTRAL DOOR LLC               PO BOX 404 DU BOIS PA 15801
PENN EAGLE TRUCKING LLC             882 S MATLACK ST STE H WEST CHESTER PA 19382
PENN FAB                            C/O: LAW OFFICE OF THOMAS P. PFENDER ATTN: THOMAS P. PFENDER 3143 KNIGHTS ROAD
                                    BENSALEM PA 19020
PENN FAB                            ATTN: GENERAL COUNSEL 20 STEEL ROAD SOUTH MORRISVILLE PA 19067
PENN METAL STAMPING                 ATTN: MARY RICHARDSON 130 SUNSET RD KERSEY PA 15846
PENN POWER GROUP                    8330 STATE ROAD PHILADELPHIA PA 19136
PENN POWER GROUP                    PO BOX 829798 PHILADELPHIA PA 19182
PENN POWER GROUP                    PO BOX 829798 PHILADELPHIA PA 19182-9798
PENN STAINLESS PROD                 190 KELLY ROAD QUAKERTOWN PA 18951
PENN STATE LOGISTICS INC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PENN TRUCKING WAREHOUSE             2147 S COLUMBUS BLVD PHILADELPHIA PA 19148
PENN, APRIL                         ADDRESS ON FILE
PENN, DAJUAN                        ADDRESS ON FILE
PENNA, MARILYN                      ADDRESS ON FILE
PENNDOT                             2140 HERR STREET HARRISBURG PA 17103
PENNEL, CHARLES                     ADDRESS ON FILE
PENNELL, LARRY                      ADDRESS ON FILE
PENNELL, RANDALL                    ADDRESS ON FILE
PENNELLA, DAVE                      ADDRESS ON FILE
PENNER INTERNATIONAL INC            2091 BROOKSIDE BLVD STONY MOUNTAIN MB R0C 3A0 CANADA
PENNER INTERNATIONAL INC            20 PTH 12 N STEINBACH MB R5G 1B7 CANADA
PENNER, ANDREW                      ADDRESS ON FILE
PENNER, MICHAEL                     ADDRESS ON FILE
PENNEY, CIERRA                      ADDRESS ON FILE
PENNEY, NHOT                        ADDRESS ON FILE
PENNICOOKE, GERALD                  ADDRESS ON FILE
PENNING PLUMBING & HEATING INC      584 44TH ST SE GRAND RAPIDS MI 49548
PENNING, TERESA                     ADDRESS ON FILE
PENNINGTON COUNTY                   130 KANSAS CITY ST SUITE 250 RAPID CITY SD 57701
PENNINGTON, DAVID                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1469 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1478 of 2156

Claim Name                             Address Information
PENNINGTON, ISAIAH                     ADDRESS ON FILE
PENNINGTON, KEITH                      ADDRESS ON FILE
PENNINGTON, KEITH                      ADDRESS ON FILE
PENNINGTON, PAULA                      ADDRESS ON FILE
PENNINGTON, RONNIE                     ADDRESS ON FILE
PENNINGTON, SCOTT                      ADDRESS ON FILE
PENNINGTON, SEAN                       ADDRESS ON FILE
PENNINGTON, YVONNE                     ADDRESS ON FILE
PENNS CATERING INC                     1183 OLD FANNIN RD BRANDON MS 39047
PENNSY CORP (SCHUBERT PLASTICS         ATTN: SUZANNE TAYLOR 245 LUNGREN RD LENNI PA 19052
PENNSYLVANIA AMERICAN WATER            852 WESLEY DR MECHANICSBURG PA 17055
PENNSYLVANIA DEPARTMENT OF REVENUE     PO BOX 280910 HARRISBURG PA 17128
PENNSYLVANIA MOTOR TRUCK ASSOCIATION   910 LINDA LANE CAMP HILL PA 17011
PENNWEST INDUSTRIAL TRUCKS, LLC        168 WESTEC DR MOUNT PLEASANT PA 15666
PENNWEST INDUSTRIAL TRUCKS, LLC        DBA PENNWEST TOYOTA LIFT 168 WESTEC DRIVE MOUNT PLEASANT PA 15666
PENNY POWER INC                        2330 WEBSTER ST 602 OAKLAND CA 94612
PENNY, CRAIG                           ADDRESS ON FILE
PENNY, ROBERT                          ADDRESS ON FILE
PENNY, ROBERT                          ADDRESS ON FILE
PENNYBACKER, PRESTON                   ADDRESS ON FILE
PENNYBAKER, STEVE                      ADDRESS ON FILE
PENROSE WATER DEPT.                    210 BROADWAY PENROSE CO 81240
PENROSE WATER DISTRICT                 210 BROADWAY PENROSE CO 81240-9009
PENROSE, JAMES                         ADDRESS ON FILE
PENSACOLA RUBBER ANDGASKET             4312 N. PALAFOX ST. PENSACOLA FL 32505
PENSION ACCOUNT NO. 134                UNION NATIONAL BANK OF ELGIN 101 E. CHICAGO ST. ELGIN IL 60120-6466
PENSION BENEFIT GUARANTY CORPORATION   PATRICIA KELLY, CHIEF FINANCIAL OFFICER 1200 K STREET, NW WASHINGTON DC 20015
PENSION FUND LOCAL 445                 15 STONE CASTLE ROAD ROCK TAVERN NY 12575
PENSKE                                 ATTN: GENERAL COUNSEL 2675 MORGANTOWN ROAD READING PA 19607
PENSKE                                 436 RIVERSIDE AVE ATTN ELIZABETH KELLA MEDFORD MA 02155
PENSKE                                 2470 WESTBELT DR COLUM OH 43228
PENSKE                                 2555 TELEGRAPH RD BLOOMFIELD HILLS 48302
PENSKE RENTAL TRUCK                    2675 MORGANTOWN RD READING 19607
PENSKE TRUCK LEASING                   P.O. BOX 827380 PHILADELPHIA PA 19182
PENSKE TRUCK LEASING                   BRIAN HARD, PRESIDENT & CEO ROUTE 10 GREEN HILLS READING PA 19603
PENSKE TRUCK LEASING                   2675 MORGANTOWN RD READING PA 19607
PENSKE TRUCK LEASING                   PO BOX 7429 PASADENA CA 91109
PENSKE TRUCK LEASING                   53 MORRISON AVE ATTN JOSHUA BONNINGTON SACRAMENTO CA 95838
PENSKE TRUCK LEASING CANADA INC        PO BOX 7476 STATION A TORONTO ON M5W 3C1 CANADA
PENSKE TRUCK LEASING CANADA INC        P.O. BOX 223 POSTAL STATION M CALGARY AB T2P 2H6 CANADA
PENSKE TRUCK LEASING CO L P            P.O. BOX 7476 TORONTO ON M5W 3C1 CANADA
PENSKE TRUCK LEASING CO L P            P.O. BOX 223 POSTAL STATION M CALGARY AB T2P 2H6 CANADA
PENSKE TRUCK LEASING CO L P            PO BOX 827380 PHILADELPHIA PA 19182
PENSKE TRUCK LEASING CO L P            P.O. BOX 827380 PHILADELPHIA PA 19182-7380
PENSKE TRUCK LEASING CO L P            PO BOX 532658 ATLANTA GA 30353
PENSKE TRUCK LEASING CO L P            PO BOX 802577 CHICAGO IL 60680
PENSKE TRUCK LEASING CO L P            PO BOX 802577 CHICAGO IL 60680-2577
PENSKE TRUCK LEASING CO L P            PO BOX 7429 PASADENA CA 91110
PENSKE TRUCK LEASING CO, LP            P.O. BOX 11325 STATION CENTRE MONTREAL QC H3C 5H1 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 1470 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1479 of 2156

Claim Name                            Address Information
PENSKE TRUCK LEASING CO, LP           2675 MORGANTOWN RD, PO BOX 1321 READING PA 19607
PENSKE TRUCK LEASING CO, LP           333 COLFAX ST ROCHESTER NY 14606
PENSKE TRUCK LEASING CO., L.P.        10067 S HARLEM AVE CHICAGO RIDGE IL 60415
PENSON, CHRISTOPHER                   ADDRESS ON FILE
PENTA INTERNATIONAL CORPORATIO        ATTN: DEVIN REESE ACCOUNTS PAYABLE 50 OKNER PKWY LIVINGSTON NJ 07039
PENTAGON LOGISTICS INC                7045 MILLCREEK DRIVE MISSISSAUGA ON L5N 3R3 CANADA
PENTAIR                               WILLIAMS & ASSOCIATES, 405 E 78TH ST BLOOMINGTON MN 55420
PENTAIR                               405 EAST 78TH STREET BLOOMINGTON MN 55420-1251
PENTAIR                               WILLIAMS & ASSOCIATES INC 405 E 78TH ST BLOOMINGTON MN 55420-1251
PENTAPOLIS FORWARDING INC             8410 TEJAS LOOP STE 100 LAREDO TX 78045
PENTTA TRADING INTERNATIONAL LLC      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
PENTZ, ROLAND                         ADDRESS ON FILE
PENTZ, ROLAND                         ADDRESS ON FILE
PENUELAZ, JOHN                        ADDRESS ON FILE
PEOPLEREADY INC.                      P.O. BOX 820145 PHILADELPHIA PA 19182-0145
PEOPLES                               8100 W SAHARA AVE, STE 200 LAS VEGAS NV 89117
PEOPLES CAPITAL AND LEASING CORP      850 MAIN ST BC03/RC871 BRIDGEPORT CT 06604
PEOPLES UNITED BANK NA                850 MAIN ST BRIDGEPORT CT 06604
PEOPLES, ANTHONY                      ADDRESS ON FILE
PEOPLES, BRIAN                        ADDRESS ON FILE
PEOPLES, TROY                         ADDRESS ON FILE
PEOPLES, WILLIAM                      ADDRESS ON FILE
PEORIA DRYWALL AND PAINTING           5414 N JAMES RD PEORIA IL 61615
PEOSTA WAREHOUSING, INC.              PO BOX 51 PEOSTA IA 52068
PEPE, PHILIP G                        ADDRESS ON FILE
PEPIC, SVETO                          ADDRESS ON FILE
PEPPARD, HEATHER                      ADDRESS ON FILE
PEPPER, ALIKA                         ADDRESS ON FILE
PEPPER, MICHAEL                       ADDRESS ON FILE
PEPPERMILL CASINOS,INC.               ATTN: RISK MGMT. DEPT. 380 BRINKBY AVE STE B RENO NV 89509-4349
PEPPIATT, GARRETT                     ADDRESS ON FILE
PEPPLER, JOSEPH                       ADDRESS ON FILE
PEPSI                                 ATTN: ANGELIC LIVINGSTON TRANSPORTATION INSIGHT 310 MAIN AVE WAY SE HICKORY NC
                                      28602
PEPSI BEVERAGES COMPANY               CASS INFORMATION SYSTEMS, PO BOX 17608 SAINT LOUIS MO 63178
PEPSI BEVERAGES COMPANY               PO BOX 17666 SAINT LOUIS MO 63178
PEPSICO                               CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
PEPSICO                               RWMS 29857 NETWORK PLACE CHICAGO IL 60673
PEPSICO CLAIMS                        C/O CASS INFORMATION SYSTEMS PO BOX 17600 SAINT LOUIS MO 63178
PER MAR SECURITY SERVICES             PO BOX 1101 DAVENPORT IA 52805
PERA, KIMBERLY                        ADDRESS ON FILE
PERA, KIMBERLY J                      ADDRESS ON FILE
PERALES BROTHERS TRANSPORTATION INC   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PERALES, ALFREDO                      ADDRESS ON FILE
PERALES, ISIDRO                       ADDRESS ON FILE
PERALES, NOE                          ADDRESS ON FILE
PERALTA LOGISTICS INC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PERALTA, DARWIN                       ADDRESS ON FILE
PERALTA, JOSE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1471 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1480 of 2156

Claim Name                              Address Information
PERALTA, PEDRO                          ADDRESS ON FILE
PERAY, IRENA                            ADDRESS ON FILE
PERAZA, ARLENE                          ADDRESS ON FILE
PERCHATKIN, OLEG                        ADDRESS ON FILE
PERCHEVITCH, TOM                        ADDRESS ON FILE
PERCIFULL, ERICA R                      ADDRESS ON FILE
PERCY EXPRESS LOGISTIC INC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PERCY TRANSPORTATION INC                1600 GOLF RD, SUITE 1200 ROLLING MEADOWS IL 60008
PERCY, ANGIE                            ADDRESS ON FILE
PERDIGON LLC                            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PERDOMO-PAZ, DIEGO                      ADDRESS ON FILE
PEREA, RICHARD                          ADDRESS ON FILE
PEREGRINE LOGISTICS LLC                 697 SOMERSET AVE 60 W MEDINAH CIRCLE UNIT 205 WEST DUNDEE IL 60118
PEREIRA INDUSTRIAL CONSTRUCTION         & MAINTENANCE INC 15355 W GRANT LINE RD TRACY CA 95304
PEREIRA TRUCKING INC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
PEREIRA, CAROL                          ADDRESS ON FILE
PEREIRA, DANIEL                         ADDRESS ON FILE
PEREIRA, JONATHAN                       ADDRESS ON FILE
PEREIRA, MARCIO                         ADDRESS ON FILE
PEREIRA, RUSSELL                        ADDRESS ON FILE
PEREMSKY ENTERPRISES LLC                OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PERESCHUK, LARRY                        ADDRESS ON FILE
PEREZ & RAMOS LOGISTICS LLC             OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
PEREZ CARIAS, MIGUEL A                  ADDRESS ON FILE
PEREZ CARRILLO, JORGE                   ADDRESS ON FILE
PEREZ EXPRESS, LLC                      3386 ELM ST 4 HUBBARD OR 97032
PEREZ INVESTMENTS GROUP LTD LIABILITY   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
CO
PEREZ MENDEZ, MIGUEL                    ADDRESS ON FILE
PEREZ NIEVES, ELIEZER                   ADDRESS ON FILE
PEREZ ORTIZ, MIGUEL                     ADDRESS ON FILE
PEREZ SORDO, YAINIER                    ADDRESS ON FILE
PEREZ TINOCO, MATEO                     ADDRESS ON FILE
PEREZ TRUCKING                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PEREZ, AARON                            ADDRESS ON FILE
PEREZ, ABRAHAM                          ADDRESS ON FILE
PEREZ, ADORFO                           ADDRESS ON FILE
PEREZ, ALVARO                           ADDRESS ON FILE
PEREZ, ANDREW                           ADDRESS ON FILE
PEREZ, ANGEL                            ADDRESS ON FILE
PEREZ, ANGEL                            ADDRESS ON FILE
PEREZ, ANTHONY                          ADDRESS ON FILE
PEREZ, ANTHONY                          ADDRESS ON FILE
PEREZ, ANTONIO                          ADDRESS ON FILE
PEREZ, APOLONIO                         ADDRESS ON FILE
PEREZ, ARMANDO                          ADDRESS ON FILE
PEREZ, ARMANDO                          ADDRESS ON FILE
PEREZ, ARMANDO                          ADDRESS ON FILE
PEREZ, ARTURO                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1472 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1481 of 2156

Claim Name                       Address Information
PEREZ, ASHLY                     ADDRESS ON FILE
PEREZ, ASHLY                     ADDRESS ON FILE
PEREZ, BEATRICE                  ADDRESS ON FILE
PEREZ, BERTHA                    ADDRESS ON FILE
PEREZ, CARLOS                    ADDRESS ON FILE
PEREZ, CARLOS I                  ADDRESS ON FILE
PEREZ, CARMEN                    ADDRESS ON FILE
PEREZ, CATHY                     ADDRESS ON FILE
PEREZ, CESAR                     ADDRESS ON FILE
PEREZ, DARIEL                    ADDRESS ON FILE
PEREZ, DAVID                     ADDRESS ON FILE
PEREZ, DEBORA                    ADDRESS ON FILE
PEREZ, EDUARDO                   ADDRESS ON FILE
PEREZ, EDWARD                    ADDRESS ON FILE
PEREZ, EDWIN                     ADDRESS ON FILE
PEREZ, ERIC                      ADDRESS ON FILE
PEREZ, ESTEBAN                   ADDRESS ON FILE
PEREZ, FRANCISCO                 ADDRESS ON FILE
PEREZ, FRANK                     ADDRESS ON FILE
PEREZ, FRANK                     ADDRESS ON FILE
PEREZ, GODO                      ADDRESS ON FILE
PEREZ, HECTOR                    ADDRESS ON FILE
PEREZ, HELEN                     ADDRESS ON FILE
PEREZ, ISRAEL                    ADDRESS ON FILE
PEREZ, ISRAEL                    ADDRESS ON FILE
PEREZ, JAMES                     ADDRESS ON FILE
PEREZ, JESSE                     ADDRESS ON FILE
PEREZ, JESSENIA                  ADDRESS ON FILE
PEREZ, JESSICA                   ADDRESS ON FILE
PEREZ, JESUS                     ADDRESS ON FILE
PEREZ, JOANNE                    ADDRESS ON FILE
PEREZ, JOHN                      ADDRESS ON FILE
PEREZ, JOHN                      ADDRESS ON FILE
PEREZ, JOHNNY                    ADDRESS ON FILE
PEREZ, JORDAN                    ADDRESS ON FILE
PEREZ, JORGE                     ADDRESS ON FILE
PEREZ, JOSE                      ADDRESS ON FILE
PEREZ, JOSE                      ADDRESS ON FILE
PEREZ, JOSE                      ADDRESS ON FILE
PEREZ, JOSE B.                   ADDRESS ON FILE
PEREZ, JOSE B.                   ADDRESS ON FILE
PEREZ, JOSEPH                    ADDRESS ON FILE
PEREZ, JUAN A                    ADDRESS ON FILE
PEREZ, JULIAN                    ADDRESS ON FILE
PEREZ, JULIUS                    ADDRESS ON FILE
PEREZ, KEVIN                     ADDRESS ON FILE
PEREZ, KYLER                     ADDRESS ON FILE
PEREZ, LAWRENCE                  ADDRESS ON FILE
PEREZ, LAZARO                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1473 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1482 of 2156

Claim Name                             Address Information
PEREZ, LEONARDO                        ADDRESS ON FILE
PEREZ, LUIS                            ADDRESS ON FILE
PEREZ, MARCELINO                       ADDRESS ON FILE
PEREZ, MICHAEL                         ADDRESS ON FILE
PEREZ, MIGUEL                          ADDRESS ON FILE
PEREZ, MIGUEL                          ADDRESS ON FILE
PEREZ, NELSON                          ADDRESS ON FILE
PEREZ, NELSON                          ADDRESS ON FILE
PEREZ, NICHOLAS C                      ADDRESS ON FILE
PEREZ, NOEL                            ADDRESS ON FILE
PEREZ, OCTAVIO                         ADDRESS ON FILE
PEREZ, OTONIEL                         ADDRESS ON FILE
PEREZ, PATRICK                         ADDRESS ON FILE
PEREZ, PAUL                            ADDRESS ON FILE
PEREZ, RAFAEL                          ADDRESS ON FILE
PEREZ, RAYMOND                         ADDRESS ON FILE
PEREZ, RICHARD                         ADDRESS ON FILE
PEREZ, ROBERT                          ADDRESS ON FILE
PEREZ, ROGERIO                         ADDRESS ON FILE
PEREZ, RUDY                            ADDRESS ON FILE
PEREZ, SAMUEL                          ADDRESS ON FILE
PEREZ, SAMUEL                          ADDRESS ON FILE
PEREZ, SERGIO                          ADDRESS ON FILE
PEREZ, TRINA                           ADDRESS ON FILE
PEREZ, WILFRED                         ADDRESS ON FILE
PEREZ, YHUNIER                         ADDRESS ON FILE
PEREZ-CEDANO, AMAURY                   ADDRESS ON FILE
PEREZ-GRAJEDA, JOSE                    ADDRESS ON FILE
PEREZ-HERNANDEZ, FEDERICO              ADDRESS ON FILE
PEREZ-MEJIA, MARCELO                   ADDRESS ON FILE
PEREZ-ORTIZ, YURITSI                   ADDRESS ON FILE
PEREZ-VALENCIA, LEXINGTON              ADDRESS ON FILE
PEREZ-VENTURA, MOISES                  ADDRESS ON FILE
PEREZCHICA, ERNESTO                    ADDRESS ON FILE
PERFECT TIMING SVCS LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PERFECT TIMING TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
PERFECT TRANSPORT INC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
PERFECT TRANSPORTATION, LLC            OR PERFECT TRANSPORTATION 450 WEST 16TH PLACE INDIANAPOLIS IN 46202
PERFECTA EXPRESS INC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PERFECTED CARE TRANSPORT & LOGISTICS   OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
LLC
PERFECTED DRIVING LLC                  C/O DWIGHT WRIGHT 2097 PIERCE WAY BUFORD GA 30519-2246
PERFECTING FREIGHT AND LOGISTICS LLC   OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
PERFECTION DOOR COMPANY INC            PO BOX 1498 STERLING CO 80751
PERFECTION HEATING & AIR               525 S BARKER AVE EVANSVILLE IN 47712
PERFICUT LAWN & LANDSCAPE INC          PO BOX 200477 DALLAS TX 75320
PERFICUT LAWN & LANDSCAPE INC.         PO BOX 918 ANKENY IA 50021
PERFITT, BRIAN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1474 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1483 of 2156

Claim Name                            Address Information
PERFORM TRANSPORT INC                 5601 S PADRE ISLAND CORPUS CHRISTI TX 78412
PERFORMANCE CARRIER INC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PERFORMANCE CARRIERS LLC              5 GOODYEAR LN BURLINGTON NJ 08016-3417
PERFORMANCE DELIVERS                  7168 VINE ST HIGHLAND CA 92346
PERFORMANCE DIESEL PARTS & SERVICE    2715 MARION DRIVE KENDALLVILLE IN 46755
PERFORMANCE DIESEL PARTS & SERVICE    628 UHL DRIVE KENDALLVILLE IN 46755
PERFORMANCE ENGINEERING               RACING ENGINES, INC 2176 CENTER INDUSTRIAL CT JENISON MI 49428
PERFORMANCE FIRE PROTECTION LTD.      950B TECUMSEH RD W WINDSOR ON N8X 2A8 CANADA
PERFORMANCE OFFICE PAPERS INC         21565 HAMBURG AVE LAKEVILLE MN 55044
PERFORMANCE PACKAGING INC             7850 BARNSBURY RD WEST BLOOMFIELD MI 48324
PERFORMANCE SYSTEMS INTEGRATION LLC   DBA FIRE KING OF SEATTLE INC. PO BOX 8528 PASADENA CA 91109
PERFORMANCE SYSTEMS INTEGRATION LLC   DBA FIRE KING OF SEATTLE INC. 240 S HOLDEN ST SEATTLE WA 98108
PERFORMANCE SYSTEMS INTEGRATION LLC   DBA FIRE KING OF SEATTLE INC. 12521 EVERGREEN DR STE C MUKILTEO WA 98275
PERFORMANCE TOWING                    1402 26TH ST SE WATERTOWN SD 57201
PERFORMANCE TRUCK                     ATTN: MISTY DELCAMBRE 1701 INTERSTATE 10 E BAYTOWN TX 77521
PERFORMANCE TRUCKING, INC.            OR MARQUETTE TRANPORTATION FINANCE PO BOX 1450 NW 7939 MINNEAPOLIS MN 55485
PERFORMANCE WATER PRODUCTS            6902 ARAGON CIR BUENA PARK CA 90620
PERGO                                 2000 PERGO PKWY. GARNER NC 27529
PERHAC, CHRISTOPH                     ADDRESS ON FILE
PERI A MARANDO                        ADDRESS ON FILE
PERIMETER SECURITY SYSTEMS            7501 BOULDER VIEW DR STE 103 RICHMOND VA 23225
PERIMETER TRANSPORTATION CO., LLC     5515 E HOLMES RD MEMPHIS TN 38118
PERINA TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PERINE, KADARRIUS                     ADDRESS ON FILE
PERINE, RANDY                         ADDRESS ON FILE
PERIO INC                             ATTN: LANCE MCMANUS 2011 FORD DR ASHLAND OH 44805
PERKINS, ANDREW                       ADDRESS ON FILE
PERKINS, ANTHONY                      ADDRESS ON FILE
PERKINS, AREATHYE                     ADDRESS ON FILE
PERKINS, BERKLEY                      ADDRESS ON FILE
PERKINS, CARL                         ADDRESS ON FILE
PERKINS, CHARLES                      ADDRESS ON FILE
PERKINS, CLAYTON                      ADDRESS ON FILE
PERKINS, CLIFTON                      ADDRESS ON FILE
PERKINS, COURTNEY                     ADDRESS ON FILE
PERKINS, DANIEL                       ADDRESS ON FILE
PERKINS, DANIEL L                     ADDRESS ON FILE
PERKINS, DEREK                        ADDRESS ON FILE
PERKINS, DESHAWN                      ADDRESS ON FILE
PERKINS, DEXTER                       ADDRESS ON FILE
PERKINS, DONNELL                      ADDRESS ON FILE
PERKINS, DOUGLAS                      ADDRESS ON FILE
PERKINS, EUGENE                       ADDRESS ON FILE
PERKINS, JACK                         ADDRESS ON FILE
PERKINS, JAMES                        ADDRESS ON FILE
PERKINS, JUSTIN                       ADDRESS ON FILE
PERKINS, KENDRICK                     ADDRESS ON FILE
PERKINS, MICHAEL                      ADDRESS ON FILE
PERKINS, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1475 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1484 of 2156

Claim Name                          Address Information
PERKINS, RASHEDAH N                 ADDRESS ON FILE
PERKINS, RAYSEAN                    ADDRESS ON FILE
PERKINS, RICHARD                    ADDRESS ON FILE
PERKINS, RICKEY                     ADDRESS ON FILE
PERKINS, RODERICK                   ADDRESS ON FILE
PERKINS, STEPHEN                    ADDRESS ON FILE
PERKINS, TAMISHA                    ADDRESS ON FILE
PERKINS, VICTOR                     ADDRESS ON FILE
PERKO, LUKE                         ADDRESS ON FILE
PERL, JAMES                         ADDRESS ON FILE
PERLINGER, DANIEL                   ADDRESS ON FILE
PERMATEX INC                        6875 PARKLAND BLVD SOLON OH 44139
PERNAS, NOEL                        ADDRESS ON FILE
PERNELL MURRAY                      ADDRESS ON FILE
PERNELL, JORDAN                     ADDRESS ON FILE
PERNELL, NATHANIEL                  ADDRESS ON FILE
PERO TRUCKING INC                   7940 DORSEY RUN RD JESSUP MD 20794
PERONE, NEIL                        ADDRESS ON FILE
PEROSKY, ANDREW S                   ADDRESS ON FILE
PERRELL, DALE                       ADDRESS ON FILE
PERRETT, CLAUD                      ADDRESS ON FILE
PERRETT, HENRY C                    ADDRESS ON FILE
PERRI LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PERRIEN, MAKAYLA                    ADDRESS ON FILE
PERRIMAN, KENNETH                   ADDRESS ON FILE
PERRIMAN, KENNETH                   ADDRESS ON FILE
PERRIN, CINDY                       ADDRESS ON FILE
PERRONE, CHARLES                    ADDRESS ON FILE
PERROTTA, ROBERTO                   ADDRESS ON FILE
PERRY BROTHERS TRANSPORTATION LLC   10664 VILLAGE CROSSING JONESBORO GA 30238
PERRY D NEVILLE                     ADDRESS ON FILE
PERRY NEVILLE                       ADDRESS ON FILE
PERRY TRANSPORTATION LLC            4504 BAYNE ST ROCKVILLE MD 20853
PERRY, ANTHONY                      ADDRESS ON FILE
PERRY, BRYON                        ADDRESS ON FILE
PERRY, CHAD                         ADDRESS ON FILE
PERRY, CHRISTOPHER                  ADDRESS ON FILE
PERRY, CLIFFORD                     ADDRESS ON FILE
PERRY, DALE                         ADDRESS ON FILE
PERRY, DAVID                        ADDRESS ON FILE
PERRY, DERRELL                      ADDRESS ON FILE
PERRY, DOMINICK                     ADDRESS ON FILE
PERRY, DOMINICK                     ADDRESS ON FILE
PERRY, DOUGLAS                      ADDRESS ON FILE
PERRY, DWAINE                       ADDRESS ON FILE
PERRY, EDSEL                        ADDRESS ON FILE
PERRY, ELMO                         ADDRESS ON FILE
PERRY, ETHAN                        ADDRESS ON FILE
PERRY, HARLEY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1476 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1485 of 2156

Claim Name                           Address Information
PERRY, HAYDEN                        ADDRESS ON FILE
PERRY, ISSAC                         ADDRESS ON FILE
PERRY, JACOLVA                       ADDRESS ON FILE
PERRY, JAMES                         ADDRESS ON FILE
PERRY, JOHN TODD                     ADDRESS ON FILE
PERRY, JUSTIN                        ADDRESS ON FILE
PERRY, KEIKO                         ADDRESS ON FILE
PERRY, LAMAR                         ADDRESS ON FILE
PERRY, LINDA C                       ADDRESS ON FILE
PERRY, MANCELLOUS                    ADDRESS ON FILE
PERRY, MARQUISE                      ADDRESS ON FILE
PERRY, MYRACA                        ADDRESS ON FILE
PERRY, PAUL                          ADDRESS ON FILE
PERRY, RANDY                         ADDRESS ON FILE
PERRY, RAYSHAWN                      ADDRESS ON FILE
PERRY, RICHARD                       ADDRESS ON FILE
PERRY, ROBERT                        ADDRESS ON FILE
PERRY, ROBERT                        ADDRESS ON FILE
PERRY, SCOTT J                       ADDRESS ON FILE
PERRY, STANLEY                       ADDRESS ON FILE
PERRY, STEPHEN                       ADDRESS ON FILE
PERRY, STEPHEN                       ADDRESS ON FILE
PERRY, STEPHEN                       ADDRESS ON FILE
PERRY, THOMAS                        ADDRESS ON FILE
PERRY, TODD                          ADDRESS ON FILE
PERRY, TOMICA                        ADDRESS ON FILE
PERRY, TRAVIS                        ADDRESS ON FILE
PERRY, TREY                          ADDRESS ON FILE
PERRY, WILLIAM THOMAS                ADDRESS ON FILE
PERRYDISE LLC                        824 SOUTHWOOD DR MURRAY UT 84107
PERRYMAN, JUSTIN                     ADDRESS ON FILE
PERRYMAN, NATHAN                     ADDRESS ON FILE
PERRYSBURG PLUMBING, HEATING         & AIR CONDITIONING LLC 1620 WATERS EDGE DR. PERRYSBURG OH 43551
PERSAUD, DAVE                        ADDRESS ON FILE
PERSAUD, DAVID                       ADDRESS ON FILE
PERSAUD, RICKY                       ADDRESS ON FILE
PERSHING (0443)                      ATT JOSEPH LAVARA/PROXY DEPT 1 PERSHING PLAZA JERSEY CITY NJ 07399
PERSIA TRANSPORTATION INC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PERSON, CEDRIC                       ADDRESS ON FILE
PERSON, RASHAD                       ADDRESS ON FILE
PERSON, RODNEY                       ADDRESS ON FILE
PERSONAL LOGISTICS LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PERSONNEL SAFETY ENTERPRISES, INC.   3716 N EAGLE MOUNTAIN DR FLAGSTAFF AZ 86004
PERU TRUCK & TIRE                    PO BOX 1293 PERU IN 46970
PERUCHO, GILBERTO                    ADDRESS ON FILE
PERUCHO, JANELYN                     ADDRESS ON FILE
PERUN LOGISTICS INC                  OR SUNBELT FINANCE LLC PO BOX 1000 DEPT 144 MEMPHIS TN 38148-0144
PERZEL, THOMAS                       ADDRESS ON FILE
PESCADOR, EMIL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1477 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1486 of 2156

Claim Name                               Address Information
PESCH, JASON                             ADDRESS ON FILE
PESCH, STEVEN                            ADDRESS ON FILE
PESEK, STEVEN                            ADDRESS ON FILE
PESEN, NEDIM                             ADDRESS ON FILE
PESEN, NEDIM                             ADDRESS ON FILE
PESINA, JEROME                           ADDRESS ON FILE
PESTMASTER SERVICES OF SIOUX FALLS       2003 N 4TH AVE SIOUX FALLS SD 57104
PESTMASTER SERVICES OF SIOUX FALLS       4712 S DUNLAP AVE SIOUX FALLS SD 57106
PETACK, MICHAEL                          ADDRESS ON FILE
PETANA LLC                               OR TBS FACTORING SVC LLC PO BOX 151052 OGDEN UT 84415
PETE E MURRAY                            ADDRESS ON FILE
PETE INSANA AUTO & TRUCK REPAIR TOWING   & CRANE SVC INC. 139-140 OHIO ST WASHINGTON PA 15301
PETE INSANA AUTO & TRUCK REPAIR TOWING   & CRANE SVC INC. REPAIR & TOWING INC, 139-140 OHIO ST WASHINGTON PA 15301
PETE RIECKE                              ADDRESS ON FILE
PETE, SHONDA                             ADDRESS ON FILE
PETER GUTIERREZ                          ADDRESS ON FILE
PETER HOERNER                            ADDRESS ON FILE
PETER J BERMAN                           ADDRESS ON FILE
PETER J GRENIER                          ADDRESS ON FILE
PETER J JACKSON                          ADDRESS ON FILE
PETER J JOHNSON                          ADDRESS ON FILE
PETER LUCHT                              ADDRESS ON FILE
PETER M MCKIBBEN                         ADDRESS ON FILE
PETER PRO TRANSPORT INC                  11031 MESSMORE ROAD UTICA MI 48317
PETER PRO TRANSPORT INC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PETER SHOUDY                             ADDRESS ON FILE
PETER TURESKI                            ADDRESS ON FILE
PETER VENEGAS INC                        PO BOX 451804 LAREDO TX 78045
PETER W BUZZELL JR INC                   79 DIAMOND LANE HOLLIS ME 04042
PETER, CHRISTOPHER                       ADDRESS ON FILE
PETER, JOEMAR                            ADDRESS ON FILE
PETER, NATALIE                           ADDRESS ON FILE
PETERBILT MANITOBA LTD                   75 DON VALLEY PKWY SPRINGFIELD MB R0E 1J0 CANADA
PETERBILT MANITOBA LTD                   1895 BROOKSIDE BLVD WINNIPEG MB R3C 2E6 CANADA
PETERBILT OF ATLANTA LLC                 172 VAN MAR BLVD JACKSON GA 30233
PETERBILT OF KCMO                        3801 N. SKILES AVE. KANSAS CITY MO 64161
PETERBILT OF KCMO                        8915 WOODEND RD KANSAS CITY KS 66111
PETERBILT OF WYOMING                     ATTN: LISA CRIMM 1555 VIEW DR CASPER WY 82601
PETERBILT OF WYOMING                     4113 W YELLOWSTONE HWY CASPER WY 82604
PETERBILT TRUCK PARTS & EQUIPMENT LLC    PO BOX 889383 LOS ANGELES CA 90088
PETERBILT TRUCK PARTS & EQUIPMENT LLC    PO BOX 399383 SAN FRANCISCO CA 94139
PETERBUILT OF CINCINNATI                 2550 ANNUITY DR CINCINNATI OH 45241
PETERMAN & ASSOCIATES OF OHIO            12248 OWL CREEK RD WAPAKONETA OH 45895
PETERMAN, CRAIG                          ADDRESS ON FILE
PETERMAN, VALERIE                        ADDRESS ON FILE
PETERS BILLIARDS DISTRIBUTION CENTER     7685 PARKLAWN AVE. EDINA MN 55435
PETERS HEATING & AIR CONDITIONING        4520 BROADWAY QUINCY IL 62305
PETERS INVESTMENTS LLC                   1620 S HASTINGS WAY EAU CLAIRE WI 54701
PETERS INVESTMENTS, LLC                  ATTN: JON PETERS 1620 S HASTINGS WAY EAU CLAIRE WI 54701



Epiq Corporate Restructuring, LLC                                                                   Page 1478 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1487 of 2156

Claim Name                           Address Information
PETERS JR., CYRUS                    ADDRESS ON FILE
PETERS TRANS SOLUTIONS LLC           OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
PETERS, ADAM                         ADDRESS ON FILE
PETERS, ALVIN                        ADDRESS ON FILE
PETERS, AVERY                        ADDRESS ON FILE
PETERS, CHERYL                       ADDRESS ON FILE
PETERS, CHRISTOPHER                  ADDRESS ON FILE
PETERS, CLIFF                        ADDRESS ON FILE
PETERS, DARIAN                       ADDRESS ON FILE
PETERS, GARY A                       ADDRESS ON FILE
PETERS, JAMES                        ADDRESS ON FILE
PETERS, JARED                        ADDRESS ON FILE
PETERS, JOHN                         ADDRESS ON FILE
PETERS, JUSTIN                       ADDRESS ON FILE
PETERS, KELLY                        ADDRESS ON FILE
PETERS, KENNETH                      ADDRESS ON FILE
PETERS, KREIG                        ADDRESS ON FILE
PETERS, PATRICK                      ADDRESS ON FILE
PETERS, RICHARD                      ADDRESS ON FILE
PETERS, ROBIN                        ADDRESS ON FILE
PETERS, SCOTT                        ADDRESS ON FILE
PETERS, TAMIRA                       ADDRESS ON FILE
PETERS, WENDY                        ADDRESS ON FILE
PETERS, XAVIER                       ADDRESS ON FILE
PETERS-TIPPETTS, ELAINE              ADDRESS ON FILE
PETERSEN ARNE                        ADDRESS ON FILE
PETERSEN CONVEYOR INC                11240 GARNET CT SAINT MICHAEL MN 55376
PETERSEN PLUMBING                    DBA PETERSEN PLUMBING, PO BOX 22406 EUGENE OR 97402
PETERSEN TRUCKING                    OR ASSET FUNDING SOURCE, PO BOX497 ANKENY IA 50021
PETERSEN, AUSTIN                     ADDRESS ON FILE
PETERSEN, BRENDA                     ADDRESS ON FILE
PETERSEN, CHAD                       ADDRESS ON FILE
PETERSEN, CHRISTOPHER                ADDRESS ON FILE
PETERSEN, DAVID                      ADDRESS ON FILE
PETERSEN, ERIC                       ADDRESS ON FILE
PETERSEN, FERNANDO                   ADDRESS ON FILE
PETERSEN, FRANKLIN                   ADDRESS ON FILE
PETERSEN, JANCY                      ADDRESS ON FILE
PETERSEN, KASSIDEE                   ADDRESS ON FILE
PETERSEN, KATELYN                    ADDRESS ON FILE
PETERSEN, MARIA                      ADDRESS ON FILE
PETERSEN, MITCHELL                   ADDRESS ON FILE
PETERSEN, PAULA                      ADDRESS ON FILE
PETERSEN, RUSS                       ADDRESS ON FILE
PETERSHEIM, LOREN                    ADDRESS ON FILE
PETERSON ALUMINUM                    1005 TONNE RD ELK GROVE VILLAGE IL 60007
PETERSON CORPORATION                 TCI, PO BOX 750236 MEMPHIS TN 38175
PETERSON II, ROBERT                  ADDRESS ON FILE
PETERSON LOGISTICS LLC               OR CT CASH LLC, PO BOX 122189 DALLAS TX 75312-2189



Epiq Corporate Restructuring, LLC                                                          Page 1479 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1488 of 2156

Claim Name                          Address Information
PETERSON MACHINERY CO.              PO BOX 2218 SAN LEANDRO CA 94577
PETERSON SALES & DISTRUBUTION INC   7920 N. ALPINE ROAD LOVES PARK IL 61111
PETERSON TRANSLOGISTICS             410 CHERRY BRANCH LANE FAIRBURN GA 30213
PETERSON TRUCKS                     61 NE COLUMBIA BLVD PORTLAND OR 97211
PETERSON TRUCKS INC                 2718 TEAGARDEN STREET SAN LEANDRO CA 94577
PETERSON TRUCKS INC                 PO BOX 11287, 61 NE COLUMBIA BLVD. PORTLAND OR 97211
PETERSON TRUCKS, INC.               P.O. BOX 101777 PASADENA CA 91189
PETERSON, ABIGAIL                   ADDRESS ON FILE
PETERSON, ANDREA                    ADDRESS ON FILE
PETERSON, ANDREW                    ADDRESS ON FILE
PETERSON, BRENT                     ADDRESS ON FILE
PETERSON, BRET                      ADDRESS ON FILE
PETERSON, BRIAN                     ADDRESS ON FILE
PETERSON, COLEMAN                   ADDRESS ON FILE
PETERSON, DALE                      ADDRESS ON FILE
PETERSON, DARRYL                    ADDRESS ON FILE
PETERSON, DIRK                      ADDRESS ON FILE
PETERSON, DWAYNE                    ADDRESS ON FILE
PETERSON, EDWARD                    ADDRESS ON FILE
PETERSON, GARNER                    ADDRESS ON FILE
PETERSON, GLENN                     ADDRESS ON FILE
PETERSON, JACOB                     ADDRESS ON FILE
PETERSON, JAMES                     ADDRESS ON FILE
PETERSON, JEFF                      ADDRESS ON FILE
PETERSON, JEFFERY                   ADDRESS ON FILE
PETERSON, JEFFREY                   ADDRESS ON FILE
PETERSON, JERRAD                    ADDRESS ON FILE
PETERSON, JOSHUA                    ADDRESS ON FILE
PETERSON, JULIUS                    ADDRESS ON FILE
PETERSON, KWENTON                   ADDRESS ON FILE
PETERSON, LOUIS                     ADDRESS ON FILE
PETERSON, MARICELA                  ADDRESS ON FILE
PETERSON, MICHAEL                   ADDRESS ON FILE
PETERSON, MONICA                    ADDRESS ON FILE
PETERSON, RALPH                     ADDRESS ON FILE
PETERSON, RICHARD                   ADDRESS ON FILE
PETERSON, TED                       ADDRESS ON FILE
PETERSON, TIMOTHY                   ADDRESS ON FILE
PETERSON, TODD                      ADDRESS ON FILE
PETERSON, TRENTON                   ADDRESS ON FILE
PETERSON, VINCENT                   ADDRESS ON FILE
PETERSON, WILLIAM                   ADDRESS ON FILE
PETERSON, ZELISSIA                  ADDRESS ON FILE
PETERSONS TOWING                    324 N MITCHELL ST, PO BOX 670 CADILLAC MI 49601
PETES FLEET SERVICES LLC            2431 14TH AVE SE STE A WATERTOWN SD 57201
PETES PAINTING                      BOX 84 DUGALD MB R0E 0K0 CANADA
PETES PERFECTION PLUS, INC.         435 S.WHEELING ROAD WHEELING IL 60090
PETES TOWING                        21841 PACIFIC HIGHWAY S DES MOINES WA 98198
PETES TOWING                        PO BOX 98783 DES MOINES WA 98198



Epiq Corporate Restructuring, LLC                                                          Page 1480 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1489 of 2156

Claim Name                            Address Information
PETHE, MIKE                           ADDRESS ON FILE
PETIGNY, GIOVANNI                     ADDRESS ON FILE
PETIPRIN, CODY                        ADDRESS ON FILE
PETIT PAS                             ADDRESS ON FILE
PETIT, MONTE                          ADDRESS ON FILE
PETIT-CLAIR, NATHAN                   ADDRESS ON FILE
PETIT-FRERE, DIEU-SEUL                ADDRESS ON FILE
PETITT, TERRANCE                      ADDRESS ON FILE
PETRA TRUCKING SVCS LLC               OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                      UT 84130
PETRAS, MICHELLE                      ADDRESS ON FILE
PETRASKA, DANIEL                      ADDRESS ON FILE
PETRBOK, JARED                        ADDRESS ON FILE
PETREE, DEAN                          ADDRESS ON FILE
PETRERE, ANTHONY                      ADDRESS ON FILE
PETREY, DURRELL                       ADDRESS ON FILE
PETREY, KARL                          ADDRESS ON FILE
PETREY, KEVIN                         ADDRESS ON FILE
PETRI, ROBERT                         ADDRESS ON FILE
PETRICEVIC, NEBOJSA                   ADDRESS ON FILE
PETRICK, GLEN                         ADDRESS ON FILE
PETRIE, JOHN                          ADDRESS ON FILE
PETRIE, KELLY                         ADDRESS ON FILE
PETRIELLO, GREGORY                    ADDRESS ON FILE
PETRIELLO, GUY                        ADDRESS ON FILE
PETRILLO, JOSEPH                      ADDRESS ON FILE
PETRISK, BEVERLY                      ADDRESS ON FILE
PETRO LOGISTICS LLC                   910 S KIRKWOOD 120 KIRKWOOD MO 63122
PETROCARD, INC.                       PO BOX 34243 SEATTLE WA 98124
PETROFF TOWING                        3801 N. 89TH STREET CASEYVILLE IL 62232
PETROGAS GROUP SOUTH CAROLINA         279 CEDARCREST DRIVE LEXINGTON SC 29072
PETROGEORGE, CHRIS                    ADDRESS ON FILE
PETROLEUM EQUIPMENT & SERVICE, INC.   PO BOX 1949 DENVER NC 28037
PETROLEUM EQUIPMENT COMPANY           405 40TH AVE N NASHVILLE TN 37209
PETROLEUM EQUIPMENT COMPANY, INC.     PO BOX 180417 RICHLAND MS 39218
PETROLEUM EQUIPMENT INC               3950 W DOUGLAS AVE MILWAUKEE WI 53209
PETROLEUM PRODUCTS FLEET FUELING      PO BOX 644283 PITTSBURGH PA 15264
PETROLEUM SERVICES INC                PO BOX 53968 FAYETTEVILLE NC 28305
PETROLEUM SERVICES, INC.              4200 E LOMBARD ST BALTIMORE MD 21224
PETROLEUM STORAGE TANK FUND           PO BOX 83720 BOISE ID 83720
PETROPOULOS, TYLER                    ADDRESS ON FILE
PETROS A HABTEMARIAM                  ADDRESS ON FILE
PETROSERVE, INC.                      7039 ELLISON ROAD STOKESDALE NC 27357
PETROSKI PLUMBING                     337 SOUTH WALNUT ST NANTICOKE PA 18634
PETROSKI, THOMAS                      ADDRESS ON FILE
PETROVIC, WILLIAM                     ADDRESS ON FILE
PETROZE, TIMOTHY                      ADDRESS ON FILE
PETRUS, REUBEN                        ADDRESS ON FILE
PETRUS, REUBEN J                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1481 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1490 of 2156

Claim Name                           Address Information
PETRUS, WILLIAM                      ADDRESS ON FILE
PETRUSO, JAMES                       ADDRESS ON FILE
PETRUZZELLO, JOHN                    ADDRESS ON FILE
PETRY, CHRISTIAN                     ADDRESS ON FILE
PETRY, DENNIS                        ADDRESS ON FILE
PETRY, PAUL                          ADDRESS ON FILE
PETSCHE, MATT                        ADDRESS ON FILE
PETSCHE, WILLIAM                     ADDRESS ON FILE
PETSPORT USA                         1160 RAILROAD AVE PITTSBURG CA 94565
PETSPORT USA                         ATTN: BRIANA AYALA 1160 RAILROAD AVE PITTSBURG CA 94565
PETTENGILL, RANCE                    ADDRESS ON FILE
PETTERSSON, MICHAEL                  ADDRESS ON FILE
PETTET, SAM                          ADDRESS ON FILE
PETTIE, KENNETH                      ADDRESS ON FILE
PETTIJOHN, BRUCE                     ADDRESS ON FILE
PETTIJOHN, COLTON                    ADDRESS ON FILE
PETTIS, JOE                          ADDRESS ON FILE
PETTIS, LOREN                        ADDRESS ON FILE
PETTIT, AARON                        ADDRESS ON FILE
PETTIT, CAMERON                      ADDRESS ON FILE
PETTIT, KEVIN                        ADDRESS ON FILE
PETTIT, MARIE                        ADDRESS ON FILE
PETTIT, MICHAEL                      ADDRESS ON FILE
PETTIT, ROBERT                       ADDRESS ON FILE
PETTIT, WAYNE                        ADDRESS ON FILE
PETTITT, ANGELA                      ADDRESS ON FILE
PETTRY, ROGER                        ADDRESS ON FILE
PETTUS, BYRON                        ADDRESS ON FILE
PETTUS, LARRY                        ADDRESS ON FILE
PETTUS, SEAN                         ADDRESS ON FILE
PETTWAY, CHRISTOPHER                 ADDRESS ON FILE
PETTWAY, SIM                         ADDRESS ON FILE
PETTY EXPRESS TRANSPORTATION LLC     OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PETTY, BENJAMIN                      ADDRESS ON FILE
PETTY, DANIEL                        ADDRESS ON FILE
PETTY, DAVID                         ADDRESS ON FILE
PETTY, DAVID                         ADDRESS ON FILE
PETTY, ERIC                          ADDRESS ON FILE
PETTY, GREG                          ADDRESS ON FILE
PETTY, HASAAN                        ADDRESS ON FILE
PETTY, JARRETT                       ADDRESS ON FILE
PETTY, JEFF                          ADDRESS ON FILE
PETTY, JIMMIE                        ADDRESS ON FILE
PETTY, PHILIP L                      ADDRESS ON FILE
PETTY, RICKEY                        ADDRESS ON FILE
PETTY, STAN                          ADDRESS ON FILE
PETTY, THOMAS                        ADDRESS ON FILE
PETTY, TREVON                        ADDRESS ON FILE
PETTY, VERNON                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1482 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1491 of 2156

Claim Name                          Address Information
PEW, STEVE                          ADDRESS ON FILE
PEYTON BURNHAM                      ADDRESS ON FILE
PEYTON J THOMAS                     ADDRESS ON FILE
PEYTON VENDOR / FOUNTAIN CO         LOCKBOX 773496, 3496 SOLUTIONS CENTER CHICAGO IL 60677
PEYTON VENDOR / MID-SOUTH           LOCKBOX 773496, 3496 SOLUTIONS CENTER CHICAGO IL 60677
PEYTON VENDOR / NORTHERN            LOCKBOX 773496, 3496 SOLUTIONS CENTER CHICAGO IL 60677
PEYTON VENDOR / PHOENIX             LOCKBOX 773496, 3496 SOLUTIONS CENTER CHICAGO IL 60677
PEYTON VENDOR / SOUTHEASTERN        LOCKBOX 773496, 3496 SOLUTIONS CENTER CHICAGO IL 60677
PEYTON, CHRISTOPHER                 ADDRESS ON FILE
PEYTON, MORRIS                      ADDRESS ON FILE
PEYTON, MORRIS L                    ADDRESS ON FILE
PEYTON, MORRIS L                    ADDRESS ON FILE
PEZQUEDA, JORGE                     ADDRESS ON FILE
PEZZI, JOSHUA                       ADDRESS ON FILE
PEZZINO, ANTHONY                    ADDRESS ON FILE
PEZZINO, JOHN                       ADDRESS ON FILE
PFAFF, MARK                         ADDRESS ON FILE
PFANNENSTIEL, DERRICK               ADDRESS ON FILE
PFANNENSTIEL, LISA                  ADDRESS ON FILE
PFANNENSTIEL, TRENT                 ADDRESS ON FILE
PFARR, MATTHEW                      ADDRESS ON FILE
PFAU, SALLY                         ADDRESS ON FILE
PFEFFER, DAVID                      ADDRESS ON FILE
PFEFFER, SHANNON                    ADDRESS ON FILE
PFEIFER, RANDY                      ADDRESS ON FILE
PFEIFER, RICHARD                    ADDRESS ON FILE
PFEIFFER, SCOTT                     ADDRESS ON FILE
PFENNING, BRIAN                     ADDRESS ON FILE
PFK EXPRESS LLC                     OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PFLIEGER, MICHAEL J                 ADDRESS ON FILE
PFOHL, WILLIAM                      ADDRESS ON FILE
PG & V TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PG EXPRESS INC                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
PG FREIGHT SERVICE CO               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PG GOLF LLC                         12520 W AIRPORT BLVD STE 900 SUGAR LAND TX 77478
PG SPECIALIZED PLUS, LLC            OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PG&E                                300 LAKESIDE DR OAKLAND CA 94612-3534
PG&E                                PO BOX 997300 SACRAMENTO CA 95899-7300
PGA TRANSPORT LLC                   3910 TORRINGTON AVENUE PARMA OH 44134
PGH EXPRESS LP                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
PGHOC SHIPPING LLC                  A & P WAREHOUSE, 748 CADENCE VIEW WAY HENDERSON NV 89011
PGHOC SHIPPING LLC                  3118 S. LINDA WAY SANTA ANA CA 92704
PGL                                 CONNECTING BUS. ON TIME 2800 STORY ROAD WEST STE. 100 IRVING TX 75038
PGL                                 C/O PERIMETER INTERNATIONAL PO BOX 975649 DALLAS TX 75373
PGP SOLUTIONS                       7754 DE LA LOIRE ANJOU QC H1K3M8 CANADA
PGS TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PGW                                 C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
PGW                                 ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
PGW AUTOGLASS LLC                   P.O. BOX 775583 CHICAGO IL 60677



Epiq Corporate Restructuring, LLC                                                              Page 1483 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1492 of 2156

Claim Name                          Address Information
PHALEN, AMANDA                      ADDRESS ON FILE
PHAM, DIEP                          ADDRESS ON FILE
PHAN I YOUNG                        ADDRESS ON FILE
PHAN, YAO                           ADDRESS ON FILE
PHAN, YOUNG                         ADDRESS ON FILE
PHANG CHIN INC                      OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PHANTOM LOGISTICS                   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
PHANTRO TRANSPORT LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PHARAOH TRUCKING CORPORATION        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PHARES, ANN                         ADDRESS ON FILE
PHARES, JOSH                        ADDRESS ON FILE
PHARMACHEM LABORATORIES             766 S DEPOT DR STE 2 OGDEN UT 84404
PHARRIS, JOHN                       ADDRESS ON FILE
PHASE II                            ATTN: PHYLLIS SACCHI 21 INDUSTRIAL AVE UPPER SADDLE RIVER NJ 07458
PHASE II DIESEL INC                 186 S ROBINSON AVE NEWBURGH NY 12550
PHASE II TRANSPORTATION, INC.       P O BOX 470 WASHOUGAL WA 98671
PHASE TWO ECHO GLOBAL               ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
PHEA, RASMEY                        ADDRESS ON FILE
PHELAN, DAVID                       ADDRESS ON FILE
PHELAN, WAYNE                       ADDRESS ON FILE
PHELPS FARMS, INC.                  41 S HIGH ST 21ST FLOOR COLUMBUS OH 43215
PHELPS, BRANDON                     ADDRESS ON FILE
PHELPS, BROK                        ADDRESS ON FILE
PHELPS, JOHN                        ADDRESS ON FILE
PHELPS, MARC                        ADDRESS ON FILE
PHELPS, MARK                        ADDRESS ON FILE
PHELPS, RONALD                      ADDRESS ON FILE
PHENECIE, TOM                       ADDRESS ON FILE
PHENOMENAL TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PHER TRUCKING                       1910 COLETA PLACE GARLAND TX 75040
PHIFER, DECARLO                     ADDRESS ON FILE
PHIFER, JAMES R                     ADDRESS ON FILE
PHIL BANE                           ADDRESS ON FILE
PHIL DORNBIER TRUCKING INC          217 STATE STREET GARNER IA 50438
PHIL MANESS                         ADDRESS ON FILE
PHILA OCCHEALTH                     DBA WORKNET OCC MED, PO BOX 827842 PHILADELPHIA PA 19182
PHILAMALEE, PAUL                    ADDRESS ON FILE
PHILIP & JENNIFER DIRUSSO           ADDRESS ON FILE
PHILIP CULLUM                       ADDRESS ON FILE
PHILIP J SIMMONS                    ADDRESS ON FILE
PHILIP PADGETT MD                   ADDRESS ON FILE
PHILIP WALTON                       ADDRESS ON FILE
PHILIPPE J POTTER                   ADDRESS ON FILE
PHILIPS MUSTANG LLC                 5200 S W MEADOWS RD LAKE OSWEGO OR 97035
PHILIPS, PATRICK                    ADDRESS ON FILE
PHILISTIN, DANIEL                   ADDRESS ON FILE
PHILL CAP (8460)                    ATT PROXY MGR 141 W JACKSON BLVD CBOT BLDG, STE 3050 CHICAGO IL 60604
PHILLIP AVILA                       ADDRESS ON FILE
PHILLIP D GAMBLE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1484 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1493 of 2156

Claim Name                           Address Information
PHILLIP H STEWART                    ADDRESS ON FILE
PHILLIP K DOW                        ADDRESS ON FILE
PHILLIP, JAMES                       ADDRESS ON FILE
PHILLIPS 66                          TMC, 14800 CHARLSON RD STE 2100 EDEN PRAIRIE MN 55347
PHILLIPS AIR COMPRESSOR              5946 S WESTERN AVE CHICAGO IL 60636
PHILLIPS BODY SHOP INC               133 GRAY RD GORHAM ME 04038
PHILLIPS COLLECTION                  ATTN: DAVID MANN CLAIMS 916 FINCH AVE HIGH POINT NC 27263
PHILLIPS FEED & PET SUPPLY           1005 BROOKSIDE ROAD STE 350 ALLENTOWN PA 18106
PHILLIPS JR, RUSSELL                 ADDRESS ON FILE
PHILLIPS LAWN, LLC                   PO BOX 14021 SHAWNEE MISSION KS 66285
PHILLIPS LOGISTICS LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PHILLIPS PLATING CORP                ATTN: LINDA SCHILLING 984 N LAKE AVE PHILLIPS WI 54555
PHILLIPS TANK & STRUCTURE            ATTN: ACCOUNTS RECEIVABLE 13A TALBOT AVE BRADDOCK PA 15104
PHILLIPS TRANSPORTATION INC          OR TAB BANK, PO BOX 150290 OGDEN UT 84415
PHILLIPS VAN-HEUSEN                  ATTN: NICOLE RANDAZZO 127 LIBERTY INDUSTRIAL PKWY MCDONOUGH GA 30253
PHILLIPS, ADAM W                     ADDRESS ON FILE
PHILLIPS, ALEISHA                    ADDRESS ON FILE
PHILLIPS, ALEXANDER                  ADDRESS ON FILE
PHILLIPS, ANDRE                      ADDRESS ON FILE
PHILLIPS, AUBREY                     ADDRESS ON FILE
PHILLIPS, BARRY                      ADDRESS ON FILE
PHILLIPS, BENNETT                    ADDRESS ON FILE
PHILLIPS, BRET                       ADDRESS ON FILE
PHILLIPS, CARL                       ADDRESS ON FILE
PHILLIPS, CARLA                      ADDRESS ON FILE
PHILLIPS, CHAD                       ADDRESS ON FILE
PHILLIPS, CHRIS                      ADDRESS ON FILE
PHILLIPS, CHRISTOPHER                ADDRESS ON FILE
PHILLIPS, CHRISTOPHER                ADDRESS ON FILE
PHILLIPS, CHRISTOPHER                ADDRESS ON FILE
PHILLIPS, CHRISTOPHER                ADDRESS ON FILE
PHILLIPS, CLIFTON                    ADDRESS ON FILE
PHILLIPS, COREY                      ADDRESS ON FILE
PHILLIPS, CURTIS PHILLIPS            ADDRESS ON FILE
PHILLIPS, DANIELLE                   ADDRESS ON FILE
PHILLIPS, DAVID                      ADDRESS ON FILE
PHILLIPS, DAVID                      ADDRESS ON FILE
PHILLIPS, DAVID                      ADDRESS ON FILE
PHILLIPS, DEMARQUIS                  ADDRESS ON FILE
PHILLIPS, DONVIANTE                  ADDRESS ON FILE
PHILLIPS, DOUGLAS                    ADDRESS ON FILE
PHILLIPS, DOUGLAS                    ADDRESS ON FILE
PHILLIPS, EDWARD                     ADDRESS ON FILE
PHILLIPS, ERIC                       ADDRESS ON FILE
PHILLIPS, FRED                       ADDRESS ON FILE
PHILLIPS, GARRET                     ADDRESS ON FILE
PHILLIPS, JAMES                      ADDRESS ON FILE
PHILLIPS, JAMES                      ADDRESS ON FILE
PHILLIPS, JERRY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1485 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1494 of 2156

Claim Name                          Address Information
PHILLIPS, JESSIE                    ADDRESS ON FILE
PHILLIPS, JESSIE                    ADDRESS ON FILE
PHILLIPS, JOHN                      ADDRESS ON FILE
PHILLIPS, JOSHUA                    ADDRESS ON FILE
PHILLIPS, JOSIAH                    ADDRESS ON FILE
PHILLIPS, KAMERON                   ADDRESS ON FILE
PHILLIPS, KAREN                     ADDRESS ON FILE
PHILLIPS, KENNETH                   ADDRESS ON FILE
PHILLIPS, KIRK                      ADDRESS ON FILE
PHILLIPS, KRISTAN                   ADDRESS ON FILE
PHILLIPS, KURT A                    ADDRESS ON FILE
PHILLIPS, LAMONT                    ADDRESS ON FILE
PHILLIPS, LARRY                     ADDRESS ON FILE
PHILLIPS, LARRY                     ADDRESS ON FILE
PHILLIPS, LAURIE                    ADDRESS ON FILE
PHILLIPS, LESLIE                    ADDRESS ON FILE
PHILLIPS, LISA                      ADDRESS ON FILE
PHILLIPS, MARK                      ADDRESS ON FILE
PHILLIPS, MARVIN                    ADDRESS ON FILE
PHILLIPS, MATTHEW                   ADDRESS ON FILE
PHILLIPS, MATTHEW                   ADDRESS ON FILE
PHILLIPS, MICHAEL                   ADDRESS ON FILE
PHILLIPS, MICHAEL W                 ADDRESS ON FILE
PHILLIPS, NATHAN                    ADDRESS ON FILE
PHILLIPS, OTIS                      ADDRESS ON FILE
PHILLIPS, PATRICK                   ADDRESS ON FILE
PHILLIPS, PATRICK                   ADDRESS ON FILE
PHILLIPS, PAUL                      ADDRESS ON FILE
PHILLIPS, PERRY                     ADDRESS ON FILE
PHILLIPS, PRESTON                   ADDRESS ON FILE
PHILLIPS, RANDY L                   ADDRESS ON FILE
PHILLIPS, RAYMOND                   ADDRESS ON FILE
PHILLIPS, REGINALD                  ADDRESS ON FILE
PHILLIPS, ROB                       ADDRESS ON FILE
PHILLIPS, ROBERT                    ADDRESS ON FILE
PHILLIPS, ROBERT                    ADDRESS ON FILE
PHILLIPS, ROBERT                    ADDRESS ON FILE
PHILLIPS, RODERICK                  ADDRESS ON FILE
PHILLIPS, ROGER                     ADDRESS ON FILE
PHILLIPS, RUDOLPH                   ADDRESS ON FILE
PHILLIPS, RUTH                      ADDRESS ON FILE
PHILLIPS, RYAN                      ADDRESS ON FILE
PHILLIPS, SADEKIE                   ADDRESS ON FILE
PHILLIPS, SAMUEL                    ADDRESS ON FILE
PHILLIPS, SANDRAE                   ADDRESS ON FILE
PHILLIPS, SHEREE                    ADDRESS ON FILE
PHILLIPS, SHERRI                    ADDRESS ON FILE
PHILLIPS, STAZSA                    ADDRESS ON FILE
PHILLIPS, STEVEN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1486 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1495 of 2156

Claim Name                             Address Information
PHILLIPS, TERRENCE                     ADDRESS ON FILE
PHILLIPS, TIMOTHY                      ADDRESS ON FILE
PHILLIPS, TIMOTHY                      ADDRESS ON FILE
PHILLIPS, TOBY                         ADDRESS ON FILE
PHILLIPS, TODD                         ADDRESS ON FILE
PHILLIPS, WILLIAM                      ADDRESS ON FILE
PHILLIPS, WILLIAM                      ADDRESS ON FILE
PHILLIPS, WILLIAM                      ADDRESS ON FILE
PHILMORE, KAMAYA                       ADDRESS ON FILE
PHILS COUNTY LINE SERVICE INC          23680 WEST US 10 REED CITY MI 49677
PHILS GARAGE LLC                       5370 RTE 193 BLDG D KINGSVILLE OH 44048
PHIMMASONE, MIKE                       ADDRESS ON FILE
PHIN, PHEAR                            ADDRESS ON FILE
PHIPPIN, THOMAS                        ADDRESS ON FILE
PHIPPS GENERATIONAL WEALTH, LLC        OR PROVIDENT COMMERCIAL FINANCE, LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                       35246-2659
PHIPPS, CHARLES                        ADDRESS ON FILE
PHIPPS, COREY                          ADDRESS ON FILE
PHIPPS, DUANE                          ADDRESS ON FILE
PHIPPS, GERREN                         ADDRESS ON FILE
PHIPPS, JOHN COREY                     ADDRESS ON FILE
PHIPPS, TIMOTHY                        ADDRESS ON FILE
PHL TRUCKING LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PHLOEM TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PHOEBE CORPORATE HEALTH CENTER         2410 SYLVESTER ROAD ALBANY GA 31705
PHOENICIA TRADING                      ADDRESS ON FILE
PHOENIX CARGO LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PHOENIX CITY TREASURER                 PO BOX 29690 PHOENIX AZ 85038
PHOENIX CONTROLS                       75 DISCOVERY WAY ACTON MA 01720
PHOENIX ENTERPRISES                    5742 NW 75 WAY PARKLAND FL 33067
PHOENIX EXPEDITE                       OR FIRST AVENUE FUNDING LLC PO BOX 16714 ATLANTA GA 30321-0714
PHOENIX EXPRESS TRANS CORP             6 POND CT, 0 HILLSBOROUGH NJ 08844
PHOENIX EXPRESS TRANS CORP             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PHOENIX FENCE COMPANY                  PO BOX 21183 PHOENIX AZ 85036
PHOENIX FIRE PROTECTION INC            2022 SNYDER AVE CHEYENNE WY 82001
PHOENIX FIRE SYSTEMS                   DBA BASIC FIRE, 26113 S RIDGELAND AVE MONEE IL 60449
PHOENIX FIRE SYSTEMS                   DBA BASIC FIRE, 13825 S. INDIANA AVE CHICAGO IL 60827
PHOENIX FLEXOGRAPHIC                   ATTN: MARK HUNT 320 ANDERSON RD. ALBEMARLE NC 28001
PHOENIX FREIGHT SVCS CORP              2186 BALMORAL AVE UNION NJ 07083
PHOENIX HAULING LLC                    OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PHOENIX LOGISTICS CORP                 866 N TAMARAC BLVD ADDISON IL 60101
PHOENIX METRO TOWING                   2244 W. APACHE TRAIL APACHE JUNCTION AZ 85120
PHOENIX RESEARCH INDUSTRIES, INC.      PO BOX 2319 DULUTH GA 30096
PHOENIX SPECIALIZED SVCS LLC           OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
PHOENIX TOW                            1505 S BLUFF RD MONTEBELLO CA 90640
PHOENIX TRANSPORT INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PHOENIX TRANSPORTATION SERVICES, LLC   OR TAB BANK, PO BOX 150290 OGDEN UT 84415
PHOENIX TRUCKING COMPANY LLC           1379 N CREEK DR WIXOM MI 48393
PHOENIX TRUCKLINE LLC                  254 S MULBERRY STE 113 MESA AZ 85202



Epiq Corporate Restructuring, LLC                                                              Page 1487 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1496 of 2156

Claim Name                              Address Information
PHOENIX TRUXX                          ADDRESS ON FILE
PHOENIX UNITED LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PHOENIX WATER AND WASTEWATER OPERATIONS 370 SUSQUEHANNA AVE MILTON PA 17847
PHOENIX XPRESS LLC                     OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
PHOENIX, KEITH                         ADDRESS ON FILE
PHOEUR, DARNNY                         ADDRESS ON FILE
PHOMMACHARINH, JOHNSON                 ADDRESS ON FILE
PHOMMAVANH, ADRIAN                     ADDRESS ON FILE
PHOTON LOGISTICS INCORPORATED          OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
PHP 7 EXPRESS INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PHP SYSTEMS/THE FLOWER BUCKET          5534 HARVEY WILSON DRIVE HOUSTON TX 77020
PHUNG, CHINDA                          ADDRESS ON FILE
PHUQUY TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PHYLLIS MITCHELL                       ADDRESS ON FILE
PHYSICAL EXAMS, INC                    P O BOX 1157 WEXFORD PA 15090
PHYSICAL EXAMS, INC                    313 MACCORKLE SW, STE 201 CHARLESTON WV 25303
PHYSICIANS HEALTH CENTER               8100 OAK LN STE 400 MIAMI LAKES FL 33016
PHYSICIANS HEALTH CENTER               1448 N. KROME AVE., 101 HOMESTEAD FL 33034
PHYSICIANS HEALTH CENTER               6990 NW 37TH AVE MIAMI FL 33147
PHYSICIANS HEALTH CENTER               7887 N. KENDALL DR., 102 MIAMI FL 33156
PHYSICIANS HEALTH CENTER               6221 NW 36TH STREET MIAMI FL 33166
PHYSICIANS HEALTH CENTER               20535 NW 2ND AVE., 150 MIAMI FL 33169
PHYSICIANS IMMEDIATE CARE              NORTH CHICAGO LLC, PO BOX 8799 CAROL STREAM IL 60197-8799
PHYSICIANS IMMEDIATE CARE CENTER       243 CHENEY DRIVE WEST, STE 200 TWIN FALLS ID 83301
PHYSICIANS IMMEDIATE CARE CHIC         BILLING DEPARTMENT, PO BOX 8799 CAROL STREAM IL 60197
PI FIN CORP/CDS (5075)                 ATT ROB MCNEIL OR PROXY MGR 666 BURRARD ST STE 1900 VANCOUVER BC V6C 2G3
                                       CANADA
PIACENTINO, RICHARD                    ADDRESS ON FILE
PIAM MANSOURI-FARD                     ADDRESS ON FILE
PIANO STUDIOS & SHOWCASE.              1560 BIDDLE RD MEDFORD OR 97504
PIANTINO, JOANN                        ADDRESS ON FILE
PIAROWSKI, MICHAEL                     ADDRESS ON FILE
PIASECKI, WOJCIECH                     ADDRESS ON FILE
PIATCHEK, RHONDA                       ADDRESS ON FILE
PIAZZA, JEREMIAH                       ADDRESS ON FILE
PIAZZA, JEREMIAH                       ADDRESS ON FILE
PIAZZA, PAULA                          ADDRESS ON FILE
PIAZZOLA, RYAN                         ADDRESS ON FILE
PIB INC                                OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
PICA-SNEEDEN, CHARLES                  ADDRESS ON FILE
PICARD, JUSTIN                         ADDRESS ON FILE
PICARD, NICOLE                         ADDRESS ON FILE
PICARELLI, STEVEN                      ADDRESS ON FILE
PICARELLO, KIMBERLY                    ADDRESS ON FILE
PICCOLO INC                            PO BOX 9850 BOWLINGGREEN KY 42101
PICCOLO, RALPH                         ADDRESS ON FILE
PICH, NICK                             ADDRESS ON FILE
PICHARDO, CARLOS                       ADDRESS ON FILE
PICHARDO, RAFAEL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1488 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1497 of 2156

Claim Name                               Address Information
PICHARDO, RAFAEL                         ADDRESS ON FILE
PICHEL, CONRADO                          ADDRESS ON FILE
PICHLER, OLIVIA                          ADDRESS ON FILE
PICINICH, JOHN                           ADDRESS ON FILE
PICKELL, STEVEN                          ADDRESS ON FILE
PICKENS BIZNESS SERVICES LLC             OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
PICKENS FAMILY LOGISTICS, INC.           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PICKENS JANITORIAL AND LAWN SERVICE      188 LOTTVILLE RD CANTON MS 39046
PICKENS, ARTHUR                          ADDRESS ON FILE
PICKENS, CARLOS                          ADDRESS ON FILE
PICKENS, CHANCE                          ADDRESS ON FILE
PICKENS, CHERISE                         ADDRESS ON FILE
PICKENS, DARRELL E                       ADDRESS ON FILE
PICKENS, DEBORAH                         ADDRESS ON FILE
PICKERILL, JASON                         ADDRESS ON FILE
PICKERING TRAILER RENTALS & SALES INC.   4-910 DILLINGHAM ROAD PICKERING ON L1W 1Z6 CANADA
PICKERING, TIMOTHY                       ADDRESS ON FILE
PICKERS, CHRIS                           ADDRESS ON FILE
PICKETT, ANITRA                          ADDRESS ON FILE
PICKETT, BRETT                           ADDRESS ON FILE
PICKETT, JASON                           ADDRESS ON FILE
PICKETT, MICHAEL                         ADDRESS ON FILE
PICKETT, RICK                            ADDRESS ON FILE
PICKNEY TRANSPORTATION COMPANY LLC       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PICTSWEET COMPANY                        10 PICTSWEET DR BELLS TN 38006
PICTURE ME ROLLIN TRUCKING LLC           OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
PIDEL LOGISTICS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PIECES DAUTO & CAMION COATICO            325 RUE CUTTING COATICOOK QC J1A 2G2 CANADA
PIED PIPER EXTERMINATORS, INC.           210 AIRPORT BLVD. FREEDOM CA 95019
PIEDMONT FLEET SERVICES INC              201 MILL RIDGE RD LYNCHBURG VA 24502
PIEDMONT HEALTHCARE, INC.                PO BOX 102859 ATLANTA GA 30368
PIEDMONT NATURAL GAS                     4720 PIEDMONT ROW DR CHARLOTTE NC 28210
PIEDMONT NATURAL GAS CO.                 PO BOX 1246 CHARLOTTE NC 28201-1246
PIEDMONT TRIAD                           115 S. CHESTNUT WINSTON SALEM NC 27101
PIEDMONT TRUCK CENTER, INC.              PO BOX 18109 GREENSBORO NC 27419
PIEDMONT TRUCK TIRES, INC.               PO BOX 18228 GREENSBORO NC 27419
PIEDMONT TRUCK TIRES, INC.               PIEDMONT TT COLUMBIA, 1401 PINEVIEW RD COLUMBIA SC 29209
PIEDMONT URGENT CARE BY WELLSTREET LLC   PO BOX 1175740 ATLANTA GA 30368
PIEDMONT, LLC                            PIEDMONT, LLC, PO BOX 503 BYRON CENTER MI 49315
PIEDRA, ARMANDO                          ADDRESS ON FILE
PIEHL, KEVIN                             ADDRESS ON FILE
PIENKOWSKI, CHESTER                      ADDRESS ON FILE
PIEPER HOUSTON ELECTRIC LP               PO BOX 801228 HOUSTON TX 77280
PIER OF D NORT                           6035 HWY 70 E SAINT GERMAIN WI 54558
PIER OF D NORT                           ATTN: LORI ADLER 6035 HWY 70 E ST GERMAIN WI 54558
PIER TRANSPORTATION INC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
PIERCE COUNTY BUDGET & FINANCE           PO BOX 11621 TACOMA WA 98411
PIERCE COUNTY FINANCE DEPT               ATTN JASON THIESSEN 950 FAWCETT AVE, STE 100 TACOMA WA 98402-5603
PIERCE HARRINGTON, ROBIN                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1489 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1498 of 2156

Claim Name                           Address Information
PIERCE LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PIERCE LOGISTICS LLC (MC114223)      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PIERCE TRUCKING                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
PIERCE, BERNARD                      ADDRESS ON FILE
PIERCE, BRIAN                        ADDRESS ON FILE
PIERCE, CHRISTOPHER                  ADDRESS ON FILE
PIERCE, CLYDE                        ADDRESS ON FILE
PIERCE, DENNIS                       ADDRESS ON FILE
PIERCE, ETHAN                        ADDRESS ON FILE
PIERCE, GARRY                        ADDRESS ON FILE
PIERCE, GREG                         ADDRESS ON FILE
PIERCE, JACOB                        ADDRESS ON FILE
PIERCE, JEFFERY BENNETT              ADDRESS ON FILE
PIERCE, JEREMY                       ADDRESS ON FILE
PIERCE, JEREMY                       ADDRESS ON FILE
PIERCE, JOEL                         ADDRESS ON FILE
PIERCE, KARLA                        ADDRESS ON FILE
PIERCE, LAWRENCE                     ADDRESS ON FILE
PIERCE, NICHOLAS                     ADDRESS ON FILE
PIERCE, RANDY                        ADDRESS ON FILE
PIERCE, RANDY                        ADDRESS ON FILE
PIERCE, REGINALD                     ADDRESS ON FILE
PIERCE, RICHARD                      ADDRESS ON FILE
PIERCE, ROBERT                       ADDRESS ON FILE
PIERCE, RODNEY                       ADDRESS ON FILE
PIERCE, THOMAS                       ADDRESS ON FILE
PIERCE, TIMOTHY                      ADDRESS ON FILE
PIERCE, WILLIAM                      ADDRESS ON FILE
PIERCY, BRYAN                        ADDRESS ON FILE
PIERCY, TIMOTHY                      ADDRESS ON FILE
PIERFEDERICI, JERRY                  ADDRESS ON FILE
PIEROG, CHRISTOPHER                  ADDRESS ON FILE
PIERRE BERTRAND                      ADDRESS ON FILE
PIERRE C LEDBETTER                   ADDRESS ON FILE
PIERRE FORTUNE                       ADDRESS ON FILE
PIERRE SMITH                         ADDRESS ON FILE
PIERRE TRUCK LINES INC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PIERRE, FRANTZLEY                    ADDRESS ON FILE
PIERRE, FRANTZLEY                    ADDRESS ON FILE
PIERRE, MATSOLILAS                   ADDRESS ON FILE
PIERRE-LUC HUOT                      ADDRESS ON FILE
PIERSCHALLA, STEVEN                  ADDRESS ON FILE
PIERSON, DANIEL                      ADDRESS ON FILE
PIERSON, GARY                        ADDRESS ON FILE
PIERSON, KEVIN                       ADDRESS ON FILE
PIERSON, MILTON                      ADDRESS ON FILE
PIERSON, PRINCETON                   ADDRESS ON FILE
PIETRYKA, ADAM                       ADDRESS ON FILE
PIETRZAK, CASEY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1490 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1499 of 2156

Claim Name                           Address Information
PIFER PROPERTY HOLDINGS LP           687 CLEAR BROOK DRIVE KELLER TX 76248
PIFER PROPERTY HOLDINGS, LP          ATTN: KEVIN PIFER, PIFER SONS, LLC 687 CLEAR BROOK DRIVE KELLER TX 76248
PIGATT, GLORIA                       ADDRESS ON FILE
PIGEON FREIGHT SVCS, INC.            OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
PIGG, FLOYD                          ADDRESS ON FILE
PIGGOTT, CASEY                       ADDRESS ON FILE
PIGGUE, BARRY                        ADDRESS ON FILE
PIGGYBACK SERVICE CO.                P O BOX 5262 CHARLOTTE NC 28299
PIGNATO, ANTHONY                     ADDRESS ON FILE
PIGUES, ROBERT                       ADDRESS ON FILE
PIKAL, LAUREN                        ADDRESS ON FILE
PIKE TRANSFER, LLC                   7520 WELCOME ROAD NEW GERMANY MN 55367
PIKE TRANSPORT, INC.                 353 US 41 EAST NEGAUNEE MI 49866
PIKE, DENNIS E                       ADDRESS ON FILE
PIKE, JEFFREY                        ADDRESS ON FILE
PIKE, KEVIN                          ADDRESS ON FILE
PIKE, WILLIAM                        ADDRESS ON FILE
PIKES PEAK MOBILE TRUCK              P.O. BOX 63024 COLORADO SPRINGS CO 80962
PIKES, MALCOLM                       ADDRESS ON FILE
PIKUL, MATEUSZ                       ADDRESS ON FILE
PIKUS, LARRY                         ADDRESS ON FILE
PILARSKI, ABAGALE                    ADDRESS ON FILE
PILATE, DARRYLE                      ADDRESS ON FILE
PILCH, SCOTT                         ADDRESS ON FILE
PILCHER, SAMUEL                      ADDRESS ON FILE
PILECKI, MARK                        ADDRESS ON FILE
PILGER, BRITTANY                     ADDRESS ON FILE
PILGER, MICHAEL                      ADDRESS ON FILE
PILGER, SAM                          ADDRESS ON FILE
PILGRIM, JUSTIN                      ADDRESS ON FILE
PILGRIM, PHILLIP                     ADDRESS ON FILE
PILKINGTON, ALTHEA                   ADDRESS ON FILE
PILLARD TRANSPORTATION LLC           14535 SKYGAZE ST HOUSTON TX 77090-6205
PILLMEIER, JOSEPH M                  ADDRESS ON FILE
PILLMEIER, PILLSIE                   ADDRESS ON FILE
PILLOW, CHRISTOPHER                  ADDRESS ON FILE
PILLOW, JAMES                        ADDRESS ON FILE
PILLOW, ROBERT                       ADDRESS ON FILE
PILOT                                4607 S. HARDING STREET INDIANAPOLIS IN 46217
PILOT 777 LLC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PILOT TRANS INC                      OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
PILOT TRAVEL CENTERS LLC             5500 LONAS DR. SUITE 260 KNOXVILLE TN 37909
PILOT TRAVEL CENTERS LLC             5500 LONAS RD KNOXVILLE TN 37909
PILOT TRAVEL CENTERS LLC             ADAM WRIGHT, CHIEF EXECUTIVE OFFICER 5500 LONAS DRIVE KNOXVILLE TN 37909
PILOT TRAVEL CENTERS LLC             PO BOX 11407 BIRMINGHAM AL 35246
PILOT, MATHEW                        ADDRESS ON FILE
PILUSOS SALES AND SERVICE LLC        PO BOX 342, 121 MOHAWK ST WHITESBORO NY 13492
PILUSOS SERVICE                      PO BOX 342 WHITESBORO NY 13492
PIMA COUNTY                          PO BOX 29011 PHOENIX AZ 85038



Epiq Corporate Restructuring, LLC                                                               Page 1491 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1500 of 2156

Claim Name                           Address Information
PIMA COUNTY TREASURER                PO BOX 29011 PHOENIX AZ 85038
PIMENTEL, ANTONIO                    ADDRESS ON FILE
PIMENTEL, DAVID                      ADDRESS ON FILE
PIMENTEL, JESUS                      ADDRESS ON FILE
PIMENTEL, JOEL                       ADDRESS ON FILE
PIMENTEL, JORGE                      ADDRESS ON FILE
PIMENTEL, JUSTIN                     ADDRESS ON FILE
PIMENTEL, LISA                       ADDRESS ON FILE
PIMENTEL, LUIS                       ADDRESS ON FILE
PIMENTEL, MATTHEW                    ADDRESS ON FILE
PIMENTEL, RICARDO                    ADDRESS ON FILE
PIN 2 PIN LOGISTICS LTD              OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
PINA CARGO LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
PINA FLORES, LEONARDO                ADDRESS ON FILE
PINA TRUCKING                        OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
PINA TRUCKING LLC (LOS ANGELES CA)   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PINA, ARTHUR                         ADDRESS ON FILE
PINA, JOSE                           ADDRESS ON FILE
PINA, LEILA                          ADDRESS ON FILE
PINAQUEL GROUP LLC                   OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PINCHIN LTD                          2470 MILLTOWER COURT MISSISSAUGA ON L5N 7W5 CANADA
PINCKNEY, JELANI                     ADDRESS ON FILE
PINCKNEY, JOHN                       ADDRESS ON FILE
PINDER, DAVID                        ADDRESS ON FILE
PINE DOOR MANUFACTURING INC          PO BOX 178 DARBY MT 59829
PINE LOGISTICS CORP                  OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PINE PALLET EXPRESS, INC.            3909 TR 369 MILLERSBURG OH 44654
PINE POINT FARMS TRUCKING LLC        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PINE TREE TOWING                     11427 E PIKE CAMBRIDGE OH 43725
PINEAPPLE TRANSPORTATION LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PINEAU, JOHN                         ADDRESS ON FILE
PINEAU, JOHN                         ADDRESS ON FILE
PINEDA ARTEAGA, MIGUEL               ADDRESS ON FILE
PINEDA LOGISTIC LLC                  OR ECAPITAL FREIGHT FACTORING IN PO BOX 206773 DALLAS TX 75320-6773
PINEDA, DOMINIC                      ADDRESS ON FILE
PINEDA, GERSSON                      ADDRESS ON FILE
PINEDA, MIGUEL                       ADDRESS ON FILE
PINEDA, RUBEN                        ADDRESS ON FILE
PINEDA, ULISES                       ADDRESS ON FILE
PINEDO, ANDREW                       ADDRESS ON FILE
PINEGAR, PATRICK                     ADDRESS ON FILE
PINEIRO GARCIA, RAYMOND              ADDRESS ON FILE
PINEIRO, LOUIS E                     ADDRESS ON FILE
PINETTE, STEVEN                      ADDRESS ON FILE
PINEWOOD STUDIOS                     461 SANDY CREEK RD SUITE 1102 ATLANTA GA 30214
PINEWOOD TRANSPORT, LTD.             1651 REFUGEE ROAD COLUMBUS OH 43207
PING PONG EXPRESS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PING PONG EXPRESS LLC                OR ECAPITAL FREIGHT FACTORING (EAST) CORP PO BOX 100920 ATLANTA GA 30384-0920
PINHO, JOSEPH                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1492 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1501 of 2156

Claim Name                           Address Information
PINK LOGISTICS LLC                   325 INDUSTRIAL RD ADAMSVILLE TN 38310
PINK LOGISTICS LLC                   OR INVOICE SOLUTIONS, PO BOX 858 ADAMSVILLE TN 38310
PINK LOGISTICS LLC                   OR BINTEE CAPITAL, 4940 W LAWRENCE AVE CHICAGO IL 60630
PINK PANTHERS, INC.                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PINKER, AMY                          ADDRESS ON FILE
PINKERTON, MICHAEL                   ADDRESS ON FILE
PINKERTON, SCOTT                     ADDRESS ON FILE
PINKHAM, AUSTIN                      ADDRESS ON FILE
PINKHAM, DEBRA                       ADDRESS ON FILE
PINKI Y CEREBRO LLC                  OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
PINKNEY, ANTHONY                     ADDRESS ON FILE
PINKNEY, JOSHUA                      ADDRESS ON FILE
PINKNEY, TERRELL                     ADDRESS ON FILE
PINKOWSKI, TODD                      ADDRESS ON FILE
PINKSTON, LAWRENCE                   ADDRESS ON FILE
PINKSTON, PAUL                       ADDRESS ON FILE
PINNACLE ELITE LOGISTICS LLC         OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
PINNACLE FARM LABOR INC              P O BOX 1149 SOMIS CA 93066
PINNACLE FLEET SOLUTIONS             PO BOX 742294 ATLANTA GA 30384
PINNACLE FLEET SOLUTIONS             62861 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
PINNACLE HEALTH ABC LLC              PO BOX 826813 PHILADELPHIA PA 19182
PINNACLE MFG CO INC                  17680 BUTTERFIELD BLVD STE 100 MORGAN HILL CA 95037
PINNACLE PROPANE, LLC                124-MIDLAND, TX SVC CNTR, PO BOX 801167 KANSAS CITY MO 64180
PINNACLE PROPANE, LLC                PO BOX 140128 IRVING TX 75014
PINNACLE PROPANE, LLC                124 MIDLAND, PO BOX 20581 DALLAS TX 75320
PINNACLE PROPANE, LLC                124-MIDLAND, TX SVC CENTER PO BOX 205814 DALLAS TX 75320
PINNACO TRANSPORTATION               OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
PINNICK, BARRY                       ADDRESS ON FILE
PINNOCK, ALECIA                      ADDRESS ON FILE
PINNOCK, ANDREW                      ADDRESS ON FILE
PINO, DANIEL                         ADDRESS ON FILE
PINO, JOHN                           ADDRESS ON FILE
PINOLE VALLEY TRUCKING INC           202 S ROCHESTER AVE ONTARIO CA 91761
PINON, ALEXIS                        ADDRESS ON FILE
PINON, JESUS                         ADDRESS ON FILE
PINPOINT LOGISTICS LLC               OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
PINSON, BENNY                        ADDRESS ON FILE
PINSON, CATTO L                      ADDRESS ON FILE
PINSON, DAKOTA                       ADDRESS ON FILE
PINTADO, MARIO                       ADDRESS ON FILE
PINTEL, EVAN                         ADDRESS ON FILE
PINTER, PHILLIP M                    ADDRESS ON FILE
PINTO EXPRESS L.L.C.                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PINTO SORIANO, MIGUEL                ADDRESS ON FILE
PINTO, CARLOS                        ADDRESS ON FILE
PINTO, JOHN                          ADDRESS ON FILE
PINTO, MERVIN A                      ADDRESS ON FILE
PINTOFF, DALE                        ADDRESS ON FILE
PINTOR, RAUL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1493 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1502 of 2156

Claim Name                           Address Information
PINWHEEL COMPANY                     1063 MARIPOSA DR YUBA CITY CA 95991
PINZARU EXPRESS INC                  2125 138TH PLACE SE MILL CREEK WA 98012
PINZON, JULIO                        ADDRESS ON FILE
PIO, JOSE                            ADDRESS ON FILE
PIONEER ATHELETICS                   4529 INDUSTRIAL PKWY CLEVELAND OH 44135
PIONEER CARAVAN TRUCKING INC         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PIONEER DOCK EQUIPMENT               D/B/A: PIONEER MANUFACTURING INC PO BOX 338 SPRING HILL TN 37174
PIONEER HEATING AND                  AIR CONDITIONING COMPANY, INC 4604 MILL BRANCH LN. KNOXVILLE TN 37938
PIONEER HEATING AND                  AIR CONDITIONING COMPANY, INC CONDITIONING, INC, 4604 MILL BRANCH LANE
                                     KNOXVILLE TN 37938
PIONEER HEAVY DUTY PARTS, INC.       2000 FALL RIVER AVE SEEKONK MA 02771
PIONEER LOADING DOCK EQUIP           P.O. BOX 338 SPRING HILL TN 37174
PIONEER LOADING DOCK EQUIPMENT       PO BOX 338 SPRING HILL TN 37174
PIONEER MANUFACTURING INC            PO BOX 338 SPRING HILL TN 37174
PIONEER TANK LINES, INC.             12501 HUDSON ROAD SOUTH AFTON MN 55001
PIONEER TRANSPORTATION LTD.          N2130 HWY 17 MERRILL WI 54452
PIOTRASCHKE, PAUL                    ADDRESS ON FILE
PIOTROWSKI, ADAM                     ADDRESS ON FILE
PIOTROWSKI, MISTY                    ADDRESS ON FILE
PIOTROWSKI, THOMAS                   ADDRESS ON FILE
PIOTRZKOWSKI, BRIAN                  ADDRESS ON FILE
PIOUS LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PIPE CREEK WINES                     ATTN: ANDY ZOULIAS 7204 RAINBOW LN FREDERICK MD 21702
PIPER II, GERRELL                    ADDRESS ON FILE
PIPER, ALFRED                        ADDRESS ON FILE
PIPER, FRITZI                        ADDRESS ON FILE
PIPER, JOHN                          ADDRESS ON FILE
PIPER, TINA                          ADDRESS ON FILE
PIPES TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PIPO, BRIAN                          ADDRESS ON FILE
PIPPEN, DANJAI                       ADDRESS ON FILE
PIPPIN TOWING CO                     1417 US 67 FESTUS MO 63028
PIPPIN TRUCK SERVICE LLC             1417 US HIGHWAY 67 FESTUS MO 63028
PIPPIN, RAY                          ADDRESS ON FILE
PIPPIN, ROBERT                       ADDRESS ON FILE
PIQUA TRANSFER & STORAGE COMPANY     PIQUA TRANSFER & STORAGE COMPANY PO BOX 823 PIQUA OH 45356
PIRAMID TRUCKING INC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PIRO, ANTHONY                        ADDRESS ON FILE
PIRTEK OHARE                         ADDRESS ON FILE
PIRTEK OHARE                         ADDRESS ON FILE
PIRTLE, TIMOTHY                      ADDRESS ON FILE
PIRULES TRUCKING INC                 11404 A AVE HESPERIA CA 92345
PIRZEK, ROB                          ADDRESS ON FILE
PISANI, GERALD                       ADDRESS ON FILE
PISAR, JOSEPH                        ADDRESS ON FILE
PISCIA, JESSICA                      ADDRESS ON FILE
PISCOPO, JOSEPH                      ADDRESS ON FILE
PISTELLO, JOSEPH                     ADDRESS ON FILE
PISTOL RIVER MUSHROOMS               24940 PISTOL RIVER LOOP GOLD BEACH OR 97444



Epiq Corporate Restructuring, LLC                                                            Page 1494 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1503 of 2156

Claim Name                               Address Information
PISTOLE, CRAIG                           ADDRESS ON FILE
PISTON TRANSPORT LTD                     PO BOX 2121 STATION-A ABBOTSFORD BC V2T 3X8 CANADA
PIT STOP TTS                             2050 S CHICAGO ST JOLIET IL 60436
PITBULL TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PITBULL TRANSPORT LLC                    OR TAB BANK, PO BOX 150830 OGDEN UT 84415
PITBULL TRUCKING LLC                     OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
PITBULL TRUCKING LLC (LAS VEGAS NV)      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PITCHER, CONNER                          ADDRESS ON FILE
PITCHER, LANCE                           ADDRESS ON FILE
PITCHER, LANCE D                         ADDRESS ON FILE
PITCHER, MICHAEL                         ADDRESS ON FILE
PITCO FRIALATOR                          TECH LOGISTICS, 300 ELM ST UNIT 1 MILFORD NH 03055
PITCO FRIALATOR PEMBROKE                 ATTN: 5923RDWY TECH LOGISTICS 300 ELM ST MILFORD NH 03055
PITCO FRIALATOR PEMBROKE                 ATTN: DANA DRAPER TECH LOGISTICS 300 ELM ST UNIT 1 MILFORD NH 03055
PITCO FRIALATOR PEMBROKE                 TECH LOGISTICS 300 ELM STREET UNIT 1 MILFORD NH 03055
PITCOCK BIOMEDICAL SUPPLY                5894 MURFREESBORO HWY MANCHESTER TN 37355
PITCOCK, STEVE                           ADDRESS ON FILE
PITEL, BRUCE E                           ADDRESS ON FILE
PITKUS, MARK                             ADDRESS ON FILE
PITNEY BOWES                             5490 INDUSTRIAL COURT SUITE 100 WHITESTOWN IN 46075
PITNEY BOWES BANK INC - RESERVE ACCOUNT 3001 SUMMER ST STAMFORD CT 06926
PITNEY BOWES BANK INC - RESERVE ACCOUNT PO BOX 223648 PITTSBURGH PA 15250
PITNEY BOWES BANK INC PURCHASE POWER     PO BOX 981026 BOSTON MA 02298
PITNEY BOWES GLOBAL FINANCIAL SERVICES   PO BOX 981022 BOSTON MA 02298
PITNEY BOWES GLOBAL FINANCIAL SERVICES   2225 AMERICAN DR NEENAH WI 54956
PITNEY BOWES INC.                        PO BOX 981039 BOSTON MA 02298
PITNEY BOWES INC.                        PO BOX 371896 PITTSBURGH PA 15250
PITNEY BOWES INC.                        FINANCIAL SERVICES LLC, PO BOX 371896 PITTSBURGH PA 15250-7896
PITNEY BOWES LEASING                     P.O. BOX 278 ORANGEVILLE ON L9W 2Z7 CANADA
PITNEY BOWES OF CANADA LTD               PO BOX 190 ORANGEVILLE ON L9W 2Z6 CANADA
PITNEY BOWES PRESORT SERVICES, INC.      PO BOX 6808 DEPT 008 CAROL STREAM IL 60197
PITNEY WORKS                             PO BOX 280 ORANGEVILLE ON L9W 2Z7 CANADA
PITRE, BYRON                             ADDRESS ON FILE
PITSCH, ROBERT                           ADDRESS ON FILE
PITT EXPRESS SYSTEMS, LLC                429 MOON CLINTON RD CORAOPOLIS PA 15108
PITT OHIO                                15 27TH ST PITTSBURGH PA 15222
PITT OHIO EXPRESS, LLC                   15 27TH STREET PITTSBURGH PA 15222
PITT PLASTICS                            ATTN: ANN KELLER P O BOX 356 PITTSBURG KS 66762
PITT PLASTICS                            ATTN: LAURA COVEY P O BOX 356 PITTSBURG KS 66762
PITT, BERNARD                            ADDRESS ON FILE
PITT, CAJUAN                             ADDRESS ON FILE
PITT, MICHAEL                            ADDRESS ON FILE
PITTA, LUIS                              ADDRESS ON FILE
PITTI, DANIEL                            ADDRESS ON FILE
PITTLER, JEFFERY                         ADDRESS ON FILE
PITTMAN ELECTRIC SERVICES INC            PO BOX 402 FERGUS ON N1M 3E2 CANADA
PITTMAN TRUCKING, INC.                   367 POWDERMILL CREEK ROAD NEWLAND NC 28657
PITTMAN, ANTHONY                         ADDRESS ON FILE
PITTMAN, DANA                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1495 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1504 of 2156

Claim Name                              Address Information
PITTMAN, DEMETRIUS                     ADDRESS ON FILE
PITTMAN, DEXTER                        ADDRESS ON FILE
PITTMAN, DOUGLAS                       ADDRESS ON FILE
PITTMAN, GUY S                         ADDRESS ON FILE
PITTMAN, JEFFREY                       ADDRESS ON FILE
PITTMAN, JOHNNY                        ADDRESS ON FILE
PITTMAN, JUNIOUS                       ADDRESS ON FILE
PITTMAN, KENEISHA                      ADDRESS ON FILE
PITTMAN, LACY                          ADDRESS ON FILE
PITTMAN, LARRY                         ADDRESS ON FILE
PITTMAN, MARCUS                        ADDRESS ON FILE
PITTMAN, NESBY                         ADDRESS ON FILE
PITTMAN, PRESHAY                       ADDRESS ON FILE
PITTMAN, RAHMAN                        ADDRESS ON FILE
PITTMAN, STEVE                         ADDRESS ON FILE
PITTS AND SONS INC.                    1850 SHELTON BEACH RD EXT SARALAND AL 36571
PITTS, ARTHUR                          ADDRESS ON FILE
PITTS, CHRISTOPHER                     ADDRESS ON FILE
PITTS, CLYDE                           ADDRESS ON FILE
PITTS, COREY                           ADDRESS ON FILE
PITTS, GARRY                           ADDRESS ON FILE
PITTS, JOSHUA                          ADDRESS ON FILE
PITTS, LAWRENCE                        ADDRESS ON FILE
PITTS, LEWIS                           ADDRESS ON FILE
PITTS, MICHAEL                         ADDRESS ON FILE
PITTS, NORRIS                          ADDRESS ON FILE
PITTS, ZINA                            ADDRESS ON FILE
PITTSBURGH FAYETTE EXPRESS INC         400 MAIN ST BELLE VERNON PA 15012
PITTSFORD COLLISIONLLC.                4492 S PITTSFORD RD PITTSFORD MI 49271
PITTSTOP EXPRESS LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PIUS TAKES HORSE                       ADDRESS ON FILE
PIVAS, NEDELJKO                        ADDRESS ON FILE
PIVOT OCCUPATIONAL HEALTH              PO BOX 825469 PHILADELPHIA PA 19182
PIVOT OCCUPATIONAL HEALTH              D/B/A WORKPRO OCCUPATIONAL & EMPLOYEE HEALTH 501 FAIRMOUNT AVE SUITE 302
                                       TOWSON MD 21286
PIVOT TECHNOLOGY SERVICES CORP         6025 THE CORNERS PKWY SUITE 120 NORCROSS GA 30092
PIVOT TECHNOLOGY SERVICES CORP         P.O. BOX 733113 DALLAS TX 75373
PIZARRO, DAVID                         ADDRESS ON FILE
PIZARRO, GUSTAVO                       ADDRESS ON FILE
PIZARRO, GUSTAVO                       ADDRESS ON FILE
PIZZANO, JAVIER                        ADDRESS ON FILE
PIZZINI, BETTY                         ADDRESS ON FILE
PJ TRANS INC                           OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
PJ TRANSPORT LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PJ&T TRANSPORTATION LLC                710 E JACKSON ST WEST UNITY OH 43570
PJJ EXPRESS INC                        PO BOX 389270 CHICAGO IL 60638
PJS INC TRAILER & REEFER REPAIR        PO BOX 880 STANFIELD OR 97875
PJS INC TRAILER & REEFER REPAIR        PO BOX 880   EXIT 198 OFF INTERSTATE 84 STANFIELD OR 97875
PJS INC TRUCK TRAILER AND REEFER REPAIR PO BOX 880 EXIT 198 OFF OF INTERSTATE 84 STANFIELD OR 97875



Epiq Corporate Restructuring, LLC                                                                 Page 1496 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1505 of 2156

Claim Name                           Address Information
PK                                   OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425
PKAYS TRANSPORTATION INC             OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
PKD EXPRESS LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PKG EXPRESS, INC.                    PO BOX 301 SHELBYVILLE IN 46176
PKT TRUCKING LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PL & Y TRUCKING CORP                 249 ROCKWOOD ST PORT CHARLOTTE FL 33952
PL DEVELOPMENTS                      ATTN: JOE CAPOBIANCO 200 HICKS ST WESTBURY NY 11590
PL DEVELOPMENTS                      ATTN: JOE CAPOBIANCO TRANSPORTATION 200 HICKS WESTBURY NY 11590
PLACE, DONALD                        ADDRESS ON FILE
PLACE, TODD                          ADDRESS ON FILE
PLACENCIA, KIMBERLY                  ADDRESS ON FILE
PLACID REFINING COMPANY, LLC         1940 LA-1 PORT ALLEN LA 70767
PLAIN, JAMES                         ADDRESS ON FILE
PLAINFIELD EQUIPMENT                 716 W. MAIN ST PLAINFIELD IN 46168
PLAINFIELD LOGISTICS LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PLAINFIELD TRUCKING, INC.            P. O. BOX 306 PLAINFIELD WI 54966
PLAINS TRANSPORTATION INC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PLAINVIEW WATER DISTRICT             10 MANETTO HILL RD PLAINVIEW NY 11803
PLAISANCE, JAMES                     ADDRESS ON FILE
PLAISTED COMPANIES INC               PO BOX 332 ELK RIVER MN 55330
PLAISTED, BRAD                       ADDRESS ON FILE
PLAKIO, MATTHEW                      ADDRESS ON FILE
PLAMBECK JR, JAMES A                 ADDRESS ON FILE
PLAN B EXPRESS LLC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PLANA TRANSPORTATION INC             OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
PLANE, CHRISTOPHER                   ADDRESS ON FILE
PLANET GROUP INC                     1600 N DE PRIZIO DR MELROSE PARK IL 60160
PLANET LOGISTICS INC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PLANET LOGISTICS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PLANET TRANSPORT SVCS LLC            OR MCDOWELL FACTOR & OR MCDOWELL FACTOR & CAPITAL SVCS LLC P.O.BOX 161086
                                     ALTAMONTE SPRINGS FL 32716
PLANETA, STEVE                       ADDRESS ON FILE
PLANIC, WILLIAM                      ADDRESS ON FILE
PLANK, DAVID                         ADDRESS ON FILE
PLANT MARVEL LABORATORIES INC        ATTN: ANDREA WALLENBERG 371 E 16TH ST CHICAGO HTS IL 60411
PLANT STAND OF ARIZONA               1765 N ELSTON AVE CHICAGO IL 60644
PLANTON, CHRIS                       ADDRESS ON FILE
PLASCENCIA SALCIDO, JOSE             ADDRESS ON FILE
PLASCENCIA, AGUSTIN                  ADDRESS ON FILE
PLASENCIA, DELMO                     ADDRESS ON FILE
PLASPROS INC.                        1143 RIDGEVIEW DR MCHENRY IL 60050
PLASTIC EXPRESS                      114 MOREHEAD RD. STATESVILLE NC 28677
PLASTIC RECYCLING OF IOWA            FALLS INC., 10252 HWY 65 IOWA FALLS IA 50126
PLASTICS PLUS C/O ECHO               ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
PLASTILITE CORPORATION               4930 BATTLEFIELD DR OMAHA NE 68152
PLATER, DENARD                       ADDRESS ON FILE
PLATER, EDWIN                        ADDRESS ON FILE
PLATINUM CARRIERS INC                OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
PLATINUM CARRIERS LLC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                             Page 1497 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1506 of 2156

Claim Name                           Address Information
PLATINUM CARTAGE INC                 20555 DEVONSHIRE ST 159 CHATSWORTH CA 91311
PLATINUM E TRANSPORT LLC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PLATINUM ELECTRIC INC                17W040 WASHINGTON ST BENSENVILLE IL 60106
PLATINUM ELITE TRANSPORTATION LLC    OR W W PAYMENT SYSTEM INC DEPT. 996, PO BOX 14910 HUMBLE TX 77347-4910
PLATINUM EXPRESS                     OR CAPITAL CREDIT INC, PO BOX 204695 DALLAS TX 75320
PLATINUM EXPRESS LTD                 PO BOX 21022 REGINA SK S4V 0Y0 CANADA
PLATINUM FREIGHT LLC                 OR TRIUMPH FINANCIAL SVCS PO BOX 610028 DALLAS TX 75261-0028
PLATINUM TRANSPORT, INC.             PO BOX 125 BROWNSBURG IN 46112
PLATINUM TRUCKING LLC (MC1452436)    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PLATT, CARSON                        ADDRESS ON FILE
PLATT, CHARLES                       ADDRESS ON FILE
PLATT, EZEKIEL                       ADDRESS ON FILE
PLATT, JOHN                          ADDRESS ON FILE
PLATT, JOHN L                        ADDRESS ON FILE
PLATT, KENNETH                       ADDRESS ON FILE
PLATT, SHELIA                        ADDRESS ON FILE
PLATTS                               PO BOX 848093 DALLAS TX 75284
PLAY LOGISTICS INC                   OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
PLAYER, ZACKARY                      ADDRESS ON FILE
PLAYMONSTER LLC C/O ECHO             ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
PLAZA FLEET PARTS                    311 MARION ST SAINT LOUIS MO 63104
PLAZA II AUTOMOTIVE INC              7564 INDIANA AVE RIVERSIDE CA 92504
PLAZA TOWING, INC.                   83-827 TAMARISK ST INDIO CA 92201
PLEAS, ERIK                          ADDRESS ON FILE
PLEASANT TRUCKING, INC.              2250 INDUSTRIAL DRIVE CONNELLSVILLE PA 15425
PLEASANT VIEW MFG CO INC             PO BOX 125 PLEASANT VIEW TN 37146
PLEASANT, ANTHONY                    ADDRESS ON FILE
PLEASANT, DARRION                    ADDRESS ON FILE
PLEASANT, TERRANCE                   ADDRESS ON FILE
PLEASANTS COMMONWEALTH               TRANSPORTATION LLC OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO
                                     IL 60674-0411
PLECZEN, MICHAEL                     ADDRESS ON FILE
PLEDGER, CHRISTINE                   ADDRESS ON FILE
PLEITEZ, ERIK                        ADDRESS ON FILE
PLEITEZ, VICTOR                      ADDRESS ON FILE
PLEUGH, TONY                         ADDRESS ON FILE
PLEXUS TRANSPORTS                    OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
PLG TRANSPORT INC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
PLIMPTON & HILLS CORP                ATTN: ALINA KARPIEJ, 300 RESEARCH PKWY MERIDEN CT 06450
PLISKA, TRINA                        ADDRESS ON FILE
PLJ TRUCKING INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PLOCHER CONSTRUCTION CO INC          2808 THOLE PLOCHER RD HIGHLAND IL 62249
PLOGER TRANSPORTATION LLC            300 CLEVELAND RD. NORWALK OH 44857
PLOSKI, JAMES                        ADDRESS ON FILE
PLOTT, CHRISTOPHER                   ADDRESS ON FILE
PLOTT, J                             ADDRESS ON FILE
PLOTT, JC                            ADDRESS ON FILE
PLOTT, JC                            ADDRESS ON FILE
PLOTT, JR., JC                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1498 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1507 of 2156

Claim Name                              Address Information
PLOTT, JR., JC                          ADDRESS ON FILE
PLOTT, KEENON                           ADDRESS ON FILE
PLOURDE, MARGARET                       ADDRESS ON FILE
PLOWMAN, STUART                         ADDRESS ON FILE
PLP TRUCKING LLC                        OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
PLS LOGISTICS SERVICE                   ATTN: BRIAN STERLING 2000 WESTINGHOUSE DR UNIT 201 CRANBERRY TOWNSHIP PA 16066
PLS LOGISTICS SERVICES                  2000 WESTINGHOUSE DR UNIT 201 CRANBERRY TWP PA 16066
PLS LOGISTICS SERVICES, INC.            ATTN: JOEY SMITH 3120 UNIONVILLE RD BLDG 110 STE 100 CRANBERRY TOWNSHIP PA
                                        16066
PLT EXPRESS INC                         OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
PLT LINES                               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PLT LINES                               OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
PLTF.                                   C/O BENESCH FRIEDLANDER ATTN BLUBAUGH, MARC 121 SW MORRISON ST, STE 1020
                                        PORTLAND OR 97204
PLUCINSKI, SCOTT                        ADDRESS ON FILE
PLUM, ALEXANDER                         ADDRESS ON FILE
PLUMB, RICHARD                          ADDRESS ON FILE
PLUMBING THE BAY                        2610 BARRINGTON CT HAYWARD CA 94545
PLUME, STEPHEN                          ADDRESS ON FILE
PLUMLEY TRUCKING, INC.                  PO BOX 507 GREER SC 29652
PLUMMER CONSTRUCTION & EXCAVATING LLC   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PLUMMER, BYRON                          ADDRESS ON FILE
PLUMMER, JAMES                          ADDRESS ON FILE
PLUMMER, NICHOLAS                       ADDRESS ON FILE
PLUMMER, RAY                            ADDRESS ON FILE
PLUMMER, SPENCER                        ADDRESS ON FILE
PLUMMER, STEVEN                         ADDRESS ON FILE
PLUMMER, STEVEN R                       ADDRESS ON FILE
PLUMMER, TED                            ADDRESS ON FILE
PLUMP, JOSEPH                           ADDRESS ON FILE
PLUNK, GAYLEN                           ADDRESS ON FILE
PLUNKETT, ANGELICIA                     ADDRESS ON FILE
PLUNKETT, EARL                          ADDRESS ON FILE
PLUNKETT, JOSHUA                        ADDRESS ON FILE
PLUNKETT, JOSHUA K                      ADDRESS ON FILE
PLUNKETT, MARK P                        ADDRESS ON FILE
PLUNKETTS PEST CONTROL                  40 52ND WAY NE FRIDLEY MN 55421
PLUS 381 TRUCKING LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PLUS FREIGHT SYSTEMS LLC                518 S ROUTE 31, UNIT 328 MCHENRY IL 60050
PLUS FREIGHT SYSTEMS LLC                OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
PLUS ONE EXPRESS                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PLUS ONE TRANSPORT                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PLUS TRANSPORT LTD                      30914 UPPER MACLURE ROAD ABBOTSFORD BC V2T 0A4 CANADA
PLUS TRANZ INC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PLUS TRANZ INC                          PO BOX 8537 FRESNO CA 93747
PLUT, KYLE                              ADDRESS ON FILE
PLYMELL, JESICA                         ADDRESS ON FILE
PLYMOUTH FOUNDRY INC.                   523 W. HARRISON ST PLYMOUTH IN 46563
PLYMOUTH, TAVARIS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1499 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1508 of 2156

Claim Name                               Address Information
PM LOGISTICS LLC                         OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
PM TRANSPORTATION LLC                    OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PM TRANSPORTATION LLC                    OR TRIUMPH BUS. CAPITA PO BOX 610028 DALLAS TX 75261-0028
PM TRUCK REPAIR                          PO BOX 403 WEST SACRAMENTO CA 95691
PM4 TEAM LLC                             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PMA TRUCKING INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
PMA TRUCKING LLC                         OR S. S BROWNFUNDING, P.O. BOX 1267 MANSFIELD TX 76063
PMAJ TRANSPORTATION LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PMC FINANCIAL SERVICES GROUP LLC         3816 E LA PALMA AVE ANAHEIM CA 92807
PMF LOGISTICS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PMF RENTALS                              124 PLUNKETT DR ZELIENOPLE PA 16063
PMG EXPRESS LLC                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PMG TRANSPORTATION SVCS LLC              OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PMK EXPRESS INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
PML CAPITAL                              ATTN: GENERAL COUNSEL 13112 NE 20TH ST STE 100 BELLEVUE WA 98005-2045
PML TRUCKING INC                         OR CONCEPT FINANCIAL GROUP INC PO BOX 490700 MINNEAPOLIS MN 55449
PML TRUCKING LLC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PMLN TRUCKING LLC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PMN FREIGHT LLC                          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PMO EXPRESS LLC                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PMP TRANSPORT                            5605 N BENTSEN PALM DR MISSION TX 78574-7100
PMT LOGISTICS LLC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PMV TRANSPORT LLC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PN TRUCKING INC                          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PNA EXPRESS LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PNB TRANSPORT LLC                        OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PNB TRUCKING LLC                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
PNC BANK                                 ONE FINANCIAL PKWY KALAMAZOO MI 49009
PNC BANK NATIONAL ASSOCIATION            TRADE SVCS OPERATIONS 500 FIRST AVENUE 2ND FLOOR PITTSBURGH PA 15219
PNC BANK NATIONAL ASSOCIATION            249 FIFTH AVENUE PITTSBURGH PA 15222
PNEUMA TUBE CARRIER PARTS & REPAIR INC   901 POPE AVE STE 15 HAGERSTOWN MD 21740
PNM                                      414 SILVER AVE SW ALBURQUERQUE NM 87102
PNP EXPRESS                              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
PNW TRUCKS LLC                           OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
POBLOCKI PAVING CORP                     PO BOX 13456 WAUWATOSA WI 53213
POC TRUCKING CO                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
POCAS ECHO                               ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
POCHES, RACHEL                           ADDRESS ON FILE
POCHRON, NANCY                           ADDRESS ON FILE
POCKETINET COMMUNICATIONS INC            2919 E ISAACS AVE WALLA WALLA WA 99362
POCKETINET COMMUNICATIONS INC            2919 ISAACS AVE WALLA WALLA WA 99362
POCKEVICH, DANIEL                        ADDRESS ON FILE
POCKEVICH, THOMAS                        ADDRESS ON FILE
POCONO MOTOR FREIGHT INC                 522 MEMORIAL BLVD RT 611 TOBYHANNA PA 18466
POCRNICH, RICHARD                        ADDRESS ON FILE
PODEST, MICHELLE                         ADDRESS ON FILE
PODGORSKI, JOSEPH                        ADDRESS ON FILE
PODIUM LOGISTICS EXPRESS LLC             PO BOX 2267 RINCON GA 31326-2267



Epiq Corporate Restructuring, LLC                                                                   Page 1500 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1509 of 2156

Claim Name                              Address Information
PODKLADEK, JASON                       ADDRESS ON FILE
PODOLETZ, JEFFREY                      ADDRESS ON FILE
PODOLETZ, PATRICK                      ADDRESS ON FILE
PODOSEK, NATHANIEL                     ADDRESS ON FILE
POE, JOSE                              ADDRESS ON FILE
POEPPING, AUSTIN A                     ADDRESS ON FILE
POEPSEL, DOUGLAS                       ADDRESS ON FILE
POETKER, BRIAN                         ADDRESS ON FILE
POGOR, EDWARD                          ADDRESS ON FILE
POGOR, EDWARD J                        ADDRESS ON FILE
POHL TRANSPORTATION, INC.              P O BOX 334 VERSAILLES OH 45380
POHL, DOUGLAS                          ADDRESS ON FILE
POHL, KEVIN                            ADDRESS ON FILE
POHL, VANESSA                          ADDRESS ON FILE
POINDEXTER, DARLENE                    ADDRESS ON FILE
POINDEXTER, GARY W                     ADDRESS ON FILE
POINDEXTER, JAY                        ADDRESS ON FILE
POINDEXTER, JUSTIN                     ADDRESS ON FILE
POINDEXTER, MICHAEL                    ADDRESS ON FILE
POINDEXTER, MICHAEL                    ADDRESS ON FILE
POINDEXTER, PETER                      ADDRESS ON FILE
POINT 2 POINT LOGISTICS INC            OR LIQUID CAPITAL EXCHANGE CORP 5576 YOUNGE ST TORONTO ON M2N0B6 CANADA
POINT 2 POINT LOGISTICS INC (MC1022952) 3637 152ND PLACE MIDLOTHIAN IL 60445
POINT A TRUCKING, L.L.C.               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
POINT A2B LOGISTICS LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
POINT A2Z DRIVERS LLC                  13826 PILCHER DR CHARLOTTE NC 28278
POINT DEDICATED SERVICES               1300 E BIG BEAVER RD TROY MI 48083
POINT GUARD TRANSPORTATION LLC         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
POINT LOGISTICS INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
POINT PLUS LOGISTICS INC               OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
POINT ROBERTS AUTO FREIGHT             3975 IRONGATE RD STE 120 BELLINGHAM WA 98226
POINT TO POINT SOLUTIONS LLC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
POINT TO POINT TRUCKING LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
POINTDIRECT TRANSPORT, INC.            10858 ALMOND AVE FONTANA CA 92337
POINTER, DUSTIN                        ADDRESS ON FILE
POINTER, LARRY                         ADDRESS ON FILE
POINTER, ROBERT W                      ADDRESS ON FILE
POINTS WEST MARKETING                  ATTN: CLINTON PHILLIPS 60 DE BAETS ST WINNIPEG MB R2J 3S9 CANADA
POIRIER & SPRINGER, INC.               17E STERLING RD BILLERICA MA 01862
POIRIER, JONATHAN                      ADDRESS ON FILE
POIRIER, KAMRYN                        ADDRESS ON FILE
POIST GAS CO.                          360 MAIN ST LAUREL MD 20707
POKAKAA, DUDLEY                        ADDRESS ON FILE
POKAKAA, JACOB                         ADDRESS ON FILE
POKE, DAMON                            ADDRESS ON FILE
POKER TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
POKOJSKI, JOSHUA                       ADDRESS ON FILE
POKORNY, RONALD                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1501 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1510 of 2156

Claim Name                            Address Information
POKORSKI, FRED                        ADDRESS ON FILE
POL INTERNATIONAL CORPORATION         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
POL TRUCKING LLC                      1071 MERRIVALE CHASE, XXX ROSWELL GA 30075
POLA CONCESSION FEE                   425 SOUTH PALOS VERDES STREET SAN PEDRO CA 90731
POLAIN, DWIGHT                        ADDRESS ON FILE
POLAN, ROBERTO                        ADDRESS ON FILE
POLANCO, JOSE                         ADDRESS ON FILE
POLANCO, WILLIAM                      ADDRESS ON FILE
POLANCOS TRUCKING LLC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
POLARIS EXPRESS LLC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
POLARIS INDUSTRIES                    WILLIAMS AND ASSOCIATES, 405 E 78TH ST BLOOMINGTON MN 55420
POLARIS LABORATORIES, LLC             PO BOX 6457 DEPT 278 INDIANAPOLIS IN 46206
POLARIS LABORATORIES, LLC             7451 WINTON DRIVE INDIANAPOLIS IN 46268
POLARIS LOGISTICS INC                 OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
POLARIS TRUCKING LLC (MC945139)       OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
POLCYN, ANTHONY                       ADDRESS ON FILE
POLE POSITION LOGISTICS               OR TAB BANK, PO BOX 150830 OGDEN UT 84415
POLE POSITION TRANSPORT INC           OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
POLES, MAURICE                        ADDRESS ON FILE
POLET TRANSPORT INC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
POLFER, NICHOLAS                      ADDRESS ON FILE
POLI, FUATAI                          ADDRESS ON FILE
POLI, STACY                           ADDRESS ON FILE
POLINSKY, WESLEY                      ADDRESS ON FILE
POLISHED METALS LIMITED INC           487 HILLSIDE AVE HILLSIDE NJ 07205
POLISHED METALS LIMITED INC           P.O. BOX 936 HILLSIDE NJ 07205
POLITE, GEORGE T                      ADDRESS ON FILE
POLITE, GEORGE T                      ADDRESS ON FILE
POLITE, ISAIAH                        ADDRESS ON FILE
POLITI, JOHN                          ADDRESS ON FILE
POLITICO LLC                          ATTN: ACCOUNTING DEPT. 1000 WILSON BLVD 8TH FLOOR ARLINGTON VA 22209
POLITO, ANTHONY                       ADDRESS ON FILE
POLITZ, DAVID                         ADDRESS ON FILE
POLIVODA, DON                         ADDRESS ON FILE
POLK COUNTY CLERK OF CIRCUIT COURT    1005 W MAIN ST STE 300 BALSAM LAKE WI 54810
POLK COUNTY PUBLIC WORKS DEPARTMENT   5885 NE 14TH ST DES MOINES IA 50313
POLK COUNTY TREASURER                 111 COURT AVE DES MOINES IA 50309
POLK COUNTY TREASURER                 111 COURT AVE. DES MOINES IA 50309-2298
POLK COUNTY TREASURER                 MARY MALONEY, 111 COURT AVE. DES MOINES IA 50309-2298
POLK EXPRES INC                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
POLK, CODY                            ADDRESS ON FILE
POLK, DAVID                           ADDRESS ON FILE
POLK, JEREMIAH                        ADDRESS ON FILE
POLK, JERRY                           ADDRESS ON FILE
POLKA, MARTY                          ADDRESS ON FILE
POLKINGHORNE, GAIL                    ADDRESS ON FILE
POLKY, MICHAEL                        ADDRESS ON FILE
POLLACK, KATHLEEN                     ADDRESS ON FILE
POLLARA, PAUL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1502 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1511 of 2156

Claim Name                               Address Information
POLLARD TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
POLLARD, CALVIN                          ADDRESS ON FILE
POLLARD, DEMARIO                         ADDRESS ON FILE
POLLARD, JAMES                           ADDRESS ON FILE
POLLARD, JOSHUA                          ADDRESS ON FILE
POLLARI, ADAM                            ADDRESS ON FILE
POLLEY, PETER                            ADDRESS ON FILE
POLLICK JR, RONALD                       ADDRESS ON FILE
POLLICK, GEORGE                          ADDRESS ON FILE
POLLIO, PETER                            ADDRESS ON FILE
POLLITT TRUCKING, INC.                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
POLLITT TRUCKING, L.L.C.                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
POLLOCK PAPER DISTRIBUTORS               210 SW 14TH ST GRAND PRAIRIE TX 75051
POLLOCK, JASON                           ADDRESS ON FILE
POLLOCK, JOE                             ADDRESS ON FILE
POLO TRANSPORT SVCS LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
POLO, CARLOS                             ADDRESS ON FILE
POLOKOFF, ALLISON                        ADDRESS ON FILE
POLOWICK, DEAN                           ADDRESS ON FILE
POLSDOFER, TERRY                         ADDRESS ON FILE
POLSINELLI PC                            900 W 48TH PLACE SUITE 900 KANSAS CITY MO 64112
POLSLEY, GREGORY                         ADDRESS ON FILE
POLSTAR CHICAGO TRUCKING INC             6530 W IRVING PARK RD APT 207 CHICAGO IL 60634-2461
POLSTAR TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
POLSTER, PHILLIP                         ADDRESS ON FILE
POLTRANSIT LLC                           1340 WESTERN PINE CIR SARASOTA FL 34240
POLUMBUS, MELISSA                        ADDRESS ON FILE
POLUNSKY, GARY                           ADDRESS ON FILE
POLUTEA, VAVAE                           ADDRESS ON FILE
POLVON LLC                               OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
POLY AMERICA                             251 CONESTOGA WAY HENDERSON NV 89002
POLYAK, IGOR                             ADDRESS ON FILE
POLYANSKY, ANDREY                        ADDRESS ON FILE
POLYANSKY, IGOR                          ADDRESS ON FILE
POLYCAST                                 10103 MAIN B ST. HEBRON IL 60034
POLYJOHN C/O ECHO                        ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
POLYMASK AURORA PLANT                    ATTN: NICK BARTON 515 ENTERPRISE ST AURORA IL 60504
POLYMER RESOURCES LTD                    ATTN: PETER JOHNSON 656 NEW BRITAIN AVE FARMINGTON CT 06032
POLYMER SHAPES                           ATTN: LIESEL BOROVSKY IL2000 PO BOX 8372 VIRGINIA BEACH VA 23450
POLYMERSHAPES IL2000                     ATTN: HOLLY MENKE PO BOX 8372 VIRGINIA BEACH VA 23450
POLYMERSHAPES IL2000                     ATTN: LIESEL BOROVSKY PO BOX 8372 VIRGINIA BEACH VA 23450
POLYNICE, ALBENS                         ADDRESS ON FILE
POLYVINYL FILMS                          ATTN: LYDIA RIVERA 38 PROVIDENCE RD SUTTON MA 01590
POMALES, MANUEL                          ADDRESS ON FILE
POMBAR, HAROLD                           ADDRESS ON FILE
POMERENKE, KEVIN                         ADDRESS ON FILE
POMEROL PARTNERS LLC                     10900 S CLAY BLAIR BLVD, SUITE 1900 OLATHE KS 66061
POMEROY IT SOLUTIONS SALES COMPANY INC   DBA GETRONICS, PO BOX 631049 CINCINNATI OH 45263
POMEROY TECHNOLOGIES LLC                 PO BOX 7410512 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                   Page 1503 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1512 of 2156

Claim Name                           Address Information
POMEROY, JAMIE                       ADDRESS ON FILE
POMPEO, MICHAEL                      ADDRESS ON FILE
POMPEY, JOHN                         ADDRESS ON FILE
POMPS TIRE SERVICE, INC.             PO BOX 88697 MILWAUKEE WI 53288
POMPS TIRE SERVICE, INC.             PO BOX 88697 MILWAUKEE WI 53288-8697
PONCE GROUND SERVICE LLC             9680 HAVEN AVENUE SUITE 140 RANCHO CUCAMONGA CA 91730
PONCE TRUCKING                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
PONCE, ALFREDO                       ADDRESS ON FILE
PONCE, CRISTIAN                      ADDRESS ON FILE
PONCE, JOE                           ADDRESS ON FILE
PONCE, JOSE                          ADDRESS ON FILE
PONCE, LEONEL                        ADDRESS ON FILE
PONCE, LEONEL                        ADDRESS ON FILE
PONCE, LOUIE                         ADDRESS ON FILE
PONCE, OMAR                          ADDRESS ON FILE
PONCE-MURRAY, SCHIYO                 ADDRESS ON FILE
POND, MARTIN                         ADDRESS ON FILE
POND, SAMANTHA                       ADDRESS ON FILE
POND-LEINENWEAVER, KYLE              ADDRESS ON FILE
PONDER, JERMAINE                     ADDRESS ON FILE
PONDER, SETH                         ADDRESS ON FILE
PONDER, TODD                         ADDRESS ON FILE
PONDS, SYDNEY                        ADDRESS ON FILE
PONELEIT, RHONDA                     ADDRESS ON FILE
PONTIAC CITY TREASURER               47450 WOODWARD AVE 1ST FLOOR PONTIAC MI 48342
PONTICELLI, MARK                     ADDRESS ON FILE
PONTIUS, REX                         ADDRESS ON FILE
PONTOON SOLUTIONS, INC.              BOX 223672 PITTSBURGH PA 15251
PONTZ, CODY                          ADDRESS ON FILE
PONZER, RONALD                       ADDRESS ON FILE
POOCK, ERIC                          ADDRESS ON FILE
POOL & ELECTRICAL PRODUCTS           646 FLINN AVE. SUITE A MOORPARK CA 93021
POOL, JANICE                         ADDRESS ON FILE
POOL, JOHN                           ADDRESS ON FILE
POOL, RALPH & DEBORAH                ADDRESS ON FILE
POOL, YSIDRO                         ADDRESS ON FILE
POOLCORP TMC                         109 NORTHPARK BLVD FL 4 COVINGTON LA 70433
POOLE, BRIAN                         ADDRESS ON FILE
POOLE, DARYL                         ADDRESS ON FILE
POOLE, HARLEY                        ADDRESS ON FILE
POOLE, JEFFREY                       ADDRESS ON FILE
POOLE, JOHN                          ADDRESS ON FILE
POOLE, JOSEPH                        ADDRESS ON FILE
POOLE, JUSTIN                        ADDRESS ON FILE
POOLE, LEONARD                       ADDRESS ON FILE
POOLE, MARK                          ADDRESS ON FILE
POOLE, MONTE                         ADDRESS ON FILE
POOLE, NATHAN                        ADDRESS ON FILE
POOLE, ROBERT                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1504 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1513 of 2156

Claim Name                            Address Information
POOLE, ROGER                          ADDRESS ON FILE
POOLE, SHAWN                          ADDRESS ON FILE
POOLE, WILLIE                         ADDRESS ON FILE
POOLER TRUCKING LLC                   OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
POOLER, JAMES                         ADDRESS ON FILE
POOLMASTER C/O ECHO                   ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
POOLS WELDING INC                     816 W 10TH AVE MILAN IL 61264
POOR BOYS TRUCK REPAIR & TOWING LLC   926 W IN-42 BRAZIL IN 47834
POOR BOYS TRUCK REPAIR & TOWING LLC   1076 EAST COUNTY ROAD 300 NORTH CENTER POINT IN 47840
POOR, CODY                            ADDRESS ON FILE
POOR, LARRY                           ADDRESS ON FILE
POORE, BARRY                          ADDRESS ON FILE
POORE, MICHAEL                        ADDRESS ON FILE
POORMAN, RYAN                         ADDRESS ON FILE
POORMAN, STEVE                        ADDRESS ON FILE
POOT GONGORA, GILMER                  ADDRESS ON FILE
POP A LOCK OF THE CHIPPEWA VALLEY     2621 E CLAIREMONT AVE EAU CLAIRE WI 54701
POP CAPACITY INC                      PO BOX 1281 ALPHARETTA GA 30004
POP-A-LOCK OF NE WISCONSIN            708 OHIO ST OSHKOSH WI 54902
POP037 LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
POPE JR, JOHN                         ADDRESS ON FILE
POPE TRUCKING INC.                    P O BOX 188 PEARSON GA 31642
POPE, CALVIN                          ADDRESS ON FILE
POPE, CHRIS                           ADDRESS ON FILE
POPE, COREY                           ADDRESS ON FILE
POPE, DON D                           ADDRESS ON FILE
POPE, EARL                            ADDRESS ON FILE
POPE, JAKE                            ADDRESS ON FILE
POPE, JAMES                           ADDRESS ON FILE
POPE, JASMINE                         ADDRESS ON FILE
POPE, JAY                             ADDRESS ON FILE
POPE, JOHN                            ADDRESS ON FILE
POPE, KEITH                           ADDRESS ON FILE
POPE, KENNETH                         ADDRESS ON FILE
POPE, KENNETH                         ADDRESS ON FILE
POPE, KEVIN                           ADDRESS ON FILE
POPE, MICHAEL                         ADDRESS ON FILE
POPEKO, TOMMY                         ADDRESS ON FILE
POPKIN ELECTRIC INC                   87 ENGINEERS DR HICKSVILLE NY 11801
POPLAR TRANSPORT CORP                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
POPLAR, BROCK                         ADDRESS ON FILE
POPLAR, TYKEVIOUS                     ADDRESS ON FILE
POPLASKI, STEVEN                      ADDRESS ON FILE
POPLE, NATHAN                         ADDRESS ON FILE
POPLIN, JEFFREY                       ADDRESS ON FILE
POPMA, SCOTT                          ADDRESS ON FILE
POPOOLA, JACOB                        ADDRESS ON FILE
POPOS TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
POPP, JOSEPH                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1505 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1514 of 2156

Claim Name                           Address Information
POPP, MICHAEL                        ADDRESS ON FILE
POPP, PETER                          ADDRESS ON FILE
POPPLE, STEVEN                       ADDRESS ON FILE
POPPLE, STEVEN J                     ADDRESS ON FILE
POPS TRANSPORTING LLC                OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
POPULAR INVESTMENTS LLC              2453 SOUTH PLAZA DRIVE RAPID CITY SD 57702
POPULAR INVESTMENTS, LLC             ATTN: KORY WEISBECK 2453 SOUTH PLAZA DRIVE RAPID CITY SD 57702
POPULAR TRANSPORTATION LLC           522 TREBISKY RD RICHMOND HTS OH 44143
POPULAR TRUCK CARRIERS INC           UNIT 206- 8078-128 STREET SURREY BC V3W 4E9 CANADA
POPULAR TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PORCELANOSA                          2110 ZANKER RD SAN JOSE CA 95131
PORCELONOSA TILE                     ELVIA RODRIGUEZ, 600 STATE RT 17 RAMSEY NJ 07446
PORCHER, JEFFREY                     ADDRESS ON FILE
POROLISSUM EXPRESS LLC               OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
PORRAS, DIMAS                        ADDRESS ON FILE
PORRAS, EBER                         ADDRESS ON FILE
PORRAS, GABRIEL E                    ADDRESS ON FILE
PORRAS, JOSE ANDREI                  ADDRESS ON FILE
PORRAS, NICHOLAS                     ADDRESS ON FILE
PORRAS, PAUL                         ADDRESS ON FILE
PORT A COOL                          201 S. HWY. 45 SUITE 100 WILMER TX 75172
PORT AUTHORITY OF NY & NJ            VIOLATIONS PROCESSING CENTER PO BOX 15186 ALBANY NY 12212
PORT CITY CONNECTION LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PORT OF BROWNSVILLE                  1801 FOUST RD BROWNSVILLE TX 78521
PORT OF HOOD RIVER                   1000 E PORT MARINA DRIVE HOOD RIVER OR 97031
PORT OF SEATTLE                      ATTN: ROD HILDEN PO BOX 34249-1249 SEATTLE WA 98124
PORT OF SEATTLE                      CUSTOMER 074130, PO BOX 24507 SEATTLE WA 98124
PORT OF SEATTLE                      CUSTOMER 505225, PO BOX 24507 SEATTLE WA 98124
PORT OF SEATTLE                      PO BOX 34249-1249 SEATTLE WA 98124
PORT SAN LUIS PIER                   3975 AVILA BEACH DR. AVILA BEACH CA 93405
PORTA POTTY TOGO                     PO BOX 33661 PALM BEACH GARDENS FL 33420
PORTABLE LOGISTICS                   10100 WEST 87TH STREET, SUITE 107 OVERLAND PARK KS 66212
PORTABLE RESTROOM TRAILERS LLC       6428 W WILKINSON BLVD STE 141 BELMONT NC 28012
PORTAGE CLINIC                       100, 140 9 STREET S.E. PORTAGE LA PRAIRIE MB R1N 3V5 CANADA
PORTAGE LAKES EXPRESS LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
PORTALES, DAVID                      ADDRESS ON FILE
PORTER CORP.                         240 136TH AVENUE HOLLAND MI 49424
PORTER COUNTY SUPERIOR CRT 6         3560 WILLOW CREEK RD PORTAGE IN 46368
PORTER FREIGHT ENTERPRISES LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PORTER II, JOSEPH                    ADDRESS ON FILE
PORTER MOVING COMPANY LLC            28261 WOODLAWN DR UNIT F PUNTA GORDA FL 33982
PORTER TRANSPORTATION INC.           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
PORTER, ANDREW                       ADDRESS ON FILE
PORTER, BILL                         ADDRESS ON FILE
PORTER, BRANDON                      ADDRESS ON FILE
PORTER, BRETT                        ADDRESS ON FILE
PORTER, CHAPPELL                     ADDRESS ON FILE
PORTER, CHRISTOPHER                  ADDRESS ON FILE
PORTER, DAVIS W.                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1506 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1515 of 2156

Claim Name                               Address Information
PORTER, DONALD                           ADDRESS ON FILE
PORTER, DOUGLAS                          ADDRESS ON FILE
PORTER, ERIC                             ADDRESS ON FILE
PORTER, HERMAN                           ADDRESS ON FILE
PORTER, JACQUELINE TAYLOR                ADDRESS ON FILE
PORTER, JENNIFER                         ADDRESS ON FILE
PORTER, KEVIN                            ADDRESS ON FILE
PORTER, KYLE                             ADDRESS ON FILE
PORTER, MICHAEL                          ADDRESS ON FILE
PORTER, MICK                             ADDRESS ON FILE
PORTER, MORRIS                           ADDRESS ON FILE
PORTER, NATHAN                           ADDRESS ON FILE
PORTER, PAUL                             ADDRESS ON FILE
PORTER, RICK                             ADDRESS ON FILE
PORTER, RICKIE                           ADDRESS ON FILE
PORTER, ROBERT                           ADDRESS ON FILE
PORTER, RODNEY                           ADDRESS ON FILE
PORTER, RUSSELL                          ADDRESS ON FILE
PORTER, SHANNON                          ADDRESS ON FILE
PORTER, SHAYE R                          ADDRESS ON FILE
PORTER, THOMAS                           ADDRESS ON FILE
PORTER, WILLIE                           ADDRESS ON FILE
PORTER, WRIGHT, MORRIS & ARTHUR LLP      41 SOUTH HIGH STREET SUITES 2800-3200 MARBLE CLIFF OH 43215
PORTERFIELD, LARRY                       ADDRESS ON FILE
PORTES DE GARAGE RUEL ET FILS INC        RBQ 8252-3689-57, 8540 BOUL BOURQUE SHERBROOKE QC J1N 0G2 CANADA
PORTES WEST ISLAND DOORS                 141 COOLBREEZE AVENUE POINTE-CLAIRE QC H9R 3S9 CANADA
PORTFOLIO MEDIA, INC.                    PO BOX 9570 NEW YORK NY 10087
PORTIES, JASMYNE                         ADDRESS ON FILE
PORTILLA, DANIEL                         ADDRESS ON FILE
PORTILLA, MICHAEL                        ADDRESS ON FILE
PORTILLO MARTINEZ, CRISTIAN              ADDRESS ON FILE
PORTILLO MARTINEZ, CRISTIAN              ADDRESS ON FILE
PORTILLO, GUSTAVO                        ADDRESS ON FILE
PORTILLO, JOSEPH S                       ADDRESS ON FILE
PORTILLO, MICHAEL                        ADDRESS ON FILE
PORTILLO, VALERIA                        ADDRESS ON FILE
PORTILLO, VALERIA                        ADDRESS ON FILE
PORTIS, STACEY                           ADDRESS ON FILE
PORTLAND AIR FREIGHT                     75 POSTAL SERVICE WAY SCARBOROUGH 04074
PORTLAND COMPRESSOR                      7440 SW BONITA RD PORTLAND OR 97224
PORTLAND CONTAINER REPAIR CORPORATION    8316 N LOMBARD PORTLAND OR 97203
PORTLAND LOAD AND OFF LOAD LLC           OR TRIUMPH FINANCIAL SVCS PO BOX 610028 DALLAS TX 75261-0028
PORTLAND SERVICE STATION SUPPLY CO INC   737 NE 25TH AVENUE PORTLAND OR 97232
PORTLAND TRANSPORT SERVICE LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PORTLAND WATER DISTRICT                  225 DOUGLASS ST PORTLAND ME 04104-3553
PORTLANDIA EXPRESS LLC                   3414 NE 165TH AVE PORTLAND OR 97230-5054
PORTLANDS FINEST CORP                    OR GEELERS FINANCIAL 11501 DUBLIN BLVD SUITE 200 DUBLIN CA 94568
PORTMORE TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PORTREY, ELIZABETH M                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1507 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1516 of 2156

Claim Name                            Address Information
PORTVILLE TRUCK & AUTO REPAIR, INC.   3101 CONSTITUTION AVE OLEAN NY 14760
PORTWOOD, KAREN                       ADDRESS ON FILE
PORVEN                                600 STATE RT 17 RAMSEY NJ 07446
PORZADEK, KENNETH                     ADDRESS ON FILE
POS MOVING & STORAGE LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
POSADAS, ADRIAN JEFF                  ADDRESS ON FILE
POSCH, ROBERT                         ADDRESS ON FILE
POSDZICH, STEVEN                      ADDRESS ON FILE
POSEY PRODUCTS LLC                    ATTN: JENNIFER SPENCER UBER FREIGHT PO BOX 518 LOWELL AR 72745
POSEY, BRAXTON                        ADDRESS ON FILE
POSEY, KATHRYN                        ADDRESS ON FILE
POSEY, MICHAEL                        ADDRESS ON FILE
POSEY, STEVEN A                       ADDRESS ON FILE
POSHLANE FREIGHT, LLC                 OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
POSITIVE CARRIER INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
POSITIVE DELIVERY SVCS LLC            OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
POSITIVE TRANSPORT SOLUTIONS LLC      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
POSSE, STEPHEN                        ADDRESS ON FILE
POSSMEI USA INC                       23476 KIDDER ST HAYWARD CA 94545
POST, BRANDON                         ADDRESS ON FILE
POST, JOHN                            ADDRESS ON FILE
POST, NICK                            ADDRESS ON FILE
POSTAGE BY PHONE                      PO BOX 1040 STN A TORONTO ON M5W 3C8 CANADA
POSTAL BOX LOGISTICS INC              6525 S KILLARNEY CT AURORA CO 80016
POSTEL, JOHN                          ADDRESS ON FILE
POSTIER, BILLY                        ADDRESS ON FILE
POSTLES, ANDREW                       ADDRESS ON FILE
POSTLEWAIT TRUCKING INCORPORATED      2454 ROUTE 155 TURTLEPOINT PA 16750
POSTMAN CARGO INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
POSTMASTER                            UNITED STATES POST OFFICE 190 EAST 8TH STREET HOLLAND MI 49423
POSTON, ADAM                          ADDRESS ON FILE
POSTON, JOSHUA                        ADDRESS ON FILE
POSTON, SHANE                         ADDRESS ON FILE
POSTON, SIGMUND                       ADDRESS ON FILE
POSTONS TRAILER REPAIR                PO BOX 13227 FLORENCE SC 29504
POT, JONATHAN                         ADDRESS ON FILE
POTATO KING TRANSPORTATION, INC.      N1078 JUSTIN RD LA CROSSE WI 54601
POTEAT, RODNEY                        ADDRESS ON FILE
POTEMPA, ALYSSA                       ADDRESS ON FILE
POTESTIO BROTHERS EQUIPMENT           7380 SPACE VILLAGE AVE COLORADO SPRINGS 80929
POTGIETER, JANNIE                     ADDRESS ON FILE
POTLA, MICHAEL                        ADDRESS ON FILE
POTOCKI-SHORT, ZURY                   ADDRESS ON FILE
POTOMAC ECYCLE                        7917 WELLINGFORD DR. MANASSAS VA 20109
POTOMAC EDISON                        C/O FIRSTENERGY CORP 76 S MAIN ST AKRON OH 44308
POTRZEBA, DOUGLAS                     ADDRESS ON FILE
POTTAWATTAMIE COUNTY TREASURER        227 SOUTH 6TH ST. COUNCIL BLUFFS IA 51501
POTTER WEBSTER CO                     PO BOX 11229 PORTLAND OR 97211
POTTER, AARON                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1508 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1517 of 2156

Claim Name                            Address Information
POTTER, BRUCE                         ADDRESS ON FILE
POTTER, CHADWICK                      ADDRESS ON FILE
POTTER, CHRIS W                       ADDRESS ON FILE
POTTER, CHRISTOPHER                   ADDRESS ON FILE
POTTER, DANIEL R                      ADDRESS ON FILE
POTTER, DANNY                         ADDRESS ON FILE
POTTER, DAVID                         ADDRESS ON FILE
POTTER, DOUGLAS                       ADDRESS ON FILE
POTTER, JEFFREY                       ADDRESS ON FILE
POTTER, JERRY L                       ADDRESS ON FILE
POTTER, KEVIN                         ADDRESS ON FILE
POTTER, MARK                          ADDRESS ON FILE
POTTER, PHILIPPE                      ADDRESS ON FILE
POTTER, SHARON                        ADDRESS ON FILE
POTTER, SIENNA                        ADDRESS ON FILE
POTTER, WILLIAM                       ADDRESS ON FILE
POTTER-WEBSTER CO.                    D/B/A: POTTER WEBSTER CO PO BOX 11229 PORTLAND OR 97211
POTTERY BY ANDY                       P.O. BOX 452 DOVER NH 03821
POTTERY MERCHANT                      3080 GIANT RD SAN PABLO CA 94806
POTTINGER, PHILLIP                    ADDRESS ON FILE
POTTINGER, PHILLIP                    ADDRESS ON FILE
POTTLES TRANSPORTATION, LLC           P O BOX 877 BANGOR ME 04402
POTTS PLUMBING COMPANY                5400 BLUFF ROAD COLUMBIA SC 29209
POTTS, DANNA                          ADDRESS ON FILE
POTTS, EDGAR                          ADDRESS ON FILE
POTTS, HEAVEN                         ADDRESS ON FILE
POTTS, HEAVEN                         ADDRESS ON FILE
POTTS, JAMES                          ADDRESS ON FILE
POTTS, MEGAN                          ADDRESS ON FILE
POTTS, SCOTT                          ADDRESS ON FILE
POTTS, THOMAS                         ADDRESS ON FILE
POTURALSKI, ROGER                     ADDRESS ON FILE
POUDYEL, KESHAP                       ADDRESS ON FILE
POULINS PEST CONTROL                  24 POULINS DR WINNIPEG MB R2H 0S9 CANADA
POULINSS PEST CONTROL                 24 POULIN DR WINNIPEG MB R2H 0S9 CANADA
POULIOT, DAVID                        ADDRESS ON FILE
POULSEN, MICHAEL                      ADDRESS ON FILE
POULSON, ROBERT                       ADDRESS ON FILE
POUNDS, DAYLON                        ADDRESS ON FILE
POUNDS, JAMES                         ADDRESS ON FILE
POURCIAU, HARRIET                     ADDRESS ON FILE
POUV, SOPHOEUN                        ADDRESS ON FILE
POVIRK, ERNEST                        ADDRESS ON FILE
POVLITZKI, KATELYNN                   ADDRESS ON FILE
POWELL TRANSPORTATION COMPANY, INC.   2348 U.S. HWY 98 EAST COLUMBIA MS 39429
POWELL, ANTHONY                       ADDRESS ON FILE
POWELL, ANTHONY                       ADDRESS ON FILE
POWELL, ASHLEY                        ADDRESS ON FILE
POWELL, BARBARA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1509 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1518 of 2156

Claim Name                          Address Information
POWELL, BARETT                      ADDRESS ON FILE
POWELL, BRANDON                     ADDRESS ON FILE
POWELL, BRIAN                       ADDRESS ON FILE
POWELL, BRIGEJET                    ADDRESS ON FILE
POWELL, BRITTANI                    ADDRESS ON FILE
POWELL, CEMIAJI                     ADDRESS ON FILE
POWELL, CHARMAINE                   ADDRESS ON FILE
POWELL, CHRISTIAN                   ADDRESS ON FILE
POWELL, CHRISTOPHER                 ADDRESS ON FILE
POWELL, COREY                       ADDRESS ON FILE
POWELL, CRAIG                       ADDRESS ON FILE
POWELL, DALE                        ADDRESS ON FILE
POWELL, DAMANI                      ADDRESS ON FILE
POWELL, EDWARD                      ADDRESS ON FILE
POWELL, GARRY                       ADDRESS ON FILE
POWELL, GARY                        ADDRESS ON FILE
POWELL, GEORGE                      ADDRESS ON FILE
POWELL, JAMES                       ADDRESS ON FILE
POWELL, JAMES                       ADDRESS ON FILE
POWELL, JANA                        ADDRESS ON FILE
POWELL, JAUTAUNNE                   ADDRESS ON FILE
POWELL, JEFFREY                     ADDRESS ON FILE
POWELL, JEFFREY                     ADDRESS ON FILE
POWELL, JODI                        ADDRESS ON FILE
POWELL, JOSHUA                      ADDRESS ON FILE
POWELL, KARI                        ADDRESS ON FILE
POWELL, KENNETH                     ADDRESS ON FILE
POWELL, KENT                        ADDRESS ON FILE
POWELL, LAWRENCE                    ADDRESS ON FILE
POWELL, MALCOLM B                   ADDRESS ON FILE
POWELL, MARCUS                      ADDRESS ON FILE
POWELL, MAUREEN                     ADDRESS ON FILE
POWELL, MICHAEL                     ADDRESS ON FILE
POWELL, MICHAEL                     ADDRESS ON FILE
POWELL, MICHAEL                     ADDRESS ON FILE
POWELL, MICHAEL                     ADDRESS ON FILE
POWELL, MONTIA                      ADDRESS ON FILE
POWELL, ODIE                        ADDRESS ON FILE
POWELL, RAYMOND                     ADDRESS ON FILE
POWELL, RICHARD                     ADDRESS ON FILE
POWELL, ROBERT                      ADDRESS ON FILE
POWELL, ROBERT B                    ADDRESS ON FILE
POWELL, SAMUEL                      ADDRESS ON FILE
POWELL, SAMUEL                      ADDRESS ON FILE
POWELL, SHELBY L                    ADDRESS ON FILE
POWELL, SHELBY L                    ADDRESS ON FILE
POWELL, STEVE                       ADDRESS ON FILE
POWELL, SUSAN                       ADDRESS ON FILE
POWELL, TERRY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1510 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1519 of 2156

Claim Name                           Address Information
POWELL, TODD                         ADDRESS ON FILE
POWELL, TRESTIN                      ADDRESS ON FILE
POWELL, WHITNEY                      ADDRESS ON FILE
POWELL, ZACKARY                      ADDRESS ON FILE
POWER & TELEPHONE SUPPLY             ATTN: AMANDA FRENCH QUALITY 200 KEOUGH DR PIPERTON TN 38017
POWER BRAKE & SPRING SERVICE         6139 PARKLAND DR SOUTH BEND IN 46628
POWER CARRIER LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
POWER CARRIERS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
POWER CONCRETE LIFTING               4015 SUNDIAL CT GRAND RAPIDS MI 49525
POWER DEPOT                          ATTN: BILLY MANTILLA 3553 NW 78TH AVE MIAMI FL 33122
POWER DESIGN RESOURCES               ATTN: JEESUNG YUN 7550 WESTPARK PL PALMETTO FL 34221
POWER DISPATCH, INC                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
POWER DRIVES, INC.                   1075 SHERIDAN DRIVE TONAWANDA NY 14150
POWER DRIVES, INC.                   PO BOX 74247 CLEVELAND OH 44194
POWER EXPRESS INC (MC1016398)        6512 AVERILL CREEK AVE LAS VEGAS NV 89118
POWER GENERATOR SERVICE LLC          186 S ROBINSON AVE NEWBURGH NY 12550
POWER LANE LOGISTICS, INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
POWER LOGISTICS INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
POWER MACHINE SERVICES INC           4105 E BROADWAY SPOKANE WA 99202
POWER MOVE LOGISTICS LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
POWER MOVES TRUCKING LLC             OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
POWER ONLY TRANSPORT, LLC            5700 NORTH SEUBERT AVENUE SIOUX FALLS SD 57104
POWER PLAY LOGISTICS INC.            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
POWER PLUS                           5500 E LA PALMA AVE ANAHEIM CA 92807
POWER POINT TRANSPORTS INC           5405 SHADOWRIDGE WICHITA KS 67220
POWER PRODUCT SYSTEMS                90 BAY STATE RD WAKEFIELD MA 01880
POWER TRANSIT INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
POWER TRANSPORT LLC                  POWER TRANSPORT LLC, PO BOX 372 DEPT 220 MEMPHIS TN 38101
POWER TRANSPORTING LLC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
POWER TRUCK LINES LLC                OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
POWER WASH CHARLOTTE                 542 W 32ND ST CHARLOTTE NC 28206
POWER, BENJAMIN                      ADDRESS ON FILE
POWER, BRUCE                         ADDRESS ON FILE
POWER, QUENTIN                       ADDRESS ON FILE
POWER, RONALD                        ADDRESS ON FILE
POWER, THOMAS                        ADDRESS ON FILE
POWERGEN INC                         793 S TRACY BLVD 307 TRACY CA 95376
POWERHOUSE FREIGHT                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
POWERHOUSE MOTOR GROUP               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, .O. BOX 7410411
                                     CHICAGO IL 60674-0411
POWERPACK                            10613 STRAW FLOWER DR AUSTIN TX 78733
POWERS ENGINEERING AND INSPECTION    PO BOX 1928 BENICIA CA 94510
POWERS INC                           PO BOX 6525 SPOKANE WA 99217
POWERS TRANSPORT, LLC                PO BOX 460 CLINTON ME 04927
POWERS, CHRISTOPHER T                ADDRESS ON FILE
POWERS, COURTNEY                     ADDRESS ON FILE
POWERS, DANIEL                       ADDRESS ON FILE
POWERS, DENNIS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1511 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1520 of 2156

Claim Name                              Address Information
POWERS, DENNIS                          ADDRESS ON FILE
POWERS, GENO                            ADDRESS ON FILE
POWERS, GEORGE                          ADDRESS ON FILE
POWERS, PATRICK                         ADDRESS ON FILE
POWERS, REGINALD                        ADDRESS ON FILE
POWERS, RYAN                            ADDRESS ON FILE
POWERS, TODD                            ADDRESS ON FILE
POWERS, TODD                            ADDRESS ON FILE
POWERSOURCE LOGISTICS LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
POWERTRAIL CARRIERS LLC                 OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
POWERTRAN CORP                          1605 BONNER AVE FERNDALE MI 48220
POWHER TRANSPORT LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
POYNTER, JONATHAN A                     ADDRESS ON FILE
POYSER, SHANON                          ADDRESS ON FILE
PP&L                                    TWO N 9TH ST ALLENTOWN 18101-1179
PPF SUDBERRY OCEAN VIEW HILLS LP        C/O KEARNY PROPERTY SVCS INC 1900 AVENUE OF THE STARS SUITE 320 LOS ANGELES CA
                                        90067
PPF SUDBERRY OCEAN VIEW HILLS LP        PPF SUDBERRY OCEAN VIEW HILLS PO BOX 100329 PASADENA CA 91189
PPF SUDBERRY OCEAN VIEW HILLS, LP       ATTN: TERESA SOURIS PO BOX 100329 PASADENA CA 91189
PPG                                     ATTN: ANGELA BOERSMA 2599 FORT SHAWNEE INDUSTRIAL DR LIMA OH 45804
PPG ARCHITECTURAL FINISHES              PO BOX 536864 ATLANTA GA 30353
PPG TRANS INC                           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PPL ELECTRIC UTILITIES                  2 NORTH 9TH STREET ATTN: CLAIMS GENTW3 ALLENTOWN PA 18101
PPL ELECTRIC UTILITIES CORP             2 N NINTH ST ALLENTOWN PA 18101-1179
PPL ELECTRIC UTILITIES CORPORATION      PO BOX 25222 LEHIGH VALLEY PA 18002
PPL ELECTRIC UTILITIES CORPORATION      PO BOX 25222 LEHIGH VALLEY PA 18002-5222
PPM LOGISTICS LLC                       OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PPM TRUCKING LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PPS LOGISTICS CORP                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PPT                                     852 180TH AVE UNION GROVE WI 53182
PPTT INC.                               7637 W NORRIDGE ST NORRIDGE IL 60706
PQL                                     D/B/A: PREMIUM QUALITY LIGHTING PO BOX 2123 FARGO ND 58107
PR EXPRESS INC                          OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
PR HOTSHOT TRUCKING LLC                 OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
PRA TRUCKING CORP.                      OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
PRABH KIRPA TRUCKING INC                OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
PRABH TRUCKING CO                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PRABH TRUCKING INC                      OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PRADO, JUAN                             ADDRESS ON FILE
PRADOS TRANSPORTATION LLC               OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
PRAGUE ENTERPRISES INC.                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PRAIRIE LAND TOWING                     868 PROGRESS WAY SUN PRAIRIE WI 53590
PRAIRIE MOBILE COMMUNICATIONS           1305 KING EDWARD ST WINNIPEG MB R3H 0R6 CANADA
PRAIRIE ROAD WATER DISTRICT             2176 PRAIRIE RD MONROE LA 71202
PRAIRIE TEAMSTERS HEALTH & WELFARE      SUITE 155, 7260 12TH ST SE CALGARY AB T2H 2S5 CANADA
PRAIRIE TEAMSTERS PROVINCES PENSION     SUITE 155, 7260 12 ST SE CALGARY AB T2H 2S5 CANADA
PLAN
PRAIRIE VIEW LANDSCAPING & DESIGN LLC   219 KELSEY ST GIBBON NE 68840
PRAIRIE WEST                            1155 SHERWIN ROAD WINNIPEG MB R3H 0V1 CANADA



Epiq Corporate Restructuring, LLC                                                                  Page 1512 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1521 of 2156

Claim Name                           Address Information
PRAKASH, MEHA                        ADDRESS ON FILE
PRAKASH, RAJNESH                     ADDRESS ON FILE
PRANCIK II, JOSEPH                   ADDRESS ON FILE
PRASADS TRANSPORT INC                OR OPENROAD FINANCIAL SVCS, INC PO BOX 484 DALLAS OR 97338
PRATER, JAMIE                        ADDRESS ON FILE
PRATER, MICHELLE                     ADDRESS ON FILE
PRATER, WILLIAM                      ADDRESS ON FILE
PRATHER, ANTHONY                     ADDRESS ON FILE
PRATT & WHITTNEY ENGINE SERVICES     1525 MIDWAY PARK RD BRIDGEPORT WV 26330
PRATT INDUSTRIES TPP                 ATTN: CHARLEY JENSEN 4925 UNION CENTRE BLVD FAIRFIELD OH 45014
PRATT PRODUCTION SERVICES LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PRATT SPECIALIZED TRANSPORT LLC      OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
PRATT, CHRISTENA                     ADDRESS ON FILE
PRATT, DENNIS                        ADDRESS ON FILE
PRATT, JEROME                        ADDRESS ON FILE
PRATT, KAREN                         ADDRESS ON FILE
PRATT, LYMYRON                       ADDRESS ON FILE
PRATT, NIGEL                         ADDRESS ON FILE
PRATT, RODNEY                        ADDRESS ON FILE
PRATT, WILLIAM                       ADDRESS ON FILE
PRATT-HUBB LOGISTICS LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PRATTS TRUCK SERVICE INC             5620 W 7TH ST TEXARKANA TX 75501
PRAUS, KYLE                          ADDRESS ON FILE
PRAVECEK, CHELSEA                    ADDRESS ON FILE
PRAVONG, ALICIA                      ADDRESS ON FILE
PRAXAIR DISTRIBUTION, INC.           PO BOX 382000 PITTSBURGH PA 15250
PRAXAIR DISTRIBUTION, INC.           852- PRAXAIR DISTRIBUTION INC DEPT CH 10660 PALATINE IL 60055
PRAXAIR DISTRIBUTION, INC.           DEPT CH 10660 PALATINE IL 60055
PRAXAIR DISTRIBUTION, INC.           PO BOX 120812 DEPT 0812 DALLAS TX 75312
PRAXAIR DISTRIBUTION, INC.           DEPT LA 21511 PASADENA CA 91185
PRAXAIR, INC.                        DEPT LA 21511 PASADENA CA 91185
PRAXAIR/GAS TECH                     D/B/A: LINDE GAS & EQUIPMENT INC. DEPT CH 10660 PALATINE IL 60055-0660
PRAYER, GASTON                       ADDRESS ON FILE
PRB TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
PRE TRANSPORT INC                    1545 JULIAN CT COLTON CA 92324
PRE-STRESS TRANSPORTATION, INC.      PO BOX 107 COVINGTON GA 30015
PREBEG, JON M                        ADDRESS ON FILE
PREBLE, MATTHEW                      ADDRESS ON FILE
PRECIADO, ERIC                       ADDRESS ON FILE
PRECIADO, JULIAN                     ADDRESS ON FILE
PRECIADO, MARIA J                    ADDRESS ON FILE
PRECIADO, MARIA J                    ADDRESS ON FILE
PRECIOUS TRANSPORTATION LLC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
PRECISE CARRIER LLC                  2307 1/2 NOLAN RD LOT A BAYTOWN TX 77520
PRECISE NUTRITION                    ATTN: RAMIRO GARCIA 44300 SUN GOLD ST INDIO CA 92201
PRECISE STAR TRANSIT LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PRECISE TRANSPORTATION INC           OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
PRECISE TRUCKING LLC                 W126N6540 SYCAMORE LN MENOMONEE FLS WI 53051



Epiq Corporate Restructuring, LLC                                                             Page 1513 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1522 of 2156

Claim Name                              Address Information
PRECISE TRUCKING LLC (MC1193772)       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PRECISE VAN LINES INC                  120 NEWPORT CENTER DR STE 100 NEWPORT BEACH CA 92660
PRECISELY SOFTWARE INCORPORATED        2 BLUE HILL PLAZA 1563 PEARL RIVER NY 10965
PRECISELY SOFTWARE INCORPORATED        1700 DISTRICT AVENUE, SUITE 300 BURLINGTON MA 01803
PRECISION CARGO CORP                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
PRECISION CARRIER LLC                  OR PDM FINANCIAL LLC, P.O.BOX 3336 DES MOINES IA 50316
PRECISION CHEMICAL TECHNOLOGIES INC.   D/B/A: 10039224 MANITOBA LTD 170 WYATT ROAD WINNIPEG MB R2X 2X6 CANADA
PRECISION CHEMICAL TECHNOLOGIES INC.   D/B/A: 10039224 MANITOBA LTD 220 SAULTEAUX CRESENT WINNIPEG MB R3J 3W3 CANADA
PRECISION CONTINGENT FREIGHTS LLC      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                       76116
PRECISION DOOR SERVICE                 1716 N SHELBY OAKS DRIVE, SUITE 1 MEMPHIS TN 38134
PRECISION DOOR SERVICE                 OF MOBILE-GULFPORT 3726 HALLS MILL RD MOBILE AL 36693
PRECISION DOOR SERVICE OF MEMPHIS      1215 BIG ORANGE RD CORDOVA TN 38018
PRECISION DYNAMICS CORP                25124 SPRINGFIELD COURT STE 2 VALENCIA CA 91355
PRECISION FIRE PROTECTION INC          707 WELLS RD STE 4 BOULDER CITY NV 89005
PRECISION MECHANICAL AND LOGISTICS     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
PRECISION MICROPRODUCTS AMERICA INC    7 OLD DOCK RD STE 3 YAPHANK NY 11980
PRECISION MICROPRODUCTS OF AMERICA     7 OLD DOCK RD UNIT 3 YAPHANK NY 11980
PRECISION OFFICE FURNITURE INSTALLATION ATTN: JOHN KIEL 4142 UNION BLVD. SAINT LOUIS MO 63115
PRECISION PALLETS AND LUMBER LLC       PO BOX 51 ADDISON PA 15411-0051
PRECISION PLUMBING & HEATING INC       PO BOX 31432 BILLINGS MT 59107
PRECISION PLUMBING LTD                 25 1011 57 AVE NE CALGARY AB T2E 8X9 CANADA
PRECISION PLUMBING-HEATING-COOLING     300 COMMONWEALTH DRIVE CAROL STREAM IL 60188
PRECISION PUMPING.                     6515 S BUSINESS WAY BOISE ID 83716
PRECISION TOWING                       5260 S CROTON HARDY DR NEWAYGO MI 49337
PRECISION TRUCK & TRAILER REPAIR INC   1220 S PIONEER RD SALT LAKE CITY UT 84104
PRECISION TRUCK LINES, INC             811 HUNTINGTON ROAD WOODRIDGE ON L4H 0S6 CANADA
PRECISION TRUCKING LLC                 OR TRIUMPH FINANCIAL SVC, LLC PO BOX 610028 DALLAS TX 75261-0028
PREDA, MICHAEL W                       ADDRESS ON FILE
PREDIUM, LESLIE                        ADDRESS ON FILE
PREECE, DANA                           ADDRESS ON FILE
PREECE, DONALD                         ADDRESS ON FILE
PREET LOGISTICS INC                    10419 MUSTANG PEAK DR BAKERSFIELD CA 93311
PREET LOGISTICS LLC                    66 HAGAMAN ST CARTERET NJ 07008
PREET TRUCKING                         1854 RAVENNA WAY ROSEVILLE CA 95747
PREFERRED AUTO TRANSPORT, LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PREFERRED CARRIER OF CALIFORNIA        14822 CENTRAL AVE CHINO CA 91710
PREFERRED DISTRIBUTION SERVICES, LLC   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PREFERRED EXPRESS TRANSPORT            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
PREFERRED LIGHTNING PROTECTION, INC.   2100 E 1ST ST MARYVILLE MO 64468
PREFERRED MATERIAL HANDLING, INC.      PO BOX 6679 MOORE OK 73153
PREFERRED MEDICAL                      415 NEW SANFORD RD LA VERGNE TN 37086
PREFERRED PLUMBING SERVICE             PO BOX 97812 PEARL MS 39288
PREFERRED SEED                         KATRINA BURGASSER, 575 KENNEDY RD BUFFALO NY 14227
PREFERRED STRIPING LLC                 3683 144TH STREET NW MONTICELLO MN 55362
PREFERRED TOWING                       46 INDIAN ROAD S. SARNIA ON N7T 8H9 CANADA
PREFERRED TRANSPORT & DISTRIBUTION,    504 RIVERSIDE PARKWAY AUSTELL GA 30168
INC.
PREFERRED WINDOW & DOOR INC            3280 E. LINCOLN HIGHWAY LYNWOOD IL 60411



Epiq Corporate Restructuring, LLC                                                               Page 1514 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1523 of 2156

Claim Name                           Address Information
PREFERRED WINDOW & DOOR INC          3280 E. LINCOLN HIGHWAY, S CHICAGO HGHTS IL 60411
PREFERRED WINDOW AND DOOR            3280 E LINCOLN HWY LYNWOOD IL 60411
PREGIS LLC                           300 LOWER WARREN ST QUEENSBURY NY 12804
PREGIS LLC                           1 GRAHAM WAY HOPKINSVILLE KY 42240
PREGIS LLC                           ATTN: ANGELA KOLANOWSKI 2901 W KINGSLEY RD GARLAND TX 75041
PREHN, CHASE                         ADDRESS ON FILE
PRELL, GREGORY                       ADDRESS ON FILE
PREME, JOEL                          ADDRESS ON FILE
PREMIER 1 TRUCKING LLC               1301 N STATE HIGHWAY 336 HIDALGO TX 78557
PREMIER AMERICAN TRUCKING LLC        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PREMIER AUTOMATION                   ATTN: STEVE WILLSON 1100 RICO RD MONROEVILLE PA 15146
PREMIER BRANDS OF AMERICA INC        ATTN: JENNY RUIZ 170 HAMILTON AVE STE 201 WHITE PLAINS NY 10601
PREMIER CHEMICAL SOLUTIONS           PO BOX 1912 INVERNESS FL 34451
PREMIER CLEANING & RESTORATION INC   PO BOX 527 CLAYSBURG PA 16625
PREMIER CONTRACTING, INC.            3940 S FERREE ST KANSAS CITY KS 66103
PREMIER EQUIPMENT LLC                921 EAST STONE DRIVE, PO BOX 3543 KINGSPORT TN 37660
PREMIER FIRE & SECURITY              PO BOX 412007 BOSTON MA 02241
PREMIER FLEET SERVICES LLC           869 WATER ST SHOEMAKERSVILLE PA 19555
PREMIER FREIGHT SYSTEMS LLC          PO BOX 53, SUITE A ZEELAND MI 49464
PREMIER LANDSCAPE & LAWN CARE        3825 ROBIN LANE VALDOSTA GA 31605
PREMIER LANDSCAPE CONTRACTORS INC    2001 SPRING ROAD, SUITE 150 OAK BROOK IL 60523
PREMIER LAWN CARE                    PO BOX 5284 TERRE HAUTE IN 47805
PREMIER LINES                        OR TCI BUS. CAPITAL, INC PO BOX 9149 MINNEAPOLIS MN 55480-9149
PREMIER LOGISTICS                    STE 310-165, 11230 GOLD EXPRESS DR GOLD RIVER CA 95670
PREMIER LOGISTICS G                  STE 310-165, 11230 GOLD EXPRESS DR GOLD RIVER CA 95670
PREMIER LOGISTICS SOLUTIONS          904 COMMERCE CIRCLE HANAHAN SC 29410
PREMIER LOGISTICS SOLUTIONS          11230 GOLD EXPRESS DR STE 310-165 GOLD RIVER CA 95670
PREMIER MECHANICAL SERVICE INC       912 S METCALF ST LIMA OH 45804
PREMIER MERCER LLC                   5605 GRANGER RD STE 100 CLEVELAND OH 44131
PREMIER MOVERS                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PREMIER OCCUPATIONAL HEALTH-         550 E BOUGHTON RD, SUITE 140 BOLINGBROOK IL 60440
BOLINGBROOK
PREMIER OFFICE MOVERS                3915 ZANE TRACE DRIVE COLUMBUS OH 43228
PREMIER PAINT ROLLER                 13111 ATLANTIC AVE RICHMOND HILL NY 11418
PREMIER PAN COMPANY                  ATTN: MIKE WOLAK 2301 DUSS AVE BLDG 11 STE B AMBRIDGE PA 15003
PREMIER PARKING OF TENNESSEE LLC     144 2ND AVE N SUITE 300 NASHVILLE TN 37201
PREMIER PLASMA                       ATTN: JAKE WATSON 4743 W PORT AU PRINCE LN GLENDALE AZ 85306
PREMIER POOLS & SPAS                 2549 ROBINHOOD DRIVE PARMA OH 44134
PREMIER REFRIGERATEDTRANSPORT LLC    ATTN: TOMMY STREET 7026 OLD KATY ROAD STE 303 HOUSTON TX 77024-2149
PREMIER REFRIGIRATED TRANSPORT       7026 OLD KATY ROAD STE 303 HOUSTON TX 77024
PREMIER RUBBER                       ATTN PAUL WOLLMAN, 9841 N VANCOUVER WAY PORTLAND OR 97217
PREMIER RUBBER AND SUPPLY            9841 N VANCOUVER WAY PORTLAND OR 97217
PREMIER SERVICE CENTER INC.          16546 37TH ST. SE MAPLETON ND 58059
PREMIER SNOW & ICE LLC               2001 SPRING ROAD SUITE 150 OAK BROOK IL 60523
PREMIER SNOW & ICE, LLC              D/B/A: PREMIER LANDSCAPE CONTRACTORS INC 16 W 179 JEANS ROAD LEMONT IL 60439
PREMIER SNOW & ICE, LLC              D/B/A: PREMIER LANDSCAPE CONTRACTORS INC 2001 SPRING RD SUITE 150 OAK BROOK IL
                                     60523
PREMIER TRAILER LEASING INC.         PO BOX 644859 PITTSBURGH PA 15264
PREMIER TRAILER LEASING INC.         P.O. BOX 206553 DALLAS TX 75320



Epiq Corporate Restructuring, LLC                                                             Page 1515 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1524 of 2156

Claim Name                              Address Information
PREMIER TRAILER LEASING INC.            PO BOX 206553 DALLAS TX 75320-6553
PREMIER TRANSPORT                       43 BAKER STREET THOROLD ON L2V 0J5 CANADA
PREMIER TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PREMIER TRANSPORT SERVICE LLC           OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
PREMIER TRANSPORTATION LLC (MC959420)   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PREMIER TRUCK GROUP                     7035 PACIFIC CIRCLE CLARKSON ON L5T 2A8 CANADA
PREMIER TRUCK GROUP                     5301 I40 WEST SERVICE ROAD OKLAHOMA CITY OK 73128
PREMIER TRUCK GROUP                     PO BOX 840827 DALLAS TX 75284
PREMIER TRUCK GROUP                     KNOXVILLE, PO BOX 840827 DALLAS TX 75284-0827
PREMIER TRUCK GROUP                     PO BOX 203796 DALLAS TX 75320
PREMIER TRUCK PARTS, INC.               5800 W CANAL RD CLEVELAND OH 44125
PREMIER TRUCKING                        1156 E 71ST WAY LONG BEACH CA 90805
PREMIER TRUCKING AND LOGISTICS LLC      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PREMIER TRUCKING SERVICES LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PREMIER TRUCKING SVCS INC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PREMIER URGENT CARE APMC                644 W 12TH ST TRACY CA 95376
PREMIER URGENT CARE APMC                DBA TRACY OCCUPATIONAL MEDICAL 644 W 12TH STREET TRACY CA 95376
PREMIER X LOGISTICS LLC                 OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
PREMIER X TRANSPORT LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
PREMIER XPRESS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PREMIERE TRUCKING AND FREIGHT LLC       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PREMIERE TRUCKING LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PREMIERE TRUCKING LLC (MC1464021)       OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
PREMIERS SOINS.COM INC                  800 CHOMEDEY C435 LAVAL QC H7V 3Y4 CANADA
PREMIERS SOINS.COM INC                  190 CHEMIN DU BAS-SAINTE-THEREST LOCAL 100 BLAINVILLE QC J7B 1A7 CANADA
PREMIUM BEVERAGE SUPPLY LTD             3701 LACON RD HILLIARD OH 43026
PREMIUM CARGO INC                       OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PREMIUM EXPRESS TRUCKING INC            OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
PREMIUM FIRE PROTECTION                 717 WILSON RD S, UNIT 6 OSHAWA ON L1H 6E9 CANADA
PREMIUM FREIGHT SVCS, LLC               OR ORANGE COMMERCIAL CREDI PO BOX 11099 OLYMPIA WA 98508-1099
PREMIUM FREIGHT SYSTEMS INC             OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
PREMIUM LAWN & LANDSCAPES INC           9920 HIGHBALL CT SPARKS NV 89441
PREMIUM LAWN CARE LLC                   598 GOTT HYDRO RD BOWLING GREEN KY 42103
PREMIUM LINE                            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PREMIUM LOGISTICS INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
PREMIUM QUALITY LIGHTING                PO BOX 2123 FARGO ND 58107
PREMIUM SOLUTIONS                       P.O. BOX 1779 CLEVELAND MS 38732
PREMIUM TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PREMIUM WATERS, INC.                    600 E PARK AVENUE CHIPPEWA FALLS WI 54729
PREMIUM WATERS, INC.                    720 29TH AVE SE MINNEAPOLIS MN 55414
PREMIUM WATERS, INC.                    PO BOX 9128 MINNEAPOLIS MN 55480
PREMIUM WATERS, INC.                    4402 2ND AVE S 2 FARGO ND 58103
PREMIUM XPRESS LLC                      OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
PREMO, LAWRENCE                         ADDRESS ON FILE
PREP ONE TRUCKING LLC                   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
PREPASS                                 PO BOX 932588 ATLANTA GA 31193
PREPASS                                 PO BOX 52774 PHOENIX AZ 85072
PRES ENT LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PRESAS TRANSPORT LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                  Page 1516 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1525 of 2156

Claim Name                           Address Information
PRESBURY, KELVIN                     ADDRESS ON FILE
PRESBURY, KELVIN                     ADDRESS ON FILE
PRESCARO, MARK                       ADDRESS ON FILE
PRESCARO, MARK A                     ADDRESS ON FILE
PRESCOTT, BRANDON                    ADDRESS ON FILE
PRESCOTT, LOMEKINA                   ADDRESS ON FILE
PRESCOTT, LOMEKINA                   ADDRESS ON FILE
PRESERVER TRANS LLC                  3475 MUSGRAVE AVE LIVE OAK CA 95953
PRESIDENTIAL EXPRESS LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PRESLEY, CARL                        ADDRESS ON FILE
PRESLEY, STEVEN                      ADDRESS ON FILE
PRESNELL, LARRY                      ADDRESS ON FILE
PRESPA TRANSPORTATION LLC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PRESSER, JAKOB                       ADDRESS ON FILE
PRESSLEY, CHARLES                    ADDRESS ON FILE
PRESSLEY, DEAN                       ADDRESS ON FILE
PRESSLEY, DENNIS                     ADDRESS ON FILE
PRESSLEY, DOMANEKE                   ADDRESS ON FILE
PRESSLEY, ERIC                       ADDRESS ON FILE
PRESSLEY, THOMAS                     ADDRESS ON FILE
PRESSON, ZACHARY                     ADDRESS ON FILE
PRESSURE EQUIPMENT SALES LLC         5646 N 51ST AVE GLENDALE AZ 85301
PRESSURE WASH THIS INC               8367 RUBICON TRL ROCKFORD IL 61107
PREST XSPRESS LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRESTAGE, RICHARD                    ADDRESS ON FILE
PRESTI, PATRICIA                     ADDRESS ON FILE
PRESTIGE AUTO TRANSPORT              PRESTIGE AUTO TRANSPORT, PO BOX 1918 HARRISONBURG VA 22801
PRESTIGE CARGO INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRESTIGE CARRIER EXPRESS LLC         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PRESTIGE CONSTRUCTION LLC            1220 E GREG ST STE 5 SPARKS NV 89431
PRESTIGE FLEET SERVICES LLC          745 W WINDER INDUSTRIAL PKWY WINDER GA 30680
PRESTIGE FREIGHT LLC                 OR FIRST LINE FUNDING, PO BOX 328 MADISON SD 57042
PRESTIGE LOGISTICS SERVICES LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PRESTIGE NATIONWIDE LLC              OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
PRESTIGE QUALITY TRANSPORT LLC       OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
PRESTIGE SPA COVERS                  2875 MCI DR N PINELLAS PARK FL 33782
PRESTIGE SPA COVERS                  ATTN: KIM TRUSIVICH 2875 MCI DR N PINELLAS PARK FL 33782
PRESTIGE SPA COVERS                  ATTN: KIM 2875 MCI DR N PINELLAS PARK FL 33782
PRESTIGE SPA COVERS                  ATTN: SABRINA BURNS 2875 MCI DR N PINELLAS PARK FL 33782
PRESTIGE TRANSPORT CORP              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
PRESTIGE TRANSPORTATION INC          7618 HAYENGA LN DARIEN IL 60561
PRESTIGE TT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRESTIGIACOMO, JOSEPH                ADDRESS ON FILE
PRESTIGIOUS TRANSIT LLC              6911 PARKWOOD DR SACHSE TX 75048
PRESTLER, MIKE                       ADDRESS ON FILE
PRESTO GARAGE & GUTTER               18637 NORTHLINE DR. SUITE H CORNELIUS NC 28031
PRESTO-X                             PO BOX 13848 READING PA 19612
PRESTO-X                             PO BOX 740608 CINCINNATI OH 45274
PRESTON, ANDRE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1517 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1526 of 2156

Claim Name                             Address Information
PRESTON, CHARLES                       ADDRESS ON FILE
PRESTON, CLYDINE                       ADDRESS ON FILE
PRESTON, JUSTIN                        ADDRESS ON FILE
PRESTON, ROBERT                        ADDRESS ON FILE
PRESTON, ROBERT                        ADDRESS ON FILE
PRESTON, ROBERT C                      ADDRESS ON FILE
PRESTON, SANDRA                        ADDRESS ON FILE
PRESTON, SHANNA                        ADDRESS ON FILE
PRESTON, TIMOTHY                       ADDRESS ON FILE
PRESTON, WILLIE                        ADDRESS ON FILE
PRESTONE TRUCKING INC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
PRESTRIGE TRANSPORT                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
PRESTWICH, JEFFERY                     ADDRESS ON FILE
PRETTO, EUGENE V                       ADDRESS ON FILE
PRETTY TRANSPORT INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PRETTY, ALEXANDREA                     ADDRESS ON FILE
PREUSS INC                             950 GRAND ST BROOKLYN NY 11211
PREUSS, ALEXANDER                      ADDRESS ON FILE
PREVAILING LLC                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PREVENT FIRE                           P.O. BOX 2411 POCATELLO ID 83206
PREVENTATIVE MAINTENANCE &             COMPLIANCE SVCS, LLC 8 THE GREEN DOVER DE 19901
PREVO, MARVIN                          ADDRESS ON FILE
PREVUE PET PRODUCTS                    2700 W FULTON ST CHICAGO IL 60612
PREZIDENTIAL TRANSPORT LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
PREZZANO, LAWRENCE                     ADDRESS ON FILE
PRI CONSTRUCTION MATERIAL TECHNOLOGY   6412 BADGER DRIVE TAMPA FL 33610
PRIBONIC, MICHAEL                      ADDRESS ON FILE
PRICE DISPOSAL, INC.                   8665 S UNION AVE BAKERSFIELD CA 93307
PRICE FAMILY TRANSPORT SOLUTIONS INC   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PRICE FARM TRUCKING LLC                478 LINN DELAWARE ROAD COGGON IA 52218
PRICE POINT COMFORTLLC                 6329 S MOORSEVILLE ROAD INDIANAPOLIS IN 46221
PRICE PROPERTY AND INVESTMENTS LLC     AND GREEN BLUE 1818 LLC ATTN: BARRY D. PRICE PO BOX 12067 SHAWNEE MISSION KS
                                       66282
PRICE RITE TRANSPORT LLC               OR PARTNERS FUNDING, INC., PO BOX 5431 CAROL STREAM IL 60197-5431
PRICE TRANSPORTATION INC.              D/B/A: TOON INVESTMENTS LLC 4931 S VICTORIA ST WICHITA KS 67216
PRICE TRUCK LINE, INC.                 1929 HANCOCK DR BISMARCK ND 58501
PRICE ZONE D/B/A J&SINTERNATIONAL 2    6211 RANDOLPH ST COMMERCE CA 90040
PRICE, AARON                           ADDRESS ON FILE
PRICE, ANDREW                          ADDRESS ON FILE
PRICE, BENJAMIN                        ADDRESS ON FILE
PRICE, BRADEN                          ADDRESS ON FILE
PRICE, CHANCE                          ADDRESS ON FILE
PRICE, CHRISTOFHER                     ADDRESS ON FILE
PRICE, COREY                           ADDRESS ON FILE
PRICE, DANIEL                          ADDRESS ON FILE
PRICE, DANNIE                          ADDRESS ON FILE
PRICE, DANNY                           ADDRESS ON FILE
PRICE, DANNY                           ADDRESS ON FILE
PRICE, DEMETRIUS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1518 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1527 of 2156

Claim Name                               Address Information
PRICE, DENNIS                            ADDRESS ON FILE
PRICE, EDDIE                             ADDRESS ON FILE
PRICE, GAVIN                             ADDRESS ON FILE
PRICE, IDRISSA                           ADDRESS ON FILE
PRICE, JAMES                             ADDRESS ON FILE
PRICE, JESSE                             ADDRESS ON FILE
PRICE, JIM                               ADDRESS ON FILE
PRICE, JOHNNIE                           ADDRESS ON FILE
PRICE, JON                               ADDRESS ON FILE
PRICE, KELLEY                            ADDRESS ON FILE
PRICE, KEVIN                             ADDRESS ON FILE
PRICE, LENA                              ADDRESS ON FILE
PRICE, LLEWLYN                           ADDRESS ON FILE
PRICE, MARC                              ADDRESS ON FILE
PRICE, MARK                              ADDRESS ON FILE
PRICE, MARK                              ADDRESS ON FILE
PRICE, MEESE, SHULMAN & DARMINIO, P.C.   50 TICE BOULEVARD WOODCLIFF LAKE NJ 07677
PRICE, MICKEY                            ADDRESS ON FILE
PRICE, NATHAN                            ADDRESS ON FILE
PRICE, PATRICK                           ADDRESS ON FILE
PRICE, RHONDA                            ADDRESS ON FILE
PRICE, SHELLEY                           ADDRESS ON FILE
PRICE, SHELLEY                           ADDRESS ON FILE
PRICE, TERESA                            ADDRESS ON FILE
PRICE, TYLER                             ADDRESS ON FILE
PRICE-COOMER RELOCATION                  PO BOX 55187 LEXINGTON-FAYETTE KY 40555
PRICELESS LOGISTICS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
PRICEWATERHOUSECOOPERS LLP               PO BOX 75647 CHICAGO IL 60675
PRICHARD, CHRISTOPHER                    ADDRESS ON FILE
PRICHARD, CHRISTOPHER                    ADDRESS ON FILE
PRIDDY, SARAH                            ADDRESS ON FILE
PRIDE & JOY TRUCKING LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
PRIDE & SON TRUCKING LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
PRIDE EXPRESS LIMITED, LLC               PO BOX 695 SHREWSBURY MA 01545
PRIDE INTERMODAL, INC.                   5800 S EASTERN AVE SUITE 200 COMMERCE CA 90040
PRIDE LOGISTICS LLC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRIDE MFG CO                             10 N MAIN ST BURNHAM ME 04922
PRIDE MOBILITY                           NEXTERUS, 802 FAR HILLS DR NEW FREEDOM PA 17349
PRIDE MOBILITY PRODUCTS                  401 YORK AVE DURYEA PA 18642
PRIDE OF NEW ENGLAND TRANSPORT, INC.     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PRIDE PLUMBING SERVICES                  633 AMIGOS DR REDLANDS CA 92373
PRIDE PRODUCTS CORP                      4333 VETERANS MEMORIAL HWY RONKONKOMA NY 11779
PRIDE TEAM INC                           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PRIDE TRANSPORT INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRIDE TRANSPORTATION CO INC              P O BOX 1064 FINDLAY OH 45839
PRIDE TRANSPORTATION GROUP LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PRIDE USA, INC.                          OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
PRIDE, TRAEVON                           ADDRESS ON FILE
PRIDGEON, KRISTEN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1519 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1528 of 2156

Claim Name                           Address Information
PRIEDES TRANSPORT INC                ATTN: JOSE VEGA 12741 SW 209TH ST MIAMI FL 33177
PRIEST RIVER TRUCKING LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PRIEST, RANDAL                       ADDRESS ON FILE
PRIEST, STEVEN                       ADDRESS ON FILE
PRIESTLEY, HOWARD                    ADDRESS ON FILE
PRIETO, ARMAND                       ADDRESS ON FILE
PRIETO, ISAI                         ADDRESS ON FILE
PRIETO, JORGE                        ADDRESS ON FILE
PRIETO, LAZARO                       ADDRESS ON FILE
PRIETO, TAYLOR                       ADDRESS ON FILE
PRIEX LOGISTICS CORPORATION          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PRIHODA, RUSSELL L                   ADDRESS ON FILE
PRIJATEL, ANDREW                     ADDRESS ON FILE
PRIM USA INC                         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRIMAL LOGISTICS LLC                 OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
PRIMARY CHOICE TRANSPORT LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRIMARY EXPRESS CO                   39W895 STONECROP CT ST CHARLES IL 60175
PRIMARY HEALTH MEDICAL GROUP UC      PO BOX 191050 BOISE ID 83719
PRIMARY LOGISTICS INC                15601 CYPRESS ST IRWINDALE CA 91706
PRIMARY TRANSPORTATION               PO BOX 613 KEEGO HARBOR 48320
PRIME CARGO INC                      2413 GREENFIELD DR GLENVIEW IL 60025
PRIME CARGO TRUCKING LLC             OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PRIME CARRIER INC                    OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
PRIME CARRIERS LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRIME ELECTRIC, INC.                 3460 161ST AVE SE BELLEVUE WA 98008
PRIME EVOLUTION INC                  OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
PRIME EXPRESS INC (EVANSTON IL)      1718 SHERMAN AVE 307 EVANSTON IL 60201
PRIME FREIGHT CO                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PRIME FREIGHT LLC                    OR INSIGHT TECHNOLOGY, INC PO BOX 200399 DALLAS TX 75320-0399
PRIME GARAGE DOOR & MORE             2184 HARBOUR OAK DR SE OWATONNA MN 55060
PRIME GROUNDTRANS INC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
PRIME GUARANTEED LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PRIME HEAVY HAULERS LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRIME ONE                            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PRIME RESULTS TRANSPORT              OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
PRIME RESULTS TRANSPORT              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRIME ROAD CARRIERS INC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRIME ROAD CARRIERS INC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PRIME SOURCE                         ATTN: CONCEPCION CARRASCO 4703 GREATLAND SAN ANTONIO TX 78218
PRIME SOURCE TRUCKING INC            PRIME SOURCE TRUCKING INC 612 W 5TH AVE 612B NAPERVILLE IL 60563
PRIME TIME CARRIERS LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRIME TIME LOGISTICS INC             4900 CALIFORNIA AVE STE 210B BAKERSFIELD CA 93309
PRIME TRAILER                        PO BOX 270571 LOUISVILLE CO 80027
PRIME TRAILER                        1150 WEST 2100 SOUTH SALT LAKE CITY UT 84119
PRIME TRAILER                        PO BOX 702390 WEST VALLEY CITY UT 84120
PRIME TRANSPORT LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PRIME TRANSPORT LLC (COLUMBUS OH)    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PRIME TRANSPORTATION LLC             OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
PRIME TRUCKING LLC (MC1080147)       6170 TYLER LN FERNDALE WA 98248-9688



Epiq Corporate Restructuring, LLC                                                               Page 1520 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1529 of 2156

Claim Name                           Address Information
PRIME US TRUCKING LLC                OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
PRIME USA LOGISTICS INC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRIMED AND EMPTY LLC                 OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
PRIMELINE LOGISTICS INC              OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
PRIMER, CEDRIC                       ADDRESS ON FILE
PRIMESBURGER, SUSAN                  ADDRESS ON FILE
PRIMESOURCE                          6195 W 300 S STE 200 SALT LAKE CITY UT 84104
PRIMESOURCE 1077                     13645 ORDEN DR SANTA FE SPRINGS CA 90670
PRIMETIME LOGISTICS SVCS LLC         OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
PRIMEWIRE CABLE                      ATTN: DANIEL CORTEZ 11701 6TH ST RANCHO CUCAMONGA CA 91730
PRIMEX TRANSPORT INC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PRIMEXVENTS                          ATTN: TREVOR PRICE LOGISTICS MANAGER 101 19070 39 AVE SURREY BC V3Z 0Y6 CANADA
PRIMIS-WILLIAMS, NASHEIA             ADDRESS ON FILE
PRIMITIVE ENERGY LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PRIMM, KELVIN                        ADDRESS ON FILE
PRIMMER, JONATHAN                    ADDRESS ON FILE
PRIMO                                ATTN: SARA ESCOBAR PO BOX 227008 MIAMI FL 33222
PRIMO GOODS TRANSPORT LLC            OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
PRIMOS RODRIGUEZ LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
PRIMROSE LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRIMROSE, SUSAN                      ADDRESS ON FILE
PRIMUS LOGISITICS INC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRIMUS TRANS LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRINCE EXPRESS LLC                   1538 BRANDON SQ DACULA GA 30019
PRINCE EXPRESS LLC                   1538 BRANDON SQ LAWRENCEVILLE GA 30044-3015
PRINCE GEORGES COUNTY                PO BOX 17578 BALTIMORE MD 21297
PRINCE INDUSTRIES                    745 N. GARY AVE. CAROL STREAM IL 60188
PRINCE SUAH TRANSPORTATION           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PRINCE TRANSPORT LLC (CANTON, MI)    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
PRINCE TRANSPORTATION INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
PRINCE, ANTHONY                      ADDRESS ON FILE
PRINCE, DANIEL                       ADDRESS ON FILE
PRINCE, DAVID                        ADDRESS ON FILE
PRINCE, DENNIS                       ADDRESS ON FILE
PRINCE, JERALD                       ADDRESS ON FILE
PRINCE, LAVON                        ADDRESS ON FILE
PRINCE, PATRICK                      ADDRESS ON FILE
PRINCE, PATRICK                      ADDRESS ON FILE
PRINCE, TARA                         ADDRESS ON FILE
PRINCESS AUTO LTD                    PO BOX 1005 WINNIPEG MB R3C 2W7 CANADA
PRINCETON TRANSPORT LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PRINCEWAY EXPRESS LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PRINCIPAL FINANCIAL (2925)           ATTN PROXY MGR 711 HIGH ST DES MOINES IA 50392
PRINCIPAL TRUCK SUPPLY, INC.         4015 FONDORF DR COLUMBUS OH 43228
PRINCIPAL TRUCK SUPPLY, INC.         TRACTION HEAVY DUTY, PO BOX 62110 CHICAGO IL 60696
PRINGLE Y SIMS                       ADDRESS ON FILE
PRINGLE, GERMAINE                    ADDRESS ON FILE
PRINGLE, SIMS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1521 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1530 of 2156

Claim Name                            Address Information
PRINGLE, TANIQUA                      ADDRESS ON FILE
PRINGLE, TYSON                        ADDRESS ON FILE
PRINT FINISHING SPECIALTIES           2036 W PRINTERS ROW SALT LAKE CITY UT 84119
PRINTRONIX LLC                        28585 NETWORK PLACE CHICAGO IL 60673
PRINTRONIX LLC                        28585 NETWORK PLACE CHICAGO IL 60673-1285
PRIOLEAU, ARDEN                       ADDRESS ON FILE
PRIOLEAU, J                           ADDRESS ON FILE
PRIORITY 1 BEHALF OF ALICE LANE HOM   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF B.I.G. LOGISTI   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF CEYHINZ LINK I   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF DAYLIGHT HOME    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF FACILITY CONCE   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF GRIP CLEAN       PO BOX 398 NORTH LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF HIRSHFIELDS PA   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF HMC ENTERPRISE   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF KREBS BROS       PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF METRO POLY COR   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF ROOFMASTER PRO   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF SOGNO TOSCANO    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF WEHA USA         PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF WEL COMPANIES    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF WILDWOOD & CHE   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 BEHALF OF YESCOM USA INC   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 INC                        ATTN CLAIMS TEAM, PO BOX 398 NORTH LITTLE ROCK AR 72115
PRIORITY 1 INC                        C/O GLAMOS WIRE INC, PO BOX 398 NORTH LITTLE ROCK AR 72115
PRIORITY 1 INC                        PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY 1 INC                        1800 E ROOSEVELT RD LITTLE ROCK AR 72206
PRIORITY 1 ON BEHALF OF UPC-UNIVERS   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY BEHALF OF HEWITT MACHINE &   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY EXPRESS COURIER, INC.        5 CHELSEA PARKWAY BOOTHWYN PA 19061
PRIORITY EXPRESS INC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
PRIORITY EXPRESS SHIPPING INC         OR ROYALTY CAPITAL, INC, PO BOX 842205 DALLAS TX 75284-2205
PRIORITY LOGISTICS INC                6900 COLLEGE BLVD, STE 470 OVERLAND PARK KS 66211
PRIORITY ONE BEHALF OF BASEBALLRACK   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY ONE INCPRIORITY1 ON BEHALF   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY TIRE                         ATTN: ALEX MLINKOV 1436 ECK ROAD ALLENTOWN PA 18104
PRIORITY WIRE & CABLE                 PRIORITY ONE, PO BOX 398 NORTH LITTLE ROCK AR 72115
PRIORITY WIRE & CABLE                 1800 E ROOSEVELT RD LITTLE ROCK AR 72206
PRIORITY1 ON BEHALF OF ALLIED GLASS   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF AURORA HARDW   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF BLACK FOREST   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF CAPITOL FOOD   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF CD PRO POWER   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF CLAD REX       PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF CRYSTAL TECH   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF DALTON WOOD    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF DECORATIVE P   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF DELIRIUM WIN   PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF EUFORA INTER   PO BOX 398 N LITTLE ROCK AR 72115



Epiq Corporate Restructuring, LLC                                                               Page 1522 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1531 of 2156

Claim Name                             Address Information
PRIORITY1 ON BEHALF OF EVERFRESH PA    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF FISHMAN FLOO    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF HELLA COCKTA    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF IMPERIAL TIL    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF ISPACE OFFIC    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF JACK RICHESO    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF JW NUTRITION    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF KURITA AMERI    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF MARINE WHOLE    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF MCWHORTERS L    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF MEADOW FARMS    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF MOES HOME CO    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF MWI COMPONEN    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF NATIONAL TRA    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF PACLIGHTS LL    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF POP BAR LLC     PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF PRIMARY SOUR    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF RATERMANN MA    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF REALSTONE SY    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF ROOT SHOOT M    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF SHEET METAL     PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF SOUTHERN HOM    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF SPIETH AMERI    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF THE OUTDOOR     PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF THE TIERRA G    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF TURBO FREIGH    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF VINES TO VIN    PO BOX 398 N LITTLE ROCK AR 72115
PRIORITY1 ON BEHALF OF WILDPACK BEV    PO BOX 398 N LITTLE ROCK AR 72115
PRISCO TRANSPORT LLC                   OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
PRISM ELECTRIC, INC.                   2985 MARKET ST GARLAND TX 75041
PRISMA HEALTH PIH                      PO BOX 100279 COLUMBIA SC 29202
PRISMA HEALTH PIH                      1020 GROVE ROAD GREENVILLE SC 29605
PRISTINE LOGISTICS LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PRISTINE PLUMBING                      7777 W MORRIS ST INDIANAPOLIS IN 46231
PRITAM CHEEMA TRANSPORT LTD            OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA AB L4Z 1X8
                                       CANADA
PRITCHARD MECHANICALCONTRACTORS INC.   ATTN: JACK PRITCHARD 56789 SPIREA ROAD NEW CARLISLE IN 46552-8410
PRITCHARD, EDWIN                       ADDRESS ON FILE
PRITCHETT, JAMES                       ADDRESS ON FILE
PRITCHETT, MCKENNA                     ADDRESS ON FILE
PRITCHETT, NATHAN                      ADDRESS ON FILE
PRITCHETT, WILLIE                      ADDRESS ON FILE
PRITT, MARK                            ADDRESS ON FILE
PRIVAE TRUCKING LLC                    904 BROWNSFERRY ST STE B ATHENS AL 35611
PRIVAE TRUCKING LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PRIVAT, ANDY                           ADDRESS ON FILE
PRIVITT, PETER                         ADDRESS ON FILE
PRIVITTS WRECKER SERVICE LLC           117 DAWSON BOTTOM RD HUMBOLDT TN 38343
PRIZER PAINTER                         318 JUNE AVE BLANDON PA 19510



Epiq Corporate Restructuring, LLC                                                              Page 1523 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1532 of 2156

Claim Name                           Address Information
PRIZER PAINTER STOVE WORKS           318 JUNE AVE BLANDON PA 19510
PRIZM CARRIER INC                    OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
PRO AG TRANSPORT LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PRO BACKFLOW TESTING SERVICES        PO BOX 1156 RIALTO CA 92377
PRO CHEM INC                         PO BOX 1309 ALPHARETTA GA 30009
PRO CHEM, INC.                       1475 BULEGRASS LAKES PKWY, P O BOX 1309 ALPHARETTA GA 30009
PRO EXPRESS SAS INC                  8N154 PHAR LAP DR SAINT CHARLES IL 60175
PRO FLEET LOGISTICS INC.             OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
PRO FREIGHT TRANSPORTATION INC       OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
PRO GLOBE LOGISTICS, LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRO INSTALL INC.                     1204 68TH ST SE AUBURN WA 98092
PRO LINK                             ATTN: JOANA PITRE GEODIS PO BOX 2208 BRENTWOOD TN 37024
PRO LOGISTIC LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PRO MAINTENANCE SUPPLY, INC          200 GROVE RD, SUITE B PAULSBORO NJ 08066
PRO ONE JANITORIAL, INC.             1101 ASHWAUBENON ST GREEN BAY WI 54304
PRO ORTHOPDIC DEVICES                2884 E GANLEY RD TUCSON AZ 85706
PRO ORTHOPEDIC DEVICES, LLC          ATTN: KARL WALTON 2884 E GANLEY TUCSON AZ 85706
PRO OVERHEAD DOOR INC                3101 W ALBANY BROKEN ARROW OK 74012
PRO PANEL                            PO BOX 1281 PARMA ID 83660
PRO PANEL INC                        26899 BOISE RIVER RD PARMA ID 83660
PRO PERFORMANCE TRANSPORTATION LLC   OR SMARTTRUCKER, LLC PO BOX 30516, DEPT 506 LANSING MI 48909-8016
PRO PLUMBING SERVICES & AIR          5205 N NEBRASKA AVE TAMPA FL 33603
PRO PRODUCTS LLC                     ATTN: OLIVIA MILLER 3404 CONESTOGA DR FT WAYNE IN 46808
PRO PROPERTY                         159, 7620 ELBOW DRIVE SW CALGARY AB T2V 1K2 CANADA
PRO SQUAD LLC                        3690 NATURITA WAY SACRAMENTO CA 95834
PRO STAR LOGISTIC INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
PRO STAR TRUCKING                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
PRO TOW                              1501 76TH AVE SW CEDAR RAPIDS IA 52404
PRO TRANS GROUP LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PRO TRANSPORT INC.                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PRO TRANSPORT LLC (MC1342522)        OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
PRO TRANSPORT LTD                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PRO TRUCK INC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PRO TRUCKING INC (MC792385)          OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PRO TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRO VISION TRANSPORT INC             6205 BLUE STAR HWY SAUGATUCK MI 49453
PRO WEST WALL PRODUCTS IN            1309 TRADEWINDS CIR W SACRAMENTO CA 95691
PRO XPRESS TRANSPORTATION LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRO-CISE/LDPI                        ATTN: RORY BORSHEIM 4404 ANDERSON DRIVE EAU CLAIRE WI 54703
PRO-GUARD PAINTERS LTD               1131 EMPRESS ST WINNIPEG MB R3E 3H1 CANADA
PRO-HAUL TRANSPORTATION LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PRO-LINE EXPRESS INC                 8512 S 78TH COURT JUSTICE IL 60458
PRO-MEN TRANSFER LLC                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
PRO-MOTION LOGISTICS LLC             201 CARDIGAN CIRCLE SOUTH WEST LILBURN GA 30047
PRO-QUALITY SERVICES LLC             OR FOLEY CARRIER SERVICES, PO BOX 639745 CINCINNATI OH 45263-9745
PRO-QUALITY SERVICES LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PRO-SWEEP PLUS                       C\O JZ CONTRACTING INC 7341 RACETRACK DRIVE MISSOULA MT 59808
PRO-SWEEP PLUS                       JZ CONTRACTING INC, BOX 18235 MISSOULA MT 59808
PRO-SWEEP PLUS                       PO BOX 18235 MISSOULA MT 59808



Epiq Corporate Restructuring, LLC                                                               Page 1524 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1533 of 2156

Claim Name                              Address Information
PRO-TECH FORKLIFT SERVICE              32653 COUNTY ROAD 2 SAINT JOSEPH MN 56374
PRO-TECH TRUCK AND TRAILER SERVICES    PO BOX 52 AMORY MS 38821
PRO-TOW                                420 H ST NW, SUITE B AUBURN WA 98001
PROACTIVE EXPRESS LLC                  8822 GREENWOOD AVE MUNSTER IN 46321
PROACTIVE JANITORIAL SERVICES INC      551 LAKESHORE RD E, SUITE 109 MISSISSAUGA ON L5G 0A8 CANADA
PROACTIVE LLC                          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
PROACTIVE SOLUTIONS, INC.              5625 FOXRIDGE DRVIE MISSION KS 66202
PROACTIVE WORK HEALTH SERVICES         P.O. BOX 17130 LOS ANGELES CA 90017
PROACTIVE WORK HEALTH SERVICES         502 SOUTH GAREY AVENUE POMONA CA 91766
PROBASCO, DONALD                       ADDRESS ON FILE
PROBASCO, FREDERICK                    ADDRESS ON FILE
PROBILLING & FUNDING SERVICE           P.O. BOX 2222 DECATUR AL 35609
PROBST, MARK                           ADDRESS ON FILE
PROCANIN, ROB                          ADDRESS ON FILE
PROCASCO, STEVE                        ADDRESS ON FILE
PROCHASKA, JOHN                        ADDRESS ON FILE
PROCHASKA, MARJORIE S                  ADDRESS ON FILE
PROCHNOW TRANSPORT, INC.               1360 S. DONALD ST., P.O. BX 565 MEDFORD WI 54451
PROCHNOW, ED                           ADDRESS ON FILE
PROCHNOW, JOHN                         ADDRESS ON FILE
PROCTER & GAMBLE CO.                   ATTN: JEFF WEHMEYER 1832 LOWER MUSCATINE RD. IOWA CITY IA 52240
PROCTOR, ANTWAN                        ADDRESS ON FILE
PROCTOR, DAKWAN                        ADDRESS ON FILE
PROCTOR, JESSE R                       ADDRESS ON FILE
PROCTOR, RICKEY                        ADDRESS ON FILE
PROCTOR, ROCKEY A                      ADDRESS ON FILE
PROCTOR, ROCKEY A                      ADDRESS ON FILE
PROCTOR, TROY                          ADDRESS ON FILE
PRODAMEX SA DE CV                      PARQUE INDUSTRIAL PUEBLO VIEJO NAVE CARRETERA A ZACATECAS KM 12.5 SAN LUIS
                                       POTOSI 78216 MEXICO
PRODATA COMPUTER SERVICES, INC.        2809 S 160TH ST STE 401 OMAHA NE 68130
PRODIGAL ELECTRIC                      1121 POLO RUN MIDLOTHIAN TX 76065
PRODIGIOUS FREIGHT L L C               OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
PRODIGY TRUCKING INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
PRODUCT DISTRIBUTION COMPANY           3925 PRODUCE ROAD LOUISVILLE KY 40218
PRODUCTION PARK ASSOCIATION            O'BRIEN BROTHERS AGENCY, INC 1855 WILLISTON RD SOUTH BURLINGTON VT 05403
PRODUCTION STEEL, INC.                 P.O.BOX 16457 SAINT LOUIS MO 63125
PRODUCTION STEEL, INC.                 PO BOX 12290 SAINT LOUIS MO 63157
PRODUCTIVE RELIABLE OPERATION LLC      610 WILLOW ST NORTH LITTLE ROCK AR 72114
PRODUCTIVE TRANSPORTATION CARRIER CORP. 530 GRAND ISLAND BLVD TONAWANDA NY 14150
PROECOTECH LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PROELS, FRANK                          ADDRESS ON FILE
PROENZA TRUCKING CORP                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PROENZA, RUBELYS                       ADDRESS ON FILE
PROFESSIONAL ACCOUNT MANAGEMENT        PO BOX 863867 PLANO TX 75086
PROFESSIONAL EMERGENCY SVC HEB         HEB EMERGENCY CARE CTR, P O BOX 153068 IRVING TX 75015
PROFESSIONAL EMERGENCY SVCS CORP,      IRVING ECCARE HEALTH CENTER PO BOX 153068 IRVING TX 75015
PROFESSIONAL EMERGENCY SVCS CORP.      IRVING EMERGENCY CARE CTR PO BOX 153068 IRVING TX 75015
PROFESSIONAL FABRICATING &             MANUFACTURING, 902 47TH ST SW GRAND RAPIDS MI 49509



Epiq Corporate Restructuring, LLC                                                                 Page 1525 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1534 of 2156

Claim Name                               Address Information
PROFESSIONAL FLEET SERVICES LLC          2650 S CUSTER WICHITA KS 67217
PROFESSIONAL FORKLIFT INC                4817 THRUSH ST METAIRIE LA 70001
PROFESSIONAL FREIGHT INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
PROFESSIONAL GARAGE DOOR SYSTEMS INC     6030 GATEWAY DR PLAINFIELD IN 46168
PROFESSIONAL GROUNDKEEPERS INC           1576 CULLINAN AVE MASURY OH 44438
PROFESSIONAL LOCKSMITHING                PO BOX 86036 SAN DIEGO CA 92138
PROFESSIONAL LOGISTICS INC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PROFESSIONAL PARKING MANAGEMENT CORP     1314 EAST LAS OLAS BLVD, SUITE 405 FORT LAUDERDALE FL 33301
PROFESSIONAL PLASTICS                    4449 S 38TH PL PHOENIX AZ 85040
PROFESSIONAL PLUMBER                     1492 W MAGILL AVE FRESNO CA 93711
PROFESSIONAL SVCS                        & TRANSPORT SOLUTIONS LLC OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS
                                         TX 75261-0028
PROFESSIONAL TOWING & RECOVERY - AZ      3420 N 27TH AVE PHOENIX AZ 85017
PROFESSIONAL TRAILER REPAIR INC          3055 RIDGEWOOD RD WINSTON SALEM NC 27107
PROFESSIONAL TRAILER REPAIR INC          216 LITTLE SANTEE RD COLFAX NC 27235
PROFESSIONAL TRAILER REPAIR INC          7211 CESSNA DR GREENSBORO NC 27409
PROFESSIONAL TRANSPORT ENTERPRISES LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PROFESSIONAL TRANSPORTATION SVCS. INC    1720 ANTELOPE ROAD 1720 ANTELOPE ROAD WHITE CITY OR 97503
PROFESSIONAL TRUCK & TRAILER, LLC        290 CO RD 82 BREMEN AL 35033
PROFESSIONAL TRUCK & TRAILER, LLC        290 COUNTY RD 82 BREMEN AL 35033
PROFESSIONAL TURF SERVICES INC.          8704 BRICKHOUSE RD CORFU NY 14036
PROFFIT, PATRICK                         ADDRESS ON FILE
PROFFITT, LOUIS                          ADDRESS ON FILE
PROFIT EXPRESS INC                       OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
PROFIT TRANSPORTATION LLC                9761 COLLIER AVE LIVE OAK CA 95953
PROFIT, GENE E                           ADDRESS ON FILE
PROFIX MOBILE REPAIR INC                 5924 W. 107TH PLACE CHICAGO RIDGE IL 60415
PROFIX PROFESSIONAL TRAILER REPAIR ILNC 51 EVERGREEN ST BAYONNE NJ 07002
PROFLEET CARRIERS INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PROFORWARD INC                           OR CD CONSORTIUM CORPORATION 8930 WAUKEGAN RD, SUITE 230 MORTON GROVE IL 60053
PROFOUND TRUCKING LLC                    7672 GESSNER RD HOUSTON TX 77040
PROFUSION COSMETICS CORP                 ATTN: JESSE 5491 SCHAEFER AVE CHINO CA 91710
PROGISTICS DISTRIBUTION INC              PO BOX 5045 HAYWARD CA 94540
PROGRESS AND DEVELOPMENT LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PROGRESS FREIGHT                         380 E NORTHWEST HWY STE 350A DES PLAINES IL 60016
PROGRESS FREIGHTLINES INC                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
PROGRESS LIGHTING                        ATTN: FRANK CRUZ 350 LOGISTICS CENTER PKWY STE 100 JEFFERSON GA 30549
PROGRESS LIGHTING                        ATTN: JUSTIN LANGSTON CASE INFO SYSTEMS PO BOX 17631 ST LOUIS MO 63178
PROGRESS TRANSPORT LLC                   OR IFM, 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
PROGRESSION ENTERPRISES LLC              OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
PROGRESSIVE BUSINESS PUBLICATIONS        370 TECHNOLOGY DRIVE, PO BOX 3019 MALVERN PA 19355
PROGRESSIVE CARRIERS CO                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PROGRESSIVE COMMERCIAL AQUATIC           15616 SCHMIDT LOOP MANOR TX 78653
PROGRESSIVE CONVERTING                   2430 E GLENDALE AVE APPLETON WI 54911
PROGRESSIVE HYDRAULICS                   ATTN: KERRY TOLAS 350 N MIDLAND AVE SADDLE BROOK NJ 07663
PROGRESSIVE LIGHTING                     ATTN: CATHY GEURIN 3130 N BERKELEY LAKE RD NW DULUTH GA 30096
PROGRESSIVE LOGISTICS SERVICES, LLC      PO BOX 100723 ATLANTA GA 30384
PROGRESSIVE LOGISTICS SERVICES, LLC      3086 MOMENTUM PLACE CHICAGO IL 60689
PROGRESSIVE SYSTEMS                      1018 W. IRISH ST. GREENEVILLE TN 37743



Epiq Corporate Restructuring, LLC                                                                   Page 1526 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1535 of 2156

Claim Name                              Address Information
PROGRESSIVE TRANSPORTATION, INC.        156535 EAST WAUSAU AVE WAUSAU WI 54403
PROGRESSIVE WASTE SOLUTIONS LTD.        NORTHWEST TEXAS DIVISION, PO BOX 650592 DALLAS TX 75265
PROGRIND LOGISTICS LLC                  OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
PROHEALTH-VALLEY OCCUPATIONAL MEDICAL   10630 N. SEPULVEDA BLVD 100 MISSION HILLS CA 91345
GR
PROHIGHWAY TRANSPORT INC                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PROJECT RESOURCES GROUP, INC.           5690 DTC BLVD STE 650E GREENWOOD VILLAGE CO 80111
PROJECT RESOURCES GROUP, INC.           5690 DTC BLVD STE 650E GREENWOOD VILLAGE CO 80111-3203
PROJECT RESOURCES GROUP. INC.           ATTN: DAMAGE CLAIMS 5690 DTC BLVD STE 650 E GREENWOOD VILLAGE CO 80111
PROJECT44 LLC                           222 W MERCHANDISE MART PLAZA STE 1744 CHICAGO IL 60654
PROK, JOHN                              ADDRESS ON FILE
PROKASKI, RAYMOND                       ADDRESS ON FILE
PROLAM INDUSTRIES                       1225 AVENUE C WHITE CITY OR 97503
PROLEAD TRANSPORT INC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PROLIFIC TRANSPORTATION LLC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PROLIFT INDUSTRIAL EQUIPMENT            PO BOX 772679 DETROIT MI 48277
PROLIFT INDUSTRIAL EQUIPMENT            PROLIFT TOYOTA PAYMENT PROCESSING PO BOX 772679 DETROIT MI 48277
PROLIFT INDUSTRIAL EQUIPMENT            12001 PLANTSIDE DR LOUISVILLE KY 40299
PROLIFT TOYOTA MATERIAL HANDLING        5040 ENTERPRISE BLVD. TOLEDO OH 43612
PROLIFT TOYOTA MATERIAL HANDLING        P.O. BOX 734557 CHICAGO IL 60673
PROLIFT TOYOTA MATERIAL HANDLING        PO BOX 88120 CHICAGO IL 60695
PROLINE TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PROLOGIS L.P.                           C/O PROLOGIS MANAGEMENT LLC; CHRIS MAY 3800 HOWARD HUGHES PARKWAY SUITE 1250
                                        LAS VEGAS NV 89169
PROLOGIS LP                             383 NORTH FRONT STREET COLUMBUS OH 43215
PROLOGIS LP                             ATTN: HALLE GREENHUT 383 NORTH FRONT STREET SUITE 1A COLUMBUS OH 43215
PROLOGIS LP                             C/O DCT ECKHOFF ST LLC PO BOX 198267 ATLANTA GA 30384
PROLOGIS LP                             C/O DCT PEORIA STREET LLC, PO BOX 198267 ATLANTA GA 30384
PROLOGIS LP                             C/O DCT REGENTVIEW AVENUE LLC PO BOX 198267 ATLANTA GA 30384
PROLOGIS LP                             1800 WAZEE STREET STE 500 DENVER CO 80202
PROLOGIS LP                             4545 AIRPORT WAY DENVER CO 80239
PROLOGIS LP                             3800 HOWARD HUGHES PARKWAY, SUITE 1250 LAS VEGAS NV 89169
PROLOGIS TARGETED U.S. LOGISTICS FUND   PO BOX 846336 DALLAS TX 75284
LP
PROLOGIS TARGETED U.S. LOGISTICS FUND   C/O PROLOGIS MGMT LLC ATTN: CHRIS MAY 12720 GATEWAY DRIVE SUITE 110 TUKWILA WA
LP                                      98168
PROLOGIS TARGETED US LOGISTICS FUND, LP C/O PROLOGIS MANAGEMENT LLC; CHRIS MAY 17777 CENTER COURT DRIVE SUITE 100
                                        CERRITOS CA 90703
PROLOGIS USLV NEWCA 3 LP                PO BOX 846329 DALLAS TX 75284
PROLOGIS USLV NEWCA 3, CA               C/O PROLOGIS MGMT. LLC ATTN: CHRIS MAY 12720 GATEWAY DRIVE SUITE 110 TUKWILA
                                        WA 98168
PROLOGIS USLV NEWCA3, LLC               C/O PROLOGIS MANAGEMENT LLC; CHRIS MAY 2817 E CEDAR STREET SUITE 200 ONTARIO
                                        CA 91761
PROLOGIS USLV SUBREIT 4 LLC             1800 WAZEE STREET SUITE 500 DENVER CO 80202
PROLOGIS USLV SUBREIT 4, LLC            ATTN: LISA BARRON 3353 GATEWAY BLVD FREMONT CA 94538
PROLOGISTIX                             PO BOX 102332 ATLANTA GA 30368
PROLOGISTIX                             PO BOX 512007 LOS ANGELES CA 90051
PROLOM TRANSPORT                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PROMARK ELECTRONICS INC                 ATTN: ISH WILSON 215 AVE DU VOYAGEUR POINTE CLAIRE QC H9R 6B2 CANADA
PROMAX LLC                              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677



Epiq Corporate Restructuring, LLC                                                                  Page 1527 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1536 of 2156

Claim Name                           Address Information
PROMECH SERVICES INC                 PO BOX 710 RHOME TX 76078
PROMECH SVCS INC                     CORPORATE BILLING LLC PO BOX 830604 DEPT 100 BIRMINGHAM AL 35283
PROMED HEALTHCARE, PLLC              7004 SMITH CORNERS BLVD CHARLOTTE NC 28269
PROMEX TRUCKING INC.                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PROMISE TRUCKING LLC (MC1102321)     5413 E 92ND ST TULSA OK 74137
PROMISE TRUCKING LLC (MC1102321)     OR AUNCHI GROUP LLC PO BOX 4283 (DEPT 6238) HOUSTON TX 77210
PROMOBILE                            701 GERVAIS ST COLUMBIA SC 29201
PROMPT LOGISTICS                     PROMPT LOGISTICS, 212 SECOND ST STE 205A LAKEWOOD NJ 08701
PRON LOGISTICS LLC                   34970 ANN ARBOR TRL UNIT D10 LIVONIA MI 48150-3780
PRONGHORN TOWING & RECOVERY          1102 LOCUST ST RAWLINS WY 82301
PRONIO JR., JOSEPH                   ADDRESS ON FILE
PRONTO EXPRESS COURIER SERVICE LLC   OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
PRONTO LOGISTICS                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
PRONTO PLUMBING & ROOTER             1111 PRIMROSE AVE CAMP HILL PA 17011
PROPATO, ELVIRA                      ADDRESS ON FILE
PROPER LOGISTICS LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PROPER SOLUTION INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PROPER STORAGE SYSTEMS LLC           PO BOX 803 SEGUIN TX 78156
PROPER TRUCKING INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
PROPERTY 1955 LLC                    ATTN: KYLE HOLWAGNER 304 E ROSSER AVE. SUITE 200 BISMARCK ND 58501
PROPERTY 1955 LLC                    300 149TH AVE NE ATTN: KYLE HOLWAGNER BALDWIN ND 58521
PROPERTY PRESERVATION CARE LLC       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PROPERTY TAX ADVISORY GROUP          11300 TOMAHAWK CREEK PKWY STE 320 LEAWOOD KS 66211
PROPERTY VALUATION SERVICES          7101 N CICERO AVE STE 110 LINCOLNWOOD IL 60712
PROQUALITY TRANSPORTATION            & LOGISTICS SVCS LLC 3104 142ND AVE E SUITE 100 SUMNER WA 98390
PRORELO, INC.                        1600 1ST STREET NW ALBUQUERQUE NM 87102
PROS CHOICE PRINTING INC             PO BOX 350 GRANDVIEW MO 64030
PROS CHOICE PRINTING, INC.           520 RHODES AVE GRANDVIEW MO 64030
PROSAFE CDL LLC                      3603 E RAYMOND ST INDIANAPOLIS IN 46203
PROSEAL, LLC                         198 COLLEGE AVENUE WATERVILLE ME 04901
PROSERVICE MACHINE                   10835 S TELEGRAPH ROAD ERIE MI 48133
PROSHRED                             7700 GRAPHIC DR TINLEY PARK IL 60477
PROSHRED                             3052 S 24TH ST. KANSAS CITY KS 66106
PROSKAUER ROSE LLP                   11 TIMES SQUARE NEW YORK NY 10036
PROSOLUTIONS PLUMBING AND ROOTER     2340 MIRAMONTE DR OXNARD CA 93036
PROSPEKTS TRUCKING LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PROSPERITY EXPRESS LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PROSPERITY FREIGHT LLC               OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
PROSPERITY TRUCKING LLC              OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
PROSSER, SHANAI                      ADDRESS ON FILE
PROSSER, TONY                        ADDRESS ON FILE
PROSTO LOGISTICS LLC                 1658 CHERRY BLOSSOM TERRACE LAKE MARY FL 32746
PROTAGON DISPLAY INC                 719 TAPSCOTT RD SCARBOROUGH M1X 1A2 CANADA
PROTECH                              ATTN: SHARI GOTTESMAN 150 KLONDIKE DR TORONTO ON M9L 1X3 CANADA
PROTECH FIRE & SAFETY ALBERTA INC.   17303-103 AVENUE EDMONTON AB T5S 1J4 CANADA
PROTECH SCALE LTD                    871 KAPELUS DRIVE WEST ST PAUL MB R4A 5A4 CANADA
PROTECH WATER SYSTEM INC             1900 SMITH KRAMER NE HARTVILLE OH 44632
PROTECTIVE                           111 CONGRESSIONAL BLVD SUITE 500 CARMEL IN 46032
PROTEGIS FIRE & SAFETY               PO BOX 931933 CLEVELAND OH 44193



Epiq Corporate Restructuring, LLC                                                               Page 1528 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1537 of 2156

Claim Name                           Address Information
PROTELEC ALARMS                      200 1450 MOUNTAIN AVE WINNIPEG MB R2X 3C4 CANADA
PROTHE, HOLLY                        ADDRESS ON FILE
PROTO, ERIK                          ADDRESS ON FILE
PROTO, ERIK                          ADDRESS ON FILE
PROTRANS INTERNATIONAL               8311 NORTH PERIMETER ROAD INDIANAPOLIS IN 46241
PROTRANS INTERNATIONAL               ATTN: BOBBI MARTIN 8311 NORTH PERIMETER ROAD INDIANAPOLIS IN 46241
PROTRUCKIN                           OR CARRIERHQ FUNDING LLC 155 EAST MARKET STREET SUITE 220 INDIANAPOLIS IN
                                     46204
PROUD AMERICAN TRUCKER INC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PROUD TRANSPORT LTD                  OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
PROUD TRANSPORTATION LLC             717 N 43RD WAY PASCO WA 99301
PROVANTAGE LLC                       7576 FREEDOM AVE. NW NORTH CANTON OH 44720
PROVEN LOGISTICS LLC                 40 E CHERRYBARK DR ATOKA TN 38004-5252
PROVENCHER, BRIAN                    ADDRESS ON FILE
PROVENCHER, CAROL                    ADDRESS ON FILE
PROVENCHER, KENNETH                  ADDRESS ON FILE
PROVENCIO, ANGEL                     ADDRESS ON FILE
PROVENCIO, EDUARDO                   ADDRESS ON FILE
PROVIDENCE EXPRESS LLC               1693 WINDRUSH WAY GRAYSON GA 30017
PROVIDENCE TRANSPORT LLC             OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320-7527
PROVIDENCE WATER                     125 DUPONT DT PROVIDENCE RI 02907
PROVIDENCIA TRUCKING INC             OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
PROVIDENT CONNECTIONS INC            OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PROVINCIAL CLUB TOWING (1971) LTD    BOX 1682 REGINA SK S4P 3C6 CANADA
PROVINCIAL COURT OF SASKATCHEWAN     FINE COLLECTION BRANCH, PO BOX 5030 REGINA SK S4P 3T9 CANADA
PROVINCIAL TREASURER                 9811 109ST EDMONTON AB T5K2L5 CANADA
PROVINO, JOE                         ADDRESS ON FILE
PROVISION ENTERPRISE LLC             7480 SOUTH 225 WEST ASHLEY IN 46705
PROVISION TRANSPORT LLC              OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PROVISION TRANSPORTATION LLC         PO BOX 50390 CICERO IL 60804
PROVO, JAY                           ADDRESS ON FILE
PROVOST LOGISTICS, LLC               OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
PROVOST, JIM                         ADDRESS ON FILE
PROVOST, KRISTIAAN                   ADDRESS ON FILE
PROWELL, ANDREW                      ADDRESS ON FILE
PROX, DENNIS                         ADDRESS ON FILE
PROX, DENNIS E                       ADDRESS ON FILE
PROXY EXPRESS LOGISTICS              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PROZONE XPRESS LLC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
PRP                                  1700 JOYCE AVE. COLUMBUS OH 43219
PRUCEY, MICHAEL                      ADDRESS ON FILE
PRUDE, DION                          ADDRESS ON FILE
PRUDEN, DEVON                        ADDRESS ON FILE
PRUDEN, DEVON                        ADDRESS ON FILE
PRUDENCE TRUCKING LLC                PO BOX 3351 DUBLIN OH 43016
PRUDENCE TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PRUDENTIAL LIGHTING CO               ATTN: ANTHONY SOBERANES 1774 E 21ST ST LOS ANGELES CA 90058
PRUE, RANDY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1529 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1538 of 2156

Claim Name                           Address Information
PRUENTE, WILLIAM                     ADDRESS ON FILE
PRUETT, FRED                         ADDRESS ON FILE
PRUITT, BOBBY                        ADDRESS ON FILE
PRUITT, BOBBY L                      ADDRESS ON FILE
PRUITT, CHESTER                      ADDRESS ON FILE
PRUITT, DEQUAN                       ADDRESS ON FILE
PRUITT, HASSON                       ADDRESS ON FILE
PRUITT, JADEN                        ADDRESS ON FILE
PRUITT, KENNETH                      ADDRESS ON FILE
PRUITT, PIERRE                       ADDRESS ON FILE
PRUITT, RONALD                       ADDRESS ON FILE
PRUITT, TONY                         ADDRESS ON FILE
PRUITT, TROY                         ADDRESS ON FILE
PRUNEDA TRANSPORT                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PRUS, RYAN                           ADDRESS ON FILE
PRUSIK, LANA                         ADDRESS ON FILE
PRUSZKOWSKI, MICHAL                  ADDRESS ON FILE
PRUTCH, JAMES                        ADDRESS ON FILE
PRUTSMAN, MIA                        ADDRESS ON FILE
PRV TRANSPORTATION SYSTEMS LLC       32 WYEGATE CT OWINGS MILLS MD 21117-3359
PRY, JOSHUA                          ADDRESS ON FILE
PRYBRAY LLC                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
PRYCE & SONS TRUCKING LLC            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
PRYMOR INC                           OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PRYOR, FRED                          ADDRESS ON FILE
PRYOR, GARY                          ADDRESS ON FILE
PRYOR, GARY                          ADDRESS ON FILE
PRYOR, JOSHUA                        ADDRESS ON FILE
PRYOR, MARIO                         ADDRESS ON FILE
PRYOR, RAY                           ADDRESS ON FILE
PRYS, ELIZABETH                      ADDRESS ON FILE
PRYSMIAN GROUP                       DSV LEAD LOGISTICS, PO BOX 888493 GRAND RAPIDS MI 49588
PRYSTAJKO, BOHDAN                    ADDRESS ON FILE
PRYSTAJKO, BOHDAN W                  ADDRESS ON FILE
PRZESLAWSKI, TAMARA                  ADDRESS ON FILE
PRZYBYLA, ROBERT                     ADDRESS ON FILE
PRZYBYLEK, MICHAEL                   ADDRESS ON FILE
PRZYBYLO, STEVEN                     ADDRESS ON FILE
PS EXPRESS INC                       1555 E AMAR ROAD SUITE B 200 WEST COVINA CA 91792
PS EXPRESS LINE LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PS FURNITURE                         ATTN: RON LUCARELLI EVANSTRANS 171 W WING ST SUITE 204A ARLINGTON HEIGHTS IL
                                     60005
PS GARAGE DOORS                      4733 DEMERS AVE GRAND FORKS ND 58201
PS LUXURY CONTRACTORS LLC            OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
PS TRANS INC                         9237 EARL FIFE DR ELK GROVE CA 95624
PSAE LLC                             OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
PSALM 3 TRUCKING LLC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PSALM 91 TRANSPORTATION LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
PSALMS TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                               Page 1530 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1539 of 2156

Claim Name                               Address Information
PSE&G CO                                 80 PARK PLZ NEWARK NJ 07102-4194
PSEG                                     600 STEWART AVE. GARDEN CITY NY 11530
PSEGLI                                   CLAIMS DEPT. 15 PARK DR., 2ND FLOOR MELVILLE NY 11747
PSEGLI                                   175 E OLD COUNTRY RD HICKSVILLE NY 11801-4257
PSG                                      906 ASHLAND AVE FOLCROFT PA 19032
PSG TRANSPORT LLC                        3828 CLARIDGE OVAL BRUNSWICK OH 44212
PSH TRANSPORT LLC                        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
PSI CO                                   7200 GARDEN GROVE BLVD WESTMINSTER CA 92683
PSI EQUIPMENT SALES INC.                 2643 E CHURCH AVE FRESNO CA 93706
PSI EXPRESS INC                          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
PSI PROLEW INC.                          975 SELKIRK ATTN: LAURIE BENNETT POINTE-CLAIRE QC H9R4S4 CANADA
PSM TRUCKING INC                         848 LINCOLN ST HAZLETON PA 18201
PSOLKA, KEVIN M                          ADDRESS ON FILE
PSP TRANSPORTING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
PSPD LOGISTICS INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PSS TRUCKING LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PSV TRUCKING CORP                        21434 E SIKEDAD KABE FLORENCE AZ 85132
PSW TRANSPORT                            44 WOODVALLEY DRIVE BRAMPTON ON L7A 1Z3 CANADA
PSY EXPRESS INC                          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
PSYBAR LLC                               LB 1792-F PO BOX 95000 PHILADELPHIA PA 19195
PSYCHO LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PT LOGISTICS LLC                         940 HIDDEN HOLLOW DR INMAN SC 29349
PT SPEED INC                             14713 HIDDENSPRING CIR CHINO HILLS CA 91709-3432
PT-SCHNEIDER FIRE1TRL 133254             ATTN CREDIT DEPT 3101 SOUTH PACKERLAND DR GREEN BAY WI 54313
PT-SCHNEIDER TRL137889                   ATTN CREDIT DEPT 3101 SOUTH PACKERLAND DR GREEN BAY WI 54313
PTA FREIGHT LLC                          PO BOX18885 SHREVEPORT LA 71138
PTAH LIMITED LIABILITY COMPANY           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
PTB CARRIER INC                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PTD, INC.                                1731 PRICE HOUSE RD ROEBUCK SC 29376
PTG OF KANSAS CITY                       D/B/A: PREMIER TRUCK GROUP PO BOX 840827 DALLAS TX 75284
PTG OF KANSAS CITY                       D/B/A: PREMIER TRUCK GROUP KNOXVILLE, PO BOX 840827 DALLAS TX 75284-0827
PTG OF KANSAS CITY                       D/B/A: PREMIER TRUCK GROUP PO BOX 203796 DALLAS TX 75320
PTG SPECIALTY TRANSPORTATION SVCS. LLC   6961 CINTAS BLVD MASON OH 45040
PTI DEDICATED SERVICES, LLC              OR TAB BANK, PO BOX 150830 OGDEN UT 84415
PTI POWER TRUCKING INC                   PTI POWER TRUCKING INC, PO BOX 6611 VERNON HILLS IL 60061
PTI TRANSPORT                            1211 OAK RIDGE DR STREAMWOOD IL 60107
PTI TRANSPORT LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PTI TRUCKING INC                         8722 REDDITCH DR AVON IN 46123
PTL EXPRESS LLC                          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
PTM TRANSPORTATION LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
PTO SALES                                29787 NETWORK PLACE CHICAGO IL 60673
PTO SALES                                P O BOX 1207 LA MIRADA CA 90637
PTV TRANSPORT INC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
PTW LAWN CARE LLC                        2704 RUTHERFORD DR COLUMBIA MO 65201
PTX SERVICES, LLC                        1431 BRUHY ROAD PLYMOUTH WI 53073
PUA, KEONI                               ADDRESS ON FILE
PUA, TUTUILA                             ADDRESS ON FILE
PUBLIC SERVICE CO OF OKLAHOMA            212 E 6TH ST TULSA OK 74119
PUBLIC SERVICE COMMISSION OF WEST VA     MOTOR CARRIER SECTION, 201 BROOKE ST CHARLESTON WV 25323



Epiq Corporate Restructuring, LLC                                                                   Page 1531 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1540 of 2156

Claim Name                               Address Information
PUBLIC UTILITIES COMM OF OHIO            180 E BROAD ST COLUMBUS OH 43125
PUBLIC UTILITIES COMM OF OHIO            PO BOX 715343 CINCINNATI OH 45271
PUBLIC UTILITY COMMISSION ST OF OREGON   3930 FAIRVIEW INDUSTRIAL DRIVE SE SALEM OR 97302
PUBLIC UTILITY COMMISSION ST OF OREGON   MOTOR CARRIER TRANSPORT DIVISION 3930 FAIRVIEW INDUSTRIAL DRIVE SE SALEM OR
                                         97302
PUBLICATION PRINTER CORP                 2001 S PLATTE RIVER DR DENVER CO 80223
PUBLICIS SAPIENT                         PO BOX 4886 BOSTON MA 02241
PUBLIX BAKERY PLANT                      3260 NEW TAMPA HWY BLDG 6 LAKELAND FL 33815
PUCILLO, CHRISTOPHER                     ADDRESS ON FILE
PUCILLO, KENNETH                         ADDRESS ON FILE
PUCK, JILL                               ADDRESS ON FILE
PUCKETT, ALLEN                           ADDRESS ON FILE
PUCKETT, CHARLES                         ADDRESS ON FILE
PUCKETT, CHARLIE                         ADDRESS ON FILE
PUCKETT, JONATHAN R                      ADDRESS ON FILE
PUCKETT, RUDINE                          ADDRESS ON FILE
PUCKETT, TERRANCE                        ADDRESS ON FILE
PUDERBAUGH, JOSHUA                       ADDRESS ON FILE
PUDLOWSKI, DOREEN                        ADDRESS ON FILE
PUENTE, AMELIA                           ADDRESS ON FILE
PUENTE, DAVID                            ADDRESS ON FILE
PUENTE, HECTOR                           ADDRESS ON FILE
PUENTES TRANSPORT                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PUENTES, ADRIANA                         ADDRESS ON FILE
PUENTES, GEORGE                          ADDRESS ON FILE
PUESTOW, BRIAN                           ADDRESS ON FILE
PUETT, BRADLEY                           ADDRESS ON FILE
PUGA, RAUL                               ADDRESS ON FILE
PUGET SOUND DOOR & GATE, INC.            22011 SE 269TH PL MAPLE VALLEY WA 98038
PUGET SOUND ENERGY                       10885 NE 4TH ST, STE 1200 BELLEVUE WA 98004-5591
PUGET SOUND INTERMODAL LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PUGET SOUND TRANSFER & STORAGE           PO BOX 99 PORT ANGELES WA 98362
PUGH & CO TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
PUGH, ABBY                               ADDRESS ON FILE
PUGH, DAVID                              ADDRESS ON FILE
PUGH, DEONTA                             ADDRESS ON FILE
PUGH, EDWIN                              ADDRESS ON FILE
PUGH, JEFFERY                            ADDRESS ON FILE
PUGH, JOHN                               ADDRESS ON FILE
PUGH, RICKEY                             ADDRESS ON FILE
PUHL, BRITON                             ADDRESS ON FILE
PUICON, CHAR                             ADDRESS ON FILE
PUIG, MARIANA                            ADDRESS ON FILE
PUKKA TRANSPORT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PULAKOS CHOCOLATES                       2530 PARADE STREET ERIE PA 16503
PULASKI COUNTY TREASURER                 PO BOX 430 LITTLE ROCK AR 72203
PULASKI, BILL                            ADDRESS ON FILE
PULEO, MICHAEL                           ADDRESS ON FILE
PULI, SEGUNDO                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1532 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1541 of 2156

Claim Name                            Address Information
PULIDO TRANSPORT INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
PULIDO TRANSPORT INC                  8333 FOOTHILL BLVD 844 RANCHO CUCAMONGA CA 91730
PULIDO, CHRISTINE                     ADDRESS ON FILE
PULIDO, DAVID                         ADDRESS ON FILE
PULIDO, ENRIQUE                       ADDRESS ON FILE
PULIDO, STEPHANY                      ADDRESS ON FILE
PULIDO-ARROYO, GUSTAVO A              ADDRESS ON FILE
PULJU, MICHAEL W                      ADDRESS ON FILE
PULL EM FREIGHT LLC                   3653 MARINE RD STE 2 TOLEDO OH 43609-1070
PULLAM, BRITTNEY                      ADDRESS ON FILE
PULLEN, BRONICA                       ADDRESS ON FILE
PULLEN, CHARLES S                     ADDRESS ON FILE
PULLENBOY HAULING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PULLENS TRUCK CENTER                  2763 ERIE DRIVE, P.O. BOX 838 WEEDSPORT NY 13166
PULLEY, ANTHONY                       ADDRESS ON FILE
PULLEY, APRIL                         ADDRESS ON FILE
PULLEY, CHRISTOPHER                   ADDRESS ON FILE
PULLEY, JOHN                          ADDRESS ON FILE
PULLIAM JR, TERRENCE                  ADDRESS ON FILE
PULLIAM, CORNELIUS                    ADDRESS ON FILE
PULLIAM, DONALD                       ADDRESS ON FILE
PULLIAM, QUINTON                      ADDRESS ON FILE
PULLIAM, RICKY                        ADDRESS ON FILE
PULLING FORWARD LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PULLOM, KEISHA                        ADDRESS ON FILE
PULLON-LESZKOVICS, RACHEL             ADDRESS ON FILE
PULLY, DOUGLAS                        ADDRESS ON FILE
PULOD INC                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PULSAFEEDER, INC                      2883 BRIGHTON HENRIETTA TOWN L ROCHESTER NY 14623
PULSE TRANSPORTATION SERVICES, INC.   1600 N MO-291 HWY UNIT 965 INDEPENDENCE MO 64058
PULTEA, TROY                          ADDRESS ON FILE
PULVER MOTOR SERVICE                  6077 ROME CIRCLE NW ROCHESTER MN 55901
PUMA LOGISTICS INC                    1061 EAST MAIN STREET UNIT 400 EAST DUNDEE IL 60118
PUMA LOGISTICS INC (MC1023280)        10469 CARRARI ST ALTA LOMA CA 91737
PUMA LOGISTICS INC (MC1023280)        10469 CARRARI ST ALTA LOMA CA 91737-1707
PUMA TRANS INC                        OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
PUMA TRANSPORT                        OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
PUMA TRANSPORTATION INC               OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
PUMFREY, DAVID                        ADDRESS ON FILE
PUMP PIPE & TANK SERVICES LLC         PO BOX 146 TALENT OR 97540
PUMPHREY, DARRELL                     ADDRESS ON FILE
PUMPHREY, RYAN                        ADDRESS ON FILE
PUMPKIN TOWN ENTERPRISES              PO BOX 604 TRAVELERS REST SC 29690
PUNCTUAL FREIGHT LINE LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
PUNIA EXPRESS INC                     16494 W 132ND CT OLATHE KS 66062
PUNIA FREIGHT LINE INC                752 CLOVER LN LATHROP CA 95330
PUNJAB BULLET LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
PUNJAB EXPRESS INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
PUNJAB MOTOR WAY INC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                Page 1533 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1542 of 2156

Claim Name                             Address Information
PUNJAB ROADLINE INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PUNJAB ROADWAYS LLC                    OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
PUNJAB TRANSIT LLC                     OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
PUNJAB TRANSPORT LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
PUNJAB TRUCK LINE LLC                  2902 N 193RD DRIVE LITCHFIELD PARK AZ 85340
PUNJABI TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PUNT TRANSPORTATION LLC                OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
PUNTRIANO, JUAN                        ADDRESS ON FILE
PUNZALAN, CHRISTIAN                    ADDRESS ON FILE
PUPELLO, MARK                          ADDRESS ON FILE
PUPO, STEVEN                           ADDRESS ON FILE
PURALEWSKI, AARON                      ADDRESS ON FILE
PURCELL JULIE & LEFKOWITZ LLP          708 THIRD AVENUE 6TH FLOOR NEW YORK NY 10017
PURCELL, CHARLOTTE                     ADDRESS ON FILE
PURCELL, JAMES                         ADDRESS ON FILE
PURCELL, ORBIN                         ADDRESS ON FILE
PURCELL, SUSAN                         ADDRESS ON FILE
PURCELLAS MEAT PROCESSING              6TW RD BUFFALO WY 82834
PURCHAS & MILLS TRUCKING LLC           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
PURCHASE POWER                         D/B/A: PITNEY BOWES BANK PURCHASE POWER PO BOX 981026 BOSTON MA 02298
PURCHASE POWER                         PO BOX 981026 BOSTON MA 02298
PURCHASE POWER                         D/B/A: PITNEY BOWES BANK PURCHASE POWER PO BOX 371874 PITTSBURGH PA 15250
PURCHASE POWER                         D/B/A: PITNEY BOWES BANK PURCHASE POWER PO BOX 371874 PITTSBURGH PA 15250-7874
PURCHASED TRANSPORTATION-U.S.EXPRESS   11500 OUTLOOK STREET, SUITE 400 OVERLAND PARK KS 66211
PURDUSKI, LEXY                         ADDRESS ON FILE
PURDY, DAVID                           ADDRESS ON FILE
PURDY, DAVID J                         ADDRESS ON FILE
PURDY, RICK                            ADDRESS ON FILE
PURDY, ROBERT                          ADDRESS ON FILE
PURDYS TOWING                          P.O. BOX 532 WELCHES OR 97067
PURE BULK INC                          1640 AUSTIN RD ROSEBURG OR 97471
PURE FREIGHT LINES LTD                 OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
PURE FREIGHT LINES LTD                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
PURE HEALTH SOLUTIONS INC              P.O. BOX 5066 HARTFORD CT 06102
PURE HEALTH SOLUTIONS INC              P.O. BOX 5066 HARTFORD CT 06115
PURE LOGISTICS LLC                     OR PROVIDENT COMMERCIAL FINANCE, LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                       35246-2659
PURE ONE LOGISTICS LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
PURE TRANSPORTATION                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
PURE TRANSPORTING LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
PURE WATER BRAND                       6632 SNAKE LANE SUITE 1 OLDCASTLE ON N0R 1L0 CANADA
PURE WATER PARTNERS                    PO BOX 847237 BOSTON MA 02284
PURE WATER PARTNERS                    DEPT CH 19648 PALATINE IL 60055
PURE WATER PARTNERS                    PO BOX 24445 SEATTLE WA 98124
PURE WATER PARTNERS                    PO BOX 24445 SEATTLE WA 98124-0445
PURE WATER SOCAL                       D/B/A: HYDRATE HQ OF SOCAL LLC 79 NORTH MAIN STREET CHAGRIN FALLS OH 44022
PURE WATER SOLUTIONS DBA               PO BOX 1841 FREDERICK MD 21702
PURE WATER SOLUTIONS OF AMERICA        3208 SOUTH STATE STREET SOUTH SALT LAKE UT 84115
PURE WATER SYSTEMS OF NEVADA           245 VINE ST STE C RENO NV 89503



Epiq Corporate Restructuring, LLC                                                                 Page 1534 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1543 of 2156

Claim Name                              Address Information
PURE WATER TECHNOLOGY OF               NORTHERN WISCONSIN, INC. 1168 ASHWAUBENON ST GREEN BAY WI 54304
PURE WATER TECHNOLOGY OF CENTRAL PA LLC 1200 CORPORATE BLVD LANCASTER PA 17601
PURE WATER TECHNOLOGY OF WNY INC       316 SENECA STREET STE 100 BUFFALO NY 14204
PURE WATER TECHNOLOGY, LLC             1168 ASHWAUBENON ST GREEN BAY WI 54304
PUREBELL LOGISTICS LLC                 OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
PUREBULK INC                           ATTN: TOM BECKNEL 1640 AUSTIN RD ROSEBURG OR 97471
PURERITE BY MASTERS SERVICES           D/B/A: MASTERS REFRESHMENT SERVICES LLC 16666 SMOKETREE ST. STE. B2 HESPERIA
                                       CA 92345
PUREVIDA WATER TECHNOLOGIES LLC        PO BOX 847237 BOSTON MA 02284
PUREVIDA WATER TECHNOLOGIES LLC        1033 DEMONBREUN ST., SUITE 300 NASHVILLE TN 37203
PUREVIDA WATER TECHNOLOGIES, LLC       ATTN: JENNIFER CARTER 5380 OLD BULLARD RD, SUITE 600-162 TYLER TX 75703
PUREWAL TRANSPORT                      10931 MERIDIAN DR SE EVERETT WA 98208
PUREWAL XPRESS INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
PURITY DRINKING WATER, LLC             3017 CALHOUN AVE CHATTANOOGA TN 37407
PURKEYS                                PO BOX 2180 LOWELL AR 72745
PURKEYS                                PO BOX 736193 DALLAS TX 75373
PURNELL, DWAYNE                        ADDRESS ON FILE
PURNELL, JOEL                          ADDRESS ON FILE
PURNELL, MARCUS                        ADDRESS ON FILE
PUROL, DAVID                           ADDRESS ON FILE
PUROLATOR FILTERS NA LLC               DATA2LOGISTICSLLC, PO BOX 61050 FORT MYERS FL 33906
PUROLATOR INC.                         PO BOX 4800 STN MAIN CONCORD ON L4K 0K1 CANADA
PUROLOGIX WATER SERVICES, INC          105 TECHNICAL CT. GARNER NC 27529
PURPOSELY DRIVEN LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PURSER, LINDSEY                        ADDRESS ON FILE
PURTEE, THOMAS                         ADDRESS ON FILE
PURVI SHAH                             ADDRESS ON FILE
PURVIS INDUSTRIES LTD                  AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
PURVIS, DEWAUN                         ADDRESS ON FILE
PURVIS, JEREMY                         ADDRESS ON FILE
PURYEAR, ADRIAN                        ADDRESS ON FILE
PURYEAR, BRIAN                         ADDRESS ON FILE
PURYEAR, MELISSA                       ADDRESS ON FILE
PUSAC, BRANKO                          ADDRESS ON FILE
PUSCH, MATTHEW                         ADDRESS ON FILE
PUSH FREIGHT LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PUSH FREIGHT LLC                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
PUSH PEDAL PULL                        ATTN: BRANDAN VANWAGENEN 2306 W 41ST STREET SIOUX FALLS SD 57105
PUSH TRANSPORTATION LLC                OR PAY4FREIGHT, PO BOX 1429 BELLEVUE NE 68005-1429
PUSHING FORWARD TRUCKING LLC           OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
PUSHING LOGISTICS                      OR OTR CAPITAL DBA OTR SOLTUION PO BOX 1175760 ATLANTA GA 30368-7576
PUSKAS, MARC                           ADDRESS ON FILE
PUSZAK, ALFRED A                       ADDRESS ON FILE
PUTMAN, VICTORIA                       ADDRESS ON FILE
PUTNAM TRANSPORT LLC                   P O BOX 266 KALIDA OH 45853
PUTNAM, DAMON                          ADDRESS ON FILE
PUTNAM, JAMES                          ADDRESS ON FILE
PUTNAM, KYLE                           ADDRESS ON FILE
PUTNAM, MICHAEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1535 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1544 of 2156

Claim Name                              Address Information
PUTNAM, MICHAEL                        ADDRESS ON FILE
PUTRI, DINDA                           ADDRESS ON FILE
PUTZ, VICKI                            ADDRESS ON FILE
PUTZER, JILL                           ADDRESS ON FILE
PUZA, CAROL                            ADDRESS ON FILE
PV HOLDINGS CORP.                      721 W. 96TH STREET LOS ANGELES CA 90045
PVD TRANSPORT LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
PVG TRUCKING INC.                      183 LOCUST LEVEL DR LOCUST NC 28097
PVG TRUCKING INC.                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
PVS EXPRESS                            11681 CARPENTER RD MILAN MI 48160
PW LOGISTICS, LLC                      OR OUTGO, INC, 117 E LOUISA ST 161 SEATTLE WA 98102
PW TRANSPORT LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
PWM INC                                C/O PACIFIC COAST TOWERS INC 5000 VALLEYSTONE DRIVE SUITE 200 CARY NC 27519
PWM INC.                               ATTN: ZEB HIGH C/O PACIFIC COAST TOWERS 5000 VALLEYSTONE DRIVE STE 200 CARY NC
                                       27519
PWSD NO 9                              391 N RANGELINE RD COLUMBIA MO 65201
PXP                                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PY, DAVE                               ADDRESS ON FILE
PYANT, GREGORY                         ADDRESS ON FILE
PYATT, JAMES                           ADDRESS ON FILE
PYATT, JAMES                           ADDRESS ON FILE
PYE BARKER FIRE & SAFETY INC           PO BOX 735358 DALLAS TX 75373
PYE BARKER FIRE & SAFETY INC           PO BOX 735358 DALLAS TX 75373-5358
PYE BARKER FIRE & SAFETY LLC           PO BOX 735358 DALLAS TX 75373
PYE KIA OF DALTON                      ATTN: GREG BLACK 2801 E WALNUT AVE DALTON GA 30721-8737
PYH EXPRESS INC                        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
PYH EXPRESS INC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
PYJAS, KATHRYN M                       ADDRESS ON FILE
PYLES, RODNEY                          ADDRESS ON FILE
PYLES, RONALD                          ADDRESS ON FILE
PYNE - MERCURY                         1000 UNION ST TAYLOR PA 18517
PYNE, TERRY                            ADDRESS ON FILE
PYNENI, ARUNA                          ADDRESS ON FILE
PYNK                                   4231 CAMPBELL DR BETHLEHEM PA 18020
PYNN, GLENN                            ADDRESS ON FILE
PYRA, JENNIFER                         ADDRESS ON FILE
PYRAMID CONSTRUCTION & AGGREGATES, INC. 839 DOGWOOD RD 839 DOGWOOD RD HEBER CA 92249
PYRAMID FLOORING / SENECA HARDWOOD     C/O: PEZOLD SMITH ATTN: GENERAL COUNSEL 120 MAIN STREET HUNTINGTON NY 11743
PYRAMID LANDSCAPE, LLC                 PO BOX 688 SPARKS NV 89432
PYRAMID LOGISTICS LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
PYRAMID TRANSPORT                      1055 RENEE COURT DIXON CA 95620
PYRAMIDS FREIGHT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
PYRENE FIRE SECURITY MANITOBA          UNIT 6, 16 MAZENOD RD WINNIPEG MB R2J4H2 CANADA
PYRO JUNKIE FIREWORKS INC              13046 RACETRACK RD SUITE 171 TAMPA FL 33626
PYRO JUNKIE FIREWORKS, INC.            ATTN: JEFF SIDDLE 13046 RACETRACK ROAD SUITE 171 TAMPA FL 33626
PYROTECNICO FX LLC                     PYROTECNICO FX LLC, PO BOX 645830 PITTSBURGH PA 15264-5830
PYTHON TRUCKING LLC                    OR SOUND FINANCE CORPORATION P.O. BOX 679281 DALLAS TX 75267-9281
PYZIK, RONALD                          ADDRESS ON FILE
PZS SPEEDWAY LOGISTICS LLC             OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996



Epiq Corporate Restructuring, LLC                                                                 Page 1536 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1545 of 2156

Claim Name                           Address Information
Q & Q LOGISTICS LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
Q SHIP USA                           ATTN: FAIGY TELLER 860 BEDFORD AVE BROOKLYN NY 11205
Q TRANS                              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
Q TRUCKING                           OR TRANSPORT FACTORING INC PO BOX 167648 IRVING TX 75016
Q WAY SERVICES INC.                  137 JUNGFRAU DR HENRYVILLE PA 18332
Q&K TRANSPORTS LLC                   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
Q-Y TRANSPORTATION INC               2440 N HAZELWOOD CT WICHITA KS 67205
Q9 EXPRESS INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QAHIYE FREIGHT LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QAJ EXPRESS INC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
QALANJO LOGISTICS LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QB TRUCKING INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QBL EXPRESS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
QC METRO TRANSPORT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
QDF EXPRESS LLC                      OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
QDILIGENCE LLC                       1600 GOLF RD STE 1200 ROLLING MEADOWS IL 60008
QED BROOMFIELD                       1785 W 160TH AVE BROOMFIELD CO 80023
QEP ROBERTS                          1001 BROKEN SOUND PARKWAY BOCA RATON FL 33487
QEP ROBERTS                          ATTN: STACY JOHNSON 1001 BROKEN SOUND PKWY BOCA RATION FL 33487
QEP/ROBERTS                          ATTN: STACY JOHNSON 1001 BROKEN SOUND PKWY BOCA RATON FL 33487
QFS TRANSPORTATION LLC               181 E US HWY 50, STE 202, PO BOX 912394 GREENDALE IN 47025
QFS TRANSPORTATION LLC               P.O. BOX 912394 DENVER CO 80291
QFS TRANSPORTATION LLC               OR WELLS FARGO BUSINESS CREDIT & OR FIRST STAR LOGISTICS, LLC CLIENT 3777 PO
                                     BOX 912394 DENVER CO 80291-2394
QKH ENTERPRISES LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QLW TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
QOLAB LOGISTICS                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
QORANE LLC                           OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
QOSINA CORP ECHO GLOBAL              ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
QQ TRANSCARGO INC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
QQT TRUCKING LLC                     OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
QRH POLYMERS                         400 ISLAND PARK RD, BLDG 28 EASTON 18042
QS TRANSPORT LLC                     OR G SQUARED FUNDING, LLC, 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
QSALES AND LEASING LLC               PO BOX 88488 CHICAGO IL 60680-1488
QTR LOGISTICS INC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
QTR LOGISTICS LLC                    151 SOMERSET LN 17 AVON LAKE OH 44012
QTX, INC.                            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
QUACKENBUSH & HAEGELE                PLUMBING HEATING & A/C, PO BOX 339 TROY NY 12182
QUACKENBUSH, DAVID                   ADDRESS ON FILE
QUAD                                 ATTN CHECK PROCESSOR N61W23044 HARRYS WAY SUSSEX WI 53089
QUAD                                 ATTN: MICHAL SOWINSKI SUSSEX WI 53089
QUAD ENGINEERING INC                 90 SHEPPARD AVE E STE 700 NORTH YORK ON M2N 3A1 CANADA
QUAD EXPRESS                         1415 W DIEHL RD STE 300 NAPERVILLE IL 60563
QUAD EXPRESS                         CARGO CLAIMS 1415 W DIEHL RD 300 S NAPERVILLE IL 60563
QUAD EXPRESS                         DBA HAULISTIC LLC, PO BOX 778724 CHICAGO IL 60677-8724
QUAD TRANSPORTATION SERVICES (       ATTN: QUAD GRAPHICS CHECK PROCESSOR N61 W23044 HARRY WAY SUSSEX WI 53089
QUADE, BENJAMIN                      ADDRESS ON FILE
QUADE, JORDAN                        ADDRESS ON FILE
QUADE, TYLER                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1537 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1546 of 2156

Claim Name                              Address Information
QUADEL0060032620)                       PO BOX 1047 COOS BAY OR 97420
QUADRI, ANTON                           ADDRESS ON FILE
QUADSTAR FREIGHT LINES LLC              OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                        76116
QUAGLIERI, ANTHONY                      ADDRESS ON FILE
QUAINE N GREGORY                        ADDRESS ON FILE
QUAIR, THOMAS                           ADDRESS ON FILE
QUAKER TRANSPORT, INC.                  P O BOX 10125 LANCASTER PA 17605
QUALAWASH HOLDINGS, LLC                 PO BOX 534698 ATLANTA GA 30353
QUALAWASH HOLDINGS, LLC                 500 N WESTSHORE BLVD, STE 435 TAMPA FL 33609
QUALAWASH HOLDINGS, LLC                 PO BOX 735288 CHICAGO IL 60673
QUALIA TRUCKING INC                     8953 GARDEN HIGHWAY YUBA CITY CA 95991
QUALIAWARE INC                          14999 SUMMIT DR BLDG 1 EASTVALE CA 92880
QUALIFIED EXPEDITORS LLC                OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
QUALITY 1 TRUCKING INC                  12951 GRAPE HARVEST DR RANCHO CUCAMONGA CA 91739
QUALITY A C & HEATING INC               93 ALLEN BLVD STE O FARMINGDALE NY 11735
QUALITY BACKFLOW SERVICE                2868 S PHOENIX PL ONTARIO CA 91761
QUALITY BARRELS LLC                     2960 13 MILE ROAD NW SPARTA MI 49345
QUALITY BUICK GMC                       1620 E HOMER ADAMS PKWY ALTON IL 62002
QUALITY CARGO SOLUTIONS LLC             OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
QUALITY CARRIERS OF MISSISSIPPI LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
QUALITY CARTAGE, INC.                   10120 VIRGINIA AVE CHICAGO RIDGE IL 60415
QUALITY CHAIN CORP                      3365 NE 79TH AVE HILLSBORO OR 97124
QUALITY CHAIN CORP                      3365 NW 215TH AVE HILLSBORO OR 97124
QUALITY CLUTCH & BRAKE                  43 WINFIELD WAY WINNIPEG MB R2R 1V8 CANADA
QUALITY COLLISION CENTER                14510 BOYLE AVE FONTANA CA 92337
QUALITY COMMERCIAL PEST CONTROL, INC.   10700 JERSEY BLVD STE 760 RANCHO CUCAMONGA CA 91730
QUALITY CONTROL TRUCKING LLC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
QUALITY DIESEL REPAIR, INC.             PO BOX 2469 NEWNAN GA 30264
QUALITY DRIVE AWAY INC                  64825 COUNTY RD 31 GOSHEN IN 46528
QUALITY ELECTRIC DISTRIBUTION           5875 S DECATUR BLVD LAS VEGAS NV 89118
QUALITY EQUIPMENT SALES & LEASING       PO BOX 33700 LAS VEGAS NV 89133
QUALITY EXPERTS TRANSPORTATION,LLC      77 HARGROVE GRADE PALM COAST FL 32137
QUALITY EXPRESS LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
QUALITY FENCE COMPANY                   114 W. PINE STREET PO BOX 3985 CENTRAL POINT OR 97502
QUALITY FENCING OF SWFL LLC             3009 58TH ST W LEHIGH ACRES FL 33971
QUALITY FIRST PLUMBING SERVICE          493 KENNEDY ROAD CHEEKTOWAGA NY 14227
QUALITY FORKLIFT SALES AND SERVICE,     587 CITATION DRIVE SHAKOPEE MN 55379
INC.
QUALITY FREIGHT CARRIER INCORPORATED    3808 BISON HILL LN RALEIGH NC 27604-5009
QUALITY FREIGHT LINE INC                4655 GLASS MOUNTAIN WAY HAYMARKET VA 20169
QUALITY FREIGHT LINES INC               OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
QUALITY FREIGHT LLC (MC107201)          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QUALITY INN & SUITES                    528 ROUTE 3 PLATTSBURGH NY 12901
QUALITY INNOVATIONS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QUALITY LAWN SERVICE                    301 S COUNTRY VIEW LN WICHITA KS 67235
QUALITY LIFT TRUCKS                     115 NORTH GLOVER AVENUE CHULA VISTA CA 91910
QUALITY LIGHT & ELECTRICAL              11055 ALDER AVE BLOOMINGTON CA 92316
QUALITY LOGISTIC SVCS LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                Page 1538 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1547 of 2156

Claim Name                               Address Information
QUALITY LOGISTICS FREIGHT LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
QUALITY LOGISTICS LLC                    OR BOBTAIL, PO BOX 932119 ATLANTA GA 31193
QUALITY LOGISTICS LLC                    3340 S ZUNI STREET ENGLEWOOD CO 80110
QUALITY LOGISTICS LLC (ST LOUIS MO)      118 CLEAR MEADOWS DR SAINT LOUIS MO 63011
QUALITY LOGISTICS TRUCKING               OR PROVIDENT COMMERCIAL FINANCE, LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                         35246-2659
QUALITY LOGISTICS VA LLC                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
QUALITY LOGISTICS, LLC                   QUALITY LOGISTICS, LLC, PO BOX 1148 ENGLEWOOD CO 80150
QUALITY MOBILE MAINTENANCE               PO BOX 720 ASHLAND CITY TN 37015
QUALITY MOBILE TRUCK                     AND TRAILER REPAIR INC 1465 PTH HWY 75 HOWDEN MB R5A 1K2 CANADA
QUALITY OCEAN                            C/O HUSCH BLACKWELL ATTN SALZMAN, KIRSTIN 4801 MAIN ST, STE 1000 KANSAS CITY
                                         MO 64112
QUALITY OVERHEAD DOOR, INC.              4655 S AVE TOLEDO OH 43615
QUALITY PLAYSCAPES                       2599 NW PARKWAY AZLE TX 76020
QUALITY REFRIGERATED TRANSPORT INC       29 E PALATINE RD PROSPECT HEIGHTS IL 60070
QUALITY RESTORATION                      2880 NORTH EL BURRITO TUCSON AZ 85705
QUALITY SAFE & LOCK                      2001 WINCHESTER RD. MEMPHIS TN 38116
QUALITY SERVICE CENTER                   2040 ROUTE 208 MONTGOMERY NY 12549
QUALITY SERVICE CO                       P.O. BOX 1372 DES MOINES IA 50305
QUALITY SERVICE CO                       2326 NE BROADWAY DES MOINES IA 50317
QUALITY SERVICES MEXICO                  9050 SIEMPRE VIVA RD SAN DIEGO CA 92154
QUALITY SUPPLIER TRUCKING, INC.          PO BOX 488 KEYSER WV 26726
QUALITY TECHNOLOGY SERVICES, LLC         12851 FOSTER ST OVERLAND PARK KS 66213
QUALITY TOOL & DIE INC                   6707 WINNER RD KANSAS CITY MO 64125
QUALITY TOOL & EQUIPMENT                 ATTN: BERNIE RUIZ 42660 RIO NEDO TEMECULA CA 92590
QUALITY TOWING                           LAS VEGAS, PO BOX 365079 NORTH LAS VEGAS NV 89036
QUALITY TOWING                           PO BOX 365079 NORTH LAS VEGAS NV 89036
QUALITY TOWING                           4100 E CHEYENNE AVE LAS VEGAS NV 89115
QUALITY TOWING & EQUIPMENT MOVING        PO BOX 1873 WEST CHESTER OH 45071
QUALITY TRANSFER LLC                     4894 GLENCREE CT SW POWDER SPRINGS GA 30127
QUALITY TRANSFER LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
QUALITY TRANSPORT (MC383859)             992 E ARETHA AVE FOWLER CA 93625
QUALITY TRANSPORT OF WEST MEMPHIS LLC    PO BOX 447 MARION AR 72364
QUALITY TRANSPORTATION LLC (MC1108492)   OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
QUALITY TRANSPORTATION NY LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
QUALITY TRANSPORTATION SERVICES LLC      304 TERRA BIANCA DR NICHOLASVILLE KY 40356
QUALITY TRANSPORTATION SOLUTIONS, LLC    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
QUALITY TRUCK & TIRE SERVICE             10532 N MISSION ROAD CLARE MI 48617
QUALITY TRUCK AND REEFER REPAIR INC      33 E PALATINE RD PROSPECT HEIGHTS IL 60070
QUALITY TRUCK CARE CENTER, INC.          P.O. BOX 3337 OSHKOSH WI 54903-3337
QUALITY TRUCK CARE CENTER, INC.          5725 GREEN VALLEY RD OSHKOSH WI 54904
QUALITY TRUCK CARE CENTER, INC.          W6753 COMMERCE COURT FOND DU LAC WI 54937
QUALITY TRUCK REPAIR SERVICES, INC.      1936 RODGERS RD NORTH LITTLE ROCK AR 72117
QUALITY TRUCKING SERVICES LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
QUALITY VAN LINES INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QUALITY VENDING CO. INC.                 6850 N OAK TRAFFICWAY GLADSTONE MO 64118
QUALITY VENDING CO. INC.                 7401 NW 109TH STREET KANSAS CITY MO 64153
QUALITY WHEELS INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
QUALITY WRECKER SERVICE INC              2318 N MONROE ST ALBANY GA 31701



Epiq Corporate Restructuring, LLC                                                                   Page 1539 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1548 of 2156

Claim Name                               Address Information
QUALLS, GARLAND                          ADDRESS ON FILE
QUALLS, QUINNTYN                         ADDRESS ON FILE
QUALLS, RICHARD                          ADDRESS ON FILE
QUALLS, WILLIAM                          ADDRESS ON FILE
QUANDT, BELINDA                          ADDRESS ON FILE
QUANEY, KELSIE                           ADDRESS ON FILE
QUANTRONIX, INC.                         314 S 200 W, PO BOX 929 FARMINGTON UT 84025
QUANTUM FREIGHT LLC                      OR EDEN TRANSPORT CAPITAL, LLC PO BOX 5699 CAROL STREAM IL 60197-5699
QUANTUM GENERAL SERVICES LLC             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
QUANTUM LOGISTICS GROUP LLC              OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
QUANTUM LOGISTICS INC.                   13258 NELSON AVE CITY OF INDUSTRY CA 92336
QUANTUM LOGISTICS, L.L.C.                5656 BELL ROAD MONTGOMERY AL 36116
QUANTUM TRANSLINE INC                    88 MORTON WAY BRAMPTON ON L6Y2P5 CANADA
QUARANTA, JUSTIN J                       ADDRESS ON FILE
QUARLES FLEET FUELING                    1701 FALL HILL AVE STE 300 FREDERICKSBURG VA 22401
QUARLES FLEET FUELING                    PO BOX 7327 FREDERICKSBURG VA 22404-7327
QUARLES PETROLEUM                        PO BOX 745736 ATLANTA GA 30374
QUARLES PETROLEUM - ACCT ENDING 7003     PO BOX 745736 ATLANTA GA 30374
QUARLES PETROLEUM INCORPORATED           D/B/A: QUARLES PETROLEUM - DO NOT USE P.O. BOX 745736 ATLANTA GA 30374
QUARLES PETROLEUM INCORPORATED           D/B/A: QUARLES PETROLEUM - DO NOT USE P.O. BOX 745740 ATLANTA GA 30374
QUARLES.                                 ACCT ENDING 1813 PO BOX 981414 BOSTON MA 02298
QUARM TRANSPORTATION                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
QUASHIE, ULRIC                           ADDRESS ON FILE
QUAST, JEFF                              ADDRESS ON FILE
QUATRO COMPOSITES                        ATTN: SHAWN HARVEY 508 14TH ST SE ORANGE CITY IA 51041
QUATTLEBAUM, ERNIE                       ADDRESS ON FILE
QUAYLE, RORY                             ADDRESS ON FILE
QUBE LINEHAUL                            ADDRESS ON FILE
QUEEN CARRIERS LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
QUEEN CITY OVERHEAD DOOR                 2A-302 SOLOMON DR REGINA SK S4N 5A8 CANADA
QUEEN CITY TRUCKING CO LLC               OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
QUEEN FREIGHT INC                        OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
QUEEN LOGISTIC & DELIVERY SERVICES LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
QUEEN MADE TRANSPORT INC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
QUEEN MARY LOGISTIC LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
QUEEN OF CLEAN WINDSOR                   2275 TODD LANE LASALLE ON N9H 1K1 CANADA
QUEEN OF CLEAN WINDSOR                   791 FRONT ROAD LASALLE ON N9J 2A3 CANADA
QUEEN OF HEARTS TRANSPORTATION INC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
QUEEN SCREW MFG                          60 FARWELL ST WALTHAM MA 02453
QUEEN STAR TRUCKING INC                  8225 SUNSET HILLS PL RANCHO CUCAMONGA CA 91739
QUEEN TRANSPORT ENTERPRISE LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
QUEEN TRANSPORTATION, LLC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
QUEEN, SHANAN                            ADDRESS ON FILE
QUEEN, SHANAN L                          ADDRESS ON FILE
QUEENER, JELANI                          ADDRESS ON FILE
QUEENS ALL DAY TRUCKING LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
QUEENS CARRIERS LLC                      OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
QUEENS ENTERPRISE LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
QUEENS TRANSPORTATION LLC                3331 JOEL DR RIVERSIDE CA 92509



Epiq Corporate Restructuring, LLC                                                                   Page 1540 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1549 of 2156

Claim Name                             Address Information
QUENCH                                 C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
QUENCH C/O ECHO GLOBAL                 ATTN: NATASIA FIELDS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
QUENCH CANADA, INC.                    PO BOX 12225 TORONTO ON M5W 0K5 CANADA
QUENCH UNITED STATES OF AMERICA LLC    D/B/A: QUENCH USA INC PO BOX 781393 PHILADELPHIA PA 19178
QUENCH UNITED STATES OF AMERICA LLC    D/B/A: QUENCH USA INC P.O. BOX 735777 DALLAS TX 75373
QUENCH UNITED STATES OF AMERICA LLC    D/B/A: QUENCH USA INC PO BOX 735777 DALLAS TX 75373-5777
QUENCH USA INC                         PO BOX 13604 PHILADELPHIA PA 19101
QUENCH USA INC                         PO BOX 781393 PHILADELPHIA PA 19178
QUENCH USA INC                         P.O. BOX 735777 DALLAS TX 75373
QUENCH USA INC                         PO BOX 735777 DALLAS TX 75373-5777
QUENNEVILLE, MARTIN                    ADDRESS ON FILE
QUERO TRANSPORT CORP                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
QUERO, CHRISTIAN                       ADDRESS ON FILE
QUESADA, ABEL                          ADDRESS ON FILE
QUESADA, JUAN                          ADDRESS ON FILE
QUESADA, RAFAEL                        ADDRESS ON FILE
QUESADA, ROSS                          ADDRESS ON FILE
QUESADA, SAMMY                         ADDRESS ON FILE
QUEST EXPRESS LLC                      14416 INDUSTRY AVE LAREDO TX 78045
QUEST TRANSPORT SVCS LLC               OR RTS FINANCIAL SVC, IN PO BOX 840267 DALLAS TX 75284
QUEST TRANSPORTATION LLC               OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
QUEST TRANSPORTATION LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
QUESTAR SOLUTIONS LLC                  PO BOX 7410185 CHICAGO IL 60674
QUESTAR SOLUTIONS LLC                  P.O. BOX 7410185 CHICAGO IL 60674-0185
QUESTORE, DARRYL                       ADDRESS ON FILE
QUESTRADE INC./CDS (5084)              ATT AL NANJI OR PROXY MGR 5650 YONGE ST TORONTO ON M2M 4G3 CANADA
QUEVEDO JR, JUAN                       ADDRESS ON FILE
QUEVEDO, JORGE                         ADDRESS ON FILE
QUEVEDO, SANTINO                       ADDRESS ON FILE
QUEZADA, RALPH                         ADDRESS ON FILE
QUICK & SWIFT LOGISTICS LLC            OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
QUICK AID TRUCKING                     & TOWING LOGISTICS LLC OR STEELHEAD FINANCE 3518 HEATHROW WAY MEDFORD OR 97504
QUICK DRAW LOGISTICS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
QUICK DRAW TRUCKING                    OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
QUICK FINISH TECHNOLOGIES              1200 W. MALLORY AVE MILWAUKEE WI 53221
QUICK FIX TRAILER & TRUCK REPAIR LLC   1222 N BANKARD AVE NOGALES AZ 85621
QUICK FREIGHT LOGISTICS INC            OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, SUITE 230 MORTON GROVE IL 60053
QUICK GETS & CO LLC                    OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FT WORTH TX 76116
QUICK HAUL EXPRESS LTD                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
QUICK QUALITY TRANSPORTATION INC       OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
QUICK SERVICE TRANSPORT LLC            OR VERO BUSINESS CAPITAL, PO BOX 639565 CINCINNATI OH 45263-9565
QUICK SET AUTO GLASS                   10655 E 120TH COURT HENDERSON CO 80640
QUICK SHIP LLC                         785 FREBIS AVENUE COLUMBUS OH 43206
QUICK SOLUTION LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
QUICK STOP GROUP INC                   OR INSIGHT TECHNOLOGY, INC PO BOX 200399 DALLAS TX 75320-0399
QUICK TEMPO TRANSPORT INC              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
QUICK TRANSPORTATION LLC               OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
QUICK TRUCKING LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
QUICK TUBE SYSTEMS, INC.               P.O. BOX 2069 TOMBALL TX 77377



Epiq Corporate Restructuring, LLC                                                                 Page 1541 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1550 of 2156

Claim Name                           Address Information
QUICK WAY TRUCKING CORP              OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
QUICK, DONOVAN                       ADDRESS ON FILE
QUICK, HOWARD                        ADDRESS ON FILE
QUICK, JAMES                         ADDRESS ON FILE
QUICK, KYLE                          ADDRESS ON FILE
QUICK, LEONARD                       ADDRESS ON FILE
QUICKBASE INC                        150 CAMBRIDGEPARK DRIVE CAMBRIDGE MA 02140
QUICKBASE INC                        P.O. BOX 734227 CHICAGO IL 60673
QUICKFIX MOBILE TRUCK REPAIR LLC     5963 CALLAWAY RD GREENVILLE GA 30222
QUICKSHOT SVCS LLC                   OR INTERNET TRUCKSTOP PAYMENTS, LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
QUICKSILVER EXPRESS COURIER, INC.    PO BOX 64417 SAINT PAUL MN 55164
QUIGLEY, CHRIS                       ADDRESS ON FILE
QUIGLEY, CLIFFORD J                  ADDRESS ON FILE
QUIGLEY, LYNN                        ADDRESS ON FILE
QUIGLEY, ROBERT                      ADDRESS ON FILE
QUIGUA, GUSTAVO                      ADDRESS ON FILE
QUIHUIS, MICHAEL                     ADDRESS ON FILE
QUIJANO, JUAN                        ADDRESS ON FILE
QUIK PIK TOWING                      1966 E DEER VALLEY DRIVE PHOENIX AZ 85024
QUIK-KILL PEST ELIMINATORS           109 IOWA AVE. STREATOR IL 61364
QUILES TRANSPORT LLC                 355 CENTURA DR ORANGE PARK FL 32073
QUILES, HERIBERTO                    ADDRESS ON FILE
QUILES, JADIEL                       ADDRESS ON FILE
QUILICO TRUCKING LLC                 400 NW LEANNE LN BLUE SPRINGS MO 64015-6675
QUILLEN, THEODORE                    ADDRESS ON FILE
QUILLEN, ZACHARY                     ADDRESS ON FILE
QUILLEN, ZACHARY D                   ADDRESS ON FILE
QUILLIN, SHAWN                       ADDRESS ON FILE
QUIMAN TRANSPORTATION INC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
QUIMBY, JOHN                         ADDRESS ON FILE
QUINCY COOPER                        ADDRESS ON FILE
QUINCY MEDICAL GROUP                 1025 MAINE ST QUINCY IL 62301
QUINCY MEDICAL GROUP                 PO BOX 4361 SPRINGFIELD IL 62708
QUINDAY, MARIANO                     ADDRESS ON FILE
QUINLAN, ANNE                        ADDRESS ON FILE
QUINLAN, KYM                         ADDRESS ON FILE
QUINLANS EQUIPMENT INC               1105 S SUPERIOR ST, PO BOX 459 ANTIGO WI 54409
QUINN COMPANY                        PO BOX 849665 LOS ANGELES CA 90084
QUINN, CASEY                         ADDRESS ON FILE
QUINN, CHRISTOPHER                   ADDRESS ON FILE
QUINN, DANIEL                        ADDRESS ON FILE
QUINN, JEFFREY                       ADDRESS ON FILE
QUINN, JOSEPH                        ADDRESS ON FILE
QUINN, MICHAEL                       ADDRESS ON FILE
QUINN, NICHOLAS                      ADDRESS ON FILE
QUINN, PHILIP                        ADDRESS ON FILE
QUINN, RYAN                          ADDRESS ON FILE
QUINONES TRUCKING                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
QUINONES, ANTHONY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1542 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1551 of 2156

Claim Name                           Address Information
QUINONES, CARLOS                     ADDRESS ON FILE
QUINONES, EUGENE                     ADDRESS ON FILE
QUINONES, JESUS                      ADDRESS ON FILE
QUINONES, JUAN                       ADDRESS ON FILE
QUINONES, REYNALDO                   ADDRESS ON FILE
QUINONES, RICHARD                    ADDRESS ON FILE
QUINONES, SABRINA                    ADDRESS ON FILE
QUINONES, SABRINA                    ADDRESS ON FILE
QUINONEZ, CELSO                      ADDRESS ON FILE
QUINONEZ, ROGER                      ADDRESS ON FILE
QUINT CITY STONE CENTER INC.         7221 NORTHWEST BLVD. DAVENPORT IA 52806
QUINT D REMBERT                      ADDRESS ON FILE
QUINTANA LOGISTICS INC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
QUINTANA TRUCKING                    9567 THORNTON ROAD STOCKTON CA 95209
QUINTANA, JORGE                      ADDRESS ON FILE
QUINTANA, MIGUEL                     ADDRESS ON FILE
QUINTANILLA, JOSE                    ADDRESS ON FILE
QUINTERO TRANSPORTATION LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
QUINTERO, CESAR                      ADDRESS ON FILE
QUINTERO, EDWARD                     ADDRESS ON FILE
QUINTERO, FRANCISCO                  ADDRESS ON FILE
QUINTERO, MANUEL                     ADDRESS ON FILE
QUINTERO, SINDY                      ADDRESS ON FILE
QUINTEX SERVICES LTD                 332 NASSAU ST N WINNIPEG MB R3L 0R8 CANADA
QUINTON LOGISTICS LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
QUIRARTE, GERARDO                    ADDRESS ON FILE
QUIRARTE, JAVIER                     ADDRESS ON FILE
QUIRARTE, MILTON                     ADDRESS ON FILE
QUIRE, BRENT                         ADDRESS ON FILE
QUIRING, DUANE                       ADDRESS ON FILE
QUIRK, DANIEL                        ADDRESS ON FILE
QUIRK, VINSON                        ADDRESS ON FILE
QUIROGA, PAMELA                      ADDRESS ON FILE
QUIROZ JR, MANUEL                    ADDRESS ON FILE
QUIROZ, JOHN                         ADDRESS ON FILE
QUITTNER, JAKOB                      ADDRESS ON FILE
QURAISHI, MOHAMMAD MUSTAFA           ADDRESS ON FILE
QUSON TRANSPORT INC                  2436 W 2ND ST BROOKLYN NY 11223
QX LOGISTICS                         5685 ALCOA AVE. VERNON CA 90058
R & A LOGISTICS CORP.                4324 EAST AVENUE R13 PALMDALE CA 93552
R & A TRANSPORTATION                 OR TRAVLYNN FINANCE LLC 1547 ESSARY ROAD LEXINGTON TN 38351
R & A TRUCKING (ROUND ROCK TX)       OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
R & B SUPPLY CO INC                  1891 GOODYEAR AVENUE SUITE 603 VENTURA CA 93003
R & B TOOL SUPPLY LLC                13330 EAGLE CANYON DR CHINO HILLS CA 91709
R & B TRANS LLC                      OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
R & C FIRE EXTINGUISHERS             63312 WATSON ST LA GRANDE OR 97850
R & C TRANSPORTATION LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
R & D MOBILE SERVICES INC            11645 ANTHEM DR SPARKS NV 89441
R & D MOBILE SERVICES INC            1700 FAIRWAY HILLS TRAIL RENO NV 89523



Epiq Corporate Restructuring, LLC                                                             Page 1543 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1552 of 2156

Claim Name                             Address Information
R & D MOBILE SERVICES INC              3050 KAUFFMANN CRT WASHOE VALLEY NV 89704
R & D MOBILE SERVICES INC              3050 KAUFFMANN CT WASHOE VALLEY NV 89704
R & D MOBILE TRUCK REPAIR, INC.        ON SITE TRUCK REPAIR 100 24TH STREET WEST STE. 1-112 BILLINGS MT 59102
R & E CARRIERS                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
R & E TRANSFER LLC                     P.O BOX 512 BERGENFIELD NJ 07621
R & E TRANSPORT                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
R & E TRANSPORT OF YUMA LLC            3151 S 47TH AVE YUMA AZ 85364
R & E TRANSPORTATION SERVICES LLC.     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
R & E TRUCKING                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
R & F STUCCO & MASONRY INC             682 QUEEN STREET REGINA SK S4T 4A1 CANADA
R & G DHERI TRANSPORT INC              OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
R & G TRANSPORT                        3218 SUNFLOWER DR OAKVILLE ON L6M 1N2 CANADA
R & GF LOGISTICS, LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
R & H LOGISTICS LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
R & H PRODUCTS OF PR                   ATTN: CYNTHIA TORRES CEIBA INDUSTRIAL PARK 1432 CEIBA PR 00735
R & H TRANSPORT LLC                    4625 TREASURE CT FOREST PARK GA 30297
R & H TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R & J TRUCKING COMPANY, INC.           OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
R & J TRUCKING LLC                     17 OVERHILL DR LANCASTER PA 17602
R & JS FUEL AND SVC INC                DBA R & JS TOWING 1940 SOUTH BROADWAY 156 MINOT ND 58701
R & K LOGISTICS INC                    600 BRIGHTON ST BETHLEHEM PA 18015
R & K TRUCKING                         OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
R & K TRUCKING OF MONTANA, INC.        OR TAB BANK, PO BOX 150290 OGDEN UT 84415
R & K WELDING & FABRICATION            609 MULLIGAN RD HARRISVILLE MS 39082
R & M MOBILE MECHANICS INC             2800 NE LOOP 410 STE 203 SAN ANTONIO TX 78218
R & M TRANSPORT INC.                   OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
R & M TRANSPORT LOGISTIC INC           OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
R & M TRANSPORTATION, INC.             PO BOX 382 SPARTA IL 62286
R & MOTAS TRUCKING INC                 OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
R & O TRANSPORTATION OF ILLINOIS INC   1332 SMOKETREE LN BARTLETT IL 60103
R & P LOGISTICS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
R & R B C SERVICES LTD                 2770 PRINCESS STREET ABBOTSFORD BC V2T 2S6 CANADA
R & R BROTHERS TRUCKING INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
R & R CONTRACTING SERVICES INC.        P. O. BOX 1803 SAINT PETERS MO 63376
R & R DIESEL REPAIR, INC.              PO BOX 5778 HELENA MT 59604
R & R INC                              44 VICTORIA ROAD YOUNGSTOWN OH 44515
R & R PACKAGING, INC.                  601 1ST AVE NW GRAVETTE AR 72736
R & R TRANSPORTATION INC               OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
R & R TREE SERVICE                     C/O RALPH ANDERSON, 113 N 300 W JEROME ID 83338
R & R TRUCK LINE INC                   7235 FRENCH RD APT 15G SACRAMENTO CA 95828
R & S BODY REPAIR                      1136 WELCOME BETHESDA RD LEXINGTON NC 27295
R & S BODY REPAIR                      PO BOX 93 WELCOME NC 27374
R & S ERECTION NORTH PENINSULA, INC.   133 S LINDEN AVE SOUTH SAN FRANCISCO CA 94080
R & S EXPRESS LLC                      OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
R & S EXPRESS LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
R & S OVERHEAD DOORS                   OF INLAND EMPIRE INC 1939 S AUGUSTA CT ONTARIO CA 91761
R & T ENTERPRISES                      206 W 4TH ST KEWANEE IL 61443
R & T TRANS INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R & W FREIGHT LINE LLC                 OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189



Epiq Corporate Restructuring, LLC                                                                 Page 1544 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1553 of 2156

Claim Name                           Address Information
R & W TRUCK SERVICE INC - WARREN     20 ROBIN LN WARREN PA 16365
R & X TRANSPORTATION LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
R & Y CASTELLANOS TRUCKING INC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
R & Y EXPRESS INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R A B TRUCKING INC                   1247 EASTWOOD AVE TALLMADGE OH 44278
R A C FREIGHT LLC                    OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
R A C TRANSPORT LLC                  151 WALNUT ST APT 1 NEWARK NJ 07105
R A C TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R AND C LOGISTIC LLC                 OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
R AND G TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R AND H TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R AND L COLLISION CENTER, INC        1207 S BATTLEGROUND AVE KINGS MOUNTAIN NC 28086
R AND R EXPEDITED                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
R AND S FARMS                        OR OUTSOURCE FINANCIAL SVCS, INC PO BOX 5172 DENVER CO 80217
R ANGEL EXPRESS TRUCKING CORP        1615 E 172ND ST APT 1F BRONX NY 10472-2250
R C DAVIS CO INC                     80 SMITH ST STE 3B FARMINGDALE NY 11735
R C TRANSPORTATION INC               OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
R CURLEY ENTERPRISES LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R D F LOGISTICS INC.                 7425 INDUSTRIAL PARKWAY LORAIN OH 44053
R D F LOGISTICS INC.                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R D V TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R DIESEL TRUCK SALES INC             4688 ROUTE 104 WILLIAMSON NY 14589
R E A L SVCS LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
R E TRACY LOGISTICS LLC              2774 COUNTY ROAD 413 FRIEDHEIM MO 63747
R E ZIMMERMANN ENVIRONMENTAL GROUP   2944 IVANHOE RD SILVER LAKE OH 44224
R EXPRESS FREIGHT LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
R F FAGER COMPANY                    2058 STATE RD CAMP HILL PA 17011
R G BEHERS ELECTRIAL SERVICE INC     1121 BOYCE ROAD STE 2050 PITTSBURGH PA 15241
R G II TRANSPORTS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R GILL CORPORATION                   12089 TORBRAM RD CALEDON ON L7C 2T4 CANADA
R GILL ENTERPRISE LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
R H CRAWFORD INC                     341 MOULSTOWN RD HANOVER PA 17331
R H ELECTRIC                         3712 PALACIO DEL RIO ALBUQUERQUE NM 87107
R H M TRUCKING                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
R I REMPLE LTD                       13 MADISON DRIVE STEINBACH MB R5G 2G3 CANADA
R I T E WAY TRUCKING INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
R J CARGO INC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
R J EXPERT INC.                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
R J SMITH CONSTRUCTION               1711 REYMET RD ATTN JODY PIERSON RICHMOND VA 23237
R J XPRESS LLC                       OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
R L A TRANSPORT CORP                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
R L BATES TRUCKING LLC               OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
R L KIRK ENTERPRISES LLC             PO BOX 355 FAIR GROVE MO 65648
R L MIDWEST TRANSPORTATION LLC       OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
R L WILLIAMS TRUCKING INC            OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
R LARA TRUCKING INC                  OR LCH FINANCIAL LLC 30 N GOULD ST STE 10094 SHERIDAN WY 82801
R LEE WELSH JR                       ADDRESS ON FILE
R LUGO TRUCKING                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                               Page 1545 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1554 of 2156

Claim Name                           Address Information
R M H TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R M P LOGISTICS INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
R M T TRUCKING LLC                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
R N R SERVICES LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R NOONAN ADR SOLUTIONS LTD           205 810 QUAYSIDE DR NEW WESTMINSTER BC V3M 6B9 CANADA
R O T HOTSHOT TRUCKING LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
R OPTION                             19 VTA FONTIBRE SAN CLEMENTE CA 92673
R P G LOG INC                        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
R P ZONE INC                         4213 STAFFORD DR PASCO WA 99301
R PRICE TRUCKING LLC                 OR TRANSPORT FACTORING, INC PO BOX 167648 IRVING TX 75016
R R CHARLEBOIS INC                   950 ROUTE 7 S MILTON VT 05468
R R PICKETT FARMS LLC                5057 E 100 S CRAWFORDSVILLE IN 47933
R S ELECTRIC                         2764 ROSE ANN LANE CINCINNATI OH 45239
R S FREIGHT CARRIER INC              OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
R S G TRANSPORT                      OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
R S TRANSPORT (FRESNO CA)            OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087
R S TRUCKING ENTERPRISES INC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R S TRUCKING LLC                     29831 113TH WAY SE AUBURN WA 98092
R S WILLIAMS TRUCKING INC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
R SINGH TRUCKING INC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
R SQUARED SELECTIONS                 415 STRATFORD RD 2E BROOKLYN NY 11218
R SQUARED TRUCKING LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
R STUART LOGISTICS                   OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
R T EXPRESS                          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
R T I                                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
R T P - PREVIEW                      ATTN: TRAVIS NIELSEN PO BOX 5439 580 EAST FRONT STREET WINONA MN 55987
R TESTING LLC                        14051 GERTRUDE CIRCLE OMAHA NE 68138
R TRANSPORTATION                     ATTN: RODNEY MEDLIN 10934 WHITE STAG DRIVE CHARLOTTE NC 28269
R TRUCKING (MC1119958)               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
R U READY TOO LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R U S TRUCKING                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
R W MERCER COMPANY                   PO BOX 180 JACKSON MI 49204
R W ROADSIDE REPAIR, LLC             599 MCMULLIN DR GRAND JUNCTION CO 81504
R W TRANSPORT INC.                   PO BOX 138 CLEAR CREEK IN 47426
R WEINSTEIN INC                      846 POHUKAINA ST HONOLULU HI 96813
R&A SALES AND SERVICE                PO BOX 3407 TERRE HAUTE IN 47803
R&AS STR8 SHOT INC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
R&B EXPRESS TRANSPORT CORP           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
R&B METAL STRUCTURES                 979 HWY 42 S JACKSON GA 30233
R&B TRUCKING, INC.                   OR WALLACE COMPANY INC, PO BOX 988 FULTON MS 38843
R&D MANCO                            C/O ECHO GLOBAL 600 WEST CHICAGO AVE STE 725 CHICAGO IL 60654
R&D SUPPLIES                         12722 62ND ST STE 200 LARGO FL 33773
R&D TRANSPORT SERVICES, LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
R&E TRUCKING CORP                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
R&I CUSTOM TRANSFER                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
R&J BROTHERS TRANSPORT LLC           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
R&J BROTHERS TRANSPORTATION INC      OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
R&J CARGO INC                        OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
R&J TRANS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                               Page 1546 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1555 of 2156

Claim Name                              Address Information
R&K ELECTRIC                           3445 HOFFMAN DR. NW OWATONNA MN 55060
R&K FREIGHT LLC                        2801 ALFT LANE SUITE 500 ELGIN IL 60124
R&L CARRIERS                           C/O: THOMPSON HINE 41 SOUTH HIGH STREET SUITE 1700 COLUMBUS OH 43215
R&L CARRIERS                           ATTN: GENERAL COUNSEL 600 GILLAM RD. WILMINGTON OH 45177
R&M LOGISTICS                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R&R FLEET MAINTENANCE, LLC             26110 BALANCIN WAY MORENO VALLEY CA 92555
R&R LEGACY GROUP LLC                   OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
R&R LIFT TRUCK SERVICE LLC             240 GLENDOWER LANE CHESNEE SC 29323
R&R LIFT TRUCK SERVICE LLC             PO BOX 908 LYMAN SC 29365
R&R TRUCK & TRAILER REPAIR             1049 VINEYARD LANE AURORA IL 60502
R&R TRUCKING 2 LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
R&S BROS TRUCKING INC                  1963 MCCUNE AVE YUBA CITY CA 95993
R&S ERECTION OF SOUTHERN ALAMEDA COUNTY 31298 SAN ANTONIO ST HAYWARD CA 94544
R&S EXPRESS, INC                       OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
R&S INDUSTRIES LLC                     OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
R&T TRANSPORTATION AND LOGISTICS LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R&Y TRUCKING LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
R-FAMILY TRUCKING                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
R-J INVESTMENTS LLC                    63961 HOWDY CT MONTROSE CO 81401
R-K-CAMPF TRANSPORT                    465 NEWGARDEN AVENUE SALEM OH 44460
R-T TRANS LLC                          OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
R. A. L. CARGO INC.                    R. A. L. CARGO INC., 5585 GOLF ST JURUPA VALLEY CA 92509
R. B. HUMPHREYS, INC.                  P. O. BOX 427 WESTMORELAND NY 13490
R. CASILLAS TRANSPORTATION, INC        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
R. E. GARRISON TRUCKING, INC.          ATTN: KIBERLY MARTY PO BOX 890 CULLMAN AL 35056-0890
R. E. M. TRANSPORT, LTD.               P. O. BOX 481 ST. STEPHEN NB E3L 3A6 CANADA
R. F. CHAMBERLAND, INC.                P. O. BOX 188 ST. AGATHA ME 04772
R. G. FRANCIS TRANSPORTATION, LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
R. GARTH DUBOIS TRANSPORT, LLC         P.O. BOX 66 FRANKLIN NH 03235
R. H. NORTHROP CORP.                   94 MAIN STREET NORTH READING MA 01864
R. L. ROBERTS, LLC                     ATTN: MARK SHERMAN ATTN: CORP LEGAL DEPARTMENT 600 GILLAM ROAD WILMINGTON OH
                                       45177
R. L. ROBERTS, LLC                     ATTN: MARK SHERMAN PO BOX 271 WILMINGTON OH 45177
R. O. WETZ TRANSPORTATION CO.          1280 BLUE KNOB RD MARIETTA OH 45750
R. PERRY FENCE CO, LLC                 6280 LINCOLN WAY EAST FAYETTEVILLE PA 17222
R. T. 80 EXPRESS, INC.                 P.O. BOX 269 BARBERTON OH 44203
R. W. TRANSIT LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
R.A.S.K. & ASSOCIATES INC              4902 NORTH 700 WEST MCCORDSVILLE IN 46055
R.C. STAHLNECKER CO INC                PO BOX 296 MILTON PA 17847
R.C. TRANSPORT, LLC.                   138 COUNTY ROAD 721 RICEVILLE TN 37370
R.E. GRIESEMER, INC.                   P.O. BOX 7 INDIANAPOLIS IN 46206
R.E.A EXPRESS, LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
R.E.F. TRUCKING                        2624 CHALYBEATE RD BEDFORD PA 15522
R.L. ROBERTS LLC                       600 GILLAM RD WILMINGTON OH 45177
R.L.S. INTERNATIONAL TRANSPORT SVCS.   310 BOOMTOWN ST LAREDO TX 78043
INC
R.T. SHELTON                           ADDRESS ON FILE
R.T.B. TRUCKING INC                    BOX 702 GRUNTHAL MB R0A 0R0 CANADA
R.W. DELIVERY, INC.                    P.O. BO 42036 CLEVELAND OH 44142



Epiq Corporate Restructuring, LLC                                                                 Page 1547 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1556 of 2156

Claim Name                              Address Information
R1 TRANS LOGISTICS INC                 OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
R16 EXPRESS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
R2 EXPRESS LLC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
R2 LOGISTICS LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
R2-D2 EXPRESS, INC.                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
R20 TRUCKING LLC                       OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
R30 TRUCKING LLC                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
R3C TRANSPORT LLC                      OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
R7 TRANSPORT INC                       514 VAN KIRK DR BRAMPTON ON L7A 0L2 CANADA
R8 LOGISTICS LLC                       OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RA JONES C/O MGN LOGISTICS INC         ATTN: DONNA PABON 89 PROVIDENCE HWY WESTWOOD MA 02090
RA LOGISTICS INC                       OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
RA TRANSPORTATION LLC                  OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
RA TRANSPORTATION LLC (W DES MOINES IA) OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RAAB, CRAIG                            ADDRESS ON FILE
RAATZ FENCE COMPANY                    PO BOX 99483 JEFFERSONTOWN KY 40269
RAB TRANSPORT LLC                      11143 FAIRWAY DR HOUSTON TX 77064
RABAGO, JORGE                          ADDRESS ON FILE
RABANALES, RUDY                        ADDRESS ON FILE
RABB, MEGAN                            ADDRESS ON FILE
RABBI TRUCKING INC.                    OR ASSET FUNDING SOURCE, PO BOX 497 ANKENY IA 50021
RABBIT QUALITY EXPRESS LLC             OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RABBIT TRANSPORT LLC                   OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
RABCO TRUCKING                         14218 BUSINESS AVENUE LAREDO TX 78045
RABE, ZEB                              ADDRESS ON FILE
RABER PORTABLE STORAGE BARNS LLC       5730 N 900 E MONTGOMERY IN 47558
RABOIN, CRAIG                          ADDRESS ON FILE
RABOIN, NANCY                          ADDRESS ON FILE
RABOLD, KYLE                           ADDRESS ON FILE
RABOTEAUX, MARK                        ADDRESS ON FILE
RABY, GLENN                            ADDRESS ON FILE
RABY, SHAWN                            ADDRESS ON FILE
RAC TRANSPORT CO INC                   PO BOX 17459 DENVER CO 80217
RACCUIA, MICHAEL                       ADDRESS ON FILE
RACE FUND LAWN CARE                    20390 GORDON ST. SAUCIER MS 39574
RACEK, KEVIN                           ADDRESS ON FILE
RACH, PETER                            ADDRESS ON FILE
RACHAL, THOMAS                         ADDRESS ON FILE
RACHEL LEE OWEN                        ADDRESS ON FILE
RACHEL LENGEL                          ADDRESS ON FILE
RACHEL NICHOLS                         ADDRESS ON FILE
RACHELSON, ANDREA                      ADDRESS ON FILE
RACK S EXPRESS, INC.                   1673 W 5560 N ST GEORGE UT 84770
RACKCLIFF, DONALD                      ADDRESS ON FILE
RACZKOWSKI, JOHN                       ADDRESS ON FILE
RAD EXPRESS LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RAD TON LLC                            2130 AMERICAN WAY PORT ALLEN LA 70767
RADA MANUFACTURING COMPANY             905 INDUSTRIAL RD. WAVERLY IA 50677
RADCLIFF, GEORGE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1548 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1557 of 2156

Claim Name                           Address Information
RADCLIFFE, ALEXANDER                 ADDRESS ON FILE
RADCLIFFE, DAVID                     ADDRESS ON FILE
RADCLIFFE, JOHN                      ADDRESS ON FILE
RADCLIFFE, ROBERT                    ADDRESS ON FILE
RADEL LOGISTICS LLC                  9816 N WARE RD MCALLEN TX 78504
RADEL, JAYLON                        ADDRESS ON FILE
RADER, JAMES                         ADDRESS ON FILE
RADER, KEVIN                         ADDRESS ON FILE
RADER, SAM                           ADDRESS ON FILE
RADER, TODD                          ADDRESS ON FILE
RADFORD, ISRAEL                      ADDRESS ON FILE
RADFORD, ORION                       ADDRESS ON FILE
RADFORD, RICKEY                      ADDRESS ON FILE
RADFORD, TYLER                       ADDRESS ON FILE
RADHE RADHE TRANSPORT INC            14402 PINTAIL LOOP EASTVALE CA 92880
RADHOO INC                           OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
RADIANT EAGLE LLC                    3434 V ST OMAHA NE 68107
RADIANT POOLS - DONNA                ATTN: DAVID FINNERTY 440 N PEARL ST ALBANY NY 12204
RADIANT POOLS - RYAN                 ATTN: RYAN FUNK CUST. SERVICE - RYAN 440 N PEARL ST ALBANY NY 12204
RADIANT TRANSPORTATION LLC           OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
RADIATOR WORKS, INC.                 36555 ECORSE RD ROMULUS MI 48174
RADIC, ANDREW                        ADDRESS ON FILE
RADICH, TIMOTHY                      ADDRESS ON FILE
RADILLO PALOMERA, FLORENCIO          ADDRESS ON FILE
RADIO TRANSPORTATION LLC             2310 MARTIN ROAD MOUNT VERTNON WA 98273
RADIUS BANK                          500 BOYLSTON ST, STE 1200 BOSTON MA 02116
RADIUS BANK                          ATTN: EQUIPMENT FINANCE GROUP\ 500 BOYLSTON STREET SUITE 1250 BOSTON MA 02116
RADIUS BANK                          1 HARBOR STREET, SUITE 201 BOSTON MA 02210-2445
RADIUS LOGISTICS INC                 ATTN: KRISTY CROCKER CLAIMS 3338 190 STREET, UNIT 103 SURREY BC V3Z 1A7 CANADA
RADIUS TRUCKING LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
RADIVOYEVICH, MIKE                   ADDRESS ON FILE
RADLEY, KARL                         ADDRESS ON FILE
RADO, JOHN                           ADDRESS ON FILE
RADO, JOHN P                         ADDRESS ON FILE
RADOICIC, ALYSSA                     ADDRESS ON FILE
RADON, JENNIFER                      ADDRESS ON FILE
RADOSLAV LAKIC                       ADDRESS ON FILE
RADOVANOVIC, OGNJEN                  ADDRESS ON FILE
RADTKE, BEVERLY                      ADDRESS ON FILE
RADWAN, CASEY                        ADDRESS ON FILE
RAE, KEVEN                           ADDRESS ON FILE
RAEDEON ELITE TRANSPORT LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RAEFORD, RONNIE                      ADDRESS ON FILE
RAEI TRUCKING LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAELENE G MCBEE                      ADDRESS ON FILE
RAFA & SONS TRANSPORT LLC            4040 KRAG ST EL PASO TX 79938-9437
RAFA TRANS INC                       OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
RAFAEL GARCIA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1549 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1558 of 2156

Claim Name                           Address Information
RAFAEL TOLEDO                        ADDRESS ON FILE
RAFAY, ABDUL                         ADDRESS ON FILE
RAFCOM TRUCKING LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RAFD TRANSPORT LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAFFAY, JASON                        ADDRESS ON FILE
RAFFENSBERGER, JEFF                  ADDRESS ON FILE
RAFFENSPERGER, MELISSA               ADDRESS ON FILE
RAFFERTY, TRACY                      ADDRESS ON FILE
RAFFERTY, WILLIAM                    ADDRESS ON FILE
RAFFLES ROAD CARRIERS LTD            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAFIK RAGNEB ESKANDER FARAGALLA      ADDRESS ON FILE
RAFTAAR TRANSPORTATION INC           OR TAB BANK, PO BOX 150830 OGDEN UT 84415
RAFTAR TRANSPORT INC                 OR CD CONSORTIUM CORPORATION 8930 WAUKEGAN RD, SUITE 230 MORTON GROVE IL 60053
RAFTER 88 TRANSPORTATION LLC         OR ECAPITAL FREIGHT FACTORING CORP, PO BOX 206773 DALLAS TX 75320-6773
RAFTER F TRUCKING LLC                OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
RAGA TRANSPORT                       OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
RAGAINI, CHRISTOPHER                 ADDRESS ON FILE
RAGAN MECHANICAL                     702 W. 76TH STREET DAVENPORT IA 52806
RAGAN, JERRY                         ADDRESS ON FILE
RAGAN, JERRY D                       ADDRESS ON FILE
RAGAN, MELANIE                       ADDRESS ON FILE
RAGER, FREDERICK                     ADDRESS ON FILE
RAGING H TRUCKING LLC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
RAGLAND, CLIFFORD                    ADDRESS ON FILE
RAGLAND, EUGENE                      ADDRESS ON FILE
RAGLAND, MAURICE                     ADDRESS ON FILE
RAGNER, NATHAN                       ADDRESS ON FILE
RAGOS TRUCKING LLC                   OR IFM, 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
RAGSDALE & SONS TRANSPORT LLC        OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RAGSDALE, AARON                      ADDRESS ON FILE
RAGSDALE, ROBERT                     ADDRESS ON FILE
RAGSDALE, ROCKY                      ADDRESS ON FILE
RAGSDALE, SHARON                     ADDRESS ON FILE
RAH TRANSPORT LLC                    OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2485
RAH TRANSPORTATION CORPORATION       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAHA TRUCKING LLC                    OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RAHAL TRUCKING INC                   OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
RAHAT TRANSPORT LLC                  5211 MCALPINE GLEN DR APT 5 CHARLOTTE NC 28227
RAHIMI, OMAR                         ADDRESS ON FILE
RAHMA GO LLC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RAHMAN, REHAN                        ADDRESS ON FILE
RAHMANI, ABDUL SHUKOOR               ADDRESS ON FILE
RAHN, AMANDA                         ADDRESS ON FILE
RAHN, HALEY                          ADDRESS ON FILE
RAHWA TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RAI GLOBAL, INC.                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAI TRANS LLC                        1112 9TH ST SE APT B10 PUYALLUP WA 98372
RAI TRANSPORT INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RAI TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1550 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1559 of 2156

Claim Name                           Address Information
RAI TRANSPORTATION INC (MC1067277)   OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
RAI, RANBIR                          ADDRESS ON FILE
RAIA, THOMAS P                       ADDRESS ON FILE
RAICON DEVELOPMENTS INC              B100 6286 203 ST LANGLEY BC V2Y 3S1 CANADA
RAIDEN EXPRESS                       8601 LAS CRUCES DR LAREDO TX 78045
RAIFORD, DAVID O                     ADDRESS ON FILE
RAIKOT LOGISTICS LTD                 2021 32A STREET NW EDMONTON AB T6T 0L6 CANADA
RAIL LOGISTICS                       32861 PIN OAK PARKWAY UNIT D AVON LAKE OH 44012
RAILIS TRANSPORT CORP                OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
RAILYARD WEST, LLC                   118 W. 4TH ST LOVELAND CO 80537
RAIN DOGS TRUCKING INC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RAIN FOR RENT                        310 MAIN AVE WAY SE HICKORY NC 28602
RAINBOLT, DANIEL                     ADDRESS ON FILE
RAINBOLT, VANESSA                    ADDRESS ON FILE
RAINBOW BRIDGE TRANSPORTATION INC    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAINBOW INTERNATIONAL OF FARGO       PO BOX 368 FARGO ND 58107
RAINBOW LOGISTICS LLC                OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
RAINBOW TECHNOLOGY CORPORATION       261 CAHABA VALLEY PARKWAY PELHAM AL 35124
RAINE LOGISTICS INC                  PO BOX 513 GETZVILLE NY 14068
RAINE, JON                           ADDRESS ON FILE
RAINE, JUSTEN                        ADDRESS ON FILE
RAINER, LUSHAWN                      ADDRESS ON FILE
RAINES ELECTRIC                      PO BOX 2969 VICTORVILLE CA 92392
RAINES, CYNTHIA                      ADDRESS ON FILE
RAINES, DAVID                        ADDRESS ON FILE
RAINES, JESSE                        ADDRESS ON FILE
RAINES, KENNETH                      ADDRESS ON FILE
RAINES, TIMOTHY                      ADDRESS ON FILE
RAINES, TIMOTHY D                    ADDRESS ON FILE
RAINES, WILLIAM                      ADDRESS ON FILE
RAINEY, ANDREW                       ADDRESS ON FILE
RAINEY, CLIFFORD L                   ADDRESS ON FILE
RAINEY, DWIGHT                       ADDRESS ON FILE
RAINEY, TERRY                        ADDRESS ON FILE
RAINEY, TREVOR                       ADDRESS ON FILE
RAINGE, PARMALEY                     ADDRESS ON FILE
RAINIER ASPHALT SEALING LLC          PO BOX 1549 NORTH BEND WA 98045
RAINIER ASPHALT SEALING LLC          RAINIER ASPHALT & CONCRETE, PO BOX 1549 NORTH BEND WA 98045
RAINIER TRANSPORTATION, INC          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
RAINLAND EXPRESS LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
RAINMAKER                            PO BOX 31697 BELLINGHAM WA 98228
RAINO, WILLIAM                       ADDRESS ON FILE
RAINONE, DONNA                       ADDRESS ON FILE
RAINS TRANSPORT SERVICE LLC          OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
RAINSFIRE EXTINGUISHER SERVICE       P.O. BOX 26691 LAS VEGAS NV 89126
RAINWATER, CODY                      ADDRESS ON FILE
RAIPUR TRANS INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAIRDENS AUTO SALVAGE & TOWING LLC   3944 S 7TH ST KEOKUK IA 52632
RAISBECK, STEPHEN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1551 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1560 of 2156

Claim Name                           Address Information
RAISE RITE, INC.                     PO BOX 89425 SIOUX FALLS SD 57109
RAISING QUEENS LOGISTICS INC         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAISLEY, WILLIAM                     ADDRESS ON FILE
RAISOR, TODD                         ADDRESS ON FILE
RAITMAIER, KATHLEEN                  ADDRESS ON FILE
RAITT CORPORATION                    4801 LINTON BOULEVARD 11A-652 DELRAY BEACH FL 33445
RAJ CARRIER LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RAJ FLEET SERVICES, LLC              195 LISLE INDUSTRIAL AVE LEXINGTON-FAYETTE KY 40511
RAJ PURA TRANSPORT                   4225 BOUL HEBERT SALABERRY-DE-VALLEYFIELD QC J6S 6J2 CANADA
RAJ TRANSPORT INC                    195 LISLE INDUSTRIAL BLVD LEXINGTON KY 40511
RAJ TRUCKING LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RAJA EXPRESS LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAJA JUNG TRUCKING                   OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
RAJA TRANSPORT (MANTECA CA)          OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
RAJA TRUCKING LLC                    PO BOX 163979 FORT WORTH TX 76161
RAJAI, SHAWN                         ADDRESS ON FILE
RAJAL TRANSPORT CORP                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RAJAMANI, AKILANDESWARI              ADDRESS ON FILE
RAJAN TRUCKING LTD                   2703 33 ST NW EDMONTON AB T6T 1P7 CANADA
RAJCA, TADEUS                        ADDRESS ON FILE
RAJCA, TADEUSZ                       ADDRESS ON FILE
RAJDHAN TRANSPORT INC                OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
RAJEANA LLC                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAJNESH H PRAKASH                    ADDRESS ON FILE
RAJOR, INC.                          3684 ROYAL PARK BLVD SPRING HILL TN 37174
RAJSKI, MICHAEL                      ADDRESS ON FILE
RAKAN TRUCKING INC                   13761 PERNELL DR STERLING HEIGHTS MI 48313
RAKERS, BRIAN                        ADDRESS ON FILE
RAKES, MARK                          ADDRESS ON FILE
RAKES, NICHOLAS                      ADDRESS ON FILE
RAKESTRAW, DONALD                    ADDRESS ON FILE
RAKMARK INC                          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAKMARK INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RAKOSKE, MICHELLE                    ADDRESS ON FILE
RAL TRUCKING INC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RALEIGH WEST                         ADDRESS ON FILE
RALEY, JASON E                       ADDRESS ON FILE
RALH TRUCKING LLC                    OR FAM FINANCIAL SVCS LLC 7876 PLANTATION DR WEST CHESTER OH 45069
RALICH TRUCK CENTER                  701 STEEL ST ALIQUIPPA PA 15001
RALICKI, JEREMY                      ADDRESS ON FILE
RALLIS, STELIOS                      ADDRESS ON FILE
RALLY CARRIER INC                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
RALLYE LEXUS                         20 CEDAR SWAP RD. GLEN COVE NY 11542
RALPH F HARBOUR                      ADDRESS ON FILE
RALPH M MOORE III - AT               ADDRESS ON FILE
RALPH M YORKE                        ADDRESS ON FILE
RALPH WILKENS CO., INC.              2836 W. WELDON AVENUE PHOENIX AZ 85017
RALPH, TRACY                         ADDRESS ON FILE
RALSTON, ADAM                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1552 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1561 of 2156

Claim Name                             Address Information
RALSTON, KELLY                         ADDRESS ON FILE
RALSTON, LUKE                          ADDRESS ON FILE
RALSTON, ROBERT                        ADDRESS ON FILE
RAM ASSOCIATES INC                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
RAM AUTO TRANSPORTATION LLC            35 EAST RUBY AVE PALISADES PARK NJ 07650
RAM C TRANSPORT LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RAM CARRIER LOGISTIC INC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAM DELIVERY INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RAM EXPRESS                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RAM FREIGHT LLC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAM TECHNOLOGIES                       PO BOX 8567 PASADENA CA 91109
RAM TRANS INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
RAM TRANS LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
RAM TRANSPORTATION AND LOGISTICS LLC   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RAM TRANSPORTATION LLC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
RAM TRUCKING GROUP LLC                 OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
RAM TRUCKING GROUP LLC                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
RAM, YASHODA                           ADDRESS ON FILE
RAMA TRUCKING ENTERPRISE, INC.         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
RAMA TRUCKING INC                      OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
RAMADAN, SAAD                          ADDRESS ON FILE
RAMADHAN, ALLEE                        ADDRESS ON FILE
RAMALIO, ANGELINA                      ADDRESS ON FILE
RAMALIO, ANGELINA                      ADDRESS ON FILE
RAMALIO, FREDERICK                     ADDRESS ON FILE
RAMALIO, FREDERICK                     ADDRESS ON FILE
RAMAN FREIGHT INC                      PO BOX 693124 STOCKTON CA 95269
RAMAVATH, KRISHNAVEENA                 ADDRESS ON FILE
RAMBO, MEOSHA                          ADDRESS ON FILE
RAMBONE DISPOSAL SERVICE INC           2153 PLAINFIELD PIKE JOHNSTON RI 02919
RAMBONE DISPOSAL SERVICE INC           2153 PLAINFIELD PIKE REAR JOHNSTON RI 02919
RAMBRI TRANSPORT LLC                   OR 18 WHEEL FUNDING LLC DEPARTMENT 6029 PO BOX 4517 HOUSTON TX 77210-4517
RAMCO TRUCKING, INC.                   5214 CORAL CREEK DR HOUSTON TX 77017
RAMDEEN, KEVIN                         ADDRESS ON FILE
RAMER, EMILY                           ADDRESS ON FILE
RAMEY, JOHN                            ADDRESS ON FILE
RAMEY, KEITH                           ADDRESS ON FILE
RAMEY, PAUL D                          ADDRESS ON FILE
RAMEY, ROBERT                          ADDRESS ON FILE
RAMEY, ROGER                           ADDRESS ON FILE
RAMI EXPRESS LOGISTICS LLC             3112 W NORTHGATE DR APT 1043 IRVING TX 75062-9366
RAMIC TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RAMIREZ CASTRO, MARTINIANO L           ADDRESS ON FILE
RAMIREZ ESCAMILLA, GUILLERMO           ADDRESS ON FILE
RAMIREZ HERNANDEZ, GERARDO             ADDRESS ON FILE
RAMIREZ ORELLANA, MARTA                ADDRESS ON FILE
RAMIREZ RIOS, MAGDONAL                 ADDRESS ON FILE
RAMIREZ UPHOLSTERY                     1516 W FOOTHILL BLVD RIALTO CA 92376



Epiq Corporate Restructuring, LLC                                                                 Page 1553 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1562 of 2156

Claim Name                         Address Information
RAMIREZ, AARON                     ADDRESS ON FILE
RAMIREZ, ABNER                     ADDRESS ON FILE
RAMIREZ, ALAN                      ADDRESS ON FILE
RAMIREZ, ALEECE                    ADDRESS ON FILE
RAMIREZ, ALEJANDRO                 ADDRESS ON FILE
RAMIREZ, ANTHONY                   ADDRESS ON FILE
RAMIREZ, ANTHONY                   ADDRESS ON FILE
RAMIREZ, ANTONIO                   ADDRESS ON FILE
RAMIREZ, ANTONIO A                 ADDRESS ON FILE
RAMIREZ, ARISTEO                   ADDRESS ON FILE
RAMIREZ, ARTURO P                  ADDRESS ON FILE
RAMIREZ, BERNABE                   ADDRESS ON FILE
RAMIREZ, BRYAN                     ADDRESS ON FILE
RAMIREZ, CARLOS                    ADDRESS ON FILE
RAMIREZ, CESAR                     ADDRESS ON FILE
RAMIREZ, CHARLES                   ADDRESS ON FILE
RAMIREZ, CHARLIE                   ADDRESS ON FILE
RAMIREZ, DAVID                     ADDRESS ON FILE
RAMIREZ, DOMINGO                   ADDRESS ON FILE
RAMIREZ, DONITA                    ADDRESS ON FILE
RAMIREZ, EDWARD                    ADDRESS ON FILE
RAMIREZ, EDWARD                    ADDRESS ON FILE
RAMIREZ, EFREN                     ADDRESS ON FILE
RAMIREZ, ELAINE                    ADDRESS ON FILE
RAMIREZ, ELIJIO                    ADDRESS ON FILE
RAMIREZ, ENRIQUE                   ADDRESS ON FILE
RAMIREZ, ENRIQUE                   ADDRESS ON FILE
RAMIREZ, EVERARDO                  ADDRESS ON FILE
RAMIREZ, EVERARDO                  ADDRESS ON FILE
RAMIREZ, FABIAN                    ADDRESS ON FILE
RAMIREZ, FELIPE                    ADDRESS ON FILE
RAMIREZ, FELIPE                    ADDRESS ON FILE
RAMIREZ, FERNANDO                  ADDRESS ON FILE
RAMIREZ, FIDEL                     ADDRESS ON FILE
RAMIREZ, FRANK                     ADDRESS ON FILE
RAMIREZ, GABRIEL                   ADDRESS ON FILE
RAMIREZ, GINA                      ADDRESS ON FILE
RAMIREZ, HECTOR                    ADDRESS ON FILE
RAMIREZ, ISMAEL                    ADDRESS ON FILE
RAMIREZ, IVAN                      ADDRESS ON FILE
RAMIREZ, JADRIAN                   ADDRESS ON FILE
RAMIREZ, JAIME                     ADDRESS ON FILE
RAMIREZ, JAMES                     ADDRESS ON FILE
RAMIREZ, JAMES                     ADDRESS ON FILE
RAMIREZ, JAVIER                    ADDRESS ON FILE
RAMIREZ, JESUS                     ADDRESS ON FILE
RAMIREZ, JOCELYN                   ADDRESS ON FILE
RAMIREZ, JOEY                      ADDRESS ON FILE
RAMIREZ, JOHN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1554 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1563 of 2156

Claim Name                           Address Information
RAMIREZ, JOHNNY                      ADDRESS ON FILE
RAMIREZ, JONATHAN                    ADDRESS ON FILE
RAMIREZ, JOSE                        ADDRESS ON FILE
RAMIREZ, JOSE                        ADDRESS ON FILE
RAMIREZ, JOSEAN                      ADDRESS ON FILE
RAMIREZ, JOSEPH                      ADDRESS ON FILE
RAMIREZ, JUAN                        ADDRESS ON FILE
RAMIREZ, JUAN                        ADDRESS ON FILE
RAMIREZ, JULIO                       ADDRESS ON FILE
RAMIREZ, KRISTINA                    ADDRESS ON FILE
RAMIREZ, LORI                        ADDRESS ON FILE
RAMIREZ, LUIS                        ADDRESS ON FILE
RAMIREZ, LUIS                        ADDRESS ON FILE
RAMIREZ, LUIS A                      ADDRESS ON FILE
RAMIREZ, MANUEL                      ADDRESS ON FILE
RAMIREZ, MARIA                       ADDRESS ON FILE
RAMIREZ, MARIA G                     ADDRESS ON FILE
RAMIREZ, MIGUEL                      ADDRESS ON FILE
RAMIREZ, MOISES                      ADDRESS ON FILE
RAMIREZ, NANCY                       ADDRESS ON FILE
RAMIREZ, NATHAN                      ADDRESS ON FILE
RAMIREZ, OSCAR                       ADDRESS ON FILE
RAMIREZ, PATRICK                     ADDRESS ON FILE
RAMIREZ, RAYMOND                     ADDRESS ON FILE
RAMIREZ, RICARDO                     ADDRESS ON FILE
RAMIREZ, RICARDO                     ADDRESS ON FILE
RAMIREZ, ROBERTIER                   ADDRESS ON FILE
RAMIREZ, ROBERTO                     ADDRESS ON FILE
RAMIREZ, RODRIGO                     ADDRESS ON FILE
RAMIREZ, RUBEN                       ADDRESS ON FILE
RAMIREZ, RUDY                        ADDRESS ON FILE
RAMIREZ, SALVADOR                    ADDRESS ON FILE
RAMIREZ, SARAH                       ADDRESS ON FILE
RAMIREZ, SARAH                       ADDRESS ON FILE
RAMIREZ, STEPHEN                     ADDRESS ON FILE
RAMIREZ, VALENTIN                    ADDRESS ON FILE
RAMIREZ, VICTOR                      ADDRESS ON FILE
RAMIREZ-CAPELLAN, GREIDY             ADDRESS ON FILE
RAMIREZ-HEREDIA, EDGARDO             ADDRESS ON FILE
RAMIRO ALFREDO SERRANO LEYVA         ADDRESS ON FILE
RAMIRO BARAJAS                       ADDRESS ON FILE
RAMIRO ELIZONDO DIAZ                 ADDRESS ON FILE
RAMIRO R TRANSPORT INC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RAMLINGUM, VEERALIATREN              ADDRESS ON FILE
RAMLOGAN-KELLY, USHA                 ADDRESS ON FILE
RAMMING, JEREMY                      ADDRESS ON FILE
RAMNARINE, RAMJEET                   ADDRESS ON FILE
RAMNOR TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAMON I BLAIR                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1555 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1564 of 2156

Claim Name                           Address Information
RAMON M RENTERIA                     ADDRESS ON FILE
RAMON O GREEN                        ADDRESS ON FILE
RAMON, ABELARDO                      ADDRESS ON FILE
RAMONA DUGAN                         ADDRESS ON FILE
RAMONA LOGISTICS INC                 1395 HADLEY RD LAPEER MI 48446
RAMOS EXPRESS                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RAMOS JR, FREDDIE                    ADDRESS ON FILE
RAMOS TRUCKING (MC716049)            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAMOS, ANGEL                         ADDRESS ON FILE
RAMOS, ANGEL                         ADDRESS ON FILE
RAMOS, BRYAN                         ADDRESS ON FILE
RAMOS, CHRIS                         ADDRESS ON FILE
RAMOS, DANIEL                        ADDRESS ON FILE
RAMOS, DARIO                         ADDRESS ON FILE
RAMOS, FRANKLIN                      ADDRESS ON FILE
RAMOS, GEORGE                        ADDRESS ON FILE
RAMOS, GEORGE                        ADDRESS ON FILE
RAMOS, GILBERTO                      ADDRESS ON FILE
RAMOS, HECTOR                        ADDRESS ON FILE
RAMOS, HUMBERTO                      ADDRESS ON FILE
RAMOS, HUMBERTO                      ADDRESS ON FILE
RAMOS, IVAN                          ADDRESS ON FILE
RAMOS, JACQUELINE                    ADDRESS ON FILE
RAMOS, JAYSON                        ADDRESS ON FILE
RAMOS, JESUS                         ADDRESS ON FILE
RAMOS, JOEL                          ADDRESS ON FILE
RAMOS, JOSE                          ADDRESS ON FILE
RAMOS, JOSE                          ADDRESS ON FILE
RAMOS, JOSE                          ADDRESS ON FILE
RAMOS, JOSHUA                        ADDRESS ON FILE
RAMOS, LYDIA                         ADDRESS ON FILE
RAMOS, MANNY                         ADDRESS ON FILE
RAMOS, MARBIN                        ADDRESS ON FILE
RAMOS, MELBA                         ADDRESS ON FILE
RAMOS, MICHAEL                       ADDRESS ON FILE
RAMOS, NATALIE                       ADDRESS ON FILE
RAMOS, NICHOLAS                      ADDRESS ON FILE
RAMOS, NOE                           ADDRESS ON FILE
RAMOS, OSCAR                         ADDRESS ON FILE
RAMOS, OSCAR                         ADDRESS ON FILE
RAMOS, OSCAR                         ADDRESS ON FILE
RAMOS, PASCUAL                       ADDRESS ON FILE
RAMOS, PEDRO                         ADDRESS ON FILE
RAMOS, RAFAEL                        ADDRESS ON FILE
RAMOS, RALLY                         ADDRESS ON FILE
RAMOS, REYNALDO                      ADDRESS ON FILE
RAMOS, ROBERT                        ADDRESS ON FILE
RAMOS, RODOLFO                       ADDRESS ON FILE
RAMOS, ROSEMARIE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1556 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1565 of 2156

Claim Name                             Address Information
RAMOS, RUBEN                           ADDRESS ON FILE
RAMOS, RUDOLPHO                        ADDRESS ON FILE
RAMOS, TERESITA                        ADDRESS ON FILE
RAMOS, THOMAS                          ADDRESS ON FILE
RAMOS, VICTOR                          ADDRESS ON FILE
RAMPART TRANSPORTATION INC             OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAMPED UP LOGISTICS LLC                OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
RAMROB LOGISTICS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RAMSDEN DISPATCH SOLUTIONS LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RAMSES AIR FREIGHT & TRANSPORT, INC.   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
RAMSEY JR, CLIFTON                     ADDRESS ON FILE
RAMSEY TRANSPORTATION LLC              OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
RAMSEY, BRIAN                          ADDRESS ON FILE
RAMSEY, CYNTHIA                        ADDRESS ON FILE
RAMSEY, GERALD                         ADDRESS ON FILE
RAMSEY, JARRED                         ADDRESS ON FILE
RAMSEY, JOHN                           ADDRESS ON FILE
RAMSEY, JOSHUA                         ADDRESS ON FILE
RAMSEY, JOSHUA                         ADDRESS ON FILE
RAMSEY, KENNETH                        ADDRESS ON FILE
RAMSEY, PAUL                           ADDRESS ON FILE
RAMSEY, TARA                           ADDRESS ON FILE
RAMSEY, TYRESE                         ADDRESS ON FILE
RAMSSON INTERNATIONAL TRANSPORT LLC    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RAN ENTERPRISES LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RANA LOGISTIC INC                      OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
RANA TRANSPORT LLC                     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
RANA TRUCKLINE LLC                     1433 BUTTE BEND LN YUBA CITY CA 95993
RANA, RAJIYA                           ADDRESS ON FILE
RANCAR ENTERPRISES LLC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
RANCE HOTSHOT TRUCKING LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RANCHO GENARA TRANSPORT LLC            OR S3 CAPITAL LLC, PO BOX 4065 WARREN NJ 07059
RANCY TRUCKING LLC                     OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RAND MCNALLY                           ADDRESS ON FILE
RAND MCNALLY                           ADDRESS ON FILE
RAND, MESSIAH                          ADDRESS ON FILE
RAND, MESSIAH M                        ADDRESS ON FILE
RAND, TREVOR                           ADDRESS ON FILE
RANDAL S LEGG                          ADDRESS ON FILE
RANDALL EDWARD HALEY                   ADDRESS ON FILE
RANDALL LANYON                         ADDRESS ON FILE
RANDALL PLUMBING & HEATING LIMITED     1244 BORDER STREET WINNIPEG MB R3H 0M6 CANADA
RANDALL XPRESS LLC                     OR CT CASH LLC, DEPT 2189 PO BOX 122189 DALLAS TX 75312-2189
RANDALL, AARON                         ADDRESS ON FILE
RANDALL, AISHAH                        ADDRESS ON FILE
RANDALL, CHRISTOPHER                   ADDRESS ON FILE
RANDALL, CRAIG                         ADDRESS ON FILE
RANDALL, DAKOTA                        ADDRESS ON FILE
RANDALL, DAVE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1557 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1566 of 2156

Claim Name                           Address Information
RANDALL, ERIC                        ADDRESS ON FILE
RANDALL, HENRY                       ADDRESS ON FILE
RANDALL, JEFFREY                     ADDRESS ON FILE
RANDALL, LACEY                       ADDRESS ON FILE
RANDALL, MARVIN                      ADDRESS ON FILE
RANDALL, MICHAEL                     ADDRESS ON FILE
RANDALL, OSHA                        ADDRESS ON FILE
RANDALL-REILLY, LLC                  PO BOX 2029 TUSCALOOSA AL 35403
RANDAZZO, ANTHONY                    ADDRESS ON FILE
RANDAZZO, PATRICE                    ADDRESS ON FILE
RANDER, MICHAEL                      ADDRESS ON FILE
RANDHAWA BROS TRANS INC              1759 W WOODWARD AVE MANTECA CA 95337
RANDHAWA EXPRESS CO                  5251 E FLORENCE AVE FRESNO CA 93727
RANDHAWA EXPRESS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RANDHAWA GOODS CARRIER               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RANDHAWA TRANS LLC                   OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
RANDHAWA TRANSPORT INC               7135 HENDERICKSON LN INDIANAPOLIS IN 46237
RANDLE, COREY                        ADDRESS ON FILE
RANDLE, DOMINICK                     ADDRESS ON FILE
RANDLE, JAMES                        ADDRESS ON FILE
RANDLE, MARCUS A                     ADDRESS ON FILE
RANDLE, RANDY                        ADDRESS ON FILE
RANDLE, ROOSEVELT                    ADDRESS ON FILE
RANDLE, TIMOTHY                      ADDRESS ON FILE
RANDLEEL, CURTIS                     ADDRESS ON FILE
RANDLES XPRESS                       OR INSIGHT TECHNOLOGY, INC PO BOX 200399 DALLAS TX 75320-0399
RANDOLPH DAVIS                       ADDRESS ON FILE
RANDOLPH DIESEL SERVICE              PO BOX 627 NIPOMO CA 93444
RANDOLPH L BANE                      ADDRESS ON FILE
RANDOLPH T PACHECO                   ADDRESS ON FILE
RANDOLPH, DIANA                      ADDRESS ON FILE
RANDOLPH, GARRY                      ADDRESS ON FILE
RANDOLPH, JERRY                      ADDRESS ON FILE
RANDOLPH, MARLIN                     ADDRESS ON FILE
RANDOLPH, MICHAEL                    ADDRESS ON FILE
RANDOLPH, PAMELA                     ADDRESS ON FILE
RANDOLPH, ROBERT                     ADDRESS ON FILE
RANDOLPH, SANDRA                     ADDRESS ON FILE
RANDOLPH, SHANNON                    ADDRESS ON FILE
RANDOLPH, TAKARRI                    ADDRESS ON FILE
RANDR DISPATCH LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
RANDS TRUCKING, INC.                 PO BOX 152 LADYSMITH WI 54848
RANDSTAD CANADA                      CASE POSTALE 11800 SUCCURSALE CENTRE-VILLE LOCKBOX PROFILE NUMBER M21800C
                                     MONTREAL QC H3C 0E5 CANADA
RANDSTAD CANADA                      3333 BOUL COTE VERTU 500 SAINT-LAURENT QC H4R 2N1 CANADA
RANDV TRUCKING CORP                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RANDY JACOBSON                       ADDRESS ON FILE
RANDY L DICKERSON                    ADDRESS ON FILE
RANDY L SLAUGHTER                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1558 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1567 of 2156

Claim Name                           Address Information
RANDY LOGISTICS LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RANDY MOFFITT                        ADDRESS ON FILE
RANDY RITCHEY D/B/A                  RANDYS AUTO SERVICE, PO BOX 696 NILES MI 49120
RANDY SUE HUMPHREY                   ADDRESS ON FILE
RANDY SWEET                          ADDRESS ON FILE
RANDY TRANSPORT INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RANDY TURPIN ENTERPRISES LLC         1146 W 100 S BLACKFOOT ID 83221-6083
RANDY W COLE                         ADDRESS ON FILE
RANDY WINKLER                        ADDRESS ON FILE
RANDYS AUTO PARTS AND TOWING         2135 ELMWAY OKANOGAN WA 98840
RANDYS AUTO SERVICE 24 HOUR TOWING   PO BOX 696 NILES MI 49120
RANDYS COLLISION CENTER INC          PO BOX 504 FORT DEPOSIT AL 36032
RANDYS HIGH COUNTRY TOWING INC       1205 E LAS VEGAS ST COLORADO SPRINGS CO 80903
RANDYS TOWING LLC                    303 ELMS AVE TAWAS CITY MI 48763
RANEY, MELTON                        ADDRESS ON FILE
RANGANATHAN, NIVEDITA                ADDRESS ON FILE
RANGE EXPRESS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RANGE, PAUL                          ADDRESS ON FILE
RANGEL, AJ                           ADDRESS ON FILE
RANGEL, CHRISTOPHER                  ADDRESS ON FILE
RANGEL, CURTIS                       ADDRESS ON FILE
RANGEL, JAIME                        ADDRESS ON FILE
RANGEL, JESSE                        ADDRESS ON FILE
RANGEL, JOHN                         ADDRESS ON FILE
RANGEL, RODRIGO                      ADDRESS ON FILE
RANGEL, YULUANDA                     ADDRESS ON FILE
RANGER LOGISTICS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RANGER, KEVIN                        ADDRESS ON FILE
RANGERS PLUS LLC                     ATTN: PAM 30 N GOULD ST STE R SHERIDAN WY 82801
RANGERTOP TRANSPORTATION CO          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
RANGOS TRUCKING LLC (MC1278860)      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RANJEET TRANSPORT INC                289 AINGER CIR SACRAMENTO CA 95835
RANK DELIVERY SERVICE LLC            2654 S DECKER RD MARLETTE MI 48453
RANK, KENNETH                        ADDRESS ON FILE
RANKIN COUNTY TAX ASSESSOR           211 E GOVERNMENT ST BRANDON MS 39042
RANKIN, BRANDY                       ADDRESS ON FILE
RANKIN, CHAD                         ADDRESS ON FILE
RANKIN, CHRISTOPHER                  ADDRESS ON FILE
RANKIN, DILLIAN                      ADDRESS ON FILE
RANKIN, NORMAN                       ADDRESS ON FILE
RANKIN, RICHARD L                    ADDRESS ON FILE
RANS TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RANSFORD ENVMTL SOLUTIONS            786 HARTFORD TURNPIKE SHREWSBURY MA 01545
RANSOM, ANDY                         ADDRESS ON FILE
RANSOM, GREGORY                      ADDRESS ON FILE
RANSOM, JAMES                        ADDRESS ON FILE
RANSOM, JOHN                         ADDRESS ON FILE
RANSOM, PHILLIP K                    ADDRESS ON FILE
RANSOM, RONALD                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1559 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1568 of 2156

Claim Name                           Address Information
RANSOM, SHARON                       ADDRESS ON FILE
RANSOM, VINCENT                      ADDRESS ON FILE
RANSON, KENNETH                      ADDRESS ON FILE
RANSON, WILLIE L                     ADDRESS ON FILE
RANU TRANSPORT LLC                   OR INTERNET TRUCKSOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
RANULFO EXPRESS CORP                 13876 SW 56 ST APT 140 MIAMI FL 33184
RANVEER TRANSPORT INC                OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
RAO BROS                             5211 SILVER CLOVER AVE BAKERSFIELD CA 93313
RAO TRANSPORT LLC                    OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
RAONOKE CLAIMS SERVICE               ATTN: MICHAEL MCGRORY 1475 E WOODFIELD ROAD STE 500 SCHAUMBURG IL 60173
RAP EXPRESS LLC                      OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
RAPAPORT, LEE                        ADDRESS ON FILE
RAPER, STEVEN                        ADDRESS ON FILE
RAPHELD, BERNARD                     ADDRESS ON FILE
RAPID BEE TRANSPORTATION LLC         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RAPID CHARGE LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAPID CONCRETE SOLUTIONS             13500 PEARL RD 139-339 CLEVELAND OH 44136
RAPID CONCRETE SOLUTIONS             13500 PEARL RD, STE 139-339 CLEVELAND OH 44136
RAPID DEALS                          ATTN: JOSH DING 5521 SCHAEFER AVE CHINO CA 91710
RAPID DEALS                          ATTN: MICHAEL FAN 5521 SCHAEFER AVE CHINO CA 91710
RAPID DELIVERY SERVICE               PO BOX 79673 HOUSTON TX 77279
RAPID DOVE LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAPID EXCHANGE INC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RAPID EXPRESS INC                    5801 WASHINGTON AVE, SUITE 99 MOUNT PLEASANT WI 53406
RAPID FREIGHT INC (MC577073)         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RAPID FREIGHT LLC                    PO BOX 820945 VANCOUVER WA 98682
RAPID LANE TRUCKING USA INC          8040 NW 95TH ST STE 107 HIALEAH GARDENS FL 33016
RAPID LOGISTICS LLC                  OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
RAPID LOGISTICS LLC (BLAKESLEE PA)   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RAPID PARTS                          ATTN: SARAH NEWSOME GEODIS PO BOX 2208 BRENTWOOD TN 37024
RAPID RECOVERY                       159 W MONTAUK HWY HAMPTON BAYS NY 11946
RAPID RESPONSE DELI                  397 52458 RANGE ROAD 223 SHERWOOD PARK AB T8A 5V1 CANADA
RAPID RESPONSE DELIVERY              8705 BOLLMAN PLACE, SUITE 300 SAVAGE MD 20763
RAPID RESPONSE, INC                  155 ENTERPRISE DRIVE WENTZVILLE MO 63385
RAPID RIVER LOGISTICS LLC            10820 US HWY 41 PO BOX 337 RAPID RIVER MI 49878
RAPID ROUTE LOGISTICS INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAPID RUN TRANSPORT LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RAPID SUPPLY LOGISTICS LLC           OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
RAPID TIRE SERVICE                   661 STATE ROUTE 17K MONTGOMERY NY 12549
RAPID TRANS                          OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RAPID TRANSIT COMPANY                PO BOX 327 ERIE PA 16512
RAPID TRANSPORT                      PO BOX 4230 MCALLEN TX 78502
RAPID TRANSPORT INC                  9659 LAS TUNAS DR TEMPLE CITY CA 91780-2103
RAPID TRANSPORT INC.                 OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
RAPID TRANSPORT LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
RAPID TRANSPORT TRUCKING LLC         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
RAPID TRANSPORTATION, INC.           7146 W AVIAN CT FRANKLIN WI 53132
RAPID TRUCKING                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RAPID TRUCKING LLC                   3635 MORNING MIST CT SUWANEE GA 30024



Epiq Corporate Restructuring, LLC                                                               Page 1560 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1569 of 2156

Claim Name                              Address Information
RAPID XPRESS LOGISTICS LLC              OR RAPID XPRESS LOGISTICS LLC 31057 WOODLAND DR LACOMBE LA 70445
RAPIDES PARISH POLICE JURY              PO BOX 1590 ALEXANDRIA LA 71309
RAPIDFOX TRANSPORTATION LLC             2220 ELMWOOD AVE BERWYN IL 60402
RAPIDO TRANSFER INC                     PO BOX 451988 LAREDO TX 78045
RAPKA, ROBERT                           ADDRESS ON FILE
RAPPE, JAGER                            ADDRESS ON FILE
RAPPE, REGINA                           ADDRESS ON FILE
RAPTOR AUTO TRANSPORT INC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAPTOR TRANSPORTATION INC               2049 TOMBUR DR HACIENDA HEIGHTS CA 91748
RAPTORS TRANSPORTATION INC              107 SAVANNA PARADE NE CALGARY AB T3J 0V8 CANADA
RAS EXPRESS LINE LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RAS EXPRESS LLC                         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAS JOINER FAMILY HOLDING CORPORATION   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RAS TRANSPORT                           OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
RASCOE, MUNCEY                          ADDRESS ON FILE
RASCOM                                  4070 N PALM ST 703 FULLERTON CA 92835
RASCON, ALVARO                          ADDRESS ON FILE
RASCON, RAFAEL                          ADDRESS ON FILE
RASDON, BRANDON                         ADDRESS ON FILE
RASEY, ALLEN                            ADDRESS ON FILE
RASH ENTERPRISE LLC                     OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
RASH, SHANELLE                          ADDRESS ON FILE
RASHAAD M MOORE                         ADDRESS ON FILE
RASHAD M HENDERSON                      ADDRESS ON FILE
RASHEAN N PARKER                        ADDRESS ON FILE
RASHEEK R JOHNSON                       ADDRESS ON FILE
RASHID, ABSAME                          ADDRESS ON FILE
RASK & ASSOCIATES INC                   5559 N 500 W MCCORDSVILLE IN 46055
RASKE, KEITH                            ADDRESS ON FILE
RASMO LOGISTICS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RASMUSSEN MECHANICAL SERVICES           3211 NEBRASKA AVE COUNCIL BLUFFS IA 51501
RASMUSSEN TRUCKING, INC.                1800 SPEIRS DRIVE CARO MI 48723
RASMUSSEN, CLINT                        ADDRESS ON FILE
RASMUSSEN, DAVID                        ADDRESS ON FILE
RASMUSSEN, ELIZABETH                    ADDRESS ON FILE
RASMUSSEN, GREGORY                      ADDRESS ON FILE
RASMUSSEN, JASON                        ADDRESS ON FILE
RASMUSSEN, RODNEY                       ADDRESS ON FILE
RASMUSSEN, STEPHEN                      ADDRESS ON FILE
RASPALDO, WILLIAM                       ADDRESS ON FILE
RASTOGI, HARSHITA                       ADDRESS ON FILE
RASUL, NAEEM                            ADDRESS ON FILE
RATAUL TRUCKING INC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
RATCLIFF, DONTA                         ADDRESS ON FILE
RATH, BARRY                             ADDRESS ON FILE
RATH, DAVID                             ADDRESS ON FILE
RATH, MARY                              ADDRESS ON FILE
RATHBONE SALES CO                       PO BOX 866 MOSES LAKE WA 98837
RATHKE, NICHOLAS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1561 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1570 of 2156

Claim Name                             Address Information
RATHNAU, STEPHEN                       ADDRESS ON FILE
RATHS, HILARY                          ADDRESS ON FILE
RATLIFF TRANSPORTATION LLC             140 BUNCH RD PO BOX 506 MANTACHIE MS 38855
RATLIFF, DEBRA                         ADDRESS ON FILE
RATLIFF, GARY                          ADDRESS ON FILE
RATLIFF, GILBERT                       ADDRESS ON FILE
RATLIFF, KELVIN M                      ADDRESS ON FILE
RATLIFF, KENNETH                       ADDRESS ON FILE
RATLIFF, KENNETH                       ADDRESS ON FILE
RATLIFFE, JAYLEND                      ADDRESS ON FILE
RATSAVONG, YAOVIPHA                    ADDRESS ON FILE
RATTAN K TRANS INC.                    5509 CLARION CHANNEL LANE BAKERSFIELD CA 93313
RATTAN ROAD TRANS                      627 MARCHE ST BELLE RIVER ON N0R1A0 CANADA
RATTARY, ELVIS                         ADDRESS ON FILE
RATTAZZI, JARED                        ADDRESS ON FILE
RATTIN, WILLIAM                        ADDRESS ON FILE
RATTLE SNAKE LOGISTICS LLC             OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
RATZEL, PETER                          ADDRESS ON FILE
RATZLAFF FREIGHT LLC                   3376 N 1500 E BUHL ID 83316
RATZLAFF MOTOR EXPRESS, INC.           P O BOX 145 MAYER MN 55360
RAU, ROBERT                            ADDRESS ON FILE
RAUCH, DANIEL                          ADDRESS ON FILE
RAUCH, PETER                           ADDRESS ON FILE
RAUCH, SCOTT                           ADDRESS ON FILE
RAUL ARELLANOS                         ADDRESS ON FILE
RAUL GONZALEZ                          ADDRESS ON FILE
RAUL GUALBERTO CHINCHILLA              ADDRESS ON FILE
RAUL MUNOZ                             ADDRESS ON FILE
RAUL P MORENO                          ADDRESS ON FILE
RAULS TRUCK REPAIR, INC.               1 N HACKENSACK AVENUE KEARNY NJ 07032
RAUNDERIO L MORRISON                   ADDRESS ON FILE
RAUNI TRANS INC                        5413 ROSELENA WAY KEYES CA 95328
RAUTENSTRAUCH, FRANCIS J               ADDRESS ON FILE
RAVAGO AMERICAS                        1900 SUMMIT TOWER BLVD ORLANDO FL 32810
RAVAGO AMERICAS                        ATTN: JAY PICKETT 1900 SUMMIT TOWER BLVD STE 900 ORLANDO FL 32810
RAVEILL TRUCKING, INC.                 P O BOX 10 MCGREGOR MN 55760
RAVEN CARGO FLEET, LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAVEN TRANSPORT LLC                    411 57TH ST SW ALBUQUERQUE NM 87121
RAVEN WORLD LOGISTICS                  1135 W 204TH ST TORRANCE CA 90502
RAVENELL LOGISTICS LLC                 248 WILLOW BLUFF CIBOLO TX 78108
RAVI ENGINEERING & LAND SURVEYING PC   2110 S CLINTON AVE SUITE 1 ROCHESTER NY 14618
RAW LOGISTICS LLC                      OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RAW TRANSPORTATION LLC                 315 E 5TH ST STE 202 WATERLOO IA 50703
RAWA SPRING WATER                      815 ALMAR AVE SANTA CRUZ CA 95060
RAWLING, MICHAEL                       ADDRESS ON FILE
RAWLINS, CARVETH                       ADDRESS ON FILE
RAWLINSON, KEVIN                       ADDRESS ON FILE
RAWLS, DEANA                           ADDRESS ON FILE
RAWLS, RAYMOND                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1562 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1571 of 2156

Claim Name                           Address Information
RAWLS, VERAN                         ADDRESS ON FILE
RAY & SHERI TRUCKING, LLC            44 BEACH STREET NORTH HAVEN CT 06473
RAY & WALLYS TOWING INC              1585 GLENWOOD DYER RD LYNWOOD IL 60411
RAY & WALLYS TOWING INC              PO BOX 351 GLENWOOD IL 60425
RAY 8 TRANSPORT                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RAY A PIPPIN                         ADDRESS ON FILE
RAY AND GILLILAND PC                 PO BOX 1183 SYLACAUGA AL 35150
RAY CARGO CORP                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAY D THORUP                         ADDRESS ON FILE
RAY JR., OLDEN                       ADDRESS ON FILE
RAY KERHAERTS GARAGE INC             1396 WEST RIDGE RD ROCHESTER NY 14615
RAY LOGISTICS INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RAY LUTH TRANSPORTATION LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RAY MURRAY INC                       RAY MURRAY INC, 1443 WELLS DR BENSALEM PA 19020
RAY MURRAY INC                       PO BOX 1302 FALL RIVER MA 02722
RAY POLAND AND SONS, INC.            PO BOX 6772, 503 W COLUMBIA DRIVE KENNEWICK WA 99336
RAY, ANTHONY                         ADDRESS ON FILE
RAY, ARIEL                           ADDRESS ON FILE
RAY, ARIEL                           ADDRESS ON FILE
RAY, BONNIE                          ADDRESS ON FILE
RAY, CHRISTIAN                       ADDRESS ON FILE
RAY, CHRISTOPHER                     ADDRESS ON FILE
RAY, CHRISTOPHER                     ADDRESS ON FILE
RAY, CORTNEY                         ADDRESS ON FILE
RAY, DAVE                            ADDRESS ON FILE
RAY, DOUGLAS                         ADDRESS ON FILE
RAY, DUSTON                          ADDRESS ON FILE
RAY, DYLAN A                         ADDRESS ON FILE
RAY, JACKSON                         ADDRESS ON FILE
RAY, JAMES                           ADDRESS ON FILE
RAY, JERRY                           ADDRESS ON FILE
RAY, JIMMY                           ADDRESS ON FILE
RAY, JOHNATHAN                       ADDRESS ON FILE
RAY, JORDAN                          ADDRESS ON FILE
RAY, JOSEPH                          ADDRESS ON FILE
RAY, KAYLEE                          ADDRESS ON FILE
RAY, KEVIN                           ADDRESS ON FILE
RAY, KIMBERLE D                      ADDRESS ON FILE
RAY, KIMBERLE D                      ADDRESS ON FILE
RAY, MICHAEL                         ADDRESS ON FILE
RAY, MICHAEL                         ADDRESS ON FILE
RAY, REGINALD                        ADDRESS ON FILE
RAY, SATARIUS                        ADDRESS ON FILE
RAY, SCOTT A                         ADDRESS ON FILE
RAY, SYLVELTRI                       ADDRESS ON FILE
RAY, TARIQ                           ADDRESS ON FILE
RAY, TONY                            ADDRESS ON FILE
RAY, WILLIAM                         ADDRESS ON FILE
RAY, WILLIAM                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1563 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1572 of 2156

Claim Name                              Address Information
RAY-HART, BOBBY                         ADDRESS ON FILE
RAY-LEE TRANSPORT LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RAYA, ADRIAN                            ADDRESS ON FILE
RAYAAN LOGISTICS LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAYAN TRUCKING LLC                      OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
RAYAN TRUCKING LLC (MC1226706)          OR TBS FACTORING SERVICE, PO BOX 151052 OGDEN UT 84415
RAYAS, LUIS                             ADDRESS ON FILE
RAYAS, RICARDO                          ADDRESS ON FILE
RAYBURN, GLENN                          ADDRESS ON FILE
RAYBURN, STEVEN                         ADDRESS ON FILE
RAYBURN, WILLIAM                        ADDRESS ON FILE
RAYCE B MALONE                          ADDRESS ON FILE
RAYCO LOGISTICS LLC                     OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
RAYFORD, BILLY                          ADDRESS ON FILE
RAYFORD, JOSEPH                         ADDRESS ON FILE
RAYFORD, TEIRANEY                       ADDRESS ON FILE
RAYFORD, TIMOTHY                        ADDRESS ON FILE
RAYGOZA, ELISEO                         ADDRESS ON FILE
RAYGOZA, NORMA                          ADDRESS ON FILE
RAYLOC                                  700 N 500 E PAYSON UT 84651
RAYMAN MOTOR FREIGHT SYSTEMS INC.       3349 DESTINATION DR. MISSISSAUGA ON L5M 7W6 CANADA
RAYMAN MOTOR FREIGHT SYSTEMS INC.       OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T5C5 CANADA
RAYMAR TRANSPORTATION LLC               OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
RAYMON TRUCKING CORP                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAYMON TRUCKING CORP                    OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
RAYMOND A GAUSE                         ADDRESS ON FILE
RAYMOND C FREDERICKS                    ADDRESS ON FILE
RAYMOND C PEREZ                         ADDRESS ON FILE
RAYMOND CORP                            1 WHEELER STREET GREENE NY 13778
RAYMOND E CARTER                        ADDRESS ON FILE
RAYMOND E CARTER                        ADDRESS ON FILE
RAYMOND EXPRESS CARGO LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RAYMOND EXPRESS LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
RAYMOND F GILLE                         ADDRESS ON FILE
RAYMOND G TRUCKING CO                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RAYMOND JAMES ASSOC INC (0725)          ATT ROBERTA GREEN OR PROXY MGR 880 CARILION PKWY TOWER 2, 4TH FL ST.
                                        PETERSBURG FL 33716
RAYMOND MAGALLANES                      ADDRESS ON FILE
RAYMOND SALAMANDYK                      ADDRESS ON FILE
RAYMOND WEST INTRALOGISTICS SOLUTIONS   PO BOX 7678 SAN FRANCISCO CA 94120
RAYMOND, KENNETH                        ADDRESS ON FILE
RAYMOND, PIERRE                         ADDRESS ON FILE
RAYMOND, RICHARD                        ADDRESS ON FILE
RAYMOND, TEONA                          ADDRESS ON FILE
RAYMOND, TEONA                          ADDRESS ON FILE
RAYMOND, THEODORE                       ADDRESS ON FILE
RAYMOR, DAWN                            ADDRESS ON FILE
RAYMOR, DAWN                            ADDRESS ON FILE
RAYN OR SHINE TRUCKING                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633



Epiq Corporate Restructuring, LLC                                                                Page 1564 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1573 of 2156

Claim Name                             Address Information
RAYNER, JOHN                           ADDRESS ON FILE
RAYNER, LEE                            ADDRESS ON FILE
RAYNOR DOOR AUTHORITY                  3636 LIMA RD FORT WAYNE IN 46805
RAYNOR GARAGE DOORS OF LEXINGTON LLC   1033 RUSHWOOD CT LEXINGTON KY 40511
RAYNOR, ALLAN                          ADDRESS ON FILE
RAYNOR, REGINALD                       ADDRESS ON FILE
RAYNOR, THOMAS                         ADDRESS ON FILE
RAYO LOGISTICS INC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
RAYOS, JOSHUA                          ADDRESS ON FILE
RAYS AUTO & TRUCK SERVICE              38219 COLORADO AVE AVON OH 44011
RAYS CLEANING SERVICE                  PO BOX 1729 WAIANAE HI 96792
RAYS TIRE SERVICE LLC                  110 H & H ROAD HANCEVILLE AL 35077
RAYS TOWING INC                        833 W WATERFORD AVE MILWAUKEE WI 53221
RAYS TRANSPORT INC                     22077 MOUND RD WARREN MI 48091
RAYS TRANSPORT INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
RAYS TRASH SERVICE, INC.               3859 US-40 DRAWER CLAYTON IN 46118
RAYS TRUCK & WRECKER SERVICE INC       PO BOX 335 MOULTON AL 35650
RAYSEAN K PERKINS                      ADDRESS ON FILE
RAYSTAR EXPRESS, LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RAZ IMPORTS INC                        ATTN: NEYSA AMOS 1020 EDEN RD ARLINGTON TX 76001
RAZA NATIONAL INC                      OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
RAZA, SABA                             ADDRESS ON FILE
RAZAN TRANSPORT LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RAZAN TRUCKING LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RAZANI, TONY                           ADDRESS ON FILE
RAZAUSKAS, ROBERT                      ADDRESS ON FILE
RAZI TRANSPORTATION INC                OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
RAZIC TRANSPORT INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RAZO-BETANCOURT, IRINEO                ADDRESS ON FILE
RB TRANSPORT LLC (MC910925)            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
RBB TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RBC CAPITAL MKTS CORP (0235)           ATT STEVE SCHAFER OR PROXY MGR 60 S 6TH ST - P09 MINNEAPOLIS MN 55402-1106
RBC DOMINION /CDS (5002)               ATT PROXY MGR 2 BLOOR ST E 2300 TORONTO ON M4W 1A8 CANADA
RBK FASTENERS                          5810 CLYDE PARK AVE SW WYOMING MI 49509-9386
RBN TRANSPORTATION LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RBN TRUCKING LLC                       13 CLOVER HOLLOW RD EASTON PA 18045
RBR TRUCKING CORP                      OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
RBRG TRUCKING LLC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RBS CARRIERS LLC                       OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
RBS CITIZENS BUSINESS CAPITAL          AS AGENT 71 S WACKER DR, STE 2900 CHICAGO IL 60606
RBS EXPRESS LLC                        4400 S JONES BLVD UNIT 1009 LAS VEGAS NV 89103
RBS EXPRESS LLC                        OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
RBS TRANSPORT INC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RBS TRANSPORT, LLC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
RBU INC                                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RC BUILDING MAINTENANCE                130 BASTEDO CRESCENT REGINA SK S4T 6Y1 CANADA
RC CONTRACTING INC                     PO BOX 743 JACKSONVILLE AR 72078
RC EXPRESS                             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RC EXPRESS LLC                         1825 33RD ST DR SW HICKORY 28602



Epiq Corporate Restructuring, LLC                                                                Page 1565 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1574 of 2156

Claim Name                           Address Information
RC EXPRESS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
RC LOGISTICS SERVICES, LLC           315 FALCON CREEK DR SUWANEE GA 30024
RC PRODUCTS                          3050 N ST FRANCIS STREET WICHITA KS 67219
RC TRANS INC                         OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
RC TRANS INC (MC1157454)             OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RC TRANSPORT SERVICES LLC            8290 NW 170TH TER HIALEAH FL 33015-3718
RC TRUCK CORP                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RC VISUAL INDUSTRIES LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RC WILLIAMS TRANSPORT LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RCB AWARDS LLC                       8000 W CAPITOL DRIVE MILWAUKEE WI 53222
RCB TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RCC TRUCKING LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
RCG TRANSPORT LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RCP LINE LLC                         OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
RCR ELECTRICAL CONTRACTORS INC.      209 W. BROAD STREET PALMYRA NJ 08065
RCS                                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
RCS TRANSPORTATION, LLC              122 CITIZENS BLVD SIMPSONVILLE KY 40067
RCS TRUCKING & FREIGHT, INC.         10210 MARSH ROAD BUILDING 1 BEALETON VA 22712
RCSS TRUCKING LLC                    OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
RCV83 LLC                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RD DISPATCH                          OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RD DREAM BUILDERS LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RD EXPEDITED INC                     500 W PLAINFIELD ROAD STE 300 COUNTRYSIDE IL 60525
RD FREIGHT EXPRESS                   17106 134TH LANE E PUYALLUP WA 98374
RD LOGISTICS                         5525 UNION CENTRE DR WEST CHESTER OH 45069
RD TRANSPORT                         1079 GRANGER ST SAN DIEGO CA 92154-1862
RD TRANSPORT & LOGISTICS LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RD TRANSPORTATION EXPRESS LLC        OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
RDA LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RDA TRUCKING LLC                     OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 FRANKLIN TN 37068
RDB LOGISTIC LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RDB LOGISTIC LLC                     2615 BAMORE RD ROSENBERG TX 77471
RDF EXPRESS INC                      PO BOX 98 BRAWLEY CA 92227
RDF TRUCKING ENTERPRISES INC         12609 STATE ROUTE 13 WAKEMAN OH 44889
RDF TRUCKING ENTERPRISES INC         OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
RDG TRANSPORT LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RDH TRUCK FINISHING                  1418 FABRICON BLVD JEFFERSONVILLE IN 47130
RDH TRUCKING SVCS LLC                OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
RDL TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RDM                                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
RDM EXPRESS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RDO TRUCK CENTER CO.                 13924 VALLEY RIDGE DRIVE OMAHA NE 68138
RDR - RELIABLE DIESEL REPAIR INC     PO BOX 2305 NEWBURGH NY 12550
RDSP TRANS INC                       OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RDU DELIVERED L.L.C.                 52 LARSON CT CLAYTON NC 27520
RDU INC                              970 DRIVING PARK AVENUE ROCHESTER NY 14613
RDX, LLC                             4590 AMERICAN WAY MEMPHIS TN 38118
RDZ FLATLINE LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RE LOGISTICS                         26895 ALISO CREEK RD B-784 ALISO VIEJO CA 92656



Epiq Corporate Restructuring, LLC                                                               Page 1566 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1575 of 2156

Claim Name                           Address Information
RE MOVING FREIGHT INC                OR GREAT PLAINS TRANSPORTATION SVCS. INC PO BOX 4539 CAROL STREAM IL 60197
RE TRANS FREIGHT, INC.               420 AIRPORT RD FALL RIVER MA 02720
RE TRANS FREIGHT, INC.               PO BOX 9490 FALL RIVER MA 02720
RE-TECH LOGISTICS CORP               OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320
REA EXPRESS USA LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
REA TRANSPORT LLC                    1104 E CAMPBELL AVE PHOENIX AZ 85014
REA, ADAM                            ADDRESS ON FILE
REA, KEITH                           ADDRESS ON FILE
REACH ONE TRANSPORT LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
REACHING BACK LOGISTICS L L C        OR SMARTTRUCKER, LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
REACT LOGISTICS LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
READ, GRANT                          ADDRESS ON FILE
READ, JASON                          ADDRESS ON FILE
READ, JEFF                           ADDRESS ON FILE
READING MUNICIPAL LIGHT DEPT         230 ASH ST READING MA 01867
READING YELLOW CAB INC               615 ELM ST READING PA 19601
READING YELLOW CAB INC               D/B/A: READING YELLOW CABS 615 ELM ST READING PA 19601
READING, LAVERN                      ADDRESS ON FILE
READY 2 GO INC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
READY 2 GO INC (MC889026)            2581 SAVANNA DR WAUCONDA IL 60084
READY 2 HAUL TRANSPORTATION LLC      6135 FAIRCREST CT CINCINNATI OH 45224
READY 2 PICKUP LLC                   OR YANKTON FACTORING INC, PO BOX 217 YANKTON SD 57078
READY AMERICA INC.                   1399 SPECIALTY DR VISTA CA 92081
READY GO TRANSPORT INC.              740 BEAVERDALE ROAD CAMBRIDGE ON N3C2V3 CANADA
READY REFRESH BY NESTLE              PO BOX 856158 LOUISVILLE KY 40285
READY REFRESH BY NESTLE              PO BOX 856192 LOUISVILLE KY 40285
READY TO GO LOGISTICS INC            809 W RIORDAN RD STE 100-237 FLAGSTAFF AZ 86001
READY TO HAUL TRANSPORT LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
READY TO LEAVE INC                   OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
READY TO MOVE TRANSPORTATION LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
READY TO RIDE LOGISTICS              OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
READY, HOLLIS                        ADDRESS ON FILE
REAGAN, MARK E                       ADDRESS ON FILE
REAGOR, PAUL                         ADDRESS ON FILE
REAL CARRIERS LLC                    OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
REAL ESTATE ON WHEELS TRANSPORT      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
REAL LIFE LOGISTICS LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
REAL MAN TRUCKING INC                OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
REAL PARTNERS DEVELOPMENT LLC        HOWARD HANNA JOHNSON REALTY 300 ORCHARD AVENUE ALTOONA PA 16602
REAL RESULTS TRANSPORTATION LLC      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
REAL STAR TRUCKING LLC               11421 SE 214TH ST KENT WA 98031
REAL TIME MANAGEMENT GROUP, LLC      OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
REAL TRANSPORT                       1033 RUE VALOIS VAUDREUIL-DORION QC J7V 8P2 CANADA
REAL TRUCKING INC.                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
REAL WORLD TRANS INC                 771C ROOSEVELT AVE, APT 303 CARTERET NY 07008
REAL WORLD TRANS INC                 OR QUICK FREIGHT FACTOR INC PO BOX 203802 DALLAS TX 75320
REAL, PATTY                          ADDRESS ON FILE
REAL-QUICK TRANSPORT LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
REALTERM NAT PROPERTY HOLDINGS LLC   201 WEST ST ANNAPOLIS MD 21401



Epiq Corporate Restructuring, LLC                                                               Page 1567 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1576 of 2156

Claim Name                           Address Information
REALTERM NAT PROPERTY HOLDINGS, LP   ATTN: CHRISTOPHER DILLON 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
REALTIME CARRIERS LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
REALTY TECHNOLOGY SERVICES LLC       PO BOX 850061 MINNEAPOLIS MN 55485
REAMER, DEBORAH                      ADDRESS ON FILE
REAMY, LARRY                         ADDRESS ON FILE
REARDON, JAMES                       ADDRESS ON FILE
REARDON, RICHARD                     ADDRESS ON FILE
REARICK, IRENE                       ADDRESS ON FILE
REASBY, DARRYL                       ADDRESS ON FILE
REASNER, SHONEY                      ADDRESS ON FILE
REASONER, LORI                       ADDRESS ON FILE
REAVER, LEO                          ADDRESS ON FILE
REAVES JR., GEORGE                   ADDRESS ON FILE
REAVES LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
REAVES, TIMOTHY                      ADDRESS ON FILE
REAVES, TYSEEM                       ADDRESS ON FILE
REAVEY, TIMOTHY                      ADDRESS ON FILE
REB TRUCKING LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
REBECCA ANTOINE                      ADDRESS ON FILE
REBECCA L ANNESS                     ADDRESS ON FILE
REBECCA PALMER                       ADDRESS ON FILE
REBEL FREIGHT SERVICES, LLC          30600 TELEGRAPH ROAD STE 2175 BINGHAM FARMS MI 48025
REBEL TRANSPORT INC                  259 RUE STEPHANE SAINT-PHILIPPE QC J0L2K0 CANADA
REBEL TRUCKING                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REBEL TRUCKING LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
REBEL VIBES TRANSPORT LLC            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
REBELO, JOSE                         ADDRESS ON FILE
REBER, BILL                          ADDRESS ON FILE
REBMANN, ALEXANDER                   ADDRESS ON FILE
REBOLLAR, HEATHER                    ADDRESS ON FILE
REBOLLEDO, JESUS                     ADDRESS ON FILE
REBOTTARO, CHELSI                    ADDRESS ON FILE
REBRTH LLC                           116 1/2 W 3RD ST UNIT 1 OTTAWA KS 66067
REBUILDING HARDFACING                1390 N MAIN ST COLVILLE WA 99114
RECASNER TRUCKING, L.L.C.            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RECCHIA, ANGELO                      ADDRESS ON FILE
RECEIVER GENERAL FOR CANADA          EASTERN QUEBEC TSO 2575 SAINTE-ANNE BOULEVARD QUEBEC QC G1J 1Y5 CANADA
RECEIVER GENERAL FOR CANADA          4695 SHAWINIGAN-SUD BLVD SHAWINIGAN QC G9P 5H9 CANADA
RECEIVER GENERAL FOR CANADA          MINISTER OF REVENUE OF QUEBEC 3 COMPLEXE DESJARDINS C.P. 3000, SUCCURSALE
                                     DEJARDINS MONTREAL QC H5B 1A4 CANADA
RECEIVER GENERAL FOR CANADA          CRA, 875 HERON ROAD OTTAWA ON K1A 1B1 CANADA
RECEIVER GENERAL FOR CANADA          CANADA CUSTOMS REVENUE AGENCY 875 HERON ROAD OTTAWA ON K1A 1G9 CANADA
RECEIVER GENERAL FOR CANADA          CANADA CUSTOMS REVENUE AGCY 875 HERON RD OTTAWA ON K1A-9Z9 CANADA
RECEIVER GENERAL FOR CANADA          INNOVATION, SCIENCE & ECON DEV. CANADA SPECTRUM FINANCE CENTRE POSTAL STATION
                                     D BOX 2330 OTTAWA ON K1P 6K1 CANADA
RECEIVER GENERAL FOR CANADA          ALS FINANCIAL CENTRE POSTAL STATION D BOX 2330 OTTAWA ON K1P-6K1 CANADA
RECEIVER GENERAL FOR CANADA          2720 BRITANNIA RD EAST, PO BOX 40, AMF TORONTO ON L4W 2P7 CANADA
RECEIVER GENERAL FOR CANADA          1 FRONT ST WEST TORONTO ON M5J 2X6 CANADA
RECEIVER GENERAL FOR CANADA          SUDBURY TAX CENTRE FUEL CHARGE PROGRAM PO BOX 20000 SUDBURY ON P3A 5C1 CANADA


Epiq Corporate Restructuring, LLC                                                             Page 1568 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1577 of 2156

Claim Name                            Address Information
RECEIVER GENERAL FOR CANADA           WINNIPEG TAX CENTRE, 66 STAPON ROAD WINNIPEG MB R3C 3M2 CANADA
RECEIVER GENERAL FOR CANADA           CANADA REVENUE AGENCY PO BOX 14002 STN MAIN WINNIPEG MB R3C 3P8 CANADA
RECEIVER GENERAL FOR CANADA PWGSC     PL DU PORTAGE PHASE III 11 LAURIER ST 12B1 GATINEAU QC K1A 0S5 CANADA
RECEIVER GENERAL OF CANADA            875 HERON RD A100 OTTAWA ON K1A 1B1 CANADA
RECEIVER OF TAXES                     5400 BUTTERNUT EAST SYRACUSE NY 13057
RECHTIEN INTERNATIONAL TRUCKS, INC.   7227 NW 74TH AVE MIAMI FL 33166
RECHTIEN INTERNATIONAL TRUCKS, INC.   2565 W STATE RD 84 FORT LAUDERDALE FL 33312
RECHTIEN INTERNATIONAL TRUCKS, INC.   2761 EDISON AVE FORT MYERS FL 33916
RECINOS TRUCKING LLC                  OR I THRIVE FUNDING PO BOX 25357 SALT LAKE CITY UT 84125
RECINOS, WALFRE                       ADDRESS ON FILE
RECKER TRUCKING, LLC                  2038 TIMBER RIDGE DRIVE S E DYERSVILLE IA 52040
RECKO D ATKINS                        ADDRESS ON FILE
RECLOSADO, LETICIA                    ADDRESS ON FILE
RECOLOGY INC.                         P.O.BOX 512777 LOS ANGELES CA 90051
RECOLOGY INC.                         PO BOX 848275 LOS ANGELES CA 90084
RECONEX                               ATTN: KRYSTINA MROCZKOWSKI 384 INVERNESS PARKWAY SUITE 140 ENGLEWOOD CO 80112
RECORD, JOHN                          ADDRESS ON FILE
RECORD, MAURICE                       ADDRESS ON FILE
RECORE, NICHOLAS J                    ADDRESS ON FILE
RECREONICS INCORPORATED               ATTN: JUDY SHEPHERD JULIE SPIVEY 4200 SCHMITT AVE LOUISVILLE KY 40213
RECSTUFF.COM                          N174W21030 ALCAN DR JACKSON WI 53037
RECTOR, ANDREW                        ADDRESS ON FILE
RECTOR, BRANDEN                       ADDRESS ON FILE
RECTOR, DERRICK                       ADDRESS ON FILE
RECTOR, JOE                           ADDRESS ON FILE
RECTOR, RODNEY                        ADDRESS ON FILE
RECYCLE TECHNOLOGIES INC              4000 WINNETKA AVE N STE 210 MINNEAPOLIS MN 55427
RECYCLERS OF CHAMPAIGN COUNTY INC     236 MEADOWBROOK CT GENESEO IL 61254
RECYCLING EQUIPMENT MFG               PO BOX 310 PRIEST RIVER ID 83856
RECYCLING MATERIALS INC               OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
RED & BLACK INCORPORATED              OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
RED 7 INC                             114 CHADDUCK AVE BUFFALO NY 14207
RED AND WHITE 29 INC                  OR COMPASS FUNDING SOLUTION PO BOX 205154 DALLAS TX 75320-5154
RED APPLE FIREWORKS                   8876 SPANISH RIDGE AVE STE 204 LAS VEGAS NV 89148
RED APPLE FIREWORKS                   8876 SPANISH RIDGE AVE LAS VEGAS NV 89148
RED BALL OXYGEN CO., INC.             PO BOX 669131 DALLAS TX 75266
RED BALL OXYGEN CO., INC.             PO BOX 46166 HOUSTON TX 77210
RED BARON TRANSPORTATION LLC          PO BOX 7145 CHARLOTTE NC 28273
RED BIRD COFFEE                       PO BOX 11735 BOZEMAN MT 59719
RED BONE EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RED BYRD LOGISTICS OF ILLINOIS LLC    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RED CELL EXPRESS INC                  8007 W. 129TH ST. PALOS PARK IL 60464
RED CHILI TRANSPORTATION INC          OR LOVES SOLUTIONS, LLC DBA LOVS FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
RED CHILI TRANSPORTATION INC          615 N LINCOLN AVE MONTEREY PARK CA 91755
RED CLASSIC TRANSIT, LLC              PO BOX 603595 CHARLOTTE NC 28260
RED CLASSIC TRANSIT, LLC              PO BOX 603595 CHARLOTTE NC 28260-3595
RED CLASSIC TRANSIT, LLC              1800 CONTINENTAL BLVD STE 103 CHARLOTTE NC 28273
RED DIAMOND EXPRESS LLC               OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188



Epiq Corporate Restructuring, LLC                                                                Page 1569 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1578 of 2156

Claim Name                             Address Information
RED DOG FARM                           406 CENTER RD CHIMACUM WA 98325
RED EAGLE FREIGHT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RED FOX TRANSPORT                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RED GATE SOFTWARE LIMITED              P.O. BOX 845066 BOSTON MA 02284
RED HAWK FIRE PROTECTION LLC           801 VALLEY AVE NW STE D PUYALLUP WA 98371
RED HOOK PERFORMANCE                   753 HICKS ST. BROOKLYN NY 11231
RED HORSE FREIGHT INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RED HORSE TRANSPORT INC                OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RED KNIGHT DISTRIBUTION                2125 INTERNATIONAL BLVD. CLARKSVILLE TN 37040
RED LINE EXPRESS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RED LINE EXPRESS SERVICES LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RED LINE TOWING INC                    347 MAIN STREET DICKSON CITY PA 18519
RED LINE TRANSIT INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
RED LION EXPRESS INC                   14840 134TH AVE EDMONTON AB T5L 4T4 CANADA
RED LOGISTICS GROUP LLC                OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
RED N GOLD                             OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320
RED N TRANS LLC                        OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
RED PANDA TRANSPORT, LLC               OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193
RED RIVER CONSULTANTS INC              PO BOX 3488 DEPT 05-045 TUPELO MS 38803
RED RIVER ENVIRONMENTAL LABORATORY     AND CONSULTING COMPANY 6510 S WESTERN AVE STE 207 OKLAHOMA CITY OK 73139
RED RIVER MESSENGER COURIER            701 GREENWOOD AVENUE, P.O. BOX 351 SELKIRK MB R1A 2B1 CANADA
RED RIVER OIL LLC                      700 PLUM STREET TEXARKANA TX 75501
RED RIVER TRAILER SERVICES, INC.       PO BOX 208 BENTON LA 71006
RED RIVER TRAILER SERVICES, INC.       2401 GRIMMETT DR SHREVEPORT LA 71107
RED RIVER TRUCK REPAIR                 3415 S US HIGHWAY 75 SHERMAN TX 75090
RED RIVER TRUCK STOP AND WRECKER SVC   P O BOX 154 FULTON AR 71838
RED RIVER TRUCKING LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RED ROCK EXPRESS LLC                   OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
RED ROSE LOGISTICS LTD                 OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                       CANADA
RED SEA EXPRESS LLC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
RED SEA TRANSPORT LLC                  OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
RED SEA TRUCK LINE LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RED SEA TRUCKING                       OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
RED SKY ASPHALT SERVICES               PO BOX 636 SHASTA LAKE CA 96019
RED STAIR DESIGN ARCHITECTURE LLC      423 CARNEGIE DR PITTSBURGH PA 15243
RED STAR FREIGHT LINES INC             OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RED STAR LINE TRANSPORT INC            OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
RED STAR TRUCKING LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
RED STONE TRANSPORTATION INC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RED SUMMIT MACHINEWORKS                2086 US HIGHWAY 93 N STE 120 VICTOR MT 59875
RED THREAD                             297 STATE ST. NORTH HAVEN CT 06473
RED TRUCKING LLC                       OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
RED WELL EXPRESS LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RED XPRESS LLC                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RED ZEBRA TRANSPORTS LLC               OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RED&BLUE&WHITE CARRIER INC             OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
REDA TRANSPORT INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
REDAL TRUCKING INC                     OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187



Epiq Corporate Restructuring, LLC                                                                 Page 1570 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1579 of 2156

Claim Name                           Address Information
REDAROWICZ, TIMOTHY                  ADDRESS ON FILE
REDAS INC                            OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
REDBEAR LOGISTICS                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
REDBIRD EXPRESS LLC                  3013 ASH ROAD, GLEN CARBON IL 62034
REDBLUE INC                          PO BOX 19230 CHARLOTTE NC 28219
REDBLUE LOGISTICS LLC                OR UNIFACT CAPITAL FUNDING, LLC 8330 MEADOW ROAD, SUITE 216 DALLAS TX 75231
REDCO TIRE, INC                      5796 EMERSON STREET DENVER CO 80216
REDD, ROBERT                         ADDRESS ON FILE
REDDAWAY INC.                        24702 NETWORK PL CHICAGO IL 60673
REDDAWAY INC.                        26401 NETWORK PL CHICAGO IL 60673
REDDAWAY INC.                        4375 W 1385 SOUTH SALT LAKE CITY UT 84104
REDDAWAY INC.                        16277 SOUTHEAST 130TH, PO BOX 1035 CLACKAMAS OR 97015
REDDAWAY INC.                        PO BOX 1035 CLACKAMAS OR 97018
REDDAWAY INC.                        PO BOX 1300 TUALATIN OR 97062
REDDEN, DAMON H                      ADDRESS ON FILE
REDDI ELECTRIC INC                   PO BOX 20272 BILLINGS MT 59104
REDDI SVCS, INC.                     DBA REDDI ROOTR KC 4011 BONNER INDUSTRIAL DR SHAWNEE KS 66226
REDDI SVCS, INC.                     REDDI SVCS PHX 12268 NORTH 92ND DRIVE PEORIA AZ 85381
REDDICK, ISAIAH A                    ADDRESS ON FILE
REDDICK, KENNETH                     ADDRESS ON FILE
REDDING EUREKA FREIGHTLINER INC      PO BOX 992070 REDDING CA 96099
REDDING FREIGHTLINER                 PO BOX 992070 REDDING CA 96099
REDDING TRAILER CENTER INC           PO BOX 991894 REDDING CA 96099
REDDING, AVERY                       ADDRESS ON FILE
REDDING, CHRISTOPHER                 ADDRESS ON FILE
REDDING, JAIME                       ADDRESS ON FILE
REDDINGTON, JOSEPH                   ADDRESS ON FILE
REDDIX, RYAN                         ADDRESS ON FILE
REDDY ICE CORPORATION                7261 CENTENNIAL BLVD NASHVILLE TN 37209
REDDY ICE CORPORATION                PO BOX 730505 DALLAS TX 75373
REDDY, HARIPRIYA                     ADDRESS ON FILE
REDEEMED TOUCH LLC                   OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
REDEEMING TRUCK LINE LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
REDENTOR A LU                        ADDRESS ON FILE
REDENZ, CHARLES                      ADDRESS ON FILE
REDEYE EXPRESS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
REDFORT LOGISTICS CORP               OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
REDGUARD FIRE & SECURITY INC         45150 POLARIS CT PLYMOUTH MI 48170
REDHILLS EXPRESS CARRIERS LLC        OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
REDIFER, DOUGLAS                     ADDRESS ON FILE
REDIMED CLINIC NORTHEAST             15897 COLLECTION CENTER DR CHICAGO IL 60693
REDIMED CLINIC NORTHEAST             SERVICE, 15897 COLLECTION CENTER DR. CHICAGO IL 60693-0158
REDINBO, JOSEPH                      ADDRESS ON FILE
REDING, CHRISTOPHER                  ADDRESS ON FILE
REDING, CHRISTOPHER S                ADDRESS ON FILE
REDINGTON, JIM                       ADDRESS ON FILE
REDISHRED KANSAS INC.                DBA PROSHRED, 3052 S 24TH ST. KANSAS CITY KS 66106
REDLINE AUTOMATIC FIRE SPRINKLER     1111 SW 28TH STREET BLUE SPRINGS MO 64015
REDLINE TRANS LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197



Epiq Corporate Restructuring, LLC                                                             Page 1571 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1580 of 2156

Claim Name                           Address Information
REDLINE TRUCK & TRAILER SPECIALIST   1096 W MADRONA ST RIALTO CA 92376
REDLINE TRUCKING                     1-5710 17 STREET NW EDMONTON AB T6P 1S4 CANADA
REDLINE TRUCKING INC (MEDINA, OH)    PO BOX 374 RICHFIELD OH 44286
REDLINE TRUCKING LLC 213             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
REDMAN FLEET SERVICES, INC.          7300 TELEGRAPH SQUARE DR LORTON VA 22079
REDMAN, SHANNON                      ADDRESS ON FILE
REDMEX TRANSPORT INC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
REDMON, ANTHONY                      ADDRESS ON FILE
REDMOND INC                          10200 N LOMBARD ST PORTLAND OR 97203
REDMOND, CHRISTINA                   ADDRESS ON FILE
REDMOND, DEQUAN                      ADDRESS ON FILE
REDMOND, RUSSELL                     ADDRESS ON FILE
REDMOND, TOMMY                       ADDRESS ON FILE
REDNER, LESLEY                       ADDRESS ON FILE
REDNOUR, JAMES                       ADDRESS ON FILE
REDONDO, JOSE P                      ADDRESS ON FILE
REDPATH TRANSPORTATION INC           OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
REDS ROADRUNNER TRANSPORTATION LLC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
REDS TOWING                          1528 RIVERDALE ST WEST SPRINGFIELD MA 01089
REDS TOWING                          404 CHAMBER DR ANAMOSA IA 52205
REDS TRUCK CENTER                    1701 KERR ROAD BIDWELL OH 45614
REDS TRUCK CENTER                    REDS ROLLEN GARAGE, 1701 KERR ROAD BIDWELL OH 45614
REDSEA TRUCKING LLC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
REDSTAR LOGISTICS LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
REDSTAR TRANSPORTATION LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
REDVINE, MARICIEL                    ADDRESS ON FILE
REDWINSKI, JOHN                      ADDRESS ON FILE
REDWOG, LLC                          OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
REDWOOD ENVIRONMENT GROUP            10 ELMGROVE AVE PROVIDENCE RI 02906
REDWOOD LOGISTICS                    1765 N ELSTON AVE CHICAGO IL 60642
REDWOOD MULTIMODAL                   PO BOX 51910 LIVONIA MI 48151
REDWOOD PLASTICS                     11303 E MONTGOMERY DR STE 1 SPOKANE WA 99206
REDWOOD SUPPLY CHAIN SOLUTIONS       29857 NETWORK PLACE CHICAGO IL 60673
REDZIC TRANSPORT LLC                 OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
REDZIC, MIRNES                       ADDRESS ON FILE
REECE USA                            ATTN: DANIEL DE LEON SHIPPING/TRANSFERS 13591 HARBOR BLVD GARDEN GROVE CA
                                     92843
REECE, BRIAN L                       ADDRESS ON FILE
REECE, CHARLES                       ADDRESS ON FILE
REECE, GARY                          ADDRESS ON FILE
REECE, KIMBERLY                      ADDRESS ON FILE
REECE, LUANA                         ADDRESS ON FILE
REECE, RONALD                        ADDRESS ON FILE
REECE, WAYNE                         ADDRESS ON FILE
REED & HOPPES, INC.                  2661 E.GRAND RIVER PORTLAND MI 48875
REED CITY TOWING & RECOVERY          800 S CHESTNUT ST REED CITY MI 49677
REED II, MICHAEL                     ADDRESS ON FILE
REED REPAIR LLC                      603 BLUEBIRD DRIVE BOX ELDER SD 57719



Epiq Corporate Restructuring, LLC                                                               Page 1572 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1581 of 2156

Claim Name                           Address Information
REED RUBBER PRODUCTS                 3901 UNION BLVD. STE. 106 ST. LOUIS MO 63115
REED TRANSPORT, LLC                  2815 TAYLOR ST OMAHA NE 68111
REED TRUCK SERVICES INC.             PO BOX 989 CLAREMONT NH 03743
REED, ANDRE                          ADDRESS ON FILE
REED, ANDY                           ADDRESS ON FILE
REED, ANTHONY                        ADDRESS ON FILE
REED, BRANDON                        ADDRESS ON FILE
REED, BRANDON S                      ADDRESS ON FILE
REED, BRENDA                         ADDRESS ON FILE
REED, BRYAN                          ADDRESS ON FILE
REED, CHANN                          ADDRESS ON FILE
REED, CHARLES                        ADDRESS ON FILE
REED, CLARENCE                       ADDRESS ON FILE
REED, COREY                          ADDRESS ON FILE
REED, CORINTHIAN                     ADDRESS ON FILE
REED, CURTIS WILMER                  ADDRESS ON FILE
REED, CURTIS WILMER                  ADDRESS ON FILE
REED, DALE                           ADDRESS ON FILE
REED, DANIEL                         ADDRESS ON FILE
REED, DANIELLE                       ADDRESS ON FILE
REED, DANNY                          ADDRESS ON FILE
REED, DAVID                          ADDRESS ON FILE
REED, DEVIN                          ADDRESS ON FILE
REED, DONTE                          ADDRESS ON FILE
REED, DUSTIN                         ADDRESS ON FILE
REED, GREGORY                        ADDRESS ON FILE
REED, IVAN                           ADDRESS ON FILE
REED, JAMES                          ADDRESS ON FILE
REED, JAMIE                          ADDRESS ON FILE
REED, JASON                          ADDRESS ON FILE
REED, JEREMY                         ADDRESS ON FILE
REED, JOHN                           ADDRESS ON FILE
REED, JOHN J                         ADDRESS ON FILE
REED, JOHNNY M                       ADDRESS ON FILE
REED, JUSTIN                         ADDRESS ON FILE
REED, KAHLAH                         ADDRESS ON FILE
REED, KAHLAH                         ADDRESS ON FILE
REED, KENDRICK                       ADDRESS ON FILE
REED, KENNETH                        ADDRESS ON FILE
REED, KENNY                          ADDRESS ON FILE
REED, KEVIN                          ADDRESS ON FILE
REED, KYLE                           ADDRESS ON FILE
REED, KYLE                           ADDRESS ON FILE
REED, LEAIRN                         ADDRESS ON FILE
REED, LEO                            ADDRESS ON FILE
REED, LLOYD                          ADDRESS ON FILE
REED, MATTHEW                        ADDRESS ON FILE
REED, MICHAEL                        ADDRESS ON FILE
REED, MICHAEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                        Page 1573 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1582 of 2156

Claim Name                            Address Information
REED, MITCHELL                        ADDRESS ON FILE
REED, NAKOTA                          ADDRESS ON FILE
REED, NICKY                           ADDRESS ON FILE
REED, PENNY                           ADDRESS ON FILE
REED, RASHAWN                         ADDRESS ON FILE
REED, ROBERT                          ADDRESS ON FILE
REED, ROBERT                          ADDRESS ON FILE
REED, ROBERT                          ADDRESS ON FILE
REED, ROBERT D                        ADDRESS ON FILE
REED, RONALD                          ADDRESS ON FILE
REED, STEPHEN                         ADDRESS ON FILE
REED, THEADO                          ADDRESS ON FILE
REED, TIMOTHY                         ADDRESS ON FILE
REED, TIMOTHY W                       ADDRESS ON FILE
REED, WARD                            ADDRESS ON FILE
REED, WILLIAM                         ADDRESS ON FILE
REED-CHOW, KIM                        ADDRESS ON FILE
REEDER ELECTRIC INC                   PO BOX 93 FAIR PLAY MD 21733
REEDER EMPIRE TRANSPORTATION LLC      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REEDER, DAVID                         ADDRESS ON FILE
REEDER, DICKEY                        ADDRESS ON FILE
REEDER, GREGORY                       ADDRESS ON FILE
REEDER, JEFFERY                       ADDRESS ON FILE
REEDER, JEFFERY D                     ADDRESS ON FILE
REEDER, MICHAEL                       ADDRESS ON FILE
REEDER, ROBERT                        ADDRESS ON FILE
REEDS AUTO TRUCK AND FLEET LLC        367 FILLMORE AVE TONAWANDA NY 14150
REEDS AUTO TRUCK AND FLEET LLC        367 FILMORE AVENUE TONAWANDA NY 14150
REEDS WRECKER SERVICE INC             PO BOX 22 HELENWOOD TN 37755
REEDSPORT MACHINE & FAB LLC           PO BOX 508 REEDSPORT OR 97467
REEDY, CHRISTOPHER                    ADDRESS ON FILE
REEDYS AIR CONDITIONING AND HEATING   643 BROOKSTOWN AVE WINSTON SALEM NC 27101
SVCS
REEDYS TRANSPORT LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
REEGAN J HADRITS                      ADDRESS ON FILE
REEK EXPRESS INC                      OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
REEKER, DANIEL                        ADDRESS ON FILE
REEL MANAGEMENT WEST INC              OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
REENTS, BRYAN                         ADDRESS ON FILE
REES, HILARY                          ADDRESS ON FILE
REES, HILARY                          ADDRESS ON FILE
REES, MARK                            ADDRESS ON FILE
REES, RODERICK W                      ADDRESS ON FILE
REESE ENTERPRISES INC                 ATTN: AMBER TONN 16350 ASHER AVE ROSEMOUNT MN 55068
REESE ENTERPRISES INC                 ATTN: VICKY MCCALLUM 16350 ASHER AVE ROSEMOUNT MN 55068
REESE PHARMACEUTICAL                  FREIGHTWISE 214 CENTERVIEW DR 350 BRENTWOOD TN 37027
REESE PHARMACEUTICAL                  FREIGHTWISE 214 CENTERVIEW DR STE 100 BRENTWOOD TN 37027
REESE TRUCKING COMPANY LLC            131 BROWNSMILL DR GRAYSON GA 30017
REESE TRUCKING, INC.                  P O BOX 99 DOVER OH 44622



Epiq Corporate Restructuring, LLC                                                                Page 1574 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1583 of 2156

Claim Name                           Address Information
REESE, BRANDON                       ADDRESS ON FILE
REESE, BRIAN                         ADDRESS ON FILE
REESE, CALVIN                        ADDRESS ON FILE
REESE, CLARENCE                      ADDRESS ON FILE
REESE, DANIEL L                      ADDRESS ON FILE
REESE, DERRICK                       ADDRESS ON FILE
REESE, DWAYNE                        ADDRESS ON FILE
REESE, GEORGE                        ADDRESS ON FILE
REESE, GREGORY                       ADDRESS ON FILE
REESE, KELVIN                        ADDRESS ON FILE
REESE, PAT                           ADDRESS ON FILE
REESE, RONALD                        ADDRESS ON FILE
REESE, TIANA                         ADDRESS ON FILE
REESH, ANTHONY                       ADDRESS ON FILE
REESMAN, JEFFREY                     ADDRESS ON FILE
REEVES JR, LINCOLN                   ADDRESS ON FILE
REEVES WRECKER SVC INC               P.O. BOX 527 APPLING GA 30802
REEVES WRECKER SVC INC               PO BOX 204017 MARTINEZ GA 30917
REEVES, BOBBY                        ADDRESS ON FILE
REEVES, BRETT                        ADDRESS ON FILE
REEVES, BRIAN                        ADDRESS ON FILE
REEVES, BRIANA                       ADDRESS ON FILE
REEVES, CAROL                        ADDRESS ON FILE
REEVES, DALE                         ADDRESS ON FILE
REEVES, DANNY                        ADDRESS ON FILE
REEVES, EUGENE                       ADDRESS ON FILE
REEVES, GALEN                        ADDRESS ON FILE
REEVES, HAROLD                       ADDRESS ON FILE
REEVES, HASSAN                       ADDRESS ON FILE
REEVES, HEATHER                      ADDRESS ON FILE
REEVES, JACKSON                      ADDRESS ON FILE
REEVES, JAMES                        ADDRESS ON FILE
REEVES, KENNETH                      ADDRESS ON FILE
REEVES, LACHELL                      ADDRESS ON FILE
REEVES, LINCOLN                      ADDRESS ON FILE
REEVES, METHIA                       ADDRESS ON FILE
REEVES, ROBERT                       ADDRESS ON FILE
REEVES, RONNIE                       ADDRESS ON FILE
REEVES, THEODORE                     ADDRESS ON FILE
REEVES, WALTER                       ADDRESS ON FILE
REEVEY, CHRISTIAN                    ADDRESS ON FILE
REEVEY, ROBERT                       ADDRESS ON FILE
REEVEY, TYRONE                       ADDRESS ON FILE
REFE                                 PO BOX 72124 CLEVELAND OH 44192
REFFITT, JEREMY                      ADDRESS ON FILE
REFINED DISPATCHING LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REFLEX PHYSIOTHERAPY                 160 5769 201A ST LANGLEY BC V3A 8H9 CANADA
REFNER, DANIEL                       ADDRESS ON FILE
REFRIGERATION SALES CORP             9450 ALLEN DR SUITE A VALLEY VIEW OH 44125



Epiq Corporate Restructuring, LLC                                                            Page 1575 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1584 of 2156

Claim Name                               Address Information
REFRIGERATIVE SUPPLY LTD                 ATTN: NANCY MACQUEEN 12232 EWING AVE BLDG 2A REGINA SK S4M 0A1 CANADA
REFTRANS SERVICES LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
REFUSE 2 FAIL SVCS LLC                   OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320
REGAL AWARDS & ADVERTISING SPECIALTIES   6370 COLLEGE BLVD OVERLAND PARK KS 66211
REGAL BELOIT                             ADDRESS ON FILE
REGAL IDEAS INC                          150-7350 WILSON AVE DELTA BC V4G 1H3 CANADA
REGAL TRANS INC                          OR TRANSPORTATION FUNDING GROUP PO BOX 580054 MINNEAPOLIS MN 55458-0054
REGAL TRANSPORT LLC                      OR CT CASH LLC, PO BOX 30516 DEPT 507 LANSING MI 48909-8016
REGAL TRANSPORT LTD.                     PO BOX 68 STATION A, 0 ABBOTSFORD BC V2T 6Z4 CANADA
REGAL TRUCKING                           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
REGALADO, JORGE                          ADDRESS ON FILE
REGALREXNORD                             ATTN: LISA DUNCAN 9899 BRADFORD RD PLAINFIELD IN 46168
REGAN FISHER                             ADDRESS ON FILE
REGAN MORTON                             ADDRESS ON FILE
REGAN, CHERYL ANN                        ADDRESS ON FILE
REGAN, JACOB                             ADDRESS ON FILE
REGAN, RONALD                            ADDRESS ON FILE
REGAN, SAMANTHA                          ADDRESS ON FILE
REGENCY CLEANING SERVICES INC.           SUITE 904, 3545 32ND AVE. NE CALGARY AB T1Y 6M6 CANADA
REGENCY CLEANING SERVICES INC.           132 1530 27 AVENUE NE CALGARY AB T2E 7S6 CANADA
REGENCY FENCE COMPANY                    41 B CULDORF ALLY ROCHESTER NY 14615
REGENCY TRANSPORTATION, INC.             PO BOX 1388 FALL RIVER MA 02722-1388
REGENCY WEST OFFICE PARTNERS             ATTN: CHAD HOTLEY 1080 JORDAN CREEK PARKWAY SUITE 200 NORTH WEST DES MOINES IA
                                         50266
REGENCY WEST OFFICE PARTNERS LLC         1080 JORDAN CREEK PKWY STE 200 N WEST DES MOINES IA 50266
REGENT ELECTRIC INC                      5235 TRACTOR ROAD TOLEDO OH 43612
REGENT HYDRAULIC & MACHINE WORKS INC     4051 CRESSON STREET PHILADELPHIA PA 19127
REGER COMPANY                            OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
REGER, DILLON                            ADDRESS ON FILE
REGIER, ASHTON                           ADDRESS ON FILE
REGIER, QUENTON                          ADDRESS ON FILE
REGINA M DICKENS                         ADDRESS ON FILE
REGINA MAINTENANCE PLUS CRANE            & EQUIPMENT INC BOX 396 PILOT BUTTE SK S0G 3Z0 CANADA
REGINALD CROSS III                       ADDRESS ON FILE
REGINALD D SMITH.                        ADDRESS ON FILE
REGINALD RAYNOR                          ADDRESS ON FILE
REGINALD RAYNOR                          ADDRESS ON FILE
REGINALD WILLIAMS                        ADDRESS ON FILE
REGION OF PEEL                           10 PEEL CENTRE DR, STE 100 BRAMPTON ON L6T 4B9 CANADA
REGIONAL EXPRESS CARRIERS LLC            OR COMMERCE COMMERCIAL CREDIT, INC PO BOX 88714 MILWAUKEE WI 53288-8714
REGIONAL EXPRESS LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
REGIONAL INCOME TAX AGENCY               CITY OF BROOKLYN, PO BOX 94736 CLEVELAND OH 44101-4736
REGIONAL INTERNATIONAL CORP              1007 LEHIGH STATION RD HENRIETTA NY 14467
REGIONAL LOGISTICS GROUP, LLC            120 DART STREET BUFFALO NY 14213
REGIONAL TRUCK EQUIPMENT                 255 LAURA DRIVE ADDISON IL 60101
REGIONAL TRUCK EQUIPMENT CO., INC.       4626 W 120TH ST ALSIP IL 60803
REGIONAL TRUCK SERVICE INC               PO BOX 847 RTE 17M NORTH STREET MIDDLETOWN NY 10940
REGIONAL TRUCK SVC INC                   A.K.A REGIONAL TOWING P.O. BOX 847 779 RT. 17M MIDDLETOWN NY 10940
REGIONAL WATER QUALITY CONTROL BOARD     PO BOX 1888 SACRAMENTO CA 95812



Epiq Corporate Restructuring, LLC                                                                 Page 1576 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1585 of 2156

Claim Name                              Address Information
REGIS, PAUL                            ADDRESS ON FILE
REGIS, RAMON                           ADDRESS ON FILE
REGISTRATION FEE TRUST                 WI DEPTOF TRANSPORTATION RESEARCH & INFORMATION MADISON WI 53705
REGISTRATION FEE TRUST                 WISCONSIN DEPT OF TRANS, PO BOX 7401 MADISON WI 53707
REGISTRY MONITORING INSURANCE SVCS. INC 1444 S ENTERTAINMENT AVE STE 110 BOISE ID 83709
REGMAY TRANSPORTATION LLC              OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
REGO COMPANIES INC                     18 CHURCH STREET MARLBOROUGH MA 01752
REGO TRUCKING CORPORATION              OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
REGRUTH, STEPHEN                       ADDRESS ON FILE
REHAGEN BROS TRUCKING                  290 REHAGEN LN FREEBURG MO 65035
REHBERG, COREY                         ADDRESS ON FILE
REHENES TRANSPORT LLC                  OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
REHMERT, JACQUELYNN                    ADDRESS ON FILE
REHOBOTH HAULING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
REHOBOTH TRANSPORTATION LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
REHOBOTH TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REI                                    ATTN: JONDA PEACE FINANCE PO BOX 1938 SUMNER WA 98390
REI, JOHN                              ADDRESS ON FILE
REIBER, STACY                          ADDRESS ON FILE
REIBSANE, MICHAEL                      ADDRESS ON FILE
REICH, JOHN                            ADDRESS ON FILE
REICH, MIKE L                          ADDRESS ON FILE
REICHARD, JASON                        ADDRESS ON FILE
REICHEL, JOSEPH P                      ADDRESS ON FILE
REICHENBACHER, RICHARD                 ADDRESS ON FILE
REICHERT, BRIDGETTE                    ADDRESS ON FILE
REICHERT, VANESSA                      ADDRESS ON FILE
REID & PEDERSON DRAINAGE               1762 S DIXIE HIGHWAY, 1 CRETE IL 60417
REID, BOBBY                            ADDRESS ON FILE
REID, BUCK                             ADDRESS ON FILE
REID, CARL                             ADDRESS ON FILE
REID, CHAKELA                          ADDRESS ON FILE
REID, COREY                            ADDRESS ON FILE
REID, DEREK                            ADDRESS ON FILE
REID, ELLIS                            ADDRESS ON FILE
REID, ERIK T                           ADDRESS ON FILE
REID, GARRISON                         ADDRESS ON FILE
REID, ISSAC                            ADDRESS ON FILE
REID, JAMES                            ADDRESS ON FILE
REID, JIM                              ADDRESS ON FILE
REID, JODI                             ADDRESS ON FILE
REID, JOHN                             ADDRESS ON FILE
REID, JOHNNY                           ADDRESS ON FILE
REID, KENDARIOUS                       ADDRESS ON FILE
REID, KENNETH                          ADDRESS ON FILE
REID, LINDA                            ADDRESS ON FILE
REID, NEIL                             ADDRESS ON FILE
REID, NIVAR                            ADDRESS ON FILE
REID, PETER                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1577 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1586 of 2156

Claim Name                           Address Information
REID, RAY                            ADDRESS ON FILE
REID, ROBERT                         ADDRESS ON FILE
REID, ROBERT                         ADDRESS ON FILE
REID, STEPHEN                        ADDRESS ON FILE
REID, STEVEN                         ADDRESS ON FILE
REID, TORREY                         ADDRESS ON FILE
REID, WANDA                          ADDRESS ON FILE
REID, WARREN                         ADDRESS ON FILE
REID, WARREN O                       ADDRESS ON FILE
REID-GALVAN, BOBBIE                  ADDRESS ON FILE
REIDVILLE TRANSPORT INC              PO BOX 572 GREER SC 29652
REIDWAY TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
REIFF SR, KEVIN                      ADDRESS ON FILE
REIFF SR, KEVIN R                    ADDRESS ON FILE
REIFF, AMBER                         ADDRESS ON FILE
REIFF, JOHN                          ADDRESS ON FILE
REIFF, JOHNATHAN                     ADDRESS ON FILE
REIFF, NICK                          ADDRESS ON FILE
REIFSNYDER, BRYAN                    ADDRESS ON FILE
REIFSNYDER, DIRK                     ADDRESS ON FILE
REIFSTECK, FRED                      ADDRESS ON FILE
REIGENBORN, PATRICK                  ADDRESS ON FILE
REIGLE, MICHAEL                      ADDRESS ON FILE
REIGNS TRANSPORTATIONS LLC           OR TAB BANK, PO BOX 150830 OGDEN UT 84415
REILLEY, JAMES                       ADDRESS ON FILE
REILLY, ANDREW                       ADDRESS ON FILE
REILLY, BRUCE                        ADDRESS ON FILE
REILLY, EDWARD                       ADDRESS ON FILE
REILLY, JOHN                         ADDRESS ON FILE
REILLY, KAYLA                        ADDRESS ON FILE
REILLY, KENNETH                      ADDRESS ON FILE
REILLY, KEVIN                        ADDRESS ON FILE
REILLY, MARTIN                       ADDRESS ON FILE
REILLY, SHAWN                        ADDRESS ON FILE
REILLY, SUSAN                        ADDRESS ON FILE
REILLY, WILLIAM                      ADDRESS ON FILE
REILY, TERRY                         ADDRESS ON FILE
REIMANN & GEORGER CORPORATION        ATTN: ANN MARIE GOODLANDER 1849 HARLEM RD BUFFALO NY 14212
REIMER WORLD CORP.                   C/O: RIDOUT & MAYBEE LLP 100 MURRAY STREET 4TH FLOOR OTTAWA ON K1N 0A1 CANADA
REIMER WORLD CORP.                   ATTN: GENERAL COUNSEL 201 PORTAGE AVE SUITE 2900 WINNIPEG MB R3B 3K6 CANADA
REIMER WORLD PROPERTIES CORP         SUITE 2900 201 PORTAGE AVENUE WINNIPEG MB R3B 3K6 CANADA
REIMER WORLD PROPERTIES CORP         PO BOX 1919 WINNIPEG MB R3C 3R2 CANADA
REIMER WORLD PROPERTIES CORP.        ATTN: W. A. REDEKOPP 201 PORTAGE AVENUE SUITE 2900 WINNIPEG MB R3B 3K6 CANADA
REIMER WORLD PROPERTIES CORP.        ATTN: W. A. REDEKOPP SUITE 2900, 201 PORTAGE AVENUE WINNIPEG MB R3B 3K6 CANADA
REIMERS, ROBERT R                    ADDRESS ON FILE
REIN, AMY                            ADDRESS ON FILE
REINA INTERSTATE CORP                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
REINARTZ, RAYMOND                    ADDRESS ON FILE
REINCKE, PAUL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1578 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1587 of 2156

Claim Name                           Address Information
REINER GROUP INC.                    PO BOX 1128 FAIR LAWN NJ 07410
REINERS, KEITH                       ADDRESS ON FILE
REINERT & BENDER INC                 12075 DIXIE HWY BIRCH RUN MI 48415
REINERT & BENDER INC                 182 E JEFFERSON ST FRANKENMUTH MI 48734
REINERT, JUNE                        ADDRESS ON FILE
REINERT, STEPHEN                     ADDRESS ON FILE
REINHARDT SUPPLY COMPANY             PO BOX 340 MEDINA OH 44258
REINHARDT, DONALD                    ADDRESS ON FILE
REINHARDT, DONALD                    ADDRESS ON FILE
REINHARDT, GERALD                    ADDRESS ON FILE
REINHARDT, JEFFERY                   ADDRESS ON FILE
REINHARDT, SHARLA                    ADDRESS ON FILE
REINHARDT, TERESA                    ADDRESS ON FILE
REINHART, MICHAEL                    ADDRESS ON FILE
REINKE, JEFFERY A                    ADDRESS ON FILE
REINOSO, ORNAN                       ADDRESS ON FILE
REIPKE, JAY                          ADDRESS ON FILE
REIS, JASON                          ADDRESS ON FILE
REISCH TRUCKING INC                  316 E WARREN LUVERNE MN 56156
REISER, KARL R                       ADDRESS ON FILE
REISNER, BRIAN                       ADDRESS ON FILE
REISSER, PATRICIA                    ADDRESS ON FILE
REISSIG, BARRY L                     ADDRESS ON FILE
REISTER, KARI                        ADDRESS ON FILE
REITAN, DELIA                        ADDRESS ON FILE
REITAN, RICK                         ADDRESS ON FILE
REITAN, TODD                         ADDRESS ON FILE
REITER, JOSEPH                       ADDRESS ON FILE
REITER, PETER                        ADDRESS ON FILE
REITER, SHANE                        ADDRESS ON FILE
REITH, RICHARD                       ADDRESS ON FILE
REITZ, BRYAN                         ADDRESS ON FILE
REITZ, MATTHEW                       ADDRESS ON FILE
REJUVENATION                         2550 NW NICOLAI ST PORTLAND OR 97210
REK EXPRESS INC                      2740 W LEXINGTON AVE ELKHART IN 46514
REKIETA, JERRY                       ADDRESS ON FILE
REL WESTERN ASSOCIATION              C/O MARK NYULI, 1618 BRADWELL AVE SASKATOON SK S7N 2P1 CANADA
REL WESTERN ASSOCIATION              C/O ROBERT PIRZEK 157 STONE GATE DR NW AIRDRIE AB T4B 3A2 CANADA
RELAX TRANSPORTATION LLC             OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RELAXED LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RELAY LLC                            OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
RELENTLESS TRUCKING LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RELENTLESS TRUCKING LOGISTICS LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RELEX LOGISTICS INC.                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RELIABLE BUSINESS INC                OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
RELIABLE CARGO LOGISTICS LLC         7763 FEATHERLEAF CT REYNOLDSBURG OH 43068-3172
RELIABLE CARRIER SERVICES INC        3055 BRIGHTWATER CT KISSIMMEE FL 34744
RELIABLE CARRIER SVCS INC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RELIABLE CARRIER, LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                               Page 1579 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1588 of 2156

Claim Name                              Address Information
RELIABLE CARRIERS, INC.                POST OFFICE BOX 288 MANCHESTER TN 37349
RELIABLE CONNECTS LLC                  OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
RELIABLE CONSTRUCTION SERVICES         PO BOX 714529 CINCINNATI OH 45271
RELIABLE COURIER                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RELIABLE DELIVERIES LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RELIABLE DIESEL SERVICE INC            541 DORCHESTER AVE SOUTH BOSTON MA 02127
RELIABLE DOOR AND DOCK, INC.           PO BOX 278 JACKSON WI 53037
RELIABLE ENTERPRISE LLC                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411
RELIABLE EQUIPMENT CO                  ATTN: PAM WINDER SHIPPING 301 IVYLAND RD IVYLAND PA 18974
RELIABLE EXPRESS CARRIERS              27719 WINDWARD CT MORENO VALLEY CA 92555
RELIABLE EXPRESS LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RELIABLE FREIGHT LOGISTICS CORP        11248 S AVENUE J CHICAGO IL 60617
RELIABLE FREIGHT SERVICES              718 E PALM AVE BURBANK CA 91501
RELIABLE HYDRAULICS, INC.              2600 S COBB DR SE SMYRNA GA 30080
RELIABLE LOGISTIC SERVICES LLC         15 COOPERATIVE WAY WRIGHT CITY MO 63390
RELIABLE LOGISTICS, INC.               139 VENTURI DRIVE CHESTERTON IN 46304
RELIABLE PLUS TRANSPORTATION LLC       OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
RELIABLE ROAD SERVICE                  3654 ALTURA AVE GLENDALE CA 91214
RELIABLE STAFFING                      11 STEINWAY BLVD, UNIT 14 ETOBICOKE ON M9W 6S9 CANADA
RELIABLE TOWING                        10862 N. GOVERNMENT WAY HAYDEN ID 83835
RELIABLE TRANS EXPRESS                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RELIABLE TRANSMISSION SERVICE INC      PO BOX 377 BRANDON FL 33509
RELIABLE TRANSPORT LLC                 2311 S MEADOWLARK LANE SPRINGFIELD MO 65807
RELIABLE TRANSPORT SERVICE INC         7527 THOROUGHBRED DR APT 1A FORT WAYNE IN 46804
RELIABLE TRANSPORTATION SPECIALISTS    139 VENTURI DR CHESTERTON IN 46304
INC.
RELIABLE URGENT SHIPPING & HANDLING LLC OR ECAPITAL FREIGHT FACTORING OPO BOX 206773 DALLAS TX 75320-6773
RELIABLE WATER SERVICE                 29 ORCHARD LANE BILLINGS MT 59101
RELIANCE B & D INVESTMENT CLUB LLC     OR OPENROAD FINANCIAL SVCS, INC PO BOX 484 DALLAS OR 97338
RELIANCE CRANE & HOIST INC             1447 ORANGE STREET YORK PA 17404
RELIANCE FENCE COMPANY INC             PO BOX 1831 BAKERSFIELD CA 93303
RELIANCE FREIGHT LLC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RELIANCE HOME COMFORT                  6130 NETHERHART RD MISSISSAUGA ONTARIO ON L5T 1B7 CANADA
RELIANCE HOME COMFORT                  PO BOX 4504 STATION A, 25 THE ESPLANADE TORONTO ON M5W 4J8 CANADA
RELIANCE MEDICAL GROUP, L L C          ATTN: ACCOUNTS RECEIVABLE DEPT 3451 N BUTLER AVE FARMINGTON NM 87401
RELIANCE STEEL COMPANY DIV 12          P.O. BOX 748554 LOS ANGELES CA 90074
RELIANCE TOWING, INC                   P.O. BOX 7212 COTATI CA 94931
RELIANCE TRANSPORTATION                16016 SE STEPHENS ST PORTLAND OR 97233
RELIANT                                6100 W FUQUA ST HOUSTON TX 77085
RELIANT DISTRIBUTION                   3910 W. CENTRAL AVE. EL DORADO KS 67042
RELIANT TRANSPORTATION GROUP LLC       OR LOOKOUT CAPITAL LLC, PO BOX 161124 ATLANTA GA 30321-1124
RELIASTAR LIFE INSURANCE CO            3702 PAYSPHERE CIRCLE CHICAGO IL 60674
RELIFORD, ELISHA                       ADDRESS ON FILE
RELIFORD, JAMES T                      ADDRESS ON FILE
RELLIHAN, MATTHEW                      ADDRESS ON FILE
RELLIHAN, NICHOLAS                     ADDRESS ON FILE
RELOAD GLOBAL TRUCKING                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RELOAD TRANSPORT INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053



Epiq Corporate Restructuring, LLC                                                                 Page 1580 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1589 of 2156

Claim Name                             Address Information
RELOCATION LOGISTICS LLC               OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
RELUTECH                               22 TECHNOLOGY PKWY S PEACHTREE CORNERS GA 30092
RELY TRANSPORT INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
REM TRUCKING TRANSPORTATION, LLC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
REMBERT, QUINT                         ADDRESS ON FILE
REMBERT, TERENCE                       ADDRESS ON FILE
REMCO PRODUCTS                         4735 W 106TH ZIONSVILLE IN 46077
REMCON TRANSPORT LLC                   P O 1085 SUN CITY CA 92585
REME, SCOTT                            ADDRESS ON FILE
REMEDIAL ACTION GROUP                  C/O HUSCH BLACKWELL ATTN WACHS, AMY 8001 FORSYTH BLVD, STE 1500 ST LOUIS MO
                                       63105
REMEDY LIQUOR                          ATTN: HAROUT 733 W WILSON AVE GLENDALE CA 91203
REMEDY TRUCKING LLC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
REMEDY TRUCKING LLC                    OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
REMER PLUMBING, HEATING & AIR COND.,   5565 STATE STREET SAGINAW MI 48603
INC
REMILLARD, SAWYER                      ADDRESS ON FILE
REMINDER TRANSIT                       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
REMINE, JAMES M                        ADDRESS ON FILE
REMINGER, BLAINE                       ADDRESS ON FILE
REMINGTON, STACEY                      ADDRESS ON FILE
REMMERT, JOHN                          ADDRESS ON FILE
REMOH INC                              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
REMOND TRANSPORT INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
REMORQUAGE ROUILLARD INC.              281 RUE LEGER SHERBROOKE QC J1L 2G7 CANADA
REMOTE TECH & AG INCORPORATED          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
REMOUN, GEORGE                         ADDRESS ON FILE
REMOUN, SHAWN                          ADDRESS ON FILE
REMPLE WEST CARRIERS LTD               1 CIMARRON PARK GREEN OKOTOKS AB T1S 2K2 CANADA
REMSUND LOGISTICS                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
REMTEMA ELECTRIC INC                   1455 BRISTOL AVE NW GRAND RAPIDS MI 49504
REMUDA TRUCKING INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
REMY EXPRESS LLC                       OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
REMY, LYNKA                            ADDRESS ON FILE
REMY, PERALTE                          ADDRESS ON FILE
REN EXPRESS LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
REN, JONATHAN                          ADDRESS ON FILE
RENA, JOSE                             ADDRESS ON FILE
RENALD CHOISELAT                       ADDRESS ON FILE
RENAT A BARABAN                        ADDRESS ON FILE
RENATA JAMROZ                          ADDRESS ON FILE
RENAUD HVAC & CONTROLS, INC.           PO BOX 26, 11 JOHN ROAD SUTTON MA 01590
RENAUD, SYLVIE                         ADDRESS ON FILE
RENCH, JOANNA                          ADDRESS ON FILE
RENDE, CHARLES                         ADDRESS ON FILE
RENDE, MARK                            ADDRESS ON FILE
RENDER, WHITNEY                        ADDRESS ON FILE
RENDEX LOGISTICS INC                   OR AVA FINANCIAL GROUP INC 273 MOORE PARK AVE TORONTO ON M2M 1N5 CANADA
RENDICH, CURTIS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1581 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1590 of 2156

Claim Name                              Address Information
RENDON REYES, RAY                       ADDRESS ON FILE
RENDON, AMANDA                          ADDRESS ON FILE
RENDON, CARLOS                          ADDRESS ON FILE
RENDON, SAMUEL                          ADDRESS ON FILE
RENE MORALES                            ADDRESS ON FILE
RENE RIOS                               ADDRESS ON FILE
RENE VILLA                              ADDRESS ON FILE
RENEGAR, STEVE                          ADDRESS ON FILE
RENELIEN, KALEB                         ADDRESS ON FILE
RENELIEN, KARTER                        ADDRESS ON FILE
RENELLE FURNITURE INC                   248-1538 CLIVDEN AVE DELTA BC V3M 6J8 CANADA
RENEWABLE TRANSPORT SERVICES INC        2916 BLUFF RD INDIANAPOLIS IN 46255
RENEWAL UP ENTERPRISES LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RENFRO, CHRISTOPHER                     ADDRESS ON FILE
RENFRO, HAROLD                          ADDRESS ON FILE
RENFRO, JAMES                           ADDRESS ON FILE
RENFRO, ROBERT                          ADDRESS ON FILE
RENFROW, TIM                            ADDRESS ON FILE
RENFTLE, DAN                            ADDRESS ON FILE
RENGULBAI, ZACHARY                      ADDRESS ON FILE
RENKOWIECKI, JEFFREY                    ADDRESS ON FILE
RENNA, DAVID                            ADDRESS ON FILE
RENNE, NICHOLLE                         ADDRESS ON FILE
RENNER, MICHAEL                         ADDRESS ON FILE
RENNHACK TRUCKING LLC                   6819 W WATERFORD RD HARTFORD WI 53027-9780
RENNIER, JAMES R                        ADDRESS ON FILE
RENNINGER, GREGORY                      ADDRESS ON FILE
RENNOLDS, DAMIAN                        ADDRESS ON FILE
RENO FORKLIFT INC                       PO BOX 50009 SPARKS NV 89435
RENO FORKLIFT, INC.                     171 CONEY ISLAND DR, P O BOX 50009 SPARKS NV 89435
RENO GREEN LANDSCAPING LLC              190 WOODLAND AVE RENO NV 89523
RENO SPARKS CAB                         475 GENTRY WAY RENO NV 89502
RENO, BRANDON                           ADDRESS ON FILE
RENO, RANDLE                            ADDRESS ON FILE
RENO, RONALD                            ADDRESS ON FILE
RENO, WILLIAM                           ADDRESS ON FILE
RENS, MICHELE                           ADDRESS ON FILE
RENSHAW JR, PAUL                        ADDRESS ON FILE
RENTALS HUT LIMITED LIABILITY COMPANY   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RENTALTYME ICE MACHINES LLC             PO BOX 185116 FORT WORTH TX 76181
RENTCO RENTALS, LLC                     2807 SABLE MILL LANE JEFFERSONVILLE IN 47130
RENTERIA, ABEL                          ADDRESS ON FILE
RENTERIA, ARTURO                        ADDRESS ON FILE
RENTERIA, EMMANUEL R                    ADDRESS ON FILE
RENTERIA, HECTOR                        ADDRESS ON FILE
RENTERIA, JOSE                          ADDRESS ON FILE
RENTERIA, OSCAR                         ADDRESS ON FILE
RENTERIA, RALPH                         ADDRESS ON FILE
RENTERIA, RAMON                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1582 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1591 of 2156

Claim Name                          Address Information
RENTERIA, RAYMUNDO                  ADDRESS ON FILE
RENTERIA, ZAVION                    ADDRESS ON FILE
RENTFROW, DAVID                     ADDRESS ON FILE
RENTON, BRUCE                       ADDRESS ON FILE
RENTSCHLER, PAUL                    ADDRESS ON FILE
RENWICK, JEFFREY                    ADDRESS ON FILE
REODICA, NICHOLAS                   ADDRESS ON FILE
REP LOGISTICS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
REPA, ALICE                         ADDRESS ON FILE
REPAIR AIR SVCS INC                 2970 PLEASANT ARBOR ROAD WALESKA GA 30183
REPAIR ALL ENTERPRISES INC          331 NW 186 ST MIAMI FL 33169
REPASH, PATRICK                     ADDRESS ON FILE
REPKA, JAY                          ADDRESS ON FILE
REPMAN, MICHAEL                     ADDRESS ON FILE
REPMAN, TOMMY                       ADDRESS ON FILE
REPP, DAVID                         ADDRESS ON FILE
REPPERT, JONATHAN                   ADDRESS ON FILE
REPROS, INC.                        PO BOX 727 AKRON OH 44309
REPROS, INC.                        409 APPLEGROVE RD NW NORTH CANTON OH 44720
REPUBLIC FLOOR LLC                  1700 W 4TH ST ANTIOCH CA 94509
REPUBLIC FLOOR, LLC                 1700 W 4TH ST ANTIOCH CA 94509-1008
REPUBLIC SERVICES                   RWS TEXAS LEASING CO 4542 SE LOOP 410 SAN ANTONIO TX 78222
REPUBLIC SERVICES                   18500 N ALLIED WAY, STE 100 PHOENIX AZ 85054-3101
REPUBLIC SERVICES 264               PO BOX 9001099 LOUISVILLE KY 40290
REPUBLIC SERVICES 467               PO BOX 78829 PHOENIX AZ 85062
REPUBLIC SERVICES 611               PO BOX 9001099 LOUISVILLE KY 40290
REPUBLIC SERVICES 721               PO BOX 9001154 LOUISVILLE KY 40290
REPUBLIC TRANSPORT LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
REQUENO TRANSPORTATION LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REQUIERME, ALLAN D                  ADDRESS ON FILE
REQUIRED REPAIRS                    3114 S EVERETT PL KENNEWICK WA 99337
RERICK, ALBERT                      ADDRESS ON FILE
RESCH, BRIAN                        ADDRESS ON FILE
RESCINO, NICHOLAS                   ADDRESS ON FILE
RESCUE ROOTER OF LA EAST            706 ARROW GRAND CIR COVINA CA 91722
RESEARCH PRODUCTS                   PO BOX 1467 MADISON WI 53701
RESENDEZ, ANDREW                    ADDRESS ON FILE
RESENDEZ, ISAIAH                    ADDRESS ON FILE
RESENDEZ, RAYMOND                   ADDRESS ON FILE
RESENDIZ, ENRIQUE                   ADDRESS ON FILE
RESENDIZ, JOSEPH                    ADDRESS ON FILE
RESENDIZ, VICTOR                    ADDRESS ON FILE
RESER HAULING INC                   PO BOX 1854 CULPEPER VA 22701
RESER, AUSTIN                       ADDRESS ON FILE
RESER, RONALD                       ADDRESS ON FILE
RESERVE TRUCK LINES LTD. CO.        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RESILIENCE                          625 MARKET ST SAN FRANCISCO CA 94105
RESILIENT TRUCKING LLC              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RESL LOGISTICS                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                           Page 1583 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1592 of 2156

Claim Name                            Address Information
RESO INC                              ATTN: STAS KONTANISTOV 1930 AVENUE L RIVIERA BEACH FL 33404
RESOLUTE LOGISTICS LLC                72161 COUNTY ROAD 133 SYRACUSE IN 46567
RESORT SUPPLY                         1625 SE ANKENY ST PORTLAND OR 97214
RESORT SUPPLY INC                     ATTN: MIGUEL ARCE 1625 SE ANKENY ST PORTLAND OR 97214
RESOURCE LOGISTICS GROUP              5944 CORAL RIDGE DR 261 CORAL SPRINGS FL 33076
RESOURCE LOGISTICS GROUP INC          110 E BROWARD BLVD SUITE 1732 FORT LAUDERDALE FL 33301
RESOURCE LOGISTICS GROUP INC          C/O NOW HEALTH GROUP 110 EAST BROWARD BLVD SUITE 1732 FORT LAUDERDALE FL 33301
RESOURCE LOGISTICS GROUP INC          C/O OMNIMAX INTL. 110 EAST BROWARD BLVD SUITE 1732 FORT LAUDERDALE FL 33301
RESOURCE LOGISTICS GROUP INC          C\O MAGIC TRANSPORT 110 EAST BROWARD BLVD SUITE 1732 FORT LAUDERDALE FL 33301
RESPECT EXPRESS INC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
RESPECT EXPRESS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
RESPOND FIRST AID SYSTEMS             PO BOX 2228 ROCK SPRINGS WY 82902
RESPONSIBLE FREIGHT CARRIERS LLC      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RESPRESS, LAMAR                       ADDRESS ON FILE
RESSLER, JASON                        ADDRESS ON FILE
RESSLER, ROBERT                       ADDRESS ON FILE
RESSORTS CHARLAND (SHERB) INC         4342 BOUL BOURQUE SHERBROOKE QC J1N 1S3 CANADA
RESTAURANT STORE                      ATTN: THE RESTAURANT STORE TRS LOGISTICS 2205 OLD PHILADELPHIA PIKE LANCASTER
                                      PA 17602
RESTAURANT STORE                      ATTN: WEBSTAURANT STORE TRAFFIC DEPT TRS LOGISTICS 2205 OLD PHILADELPHIA PIKE
                                      LANCASTER PA 17602
RESTIVO, LAURA                        ADDRESS ON FILE
RESTREPO, STEVEN                      ADDRESS ON FILE
RESULT TRANSPORTATION SMT LLC         16290 DUNSTON ST MACOMB MI 48044
RESULTS TRANSPORTATION LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RESZ, TONY                            ADDRESS ON FILE
RETAIL INDUSTRY LEADERS ASSOCIATION   RETAIL INDUSTRY LEADERS ASSOC PO BOX 418421 BOSTON MA 02241
RETAL TRANS LLC                       OR LOGISTICS RESOURCES INC 900 APOLLO RD EAGAN MN 55121
RETANA, DAVID                         ADDRESS ON FILE
RETHERFORD, SASHA                     ADDRESS ON FILE
RETM                                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RETRIEVER FREIGHT SERVICE             2799 WINTERS AVE GRAND JUNCTION CO 81501
RETRO CARRIERS INC                    OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
RETTBERG, EDDIE                       ADDRESS ON FILE
RETTBERG, MICHAEL                     ADDRESS ON FILE
RETTELE, DWAYNE                       ADDRESS ON FILE
RETZLAFF, PAUL                        ADDRESS ON FILE
REU, ANTHONY G                        ADDRESS ON FILE
REUBES PLASTICS                       1001 ORVILLA RD. HATFIELD PA 19440
REUBIN, LAWRENCE                      ADDRESS ON FILE
REURINK, LISA                         ADDRESS ON FILE
REUSCH, FRANK                         ADDRESS ON FILE
REV A SHELF                           ADDRESS ON FILE
REV IT LOGISTICS                      1555 GRAMERCY RD STE 800 SALT LAKE CITY UT 84104
REV RV                                91186 N COBURG INDUSTRIAL WAY COBURG OR 97408
REV RV GROUP                          1010 W COMMERCE DR DECATUR IN 46733
REVAK, JACOB                          ADDRESS ON FILE
REVAN LOGISTICS LLC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
REVE TRUCKING, INC.                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                Page 1584 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1593 of 2156

Claim Name                              Address Information
REVEILLE TRUCKING INC.                 1615 WILSON RD HARLINGEN TX 78550
REVEL TRANSPORT INC                    OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T5C5 CANADA
REVEL TRANSPORT LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REVELATION LOGISTICS LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REVELL HARDWARE & OUTDOOR              5726 TERRY ROAD BYRAM MS 39272
REVELL SUPPLY GROUP                    PO BOX 54427 PEARL MS 39288
REVELS, ROBERT L                       ADDRESS ON FILE
REVENUE COMMISSIONER                   PO BOX 6406 DOTHAN AL 36302
REVENUE COMMISSIONER, TAX ASSE         PO BOX 1169 MOBILE AL 36633
REVETTA, JENNIFER                      ADDRESS ON FILE
REVI EXPRESS INC                       OR INTERNET TRUCKSTOP PAYMENTS, LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
REVIS TOWING & RECOVERY                711 SW 46TH AVE. OCALA FL 34474
REVIVAL EXPRESS, INC                   947 MANCHESTER CIR SCHAUMBURG IL 60193
REVIVE TRANSPORT LLC                   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
REVLON, INC.                           ATTN: GENERAL COUNSEL 1 WHITEHALL ST NEW YORK NY 10004
REVOLUCION LOGISTICS INC               54 E JASMINE ST MESA AZ 85201
REVOLUTION FREIGHT LLC                 PO BOX 2099 CORNELIUS NC 28031
REW MATERIALS                          15720 W 108TH ST, STE 100 LENEXA 66219
REX A PONTIUS                          ADDRESS ON FILE
REX MCPHERSON                          ADDRESS ON FILE
REX PRO LOGISTICS LLC                  OR CHARTER CAPITAL, P.O. BOX 270568 HOUSTON TX 77277
REX RADIATOR AND WELDING CO INC        483 S EVERGREEN BENSENVILLE IL 60106
REX RADIATOR SALES AND DISTRIBUTION INC 483 S EVERGREEN ST BENSENVILLE IL 60106
REXEL                                  ATTN: KARI LEIN 425 QUIVAS ST DENVER CO 80204
REXEL 2171                             150 E ROSS AVE EL CENTRO CA 92243
REXEL CONSOLIDATED                     AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
REXEL USA INC                          5429 LYNDON B JOHNSON FWY 600 DALLAS TX 75240
REXFERD T MCPHERSON                    ADDRESS ON FILE
REXFERD T MCPHERSON JR                 ADDRESS ON FILE
REXHEPI, JANUZ                         ADDRESS ON FILE
REXHEPI, JANUZ                         ADDRESS ON FILE
REXIN, JONATHAN                        ADDRESS ON FILE
REXROAD, KEVIN                         ADDRESS ON FILE
REY LOGISTICS INC.                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
REY M APPLIANCES                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
REY TRANSPORT                          OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
REY TRUCKING LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
REY, NICHOLAS                          ADDRESS ON FILE
REYBURN, JOSHUA                        ADDRESS ON FILE
REYCAL ENTERPRISES LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
REYES CASTILLO, HIRAM GABRIELA         ADDRESS ON FILE
REYES CASTILLO, HIRAM GABRIELA         ADDRESS ON FILE
REYES FREIGHTWAYS LLC                  OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                       76116
REYES GARCIA, MANUEL                   ADDRESS ON FILE
REYES HERNANDEZ, ALBERTO               ADDRESS ON FILE
REYES MGR TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
REYES MUNIZ, ENEREIDA                  ADDRESS ON FILE
REYES RODRIGUEZ, RICARDO               ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1585 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1594 of 2156

Claim Name                           Address Information
REYES TRUCKING (MC1300583)           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
REYES TRUCKING, INC.                 2880 NW COUNTY LINE RD BENTON KS 67017
REYES, AGUSTIN                       ADDRESS ON FILE
REYES, ALESIA                        ADDRESS ON FILE
REYES, ALEXANDER                     ADDRESS ON FILE
REYES, ALFREDO                       ADDRESS ON FILE
REYES, ANDRE                         ADDRESS ON FILE
REYES, ANDY                          ADDRESS ON FILE
REYES, ANDY                          ADDRESS ON FILE
REYES, ANGEL                         ADDRESS ON FILE
REYES, ANGEL                         ADDRESS ON FILE
REYES, ANTONIO F                     ADDRESS ON FILE
REYES, BRANDON                       ADDRESS ON FILE
REYES, BREANA                        ADDRESS ON FILE
REYES, CARLO                         ADDRESS ON FILE
REYES, EDGAR                         ADDRESS ON FILE
REYES, ELDER                         ADDRESS ON FILE
REYES, EMANUEL                       ADDRESS ON FILE
REYES, ENRIQUE                       ADDRESS ON FILE
REYES, FERNER                        ADDRESS ON FILE
REYES, FERNER                        ADDRESS ON FILE
REYES, JESUS                         ADDRESS ON FILE
REYES, JOSUE                         ADDRESS ON FILE
REYES, JUAN                          ADDRESS ON FILE
REYES, JUAN                          ADDRESS ON FILE
REYES, JUAN                          ADDRESS ON FILE
REYES, LUIS                          ADDRESS ON FILE
REYES, MICHAEL                       ADDRESS ON FILE
REYES, MONICA                        ADDRESS ON FILE
REYES, NORMA                         ADDRESS ON FILE
REYES, ORESTES                       ADDRESS ON FILE
REYES, PETER                         ADDRESS ON FILE
REYES, RAMON                         ADDRESS ON FILE
REYES, RAY                           ADDRESS ON FILE
REYES, ROBERTO                       ADDRESS ON FILE
REYES, ROBERTO                       ADDRESS ON FILE
REYES, RUBEN                         ADDRESS ON FILE
REYES, SALVADOR                      ADDRESS ON FILE
REYES, SALVADOR                      ADDRESS ON FILE
REYES, SAMUEL                        ADDRESS ON FILE
REYES, SERGIO                        ADDRESS ON FILE
REYES, VANESSA                       ADDRESS ON FILE
REYES, VICTOR                        ADDRESS ON FILE
REYES, YONEL                         ADDRESS ON FILE
REYHANA TRANSPORT INC                OR TAB BANK, PO BOX 150290 OGDEN UT 84415
REYMAR TRANSPORT SVCS                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
REYMI ARAUZ                          ADDRESS ON FILE
REYNA, JAMIE                         ADDRESS ON FILE
REYNA, JOSE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1586 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1595 of 2156

Claim Name                            Address Information
REYNA, MIGUEL                         ADDRESS ON FILE
REYNARD, GREGORY                      ADDRESS ON FILE
REYNHOUT, CHRISTINA                   ADDRESS ON FILE
REYNHOUT, CHRISTINA                   ADDRESS ON FILE
REYNIER, CHRISTOPHER                  ADDRESS ON FILE
REYNOLDS EXCAVATING                   2665 N MOUNTAIN RD SPRINGDALE AR 72764
REYNOLDS HAY STRAW & FEED LLC         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
REYNOLDS OVERHEAD DOOR                14127 WATERPORT CARLTON ROAD ALBION NY 14411
REYNOLDS RIDINGS VOGT & MCCART PLLC   4000 EXECUTIVE PARK DR 300 CINCINNATI OH 45241
REYNOLDS TRANSPORT, INC.              PO BOX 663, 28 HUTCHINSON MN 55350
REYNOLDS TRANSPORTATION LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
REYNOLDS, ANDREW                      ADDRESS ON FILE
REYNOLDS, ANDREW                      ADDRESS ON FILE
REYNOLDS, BILL                        ADDRESS ON FILE
REYNOLDS, CHARLES                     ADDRESS ON FILE
REYNOLDS, DANIELLE                    ADDRESS ON FILE
REYNOLDS, DARRELL                     ADDRESS ON FILE
REYNOLDS, DARRION                     ADDRESS ON FILE
REYNOLDS, DENNIS                      ADDRESS ON FILE
REYNOLDS, DENNIS                      ADDRESS ON FILE
REYNOLDS, DONALD                      ADDRESS ON FILE
REYNOLDS, EUGENE                      ADDRESS ON FILE
REYNOLDS, EUGENE                      ADDRESS ON FILE
REYNOLDS, FED                         ADDRESS ON FILE
REYNOLDS, GARY                        ADDRESS ON FILE
REYNOLDS, GREGORY                     ADDRESS ON FILE
REYNOLDS, JAMES H                     ADDRESS ON FILE
REYNOLDS, JASON                       ADDRESS ON FILE
REYNOLDS, JEFFREY                     ADDRESS ON FILE
REYNOLDS, KEVIN                       ADDRESS ON FILE
REYNOLDS, KEVIN                       ADDRESS ON FILE
REYNOLDS, KHALIL                      ADDRESS ON FILE
REYNOLDS, LESLIE                      ADDRESS ON FILE
REYNOLDS, MARCUS                      ADDRESS ON FILE
REYNOLDS, MARK                        ADDRESS ON FILE
REYNOLDS, PAUL                        ADDRESS ON FILE
REYNOLDS, PETER                       ADDRESS ON FILE
REYNOLDS, RICKIE E                    ADDRESS ON FILE
REYNOLDS, ROBERT                      ADDRESS ON FILE
REYNOLDS, RYAN                        ADDRESS ON FILE
REYNOLDS, SHATEI                      ADDRESS ON FILE
REYNOLDS, TRENT                       ADDRESS ON FILE
REYNOLDS, VENUS                       ADDRESS ON FILE
REYNOLDS, WESLEY                      ADDRESS ON FILE
REYNOSO QUEVEDO, OMAR                 ADDRESS ON FILE
REYNOSO, JESUS                        ADDRESS ON FILE
REYNOSO, LUIS                         ADDRESS ON FILE
REYNOSO, MATTHEW                      ADDRESS ON FILE
REYNOSO, RAMIRO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1587 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1596 of 2156

Claim Name                           Address Information
REZ-1                                D/B/A: BLUME GLOBAL, INC. 250 ROYALL ST STE 1 CANTON MA 02021
REZA TRANSPORT LLC                   OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
REZENE GEBRE TRANSPORTATION INC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
REZNIK TRANSPORT INC                 OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
RF CARRIERS LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RF WELDING LLC                       1582 EL PASO MERKEL TX 79536
RFB CONSTRUCTION CO                  565 E 520TH AVE PITTSBURG KS 66762
RFC TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RFD TRUCKING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RFM TRUCKING INC                     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
RFS GROUP INC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RFT LOGISTICS LLC                    ATTN CHRISTOPHER MEJIA 18 GREENS WHISPER SAN ANTONIO TX 78216
RFT LOGISTICS LLC                    ATTN CHRISTOPHER MEJIA, CEO 14439 NW MILITARY HWY, STE 108-607 SAN ANTONIO TX
                                     78231
RFT LOGISTICS LLC                    14439 NW MILITARY HWY, STE 108-607 SAN ANTONIO TX 78231
RFT LOGISTICS LLC                    CHRISTOPHER MEJIA, CEO 14439 NW MILITARY HWY SUITE 108-607 SAN ANTONIO TX
                                     78231
RFT TRANSPORT LLC                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
RG GILMORE LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RG INDUSTRY INC                      OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
RG JANITORIAL SERVICE                7486 TAPIRO WAY SACRAMENTO CA 95829
RG LUCKY TRANSPORTATION INC          OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
RG ROADWAYS LTD                      10 PAVIA PLACE WINNIPEG MB R2P 1K8 CANADA
RG TRANSPORT LLC (MC1404840)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RG&E                                 180 S CLINTON AVE ROCHESTER NY 14604
RGA DALFEN EAST DALLAS               C/O DALFEN INDUSTRIAL LLC ATTN: VP ASSET MANAGEMENT 5575 S SEMORAN BOULEVARD
                                     SUITE 501 ORLANDO FL 32822
RGA DALFEN EAST DALLAS LP            ATTN: MICHELLE ANNETT C/O 1460 E KEARNEY OWNER 5575 S SEMORAN BOULEVARD STE
                                     5010 ORLANDO FL 32882
RGLN CARRIERS INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RGM LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RGM LOGISTICS LLC (CHARLOTTE NC)     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RGM LOGISTICS LLC (CHARLOTTE NC)     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RGN LOGISTICS INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RGR TRANS INC.                       OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
RGR TRUCKING LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RGS EXPRESS LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RGV ELITE LOGISTICS LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RGV TIRES LLC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RGYL IMPI                            ADDRESS ON FILE
RH JEFFERSONVILLE LLC                C/O HR PROPERTY GROUP 1559 S SEPULVEDA BLVD LOS ANGELES CA 90025
RH LOGISTIC INC                      5373 COTTAGE VIEW CT LIBERTY TWP OH 45011
RHABURN, GERALD A                    ADDRESS ON FILE
RHAPSODY LOGISTICS INC               OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
RHAPSODY LOGISTICS INC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RHC ICO SZ15 LOGISTICS               ATTN: GERRIE CYRUS PO BOX 698 CARLISLE PA 17013
RHCOWBOYS TRUCKING LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RHEA HEALTH, LLC                     1421 S COUNCIL RD OKLAHOMA CITY OK 73128
RHEA R RILEY                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                               Page 1588 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1597 of 2156

Claim Name                              Address Information
RHEAS EQUIPMENT & SERVICE INC           1312 BIGGER RD BULGER PA 15019
RHEEL, THOMAS                           ADDRESS ON FILE
RHEEM                                   ATTN: JODIE LOY 4744 ISLAND FORD RD RANDLEMAN NC 27317
RHEEM AIR CONDITIONING DIVISIO          PRECISE FREIGHT AUDIT, PO BOX 14402 SPRINGFIELD MO 65814
RHEEM PARTS 1825                        2475 S 3200 W STE D WEST VALLEY CITY UT 84119
RHEEM REPLACEMENT PARTS                 4744 ISLAND FORD ROAD RANDLEMAN NC 27317
RHEEM SALES CO                          ATTN LOGISTICS DEPT 800 INTERSTATE PARK DR MONTGOMERY AL 36109
RHEIN, DAVID                            ADDRESS ON FILE
RHEINS, REBECCA L                       ADDRESS ON FILE
RHEMA LOGISTICS LLC                     OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RHIM CARRIERS INC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RHINEHART OIL CO., INC.                 PO BOX 418 AMERICAN FORK UT 84003
RHINEHART OIL CO., INC.                 PO BOX 22030 SALT LAKE CITY UT 84122
RHINEHART, CHRIS                        ADDRESS ON FILE
RHINO ENVIRONMENTALSERVICES             19 JOHNSTON CIR ATLANTA GA 30268
RHINO LININGS CORPORATION               9747 BUSINESSPARK AVE SAN DIEGO CA 92131
RHINOS TRUCKING CORP                    OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320-4695
RHN CARRIER INC                         OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RHOADES, GREGORY                        ADDRESS ON FILE
RHOADES, JON                            ADDRESS ON FILE
RHOADES, JONATHAN                       ADDRESS ON FILE
RHOADES, LACY                           ADDRESS ON FILE
RHOADES, MELISSA                        ADDRESS ON FILE
RHOADES, SHANE                          ADDRESS ON FILE
RHOADS, CHRISTOPHER                     ADDRESS ON FILE
RHOADS, KEVIN                           ADDRESS ON FILE
RHOADS, RENEE                           ADDRESS ON FILE
RHOADS, RICHARD                         ADDRESS ON FILE
RHODE ISLAND DIVISION OF TAXATION       ONE CAPITOL HILL PROVIDENCE RI 02908
RHODE ISLAND ENERGY                     280 MELROSE ST PROVIDENCE RI 02907-2157
RHODE ISLAND HYDRAULICS CO INC          1500 TEN ROD RD NORTH KINGSTOWN RI 02852
RHODE ISLAND NOVELTY                    PO BOX 9278 FALL RIVER MA 02720
RHODE ISLAND OVERHEAD DOOR CO           236 PEQUOT WARWICK RI 02889
RHODE ISLAND TRUCK CENTER               155 AMARAL ST RIVERSIDE RI 02915
RHODE ISLAND TRUCKING ASSOCIATION INC   660 ROOSEVELT AVE PAWTUCKET RI 02860
RHODE ISLAND TRUCKING ASSOCIATION INC   831 BALD HILL RD WARWICK RI 02886
RHODES MERAZ, RAMMISE                   ADDRESS ON FILE
RHODES TRUCK REPAIR                     1840 BROWN VISTA WAY KNOXVILLE TN 37920
RHODES WEST EXPRESS LLC                 105 HARRISON LN GASTONIA NC 28056
RHODES, DANNY                           ADDRESS ON FILE
RHODES, DARRICK                         ADDRESS ON FILE
RHODES, DERRICK                         ADDRESS ON FILE
RHODES, DONNELL                         ADDRESS ON FILE
RHODES, FRANK A                         ADDRESS ON FILE
RHODES, JIM                             ADDRESS ON FILE
RHODES, KARRIE                          ADDRESS ON FILE
RHODES, RICHARD                         ADDRESS ON FILE
RHODES, SEAN                            ADDRESS ON FILE
RHODUS, DOUG                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1589 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1598 of 2156

Claim Name                           Address Information
RHODY, MATHEW                        ADDRESS ON FILE
RHONDA L MENDEZ                      ADDRESS ON FILE
RHONDA MITCHELL TRUCKING LLC         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
RHONDO RININGER                      ADDRESS ON FILE
RHONE, SCOTT                         ADDRESS ON FILE
RHR                                  2605 DURHAM RD STE J BRISTOL PA 19007
RHR                                  MECHANICAL CONTRACTORS, INC PO BOX 702, 2605 DURHAM ROAD BRISTOL PA 19007
RHR TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RHS TRUCKING LLC                     OR ENGLAND CARRIER SVCS LLC PO BOX 953086 ST LOUIS MO 63195-3086
RHT                                  P. O. BOX 659 BOLIVAR TN 38008
RHYAN, MARK                          ADDRESS ON FILE
RHYAN, STANLEY                       ADDRESS ON FILE
RHYANS SPEEDY DELIVERY LLC           OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RHYMES, MAURICE                      ADDRESS ON FILE
RHYTHM TRUCK LINE LLC                OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                     ANGELES CA 90074
RI DOT                               2 CAPITAL HILL PROVIDENCE RI 02903
RI GENERAL TREASURER                 235 PROMENADE STREET PROVIDENCE RI 02908
RI GENERAL TREASURER                 ATTN UST REGISTRATION 235 PROMENADE ST 3RD FL PROVIDENCE RI 02908
RI INVESTMENTS LLC                   OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RIA LOGISTICS LLC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
RIALS MUFFLER & TOWING               10328 HIGHWAY 80 GREENWOOD LA 71033
RIAR BROS CARRIER INC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RIB CONTINENTAL LLC                  OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
RIBBLE, MICHELLE                     ADDRESS ON FILE
RICANTO LOGISTICS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RICARD, RANDY                        ADDRESS ON FILE
RICARDEZ, FRANCISCO                  ADDRESS ON FILE
RICARDO DELEON                       ADDRESS ON FILE
RICARDO J KELLY                      ADDRESS ON FILE
RICARDO, CINDY                       ADDRESS ON FILE
RICARDOS & SON LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RICCA AMERICAN MOTOR FREIGHT, LLC    OR LOVES SOLUTIONS LLC, PO BOX 639745 CINCINNATI OH 45263
RICCERI, JASON                       ADDRESS ON FILE
RICCERI, JASON P                     ADDRESS ON FILE
RICCHIAZZI, PHILIP                   ADDRESS ON FILE
RICCI, ELIZABETH                     ADDRESS ON FILE
RICCIARELLI, MICHAEL                 ADDRESS ON FILE
RICCIO, VINCENT                      ADDRESS ON FILE
RICCIO, VINCENT                      ADDRESS ON FILE
RICCONI, DANIEL                      ADDRESS ON FILE
RICE LAKE WEIGHING SYSTEMS           29408 NETWORK PLACE CHICAGO IL 60673
RICE, AMETHYST                       ADDRESS ON FILE
RICE, APRIL                          ADDRESS ON FILE
RICE, BENJAMIN                       ADDRESS ON FILE
RICE, BERNARD                        ADDRESS ON FILE
RICE, BERNARD                        ADDRESS ON FILE
RICE, BRITTANY                       ADDRESS ON FILE
RICE, CRAIG                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1590 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1599 of 2156

Claim Name                         Address Information
RICE, DALE                         ADDRESS ON FILE
RICE, DEE                          ADDRESS ON FILE
RICE, DONALD                       ADDRESS ON FILE
RICE, DOUGLAS                      ADDRESS ON FILE
RICE, ED                           ADDRESS ON FILE
RICE, EDDIE                        ADDRESS ON FILE
RICE, GARY                         ADDRESS ON FILE
RICE, HEATHER                      ADDRESS ON FILE
RICE, HENRY                        ADDRESS ON FILE
RICE, JACKIE                       ADDRESS ON FILE
RICE, JACOB                        ADDRESS ON FILE
RICE, JALEN                        ADDRESS ON FILE
RICE, JAMAAL                       ADDRESS ON FILE
RICE, JEFFREY                      ADDRESS ON FILE
RICE, JEFFREY                      ADDRESS ON FILE
RICE, JERRY                        ADDRESS ON FILE
RICE, JOHN                         ADDRESS ON FILE
RICE, JULIUS                       ADDRESS ON FILE
RICE, KEVIN                        ADDRESS ON FILE
RICE, LAURA                        ADDRESS ON FILE
RICE, MARGARET                     ADDRESS ON FILE
RICE, MICHAEL                      ADDRESS ON FILE
RICE, MICHAEL                      ADDRESS ON FILE
RICE, PAMELA                       ADDRESS ON FILE
RICE, PATRICK                      ADDRESS ON FILE
RICE, RICHIE                       ADDRESS ON FILE
RICE, TIMOTHY                      ADDRESS ON FILE
RICE, YAHYA                        ADDRESS ON FILE
RICH & DAVE GRANT PROPERTIES LLC   910 W 24TH ST OGDEN UT 84401
RICH ALREADY LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RICH AND DAVE GRANT PROPERTIES     ATTN: RICH GRANT 910 WEST 24TH STREET OGDEN UT 84401
RICH AND SONS TRANSPORT LLC        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RICH DAVIS ENTERPRISES, INC.       4831 WYOMING DEARBORN MI 48126
RICH HARD TRUCKING LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RICH LEGACY LOGISTICS LLC          OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
RICH TWINS                         ADDRESS ON FILE
RICH WAY LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RICH, DEON                         ADDRESS ON FILE
RICH, JAMES                        ADDRESS ON FILE
RICH, RHONDA                       ADDRESS ON FILE
RICH, RONALD                       ADDRESS ON FILE
RICH, SCOTT                        ADDRESS ON FILE
RICHARD A HENSLEY                  ADDRESS ON FILE
RICHARD AARON                      ADDRESS ON FILE
RICHARD ARCHIBEQUE                 ADDRESS ON FILE
RICHARD BACON                      ADDRESS ON FILE
RICHARD CLAYTON                    ADDRESS ON FILE
RICHARD CLAYTON                    ADDRESS ON FILE
RICHARD D KETELS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1591 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1600 of 2156

Claim Name                             Address Information
RICHARD D WOLFE                        ADDRESS ON FILE
RICHARD DANIELS TRANSPORTATION         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RICHARD FOULSTON                       ADDRESS ON FILE
RICHARD FUNES                          ADDRESS ON FILE
RICHARD G KIRKWOOD                     ADDRESS ON FILE
RICHARD GALLARDO                       ADDRESS ON FILE
RICHARD GEIER                          ADDRESS ON FILE
RICHARD GLOBERSON                      ADDRESS ON FILE
RICHARD H DRAKE                        ADDRESS ON FILE
RICHARD HENRY                          ADDRESS ON FILE
RICHARD J ANTONIETTI                   ADDRESS ON FILE
RICHARD J BAHRY                        ADDRESS ON FILE
RICHARD J JUSSAUME                     ADDRESS ON FILE
RICHARD L NEJAME                       ADDRESS ON FILE
RICHARD L TIFT                         ADDRESS ON FILE
RICHARD M TORRES                       ADDRESS ON FILE
RICHARD M TROEGER                      ADDRESS ON FILE
RICHARD MARON                          ADDRESS ON FILE
RICHARD MCNAY, INC.                    700 NORTH SECOND STREET QUINCY IL 62305
RICHARD MERPAW                         ADDRESS ON FILE
RICHARD MYERS                          ADDRESS ON FILE
RICHARD PETERSON                       ADDRESS ON FILE
RICHARD PIERCE - MS                    ADDRESS ON FILE
RICHARD RAMIREZ TRUCKING               OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RICHARD STOPKA                         ADDRESS ON FILE
RICHARD T HODGES                       ADDRESS ON FILE
RICHARD VAN HOOZEN                     ADDRESS ON FILE
RICHARD VANHOOZEN                      ADDRESS ON FILE
RICHARD W. AUBREY                      ADDRESS ON FILE
RICHARD WOLFE TRUCKING, INC.           7299 NEWARK ROAD MOUNT VERNON OH 43050
RICHARD, BLAIR                         ADDRESS ON FILE
RICHARD, BRIAN                         ADDRESS ON FILE
RICHARD, CHRISTOPHER                   ADDRESS ON FILE
RICHARD, GREGORY                       ADDRESS ON FILE
RICHARD, GUILLERMO                     ADDRESS ON FILE
RICHARD, JOHN                          ADDRESS ON FILE
RICHARD, JOSHUA                        ADDRESS ON FILE
RICHARD, REAGNOLD                      ADDRESS ON FILE
RICHARD, SHANE                         ADDRESS ON FILE
RICHARD, TIMOTHY                       ADDRESS ON FILE
RICHARDS & RICHARDS LLC                PO BOX 17070 NASHVILLE TN 37217
RICHARDS & RICHARDS LLC                PO BOX 293180 NASHVILLE TN 37229
RICHARDS & STERLING                    1488 67TH ST EMERYVILLE CA 94608
RICHARDS MONUMENT                      1095 N MAIN STREET FRANKLIN OH 45005-1652
RICHARDS RELIABLE TRANSPORTATION LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RICHARDS TRUCK SERVICE                 77 BLOOM LANE ROCKTON PA 15856
RICHARDS, AARON                        ADDRESS ON FILE
RICHARDS, ARTHUR                       ADDRESS ON FILE
RICHARDS, BRADLEY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1592 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1601 of 2156

Claim Name                           Address Information
RICHARDS, BRIAN                      ADDRESS ON FILE
RICHARDS, DAN                        ADDRESS ON FILE
RICHARDS, DANIEL                     ADDRESS ON FILE
RICHARDS, DARYEN                     ADDRESS ON FILE
RICHARDS, DAVID                      ADDRESS ON FILE
RICHARDS, DIANE                      ADDRESS ON FILE
RICHARDS, DUSTYN                     ADDRESS ON FILE
RICHARDS, GARY                       ADDRESS ON FILE
RICHARDS, GORDON                     ADDRESS ON FILE
RICHARDS, GORDON W                   ADDRESS ON FILE
RICHARDS, JACQUELINE                 ADDRESS ON FILE
RICHARDS, JAMES                      ADDRESS ON FILE
RICHARDS, JASON                      ADDRESS ON FILE
RICHARDS, JUSTIN                     ADDRESS ON FILE
RICHARDS, KEOSHA                     ADDRESS ON FILE
RICHARDS, KEVIN                      ADDRESS ON FILE
RICHARDS, LAYTON & FINGER P.A.       ONE RODNEY SQUARE, 920 NORTH KING STREET WILMINGTON DE 19801
RICHARDS, LORENZO                    ADDRESS ON FILE
RICHARDS, NICO                       ADDRESS ON FILE
RICHARDS, REBECCA                    ADDRESS ON FILE
RICHARDS, RICARDO                    ADDRESS ON FILE
RICHARDS, RICKIE                     ADDRESS ON FILE
RICHARDS, TAMALA                     ADDRESS ON FILE
RICHARDS, TERRY L                    ADDRESS ON FILE
RICHARDS, THOMAS                     ADDRESS ON FILE
RICHARDS, TIMOTHY                    ADDRESS ON FILE
RICHARDS, TOGAR                      ADDRESS ON FILE
RICHARDS, TRISTAN                    ADDRESS ON FILE
RICHARDS, VERONICA                   ADDRESS ON FILE
RICHARDS, WILLIAM                    ADDRESS ON FILE
RICHARDSON ATHLETICSLLC              ATTN: MS. TAYLOR L RICHARDSON 160 PARKISON DRIVE RICHLAND MS 39218-4441
RICHARDSON ELECTRONICS               ATTN: MICHAEL WRZESINSKI MICHAEL WRZESINSKI 40W265 KESLINGER RD DOCK 7 LAFOX
                                     IL 60147
RICHARDSON II, ALVA                  ADDRESS ON FILE
RICHARDSON JUMPSTARTERS LLC          PO BOX 7328 NORTH KANSAS CITY MO 64116
RICHARDSON, ALAN                     ADDRESS ON FILE
RICHARDSON, ALBERT                   ADDRESS ON FILE
RICHARDSON, ALBERT S                 ADDRESS ON FILE
RICHARDSON, ALFRED                   ADDRESS ON FILE
RICHARDSON, ALICE                    ADDRESS ON FILE
RICHARDSON, BILLY J                  ADDRESS ON FILE
RICHARDSON, BRUCE A                  ADDRESS ON FILE
RICHARDSON, CALNEH                   ADDRESS ON FILE
RICHARDSON, CALVIN                   ADDRESS ON FILE
RICHARDSON, CARY                     ADDRESS ON FILE
RICHARDSON, CHRISTIAN                ADDRESS ON FILE
RICHARDSON, CHRISTINE                ADDRESS ON FILE
RICHARDSON, CURLEY                   ADDRESS ON FILE
RICHARDSON, DANIEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1593 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1602 of 2156

Claim Name                           Address Information
RICHARDSON, DANNY                    ADDRESS ON FILE
RICHARDSON, DAVID                    ADDRESS ON FILE
RICHARDSON, DERRICK                  ADDRESS ON FILE
RICHARDSON, DWIGHT                   ADDRESS ON FILE
RICHARDSON, ERICA                    ADDRESS ON FILE
RICHARDSON, ERICA                    ADDRESS ON FILE
RICHARDSON, GARY                     ADDRESS ON FILE
RICHARDSON, GREG                     ADDRESS ON FILE
RICHARDSON, IVAN                     ADDRESS ON FILE
RICHARDSON, JALEESA                  ADDRESS ON FILE
RICHARDSON, JERRY                    ADDRESS ON FILE
RICHARDSON, JOHN                     ADDRESS ON FILE
RICHARDSON, JOHN                     ADDRESS ON FILE
RICHARDSON, KARISSA                  ADDRESS ON FILE
RICHARDSON, KAYLA                    ADDRESS ON FILE
RICHARDSON, KEN                      ADDRESS ON FILE
RICHARDSON, KENNETH R                ADDRESS ON FILE
RICHARDSON, KIM                      ADDRESS ON FILE
RICHARDSON, LAMARQUISE               ADDRESS ON FILE
RICHARDSON, LAVARIS                  ADDRESS ON FILE
RICHARDSON, LEE                      ADDRESS ON FILE
RICHARDSON, LELAND                   ADDRESS ON FILE
RICHARDSON, MARK                     ADDRESS ON FILE
RICHARDSON, MELISSA                  ADDRESS ON FILE
RICHARDSON, MICHAEL                  ADDRESS ON FILE
RICHARDSON, NORMAN                   ADDRESS ON FILE
RICHARDSON, OSCAR                    ADDRESS ON FILE
RICHARDSON, RICHIE K                 ADDRESS ON FILE
RICHARDSON, RONALD K                 ADDRESS ON FILE
RICHARDSON, SHAKEEM                  ADDRESS ON FILE
RICHARDSON, TRAVIS                   ADDRESS ON FILE
RICHARDSONS PROPERTIES LLC           101 LEXINGTON AVE STE 2 CHEYENNE WY 82007
RICHARDSONS PROPERTIES LLC           ATTN: RANDY RICHARDSON 101 LEXINGTON AVENUE, 2 CHEYENNE WY 82007
RICHARZ REPAIR LLC                   1694 HWY 9 LARCHWOOD IA 51241
RICHBURG, JOHN                       ADDRESS ON FILE
RICHE, YVENSON                       ADDRESS ON FILE
RICHEL, TIMOTHY                      ADDRESS ON FILE
RICHELIEU AMERICA DIV BIR            ATTN: ROBERT BARNES 3912 2ND AVE S BIRMINGHAM AL 35222
RICHELIEU HARDWARE CANADA LTD        ATTN: LOUBNA SAHRAOUI 7900 BOUL HENRIBOURASSA OUEST VILLE ST LAURENT QC H4S
                                     1V4 CANADA
RICHERSON, PIERRE                    ADDRESS ON FILE
RICHERT, RICHARD M                   ADDRESS ON FILE
RICHEY FARMS, INC.                   9385 US HWY 160 ISABELLA MO 65676
RICHEY, GUY SCOTT                    ADDRESS ON FILE
RICHEY, LEBRONZE                     ADDRESS ON FILE
RICHEY, RICHARD                      ADDRESS ON FILE
RICHEY, THOMAS                       ADDRESS ON FILE
RICHEY, TRAVIS                       ADDRESS ON FILE
RICHFIELD PLUMBING CO                8640 HARRIET AVE S STE 100 BLOOMINGTON MN 55420



Epiq Corporate Restructuring, LLC                                                             Page 1594 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                            Page 1603 of 2156

Claim Name                              Address Information
RICHHART, MICHAEL                      ADDRESS ON FILE
RICHI TRUCKING INC                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
RICHIES TRUCKING                       OR SMART FREIGHT FUNDING 3803 N. 153RD ST SUITE 100 OMAHA NE 68116
RICHLAND COUNTY BUSINESS SERVICE CENTER 2020 HAMPTON ST COLUMBIA SC 29204
RICHLAND COUNTY TREASURER              PO BOX 8028 COLUMBIA SC 29202
RICHLAND COUNTY TREASURER              PO BOX 11947 COLUMBIA SC 29211
RICHLAND LOGISTICS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RICHMAN TRUCKING, INC.                 41500 SMITH RD WELLINGTON OH 44090
RICHMAN, JEFFREY                       ADDRESS ON FILE
RICHMOND EXPRESS INC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
RICHMOND POWER & LIGHT                 C/O FINANCE SYSTEM, INC. PO BOX 786 RICHMOND IN 47375
RICHMOND TOWING, INC.                  9932 JEFFERSON DAVIS HWY RICHMOND VA 23237
RICHMOND, ALAN                         ADDRESS ON FILE
RICHMOND, DAVID                        ADDRESS ON FILE
RICHMOND, KEVIN K                      ADDRESS ON FILE
RICHO TRUCKING LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RICHS TOWING & SERVICE, INC.           20531 FIRST AVE MIDDLEBURG HIGHTS OH 44130
RICHSEASONTRANSPORT LLC                4392 FORD CV MEMPHIS TN 38109-5219
RICHTER, CHRISTOPHER                   ADDRESS ON FILE
RICHTER, EDWARD                        ADDRESS ON FILE
RICHTER, JAMES                         ADDRESS ON FILE
RICK A KELLEY                          ADDRESS ON FILE
RICK BASABILVAZO                       ADDRESS ON FILE
RICK BURKETTE                          ADDRESS ON FILE
RICK HINDERER KNIVESCO.                5371 COLUMBUS RD. SHREVE OH 44676
RICK J LINN                            ADDRESS ON FILE
RICK KOPPOS                            ADDRESS ON FILE
RICK LEONARD HEATING & A/C INC         PO BOX 116 SIKESTON MO 63801
RICK PARDEE                            ADDRESS ON FILE
RICK PHILLIPS HEATING & AIR, INC.      15436 LOOKOUT ROAD APPLE VALLEY CA 92307
RICK WERT                              ADDRESS ON FILE
RICKARD, ELISABETH                     ADDRESS ON FILE
RICKARDS TRANSPORTATION SVCS LLC       OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RICKER, BENJAMIN                       ADDRESS ON FILE
RICKETT, MATTHEW                       ADDRESS ON FILE
RICKETTS, MARK                         ADDRESS ON FILE
RICKETTS, THOMAS                       ADDRESS ON FILE
RICKEY L KEMMANN                       ADDRESS ON FILE
RICKEY LEE ALBERT                      ADDRESS ON FILE
RICKEY RYGG                            ADDRESS ON FILE
RICKEY, BOYD                           ADDRESS ON FILE
RICKIES TRANSPORTATION                 OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
RICKMAN, JEREMY                        ADDRESS ON FILE
RICKMAN, KENNETH                       ADDRESS ON FILE
RICKMAN, LINFRED                       ADDRESS ON FILE
RICKMON, ORLANDIS                      ADDRESS ON FILE
RICKORD, ERIN                          ADDRESS ON FILE
RICKS TOWING & REPAIR INC              234 KRUPP DR WILLISTON VT 05495
RICKS TRANSIT REPAIR                   2728 ELLINGTON RD QUINCY IL 62305



Epiq Corporate Restructuring, LLC                                                                Page 1595 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1604 of 2156

Claim Name                           Address Information
RICKS TRUCKING                       4851 DECATUR RD MERIDEN KS 66512
RICKS, BRUCE                         ADDRESS ON FILE
RICKS, JAVONNE                       ADDRESS ON FILE
RICKS, JOSEPH                        ADDRESS ON FILE
RICKS, TRAVIS                        ADDRESS ON FILE
RICKSTAD, ERIC                       ADDRESS ON FILE
RICKY COLEMAN INC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RICKY D CRAWFORD                     ADDRESS ON FILE
RICKY L COBBIN                       ADDRESS ON FILE
RICKY SCHAETZKA                      ADDRESS ON FILE
RICKY TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RICO, COREY                          ADDRESS ON FILE
RICO, TAYLOR                         ADDRESS ON FILE
RICOH USA, INC.                      P.O. BOX 802815 CHICAGO IL 60680
RICOH USA, INC.                      PO BOX 660342 DALLAS TX 75266
RICTOR, JASON                        ADDRESS ON FILE
RIDDER, DEVIN                        ADDRESS ON FILE
RIDDICK, MICHEAL                     ADDRESS ON FILE
RIDDLE, ALBERT J                     ADDRESS ON FILE
RIDDLE, GREGORY                      ADDRESS ON FILE
RIDDLE, JAMES                        ADDRESS ON FILE
RIDDLE, JERRY                        ADDRESS ON FILE
RIDDLE, JOEL                         ADDRESS ON FILE
RIDDLEBARGER, WILBUR                 ADDRESS ON FILE
RIDEAUX, MARONTAYE                   ADDRESS ON FILE
RIDEEX LLC                           OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
RIDENOUR, GARY                       ADDRESS ON FILE
RIDENOUR, KEVIN                      ADDRESS ON FILE
RIDEOUT SERVICE CENTER &             1705 S GREEN ST HENDERSON KY 42420
RIDER CHOICE TRUCKING LLC            OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RIDER, TRAVIS                        ADDRESS ON FILE
RIDESY LLC                           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RIDEWELL SUSPENSIONS                 PO BOX 4586 SPRINGFIELD MO 65803
RIDEZILLA TRANSPORT LLC              OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
RIDGE EQUIPMENT CO, INC.             P.O. BOX 20234 CHEYENNE WY 82003
RIDGE, PETER                         ADDRESS ON FILE
RIDGELINEMECHANICAL SALES            100 HIGH PLAINS RD BELGRADE MT 59714
RIDGERUNNER ROAD SERVICE, LLC        23526 WELTY CHURCH ROAD SMITHSBURG MD 21783
RIDIN SOLO LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RIDING, BERNARD L                    ADDRESS ON FILE
RIDING, JOHN                         ADDRESS ON FILE
RIDINGS, JAMES                       ADDRESS ON FILE
RIDLEY JR, THENON                    ADDRESS ON FILE
RIDLEY, ANNA                         ADDRESS ON FILE
RIDLEY, FREDRICK                     ADDRESS ON FILE
RIDLEY, JAMES                        ADDRESS ON FILE
RIDLEY, THENIA                       ADDRESS ON FILE
RIDLEY, THENON                       ADDRESS ON FILE
RIDLING, WILLIAM                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1596 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1605 of 2156

Claim Name                             Address Information
RIDLING, WILLIAM R                     ADDRESS ON FILE
RIECKE, PETER                          ADDRESS ON FILE
RIEDEL, DAVID                          ADDRESS ON FILE
RIEDEMANN TRANSPORT                    1404 FORT CROOK RD S BELLEVUE NE 68005
RIEDER, HEATHER                        ADDRESS ON FILE
RIEGEL TRANSPORTATION INDUSTRIES LLC   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RIEGEL, ANDREW                         ADDRESS ON FILE
RIEHL, ERIC                            ADDRESS ON FILE
RIEKE, STEVEN H                        ADDRESS ON FILE
RIEKES EQUIPMENT COMPANY               703 EAST 14TH AVE NORTH KANSAS CITY MO 64116
RIEKES EQUIPMENT COMPANY               PO BOX 3392 OMAHA NE 68103
RIEM, UOSWAY                           ADDRESS ON FILE
RIEMER, ALAN                           ADDRESS ON FILE
RIEMER, MORGAN                         ADDRESS ON FILE
RIEMER, NICHOLAS                       ADDRESS ON FILE
RIEMERSMA, KEVIN                       ADDRESS ON FILE
RIEMERSMA, RHONDA                      ADDRESS ON FILE
RIENDEAU JR, RONALD                    ADDRESS ON FILE
RIENECKER, KEVIN                       ADDRESS ON FILE
RIES, MICHAEL                          ADDRESS ON FILE
RIESTERER, STEPHEN                     ADDRESS ON FILE
RIEZINGER, DAVID                       ADDRESS ON FILE
RIFE, DAVID                            ADDRESS ON FILE
RIFF TRANSPORT LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RIFFLE, SHANNON                        ADDRESS ON FILE
RIFLE RIVER BUILDERS LLC               PO BOX 403 THREE FORKS MT 59752
RIFT VALLEY CARRIERS LLC               OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RIG TRANSPORTATION LLC                 OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
RIGBY, JAMES                           ADDRESS ON FILE
RIGDON, BRANDON                        ADDRESS ON FILE
RIGDON, DALLAS                         ADDRESS ON FILE
RIGDON, MARK                           ADDRESS ON FILE
RIGGAN, JOHN                           ADDRESS ON FILE
RIGGENBACH, KEVIN                      ADDRESS ON FILE
RIGGI, JUDY                            ADDRESS ON FILE
RIGGIN, KEVIN                          ADDRESS ON FILE
RIGGING PRODUCTS, INC.                 PO BOX 170 SATSUMA FL 32189
RIGGINS, DAVID                         ADDRESS ON FILE
RIGGINS, KENNETH J                     ADDRESS ON FILE
RIGGINS, KIMDELL                       ADDRESS ON FILE
RIGGINS, KIMDELL                       ADDRESS ON FILE
RIGGLE PLUMBING INC                    6508 W DESCHUTES AVE KENNEWICK WA 99336
RIGGLE, CHARLES                        ADDRESS ON FILE
RIGGLEMAN, KEVIN                       ADDRESS ON FILE
RIGGS & ASSOCIATES CONTRACTING LLC     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RIGGS TOWING LLC                       1251 2ND AVE MARION IA 52302
RIGGS TOWING LLC                       7820 6TH ST SW CEDAR RAPIDS IA 52404
RIGGS, DAVID                           ADDRESS ON FILE
RIGGS, DAVID                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1597 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1606 of 2156

Claim Name                              Address Information
RIGGS, JASON                            ADDRESS ON FILE
RIGGS, MATTHEW                          ADDRESS ON FILE
RIGGS, MICHELLE A                       ADDRESS ON FILE
RIGGS, RICKY                            ADDRESS ON FILE
RIGGS, ROBERT                           ADDRESS ON FILE
RIGGS, RUSSELL                          ADDRESS ON FILE
RIGGSBY, SEAN                           ADDRESS ON FILE
RIGHI PALLET CO                         355 GREENSPRING RD NEWVILLE PA 17241
RIGHT CHOICE TRANSPORT INC              1337 WOOD THRUSH CT GREENWOOD IN 46143
RIGHT CHOICE TRANSPORT INC.             E 8319 COUNTY RD C ELK MOUND WI 54739
RIGHT CHOICE TRUCKING LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RIGHT ELECTRICAL SERVICES LLC           509 PARK DR CLAYTON NC 27520
RIGHT LANE CARRIER INC.                 6033 SHAWSON DR, UNIT 25 MISSISSAUGA ON L5T 1E7 CANADA
RIGHT LINE TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
RIGHT NOW PLUMBING & HEATING LLC        PO BOX 1418 MISSOULA MT 59806
RIGHT ON THE WAY TRANSPORTATION, INC.   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RIGHT ON TRANSPORTATION INC             7048 S CENTRAL PARK SHELBY TWP MI 48317
RIGHT PATH TRUCKING INC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RIGHT SERVICE RIGHT CHOICE              2570 DREW ROAD MISSISSAUGA ON L4T3M5 CANADA
RIGHT THERE TRANSPORTATION LLC          OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
RIGHT TIME TRANSPORT COMPANY            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RIGHT TIME TRANSPORT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RIGHT TOUCH TRANSPORT LLC               PO BOX 11936 HUNTSVILLE AL 35814
RIGHT TRANSPORT INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RIGHT TRANSPORT INC                     18923 90TH AVE E PUYALLUP WA 98375
RIGHT TURN RECRUITING                   7825 WAYZATA BLVD SAINT LOUIS PARK MN 55426
RIGHT WAY FREIGHT INC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RIGHT WAY TRANSPORTATION INC            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RIGHT WAY TRANSPORTATION INC (MC753105) OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
RIGHTENOUR, JIMMY                       ADDRESS ON FILE
RIGHTENOUR, JIMMY I                     ADDRESS ON FILE
RIGHTEOUSNESS LOGISTICS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RIGHTFAST SHIPPING AND FREIGHT LLC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RIGHTLANE TRANSPORT LLC                 OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RIGHTLINE EQUIPMENT                     ATTN: LOWEN MURRAY CUSTOMER SERVICE 29120 DIKE RD RAINIER OR 97048
RIGID                                   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
RIGIK, BRIAN                            ADDRESS ON FILE
RIGIK, JEFFREY                          ADDRESS ON FILE
RIGNEY, TIMOTHY                         ADDRESS ON FILE
RIGOBERTO H HERNANDEZ                   ADDRESS ON FILE
RIGOLI, DAVID                           ADDRESS ON FILE
RIGORISE INC                            OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
RIGSBEE, DANIEL                         ADDRESS ON FILE
RIGZ TOWING & RECOVERY LLC              10755 STATE RTE 39 MILLERSBURG OH 44654
RIHM KENWORTH                           ADDRESS ON FILE
RIHM LEASING                            860 BENCH ST RED WING MN 55066
RIIS, KIMBERLY                          ADDRESS ON FILE
RIJPSTRA, AUKE                          ADDRESS ON FILE
RIKARD, JEFFREY W                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1598 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1607 of 2156

Claim Name                           Address Information
RIKEN ELASTOMERS CORP                ATTN: LARRY BYRD 340 RIKEN CT HOPKINSVILLE KY 42240
RIKER HOME SERVICES                  2055 KRISTY LN ROCKWALL TX 75032
RILES, BERNARD                       ADDRESS ON FILE
RILEY JR, CALVIN                     ADDRESS ON FILE
RILEY OIL CO                         ATTN JEANNIE MARIE SMITH, OFFICE MANAGER 320 BOGGS LN RICHMOND KY 40475
RILEY OIL CO                         PO BOX 630 RICHMOND KY 40476
RILEY SUBARU                         ATTN: RYAN REVENIG 4455 DODGE STREET DUBUQUE IA 52003-2601
RILEY TRACTOR PARTS INC              ATTN: ZACH RILEY 530 W LINFOOT ST WAUSEON OH 43567
RILEY, CHAUNCEY                      ADDRESS ON FILE
RILEY, CHERRY B                      ADDRESS ON FILE
RILEY, CHERRY B                      ADDRESS ON FILE
RILEY, DALE                          ADDRESS ON FILE
RILEY, DAVID                         ADDRESS ON FILE
RILEY, DAVID                         ADDRESS ON FILE
RILEY, HARRY                         ADDRESS ON FILE
RILEY, IAN                           ADDRESS ON FILE
RILEY, JACK                          ADDRESS ON FILE
RILEY, JACQUALYN                     ADDRESS ON FILE
RILEY, JARRED                        ADDRESS ON FILE
RILEY, JIM                           ADDRESS ON FILE
RILEY, JOSHUA                        ADDRESS ON FILE
RILEY, KEVIN                         ADDRESS ON FILE
RILEY, LEMONTE                       ADDRESS ON FILE
RILEY, LISA                          ADDRESS ON FILE
RILEY, MARCUS                        ADDRESS ON FILE
RILEY, MARTEZ                        ADDRESS ON FILE
RILEY, PAUL                          ADDRESS ON FILE
RILEY, RHEA                          ADDRESS ON FILE
RILEY, RICHARD                       ADDRESS ON FILE
RILLEY, MISTY                        ADDRESS ON FILE
RIM TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RIMA TRANSPORT LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RIMCO. INC.                          445 MAIN AVE, PO BOX 95 NECHE ND 58265
RIMINI STREET                        ATTN: GENERAL COUNSEL 7251 WEST LAKE MEAD BLVD SUITE 300 LAS VEGAS NV 89128
RIMKUS, RICHARD                      ADDRESS ON FILE
RIMO LLC                             OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RIMPSON, CHAUNCE                     ADDRESS ON FILE
RIMS                                 MAIL CODE 7396, PO BOX 7247 PHILADELPHIA PA 19170
RINANDO ENTERPRISES                  6568 PICKETT DR JACKSONVILLE FL 32219
RINARD, DAMON                        ADDRESS ON FILE
RINCON, CRISTIAN                     ADDRESS ON FILE
RINDFLEISCH, BRANDON                 ADDRESS ON FILE
RINEHART, VICTORIA                   ADDRESS ON FILE
RINELLA, TOM                         ADDRESS ON FILE
RINER, BRET                          ADDRESS ON FILE
RINES, BRIAN W                       ADDRESS ON FILE
RINES, JEREMY                        ADDRESS ON FILE
RINEX, COLUMBIA                      ADDRESS ON FILE
RING EXPRESS                         53 MEGAN DR HENDERSON NV 89074



Epiq Corporate Restructuring, LLC                                                               Page 1599 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1608 of 2156

Claim Name                          Address Information
RING, MARK                          ADDRESS ON FILE
RING, MICHAEL                       ADDRESS ON FILE
RINGCENTRAL INC                     PO BOX 734232 DALLAS TX 75373
RINGCENTRAL INC                     20 DAVIS DR BELMONT CA 94002
RINGER, DONNA                       ADDRESS ON FILE
RINGFIELD, EDDIE                    ADDRESS ON FILE
RINGGENBERG, JASON                  ADDRESS ON FILE
RINGLEN, KEVIN                      ADDRESS ON FILE
RINGLEN, RAVEN                      ADDRESS ON FILE
RINGLER, RONALD                     ADDRESS ON FILE
RINGNESS, CYNTHIA                   ADDRESS ON FILE
RINGNESS, CYNTHIA                   ADDRESS ON FILE
RINGO, KODY                         ADDRESS ON FILE
RININGER, RHONDO                    ADDRESS ON FILE
RININGER, SANDRA J                  ADDRESS ON FILE
RIO GRANDE ELEC COOP INC            778 E US HWY 80 BRACKETVILLE TX 78832
RIO GRANDE FENCE CO. OF NASHVILLE   1410 LEBANON PIKE NASHVILLE TN 37210
RIO IMPORTERS USA INC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RIO PARTNERS INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RIO PRODUCE                         1018 N CLOSNER BLVD EDINBURG TX 78541
RIO, JACQUELINE                     ADDRESS ON FILE
RIOJAS, DANIEL                      ADDRESS ON FILE
RIOJAS, LEOPOLDO                    ADDRESS ON FILE
RIOJAS, PAUL                        ADDRESS ON FILE
RION, EVIN                          ADDRESS ON FILE
RIOPELLE, CONSTANCE                 ADDRESS ON FILE
RIOS CARGO LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RIOS FELIX, SAMUEL                  ADDRESS ON FILE
RIOS TRANSPORT LLC                  OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
RIOS, ALONSO                        ADDRESS ON FILE
RIOS, ALONSO                        ADDRESS ON FILE
RIOS, ANDREW                        ADDRESS ON FILE
RIOS, ANGELA                        ADDRESS ON FILE
RIOS, ARNOLD                        ADDRESS ON FILE
RIOS, BRYAN                         ADDRESS ON FILE
RIOS, CHRIS                         ADDRESS ON FILE
RIOS, ELVIA                         ADDRESS ON FILE
RIOS, JOHNNY                        ADDRESS ON FILE
RIOS, JONATHAN                      ADDRESS ON FILE
RIOS, JUAN                          ADDRESS ON FILE
RIOS, MARIA                         ADDRESS ON FILE
RIOS, MARK                          ADDRESS ON FILE
RIOS, MIGUEL                        ADDRESS ON FILE
RIOS, ORLANDO                       ADDRESS ON FILE
RIOS, RENE                          ADDRESS ON FILE
RIOS, ROBERT                        ADDRESS ON FILE
RIOS, RONNY                         ADDRESS ON FILE
RIOS, STEVE                         ADDRESS ON FILE
RIOS, TATIANA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1600 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1609 of 2156

Claim Name                              Address Information
RIOS-SANCHEZ, VICKI                    ADDRESS ON FILE
RIPAN TRANSPORT INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RIPLEY, CHAD                           ADDRESS ON FILE
RIPLEY, CHERYL                         ADDRESS ON FILE
RIPLEY, DANNY                          ADDRESS ON FILE
RIPLEY, JESSICA                        ADDRESS ON FILE
RIPLEY, LEROY                          ADDRESS ON FILE
RIPPEE, STEVEN                         ADDRESS ON FILE
RIPPLE LOGISTICS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RIPPLINGER, MICHAEL                    ADDRESS ON FILE
RIRI TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RISBON, SCOTT                          ADDRESS ON FILE
RISDEN, JEFFERY                        ADDRESS ON FILE
RISE UP TRANSPORTATION LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RISE VISION                            22109 W 83RD ST SHAWNEE KS 66227
RISER, ALEXANDER                       ADDRESS ON FILE
RISER, ROGER                           ADDRESS ON FILE
RISERS TRANSPORT INC                   7711 WRENWOOD CRES MISSISSAUGA ON L4T 2V8 CANADA
RISHE, FRANCIS                         ADDRESS ON FILE
RISING SUN EXPRESS LLC                 PO BOX 610, P.O. BOX 610 JACKSON CENTER OH 45334
RISING SUN FARMS                       5126 S PACIFIC HWY PHOENIX OR 97535
RISING TRUCKING LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RISINGER BROS. TRANSFER, INC.          DEPT 5626, PO BOX 2153 BIRMINGHAM AL 35287-5626
RISINGER, DALE R                       ADDRESS ON FILE
RISINGER, DALE R                       ADDRESS ON FILE
RISINGER, MICHAEL                      ADDRESS ON FILE
RISINGER, TROY                         ADDRESS ON FILE
RISKU, CHARITY                         ADDRESS ON FILE
RISKU, ROBERT                          ADDRESS ON FILE
RISLEY, DAVID D                        ADDRESS ON FILE
RISLEY, JEFFREY                        ADDRESS ON FILE
RISLEY, PAUL                           ADDRESS ON FILE
RISNER, JAMES                          ADDRESS ON FILE
RISNER, MYA                            ADDRESS ON FILE
RISNER, TIMOTHY                        ADDRESS ON FILE
RISNER, TIMOTHY                        ADDRESS ON FILE
RISS LOGISTICS LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
RISSMILLER, WALTER & BARBARA           ADDRESS ON FILE
RISTIC TRANS INC                       OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
RITACCO, ANTHONY                       ADDRESS ON FILE
RITCHEY, BRAD                          ADDRESS ON FILE
RITCHEY, BREITT                        ADDRESS ON FILE
RITCHIE TRUCKING SERVICE HOLDINGS, INC. RITCHIE TRUCKING SVC HOLDINGS, INC PO BOX 1186 FRESNO CA 93715
RITCHIE, DANIEL                        ADDRESS ON FILE
RITCHIE, DENNIS                        ADDRESS ON FILE
RITCHIE, JEFFERY                       ADDRESS ON FILE
RITE AID                               ATTN: MARJORIE HIER 200 NEWBERRY COMMONS ETTERS PA 17319
RITE AID CORP                          30 HUNTER LANE CAMP HILL PA 17011
RITE WAY HEATING COOLING & PLUMBING LLC 4551 ALVERNON WAY TUCSON AZ 85714



Epiq Corporate Restructuring, LLC                                                                 Page 1601 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1610 of 2156

Claim Name                            Address Information
RITE-HITE CORP                        ATTN: ADAM SCHNEIDER 195 S. RITE-HITE WAY MILWAUKEE WI 53204-1195
RITE-HITE CORP / ARBON EQUIPMENT CO   195 S. RITE-HITE WAY MILWAUKEE WI 53204-1195
RITE-WAY FENCING (2000) INC           720 45TH ST W SASKATOON SK S7L 5X1 CANADA
RITEWAY                               2606 CARTWRIGHT ST DALLAS TX 75212
RITEX EXPRESS LIMITED                 10 PEACEKEEPING CRT BRAMPTON ON L6P 4H1 CANADA
RITSKY, KIMBERLY                      ADDRESS ON FILE
RITTENHOUSE, MATTHEW                  ADDRESS ON FILE
RITTENHOUSE, RYAN                     ADDRESS ON FILE
RITTER TRANSPORT, INC.                2075 W PINNACLE PEAK RD, STE 130 PHOENIX AZ 85027
RITTER, DAVID                         ADDRESS ON FILE
RITTER, DAVID                         ADDRESS ON FILE
RITTER, JAMES                         ADDRESS ON FILE
RITTER, NIKOLAS                       ADDRESS ON FILE
RITTER, THOMAS                        ADDRESS ON FILE
RITTER, TIMOTHY                       ADDRESS ON FILE
RITTER, TODD                          ADDRESS ON FILE
RITTER, TRAVIS                        ADDRESS ON FILE
RITZ, JOHN                            ADDRESS ON FILE
RITZHAUPT, PAUL                       ADDRESS ON FILE
RITZVILLE TOWING                      107 W 1ST AVE RITZVILLE WA 99169
RIVALRY LOGISTICS INC                 2396 E 10 MILE ROAD WARREN MI 48091
RIVAS PLATA, CARLOS A                 ADDRESS ON FILE
RIVAS TRANSPORT LLC                   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                      76116
RIVAS TRUCKING LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RIVAS, AARON                          ADDRESS ON FILE
RIVAS, AGUSTIN                        ADDRESS ON FILE
RIVAS, ANNA                           ADDRESS ON FILE
RIVAS, DEVINN                         ADDRESS ON FILE
RIVAS, HECTOR                         ADDRESS ON FILE
RIVAS, JORGE                          ADDRESS ON FILE
RIVAS, PATRICIA                       ADDRESS ON FILE
RIVAS, PEDRO                          ADDRESS ON FILE
RIVAS, RENATO                         ADDRESS ON FILE
RIVAS, RONY                           ADDRESS ON FILE
RIVAS, WILMER                         ADDRESS ON FILE
RIVEL, JOSEPH                         ADDRESS ON FILE
RIVER BOTTOM ENERGY SVCS LLC          OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320-7527
RIVER CITY AIR CONDITIONING, INC.     11232 CEDAR PARK AVE BATON ROUGE LA 70809
RIVER CITY ENVIRONMENTAL, INC.        PO BOX 30087 PORTLAND OR 97294
RIVER CITY EXPRESS LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RIVER CITY FIRE EQUIPMENT CO., INC.   PO BOX 980305 WEST SACRAMENTO CA 95798
RIVER CITY PAINT & DECORATING         444 N BAY ST POST FALLS ID 83854
RIVER CITY SNOW & ICE                 P.O. BOX 30087 PORTLAND OR 97294
RIVER CITY TRANSPORT INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RIVER CITY TRANSPORT, INC.            1050 OPPORTUNITY DR, SUITE 130 ROSEVILLE CA 95678
RIVER CITY WRAP                       ATTN: TREY HUDSON 101 AGENCY AVE RICHMOND VA 23225
RIVER DOG EXPRESS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RIVER LOGISTICS INC                   ATTN: JEFF GULBRANSEN 41 E 400 N 159 LOGAN UT 84321



Epiq Corporate Restructuring, LLC                                                                Page 1602 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1611 of 2156

Claim Name                           Address Information
RIVER NETWORKS                       1950 E GREYHOUND PASS, SUITE 18139 CARMEL IN 46033
RIVER ROADS SALES & LEASING          9010 HALL ST SAINT LOUIS MO 63147
RIVER SIDE TRUCKING CORP             39 SHAROT STREET CARTERET NJ 07008
RIVER STATES TRUCK AND TRAILER       3959 NORTH KINNEY COULEE RD LACROSSE WI 54602-2075
RIVER VALLEY EXPRESS, LLC.           PO BOX 405 SCHOFIELD WI 54476
RIVER VALLEY LOGISTICS INC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RIVER VALLEY POWER &SPORT INC.       ATTN: BRENDAN BOHANNON 5327 E FRONTAGE ROAD NW ROCHESTER MN 55901
RIVERA AHUMADA, ROGER                ADDRESS ON FILE
RIVERA ALAMO TRANSPORTACION LLC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75001
RIVERA BROS TRANSPORTATION LLC       OR LOVES SOLUTIONS, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RIVERA LABOY TRUCKING INC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RIVERA LOGISTICS LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RIVERA MONTALVO, GUILLERMO J         ADDRESS ON FILE
RIVERA RIVERA, NANCY                 ADDRESS ON FILE
RIVERA TAVIZON, EMMANUEL             ADDRESS ON FILE
RIVERA TRUCKING ENTERPRISE INC       312 JEFFERSON ST AURORA IL 60505-2744
RIVERA TRUCKING LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
RIVERA, AGUSTIN                      ADDRESS ON FILE
RIVERA, ALYSSA                       ADDRESS ON FILE
RIVERA, ANGEL                        ADDRESS ON FILE
RIVERA, ANGEL                        ADDRESS ON FILE
RIVERA, ANGEL                        ADDRESS ON FILE
RIVERA, ANGEL A                      ADDRESS ON FILE
RIVERA, ANGELA                       ADDRESS ON FILE
RIVERA, ARMANDO                      ADDRESS ON FILE
RIVERA, AXEL                         ADDRESS ON FILE
RIVERA, BRANDON                      ADDRESS ON FILE
RIVERA, BRENDA                       ADDRESS ON FILE
RIVERA, CARLOS                       ADDRESS ON FILE
RIVERA, CARLOS M                     ADDRESS ON FILE
RIVERA, DAVID                        ADDRESS ON FILE
RIVERA, DIANA                        ADDRESS ON FILE
RIVERA, EDWIN                        ADDRESS ON FILE
RIVERA, EDWIN                        ADDRESS ON FILE
RIVERA, ELIJAH S                     ADDRESS ON FILE
RIVERA, ERIC                         ADDRESS ON FILE
RIVERA, FERMIN                       ADDRESS ON FILE
RIVERA, FRANKIE                      ADDRESS ON FILE
RIVERA, GERARDO                      ADDRESS ON FILE
RIVERA, ISRAEL                       ADDRESS ON FILE
RIVERA, ISRAEL                       ADDRESS ON FILE
RIVERA, ISRAEL F                     ADDRESS ON FILE
RIVERA, JAMIE                        ADDRESS ON FILE
RIVERA, JEREMIAH                     ADDRESS ON FILE
RIVERA, JESSICA                      ADDRESS ON FILE
RIVERA, JOHN                         ADDRESS ON FILE
RIVERA, JORGE                        ADDRESS ON FILE
RIVERA, JOSE                         ADDRESS ON FILE
RIVERA, JOSE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1603 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1612 of 2156

Claim Name                              Address Information
RIVERA, JOSE                            ADDRESS ON FILE
RIVERA, JOSE                            ADDRESS ON FILE
RIVERA, JOSE                            ADDRESS ON FILE
RIVERA, JOSE                            ADDRESS ON FILE
RIVERA, JOSE                            ADDRESS ON FILE
RIVERA, JOSE J                          ADDRESS ON FILE
RIVERA, JOSEPH                          ADDRESS ON FILE
RIVERA, JUAN                            ADDRESS ON FILE
RIVERA, JUAN                            ADDRESS ON FILE
RIVERA, JULIO                           ADDRESS ON FILE
RIVERA, KIMBERLY                        ADDRESS ON FILE
RIVERA, LAUREANO                        ADDRESS ON FILE
RIVERA, LAWRENCE                        ADDRESS ON FILE
RIVERA, LETICIA                         ADDRESS ON FILE
RIVERA, LOUIS                           ADDRESS ON FILE
RIVERA, LUIS                            ADDRESS ON FILE
RIVERA, LUIS                            ADDRESS ON FILE
RIVERA, MALCALM                         ADDRESS ON FILE
RIVERA, MANUEL                          ADDRESS ON FILE
RIVERA, MARLENE J                       ADDRESS ON FILE
RIVERA, MATTHEW                         ADDRESS ON FILE
RIVERA, MICHAEL                         ADDRESS ON FILE
RIVERA, MIGUEL                          ADDRESS ON FILE
RIVERA, NANCY G                         ADDRESS ON FILE
RIVERA, RAFAEL                          ADDRESS ON FILE
RIVERA, RAUL                            ADDRESS ON FILE
RIVERA, RAY                             ADDRESS ON FILE
RIVERA, ROSALIO                         ADDRESS ON FILE
RIVERA, ROY                             ADDRESS ON FILE
RIVERA, RUBEN                           ADDRESS ON FILE
RIVERA, RUBEN                           ADDRESS ON FILE
RIVERA, TIFFANY                         ADDRESS ON FILE
RIVERA, TOMMY                           ADDRESS ON FILE
RIVERA, VICTOR                          ADDRESS ON FILE
RIVERA, VINCE                           ADDRESS ON FILE
RIVERA-CORREA, LUIS                     ADDRESS ON FILE
RIVERA-ROMERO, LESLIE J                 ADDRESS ON FILE
RIVERA-ROMERO, LESLIE J                 ADDRESS ON FILE
RIVERAS ENTERPRISE                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RIVERAS, NICOLAS                        ADDRESS ON FILE
RIVERLAND TRUCKING LLC                  29622 COUNTY RD 12 WINONA MN 55987
RIVERO, RENE                            ADDRESS ON FILE
RIVERO, RENE                            ADDRESS ON FILE
RIVERS EDGE GRADING & DEVELOPMENT LLC   1405 LAUREL PARK ROBINSON TX 76706
RIVERS EDGE PLUMBING & HEATING INC      PO BOX 1941 BISMARCK ND 58502
RIVERS TRUCK CENTER, INC.               2975 CAPE HORN RD, PO BOX 273 RED LION PA 17356
RIVERS TRUCKING & DELIVERY LLC          OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RIVERS TRUCKING INC                     16586 E MARIPOSA ROAD STOCKTON CA 95215
RIVERS TRUCKING LLC                     8715 S 81ST CT HICKORY HILLS IL 60457



Epiq Corporate Restructuring, LLC                                                               Page 1604 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1613 of 2156

Claim Name                           Address Information
RIVERS, ANDRE                        ADDRESS ON FILE
RIVERS, CARLTON                      ADDRESS ON FILE
RIVERS, COREY                        ADDRESS ON FILE
RIVERS, DEAN                         ADDRESS ON FILE
RIVERS, DINO                         ADDRESS ON FILE
RIVERS, FRED                         ADDRESS ON FILE
RIVERS, JEFFREY                      ADDRESS ON FILE
RIVERS, LEGRAND                      ADDRESS ON FILE
RIVERS, LESTER                       ADDRESS ON FILE
RIVERS, ULYSSES                      ADDRESS ON FILE
RIVERS, XAVIER                       ADDRESS ON FILE
RIVERS- RAMSEY, TAIKAYLA             ADDRESS ON FILE
RIVERSIDE CARGO LLC                  OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
RIVERSIDE MEDICAL GROUP              PO BOX 95000-7510 PHILADELPHIA PA 19195
RIVERSIDE SUPERIOR COURT- HEMET      C/O PAYMENT PROCESSING CTR 505 S BUENA VISTA RM 201 CORONA CA 92882
RIVERSIDE TIMBER CO                  OR RAINBOW LOGISTICS LLC 1725-B HIGHWAY 77 SOUTHSIDE AL 35907
RIVERSIDE TRANSIT                    1825 3RD ST. RIVERSIDE CA 92507
RIVERSIDE TRANSPORT INC RTI          PO BOX 641099 DALLAS TX 75264
RIVERSIDE TRUCK N TOW                PO BOX 3189 RIVERSIDE CA 92519
RIVERSIDE TRUCK N TOW                C/O ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98502
RIVERSIDE TRUCK N TOW                C/O ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
RIVERVIEW INTERNATIONAL TRUCKS LLC   2445 EVERGREEN AVE, PO BOX 716 WEST SACRAMENTO CA 95691
RIVERVIEW INTL TRUCKS LLC            PO BOX 716 WEST SACRAMENTO CA 95691
RIVERVIEW SURGERY CENTER             1502 LOCUST ST. N. TWIN FALLS ID 83301
RIVERWOOD TRUCKING                   1005 N 500 E PLEASANT GROVE UT 84062
RIVET, DAVID                         ADDRESS ON FILE
RIVET, HAYLEY                        ADDRESS ON FILE
RIVET, RYAN                          ADDRESS ON FILE
RIVETTI, DIEGO                       ADDRESS ON FILE
RIVIAN                               2601 W. COLLEGE NORMAL IL 61761
RIVIAN AUTOMOTIVE LLC                ATTN: TYLER SEVERSON 13250 N HAGGERTY RD PLYMOUTH MI 48170
RIVIERA FINANCE                      220 AVENUE I REDONDO BEACH CA 90277
RIXCO                                1919 LINDORPH DRIVE DAYTON OH 45404
RIYAN TRANSPORT LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RIYTT EXPRESS TRANSPORTATION         25212 FOURL RD NEHALL CA 91321
RIYTT EXPRESS TRANSPORTATION         25212 FOURL RD NEWHALL CA 91321
RIZEL LOGISTICS LLC                  333 BLVD OF THE ALLIES PITTSBURGH PA 15222
RIZO-CHAVEZ, HERIBERTO               ADDRESS ON FILE
RIZZA TRANSPORT LLC                  OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
RIZZA, THOMAS                        ADDRESS ON FILE
RIZZI, TONY                          ADDRESS ON FILE
RIZZO TRANSPORTS                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RIZZO, NICOLE                        ADDRESS ON FILE
RIZZO, STEVEN                        ADDRESS ON FILE
RJ CARGO INC                         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RJ COLEMAN RAILROAD                  8500 SUMMIT CV OLIVE BRANCH MS 38654
RJ EXPRESS LLC                       7588 CENTRAL PARKE BLVD MASON OH 45040
RJ EXPRESS LOGISTICS LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RJ EXPRESS, INC                      1770 TOMLINSON RD UNIT 8B PHILADELPHIA PA 19116



Epiq Corporate Restructuring, LLC                                                              Page 1605 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1614 of 2156

Claim Name                           Address Information
RJ MURRAY                            ADDRESS ON FILE
RJ ROAD CARRIER INC                  4171 SPAGA CRESCENT WINDSOR ON N9G2Z8 CANADA
RJ SCHINNER CO INC                   N89 W14700 PARTITA DR MENOMONEE FALLS WI 53051
RJ SCHINNER COMPANY                  N89W14700 PATRITA DR. MENOMONEE FALLS WI 53051
RJ THOMAS MFG. CO., C/O ECHO         ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
RJ TRANSPORT ALLIANCE, INC.          687 16TH ST KERMAN CA 93630
RJ TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
RJ TRANSPORT LLC (MC638478)          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RJ TRUCKING                          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RJ TRUCKING SERVICES, LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RJ-ARA TRUCKING LLC                  OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
RJ17 CORP                            OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RJAD TRANSPORTATION LLC              OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
RJDJ TRANSPORTATION CO               OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RJJK TRUCKING LLC                    OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
RJK TRUCKING LLC                     OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
RJK TRUCKING LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RJLH TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RJM AUTOMATIC FIRE PROTECTION, LLC   1070 RIVER RD PHILLIPSBURG NJ 08865
RJM TRANS INC                        2930 SENTIMENT LN GREENWOOD IN 46143
RJM TRUCKING LLC                     OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RJMS CORPORATION                     DBA TOYOTA MATERIAL HANDLING PO BOX 888526 LOS ANGELES CA 90088
RJMS CORPORATION                     DBA TOYOTA MATERIAL HANDLING PO BOX 398526 SAN FRANCISCO CA 94139
RJMS CORPORATION                     DBA TOYOTA MATERIAL HANDLING CORPORATE, 6999 SOUTHFRONT RD LIVERMORE CA 94551
RJR EXPRESS LOGISTICS INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RJR TRANSPORTATION COMPANY           575 E MAIN EL PASO IL 61738
RJW LOGISTICS                        ATTN: TAYYABA BAKER 11240 KATHERINES CROSSING SUITE 400 WOODRIDGE IL 60517
RK CARGO INC                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RK ELECTRICAL LLC                    3800 XANTHIA ST DENVER CO 80238
RK EXPRESS INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
RK LOGISTICS LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RK LOGISTICS LLC (AVON IN)           1569 BEARCUB LN AVON IN 46123
RK LOGISTICS LLC (MC1153968)         11219 SE 223RD PL KENT WA 98031-2634
RK LOGISTICS LLC (TAHLEQUAH OK)      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RK SERVICE LLC                       PO BOX 5414 DENVER CO 80217
RKB TRANS LLC                        51 CLAIRMONT AVE EASTON PA 18045
RKD TRUCKING LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RKK TRUCKING INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RKM FIREWORKS CO                     ATTN: RACHEL CORAK 27383 MAY ST EDWARDSBURG MI 49112
RKM LOGISTICS LLC                    OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
RKM LOGISTICS LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RKS EXPRESS LLC                      312 S 4TH ST STE 700 LOUISVILLE KY 40202
RL                                   2100 HOLLY RD. NEENAH WI 54956
RL CARRIERS                          ATTN: R. NICHOLS/SAFETY DEPT. 600 GILLAM ROAD WILMINGTON OH 45177-9089
RL CARRIERS                          ATTN: REBECCA NICHOLS 600 GILLIAM ROAD WILMINGTON OH 45177-9089
RL DELIVERY LLC                      4027 DUPONT AVE N MINNEAPOLIS MN 55412-1612
RL DELIVERY LLC                      OR FRONTLINE CAPITAL LLC 6321 W DEMPSTER ST MORTON GROVE IL 60053
RL DIRECT SERVICE INC                7709 GAIL AVE DARIEN IL 60561
RL KUNZ INC                          PO BOX 5875 GREENVILLE SC 29606



Epiq Corporate Restructuring, LLC                                                               Page 1606 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1615 of 2156

Claim Name                           Address Information
RL LOGISTICS INC.                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RL MAIGA TRANSPORT LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RL MAIGA TRANSPORT LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RLAW LOGISTICS LLC                   OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
RLB MOVEMENT GROUP                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RLD PREMIER LOGISTICS, LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RLF BOOTH SPE LLC                    C/O NORTH AMERICAN TERMINALS MGT 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
RLF BOOTH SPE, LLC                   ATTN: JOHN MCDERMOTT 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
RLF I-A SPE, LLC                     ATTN: NOEMI TULLOS- JACKSON 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
RLF I-A SPE, LLC                     C/O NORTH AMERICAN TERM MGMT 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
RLF I-C SPE LLC                      201 WEST STREET ANNAPOLIS MD 21401
RLF I-C SPE, LLC                     ATTN: PATTY DOCKERY 201 WEST STREET ANNAPOLIS MD 21401
RLF I-PICO SPE, LLC                  201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
RLF I-PICO SPE, LLC                  ATTN: STEVE PANOS 201 WEST STREET SUITE 200 ANNAPOLIS MD 21401
RLG TRUCKING                         OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
RLIF EAST 2 LLC                      201 WEST STREET ANNAPOLIS MD 21401
RLIF EAST 2 LLC                      ATTN: STEVE PANOS 201 WEST STREET ANNAPOLIS MD 21401
RLM TRANSPORTATION INC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RLMJ TRANSPORT LLC                   OR PDM FINANCIAL LLC, PO BOX 3336 DES MOINES IA 50316
RLP TRANSPORTATION LLC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
RLR INVESTMENTS LLC                  600 GILLAM ROAD, PO BOX 271 WILMINGTON OH 45177
RLR INVESTMENTS LLC                  ATTN: MARK SHERMAN ATTN: CORP LEGAL DEPARTMENT 600 GILLAM ROAD WILMINGTON OH
                                     45177
RLR INVESTMENTS, LLC                 ATTN: MARK SHERMAN PO BOX 271 WILMINGTON OH 45177
RLR INVESTMENTS, LLC                 ATTN: MARK SHERMAN, CORP LEGAL DEPT 600 GILLAM ROAD (PO BOX 271) WILMINGTON OH
                                     45177
RLS SPECIALIZED TRANSPORT INC        310 BOOMTOWN ST LAREDO TX 78043
RLS TRANSPORT INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RLW TRANSPORT, LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
RM LINES INC                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RM TRANSIT LLC                       OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
RM TRANSPORT                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RM TRANSPORTATION SVCS LLC           OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RM TRUCKING (EL PASO TX)             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
RM TRUCKING (MC925677)               2586 S BUNDY DR FRESNO CA 93727
RM XPRESS                            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RM XPRESS INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RMA TOLL PROCESSING                  P.O. BOX 734182 DALLAS TX 75373
RMC MOTORS                           ATTN: RAMAZ RMCMOTORS 1030 DELSEA DR WESTVILLE NJ 08093
RMD FREIGHT INC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
RMD LOGISTICS INC                    OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
RMDS                                 PO BOX 5746 DENVER CO 80217
RMH LOGISTICS INC                    OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
RMH SYSTEMS, INC.                    PO BOX 3251 OMAHA NE 68103
RMJ CAPITAL VENTURES LLC             ATTN: BRYAN MEDEIROS 2180 S CONGRESS AVE UNIT B PALM SPRINGS FL 33406
RMJ CARGOBULL                        OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
RMJ CARRIERS LLC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
RMJ EXPRESS INC                      8312 N FREMONT AVE TAMPA FL 33604
RMJ FREIGHT LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                               Page 1607 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1616 of 2156

Claim Name                             Address Information
RMR LEVERAGE GROUP LLC                 OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
RMS CARGO INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RMS RV MOBILE SVC & PARTS              4325 STINE RD BAKERSFIELD CA 93313
RMS TRANS INC                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RMT EQUIPMENT                          9310 W KOCH CIR HAMMETT ID 83627
RMV LOGISTICS LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RMW EXPEDITORS LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RMZ TRANSPORT LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RNA TRUCKING LLC                       OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
RND EXPRESS LLC                        1162 SENNA ST TIPP CITY OH 45371
RND EXPRESS LLC                        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
RNDC                                   14038 WASHINGTON HIGHWAY ASHLAND VA 23005
RNDY TRANSPORT INC                     OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
RNG TRANSPORTS INC                     49 GEMSTONE COVE WINNIPEG MB R2X 1P7 CANADA
RNM LOGISTICS INC                      61 LEANNA CRES BROCKPORT NY 14420
RO TRANS FREIGHT LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROA-REZA, JUAN                         ADDRESS ON FILE
ROACH TRANSPORTATION LLC               OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
ROACH, BRYANT                          ADDRESS ON FILE
ROACH, EDWARD                          ADDRESS ON FILE
ROACH, ERNEST                          ADDRESS ON FILE
ROACH, HAYLEY                          ADDRESS ON FILE
ROACH, JAMES                           ADDRESS ON FILE
ROACH, JAMIE                           ADDRESS ON FILE
ROACH, RAYMOND                         ADDRESS ON FILE
ROACH, RYAN                            ADDRESS ON FILE
ROAD ANGEL                             8441 MINUET PL PANORAMA CITY CA 91402-3830
ROAD CARRIERS LOCAL 707                WELFARE TRUST FUND 14 FRONT STREET HEMPSTEAD NY 11550
ROAD CARRIERS LOCAL 707 PENSION FUND   14 FRONT ST HEMPSTEAD NY 11550
ROAD CARRIERS LOCAL 707 PENSION PLAN   14 FRONT STREET HEMPSTEAD NY 11550
ROAD CARRIERS LOCAL 707 WELFARE FUND   14 FRONT ST HEMPSTEAD NY 11550
ROAD CHASERS DISPATCH                  AND LOGISTIC SVC LLC OR TBS FACTORING SERVICE PO BOX 248920 OKLAHOMA CITY OK
                                       73124-8920
ROAD CONNECT LLC                       OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
ROAD DAWGS TRUCKING LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROAD DIAMOND EXPRESS CORP              OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ROAD EQUIPMENT                         D/B/A: ROAD EQUIPMENT PARTS CENTER PO BOX 9425 GRAND RAPIDS MI 49509
ROAD EQUIPMENT                         D/B/A: ROAD EQUIPMENT PARTS CENTER PO BOX 9489 GRAND RAPIDS MI 49509
ROAD EQUIPMENT PARTS CENTER            PO BOX 9425 GRAND RAPIDS MI 49509
ROAD EQUIPMENT PARTS CENTER            PO BOX 9489 GRAND RAPIDS MI 49509
ROAD EXPRESS LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROAD EXPRESS, INC.                     1381 WOOD DALE RD WOOD DALE IL 60191
ROAD FALCONS INC                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD FREIGHT USA                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ROAD HOG TRANSPORTS LLC                OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
ROAD HOG, LLC                          OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
ROAD HOGG TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROAD HOGS                              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920


Epiq Corporate Restructuring, LLC                                                                 Page 1608 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1617 of 2156

Claim Name                              Address Information
ROAD KING DIESEL, INC                   1-877 FIXN 24-7, P.O. BOX 3640 ALHAMBRA CA 91803
ROAD KING DIESEL, INC                   PO BOX 3640 ALHAMBRA CA 91803
ROAD KING EXPRESS INC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD KING EXPRESS INC (SUN VALLEY CA)   OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ROAD KING LLC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROAD KING TRANS INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD KING TRANSPORT                     OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
ROAD KING TRANSPORT INC                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ROAD KING TRANSPORT INC (MC056333)      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ROAD KING TRANSPORTATION LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROAD KING TRANSPORTATION LLC            (SEFFNER FL) OR ECAPITAL FREIGHT FACTORING, INC PO BOX 206773 DALLAS TX
                                        75320-6773
ROAD KINGS TRUCKING LLC                 P.O. BOX 2640 CLOVIS CA 93613
ROAD KINGS, INC.                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROAD LEADER LOGISTICS LLC (MC1231865)   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROAD LEGEND LLC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ROAD LEGENDS                            13769 MAIN STREET, STE 200 LEMONT IL 60439
ROAD LEGENDS                            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROAD LIFE LLC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROAD LIFE TRUCKING CORP                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROAD LINK INC.                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ROAD LION USA INC                       7841 DUNHAM BLVD UNIT 5 MIAMI FL 33138
ROAD LION USA INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROAD MAP CARRIERS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROAD PANTHERS LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ROAD PLUS TRANSPORT LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROAD RANGE EXPRESS                      OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
ROAD RANGE INC                          OR CRESTMARK, PO BOX 682348 FRANKLIN TN 37068-2348
ROAD READY REFRIGERATION                1-57 EXIT 240, 51 LEVERETT RD CHAMPAIGN IL 61822
ROAD READY REFRIGERATION                51 EAST LEVERETT ROAD CHAMPAIGN IL 61822
ROAD READY REGISTRATION                 9561 63RD AVE RANCHO CUCAMONGA CA 91730
ROAD READY REGISTRATION                 9561 PITTSBURGH AVE RANCHO CUCAMONGA CA 91730
ROAD READY TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROAD RESCUE TOWING                      2415 40TH ST. EVERETT WA 98201
ROAD RUNNER CARRIER LLC                 OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
ROAD RUNNER CARRIER LLC (MC1207171)     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROAD RUNNER EXPRESS LINES INC           OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
ROAD RUNNER MOBILE REPAIR INC           3048 220 ST SAINT CHARLES IA 50240
ROAD RUNNER MOBILE REPAIR LLC           3048 220 ST SAINT CHARLES IA 50240
ROAD RUNNER TRANSPORT SERVICES LLC      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROAD RUNNER WRECKER SERVICE INC         19431 SAMUELS MILL CT LEESBURG VA 20175
ROAD RUNNERS TRANS LLC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD RUNNERS WORLDWIDE LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROAD RUNNERZ TRUCKING LLC               OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ROAD RUNNING TRUCKING CORP              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROAD SHARK                              OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
ROAD STAR CARRIER INC.                  6545 MARKET AVE N STE 100 N CANTON OH 44721-2430
ROAD STAR FREIGHT LLC                   5233 HOHMAN AVE SUITE 116 HAMMOND IN 46320
ROAD STAR TRANSPORT LLC                 OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920



Epiq Corporate Restructuring, LLC                                                                  Page 1609 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1618 of 2156

Claim Name                           Address Information
ROAD STAR TRUCKING LLC (MC087665)    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROAD TECH PAVING                     20 E THOMAS RD STE 2200 PHOENIX AZ 85012
ROAD TIME LOGISTICS LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROAD TITANS INC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROAD TO XCELLENCE LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD TRAIN EXPRESS INC               85 HEART LAKE RD S BRAMPTON ON L6W 3K1 CANADA
ROAD TRANZ INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROAD TREK ENTERPRISES LLC            OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
ROAD TRUCKING LLC                    OR VERO BUSINESS CAPITAL, PO BOX 639565 CINCINNATI OH 45263-9565
ROAD VISION EXPRESS INC              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ROAD WARRIOR EXPRESS LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROAD WARRIOR MOBILE OIL CHANGE       6651 E COUNTY LINE ROAD N LOSANTVILLE IN 47354-9628
ROAD WARRIOR TRANSPORT LLC           5605 SAPPHIRE LOOP ANCHORAGE AK 99504
ROAD WARRIORS LOGISTICS LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ROAD WARRIORS TRUCKING LLC           OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
ROAD WIZARDS INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD WOLVES INC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAD XPRESS TRANSPORT LLC            8910 HOLLYMONT DR SAINT LOUIS MO 63123
ROAD-1 INC                           C/O CAPS FUNDING LLC, PO BOX 75 BALLENTINE SC 29002
ROAD-1 INC                           C/O CAPS FUNDING LLC, PO BOX 75 BALLENTINE SC 29002-0075
ROAD-1 INC                           816 CHRIS DR WEST COLUMBIA SC 29169
ROADAHOLIC CORP.                     3349 MONROE AVE SUIT116 ROCHESTER NY 14618
ROADEX CY INC                        ROADEX CY INC 2132 E DOMINGUEZ ST, BLDG B CARSON CA 90810
ROADEX INC                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ROADFLEET CARRIER SERVICES INC       3243 W PIMA ST PHOENIX AZ 85009
ROADGEEK LLC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROADHAWK TRANSPORTATION INC          OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
ROADJET TRANSPORT INC                24811 RIVARD RD MORENO VALLEY CA 92551
ROADJET TRUCKING LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROADKING & LOGISTIC INC              64 TOP BANK DR ETOBICOKE ON M9W 7B8 CANADA
ROADKING XPRESS                      ATTN: SUKHPAL SINGH 4621 IDLEROCK AVE. BAKERSFIELD CA 93313
ROADLINE CORPORATION                 217 WASHINGTON AVE CARLSTADT NJ 07072
ROADLINE TRANSPORT                   12801 GRAND RIVER DR EL PASO TX 79928
ROADLINE TRUCKING INC                2626 FOOTHILL BLVD SUITE 206 LA CRESCENTA CA 91214
ROADLINK EXPRESS INC                 1455 165TH AVENUE NE HAM LAKE MN 55304
ROADMAP TRANSPORT LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROADMASTERS LOGISTICS LLC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROADMAX CORP                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ROADML TRANSPORT INC                 OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
ROADNET TECHNOLOGIES                 ATTN: GENERAL COUNSEL 849 FAIRMOUNT AVE TOWSON MD 21286
ROADNET TRUCKING LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
ROADONE                              9150 CHESAPEAKE DR 240 SAN DIEGO CA 92123
ROADONE INTERMODALOGISTICS           / CROWN INTERMODALOGISTICS OR RTS HOLDINGS, LLC PO BOX 674939 DETROIT MI 48267
ROADONE TOWING                       9150 CHESAPEAKE DR., STE 240 SAN DIEGO CA 92123
ROADONE TOWING                       9190 CLAIREMONT MESA BLVD SAN DIEGO CA 92123
ROADPACER TRANSPORT LIMITED CO       OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
ROADPULSE LOGISTICS LLC              OR BM FINANCIAL LLC 9300 CONROY WINDERMERE RD, 2080 WINDERMERE FL 34786
ROADREADY TRANSFER SERVICE, INC.     1205 WEST STREET WAUSAU WI 54401



Epiq Corporate Restructuring, LLC                                                               Page 1610 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1619 of 2156

Claim Name                              Address Information
ROADRUNNER                              1431 OPUS PLACE STE 530 DOWNERS GROVE IL 60515
ROADRUNNER AUTO TRUCK & TIRE SERVICE    213 PEPPERTOWN PLAZA FULTON MS 38843
ROADRUNNER EXPRESS DELIVERY             1535 FARMERS LN 157 SANTA ROSA CA 95405
ROADRUNNER EXPRESS DELIVERY             253 SUTTON PLACE SANTA ROSA CA 95407
ROADRUNNER EXPRESS INC.                 2138 SW 2ND COURT REDMOND OR 97756
ROADRUNNER EXPRESS TRUCKING LLC         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ROADRUNNER FREIGHT                      4900 S PENNSYLVANIA CUDAHY WI 53110
ROADRUNNER FREIGHT SYSTEM               1100 MILWAUKEE AVE BLDG 7 SOUTH MILWAUKEE WI 53172
ROADRUNNER MOBILE TRUCK R               PO BOX 751093 PETALUMA CA 94975
ROADRUNNER TOWING & TRUCK SERVICE LLC   PO BOX 264 ANNANDALE NJ 08801
ROADRUNNER TRANSPORT                    ATTN: CLAIMS, 4900 S PENNSYLVANIA AVE CUDAHY WI 53110
ROADRUNNER TRANSPORT LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROADRUNNER TRANSPORTATION LOGISTICS,    OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
LLC
ROADRUNNER TRUCKING LLC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROADRUNNERS LOGISTICS LLC               OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
ROADS CROSSED LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROADSAFE TRAFFIC SYSTEM                 908 SHARP CIRCLE, NORTH LAS VEGAS NV 89030
ROADSIDE TRUCK PLAZA                    PO BOX 1115 KINGS MOUNTAIN NC 28086
ROADSIDE24                              1408 SKYVIEW RD SALEM VA 24153
ROADSPEED INC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROADSTAR EXPRESS LLC                    6011 SOUTHCREST WAY ST LOUIS MO 63129
ROADSTAR TRANSPORTATION INC             OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
ROADSTAR TRUCK LINE LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROADSTAR TRUCK LINE LLC                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
ROADTROTTER EXPRESS LLC                 OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
ROADVIEW EXPRESS INC                    2102 WICKLOW DR VALPARAISO IN 46385-7437
ROADWAY ELITE TRUCKING LLC              OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
ROADWAY NINJAS INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROADWAY TOWING LTD                      7391 PROGRESS PL DELTA BC V4G 1A1 CANADA
ROADWAY TRANSPORT                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROADWAY TRANSPORT LLC                   OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ROADWAYS TRANS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROADWINGS 2 19 LLC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ROADX EXPRESS LTD.                      OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                        ANGELES CA 90074
ROADX FREIGHT INC                       111 BERKSHIRE DR MOUNT LAUREL NJ 08054-1401
ROAM TRUCKING LLC                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROAMER TRANSPORT INC                    7575 S 45TH W IDAHO FALLS ID 83402
ROAN FORREST                            ADDRESS ON FILE
ROAN, JAMES                             ADDRESS ON FILE
ROAN, RODERICK                          ADDRESS ON FILE
ROANE TRANSPORTATION SERVICES LLC       284 CARDIFF VALLEY ROAD ROCKWOOD TN 37854
ROANE, JAMES A                          ADDRESS ON FILE
ROANNI INC                              OR BARON FINANCE CALIFORNIA INC DBA REVEOLUTION CAPITAL P.O. BOX 741791 LOS
                                        ANGELES CA 90074
ROANOKE (MUNICH RE SYNDICATE)           C/O LLOYDS OF LONDON 1 LIME STREET LONDON LONDON EC3M 7HA UNITED KINGDOM
ROANOKE CITY TREASURER                  PO BOX 1451 ROANOKE VA 24007
ROANOKE CLAIMS                          1475 E WOODFIELD RD 500 SCHAUMBURG IL 60173
ROANOKE CLAIMS                          ATTN: MICHAEL MCGRORY 1475 E WOODFIELD RD 500 SCHAUMBURG IL 60173


Epiq Corporate Restructuring, LLC                                                                  Page 1611 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1620 of 2156

Claim Name                           Address Information
ROANOKE CLAIMS SERVICE               1475 E WOODFIELD ROAD STE 500 SCHAUMBURG IL 60173
ROANOKE CLAIMS SERVICES              ATTN: MARISSA STAVNEM 1475 E WOODFIELD RD 500 SCHAUMBURG IL 60173
ROANOKE CLAIMS SERVICES              ATTN: MARISSA STAVNEM ASSOCIATE RECOVERY SPECIALIST - MAR 1475 E. WOODFIELD
                                     ROAD, SUITE 500 SCHAUMBURG IL 60173
ROANOKE CLAIMS SERVICES              ATTN: SPIRO PAZOLLI ASSOCIATE CLAIMS RESOLUTION SPECIAL 1475 E. WOODFIELD
                                     ROAD, SUITE 500 SCHAUMBURG IL 60173
ROANOKE GAS CO                       519 KIMBALL AVE NE ROANOKE VA 24106-2131
ROANOKE INSURANCE GROUP INC.         35079 EAGLE WAY CHICAGO IL 60678
ROANOKE TRADE                        1475 E WOODFIELD RD, STE 500 SCHAUMBURG IL 60173
ROAR TRANSPORTATION LLC              OR LITTLE MOUNTAIN LOGISTICS LLC PO BOX 850001 DEPT 9912 ORLANDO FL 32885-9912
ROARK TRANSIT SYSTEMS LLC            899 IRWIN AVE ALBION MI 49224
ROARK, MARGIE                        ADDRESS ON FILE
ROARK, RICHARD                       ADDRESS ON FILE
ROARY, SAM                           ADDRESS ON FILE
ROATA LLC                            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROB & SONS INC                       531 WAUBONSEE CIR OSWEGO IL 60543
ROB PALMETTO LANDSCAPING             91 INDUSTRIAL DR. GEORGETOWN SC 29440
ROB YOUNG FENCING                    998 EVERGREEN RD BIDWELL OH 45614
ROB-P TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROBARDS COMMUNITY FIRE DEPARTMENT    PO BOX 205 ROBARDS KY 42452
ROBB, JAMES                          ADDRESS ON FILE
ROBB, JOHN                           ADDRESS ON FILE
ROBB, KENNETH                        ADDRESS ON FILE
ROBB, RONALD                         ADDRESS ON FILE
ROBBINS LOCK SHOP INC.               2004 S. DIVISION AVE GRAND RAPIDS MI 49507
ROBBINS, BRIAN                       ADDRESS ON FILE
ROBBINS, CHARLYN                     ADDRESS ON FILE
ROBBINS, CHRISTOPHER                 ADDRESS ON FILE
ROBBINS, CHRISTOPHER                 ADDRESS ON FILE
ROBBINS, CURTIS                      ADDRESS ON FILE
ROBBINS, DARRYL                      ADDRESS ON FILE
ROBBINS, DAVID                       ADDRESS ON FILE
ROBBINS, GREGORY                     ADDRESS ON FILE
ROBBINS, HAKEEM                      ADDRESS ON FILE
ROBBINS, JASON C                     ADDRESS ON FILE
ROBBINS, JIMMIE                      ADDRESS ON FILE
ROBBINS, KEVIN                       ADDRESS ON FILE
ROBBINS, MICHAEL                     ADDRESS ON FILE
ROBBINS, MICHAEL                     ADDRESS ON FILE
ROBBINS, MISTY                       ADDRESS ON FILE
ROBBINS, NATHAN                      ADDRESS ON FILE
ROBBINS, TRENTON E                   ADDRESS ON FILE
ROBBINS, VAN                         ADDRESS ON FILE
ROBBINS, WILLIAM                     ADDRESS ON FILE
ROBBS, LARON                         ADDRESS ON FILE
ROBE TRUCKING LLC                    OR ALTACAPITAL 10455 N CENTRAL EXPRESSWAY 109-364 DALLAS TX 75231
ROBEL, YOSEPH                        ADDRESS ON FILE
ROBEL, YOSEPH                        ADDRESS ON FILE
ROBELAR TRUCKING SVCS LLC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                             Page 1612 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1621 of 2156

Claim Name                              Address Information
ROBELE TRANSPORTATION LLC              7409 KING WILLIAM CT LOUISVILLE KY 40214
ROBERG, MATT                           ADDRESS ON FILE
ROBERSON TRANSPORTATION & LOGISTICS LLC OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
ROBERSON, BRANDON                      ADDRESS ON FILE
ROBERSON, CHANCE                       ADDRESS ON FILE
ROBERSON, JACKIE                       ADDRESS ON FILE
ROBERSON, JOHN                         ADDRESS ON FILE
ROBERSON, JONATHAN                     ADDRESS ON FILE
ROBERSON, KENNETH H                    ADDRESS ON FILE
ROBERSON, LAVELLE                      ADDRESS ON FILE
ROBERSON, LEVAR                        ADDRESS ON FILE
ROBERSON, MALIK                        ADDRESS ON FILE
ROBERSON, MYRON                        ADDRESS ON FILE
ROBERSON, ROBBIE                       ADDRESS ON FILE
ROBERSON, STEVE                        ADDRESS ON FILE
ROBERSON, TONY                         ADDRESS ON FILE
ROBERSON, VONTEZ D                     ADDRESS ON FILE
ROBERSON, WILLIE                       ADDRESS ON FILE
ROBERSON-MCDAY, TONJI                  ADDRESS ON FILE
ROBERT & JIREH SVCS LLC                OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
ROBERT & SON ALUMINUM INC              13 MCBRIDE ST NEWNAN GA 30263
ROBERT A ANDERSON                      ADDRESS ON FILE
ROBERT A HEYMANS                       ADDRESS ON FILE
ROBERT A LENTZ                         ADDRESS ON FILE
ROBERT A LOPEZ                         ADDRESS ON FILE
ROBERT A MADISON                       ADDRESS ON FILE
ROBERT A POSTON                        ADDRESS ON FILE
ROBERT A. BRINEGAR TRUCKING INC.       5053 GEORGE TAYLOR RD SCER SPENCER VA 24165
ROBERT ACKERMAN                        ADDRESS ON FILE
ROBERT AMEY CO                         ADDRESS ON FILE
ROBERT AND EUGENE ALLEN                ADDRESS ON FILE
ROBERT ANDERSON                        ADDRESS ON FILE
ROBERT ANKRUM                          ADDRESS ON FILE
ROBERT B JACKSON                       ADDRESS ON FILE
ROBERT BARTOLT LEED AP                 5077 BLUE MEADOW LANE CINCINNATI OH 45251
ROBERT BOILEAU INC                     1425 BOUL PITFIELD ST LAURENT QC H4S 1G3 CANADA
ROBERT BOSCH LLC                       ATTN: LISA MONTGOMERY 855 CAMP CREEK PARKWAY ATLANTA GA 30336
ROBERT BUCHERT                         ADDRESS ON FILE
ROBERT C BOLIO                         ADDRESS ON FILE
ROBERT C HESSE                         ADDRESS ON FILE
ROBERT C MARTIN                        ADDRESS ON FILE
ROBERT COOMER                          ADDRESS ON FILE
ROBERT CRABLE DBS RC REPAIR            D/B/A: BOB CRABLE 7349 RD 120 BAYARD NE 69334
ROBERT D COMMINS                       ADDRESS ON FILE
ROBERT D GAHAGEN                       ADDRESS ON FILE
ROBERT D JONES                         ADDRESS ON FILE
ROBERT D SLATER                        ADDRESS ON FILE
ROBERT D SOCIE                         ADDRESS ON FILE
ROBERT D. SOLOMON                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1613 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1622 of 2156

Claim Name                              Address Information
ROBERT DEEL                             ADDRESS ON FILE
ROBERT DIETRICK CO.                     2190 COMMERCIAL COURT EVANSVILLE IN 47720
ROBERT DONALD BERGSTROM                 ADDRESS ON FILE
ROBERT E JONES JR                       ADDRESS ON FILE
ROBERT EDWARD TRANSPORT LLC             PO BOX 859 LITHONIA GA 30058
ROBERT F WHATLEY                        ADDRESS ON FILE
ROBERT FEKETE                           ADDRESS ON FILE
ROBERT G HULETT                         ADDRESS ON FILE
ROBERT GOSS                             ADDRESS ON FILE
ROBERT H FEASER CO                      ADDRESS ON FILE
ROBERT H FORD                           ADDRESS ON FILE
ROBERT H FORD                           ADDRESS ON FILE
ROBERT HAAS                             ADDRESS ON FILE
ROBERT HALF FINANCE & ACCOUNTING        OFFICE TEAM 12400 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ROBERT HALF FINANCE & ACCOUNTING        PO BOX 743295 LOS ANGELES CA 90074
ROBERT J BATTINIERI                     ADDRESS ON FILE
ROBERT J DANIELS                        ADDRESS ON FILE
ROBERT J GWILT                          ADDRESS ON FILE
ROBERT J OWENS                          ADDRESS ON FILE
ROBERT JAMES SALES                      PO BOX 7999 CHEEKTOWAGA NY 14225
ROBERT KUSLUCH                          ADDRESS ON FILE
ROBERT L BRADLEY                        ADDRESS ON FILE
ROBERT L HOLLOWAY                       ADDRESS ON FILE
ROBERT L JEFFERSON                      ADDRESS ON FILE
ROBERT L MILLER                         ADDRESS ON FILE
ROBERT L STUCKEL                        ADDRESS ON FILE
ROBERT L THOMPSON                       ADDRESS ON FILE
ROBERT M HAIRR                          ADDRESS ON FILE
ROBERT M WATTERS                        ADDRESS ON FILE
ROBERT MANN                             ADDRESS ON FILE
ROBERT MANN                             ADDRESS ON FILE
ROBERT MARSHALL                         ADDRESS ON FILE
ROBERT MERRITT                          ADDRESS ON FILE
ROBERT MITCHELL                         ADDRESS ON FILE
ROBERT NELSON                           ADDRESS ON FILE
ROBERT PAIGE                            ADDRESS ON FILE
ROBERT PAUL ANDERSON                    & BRETT JAMES ANDERSON INC 808 W MCGREGOR DRIVE MC GREGOR TX 76657
ROBERT PIGUES                           ADDRESS ON FILE
ROBERT R. MCGILL AIR CONDITIONING, INC. 333 S 3RD ST LANTANA FL 33462
ROBERT REMODELING                       715 AMANDA LEE COMBINE TX 75159
ROBERT S CORNING                        ADDRESS ON FILE
ROBERT S RODRIGUEZ                      ADDRESS ON FILE
ROBERT S STORER                         ADDRESS ON FILE
ROBERT SCHECTER ELECTRICAL INC          PO BOX 2 FALL RIVER MA 02722
ROBERT SHOCKLEY                         ADDRESS ON FILE
ROBERT SWAYZE                           ADDRESS ON FILE
ROBERT THIBERT                          ADDRESS ON FILE
ROBERT TS PAINTING & HOME IMPROVEMENT   3237 MASONWOOD DR NASHVILLE TN 37207
ROBERT V. JENSEN, INC.                  PO BOX 12907 FRESNO CA 93779



Epiq Corporate Restructuring, LLC                                                               Page 1614 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1623 of 2156

Claim Name                              Address Information
ROBERT W BAIRD & CO INC (0547)          ATTN CORPORATE ACTIONS 777 E WISCONSIN AVE - 9TH FL MILWAUKEE WI 53202
ROBERT W FERGUSON                       ADDRESS ON FILE
ROBERT W KRAEMER                        ADDRESS ON FILE
ROBERT W LATTA                          ADDRESS ON FILE
ROBERT W STEPHENSON                     ADDRESS ON FILE
ROBERT W STEPHENSON                     ADDRESS ON FILE
ROBERT WARNER                           ADDRESS ON FILE
ROBERT WHITESIDE                        ADDRESS ON FILE
ROBERT, AUBERSON                        ADDRESS ON FILE
ROBERT, JUDE                            ADDRESS ON FILE
ROBERT, MARTIN                          ADDRESS ON FILE
ROBERTAS TRUCKING LLC                   OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ROBERTO CABRERA TRUCKING LLC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROBERTO DVONN LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROBERTO JIMENEZ                         ADDRESS ON FILE
ROBERTO MARTINEZ                        ADDRESS ON FILE
ROBERTS AND SON                         20 JEWELL ST GARFIELD NJ 07026
ROBERTS AND SON                         PO BOX 110 GARFIELD NJ 07026
ROBERTS CONTRACTING                     12 PROSPECT ROAD LAKE ZURICH IL 60047
ROBERTS GARAGE                          24120 STATE HWY 6 DURHAM MO 63438
ROBERTS HEAVY DUTY TOWING, INC.         PO BOX 11249 LEXINGTON KY 40574
ROBERTS HOT TUBS                        2343 WELCOME AVE RICHMOND CA 94804
ROBERTS INTERNATIONAL TRUCKS            300 LONGWOOD DR RICHMOND HILL GA 31324
ROBERTS TOWING & RECOVERY               722 S PEARL ST ALBANY NY 12202
ROBERTS TRUCK CENTER                    PO BOX 1071 AMARILLO TX 79189
ROBERTS TRUCK CENTER, INC.              501 BOURNE AVE, PO BOX 7386 GARDEN CITY GA 31418
ROBERTS TRUCKING COMPANY, LLC           5501 RTE 89 NORTH EAST PA 16428
ROBERTS TRUCKING LLC OF NEW ALBANY MS   P.O. BOX 209 NEW ALBANY MS 38652
ROBERTS, ALAN G                         ADDRESS ON FILE
ROBERTS, ALFRED                         ADDRESS ON FILE
ROBERTS, ALFRED L                       ADDRESS ON FILE
ROBERTS, ALONZO                         ADDRESS ON FILE
ROBERTS, AMY JO                         ADDRESS ON FILE
ROBERTS, BILLY                          ADDRESS ON FILE
ROBERTS, BRANDON                        ADDRESS ON FILE
ROBERTS, BRIAN                          ADDRESS ON FILE
ROBERTS, CAMRON                         ADDRESS ON FILE
ROBERTS, COLE                           ADDRESS ON FILE
ROBERTS, COLETTE                        ADDRESS ON FILE
ROBERTS, DANIEL                         ADDRESS ON FILE
ROBERTS, DANIEL                         ADDRESS ON FILE
ROBERTS, DARREN                         ADDRESS ON FILE
ROBERTS, DAVID J                        ADDRESS ON FILE
ROBERTS, DONALD                         ADDRESS ON FILE
ROBERTS, DONALD                         ADDRESS ON FILE
ROBERTS, EDGAR J                        ADDRESS ON FILE
ROBERTS, EDWARD                         ADDRESS ON FILE
ROBERTS, GARY                           ADDRESS ON FILE
ROBERTS, GARY                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1615 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1624 of 2156

Claim Name                           Address Information
ROBERTS, HAROLD                      ADDRESS ON FILE
ROBERTS, JAMIE                       ADDRESS ON FILE
ROBERTS, JASON                       ADDRESS ON FILE
ROBERTS, JEFF L                      ADDRESS ON FILE
ROBERTS, JEFFERSON                   ADDRESS ON FILE
ROBERTS, JEFFREY                     ADDRESS ON FILE
ROBERTS, JEREMIAH                    ADDRESS ON FILE
ROBERTS, JERROD                      ADDRESS ON FILE
ROBERTS, JIM                         ADDRESS ON FILE
ROBERTS, JOANNA                      ADDRESS ON FILE
ROBERTS, JOEL                        ADDRESS ON FILE
ROBERTS, JONATHAN                    ADDRESS ON FILE
ROBERTS, JONATHAN                    ADDRESS ON FILE
ROBERTS, JONATHAN                    ADDRESS ON FILE
ROBERTS, JOSEPH                      ADDRESS ON FILE
ROBERTS, JOSHUA                      ADDRESS ON FILE
ROBERTS, JR., THOMAS                 ADDRESS ON FILE
ROBERTS, KELLY                       ADDRESS ON FILE
ROBERTS, KERRY                       ADDRESS ON FILE
ROBERTS, KEVIN                       ADDRESS ON FILE
ROBERTS, KEVIN                       ADDRESS ON FILE
ROBERTS, KIISHA                      ADDRESS ON FILE
ROBERTS, KRISTIN                     ADDRESS ON FILE
ROBERTS, LANCE                       ADDRESS ON FILE
ROBERTS, LASHILA RAY                 ADDRESS ON FILE
ROBERTS, LISA                        ADDRESS ON FILE
ROBERTS, MALIK                       ADDRESS ON FILE
ROBERTS, MATTHEW                     ADDRESS ON FILE
ROBERTS, MATTHEW                     ADDRESS ON FILE
ROBERTS, MICHAEL                     ADDRESS ON FILE
ROBERTS, MICHAEL F                   ADDRESS ON FILE
ROBERTS, MIKE                        ADDRESS ON FILE
ROBERTS, MITCHEL & CANDACE           ADDRESS ON FILE
ROBERTS, NARADA                      ADDRESS ON FILE
ROBERTS, NICOLAS                     ADDRESS ON FILE
ROBERTS, PATRICK                     ADDRESS ON FILE
ROBERTS, PAUL                        ADDRESS ON FILE
ROBERTS, RILEY                       ADDRESS ON FILE
ROBERTS, RODNEY                      ADDRESS ON FILE
ROBERTS, RONAN                       ADDRESS ON FILE
ROBERTS, SPENCER                     ADDRESS ON FILE
ROBERTS, STEPHEN                     ADDRESS ON FILE
ROBERTS, STEVE A                     ADDRESS ON FILE
ROBERTS, TIMOTHY                     ADDRESS ON FILE
ROBERTS, TIMOTHY                     ADDRESS ON FILE
ROBERTS, TOBIE                       ADDRESS ON FILE
ROBERTS, TONY                        ADDRESS ON FILE
ROBERTS, WENDY                       ADDRESS ON FILE
ROBERTSHAW, CATHY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1616 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1625 of 2156

Claim Name                             Address Information
ROBERTSON LOGISTICS LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ROBERTSON XPRESS TRUCKING LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROBERTSON, BRICE                       ADDRESS ON FILE
ROBERTSON, BRONSON                     ADDRESS ON FILE
ROBERTSON, BRUCE                       ADDRESS ON FILE
ROBERTSON, CHARLES                     ADDRESS ON FILE
ROBERTSON, DAREN                       ADDRESS ON FILE
ROBERTSON, DEAN                        ADDRESS ON FILE
ROBERTSON, DEAN                        ADDRESS ON FILE
ROBERTSON, GORDON                      ADDRESS ON FILE
ROBERTSON, GORDON                      ADDRESS ON FILE
ROBERTSON, JACOB                       ADDRESS ON FILE
ROBERTSON, JAMES                       ADDRESS ON FILE
ROBERTSON, JOHN                        ADDRESS ON FILE
ROBERTSON, JOSHUA                      ADDRESS ON FILE
ROBERTSON, LAMAH                       ADDRESS ON FILE
ROBERTSON, LLOYD                       ADDRESS ON FILE
ROBERTSON, MARK                        ADDRESS ON FILE
ROBERTSON, MASON                       ADDRESS ON FILE
ROBERTSON, PAMELA                      ADDRESS ON FILE
ROBERTSON, PAMELA                      ADDRESS ON FILE
ROBERTSON, PATRICK                     ADDRESS ON FILE
ROBERTSON, RODNEY                      ADDRESS ON FILE
ROBERTSON, ROY                         ADDRESS ON FILE
ROBERTSON, SUSAN                       ADDRESS ON FILE
ROBERTSON, WARREN                      ADDRESS ON FILE
ROBESON, MICHAEL                       ADDRESS ON FILE
ROBEY, JOHN                            ADDRESS ON FILE
ROBIDOUX, KENNETH                      ADDRESS ON FILE
ROBIN DURIO                            ADDRESS ON FILE
ROBIN LATHROP                          ADDRESS ON FILE
ROBIN LATHROP                          ADDRESS ON FILE
ROBIN MCGEE                            ADDRESS ON FILE
ROBIN TRANSPORT INC                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
ROBINETT, P. BRYAN                     ADDRESS ON FILE
ROBINETT, TERRY                        ADDRESS ON FILE
ROBINETTE TOWING, INC.                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ROBINETTE, ARGUS                       ADDRESS ON FILE
ROBINETTE, BILLY                       ADDRESS ON FILE
ROBINETTE, PRENTICE                    ADDRESS ON FILE
ROBINHOOD SECS, LLC (6769)             ATT MEHDI TAIFI 500 COLONIAL CTR PKWY 100 LAKE MARY FL 32746
ROBINS, JOHN                           ADDRESS ON FILE
ROBINS, MALIA                          ADDRESS ON FILE
ROBINS, RICHARD                        ADDRESS ON FILE
ROBINSON BROTHERS TRUCKING, LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROBINSON III, JOHN                     ADDRESS ON FILE
ROBINSON JR, HUGH                      ADDRESS ON FILE
ROBINSON NIGHTCRAWLERS1 EXPRESS, LLC   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
ROBINSON RENTAL EQUIPMENT              202 N. JACKSON ST. ROBINSON IL 62454



Epiq Corporate Restructuring, LLC                                                                 Page 1617 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1626 of 2156

Claim Name                           Address Information
ROBINSON SR., RONALD                 ADDRESS ON FILE
ROBINSON TOOLS LLC                   2421 MOUNTAIN GLEN CT MEDFORD OR 97504
ROBINSON TRANSPORTATION SVCS INC     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ROBINSON TRANSPORTS LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROBINSON, ADRIAN                     ADDRESS ON FILE
ROBINSON, AJ                         ADDRESS ON FILE
ROBINSON, ALIEK                      ADDRESS ON FILE
ROBINSON, ALLEN                      ADDRESS ON FILE
ROBINSON, ALYSSA                     ADDRESS ON FILE
ROBINSON, ANDREW                     ADDRESS ON FILE
ROBINSON, ANGELO                     ADDRESS ON FILE
ROBINSON, ANTHONY                    ADDRESS ON FILE
ROBINSON, ANTHONY                    ADDRESS ON FILE
ROBINSON, ANTONIO M                  ADDRESS ON FILE
ROBINSON, BARSHAY                    ADDRESS ON FILE
ROBINSON, BERNARD                    ADDRESS ON FILE
ROBINSON, BOBBY                      ADDRESS ON FILE
ROBINSON, BRIAN                      ADDRESS ON FILE
ROBINSON, CARL                       ADDRESS ON FILE
ROBINSON, CHAD                       ADDRESS ON FILE
ROBINSON, CHAD                       ADDRESS ON FILE
ROBINSON, CHARLES                    ADDRESS ON FILE
ROBINSON, CHARLES                    ADDRESS ON FILE
ROBINSON, CHASE                      ADDRESS ON FILE
ROBINSON, CHRIS                      ADDRESS ON FILE
ROBINSON, CHRISTOPHER                ADDRESS ON FILE
ROBINSON, CINQUE                     ADDRESS ON FILE
ROBINSON, CLINTON                    ADDRESS ON FILE
ROBINSON, CONRAD                     ADDRESS ON FILE
ROBINSON, CORTEZ                     ADDRESS ON FILE
ROBINSON, DANARUIS                   ADDRESS ON FILE
ROBINSON, DANIEL                     ADDRESS ON FILE
ROBINSON, DANNY                      ADDRESS ON FILE
ROBINSON, DARRELL                    ADDRESS ON FILE
ROBINSON, DAVID                      ADDRESS ON FILE
ROBINSON, DAVID                      ADDRESS ON FILE
ROBINSON, DAVID                      ADDRESS ON FILE
ROBINSON, DEBORA                     ADDRESS ON FILE
ROBINSON, DENZELL                    ADDRESS ON FILE
ROBINSON, DENZELL                    ADDRESS ON FILE
ROBINSON, DEONTE                     ADDRESS ON FILE
ROBINSON, DERRICK                    ADDRESS ON FILE
ROBINSON, DERRICK                    ADDRESS ON FILE
ROBINSON, DON                        ADDRESS ON FILE
ROBINSON, DWIGHT                     ADDRESS ON FILE
ROBINSON, EMANUEL                    ADDRESS ON FILE
ROBINSON, ERIN                       ADDRESS ON FILE
ROBINSON, ERMILUS                    ADDRESS ON FILE
ROBINSON, GARY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1618 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1627 of 2156

Claim Name                          Address Information
ROBINSON, GERALD                    ADDRESS ON FILE
ROBINSON, HILRY                     ADDRESS ON FILE
ROBINSON, HOPE                      ADDRESS ON FILE
ROBINSON, IAKEEM                    ADDRESS ON FILE
ROBINSON, IRVING                    ADDRESS ON FILE
ROBINSON, JAASIEL                   ADDRESS ON FILE
ROBINSON, JACKIE                    ADDRESS ON FILE
ROBINSON, JACOB                     ADDRESS ON FILE
ROBINSON, JAMES                     ADDRESS ON FILE
ROBINSON, JAMES                     ADDRESS ON FILE
ROBINSON, JAMES                     ADDRESS ON FILE
ROBINSON, JARRETT L                 ADDRESS ON FILE
ROBINSON, JAYLON                    ADDRESS ON FILE
ROBINSON, JEFFERY                   ADDRESS ON FILE
ROBINSON, JEFFERY                   ADDRESS ON FILE
ROBINSON, JEFFREY                   ADDRESS ON FILE
ROBINSON, JEREMY                    ADDRESS ON FILE
ROBINSON, JERRY                     ADDRESS ON FILE
ROBINSON, JOE                       ADDRESS ON FILE
ROBINSON, JOHN                      ADDRESS ON FILE
ROBINSON, JOHN R                    ADDRESS ON FILE
ROBINSON, JOHNNIE                   ADDRESS ON FILE
ROBINSON, JOSEPH                    ADDRESS ON FILE
ROBINSON, JUSTIN                    ADDRESS ON FILE
ROBINSON, KAITLIN                   ADDRESS ON FILE
ROBINSON, KARL                      ADDRESS ON FILE
ROBINSON, KARL                      ADDRESS ON FILE
ROBINSON, KEIDRA                    ADDRESS ON FILE
ROBINSON, KELLY                     ADDRESS ON FILE
ROBINSON, KENNETH                   ADDRESS ON FILE
ROBINSON, KENNETH                   ADDRESS ON FILE
ROBINSON, KEVIN                     ADDRESS ON FILE
ROBINSON, KIERRE                    ADDRESS ON FILE
ROBINSON, KIRBY                     ADDRESS ON FILE
ROBINSON, LAMAR D                   ADDRESS ON FILE
ROBINSON, LAMONT                    ADDRESS ON FILE
ROBINSON, LARRY                     ADDRESS ON FILE
ROBINSON, LEFORD                    ADDRESS ON FILE
ROBINSON, LILA                      ADDRESS ON FILE
ROBINSON, LOYAL                     ADDRESS ON FILE
ROBINSON, MALCOM                    ADDRESS ON FILE
ROBINSON, MARK                      ADDRESS ON FILE
ROBINSON, MARSHALL                  ADDRESS ON FILE
ROBINSON, MICHAEL                   ADDRESS ON FILE
ROBINSON, MICHAEL                   ADDRESS ON FILE
ROBINSON, MICHAEL                   ADDRESS ON FILE
ROBINSON, MICHAEL                   ADDRESS ON FILE
ROBINSON, MICHELLE                  ADDRESS ON FILE
ROBINSON, MORGAN K                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1619 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1628 of 2156

Claim Name                          Address Information
ROBINSON, NASTAJIA                  ADDRESS ON FILE
ROBINSON, NICHOLAS                  ADDRESS ON FILE
ROBINSON, NICKALA                   ADDRESS ON FILE
ROBINSON, PAUL                      ADDRESS ON FILE
ROBINSON, RANDOLPH                  ADDRESS ON FILE
ROBINSON, RICHARD                   ADDRESS ON FILE
ROBINSON, RICHARD                   ADDRESS ON FILE
ROBINSON, ROBERT                    ADDRESS ON FILE
ROBINSON, ROGER                     ADDRESS ON FILE
ROBINSON, RONALD                    ADDRESS ON FILE
ROBINSON, RONALD                    ADDRESS ON FILE
ROBINSON, ROY                       ADDRESS ON FILE
ROBINSON, RYAN                      ADDRESS ON FILE
ROBINSON, SHAMEKA                   ADDRESS ON FILE
ROBINSON, SOPHIA                    ADDRESS ON FILE
ROBINSON, STACEY                    ADDRESS ON FILE
ROBINSON, STEVE                     ADDRESS ON FILE
ROBINSON, STEVEN                    ADDRESS ON FILE
ROBINSON, STONIE                    ADDRESS ON FILE
ROBINSON, SUMMER CHEYENNE           ADDRESS ON FILE
ROBINSON, SUMMER CHEYENNE           ADDRESS ON FILE
ROBINSON, TAFARI                    ADDRESS ON FILE
ROBINSON, TERRELL                   ADDRESS ON FILE
ROBINSON, TERRYL                    ADDRESS ON FILE
ROBINSON, TIMOTHY                   ADDRESS ON FILE
ROBINSON, TIMOTHY                   ADDRESS ON FILE
ROBINSON, TIMOTHY                   ADDRESS ON FILE
ROBINSON, TOMMY                     ADDRESS ON FILE
ROBINSON, TROY                      ADDRESS ON FILE
ROBINSON, VICTOR                    ADDRESS ON FILE
ROBINSON, WANDA                     ADDRESS ON FILE
ROBINSON, WILBERT                   ADDRESS ON FILE
ROBINSON, WILLIE                    ADDRESS ON FILE
ROBINSON, WILLIE                    ADDRESS ON FILE
ROBINSON, WINFRED                   ADDRESS ON FILE
ROBINSON, XAIVER                    ADDRESS ON FILE
ROBINSONS EXPRESS SVCS LLC          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                    CHICAGO IL 60674-0411
ROBINSONS FLEET LLC                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROBISON TRUCKING, INC.              P O BOX 1383 MUSCATINE IA 52761
ROBISON, DANIEL                     ADDRESS ON FILE
ROBISON, JOSHUA                     ADDRESS ON FILE
ROBISON, WILLIAM                    ADDRESS ON FILE
ROBISON, WILLIAM                    ADDRESS ON FILE
ROBLE, ANN                          ADDRESS ON FILE
ROBLEDO, ISMAEL                     ADDRESS ON FILE
ROBLEDO, JOSE                       ADDRESS ON FILE
ROBLEDO, LUIS                       ADDRESS ON FILE
ROBLES APONTE, LUIS                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1620 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1629 of 2156

Claim Name                            Address Information
ROBLES DIAZ, NICKY                    ADDRESS ON FILE
ROBLES GOMEZ, ISAAC                   ADDRESS ON FILE
ROBLES LOGISTICS LLC                  OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189
ROBLES LOGISTICS LLC                  716 PELLEGRINO CT, SUITE 8 LAREDO TX 78045
ROBLES LOGISTICS LLC (MC1446276)      OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
ROBLES ROMERO, HENRY                  ADDRESS ON FILE
ROBLES ROMERO, HENRY N                ADDRESS ON FILE
ROBLES TRANSPORTATIONS LLC            OR OTR CAPITAL LLC DEPT 390 P.O. BOX 1000 MEMPHIS TN 38148
ROBLES TRANSPORTATIONS LLC            OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
ROBLES TRUCKING                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROBLES, ALEJANDRO                     ADDRESS ON FILE
ROBLES, CHRIS                         ADDRESS ON FILE
ROBLES, ENRIQUE                       ADDRESS ON FILE
ROBLES, FERNANDO M                    ADDRESS ON FILE
ROBLES, FRANKIE                       ADDRESS ON FILE
ROBLES, FRANKIE F                     ADDRESS ON FILE
ROBLES, KEVIN                         ADDRESS ON FILE
ROBLES, LORI                          ADDRESS ON FILE
ROBLES, NESTOR                        ADDRESS ON FILE
ROBLES, RAFAEL                        ADDRESS ON FILE
ROBLES, RUBEN                         ADDRESS ON FILE
ROBLES, SAMUEL                        ADDRESS ON FILE
ROBLES, SAMUEL                        ADDRESS ON FILE
ROBLES, TOMAS                         ADDRESS ON FILE
ROBLES, VINCE                         ADDRESS ON FILE
ROBLES-JIMENEZ, RENE                  ADDRESS ON FILE
ROBLETO, FAUSTO                       ADDRESS ON FILE
ROBLEY TRUCKING CO LLC                15036 COUNTY RD K REEDSVILLE WI 54230
ROBNETT, BRITNEY                      ADDRESS ON FILE
ROBS AUTOMOTIVE & COLLISION CENTER,   PO BOX 1619 LEVITTOWN PA 19058
INC.
ROBS PAINTING AND HANDYMAN LLC        524 DOYLE RD LAINGSBURG MI 48848
ROBS PAINTING AND HANDYMAN LLC        6451 RED FOX LANE PERRY MI 48872
ROBS TRAILER SERVICE                  PO BOX 1619 LEVITTOWN PA 19058
ROBS TRUCK & TRAILER SERVICE          D/B/A: ROBS TRAILER SERVICE PO BOX 1619 LEVITTOWN PA 19058
ROBSON, CARL                          ADDRESS ON FILE
ROBSON, JAMES                         ADDRESS ON FILE
ROBUCK JR, DONALD                     ADDRESS ON FILE
ROBUST TRANSPORT SERVICES LTD.        PO BOX 61697 BROOKSWOOD LANGLEY BC V3A 8C8 CANADA
ROBYN L CHAFINS                       ADDRESS ON FILE
ROCA EXPRESS TRANSPORT LLC            OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
ROCA LOGISTICS INC                    2310 ML KING ST CALEXICO CA 92231
ROCCAFORTE, NICHOLAS                  ADDRESS ON FILE
ROCCO, VALERIE                        ADDRESS ON FILE
ROCHA LEASING LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROCHA TRUCKING & PARKING, INC.        25 E ANZA ROAD CALEXICO CA 92231
ROCHA, ANTONIO                        ADDRESS ON FILE
ROCHA, ARMANDO                        ADDRESS ON FILE
ROCHA, CESAR                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1621 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1630 of 2156

Claim Name                             Address Information
ROCHA, GERARDO                         ADDRESS ON FILE
ROCHA, MIGUEL                          ADDRESS ON FILE
ROCHAT, WILLIAM                        ADDRESS ON FILE
ROCHE, JAMES                           ADDRESS ON FILE
ROCHELEAU, BRANDON                     ADDRESS ON FILE
ROCHELLE, FLOYD                        ADDRESS ON FILE
ROCHESTER CITY TREASURER               30 CHURCH ST, ROOM 400 A ROCHESTER NY 14614
ROCHESTER, ANGIE                       ADDRESS ON FILE
ROCHESTER, HOLLY                       ADDRESS ON FILE
ROCHESTER, HOLLY                       ADDRESS ON FILE
ROCHESTER, HOPETON                     ADDRESS ON FILE
ROCHIN, HANNIBAL                       ADDRESS ON FILE
ROCHLING ENGINEERED PLASTICS           2040 S CARLOS AVE ONTARIO CA 91761
ROCHON, CLAUDETTE                      ADDRESS ON FILE
ROCK CITY TRUCKING CO INC              OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
ROCK CREEK ADVISORS                    1738 BELMAR BLVD BELMAR NJ 07719
ROCK GATE CAPITAL, LLC                 D/B/A: GREAT LAKES TESTING SERVICES 820 DAVIS STREET 506 EVANSTON IL 60201
ROCK ISLAND COUNTY COLLECTOR           PO BOX 3277 ROCK ISLAND IL 61204
ROCK ISLAND COUNTY COURT               1317 3RD AVENUE SUITE 101 ROCK ISLAND IL 61201
ROCK ISLAND DEPOT INC                  1201 TIMBERBROOKE DR PALM HARBOR FL 34684
ROCK ISLAND INDUSTRIAL PARK            1528 THIRD AVE ROCK ISLAND IL 61201
ROCK LEAF WATER ENVIRONMENTAL LLC      13230 ISLAND VIEW DR NW ELK RIVER MN 55330
ROCK ON ENTERPRISES, INC.              3100 7TH STREET S WAITE PARK MN 56387
ROCK ROYAL GLOBAL TRANSPORTATION INC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROCK SOLID CORPORATION                 PO BOX 1767 BRIGHTON MI 48116
ROCK SOLID LOGISTICS                   PO BOX 1767 BRIGHTON MI 48116
ROCK SOLID LOGISTICS INC               ATTN: MATTHEW LEE PO BOX 1767, 5918 MERIDIAN BLVD., SUITE 3 BRIGHTON MI 48116
ROCK SOLID TRANSPORT INC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROCK STEADY TRUCKING LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROCK TECH TRANSPORTATION SERVICES      OR TRUENORTH SERVICES LLC, PO BOX 30516 LANSING MI 48909-8016
ROCK TECH TRANSPORTATION SVCS          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROCK TRANS INC                         OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
ROCK TRANSFER & STORAGE,INC            6130 S 13TH ST MILWAUKEE WI 53221
ROCK TRUCKER INC                       OR TRANS FG, PO BOX 743863 LOS ANGELES CA 90074-3863
ROCK VALLEY CULLIGAN                   PO BOX 2755 LOVES PARK IL 61132
ROCK, MICHAEL A                        ADDRESS ON FILE
ROCKAUTO C/O ECHO                      ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
ROCKBOTTOM ROAD SERVICE                234C BLOOMINGBURG RD MIDDLETOWN NY 10940
ROCKDEM EXPRESS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ROCKELMAN & HENN PUMP CO INC           1333 MILITARY RD, PO BOX 239 BUFFALO NY 14217
ROCKENBAUGH, AUSTIN                    ADDRESS ON FILE
ROCKET CARRIER LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROCKET CARRIER LLC                     OR VIVA CAPITAL FUNDING, INC PO BOX 17548 EL PASO TX 79917
ROCKET DELIVERY INC                    3801 NE 109TH AVE SUITE A VANCOUVER WA 98682
ROCKET ENTERPRISE INC                  30660 RYAN ROAD WARREN MI 48092
ROCKET EXPEDITING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROCKET FARMS, INC.                     C/O: BERLINER COHEN, LLP ATTN: JONATHAN D WOLEF TEN ALMADEN BOULEVARD, 11TH
                                       FLOOR SAN JOSE CA 95113
ROCKET TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479



Epiq Corporate Restructuring, LLC                                                                 Page 1622 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1631 of 2156

Claim Name                              Address Information
ROCKET TRANSPORTATION INC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ROCKET TRUCKING INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ROCKET TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROCKETBOX TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROCKETT XPEDITE                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROCKFORD ARMY SURPLUS                  ATTN: DAVID BOBIK 2305 CHARLES ST ROCKFORD IL 61104
ROCKFORD ORTHOPEDICS ASSOCIATES        D/B/A: ORTHOILLINOIS BOX 78534 MILWAUKEE WI 53278-8534
ROCKFORD ORTHOPEDICS SSOCIATES         D/B/A: ORTHOILLINOIS BOX 78534 MILWAUKEE WI 53278-8534
ROCKFORD TECH                          3549 MERCHANDISE DR. ROCKFORD IL 61109
ROCKIE BOGENSCHULTZ/AA DECOR           ATTN: JOKER MARAVILLAS 5270 E COPPER AVE CLOVIS CA 93619
ROCKIN 4H LLC                          OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
ROCKIN M LOGISTICS LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROCKNROLLA TRANSPORT, INC.             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROCKSCAPES                             PO BOX 8321 SASKATOON SK S7K 6C6 CANADA
ROCKSTAR TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROCKSTAR TRANSPORTATION LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ROCKSTARR INC                          OR GEELERS FINANCIAL, 760 E TASMAN DR MILPITAS CA 95035
ROCKSTEADY TRANSPORT LLC               OR CORPORATE BILLING, LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
ROCKVILLE TRANS INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROCKWELL AMERICAN                      5014 CALLAGHAN RD SAN ANTONIO TX 78228
ROCKWELL AUTOMATION                    ATTN: BROOKE STEVEN 1500 PEEBLES DR RICHLAND CENTER WI 53581
ROCKWELL TOWING, INC.                  145 CAROLINA RD ABERDEEN NC 28315
ROCKWELL TRUCK LINE                    11277 COUNTY ROAD 42 TECUMSEH ON N8N0H1 CANADA
ROCKWELL, CLARENCE                     ADDRESS ON FILE
ROCKWELL, HARLAN                       ADDRESS ON FILE
ROCKWELL, JAMES                        ADDRESS ON FILE
ROCKWELL, NOLAN                        ADDRESS ON FILE
ROCKWELL, TERESA                       ADDRESS ON FILE
ROCKWELL, TYRRELL                      ADDRESS ON FILE
ROCKY D DUFF                           ADDRESS ON FILE
ROCKY MOUNTAIN BOTTLED WATER, LLC      7502 S GRANT ST LITTLETON CO 80122
ROCKY MOUNTAIN DRIVELINE, INC.         6295 W. 55TH AVE. ARVADA CO 80002
ROCKY MOUNTAIN EQUIPMENT               5343 COOK ST DENVER CO 80216
ROCKY MOUNTAIN GENERATOR SUPPLY INC    1225 S HURON ST DENVER CO 80223
ROCKY MOUNTAIN MECHANICAL              3412 S WEST TEMPLE SALT LAKE CITY UT 84115
ROCKY MOUNTAIN MECHANICAL              3412 S. WEST TEMPLE SOUTH SALT LAKE UT 84115
ROCKY MOUNTAIN RECYCLING SERVICES      2950 WEST 900 SOUTH SALT LAKE CITY UT 84104
ROCKY MOUNTAIN TRANSPORT INC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ROCKY MOUNTAIN TRUCK CENTER INC        6924 ANTELOPE DRIVE LITTLE AMERICA WY 82929
ROCKY MOUNTAIN TRUCK CENTERS           OF WISCONSIN INC W9284 COUNTY RD CS POYNETTE WI 53955
ROCKY MOUNTAIN TRUCK CENTERS           OF FLAGSTAFF INC 2515 BUTLER AVE. FLAGSTAFF AZ 86004
ROCKY MOUNTAIN WIRE ROPE & RIGGING,    2421 S 2570 W SALT LAKE CITY UT 84119
INC.
ROCKY MOUNTAIN WYNNS                   2300 E. 120TH AVE. STE. 106 THORNTON CO 80233
ROCKY MTN POWER                        1407 W NORTH TEMPLE SALT LAKE CITY UT 84116-3187
ROCKY MTN TRUCK CENTER OF LAMAR        33110 CO RD 7 LAMAR CO 81052
ROCKY MTN TRUCK CENTER OF LAMAR        2800 W. LINCOLN WAY CHEYENNE WY 82001
ROCKY MTN TRUCK CENTERS OF WICHITA INC. 1504 E FIRST STREET NEWTON KS 67114
ROCKY ON TIME TRANSPORT LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                 Page 1623 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1632 of 2156

Claim Name                           Address Information
ROCKY TOP WRECKER SERVICE PLLC       ATTN: CASSIE KILGORE 508 FORSITE AVE MONTEAGLE TN 37356
ROCKY TRUCKING OF BALTIMORE INC      7859 WYNBROOK RD BALTIMORE MD 21224
ROCKYS TRUCK SERVICE & TOWING        1003 RACE ROAD BALTIMORE MD 21221
ROCOS TRUCKING LLC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROCQUEMORE, MICHAEL                  ADDRESS ON FILE
ROCWAY LLC                           1781 LONG POND RD STE 1 ROCHESTER NY 14606-4031
ROD AND EJ TRUCKING LLC              430 E 162ND STREET SUITE 418 SOUTH HOLLAND IL 60473
ROD EDDLEBLUTE TRUCKING & REPAIR     PO BOX 911 MANSFIELD OH 44901
ROD HAULING INC                      OR TAB BANK, PO BOX 150830 OGDEN UT 84415
RODA EXPRESS LOGISTICS LLC           OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RODA, MICHELLE                       ADDRESS ON FILE
RODABAUGH, AARON                     ADDRESS ON FILE
RODABAUGH, RICHARD                   ADDRESS ON FILE
RODAN TRANSPORTATION                 1557 CO RD 1325 EAST CARMI IL 62821
RODARTE, ROBERT                      ADDRESS ON FILE
RODAS TRUCKING LLC                   6169 N WINCHESTER AVE APT B CHICAGO IL 60660
RODAS, MARLON                        ADDRESS ON FILE
RODDA PAINT                          6107 N MARINE DR PORTLAND OR 97203
RODDA PAINT                          106 E FRANCIS AVE SPOKANE WA 99208
RODDA PAINT COMPANY                  1211 COURT ST MEDFORD OR 97501
RODDY, JEROME                        ADDRESS ON FILE
RODDY, MATTHEW W                     ADDRESS ON FILE
RODE, JEFFERY                        ADDRESS ON FILE
RODELA, DAVID                        ADDRESS ON FILE
RODEMEIER, JOSEPH                    ADDRESS ON FILE
RODENMAYER, CURT                     ADDRESS ON FILE
RODER, RICK                          ADDRESS ON FILE
RODERICK ROAN                        ADDRESS ON FILE
RODERICK, LARRY                      ADDRESS ON FILE
RODERIQUEZ, SUJAL                    ADDRESS ON FILE
RODGER THOUSAND LANGDON LLC          OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
RODGERS, BENNY                       ADDRESS ON FILE
RODGERS, CHRISTOPHER                 ADDRESS ON FILE
RODGERS, DEMARCUS                    ADDRESS ON FILE
RODGERS, DON                         ADDRESS ON FILE
RODGERS, DONNELL                     ADDRESS ON FILE
RODGERS, EMMETT                      ADDRESS ON FILE
RODGERS, GREGORY                     ADDRESS ON FILE
RODGERS, JASON                       ADDRESS ON FILE
RODGERS, MARK                        ADDRESS ON FILE
RODGERS, RICHARD                     ADDRESS ON FILE
RODGERS, RODGER                      ADDRESS ON FILE
RODGERS, RONALD                      ADDRESS ON FILE
RODMAN, COREY                        ADDRESS ON FILE
RODMAN, JOHN                         ADDRESS ON FILE
RODNEY A HILL                        ADDRESS ON FILE
RODNEY BARROW                        ADDRESS ON FILE
RODNEY E ZEMKE                       ADDRESS ON FILE
RODNEY EGGERS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1624 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1633 of 2156

Claim Name                             Address Information
RODNEY HARRIS TRUCKING LLC             OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
RODNEY J HORNE                         ADDRESS ON FILE
RODNEY S FEATHERS                      ADDRESS ON FILE
RODNEY SCHILLING                       ADDRESS ON FILE
RODOLFO MANCILLA                       ADDRESS ON FILE
RODOLFO RAMOS                          ADDRESS ON FILE
RODRAE TRANSPORT LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RODRIGUE, STEPHANE                     ADDRESS ON FILE
RODRIGUES, EDUARDO                     ADDRESS ON FILE
RODRIGUES, MICHAEL                     ADDRESS ON FILE
RODRIGUEZ AGUILAR, JOSE                ADDRESS ON FILE
RODRIGUEZ ARZU, GLENFORD               ADDRESS ON FILE
RODRIGUEZ EXPEDITED FREIGHT SYSTEMS,   9400 PELHAM ROAD 9400 PELHAM ROAD TAYLOR MI 48180
INC
RODRIGUEZ EXPRESS                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
RODRIGUEZ EXPRESS LLC                  OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
RODRIGUEZ HERNANDEZ, ARMANDO           ADDRESS ON FILE
RODRIGUEZ JR, HUMBERTO                 ADDRESS ON FILE
RODRIGUEZ MORALES, MARIO               ADDRESS ON FILE
RODRIGUEZ PEREZ, KARINA                ADDRESS ON FILE
RODRIGUEZ ROMAN, ELI                   ADDRESS ON FILE
RODRIGUEZ RONDON, DEYBIS               ADDRESS ON FILE
RODRIGUEZ TRANSPORTATION               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RODRIGUEZ TRUCKING (CA 0551560)        OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
RODRIGUEZ VILLARREAL, REYNOLD          ADDRESS ON FILE
RODRIGUEZ, ADAM                        ADDRESS ON FILE
RODRIGUEZ, AGUSTIN                     ADDRESS ON FILE
RODRIGUEZ, AILEEN                      ADDRESS ON FILE
RODRIGUEZ, ALBERT D                    ADDRESS ON FILE
RODRIGUEZ, ALEJANDRO                   ADDRESS ON FILE
RODRIGUEZ, ALEX                        ADDRESS ON FILE
RODRIGUEZ, ALEX                        ADDRESS ON FILE
RODRIGUEZ, ALEX                        ADDRESS ON FILE
RODRIGUEZ, ALEXANDER                   ADDRESS ON FILE
RODRIGUEZ, ALEXANDER                   ADDRESS ON FILE
RODRIGUEZ, ALEXIS                      ADDRESS ON FILE
RODRIGUEZ, ALLEN                       ADDRESS ON FILE
RODRIGUEZ, ALVARO                      ADDRESS ON FILE
RODRIGUEZ, ALVARO                      ADDRESS ON FILE
RODRIGUEZ, AMERICA                     ADDRESS ON FILE
RODRIGUEZ, ANDREAS                     ADDRESS ON FILE
RODRIGUEZ, ANDY                        ADDRESS ON FILE
RODRIGUEZ, ANGEL                       ADDRESS ON FILE
RODRIGUEZ, ANGEL                       ADDRESS ON FILE
RODRIGUEZ, ANTONIO                     ADDRESS ON FILE
RODRIGUEZ, ARAMIS                      ADDRESS ON FILE
RODRIGUEZ, ARMANDO                     ADDRESS ON FILE
RODRIGUEZ, ASHLEE                      ADDRESS ON FILE
RODRIGUEZ, ASHLEE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1625 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1634 of 2156

Claim Name                           Address Information
RODRIGUEZ, BERNARDO                  ADDRESS ON FILE
RODRIGUEZ, BRANDON                   ADDRESS ON FILE
RODRIGUEZ, BRENDA                    ADDRESS ON FILE
RODRIGUEZ, BRIAN                     ADDRESS ON FILE
RODRIGUEZ, CANDICE                   ADDRESS ON FILE
RODRIGUEZ, CARLOS                    ADDRESS ON FILE
RODRIGUEZ, CARLOS                    ADDRESS ON FILE
RODRIGUEZ, CESAR                     ADDRESS ON FILE
RODRIGUEZ, CHRISTOPHER               ADDRESS ON FILE
RODRIGUEZ, DAMIAN                    ADDRESS ON FILE
RODRIGUEZ, DANIEL                    ADDRESS ON FILE
RODRIGUEZ, DANIEL                    ADDRESS ON FILE
RODRIGUEZ, DARLENE                   ADDRESS ON FILE
RODRIGUEZ, DAVID                     ADDRESS ON FILE
RODRIGUEZ, DAVID                     ADDRESS ON FILE
RODRIGUEZ, DIOENES                   ADDRESS ON FILE
RODRIGUEZ, EDUARDO                   ADDRESS ON FILE
RODRIGUEZ, EDWIN                     ADDRESS ON FILE
RODRIGUEZ, EDWIN                     ADDRESS ON FILE
RODRIGUEZ, ELIZABETH                 ADDRESS ON FILE
RODRIGUEZ, ELOISA                    ADDRESS ON FILE
RODRIGUEZ, ENRIQUE                   ADDRESS ON FILE
RODRIGUEZ, ERIC                      ADDRESS ON FILE
RODRIGUEZ, ERIC                      ADDRESS ON FILE
RODRIGUEZ, ESTEBAN                   ADDRESS ON FILE
RODRIGUEZ, EVA M                     ADDRESS ON FILE
RODRIGUEZ, EVARISTO M                ADDRESS ON FILE
RODRIGUEZ, FELIX                     ADDRESS ON FILE
RODRIGUEZ, FRANCISCO                 ADDRESS ON FILE
RODRIGUEZ, FRANK                     ADDRESS ON FILE
RODRIGUEZ, FRANK                     ADDRESS ON FILE
RODRIGUEZ, FREDY                     ADDRESS ON FILE
RODRIGUEZ, GABRIEL                   ADDRESS ON FILE
RODRIGUEZ, GALINDO                   ADDRESS ON FILE
RODRIGUEZ, GEORGE                    ADDRESS ON FILE
RODRIGUEZ, GERARDO                   ADDRESS ON FILE
RODRIGUEZ, HENRY                     ADDRESS ON FILE
RODRIGUEZ, HORTENCIA                 ADDRESS ON FILE
RODRIGUEZ, HUGO                      ADDRESS ON FILE
RODRIGUEZ, ISAIAH                    ADDRESS ON FILE
RODRIGUEZ, IVELISE                   ADDRESS ON FILE
RODRIGUEZ, J                         ADDRESS ON FILE
RODRIGUEZ, JACOB                     ADDRESS ON FILE
RODRIGUEZ, JAIME                     ADDRESS ON FILE
RODRIGUEZ, JASHUA                    ADDRESS ON FILE
RODRIGUEZ, JAVIER                    ADDRESS ON FILE
RODRIGUEZ, JEANETTE                  ADDRESS ON FILE
RODRIGUEZ, JESAEL                    ADDRESS ON FILE
RODRIGUEZ, JESSE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1626 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1635 of 2156

Claim Name                          Address Information
RODRIGUEZ, JESSIE                   ADDRESS ON FILE
RODRIGUEZ, JOHN                     ADDRESS ON FILE
RODRIGUEZ, JONATHAN                 ADDRESS ON FILE
RODRIGUEZ, JORGE                    ADDRESS ON FILE
RODRIGUEZ, JORGE                    ADDRESS ON FILE
RODRIGUEZ, JORGE                    ADDRESS ON FILE
RODRIGUEZ, JORGE                    ADDRESS ON FILE
RODRIGUEZ, JOSE                     ADDRESS ON FILE
RODRIGUEZ, JOSE                     ADDRESS ON FILE
RODRIGUEZ, JOSE                     ADDRESS ON FILE
RODRIGUEZ, JOSE                     ADDRESS ON FILE
RODRIGUEZ, JOSE                     ADDRESS ON FILE
RODRIGUEZ, JOSE                     ADDRESS ON FILE
RODRIGUEZ, JOSE L                   ADDRESS ON FILE
RODRIGUEZ, JOSEPH                   ADDRESS ON FILE
RODRIGUEZ, JUAN                     ADDRESS ON FILE
RODRIGUEZ, JUAN                     ADDRESS ON FILE
RODRIGUEZ, JUAN                     ADDRESS ON FILE
RODRIGUEZ, JUAN                     ADDRESS ON FILE
RODRIGUEZ, JUAN                     ADDRESS ON FILE
RODRIGUEZ, JUAN                     ADDRESS ON FILE
RODRIGUEZ, JUAN A                   ADDRESS ON FILE
RODRIGUEZ, JUAN C                   ADDRESS ON FILE
RODRIGUEZ, JUAN CARLOS              ADDRESS ON FILE
RODRIGUEZ, JULIA                    ADDRESS ON FILE
RODRIGUEZ, JULIAN                   ADDRESS ON FILE
RODRIGUEZ, JULIAN                   ADDRESS ON FILE
RODRIGUEZ, JULIO                    ADDRESS ON FILE
RODRIGUEZ, KENNETH                  ADDRESS ON FILE
RODRIGUEZ, KENNETH                  ADDRESS ON FILE
RODRIGUEZ, KEVIN                    ADDRESS ON FILE
RODRIGUEZ, KIM                      ADDRESS ON FILE
RODRIGUEZ, LAURA                    ADDRESS ON FILE
RODRIGUEZ, LISANDY                  ADDRESS ON FILE
RODRIGUEZ, LUCIA                    ADDRESS ON FILE
RODRIGUEZ, LUIS                     ADDRESS ON FILE
RODRIGUEZ, LUIS                     ADDRESS ON FILE
RODRIGUEZ, LUIS                     ADDRESS ON FILE
RODRIGUEZ, LUIS                     ADDRESS ON FILE
RODRIGUEZ, LUIS                     ADDRESS ON FILE
RODRIGUEZ, LUIS R                   ADDRESS ON FILE
RODRIGUEZ, LUIS R                   ADDRESS ON FILE
RODRIGUEZ, MANUEL                   ADDRESS ON FILE
RODRIGUEZ, MANUEL                   ADDRESS ON FILE
RODRIGUEZ, MARIO                    ADDRESS ON FILE
RODRIGUEZ, MARIO                    ADDRESS ON FILE
RODRIGUEZ, MARK                     ADDRESS ON FILE
RODRIGUEZ, MARTIN                   ADDRESS ON FILE
RODRIGUEZ, MARVIN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1627 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1636 of 2156

Claim Name                          Address Information
RODRIGUEZ, MATTHEW                  ADDRESS ON FILE
RODRIGUEZ, MELISSA                  ADDRESS ON FILE
RODRIGUEZ, MELISSA                  ADDRESS ON FILE
RODRIGUEZ, MICHAEL                  ADDRESS ON FILE
RODRIGUEZ, MICHAEL                  ADDRESS ON FILE
RODRIGUEZ, MIRAZEL                  ADDRESS ON FILE
RODRIGUEZ, NELSON                   ADDRESS ON FILE
RODRIGUEZ, NERY                     ADDRESS ON FILE
RODRIGUEZ, NICHOLAS                 ADDRESS ON FILE
RODRIGUEZ, OSCAR                    ADDRESS ON FILE
RODRIGUEZ, OSCAR                    ADDRESS ON FILE
RODRIGUEZ, PABLO                    ADDRESS ON FILE
RODRIGUEZ, PEDRO                    ADDRESS ON FILE
RODRIGUEZ, RAMON                    ADDRESS ON FILE
RODRIGUEZ, RAUDIN                   ADDRESS ON FILE
RODRIGUEZ, RAUDIN                   ADDRESS ON FILE
RODRIGUEZ, RAUL                     ADDRESS ON FILE
RODRIGUEZ, RAUL                     ADDRESS ON FILE
RODRIGUEZ, RAUL                     ADDRESS ON FILE
RODRIGUEZ, RENATO                   ADDRESS ON FILE
RODRIGUEZ, RENE                     ADDRESS ON FILE
RODRIGUEZ, REYMUNDO                 ADDRESS ON FILE
RODRIGUEZ, REYMUNDO                 ADDRESS ON FILE
RODRIGUEZ, RICARDO                  ADDRESS ON FILE
RODRIGUEZ, RICHARD                  ADDRESS ON FILE
RODRIGUEZ, RICHARD                  ADDRESS ON FILE
RODRIGUEZ, RICHARD                  ADDRESS ON FILE
RODRIGUEZ, ROBERT                   ADDRESS ON FILE
RODRIGUEZ, ROBERT                   ADDRESS ON FILE
RODRIGUEZ, ROBERT                   ADDRESS ON FILE
RODRIGUEZ, RODRIGO                  ADDRESS ON FILE
RODRIGUEZ, ROSALIE                  ADDRESS ON FILE
RODRIGUEZ, RUBEN                    ADDRESS ON FILE
RODRIGUEZ, RUBEN R                  ADDRESS ON FILE
RODRIGUEZ, RUBEN R                  ADDRESS ON FILE
RODRIGUEZ, RUDY                     ADDRESS ON FILE
RODRIGUEZ, RUEBEN                   ADDRESS ON FILE
RODRIGUEZ, SALVADOR                 ADDRESS ON FILE
RODRIGUEZ, SANTIAGO                 ADDRESS ON FILE
RODRIGUEZ, SERGIO                   ADDRESS ON FILE
RODRIGUEZ, SHIRLEY                  ADDRESS ON FILE
RODRIGUEZ, STEVEN                   ADDRESS ON FILE
RODRIGUEZ, STEVEN                   ADDRESS ON FILE
RODRIGUEZ, TANIS                    ADDRESS ON FILE
RODRIGUEZ, TEILEN                   ADDRESS ON FILE
RODRIGUEZ, TIFFANY                  ADDRESS ON FILE
RODRIGUEZ, VANESSA                  ADDRESS ON FILE
RODRIGUEZ, VICENTE                  ADDRESS ON FILE
RODRIGUEZ, VICTOR                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1628 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1637 of 2156

Claim Name                           Address Information
RODRIGUEZ, VICTOR I                  ADDRESS ON FILE
RODRIGUEZ, VIDAL                     ADDRESS ON FILE
RODRIGUEZ, WILLIAM                   ADDRESS ON FILE
RODRIGUEZ, XAVIER                    ADDRESS ON FILE
RODRIGUEZ, YATZIRY                   ADDRESS ON FILE
RODRIGUEZ, YOLANDA                   ADDRESS ON FILE
RODRIGUEZ-CASTANEDA, VICTOR          ADDRESS ON FILE
RODRIGUEZ-TELLEZ, JESUS              ADDRESS ON FILE
RODRIQUEZ FREIGHT HANDLERS LLC       1284 VALLEY VIEW CT NW GRAND RAPIDS MI 49544
RODRIQUEZ, FALCONEDY                 ADDRESS ON FILE
RODRIQUEZ, FALCONEDY                 ADDRESS ON FILE
RODRIQUEZ, JOSE                      ADDRESS ON FILE
RODRIQUEZ, SAUL                      ADDRESS ON FILE
RODS TOWING & SERVICE LLC            W4066 HWY G MERRILL WI 54452
RODWAY, CALVIN                       ADDRESS ON FILE
RODWAY, CALVIN W                     ADDRESS ON FILE
RODY LOGISTICS LLC                   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RODY TRUCKING LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RODY, RICHARD                        ADDRESS ON FILE
ROE, DAVID                           ADDRESS ON FILE
ROE, RICHARD                         ADDRESS ON FILE
ROE, SHANE                           ADDRESS ON FILE
ROE, THOMAS                          ADDRESS ON FILE
ROEBIC LABORATORIES                  PO BOX 927 25 CONNAIR ORANGE CT 06477
ROEBIC LABORATORIES INC              25 CONNAIR RD PO BOX 927 ORANGE CT 06477
ROEBIC LABORATORIES INC              ATTN: ALEXA 25 CONNAIR PO BOX 927 ORANGE CT 06477
ROEBIC LABORATORIES INC              ATTN: ALEXA 25 CONNAIR RD PO BOX 927 ORANGE CT 06477
ROEBUCK, ANDREI M                    ADDRESS ON FILE
ROEBUCK, JAMES                       ADDRESS ON FILE
ROEHM AMERICA LLC                    ACCOUNTS PAYABLE MANAGER 299 JEFFERSON ROAD PARSIPPANY NJ 07054
ROELEN, PATRICK                      ADDRESS ON FILE
ROELL, CRISTINA                      ADDRESS ON FILE
ROEMER WAY LLC                       1328 MADONNA RD SAN LUIS OBISPO CA 93405
ROEMER WAY LLC                       ATTN: BRENDA BENNINGHOFF C/O R. POLTL & ASSOCIATES, INC. 1328 MADONNA RD SAN
                                     LUIS OBISPO CA 93405
ROEMER, JESSE F                      ADDRESS ON FILE
ROEMER, JESSE F                      ADDRESS ON FILE
ROEPER, CAROL                        ADDRESS ON FILE
ROESCH, CHRISTIAN                    ADDRESS ON FILE
ROESCH, ELIZABETH                    ADDRESS ON FILE
ROETS, DAVID                         ADDRESS ON FILE
ROETTGER, PETE                       ADDRESS ON FILE
ROETZEL AND ANDRESS LPA              222 SOUTH MAIN STREET AKRON OH 44308
ROETZER, AHTZIRI                     ADDRESS ON FILE
ROETZER, NEILANY                     ADDRESS ON FILE
ROEY, RICKY                          ADDRESS ON FILE
ROGALA, CHERI                        ADDRESS ON FILE
ROGAR LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROGELIO BERNAL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1629 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1638 of 2156

Claim Name                            Address Information
ROGER ALBERTO TRANSPORT COMPANY LLC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROGER BIBLE - KN                      ADDRESS ON FILE
ROGER CARNEY PLUMBING                 15 BEAVER ST HUMEVILLE PA 19047
ROGER D MOORE                         ADDRESS ON FILE
ROGER D ROMANS                        ADDRESS ON FILE
ROGER E WELCH JR                      ADDRESS ON FILE
ROGER ELD                             ADDRESS ON FILE
ROGER EVAN FOX, M.D.                  ADDRESS ON FILE
ROGER L FROGGE                        ADDRESS ON FILE
ROGER S TRUSHKOV                      ADDRESS ON FILE
ROGER SCHOTT                          ADDRESS ON FILE
ROGER W CHOATE                        ADDRESS ON FILE
ROGER W SCHOENING                     ADDRESS ON FILE
ROGERS AND RAMSEY TRUCKING LLC        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ROGERS BUSINESS SOLUTIONS             PO BOX 2000 STN D SCARBOROUGH ON M1R 5P4 CANADA
ROGERS COMMUNICATIONS CANADA INC      PO BOX 9100 DON MILLS ON M3C 3P9 CANADA
ROGERS DEDICATED SERVICES             5101 FULTON INDUSTRIAL BLVD ATLANTA GA 30336
ROGERS MACHINERY COMPANY INC          PO BOX 230429 PORTLAND OR 97281
ROGERS MANUFACTURING COMPANY          ATTN: AMY ERNE 72 MAIN ST ROCKFALL CT 06481
ROGERS RADIATOR, INC.                 389 RIVERSIDE AVE. MEDFORD MA 02155
ROGERS TRANSPORT INC                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
ROGERS TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROGERS TRUCKING AND HAULING LLC       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROGERS TRUCKING, INC.                 PO BOX 271 COLUMBIA KY 42728
ROGERS WIRELESS                       PO BOX 2000 STN D C.P. 2000 SUCC.D SCARBOROUGH ON M1R 5P4 CANADA
ROGERS WIRELESS                       1420 ISLAND HWY, UNIT 149 CAMPBELL RIVER BC V9W 8C9 CANADA
ROGERS, ALTON                         ADDRESS ON FILE
ROGERS, ANTHONY                       ADDRESS ON FILE
ROGERS, CALVIN                        ADDRESS ON FILE
ROGERS, CARTHER                       ADDRESS ON FILE
ROGERS, CHRISTOPHER                   ADDRESS ON FILE
ROGERS, COREY                         ADDRESS ON FILE
ROGERS, CORINETT                      ADDRESS ON FILE
ROGERS, DALIYAH KRESHAUN              ADDRESS ON FILE
ROGERS, DALIYAH KRESHAUN              ADDRESS ON FILE
ROGERS, DARRELL                       ADDRESS ON FILE
ROGERS, DAVID                         ADDRESS ON FILE
ROGERS, DAVID A                       ADDRESS ON FILE
ROGERS, DAVID A                       ADDRESS ON FILE
ROGERS, DENNIS                        ADDRESS ON FILE
ROGERS, DENNIS                        ADDRESS ON FILE
ROGERS, DESMOND                       ADDRESS ON FILE
ROGERS, DONALD                        ADDRESS ON FILE
ROGERS, FERNANDO                      ADDRESS ON FILE
ROGERS, GLYN                          ADDRESS ON FILE
ROGERS, GREGORY                       ADDRESS ON FILE
ROGERS, JAMES                         ADDRESS ON FILE
ROGERS, JAMES                         ADDRESS ON FILE
ROGERS, JAMES                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1630 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1639 of 2156

Claim Name                           Address Information
ROGERS, JAMES                        ADDRESS ON FILE
ROGERS, JERRY                        ADDRESS ON FILE
ROGERS, JOEL                         ADDRESS ON FILE
ROGERS, JOHN                         ADDRESS ON FILE
ROGERS, JOHN                         ADDRESS ON FILE
ROGERS, JOHN                         ADDRESS ON FILE
ROGERS, JOHN                         ADDRESS ON FILE
ROGERS, JONATHON                     ADDRESS ON FILE
ROGERS, JOSEPH                       ADDRESS ON FILE
ROGERS, KADARIUS                     ADDRESS ON FILE
ROGERS, KEVIN                        ADDRESS ON FILE
ROGERS, KIAA                         ADDRESS ON FILE
ROGERS, KIRK                         ADDRESS ON FILE
ROGERS, LANDON                       ADDRESS ON FILE
ROGERS, LARRY                        ADDRESS ON FILE
ROGERS, LILIAH                       ADDRESS ON FILE
ROGERS, LINDSEY M                    ADDRESS ON FILE
ROGERS, LINDSEY M                    ADDRESS ON FILE
ROGERS, LONNELLE                     ADDRESS ON FILE
ROGERS, LUCY                         ADDRESS ON FILE
ROGERS, MARK                         ADDRESS ON FILE
ROGERS, MARK D                       ADDRESS ON FILE
ROGERS, MARQUITA                     ADDRESS ON FILE
ROGERS, MATTHEW                      ADDRESS ON FILE
ROGERS, MELVIN                       ADDRESS ON FILE
ROGERS, MELVIN                       ADDRESS ON FILE
ROGERS, MICHAEL                      ADDRESS ON FILE
ROGERS, MICHAEL                      ADDRESS ON FILE
ROGERS, MICHAEL S                    ADDRESS ON FILE
ROGERS, PATRICIA                     ADDRESS ON FILE
ROGERS, QUINCY                       ADDRESS ON FILE
ROGERS, RATU RAISAMU                 ADDRESS ON FILE
ROGERS, RAWN                         ADDRESS ON FILE
ROGERS, RAYKWON                      ADDRESS ON FILE
ROGERS, RONALD                       ADDRESS ON FILE
ROGERS, RONALD                       ADDRESS ON FILE
ROGERS, SAMUEL                       ADDRESS ON FILE
ROGERS, SARAH                        ADDRESS ON FILE
ROGERS, SCOTT                        ADDRESS ON FILE
ROGERS, SCOTT                        ADDRESS ON FILE
ROGERS, SEMIRAMIS                    ADDRESS ON FILE
ROGERS, SHAUN                        ADDRESS ON FILE
ROGERS, THOMAS                       ADDRESS ON FILE
ROGERS, THOMAS                       ADDRESS ON FILE
ROGERS, THOMAS                       ADDRESS ON FILE
ROGERS, TOMMY                        ADDRESS ON FILE
ROGERS, WILLIAM                      ADDRESS ON FILE
ROGGE, DANIEL                        ADDRESS ON FILE
ROGGEN, RALPH                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1631 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1640 of 2156

Claim Name                            Address Information
ROGHAIR, TERRY                        ADDRESS ON FILE
ROGOSKI, SELENA                       ADDRESS ON FILE
ROGOW, ROBERT                         ADDRESS ON FILE
ROGOYSKI, FRANK                       ADDRESS ON FILE
ROGUE BREWERY.                        2320 SE OSU DR NEWPORT OR 97365
ROGUE CARRIER INC                     1312 MARQUETTE DR UNIT E ROMEOVILLE IL 60446
ROGUE METALS & SUPPLY                 7130 CRATER LAKE HWY WHITE CITY OR 97503
ROGUE PROPERTY MAINTENANCE SERVICES   7129 SW 196TH TERACE BEAVERTON OR 97007
ROGUE VALLEY DOOR INC                 PO BOX 2757 GRANTS PASS OR 97528
ROGUE VALLEY DUST CONTROL             2737 HOWARD AVENUE MEDFORD OR 97501
ROH CONSTRUCTION LLC                  1721 LAKEVIEW DR TOMAH WI 54660
ROH TRANSPORT LLC                     175 CLEVELAND AVENUE HARTFORD CT 06120
ROHA TRUCKING LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
ROHAN, ALEXANDER                      ADDRESS ON FILE
ROHBECK, MATTHEW                      ADDRESS ON FILE
ROHDE, MATHEW L                       ADDRESS ON FILE
ROHDE, SARAH                          ADDRESS ON FILE
ROHE, DONALD                          ADDRESS ON FILE
ROHE, RICHARD                         ADDRESS ON FILE
ROHI TRANS LLC                        OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ROHLAND, JENELLE                      ADDRESS ON FILE
ROHLIG USA LLC                        PAM LAPAGLIA, 1601 ESTES AVE ELK GROVE VILLAGE IL 60007
ROHLMAN, CHRISTOPHER                  ADDRESS ON FILE
ROHNO EXPRESS LTD                     OR IPS INVOICE PAYMENT SYSTEM PO BOX 77226 MISSISSAUGA ON L5T 2P4 CANADA
ROHO DELIVERS COM LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ROHR GASOLINE EQUIPMENT, INC.         8549 CENTRE INDUSTRIAL DRIVE BYRON CENTER MI 49315
ROHR, BRAD                            ADDRESS ON FILE
ROHR, GARY B                          ADDRESS ON FILE
ROHRABAUGH, TODD                      ADDRESS ON FILE
ROHRBACH, ERIC                        ADDRESS ON FILE
ROHRBACH, JOANNE                      ADDRESS ON FILE
ROHRBACH, JOHN                        ADDRESS ON FILE
ROI, WILLIAM                          ADDRESS ON FILE
ROIG LOGISTICS CO                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ROIZ RODRIGUEZ, JIESI                 ADDRESS ON FILE
ROJA, MARTIN                          ADDRESS ON FILE
ROJAS LOGISTICS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROJAS SOTO, VICTOR                    ADDRESS ON FILE
ROJAS TRANSPORT INC                   PO BOX 517 BIG BEAR LAKE CA 92315
ROJAS TRANSPORTATIONS LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ROJAS, ALBERT                         ADDRESS ON FILE
ROJAS, ARMANDO                        ADDRESS ON FILE
ROJAS, CESAR                          ADDRESS ON FILE
ROJAS, ELIECER                        ADDRESS ON FILE
ROJAS, EMMANUEL                       ADDRESS ON FILE
ROJAS, GABRIELLE                      ADDRESS ON FILE
ROJAS, GONZALO                        ADDRESS ON FILE
ROJAS, GONZALO                        ADDRESS ON FILE
ROJAS, HUMBERTO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1632 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1641 of 2156

Claim Name                           Address Information
ROJAS, JASON                         ADDRESS ON FILE
ROJAS, JONATHAN                      ADDRESS ON FILE
ROJAS, JOSE                          ADDRESS ON FILE
ROJAS, OMAR                          ADDRESS ON FILE
ROJAS, SAMUEL                        ADDRESS ON FILE
ROJAS, SERGIO                        ADDRESS ON FILE
ROJAS-CABRERA, LUIS                  ADDRESS ON FILE
ROJAS-JIMENEZ, CARLOS G              ADDRESS ON FILE
ROKAN, GERALD                        ADDRESS ON FILE
ROKAS COMPANY                        PO BOX 689 ADEL GA 31620
ROKOSZ, DOMINIC                      ADDRESS ON FILE
ROKOSZ, JAROMIR                      ADDRESS ON FILE
ROKUSEK, JEREMY                      ADDRESS ON FILE
ROL TECH                             62 ELM ST FORT LORAMIE OH 45845
ROLAND AND SONS TRUCKING LLC         OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
ROLAND BOURBONNAIS LTEE              ADDRESS ON FILE
ROLAND LOGISTICS INC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROLAND TERWILLIGER                   ADDRESS ON FILE
ROLAND TRANSPORT, INC.               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ROLAND TRUCKING LLC                  OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ROLDAN EXPEDITED SERVICES INC        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ROLDAN MIDSTREAM SVCS                OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
ROLDANS TRUCK COMPANY LLC            OR COMFREIGHT, 65 PINE AVE STE 853 LONG BEACH CA 90802
ROLE TRANS LLC                       OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ROLE TRANS LLC                       2153 SW ELK LN GRESHAM OR 97080
ROLE, CODY                           ADDRESS ON FILE
ROLEM LLC                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROLES, CHRISTOPHER                   ADDRESS ON FILE
ROLESA TRANSPORT LLC                 5220 S EXPY281 EDINBURG TX 78542
ROLF, RONALD                         ADDRESS ON FILE
ROLFSON, JOSHUA                      ADDRESS ON FILE
ROLFSON, KENNETH                     ADDRESS ON FILE
ROLINE EXPRESS INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ROLINE EXPRESS INC                   23421 SOUTH POINTE DR STE 100 LAGUNA HILLS CA 92653
ROLING LOGISTICS INC                 1719 N VERDE AVE ARLINGTON HEIGHTS IL 60004
ROLISON, HEATHER                     ADDRESS ON FILE
ROLKIS TRUCKING INC                  16402 HIDDEN RIVER CIR PLAINFIELD IL 60586
ROLL 'N' RITE DOORS, INC             51 COFFEEN AVE. SUITE 101-296 SHERIDAN WY 82801
ROLL EASY DOOR COMPANY               2922 TERRANCE KANSAS CITY MO 64108
ROLL GO TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROLL IN ROYAL TRUCKING LLC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROLL, DAVID                          ADDRESS ON FILE
ROLLANS, MICHAEL W                   ADDRESS ON FILE
ROLLE RUNNERS TRANSPORT LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROLLE, TED                           ADDRESS ON FILE
ROLLED ALLOYS INCORPORATED           125 W STERNS RD TEMPERANCE MI 48182
ROLLEN, ROOSEVELT                    ADDRESS ON FILE
ROLLER EXPRESS INC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROLLER, CHRISTINE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1633 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1642 of 2156

Claim Name                            Address Information
ROLLER, CRAIG                         ADDRESS ON FILE
ROLLER, THOMAS D                      ADDRESS ON FILE
ROLLETT, CHRISTOPHER                  ADDRESS ON FILE
ROLLETT, CHRISTOPHER A                ADDRESS ON FILE
ROLLETT, CHRISTOPHER A                ADDRESS ON FILE
ROLLIN TRANSPORT LLC                  3885 PIONEER RD PO BOX 7 RICHFIELD WI 53076
ROLLING BROTHERS TRANSPORTATION INC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROLLING DAWG TRANSPORT                OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ROLLING HARD TRUCKING                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROLLING RASPBERRY INC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROLLING TRUCKS LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROLLING WITH RAYMOND LLC              OR CARRIERNET GROUP FINANCIA PO BOX 1130 SIOUX FALLS SD 57101
ROLLINGER, KARIN                      ADDRESS ON FILE
ROLLINS, AARON                        ADDRESS ON FILE
ROLLINS, CLARENCE                     ADDRESS ON FILE
ROLLINS, COREY                        ADDRESS ON FILE
ROLLINS, DARREN                       ADDRESS ON FILE
ROLLINS, JEFFREY D                    ADDRESS ON FILE
ROLLISON, CHRISTOPHER                 ADDRESS ON FILE
ROLLO, DONALD F                       ADDRESS ON FILE
ROLLO, DONALD F                       ADDRESS ON FILE
ROLLOUT TRUCKING LLC                  OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320
ROLLS ROYCE SOLUTIONS AMERICA INC     ATTN: DAN GABON 39525 MACKENZIE DRIVE NOVI MI 48377
ROLLS-ROYCE SOLUTIONS AMERICA INC     39525 MACKENZIE DRIVE NOVI MI 48377
ROLSTON, JOHN                         ADDRESS ON FILE
ROLYNNS TRANSFER INC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ROM TRANS INC                         OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
ROMA LOGISTICS GROUP INC              OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
ROMA TRAILER REPAIR                   20052 VISTA DEL LAGO PERRIS CA 92570
ROMA TRAILER REPAIR                   1517 ALMOND DR. PERRIS CA 92571
ROMA TRUCKING LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ROMAIN FINANCIAL SVCS LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROMAN & SONS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROMAN FREIGHT LINES                   OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ROMAN FREIGHT LINES                   DBA REVO FREIGHT INC, 11014 19TH AVE SE EVERETT WA 98208
ROMAN HR                              OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
ROMAN TRANSFER CORPORATION            94 WINDELER RD HOWELL NJ 07731
ROMAN TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROMAN, ALEXANDER                      ADDRESS ON FILE
ROMAN, ANTHONY                        ADDRESS ON FILE
ROMAN, CAESAR                         ADDRESS ON FILE
ROMAN, CHRISTINE                      ADDRESS ON FILE
ROMAN, CHRISTOPHER                    ADDRESS ON FILE
ROMAN, CHRISTOPHER                    ADDRESS ON FILE
ROMAN, CHRISTOPHER                    ADDRESS ON FILE
ROMAN, EDDY                           ADDRESS ON FILE
ROMAN, GIAN                           ADDRESS ON FILE
ROMAN, JONATHAN                       ADDRESS ON FILE
ROMAN, JOSE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1634 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1643 of 2156

Claim Name                           Address Information
ROMAN, LUIS                          ADDRESS ON FILE
ROMAN, NADINE                        ADDRESS ON FILE
ROMAN, NADINE                        ADDRESS ON FILE
ROMAN, URIEL                         ADDRESS ON FILE
ROMAN, XAVIER                        ADDRESS ON FILE
ROMAN-RABADAN, CRESCENCIO            ADDRESS ON FILE
ROMANCHAK, ANDREW                    ADDRESS ON FILE
ROMANCHAK, ANDREW J                  ADDRESS ON FILE
ROMANELLI, VINCE                     ADDRESS ON FILE
ROMANO, FRANK                        ADDRESS ON FILE
ROMANO, JAMES                        ADDRESS ON FILE
ROMANO, PETE                         ADDRESS ON FILE
ROMANO, WAYNE                        ADDRESS ON FILE
ROMANS WATER INC                     PO BOX 2006 EL CENTRO CA 92244
ROMANS, ALAN                         ADDRESS ON FILE
ROMANS, OWEN                         ADDRESS ON FILE
ROMANSKY, KELLY                      ADDRESS ON FILE
ROMAR ENTERPRISES, INC.              PO BOX 707 WALDEN NY 12586
ROMAR TRUCK REPAIR                   AND MECHANICAL SVCS, INC. 305 COMMERCE DRIVE STE 17 HENRIETTA NY 14623
ROMARK TRANSPORTATION INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROMBERGER, BRENDA                    ADDRESS ON FILE
ROMCARGO TRANSPORTATION LLC          1624 WEST 4270 SOUTH TAYLORSVILLE UT 84123
ROMCO                                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROME, JAMES W                        ADDRESS ON FILE
ROME, MICHAEL J                      ADDRESS ON FILE
ROMELO TRUCKING LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROMEO DIVER CORP                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROMEO, SANDI                         ADDRESS ON FILE
ROMEOVILLE PARTS WAREHOUSE           ATTN: DIANA HERNANDEZ 187 SOUTHCREEK PKWY ROMEOVILLE IL 60446
ROMEOVILLE PARTS WAREHOUSE LEN       ATTN: DIANA M HERNANDEZ 187 SOUTHCREEK PKWY ROMEOVILLE IL 60446
ROMERICA EXPRESS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ROMERO S TRANSPORTATION LLC          OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
ROMERO TRANSPORT INC                 OR BYCO FACTORING CO, 504 AVE H ROSENBERG TX 77471
ROMERO TRUCKING                      47 W CORRELL RD HERBER CA 92249
ROMERO, ADRIAN                       ADDRESS ON FILE
ROMERO, ALFONSO                      ADDRESS ON FILE
ROMERO, ANDREW                       ADDRESS ON FILE
ROMERO, ARMANDO                      ADDRESS ON FILE
ROMERO, BENJAMIN                     ADDRESS ON FILE
ROMERO, CHRISTOPHER P                ADDRESS ON FILE
ROMERO, CRISTOFER                    ADDRESS ON FILE
ROMERO, DAVID                        ADDRESS ON FILE
ROMERO, EDDY                         ADDRESS ON FILE
ROMERO, EDWARD                       ADDRESS ON FILE
ROMERO, ENRIQUE                      ADDRESS ON FILE
ROMERO, GEORGE                       ADDRESS ON FILE
ROMERO, JACOB                        ADDRESS ON FILE
ROMERO, KAREN                        ADDRESS ON FILE
ROMERO, MILTON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1635 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1644 of 2156

Claim Name                           Address Information
ROMERO, PEDRO                        ADDRESS ON FILE
ROMERO, PHILLIP                      ADDRESS ON FILE
ROMERO, RODOLFO                      ADDRESS ON FILE
ROMERO, TEOFILO                      ADDRESS ON FILE
ROMERO, TONY                         ADDRESS ON FILE
ROMERO-OSORTO, MANUEL                ADDRESS ON FILE
ROMEX TRANSPORT INC.                 2550 KIOWA BLVD NORTH, SUITE 202 LAKE HAVASU CITY AZ 86403
ROMEXPRESS INC                       12300 TRISKETT RD CLEVELAND OH 44111
ROMIE LLC                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROMIG, SAMUEL                        ADDRESS ON FILE
ROMIKITIS, CAROLYN                   ADDRESS ON FILE
ROMINE, DONNELL                      ADDRESS ON FILE
ROMINE, JESSE                        ADDRESS ON FILE
ROMINE, MILES                        ADDRESS ON FILE
ROMIOUS, CORTEZ C                    ADDRESS ON FILE
ROMNEY, NIMA                         ADDRESS ON FILE
ROMO, JOSE                           ADDRESS ON FILE
ROMO, LETICIA                        ADDRESS ON FILE
ROMO, MIGUEL                         ADDRESS ON FILE
ROMTEX TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ROMTRANS EXPRESS LLC                 OR PRO FUNDING INC DEPT 3045, PO BOX 1000 MEMPHIS TN 38148-3045
ROMULUS FIRE DEPARTMENT              28777 EUREKA RD ROMULUS MI 48174
RON FRANKLIN                         ADDRESS ON FILE
RON FREIGHT                          12344 PARSIDE CR YUCAIPA CA 92399
RON HUGUS TRUCK SERVICE              211 DOWNIEVILLE RD. VALENCIA PA 16059
RON L DAVIS                          ADDRESS ON FILE
RON R JOHNSON                        ADDRESS ON FILE
RON T LITTLE                         ADDRESS ON FILE
RON VINES TRANSPORT LLC              OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
RONA                                 489 RONA H & G WINNIPEG CENTRAL 1333 SARGENT AVE. WINNIPEG MB R3E 3P8 CANADA
RONALD & ROC LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
RONALD & SONS TRUCKING INC           OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
RONALD ALLEN                         ADDRESS ON FILE
RONALD B DRUMGOOLE                   ADDRESS ON FILE
RONALD E ELAM                        ADDRESS ON FILE
RONALD G FERRELL                     ADDRESS ON FILE
RONALD K BURROWBRIDGE                ADDRESS ON FILE
RONALD K RINGLER                     ADDRESS ON FILE
RONALD L DOTY                        ADDRESS ON FILE
RONALD M DARLING                     ADDRESS ON FILE
RONALD MILLER                        ADDRESS ON FILE
RONALD N GRIGGS                      ADDRESS ON FILE
RONALD N GRIGGS                      ADDRESS ON FILE
RONALD N KLINE                       ADDRESS ON FILE
RONALD P SIESPUTOWSKI                ADDRESS ON FILE
RONALD R COLE                        ADDRESS ON FILE
RONALD R GORDON                      ADDRESS ON FILE
RONALD STEWNER                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1636 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1645 of 2156

Claim Name                           Address Information
RONALD V BENTON                      ADDRESS ON FILE
RONAN ENGINEERING COMPANY            ATTN: KYLER MARSHALL 8050 PRODUCTION DR FLORENCE KY 41042
RONCARATI, CHRIS                     ADDRESS ON FILE
RONCEVIC, PERICA                     ADDRESS ON FILE
RONCO INDUSTRIAL SUPPLY COMPANY      700 FRONTIER WAY BENSENVILLE IL 60106
RONDA K WADE                         ADDRESS ON FILE
RONDA TRANSPORTS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
RONDILLA, DARRYL                     ADDRESS ON FILE
RONE, WILL                           ADDRESS ON FILE
RONE, WILL                           ADDRESS ON FILE
RONEL TRANSPORT INC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
RONEY, ROBERT                        ADDRESS ON FILE
RONGLEY, WILLIAM                     ADDRESS ON FILE
RONGYUN TRUCKING INC                 OR GENERAL BUS. CREDIT 110 E. 9THST, SUITE C-900 LOS ANGELES CA 90079
RONIN FREIGHT LOGISTICS LLC          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
RONKS AUTO & TRUCK TOWING INC        5680 LINCOLN HWY CRESTLINE OH 44827
RONLYN TRANSPORT SVCS LLC            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RONNEBAUM, MICHAEL                   ADDRESS ON FILE
RONNIE EMORY                         ADDRESS ON FILE
RONNIE K GERVER                      ADDRESS ON FILE
RONNIE L DAVIS                       ADDRESS ON FILE
RONQUILLO, ERICK                     ADDRESS ON FILE
RONS 24 HR TOWING                    PO BOX 243 LINCOLN IL 62656
RONS AUTO & WRECKER                  611 W 4TH, PO BOX 1083 GAYLORD MI 49734
RONS IRVING SERVICE INC              PO BOX 177127 IRVING TX 75017
ROOCA TRUCKING LLC                   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
ROOFCO                               10296 US 20 CALDWELL ID 83605
ROOFNEST                             ATTN: NICOLE TUCKE ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL
                                     60654
ROOFNEST ECHO GLOBAL                 ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
ROOFOPTIONS, LLC                     5712 WEATHERSTONE WAY JOHNSBURG IL 60051
ROOHAN, LEE                          ADDRESS ON FILE
ROOK TRANSPORT LLC                   PO BOX 1322 WETUMPKA AL 36092-0024
ROOKER, TROY                         ADDRESS ON FILE
ROOKS, DARNETTA                      ADDRESS ON FILE
ROOKS, VELDON                        ADDRESS ON FILE
ROOKSTOOL, TYLER                     ADDRESS ON FILE
ROONEY, KYLE                         ADDRESS ON FILE
ROONEY, PATRICK                      ADDRESS ON FILE
ROOP UK TRANSPORT INC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROOS, GLENN                          ADDRESS ON FILE
ROOS, MICHAEL                        ADDRESS ON FILE
ROOSEVELT IRRIGATION DISTRICT        ATTN: GENERAL COUNSEL 103 W BASELINE ROAD BUCKEYE AZ 85326
ROOT COMPUTING LLC                   704 S STATE RD 135 STE D344 GREENWOOD IN 46143
ROOT, BEVERLY                        ADDRESS ON FILE
ROOT, DONALD H                       ADDRESS ON FILE
ROOT, GARRY                          ADDRESS ON FILE
ROOTER MAN OC INC                    521 W KATELLA VE ORANGE CA 92867
ROOTERPLUS                           ROOTERPLUS PLUMBING & SEPTIC 5834 BETHELVIEW RD CUMMING GA 30040



Epiq Corporate Restructuring, LLC                                                            Page 1637 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1646 of 2156

Claim Name                            Address Information
ROOTS GOODS CARRIER LTD.              PO BOX 61697 BROOKSWOOD LANGLEY BC V3A 8C8 CANADA
ROOZEE, JAMES                         ADDRESS ON FILE
ROPE TRANSPORT INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROPER, GRANT                          ADDRESS ON FILE
ROPER, KYLEE                          ADDRESS ON FILE
ROPER, MARK                           ADDRESS ON FILE
ROPER, TIM                            ADDRESS ON FILE
ROPER, TIMMY                          ADDRESS ON FILE
ROPERS WAY TRUCKING LLC               OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ROPONEI, MELISA BETHY                 ADDRESS ON FILE
ROPONEI, SOHLANSE                     ADDRESS ON FILE
ROPSHAW, CADE J                       ADDRESS ON FILE
ROPSHAW, CADE J                       ADDRESS ON FILE
ROQUE ENTERPRISE LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ROQUE TRANSPORTATION, LLC             OR LORENZOS TRUCKING LLC 1667 E MONUMENT PLAZA CIRCLE CASA GRANDE AZ 85122
ROQUE, OSBALDO                        ADDRESS ON FILE
ROQUE, SEAN                           ADDRESS ON FILE
ROQUEMORE, RICHARD                    ADDRESS ON FILE
RORA                                  160 KERRY COMMON FREMONT CA 94536
RORAIMA TRANSPORTATION AND SVCS LLC   OR LITTLE MOUNTAIN LOGISTICS LLC DEPT 9912 PO BOX 850001 ORLANDO FL 32885-9912
RORAPAUGH, SCOTT                      ADDRESS ON FILE
RORIE ENTERPRISES LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RORIE, BRIAN                          ADDRESS ON FILE
RORIE, CLARENCE                       ADDRESS ON FILE
RORVALL, PETER                        ADDRESS ON FILE
RORY SCHREIBER                        ADDRESS ON FILE
ROS, DOMINICK                         ADDRESS ON FILE
ROS, JIM                              ADDRESS ON FILE
ROSA TRUCK SVCS INC                   OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195
ROSA TRUCKING LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ROSA, CHRISTOPHER                     ADDRESS ON FILE
ROSA, DANIEL                          ADDRESS ON FILE
ROSA, JOHAN                           ADDRESS ON FILE
ROSA, LISA                            ADDRESS ON FILE
ROSA, LUIS A                          ADDRESS ON FILE
ROSA, RANDAL                          ADDRESS ON FILE
ROSADIO, CLINT                        ADDRESS ON FILE
ROSADO, DIANTE                        ADDRESS ON FILE
ROSADO, RICARDO A                     ADDRESS ON FILE
ROSALES MARIN, CHRISTOPHER            ADDRESS ON FILE
ROSALES, BRANDON                      ADDRESS ON FILE
ROSALES, CAROLINA                     ADDRESS ON FILE
ROSALES, CHRISTOPHER                  ADDRESS ON FILE
ROSALES, ELIAZAR                      ADDRESS ON FILE
ROSALES, OMERO                        ADDRESS ON FILE
ROSALES, ROGELIO                      ADDRESS ON FILE
ROSALES, ROSANGELA                    ADDRESS ON FILE
ROSALES, SALVADOR                     ADDRESS ON FILE
ROSALES, VENANCIO                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1638 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1647 of 2156

Claim Name                              Address Information
ROSALES, VIVIAN                         ADDRESS ON FILE
ROSALIE PAGLIUCA                        ADDRESS ON FILE
ROSALINDA TARANGO                       ADDRESS ON FILE
ROSALINO NOLASCO TRINIDAD               ADDRESS ON FILE
ROSALIO I BARRAZA                       ADDRESS ON FILE
ROSAN DISTRIBUTIONS INC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROSANN BERKEMEIER                       ADDRESS ON FILE
ROSANN SCHULTZ BERKEMEIER               ADDRESS ON FILE
ROSARIO, AMOS                           ADDRESS ON FILE
ROSARIO, ANGEL                          ADDRESS ON FILE
ROSARIO, BRADLEY                        ADDRESS ON FILE
ROSARIO, CARLOS                         ADDRESS ON FILE
ROSARIO, DAVID                          ADDRESS ON FILE
ROSARIO, JACKIE                         ADDRESS ON FILE
ROSARIO, JESUS                          ADDRESS ON FILE
ROSARIO, JONATHAN                       ADDRESS ON FILE
ROSARIO, LUIS                           ADDRESS ON FILE
ROSARIO-SANTANA, NIKO A                 ADDRESS ON FILE
ROSAS, ALFREDO                          ADDRESS ON FILE
ROSAS, ISAMAR                           ADDRESS ON FILE
ROSAS, MATT                             ADDRESS ON FILE
ROSAS, RODOLFO                          ADDRESS ON FILE
ROSAS, VICTOR                           ADDRESS ON FILE
ROSAS, VICTOR Y                         ADDRESS ON FILE
ROSATI, JOSEPH                          ADDRESS ON FILE
ROSATI, TIMOTHY                         ADDRESS ON FILE
ROSAVA GROUP INC                        PO BOX 2488 NORTHLAKE IL 60164
ROSBURG, MARK                           ADDRESS ON FILE
ROSCAR LOGISTICS LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ROSCO GLOBAL LLC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROSCOE, PAUL                            ADDRESS ON FILE
ROSE CARRIER INC                        OR ASSIST FINANCIAL SVCS INC PO BOX 347 MADISON SD 57042
ROSE CITY CONCRETE & CONSTRUCTION LLC   3300 NW 185TH AVE SUITE 183 PORTLAND OR 97229
ROSE CITY ELECTRIC CO.                  PO BOX 10004 PORTLAND OR 97296
ROSE EQUIPMENT REPAIR                   8143 SECURA WAY SANTA FE SPRINGS CA 90670
ROSE EQUIPMENT REPAIR                   8218 SORENSEN AVE SANTA FE SPRINGS CA 90670
ROSE J TRANSPORTATION LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROSE N SHINE TRUCKING LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ROSE PAVING CO                          7300 W. 100TH PLACE BRIDGEVIEW IL 60455
ROSE PAVING CO                          PO BOX 303 BEDFORD PARK IL 60499
ROSE PEST SOLUTIONS                     1649 CHARLES STREET ROCKFORD IL 61104
ROSE ROYCE LIMO &                       TRANSPORATION, LLC, 1818 NORTH HWY B BERTRAND MO 63823
ROSE TRANSPORTATION, INCORPORATED       PO BOX 536096 PITTSBURGH PA 15253
ROSE, ABBY                              ADDRESS ON FILE
ROSE, CLIFFORD                          ADDRESS ON FILE
ROSE, CLIFTON                           ADDRESS ON FILE
ROSE, DEON                              ADDRESS ON FILE
ROSE, DORINDA                           ADDRESS ON FILE
ROSE, GEORGE W                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1639 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1648 of 2156

Claim Name                           Address Information
ROSE, GREGORY                        ADDRESS ON FILE
ROSE, JEFFREY                        ADDRESS ON FILE
ROSE, JEFFREY                        ADDRESS ON FILE
ROSE, JESSICA                        ADDRESS ON FILE
ROSE, JOHN                           ADDRESS ON FILE
ROSE, JUSTICE                        ADDRESS ON FILE
ROSE, KATRINA                        ADDRESS ON FILE
ROSE, KENNETH                        ADDRESS ON FILE
ROSE, PATRICK                        ADDRESS ON FILE
ROSE, STEVEN                         ADDRESS ON FILE
ROSE, STEVEN                         ADDRESS ON FILE
ROSE, THOMAS                         ADDRESS ON FILE
ROSE, TONY                           ADDRESS ON FILE
ROSEBERRY, ASHTON                    ADDRESS ON FILE
ROSEBORO, KENNETH                    ADDRESS ON FILE
ROSEBROOK, CHERYL                    ADDRESS ON FILE
ROSEBUR III, ANTHONY                 ADDRESS ON FILE
ROSEBURG FOREST PRODUCTS             3660 GATEWAY ST SPRINGFIELD OR 97477
ROSELAND, NIKO                       ADDRESS ON FILE
ROSEMA, AARON                        ADDRESS ON FILE
ROSEMOND, TONI                       ADDRESS ON FILE
ROSEMOND, TONI                       ADDRESS ON FILE
ROSEMOND, TONI                       ADDRESS ON FILE
ROSEMOND, TONI                       ADDRESS ON FILE
ROSEMONT ENTERPRISE LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ROSEN, MARIANNE                      ADDRESS ON FILE
ROSENAU TRANSPORT LTD                PO BOX 4244 STN S CRO EDMONTON AB T6E 4T3 CANADA
ROSENBAUM FENCE CO.                  1666 W. PEMBROKE AVE HAMPTON VA 23661
ROSENBLATT, ADDISON                  ADDRESS ON FILE
ROSENBROCK, ED                       ADDRESS ON FILE
ROSENGRANT, WES                      ADDRESS ON FILE
ROSENHOFFER, KENNETH                 ADDRESS ON FILE
ROSENKRANZ, JOHN                     ADDRESS ON FILE
ROSENOGLE, WILLIAM                   ADDRESS ON FILE
ROSENORT TRANSFER LTD                BOX 83 ROSENORT MB R0G 1W0 CANADA
ROSENQUIST, ADAM                     ADDRESS ON FILE
ROSENSTEEL, LOUIS                    ADDRESS ON FILE
ROSENZWEIG, RICK                     ADDRESS ON FILE
ROSER, JOHN                          ADDRESS ON FILE
ROSER, MICHAEL                       ADDRESS ON FILE
ROSES TRANSPORT INC                  P.O. BOX 133 WAKEFIELD NE 68784
ROSETOWN TOWING INC                  PO BOX 1852 ROSETOWN SK S0L 2V0 CANADA
ROSEVILLE TRANSPORTATION LLC         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROSEWALL, JOHN                       ADDRESS ON FILE
ROSEWAY TRANSPORT LLC                16342 TEXAN CRESCENT ATASCOCITA TX 77346
ROSHECK, SCOTT                       ADDRESS ON FILE
ROSHI FREIGHT & DISPATCHING LLC      510 TAYLOR AVE F GLEN ELLYN IL 60137
ROSIANU, FELIX E                     ADDRESS ON FILE
ROSIANU, FELIX E                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1640 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1649 of 2156

Claim Name                              Address Information
ROSIGNOLO, ERICA                        ADDRESS ON FILE
ROSINSKI, LAWRENCE E                    ADDRESS ON FILE
ROSIQUE, BRUCE                          ADDRESS ON FILE
ROSKUSKI, NICHOLAS                      ADDRESS ON FILE
ROSLUND, ROXANN                         ADDRESS ON FILE
ROSMANITZ, LISA                         ADDRESS ON FILE
ROSNETT ENTERPRISES INC                 5052 N 13TH ST TERRE HAUTE IN 47805
ROSNETT PARTS AND SERVICE               5052 N 13TH ST TERRE HAUTE IN 47805
ROSOFF, MICHELLE                        ADDRESS ON FILE
ROSPUTNI, NICHOLAS                      ADDRESS ON FILE
ROSS BADGER TRANSPORT & LOGISTICS LLC   2258 MARION ROAD SE ROCHESTER MN 55904
ROSS BAKER TOWING INC                   PO BOX 365079 NORTH LAS VEGAS NV 89036
ROSS BAKER TOWING INC                   8750 VANALDEN NORTHRIDGE CA 91324
ROSS EQUIPMENT LIMITED                  1330 MOUNTAIN AVENUE WINNIPEG MB R2X 3A3 CANADA
ROSS EXPRESS, INC.                      PO BOX 8908 PENACOOK NH 03303
ROSS NEELY SYSTEMS, INC.                P O BOX 12345 BIRMINGHAM AL 35202
ROSS TOWING                             21340 TELEGRAPH RD SOUTHFIELD MI 48034
ROSS TOWING AND TRANSPORTATION SVCS     995 POND MILLS ROAD LONDON ON N6N 1C3 CANADA
INC.
ROSS TRANSPORT SERVICES LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ROSS TRUCKING INC                       OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
ROSS WRIGHT                             ADDRESS ON FILE
ROSS, AARON                             ADDRESS ON FILE
ROSS, AARON                             ADDRESS ON FILE
ROSS, ALPHONSO                          ADDRESS ON FILE
ROSS, ALVIN                             ADDRESS ON FILE
ROSS, ALYSSA                            ADDRESS ON FILE
ROSS, ANTONIO                           ADDRESS ON FILE
ROSS, BRETT                             ADDRESS ON FILE
ROSS, COREY                             ADDRESS ON FILE
ROSS, DALTON                            ADDRESS ON FILE
ROSS, DANIEL                            ADDRESS ON FILE
ROSS, DANNY                             ADDRESS ON FILE
ROSS, DAVID M                           ADDRESS ON FILE
ROSS, DEE                               ADDRESS ON FILE
ROSS, DONALD                            ADDRESS ON FILE
ROSS, DONALD                            ADDRESS ON FILE
ROSS, ELI                               ADDRESS ON FILE
ROSS, FLOYD                             ADDRESS ON FILE
ROSS, GARRIET                           ADDRESS ON FILE
ROSS, GARY                              ADDRESS ON FILE
ROSS, GAVIN                             ADDRESS ON FILE
ROSS, JAMELLE                           ADDRESS ON FILE
ROSS, JAMES                             ADDRESS ON FILE
ROSS, JEFF                              ADDRESS ON FILE
ROSS, JEFFREY                           ADDRESS ON FILE
ROSS, JEREMY                            ADDRESS ON FILE
ROSS, JERRY                             ADDRESS ON FILE
ROSS, JESSICA                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1641 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1650 of 2156

Claim Name                          Address Information
ROSS, JOHN                          ADDRESS ON FILE
ROSS, JOSEF                         ADDRESS ON FILE
ROSS, JOSEPH                        ADDRESS ON FILE
ROSS, KARL                          ADDRESS ON FILE
ROSS, KEVIN                         ADDRESS ON FILE
ROSS, LANECA                        ADDRESS ON FILE
ROSS, LATOYA                        ADDRESS ON FILE
ROSS, LOGAN                         ADDRESS ON FILE
ROSS, MICHAEL                       ADDRESS ON FILE
ROSS, MICHAEL                       ADDRESS ON FILE
ROSS, MURRAY                        ADDRESS ON FILE
ROSS, NANCY                         ADDRESS ON FILE
ROSS, NICHOLAS                      ADDRESS ON FILE
ROSS, PATRICK                       ADDRESS ON FILE
ROSS, PETER                         ADDRESS ON FILE
ROSS, PHILLIP                       ADDRESS ON FILE
ROSS, REGINALD                      ADDRESS ON FILE
ROSS, REGINALD                      ADDRESS ON FILE
ROSS, RICHARD                       ADDRESS ON FILE
ROSS, RODNEY                        ADDRESS ON FILE
ROSS, RONNISHA                      ADDRESS ON FILE
ROSS, SCOTT                         ADDRESS ON FILE
ROSS, SCOTT                         ADDRESS ON FILE
ROSS, TIMOTHY                       ADDRESS ON FILE
ROSS, TOMMY                         ADDRESS ON FILE
ROSS, WILLIAM                       ADDRESS ON FILE
ROSSANO, NICOLE                     ADDRESS ON FILE
ROSSER TRUCK REPAIR INC             7 INDUSTRIAL RD STRATHROY ON N7G 4J5 CANADA
ROSSER, ANDRE                       ADDRESS ON FILE
ROSSER, DAVID                       ADDRESS ON FILE
ROSSI, ANTHONY                      ADDRESS ON FILE
ROSSI, MICHAEL                      ADDRESS ON FILE
ROSSI, MICHAEL F                    ADDRESS ON FILE
ROSSI, MICHAEL J                    ADDRESS ON FILE
ROSSI, MICHAEL J                    ADDRESS ON FILE
ROSSITER, THOMAS                    ADDRESS ON FILE
ROSSO, RICHARD A                    ADDRESS ON FILE
ROST TRANSPORT LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ROST, KEVIN S                       ADDRESS ON FILE
ROSTRON, DYLAN                      ADDRESS ON FILE
ROSTUM G CABALTERA                  ADDRESS ON FILE
ROSWALL, ARLENE                     ADDRESS ON FILE
ROTANA TRANSPORTATION EXPRESS LLC   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROTARY TRUCKING INC                 720 HEATHERWOOD DRIVE, 0 MONROE NC 28112
ROTEC TRANSPORT LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROTEMAN, CHAD                       ADDRESS ON FILE
ROTEX TRANSPORTATION INC            9216 KIEFER BLVD SUITE 6 SACRAMENTO CA 95826
ROTH, ANDREW E.                     ADDRESS ON FILE
ROTH, BRIAN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1642 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1651 of 2156

Claim Name                             Address Information
ROTH, DYLAN                            ADDRESS ON FILE
ROTH, ELLIOT                           ADDRESS ON FILE
ROTH, KENNETH                          ADDRESS ON FILE
ROTH, PETER                            ADDRESS ON FILE
ROTH, ROBIN                            ADDRESS ON FILE
ROTH, SHELLY                           ADDRESS ON FILE
ROTH, STEPHEN                          ADDRESS ON FILE
ROTH, TODD                             ADDRESS ON FILE
ROTH, TODD                             ADDRESS ON FILE
ROTH, TODD                             ADDRESS ON FILE
ROTH, TRAVIS                           ADDRESS ON FILE
ROTHERT, JEFFREY                       ADDRESS ON FILE
ROTHROCK, ARCIE                        ADDRESS ON FILE
ROTHROCK, ERICA                        ADDRESS ON FILE
ROTICH, ABRAHAM                        ADDRESS ON FILE
ROTO ROOTER                            PO BOX 910478 LEXINGTON KY 40591-0478
ROTO ROOTER                            P O BOX 8873 FT WAYNE IN 46898
ROTO ROOTER - CHAMPAIGN                602 ASHFORD CT CHAMPAIGN IL 61822
ROTO ROOTER - CHICAGO                  5672 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ROTO ROOTER - FORT WORTH               ROTO-ROOTER SERVICES, 4600 MARSALIS FORT WORTH TX 76117
ROTO ROOTER PLUMBERS.                  2141 INDUSTRIAL CT STE D VISTA CA 92081
ROTO ROOTER PLUMBING                   12898 WESTMORE ST LIVONIA MI 48151
ROTO ROOTER PLUMBING                   PO BOX 51370 LIVONIA MI 48151
ROTO ROOTER PLUMBING                   PO BOX 20295 BILLINGS MT 59104
ROTO-ROOTER                            ROTO-ROOTER SEWER & DRAIN 131 CROSS ROAD BLOOMSBURG PA 17815
ROTO-ROOTER                            101 N CANNON AVE HAGERSTOWN MD 21740
ROTO-ROOTER                            P.O. BOX 51370 LIVONIA MI 48151
ROTO-ROOTER                            P.O. BOX 1151 SOUTH BEND IN 46624
ROTO-ROOTER                            11030 W LINCOLN AVENUE WEST ALLIS WI 53227
ROTO-ROOTER PLUMBERS                   136 TANNER ROAD GREENVILLE SC 29607
ROTO-ROOTER PLUMBING & DRAIN SERVICE   P.O. BOX 400 OLYPHANT PA 18447
ROTO-ROOTER PLUMBING & DRAIN SERVICE   C/O CELCO INC., PO BOX 9089 ROCKY MOUNT NC 27804
ROTO-ROOTER PLUMBING & DRAIN SERVICE   ROTO-ROOTER, PO BOX 27031 KNOXVILLE TN 37927
ROTO-ROOTER PLUMBING & DRAIN SERVICE   5278 TELEGRAPH RD TOLEDO OH 43612
ROTO-ROOTER PLUMBING & DRAIN SERVICE   P.O.BOX 1151 SOUTH BEND IN 46624
ROTO-ROOTER PLUMBING & DRAIN SERVICE   C/O ROTO-ROOTER SVCS COMPANY 5672 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ROTO-ROOTER PLUMBING & DRAIN SERVICE   P.O. BOX 2535 ALAMEDA ID 83206
ROTO-ROOTER PLUMBING & DRAIN SERVICE   P.O. BOX 489 NEWMAN LAKE WA 99025
ROTO-ROOTER SEWER & DRAIN              131 CROSS ROAD BLOOMSBURG PA 17815
ROTO-ROOTER SEWER & DRAIN              5278 TELEGRAPH RD TOLEDO OH 43612
ROTONDI, JOHN                          ADDRESS ON FILE
ROTOOLS                                975 PROVIDENCE DANIELSON CT 06239
ROTTER, CHARLES W                      ADDRESS ON FILE
ROTTLER                                2690 MASTERON AVE ST LOUIS MO 63114
ROTTWEILER TRUCKING EXPRESS LLC        OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
ROUN, CHAMROEUN                        ADDRESS ON FILE
ROUND N ROUND TRUCKING LLC             OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROUND THE CLOCK DELIVERY LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROUND THE CLOCK TRUCKING LLC           OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150



Epiq Corporate Restructuring, LLC                                                                Page 1643 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1652 of 2156

Claim Name                           Address Information
ROUNDEL INC                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROUNDHILL TRANSPORTATION LLC         OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
ROUNDS & ASSOCIATES, INC.            PO BOX 7628 URBANDALE IA 50323
ROUNDS, MICHAEL                      ADDRESS ON FILE
ROUNDS, REGIS D                      ADDRESS ON FILE
ROUNDTREE, BYRON                     ADDRESS ON FILE
ROUNDTRIP EXPRESS INC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROUNDWAY INC                         7000 HADLEY RD 1086 SOUTH PLAINFIELD NJ 07080
ROUNDY, BRETT                        ADDRESS ON FILE
ROUNSAVILLE, JAMES                   ADDRESS ON FILE
ROUNTREE, MIRANDA                    ADDRESS ON FILE
ROURKE G LENZ                        ADDRESS ON FILE
ROUSE, ESAU                          ADDRESS ON FILE
ROUSE, JAMES                         ADDRESS ON FILE
ROUSE, JEFFREY                       ADDRESS ON FILE
ROUSE, WALTER                        ADDRESS ON FILE
ROUSH, BRYCE                         ADDRESS ON FILE
ROUSH, MATTHEW                       ADDRESS ON FILE
ROUSH, THURMAN                       ADDRESS ON FILE
ROUSSEAU COMPANY                     PO BOX 635 CLARKSTON WA 99403
ROUSSEAU, MICHAEL                    ADDRESS ON FILE
ROUSSELL, RODERICK                   ADDRESS ON FILE
ROUSSOPOULOS, GEORGE                 ADDRESS ON FILE
ROUTE 20 TRUCKING COMPANY            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROUTE 281 LOGISTICS LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROUTE 32 TRUCK REPAIR LLC            3736 ROUTE 32 SAUGERTIES NY 12477
ROUTE 33 TRANSPORT INC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ROUTE 49 TRANSPORT LLC               3025 STATE ROUTE 49 ARCANUM OH 45304
ROUTE 66 TRUCKING INC                1219 S SOMERSET LN WOODRIDGE IL 60517
ROUTE 66 TRUCKING INC                OR FIRSTLINE FUDNING GROUP, PO BOX 328 MADISON SD 57042
ROUTE 7 EXPRESS INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROUTE ONE LLC                        1488 SNOW DRIFT CIRCLE BARTLETT IL 60103
ROUTE ONE SPECIALIZED                202 CHRISTINA DR, 202 CHRISTINA DR EAST DUNDEE IL 60118
ROUTES DEDICATED LOGISTICS INC       OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415-0581
ROUTH, SAMUEL                        ADDRESS ON FILE
ROUTING POINT LOGISTICS LLC          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ROUX, PAUL                           ADDRESS ON FILE
ROUX, RENNEY                         ADDRESS ON FILE
ROVER CARRIER LIMITED                PO BOX 95085 RPO SADDLERIDGE CALGARY AB T3J 0E3 CANADA
ROVER TRUCKING INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROVER TRUCKING INC                   OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
ROVERS NORTH                         ATTN: ALAN KOSLOWSKI WAREHOUSE 1319 ROUTE 128 WESTFORD VT 05494
ROVIRA TRUCKING                      OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
ROWAN, BOLD                          ADDRESS ON FILE
ROWAN, CHRISTOPHER                   ADDRESS ON FILE
ROWAN, JEFFREY                       ADDRESS ON FILE
ROWANS, BERNARD                      ADDRESS ON FILE
ROWBERRY, JAMIE                      ADDRESS ON FILE
ROWBOTTOM, JOHN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1644 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1653 of 2156

Claim Name                          Address Information
ROWDY RESOURCES                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
ROWE ELITE DELIVERY LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROWE MAINTENANCE, LLC               8631 BEECHWOOD AVE. INDIANAPOLIS IN 46219
ROWE, ADAM                          ADDRESS ON FILE
ROWE, ALISHA                        ADDRESS ON FILE
ROWE, ELEAZAR                       ADDRESS ON FILE
ROWE, JEFF                          ADDRESS ON FILE
ROWE, JOEL                          ADDRESS ON FILE
ROWE, MARTIN                        ADDRESS ON FILE
ROWE, WILLIAM                       ADDRESS ON FILE
ROWE, WILLIE                        ADDRESS ON FILE
ROWELL, JARVIS                      ADDRESS ON FILE
ROWELL, TAMYIA                      ADDRESS ON FILE
ROWEN EXPRESS LLC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
ROWEN, JOSEPH                       ADDRESS ON FILE
ROWITZ, JASON                       ADDRESS ON FILE
ROWLAND LAWN CARE                   3606 S MERIDIAN COLUMBIA CIT IN 46725
ROWLAND, ANDRE                      ADDRESS ON FILE
ROWLAND, ARIELLE                    ADDRESS ON FILE
ROWLAND, JAMAAL                     ADDRESS ON FILE
ROWLAND, JAMES                      ADDRESS ON FILE
ROWLAND, JOHN                       ADDRESS ON FILE
ROWLAND, MICHAEL                    ADDRESS ON FILE
ROWLAND, MICHAEL                    ADDRESS ON FILE
ROWLAND, STACEY                     ADDRESS ON FILE
ROWLAND, TODD                       ADDRESS ON FILE
ROWLEY, BARBARA                     ADDRESS ON FILE
ROWLEY, LYNN                        ADDRESS ON FILE
ROWLEY, TODD                        ADDRESS ON FILE
ROWONE RETRANS FREIGHT              PO BOX 9490 FALL RIVER MA 02720
ROWSEY, CASSIDY                     ADDRESS ON FILE
ROX-MAR ENTERPRISE LIMITED          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ROXANNE & RAMBO ENTERPRISES LLC     PO BOX 672184 HOUSTON TX 77267-2184
ROXANNE E BIGGAR                    ADDRESS ON FILE
ROXBURY, VERNITA                    ADDRESS ON FILE
ROXKS LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ROY A SCHERRER                      ADDRESS ON FILE
ROY SALMON TRUCKING LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ROY TURK INDUSTRIAL SALES LTD       106 VULCAN STREET TORONTO ON M9W 1L2 CANADA
ROY, CAINEN                         ADDRESS ON FILE
ROY, CHRISTINE                      ADDRESS ON FILE
ROY, CHRISTINE                      ADDRESS ON FILE
ROY, DELON                          ADDRESS ON FILE
ROY, GRANT                          ADDRESS ON FILE
ROY, MICHAEL                        ADDRESS ON FILE
ROY, MICHAEL                        ADDRESS ON FILE
ROYAL ANUBIS TRANSPORT LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL AQUATIC LLC                   2215 KENMORE AVE STE 100 BUFFALO NY 14207
ROYAL ARROW LOGISTICS, INC.         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                              Page 1645 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1654 of 2156

Claim Name                              Address Information
ROYAL AUTO TRANS INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ROYAL BAY TRANSPORTATION                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL BELT LOGISTICS LLC                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ROYAL BRASS & HOSE                      1470 AMHERST RD KNOXVILLE TN 37909
ROYAL BRASS & HOSE                      PO BOX 51468 KNOXVILLE TN 37950
ROYAL BRASS & HOSE                      PO BOX 631598 CINCINNATI OH 45263
ROYAL BROS INC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROYAL CARE TRANSPORT LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROYAL CARGO GROUP CORP                  OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
ROYAL CARRIERS INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL CASTLE LOGISTICS LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROYAL EXPRESS                           5207 WALSH DR ARLINGTON TX 76001
ROYAL EXPRESS LLC.                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROYAL EXPRESS TRUCKING LLC              OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
ROYAL EXPRESS, INC.                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL FAM TRANSPORTATION LLC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROYAL FAMILY MOTORS                     ATTN: MIKE DOLANSKI 6845 WHIPPLE AVE NW CANTON OH 44720-7337
ROYAL GUYS TRANSPORT LLC                OR PDM FINANCIAL LLC, P.O.BOX 3336 DES MOINES IA 50316
ROYAL HUNTS INC                         4641 ZOE AVE KEYES CA 95328
ROYAL JORDANIAN TRANSPORT LLC           5416 HORGER ST DEARBORN MI 48126-3117
ROYAL KING EXPRESS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ROYAL KING LOGISTICS INC                116 BENADIR AVE CALEDON ON L7C 4E7 CANADA
ROYAL LINE TRANSPORT INC                OR REVOLUTION CAPITAL, P.O. BOX 741791 LOS ANGELES CA 90074
ROYAL LINES INC                         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
ROYAL LINK INC                          OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
ROYAL MM INC                            OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ROYAL OPULENCE LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ROYAL PACIFIC FOODS                     6205 ENGEL WAY STE I GILROY CA 95020
ROYAL PALM LOGISTICS LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ROYAL PROPERTY MANAGEMENT               PO BOX 1264 ST. ALBANS WV 25177
ROYAL RAYE LOGISTICS                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL REGAL INC                         OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
ROYAL ROADLINES INC                     OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ROYAL RUNNER LINES INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL RUNNERS INC                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ROYAL SUPPLY CO                         7050 E 54TH PLACE COMMERCE CITY CO 80022
ROYAL TEAM LLC                          OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ROYAL TRANS LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ROYAL TRANSIT LLC                       OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
ROYAL TRANSPORT INC (MC1148279)         OR CAPITAL DEPOT 8930 N WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
ROYAL TRANSPORTATION SVCS INC           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ROYAL TRANSPORTATION SVCS LLC           OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
ROYAL TRUCK & TRAILER SALES & SVC INC   311 E CADY ST NORTHVILLE MI 48167
ROYAL TRUCK & TRAILER SALES &SERVICE    5125 CLAY AVE. GRAND RAPIDS MI 49548
INC
ROYAL TRUCK LINE LLC                    15300 SE ORIENT DR BORING OR 97009
ROYAL TRUCKING COMPANY                  OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
ROYAL TRUCKING INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
ROYAL WAY EXPRESS INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508



Epiq Corporate Restructuring, LLC                                                                Page 1646 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1655 of 2156

Claim Name                           Address Information
ROYAL WHOLESALE ELECTRIC             802 PACKER WAY SPARKS NV 89431
ROYAL X INC                          13 EQUINE RUN BURLINGTON NJ 08016
ROYAL, CRAIG                         ADDRESS ON FILE
ROYAL, CURTIS                        ADDRESS ON FILE
ROYAL, MICHAEL                       ADDRESS ON FILE
ROYAL3 INC                           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ROYALE INTERNATIONAL                 5315 TREMONT AVE. DAVENPORT IA 52807
ROYALE J EXPRESS LLC                 OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
ROYALE LOGISTICS                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ROYALTON EXPRESS COMPANY             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ROYALTON STAR INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ROYALTY ELECTRIC, LLC.               2029 HOLLISTER WHITNEY PKWY. QUINCY IL 62305
ROYALTY TRUCKING LLC (MC1327784)     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
ROYCE CRANE COMPANY                  1210 WARSAW ROAD ROSWELL GA 30076
ROYCE INDUSTRIES L.C.                1355 W 8040 S WEST JORDAN UT 84088
ROYER, CHARLES                       ADDRESS ON FILE
ROYER, JACOB                         ADDRESS ON FILE
ROYER, KURT                          ADDRESS ON FILE
ROYER, LARRY                         ADDRESS ON FILE
ROYS LAWN CARE & SNOWPLOWING, INC.   4968 CONTRACTORS DRIVE EAST WENATCHEE WA 98802
ROYS TRAILER REPAIR INC.             PO BOX 635 LOWELL AR 72745
ROYS, DANIEL                         ADDRESS ON FILE
ROYS, MARK                           ADDRESS ON FILE
ROYSE ELECTRIC, CO.                  302 E ADAMS AVE PUEBLO CO 81004
ROYSE, JERALD                        ADDRESS ON FILE
ROYSON LOGISTICS LLC                 OR UNIFACT CAPITAL FUNDING, LLC 2913 SALTWOOD CT CELINA TX 75009
ROYSTER TRANSPORTATION LLC           OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
ROYSTER, CLARENCE                    ADDRESS ON FILE
ROYSTER, DAVIN                       ADDRESS ON FILE
ROYSTER, JESSICA                     ADDRESS ON FILE
ROYSTER, MELISSA                     ADDRESS ON FILE
ROYVAL, ARTURO                       ADDRESS ON FILE
ROZAFA TRANSPORT, INC.               52011 FINCH COURT SHELBY TOWNSHIP MI 48315
ROZE TRAVELS LLC                     OR TRUCK STOP FACTORING P.O. BOX 7410411 CHICAGO IL 60674
ROZIER TRANSPORT                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ROZITA E WHITE                       ADDRESS ON FILE
ROZMUS, THOMAS                       ADDRESS ON FILE
RP ENTERPRISES GROUP LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RP FLORIDA TRANSPORT INC             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
RP FLORIDA TRANSPORT INC             OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RP FREIGHT LLC                       8 LACLEDE DRIVE BURLINGTON NJ 08016
RP POWER                             7777 N. SHORE PLACE NORTH LITTLE ROCK AR 72118
RP TRUCKING                          627 LONE OAK LN VERONA WI 53593-9526
RP TRUCKING INC (MC1363494)          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
RP TRUCKING LLC                      OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
RP1TRUCKING LLC                      1687 NEBRASKA ST TOLEDO OH 43607
RPG TRANSPORTATION LLC               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RPI ELECTRICAL SOLUTIONS LLC         PO BOX 1333 LAREDO TX 78042
RPL TRANSPORT                        2987 LAKE VISTA DR NW ROCHESTER MN 55901



Epiq Corporate Restructuring, LLC                                                            Page 1647 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1656 of 2156

Claim Name                           Address Information
RPM 2 EXPRESS INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RPM EXPEDITE USA LLC                 5501 SANDSHELL DR STE 221 FORT WORTH TX 76137
RPM FREIGHT SYSTEMS                  ATTN: GINA ARDILA 301 W 4TH 200 ROYAL OAK MI 48067
RPM LOGISTICS LTD                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RPM TRANSPORT CORP                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
RPM TRANSPORT INC                    100 CRESCENT COURT, SUITE 700 DALLAS TX 75201
RPM TRANSPORT INC                    OR NEXUS GLOBAL, INC, PO BOX 1337 SUN VALLEY CA 91353
RPM TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RPM TRUCKING LLC (KENTWOOD MI)       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
RPO SERVICE LLC                      3114 HEALY AVE FAR ROCKAWAY NY 11691
RPP EXPRESS INC                      OR ORANGE COMMERCIAL CREDI PO BOX 11099 OLYMPIA WA 98508
RPS TRUCKING INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RPS TRUCKING LLC                     PO BOX 18 BLACKWATER MO 65332-0018
RQD CLEARING LLC (4305)              ATT PROXY MGR 250 VESEY ST, SUITE 2601 NEW YORK NY 10281
RQL EXPRESS LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
RQS LOGISTICS                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RR & SONS TRANSPORT LLC              OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
RR CARRY ALL FREIGHT LLC             OR INSIGHT TECHNOLOGY, INC PO BOX 200399 DALLAS TX 75320-0399
RR D                                 3801 GANTZ RD STE A GROVE CITY OH 43123
RR DONNELLY                          TFORCE WORLDWIDE, 1000 WINDHAM PKWY BOLINGBROOK IL 60490
RR DONNELLY & SONS                   1000 WINDHAM PKWY BOLINGBROOK IL 60490
RR TRANSPORT                         OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
RR TRANZ                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RRA TRUCKING LTD                     OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA BC L3V 6L4
                                     CANADA
RRCM TRUCKING LLC                    OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
RRK FREIGHT INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
RRK TRUCKING INC                     OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
RRL                                  PO BOX 576 TRENTON GA 30752
RRM PROPERTIES LSR                   200 SOUTH MAIN STREET CORONA CA 92882
RRN TRANSPORT INC.                   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RRR ELITE TRUCKING INC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RRS LOGISTICS CORP                   OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
RS EXPRESS LTD                       175 PLYMOUTH ST WINNIPEG MB R2X 2T3 CANADA
RS GLOBAL TRANS INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RS MOVING & WAREHOUSING              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RS TRANS LLC                         OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
RS TRUCK LINE                        8050 FLORENCE AVE, UNIT 103 DOWNEY CA 90241
RS TRUCKING INC                      2393 E 170 N SAINT GEORGE UT 84790
RS TRUCKING INC (0419211)            OR RIVIERA FINANCE OF CA, PO BOX 848062 LOS ANGELES CA 90084-8062
RSA TRANSPORT LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RSB                                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RSB TRANSPORT LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RSC                                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RSD                                  OR TAB BANK, PO BOX 150830 OGDEN UT 84415
RSD - BILLINGS                       20 MOORE LN BILLINGS MT 59101
RSD - GREAT FALLS                    601 3RD AVE S GREAT FALLS MT 59405
RSD - LAKE FOREST                    26021 ATLANTIC OCEAN DR LAKE FOREST CA 92630
RSD - LAS VEGAS SOUTH                3350 W ALI BABA LN STE J LAS VEGAS NV 89118



Epiq Corporate Restructuring, LLC                                                               Page 1648 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1657 of 2156

Claim Name                             Address Information
RSD - SALT LAKE CITY                   250 W GREGSON AVE SALT LAKE CITY UT 84115
RSD KIRKLAND                           11251 120TH AVE NE KIRKLAND WA 98033
RSD TRUCKING                           3557 BENJAMIN HOLT DR UNIT 49 STOCKTON CA 95219
RSD TRUCKLINE INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
RSF EXPRESS INC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RSF LLC                                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RSH BROTHERS                           C\O 1199550-2 CANADA INC, 1210-2850 CEDARWOOD DRIVE OTTAWA ON K1V 8Y4 CANADA
RSH LOGISTICS LLC                      3737 EASTON MARKET UNIT 1370 COLUMBUS OH 43219
RSL LLC                                ATTN: KATRINA FORREST 3092 ENGLISH CREEK AVE EGG HARBOR TOWNSHIP NJ 08234
RSL LLC                                ATTN: KATRINA 3049 FERNWOOD AVE EGG HARBOR TOWNSHIP NJ 08234
RSM                                    10261 FRANKLIN AVE. FRANKLIN PARK IL 60131
RSM ELECTRIC LLC                       PO BOX 19005 JOHNSTON RI 02919
RSM EXPRESS LLC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RSM TRANS LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RSM TRANSPORT LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RSP TRANSPORT LLC                      OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RSR LOGISTICS LLC                      1576 TARA BELLE PARKWAY NAPERVILLE IL 60564-8197
RSTZ TRANSPORT                         24 TOWN FOREST RD WEBSTER MA 01570
RSUI (VIA RT SPECIALTY)                945 EAST PACES FERRY ROAD NE SUITE 1800 ATLANTA GA 30326
RSUI INDEMNITY                         945 EAST PACES FERRY RD. SUITE 1800 ATLANTA GA 30325
RT 21 TRUCK & AUTO TOWING & RECOVERY   5439 SISSONVILLE DR CHARLESTON WV 25312
LLC
RT DISTRIBUTION LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RT PROCESS                             7052 COMMERCE PARK MIDVALE UT 84047
RT WHEEL RUN IT LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                       IL 60674-0411
RTA LOGISTICS INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RTA-MVR                                600 LONGWORTH ST. DAYTON OH 45402
RTB TRUCKING LLC                       152 JOHN ROACH LN OWENS X RDS AL 35763-9778
RTC                                    OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
RTC                                    6521 S LAS VEGAS BLVD LAS VEGAS NV 89119
RTC EXPRESS LLC                        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
RTF LOGISTICS INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RTF LOGISTICS LLC                      OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
RTN EXPRESS INC                        OR NEXT DAY FUNDING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412
RTN TRUCKING LLC                       5193 CHESTNUT WOODS CT LIBERTY TWP OH 45044
RTP                                    580 E. FRONT ST. WINONA MN 55987
RTP CO                                 ATTN: TRAVIS NIELSEN PO BOX 5439, 580 EAST FRONT STREET WINONA MN 55987
RTP COMPANY                            ATTN: TRAVIS NIELSEN 580 EAST FRONT STREET PO BOX 5439 WINONA MN 55987
RTP COMPANY HIATT                      ATTN: TRAVIS NIELSEN PO BOX 5439 580 EAST FRONT STREET WINONA MN 55987
RTR EXPRESS, LLC                       OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
RTS CARGO LLC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RTS EXPRESS INC                        RTS EXPRESS INC, PO BOX 88 WOOD DALE IL 60191-0088
RTS TRANS LLC                          OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
RTV GROUP INC                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RTW TRUCKING LLC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RTX LOGISTCS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RUACH LOGISTICS LLC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                       CHICAGO IL 60674-0411


Epiq Corporate Restructuring, LLC                                                                 Page 1649 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1658 of 2156

Claim Name                           Address Information
RUAL TRUCKING INC                    14319 ISLAND POINT DR EL PASO TX 79938
RUAN                                 ATTN: ANTHONY CELSI PO BOX 9319 DES MOINES IA 50306
RUAN                                 ATTN: LUKE PARKER PO BOX 9319 DES MOINES IA 50306
RUAN                                 ATTN: THEA BEARD PO BOX 9319 DES MOINES IA 50306
RUAN TRANSPORT CORPORATION           P.O. BOX 977 DES MOINES IA 50304
RUARK, JEFFREY                       ADDRESS ON FILE
RUBAL LLC                            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RUBALCAVA, JUAN                      ADDRESS ON FILE
RUBALCAVA, KEVIN                     ADDRESS ON FILE
RUBALCAVA, MICHAEL                   ADDRESS ON FILE
RUBALCAVA, MITCHEL                   ADDRESS ON FILE
RUBANI TRUCKING INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RUBBER MEETS ROAD, INC.              OR ADVANCE FINANCIAL CORPORATION PO BOX 1147 ALPHARETTA GA 30009-1147
RUBBERMAID                           3009 GILCHRIST RD. AKRON OH 44305
RUBBERMAID COMMERCIAL PRODUCTS       0060086638) ATTN: SHERRY SINGHAS 3124 VALLEY AVE WINCHESTER VA 22601
RUBBERMAID COMMERCIAL PRODUCTS       3124 VALLEY AVE WINCHESTER VA 22601
RUBBERMAID COMMERCIAL PRODUCTS       ATTN SHERRY SINGHAS, 3124 VALLEY AVE WINCHESTER VA 22601
RUBEN C MARQUEZ                      ADDRESS ON FILE
RUBEN J ANAYA                        ADDRESS ON FILE
RUBEN R CONTRERAS                    ADDRESS ON FILE
RUBEN RODRIGUEZ TRUCKING             1009 N ALTHEA AVENUE RIALTO CA 92376
RUBENS FLEET SERVICE, INC.           4730 LEOPARD STREET CORPUS CHRISTI TX 78408
RUBENSTEIN, ROBERT                   ADDRESS ON FILE
RUBERA, MICHAEL R                    ADDRESS ON FILE
RUBERSTELL, ALLEN                    ADDRESS ON FILE
RUBIDOUX, DONALD                     ADDRESS ON FILE
RUBIN, MICHAEL J                     ADDRESS ON FILE
RUBIN, MICHELLE                      ADDRESS ON FILE
RUBIN, PARISH                        ADDRESS ON FILE
RUBINO, JOHN                         ADDRESS ON FILE
RUBINO, STEVEN                       ADDRESS ON FILE
RUBIO MARKETS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RUBIO, ALEJANDRO                     ADDRESS ON FILE
RUBIO, EDNA                          ADDRESS ON FILE
RUBIO, JOSEPH                        ADDRESS ON FILE
RUBIO, PEDRO                         ADDRESS ON FILE
RUBIO, RAY                           ADDRESS ON FILE
RUBRIGHT, WENDELL                    ADDRESS ON FILE
RUBY EXPRESS LLC                     OR PATHWARD NATIONAL ASSOCIATION PO BOX 682348 DRAWER 3061 FRANKLIN TN
                                     37068-2348
RUBY EXPRESS LLC                     1197 E LOS ANGELES AVE C106 SIMI VALLEY CA 93065
RUBY LOGISTICS INC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
RUBY LOGISTICS LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RUBY MOUNTAIN NATURAL SPRING WATER   HC 30 BOX 340 SPRING CREEK NV 89815
RUBY TRANSPORT INC                   OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RUBY, DAVID                          ADDRESS ON FILE
RUBY, STEVEN                         ADDRESS ON FILE
RUCH, STEVEN                         ADDRESS ON FILE
RUCINSKI, DAVID                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1650 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1659 of 2156

Claim Name                           Address Information
RUCKER, ANTHONY                      ADDRESS ON FILE
RUCKER, CHRISTOPHER                  ADDRESS ON FILE
RUCKER, DONELSON                     ADDRESS ON FILE
RUCKER, LINDA                        ADDRESS ON FILE
RUCKER, MARKEESHA                    ADDRESS ON FILE
RUCKER, MELVIN                       ADDRESS ON FILE
RUCKER, THOMAS                       ADDRESS ON FILE
RUCKINGER, ASHLEY                    ADDRESS ON FILE
RUCKS TRUCKS, L.L.C.                 1025 LIBERTY ROAD, PO BOX 40 EUBANK KY 42567
RUCKS, CRAIG                         ADDRESS ON FILE
RUDD, DAVID                          ADDRESS ON FILE
RUDD, DUSTIN                         ADDRESS ON FILE
RUDD, MICHAEL                        ADDRESS ON FILE
RUDD, TORIS                          ADDRESS ON FILE
RUDE TRANSPORTATION, INC.            PO BOX 190 REDFIELD SD 57469
RUDE, CODY                           ADDRESS ON FILE
RUDE, RANDY                          ADDRESS ON FILE
RUDEEN, ROBERT                       ADDRESS ON FILE
RUDER, CHRIS                         ADDRESS ON FILE
RUDER, KRISTIN                       ADDRESS ON FILE
RUDICH, AARON                        ADDRESS ON FILE
RUDISH, LOGAN                        ADDRESS ON FILE
RUDISILL, GORDON                     ADDRESS ON FILE
RUDISILL, JEREMIAH                   ADDRESS ON FILE
RUDNICK, KIMBERLY                    ADDRESS ON FILE
RUDOLPH FOODS                        920 W 4TH ST BEAUMONT CA 92223
RUDOLPH MILLSAPS EXPRESS COMPANY     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
RUDOLPH, CHRISTOPHER                 ADDRESS ON FILE
RUDOLPH, HENRY                       ADDRESS ON FILE
RUDOLPH, PATRICK                     ADDRESS ON FILE
RUDSTROM, SCOTT                      ADDRESS ON FILE
RUDY ALVARADO                        ADDRESS ON FILE
RUDY P VICARIO                       ADDRESS ON FILE
RUDY SMITH SERVICE INC               425 N CLAIBORNE AVE NEW ORLEANS LA 70112
RUDY TRANSPORT LLC                   OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
RUDZKI TRUCKING INC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
RUEBEN R RODRIGUEZ                   ADDRESS ON FILE
RUEDA, DAGOBERTO                     ADDRESS ON FILE
RUEDA, GREG                          ADDRESS ON FILE
RUEDA, GREGORY K                     ADDRESS ON FILE
RUEDA, LUIS                          ADDRESS ON FILE
RUEDA, RODOLFO                       ADDRESS ON FILE
RUEGER, RANDALL R                    ADDRESS ON FILE
RUEGER, RANDY                        ADDRESS ON FILE
RUEGER, TORREY                       ADDRESS ON FILE
RUEHL, TODD                          ADDRESS ON FILE
RUELAS VIORATO JR, RUBEN             ADDRESS ON FILE
RUELAS, PEDRO                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1651 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1660 of 2156

Claim Name                          Address Information
RUESEWALD, FREDERICK J              ADDRESS ON FILE
RUESS, ANTHONY                      ADDRESS ON FILE
RUESTER, WILLIAM                    ADDRESS ON FILE
RUFENER, MISCHELLE                  ADDRESS ON FILE
RUFF, JAMES                         ADDRESS ON FILE
RUFF, STEVEN L                      ADDRESS ON FILE
RUFFES, BRADLY                      ADDRESS ON FILE
RUFFIN, ELLIOTT                     ADDRESS ON FILE
RUFFIN, ERNEST                      ADDRESS ON FILE
RUFFIN, QUARRAN                     ADDRESS ON FILE
RUFFIN, RODERICK                    ADDRESS ON FILE
RUFFING, JEFFERY                    ADDRESS ON FILE
RUFFING, MICHAEL                    ADDRESS ON FILE
RUFFLE FEATHERS TRUCKING LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RUFFNER, JEFFREY                    ADDRESS ON FILE
RUFFO, EMANUEL                      ADDRESS ON FILE
RUFTA LOGISTICS LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RUGBY IPD CORPORATION               ATTN: MIKE BAKER 4545 W DIABLO STE B LAS VEGAS NV 89118
RUGGEIRO, KEITH                     ADDRESS ON FILE
RUGGERI, STEVEN                     ADDRESS ON FILE
RUGGIERO, CHRISTOPHER               ADDRESS ON FILE
RUGGIRELLO, CHARLES                 ADDRESS ON FILE
RUGGLESS, HAROLD                    ADDRESS ON FILE
RUGID EXPRESS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
RUHL, BRANDI                        ADDRESS ON FILE
RUHL, TYLER                         ADDRESS ON FILE
RUIZ BONILLA, EDWIN                 ADDRESS ON FILE
RUIZ BROTHERS, INC                  3717 SULLIVAN DR DOUGLASVILLE GA 30135
RUIZ EXPRESS TRANSPORTATION LLC     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
RUIZ, ALEXANDER                     ADDRESS ON FILE
RUIZ, ANTHONY                       ADDRESS ON FILE
RUIZ, BENJAMIN                      ADDRESS ON FILE
RUIZ, BERNARDO                      ADDRESS ON FILE
RUIZ, CESAR                         ADDRESS ON FILE
RUIZ, COLE                          ADDRESS ON FILE
RUIZ, CRISELDA                      ADDRESS ON FILE
RUIZ, DANIEL                        ADDRESS ON FILE
RUIZ, DAVID                         ADDRESS ON FILE
RUIZ, EDWARD                        ADDRESS ON FILE
RUIZ, EVELYN                        ADDRESS ON FILE
RUIZ, FELICIA                       ADDRESS ON FILE
RUIZ, FRANCISCO                     ADDRESS ON FILE
RUIZ, ISERVO                        ADDRESS ON FILE
RUIZ, JACQUELINE                    ADDRESS ON FILE
RUIZ, JESSICA                       ADDRESS ON FILE
RUIZ, JESSIE                        ADDRESS ON FILE
RUIZ, JORGE                         ADDRESS ON FILE
RUIZ, JOSE                          ADDRESS ON FILE
RUIZ, KARINA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1652 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1661 of 2156

Claim Name                           Address Information
RUIZ, KARLA                          ADDRESS ON FILE
RUIZ, KATHRYN                        ADDRESS ON FILE
RUIZ, LORENZO                        ADDRESS ON FILE
RUIZ, LUCIO                          ADDRESS ON FILE
RUIZ, MANUEL                         ADDRESS ON FILE
RUIZ, MARISOL                        ADDRESS ON FILE
RUIZ, MYRIAM                         ADDRESS ON FILE
RUIZ, RICHARD                        ADDRESS ON FILE
RUIZ, RICHARD                        ADDRESS ON FILE
RUIZ, ROBERT                         ADDRESS ON FILE
RUIZ, SEFERINO                       ADDRESS ON FILE
RUJO TRANSPORTATION                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
RUKASH EXPRESS LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RULE, JOHN                           ADDRESS ON FILE
RULE, SHUNTANUIA                     ADDRESS ON FILE
RULL, ADRIAN                         ADDRESS ON FILE
RUMANS, CHRISTOPHER                  ADDRESS ON FILE
RUMANS, PATRICK                      ADDRESS ON FILE
RUMBA TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RUMBER TRANSPORTATION                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RUMBERGER, ALICIA                    ADDRESS ON FILE
RUMFOLA, ANNLEA                      ADDRESS ON FILE
RUMI TRANSPORT LLC                   OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RUMI TRANSPORT LLC                   4721 WINDING HOLLOW DR FORT WORTH TX 76179
RUMMAGE, AUGUSTINE                   ADDRESS ON FILE
RUMMEL, TROY                         ADDRESS ON FILE
RUMMELT, TERRY                       ADDRESS ON FILE
RUN DIRECT INC.                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RUN EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RUN FREIGHT LLC                      2435 PILLSBURY AVE S APT 405 MINNEAPOLIS MN 55404
RUN IT BACK TRUCKING LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RUN ONE DELIVERY LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RUN SMART LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RUN THAT CRATE AND FREIGHT LLC       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RUN-IT TRANSPORT LLC                 OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
RUNA LINK CORP.                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RUNAWAY INC.                         PO BOX 172 TERRETON ID 83450
RUNBERG, JOSEPH                      ADDRESS ON FILE
RUNDE, JOSEPH                        ADDRESS ON FILE
RUNDE, TOM                           ADDRESS ON FILE
RUNDIO, AMY                          ADDRESS ON FILE
RUNESTRAND, JOEL                     ADDRESS ON FILE
RUNFOREST INC                        OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
RUNG, IAN                            ADDRESS ON FILE
RUNGE TRANSPORTING, LLC              OR LOVES SOLUTIONS, PO BOX 639565 CINCINNATI OH 45263-9565
RUNGE TRANSPORTING, LLC              246 SNOW DRIFT LANE PERRYVILLEPERRYVILLE MO 63775
RUNGE, DALE                          ADDRESS ON FILE
RUNICE, DANIEL                       ADDRESS ON FILE
RUNJI, KAMAU                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1653 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1662 of 2156

Claim Name                            Address Information
RUNKLE, PAUL                          ADDRESS ON FILE
RUNKLES, MICHELE                      ADDRESS ON FILE
RUNNELS TRANSPORT INC                 OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                      UT 84130
RUNNIN FREIGHT LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RUNNING EXPRESS INC                   OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189
RUNNING INC                           318 W DECKER ST VIROQUA WI 54665
RUNNING INC                           DBA TOMAH TRANSIT, 318 W DECKER STREET VIROQUA WI 54665
RUNNING LATE TRUCKING                 OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RUNNING MAN TRANSPORT LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
RUNPRO LLC                            OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
RUNSER, DAMIEN                        ADDRESS ON FILE
RUNSS CORP.                           OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RUNTAL NORTH AMERICAN                 187 NECK RD HAVERHILL MA 01835
RUNWELL INC                           OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RUNYAN, DOUGLAS                       ADDRESS ON FILE
RUNYON SURFACE PREP                   1402 CHASE CT CARMEL IN 46032
RUNYON, JIM                           ADDRESS ON FILE
RUNYONS, WILLIAM                      ADDRESS ON FILE
RUOFF, ROY                            ADDRESS ON FILE
RUOFF, THADIUS                        ADDRESS ON FILE
RUONA, KATHLEEN                       ADDRESS ON FILE
RUPARD, LARRY                         ADDRESS ON FILE
RUPE, ANGELA                          ADDRESS ON FILE
RUPE, BRYAN                           ADDRESS ON FILE
RUPERTI, FRANK J                      ADDRESS ON FILE
RUPLEY, MATTHEW                       ADDRESS ON FILE
RUPP, CRAIG                           ADDRESS ON FILE
RUPP, GREG                            ADDRESS ON FILE
RUPPRECHT, SCOTT                      ADDRESS ON FILE
RUPPS TRUCK AND TRAILER REPAIR INC.   32565 SPECULATOR CIR LAMAR CO 81052
RUPRECHT, CHRISTOPHER-JUSTIN          ADDRESS ON FILE
RUSE EXPRESS INC                      OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RUSEW, GEORGI                         ADDRESS ON FILE
RUSH AIR DUCT CLEANING                13595 GLYNWOOD NEW KNOXVILLE RD SAINT MARYS OH 45885
RUSH DELIVERIES LLC                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
RUSH FREIGHT LLC                      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
RUSH INC                              OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RUSH ISUZU OF AUSTIN                  16870 SOUTH IH 35 BUDDA TX 78610
RUSH LOGISTICS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RUSH PREMIER TRUCKING LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RUSH TRANSPORTATION INC               OR QP FACTORING, PO BOX 1062 MIDDLETOWN OH 45042
RUSH TRUCK CENTER                     7450 TORBRAM RD MISSISSAUGA ON L4T 1G9 CANADA
RUSH TRUCK CENTER                     C/O INTERSTATE BILLING SVC PO BOX 2208 DECATUR AL 35609
RUSH TRUCK CENTER                     MULTI SVC CORP C\O PACCAR PARTS FLEET SERVICE PO BOX 10922 SHAWNEE MISSION KS
                                      66225
RUSH TRUCK CENTER                     RUSH ENTERPRISES, INC., P.O. BOX 34630 SAN ANTONIO TX 78265
RUSH TRUCK CENTER                     4060 ANDCO DR IDAHO FALLS ID 83402
RUSH TRUCK CENTER                     770 W AMITY RD BOISE ID 83705



Epiq Corporate Restructuring, LLC                                                                Page 1654 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1663 of 2156

Claim Name                           Address Information
RUSH TRUCK CENTER                    964 S 3800 W SALT LAKE CITY UT 84104
RUSH TRUCK CENTER ATLANTA            2560 MORELAND AVE ATLANTA GA 30315
RUSH TRUCK CENTER ATLANTA            RUSH ENTERPRISES INC, PO BOX 34630 SAN ANTONIO TX 78265
RUSH TRUCK CENTER AUSTIN             ATTN: JOHN NEELY 16870 INTERSTATE 35 SOUTH BUDA TX 78610
RUSH TRUCK CENTER, ALBUQUERQUE       6521 HANOVER RD. NW ALBUQUERQUE NM 87121
RUSH TRUCK CENTERS                   INTERSTATE BILLING SERVICE, PO BOX 2208 DECATUR AL 35609
RUSH TRUCK CENTERS                   7700 NE 38TH STREET KANSAS CITY MO 64161
RUSH TRUCK CENTERS                   1944A NORTH 9TH STREET SALINA KS 67401
RUSH TRUCK CENTERS OF TEXAS, L.P.    OF TENNESSEE INC, PO BOX 34630 SAN ANTONIO TX 78265
RUSH TRUCK CENTERS OF TEXAS, L.P.    RUSH ADMINISTRATIVE SVCS RUSH ENTERPRISES INC PO BOX 34630 SAN ANTONIO TX
                                     78265
RUSH TRUCK CENTRES                   260 DUNKIRK RD. RR 6 ST CATHARINES ON L2R 7K6 CANADA
RUSH TRUCK CENTRES                   RUSH TRUCK CENTRES OF CANADA LTD 7450 TORBRAM RD. MISSISSAUGA ON L4T 1G9
                                     CANADA
RUSH, BLAKE                          ADDRESS ON FILE
RUSH, DANIEL                         ADDRESS ON FILE
RUSH, DAVID                          ADDRESS ON FILE
RUSH, DWIGHT                         ADDRESS ON FILE
RUSH, GARRY                          ADDRESS ON FILE
RUSH, JAMES                          ADDRESS ON FILE
RUSH, JASON                          ADDRESS ON FILE
RUSH, JOHNNY                         ADDRESS ON FILE
RUSH, PRESTON                        ADDRESS ON FILE
RUSH, TED                            ADDRESS ON FILE
RUSHER, GREG W                       ADDRESS ON FILE
RUSHFORD, KENNETH A                  ADDRESS ON FILE
RUSHFORD, SAMANTHA                   ADDRESS ON FILE
RUSHIN, CATHY                        ADDRESS ON FILE
RUSHIN, KATLYN                       ADDRESS ON FILE
RUSHING, JOHNATHAN                   ADDRESS ON FILE
RUSHING, KEVIN                       ADDRESS ON FILE
RUSHING, PATRICK                     ADDRESS ON FILE
RUSHTON, CHRISTOPHER                 ADDRESS ON FILE
RUSHVILLE COLLISION CENTER           115 EAST LAFAYETTE RUSHVILLE IL 62681
RUSIELEWICZ, ANTHONY                 ADDRESS ON FILE
RUSINIAK SERVICE INC                 2210 OLD UNION RD BUFFALO NY 14227
RUSINIAK SERVICE INC                 2210 OLD UNION ROAD CHEEKTOWAGA NY 14227
RUSINIAK SERVICE INC                 2916 UNION ROAD BUFFALO NY 14227
RUSKIN                               TRANS INTERNATIONAL N93 W 16288 MEGAL DR MENOMONEE FALLS WI 53051
RUSKY TRANSPORT INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RUSOS LOGISTICS INC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
RUSS DIESEL INC                      PO BOX 291198 DAVIE FL 33329
RUSS EXPRESS INC                     OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
RUSS WHELAN DOORS & ACCESS SYSTEMS   P.O. BOX 119 BENSALEM PA 19020
RUSS, TROY                           ADDRESS ON FILE
RUSSELL D BEAUDRIE                   ADDRESS ON FILE
RUSSELL E BROWN                      ADDRESS ON FILE
RUSSELL EAST                         ADDRESS ON FILE
RUSSELL G SHACKELFORD                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1655 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1664 of 2156

Claim Name                           Address Information
RUSSELL HARDWARE & SUPPLY CO         3185 MILLBRANCH MEMPHIS TN 38116
RUSSELL L PAYNE                      ADDRESS ON FILE
RUSSELL LOGISTICS LLC                OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
RUSSELL SIGLER                       ADDRESS ON FILE
RUSSELL SIGLER INC                   C/O CTSI GLOBAL, 1 S PRESCOTT ST MEMPHIS TN 38111
RUSSELL TRANSPORT INC.               12365 PINE SPRINGS EL PASO TX 79928
RUSSELL TRUCK REPAIR                 PO BOX 9401 MONTGOMERY AL 36108
RUSSELL TRUCKING LLC                 OR TRAKKXPAY 1302 N COAST HWY 101 SUITE 201 ENCENITAS CA 92024
RUSSELL, AMY                         ADDRESS ON FILE
RUSSELL, AUSTIN                      ADDRESS ON FILE
RUSSELL, BRETT                       ADDRESS ON FILE
RUSSELL, BRIAN                       ADDRESS ON FILE
RUSSELL, BUTCH                       ADDRESS ON FILE
RUSSELL, CORY                        ADDRESS ON FILE
RUSSELL, COURTNEY                    ADDRESS ON FILE
RUSSELL, CURTIS                      ADDRESS ON FILE
RUSSELL, DEXTER                      ADDRESS ON FILE
RUSSELL, DOMINIC                     ADDRESS ON FILE
RUSSELL, DONALD                      ADDRESS ON FILE
RUSSELL, GREGORY                     ADDRESS ON FILE
RUSSELL, JAMES                       ADDRESS ON FILE
RUSSELL, JARRED                      ADDRESS ON FILE
RUSSELL, JENNIFER                    ADDRESS ON FILE
RUSSELL, JESSICA                     ADDRESS ON FILE
RUSSELL, JOHN                        ADDRESS ON FILE
RUSSELL, JOHN                        ADDRESS ON FILE
RUSSELL, JUSTIN                      ADDRESS ON FILE
RUSSELL, KAREN                       ADDRESS ON FILE
RUSSELL, KAYSEE                      ADDRESS ON FILE
RUSSELL, KEVIN                       ADDRESS ON FILE
RUSSELL, LAVERNE                     ADDRESS ON FILE
RUSSELL, LAWRENCE                    ADDRESS ON FILE
RUSSELL, LAWRENCE                    ADDRESS ON FILE
RUSSELL, LEONARD                     ADDRESS ON FILE
RUSSELL, MARK                        ADDRESS ON FILE
RUSSELL, MARVIN                      ADDRESS ON FILE
RUSSELL, MATTHEW                     ADDRESS ON FILE
RUSSELL, MICHAEL                     ADDRESS ON FILE
RUSSELL, MICHAEL                     ADDRESS ON FILE
RUSSELL, MICHAEL S                   ADDRESS ON FILE
RUSSELL, PAUL                        ADDRESS ON FILE
RUSSELL, PHILIP                      ADDRESS ON FILE
RUSSELL, REAGAN                      ADDRESS ON FILE
RUSSELL, SHERRIE                     ADDRESS ON FILE
RUSSELL, STEVE                       ADDRESS ON FILE
RUSSELL, TANYA                       ADDRESS ON FILE
RUSSELL, TERRY                       ADDRESS ON FILE
RUSSELL, THOMAS                      ADDRESS ON FILE
RUSSELL, TONY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1656 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1665 of 2156

Claim Name                            Address Information
RUSSELL, TRENT                        ADDRESS ON FILE
RUSSELL, TYLER                        ADDRESS ON FILE
RUSSELL, TYRONE                       ADDRESS ON FILE
RUSSELL, VONDA                        ADDRESS ON FILE
RUSSELLS EASY TRUCKING LLC            OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
RUSSELLS ENTERPRISES LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
RUSSELLS PEST CONTROL                 10908 MCBRIDE LANE KNOXVILLE TN 37932
RUSSELLS SALES AND SERVICES           738 ELEANOR INDUSTRIAL PARK ELEANOR WV 25070
RUSSELLS SALES AND SERVICES           ATTN: HALLIE RUSSELL, PO BOX 937 POCA WV 25159
RUSSIK, RONALD                        ADDRESS ON FILE
RUSSILLO, CHRISTOPHER                 ADDRESS ON FILE
RUSSO TRANSPORT SERVICES, LLC         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RUSSO, ANTHONY                        ADDRESS ON FILE
RUSSO, ANTHONY                        ADDRESS ON FILE
RUSSO, DANIEL                         ADDRESS ON FILE
RUSSO, DANIEL C                       ADDRESS ON FILE
RUSSVET TRUCKING LLC                  5593 ROAD 6PT9 NE MOSES LAKE WA 98837
RUST & SONS TRUCKING, INC.            15353 OLDE HWY 80 EL CAJON CA 92021
RUST BELT TRANSPORTATION LLC          413 MAYAPPLE CT ROCHESTER HLS MI 48307-5228
RUST, TERRY                           ADDRESS ON FILE
RUST, WESLEY                          ADDRESS ON FILE
RUSTIC MOVERS LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RUSTIC WOOD FLOOR SUPPLY              10020 E MONTGOMERY AVE STE 1A SPOKANE VALLEY WA 99206
RUSTIN E BROWN                        ADDRESS ON FILE
RUSTOLEM CORP                         AMERICAN TRUCK & RAIL AUDITS, PO BOX 278 NORTH LITTLE ROCK AR 72115
RUSTON PAVING CO. INC.                6216 THOMPSON RD SYRACUSE NY 13206
RUSTY M GILE                          ADDRESS ON FILE
RUSTY YORK                            ADDRESS ON FILE
RUSTYS TOWING SERVICE INC             4845 OBETZ REESE RD COLUMBUS OH 43207
RUSTYS WEIGH SCALES & SERVICE, INC.   408 N INTERSTATE 27 LUBBOCK TX 79403
RUTAN, VALORIE                        ADDRESS ON FILE
RUTENBERG, MARK                       ADDRESS ON FILE
RUTER, DAVID                          ADDRESS ON FILE
RUTH LORRAINE CARLSON                 ADDRESS ON FILE
RUTH M MOSCOVITCH                     ADDRESS ON FILE
RUTH SCHERRER PRODUCTIONS, LLC        6515 NW BLAIR ROAD PARKVILLE MO 64152
RUTH TRANSPORT LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
RUTH TRANSPORT LLC                    6600 STETTER DR ARLINGTON TX 76001-7557
RUTH, DEANNA                          ADDRESS ON FILE
RUTHER, STEVEN                        ADDRESS ON FILE
RUTHERFORD, CALEB                     ADDRESS ON FILE
RUTHERFORD, DEAN A                    ADDRESS ON FILE
RUTHERFORD, DEAN A                    ADDRESS ON FILE
RUTHERFORD, DUVERNE                   ADDRESS ON FILE
RUTHERFORD, JAMES                     ADDRESS ON FILE
RUTHERFORD, JAMIE                     ADDRESS ON FILE
RUTHERFORD, JAY                       ADDRESS ON FILE
RUTHERFORD, LEONARD                   ADDRESS ON FILE
RUTHERFORD, MICHAEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1657 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1666 of 2156

Claim Name                           Address Information
RUTHERFORD, NICHOLAS                 ADDRESS ON FILE
RUTHRAUFF SERVICE LLC                PO BOX 645404 PITTSBURGH PA 15264
RUTHRUFF, ELIZABETH                  ADDRESS ON FILE
RUTKOSKI FENCING INC.                324 DENNISON STREET SWOYERSVILLE PA 18704
RUTKOWSKI, RONALD                    ADDRESS ON FILE
RUTKOWSKI, STEVEN                    ADDRESS ON FILE
RUTKOWSKI, THEODORE                  ADDRESS ON FILE
RUTLEDGE, DARIUS                     ADDRESS ON FILE
RUTLEDGE, DONNY                      ADDRESS ON FILE
RUTOM ENTERPRISES LLC                2216 N 16TH ST PHILADELPHIA PA 19132
RUTSCHKE, CLIFFORD                   ADDRESS ON FILE
RUVALCABA, ALBERTO                   ADDRESS ON FILE
RUVALCABA, GONZALO                   ADDRESS ON FILE
RUVALCABA, JOSE                      ADDRESS ON FILE
RUVALCABA, OSVALDO                   ADDRESS ON FILE
RUVALCABA, RAMON                     ADDRESS ON FILE
RUVO, ANTONIO                        ADDRESS ON FILE
RUYBAL, MATTHEW                      ADDRESS ON FILE
RUZYCKI, CHRISTOPHER                 ADDRESS ON FILE
RV                                   3610 NE 174TH AVE VANCOUVER WA 98682
RV CARRIERS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
RV GLOBAL INC                        OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
RV LOGISTICS LLC                     OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
RV STAR TRUCKING LTD                 13337 67A AVE SURREY BC V3W 7R6 CANADA
RV STAR TRUCKING LTD                 OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
RV STATION                           1104 NW STALLINGS DR. NACOGDOCHES TX 75964
RV TRUCKING                          OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
RV WORLD STORAGE                     1101 W SAN MARCOS BOULEVARD SAN MARCOS CA 92078
RVC TRANSPORTATION LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
RVG EXPRESS, INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
RVK EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
RVL TRANSPORTATION INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
RVM TRUCKING LLC                     OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
RVN LOGISTICS INC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
RVR FROZEN TRANSPORTATION, LLC       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
RVS EXPRESS INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
RVS TRUCKING LLC                     8732 FRUITRIDGE RD 703 SACRAMENTO CA 95826
RW AMERICAN TRANSPORT INC            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
RW LOGISTICS AND TRANSPORT LLC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
RWC ENTERPRISES                      PO BOX 3721 NASHUA NH 03061
RWC GROUP                            600 NORTH 75TH AVENUE PHOENIX AZ 85043
RWC GROUP                            FRED M. BOEMER MOTOR CO ACCOUNTS RECEIVABLE 600 N 75TH AVE PHOENIX AZ 85043
RWC GROUP                            3620 E FLORENCE AVE HUNTINGTON PARK CA 90255
RWC GROUP                            13123 48TH AVENUE S SEATTLE WA 98168
RWC GROUP                            2312 MILWAUKEE WAY TACOMA WA 98421
RWC GROUP                            3801 S CUSHMAN ST FAIRBANKS AK 99701
RWC INTERNATIONAL                    13123 48TH AVE S SEATTLE WA 98168
RWC INTERNATIONAL LTD                600 N 75TH AVE PHOENIX AZ 85043



Epiq Corporate Restructuring, LLC                                                               Page 1658 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1667 of 2156

Claim Name                           Address Information
RWC INTERNATIONAL LTD                7880 SANDLEWOOD PL ANCHORAGE AK 99507
RWJ UNIVERSITY HOSPITAL HAMILTON     1 HAMILTON HEALTH PLACE HAMILTON NJ 08690
RWL LOGISTICS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
RWOY TRUCKING INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
RWP MANITOBA LTD                     SUITE 2900 201 PORTAGE WINNIPEG MB R3B 3K6 CANADA
RWP MANITOBA LTD.                    ATTN: W. A. REDEKOPP 201 PORTAGE AVENUE SUITE 2900 WINNIPEG MB R3B 3K6 CANADA
RWR                                  65670 TOMICH RD MASON WI 54856
RWR TRUCKING LLC                     22857 N 83RD AVE PEORIA AZ 85383
RXB ROADTRADIING INC                 928 ANDERSON WAY SAN GABRIEL CA 91776
RXM XPRESS, LLC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
RXO                                  ATTN: JIM JOSLYN 4725 LAKEHURST CT BOX 6 DUBLIN OH 43016
RXO                                  PO BOX 736945 DALLAS TX 75373-6945
RXO CAPACITY SOLUTIONS               ATTN: ANGIE BLANKENSHIP 4725 LAKEHURST DR BOX 6 DUBLIN OH 43016
RXO CORPORATE SOLUTIONS LLC          ATTN: ANGIE BLANKENSHIP 4725 LAKEHURST DR BOX 6 DUBLIN OH 43016
RXO CORPORATE SOLUTIONS, LLC         ATTN: ANGIE BLANKENSHIP PO BOX 736945 DALLAS TX 75373-6945
RXX TRANSPORTATION LLC               OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
RY, BORINN                           ADDRESS ON FILE
RYABOKON, DMITRY                     ADDRESS ON FILE
RYABOKON, DMITRY                     ADDRESS ON FILE
RYAN A SOBOTTA                       ADDRESS ON FILE
RYAN D DIAL                          ADDRESS ON FILE
RYAN D TARONE                        ADDRESS ON FILE
RYAN EXCAVATING INC                  PO BOX 632 SIKESTON MO 63801
RYAN FALL - FW                       ADDRESS ON FILE
RYAN GOTTFREDSON                     ADDRESS ON FILE
RYAN HERCO                           ADDRESS ON FILE
RYAN J DONAGHY                       ADDRESS ON FILE
RYAN J VERDONE                       ADDRESS ON FILE
RYAN L LACEY                         ADDRESS ON FILE
RYAN LAW FIRM PLLC                   P.O. BOX 802882 DALLAS TX 75380
RYAN LLC                             PO BOX 848351 DALLAS TX 75284
RYAN LOGISTICS, INC.                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
RYAN M PENGE                         ADDRESS ON FILE
RYAN M STERMER                       ADDRESS ON FILE
RYAN ROSE TRUCKING INC.              24840 EDENVALE TRAIL ELKO NEW MARKET MN 55020
RYAN S BOLING                        ADDRESS ON FILE
RYAN SPEERS                          ADDRESS ON FILE
RYAN SPEERS                          ADDRESS ON FILE
RYAN SPEERS                          ADDRESS ON FILE
RYAN V STROUP                        ADDRESS ON FILE
RYAN, ANTHONY                        ADDRESS ON FILE
RYAN, CHRISTOPHER                    ADDRESS ON FILE
RYAN, COLIN                          ADDRESS ON FILE
RYAN, DANIEL                         ADDRESS ON FILE
RYAN, DAVID                          ADDRESS ON FILE
RYAN, DION                           ADDRESS ON FILE
RYAN, GARRISON                       ADDRESS ON FILE
RYAN, GENE                           ADDRESS ON FILE
RYAN, GEORGE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1659 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1668 of 2156

Claim Name                            Address Information
RYAN, JAMES                           ADDRESS ON FILE
RYAN, JOHN                            ADDRESS ON FILE
RYAN, LESLIE                          ADDRESS ON FILE
RYAN, MICHAEL                         ADDRESS ON FILE
RYAN, PATSY                           ADDRESS ON FILE
RYAN, ROBERT                          ADDRESS ON FILE
RYAN, ROBIN                           ADDRESS ON FILE
RYAN, SHAWN                           ADDRESS ON FILE
RYAN, THOMAS                          ADDRESS ON FILE
RYAN, WILBUR                          ADDRESS ON FILE
RYANS 24/7 TRUCK REPAIR               971 N. SERVICE RD. WEST SAINT CLAIR MO 63077
RYANS AUTOMOTIVE & AUTO BODY REPAIR   615 ELM ST BUHL ID 83316
RYBA, NEIL                            ADDRESS ON FILE
RYBAK, ERIC                           ADDRESS ON FILE
RYBAT, ROBERT                         ADDRESS ON FILE
RYBERG PLUMBING LLC                   3425 FRANKLIN AVE WACO TX 76710
RYBERG, PAUL                          ADDRESS ON FILE
RYBICKI TRUCKING CO., INC.            9365 N PARMA ROAD SPRINGPORT MI 49284
RYBICKI, JENNIFER                     ADDRESS ON FILE
RYDER                                 SUBARU 39550 13 MILE RD NOVI MI 48377
RYDER                                 P.O. BOX 402366 ATLANTA GA 30384
RYDER                                 2715 N BENDIX SOUTH BEND IN 46628
RYDER                                 11690 N W 105TH ST MIAMI FL 33178
RYDER                                 ATTN: GENERAL COUNSEL 11690 NW 105TH STREET MIAMI FL 33178
RYDER                                 RYDER, PO BOX 209022 DALLAS TX 75063
RYDER INTEGRATED LOGISTICS INC        ATTN: JOANA RIOS 13599 PARK VISTA BLVD FORT WORTH TX 76177
RYDER LAST MILE                       ATTN: JANICE VINES 7795 WALTON PKWY CLAIMS DEPT NEW ALBANY OH 43054
RYDER LAST MILE                       ATTN: NICHOL HUFFMAN 7795 WALTON PKWY CLAIMS DEPT NEW ALBANY OH 43054
RYDER LAST MILE                       ATTN: SARAH STEWART 4TH FLOOR / DEPT 400 7795 WALTON PKWY NEW ALBANY OH 43054
RYDER LAST MILE                       ATTN: SHAWNETTA BROOKS 7795 WALTON PKWY CLAIMS DEPT NEW ALBANY OH 43054
RYDER RENTAL C/O LADS PET SUPPLY      1701 EDEN EVANS CENTER ROAD ANGOLA NY 14006
RYDER TRANSPORTATION SERVICES         D/B/A: RYDER TRANSPORTATION PO BOX 96723 CHICAGO IL 60693
RYDER TRANSPORTATION SERVICES         PO BOX 96723 CHICAGO IL 60693
RYDER TRANSPORTATION SERVICES         D/B/A: RYDER TRANSPORTATION LOCKBOX FILE 056347 LOS ANGELES CA 90074
RYDER TRANSPORTATION SERVICES         LOCKBOX FILE 056347 LOS ANGELES CA 90074
RYDER TRUCK RENTAL CANADA LTD         PO BOX 6416 STN TERMINAL VANCOUVER BC V6B6R3 CANADA
RYDER, LARRY M                        ADDRESS ON FILE
RYDZEWSKI, MARIUSZ                    ADDRESS ON FILE
RYGG, RICKEY                          ADDRESS ON FILE
RYINES, MERVIN F                      ADDRESS ON FILE
RYKBOS, STEVEN M                      ADDRESS ON FILE
RYLES LOGISTICS LLC                   2293 CEDAR MILL DR SW CONYERS GA 30094-6150
RYMER, SCOTT                          ADDRESS ON FILE
RYMER, TIMOTHY                        ADDRESS ON FILE
RYNEARSON, MICHAEL                    ADDRESS ON FILE
RYPE LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
RYSON INTERNATIONAL INC               300 NEWSOME DR YORKTOWN VA 23692
RYSTROM, AUGUST                       ADDRESS ON FILE
RYSTROM, BENJAMIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1660 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1669 of 2156

Claim Name                           Address Information
RZECZYCKI, CHASE                     ADDRESS ON FILE
RZECZYCKI, MARIO                     ADDRESS ON FILE
RZONE TRANS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
RZS EXPRESS LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
RZX CORP                             OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
RZYCKI, THOMAS                       ADDRESS ON FILE
S & A LOGISTICS TRAINING LLC         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S & A TRANSPORT INC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
S & B ENTERTAINMENT                  1535 N BROADWAY SAINT LOUIS MO 63102
S & B LOGISTICS LLC                  OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
S & B PLUMBING                       691 N. 2075 W. SUITE A MARRIOTT-SLATERVILLE UT 84404
S & D FAYAD INC                      4312 SOUTH CHESTNUT AVE FRESNO CA 93725
S & D TRANSPORT INC                  PO BOX 607 CRANBURY NJ 08512
S & E SANCHEZ TRANSPORT              OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
S & F BROTHERS CORPORATION           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
S & G BROTHERS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
S & H EXPRESS INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
S & H EXPRESS, INC.                  PO BOX 3613 YORK PA 17402
S & H TRUCKING 1 LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
S & H TRUCKING, INC.                 PO BOX 2570 CHATTANOOGA TN 37409
S & J BEST SPECIALIZED HAULING INC   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
S & J TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
S & J TRANSPORTATION LLC             OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
S & J TRUCKING LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
S & K ASPHALT & CONCRETE INC         2245 MANCHESTER RD AKRON OH 44314
S & K INTERNATIONAL INC              OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
S & K TRUCKING LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
S & M LOGISTICS LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
S & M REPAIR LLC                     400 EAST HORTON COLBY KS 67701
S & N HOTSHOTS LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
S & P TRUCKING                       OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
S & R TRUCKING (MC891119)            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S & R TRUCKING SVCS LLP              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S & R TRUCKLINE INC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
S & S CARRIERS LLC                   PO BOX 252, PO BOX 252 RIPLEY TN 38063
S & S CARRIERS LLC (MC1359462)       PO BOX 8158 EVANSVILLE IN 47716-8158
S & S GORAYA LTD                     OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
S & S LINE LLC                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
S & S LOGISTICS INC                  OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
S & S LOGISTICS LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
S & S LOGISTICS LLC (MC1151602)      OR PHOENIX CAPITAL GROUP, PO BOX 145 DES MOINES IA 50305
S & S LOGISTICS SERVICES LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
S & S MECHANICAL                     4008 S 1630 E STE 3 ST GEORGE UT 84770
S & S SHEETMETAL, INC.               912 ANTELOPE RD WHITE CITY OR 97503
S & S SPRINKLER COMPANY, LLC         P O BOX 7453 MOBILE AL 36670
S & S TRANSPEDITION INC              1234 HUBER LANE GLENVIEW IL 60025
S & S TRANSPORT LLC                  2743 S BARTELLS DR BELOIT WI 53511
S & S TRANSPORT, INC.                2975 N WASHINGTON ST GRAND FORKS ND 58203



Epiq Corporate Restructuring, LLC                                                               Page 1661 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1670 of 2156

Claim Name                            Address Information
S & S TRANSPORTERS, INC.              155 RED HOLLOW RD MAX MEADOWS VA 24360
S & S TRUCK SPECIALTIES               403 35 RD PALISADE CO 81526
S & S TRUCKING                        OR RIVIERA FINANCE OF CALIFORNIA PO BOX 848062 LOS ANGELES CA 90084-8062
S & T TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
S & T TRUCK REPAIR INC                PO BOX 250 BATTLE GROUND WA 98604
S & T TRUCKING SERVICE, INC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
S & T US INC                          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
S & W SERVICES INC                    6057 CORPORATE DR STE 3 EAST SYRACUSE NY 13057
S & W TOWING                          2559 JONESBORO RD SE ATLANTA GA 30315
S 4 LOGISTICS INC                     OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                      76116
S A ASTUDILLO CORP                    21 FLORIDA AVE MEDFORD NY 11763
S A COMUNALE CO INC                   2900 NEWPARK DR, PO BOX 150 BARBERTON OH 44203
S A D TRUCKING LLC                    OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
S A EXPRESS INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
S A F TRANSPORTATION LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
S A N TRUCKING LLC                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
S AND B EXPRESS CORPORATION           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
S AND H TRUCKING LLC                  335 MANSFIELD AVE SALT LAKE CITY UT 84115
S AND J PROPERTY MAINTENANCE          608 CAYUTA AVE SUITEB WAVERLY NY 14892
S AND J PROPERTY MAINTENANCE          C/O RUPP BAASE PFALZGRAF CUNNINGHAM LLC ATTN: MARCO CERCONE, ESQ 1600 LIBERTY
                                      BUILDING BUFFALO NY 14202
S AND K MAC TRUCKING LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S AND U ROBINSON LOGISTICS LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
S B S TRANSPORT INC                   PO BOX 491 TRACY CA 95378
S B TRUCKING LTD.                     S B TRUCKING LTD., 202-8299 129TH STREET SURREY BC V3W0A6 CANADA
S C STATE TRANSPORT POLICE            PO BOX 1993 BLYTHEWOOD SC 29016
S C TRANSPORT                         5833 EAST GROVE AVE FRESNO CA 93727
S D C TRANSPORT CORPORATION           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
S D TRANSPORTATION                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
S D TRUCK WORLD INC                   617 ANNA DR YUBA CITY CA 95993
S DHILLON TRUCKING INC                9029 BRAMBLEWOOD WAY ELK GROVE CA 95758-6005
S E A TRANSPORT INC                   3 MCFARLIN COURT GERMANTOWN MD 20874
S E L TRANSPORT, INC                  OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
S ENNIS TRUCKING LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
S F T                                 2231 TREVA WAY GREENWOOD IN 46143
S G K TRUCKING LLC                    OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
S H EXPRESS LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
S H HAUGHTON TRUCKING/MOVING CO LLC   36 LESLEY LANE NEW CASTLE DE 19720
S H LOGISTICS LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
S H TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
S H TRUCKING LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
S J SMITH CO INC                      3707 W RIVER DR DAVENPORT IA 52802
S K EXPRESS INC                       8694 PRAIRIE FROST LANE LEWIS CENTER OH 43035
S K LOGISTICS INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
S M SAN MARCOS TRANSPORT INC          OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
S MARTIN TRUCKING LLC                 OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
S MICHAEL FREIGHT                     1607 WATER LILY LN CERES CA 95307
S N S HAULING LLC                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148



Epiq Corporate Restructuring, LLC                                                                Page 1662 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1671 of 2156

Claim Name                              Address Information
S P RICHARDS                            1815 BEGGROW ST. LOCKBOURNE OH 43137
S P RICHARDS                            INDUSTRIAL TRANSPORTATION CONSULT 6140 CENTRAL CHURCH DOUGLASVILLE GA 30133
S P RICHARDS                            ATTN: LANA MOSKVICH 1100 ANDOVER PARK W TUKWILA WA 98188
S P RICHARDS                            ATTN: SVETLANA MOSKVICH 1100 ANDOVER PARK W TUKWILA WA 98188
S P RICHARDS CO WOODLAND                2190 HANSON WAY WOODLAND CA 95776
S P RICHARDS COMPANY                    24 WES WARREN DR MIDDLETOWN NY 10941
S P RICHARDS COMPANY                    INDUSTRIAL TRANSPORTATION CONSULT 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
S PORCIC TRUCKING INC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
S R Z TRANSPORTATION LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
S RUMI ENTERPRISES LLC                  OR BIG BROTHER FINANCIAL, P.O. BOX 1949 SUGAR LAND TX 77487-1949
S S CARGO LTD                           OR T-PINE FINANCIAL SVCS 6050 DIXIE ROAD MISSISSAUGA MB L5T1A6 CANADA
S S D TRUCKING                          OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
S S E TRANSPORT LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
S S GILL EXPRESS                        OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                        ANGELES CA 90074
S S J LOGISTICS LLC                     1359 WOODLANE ROAD EASTAMPTON NJ 08060
S S J TRANSPORT LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
S S LOGISTICS LTD                       OR T-PINE FINANCIAL SVCS 6050 DIXIE ROAD MISSISSAUGA ON L5T1A6 CANADA
S S LUBANA INC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
S SODHI TRUCKING INC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S SOSA TRUCKING LLC                     OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674
S T BROS, INC.                          P O BOX 9426 FRESNO CA 93792
S US EXPRESS LLC                        OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
S Y S LOGISTICS INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
S&A HOTSHOT SVCS LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S&A LOGISTIC LLC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
S&A LOGISTICS LLC                       8333 FOOTHILL BLVD SUITE 100 RANCHO CUCAMONGA CA 91730
S&A TRANSPORT INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S&A TRANSPORTATION SOLUTIONS, LLC       420 QUARRY ROCK CIR KISSIMMEE FL 34758-4360
S&A TRUCKING EXPRESS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
S&B LOGISTICS AND TRANSPORT LLC         7236 COBBLECREEK DR MATTHEWS NC 28104-8640
S&B LOGISTICS EXPRESS LLC               OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                        UT 84130
S&B TRANSPORTATION LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
S&C EXPRESS LLC                         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S&E TRANSPORTATIONS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
S&G DISCOUNT OUTLET                     2206 PLAZA DR STE 400 ROCKLIN CA 95765
S&H TRUCKING, INC.                      PO BOX 939 ROSSVILLE GA 30741
S&J ROADSIDE SERVICE, LLC               145 NEWTON BRIDGE INDUSTRIAL WAY ATHENS-CLARKE GA 30607
S&M CARRIER INC                         OR GENERAL BUS. CREDIT 110 E. 9THST, SUITE C-900 LOS ANGELES CA 90079
S&M DIESEL TOWING LLC                   9457 N 4800 W ELWOOD UT 84337
S&M FREIGHT SOLUTIONS                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
S&M NYC TRANSPORTATION LLC              OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
S&M TRANSPORT LTD                       OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA AB L3V 6L4
                                        CANADA
S&M&H XPRESS LLC                        OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S&ME, INC                               PO BOX 277523 ATLANTA GA 30384
S&O WHOLESALE                           3445 AIRWAY DR STE A RENO NV 89512
S&P HOT SHOT LLC                        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
S&R REPAIRS TOWING AND RECOVERY, INC.   PO BOX 824 MILESBURG PA 16853


Epiq Corporate Restructuring, LLC                                                                  Page 1663 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1672 of 2156

Claim Name                               Address Information
S&R TOWING LLC                           PO BOX 250 CAMERON WI 54822
S&R TRANS LLC                            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
S&S ACTIVEWEAR C/O ECHO GLOBAL           ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
S&S DISERCA                              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
S&S FREIGHT INC                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
S&S LT TRANSPORT LLC                     OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
S&S PAVING LTD                           STE 245 1231 PACIFIC BLVD VANCOUVER BC V6Z 0E2 CANADA
S&S SUPPLIES & SOLUTIONS                 WORLDWIDE EXPRESS 2323 VICTORY AVE STE 1600 DALLAS TX 75219
S&S TRANSPORT                            ATTN: BRIAN SENG 2975 N WASHINGTON STREET GRAND FORKS ND 58203
S&S TRANSPORT 1 INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S&S TRANSPORT LOGISTICS                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
S&S TRANSPORT USA                        OR LOOKOUT CAPITAL LLC, P.O. BOX 161124 ATLANTA GA 30321-1124
S&S TRUCKING                             OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
S&S TRUCKING & TRANSPORTATION SVCS LLC   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
S&S TRUCKLINE, INC                       4221 W. SIERRA MADRE STE 101 FRESNO CA 93722
S&T FREIGHTLINE LLC                      OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
S&T PLUMBING INC                         804 W SHADY GROVE IRVING TX 75060
S&T QUALITY TRANSPORT                    10818 W SADDLEHORN RD PEORIA AZ 85383
S&T TRANSPORT, INC.                      4830 N CUMBERLAND AVE, SUITE 2 NORRIDGE IL 60706
S&V EXPRESS SERVICES LLC                 OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
S&W LOGISTICS INC                        OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
S&W MANUFACTURING INCORPORATED           ATTN: FRANKIE HYMAN 1901 N IRBY ST FLORENCE SC 29501
S&Y TRANSPORT LOGISTICS                  14331 LAKEPOINTE BEND LN CYPRESS TX 77429
S&Y TRUCKING                             OR RTS FINANCIAL SVC IN PO BOX 840267 DALLAS TX 75284-0267
S&Y TRUCKING                             12965 SAN FERNANDO RD SYLMAR CA 91342
S&Z TRUCKING LLC                         OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
S-CARGO TRANSPORTATION INC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
S-D-R TRUCKING INC                       317 PROVIDENCE RD OXFORD NC 27565
S-LINE LLC                               PO BOX 732269 DALLAS TX 75373
S-T EXPEDITED LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
S. B. T.                                 4521 AMBRISTER DR BAKERSFIELD CA 93313
S. C. & J. TRANSPORT                     1270 US 23 SOUTH ROGERS CITY MI 49779
S. CUE TRANSPORTATION, LLC               OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
S.C.I. DOOR                              1118-A N. 6TH AVE YAKIMA WA 98902
S.H.I. INC.                              111 RICKENBACKER ROAD NORTH SIOUX CITY SD 57049
S.J. CONNER AND SONS,INC                 1639 SEIBEL DR NE ROANOKE VA 24012
S.N.G. TRUCKING, INC.                    3807, W.26TH ST CHICAGO IL 60623
S.O.A SVCS                               OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
S.O.T. FREIGHT HAULERS INC.              OR PROVIDENT COMMERCIAL FINANCE, LLC PO BOX 11407, DEPT 2659 BIRMINGHAM AL
                                         35246-2659
S.W. PHELPS JR. FREIGHT INSPECTIONS      883 NEW LONDON HARBOUR PASADENA MD 21122
S/T BANCROFT ELECTRIC                    25020 STATE RD 2 SOUTH BEND IN 46619
S2 TRANSPORT INC                         OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
S2D EXPRESS INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
S2K LOGISTICS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SA CARRIER LLC                           OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SA COMUNALE CO INC                       2900 NEWPARK DR BARBERTON OH 44203
SA CONSUMER PRODUCTS INC                 ATTN: DENISE PERTELL 3305 W 132ND STREET LEAWOOD KS 66209
SA LOGISTICS INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                  Page 1664 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1673 of 2156

Claim Name                          Address Information
SA TRUCKING LOGISTICS INC           1310 S WHIPPLE CT SPOKANE VALLEY WA 99206
SA-SO                               521 N GREAT SOUTHWEST PKWY ARLINGTON TX 76011
SA-SO                               525 N GREAT SOUTHWEST PKWY ARLINGTON TX 76011
SA1                                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SAAB TRANSPORT                      7855 ORCHID COURT WEST CHESTER TOWNSHIP OH 45069
SAAJA TRUCKING & TRANSPORTATION     OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
SAARSAI CARRIER INC                 OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAAV LOGISTICS INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
SAAVEDRA, KEVIN                     ADDRESS ON FILE
SAAVEDRA, LUIS                      ADDRESS ON FILE
SAAVEDRA, RODOLFO                   ADDRESS ON FILE
SABA EXPRESS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SABA SOFTWARE (CANADA) INC          LOCKBOX T60075U, PO BOX 66512 CHICAGO IL 60666
SABA TRANSPORT LLC                  OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
SABA TRANSPORT LLC (MC1151716)      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SABA TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SABALA, NICHOLAS                    ADDRESS ON FILE
SABAR TRANSPORTATION LLC            1007 HARRIET ST CARLISLE PA 17013
SABERT CORP                         2088 PLAINSTREET SAYREVILLE NJ 08872
SABIA, FRANK                        ADDRESS ON FILE
SABIC INNOVATIVE PLASTICS           C/O ODYSSEY LOGISTICS ATTN: CLAIMS DEPT PO BOX 19749 CHARLOTTE NC 28219
SABIC INNOVATIVE PLASTICS           1 PLASTIC DRIVE, ATTN: MARSHA HARRIS LOWNDESBORO AL 36752
SABIL & SONS INC                    PO BOX 1039 WHITE RIVER JUNCTION VT 05001
SABIN, KEN                          ADDRESS ON FILE
SABLAN, LINDLEY                     ADDRESS ON FILE
SABLE TRUCKING SVCS LLC             OR FINANCIAL CARRIER SVCS PO BOX 151052 OGDEN UT 84415
SABLOSKY, MARC A                    ADDRESS ON FILE
SABR LOGISTICS INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SABRE TRANSPORT LLC                 OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SABUR LLC                           OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
SACCO, RICHARD                      ADDRESS ON FILE
SACCONE, ANTHONY                    ADDRESS ON FILE
SACHA, JOSIAH                       ADDRESS ON FILE
SACHTJEN, JESSICA                   ADDRESS ON FILE
SACIIDYARE LLC                      OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
SACKMAN STAMP & STENCIL CO INC      395 W. EXCHANGE ST. FRONT AKRON OH 44302
SACKMAN, BRYAN                      ADDRESS ON FILE
SACKOWSKI IV, CHESTER               ADDRESS ON FILE
SACKS HOLDINGS INC                  ATTN: TRACY GREENLEE 11440 W BERNARDO CT STE 250 SAN DIEGO CA 92127
SACRAMENTO AUTO TRUCK CO            525 GALVESTON WEST SACRAMENTO CA 95691
SACRAMENTO COUNTY TAX COLLECTOR     PO BOX 508 SACRAMENTO CA 95812
SACRAMENTO COUNTY UTILTIES          9700 GOETHE RD, STE C SACREMENTO CA 95827
SACRAMENTO TRUCK CENTER             100 OPPORTUNITY ST SACRAMENTO CA 95838
SACRED CARRIERS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SACRED HEART CHURCH                 2700 S. SHARTEL AVE. OKLAHOMA CITY OK 73109
SADANNAS TRANSPORTATION LLC         OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SADAQ TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SADAQ TRUCKING LLC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SADDLE UP EXPRESS, INCORPORATED     OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996



Epiq Corporate Restructuring, LLC                                                            Page 1665 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1674 of 2156

Claim Name                              Address Information
SADDLER MCQUEEN, JIMMY                 ADDRESS ON FILE
SADDORIS, JAMES                        ADDRESS ON FILE
SADE, JEFFREY                          ADDRESS ON FILE
SADIKU TRANSPORT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SADLER AUTO DIESEL REPAIR              112 OAK TREE LANE SADLER TX 76264
SADLER BROS. TRUCKING & LEASING CO INC. 436 ENOS REED DRIVE NASHVILLE TN 37210
SADLER, JAMARIUS                       ADDRESS ON FILE
SADLER, JAMES                          ADDRESS ON FILE
SADLER, JAMES W                        ADDRESS ON FILE
SADLER, KELLY                          ADDRESS ON FILE
SADLER, TERRELL                        ADDRESS ON FILE
SADOR LLC                              OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
SADOWSKI, STANLEY                      ADDRESS ON FILE
SADURBIN TRUCKING LLC                  PO BOX 791 MATTOON IL 61938
SAE LOGISTICS LLC                      OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320
SAE PSYCHOLOGICAL                      1409B 2ND STREET SW CALGARY AB T2R 0W7 CANADA
SAENGPHACHANH, AIR                     ADDRESS ON FILE
SAENZ, BRIAN                           ADDRESS ON FILE
SAENZ, JOSE                            ADDRESS ON FILE
SAENZ, MARION                          ADDRESS ON FILE
SAENZ, RAMON                           ADDRESS ON FILE
SAENZ, REBECCA                         ADDRESS ON FILE
SAEPHAN, ZACHARY                       ADDRESS ON FILE
SAF LOGISTICS                          OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE QC L4L 8E3 CANADA
SAFA LOGISTICS LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAFAR TRUCKING LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SAFARI EXPEDITE LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SAFARI EXPRESS                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SAFARI EXPRESS LLC                     OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
SAFARI LOGISTICS LLC                   4410 OGLETHORPE ST APT 612 HYATTSVILLE MD 20781-1560
SAFARI LOGISTICS LLC (MC1176458)       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SAFARI MERCHANT LOGISTICS LLC          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFARI TRUCKING LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFARY                                 OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
SAFDARI, MANOCHEHR                     ADDRESS ON FILE
SAFE & SECURE TRANSPORTATION INC       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SAFE & SOUND LOGISTICS LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SAFE AND FAST TRUCKING LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFE AND RELIABLE TRUCKING LLC         OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
SAFE CALL TRUCKING LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAFE CARGO TRANS LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SAFE CARGO TRUCKING USA CORP           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SAFE DELIVERY TRANSPORTATION LLC       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFE DRIVE FREIGHT SYSTEM INC          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAFE EXPRESS LLC (MC1278844)           OR TBS FACTORING SVC LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SAFE FREIGHT INC                       40 SCHOOL ST EVERETT MA 02149
SAFE FREIGHT LLC                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SAFE GO DELIVERIES LLC                 OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SAFE HOUSE LOGISTICS LLC               OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350



Epiq Corporate Restructuring, LLC                                                                 Page 1666 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1675 of 2156

Claim Name                           Address Information
SAFE LANES TRANSPORTATION LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SAFE LINE INC                        OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
SAFE LINE TRACK INC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SAFE LOADS BROKERING LLC             OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SAFE LOADS EXPRESS INC               455 GRANITE CREEK DRIVE ROLESVILLE NC 27571
SAFE LOGISTICS INC (MC045681)        OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SAFE LOGISTICS LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAFE ON TIME DELIVERY, LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SAFE PLAY USA LLC                    ATTN: APRILL MCDOWELL 1014 S OAK AVE MINERAL WELLS TX 76067
SAFE PRO TRANSPORT LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SAFE ROAD CARRIER INC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SAFE ROUTE LLC                       OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
SAFE SPACE LOGISTICS LLC             OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SAFE TRADE LOGISTICS LLC             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
SAFE TRANSPORT LLC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAFE TRIP TRANSPORT LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFE TRUCK TRANSPORT LLC             OR TRANSPORT FACTORING, INC PO BOX 167648 IRVING TX 75016
SAFE TRUCKERS INC                    OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
SAFE WAY CARRIER LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SAFEANDVAULTSTORE.COM LLC            101 N UNIVERSITY SPOKANE VALLEY WA 99206
SAFEBEE TRANSPORTATION LLC           121 161ST PL SW LYNNWOOD WA 98087
SAFEBUILT LLC                        3755 PRECISION DRIVE SUITE 140 LOVELAND CO 80538
SAFECO TRUCKLINES LTD                18150 96TH AVE SURREY BC V4N 4B1 CANADA
SAFEGUARD LOGISTICS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAFELINE FREIGHT LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFELITE AUTO GLASS                  RUAN TRANSPORT, PO BOX 9319 DES MOINES IA 50306
SAFELITE AUTOGLASS                   40 INDUSTRY LANE WATERBURY CT 06704
SAFELITE AUTOGLASS                   1260 SCOTTSVILLE RD ROCHESTER NY 14624
SAFELITE AUTOGLASS                   PO BOX 633197 CINCINNATI OH 45263
SAFELITE AUTOGLASS                   DBA: SAFELITE AUTOGLASS AUTO, GLASS SPECIALISTS CINCINNATI OH 45263-3197
SAFELITE AUTOGLASS                   900 METROPOLITAN AVE OKLAHOMA CITY OK 73108
SAFELITE AUTOGLASS                   619 E SAM HOUSTON PKWY S PASADENA TX 77503
SAFELITE AUTOGLASS                   1251 AMERICAN PACIFIC DR HENDERSON NV 89074
SAFELITE AUTOGLASS                   4325 N BRAWLWY AVE FRESNO CA 93722
SAFELITE AUTOGLASS - LUBBOCK         506 E 44TH. ST. LUBBOCK TX 79404
SAFELITE FULFILLMENT, INC.           D/B/A: SAFELITE AUTOGLASS PO BOX 633197 CINCINNATI OH 45263
SAFELITE FULFILLMENT, INC.           PO BOX 633197 CINCINNATI OH 45263
SAFELITE FULFILLMENT, INC.           D/B/A: SAFELITE AUTOGLASS DBA: GLASS SPECIALISTS CINCINNATI OH 45263-3197
SAFER TRANSPORTATION INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAFER TRUCKING INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAFETEC OF AMERICA                   887 KENSINGTON AVE BUFFALO NY 14215
SAFETOW                              P O BOX 431724 HOUSTON TX 77243
SAFETY CONTROL LLC                   PO BOX 271 MOUNT PLEASANT TX 75456
SAFETY CONTROL LLC                   1201 7TH ST SULPHUR SPRINGS TX 75482
SAFETY DELIVERY TRUCKING LLC         OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAFETY DELIVERY TRUCKING LLC         5601 SAN DARIO AVE SUITE 3A LAREDO TX 78041
SAFETY FIRST TRUCKING LLC            OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SAFETY MAX CORPORATION               PO BOX 71365 ALBANY GA 31708



Epiq Corporate Restructuring, LLC                                                             Page 1667 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1676 of 2156

Claim Name                             Address Information
SAFETY WAY INC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SAFETY-KLEEN CANADA INC                PO BOX 15221 STATION A TORONTO ON M5W 1C1 CANADA
SAFETY-KLEEN SYSTEMS                   PO BOX 975201 DALLAS TX 75397
SAFETY-KLEEN SYSTEMS INC               42 LONGWATER DR. NORWELL MA 02061
SAFETY-KLEEN SYSTEMS INC               PO BOX 382066 PITTSBURGH PA 15250
SAFETY-KLEEN SYSTEMS INC               PO BOX 650509 DALLAS TX 75265
SAFETY-KLEEN SYSTEMS INC               P.O. BOX 975201 DALLAS TX 75397
SAFETY-KLEEN SYSTEMSINC                1722 COOPER CREEK RD DENTON TX 76208
SAFETY-QUIP, INC.                      4950 GETWELL MEMPHIS TN 38118
SAFEWAY DELIVERY SERVICE               PO BOX 393 COLUMBIA MD 21045
SAFEWAY INDIANA LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SAFEWAY SIGN COMPANY                   9875 YUCCA RD ADELANTO CA 92301
SAFEWAY TRANSPORTATION INC             OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087
SAFEWAY TRUCK LINES LLC                OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAFEWAY TRUCKING INC (LOUISVILLE KY)   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SAFEWAY TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SAFEX TRANSPORT                        216 RUE DE LAFFLUENT VAUDREUIL DORION QC J7V 0E3 CANADA
SAFEX TRANSPORT INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SAFEXPRESS LLC                         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SAFFO TRANSPORT LLC                    16673 SHINNECOCK DR MACOMB MI 48042-6206
SAFFOLD, JOY                           ADDRESS ON FILE
SAFFON, AARON                          ADDRESS ON FILE
SAFFRON SYSTEMS, INC                   OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFI TRANSPORT LLC                     OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
SAFI, SABER SHAH                       ADDRESS ON FILE
SAFOU & TEMBO TRANSPORT LLC            OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
SAFRAN CABIN MATERIALS LLC.            12806 STATE AVE MARYSVILLE WA 98271
SAFRIT, DENNIS                         ADDRESS ON FILE
SAFT TRANSPORTATION-SAFT               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAFT, WILLIAM                          ADDRESS ON FILE
SAFTARI, RAZEK                         ADDRESS ON FILE
SAFY EXPRESS LLC                       OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAGA TRANSPORT LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SAGADO, ERIK                           ADDRESS ON FILE
SAGANA TRANSPORTS LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SAGASTUME, JOSE                        ADDRESS ON FILE
SAGE ASH INC                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SAGE PRODUCTS                          3909 THREE OAKS RD CARY IL 60013
SAGE PRODUCTS                          ATTN: NATHAN SALVESEN 3909 THREE OAKS RD CARY IL 60013
SAGE, PHILLIP                          ADDRESS ON FILE
SAGER, JOSEPH                          ADDRESS ON FILE
SAGGI TRUCKING INC                     1811 HARDIAL DR YUBA CITY CA 95993
SAGINAW EXPEDITED LLC                  OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                       76116
SAGITTARIUS TRANSPORT LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAGITTARIUS TRUCKING LLC               3322 SUGARBERRY DR AUGUSTA GA 30909
SAGR LLC                               OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SAGUINSIN, DANTE                       ADDRESS ON FILE
SAHARA TRANSPORTS LLC                  OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101



Epiq Corporate Restructuring, LLC                                                                 Page 1668 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1677 of 2156

Claim Name                           Address Information
SAHARA TRUCKING                      OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SAHARA TRUCKING INC                  OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SAHARA TRUCKING LLC                  814 WASHINGTON AVE PHILADELPHIA PA 19147
SAHARA TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAHAWNEH, AMJAD                      ADDRESS ON FILE
SAHEBZADA, MUSTAFA                   ADDRESS ON FILE
SAHI EXPRESS LTD                     227 KINGKNOLL DR BRAMPTON ON L6Y 8E3 CANADA
SAHI, FAMIE                          ADDRESS ON FILE
SAHIB EXPRESS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SAHIB TRANSPORT INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SAHIL LOGISTICS LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SAHOTA BROS TRANS INC                1176 CARMELITA AVENUE CLOVIS CA 93619
SAHOTA INC                           3250 BRISTLECONE CT WHITELAND IN 46184
SAHOTA SERVICES LLC                  498 SAWGRASS DRIVE FAIRLAWN OH 44333
SAHOTA TRUCKING                      752 BLUE JAY WAY PITTSBORO IN 46167
SAIA                                 11465 JOHNS CREEK PKWY, STE 400 JOHNS CREEK 30097
SAIA MOTOR FREIGHT                   104 WOODLAWN RD. HOUMA LA 70363
SAIA MOTOR FREIGHT LINE LLC          ATTN: GYPSY PITRE P O BOX A, STA 1 HOUMA LA 70361
SAIA, MARGARET                       ADDRESS ON FILE
SAIC USA                             ATTN: NICOLE TUCKER ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL
                                     60654
SAICAM LOGISTICS INC                 OR TAB BANK, PO BOX 150830 OGDEN UT 84415
SAIDI, MOSTAFA                       ADDRESS ON FILE
SAIFI USA LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SAIKI, JOHN                          ADDRESS ON FILE
SAILFISH LOGISTICS LLC               OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
SAILORS GROUP LTD                    110 WATER RIDGE PATH, 0 WINNIPEG MB R2R 0P8 CANADA
SAIMON, KIMIEO                       ADDRESS ON FILE
SAIN, SCOTT                          ADDRESS ON FILE
SAIN, WAYNE                          ADDRESS ON FILE
SAINCY ENTERPRISE LLC                OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SAINCY ENTERPRISE LLC                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SAINI TRANS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SAINI, GURLAL                        ADDRESS ON FILE
SAINSANOY, TERRY                     ADDRESS ON FILE
SAINT CYR, EVANS                     ADDRESS ON FILE
SAINT FLINA TRUCKING LLC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SAINT FRANCIS HEALTHCARE             SYSTEM, PO BOX 801143 KANSAS CITY MO 64180-1143
SAINT GOBAIN ABRASIVES               ATTN: MICHELLE SMITH INTUNE LOGISTICS CLAIMS 208 ADLEY WAY GREENVILLE SC 29607
SAINT JACOB TRUCKING LLC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAINT PAUL TRUCKING LLC              OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
SAINT-CLAIR, RALPH                   ADDRESS ON FILE
SAINTNORVIL, COSTOVRE                ADDRESS ON FILE
SAINTUCH N NLOMBE                    6890 WOODVIEW CT APT D REYNOLDSBURG OH 43068
SAINZ FAMILY TRUCKING LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
SAIR COLLECTIVE                      ADDRESS ON FILE
SAIZ, DEON                           ADDRESS ON FILE
SAKADA TRANSPORTATION LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SAKEN TRANSPORTATION INC             OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH



Epiq Corporate Restructuring, LLC                                                               Page 1669 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1678 of 2156

Claim Name                           Address Information
SAKEN TRANSPORTATION INC             45263-9565
SAKOW EXPRESS LLC                    OR CONCEPT FINANCIAL GROUP INC PO BOX 490700 MINNEAPOLIS MN 55449
SAKRAIDA, JACOB                      ADDRESS ON FILE
SAKUN, NAPH                          ADDRESS ON FILE
SAL TRANSPORT INC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SAL-TRANS EXPRESS INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SALAGAJ, CLAYTON                     ADDRESS ON FILE
SALAH ILEIWAT                        ADDRESS ON FILE
SALAM TRANSPORT, INC.                OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SALAMA EXPRESS LLC                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
SALAMON, JEFFREY                     ADDRESS ON FILE
SALANOA, CHAD                        ADDRESS ON FILE
SALANOA, DUANE                       ADDRESS ON FILE
SALAS SPECIALIZED TRANSPORT LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SALAS TRUJILLO, MIKEL                ADDRESS ON FILE
SALAS, ANGEL                         ADDRESS ON FILE
SALAS, FERNANDO                      ADDRESS ON FILE
SALAS, GUSTAVO                       ADDRESS ON FILE
SALAS, HOMAR                         ADDRESS ON FILE
SALAS, ISMAEL                        ADDRESS ON FILE
SALAS, JASMIN                        ADDRESS ON FILE
SALAS, JAVIER                        ADDRESS ON FILE
SALAS, JESUS                         ADDRESS ON FILE
SALAS, JOSE                          ADDRESS ON FILE
SALAS, JOSE A                        ADDRESS ON FILE
SALAS, JUSTIN M                      ADDRESS ON FILE
SALAS, MAYRA                         ADDRESS ON FILE
SALAS, MINDI                         ADDRESS ON FILE
SALAS, STEVEN                        ADDRESS ON FILE
SALASNY, STEVEN                      ADDRESS ON FILE
SALAVEC, CHRISTOPHER                 ADDRESS ON FILE
SALAZAR CORTES, GUILLERMO            ADDRESS ON FILE
SALAZAR DIESEL LLC                   23114 RIVERCANE SHADOW TRL SPRING TX 77373
SALAZAR, ABEL                        ADDRESS ON FILE
SALAZAR, ALEXANDER                   ADDRESS ON FILE
SALAZAR, ANDRES                      ADDRESS ON FILE
SALAZAR, ANTHONY                     ADDRESS ON FILE
SALAZAR, BRIAN                       ADDRESS ON FILE
SALAZAR, CARLOS                      ADDRESS ON FILE
SALAZAR, DANIEL                      ADDRESS ON FILE
SALAZAR, DANIEL                      ADDRESS ON FILE
SALAZAR, DANIEL                      ADDRESS ON FILE
SALAZAR, DAVID                       ADDRESS ON FILE
SALAZAR, DAVID                       ADDRESS ON FILE
SALAZAR, DAVID                       ADDRESS ON FILE
SALAZAR, DOUGLAS P                   ADDRESS ON FILE
SALAZAR, HECTOR                      ADDRESS ON FILE
SALAZAR, JOHN                        ADDRESS ON FILE
SALAZAR, JOSHUA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1670 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1679 of 2156

Claim Name                           Address Information
SALAZAR, JUAN                        ADDRESS ON FILE
SALAZAR, JUAN M                      ADDRESS ON FILE
SALAZAR, LAZARO                      ADDRESS ON FILE
SALAZAR, MARC                        ADDRESS ON FILE
SALAZAR, MARIO                       ADDRESS ON FILE
SALAZAR, MICHAEL                     ADDRESS ON FILE
SALAZAR, MIRANDA                     ADDRESS ON FILE
SALAZAR, MIRANDA                     ADDRESS ON FILE
SALAZAR, RANDY                       ADDRESS ON FILE
SALAZAR, RICHARD                     ADDRESS ON FILE
SALAZAR, RUDOLPH                     ADDRESS ON FILE
SALAZAR, STEVEN                      ADDRESS ON FILE
SALAZAR, VICTOR                      ADDRESS ON FILE
SALAZAR-KUTSCHER, ETHELEEN           ADDRESS ON FILE
SALBA LOGISTICS L. L. C.             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SALCA EXPRESS LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SALCEDO, ENRIQUE                     ADDRESS ON FILE
SALCEDO, JOSE                        ADDRESS ON FILE
SALCEDO, SALVADOR                    ADDRESS ON FILE
SALCEDO, SOCRATES                    ADDRESS ON FILE
SALCIDO, JESUS                       ADDRESS ON FILE
SALCO TRUCK AND TRAILER REPAIR LLC   341 S COUNTRY ESTATES RD LIBERAL KS 67901
SALDANA, ABEL                        ADDRESS ON FILE
SALDANA, GABRIEL                     ADDRESS ON FILE
SALDANA, JOSE                        ADDRESS ON FILE
SALDANA, MARIO                       ADDRESS ON FILE
SALDANA, OSCAR                       ADDRESS ON FILE
SALDANA, TAWNY                       ADDRESS ON FILE
SALDANHA, DR COLIN                   ADDRESS ON FILE
SALDIVAR ARRIAGA, JAIME              ADDRESS ON FILE
SALDIVAR JR., RAMIRO                 ADDRESS ON FILE
SALDIVAR, ADAM G                     ADDRESS ON FILE
SALDIVAR, DAVID                      ADDRESS ON FILE
SALDIVAR, DAVID                      ADDRESS ON FILE
SALDIVAR, INEZ                       ADDRESS ON FILE
SALDIVAR, TRINIDAD M                 ADDRESS ON FILE
SALE, APA                            ADDRESS ON FILE
SALE, TIAI                           ADDRESS ON FILE
SALEH, DOAA                          ADDRESS ON FILE
SALEM EXPRESS LLC                    138 MASSMAN MANOR DRIVE NASHVILLE NY 37217
SALEM FORK CHRISTIANCHURCH           2490 WHITE DIRT RD DOBSON 27017
SALEM TOOLS                          ATTN: TODD TOMLIN 1602 MIDLAND RD SALEM VA 24153
SALERNO, HARRY                       ADDRESS ON FILE
SALES & USE TAX                      PO BOX 840 JEFFERSON CITY MO 65105
SALES LOGISTICS LLC                  OR NATIONWIDE TRANSPORT FINANCE P.O. BOX 81860 LAS VEGAS NV 89180-1860
SALES ONE LLC                        16 FITCH ST NORWALK CT 06855
SALES TRUCKING LLC                   OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SALES, ALVARO                        ADDRESS ON FILE
SALES, JEFF                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1671 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1680 of 2156

Claim Name                           Address Information
SALESFORCE.COM INC                   PO BOX 203141 DALLAS TX 75320
SALFER, RYAN                         ADDRESS ON FILE
SALFI, JOHN                          ADDRESS ON FILE
SALGADO ELITE TRANSPORTATION LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SALGADO PEREZ, LUIS                  ADDRESS ON FILE
SALGADO TRANSPORT LLC                22329 W MAGNOLIA ST BUCKEYE AZ 85326
SALGADO, BALFRE                      ADDRESS ON FILE
SALGADO, ERIC                        ADDRESS ON FILE
SALGADO, MARTIN                      ADDRESS ON FILE
SALGADO, OTONIEL                     ADDRESS ON FILE
SALGADO, TEODORO                     ADDRESS ON FILE
SALGADO-LOERA, ANGEL                 ADDRESS ON FILE
SALGER, CHRIS                        ADDRESS ON FILE
SALI TRANSPORT LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SALI TRANSPORTATION LLC              OR SMARTTRUCKER, LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
SALINA TERMINAL LLC                  505 GRAVES BLVD, PO BOX 856 SALINA KS 67401
SALINA TERMINAL LLC                  ATTN MORRIE, PO BOX 856 SALINA KS 67402
SALINA TRUCKING INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SALINAS III, ROSENDO                 ADDRESS ON FILE
SALINAS, ANDREW                      ADDRESS ON FILE
SALINAS, EDWIN                       ADDRESS ON FILE
SALINAS, JOSE                        ADDRESS ON FILE
SALINAS, RITA                        ADDRESS ON FILE
SALINAS, RUBEN                       ADDRESS ON FILE
SALINAS, SAUL                        ADDRESS ON FILE
SALINE COUNTY TREASURER              300 W ASH ST, PO BOX 5040 SALINA KS 67402
SALISBURY, ARRON                     ADDRESS ON FILE
SALISBURY, FRANKLIN                  ADDRESS ON FILE
SALISBURY, NEDRA                     ADDRESS ON FILE
SALISBURY, NICHOLAS                  ADDRESS ON FILE
SALKA, COREY                         ADDRESS ON FILE
SALLEE, ADAM                         ADDRESS ON FILE
SALLEE, JASON                        ADDRESS ON FILE
SALLEE, TIMOTHY                      ADDRESS ON FILE
SALLEY, JOHN                         ADDRESS ON FILE
SALLEY, JOHN                         ADDRESS ON FILE
SALLEY, MARVIN                       ADDRESS ON FILE
SALLIS, KIRK                         ADDRESS ON FILE
SALLY BEAUTY                         ATTN: DONNA LIGOROTIS PO BOX 90219 DENTON TX 76202
SALLY MCCOY                          ADDRESS ON FILE
SALMAN LOGISTICS LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SALMAN TRANSPORTATION LLC            OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SALMERON, LUKE                       ADDRESS ON FILE
SALMON RIVER STAGES INC              PO BOX 2166 POCATELLO ID 83206
SALMON, KELSEY                       ADDRESS ON FILE
SALMON, MARANDO                      ADDRESS ON FILE
SALMON, SAMUEL                       ADDRESS ON FILE
SALOMON, JAIME                       ADDRESS ON FILE
SALOMON, JESSE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1672 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1681 of 2156

Claim Name                             Address Information
SALONE JR, KIRT                        ADDRESS ON FILE
SALONE, LONNELL                        ADDRESS ON FILE
SALONE, R L                            ADDRESS ON FILE
SALONEN, LARRY                         ADDRESS ON FILE
SALSER, LOWELL                         ADDRESS ON FILE
SALSTAR EXPRESS LLC                    8866 INLET BLUFF DRIVE JACKSONVILLE FL 32216
SALT LAKE AIR COMPRESSORS INC          2440 S 3200 W STE 6 WEST VALLEY CITY UT 84119
SALT LAKE CITY CORPORATION             FIRE PREVENTION, PO BOX 145520 SALT LAKE CITY UT 84114
SALT LAKE CITY CORPORATION             PO BOX 145458 SALT LAKE CITY UT 84114
SALT LAKE CITY PUBLIC UTILITES         155 S WEST TEMPLE SALT LAKE CITY UT 84115
SALT LAKE COUNTY ASSESSOR              2001 S STATE ST, 2300A SALT LAKE CITY UT 84190
SALT LAKE COUNTY TREASURER             UTAH STATE CAPITOL COMPLEX 350 NORTH STATE ST, 120 STATE CAPITOL SALT LAKE
                                       CITY UT 84114
SALT LAKE COUNTY TREASURER             UTAH STATE CPITOL COMPLEX SALT LAKE CITY UT 84114
SALT LAKE WHOLESALE SPORTS             3331 S 300 W SALT LAKE CITY UT 84115
SALTARELLI, THERESA                    ADDRESS ON FILE
SALTAS, JEANNE                         ADDRESS ON FILE
SALTENIS, RONALD                       ADDRESS ON FILE
SALTER TRUCKING, LLC                   PO BOX 357 GEORGETOWN GA 39854
SALTER, BEN                            ADDRESS ON FILE
SALTER, BEN                            ADDRESS ON FILE
SALTER, SHAWN                          ADDRESS ON FILE
SALTERS, RICKY                         ADDRESS ON FILE
SALTOS, JOEL                           ADDRESS ON FILE
SALTS, RONALD                          ADDRESS ON FILE
SALU LOGISTICS LLC                     OR PHOENIX CAPITAL GROUP LLC PO BOX 1415 DES MOINES IA 50305
SALU TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SALUM, HAJI                            ADDRESS ON FILE
SALVADOR M ROSALES                     ADDRESS ON FILE
SALVADOR M ROSALES                     ADDRESS ON FILE
SALVADOR TRANSPORT                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SALVATIERRA, JOSE                      ADDRESS ON FILE
SALVATORE A CAPASSO                    ADDRESS ON FILE
SALVINO, DANIEL                        ADDRESS ON FILE
SALVOSA, PAUL                          ADDRESS ON FILE
SALWAN, NITIN                          ADDRESS ON FILE
SALYAN TRANSPORT INC                   OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
SALYARS, DONALD                        ADDRESS ON FILE
SALYER, JIMMY                          ADDRESS ON FILE
SALYER, RANDALL                        ADDRESS ON FILE
SALYER, STEVEN                         ADDRESS ON FILE
SALYER, TIMOTHY                        ADDRESS ON FILE
SALYERS, BRYAN                         ADDRESS ON FILE
SALZ, THOMAS                           ADDRESS ON FILE
SALZANO, SUSAN                         ADDRESS ON FILE
SAM & SUSAN MATHEW                     ADDRESS ON FILE
SAM - B LOGISTICS TRANSPORTATION LTD   OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
SAM AUTO TRANS LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAM CARGO INC                          654 DODY DR MANTECA CA 95337



Epiq Corporate Restructuring, LLC                                                               Page 1673 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1682 of 2156

Claim Name                             Address Information
SAM CARRIER CORP                       OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SAM CITY LLC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAM D DILL                             ADDRESS ON FILE
SAM DRY FRUITS & NUTS ENTERPRI         ATTN: OFIRA DAYAN ATTN: SAMEET PATEL 2613 REMBRANDT PL MODESTO CA 95356
SAM EXPRESS LLC (FEDERAL WAY, WA)      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAM HOLT                               ADDRESS ON FILE
SAM KOCH CARGO LLC                     OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAM KOCH CARGO LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SAM LINES INC                          OR ENGLAND CARRIER SVCS PO BOX 953086 ST LOUIS MO 63195-3086
SAM ROARY JR                           ADDRESS ON FILE
SAM T TRUCKING LLC                     OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
SAM TRUCKING INC                       OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAM TRUCKING INC (MC855549)            OR TBS FACTORING SVC LLC PO BOX 151052 OGDEN UT 84415
SAM TRUCKING LLC (MC734896)            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAM TRUCKS                             OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
SAM TRUCKS                             2395 SOUTH BETTE AVE FRESNO CA 93727
SAM, ABOU                              ADDRESS ON FILE
SAM, REN                               ADDRESS ON FILE
SAM, ROBERT                            ADDRESS ON FILE
SAM, VANESSA                           ADDRESS ON FILE
SAM-WAYS EXPRESS                       OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074-1791
SAMAD & KHALIL TRACKING LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SAMAD TRANSPORTATION INC               3131 S MAIN ST MIDDLETOWN OH 45044
SAMAD TRANSPORTATION INC (MC1293216)   OR REVEOLUTION CAPITAL 27 ROYTEC RD UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
SAMAD, SIDDIQ                          ADDRESS ON FILE
SAMAFALE EXPRESS LLC                   OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
SAMANGY EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAMANIEGO, KEVIN                       ADDRESS ON FILE
SAMANIEGO, LORENA                      ADDRESS ON FILE
SAMANO TRANSPORT                       OR LOVES SOLUTIONS, LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SAMANTHA GOSSETT                       ADDRESS ON FILE
SAMANTHA SPRINGS                       ADDRESS ON FILE
SAMAOY A TRANS, INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAMAR ENTERPRISES LLC                  1525 KENNESAW MOUNTAIN DRIVE MISHAWAKA IN 46544
SAMAR TRANSPORT INC                    5738 THOMPSON PARK BLVD INDIANAPOLIS IN 46237
SAMARDZIC, RAMIZ                       ADDRESS ON FILE
SAMARGO, TERRI                         ADDRESS ON FILE
SAMASS TRUCKING CO LLC                 OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
SAMBA HOLDINGS INC                     DEPT LA 24536 PASADENA CA 91185
SAMBA TRUCKING INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SAMBENNY LOGISTICS LTD                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SAMBORSKI, MATTHEW                     ADDRESS ON FILE
SAMCITY EXPRESS INC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SAMCITY EXPRESS INC (MC1140898)        OR COMPASS FUNDING SOLUTIONS PO BOOX 205154 DALLAS TX 75320-5154
SAMCO FREIGHT                          OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAMCO LINE INC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAME DAY DELIVERY INC                  3800 THREE MILE RD NW GRAND RAPIDS MI 49534
SAME DAY FREIGHT LLC                   117 E JEFFERSON SUITE D JACKSON MO 63755
SAMEDAY BACKFLOW SERVICE               10220 JEANE ROAD MANTECA CA 95336



Epiq Corporate Restructuring, LLC                                                                Page 1674 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1683 of 2156

Claim Name                               Address Information
SAMEX INC                                OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SAMFORD, MAX                             ADDRESS ON FILE
SAMHAN, JAMAL                            ADDRESS ON FILE
SAMI SONY TRANSPORTATION LLC             OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SAMI TRUCKING LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAMI TRUCKING LLC (MC1239675)            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SAMIN TRUCKING LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SAMJAM LOGISTICS LLC                     13523 GA HIGHWAY 315 CATAULA GA 31804
SAMJE LOGISTIC INC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SAMMARCO, RYAN                           ADDRESS ON FILE
SAMMARTINO, NICHOLAS                     ADDRESS ON FILE
SAMMONS, BARBARA                         ADDRESS ON FILE
SAMMONS, DARRIN                          ADDRESS ON FILE
SAMNNACHI LOGISTICS LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
SAMNUR INC                               OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAMO, JAMAL                              ADDRESS ON FILE
SAMOAN TRANSPORTATION LLC                OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
SAMOJLIK, WALTER                         ADDRESS ON FILE
SAMOL, MICHAEL                           ADDRESS ON FILE
SAMOLOVITCH, THOMAS                      ADDRESS ON FILE
SAMORA, PATRICK                          ADDRESS ON FILE
SAMOSHUK, PAVEL                          ADDRESS ON FILE
SAMP USA INC                             ATTN: DAVID GRAFF 10310 GOVERNOR LANE BLVD STE 6015 WILLIAMSPORT MD 21795
SAMP, MICHAEL                            ADDRESS ON FILE
SAMPLE ENTERPRISES INC                   3020 E LOCUST ST LAREDO TX 78043
SAMPLE KORP                              OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SAMPLE SECURITY AND INVESTIGATION INC.   1047 KUBLER TRL AKRON OH 44312
SAMPLES, ZACKERY B                       ADDRESS ON FILE
SAMPSELL, FRANK                          ADDRESS ON FILE
SAMPSELL, JAMES                          ADDRESS ON FILE
SAMPSON, CYNTHIA                         ADDRESS ON FILE
SAMPSON, DANIEL D                        ADDRESS ON FILE
SAMPSON, DAVID                           ADDRESS ON FILE
SAMPSON, ENGLISH                         ADDRESS ON FILE
SAMPSON, JIMMY                           ADDRESS ON FILE
SAMPSON, MICHAEL                         ADDRESS ON FILE
SAMPSON, ROBIN                           ADDRESS ON FILE
SAMPSON, TOMMY                           ADDRESS ON FILE
SAMRA TRANS GROUP                        1625 HOWARD RD APT 428 MADERA CA 93637
SAMRA TRANS INC (FAIRFIELD OH)           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAMRA TRANSPORT INC                      OR QUICK FREIGHT FACTOR INC PO BOX 203802 DALLAS TX 75320
SAMRA TRANSPORT INC                      1024 S MAPLE AVENUE MONTEBELLO CA 90640
SAMRA TRUCKING LLC                       43329 SILVERWOOD DR CANTON MI 48188
SAMRAM LLC                               OR RTS FINANCIAL SVC PO BOX 840267 DALLAS TX 75284
SAMREET TRANSPORT LTD                    13478 BRAMALEA ROAD CALEDON ON L7C 2P4 CANADA
SAMS 24 HR TOWING                        9500 FRANKLIN AVE FRANKLIN PK IL 60131
SAMS GROUP LLC                           OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAMS TIRE SERVICE INC                    PO BOX 554 BRISTOL IN 46507
SAMS TRUCKING LLC                        OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627



Epiq Corporate Restructuring, LLC                                                                 Page 1675 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1684 of 2156

Claim Name                               Address Information
SAMS TRUCKING SERVICES LLC               210 ANDOVER LANE LITITZ PA 17543
SAMS, RANDY                              ADDRESS ON FILE
SAMS, TERRENCE                           ADDRESS ON FILE
SAMSECH SOLUTIONS LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SAMSEL, JAMES                            ADDRESS ON FILE
SAMSELAM TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SAMSON, ANGELO                           ADDRESS ON FILE
SAMSON, SHELBY                           ADDRESS ON FILE
SAMSTAR TRANSPORT LLC                    OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SAMSTAR TRANSPORT LLC                    OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SAMSUNG                                  2PL ADVISORS LLC 999 CORPORATE DR STE 100 LADERA RANCH CA 92964
SAMSUNG                                  EXEL, PO BOX 2430 WESTERVILLE OH 43086
SAMSUNG ELECTRONICS                      C/O CLAIMS INSURANCE, 85 CHALLENGER RD RIDGEFIELD PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA              CLAIMS & INS. 7TH FLOOR, 85 CHALLENGER RD RIDGEFIELD PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA INC          ATTN: ANTHONY RICCI CLAIMS & INSURANCE - 7TH FL 85 CHALLENGER RD RIDGEFIELD
                                         PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA INC          ATTN: ELIZABETH HOYLE DORSEY C/O CLAIMS & INSURANCE 7TH FL 85 CHALLENGER RD
                                         RIDGEFIELD PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA INC          C/O CLAIMS & INSURANCE 7TH FL 85 CHALLENGER RD RIDGEFIELD PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA INC          CLAIMS AND INSURANCE 85 CHALLENGER RD 7TH FLOOR RIDGEFIELD PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA INC          CLAIMS AND INSURANCE 85 CHALLENGER RD RIDGEFIELD PARK NJ 07660
SAMSUNG ELECTRONICS AMERICA, INC         85 CHALLENGER RD RIDGEFIELD PARK NJ 07660
SAMTRANS LLC                             OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SAMU GROUP SERVICES INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SAMUEL A CONTRERAS                       ADDRESS ON FILE
SAMUEL GONZALEZ EXPRESS LLC              OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
SAMUEL J BRUCE JR                        ADDRESS ON FILE
SAMUEL J LARUE                           ADDRESS ON FILE
SAMUEL K ALDERSON                        ADDRESS ON FILE
SAMUEL LEE                               ADDRESS ON FILE
SAMUEL LUQUIS                            ADDRESS ON FILE
SAMUEL M ZIZZO                           ADDRESS ON FILE
SAMUEL SELLS MD                          ADDRESS ON FILE
SAMUEL STRAPPING                         ATTN: JANAU WASHINGTON ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                         60654
SAMUEL STRAPPING ECHO                    ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SAMUEL, ARION                            ADDRESS ON FILE
SAMUEL, LEROY                            ADDRESS ON FILE
SAMUELS, AARON                           ADDRESS ON FILE
SAMUELS, JOSEPH                          ADDRESS ON FILE
SAMUELS, KENNETH                         ADDRESS ON FILE
SAMUELSON, DONALD                        ADDRESS ON FILE
SAMWAN TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SAMYA LOGISTIC LLC                       OR OPERATION FINANCE INC, PO BOX 227352 DALLAS TX 75222-7352
SAN ANTONIO WATER SYSTEM                 2800 US HYW 281 N SAN ANTONIO TX 78212-3106
SAN BERNARDINO CNTY FIRE PROTECTION      157 W 5TH ST SECOND FLOOR \SAN BERNARDINO CA 92415
DIST
SAN BERNARDINO CO FIRE PROTECTION DIST   157 W 5TH ST 2ND FLOOR SAN BERNARDINO CA 92415
SAN BERNARDINO COUNTY                    268 WEST HOSPITALITY LANE, FIRST FLOOR SAN BERNARDINO CA 92415
SAN BERNARDINO COUNTY                    AGRICULTURE/WEIGHTS & MEASURES 777 EAST RIALTO AVENUE SAN BERNARDINO CA 92415


Epiq Corporate Restructuring, LLC                                                                 Page 1676 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1685 of 2156

Claim Name                              Address Information
SAN BERNARDINO COUNTY                   DEPTAGRICULTURE/WEIGHTS & MEASURES 777 EAST RIALTO AVENUE SAN BERNARDINO CA
                                        92415
SAN BERNARDINO COUNTY                   DIVISION OF WEIGHTS & MEASURES 777 EAST RIALTO AVE SAN BERNARDINO CA 92415
SAN BERNARDINO COUNTY FIRE DEPARTMENT   HAZARDOUS MATERIALS DIV 157 W 5TH ST 2ND FL SAN BERNARDINO CA 92415
SAN DIEGO BACKFLOW TESTING INC          2840 FLETCHER PARKWAY 207 EL CAJON CA 92020
SAN DIEGO CITY TREASURER                PO BOX 129009 SAN DIEGO CA 92112
SAN DIEGO COUNTY                        TREASURER TAX COLLECTOR PO BOX 129009 SAN DIEGO CA 92112
SAN DIEGO GAS & ELECTRIC                8330 CENTURY PARK CT SAN DIEGO CA 92123-1530
SAN DIEGO GENERAL CONTRACTING INC       5468 PRINCESS VIEW PL SAN DIEGO CA 92120
SAN GABRIEL VALLEY WATER CO             11142 GARVEY AVE EL MONTE CA 91733-2498
SAN JOAQUIN CNTY/TAX COLLECTOR          PO BOX 2169 STOCKTON CA 92501
SAN JOAQUIN CNTY/TAX COLLECTOR          COLLECTOR, PO BOX 2169 STOCKTON CA 95201
SAN JOAQUIN COUNTY                      ENVIRONMENTAL HEALTH DEPT 1868 E HAZELTON AVE STOCKTON CA 95205
SAN JOAQUIN COUNTY                      AGRICULTURE COMMISSIONER, WEIGHTS & MEASURES 2101 E. EARHART AVE, SUITE 100
                                        STOCKTON CA 95206
SAN JOAQUIN COUNTY                      WEIGHTS & MEASURES DIVISION 2101 E EARHART AVENUE STE 100 STOCKTON CA 95206
SAN JOAQUIN COUNTY/TAX COLLECTOR        PO BOX 2169 STOCKTON CA 95201
SAN JOSE WATER COMPANY                  110 W TAYLOR ST SAN JOSE CA 95110-2131
SAN JUAN, CYNTHIA                       ADDRESS ON FILE
SAN JUAN, JOHNNY                        ADDRESS ON FILE
SAN LEANDRO TOWING                      520 HARLAN ST SAN LEANDRO CA 94577
SAN LEANDRO TOWING                      549 HARLAN ST SAN LEANDRO CA 94577
SAN LUIS TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SAN LUIS, LAURENCE                      ADDRESS ON FILE
SAN MARCOS HAIR COMPANY                 225 N. LBJ DR. SAN MARCOS TX 78666
SAN MATEO COMMERCIALCENTER              5600 MCLEOD RD. NE ALBUQUERQUE NM 87121
SAN MATEO COUNTY ENVIRONMENTAL HEALTH   2000 ALAMEDA DE LAS PULGA SAN MATEO CA 94403
SAN ROMAN, JUAN                         ADDRESS ON FILE
SAN TAN HYUNDAI                         ADDRESS ON FILE
SAN TRANSPORT INC                       3994 SECRETARIAT STREET HARRISBURG PA 17112
SANAG STAR LLC                          OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SANARA TRUCKING LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SANBORN, MICHAEL                        ADDRESS ON FILE
SANBORN, TIMOTHY                        ADDRESS ON FILE
SANCHEZ CAIN, YESENIA                   ADDRESS ON FILE
SANCHEZ DELGADO, JUAN R                 ADDRESS ON FILE
SANCHEZ DELIVERY SERVICES LLC           3911 W LA MADRE WAY NORTH LAS VEGAS NV 89031
SANCHEZ FAMILY TRUCKING LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SANCHEZ GARCIA, HORACIO                 ADDRESS ON FILE
SANCHEZ GARCIA, HORACIO                 ADDRESS ON FILE
SANCHEZ HERNANDEZ, CHARLIE              ADDRESS ON FILE
SANCHEZ JR, ALFERDITO                   ADDRESS ON FILE
SANCHEZ LEYVA, PEDRO                    ADDRESS ON FILE
SANCHEZ LOPEZ, JOSUE                    ADDRESS ON FILE
SANCHEZ ORTIZ, OSVALDO                  ADDRESS ON FILE
SANCHEZ PUENTES GRANDES CORP            OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SANCHEZ SILVA, ALEXANDER                ADDRESS ON FILE
SANCHEZ TRUCKING                        OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
SANCHEZ, ALLEN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1677 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1686 of 2156

Claim Name                         Address Information
SANCHEZ, ANGEL                     ADDRESS ON FILE
SANCHEZ, BENJAMIN                  ADDRESS ON FILE
SANCHEZ, BERNARDO                  ADDRESS ON FILE
SANCHEZ, CEDRIC                    ADDRESS ON FILE
SANCHEZ, EDWIN                     ADDRESS ON FILE
SANCHEZ, EMILIO                    ADDRESS ON FILE
SANCHEZ, ERNEST                    ADDRESS ON FILE
SANCHEZ, EUGENE                    ADDRESS ON FILE
SANCHEZ, FRANCISCO                 ADDRESS ON FILE
SANCHEZ, GABINO                    ADDRESS ON FILE
SANCHEZ, GAIL                      ADDRESS ON FILE
SANCHEZ, GILBERT                   ADDRESS ON FILE
SANCHEZ, HUGO                      ADDRESS ON FILE
SANCHEZ, HUGO                      ADDRESS ON FILE
SANCHEZ, IGNACIO                   ADDRESS ON FILE
SANCHEZ, IRENE                     ADDRESS ON FILE
SANCHEZ, JAMES                     ADDRESS ON FILE
SANCHEZ, JERRY                     ADDRESS ON FILE
SANCHEZ, JESUS                     ADDRESS ON FILE
SANCHEZ, JESUS                     ADDRESS ON FILE
SANCHEZ, JESUS                     ADDRESS ON FILE
SANCHEZ, JOHN                      ADDRESS ON FILE
SANCHEZ, JORGE                     ADDRESS ON FILE
SANCHEZ, JOSE                      ADDRESS ON FILE
SANCHEZ, JOSE                      ADDRESS ON FILE
SANCHEZ, JOSEPH                    ADDRESS ON FILE
SANCHEZ, JOSEPH                    ADDRESS ON FILE
SANCHEZ, JOSHUA                    ADDRESS ON FILE
SANCHEZ, JUAN                      ADDRESS ON FILE
SANCHEZ, JUANA                     ADDRESS ON FILE
SANCHEZ, KELSEY                    ADDRESS ON FILE
SANCHEZ, LAZARO                    ADDRESS ON FILE
SANCHEZ, LAZARO                    ADDRESS ON FILE
SANCHEZ, LEON                      ADDRESS ON FILE
SANCHEZ, LLIMY                     ADDRESS ON FILE
SANCHEZ, MANUEL                    ADDRESS ON FILE
SANCHEZ, MANUEL                    ADDRESS ON FILE
SANCHEZ, MARIO                     ADDRESS ON FILE
SANCHEZ, MARIO                     ADDRESS ON FILE
SANCHEZ, MARIO                     ADDRESS ON FILE
SANCHEZ, MICHAEL                   ADDRESS ON FILE
SANCHEZ, MICHAEL                   ADDRESS ON FILE
SANCHEZ, MICHAEL                   ADDRESS ON FILE
SANCHEZ, NICOLAS                   ADDRESS ON FILE
SANCHEZ, OMAR                      ADDRESS ON FILE
SANCHEZ, ORLANDO                   ADDRESS ON FILE
SANCHEZ, PEDRO                     ADDRESS ON FILE
SANCHEZ, RAFAEL                    ADDRESS ON FILE
SANCHEZ, RAYMOND                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1678 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1687 of 2156

Claim Name                           Address Information
SANCHEZ, RAYMOND                     ADDRESS ON FILE
SANCHEZ, RICARDO                     ADDRESS ON FILE
SANCHEZ, ROBERTO                     ADDRESS ON FILE
SANCHEZ, ROLANDO                     ADDRESS ON FILE
SANCHEZ, RONNIE                      ADDRESS ON FILE
SANCHEZ, ROSENDO                     ADDRESS ON FILE
SANCHEZ, RUBEN                       ADDRESS ON FILE
SANCHEZ, RUDOLPH                     ADDRESS ON FILE
SANCHEZ, SALVADOR                    ADDRESS ON FILE
SANCHEZ, TRACEY                      ADDRESS ON FILE
SANCHEZ, VICTOR                      ADDRESS ON FILE
SANCHEZ, VINCENT                     ADDRESS ON FILE
SANCHEZ, VINCENT                     ADDRESS ON FILE
SANCHEZ, VINCENT D                   ADDRESS ON FILE
SANCHEZ, ZEFERINO                    ADDRESS ON FILE
SANCHIRICO, JOSEPH                   ADDRESS ON FILE
SANCHIRICO, JOSEPH                   ADDRESS ON FILE
SANCHO, DAN                          ADDRESS ON FILE
SANCHO, RUBY                         ADDRESS ON FILE
SANCTIFIED TRANSPORTATION            OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
SANDAIRE, ALEX                       ADDRESS ON FILE
SANDAU-BAKER, BRIDGETT               ADDRESS ON FILE
SANDEFUR, JEREMY                     ADDRESS ON FILE
SANDELL, JOHN                        ADDRESS ON FILE
SANDER, EDWARD                       ADDRESS ON FILE
SANDERFORD, ZACHARY                  ADDRESS ON FILE
SANDERS FREIGHT ENTERPRISES          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SANDERS SERVICE COMPANY              4721 HILLARD RD NO LITTLE ROCK AR 72118
SANDERS SERVICE COMPANY              D/B/A: SANDERS SERVICES COMPANY 4721 HILLARD RD NO LITTLE ROCK AR 72118
SANDERS SERVICES                     PO BOX 2062 DALY CITY CA 94017
SANDERS, ALLAN                       ADDRESS ON FILE
SANDERS, AMANDA                      ADDRESS ON FILE
SANDERS, AUNDREYA                    ADDRESS ON FILE
SANDERS, BLAKE                       ADDRESS ON FILE
SANDERS, BOBBY                       ADDRESS ON FILE
SANDERS, BREANNA                     ADDRESS ON FILE
SANDERS, BRENDA                      ADDRESS ON FILE
SANDERS, BRIAN                       ADDRESS ON FILE
SANDERS, BRIAN                       ADDRESS ON FILE
SANDERS, CHARLES                     ADDRESS ON FILE
SANDERS, CHRISTOPHER                 ADDRESS ON FILE
SANDERS, DALYA                       ADDRESS ON FILE
SANDERS, DANIEL                      ADDRESS ON FILE
SANDERS, DAVID                       ADDRESS ON FILE
SANDERS, DENINE                      ADDRESS ON FILE
SANDERS, DEON                        ADDRESS ON FILE
SANDERS, DERRICO                     ADDRESS ON FILE
SANDERS, DONALD                      ADDRESS ON FILE
SANDERS, DONNIE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1679 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1688 of 2156

Claim Name                          Address Information
SANDERS, DONNY                      ADDRESS ON FILE
SANDERS, EARL                       ADDRESS ON FILE
SANDERS, ELGIN                      ADDRESS ON FILE
SANDERS, EZEKIEL                    ADDRESS ON FILE
SANDERS, GREGGORY                   ADDRESS ON FILE
SANDERS, JAMES                      ADDRESS ON FILE
SANDERS, JAMES                      ADDRESS ON FILE
SANDERS, JAMES                      ADDRESS ON FILE
SANDERS, JEFFREY                    ADDRESS ON FILE
SANDERS, JEROME                     ADDRESS ON FILE
SANDERS, JIHAD                      ADDRESS ON FILE
SANDERS, JOHN                       ADDRESS ON FILE
SANDERS, JOHN                       ADDRESS ON FILE
SANDERS, JOMONYATTA                 ADDRESS ON FILE
SANDERS, JOSEPH                     ADDRESS ON FILE
SANDERS, JOSEPH                     ADDRESS ON FILE
SANDERS, JOSHUA                     ADDRESS ON FILE
SANDERS, JUSTIN                     ADDRESS ON FILE
SANDERS, KIMBERLEY                  ADDRESS ON FILE
SANDERS, KIMBERLY                   ADDRESS ON FILE
SANDERS, KRISTEN                    ADDRESS ON FILE
SANDERS, LARRY                      ADDRESS ON FILE
SANDERS, LONNIE                     ADDRESS ON FILE
SANDERS, MARGARET                   ADDRESS ON FILE
SANDERS, MATTHEW                    ADDRESS ON FILE
SANDERS, MICHAEL                    ADDRESS ON FILE
SANDERS, MICHAEL                    ADDRESS ON FILE
SANDERS, MILON                      ADDRESS ON FILE
SANDERS, NEAL                       ADDRESS ON FILE
SANDERS, RANDY                      ADDRESS ON FILE
SANDERS, RICHARD                    ADDRESS ON FILE
SANDERS, RONALD                     ADDRESS ON FILE
SANDERS, RONNIE                     ADDRESS ON FILE
SANDERS, RONNIE                     ADDRESS ON FILE
SANDERS, ROOSEVELT                  ADDRESS ON FILE
SANDERS, SAMUEL                     ADDRESS ON FILE
SANDERS, STEVEN                     ADDRESS ON FILE
SANDERS, SUSAN                      ADDRESS ON FILE
SANDERS, TAMARIS                    ADDRESS ON FILE
SANDERS, TERRELL                    ADDRESS ON FILE
SANDERS, TONY                       ADDRESS ON FILE
SANDERS, TONY                       ADDRESS ON FILE
SANDERS, TYRONE                     ADDRESS ON FILE
SANDERS, WILLIE                     ADDRESS ON FILE
SANDERS-DUPREE, JONATHAN            ADDRESS ON FILE
SANDERSON, JAMES                    ADDRESS ON FILE
SANDERSON, LAURA                    ADDRESS ON FILE
SANDERSON, SABRINA                  ADDRESS ON FILE
SANDERSON, TAMMY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1680 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1689 of 2156

Claim Name                           Address Information
SANDHEINRICH, ANTHONY                ADDRESS ON FILE
SANDHU BRO TRANSPORT INC             OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SANDHU BROS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SANDHU BROS TRANSLINE INC            OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SANDHU CARRIERS LLC                  18995 COREOPSIS TER LEESBURG VA 20176
SANDHU CARRIERS LLC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
SANDHU EXPRESS INC                   1865 HERNDON AVE STE K 628 CLOVIS CA 93611
SANDHU EXPRESS LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SANDHU NATIONAL TRANSPORT            OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284-0267
SANDHU ROADLINER INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SANDHU ROYAL INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SANDHU SPEEDWAY LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SANDHU TRANS INC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SANDHU TRANS LLC                     OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SANDHU TRANS LLC (MC1308914)         OR LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH 45263-9565
SANDHU TRANSPORT LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SANDHU TRANSPORT LLC (MC1157212)     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SANDHU TRUCKING SERVICES INC         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SANDHU, AMARPREET                    ADDRESS ON FILE
SANDHU, BALRAJ                       ADDRESS ON FILE
SANDHU, BALRAJ                       ADDRESS ON FILE
SANDHU, PARAMPREET                   ADDRESS ON FILE
SANDI AUTO & TRUCK REPAIR            8475 CORCORAN RD WILLOW SPRINGS IL 60480
SANDLIN, STEVEN                      ADDRESS ON FILE
SANDMAN PLUMBING, INC.               57 LIPPINCOTT RD. FOX LAKE IL 60020
SANDMAN, DENNIS                      ADDRESS ON FILE
SANDOVAL SANCHEZ, ADOLFO             ADDRESS ON FILE
SANDOVAL SOMERVILLE, MARIA           ADDRESS ON FILE
SANDOVAL TRUCKING                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SANDOVAL TRUCKING LLC                OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
SANDOVAL, ALEJANDRO                  ADDRESS ON FILE
SANDOVAL, BERNARDO                   ADDRESS ON FILE
SANDOVAL, CARLOS                     ADDRESS ON FILE
SANDOVAL, DIONTAY                    ADDRESS ON FILE
SANDOVAL, FRANCISCO                  ADDRESS ON FILE
SANDOVAL, GABRIEL                    ADDRESS ON FILE
SANDOVAL, HECTOR                     ADDRESS ON FILE
SANDOVAL, HEVER                      ADDRESS ON FILE
SANDOVAL, JESSICA                    ADDRESS ON FILE
SANDOVAL, JOHN                       ADDRESS ON FILE
SANDOVAL, JUVENAL                    ADDRESS ON FILE
SANDOVAL, MARIA                      ADDRESS ON FILE
SANDOVAL, MICHAEL                    ADDRESS ON FILE
SANDOVAL, MICHAEL                    ADDRESS ON FILE
SANDOVAL, PEDRO                      ADDRESS ON FILE
SANDOVAL, RAMIRO                     ADDRESS ON FILE
SANDOVAL, ROBERTO                    ADDRESS ON FILE
SANDOVAL, RODOLFO                    ADDRESS ON FILE
SANDOVAL, RUBEN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1681 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1690 of 2156

Claim Name                           Address Information
SANDOVAL, STEPHEN R                  ADDRESS ON FILE
SANDRA A BELCHER                     ADDRESS ON FILE
SANDRA A SMITH                       ADDRESS ON FILE
SANDRA ALBRECHT                      ADDRESS ON FILE
SANDRA C LATHAN                      ADDRESS ON FILE
SANDRA JAMES                         ADDRESS ON FILE
SANDRA L DYKE                        ADDRESS ON FILE
SANDRA SPARRE                        ADDRESS ON FILE
SANDRY, DALE                         ADDRESS ON FILE
SANDS, JAMES                         ADDRESS ON FILE
SANDS, PAUL                          ADDRESS ON FILE
SANDS, QUINCY                        ADDRESS ON FILE
SANDS, ROBBIE                        ADDRESS ON FILE
SANDTS HONEY COMPANY                 714 WAGENER LANE FORKS TOWNSHIP PA 18040
SANDVIG, BRADLEY                     ADDRESS ON FILE
SANDY TOWNSHIP MUNICIPAL AUTHORITY   1094 CHESTNUT AVE DUBOIS PA 15801
SANDY TOWNSHIP MUNICIPAL AUTHORITY   C/O FARMERS NATIONAL BANK 861 BEAVER DRIVE DU BOIS PA 15801
SANDY W SANFORD                      ADDRESS ON FILE
SANDY, ELWIN                         ADDRESS ON FILE
SANDY, JONETA                        ADDRESS ON FILE
SANDYS AUTO & TRUCK SERVICE          3053 SPRINGBORO RD WEST MORAINE OH 45439
SANDYS AUTO & TRUCK SERVICE          3053 SPRINGBORO RD MORAINE OH 45439
SANEL AUTO PARTS                     PO BOX 504 CONCORD NH 03302
SANFANDRE, JENNIFER                  ADDRESS ON FILE
SANFILIPPO, JEFFREY                  ADDRESS ON FILE
SANFORD HEALTH                       2603 E BROADWAY AVENUE BISMARCK ND 58501
SANFORD, BARTHOLOMEW                 ADDRESS ON FILE
SANFORD, BRITTANY                    ADDRESS ON FILE
SANFORD, DONALD                      ADDRESS ON FILE
SANFORD, ED                          ADDRESS ON FILE
SANFORD, GEORGE                      ADDRESS ON FILE
SANFORD, JONTAVIOUS                  ADDRESS ON FILE
SANFORD, KAREN                       ADDRESS ON FILE
SANFORD, MICHAEL                     ADDRESS ON FILE
SANFORD, MICHELLE                    ADDRESS ON FILE
SANFORD, PAUL                        ADDRESS ON FILE
SANFORD, ROBERT                      ADDRESS ON FILE
SANFORD, RODERICK                    ADDRESS ON FILE
SANFORDS FARM FRESH PRODUCE, INC.    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
SANGAMON COUNTY COURT                200 S 9TH ST SPRINGFIELD IL 62701
SANGHA BROS TRANSPORT LLC            12336 SE 307TH PL AUBURN WA 98092
SANGHA CARRIER                       SANGHA CARRIER, 4460 W SHAW AVE 423 FRESNO CA 93722
SANGHA ROAD LINES INC                9405 RED SPRUCE WAY ELK GROVE CA 95624
SANGHA TRANSPORT LLC                 OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SANGHERA CORP.                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SANGSTER, DARRELL                    ADDRESS ON FILE
SANGWAN TRUCKING INC                 OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
SANINOCENCIO, MIGUEL                 ADDRESS ON FILE
SANINS TRUCKING LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                               Page 1682 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1691 of 2156

Claim Name                           Address Information
SANJAY MARKETING GROUP               110 MAPLE LANE LEBANON PA 17042
SANMARTIN, JOSE                      ADDRESS ON FILE
SANNER, DAVID                        ADDRESS ON FILE
SANO LOGISTICS LLC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
SANO, JOSEPH                         ADDRESS ON FILE
SANOW, ROBERT                        ADDRESS ON FILE
SANPORT LLC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SANS SMITH                           ADDRESS ON FILE
SANS TRUCKING LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SANSON, LARRY                        ADDRESS ON FILE
SANSON, MARK                         ADDRESS ON FILE
SANSOUCI, STEVE                      ADDRESS ON FILE
SANT TRANSPORT INC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
SANT TRUCKING INC.                   6891 W CELESTE AVE FRESNO CA 93723
SANTA ANA, JULIAN                    ADDRESS ON FILE
SANTA BARBARA COUNTY EHS / CUPA      2125 S CENTERPOINTE PKWY RM 333 SANTA MARIA CA 93455
SANTA BARBARA EXPRESS                OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
SANTA CLARA CNTY SUPERIOR CRT        191 N 1ST ST STE A SAN JOSE CA 95113
SANTA CLARA COUNTY TAX               DEPTOF TAX AND COLLECTIONS PO BOX 60534 CITY OF INDUSTRY CA 91716
SANTA CLARA, COUNTY OF               COUNTY GOVERNMENT CENTER E WING, 70 W HEDDING STREET SAN JOSE CA 95110
SANTA FE BMW                         2578 CAMINO ENTRADA SANTA FE NM 87507
SANTA FE TOW SERVICE, INC.           4225 COYOTE DR. JOPLIN MO 64804
SANTA FE TOW SERVICE, INC.           9125 ROSEHILL RD LENEXA KS 66215
SANTA FE TRANSFER, INC.              OR AEROFUND FINANCIAL, INC 6910 SANTA TERESA BLVD SAN JOSE CA 95119
SANTA MARIA INVESTMENTS LLC          C/O CERTIFIED FREIGHT LINES, PO BOX 5819 SANTA MARIA CA 93456
SANTA MARIA INVESTMENTS, LLC         ATTN: JON D. CRAMER 1344 WHITE COURT SANTA MARIA CA 93458
SANTA MARY TRUCKING LLC              OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261
SANTA ROSA LABEL                     ADDRESS ON FILE
SANTAFAY LOGISTICS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SANTANA DELACRUZ, YUNEIBI            ADDRESS ON FILE
SANTANA GOMEZ, EDUARDO               ADDRESS ON FILE
SANTANA LOGISTICS EXPRESS INC        292 YOSEMITE AVE PERRIS CA 92570-8664
SANTANA ORTIZ, FIDEL                 ADDRESS ON FILE
SANTANA TRANSFER LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SANTANA, JOSE                        ADDRESS ON FILE
SANTANA, JOSE ANTONIO                ADDRESS ON FILE
SANTANASTASO, PATRICK                ADDRESS ON FILE
SANTAY TRUCKING INC                  OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
SANTEL, PAUL                         ADDRESS ON FILE
SANTERSERO, MICHAEL                  ADDRESS ON FILE
SANTEX TRUCKING LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SANTI E DIBELLA                      ADDRESS ON FILE
SANTIAGO CRUZ, ANGEL                 ADDRESS ON FILE
SANTIAGO RAMOS                       ADDRESS ON FILE
SANTIAGO, ABEL                       ADDRESS ON FILE
SANTIAGO, ALEXIS                     ADDRESS ON FILE
SANTIAGO, ANTONIO                    ADDRESS ON FILE
SANTIAGO, BENJAMIN                   ADDRESS ON FILE
SANTIAGO, CARLOS                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1683 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1692 of 2156

Claim Name                           Address Information
SANTIAGO, CHRISTOPHER                ADDRESS ON FILE
SANTIAGO, CHRISTOPHER                ADDRESS ON FILE
SANTIAGO, DANNY                      ADDRESS ON FILE
SANTIAGO, ELIUT                      ADDRESS ON FILE
SANTIAGO, ENRIQUE                    ADDRESS ON FILE
SANTIAGO, FRANCISCO                  ADDRESS ON FILE
SANTIAGO, FRANK                      ADDRESS ON FILE
SANTIAGO, HOWARD                     ADDRESS ON FILE
SANTIAGO, ISAIAH                     ADDRESS ON FILE
SANTIAGO, JOSEPH                     ADDRESS ON FILE
SANTIAGO, LEO                        ADDRESS ON FILE
SANTIAGO, LUIS                       ADDRESS ON FILE
SANTIAGO, MARIA                      ADDRESS ON FILE
SANTIAGO, RICARDO                    ADDRESS ON FILE
SANTIAGO, ROBERTO                    ADDRESS ON FILE
SANTIAGO, ROBERTO                    ADDRESS ON FILE
SANTIAGO, SICTO                      ADDRESS ON FILE
SANTIAGO, WILLIAM                    ADDRESS ON FILE
SANTIAGO, WILLIAM                    ADDRESS ON FILE
SANTIAGO-RIVERA, CARLOS              ADDRESS ON FILE
SANTIEL, MIKEL                       ADDRESS ON FILE
SANTILE TRUCKING LLC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SANTILLAN, EDUARDO                   ADDRESS ON FILE
SANTILLANO, JOSEPH                   ADDRESS ON FILE
SANTINEL INC                         1061 CHEMIN DU COTEAU-ROUGE LONGUEUIL QC J4K 1W5 CANADA
SANTINI, MAGDALIA                    ADDRESS ON FILE
SANTOMARTINO, VICTOR                 ADDRESS ON FILE
SANTONGE, JUSTIN                     ADDRESS ON FILE
SANTORO, CARMINE                     ADDRESS ON FILE
SANTORO, GENEVIEVE                   ADDRESS ON FILE
SANTORO, JASON                       ADDRESS ON FILE
SANTORO, JOSEPH                      ADDRESS ON FILE
SANTORO, VICTOR                      ADDRESS ON FILE
SANTOS BOCH OSCAL                    ADDRESS ON FILE
SANTOS, ADAM                         ADDRESS ON FILE
SANTOS, DAVID                        ADDRESS ON FILE
SANTOS, DUARTE                       ADDRESS ON FILE
SANTOS, EMILIANO                     ADDRESS ON FILE
SANTOS, ERIC                         ADDRESS ON FILE
SANTOS, GEORGE                       ADDRESS ON FILE
SANTOS, IVAN                         ADDRESS ON FILE
SANTOS, JESSIE                       ADDRESS ON FILE
SANTOS, JOAQUIN                      ADDRESS ON FILE
SANTOS, JOHN                         ADDRESS ON FILE
SANTOS, JOSE                         ADDRESS ON FILE
SANTOS, JOSHUA                       ADDRESS ON FILE
SANTOS, JOVANNI                      ADDRESS ON FILE
SANTOS, JUAN                         ADDRESS ON FILE
SANTOS, LEOPOLDO                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1684 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                            Page 1693 of 2156

Claim Name                            Address Information
SANTOS, LLOYD                         ADDRESS ON FILE
SANTOS, MARTITA S                     ADDRESS ON FILE
SANTOS, MARTITA S                     ADDRESS ON FILE
SANTOS, NOEL                          ADDRESS ON FILE
SANTOS, RANDY                         ADDRESS ON FILE
SANTOS, RONALD                        ADDRESS ON FILE
SANTOS, XZAVIOR                       ADDRESS ON FILE
SANTOVI, FRANK                        ADDRESS ON FILE
SANTOYO, DIONICIO                     ADDRESS ON FILE
SANTRY, RON                           ADDRESS ON FILE
SANTUR TRANSPORT LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SANWICK, SCOTT                        ADDRESS ON FILE
SANYANG TRANSPORTATION LLC            4255 CARDIFF WAY CUMMING GA 30041
SANZICK, SHAUN                        ADDRESS ON FILE
SAP TRANSPORTES                       LAGO ONTARIO 5428 ATTN JORGE LUIS VAZQUEZ CASTILLO LAS ALAMEDAS, NUEVO LAREDO
                                      TAMAULIPAS 88275 MEXICO
SAP TRUCKING INC                      OR TRIUMPH BUS. CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SAPA EXPRESS INC                      OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
SAPATA, MATTHEW                       ADDRESS ON FILE
SAPATEH, MOHAMED                      ADDRESS ON FILE
SAPAULA, RUBEN                        ADDRESS ON FILE
SAPEGIN, ARTEM                        ADDRESS ON FILE
SAPHORE, JESSE                        ADDRESS ON FILE
SAPP BROS INC.                        27603 SW OUTER RD. HARRISONVILLE MO 64701
SAPP BROS TRVL CNTRS                  9915 SOUTH 148TH ST. OMAHA NE 68138
SAPP BROS TRVL CNTRS                  PO BOX 45766 OMAHA NE 68145
SAPP, BOBBY                           ADDRESS ON FILE
SAPP, IVORY                           ADDRESS ON FILE
SAPP, LANCE                           ADDRESS ON FILE
SAPP, THOMAS                          ADDRESS ON FILE
SAPPHIRE FREIGHT TRANSPORTATION LLC   800 BONAVENTURE WAY STE 116 SUGAR LAND TX 77479
SAPPHIRE TRANSPORT LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SAR TRANSPORT LLC                     OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
SAR TRANSPORTATION LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SARA DAUBENBERGER                     ADDRESS ON FILE
SARA LOGISTICS LLC                    888 MERIWETHER STREET GRIFFIN GA 30224
SARA M ERICKSEN                       ADDRESS ON FILE
SARA TRANS EXPRESS INC                OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
SARABIA, ALVARO                       ADDRESS ON FILE
SARABIA, BRIANNE                      ADDRESS ON FILE
SARABIA, JOHN                         ADDRESS ON FILE
SARABIA, LINDA                        ADDRESS ON FILE
SARAC TRANSPORT LLC                   P.O. BOX 515084 ST. LOUIS MO 63151
SARAGOSSA FIRE DEPARTMENT             2440 SARAGOSSA RD NAUVOO AL 35578
SARAH & JORDY SMITH                   ADDRESS ON FILE
SARAH ARMSTRONG                       ADDRESS ON FILE
SARAH B HERRING                       ADDRESS ON FILE
SARAH HENTHORN                        ADDRESS ON FILE
SARAH J STATLANDER                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1685 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1694 of 2156

Claim Name                           Address Information
SARAH PERNA                          ADDRESS ON FILE
SARAH TRANS EXPRESS LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SARAI TRANSPORT INC                  OR RTS FINANCIAL SVC INC PO BOX 840267 DALLAS TX 75284
SARAKAT LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SARAN EXPRESS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SARAN TRANSPORT LLC                  121 WHITMAN STREET CARTERET NJ 07008
SARAN TRUCKING INC                   6512 AVERELL DRIVE DAYTON OH 45424
SARAN TRUCKING INC                   OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SARANDA EXPRESS INC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SARAS TRANSPORT                      7602 LOCKINGTON CRES MISSISSAUGA ON L4T 2V5 CANADA
SARASOTA TRANSPORT                   4636 SHUSTER RD COLUMBUS 43214
SARAT UA INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SARAVIA TRANSPORT                    OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
SARAVIA, NATALIE                     ADDRESS ON FILE
SARB KALYAN TRUCKING INC             91 FIELDHOUSE WAY WINNIPEG MB R2C 5S3 CANADA
SARDAR TRUCKING LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SARDARJEE TRANSPORT LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SARES REGIS MANAGEMENT CO LP         FBO ORANGE BATAVIA & SRG BARDEEN LLC 3501 JAMBOREE ROAD SUITE 3000 NEWPORT
                                     BEACH CA 92660
SARGEANT, JASON                      ADDRESS ON FILE
SARGEANT, JASON                      ADDRESS ON FILE
SARGEANT, MICHAEL                    ADDRESS ON FILE
SARGENT III, DORMAN                  ADDRESS ON FILE
SARGENT LOGISTICS, INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SARGENT, HENDREL                     ADDRESS ON FILE
SARGENT, JAMES                       ADDRESS ON FILE
SARGENT, JERRY                       ADDRESS ON FILE
SARGENT, KENNETH                     ADDRESS ON FILE
SARGENT, NICHOLAS                    ADDRESS ON FILE
SARGENT, SAMUEL                      ADDRESS ON FILE
SARGENTS WRECKER SERVICE             3601 FM 51 N WEATHERFORD TX 76085
SARKINEN PLUMBING INC                9502 NE 272ND ST VANCOUVER WA 98665
SARLES, JEFFREY                      ADDRESS ON FILE
SARNECKI, CHRISTOPHER                ADDRESS ON FILE
SARNO, JOHN                          ADDRESS ON FILE
SAROKAS, MELINDA                     ADDRESS ON FILE
SAROKAS, MELINDA                     ADDRESS ON FILE
SARON TRANSPORTATION                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
SARPANCH TRUCKING INC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SARPANCH TRUCKLINE INC               OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
SARPANCH TRUCKLINE INC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SARPEE, YEVERNE                      ADDRESS ON FILE
SARPONG, EMMANUEL                    ADDRESS ON FILE
SARQUILLA, ALLEN                     ADDRESS ON FILE
SARTAIN, JOHN                        ADDRESS ON FILE
SARTILLOS TRUCKING LLC               OR PROVIDENT COMMERCIAL FINANCE, LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
SARTOR, SHAWN                        ADDRESS ON FILE
SARTORELLI, ROBERT                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1686 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1695 of 2156

Claim Name                              Address Information
SARTORS, RANU                          ADDRESS ON FILE
SARUBBI, PHILIP M                      ADDRESS ON FILE
SARVEL EXPRESS                         OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SARVER-SCHERKENBACH, SUSAN             ADDRESS ON FILE
SARWIN, RICHARD                        ADDRESS ON FILE
SAS ENRAPTURE LLC                      765 NW 9TH STREET GRESHAM OR 97030
SAS EXPRESS LLC                        3901 CLARES CT FAIRFAX VA 22033
SAS INC                                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SAS INSTITUTE INC.                     PO BOX 406922 ATLANTA GA 30384
SAS LOGISTICS LLC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SAS SAFETY CORP                        3031 GARDENIA AVE LONG BEACH CA 90807
SAS TRANSPORT                          OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SAS TRANSPORTATION & LOGISTICS INC     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SAS TRUCKING CORP                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SASAKI, KEVIN                          ADDRESS ON FILE
SASCO CONTRACTORS LTD                  114 - 3060 NORLAND AVE BURNABY BC V5B 3A6 CANADA
SASCO FASTENERS                        ADDRESS ON FILE
SASEK, NORBERT                         ADDRESS ON FILE
SASENGER, SANDRA                       ADDRESS ON FILE
SASH LOGISTIC LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SASH, AMY                              ADDRESS ON FILE
SASHA BOVAN                            ADDRESS ON FILE
SASHA MOVING CO INC                    OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
SASHA TRANSPORT CORP                   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SASINKA, RYAN                          ADDRESS ON FILE
SASK ENERGY                            408 36TH ST E SASKATOON SK S7K 4J9 CANADA
SASK POWER                             2025 VICTORIA AVE REGINA SK S4P 0S1 CANADA
SASKATCHEWAN PROVINCIAL SALES TAX      2350 ALBERT ST REGINA SK S4P 4A6 CANADA
SASKATCHEWAN TRUCKING ASSOCIATION      418A MCDONALD ST REGINA SK S4N 6E1 CANADA
SASKATCHEWAN WORKERS COMPENSATION BOARD 200 1881 SCARTH ST REGINA SK S4P 4L1 CANADA
SASKATOON PALLET LTD                   SITE 412 BOX 285 RR 4, HWY 12 N SASKATOON SK S7K 3J7 CANADA
SASKTEL                                PO BOX 2121 REGINA SK S4P 4C5 CANADA
SASSO, JOSEPH                          ADDRESS ON FILE
SASSON, IRWIN                          ADDRESS ON FILE
SAT CARRIER                            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SAT EXPRESS LLC                        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SATA LOGISTICS LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
SATA TRUCKING LLC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SATARIUS K RAY                         ADDRESS ON FILE
SATCHELL, NAPTHOLI                     ADDRESS ON FILE
SATCO                                  31288 SAN BENITO ST HAYWARD CA 94544
SATCO                                  4710 116TH ST SW MUKILTEO WA 98275
SATCO PRODUCTS INC                     2000 VALWOOD PKWY FARMERS BRANCH TX 75234
SATER, GARY                            ADDRESS ON FILE
SATHRE, WILLIAM                        ADDRESS ON FILE
SATKARTAR LOGISTICS INC                3643 IGNACIO CIR STOCKTON CA 95209-3900
SATKARTAR TRANSPORT                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SATKARTAR TRANSPORTATION INC           1409 STANDIFORD AVE 3 MODESTO CA 95337
SATLAK, DEBRA                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1687 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1696 of 2156

Claim Name                           Address Information
SATNAM WAHEGURU LLC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SATORY, GEORGE J                     ADDRESS ON FILE
SATS 2 LLC                           OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
SATT TRUCKING INCORPORATED           1128 SASSAFRAS TRL GREENWOOD IN 46143
SATTERFIELD, DAVID                   ADDRESS ON FILE
SATTERFIELD, JERROD                  ADDRESS ON FILE
SATTERFIELD, JESSE                   ADDRESS ON FILE
SATTERFIELD, JOHN                    ADDRESS ON FILE
SATTERFIELD, NATHANIEL               ADDRESS ON FILE
SATTERFIELDS WRECKER SERVICE         424 W NORTH SIKESTON MO 63801
SATTERLEE, CHRISTIAN                 ADDRESS ON FILE
SATTERWHITE, KRYSTAL                 ADDRESS ON FILE
SATURDAY LOGISTICS LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SATURN EXPRESS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SAUCEDO DELGADO, EDWARD              ADDRESS ON FILE
SAUCEDO, ABEL                        ADDRESS ON FILE
SAUCEDO, JOSE                        ADDRESS ON FILE
SAUCEDO, JOSHUA                      ADDRESS ON FILE
SAUCEDO, JUAN                        ADDRESS ON FILE
SAUCEDO-AMBRIZ, RAMON                ADDRESS ON FILE
SAUCERMAN CONSTRUCTION               1233 NORTH MAIN STREET MERIDIAN ID 83642
SAUER TRANSPORT INC.                 2128 N DEVLIN WAY NAMPA ID 83687
SAUER, DANIEL                        ADDRESS ON FILE
SAUER, DONALD                        ADDRESS ON FILE
SAUER, NED                           ADDRESS ON FILE
SAUERS, PATRICIA                     ADDRESS ON FILE
SAUL A ESPINOZA                      ADDRESS ON FILE
SAUL A GUILLENALVARENGA              ADDRESS ON FILE
SAUL CORP                            OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
SAUL FLORES                          ADDRESS ON FILE
SAUL S LOPEZ                         ADDRESS ON FILE
SAUL, LEARNOLD                       ADDRESS ON FILE
SAUL, VICTOR                         ADDRESS ON FILE
SAULS, LARRY                         ADDRESS ON FILE
SAULSBERRY, CORTEZ                   ADDRESS ON FILE
SAULSBERRY, DWIGHT                   ADDRESS ON FILE
SAUNA WORKS INC                      1077 EASTSHORE HWY BERKELEY CA 94710
SAUNDERS, ANDREA                     ADDRESS ON FILE
SAUNDERS, BRADLEY                    ADDRESS ON FILE
SAUNDERS, DERON                      ADDRESS ON FILE
SAUNDERS, DYLAN                      ADDRESS ON FILE
SAUNDERS, ERICK                      ADDRESS ON FILE
SAUNDERS, JONATHAN                   ADDRESS ON FILE
SAUNDERS, LAWRENCE                   ADDRESS ON FILE
SAUNDERS, MARK                       ADDRESS ON FILE
SAUNDERS, MICHAEL                    ADDRESS ON FILE
SAUNDERS, MICHAEL                    ADDRESS ON FILE
SAUNDERS, SEAN                       ADDRESS ON FILE
SAUNDERS, STEVE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1688 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1697 of 2156

Claim Name                           Address Information
SAUNDERS, TROY                       ADDRESS ON FILE
SAUNDERS, WAYNE                      ADDRESS ON FILE
SAUNDERS, WAYNE                      ADDRESS ON FILE
SAUNDERS, WILLIAM                    ADDRESS ON FILE
SAUNDERS, WILLIAM                    ADDRESS ON FILE
SAUNDRA R MIKLE                      ADDRESS ON FILE
SAUPITTY, COLIN                      ADDRESS ON FILE
SAUSE, SETH                          ADDRESS ON FILE
SAUSVILLE, DONALD                    ADDRESS ON FILE
SAUTER, DONALD                       ADDRESS ON FILE
SAVAGE GROUP LOGISTICS INC           OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SAVAGE, CARL                         ADDRESS ON FILE
SAVAGE, JEFFREY                      ADDRESS ON FILE
SAVAGE, KASHEENA                     ADDRESS ON FILE
SAVAGE, KASHEENA                     ADDRESS ON FILE
SAVAGE, RICKY                        ADDRESS ON FILE
SAVAGELOGISTICSPHL LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SAVAGLIO, ANTONIO                    ADDRESS ON FILE
SAVAGLIO, GABRIEL                    ADDRESS ON FILE
SAVAGLIO, GABRIEL                    ADDRESS ON FILE
SAVALICK, RICHARD                    ADDRESS ON FILE
SAVANA INC                           OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SAVANNAH HARDSCAPES                  64 MCDOWELL CIR. HARDEEVILLE SC 29927
SAVANNAH LOGISTICS LLC               OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
SAVANNAH TRUCKING LLC                OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
SAVANNAH, BOBBY                      ADDRESS ON FILE
SAVANNAH, STEPHAN                    ADDRESS ON FILE
SAVARD, ALAIN                        ADDRESS ON FILE
SAVARD, JACKQULYNE M                 ADDRESS ON FILE
SAVARY-DOLL, RAYNEL                  ADDRESS ON FILE
SAVASORT INC                         14550 CRAZY HORSE LN PALM BEACH GARDENS FL 33418
SAVASORT INC                         300 WINDMILL DR, SUITE B COLUMBIA FALLS MT 59912
SAVASORT INC                         300 WINDMILL DRV. STE B COLUMBIA FALLS MT 59912
SAVATIC, STANKO                      ADDRESS ON FILE
SAVAYA TRANSPORTATION INC            28241 SAINT LOUISE DR WARREN MI 48092
SAVE TRANSPORT, LLC.                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SAVE, ALESANA                        ADDRESS ON FILE
SAVEN TRANSPORTATION                 OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SAVERSON, NEKIA                      ADDRESS ON FILE
SAVILLE, DANIEL                      ADDRESS ON FILE
SAVILLE, DAVID                       ADDRESS ON FILE
SAVIN, THOMAS                        ADDRESS ON FILE
SAVIO, RALPH                         ADDRESS ON FILE
SAVIOUR, TERRANCE                    ADDRESS ON FILE
SAVO, SAMANTHA                       ADDRESS ON FILE
SAWA TRANSPORT LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SAWA, GREGORY                        ADDRESS ON FILE
SAWATZKY, JAMES                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1689 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1698 of 2156

Claim Name                           Address Information
SAWKA, NICHOLAS                      ADDRESS ON FILE
SAWRAN, SHELLEY                      ADDRESS ON FILE
SAWREY, JASON                        ADDRESS ON FILE
SAWSTOP                              1155 SW MYSLONY ST TUALATIN OR 97062
SAWSTOP LLC                          11555 SW MYSLONY ST TUALATIN OR 97062
SAWSTOP LLC                          ATTN: GARRETT OAKMAN 11555 SW MYSLONY ST TUALATIN OR 97062
SAWSTOP LLC                          ATTN: KONNER MONK 11555 SW MYSLONY ST TUALATIN OR 97062
SAWYER AND FINN LOGISTICS LLC        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SAWYER ENGINE & COMPRESSOR           4090 CHICAGO DR HUDSONVILLE MI 49426
SAWYER II, LEROY                     ADDRESS ON FILE
SAWYER PETROLEUM                     ADDRESS ON FILE
SAWYER RESEARCH PRODUCTS             ATTN: EMILY DAMICO 35400 LAKELAND BLVD EASTLAKE OH 44095
SAWYER, BRIAN                        ADDRESS ON FILE
SAWYER, DAVID                        ADDRESS ON FILE
SAWYER, DAVID                        ADDRESS ON FILE
SAWYER, JOHN                         ADDRESS ON FILE
SAWYER, MICHAEL                      ADDRESS ON FILE
SAWYER, SHERI L                      ADDRESS ON FILE
SAWYER, SHERI L                      ADDRESS ON FILE
SAWYER, THOMAS                       ADDRESS ON FILE
SAWYER, TIMMY L                      ADDRESS ON FILE
SAWYERS, NOLAN                       ADDRESS ON FILE
SAXE, MICK                           ADDRESS ON FILE
SAXON FLEET SERVICES, INC.           PO BOX 6265 KINGWOOD TX 77325
SAXON TRANSPORTATION LTD COMPANY     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SAXON, ROBERT                        ADDRESS ON FILE
SAXTON, CHERYL                       ADDRESS ON FILE
SAXTON, MARVIN                       ADDRESS ON FILE
SAY COMMUNICATIONS LLC               155 WOOSTER ST 4F NEW YORK NY 10012
SAY TECHNOLOGIES LLC                 155 WOOSTER ST 4F NEW YORK NY 10012
SAY TRUCKING                         OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320-0399
SAY, MARK                            ADDRESS ON FILE
SAYAD EXPRESS LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SAYASIT, PETER                       ADDRESS ON FILE
SAYBALL III, WILLIAM                 ADDRESS ON FILE
SAYDEE, JAMES                        ADDRESS ON FILE
SAYED M SADAT                        ADDRESS ON FILE
SAYED, HASSAN M                      ADDRESS ON FILE
SAYEGH, AILYN                        ADDRESS ON FILE
SAYER DELIVERY SERVICE, INC.         P O BOX 680808 PRATTVILLE AL 36068
SAYER, BOB                           ADDRESS ON FILE
SAYER, LISA                          ADDRESS ON FILE
SAYLOR, JAY                          ADDRESS ON FILE
SAYLOR, NEIL                         ADDRESS ON FILE
SAYLOR, RICKY                        ADDRESS ON FILE
SAYRAM CORP                          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SAYRE, JAY                           ADDRESS ON FILE
SAYS TRANSPORTATION LLC              OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
SAYUK, MATTHEW                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1690 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1699 of 2156

Claim Name                          Address Information
SAYYID, SABBONA                     ADDRESS ON FILE
SB APEX TRANSPORTS LLC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SB CARRIERS INC                     1125 DUNDEE DR CANTON MI 48188
SB FREIGHT INC                      406 CROWN POINT DR EL PASO TX 79912
SB GLOBAL STAR LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SB HAULING INC                      1136 GAIL LN SLEEPY HOLLOW IL 60118
SB INTERSATE LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SB SPECIALTY METALSLLC              PO BOX 7410681 CHICAGO IL 60674
SB TRUCKING INC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SB TRUCKING SERVICES INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SB TRUCKS INC                       OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
SBAS TRANSPORT INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SBB TRANSPORTATION LLC              OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
SBC 015 INC                         OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SBC LAND WORKS LLC                  310 SMITH STREET WEST MONROE LA 71292
SBC TAX COLLECTOR                   268 W HOSPITALITY LANE FIRST FL SAN BERNARDINO CA 92415
SBC TAX COLLECTOR                   PARCEL NO: 0252-173-66-0-000 SAN BERNARDINO CA 92415
SBC TAX COLLECTOR                   PARCEL NO: 0252-173-67-0-000 268 W HOSPITALITY LN 1ST FL SAN BERNARDINO CA
                                    92415
SBC TRANSPORTATION INC              OR RTS FINANCIAL SVC IN, PO BOX 840267 DALLAS TX 75284-0267
SBDS TRANSPORT LLC                  280 OAK HILL CT WILLIAMS TOWNSHIP PA 18042
SBH SALES CO INC                    1025 WINCHESTER KANSAS CITY MO 64126
SBI INTERNATIONAL INC               3707 LATHROP ST SOUTH BEND IN 46628
SBJ TRANSPORT INC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SBK CARGO LOGISTICS INC             13065 NAPA CT HESPERIA CA 92344
SBK TRANS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SBL INTERNATIONAL LOGISTICS LLC     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SBL LLC                             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SBL LOGISTICS LLC                   OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SBM EARTHMOVING & CONSTRUCTION      7931 N. STATELINE AVE TEXARKANA TX 75503
SBN GROUP LLC                       OR PRO FUNDING INC PO BOX 1000 DEPT3045 MEMPHIS TN 38148-3045
SBS CARRIERS INC                    OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SBS TRANSPORTATION, INC.            1700 WYNNE AVE ST PAUL MN 55108
SBS TRUCKING INC                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SBT TRANS INC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SBT TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SBTT NATIONWIDE INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SC DHEC                             BUREAU OF FINANCE, PO BOX 100103 COLUMBIA SC 29202
SC DHEC                             P.O. BOX 100103 COLUMBIA SC 29202-3103
SC FUELS                            PO BOX 4159 ORANGE CA 92863
SC JOHNSON                          ATTN: ALIX AREVALO MANAGED SERVICES 29857 NETWORK PLACE CHICAGO IL 60673
SC TRANSPORTATION LLC               OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SC TRUCKING ENTERPRISE INC          OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SCAFF, JAMES                        ADDRESS ON FILE
SCAFFIDI, DIAN                      ADDRESS ON FILE
SCALA, NICHOLAS                     ADDRESS ON FILE
SCALAMONI, JEANNE                   ADDRESS ON FILE
SCALE PROGRAM WEIGHTS               AND MEASURES, MISSOURI DEPT. OF AGRICULTURE JEFFERSON CITY MO 65102
SCALE UP TRANSPORT                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076



Epiq Corporate Restructuring, LLC                                                              Page 1691 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1700 of 2156

Claim Name                           Address Information
SCALE UP TRANSPORT                   OR RM CAPITAL GROUP, INC, PO BOX 8331 LA CRESCENTA CA 91224
SCALES LOGISTICS LLC                 OR G SQUARED FUNDING LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SCALES, ANTHONY                      ADDRESS ON FILE
SCALES, ANTHONY E                    ADDRESS ON FILE
SCALF, DONALD                        ADDRESS ON FILE
SCALF, FRED                          ADDRESS ON FILE
SCALF, JONATHON                      ADDRESS ON FILE
SCALLEY, JON                         ADDRESS ON FILE
SCALLY, TIMOTHY                      ADDRESS ON FILE
SCALZITTI, ANTHONY                   ADDRESS ON FILE
SCAMMAHORN, KIMBERLY                 ADDRESS ON FILE
SCAN GLOBAL LOGISTICS                18850 8TH AVE S SUITE 100 SEATTLE WA 98148
SCANLAN, DARYL                       ADDRESS ON FILE
SCANLAN, GLEN                        ADDRESS ON FILE
SCANLAN, GLEN                        ADDRESS ON FILE
SCANLAN, JOHN                        ADDRESS ON FILE
SCANLAN, RYAN                        ADDRESS ON FILE
SCAPEGOAT TRUCKING LLC               OR SMARTTRUCKER, LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
SCARANO JR, NICHOLAS                 ADDRESS ON FILE
SCARANO, DOMINIC                     ADDRESS ON FILE
SCARANO, NICHOLAS                    ADDRESS ON FILE
SCARBOROUGH, LESTER                  ADDRESS ON FILE
SCARBOROUGH, MICHAEL                 ADDRESS ON FILE
SCARBROUGH LOGISTICS, LTD.           7280 NW 87TH TERRACE, SUITE 300 KANSAS CITY MO 64153
SCARBROUGH, LORETTA                  ADDRESS ON FILE
SCARBROUGH, WILLIAM L                ADDRESS ON FILE
SCARGO MAX                           ADDRESS ON FILE
SCARLET FREIGHT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SCARLETT LOGISTICS LLC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SCARLETT, DONALD                     ADDRESS ON FILE
SCARLETT, SHERI                      ADDRESS ON FILE
SCARLETT, TY S                       ADDRESS ON FILE
SCARPA, LOUIS                        ADDRESS ON FILE
SCARROW, JAYMIE                      ADDRESS ON FILE
SCAVUZZOS, INC.                      6550 KANSAS AVE KANSAS CITY KS 66111
SCB REAL ESTATE, LLC                 704 N ENGLISH STATION LOUISVILLE KY 40223
SCC LOGISTICS                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SCC TRANSPORTATION LLC               OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SCC TRUCKING LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
SCELESTER PURVIS                     ADDRESS ON FILE
SCENIC HILLS ANIMALHOSPITAL          1939 BURNS AVE. ST. PAUL MN 55119
SCENIC ROAD MFG                      ATTN: JENNIFER BORTNOWSKY TECH LOGISTICS 300 ELM ST UNIT 1 MILFORD NH 03055
SCENTSY, INC                         2701 E PINE AVE MERIDIAN ID 83642
SCEVILLE, AMBER                      ADDRESS ON FILE
SCHAAF, JOHN                         ADDRESS ON FILE
SCHAAP, JIM                          ADDRESS ON FILE
SCHAD, DAVID                         ADDRESS ON FILE
SCHADEGG MECHANICAL,INC.             225 BRIDGEPOINT DR SOUTH ST PAUL MN 55075
SCHADLICK, THOMAS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1692 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1701 of 2156

Claim Name                           Address Information
SCHAEDLER YESCO DISTRIBUTION INC     3982 PAXTON ST HARRISBURG PA 17111
SCHAEFER TIRE SERVICE, INC           DBA RONS TIRE SERVICE, PO BOX 580070 TULSA OK 74158
SCHAEFER TIRE SERVICE, INC           PO BOX 580070 TULSA OK 74158
SCHAEFER, ANGELA                     ADDRESS ON FILE
SCHAEFER, CODY                       ADDRESS ON FILE
SCHAEFER, HOLLY                      ADDRESS ON FILE
SCHAEFER, JAN                        ADDRESS ON FILE
SCHAEFER, JANET                      ADDRESS ON FILE
SCHAEFER, KARL                       ADDRESS ON FILE
SCHAEFER, KENNETH                    ADDRESS ON FILE
SCHAEFER, RICHARD                    ADDRESS ON FILE
SCHAEFER, VINCENT                    ADDRESS ON FILE
SCHAEFFER ELECTRIC CO INC            4667 GREEN PARK RD SAINT LOUIS MO 63123
SCHAEFFER, CHANDRA                   ADDRESS ON FILE
SCHAEFFER, LAJUAN                    ADDRESS ON FILE
SCHAEFFER, LAJUAN                    ADDRESS ON FILE
SCHAEFFER, ROBERT                    ADDRESS ON FILE
SCHAETZKA, RICKY                     ADDRESS ON FILE
SCHAFER, ALEXANDER                   ADDRESS ON FILE
SCHAFER, THOMAS                      ADDRESS ON FILE
SCHAFER, TIMOTHY                     ADDRESS ON FILE
SCHAFF, HERBERT                      ADDRESS ON FILE
SCHAFFER ROAD LLC                    ATTN: HANK KATZEN ONE SOUTH ORANGE AVE. SUITE 404 ORLANDO FL 32801
SCHAFFER, BRIAN                      ADDRESS ON FILE
SCHAFFER, MICHAEL                    ADDRESS ON FILE
SCHAFFER, PAUL                       ADDRESS ON FILE
SCHAFFER, PHILIP                     ADDRESS ON FILE
SCHAFFER, SAMANTHA                   ADDRESS ON FILE
SCHAFFNER, TIMOTHY                   ADDRESS ON FILE
SCHAICH, ANNJANETTE                  ADDRESS ON FILE
SCHAICH, MELINDA                     ADDRESS ON FILE
SCHAIPER, BRANDON                    ADDRESS ON FILE
SCHALCK, DAVID                       ADDRESS ON FILE
SCHALICK, STEVEN                     ADDRESS ON FILE
SCHALK, LEROY                        ADDRESS ON FILE
SCHALWIG, TOM                        ADDRESS ON FILE
SCHAMBER, ROBERT                     ADDRESS ON FILE
SCHANEN, JOSHUA                      ADDRESS ON FILE
SCHANSBERG, KEVIN                    ADDRESS ON FILE
SCHANUEL, MICHAEL                    ADDRESS ON FILE
SCHAPIRO, DAVID                      ADDRESS ON FILE
SCHAPPELL, CRAIG D                   ADDRESS ON FILE
SCHARADIN, THOMAS                    ADDRESS ON FILE
SCHARENBERG, MICHAEL                 ADDRESS ON FILE
SCHARF, DOUGLAS G                    ADDRESS ON FILE
SCHARF, DOUGLAS G                    ADDRESS ON FILE
SCHARTLE, MICHAEL                    ADDRESS ON FILE
SCHATTSCHNEIDER, ZACHERY             ADDRESS ON FILE
SCHATZ CROSSROADS TRUCKSTOP INC      1712 20TH AVE SE MINOT ND 58701



Epiq Corporate Restructuring, LLC                                                            Page 1693 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                        Page 1702 of 2156

Claim Name                          Address Information
SCHATZ, MIKE                        ADDRESS ON FILE
SCHAUB, BRADLEY                     ADDRESS ON FILE
SCHAUWECKER, TODD                   ADDRESS ON FILE
SCHAVE, KEITH                       ADDRESS ON FILE
SCHAY, FRED                         ADDRESS ON FILE
SCHEAFFER, TOM                      ADDRESS ON FILE
SCHECK, COLE                        ADDRESS ON FILE
SCHEER, JULIE                       ADDRESS ON FILE
SCHEFUS, MARK                       ADDRESS ON FILE
SCHEIBLING, JOSEPH                  ADDRESS ON FILE
SCHEIBNER, CRAIG                    ADDRESS ON FILE
SCHEIDLE, JOHN M                    ADDRESS ON FILE
SCHEIDLER, KEVIN                    ADDRESS ON FILE
SCHEIDT, JOHN                       ADDRESS ON FILE
SCHEITER, SETH                      ADDRESS ON FILE
SCHEITHAUER, JOSEPH                 ADDRESS ON FILE
SCHELHAAS, DAVID                    ADDRESS ON FILE
SCHELHORN, BRENDA                   ADDRESS ON FILE
SCHELL, GREGORY                     ADDRESS ON FILE
SCHELL, JON                         ADDRESS ON FILE
SCHELL, MICHAEL                     ADDRESS ON FILE
SCHELL, TIMOTHY                     ADDRESS ON FILE
SCHELLENBERG, GREG                  ADDRESS ON FILE
SCHELLER, STEVEN                    ADDRESS ON FILE
SCHELLMANN, TRACY                   ADDRESS ON FILE
SCHENDZIELOS, SCOTT                 ADDRESS ON FILE
SCHENKEL, JASON                     ADDRESS ON FILE
SCHEPERS, JEROME                    ADDRESS ON FILE
SCHERER & SONS TRUCKING, INC.       P O BOX 178 SAINT JOSEPH MN 56374
SCHERF, ANITA                       ADDRESS ON FILE
SCHERMERHORN, MARK                  ADDRESS ON FILE
SCHERRER, ROY                       ADDRESS ON FILE
SCHERTZ, DANIEL                     ADDRESS ON FILE
SCHERTZ, WILLIAM                    ADDRESS ON FILE
SCHERZI, JORDAN                     ADDRESS ON FILE
SCHETTER, DANNY                     ADDRESS ON FILE
SCHETTER, ISRAEAL                   ADDRESS ON FILE
SCHEY, RICHARD                      ADDRESS ON FILE
SCHICK ELECTRIC                     PO BOX 156 PORTAGE OH 43451
SCHICK, GREG                        ADDRESS ON FILE
SCHICKEL, CHRIS                     ADDRESS ON FILE
SCHICKER, TODD                      ADDRESS ON FILE
SCHIEBER, BARBARA                   ADDRESS ON FILE
SCHIEBER, JOHN                      ADDRESS ON FILE
SCHIEFERSTEIN, DONNIE               ADDRESS ON FILE
SCHIELE, JOHN                       ADDRESS ON FILE
SCHIESL, BRIAN                      ADDRESS ON FILE
SCHIFANO, MICHAEL                   ADDRESS ON FILE
SCHIFFHAUER, JAMES                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                      Page 1694 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1703 of 2156

Claim Name                           Address Information
SCHIFFILEA, CHRISTOPHER              ADDRESS ON FILE
SCHIFFMAN TRUCKING, INC.             PO BOX 260167 PLANO TX 75026
SCHILDT, GERALD                      ADDRESS ON FILE
SCHILL, MATTHEW                      ADDRESS ON FILE
SCHILLER, ALEXANDER                  ADDRESS ON FILE
SCHILLER, CAREY                      ADDRESS ON FILE
SCHILLING & COMPANY / SCHILCO        ELECTRICAL CONTRACTORS LLC 4-45 HARTLEY PLACE FAIR LAWN NJ 07410
SCHILLING, CHRIS                     ADDRESS ON FILE
SCHILLING, RICHARD                   ADDRESS ON FILE
SCHILPEROORT, MATTHEW                ADDRESS ON FILE
SCHILTZ, CAROL                       ADDRESS ON FILE
SCHIMMOLLER, JAMES D                 ADDRESS ON FILE
SCHIMMOLLER, JAMES D                 ADDRESS ON FILE
SCHIMSCHOCK, BRIAN                   ADDRESS ON FILE
SCHINDLER BROS. TRUCK SERVICES INC   2400 E EDGERTON RD BROADVIEW HEIGHTS OH 44147
SCHINDLER, JEREMY                    ADDRESS ON FILE
SCHINDLER, TRACEY                    ADDRESS ON FILE
SCHIPPER, MARK                       ADDRESS ON FILE
SCHIRMACHER, KAITLIN                 ADDRESS ON FILE
SCHIRMAN, TERENCE                    ADDRESS ON FILE
SCHIRMER, ROBIN                      ADDRESS ON FILE
SCHIRO, JOSEPH                       ADDRESS ON FILE
SCHISSLER, ROBERT                    ADDRESS ON FILE
SCHITTLER, TERRY                     ADDRESS ON FILE
SCHLABACH, JERRY                     ADDRESS ON FILE
SCHLABACH, RICHARD                   ADDRESS ON FILE
SCHLABITZ, RICK                      ADDRESS ON FILE
SCHLAGE                              2119 E. KANSAS CITY ROAD OLATHE KS 66061
SCHLAGE COMPANY LLC                  8505 E 30TH ST INDIANAPOLIS IN 46219
SCHLAGE LOCK                         ATTN: BRUCE WEBSTER 2119 E KANSAS CITY RD OLATHE KS 66061
SCHLAGE LOCK / ALLEGION              ATTN: MARK HOWARD 2119 E KANSAS CITY RD OLATHE KS 66061
SCHLAGE LOCK / ALLEGION              ATTN: MARK HOWARD 1659 GAILES BLVD SAN DIEGO CA 92154
SCHLAGE LOCK CO LLC                  2720 TOBEY DR INDIANAPOLIS IN 46219
SCHLAGENHAUF, JOHN                   ADDRESS ON FILE
SCHLATTER, CHRISTIAN                 ADDRESS ON FILE
SCHLECHT, BENJAMIN                   ADDRESS ON FILE
SCHLECHT, JOHN                       ADDRESS ON FILE
SCHLECHTER, JACOB                    ADDRESS ON FILE
SCHLECHTER, JAMES                    ADDRESS ON FILE
SCHLECHTER, JOHN                     ADDRESS ON FILE
SCHLECHTER, JOSEPH                   ADDRESS ON FILE
SCHLECTA, JACOB                      ADDRESS ON FILE
SCHLEI, JOHN                         ADDRESS ON FILE
SCHLEICHER, EDWARD A                 ADDRESS ON FILE
SCHLEICHER, EDWARD A                 ADDRESS ON FILE
SCHLEIFER, HARTLEY                   ADDRESS ON FILE
SCHLEIG, EDWARD                      ADDRESS ON FILE
SCHLEIPMAN, FREDERICK                ADDRESS ON FILE
SCHLERETH, MILES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1695 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1704 of 2156

Claim Name                           Address Information
SCHLETT, DALE                        ADDRESS ON FILE
SCHLICHTING, CHAD                    ADDRESS ON FILE
SCHLICHTING, DANIEL                  ADDRESS ON FILE
SCHLICHTING, MITCHELL                ADDRESS ON FILE
SCHLITT, GLENN                       ADDRESS ON FILE
SCHLOOT, CARL                        ADDRESS ON FILE
SCHLOSNAGLE, GREGORY                 ADDRESS ON FILE
SCHLOSSER, GERALD                    ADDRESS ON FILE
SCHLOSSER, LON                       ADDRESS ON FILE
SCHLOSSMACHER, FIORELLA              ADDRESS ON FILE
SCHLUSSER, MICHAEL                   ADDRESS ON FILE
SCHMALTZ, ROBERT                     ADDRESS ON FILE
SCHMAUS, GREGORY                     ADDRESS ON FILE
SCHMELING, KURT D                    ADDRESS ON FILE
SCHMELL, E LAVERNE                   ADDRESS ON FILE
SCHMELMER, PAUL                      ADDRESS ON FILE
SCHMELTER, GEORGE                    ADDRESS ON FILE
SCHMER, BRIAN                        ADDRESS ON FILE
SCHMICK, BENJAMIN                    ADDRESS ON FILE
SCHMIDT & SONS, INC.                 PO BOX 731274 DALLAS TX 75373
SCHMIDT TRANSPORTS LLC               OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SCHMIDT, COREY                       ADDRESS ON FILE
SCHMIDT, DALE D                      ADDRESS ON FILE
SCHMIDT, DANIEL                      ADDRESS ON FILE
SCHMIDT, DANIEL                      ADDRESS ON FILE
SCHMIDT, ERIC                        ADDRESS ON FILE
SCHMIDT, JADEN                       ADDRESS ON FILE
SCHMIDT, JOSEPH W                    ADDRESS ON FILE
SCHMIDT, KENNETH                     ADDRESS ON FILE
SCHMIDT, KEVIN                       ADDRESS ON FILE
SCHMIDT, KRISTINE                    ADDRESS ON FILE
SCHMIDT, LON                         ADDRESS ON FILE
SCHMIDT, MARK                        ADDRESS ON FILE
SCHMIDT, MICHAEL                     ADDRESS ON FILE
SCHMIDT, OLIVIA                      ADDRESS ON FILE
SCHMIDT, RICHARD                     ADDRESS ON FILE
SCHMIDT, STEPHEN                     ADDRESS ON FILE
SCHMIDT, TAYLOR                      ADDRESS ON FILE
SCHMIDT, WILLIAM                     ADDRESS ON FILE
SCHMIDTMANN, KURT                    ADDRESS ON FILE
SCHMIECHEN, JAMES                    ADDRESS ON FILE
SCHMIED, RAYMOND                     ADDRESS ON FILE
SCHMINK, BLAINE                      ADDRESS ON FILE
SCHMIT, ABAGAIL                      ADDRESS ON FILE
SCHMITT, CHRISTOPHER                 ADDRESS ON FILE
SCHMITT, JAMES                       ADDRESS ON FILE
SCHMITT, MICHAEL                     ADDRESS ON FILE
SCHMITZ DOOR SERVICE                 5309 VOGES ROAD MADISON WI 53718
SCHMITZ, ERIC                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1696 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1705 of 2156

Claim Name                          Address Information
SCHMITZ, MICHAEL                    ADDRESS ON FILE
SCHMITZ, WALTER F                   ADDRESS ON FILE
SCHMUHL BROTHERS, INC.              1134 S 12TH STREET KANSAS CITY KS 66105
SCHMUTTE, CHRISTINE                 ADDRESS ON FILE
SCHMUTZLER, JEFFERY                 ADDRESS ON FILE
SCHNABEL, FRANKLIN                  ADDRESS ON FILE
SCHNACKE, RICK                      ADDRESS ON FILE
SCHNACKER, ANNA                     ADDRESS ON FILE
SCHNAKE, WILLIAM                    ADDRESS ON FILE
SCHNARR, JOHN                       ADDRESS ON FILE
SCHNARR, KEVIN                      ADDRESS ON FILE
SCHNATTERLY, KIMBERLY               ADDRESS ON FILE
SCHNEBELT, ANDREA                   ADDRESS ON FILE
SCHNEBLIN, JASON                    ADDRESS ON FILE
SCHNEE, JOHN                        ADDRESS ON FILE
SCHNEIDER                           3101 S PACKERLAND DR ASHWAUBENON 54313
SCHNEIDER                           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SCHNEIDER ELECTRIC                  ATTN SUSAN, 208 ST PAUL ST ROCHESTER NY 14604
SCHNEIDER GRAPHICS, INC             PO BOX 8246 DES MOINES IA 50301
SCHNEIDER JANITORIAL, INC.          26 JENSEN DR FALLSINGTON PA 19054
SCHNEIDER LOGISTICS                 PO BOX 78158 MILWAUKEE WI 53278
SCHNEIDER LOGISTICS                 SCHNEIDER LOGISTICS, PO BOX 78158 MILWAUKEE WI 53278
SCHNEIDER NATIONAL                  3101 S. PACKERLAND DR. GREEN BAY WI 54313
SCHNEIDER NATIONAL CARRIERS INC.    C/O INS INSURANCE INC. PO BOX 74008750 CHICAGO IL 60674-8750
SCHNEIDER NATIONAL, INC.            PO BOX 841831 DALLAS TX 75284
SCHNEIDER NATIONAL, INC.            PO BOX 841831 DALLAS TX 75284-1831
SCHNEIDER PURCH TRANS CLAIM         3101 S PACKERLAND DR ASHWAUBENON 54313
SCHNEIDER, BENJAMIN                 ADDRESS ON FILE
SCHNEIDER, CODY                     ADDRESS ON FILE
SCHNEIDER, DENNIS                   ADDRESS ON FILE
SCHNEIDER, FRANK                    ADDRESS ON FILE
SCHNEIDER, GERRI                    ADDRESS ON FILE
SCHNEIDER, JEFFREY                  ADDRESS ON FILE
SCHNEIDER, MICHAEL                  ADDRESS ON FILE
SCHNEIDER, NICHOLAS                 ADDRESS ON FILE
SCHNEIDER, TERRENCE                 ADDRESS ON FILE
SCHNEIDER, TOM                      ADDRESS ON FILE
SCHNELL, JAMES                      ADDRESS ON FILE
SCHNEPPER, DANIEL                   ADDRESS ON FILE
SCHNURSTEIN, TYLER                  ADDRESS ON FILE
SCHOCKE, TABATHA                    ADDRESS ON FILE
SCHOELL, JOHN                       ADDRESS ON FILE
SCHOEN, DEREK                       ADDRESS ON FILE
SCHOEN, RICHARD J                   ADDRESS ON FILE
SCHOENBECK, JAMES                   ADDRESS ON FILE
SCHOENBERG, GORDON                  ADDRESS ON FILE
SCHOENFELD, CORY                    ADDRESS ON FILE
SCHOENING JR, DOUGLAS               ADDRESS ON FILE
SCHOENING, ROGER                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1697 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1706 of 2156

Claim Name                          Address Information
SCHOEPF, SCOTT                      ADDRESS ON FILE
SCHOEPFLIN, BRIAN                   ADDRESS ON FILE
SCHOER, TYLER                       ADDRESS ON FILE
SCHOFFER, LINDA                     ADDRESS ON FILE
SCHOFIELD, DAVID                    ADDRESS ON FILE
SCHOFIELD, MARK                     ADDRESS ON FILE
SCHOFIELD, TOM                      ADDRESS ON FILE
SCHOLAR FREIGHTLINE INC             2430 TRAILWAY TURLOCK CA 95382
SCHOLASTIC INC                      80 PARK PLAZA 21ST FLOOR NEWARK NJ 07102
SCHOLL, RANDALL                     ADDRESS ON FILE
SCHOLL, RICHARD                     ADDRESS ON FILE
SCHOLTEN, FRANZ                     ADDRESS ON FILE
SCHOLTEN, HEIDI                     ADDRESS ON FILE
SCHOLTZ III, ERWIN                  ADDRESS ON FILE
SCHOLZ, HANS DEREK                  ADDRESS ON FILE
SCHOMMER, MICHAEL J                 ADDRESS ON FILE
SCHOMPERT, SHAWN                    ADDRESS ON FILE
SCHONBRUN, RICHARD                  ADDRESS ON FILE
SCHONDELMAYER, JENNIFER             ADDRESS ON FILE
SCHONEBOOM, BRYAN                   ADDRESS ON FILE
SCHONEBOOM, TRENT                   ADDRESS ON FILE
SCHONS, STEVEN                      ADDRESS ON FILE
SCHOOL OUTFITTERS                   3736 REGENT AVE CINCINNATI OH 45212
SCHOOL ST REALTY, LLC               1A HILLCREST DR DOVER NH 03820
SCHOOL, CAYLA                       ADDRESS ON FILE
SCHOOLEN, PAUL                      ADDRESS ON FILE
SCHOOLEY, BRYAN                     ADDRESS ON FILE
SCHOON, THOMAS                      ADDRESS ON FILE
SCHOONOVER, BRUCE                   ADDRESS ON FILE
SCHOPP PROPERTIES                   ATTN: JUSTIN SCHOPP 2360 W MELGAARD ROAD ABERDEEN SD 57401
SCHOPP PROPERTIES LLC               2360 W MELGAARD ROAD ABERDEEN SD 57401
SCHORNICK, GARY                     ADDRESS ON FILE
SCHOTT PARTS & ACCESSORIES, LLC     8983 TRUCKMAN WAY NE SALEM OR 97303
SCHOTT TRANSPORTATION INC           991 STATE HIGHWAY EE CHAFFEE MO 63740
SCHOTT, MICHAEL                     ADDRESS ON FILE
SCHOTT, PAUL                        ADDRESS ON FILE
SCHRADER, JOHN                      ADDRESS ON FILE
SCHRADER, JONATHON                  ADDRESS ON FILE
SCHRADER, PAUL                      ADDRESS ON FILE
SCHRADER, THOMAS                    ADDRESS ON FILE
SCHRAND, JASON                      ADDRESS ON FILE
SCHRECK, GREGORY                    ADDRESS ON FILE
SCHRECKHISE, JACKIE                 ADDRESS ON FILE
SCHREIBER, RORY                     ADDRESS ON FILE
SCHREINER, SCOTT                    ADDRESS ON FILE
SCHREINER, TROY                     ADDRESS ON FILE
SCHREIWEIS, JARED                   ADDRESS ON FILE
SCHREMPP, JIM                       ADDRESS ON FILE
SCHREY, THOMAS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1698 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1707 of 2156

Claim Name                           Address Information
SCHRODER EXPEDITE INC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
SCHRODER, ERIC                       ADDRESS ON FILE
SCHROEDER TRUCK REPAIR               3106 N. 13TH STREET ST. LOUIS MO 63107
SCHROEDER, DANIEL                    ADDRESS ON FILE
SCHROEDER, DARREN                    ADDRESS ON FILE
SCHROEDER, EARL                      ADDRESS ON FILE
SCHROEDER, ERIC                      ADDRESS ON FILE
SCHROEDER, JAMES                     ADDRESS ON FILE
SCHROEDER, KRISTOFFER                ADDRESS ON FILE
SCHROEDER, MIKE                      ADDRESS ON FILE
SCHROEDER, SCOTT                     ADDRESS ON FILE
SCHROEDER, SHARON                    ADDRESS ON FILE
SCHROEDER, WILLIAM                   ADDRESS ON FILE
SCHROPE, ADAM                        ADDRESS ON FILE
SCHROR, JOHN                         ADDRESS ON FILE
SCHRUBBE, GUY                        ADDRESS ON FILE
SCHUAB PACKAGING                     147 LIBERTY DR LAKEWOOD NJ 08701
SCHUCHARD, VERNON                    ADDRESS ON FILE
SCHUCHMANN, PATRICK                  ADDRESS ON FILE
SCHUELL FENCE COMPANY                22377 ADAMS RD. SOUTH BEND IN 46628
SCHUERENBERG, TERESA                 ADDRESS ON FILE
SCHUESSLER, JONATHAN                 ADDRESS ON FILE
SCHUETTE, CHARLES                    ADDRESS ON FILE
SCHULLER, JOHN                       ADDRESS ON FILE
SCHULTE, ANDREW                      ADDRESS ON FILE
SCHULTE, GREGORY                     ADDRESS ON FILE
SCHULTZ, BEV                         ADDRESS ON FILE
SCHULTZ, BRIAN                       ADDRESS ON FILE
SCHULTZ, DERECK                      ADDRESS ON FILE
SCHULTZ, DONALD                      ADDRESS ON FILE
SCHULTZ, DONALD                      ADDRESS ON FILE
SCHULTZ, ERIC                        ADDRESS ON FILE
SCHULTZ, JEREMIAH                    ADDRESS ON FILE
SCHULTZ, JOHN                        ADDRESS ON FILE
SCHULTZ, JOSEPH                      ADDRESS ON FILE
SCHULTZ, JUSTIN                      ADDRESS ON FILE
SCHULTZ, KENDRICK                    ADDRESS ON FILE
SCHULTZ, KRYSTLINA                   ADDRESS ON FILE
SCHULTZ, STEVEN                      ADDRESS ON FILE
SCHULTZ, TIM                         ADDRESS ON FILE
SCHULTZ, TIMOTHY                     ADDRESS ON FILE
SCHULTZ, TIMOTHY                     ADDRESS ON FILE
SCHULZ, LAURA                        ADDRESS ON FILE
SCHULZ, MARNI                        ADDRESS ON FILE
SCHULZ, RICHARD                      ADDRESS ON FILE
SCHUMACHER, DON                      ADDRESS ON FILE
SCHUMACHER, KRISTINA M               ADDRESS ON FILE
SCHUMACHER, LEO                      ADDRESS ON FILE
SCHUMACHER, TRUDY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1699 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1708 of 2156

Claim Name                           Address Information
SCHUMACKER, ERIC                     ADDRESS ON FILE
SCHUMACKER, JACOB                    ADDRESS ON FILE
SCHUMAKER, DANIEL                    ADDRESS ON FILE
SCHUMAN, LARRY                       ADDRESS ON FILE
SCHUMAN, MATTHEW                     ADDRESS ON FILE
SCHUMANN, ALEXANDER                  ADDRESS ON FILE
SCHUMANN, ROBERT                     ADDRESS ON FILE
SCHUPP, LYNN                         ADDRESS ON FILE
SCHUSSMAN, RICHARD                   ADDRESS ON FILE
SCHUSTER CANDY                       ATTN: TAMARA TURNER 10100 JELLY BELLY LN PLEASANT PRAIRIE WI 53158
SCHUSTER, DEREK                      ADDRESS ON FILE
SCHUSTER, MARK                       ADDRESS ON FILE
SCHUTTE-BUFFALO                      61 DEPOT ST BUFFALO NY 14206
SCHUTTLOFFEL, RHONDA                 ADDRESS ON FILE
SCHUYLER, MARQUISE                   ADDRESS ON FILE
SCHWAB, ERAINA                       ADDRESS ON FILE
SCHWAB, GREGORY                      ADDRESS ON FILE
SCHWAB, SUSAN                        ADDRESS ON FILE
SCHWAB, THOMAS                       ADDRESS ON FILE
SCHWANDT, BRIAN                      ADDRESS ON FILE
SCHWANITZ, DAVID                     ADDRESS ON FILE
SCHWANTES, ADAM                      ADDRESS ON FILE
SCHWANTES, ADAM J                    ADDRESS ON FILE
SCHWARTZ TRANSPORT LLC               519 W HAZEL AVE LIMA OH 45801-3940
SCHWARTZ, ADAM                       ADDRESS ON FILE
SCHWARTZ, BARRY                      ADDRESS ON FILE
SCHWARTZ, CAMERON                    ADDRESS ON FILE
SCHWARTZ, EZRIEL                     ADDRESS ON FILE
SCHWARTZ, PAUL                       ADDRESS ON FILE
SCHWARTZ, REBECCA                    ADDRESS ON FILE
SCHWARTZ, TODD                       ADDRESS ON FILE
SCHWARTZMEYER, THOMAS                ADDRESS ON FILE
SCHWARZ LOGISTICS CORP               OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
SCHWARZ, MICHAEL                     ADDRESS ON FILE
SCHWARZE, MARK                       ADDRESS ON FILE
SCHWEICH, LEE                        ADDRESS ON FILE
SCHWEIKERT, PAUL                     ADDRESS ON FILE
SCHWEINLEIN, BENJAMIN                ADDRESS ON FILE
SCHWEITZER, EDWARD                   ADDRESS ON FILE
SCHWEITZER, PETER                    ADDRESS ON FILE
SCHWEMMER, ZACH                      ADDRESS ON FILE
SCHWENDEMANN, MICHAEL A              ADDRESS ON FILE
SCHWENGEL, RICHARD                   ADDRESS ON FILE
SCHWENKE, HELEN                      ADDRESS ON FILE
SCHWENKE, UTIE                       ADDRESS ON FILE
SCHWERTL COLLISION,INC.              12 KARL AVE SMITHTOWN NY 11787
SCHWETZ, LAWRENCE                    ADDRESS ON FILE
SCHWETZ, LAWRENCE                    ADDRESS ON FILE
SCHWICKERTS TECTA AMERICA LLC        TECTA AMERICA CORP, 330 POPLAR STREET MANKATO MN 56001



Epiq Corporate Restructuring, LLC                                                             Page 1700 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1709 of 2156

Claim Name                               Address Information
SCHWINGER, JOSHUA                        ADDRESS ON FILE
SCHWOEGLER, JOHN                         ADDRESS ON FILE
SCIARRA, JENNIFER                        ADDRESS ON FILE
SCIASCETTI, ALDO                         ADDRESS ON FILE
SCIBA, MATTHEW                           ADDRESS ON FILE
SCIENTIFIC BASED SOLUTIONS LLC           612 CARSONIA AVE READING PA 19606
SCIENTIFIC BRAKE & EQUIPMENT CO          PO BOX 840 SAGINAW MI 48606
SCKK                                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SCLAFANE, MICHAEL                        ADDRESS ON FILE
SCLAFANI, ARCANGELO                      ADDRESS ON FILE
SCLAFANI, JOE                            ADDRESS ON FILE
SCODARI, MICHAEL                         ADDRESS ON FILE
SCOGGINS, CHRISTOPHER                    ADDRESS ON FILE
SCOGGINS, DARREN                         ADDRESS ON FILE
SCOGIN, RAMONA                           ADDRESS ON FILE
SCOLARI, CHRISTIAN                       ADDRESS ON FILE
SCOLARI, HECTOR                          ADDRESS ON FILE
SCOLARO, DAVID                           ADDRESS ON FILE
SCOLLON, KAREN                           ADDRESS ON FILE
SCOPELITIS, GARVIN, LIGHT & HANSON P C   10 W MARKET ST STE 1500 INDIANAPOLIS IN 46204
SCOPELITIS, GARVIN, LIGHT,               HANSON & FEARY PC 10 W MARKET ST, SUITE 1400 INDIANAPOLIS IN 46204
SCORPIO SERVICES INC                     705 LAKESIDE CIRCLE DR WHEELING IL 60090
SCORPIO TRANS INC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SCORPION EXPRESS (MC1085952)             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SCORPION EXPRESS LOGISTICS CORP          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SCORPION TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SCORPION TRUCKING LLC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SCORPION TRUCKING USA CORP               168 NE FATIMA TERR PORT ST LUCIE FL 34983
SCORZAFAVA JR, PAUL                      ADDRESS ON FILE
SCOT HANSEN                              ADDRESS ON FILE
SCOTCHMAN INDUSTRIES INC                 ATTN: EDNA DALE PO BOX 850 PHILIP SD 57567
SCOTIA CAPITAL /CDS (5011)               ATT EVELYN PANDE OR PROXY DEPT SCOTIA PLAZA 40 KING ST W, 23RD FL TORONTO ON
                                         M5H 1H1 CANADA
SCOTIABANK                               PO BOX 3700 STATION MAIN 71787 WINNEPEG MB R3C 0A7 CANADA
SCOTLAND, AARON                          ADDRESS ON FILE
SCOTLAND, FLOYD                          ADDRESS ON FILE
SCOTT & SCOTTS ENTERPRISE LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SCOTT A MONTAGNA                         ADDRESS ON FILE
SCOTT A NORBERG                          ADDRESS ON FILE
SCOTT A SANWICK                          ADDRESS ON FILE
SCOTT A WAGNER                           ADDRESS ON FILE
SCOTT ADAMS                              ADDRESS ON FILE
SCOTT AND SCOTT LLP                      550 RESERVE STREET STE 150-190 SOUTHLAKE TX 76092
SCOTT BAKER TRUCKING INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SCOTT BARTUNEK                           ADDRESS ON FILE
SCOTT BAUER                              ADDRESS ON FILE
SCOTT BOYS TRUCKING                      OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
SCOTT C JOHNSON II                       ADDRESS ON FILE
SCOTT CARTAGE CO., INC.                  16 115 TH ST LEMONT IL 60439



Epiq Corporate Restructuring, LLC                                                                   Page 1701 OF 2145
                                           Yellow Corporation
                     Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1710 of 2156

Claim Name                          Address Information
SCOTT COUNTY COLLECTOR OF REVENUE   MARK HENSLEY PO BOX 128 BENTON MO 63736
SCOTT D DESLOOVER                   ADDRESS ON FILE
SCOTT D NORTON                      ADDRESS ON FILE
SCOTT ELECTRIC COMPANY              1919 N PORT AVE, PO BOX 1819 CORPUS CHRISTI TX 78403
SCOTT FIRE PROTECTION INC           145 DESIGN PL SPARKS NV 89441
SCOTT GINN OR HAILEY BISHINS        ADDRESS ON FILE
SCOTT GROVES                        ADDRESS ON FILE
SCOTT HENDERSON                     ADDRESS ON FILE
SCOTT INDUSTRIAL                    ATTN: ANDY METZGER 4433 INTERPOINT BLVD DAYTON OH 45424
SCOTT J FORD                        ADDRESS ON FILE
SCOTT L COLQUHOUN                   ADDRESS ON FILE
SCOTT L LEWIN                       ADDRESS ON FILE
SCOTT LOGISTICS                     3244 N SHEFFORD WICHITA KS 67205
SCOTT MORRIS MOORE                  ADDRESS ON FILE
SCOTT P SLATTERY                    ADDRESS ON FILE
SCOTT PILGER                        ADDRESS ON FILE
SCOTT RICE OFFICE WORKS, LLC        1325 N WARSON RD SAINT LOUIS MO 63132
SCOTT ROSS                          ADDRESS ON FILE
SCOTT T GINN                        ADDRESS ON FILE
SCOTT TRANSPORT & LOGISTICS LLC     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SCOTT TRUCK SYSTEMS, INC.           PO BOX 128 WHITELAND IN 46185
SCOTT TRUCKING                      6201 PETERSBURG ROAD EVANSVILLE IN 47725
SCOTT YERGES                        ADDRESS ON FILE
SCOTT, AIDAN                        ADDRESS ON FILE
SCOTT, ALAINA                       ADDRESS ON FILE
SCOTT, ALLEN                        ADDRESS ON FILE
SCOTT, ANTHONY                      ADDRESS ON FILE
SCOTT, ANTHONY                      ADDRESS ON FILE
SCOTT, ANTHONY                      ADDRESS ON FILE
SCOTT, ARMAND                       ADDRESS ON FILE
SCOTT, AURIEYALL                    ADDRESS ON FILE
SCOTT, AUSTIN                       ADDRESS ON FILE
SCOTT, BILLIE R                     ADDRESS ON FILE
SCOTT, BILLY                        ADDRESS ON FILE
SCOTT, BLAKE                        ADDRESS ON FILE
SCOTT, BRANDON                      ADDRESS ON FILE
SCOTT, BRANDON                      ADDRESS ON FILE
SCOTT, BRISON                       ADDRESS ON FILE
SCOTT, BRODERICK                    ADDRESS ON FILE
SCOTT, BRYAN                        ADDRESS ON FILE
SCOTT, BRYANT                       ADDRESS ON FILE
SCOTT, CARLTON D                    ADDRESS ON FILE
SCOTT, CHARLES                      ADDRESS ON FILE
SCOTT, CHARLES                      ADDRESS ON FILE
SCOTT, CHRISTOPHER                  ADDRESS ON FILE
SCOTT, CHRISTOPHER                  ADDRESS ON FILE
SCOTT, CHRISTOPHER                  ADDRESS ON FILE
SCOTT, CHRISTOPHER                  ADDRESS ON FILE
SCOTT, CHRISTOPHER                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1702 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1711 of 2156

Claim Name                        Address Information
SCOTT, CLARENCE                   ADDRESS ON FILE
SCOTT, DAMON                      ADDRESS ON FILE
SCOTT, DAVID                      ADDRESS ON FILE
SCOTT, DAVID                      ADDRESS ON FILE
SCOTT, DAVID                      ADDRESS ON FILE
SCOTT, DAVID                      ADDRESS ON FILE
SCOTT, DENNIS                     ADDRESS ON FILE
SCOTT, DERIUS                     ADDRESS ON FILE
SCOTT, DERWIN                     ADDRESS ON FILE
SCOTT, DONALD                     ADDRESS ON FILE
SCOTT, DONNY                      ADDRESS ON FILE
SCOTT, DORAN                      ADDRESS ON FILE
SCOTT, DUSTIN                     ADDRESS ON FILE
SCOTT, EDMOND                     ADDRESS ON FILE
SCOTT, EMILY                      ADDRESS ON FILE
SCOTT, ERIC                       ADDRESS ON FILE
SCOTT, FELIX                      ADDRESS ON FILE
SCOTT, GREGORY                    ADDRESS ON FILE
SCOTT, HAROLD                     ADDRESS ON FILE
SCOTT, ISAIAH                     ADDRESS ON FILE
SCOTT, ISRAEL L                   ADDRESS ON FILE
SCOTT, ISRAEL L                   ADDRESS ON FILE
SCOTT, JACKIE E                   ADDRESS ON FILE
SCOTT, JAMES                      ADDRESS ON FILE
SCOTT, JAMES A                    ADDRESS ON FILE
SCOTT, JAYDEN                     ADDRESS ON FILE
SCOTT, JEFFERY                    ADDRESS ON FILE
SCOTT, JEFFREY                    ADDRESS ON FILE
SCOTT, JERMAINE                   ADDRESS ON FILE
SCOTT, JERRY                      ADDRESS ON FILE
SCOTT, JERRY                      ADDRESS ON FILE
SCOTT, JOHN                       ADDRESS ON FILE
SCOTT, JOSHUA                     ADDRESS ON FILE
SCOTT, JUSTIN                     ADDRESS ON FILE
SCOTT, KENNETH                    ADDRESS ON FILE
SCOTT, KENNETH                    ADDRESS ON FILE
SCOTT, KEVIN                      ADDRESS ON FILE
SCOTT, KRISTOPHER                 ADDRESS ON FILE
SCOTT, LANCE                      ADDRESS ON FILE
SCOTT, LARRY                      ADDRESS ON FILE
SCOTT, LASHAWN                    ADDRESS ON FILE
SCOTT, LAWRENCE                   ADDRESS ON FILE
SCOTT, LEROY                      ADDRESS ON FILE
SCOTT, LESLIE                     ADDRESS ON FILE
SCOTT, MARC                       ADDRESS ON FILE
SCOTT, MARCUS                     ADDRESS ON FILE
SCOTT, MARCUS                     ADDRESS ON FILE
SCOTT, MARIO                      ADDRESS ON FILE
SCOTT, MARQUEAN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1703 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1712 of 2156

Claim Name                              Address Information
SCOTT, MELISSA                          ADDRESS ON FILE
SCOTT, MICHAEL                          ADDRESS ON FILE
SCOTT, MICHAEL                          ADDRESS ON FILE
SCOTT, NATHAN                           ADDRESS ON FILE
SCOTT, NATHAN                           ADDRESS ON FILE
SCOTT, NATHANIEL                        ADDRESS ON FILE
SCOTT, PAUL                             ADDRESS ON FILE
SCOTT, PHILLIP                          ADDRESS ON FILE
SCOTT, PHILLIP                          ADDRESS ON FILE
SCOTT, ROGER                            ADDRESS ON FILE
SCOTT, RYAN                             ADDRESS ON FILE
SCOTT, RYON                             ADDRESS ON FILE
SCOTT, SHANE                            ADDRESS ON FILE
SCOTT, SHANE M                          ADDRESS ON FILE
SCOTT, SHIRLENE                         ADDRESS ON FILE
SCOTT, SIMON                            ADDRESS ON FILE
SCOTT, TERRY                            ADDRESS ON FILE
SCOTT, THOMAS                           ADDRESS ON FILE
SCOTT, TRACIE                           ADDRESS ON FILE
SCOTT, TREJANN                          ADDRESS ON FILE
SCOTT, TROY                             ADDRESS ON FILE
SCOTT, VALERIE                          ADDRESS ON FILE
SCOTT, VANCE                            ADDRESS ON FILE
SCOTT, WILLIE                           ADDRESS ON FILE
SCOTT, XAVIER                           ADDRESS ON FILE
SCOTT, ZACH                             ADDRESS ON FILE
SCOTT, ZACHARY                          ADDRESS ON FILE
SCOTT, ZEGARY                           ADDRESS ON FILE
SCOTT-BURKE, TANYA                      ADDRESS ON FILE
SCOTTCO DIST INC                        PO BOX 3126 HAYDEN ID 83835
SCOTTI, THOMAS A                        ADDRESS ON FILE
SCOTTIE ANDREWS TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SCOTTIE LOGISTICS INC                   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
SCOTTO, YURI                            ADDRESS ON FILE
SCOTTS COMMERCIAL TRUCK SERVICE         5930 BENORE RD TOLEDO OH 43612
SCOTTS COMPANY LLC                      14111 SCOTTSLAWN RD MARYSVILLE OH 43040
SCOTTS CORNERS PAINT & HARDWARE, INC    1037 STATE ROUTE 17K MONTGOMERY NY 12549
SCOTTS GRADING                          PO BOX 121 CALLAWAY VA 24067
SCOTTS MOBILE WELDING LLC               305 SUGAR AVE BILLINGS MT 59101
SCOTTS PRESSURE WASH                    BOX 257, 16 MIDLAKE BLVD. SE CALGARY AB T2X 2X7 CANADA
SCOTTS TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SCOTTSDALE INDEMNITY COMPANY            ATTN: GENERAL COUNSEL 1 NATIONWIDE PLAZA COLUMBUS OH 43215
SCOTTSHOTTS LIMITED LIABILITY COMPANY   OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SCOTTY P TRANSPORT                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SCOTTYS MOBILE WASH                     3 FROST AVENUE WINNIPEG MB R3K 0E1 CANADA
SCOVIL HANNA DBA RROWHEAD IND           ATTN: MARK GURDY 4545 JOHNSTON PKWY CLEVELAND OH 44128
SCP DISTRIBUTION LLC EDI                109 NORTHPARK BLVD FL 4 COVINGTON LA 70433
SCP DISTRIBUTORS LLC                    ATTN: NICK MCVEY 2610 NE HAGAN RD LEES SUMMIT MO 64064
SCP DISTRIBUTORS LLC 41                 902 4TH ST SW STE F AUBURN WA 98001



Epiq Corporate Restructuring, LLC                                                                Page 1704 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1713 of 2156

Claim Name                             Address Information
SCRANTON ELECTRIC HEATING              & COOLING SVC INC 800 SANDERSON ST THROOP PA 18512
SCRIBER, BRADLEY                       ADDRESS ON FILE
SCRITCHFIELD, ASHLEY                   ADDRESS ON FILE
SCROFANO, YVONNE                       ADDRESS ON FILE
SCROGGINS, LEEORA                      ADDRESS ON FILE
SCRUGGS, ALLEN                         ADDRESS ON FILE
SCS LOGISTICS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SCS NW PORTLAND                        ATTN: BEN PHELPS NW WAREHOUSE 2353 NW 21ST AVE PORTLAND OR 97209
SCUDDER, DENNIS                        ADDRESS ON FILE
SCURLOCK, BRANDON                      ADDRESS ON FILE
SCUTT LEE, SAMUEL                      ADDRESS ON FILE
SCUTT TRUCKING LLC                     P O BOX 23213 MINT HILL NC 28227
SCZEPANIK, PATRICK                     ADDRESS ON FILE
SD & ANGELS TRANSPORT LLC              OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
SD & D TRUCKING LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SD ELECTRIC TECHNOLOGIES               1548 JAYKEN WAY STE A CHULA VISTA CA 91911
SD FREIGHT                             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SD RETAILERS                           8949 KENAMAR DR STE 104 SAN DIEGO CA 92121
SD TRUCKING INC                        OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SD UNLIMITED TRANSPORTATION LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SDE TRANSPORT INC                      OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
SDJ EXPRESS INC                        OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SDJ LOGISTICS LLC                      222 WEST LAS COLINAS BLVD, SUITE 1650E IRVING TX 75039
SDJ LOGISTICS LLC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SDJ TRANSPORT INC                      OR RIVIERA FINANCE OF IOWA PO BOX 310243 DES MOINES IA 50331-0243
SDJ TRUCKING LLC                       OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
SDL CARRIERS INC                       OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
SDL LOGISTICS LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SDM LOGISTIC & TRUCKING CORP           OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SDPI INC                               OR SEVENOAKS CAPITAL ASSOC, LLC PO BOX 669130 HOUSTON TX 75266
SDQ LOGISTICS LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SDR TRANS INC                          OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SDR TRUCKING, LLC                      5600 UNIVERSAL DRIVE MEMPHIS TN 38118
SDS EXPRESS INC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SDS FREIGHT INC                        OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SDS TRANSPORT LLC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SDT HAULING EXPRESS LLC                OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
SDTTC                                  PO BOX 129009 SAN DIEGO CA 92112
SDX                                    1090 CASSENS IND COURT FENTON MO 63026
SDY TRUCKING                           888 COUNTY RD D WEST NEW BRIGHTON 55112
SEA AIR LAND LOGISTICS, INC.           PO BOX 44128 BROOKLYN OH 44144
SEA COAST TRANSPORT LLC                OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SEA LAND FREIGHT SOLUTIONS INC         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEA SALT SUPER STORE                   11604 AIRPORT RD STE 300 EVERETT WA 98204
SEA TRANSPORT & LOGISTICS INC          1 ORIENT WAY SUITE F 109 RUTHERFORD NJ 07070
SEA TRANSPORT LLC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SEAA LOGISTICS LLC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SEAAGRI SOLUTIONS, LLC                 10150 CEDAR RIDGE DR MILTON GA 30004
SEABOARD EXPRESS TRANSPORTATION SVCS   125 NORTH MARKET ST PETERSBURG VA 23803



Epiq Corporate Restructuring, LLC                                                                Page 1705 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1714 of 2156

Claim Name                              Address Information
LLC                                     125 NORTH MARKET ST PETERSBURG VA 23803
SEABORN CARRIERS LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SEABORN, KEVIN                          ADDRESS ON FILE
SEABORNE LOGISTICS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SEABROOK, SEVERIN                       ADDRESS ON FILE
SEACAST                                 6130 31ST AVE NE MARYSVILLE WA 98271
SEAGATE TRANSPORTATION SERVICES, INC.   PO BOX 379 TOLEDO OH 43697
SEAGRAVE, PAUL                          ADDRESS ON FILE
SEAGULL FENCE AND CONCRETE LLC          30143 DISCOUNT LAND RD LAUREL DE 19956
SEAGULL LOGISTICS LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEAGULL TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SEAGULL TRUCKING, LLC.                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SEAHAWK LOGISTICS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SEAHAWKS EXPRESS LLC                    OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                        76116
SEAHAWKS TRUCKING LTD                   80 LOEWEN PL WINNIPEG MB R3Y 0L5 CANADA
SEAHORSE TRANSPORT INC                  3051 N INDIANA AVE BROWNSVILLE TX 78526
SEAHOWK LOGISTICS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SEAKKA EXPRESS LOGISTICS LLC            OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEAL BILT LLC                           ATTN: RICK SEAL 6869 US11 CARRIERE MS 39426
SEAL BOND                               14851 MICHAEL LN SPRING LAKE MI 49456
SEAL BUILT LLC                          ATTN: RICK SEAL 120 HWY 11 N UNIT 1415 PICAYUNE MS 39466
SEAL METHODS                            11915 SHOEMAKER AVE SANTA FE SPRINGS CA 90670
SEAL METHODS INC.                       ATTN: SANDRA LUA 11915 SHOEMAKER AVE. SANTA FE SPRINGS CA 90670-4717
SEAL SEISMIC SERVICE LLC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEAL, CHARLES                           ADDRESS ON FILE
SEAL-IT INTERNATIONAL INC.              1530 PRINCE OF WALES AVENUE SASKATOON SK S7K 3E2 CANADA
SEALE, JACQUALYNE                       ADDRESS ON FILE
SEALE, MARK                             ADDRESS ON FILE
SEALED AIR                              TRANS AUDIT, 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
SEALED AIR CORPORATION                  10 OLD SHERMAN TPKE DANBURY CT 06810
SEALEY, GERALD                          ADDRESS ON FILE
SEALMASTER INC                          OR THORSPORT RACING OR GEM SEAL OR X-10 PO BOX 2277 SANDUSKY OH 44871
SEALS, TERRY                            ADDRESS ON FILE
SEALY, SEAN                             ADDRESS ON FILE
SEAMER, ALEXIS                          ADDRESS ON FILE
SEAMON, JACOB                           ADDRESS ON FILE
SEAN D MILNE                            ADDRESS ON FILE
SEAN DONOVAN                            ADDRESS ON FILE
SEAN DOWNEY                             ADDRESS ON FILE
SEAN E BURRIS                           ADDRESS ON FILE
SEAN KUSAK                              ADDRESS ON FILE
SEAN M JONES                            ADDRESS ON FILE
SEAN MAGUIRE                            ADDRESS ON FILE
SEAN MCKITTRICK                         ADDRESS ON FILE
SEAN R SAUNDERS                         ADDRESS ON FILE
SEAN T ABERNETHY                        ADDRESS ON FILE
SEARBY, DANIEL                          ADDRESS ON FILE
SEARCY, GREG                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1706 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1715 of 2156

Claim Name                            Address Information
SEARCY, LARRY                         ADDRESS ON FILE
SEARCY, MICHAEL                       ADDRESS ON FILE
SEARL, RONALD                         ADDRESS ON FILE
SEARLE, JACK                          ADDRESS ON FILE
SEARLES, MICHAEL                      ADDRESS ON FILE
SEARS, GERALD                         ADDRESS ON FILE
SEARS, JOEL                           ADDRESS ON FILE
SEARS, JOHN                           ADDRESS ON FILE
SEARS, KENNAN                         ADDRESS ON FILE
SEARS, RANDY                          ADDRESS ON FILE
SEARS, RICHARD                        ADDRESS ON FILE
SEASIDE ELECTRIC INC                  PO BOX 23557 VENTURA CA 93002
SEASONINGS NET LLC DBA NA             8001 S 194TH ST KENT WA 98032
SEASONINGS.NET                        PO BOX 746 KENT WA 98035
SEASONS CHANGE PROPERTY MAINTENANCE   139 OBRIEN MEADOWS HINESBURG VT 05461
SEATAC FIRE PROTECTION LLC            PO BOX 88565 TUKWILA WA 98138
SEATEX MARINE                         ATTN: JESUS ORIHUELA 729 W 16TH ST UNIT A2 COSTA MESA CA 92627
SEATON, AVA                           ADDRESS ON FILE
SEATON, KENDELL                       ADDRESS ON FILE
SEATPLY PRODUCTS                      ATTN: WAGUIH SHEDID 173 MERIZZI ST ST LAURENT QC H4T 1Y3 CANADA
SEATTLE 28                            ATTN: LANA MOSKVICH 1100 ANDOVER PARK W TUKWILA WA 98188
SEATTLE DEDICATED SOLUTIONS LLC       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SEATTLE ENTERPRISES,LLC               ATTN: JULIA BREDA 4005 NW RIGGS DRIVE PORTLAND OR 97229-8093
SEATTLE TACOMA BOX COMPANY            23400 71ST ST. PL S KENT WA 98032
SEATTLE TRANS LLC                     13906 41ST DRIVE SE MILL CREEK WA 98012
SEAVERS, RENEE                        ADDRESS ON FILE
SEAVEY, GEORGE                        ADDRESS ON FILE
SEAWAY EXPRESS INC                    605 BOUNDARY RD CORNWALL ON K6H 6K8 CANADA
SEAWRIGHT, DASHON                     ADDRESS ON FILE
SEAWRIGHT, DASHON L                   ADDRESS ON FILE
SEAY, CHARLES                         ADDRESS ON FILE
SEAY, JAMES                           ADDRESS ON FILE
SEAY, WILLIAM                         ADDRESS ON FILE
SEBANC, DONALD                        ADDRESS ON FILE
SEBASTA, TAMARA                       ADDRESS ON FILE
SEBASTIAN B CATICHA                   ADDRESS ON FILE
SEBASTIAN HAULING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SEBASTIAN MAYER                       ADDRESS ON FILE
SEBASTIAN R JARRETT                   ADDRESS ON FILE
SEBASTIAN, RICHARD                    ADDRESS ON FILE
SEBASTIANS TRANSPORT, INC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SEBELIUS, MARVIN                      ADDRESS ON FILE
SEBESTYEN, DAVE                       ADDRESS ON FILE
SEBEY TRUCKING LLC                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SEBRI TRUCKING INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SEC AMERICA CORP                      SEC AMERICA CORP, 78 THAN ALLEN DR WILLISTON ROAD SECTION VT 05403
SEC TRANSPORT                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SEC TRANSPORTATION INC                OR MCKENZIE BANKING, P.O. BOX 936 PAIRIS TN 38242
SECANI TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                Page 1707 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1716 of 2156

Claim Name                            Address Information
SECHRIST, BRIAN K                     ADDRESS ON FILE
SECK & SONS LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SECK TRUCKING LOGISTICS LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SECKERS, NANCY                        ADDRESS ON FILE
SECO ELECTRIC CO INC                  350 W PIKE ST COVINGTON KY 41011
SECO LLC                              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SECO PROPERTY COMPANY LLC             C/O OAK TREE PROPERTY CO. 936 E LAKE AVE WATSONVILLE CA 95076
SECOLIC, STEVE J                      ADDRESS ON FILE
SECOND NATURE FARM LLC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SECOND TIME TRANSPORTATION, LLC       OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SECOR LOGISTICS LLC                   8686 BROOKPARK RD CLEVELAND OH 44129
SECOR, JOSEPH                         ADDRESS ON FILE
SECOR, PAUL                           ADDRESS ON FILE
SECORD, DOUGLAS                       ADDRESS ON FILE
SECOWIS TRANSPORT                     5185 REMINGTON COURT NW LILBURN GA 30047
SECRETARIO DE HACIENDA                PO BOX 191020 SAN JUAN PR 00919
SECRETARY OF STATE                    ATTN: CORPORATE FILLINGS 1205 PENDLETON ST STE 525 COLUMBIA SC 29201
SECRETARY OF STATE, ILLINOIS          DEPTOF BUS. SVC, 501 S 2ND ST SPRINGFIELD IL 62756
SECRETARY OF STATE, ILLINOIS          DEPTOF BUS. SVCS RM 330 HOWLETT BLDG SPRINGFIELD IL 62756
SECRETARY OF STATE, NEBRASKA          1445 K ST STE 1301, PO BOX 94608 LINCOLN NE 68509
SECUR TEK MONITORING SOLUTIONS INC.   70-1ST AVENUE NORTH YORKTON SK S3N 1J6 CANADA
SECURE E-CYCLE                        3052 S 24TH ST KANSAS CITY KS 66106
SECURE EXPRESS LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SECURE FLEET SERVICES                 209 GUADALUPE STREET GUADALUPE CA 93434
SECURE LOGISTICS                      ATTN: JEFF BENGEL 700 W RANDALL ST COOPERSVILLE MI 49404
SECURE LOGISTICS, LLC                 700 WEST RANDALL STREET COOPERSVILLE MI 49404
SECURE LOGISTIX INC                   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SECURE STORAGE OF OHIO                3842 CONGRESS PARKWAY SUITE B RICHFIELD OH 44286
SECURE TRANSIT, INC.                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SECURE TRANSIT, INC.                  OR RM CAPITAL GROUP, INC PO BOX 509141, DEPT 914 SAN DIEGO CA 92150
SECURE TRUCK LINE INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SECURE TRUCKING TRANSPORT LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SECUREIT TACTICAL                     ATTN: SUSAN LEPAGE KUEHNE NAGEL INC PO BOX 9490 FALL RIVER MA 02720
SECURETECH FENCE SYSTEMS INC          1720 ROGERS AVE SAN JOSE CA 95112
SECURITAS CANADA LIMITED              PO BOX 9214 STN A TORONTO ON M5W 3M1 CANADA
SECURITAS ELECTRONIC SECURITY INC     PO BOX 643731 PITTSBURGH PA 15264
SECURITAS SECURITY SERVICES           PO BOX 403412 ATLANTA GA 30384
SECURITAS SECURITY SERVICES           P.O. BOX 403412 ATLANTA GA 30384-3412
SECURITAS SECURITY SERVICES           12672 COLLECTIONS CENTER DR. CHICAGO IL 60693
SECURITAS SECURITY SERVICES           KANSAS CITY NORTHWEST, 8330 WARD PARKWAY KANSAS CITY MO 64114
SECURITAS SECURITY SERVICES           FILE 57220 LOS ANGELES CA 90074
SECURITAS SECURITY SERVICES           P.O.BOX 57220 LOS ANGELES CA 90074
SECURITAS SECURITY SVCS               LAREDO 61060, 216 W. VLG BLVD STE 103 LAREDO TX 78041
SECURITAS TECHNOLOGY CORPORATION      DEPT CH 10651 PALATINE IL 60055
SECURITIES & EXCHANGE COMMISSION      NEW YORK REGIONAL OFFICE ATTN: ANDREW CALAMARI, REGIONAL DIRECTOR 200 VESEY
                                      STREET, SUITE 400 NEW YORK NY 10281-1022
SECURITIES & EXCHANGE COMMISSION      100 F STREET, NE WASHINGTON DC 20549
SECURITY 101                          1165 SANCTUARY PKWY STE 270 ALPHARETTA GA 30004
SECURITY FENCE CO                     710 WISE AVE, PO BOX 395 RED LION PA 17356



Epiq Corporate Restructuring, LLC                                                                Page 1708 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1717 of 2156

Claim Name                              Address Information
SECURITY FENCE SYSTEMS, INC.            3524 ROMBOUTS AVENUE NEW YORK NY 10475
SECURITY FENCE SYSTEMS, INC.            4060 BOSTON RD BRONX NY 10475
SECURITY NEST LLC                       OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
SECURITY SAFE & LOCK                    2392 E. TURKEYFOOT LAKE RD AKRON OH 44312
SECURITY SCALE SERVICE, INC             PO BOX 12207 ROANOKE VA 24023
SECURITY SOLUTIONS OF AMERICA           PO BOX 733803 DALLAS TX 75373
SECURITY TECH                           2900 W LINCOLN AVE D202 ANAHEIM CA 92801
SECURITY TRANSPORT INC                  111 142ND ST HAMMOND IN 46327
SEDA, EDWIN                             ADDRESS ON FILE
SEDANI TRANSPORTATION INC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SEDEN LOGISTICS LLC                     20933 E ITHACA PL AURORA CO 80013
SEDGWICK CANADA INC                     PO BOX 911050 TORONTO ON M5W 0E9 CANADA
SEDGWICK CLAIMS MANAGEMENT SERVICES     ATTN: JOSHUA CATALANO P.O. BOX 14151 LEXINGTON KY 40512-4151
SEDGWICK CLAIMS MANAGEMENT SVCS, INC.   ATTN: BRIAN WADIAK MARLTON PO BOX 14151 LEXINGTON KY 40512-4151
SEDGWICK CLAIMS MANAGEMENT SVCS, INC.   PO BOX 5076 MEMPHIS TN 38101
SEDGWICK CLAIMS MANAGEMENT SVCS, INC.   ATTN: GENERAL COUNSEL 8125 SEDGWICK WY MEMPHIS TN 38125
SEDGWICK CLAIMS MANAGEMENT SVCS, INC.   PO BOX 207834 DALLAS TX 75320
SEDGWICK COUNTY                         100 N. BROADWAY SUITE 100 WICHITA SD 67202
SEDGWICK, SCOTT                         ADDRESS ON FILE
SEDILLO, PABLO                          ADDRESS ON FILE
SEDIVY, JOSEPH                          ADDRESS ON FILE
SEDLAN EXPRESS INC                      OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
SEDLESKI, MICHAEL                       ADDRESS ON FILE
SEE YOU SOON TRUCKING LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SEE, MICHAEL                            ADDRESS ON FILE
SEEBOLD, HARRY                          ADDRESS ON FILE
SEEDES, THOMAS                          ADDRESS ON FILE
SEEDS, BRADLEY                          ADDRESS ON FILE
SEEDY BENSOUDA                          ADDRESS ON FILE
SEEFELD, CRAIG                          ADDRESS ON FILE
SEEGER BURMIS, MARY                     ADDRESS ON FILE
SEEGERS TRUCK & TRAILER REPAIR          1125 66TH AVE S.W. CEDAR RAPIDS IA 52341
SEEGRIST, RICHARD A                     ADDRESS ON FILE
SEEHASE, DARWIN                         ADDRESS ON FILE
SEEK, DOUGLAS                           ADDRESS ON FILE
SEELEY, ROBERT                          ADDRESS ON FILE
SEELING, GARY                           ADDRESS ON FILE
SEELOW, JAMES                           ADDRESS ON FILE
SEELY, LORI                             ADDRESS ON FILE
SEEP, ROBERT A                          ADDRESS ON FILE
SEEPERSAUD, DAREN                       ADDRESS ON FILE
SEERAJ, DARRYL                          ADDRESS ON FILE
SEES, MAKENZIE                          ADDRESS ON FILE
SEES, TY                                ADDRESS ON FILE
SEESAVIOR ALLAH                         ADDRESS ON FILE
SEESE, DANIEL                           ADDRESS ON FILE
SEESE, WILLIAM                          ADDRESS ON FILE
SEETARAM, DINDYAL                       ADDRESS ON FILE
SEETARAM, DINDYAL                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1709 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1718 of 2156

Claim Name                            Address Information
SEFAU, JACK                           ADDRESS ON FILE
SEGA TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SEGAL TRANSPORTATION LLC              OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
SEGAR EXPRESS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SEGGS TRUCKING LLC                    206 E FIELD ST SECOR IL 61771
SEGI, SIOLOA                          ADDRESS ON FILE
SEGO, TIMOTHY                         ADDRESS ON FILE
SEGOVIA TRANSPORTATION SERVICES LLC   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
SEGOVIA, RUDOLFO                      ADDRESS ON FILE
SEGOVIA, SONNY                        ADDRESS ON FILE
SEGURA MATOS, OMAR                    ADDRESS ON FILE
SEGURA, ALFREDO                       ADDRESS ON FILE
SEGURA, JUAN M                        ADDRESS ON FILE
SEGURA, OSVALDO                       ADDRESS ON FILE
SEGUY TRANSPORTS LLC                  270 CLARA BENNETT OLMITO TX 78575
SEHAJ INC                             5520 DEVONSHIRE DR HAMBURG NY 14075
SEHIC TRUCKING LLC                    OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
SEHRING, JILLIAN                      ADDRESS ON FILE
SEI EXPRESS LLC                       OR PORTER BILLING SVCS, LLC PO BOX 440127 NASHVILLE TN 37244
SEI PRIVATE TST CO (2663)             ATT ERIC GREENE OR PROXY MGR ONE FREEDOM VALLEY DR OAKS PA 19456
SEIBEL, GORDON                        ADDRESS ON FILE
SEIBEL, KIM                           ADDRESS ON FILE
SEIBER, BRYCE                         ADDRESS ON FILE
SEIDEL, JANINA                        ADDRESS ON FILE
SEIDL, STUART                         ADDRESS ON FILE
SEIDL, VIRGIL                         ADDRESS ON FILE
SEIFERT, PAUL                         ADDRESS ON FILE
SEIFERT, ROBERT                       ADDRESS ON FILE
SEIJAY GLOBAL, LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SEILLER, DONALD                       ADDRESS ON FILE
SEIN TRANSPORTATION LLC               OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SEITZ, DAMIAN                         ADDRESS ON FILE
SEIVWRIGHT, LEONARD                   ADDRESS ON FILE
SEIZE THE WAY INC                     OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
SEJ TRANSPORTATION LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SEK, JANET                            ADDRESS ON FILE
SEKANIC, VICTOR                       ADDRESS ON FILE
SEKERA, EDWARD R                      ADDRESS ON FILE
SEKERAK, JOSEPH                       ADDRESS ON FILE
SEKHON EXPRESS LLC                    OR SOUND FINANCE CORP PO BOX 679281 DALLAS TX 75267-9281
SEKHON TRANSPORTATION LLC             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SEKHON TRUCKING LLC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SEKHRI TRANSPORT INC                  1045 MONTELENA AVE LIVINGSTON CA 95334
SEKO LOGISTICS                        1100 ARLINGTON HGTS RD ITASCA IL 60143
SEKO WORLDWIDE                        17949 NE SANDY BLVD PORTLAND OR 97230
SEKO WORLDWIDE, LLC                   1100 NORTH ARLINGTON HEIGHTS RD STE 600 ITASCA IL 60143
SEKO WORLDWIDE, LLC                   PO BOX 71141 CHICAGO IL 60694
SEKULA LLC                            4454 WILFORD LN, APT A BOWLING GREEN KY 42101
SEKULA LLC                            OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                                Page 1710 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1719 of 2156

Claim Name                            Address Information
SELADONES, ANDREW                     ADDRESS ON FILE
SELAH GROUP INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SELAM EXPRESS INC                     5136 MERWYN AVE CHARLOTTE NC 28215
SELAM EXPRESS INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
SELAM EXPRESS INC (MC094486)          OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SELAM EXPRESS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SELAM LOGISTICS LLC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SELAM TRANS INC                       3658 JACKSON BLUFF DR LAWRENCEVILLE GA 30044
SELAM TRANS INC                       OR SEVEN OAKS CAPITAL PO BOX 4869 DEPT 470 HOUSTON TX 77210
SELAM TRANSPORT LLC (MC951810)        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SELAM TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SELAM14 TRUCKING LLC                  OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SELBY, BERT                           ADDRESS ON FILE
SELBY, ROBERT                         ADDRESS ON FILE
SELBY, ROBERT                         ADDRESS ON FILE
SELCO                                 100 MAPLE AVE SHREWSBURY MA 01545
SELDERS, MARK                         ADDRESS ON FILE
SELDERS, MARK A                       ADDRESS ON FILE
SELDON TRUCKING LLC                   OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
SELECT BROKERS TRUCKING INC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SELECT CORPORATION                    OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, STE 230 MORTON GROVE IL 60053
SELECT DOOR SERVICE LLC               1040 COMMERCE CT STE 3 BOGART GA 30622
SELECT FINISHING                      ATTN: TRACEY JARDINE 6850 BASE LINE WALLACEBURG ON N8A 2K6 CANADA
SELECT LOGISTICS INC (KNOXVILLE TN)   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SELECT OFFICE SYSTEMS, INC.           P.O. BOX 11777 BURBANK CA 91510
SELECT SALES                          PO BOX 807 TUALATIN OR 97062
SELECT STRUCTURAL ENGINEERING         606 14TH AVE SW CEDAR RAPIDS IA 52404
SELECT VAN & STORAGE CO.              8006 J STREET OMAHA NE 68127-1721
SELECTIVE EXPRESS, INC.               OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
SELECTRON INDUSTRIAL CO               ATTN: JOHN KYUNG 16410 MANNING WAY CERRITOS CA 90703
SELEGUE, BRENDAN                      ADDRESS ON FILE
SELENKE, REBECCA                      ADDRESS ON FILE
SELER, MICHAEL                        ADDRESS ON FILE
SELEX EXPRESS LLC                     OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
SELEZNOFF, NIKOLAI                    ADDRESS ON FILE
SELF CREEK TRUCKING, LTD              1288 HIGHWAY 84 E AMITY AR 71921-8420
SELF MADE TRUCKING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SELF, CHRISTOPHER                     ADDRESS ON FILE
SELF, JOHN                            ADDRESS ON FILE
SELF, MICHAEL                         ADDRESS ON FILE
SELF, MICHAEL                         ADDRESS ON FILE
SELF, ROBERT                          ADDRESS ON FILE
SELF, TYA                             ADDRESS ON FILE
SELF, ZACH                            ADDRESS ON FILE
SELFRIDGE, JOSHUA                     ADDRESS ON FILE
SELIMOVIC, SENAD                      ADDRESS ON FILE
SELKE, MIKE                           ADDRESS ON FILE
SELKING INTERNATIONAL INC             PO BOX 369 STONY RIDGE OH 43463



Epiq Corporate Restructuring, LLC                                                                Page 1711 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1720 of 2156

Claim Name                           Address Information
SELKING INTERNATIONAL INC            PO BOX 80040 FORT WAYNE IN 46898
SELKING INTERNATIONAL INC            PO BOX 2267 MONROE MI 48161
SELKING INTERNATIONAL INC            4849 W WESTERN AVENUE SOUTH BEND IN 46619
SELL, JACK                           ADDRESS ON FILE
SELLARS, STEVE                       ADDRESS ON FILE
SELLEN, PETER                        ADDRESS ON FILE
SELLER-Z INSPECT LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SELLERS, ANTHONY                     ADDRESS ON FILE
SELLERS, EDWARD                      ADDRESS ON FILE
SELLERS, GARY                        ADDRESS ON FILE
SELLERS, GEORGE L                    ADDRESS ON FILE
SELLERS, JOHNNIE                     ADDRESS ON FILE
SELLERS, MICHAEL                     ADDRESS ON FILE
SELLERS, NATHANAEL                   ADDRESS ON FILE
SELLERS, TAYLOR                      ADDRESS ON FILE
SELLERS, THOMAS                      ADDRESS ON FILE
SELLERS, TRAE                        ADDRESS ON FILE
SELLS, TYRONE                        ADDRESS ON FILE
SELMAN, RICHARD                      ADDRESS ON FILE
SELMON, JUSTICE                      ADDRESS ON FILE
SELSOR, ERICA                        ADDRESS ON FILE
SELVEY, DEON                         ADDRESS ON FILE
SELVIG, STEVEN                       ADDRESS ON FILE
SELVIG, TIMOTHY                      ADDRESS ON FILE
SEM EXPRESS LLC                      OR ASSIST FINANCIAL SVCS, INC PO BOX 347 MADISON SD 57042
SEM TRANSPORTATION EXPRESS LLC       OR AFS, INC., PO BOX 347 MADISON SD 57042
SEMA LOGISTICS INC                   OR CRESTMARK, PO BOX 3625 COMMERCE COURT POSTAL STATION TORONTO ON M5L 1K1
                                     CANADA
SEMAN, MARIA ESTHER                  ADDRESS ON FILE
SEMAY TRANSPORTATION LLC             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SEMAYAS TRANSPORTATION LLC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SEMBHI TRUCKING LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SEMCO ENERGY GAS CO                  34 US HWY 41 E NEGAUNEE MI 49866-9603
SEMCO SURFACES                       C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO 725 CHICAGO IL 60654
SEMCOENERGY                          P.O. BOX 740812 CINCINNATI OH 45274-0812
SEMENYNA, DAVID                      ADDRESS ON FILE
SEMI RETIRED TRUCKING                751 SWEETWATER CREEK DR CANTON GA 30114
SEMI SERVICE, INC.                   4285 W 1385 S SALT LAKE CITY UT 84104
SEMI TRANS LLC                       OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEMI TRANSPORT INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SEMI TRUCKING LLC                    OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
SEMINA LLC                           OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SEMINOLE EXPRESS                     32585 U.S. HWY 90 SEMINOLE AL 36574
SEMIS EXPRESS INCORPORATED           OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SEMLING, RANDAL                      ADDRESS ON FILE
SEMMEL, JAMES R                      ADDRESS ON FILE
SEMMELROTH, LAUREN                   ADDRESS ON FILE
SEMMEN, BONNIE                       ADDRESS ON FILE
SEMMES, KEVIN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1712 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1721 of 2156

Claim Name                           Address Information
SEMO ELECTRIC COOP                   1505 S MAIN ST SIKESTON MO 63801-9379
SEMO EXPRESS LLC                     409 LYNUAL ST SIKESTON MO 63801
SEMO LOGISTICS PLUS, LLC             OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
SEMPER FI TRANSPORTS LLC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SEMPERIAL NILE LLC                   OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SEMRAU, JONATHAN                     ADDRESS ON FILE
SEMURG TRANSPORTATION INC            OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEMURG TRANSPORTATION INC            OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SENA TRUCK CORP                      OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
SENA TRUCKING INC                    OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SENA, GRACIELA                       ADDRESS ON FILE
SENA, JOE                            ADDRESS ON FILE
SENA, VICENTE                        ADDRESS ON FILE
SENANIN, SELVINO                     ADDRESS ON FILE
SENAS ROYAL BOUTIQUE LLC             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SENAY TRUCKING LLC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SEND EXPRESS LLC (MC1143526)         OR PDM FINANCIAL, PO BOX 3336 DES MOINES IA 50316
SENDECKI, RAFAL                      ADDRESS ON FILE
SENDEJO, DANIEL                      ADDRESS ON FILE
SENDELIVERY LOGISTICS LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SENDISH, CASSIUS                     ADDRESS ON FILE
SENDZIMER, JOHN                      ADDRESS ON FILE
SENE, MATHEW                         ADDRESS ON FILE
SENECA COMPANIES, INC.               P.O. BOX 3360 DES MOINES IA 50316
SENECA FLIGHT OPERATIONS             3736 SOUTH MAIN STREET MARION NY 14505
SENECAL, NICHOLAS                    ADDRESS ON FILE
SENETHAVYSOUK, JJ                    ADDRESS ON FILE
SENG, MANTHERO                       ADDRESS ON FILE
SENG, RYAN                           ADDRESS ON FILE
SENG, THERANN                        ADDRESS ON FILE
SENG, THEREAK                        ADDRESS ON FILE
SENGNAVONG, LATY                     ADDRESS ON FILE
SENGSOURYNHA, TOMMY                  ADDRESS ON FILE
SENGSTACKEN, RILEY                   ADDRESS ON FILE
SENI LLC                             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SENKO FREIGHT LINES                  450 E DEVON AVE, SUITE 285 ITASCA IL 60143
SENN, JEFFREY                        ADDRESS ON FILE
SENN, RALPH                          ADDRESS ON FILE
SENNE, JILLIAN                       ADDRESS ON FILE
SENNECA HOLDINGS INC                 ATTN: MIKE MEYERS UBER FREIGHT CARGO CLAIMS PO BOX 518 LOWELL AR 72745
SENNETT, TIMOTHY                     ADDRESS ON FILE
SENSATIONAL CLEANERS                 P.O. BOX 3902 DECATUR IL 62524
SENSIENT FLAVORS                     79 STATE ST HARBOR BEACH MI 48441
SENSIENT FLAVORS LLC                 ROCKFARM LOGISTICS, 300 DATA CT DUBUQUE IA 52003
SENSKE AND SON TRANSFER CO.          4375-24TH AVENUE NORTH GRAND FORKS ND 58203-3022
SENSKE SERVICES                      400 N QUAY DEPT SLC KENNEWICK WA 99336
SENSUS METERING                      ATTN: WILLIAM GALAND 450 N GALLATIN AVE UNIONTOWN PA 15401
SENT 180 TRANSPORT                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SENTER, MITCHELL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1713 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1722 of 2156

Claim Name                            Address Information
SENTINEL FIRE EQUIPMENT COMPANY INC   PO BOX 161265 SACRAMENTO CA 95816
SENTRA LOGISTICS LLC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SENTRA LOGISTICS LLC                  OR COMPASS FUNDING SOLUTION PO BOX 205154 DALLAS TX 75320-5154
SENTRY GLASS INC                      PO BOX 1584 INDIANAPOLIS IN 46206
SENTRY GLASS INC                      1399 JACKSON BRANCH RIDGE ROAD NASHVILLE IN 47448
SENTRY INDUSTRIES                     5687 NW 36TH AVE MIAMI FL 33142
SENTRY MOTOR TRANSPORT                6938 LURLINE AVE WINNETKA CA 91306
SENTRY TRUCKING LLC                   OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
SENYKO, SHANNON                       ADDRESS ON FILE
SEPOLIO, RONALD                       ADDRESS ON FILE
SEPPLA, WILLAM                        ADDRESS ON FILE
SEPULVEDA, ADAM                       ADDRESS ON FILE
SEPULVEDA, BAYRON                     ADDRESS ON FILE
SEPULVEDA, JOSE                       ADDRESS ON FILE
SEPULVEDA, MICHAEL                    ADDRESS ON FILE
SEQUEIRA, DEVON                       ADDRESS ON FILE
SEQUOIA PUMPING INC                   PO BOX 8249 FRESNO CA 93747
SER TRANSPORT LLC                     215 BLYTHE RD GARYSBURG NC 27831-9568
SER TRANSPORT LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SERAFIN, SAMUEL                       ADDRESS ON FILE
SERAFINN, LAMONT                      ADDRESS ON FILE
SERAVALLI, JAMES                      ADDRESS ON FILE
SERBYN TRUCKING INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SERCK SERVICES, INC.                  5501 PEARL ST DENVER CO 80216
SERCOMBE TRUCKING INC.                3001 SHIRLEY DRIVE JACKSON MI 49201
SERENITY A MORENO                     ADDRESS ON FILE
SERENITY FREIGHT LLC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SERENITY GRACE TRANSPORTATION LLC     OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SERENITY TRANSPORT LLC                OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                      UT 84130
SERENITYS TRUCKING LLC                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SERFLING, BYRON                       ADDRESS ON FILE
SERG TRUCKING INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SERGE G & D REPAIR INC                214 HIGHWAY 11 E, BOX 1706 HEARST ON P0L 1N0 CANADA
SERGE L LLC                           OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SERGEI TSUPRUK                        ADDRESS ON FILE
SERGENT, TODD                         ADDRESS ON FILE
SERGEY DROBCHENKO                     ADDRESS ON FILE
SERGEYS MAINTENANCE & CLEANERS        2847 PEPPER OAKS DR SACRAMENTO CA 95827
SERGIO B TRANSPORT LLC                104 VISTA AVENUE ROUND ROCK TX 78664
SERIE 48 LOGISTICS LLC                OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SERIOSA, RAINIER C                    ADDRESS ON FILE
SERIOUS TRUCKING LLC (MC1188019)      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
SERMENO, LARRY                        ADDRESS ON FILE
SERNA, DANIEL                         ADDRESS ON FILE
SERNA, JAVIER A                       ADDRESS ON FILE
SERNA, JOSE                           ADDRESS ON FILE
SERNA, LUIS                           ADDRESS ON FILE
SERNA, LUIS                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1714 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1723 of 2156

Claim Name                               Address Information
SERRAGE, CHRISTIAN                       ADDRESS ON FILE
SERRALTA, HABACUC                        ADDRESS ON FILE
SERRANO, ALEXANDER                       ADDRESS ON FILE
SERRANO, ASHLEY                          ADDRESS ON FILE
SERRANO, BRYAN                           ADDRESS ON FILE
SERRANO, HECTOR                          ADDRESS ON FILE
SERRANO, IGNACIO                         ADDRESS ON FILE
SERRANO, JAYE                            ADDRESS ON FILE
SERRANO, JESSE                           ADDRESS ON FILE
SERRANO, JOHNNY                          ADDRESS ON FILE
SERRANO, JONATHAN                        ADDRESS ON FILE
SERRANO, JOSE                            ADDRESS ON FILE
SERRANO, JOSEL                           ADDRESS ON FILE
SERRANO, JUAN                            ADDRESS ON FILE
SERRANO, MICHAEL                         ADDRESS ON FILE
SERRATO, JOSE                            ADDRESS ON FILE
SERRATO, RICARDO                         ADDRESS ON FILE
SERTOMA CENTER, INC.                     1400 E 5TH AVE KNOXVILLE TN 37917
SERVI-TRUCK & TRAILERS, LLC              2527 E DAHLIA ST DOUGLAS AZ 85607
SERVIAM LLC                              56 INVERNESS DR EAST, SUITE 105 ENGLEWOOD CO 80112
SERVICE 1ST FIRE PROTECTION LLC          21630 N 9TH AVE 101 PHOENIX AZ 85027
SERVICE AUTO GLASS                       2400 FARMERS DRIVE, SUITE 500 COLUMBUS OH 43235
SERVICE AUTO GLASS                       PO BOX 633197 CINCINNATI OH 45263
SERVICE AUTO GLASS                       PO BOX 633203 CINCINNATI OH 45263
SERVICE AUTO GLASS                       4566 W 65TH ST LITTLE ROCK AR 72209
SERVICE COMPANY PLUMBING LLC             PO BOX 11908 FORT WORTH TX 76110
SERVICE DEXTINCTEUR MOBILE               215, BUE BAY AYRES CLIFF QC J0B 1C0 CANADA
SERVICE EXPRESS, INC.                    DEPT. 6306, P.O. BOX 30516 LANSING MI 48909
SERVICE EXPRESS, INC.                    3854 BROADMOOR AVE SE GRAND RAPIDS MI 49512
SERVICE FREIGHT SYSTEM INC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SERVICE LIGHTING                         ATTN: KRISTIN LOPEZ 310 MAIN AVENUE WAY SE HICKORY NC 28602
SERVICE LIGHTING                         ATTN: SHEA NICKERSON 310 MAIN AVENUE WAY SE HICKORY NC 28602
SERVICE LOGIC STRATEGIC SERVICES LLC     11325 N COMMUNITY HOUSE RD STE 275 CHARLOTTE NC 28277
SERVICE MSTR BLDG & COML MAINT           PO BOX 855 SIOUX FALLS SD 57101
SERVICE ONE                              1250 NW MAIN STREET LEES SUMMIT MO 64105
SERVICE ONE LLC                          1250 NW MAIN STREET LEES SUMMIT MO 64086
SERVICE ONE TRANSPORT INC                220 INDUSTRIAL DRIVE MUSCLE SHOALS AL 35661
SERVICE PLUMBING OF CHARLOTTE            PO BOX 1480 CORNELIUS NC 28031
SERVICE STEEL                            7901 CROSSWAY DR. PICO RIVERA CA 90660
SERVICE TIRE TRUCK CENTERS INC           2255 AVENUE A BETHLEHEM PA 18017
SERVICE TIRE TRUCK CENTERS INC           27 IRONSIDE COURT WILLINGBORO NJ 08046
SERVICE TIRE TRUCK CENTERS INC           11529 FRENCH LANE HAGERSTOWN MD 21740
SERVICE TRANSFER, INC.                   4101 WILCOX STREET CHESAPEAKE VA 23324
SERVICE TRANSPORT, INC.                  PO BOX 2267 GREER SC 29652
SERVICE UNIFORM RENTAL                   2580 S RARITAN ST ENGLEWOOD CO 80110
SERVICE, CARESA                          ADDRESS ON FILE
SERVICEMASTER BLDG MAINT PROFESSIONALS   PO BOX 161 TONAWANDA NY 14151
SERVICEMASTER CLEANING & RESTORATION     PO BOX 87 MOUNT STERLING IL 62353
SERVICEMASTER COMMERCIAL SVCS            5913 LINGLESTOWN RD HARRISBURG PA 17112



Epiq Corporate Restructuring, LLC                                                                 Page 1715 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1724 of 2156

Claim Name                               Address Information
SERVICEMASTER RESTORATION                & CLEANING SVCS 2275 JUDSON ST SE SALEM OR 97302
SERVICEMASTER SRM                        8450 COLE PARKWAY SHAWNEE MISSION KS 66227
SERVICENOW, INC                          PO BOX 731647 DALLAS TX 75373
SERVICEONE TRANSPORTATION, INC.          P.O. BOX 202 PLYMOUTH WI 53073
SERVICES EN TRANSPORT STCH INC           248 BOUL INDUSTRIEL CHATEAUGUAY QC J6J4Z2 CANADA
SERVPRO COMMERCIAL LLC                   MSC 7587, PO BOX 415000 NASHVILLE TN 37241
SERVPRO OF KANKAKEE COUNTY               1725 N BOUDREAU RD MANTENO IL 60950
SERVPRO OF SOOLAND                       3220 LINE DR SIOUX CITY IA 51106
SESAY TRANSPORT LLC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SESAY, SAMUEL                            ADDRESS ON FILE
SESERI, RITA                             ADDRESS ON FILE
SESINA TRUCKING LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SESLER, MARK                             ADDRESS ON FILE
SESMA, SESMA Y MCNEESE, S.C.             IDAHO 14 COL NAPOLES 03810 MEXICO
SESSION, QUSARN F                        ADDRESS ON FILE
SESSION, QUSARN F                        ADDRESS ON FILE
SESSIONS, MARK                           ADDRESS ON FILE
SESSIONS, PAUL                           ADDRESS ON FILE
SESSONS TRANSPORT LLC                    OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
SESSUMS, JAMES                           ADDRESS ON FILE
SET CARRIERS INC                         1212 S NAPER BLVD NR 119-213 NAPERVILLE IL 60565
SET FREE TRANSPORTATION                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SETH ENERGY                              ADDRESS ON FILE
SETHMAN, CHRISTIAN                       ADDRESS ON FILE
SETHMAR TRANSPORTATION                   ATTN: JAY DILLMAN PO BOX 23770 OVERLAND PARK KS 66283
SETIK, KILARENSIO                        ADDRESS ON FILE
SETIT GENERAL TRANSPORTATION LLC         OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
SETLIK, THOMAS                           ADDRESS ON FILE
SETRA TRANS INC                          OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
SETRA TRANS INC                          1059 SCARLET OAK CIR AURORA IL 60506
SETRA TRANS INC                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SETTIMO XPRESS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SETTLE, KELCEY                           ADDRESS ON FILE
SETTLE, SAM                              ADDRESS ON FILE
SETTLE, SHAUN                            ADDRESS ON FILE
SETTLEMYER FREIGHT SOLUTIONS LLC         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SETTLERS IRRIGATION DISTRICT             1910 N. GARDEN, PO BOX 7571 BOISE ID 83707
SETTY, RAY                               ADDRESS ON FILE
SETUP TRANSPORTATION SOLUTIONS LLC       131 RIDGE RD TELFORD PA 18969
SETX INTERSTATE TIRE & MECHANICAL ROAD   SERVICE, LTD, PO BOX 7510 BEAUMONT TX 77726
SETZERS LOGISTICS INC                    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SEUELL, SABRINA                          ADDRESS ON FILE
SEUFFERIEIN SALES PROGRAM                THE UNIVERSITY FOUNDATION, CSU CHICO 400 W 1ST ST CHICO CA 95929
SEUMANUTAFA, PIILUA                      ADDRESS ON FILE
SEUNG, CHUNG E                           ADDRESS ON FILE
SEUNG, CHUNG E                           ADDRESS ON FILE
SEVAK TRUCKING, INC.                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SEVCO, TODD                              ADDRESS ON FILE
SEVELO, WALTER                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1716 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1725 of 2156

Claim Name                             Address Information
SEVEN BROTHERS EXPRESS CORP            OR TAB BANK, PO BOX 150830 OGDEN UT 84415
SEVEN CITIES REPAIR                    2601 TRADE ST., SUITE E CHESAPEAKE VA 23323
SEVEN CITIES REPAIR                    740 S. MILITARY HWY VIRGINIA BEACH VA 23464
SEVEN CORNERS CENTER                   6250 SEVEN CORNERS CENTER SEVEN CORNERS VA 22044
SEVEN ELEVEN TRANSPORTATION LLC        214 E 23RD ST LOS ANGELES CA 90011
SEVEN EXPEDITE LLC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEVEN EXPRESS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SEVEN LOGISTICS LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEVEN SONS LOGISTICS, LLC              2215 FORTSON RD FORTSON GA 31808
SEVEN SONS TRUCKING LLC                OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SEVEN STAR EXPRESS INC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SEVEN STAR TRANSPORT LLC               20882 KURTZHALS CT BROWNSTOWN MI 48174
SEVEN STARS LOGISTICS LLC              OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SEVEN STARS TRUCKING & LOGISTICS LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SEVEN STARS TRUCKING INC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SEVEN TRANSPORTATION INC               384 BRENTWOOD PKWY BRENTWOOD NY 11717
SEVEN TRANSPORTATION INC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SEVEN WHEELS, INC.                     PO BOX 237 MORRISTOWN TN 37815
SEVEN11 TRUCKING LLC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SEVENE, PAUL                           ADDRESS ON FILE
SEVENJOY                               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SEVER, DAVID                           ADDRESS ON FILE
SEVERE, JOSHUA                         ADDRESS ON FILE
SEVERING, DAVID                        ADDRESS ON FILE
SEVERSON, JOHN                         ADDRESS ON FILE
SEVIC INC                              OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
SEVILLA, MICHAEL                       ADDRESS ON FILE
SEVILLE, DENNIS                        ADDRESS ON FILE
SEVN LOGISTICS LLC                     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO. BOX 7410411
                                       CHICAGO IL 60674-0411
SEW YEAH QUILTING                      1540 SOUTH RAINBOW LAS VEGAS NV 89146
SEWARD, MARCUS                         ADDRESS ON FILE
SEWELL MOTOR EXPRESS CO.               370 DAVIDS DR WILMINGTON OH 45177
SEWELL, CLINT                          ADDRESS ON FILE
SEWELL, RONALD                         ADDRESS ON FILE
SEWERAGE & WTR BD NEW ORLEANS          625 SAINT JOSEPH ST NEW ORLEANS LA 70165
SEWILL, JASON                          ADDRESS ON FILE
SEXTON TRANSPORT LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SEXTON, ANTHONY                        ADDRESS ON FILE
SEXTON, BRIAN                          ADDRESS ON FILE
SEXTON, CHRISTOPHER                    ADDRESS ON FILE
SEXTON, DAVID                          ADDRESS ON FILE
SEXTON, JASON                          ADDRESS ON FILE
SEXTON, JUDITH                         ADDRESS ON FILE
SEXTON, LEVI                           ADDRESS ON FILE
SEXTON, WILBURN                        ADDRESS ON FILE
SEYDOW TRUCKING COMPANY LLC            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SEYED FUARD, AIZUL MOHAMMED            ADDRESS ON FILE
SEYLER, STEVEN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1717 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1726 of 2156

Claim Name                           Address Information
SEYMON TRUCKING INC                  1030 SARGON PLACE TURLOCK CA 95382
SEYMORE, BENJAMIN                    ADDRESS ON FILE
SEYMORE, NEAL C                      ADDRESS ON FILE
SEYMOUR MIDWEST DISTRIBUTION C       ATTN: JOSH SCHMUCKER CUSTOMER RESOLUTION 1037 SEYMOUR MIDWEST DR BLDG C WARSAW
                                     IN 46580
SEYMOUR OF SYCAMORE                  ATTN: JEANNA VALENTIN 917 CROSBY AVE SYCAMORE IL 60178
SEYMOUR, CAMERON                     ADDRESS ON FILE
SEYMOUR, GARY                        ADDRESS ON FILE
SEYMOUR, KYLE                        ADDRESS ON FILE
SEYMOURS WRECKER                     2909 ILA ROAD COMMERCE GA 30530
SEYOUM, YONATAN                      ADDRESS ON FILE
SF 44                                ATTN: RYAN PANTER 344 MONTAUK HWY EASTPORT NY 11941
SF DISTRIBUTORS                      PO BOX 3355 KNOXVILLE TN 37927
SF EXPRESS LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SF TRANSPORT LLC                     210 INDUSTRIAL DR LOYAL WI 54446
SF TRANSPORT LLC (MC1121724)         OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SF XPRESS LLC                        OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SFA LOGISTICS INC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SFB TRANSPORT LLC                    OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SFIC CORP                            4040 PIKE LN CONCORD CA 94520
SFNY LOGISTICS LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SFO EXPRESS, INC.                    21401 CURTIS ST HAYWARD CA 94545
SFP LANDSCAPING INC.                 9814 GRAVOIS RD. AFFTON MO 63123
SFPP                                 ATTN: SUPERIOR FARMS SHIPPING 2530 RIVER PLAZA DR SACRAMENTO CA 95833
SFSAM LOGISTIC LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SFTC                                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SFX TRUCCING LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SG AMERICAS SECS, LLC (0286)         ATT PAUL MITSAKOS OR PROXY MGR 1221 AV OF THE AMERICAS NEW YORK NY 10020
SG EXPRESS INC                       OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SG TRANS INC                         9320 CHANNEL ISLANDS ST ELK GROVE CA 95624
SG TRANSPORT INC                     1124 POTTER RD PARK RIDGE IL 60068
SG TRANSPORT LLC                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
SG TRANSPORTATION INC                1 KURDYLA AVE CARTERET NJ 07008
SG TRUCKING LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SG WORLDWIDE TRANSPORTATION LLC      18868 CROSSROADS CT TRIANGLE VA 22172
SG360, INC.                          PO BOX 790379 ST. LOUIS MO 63179
SG360, INC.                          PO BOX 26704 OVERLAND PARK KS 66225
SGC LOGISTICS LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SGC SEVEN STAR, INC.                 21262 ALAMEDA ST CARSON CA 90810
SGC TRUCKING LLC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SGE TRUCKLINES INC                   OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SGI                                  2260 11TH AVE REGINA SK S4P 2N7 CANADA
SGI FREIGHT WAYS LLC                 OR TRANSAM FINANCIAL SVCS, INC PO BOX 872632 KANSAS CITY MO 64187
SGK FUELS INC.                       ATTN: GEORGE KUMPUCKAL 379 LYNCH DRIVE DANVILLE IL 61834-9310
SGK TRUCKING                         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SGM LOGISTICS LLC                    OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
SGNDJ SIMRAN GROUP INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SGS EXPRESS INC                      OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
SGT TRANSPORT INC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101



Epiq Corporate Restructuring, LLC                                                              Page 1718 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1727 of 2156

Claim Name                               Address Information
SH EXPRESS                               OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SH TRANSPORTATION INC                    OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
SH&B TRUCKING CORP                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SHA TRANSPORTATION LLC                   OR OTR CAPITAL DBA OTR SOLUTIONS DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA
                                         30368-7576
SHAAM EXPRESS LLC                        OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
SHAAN TRANS INC                          2969 SILVER LN LIVINGSTON CA 95334-9124
SHAAN TRANSPORTATION LLC                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
SHAAN TRUCKING LLC                       OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
SHABAD TRANSPORT INC                     4445 E ARBOR CT WEST CHESTER OH 45069
SHABAD TRANSPORT USA INC                 SHABAD TRANSPORT USA INC 152 CAPLINGER PLACE GREENWOOD IN 46143
SHABLIN, JESSE                           ADDRESS ON FILE
SHABO TRANSPORTATION LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SHACKELFORD, KATLYN                      ADDRESS ON FILE
SHACKELFORD, ROCKO                       ADDRESS ON FILE
SHACKLEFORD ENTERPRISES OF GA, LLC       PO BOX 21581 CHATTANOOGA TN 37424
SHACKLEFORD, JOHNNIE                     ADDRESS ON FILE
SHACKLES, GREGORY                        ADDRESS ON FILE
SHAD USA                                 19096 NE 4TH CT MIAMI FL 33179
SHADAI TRUCKING SVCS LTD LIABILITY CO.   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SHADAI TRUCKING SVCS LTD LIABILITY CO.   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SHADDIX INC                              ATTN: DEWAYNE SHADDIX 207 PARK DR CULLMAN AL 35058
SHADE TREE EXPRESS LLC                   OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SHADE, GLEN                              ADDRESS ON FILE
SHADE, HERMAN                            ADDRESS ON FILE
SHADE, KRYSTLE                           ADDRESS ON FILE
SHADE, STEVEN                            ADDRESS ON FILE
SHADES BREWING                           154 W UTOPIA AVE SALT LAKE CITY UT 84115
SHADI, KHALIFA                           ADDRESS ON FILE
SHADIX, STEVE                            ADDRESS ON FILE
SHADLE, GREGGORY                         ADDRESS ON FILE
SHADOWTRACK 247                          45 PARK RIDGE DR FLETCHER NC 28732
SHADRICK, CHRISTOPHER                    ADDRESS ON FILE
SHAFER, CHARLES                          ADDRESS ON FILE
SHAFER, GARY                             ADDRESS ON FILE
SHAFER, GERALD E                         ADDRESS ON FILE
SHAFER, GRETCHEN                         ADDRESS ON FILE
SHAFER, ISAAC                            ADDRESS ON FILE
SHAFER, TODD                             ADDRESS ON FILE
SHAFER, TODD                             ADDRESS ON FILE
SHAFFER & SONS TRUCKING LLC              OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SHAFFER AUTO & DIESEL REPAIR             7292 GREENWOOD ROAD SHREVEPORT LA 71109
SHAFFER AUTO & DIESEL REPAIR             7292 GREENWOOD RD SHREVEPORT LA 71119
SHAFFER ROAD LLC                         4798 NEW BROAD STREET SUITE 210 ORLANDO FL 32814
SHAFFER, ADAM                            ADDRESS ON FILE
SHAFFER, DANIEL                          ADDRESS ON FILE
SHAFFER, DENNIS                          ADDRESS ON FILE
SHAFFER, KEVIN                           ADDRESS ON FILE
SHAFFER, KEVIN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1719 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1728 of 2156

Claim Name                           Address Information
SHAFFER, MARK                        ADDRESS ON FILE
SHAFFER, RICHARD                     ADDRESS ON FILE
SHAFFER, RODRICK                     ADDRESS ON FILE
SHAFFER, RONALD                      ADDRESS ON FILE
SHAFFER, TANNER                      ADDRESS ON FILE
SHAFFER, WILLIAM                     ADDRESS ON FILE
SHAFFER, WILLIAM                     ADDRESS ON FILE
SHAFFER, ZACHARY                     ADDRESS ON FILE
SHAFFER, ZECHARIAH                   ADDRESS ON FILE
SHAGGY TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SHAGHAGHI, FAKHRELDIN                ADDRESS ON FILE
SHAGO INC                            OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
SHAH JI TRANSPORT                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHAH TRANSPORT INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
SHAH TRANSPORT LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHAH TRUCKING INC                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SHAH TRUCKING LLC                    2461 RIVERPORT RD CHATTANOOGA TN 37406
SHAH, PURVI                          ADDRESS ON FILE
SHAH, RUPESHKUMAR                    ADDRESS ON FILE
SHAH, SYED                           ADDRESS ON FILE
SHAH, VANSH                          ADDRESS ON FILE
SHAHEEN TRANS LLC                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SHAHEEN TRANS LLC                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SHAHEEN TRANSPORT LLC                3414 CANNON WAY LIVE OAK CA 95953
SHAHEEN TRANSPORT LLC (MC1339130)    27335 BURNHAM BLVD UNIT 9-77 TRENTON MI 48183-3594
SHAHI TRUCKING INC                   145 COLDWELL BAY CIRCLE KLIENBURG ON L4H 5E9 CANADA
SHAKER TRANSPORT, INC.               SHAKER TRANSPORT INC 154 HUDSON RIVER RD WATERFORD NY 12188
SHAKESPEARE MONOFILAMENT             6111 SHAKESPEARE ROAD COLUMBIA SC 29223
SHAKLEY, TODD                        ADDRESS ON FILE
SHAKOOR, LESLIE                      ADDRESS ON FILE
SHAKRO TRUCKING INC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHAKTA TRANSPORTATION LLC            OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
SHAKUR, MALIK                        ADDRESS ON FILE
SHAKY TOWN EXPRESS, LLC              OR TCI BUS. CAPTIAL, INC, PO BOX 9149 MINNEAPOLIS MN 55480
SHALL LOGISTICS INC                  OR J D FACTORS CORP 315 MATHESON BLVD E MISSISSAUGA ON L4Z1X8 CANADA
SHALL PROSPER LOGISTICS LLC          PO BOX 62805 HOUSTON TX 77205
SHALLAL, IVAN                        ADDRESS ON FILE
SHALLCROSS, RUTH                     2925 LOVINGOOD WAY MARYVILLE TN 37801
SHALOM 777                           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
SHALOM CONSTRUCTION LLC              11404 NE 87TH AVE VANCOUVER WA 98662
SHALOM EXPRESS TRANSPORTATION LLC    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SHALOM EXPRESS,LLC                   3616 MILLSTREAM RIDGE DR CHARLOTTE NC 28269
SHALOM LOGISTICS LLC                 OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
SHALOM TRANS LLC                     297 SHILOH CROSSING AVON IN 46123
SHALOM TRANSPORT LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SHALOM TRANSPORTATION LLC            OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHALOM TRUCKING                      OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139
SHALSH, ROYD Z                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1720 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1729 of 2156

Claim Name                           Address Information
SHAM TRANSPORTATION INC              OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHAM TRUCKING LLC (MC1229759)        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SHAMA EXPRESS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SHAMA TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SHAMALI EXPRESS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SHAMAN LOGISTICS LLC                 OR TRIUMPH FINANCIAL SVCS, LLC PO BOX 610028 DALLAS TX 75261-0028
SHAMARIAH M WOODLEY                  ADDRESS ON FILE
SHAMAT LLC                           OR BLUE WATER CAPITAL, PO BOX 30015 SALT LAKE CITY UT 84130
SHAMBAUGH & SON INC.                 D/B/A: SHAMBAUGH & SON LP PO BOX 1287 FORT WAYNE IN 46801
SHAMBAUGH & SON LP                   PO BOX 1287 FORT WAYNE IN 46801
SHAMBLEN, RAYMOND                    ADDRESS ON FILE
SHAMBLIN, BARRY                      ADDRESS ON FILE
SHAMOS SEALCOATING                   8 BROOKSIDE DR STANDISH ME 04084
SHAMROCK FOODS                       2540 N 29TH AVE PHOENIX 85009
SHAMROCK PLUMBING LLC                340 W 500 N NORTH SALT LAKE UT 84054
SHAMROCK SOLUTIONS LLC               P.O. BOX 800132 KANSAS CITY MO 64180
SHAMROCK TRUCKING LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SHAMSI CARGO INC                     3676 VINEYARD HAVEN DR LOVELAND OH 45140
SHAN BROTHERS CORPORATION            1772 RUZICH DR BARTLETT IL 60103
SHAN CARGO INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SHAN FREIGHTWAY INC                  OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE ON L6A 1S5 CANADA
SHAN LAY TRUCKING LLC                4870 DUFOUR DR LILBURN GA 30047
SHAN TRANSPORT INC                   OR ASSIST FINANCIAL SVCS INC PO BOX 347 MADISON SD 57042
SHANA USA INC                        2947 HEARTHSIDE DR GREENWOOD IN 46143
SHANA USA INC                        OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
SHAND, RONALD                        ADDRESS ON FILE
SHANDER, YURI                        ADDRESS ON FILE
SHANDS SOLANTIC JOINT VENTURE LLC    PO BOX 405941 ATLANTA GA 30384
SHANE M BURLEIGH                     ADDRESS ON FILE
SHANE M BURLEIGH                     ADDRESS ON FILE
SHANE M BURLEIGH                     ADDRESS ON FILE
SHANE T ABRAM                        ADDRESS ON FILE
SHANE TRUCKING LLC                   7200 FLY ROAD EAST SYRACUSE NY 13057
SHANE, DEBORAH M                     ADDRESS ON FILE
SHANE, JAMES                         ADDRESS ON FILE
SHANE, JOHN                          ADDRESS ON FILE
SHANEYE LOGISTICS INC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHANICE MARBETH                      ADDRESS ON FILE
SHANK, CHAD                          ADDRESS ON FILE
SHANK, SCOTT                         ADDRESS ON FILE
SHANK, TODD                          ADDRESS ON FILE
SHANK, TONY                          ADDRESS ON FILE
SHANKEL, JACOB M                     ADDRESS ON FILE
SHANKLIN, JOHNATHAN                  ADDRESS ON FILE
SHANKS JR, CHARLES                   ADDRESS ON FILE
SHANKS, GEOFFREY                     ADDRESS ON FILE
SHANLEY, KYLE                        ADDRESS ON FILE
SHANNAHAN CRANE AND HOIST INC        PO BOX 790379 ST. LOUIS MO 63179
SHANNON DUNCAN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1721 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1730 of 2156

Claim Name                           Address Information
SHANNON HILL TRANSPORT, LLC          247 JAYNE LANE MESHOPPEN PA 18630
SHANNON PFEFFER                      ADDRESS ON FILE
SHANNON RIFFLE                       ADDRESS ON FILE
SHANNON T KEMP                       ADDRESS ON FILE
SHANNON T KEMP                       ADDRESS ON FILE
SHANNON TRUCKING LLC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHANNON, BRENDA                      ADDRESS ON FILE
SHANNON, DARLENE                     ADDRESS ON FILE
SHANNON, DAVID                       ADDRESS ON FILE
SHANNON, JONATHAN                    ADDRESS ON FILE
SHANNON, KADARIUS                    ADDRESS ON FILE
SHANNON, MARCUS                      ADDRESS ON FILE
SHANNON, PAUL                        ADDRESS ON FILE
SHANNON, ROBERT                      ADDRESS ON FILE
SHANOR ELECTRIC SUPPLIES, LLC        2440 SHERIDAN DRIVE TONAWANDA NY 14150
SHANTLER, JENNIFER                   ADDRESS ON FILE
SHAO, JEFF                           ADDRESS ON FILE
SHAPLA EXPRESS LLC                   OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX
                                     76116
SHAQILA B WEST                       ADDRESS ON FILE
SHARA LEROY                          ADDRESS ON FILE
SHARCO EXPRESS, LLC                  SHARCO EXPRESS, LLC, 130 WALNUT BLVD ROCHESTER MI 48307
SHARIF CARRIER LLC                   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
SHARIF LLC                           OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILE TN 37244
SHARK FREIGHT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SHARK LOGISTICS CORP                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SHARK LOGISTICS LLC                  OR ASSIST FINANCIAL SVCS INC PO BOX 347 MADISON SD 57042
SHARK ROAD TRUCKING                  OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SHARK TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SHARK TRANSPORTATION INC             3285 DURHAM PLACE HOLLAND PA 18966
SHARK TRUCKING, INC.                 12106 MESA DR SUITE A102 HOUSTON TX 77016
SHARKEY, DAVID E                     ADDRESS ON FILE
SHARKNINJA                           4400 BOIS-FRANC SAINT-LAURENT QC H4R 2K9 CANADA
SHARKS LOGISTICS LLC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SHARMA CARRIERS INC                  OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415
SHARON EXPRESS INC                   180 WILKINSON ROAD UNIT 32 BRAMPTON ON L6T4W8 CANADA
SHARON HUDNALL                       ADDRESS ON FILE
SHARON TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SHARON, AMBER                        ADDRESS ON FILE
SHARP EXPRESS                        5055 E 41ST AVE DENVER CO 80216
SHARP LOGISTICS CORP.                301 EDGEWATER PL SUITE 100 WAKEFIELD MA 01880
SHARP ONE INC.                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SHARP SYSTEM LLC                     OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415
SHARP TRANSPORTATION, INC.           390 NORTH 900 EAST WELLSVILLE UT 84339
SHARP, ADREYANNA                     ADDRESS ON FILE
SHARP, ANNA                          ADDRESS ON FILE
SHARP, ASHLEY                        ADDRESS ON FILE
SHARP, BILL                          ADDRESS ON FILE
SHARP, BRONWEN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1722 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1731 of 2156

Claim Name                              Address Information
SHARP, CONNOR                           ADDRESS ON FILE
SHARP, EARNESTINE                       ADDRESS ON FILE
SHARP, EDWARD                           ADDRESS ON FILE
SHARP, JACOB                            ADDRESS ON FILE
SHARP, JULES                            ADDRESS ON FILE
SHARP, KENNETH                          ADDRESS ON FILE
SHARP, KYLA                             ADDRESS ON FILE
SHARP, RON                              ADDRESS ON FILE
SHARP, SHARLYN                          ADDRESS ON FILE
SHARP, TAMERA                           ADDRESS ON FILE
SHARP, THOMAS                           ADDRESS ON FILE
SHARP, TIMOTHY                          ADDRESS ON FILE
SHARP, WILLIAM                          ADDRESS ON FILE
SHARPE II, RAMON                        ADDRESS ON FILE
SHARPE TOWING & RECOVERY LLC            852 1/2 MANSUR AVE., PO BOX 333 CARBON CLIFF IL 61239
SHARPE TOWING & RECOVERY LLC            20490 E. 550TH ST. COLONA IL 61241
SHARPE UNLIMITED LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SHARPE, CHARLES                         ADDRESS ON FILE
SHARPE, DENNIS                          ADDRESS ON FILE
SHARPE, HOWARD                          ADDRESS ON FILE
SHARPE, JAMIE                           ADDRESS ON FILE
SHARPE, JEFFERY                         ADDRESS ON FILE
SHARPE, KAREN                           ADDRESS ON FILE
SHARPE, PAUL                            ADDRESS ON FILE
SHARPE, RAMON                           ADDRESS ON FILE
SHARPE, RAY                             ADDRESS ON FILE
SHARPE, WILLIAM                         ADDRESS ON FILE
SHARPER TRANSPORT, LLC                  OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                        UT 84130
SHARPLEY, KENNETH                       ADDRESS ON FILE
SHARPNACK, JOHN                         ADDRESS ON FILE
SHARQ EXPRESS INC                       OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
SHARQ EXPRESS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SHARRAR, LORI                           ADDRESS ON FILE
SHARRITT, ALEXANDER                     ADDRESS ON FILE
SHARROCK, NANCY                         ADDRESS ON FILE
SHARROW CONSTRUCTION                    1611 KOETTERS LN QUINCY IL 62305
SHARTZER, TOMMY                         ADDRESS ON FILE
SHASTA COUNTY DEPT OF RESOURCE MGNT     ENVIRONMENTAL HEALTH DIVISION 1855 PLR ST STE 201 REDDING CA 96001
SHASTA COUNTY DEPT OF WEIGHTS &         3179 BECHELLI LANE STE 210 REDDING CA 96002
MEASURES
SHASTA COUNTY TREASURER/TAX COLLECTOR   PO BOX 991830 REDDING CA 96099
SHATILLE TRANSPORTATION LLC             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHATTO, KENNETH                         ADDRESS ON FILE
SHAUB, DAMIEN                           ADDRESS ON FILE
SHAUD, VICTOR                           ADDRESS ON FILE
SHAUKAT, MUHAMMAD                       ADDRESS ON FILE
SHAULIS, GLENN                          ADDRESS ON FILE
SHAUM, DOUGLAS                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1723 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1732 of 2156

Claim Name                             Address Information
SHAUN WILLIAMS                         ADDRESS ON FILE
SHAUNNA DIONNE JONES                   ADDRESS ON FILE
SHAVE, MADYSON                         ADDRESS ON FILE
SHAVER, RANDY                          ADDRESS ON FILE
SHAVERS GARAGE DOORS LLC               1101 GAUGE DR STE L LAKE HAVASU CITY AZ 86403
SHAVERS, ANTONIO                       ADDRESS ON FILE
SHAVNR TRANSPORTATION LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SHAW INC                               ATTN: ROSA RODRIGUEZ PO BOX 2128 DALTON GA 30721
SHAW INC                               ATTN: ROSA RODRIGUEZ PO BOX 2128, MAIL DROP 04701 DALTON GA 30721
SHAW INDUSTRIES                        CONDATA GLOBAL, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
SHAW INDUSTRIES INC                    ATTN: ROSA RODRIGUEZ 947 UNION GROVE RD ADAIRSVILLE GA 30103
SHAW LL, MERTON                        ADDRESS ON FILE
SHAW PPC DESIGN DATA2 LOGISTICS        44311 GRAND RIVER AVE NOVI MI 48375
SHAW TRANSPORTATION SOLUTIONS, LLC     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SHAW, CHARLES                          ADDRESS ON FILE
SHAW, CHENOA                           ADDRESS ON FILE
SHAW, CLINTON                          ADDRESS ON FILE
SHAW, CURTIS                           ADDRESS ON FILE
SHAW, DAVID                            ADDRESS ON FILE
SHAW, DEVON                            ADDRESS ON FILE
SHAW, EDWARD                           ADDRESS ON FILE
SHAW, GARRY                            ADDRESS ON FILE
SHAW, JOSHUA                           ADDRESS ON FILE
SHAW, KELLY                            ADDRESS ON FILE
SHAW, KENNETH                          ADDRESS ON FILE
SHAW, LARRY                            ADDRESS ON FILE
SHAW, LYNDSEY                          ADDRESS ON FILE
SHAW, MARQUETTE                        ADDRESS ON FILE
SHAW, RANDALL                          ADDRESS ON FILE
SHAW, REGINALD                         ADDRESS ON FILE
SHAW, SHANE                            ADDRESS ON FILE
SHAW, VERNITA                          ADDRESS ON FILE
SHAW, VINCENT                          ADDRESS ON FILE
SHAW, WILLIAM                          ADDRESS ON FILE
SHAWN A DEXHEIMER                      ADDRESS ON FILE
SHAWN A MCELROY                        ADDRESS ON FILE
SHAWN D WILSON                         ADDRESS ON FILE
SHAWN DEARDEN                          ADDRESS ON FILE
SHAWN E GOODWIN                        ADDRESS ON FILE
SHAWN M YOUNG                          ADDRESS ON FILE
SHAWN WHITMORE                         ADDRESS ON FILE
SHAWNEE COUNTY TREASURER               PO BOX 419452 KANSAS CITY MO 64141
SHAWNEE COUNTY TREASURER               200 SE 7TH ST, ROOM 101 TOPEKA KS 66603
SHAWNS ELECTRIC LLC                    11291 OSWEGO ST HENDERSON CO 80640
SHAWS AIR CONDITIONING & HEATING INC   16838 18TH AVE LEMOORE CA 93245
SHAWS SUPERMARKETS                     C\O SAFEWAY, PO BOX 742918 LOS ANGELES CA 90074
SHAWS TRUCKLOAD LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SHAX EXPRESS CARGO INC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SHAY & CLINT LOGISTICS COMPANY LLC     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                               Page 1724 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1733 of 2156

Claim Name                           Address Information
SHAY, DAVID                          ADDRESS ON FILE
SHAYZ TRANSPORTATION LLC             OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SHCHUROV, ALEXANDER                  ADDRESS ON FILE
SHCHUROV, SERGEY                     ADDRESS ON FILE
SHEA DRAKE                           ADDRESS ON FILE
SHEA TRUCKING                        174 CABOT ST BABYLON NY 11704
SHEA TRUCKING                        174 CABOT ST WEST BABYLON NY 11704
SHEA TRUCKING & LOGISTICS LLC        4437 FAIRWOOD DRIVE BURTON MI 48529
SHEA, CHRISTOPHER                    ADDRESS ON FILE
SHEA, JAMES                          ADDRESS ON FILE
SHEA, JAMES                          ADDRESS ON FILE
SHEA, JASMINE                        ADDRESS ON FILE
SHEA, PETER                          ADDRESS ON FILE
SHEAD, ELISHA                        ADDRESS ON FILE
SHEAD, TERRI                         ADDRESS ON FILE
SHEAFFER, TAYLOR                     ADDRESS ON FILE
SHEALY WESTERN STAR OF CAROLIN       ATTN: CINDY JOHNSON PARTS 1340 BLUFF RD COLUMBIA SC 29201
SHEALYS INC                          PO BOX 12027 COLUMBIA SC 29211
SHEALYS TRUCK CENTER                 PO BOX 12027 COLUMBIA SC 29211
SHEAN, KAI                           ADDRESS ON FILE
SHEARD ENTERPRISES LLC               OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHEARINBOYS TRUCKING                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SHEARMAN, RICHARD                    ADDRESS ON FILE
SHEARS, LISA                         ADDRESS ON FILE
SHEARS, RICHARD                      ADDRESS ON FILE
SHEARY, GEORGE                       ADDRESS ON FILE
SHEARY, GEORGE                       ADDRESS ON FILE
SHEATUN D WHITESIDE-DAVIS            ADDRESS ON FILE
SHEBA LOGISTICS LLC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHEDA WAY TRUCKING LTD LIABILITY     OR TBS FACTORING SVC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
COMPANY
SHEEDER, DOUGLAS                     ADDRESS ON FILE
SHEEHAN, KEVIN                       ADDRESS ON FILE
SHEEHAN, SUSAN                       ADDRESS ON FILE
SHEEHY EXPRESS, INC.                 127 CENTRAL AVE WATERLOO WI 53594
SHEEHY, ERIN                         ADDRESS ON FILE
SHEEHY, JASON                        ADDRESS ON FILE
SHEELER, STACY                       ADDRESS ON FILE
SHEESLEY, JEFFREY                    ADDRESS ON FILE
SHEETS AND SONS ENTERPRISES INC      904 US 50 WEST VERSAILLES IN 47042
SHEETS, BRIAN E                      ADDRESS ON FILE
SHEETS, JEFFREY                      ADDRESS ON FILE
SHEHAN, BRADY                        ADDRESS ON FILE
SHEHAN, JENNIFER                     ADDRESS ON FILE
SHEHBAAZ TRUCKING INC                OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
SHEILA H REED                        ADDRESS ON FILE
SHEILA MANOLARAKIS                   ADDRESS ON FILE
SHEILA NEEMAN                        ADDRESS ON FILE
SHEILA WITHEY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1725 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1734 of 2156

Claim Name                              Address Information
SHEKEYE TRUCKING INC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SHEL BROS LOGISTIC LLC                 OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SHELBURN, TRAVIS                       ADDRESS ON FILE
SHELBURNE ROAD GULF TAILHOOK TOWING CO. 79 COMMERCE ST. HINESBURG VT 05461
SHELBURNE, CHASE                       ADDRESS ON FILE
SHELBY COUNTY TRUSTEE DAVID LENOIR     PO BOX 2751 MEMPHIS TN 38101
SHELBY TRANSPORTATION SERVICES LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SHELBY, DALTON                         ADDRESS ON FILE
SHELBY, GARRETT                        ADDRESS ON FILE
SHELBY, LEON                           ADDRESS ON FILE
SHELBY, PETER                          ADDRESS ON FILE
SHELBY, RIKEVIN                        ADDRESS ON FILE
SHELBY, ROBERT                         ADDRESS ON FILE
SHELBY, TIMOTHY                        ADDRESS ON FILE
SHELBYVILLE TREASURER                  201 N SPRING ST SHELBYVILLE TN 37160
SHELDON EXTINGUISHER CO., INC          3931 NO. PECK ROAD EL MONTE CA 91732
SHELDON L KINNEY                       ADDRESS ON FILE
SHELDON, BRITTANY                      ADDRESS ON FILE
SHELDON, LEANNE                        ADDRESS ON FILE
SHELL, DONALD                          ADDRESS ON FILE
SHELL, JEROME                          ADDRESS ON FILE
SHELLENBERG, MARY                      ADDRESS ON FILE
SHELLEY CARGO ENTERPRISE LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SHELLEY, WILLIAM L                     ADDRESS ON FILE
SHELLMAN, RAKEEM                       ADDRESS ON FILE
SHELLOCK, LAUREN                       ADDRESS ON FILE
SHELLS, ARMETHA                        ADDRESS ON FILE
SHELLY SMITH & SONS                    350 ASHLAND ROAD MANSFIELD OH 44905
SHELNUTT, DAVID                        ADDRESS ON FILE
SHELNUTT, NORMA                        ADDRESS ON FILE
SHELTON, ADRIAN                        ADDRESS ON FILE
SHELTON, ANTHONY                       ADDRESS ON FILE
SHELTON, CECILIA                       ADDRESS ON FILE
SHELTON, CHARLES                       ADDRESS ON FILE
SHELTON, CHRISTOPHER                   ADDRESS ON FILE
SHELTON, CURTIS                        ADDRESS ON FILE
SHELTON, DAWON                         ADDRESS ON FILE
SHELTON, DONOVAN                       ADDRESS ON FILE
SHELTON, JAKE                          ADDRESS ON FILE
SHELTON, JENNIFER                      ADDRESS ON FILE
SHELTON, JOHNNIE                       ADDRESS ON FILE
SHELTON, KEVIN                         ADDRESS ON FILE
SHELTON, LESLIE                        ADDRESS ON FILE
SHELTON, LINDA                         ADDRESS ON FILE
SHELTON, LUKE                          ADDRESS ON FILE
SHELTON, MICHAEL                       ADDRESS ON FILE
SHELTON, OTIS                          ADDRESS ON FILE
SHELTON, SHERWIN                       ADDRESS ON FILE
SHELTON, STACEY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1726 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1735 of 2156

Claim Name                           Address Information
SHELTON, WHITNEY                     ADDRESS ON FILE
SHELTON, WILLIAM                     ADDRESS ON FILE
SHEMEA E ADAMS                       ADDRESS ON FILE
SHEMKA TRUCKING LLC                  2950 PIGEON ROAD BAD AXE MI 48413
SHEMWELL, JAMES                      ADDRESS ON FILE
SHEPARD EXPO                         ATTN: MATT KLATMAN 5845 WYNN RD STE A LAS VEGAS NV 89118
SHEPARD TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SHEPARD, CLARENCE                    ADDRESS ON FILE
SHEPARD, ERNA                        ADDRESS ON FILE
SHEPARD, GERALD                      ADDRESS ON FILE
SHEPARD, JOSEPH                      ADDRESS ON FILE
SHEPARD, KEVIN                       ADDRESS ON FILE
SHEPARD, MICHAEL AND RHONDA          32460 NW SHIPLEY RD NORTH PLAINS OR 97133
SHEPARD, YAN E                       ADDRESS ON FILE
SHEPHERD ROADRUNNER CORP             OR AVA FINANCIAL GROUP INC 273 MOORE PARK AVE TORONTO ON M2M 1N5 CANADA
SHEPHERD, BRIAN                      ADDRESS ON FILE
SHEPHERD, CHARLES                    ADDRESS ON FILE
SHEPHERD, DANNY                      ADDRESS ON FILE
SHEPHERD, EDITH                      ADDRESS ON FILE
SHEPHERD, ELEANOR                    ADDRESS ON FILE
SHEPHERD, JAMES                      ADDRESS ON FILE
SHEPHERD, JOHN                       ADDRESS ON FILE
SHEPHERD, LANNIS                     ADDRESS ON FILE
SHEPHERD, ROBERT                     ADDRESS ON FILE
SHEPHERD, SCOTT                      ADDRESS ON FILE
SHEPHERD, TREMAYNE                   ADDRESS ON FILE
SHEPLEY, MICHAEL                     ADDRESS ON FILE
SHEPPARD, BARRY                      ADDRESS ON FILE
SHEPPARD, GARRAN                     ADDRESS ON FILE
SHEPPARD, JOHN                       ADDRESS ON FILE
SHEPPARD, MATTHEW                    ADDRESS ON FILE
SHEPPARD, NATHANIEL                  ADDRESS ON FILE
SHEPPARD, OMAR                       ADDRESS ON FILE
SHEPPARD, RAYJHAHN                   ADDRESS ON FILE
SHEPTOCK, MARK                       ADDRESS ON FILE
SHER TRANSPORT INC                   OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SHER TRANSPORT INC (MC1338048)       OR CAPITAL DEPOT 8930 N WAUKEGAN RD STE 230 MORTON GROVE IL 60053
SHERARD, TYRONE                      ADDRESS ON FILE
SHERDILL TRANSPORT LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SHERDOR TRANSPORTATION INC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SHERER EXPRESS TRUCKING LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SHERER, KRISTA                       ADDRESS ON FILE
SHERGARH TRUCKING INC                15251 TIKI TRL NOBLESVILLE IN 46060
SHERGILL FREIGHT LINES INC.          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SHERGILL GROUPS INC                  2480 GOLZIO CT APT 4 SAN JOSE CA 95133-2532
SHERGILL TRUCKING                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SHERI & JOHN HEBER                   ADDRESS ON FILE
SHERIDAN BOOKS                       ADDRESS ON FILE
SHERIDAN, GREGORY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1727 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1736 of 2156

Claim Name                           Address Information
SHERIDAN, SEAN                       ADDRESS ON FILE
SHERIDAN, WILLIAM                    ADDRESS ON FILE
SHERIEN D KING                       ADDRESS ON FILE
SHERIF TRANS INC                     OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
SHERIFF OF KANAWHA COUNTY            409 VIRGINIA ST E, ROOM 120 CHARLESTON WV 25301
SHERIFF OF KANAWHA COUNTY            TAX DIVISION, 409 VIRGINIA ST E RM 120 CHARLESTON WV 25301
SHERIFF OF WARREN COUNTY             PO BOX 807 BOWLING GREEN KY 42102
SHERIFF, BENJAMIN                    ADDRESS ON FILE
SHERIFF, BENJAMIN                    ADDRESS ON FILE
SHERIFF, CURTIS                      ADDRESS ON FILE
SHERKO INC                           OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
SHERLOCK, DALE                       ADDRESS ON FILE
SHERLOCK, TIMOTHY                    ADDRESS ON FILE
SHERMAN & HOWARD L.L.C.              675 15TH ST STE 2300 DENVER CO 80202
SHERMAN COUNTY TREASURER             813 BROADWAY ROOM 103 GOODLAND KS 67735
SHERMAN, CANDICE                     ADDRESS ON FILE
SHERMAN, CHRISTOPHER                 ADDRESS ON FILE
SHERMAN, DEMERICK                    ADDRESS ON FILE
SHERMAN, EUGENE                      ADDRESS ON FILE
SHERMAN, GINA                        ADDRESS ON FILE
SHERMAN, JOHN                        ADDRESS ON FILE
SHERMAN, JOHN                        ADDRESS ON FILE
SHERMAN, KELLY                       ADDRESS ON FILE
SHERMAN, MERLE                       ADDRESS ON FILE
SHERMAN, MICHAEL                     ADDRESS ON FILE
SHERMAN, RAMON                       ADDRESS ON FILE
SHERMAN, RYAN                        ADDRESS ON FILE
SHERMANS ICE CREAM                   1601 PHOENIX STREET SOUTH HAVEN MI 49090
SHEROD, SCOTT                        ADDRESS ON FILE
SHERPINSKAS, JOSEPH                  ADDRESS ON FILE
SHERRELL, TONY                       ADDRESS ON FILE
SHERRIE TRANSPORTING SERVICES LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SHERRILL, BRIAN                      ADDRESS ON FILE
SHERRILL, CHRISTOPHER                ADDRESS ON FILE
SHERRILL, DEREK                      ADDRESS ON FILE
SHERRILL, HAYS                       ADDRESS ON FILE
SHERRILL, MEREDITH                   ADDRESS ON FILE
SHERRILL, SETH                       ADDRESS ON FILE
SHERRILL, SETH M                     ADDRESS ON FILE
SHERRY DODD                          ADDRESS ON FILE
SHERRY E THEILING                    ADDRESS ON FILE
SHERRY LUCIA                         ADDRESS ON FILE
SHERRY MUNRO                         ADDRESS ON FILE
SHERWIN INDUSTRIES, INC.             2129 W. MORGAN AVE. MILWAUKEE WI 53221
SHERWIN WILLIAMS                     1320 STATE RT. 35 MIDDLETOWN NJ 07748
SHERWIN WILLIAMS                     2940 ARLINGTON ROAD COVENTRY TWP OH 44312
SHERWIN WILLIAMS                     ATTN: PRESTON FLOYD 3410 COMMERCE ST MERIDIAN ID 83642
SHERWIN WILLIAMS 708227              2640 MAIN ST SAN DIEGO CA 92113
SHERWIN WILLIAMS CLAIMS 720 GH       ATTN: FREIGHT CLAIMS, 101 W PROSPECT AVE CLEVELAND OH 44115



Epiq Corporate Restructuring, LLC                                                             Page 1728 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1737 of 2156

Claim Name                           Address Information
SHERWIN WILLIAMS CO                  101 PROSPECT AVE CLEVELAND OH 44115
SHERWIN WILLIAMS CO                  101 PROSPECT AVE, 720 GUILDHALL CLEVELAND OH 44115
SHERWIN WILLIAMS CO                  720 GUILDHALL, 101 PROSPECT AVE CLEVELAND OH 44115
SHERWIN WILLIAMS CO                  730 GUILDHALL, 101 PROSPECT AVE CLEVELAND OH 44115
SHERWIN WILLIAMS CO REFUNDS          CONSUMER TRAFFIC DEPT, 101 PROSPECT AVE 6MID CLEVELAND OH 44115
SHERWIN WILLIAMS COMPANY             730 GUILDHALL 101 PROSPECT AVE NW CLEVELAND OH 44115
SHERWIN WILLIAMS COMPANY             ATTN: LINDA FOICCA 730 GUILDHALL 101 PROSPECT AVE NW CLEVELAND OH 44115
SHERWOOD, GEORGE                     ADDRESS ON FILE
SHERWOOD, JASON                      ADDRESS ON FILE
SHERWOOD, PAUL R                     ADDRESS ON FILE
SHERWOOD, THOMAS                     ADDRESS ON FILE
SHERYE A FOOTMAN                     ADDRESS ON FILE
SHERYL A FOOTMAN                     ADDRESS ON FILE
SHETLAR, DEREK                       ADDRESS ON FILE
SHETLER, DAVID                       ADDRESS ON FILE
SHETRUCKS LLC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHEWAN TRANZ LLC                     OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SHEWIT LOGISTICS LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SHI CANADA ULC                       C/O T9981U, PO BOX 9981, STN A TORONTO ON M5W 2J2 CANADA
SHI INTERNATIONAL CORP.              C/O SARAH VASILIK, 290 DAVIDSON AVENUE SOMERSET NJ 08873
SHI INTERNATIONAL CORP.              PO BOX 952121 DALLAS TX 75395
SHIDANE, HASSAN                      ADDRESS ON FILE
SHIDDY LOGISTICS LLC                 739 S 1800 RD WHITE CITY KS 66872
SHIDO TRUCKING COMPANY LLC           OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SHIELD GRACE TRANSPORTATION INC      OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
SHIELD TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SHIELDS, ARABELLE                    ADDRESS ON FILE
SHIELDS, ARNOLD                      ADDRESS ON FILE
SHIELDS, ARNOLD                      ADDRESS ON FILE
SHIELDS, ARNOLD                      ADDRESS ON FILE
SHIELDS, CHANTA                      ADDRESS ON FILE
SHIELDS, CHIKWON                     ADDRESS ON FILE
SHIELDS, DARNELL                     ADDRESS ON FILE
SHIELDS, ERIC                        ADDRESS ON FILE
SHIELDS, HEATHER                     ADDRESS ON FILE
SHIELDS, IRINA                       ADDRESS ON FILE
SHIELDS, JEFFREY                     ADDRESS ON FILE
SHIELDS, JERALD                      ADDRESS ON FILE
SHIELDS, KENNETH                     ADDRESS ON FILE
SHIELDS, MICHAEL                     ADDRESS ON FILE
SHIELDS, SABRINA                     ADDRESS ON FILE
SHIELDS, TIMOTHY                     ADDRESS ON FILE
SHIELDS, VERNAE                      ADDRESS ON FILE
SHIELS, WILLIE                       ADDRESS ON FILE
SHIFFLET, MICHAEL                    ADDRESS ON FILE
SHIFFLETT, CLARENCE JR               ADDRESS ON FILE
SHIFLETT, JAMES                      ADDRESS ON FILE
SHIFLETT, VICTOR                     ADDRESS ON FILE
SHIFT TRANSPORT LLC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053



Epiq Corporate Restructuring, LLC                                                               Page 1729 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1738 of 2156

Claim Name                          Address Information
SHIFT TRUCKING INC                  OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SHILLAM, DAVID                      ADDRESS ON FILE
SHILLING, SONYA                     ADDRESS ON FILE
SHILLINGBERG - SMITH, DONOVAN       ADDRESS ON FILE
SHILOH BAPTIST CHURCH               5441 AL HIGHWAY 41 SARDIS AL 36775
SHILOH IND 145                      ATTN: NICOLE TUCKER ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
SHILOH IND 145 ECHO GLOBAL LOGIST   ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SHILOH LIN CORPORATION              ATTN: SCOTT DRAIN 6129 LUTHER LN DALLAS TX 75225
SHILOW TRANSPORTATION L.L.C.        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SHIMAKONIS, TIRA                    ADDRESS ON FILE
SHIMANSKIY, ANDREY                  ADDRESS ON FILE
SHIMER, MATTHEW                     ADDRESS ON FILE
SHIMFESSEL, FREDRIC                 ADDRESS ON FILE
SHIMMELL, THOMAS                    ADDRESS ON FILE
SHIMP, WILLIAM                      ADDRESS ON FILE
SHIN, JUNGCHUL                      ADDRESS ON FILE
SHIN-MER LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SHINABERY, MICHAEL                  ADDRESS ON FILE
SHINE EXPRESS LLC                   1122 DOWNING BLUFF DR SIMPSONVILLE SC 29681-4093
SHINE TRANS INC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SHINE, ANGELA                       ADDRESS ON FILE
SHINE, RONALD                       ADDRESS ON FILE
SHINE, SAMUEL                       ADDRESS ON FILE
SHINING TRANSPORTATION LLC          OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SHINKLE, DONALD                     ADDRESS ON FILE
SHINKLE, TANNER                     ADDRESS ON FILE
SHINN, BRADLEY                      ADDRESS ON FILE
SHIP CENTRAL INC. C/O ECHO          ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SHIP OPTIMUS                        OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE QC L4L 8E3 CANADA
SHIP SMART LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SHIP USA                            1347 N. MAIN ORRVILLE OH 44667
SHIP WITH US LLC                    71 BEECH ST APT 8C N ARLINGTON NJ 07031-6453
SHIP-RIGHT SOLUTIONS LLC            165 PLEASANT AVE S PORTLAND ME 04106
SHIPAZON                            72 S ATLANTIC ST SEATTLE WA 98134
SHIPCARTE                           ATTN: SHAQUEEL KASSAM 8120 W BEAVER CREEK RD UNIT 8 RICHMOND HILL ON L4B 1L2
                                    CANADA
SHIPCARTE                           ATTN: SHAQUEEL KASSAM 1033 JAYSON CT MISSISSAUGA ON L4W 2P4 CANADA
SHIPCO TRANSPORT                    80 WASHINGTON ST HOBOKEN NJ 07030
SHIPDART INC                        201 135 REDSTONE WALK NE CALGARY AB T3N 1M6 CANADA
SHIPEX INC                          P.O. BOX 5454 DENVER CO 80217
SHIPLEX LOGISTICS INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SHIPLEY ENERGY COMPANY              PO BOX 5006 YORK PA 17405
SHIPLEY, BRANDON                    ADDRESS ON FILE
SHIPLIFY                            1425 ELLSWORTH IND BLVD SUITE 24 ATLANTA GA 30318
SHIPLIFY                            1425 ELLSWORTH INDUSTRIAL BLVD, SUITE 24 ATLANTA GA 30318
SHIPLUXE LLC                        OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
SHIPMAN, ROBERT                     ADDRESS ON FILE
SHIPMASTERS LLC                     P.O.BOX 600278 JACKSONVILLE FL 32260
SHIPOPO LLC                         23810 VILLA LISA DRIVE RICHMOND TX 77406



Epiq Corporate Restructuring, LLC                                                           Page 1730 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1739 of 2156

Claim Name                           Address Information
SHIPP LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SHIPP, JUAN                          ADDRESS ON FILE
SHIPP, MARSHALL                      ADDRESS ON FILE
SHIPP, RYAN                          ADDRESS ON FILE
SHIPPER TRAILER RENTAL & SALES       PO BOX 35 WATERTOWN TN 37184
SHIPPERS CHOICE TRUCKING LLC         PO BOX 4244 WARREN OH 44482
SHIPPERS EXPRESS, INC.               1651 KERR DR, PO BOX 8308 JACKSON MS 39284
SHIPPERS PREFERRED EXPRESS INC.      2224 GRAND AVE PHOENIX AZ 85009
SHIPPERS PRODUCTS                    PO BOX 71884 CHICAGO IL 60694
SHIPPERSFRIEND LOGISTICS, LLC        ATTN: KEN ASHMORE 178 REBECCA LN W ESTILL SPRINGS TN 37330
SHIPPING TELEPORTERS 1 CORP          OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
SHIPPY, BEVERLY                      ADDRESS ON FILE
SHIPPY, BEVERLY                      ADDRESS ON FILE
SHIPSOURCE LLC                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SHIPWISE TRANSPORT LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SHIRES, THOMAS                       ADDRESS ON FILE
SHIRIN, LENNY                        ADDRESS ON FILE
SHIRK, RICHARD                       ADDRESS ON FILE
SHIRK, STEVEN                        ADDRESS ON FILE
SHIRLEY, CHARLES                     ADDRESS ON FILE
SHIRLEY, GLENN                       ADDRESS ON FILE
SHIRLEY, JAMES                       ADDRESS ON FILE
SHIRLEY, LAVERNE                     ADDRESS ON FILE
SHIRLEY, MATTHEW                     ADDRESS ON FILE
SHIRLEY, STEPHEN                     ADDRESS ON FILE
SHIRLEY, TERRY                       ADDRESS ON FILE
SHIRTS ON SITE, INC.                 ATTN: NICK BELLOMY 18318 MINNETONKA BLVD STE W3 WAYZATA MN 55391
SHISLER, LARRY                       ADDRESS ON FILE
SHIVERS TOWING OF MS INC             1333 N. LAMAR BLVD OXFORD MS 38655
SHIVERS TRANSPORT LLC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHIVERS TRUCKING COMPANY LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SHLA GROUP                           2580 W 237TH ST TORRANCE CA 90505
SHLIAPIN, SERGEI                     ADDRESS ON FILE
SHLOSSER, DARIN                      ADDRESS ON FILE
SHO STOPPA TRANSPORTATION LLC        3343 PEACHTREE RD NE STE 145 ATLANTA GA 30326
SHO TRANSPORT LLC                    921 FICKEWIRTH AVE LA PUENTE CA 91744
SHOALS ELECTRIC CO., INC.            704 DAVISON AVE. MUSCLE SHOALS AL 35661
SHOBE, JENNIFER                      ADDRESS ON FILE
SHOBEY, JAMES                        ADDRESS ON FILE
SHOBEY, JAMES                        ADDRESS ON FILE
SHOCKLEY, DAVID                      ADDRESS ON FILE
SHOCKLEY, MILFORD                    ADDRESS ON FILE
SHOCKLEY, ROBERT                     ADDRESS ON FILE
SHOCKWAY EXPRESS LLC                 OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SHODE, OLUWATIMILEHIN                ADDRESS ON FILE
SHOEBOX STRATEGIES                   459 TWIDWELL DRIPPING SPRINGS TX 78620
SHOEMAKE, JACK                       ADDRESS ON FILE
SHOEMAKER, MELINDA                   ADDRESS ON FILE
SHOES FOR CREWS, LLC                 P.O. BOX 734176 CHICAGO IL 60673



Epiq Corporate Restructuring, LLC                                                               Page 1731 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1740 of 2156

Claim Name                           Address Information
SHOES FOR CREWS, LLC                 P.O. BOX 504634 ST LOUIS MO 63150
SHOES FOR CREWS, LLC                 FILE LOCKBOX 51151 LOS ANGELES CA 90074
SHOES FOR CREWS, LLC                 10661 ETIWANDA AVE FONTANA CA 92337
SHOKS LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SHOLLER, ANDREW                      ADDRESS ON FILE
SHOLTES, JOHN                        ADDRESS ON FILE
SHOMBE LOGISTICS LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SHOMIN, ASHLEY                       ADDRESS ON FILE
SHOMOTION LLC                        PO BOX 300605 DENVER CO 80203
SHONKWILER, JESSE                    ADDRESS ON FILE
SHONROCK, LISA                       ADDRESS ON FILE
SHONROCK, LISA C                     ADDRESS ON FILE
SHOOK, HARDY & BACON LLP             PO BOX 843718 KANSAS CITY MO 64184
SHOOK, SPENCER                       ADDRESS ON FILE
SHOOSTER, JONATHAN                   ADDRESS ON FILE
SHOPBELL, DAVID                      ADDRESS ON FILE
SHOPBOT TOOLS INC                    3333B INDUSTRIAL DR DURHAM NC 27704
SHOPE, ROBIN                         ADDRESS ON FILE
SHOPPAS MATERIAL HANDLING, LTD.      PO BOX 612027 DALLAS TX 75261
SHOPPAS MATERIAL HANDLING, LTD.      15217 GRAND RIVER RD FORT WORTH TX 76155
SHOPPAS MID AMERICA LLC              1301 N CORRINGTON AVE KANSAS CITY MO 64120
SHORB, AURORA                        ADDRESS ON FILE
SHORE MANUFACTURING                  100 COMMERCE AVE UNIT 2 FREEHOLD NJ 07728
SHORE POINT TRUCKING LLC             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SHORE, DAVID                         ADDRESS ON FILE
SHORELINE EXPRESS INC                SHORELINE EXPRESS INC, PO BOX 360322 STRONGSVILLE OH 44136
SHORES, ALDEN                        ADDRESS ON FILE
SHORR PACKAGING                      ATTN: JAZMIN GARCIA ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
SHORT BROTHERS EXPRESS INC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SHORT FUSE TRUCKING INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SHORT STOP TRANSPO LLC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SHORT TRANSIT LLC                    PO BOX 1704 SAGINAW MI 48605
SHORT TRANSIT LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
SHORT, ADAM                          ADDRESS ON FILE
SHORT, BRIAN                         ADDRESS ON FILE
SHORT, CHRISTOPHER                   ADDRESS ON FILE
SHORT, DAVID                         ADDRESS ON FILE
SHORT, DAVID                         ADDRESS ON FILE
SHORT, KERRY                         ADDRESS ON FILE
SHORT, MARK                          ADDRESS ON FILE
SHORT, PAUL                          ADDRESS ON FILE
SHORT, TIMOTHY                       ADDRESS ON FILE
SHORT, TIMOTHY                       ADDRESS ON FILE
SHORTCUT NY CORP                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SHORTEN, DEMARIO                     ADDRESS ON FILE
SHORTEN, KRISTI                      ADDRESS ON FILE
SHORTEN, TERRY                       ADDRESS ON FILE
SHORTER ENTERPRISES LLC              OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
SHORTER, JAMES                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1732 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1741 of 2156

Claim Name                           Address Information
SHORTER, MARCEL                      ADDRESS ON FILE
SHORTER, MICHAEL                     ADDRESS ON FILE
SHORTHAIRS TRUCKING COMPANY LLC      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
SHORTRIDGE, AL                       ADDRESS ON FILE
SHORTT, SHANNEN                      ADDRESS ON FILE
SHORTT, TODD                         ADDRESS ON FILE
SHORTWAY, ANTHONY T                  ADDRESS ON FILE
SHORTY, TYREIK                       ADDRESS ON FILE
SHOST, JOSEPH                        ADDRESS ON FILE
SHOTKO, ALLEN                        ADDRESS ON FILE
SHOTO, DAKARA                        ADDRESS ON FILE
SHOTWELL, ALISIA                     ADDRESS ON FILE
SHOTWELL, LANDON                     ADDRESS ON FILE
SHOUDY, PETER                        ADDRESS ON FILE
SHOULDERS, ASHLEY                    ADDRESS ON FILE
SHOULDERS, DARREN                    ADDRESS ON FILE
SHOULDERS, TERRY                     ADDRESS ON FILE
SHOUND Q WOODS                       ADDRESS ON FILE
SHOUSHA TRUCKING, LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SHOUT, ROBERT                        ADDRESS ON FILE
SHOW FREIGHT INC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHOW ME DELIVERY LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
SHOWALTER, ANDREW                    ADDRESS ON FILE
SHOWALTER, RICHARD                   ADDRESS ON FILE
SHOWCASE ENTERPRISES, INC.           5165 WEST 600 NORTH COLUMBIA CITY IN 46725
SHOWE, ERIC                          ADDRESS ON FILE
SHOWERS, DENNIS                      ADDRESS ON FILE
SHOWERS, TODD                        ADDRESS ON FILE
SHOWERS, TONY                        ADDRESS ON FILE
SHOWS, AARON                         ADDRESS ON FILE
SHPIGEL, ROMAN                       ADDRESS ON FILE
SHPP US LLC                          C/O ODYSSEY LOGISTICS, PO BOX 19749 CHARLOTTE NC 28219
SHPP US LLC                          ODYSSEY LOGISTICS PO BOX 19749 CHARLOTTE NC 28219
SHRADER TIRE & OIL                   2045 SYLVANIA AVE. TOLEDO OH 43613
SHRADER TIRE & OIL, INC.             PO BOX 5407, 2045 SYLVANIA AVE. TOLEDO OH 43613
SHRED-IT                             P.O. BOX 15781 TORONTO ON M5W 1C1 CANADA
SHRED-IT                             C/O STERICYCLE, INC., 28883 NETWORK PL CHICAGO IL 60673
SHREDDING SYSTEMS                    9760 SW FREEMAN DR WILSONVILLE OR 97070
SHREE TRANSPORT INC                  87 LAURAGLEN CRES BRAMPTON ON L7Y 5A6 CANADA
SHREE WAHEGURU TRANSPORT LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SHREEVE, DAVID                       ADDRESS ON FILE
SHREEVE, DAVID                       ADDRESS ON FILE
SHREEVE, DAVID M                     ADDRESS ON FILE
SHREVE CARTAGE INC                   2130 EMKAY DR OTTAWA HILLS OH 43606
SHREVE, JAMES                        ADDRESS ON FILE
SHREVEPORT REC. DEPT.                7401 JEWELLA AVE. SHREVEPORT LA 71108
SHRIEVES, JERMAIN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1733 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1742 of 2156

Claim Name                          Address Information
SHRM                                PO BOX 79547 BALTIMORE MD 21279
SHROCK, PAUL                        ADDRESS ON FILE
SHROPSHIRE, WILLIE                  ADDRESS ON FILE
SHROUT, JEREMY                      ADDRESS ON FILE
SHRUM, BRIAN                        ADDRESS ON FILE
SHRUM, DONALD                       ADDRESS ON FILE
SHRUM, DOUGLAS                      ADDRESS ON FILE
SHS CARRIERS LLC                    OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SHTOGRIN, YURIY                     ADDRESS ON FILE
SHUANG LI                           ADDRESS ON FILE
SHUEY, RUSSELL                      ADDRESS ON FILE
SHUGA, DAVID                        ADDRESS ON FILE
SHUGART, CHAD A                     ADDRESS ON FILE
SHUGART, JEFFREY                    ADDRESS ON FILE
SHUGHART, EMMANUEL                  ADDRESS ON FILE
SHUGHART, JERIMY                    ADDRESS ON FILE
SHUKR EXPRESS LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SHUL TRANSPORT LLC                  11232 FORRER DR STERLING HEIGHTS MI 48312
SHULAR, SANDRA E                    ADDRESS ON FILE
SHULER, BRANDON                     ADDRESS ON FILE
SHULER, MICHAEL                     ADDRESS ON FILE
SHULL, JEREMIAH                     ADDRESS ON FILE
SHULSKIE, BRANDON                   ADDRESS ON FILE
SHULSKIE, LAWRENCE                  ADDRESS ON FILE
SHULTERBRANDT, CALMON               ADDRESS ON FILE
SHULTZ, DAWN                        ADDRESS ON FILE
SHULTZ, JOSHUA                      ADDRESS ON FILE
SHULTZ, MATTHEW                     ADDRESS ON FILE
SHULTZ, MATTHEW                     ADDRESS ON FILE
SHUMAKE, DAVID                      ADDRESS ON FILE
SHUMAKER, AMANDA                    ADDRESS ON FILE
SHUMAKER, ANDREW                    ADDRESS ON FILE
SHUMAKER, ROGER                     ADDRESS ON FILE
SHUMAKER, TONY                      ADDRESS ON FILE
SHUMAN, LORI                        ADDRESS ON FILE
SHUMAN, PHILIP                      ADDRESS ON FILE
SHUMAN, WARREN                      ADDRESS ON FILE
SHUMAR TRUCKING INC                 1128 INDUSTRIAL BLVD BRADENVILLE PA 15620
SHUMATE, DONALD                     ADDRESS ON FILE
SHUMATE, MITCHEL                    ADDRESS ON FILE
SHUMBERGER, ROBERT                  ADDRESS ON FILE
SHUMPERT, AARON                     ADDRESS ON FILE
SHUMPERT, HENRY                     ADDRESS ON FILE
SHUMPERT, JACKIE                    ADDRESS ON FILE
SHUNK, TIMOTHY                      ADDRESS ON FILE
SHUNLI INC                          16929 MAIN ST LA PUENTE CA 91744
SHURLING PROPERTY MANAGEMENT LLC    ATTN: TONY SHURLING, 4530 OGEECHEE RD LOT B SAVANNAH GA 31405
SHURTAPE TECHNOLOGIES INC           32150 JUST IMAGINE DR AVON OH 44011
SHUSTER, CHRIS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1734 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1743 of 2156

Claim Name                          Address Information
SHUTE, CHRISTIAN                    ADDRESS ON FILE
SHUTE, JOSEPH                       ADDRESS ON FILE
SHUUTE TRANSPORTATION LLC           OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
SHY TRUCKING LLC                    OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
SHYFT GROUP                         1111 MIKESELL CHARLOTTE MI 48813
SI FREIGHT LLC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SI LOGISTICS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SIA TRANSPORT LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SIAH & TATTA TRANSPORTATION LLC     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SIB & BROTHERS LLC                  25 CLEVENGER CT SPRINGBORO OH 45066
SIB TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SIBBLE, JANE                        ADDRESS ON FILE
SIBERT, JERRY                       ADDRESS ON FILE
SIBERT, SEAN                        ADDRESS ON FILE
SIBIC TRUCKING LLC                  SIBIC TRUCKING LLC 12032 TESSON FERRY RD STE 104 ST LOUIS MO 63128
SIBLEY & SONS CONSTRUCTION INC      242 MILLER STREET BANGOR ME 04402-0836
SIBLING MANAGEMENT LLC              220 ADAMS DRIVE SUITE 280-1019 WEATHERFORD TX 76086
SIBLINGS AND A TRUCK LLC            OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
SIBREE, JOSEPH                      ADDRESS ON FILE
SIBTRANS CARGO INC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SIBU TRANSPORT LLC                  OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX
                                    76116
SICARD, SERGE                       ADDRESS ON FILE
SICHANTHA, SELENA                   ADDRESS ON FILE
SICHER, DAVID                       ADDRESS ON FILE
SICHTING, DAVID                     ADDRESS ON FILE
SICILIANO, GIUSEPPE                 ADDRESS ON FILE
SICILIANO, MATTEO                   ADDRESS ON FILE
SICIS NA                            150 BRUCKNER BLVD BRONX NY 10454
SICKINGER, DANIELLE                 ADDRESS ON FILE
SICKLES, BRANDIE                    ADDRESS ON FILE
SID COURIER LLC                     OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SIDEDOOR                            ATTN: SCOT 210 CROSS ROAD SQ SALT LAKE CITY UT 84115
SIDERITS, WILLIAM                   ADDRESS ON FILE
SIDES, MICHAEL D                    ADDRESS ON FILE
SIDH TRUCK                          PO BOX 75070 BOLTON SOUTH ON L7E1H6 CANADA
SIDHARTH PARCEL SERVICE LTD         51 ABERCROMBIE CRESCENT BRAMPTON ON L7A 4N2 CANADA
SIDHU BROS TRANSPORT INC            OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, STE 230 MORTON GROVE IL 60053
SIDHU BROS TRUCKING LLC             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SIDHU BROTHERS INC                  OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SIDHU EXPRESS                       5380 MARINERS WAY LIBERTY TWP OH 45011
SIDHU FREIGHTLINES                  2211 VIA BASILICA AVE DELANO CA 93215-3860
SIDHU ONTIME TRANS INC              OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                    45263-9565
SIDHU TRANSPORT INC (FT WORTH TX)   6141 COOPER CREEK ST FORT WORTH TX 76179
SIDHU TRANSPORT INC (MC1061108)     2551 72ND ST 2ND FL EAST ELMHURST NY 11370
SIDHU TREK TRANSPORT INC.           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SIDHU TREK TRANSPORT INC.           OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SIDHU TRUCK LINE, INC.              4711 COMMERCIAL ST BAKERSFIELD CA 93308



Epiq Corporate Restructuring, LLC                                                              Page 1735 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1744 of 2156

Claim Name                           Address Information
SIDHU TRUCKING                       9728 SPLENDER WAY SACRAMENTO CA 95829
SIDHU TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SIDHU TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SIDIALI LLC                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
SIDIDOMA CORP                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SIDNEY ELECTRIC COMPANY              840 S VANDEMARK RD SIDNEY OH 45365
SIDNEY SERVICES, LLC                 16 TRANSPORT PARK ROCKINGHAM VT 05101
SIDOTI, MICHAEL                      ADDRESS ON FILE
SIDWAY, DOUG                         ADDRESS ON FILE
SIEBERT, DAVID                       ADDRESS ON FILE
SIEBERT, LEAH                        ADDRESS ON FILE
SIEBERT, MEGAN                       ADDRESS ON FILE
SIEBRASS, NICK                       ADDRESS ON FILE
SIECZKO, RON                         ADDRESS ON FILE
SIEDLECKI, RUSSELL                   ADDRESS ON FILE
SIEGEL, DAVID                        ADDRESS ON FILE
SIEGEL, PAUL                         ADDRESS ON FILE
SIEGFERTH, BENJAMIN                  ADDRESS ON FILE
SIEGFRIED, GREG                      ADDRESS ON FILE
SIEGRIST, GREGORY                    ADDRESS ON FILE
SIEJA, WALTER                        ADDRESS ON FILE
SIEKIERKA, JAMES                     ADDRESS ON FILE
SIEMENS - ABBY THOMAS                ATTN: JENNIFER HERNANDEZ 4800 NORTH POINT PARKWAY ALPHARETTA GA 30022
SIEMENS INDUSTRY, INC.               C/O CITIBANK (BLDG TECH), PO BOX 2134 CAROL STREAM IL 60132
SIEMIANOWSKI, ED                     ADDRESS ON FILE
SIENA, VINCENT                       ADDRESS ON FILE
SIEPKA-SALHI, JASON                  ADDRESS ON FILE
SIERRA AIR INC                       4875 LONGLEY LANE RENO NV 89502
SIERRA CHEMICAL                      788 NORTHPORT DR WEST SACRAMENTO CA 95691
SIERRA COURIER                       165 RYAN STREET WINNIPEG MB R2R 0N9 CANADA
SIERRA E-LIFE C/O ECHO               ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SIERRA ELECTRONICS                   P.O. BOX 1545 SPARKS NV 89432
SIERRA EXPEDITING INC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SIERRA EXPEDITING INC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SIERRA FREIGHT LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIERRA FREIGHTLINER                  STERLING WESTERN STAR, INC. 1285 GLENDALE AVE SPARKS NV 89431
SIERRA LOGISTICS GROUP               PO BOX 661508 SACRAMENTO CA 95866
SIERRA LOGISTICS LLC                 PO BOX 225 AUBURN WA 98071
SIERRA SPRINGS                       PO BOX 660579 DALLAS TX 75266
SIERRA TRUCK AND TRAILER             1285 GLENDALE AVE SPARKS NV 89431
SIERRA TRUCK REPAIR CORP             4800 SPRING VIEW DRIVE BANNING CA 92220
SIERRA, ANDRES                       ADDRESS ON FILE
SIERRA, DANIEL                       ADDRESS ON FILE
SIERRA, GERMAN                       ADDRESS ON FILE
SIERRA, HUMBERTO                     ADDRESS ON FILE
SIERRA, IVAN                         ADDRESS ON FILE
SIERRA, REINALDO                     ADDRESS ON FILE
SIESPUTOWSKI, RONALD                 ADDRESS ON FILE
SIEVERS, JULIE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1736 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1745 of 2156

Claim Name                           Address Information
SIEVERT ELECTRIC SERVICE & SALES     1230 S HANNAH AVE FOREST PARK IL 60130
COMPANY
SIEVERT TRUCKING, INC.               1610 E RAWSON AVE OAK CREEK WI 53154
SIEWERTS GARAGE, INC                 3424 N. SERVICE DRIVE RED WING MN 55066
SIFAL LLC                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SIFAT TRANSPORTATION INC             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SIFFRINGER, COLIN                    ADDRESS ON FILE
SIFUENTES, CHRISTIAN                 ADDRESS ON FILE
SIFUENTES, MANUEL                    ADDRESS ON FILE
SIFUENTES, ORASIO                    ADDRESS ON FILE
SIGERUD TRUCKING LLC                 OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
SIGET, DANIEL                        ADDRESS ON FILE
SIGGINS, WILLIAM                     ADDRESS ON FILE
SIGLER                               34405 W 12 MILE RD STE 375 FARMINGTON HILLS MI 48331
SIGLER                               ATTN: SANDY STACY, 1 S PRESCOTT ST MEMPHIS TN 38111
SIGLER                               C/O CTSI, 1 S PRESCOTT STREET MEMPHIS TN 38111
SIGLER                               CTSI GLOBAL, 1 S PRESCOTT ST MEMPHIS TN 38111
SIGLER                               ATTN: SYDNEY 300 N MARK STALL PL BOISE ID 83704
SIGLER                               ATTN: SYDNEY 9702 W TONTO ST TOLLESON AZ 85353
SIGLER                               ATTN: LYLE WATSON 3648 INDUSTRY AVE LAKEWOOD CA 90712
SIGLER                               15041 BAKE PKWY STE L IRVINE CA 92618
SIGLER                               ATTN: ALEX PERALES 7021 SCHIRRA CT STE A BAKERSFIELD CA 93313
SIGLER                               1070 COMMERCIAL ST SAN JOSE CA 95112
SIGLER                               1037 N MARKET BLVD SACRAMENTO CA 95834
SIGLER & REEVES                      300 N MARK STALL PL BOISE ID 83704
SIGLER C/O CTSI GLOBAL               1 S PRESCOTT ST MEMPHIS TN 38111
SIGLER INC                           3648 INDUSTRY AVE LAKEWOOD CA 90712
SIGLER, JASON                        ADDRESS ON FILE
SIGLERS                              1037 N MARKET STE A SACRAMENTO CA 95834
SIGMA ALDRICH                        6000 TEUTONIA AVE. MILWAUKEE WI 53209
SIGMA ALDRICH INC HZSPILL            3050 SPRUCE ST ST. LOUIS MO 63103
SIGMA CORP.                          700 GOLDMAN DR CREAM RIDGE NJ 08514
SIGMA FREIGHT PARTNERS LLC           159 WINDING BRANCH DR SUMMERVILLE SC 29486
SIGMA SUPPLY                         PO BOX 20980 HOT SPRINGS AR 71903
SIGMON, BRYAN                        ADDRESS ON FILE
SIGN CLINIC                          PO BOX 702 MOORESVILLE NC 28115
SIGN SEALED DELIVERED LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SIGNARAMA BURNABY                    ADDRESS ON FILE
SIGNATURE FREIGHT INC                OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SIGNATURE GRAPHICS                   13026 W MCFARLANE RD BLDG D2 AIRWAY HEIGHTS WA 99001
SIGNATURE GRAPHICS INC               1000 SIGNATURE DRIVE PORTER IN 46304
SIGNATURE LINES LLC                  8208 FOX SWAMP ROAE CHARLOTTE NC 28215
SIGNATURE T&D LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SIGNIFY NORTH AMERICA CORPORATION    ATTN: RODRIGO PIEDRA 706 W. BEAVERCREEK DRIVE POWELL TN 37849
SIGNIFY NORTH AMERICA CORPORATION    ATTN: JOSE ARCE 4PL CENTRAL STATION 13100 WORTHAM CENTER DRIVE STE 145 HOUSTON
                                     TX 77065
SIGNMASTER                           2121 US 31 DEATSVILLE AL 36022
SIGNODE                              BLUEJAY SOLUTIONS, 3624 W LAKE AVE GLENVIEW IL 60026
SIGNODE                              1 LESLIE DR PITTSBURG CA 94565



Epiq Corporate Restructuring, LLC                                                               Page 1737 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1746 of 2156

Claim Name                           Address Information
SIGNODE INDUSTRIAL GROUP US INC      3650 WEST LAKE AVE GLENVIEW IL 60026
SIGNODE INDUSTRIAL LLC               JULIAN BLUMENTHAL, 3624 W LAKE AVE GLENVIEW IL 60026
SIGNORELLI, JOSEPH                   ADDRESS ON FILE
SIGNORELLO, DAVID                    ADDRESS ON FILE
SIGNORELLO, MARIA                    ADDRESS ON FILE
SIHAAM EXPRESS TRUCKING LLC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SIIDKA TRANSPORT LLC                 OR PARTNERS FUNDING INC.    PO BOX 5431 CAROL STREAM IL 60197-5431
SIITER, ROSS                         ADDRESS ON FILE
SIKA CORPORATION                     ATTN: PHYLLIS MCDOWELL 15616 EUCLID AVE CHINO CA 91710
SIKANDER TRANSPORT INC               OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIKES TRANSPORT                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SIKKA LOGISTICS INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SIKORA EXPRESS LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SIKORSKI, DAVID                      ADDRESS ON FILE
SILAS, LAMONT                        ADDRESS ON FILE
SILBA LOGISTICS LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SILCO FIRE PROTECTION COMPANY        PO BOX 933381 CLEVELAND OH 44193
SILCOTT, ROBIN                       ADDRESS ON FILE
SILEA, DMITRI                        ADDRESS ON FILE
SILENCE LINES LLC                    9276 MARINE CITY HWY CASCO MI 48064
SILER, JEFF                          ADDRESS ON FILE
SILER, JOSEPH                        ADDRESS ON FILE
SILICON VALLEY TEXTILES              625 N KING RD SAN JOSE CA 95133
SILICON VALLEY TRANSPORT LLC         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SILIF-LANI LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SILK ROAD EXPRESS LINES INC          OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
SILK ROAD LOGISTICS LLC              514 AMERICAS WAY SUITE 14044 BOX ELDER SD 57719
SILK ROAD TRANS INC (MASON OH)       OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SILK WAY LINE, INC.                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SILK WAY TRANSPORT, INC              OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SILK Z ROAD TRANSPORTATION LLC       OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
SILK Z ROAD TRANSPORTATION LLC       OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SILKROAD CARGO INC                   24804 EMERALD AVE PLAINFIELD IL 60585
SILKROAD TRANZ INC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SILKS, DAKOTA                        ADDRESS ON FILE
SILKS, DUSTIN                        ADDRESS ON FILE
SILKS, PAUL                          ADDRESS ON FILE
SILLER TRANSPORT INC                 OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                     45263-9565
SILLOWAY, NICHOLAS                   ADDRESS ON FILE
SILLS, DAVID                         ADDRESS ON FILE
SILLS, MICHAEL                       ADDRESS ON FILE
SILTZER, GORDON                      ADDRESS ON FILE
SILVA ELECTRIC INC                   PO BOX 771 TRACY CA 95378
SILVA, BENJAMIN                      ADDRESS ON FILE
SILVA, CHRISTOPHER                   ADDRESS ON FILE
SILVA, FRANCISCO                     ADDRESS ON FILE
SILVA, FRANK                         ADDRESS ON FILE
SILVA, FRANK                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1738 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1747 of 2156

Claim Name                           Address Information
SILVA, GABRIEL                       ADDRESS ON FILE
SILVA, GILBERT                       ADDRESS ON FILE
SILVA, JEFFREY                       ADDRESS ON FILE
SILVA, JONATHAN G                    ADDRESS ON FILE
SILVA, JOSE                          ADDRESS ON FILE
SILVA, JUVENTINO                     ADDRESS ON FILE
SILVA, KAREN                         ADDRESS ON FILE
SILVA, NICHOLAS                      ADDRESS ON FILE
SILVA, ORLANDO                       ADDRESS ON FILE
SILVA, OSWALD                        ADDRESS ON FILE
SILVA, PERICLES                      ADDRESS ON FILE
SILVA, RICHARD                       ADDRESS ON FILE
SILVA, ROBERT                        ADDRESS ON FILE
SILVA, SALVADOR                      ADDRESS ON FILE
SILVA, SANDRA                        ADDRESS ON FILE
SILVA, SETH                          ADDRESS ON FILE
SILVA, VICTORIA                      ADDRESS ON FILE
SILVAN TRUCKING COMPANY OF OHIO      PO BOX 368 GROVE CITY OH 43123
SILVAS EXPRESS, INC.                 SILVAS EXPRESS, INC., 81 PHOENIX AVENUE LOWELL MA 01852
SILVEIRA, ALEXANDER                  ADDRESS ON FILE
SILVER BULLET TRANSPORTATION LLC     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
SILVER BULLIT EXPESS LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SILVER CITY EXPRESS LLC              OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SILVER CREEK CARRIERS LLC            OR ROAD HUNTER LOGISITCS, INC 500 RAILWAY AVE CHANCELLOR SD 57015
SILVER CREEK LLC                     ATTN: DAVID SUMMITT, 1800 PROGRESS WAY CLARKSVILLE IN 47129
SILVER EAGLE TRANSPORT INC           OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
SILVER EAGLE TRANSPORTATION          SILVER EAGLE TRANSPORTATION INCORPORATED PO BOX 518 SCOTTSBORO AL 35768
INCORPORATED
SILVER EXPRESS AZ LLC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SILVER FOX TRUCKING LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SILVER KNIGHT TRANSPORTATION INC     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SILVER LINE TRUCKING L.L.C.          184 MASSILLON RD AKRON OH 44312
SILVER LINES EXPEDITION LLC          331 BIANCO RIDGE AVE LAS VEGAS NV 89183
SILVER LOGISTICS INC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SILVER MAPLE TRANSPORT LLC           OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
SILVER NEEDLE INC.                   1628 BIG CREEK RD. KELLOGG ID 83837
SILVER OPPORTUNITY PARTNERS          ATTN: SARAH FROHLICH 2209 BIG CREEK RD KELLOGG ID 83837
SILVER PACK TRUCKING LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SILVER PALATE KITCHENS INC           211 KNICKERBOCKER RD CRESSKILL NJ 07626
SILVER STAG TRANSPORTATION LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SILVER STAR FREIGHT INC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SILVER STAR TRANSPORT                OR COPPERWOOD CAPITAL PO BOX 4776 DEPT 300 HOUSTON TX 77210
SILVER STAR TRUCKING                 OR J D FACTORS CORP 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
SILVER STATE DIST                    PO BOX 1680 SPARKS NV 89431
SILVER STATE DISTRIBUTE              PO BOX 1680 KALISPELL MT 59903
SILVER STATE INTERNATIONAL           2255 LARKIN CIRCLE, P O BOX 1680 SPARKS NV 89431
SILVER STATE INTERNATIONAL           SILVER STATE INTERNATIONAL TRUCKS PO BOX 889380 LOS ANGELES CA 90088
SILVER STATE INTERNATIONAL           SILVER STATE INTERNATIONAL TRUCKS PO BOX 399380 SAN FRANCISCO CA 94139
SILVER STATE SYSTEMS CORPORATION     2470 WRONDELL WAY SUITE 234 RENO NV 89502



Epiq Corporate Restructuring, LLC                                                               Page 1739 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1748 of 2156

Claim Name                           Address Information
SILVER STATE TRUCK & TRAILER         PO BOX 101284 PASADENA CA 91189
SILVER TRANSPORTATION LLC            3 HALLO ST EDISON NJ 08837
SILVER TRUCKING CO. LLC              OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SILVER TRUCKING LLC                  PO BOX 515263 ST LOUIS MO 63151
SILVER WAY TRANSPORT, INC.           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SILVER, ANDREW                       ADDRESS ON FILE
SILVER, SHANICA                      ADDRESS ON FILE
SILVERBACK TRUCKING LLC              OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SILVERBOW TRUCK & AUTO CENTER        3873 WYNNE AVE BUTTE MT 59701
SILVERIO, LUIS                       ADDRESS ON FILE
SILVERJOHN TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SILVERLEAF EXPRESS LLC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SILVERLINE INFOSYSTEMS               2515 N FRONT ST HARRISBURG PA 17110
SILVERS LOGISTICS LLC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SILVERS, BRANDON                     ADDRESS ON FILE
SILVERS, GARETH                      ADDRESS ON FILE
SILVERS, RICKY                       ADDRESS ON FILE
SILVERS, WAYNE                       ADDRESS ON FILE
SILVERSTATE REFRIGERATION & HVAC     4535 COPPER SAGE ST LAS VEGAS NV 89115
SILVERTOOTH, BOBBY                   ADDRESS ON FILE
SILVESTRI, MICHAEL                   ADDRESS ON FILE
SILVEY, JONATHAN                     ADDRESS ON FILE
SILVEY, ZANDER                       ADDRESS ON FILE
SILVIA L BENAVIDES                   ADDRESS ON FILE
SILVICOM                             1301 W ARMITAGE AVE MELROSE PARK IL 60160
SILWADY TRUCKING INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SILWAL, SURAJ                        ADDRESS ON FILE
SIM CARRIER LLC                      904 BRAY RD MIDDLETOWN DE 19709
SIM TRANSPORT INC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIMAR TRANSPORTATION                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SIMAS, ZACHARY                       ADDRESS ON FILE
SIMAX TRANSPORTATION LLC             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIMBA TRANSIT LLC                    OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SIMBA TRUCKING LLC                   45 SOUTH FUTON AVENUE TULSA OK 74112
SIMBECK, INC.                        OR COMMERCIAL FUNDING INC, PO BOX 207527 DALLAS TX 75320
SIMCO ELECTRIC                       3947 E CALVARY RD, STE 100 DULUTH MN 55803
SIMCOL PETROLEUM LIMITED COMPANY     5555 GLENRIDGE CONNECTOR NE STE 200 ATLANTA GA 30342
SIMCOL PETROLEUM LIMITED COMPANY     5555 GLENRIDGE CONNECTOR, SUITE 200 ATLANTA GA 30342
SIMENTAL, CHRISTOPHER                ADDRESS ON FILE
SIMENTAL, JOSE                       ADDRESS ON FILE
SIMEON, EMMANUEL                     ADDRESS ON FILE
SIMES, RONALD                        ADDRESS ON FILE
SIMI VALLEY CARRIERS CORP            OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
SIMIANO, ESTRADA J                   ADDRESS ON FILE
SIMIANO, JORGE                       ADDRESS ON FILE
SIMKEVICIUS, BENIUS                  ADDRESS ON FILE
SIMKO, MICHAEL                       ADDRESS ON FILE
SIMKO, RYAN                          ADDRESS ON FILE
SIMKO, THOMAS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1740 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1749 of 2156

Claim Name                             Address Information
SIMMERS CRANE DESIGN & SVC CO          1134 SALEM PARKWAY SALEM OH 44460
SIMMON, CLARENCE                       ADDRESS ON FILE
SIMMONS ALSTON LOGISTICS & TRANSPORT   OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
LLC
SIMMONS DELIVERIES LLC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIMMONS SIRVEY CORPORATION             MAIL CODE 5208, P.O. BOX 660367 DALLAS TX 75266
SIMMONS SIRVEY CORPORATION             P.O. BOX 733792 DALLAS TX 75373
SIMMONS TRANSPORTING                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SIMMONS TRANSPORTS EXPRESS L L C       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
SIMMONS, ANTHONY                       ADDRESS ON FILE
SIMMONS, BIANCA                        ADDRESS ON FILE
SIMMONS, BOBBY                         ADDRESS ON FILE
SIMMONS, BR                            ADDRESS ON FILE
SIMMONS, BRADLEY                       ADDRESS ON FILE
SIMMONS, BRIAN                         ADDRESS ON FILE
SIMMONS, CONNIE                        ADDRESS ON FILE
SIMMONS, COREY                         ADDRESS ON FILE
SIMMONS, DALE                          ADDRESS ON FILE
SIMMONS, DARRIUS                       ADDRESS ON FILE
SIMMONS, DESEAN                        ADDRESS ON FILE
SIMMONS, DWAYNE D                      ADDRESS ON FILE
SIMMONS, ELIZABETH                     ADDRESS ON FILE
SIMMONS, EMILY                         ADDRESS ON FILE
SIMMONS, GEORGE                        ADDRESS ON FILE
SIMMONS, GREGORY                       ADDRESS ON FILE
SIMMONS, JEFFERY                       ADDRESS ON FILE
SIMMONS, JULIUS                        ADDRESS ON FILE
SIMMONS, JUSTIN                        ADDRESS ON FILE
SIMMONS, KEITH D                       ADDRESS ON FILE
SIMMONS, KEVIN                         ADDRESS ON FILE
SIMMONS, LASHANDA                      ADDRESS ON FILE
SIMMONS, MICAH                         ADDRESS ON FILE
SIMMONS, MIKE                          ADDRESS ON FILE
SIMMONS, NICOLE                        ADDRESS ON FILE
SIMMONS, OLIVIA                        ADDRESS ON FILE
SIMMONS, RICARDO                       ADDRESS ON FILE
SIMMONS, RICARDO                       ADDRESS ON FILE
SIMMONS, RILEY                         ADDRESS ON FILE
SIMMONS, RONALD                        ADDRESS ON FILE
SIMMONS, RONALD                        ADDRESS ON FILE
SIMMONS, SCOTT                         ADDRESS ON FILE
SIMMONS, TYLER                         ADDRESS ON FILE
SIMMONS, WESLEY                        ADDRESS ON FILE
SIMMONS, WILLIAM                       ADDRESS ON FILE
SIMMONS, WYATT                         ADDRESS ON FILE
SIMMONS, ZACH                          ADDRESS ON FILE
SIMMS SIMPLY IMPECCABLE                MOTOR MOVING SVCS LLC OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX
                                       76161-1029
SIMMS, ANTHONY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1741 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1750 of 2156

Claim Name                            Address Information
SIMMS, JAMES                          ADDRESS ON FILE
SIMMS, KENNETH                        ADDRESS ON FILE
SIMMS, TERENCE                        ADDRESS ON FILE
SIMMY TRANSPORT INC                   OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SIMON PRINSLOO                        ADDRESS ON FILE
SIMON ROOFING AND SHEET METAL CORP.   PO BOX 951109 CLEVELAND OH 44193
SIMON SCOTT                           ADDRESS ON FILE
SIMON TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SIMON TRUCKING LLC (MC1172949)        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SIMON, ACREL                          ADDRESS ON FILE
SIMON, ALPAR                          ADDRESS ON FILE
SIMON, ALPAR                          ADDRESS ON FILE
SIMON, CHRISTI                        ADDRESS ON FILE
SIMON, DAVID                          ADDRESS ON FILE
SIMON, EMILY                          ADDRESS ON FILE
SIMON, GARY                           ADDRESS ON FILE
SIMON, GREGORY                        ADDRESS ON FILE
SIMON, JENNIFER                       ADDRESS ON FILE
SIMON, LAWRENCE                       ADDRESS ON FILE
SIMON, MATHEW                         ADDRESS ON FILE
SIMON, ROLAND                         ADDRESS ON FILE
SIMON, TIMOTHY                        ADDRESS ON FILE
SIMON, VENZELL                        ADDRESS ON FILE
SIMONE, NICK                          ADDRESS ON FILE
SIMONE, SCOTT                         ADDRESS ON FILE
SIMONETTI, FRANK                      ADDRESS ON FILE
SIMONI LOGISTICS CORP.                OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
SIMONI LOGISTICS CORP.                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SIMONIS, HAROLD                       ADDRESS ON FILE
SIMONOVIC, DANILO                     ADDRESS ON FILE
SIMONS TRUCKING, INC.                 P O BOX 8 FARLEY IA 52046
SIMONS, KEN                           ADDRESS ON FILE
SIMONS, LARRY                         ADDRESS ON FILE
SIMONSON, ANNAFAYE M                  ADDRESS ON FILE
SIMONSON, DARRYL                      ADDRESS ON FILE
SIMONTON, JEAN                        ADDRESS ON FILE
SIMOTRANS LLC                         OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
SIMOVIC, MILAN                        ADDRESS ON FILE
SIMPKINS, KENNETH                     ADDRESS ON FILE
SIMPKINS, SCOTTY                      ADDRESS ON FILE
SIMPLE CIRCUITS INC                   13647 SW HWY ORLAND PARK IL 60462
SIMPLE FREIGHT INC                    OR RM CAPITAL GROUP INC PO BOX 509141 DEPT 914 SAN DIEGO CA 92150
SIMPLE LOGISTICS SERVICES LLC         117 LIMBAUGH VALLE DR MCDONOUGH GA 30252
SIMPLE TARGET GROUP INC               OR FINANCIAL CARRIER SVCS, PO BOX 151052 OGDEN UT 84415
SIMPLE TRANSFER SOLUTIONS LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SIMPLEXGRINNELL LP                    DEPT CH 10320 PALATINE IL 60055
SIMPLIFIED LOGISTICS                  PO BOX 40088 BAY VILLAGE OH 44140
SIMPLIFIED LOGISTICS                  28915 CLEMENS RD 220 WESTLAKE OH 44145
SIMPLIFIED LOGISTICS                  28915 CLENENS RD SUIT 220 WESTLAKE OH 44145



Epiq Corporate Restructuring, LLC                                                               Page 1742 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1751 of 2156

Claim Name                           Address Information
SIMPLIFIED LOGISTICS                 29815 CLEMENS RD 220 WESTLAKE OH 44145
SIMPLIFIED LOGISTICS LLC             28915 CLEMENS RD STE 220 WESTLAKE OH 44145
SIMPLOT AGRIBUSINESS                 PO BOX 70013 BOISE ID 83707
SIMPLY 10                            2500 CRESTWOOD BLVD STE 500 BIRMINGHAM AL 35210
SIMPLY APPEALING LAWNCARE LLC        23861 FOSTORIA RD WOODVILLE OH 43469
SIMPLY CLEANUP, LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SIMPLY GOLDEN LOGISTICS LLC          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SIMPSON DISTRICT COURT               101 N COURT ST FRANKLIN KY 42134
SIMPSON FIRE EXTINGUISHER CO         212 SMITH AVENUE THOMASVILLE GA 31792
SIMPSON TRUCKING LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SIMPSON, ALVIN                       ADDRESS ON FILE
SIMPSON, ARTHUR                      ADDRESS ON FILE
SIMPSON, BOBBY                       ADDRESS ON FILE
SIMPSON, BRIAN                       ADDRESS ON FILE
SIMPSON, BRIAN                       ADDRESS ON FILE
SIMPSON, CAESAR                      ADDRESS ON FILE
SIMPSON, CARL                        ADDRESS ON FILE
SIMPSON, CHARLES                     ADDRESS ON FILE
SIMPSON, DANIEL                      ADDRESS ON FILE
SIMPSON, DEAN                        ADDRESS ON FILE
SIMPSON, DEMETRIUS                   ADDRESS ON FILE
SIMPSON, DOMINIQUE                   ADDRESS ON FILE
SIMPSON, HERMAN                      ADDRESS ON FILE
SIMPSON, JACK                        ADDRESS ON FILE
SIMPSON, JACOB                       ADDRESS ON FILE
SIMPSON, JASON                       ADDRESS ON FILE
SIMPSON, JOHNATHON                   ADDRESS ON FILE
SIMPSON, JOSEPH                      ADDRESS ON FILE
SIMPSON, KEESHA                      ADDRESS ON FILE
SIMPSON, KELAN                       ADDRESS ON FILE
SIMPSON, KRISTOPHER                  ADDRESS ON FILE
SIMPSON, MANUEL S                    ADDRESS ON FILE
SIMPSON, MARION                      ADDRESS ON FILE
SIMPSON, NEVEN                       ADDRESS ON FILE
SIMPSON, NORRIS                      ADDRESS ON FILE
SIMPSON, OCTAVIA                     ADDRESS ON FILE
SIMPSON, PAT                         ADDRESS ON FILE
SIMPSON, PAUL                        ADDRESS ON FILE
SIMPSON, PETER                       ADDRESS ON FILE
SIMPSON, RANDALL                     ADDRESS ON FILE
SIMPSON, RICHARD                     ADDRESS ON FILE
SIMPSON, ROBERT                      ADDRESS ON FILE
SIMPSON, ROBERT                      ADDRESS ON FILE
SIMPSON, ROBERT                      ADDRESS ON FILE
SIMPSON, RUSSELL                     ADDRESS ON FILE
SIMPSON, SAMANTHA                    ADDRESS ON FILE
SIMPSON, SAVANAH                     ADDRESS ON FILE
SIMPSON, SHANNON                     ADDRESS ON FILE
SIMPSON, STEFFEN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1743 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1752 of 2156

Claim Name                           Address Information
SIMPSON, TERRENCE                    ADDRESS ON FILE
SIMPSON, WILLIAM                     ADDRESS ON FILE
SIMPSON, WILLIAM L                   ADDRESS ON FILE
SIMPSONS ELECTRIC                    10 LYNNWOOD DR LITTLE ROCK AR 72206
SIMRAN LOGISTICS LLC                 16645 EMERSON LANE FONTANA CA 92336
SIMRAN SAHIB & PAPA LLC              OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189
SIMRAN SINGH SOHI                    ADDRESS ON FILE
SIMRAN TRANSHAUL INC                 OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL, PO BOX 741791 LOS
                                     ANGELES CA 90074
SIMRAN TRANZ INC                     OR SOUND FINANCE CORP PO BOX 679281 DALLAS TX 75267-9281
SIMRAN TRUCKING                      3328 BARON ST, 3328 BARON ST MADERA CA 93637
SIMRAT TRUCKING LLC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SIMS & CLEVELAND TRUCKING INC        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIMS FENCE COMPANY                   7071 OUSLEY RD VALDOSTA GA 31601
SIMS FENCE COMPANY                   PO BOX 5949 VALDOSTA GA 31603
SIMS QUEEN BEE TRANSPORTATION LLC    OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
SIMS SANCHEZ, JOSE ANTONIO           ADDRESS ON FILE
SIMS TRANSPORTATION SERVICE LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SIMS, ANTAWN                         ADDRESS ON FILE
SIMS, AUDRA                          ADDRESS ON FILE
SIMS, BILLY                          ADDRESS ON FILE
SIMS, BRANDON                        ADDRESS ON FILE
SIMS, BRANDON                        ADDRESS ON FILE
SIMS, CHRISTINA                      ADDRESS ON FILE
SIMS, CHRISTOPHER                    ADDRESS ON FILE
SIMS, CRYSTAL N                      ADDRESS ON FILE
SIMS, DARREN                         ADDRESS ON FILE
SIMS, DEVIN                          ADDRESS ON FILE
SIMS, DOUGLAS R                      ADDRESS ON FILE
SIMS, GENE                           ADDRESS ON FILE
SIMS, JAMAL                          ADDRESS ON FILE
SIMS, JAMES                          ADDRESS ON FILE
SIMS, JERRY                          ADDRESS ON FILE
SIMS, JOHN                           ADDRESS ON FILE
SIMS, JOHN                           ADDRESS ON FILE
SIMS, JOHNATHAN                      ADDRESS ON FILE
SIMS, JULENE                         ADDRESS ON FILE
SIMS, KENNETH                        ADDRESS ON FILE
SIMS, LASHUNA                        ADDRESS ON FILE
SIMS, MARIO                          ADDRESS ON FILE
SIMS, MARK                           ADDRESS ON FILE
SIMS, MARKEL D                       ADDRESS ON FILE
SIMS, MARVIN                         ADDRESS ON FILE
SIMS, MICHELLE                       ADDRESS ON FILE
SIMS, PERCIANESE                     ADDRESS ON FILE
SIMS, RICHARD                        ADDRESS ON FILE
SIMS, STANLEY                        ADDRESS ON FILE
SIMS, STEVEN                         ADDRESS ON FILE
SIMS, TYREKE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1744 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1753 of 2156

Claim Name                           Address Information
SIMS, VINCIENT                       ADDRESS ON FILE
SIMSEK, OSMAN                        ADDRESS ON FILE
SIMSIM TRADE & INVESTMENT, LLC       OR PROVIDENT COMMERCIAL FINANCE, LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
SIMSON, BILL                         ADDRESS ON FILE
SIN CITY LOGISTICS                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SINA TRUCKING LLC (MC898784)         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SINAGRA, THOMAS                      ADDRESS ON FILE
SINAI EXPRESS LLC                    PO BOX 265 ROEBUCK SC 29376
SINARD, CRAIG                        ADDRESS ON FILE
SINCLAIR AND RUSH INC                ATTN: LISA BUSCHER ACCOUNTING DEPT. 111 MANUFACTURERS DR ARNOLD MO 63010
SINCLAIR DENTAL                      ATTN: NICO DELLISANTI 900 HARBOURSIDE DR N VANCOUVER BC V7P 3T8 CANADA
SINCLAIR DENTAL CO LTD               900 HARBOURSIDE DR N VANCOUVER BC V7P 3T8 CANADA
SINCLAIR DENTAL CO LTD               ATTN: ANTONIO VIERNES 900 HARBOURSIDE DR N VANCOUVER BC V7P 3T8 CANADA
SINCLAIR TRANSPORTATION LLC          OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SINCLAIR, BLAKE                      ADDRESS ON FILE
SINCLAIR, CHAD                       ADDRESS ON FILE
SINCLAIR, COURTNEY                   ADDRESS ON FILE
SINCLAIR, DAMIEN                     ADDRESS ON FILE
SINCLAIR, KARL                       ADDRESS ON FILE
SINCLAIR, KEVIN                      ADDRESS ON FILE
SINCLAIR, ROBERT                     ADDRESS ON FILE
SINCOSKIE, CHERYL                    ADDRESS ON FILE
SINCOSKIE, CHERYL                    ADDRESS ON FILE
SINDELAR, WALTER                     ADDRESS ON FILE
SINDLEDECKER, PATRICK                ADDRESS ON FILE
SINECIO-NIETO, EZEQUIEL              ADDRESS ON FILE
SINETOS, ANDREW                      ADDRESS ON FILE
SINEX TRANSPORT INC                  OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
SING, BUNTHATE                       ADDRESS ON FILE
SINGER, DAVID W                      ADDRESS ON FILE
SINGER, EDWARD                       ADDRESS ON FILE
SINGER, MICHAEL                      ADDRESS ON FILE
SINGER, PHILLIP                      ADDRESS ON FILE
SINGER, SHANE                        ADDRESS ON FILE
SINGER, THOMAS                       ADDRESS ON FILE
SINGH 1 TRUCKING LLC                 OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
SINGH AND SINGH TRANSPORT LLC        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SINGH CARRIER                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SINGH EXP LLC                        OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
SINGH EXPRESS INC                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SINGH IS KING TRANSPORT LLC          OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320-0399
SINGH TRANSPORT CORPORATION          OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
SINGH TRANSPORT CORPORATION          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SINGH TRANSPORTATION INC             17 SHELDUCK LN MECHANICSBURG PA 17050
SINGH, GREWAL M                      ADDRESS ON FILE
SINGH, HARJOT                        ADDRESS ON FILE
SINGH, HARKAMALJIT                   ADDRESS ON FILE
SINGH, JACK                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1745 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1754 of 2156

Claim Name                           Address Information
SINGH, JACKIE                        ADDRESS ON FILE
SINGH, JAGROOP                       ADDRESS ON FILE
SINGH, JASKARAN                      ADDRESS ON FILE
SINGH, KULJEET KEN                   ADDRESS ON FILE
SINGH, MANJINDER                     ADDRESS ON FILE
SINGH, NARENDER                      ADDRESS ON FILE
SINGH, NARINDER                      ADDRESS ON FILE
SINGH, NITIN                         ADDRESS ON FILE
SINGH, RINKU                         ADDRESS ON FILE
SINGH, SARABJIT                      ADDRESS ON FILE
SINGH, SATNAM                        ADDRESS ON FILE
SINGH, TEJPAL                        ADDRESS ON FILE
SINGH, VARINDER                      ADDRESS ON FILE
SINGHLAND TRANS INC.                 2627 CORMORANT DR GREENWOOD IN 46143
SINGHLOGISTIC LLC                    OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320
SINGHRANA, GURJIT                    ADDRESS ON FILE
SINGHTRANS INC                       2691 LA JOLLA BLVD GRAND PRAIRIE TX 75054
SINGLE SOURCE LOGISTICS, INC.        OR CORPORATE BILLING, LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
SINGLETARY, JOHNNY                   ADDRESS ON FILE
SINGLETARY, SHAMIYA                  ADDRESS ON FILE
SINGLETON HAULING INC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SINGLETON, BRANDON                   ADDRESS ON FILE
SINGLETON, CALVIN                    ADDRESS ON FILE
SINGLETON, CALVIN                    ADDRESS ON FILE
SINGLETON, CURTIS                    ADDRESS ON FILE
SINGLETON, DUANE                     ADDRESS ON FILE
SINGLETON, FREDRICK                  ADDRESS ON FILE
SINGLETON, JEFFREY                   ADDRESS ON FILE
SINGLETON, LAURIE D                  ADDRESS ON FILE
SINGLETON, MACK                      ADDRESS ON FILE
SINGLETON, MICHAEL                   ADDRESS ON FILE
SINGLETON, QUESHAWN                  ADDRESS ON FILE
SINGLETON, R                         ADDRESS ON FILE
SINGLETON, RAKIM                     ADDRESS ON FILE
SINGLETON, RICHARD                   ADDRESS ON FILE
SINGLETON, STEPHEN                   ADDRESS ON FILE
SINGLEY, ROBERT                      ADDRESS ON FILE
SINGLEY, RON                         ADDRESS ON FILE
SINISCALCO, FRANK                    ADDRESS ON FILE
SINISTERRA, MATEO                    ADDRESS ON FILE
SINK, ANDREW                         ADDRESS ON FILE
SINKFIELD, SHERWYN                   ADDRESS ON FILE
SINKLER, PETER                       ADDRESS ON FILE
SINNER, DARRELL D                    ADDRESS ON FILE
SINQUEFIELDBELL TRUCKING LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SIOK, JOHN                           ADDRESS ON FILE
SION-BYRD, JULIAN                    ADDRESS ON FILE
SIONE K FIEFIA                       ADDRESS ON FILE
SIONE K FIEFIA                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1746 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1755 of 2156

Claim Name                               Address Information
SIONE, SIONE                             ADDRESS ON FILE
SIOPES, MICHAEL                          ADDRESS ON FILE
SIOUX CITY TRUCK TRAILER                 3900 HARBOR DRIVE SIOUX CITY IA 51111
SIOUX CITY TRUCK TRAILER                 4535 HARBOR DR SIOUX CITY IA 51111
SIOUX FALLS UTILITIES                    224 W NINTH ST SIOUX FALLS SD 57117-7401
SIOUX VALLEY COOPERATIVE                 PO BOX 965 WATERTOWN SD 57201
SIOUXS TRANSPORTATION                    PO BOX 306 TONTITOWN AR 72770
SIP LOGISTICS INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SIPI METALS                              ATTN: CONNIE GARCIA 1720 N ELSTON AVE CHICAGO IL 60642
SIPP, JONATHON                           ADDRESS ON FILE
SIPPLE, KEITH W                          ADDRESS ON FILE
SIPPLE, RANDOLPH                         ADDRESS ON FILE
SIQUEIRA, ALEXSANDRO                     ADDRESS ON FILE
SIR LANCELLOT COURIER & DELIVERY         1019 4TH AVENUE LESTER PA 19029
SERVICE
SIRA-MONSALVE, YELIMAR                   ADDRESS ON FILE
SIRACUSA GROUP MOVING ALLIANCE           250 COMMERCE CIRCLE NEW BRITAIN CT 06050
SIRBU, ALBERT                            ADDRESS ON FILE
SIRCY-HUTCHINSON, KIMBERLY               ADDRESS ON FILE
SIRENA M BARLOW                          ADDRESS ON FILE
SIRIGNANO, COSTANZO                      ADDRESS ON FILE
SIRISI TRANSPORT INC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIRIUS COMPUTER SOLUTIONS                ATTN: GENERAL COUNSEL 10100 REUNION PLACE SUITE 500 SAN ANTONIO TX 78216
SIRIUS COMPUTER SOLUTIONS INC            PO BOX 202289 DALLAS TX 75320
SIRIUS FREIGHT INC                       OR ASSIST FINANCIAL SVCS INC PO BOX 347 MADISON SD 57042
SIRIUS LOGISTICS LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SIRIUS TRANSPORTATION LLC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
SIRIUS TRANSPORTATION, INC               OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
SIRJMR, INC DBA TREASURE VALLEY COFFEE   2009 LOGSTON BLVD RICHLAND WA 99354
SIRLES, ANDRE                            ADDRESS ON FILE
SIRMANS, BOZIE                           ADDRESS ON FILE
SIRO SMITH DICKSON PC                    1621 BALTIMORE AVENUE KANSAS CITY MO 64108
SIS TRANSPORT                            OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SISBARRO, DENNIS                         ADDRESS ON FILE
SISCEL, MICHAEL                          ADDRESS ON FILE
SISCO, GERALD                            ADDRESS ON FILE
SISCO339 LLC                             OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                         IL 60674-0411
SISEMORE, AIMEE                          ADDRESS ON FILE
SISENGLATH, ALEN                         ADDRESS ON FILE
SISK, AUSTIN                             ADDRESS ON FILE
SISK, EARL                               ADDRESS ON FILE
SISK, SAMANTHA                           ADDRESS ON FILE
SISNEROS BROTHERS MANUFACTURING          2300 ROLDAN DR BELEN NM 87002
SISNEY, AARON                            ADDRESS ON FILE
SISNEY, ROBERT                           ADDRESS ON FILE
SISON, TYLER                             ADDRESS ON FILE
SISSOM, KEITH                            ADDRESS ON FILE
SISSON, BRIAN                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1747 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1756 of 2156

Claim Name                           Address Information
SISSON, DAVID                        ADDRESS ON FILE
SISTEK, CHARLES                      ADDRESS ON FILE
SISTER TRUCKING                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
SISTI, RONALD                        ADDRESS ON FILE
SISTRUNK, MICHAEL                    ADDRESS ON FILE
SIT LOGISTICS INC                    OR 18 WHEEL FUNDING LLC DEPT 6029 PO BOX 4517 HOUSTON TX 77210-4517
SITAL, MICHAEL                       ADDRESS ON FILE
SITE ONE                             300 COLONIAL CENTER PKWY SUITE 600 ATTN TANYA GILLGREN ROSWELL GA 30076
SITE ONE LANDSCAPE SUPPLY            2 ABERJONA DR WOBURN MA 01801
SITE ONE LANDSCAPE SUPPLY            650 STEPHENSON HWY TROY MI 48083
SITE2SITETRANSPORT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SITEK, JOSEPH                        ADDRESS ON FILE
SITEONE                              CARDINAL LOGISTICS, PO BOX 12090 CHARLOTTE NC 28220
SITES, ASHLEA                        ADDRESS ON FILE
SITSA LOGISTICS INC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
SITTIG, CHARLES                      ADDRESS ON FILE
SITTNICK, JEFF                       ADDRESS ON FILE
SITTON, KENDRICK                     ADDRESS ON FILE
SITTON, TODD                         ADDRESS ON FILE
SIV LOGISTICS INC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIVA, TIMOTHY                        ADDRESS ON FILE
SIVAD TRUCKING LLC                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SIVERTSON, LES                       ADDRESS ON FILE
SIX POINT TRANSPORT INC              2647 TWINLEAF DR PLAINFIELD IN 46168
SIX POINT TRANSPORT INC              OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIX ROBBLEES, INC.                   PO BOX 3703 SEATTLE WA 98124
SIX RS TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIX STATES DISTRIBUTORS INC          TRUCKPRO LLC SIX STATES 28534 NETWORK PL CHICAGO IL 60673
SIX, JOHN                            ADDRESS ON FILE
SIX, STEVEN                          ADDRESS ON FILE
SIXT, MARTIN R                       ADDRESS ON FILE
SIXTY 2 LOGISTICS                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SIZEMORE III, ALLEN                  ADDRESS ON FILE
SIZEMORE, DOUGLAS                    ADDRESS ON FILE
SIZEMORE, TYLER                      ADDRESS ON FILE
SIZER, GARY                          ADDRESS ON FILE
SIZLON LLC                           PO BOX 1390 VINELAND NJ 08362
SJ COMPUTERS                         2817 EAGANDALE BLVD SAINT PAUL MN 55121
SJ TRANSPORT SVCS INC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SJC TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SJO ENTERPRISES CORP                 OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SJODT, KEVIN                         ADDRESS ON FILE
SJOHAL XPRESS LLC                    OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
SJS EXPRESS TRANSPORTATION LLC       OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
SJS TRANSPORT                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SJT EXPRESS INC                      OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SJT EXPRESS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SJT TRUCKING INC                     OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195



Epiq Corporate Restructuring, LLC                                                               Page 1748 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1757 of 2156

Claim Name                           Address Information
SJW TRUCKING AND DELIVERIES LLC      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SK CARGO                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SK INTERMODAL LLC                    OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SK LIONS GROUP INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SK LOGISTICS LLC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SK LOGISTICS LLC (MC078389)          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SK NATIONAL, LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SK SALES COMPANY, INC                PO BOX 156, 980 CRESTWOOD DRIVE MOUNTAIN TOP PA 18707
SK TRANSPORT LLC                     W6028 BLAZING STAR DRIVE APPLETON WI 54915
SK TRANSPORT LOGISTIC LLC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SK XPRESS INC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SK-MK INC                            OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SKA EXPRESS LLC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SKAGGS, CARA                         ADDRESS ON FILE
SKAGGS, JAMES                        ADDRESS ON FILE
SKALAK, CHRISTOPHER                  ADDRESS ON FILE
SKAMER, DOUGLAS                      ADDRESS ON FILE
SKARDA, MICHAEL                      ADDRESS ON FILE
SKARZYNSKI, SCOTT                    ADDRESS ON FILE
SKATEBOARD EXPRESS TRUCKING LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SKB CASES.                           434 W LEVERS PL ORANGE CA 92867
SKB TRANSPORT INC                    OR NEXT DAY FUNDING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412
SKC COMMUNICATION PRODUCTS, LLC      P.O. BOX 874843 KANSAS CITY MO 64187
SKEEIES BEE TRANSPORTATION CORP      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKEELS, JOSEPH                       ADDRESS ON FILE
SKEENS, CURTIS                       ADDRESS ON FILE
SKEENS, SHANE                        ADDRESS ON FILE
SKEETE, JERRY                        ADDRESS ON FILE
SKEETERS WRECKER SERVICE INC.        23356 US HWY 377 WHITESBORO TX 76273
SKEETS AUTO BODY REPAIR INC          906 CONOVER BLVD WEST CONOVER NC 28613
SKELTON, JOHN                        ADDRESS ON FILE
SKENANDORE, DONALD                   ADDRESS ON FILE
SKENANDORE, RAYMOND                  ADDRESS ON FILE
SKF USA INC (COLINX)                 ATTN: YVONNE ROBBIN CARGO CLAIMS 139 COX AVE CROSSVILLE TN 38555
SKI COUNTRY SHELL                    1125 N SUMMIT BLVD FRISCO CO 80443
SKI COUNTRY SHELL                    PO BOX 158 FRISCO CO 80443
SKI COUNTRY SHELL TOWING             1125 N SUMMIT BLVD, PO BOX 158 FRISCO CO 80443
SKI COUNTRY SHELL TOWING             PO BOX 158 FRISCO CO 80443
SKIBINSKI, DAVID                     ADDRESS ON FILE
SKIBINSKI, DAVID                     ADDRESS ON FILE
SKIBISKI, STEVEN                     ADDRESS ON FILE
SKID ROW TRANSPORTATION LLC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKID STEER ATTACMENTDEPOTECHO        ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SKIDMORE, JOSHUA A                   ADDRESS ON FILE
SKIDO TRUCKING AND LOGISTICS LLC     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SKIFF EXPRESS CORP                   OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
SKILJEVIC LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SKILL TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SKILLON, CAMERON                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1749 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1758 of 2156

Claim Name                             Address Information
SKILLSOFT CORPORATION                  BANK OF AMERICA, PO BOX 405527 ATLANTA GA 30384
SKIMEHORN, RONALD L                    ADDRESS ON FILE
SKINNER DIESEL SERVICES, INC.          PO BOX 14805 COLUMBUS OH 43214
SKINNER TRANSFER CORP.                 SKINNER TRANSFER CORP., PO BOX 692 REEDSBURG WI 53959-0692
SKINNER TRANSIT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SKINNER, DAVID                         ADDRESS ON FILE
SKINNER, EDDIE                         ADDRESS ON FILE
SKINNER, JEFFREY                       ADDRESS ON FILE
SKINNER, JERMAINE                      ADDRESS ON FILE
SKINNER, MARK                          ADDRESS ON FILE
SKINNER, MARK D                        ADDRESS ON FILE
SKINNER, MELISSA                       ADDRESS ON FILE
SKINNER, ROY                           ADDRESS ON FILE
SKINNER, THEODORE                      ADDRESS ON FILE
SKINNERS ROADSIDE TRUCK REPAIR, INC.   PO BOX 624 MOUNT SHASTA CA 96067
SKIPINA, SLAVKO                        ADDRESS ON FILE
SKIPWORTH, CAMERON                     ADDRESS ON FILE
SKIRPAN, CHARLES                       ADDRESS ON FILE
SKIRROW, YOLANDA                       ADDRESS ON FILE
SKIVER, HERNANDEZ                      ADDRESS ON FILE
SKLASHEE LLC                           OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
SKM TRANSPORTATION                     9914 EAST MORGAN ROAD SPOKANE WA 99217
SKODINSKI, MICHAEL                     ADDRESS ON FILE
SKOGLUND, TODD                         ADDRESS ON FILE
SKOLNICK, DAVID                        ADDRESS ON FILE
SKOOG, DAVID                           ADDRESS ON FILE
SKOP TRANSPORT LLC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SKOPEC, CRAIG                          ADDRESS ON FILE
SKOPJE TRUCK INC.                      47045 JAMES DR MACOMB MI 48044
SKR LOGISTICS INC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SKRETTING                              712 E 2400 N TOOELE UT 84074
SKS LOGISTICS INC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SKS LOGISTICS INC                      1639 FULTON AVE RIPON CA 95366
SKU DISTRIBUTION                       2225 E GERMANN RD SUITE 10 CHANDLER AZ 85286
SKULINA, MARCEL                        ADDRESS ON FILE
SKULL MONKEY INC                       OR OTR CAPITAL DBA OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SKULSKI, JOHN                          ADDRESS ON FILE
SKVARENINA, SCOTT                      ADDRESS ON FILE
SKVARENINA, SCOTT J                    ADDRESS ON FILE
SKWARLO, ALBERT                        ADDRESS ON FILE
SKY 2 C TRANS LLC.                     PO BOX 637 FERNDALE WA 98248
SKY BLUE INDUSTRIES                    PO BOX 187 OGDEN UT 84402
SKY BLUE TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKY BLUE TRANSPORT LTD                 PO BOX 14010 RPO TRETHEWAY ABBOTSFORD BC V2T 0V4 CANADA
SKY CARGO INC                          OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD HOUSTON TX 77064
SKY CASTLE                             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SKY CITY ROOFING                       PO BOX 54 RPO CORYDON WINNIPEG MB R3M 3S3 CANADA
SKY CITY TRUCKING LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
SKY DIVE LOGISTICS INC                 OR JD FACTORS, LLC, PO BOX 687 WHEATON IL 60187



Epiq Corporate Restructuring, LLC                                                                Page 1750 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1759 of 2156

Claim Name                              Address Information
SKY DREAM INC                           5029 BAYLEAF DR STERLING HTS MI 48314-4031
SKY EXPRESS INC                         930 COUNTRY CLUB ROAD LAKE ZURICH IL 60047
SKY EXPRESS LLC                         360 SUMMIT PARK CT CROWN POINT IN 46307
SKY EXPRESS LLC (TRINETY FL)            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SKY EXPRESS LLC.                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SKY EXPRESS LLC.                        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SKY EXPRESS TRANSPORTATION LLC          OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SKY FREIGHT INC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKY HAWK LBL TRUCKING LLC               OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
SKY HAWK TRUCKING INC                   209 AEGEAN WAY APT 242 VACAVILLE CA 95687-4080
SKY HEIGHTS INC                         OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SKY HIGH CARRIERS INC                   OR TRANSAM FINANCIAL SVCS INC PO BOX 872632 KANSAS CITY MO 64187
SKY HIGH EXPRESS INC                    8005 FINANCIAL DRIVE UNIT A4 BRAMPTON ON L6Y 6A1 CANADA
SKY HIGH TRANSPORTATION INC.            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKY JIANG TRUCKING INC                  OR FINANCIAL CARRIER SVCS, PO BOX 151052 OGDEN UT 84415
SKY LEVEL LOGISTIC LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKY MILE LLC                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SKY TRANSPORT INC                       OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SKY TRANSPORT INC (SOMMERVILLE NJ)      178 DAVENPORT ST, 2 SOMERVILLE NJ 08876
SKY TRANSPORT LLC                       OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320-0399
SKY TRANSPORT, INC.                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SKY VISION INC                          OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SKY2C TRUCKING                          SKY2C TRUCKING, 8071 TAFFY DR WEST CHESTER OH 45069
SKYBLOOM SOLUTIONS INC                  325 DRAKE DR MIDDLETOWN DE 19709
SKYBLUE XPRESS                          OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SKYFER LOGISTICS INC                    ATTN: PIERRE KITTS 1827 CROIS DU HARFANG ST LAZARE QC J7T 0B6 CANADA
SKYHAWK CHEMICAL                        701 N POST OAK RD, STE 540 HOUSTON TX 77024
SKYHAWK CHEMICALS C/O ALVIN CHEMICALS   701 N POST OAK RD, STE 540 HOUSTON TX 77024
SKYHAWK EXPRESS INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKYHILL LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SKYJACK EMPLOYEE                        201 WOODLAWN RD GUELPH ON N1H 1B8 CANADA
SKYJACK PRODUCT SUPPORT                 ATTN: CLINT ORTIZ 2525 ENTERPRISE CIR STE 1 W CHICAGO IL 60185
SKYLAND EXPRESS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SKYLER N WIRTZ                          ADDRESS ON FILE
SKYLER W WHITE                          ADDRESS ON FILE
SKYLER W WHITE                          ADDRESS ON FILE
SKYLES, CRISTEN                         ADDRESS ON FILE
SKYLES, KURT                            ADDRESS ON FILE
SKYLIMIT GROUP INC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SKYLIMIT TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SKYLINE CARGO INC                       OR NEXT DAY FUNDING, INC, PO BOX 640 CHICAGO HEIGHTS IL 60412
SKYLINE CARGO INC                       OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SKYLINE DIESEL & TOWING                 PO BOX 46 FORISTELL MO 63348
SKYLINE ELECTRIC COMPANY, INC.          1848 W 2300 SOUTH WEST VALLEY CITY UT 84119
SKYLINE ENTERTAINMENT LLC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SKYLINE EXPRESS LLC (BUFORD GA)         4520 PLANTATION MILL TRAIL BUFORD GA 30519
SKYLINE EXPRESS LLC (MC821065)          3149 WILLOW POINT DR IMPERIAL MO 63052
SKYLINE FORD                            2510 COMMERCIAL ST. SALEM OR 97302
SKYLINE LOGISTICS INC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                  Page 1751 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1760 of 2156

Claim Name                           Address Information
SKYLINE LOGISTICS LLC                OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33631
SKYLINE LOGISTICS LLC (MC1144325)    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SKYLINE LOGISTICS LLC (MC810540)     OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
SKYLINE PRIME INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SKYLINE TRANSPORT GROUP, LLC         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SKYLINE TRANSPORT INC.               SKYLINE TRANSPORT INC., PO BOX 324 SANDWICH IL 60548
SKYLINE TRANSPORT LLC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SKYLINE TRANSPORTATION LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SKYLINE TRANSPORTATION, INC          (WINTER GARDEN, FL) OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY
                                     14425
SKYLINE TRANSPORTATION, INC.         131 WEST QUINCY AVE KNOXVILLE TN 37917
SKYLINE TRANSPORTATION, INC.         OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
SKYLINE TRUCKING LLC                 OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
SKYLINER TRADING LLC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SKYLINK TRANSPORTATION INC           OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SKYLORD LLC                          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
SKYLORD SERVICES                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SKYMILE LOGISTICS INC                OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SKYNET SOLUTIONS                     OR INTEGRATED LOGISTICS & ASSOC PO BOX 25189 FARMINGTON NY 14425-0189
SKYNET TRANS INC                     OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SKYNET TRANSPORTATION INC            903 LARCHWOOD AVE HACIENDA HEIGHTS CA 91745
SKYSCORE INC                         OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SKYTRANS EXPRESS INC                 11755 MONUMENT DR RANCHO CUCAMONGA CA 91730
SKYWAY EXPRESS LLC                   4616 THISTLE CREEK CT FORT WORTH TX 76179
SKYWAY LOGISTICS INC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SKYWAY TRANSPORT LLC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SKYWAY TRANSPORTATION                OR RTS FINANCIAL SVCS INC, PO BOX 840267 DALLAS TX 75284-0267
SKYWAY TRANSPORTATION                5333 NEW HARTFORD CT ANTELOPE CA 95843
SKYWAY TRANSPORTATION INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SKYWAYS TRANSPORT INC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SL & S LOGISTICS LLC                 NKA- SL & S LOGISTICS LLP 17 KILMINGTON CT FOUNTAIN INN SC 29644
SL BLACK FOX TRANSPORT, LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SL EXPRESS LLC                       OR ST. JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SL EXPRESS LLC (MC1014485)           OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SL LOGISTICS, INC.                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SLAASTED, ARNOLD                     ADDRESS ON FILE
SLAB RUNNER TRANSPORTATION INC       7615 OAKDALE AVE HAMMOND IN 46324
SLABY, STANLEY                       ADDRESS ON FILE
SLACK, SAMUEL                        ADDRESS ON FILE
SLADE LOGISTICS, INC.                OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SLADE, DONALD                        ADDRESS ON FILE
SLADE, JASON                         ADDRESS ON FILE
SLADE, STEVEN                        ADDRESS ON FILE
SLADE, TREVOR                        ADDRESS ON FILE
SLAGER, ANDREW                       ADDRESS ON FILE
SLAGER, JERRY                        ADDRESS ON FILE
SLAGER, RYAN                         ADDRESS ON FILE
SLAGLE, JASON                        ADDRESS ON FILE
SLAIN, KYLE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1752 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1761 of 2156

Claim Name                              Address Information
SLAKEY BROS                             C/O CTSI GLOBAL, 1 S PRESCOTT ST MEMPHIS TN 38111
SLAKEY BROS                             CTSI GLOBAL, 1 S PRESCOTT ST MEMPHIS TN 38111
SLAKEY BROS                             2215 KAUSEN DR STE 1 ELK GROVE CA 95758
SLAKEY BROTHERS C/O CTSI                1 S PRESCOTT ST MEMPHIS TN 38111
SLAKEY BROTHERS INC                     1 SOUTH PRESCOTT STREET MEMPHIS TN 38111-4618
SLAKEY BROTHERS INC                     ATTN: GINO ROSILLO 2215 KAUSEN DR ELK GROVE CA 95758
SLAM TRUCKING, LLC                      OR COMPASS FUNDING SOLUTION PO BOX 205154 DALLAS TX 75320
SLAMA, ROBERT                           ADDRESS ON FILE
SLANE, CHRISTOPHER                      ADDRESS ON FILE
SLATE, GARY                             ADDRESS ON FILE
SLATE, ROBERT                           ADDRESS ON FILE
SLATEN, ERNEST                          ADDRESS ON FILE
SLATEN, JEFFREY                         ADDRESS ON FILE
SLATEN, JOSHUA                          ADDRESS ON FILE
SLATEN, TERRY                           ADDRESS ON FILE
SLATER, CAROLYN                         ADDRESS ON FILE
SLATER, CHASTYNE                        ADDRESS ON FILE
SLATER, DANIEL S                        ADDRESS ON FILE
SLATER, DMARCO                          ADDRESS ON FILE
SLATER, JESSICA                         ADDRESS ON FILE
SLATER, MARTIAL                         ADDRESS ON FILE
SLATER, MICHAEL                         ADDRESS ON FILE
SLATER, ROBERT                          ADDRESS ON FILE
SLATER, TERRI                           ADDRESS ON FILE
SLATER, WILLIE LEE                      ADDRESS ON FILE
SLATER, WILLIE LEE                      ADDRESS ON FILE
SLATES ELECTRIC INC                     4731 SOUTH AVE UNIT 2 TOLEDO OH 43615
SLATIER, PIERRE                         ADDRESS ON FILE
SLATTERY, DEREK                         ADDRESS ON FILE
SLATTERY, MICHAEL                       ADDRESS ON FILE
SLATTERY, SCOTT                         ADDRESS ON FILE
SLATTON, DAVID                          ADDRESS ON FILE
SLATTON, TREVOR                         ADDRESS ON FILE
SLAUGHTER EXPRESS LLC                   23201 MEADOWLARK ST OAK PARK MI 48237
SLAUGHTER, JIMMY                        ADDRESS ON FILE
SLAUGHTER, JOHNITA                      ADDRESS ON FILE
SLAUGHTER, RANDY                        ADDRESS ON FILE
SLAUGHTER, RANDY                        ADDRESS ON FILE
SLAUGHTERS ROADRUNNER TRUCKING LLC      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SLAUTER, THOMAS                         ADDRESS ON FILE
SLAVA KIRILOV                           ADDRESS ON FILE
SLAVENS, KEVIN                          ADDRESS ON FILE
SLAVJANKA TRANS CO LTD                  431 HESPELER ST SOUTH STEINBACH MB R5G 2H1 CANADA
SLAWOMIR ZIELINSKI TRANSPORTATION INC   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SLAY, ALGERNON                          ADDRESS ON FILE
SLAY, CHRIS                             ADDRESS ON FILE
SLAYBAUGH, JUSTIN                       ADDRESS ON FILE
SLAYMAN, LAWRENCE                       ADDRESS ON FILE
SLAYTON, GARY                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1753 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1762 of 2156

Claim Name                           Address Information
SLAYTON, ZEBADIAH                    ADDRESS ON FILE
SLB & MTS TRANSPORT LLC              OR TRIUMPH FINANCIAL SVCS LL PO BOX 610028 DALLAS TX 75261-0028
SLC TRUCKING, LLC                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SLEDGE, DONALD                       ADDRESS ON FILE
SLEDGE, EARL                         ADDRESS ON FILE
SLEDGE, PARTHENYA                    ADDRESS ON FILE
SLEDZIANOWSKI, MICHAEL               ADDRESS ON FILE
SLEDZIEWSKI, GARY                    ADDRESS ON FILE
SLEEKY LOGISTICS LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SLEEP INN                            9930 BEDFORD ST. PASCO WA 99301
SLEEPERS, CHRISTOPHER                ADDRESS ON FILE
SLEJ LOGISTICS LLC                   OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
SLELECTRONICS                        4400 BUSINESS PARK CT SW LILBURN GA 30047-2974
SLELECTRONICS                        OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SLENTZ, TROY                         ADDRESS ON FILE
SLESTHENGER, HENRY                   ADDRESS ON FILE
SLFA INTERNATIONAL CORPORATION       27 HIDDEN VALLEY ROAD POMONA CA 91766
SLG INVESTMENT PARTNERSHIP LLLP      6550 ST AUGUSTINE ROAD STE 104 JACKSONVILLE FL 32217
SLI EXPRESS INC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SLICK FREIGHT                        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SLIGER, TIMOTHY                      ADDRESS ON FILE
SLIM FREIGHT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SLIMS ROAD SERVICE                   PO BOX 31474 BILLINGS MT 59107
SLIMS TRUCK SERVICE                  P.O. BOX 2007 MARION NC 28752
SLJ TRANSPORT INC                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SLK TRANSPORTATION INC               OR RIVIERA FINANCE, PO BOX 310243 DES MOINES IA 50331-0243
SLO-HI BIKE CO                       3217 E COLFAX AVE DENVER CO 80206
SLOAN, DOUGLAS                       ADDRESS ON FILE
SLOAN, JOEY                          ADDRESS ON FILE
SLOAN, LARRY                         ADDRESS ON FILE
SLOAN, MICHAEL                       ADDRESS ON FILE
SLOAN, SANDRA                        ADDRESS ON FILE
SLOANE, JOHN                         ADDRESS ON FILE
SLOBODIN, EMILY                      ADDRESS ON FILE
SLOCUM, CHARLES                      ADDRESS ON FILE
SLOCUM, DUSTI                        ADDRESS ON FILE
SLOCUM, MATHEW                       ADDRESS ON FILE
SLOMSKI, LORI                        ADDRESS ON FILE
SLOMSKI, STEVE                       ADDRESS ON FILE
SLONE, GARY                          ADDRESS ON FILE
SLONE, JULIE                         ADDRESS ON FILE
SLONE, TIVIS                         ADDRESS ON FILE
SLONE, VICTORIA                      ADDRESS ON FILE
SLOOP INC                            OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SLOOP, HOWARD                        ADDRESS ON FILE
SLOSNERICK, JASON                    ADDRESS ON FILE
SLOTH LLC                            OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SLOTTA, TEAGUE                       ADDRESS ON FILE
SLOVER, THOMAS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1754 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1763 of 2156

Claim Name                           Address Information
SLOVINSKI, GREGORY                   ADDRESS ON FILE
SLOW ROLLIN LLC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SLP TRUCK CORPORATION                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SLP TRUCKING LLC                     OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SLR EXPRESS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SLS ARTS                             ATTN: TREY DUBOSE 5524 MOUNES HARAHAN LA 70123
SLS FREIGHT LLC                      400 E RINCON ST STE 103 CORONA CA 92879
SLS GROUP WORLDWIDE LLC              OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SLUIS, BROOKE                        ADDRESS ON FILE
SLUSARCZYK, VICTOR E                 ADDRESS ON FILE
SLUSHER, DARREN                      ADDRESS ON FILE
SLUSHER, JACQUELINE                  ADDRESS ON FILE
SLUSHER, LORI                        ADDRESS ON FILE
SLYCO DRIVELINES                     1398 S 400 WEST SALT LAKE CITY UT 84115
SLYFIELD, ADAM                       ADDRESS ON FILE
SM 2010                              OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
SM CARGO INC                         OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SM EXPRESS LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SM INVESTMENT & PROPERTY MGT LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SM LOGISTICS LLC                     OR ST. JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
SMA TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SMACK TRUCKING LLC                   1050 COKER CIR NW KENNESAW GA 30144
SMACK, DARRYL                        ADDRESS ON FILE
SMAIL, DEREK                         ADDRESS ON FILE
SMALL CORP                           19 BUTTERNUT ST GREENFIELD MA 01301
SMALL DOG TRUCKING                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SMALL PACKAGE EXPRESS                147-20 184TH ST JAMAICA NY 11413
SMALL TRUCKING LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SMALL WORLD CONSULTING LLC           OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
SMALL WORLD TRANSPORT LLC            OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SMALL, ANTONIO                       ADDRESS ON FILE
SMALL, ANTONIO                       ADDRESS ON FILE
SMALL, BRUCE                         ADDRESS ON FILE
SMALL, DANTE                         ADDRESS ON FILE
SMALL, DUSTIN                        ADDRESS ON FILE
SMALL, EARNEST                       ADDRESS ON FILE
SMALL, FAIYA                         ADDRESS ON FILE
SMALL, FITZGERALD                    ADDRESS ON FILE
SMALL, FREDERICK                     ADDRESS ON FILE
SMALL, JAMAR                         ADDRESS ON FILE
SMALL, REGINALD KARL                 ADDRESS ON FILE
SMALL, TANYA                         ADDRESS ON FILE
SMALL, TERRY                         ADDRESS ON FILE
SMALL, TYMISHA                       ADDRESS ON FILE
SMALLEY, RALPH                       ADDRESS ON FILE
SMALLING, ANTHONY                    ADDRESS ON FILE
SMALLING, MICHAEL                    ADDRESS ON FILE
SMALLING, QUINTIN D                  ADDRESS ON FILE
SMALLRIDGE, DANNY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1755 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1764 of 2156

Claim Name                               Address Information
SMALLRIDGE, DANNY R                      ADDRESS ON FILE
SMALLRIDGE, ROBERT                       ADDRESS ON FILE
SMALLS ELITE TRANSPORTATION INC          OR CT CASH LLC, DEPT 2189 PO BOX 122189 DALLAS TX 75312-2189
SMALLS TRANSPORTATION                    OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
SMALLS, ANTHONY                          ADDRESS ON FILE
SMALLS, MAURICE                          ADDRESS ON FILE
SMALLS, WILLIAM                          ADDRESS ON FILE
SMALLWOOD ENTERPRISES LLC                969 HOMBERG AVENUE ESSEX MD 21221
SMALLWOOD III, DANNY                     ADDRESS ON FILE
SMALLWOOD, ANTHONY                       ADDRESS ON FILE
SMALLWOOD, DANNY                         ADDRESS ON FILE
SMALLWOOD, DIARA                         ADDRESS ON FILE
SMANDX LOGISTICS LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SMART AGILE LOGISTICS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SMART BUS                                535 GRISWOLD ST SUITE 600 DETROIT MI 48226
SMART CHOICE TRUCKING INC                OR TREADSTONE US CAPITAL, LLC PO BOX 631627 CINCINNATI OH 45263-1627
SMART EXPRESS LLC                        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SMART EXPRESS LLC (MC893610)             2230 SE 176TH AVE PORTLAND OR 97233
SMART FREIGHT EXPRESS INC                OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SMART GLOBAL LOGISTICS INC               15366 STONY RUN TRAIL GRANGER IN 46530
SMART GLOBAL LOGISTICS INC (MC812718)    1415 BONHILL RD UNIT 18 MISSISSIGUA ON L5T 1R2 CANADA
SMART LOAD LLC                           OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SMART TRAFFIC COMPANY, LLC               1350 WOODSWETHER RD. KANSAS CITY MO 64105
SMART TRANS EXPRESS                      9 STUDEBAKER TRAIL BRAMPTON ON L7A 3A2 CANADA
SMART TRANS LOGISTICS INC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SMART TRANSPORT LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SMART TRANSPORT LLC (MC854856)           OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SMART TRANSPORTATION AND LOGISTICS INC   OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                         35246-2659
SMART TRANSPORTATION LLC                 5529 131ST ST NE MARYSVILLE WA 98271
SMART TRANSPORTATION USA LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SMART TRUCK EXPRESS LLC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SMART WAY TRANS INC                      6137 KNOLLWOOD RD, APT 206 WILLOWBROOK IL 60527
SMART, DOUGLAS                           ADDRESS ON FILE
SMART, JAMES                             ADDRESS ON FILE
SMARTBEAR SOFTWARE INC.                  DEPT 3247, P.O.BOX 123247 DALLAS TX 75312
SMARTEN TRANSPORT INC                    301 WEST GRAND AVE, MB 276 CHICAGO IL 60654
SMARTFREIGHT TRANSPORTATION LLC          OR ECAPITAL LLC, PO BOX 206773 DALLAS TX 75320-6773
SMARTIES CANDY COMPANY                   ATTN: WENDY PETULLO 1091 LOUSONS ROAD UNION NJ 07083
SMARTLINK SATELLITE LLC                  PO BOX 8176 JERSEY CITY NJ 07308
SMARTT, CHRISTIAN                        ADDRESS ON FILE
SMARTTRANS LLC                           ATTN: WAYNE DELEON 7516 MEADOW DRIVE TAMPA FL 33634
SMARTWAY CARRIER LLC                     OR SOUND FINANCE CORP PO BOX 679281 DALLAS TX 75267-9281
SMARTWAY GROUP OF COMPANIES INC          OR J D FACTORS CORP 315 MATHESON BLVD E MISSISSAUGA ON L4Z 1X8 CANADA
SMARTWAY TRANSPORT                       793 SOUTH TRACY BLVD STE 327 TRACY CA 95376
SMARTWAY TRUCKING LLC (MC965487)         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SMARTY                                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SMASH MY TRASH                           20 COMMERCE DR CRANFORD BUS. PARK, STE 135-220 CRANFORD NJ 07016
SMASH MY TRASH                           110 SOUTHVIEW DRIVE HOOVER AL 35244



Epiq Corporate Restructuring, LLC                                                                   Page 1756 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1765 of 2156

Claim Name                           Address Information
SMASH MY TRASH                       2056 FAIRVIEW AVENUE PRATTVILLE AL 36066
SMASH MY TRASH                       11708 N COLLEGE AVE, STE 100 CARMEL IN 46032-5707
SMASH MY TRASH                       SMT KC LLC, 8830 DELMAR STREET PRAIRIE VILLAGE KS 66207
SMASH MY TRASH                       1651 E 70TH ST UNIT 278 SHREVEPORT LA 71105
SMASH MY TRASH                       871 THORNTON PARKWAY 144 THORNTON CO 80229
SMASH MY TRASH                       PO BOX 18201 RENO NV 89511
SMASH MY TRASH                       SMASH MY TRASH FREMONT/EASTBAY 8407 CENTRAL AVENUE STE 2064 NEWARK CA 94560
SMASH MY TRASH BOISE LLC             PO BOX 368 EAGLE ID 83616
SMASH MY TRASH FOOTHILLS             11708 N COLLEGE AVE, STE 100 CARMEL IN 46032-5707
SMASH MY TRASH FOOTHILLS             540 E FOOTHILL BLVD STE 100B SAN DIMAS CA 91773
SMASH MY TRASH OMAHA                 11708 N COLLEGE AVE, STE 100 CARMEL IN 46032-5707
SMASH MY TRASH OMAHA                 1309 S. 204TH AVE. 301 ELKHORN NE 68022
SMASH MY TRASH OMAHA                 2325 S 218TH AVE OMAHA NE 68022
SMASH MY TRASH SAN DIEGO             11708 N COLLEGE AVE, STE 100 CARMEL IN 46032-5707
SMASH MY TRASH SAN DIEGO             8677 VILLA LA JOLLA DR BOX 255 LA JOLLA CA 92037
SMASH MY TRASH SPRINGDALE AR         PO BOX 8736 SPRINGDALE AR 72766
SMASHACHUSETTS LLC                   335 WASHINGTON ST 1029 WOBURN MA 01801
SMC EXPRESS LLC                      43 QUAIL LN ROCHESTER NY 14624
SMC LIGHTING SUPPLY                  3262 COMMERCIAL PKWY MEMPHIS TN 38116
SMC3                                 P.O. BOX 2040, 653 LEXINGTON CIRCLE PEACHTREE CITY GA 30269
SMC3                                 PO BOX 2040 PEACHTREE CITY GA 30269
SMC3                                 PO BOX 2040 PEACHTREE GA 30269
SME                                  10107 S TACOMA WAY STE A2 LAKEWOOD WA 98499
SME LOGISTICS LLC                    5801 W WELLS PARK RD WEST JORDAN UT 84081
SME SOLUTIONS LLC                    680 QUINN AVE SAN JOSE CA 95112
SME SOLUTIONS LLC                    10107 S TACOMA WAY A2 LAKEWOOD WA 98499
SMEAD MFG                            3309 W 600 N SMEAD BLVD CEDAR CITY UT 84720
SMEDEMA TRUCKING, INC.               PO BOX 73, PO BOX 73 FOX LAKE WI 53933
SMEDLEY, PHOENIX                     ADDRESS ON FILE
SMELTZER, ALLEN                      ADDRESS ON FILE
SMELTZER, JASON R                    ADDRESS ON FILE
SMELTZER, TAYLOR                     ADDRESS ON FILE
SMERCAK, STEVEN                      ADDRESS ON FILE
SMERECHINSKIY, SERGIY                ADDRESS ON FILE
SMETENIKOV, EDVIN                    ADDRESS ON FILE
SMG INC                              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SMG LOGISTICS LLC                    OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
SMG ROYAL TRANSPORTATION LLC         OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX
                                     76116
SMG TRUCKING LLC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SMH LOGISTICS LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SMH TRUCKING LLC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SMHA TRANSPORTATION LLC              OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SMI-CARR INCORPORATED                ATTN: JAMI PARVARESH 2573 PINE ST ABILENE TX 79601
SMICK, RAYMOND                       ADDRESS ON FILE
SMIDDY, JOHN                         ADDRESS ON FILE
SMIDERLE, DARYL                      ADDRESS ON FILE
SMIEJEK, DAVID                       ADDRESS ON FILE
SMIGIELSKI, ADAM                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1757 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1766 of 2156

Claim Name                             Address Information
SMIGIELSKI, MICHAEL                    ADDRESS ON FILE
SMILDEN, TIMOTHY                       ADDRESS ON FILE
SMILE LOGISTICAL SERVICES              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SMILE SEASON TRUCKING LLC              3689 MAPLE HURST DR SE GRAND RAPIDS MI 49512
SMILE TRUCKLINE LLC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
SMILEY, DANIEL                         ADDRESS ON FILE
SMILEY, JAMES                          ADDRESS ON FILE
SMILEY, JASON                          ADDRESS ON FILE
SMILEY, TAYLOR                         ADDRESS ON FILE
SMILEY, WILLIAM                        ADDRESS ON FILE
SMILIE, ROBERT                         ADDRESS ON FILE
SMILING, MARCUS                        ADDRESS ON FILE
SMILLIE, CAROLINE                      ADDRESS ON FILE
SMIRNOW, AARON                         ADDRESS ON FILE
SMISOR, DANIEL                         ADDRESS ON FILE
SMIT PATEL                             ADDRESS ON FILE
SMITH & GREEN ATTORNEYS AT LAW PLLC    3101 N CENTRAL AVE STE 690 PHOENIX AZ 85012
SMITH & SPOONER                        DBA CLIO SPARE RM, 10101 N SAGINAW ROAD CLIO MI 48420
SMITH & WESSON SALES                   ATTN: JIM BURNS 1800 N ROUTE Z COLUMBIA MO 65202
SMITH BROTHERS TRUCKING                P O BOX 848 BARDSTOWN KY 40004
SMITH CONSULTING, INC.                 PO BOX 159 MONTPELIER IN 47359
SMITH EXPRESS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SMITH EXPRESS INC (MINNEAPOLIS MN)     OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
SMITH FIRE SYSTEMS, INC.               1106 54TH AVE EAST TACOMA WA 98424
SMITH FIVE ENTERPRISE LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SMITH II, DARRYL                       ADDRESS ON FILE
SMITH JR, DAVID                        ADDRESS ON FILE
SMITH JR, MICHAEL                      ADDRESS ON FILE
SMITH JR, ROBERT                       ADDRESS ON FILE
SMITH JR, SAMMIE L                     ADDRESS ON FILE
SMITH JR., NORRIS                      ADDRESS ON FILE
SMITH LINE STRIPING AND SEAL COATING   11917 MOORISH RD BIRCH RUN MI 48415
SMITH LLL, EARL                        ADDRESS ON FILE
SMITH LOGGING SUPPLIES                 PO BOX 134 KENO OR 97627
SMITH MOTOR FREIGHT, INC.              1900 PROGRESS DRIVE FARMINGTON MO 63640
SMITH POWER PRODUCTS, INC.             3065 WEST CALIFORNIA AVE, PO BOX 27527 SALT LAKE CITY UT 84127
SMITH SYSTEM DRIVER IMPROVEMENT        INSTITUTE INC, PO BOX 64495 BALTIMORE MD 21264
SMITH TOWING AND TRUCK REPAIR          P.O. BOX 132 ALDERSON WV 24910
SMITH TRANSFER                         703 E SYCAMORE ST, 703 EAST SYCAMORE ST EVANSVILLE IN 47713
SMITH TRANSPORT INC.                   ATTN: ROBERT RYAN 153 SMITH TRANSPORT ROAD ROARING SPRING PA 16673-2247
SMITH TRANSPORT LOGISTICS LLC          OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
SMITH, AARON                           ADDRESS ON FILE
SMITH, ADAM                            ADDRESS ON FILE
SMITH, AJ                              ADDRESS ON FILE
SMITH, AJANI                           ADDRESS ON FILE
SMITH, ALAN                            ADDRESS ON FILE
SMITH, ALAN                            ADDRESS ON FILE
SMITH, ALBERT                          ADDRESS ON FILE
SMITH, ALEC                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1758 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1767 of 2156

Claim Name                        Address Information
SMITH, ALEX                       ADDRESS ON FILE
SMITH, ALONTE                     ADDRESS ON FILE
SMITH, AMBROSE                    ADDRESS ON FILE
SMITH, AMY                        ADDRESS ON FILE
SMITH, ANDRE J                    ADDRESS ON FILE
SMITH, ANDREW                     ADDRESS ON FILE
SMITH, ANDREW                     ADDRESS ON FILE
SMITH, ANDREW                     ADDRESS ON FILE
SMITH, ANGELO                     ADDRESS ON FILE
SMITH, ANNIE                      ADDRESS ON FILE
SMITH, ANTHONY                    ADDRESS ON FILE
SMITH, ANTHONY                    ADDRESS ON FILE
SMITH, ANTOINE                    ADDRESS ON FILE
SMITH, ANTONIO                    ADDRESS ON FILE
SMITH, ANTONIUS                   ADDRESS ON FILE
SMITH, APOLLOS                    ADDRESS ON FILE
SMITH, ARRON C                    ADDRESS ON FILE
SMITH, ARTHUR                     ADDRESS ON FILE
SMITH, ATLANTA                    ADDRESS ON FILE
SMITH, AUJANEA                    ADDRESS ON FILE
SMITH, BENJAMIN                   ADDRESS ON FILE
SMITH, BERNADETTE                 ADDRESS ON FILE
SMITH, BOBBY                      ADDRESS ON FILE
SMITH, BRAD                       ADDRESS ON FILE
SMITH, BRADLEY                    ADDRESS ON FILE
SMITH, BRANDEN                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRANDON                    ADDRESS ON FILE
SMITH, BRETT                      ADDRESS ON FILE
SMITH, BRETT                      ADDRESS ON FILE
SMITH, BRIAN                      ADDRESS ON FILE
SMITH, BRIAN                      ADDRESS ON FILE
SMITH, BRUCE                      ADDRESS ON FILE
SMITH, BRYANT                     ADDRESS ON FILE
SMITH, BUDD                       ADDRESS ON FILE
SMITH, CAESAR A                   ADDRESS ON FILE
SMITH, CAITLYN                    ADDRESS ON FILE
SMITH, CARLOS                     ADDRESS ON FILE
SMITH, CAROL                      ADDRESS ON FILE
SMITH, CAROYL                     ADDRESS ON FILE
SMITH, CASEY                      ADDRESS ON FILE
SMITH, CEDRIC                     ADDRESS ON FILE
SMITH, CHAD                       ADDRESS ON FILE
SMITH, CHAD W                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1759 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1768 of 2156

Claim Name                         Address Information
SMITH, CHARLES                     ADDRESS ON FILE
SMITH, CHARLES                     ADDRESS ON FILE
SMITH, CHARLES                     ADDRESS ON FILE
SMITH, CHARLES                     ADDRESS ON FILE
SMITH, CHARLES                     ADDRESS ON FILE
SMITH, CHARLES                     ADDRESS ON FILE
SMITH, CHASIDY                     ADDRESS ON FILE
SMITH, CHASITY                     ADDRESS ON FILE
SMITH, CHEQUAN                     ADDRESS ON FILE
SMITH, CHERYL                      ADDRESS ON FILE
SMITH, CHRISTINA                   ADDRESS ON FILE
SMITH, CHRISTOPHER                 ADDRESS ON FILE
SMITH, CHRISTOPHER                 ADDRESS ON FILE
SMITH, CHUCK                       ADDRESS ON FILE
SMITH, CLIFFORD                    ADDRESS ON FILE
SMITH, CLINTON                     ADDRESS ON FILE
SMITH, CODY                        ADDRESS ON FILE
SMITH, CONNOR                      ADDRESS ON FILE
SMITH, CONNOR                      ADDRESS ON FILE
SMITH, COREY                       ADDRESS ON FILE
SMITH, COREY                       ADDRESS ON FILE
SMITH, CORNELIUS                   ADDRESS ON FILE
SMITH, CORY                        ADDRESS ON FILE
SMITH, CORY                        ADDRESS ON FILE
SMITH, CRAIG                       ADDRESS ON FILE
SMITH, CRAIG                       ADDRESS ON FILE
SMITH, CRAYG                       ADDRESS ON FILE
SMITH, CURTIS                      ADDRESS ON FILE
SMITH, DALE                        ADDRESS ON FILE
SMITH, DALLAS                      ADDRESS ON FILE
SMITH, DAMARCO                     ADDRESS ON FILE
SMITH, DAMON                       ADDRESS ON FILE
SMITH, DAMON                       ADDRESS ON FILE
SMITH, DAMONTE                     ADDRESS ON FILE
SMITH, DAN                         ADDRESS ON FILE
SMITH, DANARD                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANIEL                      ADDRESS ON FILE
SMITH, DANNY                       ADDRESS ON FILE
SMITH, DANNY R                     ADDRESS ON FILE
SMITH, DANYIELLE P                 ADDRESS ON FILE
SMITH, DARLA                       ADDRESS ON FILE
SMITH, DARON                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1760 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1769 of 2156

Claim Name                        Address Information
SMITH, DARRELL                    ADDRESS ON FILE
SMITH, DARRELL A                  ADDRESS ON FILE
SMITH, DARRYL                     ADDRESS ON FILE
SMITH, DARRYL                     ADDRESS ON FILE
SMITH, DARYL                      ADDRESS ON FILE
SMITH, DAVID                      ADDRESS ON FILE
SMITH, DAVID                      ADDRESS ON FILE
SMITH, DAVID                      ADDRESS ON FILE
SMITH, DAVID                      ADDRESS ON FILE
SMITH, DAVID                      ADDRESS ON FILE
SMITH, DAVID                      ADDRESS ON FILE
SMITH, DAVINE                     ADDRESS ON FILE
SMITH, DEAN                       ADDRESS ON FILE
SMITH, DELMAR                     ADDRESS ON FILE
SMITH, DELVECCHIO                 ADDRESS ON FILE
SMITH, DEMESHIO                   ADDRESS ON FILE
SMITH, DEMETRIUS                  ADDRESS ON FILE
SMITH, DENNIS                     ADDRESS ON FILE
SMITH, DEREK                      ADDRESS ON FILE
SMITH, DEREK                      ADDRESS ON FILE
SMITH, DEREK                      ADDRESS ON FILE
SMITH, DEREK                      ADDRESS ON FILE
SMITH, DESHAUN                    ADDRESS ON FILE
SMITH, DESHONE                    ADDRESS ON FILE
SMITH, DESTINY                    ADDRESS ON FILE
SMITH, DEVIN                      ADDRESS ON FILE
SMITH, DEVON                      ADDRESS ON FILE
SMITH, DEVONN                     ADDRESS ON FILE
SMITH, DEWANDA                    ADDRESS ON FILE
SMITH, DEWAYNE                    ADDRESS ON FILE
SMITH, DIAMOND                    ADDRESS ON FILE
SMITH, DOMINEIK                   ADDRESS ON FILE
SMITH, DON                        ADDRESS ON FILE
SMITH, DON                        ADDRESS ON FILE
SMITH, DON                        ADDRESS ON FILE
SMITH, DONALD                     ADDRESS ON FILE
SMITH, DONALD J                   ADDRESS ON FILE
SMITH, DONNELL                    ADDRESS ON FILE
SMITH, DONNIE                     ADDRESS ON FILE
SMITH, DONTRAI                    ADDRESS ON FILE
SMITH, DORIAN                     ADDRESS ON FILE
SMITH, DOUGLAS                    ADDRESS ON FILE
SMITH, DOUGLAS                    ADDRESS ON FILE
SMITH, DURAN                      ADDRESS ON FILE
SMITH, DUSTIN                     ADDRESS ON FILE
SMITH, DUSTIN A                   ADDRESS ON FILE
SMITH, E .                        ADDRESS ON FILE
SMITH, EDWARD                     ADDRESS ON FILE
SMITH, EDWARD                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1761 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1770 of 2156

Claim Name                       Address Information
SMITH, EDWARD J                  ADDRESS ON FILE
SMITH, ELMER                     ADDRESS ON FILE
SMITH, ERIC D                    ADDRESS ON FILE
SMITH, ERRICK                    ADDRESS ON FILE
SMITH, ERRIS                     ADDRESS ON FILE
SMITH, EUGENE                    ADDRESS ON FILE
SMITH, EUGENE                    ADDRESS ON FILE
SMITH, EZRA                      ADDRESS ON FILE
SMITH, FLIESHA                   ADDRESS ON FILE
SMITH, FRANKIE                   ADDRESS ON FILE
SMITH, FRED                      ADDRESS ON FILE
SMITH, FREDERICK                 ADDRESS ON FILE
SMITH, GABRIEL                   ADDRESS ON FILE
SMITH, GARNET                    ADDRESS ON FILE
SMITH, GARRETT                   ADDRESS ON FILE
SMITH, GARRISON                  ADDRESS ON FILE
SMITH, GARRY                     ADDRESS ON FILE
SMITH, GARRY                     ADDRESS ON FILE
SMITH, GARY                      ADDRESS ON FILE
SMITH, GARY                      ADDRESS ON FILE
SMITH, GARY                      ADDRESS ON FILE
SMITH, GEOFFREY                  ADDRESS ON FILE
SMITH, GEORGE                    ADDRESS ON FILE
SMITH, GEORGE                    ADDRESS ON FILE
SMITH, GEORGE                    ADDRESS ON FILE
SMITH, GEORGE                    ADDRESS ON FILE
SMITH, GEORGE W                  ADDRESS ON FILE
SMITH, GERALD                    ADDRESS ON FILE
SMITH, GERALD                    ADDRESS ON FILE
SMITH, GERALD                    ADDRESS ON FILE
SMITH, GERARD                    ADDRESS ON FILE
SMITH, GERONE                    ADDRESS ON FILE
SMITH, GILBERT                   ADDRESS ON FILE
SMITH, GLEN                      ADDRESS ON FILE
SMITH, GORDON                    ADDRESS ON FILE
SMITH, GREGG                     ADDRESS ON FILE
SMITH, GREGORY                   ADDRESS ON FILE
SMITH, GREGORY                   ADDRESS ON FILE
SMITH, GREGORY                   ADDRESS ON FILE
SMITH, GREGORY                   ADDRESS ON FILE
SMITH, GREYSON                   ADDRESS ON FILE
SMITH, HANSEN                    ADDRESS ON FILE
SMITH, HAROLD                    ADDRESS ON FILE
SMITH, HARRY                     ADDRESS ON FILE
SMITH, HENRY                     ADDRESS ON FILE
SMITH, HERMAN                    ADDRESS ON FILE
SMITH, HOLLY                     ADDRESS ON FILE
SMITH, HUNTER                    ADDRESS ON FILE
SMITH, IESHA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1762 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1771 of 2156

Claim Name                        Address Information
SMITH, JABARI                     ADDRESS ON FILE
SMITH, JACOB                      ADDRESS ON FILE
SMITH, JACOB                      ADDRESS ON FILE
SMITH, JACOBI                     ADDRESS ON FILE
SMITH, JACQUELINE                 ADDRESS ON FILE
SMITH, JAIDA                      ADDRESS ON FILE
SMITH, JAKOB                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES                      ADDRESS ON FILE
SMITH, JAMES T                    ADDRESS ON FILE
SMITH, JAMIE                      ADDRESS ON FILE
SMITH, JARED                      ADDRESS ON FILE
SMITH, JARON                      ADDRESS ON FILE
SMITH, JASON                      ADDRESS ON FILE
SMITH, JASON                      ADDRESS ON FILE
SMITH, JASON                      ADDRESS ON FILE
SMITH, JASON                      ADDRESS ON FILE
SMITH, JASON                      ADDRESS ON FILE
SMITH, JAYCE                      ADDRESS ON FILE
SMITH, JAYE                       ADDRESS ON FILE
SMITH, JEFF                       ADDRESS ON FILE
SMITH, JEFFERY                    ADDRESS ON FILE
SMITH, JEFFERY                    ADDRESS ON FILE
SMITH, JEFFERY                    ADDRESS ON FILE
SMITH, JEFFREY                    ADDRESS ON FILE
SMITH, JEFFREY                    ADDRESS ON FILE
SMITH, JEFFREY                    ADDRESS ON FILE
SMITH, JEFFREY                    ADDRESS ON FILE
SMITH, JEFFREY                    ADDRESS ON FILE
SMITH, JEFFREY                    ADDRESS ON FILE
SMITH, JEFFREY C                  ADDRESS ON FILE
SMITH, JENNIFER                   ADDRESS ON FILE
SMITH, JENNIFER                   ADDRESS ON FILE
SMITH, JEREMIAH                   ADDRESS ON FILE
SMITH, JEREMY                     ADDRESS ON FILE
SMITH, JEREMY                     ADDRESS ON FILE
SMITH, JEREMY                     ADDRESS ON FILE
SMITH, JEREMY                     ADDRESS ON FILE
SMITH, JERMAINE                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1763 OF 2145
                                             Yellow Corporation
                    Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                 Service List
                                                                       Page 1772 of 2156

Claim Name                            Address Information
SMITH, JERMAINE                       ADDRESS ON FILE
SMITH, JERROD                         ADDRESS ON FILE
SMITH, JERRY                          ADDRESS ON FILE
SMITH, JESSICA                        ADDRESS ON FILE
SMITH, JESSIE                         ADDRESS ON FILE
SMITH, JOHN                           ADDRESS ON FILE
SMITH, JOHN                           ADDRESS ON FILE
SMITH, JOHN                           ADDRESS ON FILE
SMITH, JOHN                           ADDRESS ON FILE
SMITH, JOHN                           ADDRESS ON FILE
SMITH, JOHN                           ADDRESS ON FILE
SMITH, JOHNNIE                        ADDRESS ON FILE
SMITH, JOHNNY                         ADDRESS ON FILE
SMITH, JONATHAN                       ADDRESS ON FILE
SMITH, JONATHON                       ADDRESS ON FILE
SMITH, JONCEY                         ADDRESS ON FILE
SMITH, JOSEPH                         ADDRESS ON FILE
SMITH, JOSEPH                         ADDRESS ON FILE
SMITH, JOSEPH                         ADDRESS ON FILE
SMITH, JOSEPH                         ADDRESS ON FILE
SMITH, JOSHUA                         ADDRESS ON FILE
SMITH, JOSHUA                         ADDRESS ON FILE
SMITH, JOSHUA                         ADDRESS ON FILE
SMITH, JOSHUA                         ADDRESS ON FILE
SMITH, JOVON                          ADDRESS ON FILE
SMITH, JUSTIN                         ADDRESS ON FILE
SMITH, JUSTIN                         ADDRESS ON FILE
SMITH, JUSTIN M                       ADDRESS ON FILE
SMITH, JWANYZA                        ADDRESS ON FILE
SMITH, KAREEM                         ADDRESS ON FILE
SMITH, KATE                           ADDRESS ON FILE
SMITH, KAYLA                          ADDRESS ON FILE
SMITH, KEFFORY                        ADDRESS ON FILE
SMITH, KEITH                          ADDRESS ON FILE
SMITH, KEITH                          ADDRESS ON FILE
SMITH, KELLY                          ADDRESS ON FILE
SMITH, KELLY COURTNEY & JASON SMITH   ADDRESS ON FILE
SMITH, KEN                            ADDRESS ON FILE
SMITH, KENDELL                        ADDRESS ON FILE
SMITH, KENNETH                        ADDRESS ON FILE
SMITH, KENNETH                        ADDRESS ON FILE
SMITH, KENNETH                        ADDRESS ON FILE
SMITH, KENNETH                        ADDRESS ON FILE
SMITH, KENNETH                        ADDRESS ON FILE
SMITH, KENNY                          ADDRESS ON FILE
SMITH, KEVIN                          ADDRESS ON FILE
SMITH, KEVIN                          ADDRESS ON FILE
SMITH, KEVIN                          ADDRESS ON FILE
SMITH, KEVIN                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                     Page 1764 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1773 of 2156

Claim Name                        Address Information
SMITH, KEVIN                      ADDRESS ON FILE
SMITH, KEVIN A                    ADDRESS ON FILE
SMITH, KHALIL                     ADDRESS ON FILE
SMITH, KID                        ADDRESS ON FILE
SMITH, KRISTEN                    ADDRESS ON FILE
SMITH, KRISTOPHER                 ADDRESS ON FILE
SMITH, KURT                       ADDRESS ON FILE
SMITH, KWANSHA                    ADDRESS ON FILE
SMITH, LAMARR A                   ADDRESS ON FILE
SMITH, LAQUETA                    ADDRESS ON FILE
SMITH, LARRY                      ADDRESS ON FILE
SMITH, LARRY                      ADDRESS ON FILE
SMITH, LARRY                      ADDRESS ON FILE
SMITH, LAURA                      ADDRESS ON FILE
SMITH, LAURIEL                    ADDRESS ON FILE
SMITH, LAWRENCE                   ADDRESS ON FILE
SMITH, LEMARIE                    ADDRESS ON FILE
SMITH, LENNOX                     ADDRESS ON FILE
SMITH, LEON                       ADDRESS ON FILE
SMITH, LEONARD                    ADDRESS ON FILE
SMITH, LESTER                     ADDRESS ON FILE
SMITH, LINDY                      ADDRESS ON FILE
SMITH, LONNIE                     ADDRESS ON FILE
SMITH, MAGGIE                     ADDRESS ON FILE
SMITH, MAKAIYO                    ADDRESS ON FILE
SMITH, MARC                       ADDRESS ON FILE
SMITH, MARCEL                     ADDRESS ON FILE
SMITH, MARCUS                     ADDRESS ON FILE
SMITH, MARK                       ADDRESS ON FILE
SMITH, MARK                       ADDRESS ON FILE
SMITH, MARK                       ADDRESS ON FILE
SMITH, MARK                       ADDRESS ON FILE
SMITH, MARK J                     ADDRESS ON FILE
SMITH, MARK L                     ADDRESS ON FILE
SMITH, MARK M                     ADDRESS ON FILE
SMITH, MARTIN                     ADDRESS ON FILE
SMITH, MAURICE                    ADDRESS ON FILE
SMITH, MAURICE                    ADDRESS ON FILE
SMITH, MAX                        ADDRESS ON FILE
SMITH, MELISSA                    ADDRESS ON FILE
SMITH, MELVIN                     ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE
SMITH, MICHAEL                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1765 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1774 of 2156

Claim Name                       Address Information
SMITH, MICHAEL                   ADDRESS ON FILE
SMITH, MICHAEL                   ADDRESS ON FILE
SMITH, MICHAEL                   ADDRESS ON FILE
SMITH, MICHAEL                   ADDRESS ON FILE
SMITH, MICHAEL                   ADDRESS ON FILE
SMITH, MICHAEL                   ADDRESS ON FILE
SMITH, MICHAEL P                 ADDRESS ON FILE
SMITH, MIKELOS                   ADDRESS ON FILE
SMITH, MOSE                      ADDRESS ON FILE
SMITH, MYRANDA                   ADDRESS ON FILE
SMITH, NEIL                      ADDRESS ON FILE
SMITH, NORMA                     ADDRESS ON FILE
SMITH, NORRIS                    ADDRESS ON FILE
SMITH, ODELL                     ADDRESS ON FILE
SMITH, ORRIN                     ADDRESS ON FILE
SMITH, OTIS                      ADDRESS ON FILE
SMITH, PATRICK C                 ADDRESS ON FILE
SMITH, PATRICK R                 ADDRESS ON FILE
SMITH, PAUL                      ADDRESS ON FILE
SMITH, PAUL                      ADDRESS ON FILE
SMITH, PAUL                      ADDRESS ON FILE
SMITH, PHILIP                    ADDRESS ON FILE
SMITH, PHILLIP                   ADDRESS ON FILE
SMITH, PHILLIP                   ADDRESS ON FILE
SMITH, PIERRE                    ADDRESS ON FILE
SMITH, PRENTISS                  ADDRESS ON FILE
SMITH, PURCELL                   ADDRESS ON FILE
SMITH, QUENTIN                   ADDRESS ON FILE
SMITH, RANDY                     ADDRESS ON FILE
SMITH, RANDY                     ADDRESS ON FILE
SMITH, RASHEA                    ADDRESS ON FILE
SMITH, RAY A                     ADDRESS ON FILE
SMITH, RAY A                     ADDRESS ON FILE
SMITH, RAYMOND                   ADDRESS ON FILE
SMITH, RAYMOND L                 ADDRESS ON FILE
SMITH, REGINAL                   ADDRESS ON FILE
SMITH, REGINALD                  ADDRESS ON FILE
SMITH, REGINALD                  ADDRESS ON FILE
SMITH, RENE                      ADDRESS ON FILE
SMITH, RICARDO                   ADDRESS ON FILE
SMITH, RICHARD                   ADDRESS ON FILE
SMITH, RICHARD                   ADDRESS ON FILE
SMITH, RICHARD                   ADDRESS ON FILE
SMITH, RICHARD                   ADDRESS ON FILE
SMITH, RICK                      ADDRESS ON FILE
SMITH, RICKIE                    ADDRESS ON FILE
SMITH, RICKY                     ADDRESS ON FILE
SMITH, ROBBIE                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1766 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1775 of 2156

Claim Name                       Address Information
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT                    ADDRESS ON FILE
SMITH, ROBERT E.                 ADDRESS ON FILE
SMITH, RODNEY                    ADDRESS ON FILE
SMITH, RODNEY                    ADDRESS ON FILE
SMITH, ROGER                     ADDRESS ON FILE
SMITH, ROGER                     ADDRESS ON FILE
SMITH, ROGER                     ADDRESS ON FILE
SMITH, ROGER                     ADDRESS ON FILE
SMITH, ROGER                     ADDRESS ON FILE
SMITH, RONALD                    ADDRESS ON FILE
SMITH, RONALD                    ADDRESS ON FILE
SMITH, RONALD                    ADDRESS ON FILE
SMITH, RONALD                    ADDRESS ON FILE
SMITH, RONNY                     ADDRESS ON FILE
SMITH, ROOSEVELT                 ADDRESS ON FILE
SMITH, ROY                       ADDRESS ON FILE
SMITH, RUSSELL                   ADDRESS ON FILE
SMITH, RUSSELL D                 ADDRESS ON FILE
SMITH, RYAN                      ADDRESS ON FILE
SMITH, RYAN                      ADDRESS ON FILE
SMITH, SAM                       ADDRESS ON FILE
SMITH, SAM                       ADDRESS ON FILE
SMITH, SAMMIE                    ADDRESS ON FILE
SMITH, SAMUEL                    ADDRESS ON FILE
SMITH, SAMUEL                    ADDRESS ON FILE
SMITH, SANDRA                    ADDRESS ON FILE
SMITH, SANS                      ADDRESS ON FILE
SMITH, SCOTT                     ADDRESS ON FILE
SMITH, SCOTT                     ADDRESS ON FILE
SMITH, SEAN                      ADDRESS ON FILE
SMITH, SHABAREKH                 ADDRESS ON FILE
SMITH, SHAMOCKA                  ADDRESS ON FILE
SMITH, SHANE                     ADDRESS ON FILE
SMITH, SHANE                     ADDRESS ON FILE
SMITH, SHANNON                   ADDRESS ON FILE
SMITH, SHARON                    ADDRESS ON FILE
SMITH, SHAWN                     ADDRESS ON FILE
SMITH, SHELTON                   ADDRESS ON FILE
SMITH, SHERRYTA                  ADDRESS ON FILE
SMITH, SIERRAH                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1767 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1776 of 2156

Claim Name                       Address Information
SMITH, SOLOMON                   ADDRESS ON FILE
SMITH, SPENCER                   ADDRESS ON FILE
SMITH, STANLEY                   ADDRESS ON FILE
SMITH, STEPHANIE                 ADDRESS ON FILE
SMITH, STEPHANIE                 ADDRESS ON FILE
SMITH, STEPHEN                   ADDRESS ON FILE
SMITH, STEPHEN                   ADDRESS ON FILE
SMITH, STEPHEN                   ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, STEVEN                    ADDRESS ON FILE
SMITH, SYDNEY                    ADDRESS ON FILE
SMITH, TADARRYL                  ADDRESS ON FILE
SMITH, TAMMY                     ADDRESS ON FILE
SMITH, TANNER                    ADDRESS ON FILE
SMITH, TARA                      ADDRESS ON FILE
SMITH, TERESA                    ADDRESS ON FILE
SMITH, TERESA                    ADDRESS ON FILE
SMITH, TERRANCE                  ADDRESS ON FILE
SMITH, TERRY                     ADDRESS ON FILE
SMITH, TERRY                     ADDRESS ON FILE
SMITH, TERRY                     ADDRESS ON FILE
SMITH, THOMAS                    ADDRESS ON FILE
SMITH, THOMAS                    ADDRESS ON FILE
SMITH, THOMAS                    ADDRESS ON FILE
SMITH, TIMOTHY                   ADDRESS ON FILE
SMITH, TIMOTHY                   ADDRESS ON FILE
SMITH, TIMOTHY                   ADDRESS ON FILE
SMITH, TIMOTHY                   ADDRESS ON FILE
SMITH, TIMOTHY W                 ADDRESS ON FILE
SMITH, TINA                      ADDRESS ON FILE
SMITH, TIONNA                    ADDRESS ON FILE
SMITH, TOBIAS                    ADDRESS ON FILE
SMITH, TODD                      ADDRESS ON FILE
SMITH, TODD                      ADDRESS ON FILE
SMITH, TOGO                      ADDRESS ON FILE
SMITH, TRACIE                    ADDRESS ON FILE
SMITH, TRACY                     ADDRESS ON FILE
SMITH, TRACY                     ADDRESS ON FILE
SMITH, TY                        ADDRESS ON FILE
SMITH, TYESHA                    ADDRESS ON FILE
SMITH, TYLER                     ADDRESS ON FILE
SMITH, TYRONE                    ADDRESS ON FILE
SMITH, TYRONE                    ADDRESS ON FILE
SMITH, VERDIS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1768 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1777 of 2156

Claim Name                             Address Information
SMITH, VINCENT                         ADDRESS ON FILE
SMITH, WAINRIGHT                       ADDRESS ON FILE
SMITH, WAYNE                           ADDRESS ON FILE
SMITH, WENDELL                         ADDRESS ON FILE
SMITH, WESLEY                          ADDRESS ON FILE
SMITH, WILLARD                         ADDRESS ON FILE
SMITH, WILLIAM                         ADDRESS ON FILE
SMITH, WILLIAM                         ADDRESS ON FILE
SMITH, WILLIAM                         ADDRESS ON FILE
SMITH, WILLIAM                         ADDRESS ON FILE
SMITH, WILLIAM                         ADDRESS ON FILE
SMITH, WILLIE                          ADDRESS ON FILE
SMITH, XAVIER                          ADDRESS ON FILE
SMITH, YOLANDA                         ADDRESS ON FILE
SMITH, YOLONDA                         ADDRESS ON FILE
SMITH, ZACHARY                         ADDRESS ON FILE
SMITH, ZACHARY                         ADDRESS ON FILE
SMITH, ZACHARY                         ADDRESS ON FILE
SMITH, ZACHERY                         ADDRESS ON FILE
SMITH, ZYEAIR                          ADDRESS ON FILE
SMITH-CARGO TRANSPORTATION LLC         DEPT AT 952490 ATLANTA GA 31192-2490
SMITH-ROBERTSON, MICHELE               ADDRESS ON FILE
SMITHCO INC                            2501 13TH AVE S STE 208 FARGO ND 58103
SMITHEREEN PEST MANAGEMENT             7400 N MELVINA AVE NILES IL 60714
SMITHEREEN PEST MANAGEMENT             17 PARKER ST DANVILLE IL 61832
SMITHERMAN, ARTHUR                     ADDRESS ON FILE
SMITHERS, DARRELL                      ADDRESS ON FILE
SMITHERS, LAKEN                        ADDRESS ON FILE
SMITHERS, QUINTON                      ADDRESS ON FILE
SMITHHART, DAVID                       ADDRESS ON FILE
SMITHONIC, DAVID                       ADDRESS ON FILE
SMITHS AUTO AND TRUCK SERVICE          861 IMOGENE CH RD LOWGAP NC 27024
SMITHSON, ALVIN                        ADDRESS ON FILE
SMITHSON, ALVIN J                      ADDRESS ON FILE
SMITHSON, ALVIN L                      ADDRESS ON FILE
SMITHSON, STEVEN                       ADDRESS ON FILE
SMITTYS TRUCKING LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73120
SMO LOGISTICS LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SMOKEHOUSE DOG TREATS                  11850 SHELDON ST SUN VALLEY CA 91352
SMOKEYS PUMP SERVICE & WELL DRILLING   3747 NE 45TH PL OCALA FL 34479
INC
SMOKIN JOES DIESEL REPAIR              5410 OLD MONTANA RD BILLINGS MT 59101
SMOOT, DEVIN                           ADDRESS ON FILE
SMOOTE, KIARA                          ADDRESS ON FILE
SMOOTH & STEADY TRUCKING LLC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SMOOTH ROADS LLC                       OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SMOOTHNESS TRUCKING INC                OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SMOOTHWAY EXPRESS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SMOOTS, HENRY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1769 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1778 of 2156

Claim Name                           Address Information
SMOTHERMAN, RICKY                    ADDRESS ON FILE
SMOYER, MICHELLE                     ADDRESS ON FILE
SMP TRUCKING INC                     8518 S 79TH CT JUSTICE IL 60458
SMR TRUCKING INC                     PO BOX 3321 BETHLEHEM PA 18017
SMR TRUCKING INC                     OR HGS FUNDING, PO BOX 1359 RANCHO CUCAMONGA CA 91729-1359
SMRK SERVICES INC                    300 DELANCY ST NEWARK NJ 07105
SMS BRAWA LLC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SMS CARRIER INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SMS DISTRIBUTORS SMITH TRANS         ATTN: MONIQUE BAILEY 5040 JOANNE KEARNEY BLVD TAMPA FL 33619
SMS EXPRESS INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SMS EXPRESS LLC                      OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SMS TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SMT LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SMT TRANS LLC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SMUD                                 6201 S ST SACREMENTO CA 95817-1899
SMURF TRUCKING LLC                   OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SMURTHWAITE, HEATHER                 ADDRESS ON FILE
SMUSHKO, VLADIMIR                    ADDRESS ON FILE
SMV TRANSPORT, INC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SMYERS JR., CHARLES                  ADDRESS ON FILE
SMYROCK, JOANN                       ADDRESS ON FILE
SMYSER, STEPHEN                      ADDRESS ON FILE
SMYTH AUTOMOTIVE, INC                4275 MT CARMEL TOBASCO RD CINCINNATI OH 45244
SMYTH PROLIFIC TRANSPORTATION LLC    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SMYTH, RAYMOND                       ADDRESS ON FILE
SMYYTH, LLC                          51 CRAGWOOD ROAD, SUITE 200 SOUTH PLAINFIELD NJ 07080
SN FINCHAM CONSTRUCTION INC          3209 LAFAYETTE RD HOPKINSVILLE KY 42240
SNA TRANSPORTATION, INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SNACK SOLUTIONS INC                  OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
SNAP ON                              1464 NOCHE LANE FENTON MO 63026
SNAP ON CREDIT                       950 TECHNOLOGY WY, STE 301 LIBERTYVILLE 60048
SNAP ON INC                          ATTN: ERIK SCHULTZ TRANSPORTATION 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP ON INCORPORATED                 ATTN: ERIK SCHULTZ TRANSPORTATION DEPARTMENT 3011 IL ROUTE 176 CRYSTAL LAKE IL
                                     60014
SNAP ON TOOLS - CHICAGO              A DIVISION OF IDSC HOLDINGS, LLC 27001 NETWORK PL CHICAGO IL 60673
SNAP ON TOOLS - LA HABRA             C/O COREY BOUMA 2121 W LIMPERIAL STE 146 LA HABRA CA 90631
SNAP ON TOOLS - MEDFORD              C/O DAVID ROBINSON, 2819 HANOVER CIRCLE MEDFORD OR 97504
SNAP ON TOOLS - PORTLAND             C/O ANDREW CARLSON, 10025 NE SIMPSON ST PORTLAND OR 97220
SNAP ON TOOLS - PORTLAND             C/O ANDREW CARLSON, 15711 NE 4TH ST VANCOUVER WA 98684
SNAP ON TOOLS - WEST JORDAN          4593W 8230S WEST JORDAN UT 84088
SNAP ON TOOLS INC                    ATTH JOSHUA LEATH, 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP ON TOOLS INC                    ATTN ERIK SCHULTZ, 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP ON TOOLS INC                    ATTN JOSHUA LEATH, 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP ON TOOLS INC                    ATTN: TRANSPORTATION DEPT 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP ON TOOLS INC                    TRANSPORTATION DEPT, 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP SHOT                            543 WEST METCALFE HUTTO TX 78634
SNAP-ON                              C/O MICHAEL STONER, 4745 SEARS RUN DRIVE MECHANICSBURG PA 17050
SNAP-ON                              3260 WEST 2700 SOUTH SYRACUSE UT 84075
SNAP-ON                              C\O DAVID ROBINSON, 2819 HANOVER CIR MEDFORD OR 97504



Epiq Corporate Restructuring, LLC                                                               Page 1770 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1779 of 2156

Claim Name                           Address Information
SNAP-ON INCORPORATED                 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP-ON INCORPORATED                 ERIK SHULTZ, 3011 ILL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP-ON INCORPORATED                 JOHSUA LEATH, 3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP-ON TOOLS                        C/O CLIFTON DARNELL, 3608 MADISON ST DEARBORN MI 48124
SNAP-ON TOOLS, INC                   3011 IL ROUTE 176 CRYSTAL LAKE IL 60014
SNAP-ON TOOLS, INC                   ATTN: ERIK SCHULTZ TRANSPORTATION DEPARTMENT 3011 IL ROUTE 176 CRYSTAL LAKE IL
                                     60014
SNARSKI, CHANA                       ADDRESS ON FILE
SNAVELY, DAVID                       ADDRESS ON FILE
SNAVELY, RONALD                      ADDRESS ON FILE
SNAWDER, MADELYNN                    ADDRESS ON FILE
SNB LOGISTICS LLC                    130 OAK ST MANCHESTER CT 06040
SNEAD, BRANDON                       ADDRESS ON FILE
SNEAD, TRISTAN                       ADDRESS ON FILE
SNEADS TRANSPORT LLC                 OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
SNEATHEN, WILLIAM                    ADDRESS ON FILE
SNEED, HODGES                        ADDRESS ON FILE
SNEED, HODGES                        ADDRESS ON FILE
SNEED, HOPE                          ADDRESS ON FILE
SNEED, PHIL                          ADDRESS ON FILE
SNEED, SEAN                          ADDRESS ON FILE
SNELL & WILMER L.L.P.                ONE ARIZONA CENTER PHOENIX AZ 85004
SNELL, DAVID                         ADDRESS ON FILE
SNELL, LESLEY                        ADDRESS ON FILE
SNELL, ROY                           ADDRESS ON FILE
SNELL, SAMUEL                        ADDRESS ON FILE
SNELLEN, CHAD                        ADDRESS ON FILE
SNELLEN, CHASE                       ADDRESS ON FILE
SNG EXPRESS                          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SNICKLES, MICHAEL                    ADDRESS ON FILE
SNIDER FLEET SOLUTIONS LLC           PO BOX 751135 CHARLOTTE NC 28275
SNIDER FLEET SOLUTIONS LLC           1545 SAINT JAMES CHURCH RD NEWTON NC 28658
SNIDER FLEET SOLUTIONS LLC           PO BOX 749650 ATLANTA GA 30374
SNIDER FLEET SOLUTIONS.              1260 JAN WAY KINGSPORT TN 37660
SNIDER FLEET SOLUTIONS.              6025 LEES MILL RD FOREST PARK GA 30297
SNIDER FLEET SOLUTIONS.              2423 MIKE PADGETT HWY AUGUSTA GA 30906
SNIDER, ALISHA                       ADDRESS ON FILE
SNIDER, BUDD                         ADDRESS ON FILE
SNIDER, JAY                          ADDRESS ON FILE
SNIDER, JAY                          ADDRESS ON FILE
SNIDER, JOSHUA                       ADDRESS ON FILE
SNIDER, MARCO                        ADDRESS ON FILE
SNIDER, MICHAEL                      ADDRESS ON FILE
SNIDER, NANCY                        ADDRESS ON FILE
SNIDER, SHANE                        ADDRESS ON FILE
SNIDER, TOM                          ADDRESS ON FILE
SNIDER, TRACY                        ADDRESS ON FILE
SNIDER, TROY                         ADDRESS ON FILE
SNIPES, JOHN D                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1771 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1780 of 2156

Claim Name                               Address Information
SNJ SHIPPING LLC                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SNL LOGISTICS L.L.C.                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SNL TRUCKING INC                         438 SCOTTS ARMY TRAIL BELVIDERE IL 61008
SNM LOGISTICS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SNODDY, JAMES                            ADDRESS ON FILE
SNODDY, MARKEL                           ADDRESS ON FILE
SNODGRASS, GREGORY                       ADDRESS ON FILE
SNODGRASS, JAMES                         ADDRESS ON FILE
SNODGRASS, MELISSA                       ADDRESS ON FILE
SNOHOMISH COUNTY AIRPORT                 3220 100TH ST SW EVERETT WA 98004
SNOHOMISH COUNTY DISTRICT COURT          CASCADE DIVISION, 415 E BURKE ARLINGTON WA 98223
SNOHOMISH COUNTY PLANNING & DEVELOPMENT M/S 604, 3000 ROCKEFELLER AVE. EVERETT WA 98201
SNOHOMISH COUNTY TREASURER               PO BOX 34171 SEATTLE WA 98124
SNOHOMISH COUNTY/CITY AIRPORT            ATTN: BILL LEWALLEN 10108 32ND AVENUE W SUITE J EVERETT WA 98204
SNOHOMISH TRUCKING                       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SNOODY, MIZAIAH                          ADDRESS ON FILE
SNOODY, MIZAIAH                          ADDRESS ON FILE
SNOOK, ROSS                              ADDRESS ON FILE
SNORIN BORE TRANSPORT LLC                OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
SNOUFFER FIRE & SAFETY                   172 N. SECOND AVENUE MIDDLEPORT OH 45760
SNOW & ICE MANAGEMENT CO. OF PA., INC.   PO BOX 534090 PITTSBURGH PA 15253
SNOW BUSTERS LLC                         2803 AVENUE D COUNCIL BLUFFS IA 51501
SNOW PROS CORP                           58 CHAPALINA GREEN SE CALGARY AB T2X 3Y3 CANADA
SNOW PROS CORP                           STE 121 315-5155 130 AVE SE CALGARY AB T2Z 0N3 CANADA
SNOW TRANSPORTATION INC                  OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
SNOW, ASHLEY                             ADDRESS ON FILE
SNOW, BRYON                              ADDRESS ON FILE
SNOW, CHARLES E                          ADDRESS ON FILE
SNOW, CHASE                              ADDRESS ON FILE
SNOW, CHRISTENSEN AND MARTINEAU          10 EXCHANGE PLACE SALT LAKE CITY UT 84111
SNOW, CHUCK                              ADDRESS ON FILE
SNOW, DENNIS                             ADDRESS ON FILE
SNOW, DERIC                              ADDRESS ON FILE
SNOW, FRANK                              ADDRESS ON FILE
SNOW, KAREN                              ADDRESS ON FILE
SNOW, KATHERINE                          ADDRESS ON FILE
SNOW, KRISTI                             ADDRESS ON FILE
SNOW, MATTHEW                            ADDRESS ON FILE
SNOW, NAPOLEON                           ADDRESS ON FILE
SNOW, ROBERT T                           ADDRESS ON FILE
SNOW, SCOTT                              ADDRESS ON FILE
SNOW, TRISTAN                            ADDRESS ON FILE
SNOW, VERNEISHA A                        ADDRESS ON FILE
SNOW, VERNEISHA A                        ADDRESS ON FILE
SNOW, WILLIAM                            ADDRESS ON FILE
SNOW, WILLIAM                            ADDRESS ON FILE
SNOWDEN, HERBERT                         ADDRESS ON FILE
SNOWDEN, JEFFREY                         ADDRESS ON FILE
SNOWDEN, MARQUIAH M                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1772 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1781 of 2156

Claim Name                               Address Information
SNOWDEN, MARQUIAH M                      ADDRESS ON FILE
SNOWSPORTS INDUSTRIES OF AMERICA         1918 PROSPECTOR AVE PARK CITY UT 84060
SNP EXPRESS INC.                         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SNS ENTERPRIZE LLC                       OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SNS FREIGHT LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SNS FREIGHT SOLUTIONS LLC                OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SNYDER BROS LLC                          OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SNYDER, AMANDA MARIE                     ADDRESS ON FILE
SNYDER, BLAIR                            ADDRESS ON FILE
SNYDER, CHARLES                          ADDRESS ON FILE
SNYDER, CHRISTOPHER                      ADDRESS ON FILE
SNYDER, CORINNE                          ADDRESS ON FILE
SNYDER, DAVID                            ADDRESS ON FILE
SNYDER, GARY                             ADDRESS ON FILE
SNYDER, JAMES                            ADDRESS ON FILE
SNYDER, JAMES                            ADDRESS ON FILE
SNYDER, JAMES                            ADDRESS ON FILE
SNYDER, JEFFREY                          ADDRESS ON FILE
SNYDER, JOHN                             ADDRESS ON FILE
SNYDER, JOHNATHAN                        ADDRESS ON FILE
SNYDER, JORDAN                           ADDRESS ON FILE
SNYDER, JUSTIN                           ADDRESS ON FILE
SNYDER, JUSTIN D                         ADDRESS ON FILE
SNYDER, KATHLEEN                         ADDRESS ON FILE
SNYDER, KEITH E                          ADDRESS ON FILE
SNYDER, MARSHALL                         ADDRESS ON FILE
SNYDER, MICHAEL                          ADDRESS ON FILE
SNYDER, MICHAEL T                        ADDRESS ON FILE
SNYDER, NEAL                             ADDRESS ON FILE
SNYDER, PAUL                             ADDRESS ON FILE
SNYDER, PHILLIP                          ADDRESS ON FILE
SNYDER, RICHARD                          ADDRESS ON FILE
SNYDER, ROY                              ADDRESS ON FILE
SNYDER, RYAN N                           ADDRESS ON FILE
SNYDER, STEVEN                           ADDRESS ON FILE
SNYDER, THOMAS                           ADDRESS ON FILE
SNYDERS PAINT STORE, INC                 332 S 10TH ST LEMOYNE PA 17043
SNYPE, AARON                             ADDRESS ON FILE
SO CAL EXPRESS INC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SO SAN FRANCISCO SCAVENGER CO            PO BOX 348 SOUTH SAN FRANCISCO CA 94083
SO SHORE TRUCKING INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SOARES, TYLER                            ADDRESS ON FILE
SOARING EAGLES TRANSPORT LLC             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOARING SPIRIT TRUCKING & DISPATCH INC   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOBCZAK, DANNY                           ADDRESS ON FILE
SOBIK TRANSPORTATION INC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SOBO EXPRESS, LLC                        OR TRANSWEST CAPITAL PO BOX 123381 DEPT3381 DALLAS TX 75312-3381
SOBOL, MARK                              ADDRESS ON FILE
SOBOLEV BODY SHOP                        ATTN: JOE DENN 7153 LONE OAK RD SPARTANBURG SC 29303



Epiq Corporate Restructuring, LLC                                                                   Page 1773 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1782 of 2156

Claim Name                              Address Information
SOBOLEWSKI, DANIEL                     ADDRESS ON FILE
SOBOLEWSKI, KAROL                      ADDRESS ON FILE
SOBOLEWSKI, MICHAEL                    ADDRESS ON FILE
SOBOTTA, RYAN                          ADDRESS ON FILE
SOBOTTKE, DAVID C                      ADDRESS ON FILE
SOBRAL EXPRESS LLC                     OR FINANCIAL CARRIER SVCS, PO BOX 151052 OGDEN UT 84415
SOBRE LA ROCA TRANSPORT                OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SOBY LOGISTICS LLC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOCAL EDISON COMMUNICATIONS            2244 WALNUT GROVE AVE ROSEMEAD CA 91770
SOCAL TOW & IMPOUND                    14107 SOUTH WESTERN AVENUE GARDENA CA 90249
SOCALGAS                               555 W 5TH ST, STE 14H1 LOS ANGELES CA 90013-1010
SOCCI, LOUIE                           ADDRESS ON FILE
SOCCI, THEODORE M                      ADDRESS ON FILE
SOCHI EXPRESS                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOCIAL SECURITY ADMINISTRATION         1229 S. E. 3RD STREET PENDLETON OR 97801
SOCIE JR., ROBERT                      ADDRESS ON FILE
SOCIE SR., ROBERT                      ADDRESS ON FILE
SOCIETE DE L ASSURANCE AUTOMOBILE DE QC CP 19100 SUCC TERMINUS QUEBEC QC G1K 8J1 CANADA
SOCIETE DE L ASSURANCE AUTOMOBILE DE QC 333 BOUL. JEAN-LESAGE, C-3-44, CP-19600 QUEBEC QC G1K 8J6 CANADA
SOCIETE DE L ASSURANCE AUTOMOBILE DE QC CP 19600 SUCC TERMINUS QUEBEC QC G1K 8J6 CANADA
SOCIETE DE L ASSURANCE AUTOMOBILE DE QC 2350 BOULEVARD HYMUS DORVAL QC H9P 1J8 CANADA
SOCKWELL, CURLEY                       ADDRESS ON FILE
SODA CITY CARGO LLC                    OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
SODERSTROM, ERIC                       ADDRESS ON FILE
SODEY TRUCKING LTD.                    203-9366 49TH ST NW EDMONTON AB T6B 2L7 CANADA
SODHI TRANSPORT INC                    1006 BACHELOR ST BAKERSFIELD CA 93307
SODI TRANSPORT INC                     462 DOUGHERTY LANE GREENWOOD IN 46143
SOE, BWAY                              ADDRESS ON FILE
SOE, LAW                               ADDRESS ON FILE
SOEHLKE, DAVID                         ADDRESS ON FILE
SOETH CORP                             ATTN: SUE SOETH, 205 PEARSON RD PARADISE CA 95969
SOFI EXPRESS LLC                       OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SOFI LOGISTICS INC                     4344 FOX RIDGE CT SAINT PAUL MN 55122
SOFIA LOGISTICS LLC                    OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SOFIA, PETER                           ADDRESS ON FILE
SOFIELD, WILLIAM                       ADDRESS ON FILE
SOFIIA TRANSPORT INC                   OR GAP FACTORING INC, PO BOX 150105 OGDEN UT 84415-0105
SOFOLONIA, VEA                         ADDRESS ON FILE
SOFOLONIA, VEA                         ADDRESS ON FILE
SOFTLEIGH JR, KYREEM                   ADDRESS ON FILE
SOFTLEIGH, DEVON                       ADDRESS ON FILE
SOFTWARE AG USA, INC                   PO BOX 910600 DALLAS TX 75391
SOGA CARRIERS                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SOHAL CARGO INC                        OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SOHAL INC.                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOHI TRANSPORT LLC                     7046 MEADOWBROOK DR APT 204 CANTON MI 48187-3554
SOHI TRANSPORT LLC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOHI TRUCKING LLC                      OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                       IL 60674-0411



Epiq Corporate Restructuring, LLC                                                                 Page 1774 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1783 of 2156

Claim Name                              Address Information
SOHI TRUCKLINE INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SOHI, HARMANDEEP                        ADDRESS ON FILE
SOHI, SIMRAN                            ADDRESS ON FILE
SOHLSTROM, TODD                         ADDRESS ON FILE
SOHRABI, ALI                            ADDRESS ON FILE
SOJKA, JEFF                             ADDRESS ON FILE
SOJOURNER TRUCKING INC.                 26113 HWY 27 SOUTH CRYSTAL SPRINGS MS 39059
SOK, ALEXANDER                          ADDRESS ON FILE
SOK, SOPHAL                             ADDRESS ON FILE
SOKALOSKI, JOHN                         ADDRESS ON FILE
SOKO TRANSPORT LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SOKOLEWICZ, DANIEL                      ADDRESS ON FILE
SOKOLIS, ERIN                           ADDRESS ON FILE
SOKOLOWSKI, PIOTR                       ADDRESS ON FILE
SOKORAI, DAVID                          ADDRESS ON FILE
SOL DENTAL CARE                         DR JASON SOL, 95-47 ROOSEVELT AVE STE 2 JACKSON HEIGHTS NY 11372
SOL LOGISTICS INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SOL MILLENIUM MEDICAL PRODUCTS          ATTN: PHILIP NILES 311 S WACKER DR STE 4100 CHICAGO IL 60606
SOLA LTD                                ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
SOLAE TRANSPORT LLC                     11609 COUNTY RD 14 2 WAUSEON OH 43567
SOLAMAN, ZAKIR A                        ADDRESS ON FILE
SOLAND EXPRESS INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SOLANO DE LA ROSA, EDWIN                ADDRESS ON FILE
SOLANO LOGISTICS INC                    OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
SOLANO, ANTONIO                         ADDRESS ON FILE
SOLARA LOGISTICS & TRANSPORTATION LLC   OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SOLARIO III, BENNY                      ADDRESS ON FILE
SOLARONICS INCORPORATED                 ATTN: GREG DERY 3720 LAPEER RD AUBURN HILLS MI 48326
SOLARWINDS INC                          PO BOX 730720 DALLAS TX 75373
SOLCHENBERGER TRUCKING LLC              OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOLCO INC                               301 WOOD CREEK RD 510 WHEELING IL 60090
SOLDI TRANSPORT LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SOLE TRANS LLC                          21126 SE HWY 212 DAMASCUS OR 97089
SOLE, JEROME                            ADDRESS ON FILE
SOLEAU, KASANDRA                        ADDRESS ON FILE
SOLER TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOLES AUTOMOTIVE TOWING INC.            608 DUNN RD FAYETTEVILLE NC 28312
SOLES AUTOMOTIVE TOWING INC.            620 DUNN RD FAYETTEVILLE NC 28312
SOLESKI, GARY P                         ADDRESS ON FILE
SOLEX                                   301-303, TRINITY BUSINESS PARK NEAR MADHUVAN CIR L.P CAVANI RD, PAL SURAT,
                                        GUJARAT 395009 INDIA
SOLEX                                   PO BOX 512402 LOS ANGELES CA 90051
SOLEYE, KELI J                          ADDRESS ON FILE
SOLHEIM, JASON                          ADDRESS ON FILE
SOLID BLACK TRANSPORTATION              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SOLID GROUP INC                         50 WEST 75TH STREET SUITE 210 WILLOWBROOK IL 60527
SOLID LOGISTICS INC LLC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOLID ROCK HOTSHOT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOLID ROCK TRUCKING                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                  Page 1775 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1784 of 2156

Claim Name                           Address Information
SOLID STAGING LLC                    1407 JEFFERSON ST HASTINGS MN 55033
SOLID TRANS INC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SOLID TRANS LLC                      OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SOLID TRANSPORT                      4775 W TECO AVE SUITE 120 LAS VEGAS NV 89118
SOLID TRANSPORTATION SERVICES INC    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SOLIDMILE TRANSPORTATION INC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOLIS LOPEZ, HECTOR                  ADDRESS ON FILE
SOLIS TRANSPORTATION                 OR TRANSWEST CAPITAL PO BOX 123381 DEPT3381 DALLAS TX 75312-3381
SOLIS, ALEXANDRO                     ADDRESS ON FILE
SOLIS, ALFREDO                       ADDRESS ON FILE
SOLIS, ALICIA                        ADDRESS ON FILE
SOLIS, BERNARDO                      ADDRESS ON FILE
SOLIS, CARLOS                        ADDRESS ON FILE
SOLIS, CHRISTIAN                     ADDRESS ON FILE
SOLIS, CHRISTOPHER                   ADDRESS ON FILE
SOLIS, ERNEST                        ADDRESS ON FILE
SOLIS, FRANCISCO                     ADDRESS ON FILE
SOLIS, FRANCISCO                     ADDRESS ON FILE
SOLIS, JADE                          ADDRESS ON FILE
SOLIS, JUAN                          ADDRESS ON FILE
SOLIS, KEVIN                         ADDRESS ON FILE
SOLIS, LESTER                        ADDRESS ON FILE
SOLIS, LUIS                          ADDRESS ON FILE
SOLIS, MARCO                         ADDRESS ON FILE
SOLIZ, JULIAN                        ADDRESS ON FILE
SOLLAS EXPRESS LLC                   3254 MANCHESTER WAY DR WESTERVILLE OH 43081
SOLO                                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SOLO 359 LLC                         OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
SOLO EXPRESS INC                     13637 W MONTEBELLO AVE LITCHFIELD PARK AZ 85340
SOLO EXPRESS LLC                     OR INTERNET TRUCKSTOP PAYMENTS, LLC PO BOX 7410411 CHICAGO IL 60674-0411
SOLO FLIGHT TRANSPORT INC            8625 EVERIDGE CT SACRAMENTO CA 95828
SOLO GOMEZ TRANSPORT CORP            OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
SOLOKINGWAY CORP                     OR CAPITAL DEPOT 8930 N. WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
SOLOMON TRUCKING LLC                 OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOLOMON, ANTHONY                     ADDRESS ON FILE
SOLOMON, BRAHMA                      ADDRESS ON FILE
SOLOMON, CHARLES                     ADDRESS ON FILE
SOLOMON, CHARLES                     ADDRESS ON FILE
SOLOMON, CHASITY                     ADDRESS ON FILE
SOLOMON, DESHAWN                     ADDRESS ON FILE
SOLOMON, DMARCUS                     ADDRESS ON FILE
SOLOMON, JEFFERY                     ADDRESS ON FILE
SOLOMON, JEROME                      ADDRESS ON FILE
SOLOMON, SHERMAN                     ADDRESS ON FILE
SOLOMON, SHERRALYN                   ADDRESS ON FILE
SOLOMON, SIMON                       ADDRESS ON FILE
SOLOMON, UZZIAH                      ADDRESS ON FILE
SOLOMSON, BAXTER                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1776 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1785 of 2156

Claim Name                              Address Information
SOLOMUN TRANSPORT INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SOLOONG TRANSPORTATION INC              SOLOONG TRANSPORTATION INC 12433 MISSISSIPPI DR EASTVALE CA 91752
SOLORIO, ANTONIO                        ADDRESS ON FILE
SOLORIO, CESAR                          ADDRESS ON FILE
SOLORIO, JESUS G                        ADDRESS ON FILE
SOLORIO, PABLO                          ADDRESS ON FILE
SOLORZANO, GILBERTO                     ADDRESS ON FILE
SOLOYMI INC                             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOLT, RONALD                            ADDRESS ON FILE
SOLTERO, REYES                          ADDRESS ON FILE
SOLUS ALTERNATIVE ASSET MANAGEMENT LP   ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
SOLUS ALTERNATIVE ASSET MANAGEMENT LP   C/O: KORNSTEIN, VEISZ. WEXLER & POLLARD, LLP ATTN PAUL WEXLER, 757 3RD AVE,
                                        18TH FL NEW YORK NY 10017
SOLUS CORE OPPORTUNITIES MASTER FUND    ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
LTD
SOLUS GP LLC                            ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
SOLUS OPPORTUNITIES FUND 1 LP           ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
SOLUS OPPORTUNITIES FUND 2 LP           ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
SOLUTION TOW & TRANSPORT LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOLUTIONS CONTRACT PACKAGING            100 SOLUTIONS PKWY THOMASTON GA 30286
SOLUTIONS TRANSPORT & SALES LLC         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOLUTIONS, INC.                         ATTN: MASON WEBER 8645 S. HARRISON ST. MIDVALE UT 84070
SOLWAY, BRANDIE                         ADDRESS ON FILE
SOLWAY, JESSE                           ADDRESS ON FILE
SOLY LANDLINE LLC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SOLZON CORPORATION                      9 CORNERSTONE SQUARE, UNIT B400-325 WESTFORD MA 01886
SOM CARRIER LLC                         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SOM FREIGHT INC                         OR INTEGRA FUNDING SOLUTIONS, LLC 6300 RIDGLEA PL, STE 1101 FORT WORTH TX
                                        76116
SOMA LOGISTICS LLC                      OR APEX CAPTIAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SOMA LOGISTICS LLC (MC115583)           OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOMAL TRANSPORT INC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SOMARRIBA, BYRON                        ADDRESS ON FILE
SOMASTAR TRANSPORTATION LLC             OR FIRST LINE FUNDING, PO BOX 328 MADISON SD 57042
SOMERBROOK TRUCKING LLC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SOMERICK, JOHN                          ADDRESS ON FILE
SOMERS, GLENN                           ADDRESS ON FILE
SOMERSET CAPITAL GROUP LTD              612 WHEELERS FARMS RD MILFORD CT 06461
SOMERSET CAPITAL GROUP XXII             612 WHEELERS FARMS RD MILFORD CT 06461
SOMERSET COUNTY EQEF                    PO BOX 3000 SOMERVILLE NJ 08876
SOMERSET PARK HOA                       ACCESS MANAGEMENT 215 CELEBRATION PLACE 115 CELEBRATION FL 34747
SOMERVILLE, KEITH D                     ADDRESS ON FILE
SOMERVILLE, SEAN                        ADDRESS ON FILE
SOMETHING SIGNIFICANT LLC               OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BLDG 600 SANDY SPRINGS GA 30350
SOMMER, ALEXANDRA                       ADDRESS ON FILE
SOMMER, JOY                             ADDRESS ON FILE
SOMMERCORN, CHRISTOPHER                 ADDRESS ON FILE
SOMMERS, MALISA                         ADDRESS ON FILE
SOMMERS, STEPHEN                        ADDRESS ON FILE
SOMMERS, TODD                           ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                                  Page 1777 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1786 of 2156

Claim Name                           Address Information
SOMMERS, TROY                        ADDRESS ON FILE
SOMOS DEMONIOS ENTERPRISE LLC        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SOMOS EXPRESS LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOMPO                                C/O ENDURANCE AMERICAN INS CO FRANCESCA MARSALA 4 MANHATTANVILLE ROAD, 3RD
                                     FLOOR PURCHASE NY 10577
SOMPO (ENDURANCE)                    C/O ENDURANCE SPECIALTY INSURANCE LTD. CROWN HOUSE 4 PAR-LA-VILLE ROAD
                                     HAMILTON HM 08 BERMUDA
SOMPRIDE TRANSFER LLC                OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOMPRIDE XPRESS LLC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SOMSTAR TRUCKING LLC                 2659 TROJAN DR GREENBAY WI 54304
SOMSTAR TRUCKING LLC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SOMSTATE TRANSPORT LLC               OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SOMWAY LOGISTICS LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SONA GROUP INC                       30 AFFUSION RD BRAMPTON ON L7A 5G1 CANADA
SONARSOURCE SA                       PO BOX 765 VERNIER CH-1214 SWITZERLAND
SONATO, ANTONIO                      ADDRESS ON FILE
SONATYPE, INC.                       P.O. BOX 22697 NEW YORK NY 10087
SONDRA BOLEMAN                       ADDRESS ON FILE
SONEPAR MANAGEMENT US                STEVE ROMBERG LOGISTICS 4400 LEEDS AVE STE 500 CHARLESTON SC 29405
SONG LOGISTICS LLC                   PO BOX 3125 RIDGEFIELD NJ 07657
SONG, HUE                            ADDRESS ON FILE
SONGA ENTERPRISES                    ATTN: FRANK WANG 8512 122ND AVE NE UNIT 25 KIRKLAND WA 98033
SONGA ENTERPRISES                    TACOMA TRANSLOAD, 8512 122ND AVE NE 25 KIRKLAND WA 98033
SONIC                                15201 MONFORT DALLAS TX 75248
SONIC TRANS INC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SONIC TRANSPORT INC                  PO BOX 117626 CARROLLTON TX 75011
SONIC TRANSPORTATION SYSTEMS         11305 201 ST EDMONTON AB T5G 0G3 CANADA
SONIC TRUCKING, LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SONJA WILSON                         ADDRESS ON FILE
SONKO TRUCKING LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SONKO, JUSTIN                        ADDRESS ON FILE
SONKO, PETER                         ADDRESS ON FILE
SONNEMAN A WAY OF LIGHT              ATTN: ARIELLE BYNUMS 103 TOWER DR MIDDLETOWN NY 10941
SONNTAG, EDWARD                      ADDRESS ON FILE
SONNYS ENTERPRISES                   ATTN: RENUKA TULSI 5870 HIATUS RD TAMARAC FL 33321
SONO TRUCKING EXPRESS LLC            OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
SONOMA COUNTY TAX COLLECTOR          PO BOX 3879 SANTA ROSA CA 95402
SONOMA COUNTY TAX COLLECTOR          AUDITOR-CONTROLLER- TREASURER-TAX COLLECTOR 585 FISCAL DR, RM 100F SANTA ROSA
                                     CA 95403
SONOMA COUNTY TAX COLLECTOR          ROD DOLE TREAS/TAX COLLEC 585 FISCAL DR RM 100F SANTA ROSA CA 95403
SONOMA TILEMAKERS                    7890 BELL RD WINDSOR CA 95492
SONOMA TILEMAKERS                    ATTN: ALANA RODRIGUEZ 7890 BELL RD STE F WINDSOR CA 95492
SONRICS TRUCKING LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SONS & FATHER LLC                    OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SONS OF GOD TRUCKING LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SONS, DALTON                         ADDRESS ON FILE
SONYA EXPRESS, INC.                  5541 WEST 164 ST BROOK PARK OH 44142
SOOHAB TRUCKING                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SOOKHAR, MICHAEL                     ADDRESS ON FILE
SOOKSENGDAO, MASON                   ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                               Page 1778 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1787 of 2156

Claim Name                             Address Information
SOOS TRANSPORTATION INC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SOOS, ISTVAN                           ADDRESS ON FILE
SOPAKCO                                ROCKFARM CLAIMS, 300 DATA CT DUBUQUE IA 52003
SOPHI TRUCKING                         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOPHIE TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOPPA, JOSEPH K                        ADDRESS ON FILE
SORAH, SHAWN                           ADDRESS ON FILE
SORAPA TRANSPORTERS LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SORBER, RODNEY                         ADDRESS ON FILE
SORBET, JAN                            ADDRESS ON FILE
SORCI, WILLIAM D                       ADDRESS ON FILE
SORDAHL, EUGENE                        ADDRESS ON FILE
SORDILLI, PETER                        ADDRESS ON FILE
SOREGO TRANSPORTATION CORP             PO BOX 3983 CARTERSVILLE GA 30120
SORENSEN, KEVIN                        ADDRESS ON FILE
SORENSEN, LOGAN                        ADDRESS ON FILE
SORENSEN, RYAN                         ADDRESS ON FILE
SORENSON, ERICK                        ADDRESS ON FILE
SORENSON, GERALD                       ADDRESS ON FILE
SORENSON, JAY                          ADDRESS ON FILE
SORENSONS APPLIANCE & TV               415 W MAIN STREET GENEVA MN 56035
SOREQUE, EDGAR                         ADDRESS ON FILE
SORIA, ANTHONY                         ADDRESS ON FILE
SORIA, ELFEGO                          ADDRESS ON FILE
SORIAN, GILBERT                        ADDRESS ON FILE
SORIAN, GILBERT                        ADDRESS ON FILE
SORIANO TRUCKING LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SORIANO, DIORCINI                      ADDRESS ON FILE
SORIANO, EDUARDO                       ADDRESS ON FILE
SORIANO, GUILLERMO                     ADDRESS ON FILE
SORN, JUSTIN                           ADDRESS ON FILE
SORRELL, CLINTON                       ADDRESS ON FILE
SORRELL, JUDY                          ADDRESS ON FILE
SORRELL, JUDY                          ADDRESS ON FILE
SORRELL, TOBY                          ADDRESS ON FILE
SORRELL, TOM                           ADDRESS ON FILE
SORRELLS, LARRY                        ADDRESS ON FILE
SORRELS, STEVEN                        ADDRESS ON FILE
SORRELS, WILLIAM T                     ADDRESS ON FILE
SORRENTINO, BRENT                      ADDRESS ON FILE
SORRENTO, ROBERT                       ADDRESS ON FILE
SORTHEPPHARAK, SURIYA                  ADDRESS ON FILE
SORTHEPPHARAK, SURIYA                  ADDRESS ON FILE
SORTO TRANSPORT LLC (HYATTSVILLE MD)   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
SORTO, ALVARO                          ADDRESS ON FILE
SOS FLEET SERVICES LLC                 2040 INDUSTRIAL PARK RD ALEXANDRIA LA 71303
SOS LOADRUNNER LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SOS LOGISTICS LLC                      OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
SOS TRANSPORT                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKTOP FACTORING, PO BOX 7410411 CHICAGO



Epiq Corporate Restructuring, LLC                                                                 Page 1779 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 1788 of 2156

Claim Name                         Address Information
SOS TRANSPORT                      IL 60674-0411
SOS TRANSPORT GROUP LLC            6 PARK LN MIDDLE ISLAND NY 11953
SOS TRUCKING SVCS LLC              OR FINANCIAL CARRIER SVCS, PO BOX 151052 OGDEN UT 84415
SOSA LLC                           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SOSA TRANSPORTATION LLC            3529 JOHNSON ST HOPE MILLS NC 28348
SOSA, ARTURO                       ADDRESS ON FILE
SOSA, CARLOS                       ADDRESS ON FILE
SOSA, CLAUDIO                      ADDRESS ON FILE
SOSA, JUAN                         ADDRESS ON FILE
SOSA, JUAN                         ADDRESS ON FILE
SOSA, LARRY                        ADDRESS ON FILE
SOSA, MICHAEL                      ADDRESS ON FILE
SOSA, RICHARD                      ADDRESS ON FILE
SOSA, SAYANI                       ADDRESS ON FILE
SOSEBEE, MARK                      ADDRESS ON FILE
SOSLER, MARK                       ADDRESS ON FILE
SOSNOWSKI, VINCENT                 ADDRESS ON FILE
SOSO TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOSOLIK, ROBERT                    ADDRESS ON FILE
SOSUA TRUCKING LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SOSY TRANSPORTATION LLC            OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SOTA LOGISTICS LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                   IL 60674-0411
SOTELO, ANDRES                     ADDRESS ON FILE
SOTELO, ERNESTO                    ADDRESS ON FILE
SOTELO, MANUEL                     ADDRESS ON FILE
SOTERO CABALLERO                   ADDRESS ON FILE
SOTI TRANSPORT LLC                 PO BOX 10831 TERRE HAUTE IN 47801
SOTIRA, STEVE                      ADDRESS ON FILE
SOTIROPOULOS, MATT                 ADDRESS ON FILE
SOTO BOYS EXPRESS LLC              OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195
SOTO TRANSPORTATION LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SOTO, BENJAMIN                     ADDRESS ON FILE
SOTO, CHRISTOPHER                  ADDRESS ON FILE
SOTO, DANIEL                       ADDRESS ON FILE
SOTO, DANIEL                       ADDRESS ON FILE
SOTO, DELIA                        ADDRESS ON FILE
SOTO, EDWIN                        ADDRESS ON FILE
SOTO, ELVIN                        ADDRESS ON FILE
SOTO, ERNIE                        ADDRESS ON FILE
SOTO, GILBERT                      ADDRESS ON FILE
SOTO, INOCENTE                     ADDRESS ON FILE
SOTO, JAVIER                       ADDRESS ON FILE
SOTO, JOHNNY                       ADDRESS ON FILE
SOTO, JOSE                         ADDRESS ON FILE
SOTO, JOSE                         ADDRESS ON FILE
SOTO, MARCUS                       ADDRESS ON FILE
SOTO, MICHAEL                      ADDRESS ON FILE
SOTO, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1780 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1789 of 2156

Claim Name                             Address Information
SOTO, MIGUEL                           ADDRESS ON FILE
SOTO, MILTON                           ADDRESS ON FILE
SOTO, OSWALDO                          ADDRESS ON FILE
SOTO, PABLO                            ADDRESS ON FILE
SOTO, RICARDO                          ADDRESS ON FILE
SOTO, ROCIO                            ADDRESS ON FILE
SOTO, ROCIO                            ADDRESS ON FILE
SOTO, SAMUEL                           ADDRESS ON FILE
SOTO, WILLIAM                          ADDRESS ON FILE
SOTOMAYOR, JOHN                        ADDRESS ON FILE
SOTOS, JOHN                            ADDRESS ON FILE
SOTTILE, SARAH                         ADDRESS ON FILE
SOTTILE, SARAH                         ADDRESS ON FILE
SOUDAL ACCUMETRIC                      ATTN: NANCY HENSEL 350 RING RD ELIZABETHTOWN KY 42701
SOUDER, ALLEN                          ADDRESS ON FILE
SOUDER, KEVIN                          ADDRESS ON FILE
SOUDER, MOLLI                          ADDRESS ON FILE
SOUFFRANCE, DORIS                      ADDRESS ON FILE
SOUFFRANCE, DORIS                      ADDRESS ON FILE
SOUL DOG TRUCKING LLC                  3575 HUNTERS HILL DR, 0 LITHONIA GA 30038
SOULE, CHARLES                         ADDRESS ON FILE
SOULE, LEZLIE                          ADDRESS ON FILE
SOULES YIRE TRANSPORTATION CORP        OR FINANCIAL CARRIER SVCS, PO BOX 151052 OGDEN UT 84415
SOULMOVINGSERVICE                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOUMMAM TRANSPORTATION LLC             OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
SOUND AIR AVIONICS                     1826 BICKFORD AVE SNOHOMISH WA 98290
SOUND PLUMBING                         4720 W. UNIVERSITY AVE LAS VEGAS NV 89103
SOUND PLUMBING                         6000 S. EASTERN AVE. SUITE 11C LAS VEGAS NV 89119
SOUND PLUMBING                         3013 N RANCHO DR STE 121 LAS VEGAS NV 89130
SOUND PRODUCTS, INC.                   1365 N WINCHESTER ST OLATHE KS 66061
SOUND TRANSPORTATION INC               OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SOUND TRUCK & TRAILER REPAIR           898 VALENTINE AVENUE S.E. PACIFIC WA 98047
SOUND TRUCK & TRAILER REPAIR           PO BOX 73805 PUYALLUP WA 98373
SOUNDARA, AUDREY                       ADDRESS ON FILE
SOUNDSTAGE, LLC                        OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
SOURCE JULIAN                          2901 RENNIE SCHOOL TRAVERSE CITY MI 49685
SOURCE NORTH AMERICA                   510 S WESTGATE ST ADDISON IL 60101
SOURCE TECHNOLOGIES                    11401A GRANITE ST CHARLOTTE NC 28273
SOUSA TIRE SERVICE, LLC                PO BOX 2719 ORCUTT CA 93457
SOUSA, JOAO                            ADDRESS ON FILE
SOUSA, NICOLE                          ADDRESS ON FILE
SOUSA, NICOLE                          ADDRESS ON FILE
SOUTH ADAMS CO WTR & SAN DIST          6595 E 70TH AVE COMMERCE CITY CO 80037
SOUTH ADAMS COUNTY WATER &             SANITATION DISTRICT (INC) 6595 E 70TH AVE COMMERCE CITY CO 80022
SOUTH BAY FOUNDRY                      895 INLAND CENTER DR SAN BERNARDINO CA 92408
SOUTH BAY LOGISTICS INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SOUTH BEND MUNICIPAL UTILITIES         125 W COLFAX AVE SOUTH BEND IN 46601
SOUTH BEND POLICE DEPARTMENT           701 W SAMPLE ST SOUTH BEND IN 46601
SOUTH CAROLINA DEPARTMENT OF REVENUE   PO BOX 2535 COLUMBIA SC 29202-2535



Epiq Corporate Restructuring, LLC                                                                 Page 1781 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1790 of 2156

Claim Name                               Address Information
SOUTH CAROLINA DEPARTMENT OF REVENUE     300A OUTLET POINTE BLVD COLUMBIA SC 29210
SOUTH CAROLINA DEPARTMENT OF REVENUE     CORPORATION RETURN COLUMBIA SC 29214
SOUTH CAROLINA DEPARTMENT OF REVENUE     1 SOUTH PARK CIRCLE SUITE 100 CHARLESTON SC 29407
SOUTH CAROLINA DEPT OF REVENUE           SALES TAX RETURN COLUMBIA SC 29214-0101
SOUTH CAROLINA TREASURERS OFFICE         WADE HAMPTON BLDG 1200 SENATE ST STE 224 COLUMBIA SC 29201
SOUTH CAROLINA TREASURERS OFFICE         UNCLAIMED PROPERTY PROGRAM, PO BOX 11778 COLUMBIA SC 29211
SOUTH CAROLINA TRUCKING ASSOC INC.       PO BOX 50166 COLUMBIA SC 29250
SOUTH CAROLINA WORKERS COMP COMMISSION   DIRECTOR SELF INSURANCE 1333 MAIN ST STE 500 COLUMBIA SC 29202
SOUTH CENTER III                         MOHAWK STREET PROPERTY LLC PO BOX 23170 NEW YORK NY 10087
SOUTH CENTRAL REGIONAL TRANSIT DISTRICT ATTN: VERONICA DELAO PO BOX 4078 ANTHONY NM 88021-4078
SOUTH COAST AIR QUALITY MANAGEMENT       HSP FILE 54296, PO BOX 4943 LOS ANGELES CA 90074
DIST.
SOUTH COAST AIR QUALITY MANAGEMENT       PO BOX 4943 DIAMOND BAR CA 91765
DIST.
SOUTH COAST AQMD                         FILE NUMBER 54296 LOS ANGELES CA 90074
SOUTH DAKOTA DEPT OF REVENUE             PO BOX 5055 SIOUX FALLS SD 57117
SOUTH DAKOTA TRUCKING ASSOCIATION        PO BOX 89008 SIOUX FALLS SD 57109
SOUTH EAST EXPRESS LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOUTH EAST KANSAS URGENT CARE            200 EAST CENTENNIAL SUITE 3 PITTSBURG KS 66762
SOUTH EAST KANSAS URGENT CARE            PO BOX 57952 SALT LAKE CITY UT 84157
SOUTH EASTERN BOOTH                      1004 E MAIN ST DALLAS NC 28034
SOUTH JEFFERSON ENTERPRISES, INC         PO BOX 2135 TERREBONNE OR 97760
SOUTH JERSEY OVERHEAD DOOR COMPANY INC   SALES AND SERVICE, 1360 N. DELSEA DR. VINELAND NJ 08362
SOUTH JERSEY SALES &SERVICE CENTER       3059 OCEAN HEIGHTS AVENUE EGG HARBOR TWP. NJ 08234
SOUTH LEBANON TOWNSHIP                   1800 S 5TH AVE LEBANON PA 17042
SOUTH RIVER LOGISTICS LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SOUTH RIVER TRANSPORT                    2120 S RIVER RD, 0 ZANESVILLE OH 43701
SOUTH RIVER TRANSPORT                    OR TRIUMPH FINANCIAL SVCS LLC PO BOX 610028 DALLAS TX 75261-0028
SOUTH SAN JOAQUIN COUNTY FIRE AUTHORITY 835 N CENTRAL AVE TRACY CA 95376
SOUTH SHORE FIRE                         & SAFETY EQUIPMENT DISTRIBUTORS INC 579 EAST MEADOW AVENUE EAST MEADOW NY
                                         11554
SOUTH SHORE HEALTH CENTER INC            275 TURNPIKE ST. CANTON MA 02021
SOUTH SIDE CONTROL SUPPLY                ATTN: JULIE KERKHOVEN RETURNS 488 N MILWAUKEE AVE CHICAGO IL 60610
SOUTH SOUND FIRE & SECURITY              5207 HOLLY CT NE LACEY WA 98516
SOUTH STAR LOGISTICS INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SOUTH TEXAS TRUCK CENTERS                918 NAVIGATION BLVD CORPUS CHRISTI TX 78408
SOUTH TEXAS TRUCKING INC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SOUTH, KIMBERLY                          ADDRESS ON FILE
SOUTHALL, ERNEST                         ADDRESS ON FILE
SOUTHALL, TERRY                          ADDRESS ON FILE
SOUTHARD CORPORATION                     1222 E 10TH ST GREAT BEND KS 67530
SOUTHARD, BRANDON                        ADDRESS ON FILE
SOUTHBOUND & DOWN LLC                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SOUTHBOUND EXPRESS LLC                   OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SOUTHBOUND TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHCO DISTRIBUTINGCOMPANY              ATTN: JOHN GARVER 2201 S JOHN STREET GOLDSBORO NC 27530-7163
SOUTHCROSS EXPRESS INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
SOUTHEAST DISTRIBUTION CENTER            ATTN: JOSEPH DEMARTINO 291 CUNNINGHAM ST BLDG 781 PENSACOLA FL 32508
SOUTHEAST EXTERMINATING CO               PO BOX 5316 KNOXVILLE TN 37928
SOUTHEAST ID                             PO BOX 95459 CHICAGO IL 60694


Epiq Corporate Restructuring, LLC                                                                  Page 1782 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1791 of 2156

Claim Name                               Address Information
SOUTHEAST ID                             ATTN: ACCOUNTS RECEIVABLE 5830 NW 163RD ST MIAMI LAKES FL 33014
SOUTHEAST INDUSTRIAL EQUIPMENT, INC.     5130 COMMERCE ROAD RICHMOND VA 23234
SOUTHEAST INDUSTRIAL EQUIPMENT, INC.     PO BOX 63230 CHARLOTTE NC 28263
SOUTHEAST UNLOADING, LLC                 1894 S 14TH STREET, SUITE 2 FERNANDINA BEACH FL 32034
SOUTHEAST UNLOADING, LLC                 ATTN: ACCOUNTS RECEIVABLE 1894 S. 14TH ST, STE 2 FERNANDINA BEACH FL 32034
SOUTHEAST UNLOADING, LLC                 ATTN: ACCOUNTS RECEIVABLE, PO BOX 1647 YULEE FL 32041
SOUTHEASTERN CARGO LLC                   OR BRIDGE CAPITAL BUS. SVCS LLC PO BOX 172091 MEMPHIS TN 38187
SOUTHEASTERN DOCK & DOOR, LLC            54 BRUCE RD GREENVILLE SC 29605
SOUTHEASTERN DOCK & DOOR, LLC            667 PERIMETER RD GREENVILLE SC 29605
SOUTHEASTERN EXPRESS LLC                 PO BOX 971 MADISONVILLE TN 37354
SOUTHEASTERN EXPRESS LLC                 OR SEVENOAKS CAPITAL ASSOC, LLC PO BOX 669130 HOUSTON TX 75266
SOUTHEASTERN FREIGHT LINES, INC.         ATTN: TOM HERNDON 420 DAVEGA ROAD LEXINGTON SC 29073
SOUTHEASTERN FREIGHT LINES, INC.         ATTN: TOM HERNDON PO BOX 1691 COLUMBIA SC 29202
SOUTHEASTERN FREIGHT LINES, INC.         PO BOX 100104 COLUMBIA SC 29202
SOUTHEASTERN FREIGHT LINES, INC.         PO BOX 1691 COLUMBIA SC 29202
SOUTHEASTERN FREIGHTLINES                11700 STEELE CREEK ROAD CHARLOTTE NC 28273
SOUTHEASTERN FREIGHTLINES                2055 LUNA RD. CARROLLTON TX 75006
SOUTHEASTERN OVERHEAD DOOR, INC          6146 CRESTMOUNT DRIVE BATON ROUGE LA 70809
SOUTHEASTERN TRANSPORTATION INC          OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
SOUTHERLAND, ADAM                        ADDRESS ON FILE
SOUTHERN A&J TRUCKING LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHERN AUTO ELECTRIC, INC.             3975 MORELAND AVE CONLEY GA 30288
SOUTHERN AUTO ELECTRIC, INC.             PO BOX 253, 3975 MORELAND AVE S E CONLEY GA 30288
SOUTHERN CALIFORNIA EDISON               2244 WALNUT GROVE AVE ROSEMEAD CA 91770-3714
SOUTHERN CARLSON                         10840 HARNEY ST OMAHA NE 68154
SOUTHERN CARRIERS, INC.                  PO BOX 1758 LEWISBURG TN 37091
SOUTHERN CARTAGE, INC.                   PO BOX 52-1033 MIAMI FL 33152-1033
SOUTHERN CHRISTIAN TRANSPORTATION INC    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SOUTHERN CO INC                          PO BOX 2059 MEMPHIS TN 38101-2059
SOUTHERN COMFORT DEVELOPMENTS, L.L.C.    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHERN COUNTIES LUBRICANTS, LLC        P.O. BOX 5765 ORANGE CA 92863
SOUTHERN CRANE & WRECKER                 3636 PHOENIX AVE JACKSONVILLE FL 32206
SOUTHERN DOCK PRODUCTS                   PO BOX 414746 BOSTON MA 02241
SOUTHERN DUO EXPRESS LLC                 OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SOUTHERN ELEVATOR & ELECTRIC S           ATTN: IVAN TKACHENKO AP 1150 W MCNABB RD FT LAUDERDALE FL 33309
SOUTHERN FREIGHT SERVICES, INC.          OR UMB CAPITAL FINANCE, PO BOX 874654 KANSAS CITY MO 64187-4654
SOUTHERN FREIGHT TRANSPORT INC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHERN GARDENS, INC                    PO BOX 218460 NASHVILLE TN 37221
SOUTHERN ILLINOIS CRANKSHAFT             225 KASKASKIA ST. RED BUD IL 62278
SOUTHERN IOWA TOWING & RECOVERY          PO BOX 9 LAMONI IA 50140
SOUTHERN LIFT TRUCKS                     7942 RAND ST. HOUSTON TX 77028
SOUTHERN LINE TRANSPORTATION             OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOUTHERN LINK TRANSPORT INC              OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SOUTHERN LOGISTICS LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOUTHERN MARKETING AFFILIATES            ATTN: LISA LAVANNA BRYANT PURCHASING 2623 COMMERCE DRMLK DR JONESBORO AR 72401
SOUTHERN MATERIAL HANDLING COMPANY LLC   PO BOX 470890 TULSA OK 74147
SOUTHERN MULTI-STATE & SOUTHERN REGION   JOINT AREA GRIEVANCE COMMITTEES 10801 STARKEY ROAD 104 106 SEMINOLE FL 33777
SOUTHERN MULTI-STATE GRIEVANCE           GRIEVANCE COMMITTEE 10801 STARKEY RD 104-106 SEMINOLE FL 33777
COMMITTEE



Epiq Corporate Restructuring, LLC                                                                   Page 1783 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1792 of 2156

Claim Name                            Address Information
SOUTHERN NEVADA TRANSPORT, LLC        OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
SOUTHERN SAFETY SUPPLY                PO BOX 778 MACON GA 31202
SOUTHERN SAFETY SUPPLY                2135 BROADWAY MACON GA 31206
SOUTHERN STAGE LOGISTIC LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHERN STAR OF CHARLOTTE INC        7439 ORR ROAD CHARLOTTE MI 28213
SOUTHERN STAR T LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SOUTHERN STATES TOYOTA LIFT           115 S 78TH ST TAMPA FL 33619
SOUTHERN STATES UTILITY               TRAILER SALES, INC. PO BOX 6257 JACKSON MS 39288
SOUTHERN SWEEPERS & SCRUBBERS, INC.   2069A VALLEYDALE TER BIRMINGHAM AL 35244
SOUTHERN TAXI GROUP                   5804 OPORTO MADRID BLVD BIRMINGHAM AL 35210
SOUTHERN TEXAS FUEL TRANSPORT LLC     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SOUTHERN TIRE MART AT PILOT FLYING    DEPT 6412, PO BOX 11407 BIRMINGHAM AL 35246
SOUTHERN TIRE MART LLC                DEPT 143, PO BOX 1000 MEMPHIS TN 38148-0143
SOUTHERN TIRE MART, LLC               PO BOX 1000 DEPT 143 MEMPHIS TN 38148
SOUTHERN TRADITIONS LANDSCAPIN        512 PEACH FESTIVAL RAOD GILBERT SC 29054
SOUTHERN TRADITIONS LANDSCAPIN        512 PEACH FESTIVAL RD GILBERT SC 29054
SOUTHERN TRANSPORT LLC                OR ORANGE COMMERICAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SOUTHERN TRUCKING COMPANY INC         PO BOX 173633 HIALEAH FL 33017
SOUTHERN WAREHOUSING & DISTRIBUTION   PO BOX 8100 SAN ANTONIO TX 78208
SOUTHERN WAREHOUSING & DISTRIBUTION   ATTN: DOUG LEWIS 3232 NORTH PANAM EXPRESSWAY SAN ANTONIO TX 78219
SOUTHERN WILD TRUCKING LLC            (THOMASVILLE NC) OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SOUTHERN WILD TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SOUTHERN WYOMING TOWING & RECOVERY    306 AVENUE D CHEYENNE WY 82007
SOUTHERN, AMIR                        ADDRESS ON FILE
SOUTHERN, EDWARD                      ADDRESS ON FILE
SOUTHERN, MEL                         ADDRESS ON FILE
SOUTHERN, MICHAEL                     ADDRESS ON FILE
SOUTHERN, PATRICK                     ADDRESS ON FILE
SOUTHERN, RICKY                       ADDRESS ON FILE
SOUTHERN, STEVEN                      ADDRESS ON FILE
SOUTHERNCROSS FREIGHT LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SOUTHERNS PURE WATER FACTORY          P.O. BOX 8 WILMINGTON NC 28402
SOUTHERNS PURE WATER FACTORY          1717 N 23RD ST WILMINGTON NC 28405
SOUTHINGTON BOARD WATER COMM          605 W QUEEN ST SOUTHINGTON CT 06489
SOUTHINGTON WATER DEPT                PO BOX 111 SOUTHINGTON CT 06489
SOUTHLAND DIRECT LLC                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SOUTHLAND HAULING, INC.               P.O. BOX 333 NEW JOHNSONVILLE TN TN 37134
SOUTHLAND TRANSPORTATION              DEPARTMENT 204, PO BOX 1431 CHARLOTTE NC 28201
SOUTHLINE LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHPOINTE RADIATOR                  30026 BEVERLY ROAD ROMULUS MI 48174
SOUTHPORT TRUCKING, INC.              PO BOX 2245 HOLLAND MI 49422
SOUTHQUEST TRANSPORTATION LLC         402 OLD TROLLEY RD STE 113 SUMMERVILLE SC 29485
SOUTHSIDE PLUMBING INC                2230 SOUTH 27TH ST OMAHA NE 68105-3200
SOUTHSIDE RUNNERS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SOUTHSIDE STEEL                       1910 BLUFF ROAD INDIANAPOLIS IN 46225
SOUTHSIDE TRAILER SERVICE, INC.       310 LAKE AVE, PO BOX 2300 BLASDELL NY 14219
SOUTHSIDE TRAILER SERVICE, INC.       PO BOX 2300 BLASDELL NY 14219
SOUTHSIDE TRANSPORT INC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SOUTHSIDE TRUCK COMPANY LLC           OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125



Epiq Corporate Restructuring, LLC                                                                Page 1784 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1793 of 2156

Claim Name                              Address Information
SOUTHSTAR EXPRESS, INC                  4310 HASTINGS DR CUMMING GA 30041
SOUTHTOWN WRECKER LLC                   1600 CIRCLE AVE BLOOMINGTON IL 61701
SOUTHTOWN WRECKER SERVICE               1600 CIRCLE AVE BLOOMINGTON IL 61701
SOUTHTRANS INC                          OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SOUTHWAY CARRIERS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SOUTHWEST CARRIERS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SOUTHWEST DIESEL SERVICE, INC.          1150 E 350 N SAINT GEORGE UT 84770
SOUTHWEST EXPRESS INC (MC1264726)       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
SOUTHWEST FIRE PROTECTION               PO BOX 701490 SAN ANTONIO TX 78270
SOUTHWEST GAS                           5241 SPRING MOUNTAIN RD LAS VEGAS NV 89150-0002
SOUTHWEST GAS EQUIPMENT CO              PO BOX 335 LIBERAL KS 67905
SOUTHWEST LUMBER                        1917 S. AVE B YUMA AZ 85364
SOUTHWEST MATERIAL HANDLING, INC.       3725 NOBEL COURT MIRA LOMA CA 91752
SOUTHWEST MATERIAL HANDLING, INC.       PO BOX 1070 MIRA LOMA CA 91752
SOUTHWEST MATERIAL HANDLING, INC.       1311 NORTH BLUE GUM ST. ANAHEIM CA 92806
SOUTHWEST STAR INC                      5301 POLK STREET, BUILDING 9 HOUSTON TX 77023
SOUTHWEST TENNESSEE EMC                 110 WESLEY REED DR ATOKA TN 38004
SOUTHWEST TOYOTA LIFT                   D/B/A: SOUTHWEST MATERIAL HANDLING, INC. PO BOX 1070 MIRA LOMA CA 91752
SOUTHWEST TRAILER LEASING               PO BOX 86277 SAN DIEGO CA 92138
SOUTHWEST TRAILERS AND EQUIPMENT LLC    SOUTHWEST TRAILERS & EQUIPMENT TULSA, 550 N. MEMORIAL DR. TULSA OK 74115
SOUTHWEST TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SOUTHWEST TRUCKING LLC (MC1306216)      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SOUTHWESTERN ELECTRIC POWER             1 RIVERSIDE PLZ COLUMBUS OH 43215-2355
SOUTHWESTERN MOTOR TRANSPORT.           4600 GOLDFIELD SAN ANTONIO TX 78218
SOUTHWESTERN PA & W MD AREA             TEAMS BLDG 112 MORGANTOWN ST UNIONTOWN PA 15401
SOUTHWESTERN PENNSYLVANIA AND WESTERN   MARYLAND AREA TEAMSTERS AND EMPLOYERS PENSION FUND 112 MORGANTOWN STREET
                                        UNIONTOWN PA 15401
SOUTHWIND B.P.                          601 CALLAHAN RD DALTON GA 30721
SOUTHWIND BUILDING PRODUCTS             ATTN: DEBBIE SALES 2202 INDUSTRIAL SOUTH RD DALTON GA 30721
SOUTHWIND TRANSPORTATION , INC.         OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
SOUTHWIRE CO                            ATTN CLAIM DEPT, 1900 BRANNAN RD 300 MCDONOUGH GA 30253
SOUTHWIRE COMPANY                       ATTN: BECKY DOSSETT CLAIM DEPARTMENT 1900 BRANNAN RD, STE 300 MCDONOUGH GA
                                        30253
SOUTHWORTH PRODUCTS                     715 S HWY 77 MANILA AR 72442
SOUZA, RICHARD                          ADDRESS ON FILE
SOUZA, SERGIO                           ADDRESS ON FILE
SOWA, ANDY A                            ADDRESS ON FILE
SOWARDS, JUSTIN                         ADDRESS ON FILE
SOWBOYZ & ASSOC LLC                     OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SOWDER, RONALD                          ADDRESS ON FILE
SOWELL, JR., RANDY T                    ADDRESS ON FILE
SOWELL, JR., RANDY T                    ADDRESS ON FILE
SOWELL, KEVIN                           ADDRESS ON FILE
SOWELL, MICHAEL D                       ADDRESS ON FILE
SOWELL, NATASHA                         ADDRESS ON FILE
SOWINSKI, EUGENE                        ADDRESS ON FILE
SOWINSKI, STANLEY                       ADDRESS ON FILE
SOX, MARCUS                             ADDRESS ON FILE
SOYVENTIS NORTH AMERICA LLC             695 ROUTE 46 WEST ST 406 FAIRFIELD NJ 07004



Epiq Corporate Restructuring, LLC                                                                  Page 1785 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1794 of 2156

Claim Name                           Address Information
SOYZA, KEITH                         ADDRESS ON FILE
SOZ INC                              OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
SOZHO LOGISTICS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SOZO LOGISTICS LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SP RICHARDS                          INDUSTRIAL TRANS, PO BOX 1319 DOUGLASVILLE GA 30133
SP RICHARDS                          C.O INDUSTRIAL TRANSPORTATION CONSU 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
SP RICHARDS                          INDUSTRIAL TRANSPORTATION CONSULT 6140 CENTRAL CHRUCH DOUGLASVILLE GA 30135
SP RICHARDS CO                       440 INTERSTATE PKWY 100 LITHIA SPRINGS GA 30122
SP RICHARDS CO                       ATTN: KATHERINE CORDERO RETURNS 1970 S 3850 W UNIT B SALT LAKE CITY UT 84104
SP RICHARDS CO C/O                   INDUS TRANSP CNSLTS, 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
SP TRANS INC                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SP TRANSPORT INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SP TRANSPORT LLC (MC1307761)         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SP TRUCKING LLC                      OR CAPITAL DEPOT 8930 N WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
SP7 ENTERPRISES LLC                  OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
SPA DE SOLEIL INC                    10443 ARMINTA ST SUN VALLEY CA 91352
SPA WORLD                            ATTN: IRIS VELAZQUEZ RETURNS 5701 NW 35TH AVE MIAMI FL 33142
SPACE 9 CORPORATION                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPACE CARGO INC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPACE CITY EXPRESS LLC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SPACE TRUCKING INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SPACEKAP                             ATTN: RM LOGISTIC 219 RUE SAINT GEORGES BELOEIL QC J3G 4N4 CANADA
SPACEWAY TRANSPORT L.L.C.            PO BOX 67 UNION MS 39365
SPADACCINO, ROBERT                   ADDRESS ON FILE
SPADAFORA, MICHAEL                   ADDRESS ON FILE
SPADAFORA, MICHAEL F                 ADDRESS ON FILE
SPADARO, JACK                        ADDRESS ON FILE
SPADER FREIGHT SVCS, INC.            SPADER FREIGHT SVCS INC PO BOX 76607 CLEVELAND OH 44101-6500
SPADY TRANSPORT LTD                  UNIT 159 17735 1ST AVE SURREY BC V3S 9S1 CANADA
SPAETH WELDING INC.                  321 WEST MISSOURI NEW BADEN IL 62265
SPAETH, JEREMY                       ADDRESS ON FILE
SPAGNUOLO, GERALD                    ADDRESS ON FILE
SPAGNUOLO, JOSEPH                    ADDRESS ON FILE
SPAHR, MICHAEL                       ADDRESS ON FILE
SPAIN, DEREK                         ADDRESS ON FILE
SPAIN, JEREMY                        ADDRESS ON FILE
SPALDING & SON INC                   PO BOX 430 GRANTS PASS OR 97528
SPALDING AND SON, INC.               ATTN: TED WATTS PO BOX 430 GRANTS PASS OR 97858
SPALDING AUTO PARTS                  SPALDING TRUCK DIVISION 10708 EAST KNOX AVENUE SPOKANE VALLEY WA 99206
SPALDING STRATEGIC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPALDING, THOMAS J                   ADDRESS ON FILE
SPALDING, WILLIAM                    ADDRESS ON FILE
SPAN ALASKA                          PO BOX 878 AUBURN WA 98071
SPAN ALASKA TRANSPORTATION           3815 W VALLEY HWY N AUBURN WA 98001
SPAN ALASKA TRANSPORTATION INC       PO BOX 101714 PASADENA CA 91189
SPAN ALASKA TRANSPORTATION INC       ATTN: LYNETTE BLANKENSHIP 3815 W VALLEY HWY N AUBURN WA 98001
SPAN, TRAMAIN                        ADDRESS ON FILE
SPANGENBERG, ALEX                    ADDRESS ON FILE
SPANGENBERG, ALEX E                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1786 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1795 of 2156

Claim Name                               Address Information
SPANGLER, MICHAEL                        ADDRESS ON FILE
SPANGLER, MICHAEL                        ADDRESS ON FILE
SPANGLER, MICHAEL R                      ADDRESS ON FILE
SPANKS, RYAN                             ADDRESS ON FILE
SPANN VALLEY EXPRESS TRANSPORT LLC       OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPANN, JAMES                             ADDRESS ON FILE
SPANN, NICHUEL                           ADDRESS ON FILE
SPANN, PATRICK                           ADDRESS ON FILE
SPANOMANOLIS, EMMANUEL D                 ADDRESS ON FILE
SPANOS, ATHANASIOS                       ADDRESS ON FILE
SPANSWICK, LINDA                         ADDRESS ON FILE
SPAR, RACHEL                             ADDRESS ON FILE
SPARACO, DAKOTA                          ADDRESS ON FILE
SPARACO, PHILLIP                         ADDRESS ON FILE
SPARC TRANSPORT                          765 IL-ROUTE 83, SUITE 105 BENSENVILLE IL 60106
SPARGO, MATTHEW                          ADDRESS ON FILE
SPARK EXPEDITED INC                      3660 GLENRIDGE DR SHERMAN OAKS CA 91342
SPARK EXPRESS LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SPARK PRIME LOGISTICS INC                2735 CARLSBAD CIR AURORA IL 60503
SPARKLE WASH CHARLOTTE                   D/B/A: POWER WASH CHARLOTTE 542 W 32ND ST CHARLOTTE NC 28206
SPARKLES INTERNATIONAL LLC               OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPARKLIGHT                               210 E EARLL DR PHOENIX 85012
SPARKLING MAINTENANCE SVCS CORPORATION   PO BOX 681657 HOUSTON TX 77268
SPARKMAN, DONALD                         ADDRESS ON FILE
SPARKMAN, STEVE L                        ADDRESS ON FILE
SPARKMAN, TROY                           ADDRESS ON FILE
SPARKS CARRIERS LLC                      OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SPARKS, AMBER                            ADDRESS ON FILE
SPARKS, ANTHONY                          ADDRESS ON FILE
SPARKS, BRENT                            ADDRESS ON FILE
SPARKS, JACQUELINE L                     ADDRESS ON FILE
SPARKS, MICHAEL G                        ADDRESS ON FILE
SPARKS, STEVEN                           ADDRESS ON FILE
SPARKY HY TRANSP LLC                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SPARKY HY TRANSP LLC                     2560 W 56 ST APT 407 HIALEAH FL 33016
SPARKYS MOBILE WASH LLC                  6298 HESS RD VASSAR MI 48768
SPARRE, SANDRA                           ADDRESS ON FILE
SPARTA TOWING & RECOVERY                 1381 S. EVERGREEN WHITE CLOUD MI 49349
SPARTACUS TRANSPORT                      12650 W 64 AVE UNIT E 433 ARVADA CO 80004
SPARTACUS TRANSPORT                      12650 W 64TH AVE UNIT E 433 ARVADA CO 80004
SPARTAN CARTAGE LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPARTAN ENTERPRISE LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SPARTAN EXPRESS INC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
SPARTAN FLEET SERVICES CORP.             9000 TALLYHO RD. HOUSTON TX 77061
SPARTAN GRAPHICS                         200 APPLEWOOD DR SPARTA MI 49345
SPARTAN ONSITE FLEET MAINTENANCE         5211 W GOSHEN AVE 182 OVAL CA 93291
SPARTAN PLUMBING SERVICES INC            760 107TH ST S TACOMA WA 98444
SPARTAN RESPONSE INC                     11-41 BROCKLEY DR HAMILTON ON L8E 3C3 CANADA
SPARTAN SERVICE GROUP                    5142 MADISON AVE, STE 7 INDIANAPOLIS IN 46227



Epiq Corporate Restructuring, LLC                                                                   Page 1787 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1796 of 2156

Claim Name                              Address Information
SPARTAN TRANSPORT LLC                   31520 TECLA DR WARREN MI 48088
SPARTAN TRANSPORTATION LLC              1487 E PEARCE BLVD WENTZVILLE MO 63385
SPARTAN TRUCK LINES                     2094 SOUTHERN EXPRESSWAY SUITE 1101 CAPE GIRARDEAU MO 63703
SPARTAN TRUCK REPAIR                    9000 TALLYHO DR. HOUSTON TX 77061
SPARTAN TRUCKING & LOGISTICS            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SPARTANSEP INC                          OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
SPARTECH LLC                            C/O SCHNEIDER LOGISTICS INC PO BOX 78158 MILWAUKEE WI 53278
SPARTON DE LEON SPRINGS LLC             5612 JOHNSON LAKE RD DE LEON SPRINGS FL 32130
SPATAFORA CHIROPRACTIC PC               PO BOX 184 LOMA CO 81524
SPATCO ENERGY SOLUTIONS                 PO BOX 896984 CHARLOTTE NC 28289
SPATCO ENERGY SOLUTIONS                 PO BOX 105328 ATLANTA GA 30348
SPATES, ANDRE                           ADDRESS ON FILE
SPATES, DESMEN                          ADDRESS ON FILE
SPATES, JORDAN                          ADDRESS ON FILE
SPATIAL CROSS INC                       469 1/2 GIANO AVE LA PUENTE CA 91744-5814
SPAULDING, DAVID                        ADDRESS ON FILE
SPAULDING-BUESCHER, KIMBERLY            ADDRESS ON FILE
SPB TRUCKING LLC                        OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
SPEAKES TRUCKING LLC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SPEAKS, MICHAEL                         ADDRESS ON FILE
SPEAR LOGISTICS LLC                     OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SPEAR TRANS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SPEAR TRANSPORTATION LLC                OR J D FACTORS, PO BOX 3428 PALOS VERDES CA 90274
SPEAR, HARRY                            ADDRESS ON FILE
SPEAR, MADISON                          ADDRESS ON FILE
SPEARMAN, LLOYD                         ADDRESS ON FILE
SPEARMAN, MARCUS                        ADDRESS ON FILE
SPEARMAN, RICHARD                       ADDRESS ON FILE
SPEARPOINT LOGISTICS LLC                PO BOX 50710 CASPER WY 82605
SPEARS, CAMERON                         ADDRESS ON FILE
SPEARS, CHARLES                         ADDRESS ON FILE
SPEARS, COURTNEY                        ADDRESS ON FILE
SPEARS, DINO                            ADDRESS ON FILE
SPEARS, MONA                            ADDRESS ON FILE
SPEARS, WILLIAM                         ADDRESS ON FILE
SPEARS-COBB, KIMBERLY                   ADDRESS ON FILE
SPECIAL BREED TRUCKING LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SPECIAL SERVICE FREIGHT COMPANY         OF THE CAROLINAS INC PO BOX 19508 CHARLOTTE NC 28219
SPECIALIZED INTERIORSYSTEMS             2882 15TH AVE. SW HUNTSVILLE AL 35805
SPECIALIZED TRANSPORT SOLUTIONS         128 HOLIDAY COURT SUITE 113 FRANKLIN TN 37067
SPECIALIZED TRANSPORTATION              AGENT GROUP, INC. PO BOX 71279 CHICAGO IL 60694
SPECIALIZED TRANSPORTATION SVCS, INC.   225 SAM GRIFFIN ROAD SMYRNA TN 37167
SPECIALTY DIETARY SUPPLEMENTS           C/O SCOTT BROOKS, 3069 W REDWOOD CT CHANDLER AZ 85286
SPECIALTY METALS CORP                   8300 S 206TH ST KENT WA 98032
SPECIALTY PRODUCTS & TECH               707 11TH ST NW FOSSTON MN 56542
SPECIALTY STEELS, INC.                  PO BOX 650 PIEDMONT SC 29673
SPECIFIED TECHNOLOGIES                  ATTN: BRANDEN ALVAREZ 210 EVANS WAY SOMERVILLE NJ 08876
SPECIFIED TECHNOLOGIES INC              210 EVANS WAY SOMERVILLE NJ 08876
SPECTIS MOULDERS INC                    ATTN: LUELLA ABRAMS PO BOX 970, 100 CEDAR DR NIVERVILLE MB R0A 1E0 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 1788 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1797 of 2156

Claim Name                              Address Information
SPECTOR, STEPHAN                        ADDRESS ON FILE
SPECTRAN, INC.                          2250 E. DEVON ELK GROVE VILLAGE IL 60007
SPECTRIO LLC                            PO BOX 890271 CHARLOTTE NC 28289
SPECTROTEL                              PO BOX 1949 NEWARK NJ 07101
SPECTROTEL                              3535 STATE RIYTE 66, STE 7 NEPTUNE NJ 07753-2625
SPECTRUM                                400 ATLANTIC ST STAMFORD CT 06901
SPECTRUM BRANDS                         ATTN: LISA SCUDDER 31100 W 196TH ST EDGERTON KS 66021
SPECTRUM FREIGHT                        OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPECTRUM HEALTH MEDICAL GROUP           SHMG OCCUPATIONAL HEALTH, PO BOX 2048 GRAND RAPIDS MI 49501
SPECTRUM LABS                           PO BOX 350414 BROOKLYN NY 11235
SPECTRUM LOGISTICS LLC                  1784 FADLEY RD WEYERS CAVE VA 24486
SPECTRUM PRODUCTION SERVICES, INC.      6510 SHINGLE CREEK PARKWAY MINNEAPOLIS MN 55430
SPECTRUM PRODUCTS                       7100 SPECTRUM LN MISSOULA MT 59808
SPECTRUM TRANSPORTATION CONSULTANTS     PO BOX 9336 FALL RIVER MA 02720
INC.
SPECTRUM TRANSPORTATION CONSULTANTS     ATTN: WAYNE K YEE, PRESIDENT 357 SOUTH MAIN ST FALL RIVER MA 02721
INC.
SPECTRUM-NICHOLS                        2647 MOMENTUM PLACE CHICAGO IL 60689
SPECTRUM-NICHOLS                        C\O NICHOLS PAPER & SUPPLY, CO 2647 MOMENTUM PL CHICAGO IL 60689
SPED-FAST TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SPEED CARRIER SERVICES CORP             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SPEED EXPRESS S K INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SPEED FORCE TRANSPORT                   1435 BONHILL RD, UNIT 37 MISSISSAUGA ON L5T 1V2 CANADA
SPEED FREIGHT INC                       1305 REMINGTON RD, STE U SCHAUMBURG 60173
SPEED FREIGHT INC (MC1127891)           OR FINANCIAL CARRIER SVCS, PO BOX 151052 OGDEN UT 84415
SPEED FREIGHT INC.                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SPEED GLOBAL SERVICES                   ATTN: MIKE BOVA 2299 KENMORE AVE BUFFALO NY 14207
SPEED HAULIER INC                       3422 FABRIZIO CT STOCKTON CA 95212
SPEED LOGISTICS LLC                     OR YANKTON FACTORING, PO BOX 217 YANKTON SD 57078
SPEED MOTOR EXPRESS OF W. N. Y., INC.   2299 KENMORE AVENUE BUFFALO NY 14207-1311
SPEED OF RIGHT LLC                      OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SPEED ON SPECIALIZED LLC                OR CCT FACTORING LLC, PO BOX 116999 ATLANTA GA 30368
SPEED ONE TRANSPORTATION INC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SPEED STAR EXPRESS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
SPEED STARS LOGISTICS INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SPEED TRANS INC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPEED TRANSIT LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SPEED TRANSPORT CORP                    OR TBS FACTORING SVC LLC, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SPEED TRUX LOGISTICS INC                12 WISHING WELL CR CALEDON ON L7C 3R2 CANADA
SPEED, MICHELLE                         ADDRESS ON FILE
SPEED1 TRANSPORT                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SPEEDEE OIL CHANGE &AUTO SERVICE        7005 E. COLFAX AVE. DENVER CO 80220
SPEEDEX                                 10S473 ECHO LN 2 WILLOWBROOK IL 60527
SPEEDEX FREIGHT                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPEEDEX FREIGHT                         OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75264-0267
SPEEDEX LLC                             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SPEEDHAWK CARRIER                       OR ELITE FACTOR GROUP 184 ROYAL APPIAN CR CONCORD ON L4K 5L7 CANADA
SPEEDING COBRA EXPRESS LLC              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SPEEDLINE LLC                           OR W W PAYMENT SYSTEM INC DEPT 996, PO BOX 14910 HUMBLE TX 77347-4910



Epiq Corporate Restructuring, LLC                                                                  Page 1789 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1798 of 2156

Claim Name                              Address Information
SPEEDMAX INC                            13132 VICKY ST PLAINFIELD IL 60585
SPEEDTECH LOGISTICS INC                 OR J D FACTORS CORP 315 MATHESON BLVD EAST MISSISSAUGA SK L4Z 1X8 CANADA
SPEEDWAY                                3004 111TH ST. NAPERVILLE IL 60564
SPEEDWAY CARRIERS LLC                   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
SPEEDWAY LOGISTICS INC (MC104921)       OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
SPEEDWAY TRANSPORT INC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPEEDWAY TRANSPORT INCORPORATED         OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPEEDWAY TRANSPORTATION LLC             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPEEDWAY TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SPEEDWELL TARGETS                       869 A STATE RT 12 FRENCHTOWN NJ 08825
SPEEDWRENCH                             ALL PHASE HYDRAULICS & MACHINE 3364 QUINCY ST HUDSONVILLE MI 49426
SPEEDWRENCH                             SPEEDWRENCH INC, 3364 QUINCY STREET HUDSONVILLE MI 49426
SPEEDX TRANSPORT                        62 SELBY ROAD BRAMPTON ON L6W 3L4 CANADA
SPEEDY CLEAN DRAIN & SEWER              1380 EARL STREET MENASHA WI 54952
SPEEDY CREEK MECHANICAL                 PO BOX 301 SWIFT CURRENT SK S9H 3V8 CANADA
SPEEDY DELIVERY LLC                     901 AARON DR RICHLAND WA 99352
SPEEDY FREIGHT CARRIER INC              3205 MINERAL RIDGE CT STONE MOUNTAIN GA 30087
SPEEDY GLASS                            BELRON CANADA INC, 8288 PIE IX BLVD MONTREAL QC H1Z 3T6 CANADA
SPEEDY GLASS                            DIVISION OF BELRON CANADA INC 8288 PIE IX BLVD MONTREAL QC H1Z 3T6 CANADA
SPEEDY GO TRANSPORTATION LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
SPEEDY HAYES TRUCKING LLC               OR PORTER BILLING SVCS LLC PO BOX 440127 NASHVILLE TN 37244
SPEEDY PLUMBING & DRAIN                 1545 NATURA STREET SALT LAKE CITY UT 84104
SPEEDY PLUMBING & DRAIN                 120 E VINE STREET MURRAY UT 84107
SPEEDY ROOTER & SON LLC                 P.O. BOX 294 DOVER PA 17315
SPEEDY TEAM EXPRESS INC                 OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
SPEEDY TRANSPORT                        265 RUTHERFORD ROAD SOUTH BRAMPTON ON L6W 1V9 CANADA
SPEEDY TRANSPORT GROUP INC              265 RUTHERFORD RD SOUTH BRAMPTON ON L6W 1V9 CANADA
SPEEDY TRANSPORTATION LLC               3721 SOUTH 286TH ST AUBURN WA 98001
SPEEDY TRANSPORTATION LLC (MC1140626)   OR RDS FUNDING LLC 500 W PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
SPEEDY WHEELS TRANSPORT,LLC             10150 KENTUCKY AVE MARSHALL MO 65340
SPEEDY, CORY                            ADDRESS ON FILE
SPEEDY-PAK INC                          PO BOX 1922 MYRTLE BEACH SC 29578
SPEEDYS EMPIRE LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SPEEDYS TOWING & RECOVERY LLC           12037 E PINE ST TULSA OK 74116
SPEEGLE, ALEAHA                         ADDRESS ON FILE
SPEELMAN, RICHARD                       ADDRESS ON FILE
SPEELMAN, RICHARD E                     ADDRESS ON FILE
SPEERS, RYAN                            ADDRESS ON FILE
SPEESE, CRAIG                           ADDRESS ON FILE
SPEICHER, DAVID                         ADDRESS ON FILE
SPEIGHT, CLIFTON                        ADDRESS ON FILE
SPEIGHT, DANIEL                         ADDRESS ON FILE
SPEIGHTS, MARK                          ADDRESS ON FILE
SPEIRS, COLONEL                         ADDRESS ON FILE
SPEIRS, TOMMY                           ADDRESS ON FILE
SPELL DISTRIBUTION INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPELLMAN, MAX                           ADDRESS ON FILE
SPENCE FREIGHT LLC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SPENCE TRUCKING INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076



Epiq Corporate Restructuring, LLC                                                                  Page 1790 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1799 of 2156

Claim Name                           Address Information
SPENCE, DAVID                        ADDRESS ON FILE
SPENCE, JAMES                        ADDRESS ON FILE
SPENCE, MARK                         ADDRESS ON FILE
SPENCE, MARY                         ADDRESS ON FILE
SPENCE, STEVEN                       ADDRESS ON FILE
SPENCE, TAD M                        ADDRESS ON FILE
SPENCE, TENA J                       ADDRESS ON FILE
SPENCE, TENA J                       ADDRESS ON FILE
SPENCER INDUSTRIES                   902 BUFFALOVILLE RD DALE IN 47523
SPENCER PRODUCTS COMPANY             1181 HILLSMITH DR. CINCINNATI OH 45215
SPENCER TRANSPORTATION SVCS          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SPENCER, BOB                         ADDRESS ON FILE
SPENCER, BRIAN                       ADDRESS ON FILE
SPENCER, BRINN L                     ADDRESS ON FILE
SPENCER, DARREN                      ADDRESS ON FILE
SPENCER, DAWAYNE                     ADDRESS ON FILE
SPENCER, DONAVYN                     ADDRESS ON FILE
SPENCER, FRANK                       ADDRESS ON FILE
SPENCER, GREGORY                     ADDRESS ON FILE
SPENCER, GREGORY                     ADDRESS ON FILE
SPENCER, JERMAINE                    ADDRESS ON FILE
SPENCER, JERRY                       ADDRESS ON FILE
SPENCER, JESSE                       ADDRESS ON FILE
SPENCER, JOHN                        ADDRESS ON FILE
SPENCER, JOHN W                      ADDRESS ON FILE
SPENCER, JOHNATHAN                   ADDRESS ON FILE
SPENCER, LAWRENCE D                  ADDRESS ON FILE
SPENCER, LORENZO                     ADDRESS ON FILE
SPENCER, MARK                        ADDRESS ON FILE
SPENCER, MINOR                       ADDRESS ON FILE
SPENCER, ORTEGA                      ADDRESS ON FILE
SPENCER, RICHARD                     ADDRESS ON FILE
SPENCER, RODNEY                      ADDRESS ON FILE
SPENCER, RODNEY                      ADDRESS ON FILE
SPENCER, RUTH                        ADDRESS ON FILE
SPENCER, RYAN                        ADDRESS ON FILE
SPENCER, STACY                       ADDRESS ON FILE
SPENCER, WILLIAM                     ADDRESS ON FILE
SPENCER-BURT, ELIJAH                 ADDRESS ON FILE
SPENSKO, TRESSA                      ADDRESS ON FILE
SPENSLEY, JAMES                      ADDRESS ON FILE
SPERA, DAN                           ADDRESS ON FILE
SPERRY, JUSTIN                       ADDRESS ON FILE
SPERRY, MARCUS                       ADDRESS ON FILE
SPERTZEL, RODNEY                     ADDRESS ON FILE
SPETS, RONALD                        ADDRESS ON FILE
SPHERION STAFFING LLC                15552 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
SPHERION STAFFING LLC                62929 COLLECTION CENTER DR CHICAGO IL 60693
SPI HEALTH AND SAFETY INC.           C/O ACCOUNTING 60 GASTON - DUMOULIN BLAINVILLE QC J7C 0A3 CANADA



Epiq Corporate Restructuring, LLC                                                            Page 1791 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1800 of 2156

Claim Name                           Address Information
SPI WESTPORT INC                     ATTN: IRENE ZHENG 377 SWIFT AVE S SAN FRANCISCO CA 94080
SPICE PRODUCTS COMPANY               344 NEW ALBANY RD MOORESTOWN NJ 08057
SPICER FARMS INC.                    OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPICER MAINTENANCE                   2797 STATE ROUTE 345 NE NEW LEXINGTON OH 43764
SPICER MAINTENANCE                   2797 STATE ROUTE 345 NE LEXINGTON OH 44904
SPICER, DANIEL                       ADDRESS ON FILE
SPICER, LEE                          ADDRESS ON FILE
SPICER, TONY                         ADDRESS ON FILE
SPICERS CANADA ULC                   200 GALCAT DR VAUGHAN ON L4L 0B9 CANADA
SPICERS PAPER NORTHWEST              14209 E 35TH PL STE 103 AURORA CO 80011
SPICEWORKS LLC                       3641 NW FRONT AVE PORTLAND OR 97210
SPICY, DOMINICK                      ADDRESS ON FILE
SPIDEL, DOUGLAS                      ADDRESS ON FILE
SPIDER LOGISTICS                     2202 W 166TH ST MARKHAM IL 60428
SPIDER LOGISTICS                     C/O ARKA EXPRESS 2202 W 166TH STREET MARKHAM IL 60428-5671
SPIDIMAX LLC                         OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPIEGNER, SINQUE                     ADDRESS ON FILE
SPIELBERGER LAW GROUP                4890 W KENNEDY BLVD TAMPA FL 33609
SPIERING, JOSEPH                     ADDRESS ON FILE
SPIESMAN, MARK                       ADDRESS ON FILE
SPIKES, REGINALD                     ADDRESS ON FILE
SPILLAWYN TRUCKING LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SPILLMAN, MATTHEW                    ADDRESS ON FILE
SPILLTECH ENVIRONMENTAL, IC          4730 EASTPARK DRIVE HOUSTON TX 77028
SPILMAN, GREGORY                     ADDRESS ON FILE
SPILSKI, TINA                        ADDRESS ON FILE
SPIN EXPRESS INC                     100 W BUTTERFIELD RD, STE 306 N ELMHURST IL 60126
SPIN LOGISTICS INC                   OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
SPIN TRUCKING                        DBA BLACK AND WHITE DOMESTIC LLC 2100 SOUTHBRIDGE PKWY STE 650 BIRMINGHAM AL
                                     35209
SPINAZZOLA, ANTHONY                  ADDRESS ON FILE
SPINE LOGISTICS INC                  OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPINELLA, CYNTHIA                    ADDRESS ON FILE
SPINKS EXPRESS SERVICES              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPINKS, ROBERT                       ADDRESS ON FILE
SPINNAKER NINE LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPINNEY, RYAN                        ADDRESS ON FILE
SPINNING ARROW TRANSPORT LLC         OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPINNING LUGNUTS INCORPORATED        OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SPINNING WHEELS EXPRESS              152 LYNNWAY SUITE 2-D LYNN MA 01902
SPIRAL BINDING LLC                   ATTN: FAHEEM CHAUDHRY 1 MALTESE DR TOTOWA NJ 07512
SPIRE                                700 MARKET ST, FL 4 SAINT LOUIS MO 63101-1829
SPIRES, CAMERON                      ADDRESS ON FILE
SPIRIT LOGISTICS LLC (MC1377377)     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
SPIRIT OF HALLOWEEN                  6562 S. STATE STREET SALT LAKE CITY UT 84107
SPIRIT TRANSPORT LLC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPIRO, ALEXANDRIA                    ADDRESS ON FILE
SPITALE, CO.                         360 MORRIS SCHOOL ROAD SEARCY AR 72143
SPITLER, KEVIN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1792 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1801 of 2156

Claim Name                              Address Information
SPITZER, RYAN                          ADDRESS ON FILE
SPITZIG, TAYLOR                        ADDRESS ON FILE
SPIVERY, MAURICE                       ADDRESS ON FILE
SPIVEY TRANSPORT LLC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPIVEY, BRAD                           ADDRESS ON FILE
SPIVEY, JOHN                           ADDRESS ON FILE
SPIVEY, JOY                            ADDRESS ON FILE
SPIVY, TIMOTHY                         ADDRESS ON FILE
SPK TRANSPORT INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPL TRANSPORT LLC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPLENDID HAULING LLC                   619 ARLINGTON AVE MANSFIELD 44903
SPLENDID TRUCKING LLC                  OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPLENDOUR TRUCKING LTD                 24 CAIRNBURG DR BRAMPTON ON L6P 1X5 CANADA
SPLIT DECISION TRANSPORT               PO BOX 58285 FAYETTEVILLE NC 28301
SPLIT DECISION TRANSPORT               OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPLONSKI, PAUL                         ADDRESS ON FILE
SPLONSKI, PAUL J                       ADDRESS ON FILE
SPN CARGO INC                          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
SPOELMAN, KURT                         ADDRESS ON FILE
SPOERL TRUCKING INC                    W1307 INDUSTRIAL DRIVE IXONIA WI 53036
SPOERLE, RICHARD                       ADDRESS ON FILE
SPOHN, MASON                           ADDRESS ON FILE
SPOKANE COUNTY TREASURER               PO BOX 199 SPOKANE WA 99210
SPOKANE PUMP, INC.                     3626 E. TRENT SPOKANE WA 99202
SPOKANE TIN & SHEET IRON WORKS INC     MANUFACTURERS AND CONTRACTORS E 3807 FERRY AVENUE SPOKANE WA 99202
SPOLIER TRANSPORT CORP                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SPONABLE, RANDALL                      ADDRESS ON FILE
SPONAUGLE, ANTHONY                     ADDRESS ON FILE
SPONAUGLE, DAVID                       ADDRESS ON FILE
SPONGBERG, JAY                         ADDRESS ON FILE
SPOONER & SON TRANSPORT LLC            OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267
SPOONER, SHAWN P                       ADDRESS ON FILE
SPOONIRE, MARK                         ADDRESS ON FILE
SPORT TRANS LLC                        290 BYBERRY RD UNIT 1 PHILADELPHIA PA 19116-3224
SPORT TRANS LLC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPORTS LOGISTICS INC                   OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SPORTS TRUCKING LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
SPORTS, DIANNE                         ADDRESS ON FILE
SPOSATO, ALBERT                        ADDRESS ON FILE
SPOSATO, JOSHUA                        ADDRESS ON FILE
SPOT EDGE TRUCKING INC                 OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPOT EDGE TRUCKING INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SPOT ON SEPTIC LLC                     3412 HWY 30 LA GRANDE OR 97850
SPOTLESS COMMERCIAL POWER WASH AND MORE 2439 SAWGRASS ST EL CAJON CA 92019
SPOTLIGHT TRUCKING LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SPOTON LOGISTICS                       OR AVA FINANCIAL GROUP INC 273 MOORE PARK AVENUE TORONTO SK M2M 1N5 CANADA
SPOTTS, ED                             ADDRESS ON FILE
SPOTTSWOOD, JOHN                       ADDRESS ON FILE
SPP DISTRIBUTORS 536A                  7565 COMMERCIAL WAY STE A HENDERSON NV 89011



Epiq Corporate Restructuring, LLC                                                                 Page 1793 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1802 of 2156

Claim Name                           Address Information
SPR                                  INDUSTRIAL TRANSPORTATION CONSULT 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
SPR SEATTLE DC                       ATTN: LANA MOSKVICH 1100 ANDOVER PARK W TUKWILA WA 98188
SPR TRUCKING INC                     OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
SPRADLIN, ANTHONY                    ADDRESS ON FILE
SPRADLIN, RANDALL                    ADDRESS ON FILE
SPRADLING, LORI                      ADDRESS ON FILE
SPRAGGINS, MARKEISHA                 ADDRESS ON FILE
SPRAGLIN, SCOTT                      ADDRESS ON FILE
SPRAGUE, CHRISTOPHER                 ADDRESS ON FILE
SPRAGUE, FERRIS                      ADDRESS ON FILE
SPRAGUE, GARY                        ADDRESS ON FILE
SPRAGUE, MICHAEL                     ADDRESS ON FILE
SPRANGERS, TREVOR                    ADDRESS ON FILE
SPRATLING TURF MANAGEMENT            PO BOX 1147 MT PLEASANT NC 28124
SPRATT TRANSPORT LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SPRAY-TECH INC                       PO BOX 1579 BOLINGBROOK IL 60440
SPREAD THE LOVE                      C/O ECHO GLOBAL 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SPREADBURY, FRANK                    ADDRESS ON FILE
SPREEMAN, JEFFERY                    ADDRESS ON FILE
SPREEN AND SONS TRUCKING, LLC        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SPREETAIL LLC                        2021 TRANSFORMATION DR, SUITE 2500 LINCOLN NE 68508
SPRENKLE, HAROLD                     ADDRESS ON FILE
SPRIGGS, JAMES                       ADDRESS ON FILE
SPRINDYS, VICTOR                     ADDRESS ON FILE
SPRING BRANCH LOGISTICS LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SPRING CREEK CARRIERS LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
SPRING GROVE CEMETERY                785 EAST WASHINGTON ST. MEDINA OH 44256
SPRING REBUILDERS, INC.              111 SOUTHWEST CUTOFF WORCESTER MA 01604
SPRINGATE, BRANDON                   ADDRESS ON FILE
SPRINGBROOK EXPRESS, LLC             PO BOX 205 NEW AUBURN WI 54757
SPRINGDALE WATER GARDENS             ATTN: TISH FOLSOM PO BOX 546 GREENVILLE VA 24440
SPRINGDALE WATER UTILITIES           526 OAK AVE SPRINGDALE AR 72764
SPRINGER PROFESSIONAL HOME SER       1320 NE 60TH AVE DES MOINES IA 50313
SPRINGER, ANDREW                     ADDRESS ON FILE
SPRINGER, KIM                        ADDRESS ON FILE
SPRINGER, KURTIS                     ADDRESS ON FILE
SPRINGER, RICK                       ADDRESS ON FILE
SPRINGER, SCOTT                      ADDRESS ON FILE
SPRINGER, STEPHANIE                  ADDRESS ON FILE
SPRINGER, TIM                        ADDRESS ON FILE
SPRINGFIELD ALUMINUM CO              ATTN: CINDY STANLEY 1093 CYNTHIA ST NIXA MO 65714
SPRINGFIELD CARTAGE, LLC             OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SPRINGFIELD ELECT/VALLEY ELEC        1361 N STATE ROAD 67 VINCENNES IN 47591
SPRINGFIELD ELECTRIC                 5550 CAREY AVE DAVENPORT IA 52807
SPRINGFIELD ELECTRIC                 ATTN: BRAD FITCH 901 N MATTIS AVE CHAMPAIGN IL 61821-2447
SPRINGFIELD ELECTRIC                 ATTN: APRIL SINNOCK 2009 JENNIFER LN QUINCY IL 62301
SPRINGFIELD ELECTRIC SUPPLY          ATTN: LORI GRANNAN 1361 N STATE ROAD 67 VINCENNES IN 47591
SPRINGFIELD FREIGHTLINER SALES       PO BOX 418050 KANSAS CITY MO 64141
SPRINGFIELD PAVING                   10 CAAJM RD CLAREMONT NH 03743



Epiq Corporate Restructuring, LLC                                                               Page 1794 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1803 of 2156

Claim Name                           Address Information
SPRINGFIELD SAME DAY                 EXPRESS DELIVERY, LLC PO BOX 8823 SPRINGFIELD MO 65801
SPRINGFIELD SIGN & NEON              ATTN: JOSH BELL 4825 E KEARNEY ST SPRINGFIELD MO 65803
SPRINGFIELD, CANDACE                 ADDRESS ON FILE
SPRINGHILL EMS                       48 BRICK CHURCH ROAD SPRING VALLEY NY 10977-2120
SPRINGS AND SUSPENSION, INC          PO BOX 403 CONLEY GA 30288
SPRINGS WINDOW FASHION DIV INC       ATTN: BRITTANY NOLTY 75490 GRABER RD MIDDLETON WI 53562
SPRINGS WINDOW FASHIONS              AFS LOGSITICS, PO BOX 18170 SHREVEPORT LA 71138
SPRINGS WINDOW FASHIONS LLC          7549 GRABER ROAD MIDDLETON WI 53562
SPRINGS WINDOW FASHIONS0060095393)   PO BOX 945792 ATLANTA GA 30394
SPRINGS, CHARLES                     ADDRESS ON FILE
SPRINGS, SAMUEL                      ADDRESS ON FILE
SPRINGS, TELLY                       ADDRESS ON FILE
SPRINGS, VODERICK                    ADDRESS ON FILE
SPRINGSTON, MITCH                    ADDRESS ON FILE
SPRINKLE, MARTY                      ADDRESS ON FILE
SPRINKLE, PAUL                       ADDRESS ON FILE
SPRINKLE, WANDA                      ADDRESS ON FILE
SPRINT                               PO BOX 4181 CAROL STREAM IL 60197
SPRINT                               PO BOX 219903 KANSAS CITY MO 64121
SPRINT                               6200 SPRINT PKWY OVERLAND PARK KS 66251-6117
SPRINT TRANSPORTATION LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SPRINTER SERVICES INC                2900 DIXIE AVE SW GRANDVILLE MI 49418
SPRINTING DELIVERY SERVICE LLC       OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
SPROCK, RAINA                        ADDRESS ON FILE
SPROLING, WILLIAM                    ADDRESS ON FILE
SPRONG, RANDY                        ADDRESS ON FILE
SPROUSE FIRE & SAFETY (1996) CORP    38, 5329 72 AVENUE S E CALGARY AB T2C 4X6 CANADA
SPROUSE, CHRIS                       ADDRESS ON FILE
SPROUT, CURTIS                       ADDRESS ON FILE
SPRUCE TRUCKING LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SPRUILL, ALBERT                      ADDRESS ON FILE
SPRUILL, JERMAINE                    ADDRESS ON FILE
SPRUILLE, MAURICE                    ADDRESS ON FILE
SPRY, CHARLES                        ADDRESS ON FILE
SPRY, DARLIE                         ADDRESS ON FILE
SPRY, JOELLA                         ADDRESS ON FILE
SPS TRUCKING INC                     OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SPUNSTRAND INC                       60662 FRONTAGE RD WALLACE ID 83873
SPURGEON, EARNEST                    ADDRESS ON FILE
SPURGEON, JASON                      ADDRESS ON FILE
SPURGEON, ROGER                      ADDRESS ON FILE
SPURGIN, WILLIAM                     ADDRESS ON FILE
SPURLING, ROBERT                     ADDRESS ON FILE
SPURLING, ROBERT W                   ADDRESS ON FILE
SPURLOCK, GARY                       ADDRESS ON FILE
SPURLOCK, KAYLAND                    ADDRESS ON FILE
SPURRELL, ARTHUR                     ADDRESS ON FILE
SPUTNIK CARRIERS INC                 14 MERLIN DRIVE MERLIN DRIVE BRAMPTON ON L6P 1E9 CANADA
SPV LOGISTICS INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1795 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1804 of 2156

Claim Name                           Address Information
SQC LOGISTICS INC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SQP                                  C/O TECH LOGISTICS, 300 ELM ST UNIT 1 MILFORD NH 03055
SQUARE DEAL SHIPPING LLC             OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
SQUARE ONE TRANSPORT, LLC            380 LANDON RD BOURBON MO 65441
SQUARE ONE TRUCKING, LLC             OR ENGLAND CARRIER SVCS, PO BOX 953086 ST LOUIS MO 63195-3086
SQUARE TRANS INC                     OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SQUARE TRANSPORTATION SOLUTION INC   OR ASSIST FINANCIAL SVCS INC PO BOX 347 MADISON SD 57042
SQUARE WORK TRANSPORTATION           OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SQUEO, FRANK J                       ADDRESS ON FILE
SQUIRE, DEJUAN M                     ADDRESS ON FILE
SQUIRE, JASON                        ADDRESS ON FILE
SQUIRES, KATIE J                     ADDRESS ON FILE
SQUIRES, NEIL                        ADDRESS ON FILE
SQUIRES, SCOTT G                     ADDRESS ON FILE
SQUIRES, TRISTAN                     ADDRESS ON FILE
SQUYRES, WYATT C                     ADDRESS ON FILE
SR & SONS                            OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
SR COMPONENTS                        3590 OCEANSIDE RD STE A OCEANSIDE NY 11572
SR STAR TRUCKING LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SRA TRANS INC                        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674
SRAN LOGISTICS INC                   12158 LAKELAND ROAD NORWALK CA 90650
SRB SOLUTION INC                     OR VERO BUSINESS CAPITAL, PO BOX 639565 CINCINNATI OH 45263-9565
SRB TRANSPORT INC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261
SRB TRANSPORT LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SRC AUTOMOTIVE                       ATTN: REBECCA FROST PURCHASING 4431 W CALHOUN ST SPRINGFIELD MO 65802
SRC LOGISTICS                        ATTN: DANA FRAHER PO BOX 9147 SPRINGFIELD MO 65801
SRC LOGISTICS                        ATTN: GAYLA VAN HISE PO BOX 9147 SPRINGFIELD MO 65801
SRD FREIGHT INC                      OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SRG FREIGHT LINES INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SRIDHAR, SRINIVAS                    ADDRESS ON FILE
SRIDHAR, SRINIVAS                    ADDRESS ON FILE
SRINIVASAN, HEMAMALINI               ADDRESS ON FILE
SRITHARAN, SRI                       ADDRESS ON FILE
SRITHARAN, SRI                       ADDRESS ON FILE
SRM LOGISTICS LLC                    OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
SRMK LOGISTICS                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SRO LOGISTICS LLC                    OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SROCZYK, RENEE                       ADDRESS ON FILE
SROYA TRANSPORT INC                  8040 CAYMUS DR SACRAMENTO CA 95829
SRP                                  1500 N MILL AVE TEMPE AZ 85288
SRR TRANSPORT                        10 CASTLEROCK COVE STEINBACH MB R5G 2B1 CANADA
SRS CARRIERS LLC                     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO
                                     IL 60674-0411
SRS DISTRIBUTION, INC.               625 S. PERRY LANE TEMPE AZ 85281
SRS SIGNS & SERVICE INC              1520 NOTRE DAME WINNIPEG MB R3E 0P9 CANADA
SRS TRANSPORTATION INC               2011 N PARISH PL BURBANK CA 91504
SRT                                  PO BOX 2027 MINOT ND 58702
SRT                                  3615 NORTH BROADWAY MINOT ND 58703
SRT INC                              OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                               Page 1796 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1805 of 2156

Claim Name                               Address Information
SRT TRUCKING LLC                         132 AURORA SPRINGS DR KATY TX 77493
SRT8 TRUCKING LLC                        OR TRIUMPH BUS. CAPITAL, PO BOX 610028 DALLAS TX 75261-0028
SRV TRANSPORT LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SRYNIAWSKI, TRACY                        ADDRESS ON FILE
SS BAJWA TRANSPORT INC                   OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SS CARRIER INC                           OR RTS FINANCIAL SVC INC, PO BOX 840267 DALLAS TX 75284
SS EXPRESS                               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SS KNOWLES TRUCKING LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
SS LANDSCAPING SERVICES, INC.            10219 PORTLAND AVENUE, SUITE D TACOMA WA 98445
SS SINGH TRUCKING INC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SS SKIKOS ENTERPRISES LLC                1289 SEBASTOPOL RD SANTA ROSA CA 95407
SS SVC INC                               2435 NORTH CENTRAL EXPRESSWAY, STE 1200 RICHARDSON TX 75080
SS TRANSPORT LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SS TRANSPORT LLC (MAYER MN)              OR ASSIST FINANCIAL SVCS INC PO BOX 347 MADISON SD 57042
SS TRANSPORT LLC (MC925981)              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SS TRANSPORTATION INC                    12612 SOUTH RACE STREET OLATHE KS 66061
SS TRANSPORTATION LLC                    410 MAIN ST HARTLAND MN 56042
SS UNITED INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SSB&T/CLIENT CUST SVCS (2678)            ATT PROXY DEPT 1776 HERITAGE DR NORTH QUINCY MA 02171
SSC TRUCKING LLC                         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SSD TRANS INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SSEBBOWA, ISRAEL                         ADDRESS ON FILE
SSECO                                    P.O. BOX 74425 CLEVELAND OH 44194
SSEMU TRUCKING INC                       119 DRUM HILL ROAD APT 221 CHELMSFORD MA 01824
SSESANGA ENTERPRISES INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SSI                                      DBA SPENCER STUART, PO BOX 98991 CHICAGO IL 60693
SSI INCORPORATED OF NORTHWEST ARKANSAS   400 JEAN MARY AVE SPRINGDALE AR 72762
SSI SURVELLANCE SYSTEMS INCORPORATED     4465 GRANITE DR 700 ROCKLIN CA 95677
SSJ LOGISTICS LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SSJ TRUCKING INC                         50559 GRANT ST CANTON MI 48188
SSK TRUCKING, LLC                        120 MILL RACE DRIVE EASTON PA 18045
SSLR LOGISTICS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SSM FREIGHT LLC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SSM TRANSPORTATION LLC                   17774 W BUCHANAN ST GOODYEAR AZ 85338
SSP TRANS INC                            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SSP TRANSPORT & LOGISTICS INC            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
SSP TRANSPORT INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SSP TRANSPORT LLC                        OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
SSP TRUCK LINE INC                       11 FOOT CRES CAMBRIDGE ON N1R 8M5 CANADA
SSR EXPRESS LLC                          3922 GLENMEADOW DR MATTHEWS NC 28105
SSS EXPRESS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SSS TRANSPORTATION LLC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SST EXPRESS LLC                          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SSTS TRUCKING INC                        CARLOS HURTADO 8787 JOLIET ROAD MCCOOK IL 60525
SSV US EXPRESS LLC                       OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ST & R TRUCKING INC                      OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ST AMAND, ANTHONY                        ADDRESS ON FILE
ST AMAND, KENNETH                        ADDRESS ON FILE
ST AMAND, ROLAND                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1797 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1806 of 2156

Claim Name                             Address Information
ST CLAIR COUNTY CLERK                  10 BUBLIC SQUARE BELLEVILLE IL 62220
ST CLAIR, JERRID                       ADDRESS ON FILE
ST CLAIR, MARK                         ADDRESS ON FILE
ST ELECTRIC LLC                        106 INTERNATIONAL BLVD. SUITE 4A MISSION TX 78572
ST GEORGE FREIGHT LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ST GEORGE TRANSPORTATION LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ST GERMAIN, DANA                       ADDRESS ON FILE
ST GERMAINS WAREHOUSE CO. INC.         PO BOX 116 WOONSOCKET RI 02895
ST JACQUES, RENOLD                     ADDRESS ON FILE
ST JAMES TRANSPORTS LLC                PO BOX 419 ST JAMES MO 65559
ST JOHN LOGISTICS LLC                  6954 W LOCKE POINT DR NE FRIDLEY MN 55432
ST JOHN, JEFFREY                       ADDRESS ON FILE
ST JOHNS TRUCK & EQUIPMENT             D/B/A: ST JOHNS TRUCK & EQUIPMENT REPAIR 8435 N CRAWFORD ST PORTLAND OR 97203
ST JOHNS TRUCK & EQUIPMENT REPAIR      8435 N CRAWFORD ST PORTLAND OR 97203
ST JOSEPH COUNTY HEALTH DEPT           9TH FLR COUNTY CITY BLDG 227 W JEFFERSON BLVD SOUTH BEND IN 46601
ST JOSEPH COUNTY TREASURER             PO BOX 4758 SOUTH BEND IN 46634
ST JOSEPH COUNTY TREASURER             PO BOX 4758 SOUTH BEND IN 46634-4758
ST JOSEPHS CANDLER URGENT CARE LLC     PO BOX 415000 MSC 8071 NASHVILLE TN 37241
ST JULIEN, STANLEY                     ADDRESS ON FILE
ST LOUIS MAT & LINEN CO                P.O. BOX 411934 ST. LOUIS MO 63141
ST LOUIS PALLETS INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ST LOUIS ROOFING CO INC                1722 OLIVE ST SUITE 203 SAINT LOUIS MO 63103
ST LOUIS SERVICES LTD                  4560 34A STREET SE CALGARY AB T2B 3L7 CANADA
ST LOUIS, MICKEY                       ADDRESS ON FILE
ST LUKES                               PO BOX 1012 BOISE ID 83701
ST LUKES HOSPITAL & HEALTH NE          PO BOX 5489 BETHLEHEM PA 18015
ST MARTIN, DOUGLAS                     ADDRESS ON FILE
ST MARY LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ST MARYS CARTAGE LTD                   OR IPS INVOICE PAYMENT SYSTEM PO BOX 77226 MISSISSAUGA ON L5T2P4 CANADA
ST MICHAEL FREIGHT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ST MICHAEL TRANSPORTATION LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ST MICHAEL TRUCKING INC                OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
ST PAUL AUTO DEALERS & DISTRICT 77 -   JOINT FUND 3001 METRO DR SUITE 500, MAILSTOP 1 BLOOMINGTON MN 55425
ST PETE TRUCKING INC                   5314 LEAVERS CT ROSEDALE MD 21237
ST RITAS OCCUPATIONAL HEALTH CENTER    1875 S DIXIE HIGHWAY LIMA OH 45804
ST TRANSPORT LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ST TRANSPORTATION LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ST TRUCKING INC                        2501 ALEXANDRA DR CARMEL IN 46074
ST VINCENT EVANSVILLE                  OCCUPATIONAL MEDICINE 801 ST MARYS DRIVE 406E EVANSVILLE IN 47714-0524
ST VINCENT EVANSVILLE                  OCCUPATIONAL MEDICINE 14020 OLD STATE RD EVANSVILLE IN 47725
ST. AMAND, BERTHONY                    ADDRESS ON FILE
ST. ANN TRANSPORTATION, INC.           PO BOX 485, PO BOX 485 FORT ANN NY 12827
ST. CHARLES TRUCKING, INC.             OR WSB DEPT 0230, PO BOX 5905 CAROL STREAM IL 60197-5905
ST. CLAIR SERVICES OF ILLINOIS LLC     6020 E WILLIAM ST DECATUR IL 62521
ST. CLOUD SPRINKLER CO INC             P.O. BOX 639 SAINT CLOUD MN 56302
ST. ESPRIT, DONALD                     ADDRESS ON FILE
ST. JEROME CATHOLICCHURCH              995 SILVER LAKE ST OCONOMOWOC WI 53066
ST. JOHN, WAYNE                        ADDRESS ON FILE
ST. JOSEPH COUNTY (SOUTH BEND), IN     COUNTY- CITY BUILDING 227 WEST JEFFERSON BLVD, SUITE 722 SOUTH BEND IN 46601



Epiq Corporate Restructuring, LLC                                                                 Page 1798 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1807 of 2156

Claim Name                           Address Information
ST. JOSEPH COUNTY (SOUTH BEND), IN   PO BOX 4758 SOUTH BEND IN 46634-4758
ST. JOSEPH COUNTY HEALTH             DEPARTMENT, 227 WEST JEFFERSON BLVD SOUTH BEND IN 46601
ST. LUKES HOSPITAL                   P.O. BOX 5489 BETHLEHEM PA 18015
ST. MARYS MEDICAL GROUP              4017 ATLANTA HWY, STE B ATHENS GA 30606
ST. PAUL FIRE & MARINE INSURANCE     REDSTONE COMMERCIAL 5401 W. KENNEDY BLVD. 720 TAMPA FL 33609
COMPANY
ST. PIERRE, ALEX                     ADDRESS ON FILE
STAABY, DAVID                        ADDRESS ON FILE
STAAR TRUCKING LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
STAATS, BRADY                        ADDRESS ON FILE
STABENOW, DOUGLAS                    ADDRESS ON FILE
STABLEIN, MARK                       ADDRESS ON FILE
STABLER, JACOB                       ADDRESS ON FILE
STABLEY, BRUCE                       ADDRESS ON FILE
STABOND CORP                         1722 W 139TH ST GARDENA CA 90249
STACEY B REMINGTON                   ADDRESS ON FILE
STACEY, JOHN                         ADDRESS ON FILE
STACHIW, STEVE                       ADDRESS ON FILE
STACHLER, CODY                       ADDRESS ON FILE
STACHOWIAK, CARI                     ADDRESS ON FILE
STACK THE DECK TRANSPORTATION        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
STACK, ALLAN                         ADDRESS ON FILE
STACK, MARK                          ADDRESS ON FILE
STACK, SOMER                         ADDRESS ON FILE
STACKED LOGISTICS, INC.              5421 INDUSTRIAL DRIVE SOUTH PINE BLUFF AR 71602
STACKED ODDS TRUCKING LLC            1608 POPLAR STAND CT RICHMOND VA 23228
STACKHOUSE TRUCKING LLC              OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
STACKHOUSE, LANCE                    ADDRESS ON FILE
STACKS, JEFFERY                      ADDRESS ON FILE
STACO ELECTRIC CONSTRUCTION CO.      11030 HICKMAN MILLS DR KANSAS CITY MO 64134
STACY E NASSANI                      ADDRESS ON FILE
STACY JR, EDWARD                     ADDRESS ON FILE
STACY L LAGESSE-ROACH                ADDRESS ON FILE
STACY M DULANEY                      ADDRESS ON FILE
STACY, JOHNNY                        ADDRESS ON FILE
STADEN, JOHN                         ADDRESS ON FILE
STADIUM INTERNATIONAL TRUCKS INC     PO BOX 2848 SYRACUSE NY 13220
STADLER, CHARLENE                    ADDRESS ON FILE
STAFEK                               3895 COMMERCIAL SPRINGFIELD OR 97478-5633
STAFFORD FREIGHT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STAFFORD TRANSPORT LLC               OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
STAFFORD TRUCKING INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
STAFFORD, ANDY                       ADDRESS ON FILE
STAFFORD, BRANDON                    ADDRESS ON FILE
STAFFORD, BRIAN                      ADDRESS ON FILE
STAFFORD, CODY                       ADDRESS ON FILE
STAFFORD, JEFFREY                    ADDRESS ON FILE
STAFFORD, JOE                        ADDRESS ON FILE
STAFFORD, KYLE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1799 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1808 of 2156

Claim Name                              Address Information
STAFFORD, LINDA                         ADDRESS ON FILE
STAFFORD, PAUL                          ADDRESS ON FILE
STAFFORD, QUAZHAYE                      ADDRESS ON FILE
STAFFORD, RAY N                         ADDRESS ON FILE
STAFFORD, ROLAND                        ADDRESS ON FILE
STAFFORD, ROLAND                        ADDRESS ON FILE
STAGE EXPRESS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STAGECOACH CARTAGE AND DISTRIBUTION,    PO BOX 674502 DALLAS TX 75267-4502
LLC
STAGGS, BERNARD                         ADDRESS ON FILE
STAHI LOAD CARE INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STAHL, HAROLD                           ADDRESS ON FILE
STAHL, JEFFREY                          ADDRESS ON FILE
STAHL, JENNIFER                         ADDRESS ON FILE
STAHL, PHILLIS                          ADDRESS ON FILE
STAHL, RANDI                            ADDRESS ON FILE
STAHL, RAYMOND L                        ADDRESS ON FILE
STAHL, ROBERT A                         ADDRESS ON FILE
STAHL, SHAUN                            ADDRESS ON FILE
STAHL, TERRY                            ADDRESS ON FILE
STAHLER, TRENT                          ADDRESS ON FILE
STAHLY, DAVID                           ADDRESS ON FILE
STAIR, STEVEN                           ADDRESS ON FILE
STAKER & PARSON COMPANIES               ATTN: REAL ESTATE MANAGER 2350 S 1900 W SUITE 100 OGDEN UT 84401
STAKER, MICHAEL                         ADDRESS ON FILE
STALDER, MARILU                         ADDRESS ON FILE
STALEY LAWN CARE & LANDSCAPING INC      1225 WHETSTONE DR MORTON IL 61550
STALEY, CHARLES                         ADDRESS ON FILE
STALEY, ELIZABETH                       ADDRESS ON FILE
STALLINGS, GEORGE                       ADDRESS ON FILE
STALLINGS, PAUL                         ADDRESS ON FILE
STALLION EXPRESS, INC.                  PO BOX 1113 BEEBE AR 72012
STALLION FREIGHT LOGISTICS LLC          OR PORTER BILLING SERVICES, LLC PO BOX 440127 NASHVILLE TN 37244
STALLION LOGISTICS                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STALLION LOGISTICS LLC                  OR TAB BANK, PO BOX 150830 OGDEN UT 84415
STALLION LOGISTICS LLC (YPSILANTI MI)   OR TBS FACTORING SERVICE LLC PO BOX 151052 OGDEN UT 84415
STALLION MN EXPRESS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STALLION TRUCKING INC.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STALLIONS EXPRESS INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
STALLMAN TRUCKING INC.                  1001 PHOENIX LAKE AVENUE STREAMWOOD IL 60107
STALLONE, MICHAEL                       ADDRESS ON FILE
STALLSWORTH, ROSE M                     ADDRESS ON FILE
STALLWORTH, JOHNNY                      ADDRESS ON FILE
STALLWORTH, ROBERT                      ADDRESS ON FILE
STALLWORTH, TYSHAWN                     ADDRESS ON FILE
STALWART EXPRESS INC                    2680 E MAIN ST 1000 PLAINFIELD IN 46168
STALWART EXPRESS INC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
STAMEY, STEVEN                          ADDRESS ON FILE
STAMM, EILEEN                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1800 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1809 of 2156

Claim Name                              Address Information
STAMOUR, RICKY                          ADDRESS ON FILE
STAMPEDE DELIVERY LLC                   51723 E GATEHOUSE DR SOUTH BEND IN 46637
STAMPER, DRAY                           ADDRESS ON FILE
STAMPER, KEVIN                          ADDRESS ON FILE
STAMPER, TOD                            ADDRESS ON FILE
STAMPER, TONY                           ADDRESS ON FILE
STAMPLEY, MICHAEL                       ADDRESS ON FILE
STAMPS, ANTHONY                         ADDRESS ON FILE
STAMPS, CHARLES                         ADDRESS ON FILE
STAMPS, MICHAEL                         ADDRESS ON FILE
STAMPS, WAYNE                           ADDRESS ON FILE
STAMPS.COM                              PO BOX 202921 DALLAS TX 75320
STAN HAWKINS DBA ACORN LAWN CARE        ADDRESS ON FILE
STAN HAWKINS DBA ACORN LAWN CARE        ADDRESS ON FILE
STAN KOCH & SONS TRUCKING, INC.         SDS 12 2753, P.O. BOX 86 MINNEAPOLIS MN 55486
STANALAND, SARAH                        ADDRESS ON FILE
STANARD, RANDY L                        ADDRESS ON FILE
STANCELL, MICHAEL                       ADDRESS ON FILE
STANCHINA, TYLER                        ADDRESS ON FILE
STANCIL, BRANDON                        ADDRESS ON FILE
STANCIL, DENNIS                         ADDRESS ON FILE
STANDAFER, NATHANIEL                    ADDRESS ON FILE
STANDARD & POORS FINANCIAL SERVICES LLC 2542 COLLECTION CENTER DR CHICAGO IL 60693
STANDARD ELECTRIC COMPANY               ATTN: DEBBIE BERRY 2650 TRAUTNER DR SAGINAW MI 48604
STANDARD ELECTRIC SUPPLY CO             3101 BUSINESS PARK DR STEVENS POINT WI 54481
STANDARD FILTER CORPORATION             ATTN: CHRISTIAN PENUELAS 3801 OCEAN RANCH BLVD STE 107 OCEANSIDE CA 92056
STANDARD GROUP LLC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STANDARD HAULING LLC                    STANDARD HAULING LLC, PO BOX 2297 GREER SC 29651
STANDARD HEATING &                      AIR CONDITIONING, INC. 11746 PORTAL RD LA VISTA NE 68128
STANDARD LOGISTICS INC                  1131 LONGFORD DRIVE WESTMONT IL 60559
STANDARD MOTOR PRODUCTS                 ATTN: QUAVANNE LUNDY CUSTOMER SERVICE 7070 GOLF COURSE DR DISPUTANTA VA 23842
STANDARD MOTOR PRODUCTS                 1801 WATERS RIDGE DR LEWISVILLE TX 75057
STANDARD ROOFING & SHEET METAL SUPPLY   ATTN: GENERAL COUNSEL 6201 W 34TH ST., SUITE A HOUSTON TX 77092
STANDARD SALES INC                      2801 E 12TH ST LOS ANGELES CA 90023
STANDARD SFL LLC                        OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
STANDARD TRUCK                          D/B/A: STANDARD TRUCK PARTS INC 566 N CHICAGO ST JOLIET IL 60432
STANDARD TRUCK PARTS INC                566 N CHICAGO ST JOLIET IL 60432
STANDARD TRUCKING LLC                   C/O RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
STANDARD TRUCKING LLC                   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STANDARD XPRESS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
STANDARD XPRESS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
STANDARD, LAWRENCE                      ADDRESS ON FILE
STANDBY EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STANDISH, KEVIN                         ADDRESS ON FILE
STANDLEA, DANIEL                        ADDRESS ON FILE
STANDLEY ST-CYR                         ADDRESS ON FILE
STANFFORD, RODNEY                       ADDRESS ON FILE
STANFIELD, VANDON                       ADDRESS ON FILE
STANFILL, GREG                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1801 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1810 of 2156

Claim Name                              Address Information
STANFORD CLINICAL LABS                  3375 HILLVIEW AVE. PALO ALTO CA 94304
STANFORD TRANSPORTATION INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STANFORD, DUANE                         ADDRESS ON FILE
STANFORD, MARK                          ADDRESS ON FILE
STANG, RYAN                             ADDRESS ON FILE
STANGE, DONALD                          ADDRESS ON FILE
STANGE, KYLEE                           ADDRESS ON FILE
STANGEL INDUSTRIES, LLC                 401 N.E.4TH ST., PO BOX 157 ENTERPRISE OR 97828
STANGER, FREDRICK J                     ADDRESS ON FILE
STANGER, MICHAEL                        ADDRESS ON FILE
STANGLER, CHARLES                       ADDRESS ON FILE
STANIKZAI TRANSPORTATION LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STANK, ERIC                             ADDRESS ON FILE
STANKAN, NICHOLAS                       ADDRESS ON FILE
STANKOVEN, JORDAN                       ADDRESS ON FILE
STANKOVIC TRANSPORT INC                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
STANKOVICH, LEE                         ADDRESS ON FILE
STANLEY BLACK & DECKER (US) INC         1000 STANLEY DR NEW BRITIAN CT 06053
STANLEY BLACK & DECKER INC              TRANSPORTATION ACCT NETWORK, PO BOX 2259 CORONA CA 92878
STANLEY BLACK AND DECKER                1000 STANLEY DR. NEW BRITAIN CT 06053
STANLEY BLACK AND DECKER INC            1000 STANLEY DR NEW BRITAIN CT 06053
STANLEY BLACK AND DECKER US INC         1000 STANLEY DR NEW BRITAIN CT 06053
STANLEY CONVERGENT SECURITY SOLUTIONS   D/B/A: SECURITAS TECHNOLOGY CORPORATION DEPT CH 10651 PALATINE IL 60055
STANLEY ENTERPRISE LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STANLEY R RHYAN                         ADDRESS ON FILE
STANLEY STEEMER INTERNATIONAL           P.O. BOX 205819 DALLAS TX 75320-5819
STANLEY STEEMER OF CENTRAL WISCONSIN    2834 AGRICULTURE DR MADISON WI 53718
STANLEY TRANSPORTATION SERVICES LLC     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STANLEY TRUCKING LLC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
STANLEY, BRANDON                        ADDRESS ON FILE
STANLEY, BRAVID                         ADDRESS ON FILE
STANLEY, BRIAN                          ADDRESS ON FILE
STANLEY, CHRISTOPHER                    ADDRESS ON FILE
STANLEY, CRAIG                          ADDRESS ON FILE
STANLEY, DEVIN                          ADDRESS ON FILE
STANLEY, FREDERICK                      ADDRESS ON FILE
STANLEY, JACOB                          ADDRESS ON FILE
STANLEY, JOSHUA                         ADDRESS ON FILE
STANLEY, LATANIA                        ADDRESS ON FILE
STANLEY, MATTHEW                        ADDRESS ON FILE
STANLEY, MICHAEL                        ADDRESS ON FILE
STANLEY, ROBERT                         ADDRESS ON FILE
STANLEY, WILLIAM                        ADDRESS ON FILE
STANLEYS SEPTIC TANK SERVICE &          CONSTRUCTION CO. 187 NORRIDGEWOCK RD FAIRFIELD ME 04937
STANS PLUMBING INC                      7000 NW 63RD BETHANY OK 73008
STANSBURY, MARK                         ADDRESS ON FILE
STANSELL, FRED                          ADDRESS ON FILE
STANSU, DEVAN                           ADDRESS ON FILE
STANTIAL, ROBERT                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1802 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1811 of 2156

Claim Name                              Address Information
STANTON, DUSTIN                        ADDRESS ON FILE
STANTON, JAMES                         ADDRESS ON FILE
STANTON, KRISTY                        ADDRESS ON FILE
STANTON, LAMONT                        ADDRESS ON FILE
STANTON, MICHAEL                       ADDRESS ON FILE
STANTON, WILLIAM                       ADDRESS ON FILE
STANTONS GARAGE                        1676 S DIXIE HWY MUNFORDVILLE KY 42765
STANUSEICH, STEVE                      ADDRESS ON FILE
STAPLES                                ATTN: SUE GRUPPOSO 500 STAPLES DRIVE E FRAMINGHAM MA 01702
STAPLES                                500 E. HIGH STREET LONDON OH 43140
STAPLES                                PO BOX 660409 DALLAS TX 75266
STAPLES BUSINESS ADVANTAGE             DEPT DAL, PO BOX 83689 CHICAGO IL 60696
STAPLES BUSINESS ADVANTAGE             PO BOX 660409 DALLAS TX 75266
STAPLES BUSINESS ADVANTAGE             PO BOX 660409 DALLAS TX 75266-0409
STAPLES INC                            ATTN: KIRK GEYER/BEN MUNROE 500 STAPLES DR FRAMINGHAM MA 01702
STAPLES INC                            ATTN: SUSAN CULLEN 500 STAPLES DR FRAMINGHAM MA 01702
STAPLES INC                            S CULLEN 5TH FL WEST, 500 STAPLES DRIVE FRAMINGHAM MA 01702
STAPLES INC                            PO BOX 102411 COLUMBIA SC 29224
STAPLES PROMOTIONAL PRODUCTS BIN 150003 PO BOX 88003 MILWAUKEE WI 53288
STAPLES, CHRISTOPHER                   ADDRESS ON FILE
STAPLES, FANESHA                       ADDRESS ON FILE
STAPLES, JAMES                         ADDRESS ON FILE
STAPLES, JAMES                         ADDRESS ON FILE
STAPLES, RAYMOND                       ADDRESS ON FILE
STAPLETON, MANUEL                      ADDRESS ON FILE
STAPLETON, PAMELA                      ADDRESS ON FILE
STAPP, JOSHUA                          ADDRESS ON FILE
STAR 1 CARRIER LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STAR 1 CARRIER LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STAR 7 LOGISTICS LLC (MC1220197)       OR PARTNERS FUNDING INC, PO BOXC 5431 CAROL STREAM IL 60197-5431
STAR ALLIANCE LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STAR BRANDS                            ATTN: WILLIAM ICKE 1354 W SHERIDAN AVE OKLAHOMA CITY OK 73106
STAR CARRIERS INC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STAR CARTAGE CO., INC.                 PO BOX 1021 SPRINGBORO OH 45066
STAR EIGHT TRANS CORP                  OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
STAR FREIGHT LIMITED                   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
STAR FREIGHT LLC                       PO BOX 770850 WINTER GARDEN FL 34777
STAR FREIGHT SERVICES                  992 SPICE ISLAND DR SPARKS NV 89431
STAR GALAXY TRUCKING LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STAR GALAXY TRUCKINGLLC                ATTN: ALI AL ABED 18900 MEGINNITY STREET MELVINDALE MI 48122-1932
STAR GARAGE INC                        PO BOX 365 HARDEEVILLE SC 29927
STAR GOLD LLC                          OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
STAR INDUSTRIES                        ATTN: DOUG DYER 4101 GARLAND DR HALTOM CITY TX 76117
STAR INVESTMENT                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STAR LAND INC.                         OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL, PO BOX 639565 CINCINNATI OH
                                       45263-9565
STAR LAND INC.                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STAR LEASING COMPANY                   1436 HEIL QUAKER BOULEVARD LA VERGNE TN 37086
STAR LEASING COMPANY LLC               PO BOX 76100 CLEVELAND OH 44101



Epiq Corporate Restructuring, LLC                                                                Page 1803 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1812 of 2156

Claim Name                               Address Information
STAR LIGHT TRUCKING INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STAR LIGHTING & SUPPLY                   1429 W MAIN ST OKLAHOMA CITY OK 73106
STAR LINE TRANSPORT LLC                  4040 ERIE ST UNIT 1132 WILLOUGHBY OH 44096-8647
STAR LINE TRANSPORT LLC                  OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
STAR LINES LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STAR LINK TRANSPORT LLC                  OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
STAR MATERIAL HAULING LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
STAR MK INC                              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
STAR PARTNERS LLC                        OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
STAR PLASTICS & LOGISTICS SERVICES LLC   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
STAR SERVICE, INC.                       PO BOX 720339 BYRAM MS 39272
STAR STAINLESS SC AL                     ADDRESS ON FILE
STAR TRANS LLC                           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
STAR TRANSIT INC                         OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
STAR TRANSPORTATION & TRUCKING LLC       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
STAR TRANSPORTATION INC                  OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
STAR TRANSPORTATION INC                  6-6150 HIGHWAY 7 SUITE 429 WOODBRIDGE ON L4H 0R6 CANADA
STAR TRANSPORTATION PA INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
STAR TRUCK RENTALS, INC.                 3940 EASTERN AVE SE GRAND RAPIDS MI 49508
STAR TRUCKING                            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STAR TRUCKING (VAN NUYS CA)              7256 RUBIO AV VAN NUYS CA 91406
STAR TRUCKING SERVICE LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STAR TRUCKING, INC.                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
STAR UNITED INC                          1251 N PLUM GROVE RD UNIT 200-F SCHAUMBURG IL 60173
STAR WAY TRANSPORTATION LLC              OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
STAR WAY, CORP                           302 S HICKS RD, UNIT 21 PALATINE IL 60067
STAR WINGS EXPRESS INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STARBOARD TRANSPORT INC                  OR FACTOR DIRECT CORPORATION, PO BOX 606 MAPLE AB L6A 1S5 CANADA
STARBUCK, MICHAEL                        ADDRESS ON FILE
STARCHVICK, RICHARD                      ADDRESS ON FILE
STARCO LOGISTICS                         OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
STARCRAFT BUS & MOBILITY                 ATTN: MICHAEL MUNLEY 2372 CENTURY DR GOSHEN IN 46528
STAREX TRANSPORT LLC                     4641 GRAVOIS AVE STE B SAINT LOUIS MO 63116
STARGATE TRANSPORTATION                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
STARGAZER, ALEXANDRIA                    ADDRESS ON FILE
STARK FENCE CO                           1830 E 22ND ST TUCSON AZ 85713
STARK FENCE CO                           PO BOX 27907 TUCSON AZ 85726
STARK TOOLS CA                           13850 CENTRAL AVE CHINO CA 91710
STARK TRANSPORT CORP                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STARK, CAMERON                           ADDRESS ON FILE
STARK, JAXON                             ADDRESS ON FILE
STARK, JEFF                              ADDRESS ON FILE
STARK, RANDY                             ADDRESS ON FILE
STARK, WALTER                            ADDRESS ON FILE
STARKES, CLEYSHON                        ADDRESS ON FILE
STARKEY SOFT WATER, INC.                 2610 DUDLEY AVE PARKERSBURG WV 26101
STARKEY TRANSPORT LLC                    OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
STARKEY, BRUCE                           ADDRESS ON FILE
STARKS CONSTRUCTION                      5953 PREMIERE AVE LAKEWOOD CA 90712



Epiq Corporate Restructuring, LLC                                                                   Page 1804 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1813 of 2156

Claim Name                           Address Information
STARKS EXPRESS, INC.                 PO BOX 281070 E HARTFORD CT 06128
STARKS, HAROLD                       ADDRESS ON FILE
STARKS, JAMES                        ADDRESS ON FILE
STARKS, JOHNATHON                    ADDRESS ON FILE
STARKS, LA SHAY                      ADDRESS ON FILE
STARKS, MIKE                         ADDRESS ON FILE
STARKS, PAUL                         ADDRESS ON FILE
STARKS, RACHEL                       ADDRESS ON FILE
STARKS, RACHEL                       ADDRESS ON FILE
STARKS-SCISSUM, ALEXIS               ADDRESS ON FILE
STARLAND EXPRESS LLC                 OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
STARLIGHT EXPRESS INC                OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
STARLIN TRANSPORTATION LLC           OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
STARLINE FREIGHT INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
STARLINE XPRESS LLC                  OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
STARLING, CHANDLER                   ADDRESS ON FILE
STARLING, LESLIE                     ADDRESS ON FILE
STARLING, SUNRAH                     ADDRESS ON FILE
STARMARK TRANSPORT INC               2233 NE 244TH AVE, C3 WOOD VILLAGE OR 97060
STARMAX TRANSPORT LTD.               PO BOX 88684 RPO NEWTON SURREY BC V3W 0X1 CANADA
STARMO GLOBAL LOGISTICS INC          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
STARNANA GLOBAL TRANSPORT LLC        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
STARNER, SPENCER                     ADDRESS ON FILE
STARNER, STACCI                      ADDRESS ON FILE
STARNER, SUSAN E                     ADDRESS ON FILE
STARNES, ANTHONY                     ADDRESS ON FILE
STARNES, BRIAN J                     ADDRESS ON FILE
STARNES, SCOTT                       ADDRESS ON FILE
STARNS, MARIA                        ADDRESS ON FILE
STAROVA TRANSPORT LLC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STARR ELECTRICAL CONTRACTORS LLC     PO BOX 4807 MACON GA 31208
STARR, ERIC                          ADDRESS ON FILE
STARRS, MICHAEL                      ADDRESS ON FILE
STARS & STRIPES TRUCKING             OR S.S BROWNFUNDING, PO BOX 173398 ARLINGTON TX 76003
STARS N STRIPES LOCK AND DOOR        1621 WESTGATE RD SUITE 2 EAU CLAIRE WI 54703
STARTFINISH TRANSPORT LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
STARTON TRUCKING                     19130 SAN JOSE AVE ROWLAND HEIGHTS CA 91748
STARTRACK CARRIER INC                OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
STARTRANZ LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STARTRUX EXPRESS LTD                 39 CASTLE OAKS CROSS BRAMPTON ON L6P 3H1 CANADA
STARZ & CLOUDZ INC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
STARZ, JOHN                          ADDRESS ON FILE
STAS FREIGHT LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
STASCH, GEOFFREY                     ADDRESS ON FILE
STASER, SHENANDOAH                   ADDRESS ON FILE
STASH EXPRESS LLC                    18229 81ST AVENUE COURT EAST PUYALLUP WA 98375
STASHER, DEATTRA                     ADDRESS ON FILE
STASHER, DENSON D                    ADDRESS ON FILE
STASZAK, DANIEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1805 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1814 of 2156

Claim Name                              Address Information
STAT EXPRESS LLC                        OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                        45263-9565
STATE 2 STATE TRANSPORTATION LLC        OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
STATE BOARD OF EQUALIZATION             D/B/A: CALIFORNIA DEPT OF TAX & FEE ADMINISTRATION PO BOX 942879 SACRAMENTO CA
                                        94279
STATE BOARD OF WORKERS COMPENSATION     PO BOX 101427 ATLANTA GA 30392
STATE BOYZ TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STATE COLLEGE OF FLORIDA                8000 TAMIAMI TRAIL S VENICE FL 34293
STATE COURT OF GWINNETT COUNTY          PO BOX 568 LAWRENCEVILLE GA 30046
STATE EXPRESS INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STATE FARM                              11160 CHATSWORTH CT WALTON KY 41094
STATE FARM                              C/O RATHBONE GROUP, LLC ATTN: MARK J.A. DEMIAN 1250 E GRAMGER RD CLEVELAND OH
                                        44131
STATE FARM AUTOMOBILE INSURANCE COMPANY C/O RATHBONE GROUP, LLC ATTN: MARK J. A. DEMIAN 1250 E. GRANGER ROAD CLEVELAND
                                        OH 44131
STATE FARM AUTOMOBILE INSURANCE COMPANY 1 STATE FARM PLAZA BLOOMINGTON 61710
STATE FIRE DC SPECIALISTS               P.O. BOX 65248 SOUTH SALT LAKE UT 84165
STATE INSURANCE FUND                    OFICINA REGIONAL DE BAYAMON, PO BOX 248 BAYAMON PR 00960
STATE LINK INC                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
STATE LOGISTICS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
STATE OF ALABAMA                        50 NORTH RIPLEY STREET MONTGOMERY AL 36132
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL 501 WASHINGTON AVE MONTGOMERY AL 36104
STATE OF ALABAMA ATTORNEY GENERAL       ATTN: STEVE MARSHALL PO BOX 300152 MONTGOMERY AL 36130-0152
STATE OF ALASKA ATTORNEY GENERAL        ATTN: TREG TAYLOR 1031 W 4TH AVE, STE 200 ANCHORAGE AK 99501-1994
STATE OF AMERICAN SAMOA ATTORNEY        ATTN: FAINU'ULELEI FALEFATU ALA'ILIMAUTU AMERICAN SAMOA GOVT, EXEC OFC BLDG
GENERAL                                 UTULEI, TERRITORY OF AMERICAN SAMOA PAGO PAGO AS 96799
STATE OF ARIZONA ATTORNEY GENERAL       ATTN: KRIS MAYES 2005 NORTH CENTRAL AVENUE PHOENIX AZ 85004-2926
STATE OF ARIZONA RISK MANAGEMENT        1802 W. JACKSON ST. 93 (ATTN: AXXXXXXXX-1) PHOENIX AZ 85007
STATE OF ARKANSAS                       DEPT OF FINANCE AND ADMINISTRATION PO BOX 3566 LITTLE ROCK AR 72203
STATE OF ARKANSAS                       DEPT OF FINANCE AND ADMINISTRATION PO BOX 8097 LITTLE ROCK AR 72203
STATE OF ARKANSAS                       DEPT OF FINANCE AND ADMIN MISC TAX SECTION, LITTLE ROCK AR 72203-0896
STATE OF ARKANSAS ATTORNEY GENERAL      ATTN: TIM GRIFFIN 323 CENTER ST, STE 200 LITTLE ROCK AR 72201-2610
STATE OF CALIFORNIA - LAGUNA HILLS      BOARD OF EQUALIZATION 23141 MOULTON PKWY STE 100 LAGUNA HILLS CA 92653
STATE OF CALIFORNIA - LAGUNA HILLS      PO BOX 942879 SACRAMENTO CA 94279
STATE OF CALIFORNIA ATTORNEY GENERAL    ATTN: ROB BONTA 1300 'I' ST SACRAMENTO CA 95814-2919
STATE OF COLORADO ATTORNEY GENERAL      ATTN: PHIL WEISER RALPH L CARR COLORADO JUDICIAL BLDG 1300 BROADWAY, 10TH FL
                                        DENVER CO 80203
STATE OF CONNECTICUT                    DEPT OF REVENUE SERVICES 25 SIGOURNEY ST HARTFORD CT 06102
STATE OF CONNECTICUT                    DEPT OF REVENUE SERVICES, PO BOX 5030 HARTFORD CT 06102
STATE OF CONNECTICUT ATTORNEY GENERAL   ATTN: WILLIAM TONG 165 CAPITOL AVENUE HARTFORD CT 06106
STATE OF DELAWARE                       DIVISIONS OF CORPORATIONS, PO BOX 5509 BINGHAMTON NY 13902
STATE OF DELAWARE                       STATE OF DELAWARE DEPARTMENT OF LABOR ATTN: FISCAL DEPARTMENT 4425 N MARKET
                                        STREET 3RD FLOOR WILMINGTON DE 19802
STATE OF DELAWARE                       DNREC ACCT OFFICE, 30 S AMERICAN AVE DOVER DE 19901
STATE OF DELAWARE ATTORNEY GENERAL      ATTN: KATHY JENNINGS CARVEL STATE BUILDING 820 N FRENCH ST WILMINGTON DE 19801
STATE OF FLORIDA ATTORNEY GENERAL       ATTN: ASHLEY MOODY PL 01 THE CAPITOL TALLAHASSEE FL 32399-1050
STATE OF GEORGIA ATTORNEY GENERAL       ATTN: CHRIS CARR 40 CAPITOL SQUARE, SW ATLANTA GA 30334
STATE OF HAWAII ATTORNEY GENERAL        ATTN: ANN E LOPEZ 425 QUEEN ST HONOLULU HI 96813
STATE OF IDAHO ATTORNEY GENERAL         ATTN: RAUL R. LABRADOR 700 W JEFFERSON ST, STE 210 PO BOX 83720 BOISE ID
                                        83720-0010



Epiq Corporate Restructuring, LLC                                                                  Page 1806 OF 2145
                                                Yellow Corporation
                     Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1815 of 2156

Claim Name                               Address Information
STATE OF ILLINOIS                        PO BOX 19016 SPRINGFIELD IL 62794-9016
STATE OF ILLINOIS ATTORNEY GENERAL       ATTN: KWAME RAOUL 100 W RANDOLPH ST CHICAGO IL 60601
STATE OF INDIANA                         OFFICE OF THE INDIANA ATTY GEN 35 SOUTH PARK BLVD GREENWOOD IN 46143
STATE OF INDIANA ATTORNEY GENERAL        ATTN: TODD ROKITA INDIANA GOVERNMENT CENTER SOUTH 302 W WASHINGTON ST, 5TH FL
                                         INDIANAPOLIS IN 46204
STATE OF IOWA ATTORNEY GENERAL           ATTN: BRENNA BIRD HOOVER STATE OFFICE BUILDING 1305 E WALNUT ST DES MOINES IA
                                         50319
STATE OF KANSAS - DEPT OF LABOR          401 SW TOPEKA BLVD STE 2 TOPEKA KS 66603
STATE OF KANSAS ATTORNEY GENERAL         ATTN: KRIS W. KOBACH 120 SW 10TH AVE, 2ND FL TOPEKA KS 66612
STATE OF KENTUCKY ATTORNEY GENERAL       ATTN: DANIEL CAMERON 700 CAPITOL AVE, STE 118 FRANKFORT KY 40601-3449
STATE OF LOUISIANA                       DEQ, PO BOX 733676 DALLAS TX 75373
STATE OF LOUISIANA ATTORNEY GENERAL      ATTN: JEFF LANDRY 1885 N THIRD ST BATON ROUGE LA 70802
STATE OF LOUISIANA ATTORNEY GENERAL      ATTN: JEFF LANDRY PO BOX 94005 BATON ROUGE LA 70804
STATE OF MAINE ATTORNEY GENERAL          ATTN: AARON FREY 6 STATE HOUSE STATION AUGUSTA ME 04333
STATE OF MARYLAND                        DEPARTMENT OF ASSESSMENTS & TAXATION 301 W PRESTON ST BALTIMORE MD 21201
STATE OF MARYLAND                        DEPT OF ASSESSMENT & TAXATION 301 WEST PRESTON STREET, ROOM 801 BALTIMORE MD
                                         21201
STATE OF MARYLAND                        DEPT OF ASSESSMENT & TAXATION PO BOX 17052 BALTIMORE MD 21297
STATE OF MARYLAND ATTORNEY GENERAL       ATTN: ATHONY G. BROWN 200 ST PAUL PLACE BALTIMORE MD 21202
STATE OF MASSACHUSETTS ATTORNEY GENERAL ATTN: ANDREA JOY CAMPBELL 1 ASHBURTON PLACE, 20TH FL BOSTON MA 02108-1518
STATE OF MICHIGAN                        MICHIGAN DEPARTMENT OF TREASURY PO BOX 30756 LANSING MI 48909
STATE OF MICHIGAN                        CASHIERS OFFICE SWPF, PO BOX 30657 LANSING MI 48909
STATE OF MICHIGAN                        DEPT LABOR/ECON CONS CODE PO BOX 30255 BOILER DIV LANSING MI 48909
STATE OF MICHIGAN                        EGLE CASHIERS OFFICE, PO BOX 30667 LANSING MI 48909
STATE OF MICHIGAN                        MICHIGAN DEPARTMENT OF TREASURY UNCLAIMED PROPERTY PO BOX 30756 LANSING MI
                                         48909
STATE OF MICHIGAN                        PO BOX 30324 LANSING MI 48909
STATE OF MICHIGAN                        PO BOX 30705 LANSING MI 48909
STATE OF MICHIGAN                        SPECIAL TAXES DIVISION IFTA UNIT PO BOX 30474 LANSING MI 48909
STATE OF MICHIGAN                        MICHIGAN DEPT OF ENV QUALITY CASHIERS OFFICE SWPF LANSING MI 48909-8157
STATE OF MICHIGAN - EGLE                 CASHIERS OFFICE, PO BOX 30657 LANSING MI 48909
STATE OF MICHIGAN ATTORNEY GENERAL       ATTN: DANA NESSEL G. MENNEN WILLIAMS BLDG 525 W OTTAWA ST - PO BOX 30212
                                         LANSING MI 48909
STATE OF MICHIGAN MIOSHA                 MIOSHA APPEALS DIVISION, PO BOX 30643 LANSING MI 48909
STATE OF MICHIGAN MIOSHA                 MIOSHA GEN IND SAFETY & HEALTH , 530 W ALLEGAN ST PO BOX 30644 LANSING MI
                                         48933
STATE OF MICHIGAN SECRETARY OF STATE     1608 N PERRY ST PONTIAC MI 48340
STATE OF MICHIGAN SET FUND               MI DEPT OF LICENSING & REGULATORY AFFAIRS PO BOX 30015 LANSING MI 48909
STATE OF MINNESOTA ATTORNEY GENERAL      ATTN: KEITH ELLISON 445 MINNESOTA ST STE 1400 ST. PAUL MN 55101-2131
STATE OF MINNESOTA REVENUE ACH ACCOUNT   P.O. BOX 64564 ST PAUL MN 55164
STATE OF MISSISSIPPI ATTORNEY GENERAL    ATTN: LYNN FITCH PO BOX 220 JACKSON MS 39205
STATE OF MISSISSIPPI DEPT ENVIRON QUAL   MISSISSIPPI DEPT OF ENVIR QUAL PO BOX 2339 JACKSON MS 39225
STATE OF MISSISSIPPI DEPT ENVIRON QUAL   PO BOX 2339 JACKSON MS 39225
STATE OF MISSOURI ATTORNEY GENERAL       ATTN: ANDREW BAILEY SUPREME CT BLDG, 207 W HIGH ST PO BOX 899 JEFFERSON CITY
                                         MO 65102
STATE OF MONTANA ATTORNEY GENERAL        ATTN: AUSTIN KNUDSEN JUSTICE BLDG 215 N SANDERS ST HELENA MT 59601
STATE OF NEBRASKA                        UNCLAIMED PROPERTY DIVISION 809 P STREET LINCOLN NE 68508
STATE OF NEBRASKA ATTORNEY GENERAL       ATTN: MIKE HILGERS 2115 STATE CAPITOL PO BOX 98920 LINCOLN NE 68509
STATE OF NEVADA                          DIVISION OF INDUSTRIAL RELATIONS 1830 COLLEGE PARKWAY, STE 100 CARSON CITY NV
                                         89706



Epiq Corporate Restructuring, LLC                                                                  Page 1807 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1816 of 2156

Claim Name                               Address Information
STATE OF NEVADA                          PO BOX 7165 SAN FRANCISCO CA 94120
STATE OF NEVADA ATTORNEY GENERAL         ATTN: AARON D. FORD 100 N CARSON ST CARSON CITY NV 89701
STATE OF NEVADA DEPT OF AGRICULTURE      PO BOX 844477 LOS ANGELES CA 90084
STATE OF NEVADA DOT                      1263 S STEWART ST CARSON CITY NV 89712
STATE OF NEW HAMPSHIRE                   DOCUMENT PROCESSING DIV, PO BOX 637 CONCORD NH 03302
STATE OF NEW HAMPSHIRE ATTORNEY GENERAL ATTN: JOHN M. FORMELLA NH DEPT OF JUSTICE 33 CAPITOL ST CONCORD NH 03301
STATE OF NEW JERSEY                      DCA ELSA, PO BOX 816 TRENTON NJ 08625
STATE OF NEW JERSEY                      DEPT OF LABOR & WORKFORCE DEV DIV OF EMPLOYER ACCTS PO BOX 394 TRENTON NJ
                                         08625
STATE OF NEW JERSEY                      DCA BFCE- DORES, PO BOX 663 TRENTON NJ 08646
STATE OF NEW JERSEY                      DCA ELSA, PO BOX 645 TRENTON NJ 08646
STATE OF NEW JERSEY                      DIVISION OF TEXATION REVENUE PROCESSING CENTER PO BOX 257 TRENTON NJ 08646
STATE OF NEW JERSEY                      PO BOX 059 TRENTON NJ 08646
STATE OF NEW JERSEY                      PO BOX 929 TRENTON NJ 08646
STATE OF NEW JERSEY ATTORNEY GENERAL     ATTN: MATTHEW J. PLATKIN RJ HUGHES JUSTICE COMPLEX 25 MARKET ST - PO BOX 080
                                         TRENTON NJ 08625-0080
STATE OF NEW MEXICO ATTORNEY GENERAL     ATTN: RAUL TORREZ 408 GALISTEO ST VILLAGRA BLDG SANTA FE NM 87501
STATE OF NEW YORK ATTORNEY GENERAL       ATTN: LETITIA A. JAMES DEPT. OF LAW THE CAPITOL, 2ND FL ALBANY NY 12224-0341
STATE OF NORTH CAROLINA ATTORNEY         ATTN: JOSH STEIN PO BOX 629 RALEIGH NC 27602-0629
GENERAL
STATE OF NORTH CAROLINA ATTORNEY         ATTN: JOSH STEIN 9001 MAIL SERVICE CTR RALEIGH NC 27699-9001
GENERAL
STATE OF NORTH DAKOTA ATTORNEY GENERAL   ATTN: DREW WRIGLEY 600 E BOULEVARD AVE DEPT 125 BISMARCK ND 58505
STATE OF OHIO ATTORNEY GENERAL           ATTN: DAVE YOST 30 E BROAD ST, 14TH FL COLUMBUS OH 43215
STATE OF OHIO BMV                        650 GRAHAM RD. CUYAHOGA FALLS OH 44221
STATE OF OHIO BMV                        CUYAHOGA FALLS LICENSE BUREAU 650 GRAHAM ROAD CUYAHOGA FALLS OH 44221
STATE OF OHIO UST FUND                   PO BOX 163188 COLUMBUS OH 43216
STATE OF OKLAHOMA ATTORNEY GENERAL       ATTN: GENTNER DRUMMOND 313 NE 21ST ST OKLAHOMA CITY OK 73105
STATE OF OREGON ATTORNEY GENERAL         ATTN: ELLEN F. ROSENBLUM 1162 COURT ST, NE SALEM OR 97301-4096
STATE OF PENNSYLVANIA ATTORNEY GENERAL   ATTN: MICHELLE HENRY STRAWBERRY SQ HARRISBURG PA 17120
STATE OF RHODE ISLAND ATTORNEY GENERAL   ATTN: PETER F. NERONHA 150 S MAIN ST PROVIDENCE RI 02903
STATE OF SOUTH CAROLINA ATTORNEY         ATTN: ALAN WILSON REMBERT C. DENNIS OFFICE BLDG 1000 ASSEMBLY ST, ROOM 519
GENERAL                                  COLUMBIA SC 29201
STATE OF SOUTH CAROLINA ATTORNEY         ATTN: ALAN WILSON PO BOX 11549 COLUMBIA SC 29211-1549
GENERAL
STATE OF SOUTH DAKOTA ATTORNEY GENERAL   ATTN: MARK JACKLEY 1302 EAST HIGHWAY 14, STE 1 PIERRE SD 57501-8501
STATE OF TENNESSEE                       500 DEADERICK ST NASHVILLE TN 37242
STATE OF TENNESSEE                       CASHIER SECTION, 1148 FOSTER AVE NASHVILLE TN 37249
STATE OF TENNESSEE ATTORNEY GENERAL      ATTN: JONATHAN SKRMETTI PO BOX 20207 NASHVILLE TN 37202-0207
STATE OF TEXAS                           111 E 17TH ST AUSTIN TX 78701
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON 300 W 15TH ST AUSTIN TX 78701
STATE OF TEXAS ATTORNEY GENERAL          ATTN: KEN PAXTON PO BOX 12548 AUSTIN TX 78711-2548
STATE OF UTAH                            DEPARTMENT OF COMMERCE, PO BOX 146705 SALT LAKE CITY UT 84114
STATE OF UTAH                            DEPT. OF AGRICULTURE, PO BOX 146500 SALT LAKE CITY UT 84114
STATE OF UTAH                            DIVISION OF INDUSTRIAL ACCIDENTS 160 EAST 300 SOUTH 3RD FLOOR SALT LAKE CITY
                                         UT 84114
STATE OF UTAH ATTORNEY GENERAL           ATTN: SEAN D. REYES 350 N STATE ST, STE 230 SALT LAKE CITY UT 84114-2320
STATE OF UTAH ATTORNEY GENERAL           ATTN: SEAN D. REYES PO BOX 142320 SALT LAKE CITY UT 84114-2320
STATE OF VERMONT ATTORNEY GENERAL        ATTN: CHARITY R. CLARK 109 STATE ST MONTPELIER VT 05609-1001
STATE OF VIRGINIA ATTORNEY GENERAL       ATTN: JASON MIYARES 202 N NINTH ST RICHMOND VA 23219



Epiq Corporate Restructuring, LLC                                                                   Page 1808 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1817 of 2156

Claim Name                              Address Information
STATE OF WASHINGTON                    PO BOX 9020 OLYMPIA WA 98507
STATE OF WASHINGTON ATTORNEY GENERAL   ATTN: BOB FERGUSON 1125 WASHINGTON ST SE OLYMPIA WA 98504-0100
STATE OF WASHINGTON ATTORNEY GENERAL   ATTN: BOB FERGUSON PO BOX 40100 OLYMPIA WA 98504-0100
STATE OF WASHINGTON DEPT OF REVENUE    UNCLAIMED PROPERTY SECTION 2500 EAST VALLEY RD SUITE C RENTON WA 98057
STATE OF WEST VIRGINIA - WVSTO         UNCLAIMED PROPERTY DIVISION, PO BOX 3328 CHARLESTON WV 25333
STATE OF WEST VIRGINIA ATTORNEY GENERAL ATTN: PATRICK MORRISEY STATE CAPITOL COMPLEX, BLDG 1, ROOM E-26 1900 KANAWHA
                                        BLVD. E CHARLESTON WV 25305
STATE OF WISCONSIN ATTORNEY GENERAL    ATTN: JOSH KAUL WISCONSIN DEPARTMENT OF JUSTICE 17 PO BOX 7857 MADISON WI
                                       53703-7857
STATE OF WISCONSIN CIRCUIT COURT       OZAUKEE COUNTY CIRCUIT COURT 1201 S SPRING ST PORT WASHINGTON WI 53074
STATE OF WYOMING ATTORNEY GENERAL      ATTN: BRIDGET HILL 109 STATE CAPITAL 200 W. 24TH ST CHEYENNE WY 82002
STATE SPRING SERVICE INC.              7349 DIVISION S GRAND RAPIDS MI 49548
STATE ST (0997)                        ATT PROXY DEPT 1776 HERITAGE DR NORTH QUINCY MA 02171
STATE ST (2319)                        ATT PROXY DEPT 1776 HERITAGE DR NORTH QUINCY MA 02171
STATE ST (2399)                        ATT PROXY DEPT 1776 HERITAGE DR NORTH QUINCY MA 02171
STATE ST BANK & TST (2950)             ATT PROXY DEPT 1776 HERITAGE DR NORTH QUINCY MA 02171
STATE TAX COMMISSION                   PO BOX 1033 JACKSON MS 39215
STATE TO STATE LOGISTICS LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
STATE TO STATE RELOCATION INC          433 OLD HIGHWAY 85 MABANK TX 75156
STATE TO STATE TRANSPORT CORP          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
STATE TRANSPORT CORP                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STATE TREASURER OF MISSISSIPPI         UNCLAIMED PROPERTY DIVISION 501 N WEST ST, STE 1101A WOOLFORK BLDG JACKSON MS
                                       39201
STATE WATER RESOURCES CONTROL BOARD    DIVISON OF WATER QUALITY, PO BOX 1888 SACRAMENTO CA 95812
STATE WATER RESOURCES CONTROL BOARD    PO BOX 1888 SACRAMENTO CA 95812
STATE WATER RESOURCES CONTROL BOARD    SCP PROGRAM, PO BOX 1888 SACRAMENTO CA 95812
STATE, WILLIE                          ADDRESS ON FILE
STATELINE CARRIER LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
STATELINE ROADRUNNERS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STATEN, BRUCE                          ADDRESS ON FILE
STATEN, CHRISTIAN                      ADDRESS ON FILE
STATEN, JOHN                           ADDRESS ON FILE
STATEN, KRISTOPHER                     ADDRESS ON FILE
STATEN, MATTHEW                        ADDRESS ON FILE
STATEN, RODERICK                       ADDRESS ON FILE
STATES EXPRESS LLC                     OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
STATES LOGISTICS                       5650 DOLLY AVE BUENA PARK CA 90621
STATES LOGISTICS ATTN ACCT PAY         5650 DOLLY AVE BUENA PARK CA 90621
STATES TRANSPORTATION LLC              OR CCT FACTORING LLC, PO BOX 116999 ATLANTA GA 30368
STATEWIDE EXPRESS LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
STATEWIDE FENCE CONTRACTORS            651 SOUTH AVENUE GARWOOD NJ 07027
STATEWIDE LOGISTICS INC                1009 N PACIFIC AVE, SUITE 4504 GLENDALE CA 91202
STATEWIDE LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STATEWIDE TOWING & RECOVERY, INC.      190 N. MAIN ST RIVERSIDE CA 92501
STATHAM, PHILLIP                       ADDRESS ON FILE
STATLANDER, SARAH                      ADDRESS ON FILE
STATOM, PATRICK                        ADDRESS ON FILE
STATON, KELVIN                         ADDRESS ON FILE
STATUS TRANSPORTATION CORPORATION      OR STEELHEAD FINANCE LLC 3518 HEATHROW WAY MEDFORD OR 97504
STATZ, MICHAEL                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                               Page 1809 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1818 of 2156

Claim Name                           Address Information
STAUDT, GREGORY                      ADDRESS ON FILE
STAUDT, WILLIAM                      ADDRESS ON FILE
STAUFFACHER, LARRY                   ADDRESS ON FILE
STAUFFACHER, MICHAEL                 ADDRESS ON FILE
STAUFFER, TIMOTHY                    ADDRESS ON FILE
STAUFFER, TIMOTHY B                  ADDRESS ON FILE
STAUFFERS TOWING                     1960 S PAINTER LN WEST HAVEN UT 84401
STAUNER, CHRIS                       ADDRESS ON FILE
STAUP, CHASE                         ADDRESS ON FILE
STAUP, MIKE                          ADDRESS ON FILE
STAUTEK LOGISTICS LLC                9345 BERNOULLI DR AUSTIN TX 78748
STAVERT, KEITH                       ADDRESS ON FILE
STAVERT, KEITH D                     ADDRESS ON FILE
STAVRINOU, STEVE                     ADDRESS ON FILE
STAVROS ALEXOPOULOS                  ADDRESS ON FILE
STAWIZYNSKI, ADAM                    ADDRESS ON FILE
STAY DA PATH TRUCKING LLC            OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
STAY READY TRANSPORT INC             OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139
STCLAIR, DAYMIEN                     ADDRESS ON FILE
STCLAIR, MICHAEL                     ADDRESS ON FILE
STEAD, MARIAH                        ADDRESS ON FILE
STEADFAST TRANSPORT LLC              OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
STEADHAM, JUSTIN                     ADDRESS ON FILE
STEADY TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STEADYSTAR TRUCKING LLC              OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
STEAGALL, DARLA                      ADDRESS ON FILE
STEALTH ENTERPRISE LLC               907 DIVISION ST. BRISTOL IN 46507
STEAM CARGO, INC                     6974 CAMPBELL BLVD, N TONAWANDA NY 14120-9605
STEAM LOGISTICS                      ATTN: KIM JOHNSON CLAIMS 325 MARKET ST STE 204 CHATTANOOGA TN 37402
STEAM LOGISTICS LLC                  325 MARKET ST STE 204 CHATTANOOGA TN 37402
STEAM-A-WAY CLEANING CO INC          15509 STATE HWY 131 TOMAH WI 54660
STEARNS, AARON                       ADDRESS ON FILE
STEARNS, CHRISTINA                   ADDRESS ON FILE
STEBAS LLC                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
STEC, SANDRA                         ADDRESS ON FILE
STECK, ANDREW                        ADDRESS ON FILE
STEED LOGISTIC INC                   1310 STEELES AVE BRAMPTON ON L6R 1A2 CANADA
STEED, SARAH                         ADDRESS ON FILE
STEEL CITIES STEELS, INC.            395 MELTON ROAD BURNS HARBOR IN 46304
STEEL CITY ENTERPRISES, INC.         OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
STEEL CITY PRODUCTS                  ATTN: MINDY RODEN 1044 CORPORATE LN EXPORT PA 15632
STEEL CITY VACUUM                    2299 HARBOR BLVD. COSTA MESA CA 92626
STEEL CRAFT TECH                     8057 GRAPHIC IND BELMONT MI 49306
STEEL ELECTRIC PRODS                 ATTN: JOANN CANITANO 6301 NEW UTRECHT AVE BROOKLYN NY 11219
STEEL ELECTRIC PRODS                 ATTN: KAREN RICHIEZ 6301 NEW UTRECHT AVE BROOKLYN NY 11219
STEEL FLEET TRANSPORT LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STEEL GATE CO LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
STEEL KING INDUSTRIES                ATTN: RON LUCARELLI EVANS TRANS 171 WEST WING STREET STE 204A ARLINGTON
                                     HEIGHTS IL 60005



Epiq Corporate Restructuring, LLC                                                             Page 1810 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1819 of 2156

Claim Name                            Address Information
STEEL RAY LOGISTICS LLC               OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
STEEL TRANSPORTATION SERVICES, INC.   2115 BRANCH ROAD FLINT MI 48506
STEEL, ESTHER                         ADDRESS ON FILE
STEELCRAFT                            9017 BLUE ASH RD CINCINNATI OH 45242
STEELCRAFT MANUFACTURING              ATTN: KAREN TUCKER 11015 KENWOOD RD CINCINNATI OH 45242
STEELE COUNTY TREASURER               PO BOX 890 OWATONNA MN 55060
STEELE REFRIGERATION, LLC             5933 PEPPERELL TOLEDO OH 43612
STEELE TOWING & RECOVERY              870 E MAIN ST GREEN RIVER UT 84525
STEELE TOWING & RECOVERY              503 N MAIN STREET NEPHI UT 84648
STEELE TRUCKING INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STEELE, BRIAN                         ADDRESS ON FILE
STEELE, CHRISTOPHER                   ADDRESS ON FILE
STEELE, DARRELLE                      ADDRESS ON FILE
STEELE, DAVID                         ADDRESS ON FILE
STEELE, DONALD                        ADDRESS ON FILE
STEELE, ELESHIA                       ADDRESS ON FILE
STEELE, JACK                          ADDRESS ON FILE
STEELE, JAMES                         ADDRESS ON FILE
STEELE, JULIAN                        ADDRESS ON FILE
STEELE, MELYNDA                       ADDRESS ON FILE
STEELE, RICHARD                       ADDRESS ON FILE
STEELE, THERON                        ADDRESS ON FILE
STEELE, WINFRED                       ADDRESS ON FILE
STEELMET SUPPLY                       516-43 ST EAST SASKATOON SK S7K 0V6 CANADA
STEELS, JAMES                         ADDRESS ON FILE
STEEN, LANDON                         ADDRESS ON FILE
STEEN, NORMAN                         ADDRESS ON FILE
STEEN, SAMUEL                         ADDRESS ON FILE
STEEN, WILLIAM                        ADDRESS ON FILE
STEENBLIK, LINCOLN                    ADDRESS ON FILE
STEENS, BRIDGET                       ADDRESS ON FILE
STEERE, NATE                          ADDRESS ON FILE
STEERING & HYDRAULIC SERVICES INC     PO BOX 812 DOUGLASVILLE GA 30133
STEFAN L CRANDALL                     ADDRESS ON FILE
STEFAN TRUCKING INC                   OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
STEFAN TRUCKING INC (MC1263207)       6184 BURROUGHS AVE STERLING HEIGHTS MI 48314
STEFANIAK, WOJCIECH                   ADDRESS ON FILE
STEFFEL, LAWRENCE                     ADDRESS ON FILE
STEFFEN, WILLIAM                      ADDRESS ON FILE
STEFFENS, GLENN                       ADDRESS ON FILE
STEFFENS, JEFF                        ADDRESS ON FILE
STEFFENSEN, SEBASTIAN                 ADDRESS ON FILE
STEFFES, SHARI                        ADDRESS ON FILE
STEFFY PRINTING, INC.                 200 SOUTH CHESTNUT STREET ELIZABETHTOWN PA 17022
STEGALL, CURTIS                       ADDRESS ON FILE
STEGALL, DEAUNTA                      ADDRESS ON FILE
STEGALL, KEVIN                        ADDRESS ON FILE
STEGALL, PAUL                         ADDRESS ON FILE
STEGALL, THEODORE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1811 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1820 of 2156

Claim Name                              Address Information
STEGER, TIMOTHY                         ADDRESS ON FILE
STEGER, TODD                            ADDRESS ON FILE
STEGMEIER LLC                           ATTN: ANTHONY AUSTIN 1111 W HARRIS RD ARLINGTON TX 76001
STEHL, JUSTIN                           ADDRESS ON FILE
STEHLI, JOHN                            ADDRESS ON FILE
STEIB TRANSPORTATION LLC                OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
STEIG TRUCKING LLC                      209 W UPTON AVE REED CITY MI 49677
STEIGERWALT, AUSTIN                     ADDRESS ON FILE
STEIN, JARED P                          ADDRESS ON FILE
STEIN, JORDAN                           ADDRESS ON FILE
STEINBERG, ADRICK                       ADDRESS ON FILE
STEINBRECHER, LEWIS J                   ADDRESS ON FILE
STEINBRUEGGE, WILLIAM                   ADDRESS ON FILE
STEINDL JR, JOHN                        ADDRESS ON FILE
STEINDL, JOHN                           ADDRESS ON FILE
STEINER TRACTOR PARTS                   ATTN: PATTI PIERCE CLAIMS/PATTI 1660 S M 13 LENNON MI 48449
STEINKE, DAVID                          ADDRESS ON FILE
STEINMACHER, ANTON                      ADDRESS ON FILE
STEINMACHER, ANTON                      ADDRESS ON FILE
STEINMETZ, THOMAS                       ADDRESS ON FILE
STELIND TRANSPORTATION LLC              OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
STELL, TODD                             ADDRESS ON FILE
STELLAR CARGO INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STELLAR CARRIERS INC.                   1500 HARBOUR DR, APT 4D WHEELING IL 60090
STELLAR FREIGHT INC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STELLAR LOGISTICS LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STELLAR LOGISTICS LLC                   OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415
STELLAR MANUFACTURING CO                1647 SAUGET BUSINESS BLVD SAUGET 62206
STELLAR SCIENTIFIC LLC                  ATTN: DORIS DOUGLAS 10715 RED RUN BLVD STE 111 & 112 OWINGS MILLS MD 21117
STELLAR TRANSPORTATION LLC              OR TAB BANK, PO BOX 150830 OGDEN UT 84415
STELLE CORPORATION                      PO BOX 14054 BIN: 120 ST LOUIS MO 63178-4054
STELLE CORPORATION                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STELZEL, FRANK                          ADDRESS ON FILE
STEMLER PLUMBING, INC.                  812 EAST 10TH STREET JEFFERSONVILLE IN 47130
STEMLER, STEVEN                         ADDRESS ON FILE
STEMMLER, DANIEL T                      ADDRESS ON FILE
STEMPNIAK, PAUL                         ADDRESS ON FILE
STEMPORA, WESLEY                        ADDRESS ON FILE
STENARD, MARK                           ADDRESS ON FILE
STENBERG, JAY                           ADDRESS ON FILE
STENGEL, NORMAN                         ADDRESS ON FILE
STENGER, HEIDI                          ADDRESS ON FILE
STENHOUSE, BRUCE                        ADDRESS ON FILE
STENLAKE, KYLE                          ADDRESS ON FILE
STENNIS, JEMAR                          ADDRESS ON FILE
STENSTROM                               PETROLEUM SERVICES GROUP, PO BOX 5946 ROCKFORD IL 61125
STENSTROM EXCAVATION & BLACKTOP, INC.   PO BOX 5946 ROCKFORD IL 61125
STENZ, AUGUST                           ADDRESS ON FILE
STENZ, AUGUST J                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1812 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1821 of 2156

Claim Name                            Address Information
STENZEL, SCOTT                        ADDRESS ON FILE
STEP EXPRESS INC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
STEP ONE LLC                          2044 PEACH TREE LN ALGONQUIN IL 60102
STEP TRUCKING INC                     OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197
STEPANEK, ANDREW                      ADDRESS ON FILE
STEPANOV TRUCKING, LLC                5978 SOUTH VALLEY PIKE, 5978 SOUTH VALLEY PIKE, MT CRAWFORD VA 22841
STEPHANCHICK, BRIAN                   ADDRESS ON FILE
STEPHANIE R NEEDHAM                   ADDRESS ON FILE
STEPHANY, CRYSTAL                     ADDRESS ON FILE
STEPHEN A KINSMAN                     ADDRESS ON FILE
STEPHEN BOONE                         ADDRESS ON FILE
STEPHEN C DAVISON                     ADDRESS ON FILE
STEPHEN C FIX                         ADDRESS ON FILE
STEPHEN C RASMUSSEN                   ADDRESS ON FILE
STEPHEN CRAVER                        ADDRESS ON FILE
STEPHEN DIAZ                          ADDRESS ON FILE
STEPHEN DIAZ                          ADDRESS ON FILE
STEPHEN G LEWIS                       ADDRESS ON FILE
STEPHEN GOULD                         ADDRESS ON FILE
STEPHEN HENRY                         ADDRESS ON FILE
STEPHEN J BALGA                       ADDRESS ON FILE
STEPHEN J THOMAS                      ADDRESS ON FILE
STEPHEN KLINE                         ADDRESS ON FILE
STEPHEN L HORNBUCKLE                  ADDRESS ON FILE
STEPHEN PARSONS                       ADDRESS ON FILE
STEPHEN S SHAFER                      ADDRESS ON FILE
STEPHEN W CULP                        ADDRESS ON FILE
STEPHEN WILSON                        ADDRESS ON FILE
STEPHENS CARRIERS, INC.               131A SANDERS FERRY RD HENDERSONVILLE TN 37075
STEPHENS HEATING & COOLING INC        2795 SW HIGH DESERT DR PRINEVILLE OR 97754
STEPHENS INSURANCE LLC                111 CENTER ST SUITE 100 LITTLE ROCK AR 72201
STEPHENS INSURANCE LLC                PO BOX 3507 LITTLE ROCK AR 72203
STEPHENS LOGISTICS                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STEPHENS MOBILE WELDING SERVICE LLC   5645 SE 56TH ST CARLISLE IA 50047
STEPHENS TOWING                       7915 WILLIAMSPORT PIKE FALLING WATERS WV 25419
STEPHENS, ALEXANDER                   ADDRESS ON FILE
STEPHENS, ANTHONY                     ADDRESS ON FILE
STEPHENS, BARB                        ADDRESS ON FILE
STEPHENS, BARTON                      ADDRESS ON FILE
STEPHENS, CARL H                      ADDRESS ON FILE
STEPHENS, CHASE                       ADDRESS ON FILE
STEPHENS, COZEA                       ADDRESS ON FILE
STEPHENS, DAVONTE                     ADDRESS ON FILE
STEPHENS, DEBI                        ADDRESS ON FILE
STEPHENS, DENNIS                      ADDRESS ON FILE
STEPHENS, GROVER                      ADDRESS ON FILE
STEPHENS, HOMER                       ADDRESS ON FILE
STEPHENS, JEFFREY                     ADDRESS ON FILE
STEPHENS, JEFFREY & JENNIFER          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1813 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1822 of 2156

Claim Name                           Address Information
STEPHENS, JEFFREY & JENNIFER         ADDRESS ON FILE
STEPHENS, JENNIFER                   ADDRESS ON FILE
STEPHENS, JOHN A                     ADDRESS ON FILE
STEPHENS, KAYLA                      ADDRESS ON FILE
STEPHENS, KEON                       ADDRESS ON FILE
STEPHENS, KEVIN                      ADDRESS ON FILE
STEPHENS, KIARA                      ADDRESS ON FILE
STEPHENS, MICHAEL                    ADDRESS ON FILE
STEPHENS, MORECO                     ADDRESS ON FILE
STEPHENS, NATISHIA                   ADDRESS ON FILE
STEPHENS, NEIL                       ADDRESS ON FILE
STEPHENS, PHILLIP                    ADDRESS ON FILE
STEPHENS, ROMAIN                     ADDRESS ON FILE
STEPHENS, TERRY                      ADDRESS ON FILE
STEPHENS, THOMAS                     ADDRESS ON FILE
STEPHENS, TYREN                      ADDRESS ON FILE
STEPHENS, WILLIAM                    ADDRESS ON FILE
STEPHENS, WILLIAM                    ADDRESS ON FILE
STEPHENSON, BARBARA                  ADDRESS ON FILE
STEPHENSON, CHRISTIAN                ADDRESS ON FILE
STEPHENSON, CONNY                    ADDRESS ON FILE
STEPHENSON, DANIEL D                 ADDRESS ON FILE
STEPHENSON, DANIEL K                 ADDRESS ON FILE
STEPHENSON, EILEEN                   ADDRESS ON FILE
STEPHENSON, KEITH                    ADDRESS ON FILE
STEPHENSON, KEVIN                    ADDRESS ON FILE
STEPHENSON, LOLA                     ADDRESS ON FILE
STEPHENSON, LOUIE                    ADDRESS ON FILE
STEPHENSON, MCKAY                    ADDRESS ON FILE
STEPHENSON, MICHAEL                  ADDRESS ON FILE
STEPHENSON, REX                      ADDRESS ON FILE
STEPHENSON, RICHARD                  ADDRESS ON FILE
STEPHENSON, RICKY                    ADDRESS ON FILE
STEPHENSON, ROBERT                   ADDRESS ON FILE
STEPHENSON, WILLIAM                  ADDRESS ON FILE
STEPHY TRUCKING LLC                  OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
STEPINSKI, JOHN L                    ADDRESS ON FILE
STEPNIAK, JOHN                       ADDRESS ON FILE
STEPP AND SONS GARAGE DOORS          3151 CHARLESTON RD RIPLEY WV 25271
STEPP, CLINTON                       ADDRESS ON FILE
STEPPS TOWING SERVICE OF TAMPA INC   9602 E US HWY 92 TAMPA FL 33610
STEPPS TOWING SERVICE OF TAMPA INC   9602 E US HIGHWAY 92 TAMPA FL 33619
STEREO CENTER                        4800 WHITE LANE BAKERSFIELD CA 93309
STEREO PROS                          1441 W. 6TH ST. SUITE 103 CORONA CA 92882
STERGER, CASEY                       ADDRESS ON FILE
STERICYCLE, ULC                      PO BOX 15781 STATION A TORONTO ON M5W 1C1 CANADA
STERILITE                            PO BOX 8001, 30 SCALES LANE TOWNSEND MA 01469
STERILITE CORPORATION                30 SCALES LANE TOWNSEND MA 01469
STERITI, ALEX                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1814 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1823 of 2156

Claim Name                           Address Information
STERITI, ANNA                        ADDRESS ON FILE
STERITI, ANNA E                      ADDRESS ON FILE
STERITI, MICHELLE                    ADDRESS ON FILE
STERLING                             PO BOX 35626 NEWARK NJ 07193
STERLING BACKCHECK CANADA CORP       PO BOX 12051 STATION A TORONTO ON M5W 0K5 CANADA
STERLING DIESEL SERVICE              160 EDWARDS AVE STERLING CO 80751
STERLING ELECTRIQUE                  ADDRESS ON FILE
STERLING FREIGHT SYSTEM LTD          OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON ON L6T 5C5 CANADA
STERLING FREIGHT SYSTEM LTD          OR AVA FINANCIAL GROUP INC 273 MOORE PARK AVENUE TORONTO ON M2M 1N5 CANADA
STERLING INTERNATIONAL INC           3808 N SULLIVAN RD BLDG 30 K SPOKANE WA 99216
STERLING MOUNCE                      ADDRESS ON FILE
STERLING NATIONAL BANK               D/B/A: WEBSTER BANK ONE JERICHO PLAZA JERICHO NY 11753
STERLING STOCK FORMS                 5300 CRATER LAKE AVE CENTRAL POINT OR 97502
STERLING TRANSPORT SERVICES IN       ATTN: RICHARD GRABER 47 DEBRA LN BASKING RIDGE NJ 07920
STERLING TRUCK & TRAILER SALES LTD   762 MCDONALD ST REGINA SK S4N 7M7 CANADA
STERLING WATER, INC.                 PO BOX 7085 INDIANAPOLIS IN 46207
STERLING WATER, INC.                 SUITE B, 1928 TRUAX BLVD EAU CLAIRE WI 54703-9613
STERLING, ALEXANDER                  ADDRESS ON FILE
STERLING, FRANK                      ADDRESS ON FILE
STERLING, JERRELL                    ADDRESS ON FILE
STERLING, JOSEPH                     ADDRESS ON FILE
STERLING, LARRY                      ADDRESS ON FILE
STERLING, MARK                       ADDRESS ON FILE
STERMER, DALE                        ADDRESS ON FILE
STERMER, RYAN                        ADDRESS ON FILE
STERN, MICHAEL                       ADDRESS ON FILE
STERN-CIVORELLI, RHONDA              ADDRESS ON FILE
STERNBERG INTERNATIONAL              PO BOX 690 JASPER IN 47547
STERNBERG INTERNATIONAL              PO BOX 690 JASPER IN 47547-0690
STERNBERG LIGHTING                   555 LAWRENCE AVENUE ROSELLE IL 60172
STERNES, GENE                        ADDRESS ON FILE
STERNO                               ROCKFARM 300 DATA CT DUBUQUE IA 52003
STERNOCANDLELAMP                     ROCKFARM 300 DATA CT DUBUQUE IA 52003
STERNWEIS & SONS INC.                ATTN: GLEN STERNWEIS 11397 WREN ROAD MARSHFIELD WI 54449-8723
STERO TRUCKING INC                   OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
STETSON BUILDING PRODUCTS LLC        PO BOX 856458 MINNEAPOLIS MN 55485
STEUERWALD, KEVIN                    ADDRESS ON FILE
STEVE BATTA                          ADDRESS ON FILE
STEVE BECKER                         ADDRESS ON FILE
STEVE CAGLE TRUCKING CO., LLC        2896 MCJOHN ST, 0 HUNTSVILLE AL 35805
STEVE COURTNEY INC                   PO BOX 2998 LA GRANDE OR 97850
STEVE DUNCAN FARMS                   ADDRESS ON FILE
STEVE E THOMPSON                     ADDRESS ON FILE
STEVE FORLER TRUCKING, INC.          PO BOX 5327 BOISE ID 83705
STEVE G BATTA                        ADDRESS ON FILE
STEVE G DAVIS                        ADDRESS ON FILE
STEVE GREEN TRUCKING LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STEVE J RIESTERER                    ADDRESS ON FILE
STEVE L WELLS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1815 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1824 of 2156

Claim Name                          Address Information
STEVE LEE WISE                      ADDRESS ON FILE
STEVE LYNTON                        ADDRESS ON FILE
STEVE M J LOGISTICS                 25329 BRUSHLINE RD EDINBURG TX 78542
STEVE MADISON                       ADDRESS ON FILE
STEVE OCKERMAN INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STEVE PANAGIOTOU                    ADDRESS ON FILE
STEVE PANAGIOTOU                    ADDRESS ON FILE
STEVE PLEASANT EXCAVATING, LLC      34 HALL STREET MADISONVILLE KY 42431
STEVE RIPPEE                        ADDRESS ON FILE
STEVE ROBERTSON TRUCKING, LLC       3191 MILLVILLE-SHANDON RD HAMILTON OH 45013
STEVE ROSE                          ADDRESS ON FILE
STEVE STAVRINOU                     ADDRESS ON FILE
STEVE V LOGISTICS LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
STEVE, JOSEPH                       ADDRESS ON FILE
STEVE, ROY                          ADDRESS ON FILE
STEVEN A DAVIS                      ADDRESS ON FILE
STEVEN A SELVIG                     ADDRESS ON FILE
STEVEN B. BIEHL                     ADDRESS ON FILE
STEVEN C DAVIS                      ADDRESS ON FILE
STEVEN CHOINACKI                    ADDRESS ON FILE
STEVEN D FIELDS                     ADDRESS ON FILE
STEVEN D SMITH                      ADDRESS ON FILE
STEVEN E KELSHAW                    ADDRESS ON FILE
STEVEN E SPARKS                     ADDRESS ON FILE
STEVEN E ZEBROWSKI                  ADDRESS ON FILE
STEVEN FRAZIER - OM                 ADDRESS ON FILE
STEVEN G COBB                       ADDRESS ON FILE
STEVEN G MARTIN                     ADDRESS ON FILE
STEVEN G SMITH                      ADDRESS ON FILE
STEVEN GUSTOVICH ANDJAYNE VETTER    ADDRESS ON FILE
STEVEN HICKS                        ADDRESS ON FILE
STEVEN HOOD                         ADDRESS ON FILE
STEVEN J BARTON                     ADDRESS ON FILE
STEVEN J HILTON                     ADDRESS ON FILE
STEVEN LOU                          ADDRESS ON FILE
STEVEN M BIERIG                     ADDRESS ON FILE
STEVEN M CALL                       ADDRESS ON FILE
STEVEN M SKIBISKI                   ADDRESS ON FILE
STEVEN MANNING                      ADDRESS ON FILE
STEVEN MILLER                       ADDRESS ON FILE
STEVEN P LUNA                       ADDRESS ON FILE
STEVEN R BISTOR                     ADDRESS ON FILE
STEVEN R BOUTIN                     ADDRESS ON FILE
STEVEN R BURKE                      ADDRESS ON FILE
STEVEN R FISH                       ADDRESS ON FILE
STEVEN R HOWE                       ADDRESS ON FILE
STEVEN R NOHEJL                     ADDRESS ON FILE
STEVEN R ROSE                       ADDRESS ON FILE
STEVEN R ROSE                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1816 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1825 of 2156

Claim Name                           Address Information
STEVEN R SOUTHERN                    ADDRESS ON FILE
STEVEN R VIAN                        ADDRESS ON FILE
STEVEN SIMS                          ADDRESS ON FILE
STEVEN STOKES TRUCKING LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STEVEN TRAUTHWEIN                    ADDRESS ON FILE
STEVEN WALL                          ADDRESS ON FILE
STEVEN WEBB                          ADDRESS ON FILE
STEVENDYLAN LLC                      OR SEVENOAKS CAPITAL ASSOCIATES, LLC P O BOX 669130 HOUSTON TX 75266
STEVENS CREEK LLC                    OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
STEVENS DISTRIBUTORS, INC.           P O BOX 48 ROLLA MO 65402
STEVENS INSTRUMENTS                  2500 SANDERSVILLE RD. LEXINGTON KY 40511
STEVENS LANDSCAPING AND LAWN CARE    1908 MEAD VALLEY RD MONETA VA 24121
STEVENS TRUCKING CO.                 PO BOX 19608 OKLAHOMA CITY OK 73144
STEVENS WEST INC                     ATTN: CASEY WINDLE 1212 KERR GULCH RD EVERGREEN CO 80439
STEVENS, ABAGAIL                     ADDRESS ON FILE
STEVENS, ALLEN                       ADDRESS ON FILE
STEVENS, BLAKE                       ADDRESS ON FILE
STEVENS, BRIAN                       ADDRESS ON FILE
STEVENS, CARLOS                      ADDRESS ON FILE
STEVENS, CHRISTIAN                   ADDRESS ON FILE
STEVENS, DUSTIN                      ADDRESS ON FILE
STEVENS, DWAYNE D                    ADDRESS ON FILE
STEVENS, ELIZABETH                   ADDRESS ON FILE
STEVENS, GARY                        ADDRESS ON FILE
STEVENS, JAMES                       ADDRESS ON FILE
STEVENS, JAMES                       ADDRESS ON FILE
STEVENS, JIMMY                       ADDRESS ON FILE
STEVENS, JONATHAN                    ADDRESS ON FILE
STEVENS, JUSTIN F                    ADDRESS ON FILE
STEVENS, KEELER                      ADDRESS ON FILE
STEVENS, KENNETH                     ADDRESS ON FILE
STEVENS, MARK                        ADDRESS ON FILE
STEVENS, MARK                        ADDRESS ON FILE
STEVENS, MICHAEL                     ADDRESS ON FILE
STEVENS, NICOLE                      ADDRESS ON FILE
STEVENS, NORMAN                      ADDRESS ON FILE
STEVENS, OFFIONG                     ADDRESS ON FILE
STEVENS, REGINA                      ADDRESS ON FILE
STEVENS, RICHARD                     ADDRESS ON FILE
STEVENS, ROBERT                      ADDRESS ON FILE
STEVENS, ROGER                       ADDRESS ON FILE
STEVENS, TED                         ADDRESS ON FILE
STEVENS, TERRENCE                    ADDRESS ON FILE
STEVENS, THOMAS                      ADDRESS ON FILE
STEVENS, TREAVON                     ADDRESS ON FILE
STEVENSEN, ALAN                      ADDRESS ON FILE
STEVENSON GATE SYSTEMS LLC           210 N. TOLLGATE ROAD BEL AIR MD 21014
STEVENSON TRANSPORT LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STEVENSON TRANSPORTATION LLC         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                               Page 1817 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1826 of 2156

Claim Name                          Address Information
STEVENSON, ANTHONY                  ADDRESS ON FILE
STEVENSON, ANTONIO                  ADDRESS ON FILE
STEVENSON, ARLIE                    ADDRESS ON FILE
STEVENSON, CONNOR                   ADDRESS ON FILE
STEVENSON, CRAIG                    ADDRESS ON FILE
STEVENSON, DOUGLAS                  ADDRESS ON FILE
STEVENSON, DREW                     ADDRESS ON FILE
STEVENSON, GREGORY                  ADDRESS ON FILE
STEVENSON, JAMES                    ADDRESS ON FILE
STEVENSON, JAMES                    ADDRESS ON FILE
STEVENSON, JEREMY                   ADDRESS ON FILE
STEVENSON, JODIE                    ADDRESS ON FILE
STEVENSON, JOSHUA                   ADDRESS ON FILE
STEVENSON, JR                       ADDRESS ON FILE
STEVENSON, MARK                     ADDRESS ON FILE
STEVENSON, MARK E                   ADDRESS ON FILE
STEVENSON, RICKY                    ADDRESS ON FILE
STEVENSON, ROBERT                   ADDRESS ON FILE
STEVENSON, ROBERT                   ADDRESS ON FILE
STEVENSON, RONALD                   ADDRESS ON FILE
STEVENSON, STEVEN                   ADDRESS ON FILE
STEVENSON, THOMAS F                 ADDRESS ON FILE
STEVER, GREG                        ADDRESS ON FILE
STEVERSON, LEON                     ADDRESS ON FILE
STEVERSON, SHAWN                    ADDRESS ON FILE
STEVES PARCELS                      ADDRESS ON FILE
STEVES ROAD SERVICE                 PO BOX 609 ENKA NC 28728
STEVES TIRE SERVICE                 9190 W COUNTY LINE RD MARION MI 49665
STEVO LOGISTICS SERVICES INC        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STEWARD, ARTHUR                     ADDRESS ON FILE
STEWARD, CODY                       ADDRESS ON FILE
STEWARD, DANTE                      ADDRESS ON FILE
STEWARD, DOUGLAS                    ADDRESS ON FILE
STEWARD, JAMES                      ADDRESS ON FILE
STEWARD, JOANNE                     ADDRESS ON FILE
STEWARD, KACI                       ADDRESS ON FILE
STEWARD, MARLO                      ADDRESS ON FILE
STEWARD, RACQUEL                    ADDRESS ON FILE
STEWART & STEVENSON LLC             PO BOX 301063 DALLAS TX 75303
STEWART FAMILY TRUCKING LLC         OR INTEGRITY FACTORING & CONSULTING, INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                    UT 84130
STEWART FINE                        ADDRESS ON FILE
STEWART LOGISTICS LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
STEWART LOGISTICS, INC.             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
STEWART MCKELVEY                    ADDRESS ON FILE
STEWART MCKELVEY                    ADDRESS ON FILE
STEWART MCKELVEY STIRLING SCALES    PURDYS WHARF TOWER ONE 1959 UPPER WATER ST HALIFAX NS B3J 3N2 CANADA
STEWART RENTALS                     5333 N COUNTY RD 700 W MIDDLETOWN IN 47356
STEWART RENTALS                     C/O ANTHONY J.. SAUNDERS, ATTY AT LAW ATTN: ANTHONY J. SAUNDERS 1101 BROAD



Epiq Corporate Restructuring, LLC                                                              Page 1818 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1827 of 2156

Claim Name                         Address Information
STEWART RENTALS                    STREET NEW CASTLE IN 47362
STEWART SUTHERLAND INC             ATTN: BRANDY MCCLEARY BRANDY MCCLEARY PO BOX 162 VICKSBURG MI 49097
STEWART, ADRIAN                    ADDRESS ON FILE
STEWART, ALBERT                    ADDRESS ON FILE
STEWART, ANTHONY                   ADDRESS ON FILE
STEWART, ANTROIN T                 ADDRESS ON FILE
STEWART, BARRY                     ADDRESS ON FILE
STEWART, BARRY A                   ADDRESS ON FILE
STEWART, BERNARD                   ADDRESS ON FILE
STEWART, CEDRIC                    ADDRESS ON FILE
STEWART, CLARENCE                  ADDRESS ON FILE
STEWART, CRISHON                   ADDRESS ON FILE
STEWART, DAVID                     ADDRESS ON FILE
STEWART, DERNARD                   ADDRESS ON FILE
STEWART, DONTAY                    ADDRESS ON FILE
STEWART, DONTRE                    ADDRESS ON FILE
STEWART, DWAUN                     ADDRESS ON FILE
STEWART, DWIGHT                    ADDRESS ON FILE
STEWART, EDWARDO                   ADDRESS ON FILE
STEWART, EUGENE                    ADDRESS ON FILE
STEWART, GEORGE                    ADDRESS ON FILE
STEWART, GLENN                     ADDRESS ON FILE
STEWART, GREGORY                   ADDRESS ON FILE
STEWART, GREGORY                   ADDRESS ON FILE
STEWART, HARDY                     ADDRESS ON FILE
STEWART, IRIS                      ADDRESS ON FILE
STEWART, ISAAC                     ADDRESS ON FILE
STEWART, JAMES                     ADDRESS ON FILE
STEWART, JAMES                     ADDRESS ON FILE
STEWART, JAMES                     ADDRESS ON FILE
STEWART, JAMIE                     ADDRESS ON FILE
STEWART, JAYVON                    ADDRESS ON FILE
STEWART, JEFFREY                   ADDRESS ON FILE
STEWART, JONATHAN                  ADDRESS ON FILE
STEWART, JOSEPH                    ADDRESS ON FILE
STEWART, JOSHUA A                  ADDRESS ON FILE
STEWART, KANICKEES                 ADDRESS ON FILE
STEWART, KEVIN                     ADDRESS ON FILE
STEWART, KEVIN                     ADDRESS ON FILE
STEWART, LAQUESHA                  ADDRESS ON FILE
STEWART, LARRY                     ADDRESS ON FILE
STEWART, LARRY                     ADDRESS ON FILE
STEWART, LOGAN                     ADDRESS ON FILE
STEWART, LORETTA                   ADDRESS ON FILE
STEWART, MARK                      ADDRESS ON FILE
STEWART, MARLON                    ADDRESS ON FILE
STEWART, MATTHEW                   ADDRESS ON FILE
STEWART, MICHAEL                   ADDRESS ON FILE
STEWART, MICHAEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1819 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1828 of 2156

Claim Name                          Address Information
STEWART, MICHAEL                    ADDRESS ON FILE
STEWART, NICHOLAS                   ADDRESS ON FILE
STEWART, PAUL                       ADDRESS ON FILE
STEWART, PHILLIP                    ADDRESS ON FILE
STEWART, QUINNTIN                   ADDRESS ON FILE
STEWART, SCOTT                      ADDRESS ON FILE
STEWART, SPENCER                    ADDRESS ON FILE
STEWART, STEVEN                     ADDRESS ON FILE
STEWART, STEVEN                     ADDRESS ON FILE
STEWART, SYLVESTER                  ADDRESS ON FILE
STEWART, TOMMY                      ADDRESS ON FILE
STEWART, TRAMAIN                    ADDRESS ON FILE
STEWART, TRAVIS                     ADDRESS ON FILE
STEWART, VICTORIA                   ADDRESS ON FILE
STEWART, VINCENT                    ADDRESS ON FILE
STEWNER, FJ LARRY                   ADDRESS ON FILE
STEWNER, RONALD                     ADDRESS ON FILE
STFKLOADING LLC                     OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45250
STG INTERMODAL SOLUTIONS            PO BOX 847210 LOS ANGELES CA 90084-7210
STH TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STI (MC904552)                      2800 S 975 W MANILLA IN 46150
STI CARTAGE                         PO BOX 71279 CHICAGO IL 60694
STI TRANSPORTATION INC (MC834774)   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
STICH, DAVANNEY                     ADDRESS ON FILE
STICKA, BERNIE                      ADDRESS ON FILE
STICKAN, DUSTIN                     ADDRESS ON FILE
STICKAN, DUSTIN H                   ADDRESS ON FILE
STICKLE JR, SHAWN                   ADDRESS ON FILE
STICKLER, MICHAEL                   ADDRESS ON FILE
STICKLES, CHRISTINA                 ADDRESS ON FILE
STICKY GRAFIX                       PO BOX 51633 PIEDMONT SC 29673
STIDHAM, AARON                      ADDRESS ON FILE
STIDHAM, KENNETH R                  ADDRESS ON FILE
STIDHAM, RICHARD                    ADDRESS ON FILE
STIEF, RICHARD                      ADDRESS ON FILE
STIEG, BRADLEY                      ADDRESS ON FILE
STIFEL NICOLAUS & CO. (0793)        ATT CHRIS WIEGAND/PROXY DEPT C/O MEDIANT COMMUNCATIONS 501 N. BROADWAY ST.
                                    LOUIS MO 63102
STIFTER, BRADY                      ADDRESS ON FILE
STIG, LLC                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
STIG, LLC                           OR TRU FUNDING LLC, PO BOX 151013 ODGEN UT 84415
STIGGER, ERIC                       ADDRESS ON FILE
STIGGERS, ALTON                     ADDRESS ON FILE
STIGLIANO, PETE                     ADDRESS ON FILE
STIKES, DARREN                      ADDRESS ON FILE
STILEHAUL INC                       PO BOX 2050 SUMNER WA 98390
STILES LAWN & LANDSCAPING           21486 BUCKLAND HOLDEN RD CRIDERSVILLE OH 45806
STILES LAWN & LANDSCAPING           3713 SHALLOWAY DR LIMA OH 45806
STILES, CHARLES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1820 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1829 of 2156

Claim Name                            Address Information
STILES, CHARLES                       ADDRESS ON FILE
STILES, DAVID                         ADDRESS ON FILE
STILES, ROBERT                        ADDRESS ON FILE
STILES, SCOTT                         ADDRESS ON FILE
STILES, TAMMY                         ADDRESS ON FILE
STILES, TODD D                        ADDRESS ON FILE
STILL, ALEXIA                         ADDRESS ON FILE
STILL, CELESTIENN                     ADDRESS ON FILE
STILL, JOHN                           ADDRESS ON FILE
STILL, JOSEPH                         ADDRESS ON FILE
STILLINGS, GERALD                     ADDRESS ON FILE
STILLMAN TRUCKING INC                 15245 STAFFORD ST CITY OF INDUSTRY CA 91744
STILLS, JAMES                         ADDRESS ON FILE
STILLS, MONTANIZ                      ADDRESS ON FILE
STILLWATER DESIGNS                    PO BOX 459 STILLWATER OK 74076
STILLWELL, GARY                       ADDRESS ON FILE
STIMAC, JON                           ADDRESS ON FILE
STIMELING, PEGGY                      ADDRESS ON FILE
STIMPLE, DANIELLE                     ADDRESS ON FILE
STIMPSON, DANIEL                      ADDRESS ON FILE
STINA INC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
STINE LUMBER                          2401 VETERANS MEMORIAL DR. ABBEVILLE LA 70520
STINE, CHRISTOPHER                    ADDRESS ON FILE
STINE, CLARENCE                       ADDRESS ON FILE
STINE, JOHN                           ADDRESS ON FILE
STINGLEY, JAMES                       ADDRESS ON FILE
STINGLEY, JAMES                       ADDRESS ON FILE
STINGRAY LOGISTICS INC                OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA AB L4Z 1X8
                                      CANADA
STINGRAY LOGISTICS, INC.              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
STINNETT TRUCK REPAIR & TOWING, LLC   PO BOX 339 KUTTAWA KY 42055
STINSON LEONARD STREET LLP            ATTN ACCOUNTING DEPARTMENT PO BOX 843052 KANSAS CITY MO 64184
STINSON, DYTOINE                      ADDRESS ON FILE
STINSON, GREGORY                      ADDRESS ON FILE
STINSON, JASON                        ADDRESS ON FILE
STINSON, JEREMY                       ADDRESS ON FILE
STINSON, RAYMOND                      ADDRESS ON FILE
STINSON, WILLIAM                      ADDRESS ON FILE
STIO, MARCIA                          ADDRESS ON FILE
STIPP, NATHAN                         ADDRESS ON FILE
STIPPEL, JORDAN                       ADDRESS ON FILE
STIRES, DELORES                       ADDRESS ON FILE
STIRES, JESSE                         ADDRESS ON FILE
STIRLING, HOLLI                       ADDRESS ON FILE
STIRN, RACHEL                         ADDRESS ON FILE
STITES, JOSEPH                        ADDRESS ON FILE
STITES, JOSEPH                        ADDRESS ON FILE
STITH, DONALD                         ADDRESS ON FILE
STITT, DEBORAH                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1821 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1830 of 2156

Claim Name                            Address Information
STITT, MATTHEW                        ADDRESS ON FILE
STITT, WILLIAM                        ADDRESS ON FILE
STIVAL, BRUNO                         ADDRESS ON FILE
STIVENS EXPRESS LLC                   OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
STIVERS, AMBER                        ADDRESS ON FILE
STIVERS, ZACHARIAH                    ADDRESS ON FILE
STIVO TRUCKING & TRANSPORTATION LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STJEAN, STEVE                         ADDRESS ON FILE
STJOHN, SHANNON                       ADDRESS ON FILE
STL                                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
STL (MC1100550)                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STL (MC1178321)                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
STL (MC753686)                        12698 CENTREVEILLE CREEK RD CALDON ON L7C 3A6 CANADA
STL FLEET LLC.                        OR CD CONSORTIUM CORP 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
STL LOGISTICS                         STL LOGISTICS, 9075 EIGHTH LINE RR 102 GEORGETOWN ON L7G4S5 CANADA
STL TRANSPORTATION INC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STL TRUCKERS, LLC.                    OR TRANSAM FINANCIAL SERVICES, INC PO BOX 872632 KANSAS CITY MO 64187
STM G, INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STM LOGISTICS LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
STN TRANSPORT                         5718 EISENHOWER DR RIVERBANK CA 95367
STN TRUCKING INC                      OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
STOBER, SCOTT                         ADDRESS ON FILE
STOC TRAILER SERVICES INC             30 WINTER ST EAST ST LOUIS IL 62201
STOCK, ANTHONY                        ADDRESS ON FILE
STOCK, CASEY                          ADDRESS ON FILE
STOCK, DANIEL                         ADDRESS ON FILE
STOCKARD JR, BART                     ADDRESS ON FILE
STOCKCROSS FIN (0445)                 ATT DIANE TOBEY OR PROXY MGR 77 SUMMER ST BOSTON MA 02210
STOCKDALE LANDSCAPE & CONCRETE        12422 JOMANI DR. BAKERSFIELD CA 93312
STOCKEMER, RONALD                     ADDRESS ON FILE
STOCKMANN, ALEXIS                     ADDRESS ON FILE
STOCKS, SANCHEZ                       ADDRESS ON FILE
STOCKSTELL, DANZLE                    ADDRESS ON FILE
STOCKSTILL TRUCKING, INC.             OR PATHWARD, PO BOX 682348 FRANKLIN TN 37068-2348
STOCKTON TOWING HEAVY                 1203 LEWIS BLVD SIOUX CITY IA 51105
STOCKTON, KENYETTA                    ADDRESS ON FILE
STODDARD, LEVI                        ADDRESS ON FILE
STODDARD, TRACY                       ADDRESS ON FILE
STODDARD, ZACHARY                     ADDRESS ON FILE
STODDART, ANDREW                      ADDRESS ON FILE
STODOLSKI, TYLER                      ADDRESS ON FILE
STOECKLEY, STEVEN                     ADDRESS ON FILE
STOERGER, FRED                        ADDRESS ON FILE
STOEVER, DARYL                        ADDRESS ON FILE
STOEY, KYLE                           ADDRESS ON FILE
STOFFER, KEVIN                        ADDRESS ON FILE
STOKELY, RAL                          ADDRESS ON FILE
STOKELY, RAL J                        ADDRESS ON FILE
STOKES EQUIPMENT                      PO BOX 289 HORSHAM PA 19044



Epiq Corporate Restructuring, LLC                                                             Page 1822 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1831 of 2156

Claim Name                           Address Information
STOKES, CHARLES                      ADDRESS ON FILE
STOKES, CURTIS                       ADDRESS ON FILE
STOKES, DANTE                        ADDRESS ON FILE
STOKES, DERIK                        ADDRESS ON FILE
STOKES, JARREL                       ADDRESS ON FILE
STOKES, JEFFREY S                    ADDRESS ON FILE
STOKES, JEROME                       ADDRESS ON FILE
STOKES, JOHN B                       ADDRESS ON FILE
STOKES, JOHNNIE                      ADDRESS ON FILE
STOKES, KEINA                        ADDRESS ON FILE
STOKES, KEITH                        ADDRESS ON FILE
STOKES, KELVIN                       ADDRESS ON FILE
STOKES, MARCUS                       ADDRESS ON FILE
STOKES, MICHAEL                      ADDRESS ON FILE
STOKES, ROBERT                       ADDRESS ON FILE
STOKESBERRY, LACEY                   ADDRESS ON FILE
STOKHAUG, BRIAN                      ADDRESS ON FILE
STOLAAS, GABRIEL                     ADDRESS ON FILE
STOLARSKI, STANLEY                   ADDRESS ON FILE
STOLBERG, CORY                       ADDRESS ON FILE
STOLL, ARLENE                        ADDRESS ON FILE
STOLL, JOHN                          ADDRESS ON FILE
STOLLENWERK, RUSSELL                 ADDRESS ON FILE
STOLLER TRUCKING, LLC                P O BOX 309 GRIDLEY IL 61744
STOLLWERK, MARK                      ADDRESS ON FILE
STOLMAN, CHARLES                     ADDRESS ON FILE
STOLTENBERG, BARBARA                 ADDRESS ON FILE
STOLTENBERG, EVAN                    ADDRESS ON FILE
STOLTZ TRANSPORT                     24267 TAYLOR ROAD LINCOLN MO 65338
STOLZMAN, RONALD                     ADDRESS ON FILE
STOMBAUGH, THOMAS                    ADDRESS ON FILE
STOMBAUGH, VICTORIA                  ADDRESS ON FILE
STONE AGAIN                          ATTN: BARRY 490 GOOLSBY BLVD. DEERFIELD BEACH FL 33442
STONE BOUTIQUE                       11620 GOODNIGHT LN STE 300 DALLAS TX 75229
STONE BRIDGE TRANSPORT LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STONE BUDDHA TRANSPORT               6339 CHARLOTTE PIKE 659 NASHVILLE TN 37209
STONE CO CONSTRUCTION INC            PO BOX 1210 SUSANVILLE CA 96130
STONE COLD TRUCKING LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STONE CONCEPTS L L C                 3017 ORVAL ORLAN DRIVE JONESBORO AR 72404
STONE EQUIPMENT COMPANY              900 EI SOBRANTE RD. 101 CORONA CA 92879
STONE FREIGHT COMPANY LLC            N5550 COUNTY ROAD Z ONALASKA WI 54650
STONE MOUNTAIN TRUCKING LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
STONE PARK POLICE DEPT               1629 N MANNHEIM RD STONE PARK IL 60165
STONE TRANSPORT                      3495 HACK RD, PO BOX 33745 SAGINAW MI 48601
STONE TRANSPORT LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
STONE, BOB                           ADDRESS ON FILE
STONE, BRANDON                       ADDRESS ON FILE
STONE, BRIAN                         ADDRESS ON FILE
STONE, BRIAN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 1823 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1832 of 2156

Claim Name                             Address Information
STONE, BRIAN                           ADDRESS ON FILE
STONE, CATHY                           ADDRESS ON FILE
STONE, DANIEL                          ADDRESS ON FILE
STONE, DANNY                           ADDRESS ON FILE
STONE, EARL                            ADDRESS ON FILE
STONE, ETHAN                           ADDRESS ON FILE
STONE, HEATHER                         ADDRESS ON FILE
STONE, JAMES                           ADDRESS ON FILE
STONE, JAMES                           ADDRESS ON FILE
STONE, JEFF                            ADDRESS ON FILE
STONE, JOHN                            ADDRESS ON FILE
STONE, JONATHAN                        ADDRESS ON FILE
STONE, JOSEPH                          ADDRESS ON FILE
STONE, JOSEPH                          ADDRESS ON FILE
STONE, MALIKA                          ADDRESS ON FILE
STONE, MICHAEL                         ADDRESS ON FILE
STONE, MICHAEL                         ADDRESS ON FILE
STONE, MICHAEL                         ADDRESS ON FILE
STONE, MICHAEL S                       ADDRESS ON FILE
STONE, RODNEY                          ADDRESS ON FILE
STONE, RON                             ADDRESS ON FILE
STONE, SAMANTHA                        ADDRESS ON FILE
STONE, THOMAS                          ADDRESS ON FILE
STONE, TIMOTHY                         ADDRESS ON FILE
STONE, TYLER                           ADDRESS ON FILE
STONE, VERNON                          ADDRESS ON FILE
STONE, WESLEY                          ADDRESS ON FILE
STONEBRAKER, WILLIAM                   ADDRESS ON FILE
STONEBURNER, HEATHER                   ADDRESS ON FILE
STONECIPHER, ANDREW                    ADDRESS ON FILE
STONEMAR NATURAL STONE CO              ATTN: OLESYA 18000 COMMERCE PKWY MT LAUREL NJ 08054
STONEPRO TRANS INC                     OR BUSBOT INCORPORATED DBA DENIM PO BOX 392797 PITTSBURGH PA 15251-9797
STONER, DAVID                          ADDRESS ON FILE
STONEROCK, AMY                         ADDRESS ON FILE
STONESTREET, TERRY                     ADDRESS ON FILE
STONEWAY ELECTRIC                      ATTN: MIKE HOGAN 7202 STATE ROUTE 270 PULLMAN WA 99163
STONEWAY ELECTRIC                      2701 E FERRY AVE SPOKANE WA 99202
STONEWAY ELECTRIC SUPPLY               1924 4TH AVE S SEATTLE WA 98134
STONEWAY ELECTRIC SUPPLY               18820A SMOKEY POINT BLVD ARLINGTON WA 98223
STONEWOOD DESIGN                       ATTN: VLADIMIR ZAYSHLYY 825 7TH AVE. KIRKLAND WA 98033
STONEY CREEK LOGISTICS INC             6841 NORTH ROCHESTER RD 300F ROCHESTER HILL MI 48306
STONEY CREEK LOGISTICS INC             OR FLAT RATE FUNDING GROUP, LLC PO BOX 150581 OGDEN UT 84415
STONIER, CHAD                          ADDRESS ON FILE
STONYBROOK WATER COMPANY LLC           11 BEACH ST MANCHESTER MA 01944
STOOP, DANIEL                          ADDRESS ON FILE
STOOPS FREIGHTLINER-QUALITY TRAILER,   PO BOX 633838 CINCINNATI OH 45263
INC
STOOPS FREIGHTLINER-QUALITY TRAILER,   27825 NETWORK PLACE CHICAGO IL 60673
INC



Epiq Corporate Restructuring, LLC                                                               Page 1824 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1833 of 2156

Claim Name                             Address Information
STOOPS FREIGHTLINER-QUALITY TRAILER,   27825 NETWORK PLACE CHICAGO IL 60673-1278
INC
STOOPS, BRENDA                         ADDRESS ON FILE
STOP DROP AND ROLL TRUCKING LLC        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
STOPHER, STEPHANIE                     ADDRESS ON FILE
STOPKA, MARCIA                         ADDRESS ON FILE
STOPKA, RICHARD                        ADDRESS ON FILE
STORAGE SOLUTIONS OF NEW YORK INC      78 FREEMANS BRIDGE ROAD GLENVILLE NY 12302
STORBAKKEN, ROBIN                      ADDRESS ON FILE
STORD, INC                             817 W. PEACHTREE ST. NW, SUITE 200 ATLANTA GA 30308
STORE SUPPLY WAREHOUSE                 12955 ENTERPRISE WAY BRIDGETON MO 63044
STOREN, THOMAS                         ADDRESS ON FILE
STORER, ROBERT                         ADDRESS ON FILE
STOREY WRECKER LLC                     1925 N SHERIDAN RD TULSA OK 74115
STOREY, ALLEN                          ADDRESS ON FILE
STOREY, CHRISTOPHER                    ADDRESS ON FILE
STORK TRANSPORTATION INC               OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
STORKY LLC                             7224 FLOREY ST SAN DIEGO CA 92122
STORLIE, JOHN                          ADDRESS ON FILE
STORM PRODUCTS                         165 S 800 W BRIGHAM CITY UT 84302
STORM TRANS LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
STORM, BRIAN                           ADDRESS ON FILE
STORMWATER MAINTENANCE, LLC            913 RIDGEBROOK RD STE 302 SPARKS MD 21152
STORMWATER SERVICES GROUP LLC          8916 OREGON INLET COURT RALEIGH NC 27603
STORTEBOOM, CRAIG                      ADDRESS ON FILE
STORY ELECTRICAL SERVICE, INC.         6335 HILL CHAPEL RD PADUCAH KY 42001
STORY, MICHAEL                         ADDRESS ON FILE
STORY, TIMOTHY                         ADDRESS ON FILE
STORY, VAUGHN                          ADDRESS ON FILE
STORY, WILLIAMS M                      ADDRESS ON FILE
STORZ, PAUL                            ADDRESS ON FILE
STOTTLEMYER, TERRY                     ADDRESS ON FILE
STOTTLEMYRE, JERRY                     ADDRESS ON FILE
STOTTS, CAROL                          ADDRESS ON FILE
STOTTS, CAROL                          ADDRESS ON FILE
STOTTS, JUSTIN                         ADDRESS ON FILE
STOTTS, LEON                           ADDRESS ON FILE
STOTTS, SHELLI                         ADDRESS ON FILE
STOTZ EQUIPMENT                        1830 W. MISSION RD. ESCONDIDO CA 92029
STOUDT, KENNETH                        ADDRESS ON FILE
STOUFFER, AUSTIN                       ADDRESS ON FILE
STOUGHTON RENTAL AND LEASING COMPANY   P.O. BOX 758 STOUGHTON WI 53589-0758
LLC
STOUGHTON TRAILERS ACCEPTANCE CO LLC   416 S ACADEMY ST STOUGHTON WI 53589
STOUGHTON TRAILERS ACCEPTNACE CO LLC   COMPANY, LLC, 416 SOUTH ACADEMY STREET STOUGHTON WI 53589
STOUGHTON TRUCKING, INC.               PO BOX 476 STOUGHTON WI 53589
STOUT, CHARLES                         ADDRESS ON FILE
STOUT, CHRIS                           ADDRESS ON FILE
STOUT, DANNIE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1825 OF 2145
                                            Yellow Corporation
                     Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1834 of 2156

Claim Name                           Address Information
STOUT, DENNIS                        ADDRESS ON FILE
STOUT, DONALD                        ADDRESS ON FILE
STOUT, DONALD                        ADDRESS ON FILE
STOUT, GLENN                         ADDRESS ON FILE
STOUT, KIERSTEN                      ADDRESS ON FILE
STOUT, RAYMOND                       ADDRESS ON FILE
STOUT, ROBERT                        ADDRESS ON FILE
STOUT, ROBERT                        ADDRESS ON FILE
STOUT, SAMUEL                        ADDRESS ON FILE
STOUT, SIRDERRICK                    ADDRESS ON FILE
STOVALL, DARRELL                     ADDRESS ON FILE
STOVALL, DONALD                      ADDRESS ON FILE
STOVALL, JAVON                       ADDRESS ON FILE
STOVALL, KENNETH                     ADDRESS ON FILE
STOVALL, KIRIAKIS                    ADDRESS ON FILE
STOVALL, RAYMOND                     ADDRESS ON FILE
STOVALL, RUSSELL                     ADDRESS ON FILE
STOVER TRANSPORTATION, INC.          PO BOX 1328, 0 HILLIARD OH 43026
STOVER, SCOTT                        ADDRESS ON FILE
STOVER, SHANE                        ADDRESS ON FILE
STOVER, TIMOTHY                      ADDRESS ON FILE
STOWE, LINDA                         ADDRESS ON FILE
STOWE, MARSHALL                      ADDRESS ON FILE
STOWE, ROBERT                        ADDRESS ON FILE
STOWEBRIDGE PROMOTION GROUP          ATTN: MARISSA HART 6280 W ERIE ST CHANDLER AZ 85226
STOWERS, DANNY                       ADDRESS ON FILE
STOWERS, ERICK                       ADDRESS ON FILE
STOZEK, GREGORY                      ADDRESS ON FILE
STPW INC                             3815 SLAUSON AVE MAYWOOD CA 90270
STR TOWING & RECOVERY LLC            1401 HWY 96 N FAIRVIEW TN 37062
STR8 CONNECT TRUCKING LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
STR8 SHOT FREIGHT HAULING LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STRACHAN, MICHAEL                    ADDRESS ON FILE
STRACNER, MONTY                      ADDRESS ON FILE
STRADER FERRIS INTERNATIONAL         ATTN: SANDRA MCLEOD 808 COMMERCE PARK DR OGDENSBURG NY 13669
STRADFORD AND SONS                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
STRADT, JACKSON                      ADDRESS ON FILE
STRAETER, DONALD                     ADDRESS ON FILE
STRAIGHT AHEAD VENTURES INC          70B OAK POINT HWY WINNIPEG MB R2R 1T6 CANADA
STRAIGHT EDGE MAINTENANCE LLC        PO BOX 8464 BEND OR 97708
STRAIGHT FREIGHT SYSTEM LLC          2121 CLAREMONT AVE NE ALBUQUERQUE NM 87107
STRAIGHT LINE ENTERPRISE LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STRAIGHT LINE TRANSPORTATION LLC     OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
STRAIGHT LOGISTICS INC               OR RTS FINACIAL SERIVCE, INC PO BOX 840267 DALLAS TX 75284
STRAIGHT PATH LOGISTICS LLC          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
STRAIGHT PATH TRANSPORTATION         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
STRAIGHT PATH TRUCKING LLC           OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STRAIGHT ROAD TRANSPORTATION, INC.   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101



Epiq Corporate Restructuring, LLC                                                             Page 1826 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1835 of 2156

Claim Name                              Address Information
STRAIGHT RUN INC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STRAIGHT SHOT TRANSPORT INC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STRAIGHT THROUGH LOGISTICS LLC         OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
STRAIGHT THROUGH TRANSPORT LLC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STRAIGHTFORWARD EXPRESS LLC            OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STRAIGHTLINE EXCAVATING INC            19544 BURNHAM AVE LYNWOOD IL 60411
STRAIT, DOUGLAS                        ADDRESS ON FILE
STRAIT, LEWIS                          ADDRESS ON FILE
STRAITWAY TRANSPORTATION & LOGISTICS   OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
LLC
STRAND, JONATHAN                       ADDRESS ON FILE
STRANGE, CHARLES                       ADDRESS ON FILE
STRANGE, DAVID                         ADDRESS ON FILE
STRANGE, JASON                         ADDRESS ON FILE
STRANGE, LORETTA                       ADDRESS ON FILE
STRASHENSKY, LARRY                     ADDRESS ON FILE
STRASSER, MONICA                       ADDRESS ON FILE
STRAT TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
STRATAN INC                            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STRATEGIC PLANNING INC.                7730 OLENTANGY RIVER RD. COLUMBUS OH 43235
STRATEGIC TRANSPORT                    5989 SUSQUEHANNA PLAZA DR YORK PA 17406
STRATEGIC WAREHOUSING                  ATTN: RENEE MCCAIN 2945 COMMERS DR EAGAN MN 55121
STRATHEARN, JAMES                      ADDRESS ON FILE
STRATTON, FREDERICK                    ADDRESS ON FILE
STRATTON, JAMES                        ADDRESS ON FILE
STRATTON, JOHN                         ADDRESS ON FILE
STRATTON, KENNETH                      ADDRESS ON FILE
STRATTON, ROBERT                       ADDRESS ON FILE
STRATUS BUILDING SOLUTIONS             1011 SANDUSKY STREET, SUITE P PERRYSBURG OH 43551
STRATUS BUILDING SOLUTIONS             11260 CORNELL PARK DRIVE CINCINNATI OH 45242
STRATUS BUILDING SOLUTIONS - CINCINNATI 11260 CORNELL PARK DR CINCINNATI OH 45242
STRATUS BUILDING SOLUTIONS OF TOLEDO   1011 SANDUSKY STREET, SUITE P PERRYSBURG OH 43551
STRATUS BUILDING SOLUTIONS OF TOLEDO   D/B/A: STRATUS BUILDING SOLUTIONS PO BOX 208299 DALLAS TX 75320
STRATUS BUILDING SOLUTIONS OF TOLEDO   PO BOX 208299 DALLAS TX 75320
STRATUS OF HAMPTON ROADS               5269 GREENWICH RD SUITE 200 VIRGINIA BEACH VA 23462
STRAUB, GARY                           ADDRESS ON FILE
STRAUB, JEFFREY                        ADDRESS ON FILE
STRAUB, JOHN                           ADDRESS ON FILE
STRAUSER, KEITH                        ADDRESS ON FILE
STRAUSS, DAVID                         ADDRESS ON FILE
STRAUSS, SCOTT                         ADDRESS ON FILE
STRAWDERMAN, GLEN                      ADDRESS ON FILE
STRAWN, JAMES                          ADDRESS ON FILE
STRAWSER, SHAWN D                      ADDRESS ON FILE
STRAWTHER, KELSO                       ADDRESS ON FILE
STRAYER, OLIVIA                        ADDRESS ON FILE
STREAM LOGISTICS                       5425 DIXIE RD MISSISSAUGA ON L4W 1E6 CANADA
STREAND, ANTHONY                       ADDRESS ON FILE
STREATER JR, CLIFFORD                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1827 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1836 of 2156

Claim Name                          Address Information
STREATER, FREDDY                    ADDRESS ON FILE
STREBLER, DAVID                     ADDRESS ON FILE
STRECKFUSS, PAUL                    ADDRESS ON FILE
STREET CARTAGE LIMITED              4278 OIL HERITAGE ROAD PETROLIA ON N0N1R0 CANADA
STREET DREAMS TRUCKING LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
STREET EXPRESS LLC                  OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
STREET FLEET                        PO BOX 130081 ROSEVILLE MN 55113
STREET, EARNEST                     ADDRESS ON FILE
STREET, HERNDON                     ADDRESS ON FILE
STREET, JEFFREY                     ADDRESS ON FILE
STREET, JOHN                        ADDRESS ON FILE
STREET, ROBERT                      ADDRESS ON FILE
STREET, STEVEN                      ADDRESS ON FILE
STREETER, LAMARR                    ADDRESS ON FILE
STREETER-SCOTT, APRIL               ADDRESS ON FILE
STREETSCAPES INC.                   10411 LOVELL CENTER DR., STE 101 KNOXVILLE TN 37922
STREEVAL, DAVID                     ADDRESS ON FILE
STREHLOW, MICHAEL                   ADDRESS ON FILE
STRELTSOV, EDUARD                   ADDRESS ON FILE
STREM CHEMICALS                     BAYSTATE LOGISTICS INC, PO BOX 547 LEOMINSTER MA 01453
STRENGTH TRANSPORT SOLUTIONS INC    2214 LEXINGTON AVE MONROE NC 28112
STREUFERT, DUANE                    ADDRESS ON FILE
STRIANO ELECTRIC                    ATTN: EVAN FORDHAM 441 E FORDHAM RD BRONX NY 10458
STRICK, BART                        ADDRESS ON FILE
STRICKER, BLAINE                    ADDRESS ON FILE
STRICKER, GLENN                     ADDRESS ON FILE
STRICKER, SHAWN                     ADDRESS ON FILE
STRICKLAND, ANDREW                  ADDRESS ON FILE
STRICKLAND, BOBBY                   ADDRESS ON FILE
STRICKLAND, BRENDA                  ADDRESS ON FILE
STRICKLAND, BRIAN                   ADDRESS ON FILE
STRICKLAND, CHARLES                 ADDRESS ON FILE
STRICKLAND, CLAUDE                  ADDRESS ON FILE
STRICKLAND, FREDERICK               ADDRESS ON FILE
STRICKLAND, JACQUELYN               ADDRESS ON FILE
STRICKLAND, JAMES                   ADDRESS ON FILE
STRICKLAND, JUJUAN                  ADDRESS ON FILE
STRICKLAND, KEAWE                   ADDRESS ON FILE
STRICKLAND, MICKEY                  ADDRESS ON FILE
STRICKLAND, NICOLE                  ADDRESS ON FILE
STRICKLAND, NOAH                    ADDRESS ON FILE
STRICKLAND, ORVILLE                 ADDRESS ON FILE
STRICKLAND, ROBERT                  ADDRESS ON FILE
STRICKLAND, SAMMY                   ADDRESS ON FILE
STRICKLAND, SEAN                    ADDRESS ON FILE
STRICKLAND, STELLA                  ADDRESS ON FILE
STRICKLAND, TERRY                   ADDRESS ON FILE
STRICKLIN, ADAM                     ADDRESS ON FILE
STRIDAS                             ATTN: MARK BOOHER 8259 BEECHMONT AVE CINCINNATI OH 45255



Epiq Corporate Restructuring, LLC                                                              Page 1828 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1837 of 2156

Claim Name                           Address Information
STRIKEFORCE BOWLING                  2020 DOWNEY ROAD MELROSE PARK IL 60160
STRINE, DEVIN                        ADDRESS ON FILE
STRINGER, DARRIUS                    ADDRESS ON FILE
STRINGER, MICHAEL                    ADDRESS ON FILE
STRINGER, SHELDON                    ADDRESS ON FILE
STRINGFELLOW, HENRY O                ADDRESS ON FILE
STRIPE RITE INC.                     1813 137TH AVE E SUMNER WA 98390
STRIVV TRUCKING LLC                  OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
STRNAD, TIFFANY                      ADDRESS ON FILE
STROBECK, KENNETH                    ADDRESS ON FILE
STROBLE, CHARLES                     ADDRESS ON FILE
STRODE, STEVEN W                     ADDRESS ON FILE
STROHL, BRADLEY                      ADDRESS ON FILE
STROHM, JAMES                        ADDRESS ON FILE
STROLLO BROS AND SONS INC            DBA STROLLOS TOWING SERVICE 1525 HIGHLAND AVENUE CHESHIRE CT 06410
STROM, JEREMY                        ADDRESS ON FILE
STROM, KIM                           ADDRESS ON FILE
STROM, ROY                           ADDRESS ON FILE
STROMAN, JARIUS                      ADDRESS ON FILE
STROMAN, ROSLYN                      ADDRESS ON FILE
STROMSNES, HANS                      ADDRESS ON FILE
STRONG HORSE TRANSPORTATION LLC      OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
STRONG ONE FREIGHT LLC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STRONG TOWER TRANSPORT LLC           OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
STRONG UNITED TRANSPORTATION LLC     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
STRONG WORLD LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
STRONG, BRIAN                        ADDRESS ON FILE
STRONG, CAROL                        ADDRESS ON FILE
STRONG, CHARLES                      ADDRESS ON FILE
STRONG, DOUGLAS                      ADDRESS ON FILE
STRONG, JOHN                         ADDRESS ON FILE
STRONG, JOSE                         ADDRESS ON FILE
STRONG, JOSEPH                       ADDRESS ON FILE
STRONG, LADERRICK                    ADDRESS ON FILE
STRONG, LAVALE                       ADDRESS ON FILE
STRONG, SAMUEL                       ADDRESS ON FILE
STRONG, THOMAS                       ADDRESS ON FILE
STRONGHAUL INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
STRONGWAY INC                        OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
STROPE, GORDON                       ADDRESS ON FILE
STROPPA, EDWARD                      ADDRESS ON FILE
STROSKI, CHAD                        ADDRESS ON FILE
STROTH, DOUG                         ADDRESS ON FILE
STROTHEIDE, THU                      ADDRESS ON FILE
STROTHER, JR., LARRY                 ADDRESS ON FILE
STROTHER, LARRY                      ADDRESS ON FILE
STROTHMANN, MARY                     ADDRESS ON FILE
STROUD, DARRIN                       ADDRESS ON FILE
STROUD, STEVE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1829 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1838 of 2156

Claim Name                           Address Information
STROUP, RYAN                         ADDRESS ON FILE
STROUP, SCOTT                        ADDRESS ON FILE
STROUP, STEPHEN                      ADDRESS ON FILE
STROUP, TYLER                        ADDRESS ON FILE
STROUPE ELECTRIC INC                 138 E CENTRAL AVENUE, PO BOX 9 MOUNT HOLLY NC 28120
STROUPE ELECTRIC, INC                PO BOX 9 MT. HOLLY NC 28120-0009
STROUPE, NICHOLAS                    ADDRESS ON FILE
STROUPE, RONALD                      ADDRESS ON FILE
STROUT, DAVID L                      ADDRESS ON FILE
STROUT, IAN                          ADDRESS ON FILE
STRUBLE, CECIL                       ADDRESS ON FILE
STRUBLE, KEVIN                       ADDRESS ON FILE
STRUCK, ANGELA                       ADDRESS ON FILE
STRUCK, ROBERT                       ADDRESS ON FILE
STRUCTURAL PLASTICS                  ATTN: ALICIA MATHIS 3401 CHIEF DR HOLLY MI 48442
STRUM, MAURICE                       ADDRESS ON FILE
STRUNEUSKI, ANDREI                   ADDRESS ON FILE
STRUNK, BRUCE L                      ADDRESS ON FILE
STRUNK, LLOYD                        ADDRESS ON FILE
STRUPP, CLIFFORD                     ADDRESS ON FILE
STRUSS, JON                          ADDRESS ON FILE
STS                                  STS, 500 DELANCEY ST NEWARK NJ 07105
STS (GAHANNA OH)                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
STS (LAVAL QC)                       2358 RUE MAGLOIRE HOTTE LAVAL QC H7T 0H9 CANADA
STS CERTIFIED, INC.                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
STS COURIER & PACKAGE DELIVERY INC   PO BOX 382 AVON OH 44011
STS JIGS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
STS TRUCK AND TRUCK EQUIPMENT        3496 COURT ST SYRACUSE NY 13206
STS TRUCKING INC (MC1386525)         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
STTS INC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
STU CAMERONS TRUCKING                L6 RR1 REGINA SK S4P 2Z1 CANADA
STU-RON SPRING INC T/A PETERS        400 ENSOR ST BALTIMORE MD 21202
STU-RON SPRING INC T/A PETERS        PETERS SPRING, PO BOX 13143 BALTIMORE MD 21203
STUART HOSE AND PIPE COMPANY         701 RIVERSIDE DR FORT WORTH TX 76111
STUART IRBY ELECTRICAL               1284 HEIL QUAKER LAVERGNE TN 37086
STUART J ABERNATHY                   ADDRESS ON FILE
STUART VENTURES LLC                  1000 NEWGATE MALL SW OGDEN UT 84405
STUART, CIERRA                       ADDRESS ON FILE
STUART, JEFF                         ADDRESS ON FILE
STUART, LEIGH                        ADDRESS ON FILE
STUART, RANDY                        ADDRESS ON FILE
STUART, ROBERT                       ADDRESS ON FILE
STUART, STEPHANIE                    ADDRESS ON FILE
STUART, TABITHA                      ADDRESS ON FILE
STUART, WAYNE                        ADDRESS ON FILE
STUBBE, BERNIE                       ADDRESS ON FILE
STUBBLEFIELD TRANSPORT LLC           9961 US HWY 27 FOUNTAIN CITY IN 47341
STUBBLEFIELD, ANDREW                 ADDRESS ON FILE
STUBBLEFIELD, JOE                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1830 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1839 of 2156

Claim Name                           Address Information
STUBBS, DOUGLAS                      ADDRESS ON FILE
STUBBS, GARY                         ADDRESS ON FILE
STUBBS, MYRON                        ADDRESS ON FILE
STUBER, LAWRENCE                     ADDRESS ON FILE
STUBER, NANCY                        ADDRESS ON FILE
STUCHLIK, STEVEN                     ADDRESS ON FILE
STUCKEL, ROBERT                      ADDRESS ON FILE
STUCKEY, CHRISTOPHER                 ADDRESS ON FILE
STUCKEY, KAREN                       ADDRESS ON FILE
STUCKEY, REGINALD                    ADDRESS ON FILE
STUCKWISH, KAREN                     ADDRESS ON FILE
STUDAWAY, TERRANCE                   ADDRESS ON FILE
STUDER, BROCK                        ADDRESS ON FILE
STUDER, ROBERT                       ADDRESS ON FILE
STUDER, RONALD                       ADDRESS ON FILE
STUDIO COMO                          3801 RACE ST. DENVER CO 80205
STUEBNER, CODY                       ADDRESS ON FILE
STUEBNER, JENNIFER                   ADDRESS ON FILE
STUELKE, KENNETH                     ADDRESS ON FILE
STUFFLEBEAN, GARY R                  ADDRESS ON FILE
STULL, JASON E                       ADDRESS ON FILE
STULL, MICHAEL                       ADDRESS ON FILE
STULL, QUIYA                         ADDRESS ON FILE
STULL, RODNEY                        ADDRESS ON FILE
STUMP, JASON                         ADDRESS ON FILE
STUMP, JUSTIN                        ADDRESS ON FILE
STUMP, KELLIE                        ADDRESS ON FILE
STUMP, PHILLIP                       ADDRESS ON FILE
STUMPF, JAMES                        ADDRESS ON FILE
STUMPS FIRE PROTECTION &             SAFETY EQUIPMENT INC 501 E BIGELOW AVE FINDLAY OH 45840
STURDIVANT, JEREMY                   ADDRESS ON FILE
STURDIVANT, KERRY                    ADDRESS ON FILE
STURDIVANT, ROBERT                   ADDRESS ON FILE
STURDIVANT, TYRONE                   ADDRESS ON FILE
STURDIVENT, TYLER                    ADDRESS ON FILE
STURGEON DENVER WATER NWTP           4250 ONEIDA ST DENVER CO 80216
STURGEON, DEVEN                      ADDRESS ON FILE
STURGILL, CRAIG                      ADDRESS ON FILE
STURGIS, LANDON                      ADDRESS ON FILE
STURGIS, STEPHEN                     ADDRESS ON FILE
STURGUES TRANSPORTATION LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
STURM, ASHLEY                        ADDRESS ON FILE
STURM, PAUL                          ADDRESS ON FILE
STURM, RYAN                          ADDRESS ON FILE
STURMER, GREGORY                     ADDRESS ON FILE
STUROS, DAVID                        ADDRESS ON FILE
STURTEVANT, JENS                     ADDRESS ON FILE
STURTZ, JEFFREY                      ADDRESS ON FILE
STURTZ, JOSEPH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1831 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1840 of 2156

Claim Name                          Address Information
STUSSER ELECTRIC                    2710 PRINGLE RD SE STE 170 SALEM OR 97302
STUSSER ELECTRIC                    ATTN: CALY HACKSTEDT 2710 PRINGLE RD SE 170 SALEM OR 97302
STUSSER ELECTRIC CO                 411 E 54TH AVE ANCHORAGE AK 99518
STUTER, DANIEL                      ADDRESS ON FILE
STUTHARD, COURTNEY                  ADDRESS ON FILE
STUTLER LEASING INC                 3397 E. WATERLOO ROAD, P.O. BOX 6106 AKRON OH 44312
STUTSMAN TRANSPORTATION, INC.       121 LASSIE STREET PO BOX 111 HILLS IA 52235
STUTZMAN, CHRISTOPHER               ADDRESS ON FILE
STUTZMAN, KEVIN                     ADDRESS ON FILE
STUTZMAN, LYLE                      ADDRESS ON FILE
STX GLOBAL LOGISTICS INC            OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
STYER TRANSPORTATION CO.            PO BOX 592 LAKEVILLE MN 55044
STYLES, KRISTEN                     ADDRESS ON FILE
STYLES, OTIS                        ADDRESS ON FILE
STYLES-N-FLIP LLC                   OR 18 WHEEL FUNDING LLC PO BOX 4517 DEPARTMENT 6029 HOUSTON TX 77210-4517
STYLINE TRANSPORTATION, INC.        P.O BOX 200 HUNTINGBURG IN 47542
STZ TRANSPORT INC                   428261, 25 SIDERD MONO ON L9V 1G2 CANADA
SUA, TEOFILO                        ADDRESS ON FILE
SUA, UATISONE                       ADDRESS ON FILE
SUAD OMANOVIC                       ADDRESS ON FILE
SUANE, PAUL                         ADDRESS ON FILE
SUAPAIA, ELIJAH                     ADDRESS ON FILE
SUAREZ TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUAREZ, ARMANDO                     ADDRESS ON FILE
SUAREZ, BOBBY                       ADDRESS ON FILE
SUAREZ, DANIEL                      ADDRESS ON FILE
SUAREZ, FERNANDO                    ADDRESS ON FILE
SUAREZ, HECTOR                      ADDRESS ON FILE
SUAREZ, JESUS                       ADDRESS ON FILE
SUAREZ, JOHN                        ADDRESS ON FILE
SUAREZ, JOSE                        ADDRESS ON FILE
SUAREZ, JUAN                        ADDRESS ON FILE
SUAREZ, JUAN                        ADDRESS ON FILE
SUAREZ, KIRK                        ADDRESS ON FILE
SUAREZ, ROBERT                      ADDRESS ON FILE
SUAREZ, SCYLOR                      ADDRESS ON FILE
SUASTE, ALVARO                      ADDRESS ON FILE
SUAZO, FREDDY                       ADDRESS ON FILE
SUAZO, JAIRO                        ADDRESS ON FILE
SUB - ZERO PROPERTY MAINTENANCE     PO BOX 74 MANVILLE RI 02838
SUB NATIONAL SALES                  ACCOUNTS RECEIVABLE, P.O. BOX 918 WHIPPANY NJ 07981
SUB-CITY ELECTRICAL, INC.           3449 DOLPHIN DRIVE BLASDELL NY 14219
SUB-ZERO LOGISTICS INC              OR BLACKJACK EXPRESS, INC., PO BOX 5699 CAROL STREAM IL 60197-5699
SUBARU DISTRIBUTORS CORP.           ATTN: MICHAEL MARRERO 6 RAMLAND RD ORANGEBURG NY 10962
SUBARU OF AMERICA                   ATTN: LAURA COMPAGNONI, P O BOX 9800 CAMDEN NJ 08103
SUBARU OF AMERICA                   ATTN: MELBA WILLIAMS 1590 TAMARIND AVE RIALTO CA 92376
SUBARU OF AMERICA                   ATTN: BRENDA WOODWARD 14510 N LOMBARD ST PORTLAND OR 97203
SUBARU OF AMERICA, INC.             ATTN: SHAUNA ROBINSON 19600 E 32ND PKWY STE 100 AURORA CO 80011
SUBASA EXPRESS LLC                  OR AFS, INC., PO BOX 347 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                              Page 1832 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1841 of 2156

Claim Name                              Address Information
SUBCON D & J CLEANING                  113 W PORT CT SLIDELL LA 70460
SUBEDAR TRANSPORT INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
SUBELKA, MICHAEL                       ADDRESS ON FILE
SUBRIZE, ROB                           ADDRESS ON FILE
SUBROGATION DIVISION, INC.             136 SOUTH MAIN STREET SPANISH FORK UT 84660
SUBROMART                              12750 MERIT DRIVE STE 520 DALLAS TX 75251
SUBROSMART                             ATTN: ACCOUNTING 12750 MERIT DRIVE, STE 520 DALLAS TX 75251
SUBROSMART                             ATTN: ERIN THOMAS 12750 MERIT DRIVE, SUITE 520 DALLAS TX 75251
SUBURBAN ASPHALT                       11251 W. FOREST HOME AVE FRANKLIN WI 53132-1202
SUBURBAN ASPHALT                       PO BOX 7294 CAROL STREAM IL 60197
SUBURBAN AUTO SEAT CO, INC             35 INDUSTRIAL ROAD LODI NJ 07644
SUBURBAN DOOR CHECK & LOCK SERVICE, INC 415 W. OGDEN AVENUE WESTMONT IL 60559
SUBURBAN NATURAL GAS CO                211 FRONT ST CYGNET OH 43413-3805
SUBURBAN OCCUPATIONAL HEALTH           29750 ECORSE RD ROMULUS MI 48174-3528
SUBURBAN PROPANE PARTNERS, L.P.        240 ROUTE 10 W WHIPPANY NJ 07981
SUBURBAN PROPANE PARTNERS, L.P.        PO BOX 206 HANOVER TOWNSHIP NJ 07981
SUBURBAN PROPANE PARTNERS, L.P.        PO BOX 206 WHIPPANY NJ 07981
SUBURBAN PROPANE PARTNERS, L.P.        PO BOX 270 WHIPPANY NJ 07981
SUBURBAN PROPANE PARTNERS, L.P.        PO BOX 918 WHIPPANY NJ 07981
SUBURBAN TEAMSTERS OF NORTHERN ILLINOIS PENSION PLAN 1171 COMMERCE DRIVE UNIT 1 WEST CHICAGO IL 60185
SUBURBAN TEAMSTERS PENSION FUND        BENEFIT FUNDS UNION NATL BANK 101 E CHICAGO ST ELGIN IL 60121
SUBURBAN TEAMSTERS WELFARE FUND        BENEFIT FUNDS UNION NATL BANK 101 E CHICAGO ST ELGIN IL 60121
SUBURBAN TOWING & RECOVERY INC         1595 JARVIS AVE ELK GROVE VILLAGE IL 60007
SUBURBAN TOWING INC                    1006 INDUSTRIAL BLVD, PO BOX 19049 LOUISVILLE KY 40259
SUBURBAN TOWING INC                    PO BOX 19049 LOUISVILLE KY 40259
SUBURBAN TOWING INC                    PO BOX 19049, 1006 INDUSTRIAL BLVD LOUISVILLE KY 40259
SUBURBAN TRUCKING COMPANY              OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SUCATO, JUSTIN L                       ADDRESS ON FILE
SUCCESS CARRIER INC                    OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
SUCCESS CARRIER INC                    OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
SUCCESS FOR BUSINESS LLC               7805 OLD GEORGETOWN RD SUITE 202 BETHESDA MD 20814
SUCCESS GOESO                          ADDRESS ON FILE
SUCCESS IN MOTION FREIGHT LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SUCCESS LOGISTICS INC                  OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
SUCCESS LOGISTICS INC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267
SUCCESS TRUCKING SERVICES LLC          OR G SQUARED FUNDING, LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
SUCCESSFUL TRUCKERS SUCCESSFUL         TRUCKING SUCCESSFUL TRANSPORT OR PROVIDENT COMMERCIAL FINANCE, LLC P.O. BOX
                                       11407 DEPT 2659 BIRMINGHAM AL 35246-2659
SUCCESSOR INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SUCCGISTICS LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUCH GROUP                             PO BOX 2589 GREAT FALLS MT 59403
SUCH GROUP INTERNATIONAL               2224 VAUGHN RD GREAT FALLS MT 59404
SUCHAN, BRIAN                          ADDRESS ON FILE
SUCHANEK, NORBERT                      ADDRESS ON FILE
SUCKY, JAMES                           ADDRESS ON FILE
SUCRE EXPRESS LLC                      1601 ABUTMENT RD DALTON GA 30721
SUCRE EXPRESS LLC                      4405 S DIXIE HWY RESACA GA 30735
SUCUR, NICOLAS                         ADDRESS ON FILE
SUDANOWICZ, DAVID                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1833 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1842 of 2156

Claim Name                            Address Information
SUDBERRY, DANNY                       ADDRESS ON FILE
SUDBURY TRANSPORTATION, INC.          360 CAIN DR HAYSVILLE KS 67060
SUDDETH, TAMARA                       ADDRESS ON FILE
SUDDUTH, JAMES                        ADDRESS ON FILE
SUDDUTH, TIMMOTHY                     ADDRESS ON FILE
SUDEYKO, BRAD                         ADDRESS ON FILE
SUE & M TRUCKING LLC                  OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SUE SONS TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SUE SONS XPRESS TRANSPORTATION LLC    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUEZ WATER NEW JERSEY INC.            ATTN: CLAIMS 461 FROM ROAD STE 400 PARAMUS NJ 07652-3526
SUEZ WATER TECHNOLOGIES & SOLUTIONS   5951 CLEARWATER DR MINNETONKA MN 55343
SUFFOLK COUNTY DEPARTMENT             15 HORSEBLOCK PLACE FARMINGVILLE NY 11738
SUFFOLK COUNTY WATER AUTHORITY        4060 SUNRISE HWY OAKDALE NY 11769-1005
SUGAR CREEK CARTAGE CO.               P O BOX 494 SUGARCREEK OH 44681
SUGAR FOODS CORP                      ATTN: MARK DERSHOWITZ 24799 NETWORK PLACE CHICAGO IL 60673
SUGAR HOUSE AWNING                    7526 S STATE ST MIDVALE UT 84047
SUGARMAN, STEFANIE                    ADDRESS ON FILE
SUGAROX ECHO                          ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
SUGGS, ARTHUR                         ADDRESS ON FILE
SUGGS, DEVONTE                        ADDRESS ON FILE
SUGHRUE, STACY                        ADDRESS ON FILE
SUGIHARA, E                           ADDRESS ON FILE
SUITE, NICHOLAS                       ADDRESS ON FILE
SUITZ DELIVERING AND LOGISTICS CORP   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SUIUGAN TRANS LLC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
SUJKOWSKI, DAWN                       ADDRESS ON FILE
SUKH E LLC                            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SUKH H LOGISTICS INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
SUKH TRUCKING LLC                     OR BLACKJACK EXPRESS, INC., PO BOX 5699 CAROL STREAM IL 60197-5699
SUKHMAN TRANSPORT LLC                 OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
SUKHMILANPREET DHILLON                ADDRESS ON FILE
SUKHOV, ANDRIY                        ADDRESS ON FILE
SUKHPAL TRUCKING                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SUKOWATY, TRENT                       ADDRESS ON FILE
SULAK, STEVEN                         ADDRESS ON FILE
SULD TRUCKING INC                     12071 SAGE WAGON WAY RANCHO CORDOVA CA 95742
SULDAAN TRUCKING INC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SULEIMAN TRANSPORT INC                6916 N GULLEY RD DEARBORN HTS MI 48127-4701
SULEJ, DENNIS                         ADDRESS ON FILE
SULEJMANOVIC, ADIS                    ADDRESS ON FILE
SULFFRIDGE, JOSEPH F                  ADDRESS ON FILE
SULIKOWSKI, EDWARD                    ADDRESS ON FILE
SULLENBERGER, JORDAN                  ADDRESS ON FILE
SULLER CORP                           3700 E MICHIGAN BLVD MICHIGAN CITY IN 46360
SULLIVAN COUNTY TRUSTEE               PO BOX 550 BLOUNTVILLE TN 37617
SULLIVAN TRANSPORTATION INC.          7311 INDEPENDENCE STREET MERRILLVILLE IN 46410
SULLIVAN, ANGELA                      ADDRESS ON FILE
SULLIVAN, ARIANA                      ADDRESS ON FILE
SULLIVAN, BOBBY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1834 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                        Page 1843 of 2156

Claim Name                         Address Information
SULLIVAN, BRANDON                  ADDRESS ON FILE
SULLIVAN, BRANDY                   ADDRESS ON FILE
SULLIVAN, BREANNE                  ADDRESS ON FILE
SULLIVAN, BRENDT                   ADDRESS ON FILE
SULLIVAN, BRIAN                    ADDRESS ON FILE
SULLIVAN, CHAD                     ADDRESS ON FILE
SULLIVAN, CHRISTOPHER F            ADDRESS ON FILE
SULLIVAN, CULLEN                   ADDRESS ON FILE
SULLIVAN, DAN                      ADDRESS ON FILE
SULLIVAN, DARRYL                   ADDRESS ON FILE
SULLIVAN, EDDIE                    ADDRESS ON FILE
SULLIVAN, ERIC                     ADDRESS ON FILE
SULLIVAN, FREEMAN                  ADDRESS ON FILE
SULLIVAN, JACOREE                  ADDRESS ON FILE
SULLIVAN, JAMES                    ADDRESS ON FILE
SULLIVAN, JAMES                    ADDRESS ON FILE
SULLIVAN, JAMES W                  ADDRESS ON FILE
SULLIVAN, JENNIFER                 ADDRESS ON FILE
SULLIVAN, JOHN                     ADDRESS ON FILE
SULLIVAN, JOSEPH                   ADDRESS ON FILE
SULLIVAN, KAREN                    ADDRESS ON FILE
SULLIVAN, KELLEY                   ADDRESS ON FILE
SULLIVAN, KEVIN                    ADDRESS ON FILE
SULLIVAN, KIMBERLY                 ADDRESS ON FILE
SULLIVAN, MATTHEW                  ADDRESS ON FILE
SULLIVAN, MICHAEL                  ADDRESS ON FILE
SULLIVAN, MONETTE                  ADDRESS ON FILE
SULLIVAN, PATRICK                  ADDRESS ON FILE
SULLIVAN, PERRY                    ADDRESS ON FILE
SULLIVAN, PHILIP                   ADDRESS ON FILE
SULLIVAN, PIPER                    ADDRESS ON FILE
SULLIVAN, SEAN                     ADDRESS ON FILE
SULLIVAN, STANLEY                  ADDRESS ON FILE
SULLIVAN, STEPHEN                  ADDRESS ON FILE
SULLIVAN, STEVEN                   ADDRESS ON FILE
SULLIVAN, TERRANCE                 ADDRESS ON FILE
SULLIVAN, THOMAS                   ADDRESS ON FILE
SULLIVAN, THOMAS                   ADDRESS ON FILE
SULLIVAN, TONY                     ADDRESS ON FILE
SULLIVAN, TRISHA                   ADDRESS ON FILE
SULLIVAN, WILLIAM                  ADDRESS ON FILE
SULTAN EXPRESS LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SULTAN TRANS INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SULUB DIAMOND EXPRESS LLC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SULZER, RONALD                     ADDRESS ON FILE
SUMAS TRANSPORTATION CORP          266 DUCK POND LANE BRICK NJ 08723
SUMEET TRANS INC                   516 VILLA AVE SUITE 21 CLOVIS CA 93612
SUMER TRANS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SUMERALL, JOSEPH                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 1835 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1844 of 2156

Claim Name                          Address Information
SUMITOMO MACHINERY                  C/O IL2000 DBA, PO BOX 8372 VIRGINIA BEACH VA 23450
SUMLER, JELINN                      ADDRESS ON FILE
SUMLIN, DEMARCUS                    ADDRESS ON FILE
SUMLIN, DEMOND                      ADDRESS ON FILE
SUMMA CENTER FOR CORP HEALTH        1860 STATE RD, SUITE F CUYAHOGA FALLS OH 44223
SUMMA CENTER FOR CORP HEALTH        BILLING OFFICE, 1900 23RD ST STE 206 CUYAHOGA FALLS OH 44223
SUMMA LOGISTICS INC                 OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
SUMMA LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUMMAGE, CHARLES                    ADDRESS ON FILE
SUMMER TRANSPORTATION LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SUMMER WINDS CARRIERS INC           OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
SUMMERS IRRIGATION, INC.            870 LOCHAVEN RD WATERFORD MI 48327
SUMMERS LEASING SYSTEMS LLC         6517 AMBLEWOOD ST NW CANTON OH 44718
SUMMERS TOWING & REPAIR             3 ACKERMAN RD MORGANTOWN WV 26508
SUMMERS, ANGELA                     ADDRESS ON FILE
SUMMERS, CARISSA                    ADDRESS ON FILE
SUMMERS, ERIC                       ADDRESS ON FILE
SUMMERS, JAMES                      ADDRESS ON FILE
SUMMERS, JENNIFER                   ADDRESS ON FILE
SUMMERS, JOHN                       ADDRESS ON FILE
SUMMERS, KEVIN                      ADDRESS ON FILE
SUMMERS, MARY                       ADDRESS ON FILE
SUMMERS, ROBERT                     ADDRESS ON FILE
SUMMERS, STEVEN D                   ADDRESS ON FILE
SUMMERS-TIME TRUCKING LLC           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SUMMERWIND INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUMMIT APPLIANCE                    ATTN: SUMMIT APPLIANCE/RAQUEL MATOS RAQUEL MATOS/CLAIMS DEPARTMENT 77
                                    EXECUTIVE AVE EDISON NJ 08817
SUMMIT BODY & EQUIPMENT, INC.       24 NE MIDDLEFIELD ROAD PORTLAND OR 97211
SUMMIT COMPANIES                    A-1 NATIONAL FIRE CO., PO BOX 6783 CAROL STREAM IL 60197
SUMMIT COMPANIES                    PO BOX 6205 CAROL STREAM IL 60197
SUMMIT COUNTY HEALTH DISTRICT       1867 WEST MARKET ST. AKRON OH 44313
SUMMIT COUNTY TREASURER             175 S. MAIN ST., STE 320 AKRON OH 44308
SUMMIT COUNTY TREASURER             KRISTIN SCALISE-FISCAL OFFICER 175 S. MAIN ST. STE 320 AKRON OH 44308
SUMMIT EXPRESS INC.                 2312 NORTHYARD COURT 2312 NORTHYARD COURT FORT WAYNE IN 46818
SUMMIT FIRE & SECURITY              C\O A-1 NATIONAL FIRE CO., PO BOX 6783 CAROL STREAM IL 60197
SUMMIT FIRE & SECURITY              PO BOX 6783 CAROL STREAM IL 60197
SUMMIT FUNDING GROUP, INC.          ATTN: GENERAL COUNSEL 4680 PARKWAY DRIVE, SUITE 300 MASON OH 45040
SUMMIT HANDLING SYSTEMS, INC.       63 MALL DRIVE COMMACK NY 11725
SUMMIT HANDLING SYSTEMS, INC.       11 DEFCO PARK RD NORTH HAVEN CT 06473
SUMMIT HANDLING SYSTEMS, INC.       2500 ROUTE 208 WALDEN NY 12586
SUMMIT NORTHWEST CORP               21607 88TH AVE. S. KENT WA 98031
SUMMIT SERVICE LLC                  OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
SUMMIT TRANSPORTATION LLC           OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                    CHICAGO IL 60674-0411
SUMMIT TRUCK GROUP                  PO BOX 675092 DALLAS TX 75267
SUMMIT TRUCK GROUP                  PO BOX 675092 DALLAS TX 75267-5092
SUMMIT TRUCK GROUP                  PO BOX 207006 DALLAS TX 75320
SUMMIT TRUCK LINE INC               OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284-0267



Epiq Corporate Restructuring, LLC                                                              Page 1836 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1845 of 2156

Claim Name                             Address Information
SUMMIT TRUCKING LOGISTICS LLC          22122 N DUNN RD COLBERT WA 99005
SUMMIT TRUCKING, INC.                  PO BOX 540547 DALLAS TX 75354
SUMMIT UTILITIES ARKANSAS INC          10825 E GEEDES AVE, STE 410 CENTENNIAL CO 80112-4596
SUMMITT TRUCKING, LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUMMUN BEAUTE INTL                     ATTN: RM LOGISTIC 632 9E RUE NORD THETFORD MINES QC G6G 5K1 CANADA
SUMNER SR, TROY                        ADDRESS ON FILE
SUMNER, BOBBY                          ADDRESS ON FILE
SUMNER, DOUGLAS                        ADDRESS ON FILE
SUMNER, SAMANTHA                       ADDRESS ON FILE
SUMNERS, RONALD                        ADDRESS ON FILE
SUMRALL, CHARLES                       ADDRESS ON FILE
SUMTER WRECKER SERVICE                 324 GREEN SWAMP ROAD SUMTER SC 29150
SUMTER, LEVI                           ADDRESS ON FILE
SUN BEST ENTERPRISE LLC                OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
SUN ENTERPRISES                        8877 WASHINGTON ST THORNTON CO 80229
SUN EXPRESS                            13866 SLOVER AVE FONTANA CA 92337
SUN EXPRESS (MC900966)                 9961 RIVERSIDE DR HUNTLEY IL 60142
SUN FREIGHT LOGISTICS INC              P O BOX 700 FRENCH CAMP CA 95231
SUN GLASS, L.L.C.                      602 W MAIN ST FARMINGTON NM 87401
SUN KINGS EXPRESS INC                  OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
SUN LIFE ASSURANCE COMPANY OF CANADA   BILLING DEPT GROUP CLIENT SVCS PO BOX 11010 STATION CV MONTREAL QC H3C 4T9
                                       CANADA
SUN RISER LLC                          1169 S MAIN STREET 369 MANTECA CA 95337
SUN STATE INTERNATIONAL TRUCKS, LLC    6020 ADAMO DR TAMPA FL 33619
SUN STATE INTERNATIONAL TRUCKS, LLC    PO BOX 26043 TAMPA FL 33623
SUN TRANSFORMER                        1201 W. RANDOLF ST. MCLEANSBORO IL 62859
SUN TRANSPORTATION SYSTEMS             13930 HUMBER STATION RD BOLTON ON L7E 0Y4 CANADA
SUN TRANSPORTATION SYSTEMS USA LLC     5430 STICKNEY AVE TOLEDO OH 43612
SUN TRANSS LINES LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUN TRUCKING LLC                       PO BOX 821262 VANCOUVER WA 98662
SUN VALLEY ELECTRIC                    6575 HINSON ST LAS VEGAS NV 89118
SUN, GEORGE                            ADDRESS ON FILE
SUN, JOHN                              ADDRESS ON FILE
SUN, PATRICK                           ADDRESS ON FILE
SUN, SHUQIANG                          ADDRESS ON FILE
SUN, WENGE                             ADDRESS ON FILE
SUN-BEAM WINDOW CLEANERS               1340 TURRET DRIVE, UNIT C MACHESNEY IL 61115
SUNAIR WEST INC                        ATTN: ISAI CANCHE 3803 W THOMAS RD PHOENIX AZ 85019
SUNAR, NERAJAN                         ADDRESS ON FILE
SUNBELT FREIGHT LINE L.L.C.            OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
SUNBELT FURNITURE XPRESS, INC.         P. O. BOX 487 HICKORY NC 28603
SUNBELT MATERIAL HANDLING              1617 TERRE COLONY CT DALLAS TX 75212
SUNBELT RENTALS INC                    PO BOX 409211 ATLANTA GA 30384
SUNBELT RENTALS, INC.                  P.O. BOX 409211 ATLANTA GA 30384-9211
SUNCOAST ENTERPRISES OF MIAMI CORP     OR FACTOR PLUS LLC, PO BOX 45-1653 MIAMI FL 33245
SUNCOAST TRANSPORTATION LLC            OR LOVES SOLUTIONS, LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
SUNCREST EXPRESS                       OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SUND, KENNETH                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1837 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1846 of 2156

Claim Name                           Address Information
SUNDAY TRANSPORT LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SUNDOWNER EXPRESS INC                P O BOX 2 REMINGTON IN 47977
SUNDRAIYA, SULESH                    ADDRESS ON FILE
SUNDSTROM, RICHARD                   ADDRESS ON FILE
SUNGOLD TRANSPORT                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SUNGOR TRANSPORTATION INC            OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SUNGOR TRANSPORTATION INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SUNIGA, MAXIMILIANO                  ADDRESS ON FILE
SUNLAD LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNLIGHT CARRIER LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNLIGHT TRANSPORTATION LLC          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
SUNLIGHT TRUCKING LLC                OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SUNMOON CARRIER LLC                  OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320
SUNMOON TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNNEZ INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNNY BOY TRANSPORTATION INC         OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
SUNNY CARRIERS LLC                   4663 CONCORD CIR EASTON PA 18045
SUNNY EXPRESS LLC                    OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
SUNNY LANES                          1405 RUE ANTONIO LAVAL QC H7V3N5 CANADA
SUNNY LOGISTICS INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
SUNNY MOTORS TRANSPORT INC.          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SUNNY MOTORS TRANSPORT INC.          2295 MALIBU COURT BRENTWOOD CA 94513
SUNNY RIVER LLC                      OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
SUNNY SKY PRODUCTS LLC GROUP         ATTN: TYLER RAFFETY 310 MAIN AVENUE WAY SE HICKORY NC 28602
SUNNY SOUTH LOGISTICS INC            OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
SUNNY TRANSPORT LLC                  2515 LACKEY MEADOWS DR DELAWARE OH 43015
SUNNY TRUCKING LLC                   41542 STRAWBERRY CT CANTON MI 48188
SUNNY WAY CORPORATION                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUNNY WAY CORPORATION                3162 E GARVEY AVE S WEST COVINA CA 91791
SUNNY WAY TRUCKING INC               15112 CALLE VERANO CHINO HILLS CA 91709
SUNNY XPRESS INC                     10054 BEN NEVIS BLVD RIVERSIDE CA 92509
SUNNYBOY TRUCKING LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SUNNYROAD LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SUNNYWAY TRUCKING LLP                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUNOCO                               STEPHANIE OAKE (2022-00047) 1300 MAIN STREET, FL 20 HOUSTON TX 77002-6803
SUNRIDGE TRANSCO INC                 OR LIQUID CAPITAL EXCHANGE CORP 5576 YONGE ST, YONGE & FINCH P.O.BOX 10065
                                     TORONTO ON M2N 0B6 CANADA
SUNRISE BROS TRANSPORT LLC           OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139
SUNRISE CARRIER INC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SUNRISE ENVIRONMENTAL                1175 GLENDALE AVE SPARKS NV 89431
SUNRISE ENVIRONMENTAL                PO BOX 10207 RENO NV 89510
SUNRISE EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SUNRISE EXPRESS, INC.                P.O. BOX 1282 GRAND ISLAND NE 68802
SUNRISE EXTREME 1 LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNRISE HIGHWAY                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SUNRISE HOLDING LTD                  OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
SUNRISE K IC TRANSPORTATION LLC      OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
SUNRISE LOGISTICS                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 1838 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1847 of 2156

Claim Name                               Address Information
SUNRISE MFG INC                          2665 MERCANTILE DR RANCHO CORDOVA CA 95742
SUNRISE SPRINGS WATER CO                 PO BOX 232 NEWBURY OH 44065
SUNRISE TRANSPORT LLC                    55889 HIGHWAY A NEW LONDON MO 63459
SUNRISE TRUCKING INC.                    865 E ROTH ROAD FRENCH CAMP CA 95231
SUNROCK LOGISTICS LLC                    OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
SUNSET EXPRESS LLC                       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
SUNSET EXPRESS LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
SUNSET HILLS TRANSPORT 1 LLC             OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
SUNSET LOGISTICS                         OR TITAN TRANSPORTATION SERVICES 6093 CLAY AVE SW GRAND RAPIDS MI 49548
SUNSET PACIFIC TRANSPORTATION. INC.      14522 YORBA AVE CHINO CA 91710
SUNSET TRANSIT LLC                       OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SUNSET TRANSPORT                         2222 JUNIPER HL SAN ANTONIO TX 78245
SUNSET TRANSPORTATION                    10877 WATSON RD SAINT LOUIS MO 63127
SUNSET TRUCKING LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
SUNSET WEST TRANSPORTATION               OR TAB BANK, PO BOX 150830 OGDEN UT 84415
SUNSET XPRESS LLC                        3850 CADET CT PENN LAIRD VA 22846
SUNSHINE CARGO LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNSHINE CORDAGE                         ATTN: GERMAN ROMERO 7190 NW 12TH ST MIAMI FL 33126
SUNSHINE DELIVERY SVC LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SUNSHINE FREIGHT LLC                     OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SUNSHINE LOGISTICS INC                   OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
SUNSHINE LOGISTICS LLC                   OR SUNBELT FINANCE PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SUNSHINE MAKERS                          ATTN: VALERIE DOMINGUEZ 1190 PROGRESS CENTER AVE LAWRENCEVILLE GA 30043
SUNSHINE PLUMBING                        1301 W. 13TH STREET RIVERIA BEACH FL 33404
SUNSHINE STATE TRANSFER LLC              18396 LARAMIE AVENUE PORT CHARLOTTE FL 33954
SUNSHINE TEXAS LOGISTICS                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
SUNSHINE TRANSPORT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SUNSHINE TRANSPORTATION LLC (MC055323)   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUNSHINE TRANZ INC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SUNSHINE TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNSHINE TRUCKING LLC                    OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
SUNSHINE TRUCKING LLC (MC1173141)        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SUNSTATE EQUIPMENT CO LLC                PO BOX 208439 DALLAS TX 75320
SUNTECK LOGISTICS                        4500 SALISBURY RD STE 450 JACKSONVILLE FL 32216
SUNTECK TRANSPORT CO. LLC                ATTN: NICHOLE FARKAS CARGO CLAIMS 14785 PRESTON ROAD, STE 850 DALLAS TX 75254
SUNTECK TRANSPORT CO., LLC.              P.O. BOX 536665 PITTSBURGH PA 15253
SUNTECK TTS                              4500 SALISBURY RD 305 JACKSONVILLE FL 32216
SUNTECKTTS                               4500 SALISBURY RD STE 305 JACKSONVILLE FL 32216
SUNTECKTTS LLC                           ATTN: SUZANNE WASHINGTON 11000 FRISCO ST STE 100 FRISCO TX 75033
SUNTEK EXPRESS LINE LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUNVIEW LOGISTICS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SUNVIEW REAL ESTATES DEVELOPMENT LLC     DBA SHIPAZON 72 S ATLANTIC ST SEATTLE WA 98134
SUNWAY CARRIERS INC                      OR RTS FINANCIAL SERVICE, INC PO BOX 840267 DALLAS TX 75284
SUNWAY TRANSPORT LLC                     OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
SUNZU LOGISTICS LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SUON, SIDA                               ADDRESS ON FILE
SUPAN, ANGELA                            ADDRESS ON FILE
SUPAN, FRANK                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1839 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1848 of 2156

Claim Name                           Address Information
SUPATAN, JORDAN                      ADDRESS ON FILE
SUPER 8 MOTEL                        1989 NAVAJO BLVD HOLBROOK AZ 86025
SUPER BEE TRANSPORTATION, INC.       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SUPER D LOGISTICS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUPER DOLLAR                         5918 LEESBURG PIKE FALLS CHURCH VA 22041
SUPER EAGLE TRUCKING LLC             OR TRIUMPH FINANCIAL SERVICES, LLC PO BOX 610028 DALLAS TX 75261-0028
SUPER EAGLES TRUCKING LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUPER EXPRESS INC                    2691 MERGANSER COURT LOS BANOS CA 93635
SUPER GALACTIC DISPATCH LIMITED      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
SUPER GLASS WINDSHIELD REPAIR        PO BOX 888622 GRAND RAPIDS MI 49588
SUPER GRIP CORPORATION               LOCKBOX ACCT, P.O. BOX 69317 BALTIMORE MD 21264
SUPER GRIP CORPORATION               PO BOX 245 PINEY FLATS TN 37686
SUPER HAUL TRANSPORT LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SUPER HOLIDAY INC                    4012 LOMA AVE ROSEMEAD CA 91770
SUPER LOAD EXPRESS                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SUPER M TRANSPORT INC                OR FREIGHT FACTORING SPECIALISTS LLC PO BOX 31792 DEPT 10010 TAMPA FL 33631
SUPER QUALITY LOGISTICS LLC          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
SUPER R TRANSPORT LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SUPER S LOGISTICS LLC                OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
SUPER SAVE DISPOSAL INC.             19395 LANGLEY BYPASS SURREY BC V3S 6K1 CANADA
SUPER SERVICE CARRIERS LLC           OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                     76116
SUPER SPRING & BRAKE CO, INC.        767 WINDSOR STREET HARTFORD CT 06120
SUPER STORES SERVICE                 PO BOX 627 BEAVERTON OR 97075
SUPER SWEEPERS II                    2166 W BROADWAY 526 ANAHEIM CA 92804
SUPER SWEEPERS II                    PO BOX 669 ANAHEIM CA 92815
SUPER SYLLA LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SUPER T EXPRESS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SUPER TRANS CARRIERS LLC             5511 AUTUMN LN ALLENTOWN PA 18104-8225
SUPER TRANS INC                      7750 N MACARTHUR BLVD, STE 120 222 IRVING TX 75063
SUPER TRANSPORT INC.                 P O BOX 633 BLOOMINGTON CA 92316
SUPER TRUCKING LLC                   PO BOX 270610 KANSAS CITY MO 64127
SUPER UNITED LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SUPER, ROBERT                        ADDRESS ON FILE
SUPER-SAVE ENTERPRISES LTD           19395 LANGLEY BYPASS SURREY BC V3S 6K1 CANADA
SUPERFAST TRUCKING INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SUPERFEEL INTERNATIONAL LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
SUPERHERO LOGISTICS LLC              OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
SUPERIEUR PROPANE                    P.O. BOX 4568, STN A TORONTO ON M5W 0J5 CANADA
SUPERIOR ALUMINUM PRODCTS            555 E MAIN ST RUSSIA OH 45363
SUPERIOR ASPHALT INC                 669 CENTURY, S.W. GRAND RAPIDS MI 49503
SUPERIOR AUTO GLASS INC              7700 W OKEECHOBEE RD BAY 6 HIALEAH GARDENS FL 33016
SUPERIOR AUTO GLASS INC              10680 NW 123RD ST RD UNIT 102 & 103 MIAMI-DADE MEDLEY FL 33178
SUPERIOR BROKERAGE SERVICES          1700 WYNNE AVE SAINT PAUL MN 55108
SUPERIOR CARE MEDICAL CENTER INC     15401 S MAIN ST GARDENA CA 90248
SUPERIOR CASTERS INC                 2801 E ABRAMS ST ARLINGTON TX 76010
SUPERIOR CONSOLIDATED                2219 W. COLLEGE AVE. NORMAL IL 61761
SUPERIOR COURT OF CALIFORNIA         NORTH COUNTY DIVISION 325 S. MELROSE DRIVE, SUITE 350 VISTA CA 92081



Epiq Corporate Restructuring, LLC                                                               Page 1840 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1849 of 2156

Claim Name                               Address Information
SUPERIOR COURT OF CALIFORNIA             COUNTY OF SAN BERNARDINO, BOX 15005 SAN BERNARDINO CA 92415
SUPERIOR COURT OF CALIFORNIA             PAYMENT PROCESSING CENTER 505 SOUTH BUENA VISTA RM 201 CORONA CA 92882
SUPERIOR COURT OF CALIFORNIA             COUNTY OF VENTURA, 800 S VICTORIA 118 VENTURA CA 93009
SUPERIOR COURT OF MURRIETA               PAYMENT PROCESSING CENTER 555 SOUTH BUENA VISTA ROOM 201 CORONA CA 92882
SUPERIOR DOOR COMPANY INC                151 TRADE ST TWIN FALLS ID 83301
SUPERIOR DOOR SERVICE INC                106 GREYSTONE AVE KANSAS CITY KS 66103
SUPERIOR DOOR SERVICE, INC.              5615 RAYTOWN RD RAYTOWN MO 64133
SUPERIOR ENTERPRISES LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUPERIOR EQUIPMENT COMPANY               7525-A SUSSEX ST. LOUIS MO 63143
SUPERIOR FORKLIFT LTD                    1006 KEARNS CRESCENT, RM OF SHERWOOD REGINA SK S4K 0A1 CANADA
SUPERIOR FREIGHT INC.                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SUPERIOR HVAC & TANK REMOVAL             240 RAILROAD HILL STREET BUILDING B WATERBURY CT 06708
SUPERIOR INDUSTRIAL PRODUCTS             404 MELROSE AVE NASHVILLE TN 37211
SUPERIOR INDUSTRIAL SUPPLY               8525 VULCAN ST SAINT LOUIS MO 63111
SUPERIOR LAUNDRY EQUIPMENT               ATTN: RITA 458 COZINE AVE BROOKLYN NY 11208
SUPERIOR LINEHAUL LLC                    2033 DERBY RUN CT IMPERIAL MO 63052-4014
SUPERIOR LOGISTICS OHIO LLC              3160 WEST FAIR AVE LANCASTER OH 43130
SUPERIOR MATERIAL HANDLING INC           PO BOX 211097 EAGAN MN 55121
SUPERIOR MOVING & STORAGE                PO BOX 414059 KANSAS CITY MO 64141
SUPERIOR ONE TRUCK COMPANY LLC           PO BOX 90407 INDIANAPOLIS IN 46290
SUPERIOR PETROLEUM EQUIPMENT             6314 SEEDS ROAD GROVE CITY OH 43123
SUPERIOR PLUS ENERGY SERVICES            1870 S WINTON RD SUITE 200 ROCHESTER NY 14618
SUPERIOR POOL                            4995 AIRCENTER CIR RENO NV 89502
SUPERIOR POOL PRODUCTS                   ATTN: RUSSELL BACON 200 FREEWAY DR RM 2 BLACKWOOD NJ 08012
SUPERIOR POOL PRODUCTS                   9201 OAK HILL RD EVANSVILLE IN 47725
SUPERIOR POOL PRODUCTS                   4055 N RUNWAY DR TUCSON AZ 85705
SUPERIOR POOLS                           715 S ERIE AVE MORTON IL 61550
SUPERIOR PRESSURE SYSTEMS                29802 HAZEL GLEN RD MURRIETA CA 92563
SUPERIOR PROPANE                         PO BOX 4568, STN A TORONTO ON M5W 0J5 CANADA
SUPERIOR PROPANE                         PO BOX 2875 STATION M CALGARY AB T2P 5G1 CANADA
SUPERIOR ROAD SERVICE                    PO BOX 1605 WAYNESBORO VA 22980
SUPERIOR ROAD STRIPING INC               1980 N HAWTHORNE AVE MELROSE PARK IL 60160
SUPERIOR ROADLINE INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SUPERIOR RV                              21351 US-431 GUNTERSVILLE AL 35976
SUPERIOR SCALES                          1673 DUGALD RD WINNIPEG MB R2J 0H3 CANADA
SUPERIOR SERVICE TRANSPORT               PO BOX 25792 SALT LAKE CITY UT 84125
SUPERIOR SERVICE TRANSPORT, INC          2964 S 460 W, PO BOX 25792 SALT LAKE CITY UT 84125
SUPERIOR SERVICES (MC752555)             700 W 250 S ALBION IN 46701
SUPERIOR SOLUTIONS STAFFING SVCS INC 1   PO BOX 1577 GAINESVILLE TX 76241
SUPERIOR STORE SUPPLY LLC                655 N. 20TH AVENUE BLAIR NE 68008
SUPERIOR STRIPING CO.                    PO BOX 861 MISHAWAKA IN 46546
SUPERIOR TECHNICAL CERAMICS              600 INDUSTRIAL PARK RD SAINT ALBANS VT 05478
SUPERIOR TEXT                            2911 3RD AVE N BIRMINGHAM AL 35203
SUPERIOR TOWING & TRANSPORT LLC          1239 US HWY 22 LEBANON NJ 08833
SUPERIOR TOWING AND RECOVERY LLC         3904 W. INDUSTRIAL LOOP COEUR DALENE ID 83815
SUPERIOR TOWING INC                      2320 BALM STREET, P O BOX 984 BAKER CITY OR 97814
SUPERIOR TOWING, INC.                    3022 1ST AVE BLDG C, PO BOX 579 GREELEY CO 80632
SUPERIOR TRANS LLC                       OR TAB BANK, PO BOX 150830 OGDEN UT 84415
SUPERIOR TRANSPORT & LOGISTICS           2021 AIRPORT DRIVE GREEN BAY WI 54313



Epiq Corporate Restructuring, LLC                                                                 Page 1841 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1850 of 2156

Claim Name                              Address Information
SUPERIOR TRANSPORT & LOGISTICS          ATTN: MADISON PO BOX 28346 GREEN BAY WI 54324
SUPERIOR TRANSPORTATION INC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
SUPERIOR TRANSPORTATION SOLUTIONS LLC   SUPERIOR TRANSPORTATION SOLUTIONS LLC 401 N MAIN ST SUMMITVILLE IN 46070
SUPERIOR TRANSPORTERS, INC.             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SUPERIOR TRUCKING                       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SUPERIOR TRUCKING SERVICE LLC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
SUPERIOR WASH                           1020 NE 44TH STREET OAKLAND PARK FL 33334
SUPERIOR XPRESS LLC                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
SUPERLINK EXPRESS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
SUPERLOGICS                             9 MERCER ROAD NATICK MA 01760
SUPERSONIC TRANSPORT LTD                OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
SUPERSONIC TRUCKING INC.                1170 CENTRE DR STE H WALNUT CA 91789
SUPERSTAR TRUCKING GROUP LLC            OR RIVIERA FINANCE OF TEXAS PO BOX 202487 DALLAS TX 75320-2487
SUPERSTORES IND                         16888 MCKINLEY AVE LATHROP CA 95330
SUPERTURF INC                           PO BOX 843 BRANDON SD 57005
SUPERWAY LOGISTICS INC                  OR BP FINANCING LLC 161 ROUTE 59 SUITE 203A MONSEY NY 10952
SUPIK, TIM                              ADDRESS ON FILE
SUPPLY CHAIN QUARTERLY                  500 E WASHINGTON STREET 4 NORTH ATTLEBOROUGH MA 02760
SUPPLY CHAIN SOLUTIONS                  ATTN: RHONDA RILEY 4607 44TH ST SE GRAND RAPIDS MI 49512
SUPPLY INDUSTRIAL HARDWARE              700 HARBOR BLVD WEST SACRAMENTO CA 95691
SUPPLY POINTE                           SUPPLY POINTE COLUMBUS 2152 MEADOW HILLS CT. COLUMBUS OH 43228
SUPPLY SOURCE                           120402 SE JENNIFER ST. 190 CLACKAMAS OR 97015
SUPPLY SOURCE IMPACT PRODUCTS           ATTN: AUDREY GAWRYCH LOGISTICS 2840 CENTENNIAL RD TOLEDO OH 43617
SUPPLYHOUSE                             ATTN: REBECCA BARROSO 130 SPAGNOLI RD MELVILLE NY 11747
SUPPLYONE                               P.O. BOX 74007651 CHICAGO IL 60674
SUPPLYONE                               P.O. BOX 133650 MIAMI FL 33013
SUPPLYONE                               3303 NW 112 STREET MIAMI FL 33167
SUPPLYONE                               3505 NW 112 STREET MIAMI FL 33167
SUPRE INCORPORATED                      1207 TREND DR CARROLLTON TX 75006
SUPREM3 LOGISTICS INC                   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
SUPREME ENTERPRISES LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SUPREME EXPRESS                         3041 W NIELSEN AVE FRESNO CA 93706
SUPREME EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SUPREME FREIGHT & LOGISTICS CORPORATION OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SUPREME LEGACY LOGISTICS LLC            OR THUNDER FUNDING PO BOX 1000 DEPT 3003 MEMPHIS TN 38148
SUPREME LOGISTICS SOLUTIONS             6 KALEIGH CT BARRINGTON IL 60010-9349
SUPREME TOWING LLC                      1291 WEST HIGHWAY 25/70 DANDRIDGE TN 37725
SUPREME TRANS INC                       OR ASTERIA CORP, PO BOX 911 BURBANK CA 91503
SUPREME TRANSPORT & LOGISTICS           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
SUPREME TRANSPORT INC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
SUPREME TRANSPORT SOLUTIONS LLC         1545 FOREST VILLA LN MC LEAN VA 22101
SUPREME TRANSPORTS LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SUPREME TRUCKING GROUP LLC              OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
SUPREME TRUCKING LLC                    OR RIVIERA FINANCE OF TEXAS PO BOX 713394 PHILADELPHIA PA 19171-3394
SUPREMEX INC                            7213 RUE CORDNER LA SALLE QC H8N 2J7 CANADA
SUQUILANDA, GEORGE                      ADDRESS ON FILE
SUR DEVELOPMENTS LLC                    OR LITTLE MOUNTAIN LOGISTICS LLC PO BOX 850001 DEPT 9912 ORLANDO FL 32885-9912
SURBER, CHARLES                         ADDRESS ON FILE
SURCAL TRANSPORTATION INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                  Page 1842 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1851 of 2156

Claim Name                           Address Information
SURE DISPATCH SERVICES LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
SURE FIT HOME DECOR LLC              8000 QUARRY RD STE 3 ALBURTIS PA 18011
SURE LOC ALUM EDGING                 ATTN: MARIANN LEEP 310 E 64TH ST HOLLAND MI 49423
SURE POWER INC                       200 INDUSTRIAL HWY RIDLEY PARK PA 19078
SURE SCREEN LABS                     2015 ASSEMBLY STREET COLUMBIA SC 29201
SUREFLEX, INC                        1122 VALLEY RIDGE DRIVE GRAIN VALLEY MO 64029
SURELOGIC TRANSPORTATION INC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SURENCY LIFE & HEALTH INSURANCE CO   PO BOX 843810 KANSAS CITY MO 64184
SUREPAY FINANCIAL SERVICES, LLC      10 GLENLAKE PKWY STE 130 ATLANTA GA 30328
SURETRANS CORP                       510 S GARFIELD AVE H, P O BOX 375 MONTEREY PARK CA 91754
SUREXPRESS TRANSPORT, LLC            OR SUMMIT FINANCIAL, PO BOX 203855 DALLAS TX 75320-3855
SURFACE ART                          19901 62ND AVE S KENT WA 98032
SURFACE ART INC                      ATTN: ADELA CAMDZIC 19901 62ND AVE S KENT WA 98032
SURFACE COATINGS                     850 SHOALS BRANCH RD WAYNE WV 25570
SURFACE PREP                         ATTN: THERESA SUMMERFORD 5973 S LOOP E HOUSTON TX 77033
SURFACE REAL ESTATEHOLDINGS          235 W 53RD ST KANSAS CITY MO 64112
SURFACE, CARL                        ADDRESS ON FILE
SURGAL, QUINLAN                      ADDRESS ON FILE
SURI ANDRADE, SAYDEL                 ADDRESS ON FILE
SURICO, FRANK                        ADDRESS ON FILE
SURIEL, YTSEL                        ADDRESS ON FILE
SURJEET, HARJINDER                   ADDRESS ON FILE
SURNY LOGISTICS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
SURPLUS RECYCLING                    ATTN: KENNY JENKINS 620 RUSSELL ST MILTON FREEWATER OR 97862
SURRY CHEMICALS INC                  241 HICKORY ST MOUNT AIRY NC 27030
SURRY PORT-A-JOHN                    625 SOUTH KEY STREET PILOT MOUNTAIN NC 27041
SURVINSKI, KEVIN                     ADDRESS ON FILE
SUS AMERICA INC                      1822 BRUMMEL AVE ELK GROVE VILLAGE IL 60007
SUS, JAN                             ADDRESS ON FILE
SUSAETA, MICHAEL                     ADDRESS ON FILE
SUSAETA, THOMAS                      ADDRESS ON FILE
SUSAN CELMER                         ADDRESS ON FILE
SUSAN GRODI                          ADDRESS ON FILE
SUSAN K PURCELL                      ADDRESS ON FILE
SUSAN KERKEZ                         ADDRESS ON FILE
SUSAN L BEIGH, SUCCESSOR TRUSTEE     ADDRESS ON FILE
SUSANA MARTINEZ                      ADDRESS ON FILE
SUSANA MARTINEZ                      ADDRESS ON FILE
SUSANIBAR TRUCKING SERVICE LLC       OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
SUSANVILLE TOWING                    PO BOX 1327, 2955 JOHNSTONVILLE ROAD SUSANVILLE CA 96130
SUSKO, MICHAEL                       ADDRESS ON FILE
SUSQUEHANNA COMMERCIAL FINANCE INC   2 COUNTRY VIEW RD, STE 300 MALVERN PA 19355
SUSQUEHANNA FIRE EQUIPMENT CO INC    PO BOX 209 DEWART PA 17730
SUSSEX COUNTY COUNCIL                PO BOX 429 GEORGETOWN DE 19947
SUSSEX DIESEL INC.                   31051 OLD SAILOR RD. LAUREL DE 19956
SUSSMAN, ROBERT                      ADDRESS ON FILE
SUSTAIN SEED & SOIL                  ATTN: BEN BELCHER 739 S VANDEMARK RD SIDNEY OH 45365
SUSTAITA, ASHLEY                     ADDRESS ON FILE
SUSTEK, DALE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1843 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1852 of 2156

Claim Name                          Address Information
SUSTENTO, ALBERT                    ADDRESS ON FILE
SUTER, JERRY                        ADDRESS ON FILE
SUTER, THOMAS                       ADDRESS ON FILE
SUTHERLAND AVENUE WRECKER SERVICE   2607 SUTHERLAND AVE KNOXVILLE TN 37919
SUTHERLAND, ANTHONY                 ADDRESS ON FILE
SUTHERLAND, JACOB                   ADDRESS ON FILE
SUTHERLAND, JOHN                    ADDRESS ON FILE
SUTHERLAND, LAURIE                  ADDRESS ON FILE
SUTHERLAND, LUKE                    ADDRESS ON FILE
SUTHERLAND, RACHEL                  ADDRESS ON FILE
SUTHERLAND, SAMUEL                  ADDRESS ON FILE
SUTHERLAND, WAKIL                   ADDRESS ON FILE
SUTHERLIN, MARK                     ADDRESS ON FILE
SUTHERLY, DWIGHT                    ADDRESS ON FILE
SUTLIFF, JAMES                      ADDRESS ON FILE
SUTOR, RUSSELL                      ADDRESS ON FILE
SUTPHIN, CHERYLENE                  ADDRESS ON FILE
SUTTER GOULD MEDICAL FOUNDATION     ATTN SPECIAL BILLING, 600 COFFEE ROAD MODESTO CA 95355
SUTTER, MICHAEL                     ADDRESS ON FILE
SUTTERLIN, ELIJAH                   ADDRESS ON FILE
SUTTI, NATHAN J                     ADDRESS ON FILE
SUTTLE, ZACHARY                     ADDRESS ON FILE
SUTTLES, LARRY N                    ADDRESS ON FILE
SUTTLES, ROY                        ADDRESS ON FILE
SUTTON HAULING, INC                 56 BUELL ST AKRON NY 14001
SUTTON LAWN & SNOW LLC              1618 8TH ST NE WATERTOWN SD 57201
SUTTON TRANSPORT LLC (MC1269882)    OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407 DEPT 2659 BIRMINGHAM AL
                                    35246-2659
SUTTON TRANSPORT, INC.              PO BOX 78425 MILWAUKEE WI 53278-8425
SUTTON TRANSPORT, INC.              PO BOX 378 WESTON WI 54476
SUTTON, DAVID                       ADDRESS ON FILE
SUTTON, FRANCIS                     ADDRESS ON FILE
SUTTON, ISAIAH                      ADDRESS ON FILE
SUTTON, JUSTIN                      ADDRESS ON FILE
SUTTON, LA TERRENCE                 ADDRESS ON FILE
SUTTON, LA TERRENCE                 ADDRESS ON FILE
SUTTON, MICHAEL                     ADDRESS ON FILE
SUTTON, MICHELLE                    ADDRESS ON FILE
SUTTON, PHILLIP                     ADDRESS ON FILE
SUTTON, RANDALL                     ADDRESS ON FILE
SUTTON, REGINALD                    ADDRESS ON FILE
SUTTON, RENEE                       ADDRESS ON FILE
SUTTON, RICHARD                     ADDRESS ON FILE
SUTTON, RICHIE                      ADDRESS ON FILE
SUTTON, ROBERT                      ADDRESS ON FILE
SUTTON, ROBERT                      ADDRESS ON FILE
SUTTON, SAMMY                       ADDRESS ON FILE
SUTTON, TERRA                       ADDRESS ON FILE
SUTTON, ZACHARY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1844 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1853 of 2156

Claim Name                              Address Information
SUTTON1 TRANSPORTATION LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SUV TRUCKING COMPANY LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SUVREEN LOGISTICS LLC                   OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SUZANNE PAUSZEK                         ADDRESS ON FILE
SV EXPRESS INC                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SV EXPRESS INC                          OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
SV EXPRESS LLC                          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SV POWER LLC                            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
SV TIME TRUCKING INC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SV TRANSPORTATION LLC                   3121 GRAND PARK ROCHESTER HILLS MI 48307
SV WAY LLC                              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
SV&VO LOGISTICS INC                     OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
SVB EXPRESS                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
SVB EXPRESS INC.                        7816 KATELLA WAY CITRUS HTS CA 95621
SVELN CO                                OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SVELN CO                                550 W LODGE TRL APT C WHEELING IL 60090
SVENCNER, RANDY                         ADDRESS ON FILE
SVENDSEN JR, THOMAS                     ADDRESS ON FILE
SVENDSEN, JADON                         ADDRESS ON FILE
SVITANOK ENTERPRISES INC                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
SVITEK, JOSEPH                          ADDRESS ON FILE
SVV TRANS INC                           8901 N WESTERN AVE APT413 DES PLAINES IL 60016
SVVS CORP                               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
SW AGAPE SERVICES LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
SWA LOGISTICS INC                       10257 PARK ROW CT ORLANDO FL 32832
SWAB, MICHAEL                           ADDRESS ON FILE
SWABY ENTERPRISE LP                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SWABY, KADEEM                           ADDRESS ON FILE
SWACKHAMMER, RAYMOND                    ADDRESS ON FILE
SWACKHAMMER, RONALD                     ADDRESS ON FILE
SWAFFORD, DELAUNN                       ADDRESS ON FILE
SWAFFORD, DENNIS                        ADDRESS ON FILE
SWAFFORD, LARRY                         ADDRESS ON FILE
SWAFFORD, ROGER                         ADDRESS ON FILE
SWAGERTY, SCOTT                         ADDRESS ON FILE
SWAICH INC                              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SWAILES, JAMES                          ADDRESS ON FILE
SWAIN, BRENDAN                          ADDRESS ON FILE
SWAIN, EMILY                            ADDRESS ON FILE
SWAIN, STEVEN                           ADDRESS ON FILE
SWAITCH LOGISTICS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
SWAITCH TRANSPORT CORPORATION           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SWAJA, RANDOLPH                         ADDRESS ON FILE
SWAMI TRANSPORTATION INC                230 BRISTOL PIKE BRISTOL PA 19007
SWAMP COOLERS ONLINE                    1018 MERIDITH DR TERRELL TX 75160
SWAMP FOX LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SWAN CORP                               DILIGENT DELIVERY SYSTEMS 9200 DERRINGTON RD 100 HOUSTON TX 77064
SWAN ENGINEERING AND SUPPLY CO., INC.   PO BOX 412874 KANSAS CITY MO 64141
SWAN LOGISTICS                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                  Page 1845 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1854 of 2156

Claim Name                               Address Information
SWAN TRANSPORT LLC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
SWAN, DAVID                              ADDRESS ON FILE
SWAN, GREGORY                            ADDRESS ON FILE
SWAN, JASON                              ADDRESS ON FILE
SWAN, LAMAR                              ADDRESS ON FILE
SWAN, ROBERT                             ADDRESS ON FILE
SWANCEY, GARY                            ADDRESS ON FILE
SWANEY, DAVID                            ADDRESS ON FILE
SWANGER, CINDY                           ADDRESS ON FILE
SWANGER, ERIC                            ADDRESS ON FILE
SWANK, JOEL                              ADDRESS ON FILE
SWANN JR, BOBBY                          ADDRESS ON FILE
SWANN, ALBERT                            ADDRESS ON FILE
SWANN, BOBBY                             ADDRESS ON FILE
SWANN, BOBBY D                           ADDRESS ON FILE
SWANN, PHYLLIS                           ADDRESS ON FILE
SWANS, TOMMY                             ADDRESS ON FILE
SWANSON DISTRIBUTING                     1574 SUTHERLAND LN CORVALLIS MT 59828
SWANSON HEAVY TRUCK REPAIR AND SERVICE   302 JEFFERSON AVENUE FALLS CREEK PA 15840
SWANSON, BRYAN                           ADDRESS ON FILE
SWANSON, DANIEL                          ADDRESS ON FILE
SWANSON, JAMIE                           ADDRESS ON FILE
SWANSON, LARRY                           ADDRESS ON FILE
SWANSON, MICHAEL                         ADDRESS ON FILE
SWANSON, QUENTIN                         ADDRESS ON FILE
SWANSON, SONJA                           ADDRESS ON FILE
SWANSON, WYATT                           ADDRESS ON FILE
SWANTZ, ALEXANDER                        ADDRESS ON FILE
SWANY TRANSPORT LLC                      OR BLOOM SERVICES LLC, 8753 CRIMSON CT TERRE HAUTE IN 47802
SWARENS, WESLEY M                        ADDRESS ON FILE
SWARTSFAGER, NICHOLAS                    ADDRESS ON FILE
SWARTZ, GREGORY                          ADDRESS ON FILE
SWARTZ, JEFFREY                          ADDRESS ON FILE
SWARTZ, KEVIN                            ADDRESS ON FILE
SWARTZ, KYLE                             ADDRESS ON FILE
SWARTZ, MALLISA                          ADDRESS ON FILE
SWARTZ, NICHOLAS                         ADDRESS ON FILE
SWARTZ, RAYMOND                          ADDRESS ON FILE
SWARTZ, TIFFANY                          ADDRESS ON FILE
SWARTZ, TIMOTHY                          ADDRESS ON FILE
SWARTZ, TODD                             ADDRESS ON FILE
SWASER, LOGAN                            ADDRESS ON FILE
SWAT TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SWATEK, GREGORY                          ADDRESS ON FILE
SWAY TRANSPORT LLC                       OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
SWAYZE, ROBERT                           ADDRESS ON FILE
SWC TRANSPORTATION LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SWD TRANSPORT                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SWEARINGEN TRUCKING                      232 MAPLE STREET MEMPHIS MO 63555



Epiq Corporate Restructuring, LLC                                                                   Page 1846 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1855 of 2156

Claim Name                             Address Information
SWEARINGEN, JACOB                      ADDRESS ON FILE
SWEATT, CHARLES                        ADDRESS ON FILE
SWEATT, RAYMOND                        ADDRESS ON FILE
SWECKER, JAMES                         ADDRESS ON FILE
SWEDENBURG, JAMES                      ADDRESS ON FILE
SWEENE, NEVIN                          ADDRESS ON FILE
SWEENEY, BOB                           ADDRESS ON FILE
SWEENEY, DANNY                         ADDRESS ON FILE
SWEENEY, KEVIN P                       ADDRESS ON FILE
SWEENEY, MICHAEL                       ADDRESS ON FILE
SWEENEY, MICHELLE                      ADDRESS ON FILE
SWEENEY, NORMAN                        ADDRESS ON FILE
SWEENEY, PAT J                         ADDRESS ON FILE
SWEENEY, THOMAS F                      ADDRESS ON FILE
SWEENEY, TROY                          ADDRESS ON FILE
SWEENY, LARRY W                        ADDRESS ON FILE
SWEERE, JOHN                           ADDRESS ON FILE
SWEET LIFE HOSPITALITY INC             800 FALMOUTH RD. MASHPEE MA 02542
SWEET LIFE LLC                         OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
SWEET, BRANDON                         ADDRESS ON FILE
SWEET, CHRISTOPHER                     ADDRESS ON FILE
SWEET, RANDY                           ADDRESS ON FILE
SWEET, SHARIF                          ADDRESS ON FILE
SWEET, TONY                            ADDRESS ON FILE
SWEETWATER PLUMBING INDUSTRIES INC     4667 HOLT BLVD MONTCLAIR CA 91763
SWEGER, DEREK                          ADDRESS ON FILE
SWEGER, RANDY                          ADDRESS ON FILE
SWEGER, WILLIAM                        ADDRESS ON FILE
SWEIGERT, CHARLES                      ADDRESS ON FILE
SWEITZER, RICHARD                      ADDRESS ON FILE
SWENSEN, DANA                          ADDRESS ON FILE
SWENSON, RONALD                        ADDRESS ON FILE
SWENSON, STEPHEN                       ADDRESS ON FILE
SWENTKOWSKI, SEAN                      ADDRESS ON FILE
SWETLAND, JOHNATHON                    ADDRESS ON FILE
SWEZEY, ALEX                           ADDRESS ON FILE
SWG LOGISTICS LLC                      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                       76116
SWHIFT STAINLESS FABRICATION           246 MCGHEE RD SANDPOINT ID 83864
SWIATKOWSKI, MICHAEL D                 ADDRESS ON FILE
SWIDERSKI, TIMOTHY                     ADDRESS ON FILE
SWIFT & SOUND LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
SWIFT CLEANING, LLC                    901 SPRUCE TEXARKANA TX 75501
SWIFT HANDLING L.L.C                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
SWIFT SHOT LOGISTICS LLC               OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
SWIFT SMITH & SON LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
SWIFT TRANSPORTATION CO. OF ARIZONA,   ATTN: REAL ESTATE DEPT 2002 W WAHALLA LN PHOENIX AZ 85027
LLC
SWIFT TRANSPORTATION CORPORATION       PO BOX 643985 PITTSBURGH PA 15264



Epiq Corporate Restructuring, LLC                                                              Page 1847 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1856 of 2156

Claim Name                           Address Information
SWIFT UNIVERSAL TRUCKING CORP        OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
SWIFT, ANTHONY                       ADDRESS ON FILE
SWIFT, MICHAEL                       ADDRESS ON FILE
SWIFT, NICOLAS                       ADDRESS ON FILE
SWIFT, WILLIAM                       ADDRESS ON FILE
SWIGART, SCOTT                       ADDRESS ON FILE
SWIGART, ZACHARY                     ADDRESS ON FILE
SWIGER, JAMES                        ADDRESS ON FILE
SWIGER, TRAVIS                       ADDRESS ON FILE
SWIGERT, DANIEL                      ADDRESS ON FILE
SWIGGETT, ALONZO                     ADDRESS ON FILE
SWIHART, RUSSELL                     ADDRESS ON FILE
SWIMM, JAKE                          ADDRESS ON FILE
SWINDELL, ADRIAN                     ADDRESS ON FILE
SWINDELL, TIMOTHY                    ADDRESS ON FILE
SWINDLE, ROBERT                      ADDRESS ON FILE
SWINDLER, BRENT                      ADDRESS ON FILE
SWINDLER, BROCK                      ADDRESS ON FILE
SWINEFORD, DAVID                     ADDRESS ON FILE
SWINEHART, MARK                      ADDRESS ON FILE
SWINGLE, DOUGLAS                     ADDRESS ON FILE
SWINGLER, MARK                       ADDRESS ON FILE
SWISH . KEMSOL                       ADDRESS ON FILE
SWISH MAINTENANCE LTD.               2060 FISHER DRIVE, PO BOX 3000 PETERBOROUGH ON K9J 8N4 CANADA
SWISHER, GLENN                       ADDRESS ON FILE
SWISHER, LINDA                       ADDRESS ON FILE
SWISS STEEL                          365 VILLAGE DR. CAROL STREAM IL 60188
SWISS STEEL USA INC                  DEBBIE PAGE, PO BOX 441326 KENNESAW GA 30160
SWISS TECH PRECISION INC             690 S CLEARWATER LOOP POST FALLS ID 83854
SWITCH N LANES LLC                   PO BOX 311 WILLISTON FL 32696
SWITCH TRANSLINE LLC                 OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
SWITZER, JOHN                        ADDRESS ON FILE
SWOPE, GERALD                        ADDRESS ON FILE
SWOPE, KEVIN                         ADDRESS ON FILE
SWOPE, ROBERT                        ADDRESS ON FILE
SWORD TRANSPORT LLC (AUBURN WA)      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SWORD, JEFFERY                       ADDRESS ON FILE
SWORDFISH TRANSPORTATION LLC         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SWORDS, JEREMY                       ADDRESS ON FILE
SWRCB                                PO BOX 1888 SACRAMENTO CA 95812
SWRCB FEES                           PO BOX 1888 SACRAMENTO CA 95812
SWT TRANSIT LLC                      OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
SWT TRUCKING INC                     OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
SWYGARD, MARK                        ADDRESS ON FILE
SWYGERT, EUGENE                      ADDRESS ON FILE
SY FAST TRUCKING INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SY TRANSPORT CORP                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
SYA LOGISTICS LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                               Page 1848 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1857 of 2156

Claim Name                           Address Information
SYBERT, DAVID                        ADDRESS ON FILE
SYBERT, EDWARD                       ADDRESS ON FILE
SYDLOSKI, LANCE                      ADDRESS ON FILE
SYDNEY KWANE OKEEF THOMPSON          ADDRESS ON FILE
SYDNEY R MOTES                       ADDRESS ON FILE
SYDNEY, KENT                         ADDRESS ON FILE
SYDNOR, KENNETH                      ADDRESS ON FILE
SYED, KHALIL                         ADDRESS ON FILE
SYESTER, ALYCE                       ADDRESS ON FILE
SYGMA TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SYH FREIGHT SERVICE LLC              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
SYKES, KESHUN                        ADDRESS ON FILE
SYKES, KEVIN                         ADDRESS ON FILE
SYKES, MICHAEL                       ADDRESS ON FILE
SYKES, STEVEN                        ADDRESS ON FILE
SYL LOGISTICS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SYL TRUCKING COMPANY                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
SYLER, ROBERT                        ADDRESS ON FILE
SYLVA, JOHN-RAY                      ADDRESS ON FILE
SYLVAIN ROY                          ADDRESS ON FILE
SYLVAMO                              ATTN: ALISON HOLT 601 N MECHANIC ST FRANKLIN VA 23851
SYLVAN COKE TRUCKING SERVICES LLC    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
SYLVANDER, BRUCE                     ADDRESS ON FILE
SYLVANDER, BRUCE                     ADDRESS ON FILE
SYLVESTER CHEVROLET INC              1609 MAIN ST PECKVILLE PA 18452
SYLVESTER J ADKINS                   ADDRESS ON FILE
SYLVIA DI COLA                       ADDRESS ON FILE
SYLVIA, DAVID                        ADDRESS ON FILE
SYLVIA, MATTHEW                      ADDRESS ON FILE
SYLVON TRUCKING LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
SYNAPSE MARKETING SOLUTIONS          2950 OLD TREE DRIVE LANCASTER PA 17603
SYNC LOGISTICS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SYNCFUSION INC                       2501 AERIAL CENTER PKWY STE 200 MORRISVILLE NC 27560
SYNCHROGISTICS LLC                   ATTN: NOVELLYN SALIO-AN CLAIMS PO BOX 99066 RALEIGH NC 27624
SYNDICATE TRANSPORT INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SYNERGY CARRIERS INC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
SYNERGY CONSTRUCTION GROUP INC       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
SYNERGY ELECTRIC                     1 N LANDMARK LN STE B RIGBY ID 83442
SYNERGY FREIGHT TRANSPORT LLC        13100 WORTHAM CENTER DR, FLOOR 1058 HOUSTON TX 77065
SYNERGY TRANSPORT INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
SYNERGY TRANSPORT LLC                OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
SYNTER RESOURCE GROUP, LLC           PO BOX 62016 CHARLESTON SC 29419
SYOSSET TRUCK SALES, INC.            1561 STEWART AVE. WESTBURY NY 11590
SYPHER, EDWARD                       ADDRESS ON FILE
SYPHER, EDWARD B                     ADDRESS ON FILE
SYPNIEWSKI, FRANK                    ADDRESS ON FILE
SYRACUSE LAWN & MAINTENANCE INC      9 7 TOWN GARDEN DR LIVERPOOL NY 13088
SYRN TRANS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
SYRWAY INC                           311 GILLESPIE AVE SYRACUSE NY 13219



Epiq Corporate Restructuring, LLC                                                               Page 1849 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1858 of 2156

Claim Name                           Address Information
SYS EXPRESS LLC                      5 NEVADA ST NASHUA NH 03060
SYS-KOOL, L.L.C.                     11313 S 146TH ST OMAHA NE 68138
SYSAVATH, ANDREW                     ADDRESS ON FILE
SYSCO                                1390 ENCLAVE PKWY HOUSTON TX 77077
SYSCO CENTRAL                        ATTN CHRISTINE, 1000 BAUGH DR FRONT ROYAL VA 22630
SYSCO CENTRAL WAREHOUSE              ATTN: CHRISTINE MOFFATT, 1000 BAUGH DR FRONT ROYAL VA 22630
SYSCO CENTRAL WHSE                   1000 BAUGH DR FRONT ROYAL VA 22630
SYSCO FOOD SERVICES                  22820 54TH AVE S KENT WA 98032
SYSTEM AIR                           10048 INDUSTRIAL BLVD LENEXA KS 66215
SYSTEM RIDER EXPRESS INC             PO BOX 97 WILLOW SPRINGS IL 60480
SYSTEM SEVEN REPAIR, INC             10831 TUKWILA INTERNATIONAL SEATTLE WA 98168
SYSTEMATICS                          1625 NORWOOD AVE. ITASCA IL 60101
SYSTEMS LLC                          W194N11481 MCCORMICK DR GERMANTOWN WI 53022
SYSTEMS LLC                          PO BOX 713247 CHICAGO IL 60677
SYSTEMWARE INC                       15301 DALLAS PARKWAY SUITE 1100 ADDISON TX 75001
SYTECH EXPRESS INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
SYTESS TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
SYVRUD CHIROPRACTIC CLINIC           825 25TH ST S FARGO ND 58103
SZ15 LOGISTICS                       ATTN: GERRIE CYRUS PO BOX 698 CARLISLE PA 17013
SZALA, MICHAEL                       ADDRESS ON FILE
SZARAFIN, DAVE                       ADDRESS ON FILE
SZARLOWICZ, RONALD                   ADDRESS ON FILE
SZARZYNSKI, JAMES                    ADDRESS ON FILE
SZCZACHOR, BARTLOMIEJ                ADDRESS ON FILE
SZCZEPANSKI, MATTHEW                 ADDRESS ON FILE
SZCZEPANSKI, TERRY                   ADDRESS ON FILE
SZCZERBA, STANISLAW                  ADDRESS ON FILE
SZCZYGIEL, JOHN                      ADDRESS ON FILE
SZEGEDI, ANDREW                      ADDRESS ON FILE
SZELUGA, MICHELLE                    ADDRESS ON FILE
SZEREPI, RICHARD                     ADDRESS ON FILE
SZESZKO SERVICES LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
SZILAGYI, SETH                       ADDRESS ON FILE
SZITTAI, JOE                         ADDRESS ON FILE
SZK LOGISTICS INC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
SZOZDA, JORDAN                       ADDRESS ON FILE
SZPAK, RONALD R                      ADDRESS ON FILE
SZTORC, JEREMY                       ADDRESS ON FILE
SZUCH, LOGAN                         ADDRESS ON FILE
SZUCH, ROBERT                        ADDRESS ON FILE
SZULA, MICHAEL                       ADDRESS ON FILE
SZULCZEWSKI, TIMOTHY                 ADDRESS ON FILE
SZWAJDA, GREGORY                     ADDRESS ON FILE
SZWEDO, STEVEN                       ADDRESS ON FILE
SZYCHULSKI, ROBERT                   ADDRESS ON FILE
SZYMANSKI, JOSEPH                    ADDRESS ON FILE
SZYMANSKI, ROBERT                    ADDRESS ON FILE
SZYMCZAK, MATHEW                     ADDRESS ON FILE
T & A FREIGHT LLC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                            Page 1850 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1859 of 2156

Claim Name                           Address Information
T & A SUPPLY                         6821 S 216TH ST KENT WA 98035
T & A TRANSFER INCORPORATED          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
T & A TRANSPORT                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T & A TRANSPORT LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
T & A TRANSPORTATION INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
T & A TRUCKING LLC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
T & B EXPRESS LLC                    OR FACTORTEK LLC P.O. BOX 1668 DEPT 330 HOUSTON TX 77251
T & C LOGISTICS, LLC                 2302 LANCASTER HIGHWAY MONROE NC 28112
T & D BODY SHOP                      1980 KNIGHT RD KERNERSVILLE NC 27284
T & D HAULING INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
T & D LOGISTICS LLC                  OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
T & E THE CAT RENTAL STORE           ATTN: JON VENTLING 2770 N 19TH AVE BOZEMAN MT 59718
T & F EXPRESS LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
T & G TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
T & H TRANSPORT L L C                OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
T & J HARPER TRUCKING LLC            OR PARTNERS FUNDING INC.    PO BOX 5431 CAROL STREAM IL 60197-5431
T & J LOGISTICS LLC                  5747 N 17TH ST PHILADELPHIA PA 19141
T & J LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
T & J TRANSPORT, INC.                46 BIG HILL DRIVE BEATTYVILLE KY 41311
T & L FREIGHT INC.                   3853 HWY 61 NORTH CLEVELAND MS 38732
T & M PLUMBING AND HEATING INC       PO BOX 847 MANCELONA MI 49659
T & M TRUCKING SERVICE LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T & P TRANSPORT                      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
T & R TOWING                         691 ADDISON RD PAINTED POST NY 14870
T & R TRANSPORT INC                  2593 N OAKMONT DR FLAGSTAFF AZ 86004
T & R TRUCKING ENTERPRISE LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
T & S TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
T & T EXPEDITING, INC.               OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
T & T FARMS, INC.                    PO BOX 439 WINAMAC IN 46996
T & T FREIGHT CORP                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
T & T INC OF N Y                     44 DAVID DRIVE COHOES NY 12047
T & T INTERNATIONAL, LLC             10145 VIA DE LA AMISTAD 23C SAN DIEGO CA 92154
T & T TRANSIT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
T & W TIRE                           P.O. BOX 258859 OKLAHOMA CITY OK 73125
T AND E DIESEL REPAIR LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
T AND G TRUCKING                     9843 RAMONA ST APT 203 BELLFLOWER CA 90706-2365
T AND T ENTERPRISES                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
T AND T TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
T AND Y TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T BROS TRUCKING                      PO BOX 89405 SIOUX FALLS SD 57109
T C B X INC                          1748 S E 13TH ST, P O BOX 325 BRAINERD MN 56401
T C I TRUCKING LLC                   3375 NORTHCLIFF DR SUWANEE GA 30024-7104
T C REDI-MIX INC                     203 W. WASHINGTON ST. NEW CASTLE PA 16101
T DEVELOPMENT AND SALES              PO BOX 437 ALAMO CA 94507
T E P A C                            2829 MADISON AVE INDIANAPOLIS IN 46225
T E V A TRUCKING LLC                 OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
T F G TRUCKING LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
T FORCE WORLDWIDE                    1000 WINDHAM PKWY BOLINGBROOK IL 60490



Epiq Corporate Restructuring, LLC                                                               Page 1851 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1860 of 2156

Claim Name                              Address Information
T FORCE WORLDWIDE                       ATTN: CINDY TORAN 1000 WINDHAM PKWY BOLINGBROOK IL 60490
T FORCE WORLDWIDE                       DLS WORLDWIDE, 1000 WINDHAM PKWY BOLINGBROOK IL 60490
T G EXPRESS                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T G TRUCKING 1 LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
T GRIFFIN TRUCKING LLC                  250 MARTIN LUTHER KING JR DR BATESVILLE MS 38606-3940
T H RYAN CARTAGE COMPANY                111 S 7TH AVE MAYWOOD IL 60153
T HARRIS TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
T J MAXX                                80 COBBLESTONE COURT DR. VICTOR NY 14564
T J TRUCKING LINES LLC                  OR RIVIERA FINANCE OF PHILADELPHIA INC PO BOX 713394 PHILADELPHIA PA
                                        19171-3394
T JONES TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
T JS TRUCK & AUTO SERVICE INC           PO BOX 2018 DUBLIN VA 24084
T L C AUTOMOTIVE                        210 EDWARD AVENUE STERLING CO 80751
T L DIVERSIFIED SERVICES LLC            PO BOX 160 CLEARWATER MN 56304
T L GRAPHICS AND PRINT SOLUTIONS, LLC   9072 LYNDALE AVE. S 165 BLOOMINGTON MN 55420
T L YARBER TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
T LOGISTICS LLC                         OR RIVIERA FINANCE OF TEXAS PO BOX 202485 DALLAS TX 75320-2487
T M H INC.                              3530 CLEVELAND AVENUE SUITE1 LINCOLN NE 68504
T M TRANSPORTATION SERVICES LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
T MARTIN TRANSPORTATION                 OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
T MAX TRANSPORTATION INC                425 SOUTH LOCUST STREET MANTENO IL 60950
T MURRAY TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T N X, INC.                             OR TAB BANK, PO BOX 150290 OGDEN UT 84415
T ORTEGA TRUCKING                       OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
T R LOGISTICS                           1794 ANDROSS AVE YUBA CITY CA 95993
T R TRUCKING INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
T REX EXPRESS INC                       1372 W OLIVE ST SAN BERNARDINO CA 92411-2202
T S BOYD GRAIN                          ADDRESS ON FILE
T S G LLC                               1130 KING GEORGES, POST ROAD EDISON NJ 08837
T S TRANSIT LLC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
T TRANS INC                             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
T TRANSPORT INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
T TURNER TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
T V M EXPRESS INC                       PO BOX 6076 BLOOMINGDALE IL 60108
T W SMITH WELDING SUPPLY                885 MEEKER AVE BROOKLYN NY 11222
T WILLZ LOGISTICS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T YOUNG EXPRESS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
T&A                                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
T&A INC. D/B/A A&P PAWN JEWELRY         C/O: THE BRYANT LAW FIRM ATTN: W JOEL BRYANT 5300 MEMORIAL DR. STE. 890
                                        HOUSTON TX 77008
T&A INC. D/B/A A&P PAWN JEWELRY         ATTN: GENERAL COUNSEL 7915 WESTHEIMER HOUSTON TX 77063
T&A SUPPLY                              6821 S 216TH ST KENT WA 98032
T&A SUPPLY/PAC MAT                      6821 S 216TH ST KENT WA 98032
T&B TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
T&D FREIGHT EXPRESS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
T&D TRANSPORT LLC                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
T&E PRIME FOODS                         ATTN: SARAI NEVAREZ 1080 WYCKOFF AVE RIDGEWOOD NY 11385
T&HUTCH TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T&J TRANSPORT LP                        T & J TRANSPORT LP 1643B SAVANNAH HWY SUITE 185 CHARLESTON SC 29407



Epiq Corporate Restructuring, LLC                                                                  Page 1852 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1861 of 2156

Claim Name                               Address Information
T&K TRANSPORTATION LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
T&M EXPRESS INC                          OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
T&S FIRE AND SECURITY INC                3025 RANDLEMAN RD GREENSBORO NC 27406
T&S FREIGHT DISPATCHING-TWIN LOGISTICS   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T&S XPRESS LLC                           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
T&T                                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T&T TRUCKING 1 LLC                       OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
T&T TRUCKING COMPANY LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
T&W TOWING LLC                           2046 SORENSEN RD ALBERT LEA MN 56007
T-C 33 ARCH STREET,LLC                   C/O CBRE - ATTN: BRIAN COLLINS 33 ARCH STREET FL 31 BOSTON MA 02110
T-J TRANSPORT, INC.                      11327 STATE RT 143 SUITE A HIGHLAND IL 62249
T-MILLER WRECKER SERVICE                 1201 S. JOHNSON ST. AMARILLO TX 79101
T-N-T DYNAMITE LAWN SERVICES             1002 WESTWOOD DR. ABILENE TX 79603
T-N-T LLC                                68 PERFORMANCE ONE DR. COLUMBUS MS 39705
T-RAIL GUN LOGISTICS                     ATTN: SINGH JASPINDER 3820 UNION DEPOSIT ROAD HARRISBURG PA 17109-5919
T-REX                                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
T-WAY EXPRESS TRANSPORTATION             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
T. ALEXANDER III TRUCKING LLC            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
T. G. R. TRANSPORT                       13990 FIR STREET OREGON CITY OR 97045
T. GRIFFIN TRUCKING                      250 MARTIN LUTHER KING JR DR BATESVILLE MS 38606
T. L. BAINEY, INC.                       PO BOX 68 WEST DECATUR PA 16878
T. M. BROWN TRUCKING, INC.               P. O. BOX 673 HOUSTON MS 38851
T. M. T. INDUSTRIES, INC.                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
T. SLACK ENVIRONMENTAL SERVICES          180 MARKET STREET KENILWORTH NJ 07033
T. T. I., INC.                           PO BOX 317 EDEN WI 53019
T.A.M. TRANSPORTATION LLC                OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                         IL 60674-0411
T.D. PADESKY ELECTRIC, INC.              PO BOX 935 LA CROSSE WI 54602
T.J. SNOW CO. INC.                       ATTN: SAM SNOW 120 NOLIN LANE CHATTANOOGA TN 37421-3574
TA CARRIERS LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TA CONSTRUCTION INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TA GRAHAM TRUCKING LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TA HAULING LLC                           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TA OPERATING LLC                         PO BOX 641906 CINCINNATI OH 45264
TA SERVICES INC                          241 REGENCY PARKWAY MANSFIELD TX 76063
TA SERVICES INC.                         PO BOX 2127 BIRMINGHAM AL 35201
TA SERVICES LLC                          1810 AVENUE C BIRMINGHAM AL 35218
TA TRANS INC                             OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
TA TRAVEL CENTER                         408 STATE HIGHWAY 149 N EARLE AR 72331
TA TRAVEL CENTER                         1000 E. MT. VERNON BLVD. MT. VERNON MO 65712
TA TRUCK SERVICE                         24601 CENTER RIDGE RD 200 WESTLAKE OH 44145
TA TRUCK SERVICE                         101 TROTTERS LANE FRANKLIN KY 42134
TA TRUCK SERVICE                         IOWA 80 TRUCKSTOP, PO BOX 639 WALCOTT IA 52773
TA TRUCK SERVICE                         P.O. BOX 69, HIWAY 44 EXIT 88 STRAFFORD MO 65757
TA TRUCK SERVICE                         1400 HIGLEY BLVD I-80 AND HIGLEY BLVD. EXIT 214 RAWLINS WY 82301
TA TRUCK SERVICE                         8836 NORTH HW. 40 TOOELE UT 84074
TA TRUCK SERVICE                         I-15 EXIT 78 PAROWAN UT 84761
TA TRUCK SERVICE                         1010 N 339TH AVENUE 1-10 AND 339TH AVE EXIT 103 MARICOPA TONOPAH AZ 85354



Epiq Corporate Restructuring, LLC                                                                   Page 1853 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1862 of 2156

Claim Name                          Address Information
TA TRUCK SERVICE                    8050 DEAN MARTIN DRIVE. LAS VEGAS NV 89139
TA TRUCK SERVICE                    200 NORTH MCCARRAN BLVD SPARKS NV 89431
TA TRUCK SERVICE                    46155 DILLON ROAD COACHELLA CA 92236
TA TRUCK SERVICE                    5552 WHEELER RIDGE RD I-5 & LAVAL EAST ROAD ARVIN CA 93203
TA TRUCK SERVICE                    I-5 HWY 58 27769 LAGOON DRIVE BUTTONWILLOW CA 93206
TA TRUCK SERVICE                    I-5 AT LAVAL ROAD WEST 5821 DENNIS MCCARTHY DR LEBEC CA 93243
TA TRUCK SERVICE                    12310 SOUTH HIGHWAY 33 SANTA NELLA CA 95322
TA TRUCK SERVICE                    TRUCK N TRAVEL, 32910 EAST PEARL STREET COBURG OR 97408
TA TRUCKING                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TA USA EXPRESS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TAA CORPORATION                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAA, ALOOFA                         ADDRESS ON FILE
TAAG TRANSPORTATION LLC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAAUAU, TALOSAGA                    ADDRESS ON FILE
TAB BROOKLYN LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TAB TRANSPORT, INC.                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TABA TRUCKING                       OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
TABANJI SAYEGH, DANNY M             ADDRESS ON FILE
TABANJI, DANNY                      ADDRESS ON FILE
TABARES, DYLAN                      ADDRESS ON FILE
TABARES, HIGINIO                    ADDRESS ON FILE
TABARES, JOAQUIN                    ADDRESS ON FILE
TABARES, JOAQUIN                    ADDRESS ON FILE
TABARES, LAURA                      ADDRESS ON FILE
TABARKA STUDIO                      7501 E REDFIELD RD STE B SCOTTSDALE AZ 85260
TABAT EXPRESS LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TABATHA SCHOCKE                     ADDRESS ON FILE
TABBITA, RAYMOND                    ADDRESS ON FILE
TABENA TRUCKING LLC                 OR GREAT PLAINS TRANSPORTATION SERVICES INC PO BOX 4539 CAROL STREAM IL
                                    60197-4539
TABER, AUSTIN                       ADDRESS ON FILE
TABEY COURIERS LLC                  3521 ARKLOW RD CHARLOTTE NC 28269
TABILE, ROBERT                      ADDRESS ON FILE
TABLER, DUSTIN C                    ADDRESS ON FILE
TABLOFF, TROY                       ADDRESS ON FILE
TABOIS, DANIELLE                    ADDRESS ON FILE
TABONE, JONATHON                    ADDRESS ON FILE
TABOR, ALBERT                       ADDRESS ON FILE
TABOR, RONALD                       ADDRESS ON FILE
TABORN, SCOTT                       ADDRESS ON FILE
TAC FREIGHT CO                      4320 WINFIELD ROAD SUITE 200 WARRENVILLE IL 60555
TAC LOGISTICS SERVICES              9100 SW FREEWAY, STE 150G HOUSTON TX 77074
TAC OPERATING CO                    ATTN: KARIE ADRIAN 512 W 8360 S SANDY UT 84070
TAC/JOLIET LLC                      PO BOX 129 SUMMIT IL 60501
TACCABAN, JERRY                     ADDRESS ON FILE
TACCOLA, ANTHONY                    ADDRESS ON FILE
TACH LOGISTICS LLC                  1932 NE PARK RIDGE CIRCLE LEES SUMMIT MO 64064
TACK TRUCKS LLC                     OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TACK TRUCKS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                              Page 1854 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1863 of 2156

Claim Name                              Address Information
TACKETT, CARRIE                         ADDRESS ON FILE
TACKETT, DONNA                          ADDRESS ON FILE
TACKETT, GREG                           ADDRESS ON FILE
TACKETT, GREG E                         ADDRESS ON FILE
TACKETT, MARIANNE                       ADDRESS ON FILE
TACO BELL                               2055 N. WASHINGTON FORREST CITY AR 72335
TACO CABANA 144                         7501 BELLAIRE BLVD. HOUSTON TX 77036
TACOMA & FIFE TRAILER REPAIR, INC       2022 MILWAUKEE WAY TACOMA WA 98421
TACOMA & FIFE TRAILER REPAIR, INC       10020 SALES RD LAKEWOOD WA 98499
TACOMA BOAT                             ADDRESS ON FILE
TACOMA CITY TREASURER                   PO BOX 11367 TACOMA WA 98411
TACOMA MOTORFREIGHT SERVICE             1314 E 26TH ST TACOMA WA 98421
TACOMA SCREW PRODUCTS, INC.             PO BOX 35165 SEATTLE WA 98124
TACOMA SCREW PRODUCTS, INC.             2001 CENTER ST TACOMA WA 98409
TACTICAL INTERSTATE INC                 OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
TACTICIAN CORPORATION                   305 N MAIN ST ANDOVER MA 01810
TACURI, JONATHAN                        ADDRESS ON FILE
TADA EXPRESS LLC                        OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
TADD LLC                                W 225 S 9135 MT CARMEL RD BIG BEND WI 53103
TADELE, SAMUEL                          ADDRESS ON FILE
TADZ LOGISTICS INC                      17437 TANGLEWOOD DR LOCKPORT IL 60441
TAE STAR TRUCKING LLC                   75 JAMES FERGUSON CEMETERY RD FORT GAY WV 25514-7179
TAFF, WILLIAM                           ADDRESS ON FILE
TAFOLLA TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TAFOYA, BRENDA                          ADDRESS ON FILE
TAFOYA, JOSEPH                          ADDRESS ON FILE
TAFT, ANDRE                             ADDRESS ON FILE
TAFT, GARY                              ADDRESS ON FILE
TAG TEAM TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TAG TRANS INC                           7701 S GRANT STREET SUITE D BURR RIDGE IL 60527
TAG TRUCK CENTER OF MEMPHIS             4450 AMERICAN WAY MEMPHIS TN 38118
TAG TRUCK CENTER OF MEMPHIS             112 EL MORGAN DR JACKSON TN 38305
TAG TRUCK CENTER OF TUPELO              TAG TRUCK CENTER OF JACKSON 112 E.L. MORGAN DR. JACKSON TN 38305
TAG TRUCK CENTER OF TUPELO              2448 MCCULLOUGH BELDEN MS 38826
TAG TRUCK CENTER OF TUPELO              LONESTAR TRUCK GROUP SHREVEPORT 7300 GREENWOOD RD SHREVEPORT LA 71119
TAG TRUCK CENTERS                       307 LYNUAL SIKESTON MO 63801
TAG TRUCK ENTERPRISES OF MISSOURI LLC   TAG TRUCK CENTER OF CALVERT CITY 215 CAMPBELL DRIVE CALVERT CITY KY 42029
TAG TRUCK ENTERPRISES OF MISSOURI LLC   18688 STATE HIGHWAY 177 JACKSON MO 63755
TAG TRUCK ENTERPRISES OF MISSOURI LLC   TAG TRUCK CENTER OF SIKESTON 307 LYNUAL DR SIKESTON MO 63801
TAG TRUCKLINES INC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TAG/ICIB SERVICES INC                   2290 ALAHAO PL UNIT 303 HONOLULU HI 96819
TAGABUEL, JAMES                         ADDRESS ON FILE
TAGG LOGISTICS                          501 E. SOUTH FRONTAGE RD. BOLINGBROOK IL 60440
TAGGART, AUSTIN                         ADDRESS ON FILE
TAGGART, DENNIS                         ADDRESS ON FILE
TAGGEE LLC                              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TAGS CARRIER LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TAGUANEY CORP                           OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
TAGUE, MICHELLE                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1855 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1864 of 2156

Claim Name                           Address Information
TAHA TRANS INC                       11260 W STATE ROUTE 115 HERSCHER IL 60941
TAHA TRANS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TAHE OUTDOORS NORTH AMERICA          ATTN: ROCHELLE GENDRON 2384 CRANBERRY HWY W WAREHAM MA 02576
TAHUS TRUCKING                       OR AMERICAS FACTORS INC 10430-28 PIONEER BLVD SANTA FE SPRINGS CA 90670
TAHUS TRUCKING                       6671 CHADBOURNE AVE RIVERSIDE CA 92505
TAIA, DEON                           ADDRESS ON FILE
TAILLEUR, OLIVIER                    ADDRESS ON FILE
TAILWIND TRANSPORTATION, LTD.        TAILWIND TRANSPORTATION LTD 7641 MARKET ST SUITE 5 YOUNGSTOWN OH 44512
TAIMEN TRUCKLINES LLC                1209 POINTE CENTRE DR CHATTANOOGA TN 37421
TAING, TORTH                         ADDRESS ON FILE
TAIT, MELISSA RAE                    ADDRESS ON FILE
TAIT, MELISSA RAE                    ADDRESS ON FILE
TAJ CARRIER LLC                      OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
TAJ FOOD MART                        2112 E. ISAACS AVE. WALLA WALLA WA 99362
TAJ FREIGHT INC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TAJ TRUCKING COMPANY                 4386 SAINT ANDREWS WAY HARRISBURG PA 17112
TAJAES TRUCKING LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TAJI IMPEX LLC                       OR FORTHALL FUNDS LLC, PO BOX 1692 MANCHESTER MO 63011
TAJINDER DHESI                       ADDRESS ON FILE
TAK LOGISTICS INC                    OR INSTAPAY FLEXIBLE, LLC, PO BOX 660771 DALLAS TX 75266-0771
TAK TRANSPORT LLC                    OR QP CAPITAL LLC, PO BOX 150145 OGDEN UT 84415
TAK TRUCKING INC                     OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
TAKACH, ANTHONY                      ADDRESS ON FILE
TAKACH, JASON                        ADDRESS ON FILE
TAKDIR TRANSPORATION INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TAKE IT & GO MOVING                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAKE TRUCKING LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TAKER EXPRESS LLC                    OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
TAKHI CARRIER INC                    OR VIVA CAPITAL FUNDING INC. PO BOX 17548 EL PASO TX 79917
TAKING TRUCKING SERIOUS LLC          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
TAKSAL TRANS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TALAMAIVAO, ALAILIMA                 ADDRESS ON FILE
TALAMANTES CORTES, RAMON             ADDRESS ON FILE
TALAMANTES CORTES, RAMON             ADDRESS ON FILE
TALAMANTES, EDDIE                    ADDRESS ON FILE
TALAMONI, IVAN                       ADDRESS ON FILE
TALAMONI, IVAN P                     ADDRESS ON FILE
TALAMONI, KING                       ADDRESS ON FILE
TALAMONI, SONNY                      ADDRESS ON FILE
TALAVERA, DANIE                      ADDRESS ON FILE
TALAVERA, DANIEL                     ADDRESS ON FILE
TALAVERA, MARTHA                     ADDRESS ON FILE
TALAVERA, MARTHA Y                   ADDRESS ON FILE
TALBERT, CLIFFORD                    ADDRESS ON FILE
TALBERT, DAVID                       ADDRESS ON FILE
TALBERT, MICHAEL                     ADDRESS ON FILE
TALBOT, DAVID                        ADDRESS ON FILE
TALBOT, MICHAEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1856 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1865 of 2156

Claim Name                           Address Information
TALEB, JAD                           ADDRESS ON FILE
TALEVSKI, ZORAN                      ADDRESS ON FILE
TALKOVIC, BRIAN                      ADDRESS ON FILE
TALL N TEXAS TRANSPORTATION LLC      PO BOX 50842 AMARILLO TX 79159
TALLAPRAGADA, UDAY                   ADDRESS ON FILE
TALLARICO, MICHAEL                   ADDRESS ON FILE
TALLEDOS TRUCKING LLC                OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
TALLENT, CARLA                       ADDRESS ON FILE
TALLEY COMMUNICATIONS                12976 SANDOVAL ST SANTA FE SPRINGS CA 90670
TALLEY, GREGORY                      ADDRESS ON FILE
TALLEY, MARVIN                       ADDRESS ON FILE
TALLEY, ROY                          ADDRESS ON FILE
TALLEYRAND LEGACY TRANSPORTATION &   TRANSPORT LLC OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TALLEYRAND, WALNER                   ADDRESS ON FILE
TALLIE, ISAIAH                       ADDRESS ON FILE
TALLMAN LADDERS INC                  1460 TUCKER RD HOOD RIVER OR 97031
TALLMAN TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TALLMAN, JAMES                       ADDRESS ON FILE
TALLO TRUCKING LLC                   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TALLYS ROADSIDE SERVICE              1107 WING AVE OWENSBORO KY 42303
TALT PLUMBING, LLC                   4808 CAMPFIRE COURT FORT WORTH TX 76244
TALTON, DARRIEN                      ADDRESS ON FILE
TALTON, SHERON                       ADDRESS ON FILE
TALVITIE, DUANE                      ADDRESS ON FILE
TALWANDI TRUCKING INC                9870 S GLENMOOR CT OAK CREEK WI 53154
TALWAR FREIGHT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TALWARA TRANSPORT LTD                OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA AB L4Z 1X8
                                     CANADA
TALX CORPORATION                     D/B/A: EQUIFAX WORKFORCE SOLUTIONS LLC 4076 PAYSPHERE CIR CHICAGO IL 60674
TAM ENTERPRISES, INC.                114 HARTLEY RD GOSHEN NY 10924
TAM GROUP INC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
TAMALA S RICHARDS                    ADDRESS ON FILE
TAMARA JALVING                       ADDRESS ON FILE
TAMARA SUDDETH                       ADDRESS ON FILE
TAMARACK FREIGHT LTD                 OR PATHWARD NATIONAL ASSOCIATION PO BOX 3625 COMMERCE COURT POSTAL STATION
                                     TORONTO ON M5L 1K1 CANADA
TAMARAK FARMS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAMASI, ZOLTAN                       ADDRESS ON FILE
TAMAYO, DANIEL                       ADDRESS ON FILE
TAMAYO, JONATHAN                     ADDRESS ON FILE
TAMAYO, ROMAN                        ADDRESS ON FILE
TAMAYOS LOGISTICS LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TAMBER BROTHERS TRUCKING             10 ORANGEBLOSSOM TRAIL BRAMPTON ON L6X 3B4 CANADA
TAMBERT XPRESS INC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TAMBURELLO, JOSEPH                   ADDRESS ON FILE
TAMEKIA T LOCKRIDGE                  ADDRESS ON FILE
TAMERLANE EXPRESS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TAMEX DE QUERETARO                   ATTN: KARLA MAGDALENO 10224 CROSSROADS LOOP LAREDO TX 78045
TAMI M WELSH                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1857 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1866 of 2156

Claim Name                           Address Information
TAMMY D COOPER                       ADDRESS ON FILE
TAMMY GRUBE                          ADDRESS ON FILE
TAMMY OUTLER                         ADDRESS ON FILE
TAMONDONG, ABELARDO                  ADDRESS ON FILE
TAMPA ELECTRIC                       702 N FRANKLIN ST TAMPA FL 33602-4429
TAMPA EXPRESS SOLUTION LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TAMPA FORTIFIED FENCE                14815 N 20TH ST B LUTZ FL 33549
TAMPA SPRING COMPANY                 8820 N BROOKS ST TAMPA FL 33604
TAMPA WESTERN LOGISTICS CORP         OR SEVEN OAKS CAPITAL DEPT 470 PO BOX 669130 DALLAS TX 75266-9130
TAN                                  CONAIR CORPORATION, PO BOX 2259 CORONA CA 92878
TAN TRANSPORT INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAN, ABBIE                           ADDRESS ON FILE
TAN, ARCHIE                          ADDRESS ON FILE
TANA LOGISTICS LLC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TANA LOGISTICS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TANA TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TANCREDI, EVA                        ADDRESS ON FILE
TANDEM SPECIALIZED INC               PO BOX 180 ST LOUIS MI 48880
TANDEM TRUCK LOAD LLC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TANDEM WORLDWIDE LOGISTICS INC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TANECIA S DUDLEY                     ADDRESS ON FILE
TANEV, LEILANI                       ADDRESS ON FILE
TANGANIK ADKINS                      ADDRESS ON FILE
TANGIANU, ANTONIO                    ADDRESS ON FILE
TANGLEWOOD TRANSPORT LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TANGUAY, STEVEN                      ADDRESS ON FILE
TANI TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TANIOS, FARHAT                       ADDRESS ON FILE
TANIS TRUCKING COMPANY               2685 PORT SHELDON RD. JENISON MI 49428
TANIS, EDWARD                        ADDRESS ON FILE
TANJET LOGISTICS LLC                 PO BOX 550312 DALLAS TX 75355
TANKERSLEY, WAYNE                    ADDRESS ON FILE
TANKNOLOGY INC.                      PO BOX 201567 AUSTIN TX 78720
TANKNOLOGY INC.                      PO BOX 201567 AUSTIN TX 78720-1567
TANKO TRANSPORT LLC                  OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
TANKSLEY MACHINE & TOOL, INC.        PO BOX 1552 DECATUR AL 35602
TANKSLEY, DOUGLAS E                  ADDRESS ON FILE
TANKZ TRANSPORTATION LLC             OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TANN ELECTRIC, INC                   13216 WEST 99TH STREET LENEXA KS 66215
TANN TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TANN, JAMES                          ADDRESS ON FILE
TANNAHILL TRUCK, BUS & AUTO REPAIR   2397 TYLER RD. CHRISTIANSBURG VA 24073
TANNAHILL TRUCK, BUS & AUTO REPAIR   5935 BRABHAM LANE DUBLIN VA 24084
TANNER TRUCKING INC                  OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
TANNER, BARBARA                      ADDRESS ON FILE
TANNER, BRIAN K                      ADDRESS ON FILE
TANNER, DANITA                       ADDRESS ON FILE
TANNER, DAVID                        ADDRESS ON FILE
TANNER, DEVIN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1858 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1867 of 2156

Claim Name                          Address Information
TANNER, DONZIL                      ADDRESS ON FILE
TANNER, HEATHER                     ADDRESS ON FILE
TANNER, HUGH                        ADDRESS ON FILE
TANNER, JASON                       ADDRESS ON FILE
TANNER, MICHAEL                     ADDRESS ON FILE
TANNER, SPENCER                     ADDRESS ON FILE
TANNER, TICHINA                     ADDRESS ON FILE
TANNER, WILLIAM                     ADDRESS ON FILE
TANNEWITZ INC.                      ATTN: MIKE TOMASZEWSKI 794 CHICAGO DRIVE JENISON MI 49428-9195
TANNEY, LANE                        ADDRESS ON FILE
TANNEY, TY                          ADDRESS ON FILE
TANNIEHILL, ANTHONY                 ADDRESS ON FILE
TANTARA TRANSPORTATION CORP.        2420 STEWART ROAD MUSCATINE IA 52761
TANTON, TIFFANY                     ADDRESS ON FILE
TANUVASA, DANNY                     ADDRESS ON FILE
TANVI DISTRIBUTION                  305 COX STREET ROSELLE NJ 07203
TANYA T ZEIGLER                     ADDRESS ON FILE
TANZANITE LOGISTICS LLC             OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
TANZINI, JAIME                      ADDRESS ON FILE
TAO, ERNIE                          ADDRESS ON FILE
TAPE PRODUCTS COMPANY               PO BOX 644917 PITTSBURGH PA 15264
TAPIA & SONS TRUCKING LLC           1347 E 11TH ST CASA GRANDE 85122
TAPIA DIESEL REPAIR MOBILE          1659 111TH ST LUBBOCK TX 79423
TAPIA, ARTURO                       ADDRESS ON FILE
TAPIA, CHRIS                        ADDRESS ON FILE
TAPIA, JOEL                         ADDRESS ON FILE
TAPN FRANCO LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TAPP, DAVID                         ADDRESS ON FILE
TAPPER CUDDY LLP                    1000 330 ST MARY AVENUE WINNIPEG MB R3C 3Z5 CANADA
TAPPER, BROOKE                      ADDRESS ON FILE
TAPPER, BROOKE                      ADDRESS ON FILE
TAPPER, MELANIE                     ADDRESS ON FILE
TAPPER, MELANIE                     ADDRESS ON FILE
TAPPIN, ANDREW                      ADDRESS ON FILE
TAPUTOA, KERETI                     ADDRESS ON FILE
TAQWA TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TARA L RENNER                       ADDRESS ON FILE
TARA NATIONAL INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TARA SMITH                          ADDRESS ON FILE
TARA WRECKER INC                    PO BOX1199 JONESBORO GA 30237
TARACZKOZY, MATTHEW J               ADDRESS ON FILE
TARAN TRANSPORTATION LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TARAN TRUCKING LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TARANGO, ROSALINDA                  ADDRESS ON FILE
TARANTINI, JOSEPH                   ADDRESS ON FILE
TARASKA, ROBERT                     ADDRESS ON FILE
TARAZAGA, NATALIE                   ADDRESS ON FILE
TARBOX, TYLER                       ADDRESS ON FILE
TARDIEU, BERLIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1859 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1868 of 2156

Claim Name                              Address Information
TARDIF DIESEL INC.                      4388, ROUTE 112 ASCOT CORNER QC J0B 1A0 CANADA
TAREEN LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TARELO, JULIAN                          ADDRESS ON FILE
TARGET                                  18275 KENRICK AVE. LAKEVILLE MN 55044
TARGET                                  LOCKBOX 860363, PO BOX 860363 MINNEAPOLIS MN 55486
TARGET CORP                             7000 TARGET PKWY BROOKLYN PARK MN 55445
TARGET FREIGHT MANAGEMENT               ATTN: CLAIMS DEPARTMENT CLAIMS DEPARTMENT 5905 BROWNSVILLE RD PITTSBURGH PA
                                        15236
TARGET LOGISTICS                        OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TARGET PEST CONTROL INC                 PO BOX 80427 BILLINGS MT 59108
TARGET SERVICES INC                     2973 AERIAL DRIVE FRISCO TX 75033
TARGET STORES                           5200 KINGS HWY. BROOKLYN NY 11234
TARGET TRANSPORT                        OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON AB L6T 5C5 CANADA
TARGET TRANSPORTATION, INC.             1496 FOUNTAIN RUN RD PO BOX 240 GAMALIEL KY 42140
TARIQ J RAY                             ADDRESS ON FILE
TARIQ R JONES                           ADDRESS ON FILE
TARIQ, SYED                             ADDRESS ON FILE
TARLETON, AARON                         ADDRESS ON FILE
TARONE, RYAN                            ADDRESS ON FILE
TARR, BENJAMIN                          ADDRESS ON FILE
TARRACHE, SULTANA                       ADDRESS ON FILE
TARRANCE, EVAN                          ADDRESS ON FILE
TARRANT COUNTY                          C/O LINEBARGER GOGGAN BLAIR SAMPSON LLP 2777 N STEMMONS FWY, STE 1000 DALLAS
                                        TX 75207
TARRANT COUNTY TAX ASSESSOR-COLLECTOR   PO BOX 961018 FORT WORTH TX 76161
TARRANT, WILLIAM                        ADDRESS ON FILE
TARSHIS, MURRAY                         ADDRESS ON FILE
TART, BRIAN                             ADDRESS ON FILE
TART, JEFFREY                           ADDRESS ON FILE
TARTABULL, CARLOS E                     ADDRESS ON FILE
TARTABULL, CARLOS E                     ADDRESS ON FILE
TARTER, JAMES                           ADDRESS ON FILE
TARTT, CHRISTOPHER                      ADDRESS ON FILE
TARVER, JAMES                           ADDRESS ON FILE
TARVER, STEPHEN                         ADDRESS ON FILE
TAS 20-40 TRANSPORT                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TAS TRANSPORT, LTD                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TASCH, JAMES                            ADDRESS ON FILE
TASCO ENTERPRISES LTD                   1165 11871 HORSESHOE WAY RICHMOND BC V7A 5H5 CANADA
TASHAY L ANDERSON                       ADDRESS ON FILE
TASHEEBA M THOMPSON                     ADDRESS ON FILE
TASHKENT LLC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TASIC TRUCKING LLC                      OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
TASK CORPORATION                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TASKER, LANCE                           ADDRESS ON FILE
TASSELL, GERALD                         ADDRESS ON FILE
TASSTRUCKINGLLC                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TAT LOGISTICS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TAT LOGISTICS, INC.                     4347 S HAMPTON RD STE 133 MAIL BOX 139 DALLAS TX 75232-3315



Epiq Corporate Restructuring, LLC                                                               Page 1860 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1869 of 2156

Claim Name                           Address Information
TAT TRANSIT LLC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TAT TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TATA EXPRESS INC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TATA TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TATAFU, SIPILONI                     ADDRESS ON FILE
TATANKA LLC                          PO BOX 422 BIG HORN WY 82833
TATANKA, LLC                         ATTN: HAL MOOREHEAD PO BOX 422 BIG HORN WY 82833
TATAYON, ADRIAN                      ADDRESS ON FILE
TATE INTERIORS                       305 E 2ND ST WHITEFISH MT 59937
TATE, ARLINGTON                      ADDRESS ON FILE
TATE, BENNETT                        ADDRESS ON FILE
TATE, CARLOS                         ADDRESS ON FILE
TATE, CONRAD                         ADDRESS ON FILE
TATE, DARLISHA                       ADDRESS ON FILE
TATE, DEL                            ADDRESS ON FILE
TATE, DORIAN                         ADDRESS ON FILE
TATE, FINES                          ADDRESS ON FILE
TATE, GOLDEN H                       ADDRESS ON FILE
TATE, JOHN                           ADDRESS ON FILE
TATE, KENNEDY                        ADDRESS ON FILE
TATE, KEYON                          ADDRESS ON FILE
TATE, KWAME                          ADDRESS ON FILE
TATE, MICHAEL                        ADDRESS ON FILE
TATE, PHILLIP                        ADDRESS ON FILE
TATE, RHONDA                         ADDRESS ON FILE
TATE, RICKEY L                       ADDRESS ON FILE
TATE, RODNEY                         ADDRESS ON FILE
TATE, RONALD                         ADDRESS ON FILE
TATE, VENSON                         ADDRESS ON FILE
TATIANA MONTEPEQUE &MALACHI COOPER   ADDRESS ON FILE
TATIK, YETTA D                       ADDRESS ON FILE
TATIK, YETTA D                       ADDRESS ON FILE
TATUM JR., GRADY                     ADDRESS ON FILE
TATUM, KIMBERLY                      ADDRESS ON FILE
TATUM, RONALD D                      ADDRESS ON FILE
TATUM, WILLIAM                       ADDRESS ON FILE
TATYANA R WEST                       ADDRESS ON FILE
TAU EXPRESS, INC.                    OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
TAUA, TERESA                         ADDRESS ON FILE
TAUALA, MEILO                        ADDRESS ON FILE
TAUALA, TAGIPO                       ADDRESS ON FILE
TAUANUU, MAKAIO                      ADDRESS ON FILE
TAUFAGU, DAVID                       ADDRESS ON FILE
TAUILIILI, TONY                      ADDRESS ON FILE
TAULUNG, ALIK                        ADDRESS ON FILE
TAURIAC, JOHN                        ADDRESS ON FILE
TAURUS TRANSPORTATION GROUP INC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TAUSCHER, JAMES                      ADDRESS ON FILE
TAV ENTERPRISES LLC                  PO BOX 28 DORENA OR 97434-0028



Epiq Corporate Restructuring, LLC                                                               Page 1861 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1870 of 2156

Claim Name                             Address Information
TAVAKE, SIONE                          ADDRESS ON FILE
TAVARES, JEFFREY                       ADDRESS ON FILE
TAVARES, JOHN                          ADDRESS ON FILE
TAVAREZ, TIMOTHY                       ADDRESS ON FILE
TAVCAN TRUCKING LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TAVELLI, CHERYL                        ADDRESS ON FILE
TAVENNER, BRIAN                        ADDRESS ON FILE
TAVERA, BENJAMIN                       ADDRESS ON FILE
TAVERAS TRUCKING LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAVERAS, FERNANDO                      ADDRESS ON FILE
TAVERAS, JOSE                          ADDRESS ON FILE
TAVERNARIS, JAMES                      ADDRESS ON FILE
TAVIE, DANIEL                          ADDRESS ON FILE
TAVINE D LASSWELL                      ADDRESS ON FILE
TAWANE EXPRESS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TAWI USA INC                           380 INTERNATIONAL DR UNIT A BOLINGBROOK IL 60440
TAWYEA, DANIEL                         ADDRESS ON FILE
TAWYEA, MATTHEW                        ADDRESS ON FILE
TAX & LICENSE DIVISION                 747 MARKET ST RM 248 TACOMA WA 98402
TAX ADVISORS GROUP LLC                 12400 COIT RD STE 960 DALLAS TX 75251
TAX ASSESSOR-COLLECTOR                 PO BOX 961018 FORT WORTH TX 76161
TAX COLLECTOR                          231 E FORSYTH ST RM 130 JACKSONVILLE FL 32202
TAX COMMISSIONER OF CHATHAM            PO BOX 9827 SAVANNAH GA 31412
TAXI 45 LLC                            PO BOX 305 GAYLORD MI 49734
TAXI COOP DE L QUEST                   D/B/A: TAXI COOP DE LOUEST 570 MARSHALL DORVAL QC H9P 1C9 CANADA
TAXI COOP DE LOUEST                    570 MARSHALL DORVAL QC H9P 1C9 CANADA
TAXI FREIGHT LLC                       OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
TAXIR LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TAXIR TRANS INC                        OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
TAXIR TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TAXITAB                                455 COVENTRY RD OTTAWA ON K1K 2C5 CANADA
TAY PHAYOUPHONE                        ADDRESS ON FILE
TAYBORN, NATHAN                        ADDRESS ON FILE
TAYDILL TRANSPORT LLC                  17918 SE ROSE ST MILWAUKIE OR 97267
TAYE ADEYERI TRUCKING INC              5776 PECAN GROVE ELLENWOOD GA 30294
TAYESIRE TRANSPORTATION SERVICES LLC   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
TAYLOE, WILLIAM                        ADDRESS ON FILE
TAYLOR & MARTIN ENTERPRISES, INC       PO BOX 349 FREMONT NE 68026
TAYLOR 1 EXPRESS LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TAYLOR AUTO GLASS INC                  PO BOX 18313 GREENSBORO NC 27419
TAYLOR AXLE GEAR                       ADDRESS ON FILE
TAYLOR BROS TRUCKING LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TAYLOR BURGER                          ADDRESS ON FILE
TAYLOR COMMUNICATIONS                  FKA STANDARD REGISTER INC, PO BOX 91047 CHICAGO IL 60693
TAYLOR COMMUNICATIONS                  PO BOX 840655 DALLAS TX 75284
TAYLOR ENTERPRISE                      247 ARNOLD WAY FORTUNA CA 95540
TAYLOR ENTERPRISE LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TAYLOR EXPRESS LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TAYLOR II, TONY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1862 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1871 of 2156

Claim Name                           Address Information
TAYLOR III, JOHN                     ADDRESS ON FILE
TAYLOR POWER SYSTEMS                 ATTN: TYLER COX 947 INDUSTRIAL PARK DR CLINTON MS 39056
TAYLOR QUALITY TRUCKING LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TAYLOR S EICHEL                      ADDRESS ON FILE
TAYLOR SOLUTIONS LOGISTICS LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TAYLOR SUDDEN SERVICE INC            PO BOX 809 LOUISVILLE MS 39339
TAYLOR TRANSPORT HOLDINGS LLC        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAYLOR TRANSPORT, INC.               1708 HWY 113 SW CARTERSVILLE GA 30120
TAYLOR TRANSPORTATION, LLC           3652 RONSTADT RD THOMPSONS STATION TN 37179-5444
TAYLOR TRUCK LINE INC                801 HWY 3 N NORTHFIELD MN 55057
TAYLOR TRUCKING                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAYLOR TRUCKING                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TAYLOR TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TAYLOR V FRAVEL                      ADDRESS ON FILE
TAYLOR WASTE SERVICES, INC.          1477 HWY 188 CAIRO GA 39828
TAYLOR WASTE SERVICES, INC.          P.O. BOX 1074 CAIRO GA 39828
TAYLOR, ADOLPH                       ADDRESS ON FILE
TAYLOR, ALBERT                       ADDRESS ON FILE
TAYLOR, ALEXANDER                    ADDRESS ON FILE
TAYLOR, ALLAN                        ADDRESS ON FILE
TAYLOR, ALLEN                        ADDRESS ON FILE
TAYLOR, ANDRELLA                     ADDRESS ON FILE
TAYLOR, ANDREW                       ADDRESS ON FILE
TAYLOR, ANGIE                        ADDRESS ON FILE
TAYLOR, ANTHONY                      ADDRESS ON FILE
TAYLOR, ANTHONY                      ADDRESS ON FILE
TAYLOR, ANTHONY                      ADDRESS ON FILE
TAYLOR, ANTHONY                      ADDRESS ON FILE
TAYLOR, ANTHONY                      ADDRESS ON FILE
TAYLOR, ANTHONY                      ADDRESS ON FILE
TAYLOR, ANTWON                       ADDRESS ON FILE
TAYLOR, AUSTIN                       ADDRESS ON FILE
TAYLOR, AUTTO                        ADDRESS ON FILE
TAYLOR, BARRY                        ADDRESS ON FILE
TAYLOR, BARRY                        ADDRESS ON FILE
TAYLOR, BRAD                         ADDRESS ON FILE
TAYLOR, BRANDON                      ADDRESS ON FILE
TAYLOR, BRANDON                      ADDRESS ON FILE
TAYLOR, BRENT                        ADDRESS ON FILE
TAYLOR, BRENT                        ADDRESS ON FILE
TAYLOR, BRIA                         ADDRESS ON FILE
TAYLOR, BRUCE                        ADDRESS ON FILE
TAYLOR, BRYAN                        ADDRESS ON FILE
TAYLOR, CAITLYN                      ADDRESS ON FILE
TAYLOR, CARLON                       ADDRESS ON FILE
TAYLOR, CASMERE                      ADDRESS ON FILE
TAYLOR, CEDRIC                       ADDRESS ON FILE
TAYLOR, CHAD                         ADDRESS ON FILE
TAYLOR, CHARLES                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1863 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1872 of 2156

Claim Name                          Address Information
TAYLOR, CHARLES                     ADDRESS ON FILE
TAYLOR, CHARLES                     ADDRESS ON FILE
TAYLOR, CHARLES                     ADDRESS ON FILE
TAYLOR, CHARLES E                   ADDRESS ON FILE
TAYLOR, CHRISTOPHER                 ADDRESS ON FILE
TAYLOR, CINDY                       ADDRESS ON FILE
TAYLOR, CINDY                       ADDRESS ON FILE
TAYLOR, CRYSTAL                     ADDRESS ON FILE
TAYLOR, DAMIAN                      ADDRESS ON FILE
TAYLOR, DAN                         ADDRESS ON FILE
TAYLOR, DANIEL                      ADDRESS ON FILE
TAYLOR, DANIEL                      ADDRESS ON FILE
TAYLOR, DANNY                       ADDRESS ON FILE
TAYLOR, DARRYL S                    ADDRESS ON FILE
TAYLOR, DAVID                       ADDRESS ON FILE
TAYLOR, DENISE                      ADDRESS ON FILE
TAYLOR, DUANE E                     ADDRESS ON FILE
TAYLOR, DWAYNE F                    ADDRESS ON FILE
TAYLOR, DYLAN                       ADDRESS ON FILE
TAYLOR, ELIOTT                      ADDRESS ON FILE
TAYLOR, ERICA                       ADDRESS ON FILE
TAYLOR, FRANK                       ADDRESS ON FILE
TAYLOR, GEORGE                      ADDRESS ON FILE
TAYLOR, GEORGE                      ADDRESS ON FILE
TAYLOR, GERALD                      ADDRESS ON FILE
TAYLOR, GRAMMER                     ADDRESS ON FILE
TAYLOR, GRANT C                     ADDRESS ON FILE
TAYLOR, GREGORY                     ADDRESS ON FILE
TAYLOR, HEZEKIAH                    ADDRESS ON FILE
TAYLOR, IAN                         ADDRESS ON FILE
TAYLOR, IVAN                        ADDRESS ON FILE
TAYLOR, JACOB                       ADDRESS ON FILE
TAYLOR, JAMES                       ADDRESS ON FILE
TAYLOR, JAMES                       ADDRESS ON FILE
TAYLOR, JARELL                      ADDRESS ON FILE
TAYLOR, JASON                       ADDRESS ON FILE
TAYLOR, JEFFERY                     ADDRESS ON FILE
TAYLOR, JERAMINE                    ADDRESS ON FILE
TAYLOR, JOHN                        ADDRESS ON FILE
TAYLOR, JOHN                        ADDRESS ON FILE
TAYLOR, JOHN                        ADDRESS ON FILE
TAYLOR, JOHN                        ADDRESS ON FILE
TAYLOR, JONATHAN                    ADDRESS ON FILE
TAYLOR, JONATHAN                    ADDRESS ON FILE
TAYLOR, JORDAN                      ADDRESS ON FILE
TAYLOR, JOSEPH                      ADDRESS ON FILE
TAYLOR, JOSHLYN                     ADDRESS ON FILE
TAYLOR, JUNE                        ADDRESS ON FILE
TAYLOR, KARL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1864 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1873 of 2156

Claim Name                        Address Information
TAYLOR, KARRIEMA                  ADDRESS ON FILE
TAYLOR, KENDALL                   ADDRESS ON FILE
TAYLOR, KENNETH                   ADDRESS ON FILE
TAYLOR, KENNETH                   ADDRESS ON FILE
TAYLOR, KENNETH                   ADDRESS ON FILE
TAYLOR, KENNETH                   ADDRESS ON FILE
TAYLOR, KENYAN                    ADDRESS ON FILE
TAYLOR, KENYON                    ADDRESS ON FILE
TAYLOR, KERMIT                    ADDRESS ON FILE
TAYLOR, KEVIN                     ADDRESS ON FILE
TAYLOR, KIM                       ADDRESS ON FILE
TAYLOR, KIMBERLY                  ADDRESS ON FILE
TAYLOR, KRIS                      ADDRESS ON FILE
TAYLOR, KSEAN                     ADDRESS ON FILE
TAYLOR, KYLE                      ADDRESS ON FILE
TAYLOR, LADARRIN                  ADDRESS ON FILE
TAYLOR, LAURA                     ADDRESS ON FILE
TAYLOR, LAURI                     ADDRESS ON FILE
TAYLOR, LEONDRAE                  ADDRESS ON FILE
TAYLOR, LESLIE                    ADDRESS ON FILE
TAYLOR, LEWIS                     ADDRESS ON FILE
TAYLOR, LINDA                     ADDRESS ON FILE
TAYLOR, LINDSEY                   ADDRESS ON FILE
TAYLOR, LOGAN                     ADDRESS ON FILE
TAYLOR, MAGGIE                    ADDRESS ON FILE
TAYLOR, MARCUS                    ADDRESS ON FILE
TAYLOR, MARIANNE                  ADDRESS ON FILE
TAYLOR, MARTAVIUS                 ADDRESS ON FILE
TAYLOR, MATTHEW                   ADDRESS ON FILE
TAYLOR, MEAGAN                    ADDRESS ON FILE
TAYLOR, MEKO                      ADDRESS ON FILE
TAYLOR, MICHAEL                   ADDRESS ON FILE
TAYLOR, MICHAEL                   ADDRESS ON FILE
TAYLOR, MICHAEL                   ADDRESS ON FILE
TAYLOR, MICHAEL                   ADDRESS ON FILE
TAYLOR, MICHAEL                   ADDRESS ON FILE
TAYLOR, MICHAEL                   ADDRESS ON FILE
TAYLOR, MICHAEL D                 ADDRESS ON FILE
TAYLOR, MICHAEL R                 ADDRESS ON FILE
TAYLOR, MICHEAL                   ADDRESS ON FILE
TAYLOR, NATHANIEL                 ADDRESS ON FILE
TAYLOR, NICHOLAS                  ADDRESS ON FILE
TAYLOR, NICOLE                    ADDRESS ON FILE
TAYLOR, NICOLE                    ADDRESS ON FILE
TAYLOR, OTIS                      ADDRESS ON FILE
TAYLOR, PATRICIA                  ADDRESS ON FILE
TAYLOR, PATRICK                   ADDRESS ON FILE
TAYLOR, PAUL                      ADDRESS ON FILE
TAYLOR, RALPH                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1865 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1874 of 2156

Claim Name                           Address Information
TAYLOR, RANDOLPH                     ADDRESS ON FILE
TAYLOR, ROBERT                       ADDRESS ON FILE
TAYLOR, ROBERT                       ADDRESS ON FILE
TAYLOR, ROBERT                       ADDRESS ON FILE
TAYLOR, ROBERT                       ADDRESS ON FILE
TAYLOR, ROBERT                       ADDRESS ON FILE
TAYLOR, RODNEY                       ADDRESS ON FILE
TAYLOR, ROGER                        ADDRESS ON FILE
TAYLOR, RONALD                       ADDRESS ON FILE
TAYLOR, RONNIE                       ADDRESS ON FILE
TAYLOR, ROYSTON                      ADDRESS ON FILE
TAYLOR, RUSSELL                      ADDRESS ON FILE
TAYLOR, SAMUEL                       ADDRESS ON FILE
TAYLOR, SEBASTIAN                    ADDRESS ON FILE
TAYLOR, SHAUNNEYCE                   ADDRESS ON FILE
TAYLOR, SHAWN                        ADDRESS ON FILE
TAYLOR, SPENCER                      ADDRESS ON FILE
TAYLOR, STEPHAN                      ADDRESS ON FILE
TAYLOR, STEVEN                       ADDRESS ON FILE
TAYLOR, STEVEN                       ADDRESS ON FILE
TAYLOR, STEVEN E                     ADDRESS ON FILE
TAYLOR, SYLVESTER                    ADDRESS ON FILE
TAYLOR, TENE                         ADDRESS ON FILE
TAYLOR, TERMAINE                     ADDRESS ON FILE
TAYLOR, TERRENCE                     ADDRESS ON FILE
TAYLOR, TERRI                        ADDRESS ON FILE
TAYLOR, TERRYON                      ADDRESS ON FILE
TAYLOR, THERESA                      ADDRESS ON FILE
TAYLOR, THOMAS                       ADDRESS ON FILE
TAYLOR, THOMAS                       ADDRESS ON FILE
TAYLOR, TIFFANY                      ADDRESS ON FILE
TAYLOR, TONY                         ADDRESS ON FILE
TAYLOR, TRAVAUGHN                    ADDRESS ON FILE
TAYLOR, TROYE                        ADDRESS ON FILE
TAYLOR, TWYLA                        ADDRESS ON FILE
TAYLOR, TYRESE                       ADDRESS ON FILE
TAYLOR, VACHEL                       ADDRESS ON FILE
TAYLOR, WENDELL                      ADDRESS ON FILE
TAYLOR, WILLIE                       ADDRESS ON FILE
TAYLOR, WINFRED                      ADDRESS ON FILE
TAYLOR-MONTGOMERY, LLC               350 NEELYTOWN RD MONTGOMERY NY 12549
TAYLOR-POND, CRYSTAL                 ADDRESS ON FILE
TAYLOR-SERVICE, CLARENCE             ADDRESS ON FILE
TAYLOR-STEELE, FAITHA                ADDRESS ON FILE
TAYLOR-STEELE, FAITHA                ADDRESS ON FILE
TAYLORGANG TRUCKING LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TAYLORS EXPRESS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TAYLORS TOWING                       P.O. BOX 2517 FARMINGDALE NJ 07727
TAYLORS TRUCK WASH CO                P O BOX 506 MAGNA UT 84044



Epiq Corporate Restructuring, LLC                                                               Page 1866 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1875 of 2156

Claim Name                           Address Information
TAYLORSVILLE FREIGHT SERVICE LLC     OR TRANSPORT CLEARINGS EAST 9140 ARROWPOINT BLVD SUITE 370 CHARLOTTE NC 28273
TAYO TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TAYO TRUCKING LLC                    OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
TAYS EXPRESS TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TAZ TRANS INC                        OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
TAZ TRUCKING, INC.                   TAZ TRUCKING, INC., 6318 TAZ COURT BOWLING GREEN KY 42104
TAZEWELL COUNTY CLERK                PO BOX 490 PEKIN IL 61555
TAZZ LINES LLC                       OR TRUCKING PARTNERS, LLC, PO BOX 1004 CULLMAN AL 35056
TAZZ LINES LLC                       OR TRU FUNDING, PO BOX 151013 OGDEN UT 84415-1013
TB GLOBAL ASSOCIATION LLC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TB NASH TRUCKING LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TBG CARGO                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
TBI LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TBL LLC                              7900 N MEIXNER RD DEFOREST WI 53532
TBO TRANSPORT LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TBS EXPRESS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TBS EXPRESS LLC                      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
TBS FACTORING SERVICE, LLC           P.O. BOX 248920 OKLAHOMA CITY OK 73124
TBS FACTORING SERVICE, LLC           OR TBS FACTORING 1400 N. STATE HWY 360 1614 MANSFIELD TX 76063
TC CIS ASSOCIATES, LLC               433 E. LAS COLINAS BLVD SUITE 165 IRVING TX 75039
TC GENERAL MAINTENANCE               6137 TREE FOX PLACE INDIANAPOLIS IN 46237
TC LOGISTICS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TC MOVING LOGISTICS LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TC TRANSPORT & LOGISTICS LLC         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TC TRANSPORTATION LLC                OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
TC TRUCKING                          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TCA LOGISTICS INC                    5062 LANKERSHIM BLVD STE 2031 NORTH HOLLYWOOD CA 91601
TCA TRANSPORT INC                    632 LAREDO DR MURPHY TX 75094
TCC TRUCKING & LOGISTICS LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TCCK TRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TCD TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TCF LOGISTIC LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TCH SERVICES                         3951 RUE DU VICOMTE LAVAL QC H7E 5J2 CANADA
TCH TRUCKING LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TCHADJOBO, BILALI                    ADDRESS ON FILE
TCHEM INC                            PO BOX 2120 KERNERSVILLE NC 27285
TCI LEASING RENTALS                  4950 TRIGGS STREET COMMERCE CA 90022
TCI LEASING RENTALS                  TRANSPORTATION COMMODITIES INC-OTTAWA DEPT LA 25094 PASADENA CA 91185
TCM LOGISTICS LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TCM TRANSPORT LLC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
TCO TRANSPORT LLC                    OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
TCP GLOBAL CORP                      ATTN: RILEY S 6251 HOWDY WELLS AVE LAS VEGAS NV 89115
TCR TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TCT TRUCK AND TRAILER REPAIR         216 EAST LOOP 340 GHOLSON TX 76705
TCU PENSION FUND                     53 W SEEGERS RD ARLINGTON HEIGHTS IL 60005
TD AMERITRADE CLEARING (0188)        ATT MANDI FOSTER OR PROXY MGR 200 S. 108TH AVE OMAHA NE 68154
TD BANK                              1701 ROUTE 70 EAST CHERRY HILL NJ 08034
TD DIESEL AND PARTS LLC              4290 HOLLY SPRINGS ROAD GILLSVILLE GA 30543



Epiq Corporate Restructuring, LLC                                                               Page 1867 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1876 of 2156

Claim Name                           Address Information
TD FREIGHT HAULERS LLC               OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
TD INDUSTRIAL COVERINGS INC          6220 18 1/2 MILE RD STERLING HEIGHTS MI 48314
TD INDUSTRIES                        P.O. BOX 300008 DALLAS TX 75303
TD TRANZ LLC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TD XPRESS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TDC TRANSPORT                        2185 E REMUS RD MT PLEASANT MI 48858
TDF FURNITURE                        1639 COLLEGE AVE. SPINDALE NC 28160
TDI LLC                              DBA MSP DESIGN GROUP, 641 PHOENIX DRIVE VIRGINIA BEACH VA 23452
TDI REPAIR FACILITY LLC              50 BABBIE BLVD. SAINT ALBANS TOWN VT 05488
TDN LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TDS                                  525 JUNCTION RD MADISON 53717
TDS                                  550 VILLAGE CENTER DR 100 SAINT PAUL MN 55127
TDS FINANCIAL SERVICES               1487 N. SANTA CLARA VIEW DR. SANTA CLARA UT 84765
TDS INC                              550 VILLAGE CENTER, DRIVE SUITE 100 ST PAUL MN 55127
TDS TELECOM                          525 JUNCTION RD MADISON WI 53717
TDS TELECOM                          PO BOX 94510 PALATINE IL 60094
TDS TRANSPORTATION INC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TDS-TRANSPORTATION DIST SVCS         550 VILLAGE CENTER DR STE 100 SAINT PAUL MN 55127
TDT TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TDWATERHOUSE CANADA/CDS (5036)       ATT YOUSUF AHMED OR PROXY MGR 77 BLOOR ST WEST 3RD FL TORONTO ON M4Y 2T1
                                     CANADA
TE TRUCKING INC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TEACA, GABRIEL                       ADDRESS ON FILE
TEACHERS CREDIT UNION                110 S MAIN ST SOUTH BEND IN 46601
TEACHEY, KOLTON                      ADDRESS ON FILE
TEACHEY, MICHAEL                     ADDRESS ON FILE
TEACHING AND LEARNING STUFF          6830 N. 35TH AVE. PHOENIX AZ 85017
TEAGUE, BRAYDAN                      ADDRESS ON FILE
TEAGUE, DYLAN                        ADDRESS ON FILE
TEAGUE, MCKAYLA                      ADDRESS ON FILE
TEAGUE, TONY                         ADDRESS ON FILE
TEAKELL, CHARLES                     ADDRESS ON FILE
TEAL, JOSHUA                         ADDRESS ON FILE
TEAM A1 TRUCKING CORP                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TEAM ALLEN TRUCKING                  OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222-3766
TEAM BROTHER INC                     OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TEAM COVINGTON TRANSPORTATION LLC    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TEAM CRUZ 74 LLC                     OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
TEAM EL TRUCKING LLC                 OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
TEAM ELECTRIC SUPPLY LLC             949 N THOMPSON LN MURFREESBORO TN 37129
TEAM GAC CORP                        OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TEAM HOSEY EXPRESS LLC               OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
TEAM HUNLEY PEREZ LOGISTICS LLC      OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
TEAM HYUNDAI OF BEND                 2250 NE HIGHWAY 20 BEND OR 97701
TEAM JOHNSON INC                     OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
TEAM LINE LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TEAM LLANOS INC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
TEAM LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TEAM LOGISTICS, INC.                 10540 MARTY OVERLAND PARK KS 66212



Epiq Corporate Restructuring, LLC                                                               Page 1868 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1877 of 2156

Claim Name                               Address Information
TEAM MARVIN TRUCKING LLC                 OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
TEAM MIAMI ENTERPRISE LLC                OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
TEAM ONE TRANSPORT                       OR IPS INVOICE PAYMENT SYSTEM PO BOX 77226 MISSISSAUGA ON L5T 2P4 CANADA
TEAM PEOPLES TRUCKING INC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TEAM RAC LOGISTICS LLC                   601 PAR THREE LN HAMPTON GA 30228
TEAM STARR TRANSPORTATION LLC            OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
TEAM SUBJECT MATTER LLC                  1201 NEW YORK AVE NW STE 900 WASHINGTON DC 20005
TEAM TORQUE INC                          1231 PARK AVE BISMARCK ND 58504
TEAM TRUCKER LLC                         527 STUYVESANT AVE LYNDHURST NJ 07071-2627
TEAM USA TRANSPORT LLC                   OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
TEAM WOLFPACK INC                        12040 AERO DR PLAINFIELD IL 60585
TEAM-ANDY INC                            9038 TYSOR ROAD STOKESDALE NC 27357
TEAMEX TRANSPORT LLC                     OR YANKTON FACTORING INC, PO BOX 217 YANKTON SD 57078
TEAMONE LOGISTICS LLC                    PO BOX 53966 LAFAYETTE LA 70505
TEAMSTER LOCAL 773                       3614 LEHIGH STREET, SUITE A WHITEHALL PA 18052
TEAMSTER LOCAL 839                       1103 W SYLVESTER AVE PASCO WA 99301
TEAMSTER LOCAL UNION NO 170              330 SOUTHWEST CUTOFF SUITE 201 WORCESTER MA 01604
TEAMSTER LOCAL UNION NO 174              14675 INTERURBAN AVE S 307 TUKWILA WA 98168
TEAMSTER LOCAL UNION NO 670              PO BOX 3048 SALEM OR 97302
TEAMSTERS & MTIRB OF ONTARIO PENSION     PO BOX 3071 STATION A MISSISSAUGA ON L5A 3A4 CANADA
PLN
TEAMSTERS 261 & EMPLOYERS WELFARE FUND   351 NORTHGATE CIR STE B NEW CASTLE PA 16105
TEAMSTERS 261 & EMPLOYERS WELFARE FUND   351 NORTHGATE CIRCLE SUITE B NEW CARLISLE PA 16105
TEAMSTERS 261 & EMPLOYERS WELFARE FUND   WELFARE FUND 351 NORTHGATE CIRCLE SUITE B NEW CASTLE PA 16105
TEAMSTERS 401(K) JO/MILWAUKEE            1171 COMMERCE DRIVE UNIT 1 WEST CHICAGO IL 60185-2680
TEAMSTERS 401(K) JOLIETE                 1000 NE FRONTAGE ROAD JOLIET IL 60431
TEAMSTERS BENEFIT TRUST                  ID TBT HOUR BANK, PO BOX 15546 SACRAMENTO CA 95852
TEAMSTERS BENEFIT TRUST (LOCALS 85,      39420 LIBERTY STREET 260 FREMONT CA 94538
287)
TEAMSTERS CANADIAN PENSION PLN LOCAL     LES SERVICES DADMINISTRATION DE TEAMSTERS QUEBEC 9393 EDISON SUITE 200 ANJOU
106                                      QC H1J 1T4 CANADA
TEAMSTERS GENERAL                        LOCAL UNION 200, 6200 W. BLUEMOUND RD MILWAUKEE WI 53213
TEAMSTERS H & W FUND OF                  330 SW CUTOFF STE 202 WORCESTER MA 01604
TEAMSTERS HEALTH &                       WELFARE FUND OF PA AND VICINITY 2500 MCCLELLAN AVENUE SUITE 140 PENNSAUKEN NJ
                                         08109
TEAMSTERS HEALTH &                       WELFARE FUND LOCAL 705, IBT 1645 WEST JACKSON BLVD. SUITE 700 CHICAGO IL 60612
TEAMSTERS HEALTH & WELFARE               2500 MCCLELLAN AVENUE SUITE 140 PENNSAUKEN NJ 08109
TEAMSTERS HEALTH & WELFARE FUND          2500 MCCLELLAN AVE STE 140 PENNSAUKEN NJ 08109
TEAMSTERS HEALTH SERVICES                1201 ELMWOOD AVE PROVIDENCE RI 02907
TEAMSTERS HEALTH SERVICES &              INSURANCE PLAN OF LOCAL UNION 404 115 PROGRESS AVENUE SPRINGFIELD MA 01104
TEAMSTERS HLTH & WELFARE TRUST FUND      560 N NIMITZ HIGHWAY STE 209 HONOLULU HI 96817
TEAMSTERS JOINT COUNCIL 83               8814 FARGO RD RICHMOND VA 23229
TEAMSTERS JOINT COUNCIL NO 83 OF         VIRGINIA HEALTH & WELFARE FUND 8814 FARGO ROAD, SUITE 200 RICHMOND VA 23229
TEAMSTERS JOINT COUNCIL NO. 83 OF        VIRGINIA PENSION FUND 8814 FARGO ROAD, SUITE 200 RICHMOND VA 23229
TEAMSTERS LOCAL                          UNION NO 135, 1233 SHELBY STREET INDIANAPOLIS IN 46203
TEAMSTERS LOCAL 107                      12275 TOWNSEND RD PHILADELPHIA PA 19154
TEAMSTERS LOCAL 137                      ATTN: GENERAL COUNSEL 3540 S. MARKET ST. REDDING CA 96001
TEAMSTERS LOCAL 162                      1850 NE 162ND AVE PORTLAND OR 97230
TEAMSTERS LOCAL 170 HEALTH &             WELFARE PLAN 330 SOUTHWEST CUTOFF SUITE 202 WORCESTER MA 01604
TEAMSTERS LOCAL 191 HEALTH &             1139 FAIRFIELD AVE STE 1 BRIDGEPORT CT 06605


Epiq Corporate Restructuring, LLC                                                                   Page 1869 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1878 of 2156

Claim Name                              Address Information
TEAMSTERS LOCAL 24                      2380 ROMIG RD AKRON OH 44320
TEAMSTERS LOCAL 245 POLITICAL           1850 E DIVISION SPRINGFIELD MO 65803
TEAMSTERS LOCAL 25 H & W PLAN           16 SEVER ST SULLIVAN SQUARE CHARLESTOWN MA 02129
TEAMSTERS LOCAL 251 HEALTH SERVICES &   INSURANCE PLAN 1201 ELMWOOD AVENUE PROVIDENCE RI 02907
TEAMSTERS LOCAL 251 HEALTH SERVICES &   INSURANCE PLAN ATTN: GENERAL COUNSEL 1201 ELMWOOD AVE PROVIDENCE RI 02907
TEAMSTERS LOCAL 251 HEALTH SVCS AND INS PLAN C/O GURSKYWIENS ATTYS AT LAW LTD ATTN: MARC GURSK 1130 TEN ROD ROAD,
                                        SUITE C-207 NORTH KINGSTOWN RI 02852
TEAMSTERS LOCAL 2785                    1440 SOUTHGATE AVE SUITE 1 DALY CITY CA 94015
TEAMSTERS LOCAL 287                     1452 N 4TH ST STE FRNT SAN JOSE CA 95112
TEAMSTERS LOCAL 324                     2686 PORTLAND RD NE SALEM OR 97301
TEAMSTERS LOCAL 355                     1030 S DUKELAND ST BALTIMORE MD 21223
TEAMSTERS LOCAL 402                     2208 E 2ND STREET MUSCLE SHOALS AL 35661
TEAMSTERS LOCAL 443                     200 WALLACE ST NEW HAVEN CT 06511
TEAMSTERS LOCAL 449                     ATTN: GENERAL COUNSEL 2175 WILLIAM STREET BUFFALO NY 14206
TEAMSTERS LOCAL 449                     2175 WILLIAM STREET BUFFALO NY 14206-2418
TEAMSTERS LOCAL 453                     200 S LEE ST CUMBERLAND MD 21502
TEAMSTERS LOCAL 492                     4269 BALLOON PARK ROAD NE ALBUQUERQUE NM 87109
TEAMSTERS LOCAL 617                     PENSION FUND, 587 BERGEN BLVD RIDGEFIELD NJ 07657
TEAMSTERS LOCAL 617 PENSION PLAN        587 BERGEN BOULEVARD RIDGEFIELD NJ 07657
TEAMSTERS LOCAL 639 EMPLOYERS HEALTH TR 3100 AMES PLACE, NE WASHINGTON DC 20018
TEAMSTERS LOCAL 639 EMPLOYERS HEALTH    2187 NORTHLAKE PKWY, BLDG 9, STE 106 TUCKER GA 30084
TST
TEAMSTERS LOCAL 639 EMPLOYERS PENS. TST 2187 NORTHLAKE PKWY, BLDG 9, STE 106 TUCKER GA 30084
TEAMSTERS LOCAL 639 EMPLOYERS PENSION   3100 AMES PLACE NE WASHINGTON DC 20018
TR
TEAMSTERS LOCAL 641                     WELFARE FUND, 714 RAHWAY AVE 2ND FLOOR UNION NJ 07083
TEAMSTERS LOCAL 641 H/W FUND            714 RAHWAY AVE STE 1 UNION NJ 07083
TEAMSTERS LOCAL 641 PENSION FUND        714 RAHWAY AVE 2ND FLOOR UNION NJ 07083
TEAMSTERS LOCAL 641 PENSION PLAN        714 RAHWAY AVENUE 2ND FLOOR UNION NJ 07083
TEAMSTERS LOCAL 653 WELFARE FUND        4 B HAMPDEN DRIVE SOUTH EASTON MA 02375
TEAMSTERS LOCAL 667                     ATTN: GENERAL COUNSEL 796 E BROOKS RD MEMPHIS TN 38116
TEAMSTERS LOCAL 671 HEALTH SERVICES &   INSURANCE PLAN 18 BRITTON DRIVE BLOOMFIELD CT 06002
TEAMSTERS LOCAL 677 HEALTH              1871 BALDWIN ST WATERBURY CT 06706
TEAMSTERS LOCAL 728                     ATTN: GENERAL COUNSEL 2540 LAKEWOOD AVE SW ATLANTA GA 30315
TEAMSTERS LOCAL 745                     ATTN: TIMOTHY L. WATSON, REGIONAL DIR NLRB, REGION 16 819 TAYLOR ST., ROOM
                                        8A24 FORT WORTH TX 76102-6107
TEAMSTERS LOCAL 776                     C/O: JASON M. WEINSTOCK, ESQ. 800 N. SECOND ST. HARRISBURG PA 17102
TEAMSTERS LOCAL 776                     ATTN: GENERAL COUNSEL 2552 JEFFERSON STREET HARRISBURG PA 17110
TEAMSTERS LOCAL 823                     1601 MAIDEN LANE, PO BOX 1299 JOPLIN MO 64802-1299
TEAMSTERS LOCAL 87                      2531 G ST BAKERSFIELD CA 93301
TEAMSTERS LOCAL 91                      1300 AGES DR OTTAWA ON K1G 5T4 CANADA
TEAMSTERS LOCAL 916                     3361 TEAMSTER WAY SPRINGFIELD IL 62707
TEAMSTERS LOCAL 962                     4480 ROGUE VALLEY HIGHWAY 10 CENTRAL POINT OR 97502
TEAMSTERS LOCAL NO 848                  3888 CHERRY AVE LONG BEACH CA 90807
TEAMSTERS LOCAL NO. 600                 ATTN: GENERAL COUNSEL 161 WELDON PARKWAY MARYLAND HEIGHTS MO 63043
TEAMSTERS LOCAL NO. 63                  ATTN: GENERAL COUNSEL 955 BLOOMINGTON AVE BLOOMINGTON CA 92316
TEAMSTERS LOCAL UNION 106               12100 RUE URGEI CHARBONNEAU MONTREAL QC H1B 5X1 CANADA
TEAMSTERS LOCAL UNION 106               12100 URGEL CHARBONNEAU MONTREAL QC H1B 5X1 CANADA
TEAMSTERS LOCAL UNION 186               1534 EASTMAN AVE STE B VENTURA CA 93003
TEAMSTERS LOCAL UNION 190               PO BOX 50969 BILLINGS MT 59105


Epiq Corporate Restructuring, LLC                                                                Page 1870 OF 2145
                                              Yellow Corporation
                    Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1879 of 2156

Claim Name                             Address Information
TEAMSTERS LOCAL UNION 229              1260 ONEILL HWY DUNMORE PA 18512
TEAMSTERS LOCAL UNION 238              5000 J STREET S.W. CEDAR RAPIDS IA 52404
TEAMSTERS LOCAL UNION 249              4701 BUTLER ST PITTSBURGH PA 15201
TEAMSTERS LOCAL UNION 249              PO BOX 40128 PITTSBURGH PA 15201
TEAMSTERS LOCAL UNION 29               12 CEDAR PARK LANE STE 207 VERONA VA 24482
TEAMSTERS LOCAL UNION 317              PO BOX 11037 SYRACUSE NY 13218
TEAMSTERS LOCAL UNION 391              PO BOX 35405 GREENSBORO NC 27425
TEAMSTERS LOCAL UNION 404              115 PROGRESS AVE SPRINGFIELD MA 01104
TEAMSTERS LOCAL UNION 71               2529 BELTWAY BLVD CHARLOTTE NC 28214
TEAMSTERS LOCAL UNION 856 HEALTH AND   WELFARE FUND 2323 EASTLAKE AVENUE E SEATTLE WA 98102
TEAMSTERS LOCAL UNION 879              201-944 S SERVICE RD STONEY CREEK ON L8E 6A2 CANADA
TEAMSTERS LOCAL UNION 938              275 MATHESON BLVD E MISSISSAUGA ON L4Z 1X8 CANADA
TEAMSTERS LOCAL UNION 938              BENEFIT PLAN TRUST FUND 318-5770 HURONTARIO STREET MISSISSAUGA ON L5R 3G5
                                       CANADA
TEAMSTERS LOCAL UNION 979              B1-1680 DUBLIN AVENUE WINNIPEG MB R3H 1A8 CANADA
TEAMSTERS LOCAL UNION 988              4303 N SAM HOUSTON PKWY E HOUSTON TX 77032
TEAMSTERS LOCAL UNION NO 100           2100 OAK RD CINCINNATI OH 45241
TEAMSTERS LOCAL UNION NO 104           1450 S 27TH AVE PHOENIX AZ 85009
TEAMSTERS LOCAL UNION NO 110           PO BOX 180 EBENSBURG PA 15931
TEAMSTERS LOCAL UNION NO 118           130 METRO PARK ROCHESTER NY 14623
TEAMSTERS LOCAL UNION NO 120           9422 ULYSSES ST NE BLAINE MN 55434
TEAMSTERS LOCAL UNION NO 135           849 S MERIDIAN STREET INDIANAPOLIS IN 46225
TEAMSTERS LOCAL UNION NO 137           3540 S MARKET ST REDDING CA 96001
TEAMSTERS LOCAL UNION NO 150           7120 E PARKWAY SACRAMENTO CA 95823
TEAMSTERS LOCAL UNION NO 17            7010 BROADWAY STE 200 DENVER CO 80221
TEAMSTERS LOCAL UNION NO 171           2550 W MAIN ST SALEM VA 24153
TEAMSTERS LOCAL UNION NO 175           267 STAUNTON AVE SW SOUTH CHARLESTON WV 25303
TEAMSTERS LOCAL UNION NO 175           267 STAUNTON AVE SO.CHARLESTOWN WV 25303
TEAMSTERS LOCAL UNION NO 179           1000 NE FRONTAGE RD JOLIET IL 60431
TEAMSTERS LOCAL UNION NO 20            435 S HAWLEY ST TOLEDO OH 43609
TEAMSTERS LOCAL UNION NO 200           6200 W BLUEMOUND RD MILWAUKEE WI 53213
TEAMSTERS LOCAL UNION NO 206           711 SHELLEY ST SPRINGFIELD OR 97477
TEAMSTERS LOCAL UNION NO 215           825 WALNUT ST EVANSVILLE IN 47713
TEAMSTERS LOCAL UNION NO 222           2641 S 3270 W SALT LAKE CITY UT 84119
TEAMSTERS LOCAL UNION NO 236           PO BOX 7454 PADUCAH KY 42002
TEAMSTERS LOCAL UNION NO 245           1850 E DIVISION SPRINGFIELD MO 65803
TEAMSTERS LOCAL UNION NO 245           ATTN: POLITICAL ACTION FUND 1850 E DIVISION SPRINGFIELD MO 65803
TEAMSTERS LOCAL UNION NO 25            544 MAIN ST CHARLESTOWN MA 02109
TEAMSTERS LOCAL UNION NO 25            544 MAIN ST BOSTON MA 02129
TEAMSTERS LOCAL UNION NO 251           121 BRIGHTRIDGE AVE EAST PROVIDENCE RI 02914
TEAMSTERS LOCAL UNION NO 26            407 E. LAFAYETTE ST BLOOMINGTON IL 61701
TEAMSTERS LOCAL UNION NO 270           PO BOX 3398 NEW ORLEANS LA 70177
TEAMSTERS LOCAL UNION NO 294           890 3RD ST ALBANY NY 12206
TEAMSTERS LOCAL UNION NO 299           2741 TRUMBULL AVE DETROIT MI 48216
TEAMSTERS LOCAL UNION NO 313           220 S 27TH ST TACOMA WA 98402
TEAMSTERS LOCAL UNION NO 325           5533 11TH ST ROCKFORD IL 61109
TEAMSTERS LOCAL UNION NO 326           451 E NEW CHURCHMENS RD NEW CASTLE DE 19720
TEAMSTERS LOCAL UNION NO 340           27 MAIN ST SOUTH PORTLAND ME 04106
TEAMSTERS LOCAL UNION NO 346           PO BOX 16208 DULUTH MN 55816



Epiq Corporate Restructuring, LLC                                                              Page 1871 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                          Page 1880 of 2156

Claim Name                        Address Information
TEAMSTERS LOCAL UNION NO 362      1200 58TH AVE SE CALGARY AB T2H2C9 CANADA
TEAMSTERS LOCAL UNION NO 364      2405 E EDISON RD SOUTH BEND IN 46615
TEAMSTERS LOCAL UNION NO 371      7909 42ND ST W ROCK ISLAND IL 61201
TEAMSTERS LOCAL UNION NO 384      2910 HANNAH AVE NORRISTOWN PA 19401
TEAMSTERS LOCAL UNION NO 385      126 N KIRKMAN RD ORLANDO FL 32811
TEAMSTERS LOCAL UNION NO 397      1344 E 11TH ST ERIE PA 16503
TEAMSTERS LOCAL UNION NO 401      260 S WASHINGTON ST WILKES BARRE PA 18701
TEAMSTERS LOCAL UNION NO 402      2208 E SECOND ST MUSCLE SHOALS AL 35661
TEAMSTERS LOCAL UNION NO 406      3315 EASTERN AVE SE GRAND RAPIDS MI 49508
TEAMSTERS LOCAL UNION NO 41       4501 EMANUEL CLEAVER II BLVD KANSAS CITY MO 64130
TEAMSTERS LOCAL UNION NO 413      555 E RICH ST COLUMBUS OH 43215
TEAMSTERS LOCAL UNION NO 414      2644 CASS ST FORT WAYNE IN 46808
TEAMSTERS LOCAL UNION NO 429      1055 SPRING STREET WYOMISSING PA 19610
TEAMSTERS LOCAL UNION NO 439      1531 E FREMONT ST STOCKTON CA 95205
TEAMSTERS LOCAL UNION NO 449      2175 WILLIAM ST BUFFALO NY 14206
TEAMSTERS LOCAL UNION NO 455      10 LAKESIDE LANE STE 3A DENVER CO 80212
TEAMSTERS LOCAL UNION NO 480      PO BOX 100230 NASHVILLE TN 37224
TEAMSTERS LOCAL UNION NO 483      225 N 16TH ST STE 112 BOISE ID 83702
TEAMSTERS LOCAL UNION NO 492      4269 BALLON PARK RD NE ALBUQUERQUE NM 87109
TEAMSTERS LOCAL UNION NO 5        1772 DALLAS DR BATON ROUGE LA 70806
TEAMSTERS LOCAL UNION NO 509      2604 FISH HATCHERY RD WEST COLUMBIA SC 29172
TEAMSTERS LOCAL UNION NO 512      1210 LANE AVE N JACKSONVILLE FL 32254
TEAMSTERS LOCAL UNION NO 519      2306 MONTCLAIR AVE KNOXVILLE TN 37917
TEAMSTERS LOCAL UNION NO 528      407 ARROWHEAD BLVD JONESBORO GA 30236
TEAMSTERS LOCAL UNION NO 528      TEAMSTERS, LOCAL 528 JONESBORO GA 30236
TEAMSTERS LOCAL UNION NO 533      1190 SELMI DRIVE 100 RENO NV 89512
TEAMSTERS LOCAL UNION NO 542      4666 MISSION GORGE PL SAN DIEGO CA 92120
TEAMSTERS LOCAL UNION NO 554      4349 S 90TH ST OMAHA NE 68127
TEAMSTERS LOCAL UNION NO 560      707 SUMMIT AVE UNION CITY NJ 07087
TEAMSTERS LOCAL UNION NO 568      PO BOX 7805 SHREVEPORT LA 71107
TEAMSTERS LOCAL UNION NO 577      PO BOX 1609 AMARILLO TX 79105
TEAMSTERS LOCAL UNION NO 592      3705 CAROLINA AVE RICHMOND VA 23222
TEAMSTERS LOCAL UNION NO 597      PO BOX 277 SOUTH BARRE VT 05670
TEAMSTERS LOCAL UNION NO 600      161 WELDON PARKWAY MARYLAND HEIGHTS MO 63043
TEAMSTERS LOCAL UNION NO 600      161 WELDON PKWY STE 201 MARYLAND HEIGHTS MO 63043
TEAMSTERS LOCAL UNION NO 612      PO BOX 190008 BIRMINGHAM AL 35219
TEAMSTERS LOCAL UNION NO 612      TEAMSTERS, LOCAL UNION 612 BIRMINGHAM AL 35219
TEAMSTERS LOCAL UNION NO 614      250 N PERRY PONTIAC MI 48342
TEAMSTERS LOCAL UNION NO 618      9040 LACKLAND RD SAINT LOUIS MO 63114
TEAMSTERS LOCAL UNION NO 627      7101 N ALLEN RD PEORIA IL 61614
TEAMSTERS LOCAL UNION NO 63       379 W VALLEY BLVD RIALTO CA 92376
TEAMSTERS LOCAL UNION NO 631      700 N LAMB BLVD LAS VEGAS NV 89110
TEAMSTERS LOCAL UNION NO 633      PO BOX 870 MANCHESTER NH 03105
TEAMSTERS LOCAL UNION NO 638      1100 BASIN AVE BISMARCK ND 58504
TEAMSTERS LOCAL UNION NO 639      3100 AMES PL NE WASHINGTON DC 20018
TEAMSTERS LOCAL UNION NO 651      100 BLUE SKY PARKWAY LEXINGTON KY 40511
TEAMSTERS LOCAL UNION NO 657      8214 ROUGHRIDER DR SAN ANTONIO TX 78239
TEAMSTERS LOCAL UNION NO 662      850 STATE HIGHWAY 153 D MOSINEE WI 54455
TEAMSTERS LOCAL UNION NO 665      1371 NEOTOMAS AVE SANTA ROSA CA 95405



Epiq Corporate Restructuring, LLC                                                        Page 1872 OF 2145
                                              Yellow Corporation
                    Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1881 of 2156

Claim Name                             Address Information
TEAMSTERS LOCAL UNION NO 667           796 E BROOKS RD MEMPHIS TN 38116
TEAMSTERS LOCAL UNION NO 676           101 W CRESCENT BLVD COLLINGSWOOD NJ 08108
TEAMSTERS LOCAL UNION NO 688           4349 WOODSON RD STE 200 SAINT LOUIS MO 63134
TEAMSTERS LOCAL UNION NO 695           1314 N STOUGHTON RD MADISON WI 53714
TEAMSTERS LOCAL UNION NO 695           1314 N STOUGHTON MADISON WI 53714
TEAMSTERS LOCAL UNION NO 696           3600 NE SARDOU AVE BLDG 2 TOPEKA KS 66616
TEAMSTERS LOCAL UNION NO 70            400 ROLAND WAY OAKLAND CA 94621
TEAMSTERS LOCAL UNION NO 701           2003 ROUTE 130 SUITE B NORTH BRUNSWICK NJ 08902
TEAMSTERS LOCAL UNION NO 705           1645 W JACKSON BLVD STE 7 CHICAGO IL 60612
TEAMSTERS LOCAL UNION NO 707           14 FRONT ST HEMPSTEAD NY 11550
TEAMSTERS LOCAL UNION NO 710           9000 W 187TH ST MOKENA IL 60448
TEAMSTERS LOCAL UNION NO 728           2540 LAKEWOOD AVE SW ATLANTA GA 30315
TEAMSTERS LOCAL UNION NO 728           2540 LAKEWOOD AVENUE ATLANTA GA 30315
TEAMSTERS LOCAL UNION NO 745           1007 JONELLE ST DALLAS TX 75217
TEAMSTERS LOCAL UNION NO 763           14675 INTERURBAN AVE S STE 305 TUKWILA WA 98168
TEAMSTERS LOCAL UNION NO 764           450 BEAVER ST MILTON PA 17847
TEAMSTERS LOCAL UNION NO 769           12365 W DIXIE HWY NORTH MIAMI FL 33161
TEAMSTERS LOCAL UNION NO 773           3614 LEHIGH STREET SUITE A WHITEHALL PA 18052
TEAMSTERS LOCAL UNION NO 773           1345 HAMILTON ST ALLENTOWN PA 18102
TEAMSTERS LOCAL UNION NO 776           2552 JEFFERSON ST HARRISBURG PA 17110
TEAMSTERS LOCAL UNION NO 777           12365 ST CHARLES ROCK RD BRIDGETON MO 63044
TEAMSTERS LOCAL UNION NO 778           9404 GRANDVIEW RD KANSAS CITY MO 64132
TEAMSTERS LOCAL UNION NO 79            5818 E MARTIN LUTHER KING JR TAMPA FL 33619
TEAMSTERS LOCAL UNION NO 81            1866 NE 162ND AVE PORTLAND OR 97230
TEAMSTERS LOCAL UNION NO 822           PO BOX 12673 NORFOLK VA 23502
TEAMSTERS LOCAL UNION NO 823           PO BOX 1299 JOPLIN MO 64801
TEAMSTERS LOCAL UNION NO 833           3628 WEST TRUMAN BLVD SUITE B JEFFERSON CITY MO 65109
TEAMSTERS LOCAL UNION NO 853           7750 PARDEE LANE OAKLAND CA 94601
TEAMSTERS LOCAL UNION NO 878           PO BOX 190070 LITTLE ROCK AR 72219
TEAMSTERS LOCAL UNION NO 886           3528 W RENO AVE OKLAHOMA CITY OK 73107
TEAMSTERS LOCAL UNION NO 89            3813 TAYLOR BLVD LOUISVILLE KY 40215
TEAMSTERS LOCAL UNION NO 890           207 N SANBORN RD SALINAS CA 93905
TEAMSTERS LOCAL UNION NO 891           2560 VALLEY ST JACKSON MS 39204
TEAMSTERS LOCAL UNION NO 908           800 ST JOHNS AVE, PO BOX 1806 LIMA OH 45804
TEAMSTERS LOCAL UNION NO 926           4240 STEUBENVILLE PIKE PITTSBURGH PA 15205
TEAMSTERS LOCAL UNION NO 952           140 S MARKS WAY ORANGE CA 92868
TEAMSTERS LOCAL UNION NO 957           P.O. BOX 13357 DAYTON OH 45413
TEAMSTERS LOCAL UNION NO 964           6051 CAREY DR VALLEY VIEW OH 44125
TEAMSTERS LOCAL UNION NO 983           456 N ARTHUR POCATELLO ID 83204
TEAMSTERS LOCAL UNION NO 986           1430 E HOLT AVE COVINA CA 91724
TEAMSTERS LOCAL UNION NO 986           115 W BUNNY ST SANTA MARIA CA 93454
TEAMSTERS LOCAL UNION NO 991           112 S BROAD ST MOBILE AL 36602
TEAMSTERS LOCAL UNION NO 992           10312 REMINGTON DR HAGERSTOWN MD 21740
TEAMSTERS LOCAL UNION NO 996           1817 HART ST HONOLULU HI 96819
TEAMSTERS LOCAL UNION NO. 856          453 SAN MATEO AVE SAN BRUNO CA 94066
TEAMSTERS NATIONAL 401K SAVINGS PLAN   C/O GEM GROUP, ACTING MASS MUTUAL, 1295 STATE ST SPRINGFIELD MA 01111
TEAMSTERS NATIONAL 401K SAVINGS PLAN   C/O GEM GROUP, ACTING PRUDENTIAL 1295 STATE ST SPRINGFIELD MA 01111
TEAMSTERS NATIONAL 401K SAVINGS PLAN   SEAN OBRIEN, GENERAL PRESIDENT C/O INTL BROTHERHOOD OF TEAMSTERS 25 LOUISIANA
                                       AVE, N.W. WASHINGTON DC 20001



Epiq Corporate Restructuring, LLC                                                              Page 1873 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1882 of 2156

Claim Name                               Address Information
TEAMSTERS NATIONAL 401K SAVINGS PLAN     C/O GEM GROUP, 1200 THREE GATEWAY CENTER PITTSBURGH PA 15222
TEAMSTERS NATIONAL 401K SAVINGS PLAN     C/O ZENITH AMERICAN SOLUTIONS 3 GATEWAY CENTER PITTSBURGH PA 15222
TEAMSTERS NATIONAL 401K SAVINGS PLAN     GEMGROUP ADMINISTRATOR 1200 THREE GATEWAY CENTER PITTSBURGH PA 15222
TEAMSTERS NATIONAL BENEFIT PLAN          1610 KEBET WAY PORT COQUITLAM BC V3C 5W9 CANADA
TEAMSTERS NATIONAL PENSION PLAN          1610 KEBET WAY PORT COQUITLAM BC V3C 5W9 CANADA
TEAMSTERS PENSION FUND                   2500 MCCLELLAN AVENUE SUITE 140 PENNSAUKEN NJ 08109
TEAMSTERS PENSION PLAN OF PA & VICINITY 2500 MCCLELLAN AVENUE SUITE 140 PENNSAUKEN NJ 08109
TEAMSTERS QUEBEC LOCAL UNION 1999        9393 RUE EDISON BUREAU 100 ANJOU QC H1J 1T4 CANADA
TEAMSTERS QUEBEC-LOCAL 106               12100 RUE URGEL-CHARBONNEAU BUREAU 200 MONTREAL QC H1B 5X1 CANADA
TEAMSTERS QUEBEC-LOCAL 106               12100 URGEL CHARBONNEAU MONTREAL QC H1B 5X1 CANADA
TEAMSTERS UNION                          LOCAL 651, 100 BLUE SKY PKWY LEXINGTON KY 40509
TEAMSTERS UNION 25 HEALTH SERVICES &     INSURANCE PLAN 529 MAIN ST, STE 209 CHARLESTOWN MA 02129
TEAMSTERS UNION LOCAL 25                 HEALTH SERVICES PLAN, 16 SEVER ST CHARLESTOWN MA 02129
TEAMSTERS UNION LOCAL 31                 1 GROSVENOR SQ SUITE 31 DELTA BC V3M 5S1 CANADA
TEAMSTERS UNION LOCAL 377                1223 TEAMSTERS DR. YOUNGSTOWN OH 44502
TEAMSTERS UNION LOCAL NO 431             1140 W OLIVE FRESNO CA 93728
TEAMSTERS UNION LOCAL NO 690             1912 N DIV ST STE 200 SPOKANE WA 99207
TEAMSTERS&PARTICIPATING EMPLOYERS OF     ONTARIO PENSION PLAN PO BOX 3071 STATION A MISSISSAUGA ON L5A 3A4 CANADA
TEAMSTERS-NATIONAL 401(K) SAVINGS PLAN   D/B/A: TEAMSTERS NATL 401K SAVINGS PLAN C/O GEM GROUP, 1200 THREE GATEWAY
                                         CENTER PITTSBURGH PA 15222
TEAMTOYS GLOBAL SERVICES LLC             OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                         76116
TEARE, PATRICK                           ADDRESS ON FILE
TEAT JR, JAMES E                         ADDRESS ON FILE
TEBEAU, JOHN                             ADDRESS ON FILE
TEBO, DICKY                              ADDRESS ON FILE
TEBOW, MICHAEL                           ADDRESS ON FILE
TEC                                      1 SOUTH PRESCOTT STREET MEMPHIS TN 38111-4618
TEC                                      ATTN: DAVID D BRIGGS 1313 TIMBER DRIVE ELGIN IL 60123
TEC EQUIPMENT INC                        2050 E. LOUISE AVE. LATHROP CA 95330
TEC EQUIPMENT INC                        PO BOX 743077 PORTLAND OR 97217
TEC PROFESSIONALS                        744 NAVCO DR. ATTN ROSIE FREDERICK LAFAYETTE IN 47905
TECH ELECTRONICS INC                     PO BOX 790379 ST.LOUIS MO 63179
TECH HEADS, INC.                         7070 SW FIR LOOP PORTLAND OR 97223
TECH LOGISITCS                           300 ELM STREET UNIT 1 MILFORD NH 03055
TECH LOGISITCS                           D/B/A: TECH LOGISTICS (NPM:5100004390) 300 ELM STREET UNIT 1 MILFORD NH 03055
TECH LOGISITCSCOGHLIN CO                 300 ELM ST UNIT 1 MILFORD NH 03055
TECH LOGISTICS                           SPECIALTY QUALITY PK, 300 ELM ST MILFORD NH 03055
TECH SERVICE TODAY, LLC                  1903 S CONGRESS AVE SUITE 305 BOYNTON BEACH FL 33426
TECH SPECIALIST, INC                     810 GREAT SOUTHWEST PKWY. ATLANTA GA 30336
TECHNI TOOL                              ATTN: STEPHEN HUGHES 1547 N TROOPER RD WORCESTER PA 19490
TECHNICAL DIESEL MOBILE HIGHWAY AND      FLEET ASSISTAN 225 NIAGARA FALLS RD THOROLD ON L2V 1J1 CANADA
TECHNICAL EQUIPMENT                      10 COOPER ST. TRAVELERS REST SC 29690
TECHNICAL HEATERS                        10959 TUXFORD ST. SUN VALLEY CA 91352
TECHNICAL TRAFFIC CONSULT                KATTIA OLECKI, 30 HEMLOCK DR CONGERS NY 10920
TECHNO LOGISTICS INC                     OR RIVIERA FINANCE OF CA, PO BOX 848062 LOS ANGELES CA 90084-8062
TECHNO TRUCKING LLC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
TECHNO-AIDE, INC.                        ATTN: GENERAL COUNSEL 7532 HICKORY HILLS CT. WHITES CREEK TN 37189
TECHNOLOGY GROUP SOLUTIONS, LLC          8551 QUIVIRA ROAD LENEXA KS 66215



Epiq Corporate Restructuring, LLC                                                                   Page 1874 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1883 of 2156

Claim Name                             Address Information
TECHNOLOGY INSIGHT CORPORATION         11 APEX DR STE 300A MARLBOROUGH MA 01752
TECHNOLOGY INSIGHT CORPORATION         420 LAKESIDE AVENUE STE 401 MARLBOROUGH MA 01752
TECHNOLOGY RECOVERY GROUP LTD.         31390 VIKING PARKWAY WESTLAKE OH 44145
TECHNOLOGY RECOVERY GROUP LTD.         PO BOX 933260 CLEVELAND OH 44193
TECLAB INC                             6450 VALLEY INDUSTRIAL DR KALAMAZOO MI 49009
TECNIQ INC                             9100 E MICHIGAN AVE GALESBURG MI 49053
TECTA AMERICA DAKOTAS                  PO BOX 12878 GRAND FORKS ND 58208
TED C DAVIS                            ADDRESS ON FILE
TED EXPRESS LLC                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TED GROUP INC                          190 HALF MOON BAY CT ROMEOVILLE IL 60446
TED J CHAVEZ                           ADDRESS ON FILE
TED M CURTIS                           ADDRESS ON FILE
TED ROLLE                              ADDRESS ON FILE
TED WHITE TRUCKING LLC.                PO BOX 226 MONROE OH 45050
TEDDER, MICHAEL                        ADDRESS ON FILE
TEDDER, TIMOTHY                        ADDRESS ON FILE
TEDDY D GAYDEN                         ADDRESS ON FILE
TEDDYS TRANSPORT                       930 INTERCHANGE DR HOLLAND MI 49423
TEDDYS TRUCKING, INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TEDDYS TRUCKING, INC                   OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
TEDERSON LLC                           10929 ARLINGTON CHURCH RD MINT HILL NC 28227
TEDHAMS, DESIRAE                       ADDRESS ON FILE
TEDS RENT IT CENTER                    17827 VIRGINIA AVE HAGERSTOWN MD 21740
TEDS TOWING SERVICE INC                4920 HAZELWOOD AVE BALTIMORE MD 21206
TEDS TRUCK&TRAILER SERVICE             4601 SOUTH TRIPP AVENUE CHICAGO IL 60632
TEDS WRECKER SERVICE                   PO BOX 97 TRINITY AL 35673
TEE BEE ENTERPRISES LLC                OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                       35246-2659
TEEGARDEN, DAVID                       ADDRESS ON FILE
TEEGARDEN, JERRY D                     ADDRESS ON FILE
TEEL, DONNIE                           ADDRESS ON FILE
TEEL, JOHN                             ADDRESS ON FILE
TEEL, RICHARD                          ADDRESS ON FILE
TEEPE, BRENDA                          ADDRESS ON FILE
TEEPLE, WILLIAM                        ADDRESS ON FILE
TEEPLE, WILLIAM L                      ADDRESS ON FILE
TEETER, WAYNE                          ADDRESS ON FILE
TEETS, GEOFFREY A                      ADDRESS ON FILE
TEETSELL, DAVID                        ADDRESS ON FILE
TEFFETELLER, RANDALL                   ADDRESS ON FILE
TEG LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TEGELER BODY & FRAME WRECKER & CRANE   3197 HUGHES CT DUBUQUE IA 52003
INC
TEGELER BODY & FRAME WRECKER & CRANE   302 5TH ST NW DYERSVILLE IA 52040
INC
TEGELER BODY & FRAME WRECKER & CRANE   302 5TH ST NW, PO BOX 216 DYERSVILLE IA 52040
INC
TEH TUNG CORP                          3654 ENTERPRISE AVE HAYWARD CA 94545
TEHAMA SUPERIOR COURT                  1740 WALNUT ST RED BLUFF CA 96080
TEHAMA TIRE SERVICE, INC.              525 ANTELOPE BLVD RED BLUFF CA 96080


Epiq Corporate Restructuring, LLC                                                               Page 1875 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1884 of 2156

Claim Name                           Address Information
TEHAN TRUCKING LLC                   OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
TEHTUNG CORP ECHO                    ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
TEISHER, ZACK                        ADDRESS ON FILE
TEITLOFF, DENNIS                     ADDRESS ON FILE
TEJADA, CESAR                        ADDRESS ON FILE
TEJADA, RANCIER                      ADDRESS ON FILE
TEJEDA LOGISTICS LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TEJEDA-VAZQUEZ, JUAN                 ADDRESS ON FILE
TEK TRUCKING INC                     309 KIPP AVE ELMWOOD PARK NJ 07407
TEK TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TEKAUTZ, GREGORY                     ADDRESS ON FILE
TEKLE TRANS LLC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TEKLOM, THOMAS                       ADDRESS ON FILE
TEKSYSTEMS                           TEKSYSTEMS GLOBAL SERVICES P.O. BOX 402042 ATLANTA GA 30384
TEKSYSTEMS                           3689 COLLECTION CENTER DRIVE CHICAGO IL 60693
TELCOM LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TELDER, PATRICK A                    ADDRESS ON FILE
TELE-FONIKA CABLE AMERICAS           ATTN: JAVIER PEREZ 555 REMINGTON BLVD STE A BOLINGBROOK IL 60440
TELEAGA, CAROLINE                    ADDRESS ON FILE
TELECOMMUNICATION SYSTEMS INC        275 WEST STREET, ATTN: ENT FINANCE ANNAPOLIS MD 21401
TELEFIELD NA                         4915 SW GRIFFITH DR SUITE 205 BEAVERTON OR 97005
TELEMANAGEMENT TECHNOLOGIES, INC.    2700 YGNACIO VALLEY RD 250 WALNUT CREEK CA 94598
TELEPORT LLC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TELEPORTATION LOGISTICS COMPANY      2412 MEHARRY BLVD NASHVILLE TN 37208-2833
TELESCOPE CASUAL FRN                 TECH LOGISTICS, 300 ELM STREET UNT 3 MILFORD NH 03055
TELESCOPE CASUAL FURNITURE           ATTN: BRETT ANDERSON TECH LOGISTICS 300 ELM ST UNIT 1 MILFORD NH 03055
TELESCOPE CASUAL FURNITURE           ATTN: BRETT ANDERSON TECH LOGISTICS 300 ELM ST MILFORD NH 03055
TELESCOPE CASUAL FURNITURE           TECH LOGISTICS 300 ELM STREET UNIT 1 MILFORD NH 03055
TELESCOPE CASUAL FURNITURE           TECH TRANS LOGISTICS, 300 ELM ST UNIT 1 MILFORD NH 03055
TELFORD, GARY                        ADDRESS ON FILE
TELLEREX                             C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
TELLES CARRANZA, JORGE               ADDRESS ON FILE
TELLEZ, EDGAR                        ADDRESS ON FILE
TELLEZ, MARK                         ADDRESS ON FILE
TELLEZ, RAFAEL                       ADDRESS ON FILE
TELLIER, KEVIN                       ADDRESS ON FILE
TELLO, SALVADOR                      ADDRESS ON FILE
TELS INC                             15100 SW 89TH CT PALMETTO BAY FL 33176
TELS INC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TELSOM LOGISTICS LLC                 OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
TELSOM LOGISTICS LLC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TELUS CORPORATION                    PO BOX 5300 BURLINGTON ON L7R 4S8 CANADA
TELUS CORPORATION                    PO BOX 7575 VANCOUVER BC V6B 8N9 CANADA
TEM SYSTEMS, INC.                    15491 SW 12TH ST STE 408 SUNRISE FL 33326
TEMA, REUPENA                        ADDRESS ON FILE
TEMBO EXPRESS INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TEMORES, CAMILO                      ADDRESS ON FILE
TEMORES, CAMILO                      ADDRESS ON FILE
TEMORES, MIGUEL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1876 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1885 of 2156

Claim Name                               Address Information
TEMP-COAT BRAND PRODUCTS                 ATTN: GENERAL COUNSEL 17950 FABRICATION ROW UNIT D8 COVINGTON LA 70435
TEMPERATURE LANE LLC                     149 VARSITY DR, P.O.BOX 8839 HUNTSVILLE TX 77340
TEMPERATURE SERVICES                     360 BONNIE LN. ELK GROVE VILLAGE IL 60007
TEMPLAR INVESTING GROUP LLC              OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 96-0479 OKLAHOMA CITY OK
                                         73196-0479
TEMPLAR INVESTING GROUP LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TEMPLE RENTS INC                         3335 W WASHINGTON ST INDIANAPOLIS IN 46222
TEMPLE, DARRELL                          ADDRESS ON FILE
TEMPLE, HARRY                            ADDRESS ON FILE
TEMPLE, TIERRA                           ADDRESS ON FILE
TEMPLETON, EVAN                          ADDRESS ON FILE
TEMPLIN, KEVIN                           ADDRESS ON FILE
TEMPLIN, THOMAS A                        ADDRESS ON FILE
TEMPO FREIGHT SYSTEMS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TEMPO TRANSPORTATION LLC                 15342 S KEELER ST SUITE A OLATHE KS 66062
TEMSCO HELICOPTERS                       PO BOX 5057 KETCHIKAN AK 99901
TEN ELEVEN TRANSPORT                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TEN LOGISTICS, INC.                      PO BOX 856574 MINNEAPOLIS MN 55485
TEN NAPEL, MARK                          ADDRESS ON FILE
TEN POINT TRUCKING                       520 CROCKER HILL RD BINGHAMTON NY 13904
TEN WEST APPAREL                         10 WEST 33RD STRET, SUITE 216 NEW YORK NY 10001
TEN WEST TOWING INC                      PO BOX 82343 BAKERSFIELD CA 93308
TEN-EIGHT INC                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TEN4 RECRUITING                          CONVERSION INTERACTIVE AGENCY LLC PO BOX 743562 ATLANTA GA 30374
TENA TRANSPORT INC                       OR OUTSOURCE FINANCIAL SERVICES INC PO BOX 5172 DENVER CO 80217
TENA, JONATHAN                           ADDRESS ON FILE
TENACIOUS DREAMERS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TENAN, MARK                              ADDRESS ON FILE
TENAN, MARK                              ADDRESS ON FILE
TENBRINK, LAURIE                         ADDRESS ON FILE
TENDILLA, OCTAVIO R                      ADDRESS ON FILE
TENEMPAGUAY, LUIS                        ADDRESS ON FILE
TENGBEH AND SONS LOGISTICS LLC           9174 CENTERWAY DR GLEN ALLEN VA 23059
TENISON, EDWARD                          ADDRESS ON FILE
TENISON, EDWARD H                        ADDRESS ON FILE
TENNANT COMPANY                          ATTN: JACKIE DEFLORIO TENNANT USB LBXACCT PO BOX 860525 MINNEAPOLIS MN
                                         55486-0525
TENNANT SALES AND SERVICE COMPANY        10400 CLEAN STREET EDEN PRAIRIE MN 55344
TENNANT SALES AND SERVICE COMPANY        701 N LILAC DRIVE MINNEAPOLIS MN 55422
TENNANT SALES AND SERVICE COMPANY        PO BOX 71414 CHICAGO IL 60694
TENNCO INC                               1825 HUMMEL AVENUE CAMP HILL PA 17011
TENNER, ALEX                             ADDRESS ON FILE
TENNESSE DEPARTMENT OF STATE CORP FILE   312 ROSA L PARKS AVE 22 NASHVILLE TN 37243
TENNESSEE CONTRACT CARRIERS INC          PO BOX 357 GORDONSVILLE TN 38563
TENNESSEE CONTRACTORS                    600 51ST AVE NASHVILLE TN 37209
TENNESSEE DEPARTMENT OF REVENUE          REVENUE ENFORCEMENT DIV, PO BOX 190665 NASHVILLE TN 37219
TENNESSEE DEPARTMENT OF REVENUE          ANDREW JACKSON STATE OFC BLDG 500 DEADERICK ST NASHVILLE TN 37242
TENNESSEE DEPARTMENT OF REVENUE          ANDREW JACKSON STATE OFF BLDG 500 DEADERICK STREET NASHVILLE TN 37242
TENNESSEE DEPARTMENT OF REVENUE          312 ROSA L PARKS AVE. NASHVILLE TN 37243



Epiq Corporate Restructuring, LLC                                                                Page 1877 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1886 of 2156

Claim Name                             Address Information
TENNESSEE DEPARTMENT OF SAFETY AND     HOMELAND SECURITY CASHIER SECTION, PO BOX 24589 NASHVILLE TN 37202
TENNESSEE DEPARTMENT OF SAFETY AND     HOMELAND SECURITY 1150 FOSTER AVE NASHVILLE TN 37243
TENNESSEE DEPARTMENT OF SAFETY AND     HOMELAND SECURITY TITLING & REGISTRATION DIVISION 44 VANTAGE WAY SUITE 160
                                       NASHVILLE TN 37243
TENNESSEE MOUNTAINS TRANSPORT INC      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TENNESSEE TOWING                       1322 BEE ROCK RD MONTEREY TN 38574
TENNESSEE TRUCKING ASSOCIATION         4531 TROUSDALE DR NASHVILLE TN 37204
TENNEY, TOMMY                          ADDRESS ON FILE
TENNFREIGHT INC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TENNSCO                                AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
TENNYSON, RUSSELL                      ADDRESS ON FILE
TENORIO, KIM                           ADDRESS ON FILE
TENORIO, ROBERT                        ADDRESS ON FILE
TENSTREET LLC                          5121 S. WHEELING AVE, STE 200 TULSA OK 74105
TENT & TABLE WAREHOUSE                 ATTN: RYAN WILLET 60 CLYDE AVE BUFFALO NY 14215
TEOCAL TRANSPORT INC                   2101 CARDAN ST SAN LEANDRO CA 94577
TEODROS MOGES                          ADDRESS ON FILE
TEOS TOWING SERVICE INC                6425 WEST KIMBERLY ROAD DAVENPORT IA 52806
TEOS TRUCKING GROUP CORP               OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TEPER TRANSPORTATION, INC.             2425 E OAKTON STREET ARLINGTON HEIGHTS IL 60005
TERA LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TERA LOGISTICS INC.                    71 BURTON AVE PLAINVIEW NY 11803
TERAMO TRANS INC                       30 W MONTEREY AVE SCHAUMBURG IL 60193
TERAN, DEBORAH                         ADDRESS ON FILE
TERAN, GUSTAVO                         ADDRESS ON FILE
TERAN, JESUS                           ADDRESS ON FILE
TERANGA TRUCKING SERVICES              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TERCH, ROBERT C                        ADDRESS ON FILE
TERE TRANSPORTATION INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TERESA GOODWIN                         ADDRESS ON FILE
TERESA J PROUGH                        ADDRESS ON FILE
TERESA STEPPE                          ADDRESS ON FILE
TERESINSKI, ROBERT                     ADDRESS ON FILE
TEREX AWP                              ATTN: CRISTIAN BUENHOMBRE PORRAS 47010 SE 144TH STREET NORTH BEND WA 98045
TEREZ KING TRANSPORTING LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TERHAAR, JODY                          ADDRESS ON FILE
TERHUNE, STEVEN                        ADDRESS ON FILE
TERKO EXPRESS LLC                      OR THUNDER FUNDING PO BOX 1000 DEPT 3003 MEMPHIS TN 38148
TERMINAL LOGISTICS II                  MID-ATLANTIC SPE LLC C/O NORTH AMERICAN TERMINALS MANAGEMENT 201 WEST STREET
                                       ANNAPOLIS MD 21401
TERMINAL LOGISTICS II                  MID-ATLANTIC SPE, LLC C/O: N A TERMINALS MGMT LLC, LAURA WIRTH 201 WEST
                                       STREET, SUITE 200 ANNAPOLIS MD 21401
TERMINAL LOGISTICS II SOUTH SPE        C/O N A TERMINALS MANAGEMENT LLC 201 WEST STREET ANNAPOLIS MD 21401
TERMINAL LOGISTICS II SOUTH SPE, LLC   ATTN: THOMAS MATTHEWS NORTH AMERICAN TERMINALS MANAGEMENT LLC 201 WEST STREET
                                       ANNAPOLIS MD 21401
TERMINAL LOGISTICS II TEXAS SPE LLC    C/O N A TERMINALS MANAGEMENT LLC 201 WEST STREET 201 WEST STREET ANNAPOLIS MD
                                       21401
TERMINAL LOGISTICS II TEXAS SPE, LP    C/O: N A TERMINALS MGMT LLC COURTNEY ENDICOTT- DANKO 201 WEST STREET, SUITE
                                       200 ANNAPOLIS MD 21401
TERMINAL SERVICES                      3310 W BIG BEAVER RD, SUITE 127 TROY MI 48084


Epiq Corporate Restructuring, LLC                                                               Page 1878 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1887 of 2156

Claim Name                           Address Information
TERMINAL SUPPLY, INC                 1800 THUNDERBIRD TROY MI 48084
TERMINAL SUPPLY, INC                 PO BOX 1253 TROY MI 48099
TERMINAL TRANSPORT, INC.             LOCKBOX 187 PO BOX 1575 MINNEAPOLIS MN 55480-1575
TERMINIX 157                         PO BOX 2587 FAYETTEVILLE NC 28302
TERMINIX 157                         TERMINIX INTERNATIONAL P.O. BOX 1000 DEPT 916 MEMPHIS TN 38148
TERMINIX COMMERCIAL                  C/O COOPER PEST SOLUTIONS 2495 BRUNSWICK PIKE SUITE 10 LAWRENCE TOWNSHIP NJ
                                     08648
TERMINIX COMMERCIAL                  PO BOX 742592 CINCINNATI OH 45274
TERMINIX COMMERCIAL                  PO BOX 772471 DETROIT MI 48277
TERMINIX COMMERCIAL                  TERMINIX INTERNATIONAL PO BOX 1000 DEPT 916 MEMPHIS TN 38148
TERMINIX COMMERCIAL                  PO BOX 802155 CHICAGO IL 60680
TERMINIX COMMERCIAL                  P.O. BOX 26862 EL PASO TX 79926
TERMINIX INTERNATIONAL               D/B/A: TERMINIX PROCESSING CENTER P.O. BOX 802155 CHICAGO IL 60680-2131
TERMINIX PROCESSING CENTER           P.O. BOX 802155 CHICAGO IL 60680-2131
TERPENING, GENE                      ADDRESS ON FILE
TERPENING, MARK                      ADDRESS ON FILE
TERPSTRA, CHRISTOPHER                ADDRESS ON FILE
TERRA LOGISTICS LLC                  OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 316 FORT WORTH TX 76116
TERRA TRANS LLC                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TERRA TRANSPORT LLC                  2179 HWY 64 W SHELBYVILLE TN 37160
TERRACE SUPPLY COMPANY               1397 W. GLENLAKE AVE. ITASCA IL 60143
TERRAIN LANDSCAPES                   4600 PINECREST DR UNIONTOWN OH 44685
TERRANCE ARCHULETTA                  ADDRESS ON FILE
TERRANCE LOVELACE                    ADDRESS ON FILE
TERRAPIN, ALLISON                    ADDRESS ON FILE
TERRAPINN INC                        110 WILLIAM ST STE 2501 NEW YORK NY 10038
TERRAZAS RODRIGUEZ, JESUS A          ADDRESS ON FILE
TERRAZAS TRANSPORTATION, LLC         OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
TERRAZAS, ADLALBERTO                 ADDRESS ON FILE
TERRAZAS, DANNIELL                   ADDRESS ON FILE
TERRAZAS, EDGAR                      ADDRESS ON FILE
TERRAZAS, JOSE                       ADDRESS ON FILE
TERRAZAS, RODRIGUEZ                  ADDRESS ON FILE
TERRAZAS-GALVEZ, MARTIN              ADDRESS ON FILE
TERRELL LEES TRUCKING LLC            OR SMART FREIGHT FUNDING, PO BOX 3474 OMAHA NE 68103-0474
TERRELL S WILLIAMS SR                ADDRESS ON FILE
TERRELL WAGNER                       ADDRESS ON FILE
TERRELL YENTZER-TROY                 ADDRESS ON FILE
TERRELL, ANTHONY                     ADDRESS ON FILE
TERRELL, BOBBY                       ADDRESS ON FILE
TERRELL, CHARLES A                   ADDRESS ON FILE
TERRELL, CHRISTOPHER                 ADDRESS ON FILE
TERRELL, DENNIS                      ADDRESS ON FILE
TERRELL, EVAN                        ADDRESS ON FILE
TERRELL, KATARA                      ADDRESS ON FILE
TERRELL, KATARA K                    ADDRESS ON FILE
TERRELL, LONNIE                      ADDRESS ON FILE
TERRELL, ROBERT                      ADDRESS ON FILE
TERRELL, SHARENA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1879 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1888 of 2156

Claim Name                           Address Information
TERRELL, TONY                        ADDRESS ON FILE
TERRELL, VICTOR                      ADDRESS ON FILE
TERRENCE B CRUMP                     ADDRESS ON FILE
TERRENCE J KILCOYNE                  ADDRESS ON FILE
TERRENO 700 DELL LLC                 C/O TRANSWESTERN-PMA 6700 ROCKLEDGE DRIVE STE 500-A BETHESDA MD 20817
TERRENO 700 DELL LLC                 C/O JONES LANG LASALLE AMERICAS INC 700 OAKMONT LANE WESTMONT IL 60559
TERRENO CLAWITER LLC                 C/O CUSHMAN & WAKEFIELD 1390 TIMBERLAND MANOR PKWY STE 230 CHESTERFIELD MO
                                     63017
TERRENO CLAWITER LLC                 ATTN: SUSAN SAGASI C/O CUSHMAN & WAKEFIELD 721 EMERSON ROAD STE 600 ST. LOUIS
                                     MO 63141
TERRENO CLAWITER LLC                 C/O CUSHMAN & WAKEFIELD US INC 575 MARYVILLE CENTRE DR STE 500 721 EMERSON
                                     ROAD SUITE 600 ST LOUIS MO 63141
TERRENO CLAWITER LLC                 C/O CUSHMAN & WAKEFIELD US INC 575 MARYVILLE CENTRE DR STE SUITE 600 ST LOUIS
                                     MO 63141
TERRENO DELL LLC                     C/O JONES LANG LASALLE; LUPO MACOLINO 700 OAKMONT LANE WESTMONT IL 60559
TERRI J DEVEZE                       ADDRESS ON FILE
TERRIER TRANSPORTATION, INC.         4708 FIDELITY ST HOUSTON TX 77029
TERRILL, MICHAEL                     ADDRESS ON FILE
TERRONES, ALEX                       ADDRESS ON FILE
TERRY B SUNDVOLD                     ADDRESS ON FILE
TERRY BAUCOM                         ADDRESS ON FILE
TERRY J GOFF                         ADDRESS ON FILE
TERRY J POLSDOFER                    ADDRESS ON FILE
TERRY JOHNSON                        ADDRESS ON FILE
TERRY L ATKINS                       ADDRESS ON FILE
TERRY L ROGHAIR                      ADDRESS ON FILE
TERRY M SZCZEPANSKI                  ADDRESS ON FILE
TERRY NORD TRUCKING, INC.            PO BOX 398 RIDGEFIELD WA 98642
TERRY NORTHCROSS                     ADDRESS ON FILE
TERRY OSWALD                         ADDRESS ON FILE
TERRY PLUMBING CO                    5503 S. LAGRANGE ROAD COUNTRYSIDE IL 60525
TERRY ROBINETT                       ADDRESS ON FILE
TERRY SWEARENGIN TRANS               ATTN: DANIEL SWEARENGIN 41840 MCALBY CT MURRIETA CA 92562
TERRY TRANSPORT                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TERRY, ANTHONY                       ADDRESS ON FILE
TERRY, ANTOINE                       ADDRESS ON FILE
TERRY, ANTOINE G                     ADDRESS ON FILE
TERRY, CHARLES W                     ADDRESS ON FILE
TERRY, CLINT                         ADDRESS ON FILE
TERRY, DAVID                         ADDRESS ON FILE
TERRY, DAX                           ADDRESS ON FILE
TERRY, DONALD                        ADDRESS ON FILE
TERRY, JERNIAH                       ADDRESS ON FILE
TERRY, KENDALL                       ADDRESS ON FILE
TERRY, MARCUS                        ADDRESS ON FILE
TERRY, MICHAEL                       ADDRESS ON FILE
TERRY, MITCHELL                      ADDRESS ON FILE
TERRY, PATRICIA                      ADDRESS ON FILE
TERRY, PRESTON                       ADDRESS ON FILE
TERRY, RANDY                         ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                            Page 1880 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1889 of 2156

Claim Name                           Address Information
TERRY, RICHARD                       ADDRESS ON FILE
TERRY, ROBERTA                       ADDRESS ON FILE
TERRY, ROGER                         ADDRESS ON FILE
TERRY, RUTH                          ADDRESS ON FILE
TERRY, TREVION                       ADDRESS ON FILE
TERRYS MOBILE DIESEL SERVICE INC.    C/O DIESEL FLEET SERVICE 13312 RANCHERO RD PMB 125 SUITE 18 OAK HILLS CA 92344
TERRYS PUMPIN AND POTTIES, INC.      PO BOX 2708 ELKO NV 89803
TERRYS TOWING SERVICE                962 NINTH AVE. BRACKENRIDGE PA 15014
TERRYS TRANSPORT LLC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TERVIL TRUCKING LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TERWILLEGER, ROB                     ADDRESS ON FILE
TERWILLIGER, MARK                    ADDRESS ON FILE
TERWILLIGER, ROLAND                  ADDRESS ON FILE
TES COOK TRUCKING                    525 SILVER BEACH DRIVE JEROME ID 83338
TES LOGISTICS, LP                    PO BOX 290493 EL PASO TX 79928
TESFA, TEBEBE S                      ADDRESS ON FILE
TESH, LINDA                          ADDRESS ON FILE
TESHAK, STEVE                        ADDRESS ON FILE
TESHAVOY CARGO LLC                   20 S 3RD ST, SUITE 210 COLUMBUS OH 43215
TESIMALE, JR                         ADDRESS ON FILE
TESLA CARGO SOLUTIONS, INC.          OR TAB BANK, PO BOX 150290 OGDEN UT 84415
TESLA EXPEDITE INC                   4242 1ST AVE UNIT F5 LYONS IL 60534
TESLA EXPEDITE INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TESLA EXPEDITE INC.                  ATTN: SAFETY 4242 1ST AVE STE F5 LYONS IL 60534-1470
TESLA FREIGHT INTERNATIONAL INC      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
TESLA GROUP INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TESLA HOLDING LLC                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
TESLA LOGISTICS INC                  OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
TESLA TRANSPORT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TESLA TRANSPORTATION GROUP LLC       OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84115
TESLA TRANSPORTATION LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TESS, ROBERT J                       ADDRESS ON FILE
TESSIERS INC.                        MECHANICAL CONTRACTORS, P.O. BOX 412007 BOSTON MA 02241
TESSIERS INC.                        MECHANICAL CONTRACTORS, PO BOX 1200 MITCHELL SD 57301
TESSIL LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TESTA, ALLAN                         ADDRESS ON FILE
TESTA, ANTHONY                       ADDRESS ON FILE
TESTA, WILLIAM                       ADDRESS ON FILE
TESTAS INVESTMENTS & LOGISTICS LLC   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
TESTERMAN, MICHAEL                   ADDRESS ON FILE
TETER, DARREN                        ADDRESS ON FILE
TETER, WILLIAM                       ADDRESS ON FILE
TETREAULT, JAMIE                     ADDRESS ON FILE
TETTEH LOGISTICS LLC                 OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TETZLAFF, ALLEN                      ADDRESS ON FILE
TETZLAFF, LARRY                      ADDRESS ON FILE
TETZLAFF, MYAKODA                    ADDRESS ON FILE
TETZLAFF, MYAKODA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1881 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1890 of 2156

Claim Name                             Address Information
TEUBERT, HUNTER                        ADDRESS ON FILE
TEUNIS, TRACI                          ADDRESS ON FILE
TEVAUGHN JENKINS                       ADDRESS ON FILE
TEVERE, WILLIAM                        ADDRESS ON FILE
TEVIS, MONTIQUE                        ADDRESS ON FILE
TEVLIN, SAMANTHA                       ADDRESS ON FILE
TEWES, ALEX                            ADDRESS ON FILE
TEX SAND TRANSPORT LLC                 OR MOMENTUM CAPITAL FUNDING PO BOX 936049 ATLANTA GA 31193-6049
TEX-AIR DELIVERY, INC.                 PO BOX 610926 DFW AIRPORT TX 75261
TEX-AZ ENTERPRISES LLC                 OR CAPITAL CREDIT INC., PO BOX 204695 DALLAS TX 75320-4695
TEX-LA LOGISTICS INC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TEX-MAR TOWING & RECOVERY INC          PO BOX 1508 CHANNELVIEW TX 77530
TEX-MEX TRANSPORTATION LLC             OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
TEX-Q EXPRESS INC                      OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
TEX-US TRUCKING SERVICES LLC           OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
TEXANO TRUCKING COMPANY                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TEXAS AUTO CARRIERS - HEAVY DIVISION   5765 BICENTNNIAL STREET SAN ANTONIO TX 78219
TEXAS CARRIERS INC                     OR SOUND FINANCE CORPORATION P.O. BOX 679281 DALLAS TX 75267-9281
TEXAS CARRIERS LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TEXAS COMMISSION ON ENVIRONMENTAL      FINANCIAL ADMINISTRATION DIVISION MC-214 PO BOX 13088 AUSTIN TX 78711
QUALIT
TEXAS COMMISSION ON ENVIRONMENTAL      PO BOX 13089 AUSTIN TX 78711
QUALIT
TEXAS COMPTROLLER                      P.O. BOX 149344 AUSTIN TX 78714
TEXAS COMPTROLLER OF PUBLIC ACCOUNTS   UNCLAIMED PROPERTY DIVISION 111 E 17TH ST AUSTIN TX 78774
TEXAS DEPARTMENT OFTRANSPORTATION      PO BOX 149001 (ATTN: FIN MNGMNT- ACC RCV) AUSTIN TX 78714
TEXAS DEPT OF TRANSPORTATION           ATTN FINANCIAL MANAGEMENT REV PO BOX 149001 AUSTIN TX 78714
TEXAS EXPRESS INC.                     26 JEAN ST CALEDON EAST ON L7C 1P6 CANADA
TEXAS FALCON LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TEXAS H&M                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TEXAS ICE MACHINE COMPANY              729 3RD AVENUE DALLAS TX 75226
TEXAS INTERNATIONAL ENTERPRISES INC    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TEXAS LABOR LAW POSTER SERVICE         6800 W GATE BLVD STE 132 872 AUSTIN TX 78745
TEXAS MAXI MINI STORAGE                12325 WEST AVE. SAN ANTONIO TX 78216
TEXAS ORIGINAL                         ATTN: JASON SANDERS 12701 LOWDEN LANE STE 501 MANCHACA TX 78652-0019
TEXAS PRIORITY INC                     OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
TEXAS PRIORITY INC                     401 E SONTERRA BLVD STE 375 SAN ANTONIO TX 78258-4321
TEXAS PRO LOGISTICS LLC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                       76116
TEXAS T & L TRUCKING INC               6900 GRINDSTONE CT ARLINGTON TX 76002
TEXAS TOWING HD                        2047 RIGSBY AVE SAN ANTONIO TX 78210
TEXAS TRANSPORT COMPANY LLC            OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
TEXAS TREASURY SFKPG (2622)            ATT JANIE DOMINGUEZ/PROXY MGR 208 E. 10TH ST ROOM 410 AUSTIN TX 78701
TEXAS TURBO TRUCKIN LLC                24200 SW FWY STE 402-304 ROSENBERG TX 77471
TEXAS WRECKER SERVICE                  P.O. BOX 5128 CORPUS CHRISTI TX 78468
TEXCALINC                              1005 N CENTER AVE APT 7200 ONTARIO CA 91764
TEXI TRANSPORT INC                     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
TEXOMA FIRE EQUIPMENT                  PO BOX 594 SHERMAN TX 75091
TEXOMA FREIGHT                         101 HERIETTA ST. WICHITA FALLS TX 76301


Epiq Corporate Restructuring, LLC                                                               Page 1882 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1891 of 2156

Claim Name                           Address Information
TEXOR LOGISTICS                      OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TEXPORT TRUCKING LLC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TEXPRO EXPRESS INC                   OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
TEXTRANS                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TEXTRON                              CASS INFORMATION SYSTEMS PO BOX 17600 SAINT LOUIS MO 63178
TEXTRON EZ-GO US BANK                1710 MARVIN GRIFFIN RD AUGUSTA GA 30906
TEZ GROUP INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TEZZ TRANS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TF LOGISTICS                         PO BOX 983 INDIANAPOLIS IN 46206
TF LOGISTICS                         4430 STOUT FIELD NORTH DRIVE INDIANAPOLIS IN 46241
TF-7-EXPRESS                         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TFAM SOLUTIONS LLC                   OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
TFI INTERNATIONAL                    ATTN: DIDIER LE MANAC'H 6600 CHEMIN SAINT- FRANCOIS ST. LAURENT QC H4S 1B7
                                     CANADA
TFI INTERNATIONAL INC                6600 CHEMIN SAINT-FRANCOIS SAINT-LAURENT QC H4S 1B7 CANADA
TFL TRANSPORT LLC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
TFORCE FREIGHT, INC.                 ATTN: GENERAL COUNSEL 1000 SEMMES AVENUE RICHMOND VA 23218-1216
TFORCE LOGISTICS EAST LLC            DBA GUARDIAN MEDICAL LOGISTICS 12837 COLLECTIONS CENTER DR CHICAGO IL 60693
TFORCE WORLDWIDE                     MICHELE TUNZI, 1000 WINDHAM PKWY BOLINGBROOK IL 60490
TFV TRUCKING LLC                     PO BOX 11675 KILLEEN TX 76547
TFWW                                 ATTN MICHELE TUNZI, 1000 WINDHAM PKWY BOLINGBROOK IL 60490
TFWW                                 ATTN: CINDY TORAN 1000 WINDHAM PARKWAY BOLINGBROOK IL 60490
TG EXPRESS LLC                       OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
TG LOGISTICS SERVICE LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TGA TRANSPORT LLC                    OR RTS FINANCIAL SERVICE LLC PO BOX 840267 DALLAS TX 75284
TGF TRUCKING INC                     741 MAJESTIC DR ALGONQUIN IL 60102
TGH-ADR INC.                         47 STONERIDGE CRESCENT ST DAVIDS ON L0S 1J1 CANADA
TGL                                  OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TGR LLC                              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TGR LOGISTICS                        13990 FIR ST OREGON CITY OR 97045
TGR LOGISTICS                        ATTN: HEATHER CHAMBERLAIN CLAIMS 13990 FIR ST OREGON CITY OR 97045
TGT TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TH PILOT TRANSPORT INC               1005 E LAS TUNAS DRIVE APT 215 SAN GABRIEL CA 91776
TH TRANSPORT LLC                     10392 SEMINOLE PASS RIVERSIDE CA 92503
TH TRUCKING LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
THA TRANSPORTS CORPORATION           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
THACH, TONY                          ADDRESS ON FILE
THACKER, DANIKA                      ADDRESS ON FILE
THACKER, DAVID                       ADDRESS ON FILE
THACKER, JASON                       ADDRESS ON FILE
THACKER, JIMMY                       ADDRESS ON FILE
THACKER, MARIA                       ADDRESS ON FILE
THACKER, PEARL                       ADDRESS ON FILE
THACKER, RUDY                        ADDRESS ON FILE
THACKER, STEVEN                      ADDRESS ON FILE
THAD YOUNGS                          ADDRESS ON FILE
THAKUR TRANS INC                     OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
THALER OIL CO INC                    310 S MAIN ST CHIPPEWA FALLS WI 54729



Epiq Corporate Restructuring, LLC                                                               Page 1883 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1892 of 2156

Claim Name                          Address Information
THAMES, ALMONZO                     ADDRESS ON FILE
THAMES, CHARLES                     ADDRESS ON FILE
THAMES, LARRY                       ADDRESS ON FILE
THAMES, MICKEY                      ADDRESS ON FILE
THAMES, TEVIN                       ADDRESS ON FILE
THAMMAVONG, KENTA                   ADDRESS ON FILE
THAN, RITHY                         ADDRESS ON FILE
THANG LLC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THANG, HEI                          ADDRESS ON FILE
THANG, JONAH                        ADDRESS ON FILE
THANK GOD 4 TRUCKING LLC            201 PO BOX HAVRE DE GRACE MD 21078
THANOS TRADING LLC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
THAO, CHAN                          ADDRESS ON FILE
THAO, ILA                           ADDRESS ON FILE
THAO, KEVIN                         ADDRESS ON FILE
THAO, NA                            ADDRESS ON FILE
THAO, TOUA                          ADDRESS ON FILE
THAPALIYA, NISHAN                   ADDRESS ON FILE
THARMEE TRANSPORT                   OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
THARP, JOHN                         ADDRESS ON FILE
THARP, JOHN                         ADDRESS ON FILE
THARP, RAYMOND                      ADDRESS ON FILE
THAT ONE PLUMBING COMPANY           14707 LIBLEN AVE BELLFLOWER CA 90706
THATCHER, ALYSSA C                  ADDRESS ON FILE
THATCHER, RICHARD                   ADDRESS ON FILE
THATS TRUCKING INC                  OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
THAXTON, KEITH                      ADDRESS ON FILE
THE 18 WHEELS LLC                   OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
THE AMERICAN LEGIONPOST 42          4530 PAOLI PIKE FLOYDS KNOB IN 47117
THE AMG TRANSPORT LINES LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THE ANT WAY                         5032 DIEKER ROAD APT A1 COLUMBUS OH 43220
THE ARMORED GROUP LLC               2727 S BEECH DALY ST DEARBORN HEIGHTS MI 48125
THE BAILEY COMPANY INC              501 COWAN ST, PO BOX 280565 NASHVILLE TN 37228
THE BAILEY COMPANY INC              PO BOX 202688 DALLAS TX 75320
THE BAILEY COMPANY INC              PO BOX 202688 DALLAS TX 75320-2688
THE BANK OF NEW YORK MELLON         ATTN JOANNA SHAPIRO 240 GREENWICH ST NEW YORK NY 10286
THE BANK OF NEW YORK MELLON         ATTN: JOANNA SHAPIRO, MANAGING DIRECTOR 240 GREENWICH STREET 7TH FLOOR NEW
                                    YORK NY 10286
THE BANK OF NOVA SCOTIA             ATTN BRADELY TATE, JOHN SCALI 40 KING ST W 8TH FL TORONTO ON M5H 1H1 CANADA
THE BANK OF NOVA SCOTIA             711 LOUISIANA STE 1400 HOUSTON TX 77002
THE BARCODE MOVEMENT LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
THE BATTERY SHOP                    2411 POST ROAD WARWICK RI 02886
THE BEAM STORE                      ATTN: MIKE HEMBREE 7637 NW 3RD ST OKLAHOMA CITY OK 73127
THE BEAST TRANSPORT CORP            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
THE BEHLER YOUNG CO                 7734 LOCHLIN DR BRIGHTON MI 48116
THE BELMONT                         10000 S. MARYLAND PKWY. LAS VEGAS NV 89183
THE BENJAMIN P. FORBES CO.          ATTN: CHERYL VOZAR 800 KEN MAR INDUSTRIAL PA BROADVIEW HTS OH 44147
THE BEST AUTOMOTIVE L L C           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
THE BIG FAMILY TRANSPORTATION LLC   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                              Page 1884 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1893 of 2156

Claim Name                              Address Information
THE BIRD TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THE BLAIR EXPRESS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
THE BODY SHOP TRUCK & TRAILER REPAIR    5643 W HIGHWAY 64 PARKIN AR 72373
LLC
THE BOEING COMPANY                      ATTN: JAMES BROWN 700 15TH ST SW AUBURN WA 98001
THE BOLT SUPPLY HOUSE LTD               ADMINISTRATION OFFICE 3909C MANCHESTER ROAD SE CALGARY AB T2G 4A1 CANADA
THE BOLT SUPPLY HOUSE LTD               ADMINISTRATION OFFICE 101 293029 JAMES JONES WAY ROCKY VIEW COUNTY AB T4A 0X1
                                        CANADA
THE BOSS BABY LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THE BOULDEN FAMILY TRUCKING LLC         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
THE BRAKE SERVICE GROUP                 720 GARRISON AVENUE BRONX NY 10474
THE BRASS KEY SHOP                      825 HASKINS RD BOWLING GREEN OH 43402
THE BRITTON FLOORING COMPANY LLC        922 E MAIN ST ROCK HILL SC 29730
THE BUFFALO GROUP OF COMPANIES LTD.     THE BUFFALO GROUP OF COMPANIES LTD. 938 W TROY AVENUE INDIANAPOLIS IN 46225
THE BUGGS CORPORATION                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THE BUREAU OF NATIONAL AFFAIRS INC      D/B/A: BLOOMBERG INDUSTRY GROUP INC PO BOX 419889 BOSTON MA 02241
THE CAR WASH                            4527 W. ANDCO DR. IDAHO FALLS ID 83402
THE CARGO PROFESSIONALS LLC             3835 TRINITY CIR FLORISSANT MO 63034
THE CARY COMPANY                        ATTN: STEVE PROVANCAL LOGISTICS 1195 W FULLERTON AVE ADDISON IL 60101
THE CAVALRY TRLR MAINTENANCE &          1550 LEHIGH DRIVE 1550 LEHIGH DRIVE EASTON PA 18042
COLLISION
THE CHAMBERLAIN GROUP INC               ATTN: KARLA PALACIOS 2850 E DREXEL RD SUITE 180 TUCSON AZ 85706
THE CHAMBERLAIN GROUP LLC               2850 E DREXEL RD, SUITE 180 TUCSON AZ 85706
THE CHAMBERLAIN GROUP LLC               ATTN: ADRIANA VALENZUELA 2850 E DREXEL RD, STE 180 TUCSON AZ 85706
THE CHAMBERLAIN GROUP, LLC              ATTN: KARLA PALACIOS 2850 E DREXEL RD, SUITE 180 TUCSON AZ 85706
THE CHARLES H DAY CO                    11405 SE 37TH AVE MILWAUKIE OR 97222
THE CITY OF DOUGLASVILLE                ATTN: FINANCE, PO BOX 219 DOUGLASVILLE GA 30133
THE CITY OF FORT MYERS                  COMMUNITY DEVELOPMENT DEPARTMENT 1825 HENDRY STREET 101 FORT MYERS FL 33901
THE CITY OF REFUGE CHURCH               109 E. HAERTEL ST. PORTAGE WI 53901
THE CITY OF WINNIPEG                    PUBLIC WORKS DEPARTMENT FINANCE AND ADMINISTRATION 102 1155 PACIFIC AVENUE
                                        WINNIPEG MB R3E 3P1 CANADA
THE CLEANING GUYS, LLC.                 5255 TEAGUE ROAD FORT WORTH TX 76140-8119
THE CLERK OF HAMILTON COUNTY            1000 MAIN ST CINCINNATI OH 45202
THE CLERK OF HAMILTON COUNTY            MUNICIPAL COURT 1000 SYCAMORE STREET ROOM 115 CINCINNATI OH 45202
THE COMMONWEALTH OF MASSACHUSETTS       ABANDONED PROPERTY DIVISION ONE ASHBURTON PLACE 12TH FLOOR BOSTON MA 02108
THE COMPLIANCE CENTER INC               88 LINDSY AVE DORVAL QC H9P 2T8 CANADA
THE CONFERENCE BOARD INC                C\O DEVAN RILEY ACCOUNTS RECEIVABLE 845 THIRD AVENUE NEW YORK NY 10022
THE CONTAINER STORE C/O ECHO            ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
THE CORVETTE SHOP                       655 RTE 17K MONTGOMERY NY 12549
THE COUNT OF MOVING & DELIVERIES LLC    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
THE CTR OF INDL REHABILITATION SRVC     2120 E HWY BUS 83 STE A 2120 E HWY BUS 83 STE A MISSION TX 78572
THE CUSTOM COMPANIES                    135 N RAILROAD AVE NORTHLAKE IL 60164
THE CUSTOM COMPANIES INC                PO BOX 3270 NORTHLAKE IL 60164
THE DELAWARE EMPLOYMENT TRAINING FUND   STATE OF DELAWARE-DOL DUI TRAINING TAX PO BOX 5514 BINGHAMTON NY 13902
THE DELAWARE EMPLOYMENT TRAINING FUND   PO BOX 9953 WILMINGTON DE 19809
THE DELIVERY PEOPLE                     13025 CERISE AVENUE HAWTHORNE CA 90250
THE DISTRIBUTION POINT LLC              ATTN: CORTNEY NELSON 3242 MOODY PKWY MOODY AL 35004
THE DIVERSIFIED SERVICE COMPANY LLC     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
THE DOCTOR FAMILY TRANSPORTATION        OR MATCH FACTORS, PO BOX 13259 FLORENCE SC 29504
THE DOOR MAN OF NEVADA                  75 E PATRIOT BLVD 4 RENO NV 89511


Epiq Corporate Restructuring, LLC                                                                  Page 1885 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1894 of 2156

Claim Name                               Address Information
THE DOUGHNUT PEDDLER                     700 MONTANA DRIVE CHARLOTTE NC 28216
THE DPF COMPANY INC.                     UNIT 207-251 SAULTEAUX CRESCENT WINNIPEG MB R3J 3C7 CANADA
THE DUHART GROUP LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THE E S WILLIAMS ENTERPRISE LLC          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
THE EAGLE LEASING COMPANY                PO BOX 923 ORANGE CT 06477
THE EDELEN COMPANY                       4170 SHORELINE DR EARTH CITY MO 63045
THE FALOMA FAZIO PROPERTY, LLC           ATTN: JACK FAZIO 20815 NW SAUVIE ISLAND ROAD PORTLAND OR 97231
THE FAMILY GAME ROOM                     4555 PONDVIEW DR BIG LAKE MN 55309
THE FASTWAY LLC                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
THE FEDERAL BRIDGE CORPORATION LIMITED   1555 VENETIAN BOULEVARD POINT EDWARD ON N7T 0A9 CANADA
THE FEDERICO BROS TRUCKING LLC           OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
THE FENCE MAN INC                        22 THAYER RD WALTHAM MA 02453
THE FIRE LINE GROUP LTD                  611 W. 5TH ST., PO BOX 6470 ERIE PA 16512
THE FIREPLACE STORE                      950 INDUSTRIAL RD. CEDAR CITY UT 84720
THE FLAG LADYS FLAG STORE                4567 N HIGH ST COLUMBUS OH 43214
THE FLAG LOFT                            1900 DELMAR BLVD. SAINT LOUIS MO 63103
THE FLYING LOCKSMITHS OF SOUTH BEND      316 N IRONWOOD DR 2 SOUTH BEND IN 46615
THE FORGE SHOP                           TRUCK AND TRAILER SERVICES 13287 HELMER DR. WHITTIER CA 90602
THE FOUR AMIGOS ENTERPRISE LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THE GAME 7 COLLECTIVE LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THE GAP STORES CASS                      PO BOX 67, SUITE 1750 SAINT LOUIS MO 63166
THE GLASS DOCTOR                         ATTN: HALEY HOLCOMBE 2001 MIDWAY RD STE 121 CARROLLTON TX 75006
THE GOODYEAR TIRE & RUBBER COMPANY       PO BOX 277808 ATLANTA GA 30384-7808
THE GREAT TRUCKERS TRUCKING LLC          OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
THE GREEN LINE ENTERPRISES, INC.         29744 AWBREY LN STE A EUGENE OR 97402
THE GREEN SCENE                          11225 CANOGA AVE. CHATSWORTH CA 91311
THE GROUNDSKEEPER INC                    PO BOX 3402 CAMARILLO CA 93011
THE HAMPTONS GROUP LLC                   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
THE HANDSFREE COMPANY                    18173 EDISON AVE., SUITE A CHESTERFIELD MO 63005
THE HARTFORD                             PO BOX 783690 PHILADELPHIA PA 19178
THE HEALTHY WORKER                       307 SOUTH 12TH AVE SUITE 12 YAKIMA WA 98902
THE HEAT ENGINEERING CO INC              6500 JOLIET RD COUNTRYSIDE IL 60525
THE HIGHRISE LOGISTICS INC               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
THE HITE COMPANY                         3101 BEALE AVENUE ALTOONA PA 16603
THE HOME DEPOT                           ATTN: MATT HALL 2455 PACES FERRY RD C-20 ATLANTA GA 30339
THE HOME DEPOT                           CONDATA GLOBAL, 9830 W 109TH ST STE M MOKENA IL 60448
THE HOME DEPOT                           CONDATA GLOBAL, 9830 W 190TH ST STE M MOKENA IL 60448
THE HOME DEPOT                           CONDATA, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
THE HOME DEPOT                           601 NORTH CREEK DR SHERMAN TX 75092
THE HOME DEPOT - RECEIVABLES, FREIG      P.O. BOX 7247-7491 PHILADELPHIA PA 19170-7491
THE HONEY POT CO C/O ECHO                ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
THE HONEY POT CO ECHO                    ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
THE HORSE RIDER                          4092 COLUMBIA AVE COLUMBIA PA 17512
THE HOTSY EQUIPMENT COMPANY              P.O. BOX 231 BOYERTOWN PA 19512
THE HUNTER RRR LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THE HUNTER RRR LLC                       3331 SILVERTON DR KATY TX 77494-0245
THE ILLUMINATING CO                      11517 FRUITLAND CT CLEVELAND OH 44102
THE ILLUMINATING COMPANY                 PO BOX 3687 AKRON OH 44309-3687
THE INTERIOR GALLERY                     ATTN: MARY STONE 1700 W CROSBY RD CARROLLTON TX 75006



Epiq Corporate Restructuring, LLC                                                                  Page 1886 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1895 of 2156

Claim Name                               Address Information
THE INTERIOR GALLERY                     ATTN: MARY 1700 W CROSBY RD CARROLLTON TX 75006
THE INTERIOR GALLERY LLC                 1700 W CROSBY RD CARROLLTON TX 75006
THE JACKSONS TRUCKING LLC-               THE JACKSONS TRUCKING LLC OR MCDOWELL FACTOR & CAPITAL SVCS LLC P.O. BOX
                                         161086 ALTAMONTE SPRINGS FL 32716-1086
THE JOHN L GROUP                         436 SAGINAW ST STE 300 FLINT MI 48502
THE JONES WAY LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
THE JUMPSTART GROUP LLC                  OR THUNDER FUNDING PO BOX 1000 DEPT 3003 MEMPHIS TN 38148
THE K COMPANY INC                        2234 S ARLINGTON ROAD AKRON OH 44319
THE KANSAS CHAMBER OF COMMERCE & IND     534 S KANSAS AVE STE 1400 TOPEKA KS 66603
THE KANSAS STATE UNIVERSITY FOUNDATION   1301 LOVERS LANE, 2121 BUSINESS BUILDING MANHATTAN KS 66506
THE KEY PLACE INC                        402 E FOOTHILL BLVD STE I RIALTO CA 92376
THE KHAZANA-RESI                         9417 CIRCLE DRIVE BUILDING B AUSTIN TX 78736
THE KIDS TRUCKING, INC.                  PO BOX BOX 130 PIERCE CITY MO 65723
THE KING OF TRUCKS LLC                   3868 SWEET IRIS CIR LOGANVILLE GA 30052
THE KINGS TRANSPORT INC                  OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
THE KINGS VINEYARD LAWNCARE              1357 FLAT SHOALS RD SW CONYERS GA 30094
THE LANDSCAPE CONNECTION, T.L.C., INC.   5400 E. EMPIRE AVE FLAGSTAFF AZ 86004
THE LARSON GROUP                         28604 NETWORK PLACE CHICAGO IL 60673
THE LIGHTHOUSE FOR THE BLIND             C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
THE LILLY COMPANY                        3613 KNIGHT ARNOLD RD MEMPHIS TN 38118
THE LILLY COMPANY                        PO BOX 1000 DEPT 184 MEMPHIS TN 38148
THE LILLY COMPANY                        PO BOX 1000 DEPT 184 MEMPHIS TN 38148-0184
THE LIONS SHARE TRANSPORTATION           OR SURELINE CAPITAL, PO BOX 190 HOOPER UT 84315
THE LIPPER STUTSMAN CO INC               8101 WYNGATE BLVD SHREVEPORT LA 71108
THE LITTLE CLINIC                        PO BOX 932924 CLEVELAND OH 44193-0028
THE LOCKSMITH SHOPPE                     800 GRAND AVE SCHOFIELD WI 54476
THE M. K. MORSE COMPANY                  1101 11TH ST. SE CANTON OH 44707
THE MAKAI MOVEMENT LLC                   OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
THE MARIETTA DAILY JOURNAL               47 WADDELL ST SE MARIETTA GA 30060
THE MCCAULEY TRUCKING COMPANY            379 INDUSTRIAL PARK ROAD BROOKVILLE PA 15825
THE MCPHERSON COMPANIES                  ATTN: TYLER ROWE 501 CARDINAL STREET TRUSSVILLE AL 35173
THE MICHAELS COMPANIES                   208 HOSS RD. CENTRALIA WA 98531
THE MITTEN TRANSPORT LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THE MITTEN TRANSPORT LLC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
THE MORNING STARS TRANS LLC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
THE MOVING BUS                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THE MOVING MANN                          THE MOVING MANN, 1494 WRIGHTSBORO RD AUGUSTA GA 30901
THE MVP GROUP                            441 DARALEA HTS MISSISSAUGA ON L5A 3H7 CANADA
THE NARROW PATH TRUCKING LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THE OCCUPATIONAL HEALTH CENTER           ATTN: ANDREA KING 2501 WEST 12TH STREET SUITE C ERIE PA 16502
THE OCCUPATIONAL HEALTH CENTER           ATTN: DENISE LARSEN 2501 WEST 12TH STREET SUITE C ERIE PA 16505
THE OCCUPATIONAL HEALTH CENTER           ATTN: JODEE MCGUIRE 2501 W 12TH ST STE C7 ERIE PA 16505
THE OCCUPATIONAL HEALTH CENTER           ATTN: REANNE WELLS 2501 WEST 12TH STREET SUITE C ERIE PA 16505
THE OSCAR W LARSON CO                    10100 DIXIE HWY CLARKSTON MI 48348
THE OUTBOARD MOTOR SHOP                  ATTN: WHITENEY SPENCER PO BOX 7001 OVERLAND PARK KS 66207
THE OUTDOOR PLUS COMPANY INC             701 S DUPONT AVE ONTARIO CA 91761
THE OUTRUNNERS LLC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THE PALLET FACTORY, INC.                 P.O. BOX 181055 MEMPHIS TN 38181
THE PICKY SC WITH PROF FINISHING CORP    OR SUMMAR FINANCIAL LLC PO BOX 748841 ATLANTA GA 30374-8841



Epiq Corporate Restructuring, LLC                                                                   Page 1887 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1896 of 2156

Claim Name                              Address Information
THE PIG PEN                             N9861 E LYNNE AVE NECEDAH WI 54646
THE PLACEMENT OFFICE                    2470 LUCKNOW DRIVE UNIT 4 MISSISSAUGA ON L5S 1J9 CANADA
THE PREDICTIVE INDEX                    101 STATION DRIVE WESTWOOD MA 02090
THE PREEMINENT GROUP LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
THE PROFESSIONAL RANGER LOGISTICS LLC   9900 WAGON GATE TRL SW ALBUQUERQUE NM 87121
THE PUMP DOCTOR INC                     2706 HEMLOCK ROAD EDEN NY 14057
THE PURCHASE MASTER, LLC                ATTN: GENERAL COUNSEL 1000 PEACHTREE INDUSTRIAL BLVD SUWANEE GA 30024
THE PURCHASE MASTER, LLC                C/O: SLOTKIN LAW FIRM, LLC ATTN ROBERT SLOTKIN JR & VINCENT DATTILO 118 E.
                                        MAPLE ST. DECATUR GA 30030
THE RADIUM GROUP INC                    3 RIBBON DRIVE BRAMPTON ON L6R1X3 CANADA
THE RASMUSSAN COMPANY                   9716 UNIVERSITY AVE CEDAR FALLS IA 50613
THE RATCHET DEPOT INC                   1702 PIEDMONT HIGHWAY (HWY 20) PIEDMONT SC 29673
THE RAYMOND CO                          ATTN: TOD WILLIAMSON 6650 KIRKVILLE RD EAST SYRACUSE NY 13057
THE REGIONAL MUNIE OF DURHAM            605 ROSSLAND RD E WHITBY ON L1N 8Y9 CANADA
THE RENT IT STORE & TOOL SUPPLY         633 45TH ST EAST SASKATOON SK S7K 0W4 CANADA
THE RICHARDSON FREIGHT COMPANY LLC      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
THE RICHARDSON GROUP OF MS LLC          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
THE RIGHT PATH EXPRESS LLC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
THE ROBERTS GROUP, INC.                 PO BOX 5810 HUNTSVILLE AL 35814
THE ROYAL BANK OF SCOTLAND PLC          600 WASHINGTON BLVD STAMFORD CT 06901
THE SAFETY ZONE                         PO BOX 845090 BOSTON MA 02284
THE SANSIN CORPORATION                  ATTN: DEBBIE SOUSA 111 MCNAB ST STRATHROY ON N7G 4J6 CANADA
THE SCENIC ROUTE INC                    13516 DESMOND ST PACOIMA CA 91331
THE SHERWIN-WILLIAMS COMPANY            1404 ROUTE 300 NEWBURGH NY 12550
THE SHERWIN-WILLIAMS COMPANY            823 E HIGH ST CARLISLE PA 17013
THE SHERWIN-WILLIAMS COMPANY            51 MORGAN DR STE 9 NORWOOD MA 02062
THE SHERWIN-WILLIAMS COMPANY            2775 SHERWIN WILLIAMS CO TONAWANDA NY 14150
THE SHERWIN-WILLIAMS COMPANY            PO BOX 26007 CHARLOTTE NC 28269
THE SHERWIN-WILLIAMS COMPANY            PO BOX 480605 CHARLOTTE NC 28269
THE SHERWIN-WILLIAMS COMPANY            3510 PAPERMILL DR KNOXVILLE TN 37909
THE SHERWIN-WILLIAMS COMPANY            2043 STRINGTOWN RD GROVE CITY OH 43123
THE SHERWIN-WILLIAMS COMPANY            3773 S HAMILTON RD GROVEPORT OH 43125
THE SHERWIN-WILLIAMS COMPANY            4788 W BROAD ST COLUMBUS OH 43228
THE SHERWIN-WILLIAMS COMPANY            2872 CENTER ROAD BRUNSWICK OH 44212
THE SHERWIN-WILLIAMS COMPANY            3143 E KEMPER RD SHARONVILLE OH 45241
THE SHERWIN-WILLIAMS COMPANY            307-R UPPER RIVER RD GALLIPOLIS OH 45631
THE SHERWIN-WILLIAMS COMPANY            833 4TH AVE S NASHVILLE TN 37210
THE SHERWIN-WILLIAMS COMPANY            5232 DIXIE HWY LOUISVILLE KY 40216
THE SHERWIN-WILLIAMS COMPANY            2377 E MAIN ST PLAINFIELD IN 46168
THE SHERWIN-WILLIAMS COMPANY            5350 W RAYMOND ST INDIANAPOLIS IN 46241
THE SHERWIN-WILLIAMS COMPANY            6692 W WASHINGTON ST INDIANAPOLIS IN 46241
THE SHERWIN-WILLIAMS COMPANY            4150 LAFAYETTE RD INDIANAPOLIS IN 46254
THE SHERWIN-WILLIAMS COMPANY            7667 91ST AVE PLEASANT PRAIRIE WI 53158
THE SHERWIN-WILLIAMS COMPANY            2000 COUNTY RD 42 WEST BURNSVILLE MN 55337
THE SHERWIN-WILLIAMS COMPANY            3564 MAIN ST NW COON RAPIDS MN 55448
THE SHERWIN-WILLIAMS COMPANY            10690 BALTIMORE ST NE BLAINE MN 55449-4514
THE SHERWIN-WILLIAMS COMPANY            10551 W CERMAK RD WESTCHESTER IL 60154
THE SHERWIN-WILLIAMS COMPANY            1601 EASTPORT PLAZA DR STE 101 COLLINSVILLE IL 62234
THE SHERWIN-WILLIAMS COMPANY            1608 S BROADWAY SAINT LOUIS MO 63104



Epiq Corporate Restructuring, LLC                                                                  Page 1888 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1897 of 2156

Claim Name                               Address Information
THE SHERWIN-WILLIAMS COMPANY             3109 WATSON RD ST LOUIS MO 63139
THE SHERWIN-WILLIAMS COMPANY             1904 GOVERNMENT ST MOBILE AL 36606
THE SHERWIN-WILLIAMS COMPANY             8900 W 95TH ST OVERLAND PARK KS 66212
THE SHERWIN-WILLIAMS COMPANY             2310 STERLINGTON RD MONROE LA 71203
THE SHERWIN-WILLIAMS COMPANY             13815 SANTA FE CROSSINGS EDMOND OK 73013
THE SHERWIN-WILLIAMS COMPANY             3049 N BELTLINE RD IRVING TX 75062
THE SHERWIN-WILLIAMS COMPANY             816 1ST ST NW ALBUQUERQUE NM 87102
THE SHERWIN-WILLIAMS COMPANY             6200 COORS BLVD NW STE G ALBUQUERQUE NM 87120
THE SHERWIN-WILLIAMS COMPANY             1375 CAMINO REAL RD SAN BERNARDINO CA 92408
THE SHERWIN-WILLIAMS COMPANY             1440 N LOMBARD ST, STE D PORTLAND OR 97217
THE SHERWIN-WILLIAMS COMPANY             2518 W KENNEWICK AVE KENNEWICK WA 99336
THE SHERWIN-WILLIAMS COMPANY             3936 W CLEARWATER AVE KENNEWICK WA 99336
THE SIGMAN LAW FIRM P.A.                 PO BOX 17249 RALEIGH NC 27619
THE SIXTH BROTHER INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
THE SOVEREIGN                            5301 N. TARRANT PKWY. FORT WORTH TX 76244
THE SPITZ LAW FIRM LLC                   25825 SCIENCE PARK DR STE 200 BEACHWOOD OH 44122
THE SPRAY GUN                            4245 PRODUCTION CT LAS VEGAS NV 89115
THE ST LOUIS MAT CO INC                  D/B/A: ST. LOUIS MAT & LINEN CO P.O. BOX 411934 ST. LOUIS MO 63141
THE STANDARD STEEL COMPANIES             PO BOX 4828 PORTLAND OR 97208
THE STANDARD STEEL COMPANIES             1745 NE COLUMBIA BLVD PORTLAND OR 97211
THE STATE OF MONTANA-RMTD                PO BOX 200124 HELENA MT 59620
THE TEJEROS BROTHERS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
THE TERMINIX INTERNATIONAL COMPANY L P   D/B/A: TERMINIX INTERNATIONAL COMPANY LP P.O. BOX 1000, DEPT. 916 MEMPHIS TN
                                         38148
THE TERMINIX INTERNATIONAL COMPANY L P   P.O. BOX 1000, DEPT. 916 MEMPHIS TN 38148
THE TERRA FIRMA CO ECHO                  ATTN: NICOLE TUCKER 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
THE TIGER TRANSPORTATION LLC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
THE TILE SHOP                            14000 CARLSON PARKWAY PLYMOUTH MN 55441
THE TIRE TERMINAL                        1750 BRITANNIA ROAD EAST MISSISSAUGA ON L4W 1J3 CANADA
THE TIRE TERMINAL                        1770 BRITANNIA RD E MISSISSAUGA ON L4W 1J3 CANADA
THE TOOL STORE                           4529 S HARLEM AVE FOREST VIEW IL 60402
THE TORO COMPANY                         ATTN: CATHERINE HARP 8111 LYNDALE AVE S BLOOMINGTON MN 55420
THE TORO COMPANY                         ATTN: CATHERINE HARP 8111 LYNDALE AVENUE SOUTH BLOOMINGTON MN 55420-1196
THE TOW TRUCK COMPANY                    D/B/A: 1ST RESPONSE TOWING INC 3975 W HACIENDA AVE LAS VEGAS NV 89118
THE TRADITION, LOVERS LANE               ADDRESS ON FILE
THE TRAILER SHOP                         PO BOX 1290 ROCKY MOUNT NC 27802
THE TRAILER SHOP                         2460 N. CHURCH ST. ROCKY MOUNT NC 27804
THE TRANSPORTER DS                       3022 E 7145 S COTTONWOOD HEIGHTS UT 84121
THE TRANSPORTER DS                       REY GONZALEZ, 3022 E 7145 S COTTONWOOD HEIGHTS UT 84121
THE TRANZONIC COMPANIES                  26301 CURTISS WRIGHT PKWY STE 200 CLEVELAND OH 44143
THE TRIDENT-BOLT GROUP LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THE TRUCK DEPOT LLC                      ATTN: GENERAL COUNSEL 23901 NE SANDY BLVD WOOD VILLAGE OR 97060
THE TRUCK EXHAUST PLACE                  1365 BONHILL RD MISSISSAUGA ON L5T 1M1 CANADA
THE TRUCKERS CHOICE, INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
THE TRUCKING COMPANY                     PO BOX 320702 FRANKLIN WI 53132
THE TRUCKING PROS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THE TRUE BLUE HORSE LLC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
THE UNION TRANSPORT LLC                  OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565



Epiq Corporate Restructuring, LLC                                                                  Page 1889 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1898 of 2156

Claim Name                           Address Information
THE UNIVERSITY OF AKRON              UA SOLUTIONS AKRON OH 44325
THE UPS STORE 2540                   304 INDIAN TRACE WESTON FL 33326
THE UTTERMOST                        ATTN: ANGIE GEORGE 3325 GRASSY HILL RD ROCKY MT VA 24151
THE UTTERMOST                        PO BOX 558 ROCKY MOUNT VA 24151
THE VALLEY TRUCKING COMPANY LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THE VERY ELECT LOGISTIC LLC          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
THE VILLAGE AT SKYLINE PINE          1050 FAIRMONT BLVD RAPID CITY SD 57701
THE VILLAGE FREIGHT LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
THE VILLAGES ENTERTAINMENT           1070 CANAL STREET THE VILLAGES FL 32162
THE VOLLRATH COMPANY                 1236 N. 18TH STREET SHEBOYGAN WI 53081
THE VOLLRATH COMPANY                 ATTN: TONI SPECKMAN 1236 N. 18TH STREET SHEBOYGAN WI 53081
THE WATER COOLER INC                 1180 BRUNSWICK ST WINNIPEG MB R2G 3G3 CANADA
THE WATER SOURCE LLC                 2586 MOORE RD GERMANTOWN TN 38138
THE WATERWORKS                       550 SCHROCK RD COLUMBUS OH 43229
THE WAY TRANSPORTATION LLC           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
THE WAY TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
THE WHEELERSHIP                      PO BOX 1634 SMITHTOWN NY 11787
THE WILLIS CORPORATION               C\O SANTA BARBARA & VENTURA COUNTY OVERHEAD DOOR 1151 CALLENS ROAD VENTURA CA
                                     93003
THE WRENCH TRUCK AND TRAILER         6200 W. 51ST ST, BUILDING B, UNIT 1 CHICAGO IL 60638
THE ZOO LOGISTICS                    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
THEADO T REED II                     ADDRESS ON FILE
THEE ROAD SERVICE                    PO BOX 1087 SULPHUR SPRINGS TX 75483
THEE ROYAL DOLL TRUCKING INC         OR MJN CAPITAL, INC, 534 E 800 N OREM UT 84097
THEE WAY EXPRESS LLC                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
THEILING, SHERRY                     ADDRESS ON FILE
THELAN, STEVEN                       ADDRESS ON FILE
THELEOSTEAM TRANSPORT LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THEM ALSTON BOYZ TRUCKING LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THEO LANIER ENTERPRISE               OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
THEO TRUCKING INC                    948 SPRING HILL CT BRUNSWICK OH 44212
THEODORE ADAMCRYK                    ADDRESS ON FILE
THEODORE LEWIS                       ADDRESS ON FILE
THEODORE M BIRD                      ADDRESS ON FILE
THEODORE, BRUCE                      ADDRESS ON FILE
THEODUS, JEFF                        ADDRESS ON FILE
THERAPEUTIC TOUCH BYTESSA            1731 MANGROVE AVE. CHICO CA 95926
THERESA CLAVIN                       ADDRESS ON FILE
THERESA M BASHORE                    ADDRESS ON FILE
THERESA P HOUSTON                    ADDRESS ON FILE
THERESA SMITH                        ADDRESS ON FILE
THERM ALL                            2332 STATION DR STE A STOCKTON CA 95215
THERMA GLASS                         2300 SE BETA ST MILWAUKIE OR 97222
THERMA TRU                           601 RE JONES ROAD BUTLER IN 46721
THERMA TRU                           ATTN: SHELBY BREWER 601 RE JONES ROAD BUTLER IN 46721
THERMA-TRON-X INC                    1155 S NEENAH AVE STURGEON BAY WI 54235
THERMAL PRODUCTS                     830 N 127TH ST STE B SEATTLE WA 98133
THERMAL SHIPPING SOLUTIONS           38 MILLER AVE UNIT 252 MILL VALLEY CA 94941
THERMAL SUPPLY                       717 S LANDER ST SEATTLE WA 98134



Epiq Corporate Restructuring, LLC                                                               Page 1890 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1899 of 2156

Claim Name                           Address Information
THERMO FISHER                        1600 LEXINGTON AVE. ROCHESTER NY 14606
THERMO FISHER                        ATTN: RUSSELL SYBANG 9389 WAPLES ST SAN DIEGO CA 92121
THERMO FISHER SCI                    PO BOX 61050 FORT MYERS FL 33906
THERMO FISHER SCIENTIFIC             ATTN: WHITBY CLAIMS WHITBY CLAIMS 111 SCOTIA CT WHITBY ON L1N 6J6 CANADA
THERMO FLUIDS INC.                   P.O. BOX 734867 DALLAS TX 75373
THERMO FLUIDS INC.                   8921 N 87TH CT SCOTTSDALE AZ 85258
THERMO FLUIDS INC.                   PO BOX 7170 PASADENA CA 91109
THERMO KING CHRISTENSEN              ATTN: BRETT KAISER 7508 F ST OMAHA NE 68127
THERMO KING CHRISTENSEN, INC.        7508 F ST OMAHA NE 68127
THERMO KING CHRISTENSEN, INC.        7514 F STREET OMAHA NE 68127
THERMO KING INTERMOUNTAIN            ATTN: KEAGAN LANDON 2424 S 5370 W W VALLEY CITY UT 84120
THERMO KING MICHIGAN INC             955 76TH ST SW BYRON CENTER MI 49315
THERMO KING NORTHWEST, INC.          PO BOX 94098 SEATTLE WA 98124
THERMO KING OF CENTRAL CALIFORNIA    PO BOX 2367 FRESNO CA 93745
THERMO KING QUAD CITIES, INC.        PO BOX 6157 ROCK ISLAND IL 61204
THERMO KING WEST, INC.               PO BOX 641097 DALLAS TX 75264
THERMO KING WEST, INC.               THERMO KING CHESAPEAKE, PO BOX 641097 DALLAS TX 75264
THERMO KING WEST, INC.               PO BOX 950 TOLLESON AZ 85353
THERMO KOOL                          723 E 21ST ST LAUREL MS 39440
THERMOS LLC                          ATTN: MICHELL PUTMAN 355 THERMOS DR BATESVILLE MS 38606
THERMWELL PRODUCTS                   PO BOX 18268 NEWARK NJ 07191
THERMWELL PRODUCTS                   420 ROUTE 17 SOUTH MAHWAH NJ 07430
THERRIEN, ADAMWAYNE                  ADDRESS ON FILE
THERRIEN, DERRICK                    ADDRESS ON FILE
THERRIEN, WAYNE                      ADDRESS ON FILE
THEUS, TORRENCE                      ADDRESS ON FILE
THEW, WILLIAM                        ADDRESS ON FILE
THIBADO, PATSY                       ADDRESS ON FILE
THIBEAULT, RAYMOND                   ADDRESS ON FILE
THIBEAULT, VINCENT                   ADDRESS ON FILE
THIEL, AMANDA                        ADDRESS ON FILE
THIELE, TRACY                        ADDRESS ON FILE
THIELMANN, ERIC                      ADDRESS ON FILE
THIEMAN TAILGATES, INC.              600 E WAYNE ST CELINA OH 45822
THIENEMAN, CHARLES                   ADDRESS ON FILE
THIERRY, KEVIN                       ADDRESS ON FILE
THIERY, ZACHARY                      ADDRESS ON FILE
THIESSEN, JAMES                      ADDRESS ON FILE
THIESSEN, JOHANNA                    ADDRESS ON FILE
THIESSEN, SHARILYN                   ADDRESS ON FILE
THIGPEN HEATING & COOLING INC        2801 DAWN ROAD JACKSONVILLE FL 32207
THIGPEN, BYRON                       ADDRESS ON FILE
THIME, JACKILYN                      ADDRESS ON FILE
THIN BLUE LINE WORLDWIDE TRANS LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
THIND BROS LOGISTICS                 205 GALILEO DRIVE STONEY CREEK ON L8E0B7 CANADA
THIND LOGISTICS LLC                  OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
THIND TRUCKING CO.                   OR SINGH FINANCING 10206 FAIRBANKS N. HOUSTON RD. HOUSTON TX 77064
THINER, CADE                         ADDRESS ON FILE
THING, GEORGE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1891 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1900 of 2156

Claim Name                          Address Information
THIOMBIANO, SYLVAIN                 ADDRESS ON FILE
THIRAVONG, JOHNNY                   ADDRESS ON FILE
THIRD COAST HAULING LLC             28102 RIPPLING LAKE CT KATY TX 77494
THIRD EYE TRUCKING LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THIRD GENERATION TRANSPORT          603 N WAYNE ST., SUITE 1A ANGOLA IN 46703
THIRTEEN TRANSPORTATION CORP        OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
THIRTY ONE LOGISTICS INC            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
THIRTYACRE, BRYAN                   ADDRESS ON FILE
THIRY DENNIS                        ADDRESS ON FILE
THK AMERICA INC                     200 E COMMERCE DR SCHAUMBURG IL 60173
THK EXPRESS LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THK TRUCKING INC                    562 WEST LORRAINE AVE ELMHURST IL 60126
THL LOGISTICS INC                   15116 DONJULIAN ROAD CITY OF INDUSTRY CA 91745
THL TRANSPORTATION LLC              OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
THOM, MARK                          ADDRESS ON FILE
THOMAS & COMPANY                    P. O. BOX 645555 CINCINNATI OH 45264
THOMAS & LINCOLN LOGISTICS          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
THOMAS & MULLER SYSTEMS             80 E GRAVEL PIKE RED HILL PA 18076
THOMAS A AGEE II                    ADDRESS ON FILE
THOMAS AND SONS TRUCKING            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THOMAS B JIZZI                      ADDRESS ON FILE
THOMAS BAIGIS JR                    ADDRESS ON FILE
THOMAS BOYZ LOGISTICS LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
THOMAS COUNTY TAX COMMISSIONER      PO BOX 2175 THOMASVILLE GA 31799
THOMAS DEMORATO                     ADDRESS ON FILE
THOMAS DUFF                         ADDRESS ON FILE
THOMAS E ESPINOZA                   ADDRESS ON FILE
THOMAS E GILJE                      ADDRESS ON FILE
THOMAS E HERZOG                     ADDRESS ON FILE
THOMAS E JONES                      ADDRESS ON FILE
THOMAS E WENDLING                   ADDRESS ON FILE
THOMAS ELITE TRANSPORT LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
THOMAS EXPRESS TRANSPORTATION LLC   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
THOMAS F KUSH                       ADDRESS ON FILE
THOMAS FAMILY FREIGHT LINE LLC      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
THOMAS FARMS TRUCKING LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THOMAS G GARRISON                   ADDRESS ON FILE
THOMAS G GIDOSH                     ADDRESS ON FILE
THOMAS GLOVER                       ADDRESS ON FILE
THOMAS IV, NATHAN                   ADDRESS ON FILE
THOMAS J BOYNTON                    ADDRESS ON FILE
THOMAS J ERNSDORFF                  ADDRESS ON FILE
THOMAS J GRIFFIN                    ADDRESS ON FILE
THOMAS J HERBERT                    ADDRESS ON FILE
THOMAS J JONES                      ADDRESS ON FILE
THOMAS J LEDBETTER                  ADDRESS ON FILE
THOMAS J OCONNOR                    ADDRESS ON FILE
THOMAS J ROGERS                     ADDRESS ON FILE
THOMAS JR, LARRY                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1892 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1901 of 2156

Claim Name                          Address Information
THOMAS L DANIELS                    ADDRESS ON FILE
THOMAS L FISHER JR                  ADDRESS ON FILE
THOMAS L WEIGLE                     ADDRESS ON FILE
THOMAS M JAMES                      ADDRESS ON FILE
THOMAS MITCHELL                     ADDRESS ON FILE
THOMAS MITCHELL, INC.               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
THOMAS P RINELLA                    ADDRESS ON FILE
THOMAS PAGE                         ADDRESS ON FILE
THOMAS PASSMORE                     ADDRESS ON FILE
THOMAS PASSMORE                     ADDRESS ON FILE
THOMAS PATRALSKI                    ADDRESS ON FILE
THOMAS R JONES                      ADDRESS ON FILE
THOMAS TRANSPORTATION               1828 OAKHAVEN DRIVE ALBANY GA 31701
THOMAS TRANSPORTATION, INC.         602 PERU RD DUBUQUE IA 52001
THOMAS TRUCKING COMPANY LLC         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
THOMAS TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
THOMAS W BRANT III                  ADDRESS ON FILE
THOMAS WOOLLEY                      ADDRESS ON FILE
THOMAS, ADONIS                      ADDRESS ON FILE
THOMAS, ADRIAN                      ADDRESS ON FILE
THOMAS, AL                          ADDRESS ON FILE
THOMAS, ANDREW                      ADDRESS ON FILE
THOMAS, ANTHONY                     ADDRESS ON FILE
THOMAS, ANTHONY                     ADDRESS ON FILE
THOMAS, ANTHONY                     ADDRESS ON FILE
THOMAS, ANTOINE                     ADDRESS ON FILE
THOMAS, ANTONIO                     ADDRESS ON FILE
THOMAS, BILLY                       ADDRESS ON FILE
THOMAS, BRANDON                     ADDRESS ON FILE
THOMAS, BRENDA                      ADDRESS ON FILE
THOMAS, BRENT                       ADDRESS ON FILE
THOMAS, BRIAN                       ADDRESS ON FILE
THOMAS, BRIANA                      ADDRESS ON FILE
THOMAS, CARL                        ADDRESS ON FILE
THOMAS, CARLY E                     ADDRESS ON FILE
THOMAS, CEDRIC                      ADDRESS ON FILE
THOMAS, CEDRICK                     ADDRESS ON FILE
THOMAS, CHARLES                     ADDRESS ON FILE
THOMAS, CHRISTOPHER                 ADDRESS ON FILE
THOMAS, CHRISTOPHER                 ADDRESS ON FILE
THOMAS, CLAIRE                      ADDRESS ON FILE
THOMAS, CLINTON                     ADDRESS ON FILE
THOMAS, CLIVE                       ADDRESS ON FILE
THOMAS, CRAIG                       ADDRESS ON FILE
THOMAS, DAN                         ADDRESS ON FILE
THOMAS, DANNY                       ADDRESS ON FILE
THOMAS, DANTE                       ADDRESS ON FILE
THOMAS, DARIN                       ADDRESS ON FILE
THOMAS, DARRAL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1893 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 1902 of 2156

Claim Name                       Address Information
THOMAS, DARRELL                  ADDRESS ON FILE
THOMAS, DARYL                    ADDRESS ON FILE
THOMAS, DAVID                    ADDRESS ON FILE
THOMAS, DAVID                    ADDRESS ON FILE
THOMAS, DEAN                     ADDRESS ON FILE
THOMAS, DEBRA                    ADDRESS ON FILE
THOMAS, DEMO                     ADDRESS ON FILE
THOMAS, DENNIS                   ADDRESS ON FILE
THOMAS, DEVIN                    ADDRESS ON FILE
THOMAS, DONNA                    ADDRESS ON FILE
THOMAS, DOROTHY                  ADDRESS ON FILE
THOMAS, DYLAN                    ADDRESS ON FILE
THOMAS, EDDIE                    ADDRESS ON FILE
THOMAS, ERNEST                   ADDRESS ON FILE
THOMAS, EVA                      ADDRESS ON FILE
THOMAS, FRENCH                   ADDRESS ON FILE
THOMAS, GEORGE                   ADDRESS ON FILE
THOMAS, GERALD                   ADDRESS ON FILE
THOMAS, GRANT                    ADDRESS ON FILE
THOMAS, GREGORY                  ADDRESS ON FILE
THOMAS, HAROLD R                 ADDRESS ON FILE
THOMAS, HENRY                    ADDRESS ON FILE
THOMAS, HIRAM                    ADDRESS ON FILE
THOMAS, JACOB                    ADDRESS ON FILE
THOMAS, JAMAR                    ADDRESS ON FILE
THOMAS, JASON                    ADDRESS ON FILE
THOMAS, JEDA                     ADDRESS ON FILE
THOMAS, JEFFERY                  ADDRESS ON FILE
THOMAS, JEFFERY                  ADDRESS ON FILE
THOMAS, JEFFREY                  ADDRESS ON FILE
THOMAS, JEREMY                   ADDRESS ON FILE
THOMAS, JEREMY                   ADDRESS ON FILE
THOMAS, JEREMY                   ADDRESS ON FILE
THOMAS, JOHN                     ADDRESS ON FILE
THOMAS, JOSEPH                   ADDRESS ON FILE
THOMAS, JOSHUA                   ADDRESS ON FILE
THOMAS, JOSHUA                   ADDRESS ON FILE
THOMAS, JOSHUA                   ADDRESS ON FILE
THOMAS, KANDJI                   ADDRESS ON FILE
THOMAS, KEERON                   ADDRESS ON FILE
THOMAS, KEITH                    ADDRESS ON FILE
THOMAS, KEN                      ADDRESS ON FILE
THOMAS, KENYA                    ADDRESS ON FILE
THOMAS, KEVIN                    ADDRESS ON FILE
THOMAS, KEVIN                    ADDRESS ON FILE
THOMAS, KIMBERLY                 ADDRESS ON FILE
THOMAS, KURT                     ADDRESS ON FILE
THOMAS, KYRAN                    ADDRESS ON FILE
THOMAS, LADARIUS                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 1894 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1903 of 2156

Claim Name                        Address Information
THOMAS, LEON                      ADDRESS ON FILE
THOMAS, LEON                      ADDRESS ON FILE
THOMAS, LYNDON                    ADDRESS ON FILE
THOMAS, MARIO                     ADDRESS ON FILE
THOMAS, MARK                      ADDRESS ON FILE
THOMAS, MARK                      ADDRESS ON FILE
THOMAS, MARQUISE                  ADDRESS ON FILE
THOMAS, MATTHEW                   ADDRESS ON FILE
THOMAS, MELINDA GRACE             ADDRESS ON FILE
THOMAS, MICHAEL                   ADDRESS ON FILE
THOMAS, MICHAEL                   ADDRESS ON FILE
THOMAS, MICHAEL                   ADDRESS ON FILE
THOMAS, MICHAEL                   ADDRESS ON FILE
THOMAS, MICHAEL                   ADDRESS ON FILE
THOMAS, MICHAEL G                 ADDRESS ON FILE
THOMAS, MYRON                     ADDRESS ON FILE
THOMAS, NICHOLAS                  ADDRESS ON FILE
THOMAS, NINA                      ADDRESS ON FILE
THOMAS, NORMAN                    ADDRESS ON FILE
THOMAS, OMAR                      ADDRESS ON FILE
THOMAS, PATRICK                   ADDRESS ON FILE
THOMAS, RANDALL                   ADDRESS ON FILE
THOMAS, RASHEED                   ADDRESS ON FILE
THOMAS, RAY                       ADDRESS ON FILE
THOMAS, RICHARD                   ADDRESS ON FILE
THOMAS, RICHARD                   ADDRESS ON FILE
THOMAS, RICHARD                   ADDRESS ON FILE
THOMAS, ROBERT                    ADDRESS ON FILE
THOMAS, ROBERT                    ADDRESS ON FILE
THOMAS, ROBERT                    ADDRESS ON FILE
THOMAS, ROBERT                    ADDRESS ON FILE
THOMAS, ROBERT                    ADDRESS ON FILE
THOMAS, ROBIA                     ADDRESS ON FILE
THOMAS, ROCKY                     ADDRESS ON FILE
THOMAS, RODNEY                    ADDRESS ON FILE
THOMAS, RONALD                    ADDRESS ON FILE
THOMAS, ROOSEVELT                 ADDRESS ON FILE
THOMAS, SACARIO                   ADDRESS ON FILE
THOMAS, SAMUEL                    ADDRESS ON FILE
THOMAS, SANDRA                    ADDRESS ON FILE
THOMAS, SHAMARR                   ADDRESS ON FILE
THOMAS, STEPHEN                   ADDRESS ON FILE
THOMAS, STEPHEN                   ADDRESS ON FILE
THOMAS, STEPHEN                   ADDRESS ON FILE
THOMAS, STEPHON                   ADDRESS ON FILE
THOMAS, STEVEN                    ADDRESS ON FILE
THOMAS, SYDNEY                    ADDRESS ON FILE
THOMAS, TATONIA                   ADDRESS ON FILE
THOMAS, TAVARIS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1895 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1904 of 2156

Claim Name                               Address Information
THOMAS, TERRENCE                         ADDRESS ON FILE
THOMAS, TIMOTHY                          ADDRESS ON FILE
THOMAS, TONY                             ADDRESS ON FILE
THOMAS, TRAMAINE                         ADDRESS ON FILE
THOMAS, TYJUAN                           ADDRESS ON FILE
THOMAS, VENICE                           ADDRESS ON FILE
THOMAS, WALTER                           ADDRESS ON FILE
THOMAS, WILLIAM                          ADDRESS ON FILE
THOMAS, WILLIAM                          ADDRESS ON FILE
THOMAS, WILLIAM E                        ADDRESS ON FILE
THOMAS, WILLIE                           ADDRESS ON FILE
THOMAS, YONDALE                          ADDRESS ON FILE
THOMAS-JEFFERSON, EMMANUEL               ADDRESS ON FILE
THOMAS-NANCE, DONTE                      ADDRESS ON FILE
THOMASCHEK, WILLIAM                      ADDRESS ON FILE
THOMASINA CLAEYS                         ADDRESS ON FILE
THOMASO, MARCUS                          ADDRESS ON FILE
THOMASON, DANIEL B                       ADDRESS ON FILE
THOMASON, DAVID                          ADDRESS ON FILE
THOMASON, DAVIN                          ADDRESS ON FILE
THOMASTON TRANSPORTATION CO INC          170 FREIGHT ST WATERBURY CT 06702
THOMASVILLE CITY SCHOOL TAX              PO BOX 1540 THOMASVILLE GA 31799
THOMASVILLE FURNITURE XPRESS INC         149 LAZY OAK LN THOMASVILLE NC 27360
THOMEN, KAREN D                          ADDRESS ON FILE
THOMEN, MICHAEL R                        ADDRESS ON FILE
THOMISON, RASHEEM                        ADDRESS ON FILE
THOMPKINS, CHARLES                       ADDRESS ON FILE
THOMPSON & JOHNSON EQUIPMENT CO., INC.   6926 FLY RD EAST SYRACUSE NY 13057
THOMPSON CONCRETE & MASONRY LLC          19616 HIBBING WAY LAKEVILLE MN 55044
THOMPSON CREEK ORGANICS.                 9530 THOMPSON CREEK RD APPLEGATE OR 97530
THOMPSON ELECTRIC COMPANY                2300 7TH ST SIOUX CITY IA 51105
THOMPSON ELECTRIC, INC.                  49 NORTHMORELAND AVE MUNROE FALLS OH 44262
THOMPSON III, BILLY                      ADDRESS ON FILE
THOMPSON JR, ANTHONY                     ADDRESS ON FILE
THOMPSON LOGISTICS & COURIER LLC         OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                         33631-3792
THOMPSON MAGNETICS INC                   319 BUTLER ST PITTSBURGH PA 15223
THOMPSON MECHANICAL, INC.                320 3RD AVE NW WATERTOWN SD 57201
THOMPSON SAFETY                          P O BOX 842365 DALLAS TX 75284
THOMPSON TRACTOR CO., INC.               DRAWER DEPT GA00325, PO BOX 530109 ATLANTA GA 30353
THOMPSON TRACTOR CO., INC.               PO BOX 746941 ATLANTA GA 30374
THOMPSON TRACTOR CO., INC.               PO BOX 934005 ATLANTA GA 31193
THOMPSON TRACTOR CO., INC.               2401 PINSON HWY, PO BOX 10367 BIRMINGHAM AL 35202
THOMPSON TRANSPORTATION, INC.            P.O. BOX 24112 LITTLE ROCK AR 72221
THOMPSON TRUCK & TRAILER, INC.           D/B/A: THOMPSON TRUCK AND TRAILER, INC. 7820 6TH STEET SW CEDAR RAPIDS IA
                                         52404
THOMPSON TRUCK AND TRAILER, INC.         7820 6TH STREET SW CEDAR RAPIDS IA 52404
THOMPSON, AARON                          ADDRESS ON FILE
THOMPSON, ALEXIS                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1896 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 1905 of 2156

Claim Name                        Address Information
THOMPSON, ANDREW                  ADDRESS ON FILE
THOMPSON, ANTHONY                 ADDRESS ON FILE
THOMPSON, ANTWAN                  ADDRESS ON FILE
THOMPSON, ARIK                    ADDRESS ON FILE
THOMPSON, ASHLEY                  ADDRESS ON FILE
THOMPSON, ASHLEY                  ADDRESS ON FILE
THOMPSON, BARRY                   ADDRESS ON FILE
THOMPSON, BARRY                   ADDRESS ON FILE
THOMPSON, BARRY                   ADDRESS ON FILE
THOMPSON, BOYD                    ADDRESS ON FILE
THOMPSON, BRANDON                 ADDRESS ON FILE
THOMPSON, BRYON                   ADDRESS ON FILE
THOMPSON, CALLIE                  ADDRESS ON FILE
THOMPSON, CARDRANIESE             ADDRESS ON FILE
THOMPSON, CHAD                    ADDRESS ON FILE
THOMPSON, CHARLES                 ADDRESS ON FILE
THOMPSON, CHARLES                 ADDRESS ON FILE
THOMPSON, CHRISTOPHER             ADDRESS ON FILE
THOMPSON, CHRISTOPHER             ADDRESS ON FILE
THOMPSON, CLIVE                   ADDRESS ON FILE
THOMPSON, COLTON                  ADDRESS ON FILE
THOMPSON, DANIEL                  ADDRESS ON FILE
THOMPSON, DANNY                   ADDRESS ON FILE
THOMPSON, DARRIUS                 ADDRESS ON FILE
THOMPSON, DARRYL                  ADDRESS ON FILE
THOMPSON, DAVID                   ADDRESS ON FILE
THOMPSON, DAVID                   ADDRESS ON FILE
THOMPSON, DAVID                   ADDRESS ON FILE
THOMPSON, DERON                   ADDRESS ON FILE
THOMPSON, DERYL                   ADDRESS ON FILE
THOMPSON, DIANA                   ADDRESS ON FILE
THOMPSON, DINO                    ADDRESS ON FILE
THOMPSON, DONALD                  ADDRESS ON FILE
THOMPSON, DONALD                  ADDRESS ON FILE
THOMPSON, DUJUAN                  ADDRESS ON FILE
THOMPSON, DUSTIN                  ADDRESS ON FILE
THOMPSON, EDGAR                   ADDRESS ON FILE
THOMPSON, FARRELL                 ADDRESS ON FILE
THOMPSON, FRANK                   ADDRESS ON FILE
THOMPSON, GARY                    ADDRESS ON FILE
THOMPSON, GARY                    ADDRESS ON FILE
THOMPSON, GEORGE                  ADDRESS ON FILE
THOMPSON, GEORGE                  ADDRESS ON FILE
THOMPSON, GEORGE                  ADDRESS ON FILE
THOMPSON, GRANT                   ADDRESS ON FILE
THOMPSON, GREGORY                 ADDRESS ON FILE
THOMPSON, GREGORY                 ADDRESS ON FILE
THOMPSON, HUNTER                  ADDRESS ON FILE
THOMPSON, ISAAC                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 1897 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1906 of 2156

Claim Name                         Address Information
THOMPSON, JAMAL                    ADDRESS ON FILE
THOMPSON, JAMARIAN                 ADDRESS ON FILE
THOMPSON, JAMES                    ADDRESS ON FILE
THOMPSON, JAMES                    ADDRESS ON FILE
THOMPSON, JAMES                    ADDRESS ON FILE
THOMPSON, JAMES                    ADDRESS ON FILE
THOMPSON, JANELLE                  ADDRESS ON FILE
THOMPSON, JASON                    ADDRESS ON FILE
THOMPSON, JASON H                  ADDRESS ON FILE
THOMPSON, JEFFREY                  ADDRESS ON FILE
THOMPSON, JENS                     ADDRESS ON FILE
THOMPSON, JEREMY                   ADDRESS ON FILE
THOMPSON, JESSE                    ADDRESS ON FILE
THOMPSON, JIMMY                    ADDRESS ON FILE
THOMPSON, JOEL                     ADDRESS ON FILE
THOMPSON, JOHN                     ADDRESS ON FILE
THOMPSON, JOHN                     ADDRESS ON FILE
THOMPSON, JOHN                     ADDRESS ON FILE
THOMPSON, JOSEPH                   ADDRESS ON FILE
THOMPSON, JOSEPH                   ADDRESS ON FILE
THOMPSON, JOSHUA                   ADDRESS ON FILE
THOMPSON, JUSTIN                   ADDRESS ON FILE
THOMPSON, JUSTIN                   ADDRESS ON FILE
THOMPSON, KAREN                    ADDRESS ON FILE
THOMPSON, KELVIN                   ADDRESS ON FILE
THOMPSON, KENNETH                  ADDRESS ON FILE
THOMPSON, KEVIN                    ADDRESS ON FILE
THOMPSON, KEYLA                    ADDRESS ON FILE
THOMPSON, KIRK                     ADDRESS ON FILE
THOMPSON, LAKRISHA                 ADDRESS ON FILE
THOMPSON, LAMARIS                  ADDRESS ON FILE
THOMPSON, LARRY                    ADDRESS ON FILE
THOMPSON, LAVAR                    ADDRESS ON FILE
THOMPSON, LINDEN                   ADDRESS ON FILE
THOMPSON, LONNIE                   ADDRESS ON FILE
THOMPSON, LONNIE W                 ADDRESS ON FILE
THOMPSON, LORENZO                  ADDRESS ON FILE
THOMPSON, MARCUS                   ADDRESS ON FILE
THOMPSON, MARCUS                   ADDRESS ON FILE
THOMPSON, MARK                     ADDRESS ON FILE
THOMPSON, MARK                     ADDRESS ON FILE
THOMPSON, MARK                     ADDRESS ON FILE
THOMPSON, MARVIN                   ADDRESS ON FILE
THOMPSON, MATT                     ADDRESS ON FILE
THOMPSON, MATTHEW                  ADDRESS ON FILE
THOMPSON, MICHAEL                  ADDRESS ON FILE
THOMPSON, MICHAEL                  ADDRESS ON FILE
THOMPSON, MICHAEL                  ADDRESS ON FILE
THOMPSON, MIKE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1898 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 1907 of 2156

Claim Name                           Address Information
THOMPSON, NICK                       ADDRESS ON FILE
THOMPSON, NICOLE                     ADDRESS ON FILE
THOMPSON, OMAR                       ADDRESS ON FILE
THOMPSON, OTIS T                     ADDRESS ON FILE
THOMPSON, PAUL                       ADDRESS ON FILE
THOMPSON, PHYLLIS                    ADDRESS ON FILE
THOMPSON, RASHEED                    ADDRESS ON FILE
THOMPSON, REID                       ADDRESS ON FILE
THOMPSON, RICHARD                    ADDRESS ON FILE
THOMPSON, RIDGE A                    ADDRESS ON FILE
THOMPSON, ROBEN                      ADDRESS ON FILE
THOMPSON, ROBERT                     ADDRESS ON FILE
THOMPSON, ROBERT                     ADDRESS ON FILE
THOMPSON, ROBERT                     ADDRESS ON FILE
THOMPSON, RODNEY                     ADDRESS ON FILE
THOMPSON, ROGER                      ADDRESS ON FILE
THOMPSON, ROGER                      ADDRESS ON FILE
THOMPSON, RYNE                       ADDRESS ON FILE
THOMPSON, SAMUEL                     ADDRESS ON FILE
THOMPSON, SCOTT                      ADDRESS ON FILE
THOMPSON, SEAN                       ADDRESS ON FILE
THOMPSON, SKYLAR                     ADDRESS ON FILE
THOMPSON, STANLEY                    ADDRESS ON FILE
THOMPSON, STEPHEN                    ADDRESS ON FILE
THOMPSON, STEVE                      ADDRESS ON FILE
THOMPSON, STEVEN                     ADDRESS ON FILE
THOMPSON, SYDNEY                     ADDRESS ON FILE
THOMPSON, TAMMY                      ADDRESS ON FILE
THOMPSON, TERRANCE                   ADDRESS ON FILE
THOMPSON, TERRINA                    ADDRESS ON FILE
THOMPSON, THOMAS                     ADDRESS ON FILE
THOMPSON, THOMAS                     ADDRESS ON FILE
THOMPSON, TIFFANY                    ADDRESS ON FILE
THOMPSON, TIMOTHY                    ADDRESS ON FILE
THOMPSON, TIMOTHY                    ADDRESS ON FILE
THOMPSON, TIMOTHY                    ADDRESS ON FILE
THOMPSON, TOM                        ADDRESS ON FILE
THOMPSON, TONY                       ADDRESS ON FILE
THOMPSON, TONY                       ADDRESS ON FILE
THOMPSON, TONY                       ADDRESS ON FILE
THOMPSON, TONYA                      ADDRESS ON FILE
THOMPSON, TRAVIS                     ADDRESS ON FILE
THOMPSON, TRAVIS                     ADDRESS ON FILE
THOMPSON, TREVOR                     ADDRESS ON FILE
THOMPSON, TREVOR                     ADDRESS ON FILE
THOMPSON, TROY D                     ADDRESS ON FILE
THOMPSON, TYLER                      ADDRESS ON FILE
THOMPSON, TYNESHIA R                 ADDRESS ON FILE
THOMPSON, TYRESE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 1899 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1908 of 2156

Claim Name                             Address Information
THOMPSON, TYRONE                       ADDRESS ON FILE
THOMPSON, URSULA                       ADDRESS ON FILE
THOMPSON, WENDELL                      ADDRESS ON FILE
THOMPSON, WILSON                       ADDRESS ON FILE
THOMPSON, ZACHARY                      ADDRESS ON FILE
THOMPSON-MCCARTHY, LISA                ADDRESS ON FILE
THOMSEN, CHARLES                       ADDRESS ON FILE
THOMSEN, TYLER                         ADDRESS ON FILE
THOMSON ELECTRIC SALES                 127 S MAIN, PO BOX 485 LOGAN UT 84321
THOMSON INDUSTRIES INC                 ATTN: JOSE COLLINS 2695 CUSTOMHOUSE CT SAN DIEGO CA 92154
THOMSON LAWN CARE                      15 FREEDOM ACRES DR CONCORD NH 03301
THOMSON LINEAR LLC                     1300 IL 23 MARENGO IL 60152
THOMSON REUTERS (LEGAL) INC.           PO BOX 6016 CAROL STREAM IL 60197
THOMSON REUTERS CANADA LIMITED         PO BOX 1991 STN B TORONTO ON M5T 3G1 CANADA
THOMSON REUTERS TAX & ACCOUNTING R&G   PO BOX 6016 CAROL STREAM IL 60197
THOMSON REUTERS TAX & ACCOUNTING R&G   PO BOX 71687 CHICAGO IL 60694
THOMSON, GAIL                          ADDRESS ON FILE
THOMSON, JAMES                         ADDRESS ON FILE
THOMSON, KAY                           ADDRESS ON FILE
THOMSON, LANDON                        ADDRESS ON FILE
THOMYANN LLC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THOR                                   C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
THOR SPECIALTIES                       ATTN: NICOLE TUCKER ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
THOR SPECIALTIES INC                   ATTN: NICOLE TUCKER ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL
                                       60654
THOR TRANSPORT LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THORBURN, DAVID                        ADDRESS ON FILE
THORESON, KRISTOFFER                   ADDRESS ON FILE
THORN, ERIK                            ADDRESS ON FILE
THORN, FLOYD E                         ADDRESS ON FILE
THORN, JEFF                            ADDRESS ON FILE
THORN, SHAWN                           ADDRESS ON FILE
THORN, TIMOTHY                         ADDRESS ON FILE
THORNBLOOM, KRISTI                     ADDRESS ON FILE
THORNBURG, RICHARD                     ADDRESS ON FILE
THORNBURGH, JACK                       ADDRESS ON FILE
THORNE, JOSEPH                         ADDRESS ON FILE
THORNELL, LYNN A                       ADDRESS ON FILE
THORNTON, BLAINE                       ADDRESS ON FILE
THORNTON, BRANDON                      ADDRESS ON FILE
THORNTON, DAJUAN                       ADDRESS ON FILE
THORNTON, DAVID                        ADDRESS ON FILE
THORNTON, DENNIS                       ADDRESS ON FILE
THORNTON, DEWAYNE                      ADDRESS ON FILE
THORNTON, DOROTHY                      ADDRESS ON FILE
THORNTON, JAMES                        ADDRESS ON FILE
THORNTON, JAMES                        ADDRESS ON FILE
THORNTON, JOHN                         ADDRESS ON FILE
THORNTON, JOSH                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1900 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1909 of 2156

Claim Name                              Address Information
THORNTON, JOSHUA                       ADDRESS ON FILE
THORNTON, REGINALD                     ADDRESS ON FILE
THORNTON, ROBERT W                     ADDRESS ON FILE
THORNTON, RONALD                       ADDRESS ON FILE
THORNTON, TODD                         ADDRESS ON FILE
THORNTON, WAYNE                        ADDRESS ON FILE
THORNTONS LLC                          ATTN: MARK WREN 2600 JAMES THORNTON WAY LOUISVILLE KY 40245-5329
THORNVIEW ELECTRIC CO. LLC             4349 40TH ST. SE SUITE C GRAND RAPIDS MI 49512
THOROUGH TRUCKING LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
THOROUGHBRED DIRECT INTERMODAL SERVICES 3 VALLEY SQUARE 512 E TOWNSHIP LINE RD BLUE BELL PA 19422
THOROUGHBRED TRANSPORTATION, INC.      PO BOX 991274 LOUISVILLE KY 40269
THOROUGHBRED TRUCKING LLC              OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
THOROUGHTRUCK REPAIR & TOWING INC      8725 N. WILDERNESS ROAD, MT VERNON KY 40456
THORP, JEFFREY                         ADDRESS ON FILE
THORPE LOGISTICS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
THORPE, DANIEL                         ADDRESS ON FILE
THORPS, THOMAS                         ADDRESS ON FILE
THORS FREIGHT LLC                      OR VIVA CAPITAL FUNDING LLC PO BOX 17548 EL PASO TX 79917
THORSEN, JORDAN                        ADDRESS ON FILE
THORSON, DANIEL                        ADDRESS ON FILE
THORSON, ERIC                          ADDRESS ON FILE
THORSTEINSON, TIMOTHY                  ADDRESS ON FILE
THORSTENSEN, DANIEL                    ADDRESS ON FILE
THORUP, RAY                            ADDRESS ON FILE
THOTA, SWETHANA                        ADDRESS ON FILE
THOUSAND STAR TRUCKING CO LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THR LLC                                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
THR TRUCKING INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THRAP, TERRENCE W                      ADDRESS ON FILE
THRASH, BETHANY                        ADDRESS ON FILE
THRASHER, ALEXANDER                    ADDRESS ON FILE
THREADS FOR THE SOUTH, INC.            1076 KING INDUSTRIAL DR MARIETTA GA 30062
THREATS, LESTER                        ADDRESS ON FILE
THREATT, GREGORY                       ADDRESS ON FILE
THREE BARS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THREE C&T TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
THREE CARLOS TRUCKING LLC              11074 STAR ST ADELANTO CA 92301
THREE DOG TRUCKING, LLC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
THREE GENERATIONS TRANSPORTATION LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
THREE LADIES AND A MALE LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THREE NATIONS LOGISTICS LLC            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                       IL 60674-0411
THREE NATIONS LOGISTICS LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THREE OAKS TRANSPORTATION INC          OR T-PINE FINANCIAL SERVICES 6050 DIXIE ROAD MISSISSAUGA MB L5T1A6 CANADA
THREE PLUS ONE CORPORATION             4819 S THROOP ST CHICAGO IL 60609
THREE RIVERS CLINIC LLC                PO BOX 1078 THREE FORKS MT 59752
THREE RIVERS MEDICAL                   2725 E GOVERNOR JOHN SEVIER HW KNOXVILLE TN 37914
THREE RIVERS MEDICAL                   2725 E. GOVERNOR JOHN SEVIER HWY KNOXVILLE TN 37914



Epiq Corporate Restructuring, LLC                                                               Page 1901 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1910 of 2156

Claim Name                           Address Information
THREE SISTERS TRANSPORT LLC          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
THREE STAR TRANSPORT LLC             61553 MUSTANG DR SOUTH LYON MI 48178
THREE STAR TRANSPORTATION            OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
THREE STARS TRUCKING LLC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
THREE STARS TRUCKING LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
THREE STREAM TRANSPORT LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THREE5LIVE LLC                       OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
THRESHER II, WILLIAM                 ADDRESS ON FILE
THRESHER, BRIAN                      ADDRESS ON FILE
THRIFT TRUCKING                      4425 ENTERPRISE DR BARTONVILLE IL 61607
THRIFT, RODNEY                       ADDRESS ON FILE
THRONES EXPRESS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
THROOP, BRYAN                        ADDRESS ON FILE
THROW, DAKODA                        ADDRESS ON FILE
THULE LRG                            ATTN: LONNIE MCQUAY CLAIMS 18000 W 105TH ST OLATHE KS 66061
THULLER, ARCHIMEDES                  ADDRESS ON FILE
THUNDER AUTO GROUP LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THUNDER BAL DISTRIBUTORS LTD         7954 WEBSTER ROAD DELTA BC V4G 1G6 CANADA
THUNDER BASIN FORD                   1100 W 2ND ST GILLETTE WY 82716
THUNDER GROUP                        780 S. NOGALES ST CITY OF INDUSTRY CA 91748
THUNDER KNIGHT TRANSPORTATION LLC    OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
THUNDER LOGISTICS COMPANY LLC        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
THUNDER LOGISTICS INC                OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
THUNDER STRUCK INC                   ATTN: KELSIE WUTHNOW 401 COTTAGE AVE ABILENE KS 67410
THUNDER TRANSPORT                    43 LISSON CRES BRAMPTON ON L6X 5H9 CANADA
THUNDER TRANSPORTATION INC           67808 CAMPGROUND RD WASHINGTON TWP MI 48095
THUNDER TRUCKING EXPRESS LLC         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
THUNDER TRUCKING INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
THUNDER TRUCKLINE INC                OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
THUNDER USA LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
THUNDERBOLT MANAGEMENT GROUP INC.    ATTN: BARRY JENKINS TRUST 507 CANYON BLVD 100 BOULDER CO 80302
THUNDERBOLT MANAGEMENT GROUP, INC.   10989 NEW ALLEGIANCE DRIVE ATTN: DAVID J GROE MANAGING DIRECTOR COLORADO
                                     SPRINGS CO 80921
THUNDERBOLT TRUCKLINES               3992 MARACAIBO CRT WINDSOR ON N9G 0A2 CANADA
THURMAN, ALFONZIA                    ADDRESS ON FILE
THURMAN, ANDRA M                     ADDRESS ON FILE
THURMAN, ANTHONY                     ADDRESS ON FILE
THURMAN, ANTHONY                     ADDRESS ON FILE
THURMAN, ASHLEY                      ADDRESS ON FILE
THURMAN, CHRISTOPHER                 ADDRESS ON FILE
THURMAN, CHRISTOPHER                 ADDRESS ON FILE
THURMAN, DERRICK                     ADDRESS ON FILE
THURMAN, DEVON                       ADDRESS ON FILE
THURMAN, DUSTIN                      ADDRESS ON FILE
THURMAN, JOHNATHAN                   ADDRESS ON FILE
THURMAN, MARC                        ADDRESS ON FILE
THURMAN, MICHAEL                     ADDRESS ON FILE
THURMERS                             701 3RD STREET JACKSON MN 56143
THURMON, LISA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1902 OF 2145
                                             Yellow Corporation
                     Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1911 of 2156

Claim Name                            Address Information
THURMOND, JAMES                       ADDRESS ON FILE
THURNER, MICHAEL                      ADDRESS ON FILE
THURNER, MICHAEL P                    ADDRESS ON FILE
THURSTON, JEFFREY                     ADDRESS ON FILE
THURSTON, JON                         ADDRESS ON FILE
THYME TO EAT LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
THYSELL, STEVEN A                     ADDRESS ON FILE
THYSSENKRUPP ELEVATOR CORPORATION     D/B/A: TK ELEVATOR CORPORATION PO BOX 3796 CAROL STREAM IL 60132
THYSSENKRUPP ELEVATOR CORPORATION     PO BOX 3796 CAROL STREAM IL 60132
TI TRANSPORTATION INC                 3460 N HARLEM AVE 2E CHICAGO IL 60634
TI TRUCKING SERVICE LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TIAN, FENG                            ADDRESS ON FILE
TIBBI EXPRESS INCORPORATED            PO BOX 1176 HIGHTSTOWN NJ 08520
TIBBS TRANSPORTATION LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TIBBS, DANIEL                         ADDRESS ON FILE
TIBBS, LAWRENCE                       ADDRESS ON FILE
TIBO TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TIBURON LOGISTICS                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TICA INC HEATING & COOLING            735 S FRANKLIN ST DECATUR IL 62521
TICE LAWN MAINTENANCE INC             PO BOX 533 CHESHIRE CT 06410
TICE, HAROLD                          ADDRESS ON FILE
TICE, LEATRESS                        ADDRESS ON FILE
TICE, LEATRESS L                      ADDRESS ON FILE
TICE, SCOTTIE                         ADDRESS ON FILE
TICHENOR, BOBBI                       ADDRESS ON FILE
TICO EXPRESS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TIDATLOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TIDD, JEREMY                          ADDRESS ON FILE
TIDD, REBECCA                         ADDRESS ON FILE
TIDEWATER CARTAGE, INC.               540 WICKWOOD DR CHESAPEAKE VA 23322
TIDEWATER FLEET SUPPLY                D/B/A: TNT PARTS P.O. BOX 12869 NORFOLK VA 23541
TIDEWATER FLEET SUPPLY                D/B/A: TNT PARTS PO BOX 631433 CINCINNATI OH 45263
TIDEWATER FLEET SUPPLY                D/B/A: TNT PARTS PO BOX 162507 ATLANTA GA 30321
TIDEY, CRAIG                          ADDRESS ON FILE
TIDI PRODUCTS LLC                     ATTN: JENNIFER SPENCER UBER FREIGHT PO BOX 518 LOWELL AR 72745
TIDI PRODUCTS LLC                     UBER FREIGHT PO BOX 518 LOWELL AR 72745
TIDWELL, CHARLES                      ADDRESS ON FILE
TIDWELL, DALE                         ADDRESS ON FILE
TIDWELL, DARELL                       ADDRESS ON FILE
TIDWELL, JASON                        ADDRESS ON FILE
TIEM EXPRESS LLC                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TIER ONE LOGISTICS LLC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TIER POINT, LLC                       PO BOX 82670 LINCOLN NE 68501
TIERNEY & COURTNEY                    58-42 MASPETH AVENUE MASPETH NY 11378
TIERRA ENVIRONMENTAL AND INDUSTRIAL   3821 INDIANAPOLIS BLVD. EAST CHICAGO IN 46312
SVCS
TIESSEN, ZACH                         ADDRESS ON FILE
TIETZE, GERALD                        ADDRESS ON FILE
TIEU, ANDRE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1903 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1912 of 2156

Claim Name                           Address Information
TIFFANY KALINOWSKI                   ADDRESS ON FILE
TIFFANY L STRNAD                     ADDRESS ON FILE
TIFFANY MONIQUE TRUCK LINES LLC      OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320-0399
TIFFANY-HIGLEY, ALEC                 ADDRESS ON FILE
TIFOW TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TIG FLEET SERVICE                    7401 FREMONT PIKE UNIT 1 PERRYSBURG OH 43551
TIG FLEET SERVICE                    7401 FREMONT PIKE PERRYSBURG OH 43551
TIG FLEET SERVICE                    OR STERLING COMMERCIAL CREDIT 10559 CITATION DR STE 204 BRIGHTON MI 48116
TIGA LOGISTIC CORP                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
TIGER EXPRESS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TIGER KING TRUCKING LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TIGER LINES INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TIGER LINES LLC                      9826 S 242ND PL KENT WA 98030
TIGER TRANSPORT LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TIGER TRUCKING INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TIGER TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TIGER TRUCKING SERVICES INC          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TIGEY TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TIGG, ANTHONY                        ADDRESS ON FILE
TIGGELAAR, SHERRY                    ADDRESS ON FILE
TIGHE, REGGIE                        ADDRESS ON FILE
TIGHT NUTZ TRANSPORT                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TIGNER, DARION                       ADDRESS ON FILE
TIGNINO, PHILIP-MICHAEL              ADDRESS ON FILE
TIGON LOGISTICS INC                  OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
TIGRIS FULFILLMENT PARTNERS          2727 PACES FERRY RD ATLANTA GA 30339
TIGRIS TRUCKING LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TIGUE, JERRY                         ADDRESS ON FILE
TIGUE, JERRY                         ADDRESS ON FILE
TIGUE, SHARA                         ADDRESS ON FILE
TILEBAR.COM                          800 COOPERTOWN ROAD DELANCO NJ 08075
TILEBEIN, RICHARD                    ADDRESS ON FILE
TILFORD, DEVAUGHN                    ADDRESS ON FILE
TILFORD, ELBERT                      ADDRESS ON FILE
TILI LOGISTICS CORPORATION           OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
TILL, FRANK                          ADDRESS ON FILE
TILLAGE, KALES                       ADDRESS ON FILE
TILLER TRANSIT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TILLER, MICHAEL                      ADDRESS ON FILE
TILLERY TRUCKING LLC                 OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
TILLERY TRUCKING LLC (MC893634)      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TILLERY, NICHOLE                     ADDRESS ON FILE
TILLERY, TIMOTHY                     ADDRESS ON FILE
TILLETT, CAMERON                     ADDRESS ON FILE
TILLETT, DERRICK                     ADDRESS ON FILE
TILLETT, GORDON                      ADDRESS ON FILE
TILLETT, JODI                        ADDRESS ON FILE
TILLEY, JIMMY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1904 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1913 of 2156

Claim Name                              Address Information
TILLICH, ALYSSA                         ADDRESS ON FILE
TILLIS, DARRYL                          ADDRESS ON FILE
TILLIS, DAVID                           ADDRESS ON FILE
TILLMAN, BREANNA                        ADDRESS ON FILE
TILLMAN, CURTIS                         ADDRESS ON FILE
TILLMAN, DAMON                          ADDRESS ON FILE
TILLMAN, DAY-SHA                        ADDRESS ON FILE
TILLMAN, GILBERT                        ADDRESS ON FILE
TILLMAN, JOHNNIE                        ADDRESS ON FILE
TILLMAN, KATRINA                        ADDRESS ON FILE
TILLMAN, MARQUIS                        ADDRESS ON FILE
TILLMAN, VICTOR                         ADDRESS ON FILE
TILLOTSON, BRANDY                       ADDRESS ON FILE
TILLSONBURG FIRE AND SAFETY EQ          129 SIMCOE ST TILLSONBURG ON N4G 2J2 CANADA
TILMA, LARRY                            ADDRESS ON FILE
TILMAN TRANSPORTATION LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TILTON TRUCK REPAIR                     1801 E 4TH ST LIMA OH 45804
TILTON, MARKUS                          ADDRESS ON FILE
TILTON, MICHAEL                         ADDRESS ON FILE
TIM A FORD                              ADDRESS ON FILE
TIM D FISHER                            ADDRESS ON FILE
TIM EXPRESS LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TIM FERGUSON PLUMBING AIR & ELECTRIC    320 STERLING STREET JACKSON TN 38301
TIM J MAHAN JR                          ADDRESS ON FILE
TIM JACKSON                             ADDRESS ON FILE
TIM MORGAN                              ADDRESS ON FILE
TIM REID TRUCKING LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TIM RYAN TRUCKING LLC                   9815 E PARIS AVE SE CALEDONIA MI 49316
TIM TRANSPORT LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TIM TRANSPORT LLC (PLAINSBORO NJ)       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TIM WATSON TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TIMARAC, TROY                           ADDRESS ON FILE
TIMBER BROOK LOGISTICS INC.             475 MT BETHEL RD OXFORD NJ 07863
TIMBER PRODUCTS OF IRON MOUNTAIN INC.   PO BOX 1032 IRON MOUNTAIN MI 49801
TIMBERGLEN DISTRIBUTION LLC             105 TIMBERGLEN DRIVE IMPERIAL PA 15126
TIMBERLAND TREE SERVICE                 815 ELMHURST ROAD WINNIPEG MB R3R 0V3 CANADA
TIMBERLAND TRUCKINGLLC                  204 W. STATE STREET GRANBY MA 01033
TIMBERLINE DISTRIBUTORS /               THE BLACK SHEEP / DAVID P KNOLL 3585 N CEDERBLOM ST COEUR DALENE ID 83815
TIMBERLINE DISTRIBUTORS LLC /           THE BLACK SHEEP ATTN: DAVID KNOLL 3585 NORTH CEDERBLOM STREET COEUR D ALENE ID
                                        83815
TIMBERLINE DRILLING                     PO BOX 3784 COEUR D ALENE ID 83816
TIMCO LOGISTICS SYSTEMS, LLC            PO BOX 218 WAXAHACHIE TX 75168
TIMDOR ENTERPRIZES LLC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TIME 2 HAUL LLC                         OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TIME 2 ROLL TRUCKING LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TIME 2 TIME SERVICES LLC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 316 FORT WORTH TX 76116
TIME AND ALARM SYSTEMS                  3828 WACKER DR MIRA LOMA CA 91752
TIME CAP LABS INC                       7 MICHAEL AVE FARMINGDALE NY 11735
TIME CARRIERS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                               Page 1905 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1914 of 2156

Claim Name                           Address Information
TIME CITY ELITE ENTERPRISES LLC      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TIME CLOCK SALES PITTSBURGH          1985 LINCOLN WAY, SUITE 23 116 WHITE OAK PA 15131
TIME DC                              16287 HIGHWAY 60 VERONA MO 65769
TIME LOGISTICS INC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
TIME MACHINE TRUCKING LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TIME PAYMENT CORP                    PO BOX 847237 BOSTON MA 02284
TIME SAVER LOGISTICS INC             17771 CHALK CREEK DR RIVERSIDE CA 92504
TIME TRANZ INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TIME WARNER CABLE                    PO BOX 4617 CAROL STREAM IL 60197
TIME WARNER CABLE INC.               10 COLUMBUS CIR NEW YORK NY 10019
TIME WARNER CABLE INC.               BOX 223085 PITTSBURGH PA 15251
TIME WARNER CABLE INC.               PO BOX 6030 CAROL STREAM IL 60197
TIME WARNER CABLE INC.               PO BOX 7186 PASADENA CA 91109
TIME WARNER CABLE INC.               PO BOX 60074 CITY OF INDUSTRY CA 91716
TIME ZONE TRANSPORT, INC.            3161 MURFREESBORO RD LEBANON TN 37090
TIME-D.C.                            PO BOX 10323 SPRINGFIELD MO 65808
TIMELESS EXPRESS INC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TIMELESS TILE NYC                    ATTN: PETER VALERIO 1958 CONEY ISLAND AVE BROOKLYN NY 11223
TIMELINE TRANSPORTATION INC          OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284
TIMELY INDUSTRIES                    ATTN: ARTURO GOMEZ 10241 NORRIS AVE PACOIMA CA 91331-2218
TIMELY INDUSTRIES INC                10241 NORRIS AVE PACOIMA CA 91331
TIMEON LOGISTICS LLC                 OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
TIMEX TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TIMEX, INC                           OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TIMEYAH N BROWNLEE                   ADDRESS ON FILE
TIMI BRO                             ADDRESS ON FILE
TIMKEN                               1536 GENESIS RD CROSSVILLE TN 38555
TIMM, DANIEL                         ADDRESS ON FILE
TIMM, EDWARD                         ADDRESS ON FILE
TIMMERMAN JR, JASON                  ADDRESS ON FILE
TIMMERMAN, JASON                     ADDRESS ON FILE
TIMMONS ELECTRIC                     4855 CLIFF GOOKIN BLVD TUPELO MS 38801
TIMMONS TRANSIT, INC.                TIMMONS TRANSIT, INC., 3116 NESTLE RD JONESBORO AR 72401
TIMMONS, GEORGE B                    ADDRESS ON FILE
TIMMONS, JACOB                       ADDRESS ON FILE
TIMMONS, MICA                        ADDRESS ON FILE
TIMMONS, NEAL                        ADDRESS ON FILE
TIMMONS, ROBERT                      ADDRESS ON FILE
TIMMONS, RUSSELL                     ADDRESS ON FILE
TIMMONS, TREVELL                     ADDRESS ON FILE
TIMOTHY A BERGSTROM                  ADDRESS ON FILE
TIMOTHY A DANCH                      ADDRESS ON FILE
TIMOTHY ALLSUP                       ADDRESS ON FILE
TIMOTHY BURCHAM                      ADDRESS ON FILE
TIMOTHY D STONE                      ADDRESS ON FILE
TIMOTHY E HARRIGAN                   ADDRESS ON FILE
TIMOTHY E THOMPSON                   ADDRESS ON FILE
TIMOTHY E. HEICHELBECH               ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1906 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1915 of 2156

Claim Name                          Address Information
TIMOTHY ETHRIDGE                    ADDRESS ON FILE
TIMOTHY FRIESEN                     ADDRESS ON FILE
TIMOTHY HEATLEY                     ADDRESS ON FILE
TIMOTHY J HUNT                      ADDRESS ON FILE
TIMOTHY J KROETCH                   ADDRESS ON FILE
TIMOTHY J TRANKINA                  ADDRESS ON FILE
TIMOTHY L KRAUSZ                    ADDRESS ON FILE
TIMOTHY L MYERS                     ADDRESS ON FILE
TIMOTHY L PARKS                     ADDRESS ON FILE
TIMOTHY L SHORT                     ADDRESS ON FILE
TIMOTHY L WEISS                     ADDRESS ON FILE
TIMOTHY MCKINSTRY                   ADDRESS ON FILE
TIMOTHY P MAHAN SR                  ADDRESS ON FILE
TIMOTHY PARKHURST                   ADDRESS ON FILE
TIMOTHY PETERSON                    ADDRESS ON FILE
TIMOTHY R CASTANEDA                 ADDRESS ON FILE
TIMOTHY R JOHNSON                   ADDRESS ON FILE
TIMOTHY THOMPSON                    ADDRESS ON FILE
TIMOTHY THOMPSON.                   ADDRESS ON FILE
TIMOTHY W TAYLOR                    ADDRESS ON FILE
TIMOTHY W TIVEY                     ADDRESS ON FILE
TIMPE, PETER                        ADDRESS ON FILE
TIMPONE, PETER                      ADDRESS ON FILE
TIMS CASCADE SNACKS                 1150 INDUSTRY DR N ALGONA WA 98001
TIMS DIESEL & AUTO REPAIR, INC      20 WHEATLAND RD THREE FORKS MT 59752
TIMS PLUMBING COMPANY LLC           6418C S HOWELL AVENUE OAK CREEK WI 53154
TIMS TOWING                         2141 GAMBLE RD SAVANNAH GA 31405
TIMUSA EXPRESS LLC                  OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
TINA LAMPHERE                       ADDRESS ON FILE
TINA MARSH                          ADDRESS ON FILE
TINAJERO TRUCKING                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TINAJERO-FLORES, JESUS              ADDRESS ON FILE
TINBIT TRANSPORTATION LLC           OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
TINCHER, BOBBY E                    ADDRESS ON FILE
TINDALL, MARK                       ADDRESS ON FILE
TINGLE, ROBERT                      ADDRESS ON FILE
TINGLER, JAMES                      ADDRESS ON FILE
TINGLEY, KENNETH                    ADDRESS ON FILE
TINKER, LARRY                       ADDRESS ON FILE
TINLIN, JACOB                       ADDRESS ON FILE
TINNICK, JAY                        ADDRESS ON FILE
TINNON, JARD                        ADDRESS ON FILE
TINOCO TRANSPORT                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TINOS TRUCKING INC                  1123 DANIELLE DR DALTON GA 30721
TINSLEY, BELINDA L                  ADDRESS ON FILE
TINSLEY, CHRISTINA                  ADDRESS ON FILE
TINSLEY, DANIEL                     ADDRESS ON FILE
TINSLEY, JESSTINA                   ADDRESS ON FILE
TINSLEY, JESSTINA                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1907 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1916 of 2156

Claim Name                               Address Information
TINSLEY, KENNETH                         ADDRESS ON FILE
TINY RHINO LLC                           OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
TIP & ACE LOGISTICS LLC                  OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
TIP FLEET SERVICES CANADA LTD.           1880 BRITANNIA RD E MISSISSAUGA ON L4W 1J3 CANADA
TIP OF TEXAS TRUCKING                    OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
TIPLER, DERRICK                          ADDRESS ON FILE
TIPPECANOE TRUCK SERVICE INC             3312 B IMPERIAL PKWY LAFAYETTE IN 47909
TIPPER, JORDAN                           ADDRESS ON FILE
TIPPLE, NICHOLAS                         ADDRESS ON FILE
TIPTON, EVERETT                          ADDRESS ON FILE
TIPTON, JEFFERY                          ADDRESS ON FILE
TIPTON, STEPHEN                          ADDRESS ON FILE
TIPTOP TRANS INC                         2968 SENTIMENT LANE GREENWOOD IN 46143
TIRADO, JORDAN                           ADDRESS ON FILE
TIRE RACK                                ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
TIRECRAFT                                MIDWAY TIRECRAFT PORT KELLS 9520 195TH STREET SURREY BC V4N 4G2 CANADA
TIRES-N-MORE                             PO BOX 437 DE WITT IA 52742
TIRK, MICHAEL                            ADDRESS ON FILE
TIROS LLC                                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TISCHLER, MICHAEL                        ADDRESS ON FILE
TISDALE, CHARLES                         ADDRESS ON FILE
TISHCHENKO, SERGEY                       ADDRESS ON FILE
TITAN BUILT LLC                          11865 S CONLEY STREET OLATHE KS 66061
TITAN ELECTRIC DIV OF TURNKEY NETWORKS   939 THOMAS AVE WINNIPEG MB R2L 2C6 CANADA
TITAN EXPRESS                            3470 BOND ST SAN BERNARDINO CA 92405
TITAN FREIGHT                            6201 SE LAKE RD MILWAUKIE OR 97222
TITAN FREIGHT LINES INC                  OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
TITAN FREIGHT SERVICES LLC               OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TITAN HAULING LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TITAN HOLDING GROUP LLC                  19840 SR 124 HECTOR AR 72843
TITAN LOGISTICS LLC                      OR NEAL FREEMAN INVESTMENTS PO BOX 505062 ST LOUIS MO 63150
TITAN MACHINERY INC.                     3301 9TH AVE SE, PO BOX 1570 WATERTOWN SD 57201
TITAN MACHINERY INC.                     644 E BEATON DR SOUTH WEST FARGO ND 58078
TITAN MACHINERY INC.                     1215 38TH ST NORTH GREAT FALLS MT 59405
TITAN TRAILER REPAIR AND SALES LLC       3621 PLEASANT RIDGE RD KNOXVILLE TN 37921
TITAN TRANS LOGISTICS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TITAN TRANSFER, INC.                     PO BOX 590 SHELBYVILLE TN 37162
TITAN TRANSPORT LLC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TITAN TRANSPORT SERVICES LLC             382 JEFFERY AVE CALUMET CITY IL 60409
TITAN TRANSPORT, LLC                     OR TRANSPORT CLEARINGS EAST 9140 ARROWPOINT BLVD SUITE 370 CHARLOTTE NC 28273
TITAN TRANSPORTATION LLC                 OR SOURCE FUNDING INC. C/O UMB BANK P.O. BOX 872632 KANSAS CITY MO 64187
TITAN XPRESS TRANSPORTS L L C            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TITANIUM ELITE TRANSPORT LLC             4281 ARGOSY COURT MADISON WI 53714
TITANS WAY LLC                           OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
TITBERIDZE, KAKHA                        ADDRESS ON FILE
TITMUS, ROGER                            ADDRESS ON FILE
TITTER, LAWRENCE                         ADDRESS ON FILE
TITUS, DESTINY                           ADDRESS ON FILE
TITUS, JUSTIN                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1908 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1917 of 2156

Claim Name                           Address Information
TITUS, SARA                          ADDRESS ON FILE
TITUS, SARA                          ADDRESS ON FILE
TIUMALU, PENIAMINA                   ADDRESS ON FILE
TIVEY, TIMOTHY                       ADDRESS ON FILE
TIWANA EXPRESS INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
TIWANA TRUCKLINE INC                 4524 ABRUZZI CIRCLE STOCKTON CA 95206
TIWARI, JAINARINE                    ADDRESS ON FILE
TJ COBRA TRUCK AND TRANSPORT         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TJ GOODS CARRIER INC                 606 NICOLE DR APT B GREENWOOD IN 46143
TJ LOGISTICS LLC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TJ PANT LLC                          25993 US 12 STURGIS MI 49091
TJ RUSS TRANSPORTS LLC               OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
TJ TRANS INC                         OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
TJ TRANSIT LLC                       OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
TJ TRANSPORTATION, LLC               TJ TRANSPORTATION, LLC, PO BOX 7234 CHESTERFIELD MO 63006
TJ TRUCKS LLC                        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TJH TRUCKING INC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TJK EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TJL TRANSPORT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TJP TRUCKING LLC                     OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
TJSL TRANSPORTATION                  OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
TK ELEVATOR CORPORATION              PO BOX 3796 CAROL STREAM IL 60132-3796
TK SERVICES, INC.                    PO BOX 51173 LOS ANGELES CA 90051
TK TRANS INC                         OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
TK2 SERVICES LLC                     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
TKAC, JOHN                           ADDRESS ON FILE
TKL COMPANY                          OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
TKO LOGISTICS INC                    1012 JOLIET ST WEST CHICAGO IL 60185
TKR TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TKRH TRUCKING LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
TKS CONCRETE SPECIALIST INC          PO BOX 86 WAPELLA IL 61777
TKW LOGISTICS INC                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
TL GRAPHICS                          9072 LYNDALE AVENUE SOUTH, SUITE 165 BLOOMINGTON MN 55420
TLA TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TLB EXPRESS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TLC & FAMILY TRUCKING, LLC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TLC & FAMILY TRUCKING, LLC           OR THUNDER CARRIER SERVICES LLC P. O. BOX 1000 DEPT 3003 MEMPHIS TN 38148
TLC EXPRESS, LLC                     PO BOX 752148 MEMPHIS TN 38141
TLC TOWING                           4545 S 11TH WAY RIDGEFIELD WA 98642
TLC TRANSPORT GROUP LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TLC TRANSPORTATION INC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TLCX INC                             OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
TLD LOGISTICS SERVICES INC.          TLD LOGISTICS SERVICES INC. DEPT AT 952873 ATLANTA GA 31192-2873
TLD TRANSPORT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TLD TRANSPORTATION LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TLG PETERBILT                        ATTN: KERI PALLARDY 1 N CENTRAL DR OFALLON MO 63366
TLI                                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TLI TRUCKING LLC                     120 DOUB WAY HAGERSTOWN MD 21740



Epiq Corporate Restructuring, LLC                                                               Page 1909 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1918 of 2156

Claim Name                           Address Information
TLM EXPEDITED LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TLM EXPRESS, LLC                     400 EAST ST. 204 WLTON MN 54670
TLR HYDRAULICS, INC.                 DBA AMERICAN HYDRAULICS P.O. BOX 1660 MIDLOTHIAN TX 76065
TLR HYDRAULICS, INC.                 DBA AMERICAN HYDRAULICS C/O SECURITY BUSINESS CAPITAL PO BOX 60593 MIDLAND TX
                                     79711
TLR2 ENTERPRISE                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TLS DOCKS & SHELTERS INC             2722 W SAMPLE ST SOUTH BEND IN 46619
TLS INDUSTRIAL TRUCKS, INC.          2722 W SAMPLE ST SOUTH BEND IN 46619
TLS SOLUTIONS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TLT LOGISTICS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TLT LOGISTICS LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TLX                                  OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
TM BRISTOL GROUP LLC                 OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TM CARGO LLC                         OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TM CARGO LLC                         OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
TM CARRIER GROUP INC                 655 DEERFIELD RD 179 DEERFIELD IL 60015
TM CLAIMS SERVICE INC                800 E COLORADO BLVD PASADENA CA 91109
TM CLAIMS SERVICE INC                ATTN: DANIEL VAUGHAN 800 E COLORADO BLVD PASADENA CA 91109
TM CLAIMS SERVICE INC                PO BOX 7216 PASADENA CA 91109
TM CLAIMS SERVICE, INC               ATTN: DANIEL VAUGHAN P.O. BOX 7216 PASADENA CA 91109-7316
TM EXPRESS LLC                       OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
TM EXPRESS, INC.                     PO BOX 2133 GRAPEVINE TX 76099
TM TRANS LLC                         2718 KRISTEN STREET LIVE OAK CA 95953
TM TRANSPORT INC                     1312 OCOTILLO LANE FORT WORTH TX 76177
TM5 LOGISTICS LLC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TMA TRUCKING LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TMARK TRUCKING LLC                   7801 DAY DR UNIT 29495 CLEVELAND OH 44129-5683
TMC                                  6115 SW LELAND AVE DES MOINES 50321
TMCO                                 500 WINN SCHOOL GLASGOW KY 42141
TMD TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TMEC TRANSPORT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TMF TRUCK & TRAILER REPAIR           3550 W 900 S SALT LAKE CITY UT 84104
TMG EXPRESS CORP                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TMG TRANSPORT, LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
TMG TRANSPORTATION,LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TMH EXPRESS LLC                      229 LITTLE BEAR BRANCH ROAD AMERICUS GA 31719
TMK INC                              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TML LOGISTICS LLC                    OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
TMN SERVICES LLC                     307 40TH ST NEW ORLEANS LA 70124
TMO TRANS INC                        PO BOX 148 ELLENTON FL 34222
TMOBILE                              PO BOX 742596 CINCINNATI OH 45274
TMOBILE                              ATTN BANKRUPTCY TEAM 12920 SE 38TH ST BELLEVUE WA 98006
TMQ TRUCKING LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
TMS CLAIMS                           1 LANDAIR WAY GREENEVILLE TN 37743
TMS CLAIMS                           ATTN: ERIKA ALEXANDER 1 LANDAIR WAY GREENEVILLE TN 37743
TMS DELIVERY                         OR CORPORATE BILLING LLC PO BOX 830604 DEPT 100 BIRMINGHAM AL 35283
TMS LOGISTICS, INC.                  PO BOX 23412, PO BOX 23412 TAMPA FL 33623
TMS TRANSPORT LLC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TMS TRANSPORT SOLUTIONS INC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                               Page 1910 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1919 of 2156

Claim Name                          Address Information
TMS TRUCKING LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TMSLL TRANSPORT INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TMT EXPRESS LLC                     OR GENERAL BUSINESS CREDIT 110 E. 9THST SUITE C-900 LOS ANGELES CA 90079
TMT GROUP INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TMT TRANSPORT                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TMT TRUCKING LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TMTB, LLC                           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TMTR TRANSPORT INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TMW TRUCKING CO.                    9248 MAPLEWOOD CT ORLAND HILLS IL 60487
TMX INTERMODAL INC                  OR TE FUNDING, 1418 E LINDEN AVE LINDEN NJ 07036
TMX, INC.                           OR AMERISOURCE FUNDING INC, PO BOX 4738 HOUSTON TX 77210
TMZ TRANSPORT SOLUTIONS LLC         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
TN DEPT ENV & CONSERVATION          WRS TN TOWER 312 ROSA L. PARKS AVE, 10TH FLOOR NASHVILLE TN 37243
TN DOT                              6601 CENTENNIAL BLVD. NASHVILLE TN 37209
TN DOT                              505 DEADERICK ST, STE 700 JAMES K POL BUILDING NASHVILLE TN 37243
TN DOT                              JAMES K. POLK BLDG., DIV OF CL 505 DEADERICK ST., SUITE 700 NASHVILLE TN 37243
TN TRANSPORT LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TN1 SPECIALIZED INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TNC GAS COMPANY                     ATTN: KEVIN PATEL 17002 TORRENCE AVE LANCING IL 60438-1098
TNF LOGISTICS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TNK LOGISTICS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TNK LOGISTICS LLC                   21802 WILSHIRE CIRCLE MACOMB MI 48044
TNK LONGHALL AND DISTRIBUTION LLC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TNK MASS SOLUTIONS                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TNL TRANSPORT LLC                   146 BRAMBLE OAK DR WOODSTOCK GA 30188
TNM TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TNO TRUCKING INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TNS EXPRESS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TNS TRANSPORT                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TNT                                 6600 S MELVINA AVE UNIT 102 BEDFORD PARK IL 60638
TNT ALWAYS TRANSPORTATION LLC       123 K AVE MARTIN TN 38237
TNT COMMERCIAL CONTRACTORS          6975 US HIGHWAY 41 S MACON GA 31210
TNT EXPRESS                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TNT EXPRESS, LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TNT FIREWORKS                       TRANSPORTATION INSIGHT, PO BOX 23000 HICKORY NC 28603
TNT FREIGHT AND LOGISTICS LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TNT HAULING LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TNT MCCOY SERVICES                  9228 195TH LN NW ELK RIVER MN 55330
TNT PARTS                           1324 LINDALE DRIVE CHESAPEAKE VA 23320
TNT PARTS                           P.O. BOX 12869 NORFOLK VA 23541
TNT PARTS                           PO BOX 631433 CINCINNATI OH 45263
TNT SOUTHERN LOGISTICS LLC          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TNT TOWING LLC                      PO BOX 342 KERMAN CA 93630
TNT TRUCK PARTS                     PO BOX 16051 MISSOULA MT 59808
TNT TRUCK PARTS                     7321 E TRENT SPOKANE VALLEY WA 99212
TNT TRUCKING EXPRESS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TNT TRUCKING LLC                    5585 GARDEN TERRACE SOUTH BEND IN 46614
TNT WRECKER SERVICE                 PO BOX 21535 BEAUMONT TX 77720
TOAN VAN NGUYEN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1911 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1920 of 2156

Claim Name                           Address Information
TOATLEY, BERNARD                     ADDRESS ON FILE
TOBAGO TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TOBAR, LARRY                         ADDRESS ON FILE
TOBIAS FARMS TRANSPORTATION, LTD.    OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TOBIAS, JAMES                        ADDRESS ON FILE
TOBICO LOGISTICS LLC                 OR TAB BANK, P.O. BOX 150290 OGDEN UT 84415
TOBIN, DOUG                          ADDRESS ON FILE
TOBIN, JACKIE                        ADDRESS ON FILE
TOBIN, MARY                          ADDRESS ON FILE
TOBIN, THOMAS                        ADDRESS ON FILE
TOBINS MAINTENANCE LLC               3114 W MOLLY LN PHOENIX AZ 85083
TOBISCH, BRYAN                       ADDRESS ON FILE
TOBOLIC, STEPHEN                     ADDRESS ON FILE
TOBON TRUCKING LLC                   OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
TOBY DAVIS                           ADDRESS ON FILE
TOBY DELIVER LLC                     OR LORENZOS TRUCKING LLC 1667 E MONUMENT PLAZA CIRCLE CASA GRANDE AZ 85122
TOBY EXPRESS                         OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TOBY TRUCKING LLC                    OR ALTACAPITAL 10455 N CENTRAL EXPRESSWAY 109-364 DALLAS TX 75231
TOBY, ANTHONY                        ADDRESS ON FILE
TOBYS MOBILE REPAIRS INC             1540 MAIN STREET SUITE 218 314 WINDSOR CO 80550
TOCIN LLC                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TOCO LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TODD A BAUMGARTNER                   ADDRESS ON FILE
TODD A SERGENT                       ADDRESS ON FILE
TODD A WILSON                        ADDRESS ON FILE
TODD BISS PRODUCTIONS, INC.          526 GRANT ST AKRON OH 44311
TODD BISS PRODUCTIONS, INC.          850 S MAIN ST AKRON OH 44311
TODD D CRAVENS                       ADDRESS ON FILE
TODD E WILLIAMS                      ADDRESS ON FILE
TODD HENSLEY                         ADDRESS ON FILE
TODD L BUTLER                        ADDRESS ON FILE
TODD R VAIL AND DAVID J HOLDSWORTH   ATTORNEY TRUST ACCOUNT ATTN: KARRIE CLINKINBEARD 2345 GRAND BLVD STE 1500
                                     KANSAS CITY MO 64108
TODD ROTH                            ADDRESS ON FILE
TODD ROTH                            ADDRESS ON FILE
TODD SOHLSTROM                       ADDRESS ON FILE
TODD STEPHEN                         ADDRESS ON FILE
TODD W ROUSH                         ADDRESS ON FILE
TODD WHALEN                          ADDRESS ON FILE
TODD, BRIAN                          ADDRESS ON FILE
TODD, DANTE                          ADDRESS ON FILE
TODD, GLEN                           ADDRESS ON FILE
TODD, KYLE                           ADDRESS ON FILE
TODD, MAYWOOD                        ADDRESS ON FILE
TODD, MICHAEL                        ADDRESS ON FILE
TODD, NICHOLAS                       ADDRESS ON FILE
TODD, PATRICIA                       ADDRESS ON FILE
TODD, RICHARD                        ADDRESS ON FILE
TODD, RICKY                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1912 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1921 of 2156

Claim Name                           Address Information
TODD, SANDRA                         ADDRESS ON FILE
TODD, STATON                         ADDRESS ON FILE
TODD, STEPHEN                        ADDRESS ON FILE
TODD, WILLIAM                        ADDRESS ON FILE
TODDS ENVIROSCAPES, INC.             7727 PARIS AVE LOUISVILLE OH 44641
TODDS MAINTENANCE & SERVICE          3369 MIMOSA DR NASHVILLE TN 37211
TODDS TOWING & RECOVERY              16100 S LINCOLN HWY PLAINFIELD IL 60586
TODDS TOWING & RECOVERY              16220 SOUTH LINCOLN HIGHWAY PLAINFIELD IL 60586
TODISCO, ANTONIO                     ADDRESS ON FILE
TODOR, NICHOLAS                      ADDRESS ON FILE
TODOROVIC, ZORAN                     ADDRESS ON FILE
TODSON INC                           4 COCASSET STREET FOXBORO MA 02035
TOELKES, TYSON                       ADDRESS ON FILE
TOENNIES, KRISTAN                    ADDRESS ON FILE
TOEUN, CHUCK                         ADDRESS ON FILE
TOFA, TIOATA                         ADDRESS ON FILE
TOFAEONO, WALLACE                    ADDRESS ON FILE
TOFF INDUSTRIES INC                  P O BOX 579 MILLDALE CT 06467
TOFF INDUSTRIES INC                  PO BOX 579, 323 CLARK ST MILLDALE CT 06467
TOFILSKI, TOM                        ADDRESS ON FILE
TOGETHER TRUCKING LLC                OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
TOGO SMITH III                       ADDRESS ON FILE
TOI TOI USA LLC                      DEPT 5947, PO BOX 11407 BIRMINGHAM AL 35246
TOJIK TRANS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOKYO LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOLA TRUCKING INC                    827 CLEARBROOK RD MATTHEWS NC 28105
TOLA, CHRIS                          ADDRESS ON FILE
TOLAND, JOHNNY                       ADDRESS ON FILE
TOLBERT, DONALD                      ADDRESS ON FILE
TOLBERT, EMMETT                      ADDRESS ON FILE
TOLBERT, JAELYN                      ADDRESS ON FILE
TOLBERT, ROBERT                      ADDRESS ON FILE
TOLBERT, ROBERT                      ADDRESS ON FILE
TOLBI LLC                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOLCO                                ATTN: KEN FRENCH TRAFFIC 1440 JACKSON ST TOLEDO OH 43604
TOLCO CORPORATION                    ATTN: KEN FRENCH 1920 LINWOOD AVE TOLEDO OH 43604
TOLCO CORPORATION                    ATTN: KEN FRENCH TRAFFIC 1920 LINWOOD AVE TOLEDO OH 43604
TOLDEN, ANDREA                       ADDRESS ON FILE
TOLEDO EDISON CO                     6099 ANGOLA RD HOLLAND OH 43528
TOLEDO ROJO, FAUSTINO                ADDRESS ON FILE
TOLEDO TRANSPORT LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TOLEDO TRANSPORTATION LLC            540 W 83RD ST HIALEAH FL 33014-3610
TOLEDO, JESSICA                      ADDRESS ON FILE
TOLEDO, RAFAEL                       ADDRESS ON FILE
TOLEDOS TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
TOLEN TRUCKING                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOLENTINO, NEIL                      ADDRESS ON FILE
TOLENTINO, TITO                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1913 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1922 of 2156

Claim Name                          Address Information
TOLER, WALTER                       ADDRESS ON FILE
TOLES, MORRIS                       ADDRESS ON FILE
TOLIVER, MAXWELL E                  ADDRESS ON FILE
TOLL GAS & WELDING SUPPLY           3005 NIAGARA LANE NORTH PLYMOUTH MN 55447
TOLL, WILLIAM                       ADDRESS ON FILE
TOLLADAY, DAVID                     ADDRESS ON FILE
TOLLAND AUTOMOTIVE ENT INC          760 TOLLAND ST EAST HARTFORD CT 06108
TOLLE, JEFFREY L                    ADDRESS ON FILE
TOLLE, JONATHAN                     ADDRESS ON FILE
TOLLEFSON, CHRIS P                  ADDRESS ON FILE
TOLLESON, BOBBY                     ADDRESS ON FILE
TOLLIVER, BERNIS                    ADDRESS ON FILE
TOLLIVER, BERNIS                    ADDRESS ON FILE
TOLLIVER, JARVIS                    ADDRESS ON FILE
TOLLIVER, RONALD                    ADDRESS ON FILE
TOLLIVER, WILLIE                    ADDRESS ON FILE
TOLMAN, ALTON                       ADDRESS ON FILE
TOLMAN, ELVIN                       ADDRESS ON FILE
TOLMAN, JASON                       ADDRESS ON FILE
TOLMAN, NATHAN                      ADDRESS ON FILE
TOLOSSA, PABLO                      ADDRESS ON FILE
TOLSON-TRANSPORTATION LLC           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
TOLZMAN, MICHAEL                    ADDRESS ON FILE
TOM CONARD                          ADDRESS ON FILE
TOM DICKERSON                       ADDRESS ON FILE
TOM DYLEWSKI SERVICES INC           4421 PINE AVE ERIE PA 16504
TOM HARRINGTON GARAGE DOORS         12789 N OAKHAVEN DR CAMBY IN 46113
TOM KIRBY                           ADDRESS ON FILE
TOM MCLEOD SOFTWARE CORPORATION     100 CORPORATE PARKWAY ATTN: DIANNE HACKNEY BIRMINGHAM AL 35242
TOM MCLEOD SOFTWARE CORPORATION     DEPARTMENT 3500, P.O. BOX 830539 BIRMINGHAM AL 35283
TOM N JERRYS BOATS CENTER           11071 JOSH GREEN LN MT VERNON WA 98273
TOM NEHL TRUCK CO.                  417 EDGEWOOD AVE S JACKSONVILLE FL 32254
TOM OCONNOR                         ADDRESS ON FILE
TOM R LUEPTOW                       ADDRESS ON FILE
TOM TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOM, AUSTIN                         ADDRESS ON FILE
TOMAH HEALTH                        501 GOPHER DR TOMAH WI 54660
TOMAH MEMORIAL HOSPITAL             321 BUTTS AVE TOMAH WI 54660
TOMAH MEMORIAL HOSPITAL             D/B/A: TOMAH HEALTH 501 GOPHER DR TOMAH WI 54660
TOMAH TRANSIT                       D/B/A: RUNNING INC DBA TOMAH TRANSIT, 318 W DECKER STREET VIROQUA WI 54665
TOMAH WATER & SEWER                 819 SUPERIOR AVE TOMAH WI 54660
TOMAH WELDING & STEEL SUPPLY        134 PLASTIC AVENUE TOMAH WI 54660
TOMAHAWK C/O ENVOY LOGISTICS        PO BOX 2803 OSHKOSH WI 54903
TOMAHAWK LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOMAHAWK POWER                      8925 CARROLL WAY STE C SAN DIEGO CA 92121
TOMAIKO, CHAD                       ADDRESS ON FILE
TOMAK LLC                           PO BOX 1244 VALPARAISO IN 46384
TOMAN, PETER                        ADDRESS ON FILE
TOMASELLO, VINCENT                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1914 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1923 of 2156

Claim Name                           Address Information
TOMASETTI, MARK                      ADDRESS ON FILE
TOMASIK, WILLIE                      ADDRESS ON FILE
TOMAZIN, ANDREW                      ADDRESS ON FILE
TOMBIGBEE ELECTRIC POWER ASSN        1346 AUBURN RD TUPELO MS 38804
TOMBLIN TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TOMBLIN, ARTHUR                      ADDRESS ON FILE
TOMBLIN, IAN                         ADDRESS ON FILE
TOMCAT EXPRESS LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
TOMCAT TRANSPORT                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TOMCZUK, STANLEY                     ADDRESS ON FILE
TOME, JOSEPH E                       ADDRESS ON FILE
TOME, MIKEL                          ADDRESS ON FILE
TOMEIS TOWING SERVICE                1369 ISLAND AVE MC KEES ROCKS PA 15136
TOMELL, MICHAEL                      ADDRESS ON FILE
TOMELLERI, AUGUST                    ADDRESS ON FILE
TOMEO LANDSCAPING                    1000 SPRING MEADOW DR QUAKERTOWN PA 18951
TOMILEI TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TOMIN, VLADISLAV                     ADDRESS ON FILE
TOMISTRANS                           1720 REBECCA ST FORT ERIE ON L2A 5M4 CANADA
TOMJACK, DUSTIN                      ADDRESS ON FILE
TOMLAN, DAVID                        ADDRESS ON FILE
TOMLANOVICH, ADAM                    ADDRESS ON FILE
TOMLEN, MELISSA                      ADDRESS ON FILE
TOMLIN AND SONS LLC                  66 LANARK AVE NEWARK NJ 07106
TOMLIN, ANDI                         ADDRESS ON FILE
TOMLIN, CHARLES W                    ADDRESS ON FILE
TOMLIN, JERRY L                      ADDRESS ON FILE
TOMLIN, LEAH                         ADDRESS ON FILE
TOMLIN, LEON                         ADDRESS ON FILE
TOMLIN, THRAIN                       ADDRESS ON FILE
TOMLIN, WILLIAM                      ADDRESS ON FILE
TOMLINSON, BILLY                     ADDRESS ON FILE
TOMLINSON, JACK                      ADDRESS ON FILE
TOMLINSON, JAMES                     ADDRESS ON FILE
TOMLINSON, ORANE                     ADDRESS ON FILE
TOMLINSON, PERRY                     ADDRESS ON FILE
TOMLINSONS INC.                      1022 MAIN STREET E. ASHLAND WI 54806
TOMMIES AUTO & DIESEL LLC            2674 JEFFERIES HWY WALTERBORO SC 29488
TOMMY GADSON TRANSPORT LLC           OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
TOMMY NGUYEN                         ADDRESS ON FILE
TOMMYS TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOMON, KEVIN                         ADDRESS ON FILE
TOMOVICK, JOHN                       ADDRESS ON FILE
TOMPKINS, DEBORAH                    ADDRESS ON FILE
TOMPKINS, JAMAAL                     ADDRESS ON FILE
TOMPKINS, KEVIN                      ADDRESS ON FILE
TOMPKINS, ROBERT                     ADDRESS ON FILE
TOMPKINS, WILLIAM                    ADDRESS ON FILE
TOMS 24 HOUR TOWING, INC             25634 WOODLAWN AVENUE ELKHART IN 46514



Epiq Corporate Restructuring, LLC                                                               Page 1915 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1924 of 2156

Claim Name                           Address Information
TOMS MOVING FREIGHT                  OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
TOMS TRUCK REPAIR                    14562 260TH ST COLD SPRING MN 56320
TOMS TRUCK REPAIR INC.               P.O. BOX 470368 SAINT LOUIS MO 63147
TOMS, DANIEL                         ADDRESS ON FILE
TOMS, JAMES                          ADDRESS ON FILE
TONELETE, JEOFFREY                   ADDRESS ON FILE
TONES TRUCKING INC.                  15390 DUTCH SETTLEMENT RD MARCELLUS MI 49067
TONEY SLAUGHTER, DANA                ADDRESS ON FILE
TONEY, DAVID                         ADDRESS ON FILE
TONEY, DONTARRIAS                    ADDRESS ON FILE
TONFA, THEODORE T                    ADDRESS ON FILE
TONG, JOSEFINA                       ADDRESS ON FILE
TONG, WEIZHE                         ADDRESS ON FILE
TONGDA TRUCKING INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TONI L KEARNEY &                     ADDRESS ON FILE
TONIGHTS TRUCKING, INC.              5574 CHETFORD DR COLUMBUS OH 43232
TONITA HIBBLER                       ADDRESS ON FILE
TONJES, RONALD                       ADDRESS ON FILE
TONKOVICH, HEIDI                     ADDRESS ON FILE
TONN, PAUL                           ADDRESS ON FILE
TONY A CANADA                        ADDRESS ON FILE
TONY BARBER WRECKER SERVICE LLC      2809 S GLOSTER ST TUPELO MS 38801
TONY CARROLL                         ADDRESS ON FILE
TONY D TRUCKING LLC                  451 JADE DR LANSING MI 48917-3461
TONY D TRUCKING LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TONY E BROWN                         ADDRESS ON FILE
TONY F TAUILIILI                     ADDRESS ON FILE
TONY FRIESEN                         ADDRESS ON FILE
TONY GILL TRANSPORT INC              4 CAMPWOOD CRES BRAMPTON ON L6P3S5 CANADA
TONY GILL TRANSPORT INC              OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
TONY L CAUDILL                       ADDRESS ON FILE
TONY L PLEUGH                        ADDRESS ON FILE
TONY LOGISTICS INC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TONY ROBERTS                         ADDRESS ON FILE
TONY TRANS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TONY TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TONY XPRESS TRUCKING CORP            OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TONYS CLEANING SERVICE INC.          27 TANGLEWOOD DR CUMBERLAND RI 02864
TONYS EXPRESS INC                    10613 JASMINE ST FONTANA CA 92337
TONYS TIRE SERVICE - CLEAR LAKE      2406 15TH AVE N CLEAR LAKE IA 50428
TONYS TIRE SERVICE - WILLIAMS        2207 VAIL AVE WILLIAMS IA 50271
TONYS TIRE SERVICE - WILLIAMS        340 CLOSZ DR WEBSTER CITY IA 50595
TONYS TOWING INC                     8326 NICHOLS AVE. EXT. FAIRHOPE AL 36532
TONYS TRAILER SERVICE INC.           PO BOX 42204 INDIANAPOLIS IN 46242
TONYS TRANSFER INC                   1502 REINI DR WADENA MN 56482
TONYS TRANSPORT & SERVICE INC.       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
TONYS TRANSPORT LLC                  13428 ANSEL TER GERMANTOWN MD 20874
TONYS TRANSPORT LLC                  2230 ASH CT OAK CREEK WI 53154
TONYS TRANSPORTATION                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                            Page 1916 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1925 of 2156

Claim Name                           Address Information
TONYS TRUCKING EXPRESS               OR ECAPTIAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TONYS WRECKER SERVICE, INC.          P.O. BOX 7513 LOUISVILLE-JEFFERSON KY 40257
TOODLE, ANTHONY                      ADDRESS ON FILE
TOOHEY, RYAN                         ADDRESS ON FILE
TOOKES, BRANDON                      ADDRESS ON FILE
TOOKS, TONY                          ADDRESS ON FILE
TOOL HOUSE INC                       11949 READING ROAD SHARONVILLE OH 45241
TOOLES, COTILLA M                    ADDRESS ON FILE
TOOLEY, MARK                         ADDRESS ON FILE
TOOLS FOR BENDING INCORPORATED       ATTN: TRACY LINAN 194 W DAKOTA AVE DENVER CO 80223
TOOLS UNLIMITED                      PO BOX 5757 TOLEDO OH 43613
TOOLTRON                             103 PARKWAY DR. BOERNE TX 78006
TOOLY GROUP LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOOMBS, BERKLEY                      ADDRESS ON FILE
TOOMBS, DEBBIE                       ADDRESS ON FILE
TOON INVESTMENTS LLC                 4931 S VICTORIA ST WICHITA KS 67216
TOON INVESTMENTS LLC                 ATTN: ED TOON 4931 S. VICTORIA ST. WICHITA KS 67216
TOON LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOOPS, ROGER                         ADDRESS ON FILE
TOOR TRANSLINE INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TOOR TRANSPORT                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOOR TRANSPORT LLC                   83 HOLLY DRIVE PARLIN NJ 08859
TOOR, BABAR A                        ADDRESS ON FILE
TOP 1 EXPRESS INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TOP 2 BOTTOM                         OR SMARTTRUCKER LLC PO BOX 30516 DEPT 506 LANSING MI 48909-8016
TOP BRASS CLEANING SERVICES LTD.     14611-60ST NW EDMONTON AB T5A 1Z3 CANADA
TOP CARE SERVICES LLC                OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
TOP CARGO TRANSPORTS LLC             OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TOP CHOICE TRUCKING LLC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TOP CLASS LLC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOP DESIGN SURFACE                   3990 HIGHWAY 157 RISING FAWN GA 30738
TOP ENERGY LTD                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TOP EXPRESS LLC                      OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
TOP FLIGHT HAULERS INC               OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
TOP FLIGHT TRANSPORTATION LLC        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TOP FREIGHT EXPRESS INCORPORATED     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TOP FREIGHT LGX                      3400 COTTAGE WAY SACRAMENTO CA 95825
TOP FREIGHT LLC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TOP GEAR CARRIERS INC                OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
TOP GUN TRANSPORT LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOP GUN TRANSPORTATION LLC           1430 CLINTON STREET BUFFALO NY 14206
TOP LINE ASPHALT                     1410 LAUREN LN STE 101 CALDWELL ID 83605
TOP LINE FREIGHT SYSTEMS INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOP LINE LOGISTICS LLC               OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TOP LINE TRUCKING INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TOP LOT TRUCKING INC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TOP NOTCH CARRIERS INC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
TOP NOTCH LOGISTICS LLC              100 BARBARA DR EDMOND OK 73013-4436
TOP NOTCH TRUCKERS INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154



Epiq Corporate Restructuring, LLC                                                               Page 1917 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 1926 of 2156

Claim Name                              Address Information
TOP NOTCH TRUCKING LLC                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TOP OF THE LINE HAY STRAW & TRANS LLC   PO BOX 301 HARRIS NY 12742
TOP OF THE LINE SIGNS AND PROMOS        3851 DAVISON ROAD FLINT MI 48506
TOP ONE TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TOP RANKING LLC                         OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
TOP RUNNER TRUCKING LLC                 OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
TOP SERVICE TRUCKING LTD LIABILITY CO   OR APEX CAPITAL CORP PO BOX 961029 FT WORTH TX 76161-1029
TOP SPEED TRANSPORTATION INC            2468 FOGGY CREEK CIRCLE CLEARWATER FL 33764
TOP STOP MARKET, LLC                    1361 MCMINNVILLE HWY MANCHESTER TN 37355
TOP TEAM TRUCKING, LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TOP THREE LOGISTICS LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TOP TIER INDUSTRIAL                     3728 LUELLA AVE JACKSON MI 49201
TOP TIER LOGISTICS LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                        CHICAGO IL 60674-0411
TOP TIER TRANSIT LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TOP TIER TREES                          2431 HIDDEN HILLS DRIVE MARIETTA GA 30066
TOP TRANSPORT INC                       116 S PRINCETON AVE VILLA PARK IL 60181
TOP TRUCK LLC                           OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
TOP TRUCK SERVICES CORP                 165 BLISS ST WEST SPRINGFIELD MA 01089
TOP TRUCKING INC                        OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
TOP-TEN EXPRESS CORP                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TOPAZ TRANSPORT INC                     OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
TOPAZ USA                               925 WAVERLY AVE HOLTSVILLE NY 11742
TOPELS TOWING SERVICE, LLC              D/B/A: HDM TOWING & RECOVERY, LLC P.O. BOX 737 LAKE MILLS WI 53551
TOPETE, ROMAN                           ADDRESS ON FILE
TOPEX INC                               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TOPGEAR LOGISTICS LLC                   4951 NEW CUT RD INMAN SC 29349
TOPGEAR LOGISTICS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TOPHAT LEASING                          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TOPHILL TRANSPORT LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TOPIK, KEVIN                            ADDRESS ON FILE
TOPLINE EXPRESS LLC                     OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
TOPMOST CHEMICAL & PAPER CORPORATION    PO BOX 18913 MEMPHIS TN 38181
TOPOROSKI, RUSSELL                      ADDRESS ON FILE
TOPPER                                  ATTN: JUSTIN CLAUSSEN 1333 GLENWOOD ST WOODLAND WA 98674
TOPPS PAVING & SEALING LLC              11502 DORSETT ROAD MARYLAND HEIGHTS MO 63043
TOPPS, SABRINA                          ADDRESS ON FILE
TOPRADEX INC                            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TOPROLL TRANSPORTATION INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TOPS PRODUCTS                           15 WILLIAMS DR UNION MO 63084
TOPS PRODUCTS                           ATTN: CHRISTOPHER SPRINGSTON 39324 LBJ FWY STE 120 DALLAS TX 75232
TOPSON TRANSPORTATION LLC               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TOR TRANSPORTATION INC                  OR FARO FACTORING 7613 ROCIO DR SUITE 1 LAREDO TX 78041
TOR-TESS TRANSPORT LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TORAN, MARLON                           ADDRESS ON FILE
TORCH                                   ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
TORCH TRANSPORTATION USA LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TORCOMIAN, TOROS                        ADDRESS ON FILE
TORDECILLAS, JHOMAYRA                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1918 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1927 of 2156

Claim Name                           Address Information
TORDSEN, KEVIN S                     ADDRESS ON FILE
TOREGANO, LAMONTE                    ADDRESS ON FILE
TOREY TRANSPORT LLC                  OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
TORGERSON, JEFFERY                   ADDRESS ON FILE
TORGERSON, TATE                      ADDRESS ON FILE
TORGERSON, ZACHARY                   ADDRESS ON FILE
TORING, GYVER                        ADDRESS ON FILE
TORIS B RUDD                         ADDRESS ON FILE
TORNADO HAULERS LTD                  42 SEDONA CRES WINNIPEG MB R2R 2W4 CANADA
TORNOW, TANYA                        ADDRESS ON FILE
TORO COMPANY                         ATTN: LOUISE PEARSON 8111 LYNDALE AVE S BLOOMINGTON MN 55420-1196
TORO DELIVERY SERVICES LLC           OR LORENZOS TRUCKING LLC 1667 E MONUMENT PLAZA CIRCLE CASA GRANDE AZ 85122
TORO TOWING, INC.                    14989 VALLEY BLVD FONTANA CA 92335
TORO TRANS, INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TORO, JACOB                          ADDRESS ON FILE
TORO, LUIS                           ADDRESS ON FILE
TORO, PETER                          ADDRESS ON FILE
TORODO TRUCKING AND FREIGHT LLC      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TOROK, RICHARD                       ADDRESS ON FILE
TOROMONT CAT                         PO BOX 1200 POINTE-CLAIRE QC H9R 4R6 CANADA
TOROMONT CAT                         A DIVISION OF TOROMONT INDUSTRIED LTD 50 ENTERPRISE DRIVE LONDON ON N6N 1A7
                                     CANADA
TOROMONT CAT                         140 INKSBROOK DRIVE WINNIPEG MB R2R 2W3 CANADA
TOROMONT INDUSTRIES LTD              4000 ROUTE TRANSCANADIENNE POINTE-CLAIRE QC H9R 1B2 CANADA
TOROMONT INDUSTRIES LTD              140 INKSBROOK DRIVE WINNIPEG MB R2R 2W3 CANADA
TOROS TORCOMIAN                      ADDRESS ON FILE
TOROS TRUCKS, LLC                    11111 W CITRUS GROVE WAY AVONDALE AZ 85392
TORPEDO TRANSPORT SERVICES LLC       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TORQUE LOGISTICS INC                 OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
TORR, CHRISTINE                      ADDRESS ON FILE
TORRE, ANGELO                        ADDRESS ON FILE
TORRE, ANTHONY                       ADDRESS ON FILE
TORRENCE, TYLER                      ADDRESS ON FILE
TORRES ALVARADO, NOE                 ADDRESS ON FILE
TORRES CARLO, MADELINE               ADDRESS ON FILE
TORRES DE DIOS, JOSE                 ADDRESS ON FILE
TORRES EXPRESS SERVICES CORP         OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
TORRES FLORES, KENNY                 ADDRESS ON FILE
TORRES FREIGHT & TRANSPORT LLC       3425 SAHARA DR APT 2 EDINBURG TX 78541
TORRES GARCIA, JORGE RAFAEL          ADDRESS ON FILE
TORRES JR, MIGUEL                    ADDRESS ON FILE
TORRES LUCIANO, GERARDO              ADDRESS ON FILE
TORRES LUCIANO, GERARDO              ADDRESS ON FILE
TORRES MALAGA, EDGARD                ADDRESS ON FILE
TORRES MARTINEZ, OSCAR               ADDRESS ON FILE
TORRES TRANSPORT LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TORRES TRUCKING OF PLAINVIEW, INC.   304 BRYAN ST PLAINVIEW TX 79072
TORRES XPRESS L.L.C.                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TORRES XPRESS LLC                    OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400



Epiq Corporate Restructuring, LLC                                                               Page 1919 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 1928 of 2156

Claim Name                          Address Information
TORRES, ADAN F                      ADDRESS ON FILE
TORRES, AGUSTIN                     ADDRESS ON FILE
TORRES, ANDRES                      ADDRESS ON FILE
TORRES, ANTONIO                     ADDRESS ON FILE
TORRES, BYRON                       ADDRESS ON FILE
TORRES, CARLOS                      ADDRESS ON FILE
TORRES, CARLOS                      ADDRESS ON FILE
TORRES, CESAR                       ADDRESS ON FILE
TORRES, CHRISTIAN                   ADDRESS ON FILE
TORRES, CHRISTOPHER                 ADDRESS ON FILE
TORRES, CHRISTOPHER                 ADDRESS ON FILE
TORRES, CLEVE                       ADDRESS ON FILE
TORRES, DAISY                       ADDRESS ON FILE
TORRES, DANIEL                      ADDRESS ON FILE
TORRES, DANIEL W                    ADDRESS ON FILE
TORRES, DARYL                       ADDRESS ON FILE
TORRES, ECTOR                       ADDRESS ON FILE
TORRES, EDMUNDO                     ADDRESS ON FILE
TORRES, EDUARDO                     ADDRESS ON FILE
TORRES, ERASMO                      ADDRESS ON FILE
TORRES, ERASMO                      ADDRESS ON FILE
TORRES, ERASMO                      ADDRESS ON FILE
TORRES, ESTHER                      ADDRESS ON FILE
TORRES, FELIPE                      ADDRESS ON FILE
TORRES, FERNANDO                    ADDRESS ON FILE
TORRES, FRANCISCO                   ADDRESS ON FILE
TORRES, FRANCISCO                   ADDRESS ON FILE
TORRES, GEORGE                      ADDRESS ON FILE
TORRES, HERIBERTO                   ADDRESS ON FILE
TORRES, JASON                       ADDRESS ON FILE
TORRES, JESUS                       ADDRESS ON FILE
TORRES, JOHNNY                      ADDRESS ON FILE
TORRES, JORGE                       ADDRESS ON FILE
TORRES, JOVANI                      ADDRESS ON FILE
TORRES, KARINA                      ADDRESS ON FILE
TORRES, KEVIN                       ADDRESS ON FILE
TORRES, LINDA                       ADDRESS ON FILE
TORRES, LISA                        ADDRESS ON FILE
TORRES, LUIS                        ADDRESS ON FILE
TORRES, LUIS                        ADDRESS ON FILE
TORRES, LUIS                        ADDRESS ON FILE
TORRES, LUIS C                      ADDRESS ON FILE
TORRES, MARCELLO                    ADDRESS ON FILE
TORRES, MARCOS                      ADDRESS ON FILE
TORRES, MAURO                       ADDRESS ON FILE
TORRES, MERLIN                      ADDRESS ON FILE
TORRES, OMAR                        ADDRESS ON FILE
TORRES, OSCAR                       ADDRESS ON FILE
TORRES, PEDRO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 1920 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1929 of 2156

Claim Name                              Address Information
TORRES, PEDRO                           ADDRESS ON FILE
TORRES, PRISCILLA                       ADDRESS ON FILE
TORRES, RAMON                           ADDRESS ON FILE
TORRES, RAMON                           ADDRESS ON FILE
TORRES, RAYMOND                         ADDRESS ON FILE
TORRES, REGINA                          ADDRESS ON FILE
TORRES, ROBERT                          ADDRESS ON FILE
TORRES, ROBERT                          ADDRESS ON FILE
TORRES, SABAS                           ADDRESS ON FILE
TORRES, SANTOS                          ADDRESS ON FILE
TORRES, VICTOR                          ADDRESS ON FILE
TORRES, VICTOR                          ADDRESS ON FILE
TORRES, VIDAL                           ADDRESS ON FILE
TORRES, WILLIE                          ADDRESS ON FILE
TORRES- MARTINEZ, JESSE                 ADDRESS ON FILE
TORRESMALAGA, EDUARDO                   ADDRESS ON FILE
TORREY, MARK                            ADDRESS ON FILE
TORREZ II, DANNY                        ADDRESS ON FILE
TORREZ, CHRIS                           ADDRESS ON FILE
TORREZ, DOMINIC A                       ADDRESS ON FILE
TORREZ, JULIO                           ADDRESS ON FILE
TORREZ, TARAH                           ADDRESS ON FILE
TORREZ, TODD                            ADDRESS ON FILE
TORREZ, VINCENT                         ADDRESS ON FILE
TORTEL, ERROW                           ADDRESS ON FILE
TORTO, ALFRED                           ADDRESS ON FILE
TORTORELLA, FRANK                       ADDRESS ON FILE
TORY J RICHARDSON                       ADDRESS ON FILE
TOSCA, ALEX                             ADDRESS ON FILE
TOSCANO, CARLOS                         ADDRESS ON FILE
TOSHEV, ZOIR                            ADDRESS ON FILE
TOSKA LOGISTICS INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TOSO, MICHAEL                           ADDRESS ON FILE
TOSS FREIGHT LLC                        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TOTAL CARGO LLC                         810 E CASS ST JOLIET IL 60432
TOTAL COMFORT GROUP                     246 INDUSTRIAL WAY WEST, SUITE Q EATONTOWN NJ 07724
TOTAL COVER TRANSPORT LLC               OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
TOTAL DISPOSAL, INC.                    100 BLAINE ST GARY IN 46406
TOTAL DISTRIBUTION, INC.                P O BOX 20109 CANTON OH 44701
TOTAL DOMINATION INC                    TOTAL DOMINATION INC, 8711 S 77TH AVE BRIDGEVIEW IL 60455
TOTAL EXPRESS INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TOTAL FACILITIES SERVICES               10 LEIN WEST SENECA NY 14224
TOTAL FIRE & SAFETY INC - ARKANSAS      PO BOX 1939 LOWELL AR 72745
TOTAL FIRE & SAFETY, INC.               7909 CARR ST DALLAS TX 75227
TOTAL FIRE & SAFETY, INC. - WOODRIDGE   6808 HOBSON VALLEY DR UNIT 105 WOODRIDGE IL 60517
TOTAL FIRST AID                         PO BOX 2343 DOVER OH 44622
TOTAL HAULING, LLC                      2101 UNION MILL ROAD NICHOLASVILLE KY 40356
TOTAL INNOVATIVE SOLUTIONS LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOTAL KNOCK OUT TRANSPORTATION CORP     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086



Epiq Corporate Restructuring, LLC                                                                  Page 1921 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 1930 of 2156

Claim Name                            Address Information
TOTAL KNOCK OUT TRANSPORTATION CORP   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TOTAL LAND MANAGEMENT LLC             PO BOX 533 CHESHIRE CT 06410
TOTAL LOGISTICS CORP                  75 DUFFERIN PL SE CALGARY AB T2C 4W2 CANADA
TOTAL LOGISTICS CORP                  613 27 AVE NE CALGARY AB T2E 2A7 CANADA
TOTAL LOGISTICS CORP                  514 7A ST NE CALGARY AB T2E 4G3 CANADA
TOTAL LOGISTICS CORP                  DBA LONE STAR DELIVERY (TLGN) PO BOX 60804 MIDLAND TX 79711
TOTAL MATERIALS LLC                   OR BLU CAPITAL, PO BOX 17759 EL PASO TX 79917
TOTAL MILES XPRESS LLC                OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
TOTAL PACKAGE EXPRESS INC.            PO BOX 53435 CINCINNATI OH 45253
TOTAL POWER LIMITED                   ATTN: KENTON 914 55 AVE NE CALGARY AB T2E 6Y4 CANADA
TOTAL PRIME LOGISTICS LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TOTAL PROPERTY SERVICES               PO BOX 64934 UNIVERSITY PLACE WA 98464
TOTAL QUALITY INC                     ATTN: KATELYN BROWN 550 3 MILE RD NW STE D GRAND RAPIDS MI 49544
TOTAL QUALITY LOGISTICS               1701 EDISON DR MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: AMBER PRICKETT PO BOX 799 MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: GEORGIA HUBBARD CLAIMS PO BOX 799 MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: GOLDIE ANDREWS CLAIMS ATTN: GOLDIE ANDREWS PO BOX 799 MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: KRISTEEN MONROY 1701 EDISON DR MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: MATTHEW BAKER 1701 EDISON DRIVE MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: MATTHEW BAKER PO BOX 799 MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: MICA WATKINS 1701 EDISON DRIVE MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: SHAUNTENECE BARR 1701 EDISON DR MILFORD OH 45150
TOTAL QUALITY LOGISTICS               ATTN: ABBEY BAKER 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: ABBEY BAKER CLAIMS-ATTN ABBEY 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: KRISTEEN MONROY 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: KRISTEEN MONROY CLAIMS 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: KRISTEEN MONROY CLAIMS-ATTN ABBEY 4289 IVY POINTE BLVD CINCINNATI OH
                                      45245
TOTAL QUALITY LOGISTICS               ATTN: ROB GAGLIANI 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: SAMANTHA HODGES 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: SHELBY SHEEHAN 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: THAD HARE 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               ATTN: TRACY JONES 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS               TOTAL QUALITY LOGISTICS 4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL QUALITY LOGISTICS, LLC          PO BOX 634558 CINCINNATI OH 45263
TOTAL QUALITY SERVICE LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TOTAL QUALITY TRANSPORT, LLC          OR PROVIDENT COMMERCIAL FINANCE LLC PO BOX 11407 BIRMINGHAM AL 35246-2659
TOTAL QUALITY TRANSPORT, LLC          OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
TOTAL QUALITY TRUCKING INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TOTAL QUALTIY LOGISTICS LLC           4289 IVY POINTE BLVD CINCINNATI OH 45245
TOTAL SERVICE PACKAGING LLX           PO BOX 47 MONROE TN 38573
TOTAL SOLUTION EXPRESS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TOTAL SOLUTION LOGISTICS LLC          OR NBS FACTORING, LLC, PO BOX 25 BELLE FOURCHE SD 57717
TOTAL SOLUTION SERVICE LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TOTAL SOURCING SOLUTIONS              5060 SPRING CREEK RD COOKEVILLE TN 38506
TOTAL TRADE TRANS LTD LIABILITY CO    OR YANKTON FACTORING PO BOX 217 YANKTON SD 57078
TOTAL TRADE TRANS LTD LIABILITY CO    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TOTAL TRANSPORT LLC                   OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
TOTAL TRANSPORTATION                  PO BOX 933813 ATLANTA GA 31193



Epiq Corporate Restructuring, LLC                                                                Page 1922 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1931 of 2156

Claim Name                            Address Information
TOTAL TRANSPORTATION SOLUTIONS CORP   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TOTAL TRUCK PARTS                     4525 POPLAR LEVEL RD LOUISVILLE KY 40213
TOTAL TRUCK TRANSPORT LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TOTAL WATER TREATMENT SYSTEMS, INC.   5002 WORLD DAIRY DRIVE MADISON WI 53718
TOTAL WAY TRUCKING INC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TOTAL WELDING SUPPLY, INC.            114 BRALEY ROAD EAST FREETOWN MA 02717
TOTAL WELDING SUPPLY, INC.            PO BOX 249 EAST FREETOWN MA 02717
TOTAL XPRESS LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA OK 73124-8920
TOTE MARITIME PUERTO RICO, LLC        PO BOX 409363 ATLANTA GA 30384
TOTEX FREIGHT INC.                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TOTH, ANDREW                          ADDRESS ON FILE
TOTH, ROBERT                          ADDRESS ON FILE
TOTTEN, ANDREW                        ADDRESS ON FILE
TOTTEN, GREGORY                       ADDRESS ON FILE
TOUCANS TRANSPORT LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TOUCH TRANSPORT INC.                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TOUCHDOWN TRANSPORTATION, LLC         4736 LAWRENCE LANE PLANO TX 75093
TOUCHET, MICHAEL                      ADDRESS ON FILE
TOUCHSTONE LOGISTICS                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TOUCHSTONE, DAVID                     ADDRESS ON FILE
TOUGH STRUGGLE TRANSPORTATION LLC     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TOUHEY, KATHLEEN                      ADDRESS ON FILE
TOUHEY, PATRICK                       ADDRESS ON FILE
TOUMAI EXPRESS LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TOUMBOCTOU TRANSPORT LOGISTICS LLC    OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
TOUNEY, SCOTT                         ADDRESS ON FILE
TOUPS, TESON                          ADDRESS ON FILE
TOURANGEAU, JOHN                      ADDRESS ON FILE
TOURAY LLC                            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TOUSSAINT, MARCUS                     ADDRESS ON FILE
TOVAR EXPRESS INC                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
TOVAR SNOW PROFESSIONALS INC          PO BOX 7410162 CHICAGO IL 60674-0162
TOVAR, KARLA                          ADDRESS ON FILE
TOVAR-DOMINGUEZ, RAUL                 ADDRESS ON FILE
TOW KING OF WACO                      1601 TAYLOR WACO TX 76704
TOW KING OF WACO                      7271 BAGBY WACO TX 76712
TOW PRO                               2408 LLOYD AVE NASHVILLE TN 37218
TOW PRO                               PO BOX 280568 NASHVILLE TN 37228
TOW TRANSPORTATION LLC                OR SUMMAR FINANCIAL LLC, 2299 SW 27 AVE MIAMI FL 33145
TOWELL, JEFFREY                       ADDRESS ON FILE
TOWER BRIDGE LOGISTICS LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TOWER ELECTRIC                        946 AT&T CENTER PARKWAY SAN ANTONIO TX 78219
TOWER INSULATING GLASS LLC            ATTN: JONATHAN COHEN 575 MAIN ST., 706 NEW YORK NY 10044
TOWER LABS                            ATTN: GRETCHEN MAYO ACCOUNTS RECEIVABLE P O BOX 306 CENTERBROOK CT 06409
TOWER, TYLER                          ADDRESS ON FILE
TOWERS WATSON CANADA INC              C/O T46081, PO BOX 46081 STN A TORONTO ON M5W 4K9 CANADA
TOWERS, RONALD                        ADDRESS ON FILE
TOWERY, SANDY                         ADDRESS ON FILE
TOWING AND RECOVERY                   D/B/A: I70 TOWING AND RECOVERY 4201 I 70 DR. SE COLUMBIA MO 65201



Epiq Corporate Restructuring, LLC                                                                Page 1923 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1932 of 2156

Claim Name                              Address Information
TOWING SERVICES, LLC                    736 HOLCOMB ST. SPRINGDALE AR 72764
TOWKINGS INC.                           14949 VALLEY BLVD FONTANA CA 92335
TOWN & COUNTRY FENCE                    97 LEANNA ST CHULA VISTA CA 91911
TOWN & COUNTRY LIVING                   475 OBERLIN AVE S LAKEWOOD NJ 08701
TOWN & COUNTRY OIL CORP                 275 E 7TH ST, PO BOX 570 MOUNT VERNON NY 10551
TOWN EAST EQUIPMENT CO OF GARLAND TEXAS 5409 SOMERSET DR ROWLETT TX 75089
TOWN OF BABYLON                         281 PHELPS LANE NORTH BABYLON NY 11703
TOWN OF BABYLON                         BABYLON TOWN HALL 200 E SUNRISE HWY LINDHURST NY 11757
TOWN OF BEDFORD                         24 N AMHERST RD BEDFORD NH 03110
TOWN OF BETHLEHEM                       445 DELAWARE AVE DELMAR NY 12054
TOWN OF BILLERICA                       365 BOSTON RD BILLERICA MA 01821
TOWN OF BILLERICA                       PO BOX 596 BILLERICA MA 01821
TOWN OF BILLERICA                       TAX COLLECTOR ROOM 115, 365 BOSTON ROAD BILLERICA MA 01821
TOWN OF BILLERICA                       PO BOX 369 MEDFORD MA 02155
TOWN OF CHEEKTOWAGA                     RECEIVER OF TAXES 3301 BROADWAY STREET, ROOM 11 CHEEKTOWAGA NY 14227
TOWN OF CHEEKTOWAGA                     CHEEKTOWAGA TOWN HALL 3301 BROADWAY STREET CHEEKTOWAGA NY 14227
TOWN OF CHEEKTOWAGA                     ATTN: TOWN CLERKS, 3301 BROADWAY STREET CHEEKTOWAGA NY 14227-1000
TOWN OF CHESHIRE                        COLLECTOR OF REVENUE PO BOX 129 CHESHIRE CT 06410
TOWN OF CLAYTON                         8348 COUNTY RD T LARSEN WI 54947
TOWN OF COLCHESTER                      781 BLAKELY RD COLCHESTER VT 05446
TOWN OF DEWITT WATER DISTRICT           ATTN MATHEW REYNOLDS, WATER SUPER 5400 BUTTERNUT DR EAST SYRACUSE NY 13057
TOWN OF EVANSVILLE                      235 CURTIS ST PO BOX 158 EVANSVILLE WY 82636
TOWN OF EVANSVILLE                      PO BOX 158, 235 CURTIS STREET EVANSVILLE WY 82636
TOWN OF FAIRFIELD                       OLD TOWN HALL 611 OLD POST RD FAIRFIELD CT 06824
TOWN OF FAIRFIELD                       PO BOX 149 FAIRFIELD ME 04937
TOWN OF FAIRFIELD                       OPTAX USE ONLY PO BOX 149 FAIRFIELD ME 04937
TOWN OF HENRIETTA                       475 CALKINS RD PO BOX 999 HENRIETTA NY 14467
TOWN OF HENRIETTA                       475 CALKINS RD HENRIETTA NY 14467
TOWN OF KEARNY                          402 KEARNY AVE KEARNY NJ 07032
TOWN OF MEDLEY WATER DEPT               7777 NW 72ND AVE MEDLEY FL 33166
TOWN OF MONTGOMERY                      110 BRACKEN RD TOWN HALL MONTGOMERY NY 12549
TOWN OF NEWBURGH                        RECEIVER OF TAXES 1496 ROUTE 300 NEWBURGH NY 12550
TOWN OF NORTH READING                   235 NORTH ST NORTH READING MA 01864
TOWN OF NORTH READING                   COLLECTOR OF TAXES 235 NORTH ST NORTH READING MA 01864
TOWN OF NORTH READING                   MASSACHUSETTS, 235 NORTH ST NORTH READING MA 01864
TOWN OF NORTH READING                   NORTH READING FIRE DEPT, 152 PARK ST NORTH READING MA 01864
TOWN OF OYSTER BAY RECEIVER OF TAXES.   ATTN JEFFREY P PRAVATO 74 AUDREY AVENUE OYSTER BAY NY 11771
TOWN OF OYSTER BAY, RECEIVER OF TAXES   74 AUDREY AVENUE OYSTER BAY NY 11771
TOWN OF ROCKINGHAM                      PO BOX 370 BELLOWS FALLS VT 05101
TOWN OF SHREWSBURY                      100 MAPLE AVE SHREWSBURY MA 01545
TOWN OF SHREWSBURY                      COLLECTOR OF TAXES 100 MAPLE AVE SHREWSBURY MA 01545
TOWN OF SOUTHINGTON                     TOWN HALL 75 MAIN ST SOUTHINGTON CT 06489
TOWN OF SOUTHINGTON TAX COLLECTOR       PO BOX 579 SOUTHINGTON CT 06489
TOWN OF ST FRANCISVILLE                 PO BOX 400 ST. FRANCISVILLE LA 70775
TOWN OF TONAWANDA                       WASTEWATER TREATMENT FACILITY 779 TOW MILE CREEK RD TONAWANDA NY 14150
TOWN OF TONAWANDA                       2919 DELAWARE AVE, 14 BUFFALO NY 14217
TOWN OF TONAWANDA                       OPTAX USE ONLY, ROOM 14 MUNICIPAL BLDG KENMORE NY 14217
TOWN OF WEST SPRINGFIELD                DEPT OF WEIGHTS & MEASURES 26 CENTRAL ST STE 27 WEST SPRINGFIELD MA 01089
TOWN OF WEST SPRINGFIELD                26 CENTRAL ST STE 9 WEST SPRINGFIELD MA 01089



Epiq Corporate Restructuring, LLC                                                                 Page 1924 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1933 of 2156

Claim Name                             Address Information
TOWN OF WHITBY                         575 ROSSLAND RD E WHITBY ON L1N 2M8 CANADA
TOWN OF WILLISTON                      7900 WILLISTON RD WILLISTON VT 05495
TOWN OF WILLISTON                      1 NATIONAL LIFE DR DAVIS 1 MONTPELIER VT 05620
TOWN PLOT AUTO BODY & TOWING           332 FAIRFIELD AVE WATERBURY CT 06708
TOWN TRUCKING COMPANY                  4538 LAWNDALE AVE LYONS IL 60534
TOWNALD SERVICES LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
TOWNE, DAVID                           ADDRESS ON FILE
TOWNE, PAUL                            ADDRESS ON FILE
TOWNER, ERIK                           ADDRESS ON FILE
TOWNER, TONYA                          ADDRESS ON FILE
TOWNES, CHRISTOPHER L                  ADDRESS ON FILE
TOWNES, DARREN                         ADDRESS ON FILE
TOWNES, TYRONE                         ADDRESS ON FILE
TOWNLEY, LARRY                         ADDRESS ON FILE
TOWNS, DAVID                           ADDRESS ON FILE
TOWNS, ERIC                            ADDRESS ON FILE
TOWNS, KEVIN                           ADDRESS ON FILE
TOWNS, TYWAN                           ADDRESS ON FILE
TOWNSEL, WILLIE                        ADDRESS ON FILE
TOWNSELL, JAMAAL                       ADDRESS ON FILE
TOWNSELL, WILLIE                       ADDRESS ON FILE
TOWNSEND, JAMES                        ADDRESS ON FILE
TOWNSEND, JAMES                        ADDRESS ON FILE
TOWNSEND, KEVIN                        ADDRESS ON FILE
TOWNSEND, LOGAN                        ADDRESS ON FILE
TOWNSEND, MICHAEL                      ADDRESS ON FILE
TOWNSEND, TREVOR                       ADDRESS ON FILE
TOWNSHIP OF HAMILTON                   DIV OF REV COLLECTION 2090 GREENWOOD AVE PO BOX 00150 HAMILTON TOWNSHIP NJ
                                       08609
TOWNSON TRUCKING & LOGISTICS, LLC      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TOWSON UNIVERSITY                      8000 YORK ROAD ATTN INS ADMIN KIM CHAMPION TOWSON MD 21252
TOY TRANSPORTATION LLC                 OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
TOY, FRANCIS B                         ADDRESS ON FILE
TOY, JOHN                              ADDRESS ON FILE
TOYNES IOWA FIRE                       104 GRANITE AVE. BREDA IA 51436
TOYO PUMPS                             1815 W 2300 S SALT LAKE CITY UT 84119
TOYOTA FORKLIFTS OF ATLANTA            PO BOX 934134 ATLANTA GA 31193
TOYOTA INDUSTRIES COMMERCIAL FINANCE   DEPT 2431 CAROL STREAM IL 60132
INC
TOYOTA INDUSTRIES COMMERCIAL FINANCE   8951 CYPRESS WATERS BI DALLAS TX 75019
INC
TOYOTA INDUSTRIES COMMERCIAL FINANCE   PO BOX 9050 DALLAS TX 75019-9050
INC
TOYOTA INDUSTRIES COMMERCIAL FINANCE   P.O. BOX 660926 DALLAS TX 75266
INC
TOYOTA INDUSTRIES COMMERCIAL FINANCE   COMMERCIAL FINANCE, PO BOX 660926 DALLAS TX 75266-0926
INC
TOYOTA LIFT NORTHEAST                  P. O. BOX 21996 NEW YORK NY 10087
TOYOTA LIFT NORTHEAST                  PO BOX 35146 41098 SEATTLE WA 98124
TOYOTA LIFT NORTHWEST                  12001 SE JENNIFER ST CLACKAMAS OR 97015


Epiq Corporate Restructuring, LLC                                                               Page 1925 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1934 of 2156

Claim Name                              Address Information
TOYOTA LIFT NORTHWEST                   MAIL STOP 98, PO BOX 4100 PORTLAND OR 97208
TOYOTA LIFT NORTHWEST                   PO BOX 4100, MAIL STOP 98 PORTLAND OR 97208
TOYOTA LIFT NORTHWEST                   PO BOX 35146 41098 SEATTLE WA 98124
TOYOTA LIFT OF EL PASO                  P.O. BOX 733593 DALLAS TX 75373
TOYOTA LIFT OF HOUSTON                  PO BOX 678528 DALLAS TX 75267
TOYOTA LIFT OF HOUSTON                  P.O. BOX 733593 DALLAS TX 75373
TOYOTA LIFT OF HOUSTON                  5306 CLINTON DR. HOUSTON TX 77020
TOYOTA LIFT OF SOUTH TEXAS              PO BOX 678528 DALLAS TX 75267
TOYOTA LIFT OF SOUTH TEXAS              P.O. BOX 733593 DALLAS TX 75373
TOYOTA MATERIAL HANDLING MIDSOUTH       100 FERNCO DR NASHVILLE TN 37207
TOYOTA MATERIAL HANDLING MIDSOUTH       MIDSOUTH, 100 FERNCO DRIVE NASHVILLE TN 37207
TOYOTA MATERIAL HANDLING OHIO           D/B/A: PROLIFT TOYOTA MATERIAL HANDLING 5040 ENTERPRISE BLVD. TOLEDO OH 43612
TOYOTA MATERIAL HANDLING OHIO           D/B/A: PROLIFT TOYOTA MATERIAL HANDLING P.O. BOX 734557 CHICAGO IL 60673
TOYOTA MATERIAL HANDLING SOLUTIONS      12907 IMPERIAL HIGHWAY SANTA FE SPRINGS CA 90670
TOYOTA MATERIAL HANDLING, U.S.A. INC.   5559 INWOOD DR COLUMBUS IN 47201
TOYOTA MATERIAL HANDLING, U.S.A. INC.   P.O. BOX 601048 PASADENA CA 91189
TOYOTA MATERIAL HANDLING, U.S.A. INC.   RJMS CORPORATION, PO BOX 398526 SAN FRANCISCO CA 94139
TOYOTA OF LANCASTER                     43301 12TH ST. LANCASTER CA 93534
TOYOTA TSUSHO AMERICA                   25 NORTHWEST POINT BLVD STE 49 ELK GROVE VILLAGE IL 60007
TOYOTA-LIFT OF LOS ANGELES              D/B/A: TOYOTA MATERIAL HANDLING SOLUTS. 12907 IMPERIAL HIGHWAY SANTA FE
                                        SPRINGS CA 90670
TOYOTA-LIFT OF MINNESOTA INC.           D/B/A: TOYOTA LIFT OF MINNESOTA INC. PO BOX 772419 DETROIT MI 48277
TOYOTA-LIFT OF MINNESOTA INC.           D/B/A: TOYOTA LIFT OF MINNESOTA INC. PO BOX 772419 DETROIT MI 48277-2419
TOYOTALIFT, INC.                        266 EAST MISSOURI STREET TUCSON AZ 85714
TOYOTALIFT, INC.                        P.O. BOX 710310 SANTEE CA 92072
TOYOTALIFT, INC.                        PO BOX 710280 SANTEE CA 92072
TOYSOL LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TOYSOL LOGISTICS LLC                    PO BOX 337814 NORTH LAS VEGAS NV 89033
TP FREIGHT LINES INC                    2703 THIRD ST, PO BOX 580 TILLAMOOK OR 97141
TP FREIGHT LINES, INC.                  PO BOX 580 TILLAMOOK OR 97141
TP TRANSPORT LLC                        29 GREENBRIER DR WESTAMPTON NJ 08060
TP TRANSPORT SERVICES LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TP TRUCKING, LLC                        5630 TABLE ROCK RD CENTRAL POINT OR 97502
TPA CARGO SOLUTIONS LLC                 OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
TPA CORPORATION                         PO BOX 840137 SAINT AUGUSTINE FL 32080
TPA TRANSPORT LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TPL LOGISTICS LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TPS LOGISTICS                           3290 W BIG BEAVER STE 300 TROY MI 48084
TPS LOGISTICS                           TRANSPORTATION ACCT NETWORK, PO BOX 2259 CORONA CA 92878
TPT CARGO LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TQL                                     ATTN: GOLDIE ANDREWS P.O. BOX 634558 CINCINNATI OH 45263
TQL TOTAL QUALITY LOGISTICS             ATTN: WANDA VERSLYPE PO BOX 799 MILFORD OH 45150
TR LINES INC                            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TR SPEED INC                            OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, STE 230 MORTON GROVE IL 60053
TR TRUCKING                             OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TRABERT, THOMAS                         ADDRESS ON FILE
TRABZON EXPRESS INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TRAC INTERMODAL                         C/O US BANK, PO BOX 952064 SAINT LOUIS MO 63195
TRAC INTERSTAR LLC                      500 MEIJER DRIVE, SUITE 300 FLORENCE KY 41042



Epiq Corporate Restructuring, LLC                                                                  Page 1926 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1935 of 2156

Claim Name                             Address Information
TRAC INTERSTAR LLC                     PO BOX 145400, MAIL LOCATION 513 CINCINNATI OH 45250
TRAC USA LLC                           810 UNION PACIFIC BLVD LAREDO TX 78045
TRACE MINERALS RESEARCH                PO BOX 429 ROY UT 84067
TRACE MINERALS RESEARCH                1996 W 3300 S OGDEN UT 84401
TRACER TRANSPORTATION, INC.            PO BOX 627 WELLSTON OH 45692
TRACEY TRANSPORT LLC                   PO BOX 174, N8157 BADGER LN MINDORO WI 54644
TRACEY, ANTHONIJA                      ADDRESS ON FILE
TRACK AND GO TRUCKING LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRACK TRADING CO D/B/A EXACO TRADING   ATTN: GENERAL COUNSEL 16001 IMPACT WAY PFLUGERVILLE TX 78660
CO.
TRACK TRADING CO D/B/A EXACO TRADING   C/O THE LAW OFFICE OF R KEMP KASLING PC ATTN: R. KEMP KASLING 5511 PARKCREST
CO.                                    DRIVE, SUITE 110 AUSTIN TX 78731
TRACO LOGISTICS, INC.                  1950 WALDORF NW SUITE C WALKER MI 49544
TRACS POWER GENERATION, LLC            PO BOX 94384 ALBUQUERQUE NM 87199
TRACSTAR TRANSPORT INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TRACTION                               4204 RUE BERTRAND FABI, SUITE 1 SHERBROOKE QC J1N 3Y2 CANADA
TRACTION                               30 BANCROFT ST HAMILTON ON L8E 2W5 CANADA
TRACTION                               C\O NAPA 2815 FAITHFULL AVE SASKATOON SK S7K 8E8 CANADA
TRACTION ACTION TRANSPORTATION LLC     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TRACTION CAMBRIDGE 634                 1090 FOUNTAIN ST N CAMBRIDGE ON N3E 1A3 CANADA
TRACTION HEAVY DUTY PARTS              TRACTION SHERBROOKE UAP INC 1-4204 RUE BERTRAND-FABI SHERBROOKE QC J1N 3Y2
                                       CANADA
TRACTION HEAVY DUTY PARTS              2075 FORBES ST. UNIT 5-7 WHITBY ON L1N 9X1 CANADA
TRACTION HEAVY DUTY PARTS              TRACTION MARKHAM 738 UAP INC 4-45 MURAL ST RICHMOND HILL ON L4B 1J4 CANADA
TRACTION HEAVY DUTY PARTS              5915 ATLANTIC DR. UNITS 6 & 7 182 MISSISSAUGA ON L4W 1S4 CANADA
TRACTION HEAVY DUTY PARTS              TRACTION MISSISSAUGA UAP INC 677-5915 ATLANTIC DR MISSISSAUGA ON L4W 1S4
                                       CANADA
TRACTION HEAVY DUTY PARTS              UAP INC TRACTION HAMILTON 201 30 BANCROFT ST HAMILTON ON L8E 2W5 CANADA
TRACTION HEAVY DUTY PARTS              3725 WEBSTER DRIVE MAIDSTONE ON N0R 1K0 CANADA
TRACTION HEAVY DUTY PARTS              1090 FOUNTAIN STREET N CAMBRIDGE ON N3E 1A3 CANADA
TRACTION HEAVY DUTY PARTS              2405 SCANLAN STREET LONDON ON N5W 6G9 CANADA
TRACTION HEAVY DUTY PARTS              200 OAK POINT HIGHWAY WINNIPEG MB R2R 1V1 CANADA
TRACTION HEAVY DUTY PARTS              UAP INC, C/O C3010, PO BOX 2680 STN M CALGARY AB T2P 4R9 CANADA
TRACTION HEAVY DUTY PARTS              110-19750 92A AVENUE LANGLEY BC V1M 3B2 CANADA
TRACTION HEAVY DUTY PARTS              TRANCTION VANCOUVER UAP INC 19750 92A AVE LANGLEY BC V1M 3B2 CANADA
TRACTOR SUPPLY CO.                     ATTN: RISK MANAGEMENT 5401 VIRGINIA WAY BRENTWOOD TN 37027
TRACY E MORGAN                         ADDRESS ON FILE
TRACY FLOORING INC.                    2181 N TRACY BLVD 292 TRACY CA 95376
TRACY GONZALEZ                         ADDRESS ON FILE
TRACY HAMSTA                           ADDRESS ON FILE
TRACY K LONNING-GERDES                 ADDRESS ON FILE
TRACY KRIEGER                          ADDRESS ON FILE
TRACY L WALKER                         ADDRESS ON FILE
TRACY N TRAPKA                         ADDRESS ON FILE
TRACY R SCHELLMANN                     ADDRESS ON FILE
TRACY TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRACY WILLIS                           ADDRESS ON FILE
TRADE ALL TRANSPORTATION LLC           505 4TH AVE BETHLEHEM PA 18018-5505
TRADE LINKS EXP LLC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TRADE OFF TRUCKING LLC                 1282 COMSTOCK RD ULSTER PA 18850


Epiq Corporate Restructuring, LLC                                                                 Page 1927 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1936 of 2156

Claim Name                              Address Information
TRADE WINDS TRANSIT INC                1065 BLOOMFIELD RD BARDSTOWN KY 40004
TRADE WITH ME LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRADECONNECT B&JD L.L.C.               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRADEMARK LOGISTICS INC                OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE MB L4L 8E3 CANADA
TRADEMARK MECHANICAL HEATING &         AIR CONDITIONING 88 E. WESTVIEW AVE SPOKANE WA 99218
TRADER, MARK                           ADDRESS ON FILE
TRADESTATION SECS (0271)               ATT CORPORATE ACTIONS 8050 SW 10TH ST, STE 2000 PLANTATION FL 33324
TRADEWINDS LOGISTICS INC               OR MARQUETTE TRANPORTATION FINANCE P O BOX 1450 NW 7939 MINNEAPOLIS MN 55485
TRADEWINDS LOGISTICS INC               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TRADEWINDS TRANSPORTATION, LLC         PO BOX 681 ALBANY OR 97321
TRADITION TRANSPORTATION COMPANY L.L.C. 300 GROWTH PARKWAY ANGOLA IN 46703
TRADITION TRANSPORTATION COMPANY L.L.C. OR FREEDOM FREIGHT SOLUTIONS 110 E WAYNE ST SUITE 1503 FORT WAYNE IN 46802
TRADITION TRANSPORTATION LLC           ATTN: BRENDA WOLF 110 E WAYNE STREET STE 1503 FORT WAYNE IN 46802-2612
TRAEGER, CANDIS                        ADDRESS ON FILE
TRAFALGAR SUPPLY CO.                   685732 HWY 2 WOODSTOCK ON N4S 7V9 CANADA
TRAFFIC JAM TRUCKING LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRAFFIC SYS1591                        151 W JOHNSTOWN RD GAHANNA OH 43230
TRAFFIC TEAM INC                       2375 LUCKNOW DR MISSISSAUGA ON L5S 1H9 CANADA
TRAFFIC TECH INC                       (TTDAT) TT, 16711 TRANS-CANADA H KIRKLAND QC H9H 3L1 CANADA
TRAFFIC TICKET EXPERTS                 102-379 BROADWAY WINNIPEG MB R3C 0T9 CANADA
TRAFFIX                                1-375 WHEELABRATOR WAY MILTON ON L9T 3C1 CANADA
TRAFIC TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRAFTON WAREHOUSE LLC                  ATTN: TERRY L TRAFTON 8912-B KIMMIE STREET SW TUMWATER WA 98512
TRAFTON WAREHOUSE LLC                  ATTN: TERRY TRAFTON 8912-B KIMMIE STREET SW TUMWATER WA 98512
TRAGER, RILEY                          ADDRESS ON FILE
TRAGER, ROBERT                         ADDRESS ON FILE
TRAGO, MARK                            ADDRESS ON FILE
TRAHAN, CHRISTOPHER                    ADDRESS ON FILE
TRAIL HILLS TRANSPORT CORP             OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
TRAIL LINES, INC.                      PO BOX 3567 SANTA FE SPRINGS CA 90670
TRAILBLAZERS LLC                       PO BOX 455 HEMET CA 92546
TRAILCO ENTERPRISES OF HOUSTON, INC    P O BOX 730 HASTINGS FL 32145
TRAILCO GROUP, INC                     P O BOX 730 HASTINGS FL 32145
TRAILCO OF CALIFORNIA, INC             P.O. BOX 730 HASTINGS FL 32145
TRAILCO OF FLORIDA, INC                P O BOX 730 HASTINGS FL 32145
TRAILCO OF GEORGIA (ATLANTA), INC      PO BOX 730 8601 E. CHURCH STREET HWY 207 HASTINGS FL 32145
TRAILCO OF GEORGIA (ATLANTA), INC      PO BOX 730 HASTINGS FL 32145
TRAILCON LEASING INC                   15 SPAR DR BRAMPTON ON L6S 6E1 CANADA
TRAILER BRIDGE INC                     PO BOX 861623 ORLANDO FL 32886
TRAILER EQUIPMENT INC                  38600 FORD RD WESTLAND MI 48185
TRAILER EQUIPMENT INC                  290 92ND ST SW BYRON CENTER MI 49315
TRAILER EQUIPMENT INC                  1701 STEELE SW GRAND RAPIDS MI 49507
TRAILER LOGISTICS CO INC               PO BOX 128 LIBERTYVILLE IL 60048
TRAILER SERVICE INC TRUCKERS CHROME    3050 BIRMINGHAM HWY, PO BOX 9595 MONTGOMERY AL 36108
ZONE
TRAILER SERVICES OF WEST TEXAS         P.O. BOX 32018 AMARILLO TX 79120
TRAILER SERVICES OF WEST TEXAS         2420 E SLATON HWY LUBBOCK TX 79404
TRAILER X-PRESS                        1701 STEELE SW GRAND RAPIDS MI 49507
TRAILINE TRAILER PARTS LTD             10304A 120TH ST SURREY BC V3V 4G1 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 1928 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1937 of 2156

Claim Name                           Address Information
TRAILINE TRAILER PARTS LTD           112 12388 PATTULLO PL SURREY BC V3V 8C3 CANADA
TRAILINES INCORPORATED               10045 WINDISCH RD WEST CHESTER OH 45069
TRAILMEX SERVICES INC                7506 W 84TH PL BRIDGEVIEW IL 60455
TRAILWAY MEDICAL LLC                 OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
TRAINER, JOSEPH                      ADDRESS ON FILE
TRAJKOVIC, IVICA                     ADDRESS ON FILE
TRAKEN TRANSPORT LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRALO                                PO BOX 738 OWATONNA MN 55060
TRAM CONSTRUCTION, INC.              9279 E. KY 8 GARRISON KY 41141
TRAM CONSTRUCTION, INC.              C/O DINSMORE & SHOHL, LLP ATTN: MICAELA TAYLOR PO BOX 639038 CINCINNATI OH
                                     45263
TRAMAT LLC                           TRAMAT LLC, 6119A GREENVILLE AVE 306 DALLAS TX 75206
TRAMILL TRANSPORT SERVICES LLC       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TRAMMEL, JASON                       ADDRESS ON FILE
TRAMMELL, CHARLES                    ADDRESS ON FILE
TRAMMELL, JAMES                      ADDRESS ON FILE
TRAMMELL, PATRICK                    ADDRESS ON FILE
TRAMMELL, TOBY                       ADDRESS ON FILE
TRAMMER, NICHOLAS                    ADDRESS ON FILE
TRAMUC TRANSPORT LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
TRAN SOURCE TRUCK & TRAILER          PO BOX 446 KERNERSVILLE NC 27285
TRAN SOURCE TRUCK & TRAILER          8808 MIDWAY WEST RD. RALEIGH NC 27617
TRAN SOURCE TRUCK & TRAILER          1341 S. WESLEYAN BLVD. ROCKY MOUNT NC 27803
TRAN, CHANH                          ADDRESS ON FILE
TRAN, CHINH MINH                     ADDRESS ON FILE
TRAN, DUYEN                          ADDRESS ON FILE
TRAN, HARRISON                       ADDRESS ON FILE
TRAN, JOHNNY                         ADDRESS ON FILE
TRAN, LONG H                         ADDRESS ON FILE
TRAN, PHILLIP                        ADDRESS ON FILE
TRAN, PHONG                          ADDRESS ON FILE
TRAN, PHUC                           ADDRESS ON FILE
TRAN, PHUC                           ADDRESS ON FILE
TRAN, TUAN                           ADDRESS ON FILE
TRANCASA USA INC                     PO BOX 2408 MCALLEN TX 78502
TRANCO GLOBAL                        5901 SHALLOWFORD RD STE 110 CHATTANOOGA TN 37421
TRANE                                ATTN FREIGHT PAYMENTS 20 CORPORATE WOODS DR BRIDGETON MO 63044
TRANE - PARTS                        800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE COMMERCIAL CUST                800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE COMMERCIAL CUSTOMER CUST       ATTN: A POORNIMA LOGISTICS 800 BEATY ST BUILDING E DAVIDSON NC 28036
TRANE COMMERCIAL CUSTOMER-CUST       ATTN: A. POORNIMA 800 BEATY ST. BUILDING E DAVIDSON NC 28036
TRANE COMMERCIAL CUSTOMER-CUST       ATTN: CALLEY DUNCKLEE - LOGISTICS 800 BEATY ST., BUILDING E DAVIDSON NC 28036
TRANE COMMERCIAL CUSTOMER-CUST       ATTN: CALLEY DUNCKLEE ATTN: CALLEY DUNCKLEE-LOGISTICS 800 BEATY ST BLDG E
                                     DAVIDSON NC 28036
TRANE COMMERCIAL CUSTOMER-CUST       ATTN: DARSHAN J TRANE TECHNOLOGIES 800 BEATY ST, BUILDING E DAVIDSON NC 28036
TRANE COMMERCIAL CUSTOMER-CUST       ATTN: TERRY GINA TRANE TECHNOLOGIES 800 BEATY ST, BUILDING E DAVIDSON NC 28036
TRANE COMMERICAL CUSTOMER            800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE COMPANY                        ATTN CLAIMS, 20 CORPORATE WOODS DR BRIDGETON MO 63044
TRANE GLOBAL PARTS                   800 BEATY ST BLDG E DAVIDSON NC 28036



Epiq Corporate Restructuring, LLC                                                            Page 1929 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1938 of 2156

Claim Name                           Address Information
TRANE GLOBAL PARTS                   ATTN CALLEY DUNCKLEE 800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE GLOBAL PARTS                   ATTN: YALALA RAVALI LOGISTICS 800 BEATY ST BUILDING E DAVIDSON NC 28036
TRANE GLOBAL PARTS-PARTS             800 BEATY ST., BUILDING E DAVIDSON NC 28036
TRANE GLOBAL PARTS-PARTS             ATTN: YALALA RAVALI 800 BEATY ST BUILDING E DAVIDSON NC 28036
TRANE IWD                            ATTN CALLEY DUNCKLEE 800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE IWD                            ATTN: K S MEENAKSHI LOGISTICS 800 BEATY ST BUILDING E DAVIDSON NC 28036
TRANE IWD                            20 CORP WOODS DR BRIDGETON MO 63044
TRANE IWD                            20 CORPORATE WOODS DR BRIDGETON MO 63044
TRANE IWD                            ATTN FREIGHT PAYMENTS 20 CORPORATE WOODS DR BRIDGETON MO 63044
TRANE LIGHT COMM FALCOLN-FALC        20 CORPORATE WOODS DR BRIDGETON MO 63044
TRANE LIGHT COMM FALCON FALC         ATTN CALLEY DUNCKLEE 800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE LIGHT COMM FALCON FALC         ATTN: PRACHI BHAVSAR LOGISTICS 800 BEATY ST BUILDING E DAVIDSON NC 28036
TRANE LIGHT COMM FALCON-FALC         800 BEATY ST., BUILDING E DAVIDSON NC 28036
TRANE LIGHT COMM FALCON-FALC         ATTN: PRACHI BHAVSAR 800 BEATY ST. BUILDING E DAVIDSON NC 28036
TRANE RESIDENTIAL SYSTEMS            ATTN: JASON INGRAM 14000 JUSTICE RD MIDLOTHIAN VA 23113
TRANE TECHNOLOGIES                   ATTN: DARSHAN J TRANE TECHNOLOGIES 800 BEATY ST, BUILDING E DAVIDSON NC 28036
TRANE TECHNOLOGIES                   FIELD WAREHOUSE RHVAC 800 BEATY ST BLDG E DAVIDSON NC 28036
TRANE TECHNOLOGIES                   CONDATA, 9830 W 190TH ST STE M MOKENA IL 60448
TRANE TECHNOLOGIES                   SUITE 300 TRACI SOMREK TRACI SOMREK, HINSDALE IL 60523
TRANE TECHNOLOGIES                   TRACI SOMREK 1315 W 22ND STREET SUITE 300 OAK BROOK IL 60523
TRANE TECHNOLOGIES                   ATTN: DORINA TRINIDAD 2969 MAPUNAPUNA PLACE SUITE 101 HONOLULU HI 96819
TRANE TECHNOLOGIES FIELD WAREHOUSE   ATTN: K S MEENAKSHI 800 BEATY ST.BUILDING E DAVIDSON NC 28036
TRANE-IWD                            800 BEATY ST. BUILDING E DAVIDSON NC 28036
TRANE-IWD                            ATTN: J. DARSHAN 800 BEATY ST., BUILDING E DAVIDSON NC 28036
TRANE-IWD                            ATTN: K S MEENAKSHI 800 BEATY ST. BUILDING E DAVIDSON NC 28036
TRANHAUL TRANSPORT LTD               16523 132 STREET NW EDMONTON AB T6V 0J5 CANADA
TRANI CALDERON, LUIS                 ADDRESS ON FILE
TRANKINA, TIMOTHY                    ADDRESS ON FILE
TRANS 2                              OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                     ANGELES CA 90074
TRANS 99 LOGISTICS                   367 SPEEDVALE AVE WEST GUELPH ON N1H 1C7 CANADA
TRANS AID CARRIERS LLC               OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TRANS AIR MANUFACTURING CORP         480 E LOCUST ST DALLASTOWN PA 17313
TRANS AM LOGISTICS LLC               2743 BACHMAN DR BETHLEHEM PA 18020
TRANS AMERICA FREIGHT INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TRANS AMERICAN EXPRESS INC           7777 DAVIE ROAD EXTENSION, SUITE 300A HOLLYWOOD FL 33024
TRANS ATLANTIC TRANSPORTATION LLC    115 COUNTY ROAD 519 NEWTON NJ 07860
TRANS AUDIT                          FORTIVE-GEMS SENSORS 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
TRANS AUDIT                          VALVALINE LLC, 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
TRANS AUDIT INC                      11 MARSHALL ROAD SUITE 2D WAPPINGERS FALLS NY 12590
TRANS AUDIT INC                      FORTIVE GEMS SENSORS 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
TRANS AUDIT INC                      ITT INDUSTRIES HOLDINGS 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
TRANS AUDIT INC                      VALVOLINE LLC, 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
TRANS BUSINESS GLOBAL INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANS CARGO XPRESS LLC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TRANS CONDOR LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRANS CONNECTION LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TRANS DRIVE LLC                      OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
TRANS EMERGE TRANSPORT INC           OR INVOICE PAYMENT SYSTEM, PO BOX 77226 MISSISSAUGA ON L5T 2P4 CANADA



Epiq Corporate Restructuring, LLC                                                               Page 1930 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1939 of 2156

Claim Name                              Address Information
TRANS EXPERT INC                       100 MARKET DR MILTON ON L9T 3H5 CANADA
TRANS GLOBAL EXPRESS INC               OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TRANS INTERNATIONAL TRUCKING, INC.     1920 S ACACIA AVE COMPTON CA 90220
TRANS LEASE INC.                       1400 W 62ND AVE DENVER 80221
TRANS LIN EXPRESS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANS LINE LLC                         9315 KENTON STREET LENEXA KS 66227
TRANS LINE LLC (MC1267034)             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TRANS LINES INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANS LINKS INCORPORATED               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRANS LION INC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TRANS LOGISTICS INC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
TRANS LOGISTICS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
TRANS MOTION, LLC                      4429 N 23RD PLAZA OMAHA NE 68110
TRANS NETWORK LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TRANS NOA LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRANS PORTER GROUP, INC                430 E. 162ND STREET, 441 SOUTH HOLLAND IL 60473
TRANS R US LLC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANS SERVICES INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRANS STATE CARGO LLC                  6 LONGWOOD DR BURR RIDGE IL 60527
TRANS TECH AUTO INC                    419 TRUMBO CT BROADWAY VA 22815
TRANS TRANSPORT SERVICES LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANS UA LLC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANS USA TRUCK LINE, LLC              6530 VIRGINIA PKWY APT 723 MCKINNEY TX 75071
TRANS XPRESS LINE, INC                 OR SMART FLEET FUNDING USA 511 MAPLE GROVE DR PO BOX 61021 MAPLE GROVE VILLAGE
                                       OAKVILLE ON L6J6X0 CANADA
TRANS-CONTINENTAL SYSTEMS, INC.        1718 RALSTON AVENUE CINCINNATI OH 45223
TRANS-GLOBAL SHIPPING INC              602 W 5TH AVE STE B NAPERVILLE IL 60563
TRANS-MAX                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANS-NATIONAL EXPRESS                 12250 WINDEMERE DR EL PASO TX 79928
TRANS-NATIONAL EXPRESS                 12250 WINDERMERE EL PASO 79928
TRANS-NATIONAL TRANSPORTATION SVCS,    PO BOX 961678 EL PASO TX 79996
INC.
TRANS-STATES EXPRESS, INC.             7750 REINHOLD DRIVE CINCINNATI OH 45237
TRANS-SUPPLY INC.                      2100 SUMMIT AVE, EAST ST LOUIS IL 62205
TRANS-UNITED, INC.                     OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
TRANS-WEST TRUCK CENTER LLC            PO BOX 101284 PASADENA CA 91189
TRANS-WEST TRUCK CENTRE, LLC.          P.O.BOX 101284 PASADENA CA 91189
TRANSACT LOGISTICS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRANSACTION TAX RESOURCES, INC.        3850 NE THREE MILE LANE MCMINNVILLE OR 97128
TRANSADA, INC.                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSAMERICAN FLATBED INC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TRANSARCTIC OF OKLAHOMA                ATTN: JP 6440 S 57TH WEST AVE TULSA OK 74131
TRANSARM INC                           6237 RANDOLPH ST, SUITE 100 COMMERCE CA 90040
TRANSBAY XPRESS INC                    OR J & J FUNDING INC 1030 GETTYSBURG AVE SUITE 104 CLOVIS CA 93612
TRANSBORDER INTERNATIONAL LOGISTICS LLC OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSCAPE LOGISTICS, LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRANSCAR EXPRESS LLC                   OR RTS FINANCIAL SERVICES, PO BOX 840267 DALLAS TX 75284
TRANSCARGO SOLUTIONS LOGISTICS CORP    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSCAT, INC.                         PO BOX 62827 BALTIMORE MD 21264


Epiq Corporate Restructuring, LLC                                                                 Page 1931 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1940 of 2156

Claim Name                            Address Information
TRANSCHICAGO TRUCK GROUP              TRANS CHICAGO TRUCK GROUP 2333 W. 25TH AVENUE GARY IN 46404
TRANSCHICAGO TRUCK GROUP              776 N YORK RD ELMHURST IL 60126
TRANSCHICAGO TRUCK GROUP              DBA TRANSCHICAGO TRUCK GROUP 776 N YORK STREET ELMHURST IL 60126
TRANSCHICAGO TRUCK GROUP              DBA JOLIET TRANSCHICAGO TRUCK 19521 NE FRONTAGE ROAD SHOREWOOD IL 60404
TRANSCO LINES, INC.                   BUSINESS MGR ACCOUNT ATTN: GWB BUSINESS MANAGER PO BOX 4040 OMAHA NE 68104
TRANSCOAST EXPRESS                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRANSCOM EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRANSCON LOGISTICS INC.               88 MORTON WAY BRAMPTON ON L6Y 2P5 CANADA
TRANSCONTINENTAL TRANSPORTATION LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRANSEDGE TRUCK CENTERS               P.O. BOX 2208 DECATUR AL 35609
TRANSEND EXPRESS LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRANSERVE LOGISTICS INC               OR BVD CAPITAL CORPORATION 8177 TORBRAM ROAD BRAMPTON BC L6T 5C5 CANADA
TRANSFAST TRUCKING INC.               16583 S WRIGHT RD GRAND LEDGE MI 48837
TRANSFER SYSTEMS & WAREHOUSING        PO BOX 668 FRANKFORT IN 46041
TRANSFINITY LOGISTICS INC             1515 WRIGHTWOOD COURT ADDISON IL 60101
TRANSFINITY LOGISTICS INC             OR J D FACTORS, PO BOX 687 WHEATON IL 60187
TRANSFIRE LOGISTICS LLC               21238 68TH AVE S KENT WA 98032
TRANSFLEET                            11699 FENNER RD PERRY MI 48872
TRANSFLEET SERVICES LLC               14043 S SMOKY OAKS LANE HERRIMAN UT 84096
TRANSFORMED TRUCKING LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRANSFORMERS LLC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TRANSFREIGHT EXPRESS LLC              PO BOX 563 TEA SD 57064
TRANSGLOBE EXPRESS LLC                OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
TRANSHORN TRUCKING LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRANSHUB LOGISTICS LTD                13123 64 AVE SURREY BC V3X1X8 CANADA
TRANSIT CORE LLC                      PO BOX 93 LA GRANGE IL 60525
TRANSIT IN MOTION LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRANSIT NORD PLUS                     10 255 RUE IRENEE - VACHON MIRABEL QC J7N 1A6 CANADA
TRANSIT SOLUTIONS LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TRANSIT TRANSPORT INC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TRANSKID                              C/O ENTERPRISES TRANSKID INC. 1800 RUE LEON-HARMEL QC G1N 4R9 CANADA
TRANSLAND                             PO BOX 519 STRAFFORD MO 65757-0519
TRANSLEAD TRUCKING INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRANSLEY TRUCKING LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TRANSLINE LLC (MC042227)              OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
TRANSLITE LLC                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
TRANSLOG MANAGEMENT INCORPORATED      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TRANSLOGISTIK GROUP LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSMANIA INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TRANSMAPA CORP                        928 E 1040 S SPRINGVILLE UT 84663
TRANSMAQUILA , INC.                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRANSMARITIME                         P.O. BOX 450352 LAREDO TX 78045
TRANSMATE LOGISTICS                   ATTN: GENERAL COUNSEL 222 E. REDONDO BEACH BLVD GARDENA CA 90248
TRANSMC INCORPORATED                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRANSMEN FREIGHT SERVICES, LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRANSMOUNTAIN LOGISTICS LLC           OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
TRANSMOUNTAIN LOGISTICS LLC           13250 EMERALD CREEK DR HORIZON CITY TX 79928
TRANSNAT EXPRESS INC.                 1397 SAVOIE PLESSISVILLE QC G6L 1J8 CANADA
TRANSNATIONAL CARRIERS INC            OR OTR SOLUTONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                              Page 1932 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1941 of 2156

Claim Name                           Address Information
TRANSNATIONAL EXPRESS                DBA TRANSNATIONAL EXPRESS 8600 GATEWAY BLVD EAST EL PASO TX 79901
TRANSNATIONAL EXPRESS                12250 WINDERMERE AVE EL PASO TX 79928
TRANSNATIONAL FREIGHT INC            OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TRANSNET LOGISTICS LLC               OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TRANSOLUTION TRUCK CENTRES LTD.      45 BERGEN CUTOFF RD BOX 140, GROUP 200 WINNIPEG MB R3C 2E6 CANADA
TRANSOURCE COMPUTERS                 ATTN: JAMES MCGILL 2405 W UTOPIA RD PHOENIX AZ 85027
TRANSOURCE TRUCK & EQUIPMENT         901 E 60TH ST N SIOUX FALLS SD 57104
TRANSOURCE TRUCK & EQUIPMENT         38490 HIGHWAY 12 ABERDEEN SD 57401
TRANSP ACCTG NETWORK                 CONAIR CORP, PO BOX 2259 CORONA CA 92878
TRANSPARIS SERVICES LLC              OR LITTLE MOUTAIN LOGISTICS LLC 8084 LUDINGTON CIRCLE ORLANDO FL 32836
TRANSPLACE                           REDDAWAY DOCK, 10661 ETIWANDA AVE FONTANA CA 92337
TRANSPOL TRANSPORTATON LLC           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TRANSPOMAN, INC                      OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
TRANSPOREON GROUP AMERICAS INC.      500 OFFICE CENTER DRIVE, SUITE 400 FORT WASHINGTON PA 19034
TRANSPORT ALL INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSPORT BTC                        TRANSPORT BTC 295 RUE DES JONQUILLES SAINT-EUSTACHE QC J7P0A9 CANADA
TRANSPORT CHARLY INTERNATIONAL INC   OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA QC L4Z 1X8
                                     CANADA
TRANSPORT CORPORATION OF AMERICA     4868 PAYSPHERE CIRCLE CHICAGO IL 60674
TRANSPORT COST SOLUTIONS LLC         OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
TRANSPORT DIESEL SERVICE, INC.       1050 W 200 N LOGAN UT 84321
TRANSPORT DIRECT LLC                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TRANSPORT DISTRIBUTION SVCS          550 VILLAGE CENTER DR STE 100 SAINT PAUL MN 55127
TRANSPORT EMPLOYERS ASSOCIATES       PO BOX 388 HUNTLEY IL 60142
TRANSPORT EQUIPMENT INC              18126 N W FRONTAGE RD SHOREWOOD IL 60404
TRANSPORT EXPRESS                    ATTN: ERYN HINNENKAMP 3275 MIKE COLLINS DR EAGAN MN 55121
TRANSPORT HEER INC                   OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
TRANSPORT INNOVATE LLC               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
TRANSPORT JAGUAR INTERNATIONAL INC   3777 LAYFAYETTE OUEST BOISBRIAND QC J7H 1N5 CANADA
TRANSPORT KING INC                   OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
TRANSPORT LEASING SYSTEMS, LLC       336 W US HWY 30 SUITE 201 VALPARAISO IN 46385
TRANSPORT LOGIC LLC                  PO BOX 271 CASSVILLE MO 65625
TRANSPORT LOGISTICS EXPRESS CORP     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TRANSPORT MAX INC                    OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
TRANSPORT MAX LLC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TRANSPORT MORNEAU                    40 RUE PRINCIPALE SAINT ARSENE QC G0L2K0 CANADA
TRANSPORT NOW LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRANSPORT ON DEMAND                  OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
TRANSPORT ON-TIME                    1406 RUE SAINT-AMOUR SAINT-LAURENT QC H4S 1J2 CANADA
TRANSPORT ONE LLC                    OR CORPORATE BILLING LLC PO BOX 830604 DEPT 100 BIRMINGHAM AL 35283
TRANSPORT ONE, INC.                  3514 GOODFELLOW BLVD ST. LOUIS MO 63120
TRANSPORT PHOENIX                    15A RUE CENTRE COMMERCIAL ROXBORO QC H8Y 2N9 CANADA
TRANSPORT PLUS INC                   7722 WILDWOOD CT, UNIT 3N DARIEN IL 60561
TRANSPORT REPAIR SERVICE INC         541 BURTON ST SW GRAND RAPIDS MI 49507
TRANSPORT REPAIR SERVICE INC         541 BURTON SW GRAND RAPIDS MI 49507
TRANSPORT REPORTS                    5328 JAMES ST PHILADELPHIA PA 19137
TRANSPORT SCHONFELD INC              1805 CHEMIN ST-FRANCOIS DORVAL QC H9P 2S1 CANADA
TRANSPORT SECURITY, INC.             820 S PINE WACONIA MN 55387



Epiq Corporate Restructuring, LLC                                                               Page 1933 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1942 of 2156

Claim Name                              Address Information
TRANSPORT SERVICES INC.                10499 ROYALTON ROAD CLEVELAND OH 44133
TRANSPORT SERVICES OF NEVADA           PO BOX 25415 SALT LAKE CITY UT 84125
TRANSPORT SERVICES OF NEVADA           1581 GLENDALE AVENUE SPARKS NV 89431
TRANSPORT SIX LLC                      OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
TRANSPORT SOLUTIONS                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRANSPORT SOLUTIONS, LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRANSPORT SPECIALISTS INC.             P.O. BOX 670231 NORTHFIELD OH 44067
TRANSPORT STARTECK                     OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                       ANGELES CA 90074
TRANSPORT SYSTEMS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSPORT TPK                          4400 RUE BOURDAGES SAINT-LEONARD QC H1R 1W6 CANADA
TRANSPORT TRAILER EXPRESS, LLC         108 BROKEN POTTERY DRIVE PONTE VEDRA BEACH FL 32082
TRANSPORT TRAILER SERVICE, INC         PO BOX 7006 TUPELO MS 38802
TRANSPORT US                           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRANSPORT USA INC                      4653 HAMPTON AVE ST LOUIS MO 63109
TRANSPORT USA INC                      OR GULF COAST BANK AND TRUST PO BOX 732951 DALLAS TX 75373-2148
TRANSPORT USA LOGISTICS INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRANSPORT XKE REGALADO LLC             629 CARMICHAEL ROAD QUEENSTOWN MD 21658
TRANSPORT XPRESS                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANSPORT4REAL LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRANSPORTATION                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TRANSPORTATION (MC1090276)             1087 S COBB DR SE MARIETTA GA 30060-3318
TRANSPORTATION (MC1165762)             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANSPORTATION COMMUNICATIONS          INTERNATIONAL UNION PENSION PLAN 53 W. SEEGERS ROAD ARLINGTON HEIGHTS IL 60005
TRANSPORTATION DEVELOPMENT GROUP       2023 E SIMS WAY SUITE 372 PORT TOWNSEND WA 98368
TRANSPORTATION DEVELOPMENT GROUP LLC   190 W CONTINENTAL ROAD STE 216-401 GREEN VALLEY AZ 85622
TRANSPORTATION H.S. CORPORATION        38329 W TAMARISK AVE TONOPAH AZ 85354
TRANSPORTATION HEALTH SERVICES AND     INSURANCE PLAN 443 200 WALLACE STREET NEW HAVEN CT 06507
TRANSPORTATION HEROES INC              OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
TRANSPORTATION INC                     23434 FRONTAGE RD CHANNAHON 60410
TRANSPORTATION INC AGENT GROUP INC     OR RTS FINANCIAL SERVICE, PO BOX 840267 DALLAS TX 75284-0267
TRANSPORTATION INSIGHT                 PO BOX 23000 HICKORY NC 28603
TRANSPORTATION INSIGHT LLC             310 MAIN AVE WAY SE HICKORY NC 28602
TRANSPORTATION LAWYERS ASSOCIATION     P.O.BOX 723248 ATLANTA GA 31139
TRANSPORTATION LOAD SERVICES, INC      PO BOX 1592 LINDEN CA 95236
TRANSPORTATION MANAGEMENT SOLU         ATTN: NADREEN MARTINEZ 18450 PINES BLVD STE 203 PEMBROKE PINES FL 33029
TRANSPORTATION OF AMERICA, INC.        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRANSPORTATION PERFORMANCE INC         C/O EXPLORE INFORMATION SERVICES PO BOX 206708 DALLAS TX 75320
TRANSPORTATION PERFORMANCE INC         C/O EXPLORE INFORMATION SVC PO BOX 206708 DALLAS TX 75320-6708
TRANSPORTATION REPAIR SERVICE INC.     7314 SCHUYLER RD EAST SYRACUSE NY 13057
TRANSPORTATION REPAIR SERVICE INC.     INC, 7314 SCHUYLER RD EAST SYRACUSE NY 13057
TRANSPORTATION REPAIRS &               D/B/A: TRANSPORTATION REPAIRS & SERVICES 7001 SANTE FE DRIVE SUITE B HODGKINS
                                       IL 60525
TRANSPORTATION REPAIRS & SERVICES, INC. 7001 SANTE FE DRIVE SUITE B HODGKINS IL 60525
TRANSPORTATION SERVICES                ATTN: MATT KLINE PO BOX 296 POTTSTOWN PA 19464
TRANSPORTATION SOLUTIONS D P INC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRANSPORTATION SOLUTIONS INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRANSPORTATION SUPPORT SERVICES LLC    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TRANSPORTER LIVERY SERVICE LLC         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920



Epiq Corporate Restructuring, LLC                                                                 Page 1934 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 1943 of 2156

Claim Name                               Address Information
TRANSPORTER LOGISTIC                     OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
TRANSPORTES IMM                          CONSTANZA GARCIA 2215 COL. SAN JOSE NUEVO LAREDO 88160 MEXICO
TRANSPORTES INTERNACIONALES              MARGAL LOGISTICS LLC 111 JACALES CT LAREDO TX 78045-7371
TRANSPORTES MATIAS                       C/O MATIAS ARAGON VALENZUELA PO BOX 6221 NOGALES AZ 85621
TRANSPORTES MATIAS                       P.O.BOX 6221 NOGALES AZ 85621
TRANSPORTING AMERIKA INC                 OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
TRANSPORTING CARS CHAMPION INC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRANSPORTING WITH CARE                   OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
TRANSPRO                                 OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
TRANSPRO LOGISTICS INC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TRANSPRO TRANSPORTATION SERVICES LLC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRANSPROUSA INC                          168 REDON CIR WEBSTER NY 14580
TRANSRAPID INC                           OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
TRANSROD EXPRESS LTD LIABILITY COMPANY   OR TBS FACTORING SERVICE PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRANSSHIPPING TRANSPORTATION LLC         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRANSTEWART TRUCKING INC                 3251 BECK RD HILLSDALE MI 49242
TRANSTON LLC                             OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TRANSUNION LOGISTICS LLC                 OR RIVIERA FINANCE OF PHILADELPHIA INC PO BOX 713394 PHILADELPHIA PA
                                         19171-3394
TRANSURFING INC                          OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
TRANSVALUE INC                           7421 NW 7TH STREET MIAMI FL 33126
TRANSWAY LOGISTICS INC                   8601 BEACH BLVD UNIT 901 JACKSONVILLE FL 32216
TRANSWAY TRANSPORT, INC.                 PO BOX 1646 HUMBLE TX 77347
TRANSWEST                                5406 CROSSINGS DR 102-404 ROCKLIN CA 95677
TRANSWEST FREIGHTLINER LLC               ATTN: JAVIER LOPEZ PARTS 20770176 FRONT STE BLDG A BRIGHTON CO 80603
TRANSWEST TRUCK TRAILER RV               PO BOX 335 BRIGHTON CO 80601
TRANSWEST TRUCK TRAILER RV               20660 E I-76 FRONTAGE RD BRIGHTON CO 80603
TRANSWEST TRUCK TRAILER RV               20770 E I-76 FRONTAGE ROAD BRIGHTON CO 80603
TRANSWESTERN PROPERTY MGMT.              1 TOWER PLACE S. SAN FRANCISCO CA 94080
TRANSWORLD LOGISTICS LLC                 2631 GLENMORE ST FERNDALE WA 98248
TRANSWORTH LEASING LLC                   PO BOX 1657 FORTSON GA 31808
TRANSZONE LLC                            3036 GREENWICH LN BRUNSWICK OH 44212
TRANZACT TECHNOLOGIES                    360 W BUTTERFIELD RD SUITE 400 ELMHURST IL 60126
TRANZACT TECHNOLOGIES INC0060077715)     360 W BUTTERFIELD RD STE 4OO ELMHURST IL 60126
TRANZIP, LLC                             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TRANZIT INC                              OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRANZIT LOGISTICS INC                    OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
TRANZSTAR INC                            PO BOX 1747 WARSAW IN 46581
TRAORE TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRAPP, KEVIN                             ADDRESS ON FILE
TRAPP, KEVIN R                           ADDRESS ON FILE
TRAPP, NICHOLAS                          ADDRESS ON FILE
TRAPP, RONALD                            ADDRESS ON FILE
TRAPP-BURCH, JENNIFER                    ADDRESS ON FILE
TRAPPIER, LAMONTE                        ADDRESS ON FILE
TRASK, MARK                              ADDRESS ON FILE
TRASS, RASHEKA                           ADDRESS ON FILE
TRAUGHBER, BILLY                         ADDRESS ON FILE
TRAUST MOVING & FREIGHT                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                                   Page 1935 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1944 of 2156

Claim Name                           Address Information
TRAUTHWEIN, STEVEN                   ADDRESS ON FILE
TRAVEL CENTERS OF AMERICA            PO BOX 641906 CINCINNATI OH 45264
TRAVEL CENTERS OF AMERICA            PO BOX 391 MT. VERNON MO 65712
TRAVEL TRANSPORT                     PO BOX 20056 CHINGUACOUSY BRAMPTON ON L6Y0L9 CANADA
TRAVELERS                            161 N CLARK STREET CHICAGO IL 60601
TRAVELERS HEALTHCARE CLINIC          122003 NISSLER ROAD BUTTE MT 59701
TRAVELERS OF CANADA                  C/O ST PAUL FIRE AND MARINE INSURANCE CO 165 UNIVERSITY AVE SUITE 101 TORONTO
                                     ON M5H 3B9 CANADA
TRAVELERS TRUCKING LLC               OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
TRAVELOKO                            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRAVER, LISA                         ADDRESS ON FILE
TRAVERS, ANDREW                      ADDRESS ON FILE
TRAVERS, MICHAEL                     ADDRESS ON FILE
TRAVERSE LOGISTICS COMPANY LLC       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TRAVIESO OSENDI, ISABELLA            ADDRESS ON FILE
TRAVIS COUNTY TAX COLLECTOR          PO BOX 149328 AUSTIN TX 78714
TRAVIS CRICHTON                      ADDRESS ON FILE
TRAVIS ELECTRIC COMPANY              P O BOX 90362, 4400 MICHIGAN AVE NASHVILLE TN 37209
TRAVIS ELECTRIC COMPANY              PO BOX 90362 NASHVILLE TN 37209
TRAVIS INDUSTRIES INC                12521 HARBOUR REACH DR MUKILTEO WA 98275
TRAVIS L FELTS                       ADDRESS ON FILE
TRAVIS MOBILE AUTO SOLUTIONS LLC     OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
TRAVIS V PORTER                      ADDRESS ON FILE
TRAVIS, ALEXANDER                    ADDRESS ON FILE
TRAVIS, ANN                          ADDRESS ON FILE
TRAVIS, BOBBY                        ADDRESS ON FILE
TRAVIS, CHARLIE                      ADDRESS ON FILE
TRAVIS, EMONI                        ADDRESS ON FILE
TRAVIS, JIM                          ADDRESS ON FILE
TRAVIS, JOSEPH                       ADDRESS ON FILE
TRAVIS, JOSEPH                       ADDRESS ON FILE
TRAVIS, KEYAIR                       ADDRESS ON FILE
TRAVIS, LESJUAN                      ADDRESS ON FILE
TRAVNIK, JEFFREY                     ADDRESS ON FILE
TRAVOLTA, DAVID                      ADDRESS ON FILE
TRAVONCE AND DONTAY LOGISTICS LLC    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRAWALLY, BAKARY                     ADDRESS ON FILE
TRAWICK, ADAM                        ADDRESS ON FILE
TRAX GROUP INC.                      909 LAKE CAROLYN PARKWAY IRVING TX 75039
TRAX GROUP INC.                      ATTN: MARVIN PICO FREIGHT CLAIMS 909 LAKE CAROLYN PARKWAY SUITE IRVING TX
                                     75039
TRAX GROUP INC.                      ATTN: RITCHEL ENERLAN FREIGHT CLAIMS 909 LAKE CAROLYN PARKWAY SUITE IRVING TX
                                     75039
TRAXINGER, RHETT                     ADDRESS ON FILE
TRAYER, ALEXANDER                    ADDRESS ON FILE
TRAYLOR FREIGHT LLC                  1932 NIGHTWALK COURT MURFREESBORO TN 37130
TRAYLOR, MIKE                        ADDRESS ON FILE
TRAYLOR, TONY                        ADDRESS ON FILE
TRAYVON D MCALLISTER                 ADDRESS ON FILE


Epiq Corporate Restructuring, LLC                                                               Page 1936 OF 2145
                                           Yellow Corporation
                    Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 1945 of 2156

Claim Name                          Address Information
TRC FREIGHT INC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TRC LLC                             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TREADLINE TRUCKING LLC              1190 W 900 N UNIT 1190 LAYTON UT 84041
TREADWAY, DENNIS                    ADDRESS ON FILE
TREADWAY, ERIC                      ADDRESS ON FILE
TREADWAY, LESLIE                    ADDRESS ON FILE
TREADWAY, LISA                      ADDRESS ON FILE
TREADWELL, ROBERT                   ADDRESS ON FILE
TREANOR, JASON                      ADDRESS ON FILE
TREASURE TRANSPORT INC              13600 CREDITVIEW RD CHELTENHAM ON L7C1Y3 CANADA
TREASURE VALLEY COFFEE, INC.        11875 W PRESIDENT DR BOISE ID 83713
TREASURER                           711 N BRIDGE ST CHIPPEWA FALLS WI 54729
TREASURER CITY OF COLUMBUS          4252 GROVES ROAD COLUMBUS OH 43232
TREASURER CITY OF PITTSBURGH        414 GRANT ST PITTSBURGH PA 15219
TREASURER DEPT                      CHESTERFIELD COUNTY, PO BOX 26585 RICHMOND VA 23285
TREASURER MONTGOMERY COUNTY         451 W THIRD ST, PO BOX 817600 DAYTON OH 45481
TREASURER OF VIGO COUNTY            PO BOX 1466 INDIANAPOLIS IN 46206
TREASURER OF VIRGINIA               333 E FRANKLIN STREET RICHMOND VA 23219
TREASURER STATE OF CONNECTICUT      SECOND INJURY FUND OFFICE OF THE TREASURER 55 ELM STREET 5TH FLOOR HARTFORD CT
                                    06106
TREASURER STATE OF CONNECTICUT      UNCLAIMED PROPERTY DIVISION PO BOX 150435 HARTFORD CT 06115
TREASURER STATE OF IOWA             PO BOX 10411 DES MOINES IA 50306
TREASURER STATE OF IOWA             SALES/USE TAX PROCESSING, PO BOX 10412 DES MOINES IA 50306
TREASURER STATE OF IOWA             UNCLAIMED PROPERTY DIVISION PO BOX 10430 DES MOINES IA 50306
TREASURER STATE OF MAINE            OFFICE OF STATE TREASURER ATTN: UNCLAIMED PROPERTY 39 STATE HOUSE STATION
                                    AUGUSTA ME 04333
TREASURER STATE OF NEW JERSEY       NJ DEPT OF TREASURY DIV OF REV PO BOX 417 TRENTON NJ 08646
TREASURER STATE OF OHIO             BUREAU OF TESTING & REGISTRATION 8895 EAST MAIN STREET REYNOLDSBURG OH 43068
TREASURER STATE OF OHIO             BUREAU OF TESTING & REGULATION 8895 E MAIN STREET REYNOLDSBURG OH 43068
TREASURER STATE OF OHIO             BUREAU OF TESTING/REGISTRATION 6606 TUSSING RD REYNOLDSBURG OH 43068
TREASURER STATE OF OHIO             DIV OF INDUSTRIAL COMPLIANCE FISCAL BO 6606 TUSSING RD REYNOLDSBURG OH 43068
TREASURER STATE OF OHIO             OH DEPT OF COMM-DIV STATE FIRE MARSHAL 898 E MAIN STREET PO BOX 529
                                    REYNOLDSBURG OH 43068
TREASURER STATE OF OHIO             OHIO EPA, 50 W. TOWN ST COLUMBUS OH 43216-1049
TREASURER STATE OF OHIO             PO BOX 77005 CLEVELAND OH 44194
TREASURER STATE OF OHIO             OHIO EPA, PO BOX 77005 CLEVELAND OH 44194-7005
TREASURER STATE OF TENNESSEE        DIVISION OF FISCAL SERV ICES 312 ROSA L PARKS AVENUE 10TH FL NASHVILLE TN
                                    37243
TREASURER STATE OF TENNESSEE UCP    TREASURY DEPT-UNCLAIMED PROP DV PO BOX 198649 NASHVILLE TN 37219
TREASURER STATE OF VERMONT          AGENCY OF NATURAL RESOURCES DEPT OF ENVIRONMENTAL CONS 1 NATIONAL LIFE DRIVE
                                    DAVIS 1 MONTPELIER VT 05620
TREASURER TAX COLLECTOR - CA        172 W 3RD ST FL 1 SAN BERNARDINO CA 92415
TREASURER, IOWA STATE               SECOND INJURY FUND LUCAS STATE OFFICE BLDG 321 E. 12TH STREET DES MOINES IA
                                    50319
TREASURER, STATE OF NEW HAMPSHIRE   STATE TREASURY DEPT. ABANDONED PROPERTY DIVISION 25 CAPITOL STREET, RM 205
                                    CONCORD NH 03301
TREASURER, STATE OF NEW HAMPSHIRE   DEPARTMENT OF LABOR, PO BOX 2160 CONCORD NH 03302
TREASURER, STATE OF NEW HAMPSHIRE   DIV OF WEIGHTS & MEASURES, PO BOX 2042 CONCORD NH 03302
TREASURER, STATE OFCONNECTICUT      DOT - ACCOUNTS RECEIVABLE UNIT PO DRAWER 317546 NEWINGTON CT 06131-7546
TREASURY, STATE OF NEW JERSEY       DEPT OF COMMUNITY AFFAIRS ELEV SFTY UNIT PO BOX 816 TRENTON NJ 08625



Epiq Corporate Restructuring, LLC                                                             Page 1937 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1946 of 2156

Claim Name                           Address Information
TREASURY, STATE OF NEW JERSEY        NJ DEPARTMENT OF TREASURY DIVISION OF REVENUE PO BOX 417 TRENTON NJ 08646
TREAT AMERICA FOOD SERVICES          8500 SHAWNEE MISSION PKWY STE 100 MERRIAM KS 66202
TREAT AMERICA FOOD SERVICES          9771 COMMERCE PARKWAY LENEXA KS 66219
TREAT AMERICA LIMITED                9771 COMMERCE PARKWAY LENEXA KS 66219
TREAT, JEFFREY                       ADDRESS ON FILE
TREAZIAM TRANSPORT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TREBLE, CHRISTOPHER                  ADDRESS ON FILE
TREBOUR, MICHAEL                     ADDRESS ON FILE
TREE D ENTERPRISE                    11455 WALNUT ST WHITTIER CA 90606
TREE LINE TRANSPORTATION, INC.       PO BOX 8 TURNER OR 97392
TREE TOP TRUCKING INC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TREE TRIMMING PLUS LAWN &            LANDSCAPING LLC 4501 S PHELPS INDEPENDENCE MO 64055
TREEOS TREE SERVICE INC.             936 APPLETON ROAD MENASHA WI 54952
TREFFERS, GWEN                       ADDRESS ON FILE
TREGA CARRIERS LLC                   9114 MCPHERSON 3801 LAREDO TX 78045
TREHARN, JAMES                       ADDRESS ON FILE
TREITLINE, ZACHARY                   ADDRESS ON FILE
TREJO ZAMORA, MANUEL                 ADDRESS ON FILE
TREJO, AMADO                         ADDRESS ON FILE
TREJO, JOEL                          ADDRESS ON FILE
TREJO, URBANO                        ADDRESS ON FILE
TREK BICYCLE                         ATTN: TERESA DEBLONE, 425 RESORT DRIVE JOHNSON CREEK WI 53038
TREK BICYCLE                         425 RESORT DR JOHNSON CREEK WI 53094
TREK BICYCLE CORPORATION             5100 SHEA CENTER DR ONTARIO CA 91761
TREK CANADA LLC                      425 RESORT DR JOHNSON CREEK WI 53094
TRELAWNY ENTERPRISES CORPORATION     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRELOAR INC                          C/O AQUA SOLUTIONS, PO BOX 300964 HOUSTON TX 77230
TREMAYNE HYDER                       ADDRESS ON FILE
TREMBLAY, RICHARD A                  ADDRESS ON FILE
TREMBLE, TIMOTHY                     ADDRESS ON FILE
TREMBLY, LISA                        ADDRESS ON FILE
TREMCO INC                           1451 JACOBSON AVE ASHLAND OH 44805
TREMMEL, LARRY                       ADDRESS ON FILE
TREND TRANS                          400 N BERRY STREET BREA CA 92821
TRENDA, MICHAEL                      ADDRESS ON FILE
TRENDELL, JAMES                      ADDRESS ON FILE
TRENDLER COMPONENTS INC              ATTN: GENIENE URAM 4540 W 51ST ST CHICAGO IL 60632
TRENDWAY CORPORATION                 PO BOX 776195 CHICAGO IL 60677-6195
TRENGA, DOUG                         ADDRESS ON FILE
TRENT A JENSON                       ADDRESS ON FILE
TRENT JENSEN                         ADDRESS ON FILE
TRENT, BILLY                         ADDRESS ON FILE
TRENT, JOHN                          ADDRESS ON FILE
TRENT, MARCUS                        ADDRESS ON FILE
TRENT, RONALD                        ADDRESS ON FILE
TRENTHAM, BRYAN                      ADDRESS ON FILE
TRENTON D COLE                       ADDRESS ON FILE
TRENTON ENGINEERING COMPANY INC      2193 SPRUCE STREET TRENTON NJ 08638
TRENTON J JAMES                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1938 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1947 of 2156

Claim Name                            Address Information
TRENTON WATER WORKS                   333 CORTLAND ST TRENTON NJ 08638
TRES RS INC                           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TRESCAL, INC                          2606 SOLUTION CENTER CHICAGO IL 60677-2006
TRESCH, JOHN P                        ADDRESS ON FILE
TRESENREITER, FRANZ                   ADDRESS ON FILE
TRESKO, WALTER R                      ADDRESS ON FILE
TRESTER, ARTHUR                       ADDRESS ON FILE
TRESTER, ARTHUR                       ADDRESS ON FILE
TRESTER, JOSHUA                       ADDRESS ON FILE
TRESTER, MIKE                         ADDRESS ON FILE
TRETHEWEY, RICHARD                    ADDRESS ON FILE
TRETO, FERNANDO                       ADDRESS ON FILE
TREVENA, JEFF                         ADDRESS ON FILE
TREVERTON, PATRICK                    ADDRESS ON FILE
TREVINO, ALFREDO                      ADDRESS ON FILE
TREVINO, ARMANDO                      ADDRESS ON FILE
TREVINO, CECILIO                      ADDRESS ON FILE
TREVINO, DANIEL                       ADDRESS ON FILE
TREVINO, KEVIN                        ADDRESS ON FILE
TREVINO, LILLIAN                      ADDRESS ON FILE
TREVINO, MICHELLE                     ADDRESS ON FILE
TREVINO, RICHARD                      ADDRESS ON FILE
TREVINO-LEGLER, LYNN                  ADDRESS ON FILE
TREVON S HAMPTON                      ADDRESS ON FILE
TREVOR A THOMPSON                     ADDRESS ON FILE
TREVOR K SPRANGERS                    ADDRESS ON FILE
TREVOR ONEAL                          ADDRESS ON FILE
TREVORUS D ELLIS                      ADDRESS ON FILE
TREW CARRIERS LLC                     OR TBS FACTORING SERVICE, PO BOX 151052 OGDEN UT 84415
TREWAY LLC                            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TREY E PECK                           ADDRESS ON FILE
TREY PARRISH TRUCKING INC.            3558 HEATH DAIRY RD RANDLEMAN NC 27317
TREZVANT, KENNETH                     ADDRESS ON FILE
TRG TRANSPORTATION INC                PO BOX 933260 CLEVELAND OH 44193
TRI -SIGNAL INTEGRATION, INC.         28110 AVENUE STANFORD, UNIT D SANTA CLARITA CA 91355
TRI CITY AUTO SERVICES INC            OR OPERATION FINANCE INC, PO BOX 227352 DALLAS TX 75222-7352
TRI CITY GLASS & DOOR, INC.           2801 N ROEMER RD APPLETON WI 54911
TRI CITY LOGISTICS INC                760 BEULAH CHURCH RD KINGSPORT TN 37663
TRI CITY LOGISTICS INC                5015 MEMORIAL BLVD. KINGSPORT TN 37664
TRI COUNTY POWER TOOL, INC            1300 BROOKPARK RD CLEVELAND OH 44109
TRI ELECTRONICS                       6231 CALUMET AVE HAMMOND IN 46324
TRI ISLE INC DBA VALLEY ISLE & WHSE   ATTN: ACCOUNTING DEPARTMENT 830 EHA STREET WAILUKU HI 96793
TRI ISLE INC DBA VALLEY ISLE & WHSE   ATTN: ACCOUNTING DEPARTMENT, 860 EHA ST WAILUKU HI 96793
TRI LIFT INC                          PO BOX 120247 EAST HAVEN CT 06512
TRI LIFT INC                          101 PARK PLACE COURT GREENVILLE SC 29607
TRI R LOGISTICS INC                   225 SE WILLOW RUN LN ANKENY IA 50021
TRI SEAL                              900 BRADLEY HILL RD. BLAUVELT NY 10913
TRI STAR FREIGHT SYSTEM, INC.         5407 MESA DRIVE HOUSTON TX 77028
TRI STAR GROVE                        714 5TH ST PLAINVILLE IN 47568



Epiq Corporate Restructuring, LLC                                                                Page 1939 OF 2145
                                              Yellow Corporation
                      Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1948 of 2156

Claim Name                             Address Information
TRI STAR TRANSPORTING                  2155 W. WILLIAMS PHOENIX AZ 85027
TRI STARS LOGISTICS, INC.              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TRI STATE CLAIMS                       BY WACO SERVICES INC, 250 VETERANS RD MIDDLETOWN VA 22645
TRI STATE COMPRESSED AIR SYSTEMS INC   1608 EISENHOWER DR S GOSHEN IN 46526
TRI STATE DISTRIBUTORS                 20119 59TH PL S KENT WA 98032
TRI STATE DISTRIBUTORS                 PO BOX 3623 SPOKANE WA 99220
TRI STATE DPF CLEANING SERVICES, LLC   208 E. KING STREET, STE. 10 SHIPPENSBURG PA 17257
TRI STATE TOWING                       1501 N. EVANS AVE. EVANSVILLE IN 47711
TRI STATE TOWING                       1416 E AVE KALONA IA 52247
TRI STATE TRAILER SALES INC            1690 ROHRERS TOWN RD LANCASTER PA 17601
TRI STATE TRAILER SALES INC            3111 GRAND AVE PITTSBURGH PA 15225
TRI STATE TRAILER SALES INC            PO BOX 3465 PITTSBURGH PA 15230
TRI STATE TRUCK CENTER INC             4614 THIBAULT RD LITTLE ROCK AR 72206
TRI STATE TRUCK CENTER, INC.           411 HARTFORD TURNPIKE SHREWSBURY MA 01545
TRI STATE XPRESS, LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TRI WEST LTD                           12005 E PIKE ST SANTA FE SPRINGS CA 90670
TRI WEST LTD                           ATTN SCOTT CRUZ, 12005 PIKE ST SANTA FE SPRINGS CA 90670
TRI WEST LTD                           7908 S 228TH ST KENT WA 98032
TRI-ACE FREIGHT                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TRI-B, INC.                            P.O. BOX 949 BURNSIDE KY 42519
TRI-CITY EXPRESS                       OR GREAT PLAINS TRANSPORTATION SRV INC PO BOX 4539 CAROL STREAM IL 60197
TRI-CITY FIRE PROTECTION INC           6225 N BRADY ST DAVENPORT IA 52806
TRI-COUNTY MEDICAL SVCS, INC.          855 W MAPLE ST, SUITE 120 HARTVILLE OH 44632
TRI-COUNTY MEDICAL SVCS, INC.          864 W MAPLE ST UNIT B HARTVILLE OH 44632
TRI-LIFT NC INC                        2905 MANUFACTURERS RD GREENSBORO NC 27406
TRI-LIFT NC INC                        TRI-LIFT INDUSTRIES INC. DEPT. 335 P.O. BOX 1431 CHARLOTTE NC 28201
TRI-LIFT NJ                            1471 JERSEY AVENUE NORTH BRUNSWICK TOWNSHIP NJ 08902
TRI-POL ENTERPRISES INC.               9315 40TH STREET SE CALGARY AB T2C 2P4 CANADA
TRI-STAR INDUSTRIAL PRODUCTS           12049 REGENTVIEW AVENUE DOWNEY CA 90241
TRI-STAR MOWING & MORE                 1051 PLESANT VALLEY ROAD GREENBRIER TN 37073
TRI-STATE COURIER                      2879 CARDASSI DRIVE OCOEE FL 34761
TRI-STATE ELECTRIC, INC.               7790 MOSSY CUP BOISE ID 83709
TRI-STATE FREIGHT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRI-STATE HEAVY REPAIR LLC             889 U.S. 6 PORT JERVIS NY 12771
TRI-STATE HOSE & FITTING INC           MOTION & CONTROL ENTERPRISES LLC P.O. BOX 775888 CHICAGO IL 60677
TRI-STATE INDUCTRY /BLOBALTRANZ        7350 N DOBSON RD, STE 130 SCOTTSDALE 85256
TRI-STATE TRUCK & EQUIPMENT, INC.      5250 MIDLAND RD BILLINGS MT 59101
TRI-STATE TRUCK & EQUIPMENT, INC.      PO BOX 1298 BILLINGS MT 59103
TRIAD ELECTRIC LTD.                    16049 132 AVENUE NW EDMONTON AB T5V 1H8 CANADA
TRIAD ELECTRICAL SERVICES LLC          103 AMIABLE LOOP CARY NC 27519
TRIAD EXPRESS                          OR AMERISOURCE FUNDING INC, PO BOX 4738 HOUSTON TX 77210-4738
TRIAD FREIGHTLINER                     OF GREENSBORO, 6420 BURNT POPLAR RD GREENSBORO NC 27409
TRIAD FREIGHTLINER                     DEPT 880097, PO BOX 29650 PHOENIX AZ 85038
TRIAD TECHNOLOGIES LLC                 L-3927 COLUMBUS OH 43260
TRIANA, FABIO G                        ADDRESS ON FILE
TRIANGLE COMMUNICATIONS, INC.          99 15TH STREET NEW CUMBERLAND PA 17070
TRIANGLE COMMUNICATIONS, INC.          940 WEST MAIN STREET NEW HOLLAND PA 17557
TRIANGLE SUSPENSION SYSTEMS            INTERSTATE FREIGHT AUDITING, PO BOX 1407 WHITE HOUSE TN 37188
TRIANGLE TRUCKING INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 1940 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1949 of 2156

Claim Name                           Address Information
TRIANGLE TRUCKING INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRIANGLE-J INC                       121 TRUCKERS LANE COLLINS GA 30421
TRIBBETT, DANNY                      ADDRESS ON FILE
TRIBECA PLUMBING INC                 6211 W. NORTHWEST HWY, SUITE C251 DALLAS TX 75225
TRIBECA STONE LLC                    25 MURRAY STREET 3G NEW YORK NY 10007
TRIBLE, JAMES                        ADDRESS ON FILE
TRIBS TRUCKING LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TRIBUNE PUBLISHING CO                PO BOX 957 LEWISTON ID 83501
TRIBUTE TRANSPORT INC                OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TRICAM INDUSTRIES                    7677 EQUITABLE DR EDEN PRAIRIE MN 55344
TRICE, ALEXANDER                     ADDRESS ON FILE
TRICE, CEDRIC                        ADDRESS ON FILE
TRICE, JAMARI                        ADDRESS ON FILE
TRICE, KANNON                        ADDRESS ON FILE
TRICE, PHILLIP                       ADDRESS ON FILE
TRICE, WHITTNI L                     ADDRESS ON FILE
TRICE, WHITTNI L                     ADDRESS ON FILE
TRICIC, MUHAMED                      ADDRESS ON FILE
TRICO PRODUCTS                       1995 BILLY MITCHELL BLVD BROWNSVILLE TX 78521
TRICORBRAUN                          LOCKBOX ID 638369, PO BOX 638369 CINCINNATI OH 45263
TRIDAN TRANSPORT LLC                 OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
TRIDENT ENERGY SERVICES              OR GULF COAST BANK & TRUST COMPANY PO BOX 731152 DALLAS TX 75373-1152
TRIDENT EXPRESS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRIDENT FIRE & SECURITY              PO BOX 826 LONGMONT CO 80502
TRIDENT LOGISTICS INC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TRIDENT ROADLINES INC                12830 80 AVENUE, 212 SURREY BC V3X 1N8 CANADA
TRIDENT TRANSPORT                    ATTN: TORI KNIGHT 505 RIVERFRONT PKWY CHATTANOOGA TN 37402
TRIDENT TRANSPORT LLC                6674 MEADOWOOD DR MEDINA OH 44256
TRIDENT TRUCKING                     5 VICTORIAVILLE RD BRAMPTON ON L6X 5H4 CANADA
TRIFORESTI, JASON                    ADDRESS ON FILE
TRIFUNOV, DUKE                       ADDRESS ON FILE
TRIGG, BLAKE                         ADDRESS ON FILE
TRIGGS, RICHARD                      ADDRESS ON FILE
TRIGNANI, ROCCO                      ADDRESS ON FILE
TRILLIUM                             PO BOX 641513 DETROIT MI 48264
TRILLIUM ROADWAYS                    3405 AMERICAN DRIVE, UNIT 5 MISSISSAUGA ON L4V 1T6 CANADA
TRILLIUM TRANSPORTATION INC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRILLO, RAY                          ADDRESS ON FILE
TRIM TEK LLC                         454 S 3RD ST CHAMBERSBURG PA 17202
TRIM TEX                             3700 W PRATT AVE LINCOLNWOOD IL 60712
TRIMACO LLC                          PRO STAR LOGISTICS 5160 W WILEY POST WAY SALT LAKE CITY UT 84116
TRIMARK ADAMS BURCH                  1901 STANFORD COURT LANDOVER MD 20785
TRIMARK GILL GROUP                   ATTN: SHANNON HALL 2128 ESPEY CT CROFTON MD 21114
TRIMARK GILL MARKETING               ATTN: LIZ LABRANCHE CSR 1904 W PARKSIDE LN, STE 100 PHOENIX AZ 85027
TRIMARK HOCKENBURGS                  PO BOX 6939 CAROL STREAM IL 60197
TRIMARK HOCKENBURGS                  14603 W 112TH ST LENEXA KS 66215
TRIMARK RAYGAL INC                   ATTN: LUCINDA TROMBLAY 210 COMMERCE IRVINE CA 92602
TRIMARK RW SMITH CO                  10101 OLD GROVE ROAD SAN DIEGO CA 92131
TRIMARK RW SMITH CO                  ATTN: LUCINDA TROMBLAY 10101 OLD GROVE ROAD SAN DIEGO CA 92131



Epiq Corporate Restructuring, LLC                                                            Page 1941 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 1950 of 2156

Claim Name                            Address Information
TRIMBLE MAPS.                         PO BOX 204769 DALLAS TX 75320
TRIMBLE TRANS ENTERPRISE SOLUTIONS,   PO BOX 203455 DALLAS TX 75320
INC.
TRIMBLE, DANIEL                       ADDRESS ON FILE
TRIMBLE, GREGORY                      ADDRESS ON FILE
TRIMBLE, ROBERT                       ADDRESS ON FILE
TRIMBLE, WILLIAM                      ADDRESS ON FILE
TRIMI TRUCKING LLC                    OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
TRIMMER, MARSHA                       ADDRESS ON FILE
TRINATION TRANSPORT INC               OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA NS L3V 6L4
                                      CANADA
TRINH, HIEU                           ADDRESS ON FILE
TRINH-VU, NGA                         ADDRESS ON FILE
TRINIDAD, MICHAEL                     ADDRESS ON FILE
TRINION LOGISTICS, INC.               8880 RIO SAN DIEGO DR. SUITE 340 SAN DIEGO CA 92108
TRINITY ADVANTAGE XPRESS LLC          OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TRINITY CARRIER SERVICES L.L.C.       OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TRINITY CARRIERS INC                  OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
TRINITY DIESEL BT                     5065 BOYD RD ARCATA CA 95521
TRINITY EXPEDITING INCORPORATED       PO BOX 1342 SHERMAN TX 75901
TRINITY EXPRESS                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRINITY LOGISTICS                     10380 N AMBASSADOR DR STE 102 KANSAS CITY MO 64153
TRINITY LOGISTICS INC                 50 FALLON AVE SEAFORD DE 19973
TRINITY LOGISTICS INC                 ATTN: BECKIE SAVINO 50 FALLON AVE SEAFORD DE 19973
TRINITY LOGISTICS INC                 ATTN: BETH MASTEN 50 FALLON AVE SEAFORD DE 19973
TRINITY MEDICAL GROUP                 PO BOX 5010 MINOT ND 58702
TRINITY TOOL CO                       34600 COMMERCE FRASER MI 48026
TRINITY TOOL CO                       PO BOX 98 FRASER MI 48026
TRINITY TRANSPORT, INC.               PO BOX 949 LEXINGTON NC 27293
TRINITY TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRINITY XPRESS CORP                   PO BOX 770844 MIAMI FL 33177
TRINTON HOME IMPROVEMENT              7919 S. SUBURBAN ROAD CENTERVILLE OH 45458
TRION, HENRI                          ADDRESS ON FILE
TRIOSE                                ONE MERIDIAN BLVD STE 4B02 WYOMISSING PA 19610
TRIP PORTFOLIO LLC                    C/O BIP MANAGEMENT LLC 222 SOUTH 9TH STREET SUITE 2870 MINNEAPOLIS MN 55402
TRIP PORTFOLIO LLC                    C/O BIP MANAGEMENT LLC 5353 WAYZATA BLVD 205 MINNEAPOLIS MN 55416
TRIP PORTFOLIO, LLC                   ATTN: BIP MANAGEMENT LLC 222 SOUTH 9TH STREET SUITE 2870 MINNEAPOLIS MN 55402
TRIPACK SLEEVER                       401 MILFORD PKWY MILFORD OH 45150
TRIPLE - S SALUD, INC                 1441 F D ROOSEVELT AVE SAN JUAN PR 00920
TRIPLE - S SALUD, INC                 PO BOX 71548 SAN JUAN PR 00936-8648
TRIPLE 7 LOGISTICS CORP               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRIPLE A EXPRESS INC                  PO BOX 9454 SANTA MARIA CA 93456
TRIPLE A SHIPPING GROUP INC           OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
TRIPLE AXLE CARRIER                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TRIPLE B FORWARDERS                   1511 GLEN CURTISS ST CARSON CA 90746
TRIPLE C EXPRESS                      745 GOOSE CREEK ROAD DANDRIDGE TN 37725
TRIPLE C EXPRESS INC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TRIPLE C EXPRESS, INC.                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TRIPLE C LOGISTICS OF NC LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                Page 1942 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1951 of 2156

Claim Name                            Address Information
TRIPLE D EXPRESS, INC.                110 W ARMFIELD STREET ST PAULS NC 28384
TRIPLE DEE LOGISTICS & TRANS CO LLC   OR OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLE DOUBLE TRUCKING LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRIPLE DS TRANSPORT LLC               11600 IDAHO AVE SOUTH GATE CA 90280
TRIPLE E EXPRESS LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TRIPLE E TRUCKING INC                 OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
TRIPLE E TRUCKING, INC.               P O BOX 3335 GREENVILLE NC 27836
TRIPLE EIGHT EXPRESS INC              1436 YORKSHIRE DR STREAMWOOD IL 60107
TRIPLE EIGHT EXPRESS INC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRIPLE G TRANSPORT                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRIPLE G TRUCKING                     11 HAMMERHEAD ROAD BRAMPTON ON L7A 4J4 CANADA
TRIPLE H CARRIER GROUP                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRIPLE H ENTERPRISES                  617 EDSION AVE WINNIPEG MB R2G 0M8 CANADA
TRIPLE H HAULING LLC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                      CHICAGO IL 60674-0411
TRIPLE H SERVICES LLC                 OR TETRA CAPITAL, PO BOX 25297 SALT LAKE CITY UT 84125
TRIPLE H TRANSPORT                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TRIPLE I EXPRESS LLC                  OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TRIPLE J & A TRANSPORTATION           OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
TRIPLE J DOCKBOARD                    SVCE & INSTALLATION LLC 2250 JOE BROWN RD BEAR CREEK NC 27207
TRIPLE J HAULING OF TEXAS LLC         131 ANGUS RD WAXAHACHIE TX 75167
TRIPLE J TRUCKING LLC                 OR ROAD HUNTER LOGISITCS INC 500 RAILWAY AVE CHANCELLOR SD 57015
TRIPLE K ST TRUCKING LLC              985 SCRIPPS DR CLAREMONT CA 91711
TRIPLE L                              190 ELIZABETH PIKE MINERAL WELLS WV 26150
TRIPLE L                              321 WALNUT ST BELPRE OH 45714
TRIPLE L EXPRESS INC                  OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TRIPLE L TOWING & REPAIR INC          1825 N MAIN ST POCATELLO ID 83204
TRIPLE LOGISTICS TRANSPORT LLC        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRIPLE M HAULING INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRIPLE M LOGISTICS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRIPLE M TOWING INC                   647 E MAIN ST GRASS VALLEY CA 95945
TRIPLE M TRANSPORTATION               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLE M TRANSPORTATION INC           12740 SANDBURG WAY GRAND TERRACE CA 92313-5823
TRIPLE M TRUCKING (MC131473)          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLE MMM EXPRESS LLC                OR TRUCKING PROS FINANCIAL PO BOX 150523 OGDEN UT 84111
TRIPLE O RELOCATION INC.              1825 PARKER RD SE, APT 410 CONYERS GA 30094
TRIPLE P TRUCKING, INC.               4987 EAST US 27 MAYO FL 32066
TRIPLE R EXPEDITORS LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
TRIPLE R LOGISTICS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRIPLE RRR CARRIERS INC               OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
TRIPLE S                              GEODIS LOGISTICS LLC, PO BOX 2208 BRENTWOOD TN 37024
TRIPLE S C/O GEODIS                   PO BOX 2208 BRENTWOOD TN 37024
TRIPLE S CARRIERS LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRIPLE S CORP                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TRIPLE S LOGISTICS INC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TRIPLE T EXPRESS INC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLE T FREIGHTLINER,                STERLING, WESTERN STAR, INC. 104 DAISY SCOTT ROAD ROCKY POINT NC 28457
TRIPLE T TRANSPORT                    PO BOX 534 EASTLAND TX 76448
TRIPLE T TRAVELERS LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196



Epiq Corporate Restructuring, LLC                                                                Page 1943 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1952 of 2156

Claim Name                           Address Information
TRIPLE THREAT TRANSPORT LLC          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLE THREAT TRUCKING LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLE Y TRUCKING                    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
TRIPLE-S TRUCKING                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRIPLE-TTT ELECTRIC INC              623 WORCHESTER WESTLAND MI 48186
TRIPLESSS TRANSPORT LLC              OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
TRIPLET BROS LOGISTICS LLC           9304 FOREST LANE, SUIT N258 DALLAS TX 75243
TRIPLET COMPANIES                    3553 109TH ST. URBANDALE IA 50322
TRIPLETT TRUCKING LLC                OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
TRIPLETT, IVAN                       ADDRESS ON FILE
TRIPLETT, JAMAR                      ADDRESS ON FILE
TRIPLETT, LONNIE                     ADDRESS ON FILE
TRIPLEVISION LOGISTICS LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRIPLIN, WAYNE                       ADDRESS ON FILE
TRIPOD TRADINGS LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRIPOD TRANSPORTATION LLC            OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TRIPOLI, JOSEPH                      ADDRESS ON FILE
TRIPOWER INC TOWING & RECOVERY       900 S OAK ST EFFINGHAM IL 62401
TRIPP, CHARLES                       ADDRESS ON FILE
TRIPP, OLLICE                        ADDRESS ON FILE
TRIPPLE SILVER STAR, INC             OR ASTERIA CORP, PO BOX 911 BURBANK CA 91503
TRIPPLES LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRISAN TRUCKING LLC                  OR PDM FINANCIAL, LLC, PO BOX 3336 DES MOINES IA 50316
TRISAND INC                          P.O. BOX 2747 EUGENE OR 97402
TRISCH, EVELYN                       ADDRESS ON FILE
TRISTAN L SCHUETT                    ADDRESS ON FILE
TRISTAN PATRALSKI                    ADDRESS ON FILE
TRISTANI, JOHN                       ADDRESS ON FILE
TRISTANI, ROBERT                     ADDRESS ON FILE
TRISTAR GLOBAL, INC.                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRISTATE CARRIER INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TRISTONE LOGISTICS LLC               8721 PIAZZA DEL LAGO CIRCLE 205 ESTERO FL 33928
TRITON EXPRESS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRITON LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRITON LOGISTICS INC (MIAMI FL)      1900 NW 129 AVE STE 115 MIAMI FL 33182
TRITON POWER WASH INC                12861-170 ST EDMONTON AB T5V 1L8 CANADA
TRITON TRUCK LINES INC               OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                     ANGELES CA 90074
TRITT, CHARLES                       ADDRESS ON FILE
TRITT, SHAWNEE                       ADDRESS ON FILE
TRIUMPH TRANSPORT, LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRIUMPH TRUCKING LLC                 OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
TRIUMPHANT LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRIUNE NATIONAL CARRIERS INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRIUS TRUCKING, INC.                 PO BOX 2700 FRESNO CA 93745
TRIVANTAGE LLC                       11431 NW 107 STREET SUITE 19 MIAMI FL 33178
TRIVETT, PHILLIP                     ADDRESS ON FILE
TRIVIDIA HEALTH                      ATTN: FRANK STABIO 3230 W PROSPECT RD STE 170 FT LAUDERDALE FL 33309
TRJ LOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING INC. PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                               Page 1944 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1953 of 2156

Claim Name                            Address Information
TRK DRIVERS UNION                     LOCAL 407, 3320 SUPERIOR AVENUE CLEVELAND OH 44114-4123
TRK GROUP                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRL EXPRESS INC                       136 KREINER AVENUE AKRON OH 44312
TRM SERVICE                           3635 SWENSON AVE. ST. CHARLES IL 60174
TRM TRUCKING INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TRNAVSKY, BRAD                        ADDRESS ON FILE
TRO TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRO TRO TRANSPORT FREIGHT LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TROCCOLI, JASON                       ADDRESS ON FILE
TROCHE, EDUARDO                       ADDRESS ON FILE
TROCHEZ TRANSPORT                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS CA 38101
TROCHEZ TRANSPORTATION                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
TROCHEZ, NICHOLAS                     ADDRESS ON FILE
TROEGER, RICHARD                      ADDRESS ON FILE
TROFASTE TRANSPORTATION LLC           325 ARIANNA PLACE 3 TEA SD 57064
TROIE, NORMAN                         ADDRESS ON FILE
TROKY INC                             PO BOX 569 MEDINAH IL 60157
TROMBLEY, BRIAN                       ADDRESS ON FILE
TROMBLEY, STEVEN G                    ADDRESS ON FILE
TROMBLEY, WAYNE                       ADDRESS ON FILE
TROMLEY, ANTHONY                      ADDRESS ON FILE
TRONCILLITO, FRANK                    ADDRESS ON FILE
TRONEX                                GEODIS, PO BOX 2208 BRENTWOOD TN 37024
TROPHY FITNESS                        1700 PACIFIC AVE 200 DALLAS TX 75201
TROPHY PRO SHOPPE                     314 RASSI AVENUE MORTON IL 61550
TROPHY TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TROPICAL LIFT, INC                    15476 NW 77 COURT 271 MIAMI LAKES FL 33016
TROSPER, SAMMY                        ADDRESS ON FILE
TROST FIRE EQUIPMENT COMPANY, INC.    3710 WALDEN AVENUE LANCASTER NY 14086
TROST, NATHAN                         ADDRESS ON FILE
TROTMAN, MELEEK                       ADDRESS ON FILE
TROTTER & MORTON                      C\O TROTTER & MORTON FACILITY SERVICE OF PNW INC 12646 INTERURBAN AVE S.
                                      SEATTLE WA 98168
TROTTER & MORTON                      8310 30TH AVE NE LACEY WA 98516
TROTTER, ARTEZ                        ADDRESS ON FILE
TROTTER, BAKARI                       ADDRESS ON FILE
TROTTER, JAMES                        ADDRESS ON FILE
TROTTER, KEITH                        ADDRESS ON FILE
TROTTER, KEVION                       ADDRESS ON FILE
TROTTER, LLOYD D                      ADDRESS ON FILE
TROTTER, MICHAEL                      ADDRESS ON FILE
TROTTIE, JOHNNY                       ADDRESS ON FILE
TROTTIER, RICHARD                     ADDRESS ON FILE
TROTTY, MEOSHA                        ADDRESS ON FILE
TROUBLEFREE TRANSPORTATION, LLC       PO BOX 327 BUTLER MO 64730
TROUP COUNTY BOARD OF COMMISSIONERS   100 RIDLEY AVE LAGRANGE GA 30240
TROUPE, ANTHONY                       ADDRESS ON FILE
TROUT TRANSPORTATION LLC              OR TAB BANK, PO BOX 150290 OGDEN UT 84415
TROUT, DAVID E                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 1945 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 1954 of 2156

Claim Name                             Address Information
TROUT, TIMOTHY                         ADDRESS ON FILE
TROUTMAN, ANTHONY                      ADDRESS ON FILE
TROUTMAN, JEFFREY                      ADDRESS ON FILE
TROUTMAN, JESSE                        ADDRESS ON FILE
TROUTMAN, PHILIP                       ADDRESS ON FILE
TROUTT, MARK                           ADDRESS ON FILE
TROVE BRANDS LLC                       250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: ANDREW ANGERHOFER 250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: BRENNA MOODY 250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: JACE GARNER 250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: JACE GARNER TRANSPORTATION 250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: JADELYN LOPEZ LOGISTICS 250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: TRANSPORTATION TRANSPORTATION 250 S 850 E LEHI UT 84043
TROVE BRANDS LLC                       ATTN: TRUMAN SHARP 250 S 850 E LEHI UT 84043
TROWER, GEORGE                         ADDRESS ON FILE
TROXEL, TOM                            ADDRESS ON FILE
TROXELL TRUCKING CO.                   PO BOX 143 ANDREAS PA 18211
TROXELL, LESTER                        ADDRESS ON FILE
TROY D LUNDIN                          ADDRESS ON FILE
TROY D PARKER                          ADDRESS ON FILE
TROY EXPRESS INC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
TROY LOGISTICS LLC                     48 MAPLE DR NEWARK DE 19713
TROY LOGISTICS LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TROY M BARCAVAGE                       ADDRESS ON FILE
TROY, AIDAN                            ADDRESS ON FILE
TROY-WARTH, DANA                       ADDRESS ON FILE
TRU BFF LOGISTICS LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRU ENTERPRISE LLC                     20 CONCORD RD DARBY PA 19023
TRU FLEET LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRU FREIGHT LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRU KING                               OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
TRU LOCK & SECURITY INC                2080 TRUAX BLVD EAU CLAIRE WI 54703
TRU NORTH TRUCKING LLC                 PO BOX 144 HURLEY WI 54534
TRU REVELATIONS TRANSPORTATION INC     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TRU-KING EXPRESS INC                   700 N MOUNTAIN AVE STE 101 ONTARIO CA 91762
TRU-PAK MOVING SYSTEMS, INC.           OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
TRU-PRINCE TRUCKING LLC                154 HULL STREET BROOKLYN NY 11233
TRUAX, CHARLES                         ADDRESS ON FILE
TRUAX, MICHAEL                         ADDRESS ON FILE
TRUAX, RODDY                           ADDRESS ON FILE
TRUCK & TRAILER MAINTENANCE SERVICES   12325 IMPERIAL HWY STE 215 NORWALK CA 90650
INC
TRUCK AND EQUIPMENT                    1801 E FOURTH STREET LIMA OH 45804
TRUCK BOYZ TRANSPORTATION LLC          OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TRUCK CENTER COMPANIES                 P.O. BOX 189 ALTOONA IA 50009
TRUCK CENTER COMPANIES                 PO BOX 27379 OMAHA NE 68127
TRUCK CENTER, INC                      2280 FORMOSA RD. TROY IL 62294
TRUCK CENTERS INC - TROY               2280 FORMOSA RD TROY IL 62294
TRUCK CENTERS, INC. - ST. LOUIS        2280 FORMOSA RD. TROY IL 62294



Epiq Corporate Restructuring, LLC                                                                 Page 1946 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1955 of 2156

Claim Name                           Address Information
TRUCK COLLISION SERVICES INC         16260 FELTON RD LANSING MI 48906
TRUCK COUNTRY OF ILLINOIS INC        P.O. BOX 734619 CHICAGO IL 60673-4619
TRUCK COUNTRY OF IOWA                PO BOX 689930 CHICAGO IL 60695
TRUCK COUNTRY OF IOWA                P.O. BOX 689930 CHICAGO IL 60695-9930
TRUCK COUNTRY OF MINN                28595 NETWORK PLACE CHICAGO IL 60673
TRUCK COUNTRY OF WISCONSIN           2099 SOUTHPARK COURT STE 2 DUBUQUE IA 52003
TRUCK COUNTRY OF WISCONSIN           PO BOX 689707 CHICAGO IL 60695
TRUCK DIESEL REPAIR SHOP             2434 S RIVERSIDE AVE BLOOMINGTON CA 92316
TRUCK DRIVERS LOC                    UNION 299, 2741 TRUMBULL AVE DETROIT MI 48216
TRUCK DRIVERS UNION 407              3320 SUPERIOR AVE CLEVELAND OH 44114
TRUCK E NUFF LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRUCK ENTERPRISES HAGERSTOWN, INC.   13510 VOLVO WAY HAGERSTOWN MD 21742
TRUCK ENTERPRISES HARRISONBURG       3440 SOUTH MAIN STREET HARRISONBURG VA 22801
TRUCK ENTERPRISES INC                TRUCK ENTERPRISES INC MANASSAS 9599 HAWKINS DR MANASSAS VA 20109
TRUCK ENTERPRISES RICHMOND, INC.     PO BOX 4470 HARRISONBURG VA 22801
TRUCK ENTERPRISES RICHMOND, INC.     8900 BURGE AVE RICHMOND VA 23237
TRUCK ENTERPRISES, INC.              3440 S MAIN ST, PO BOX 4470 HARRISONBURG VA 22801
TRUCK ENTERPRISES, INC.              3440 S. MAIN ST HARRISONBURG VA 22801
TRUCK ENTERPRISES, INC.              PO BOX 4470 HARRISONBURG VA 22801
TRUCK ENTERPRISES, INC.              TRUCK ENTERPRISES INC HAGERSTOWN PO BOX 4470 HARRISONBURG VA 22801
TRUCK ENTERPRISES, INC.              TRUCK ENTERPRISES INC RICHMOND PO BOX 4470 HARRISONBURG VA 22801
TRUCK EQUIPMENT                      1560 NE 44TH AVE. DES MOINES IA 50313
TRUCK FLEET SERVICES LLC             400 W MARQUETTE AVE SUITE 200 OAK CREEK WI 53154
TRUCK FOR LOADS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRUCK IN REPAIR                      OR TETRA CAPITAL LLC, PO BOX 25297 SALT LAKE CITY UT 84125
TRUCK IT LLC                         875 SUMMIT AVE HARRISONBURG VA 22802
TRUCK KINGDOM LLC                    OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
TRUCK LAND                           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TRUCK LIFE TRANSPORTATION L.L.C.     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TRUCK LINE TRANSPORT LLC             OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TRUCK LOAD LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUCK LOADS EXPRESS INC              4205 PRICE SHORT CUT RD MONROE NC 28110
TRUCK MAINTENANCE, INC.              3801 OPTION PASS FORT WAYNE IN 46818
TRUCK MASTERS ( ST-LAURENT)          P.O. BOX 294 POINTE-CLAIRE QC H9R 4N9 CANADA
TRUCK N MIAMI LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TRUCK NORRIS TRANSPORTATION CORP     434 ROCKAWAY PKWY BROOKLYN NY 11212
TRUCK ON LOGISTICS INC               828 SOMMERSWEET RUN GREENWOOD IN 46143-5566
TRUCK ONE LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRUCK ONE LLC. LIMITED LIABILITY     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
COMPANY
TRUCK ONE, INC.                      P O BOX 4070 NEWARK OH 43058
TRUCK PAINTING SPECIALIST INC        3650 MINNESOTA STREET INDIANAPOLIS IN 46241
TRUCK PARTS PLUS, INC                14 BRENNEMAN CIR MECHANICSBURG PA 17050
TRUCK PRO, LLC - PRECISION BRAKE &   TRUCKPRO MEMPHIS, 29787 NETWORK PLACE CHICAGO IL 60673
CLUTC
TRUCK PROS 801 LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TRUCK PROVIDER LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUCK REPAIR, INC.                   2611 233RD ST FORT MADISON IA 52627
TRUCK ROAD INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                             Page 1947 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1956 of 2156

Claim Name                               Address Information
TRUCK SERVICE COMPANY INC.               2000 E 29TH STREET CHATTANOOGA TN 37407
TRUCK SERVICE DEPOT                      4785 FULTON INDUSTRIAL BLVD ATLANTA GA 30336
TRUCK SERVICE OF FLORENCE                1811 TRADE ST FLORENCE SC 29501
TRUCK SERVICE OF FLORENCE                PO BOX 3434 FLORENCE SC 29502
TRUCK SOURCE EXPRESS INC                 8900 N VANCOUVER AVE PORTLAND OR 97217
TRUCK STAR LOGISTICS INC                 OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
TRUCK THERMO KING                        ATTN: STEVE CHANDLER 101 WHITE PICKET TRL MT CRAWFORD VA 22841
TRUCK THOR INC                           OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
TRUCK TORRES TRANSPORT CORP              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRUCK TRANSPORTATION SERVICES, INC.      9331 RENTER RD MILLINGTON TN 38053
TRUCK WARRIORS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUCK WAY TRANSPORTATION                 OR BLUE WATER CAPITAL LLC PO BOX 30015 DPT 568 SALT LAKE CITY UT 84130
TRUCKBULL LLC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUCKEE MEADOWS WATER AUTH               1355 CAPITAL BLVD RENO NV 89502
TRUCKENS WAYS LLC                        PO BOX 8595 PORT SAINT LUCIE FL 34985
TRUCKER TEAM INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUCKERBLAZE EXPRESS INC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRUCKERS DRIVE LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRUCKERS GLOBE LOGISTICS, INC            OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
TRUCKERS TRANSPORTATION ALLIANCE, INC.   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUCKERZHAULADAYZ LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TRUCKIN BROTHERS LOGISTICS, L.L.C.       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRUCKING ASSOCIATION OF MASSACHUSETTS    198 TREMONT ST SUITE 456 BOSTON MA 02109
TRUCKING ASSOCIATION OF NEW YORK         3 CORPORATE DRIVE STE 101 HALFMOON NY 12065
TRUCKING BY DAY                          PO BOX 773 WHITE CITY SK S4L 5B1 CANADA
TRUCKING CARES FOUNDATION                950 N GLEBE ROAD SUITE 210 ARLINGTON VA 22203
TRUCKING ELITE LLC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TRUCKING EMPIRE CO                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
TRUCKING EMPLOYEES OF NORTH              PO BOX 8037 SUMMIT AVE STA UNION CITY NJ 07087
TRUCKING EMPLOYEES OF NORTH JERSEY       PENSION PLAN (LOCAL 560) 707 SUMMIT AVENUE UNION CITY NJ 07087
TRUCKING ENTERPRISE INC                  OR ASSIST FINANCIAL SERVICES, PO BOX 347 MADISON SD 57042
TRUCKING EXPRESS LLC                     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
TRUCKING EXPRESS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRUCKING GLOBAL LOGISTICS LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TRUCKING GUYS LLC                        OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
TRUCKING MANAGEMENT, INC.                PO BOX 388 HUNTLEY IL 60142
TRUCKING MANAGEMENT, INC.                PO BOX 860725 SHAWNEE KS 66286
TRUCKING ON THE RUN LLC                  OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
TRUCKING ON TIME                         OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TRUCKING PAINTING SPECIALISTS INC.       3650 W. MINNESOTA STREET INDIANAPOLIS IN 46241
TRUCKING PROZ                            OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
TRUCKING STARS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRUCKING SYSTEMS INC                     2211 INDUSTRIAL SOUTH RD DALLTON GA 30721
TRUCKING TIMES INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRUCKING TROY EXPRESS INC                OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TRUCKINGS CORP.                          OR RDS FUNDING LLC 500 W PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
TRUCKINGS CORP.                          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
TRUCKLAND EXPRESS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUCKLAND INC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                   Page 1948 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1957 of 2156

Claim Name                              Address Information
TRUCKLINE PARTS & SERVICE (SASK) LTD    2325 FAITHFULL AVENUE SASKATOON SK S7K 1T9 CANADA
TRUCKLOAD CARRIERS INC                  2345 ATLANTIC BLVD, SUITE 1055 MONTEREY PARK CA 91754
TRUCKLOADS EXPRESS LLC                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
TRUCKMAN EXPRESS INC                    2309 W AVENUE N12 PALMDALE CA 93551
TRUCKMASTERS LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUCKMEX CARRIERS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRUCKNLOAD EXPRESS                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TRUCKNOLOGY LOGISTICS LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TRUCKPRO                                DBA ARIZONA BRAKE, 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO                                DBA CCC HEAVY DUTY TRUCK PARTS 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO                                DBA SIX STATES DISTRIBUTORS 29787 NETWORK PL CHICAGO IL 60673
TRUCKPRO                                DBA TRUCK PARTS SPECIALISTS 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO - CINCINNATI                   DBA BAYSHORE TRUCK EQUIPMENT 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO - FORT WAYNE                   29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO - FORT WAYNE                   DBA BAYSHORE TRUCK EQUIPMENT 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO INC                            29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO LLC SIX STATES                 DBA BAYSHORE TRUCK EQUIPMENT 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKPRO, LLC                           DBA BAYSHORE TRUCK EQUIPMENT 29787 NETWORK PLACE CHICAGO IL 60673
TRUCKS 2 GO LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRUCKS LLC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUCKS R US TRANSPORATION LLC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TRUCKS, SUZANNE                         ADDRESS ON FILE
TRUCKSTAR                               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUCKWORX                               DIESEL PERFORMANCE & REPAIR, PO BOX 729 FRONT ROYAL VA 22630
TRUDEAU JR, JAMES                       ADDRESS ON FILE
TRUDEAU, ANNA                           ADDRESS ON FILE
TRUDEAU, DAVID                          ADDRESS ON FILE
TRUDEAU, JAMES                          ADDRESS ON FILE
TRUDEAU, TRAVIS                         ADDRESS ON FILE
TRUDELL TRAILERS OF GRAND RAPIDS, INC   LOCKBOX 88899 MILWAUKEE WI 53288
TRUDELL, KRISTI                         ADDRESS ON FILE
TRUE BLUE MOVERS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUE BLUE SYSTEMS INC                   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
TRUE CARGO TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUE LADY TRUCKING LLC                  OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
TRUE LINE EXPRESS                       1170 EAGAN INDUSTRIAL ROAD EAGAN MN 55121
TRUE LINES FREIGHT INC                  2656 COOLIDGE PL MANTECA CA 95337
TRUE LOGISTICS AND LEASING LLC          OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
TRUE MANUFACTURING CO INC               ATTN: MELISSA DEMPSEY DEPARTMENT 547214 PO BOX 790100 SAINT LOUIS MO 63179
TRUE MANUFACTURING CO INC               ATTN: MELISSA DEMPSEY DEPARTMENT 547214 PO BOX 790100 SAINT LOUIS MO
                                        63179-0100
TRUE MANUFACTURING CO., INC             DEPARTMENT 547214 PO BOX 790100 SAINT LOUIS MO 63179-0100
TRUE NATION INC.                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRUE PARTNERS CONSULTING LLC            225 W WACKER DR STE 1600 CHICAGO IL 60606
TRUE PARTNERS CONSULTING LLC            75 REMITTANCE DR, DEPT 6134 CHICAGO IL 60675
TRUE SERVE STAFFING                     68 JUDGE ST CALEDON ON L7C 4A1 CANADA
TRUE SERVICE EXPRESS LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TRUE SPIRIT TRANS INC                   1301 RICHLAND AVE APT 57 MODESTO CA 95351
TRUE TRANSIT INC                        18 DANGELO DR WEBSTER NY 14580-8531



Epiq Corporate Restructuring, LLC                                                                  Page 1949 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 1958 of 2156

Claim Name                           Address Information
TRUE TRANSPORTATION LLC              OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TRUE TRUCK LINE LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TRUE VALUE                           12 TRADEPORT RD HANOVER TOWNSHIP PA 18706
TRUE VISION TRANSPORTATION LLC       1192 GOVERNORS RUN CLARKSVILLE TN 37042
TRUE VISION TRUCK LINES LLC          OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 316 FORT WORTH TX 76116
TRUE-CROTEAU, CAROLE-LYNNE           ADDRESS ON FILE
TRUEBLOOD, DONALD                    ADDRESS ON FILE
TRUEBLOOD, JASON                     ADDRESS ON FILE
TRUEHEART, MARIS                     ADDRESS ON FILE
TRUELINE TRANSPORT LLC               OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
TRUEMAN, DANIEL                      ADDRESS ON FILE
TRUENORTH TRANSPORTATION CO.         2261 MARKET STREET 4300 SAN FRANCISCO CA 94114
TRUEPATH LOGISTICS                   1401 WEST FORT STREET UNIT 442059 DETROIT MI 48244-2059
TRUESDALE, JERRY                     ADDRESS ON FILE
TRUESDALE, TAJHMAN                   ADDRESS ON FILE
TRUETT, BILL                         ADDRESS ON FILE
TRUEWAY TRANSPORT LLC                OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
TRUFFA, MARK                         ADDRESS ON FILE
TRUIETT, STEVEN                      ADDRESS ON FILE
TRUJILLO TRUCKIN LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TRUJILLO TRUCKING                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TRUJILLO, ALEXANDER                  ADDRESS ON FILE
TRUJILLO, EDGAR                      ADDRESS ON FILE
TRUJILLO, FILIBERTO                  ADDRESS ON FILE
TRUJILLO, FILIBERTO                  ADDRESS ON FILE
TRUJILLO, HUGO                       ADDRESS ON FILE
TRUJILLO, ISAAC                      ADDRESS ON FILE
TRUJILLO, ISAAC                      ADDRESS ON FILE
TRUJILLO, ISAIAS                     ADDRESS ON FILE
TRUJILLO, JESSE                      ADDRESS ON FILE
TRUJILLO, JOHN                       ADDRESS ON FILE
TRUJILLO, JORGE                      ADDRESS ON FILE
TRUJILLO, MARIO                      ADDRESS ON FILE
TRUJILLO, MARTIN                     ADDRESS ON FILE
TRUJILLO, RICHARD                    ADDRESS ON FILE
TRUJILLO, SAMUEL                     ADDRESS ON FILE
TRUJILLO, SANTIAGO                   ADDRESS ON FILE
TRUKING                              DBA VAL EXPRESS LLC, 3530 MALVERN DR BRUNSWICK OH 44212
TRUKING                              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
TRULUCK, JOHN                        ADDRESS ON FILE
TRULY NOLEN OF AMERICA INC           BRANCH 045, 1005 N STADEM STE 202 TEMPE AZ 85281
TRUMAN, JAMES                        ADDRESS ON FILE
TRUMANS TRANSPORT LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TRUMBELL COUNTY TREASURER            650 NORTH RIVER RD NW WARREN OH 44483-2255
TRUMBULL COUNTY AUDITORS OFFICE      160 HIGH ST NW WARREN OH 44481
TRUMP, DANIEL                        ADDRESS ON FILE
TRUMP, DANIEL                        ADDRESS ON FILE
TRUMP, DOUG                          ADDRESS ON FILE
TRUMPIE, BRETT                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1950 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1959 of 2156

Claim Name                             Address Information
TRUPAR AMERICA INC                     160 WILSON RD BENTLEYVILLE PA 15314
TRUPKO BROTHERS TRANS INC              OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
TRUPORT LOGISTICS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TRUSCELLO, JEREMY                      ADDRESS ON FILE
TRUSHKOV, ROGER                        ADDRESS ON FILE
TRUSLER-MCCLURE, VIRGINIA              ADDRESS ON FILE
TRUSOUTH TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRUSS WERTTY LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
TRUST B&B EXPRESS INC                  108 TOLLERTON AVE SAINT JOHNS FL 32259
TRUST CARRIER LLC                      OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TRUST EXPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TRUST LINE TRANSPORTATION LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUST LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
TRUST ROAD TRUCKING LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
TRUST TRANSPORT INC                    430 E BUFFALO ST NEW BUFFALO MI 49117
TRUST TRANSPORT INC.                   OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
TRUST TRANSPORT TRAVELS LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUST TRINITY TRANSPORT LLC            812 MATZINGER RD SUITE 1001 TOLEDO OH 43612
TRUST WHEELS LLC                       6271 SAINT AUGUSTINE RD STE 24 JACKSONVILLE FL 32217-2555
TRUST WHEELS LLC                       OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
TRUSTED CARTAGE SOLUTIONS LLC          186 SEVEN FARMS DR STE F 137 DANIEL ISLAND SC 29492
TRUSTED DELIVERY LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
TRUSTED DELIVERY SERVICES LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRUSTED MILES TRANSPORTATION LLC       OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                       UT 84130
TRUSTED TRANSFER, LLC                  710 N MAIN STREET SUITE 101A RIVER FALLS WI 54022
TRUSTED TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TRUSTFUL TRANSPORTS LLC                OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TRUSTHAUL INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TRUSTWORTHY TRANSPORT LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRUSTWORTHY TRUCKING LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TRUSTY TRUCKING INC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TRUTH TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TRUTZA, CHRISTOPHER                    ADDRESS ON FILE
TRUX INC                               1365 LAKELAND AVE UNIT A BOHEMIA NY 11716
TRUX TRAILER AND TRACTOR REPAIR INC    900 NORTHWEST BYPASS SPRINGFIELD MO 65802
TRW INDUSTRIES INC                     135B MOTOR SCOOTER DR NESBIT MS 38651
TRX GREAT LAKES, INC.                  PO BOX 92916 CLEVELAND OH 44194
TRX MIDWEST, INC.                      PO BOX 92916 CLEVELAND OH 44194
TRX SOUTHEAST, INC.                    PO BOX 92916 CLEVELAND OH 44194
TRY HARD INDUSTRY LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
TRYBA, LES                             ADDRESS ON FILE
TRYFAST TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TRZ INTERNATIONAL                      5492 STAGECOACH CT RANCHO CUCAMONGA CA 91739
TRZCINSKI, JOSEPH                      ADDRESS ON FILE
TS EXPRESS/MOTORCAR PARTS OF AMERICA   ATTN: GENERAL COUNSEL 2929 CALIFORNIA STREET TORRANCE CA 90503
TS EXTRA INC                           OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA AB L3V 6L4
                                       CANADA
TS TRANSPORTATION INC                  OR RIVEIERA FINANCE OF TEXAS INC PO BOX 850243 MINNEAPOLIS MN 55485-0243



Epiq Corporate Restructuring, LLC                                                               Page 1951 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1960 of 2156

Claim Name                              Address Information
TS TRANSPORTATION INC (JURUPA VALLEY   OR GENERAL BUSINESS CREDIT 110 E 9TH ST SUITE C-900 LOS ANGELES CA 90079
CA)
TSA EXPRESS LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TSA TRANSPORT LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
TSATAS, PERICLIS                       ADDRESS ON FILE
TSCHERNOSCHA, EDWARD                   ADDRESS ON FILE
TSCHUMPERLIN, JOSEPH                   ADDRESS ON FILE
TSD LOGISTICS, INC.                    7970 HAMPTON ROAD TEXARKANA TX 75503
TSETSREN, MUNKHZUL                     ADDRESS ON FILE
TSFL INC                               740 EBBTIDE PT SCHAUMBURG IL 60194-3611
TSG CABINETS DRT TRANSPORTAT           ATTN: DRT 850 HELEN DR LEBANON PA 17042
TSG CONSTRUCTION                       209-1730 COAST MERIDAN RD PORT COQUITLAM BC V3C 3T8 CANADA
TSH                                    PO BOX 746360 ATLANTA GA 30374
TSI EXPRESS                            246 STILLWATER DR YUBA CITY CA 95991
TSI KANSAS, INC.                       612 W COURT ST CLAY CENTER KS 67432
TSI TRUCKING, LLC                      1618 FABRICON BLVD JEFFERSONVILLE IN 47130
TSIBULSKIS, SAULYUS                    ADDRESS ON FILE
TSIGLER, STEVEN                        ADDRESS ON FILE
TSM TRUCKING, LLC                      OR MJN CAPITAL, INC, 534 E 800 N OREM UT 84097
TSOLAKOS, NICHOLAS                     ADDRESS ON FILE
TSOURAS, REBECCA                       ADDRESS ON FILE
TSR, LLC                               190 SPENCE LANE NASHVILLE TN 37210
TSSD LLC                               OR INSTAPAY FLEXIBLE, LLC, PO BOX 660771 DALLAS TX 75266-0771
TSSD LLC                               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TST OVERLAND EXPRESS                   PO BOX 3030 STATION A MISSISSAUGA ON L5A 3S3 CANADA
TST OVERLAND EXPRESS                   PO BOX 3030 STN A MISSISSAUGA ON L5A 3S3 CANADA
TSUNAMI TRANSPORTATION INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TSUPRUK, SERGEI                        ADDRESS ON FILE
TSV CARRIERS                           OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
TSX TRUCKING INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TT SOLUTIONS LLC                       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
TT TRUCKING                            OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
TT UNITED INC                          OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
TT&T TRANSPORTATION LLC                OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
TTC COLLISION                          12 CLARK BLVD BRAMPTON ON L6W 1X3 CANADA
TTE TRUCK AND TRAILER REPAIR           PO BOX 686 MIDDLEFIELD OH 44062
TTEXPRESSDELIVERY LLC                  103 SUTHERLAND DR RADFORD VA 24141
TTG HOT SHOT SERVICES AND TRANSPORT INC OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
TTIG LOGISTICS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TTK TRANSPORT INC.                     PO BOX 487 GODERICH ON N7A 4C7 CANADA
TTO FLOYDS TRUCKING CO LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TTP TRANSPORT LLC                      OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
TU, JULIE                              ADDRESS ON FILE
TU, MANH                               ADDRESS ON FILE
TUASIVI TUNU                           ADDRESS ON FILE
TUBA FREIGHT EXPRESS                   45 SKYVIEW POINT GREEN NE CALGARY AB T3N 0K8 CANADA
TUBA-DUCHITANGA, MIGUEL A              ADDRESS ON FILE
TUBBS, JEREMY                          ADDRESS ON FILE
TUBBYS TRUCK AND TRAILER SERVICE       545 HUDSON DR DORCHESTER ON N0L 1G5 CANADA



Epiq Corporate Restructuring, LLC                                                                Page 1952 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                               Page 1961 of 2156

Claim Name                               Address Information
TUBELITE CO                              3111 BELLBROOK DR, MEMPHIS TN 38116
TUBERGEN CUTTING TOOLS, INC.             5252 S. DIVISION KENTWOOD MI 49548
TUBERGEN, JEFFREY                        ADDRESS ON FILE
TUBERGEN, JOHN                           ADDRESS ON FILE
TUBERGEN, KELTON                         ADDRESS ON FILE
TUBERGEN, RYAN                           ADDRESS ON FILE
TUCHMAN, DANIEL                          ADDRESS ON FILE
TUCK SERVICES LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TUCKER BOYZ TRANSPORTATION LLC           OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
TUCKER FREIGHT LINES, INC.               1080 EAST 12TH STREET DUBUQUE IA 52001
TUCKER INDUSTRIES LLC                    210 N MAIN ST. MILFORD IN 46542
TUCKER JR, BOBBY                         ADDRESS ON FILE
TUCKER, ALBIN & ASSOCIATES, INC          1702 N COLLINS BLVD SUITE 100 RICHARDSON TX 75080
TUCKER, ALIJAH                           ADDRESS ON FILE
TUCKER, BRADFORD                         ADDRESS ON FILE
TUCKER, CHARLIE                          ADDRESS ON FILE
TUCKER, CHRISTOPHER                      ADDRESS ON FILE
TUCKER, COURTNEY                         ADDRESS ON FILE
TUCKER, DANIEL                           ADDRESS ON FILE
TUCKER, DAVID                            ADDRESS ON FILE
TUCKER, DELANO                           ADDRESS ON FILE
TUCKER, DONDRE                           ADDRESS ON FILE
TUCKER, EDWARD                           ADDRESS ON FILE
TUCKER, JAMES                            ADDRESS ON FILE
TUCKER, JOHN                             ADDRESS ON FILE
TUCKER, KENNETH                          ADDRESS ON FILE
TUCKER, KEVIN                            ADDRESS ON FILE
TUCKER, LARRY                            ADDRESS ON FILE
TUCKER, LAURIE                           ADDRESS ON FILE
TUCKER, LOGAN                            ADDRESS ON FILE
TUCKER, LORI                             ADDRESS ON FILE
TUCKER, LUKAS                            ADDRESS ON FILE
TUCKER, MARK                             ADDRESS ON FILE
TUCKER, MARY                             ADDRESS ON FILE
TUCKER, SHIRLEY                          ADDRESS ON FILE
TUCKER, STEVE                            ADDRESS ON FILE
TUCKER, THURMAN                          ADDRESS ON FILE
TUCKER, TRACY                            ADDRESS ON FILE
TUCKER, TRENT                            ADDRESS ON FILE
TUCKER, VERNON                           ADDRESS ON FILE
TUCKER, WILLIAM                          ADDRESS ON FILE
TUCKER-JORDAN, CYNTHIA                   ADDRESS ON FILE
TUCKERS GENERAL MAINTENANCE              7304 EVANS RD LEON WV 25123
TUCKERS TRUCK, INC.                      HWY 82 B WEST, 2222 W HILLSBORO EL DORADO AR 71730
TUCKEY, DANIEL                           ADDRESS ON FILE
TUCKNESS, ROBERT                         ADDRESS ON FILE
TUCSON ELECTRIC POWER COMPANY            88 E BROADWAY BLVD TUSCON AZ 85701
TUCSON RECYCLING & WASTE SERVICES, LLC   2110 N DRAGOON ST TUSCON AZ 85745
TUCSON RECYCLING & WASTE SERVICES, LLC. PO BOX 85968 TUCSON AZ 85754



Epiq Corporate Restructuring, LLC                                                                Page 1953 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1962 of 2156

Claim Name                           Address Information
TUCSON TRUCK REPAIR                  5401 S. PALO VERDE RD. TUCSON AZ 85706
TUCSON-XCEL INC                      3770 S BROADMONT DR TUCSON AZ 85713
TUDOR, MARY                          ADDRESS ON FILE
TUDYMAN, WILLIAM                     ADDRESS ON FILE
TUELL, JOSHUA                        ADDRESS ON FILE
TUENTE TRUCKING, INC.                14804 STATE ROUTE 716 YORKSHIRE OH 45388
TUERO, HERBERT                       ADDRESS ON FILE
TUEROS, JOSE                         ADDRESS ON FILE
TUFCO LP                             3161 S RIDGE RD GREEN BAY WI 54304
TUFFALOY PRODUCTS, INC.              ATTN: ELIZABETH PINEDA 1400 S. BATESVILLE ROAD GREER SC 29650-4809
TUFFY, KEVIN                         ADDRESS ON FILE
TUGADE, GALEN                        ADDRESS ON FILE
TUGBOAT TRANSPORTATION, L.L.C.       ROUTE 1, BOX 7 BONAPARTE IA 52620
TUGGLE TRANS-TUGGTRANSPORT           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TUGGLE, GINA                         ADDRESS ON FILE
TUIAANA, ANTHONY                     ADDRESS ON FILE
TUIDER, ALEXANDER                    ADDRESS ON FILE
TUITASI, TRENT                       ADDRESS ON FILE
TUJ TRANSPORTATION INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TULARE CO ENVIRONMENTAL HEALTH       5957 S MOONEY BLVD VISALIA CA 93277
TULAROSA TRANSPORT LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TULE, BALDOMAR                       ADDRESS ON FILE
TULE, BRYAN                          ADDRESS ON FILE
TULGESTKA TRANSPORT, INC.            OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
TULI, SOSEFO                         ADDRESS ON FILE
TULIP CITY ASPHALT PAVING            12983 RILEY STREET HOLLAND MI 49424
TULIPANE, DOMINIC E                  ADDRESS ON FILE
TULK, SCOTT                          ADDRESS ON FILE
TULL BROTHERS INCORPORATED           1111 HIGHWAY 72 EAST, PO BOX 867 CORINTH MS 38835
TULL BROTHERS INCORPORATED           POST OFFICE BOX 867 CORINTH MS 38835
TULL, BARBARA                        ADDRESS ON FILE
TULL, CLANCY                         ADDRESS ON FILE
TULL, MICHAEL                        ADDRESS ON FILE
TULLAR, ALLEN                        ADDRESS ON FILE
TULLOS, DAVID                        ADDRESS ON FILE
TULLY & CO                           PO BOX 30683 SEATTLE WA 98113
TULLY, CASSANDRA                     ADDRESS ON FILE
TULLY, DAVID                         ADDRESS ON FILE
TULLY, ERIN                          ADDRESS ON FILE
TULO, ALBERT                         ADDRESS ON FILE
TULPAR LOGISTICS LLC                 OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425
TULPEHOCKEN SPRING WATER             200 NORTH 1ST ST SUITE E STROUDSBURG PA 18360
TULPEHOCKEN SPRING WATER             11 ROADWAY DR CARLISLE PA 17015
TULPEHOCKEN SPRING WATER             R D 1 BOX 157 SUNBURY PA 17801
TULPEHOCKEN SPRING WATER             750 POINT TOWNSHIP DR NORTHUMBERLAND PA 17857
TULSA COUNTY TREASURER               500 S DENVER TULSA OK 74103
TULSA TRAILER REPAIR                 10606 E 76TH TULSA OK 74133
TUMBOKON, JOSE                       ADDRESS ON FILE
TUMINOS TOWING                       37 EMERSON ST RIDGEFIELD PARK NJ 07660



Epiq Corporate Restructuring, LLC                                                            Page 1954 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1963 of 2156

Claim Name                             Address Information
TUMLINSON, BRIAN                       ADDRESS ON FILE
TUN EXPRESS LLC                        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TUN TUN CARGO LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TUNG AIR TRANSPORT LTD.                OR BVD CAPITAL CORPORATION 8177 TORBRAM RD BRAMPTON ON L6T 5C5 CANADA
TUNGSTEN NETWORK INC.                  PO BOX 535146 ATLANTA GA 30353
TUNNY, STEPHEN                         ADDRESS ON FILE
TUNSTALL, DEMARCUS                     ADDRESS ON FILE
TUNSTALL, ELGIN                        ADDRESS ON FILE
TUNSTALL, MARTINEZ                     ADDRESS ON FILE
TUNU TUNU                              ADDRESS ON FILE
TUNU, TUASIVI                          ADDRESS ON FILE
TUNU, TUNU                             ADDRESS ON FILE
TUNU, VAIULA                           ADDRESS ON FILE
TUNWAR, DASHAWN                        ADDRESS ON FILE
TUNWAR, TERRY                          ADDRESS ON FILE
TUPAI, FALETOLUPANAPA                  ADDRESS ON FILE
TUPELO WATER & LIGHT                   71 EAST TROY ST TUPELO MS 38804
TUR TRUCKING INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TURAKULOV, DAMIR T                     ADDRESS ON FILE
TURAKULOV, DAMIR T                     ADDRESS ON FILE
TURAN EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TURANGE, NEXIDA                        ADDRESS ON FILE
TURBAN TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TURBO EXPRESS, INC.                    477 THOMAS DRIVE UNIT C BENSENVILLE IL 60106
TURBO LINES, LLC                       1896 CULVERHILL WAY ROSEVILLE CA 95747
TURBO LLC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TURBO TRANSPORTATION LLC (MC1016306)   OR TBS FACTORING, PO BOX 151052 OGDEN UT 84415
TURBO TRTRUCKING LTD CO                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TURBO TRUCKING & LOGISTICS LLC         OR SOURCE FUNDING INC., PO BOX 872632 KANSAS CITY MO 64187
TURBO TRUCKS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TURBO1 LLC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TURCHIARELLI, CARMEN                   ADDRESS ON FILE
TURCOTTE, NICHOLAS                     ADDRESS ON FILE
TURCSIK JR, PHILIP                     ADDRESS ON FILE
TURCSIK, PHILIP                        ADDRESS ON FILE
TUREK, TIMOTHY                         ADDRESS ON FILE
TURF MASTERS                           357 N MAPLE AVE FONTANA CA 92335
TURF TECHNOLOGIES INC                  77 INDUSTRIAL DR UXBRIDGE MA 01569
TURF-N-TREE                            PO BOX 70 TRACY CA 95378
TURGEON, MARK                          ADDRESS ON FILE
TURINSKI, JOHN                         ADDRESS ON FILE
TURK, CHRISTOPHER                      ADDRESS ON FILE
TURK, DAVID                            ADDRESS ON FILE
TURK, JOSEPH                           ADDRESS ON FILE
TURKS TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
TURLEY, CHARLES                        ADDRESS ON FILE
TURLEY, CHARLES W                      ADDRESS ON FILE
TURLEY, HANNAH                         ADDRESS ON FILE
TURLEY, MICHAEL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1955 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 1964 of 2156

Claim Name                             Address Information
TURLEY, NICHOLAS                       ADDRESS ON FILE
TURMAN TRANSPORT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TURMAN, DEMERRICK                      ADDRESS ON FILE
TURN 5                                 ATTN: ISSUE RESOLUTION ISSUE RESOLUTION 7980 GRISSOM PKWY TITUSVILLE FL 32780
TURN 5 INC                             ATTN: FEDEX CLAIM FILED. ISSUE RESOLUTION 600 CEDAR HOLLOW RD PAOLI PA 19301
TURN 5 INC                             ATTN: ISSUE RESOLUTION 600 CEDAR HALLOW RD PAOLI PA 19301
TURN 5 INC                             ATTN: ISSUE RESOLUTION 600 CEDAR HOLLOW RD PAOLI PA 19301
TURN 5 INC                             ATTN: ISSUE RESOLUTION ISSUE RESOLUTION 600 CEDAR HALLOW RD PAOLI PA 19301
TURN 5 INC                             ATTN: ISSUE RESOLUTION ISSUE RESOLUTION 600 CEDAR HOLLOW RD PAOLI PA 19301
TURN 5 INC                             ATTN: JAYME GUENTHER ISSUE RESOLUTION 600 CEDAR HOLLOW RD PAOLI PA 19301
TURN 5 INC                             ATTN: ISSUE RESOLUTION ISSUE RESOLUTION 1 LEE BLVD UNIT 4 MALVERN PA 19355
TURN 5 INC                             ATTN: ISSUE RESOLUTION 17700 COLLEGE BLVD LENEXA KS 66219
TURN 5 INC                             ATTN: ISSUE RESOLUTION ISSUE RESOLUTION 17700 COLLEGE BLVD LENEXA KS 66219
TURNA LOGISTIC LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TURNAGE, DEWITT                        ADDRESS ON FILE
TURNAGE, TERRANCE                      ADDRESS ON FILE
TURNAGE, TYRICKA                       ADDRESS ON FILE
TURNBORE, REGINALD                     ADDRESS ON FILE
TURNER CHEVROLET                       1251 PAXTON STREET HARRISBURG PA 17104
TURNER COMPANY LLC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
TURNER COMPANY OF WEST TENNESSEE LLC   260 LARRY ISBELL DR FINGER TN 38334
TURNER DELIVERY SERVICES INC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TURNER FAMILY TRUCKING LLC             1051 GLENWOOD STATION LANE, UNIT 106 CHARLOTTESVILLE VA 22901
TURNER HYDRAULICS, INC.                1605 INDUSTRIAL DR CARLISLE PA 17013
TURNER JR, RICHARD                     ADDRESS ON FILE
TURNER ON THE GO TRUCKING LLC          OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TURNER TRANSPORT CORPORATION           170 HOMESTEAD RD, APT 306 MANKATO MN 56001
TURNER TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
TURNER TRANSPORTATION GROUP, INC.      TURNER TRANSPORTATION GROUP INC. PO BOX 979 HAGERSTOWN MD 21741
TURNER TRANSPORTATION LINES LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TURNER TRANSPORTING INC                OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TURNER TRANSPORTING LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TURNER, ALAN                           ADDRESS ON FILE
TURNER, ALANZE                         ADDRESS ON FILE
TURNER, ANITA                          ADDRESS ON FILE
TURNER, ANTHONY                        ADDRESS ON FILE
TURNER, ANTHONY                        ADDRESS ON FILE
TURNER, BARRY                          ADDRESS ON FILE
TURNER, BRAYDEN                        ADDRESS ON FILE
TURNER, BRIAN                          ADDRESS ON FILE
TURNER, BRYAN                          ADDRESS ON FILE
TURNER, BYRON                          ADDRESS ON FILE
TURNER, CHARLES                        ADDRESS ON FILE
TURNER, CHRISTOPHER                    ADDRESS ON FILE
TURNER, CHRISTOPHER                    ADDRESS ON FILE
TURNER, CORINNA                        ADDRESS ON FILE
TURNER, CURTIS                         ADDRESS ON FILE
TURNER, CYNTHIA J                      ADDRESS ON FILE
TURNER, DARRELL                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 1956 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 1965 of 2156

Claim Name                         Address Information
TURNER, DAVID                      ADDRESS ON FILE
TURNER, DAVID                      ADDRESS ON FILE
TURNER, DAVID                      ADDRESS ON FILE
TURNER, DAVID                      ADDRESS ON FILE
TURNER, DECARLOS                   ADDRESS ON FILE
TURNER, DEMARIA                    ADDRESS ON FILE
TURNER, DEMARQUES                  ADDRESS ON FILE
TURNER, DERRICK                    ADDRESS ON FILE
TURNER, DESMOND                    ADDRESS ON FILE
TURNER, EMANUEL                    ADDRESS ON FILE
TURNER, FREDERICK                  ADDRESS ON FILE
TURNER, GALILIA                    ADDRESS ON FILE
TURNER, GREGORY                    ADDRESS ON FILE
TURNER, GREGORY                    ADDRESS ON FILE
TURNER, GREGORY                    ADDRESS ON FILE
TURNER, ISIAH                      ADDRESS ON FILE
TURNER, JAMES                      ADDRESS ON FILE
TURNER, JAMES                      ADDRESS ON FILE
TURNER, JENNIFER                   ADDRESS ON FILE
TURNER, JIMMIE                     ADDRESS ON FILE
TURNER, JORDAN                     ADDRESS ON FILE
TURNER, JOSHUA                     ADDRESS ON FILE
TURNER, KEITH                      ADDRESS ON FILE
TURNER, KEMAR                      ADDRESS ON FILE
TURNER, KRIS                       ADDRESS ON FILE
TURNER, KRISTA                     ADDRESS ON FILE
TURNER, LAMONT                     ADDRESS ON FILE
TURNER, LAURA                      ADDRESS ON FILE
TURNER, LENAIRIS                   ADDRESS ON FILE
TURNER, LORENZO                    ADDRESS ON FILE
TURNER, LORENZO J                  ADDRESS ON FILE
TURNER, LORRISHA                   ADDRESS ON FILE
TURNER, MATTHEW                    ADDRESS ON FILE
TURNER, MICAH                      ADDRESS ON FILE
TURNER, MICHAEL                    ADDRESS ON FILE
TURNER, QUAN                       ADDRESS ON FILE
TURNER, QUINTON                    ADDRESS ON FILE
TURNER, RANDY                      ADDRESS ON FILE
TURNER, RAYMOND                    ADDRESS ON FILE
TURNER, RICHARD                    ADDRESS ON FILE
TURNER, RODMETRICE                 ADDRESS ON FILE
TURNER, ROGER                      ADDRESS ON FILE
TURNER, RYAN                       ADDRESS ON FILE
TURNER, SADE                       ADDRESS ON FILE
TURNER, SAMUEL                     ADDRESS ON FILE
TURNER, SCOTT                      ADDRESS ON FILE
TURNER, SHANEIL                    ADDRESS ON FILE
TURNER, SHOMARI                    ADDRESS ON FILE
TURNER, STEVEN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 1957 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1966 of 2156

Claim Name                             Address Information
TURNER, SYLVESTER                      ADDRESS ON FILE
TURNER, TAMADGE                        ADDRESS ON FILE
TURNER, THEODORE                       ADDRESS ON FILE
TURNER, TIMOTHY J                      ADDRESS ON FILE
TURNER, TIORIE                         ADDRESS ON FILE
TURNER, TRAVIS                         ADDRESS ON FILE
TURNER, WILLARD                        ADDRESS ON FILE
TURNER, ZAHEER                         ADDRESS ON FILE
TURNERROUND SOLUTIONS LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TURNERS OUTDOORSMAN                    ATTN: ANTHONY 1336 ALDER AVE. RIALTO CA 92376
TURNERS ROADWAY EXPRESS LLC            OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
TURNERSLOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TURNEY REPAIR & TOWING, LLC            REPAIR DIVISION, 2050 OVERLAND ROAD DILLON MT 59725
TURNEY, DANIEL                         ADDRESS ON FILE
TURNEY, JERRY                          ADDRESS ON FILE
TURNEY, SHAWN                          ADDRESS ON FILE
TURNILS NA                             1750 SATELLITE BLVD STE 100 BUFORD GA 30518
TURNINGPOINT TRANS                     OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TURNPIKE TRUCK TRAILER & TIRE REPAIR   TURNPIKE TRUCK REPAIR, 1237 BROADWAY RD. PIPESTEM WV 25979
TURNT UP TRUCKERS TRANSPORT LLC        OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
TURNWAY INC                            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
TURON TRANS LLC                        442 LAKE HAVEN CT LEBANON OH 45036
TURON TRANS LLC                        OR SAINTO JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
TURPIN, ANDREW                         ADDRESS ON FILE
TURPIN, JUSTIN                         ADDRESS ON FILE
TURPIN, JUSTIN                         ADDRESS ON FILE
TURPIN, NOAH                           ADDRESS ON FILE
TURPIN, STEPHANIE                      ADDRESS ON FILE
TURPIN, TONY                           ADDRESS ON FILE
TURQUOISE TRUCKING                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TURQUOISE TRUCKING                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TURRUBIANTES, DAVID                    ADDRESS ON FILE
TURRUBIANTES, MARIA A                  ADDRESS ON FILE
TURRUBIANTES, MARIO                    ADDRESS ON FILE
TURTLE & HUGHES                        13 JENSEN DR SOMERSET NJ 08873
TURTLE & HUGHES, INC                   ATTN: RACHEL WALLER RACHEL WALLER 2177 TX-35 N PORT LAVACA TX 77979
TURTLE EXPRESS FREIGHT INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TURZY, JOHN                            ADDRESS ON FILE
TUSA, JOHN                             ADDRESS ON FILE
TUSCAN GARDENS LLC                     102 FRUEHAN LN ELMHURST TOWNSHIP PA 18444
TUSTISON, BRYAN                        ADDRESS ON FILE
TUT, LONG                              ADDRESS ON FILE
TUTEN, JOHN                            ADDRESS ON FILE
TUTHILL, EMMA                          ADDRESS ON FILE
TUTOR, GREGORY                         ADDRESS ON FILE
TUTTLE, AARON                          ADDRESS ON FILE
TUTTLE, REBECCA                        ADDRESS ON FILE
TUUAGA, TAIVALE                        ADDRESS ON FILE
TUUHETAUFA, SIONE                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1958 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1967 of 2156

Claim Name                           Address Information
TUVALU, ALIITASI                     ADDRESS ON FILE
TUXHORN TOWING INC.                  1158 NORTH 6TH STREET SPRINGFIELD IL 62702
TUXTON CHINA                         RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
TUXTON CHINA INC                     21011 COMMERCE DR WALNUT CA 91789
TUYEN, CHUNG                         ADDRESS ON FILE
TV TRANSPORTATION SERVICES LLC       OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TVH PARTS                            16355 SOUTH LONE ELM ROAD OLATHE KS 66062
TVH PARTS CO                         ATTN: APRIL NOLAN 16355 S LONE ELM RD OLATHE KS 66062
TVH PARTS CO.                        PO BOX 1245 OLATHE KS 66051
TVS TRANSPORT SOLUTIONS, LLC         635 MARYVILLE CENTRE DR STE105 SAINT LOUIS MO 63141
TVT POWER LOGISTICS LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TW CABLE                             C/O ECHO GLOBAL 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
TW CABLE C/O ECHO                    ATTN: ASHLEY STEVENSON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
TW METALS, LLC                       ATTN: BRIAN COCHRAN 14600 JAMES ROAD ROGERS MN 55374-9363
TW SERVICES INC                      2751 E CHAPMAN AVE 204 FULLERTON CA 92831
TW SERVICES INC                      PO BOX 784 PLACENTIA CA 92871
TW TRANSPORT INC                     PO BOX 843265 DALLAS TX 75284
TW TRANSPORTATION LLC                12890 395TH AVE BATH SD 57427
TWB TRANSPORTS AND LOGISTICS LLC     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TWC EXPRESS LLC                      PO BOX 1005 PATERSON NJ 07533
TWC LOGISTICS CORP                   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
TWEEDY, CHRISTOPHER                  ADDRESS ON FILE
TWEET EXPRESS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TWEHUES, MICHAEL                     ADDRESS ON FILE
TWENTY 4 SEVEN EXPRESS INC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TWENTY SIX TRUCKING LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TWENTY TWENTY LOGISTICS INC          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TWENTY1 LOGISTICS LLC                OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
TWIEHAUS, JOHN                       ADDRESS ON FILE
TWIFORD, PATRICIA                    ADDRESS ON FILE
TWIGG, ALEC                          ADDRESS ON FILE
TWIN BRIDGES ENTERPRISES, INC.       PO BOX 777 GROSSE ILE MI 48138
TWIN BRIDGES TRUCK CITY, INC.        PO BOX 1720 BETTENDORF IA 52722
TWIN CARGO SERVICES LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TWIN CITIES BALER &COMPACTOR CO.     ATTN: PHIL HANSEN 21080 134TH AVE N ROGERS MN 55374-9598
TWIN CITIES CARRIER LLC              OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
TWIN CITIES PERFOMANCE               ATTN: AARON LORENZEN PARTS 9191 WAYZATA BLVD GOLDEN VALLEY MN 55426
TWIN CITIES TRUCKING INC             OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
TWIN CITY FAN                        TPS LOGISTICS PO BOX 490 TROY MI 48099
TWIN CITY FAN COMPANIES LTD          5959 TRENTON LANE PLYMOUTH MN 55442
TWIN CITY FAN COMPANIES LTD          ATTN: ROXI STRONG 5959 TRENTON LANE PLYMOUTH MN 55442
TWIN CITY FREIGHT LLC                OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
TWIN CITY HARDWARE                   723 HADLEY AVE N OAKDALE MN 55128
TWIN CITY SPRINKLER CO INC           PO BOX 12457 WINSTON-SALEM NC 27117
TWIN CITY TRANSPORTATION, INC.       OR MARQUETTE TRANPORTATION FINANCE P O BOX 1450 NW 7939 MINNEAPOLIS MN 55485
TWIN CITY TRANSPORTATION, INC.       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TWIN DAUGHTERS EXPRESS LLC           10902 NEW HAMPSHIRE AVE SILVER SPRING MD 20903
TWIN ENERGY LLC                      404 IRONWOOD DR SALT LAKE CITY UT 84115
TWIN ENTERPRISES INC                 621 FORUM PKWY RURAL HALL NC 27045



Epiq Corporate Restructuring, LLC                                                               Page 1959 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 1968 of 2156

Claim Name                             Address Information
TWIN EXPRESS INC                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TWIN LAKES TRANSPORT LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TWIN PEAKS ENTERPRISES INC             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TWIN RIVER LOGISTICS, INC.             3811 DIXON ST DES MOINES IA 50313
TWIN ROCKS WATER                       1985 SWARTHMORE AVE UNIT 8 LAKEWOOD NJ 08701
TWIN STARS TRANSPORTATION LLC          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TWIN STATE TRAILERS LLC                8621 STATESVILLE RD STE A CHARLOTTE NC 28269
TWIN STATE TRAILERS LLC                8621 STATESVILLE RD CHARLOTTE NC 28269
TWIN STATE TRAILERS LLC                C\O WABASH OF FLORIDA TAMPA 8621 STATESVILLE RD. CHARLOTTE NC 28269
TWIN STATE TRAILERS LLC                CHARLOTTE NC BRANCH 8621 STATE VILLE RD. CHARLOTTE NC 28269
TWIN TOWING                            35 MILL ST BELLEVILLE NJ 07109
TWINS BROTHERS TRUCKING LLC            OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
TWINS CARRIER LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TWINS TEAM EXPRESS LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
TWINS TRANSPORTATION LLC               OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
TWINS TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TWINWOLF EXPRESS LLC                   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
TWISTED CREEK TRANSPORT LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TWISTED METAL FABRICATION LLC          685 S 500 E PRICE UT 84501
TWISTED OAK TRANSPORT                  OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
TWITCHELL, JAMES                       ADDRESS ON FILE
TWITCHELL, SANFORD                     ADDRESS ON FILE
TWIZERE, GLOIRE                        ADDRESS ON FILE
TWL LOGISTICS INC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TWO & TWO TRUCKING LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TWO ALVAREZ TRANSPORTATION, LLC        OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
TWO BROS & JACK COMPANY LLC            13936 SE FAIROAKS WAY MILWAUKE OR 97267
TWO BROTHER TRANSPORT LLC              OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TWO BROTHERS FREIGHT INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TWO BROTHERS FREIGHT INC (MC1319375)   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
TWO BROTHERS TRUCKING LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TWO BROTHERS TRUCKING LLC              OR COREFUND CAPITAL, PO BOX 223766 DALLAS TX 75222
TWO BULLS, CHARLES                     ADDRESS ON FILE
TWO CAPTAINS LLC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TWO JACKS TRUCKING                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TWO KOUZEN TRUCK LINES LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TWO PEPPERS TRANSPORTATION LLC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
TWO SISTERS HONEY                      106 LESA MARIE LANE KENNEWICK WA 99338
TWO SOLDIERS TRUCKING, LLC             839 ROYAL OAK WAY ELGIN SC 29045
TWO SOLDIERS TRUCKING, LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
TWO WAY COMMUNICATIONS                 426 1ST AVE SE HUTCHINSON MN 55350
TWOFORFOUR DELIVERY LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
TWOREK, JEFFREY                        ADDRESS ON FILE
TWS COMMERCIAL LANDSCAPE MAINTENANCE   18991 COLE AVE PERRIS CA 92570
TWYMAN, MARK                           ADDRESS ON FILE
TX DOT                                 125 E 11TH ST AUSTIN 78701
TX DOT                                 125 EAST 11TH ST. AUSTIN TX 78701
TX GOLDEN EAGLES TRANSPORT LLC         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TX LOADRUNNERS                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029



Epiq Corporate Restructuring, LLC                                                                Page 1960 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 1969 of 2156

Claim Name                               Address Information
TX TRUCKING                              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
TXMT LLC                                 OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
TXTA/STDC                                510 W. 15TH ST. AUSTIN TX 78701
TXTA/STDC                                PO BOX 6429 AUSTIN TX 78762
TY & MO TRANSPORTATION INC.              120-122 N MCDONOUGH ST, SUITE 910 JONESBORO GA 30236
TY & TAN EXPRESS LLC                     OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
TY CAMPBELL                              ADDRESS ON FILE
TY NATION TRUCKING LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
TY STARR TRANSPORT LLC                   OR RIVIERA FINANCE ATLANTA PO BOX 945213 ATLANTA GA 30394-5213
TY TRANSPORTATION INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TY Z. WYNTERBROOKE ENTERPRISE LLC        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
TYB SUPERIOR TRANSPORT LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TYCO FIRE.                               360 W BUTTERFIELD RD STE 300 ELMHURST IL 60126
TYCO INTEGRATED FIRE & SECURITY CA INC   40 SHEPPARD AVE W SUITE 300 TORONTO ON M2N 6K9 CANADA
TYCO INTEGRATED FIRE & SECURITY CA INC   O/A JOHNSON CONTROLS C/O T46123 PO BOX 46123 STN A TORONTO ON M5W 4K9 CANADA
TYCO INTEGRATED FIRE & SECURITY CA INC   PO BOX 4484 STN A TORONTO ON M5W 5Z2 CANADA
TYCOL TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TYCOON EXPRESS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
TYCOON LOGISTICS INC                     OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
TYCOON NATION LLC                        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
TYDAN LOGISTICS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TYDENBROOKS                              D/B/A: TYDENBROOKS SECURITY PRODUCTS GRP PO BOX 778954 CHICAGO IL 60677
TYDENBROOKS                              D/B/A: TYDENBROOKS SECURITY PRODUCTS GRP 16036 COLLECTION CENTER DR CHICAGO IL
                                         60693
TYECIA LEE TRUCKING LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
TYER, JERI                               ADDRESS ON FILE
TYF SERVICES INC                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
TYG TRANSPORTATION INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
TYLER C HUNT                             ADDRESS ON FILE
TYLER D SIZEMORE                         ADDRESS ON FILE
TYLER G MUIR                             ADDRESS ON FILE
TYLER HORTON                             ADDRESS ON FILE
TYLER J EDWARDS                          ADDRESS ON FILE
TYLER J SHIPKA                           ADDRESS ON FILE
TYLER J SHIPKA                           ADDRESS ON FILE
TYLER M PETROPOULOS                      ADDRESS ON FILE
TYLER MCNALLY                            ADDRESS ON FILE
TYLER P HENDERSON                        ADDRESS ON FILE
TYLER TRUCKING, LLC                      OR CORPORATE BILLING LLC DEPT 100 PO BOX 830604 BIRMINGHAM AL 35283
TYLER UNION                              ATTN: JASON ASKEW 1501 W 17TH ST ANNISTON AL 36201
TYLER, AMIE                              ADDRESS ON FILE
TYLER, BARRY                             ADDRESS ON FILE
TYLER, CHERYL                            ADDRESS ON FILE
TYLER, DANIEL                            ADDRESS ON FILE
TYLER, DAVID                             ADDRESS ON FILE
TYLER, EDWARD                            ADDRESS ON FILE
TYLER, FAISON                            ADDRESS ON FILE
TYLER, KEVIN                             ADDRESS ON FILE
TYLER, ROXANE                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 1961 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1970 of 2156

Claim Name                           Address Information
TYLER, TERRY                         ADDRESS ON FILE
TYLER, TIPHANIE                      ADDRESS ON FILE
TYLER, TROY                          ADDRESS ON FILE
TYLER, XAVIER                        ADDRESS ON FILE
TYLERS HEATING & COOLING             13720 JEFFERSON BLVD MISHAWAKA IN 46545
TYLERS LOCKSMITH                     ADDRESS ON FILE
TYLERS TRUCK ENTERPRISES INC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TYLERS TRUCKING                      OR BOBTAIL, PO BOX 932119 ATLANTA GA 31193
TYLERS TRUCKING                      9001 SOUTH WATER TOWER RD FORT WORTH TX 76179
TYLICKI, PAUL                        ADDRESS ON FILE
TYME-IT TRANSPORTATION, INC.         DEPARTMENT 4949 CAROL STREAM IL 60122
TYMEC AND ASSOCIATES INC             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TYMECKI, KIMBERLEY                   ADDRESS ON FILE
TYMINSKI, CHRISTINE                  ADDRESS ON FILE
TYMINSKI, DAREK                      ADDRESS ON FILE
TYMON, JOHN                          ADDRESS ON FILE
TYMS, NABASHEY                       ADDRESS ON FILE
TYNER, AMY                           ADDRESS ON FILE
TYNER, ANGELA                        ADDRESS ON FILE
TYNER, BENJAMIN                      ADDRESS ON FILE
TYNES, RON                           ADDRESS ON FILE
TYNISHA A CANADY                     ADDRESS ON FILE
TYPENEX MEDICAL C/O ECHO             ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
TYREE OIL INC                        PO BOX 743548 LOS ANGELES CA 90074
TYREE OIL INC                        1355 WEST FIRST AVENUE EUGENE OR 97402
TYREE OIL INC                        PO BOX 2706 EUGENE OR 97402
TYREE OIL INC                        PO BOX 2706 EUGENE OR 97402-4120
TYREE OIL INC                        ATTN PAYTON WAYNE, CFO 2076 IRVING RD EUGENE OR 97402-4120
TYREE WILEY                          ADDRESS ON FILE
TYREE, AMADOU                        ADDRESS ON FILE
TYREE, JEFFERY                       ADDRESS ON FILE
TYREE, JENNIFER                      ADDRESS ON FILE
TYREE, JORDAN LAMONT-DAVIS           ADDRESS ON FILE
TYREE, KRISTY                        ADDRESS ON FILE
TYREE, WESLEY                        ADDRESS ON FILE
TYREL ENTERPRISES LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
TYRELL N MARTIN                      ADDRESS ON FILE
TYRONE E DAVIS                       ADDRESS ON FILE
TYRONE JEFFERS                       ADDRESS ON FILE
TYRONE JEFFERS                       ADDRESS ON FILE
TYRONE LEE MORRIS LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
TYS TRUCKING LLC                     OR RIVIERA FINANCE OF PHILADELPHIA INC PO BOX 713394 PHILADELPHIA PA
                                     19171-3394
TYSHAWN J BEARD                      ADDRESS ON FILE
TYSON & TYSON LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
TYSON TRUCKING GROUP                 13-320 GREAT PLAINS ROAD EMERALD PARK SK S4L 0B8 CANADA
TYSON TRUCKING INC                   1259 N LUCY MONTGOMERY WAY OLATHE KS 66061
TYSON, CARLOS                        ADDRESS ON FILE
TYSON, KENNETH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1962 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1971 of 2156

Claim Name                           Address Information
TYSON, MACKLYN                       ADDRESS ON FILE
TYSON, MICHAEL                       ADDRESS ON FILE
TYSON, SHARIF                        ADDRESS ON FILE
TYSON, WILLIAM                       ADDRESS ON FILE
TYTADEN TRUCKING LLC                 OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
TYULYU, PAVEL                        ADDRESS ON FILE
TYUS, DEWONE                         ADDRESS ON FILE
TYUS, MARTY                          ADDRESS ON FILE
TYUS, RYAN                           ADDRESS ON FILE
TYWANN CONSULTANTS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
TYZONE TRUCKING AND TOWING LLC       OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
TZE, HENRY                           ADDRESS ON FILE
TZM TRANSPORT LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
TZONE TRUCKING LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
U & I TRANSPORTATION LLC             OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
U - TURN INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
U A TRANSPORTATION INC               1211 CREEKSIDE TRAIL WEBSTER NY 14580
U CHOOSE WE MOVE LLC                 OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415-0306
U HAUL FREIGHT DEPT                  8162 S PRIEST DR TEMPE AZ 85284
U HAUL INTERNATIONAL                 PO BOX 21502 PHOENIX AZ 85036
U MAX LOGISTICS                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
U S CARGO LLC                        OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
U S CARRIERS                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
U S CHAMBER OF COMMERCE              PO BOX 825448 PHILADELPHIA PA 19182
U S ENGINEERING                      3433 ROANOKE RD KANSAS CITY MO 64111
U S FREIGHT LINES INC                OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
U S HEALTHWORKS MEDICAL GROUP PC     DEL AMO MEDCIAL CENTER, PO BOX 79162 CITY OF INDUSTRY CA 91716
U S LOADLINES                        OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
U S POLYMERS                         ROCIA, 1057 S VAIL AVE MONTEBELLO CA 90640
U S TRAILER PARTS & SUPPLY, INC.     4334 S. TRIPPAVE CHICAGO IL 60632
U STAR TRANSPORTATION INC            2656 LOGAN WOOD DR HERNDON VA 20171
U&C TRANSPORT LLC                    OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
U-FIRST TRANSPORT LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
U-GO XPRESS LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
U-HAUL FREIGHT DEPT                  ATTN: CLIFFORD ANDERSON 8162 S PRIEST DR TEMPE AZ 85284
U-HAUL OF CORALVILLE                 ATTN: FRANCIS TOLLARD 2601 2ND STREET CORALVILLE IA 52241-1213
U-MOVE LLC                           6909 CASSINI WAY CITRUS HTS CA 95621-3643
U-NIK GROUP LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
U-TURN TRANSPORT LLC                 OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
U.P. TRUCK CENTER, INC.              HWY US-2 PO BOX 261 QUINNESEC MI 49876
U.S. BANCORP INVEST (0280)           ATT KEVIN BROWN OR PROXY MGR 60 LIVINGSTON AVE ST. PAUL MN 55107-1419
U.S. BANK N.A. (2803)                ATT PAUL KUXHAUS OR PROXY MGR 1555 N. RIVER CTR DR STE 302 MILWAUKEE WI 53212
U.S. DEPARTMENT OF JUSTICE           UNITED STATES DEPARTMENT OF THE TREASURY ATTN: I-HENG.HSU AND CRYSTAL GEISE
                                     1100 L ST NW RM 7102 WASHINGTON DC 20005-4035
U.S. DEPARTMENT OF JUSTICE           950 PENNSYLVANIA AVENUE, NW WASHINGTON DC 20530-0001
U.S. DEPARTMENT OF THE TREASURY      C/O THE BANK OF NEW YORK MELLON 240 GREENWICH STREET 7TH FLOOR NEW YORK NY
                                     10004
U.S. EXPEDITERS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
U.S. EXPEDITING & LOGISTICS, LLC     4311 OLD SPRINGFIELD RD VANDALIA OH 45377


Epiq Corporate Restructuring, LLC                                                               Page 1963 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1972 of 2156

Claim Name                              Address Information
U.S. EXPEDITING & LOGISTICS, LLC       OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 PO BOX 4539 CAROL STREAM
                                       IL 60197
U.S. HYDRAULIC SERVICES, LTD           2355 REFUGEE PARK COLUMBUS OH 43207
U.S. MATERIALS HANDLING CORPORATION    P.O. BOX 366 UTICA NY 13503
U.S. NATIONAL CARRIER INC              OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
U.S. PETROLEUM EQUIPMENT &             558 CARTER CT KIMBERLY WI 54136
U.S. PETROLEUM EQUIPMENT &             D/B/A: U S PETROLEUM EQUIPMENT 558 CARTER CT KIMBERLY WI 54136
U.S. REGIONAL OCCUPATIONAL HEALTH II PC P.O. BOX 827918 PHILADELPHIA PA 19182
U.S. SECURITY ASSOCIATES, INC.         ALLIED UNIVERSAL SECURITY SERVICES P.O. BOX 828854 PHILADELPHIA PA 19182
U.S. SECURITY ASSOCIATES, INC.         P.O. BOX 828854 PHILADELPHIA PA 19182
U.S. SECURITY ASSOCIATES, INC.         P.O BOX 828854 PHILADELPHIA PA 19182-8854
U.S. SECURITY ASSOCIATES, INC.         200 MANSELL COURT, 5TH FLOOR ROSWELL GA 30076
U.S. TRANSMISSIONS INC                 10 NE WALKER ST. PORTLAND OR 97211
U.S. TRANSMISSIONS INC                 PO BOX 659 AUBURN WA 98071
U.S. WATER SERVICES CORPORATION        4939 CROSS BAYOU BLVD NEW PORT RICHEY FL 34652
U.S. XPRESS ENTERPRISES INC.           PO BOX 745850 ATLANTA GA 30374
U.S.A CARRIERS L.L.C                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
U.S.A LOGISTICS INC (FL)               388 BLUE BAYOU DR, 388 BLUE BAYOU DR KISSIMMEE FL 34743
U3A TRUCKING                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UA LOGISTICS INC                       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UA TRANS INC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UA TRANSPORTATION                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
UA TRANSPORTATION INC.                 OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPOLIS MN 55485-0243
UA TRUCKING INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UA2US TRANSPORT LLC                    180 SEDGLEY PARK W HENRIETTA NY 14586-9491
UAP INC.                               C/O T9603, PO BOX 9603 STN A TORONTO ON M5W 1P8 CANADA
UB LOGISTICS LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UB SKY INC                             248 LIONEL DR GRAYSLAKE IL 60030
UB TRUCKING                            2181 N TRACY BLVD 198 TRACY CA 95376
UBER TRUCKING LLC                      OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
UBER TRUCKING LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
UBIAS, HUMBERTO                        ADDRESS ON FILE
UBIQUITOUS PROMPT TRANSPORT INC        14311 LOST HORSE RD EASTVALE CA 92880
UBL TRANSPORT                          OR REVOLUTION CAPITAL 27 ROYTEC ROAD UNIT 11 WOODBRIDGE ON L4L8E3 CANADA
UBOZ LLC                               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UBS ARENA                              2400 HEMPSTEAD TPKE. ELMONT NY 10031
UBS FIN SVCS LLC (0221)                ATT PROXY DEPT - JANE FLOOD 1000 HARBOR BLVD WEEHAWKEN NJ 07086
UBS LOGISTICS                          OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
UBS SECS LLC (0642)                    ATT MICHAEL HALLET/PROXY MGR PROXY DEPT 315 DEADRICK ST NASHVILLE TN 37238
UBT LOGISTICS, LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UC TRANSPORT LLC                       OR BLUE WATER CAPITAL PO BOX 30015 DEPT 568 SALT LAKE CITY UT 84130
UCELL LLC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UCROP TRUCKING INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UCS WIRELESS                           8755 S 300 W SANDY UT 84070
UDASIN TRANSPORT INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UDASIN TRUCKING                        7913 GOLDEN SPRINGS LN VALLEJO CA 94591
UDCHITZ, JEFFREY                       ADDRESS ON FILE
UDE, NELSON                            ADDRESS ON FILE
UDHAY TRANSPORT, INC.                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195



Epiq Corporate Restructuring, LLC                                                                 Page 1964 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1973 of 2156

Claim Name                           Address Information
UDINK, REBECCA                       ADDRESS ON FILE
UE LINE INC                          OR CD CONSORTIUM CORPORATION 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
UE LINE INC                          707 DAVIS RD, UNIT 203A ELGIN IL 60123
UF TRANSPORT INC                     PO BOX 522 COLTON CA 92324
UFC LOGISTICS INC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
UFDS LOGISTICS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
UFI TRANSPORTATION LLC               P O BOX 443 AMORY MS 38821
UFIF TRUCKING, LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
UFLEX                                6442 PARKLAND DR. SARASOTA FL 34243
UFO LOGISTICS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UG LOGISTICS LLC                     OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
UGARTE CORTEZ, OSCAR                 ADDRESS ON FILE
UGI UTILITIES INC                    460 N GULPH RD KING OF PRUSSIA PA 19406
UGN LOGISTICS INC.                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UGPLUS LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
UGUES TRANSPORTATION                 OR SIERRA FINANCE, 6080 SURETY STE 101 EL PASO TX 79905
UHAUL                                3161 SWEETEN CREEK ROAD ASHEVILLE NC 28803
UHAUL                                5505 PAN AMERICAN BLVD. NORTH PORT FL 34287
UHAUL MOVING AND STORAGE             21621 N. 26TH AVE. PHOENIX AZ 85027
UHER, FRANK                          ADDRESS ON FILE
UHL TRUCK SALES INC                  PO BOX 854446 MINNEAPOLIS MN 55485
UHL, JEROME                          ADDRESS ON FILE
UHLAN, MARC                          ADDRESS ON FILE
UHLS, CODY                           ADDRESS ON FILE
UHRMACHER, ASHLEE                    ADDRESS ON FILE
UHS TRANSPORT LLC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
UINI, IERENIMO F                     ADDRESS ON FILE
UISD                                 4410 STATE HWY. 359 LAREDO TX 78043
UK CARGO INC                         OR NEXT DAY FUNING, INC., PO BOX 640 CHICAGO HEIGHTS IL 60412-0640
UK ST FRANCIS URGENT CARE            40306 HIGHWAY 42 SUITE 201 PRAIRIEVILLE LA 70769
UKASHA TRANSPORT LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
UKEXPRESS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UKG                                  C/O LOCKBOX 916110 PO BOX 4090 STN A TORONTO ON M5W 0E9 CANADA
UKG                                  900 CHELMSFORD STREET LOWELL MA 01851
UKG                                  P O BOX 743208 ATLANTA GA 30374
UKI LLC                              OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
UKI LOGISTICS LLC                    OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
UKR CARRIER INC                      OR NORTH STAR FACTOR LLC, PO BOX 1326 RIDGEFIELD WA 98642
UKTC INC                             OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
ULA TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ULANOWICZ, PETER                     ADDRESS ON FILE
ULANOWICZ, PETER                     ADDRESS ON FILE
ULANSKI, DEREK                       ADDRESS ON FILE
ULBRICH, HANS                        ADDRESS ON FILE
ULC TRUCKING LLC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ULCH, DONALD                         ADDRESS ON FILE
ULERY, MICHAEL                       ADDRESS ON FILE
ULI, JARRED                          ADDRESS ON FILE
ULIBARRI, ELAINE                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1965 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1974 of 2156

Claim Name                           Address Information
ULIBARRI, RAMON                      ADDRESS ON FILE
ULINE                                700 ULINE WAY ALLENTOWN PA 18106
ULINE                                12355 ULINE WAY KENOSHA WI 53144
ULINE                                36258 TREASURY CTR CHICAGO IL 60694
ULINE - MA PRIMARY WHSE              ATTN: ULINE PA TRACES TRACES 800 ULINE WAY ALLENTOWN PA 18106
ULINE 16                             12355 ULINE WAY KENOSHA WI 53144
ULINE CANADA CORPORATION             BOX 3500 RPO STSVILLE MISSISSAUGA ON L5M 0S8 CANADA
ULINE SHIPPING SUPPLY SPECIALISTS    3333 JAMES SNOW PARKWAY NORTH MILTON ON L9T 8L1 CANADA
ULINE SHIPPING SUPPLY SPECIALISTS    2200 S LAKESIDE DRIVE WAUKEGAN IL 60085
ULINE SHIPPING SUPPLY SPECIALISTS    PO BOX 88741 CHICAGO IL 60680
ULINE SHIPPING SUPPLY SPECIALISTS    PO BOX 88741 CHICAGO IL 60680-1741
ULISES VIVEROS-CANCELA               ADDRESS ON FILE
ULLOA SERVICES LLC                   673 EVANS RD LABELLE FL 33935
ULLOAS TRANSPORT LLC                 OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
ULLOQUE, OMEIRA                      ADDRESS ON FILE
ULLOQUE, OMEIRA M                    ADDRESS ON FILE
ULLOQUE, OMEIRA M                    ADDRESS ON FILE
ULLRICH, ROBERT                      ADDRESS ON FILE
ULRICH, DILLON                       ADDRESS ON FILE
ULRICH, KAYLA                        ADDRESS ON FILE
ULRICH, MARGARET                     ADDRESS ON FILE
ULRICH, PETER                        ADDRESS ON FILE
ULS                                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ULTIMATE CARRIERS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ULTIMATE E&A                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ULTIMATE FREIGHT CARGO LLC           ULTIMATE FREIGHT CARGO LLC 452 FARMER RD BRIDGEWATER NJ 08807
ULTIMATE FREIGHTWAYS LLC             1111 W. LAYTON AVE MILWAUKEE WI 53221
ULTIMATE INNOVATIONS LLC             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ULTIMATE LOGISTICS INC               OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
ULTIMATE LOGISTICS LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ULTIMATE PRINT SOURCE                2070 S HELLMAN AVE ONTARIO CA 91761
ULTIMATE TOWING & RECOVERY INC       1656 PARK DR MT AIRY NC 27030
ULTIMATE TRANSPORTATION INC          3816 SKY VIEW LN LA CRESCENTA CA 91214
ULTIMATE TRUCKLINES LLC              OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ULTIMATE WATER, LLC                  5401 BROKEN SOUND BLVD NW STE 100 BOCA RATON FL 33487
ULTIMATE WATER, LLC                  PO BOX 677784 DALLAS TX 75267
ULTIMATE WORLDWIDE LOGISTICS, INC.   1691 EDMONDS AVE NEW LENOX IL 60451
ULTIONIS INC                         OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
ULTIONIS INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ULTRA CLASSIC TRANSPORT              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ULTRA CLEAR ENGINE FLUIDS INC.       23B METROPOLITON RD SCARBOROUGH ON M1R 2T5 CANADA
ULTRA COMFORT                        ATTN: JOANN 1112 INKERMAN RD BLDG 10 WILKES-BARRE PA 18702
ULTRA DRIVEN TRANSPORTATION INC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ULTRA FREIGHT INC                    OR CRESTMARK, PO BOX 3625 COMMERCE COURT POSTAL STATION TORONTO ON M5L 1K1
                                     CANADA
ULTRA MASTER LTD                     ATTN: GENERAL COUNSEL 25 MAPLE STREET SUMMIT NJ 07901
ULTRA TOWING & TRANSPORT             3340 LEONARDTOWN RD WALDORF MD 20601
ULTRA TRUCKING                       355 W. DUNDEE RD STE 103 BUFFALO GROVE IL 60089
ULTRA-LITE OVERHEAD DOORS            7307 40TH STREET SE CALGARY AB T2C 2K4 CANADA



Epiq Corporate Restructuring, LLC                                                               Page 1966 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1975 of 2156

Claim Name                           Address Information
ULTRAEDIT INC                        PO BOX 736111 DALLAS TX 75373
ULUGIA, STEVE                        ADDRESS ON FILE
ULYSSES A ROBINSON                   ADDRESS ON FILE
ULYSSES LELAND CROWE                 ADDRESS ON FILE
UM EXCELLENT TRANSPORTATION LLC      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
UM45 LLC                             OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
UMANZOR GOMEZ, FREDY                 ADDRESS ON FILE
UMAR INC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UMAR TRANS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UMARSON LOGISTICS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UMATILLA ELECTRIC COOP               750 W ELM AVE PO BOX 1148 HERMISTON OR 97838
UMB BANK, NATIONAL ASSOCIATION       ATTN: TURST FEES DEPARTMENT PO BOX 414589 KANSAS CITY MO 64141
UMB BANK, NATIONAL ASSOCIATION       TRUST FEES, PO BOX 419260 KANSAS CITY MO 64141
UMBER TRANS INC                      1169 S MAIN ST SUITE 353 MANTECA CA 95337
UMBRELLA EXPRESS INC                 25 KINGSPORT DR SOUTH ELGIN IL 60177
UMBRELLA LOGISTICS                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
UMC EXPRESS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UMCIA TRUCKING INC                   7534 164TH PLACE TINLEY PARK IL 60477
UMF HOLDING INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UMGA LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UMIDA INC                            16315 S CANTERBURY WAY LOCKRT IL 60441
UMPQUA DAIRY                         ATTN: DOUGLAS FELDCAMP 333 SE SYKES AVENUE SALEM OR 97302
UMPQUA DAIRY PRODUCTS CO             333 SE SYKES AVENUE ROSEBURG OR 97470
UMPQUA VALLEY FIRE SERVICES, INC     UVFS ACCOUNTING, 1353 SE PINE ST. ROSEBURG OR 97470
UMT GLOBAL LOGISTICS LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNA FREIGHT INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNA TRANS LOGISTICS LLC              OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
UNATE, EMILIO                        ADDRESS ON FILE
UNC SAFE LOAD                        5804 ALL CLEAR LN WENDELL NC 27591
UNCLE AND NEPHEW TRUCKING LLC        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
UNCLE BOB LOGISTICS LLC              OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
UNCLE SMITTYS TRANSPORT SERVICE      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
UNCLEWES1 LLC                        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
UNDERCUT LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNDERGROUND VAULTS & STORAGE, INC.   PO BOX 1723 HUTCHINSON KS 67504
UNDERHILL, THOMAS                    ADDRESS ON FILE
UNDERHILL, ZACHARY                   ADDRESS ON FILE
UNDERKOFFLER, MICHAEL                ADDRESS ON FILE
UNDERLY, ANGELO                      ADDRESS ON FILE
UNDERWOOD TRANSPORT LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNDERWOOD TRUCKING, LTD              OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
UNDERWOOD, ALLISON                   ADDRESS ON FILE
UNDERWOOD, AUGUSTUS                  ADDRESS ON FILE
UNDERWOOD, DEDRICK                   ADDRESS ON FILE
UNDERWOOD, ERICH                     ADDRESS ON FILE
UNDERWOOD, GARY                      ADDRESS ON FILE
UNDERWOOD, JAMES                     ADDRESS ON FILE
UNDERWOOD, JOHN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1967 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1976 of 2156

Claim Name                              Address Information
UNDERWOOD, KEANDRE                     ADDRESS ON FILE
UNDERWOOD, LASHAWN                     ADDRESS ON FILE
UNDERWOOD, LEE                         ADDRESS ON FILE
UNDERWOOD, MARK                        ADDRESS ON FILE
UNDERWOOD, MEGAYLE D                   ADDRESS ON FILE
UNDERWOOD, MICHELLE                    ADDRESS ON FILE
UNDERWOOD, NIJA                        ADDRESS ON FILE
UNDERWOOD, OLIVIA                      ADDRESS ON FILE
UNDERWOOD, QUANTREAL                   ADDRESS ON FILE
UNDERWOOD, ROBERT                      ADDRESS ON FILE
UNFI                                   313 IRON HORSE WY PROVIDENCE 02908
UNGA, SIONE                            ADDRESS ON FILE
UNGER ELECTRIC, LLC                    2326-B 4TH ST TUCKER GA 30084
UNGER, CHRISTOPHER                     ADDRESS ON FILE
UNGER, DONALD                          ADDRESS ON FILE
UNGERMAN ELECTRIC INC.                 395 SHERIDAN AVE. ALBANY NY 12206
UNI                                    EDDINS MARKETING GROUP 2700 COMERECE STREET SUIT DALLAS TX 75226
UNI AMEREQ INC                         ATTN: LAINE WALLACE 2700 COMMERCE ST DALLAS TX 75226
UNI LINES CORP                         OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
UNI TRANS LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UNI UPSTATE BREAKER                    ATTN: LAINE WALLACE 2700 COMMERCE ST DALLAS TX 75226
UNI-CAR LOGISTICS LLC                  OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197
UNI-JET                                50 OMANDS CREEK BLVD WINNIPEG MB R2R 1V7 CANADA
UNI-Q TRANS INC                        OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
UNIBROTHERS CORPORATION                1N250 BLOOMINGDALE ROAD CAROL STREAM IL 60188
UNICAR TRANSPORT COMPANY CORP          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UNICEP PACKAGING LLC                   4122 S GROVE RD SPOKANE WA 99224
UNICITY TAXI LTD                       340 HARGRAVE PL WINNIPEG MB R3C 0X5 CANADA
UNICO EXPRESS INC                      OR FREIGHT FACTORING SPECIALISTS LLC DEPT 259 PO BOX 1000 MEMPHIS TN 38148
UNICOR FEDERAL PRISON INDUSTRI         ATTN: KEVIN HOLBROOK PO BOX 7000 FORREST CITY AR 72336
UNICOR FEDERAL PRISON INDUSTRIES       ATTN: B STREU 4002 E ARKONA RD MILAN MI 48160
UNICOR FEDERAL PRISON INDUSTRIES       ATTN: R. JOHNSON 4002 E ARKONA RD MILAN MI 48160
UNICOR LSCI ALLENWOOD                  ATTN: E. DIEFFENDERFER PO BOX 1500 WHITE DEER PA 17887
UNICORN FREIGHT SOLUTIONS LLC          11835 S CENTRAL PARK AVE MERRIONETT PK IL 60803
UNICORN FREIGHT SOLUTIONS LLC          PO BOX 14470 ST LOUIS MO 63178
UNICORN TRUCKING LLC                   12282 TWYCKENHAM DR FISHERS IN 46037
UNIFIED CARRIER REGISTRATION PLAN      PO BOX 2935 IDAHO FALLS ID 83403-2935
UNIFIED EXPRESS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
UNIFIED GOVERNMENT TREASURY            PO BOX 175013 KANSAS CITY KS 66101
UNIFIED GOVT OF WYANDOTTE COUNTY AND KC 701 N 7TH ST PO BOX 175013 KANSAS CITY KS 66101
UNIFIED TRANSPORTATION INC.            BOX 180 WINKLER MB R6W 4A4 CANADA
UNIFIRST CANADA LTD                    3691 98TH ST EDMONTON AB T6E 5N2 CANADA
UNIFIRST CANADA LTD                    9189 196A ST LANGLEY BC V1M 3B5 CANADA
UNIFIRST CORPORATION                   PO BOX 600 WILMINGTON MA 01887
UNIFIRST CORPORATION                   3999 JEFFREY BLVD BUFFALO NY 14219
UNIFIRST CORPORATION                   PO BOX 761 EBENSBURG PA 15931
UNIFIRST CORPORATION                   P.O. BOX 650481 DALLAS TX 75265
UNIFIRST CORPORATION                   1025 N LEVEE RD PUYALLUP WA 98371
UNIFIRST FIRST AID SAFETY              3499 RIDER TRAIL SOUTH EARTH CITY MO 63045



Epiq Corporate Restructuring, LLC                                                                 Page 1968 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1977 of 2156

Claim Name                          Address Information
UNIFOR LOCAL 4209                   PO BOX 1925 STATION MAIN WINNIPEG MB R3C 0R2 CANADA
UNIFOR PAID EDUCATION LEAVE FUND    205 PLACER COURT TORONTO ON M2H3H9 CANADA
UNILINE INC                         OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
UNIMEX LOGISTICS, LLC               700 W ANAYA RD PHARR TX 78577
UNION CITY COOP                     PO BOX 70 LIBERTY IN 47353
UNION FREIGHT CARRIERS INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UNION FREIGHT LLC                   OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
UNION LOCAL 179                     1000 NE I-55, FRONTAGE ROAD JOLIET IL 60431
UNION LOCAL 364                     2405 E. EDISON ROAD SOUTH BEND IN 46615
UNION LOCAL 4209                    PO BOX 1925 STATION MAIN WINNIPEG MB R3C 2R2 CANADA
UNION LOCAL 480                     PO BOX 100230 NASHVILLE TN 37224
UNION LOCAL 688                     4349 WOODSON ROAD, SUITE 200 ST. LOUIS MO 63134-3718
UNION ML LOGISTICS LLC              OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
UNION PACIFIC RAILROAD              PO BOX 502453 SAINT LOUIS MO 63150
UNION PACIFIC RAILROAD              1400 DOUGLAS ST OMAHA 68179
UNION PACIFIC RAILROAD              ATTN: RISK MGMT -- A SLAUGHTER 1400 DOUGLAS STREET, MS 1510 OMAHA NE 68179
UNION PACIFIC RAILROAD              JENNIFER HAMANN, EXECUTIVE VP & CFO 1400 DOUGLAS ST OMAHA NE 68179
UNION PACIFIC RAILROAD CO.          1400 DOUGLAS STREET STOP 1510 OMAHA NE 68179
UNION PLUMBING                      PO BOX 971763 EL PASO TX 79997
UNION SUPPLY GROUP                  ATTN: BRIAN HAMMOND 2500 REGENT BLVD DALLAS TX 75251
UNION TRUCK LINES LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNIQUALITY                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNIQUE 114 TRANSPORTATION LLC       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNIQUE A&T LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
UNIQUE EXPEDITERS                   147-48 182ND ST JAMAICA NY 11413
UNIQUE EXPEDITERS                   147-48 182ND ST SPRINGFIELD GARDENS NY 11413
UNIQUE EXPEDITERS                   167-37 PORTER RD JAMAICA NY 11434
UNIQUE FREIGHT CARRIERS INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNIQUE HEAVY RECOVERY & TOWING      2075 W WILLIAMS PHOENIX AZ 85027
UNIQUE HOME DESIGNS                 973 N COLORADO ST GILBERT AZ 85233
UNIQUE LANDSCAPING LLC              202 STALNAKER AVE WARNER ROBINS GA 31088
UNIQUE PRODUCTS SERVICE CORP.       P.O. BOX 5613 CAROL STREAM IL 60197
UNIQUE TOWING, INC                  416 ALDO AVE SANTA CLARA CA 95054
UNIQUE TRANS INC                    1407 JODI DR YUBA CITY CA 95993
UNIQUE TRANSPORT INCORPORATED       OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148-3045
UNIQUE TRUCKING EXPRESS INC         PO BOX 473536 MIAMI FL 33147
UNIQUES TRANSPORTATION LLC          OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
UNIS                                2005 MCDANIEL DR. STE. 120 CARROLTON TX 75006
UNIS                                218 MACHLIN CT STE B WALNUT CA 91789
UNIS TRANSPORTATION                 ATTN: ABDUL JAVAR MUHAMAD CARGO CLAIMS DEPARTMENT 218 MACHLIN CT WALNUT CA
                                    91789
UNIS TRANSPORTATION                 ATTN: ARYAN SABAYTON 218 MACHLIN CT WALNUT CA 91789
UNIS TRANSPORTATION                 ATTN: ARYAN SABAYTON CARGO CLAIMS DEPARTMENT 218 MACHLIN CT WALNUT CA 91789
UNIS TRANSPORTATION                 ATTN: KRISTY CUBIAN 218 MACHLIN CT WALNUT CA 91789
UNIS TRANSPORTATION                 ATTN: KRISTY MAY CUBIAN 218 MACHLIN CT WALNUT CA 91789
UNIS TRANSPORTATION                 ATTN: MA. IMMAFE P. DECENA CARGO CLAIMS DEPARTMENT 218 MACHLIN CT WALNUT CA
                                    91789
UNISHIPPERS                         16 CORPORATE WOODS BLVD ALBANY NY 12211
UNISHIPPERS                         16 CORPORATE WOODS BLVD, FLOOR 2 ALBANY NY 12211


Epiq Corporate Restructuring, LLC                                                            Page 1969 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1978 of 2156

Claim Name                              Address Information
UNISHIPPERS                            ATTN: LISA GILSON 16 CORPORATE WOODS BLVD FLOOR 2 ALBANY NY 12211
UNISHIPPERS                            ATTN: MARIE KOPIL 16 CORPORATE WOODS BLVD ALBANY NY 12211
UNISHIPPERS                            5401 LAWNDALE DR GREENSBORO NC 27455
UNISHIPPERS                            1749 HAMILTON RD STE 102 OKEMOS MI 48864
UNISHIPPERS                            PO BOX 177 OKEMOS MI 48864
UNISHIPPERS                            2323 VICTORY AVE STE 1600 DALLAS TX 75219
UNISHIPPERS                            C/O BLIND DOG COFFEE 2323 VICTORY AVE 1600 DALLAS TX 75219
UNISHIPPERS                            ATTN: BETH LYONS OPERATIONS PO BOX 4011 GREENWOOD VILLAGE CO 80155
UNISHIPPERS                            ATTN: BRITTANY KOVALASKI PO BOX 4011 GREENWOOD VILLAGE CO 80155
UNISHIPPERS                            ATTN: JEREMY PETERSON PO BOX 4011 GREENWOOD VILLAGE CO 80155
UNISHIPPERS                            PO BOX 4011 ENGLEWOOD CO 80155
UNISHIPPERS                            PO BOX 4011 GREENWOOD VILLAGE CO 80155
UNISHIPPERS                            ATTN: CAITLYN KRISLE PO BOX 9346 SALT LAKE CITY UT 84109
UNISHIPPERS                            PO BOX 6047 KENNEWICK WA 99336
UNISHIPPERS                            UNISHIPPERS, PO BOX 6047 KENNEWICK WA 99336
UNISHIPPERS BNW 94143                  177 HUNTINGTON AVE 1700 BOSTON MA 02115
UNISHIPPERS C/O INTERMOUNTAIN          2323 VICTORY AVE 1600 DALLAS TX 75219
UNISHIPPERS C/O SNAKE RIVER TR         ATTN: CLAIMS HELP CLAIMS HELP 2700 COMMERCE ST STE 1500 DALLAS TX 75226
UNISHIPPERS CENTRAL BILLING            ATTN: UNISHIPPERS PO BOX 4011 GREENWOOD VILLAGE CO 80155
UNISHIPPERS CENTRAL BILLING            ATTN: MICHAEL HERLING PO BOX 6047 KENNEWICK WA 99336
UNISHIPPERS CENTRAL EDI                PO BOX 6047 KENNEWICK WA 99336
UNISHIPPERS FAR                        ATTN: CHELSEA MORROW 1700-94143 177 HUNTINGTON AVE BOSTON MA 02115
UNISHIPPERS FAR                        ATTN: CHELSEA MORROW 177 HUNTINGTON AVE 1700-94143 BOSTON MA 02115
UNISHIPPERS FAR                        ATTN: NICOLE VALLIERE 177 HUNTINGTON AVE 1700 BOSTON MA 02115
UNISHIPPERS NH                         ATTN: CHELSEA MORROW 177 HUNTINGTON AVE BOSTON MA 02115
UNISHIPPERS PTS COFFEE                 2323 VICTORY AVE STE 1600 DALLAS TX 75219
UNISHIPPERS SLC                        770 E MAIN ST 408 LEHI UT 84043
UNISHIPPERS SSA                        ATTN: NICOLE VALLIERE 177 HUNTINGTON AVE BOSTON MA 02115
UNISON ENTERPRISE LLC                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
UNISON TRUCKING INC                    1221 CAVALAIRE CT MERCED CA 95348
UNISTRUT HAWAII                        PO BOX 4319 HONOLULU HI 96812
UNITE PRIVATE NETWORKS                 7200 NW 86TH STREET SUITE M KANSAS CITY MO 64153
UNITE US INC                           OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
UNITECH POLYMERS ECHO                  ATTN: NICOLE TUCKER 600 W CHICAGO AVE CHICAGO IL 60654
UNITED AD TRANSPORT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UNITED AUTO SUPPLY                     1200 STATE FAIR BLVD SYRACUSE NY 13209
UNITED AUTO TRANSPORT                  OR ACS FACTORS, PO BOX 150306 OGDEN UT 84415
UNITED BLUE EXPRESS LLC                OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
UNITED BRANDS                          170 ASSOCIATED RD SOUTH SAN FRANCISCO CA 94080
UNITED BRO LLC                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
UNITED BROTHERS SERVICES LLC           21 RACHEL CT, 0 OWINGS MILLS MD 21117
UNITED BROTHERS SERVICES LLC           OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
UNITED CAPITAL ENTERPRISES INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNITED CAPITAL ENTERPRISES INC         OR APEX CAPITAL, PO BOX 961029 FT WORTH TX 76161-1029
UNITED CARGO COMPANY LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
UNITED CARGO HAULER INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNITED CARGO INC (MC058857)            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
UNITED CARRIER LLC (BOILING SPRINGS SC) 170 OLD JOHN DODD RD BOILING SPRINGS SC 29316
UNITED CARRIER LLC (HIGH BRIDGE NJ)    10 COLONIAL CT HIGH BRIDGE NJ 08829



Epiq Corporate Restructuring, LLC                                                                 Page 1970 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1979 of 2156

Claim Name                           Address Information
UNITED CARRIER, INC.                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
UNITED CONTAINER COMPANY             233 HAWTHORNE AVENUE SAINT JOSEPH MI 49085
UNITED DHILLON TRUCK LINES INC       32 CAROL FLETCHER ROW WINNIPEG MB R3W 0L9 CANADA
UNITED DIESEL LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
UNITED DM EXPRESS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
UNITED DRIVERS ALLIANCE              1792 VIA VERDE RD RIALTO CA 92377
UNITED ELECTRIC                      15516 DUPONT AVE CHINO CA 91710
UNITED ELECTRIC LLC                  2127 VAUGHN RD GREAT FALLS MT 59404
UNITED EMPIRE LOGISTICS INC          2737 FAXON DRIVE PLANO TX 75025
UNITED ENGINES LLC                   PO BOX 731594 DALLAS TX 75373
UNITED EXPRESS                       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
UNITED EXPRESS INC                   7345 W 100TH PI STE 107 BRIDGEVIEW IL 60455
UNITED EXPRESS INC                   OR TAB BANK, PO BOX 150803 OGDEN UT 84415-0803
UNITED EXPRESS LINES INC.            OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
UNITED EXPRESS TRANSPORTATION CORP   16205 SW 52 TERRACE MIAMI FL 33185
UNITED EXPRESS, INC.                 PO BOX 1660 TRACY CA 95378
UNITED FINANCIAL CASUALTY COMPANY    1805 DARIEN DR LEXINGTON KY 40504
UNITED FINANCIAL CASUALTY COMPANY    C/O KEIS GEORGE, LLP ATTN: MATTHEW C. WORKMAN 55 PUBLIC SQUARE CLEVELAND OH
                                     44113
UNITED FIRE EQUIPMENT CO             335 N 4TH AVE TUCSON AZ 85705
UNITED FOR EXPRESS LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNITED FORCE TRUCKING                OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
UNITED FREIGHT COMPANY LLC           OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
UNITED FREIGHT GROUP CO              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
UNITED FREIGHT INC                   OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
UNITED FREIGHT LINES INC             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
UNITED FREIGHT LINES INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
UNITED FREIGHT SOLUTIONS LLC         78 SHIVE PL BURLINGTON NJ 08016
UNITED FREIGHT SYSTEM INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UNITED GLOBAL CARRIER INC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNITED GLOBAL EXPRESS INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UNITED GLOBAL LOGISTICS LLC          OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
UNITED GOALS INC                     9106 S OKETO AVE BRIDGEVIEW IL 60455
UNITED GROUNDLINES INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNITED GROUP LOGISTICS INC           OR J D FACTORS LLC, PO BOX 687 WHEATON IL 60187
UNITED HORIZON LLC                   5529 OLD ORCHARD DR FORT WORTH TX 76123
UNITED HUB GROUP INC.                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNITED INDUSTRIAL EQUIPMENT CORP.    530 CONGER ST EUGENE OR 97402
UNITED INSTALLERS LLC                2112 BRITT RD, SUITE 123 DOUGLASVILLE GA 30154
UNITED ISD TAX OFFICE                3501 E SAUNDERS LAREDO TX 78041
UNITED KAHLON TRUCKING INC           OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
UNITED KINGS TRANSPORT LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNITED LANES TRANSPORT LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
UNITED LINES INC                     OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
UNITED LINES LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
UNITED LINKS TRANSPORT LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UNITED LOGISTIC SERVICES GROUP INC   161 W VICTORIA ST, SUITE 210 LONG BEACH CA 90805
UNITED LOGISTICS FREIGHT LLC         OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
UNITED LOGISTICS SERVICES LLC        OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101



Epiq Corporate Restructuring, LLC                                                             Page 1971 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1980 of 2156

Claim Name                             Address Information
UNITED METRO ENERGY CROP               500 KINGSLAND AVENUE BROOKLYN NY 11222
UNITED MOVING SOLUTIONS                5470 WYNN RD 100 LAS VEGAS NV 89118
UNITED PARCEL SERVICE                  55 GLENLAKE PKY NE ATLANTA GA 30328
UNITED PARCEL SERVICE                  PO BOX 809488 CHICAGO IL 60680
UNITED PARCEL SERVICE                  PO BOX 650116 DALLAS TX 75265
UNITED PARCEL SERVICE                  PO BOX 650116 DALLAS TX 75265-0116
UNITED POWER INC                       500 COOPERATIVE WAY BRIGHTON CO 80603
UNITED PROFESSIONALSERVICES, LTD       P.O. BOX 162504 FORT WORTH TX 76161
UNITED PUMPING SERVICE, INC.           14000 EAST VALLEY BLVD CITY OF INDUSTRY CA 91746
UNITED QUALITY SERVICES INC            OR BLACKJACK EXPRESS, INC., PO BOX 5699 CAROL STREAM IL 60197
UNITED REFRIGERATION                   ATTN: JOSIE JAVALERA 4060 E AIRPORT DR ONTARIO CA 91761
UNITED REFRIGERATION                   ATTN: JOSIE JAVALERA RECEIVING 4060 E AIRPORT DR ONTARIO CA 91761
UNITED RENTALS                         8 ALLIANCE CIR BEACON FALLS CT 06403
UNITED RENTALS                         P O BOX 100720 ATLANTA GA 30384
UNITED RENTALS                         PO BOX 951978 DALLAS TX 75395
UNITED RENTALS                         3535 N RANCHO DR LAS VEGAS NV 89130
UNITED RENTALS (NORTH AMERICA), INC.   PO BOX 100711 ATLANTA GA 30384
UNITED RENTALS (NORTH AMERICA), INC.   PO BOX 840514 DALLAS TX 75284
UNITED RENTALS (NORTH AMERICA), INC.   OF NORTH AMERICA, PO BOX 840514 DALLAS TX 75284-0514
UNITED RENTALS (NORTH AMERICA), INC.   FILE 51122 LOS ANGELES CA 90074
UNITED RENTALS OF CANADA INC           C/O T52638 PO BOX 4526 POSTAL STN A TORONOT ON M5W 5Z9 CANADA
UNITED RENTALS OF CANADA INC           C/O V7406 PO BOX 7604 STATION TERMINAL VANCOUVER BC V6B 4E2 CANADA
UNITED ROAD TOWING                     PO BOX 365079 NORTH LAS VEGAS NV 89036
UNITED ROADLINK LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
UNITED S INC                           OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148
UNITED S INC                           OR TRIUMPH FINANCIAL SERVICE LLC PO BOX 610028 DALLAS TX 75261-0028
UNITED SHIPPERS INC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
UNITED SHIPPING COMPANY INC            ATTN: KYLER KUSSY PO BOX 262 ROCKFORD MI 49341
UNITED SHIPPING COMPANY INC            ATTN: KYLER 2451 N ARTESIAN AVE UNIT 2 CHICAGO IL 60647
UNITED SHIPPING FREIGHT EXPRESS LLC    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                       45263-9565
UNITED SITE SERVICES                   PO BOX 660475 DALLAS TX 75266
UNITED SITE SERVICES                   PO BOX 53267 PHOENIX AZ 85072
UNITED STAR CARRIER LLC                OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
UNITED STAR TRANSCO LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UNITED STATES DEPARTMENT OF TREASURY   ATTN: ASST. GENERAL COUNSEL 1500 PENNSYLVANIA AVE., NW WASHINGTON DC 20220
UNITED STATES GYPSUMCOMPANY            425 C ST. NW STE. 100 AUBURN WA 98001
UNITED STATES POSTALSERVICE            1818 MILTON AVE STE 100 JANESVILLE WI 53545
UNITED STATES POSTALSERVICE            700 R ST. LINCOLN NE 68503
UNITED STATES TREASURY                 INTERNAL REVENUE SERVICE, PO BOX 804525 CINCINNATI OH 45280-4525
UNITED STATES TREASURY                 INTERNAL REVENUE SERVICE, PO BOX 932500 LOUISVILLE KY 40293-2500
UNITED STATES TREASURY                 4643 QUAIL LAKES DR STOCKTON CA 95207-5269
UNITED STRUCTURES INC                  PO BOX 527 SCHOFIELD WI 54476
UNITED TILE.                           3145 NW YEON AVE PORTLAND OR 97210
UNITED TILE0060085899)                 ATTN CARLIE BOLES, 3145 NW YEON AVE PORTLAND OR 97210
UNITED TRAN SERVICES INC.              OR THIRD COAST COMMERCIAL CAPITAL INC. P.O. BOX 14910 HUMBLE TX 77347
UNITED TRANS LLC                       PO BOX 3568 EASTON PA 18043
UNITED TRANS LOGISTICS INC             OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
UNITED TRANSPORT INC                   UNITED TRANSPORT INC, 3640 179TH ST HAMMOND IN 46323



Epiq Corporate Restructuring, LLC                                                                Page 1972 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1981 of 2156

Claim Name                              Address Information
UNITED TRANSPORT LLC                   511 NINA LANE BEAR DE 19701
UNITED TRANSPORT NEO INC               OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
UNITED TRANSPORT, LLC                  OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
UNITED TRANSPORTATION                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNITED TRANSPORTATION SERVICES LLC     P O BOX 513 ASHLAND CITY TN 37015
UNITED TRANSPORTS LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
UNITED TRUCKERS INC                    515A GUNDERSEN DR APT 103 CAROL STREAM IL 60188
UNITED TRUCKING EXPRESS LLC            OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
UNITED TRUCKING LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
UNITED TRUCKING LLC (DENVER CO)        OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
UNITED TRUCKING LLC (SPRING TX)        OR TBS FACTORIGN SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
UNITED TRUCKING LLC (SPRING TX)        OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
UNITED TRUCKING SOLUTIONS              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
UNITED TRUCKING WI INC,                7848 88TH AVE PLEASANT PRAIRIE WI 53158
UNITED UNLIMITED CONSTRUCTION, INC.    213 EAST CLAY STREET, SUITE A RICHMOND VA 23219
UNITED VAN LINES                       ONE UNITED DRIVE FENTON MO 63026
UNITED VR INC.                         10S510 ECHO LANE, SUITE 7 WILLOBROOK IL 60527
UNITED WAY EXPRESS LLC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UNITED WAY LLC                         OR PHOENIX CAPITAL GROUP LLC PO BOX 1415 DES MOINES IA 50305
UNITED WAY OF WINNIPEG                 580 MAIN ST WINNIPEG MB R3B 1C7 CANADA
UNITED WE STAND SERVICE INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
UNITED WOOD PRODUCTS                   P.O. BOX 3964, 7204 GLENWOOD AVENUE YOUNGSTOWN OH 44513
UNITED WOODSTOCK TAXI                  212 DUNDAS ST WOODSTOCK ON N4S 1A7 CANADA
UNITED XPRESS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNITED-WAY LOGISTICS LLC               OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
UNITEDTRANS EXPRESS LLC                4300 FREEMARK DR SMYRNA TN 37167
UNITEDWS INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNITRANS INC                           OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
UNITY FREIGHT LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
UNITY JETS                             9830 SW 77TH AVENUE 230 MIAMI FL 33156
UNITYPOINT CLINIC-OCCUPATIONAL MEDICINE 4230 WAR EAGLE DRIVE SIOUX CITY IA 51109
UNIVAR SOLUTIONS                       TRANS AUDIT, 11 MARSHALL ROAD STE 2D WAPPINGERS FALLS NY 12590
UNIVAR SOLUTIONS TRANSA                SUITE 2D, CLAIM UNVA 26939 WAPPINGERS FALLS NY 12590
UNIVERSAL AIR AND GAS PRODUCTS CORP    1140 KINGWOOD AVE NORFOLK VA 23502
UNIVERSAL CARRIERS CORP                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
UNIVERSAL CARRIERS LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
UNIVERSAL EMPIRE LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
UNIVERSAL ENTERPRISES SUPPLY           2171 BLOUNT ROAD POMPANO BEACH FL 33069
CORPORATION
UNIVERSAL EXPRESS L.L.C.               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
UNIVERSAL EXPRESS TRANS LLC            OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
UNIVERSAL EXPRESS TRUCKING INC         7350 SACHEM TRL VICTOR NY 14564
UNIVERSAL FILTRATION INC               601 N 1ST ST HAMILTON MT 59840
UNIVERSAL FLEET SERVICES INC           CORPORATE BILLING LLC PO BOX 830604 DEPT 100 BIRMINGHAM AL 35283
UNIVERSAL FLOORING                     ATTN: NORBERTO BIMBATTI WAREHOUSE 326 S BROADWAY SALEM NH 03079
UNIVERSAL FORKLIFT SERVICE             4246 UNION PACIFIC AVE LOS ANGELES CA 90023
UNIVERSAL FRAMING PR                   ATTN: GORDON GLASSICK 21139 CENTRE POINTE PKWY SANTA CLARITA CA 91350
UNIVERSAL GROUP TRANSPORT LLC          OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
UNIVERSAL INTERMODALSERVICES INC.      ATTN: KAELA CARNES 12755 E. NINE MILE ROAD WARREN MI 48089



Epiq Corporate Restructuring, LLC                                                                 Page 1973 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 1982 of 2156

Claim Name                            Address Information
UNIVERSAL LANDSCAPING                 5721 HIGHWAY 62 TRINITY NC 27370
UNIVERSAL STAR TRUCKING INC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
UNIVERSAL TECHNIQUE ENTERPRISES INC   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
UNIVERSAL TRAFFIC SERVICE             ATTN RENEE ANTHONY, PO BOX 888470 GRAND RAPIDS MI 49588
UNIVERSAL TRAFFIC SERVICE             PO BOX 888470 GRAND RAPIDS MI 49588
UNIVERSAL TRAILER SHOP                2845 LONG LAKE RD ROSEVILLE MN 55113
UNIVERSAL TRANSPORT II LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
UNIVERSAL TRANSPORT INC               OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
UNIVERSAL WAY INC                     5714 N INDIGO LN OZARK MO 65721
UNIVERSAL WAYS CORP                   OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                      76116
UNIVERSE LOGISTICS INC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
UNIVERSE TRUCKING                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
UNIVERSITY CORP.                      3789 GROVEPORT ROAD COLUMBUS OH 43207
UNIVERSITY HEALTH ASSOCIATES          PO BOX 780 MORGANTOWN WV 26507
UNIVERSITY MEDICAL PHARMACEUTI        9671 IRVINE CENTER DRIVE IRVINE CA 92618
UNIVERSITY OF ARKANSAS                521 UNIVERSITY OF ARKANSAS (ATTN: FACILITIES MANAGER) FAYETTEVILLE AR 72701
UNIVERSITY OF IOWA                    202 PLAZA CENTRE ONE THE UNIVERSITY OF IOWA IOWA CITY IA 52252
UNIVERSITY OF MEMPHIS                 415 HERZOG ST MEMPHIS TN 38152
UNIVERSITY PRODUCTS                   517 MAIN ST PO BOX 101 HOLYOKE MA 01040
UNK POLE                              111 FLORENCE MS 39073
UNK, HOMEOWNER                        ADDRESS ON FILE
UNKNOWN                               HARRISON ROAD COLUMBUS OH
UNKNOWN                               WESTWOOD ROAD NEW HAVEN CT 06515
UNKNOWN                               1401 PRECON DR. CHESAPEAKE VA 23320
UNKNOWN                               34 BALM GROVE AVE ASHEVILLE NC 28806
UNKNOWN                               6551 N. TOWNSHIP RD. 145 TIFFIN OH 44883
UNKNOWN                               4001 E. 7TH AVE. TAMPA FL 33605
UNKNOWN                               13770 247TH AVENUE NW ZIMMERMAN MN 55398
UNKNOWN                               2346 25TH ST ROCK ISLAND IL 61201
UNKNOWN                               7 HACIENDA DR, SAINT LOUIS MO 63124
UNKNOWN                               34 LAKE MIST DR SUGAR LAND TX 77479
UNKNOWN                               779 VALLEY COURT GRAND JUNCTION CO 81501
UNKNOWN                               29720 PALOMARES ROAD CASTRO VALLEY CA 94552
UNKNOWN                               20389 SW. MOUNTAIN HOME ROAD SHERWOOD OR 97140
UNKNOWN                               225 CAPITOL ST NE SUITE 151 SALEM OR 97310
UNKNOWN                               700 DEXTER AVE. N. SEATTLE WA 98109
UNKNOWN POLE                          5925 CALUMET AVENUE. HAMMOND IN 46320
UNKNOWN TREE                          01234 GREENOAKS LANE LOS ANGELES CA 90049
UNKNOWN UTILITY                       735 E. PINE ST. MAHONOY CITY PA 17948
UNKNOWN UTILITY                       316 BOWER ST. EAST JORDAN MI 49727
UNKNOWN UTILITY                       1380 S. LINCOLN AVE MONTEREY PARK CA 91755
UNKNOWN UTILITY CO.                   3RD AND NORTH STS. ONEIDA PA 18242
UNKNOWN UTILITY CO.                   132 DEMI-DUNE DRIVE CHIPPEWA LAKE OH 44215
UNKNOWN, UNKNOWN                      2549 INDUSTRY LANE NORRISTOWN PA 19403
UNKNOWN, UNKNOWN                      80 MAPLE ST SOUTHAMPTON MA 01073
UNKNOWN, UNKNOWN                      1 TOWNSEND AVE. NEW HAVEN CT 06515
UNKNOWN, UNKNOWN                      12501 OLD COLUMBIA PIKE FLOOR 1 SILVER SPRING MD 20904
UNKNOWN, UNKNOWN                      205 BRYANT DRIVE PENN HILLS PA 15235



Epiq Corporate Restructuring, LLC                                                               Page 1974 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 1983 of 2156

Claim Name                          Address Information
UNKNOWN, UNKNOWN                    870 SUMMER DRIVE WILLIAMSTOWN KY 41097
UNKNOWN, UNKNOWN                    100 MONTROSE WAY COLUMBUS OH 43214
UNKNOWN, UNKNOWN                    5484 CORNELL AVE. NORTH RIDGEVILLE OH 44039
UNKNOWN, UNKNOWN                    1405 JEAN STREET CLEVELAND OH 44110
UNKNOWN, UNKNOWN                    7945 SOUTHERN BLVD BOARDMAN OH 44512
UNKNOWN, UNKNOWN                    1350 POCAHONTAS ST MT PLEASANT SC 29464
UNKNOWN, UNKNOWN                    2909 BRICK CHURCH PIKE NASHVILLE TN 37207
UNKNOWN, UNKNOWN                    709 M ST. LOUISVILLE KY 40208
UNKNOWN, UNKNOWN                    504 RIVERSIDE DR, VINTON IA 52349
UNKNOWN, UNKNOWN                    320 S WALNUT ST APPLETON WI 54911
UNKNOWN, UNKNOWN                    2301 OAKMONT WAY DARIEN IL 60561
UNKNOWN, UNKNOWN                    5501 CAMPUS DR. FORT WORTH TX 76140
UNKNOWN, UNKNOWN                    2609 W. ARGYLE PL. DENVER CO 80211
UNKNOWN, UNKNOWN                    3511 S 300 E SOUTH SALT LAKE CITY UT 84115
UNKNOWN, UNKNOWN                    4819 PALACIO CT. LAS VEGAS NV 89110
UNKNOWN, UNKNOWN                    5021 FYVIE CT. RENO NV 89519
UNKNOWN, UNKNOWN                    3200 80TH AVE. SE MERCER ISLAND WA 98040
UNKS RELIABLE TRUCKING CO LLC       OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
UNLIMITED CARGO TRANSPORT LLC       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
UNLIMITED CARRIER INC               465 WEST CROSSROADS PKWY BOLINGBROOK IL 60440
UNLIMITED CARRIERS, INC.            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
UNLIMITED DELIVERY SERVICES INC     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNLIMITED FREIGHT INC               OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
UNLIMITED TEAM EXPRESS INC          1940 FOUNTAIN VIEW DR 1186 HOUSTON TX 77057
UNLIMITED TEAM EXPRESS INC          OR FACTORING EXPRESS LLC, PO BOX 150205 OGDEN UT 84415
UNLIMITED TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UNLIMITED TRUCKING INC.             5208 OATES ROAD HOUSTON TX 77013
UNO LOGISTICS LLC                   OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
UNRIVALED HAULING LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UNRUH, BRUCE L                      ADDRESS ON FILE
UNRUH, DREW                         ADDRESS ON FILE
UNS ELECTRIC INC                    UNS ENERGY CORP 88 E BROADWAY BLVD TUCSON AZ 85701
UNS GAS INC                         UNS ENERGY CORP 88 E BROADWAY BLVD TUCSON AZ 85701
UNSER, PAUL G                       ADDRESS ON FILE
UNSTOPPABLE INC                     OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
UNTAMED TRANSPORTS, LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
UNTERSEE, JULIUS L                  ADDRESS ON FILE
UNTZ TRUCK & TRAILER REPAIR INC     3460 BRENNAN DRIVE RR1 RT 80 & PLANK RD PERU IL 61354
UNUT SNACKS TRANSPORTATION INC      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
UNV TRADE INC                       4785 S 2124 E SALT LAKE CTY UT 84117
UNYSON                              1801 PARK 270 DR, STE 500 ST LOUIS MO 63146
UNYSON                              ATTN: ANASTASIA MILSTEAD 1801 PARK 270 DR 500 ST LOUIS MO 63146
UNYSON                              ATTN: ANASTASIA MILSTEAD 1801 PARK 270 DR, STE 500 ST LOUIS MO 63146
UNYSON                              ATTN: DENISE BROWN 1801 PARK 270 DR 500 ST LOUIS MO 63146
UNYSON                              ATTN: DENISE BROWN 1801 PARK 270 DR, STE 500 ST LOUIS MO 63146
UNYSON                              ATTN: JAMES SCHWARBER 1801 PARK 270 DR 500 ST LOUIS MO 63146
UNYSON                              ATTN: JAMES SCHWARBER 1801 PARK 270 DR, STE 500 ST LOUIS MO 63146
UP 27 TRANSPORT INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UP STATE TRUCKING INC.              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                            Page 1975 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1984 of 2156

Claim Name                           Address Information
UP TRUCKING SERVICES LLC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
UPCHURCH, BEN                        ADDRESS ON FILE
UPCHURCH, CHRISTOPHER                ADDRESS ON FILE
UPDIKE DISTRIBUTION LOGISTICS LLC    435 S 59TH AVE SUITE 100 PHOENIX AZ 85043
UPDIKE, ERIC                         ADDRESS ON FILE
UPENDO LLC                           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UPESLEJA, MICHAEL                    ADDRESS ON FILE
UPGRADE SERVICES INC                 OR TAB BANK, PO BOX 150830 OGDEN UT 84415
UPLINE TRUCK CORP                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
UPMC COMMUNITY MEDICINE              PO BOX 382059 PITTSBURGH PA 15250
UPMC EXPRESS CARE                    400 YORK ST HANOVER PA 17331
UPMOST LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
UPON TRANSPORT LLC                   OR S3 CAPITAL, LLC, PO BOX 4065 WARREN NJ 07059
UPPAL EXPRESS INC                    PO BOX 1182 WEST SACRAMENTO CA 95691
UPPER LEFT GATES LLC                 5305 NE 121 AVE UNIT 306 VANCOUVER WA 98682
UPS                                  ATTN: MATT KLATMAN 734 FRANKLIN AVE GARDEN CITY NY 11530
UPS                                  PO BOX 7247-0244 PHILADELPHIA PA 19170
UPS                                  55 GLENDALE PKWY. ATLANTA GA 30328
UPS                                  55 GLENLAKE PKWY NE ATLANTA GA 30328
UPS                                  P.O. BOX 809488 CHICAGO IL 60680
UPS                                  P.O. BOX 650116 DALLAS TX 75265
UPS                                  10760 TAMARIND AVE. BLOOMINGTON CA 92316
UPS BATTERY CENTER O/S ROYAL R       ATTN: JANAU WASHINGTON 600 W CHICAGO AVE CHICAGO IL 60654
UPS CANADA                           PO BOX 4900 STATION A TORONTO ON M5W 0A7 CANADA
UPS CANADA                           2300 BOSWELL CT CHULA VISTA CA 91914
UPS CAPITAL FTW CLAIMS               PO BOX 101688 FT WORTH TX 76185-0458
UPS CAPITAL FTW CLAIMS               PO BOX 101688 FT WORTH TX 76185-1688
UPS CAPITAL INSURANCE AGENCY         ATTN:SUBROGATION DEPARTMENT PO BOX 100458 FORT WORTH TX 76185
UPS CAPITAL INSURANCE AGENCY INC     PO BOX 101688 FT WORTH TX 76185
UPS CAPITAL INSURANCE AGENCY INC     PO BOX 101688 FT WORTH TX 76185-1688
UPS CAPITAL INSURANCE AGENCY, INC.   ATTN: BIANCA LOPEZ P.O. BOX 101688 FORT WORTH TX 76185-1688
UPS EXPRESS TRANSPORT LLC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UPS LINE INC                         OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
UPS STORE                            480 TOWN CENTER ST. MOORESVILLE IN 46158
UPS SUPPLY CHAIN SOLUTION            CUSTOMS BROKERAGE SERVICES, PO BOX 34486 LOUISVILLE KY 40232
UPS SUPPLY CHAIN SOLUTIONS           2220 OUTER LOOP LOUISVILLE KY 40219
UPS SUPPLY CHAIN SOLUTIONS, INC.     28013 NETWORK PLACE CHICAGO IL 60673
UPSCIA                               ATTN: CARRIE MCLAUGHLIN CARGO CLAIMS SUBROGATION DEPT PO BOX 101688 FORT WORTH
                                     TX 76185
UPSHALL, WANDA                       ADDRESS ON FILE
UPSHAW, JEREMY                       ADDRESS ON FILE
UPSHAW, JOHN                         ADDRESS ON FILE
UPSHAW, TIFFANY                      ADDRESS ON FILE
UPSHIFT LOGISTICS INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UPSTATE EXPRESS LLC                  OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803
UPSWING LOGISTICS LLC                OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
UPTERGROVE, JOSHUA                   ADDRESS ON FILE
UPTON, JAMES                         ADDRESS ON FILE
UPTON, JAMES                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1976 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 1985 of 2156

Claim Name                              Address Information
UPTON, JOHN                            ADDRESS ON FILE
UPTOP TRUCKING LLC                     OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480-1575
UPTOWN ALL-STARS INC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
UR TRANSPORT LLC                       OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
UR TRUCKING                            OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
URANGA, MARTIN                         ADDRESS ON FILE
URBAN EICON LLC                        5686 FULTON INDUSTRIAL BLVD 44404 ATLANTA GA 30336
URBAN HAULING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
URBAN LIFESTYLE MATTRESS COMPA         527 WATERFRONT DR WINNIPEG MB R3B 0G8 CANADA
URBAN NORTHERN INC                     ATTN: ALAN HYATT 3407 83RD AVE NE MARYSVILLE WA 98270
URBAN SYSTEMS FREIGHT AND LOGISTICS LLC OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
URBAN TRANSPORT INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
URBAN TRANSPORT LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
URBAN, BRIAN                           ADDRESS ON FILE
URBAN, HOWARD                          ADDRESS ON FILE
URBAN, WILLIAM                         ADDRESS ON FILE
URBANIK, RYAN                          ADDRESS ON FILE
URBANO, BRIAN                          ADDRESS ON FILE
URBANO, DEBBI                          ADDRESS ON FILE
URBANSKI, RAYMOND                      ADDRESS ON FILE
URBINA LOGISTICS LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
URBINA TRUCKING INC                    OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                       IL 60674-0411
URBINA, JEANETTE                       ADDRESS ON FILE
URBINA, JOSHUA                         ADDRESS ON FILE
URBINO, ARCADIO JR                     ADDRESS ON FILE
URBINO, SAMUEL J                       ADDRESS ON FILE
URCINOLE, PAUL                         ADDRESS ON FILE
URENA, MANUEL                          ADDRESS ON FILE
URETHANE UNLIMITED LLC                 PO BOX 305 GRATIS OH 45330
UREY, MELVIN                           ADDRESS ON FILE
URGE LOGISTICS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
URGENCES SANTE                         6700 RUE JARRY EST MONTREAL QC H1P 0A4 CANADA
URGENT CARE SPECIALISTS, LLC           2400 CORPORATE EXCHANGE DR, SUITE 102 COLUMBUS OH 43231
URGENT FREIGHT LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
URGENT REPAIRS HEAVY DUTY TRUCKS /     TRAILERS 2152 GREEN RD CLEVELAND OH 44121
URGILES, JORGE                         ADDRESS ON FILE
URIBE, GEORGE                          ADDRESS ON FILE
URIBES, MICHAEL                        ADDRESS ON FILE
URIE, MARK                             ADDRESS ON FILE
URIZAR, OTTONIEL                       ADDRESS ON FILE
URMANIC, ROBERT                        ADDRESS ON FILE
URO EXPEDITE LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
URQUHART, BILL                         ADDRESS ON FILE
URRUTIA, LEONARDO                      ADDRESS ON FILE
URSA LOGISTICS                         2075 W PINNACLE PEAK RD, STE 130 PHOENIX AZ 85027
URSERY, WILLIE                         ADDRESS ON FILE
URUS FREIGHT LLC                       3774 GROVE ST STE 1-4 LEMON GROVE CA 91945
URUSA TRUCKING LLC                     OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                                Page 1977 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1986 of 2156

Claim Name                              Address Information
URWIMANZI, HUBERT                       ADDRESS ON FILE
URY COMPANY                             OR ADFIN, INC, PO BOX 474 LA GRANGE IL 60525
URZUA, BRIANA                           ADDRESS ON FILE
US 1 LOGISTICS, LLC                     PO BOX 809107 CHICAGO IL 60680
US 68 NATION FREIGHT LTD LIABILITY CO   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
US ADVANCE TRANSPORTATION INC           11171 NW 26TH DRIVE CORAL SPRINGS FL 33065
US AUTO CARRIER LLC                     OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                        76116
US BANK NA                              PO BOX 1800 ST PAUL MN 55101-0800
US BANK NATIONAL ASSOCIATION            ATTN: BETH LONG, 60 LIVINGSTON AVE ST PAUL MN 55107
US BROTHERS LLC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
US CARGO                                OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
US CARGO CARRIERS CORP                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
US CARGO EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
US CARGO EXPRESS LLC (MEMPHIS TN)       OR COMMONWEALTH CAPITAL LLC PO BOX 1575 168 MINNEAPOLIS MN 55480
US CARGO FREIGHT LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
US CARGO INC                            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
US CARGO TRANPORTATION                  OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
US CARGO TRANS INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
US CARGO TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
US CARGO TRUCKING LLC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
US CARRIER LLC                          N105W14653 WILSON DRIVE GERMANTOWN WI 53022
US CELLULAR                             DEPT 0205 PALATINE IL 60055
US CELLULAR                             C/O TDS 30 N LASALLE ST, STE 4000 CHICAGO IL 60602
US CLOUD LC                             12855 FLUSHING MEADOWS DR SAINT LOUIS MO 63131
US COMMERCIAL FREIGHT INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
US CONVOY LLC                           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
US COTTON, LLC                          ATTN: CHANNON WELCH ACCOUNTS RECEIVABLE 531 COTTON BLOSSOM CIR GASTONIA NC
                                        28054
US CUSTOM BALL                          ATTN: RONDA AUGUSTINE 700 BELLEVILLE AVE NEW BEDFORD MA 02745
US CUSTOM BALL                          ATTN: SARAH PERKINS 700 BELLEVILLE AVE NEW BEDFORD MA 02745
US CUSTOMS & BORDER PROTECTION          PORT OF PHILADELPHIA, 200 CHESTNUT ST PHILADELPHIA PA 19106
US CUSTOMS & BORDER PROTECTION          726 EXCHANGE STREET, SUITE 400 BUFFALO NY 14210
US CUSTOMS & BORDER PROTECTION          101 EAST MAIN STREET NORFOLK VA 23510
US CUSTOMS & BORDER PROTECTION          FINES PENALTIES AND FORFEITURES OFFICE 477 MICHIGAN AVE RM 200 DETROIT MI
                                        48226
US CUSTOMS & BORDER PROTECTION          FINES PENALTIES & FORFEITURES 477 MICHIGAN AVE ROOM 200 DETROIT MI 48226
US CUSTOMS & BORDER PROTECTION          FRF OFFICE, 5519 W HILLSBOROUGH AVE TAMPA FL 33634
US CUSTOMS & BORDER PROTECTION          6650 TELECOM DR SUITE 100 ATTN: DEBIT VOUCHER TEAM INDIANAPOLIS IN 46278
US CUSTOMS & BORDER PROTECTION          ATTN FP & F 5600 AMERICAN BLVD W STE 760 BLOOMINGTON MN 55437
US CUSTOMS & BORDER PROTECTION          10980 I-29 SUITE 1 FINES PENALTIES & FORDEITURES OFFICER PEMBINA ND 58271
US CUSTOMS & BORDER PROTECTION          FINES PENALTIES AND FORFIETURE OFFICE PO BOX 452409 LAREDO TX 78045
US CUSTOMS & BORDER PROTECTION          FPF OFFICE, PO BOX 452409 LAREDO TX 78045
US CUSTOMS & BORDER PROTECTION          200 N MARIPOSA RD BUILDING B-200 NOGALES AZ 85621
US CUSTOMS & BORDER PROTECTION          9 NORTH GRAND AVENUE NOGALES AZ 85621
US DELIVERY LLC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
US DELIVERY LLC (DALLAS, TX)            OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
US DEPARTMENT OF LABOR OSHA             BANGOR DISTRICT OFFICE 202 HARLOW ST ROOM 20900 BANGOR ME 04401
US DEPARTMENT OF TRANSPORTATION         FRA C/O MMAC AMK-324 HQ RM 181 PO BOX 25082 OKLAHOMA CITY OK 73125
US DOOR & MORE                          ATTN: SHAYAN BEHJATI 4904 SAVARESE CIR TAMPA FL 33634


Epiq Corporate Restructuring, LLC                                                                  Page 1978 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 1987 of 2156

Claim Name                             Address Information
US DOORS                               3880 GARNER RD. RIVERSIDE CA 92501
US EXP TRUCKING INCORPORATED           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
US EXP TRUCKING INCORPORATED           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
US EXPRESS CARRIERS LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
US EXPRESS INC                         4832 N OVERHILL AVE NORRIDGE IL 60706
US EXPRESS LLC (ANDERSON SC)           OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
US EXPRESS LOGISTICS LLC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
US EXPRESS TRANSPORTATION INC          (SUWANEE, GA) 5094 MEADOWBROOK CIR SUWANEE GA 30024
US EXPRESS TRANSPORTATION INC          (SUWANEE, GA) OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX
                                       75320-6773
US EXPRESS WAY LLC                     905 ROCK HILL CHURCH RD INMAN SC 29349
US EXPRESS WAY LLC                     OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
US FAST TRANSPORT INC                  OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
US FAST TRUCKING INC                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
US FREIGHT CARRIER LLC                 167 HERITAGE LANE LYNDEN WA 98264
US FREIGHT GROUP COMPANY               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
US FREIGHT SOLUTIONS LLC (HIGH POINT   OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
NC)
US FREIGHT TRANSPORT, LLC              OR CD CONSORTIUM CORP 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
US FREIGHTLINE INC                     PO BOX 1846 WEST CHESTER OH 45071
US FREIGHTWAYS, INC                    ATTN: GENERAL COUNSEL 700 NICHOLAS BLVD SUITE 200 ELK GROVE VILLAGE IL 60007
US GROUND TRANSPORT LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
US HIGHWAY EXPRESS                     OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197-4539
US INTER-TRANSPORT, LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
US INTERSTATE LLC                      OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
US LEGACY LOGISTICS                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
US LOGISTICS LLC                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
US MARINE TRANSPORTATION LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
US MARKERBOARD                         ATTN: JOEL YOUNG 500 CHESTNUT ST UNIT 204 ABINGTON MA 02351
US MFG - VENSEL                        ATTN: RON ARGO 250 INDUSTRIAL DRIVE HAMPSHIRE IL 60140
US NATIONWIDE TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
US ORBIT TRANSPORTATION LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
US PEST PROTECTION CO INC              MSC 410922 NASHVILLE TN 37241
US PEST PROTECTION CO INC              MSC 410922   PO BOX 415000 NASHVILLE TN 37241
US PLASTIC PALLET                      110 SOUTH ST HOPKINTON MA 01748
US PLUS INC                            OR COREFUND CAPITAL LLC, PO BOX 223766 DALLAS TX 75222
US PLUS INC (LAKE ZURICH IL)           PO BOX 177 LAKE ZURICH IL 60047
US POLYMERS INCORPORATED               1057 S VAIL AVE MONTEBELLO CA 90640
US POLYMERS INCORPORATED               ATTN: PAUL ORTIZ 1057 S VAIL AVE MONTEBELLO CA 90640
US POLYMERS INCORPORATED               ATTN: SHEILA 1057 S VAIL AVE MONTEBELLO CA 90640
US PORTION LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
US PRIDE INC                           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
US PRIME CARRIER LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
US PRIME FREIGHT SYSTEMS, INC          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
US ROAD EXPRESS INC                    3655 S MAIZE RD WICHITA KS 67215
US ROADSTAR, LLC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
US ROADWAY INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
US RUBBER RECYCLING                    1231 LINCOLN ST COLTON CA 92324
US SAFETYGEAR, INC.                    PO BOX 309 LEAVITTSBURG OH 44430



Epiq Corporate Restructuring, LLC                                                                 Page 1979 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1988 of 2156

Claim Name                           Address Information
US SAFETYGEAR, INC.                  5001 ENTERPRISE DR NW WARREN OH 44481
US SKY TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
US SMARTWAY TRUCKLINE INC            3193 BUFFALO AVENUE NIAGARA FALLS NY 14303
US SOM LLC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
US SPECIAL DELIVERY                  PO BOX 78914 MILWAUKEE WI 53278
US STANDARD PRODUCTS                 P.O.BOX 5509 ENGLEWOOD NJ 07631
US STAR EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
US TARP INC.                         ATTN: JONALYN 1425 KALAMAZOO ST SW S HAVEN MI 49090
US TEAM CORP                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
US TIMES CARRIERS CORP               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
US TOP EXPRESS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
US TRANS ONE INC                     OR ECAPITAL FREIGHT FACTORING PO BOX 206773 DALLAS TX 75320-6773
US TRANSFER LLC                      OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
US TRANSFORCE LLC                    215 DAY LN WILLISTON VT 05495
US TRANSLINE INC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
US TRANSPORTATION INC                OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
US TRANSPORTATION LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
US TRANSPORTATION LLC (AURORA CO)    OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
US TRANZ LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
US TRUCK & TRAILER SERVICE           PO BOX 35 LAKEVILLE IN 46536
US TRUCK & TRAILER SERVICE           1311 S. OLIVE ST SOUTH BEND IN 46619
US TRUCK LINE INC                    OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
US TRUCK LINE LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
US TRUCK LINES LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
US TRUCKING INC                      OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
US TRUCKING LLC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
US TRUCKING SERVICES INC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
US TRUCKLINE LLC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
US TRUCKLINES LLC                    OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
US XPRESS CARGO INC                  OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
US&C AZ                              225 N PASADENA ST GILBERT AZ 85233
US-PENN LOGISTICS                    2160 ELM AVE WARRINGTON PA 18976
US14 TRUCKING LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
US48 LOGISTICS INC                   OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
USA CHOICE INC                       OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
USA CONNECT TRANSPORT LLC            OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
USA CONSTRUCTION & PROJECT MGMT      DBA PAVEMENT EXCHANGE GROUP 3111 MONROE RD STE 200 CHARLOTTE NC 28205
EXCHANGE
USA DELTA TRANSPORT LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
USA EAGLE CARPORTS INC               PO BOX 162021 FORT WORTH TX 76117
USA EXPRESS FREIGHT INC.             OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
USA EXPRESS INC                      OR BLACKJACK EXPRESS, INC., PO BOX 5699 CAROL STREAM IL 60197
USA EXPRESS LLC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
USA EXPRESS LLC (MC906195)           OR FIRSTLINE FUNDING, PO BOX 328 MADISON SD 57042
USA EXPRESS LLC (VANCOUVER WA)       PO BOX 821345 VANCOUVER WA 98642
USA FIRE PROTECTION                  28427 N BALLARD DR STE H LAKE FOREST IL 60045
USA FIRE PROTECTION                  PO BOX 74008409 CHICAGO IL 60674
USA FIRST TRANSPORT LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565


Epiq Corporate Restructuring, LLC                                                               Page 1980 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 1989 of 2156

Claim Name                          Address Information
USA FLORIDA FREIGHT LLC             OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
USA FREEDOM TRUCK LINE              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
USA FREIGHT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
USA FREIGHT SERVICE INC             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
USA FREIGHT SYSTEM INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
USA INTERTRANS INC                  1256 GOLF VIEW DR WOODRIDGE IL 60517
USA JET TRANSPORT INC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
USA LOGISTICS INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
USA MEASUREMENTS                    ATTN: KIRK HERRMANN 3915 W HACIENDA AVE STE A117 LAS VEGAS NV 89118
USA MOST DEPENDABLE LOGISTICS LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
USA PROFESSIONAL TRANSPORT INC      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
USA SCALES, INC.                    5401 BYRON HOT SPRINGS RD BYRON CA 94514
USA SILK WAY, INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
USA SILK WAY, INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
USA TRACK INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
USA TRANS LLC                       OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
USA TRANSCO LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
USA TRANSPORT GROUP INC             OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
USA TRANSPORT LLC (MC1165679)       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
USA TRANSPORT LLC (PARKER CO)       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
USA TRUCK LINES INC                 815 OAKHURST LN RIVERWOODS IL 60015
USA TRUCK LLC                       OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
USA TRUCK LLC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
USA TRUCKING LLC (MC1190112)        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
USA TRUCKING SERVICE INC            OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
USA UNLIMITED FREIGHT LLC           OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                    UT 84130
USA UNLIMITED TRUCKING CORP         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
USAN ROAD LLC                       OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
USAN ROAD LLC                       OR ENGLAND CARRIER SERVICES LLC PO BOX 953086 ST LOUIS MO 63195-3086
USANABRIA TRUCKING LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
USAZ TRANSPORT                      4075 SPINNAKER DRIVE DULUTH GA 30096
USB TRANSPORTATION INC              OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
USBT                                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
USCLP NV SPEEDWAY, LLC (82)         6565 NASCAR ST. N. LAS VEGAS NV 89115
USCO FREIGHT INC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
USDA                                10300 BALTIMORE AVE. BLDG. 3 BELTSVILLE MD 20705
USEAGLE INC                         OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
USF HOLLAND                         700 S WAVERLY RD HOLLAND MI 49423
USF HOLLAND                         27052 NETWORK PLACE CHICAGO IL 60673
USF HOLLAND                         USF HOLLAND, 27052 NETWORK PL CHICAGO IL 60673
USF HOLLAND MOTOR EXPRESS           27052 NETWORK PL CHICAGO IL 60673
USH TRUCKING INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
USH TRUCKING INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
USHER, RONNIE                       ADDRESS ON FILE
USHIP                               205 E RIVERSIDE DR AUSTIN TX 78704
USHIP INC                           PO BOX 969 AUSTIN TX 78767
USHIROGATATALO, MARIE               ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1981 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 1990 of 2156

Claim Name                              Address Information
USHOLL (MI) LLC                        C/O W. P. CAREY ONE MANHATTAN WEST 395 9TH AVENUE 58TH FLOOR NEW YORK NY 10001
USHOLL (MI), LLC                       ATTN: CERRIDWYN MCCAFFREY ONE MANHATTAN WEST 395 9TH AVENUE 58TH FL NEW YORK
                                       NY 10001
USHR LLC                               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
USKO EXPRESS INC.                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
USKO EXPRESS INC.                      OR TAB BANK, PO BOX 150984 OGDEN UT 84415-0984
USMAX LOGISTICS INC                    OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
USMEX TRUCKING INC                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
USONTRANS INC                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
USORA EXPRESS LLC                      4590 MIDDLEBURY DR SE KENTWOOD MI 49512
USORA EXPRESS LLC                      OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
USORO, EFFIONG                         ADDRESS ON FILE
USPAT INC                              OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
USPS                                   190 E 8TH ST HOLLAND MI 49423
USPS DISBURSING OFFICER                ATTN: BEKI CARR - DIST TORT CL 100 S 1ST STREET RM 402 MINNEAPOLIS MN
                                       55401-9331
USR TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
USS TRANSPORT LLC (MC083406)           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
USS TRANSPORT LLC (MC1101456)          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
USSO TRANSPORTATION LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
UST FUEL SOLUTIONS                     2110 GREENBRIAR DRIVE SOUTHLAKE TX 76092
UST MFG                                855 MCCORMICK WAY LAYTON UT 84041
USUGA, HELDER                          ADDRESS ON FILE
USX GLOBAL CO                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UT DEPT OF TRANSPORTATION              PO BOX 141510 ATTN COMPTROLLERS OFFICE SALT LAKE CITY UT 84114
UT DOT                                 PO BOX 141610 SALT LAKE CITY UT 84114
UTAH COMMUNICATIONS INC                1202 S 300 WEST SALT LAKE CITY UT 84101
UTAH DEPARTMENT OF AGRICULTURE AND FOOD 350 NORTH REDWOOD RD, PO BOX 146500 SALT LAKE CITY UT 84114
UTAH DEPARTMENT OF ENVIRONMENTAL       ENVIRONMENTAL RESPONSE & REMEDIATION 195 NORTH 1950 WEST-1ST FLOOR PO BOX
QUALITY                                144840 SALT LAKE CITY UT 84114
UTAH DEPT OF TRANSPORTATION            P.O. BOX 141510 SALT LAKE CITY UT 84114
UTAH DEPT. OF TRANSPORTATION           ATTN: COMPTROLLERS OFFICE PO BOX 141510 SALT LAKE CITY UT 84114-1510
UTAH DEPT. OF TRANSPORTATION           COMPTROLLERS OFFICE PO BOX 141510 SALT LAKE CITY UT 84114-1510
UTAH DEPT. OF TRANSPORTATION           210 W 800 S RICHFIELD UT 84701
UTAH EXPRESS TRANSPORT LLC             OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
UTAH STATE TAX COMMISSION              210 N 1950 W SALT LAKE CITY UT 84134
UTAH STATE TAX COMMISSIONER            PO BOX 30412 SALT LAKE CITY UT 84130
UTAH STATE TREASURER                   PO BOX 142321 SALT LAKE CITY UT 84114
UTAH TRUCKING ASSOCIATION              4181 W 2100 SOUTH WEST VALLEY CITY UT 84120
UTAH YAMAS CONTROL INC                 13526 S 110 W STE A DRAPER UT 84020
UTAPA LOGISTICS INC                    OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
UTATU EXPRESS LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
UTD TRUCKING GROUP L.L.C.              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UTERMARK, FRED                         ADDRESS ON FILE
UTEX LOGISTICS LLC                     301 S PERIMETER PARK DR ST 100 NASHVILLE TN 37211
UTICA GENERAL PETERBILT                ADDRESS ON FILE
UTICA LEASECO LLC                      AS COLLATERAL AGENT 44225 UTICA RD UTICA MI 48317
UTILIMASTER                            9501 NE PARVIN RD SUITE 400 KANSAS CITY MO 64161
UTILITY TRAILER INTERSTATE             DEPT 42380, PO BOX 650823 DALLAS TX 75265
UTILITY TRAILER SALES                  P O BOX 24399 HOUSTON TX 77229


Epiq Corporate Restructuring, LLC                                                                 Page 1982 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 1991 of 2156

Claim Name                              Address Information
UTILITY TRAILER SALES CO OF ARIZONA     8710 W. ROOSEVELT ST. TOLLESON AZ 85353
UTILITY TRAILER SALES COMPANY OF        D/B/A: UTILITY TRAILER SALES OF ARIZONA 8710 W. ROOSEVELT ST. TOLLESON AZ
ARIZONA                                 85353
UTILITY TRAILER SALES COMPANY OF GA,    OF GEORGIA LLC PO BOX 188 STOCKBRIDGE GA 30281
LLC
UTILITY TRAILER SALES COMPANY OF GA,    P.O. BOX 188 STOCKBRIDGE GA 30281
LLC
UTILITY TRAILER SALES OF                KANSAS CITY, INC, 8925 WOODEND RD. KANSAS CITY KS 66111
UTILITY TRAILER SALES OF CENTRAL OR,    825 NE HEMLOCK AVE PO BOX 517 REDMOND OR 97756
LLC
UTILITY TRAILER SALES OF COLORADO LLC   D/B/A: UTILITY TRAILER INTERSTATE DEPT 42380, PO BOX 650823 DALLAS TX 75265
UTILITY TRAILER SALES OF COLORADO LLC   D/B/A: UTILITY TRAILER INTERSTATE 9200 BRIGHTON RD HENDERSON CO 80640
UTILITY TRAILER SALES OF COLORADO LLC   D/B/A: UTILITY TRAILER INTERSTATE UTILITY TRAILER INTERSTATE 8201 DAYTONA RD
                                        NW ALBUQUERQUE NM 87121
UTILITY TRAILER SALES OF SPOKANE, CO.   10401 W WESTBOW BLVD. SPOKANE WA 99224
UTILITY TRAILER SALES OF UTAH, INC.     C\O 1580 UTILITY TRAILER 4970 WEST 2100 SOUTH SALT LAKE CITY UT 84120
UTILITY TRAILER SALES OF UTAH, INC.     4970 W 2100 SOUTH SALT LAKE CITY UT 84125
UTILITY TRAILER SALES OF UTAH, INC.     PO BOX 25305 SALT LAKE CITY UT 84125
UTILITY TRAILER SALES OF WASHINGTON, CO P.O. BOX 1618 AUBURN WA 98071
UTILITY TRAILER SALES SOUTHEAST TX,     PO BOX 24399 HOUSTON TX 77229
INC.
UTILITY TRAILER SALES WA CO.            PO BOX 1618 AUBURN WA 98071
UTILITY TRI-STATE, INC.                 PO BOX 206992 DALLAS TX 75320
UTL (ST LOUIS MO)                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
UTLEY, DERRICK                          ADDRESS ON FILE
UTLEY, KEVIN                            ADDRESS ON FILE
UTLEY, REGINA                           ADDRESS ON FILE
UTMOST INC                              4230 E AIRPORT DR SUITE 108 ONTARIO CA 91761
UTMOST RENOVATIONS                      8815 SURREY LN PLAIN CITY OH 43064
UTOPIA LOGISTICS                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
UTRANS CARGO                            DBA UNITY TRANSPORTATION LLC PO BOX 56521 SAINT LOUIS MO 63156
UTS                                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UTS TRANSPORTATION INC                  801 NE MAIN STREET GRIMES IA 50111
UTSLER, JOHN                            ADDRESS ON FILE
UTSLER, WAYNE                           ADDRESS ON FILE
UTTER, GREGORY                          ADDRESS ON FILE
UTTERBACK SUPPLY INC                    1714 W MORRIS ST INDIANAPOLIS IN 46241
UTTERBACK, WILLIAM                      ADDRESS ON FILE
UUL TRANSPORTATION LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
UUR TRUCKING INC                        OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
UV FREIGHT INC                          OR BARON FINANCE CALIFORNIA INC. DBA REVOLUTION CAPITAL P.O. BOX 741791 LOS
                                        ANGELES CA 90074
UV TRUCKLINES INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
UWC TRANSPORTATION, LLC                 901 E. 45TH ST. NORTH WICHITA KS 67219
UY, CATHERINE                           ADDRESS ON FILE
UZ GLOBAL INC                           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UZ MOTORS TRANSPORTATION LLC            9624 OLD STABLE CT MASON OH 45040
UZ TRANS INC                            4229 NAPA VIEW LN ST CHARLES MO 63304
UZAR, MICHAEL                           ADDRESS ON FILE
UZB FREIGHT INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                                  Page 1983 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1992 of 2156

Claim Name                           Address Information
UZB LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
UZB TRANS INC                        OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
UZB TRANS INC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
UZBOYS TRANS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
UZOUKWU, ALVIN                       ADDRESS ON FILE
UZTRANS INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
UZUMCU, MUSTAFA                      ADDRESS ON FILE
V & E TRANSPORTATION, LLC            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
V & F TRANSPORT GROUP LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
V & J COMPANY INC                    9213 DANSFORESHIRE WAY WAKE FOREST NC 27587
V & J COMPANY INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
V & L EXPRESS INC                    OR REV CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
V & L LOGISTICS CORP                 OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
V & M TOWING SERVICE INC             81 BERKLEY PARK RD READING PA 19605
V & M TRANSPORT SERVICES LLC         OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
V & O CARRIERS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
V & P TRUCKING                       323 N EUCLID ST SPC 172 SANTA ANA CA 92703
V & T TRANSPORTATION LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
V & V TRANS INC                      1477 S DALTON DR ROUND LAKE IL 60073
V & V TRANSPORT                      16826 ANDRICK MILL ROAD TIMBERVILLE VA 22853
V & W LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
V & Y HORIZON INC                    3316 RUSTLERS TRAIL SAN ANTONIO TX 78245
V A EXPRESS                          2816 MEADOW HAWK WAY ANTELOPE CA 95843
V BROTHERS TRUCKING LLC              OR OUTSOURCE FINANCIAL SERVICES INC. PO BOX 5172 DENVER CO 80217
V CAL LOGISTICS LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
V D & C TRANSPORT CORP               22500 SW 180 CT MIAMI FL 33170
V I P FREIGHT INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
V I TRANSPORT INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
V L P TRUCKING                       8946 SULTANA AVE. FONTANA CA 92335
V LOGISTICS CORP                     OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
V M EXPRESS                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
V O N EXPRESS LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
V TRANS LOGISTICS LLC                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
V V C TRUCKING LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
V V LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
V Y EXPRESS INC                      3517 TRAWDEN DRIVE WAKE FOREST NC 27587
V Z TRANSPORTATION INCORPORATED      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
V&D EXPRESS LLC                      1414 E GRASSLAND CT SPOKANE WA 99217
V&D EXPRESS LLC (MC1138159)          OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
V&D TRANSPORTATION INC               OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
V&E EXPRESS INC                      OR ADVANCED COMMERCIAL CAPITAL 761 EAST ENTERPRISE DR. 1 ST. GEORGE UT 84790
V&G FREIGHT BROKERS LLC              ATTN: MICHELLE/LISA 3 BOHANNON BRIDGE RD BROOKLINE NH 03033
V&G TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
V&K LOGISTICS LLC                    235 LUNNS WAY PLYMOUTH MA 02360
V&L LOGISTICS LLC                    OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
V&M LOGISTICS INC.                   OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
V&S TRANSPORT INC                    OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403



Epiq Corporate Restructuring, LLC                                                               Page 1984 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1993 of 2156

Claim Name                          Address Information
V&T EXPRESS LLC (MC854054)          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
V&T LOGISTICS LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
V&T LOGISTICS LLC (MC1401612)       OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
V&V CARRIERS INC                    OR J D FACTORS, PO BOX 687 WHEATON IL 60187
V.A.N. LOGISTICS INC.               OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
V.ROSS TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
V.S.G. ENTERPRISE , INC.            415 HOPKINS AVE ELGIN IL 60124
V1 TRANSPORT INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
V2V LOGISTICS                       OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
V3 TRANSPORTATION                   4920 ENTERPRISE PARKWAY SEVILLE OH 44273
V4U LOGISTIC INC                    V4U LOGISTICS INC, 27 HANSEN ROAD BRAMPTON ON L6W3H7 CANADA
VA COMMERCIAL REPAIR SOLUTIONS      19 EREM WAY FISHERSVILLE VA 22939
VA DOT                              1401 E BROAD ST RICHMOND VA 23219
VA DOT                              C/O LOUIS BERGER SERVICES, INC PO BOX 1379 RUSKIN FL 33575
VA LOGISTICS, LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
VAAM INC                            OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
VABALES, JESSICA                    ADDRESS ON FILE
VABALES, THOMAS                     ADDRESS ON FILE
VAC U MAX                           69 WILLIAM ST BELLEVILLE NJ 07109
VACA, LYNDSIE                       ADDRESS ON FILE
VACANTI, PAUL                       ADDRESS ON FILE
VACATION TRUCKING                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VACCA, PAULINE                      ADDRESS ON FILE
VACCARO, ANTONINO                   ADDRESS ON FILE
VACEK, DAVID J                      ADDRESS ON FILE
VACEK, DAVID J                      ADDRESS ON FILE
VACHERESSE, BRETON                  ADDRESS ON FILE
VACHON, ALAIN                       ADDRESS ON FILE
VACHON, KATHY                       ADDRESS ON FILE
VACUSWEEP INC                       PO BOX 7569 VISALIA CA 93290
VADEN, IVRIN                        ADDRESS ON FILE
VADILLO, ZAIRA                      ADDRESS ON FILE
VADYM E ISKENDROV                   ADDRESS ON FILE
VAG DINAMIC INC                     OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
VAGAKA LLC                          OR BARON FINANCE CALIFORNIA INC DBA REVOLUTION CAPITAL PO BOX 741791 LOS
                                    ANGELES CA 90074
VAGAS HAULING LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
VAGT, MARY                          ADDRESS ON FILE
VAID, SHEFALI                       ADDRESS ON FILE
VAIL, TODD                          ADDRESS ON FILE
VAILE CONSTRUCTION                  113 VAILE RD RENFREW ON K7V 3Z9 CANADA
VAILEA, HANITELI                    ADDRESS ON FILE
VAILES, DOUGLAS                     ADDRESS ON FILE
VAILLANCOURT TRANSPORT INC          PO BOX 10 VAN BUREN ME 04785
VAIMAUGA, TUPE                      ADDRESS ON FILE
VAISIGANO, ANETIPA                  ADDRESS ON FILE
VAIT, TOM                           ADDRESS ON FILE
VAKALAHI, SIU                       ADDRESS ON FILE
VAKALAHI, SOSIFA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1985 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1994 of 2156

Claim Name                          Address Information
VAKATAU, MILIKINI                   ADDRESS ON FILE
VAL, JEAN                           ADDRESS ON FILE
VAL-CO SAFEGUARD PRODUCTS COMP      ATTN: KELLY SHEAFFER 2710 DIVISION HWY NEW HOLLAND PA 17557
VALADEZ RAMIREZ, EMANUEL            ADDRESS ON FILE
VALADEZ, NESTOR                     ADDRESS ON FILE
VALADEZ, RAMONA                     ADDRESS ON FILE
VALADEZ, RUBEN                      ADDRESS ON FILE
VALADEZ, ULYSSES                    ADDRESS ON FILE
VALANZOLA, MARK                     ADDRESS ON FILE
VALBRI GROUP TRUCKING LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VALBRI GROUP TRUCKING LLC           OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
VALCARCEL FERRAS, ALFREDO           ADDRESS ON FILE
VALCONE SPECIALIZED                 MENGQU HE SUITE 1430 3340 PEACHTREE RD NE ATLANTA GA 30326
VALDEPENA, ANTONIO                  ADDRESS ON FILE
VALDES, ALBERTO                     ADDRESS ON FILE
VALDES, ANGEL                       ADDRESS ON FILE
VALDES, ELIZA                       ADDRESS ON FILE
VALDES, JEFFREY                     ADDRESS ON FILE
VALDES, LEONARDO                    ADDRESS ON FILE
VALDES, WALFRIDO                    ADDRESS ON FILE
VALDEZ                              OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
VALDEZ GRIJALVA, ROSARIO            ADDRESS ON FILE
VALDEZ, ALEXANDER                   ADDRESS ON FILE
VALDEZ, ALEXANDER                   ADDRESS ON FILE
VALDEZ, ANDREA                      ADDRESS ON FILE
VALDEZ, ANIBAL                      ADDRESS ON FILE
VALDEZ, BRANDON                     ADDRESS ON FILE
VALDEZ, CARLOS                      ADDRESS ON FILE
VALDEZ, CARLOS                      ADDRESS ON FILE
VALDEZ, CHRISTOPHER                 ADDRESS ON FILE
VALDEZ, DAGMAR                      ADDRESS ON FILE
VALDEZ, DANNY                       ADDRESS ON FILE
VALDEZ, DAVID                       ADDRESS ON FILE
VALDEZ, GEORGE                      ADDRESS ON FILE
VALDEZ, HECTOR                      ADDRESS ON FILE
VALDEZ, JACOB                       ADDRESS ON FILE
VALDEZ, JESSE                       ADDRESS ON FILE
VALDEZ, JORGE                       ADDRESS ON FILE
VALDEZ, JUAN                        ADDRESS ON FILE
VALDEZ, LUIS                        ADDRESS ON FILE
VALDEZ, MARY                        ADDRESS ON FILE
VALDEZ, MICHAEL                     ADDRESS ON FILE
VALDIVIA, ANNA                      ADDRESS ON FILE
VALDIVIA-PRICE, LAURIE              ADDRESS ON FILE
VALDOVINOS, ARMANDO                 ADDRESS ON FILE
VALEGA, DAVID                       ADDRESS ON FILE
VALEN, CODY                         ADDRESS ON FILE
VALENCE TRANSPORTATION LLC          OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
VALENCIA J&A TRUCKING LLC           OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429



Epiq Corporate Restructuring, LLC                                                            Page 1986 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 1995 of 2156

Claim Name                          Address Information
VALENCIA MARTINEZ, RICARDO          ADDRESS ON FILE
VALENCIA PIPE COMPANY.              28305 LIVINGSTON AVE VALENCIA CA 91355
VALENCIA, ADAM M                    ADDRESS ON FILE
VALENCIA, ALBERTO                   ADDRESS ON FILE
VALENCIA, FRANCISCO                 ADDRESS ON FILE
VALENCIA, FREDERICO                 ADDRESS ON FILE
VALENCIA, JACOB                     ADDRESS ON FILE
VALENCIA, MARINA L                  ADDRESS ON FILE
VALENCIA, MARINA L                  ADDRESS ON FILE
VALENCIA, MAURICIO                  ADDRESS ON FILE
VALENCIA, RICARDO                   ADDRESS ON FILE
VALENCIA, RYAN                      ADDRESS ON FILE
VALENCIA, SAMUEL                    ADDRESS ON FILE
VALENCIA-MARTINEZ, ARMANDO          ADDRESS ON FILE
VALENTI, JOHN                       ADDRESS ON FILE
VALENTICH, MICHAEL                  ADDRESS ON FILE
VALENTIN CASTILLO, STEVEN           ADDRESS ON FILE
VALENTIN, JAYLEN                    ADDRESS ON FILE
VALENTIN, JUSTIN                    ADDRESS ON FILE
VALENTIN, WANDA                     ADDRESS ON FILE
VALENTINE TRUCKING, LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VALENTINE, BOBBY                    ADDRESS ON FILE
VALENTINE, CALVIN                   ADDRESS ON FILE
VALENTINE, CURTIS                   ADDRESS ON FILE
VALENTINE, NICOLE                   ADDRESS ON FILE
VALENTINE, RASHEEDA                 ADDRESS ON FILE
VALENTINE, RICHARD                  ADDRESS ON FILE
VALENTINE, RICKY                    ADDRESS ON FILE
VALENTINE, SAMANTHA                 ADDRESS ON FILE
VALENTINE, TRACY A                  ADDRESS ON FILE
VALENTINE, TRENA                    ADDRESS ON FILE
VALENTINO, KIMBERLI                 ADDRESS ON FILE
VALENZUELA RENTERIA, HECTOR         ADDRESS ON FILE
VALENZUELA TRANSPORT LLC            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VALENZUELA TRANSPORTATION           & LOGISTICS LLC OR FACTORING EXPRESS LLC P.O. BOX 150205 OGDEN UT 84415
VALENZUELA TRANSPORTATION INC       OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
VALENZUELA, ANGEL                   ADDRESS ON FILE
VALENZUELA, ANTONIO                 ADDRESS ON FILE
VALENZUELA, ANTONIO                 ADDRESS ON FILE
VALENZUELA, CHRIS                   ADDRESS ON FILE
VALENZUELA, EDWARD                  ADDRESS ON FILE
VALENZUELA, ERNIE                   ADDRESS ON FILE
VALENZUELA, FRED                    ADDRESS ON FILE
VALENZUELA, GIL                     ADDRESS ON FILE
VALENZUELA, ISAAC                   ADDRESS ON FILE
VALENZUELA, JACOB                   ADDRESS ON FILE
VALENZUELA, JACQUELINE              ADDRESS ON FILE
VALENZUELA, JOSE                    ADDRESS ON FILE
VALENZUELA, JUAN                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1987 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 1996 of 2156

Claim Name                           Address Information
VALENZUELA, MARK                     ADDRESS ON FILE
VALENZUELA, RAMIRO                   ADDRESS ON FILE
VALENZUELA, RAMIRO                   ADDRESS ON FILE
VALERI, BRUNO                        ADDRESS ON FILE
VALERIE C SCOTT                      ADDRESS ON FILE
VALERIE CHRISTMAN                    ADDRESS ON FILE
VALERIE, DAVE                        ADDRESS ON FILE
VALERIO, DIEGO                       ADDRESS ON FILE
VALERIO, EFRAIN                      ADDRESS ON FILE
VALERIO, GERMAN                      ADDRESS ON FILE
VALERIO, JASON                       ADDRESS ON FILE
VALERIO, LENNY J                     ADDRESS ON FILE
VALERIO, SERAPIO                     ADDRESS ON FILE
VALERIOS EXPRESS LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
VALERO TRUCK STOP                    5900 E. END BLVD. S MARSHALL TX 75672
VALERO, CHRISTOPHER                  ADDRESS ON FILE
VALERY TRANSPORT LLC                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
VALESE, ANDREW                       ADDRESS ON FILE
VALET FLEET SERVICE, LLC             2630 W DURANGO ST PHOENIX AZ 85009
VALHALLA HOT SHOT SERVICES LLC       OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
VALHEN LOGISTICS LLC                 226 BURNHAM RD GORHAM ME 04038
VALIANT TRANSPORT LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VALID EXPRESS TRANSPORTATION         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VALIEN, JOHN                         ADDRESS ON FILE
VALIENT TRUCKING LLC                 OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
VALIENTE TRUCKING INC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VALINS TRANSPORTATION LLC            OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
VALK, WAYNE                          ADDRESS ON FILE
VALK, ZEHL                           ADDRESS ON FILE
VALLADARES, DENNY                    ADDRESS ON FILE
VALLADARES, FRANCISCO                ADDRESS ON FILE
VALLADARES, MEGAN                    ADDRESS ON FILE
VALLE TRUCKING LLC                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL
                                     33631-3792
VALLE, DARKO                         ADDRESS ON FILE
VALLE, DAVID                         ADDRESS ON FILE
VALLE, JOSE                          ADDRESS ON FILE
VALLE, PEDRO                         ADDRESS ON FILE
VALLE, SONIO                         ADDRESS ON FILE
VALLEJO, DAVID                       ADDRESS ON FILE
VALLEJO, MANUEL                      ADDRESS ON FILE
VALLEJO, MANUEL                      ADDRESS ON FILE
VALLEJO, RAUL                        ADDRESS ON FILE
VALLELY, VINCENT                     ADDRESS ON FILE
VALLEN DISTRIBUTION INC              2530 B ST NW STE 105 AUBURN WA 98001
VALLERE, OLKING                      ADDRESS ON FILE
VALLES TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VALLES, JASON                        ADDRESS ON FILE
VALLEY BOBCAT                        9324 SAN FERNANDO RD SUN VALLEY CA 91352



Epiq Corporate Restructuring, LLC                                                             Page 1988 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 1997 of 2156

Claim Name                               Address Information
VALLEY BROS TRANSPORTATION INC           P.O. BOX 314 LATHROP CA 95330
VALLEY CHROME PLATING                    ATTN: VICTOR REDONDO 1028 HOBLITT CLOVIS CA 93612
VALLEY CHROME PLATING INC                1028 HOBLITT AVE CLOVIS CA 93612
VALLEY CHROME PLATING INC                ATTN: CLAIMS, 1028 HOBLITT AVE CLOVIS CA 93612
VALLEY CITIES GONZALES FENCE INC         1338 6TH ST NORCO CA 92860
VALLEY COLLISION                         ADDRESS ON FILE
VALLEY ELECTRIC                          1100 MERRILL CREEK PKWY EVERETT 98203
VALLEY EMPIRE COLLECTION                 PO BOX 141248 SPOKANE VALLEY WA 99214
VALLEY EXPRESS, INC.                     PO BOX 2147 FARGO ND 58107
VALLEY EXPRESS, LLC                      PO BOX 472, PO BOX 472 NEENAH WI 54957
VALLEY FIRE EXTINGUISHER INC             1016 25TH AVE GREELEY CO 80634
VALLEY FORD TRUCK, INC.                  5715 CANAL RD CLEVELAND OH 44125
VALLEY FORKLIFT SALES                    1805 AVE. M KEARNEY NE 68847
VALLEY FREIGHT CARRIERS LLC              31271 VICTORIANA DR SAN BENITO TX 78586
VALLEY FREIGHT LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VALLEY FREIGHTLINER OF TOLEDO            6003 BENORE ROAD TOLEDO OH 43612
VALLEY FREIGHTLINER STERLING             10901 BROOKPARK RD PARMA OH 44130
VALLEY FREIGHTLINER STERLING             PO BOX 35317 CLEVELAND OH 44135
VALLEY HOLDINGS LLC                      4935 STEPTOE ST STE 200 LAS VEGAS NV 89122
VALLEY METAL WORKS INC.                  PO BOX 2073 MOUNT VERNON OH 43050
VALLEY METAL WORKS INC.                  698 W COLUMBIA AVE CINCINNATI OH 45215
VALLEY MOULDING & FRAME                  10708 VANOWEN ST NORTH HOLLYWOOD CA 91605
VALLEY PACIFIC PETROLEUM SERVICES INC    PO BOX 1245 FRENCH CAMP CA 95231
VALLEY PETERBILT INC                     2110 S SINCLAIR AVE STOCKTON CA 95215
VALLEY POWER SYSTEMS INC                 2070 FARALLON DR SAN LEANDRO CA 94577
VALLEY POWER SYSTEMS, INC                P.O BOX 884677 LOS ANGELES CA 90088
VALLEY POWER SYSTEMS, INC                425 SOUTH HACIENDA BLVD. CITY OF INDUSTRY CA 91745
VALLEY POWER SYSTEMS, INC                DEPT 34677, PO BOX 39000 SAN FRANCISCO CA 94139
VALLEY STREAM CENTRAL HIGH SCOOL DIST.   1 KENT RD VALLEY STREAM NY 11580
VALLEY TIRE CO., INC.                    1002 ARENTZEN BLVD. CHARLEROI PA 15022
VALLEY TRANSPORT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VALLEY TRUCK                             VALLEY TRUCK GAYLORD 2483 DICKERSON ROAD GAYLORD MI 49735
VALLEY TRUCK & TRLR SLS & SVC            409 STRUBLE RD STATE COLLEGE PA 16801
VALLEY TRUCK PARTS INC                   2226 RESEARCH DRIVE FORT WAYNE IN 46808
VALLEY TRUCK PARTS INC                   D/B/A: VALLEY TRUCK 2226 RESEARCH DRIVE FORT WAYNE IN 46808
VALLEY TRUCK PARTS INC                   D/B/A: VALLEY TRUCK VALLEY TRUCK DETROIT, 35330 STANLEY DR STERLING HEIGHTS MI
                                         48312
VALLEY TRUCK PARTS INC                   VALLEY TRUCK DETROIT 35330 STANLEY DRIVE STERLING HEIGHTS MI 48312
VALLEY TRUCK PARTS INC                   1900 CHICAGO DR SW GRAND RAPIDS MI 49519
VALLEY TRUCKING CO., INC.                4550 JAIME J ZAPATA AVE BROWNSVILLE TX 78521
VALLEY VIEW TRANSPORTATION LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VALLI KANE & VAGNINI LLP                 600 OLD COUNTRY RD SUITE 519 GARDEN CITY NY 11530
VALNAZ INC                               OR DISCVAL INC, 5917 PARTRIDGE LANE LONG GROVE IL 60047
VALOAGA, JOSHUA                          ADDRESS ON FILE
VALOIS, MICHEL                           ADDRESS ON FILE
VALOIS, MICHEL P                         ADDRESS ON FILE
VALOR EXPRESS INC                        OR LSQ FUNDING, PO BOX 809209 CHICAGO IL 60680-9209
VALOR, DEBORAH                           ADDRESS ON FILE
VALOR, LLC                               PO BOX 1914 OWENSBORO KY 42302



Epiq Corporate Restructuring, LLC                                                                   Page 1989 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 1998 of 2156

Claim Name                           Address Information
VALOR, LLC                           PO BOX 3007 EVANSVILLE IN 47730
VALPRO AUTOMOBILES                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VALSS GROUP LLC                      OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
VALTEX TRUCKING INC                  36049 ATLANTIC AVE NORTH RIDGEVILLE OH 44039
VALUE FREIGHT                        21706 55TH AVE W MOUNTLAKE TERRACE WA 98043
VALUE HAULERS LLC                    10104 SPRINGTREE CT TAMPA FL 33615
VALUE LINES LOGISTICS LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
VALUE PRODUCTS                       2128 INDUSTRIAL DR STOCKTON CA 95206
VALUE TRANSPORT LLC                  819 W ARAPAHO RD SUITE 24B-168 RICHARDSON TX 75080
VALUE TRUCK OF AZ INC                PO BOX 856, PO BOX 856 GARDEN CITY KS 67846-0856
VALUM, DONALD                        ADDRESS ON FILE
VALURO LLC                           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VALVE PROPERTIES, LLC                320 ERVIN INDUSTRIAL DRIVE JORDAN MN 55352
VALVE SALES INC                      4344 S MAYBELLINE AVE TULSA OK 74107
VALVE TRANSPORT                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
VALVOLINE                            TRANS AUDIT INC, 11 MARSHALL RD STE 2D WAPPINGERS FALLS NY 12590
VALVOLINE COMPANY 420                100 VALVOLINE WAY LEXINGTON KY 40509
VALVOLINE GLOBAL OPERATIONS          ATTN: CHARLSYE HAWKS 100 VALVOLINE WAY 200 LEXINGTON KY 40509
VALVOLINE LLC                        100 VALVOLINE WAY LEXINGTON KY 40509
VALVTECT PETROLEUM PRODUCTS          PO BOX 535421 ATLANTA GA 30353
VALVTECT PETROLEUM PRODUCTS          PO BOX 535421 ATLANTA GA 30353-5421
VALWOOD IMPROVEMENT AUTHORITY        TAX ASSESSOR COLLECTOR 1430 VALWOOD PKWY STE 160 CARROLLTON TX 75006
VAM EXPRESS LLC                      OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
VAMAR INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VAN AIR & CONTROLS LLC               CCB 157864, 13327 S GLENN DRIVE MULINO OR 97042
VAN AUKEN EXPRESS                    ATTN JEN TUMEY, PO BOX 339 GREENVILLE NY 12083
VAN AUKEN EXPRESS                    625 SOUTH 5TH AVE LEBANON PA 17042
VAN AUKEN EXPRESS, INC.              PO BOX 339 GREENVILLE NY 12083
VAN AUKEN EXPRESS, INC.              PO BOX 339 W GREENVILLE NY 12083
VAN BERLO, MARK                      ADDRESS ON FILE
VAN BETUW, ADAM                      ADDRESS ON FILE
VAN BILSEN MCLOUGHLIN, LLC           655 NE 21ST AVE CAMBY OR 97013
VAN BLARICUM, TERRY                  ADDRESS ON FILE
VAN BRUNT PROPERTIES                 6053 SPRINGVILLE HWY ONSTED MI 49265
VAN BRUNT, BRIAN                     ADDRESS ON FILE
VAN BYSSUM, JUSTIN J                 ADDRESS ON FILE
VAN DALEN, DEWAYNE                   ADDRESS ON FILE
VAN DAM EGG CO., INC.                4409 38TH ST. HAMILTON MI 49419
VAN DEN BERGE PEST CONTROL           76 VETERANS DRIVE STE 250 HOLLAND MI 49423
VAN DER KOLK PLUMBING LLC            P.O. BOX 298 ZEELAND MI 49464
VAN DIJK, LEAHA                      ADDRESS ON FILE
VAN DINE, STEWART                    ADDRESS ON FILE
VAN DYKE, SABRINA S                  ADDRESS ON FILE
VAN DYKEN MECHANICAL IN              D/B/A: VAN DYKEN MECHANICAL INC 4275 SPARTAN INDUSTRIAL DRIVE GRANDVILLE MI
                                     49418
VAN DYKEN MECHANICAL INC             4275 SPARTAN INDUSTRIAL DRIVE GRANDVILLE MI 49418
VAN DYNE TRANSPORT INC               OR LEGACY FINANCIAL AND DISPATCH 840 NORTH 700 WEST NORTH SALT LAKE UT 84054
VAN EPS, RICHARD                     ADDRESS ON FILE
VAN ETTEN, DAVID                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1990 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 1999 of 2156

Claim Name                           Address Information
VAN FAMILY TRUCKING CORP             3328 LAFAYETTE ST ROSEMEAD CA 91770
VAN HAGE, NICHOLAS                   ADDRESS ON FILE
VAN HALTEREN, PETER                  ADDRESS ON FILE
VAN HOOK, JOHN                       ADDRESS ON FILE
VAN HOOSE, CHAD                      ADDRESS ON FILE
VAN HOOZEN, RICHARD                  ADDRESS ON FILE
VAN HORN, KEVIN                      ADDRESS ON FILE
VAN HORN, SARAH                      ADDRESS ON FILE
VAN HOUTTE COFFEE SERVICES INC       8215 17E AVENUE MONTREAL QC H1Z 4J9 CANADA
VAN HOUTTE COFFEE SERVICES INC       7 350 KEEWATIN ST WINNIPEG MB R2X 2R9 CANADA
VAN KAM FREIGHTWAYS                  10155 GRACE RD SURREY BC V3V 3V7 CANADA
VAN LEEUWEN, DAVID                   ADDRESS ON FILE
VAN LIERE, ERIC                      ADDRESS ON FILE
VAN MAN ENTERPRISES LLC              58 LOCUST AVE BLOOMFIELD NJ 07003
VAN MARTIN ROOFING                   6344 WEBSTER ST DAYTON OH 45414
VAN METER TRUCKING LLC               1246 W STATE ROAD 16 MONON IN 47959
VAN METER, MARK                      ADDRESS ON FILE
VAN PATTEN, ANASTASIA                ADDRESS ON FILE
VAN PEURSEM, CAROL                   ADDRESS ON FILE
VAN REES, STEVEN                     ADDRESS ON FILE
VAN ROOY PLUMBING INC                2918 SWEETWATER AVE LAKE HAVASU CITY AZ 86406
VAN TASSEL, GRANT                    ADDRESS ON FILE
VAN TASSELL, JEFFREY                 ADDRESS ON FILE
VAN TAYLOR TRANSPORTATION LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VAN TRANSPORTATION LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VAN VELS, BRIAN                      ADDRESS ON FILE
VAN VLIET, AUSTIN                    ADDRESS ON FILE
VAN WINKLE, APRIL                    ADDRESS ON FILE
VAN WINKLE, DYANA                    ADDRESS ON FILE
VAN ZYL, JOSH                        ADDRESS ON FILE
VAN ZYVERDEN INC                     PO BOX 550 MERIDIAN MS 39302
VAN ZYVERDEN INC                     ATTN: GLENDA AUST 8079 VAN ZYVERDEN RD MERIDIAN MS 39305
VAN ZYVERDEN INC                     12035 HIGGINS AIRPORT WAY BURLINGTON WA 98233
VANAPPEL, SUMMER                     ADDRESS ON FILE
VANASKEY, BENJAMIN                   ADDRESS ON FILE
VANASSCHE CONSTRUCTION LLC           37130 EUREKA ROMULUS MI 48174
VANATTA, BELINDA                     ADDRESS ON FILE
VANBAAREN, MICHAEL                   ADDRESS ON FILE
VANBEEK, BRIAN K                     ADDRESS ON FILE
VANBELKUM, TYLER                     ADDRESS ON FILE
VANBIK TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VANBLARCOM, KYLE                     ADDRESS ON FILE
VANBOKKEM, MARTIN                    ADDRESS ON FILE
VANBRAGT, CHRISTINE                  ADDRESS ON FILE
VANBREE, DONNA                       ADDRESS ON FILE
VANBRIESEN, TRACEY                   ADDRESS ON FILE
VANBUREN, CHRISTOPHER                ADDRESS ON FILE
VANBUREN, JOHN                       ADDRESS ON FILE
VANCE ALLEN CROSS                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 1991 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2000 of 2156

Claim Name                           Address Information
VANCE SR, JOSEPH                     ADDRESS ON FILE
VANCE, CHRISTOPHER                   ADDRESS ON FILE
VANCE, COREY                         ADDRESS ON FILE
VANCE, KEVIN                         ADDRESS ON FILE
VANCE, KYLE                          ADDRESS ON FILE
VANCE, PAUL                          ADDRESS ON FILE
VANCE, ROBIN                         ADDRESS ON FILE
VANCE, ROY                           ADDRESS ON FILE
VANCIL, JOHN                         ADDRESS ON FILE
VANCO LOGISTICS LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
VANCORE INC                          OR CD CONSORTIUM 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
VANCOUR, WILLIAM K                   ADDRESS ON FILE
VANDAMME, KELLY                      ADDRESS ON FILE
VANDEBRAKE, PAMELA                   ADDRESS ON FILE
VANDEMARK, MARCEL                    ADDRESS ON FILE
VANDEMORE, TONY                      ADDRESS ON FILE
VANDENBOOM, TOM & KARLA              ADDRESS ON FILE
VANDENBURG, FRANKLIN                 ADDRESS ON FILE
VANDER BERG, DIANE                   ADDRESS ON FILE
VANDER HAAGS INC                     1423 E 54TH ST N SIOUX FALLS SD 57104
VANDER HAAGS INC                     7501 E US HWY 40 KANSAS CITY MO 64129
VANDER HEIDE, DALTON                 ADDRESS ON FILE
VANDER KOOI FREIGHT LTD.             312 MAIN HULL IA 51239
VANDER LINDEN, CRAIG                 ADDRESS ON FILE
VANDER WEIDE, PAIGE                  ADDRESS ON FILE
VANDER WOUDE, CRAIG                  ADDRESS ON FILE
VANDERBILT FREIGHT SOLUTIONS INC     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VANDERBURG, STEVEN                   ADDRESS ON FILE
VANDERBURGH COUNTY TREASURER         PO BOX 77 EVANSVILLE IN 47701
VANDERBURGH COUNTY TREASURER         P.O. BOX 77 EVANSVILLE IN 47701-0077
VANDERGRIFF, CAMERON                 ADDRESS ON FILE
VANDERGRIFF, GREG                    ADDRESS ON FILE
VANDERHEIDE, MATTHEW                 ADDRESS ON FILE
VANDERHOFF, SCOTT                    ADDRESS ON FILE
VANDERHOOF, GENE                     ADDRESS ON FILE
VANDERHOOF, JAMES                    ADDRESS ON FILE
VANDERHOOF, LISA                     ADDRESS ON FILE
VANDERHORST, CHARLES                 ADDRESS ON FILE
VANDERHORST, RICHARD                 ADDRESS ON FILE
VANDERMEULEN, ROBERT                 ADDRESS ON FILE
VANDERPOOL, RODNEY                   ADDRESS ON FILE
VANDERPOORTEN, BETTY                 ADDRESS ON FILE
VANDERSCHUUR, RONALD                 ADDRESS ON FILE
VANDERSLICE, ZACH                    ADDRESS ON FILE
VANDEVER, SONDRA                     ADDRESS ON FILE
VANDEVUSSE, CHRISTINE                ADDRESS ON FILE
VANDEVUSSE, STACEY                   ADDRESS ON FILE
VANDOVER, TRACY                      ADDRESS ON FILE
VANDRUNEN, CHAZ                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 1992 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 2001 of 2156

Claim Name                               Address Information
VANDUINEN, MEGAN                         ADDRESS ON FILE
VANDYKE, LISA                            ADDRESS ON FILE
VANDYNE, ROBERT                          ADDRESS ON FILE
VANECK, SCOTT                            ADDRESS ON FILE
VANEGAS TRANSPORT LLC                    OR FLASH FUNDING LLC, PO BOX 224507 DALLAS TX 75222
VANEGAS, BRENDA                          ADDRESS ON FILE
VANEGAS, CHRISTOPHER                     ADDRESS ON FILE
VANEGAS, DANIEL                          ADDRESS ON FILE
VANEGAS, MAURO                           ADDRESS ON FILE
VANEGAS, MILTON                          ADDRESS ON FILE
VANEK, MARY                              ADDRESS ON FILE
VANEMAN, PATRICK                         ADDRESS ON FILE
VANENKEVORT FARMS                        N16966 COUNTY ROAD 563 POWERS MI 49874
VANEPPS, JOHNATHAN                       ADDRESS ON FILE
VANESSA KENWORTHY                        ADDRESS ON FILE
VANESSA SAM                              ADDRESS ON FILE
VANET, PHILLIP                           ADDRESS ON FILE
VANETTEN GRAY, TAMMY                     ADDRESS ON FILE
VANFOSSEN, JEDIDIAH                      ADDRESS ON FILE
VANFOSSEN, ROGER                         ADDRESS ON FILE
VANG, BLONG                              ADDRESS ON FILE
VANG, CAROL                              ADDRESS ON FILE
VANG, CHATREE                            ADDRESS ON FILE
VANG, CHENG                              ADDRESS ON FILE
VANG, CHRISTOPHER                        ADDRESS ON FILE
VANG, DENNIS                             ADDRESS ON FILE
VANG, FUE                                ADDRESS ON FILE
VANG, HUE                                ADDRESS ON FILE
VANG, JOHN                               ADDRESS ON FILE
VANG, K                                  ADDRESS ON FILE
VANG, KAI                                ADDRESS ON FILE
VANG, KO                                 ADDRESS ON FILE
VANG, MICHAEL                            ADDRESS ON FILE
VANG, POCHOUA                            ADDRESS ON FILE
VANG, TA                                 ADDRESS ON FILE
VANGTRANS INC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VANGUARD                                 ATTN: WENDY MEUSE CTS 1915 VAUGHN ROAD KENNESAW GA 30144
VANGUARD                                 CTS NVOCC & FRT FORWARDERS PO BOX 441326 KENNESAW GA 30160
VANGUARD C/O CTS                         1915 VAUGHN RD KENNESAW GA 30144
VANGUARD EXPRESS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VANGUARD FIRE & SUPPLY CO INC            PO BOX 9218 GRAND RAPIDS MI 49509
VANGUARD INTEGRITY PROFESSIONALS, INC.   6625 S EASTERN AVE STE 100 LAS VEGAS NV 89119
VANGUARD MARKETING CORP (0062)           ATT BEN BEGUIN OR PROXY MGR 14321 N. NORTHSIGHT BLVD SCOTTSDALE AZ 85260
VANGUARD PRESS                           ATTN: DAVID SCHMITT PO BOX 630025 HOUSTON TX 77263
VANGUARD SOAP                            ATTN: JACQUELINE CARRUTHERS ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL
                                         60654
VANGUARD SOLAR SERVICES LLC              4618 W 26TH AVE DENVER CO 80212
VANGUARD SUPPLY CHAIN SOLUTIONS LLC      11810 GRAND PARK AVE STE 500 NORTH BETHESDA MD 20852
VANGUARD TRAILER                         289 EAST WATER TOWER DRIVE MONON IN 47959



Epiq Corporate Restructuring, LLC                                                                   Page 1993 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2002 of 2156

Claim Name                           Address Information
VANGUARD TRANSPORT INC               12 FLANDERS RD BRAMPTON ON L6X0W4 CANADA
VANGUARD TRANSPORTATION LLC          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
VANGUARD TRANSPORTATION LLC          OR OUTGO INC, 117 E LOUISA ST 161 SEATTLE WA 98102
VANGUARD TRUCK CENTER OF NC LLC      3880 JEFF ADAMS DRIVE CHARLOTTE NC 28206
VANHAMME, MICHAEL                    ADDRESS ON FILE
VANHOLT, CHRISTINA                   ADDRESS ON FILE
VANHOLT, JOHN                        ADDRESS ON FILE
VANHOOSE, NICK                       ADDRESS ON FILE
VANHORN TRUCKING LLC                 OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
VANHORN, BRANDON                     ADDRESS ON FILE
VANHURST, CHARLES                    ADDRESS ON FILE
VANINETTI, JIM                       ADDRESS ON FILE
VANITY ART                           ATTN: QUNNUN 2261 MORGAN PKWY FARMERS BRANCH TX 75234
VANITY ART                           ATTN: QUNQUN 2261 MORGAN PKWY STE 100 FARMERS BRANCH TX 75234
VANITY ART                           ATTN: QUNQUN 2261 MORGAN PKWY FARMERS BRANCH TX 75234
VANITY ART LLC                       21 SIMMONS LANE MENANDS NY 12204
VANITY CARGO LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VANKAMMEN, DAN                       ADDRESS ON FILE
VANLAAN, PAMELA                      ADDRESS ON FILE
VANLENGEN, DARRELL                   ADDRESS ON FILE
VANLEUVEN, EDWIN                     ADDRESS ON FILE
VANLUE-SCHUMPERT, IDELLA             ADDRESS ON FILE
VANLUYN, MARILOU                     ADDRESS ON FILE
VANN LATHAM                          ADDRESS ON FILE
VANN, JOHN                           ADDRESS ON FILE
VANN, WILLIAM                        ADDRESS ON FILE
VANN, WILLIE                         ADDRESS ON FILE
VANNATTA, MICHAEL                    ADDRESS ON FILE
VANNER INC                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VANNIS TRUCKING                      OR THUNDER FUNDING DEPT 3003 PO BOX 1000 MEMPHIS TN 38148
VANNY BOYZ TRUCKING INC              OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
VANOVERBEKE, CARRIE                  ADDRESS ON FILE
VANPELT, CODEE                       ADDRESS ON FILE
VANPORT ENTERPRISES LTD              8626 COMMERCE COURT BURNABY BC V5A 4N6 CANADA
VANRASSAN, JUSTIN                    ADDRESS ON FILE
VANROSS, TERRELL                     ADDRESS ON FILE
VANS DELIVERY SERVICE, INC.          PO BOX 630 COMSTOCK PARK MI 49321
VANSCHAICK, ALYSSA                   ADDRESS ON FILE
VANSCHOYCK, CHASE                    ADDRESS ON FILE
VANSCHOYCK, RICHARD                  ADDRESS ON FILE
VANSCOTEN, JASON                     ADDRESS ON FILE
VANSCOY, WILLIAM                     ADDRESS ON FILE
VANSETTERS, WILLIAM                  ADDRESS ON FILE
VANSICKLE, JOLINE                    ADDRESS ON FILE
VANSLETTE, JOSH                      ADDRESS ON FILE
VANSLOOTEN, STACEY                   ADDRESS ON FILE
VANSPEYBROECK, DAVID                 ADDRESS ON FILE
VANSTEENKISTE, RAYMOND               ADDRESS ON FILE
VANTAGE EXPRESS INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565



Epiq Corporate Restructuring, LLC                                                               Page 1994 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 2003 of 2156

Claim Name                              Address Information
VANTAGE LOGISTICS SERVICES              9500 AVENUE RYAN, 9500 AVENUE RYAN DORVAL QC H9P3A1 CANADA
VANTAGE RISK LTD                        96 PITTS BAY ROAD CHESNEY HOUSE 3RD FLOOR HAMILTON HM 08 BERMUDA
VANTASSEL TOWING & RECOVERY LLC         26561 NYS RT. 37 WATERTOWN NY 13601
VANTELLA, ROBERT                        ADDRESS ON FILE
VANTUINEN, JOHN                         ADDRESS ON FILE
VANWART, JUSTIN                         ADDRESS ON FILE
VANY LOGISTICS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VANZANDT, THOMAS M                      ADDRESS ON FILE
VANZANT, JENNIFER                       ADDRESS ON FILE
VANZANT, LEVI                           ADDRESS ON FILE
VANZILE, ANDREW                         ADDRESS ON FILE
VAOULI, BILL E                          ADDRESS ON FILE
VAOULI-BUCHANAN, ALIJAH                 ADDRESS ON FILE
VARANIAN TRANSPORTATION LLC             3611 SAM RAYBURN TRL DALLAS TX 75287
VARBLE, RICKY                           ADDRESS ON FILE
VARDAMAN, FAITHFUL                      ADDRESS ON FILE
VARDYS, GEORGE                          ADDRESS ON FILE
VARDZEL, GREGORY                        ADDRESS ON FILE
VARELA TRANSPORTATION LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VARELA, AARON                           ADDRESS ON FILE
VARELA, MARTIN                          ADDRESS ON FILE
VARES, DINO                             ADDRESS ON FILE
VARES, ROMAN                            ADDRESS ON FILE
VARFOLOMEIEFF, MICHAEL                  ADDRESS ON FILE
VARG LOGISTICS LLC                      OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
VARGAS IMPORTS LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
VARGAS SERVICE TRUCK & TRAILER REPAIR   1096 W MADRONA ST RIALTO CA 92376
VARGAS, ALCADIO                         ADDRESS ON FILE
VARGAS, ALMA                            ADDRESS ON FILE
VARGAS, ANNA                            ADDRESS ON FILE
VARGAS, ANTHONY                         ADDRESS ON FILE
VARGAS, ANTONIO                         ADDRESS ON FILE
VARGAS, ARMANDO                         ADDRESS ON FILE
VARGAS, ARNOLD                          ADDRESS ON FILE
VARGAS, CIRILDO                         ADDRESS ON FILE
VARGAS, DORSET                          ADDRESS ON FILE
VARGAS, DYLAN                           ADDRESS ON FILE
VARGAS, ERIK                            ADDRESS ON FILE
VARGAS, FELIX                           ADDRESS ON FILE
VARGAS, FRANCISCO                       ADDRESS ON FILE
VARGAS, FRANCISCO                       ADDRESS ON FILE
VARGAS, GIANCARLO                       ADDRESS ON FILE
VARGAS, GUSTAVO                         ADDRESS ON FILE
VARGAS, HECTOR                          ADDRESS ON FILE
VARGAS, ISRAEL                          ADDRESS ON FILE
VARGAS, JAMES                           ADDRESS ON FILE
VARGAS, JESUS                           ADDRESS ON FILE
VARGAS, LIONEL                          ADDRESS ON FILE
VARGAS, LUIS                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 1995 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 2004 of 2156

Claim Name                          Address Information
VARGAS, LUIS                        ADDRESS ON FILE
VARGAS, MACLOVIO                    ADDRESS ON FILE
VARGAS, MACLOVIO M                  ADDRESS ON FILE
VARGAS, MARY                        ADDRESS ON FILE
VARGAS, MIGUEL                      ADDRESS ON FILE
VARGAS, NATHAN                      ADDRESS ON FILE
VARGAS, OMAR                        ADDRESS ON FILE
VARGAS, RAMON                       ADDRESS ON FILE
VARGAS, ROBIN                       ADDRESS ON FILE
VARGAS, SHANNON                     ADDRESS ON FILE
VARGAS, TOMAS                       ADDRESS ON FILE
VARGAS, VINCENTE                    ADDRESS ON FILE
VARGAS, YANNUEL                     ADDRESS ON FILE
VARGAS-AYON, EYDER                  ADDRESS ON FILE
VARGAS-GOMEZ, DANA                  ADDRESS ON FILE
VARMAZ, ARNEL                       ADDRESS ON FILE
VARNADO, ROBERT                     ADDRESS ON FILE
VARNELL, ELBERT                     ADDRESS ON FILE
VARNER, KOLLAR                      ADDRESS ON FILE
VARNER, PAUL                        ADDRESS ON FILE
VARNER, TIMOTHY                     ADDRESS ON FILE
VARNEY, JOSEPH                      ADDRESS ON FILE
VARNEY, KENTON                      ADDRESS ON FILE
VARNEY, RICHARD                     ADDRESS ON FILE
VARNS, HEIDI                        ADDRESS ON FILE
VARNS, LORI                         ADDRESS ON FILE
VARRA, JOSEPH F                     ADDRESS ON FILE
VASALINDA, DENIS                    ADDRESS ON FILE
VASCO SERVICES LLC                  3178 SE 25TH ST GRESHAM OR 97080
VASCOR LTD                          ATTN: GRAY LESLIE 100 FARMERS BANK DR GEORGETOWN KY 40324
VASCORE TRANS                       ADDRESS ON FILE
VASHAW-HOLLON, KATELYN              ADDRESS ON FILE
VASHON TRUCKING INC                 PO BOX 327 VASHON WA 98070
VASIK TRANSPORT                     BOX 10 FORT WHYTE WINNIPEG MB R3Y 1G5 CANADA
VASILE, ROBERT                      ADDRESS ON FILE
VASILL, CHRISTOPHER                 ADDRESS ON FILE
VASION                              432 S TECH RIDGE DR ST. GEORGE UT 84770
VASKO ELECTRIC                      4300 ASTORIA STREET SACRAMENTO CA 95838
VASO EXPRESS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VASO LOGISTICS INC                  OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
VASQUEZ LOGISTICS LLC               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
VASQUEZ, ADELAIDO                   ADDRESS ON FILE
VASQUEZ, ALBERTO                    ADDRESS ON FILE
VASQUEZ, ALDO                       ADDRESS ON FILE
VASQUEZ, BRIAN                      ADDRESS ON FILE
VASQUEZ, CARLOS                     ADDRESS ON FILE
VASQUEZ, CARLOS                     ADDRESS ON FILE
VASQUEZ, CATHLEEN                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1996 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 2005 of 2156

Claim Name                          Address Information
VASQUEZ, DANNY                      ADDRESS ON FILE
VASQUEZ, DAVID                      ADDRESS ON FILE
VASQUEZ, DAVID                      ADDRESS ON FILE
VASQUEZ, DONALD                     ADDRESS ON FILE
VASQUEZ, EDDY                       ADDRESS ON FILE
VASQUEZ, EMILY                      ADDRESS ON FILE
VASQUEZ, EMMANUEL                   ADDRESS ON FILE
VASQUEZ, ESTANISLAO                 ADDRESS ON FILE
VASQUEZ, FILIBERTO                  ADDRESS ON FILE
VASQUEZ, FRANCISCO ALBERTO          ADDRESS ON FILE
VASQUEZ, ISMAEL                     ADDRESS ON FILE
VASQUEZ, JAIME                      ADDRESS ON FILE
VASQUEZ, JAIME                      ADDRESS ON FILE
VASQUEZ, JAMAL                      ADDRESS ON FILE
VASQUEZ, JOHNNY                     ADDRESS ON FILE
VASQUEZ, JOSE                       ADDRESS ON FILE
VASQUEZ, JUAN                       ADDRESS ON FILE
VASQUEZ, JUAN                       ADDRESS ON FILE
VASQUEZ, MARIO                      ADDRESS ON FILE
VASQUEZ, MAURICIO                   ADDRESS ON FILE
VASQUEZ, MELITON                    ADDRESS ON FILE
VASQUEZ, NOE                        ADDRESS ON FILE
VASQUEZ, OMAR                       ADDRESS ON FILE
VASQUEZ, RICKY                      ADDRESS ON FILE
VASQUEZ, ROBERT                     ADDRESS ON FILE
VASQUEZ, RONNY                      ADDRESS ON FILE
VASQUEZ, SALVADOR                   ADDRESS ON FILE
VASQUEZ, TERESA                     ADDRESS ON FILE
VASS TRANSPORT INC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VASSEL, JAVON                       ADDRESS ON FILE
VAST CONNECTIONS CORP               OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
VAST TRANSPORTATION CORP            OR SUN CAPITAL GROUP, 6664 ANGELINA CT CHINO CA 91710
VASTAGO LOGISTICS INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VAT EXPRESS INC                     OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
VAT INC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VATTAN TRANSPORTATION, INC.         PO BOX 858 ROSWELL GA 30077
VAUGHAN, DONALD                     ADDRESS ON FILE
VAUGHAN, GARY                       ADDRESS ON FILE
VAUGHAN, HARLEY J                   ADDRESS ON FILE
VAUGHAN, JEREMIAH                   ADDRESS ON FILE
VAUGHAN, WILLIAM                    ADDRESS ON FILE
VAUGHANS LOGISTICS LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VAUGHANS, STEVEN                    ADDRESS ON FILE
VAUGHN, AARON                       ADDRESS ON FILE
VAUGHN, ALERIC                      ADDRESS ON FILE
VAUGHN, ALESHA                      ADDRESS ON FILE
VAUGHN, ANTHONY                     ADDRESS ON FILE
VAUGHN, BOB                         ADDRESS ON FILE
VAUGHN, BRANDON                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 1997 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 2006 of 2156

Claim Name                          Address Information
VAUGHN, CHRISTOPHER                 ADDRESS ON FILE
VAUGHN, FURMAN                      ADDRESS ON FILE
VAUGHN, GUY                         ADDRESS ON FILE
VAUGHN, JAKE                        ADDRESS ON FILE
VAUGHN, JAMES                       ADDRESS ON FILE
VAUGHN, JAMES                       ADDRESS ON FILE
VAUGHN, JORDAN                      ADDRESS ON FILE
VAUGHN, JUSTIN                      ADDRESS ON FILE
VAUGHN, KEVIN                       ADDRESS ON FILE
VAUGHN, LARRY                       ADDRESS ON FILE
VAUGHN, MATTHEW C                   ADDRESS ON FILE
VAUGHN, MICHAEL                     ADDRESS ON FILE
VAUGHN, NOAH                        ADDRESS ON FILE
VAUGHN, RICARDO                     ADDRESS ON FILE
VAUGHN, STEWART                     ADDRESS ON FILE
VAUGHN, THOMAS                      ADDRESS ON FILE
VAUGHN, TYRELL                      ADDRESS ON FILE
VAUGHT, KAREN                       ADDRESS ON FILE
VAUGHT, YANCY                       ADDRESS ON FILE
VAULT ENTERPRISES LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VAUPEL, STEVEN                      ADDRESS ON FILE
VAUTER, MARK                        ADDRESS ON FILE
VAVALA, CAROLYN N                   ADDRESS ON FILE
VAVOSA, ANTHONY                     ADDRESS ON FILE
VAVRA, AARON                        ADDRESS ON FILE
VAY TRANSPORT LLC                   OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
VAYA TRUCKING                       603 LYON CT BUFFALO GROVE IL 60089
VAZ TRUCKS INC.                     OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
VAZ, AMILTON                        ADDRESS ON FILE
VAZEEN, NICHOLAS                    ADDRESS ON FILE
VAZQUEZ, ALEJANDRO                  ADDRESS ON FILE
VAZQUEZ, ALEXIS                     ADDRESS ON FILE
VAZQUEZ, ALFRED                     ADDRESS ON FILE
VAZQUEZ, ANDRE F                    ADDRESS ON FILE
VAZQUEZ, ARMANDO                    ADDRESS ON FILE
VAZQUEZ, CANDELARIO                 ADDRESS ON FILE
VAZQUEZ, CARMEN S                   ADDRESS ON FILE
VAZQUEZ, CARMEN S                   ADDRESS ON FILE
VAZQUEZ, DIEGO                      ADDRESS ON FILE
VAZQUEZ, FERNANDO                   ADDRESS ON FILE
VAZQUEZ, IVAN                       ADDRESS ON FILE
VAZQUEZ, JONATHAN                   ADDRESS ON FILE
VAZQUEZ, JORGE                      ADDRESS ON FILE
VAZQUEZ, JOSE                       ADDRESS ON FILE
VAZQUEZ, JOSEPH                     ADDRESS ON FILE
VAZQUEZ, JUSTIN                     ADDRESS ON FILE
VAZQUEZ, JUSTIN                     ADDRESS ON FILE
VAZQUEZ, KASSANDRA                  ADDRESS ON FILE
VAZQUEZ, LUIS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 1998 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2007 of 2156

Claim Name                           Address Information
VAZQUEZ, MIGUEL                      ADDRESS ON FILE
VAZQUEZ, MIGUEL                      ADDRESS ON FILE
VAZQUEZ, RAFAEL                      ADDRESS ON FILE
VAZQUEZ, RAUL                        ADDRESS ON FILE
VAZQUEZ, RAUL                        ADDRESS ON FILE
VAZQUEZ, SANDRA                      ADDRESS ON FILE
VBN SALES LLC                        8307 S 192ND ST KENT WA 98032
VBS MOBILE EMISSION TESTING          63 COMMISSIONERS ST. EMBRO ON N0J 1J0 CANADA
VBS MOBILE EMISSION TESTING          52 ANDERSON ST WOODSTOCK ON N4S 8X3 CANADA
VBT TRANSPORT INC                    290 EASTHAM CT WEBSTER NY 14580
VBT TRANSPORT LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VC EXPRESS INC                       OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
VC SERVICE                           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VCE TRANSPORTS LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VCI ENVIRONMENTAL                    7094 LAKE DRIVE CIRCLE PINES MN 55014
VCK EXPRESS CORP                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VCT                                  OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
VD SERVICES LLC                      PO BOX 12742 CHICAGO IL 60612
VD TRUCKING LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VDRIVE LOGISTICS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VDT INC                              OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
VDV EXPRESS INCORPORATED             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VEAL, ALEXIS                         ADDRESS ON FILE
VEAL, CARL                           ADDRESS ON FILE
VEAL, CARL L                         ADDRESS ON FILE
VEAL, HERSCHEL                       ADDRESS ON FILE
VEAL, JACOBY                         ADDRESS ON FILE
VEAL, KEVIN                          ADDRESS ON FILE
VEAL, LARRY                          ADDRESS ON FILE
VEASEY, JERRY                        ADDRESS ON FILE
VEASEY, ZACKARY                      ADDRESS ON FILE
VEASEY, ZACKARY                      ADDRESS ON FILE
VEASLEY, DERRICK                     ADDRESS ON FILE
VEAUGHN, REBECCA N                   ADDRESS ON FILE
VEAUGHN, REBECCA N                   ADDRESS ON FILE
VECCHIONI, MARIO                     ADDRESS ON FILE
VECHIARELLA, JIM                     ADDRESS ON FILE
VECKRIDGE CHEMICAL                   60 CENTRAL AVE KEARNY NJ 07032
VECTO INC                            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
VECTOR ELECTRIC AND CONTROLS         6029 3RD ST. S.E CALGARY AB T2H 1K3 CANADA
VEEDER-ROOT FUELQUEST LLC            32982 COLLECTION CENTER DRIVE CHICAGO IL 60693
VEENU, KHANNA                        ADDRESS ON FILE
VEER LOGISTICS INC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VEER TRANSPORT INC.                  OR GREAT PLAINS TRANSPORTATION SRVC INC PO BOX 4539 CAROL STREAM IL 60197
VEGA GARCIA, JOSE                    ADDRESS ON FILE
VEGA LOGISTIC SOLUTIONS LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VEGA RAMIREZ, EDWIN                  ADDRESS ON FILE
VEGA TRANSPORT                       12224 TESSON FERRY RD, SUITE 200 SAINT LOUIS MO 63128
VEGA TRANSPORT                       12224 TESSON FERRY ROAD ST. LOUIS MO 63128



Epiq Corporate Restructuring, LLC                                                               Page 1999 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 2008 of 2156

Claim Name                          Address Information
VEGA VIRGIL                         ADDRESS ON FILE
VEGA, ADREYAN                       ADDRESS ON FILE
VEGA, ADRIEL                        ADDRESS ON FILE
VEGA, ANTHONY                       ADDRESS ON FILE
VEGA, FERNANDO                      ADDRESS ON FILE
VEGA, FRANCISCO                     ADDRESS ON FILE
VEGA, FREDDY                        ADDRESS ON FILE
VEGA, GABRIELA                      ADDRESS ON FILE
VEGA, GERARDO                       ADDRESS ON FILE
VEGA, GILBERT                       ADDRESS ON FILE
VEGA, JAIME                         ADDRESS ON FILE
VEGA, JASON                         ADDRESS ON FILE
VEGA, JAVIER                        ADDRESS ON FILE
VEGA, JOHN                          ADDRESS ON FILE
VEGA, JONATHAN                      ADDRESS ON FILE
VEGA, MARIO                         ADDRESS ON FILE
VEGA, MICHAEL                       ADDRESS ON FILE
VEGA, ROBERT                        ADDRESS ON FILE
VEGA, RUSSELL                       ADDRESS ON FILE
VEGA, ULISES                        ADDRESS ON FILE
VEGA, WILLIAM                       ADDRESS ON FILE
VEGA-GUZMAN, DANIEL                 ADDRESS ON FILE
VEGAS EXPRESS LLC                   7225 GREAT OAK LAS VEGAS NV 89147
VEGAS LINES LLC                     6280 W OQUENDO ROAD LAS VEGAS NV 89118
VEGAS TRUCKING                      OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
VEHIKITE, EDWARD                    ADDRESS ON FILE
VEHRS, DAVID                        ADDRESS ON FILE
VEIDICK, CATHY                      ADDRESS ON FILE
VEIGA TRANSPORT & LOGISTICS LLC     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VEIHL, LARRY                        ADDRESS ON FILE
VEILLARD, ANCELOTY                  ADDRESS ON FILE
VEJAR, LUIS                         ADDRESS ON FILE
VEKA FREIGHT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VEKA INC                            OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
VELA LOGISTICS INC                  1020 OMALLEY DR LAKE ZURICH IL 60047
VELA TRANSPORT                      5427 CRIPPEN AVE SW WYOMING MI 49548
VELA TRANSPORT LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VELA, DANIEL                        ADDRESS ON FILE
VELA, JASON                         ADDRESS ON FILE
VELA, JASON                         ADDRESS ON FILE
VELA, JUAN                          ADDRESS ON FILE
VELA, MANUEL                        ADDRESS ON FILE
VELA, VIVIAN                        ADDRESS ON FILE
VELARDE, DOROTHY                    ADDRESS ON FILE
VELAS CARRIERS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VELASCO PEREZ, LEONARDO             ADDRESS ON FILE
VELASCO, RONNIE                     ADDRESS ON FILE
VELASQUES, JOSE                     ADDRESS ON FILE
VELASQUEZ LOGISTICS LLC             OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487



Epiq Corporate Restructuring, LLC                                                            Page 2000 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2009 of 2156

Claim Name                           Address Information
VELASQUEZ LOGISTICS LLC              20510 KEEGANS LEDGE LN CYPRESS TX 77433-7538
VELASQUEZ, ANNETTE                   ADDRESS ON FILE
VELASQUEZ, ANTHONY                   ADDRESS ON FILE
VELASQUEZ, ANTONIA                   ADDRESS ON FILE
VELASQUEZ, ARTURO                    ADDRESS ON FILE
VELASQUEZ, DAVID                     ADDRESS ON FILE
VELASQUEZ, EDWIN                     ADDRESS ON FILE
VELASQUEZ, FELIX                     ADDRESS ON FILE
VELASQUEZ, FRANCISCO                 ADDRESS ON FILE
VELASQUEZ, KRISTAPHER M              ADDRESS ON FILE
VELASQUEZ, MANZY                     ADDRESS ON FILE
VELASQUEZ, MARTIN                    ADDRESS ON FILE
VELASQUEZ, ROSANNY                   ADDRESS ON FILE
VELASQUEZ, RYAN                      ADDRESS ON FILE
VELAZCO & PONS TRUCKING LLC          OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
VELAZCO & PONS TRUCKING LLC          OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
VELAZQUEZ ORTIZ, JOHNNY              ADDRESS ON FILE
VELAZQUEZ RADILLA, JOSE MANUEL       ADDRESS ON FILE
VELAZQUEZ TRANSPORT                  OR TAFS INC, PO BOX 872632 KANSAS CITY MO 64187
VELAZQUEZ TRANSPORTATION INC         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VELAZQUEZ, CARLOS                    ADDRESS ON FILE
VELAZQUEZ, GILBERTO                  ADDRESS ON FILE
VELAZQUEZ, JESUS                     ADDRESS ON FILE
VELAZQUEZ, JESUS                     ADDRESS ON FILE
VELAZQUEZ, JORGE                     ADDRESS ON FILE
VELAZQUEZ, JOSE                      ADDRESS ON FILE
VELAZQUEZ, JOSE                      ADDRESS ON FILE
VELAZQUEZ, MARCO                     ADDRESS ON FILE
VELAZQUEZ, RICARDO                   ADDRESS ON FILE
VELCRO USA INC                       BAYSTATE LOGISTICS INC, PO BOX 547 LEOMINSTER MA 01453
VELES IMPERIUM INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VELES INC                            4164B LOCHLEVEN TRAIL FAIRFAX PA 22030
VELEZ NIEVES, JADIEL                 ADDRESS ON FILE
VELEZ TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VELEZ TRANSPORTATION LLC             3430 SAN JACINTO CIRCLE SANFORD FL 32771
VELEZ, ENRIQUE                       ADDRESS ON FILE
VELEZ, ERNESTO                       ADDRESS ON FILE
VELEZ, JONATHAN                      ADDRESS ON FILE
VELEZ, JOSE                          ADDRESS ON FILE
VELEZ, JOSE                          ADDRESS ON FILE
VELEZ, JUSTIN                        ADDRESS ON FILE
VELEZ, LUIS                          ADDRESS ON FILE
VELEZ, LUIS                          ADDRESS ON FILE
VELEZ, RAFAEL                        ADDRESS ON FILE
VELEZ, ROMAINE                       ADDRESS ON FILE
VELEZ, ROMAINE M                     ADDRESS ON FILE
VELEZ, TIMOTHY                       ADDRESS ON FILE
VELIZ, GUSTAVO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 2001 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 2010 of 2156

Claim Name                               Address Information
VELJI, SALIMA                            ADDRESS ON FILE
VELJI, SALIMA                            ADDRESS ON FILE
VELLY TRANSPORT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VELMAC LOGISTICS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
VELOCCI, FRANK                           ADDRESS ON FILE
VELOCITI                                 PO BOX 872287 KANSAS CITY MO 64187
VELOCITI                                 PO BOX 872287 KANSAS CITY MO 64187-2287
VELOCITI                                 C/O VELOCITY TRUCK CENTERS PO BOX 101284 PASADENA CA 91189
VELOCITY BY GRACE LLC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
VELOCITY CLEARING (0294)                 ALFRED PENNISI OR PROXY MGR 100 WALL ST 26TH FL NEW YORK NY 10005
VELOCITY PARTNERS LLC                    ATTN: SCOTT HURLBERT PO BOX 987 OLEAN NY 14760
VELOCITY PARTNERS LLC                    PO BOX 987 OLEAN NY 14760
VELOCITY TRANSPORT                       PO BOX 84 ACTON ON L7J 2M2 CANADA
VELOCITY TRANSPORT INC                   OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
VELOCITY TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS PO BOX 7410411 CHICAGO IL 60674-0411
VELOCITY TRANSPORTATION                  3520 LA CLEDE AVE. LOS ANGELES CA 90039
VELOCITY TRANSPORTATION LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VELOCITY TRUCK CENTERS SD                6066 MIRAMAR RD SAN DIEGO CA 92121
VELOCITY TRUCKING LLC                    P.O. BOX 34126 PARMA OH 44134
VELOCITY TRUCKING LLC (MINNEAPOLIS MN)   OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005
VELOX CLEARING LLC (3856)                ATT PROXY MGR 2400 E. KATELLA AVE STE 725 ANAHEIM CA 92806
VELOX TRANSPORT SOLUTIONS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VELOZY XPRESS LLP                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VELTMAN, KEVIN                           ADDRESS ON FILE
VELUX AMERICA                            VELUX AMERICA, 85 SPENCER DR UNIT A WELLS ME 04090
VELUX AMERICA INC                        38 ISIDOR CT STE 100 SPARKS NV 89441
VELUX AMERICA INC                        22645 72ND AVE S KENT WA 98032
VELUX AMERICA LLC                        595 BURBANK ST BROOMFIELD CO 80020
VEN TEX INTERSTATE FREIGHT LLC           OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VENABLE, GREGORY                         ADDRESS ON FILE
VENABLE, JOYCE                           ADDRESS ON FILE
VENABLES, LILA                           ADDRESS ON FILE
VENCOMO, ROBERTO                         ADDRESS ON FILE
VENDER, ROBERT                           ADDRESS ON FILE
VENDIG, SAMANTHA                         ADDRESS ON FILE
VENDING WITH A FLAIR                     14 HOLLENBERG CT. BRIDGETON MO 63044
VENDITTI, DANIEL                         ADDRESS ON FILE
VENDITTI, DUSTIN                         ADDRESS ON FILE
VENDITTI, PAUL                           ADDRESS ON FILE
VENEER TECHNOLOGIES INC FREI             ATTN: ANTHONY LYNCHESKY 611 VERDUN ST NEWPORT NC 28570
VENEGAS, DANIEL                          ADDRESS ON FILE
VENEGAS, JOSE                            ADDRESS ON FILE
VENEGAS, MERVIL                          ADDRESS ON FILE
VENEKAMP, MARK                           ADDRESS ON FILE
VENERABLE, VERNON                        ADDRESS ON FILE
VENESCAR, GERBITHE                       ADDRESS ON FILE
VENEY, MILTON                            ADDRESS ON FILE
VENEY, MILTON                            ADDRESS ON FILE
VENEZIA, JEFFREY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 2002 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2011 of 2156

Claim Name                           Address Information
VENIA-STOKES, CAROL                  ADDRESS ON FILE
VENICE ENTERPRISE, INC.              2832 LONG HILL ROAD VENICE CENTER NY 13147
VENKATARAMAN, AMARNATH               ADDRESS ON FILE
VENTO, KENNETH                       ADDRESS ON FILE
VENTOSA, ARMANDO                     ADDRESS ON FILE
VENTURA COACH                        ATTN: JENNIFER SHUMPERT 73 BLACKWATER DR LUMBERTON NC 28360
VENTURA COUNTY TAX COLLECTOR         800 S VICTORIA AVE VENTURA CA 93009
VENTURA TRANSPORTATION INC           OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320-2487
VENTURA WATER                        336 SANJON RD VENTURA CA 93002
VENTURA, ARNALDO                     ADDRESS ON FILE
VENTURA, BARBARA                     ADDRESS ON FILE
VENTURA, CHRISTOPHER                 ADDRESS ON FILE
VENTURA, DANY                        ADDRESS ON FILE
VENTURA, DENISS                      ADDRESS ON FILE
VENTURA, HECTOR                      ADDRESS ON FILE
VENTURA, JOSHUA                      ADDRESS ON FILE
VENTURA, NOE                         ADDRESS ON FILE
VENTURE CONNECT                      ADDRESS ON FILE
VENTURE LOGISTICS                    L-3852 COLUMBUS OH 43260-3852
VENTURE PRODUCTS INC                 500 VENTURE DR ORRVILLE OH 44667
VENTURELLA, JOSEPH                   ADDRESS ON FILE
VENTURINI, PETE                      ADDRESS ON FILE
VENTURO, LUIZ                        ADDRESS ON FILE
VENUS FREIGHT CARRIER LLC            P O BOX 1615 BELLAIRE TX 77402
VENUS LOGISTICS INC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
VENUS LOGISTICS INC (MC1117824)      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VENUS TRANSPORTATION LLC             7000 WESTVIEW DR, APT 118 HOUSTON TX 77055
VENUS TRUCKING                       OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
VENUTI TOWING & RECOVERY             PO BOX 248 LELAND MS 38756
VENUTI, PAIGE                        ADDRESS ON FILE
VENVERTLOHS LANDSCAPING-LAWN         2736 WINDY HILL ROAD QUINCY IL 62305
VEOLIA WATER TECHNOLOGIES            ATTN: VEOLIA 945 S BROWN SCHOOL RD VANDALIA OH 45377
VEOS LOGISTIC LLC                    142 GARDENIA RD TUCKER GA 30084
VEPREK, BRIAN                        ADDRESS ON FILE
VERA AUTO CARRIERS INC               OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
VERA ENTERPRISES & LOGISTICS LLC     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
VERA GLOBAL, INC.                    150 RED CEDAR DRIVE STREAMWOOD IL 60107
VERA GLOBAL, INC.                    PO BOX 1248 WESTMONT IL 60559
VERA MCBURROUGH                      ADDRESS ON FILE
VERA, GEORGE                         ADDRESS ON FILE
VERA, JAVIER                         ADDRESS ON FILE
VERA, RAFAEL                         ADDRESS ON FILE
VERA, SAUL                           ADDRESS ON FILE
VERACITY EXPRESS INC                 TRANS FG INC, PO BOX 743863 LOS ANGELES CA 90074-3863
VERAZ TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VERBURG, CATHY                       ADDRESS ON FILE
VERBURG, KATHRYN                     ADDRESS ON FILE
VERCHER, TYREECE L                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2003 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2012 of 2156

Claim Name                           Address Information
VERDA EXPRESS INC                    OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197
VERDE LOGISTICS LLC                  OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
VERDECIA & FRANCO LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
VERDESCO, JOSEPH                     ADDRESS ON FILE
VERDESOTO, JULIO                     ADDRESS ON FILE
VERDIN, EDWIN                        ADDRESS ON FILE
VERDIN, STEVEN                       ADDRESS ON FILE
VERDONE, BRIAN                       ADDRESS ON FILE
VERDONE, RYAN                        ADDRESS ON FILE
VERDUZCO, ANGEL                      ADDRESS ON FILE
VERDUZCO, JORGE                      ADDRESS ON FILE
VERED TRANSPORTATION LLC             OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
VEREEN, EMERY                        ADDRESS ON FILE
VEREN TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VERGUSON, QUINESHA                   ADDRESS ON FILE
VERHAGE, RICHARD M                   ADDRESS ON FILE
VERHINES, MICHAEL                    ADDRESS ON FILE
VERHOEVEN, JULIE                     ADDRESS ON FILE
VERHOEVEN, SARA                      ADDRESS ON FILE
VERIDIAN LANDCARE SERVICES, LLC      10685 GERA ROAD BIRCH RUN MI 48415
VERIFIED TRANSPORT LLC               OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
VERILA TRANS INC                     4718 N ODELL AVE HARWOOD HEIGHTS IL 60706
VERITAS DISPATCH LLC                 OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
VERITIV                              5367 NEW PEACHTREE RD CHAMBLEE GA 30341
VERITIV                              ATTN: JULIAN LAWTHER 6870 FIRSTPARK BLVD STE 100 LAKELAND FL 33805
VERITIV                              ATTN: LORREN BARETT 13201 WILFRED LN N ROGERS MN 55374
VERITIV                              ATTN: MICHAEL WESSEL 13201 WILFRED LN N ROGERS MN 55374
VERITIV                              2600 COMMERCE WAY COMMERCE CA 90040
VERITIV                              7500 AMIGOS AVE DOWNEY CA 90242
VERITIV                              9111 NE COLUMBIA BLVD. PORTLAND OR 97220
VERITIV CORP                         844 N 47TH AVE PHOENIX AZ 85043
VERITIV CORPORATION                  ATTN: DREW YOUNG 4700 S PALISADE ST WICHITA KS 67217
VERITIV LOGISTICS SOLUTIONS          6600 GOVERNORS LAKE PKWY NORCROSS GA 30071
VERITIV OPERATING CO                 ATTN: C/O US BANK PO BOX 3001 NAPERVILLE IL 60566
VERITIV.                             7011 S 188TH ST KENT WA 98032
VERIZON                              PO BOX 16802 NEWARK NJ 07101
VERIZON                              1095 AVENUE OF THE AMERICAS NEW YORK NY 10036
VERIZON                              111 MAIN STREET WHITE PLAIN NY 10601
VERIZON                              135 ODEL ST. LACKAWANNA NY 14218
VERIZON BUSINESS                     1095 AVENUE OF THE AMERICAS NEW YORK NY 10036
VERIZON BUSINESS                     PO BOX 15043 ALBANY NY 12212
VERIZON COMMUNICATIONS               C/O CMR CLAIMS DEPT PO BOX 60553 OKLAHOMA CITY OK 73146
VERIZON COMMUNICATIONS INC.          1095 AVENUE OF THE AMERICAS NEW YORK NY 10036
VERIZON COMMUNICATIONS INC.          P O BOX 28000 LEHIGH VALLEY PA 18002
VERIZON COMMUNICATIONS INC.          PO BOX 15124 ALBANY NY 12212
VERIZON CONNECT TELO INC             PO BOX 844183 LOS ANGELES CA 90084
VERIZON NEW JERSEY,INC.              C/O ANDREW L. SALVATORE, ESQ. LLC ATTN: ANDREW L. SALVATORE, ESQ. 100 SOUTH
                                     JUNIPER STREET, 3RD FLOOR 325 PHILADELPIA PA 19107
VERIZON NEW JERSEY,INC.              PO BOX 60553 OKLAHOMA CITY OK 73146



Epiq Corporate Restructuring, LLC                                                               Page 2004 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2013 of 2156

Claim Name                            Address Information
VERIZON PENNSYLVANIA INC              PO BOX 16801 NEWARK NJ 07101
VERIZON PENNSYLVANIA INC              PO BOX 4833 TRENTON NJ 08650
VERIZON PENNSYLVANIA INC              1717 ARCH ST, LBBY 3 PHILADELPHIA PA 19103-2713
VERIZON WIRELESS                      1095 AVENUE OF THE AMERICAS NEW YORK NY 10036
VERIZON WIRELESS                      PO BOX 25505 LEHIGH VALLEY PA 18002
VERIZON WIRELESS                      PO BOX 15062 ALBANY NY 12212
VERKLER, HARRY                        ADDRESS ON FILE
VERMA CARRIERS LLC                    OR MJN CAPITAL, INC., 534 E 800 N OREM UT 84097
VERMA TRANSPORT INC                   97 HARTLEY CT MERCED CA 95341
VERMANI TRUCKING INC                  OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
VERMANI TRUCKING INC                  PO BOX 58028 NORTH YORK ON M6A3C8 CANADA
VERMILION COUNTY TREASURER            P.O. BOX 730 DANVILLE IL 61834-0730
VERMILION COUNTY TREASURER            SUE STINE, TAX COLLECTOR, P.O. BOX 730 DANVILLE IL 61834-0730
VERMILLION, CURTIS                    ADDRESS ON FILE
VERMILLION, JAMES                     ADDRESS ON FILE
VERMONT DEPARTMENT OF TAXES           PO BOX 547 MONTPELIER VT 05601
VERMONT DEPARTMENT OF TAXES           109 STATE ST MONTPELIER VT 05609
VERMONT DEPARTMENT OF TAXES           133 STATE STREET MONTPELIER VT 05633
VERMONT HERITAGE SPRING WATER         98 JOHNS RIVER DRIVE NEWPORT VT 05855
VERMONT STATE TREASURERS OFFICE       109 STATE STREET 4TH FLOOR MONTPELIER VT 05609
VERMONT TRUCK & BUS ASSOCIATION INC   PO BOX 3898 CONCORD NH 03302
VERMURLEN, SHERRIE                    ADDRESS ON FILE
VERN HOOD LLC                         OR NFUSION CAPITAL, LLC, PO BOX 151072 OGDEN UT 84415
VERN LEWIS WELDING SUPPLY             1333 N 21 AVENUE PHOENIX AZ 85009
VERN LEWIS WELDING SUPPLY, INC.       742 E MAIN ST AVONDALE AZ 85323
VERN MORGANS AUTO SALES               10 ITHACA STREET HORSEHEADS NY 14845
VERNELL, JOSEPH                       ADDRESS ON FILE
VERNELLS INTERSTATE SERVICE INC       2605 W VERNELL RD MARION IL 62959
VERNER, JAYLEN                        ADDRESS ON FILE
VERNON, DENISE                        ADDRESS ON FILE
VERNON, KEN                           ADDRESS ON FILE
VERNON, LEONARD                       ADDRESS ON FILE
VERNOSKI, ALLEN                       ADDRESS ON FILE
VEROOT LLC                            PO BOX 57 BEREA OH 44017
VERRAZANO, LUCIANO                    ADDRESS ON FILE
VERREEN, CALIEL                       ADDRESS ON FILE
VERRETTE, JASON L                     ADDRESS ON FILE
VERSACKAS, DEBRA                      ADDRESS ON FILE
VERSATILE TRANSPORT                   13985 INDUSTRY AVE SE BECKER MN 55308
VERSATRANS SOLUTIONS INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VERSATUBE BUILDING SYSTEMS            50 EASTLEY ST COLLIERVILLE TN 38017
VERSBONCOEUR, JOSEPH                  ADDRESS ON FILE
VERSCHELDEN, LUCAS                    ADDRESS ON FILE
VERSHER, WILLIAM                      ADDRESS ON FILE
VERSO CORPORATION                     ATTN LOCKBOX 774621, 4621 SOLUTIONS CTR CHICAGO IL 60677
VERSO CORPORATION                     LOCKBOX 774621, 4621 SOLUTIONS CENTE CHICAGO IL 60677
VERSO CORPORATION                     LOCKBOX 774621, 4621 SOLUTIONS CENTR CHICAGO IL 60677
VERSTEEG, KEVIN                       ADDRESS ON FILE
VERTEX CHINA                          1793 W 2ND ST POMONA CA 91766



Epiq Corporate Restructuring, LLC                                                                Page 2005 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2014 of 2156

Claim Name                               Address Information
VERTEX TRANSPORT INC                     OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
VERTEX TRANSPORTATION LLC                OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
VERTINA, TROY                            ADDRESS ON FILE
VERTIV CORPORATION                       PO BOX 70474 CHICAGO IL 60673
VERTIZ, ABEL                             ADDRESS ON FILE
VERTZ, DANIEL                            ADDRESS ON FILE
VERVERS, MICHAEL                         ADDRESS ON FILE
VERY BEST TRANSPORT LLC                  OR GRADE A FUNDING INC., P.O. BOX 45 HUNTINGBURG IN 47542
VESCO OIL CORPORATION                    P.O. BOX 525 SOUTHFIELD MI 48037
VESCO OIL CORPORATION                    PO BOX 525 16055 W. 12 MILE RD SOUTHFIELD MI 48037
VESCO OIL CORPORATION                    P.O. BOX 675371 DETROIT MI 48267
VESONE TRANSPORTATION INC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VESPOLI, GEORGE                          ADDRESS ON FILE
VESSAR, THAD                             ADDRESS ON FILE
VESSEY, ANTHONY                          ADDRESS ON FILE
VEST, DESIREE                            ADDRESS ON FILE
VEST, JASON                              ADDRESS ON FILE
VEST, JOSHUA                             ADDRESS ON FILE
VESTAL, ERICA                            ADDRESS ON FILE
VESTIL                                   ATTN: REBECCA HAYES 900 GROWTH PKWY ANGOLA IN 46703
VESTIL MANUFACTRUING                     900 GROWTH PARKWAY ANGOLA IN 46703
VESTIL MANUFACTURING                     900 GROWTH PKWY ANGOLA IN 46703
VESTIL MFG                               ATTN: LAUREN SWYGART 900 GROWTH PKWY ANGOLA IN 46703
VET RUNNERS TRANSPORTATION INC           OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
VETERAN / NITRO-GREEN                    5825 TITAN AVE 2 BILLINGS MT 59101
VETERAN TRANSPORT LLC (MC1203774)        OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
VETERANS AFFAIRS                         ATTN: THOMAS WALSH 1901 VETERANS MEMORIAL DR TEMPLE TX 76504
VETERANS CHOICE LLC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VETERANS DISBRIBUTION                    BUTTERFIELD RD. HILLSIDE IL 60162
VETERANS EXPEDITE LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VETERANS GARAGE DOOR COMPANY             1257 BEN RICHEY DRIVE ABILENE TX 79602
VETERANS LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VETERANS MARINE REPAIR LLC               889 E ANDERSON DR STE 600 GROVELAND FL 34736
VETERANS PLUMBING SRVC & SUPPLIES LINC   105 MAIN STREET 3RD FL HACKENSACK NJ 07601
VETERANS PLUMBING SVCE & SUPPLIES LINC   105 MAIN STREET 3RD FL NJHIC 13VH06557100 HACKENSACK NJ 07601
VETERANS UNITED                          OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
VETERANS WORLDWIDE MAINTENANCE           105 MAIN STREET, 3RD FL HACKENSACK NJ 07601
VETRANO, STEVEN                          ADDRESS ON FILE
VETS SAFETY FIRST TRANSPORTATION LLC     OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
VETSLG                                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
VEZINA TRANSPORT                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VEZINA, MARVIN                           ADDRESS ON FILE
VF TRANSPORTATION LLC                    OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459
VF TRUCKING LLC                          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VFC DISTRIBUTORS, INC.                   PO BOX 709 MILAN IL 61264
VFP FIRE SYSTEMS INC                     C/O CORNERSTONE BILLING, PO BOX 428 BEDFORD PARK IL 60499
VFP FIRE SYSTEMS, INC                    PO BOX 74008409 CHICAGO IL 60674
VFP FIRE SYSTEMS, INC                    PO BOX 74008409 CHICAGO IL 60674-8409
VFS EXCAVATING LLC                       PO BOX 755 SELAH WA 98942



Epiq Corporate Restructuring, LLC                                                                 Page 2006 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2015 of 2156

Claim Name                           Address Information
VFS FIRE & SECURITY SERVICES         501 W SOUTHERN AVE ORANGE CA 92865
VFW, POST 7573                       ADDRESS ON FILE
VG TRUCKING INC                      P O BOX 64263 ROCHESTER NY 14624
VGS                                  85 SWIFT ST S BURLINGTON VT 05403
VGT TRANSPORTATION INC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VHA DISTRIBUTOR INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
VHS TRUCKING INC.                    OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
VI MOVEMENTS LLC                     OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
VIA AZUL LLC                         OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VIA EGNATIA LOGISTICS LLC            OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
VIA FREIGHT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VIA TRANSIT                          800 W MYRTLE ST SAN ANTONIO TX 78212
VIA, ANTHONY                         ADDRESS ON FILE
VIAL EXPRESS LLC                     OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                     35246-2659
VIAN, STEVEN                         ADDRESS ON FILE
VIANA, DAVID                         ADDRESS ON FILE
VIANA, PETER                         ADDRESS ON FILE
VIANT, ALBERT                        ADDRESS ON FILE
VIAS TRUCK & TRACTOR REPAIR          572 VIA DRIVE SW FLOYD VA 24091
VIAU, DAN                            ADDRESS ON FILE
VIB EXPRESS INC                      OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
VIBE TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VIBO TRANS INC                       930 PLUM GROVE CIR BUFFALO GROVE IL 60089
VIBRANTZ TECHNOLOGIES                AFS LOGISTICS LLC PO BOX 18170 SHREVEPORT LA 71138
VICE, JAMES                          ADDRESS ON FILE
VICE, MATTHEW                        ADDRESS ON FILE
VICKER, RONALD                       ADDRESS ON FILE
VICKERS, CLINTON                     ADDRESS ON FILE
VICKERY HARDWARE COMPANY INC         881 CONCORD RD SE SMYRNA GA 30080
VICKERY, ANDREW                      ADDRESS ON FILE
VICKERY, WILLIAM                     ADDRESS ON FILE
VICKIE L DANKOWSKI                   ADDRESS ON FILE
VICKIE PINKHAM                       ADDRESS ON FILE
VICKYS TRANSPORTATION LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VICTOR A SOSA                        ADDRESS ON FILE
VICTOR ALLEN HOPKINS JR              ADDRESS ON FILE
VICTOR GARCIA                        ADDRESS ON FILE
VICTOR H MEDINA                      ADDRESS ON FILE
VICTOR LEON HARPER                   ADDRESS ON FILE
VICTOR M ALLEN                       ADDRESS ON FILE
VICTOR M RIVERA RIOS                 ADDRESS ON FILE
VICTOR MANUEL TAPIA LOZORIA          ADDRESS ON FILE
VICTOR ORNELAS                       ADDRESS ON FILE
VICTOR TRANSPORTATION INC            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VICTOR TRUCKLINES INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VICTOR, CLARENCE                     ADDRESS ON FILE
VICTORES, HASSAN                     ADDRESS ON FILE
VICTORIA C HAYCOCK                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2007 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                              Page 2016 of 2156

Claim Name                             Address Information
VICTORIA C. HAYCOCK                    ADDRESS ON FILE
VICTORIA HALLMAN                       ADDRESS ON FILE
VICTORY ENTERPRISE LOGISTICS, LLC      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VICTORY EXPRESS INC                    360 CORONADO DR ROCHESTER NY 14617
VICTORY LAP EXPRESS LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VICTORY LINES INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VICTORY LOGISTICS LLC (MC1323518)      OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
VICTORY PACKAGING                      355 MAPLE ST BELLINGHAM MA 02019
VICTORY PARK CAPITAL ADVISORS /JASAN   ATTN BRIAN FIRSICK 11840 WESTLINE INDUSTRIAL DR STE 200 SAINT LOUIS MO 63146
VICTORY TRANS INC                      OR CRESTMARK TPG LLC PO BOX 682909 DRAWER 1965 FRANKLIN TN 37068
VICTORY TRANSIT INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VICTORY TRANSPORT                      OR ENGLAND CARRIER, PO BOX 953086 ST LOUIS MO 63195
VICTORY TRANSPORT CORP                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
VICTORY TRANSPORTATION LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VICTORY TRUCKING LLC (BRIDGEPORT CT)   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VICTORY WHOLESALE GROCERS              ATTN: KATLYN BROCK 400 VICTORY LN SPRINGBORO OH 45066
VICTORY, JAE                           ADDRESS ON FILE
VIDA BELLA TRUCKING LLC                46 TAFT AVE WOODLAND PARK NJ 07424-3316
VIDA, JAMES                            ADDRESS ON FILE
VIDAL RAMOS, JOSE                      ADDRESS ON FILE
VIDAL, ADOLFO                          ADDRESS ON FILE
VIDAL, JAIME                           ADDRESS ON FILE
VIDAL, JESSE                           ADDRESS ON FILE
VIDEOTRONIX, INCORPORATED              DBA VTI SECURITY, PO BOX 860660 MINNEAPOLIS MN 55486
VIDIS TRUCKING INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VIDMA INC                              OR NEXT DAY FUNDING, INC, PO BOX 640 CHICAGO HEIGHTS IL 60412
VIEMEISTER, KARL                       ADDRESS ON FILE
VIENS, MARIO                           ADDRESS ON FILE
VIERA, OCTAVIO F                       ADDRESS ON FILE
VIERA, VICTOR                          ADDRESS ON FILE
VIERECK, CHRISTOPHER                   ADDRESS ON FILE
VIERRA, ELIZABETH                      ADDRESS ON FILE
VIERTELS HEAVY DUTY DIVISION           2010 N FIGUEROA ST LOS ANGELES CA 90065
VIETH, NICHOLAS                        ADDRESS ON FILE
VIETZKE, THOMAS                        ADDRESS ON FILE
VIEWEG REAL ESTATE                     225 SOUTH MAIN STREET SUITE 200 DECATUR IL 62523
VIEWEG REAL ESTATE                     ATTN: TIM VIEWEG 225 SOUTH MAIN STREET SUITE 225 DECATUR IL 62523
VIEYRA TRANSPORT INC                   OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
VIEYRA, ARMANDO                        ADDRESS ON FILE
VIG TRUCKING, INC.                     7649 W AINSLIE ST. NORRIDGE IL 60706
VIGGERS, KRISTY                        ADDRESS ON FILE
VIGGIANI, RALPH                        ADDRESS ON FILE
VIGGO SUPPLIERS LLC                    OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
VIGIL, CHRISTINA                       ADDRESS ON FILE
VIGIL, JOSEPH                          ADDRESS ON FILE
VIGIL, KENNETH E                       ADDRESS ON FILE
VIGIL, MANUEL                          ADDRESS ON FILE
VIGIL, MEGAN                           ADDRESS ON FILE
VIGIL, NICHOLAS                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 2008 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2017 of 2156

Claim Name                           Address Information
VIGIL, RILEY                         ADDRESS ON FILE
VIGIL, ROGELIO                       ADDRESS ON FILE
VIGILANT LOGISTICS                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VIGO, TRACY                          ADDRESS ON FILE
VIGOOLE TRANSPORT INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VIGORITO, VINCENT                    ADDRESS ON FILE
VIK TRANSPORTATION INC               OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
VIK TRUCKING INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
VIK TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VIKARM TRUCKING INC                  OR ROYALTY CAPITAL INC. P.O. BOX 842205 DALLAS TX 75284
VIKING AUTOMATIC SPRINKLER CO        PO BOX 74008409 CHICAGO IL 60674
VIKING AUTOMATIC SPRINKLER CO        3245 N.W. FRONT AVENUE PORTLAND OR 97210
VIKING CARGO LLC (MC1135014)         OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
VIKING ELECTRIC                      2025 COUNTY RD U WAUSAU WI 54401
VIKING FIRE PROTECTION, INC.         OF THE SOUTHEAST PO BOX 527 HIGH POINT NC 27261
VIKING TRANSPORTATION INC.           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VIKING TRUCKING LLC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
VIKINGS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VIKTOR TRANSPORTATION INC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VILA TRUCKING INC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VILAMAA, JOUKO                       ADDRESS ON FILE
VILANO INCORPORATED                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VILES, THOMAS                        ADDRESS ON FILE
VILES, WILLIAM                       ADDRESS ON FILE
VILIAMU, ALOFA                       ADDRESS ON FILE
VILLA FOREVER TRANSPORT              OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
VILLA VISTA WEST LLC                 605 W WILLOW AVE TAMPA FL 33606
VILLA VISTA WEST, LLC                ATTN: OZZIE MUTZ 605 S WILLOW AVENUE TAMPA FL 33606
VILLA, ADRIAN                        ADDRESS ON FILE
VILLA, DANIEL                        ADDRESS ON FILE
VILLA, EMILIO                        ADDRESS ON FILE
VILLA, JAIME                         ADDRESS ON FILE
VILLA, JOEL                          ADDRESS ON FILE
VILLA, JONATHAN                      ADDRESS ON FILE
VILLA, JORGE                         ADDRESS ON FILE
VILLA, JORGE L                       ADDRESS ON FILE
VILLA, MARCO                         ADDRESS ON FILE
VILLA, RENE                          ADDRESS ON FILE
VILLA, ROBERT                        ADDRESS ON FILE
VILLA, SILVINA                       ADDRESS ON FILE
VILLACIS, DAVID                      ADDRESS ON FILE
VILLAFANA, ESPERANZA                 ADDRESS ON FILE
VILLAGE HAULERS INC                  56-50 EDINBURGH DRIVE BRAMPTON ON L6Y 1N9 CANADA
VILLAGE LOCKSMITH                    409 WEST MAIN COLLINSVILLE IL 62234
VILLAGE MOTORS INC                   3009 E STATE RD 10 LAKE VILLAGE IN 46349
VILLAGE OF ASHWAUBENON               2155 HOLMGREN WAY, ASHWAUBENON WI 54304
VILLAGE OF BOLINGBROOK               375 W BRIARCLIFF RD BOLINGBROOK IL 60440
VILLAGE OF EAST HAZEL CREST          17223 SOUTH THROOP STREET EAST HAZEL CREST IL 60429



Epiq Corporate Restructuring, LLC                                                               Page 2009 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2018 of 2156

Claim Name                               Address Information
VILLAGE OF GRAFTON                       860 BADGER CIRCLE GRAFTON WI 53024
VILLAGE OF LAGRANGE                      304 W BURLINGTON LA GRANGE IL 60525
VILLAGE OF MAYBROOK                      111 SHIPPS LN MAYBROOK NY 12543
VILLAGE OF MAYBROOK                      109 MAIN ST MAYBROOK NY 12543
VILLAGE OF MAYBROOK                      111 SCHIPPS LANE MAYBROOK NY 12543
VILLAGE OF MCCOOK                        5000 GLENCOE AVE MCCOOK IL 60525
VILLAGE OF MCCOOK                        WATER DEPT, 5000 GLENCOE AVE MC COOK IL 60525
VILLAGE OF MONTGOMERY                    133 CLINTON ST MONTGOMERY NY 12549
VILLAGE OF MORTON                        PO BOX 28 MORTON IL 61550
VILLAGE OF SAUK VILLAGE                  21801 TORRENCE AVE SAUK VILLAGE IL 60411
VILLAGE OF SCHAUMBURG                    101 SCHAUMBURG COURT SCHAUMBURG IL 60193
VILLAGE OF SCHAUMBURG                    101 SCHAUMBURG CT. SCHAUMBURG IL 60193
VILLAGE OF WESTMONT                      C/O IRMA 999 OAKMONT PLAZA DR STE 310 WESTMONT IL 60559-5547
VILLAGE OF WHEELING                      2 COMMUNITY BLVD WHEELING IL 60090
VILLAGE OF WHEELING                      PO BOX 4898 CHICAGO IL 60680-4898
VILLAGRANA, DAVID                        ADDRESS ON FILE
VILLALOBOS DAVILA, RAMIRO                ADDRESS ON FILE
VILLALPANDO MARTINEZ, NESTOR             ADDRESS ON FILE
VILLALTA, TAYA                           ADDRESS ON FILE
VILLANUEVA AND SONS FLEET SERVICE, INC   2414 COLIMA STREET SAN ANTONIO TX 78207
VILLANUEVA AND SONS FLEET SERVICE, INC   823 FRIO CITY RD SAN ANTONIO TX 78207
VILLANUEVA QUINTEROS, JOSE               ADDRESS ON FILE
VILLANUEVA, ANGEL                        ADDRESS ON FILE
VILLANUEVA, ANTHONY                      ADDRESS ON FILE
VILLANUEVA, ARNULFO                      ADDRESS ON FILE
VILLANUEVA, CELESTE                      ADDRESS ON FILE
VILLANUEVA, ELIZABETH                    ADDRESS ON FILE
VILLANUEVA, HIRAM                        ADDRESS ON FILE
VILLANUEVA, LOUIS                        ADDRESS ON FILE
VILLANUEVA, LUCAS                        ADDRESS ON FILE
VILLANUEVA, PEDRO                        ADDRESS ON FILE
VILLANUEVA, ROBERTO                      ADDRESS ON FILE
VILLAPENA, FROILAN                       ADDRESS ON FILE
VILLAPUDUA, MARTIN                       ADDRESS ON FILE
VILLARIASA, SEAN                         ADDRESS ON FILE
VILLARONGA, RAFAEL                       ADDRESS ON FILE
VILLARREAL & SONS ENTERPRISES, INC.      2517 WYOMING AVE. EL PASO TX 79903
VILLARREAL, AMALIO                       ADDRESS ON FILE
VILLARREAL, ANA                          ADDRESS ON FILE
VILLARREAL, BLANCA                       ADDRESS ON FILE
VILLARREAL, BLANCA                       ADDRESS ON FILE
VILLARREAL, CASSANDRA                    ADDRESS ON FILE
VILLARREAL, DANIEL                       ADDRESS ON FILE
VILLARREAL, DEBORAH                      ADDRESS ON FILE
VILLARREAL, GABRIEL                      ADDRESS ON FILE
VILLARREAL, GLORIA                       ADDRESS ON FILE
VILLARREAL, JESUS                        ADDRESS ON FILE
VILLARREAL, JOSE                         ADDRESS ON FILE
VILLARREAL, MARIA                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 2010 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2019 of 2156

Claim Name                           Address Information
VILLARREAL, NICHOLAS J               ADDRESS ON FILE
VILLARREAL, OBED                     ADDRESS ON FILE
VILLARREAL, OBED                     ADDRESS ON FILE
VILLARREAL, RAFAEL                   ADDRESS ON FILE
VILLARREAL, ROBERT A                 ADDRESS ON FILE
VILLARREAL, SERGIO                   ADDRESS ON FILE
VILLARRIAL, ANDRE                    ADDRESS ON FILE
VILLASENOR, CAROLINA                 ADDRESS ON FILE
VILLASENOR, DOMINGO                  ADDRESS ON FILE
VILLATORO GUEVARA, EDGARDO           ADDRESS ON FILE
VILLATORO, YESICA                    ADDRESS ON FILE
VILLATOROCANALES, T D                ADDRESS ON FILE
VILLE DE MONTREAL                    CP 11043 SUCC CENTRE VILLE MONTREAL QC H3C4X8 CANADA
VILLEDA AREVALO, FRANCISCO A         ADDRESS ON FILE
VILLEDA, ANGEL                       ADDRESS ON FILE
VILLEGAS TRANSPORT INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VILLEGAS TRANSPORT LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VILLEGAS TRUCKING LLC                OR BASICBLOCK INC., PO BOX 8697 OMAHA NE 68108
VILLEGAS, ALLISON                    ADDRESS ON FILE
VILLEGAS, GABRIEL                    ADDRESS ON FILE
VILLEGAS, GABRIEL                    ADDRESS ON FILE
VILLEGAS, JOSE                       ADDRESS ON FILE
VILLEGAS, RUBEN                      ADDRESS ON FILE
VILLEGAS, SAMUEL                     ADDRESS ON FILE
VILLEGAS, SHAYLA                     ADDRESS ON FILE
VILLELA TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VILLEN TRUCKING                      1156 SHAYLENE COURT YUBA CITY CA 95993
VILLESCAS, VICTOR                    ADDRESS ON FILE
VILLIA, ROZLYNN                      ADDRESS ON FILE
VILLICANA, MIREYA                    ADDRESS ON FILE
VILLIER, DONALD                      ADDRESS ON FILE
VILLWOCK, JEREMY                     ADDRESS ON FILE
VIM RECYCLERS INC.                   920 RATHBONE AVE. AURORA IL 60506
VIMAX TRANSPORTATION INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VIN LOGISTICS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VINCE A MORROW                       ADDRESS ON FILE
VINCE SANCHEZ                        ADDRESS ON FILE
VINCENT C BAPTISTA                   ADDRESS ON FILE
VINCENT CUSANO                       ADDRESS ON FILE
VINCENT F SIMS                       ADDRESS ON FILE
VINCENT R JACKSON                    ADDRESS ON FILE
VINCENT, CHADWICK                    ADDRESS ON FILE
VINCENT, DENIS                       ADDRESS ON FILE
VINCENT, DONNA                       ADDRESS ON FILE
VINCENT, GENEVIEVE                   ADDRESS ON FILE
VINCENT, GREGORIE                    ADDRESS ON FILE
VINCENT, RON                         ADDRESS ON FILE
VINCETT, JEFFREY                     ADDRESS ON FILE
VINCHA LOGISTICS LLC                 OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415



Epiq Corporate Restructuring, LLC                                                            Page 2011 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2020 of 2156

Claim Name                               Address Information
VINCIOLSEN, CYLE                         ADDRESS ON FILE
VINCO LOGISTICS, INC.                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VIND, ROGER                              ADDRESS ON FILE
VINE, DELAWAYNE                          ADDRESS ON FILE
VINEIS, MATTHEW                          ADDRESS ON FILE
VINELAND TRUCK CENTRE                    5602 TENTH LINE UNIT 1 MISSISSAUGA ON L5M 0M5 CANADA
VINES TRUCKING LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VINES, JACKSON                           ADDRESS ON FILE
VINEYARD, KELLY D                        ADDRESS ON FILE
VINITA EXPRESS INC                       OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
VINJO ENTERPRISES LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VINKAVICH, WAYNE                         ADDRESS ON FILE
VINNIE CUSANO                            ADDRESS ON FILE
VINNOVA INC                              ATTN: DORIS SAM 5695 E FRANCIS ST ONTARIO CA 91761
VINNOVA INC                              ATTN: MEGAN WILSON 5695 E FRANCIS ST ONTARIO CA 91761
VINNOVA INC                              ATTN: VINNOVA INC 5695 E FRANCIS ST ONTARIO CA 91761
VINOMO GROUP LIMITED LIABILITY COMPANY   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
VINSON & SILL INC                        PO BOX 74 LIMA IL 62348
VINSON, ANTHONY L                        ADDRESS ON FILE
VINSON, KENNY P                          ADDRESS ON FILE
VINSON, MARIO                            ADDRESS ON FILE
VINSON, MARTY                            ADDRESS ON FILE
VINSON, NICHOLAS                         ADDRESS ON FILE
VINTAGE TRANSPORT INC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
VINTAGE TRUCKING INC                     OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
VINTAGE TUB & BATH                       395 OAK HILL RD MOUNTAIN TOP PA 18707
VINTAGE TUB & BATH                       ATTN: MARIEA RODRIGUEZ 395 OAK HILL RD MOUNTAIN TOP PA 18707
VINTAGE TUB & BATH                       ATTN: MARIELA R 395 OAK HILL RD MOUNTAIN TOP PA 18707
VINTAGE TUB & BATH                       ATTN: MARIELA RODRIGUEZ 395 OAK HILL RD MOUNTAIN TOP PA 18707
VINTAGE WOODWORKS                        PO BOX 39 QUINLAN TX 75474
VINTEK, INC.                             PO BOX 824693 PHILADELPHIA PA 19182
VINTHER, STEVEN                          ADDRESS ON FILE
VINTON MUNICIPAL ELECTRIC UTILITY        214 E 2ND ST VINTON IA 52349
VINTON, EDWARD                           ADDRESS ON FILE
VINYL VISION                             5380 E LARRY CALDWELL DR PRESCOTT AZ 86301
VINYL VISIONS                            5380 LARRY CALDWELL SANTA MARIA CA 93455
VINYL VISIONS.                           5380 E LARRY CALDWELL DR PRESCOTT AZ 86301
VIOLA RHODES TRANSPORTATION LLC          OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VIOLA, GREGORY                           ADDRESS ON FILE
VIOLA, MARLENE                           ADDRESS ON FILE
VIOLA, VINCENZO                          ADDRESS ON FILE
VIOLANTE, FRANK                          ADDRESS ON FILE
VIOLANTE, FRANK S                        ADDRESS ON FILE
VIOLETTE, JAMES                          ADDRESS ON FILE
VIOR TRANSPORTATION INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VIP CONSULTING LLC                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VIP EXPRESS INC                          4 HUNTING HORN CT REISTERSTOWN MD 21136-5300



Epiq Corporate Restructuring, LLC                                                                 Page 2012 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2021 of 2156

Claim Name                           Address Information
VIP EXPRESS LLC (EAST BETHEL MN)     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VIP GLOBAL INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VIP LOGISTICS INC                    5437 S ASHLAND AVE COUNTRYSIDE IL 60525
VIP LOGISTICS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VIP LOGISTICS LLC                    42 HALLECK ST NEWARK NJ 07104
VIP TRADE LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VIP TRANS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VIP TRUCKERS ASSOCIATION LLC         OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
VIP TRUCKING                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VIP TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VIP&M TRANSPORT                      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
VIPER LOGISTICS INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VIPER TRANSPORT                      OR CRESTMARK TPG LLC PO BOX 682909 DRAWER 1965 FRANKLIN TN 37068
VIPER TRANSPORT LLC                  PO BOX 206773 DALLAS TX 75320
VIPER TRANSPORTATION INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VIPER TRANSPORTATION LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VIPER TRUCKING LLC                   OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
VIRA TRUCKING, LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VIRAK EXPRESS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VIRAMONTES, GEORGE                   ADDRESS ON FILE
VIRAT TRANS INC                      OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
VIRCO MANUFACTURING CO               ATTN: ROBYN JONES 1701 STURGIS RD CONWAY AR 72032
VIRDEN, RYAN                         ADDRESS ON FILE
VIRDI TRANSPORT LLC                  OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
VIRDI TRUCKING INC                   OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
VIRGIL A LANGLEY                     ADDRESS ON FILE
VIRGIL SEIDL                         ADDRESS ON FILE
VIRGIL, ONTRELL                      ADDRESS ON FILE
VIRGIL, VEGA                         ADDRESS ON FILE
VIRGILITO JR., DAVE                  ADDRESS ON FILE
VIRGIN NORTH LOGISTICS LLC           OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
VIRGINIA ALCOHOLIC BEVERAGE          CONTROL AUTHORITY PO BOX 3250 MECHANICSVILLE VA 23116
VIRGINIA DARE                        ADDRESS ON FILE
VIRGINIA DEPARTMENT OF TAXATION      PO BOX 1500 RICHMOND VA 23212
VIRGINIA DEPARTMENT OF TAXATION      PO BOX 26627 RICHMOND VA 23261
VIRGINIA GENREAL DISTRICT COURT      612 MAIN ST BLAND VA 24315
VIRGINIA MECHANICAL, INC.            7553 CARMELO AVENUE TRACY CA 95304
VIRGINIA MECHANICAL, INC.            793 S TRACY BLVD STE 315 TRACY CA 95376
VIRGINIA STATE GRIEVANCE COMMITTEE   TRANSPORT EMPLOYERS ASSOCIATION PO BOX 388 HUNTLEY IL 60142
VIRGINIA TILE                        4749 SPRING RD BROOKLYN HTS OH 44131
VIRGINIA TRAILER SERVICES, INC.      DBA VIRGINIA TRAILER & TRUCK BODY 3320 BUSINESS CENTER DR CHESAPEAKE VA 23323
VIRGINIA TRUCKING ASSOCIATION        4821 BETHLEHEM RD, STE 101 RICHMOND VA 23230
VIRGINIA XPRESS LLC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
VIRIYAPANTHU, MATTHEW                ADDRESS ON FILE
VIRIYAPANTHU, MATTHEW                ADDRESS ON FILE
VIRK FREIGHT CARRIER INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VIRK HAULERS INC                     OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
VIRK ROADLINK INC                    OR AMERICAN FACTORING GROUP INC PO BOX 28690 NEW YORK NY 10087-8690
VIRK TRANS INC                       OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920



Epiq Corporate Restructuring, LLC                                                               Page 2013 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2022 of 2156

Claim Name                            Address Information
VIRK TRANSPORT INC                    OR TETRA CPAITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
VIRK TRUCKING INC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VIRK, MANJIT                          ADDRESS ON FILE
VIRTU AM (0295)                       ATT JANICA BRINK OR PROXY MGR 300 VESEY ST NEW YORK NY 10282
VIRTUAL FREIGHT INSPECTIONS           D/B/A: VIRTUAL FREIGHT PO BOX 1106 MENOMONEE FALLS WI 53052
VIRTUAL FREIGHT INSPECTIONS           PO BOX 1106 MENOMONEE FALLS WI 53052
VIRTUAL FREIGHT INSPECTIONS           D/B/A: VIRTUAL FREIGHT PO BOX 1106 MENOMONEE FALLS WI 53052-1106
VIRTUAL FREIGHT INSPECTIONS           PO BOX 1106 MENOMONEE FALLS WI 53052-1106
VIRTUAL FREIGHT INSPECTIONS           D/B/A: VIRTUAL FREIGHT PO BOX 1377 DEERFIELD IL 60015
VIRTUAL FREIGHT INSPECTIONS           PO BOX 1377 DEERFIELD IL 60015
VIRTUE LOGISTICS INC                  OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
VIRTUOSO LOGISTIC & EXPORT INC        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
VIRUET TRANSPORTATION LLC             OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
VIRVISAF COMPANY LLC                  OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
VISCARRA, CARLOS                      ADDRESS ON FILE
VISEGU MAINTENANCE SERVICE            16198 VIA ARRIBA SAN LORENZO CA 94580
VISIBLE SCM                           5160 WILEY POST WAY SALT LAKE CITY UT 84116
VISIBLE SCM R                         5160 W WILEY POST WAY SALT LAKE CITY UT 84116
VISIBLE SUPPLY CHAIN DBA MAERS        5160 WILEY POST WAY SALT LAKE CITY UT 84116
VISION CHEMICAL SYSTEMS INC           16401 E 33RD DR, STE 30 AURORA CO 80011
VISION EVERGREEN TRANSPORTATION LLC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VISION FIN MKTS LLC (0595)            ATT OPS DEPT 120 LONG RIDGE RD, 3 NORTH STAMFORD CT 06902
VISION INTERNATIONAL, INC.            311 BRAGG COURT BARTLETT IL 60103
VISION INTERNATIONAL, INC.            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VISION LINK INTERNATIONAL LLC         33355 GLENDALE ST LIVONIA MI 48150
VISION LOGISTICS (MC748540)           OR AEROFUND FINANCIAL INC 6910 SANTA TERESA BLVD SAN JOSE CA 95119
VISION LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VISION TRANS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VISION TRANSPORT LOGISTICS LLC        1029 CLUB DR DULUTH GA 30096
VISION TRANSPORTATION INC             12809 S BRIAN PL PALOS PARK 60464
VISION TRUCK GROUP CAMBRIDGE          6950 TOMKEN RD MISSISSAUGA ON L5T 2S3 CANADA
VISIONARY TRANSPORT & DISPATCH        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VISIONARY TRANSPORT & LOGISTIC LLC    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VISIONARY TRANSPORT INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VISIONARY TRANSPORTATION LLC          1409 PANNELL DR APT E ABERDEEN MD 21001-3152
VISIONARY TRANSPORTATION LLC          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VISNOSKI, DANNY                       ADDRESS ON FILE
VISSER, JEREMEY                       ADDRESS ON FILE
VISSER, VICKIE                        ADDRESS ON FILE
VISTA CONVENTION SERVICES INC         6804 DELILAH RD, PO BOX 3000 PLEASANTVILLE NJ 08232
VISTA OUTDOOR SALES                   1 VISTA WAY ANOKA MN 55303
VISTA OUTDOOR SALES                   ATTN: MARY MILBRATH 1 VISTA WAY ANOKA MN 55303
VISTA SERVICE TOWING LLC              990 E BROADWAY AVE MOSES LAKE WA 98837
VISTA TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VISTA TRANSPORT, LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
VISTA TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VISUAL COMFORT & CO                   ATTN: NASEER AHMAD 22400 NW LAKE DR HOUSTON TX 77095
VISUAL PAK LOGISTICS LLC              1550 BRIDGE DR WAUKEGAN IL 60085
VISUAL PAK LOGISTICS LLC              ATTN: ERIC TEWES 1909 S WAUKEGAN RD WAUKEGAN IL 60085



Epiq Corporate Restructuring, LLC                                                                Page 2014 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2023 of 2156

Claim Name                           Address Information
VISUM LOGISTICS INC                  2501 WATERSIDE DR AURORA IL 60502
VIT EXPRESS INC                      469 DAVEY RD HARPURSVILLE NY 13787
VIT EXPRESS LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
VIT LOGISTICS INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
VITA NOVA LLC                        OR CJM FINANCIAL, PO BOX 727 ANKENY IA 50021
VITA NOVA LLC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
VITA NOVA LLC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VITA TRANSPORT LLC                   OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
VITACCO, FRANK                       ADDRESS ON FILE
VITAL HEALTH AMERICA                 EVANSTRANS 171 W WING ST SUITE 204 ARLINGTON HEIGHTS IL 60005
VITAL PHARMACEUTICALS, INC.          ATTN: GENERAL COUNSEL 1600 N PARK WESTON FL 33326
VITAL TRANS INC                      865 SUNRISE DRIVE SOUTH ELGIN IL 60177
VITAL, RODRIGO                       ADDRESS ON FILE
VITALE, DANIEL G                     ADDRESS ON FILE
VITALE, JOSEPH C                     ADDRESS ON FILE
VITALE, LUCA                         ADDRESS ON FILE
VITALIANI INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VITAR EXPRESS INC                    33 WEDGEWOOD DR HAWTHORN WOODS IL 60047
VITAR EXPRESS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
VITAS TRUCKING LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VITEK, INC.                          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
VITELA TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VITELLO, EVE                         ADDRESS ON FILE
VITER INC                            8033 W WINNEMAC AVE NORRIDGE IL 60706
VITERBO UNIVERSITY                   900 VITERBO DR. LA CROSSE WI 54601
VITEX CORP                           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
VITKUS, WILLIAM                      ADDRESS ON FILE
VITO LLC                             OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VITO, DAVID                          ADDRESS ON FILE
VITOK 42 INC                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VITOLA TRUCKING INC                  26726 S MCKINLEY WOODS RD CHANNAHON IL 60410-9300
VITORIA INC                          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VITTETOE, KENDRA                     ADDRESS ON FILE
VITTO EXPRESS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
VIVA                                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
VIVA ELECTRIC ENTERPRISES LLC        627 MINUET LN, SUITE D CHARLOTTE NC 28217
VIVA LOGISTICS INC                   OR RIVIERA FINANCE MINNEAPOLIS PO BOX 850243 MINNEAPLIS MN 55485-0243
VIVA TRANSPORT INC                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
VIVA TRANSPORTATION INC              OR BROTHERS FACTORING LLC 3510 HOBSON ROAD 203B WOODRIDGE IL 60517
VIVAM CARRIERS INC                   4512 N NOTTINGHAM AVE APT 1 NORRIDGE IL 60706
VIVAR, JOSE                          ADDRESS ON FILE
VIVEROS CANCELA, ULISES              ADDRESS ON FILE
VIVIAN, MARK                         ADDRESS ON FILE
VIVIANS, CARLOS                      ADDRESS ON FILE
VIVIANS, MICHAEL                     ADDRESS ON FILE
VIVID TRANS CORP                     OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
VIVID TRANSPORT LLC                  16604 S 1987 PR SE KENNEWICK WA 99337
VIVION CHEMICAL                      929 BRANSTEN RD SAN CARLOS CA 94070



Epiq Corporate Restructuring, LLC                                                               Page 2015 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2024 of 2156

Claim Name                           Address Information
VIVO TRUCKING INC                    13089 PEYTON DR, SUITE C373 CHINO HILLS CA 91709
VIVOLO, GREGG                        ADDRESS ON FILE
VIZ-PRO LLC                          120 COLEBROOK RIVER RD WINSTED CT 06098
VIZ-PRO LLC                          ATTN: VICTORIA CLARKE 120 COLEBROOK RIVER RD WINSTED CT 06098
VIZ-PRO LLC-RESI                     120 COLEBROOK RIVER RD WINSTED CT 06098
VIZCAINO, NATANAEL                   ADDRESS ON FILE
VIZCARRONDO GUZMAN, JOSE             ADDRESS ON FILE
VIZSYONARY TRANSPORT                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VJ ENTERPRISES LLC                   OR INTEGRITY FACTORING & CONSULTING INC PO BOX 30015 DEPT 355 SALT LAKE CITY
                                     UT 84130
VJF TRUCKING LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
VK FREIGHT INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VK INC                               2648 N LECLAIRE AVE APT 1 CHICAGO IL 60639-1658
VK LOGISTICS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VK LOGISTICS LLC                     1 SOUTHERN SLOPE TERRACE MORRISTOWN NJ 07960
VK TRANSPORTATION INC                501 FOREST HILLS AVE PHILADELPHIA PA 19116
VK TRANSPORTATION LLC                2847 S. TOWER WAY AURORA CO 80013
VK TRUCKING INC.                     106 HICKORY STREET CARTERET NJ 07008
VKA EXPRESS INC                      OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
VKAY KINGDOM LOGISTICS LLC           OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VKM INTL INC                         ATTN: MARIA LOW 289 NW 68TH AVE OCALA FL 34482
VKP LINE INC                         OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
VKS LOGISTICS                        321 AUTUMN WIND CT BOLINGBROOK IL 60440
VL TRANS INC                         OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
VL TRUCKING EXPRESS INC              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
VL TRUCKING INC                      OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
VLACH, STEVEN                        ADDRESS ON FILE
VLAD TRUCKING INC                    OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
VLADI TRUCKING INCORPORATED          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VLADIMIROVRICH, ALESKSANDRA          ADDRESS ON FILE
VLADLAND INC                         286 23 OBSERVATORY LN RICHMOND HILL ON L4C0M7 CANADA
VLASAK, RICHARD                      ADDRESS ON FILE
VLASEK, CASSANDRA                    ADDRESS ON FILE
VLASIC FREIGHT LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VLASS TRANSPORT LLC                  OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
VLASYUK, ROMAN                       ADDRESS ON FILE
VLECK, CHARLES                       ADDRESS ON FILE
VLK LLC                              3709 BARNETT RD ROWLETT TX 75089
VLK PLUS TRUCKING, INC.              OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
VLV TRANSPORTATION LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VM ALBERTA INC                       9205 SADDLEBROOK DRIVE NE CALGARY AB T3J 0B3 CANADA
VM EXPRESS LLC                       1792 FADLEY ROAD WEYERS CAVE VA 24486
VM GLOBAL TRANSPORT LLC              OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
VM GLOBAL TRANSPORT LLC              OR VIVA CAPITAL FUNDING INC PO BOX 17548 EL PASO TX 79917
VM INNOVATIONS                       2021 TRANSFORMATION DR SUITE 2500 STE 2500 LINCOLN NE 68508
VM LOGISTICS LLC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
VM TRANSPORTATION LLC                OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
VM TRUCKING LLC                      4967 MARTIN RD WARREN MI 48092
VMA TRANSPORT LLC                    OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133



Epiq Corporate Restructuring, LLC                                                               Page 2016 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2025 of 2156

Claim Name                          Address Information
VMB TRANSPORTATION INC              OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
VMF TRUCKING                        OR TRANSPORT FACTORING INC. PO BOX 167648 IRVING TX 75016
VMF TRUCKING LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
VMONDTRUCKING INC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
VMP                                 24830 AVENUE TIBBETTS VALENCIA CA 91355
VMP TRANSPORTATION                  59 WHISPERING OAKS DR GALENA MO 65656
VMV GROUP INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
VMV TRANSPORTATION LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VMW FREIGHT EXPRESS                 8460-J TYCO RD SUITE 61B VIENNA VA 22182
VMWARE INC.                         27575 NETWORK PLACE CHICAGO IL 60673
VN TRANSPORTATION                   OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
VNL LOGISTICS LLC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
VNN TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VNS LOGISTICS CORP                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VO TRANSPORTATION COMPANY           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
VO TRUCKING INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VOCI INC                            OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
VOCOVICH, RICHARD                   ADDRESS ON FILE
VOD TRANSPORT LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VOEGEL, DARRIN                      ADDRESS ON FILE
VOEGEL, PATRICK                     ADDRESS ON FILE
VOEGERL, JEFFREY                    ADDRESS ON FILE
VOELLMECKE, MICHAEL                 ADDRESS ON FILE
VOESH CORP                          5001 HADLEY RD STE 2 SOUTH PLAINFIELD NJ 07080
VOGEL HEATING & COOLING             1642 MANUFACTURERS DR FENTON MO 63026
VOGEL HEATING & COOLING             D/B/A: VOGEL SHEET METAL & HEATING INC 1642 MANUFACTURERS DR FENTON MO 63026
VOGEL, PATRICK                      ADDRESS ON FILE
VOGELAAR, GREG                      ADDRESS ON FILE
VOGELSANG USA                       7966 STATE RT. 44 RAVENNA OH 44266
VOGELSBERG TRUCKING, INC            PO BOX 383 FARIBAULT MN 55021
VOGLAND, JEREMY                     ADDRESS ON FILE
VOGLER & ASSOCIATES LLC             11756 BORMAN DRIVE, SUITE 200 ST LOUIS MO 63141
VOGTS HEATING AND AIR               653 W CENTER ST POCATELLO ID 83204
VOGUE LINEN AND UNIFORM RENTAL      175 5TH ST ELKO NV 89801
VOGUE TRUCKING INC                  488 E PROVIDENCIA AVE STE B BURBANK CA 91501
VOIGHT, MICHAEL                     ADDRESS ON FILE
VOIGHT, MICHAEL                     ADDRESS ON FILE
VOIGT INC. DBA SMITTYS TOWING       5755 THORNWOOD DR. GOLETA CA 93117
VOIGT INC. DBA SMITTYS TOWING       1250 W BETTERAVIA RD SANTA MARIA CA 93455
VOIGT, COLLEEN                      ADDRESS ON FILE
VOIGT, KEVIN H                      ADDRESS ON FILE
VOIGT, SAVANNAH                     ADDRESS ON FILE
VOJTA, SUSAN                        ADDRESS ON FILE
VOLA TRUCKING                       834 CADEN PL PERRIS CA 92571
VOLAND, RALPH                       ADDRESS ON FILE
VOLANTE, ANTHONY                    ADDRESS ON FILE
VOLCY, VANICE                       ADDRESS ON FILE
VOLD, RANDY                         ADDRESS ON FILE
VOLD, ROD                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 2017 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2026 of 2156

Claim Name                               Address Information
VOLGA TRANS LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VOLINO, ANTHONY                          ADDRESS ON FILE
VOLITANT TECHNOLOGIES LLC                ATTN: KEVIN KNORR 5123 I RD DUNBAR NE 68346
VOLK TRANSFER, INC.                      2205 7TH AVENUE MANKATO MN 56001
VOLKENING, ROBERT                        ADDRESS ON FILE
VOLKMAN PET                              PO BOX 245 CERES CA 95307
VOLKMAN, MICHAEL                         ADDRESS ON FILE
VOLKO EXPRESS LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VOLKOV, LEE                              ADDRESS ON FILE
VOLMERS TIRE                             1556 20000 RD PARSONS KS 67357
VOLNA TRANSPORTATION CORP                2360 DALE BROOK CIR HINCKLEY OH 44233
VOLNER, LISA                             ADDRESS ON FILE
VOLO GROUP INC                           PO BOX 9149 MINNEAPOLIS MN 55480
VOLP, DILLON                             ADDRESS ON FILE
VOLPE DEDICATED                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VOLPE, DENNIS                            ADDRESS ON FILE
VOLT LOGISTICS LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VOLTA MANAGEMENT LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VOLTA TRANSPORTATION INC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VOLTAGE LOGISTICS LLC                    2256 E EMERALD AVE EAGLE MOUNTAIN UT 84005
VOLTAGE TRANSPORT, LLC                   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
VOLTERRA DE SAULNIER, GIA                ADDRESS ON FILE
VOLTEX INC                               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VOLTURN LLC                              4062 BLOSSOM CT BRUNSWICK OH 44212
VOLUME TRANSPORTATION, INC.              2251 PLUNKETT RD CONYERS GA 30012
VOLUNTEER FENCE CO LLC                   198 A MOLLY WALTON DR HENDERSONVILLE TN 37075
VOLUNTEER PAVING & CONCRETE              PO BOX 1545 POWELL TN 37849
VOLVO                                    8355 HIGHFIELD DR. LEWIS CENTER OH 43035
VOLVO CARS OF NORTH AMERICA0060094284)   1851 S CUCAMONGA AVE ONTARIO CA 91761
VOLVO FINANCIAL SERVICES                 PO BOX 7247-0236 PHILADELPHIA PA 19170
VOLVO FINANCIAL SERVICES                 ATTN: GENERAL COUNSEL PO BOX 91300 MOBILE AL 36691-1300
VOLVO GROUP CLAIMS                       CASS INFORMATION SYSTEMS INC PO BOX 67 ST LOUIS MO 63166
VOLVO GROUP CLAIMS                       CASS INFORMATION SYSTEMS PO BOX 17600 ST LOUIS MO 63178
VOLVO GROUP NA LLC                       ATTN: CRYSTAL WATERS PENN 7900 SERVICE RD GREENSBORO NC 27409
VOLVO GROUP NA LLC                       ATTN: CRYSTAL WATERS PENN 8003 PIEDMONT TRIAD PKWY GREENSBORO NC 27409
VOLVO GROUP NA LLC                       ATTN: CRYSTAL WATERS-PENN CRYSTAL WATERS-PENN 7900 NATIONAL SERVICE RD
                                         GREENSBORO NC 27409
VOLZ, MARK                               ADDRESS ON FILE
VOLZ, PAUL                               ADDRESS ON FILE
VOMAC TRUCK SALES & SERVICE, INC.        12242 DECLARATION DR NEW HAVEN IN 46774
VON & DOT TRANSPORTS LLC                 OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                         CHICAGO IL 60674-0411
VON FLUE, JONATHAN                       ADDRESS ON FILE
VON STIETZ, AARON                        ADDRESS ON FILE
VON TACKY, CURTIS                        ADDRESS ON FILE
VONA, JAMES                              ADDRESS ON FILE
VONCANNON, MAXTON                        ADDRESS ON FILE
VONDELINDE, JOHN                         ADDRESS ON FILE
VONDRASEK, DONNA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 2018 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2027 of 2156

Claim Name                           Address Information
VONGSIPRASOM, MALINA                 ADDRESS ON FILE
VONTRESS, LAVONTA                    ADDRESS ON FILE
VOONG, JIMMY                         ADDRESS ON FILE
VOORIS, MICHAEL                      ADDRESS ON FILE
VORAL LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
VORDERBRUGGEN, PHILIP                ADDRESS ON FILE
VORHIES, DONALD                      ADDRESS ON FILE
VORON EXPRESS LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
VORONIN, KIRILL                      ADDRESS ON FILE
VORONOVICH JR, JOHN                  ADDRESS ON FILE
VORTEX                               VORTEX COLORADO INC. FILE 1525 1801 W. OLYMPIC BLVD. PASADENA CA 91199
VORTEX COMPANY USA LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
VORTEX INDUSTRIES LLC                FILE 1095, 1801 W OLYMPIC BLVD PASADENA CA 91199
VORTEX INDUSTRIES LLC                VORTEX COLORADO LLC FILE 1525 1801 W OLYMPIC BLVD PASADENA CA 91199
VORTEX INDUSTRIES, INC.              FILE 1095, 1801 W OLYMPIC BLVD PASADENA CA 91199
VOSGERAU, MICHAEL H                  ADDRESS ON FILE
VOSS ELECTRIC CO.                    PO BOX 22159 LINCOLN NE 68542
VOSS, DRAKE                          ADDRESS ON FILE
VOSSOS, JOHN                         ADDRESS ON FILE
VOTOLATO, VINCENT                    ADDRESS ON FILE
VOUTAIN, CAMERON                     ADDRESS ON FILE
VOY EXPRESS SERVICE                  OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
VOYAGER EXPRESS INC                  4111 CENTRAL ST DETROIT MI 48210
VOYAGER FREIGHTWAY INC.              13 KISTLER ST BRAMPTON ON L6R 0P7 CANADA
VOYAGER LOGISTICS LLC                OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
VOYAGER NATION INC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VOYAGERX INC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VOYLES, JEFFREY                      ADDRESS ON FILE
VOYLES, LORI                         ADDRESS ON FILE
VOZI INC.                            OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
VP EXPRESS CORP                      OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
VP SAHARA TRANSPORT LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VP TRANSPORT LLC                     107 PRESIDIO CT UNIT 205 SCHAUMBURG IL 60195
VP TRANSPORT LLC (MC986568)          OR APEX CAPITAL COPR, PO BOX 961029 FT WORTH TX 76161-1029
VP TRUCKING LLC                      OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
VP XPRESS, LLC                       1541 S SHIELDS DR WAUKEGAN IL 60085
VPM TRANSPORT LLC                    30416 SUNDERLAND DR FARMINGTN HLS MI 48331
VPX SPORTS                           1600 N PARK DR FORT LAUDERDALE FL 33326
VR TRUCKING                          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
VRANJES, MILAN                       ADDRESS ON FILE
VRB TRUCKING LLC                     16321 VANDELAY DR MACOMB MI 48044
VREDENBURG, JENNIFER                 ADDRESS ON FILE
VREDENBURG, ROBERT                   ADDRESS ON FILE
VRIESENGA, LISA                      ADDRESS ON FILE
VRN LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
VRN TRANSPORT                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VROMAN, DAVID                        ADDRESS ON FILE
VRONA, DAVID                         ADDRESS ON FILE
VRONDRAN, CHRISTOPHER                ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2019 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2028 of 2156

Claim Name                          Address Information
VRTX LOGISTICS INC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
VS AMERICA IN                       ATTN: KRYSTINA MROCZKOWSKI RECONEX 384 INVERNESS PKWY STE 140 ENGLEWOOD CO
                                    80112
VS CARRIERS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
VS GLOBAL TRANSPORTATION INC        VS GLOBAL TRANSPORTATION INC 2216 COUNTRY CLUB DR UNIT 5 WOODRIDGE IL 60517
VS SERVICES LLC                     OR J D FACTORS LLC, PO BOX 3428 PALOS VERDES CA 90274
VS TRUCKLINES INC                   OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VSD COMPANY                         1726 RANCHVIEW DR NAPERVILLE IL 60565
VSG                                 C/O DSV LEAD LOGISTICS 4460 44TH ST SE G GRAND RAPIDS MI 49512
VSG                                 C/O DSV LEAD LOGISTICS 4460 44TH ST STE G GRAND RAPIDS MI 49512
VSG                                 VEHICLE SERVICE GROUP, 2700 LANIER DR NORTH MADISON IN 47250
VSG C/O LEAD LOGISTICS              4460 44TH ST STE G GRAND RAPIDS MI 49512
VSJ LOGISTICS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
VSM EXPRESS WORLDWIDE LLC           OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VSN EXPRESS                         OR CROSSROAD SERVICES LLC P.O. BOX 653076 DALLAS TX 75265-3076
VSNS EXPRESS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VSP LOGISTICS INC                   3242 N CARRIAGEWAY DR ARLINGTON HTS IL 60004
VSP SERVICES INCORPORATED           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
VSP TRANSPORT LLC                   OR PARTNERS FUNDING INC.   PO BOX 5431 CAROL STREAM IL 60197-5431
VSR TRANSPORTATION INC              OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
VSS COMPRESSOR SERVICE              PO BOX 1898 PARAMOUNT CA 90723
VSS TRANSPORTATION GROUP, INC.      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
VSTATE INC                          OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
VT TRANS SOLUTIONS INC              13 RYEGRASS CRES BRAMPTON ON L7A 3K4 CANADA
VT TRANSPORTATION LLC               OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
VTI LTD                             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
VTI SPECIALIZED LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
VTL TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
VTS TRANSPORTATION INC              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
VTS TRUCKING INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
VTT TRANSPORT, LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
VTV TRANSPORTATION LLC              149 LUCCA DR SUMMERVILLE SC SC 29486
VU, JONATHAN                        ADDRESS ON FILE
VUCKOVICH, ANTHONY                  ADDRESS ON FILE
VUE, JERRY                          ADDRESS ON FILE
VUE, TSHAJTAG                       ADDRESS ON FILE
VUGTEVEEN, TIMOTHY                  ADDRESS ON FILE
VULCAN TOOL CO                      51 SHARP ST HINGHAM MA 02043
VULOPAS, ANTHONY                    ADDRESS ON FILE
VUN TRANSPORTATIONS INC             88 ARROWWOOD DRIVE NORTH WINNIPEG MB R2V 2R1 CANADA
VUN, SU PHIN                        ADDRESS ON FILE
VV CARRIERS LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
VV EXPRESS LLC                      PO BOX 11099 OLYMPIA WA 98508
VV LOGISTICS SOLUTIONS INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VVF TRANSPORTATION, LLC             OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
VVN EXPRESS INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VVS LOGISTICS INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
VVV LOGISTICS, INC                  PO BOX 2713 INDIAN TRAIL NC 28079
VVV LOGISTICS, INC                  OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042



Epiq Corporate Restructuring, LLC                                                              Page 2020 OF 2145
                                             Yellow Corporation
                      Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2029 of 2156

Claim Name                            Address Information
VVV PARADISE LOGISTIC LLC             OR LOVES SOLUTIONS LLC DBA LOVS FINANCIAL PO BOX 639565 CINCINNATI OH
                                      45263-9565
VWK TRANSPORTATION INC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
VWR INTERNATIONAL                     2360 ARGENTIA RD MISSISSAUGA ON L5N 5Z7 CANADA
VWR INTERNATIONAL                     ATTN: CECILIA ALBINO VWR INTERNATIONAL LLC 2360 ARGENTIA RD MISSISSAUGA ON L5N
                                      5Z7 CANADA
VWR INTERNATIONAL                     2039 CENTER SQUARE RD BRIDGEPORT NJ 08014
VWR INTERNATIONAL                     ATTN: JENNA FINN 1050 SATELLITE BLVD SUWANEE GA 30024
VWR INTERNATIONAL                     ATTN: JENNA FINN INVENTORY CONTROL 1050 SATELLITE BLVD SUWANEE GA 30024
VWR INTERNATIONAL                     800 EAST FABYAN PKWY BATAVIA IL 60510
VWR INTERNATIONAL                     ATTN: BETH CARLSON 800 E FABYAN PKWY BATAVIA IL 60510
VWR INTERNATIONAL                     ATTN: BETH CARLSON 800 EAST FABYAN PARKWAAY BATAVIA IL 60510
VWR INTERNATIONAL                     521 HIGHWAY 90A SUITE 140 MISSOURI CITY TX 77489
VWR INTERNATIONAL                     ATTN: ANDREW EKUERE 521 HIGHWAY 90A SUITE 140 MISSOURI CITY TX 77489
VWR INTERNATIONAL                     8711 W RIGGIN AVE VISALIA CA 93291
VWR INTERNATIONAL 8015                ATTN: JULIE MURPHY 17750 E. 32ND PL STE 10 AURORA CO 80011
VWR INTERNATIONAL ANACHEMIA MINING    738 SPICE ISLANDS DR SPARKS NV 89431
VWR INTERNATIONAL LLC                 ATTN: CECILIA ALBINO 2360 ARGENTIA RD MISSISSAUGA ON L5N 5Z7 CANADA
VWR INTERNATIONAL PARTS OF AVANTTOR   8711 W RIGGEN AVE VISALIA CA 93291
VWR INTERNATIONAL SUWANEE             ATTN: JENNA FINN 1050 SATELLITE BLVD SUWANEE GA 30024
VWR INTERNATIONAL SUWANEE             ATTN: JENNA FINN INVENTORY CONTROL 1050 SATELLITE BLVD SUWANEE GA 30024
VWR INTERNATIONAL SUWANEE             1050 SATELLITE BLVD DULUTH GA 30096
VWR PART OF AVANTOR                   ATTN: JOSE HERNANDEZ 8711 W RIGGEN AVE VISALIA CA 93291
VWR PART OF AVANTOR                   ATTN: JOSE HERNANDEZ 12350 SW TUALATIN RD TUALATIN OR 97062
VWR PART OF AVANTOR TUALATIN          ATTN: JOSE HERNANDEZ 12350 SW TUALATIN RD TUALATIN OR 97062
VWR PART OF AVANTOR VISALIA           ATTN: JOSE HERNANDEZ 8711 W RIGGEN AVE VISALIA CA 93291
VWR PART OF AVANTOR VISALIA           ATTN: JOSE HERNANDEZ 8711 W RIGGIN AVE VAISALIA CA 93291
VWR PART OF AVANTOR VISALIA           ATTN: JOSE HERNANDEZ 8711 W RIGGIN AVE VISALIA CA 93291
VWR PARTS OF AVANTOR VISALIA          8711 W RIGGEN AVE VISALIA CA 93291
VWR SCIENTIFIC                        ATTN: ANDREW EKUERE 521 HIGHWAY 90 A STE 140 MISSOURI CITY TX 77489
VWR SCIENTIFIC SUWANEE                ATTN: JENNA FINN 1050 SATELLITE BLVD SUWANEE GA 30024
VWZ EXPRESS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
VYDA EXPRESS & GENERAL SERVICES INC   PO BOX 5002 LINDSAY CA 93247
VYLONIS, COREY                        ADDRESS ON FILE
VYNERA TRANSPORTATION INC             2145 INTERNATIONAL PKWY SUITE 300 WOODRIDGE IL 60517
VYPER, LLC                            18379 DOGWOOD ROAD CARTHAGE MO 64836
VYR TRANSPORTATION LLC                OR GH FACTOR LLC, 671 WEST 18 STREET HIALEAH FL 33010
VYSNIA GLOBAL TRANSPORT INC           OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
VYVE BROADBAND                        C/O PHOENIX LOSS CONTROL, INC. PO BOX 271504 LITTLETON CO 80127
VZ UNITED INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
VZL CARGO LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
W & A DISTRIBUTION SERVICES, INC.     W & A DISTRIBUTION SERVICES INC. PO BOX 309 FORT ATKINSON WI 53538
W & B SERVICE COMPANY                 P.O. BOX 165118 FORT WORTH TX 76161
W & B TRUCKING                        OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
W & D TRANSPORTATION INC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
W & D TRANSPORTATION INC              18351 COLIMA RD 698 ROWLAND HEIGHT CA 91748
W & G TRUCKING LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
W & O TRANSPORT INC                   OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
W & W TRANSPORT SERVICES LLC          OR PARIKH FINANCIAL 2802 TRAILRIDGE COURT MISSOURI CITY TX 77459



Epiq Corporate Restructuring, LLC                                                                Page 2021 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2030 of 2156

Claim Name                           Address Information
W A G TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
W A KRAPF INC                        2031 ONEIL ROAD MACEDON NY 14502
W A M S TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
W A TRUCKING                         OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
W C RICH                             ADDRESS ON FILE
W C TRUCKING                         OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
W C WEALTH GROUP DIV 1 LLC           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
W E COX CLAIMS GROUP (USA) LLC       ATTN: CLAUDETTE MOORE MADHOO CARRIAGE HOUSE SQUARE 2785 ROUTE 115, STE 201
                                     EFFORT PA 18330
W E TRUCKING 2 LLC                   OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
W ELITE ENTERPRISES LLC              OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
W EXPRESS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
W HAWK TRANSPORT INC                 3564 BRIDGER DR REDDING CA 96002
W K WEBSTER & CO LTD                 ATTN: ANASTASIJA MATUSEVICA WEBSTER HOUSE 207 LONGLANDS RD SIDCUP DA15 7JH
                                     UNITED KINGDOM
W K WEBSTER & CO LTD                 ATTN: DOMANTAS MUSINSKAS WEBSTER HOUSE 207 LONGLANDS RD SIDCUP DA15 7JH UNITED
                                     KINGDOM
W K WEBSTER & CO LTD                 ATTN: KAY MORGAN 207 LONGLANDS RD SIDCUP DA15 7JH UNITED KINGDOM
W K WEBSTER & CO LTD                 80 MAIDEN LANE STE 302 NEW YORK NY 10038
W L TRANSPORT INC                    3116 NESTLE RD, 3116 NESTLE RD JONESBORO AR 72401
W M TRADING                          PO BOX 5352 LAKE WYLIE SC 29710
W M TRANSPORT INC                    OR INTEGRATED LOGISTICS & ASSOCIATES PO BOX 25189 FARMINGTON NY 14425-0189
W S CAMPBELL TOWING & REPAIR         15521 S CRATER RD PETERSBURG VA 23805
W T RAND TRANSPORT LLC               43 ACME RD, SUITE C BREWER ME 04412
W T TRANSPORTATION INC               745 E VALLEY BLVD 138 SAN GABRIEL CA 91776
W TRUCKING GROUP INC                 OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
W W CROSS                            ATTN: SANCY MEHRINGER 2510 ALLEN AVE SE CANTON OH 44707
W W ENGINE AND SUPPLY INC            PO BOX 68, 930 OLD RT 53 KYLERTOWN PA 16847
W W SEEDS INC                        7179 AIRLINE RD HENDERSON KY 42420
W W TRAILERS INC                     5000 NE COLUMBIA BLVD PORTLAND OR 97218
W&B TRANSPORTATION LLC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
W&H IMPEX INC                        ATTN: EMILY YU 6490 HAWTHORNE DR WINDSOR ON N8T 1J9 CANADA
W&K LOGISTICS LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
W&R EXPRESS LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
W&S CHASSIS & TRAILER REPAIR, INC    PO BOX 4590 RANCHO CUCAMONGA CA 91729
W&S TRUCKING                         OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
W&W LOGISTICS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
W&W TRANSPORTATION LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
W&Y TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
W. DOUGLASS DISTRIBUTING, LTD.       PO BOX 1124 SHERMAN TX 75090
W. DOUGLASS DISTRIBUTING, LTD.       P.O. BOX 654045 DALLAS TX 75265
W. H. FITZGERALD, INC.               P.O. BOX 229 YOUNGSVILLE PA 16371
W. M. JOHNSON TRUCK LINES, INC.      PO BOX 467 FORT MADISON IA 52627
W. PATIALA TRUCKING LLC              62 WHITE OAK BEND ROCHESTER NY 14624
W. S. THOMAS TRUCKING INC.           285 BALLARD COVE PIPERTON TN 38017
W. W. TIRE SERVICE, INC.             3945 9TH AVE SE WATERTOWN SD 57201
W. W. WILLIAMS                       ADDRESS ON FILE
W. W. WILLIAMS SOUTHEAST, INC.       PO BOX 772022 DETROIT MI 48277
W. W. WILLIAMS SOUTHEAST, INC.       14 WESTGATE BLVD SAVANNAH GA 31405
W.B. MASON CO                        PO BOX 981101 BOSTON MA 02298


Epiq Corporate Restructuring, LLC                                                              Page 2022 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2031 of 2156

Claim Name                           Address Information
W.E COX CLAIMS GROUP                 2785 ROUTE 115 STE 2 EFFORT PA 18330
W.E. ONEIL CONSTRUCTION OF AZ        4511 E. KERBY AVENUE PHOENIX AZ 85040
W.H. JOHNSON ENTERPRISES, LLC        OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
W.K. WEBSTER & CO                    STE 302, 80 MAIDEN LANE NEW YORK NY 10038
W.O. STINSON & SON LTD               4728 BANK STREET GLOUCESTER ON K1T 3W7 CANADA
W.R. LOGISTICS LLC                   3355 S. ARLINGTON AVE. INDIANAPOLIS IN 46203
W.S. BELL CARTAGE                    7 GRAND AVENUE KITCHENER ON N2K 1B2 CANADA
W.S. THOMAS TRANSFER, LLC.           6311 STONER DRIVE GREENFIELD IN 46140
W11 FREIGHT LLC                      OR MDR CAPITAL LLC, PO BOX 686 FORT JONES CA 96032
W2 LOGISTIC, INC.                    PO BOX 373 ELK GROVE VILLAGE IL 60009
W3 GREENTREE ENTERPRISE, LLC         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
W6 TRANSPORTATION INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WA ALLOY CO                          8885 WHITE OAK AVE STE 104 RANCHO CUCAMONGA CA 91730
WA AMERICAN INC                      OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL SUITE 1101 FORT WORTH TX
                                     76116
WA DEPT OF LABOR & INDUSTRIES        DOSH CASHIER, PO BOX 44835 OLYMPIA WA 98504
WA DOT                               P.O. BOX 47300 OLYMPIA WA 98504
WA EMPLOYMENT SECURITY DEPARTMENT    PAID FAMILY & MEDICAL LEAVE PO BOX 84249 SEATTLE WA 98124
WA TRANSPORT                         OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WAALAND, KYLE                        ADDRESS ON FILE
WAAMO TRANSPORT LLC                  OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
WAARAMAA, MARK                       ADDRESS ON FILE
WABASH NATIONAL LP                   ATTN: CREDIT, PO BOX 6129 LAFAYETTE IN 47903
WABASH NATIONAL TRAILER CENTER       PO BOX 6129 LAFAYETTE IN 47903
WABASH TRUCKING LLC                  P O BOX 238 WABASH IN 46992
WABI EXPRESS LLC                     OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
WABISZCZEWICZ, PETER                 ADDRESS ON FILE
WABSS INTERNATIONAL INC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WABTEC                               CONDATA, 9830 W 190TH ST., STE M MOKENA IL 60448
WABTEC                               CONDATA, 1312 W 22ND ST STE 300 OAK BROOK IL 60523
WABTEC                               CONDATA, 1315 W 22ND ST STE 300 OAK BROOK IL 60523
WABTEC                               CONDATA, 1315 W 22ND ST SUITE 300 HINSDALE IL 60523
WABTEC                               SUITE 300 CONDATA OAK BROOK IL 60523
WAC EXPRESS INC                      OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
WACH, JEFFREY                        ADDRESS ON FILE
WACHTER, ETHAN                       ADDRESS ON FILE
WACKER, BRIAN                        ADDRESS ON FILE
WACKUS, DONALD                       ADDRESS ON FILE
WACM FARM                            13101 E. US HIGHWAY 14 AVALON WI 53505
WACO INDEPENDENT SCHOOL DISTRICT     C/O MCCREARY VESELKA BRAGG & ALLEN PC ATTN JULIE ANNE PARSONS PO BOX 1269
                                     ROUND ROCK TX 78680-1269
WACONIA TRANSPORT COMPANY INC        P O BOX 274 NORWOOD MN 55368
WADDELL TRANSPORT LIMITED            2300 SPEERS ROAD OAKVILLE ON L6L 2X8 CANADA
WADDELL TRUCKING, LLC                OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
WADDELL, ALISSA                      ADDRESS ON FILE
WADDELL, BOBBY                       ADDRESS ON FILE
WADDELL, CHARLES                     ADDRESS ON FILE
WADDELL, JIMMY                       ADDRESS ON FILE
WADDELL, THOMAS                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2023 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2032 of 2156

Claim Name                           Address Information
WADDINGTON NA CITY OF INDUSTRY       ATTN: LISA GARRISON UBER FREIGHT PO BOX 518 LOWELL AR 72745
WADDINGTON NA DESOTO                 ATTN: LISA GARRISON UBER FREIGHT PO BOX 518 LOWELL AR 72745
WADDINGTON NA HOUSTON                ATTN: LISA GARRISON UBER FREIGHT PO BOX 518 LOWELL AR 72745
WADDINGTON NA- HOUSTON               UBER FREIGHT PO BOX 518 LOWELL AR 72745
WADDINGTON, BENJAMIN                 ADDRESS ON FILE
WADE LEO WAGEMANN                    ADDRESS ON FILE
WADE TRANSPORTATION CO               PO BOX 86045 LOS ANGELES CA 90086
WADE, AMANDA                         ADDRESS ON FILE
WADE, ANTHONY L                      ADDRESS ON FILE
WADE, BRENNAN                        ADDRESS ON FILE
WADE, CONNY                          ADDRESS ON FILE
WADE, CORY                           ADDRESS ON FILE
WADE, DARVIN                         ADDRESS ON FILE
WADE, DENNIS                         ADDRESS ON FILE
WADE, DENNIS                         ADDRESS ON FILE
WADE, ERVIN                          ADDRESS ON FILE
WADE, GARY P                         ADDRESS ON FILE
WADE, HANDEL                         ADDRESS ON FILE
WADE, JAMES M                        ADDRESS ON FILE
WADE, JUSTIN                         ADDRESS ON FILE
WADE, LAMONTA                        ADDRESS ON FILE
WADE, LATRESSA                       ADDRESS ON FILE
WADE, MALIK                          ADDRESS ON FILE
WADE, MARIA                          ADDRESS ON FILE
WADE, MARQUES                        ADDRESS ON FILE
WADE, PAMELA                         ADDRESS ON FILE
WADE, SAMMY                          ADDRESS ON FILE
WADE, STEPHEN K                      ADDRESS ON FILE
WADE, TERRENCE                       ADDRESS ON FILE
WADE, TIMOTHY                        ADDRESS ON FILE
WADEN, JADAN                         ADDRESS ON FILE
WADEPRO TRANSPORT LLC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WADES FORKLIFT SERVICE LLC           8651 ASHEVILLE HIGHWAY KNOXVILLE TN 37924
WADES HAULING LLC                    2083 BASIN ST SW EPHRATA WA 98823
WADES TRUCK TRAILER REPAIR LLC       P.O. BOX 488 BELLEVUE OH 44811
WADIWALLA, IRFAN                     ADDRESS ON FILE
WADLEY, QUINTEL                      ADDRESS ON FILE
WADLEY, WALTER                       ADDRESS ON FILE
WADSON CORRIOLAN TRANSPORT LLC       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WADYAZOOM TRANSPORT LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WAFFCO HEAVY DUTY TOWING             2350 PIKE STREET LAKE STATION IN 46405
WAGAMAN, LORETTA                     ADDRESS ON FILE
WAGAMAN, TIMOTHY E                   ADDRESS ON FILE
WAGAN CORPORATION                    31088 SAN CLEMENTE ST HAYWARD CA 94544
WAGEMAN, CHAD M                      ADDRESS ON FILE
WAGEMANN, WADE                       ADDRESS ON FILE
WAGENBACH, LANAE                     ADDRESS ON FILE
WAGERS, HOMER                        ADDRESS ON FILE
WAGES, SHANA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2024 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 2033 of 2156

Claim Name                          Address Information
WAGGONER, CHRISTOPHER               ADDRESS ON FILE
WAGGONER, RYAN                      ADDRESS ON FILE
WAGGYS TOWING                       14955 DUMFRIES RD MANASSAS VA 20112
WAGGYS TOWING                       PO BOX 185 DUMFRIES VA 22026
WAGLER, BLAINE                      ADDRESS ON FILE
WAGLER, BLAINE M                    ADDRESS ON FILE
WAGLEY, DAVID M                     ADDRESS ON FILE
WAGNER ELECTRIC CO INC              PO BOX 991517 LOUISVILLE KY 40269
WAGNER ELECTRIC CO INC              10701 PLANTSIDE DR LOUISVILLE KY 40299
WAGNER MECHANICAL INC               11149 SHELTON RD LINDEN CA 95236
WAGNER, ALAN                        ADDRESS ON FILE
WAGNER, ALFONSO                     ADDRESS ON FILE
WAGNER, BRIAN S                     ADDRESS ON FILE
WAGNER, BRUCE                       ADDRESS ON FILE
WAGNER, BRYAN                       ADDRESS ON FILE
WAGNER, DAVID                       ADDRESS ON FILE
WAGNER, EMMANUAL                    ADDRESS ON FILE
WAGNER, JACOB                       ADDRESS ON FILE
WAGNER, JEREMY                      ADDRESS ON FILE
WAGNER, JEREMY                      ADDRESS ON FILE
WAGNER, JEREMY                      ADDRESS ON FILE
WAGNER, JOHN P                      ADDRESS ON FILE
WAGNER, JONATHAN                    ADDRESS ON FILE
WAGNER, JOSEPH                      ADDRESS ON FILE
WAGNER, LARRY                       ADDRESS ON FILE
WAGNER, LAURA                       ADDRESS ON FILE
WAGNER, LELAND                      ADDRESS ON FILE
WAGNER, MARC                        ADDRESS ON FILE
WAGNER, MICHAEL                     ADDRESS ON FILE
WAGNER, MICHAEL                     ADDRESS ON FILE
WAGNER, RICHARD                     ADDRESS ON FILE
WAGNER, ROBERT                      ADDRESS ON FILE
WAGNER, SCOTT                       ADDRESS ON FILE
WAGNER, TERRELL                     ADDRESS ON FILE
WAGNER, TERRELL                     ADDRESS ON FILE
WAGNER, TERRELL                     ADDRESS ON FILE
WAGNER, TERRELL N                   ADDRESS ON FILE
WAGNER, THOMAS                      ADDRESS ON FILE
WAGNER, VANCE                       ADDRESS ON FILE
WAGNER, WILLIAM                     ADDRESS ON FILE
WAGNON, RANDY                       ADDRESS ON FILE
WAGON TRANSPORT LTD                 81-6671 121 ST SURREY BC V3W 1T9 CANADA
WAGON TRANSPORT LTD                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WAGON WHEEL XPRESS LTD              OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z1X8 CANADA
WAGON WOOD TRUCKING                 OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
WAGONER, JOHN                       ADDRESS ON FILE
WAGUK, MINOR R                      ADDRESS ON FILE
WAHAB, ANDY                         ADDRESS ON FILE
WAHAB, ANDY S                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2025 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2034 of 2156

Claim Name                           Address Information
WAHDAT TRANSPORT LLC                 OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
WAHEED, ABDUL                        ADDRESS ON FILE
WAHEGURU EXPRESS INC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WAHID, REHMAN                        ADDRESS ON FILE
WAHKELEH-GEAIN TRUCKING LLC          OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WAHL CLIPPER CORP                    2900 LOCUST ST STERLING IL 61081
WAHL REBUILD AND REPAIR INC          23585 HWY 15 N HUTCHINSON MN 55350
WAHL, PAMELA                         ADDRESS ON FILE
WAHLER, CAROLINE                     ADDRESS ON FILE
WAHLGREN SERVICE                     367 ARCO DR TOLEDO OH 43607
WAHLIN, DAVID                        ADDRESS ON FILE
WAHLSTER, PAUL                       ADDRESS ON FILE
WAIGHT, BO                           ADDRESS ON FILE
WAIGHT, CLARENCE                     ADDRESS ON FILE
WAINER, DAVID                        ADDRESS ON FILE
WAINGROW, BECKY                      ADDRESS ON FILE
WAINWRIGHT, MELINDA                  ADDRESS ON FILE
WAIR II, SIDNEY                      ADDRESS ON FILE
WAIR, SIDNEY                         ADDRESS ON FILE
WAISNER, KYLER                       ADDRESS ON FILE
WAITE, ANDREA                        ADDRESS ON FILE
WAITE, BARRINGTON                    ADDRESS ON FILE
WAITE, DONALD                        ADDRESS ON FILE
WAITES, COURTNEY                     ADDRESS ON FILE
WAITES, MACKENZIE                    ADDRESS ON FILE
WAITS, IAN                           ADDRESS ON FILE
WAITS, STEVEN                        ADDRESS ON FILE
WAIZENHOFER, FRANK                   ADDRESS ON FILE
WAJAX - WINNIPEG (WPS)               PO BOX 2521 STATION M C25067C\U CALGARY AB T2P 0T6 CANADA
WAJDY TRANSPORTATION LLC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WAJER, MARTIN                        ADDRESS ON FILE
WAKA LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WAKE COUNTY REGISTER OF DEEDS        ATTN: RECORDING, PO BOX 1897 CENTURY NC 27602
WAKE COUNTY REVENUE DEPT             301 S. MCDOWELL ST SUITE 3800 RALEIGH NC 27601
WAKE COUNTY REVENUE DEPT             PO BOX 96084 CHARLOTTE NC 28296
WAKE COUNTY REVENUE DEPT.            P.O. BOX 580084 CHARLOTTE NC 28258-0084
WAKE ENERGY, LLC                     ATTN: GENERAL COUNSEL P. O. BOX 5074 EDMOND OK 73083
WAKE UP LOGISTICS LLC                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
WAKEFIELD TRANSPORTING LLC           5404 NE COOKINGHAM DR KANSAS CITY MO 64156
WAKEMAN, CHRISTOPHER                 ADDRESS ON FILE
WAKER, MARCUS                        ADDRESS ON FILE
WAKUTEKA, FLORIBERT                  ADDRESS ON FILE
WAL MART                             ATTN: MICHAEL HENSON 1170 N MILITARY HWY NORFOLK VA 23502
WAL MART                             ATTN: TRAFFIC DEPARTMENT, PO BOX 500629 SAINT LOUIS MO 63150
WAL MART STORES INC                  C/O BANK OF AMERICA, PO BOX 60544 SAINT LOUIS MO 63150
WAL MART STORES INC                  CARGO CLAIMS DEPT 1301 SE 10TH ST BENTONVILLE AR 72716
WAL MART STORES INCORPORATED         ATTN: GLOBAL SHARED SERVICE CARGO CLAIMS DEPARTMENT 1301 SE 10TH ST
                                     BENTONVILLE AR 72716-0655
WAL MART STORES INCORPORATED         ATTN: GLOBAL SHARED SERVICES CARGO CLAIMS DEPARTMENT 1301 SE 10TH ST



Epiq Corporate Restructuring, LLC                                                             Page 2026 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 2035 of 2156

Claim Name                             Address Information
WAL MART STORES INCORPORATED           BENTONVILLE AR 72716-0655
WAL-MART                               1126 IA-38 N TIPTON IA 52772
WAL-MART CLAIMS SERVICES, INC.         P.O. BOX 14731 LEXINGTON KY 40512-4731
WALBERT TRUCKING                       106 SHAW LN GLASCOW KY 42141
WALBERT TRUCKING,INC.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WALBRUN, SCOTT                         ADDRESS ON FILE
WALCOTT, JAIDEN                        ADDRESS ON FILE
WALCZAK, RONALD                        ADDRESS ON FILE
WALDBY, DONALD                         ADDRESS ON FILE
WALDE TRUCKING LLC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
WALDEN JR, RAYMOND                     ADDRESS ON FILE
WALDEN TRANSFER LLC                    OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
WALDEN, BILLY                          ADDRESS ON FILE
WALDEN, JOHN                           ADDRESS ON FILE
WALDEN, STEVEN                         ADDRESS ON FILE
WALDER, MICHAEL                        ADDRESS ON FILE
WALDMAN LANDSCAPING & LAWN CARE        7817 RTE 549 MILLERTON PA 16936
WALDMAN LANDSCAPING & LAWN CARE        819 GARRISON RD MILLERTON PA 16936
WALDMAN, MICHAEL                       ADDRESS ON FILE
WALDMAN, ROBERT                        ADDRESS ON FILE
WALDMILLER, ADAM                       ADDRESS ON FILE
WALDO-FEHR, DUSTIN                     ADDRESS ON FILE
WALDRIP, RICHARD                       ADDRESS ON FILE
WALDRON, DONALD                        ADDRESS ON FILE
WALDRON, EDWARD                        ADDRESS ON FILE
WALDRON, JEFFERY                       ADDRESS ON FILE
WALDRON, MARK                          ADDRESS ON FILE
WALDROUP, HAROLD                       ADDRESS ON FILE
WALEN, NATHAN                          ADDRESS ON FILE
WALES, CRAIG                           ADDRESS ON FILE
WALES, VICKIE                          ADDRESS ON FILE
WALETICH TRANSPORTATION                WALETICH TRANSPORTATION, PO BOX 64699 ST PAUL MN 55164-0699
WALGRE TRANSPORT INC                   F5-6045 CREDITVIEW RD UNIT 329 MISSISSAUGA ON L5V 0B1 CANADA
WALGREENS ACCOUNTING CTR               ATTN ABIGAIL COX-HUFF WAG FINANCE LOCKBOX 14130 CP, ECTOPMS CEMTER DRIVE
                                       CHICAGO IL 60693
WALGREENS DISTRIBUTION                 17500 N. PERRIS BLVD. MORENO VALLEY CA 92551
WALIA EXPEDITED                        8774 MAYFIELD RD CALEDON ON L7E 0W3 CANADA
WALINSKI, FRANK                        ADDRESS ON FILE
WALIWORLDTRANSPORT LLC                 OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WALK IN URGENT CARE                    7081 PALMER CT DUBLIN OH 43017
WALK IN URGENT CARE                    211 EDGEFIELD BLVD. MARION OH 43302
WALKER BROS INC OF MAGEE               1353 HIGHWAY 541 S MAGEE MS 39111
WALKER EXPRESS LLC                     OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
WALKER LOGISTICS INC                   3033 GAGE AVE EL MONTE CA 91731
WALKER MECHANICAL                      4500 ROBARDS LN ATTN CINNAMON KING LOUISVILLE KY 40218
WALKER TRUCK TIRE AND TOW SERVICE CO   104 NW RAILROAD ST ODESSA MO 64076
WALKER, AARON                          ADDRESS ON FILE
WALKER, ADRIAN                         ADDRESS ON FILE
WALKER, ALEX                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 2027 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2036 of 2156

Claim Name                          Address Information
WALKER, ALEXIUS                     ADDRESS ON FILE
WALKER, ALLAN                       ADDRESS ON FILE
WALKER, ANDREW                      ADDRESS ON FILE
WALKER, ANTOINE                     ADDRESS ON FILE
WALKER, ARRINGTON                   ADDRESS ON FILE
WALKER, BRAD                        ADDRESS ON FILE
WALKER, BRIAN                       ADDRESS ON FILE
WALKER, BRIAN                       ADDRESS ON FILE
WALKER, BRIAN                       ADDRESS ON FILE
WALKER, BRUCE K                     ADDRESS ON FILE
WALKER, BRYAN                       ADDRESS ON FILE
WALKER, BRYAN                       ADDRESS ON FILE
WALKER, BRYANT                      ADDRESS ON FILE
WALKER, CALVIN L                    ADDRESS ON FILE
WALKER, CARL                        ADDRESS ON FILE
WALKER, CARL                        ADDRESS ON FILE
WALKER, CARLOS                      ADDRESS ON FILE
WALKER, CARNEL                      ADDRESS ON FILE
WALKER, CARY                        ADDRESS ON FILE
WALKER, CEDRIC                      ADDRESS ON FILE
WALKER, CHARLES                     ADDRESS ON FILE
WALKER, CHARLES                     ADDRESS ON FILE
WALKER, CHARLES                     ADDRESS ON FILE
WALKER, CHRISTIAN                   ADDRESS ON FILE
WALKER, CHRISTOPHER                 ADDRESS ON FILE
WALKER, CHRISTOPHER                 ADDRESS ON FILE
WALKER, CRAIG                       ADDRESS ON FILE
WALKER, DALE                        ADDRESS ON FILE
WALKER, DANIEL                      ADDRESS ON FILE
WALKER, DANNY                       ADDRESS ON FILE
WALKER, DARYK                       ADDRESS ON FILE
WALKER, DAVID                       ADDRESS ON FILE
WALKER, DAVID                       ADDRESS ON FILE
WALKER, DAVID F                     ADDRESS ON FILE
WALKER, DENNIS                      ADDRESS ON FILE
WALKER, DONALD                      ADDRESS ON FILE
WALKER, DUSTIN                      ADDRESS ON FILE
WALKER, DWAYNE                      ADDRESS ON FILE
WALKER, EARRICE                     ADDRESS ON FILE
WALKER, EDWARD                      ADDRESS ON FILE
WALKER, EDWARD                      ADDRESS ON FILE
WALKER, ERIC                        ADDRESS ON FILE
WALKER, FELTON                      ADDRESS ON FILE
WALKER, FREDERICK F                 ADDRESS ON FILE
WALKER, GABRIEL                     ADDRESS ON FILE
WALKER, GARY                        ADDRESS ON FILE
WALKER, HEATHER                     ADDRESS ON FILE
WALKER, HOWARD                      ADDRESS ON FILE
WALKER, HOWARD                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2028 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 2037 of 2156

Claim Name                        Address Information
WALKER, HUGH                      ADDRESS ON FILE
WALKER, JACQUELYN                 ADDRESS ON FILE
WALKER, JAMES                     ADDRESS ON FILE
WALKER, JAMES                     ADDRESS ON FILE
WALKER, JAMES                     ADDRESS ON FILE
WALKER, JAMES                     ADDRESS ON FILE
WALKER, JAMIE S                   ADDRESS ON FILE
WALKER, JARED                     ADDRESS ON FILE
WALKER, JAYLON                    ADDRESS ON FILE
WALKER, JEFFREY                   ADDRESS ON FILE
WALKER, JENEFER                   ADDRESS ON FILE
WALKER, JEREMIAH                  ADDRESS ON FILE
WALKER, JEREMIAH                  ADDRESS ON FILE
WALKER, JOE                       ADDRESS ON FILE
WALKER, JONATHAN                  ADDRESS ON FILE
WALKER, JORDAN                    ADDRESS ON FILE
WALKER, JULIE                     ADDRESS ON FILE
WALKER, JUSTIN                    ADDRESS ON FILE
WALKER, KATRINA                   ADDRESS ON FILE
WALKER, KECHIA                    ADDRESS ON FILE
WALKER, KECHIA                    ADDRESS ON FILE
WALKER, KEITH                     ADDRESS ON FILE
WALKER, KEITH                     ADDRESS ON FILE
WALKER, KENNETH                   ADDRESS ON FILE
WALKER, KENNETH                   ADDRESS ON FILE
WALKER, KERRICK                   ADDRESS ON FILE
WALKER, KEVIN                     ADDRESS ON FILE
WALKER, KEVIN                     ADDRESS ON FILE
WALKER, LANCE                     ADDRESS ON FILE
WALKER, LARRY                     ADDRESS ON FILE
WALKER, LARRY                     ADDRESS ON FILE
WALKER, LARRY J                   ADDRESS ON FILE
WALKER, LAVONTAE                  ADDRESS ON FILE
WALKER, LIKISHA                   ADDRESS ON FILE
WALKER, LISA                      ADDRESS ON FILE
WALKER, MARK                      ADDRESS ON FILE
WALKER, MARK                      ADDRESS ON FILE
WALKER, MARTEZ                    ADDRESS ON FILE
WALKER, MATTHEW                   ADDRESS ON FILE
WALKER, MELVIN                    ADDRESS ON FILE
WALKER, MICHAEL                   ADDRESS ON FILE
WALKER, MICHAEL                   ADDRESS ON FILE
WALKER, MICHAEL                   ADDRESS ON FILE
WALKER, NATHAN                    ADDRESS ON FILE
WALKER, NEAL                      ADDRESS ON FILE
WALKER, ODELL                     ADDRESS ON FILE
WALKER, PATRICIA                  ADDRESS ON FILE
WALKER, RACHEL                    ADDRESS ON FILE
WALKER, RICHARD                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 2029 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2038 of 2156

Claim Name                            Address Information
WALKER, ROBYN                         ADDRESS ON FILE
WALKER, RYAN                          ADDRESS ON FILE
WALKER, SAMUEL                        ADDRESS ON FILE
WALKER, SAMUEL                        ADDRESS ON FILE
WALKER, SANDRA LYNN                   ADDRESS ON FILE
WALKER, SARAH                         ADDRESS ON FILE
WALKER, SCOTT                         ADDRESS ON FILE
WALKER, SCOTT                         ADDRESS ON FILE
WALKER, SCOTT                         ADDRESS ON FILE
WALKER, SHYREON                       ADDRESS ON FILE
WALKER, STEPHEN                       ADDRESS ON FILE
WALKER, STEVEN TERRELL                ADDRESS ON FILE
WALKER, STEVEN TERRELL                ADDRESS ON FILE
WALKER, TAKISHA                       ADDRESS ON FILE
WALKER, TERRY                         ADDRESS ON FILE
WALKER, TERRY                         ADDRESS ON FILE
WALKER, TIFFANY                       ADDRESS ON FILE
WALKER, TIMMY                         ADDRESS ON FILE
WALKER, TOMMIE                        ADDRESS ON FILE
WALKER, TOMMIE                        ADDRESS ON FILE
WALKER, TONI                          ADDRESS ON FILE
WALKER, TRACY                         ADDRESS ON FILE
WALKER, WAYMOND                       ADDRESS ON FILE
WALKER, WESTLEY                       ADDRESS ON FILE
WALKER, WILLIAM                       ADDRESS ON FILE
WALKER, WILLIAM                       ADDRESS ON FILE
WALKER, WILLIE                        ADDRESS ON FILE
WALKER, ZACHARY                       ADDRESS ON FILE
WALKER-ENSIGN, ASHLIE                 ADDRESS ON FILE
WALKERS 2ND CHANCE TRANSPORTING LLC   OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
WALKERS BLUFF CASINO RESORT           3184 HIGHWAY 22 ATTN DAN WHITE RIVERSIDE IA 52327
WALKUP, DUSTIN                        ADDRESS ON FILE
WALL EXPRESS INC                      545 N CENTRE ST POTTSVILLE PA 17901
WALL STREET LOGISTICS INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WALL STREET SYSTEMS DELAWARE INC.     1345 AVENUE OF THE AMERICAS, 49TH FL NEW YORK NY 10105
WALL STREET TRANSPORTATION, INC.      AMF BOX 22416 SALT LAKE CITY UT 84122
WALL WALL LOGISTICS LLC               OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WALL, DANIEL                          ADDRESS ON FILE
WALL, DIANE                           ADDRESS ON FILE
WALL, JEFFERY                         ADDRESS ON FILE
WALL, ROBYN                           ADDRESS ON FILE
WALL, ROBYN                           ADDRESS ON FILE
WALL, SCOTT                           ADDRESS ON FILE
WALL, SCOTT D                         ADDRESS ON FILE
WALL, STEVEN                          ADDRESS ON FILE
WALL, TODD                            ADDRESS ON FILE
WALL, WILLIAM                         ADDRESS ON FILE
WALLA WALLA ROASTERY                  C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AV 725 CHICAGO IL 60654
WALLACE & WALLACE                     90 LOWSON CRESCENT WINNIPEG MB R3P2H8 CANADA



Epiq Corporate Restructuring, LLC                                                              Page 2030 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2039 of 2156

Claim Name                           Address Information
WALLACE CONSTRUCTION SPECIALTI       ATTN: KEN BARRY 825 MACKAY ST REGINA SK S4N 2S3 CANADA
WALLACE LANE LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WALLACE M SIDDEN                     ADDRESS ON FILE
WALLACE TRANSPORT LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WALLACE TRUCKING LLC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WALLACE XPRESS LLC                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WALLACE, ABIGAIL                     ADDRESS ON FILE
WALLACE, BRUCE                       ADDRESS ON FILE
WALLACE, CAITLIN                     ADDRESS ON FILE
WALLACE, CHAD                        ADDRESS ON FILE
WALLACE, CHANTAL                     ADDRESS ON FILE
WALLACE, COREY                       ADDRESS ON FILE
WALLACE, CURTIS                      ADDRESS ON FILE
WALLACE, DARWIN                      ADDRESS ON FILE
WALLACE, DAVID                       ADDRESS ON FILE
WALLACE, DEMETRIUS                   ADDRESS ON FILE
WALLACE, DERRICK                     ADDRESS ON FILE
WALLACE, ERNEST                      ADDRESS ON FILE
WALLACE, GREG                        ADDRESS ON FILE
WALLACE, JASON                       ADDRESS ON FILE
WALLACE, JASON                       ADDRESS ON FILE
WALLACE, JOHN                        ADDRESS ON FILE
WALLACE, JOHN W                      ADDRESS ON FILE
WALLACE, JOHNNY                      ADDRESS ON FILE
WALLACE, JOSEPH                      ADDRESS ON FILE
WALLACE, JOSEPH                      ADDRESS ON FILE
WALLACE, JR., RICO                   ADDRESS ON FILE
WALLACE, KENNETH D                   ADDRESS ON FILE
WALLACE, KEVIN                       ADDRESS ON FILE
WALLACE, MARSHALL                    ADDRESS ON FILE
WALLACE, RASHEE                      ADDRESS ON FILE
WALLACE, RICK                        ADDRESS ON FILE
WALLACE, ROBERT                      ADDRESS ON FILE
WALLACE, WILLIAM                     ADDRESS ON FILE
WALLACE, WILLIAM L                   ADDRESS ON FILE
WALLACE, YVES-ALEXSAI                ADDRESS ON FILE
WALLACK, WILLIAM                     ADDRESS ON FILE
WALLAGER, JASON                      ADDRESS ON FILE
WALLAR, COLLIN                       ADDRESS ON FILE
WALLEN, ANTHONY                      ADDRESS ON FILE
WALLEN, JAYDEN                       ADDRESS ON FILE
WALLENBERG, JOSEPH                   ADDRESS ON FILE
WALLER, CHRISTOPHER                  ADDRESS ON FILE
WALLER, JOHNNIE                      ADDRESS ON FILE
WALLER, NICOLE                       ADDRESS ON FILE
WALLER, RANDY                        ADDRESS ON FILE
WALLER, RICKEY                       ADDRESS ON FILE
WALLER, WILLIAM                      ADDRESS ON FILE
WALLEYS TRUCKING, INC.               PO BOX 11624 WILMINGTON DE 19850



Epiq Corporate Restructuring, LLC                                                             Page 2031 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 2040 of 2156

Claim Name                          Address Information
WALLIN, KARRY                       ADDRESS ON FILE
WALLING, BETHEL                     ADDRESS ON FILE
WALLING, MIKE                       ADDRESS ON FILE
WALLING, SCOTT                      ADDRESS ON FILE
WALLING, TIMOTHY                    ADDRESS ON FILE
WALLIS, MICHAEL                     ADDRESS ON FILE
WALLIS, WAYMON                      ADDRESS ON FILE
WALLOCK, MARKEYON                   ADDRESS ON FILE
WALLS, AJA                          ADDRESS ON FILE
WALLS, EUGENE                       ADDRESS ON FILE
WALLS, GROVER                       ADDRESS ON FILE
WALLS, JEFFREY                      ADDRESS ON FILE
WALLS, JOSEPH                       ADDRESS ON FILE
WALLS, KANDI                        ADDRESS ON FILE
WALLS, MATTHEW                      ADDRESS ON FILE
WALLS, MELISSA                      ADDRESS ON FILE
WALLS, ROBERT                       ADDRESS ON FILE
WALLS, ROBIE W                      ADDRESS ON FILE
WALLWORK TRUCK CENTER               PO BOX 1819 FARGO ND 58107
WALLY BS TRUCKING LLC               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
WALLYS EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WALLYS SEALING & PATCHING INC       124 MCGILL DR JANETVILLE ON L0B 1K0 CANADA
WALMART                             P.O. BOX 60544 ST LOUIS MO 63150
WALMART                             1583 HWY. 10 W. DETROIT LAKES MN 56501
WALMART                             2608 SE J ST BENTONVILLE AR 72716
WALMART                             702 SW 8TH ST BENTONVILLE 72716
WALMART                             ATTN: FREIGHT PAYMENT, 1108 SE 10TH ST BENTONVILLE AR 72716
WALMART                             1380 W. ELLOITT ROAD TEMPE AZ 85284
WALMART DISTRIBUTIONCENTER          2200 7TH AVENUE CULLMAN AL 35055
WALMART INC.                        P. O. BOX 504810 ST. LOUIS MO 63150
WALMART STORE                       ATTN: MICHAEL HENSON PHARMACY 1149 NIMMO PKWY VIRGINIA BEACH VA 23456
WALMART SUPERCENTER                 3875 MUNDY RD. OAKWOOD GA 30566
WALMART.COM                         1301 SE 10TH ST BENTONVILLE AR 72716
WALNUT HILL TRANSPORT               876 S WALLACE WILKINSON BLVD LIBERTY KY 42539
WALNUT INDUSTRIES INC.              PO BOX 624, 1356 ADAMS ROAD BENSALEM PA 19020
WALP TRUCKING, INC.                 PO BOX 417 HAZLETON PA 18201
WALRATH, CAMERON                    ADDRESS ON FILE
WALS, DANIEL                        ADDRESS ON FILE
WALSETH, DALE                       ADDRESS ON FILE
WALSH JR, JOHN                      ADDRESS ON FILE
WALSH LOGISTICS INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WALSH, BRIANNE                      ADDRESS ON FILE
WALSH, BRITTANI                     ADDRESS ON FILE
WALSH, ELAINE                       ADDRESS ON FILE
WALSH, ERIK                         ADDRESS ON FILE
WALSH, JOHN                         ADDRESS ON FILE
WALSH, JOHN                         ADDRESS ON FILE
WALSH, JOHN                         ADDRESS ON FILE
WALSH, MARK                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 2032 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2041 of 2156

Claim Name                           Address Information
WALSH, MARY                          ADDRESS ON FILE
WALSH, MICHAEL                       ADDRESS ON FILE
WALSH, SEAN                          ADDRESS ON FILE
WALSH, TANYA                         ADDRESS ON FILE
WALSH, TIMOTHY                       ADDRESS ON FILE
WALSHS AUTO & TRUCK REPAIR, INC      5600 WEST 111TH STREET CHICAGO RIDGE IL 60415
WALT KURZ TRANSPORT LLC              OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
WALTENBURG, HEATH                    ADDRESS ON FILE
WALTER E NELSON OF SOUTHERN OREGON   5937 N CUTTER CIR PORTLAND OR 97217
WALTER E NELSON OF SOUTHERN OREGON   2221 JOSEPH STREET MEDFORD OR 97501
WALTER E. NELSON CO.                 D/B/A: WALTER NELSON OF SOUTHERN OREGON 5937 N CUTTER CIR PORTLAND OR 97217
WALTER E. NELSON CO.                 2221 JOSEPH STREET MEDFORD OR 97501
WALTER F SCHMITZ                     ADDRESS ON FILE
WALTER H JELLY & CO.INC              2822 BIRCH ST. FRANKLIN PARK IL 60131
WALTER J COZZI                       ADDRESS ON FILE
WALTER L BETHEA                      ADDRESS ON FILE
WALTER OUTING                        ADDRESS ON FILE
WALTER TRANSPORTATION LLC            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WALTER, DAKOTA                       ADDRESS ON FILE
WALTER, DEVEION                      ADDRESS ON FILE
WALTER, ELIZABETH                    ADDRESS ON FILE
WALTER, KURT                         ADDRESS ON FILE
WALTER, MILES                        ADDRESS ON FILE
WALTER, MILES E                      ADDRESS ON FILE
WALTER, RAYMOND                      ADDRESS ON FILE
WALTER, RICHARD                      ADDRESS ON FILE
WALTER, ROBERT                       ADDRESS ON FILE
WALTER, ROY                          ADDRESS ON FILE
WALTER, THOMAS                       ADDRESS ON FILE
WALTER-ROSE TRANSPORT INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WALTERS TRANSPORT INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WALTERS TRANSPORT INC                OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
WALTERS TRUCK & TRAILER REPAIR INC   PO BOX 1361 GEORGETOWN KY 40324
WALTERS TRUCKING LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WALTERS WHOLESALE ELECTRIC           200 N BERRY ST BREA CA 92821
WALTERS, CASIE                       ADDRESS ON FILE
WALTERS, CHADWICK                    ADDRESS ON FILE
WALTERS, CHRIS                       ADDRESS ON FILE
WALTERS, CHRISTOPHER                 ADDRESS ON FILE
WALTERS, CHRISTOPHER                 ADDRESS ON FILE
WALTERS, DANIEL                      ADDRESS ON FILE
WALTERS, DANIEL                      ADDRESS ON FILE
WALTERS, DANIEL                      ADDRESS ON FILE
WALTERS, ERIC                        ADDRESS ON FILE
WALTERS, FRANKLIN                    ADDRESS ON FILE
WALTERS, JAMES                       ADDRESS ON FILE
WALTERS, JERMAINE                    ADDRESS ON FILE
WALTERS, KORINA                      ADDRESS ON FILE
WALTERS, MACK                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2033 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 2042 of 2156

Claim Name                          Address Information
WALTERS, MICHAEL                    ADDRESS ON FILE
WALTERS, RANDY                      ADDRESS ON FILE
WALTERS, RICKY                      ADDRESS ON FILE
WALTERS, RONALD                     ADDRESS ON FILE
WALTERS, SHANNON                    ADDRESS ON FILE
WALTERS, THOMAS                     ADDRESS ON FILE
WALTERS, TIMOTHY                    ADDRESS ON FILE
WALTERS, TRACEY                     ADDRESS ON FILE
WALTHALL, JAMES                     ADDRESS ON FILE
WALTHALL, JAMES C                   ADDRESS ON FILE
WALTHAM SERVICES                    PO BOX 540538 WALTHAM MA 02454
WALTHER, KEITH                      ADDRESS ON FILE
WALTHER, STEVEN                     ADDRESS ON FILE
WALTON, ANTONIO                     ADDRESS ON FILE
WALTON, CORY A                      ADDRESS ON FILE
WALTON, DANIEL                      ADDRESS ON FILE
WALTON, DONALD                      ADDRESS ON FILE
WALTON, GARY D                      ADDRESS ON FILE
WALTON, JAMES                       ADDRESS ON FILE
WALTON, JEREMY                      ADDRESS ON FILE
WALTON, KENNETH                     ADDRESS ON FILE
WALTON, LARRY                       ADDRESS ON FILE
WALTON, NAKYLE                      ADDRESS ON FILE
WALTON, PHILIP                      ADDRESS ON FILE
WALTON, PHILIP                      ADDRESS ON FILE
WALTON, QUINTIN                     ADDRESS ON FILE
WALTON, TAMARA                      ADDRESS ON FILE
WALTON, TERRENCE                    ADDRESS ON FILE
WALTONS C/O ECHO                    ATTN: JANAU WASHINGTON 600 W CHICAGO AVE CHICAGO IL 60654
WALTS DELIVERY LLC                  OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
WALTZ, ADA                          ADDRESS ON FILE
WALZ, JASON                         ADDRESS ON FILE
WALZ, KIMBERLY                      ADDRESS ON FILE
WALZAK, STEVE                       ADDRESS ON FILE
WAMAGEE LOGISTICS                   OR INSIGHT TECHNOLOGY INC, PO BOX 200399 DALLAS TX 75320
WAMBUI TRUCKING LLC                 OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
WAMPLER, BRIAN                      ADDRESS ON FILE
WAMPNER, MARK                       ADDRESS ON FILE
WAMSUTTER CONOCO SERVICE INC        350 MCCORMICK ST, PO BOX 70 WAMSUTTER WY 82336
WAMUGI, JAMES                       ADDRESS ON FILE
WAMY EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WANDA ENTERPRISES INC               618 S BREA CANYON RD, UNIT 1 CITY OF INDUSTRY CA 91789
WANDELL, DAMIEN                     ADDRESS ON FILE
WANDERLUST                          OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
WANG, BRADY                         ADDRESS ON FILE
WANG, CHUAN                         ADDRESS ON FILE
WANG, LEI                           ADDRESS ON FILE
WANGSGAARD, GREGORY S               ADDRESS ON FILE
WANGUMO, DAVID                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2034 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                          Page 2043 of 2156

Claim Name                         Address Information
WANHUA CHEMICAL AMERICA CO LTD     3803 W CHESTER PIKE STE 125 NEWTOWN SQUARE PA 19073
WANI JR, ELVIS K                   ADDRESS ON FILE
WANJIRU, DANCAN                    ADDRESS ON FILE
WANKE CASCADE PALLET ONLY          6330 N CUTTER CIR PORTLAND OR 97217
WANNAMAKER, JOHN                   ADDRESS ON FILE
WANNEMACHER TOTAL LOGISTICS        400 EAST HANTHORN ROAD LIMA OH 45804
WANNER, JEFFREY                    ADDRESS ON FILE
WANSHIP ENTERPRISES, LLC           455 WEST 1100 NORTH NORTH SALT LAKE UT 84054
WANT TRANSPORT LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
WANT, MARLA                        ADDRESS ON FILE
WANT, STEPHEN                      ADDRESS ON FILE
WANTON LLL, HAROLD                 ADDRESS ON FILE
WANXIANG INTERNATIONAL             ATTN: CAROL CHEN 140 E RIDGEWOOD AVE STE 415, SOUTH TOWER PARAMUS NJ 07652
WANXIANG INTERNATIONAL (USA) LTD   ATTN: CAROL CHEN 140 E RIDGEWOOD AVE, STE 415 SOUTH TOWER PARAMUS NJ 07652
WAPLES, JOHN                       ADDRESS ON FILE
WARAICH BROS CARRIER INC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WARAICH TRANSPORT INC              OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
WARBINGTON, RONALD                 ADDRESS ON FILE
WARD COUNTY, ND                    225 THIRD STREET, SE MINOT ND 58701
WARD EATON INC.                    1475 PREMIER TRAVERSE CITY MI 49684
WARD IDEALEASE                     ADDRESS ON FILE
WARD INTERNATIONAL TRUCKS, INC.    PO BOX 50375 MOBILE POLICE JURISDICTION AL 36605
WARD TIRECRAFT                     10675 48TH ST SE CALGARY AB T2C 2B7 CANADA
WARD TRUCKING ATLANTA LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WARD, AARON                        ADDRESS ON FILE
WARD, ARVESTER                     ADDRESS ON FILE
WARD, BRADLEY                      ADDRESS ON FILE
WARD, BRANDON                      ADDRESS ON FILE
WARD, CALVIN                       ADDRESS ON FILE
WARD, CHRISTOPHER                  ADDRESS ON FILE
WARD, CHRISTOPHER                  ADDRESS ON FILE
WARD, CLAYTON                      ADDRESS ON FILE
WARD, CORDARRO                     ADDRESS ON FILE
WARD, DAN                          ADDRESS ON FILE
WARD, DANA                         ADDRESS ON FILE
WARD, DANIEL                       ADDRESS ON FILE
WARD, DAVID                        ADDRESS ON FILE
WARD, DESMOND                      ADDRESS ON FILE
WARD, DEVIN                        ADDRESS ON FILE
WARD, DEVIN                        ADDRESS ON FILE
WARD, DONNE                        ADDRESS ON FILE
WARD, EDWARD W                     ADDRESS ON FILE
WARD, GARRY                        ADDRESS ON FILE
WARD, GEORGE                       ADDRESS ON FILE
WARD, JACOB                        ADDRESS ON FILE
WARD, JAMES A                      ADDRESS ON FILE
WARD, JARROD                       ADDRESS ON FILE
WARD, JASON                        ADDRESS ON FILE
WARD, JERRICA                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 2035 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 2044 of 2156

Claim Name                         Address Information
WARD, JESSICA                      ADDRESS ON FILE
WARD, JOHNATHAN                    ADDRESS ON FILE
WARD, JOSEPH                       ADDRESS ON FILE
WARD, JOSH                         ADDRESS ON FILE
WARD, JOSHUA J                     ADDRESS ON FILE
WARD, JUSTIN                       ADDRESS ON FILE
WARD, KEVIN                        ADDRESS ON FILE
WARD, LAFAYETTE                    ADDRESS ON FILE
WARD, LARADERICK A                 ADDRESS ON FILE
WARD, LEGACII                      ADDRESS ON FILE
WARD, MICHAEL                      ADDRESS ON FILE
WARD, MICHAEL                      ADDRESS ON FILE
WARD, MIKELL                       ADDRESS ON FILE
WARD, MYCHAEL                      ADDRESS ON FILE
WARD, NOAH                         ADDRESS ON FILE
WARD, NOAH                         ADDRESS ON FILE
WARD, PATRICK                      ADDRESS ON FILE
WARD, PETER                        ADDRESS ON FILE
WARD, RAY                          ADDRESS ON FILE
WARD, RAYMOND                      ADDRESS ON FILE
WARD, RICHARD                      ADDRESS ON FILE
WARD, ROBERT                       ADDRESS ON FILE
WARD, ROBERT                       ADDRESS ON FILE
WARD, SAUNDRA                      ADDRESS ON FILE
WARD, SHAUGHN                      ADDRESS ON FILE
WARD, SHERMAN                      ADDRESS ON FILE
WARD, TIMOTHY                      ADDRESS ON FILE
WARD, TIMOTHY                      ADDRESS ON FILE
WARD, TONNIE                       ADDRESS ON FILE
WARD, WENDY                        ADDRESS ON FILE
WARD, WILLIAM                      ADDRESS ON FILE
WARD, WILLIAM                      ADDRESS ON FILE
WARDA TRUCKING LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
WARDEN, NATHEN                     ADDRESS ON FILE
WARDLAW, JUSTIN                    ADDRESS ON FILE
WARDRIP, TAMMY                     ADDRESS ON FILE
WARDROP, PHILIP                    ADDRESS ON FILE
WARDS SCIENCE VWR AVANTOR          ATTN: ROCHESTER IC 5100 W HENRIETTA RD W HENRIETTA NY 14586
WARDS SCIENCE/ VWR/ AVANTOR        5100 WEST HENRIETTA ROAD WEST HENRIETTA NY 14586
WARDS WRECKER SERVICE, INC         955 I 20 FRONTAGE RD JACKSON MS 39204
WARE TRANSPORT LLC                 11366 US 27 NORTH EUBANK KY 42567
WARE, ANTHONY                      ADDRESS ON FILE
WARE, BENJAMIN                     ADDRESS ON FILE
WARE, BRUCE                        ADDRESS ON FILE
WARE, DONALD                       ADDRESS ON FILE
WARE, EVERETT                      ADDRESS ON FILE
WARE, JASON                        ADDRESS ON FILE
WARE, MARCO                        ADDRESS ON FILE
WARE, MARVIN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                          Page 2036 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2045 of 2156

Claim Name                           Address Information
WARE, MATTHEW                        ADDRESS ON FILE
WARE, MAWULI                         ADDRESS ON FILE
WARE, ROBERT                         ADDRESS ON FILE
WARE, TERRY                          ADDRESS ON FILE
WARE, TOMMY                          ADDRESS ON FILE
WARE, TYLER                          ADDRESS ON FILE
WAREHIME, BRANDIE                    ADDRESS ON FILE
WAREHOUSE                            ATTN: SHANNON BURNS 2399 US 41 SW CALHOUN GA 30701
WAREHOUSE CARPETS INCORPORATED       ATTN: SCOTT 3918 HIGHWAY 76 CHATSWORTH GA 30705
WAREHOUSE SPECIALISTS INC            525 ENTERPRISE DR NEENAH WI 54956
WAREHOUSE TRANSPORT SERVICES, INC.   2880 NORTH 112TH STREET MILWAUKEE WI 53222
WARELK LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WARES, DAMON A                       ADDRESS ON FILE
WARF, JERRY                          ADDRESS ON FILE
WARFA TRUCKING LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WARFIELD, AARON                      ADDRESS ON FILE
WARFIELD, FRANKIE                    ADDRESS ON FILE
WARFIELD, HOLLY                      ADDRESS ON FILE
WARFIELD, KENNETH                    ADDRESS ON FILE
WARGOVICH, JOHN                      ADDRESS ON FILE
WARHURST, JOE                        ADDRESS ON FILE
WARKA TRUCKING LLC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
WARLICK, CHARLES H                   ADDRESS ON FILE
WARLICK, CHARLES H                   ADDRESS ON FILE
WARLICK, GILDA                       ADDRESS ON FILE
WARLICK, GILDA                       ADDRESS ON FILE
WARM UP EXPRESS INC                  2815 YOJOA PLACE HACIENDA HEIGHTS CA 91745
WARMAN, MATTHEW C                    ADDRESS ON FILE
WARMKA SERVICE CENTER LLC            79602 550TH AVE JACKSON MN 56143
WARMUTH, MICHAEL                     ADDRESS ON FILE
WARN INDUSTRIES                      12900 SE CAPPS RD CLACKAMAS OR 97015
WARNE PLUMBING & HEATING             144 N. MAPLE WATERTOWN SD 57201
WARNELL, SCOTT A                     ADDRESS ON FILE
WARNER HAULING SERVICES LLC          OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
WARNER INDUSTRIES SASKATOON          3002 FAITHFULL AVE SASKATOON SK S7K 0B1 CANADA
WARNER SERVICE                       217 MONROE AVE FREDERICK MD 21701
WARNER TRANSPORTATION LLC            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WARNER TRUCK CENTER                  PO BOX 70900 SALT LAKE CITY UT 84120
WARNER, BRANDI                       ADDRESS ON FILE
WARNER, COLLIN                       ADDRESS ON FILE
WARNER, CORDELL                      ADDRESS ON FILE
WARNER, DANNY                        ADDRESS ON FILE
WARNER, DWAYNE                       ADDRESS ON FILE
WARNER, FRANKLIN                     ADDRESS ON FILE
WARNER, JAMES                        ADDRESS ON FILE
WARNER, KEVIN                        ADDRESS ON FILE
WARNER, MARY                         ADDRESS ON FILE
WARNER, MICHAEL L                    ADDRESS ON FILE
WARNER, MISTY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 2037 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2046 of 2156

Claim Name                           Address Information
WARNER, RANDY                        ADDRESS ON FILE
WARNER- WILLIAMS INVESTMENTS INC.    ATTN: LARRY WARNER PO BOX 501 BAXTER SPRINGS KS 66713
WARNER-STEELE, SAVANNAH              ADDRESS ON FILE
WARNER-WILLIAMS INVESTMENTS, INC.    PO BOX 501 BAXTER SPRINGS KS 66713
WARNERT RACING, INC.                 1203 33RD ST S ST CLOUD MN 56301
WARNOCK, KEVIN                       ADDRESS ON FILE
WARP DRIVE LLC                       OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
WARREN C. SAUERS CO., INC.           2601 ROCHESTER ROAD CRANBERRY TOWNSHIP PA 16066
WARREN COUNTY SCHOOLS NET PROFIT     PO BOX 890944 CHARLOTTE NC 28289
WARREN COUNTY WATER DISTRICT         523 US 31 W BYPASS BOWLING GREEN KY 42101
WARREN G SARRELL CLERK               ADDRESS ON FILE
WARREN JR, ROBERT W                  ADDRESS ON FILE
WARREN RURAL ELECTRIC COOP COR       951 FAIRVIEW AVE BOWLING GREEN KY 42101
WARREN S LYNCH                       ADDRESS ON FILE
WARREN, ASHLEY                       ADDRESS ON FILE
WARREN, AUSTIN                       ADDRESS ON FILE
WARREN, CARL                         ADDRESS ON FILE
WARREN, CARLOS                       ADDRESS ON FILE
WARREN, DAMEON                       ADDRESS ON FILE
WARREN, DAVID                        ADDRESS ON FILE
WARREN, DERICK                       ADDRESS ON FILE
WARREN, DONNIE                       ADDRESS ON FILE
WARREN, DOUGLAS                      ADDRESS ON FILE
WARREN, DUANE                        ADDRESS ON FILE
WARREN, ELI                          ADDRESS ON FILE
WARREN, ERIC                         ADDRESS ON FILE
WARREN, GARY                         ADDRESS ON FILE
WARREN, HAROLD                       ADDRESS ON FILE
WARREN, JAMES                        ADDRESS ON FILE
WARREN, JAMES DOUGLAS                ADDRESS ON FILE
WARREN, JONATHON D                   ADDRESS ON FILE
WARREN, KIANDREA                     ADDRESS ON FILE
WARREN, LESTER                       ADDRESS ON FILE
WARREN, MARK                         ADDRESS ON FILE
WARREN, MATT                         ADDRESS ON FILE
WARREN, MITCH                        ADDRESS ON FILE
WARREN, RICHARD                      ADDRESS ON FILE
WARREN, ROBERT                       ADDRESS ON FILE
WARREN, SOLOMON                      ADDRESS ON FILE
WARREN, VIC                          ADDRESS ON FILE
WARREN, WILLIAM                      ADDRESS ON FILE
WARRENS REPAIR                       721 SOUTH 3RD LARAMIE WY 82070
WARRENS TRANSPORTATION LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WARRICK, ANTHONY                     ADDRESS ON FILE
WARRICK, GEORGE                      ADDRESS ON FILE
WARRINGTON, MARK                     ADDRESS ON FILE
WARRIOR EXPEDITED TRANSPORT INC      OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
WARRIOR FREIGHT SOLUTIONS INC        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
WARRIOR TRANSPORT LLC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                            Page 2038 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 2047 of 2156

Claim Name                               Address Information
WARRIOR TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WARRIOR TRANZ                            ADDRESS ON FILE
WARRIORS EXPRESS                         OR ALTHON FACTORING SERVICES LLC PO BOX 1719 MCALLEN TX 78505
WARRIORS GLOBAL TRUCKING LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WARRIORS LOGISTICS INC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
WARRIORS LOGISTICS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WARRIORS TRANSIT INC                     15128 S HARLAN RD UNIT 409 LATHROP CA 95330
WARRIORS TRANSPORT INC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
WARSAME TRUCKING SERVICES L. L. C.       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
WARSAME, BASHIR A                        ADDRESS ON FILE
WARSAME, MAHAD                           ADDRESS ON FILE
WART, DANIEL                             ADDRESS ON FILE
WARWICK VALLEY CSD                       225 WEST STREET EXTENSION P.O. BOX 595 WARWICK NY 10990
WARWICK, SHARON                          ADDRESS ON FILE
WARYAM TRANSPORTATION INCLUSIVE          OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195
WARYK, TIMOTHY                           ADDRESS ON FILE
WARZECHA, ANTON                          ADDRESS ON FILE
WASAFI TRANSPORT LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WASATCH FRONT CARRIERS LLC               PO BOX 25441 SALT LAKE CITY UT 84125
WASCO AUTO BODY                          1840 W. 1ST AVENUE MESA AZ 85202
WASH, MICHAEL                            ADDRESS ON FILE
WASHAUSEN, HANS                          ADDRESS ON FILE
WASHBURN, AUBREY                         ADDRESS ON FILE
WASHBURN, DAVID                          ADDRESS ON FILE
WASHBURN, JASON                          ADDRESS ON FILE
WASHER SPECIALTIES                       224 N. INDIANA AVE. WICHITA KS 67214
WASHINES, TREY                           ADDRESS ON FILE
WASHINGTON COLLISION CENTER LLP          65 RTE 31 N WASHINGTON NJ 07882
WASHINGTON COUNTY                        280 N COLLEGE AVE, STE 202 FAYETTEVILLE AR 72701
WASHINGTON COUNTY COLLECTOR              280 N COLLEGE, SUITE 202 FAYETTEVILLE AR 72701
WASHINGTON COUNTY HWY DEPT               900 LANG ST WEST BEND WI 53090
WASHINGTON COUNTY TREASURER              35 W WASHINGTON ST, SUITE 102 HAGERSTOWN MD 21740
WASHINGTON COUNTY TREASURER              205 PUTNAM ST MARIETTA OH 45750
WASHINGTON DEPT OF TRANSPORTATION        277 STEWARD RD SW PO BOX 47418 OLYMPIA WA 98504
WASHINGTON FREIGHT COMPANY LLC           OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
WASHINGTON FREIGHT TEAM INC              6269 LEESBURG PIKE, SUITE 202 FALLS CHURCH VA 22044
WASHINGTON FREIGHT TEAM INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WASHINGTON FRUIT & PRODUCE CO.           P.O. BOX 1588 YAKIMA WA 98907-1588
WASHINGTON GAS                           6801 INDUSTRIAL RD SPRINGFIELD VA 22151
WASHINGTON III, JAMES                    ADDRESS ON FILE
WASHINGTON MILLS                         ADDRESS ON FILE
WASHINGTON MILLS                         ADDRESS ON FILE
WASHINGTON PRIME TRUCKING LLC            OR OUTGO, 117 EAST LOUISA STREET 161 SEATTLE WA 98102
WASHINGTON STATE DEPARTMENT OF ECOLOGY   PO BOX 34050 SEATTLE WA 98124
WASHINGTON STATE DEPARTMENT OF ECOLOGY   CASHIERING UNIT, PO BOX 47611 OLYMPIA WA 98504
WASHINGTON STATE DEPARTMENT OF           PO BOX 9037 OLYMPIA WA 98507
LICENSING
WASHINGTON STATE DEPARTMENT OF           1016 NORTH 4TH ST PASCO WA 99301
LICENSING



Epiq Corporate Restructuring, LLC                                                                   Page 2039 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2048 of 2156

Claim Name                               Address Information
WASHINGTON STATE DEPARTMENT OF REVENUE   PO BOX 34051 SEATTLE WA 98124
WASHINGTON STATE DEPARTMENT OF REVENUE   C/O WASHINGTON STATE FERRIES PO BOX 3985 SEATTLE WA 98124
WASHINGTON STATE FERRIES                 PO BOX 3985 SEATTLE WA 98124
WASHINGTON TEAMSTER WELFARE TRUST        2323 EASTLAKE AVENUE E SEATTLE WA 98102
WASHINGTON TEAMSTERS 401K                401 LIBERTY AVE STE 1200 PITTSBURGH PA 15222-1024
WASHINGTON TEAMSTERS WELFARE TRUST       PO BOX C-34079 SEATTLE WA 34079
WASHINGTON TEAMSTERS WELFARE TRUST       PO BOX C 34079 SEATTLE WA 98124
WASHINGTON TRANSFER INC                  19309 68TH AVE S, R-100 KENT WA 98032
WASHINGTON TRUCKING ASSOCIATIONS INC     2102 CARRIAGE DR. SW BUILDING F OLYMPIA WA 98502
WASHINGTON UNEMPLOYMENT INSURANCE        2101 4TH AVE, SUITE 1400 SEATTLE WA 98121
WASHINGTON VISITOR CENTER                301 W. FRONT ST. WASHINGTON MO 63090
WASHINGTON, AHDINA                       ADDRESS ON FILE
WASHINGTON, ALLISON                      ADDRESS ON FILE
WASHINGTON, AMIRRA                       ADDRESS ON FILE
WASHINGTON, ANGEL                        ADDRESS ON FILE
WASHINGTON, ASHLEY                       ADDRESS ON FILE
WASHINGTON, AVERY                        ADDRESS ON FILE
WASHINGTON, BEN                          ADDRESS ON FILE
WASHINGTON, BIG E                        ADDRESS ON FILE
WASHINGTON, BOE                          ADDRESS ON FILE
WASHINGTON, BRIAN                        ADDRESS ON FILE
WASHINGTON, CANDACE                      ADDRESS ON FILE
WASHINGTON, CHRISTOPHER                  ADDRESS ON FILE
WASHINGTON, CORDELL                      ADDRESS ON FILE
WASHINGTON, CRAIG                        ADDRESS ON FILE
WASHINGTON, DAIQUAN                      ADDRESS ON FILE
WASHINGTON, DANDRE                       ADDRESS ON FILE
WASHINGTON, DERRICK                      ADDRESS ON FILE
WASHINGTON, DONALD D                     ADDRESS ON FILE
WASHINGTON, DONNELL                      ADDRESS ON FILE
WASHINGTON, EUNDREA                      ADDRESS ON FILE
WASHINGTON, GARRY                        ADDRESS ON FILE
WASHINGTON, GERALDO                      ADDRESS ON FILE
WASHINGTON, GREGORY                      ADDRESS ON FILE
WASHINGTON, HARRY                        ADDRESS ON FILE
WASHINGTON, HENRY                        ADDRESS ON FILE
WASHINGTON, JAMES                        ADDRESS ON FILE
WASHINGTON, JAMES                        ADDRESS ON FILE
WASHINGTON, JANA                         ADDRESS ON FILE
WASHINGTON, JEREMY                       ADDRESS ON FILE
WASHINGTON, JEREMY                       ADDRESS ON FILE
WASHINGTON, JONATHAN A                   ADDRESS ON FILE
WASHINGTON, KENESHA                      ADDRESS ON FILE
WASHINGTON, KENESHA                      ADDRESS ON FILE
WASHINGTON, KEVIN                        ADDRESS ON FILE
WASHINGTON, KEVIN                        ADDRESS ON FILE
WASHINGTON, KHALIL                       ADDRESS ON FILE
WASHINGTON, LAROY                        ADDRESS ON FILE
WASHINGTON, LARRY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 2040 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2049 of 2156

Claim Name                           Address Information
WASHINGTON, LEROY                    ADDRESS ON FILE
WASHINGTON, LEROY                    ADDRESS ON FILE
WASHINGTON, LORETTA                  ADDRESS ON FILE
WASHINGTON, MACY                     ADDRESS ON FILE
WASHINGTON, MARJHOREE                ADDRESS ON FILE
WASHINGTON, MARK                     ADDRESS ON FILE
WASHINGTON, MARQUESE                 ADDRESS ON FILE
WASHINGTON, MARSHALL                 ADDRESS ON FILE
WASHINGTON, MAURICE                  ADDRESS ON FILE
WASHINGTON, MAYAH                    ADDRESS ON FILE
WASHINGTON, MELANIE                  ADDRESS ON FILE
WASHINGTON, MICHAEL                  ADDRESS ON FILE
WASHINGTON, ORLANDO                  ADDRESS ON FILE
WASHINGTON, PAUL                     ADDRESS ON FILE
WASHINGTON, RALPH                    ADDRESS ON FILE
WASHINGTON, RENE                     ADDRESS ON FILE
WASHINGTON, ROBERT                   ADDRESS ON FILE
WASHINGTON, ROBERT                   ADDRESS ON FILE
WASHINGTON, SAMMY                    ADDRESS ON FILE
WASHINGTON, SANFORD                  ADDRESS ON FILE
WASHINGTON, TERRY                    ADDRESS ON FILE
WASHINGTON, THADDIUS                 ADDRESS ON FILE
WASHINGTON, WALLACE                  ADDRESS ON FILE
WASHOE COUNTY BUSINESS LICENSES      CSD-BUSINESS LICENSE 1001 EAST 9TH STREET RENO NV 89512
WASHOE COUNTY CLERK                  1001 E 9TH ST BLDG A RENO NV 89512
WASHOE COUNTY TREASURES OFFICE       1001 E NINTH ST RENO NV 89512
WASHOE COUNTY TREASURES OFFICE       PO BOX 30039 RENO NV 89520
WASINGER, JOSHUA                     ADDRESS ON FILE
WASKI EXPRESS LLC                    OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WASKOSKY, JAMES                      ADDRESS ON FILE
WASKOW TRANSPORTATION LLC            OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
WASMILLER, LORINDA                   ADDRESS ON FILE
WASMILLER, LORINDA                   ADDRESS ON FILE
WASMUND, SUSAN                       ADDRESS ON FILE
WASN TRUCKING                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WASNER, SHANNON                      ADDRESS ON FILE
WASSENAAR, PAIGE                     ADDRESS ON FILE
WASSERMAN, DANIEL                    ADDRESS ON FILE
WASSINK, JULIE                       ADDRESS ON FILE
WASSO TRUCKING LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WASSON, MIKE                         ADDRESS ON FILE
WASSON, NICHOLAS                     ADDRESS ON FILE
WASSON, STEVEN A                     ADDRESS ON FILE
WASTE CONNECTIONS OF CANADA INC      610 APPLEWOOD CRESCENT VAUGHAN ON L4K 0E3 CANADA
WASTE CONNECTIONS OF CANADA INC.     1152 KENASTON ST OTTAWA ON K1B 3P5 CANADA
WASTE CONNECTIONS OF CANADA INC.     DEPT 400172, PO BOX 4375 STN A TORONTO ON M5W 0J3 CANADA
WASTE CONNECTIONS OF FLORIDA         PO BOX 535233 PITTSBURGH PA 15253
WASTE CONNECTIONS OF FLORIDA         5135 MADISON AVE TAMPA FL 33619
WASTE CONNECTIONS OF FLORIDA         3840 NW 37TH CT MIAMI FL 33142



Epiq Corporate Restructuring, LLC                                                               Page 2041 OF 2145
                                                Yellow Corporation
                     Case 23-11069-CTG         Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2050 of 2156

Claim Name                               Address Information
WASTE CONNECTIONS OF TN INC              DISTRICT 6010, PO BOX 535233 PITTSBURGH PA 15253
WASTE CONNECTIONS OF TN INC              2400 CHIPMAN ST KNOXVILLE TN 37917
WASTE HARMONICS                          7620 OMNITECH PLACE, STE 1 VICTOR NY 14564-9413
WASTE HARMONICS                          PO BOX 933459 CLEVELAND OH 44193
WASTE MANAGEMENT                         PO BOX 13648 PHILADELPHIA PA 19101
WASTE MANAGEMENT                         WASTE MANAGEMENT OF PA INC, PO BOX 13648 PHILADELPHIA PA 19101
WASTE MANAGEMENT                         WM CORP SVCS AS PAYMENT AGENT PO BOX 13648 PHILADELPHIA PA 19101
WASTE MANAGEMENT                         WM CORP SVCS AS PMNT AGENT, PO BOX 55558 BOSTON MA 02205
WASTE MANAGEMENT                         WM CORP SVCS AS PYMT AGENT, PO BOX 4648 CAROL STREAM IL 60197
WASTE MANAGEMENT                         20701 PEMBROKE RD. PEMBROKE PINES FL 33029
WASTE MANAGEMENT                         2625 W GRANDVIEW RD 160 PHOENIX AZ 85023
WASTE MANAGEMENT                         PO BOX 541065 LOS ANGELES CA 90054
WASTE MANAGEMENT                         WM CORPORATE SERVICES, INC, PO BOX 7400 PASADENA CA 91109
WASTE MANAGEMENT NATIONAL SERVICES INC   PO BOX 740023 ATLANTA GA 30374
WASTE MANAGEMENT NATIONAL SERVICES INC   800 CAPITOL ST, STE 3000 HOUSTON TX 77002
WASTE MANAGEMENT OF CANADA CORPORATION   117 WENTWORTH CRT BRAMPTON ON L6T 5L4 CANADA
WASTE MANAGEMENT OF CANADA CORPORATION   ATTN SBS CANADA PO BOX 15640 STATION A TORONTO ON M5W 1C1 CANADA
WASTE MGNT OF NEW YORK                   215 VARICK AVE BROOKLYN NY 11237-1026
WASTE MGNT OF NEW YORK                   D/B/A: WASTE MANAGEMENT WM CORP SVCS AS PMNT AGENT, PO BOX 4648 CAROL STREAM
                                         IL 60197
WASTE MGNT OF NEW YORK                   WM CORP SVCS AS PMNT AGENT, PO BOX 4648 CAROL STREAM IL 60197
WASTEQUIP LLC                            6525 CARNEGIE BLVD SUITE 300 CHARLOTTE NC 28211
WASTEWATER SYSTEMS & OPERATION           8623 M.G. BLOUNT LANE DENHAM SPRINGS LA 70726
WATAN BROTHERS TRANSPORT LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WATAN EXPRESS INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WATCHDOG EXPRESS                         9 WINDSONG WAY MAYFLOWER AR 72106
WATCHMAN SECURITY SERVICE                ATTN: NATHAN KNIGHT 707 JOYCE STREET PEARL MS 39208
WATER CREATION                           ATTN: SOPHIA 701 AUTO CENTER DR ONTARIO CA 91761
WATER CREATION INC                       701 AUTO CENTER DR ONTARIO CA 91761
WATER DIST NO 1 OF JOHNSN CNTY           10747 RENNER BLVD LENEXA KS 66219
WATER MATTERS DBA CULLIGAN               327-68TH STREET EAST SASKATOON SK S7P 0E3 CANADA
WATER SOLUTIONS                          PO BOX 157 RATHDRUM ID 83858
WATER SUPERSTORE                         274 FOURTH AVENUE UNIT 10 ST CATHARINES ON L2S 0B6 CANADA
WATERLOGIC                               PO BOX 676002 DALLAS TX 75267
WATERLOGIC                               PO BOX 677867 DALLAS TX 75267
WATERLOGIC                               PO BOX 677867 DALLAS TX 75267-7867
WATERLOGIC                               185 MASON CIR STE B CONCORD CA 94520
WATERLOGIC CANADA, INC                   87 SHARER ROAD WOODBRIDGE ON L4L 8Z3 CANADA
WATERMARK ENTERPRISES, LLC               8989 MASSEY ESTATES DRIVE MERIDIAN MS 39305
WATERS II, GRAYLIN                       ADDRESS ON FILE
WATERS TRUCK & TRACTOR COMPANY INC       PO BOX 529 TUPELO MS 38802
WATERS VACUUM TRUCK SERVICE              PO BOX 18160 RENO NV 89511
WATERS, CALVIN                           ADDRESS ON FILE
WATERS, CODY                             ADDRESS ON FILE
WATERS, DANIEL                           ADDRESS ON FILE
WATERS, DEANDRE                          ADDRESS ON FILE
WATERS, GABRIEL                          ADDRESS ON FILE
WATERS, JOHN                             ADDRESS ON FILE
WATERS, JOSHUA                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 2042 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2051 of 2156

Claim Name                          Address Information
WATERS, RACHEL                      ADDRESS ON FILE
WATERS, RANDY                       ADDRESS ON FILE
WATERS, SEAN                        ADDRESS ON FILE
WATERS, WILLIAM                     ADDRESS ON FILE
WATERS, WILLIAM                     ADDRESS ON FILE
WATERS, WILLIE J                    ADDRESS ON FILE
WATERS-OCASIO, LAUREEN              ADDRESS ON FILE
WATERS-OCASIO, LAUREEN              ADDRESS ON FILE
WATERSIDE TRANSPORTATION INC        4833 ORCHARD LN VIRGINIA BEACH VA 23464
WATERTOWN MUNICIPAL UTILITIES       901 4TH AVE SW WATERTOWN SD 57201
WATERWAY PLASTICS                   2200 STURGIS RD OXNARD CA 93030
WATKINS EXPRESS FREIGHT, INC.       WATKINS EXPRESS FREIGHT INC. 420 DAVENPORT LANE HOPKINSVILLE KY 42240
WATKINS TRUCKING CO., INC.          P O BOX 320678 BIRMINGHAM AL 35232
WATKINS TRUCKS INC                  4031 NEW CASTLE AVENUE NEW CASTLE DE 19720
WATKINS, AARON                      ADDRESS ON FILE
WATKINS, ALBERT                     ADDRESS ON FILE
WATKINS, ANTHONY                    ADDRESS ON FILE
WATKINS, BRANDON                    ADDRESS ON FILE
WATKINS, BYRON                      ADDRESS ON FILE
WATKINS, CHARLES                    ADDRESS ON FILE
WATKINS, CURTIS                     ADDRESS ON FILE
WATKINS, DANIELLE E                 ADDRESS ON FILE
WATKINS, DUSTIN                     ADDRESS ON FILE
WATKINS, ELIJAH                     ADDRESS ON FILE
WATKINS, ERIC                       ADDRESS ON FILE
WATKINS, ERIC                       ADDRESS ON FILE
WATKINS, EZZARD                     ADDRESS ON FILE
WATKINS, FELIX                      ADDRESS ON FILE
WATKINS, GLEN                       ADDRESS ON FILE
WATKINS, GUY S                      ADDRESS ON FILE
WATKINS, JEFFERY                    ADDRESS ON FILE
WATKINS, KENNY                      ADDRESS ON FILE
WATKINS, KEVIN                      ADDRESS ON FILE
WATKINS, LARRY                      ADDRESS ON FILE
WATKINS, MAURICE                    ADDRESS ON FILE
WATKINS, MICHAEL                    ADDRESS ON FILE
WATKINS, MICHAEL                    ADDRESS ON FILE
WATKINS, MICHAEL                    ADDRESS ON FILE
WATKINS, MICHAEL                    ADDRESS ON FILE
WATKINS, NATHAN                     ADDRESS ON FILE
WATKINS, NORRIS                     ADDRESS ON FILE
WATKINS, RANDY                      ADDRESS ON FILE
WATKINS, REGINALD                   ADDRESS ON FILE
WATKINS, ROGER                      ADDRESS ON FILE
WATKINS, SAMANTHA                   ADDRESS ON FILE
WATKINS, SCOTT                      ADDRESS ON FILE
WATKINS, VA SHON                    ADDRESS ON FILE
WATRIN CORP                         951 W PINE AVE W TERRE HAUTE IN 47885
WATROUS, ALLEN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 2043 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2052 of 2156

Claim Name                           Address Information
WATSON & NORRIS PLLC                 1880 LAKELAND DRIVE SUITE G JACKSON MS 39216
WATSON & NORRIS PLLC                 4209 LAKELAND DR 365 FLOWOOD MS 39232
WATSON & WALKER INC                  1661 RINGLING BLVD, PMB 49886 SARASOTA FL 34230
WATSON DIESEL SERVICE COMPANY        1005 THORREZ RD JACKSON MI 49201
WATSON ELECTRICAL                    1500 CHARLESTON ST SE WILSON NC 27893
WATSON EXCAVATING, INC.              1250 COMLY ROAD TURBOTVILLE PA 17772
WATSON FAMILY TRUCKING INC           OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
WATSON MCDANIEL COMPANY              ATTN: DONNA KENNA 428 JONES BLVD POTTSTOWN PA 19464
WATSON TRANSPORTATION, INC.          OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WATSON TRUCKING                      OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WATSON WATER COMPANY INC             4106 UTICA SELLERSBURG RD JEFFERSONVILLE IN 47130
WATSON, ALEXANDER                    ADDRESS ON FILE
WATSON, ANGELIA                      ADDRESS ON FILE
WATSON, ANTHONY                      ADDRESS ON FILE
WATSON, ANTWAN                       ADDRESS ON FILE
WATSON, BRUCE                        ADDRESS ON FILE
WATSON, BRYANT                       ADDRESS ON FILE
WATSON, CHRISTOPHER                  ADDRESS ON FILE
WATSON, COREY                        ADDRESS ON FILE
WATSON, COREY                        ADDRESS ON FILE
WATSON, COREY                        ADDRESS ON FILE
WATSON, DANNY                        ADDRESS ON FILE
WATSON, DARRELL                      ADDRESS ON FILE
WATSON, DEWAYNE                      ADDRESS ON FILE
WATSON, DOUGLAS                      ADDRESS ON FILE
WATSON, ELSIE                        ADDRESS ON FILE
WATSON, FREDERICK                    ADDRESS ON FILE
WATSON, JACOB                        ADDRESS ON FILE
WATSON, JACOB                        ADDRESS ON FILE
WATSON, JAMES                        ADDRESS ON FILE
WATSON, JANSEN                       ADDRESS ON FILE
WATSON, JAZSMYNE                     ADDRESS ON FILE
WATSON, JEFFREY                      ADDRESS ON FILE
WATSON, JEFFREY                      ADDRESS ON FILE
WATSON, JOHN                         ADDRESS ON FILE
WATSON, KEVIN                        ADDRESS ON FILE
WATSON, LEE                          ADDRESS ON FILE
WATSON, LORNA                        ADDRESS ON FILE
WATSON, LOUIS                        ADDRESS ON FILE
WATSON, LYLE                         ADDRESS ON FILE
WATSON, MICHAEL                      ADDRESS ON FILE
WATSON, PAUL                         ADDRESS ON FILE
WATSON, PHILIP R                     ADDRESS ON FILE
WATSON, RAHEEM                       ADDRESS ON FILE
WATSON, RANDY                        ADDRESS ON FILE
WATSON, RICHARD                      ADDRESS ON FILE
WATSON, ROBERT                       ADDRESS ON FILE
WATSON, ROCHANIKA                    ADDRESS ON FILE
WATSON, RODNEY                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2044 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 2053 of 2156

Claim Name                         Address Information
WATSON, STEVEN                     ADDRESS ON FILE
WATSON, TIMOTHY                    ADDRESS ON FILE
WATSON, W                          ADDRESS ON FILE
WATSON, WILLIAM                    ADDRESS ON FILE
WATSONTOWN TRUCKING COMPANY        60 BELFORD BLVD MILTON PA 17847
WATT & STEWART TRUCKING INC        PO BOX 192 SAN ANGELO TX 76902
WATT FENCING INC                   1313 SILVER LN CORAOPOLIS PA 15108
WATT, KIRK                         ADDRESS ON FILE
WATT, KIRK D                       ADDRESS ON FILE
WATTAR, MOHAMMED S                 ADDRESS ON FILE
WATTAR, MOHAMMED S                 ADDRESS ON FILE
WATTERS TOWING LLC                 OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
WATTERS, CHASE                     ADDRESS ON FILE
WATTERS, DON                       ADDRESS ON FILE
WATTERS, ISAAC                     ADDRESS ON FILE
WATTERS, JULIE                     ADDRESS ON FILE
WATTERS, KURT                      ADDRESS ON FILE
WATTERS, ROBERT                    ADDRESS ON FILE
WATTERS, ROBERT M                  ADDRESS ON FILE
WATTLEY, ARIANA                    ADDRESS ON FILE
WATTS EQUIPMENT COMPANY            17547 COMCONEX RD MANTECA CA 95336
WATTS EQUIPMENT COMPANY            PO BOX 2570 MANTECA CA 95336
WATTS STEAM STORE UTAH INC         1982 FLORAL AVE TWIN FALLS ID 83301
WATTS, ANTHONY                     ADDRESS ON FILE
WATTS, CHARLES                     ADDRESS ON FILE
WATTS, ED                          ADDRESS ON FILE
WATTS, HERBERT                     ADDRESS ON FILE
WATTS, JOSEPH                      ADDRESS ON FILE
WATTS, JOSEPH H                    ADDRESS ON FILE
WATTS, JUANITA                     ADDRESS ON FILE
WATTS, JUSTIN                      ADDRESS ON FILE
WATTS, MATTHEW                     ADDRESS ON FILE
WATTS, MICHAEL                     ADDRESS ON FILE
WATTS, PAUL                        ADDRESS ON FILE
WATTS, REGINALD                    ADDRESS ON FILE
WATTS, RETINA                      ADDRESS ON FILE
WATTS, ROBERT                      ADDRESS ON FILE
WATWOOD INVESTMENTS LLC            ATTN: RON WATSON, PO BOX 1207 DOTHAN AL 36302
WATZ, JEFFERY                      ADDRESS ON FILE
WAUGH, HENRY                       ADDRESS ON FILE
WAUGH, RICK                        ADDRESS ON FILE
WAUKESHA COUNTY SHERIFFS DEPT      ATTN: RECORDS DIVISION 515 W MORELAND BLVD WAUKESHA WI 53188
WAUKESHA COUNTY SHERIFFS DEPT      WAUKESHA COUNTY COLLECTION DIVISION 515 W MORELAND BLVD ROOM AC 348 WAUKESHA
                                   WI 53188
WAULK, LEE N                       ADDRESS ON FILE
WAVE FREIGHT SYSTEMS LTD           OR ECAPITAL ORILLIA (CAN) 174 WEST ST SOUTH 2ND FLOOR ORILLIA ON L3V6L4 CANADA
WAVE LOGISTICS INC                 WAVE LOGISTICS INC, 2027 FIELDCREST LANE TWINSBURG OH 44087
WAVE LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WAVE TRANSPORT LLC                 OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053



Epiq Corporate Restructuring, LLC                                                          Page 2045 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 2054 of 2156

Claim Name                              Address Information
WAVES TRANSPORTATION INC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
WAVEY TRUCKING LLC                     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
WAWAK, PETER                           ADDRESS ON FILE
WAWROWICZ, ANDREW                      ADDRESS ON FILE
WAX RX                                 ATTN: STERLING PRICE 1035 BLANDING BLVD STE 108 ORANGE PARK FL 32065
WAXDAHL AUTO PARTS (NAPA)              101 S. CRESENT AVE. FLANDREAU SD 57028
WAXMART LLC                            OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WAXTER, TREVONE                        ADDRESS ON FILE
WAY 2 GO TRANS                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WAY MECHANICAL                         8610 WALLISVILLE RD HOUSTON TX 77029
WAY OF THE SHEPARD LLC                 OR CASHWAY FUNDING, P.O. BOX 724051 ATLANTA GA 31139-4051
WAY TO WAY INC                         OR RIVIERA FINANCE OF TEXAS PO BOX 202487 DALLAS TX 75320-2487
WAY USA INC                            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WAY, AARON D                           ADDRESS ON FILE
WAY, DONALD                            ADDRESS ON FILE
WAY, MARCO                             ADDRESS ON FILE
WAYDULA, JAMES                         ADDRESS ON FILE
WAYLIK TRANSPORT INC                   OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
WAYMAKER TRANSPORTATION LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WAYMAN, JEFF                           ADDRESS ON FILE
WAYMAN, PHILIP                         ADDRESS ON FILE
WAYMAN, TAYLOR                         ADDRESS ON FILE
WAYMARKS TRANSFER SYSTEMS LLC          OR ALADDIN FINANCIAL INC, PO BOX 1394 SIOUX FALLS SD 57101
WAYNE A HALES                          ADDRESS ON FILE
WAYNE B HARTLE                         ADDRESS ON FILE
WAYNE BAILEY                           ADDRESS ON FILE
WAYNE BUILT C/O ECHO                   ATTN: JANAU WASHINGTON 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
WAYNE CONSULTANT GROUP LLC             160 HUCKLEBERRY LN ELLENWOOD GA 30294
WAYNE CURRY LOGISTICS MANAGEMENT LLC   OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
WAYNE DALTON PORTLAND                  ATTN: RENEE LAWRENCE 5511 SE 26TH PORTLAND OR 97202
WAYNE EDWARDS TOWING                   444 JACKSON STREET, PO BOX 506 LAKE VILLAGE AR 71653
WAYNE HUGHES TRUCKING INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WAYNE JENKINS                          ADDRESS ON FILE
WAYNE JOHNSONS ROYAL TRANSPORTATION LLC OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WAYNE LOGISTICS LLC                    OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
WAYNE SMITH TRUCKING, INC.             PO BOX 356 MORRILTON AR 72110
WAYNE TYLER INC                        ATTN: GORDON GRANT 1535 GRAND AVE SAN MARCOS CA 92078
WAYNE VALK                             ADDRESS ON FILE
WAYNE, JEFFERSON                       ADDRESS ON FILE
WAYNE, MARTEZ                          ADDRESS ON FILE
WAYNE, REBECCA                         ADDRESS ON FILE
WAYNS TRANSPORTATION LLC               OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WAYRAH LOGISTICS LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
WAYS CARGO INC                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
WAYS EXPRESS INC                       OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
WAYS INC                               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WAYSIDE RESOURCES LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WAYSTAR EXPRESS, INC                   9546 CREEMORE DR TUJUNGA CA 91042
WAYSTAR LOGISTICS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                 Page 2046 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 2055 of 2156

Claim Name                              Address Information
WB LOGISTICS INC                        OR ASSIST FINANCIAL SERVICES INC. PO BOX 347 MADISON SD 57042
WBC TRUCKING AND LOGISTICS LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WBRP GAS & WATER SYSTEMS                880 N ALEXANDER PORT ALLEN LA 70767
WBURNS                                  940 VISADOR RD JASPER TX 75951
WC HAULING LLC                          OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
WC LOGISTICS LLC                        OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WC TRUCKING LLC                         OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
WCT LOGISTICS LLC                       WCT LOGISTICS LLC, 4660 SOUTH 146TH ST TUKWILA WA 98168
WD CARRIER LLC                          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WD GROUP                                1800 W HAWTHORNE LN H1 WEST CHICAGO IL 60185
WD TRANSPORT                            603-34 CARSCADDEN DR TORONTO ON M2R2A8 CANADA
WDS INC                                 MASTER ACCOUNT TUALATIN OR 97062
WE ALL VALUE EXCELLENCE TRANSPORT INC   151 TELFAIR LN MCDONOUGH GA 30253
WE ARE UNITED TRANSPORT LLC             OR OPERATION FINANCE, INC, PO BOX 227352 DALLAS TX 75222-7352
WE ELITE TRANSPORTATION LLC             OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WE ENERGIES                             P.O. BOX 90001 MILWAUKEE WI 53201-0001
WE ENERGIES                             3100 W NORTH AVE MILWAUKEE WI 53208
WE GLOBAL LLC                           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
WE GOT THIS ONE TRUCKING LLC            OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WE GOT THIS TRUCKING LLC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WE HAUL FREIGHT L L C                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WE HAUL LOGISTICS (MC1077175)           OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074
WE MOVE PRODUCTS, LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WE OUTSIDE LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WE OUTSIDE LLC                          3008 E CHELTENHAM PL APT 706 CHICAGO IL 60649
WE SHIP LOGISTICS INC                   OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
WE THEM BOYZ TRANSPORT LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WE TRANSPORT 2 LLC                      OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WEAKLEY, LAWRENCE                       ADDRESS ON FILE
WEAKLEY, LAWRENCE                       ADDRESS ON FILE
WEARNE, DAVID                           ADDRESS ON FILE
WEARY, TYRONE                           ADDRESS ON FILE
WEAST, CIERRA                           ADDRESS ON FILE
WEATHERABLES LLC                        ATTN: WEATHERABLES ACCOUNTING 5795 GREENPOINTE DR S GROVEPORT OH 43125
WEATHERBY, DARRYL                       ADDRESS ON FILE
WEATHERBY, MARK                         ADDRESS ON FILE
WEATHERFORD, SARA                       ADDRESS ON FILE
WEATHERHOLTZ, JAZMINE                   ADDRESS ON FILE
WEATHERILL TRUCKING LLC                 OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
WEATHERS, DREW                          ADDRESS ON FILE
WEATHERS, JASON                         ADDRESS ON FILE
WEATHERS, PAMELA                        ADDRESS ON FILE
WEATHERS, PAUL                          ADDRESS ON FILE
WEATHERS, SHAWN                         ADDRESS ON FILE
WEATHERS, SHELDON                       ADDRESS ON FILE
WEATHERS, TERRY                         ADDRESS ON FILE
WEATHERSPOON, EDDIE                     ADDRESS ON FILE
WEATHINGTON, MICHAEL                    ADDRESS ON FILE
WEATHINGTON, RANDY                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 2047 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2056 of 2156

Claim Name                               Address Information
WEAVER JR, FRANK                         ADDRESS ON FILE
WEAVER JR, JOHNNY                        ADDRESS ON FILE
WEAVER LOGISTICS LLC                     1660 HARVEST HL DOUGLASVILLE GA 30134
WEAVER, ARMANDO                          ADDRESS ON FILE
WEAVER, AUSTIN                           ADDRESS ON FILE
WEAVER, AUSTIN                           ADDRESS ON FILE
WEAVER, CABEREA                          ADDRESS ON FILE
WEAVER, CATHERINE A                      ADDRESS ON FILE
WEAVER, CHARLES                          ADDRESS ON FILE
WEAVER, DALE                             ADDRESS ON FILE
WEAVER, DEAN                             ADDRESS ON FILE
WEAVER, DONALD                           ADDRESS ON FILE
WEAVER, DONALD                           ADDRESS ON FILE
WEAVER, DWIGHT                           ADDRESS ON FILE
WEAVER, ELIZABETH                        ADDRESS ON FILE
WEAVER, FRANK                            ADDRESS ON FILE
WEAVER, GABRIEL                          ADDRESS ON FILE
WEAVER, GEORGE                           ADDRESS ON FILE
WEAVER, GREGORY                          ADDRESS ON FILE
WEAVER, IVAN                             ADDRESS ON FILE
WEAVER, JAMES                            ADDRESS ON FILE
WEAVER, JAMES                            ADDRESS ON FILE
WEAVER, JAMES                            ADDRESS ON FILE
WEAVER, JARROD                           ADDRESS ON FILE
WEAVER, JEREMY                           ADDRESS ON FILE
WEAVER, JESSIE                           ADDRESS ON FILE
WEAVER, JOHN                             ADDRESS ON FILE
WEAVER, JOHN                             ADDRESS ON FILE
WEAVER, JOHN                             ADDRESS ON FILE
WEAVER, JOSEPH                           ADDRESS ON FILE
WEAVER, JOSHUA                           ADDRESS ON FILE
WEAVER, KEVIN                            ADDRESS ON FILE
WEAVER, LARRY                            ADDRESS ON FILE
WEAVER, LISA                             ADDRESS ON FILE
WEAVER, MARCUS                           ADDRESS ON FILE
WEAVER, MICHAEL                          ADDRESS ON FILE
WEAVER, MORIAH                           ADDRESS ON FILE
WEAVER, MOSES                            ADDRESS ON FILE
WEAVER, RICKY                            ADDRESS ON FILE
WEAVER, ROBERT                           ADDRESS ON FILE
WEAVER, STEPHEN                          ADDRESS ON FILE
WEAVER, SYDNEY                           ADDRESS ON FILE
WEAVER, TERRY                            ADDRESS ON FILE
WEAVER, TROY                             ADDRESS ON FILE
WEAVER, VALDEMAR J                       ADDRESS ON FILE
WEAVER, WILLIE                           ADDRESS ON FILE
WEAVERS ASPHALT & MAINTENANCE CO, INC.   PO BOX 2801 ROCKY MOUNT NC 27802
WEAVES TRUCKING INC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
WEB DIRECT                               ATTN: ALEX RODRIGUEZ 13100 STATE ROAD 54 ODESSA FL 33556



Epiq Corporate Restructuring, LLC                                                                   Page 2048 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 2057 of 2156

Claim Name                          Address Information
WEBB COUNTY TAX OFFICE              PO BOX 420128 LAREDO TX 78042
WEBB COUNTY TAX OFFICE              1110 VICTORIA ST STE 107 LAREDO TX 78042
WEBB MECHANICAL & ELECTRICAL        12550 UNIVERSAL TAYLOR MI 48180
CONTRACTORS
WEBB PROPERTIES INC                 PO BOX 1224 ALBANY GA 31702
WEBB, ANDRE                         ADDRESS ON FILE
WEBB, BARRY                         ADDRESS ON FILE
WEBB, BENJAMIN                      ADDRESS ON FILE
WEBB, BRANDON                       ADDRESS ON FILE
WEBB, CAROLYN                       ADDRESS ON FILE
WEBB, CLINTON                       ADDRESS ON FILE
WEBB, DAVID                         ADDRESS ON FILE
WEBB, DEONTE                        ADDRESS ON FILE
WEBB, DONNA                         ADDRESS ON FILE
WEBB, DORIS                         ADDRESS ON FILE
WEBB, ERIC                          ADDRESS ON FILE
WEBB, EVAN                          ADDRESS ON FILE
WEBB, JAMES R                       ADDRESS ON FILE
WEBB, JAMES R                       ADDRESS ON FILE
WEBB, JAYVON K                      ADDRESS ON FILE
WEBB, JENNIFER                      ADDRESS ON FILE
WEBB, JOHN                          ADDRESS ON FILE
WEBB, JOHN                          ADDRESS ON FILE
WEBB, KAYLA                         ADDRESS ON FILE
WEBB, KEVIN                         ADDRESS ON FILE
WEBB, KEVIN S                       ADDRESS ON FILE
WEBB, LAMARUS                       ADDRESS ON FILE
WEBB, MATTHEW                       ADDRESS ON FILE
WEBB, MICHAEL                       ADDRESS ON FILE
WEBB, MICHAEL                       ADDRESS ON FILE
WEBB, MICHAEL                       ADDRESS ON FILE
WEBB, OTTO                          ADDRESS ON FILE
WEBB, RANDY                         ADDRESS ON FILE
WEBB, RASHAD                        ADDRESS ON FILE
WEBB, RICHARD                       ADDRESS ON FILE
WEBB, RICHARD M                     ADDRESS ON FILE
WEBB, RONALD                        ADDRESS ON FILE
WEBB, SCOTT                         ADDRESS ON FILE
WEBB, SHAWN                         ADDRESS ON FILE
WEBB, STEPH                         ADDRESS ON FILE
WEBB, STEVEN                        ADDRESS ON FILE
WEBB, THOMAS                        ADDRESS ON FILE
WEBB, TRACEY                        ADDRESS ON FILE
WEBB, TRACI                         ADDRESS ON FILE
WEBB, TYRONE                        ADDRESS ON FILE
WEBB, WAYNE                         ADDRESS ON FILE
WEBB, WENDY                         ADDRESS ON FILE
WEBB, ZACHARY                       ADDRESS ON FILE
WEBB, ZANE                          ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                       Page 2049 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2058 of 2156

Claim Name                               Address Information
WEBBER INFRASTRUCTURE                    10415 MORADO CIRCLE BUILDING 2 SUITE 200 AUSTIN TX 78759
WEBBER TRANSPORT LLC                     OR ITHRIVE FUNDING LLC PO BOX 1000 DEPT 848 MEMPHIS TN 38148-1000
WEBBER, CHANNING                         ADDRESS ON FILE
WEBBER, JARON                            ADDRESS ON FILE
WEBBER, LARRY                            ADDRESS ON FILE
WEBBER, MARSHALL                         ADDRESS ON FILE
WEBBER, PEARL                            ADDRESS ON FILE
WEBBER, ROBERT M                         ADDRESS ON FILE
WEBBER, WILBURN                          ADDRESS ON FILE
WEBBS LOGISTICS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WEBER FIRE AND SAFETY EQUIPMENT CO.      2749 CAPETOWN VILLAGE ROAD HIGH RIDGE MO 63049
WEBER TRANSPORT LLC                      8610 TRUCKER TRAIL CHEYENNE WY 82007
WEBER, DUSTIN                            ADDRESS ON FILE
WEBER, EDWARD F                          ADDRESS ON FILE
WEBER, JACOB                             ADDRESS ON FILE
WEBER, JAMES                             ADDRESS ON FILE
WEBER, JASON                             ADDRESS ON FILE
WEBER, JAY                               ADDRESS ON FILE
WEBER, JOHN                              ADDRESS ON FILE
WEBER, JOSEPH                            ADDRESS ON FILE
WEBER, JOSEPH                            ADDRESS ON FILE
WEBER, MICHAEL D                         ADDRESS ON FILE
WEBER, RANDY                             ADDRESS ON FILE
WEBER, RODNEY                            ADDRESS ON FILE
WEBER, TIMOTHY                           ADDRESS ON FILE
WEBER, TIMOTHY                           ADDRESS ON FILE
WEBER, TIMOTHY                           ADDRESS ON FILE
WEBFOOT TRK & EQ                         ATTN: AMY PRESLEY 3450 CRATER LAKE AVE MEDFORD OR 97504
WEBFOOT TRUCK & EQUIPMENT INC            3450 CRATER LAKE AVE MEDFORD OR 97504
WEBLEY EXPRESS INC                       5 DRUMMONDVILLE DR BRAMPTON ON L6P 3M6 CANADA
WEBSITEPULSE                             2451 RIVER TREE CIR SANFORD FL 32771
WEBSON TRUCKING LLC                      OR ITHRIVE FUNDING LLC PO BOX 1000 DEPT 848 MEMPHIS TN 38148-1000
WEBSTAURANT STORE                        ATTN: DAVID TADRUS 40 CITATION LANE LITITZ PA 17543
WEBSTAURANT STORE                        ATTN: ELISE PEREZ TORRES 40 CITATION LN LITITZ PA 17543
WEBSTAURANT STORE                        ATTN: NATALIE MCALLISTER 40 CITATION LN LITITZ PA 17543
WEBSTAURANT STORE                        ATTN: SAMANTHA BARE 40 CITATION LANE LITITZ PA 17543
WEBSTAURANT STORE                        ATTN: TRENT WEISS 40 CITATION LANE LITITZ PA 17543
WEBSTAURANTSTORE                         40 CITATION LN LITITZ PA 17543
WEBSTAURANTSTORE.COM                     40 CITATION LITITZ PA 17543
WEBSTAURANTSTORE.COM                     RE TRANS FREIGHT, PO BOX 9490 FALL RIVER MA 02720
WEBSTAURANTSTORE.COM                     111 AIRPARK VISTA BLVD DAYTON NV 89403
WEBSTER BANK                             ONE JERICHO PLAZA JERICHO NY 11753
WEBSTER SQUARE MEDICAL                   255 PARK AVE WORCESTER MA 01609
WEBSTER TRANSPORTATION & LOGISTICS LLC   OR TRUCKSTOP FACTORING, PO BOX 7410411 CHICAGO IL 60674-0411
WEBSTER, ADAM                            ADDRESS ON FILE
WEBSTER, AMBER                           ADDRESS ON FILE
WEBSTER, ANTHONY                         ADDRESS ON FILE
WEBSTER, CLAYTON                         ADDRESS ON FILE
WEBSTER, DAVID                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 2050 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                           Page 2059 of 2156

Claim Name                          Address Information
WEBSTER, DENNIS                     ADDRESS ON FILE
WEBSTER, DONALD                     ADDRESS ON FILE
WEBSTER, ELI                        ADDRESS ON FILE
WEBSTER, GARY                       ADDRESS ON FILE
WEBSTER, JAMIE                      ADDRESS ON FILE
WEBSTER, KRISTOPHER                 ADDRESS ON FILE
WEBSTER, LORI                       ADDRESS ON FILE
WEBSTER, MARK                       ADDRESS ON FILE
WEBSTER, SHAQUILLE                  ADDRESS ON FILE
WEBSTORE GROUP                      C/O ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE 725 CHICAGO IL 60654
WECH, DENNIS                        ADDRESS ON FILE
WECO                                PO BOX 41390 EUGENE OR 97404
WEDBUSH MORGAN SECS INC (0103)      ATT ALAN FERREIRA OR PROXY MGR 1000 WILSHIRE BLVD., STE 850 LOS ANGELES CA
                                    90030
WEDBUSH SECS INC./P3 (8199)         ATT ALAN FERREIRA OR PROXY MGR 1000 WILSHIRE BLVD., STE 850 LOS ANGELES CA
                                    90017
WEDDLE, LARRY                       ADDRESS ON FILE
WEDIG TRUCKING                      OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
WEDOW, LUCAS                        ADDRESS ON FILE
WEDOW, WILLIAM                      ADDRESS ON FILE
WEDRICK, LOLA                       ADDRESS ON FILE
WEED MAN                            1305 S 27TH ST W SUITE 1 BILLINGS MT 59102
WEED MAN SASKATOON                  853 56TH STREET EAST SASKATOON SK S7L 5Y9 CANADA
WEED PRO                            306 14TH AVE EAST REGINA SK S4N 0T5 CANADA
WEED, BRIAN                         ADDRESS ON FILE
WEED, COREY                         ADDRESS ON FILE
WEED, EDWARD C                      ADDRESS ON FILE
WEED, JAMIE                         ADDRESS ON FILE
WEEDEN, CHERYL                      ADDRESS ON FILE
WEEDEN, JAVARIUS                    ADDRESS ON FILE
WEEDEN, MARK                        ADDRESS ON FILE
WEEDEN, ROBERT C                    ADDRESS ON FILE
WEEDS INC                           250 BODLEY RD ASTON PA 19014
WEEK, JIM                           ADDRESS ON FILE
WEEKLY EXPRESS LIMITED LIABILITY    207 E 89TH ST CHICAGO IL 60619
COMPANY
WEEKS, ALAN                         ADDRESS ON FILE
WEEKS, CJ                           ADDRESS ON FILE
WEEKS, EDDIE                        ADDRESS ON FILE
WEEKS, EDWARD E                     ADDRESS ON FILE
WEEKS, LISA                         ADDRESS ON FILE
WEELBORG, ROBERTA                   ADDRESS ON FILE
WEEMES, CRYSTAL                     ADDRESS ON FILE
WEERS, ROBERT                       ADDRESS ON FILE
WEERTS, ROBERT                      ADDRESS ON FILE
WEG ELECTRIC CORP                   310 MAIN AVE WAY SE HICKORY NC 28602
WEGEHAUPT, MICHAEL                  ADDRESS ON FILE
WEGGELAND, MICHAEL                  ADDRESS ON FILE
WEGLARZ, STANLEY                    ADDRESS ON FILE
WEGMANN AUTOMOTIVE USA INC          INTERSTATE FREIGHT AUDIT, PO BOX 1407 WHITE HOUSE TN 37188


Epiq Corporate Restructuring, LLC                                                           Page 2051 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2060 of 2156

Claim Name                           Address Information
WEGMANS FOOD MARKETS, INC.           AR LOCKBOX, PO BOX 23150 ROCHESTER NY 14692
WEGNER AUTO SERVICE LLC              1185 HWY 80 S RICHLAND CENTER WI 53581
WEGNER, JAMES                        ADDRESS ON FILE
WEGNER, PETER                        ADDRESS ON FILE
WEH ENTERPRISES INC                  OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                     IL 60674-0411
WEHKING, ALEX                        ADDRESS ON FILE
WEHLIYE EXPRESS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WEI, CHEN                            ADDRESS ON FILE
WEIDMAN, EMILY                       ADDRESS ON FILE
WEIGH TO GO TRANSPORT INC            OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
WEIGH-RITE SCALE CO INC              PO BOX 396 SOMERSET WI 54025
WEIGH-TRONIX CANADA, ULC             6429 ABRAMS ST ST-LAURENT QC H4S 1X9 CANADA
WEIGHT MOVERS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WEIGLE, JASON                        ADDRESS ON FILE
WEIL WRECKER SERVICE                 3400 2ND AVE SOUTH BIRMINGHAM AL 35222
WEILANDICS, MARC                     ADDRESS ON FILE
WEIMAN PRODUCTS                      705 TRI STATE PKWY GURNEE IL 60031
WEIMER, JASON                        ADDRESS ON FILE
WEIMER, ROBERT                       ADDRESS ON FILE
WEIMER, ROBERT                       ADDRESS ON FILE
WEINBERG, KENNETH                    ADDRESS ON FILE
WEINBERGER WASTE DISPOSAL            3425 S 43RD AVE. PHOENIX AZ 85009
WEINBERGER, BRIAN                    ADDRESS ON FILE
WEINEL, DANIEL                       ADDRESS ON FILE
WEINFURTER, BRYAN                    ADDRESS ON FILE
WEINGARTNER, COLLIN                  ADDRESS ON FILE
WEINI TRANSPORTATION LLC             OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
WEINI TRANSPORTATION LLC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WEINSTEIN JOHN                       ADDRESS ON FILE
WEINSTEIN, SCOTT                     ADDRESS ON FILE
WEINSTELBAUM LOGISTICS INC           2325 CANYON PARK DR DIAMOND BAR CA 91765
WEINZETL, CLELL M                    ADDRESS ON FILE
WEIR, JARROD                         ADDRESS ON FILE
WEIR, KEVIN                          ADDRESS ON FILE
WEIR, ROGER                          ADDRESS ON FILE
WEIS TRUCK & TRAILER REPAIR          1600 LEXINGTON AVE ROCHESTER NY 14606
WEISBURG LANDSCAPE MAINTENANCE       4450 MARK DABLING BLVD COLORADO SPRINGS CO 80907
WEISFIELD, WILLIAM                   ADDRESS ON FILE
WEISHAAR, LAURA                      ADDRESS ON FILE
WEISHAR, REESE                       ADDRESS ON FILE
WEISNICHT, MICHAEL                   ADDRESS ON FILE
WEISS BROS. OF HAGERSTOWN, INC.      18038 OAK RIDGE DR HAGERSTOWN MD 21740
WEISS COMPANY XI, LLC                ATTN: ERIC WEISS 1402 THIRD AVENUE, SUITE 601 SEATTLE WA 98101
WEISS LAW OFFICES PC                 5 REVERE DR STE 200 NORTHBROOK IL 60062
WEISS, DAVID                         ADDRESS ON FILE
WEISS, JASON                         ADDRESS ON FILE
WEISS, JESSIE                        ADDRESS ON FILE
WEISSEG, MICHAEL                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2052 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2061 of 2156

Claim Name                           Address Information
WEISSENFLUH, BRIAN                   ADDRESS ON FILE
WEISTER, RODNEY                      ADDRESS ON FILE
WEITZ, FRANK C                       ADDRESS ON FILE
WEITZ, MICHAEL                       ADDRESS ON FILE
WEITZEL, WILLIAM                     ADDRESS ON FILE
WEIZEL, JAYSON                       ADDRESS ON FILE
WELBERGEN, ANDREW                    ADDRESS ON FILE
WELBILT                              111 HOPE ST. COVINGTON TN 38019
WELBORN, JAMES                       ADDRESS ON FILE
WELBURN, JAMES                       ADDRESS ON FILE
WELCH BROTHERS                       148A TANNER ST. LOWELL MA 01852
WELCH EQUIPMENT COMPANY INC          P.O. BOX 676292 DALLAS TX 75267
WELCH EQUIPMENT COMPANY INC          5025 NOME ST DENVER CO 80239
WELCH EQUIPMENT COMPANY INC          PO BOX 912504 DENVER CO 80291
WELCH, BRENDEN                       ADDRESS ON FILE
WELCH, BRIAN                         ADDRESS ON FILE
WELCH, COLBY                         ADDRESS ON FILE
WELCH, DANIEL                        ADDRESS ON FILE
WELCH, DAVID                         ADDRESS ON FILE
WELCH, DE-WANNA                      ADDRESS ON FILE
WELCH, DEL                           ADDRESS ON FILE
WELCH, GRANT                         ADDRESS ON FILE
WELCH, JAMES E                       ADDRESS ON FILE
WELCH, JUSTIN                        ADDRESS ON FILE
WELCH, MATHEW                        ADDRESS ON FILE
WELCH, MICHAEL                       ADDRESS ON FILE
WELCH, MICHAEL                       ADDRESS ON FILE
WELCH, PATTY                         ADDRESS ON FILE
WELCH, ROBERT                        ADDRESS ON FILE
WELCH, ROGER                         ADDRESS ON FILE
WELCH, SCOTT                         ADDRESS ON FILE
WELCH, THOMAS                        ADDRESS ON FILE
WELCHER, WILLIAM                     ADDRESS ON FILE
WELDER SERVICE CO INC                101 ARCO DR TOLEDO OH 43607
WELDON PARTS, INC.                   PO BOX 2115 OKLAHOMA CITY OK 73101
WELDON, GARY                         ADDRESS ON FILE
WELDON, PARISH                       ADDRESS ON FILE
WELDON, RODNEY                       ADDRESS ON FILE
WELDY, FRANKLIN                      ADDRESS ON FILE
WELEX LOGISTICS INC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
WELFARE ACCOUNT NO. 500              UNION NATIONAL BANK OF ELGIN 101 E. CHICAGO ST ELGIN IL 60120-6466
WELIVER, SHERRY                      ADDRESS ON FILE
WELIYO TRUCKING & LOGISTICS LLC      OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
WELKE TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WELKEBA TRUCKING LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WELKER, RONALD                       ADDRESS ON FILE
WELL AMERICA INC                     OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
WELL-LINK LOGISTICS LLC              OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WELL-WELL US LOGISTICS LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                             Page 2053 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 2062 of 2156

Claim Name                               Address Information
WELLA OPERATIONS US LLC                  PO BOX 9202, ATTN: JENNIFER SCALA, OLD BETHPAGE NY 11804-9002
WELLCOME, PATRICK                        ADDRESS ON FILE
WELLDONE MECHANICAL SERVICES INC         470 HENDERSON DR REGINA SK S4N 5W9 CANADA
WELLER AUTO PARTS INC.                   2522 BURLINGAME AVE SW WYOMING MI 49509
WELLER TRUCK PARTS                       1500 GEZON PARKWAY SW GRAND RAPIDS MI 49509
WELLER TRUCK PARTS                       1500 GEZON PARKWAY GRAND RAPIDS MI 49509
WELLER, DARIN                            ADDRESS ON FILE
WELLER, KEISHA                           ADDRESS ON FILE
WELLER, SETH                             ADDRESS ON FILE
WELLES, ANTHONY                          ADDRESS ON FILE
WELLING, KURTIS                          ADDRESS ON FILE
WELLINGTON EXPRESS TRANSPORTATION INC    7501 SW 7 CT NORTH LAUDERDALE FL 33068
WELLMADE FLOOR COVERINGS                 PO BOX 2704 WILSONVILLE OR 97070
WELLMADE FLOOR COVERINGS - PT            26100 SW 95TH AVE STE 205 WILSONVILLE OR 97070
WELLMAN, JESSE                           ADDRESS ON FILE
WELLNOW URGENT CARE                      PO BOX 10249 ALBANY NY 12201
WELLNOW URGENT CARE                      PO BOX 10459 ALBANY NY 12201
WELLS CARGO EXPRESS LLC                  OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
WELLS FARGO BANK NA                      800 WALNUT ST F0005-044 DES MOINES IA 50309
WELLS FARGO BANK NA                      PO BOX 77101 MINNEAPOLIS MN 55480
WELLS FARGO BANK NA/SIG (2072)           ATT SCOTT NELLIS OR PROXY MGR 1525 W T HARRIS BLVD 1ST FL CHARLOTTE NC
                                         28262-8522
WELLS FARGO CAPITAL FINANCE INC          1800 CENTURY PARK E STE 1100 CENTURY CITY CA 90067-1519
WELLS FARGO CLEARSVCS (0141)             ATT PROXY DEPT H0006-08N 2801 MARKET ST ST. LOUIS MO 63103
WELLS FARGO SECS, LLC (0250)             ATT SCOTT NELLIS OR PROXY MGR CORP ACTIONS - MAC D109-010 1525 WEST WT HARRIS
                                         BLVD, 1B1 CHARLOTTE NC 28262
WELLS FARGO VENDOR FINANCIAL SRVC, LLC   ATTN: LEASE END, PO BOX 931088 ATLANTA GA 31193
WELLS FARGO VENDOR FINANCIAL SRVC, LLC   PO BOX 650016 DALLAS TX 75265
WELLS II, WILLIAM                        ADDRESS ON FILE
WELLS III, ANDREW                        ADDRESS ON FILE
WELLS JR, ANDREW                         ADDRESS ON FILE
WELLS RADFORD CORPORATION                19805 N UMPQUA HWY GLIDE OR 97443
WELLS, ADAM                              ADDRESS ON FILE
WELLS, ARNOLD                            ADDRESS ON FILE
WELLS, BONNIE E                          ADDRESS ON FILE
WELLS, BONNIE E                          ADDRESS ON FILE
WELLS, BRIAN                             ADDRESS ON FILE
WELLS, CARL A                            ADDRESS ON FILE
WELLS, CHARLES R                         ADDRESS ON FILE
WELLS, CRIS                              ADDRESS ON FILE
WELLS, DANIEL                            ADDRESS ON FILE
WELLS, DERRICK                           ADDRESS ON FILE
WELLS, GERALD                            ADDRESS ON FILE
WELLS, GREGORY P                         ADDRESS ON FILE
WELLS, HAROLD                            ADDRESS ON FILE
WELLS, HOWARD                            ADDRESS ON FILE
WELLS, JAMES                             ADDRESS ON FILE
WELLS, JASON                             ADDRESS ON FILE
WELLS, JOHN J                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 2054 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2063 of 2156

Claim Name                           Address Information
WELLS, KATHLEEN                      ADDRESS ON FILE
WELLS, KENNETH                       ADDRESS ON FILE
WELLS, LARRY                         ADDRESS ON FILE
WELLS, LEANNA                        ADDRESS ON FILE
WELLS, LEE                           ADDRESS ON FILE
WELLS, MARCUS                        ADDRESS ON FILE
WELLS, MARSHALL                      ADDRESS ON FILE
WELLS, MAURICE                       ADDRESS ON FILE
WELLS, MIKE                          ADDRESS ON FILE
WELLS, NATALIE                       ADDRESS ON FILE
WELLS, PAQUETTA                      ADDRESS ON FILE
WELLS, PERRY                         ADDRESS ON FILE
WELLS, RANDEL                        ADDRESS ON FILE
WELLS, ROBERT                        ADDRESS ON FILE
WELLS, RUSSELL                       ADDRESS ON FILE
WELLS, STEVE                         ADDRESS ON FILE
WELLSPENT BREWING CO                 ATTN: DAVE DAUES 2917 OLIVE ST ST LOUIS MO 63103
WELP, COLE                           ADDRESS ON FILE
WELSCO INC                           127 AUDUBON DR, STE C, BOX 192 MAUMELLE AR 72113
WELSH ELECTRIC INC. II               2535 STATE ROUTE 218 GALLIPOLIS OH 45631
WELSH, BRUCE                         ADDRESS ON FILE
WELSH, DAVID                         ADDRESS ON FILE
WELSH, KEITH                         ADDRESS ON FILE
WELSH, LARRY                         ADDRESS ON FILE
WELSH, MATTHEW                       ADDRESS ON FILE
WELSH, MAURICE                       ADDRESS ON FILE
WELSH, RYAN                          ADDRESS ON FILE
WELSH, SCOTT                         ADDRESS ON FILE
WELSH, SHAWN                         ADDRESS ON FILE
WELSH, TAMI                          ADDRESS ON FILE
WELTON COOKS JR                      ADDRESS ON FILE
WELTY, ERIC                          ADDRESS ON FILE
WELTY, JASON                         ADDRESS ON FILE
WELTY, LARRY                         ADDRESS ON FILE
WELTZIN, DAVID                       ADDRESS ON FILE
WELWOOD, PATRICK                     ADDRESS ON FILE
WENCE, DONALD                        ADDRESS ON FILE
WENCES TRANSPORTS LLC                OR TRANSPORTATION FINANCE CORP 14007 S. BELL ROAD 169 HOMER GLEN IL 60491
WENCESLAO, ISRAEL                    ADDRESS ON FILE
WENDE, JASON                         ADDRESS ON FILE
WENDELL R LAGOSH                     ADDRESS ON FILE
WENDLING ENTERPRISES                 4374 BRIGGS LANE MERCED CA 95348
WENDLING, HERBERT                    ADDRESS ON FILE
WENDLING, THOMAS                     ADDRESS ON FILE
WENG, HAIFENG                        ADDRESS ON FILE
WENGER, DAVID                        ADDRESS ON FILE
WENGER, GARY                         ADDRESS ON FILE
WENGER, JERRY                        ADDRESS ON FILE
WENGER, THOMAS                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2055 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2064 of 2156

Claim Name                           Address Information
WENGERD, CHRISTOPHER                 ADDRESS ON FILE
WENIGER, JESSE                       ADDRESS ON FILE
WENK III, FRED                       ADDRESS ON FILE
WENNEKER, JOHN                       ADDRESS ON FILE
WENNER, CADE                         ADDRESS ON FILE
WENNER, KYLE                         ADDRESS ON FILE
WENNER, RANDALL                      ADDRESS ON FILE
WENSEL, JAMES                        ADDRESS ON FILE
WENTHE TRUCKING, L.L.C.              OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
WENTWORTH, BRADLEY                   ADDRESS ON FILE
WENTWORTH, CRAIG                     ADDRESS ON FILE
WENTZELL, ROBERT J                   ADDRESS ON FILE
WENUM, TIMOTHY                       ADDRESS ON FILE
WENZEL TOWING & REPAIR               3197 HUGHES COURT DUBUQUE IA 52003
WENZEL, RONALD                       ADDRESS ON FILE
WEP EXPRESS INC                      216 S CITRUS ST 381 WEST COVINA CA 91791
WERBLO, JOSEPH                       ADDRESS ON FILE
WERE ON IT TRANSPORTATION LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WEREVER PRODUCTS INC                 ATTN: WHITNEY PADEN 6120 PELICAN CREEK CIR RIVERVIEW FL 33578
WERLINE TRANSPORTATION LLC           800 LEE CIR RENO TX 75462
WERNER ENTERPRISES,INC.              14507 FRONTIER ROAD OMAHA NE 68138
WERNER MEDIA PARTNERS LLC DBA        ATTN: ISARLENE PEREZ 7143 W. BROWARD BLVD PLANTATION FL 33317
WERNER TRANSPORTATION                14507 FRONTIER RD OMAHA 68145
WERNER, GREGORY                      ADDRESS ON FILE
WERNER, JASON                        ADDRESS ON FILE
WERNER, JASON                        ADDRESS ON FILE
WERNER, JOSEPH P                     ADDRESS ON FILE
WERNER, MAXIME                       ADDRESS ON FILE
WERNER, MICHAEL                      ADDRESS ON FILE
WERNER, MIGUEL                       ADDRESS ON FILE
WERNER, RICHARD T                    ADDRESS ON FILE
WERNLI, GARY                         ADDRESS ON FILE
WERSAL, MARK                         ADDRESS ON FILE
WERSCHMIDT, EDGAR                    ADDRESS ON FILE
WERT, KENNETH                        ADDRESS ON FILE
WERT, KENNETH L                      ADDRESS ON FILE
WERT, RICKY                          ADDRESS ON FILE
WERTMAN, TAMMY                       ADDRESS ON FILE
WES KOCHEL INC                       25800 S SUNSET DR MONEE IL 60449
WES-FLO CO., INC.                    P. O. BOX 17401 TAMPA FL 33682
WESBROOKS, INC.                      2012 SHEPPARD ACCESS RD, PO BOX 534 WICHITA FALLS TX 76307
WESCO                                1161 E GLENDALE AVE SPARKS NV 89431
WESCO                                990 N HILLS BLVD STE 100 RENO NV 89506
WESCO                                990 NORTH HILLS BLVD RENO NV 89506
WESCO                                ATTN: JOSE DAVILA 990 NORTH HILLS BLVD RENO NV 89506
WESCO                                TRANSPORTATION ACCT NETWORK, PO BOX 2259 CORONA CA 92878
WESCO                                951 MONSTER RD SW RENTON WA 98057
WESCO ANIXTER                        990 NORTH HILLS BLVD RENO NV 89506
WESCO DISTRIBUTION                   780 COMMONWEALTH DR WARRENDALE PA 15086



Epiq Corporate Restructuring, LLC                                                               Page 2056 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 2065 of 2156

Claim Name                            Address Information
WESCO DISTRIBUTION                    11198 E 45TH AVE STE 150 DENVER CO 80239
WESCO DISTRIBUTION                    3425 E VAN BUREN ST STE 140 PHOENIX AZ 85008
WESCO DISTRIBUTION                    2875 N LAMB BLVD STE 13 LAS VEGAS NV 89115
WESCO DISTRIBUTION                    WESCO 7677, 2875 N LAMB BLVD STE 13 LAS VEGAS NV 89115
WESCO DISTRIBUTION                    9306 SORENSEN AVE SANTA FE SPRINGS CA 90670
WESCO DISTRIBUTION INC                ATTN: PAM WRIGHT 1328 S JOHN B DENNIS HWY STE F KINGSPORT TN 37660
WESCO DISTRIBUTION.                   3210 S 900 W SALT LAKE CITY UT 84119
WESCO INDUSTRIAL PRODUCTS INC         LEXCO ENGINEERING & MFG, 1250 WELSH RD NORTH WALES PA 19454
WESCO INDUSTRIAL PRODUCTS INC         PO BOX 654316 DALLAS TX 75265
WESCO INDUSTRIAL PRODUCTS INC         PO BOX 654316 DALLAS TX 75265-4316
WESCO RALEIGH                         ATTN: MAURICE UNDERDUE 334 ATKINSON ST CLAYTON NC 27520
WESCO WC001                           VTM, PO BOX 200 AURORA IL 60507
WESCOTT, SHAWN                        ADDRESS ON FILE
WESFER FREIGHT INC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WESFER TRUCKING INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WESKEM TECHNOLOGIES, INC              DBA STEVENSON MACHINE SHOP 49 TEXACO ROAD MECHANICSBURG PA 17055
WESLEY PAUL RUST                      ADDRESS ON FILE
WESLEY V MUSGRAVE                     ADDRESS ON FILE
WESLEY, CEDRIC                        ADDRESS ON FILE
WESLEY, DAVID                         ADDRESS ON FILE
WESLEY, JONATHAN                      ADDRESS ON FILE
WESLEY, LAVARR                        ADDRESS ON FILE
WESLEY, MADISON                       ADDRESS ON FILE
WESLEY, MAISON                        ADDRESS ON FILE
WESLEY, MARIA                         ADDRESS ON FILE
WESLEYS & TINA EXPRESS INC.           OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
WESOLOWSKI, JOELLE                    ADDRESS ON FILE
WESP, VICTORIA                        ADDRESS ON FILE
WESS SERVICE INC                      928 WILSON AVE CALUMET CITY IL 60409
WESSCO                                211 NE COLUMBIA BLVD PORTLAND OR 97211
WESSELMAN, DAVID                      ADDRESS ON FILE
WESSELOWSKI, ALEX                     ADDRESS ON FILE
WEST & SONS TOWING INC                1821 W. FULLERTON AVE. ADDISON IL 60101
WEST & SONS TOWING INC                1821 W. FULLERTON ADDISON IL 60101
WEST 6 TRUCKING LP                    OR TRIUMPH FINANCIAL SERVICES PO BOX 610028 DALLAS TX 75261
WEST 6 TRUCKING LP                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
WEST BATON ROUGE PARISH               REVENUE DEPARTMENT, PO BOX 86 PORT ALLEN LA 70767
WEST BATON ROUGE PARISH               OPTAX USE ONLY, PO BOX 129 PORT ALLEN LA 70767
WEST BEND TRANSIT & SERVICE COMPANY   PO BOX 477 WEST BEND WI 53095
WEST CARGO INC                        OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
WEST CARGO INC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
WEST CARRIERS LLC                     OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
WEST COAST                            D/B/A: WEST COAST MOBILE SVC PO BOX 6 LOS ALAMITOS CA 90720
WEST COAST CARGO, INC.                50, ROMINE WAY VALLEJO CA 94591
WEST COAST CASTERS & WHEELS, INC.     1630 S SUNKIST ST., SUITE J ANAHEIM CA 92806
WEST COAST CONTAINER                  ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE CHICAGO IL 60654
WEST COAST EX                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WEST COAST EXPRESS                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WEST COAST EXPRESS TRUCKING INC       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161



Epiq Corporate Restructuring, LLC                                                                Page 2057 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2066 of 2156

Claim Name                               Address Information
WEST COAST FREIGHTLINE LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
WEST COAST LOADERS                       10324 NE HALSEY ST STE 9 PORTLAND OR 97220
WEST COAST MOBILE LOCKSMITHS LTD         4386 DAWSON ST BURNABY BC V5C 4B6 CANADA
WEST COAST MOBILE SVC                    PO BOX 6 LOS ALAMITOS CA 90720
WEST COAST MULTIMODAL INC                27500 NE BRADFORD RD CAMAS WA 98607
WEST COAST PAPER                         6703 S 234TH ST STE 120 KENT WA 98032-2903
WEST COAST PURE WATER, LLC               9030 WEST SAHARA AVE. 288 LAS VEGAS NV 89117
WEST COAST TRANSPORTATION                P O BOX 90335 CITY OF INDUSTRY CA 91715
WEST COAST TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WEST COAST TRANSPORTATION SERVICES LLC   OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
WEST COAST TRANSPORTATION SERVICES LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WEST COAST TRUCK & TRAILER REPAIR        1463 VALENTINE AVE SE PACIFIC WA 98047
WEST COAST TRUCK REPAIR                  9743 CHERRY AVE FONTANA CA 92335
WEST COAST TRUCK REPAIR                  7426 CHERRY AVE. FONTANA CA 92336
WEST CONF TEAM SUPPL FUND                PO BOX 51792 LOS ANGELES CA 90051
WEST DIRECT EQUIPMENT SAVERS             P.O. BOX 17112 DENVER CO 80217
WEST ELECTRICAL                          960 CASS PINE LOG RD RYDAL GA 30171
WEST ELECTRICAL                          213 S SEQUOYAH DR WOODSTOCK GA 30188
WEST EMERSON BROKERS MALL LTD            UNIT 6 389 GOSHEN EMERSON MB R0A 0L0 CANADA
WEST END LOCK & SECURITY                 525 ST JOHNS AVE STE B BILLINGS MT 59101
WEST END LOCK CO INC                     210 17TH AVE N NASHVILLE TN 37203
WEST END RADIATOR                        2008 LOGAN AVE WINNIPEG MB R2R 0H7 CANADA
WEST END REGISTRIES                      10011 170 ST NW EDMONTON AB T5P 4R5 CANADA
WEST END TRUCKING INC                    OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
WEST EXPRESS                             OR COMMERCIAL FUNDING INC P.O. BOX 207527 DALLAS TX 75320-7527
WEST EXPRESS LLC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WEST FREIGHT INC                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WEST GEORGIA CARRIERS LLC                2100 FAIRBURN RD DOUGLASVILLE GA 30135
WEST GEORGIA FIRE EXTINGUISHER           770 KINGBRIDGE RD CARROLLTON GA 30117
WEST II, JAMES                           ADDRESS ON FILE
WEST INDY DELIVERY LLC                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WEST JR, DANIEL                          ADDRESS ON FILE
WEST KNOXVILLE TRANS, LLC                OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
WEST LINE TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WEST LLC                                 C/O NASDAQ, PO BOX 780700 PHILADELPHIA PA 19178
WEST LLC                                 PO BOX 74007143 CHICAGO IL 60674
WEST MARINE                              2395 BERT DR WATSONVILLE CA 95076
WEST MARINE                              500 WESTRIDGE DR WATSONVILLE CA 95076
WEST MARINE INC                          TRANSPORATION SERVICES, 500 WESTRIDGE DR WATSONVILLE CA 95076
WEST MARINE, INC.                        TRANSPORTATION SERVICES 2395 BERT DR HOLLISTER CA 95023
WEST MEMPHIS FENCE & CONSTRUCTION, INC   P.O. BOX 1565, 410 JEFFERSON AVENUE WEST MEMPHIS AR 72303
WEST METAL FABRICATO                     463 NIGHTINGALE AVE LONDON ON N5W 4C4 CANADA
WEST MI DOCUMENT SHREDDING LLC           PO BOX 459 HUDSONVILLE MI 49426
WEST MICHIGAN HEATING & AC               3640 HIGHLAND DRIVE HUDSONVILLE MI 49426
WEST MICHIGAN OFFICE INTERIORS           300 E. 40TH HOLLAND MI 49423
WEST MICHIGAN POWER CLEANING EQUIPMENT   6156 GRAND HAVEN RD MUSKEGON MI 49441
WEST MICHIGAN UNIFORM & LINEN            407 W. 17TH STREET HOLLAND MI 49423
WEST MICHIGAN UNIFORM & LINEN            D/B/A: WM UNIFORM 407 W. 17TH STREET HOLLAND MI 49423
WEST MOTOR FREIGHT OF PA.                GWTM, PO BOX 405828 ATLANTA GA 30384-5828



Epiq Corporate Restructuring, LLC                                                                  Page 2058 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2067 of 2156

Claim Name                               Address Information
WEST NASHVILLE WRECKER SERVICE           6400 LOUISIANA AVE NASHVILLE TN 37209
WEST OF THE PECOS LOGISTICS LLC          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WEST ORIGIN                              OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
WEST PACK INC                            80 WILDCAT WAY KELLOGG ID 83837
WEST PACK INC                            ATTN: JIM DRISKELL 80 WILDCAT WAY KELLOGG ID 83837
WEST POINT TRANSPORTATION LLC            1436 32ND ST NW PUYALLUP WA 98371
WEST POWER SERVICES                      1401 S. DICKERSON RD GOODLETTSVILLE TN 37072
WEST POWER SERVICES                      902 MURFEESBORO PIKE NASHVILLE TN 37217
WEST POWER SERVICES LLC                  902 MURFREESBORO PIKE NASHVILLE TN 37217
WEST PROLINE LOGISTICS                   OR QUICKPAY FUNDING LLC, PO BOX 23360 SAN DIEGO CA 92193-3360
WEST SAC TRUCKING INC                    2609 MEADOWLARK CIR W SACRAMENTO CA 95691
WEST SIDE CONNECTION                     446 W 150TH ST LOS ANGELES CA 90003
WEST SIDE HAMMER ELECTRIC                ATTN: LEE CUNNINGHAM 1325 CLAY STREET BETHLEHEM PA 18018-4804
WEST SIDE TRANSPORT INC                  PO BOX 150244 OGDEN UT 84415
WEST STAR EXPRESS LLC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WEST STAR TRANS, LLC                     27607 114TH AVE SE KENT WA 98030
WEST STAR TRANSPORTATION, INC.           PO BOX 3488 LUBBOCK TX 79452
WEST STARS TRANSPORT LTD                 535 TARALAKE WAY NE CALGARY AB T3J 0H9 CANADA
WEST TEXAS REHABILITATION CENTER         4601 HARTFORD ST ABILENE TX 79605
WEST TN EXPEDITING                       182 VOLZ RD. RIPLEY TN 38063
WEST TN EXPEDITING                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WEST UA EXPRESS LLC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WEST UA TRANSPORT, INC.                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WEST VALLEY CITY                         BUSINESS LICENSE OFFICE 3600 CONSTITUTION BLVD WEST VALLEY CITY UT 84119
WEST VALLEY CITY                         WV CITY FIRE PREVENTION DIVISION 3600 SOUTH CONSTITUTION BLVD WEST VALLEY CITY
                                         UT 84119
WEST VALLEY WATER DISTRICT               855 W BASE LINE RD RIALTO CA 92376
WEST VIEW WATER AUTHORITY                210 PERRY HWY PITTSBURGH PA 15229
WEST VIRGINIA ABC                        900 PENNSYLVANIA AVENUE CHARLESTON WV 25302
WEST VIRGINIA ALCOHOL BEVERAGE CONTROL   900 PENNSYLVANIA AVE 4TH FLOOR CHARLESTON WV 25302
WEST VIRGINIA AMERICAN WATER             1600 PENNSYLVANIA AVE CHARLESTON WV 25302
WEST VIRGINIA PARKWAYS AUTHORITY         PO BOX 1469 CHARLESTON WV 25325
WEST VIRGINIA PARKWAYS ECONOMIC DEVEL & TOURISM AUTHORITY, (INC) PO BOX 1469 CHARLESTON WV 25325
WEST VIRGINIA STATE TAX DEPARTMENT       PO DRAWER 1826 CHARLESTON WV 25327
WEST VIRGINIA STATE TAX DEPT             REVENUE DIVISION, PO BOX 2666 CHARLESTON WV 25330
WEST VIRGINIA TRUCKING ASSOCIATION       2006 KANAWHA BOULEVARD, EAST CHARLESTON WV 25311
WEST WAY CARRIER INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
WEST WAY TRANSPORT LLC                   16315 NE 35CIR VANCOUVER WA 98682
WEST WAY TRANSPORTATION INC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WEST WIND LOGISTICS INC                  7050 ARCHER RD JUSTICE IL 60458
WEST WINDS TIRE & SERVICE                1085 E. MAIN STREET GREEN RIVER UT 84525
WEST WINDS TIRE & SERVICE                PO BOX 570 GREEN RIVER UT 84525
WEST WINDS TRUCK STOP                    PO BOX 570 GREEN RIVER UT 84525
WEST WING TRANSPORT CORP                 OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
WEST, ALISHA                             ADDRESS ON FILE
WEST, BRADLEE                            ADDRESS ON FILE
WEST, BRYAN                              ADDRESS ON FILE
WEST, CURTIS                             ADDRESS ON FILE
WEST, DANIEL                             ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 2059 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 2068 of 2156

Claim Name                           Address Information
WEST, DIONTE                         ADDRESS ON FILE
WEST, DUSTIN                         ADDRESS ON FILE
WEST, DUSTIN M                       ADDRESS ON FILE
WEST, DWAYNE                         ADDRESS ON FILE
WEST, GEORGE                         ADDRESS ON FILE
WEST, GEORGE                         ADDRESS ON FILE
WEST, HARRY                          ADDRESS ON FILE
WEST, IAN                            ADDRESS ON FILE
WEST, JAMES                          ADDRESS ON FILE
WEST, JAMES                          ADDRESS ON FILE
WEST, JAMES                          ADDRESS ON FILE
WEST, JAMES                          ADDRESS ON FILE
WEST, JASON                          ADDRESS ON FILE
WEST, JASON                          ADDRESS ON FILE
WEST, JASON A                        ADDRESS ON FILE
WEST, JEFFREY                        ADDRESS ON FILE
WEST, JEFFREY W                      ADDRESS ON FILE
WEST, JEFFREY W                      ADDRESS ON FILE
WEST, JOHN                           ADDRESS ON FILE
WEST, JOHN                           ADDRESS ON FILE
WEST, JOHN F                         ADDRESS ON FILE
WEST, KASSONDRIA                     ADDRESS ON FILE
WEST, KASSONDRIA M                   ADDRESS ON FILE
WEST, LESLIE                         ADDRESS ON FILE
WEST, LEVI                           ADDRESS ON FILE
WEST, LOGAN                          ADDRESS ON FILE
WEST, MARSHA                         ADDRESS ON FILE
WEST, MARTY                          ADDRESS ON FILE
WEST, MICHAEL                        ADDRESS ON FILE
WEST, MICHAEL                        ADDRESS ON FILE
WEST, MYRON                          ADDRESS ON FILE
WEST, NICOLE                         ADDRESS ON FILE
WEST, RANDALL                        ADDRESS ON FILE
WEST, RODNEY C                       ADDRESS ON FILE
WEST, RONALD                         ADDRESS ON FILE
WEST, ROY                            ADDRESS ON FILE
WEST, SABRINA                        ADDRESS ON FILE
WEST, SCOTT                          ADDRESS ON FILE
WEST, SHANE                          ADDRESS ON FILE
WEST, SHAQILA                        ADDRESS ON FILE
WEST, STANLEY                        ADDRESS ON FILE
WEST, TATYANA                        ADDRESS ON FILE
WEST, WILLIAM                        ADDRESS ON FILE
WEST, WILLIE                         ADDRESS ON FILE
WESTBROOK TRUCKING, INC.             204 ROSE ST CORNELIA GA 30531
WESTBROOK, BRYANT                    ADDRESS ON FILE
WESTBROOK, DAVID                     ADDRESS ON FILE
WESTBROOK, NATHANIEL                 ADDRESS ON FILE
WESTBROOK, ROBERT                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 2060 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 2069 of 2156

Claim Name                              Address Information
WESTCAN APPRAISAL SERVICE LTD           427 WINONA STREET COQUITLAM BC V3K 5A5 CANADA
WESTCHESTER SURPLUS INSURANCE COMPANY   500 COLONIAL CENTER PKWY STE 200 ROSWELL GA 30076
WESTCO CHEMICALS                        12551 61 SATICOY ST S NORTH HOLLYWOOD CA 91605
WESTCO FRUIT AND NUT PRODUCTS           ATTN: NATHAN MORADI 9397 COIT ST IRVINGTON NJ 07111
WESTCOTT, DAN                           ADDRESS ON FILE
WESTCOTT, MICHAEL                       ADDRESS ON FILE
WESTECH FUEL EQUIPMENT COMPANY          195 W 3900 S SALT LAKE CITY UT 84107
WESTECH PLUMBING LLC                    8211 VALENCIA AVE LUBBOCK TX 79424
WESTECH PLUMBING LLC                    PO BOX 4200 LUBBOCK TX 79424
WESTEND LOGISTICS & CARRIER SERVICES    OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
INC
WESTERFIELD, KEITH                      ADDRESS ON FILE
WESTERMAN, BILLY                        ADDRESS ON FILE
WESTERMAN, DARRELL                      ADDRESS ON FILE
WESTERN ALARM SERVICES INC              2029 W ACOMA BLVD STE E LAKE HAVASU CITY AZ 86403
WESTERN ALLIANCE LOGISTICS              ATTN: PAULA LEVY-HOKEK 16766 TRANSCANADIENNE RTE, 403 KIRKLAND QC H9H 4M7
                                        CANADA
WESTERN BRANCH DIESEL                   PO BOX 7788 PORTSMOUTH VA 23707
WESTERN CARRIER                         1147 WALLACE WAY YUBA CITY CA 95993
WESTERN CONFERENCE OF TEAMSTERS         SUPPLEMENTAL BENEFIT TRUST FUND 225 SOUTH LAKE AVE SUITE 1200 PASADENA CA
                                        91101-3000
WESTERN CONSTRUCTION SERVICES INC       2300 E 3RD LOOP, SUITE 110 VANCOUVER WA 98661
WESTERN DISPATCH & DISTRIBUTION         14545 128 AVE EDMONTON AB T5L3H3 CANADA
WESTERN DOOR AND GATE LLC               675 GRIER DRIVE LAS VEGAS NV 89119
WESTERN EXPRESS                         7135 CENTENNIAL PL NASHVILLE TN 37209
WESTERN EXTINGUISHERS SERVICE & SALES   1578 HOLLY PONDS DR SHERIDAN WY 82801
WESTERN FIREPLACE                       1685 PAONIA ST COLORADO SPRINGS CO 80915
WESTERN FLYER EXPRESS, LLC              PO BOX 270814 OKLAHOMA CITY OK 73137
WESTERN FREIGHT CARRIER, INC.           321 E GARDENA BLVD GARDENA CA 90248
WESTERN FREIGHT EXPRESS LLC             OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
WESTERN FREIGHT, INC.                   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WESTERN HEATING & AIR CONDITIONING      4980 BRADLEY ST BOISE ID 83714
WESTERN INDUSTRIAL PRODUCTS, INC.       ATTN: AMOS WRIGHT 1075 W 1700 S SALT LAKE CITY UT 84104-2201
WESTERN KENTUCKY TRUCKING, INC.         PO BOX 1072 HENDERSON KY 42419
WESTERN LEAGUE LLC                      OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
WESTERN LINES INC                       OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
WESTERN LINK TRUCKING INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WESTERN LINK TRUCKING INC               1980 GOLD RIVER DR YUBA CITY CA 95991-6583
WESTERN MICHIGAN FLEET PARTS            18 E WASHINGTON AVE ZEELAND MI 49464
WESTERN MIXERS                          C/O PREMIER LOGISTICS 11230 GOLD EXPRES 310-165 GOLD RIVER CA 95670
WESTERN MOUNTAIN TRANSPORT, INC.        PO BOX 890 AURORA OR 97002
WESTERN NEVADA SUPPLY CO                950 S ROCK BLVD SPARKS NV 89431
WESTERN NEW YORK IMMEDIATE CARE         PO BOX 631088 CINCINNATI OH 45263
WESTERN PA TEAMSTERS PENSION FUND       PO BOX 223604 PITTSBURGH PA 15251
WESTERN PA TEAMSTERS PENSION FUND       TEAMSTERS & EMPLOYERS, PENSION FUND PITTSBURGH PA 15251-2604
WESTERN PA WELFARE FUND                 215 S EUCLID AVENUE PITTSBURGH PA 15206
WESTERN PACIFIC BLDG MATERIALS          2805 NW 31ST AVE PORTLAND OR 97210
WESTERN PARKING MANAGEMENT LLC          9601 FOREST LN 1225 DALLAS TX 75243
WESTERN PEAKS LOGISTICS.                PO BOX 150147 OGDEN UT 84415
WESTERN PENN TEAMSTERS &                EMPLOYERS PENSION FUND BOX 223604 PITTSBURGH PA 15251


Epiq Corporate Restructuring, LLC                                                                  Page 2061 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2070 of 2156

Claim Name                               Address Information
WESTERN PENNSYLVANIA JOINT AREA COMM     PO BOX 388 HUNTLEY IL 60142
WESTERN PENNSYLVANIA JOINT AREA COMM     TRANSPORT EMPLOYERS ASSOCIATION PO BOX 388 HUNTLEY IL 60142
WESTERN PENNSYLVANIA TEAMSTERS &         EMPLOYERS PENSION FUND 50 ABELE ROAD SUITE 1005 BRIDGEVILLE PA 15017
WESTERN PENNSYLVANIA TEAMSTERS &         EMPLOYERS PENSION FUND 900 PARISH STREET SUITE 101 PITTSBURGH PA 15220
WESTERN PLASTICS                         41573 DENDY PARKWAY TEMECULA CA 92590
WESTERN POWER SPORTS                     ATTN: AMY TIMONY 2137 SUNBURY RD MIDWAY GA 31320
WESTERN POWER SPORTS                     ATTN: 1222039-CA 601 E GOWEN RD BOISE ID 83716
WESTERN SHEET METAL INC.                 2406 HINTON DR. IRVING TX 75061
WESTERN SKYLINE LOGISTICS                7556 SHORTHORN ST CHINO CA 91708
WESTERN SPECIALIZED INC                  111 SUMMIT AVE MANKATO MN 56001
WESTERN SPECIALTY CONTRACTORS            2820 ROE LANE BUILDING O KANSAS CITY KS 66103
WESTERN STATES EQUIPMENT                 ATTN: CHEYENE WALKER 3085 E KIMBERLY RD TWIN FALLS ID 83301
WESTERN STATES EQUIPMENT CO0060015015)   PO BOX 38 BOISE ID 83707
WESTERN STATES OFFICE AND                PROFESSIONAL EMPLOYEES PENSION FUND UNIT 10, PO BOX 4800 PORTLAND OR 97208
WESTERN STATES OFFICE AND                PROFESSIONAL EMPLOYEES PENSION FUND 5331 MACADAM AVENUE SUITE 258 PORTLAND OR
                                         97239
WESTERN TEAMSTERS WELFARE FUND           2323 EASTLAKE AVE. E SEATTLE WA 98102
WESTERN TEAMSTERS WELFARE FUND           CHUCK MACK, UNION CHAIRMAN & FUND TTEE 2323 EASTLAKE AVE. E SEATTLE WA 98102
WESTERN TEAMSTERS WELFARE TRUST FUND     PO BOX 24748 SEATTLE WA 98124
WESTERN TOWING AND RECOVERY              6655 N YORK ST DENVER CO 80229
WESTERN TRAILER & EQUIP.                 1110 EAST HWY. 80, P.O. BOX 994 ABILENE TX 79604
WESTERN TRAILER CO.                      D/B/A: WESTERN TRAILERS PO BOX 5598 BOISE ID 83705
WESTERN TRAILER CO.                      PO BOX 5598 BOISE ID 83705
WESTERN TRAILER REPAIR INC.              PO BOX 80887 SEATTLE WA 98108
WESTERN TRAILERS                         PO BOX 5598 BOISE ID 83705
WESTERN TRANS CORP                       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
WESTERN TRUCK CENTER                     P.O. BOX 35144 1022 SEATTLE WA 98124
WESTERN TRUCKING ASSO EXECUTIVES         4060 ELATI ST DENVER CO 80216
COUNCIL
WESTERN UNIVERSITY                       1151 RICHMOND ST. LONDON ON N6A 3K7 CANADA
WESTERN VAN LINES, INC.                  ATTN: MATTHEW DI JULIO 8521 S 190TH STREET KENT WA 98031
WESTERN VIRGINIA WTR AUTH                601 S JEFFERSON ST ROANOKE VA 24011
WESTERN XPRESS INC                       15408 RANCHO FONTANA VILLAGE PKWY FONTANA CA 92336-3119
WESTERN, DAVID                           ADDRESS ON FILE
WESTEX GOING TRUCKING LLC                OR COMMERCIAL FUNDING INC, PO BOX 207527 DALLAS TX 75320-7527
WESTEX HOME REPAIR LLC                   1001 BEN RICHIE DR ABILENE TX 79602
WESTFALL GMC TRUCK, INC.                 PO BOX 418050 KANSAS CITY MO 64141
WESTFALL GMC TRUCK, INC.                 PO BOX 930624 KANSAS CITY MO 64193
WESTFALL, JARRED                         ADDRESS ON FILE
WESTFALL, JOSHUA                         ADDRESS ON FILE
WESTFIELD TRANSPORTATION LLC             OR NORTH STAR FACTOR LLC, PO BOX 1326 RIDGEFIELD WA 98642
WESTGATE CARGO LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WESTGATE CARRIERS LTD.                   6018 19A AVE SW EDMONTON AB T6X 2A5 CANADA
WESTHAFER, RICHARD                       ADDRESS ON FILE
WESTHILL TRUCKING LLC                    1819 CENTRAL AVE S STE-C124 KENT WA 98032
WESTHOFF, JOHN                           ADDRESS ON FILE
WESTIN AUTOMOTIVE C/O ECHO               ATTN: SHAKITA WEBB 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
WESTIN, CHRISTOPHER                      ADDRESS ON FILE
WESTLAKE ROYAL BP                        29797 BECK ROAD WIXOM MI 48393



Epiq Corporate Restructuring, LLC                                                                   Page 2062 OF 2145
                                            Yellow Corporation
                      Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2071 of 2156

Claim Name                           Address Information
WESTLAKE ROYAL BP                    ATTN: NICHOLAS AUGUSTINE 29797 BECK ROAD WIXOM MI 48393
WESTLAKE ROYAL BP                    ATTN: NICK AUGUSTINE 29797 BECK RD WIXOM MI 48393
WESTLAKE TRANSPORTATION GROUP INC.   115 ORENDA RD BRAMPTON ON L6W 1V7 CANADA
WESTLAKE, GLENN                      ADDRESS ON FILE
WESTLAND GROUP INC                   OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
WESTLAND TRANSPORT                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WESTLIE MOTOR COMPANY                P.O. BOX 548, 1401 20TH AVE. S.E. MINOT ND 58702
WESTLIE TRUCK CENTER OF DICKINSON    D/B/A: WESTLIE MOTOR COMPANY P.O. BOX 548, 1401 20TH AVE. S.E. MINOT ND 58702
WESTLIE, BERNARD                     ADDRESS ON FILE
WESTLINE TRANSPORTATION LLC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WESTLING, DRAKE                      ADDRESS ON FILE
WESTLUND, ROBERT                     ADDRESS ON FILE
WESTMARK INDUSTRIES, INC.            6701 S W MCEWAN RD LAKE OSWEGO OR 97035
WESTMORELAND TRANSPORTATION          PO BOX 26141 INDIANAPOLIS IN 46226
WESTMORELAND, ANTHONY                ADDRESS ON FILE
WESTMORELAND, TYLA                   ADDRESS ON FILE
WESTMORLAND HEATING & COOLING        1440 CARTERS VALLEY RD MOSHEIM TN 37818
WESTON TRANSPORTATION, INC.          1441 ATLANTIC NORTH KANSAS CITY MO 64116
WESTON, BOBBY E                      ADDRESS ON FILE
WESTON, DEBRA                        ADDRESS ON FILE
WESTON, DIMITRI                      ADDRESS ON FILE
WESTON, JACOBY                       ADDRESS ON FILE
WESTON, SHAMARIE                     ADDRESS ON FILE
WESTON, TRACY                        ADDRESS ON FILE
WESTOVER, CHRISTOPHER                ADDRESS ON FILE
WESTOVER, ROGER                      ADDRESS ON FILE
WESTPORT CARRIERS INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WESTRANS                             515 OAK POINT HWY WINNIPEG MB R2R 1V2 CANADA
WESTRICK, JAMES                      ADDRESS ON FILE
WESTROCK CONTAINER LLC               PO BOX 840890 DALLAS TX 75284
WESTROCK CP, LLC                     PO BOX 409813 ATLANTA GA 30384
WESTRUX INTERNATIONAL                DEPT 1265 REGIONS INTERSTATE PO BOX 2153 BIRMINGHAM AL 35287
WESTRUX INTERNATIONAL                PO BOX 309 NORWALK CA 90651
WESTRY, GREGORY                      ADDRESS ON FILE
WESTSIDE TOWING AND RECOVERY, LLC    P.O. BOX 722 PORT ALLEN LA 70767
WESTTRANSAUTO INC                    1136-3 CENTRE STREET UNIT 390 THORNHILL ON L4J 3M8 CANADA
WESTWOOD CARTAGE, INC.               125 CARLSBAD ST CRANSTON RI 02920
WESTWOOD, KEVIN                      ADDRESS ON FILE
WET ENVIRONMENTAL ENGINEERING        ATTN: WADE HALE PO BOX 44 CHURUBUSCO IN 46723-0044
WETHINGTON, LARRY                    ADDRESS ON FILE
WETTENGEL, KIMBERLY                  ADDRESS ON FILE
WETTER SMITH, MANDI                  ADDRESS ON FILE
WETZEL, RICHARD                      ADDRESS ON FILE
WEVER, CODY                          ADDRESS ON FILE
WEWORKSMART TRANSPORTATION           OR ENGLAND CARRIER SERVICES LLC PO BOX 953086 ST LOUIS MO 63195-3086
WEX BANK                             P.O. BOX 4337 CAROL STREAM IL 60197
WEX CANADA LTD                       PO BOX 57724 STN A TORONTO ON M5W 5M5 CANADA
WEY, JOHN                            ADDRESS ON FILE
WEY, MICHAEL                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2063 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2072 of 2156

Claim Name                           Address Information
WEYERSTRAHS, ALICIA                  ADDRESS ON FILE
WEYGANT, HENRY                       ADDRESS ON FILE
WEYRAH TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WF ENTERPRISES INC                   2481 W 1000 S ABERDEEN ID 83210
WF TRANSPORTATION LLC                OR POWER FUNDING LTD, PO BOX 111 FORT WORTH TX 76101
WFIG INC                             OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
WFJ ENTERPRISES, LLC                 OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320
WFS LTD.                             PO BOX 2100 WINDSOR ON N8Y 4R7 CANADA
WFT LOGISTICS INC                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
WFW TRUCKING                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WGM DISTRIBUTION LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WGMP LOGISTICS LLC                   OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
WGW TRANSPORTATION LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WH FREIGHT LLC                       OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
WHALEN TIRE                          BELGRADE, 410 GALLATIN FARMERS AVE BELGRADE MT 59714
WHALEN TIRE - BOZEMAN                319 W GRIFFIN DR BOZEMAN MT 59715
WHALEN TIRE - BUTTE                  904 S UTAH BUTTE MT 59701
WHALEN TRUCKING, INC.                301 E PRAIRIE ST P O BOX 106 WAVERLY IL 62692
WHALEN, JEFFREY                      ADDRESS ON FILE
WHALEN, JOHN J                       ADDRESS ON FILE
WHALEN, KENNETH                      ADDRESS ON FILE
WHALEN, TODD                         ADDRESS ON FILE
WHALEY, GERALD                       ADDRESS ON FILE
WHALEY, ROCKY                        ADDRESS ON FILE
WHARTON, GARY                        ADDRESS ON FILE
WHARTON, KYLE                        ADDRESS ON FILE
WHARTON, MELISSA                     ADDRESS ON FILE
WHARTON, MELISSA                     ADDRESS ON FILE
WHAT THE CHUCK LOGISTICS INC         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHAT THE TRUCK, LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WHATCOM TRANSPORT LLC                OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
WHATEVER FITS TRUCKING LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WHATEVER IT TAKES REPAIR, INC.       2328 S. GALENA AVE., P.O. BOX 387 DIXON IL 61021
WHATEVER TRUCKING LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
WHATEVS SERVICES INC                 D/B/A: WICK LAWN CARE 203 E WALNUT ST CLEONA PA 17042
WHATEVS SERVICES INC                 D/B/A: WICK LAWN CARE DBA WICK LAWN CARE, 203 E WALNUT STREET CLEONA PA 17042
WHATLEY, ROBERT                      ADDRESS ON FILE
WHAWHEN, JAMES                       ADDRESS ON FILE
WHEALAN, JAMES                       ADDRESS ON FILE
WHEAT, ANTHONY                       ADDRESS ON FILE
WHEATLEY, BILLIE                     ADDRESS ON FILE
WHEATLEY, BRANDON                    ADDRESS ON FILE
WHEATLEY, RICK                       ADDRESS ON FILE
WHEATON, SHAWN                       ADDRESS ON FILE
WHEATON, ZACHARY                     ADDRESS ON FILE
WHEEL ALIGNMENT TECH.                P.O. BOX 278437 MIRAMAR FL 33027
WHEEL DO IT LOGISTICS LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHEEL KING TRANSHAUL INC             14 MANSEWOOD CT ACTON ON L7J 0A1 CANADA
WHEEL LOGISTICS LLC                  OR REVOLUTION CAPITAL, PO BOX 741791 LOS ANGELES CA 90074



Epiq Corporate Restructuring, LLC                                                               Page 2064 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 2073 of 2156

Claim Name                              Address Information
WHEEL OF GOD TRANSPORT LLC             OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
WHEEL POWER LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WHEEL TRANSIT INC                      OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WHEEL WHEELS TRUCKING INC.             OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
WHEELDON, JACOB                        ADDRESS ON FILE
WHEELDON, JACOB                        ADDRESS ON FILE
WHEELER TRAILERS INC YARDS             4631 S RACINE AVE CHICAGO IL 60609
WHEELER TRANSPORT LLC                  3117 ASHKIRK LOOP SE RIO RANCHO NM 87124-3613
WHEELER TRANSPORTATION, INC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
WHEELER, CHERYL                        ADDRESS ON FILE
WHEELER, DAVID                         ADDRESS ON FILE
WHEELER, DONAVIN                       ADDRESS ON FILE
WHEELER, GREGORY                       ADDRESS ON FILE
WHEELER, ISAIAH                        ADDRESS ON FILE
WHEELER, JEREMY                        ADDRESS ON FILE
WHEELER, JESSICA L                     ADDRESS ON FILE
WHEELER, KEVIN                         ADDRESS ON FILE
WHEELER, MARION                        ADDRESS ON FILE
WHEELER, MARK                          ADDRESS ON FILE
WHEELER, MICHAEL                       ADDRESS ON FILE
WHEELER, MICHAEL A                     ADDRESS ON FILE
WHEELER, MIKALA                        ADDRESS ON FILE
WHEELER, NIKOLE                        ADDRESS ON FILE
WHEELER, ROBERT                        ADDRESS ON FILE
WHEELER, ROBERT                        ADDRESS ON FILE
WHEELER, STEPHEN                       ADDRESS ON FILE
WHEELER, TIMOTHY                       ADDRESS ON FILE
WHEELER, TY                            ADDRESS ON FILE
WHEELIN DEALIN TRUCKING & LOGISTICS LLC OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHEELS UP PARTNERS LLC                 601 WEST 26TH STREET 900 NEW YORK NY 10001
WHEELS UP TRANSPORT                    OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
WHEELWRIGHT, COLTON                    ADDRESS ON FILE
WHEELZ TRUCKING LLC                    OR RELIABLE FACTORS INC PO BOX 4869 DEPT 470 HOUSTON TX 77210-4869
WHEELZ TRUCKING LLC (MC1216197)        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHELAN, DYLLON                         ADDRESS ON FILE
WHELAN, JOSEPH                         ADDRESS ON FILE
WHELCHEL, CHARLES                      ADDRESS ON FILE
WHELCHEL, KEVIN                        ADDRESS ON FILE
WHELESS, JEFFERY                       ADDRESS ON FILE
WHERE 2 COURIER LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WHERRY, KYLE                           ADDRESS ON FILE
WHETSEL, BRIAN                         ADDRESS ON FILE
WHETSTONE, FRANK                       ADDRESS ON FILE
WHETSTONE, JOHN M                      ADDRESS ON FILE
WHI TRANSPORT, INC.                    OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
WHICKCAR, DAVID                        ADDRESS ON FILE
WHIDBY, CARL                           ADDRESS ON FILE
WHIPPLE, SABASTIAN                     ADDRESS ON FILE
WHIRLEY INDUSTRIES                     ATTN: GREG FLAGELLA 618 4TH AVE WARREN PA 16365



Epiq Corporate Restructuring, LLC                                                               Page 2065 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2074 of 2156

Claim Name                           Address Information
WHIRLPOOL CORP OUTBOUND              C/O PENSKE LOGISTICS CLAIMS 211 HILLTOP RD SAINT JOSEPH MI 49085
WHISENANT, MARY                      ADDRESS ON FILE
WHISMAN, RONALD                      ADDRESS ON FILE
WHISTLER TOWING & TRUCK REPAIR INC   1296 US HIGHWAY 10 W LIVINGSTON MT 59047
WHITACRE LOGISTICS LLC               12602 S DIXIE HIGHWAY PORTAGE OH 43451
WHITAKER & FAMILY TRUCK LLC          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WHITAKER, ALAN                       ADDRESS ON FILE
WHITAKER, ANTHONY                    ADDRESS ON FILE
WHITAKER, BRADLEY                    ADDRESS ON FILE
WHITAKER, DERALD                     ADDRESS ON FILE
WHITAKER, ERIC                       ADDRESS ON FILE
WHITAKER, GARY                       ADDRESS ON FILE
WHITAKER, GARY K                     ADDRESS ON FILE
WHITAKER, HAROLENCIA                 ADDRESS ON FILE
WHITAKER, JAMES                      ADDRESS ON FILE
WHITAKER, JEFFREY                    ADDRESS ON FILE
WHITAKER, JESSICA                    ADDRESS ON FILE
WHITAKER, JOHN                       ADDRESS ON FILE
WHITAKER, KATHERINE                  ADDRESS ON FILE
WHITAKER, MICHAEL                    ADDRESS ON FILE
WHITAKER, RICHARD                    ADDRESS ON FILE
WHITAKER, RICK                       ADDRESS ON FILE
WHITCHER, PAUL                       ADDRESS ON FILE
WHITCOMB, JOHN                       ADDRESS ON FILE
WHITE & CASE LLP                     COUNSEL TO BEAL BANK USA ATTN: S. GREISSMAN, E. FELD, & A. ZATZ 1221 AVENUE OF
                                     THE AMERICAS NEW YORK NY 10020-1095
WHITE ARROW LOGISTICS INC.           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WHITE ARROW SS 2                     2125 WALDEN AVE CHEEKTOWAGA NY 14225
WHITE BEAR TRANSPORTATION, INC.      3128 S PARKWAY DR FRESNO CA 93725
WHITE BUFFALO TRAILER REPAIR         312 N EUCLID ST LA HABRA CA 90631
WHITE CAP                            ATTN: FADENCIO 323 SOLA DRIVE GILBERTS IL 60136
WHITE CITY LOGISTICS                 OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
WHITE DOG LOGISTIC INC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
WHITE EAGLE CARRIER, INC.            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WHITE EAGLE FREIGHT, LLC             OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WHITE EAGLE TRANS LLC                OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
WHITE FOX INC                        12103 HILLTOP RD REEDSVILLE WI 54230
WHITE GLOVE TRANSPORT LLC            OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WHITE GOLD INC                       OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
WHITE HAWKS TRANSPORT LTD            OR REVOLUTION CAPITAL 27 ROYTEC ROAD, UNIT 11 WOODBRIDGE ON L4L 8E3 CANADA
WHITE HAWKS TRUCKING INC             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WHITE HILL LLC                       OR SOUND FINANCE CORPORATION P.O. BOX 679281 DALLAS TX 75267-9281
WHITE HILL LOGISTICS INC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WHITE HORSE TRANSPORTATION INC       OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
WHITE III, NATHANIEL                 ADDRESS ON FILE
WHITE KNIGHT EXPRESS                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WHITE LANE LOGISTICS LLC             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WHITE MOTOR COMPANY, INC.            675 EATON RD FORREST CITY AR 72335
WHITE MOUNTAIN TRUCKING LLC          6424 SOUTH 75TH AVENUE LAVEEN AZ 85339



Epiq Corporate Restructuring, LLC                                                            Page 2066 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                       Page 2075 of 2156

Claim Name                        Address Information
WHITE OAK FREIGHT                 612 SW 2ND ST. HALLANDALE BEACH FL 33009
WHITE OAK TRUCKING CORP           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHITE SKY LOGISTICS LLC           12873 SW 210TH TER MIAMI FL 33177
WHITE STAR TRANSPORT INC.         1100 NERGE ROAD SUITE 210 D PO BOX 204703 ELK GROVE VILLAGE IL 60007
WHITE STERLING EXPRESS INC.       10704C S DEPOT ST UNIT 105 WORTH IL 60482
WHITE WAY TRANSPORT INC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHITE WAY TRANSPORT INC           OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WHITE WAY TRUCKING INC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WHITE WING TRUCKING LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WHITE, ADAM                       ADDRESS ON FILE
WHITE, ALAN                       ADDRESS ON FILE
WHITE, AMANDA                     ADDRESS ON FILE
WHITE, ANTHONY                    ADDRESS ON FILE
WHITE, ANTHONY                    ADDRESS ON FILE
WHITE, ANTHONY                    ADDRESS ON FILE
WHITE, ARMOND                     ADDRESS ON FILE
WHITE, AUSTIN                     ADDRESS ON FILE
WHITE, BARBIE                     ADDRESS ON FILE
WHITE, BARRY                      ADDRESS ON FILE
WHITE, BERRY                      ADDRESS ON FILE
WHITE, BOBBY                      ADDRESS ON FILE
WHITE, BRANDON                    ADDRESS ON FILE
WHITE, BRITTNEY                   ADDRESS ON FILE
WHITE, BRUCE                      ADDRESS ON FILE
WHITE, CALIPH                     ADDRESS ON FILE
WHITE, CARL                       ADDRESS ON FILE
WHITE, CHARLES                    ADDRESS ON FILE
WHITE, CHARLES A                  ADDRESS ON FILE
WHITE, CHASIDY                    ADDRESS ON FILE
WHITE, DANIELLE                   ADDRESS ON FILE
WHITE, DARIUS                     ADDRESS ON FILE
WHITE, DAVID                      ADDRESS ON FILE
WHITE, DEBRA                      ADDRESS ON FILE
WHITE, DELORIS                    ADDRESS ON FILE
WHITE, DEMETRIC                   ADDRESS ON FILE
WHITE, DEONTE                     ADDRESS ON FILE
WHITE, DEVON                      ADDRESS ON FILE
WHITE, DEWARD                     ADDRESS ON FILE
WHITE, DEWEY                      ADDRESS ON FILE
WHITE, DOMINIQUE                  ADDRESS ON FILE
WHITE, DOUGLAS                    ADDRESS ON FILE
WHITE, DOUGLAS A                  ADDRESS ON FILE
WHITE, ERIC                       ADDRESS ON FILE
WHITE, ERIC                       ADDRESS ON FILE
WHITE, ERROL                      ADDRESS ON FILE
WHITE, FLOYD                      ADDRESS ON FILE
WHITE, FRANK                      ADDRESS ON FILE
WHITE, GARRET                     ADDRESS ON FILE
WHITE, GEORGIA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                         Page 2067 OF 2145
                                       Yellow Corporation
                  Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                           Service List
                                                                 Page 2076 of 2156

Claim Name                      Address Information
WHITE, GLEN                     ADDRESS ON FILE
WHITE, GREGORY                  ADDRESS ON FILE
WHITE, GUY                      ADDRESS ON FILE
WHITE, HAROLD                   ADDRESS ON FILE
WHITE, HAVEN                    ADDRESS ON FILE
WHITE, JAMES                    ADDRESS ON FILE
WHITE, JAMES                    ADDRESS ON FILE
WHITE, JAMES                    ADDRESS ON FILE
WHITE, JAMES                    ADDRESS ON FILE
WHITE, JAMES E                  ADDRESS ON FILE
WHITE, JASON                    ADDRESS ON FILE
WHITE, JASON                    ADDRESS ON FILE
WHITE, JASON R                  ADDRESS ON FILE
WHITE, JAYLA                    ADDRESS ON FILE
WHITE, JEFF                     ADDRESS ON FILE
WHITE, JEFFONNE                 ADDRESS ON FILE
WHITE, JEFFREY                  ADDRESS ON FILE
WHITE, JEFFREY                  ADDRESS ON FILE
WHITE, JESSICA                  ADDRESS ON FILE
WHITE, JEVON                    ADDRESS ON FILE
WHITE, JOHN                     ADDRESS ON FILE
WHITE, JOHN                     ADDRESS ON FILE
WHITE, JONATHAN                 ADDRESS ON FILE
WHITE, JOSHUA                   ADDRESS ON FILE
WHITE, JOYCE                    ADDRESS ON FILE
WHITE, JULIE                    ADDRESS ON FILE
WHITE, KARON                    ADDRESS ON FILE
WHITE, KELLY                    ADDRESS ON FILE
WHITE, KENNETH                  ADDRESS ON FILE
WHITE, KENNETH                  ADDRESS ON FILE
WHITE, KEVIN                    ADDRESS ON FILE
WHITE, KEVIN                    ADDRESS ON FILE
WHITE, KEVIN                    ADDRESS ON FILE
WHITE, KIRK                     ADDRESS ON FILE
WHITE, KYLE                     ADDRESS ON FILE
WHITE, LANCE                    ADDRESS ON FILE
WHITE, LAPHONZO                 ADDRESS ON FILE
WHITE, LARRY                    ADDRESS ON FILE
WHITE, LARRY R                  ADDRESS ON FILE
WHITE, LAWRENCE                 ADDRESS ON FILE
WHITE, LEON                     ADDRESS ON FILE
WHITE, LESLIE                   ADDRESS ON FILE
WHITE, MARC                     ADDRESS ON FILE
WHITE, MARTY R                  ADDRESS ON FILE
WHITE, MARVIN                   ADDRESS ON FILE
WHITE, MCKENZIE                 ADDRESS ON FILE
WHITE, MICHAEL                  ADDRESS ON FILE
WHITE, MICHAEL                  ADDRESS ON FILE
WHITE, MICHAEL                  ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                               Page 2068 OF 2145
                                               Yellow Corporation
                     Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 2077 of 2156

Claim Name                              Address Information
WHITE, MICHAEL                          ADDRESS ON FILE
WHITE, MICHAEL                          ADDRESS ON FILE
WHITE, MICHAEL                          ADDRESS ON FILE
WHITE, MICHAEL                          ADDRESS ON FILE
WHITE, MILTON L                         ADDRESS ON FILE
WHITE, MOLLY                            ADDRESS ON FILE
WHITE, PATRICK                          ADDRESS ON FILE
WHITE, PHILLIP                          ADDRESS ON FILE
WHITE, PHILLIP                          ADDRESS ON FILE
WHITE, PHILLIP L                        ADDRESS ON FILE
WHITE, RAIMONE                          ADDRESS ON FILE
WHITE, RAYNA                            ADDRESS ON FILE
WHITE, REGINALD                         ADDRESS ON FILE
WHITE, RICHARD                          ADDRESS ON FILE
WHITE, RICK                             ADDRESS ON FILE
WHITE, RICO                             ADDRESS ON FILE
WHITE, ROBERT                           ADDRESS ON FILE
WHITE, ROBERT                           ADDRESS ON FILE
WHITE, ROBERT                           ADDRESS ON FILE
WHITE, ROBERT                           ADDRESS ON FILE
WHITE, RODNEY                           ADDRESS ON FILE
WHITE, ROZITA                           ADDRESS ON FILE
WHITE, RUSSELL E                        ADDRESS ON FILE
WHITE, SCOTT                            ADDRESS ON FILE
WHITE, SHAWN                            ADDRESS ON FILE
WHITE, STEVEN                           ADDRESS ON FILE
WHITE, SVEN                             ADDRESS ON FILE
WHITE, TAMEKIA                          ADDRESS ON FILE
WHITE, TASHIRA C                        ADDRESS ON FILE
WHITE, TASHIRA C                        ADDRESS ON FILE
WHITE, TERRY                            ADDRESS ON FILE
WHITE, THOMAS                           ADDRESS ON FILE
WHITE, TONY                             ADDRESS ON FILE
WHITE, TRAVIS                           ADDRESS ON FILE
WHITE, TRENT                            ADDRESS ON FILE
WHITE, WALTER                           ADDRESS ON FILE
WHITE, WAYNE                            ADDRESS ON FILE
WHITE, WENDY                            ADDRESS ON FILE
WHITE, WILLIAM                          ADDRESS ON FILE
WHITE, WILLIE                           ADDRESS ON FILE
WHITE, YEVETTE                          ADDRESS ON FILE
WHITE, YOLAUGHNDA                       ADDRESS ON FILE
WHITE-BOWMAN PLUMBING AND HEATING INC   266 SANDBANK RD CHESHIRE CT 06410
WHITECOURT TRANSPORT INC                3710 - 33 ST WHITCOURT AB T7S 0A2 CANADA
WHITECOURT TRANSPORT INC                3710-33 ST WHITECOURT AB T7S 0A2 CANADA
WHITED, KEVIN                           ADDRESS ON FILE
WHITEFIELD, ROBERT                      ADDRESS ON FILE
WHITEFORD KENWORTH                      ADDRESS ON FILE
WHITEFORD KENWORTH                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 2069 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 2078 of 2156

Claim Name                              Address Information
WHITEFORD TRAILER & EQUIPMENT          4625 W WESTERN AVE SOUTH BEND IN 46619
WHITEFORD TRAILER & EQUIPMENT          PO BOX 76 SOUTH BEND IN 46624
WHITEFORD TRUCKS INC                   PO BOX 76 SOUTH BEND IN 46619
WHITEHALL TRUCK AND TOWING INC.        1166 MT HIGHWAY 55, P.O. BOX 296 WHITEHALL MT 59759
WHITEHALL TRUCK AND TOWING INC.        PO BOX 296 WHITEHALL MT 59759
WHITEHEAD, JEFFREY                     ADDRESS ON FILE
WHITEHEAD, JOHN                        ADDRESS ON FILE
WHITEHEAD, STEPHEN                     ADDRESS ON FILE
WHITEHEAD, TIMOTHY                     ADDRESS ON FILE
WHITEHOUSE, RICHARD                    ADDRESS ON FILE
WHITEHURST, BRANDON J                  ADDRESS ON FILE
WHITEHURST, CHRISTOPHER J              ADDRESS ON FILE
WHITEHURST, DANIEL                     ADDRESS ON FILE
WHITEHURST, MARVIN                     ADDRESS ON FILE
WHITEHURST, PAMELA                     ADDRESS ON FILE
WHITELAND AUTO SUPPLY, INC.            229 MAIN STREET WHITELAND IN 46184
WHITELINE EXPRESS LLC                  OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
WHITELY, KEVIN                         ADDRESS ON FILE
WHITEMAN, JOANN                        ADDRESS ON FILE
WHITEN TRANSPORTATION AND LOGISTICS LLC OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WHITENEIR SR., KEVIN                   ADDRESS ON FILE
WHITERS, CARL                          ADDRESS ON FILE
WHITES INTERNATIONAL TRUCKS            PO BOX 18605 GREENSBORO NC 27419
WHITES REPAIR SERVICE INC              3201 ROUTE 49 WESTFIELD PA 16950
WHITESELL, KEN                         ADDRESS ON FILE
WHITESIDE, MARK                        ADDRESS ON FILE
WHITESIDE, ROBERT                      ADDRESS ON FILE
WHITESIDE, ROBERT L                    ADDRESS ON FILE
WHITESIDE-DAVIS, SHEATUN               ADDRESS ON FILE
WHITESIDES, WAYNE                      ADDRESS ON FILE
WHITESTAR TRUCKING LLC                 OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
WHITESTONE TRANS INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WHITESTONE TRANSPORTATION              OR TAB BANK, PO BOX 150830 OGDEN UT 84415
WHITESTONES LOGISTICS LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WHITETAIL EXPRESS TRANSPORTATION INC   WHITETAIL EXPRESS TRANSPORTATION INC PO BOX 36 LAREDO TX 78042
WHITETAIL TRANSPORT LLC                OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
WHITEYS TOWING, INC.                   710 EASTGATE RD CRYSTAL LAKE IL 60014
WHITFIELD TRANSPORT LLC                OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
WHITFIELD TRUCKING, INC.               OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
WHITFIELD, CARROL                      ADDRESS ON FILE
WHITFIELD, JASON                       ADDRESS ON FILE
WHITFIELD, JEFFREY                     ADDRESS ON FILE
WHITFIELD, LONDON                      ADDRESS ON FILE
WHITFIELD, MAURICE                     ADDRESS ON FILE
WHITFIELD, QUINCEY                     ADDRESS ON FILE
WHITFIELD, RODRICK                     ADDRESS ON FILE
WHITFIELD, SEAN                        ADDRESS ON FILE
WHITING DOOR MFG CORP                  113 CEDAR ST AKRON NY 14001
WHITING, DAVID                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2070 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                           Page 2079 of 2156

Claim Name                            Address Information
WHITING, JUSTIN                       ADDRESS ON FILE
WHITING, STEVE                        ADDRESS ON FILE
WHITLATCH, ADAM A                     ADDRESS ON FILE
WHITLATCH, STEVEN                     ADDRESS ON FILE
WHITLEDGE, FORREST                    ADDRESS ON FILE
WHITLEY, CLINTON                      ADDRESS ON FILE
WHITLEY, DARYL                        ADDRESS ON FILE
WHITLEY, GREGSON                      ADDRESS ON FILE
WHITLEY, HENRY                        ADDRESS ON FILE
WHITLEY, JERMAINE                     ADDRESS ON FILE
WHITLEY, MARK                         ADDRESS ON FILE
WHITLEY, NICK                         ADDRESS ON FILE
WHITLEY, STONY A                      ADDRESS ON FILE
WHITLOCK, DANIEL                      ADDRESS ON FILE
WHITLOCK, DAVID                       ADDRESS ON FILE
WHITLOCK, JOSEPH                      ADDRESS ON FILE
WHITLOCK, LIVENCIEO                   ADDRESS ON FILE
WHITLOCK, LIVENTE                     ADDRESS ON FILE
WHITLOCK, MADISON                     ADDRESS ON FILE
WHITLOCK, RACHEAL                     ADDRESS ON FILE
WHITLOCK, TYRONE                      ADDRESS ON FILE
WHITLOW, KATHLEEN                     ADDRESS ON FILE
WHITLOW, MICHAEL                      ADDRESS ON FILE
WHITMAN, PATRICIA                     ADDRESS ON FILE
WHITMAN, ROBERT                       ADDRESS ON FILE
WHITMER, GRADY                        ADDRESS ON FILE
WHITMER, VIRGIL                       ADDRESS ON FILE
WHITMIRE, CURTIS                      ADDRESS ON FILE
WHITMOR ECHO GLOBAL                   ATTN: NICOLE TUCKER 600 W CHICAGO AVE CHICAGO IL 60654
WHITMORE, CAMERON                     ADDRESS ON FILE
WHITMORE, DEBORAH                     ADDRESS ON FILE
WHITMORE, GERALD                      ADDRESS ON FILE
WHITMORE, MARK                        ADDRESS ON FILE
WHITMORE, NAFIS                       ADDRESS ON FILE
WHITMORE, SHAUN PAUL                  ADDRESS ON FILE
WHITNEY B POWELL                      ADDRESS ON FILE
WHITNEY, ANNA                         ADDRESS ON FILE
WHITNEY, CRAIG                        ADDRESS ON FILE
WHITNEY, ERIC                         ADDRESS ON FILE
WHITNEY, FORREST                      ADDRESS ON FILE
WHITNEY, JEFFREY                      ADDRESS ON FILE
WHITNEY, WILLIAM                      ADDRESS ON FILE
WHITNIEL AUTOMOBILE & LOGISTICS LLC   OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WHITON, BRIAN                         ADDRESS ON FILE
WHITSELL, JOHN                        ADDRESS ON FILE
WHITSON, DONALD                       ADDRESS ON FILE
WHITT, BILL                           ADDRESS ON FILE
WHITT, DANIEL                         ADDRESS ON FILE
WHITT, JAVONTE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2071 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2080 of 2156

Claim Name                            Address Information
WHITT, JEFFREY                        ADDRESS ON FILE
WHITT, MELISSA                        ADDRESS ON FILE
WHITT, ROBIN                          ADDRESS ON FILE
WHITT, STEPHEN                        ADDRESS ON FILE
WHITTAKER, DONALD                     ADDRESS ON FILE
WHITTAKER, MAXWELL                    ADDRESS ON FILE
WHITTAKER, ROBERT                     ADDRESS ON FILE
WHITTAKER, STEVEN                     ADDRESS ON FILE
WHITTAKER, THOMAS A                   ADDRESS ON FILE
WHITTEMORE, ROBERT                    ADDRESS ON FILE
WHITTEN & LUBLIN EMPLOYMENT LAWYERS   1100 141 ADELAIDE ST W TORONTO ON M5H 3L5 CANADA
WHITTEN, DEREK                        ADDRESS ON FILE
WHITTEN, RANDY                        ADDRESS ON FILE
WHITTEN, RODERICK                     ADDRESS ON FILE
WHITTINGTON, BRADLEY                  ADDRESS ON FILE
WHITTINGTON, MATTHEW                  ADDRESS ON FILE
WHITTINGTON, ROBIN                    ADDRESS ON FILE
WHITTLE, HERMAN                       ADDRESS ON FILE
WHITTLE, LINDA                        ADDRESS ON FILE
WHITTLE, LINDA                        ADDRESS ON FILE
WHITTLER, TIMOTHY                     ADDRESS ON FILE
WHITTON, DARREN                       ADDRESS ON FILE
WHITTYMORE EXPRESS, INC.              1945 E US HIGHWAY 50 BROWNSTOWN IN 47220
WHITWORTH, LARRY                      ADDRESS ON FILE
WHITWORTH, MADELINE                   ADDRESS ON FILE
WHITZEL, JAMES                        ADDRESS ON FILE
WHOBOO LLC                            OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WHOLESALE ELECTRIC SUPPLY CO INC      6320 YOUNG RD LITTLE ROCK AR 72209
WHOLESALE HARDWOOD INTERIORS          ATTN: EDDIE BENNETT 950 CAMPBELLSVILLE BYPASS CAMPBELLSVILLE KY 42718
WHOLESALE HEAT                        30541 EIGHT MILE RD LIVOINIA MI 48152
WHOLESALE HEATING SUPPLY              135 ORCHARD LAKE PONTIAC MI 48341
WHP TRUCKING INTERNATIONAL LLC        OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
WHV TRANSPORTATION LLC                OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WHY EYE DELIVER INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WHYE, THOMAS                          ADDRESS ON FILE
WHYTE LINE TRUCKING LLC               OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WHYTE, COLM                           ADDRESS ON FILE
WHYTE, DAVID                          ADDRESS ON FILE
WHYTE, EDWARD                         ADDRESS ON FILE
WHYZ TRANSPORT INC                    OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187
WI DOT                                4822 MADISON YARDS WY MADISON 53705
WIBBELSMAN, ROBERT                    ADDRESS ON FILE
WIBLE, THOMAS                         ADDRESS ON FILE
WICHELNS, MATTHEW                     ADDRESS ON FILE
WICHITA A C SUPPLY                    1403 SCOTT AVE WICHITA FALLS TX 76301
WICHITA A C SUPPLY                    1403 SCOTT ST WICHITA FALLS TX 76301
WICHITA ART MUSEUM                    1400 WEST MUSEUM BOULEVARD WICHITA KS 67203
WICHMAN, CHRISTINE                    ADDRESS ON FILE
WICHY HAULER                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261



Epiq Corporate Restructuring, LLC                                                                Page 2072 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                 Page 2081 of 2156

Claim Name                               Address Information
WICK LAWN CARE                           203 E WALNUT ST CLEONA PA 17042
WICKED EXPRESS INC.                      PO BOX 118466 CARROLLTON TX 75011
WICKENBURG RANCH COMMUNITY ASSOC, INC.   3160 WICKENBERG RANCH WAY WICKENBERG AZ 85390
WICKER WAREHOUSE                         GARY PASQUARIELLO, 195 SOUTH RIVER ST HACKENSACK NJ 07601
WICKER, TAMMY                            ADDRESS ON FILE
WICKERSHAM, DENNIS                       ADDRESS ON FILE
WICKHAM, LYLE                            ADDRESS ON FILE
WICKHAM, MICHAEL                         ADDRESS ON FILE
WICKHAM, MYCHAL                          ADDRESS ON FILE
WICKHAM, ORELA                           ADDRESS ON FILE
WICKLEIN, MICHAEL                        ADDRESS ON FILE
WICKLIFFE, JOHN T                        ADDRESS ON FILE
WICKLINE, JAMES                          ADDRESS ON FILE
WICKLINE, PAUL                           ADDRESS ON FILE
WICKS TRUCK TRAILERS INC                 2135 W OLD ROUTE 66 STRAFFORD MO 65757
WICKS TRUCK TRAILERS INC                 10580 S 147TH STREET LAVISTA NE 68138
WICKS-GAINES, MARY                       ADDRESS ON FILE
WICKWARE, KENNETH                        ADDRESS ON FILE
WICOMICO COUNTY DEPT OF EMERGENCY SVCS   411 NAYLOR MILL RD STE 200 SALISBURY MD 21801
WIDDIS AND SON SERVICES LLC.             44 LAUREL CIRCLE MALVERN PA 19355
WIDE LANE EXPRESS LLC                    OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
WIDEAWAKE CARRIERS LLC                   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WIDEMAN, ROBERT                          ADDRESS ON FILE
WIDENER, LESTER                          ADDRESS ON FILE
WIDENER, REGINALD                        ADDRESS ON FILE
WIDER GROUP INC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WIDGER, JOHN                             ADDRESS ON FILE
WIDMANN, JULIE                           ADDRESS ON FILE
WIDNEY, DAVID                            ADDRESS ON FILE
WIDOLFF, BENJAMIN                        ADDRESS ON FILE
WIDOLFF, BRIAN                           ADDRESS ON FILE
WIEBE TRUCK PARTS INC.                   36111 CENTRE LINE RD ANOLA MB R5L 0A5 CANADA
WIEBERSCH, ROBIN                         ADDRESS ON FILE
WIEBUSCH, KEVIN                          ADDRESS ON FILE
WIECHMAN, BRIAN                          ADDRESS ON FILE
WIECZOREK, THOMAS                        ADDRESS ON FILE
WIECZORKOWSKI, DEBORAH                   ADDRESS ON FILE
WIEHAGEN, PAUL                           ADDRESS ON FILE
WIEHL, RUSSELL                           ADDRESS ON FILE
WIELAND METAL SERVICES                   ATTN: KAIRA REIS 5100 S ARCHIBALD AVE ONTARIO CA 91762
WIELAND METAL SERVICES LLC               ATTN: JOANN ORICHIO JO ANN ORICHIO 150 LACKAWANNA AVE PARSIPPANY NJ 07054
WIELAND, MARK                            ADDRESS ON FILE
WIELER, DARLENE                          ADDRESS ON FILE
WIELER, GLENN                            ADDRESS ON FILE
WIENCKOWSKI, CHRISTOPHER                 ADDRESS ON FILE
WIENER, PAUL R                           ADDRESS ON FILE
WIENKE, JESSE                            ADDRESS ON FILE
WIENS, JAKE                              ADDRESS ON FILE
WIERCISZEWSKI, RONALD                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 2073 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2082 of 2156

Claim Name                           Address Information
WIERING-DURSO, MELLISA               ADDRESS ON FILE
WIERSEMA, MATT                       ADDRESS ON FILE
WIERZBICKI, BRIAN                    ADDRESS ON FILE
WIESBECK, STEVEN                     ADDRESS ON FILE
WIESE MATERIAL HANDLING, INC.        D/B/A: WIESE USA 1611 AIRWAYS BLVD JACKSON TN 38302
WIESE MATERIAL HANDLING, INC.        ATLANTIC LIFT TRUCK INC, P.O. BOX 60106 SAINT LOUIS MO 63160
WIESE MATERIAL HANDLING, INC.        D/B/A: WIESE USA MN SUPPLY CO, P.O. BOX 60106 SAINT LOUIS MO 63160
WIESE MATERIAL HANDLING, INC.        D/B/A: WIESE USA P.O. BOX 60106 SAINT LOUIS MO 63160
WIESE MATERIAL HANDLING, INC.        D/B/A: WIESE USA P.O. BOX 60106 ST. LOUIS MO 63160
WIESE USA                            P.O. BOX 60106 ST. LOUIS MO 63160
WIESE USA                            PO BOX 60106 SAINT LOUIS MO 63160
WIESE, JENNIFER                      ADDRESS ON FILE
WIESNER, DENISE                      ADDRESS ON FILE
WIGFIELD, LEE-ALLEN                  ADDRESS ON FILE
WIGGINS, CORNELIUS                   ADDRESS ON FILE
WIGGINS, DONTA                       ADDRESS ON FILE
WIGGINS, EDWARD J                    ADDRESS ON FILE
WIGGINS, ELLIOTT                     ADDRESS ON FILE
WIGGINS, KRISTY                      ADDRESS ON FILE
WIGGINS, NIKHIL                      ADDRESS ON FILE
WIGGINS, ROD                         ADDRESS ON FILE
WIGGINS, RONALD                      ADDRESS ON FILE
WIGGINS, SEAN                        ADDRESS ON FILE
WIGGINS, TIM                         ADDRESS ON FILE
WIGGS, MICHAEL                       ADDRESS ON FILE
WIGHT, MYRON                         ADDRESS ON FILE
WIGINTON, JAMES                      ADDRESS ON FILE
WIGINTON, TODD                       ADDRESS ON FILE
WIGLE, REIN                          ADDRESS ON FILE
WIIN TRANSPORT LLC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WIKERT, DAVID                        ADDRESS ON FILE
WIKIN TRUCKING LLC                   OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
WIKOFF COLOR CORPORATION             ATTN: NANCY ONESKO 1710 ROBINSON RD GRAND PRAIRIE TX 75051
WIL & JO TRANSPORT, INC.             OR CJM FINANCIAL INC, PO BOX 727 ANKENY IA 50021
WIL & JO TRANSPORT, INC.             OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
WIL TRANSPORTATION SERVICES INC.     OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
WIL-KIL PEST CONTROL                 PO BOX 600730 JACKSONVILLE FL 32260
WILBANKS, BOBBY                      ADDRESS ON FILE
WILBANKS, DONALD                     ADDRESS ON FILE
WILBANKS, RUSSELL                    ADDRESS ON FILE
WILBERT TRANSPORT LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WILBORN TRUCKING LLC                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WILBORN, DAMON                       ADDRESS ON FILE
WILBOURN, FABIAN L                   ADDRESS ON FILE
WILBOURN, ULYSSES                    ADDRESS ON FILE
WILBUR ELLIS CO                      9685 SW RIDDER RD STE 190 WILSONVILLE OR 97070
WILBUR, RICHARD                      ADDRESS ON FILE
WILBUR, RICK                         ADDRESS ON FILE
WILBURN LOGISTICS LLC                CFS INC DBA COMFREIGHT HAULPAY PO BOX 200400 DALLAS TX 75320-0400



Epiq Corporate Restructuring, LLC                                                               Page 2074 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                           Page 2083 of 2156

Claim Name                         Address Information
WILBURN, AARON                     ADDRESS ON FILE
WILBURN, CHARLES                   ADDRESS ON FILE
WILBURN, TAYLOR                    ADDRESS ON FILE
WILCHER, MYRA                      ADDRESS ON FILE
WILCHIE, SHENNIKA                  ADDRESS ON FILE
WILCOX SUPPLY INC                  4604 ARROW HIGHWAY MONTCLAIR CA 91763
WILCOX, BERNARD                    ADDRESS ON FILE
WILCOX, CARL                       ADDRESS ON FILE
WILCOX, CAYMAN                     ADDRESS ON FILE
WILCOX, CRAIG                      ADDRESS ON FILE
WILCOX, HARRY                      ADDRESS ON FILE
WILCOX, JEFFREY                    ADDRESS ON FILE
WILCOX, JUSTIN                     ADDRESS ON FILE
WILCOX, ROBERT                     ADDRESS ON FILE
WILCOX, STEPHEN                    ADDRESS ON FILE
WILCOX, STEVE                      ADDRESS ON FILE
WILCUT, WARREN                     ADDRESS ON FILE
WILCUTT, CHAD                      ADDRESS ON FILE
WILCZYNSKI, CASEY                  ADDRESS ON FILE
WILD BILL SON TRANSPORT LLC        OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WILD FORK                          20002 BROOKHURST ST HUNTINGTON BEACH CA 92646
WILD HORSES 4X4 C/O ECHO           ATTN: JANAU WASHINGTON 600 W CHICAGO AVE CHICAGO IL 60654
WILD OLIVE TRUCKING LLC            OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
WILD RIDGE LAWN                    3355 SOUTH ARLINGTON AVE INDIANAPOLIS IN 46203
WILD WEST DIESEL REPAIR INC        PO BOX 50882 BILLINGS MT 59105
WILD WEST SEED INC                 ATTN: ZAC WAHLERT 3640 WESTERN WAY NE ALBANY OR 97321
WILD WEST TRUCKING INC             OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WILD, RONN                         ADDRESS ON FILE
WILDAUER, JOSEPH                   ADDRESS ON FILE
WILDCAT FREIGHT                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WILDE, DEBBIE                      ADDRESS ON FILE
WILDE, MICHAEL S                   ADDRESS ON FILE
WILDER, BOBBY                      ADDRESS ON FILE
WILDER, ISAIAH                     ADDRESS ON FILE
WILDER, JOSEPH                     ADDRESS ON FILE
WILDER, LARRY                      ADDRESS ON FILE
WILDING, PETER                     ADDRESS ON FILE
WILDMAN, THOMAS E                  ADDRESS ON FILE
WILDOR, TRENESE                    ADDRESS ON FILE
WILES, CURTIS                      ADDRESS ON FILE
WILEY AND ME LLC                   OR PROVIDENT COMMERCIAL FINANCE LLC P.O. BOX 11407 DEPT 2659 BIRMINGHAM AL
                                   35246-2659
WILEY, AQUAVIUS                    ADDRESS ON FILE
WILEY, DWIGHT                      ADDRESS ON FILE
WILEY, EARL                        ADDRESS ON FILE
WILEY, GARRET                      ADDRESS ON FILE
WILEY, JACK                        ADDRESS ON FILE
WILEY, JOHNNY W                    ADDRESS ON FILE
WILEY, MERCEDES                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 2075 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                         Page 2084 of 2156

Claim Name                          Address Information
WILEY, NATHANIEL                    ADDRESS ON FILE
WILEY, SILAS                        ADDRESS ON FILE
WILEY, TYREE                        ADDRESS ON FILE
WILFONG JR, CHARLES                 ADDRESS ON FILE
WILFONG, CHARLES                    ADDRESS ON FILE
WILFONG, JEFFERY                    ADDRESS ON FILE
WILFREDO R DIAZ                     ADDRESS ON FILE
WILHELM, JEFFREY                    ADDRESS ON FILE
WILHELM, LAWRENCE                   ADDRESS ON FILE
WILHITE, RICHARD                    ADDRESS ON FILE
WILHITE, WILLIAM                    ADDRESS ON FILE
WILHOIT, SOPHIA                     ADDRESS ON FILE
WILKEN, VINCENT                     ADDRESS ON FILE
WILKERSON, ERIC                     ADDRESS ON FILE
WILKERSON, ERIC                     ADDRESS ON FILE
WILKERSON, ERIC W                   ADDRESS ON FILE
WILKERSON, JOANN                    ADDRESS ON FILE
WILKERSON, LORENZO                  ADDRESS ON FILE
WILKERSON, MHANIQ                   ADDRESS ON FILE
WILKERSON, ROBERT                   ADDRESS ON FILE
WILKERSON, SEAN                     ADDRESS ON FILE
WILKERSON, TYLER                    ADDRESS ON FILE
WILKERSON, VICTORIA                 ADDRESS ON FILE
WILKERSON, WAYNE                    ADDRESS ON FILE
WILKES, JAMES                       ADDRESS ON FILE
WILKES, VICTOR                      ADDRESS ON FILE
WILKES, WILLIAM                     ADDRESS ON FILE
WILKIE, KURT                        ADDRESS ON FILE
WILKIE, TOM                         ADDRESS ON FILE
WILKIN, JAMES                       ADDRESS ON FILE
WILKIN, MAVIS                       ADDRESS ON FILE
WILKIN, NIAL                        ADDRESS ON FILE
WILKIN, TERRY                       ADDRESS ON FILE
WILKINS LOGISTICS & TRUCKING LLC    OR WALLACE COMPANY INC, PO BOX 988 FULTON MS 38843
WILKINS, DEVON                      ADDRESS ON FILE
WILKINS, EDDIE                      ADDRESS ON FILE
WILKINS, GLENN                      ADDRESS ON FILE
WILKINS, PHILLIP                    ADDRESS ON FILE
WILKINS, ROBERT                     ADDRESS ON FILE
WILKINS, TIMOTHY                    ADDRESS ON FILE
WILKINS, TRACEY                     ADDRESS ON FILE
WILKINS, WILLIE                     ADDRESS ON FILE
WILKINSON, BRIAN                    ADDRESS ON FILE
WILKINSON, GREGORY                  ADDRESS ON FILE
WILKINSON, KEINYON                  ADDRESS ON FILE
WILKINSON, ROBERT                   ADDRESS ON FILE
WILKINSON, ROBERT                   ADDRESS ON FILE
WILKINSON, SAMUEL                   ADDRESS ON FILE
WILKINSON, SAMUEL                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                        Page 2076 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2085 of 2156

Claim Name                           Address Information
WILKINSON, SEAN                      ADDRESS ON FILE
WILKINSON, SPENCER                   ADDRESS ON FILE
WILKINSON, STACY                     ADDRESS ON FILE
WILKINSON, TIMOTHY                   ADDRESS ON FILE
WILKS, JERMAINE                      ADDRESS ON FILE
WILKS, NICHOLAS                      ADDRESS ON FILE
WILKUM, DONALD                       ADDRESS ON FILE
WILL CARE TRANSPORT                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WILL CORP                            OR APEX CAPITAL CORP, PO BOX 961029 FORT WORTH TX 76161
WILL COUNTY TREASURER                302 N CHICAGO ST JOLIET IL 60432
WILL TRANSPORT AMERICAN CORP         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WILL, WILLIAM                        ADDRESS ON FILE
WILL-MAR TRANSPORT INC               OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WILLAMETTE ELECTRIC INC              PO BOX 230547 TIGARD OR 97281
WILLARD, BARRY                       ADDRESS ON FILE
WILLARD, CODY                        ADDRESS ON FILE
WILLARD, RICK                        ADDRESS ON FILE
WILLARD, RITCHIE L                   ADDRESS ON FILE
WILLBANKS, TOMMY                     ADDRESS ON FILE
WILLE TRANSPORT, INC.                521 WEST HIGHWAY 2 COHASSET MN 55721
WILLEM, CALEB                        ADDRESS ON FILE
WILLENBRING, RICHARD                 ADDRESS ON FILE
WILLES, LAWRENCE                     ADDRESS ON FILE
WILLETT, DALE                        ADDRESS ON FILE
WILLETT, JAMES                       ADDRESS ON FILE
WILLETT, JEFFERY                     ADDRESS ON FILE
WILLETTE 24 HOUR TOWING SVC          901 E 1ST ST CLE ELUM WA 98922
WILLETTS, JACOB L                    ADDRESS ON FILE
WILLEY PRINTING COMPANY INC.         PO BOX 886 MODESTO CA 95353
WILLEY, SCOTT                        ADDRESS ON FILE
WILLHITE, DANNETTIE                  ADDRESS ON FILE
WILLHOITE, KEOMBRE                   ADDRESS ON FILE
WILLIAM A MCCULLOUGH III             ADDRESS ON FILE
WILLIAM A MEIRA                      ADDRESS ON FILE
WILLIAM ARGEROPLOS                   ADDRESS ON FILE
WILLIAM B DECKER                     ADDRESS ON FILE
WILLIAM BROUSSEAU                    ADDRESS ON FILE
WILLIAM BRUCKMAN TRUCKING, L.L.C.    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
WILLIAM C PEOPLES                    ADDRESS ON FILE
WILLIAM D ATKINSON                   ADDRESS ON FILE
WILLIAM D HALL                       ADDRESS ON FILE
WILLIAM D SMITH                      ADDRESS ON FILE
WILLIAM D WINTERSTEEN                ADDRESS ON FILE
WILLIAM DEBO                         ADDRESS ON FILE
WILLIAM E MAREK                      ADDRESS ON FILE
WILLIAM E ZALDIVAR                   ADDRESS ON FILE
WILLIAM E. SMITH TRUCKING, INC.      PO BOX 583 MOUNT AIRY NC 27030
WILLIAM EDWARD THOMAS                ADDRESS ON FILE
WILLIAM F RENO                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2077 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 2086 of 2156

Claim Name                               Address Information
WILLIAM FULPS WRECKER SERVICE INC        3653 N PATTERSON AVE WINSTON-SALEM NC 27105
WILLIAM G RIEK                           ADDRESS ON FILE
WILLIAM H CURRY                          ADDRESS ON FILE
WILLIAM H ROBISON                        ADDRESS ON FILE
WILLIAM H SIMPSON                        ADDRESS ON FILE
WILLIAM H VICKERY                        ADDRESS ON FILE
WILLIAM INDUSTRIES                       DBA SCS UNLOADING, 501 N 5TH ST MONROE LA 71201
WILLIAM INTEGRITY LOGISTICS INC          OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
WILLIAM J BREAKEY                        ADDRESS ON FILE
WILLIAM J BRYAN                          ADDRESS ON FILE
WILLIAM J PETSCHE                        ADDRESS ON FILE
WILLIAM J SHIMP                          ADDRESS ON FILE
WILLIAM JAMES                            ADDRESS ON FILE
WILLIAM K DURANT                         ADDRESS ON FILE
WILLIAM KERN                             ADDRESS ON FILE
WILLIAM L HANNAH                         ADDRESS ON FILE
WILLIAM L SAUNDERS                       ADDRESS ON FILE
WILLIAM LABOW                            ADDRESS ON FILE
WILLIAM LOWERY                           ADDRESS ON FILE
WILLIAM M CRANE                          ADDRESS ON FILE
WILLIAM M STANTON                        ADDRESS ON FILE
WILLIAM MORTON                           ADDRESS ON FILE
WILLIAM N COSTELLO                       ADDRESS ON FILE
WILLIAM ODRISCOLL                        ADDRESS ON FILE
WILLIAM P ONLY JR                        ADDRESS ON FILE
WILLIAM P SPALDING                       ADDRESS ON FILE
WILLIAM R HUNT                           ADDRESS ON FILE
WILLIAM R LIX                            ADDRESS ON FILE
WILLIAM R PRUENTE                        ADDRESS ON FILE
WILLIAM R WILLIS                         ADDRESS ON FILE
WILLIAM R WILLIS                         ADDRESS ON FILE
WILLIAM RAFFERTY                         ADDRESS ON FILE
WILLIAM S BARROWS                        ADDRESS ON FILE
WILLIAM S DANCY                          ADDRESS ON FILE
WILLIAM S KROUSE                         ADDRESS ON FILE
WILLIAM S MOOI                           ADDRESS ON FILE
WILLIAM T KIRBY                          ADDRESS ON FILE
WILLIAM T KLINE                          ADDRESS ON FILE
WILLIAM T POWELL                         ADDRESS ON FILE
WILLIAM TEEPLE                           ADDRESS ON FILE
WILLIAM TEVERE                           ADDRESS ON FILE
WILLIAM TODD WALKER                      ADDRESS ON FILE
WILLIAM W CARPENTER                      ADDRESS ON FILE
WILLIAMS & WILLIAMS TRUCKING COMPANY     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
LLC
WILLIAMS BROTHERS LAWN & TREE SRVC INC   54 KERRY LANE STAUNTON VA 24401
WILLIAMS FAMILY LOGISTICS LLC            OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WILLIAMS FOUNDATION LLC                  OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
WILLIAMS FUEL STOP                       683 STATE RT 7 NORTH GALLIPOLIS OH 45631



Epiq Corporate Restructuring, LLC                                                                   Page 2078 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                             Page 2087 of 2156

Claim Name                             Address Information
WILLIAMS GLOBAL LLC                    OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WILLIAMS III, LENDWOOD                 ADDRESS ON FILE
WILLIAMS IV, EVERETT                   ADDRESS ON FILE
WILLIAMS JR, THOMAS                    ADDRESS ON FILE
WILLIAMS MECHANICAL SERVICES           2740 W WINDROSE DR PHOENIX AZ 85029
WILLIAMS ROADRUNNER TRANSPORTERS LLC   OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
WILLIAMS SCOTSMAN - CHICAGO            ADDRESS ON FILE
WILLIAMS SCOTSMAN - CHICAGO            ADDRESS ON FILE
WILLIAMS SPEEDY TRANSPORT LLC          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WILLIAMS TOYOTA LIFT                   PO BOX 359 EAST SPARTA OH 44626
WILLIAMS TRUCKING OF PIKEVILLE, LLC    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
WILLIAMS UNITED CARRIERS INC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WILLIAMS WAYPOINT LLC                  OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WILLIAMS, AARON                        ADDRESS ON FILE
WILLIAMS, AARON                        ADDRESS ON FILE
WILLIAMS, ADAM                         ADDRESS ON FILE
WILLIAMS, ADDARRIEN                    ADDRESS ON FILE
WILLIAMS, ADRIAN                       ADDRESS ON FILE
WILLIAMS, ADRIAN                       ADDRESS ON FILE
WILLIAMS, ALEAHA                       ADDRESS ON FILE
WILLIAMS, ALEXUS                       ADDRESS ON FILE
WILLIAMS, ALICIA                       ADDRESS ON FILE
WILLIAMS, ANDREA                       ADDRESS ON FILE
WILLIAMS, ANDREW                       ADDRESS ON FILE
WILLIAMS, ANDREW                       ADDRESS ON FILE
WILLIAMS, ANGELA                       ADDRESS ON FILE
WILLIAMS, ANNA                         ADDRESS ON FILE
WILLIAMS, ANTAUN                       ADDRESS ON FILE
WILLIAMS, ANTHONY                      ADDRESS ON FILE
WILLIAMS, ANTHONY                      ADDRESS ON FILE
WILLIAMS, ANTHONY                      ADDRESS ON FILE
WILLIAMS, ANTHONY                      ADDRESS ON FILE
WILLIAMS, ANTHONY                      ADDRESS ON FILE
WILLIAMS, APRIL                        ADDRESS ON FILE
WILLIAMS, ARMANI R                     ADDRESS ON FILE
WILLIAMS, ARTHUR                       ADDRESS ON FILE
WILLIAMS, ARTICE                       ADDRESS ON FILE
WILLIAMS, AUBREY                       ADDRESS ON FILE
WILLIAMS, AUBREY                       ADDRESS ON FILE
WILLIAMS, AVIS                         ADDRESS ON FILE
WILLIAMS, BEAMON                       ADDRESS ON FILE
WILLIAMS, BEAU                         ADDRESS ON FILE
WILLIAMS, BEMOTIS                      ADDRESS ON FILE
WILLIAMS, BERNARD                      ADDRESS ON FILE
WILLIAMS, BERNARD                      ADDRESS ON FILE
WILLIAMS, BERNARD                      ADDRESS ON FILE
WILLIAMS, BILLIE                       ADDRESS ON FILE
WILLIAMS, BILLY                        ADDRESS ON FILE
WILLIAMS, BILLY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 2079 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2088 of 2156

Claim Name                          Address Information
WILLIAMS, BOBBY                     ADDRESS ON FILE
WILLIAMS, BRADFORD                  ADDRESS ON FILE
WILLIAMS, BRANDON                   ADDRESS ON FILE
WILLIAMS, BRETT                     ADDRESS ON FILE
WILLIAMS, BRIAN                     ADDRESS ON FILE
WILLIAMS, BRIAN                     ADDRESS ON FILE
WILLIAMS, BRIAN                     ADDRESS ON FILE
WILLIAMS, BRIANNA                   ADDRESS ON FILE
WILLIAMS, BRUCE                     ADDRESS ON FILE
WILLIAMS, BRUCE                     ADDRESS ON FILE
WILLIAMS, BRYANT                    ADDRESS ON FILE
WILLIAMS, BYRON                     ADDRESS ON FILE
WILLIAMS, CALVIN                    ADDRESS ON FILE
WILLIAMS, CAMERON                   ADDRESS ON FILE
WILLIAMS, CAMILLE                   ADDRESS ON FILE
WILLIAMS, CARINTAY                  ADDRESS ON FILE
WILLIAMS, CARL                      ADDRESS ON FILE
WILLIAMS, CAROLINE                  ADDRESS ON FILE
WILLIAMS, CASSANDRA                 ADDRESS ON FILE
WILLIAMS, CHARLES                   ADDRESS ON FILE
WILLIAMS, CHARLES                   ADDRESS ON FILE
WILLIAMS, CHELSEA                   ADDRESS ON FILE
WILLIAMS, CHESTER                   ADDRESS ON FILE
WILLIAMS, CHRIS                     ADDRESS ON FILE
WILLIAMS, CHRISTOPHER               ADDRESS ON FILE
WILLIAMS, CHRISTOPHER               ADDRESS ON FILE
WILLIAMS, CHRISTOPHER               ADDRESS ON FILE
WILLIAMS, CHRISTOPHER               ADDRESS ON FILE
WILLIAMS, CHRISTOPHER J             ADDRESS ON FILE
WILLIAMS, CLARIS                    ADDRESS ON FILE
WILLIAMS, CLAY                      ADDRESS ON FILE
WILLIAMS, CLEVE                     ADDRESS ON FILE
WILLIAMS, CLIFTON                   ADDRESS ON FILE
WILLIAMS, COREY                     ADDRESS ON FILE
WILLIAMS, CORY                      ADDRESS ON FILE
WILLIAMS, CORY                      ADDRESS ON FILE
WILLIAMS, CRAIG                     ADDRESS ON FILE
WILLIAMS, CURTIS                    ADDRESS ON FILE
WILLIAMS, CURTIS                    ADDRESS ON FILE
WILLIAMS, CYNTRALL                  ADDRESS ON FILE
WILLIAMS, CYPRIAN                   ADDRESS ON FILE
WILLIAMS, DALE                      ADDRESS ON FILE
WILLIAMS, DANA                      ADDRESS ON FILE
WILLIAMS, DANIEL                    ADDRESS ON FILE
WILLIAMS, DANIELLE                  ADDRESS ON FILE
WILLIAMS, DANNY                     ADDRESS ON FILE
WILLIAMS, DARIUS                    ADDRESS ON FILE
WILLIAMS, DARRELL                   ADDRESS ON FILE
WILLIAMS, DARRELL Z                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2080 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2089 of 2156

Claim Name                          Address Information
WILLIAMS, DARRIEN                   ADDRESS ON FILE
WILLIAMS, DARRYL                    ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DAVID                     ADDRESS ON FILE
WILLIAMS, DEALTO                    ADDRESS ON FILE
WILLIAMS, DEANTHONY                 ADDRESS ON FILE
WILLIAMS, DECARLO                   ADDRESS ON FILE
WILLIAMS, DEIONTE                   ADDRESS ON FILE
WILLIAMS, DEMETRIUS                 ADDRESS ON FILE
WILLIAMS, DENISE                    ADDRESS ON FILE
WILLIAMS, DENNIS                    ADDRESS ON FILE
WILLIAMS, DEON                      ADDRESS ON FILE
WILLIAMS, DEONTAI                   ADDRESS ON FILE
WILLIAMS, DEONTE                    ADDRESS ON FILE
WILLIAMS, DEREK                     ADDRESS ON FILE
WILLIAMS, DERREK                    ADDRESS ON FILE
WILLIAMS, DERRICK                   ADDRESS ON FILE
WILLIAMS, DERRICK                   ADDRESS ON FILE
WILLIAMS, DESHAWN                   ADDRESS ON FILE
WILLIAMS, DESMOND                   ADDRESS ON FILE
WILLIAMS, DESTINEY                  ADDRESS ON FILE
WILLIAMS, DEWAYNE                   ADDRESS ON FILE
WILLIAMS, DEWAYNE                   ADDRESS ON FILE
WILLIAMS, DOMONIQUE                 ADDRESS ON FILE
WILLIAMS, DONALD                    ADDRESS ON FILE
WILLIAMS, DONALD                    ADDRESS ON FILE
WILLIAMS, DONALD                    ADDRESS ON FILE
WILLIAMS, DONALD                    ADDRESS ON FILE
WILLIAMS, DONALD A                  ADDRESS ON FILE
WILLIAMS, DONNIE                    ADDRESS ON FILE
WILLIAMS, DONNIE                    ADDRESS ON FILE
WILLIAMS, DOUGLAS                   ADDRESS ON FILE
WILLIAMS, DOUGLAS                   ADDRESS ON FILE
WILLIAMS, DOUGLAS                   ADDRESS ON FILE
WILLIAMS, DREW                      ADDRESS ON FILE
WILLIAMS, DUANE                     ADDRESS ON FILE
WILLIAMS, DYLAN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2081 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2090 of 2156

Claim Name                          Address Information
WILLIAMS, EADDY                     ADDRESS ON FILE
WILLIAMS, EARL                      ADDRESS ON FILE
WILLIAMS, ED                        ADDRESS ON FILE
WILLIAMS, EDDIE                     ADDRESS ON FILE
WILLIAMS, EDWARD                    ADDRESS ON FILE
WILLIAMS, EDWARD                    ADDRESS ON FILE
WILLIAMS, EDWARD                    ADDRESS ON FILE
WILLIAMS, EDWIN                     ADDRESS ON FILE
WILLIAMS, EDWIN                     ADDRESS ON FILE
WILLIAMS, ELIJAH                    ADDRESS ON FILE
WILLIAMS, ELRIC                     ADDRESS ON FILE
WILLIAMS, EMILY                     ADDRESS ON FILE
WILLIAMS, EMMANUEL                  ADDRESS ON FILE
WILLIAMS, ERIC                      ADDRESS ON FILE
WILLIAMS, ERIC                      ADDRESS ON FILE
WILLIAMS, ERIK                      ADDRESS ON FILE
WILLIAMS, ERVIN                     ADDRESS ON FILE
WILLIAMS, ERYN                      ADDRESS ON FILE
WILLIAMS, EUGENE                    ADDRESS ON FILE
WILLIAMS, EVERETT                   ADDRESS ON FILE
WILLIAMS, FAMOUS                    ADDRESS ON FILE
WILLIAMS, FRED                      ADDRESS ON FILE
WILLIAMS, FREDERICK                 ADDRESS ON FILE
WILLIAMS, GABRIEL                   ADDRESS ON FILE
WILLIAMS, GABRIEL                   ADDRESS ON FILE
WILLIAMS, GABRIEL                   ADDRESS ON FILE
WILLIAMS, GARRICK                   ADDRESS ON FILE
WILLIAMS, GEOFFREY                  ADDRESS ON FILE
WILLIAMS, GEORGE                    ADDRESS ON FILE
WILLIAMS, GEORGE                    ADDRESS ON FILE
WILLIAMS, GLORIA & GERALD           ADDRESS ON FILE
WILLIAMS, GRANDER                   ADDRESS ON FILE
WILLIAMS, GREGG                     ADDRESS ON FILE
WILLIAMS, HARRY                     ADDRESS ON FILE
WILLIAMS, HARRY                     ADDRESS ON FILE
WILLIAMS, HENRY                     ADDRESS ON FILE
WILLIAMS, HENRY                     ADDRESS ON FILE
WILLIAMS, HILDRED                   ADDRESS ON FILE
WILLIAMS, HUNTER                    ADDRESS ON FILE
WILLIAMS, IAN                       ADDRESS ON FILE
WILLIAMS, INDIA                     ADDRESS ON FILE
WILLIAMS, ISSAC                     ADDRESS ON FILE
WILLIAMS, JACOREY                   ADDRESS ON FILE
WILLIAMS, JAMAL                     ADDRESS ON FILE
WILLIAMS, JAMES                     ADDRESS ON FILE
WILLIAMS, JAMES                     ADDRESS ON FILE
WILLIAMS, JAMES                     ADDRESS ON FILE
WILLIAMS, JAMES                     ADDRESS ON FILE
WILLIAMS, JAMES                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2082 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 2091 of 2156

Claim Name                           Address Information
WILLIAMS, JAMES                      ADDRESS ON FILE
WILLIAMS, JAMES                      ADDRESS ON FILE
WILLIAMS, JAMES                      ADDRESS ON FILE
WILLIAMS, JAMES                      ADDRESS ON FILE
WILLIAMS, JARMON                     ADDRESS ON FILE
WILLIAMS, JARVIS                     ADDRESS ON FILE
WILLIAMS, JASON                      ADDRESS ON FILE
WILLIAMS, JAY                        ADDRESS ON FILE
WILLIAMS, JAYSON                     ADDRESS ON FILE
WILLIAMS, JAZZMINE                   ADDRESS ON FILE
WILLIAMS, JEANETTE                   ADDRESS ON FILE
WILLIAMS, JEFFREY                    ADDRESS ON FILE
WILLIAMS, JENARD                     ADDRESS ON FILE
WILLIAMS, JENNIFER                   ADDRESS ON FILE
WILLIAMS, JERALD                     ADDRESS ON FILE
WILLIAMS, JEREMIAH                   ADDRESS ON FILE
WILLIAMS, JEREMY                     ADDRESS ON FILE
WILLIAMS, JEREMY                     ADDRESS ON FILE
WILLIAMS, JEREMY                     ADDRESS ON FILE
WILLIAMS, JERI JOYCE                 ADDRESS ON FILE
WILLIAMS, JERMAINE                   ADDRESS ON FILE
WILLIAMS, JERRY                      ADDRESS ON FILE
WILLIAMS, JERRY                      ADDRESS ON FILE
WILLIAMS, JEVON                      ADDRESS ON FILE
WILLIAMS, JMARIUS                    ADDRESS ON FILE
WILLIAMS, JOE                        ADDRESS ON FILE
WILLIAMS, JOEY                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHN                       ADDRESS ON FILE
WILLIAMS, JOHNNIE                    ADDRESS ON FILE
WILLIAMS, JOHNNY                     ADDRESS ON FILE
WILLIAMS, JONATHAN                   ADDRESS ON FILE
WILLIAMS, JOSEPH                     ADDRESS ON FILE
WILLIAMS, JOSEPH                     ADDRESS ON FILE
WILLIAMS, JOSEPH                     ADDRESS ON FILE
WILLIAMS, JOSEPH                     ADDRESS ON FILE
WILLIAMS, JOSEPH                     ADDRESS ON FILE
WILLIAMS, JOVON                      ADDRESS ON FILE
WILLIAMS, JULIAN                     ADDRESS ON FILE
WILLIAMS, JULIUS                     ADDRESS ON FILE
WILLIAMS, JUNIOR                     ADDRESS ON FILE
WILLIAMS, JUSTIN                     ADDRESS ON FILE
WILLIAMS, JUSTIN                     ADDRESS ON FILE
WILLIAMS, JUSTIN                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 2083 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                      Page 2092 of 2156

Claim Name                           Address Information
WILLIAMS, JUSTIN T                   ADDRESS ON FILE
WILLIAMS, KAHLIL                     ADDRESS ON FILE
WILLIAMS, KAREN                      ADDRESS ON FILE
WILLIAMS, KAWANIE                    ADDRESS ON FILE
WILLIAMS, KEITH                      ADDRESS ON FILE
WILLIAMS, KEITH                      ADDRESS ON FILE
WILLIAMS, KEITH                      ADDRESS ON FILE
WILLIAMS, KEITH                      ADDRESS ON FILE
WILLIAMS, KEITH WENDELL              ADDRESS ON FILE
WILLIAMS, KELVIN                     ADDRESS ON FILE
WILLIAMS, KENDARIUS                  ADDRESS ON FILE
WILLIAMS, KENNETH                    ADDRESS ON FILE
WILLIAMS, KENNETH                    ADDRESS ON FILE
WILLIAMS, KENNETH                    ADDRESS ON FILE
WILLIAMS, KENNETH                    ADDRESS ON FILE
WILLIAMS, KENNETH                    ADDRESS ON FILE
WILLIAMS, KENNETH                    ADDRESS ON FILE
WILLIAMS, KENNETH B                  ADDRESS ON FILE
WILLIAMS, KENTE                      ADDRESS ON FILE
WILLIAMS, KEVIN                      ADDRESS ON FILE
WILLIAMS, KEVIN                      ADDRESS ON FILE
WILLIAMS, KEVIN                      ADDRESS ON FILE
WILLIAMS, KEVIN R                    ADDRESS ON FILE
WILLIAMS, KOJUANA L                  ADDRESS ON FILE
WILLIAMS, KRISTOPHER                 ADDRESS ON FILE
WILLIAMS, KYLE                       ADDRESS ON FILE
WILLIAMS, LAKESHA                    ADDRESS ON FILE
WILLIAMS, LAKIMBRA                   ADDRESS ON FILE
WILLIAMS, LARRY                      ADDRESS ON FILE
WILLIAMS, LARRY                      ADDRESS ON FILE
WILLIAMS, LARRY                      ADDRESS ON FILE
WILLIAMS, LATOURRA                   ADDRESS ON FILE
WILLIAMS, LAWRENCE                   ADDRESS ON FILE
WILLIAMS, LAWRENCE                   ADDRESS ON FILE
WILLIAMS, LAWRENCE R                 ADDRESS ON FILE
WILLIAMS, LEE                        ADDRESS ON FILE
WILLIAMS, LEONARD                    ADDRESS ON FILE
WILLIAMS, LEROY                      ADDRESS ON FILE
WILLIAMS, LEVERN                     ADDRESS ON FILE
WILLIAMS, LEWIS                      ADDRESS ON FILE
WILLIAMS, LEWIS J                    ADDRESS ON FILE
WILLIAMS, LISA                       ADDRESS ON FILE
WILLIAMS, LURIE                      ADDRESS ON FILE
WILLIAMS, MACK                       ADDRESS ON FILE
WILLIAMS, MAKAYLA                    ADDRESS ON FILE
WILLIAMS, MALIK                      ADDRESS ON FILE
WILLIAMS, MARC                       ADDRESS ON FILE
WILLIAMS, MARCUS                     ADDRESS ON FILE
WILLIAMS, MARCUS                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                    Page 2084 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2093 of 2156

Claim Name                          Address Information
WILLIAMS, MARIA                     ADDRESS ON FILE
WILLIAMS, MARK                      ADDRESS ON FILE
WILLIAMS, MARK                      ADDRESS ON FILE
WILLIAMS, MARK                      ADDRESS ON FILE
WILLIAMS, MARK R                    ADDRESS ON FILE
WILLIAMS, MARKIETH                  ADDRESS ON FILE
WILLIAMS, MARKUS                    ADDRESS ON FILE
WILLIAMS, MARTA                     ADDRESS ON FILE
WILLIAMS, MARTIN                    ADDRESS ON FILE
WILLIAMS, MARTY                     ADDRESS ON FILE
WILLIAMS, MARVIN                    ADDRESS ON FILE
WILLIAMS, MARVIN                    ADDRESS ON FILE
WILLIAMS, MAURICE                   ADDRESS ON FILE
WILLIAMS, MAXIMILLION               ADDRESS ON FILE
WILLIAMS, MELISSA                   ADDRESS ON FILE
WILLIAMS, MELISSA-ROSE              ADDRESS ON FILE
WILLIAMS, MELVIN                    ADDRESS ON FILE
WILLIAMS, MELVIN                    ADDRESS ON FILE
WILLIAMS, MICAH                     ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MICHAEL                   ADDRESS ON FILE
WILLIAMS, MIKE                      ADDRESS ON FILE
WILLIAMS, MILLARD                   ADDRESS ON FILE
WILLIAMS, NAKADRICK                 ADDRESS ON FILE
WILLIAMS, NATALIA                   ADDRESS ON FILE
WILLIAMS, NATALIE                   ADDRESS ON FILE
WILLIAMS, NICHOLAS                  ADDRESS ON FILE
WILLIAMS, NICKOY                    ADDRESS ON FILE
WILLIAMS, NORDAME                   ADDRESS ON FILE
WILLIAMS, OLIVER                    ADDRESS ON FILE
WILLIAMS, OLIVER                    ADDRESS ON FILE
WILLIAMS, OLIVER                    ADDRESS ON FILE
WILLIAMS, PATRICK                   ADDRESS ON FILE
WILLIAMS, PATRICK                   ADDRESS ON FILE
WILLIAMS, PAUL                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2085 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2094 of 2156

Claim Name                          Address Information
WILLIAMS, PHILLIP                   ADDRESS ON FILE
WILLIAMS, QUARREN                   ADDRESS ON FILE
WILLIAMS, QUINCY                    ADDRESS ON FILE
WILLIAMS, RAMONA                    ADDRESS ON FILE
WILLIAMS, RANDOLPH                  ADDRESS ON FILE
WILLIAMS, RANDY                     ADDRESS ON FILE
WILLIAMS, RANDY                     ADDRESS ON FILE
WILLIAMS, RANDY                     ADDRESS ON FILE
WILLIAMS, RAY                       ADDRESS ON FILE
WILLIAMS, REGINALD                  ADDRESS ON FILE
WILLIAMS, RICARDO                   ADDRESS ON FILE
WILLIAMS, RICHARD                   ADDRESS ON FILE
WILLIAMS, RICHARD                   ADDRESS ON FILE
WILLIAMS, RICHARD                   ADDRESS ON FILE
WILLIAMS, RICHARD                   ADDRESS ON FILE
WILLIAMS, RICHARD                   ADDRESS ON FILE
WILLIAMS, RICHARD L                 ADDRESS ON FILE
WILLIAMS, RICKEY                    ADDRESS ON FILE
WILLIAMS, RICKY                     ADDRESS ON FILE
WILLIAMS, ROBERT                    ADDRESS ON FILE
WILLIAMS, ROBERT                    ADDRESS ON FILE
WILLIAMS, RODERICK                  ADDRESS ON FILE
WILLIAMS, RODERICK                  ADDRESS ON FILE
WILLIAMS, RODERICK                  ADDRESS ON FILE
WILLIAMS, RODERICK                  ADDRESS ON FILE
WILLIAMS, RODNEY                    ADDRESS ON FILE
WILLIAMS, RODNEY E                  ADDRESS ON FILE
WILLIAMS, ROEDELL                   ADDRESS ON FILE
WILLIAMS, ROGER                     ADDRESS ON FILE
WILLIAMS, ROGER                     ADDRESS ON FILE
WILLIAMS, RONALD                    ADDRESS ON FILE
WILLIAMS, RONALDA                   ADDRESS ON FILE
WILLIAMS, RONNIE                    ADDRESS ON FILE
WILLIAMS, ROSHAWN                   ADDRESS ON FILE
WILLIAMS, ROWDY                     ADDRESS ON FILE
WILLIAMS, ROWDY                     ADDRESS ON FILE
WILLIAMS, ROY                       ADDRESS ON FILE
WILLIAMS, ROZETTA                   ADDRESS ON FILE
WILLIAMS, RYAN                      ADDRESS ON FILE
WILLIAMS, RYAN                      ADDRESS ON FILE
WILLIAMS, RYAN                      ADDRESS ON FILE
WILLIAMS, SABA                      ADDRESS ON FILE
WILLIAMS, SANDRA                    ADDRESS ON FILE
WILLIAMS, SAVANNAH                  ADDRESS ON FILE
WILLIAMS, SCOTT                     ADDRESS ON FILE
WILLIAMS, SEAN                      ADDRESS ON FILE
WILLIAMS, SEAN                      ADDRESS ON FILE
WILLIAMS, SEAN T                    ADDRESS ON FILE
WILLIAMS, SHANNON                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2086 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                     Page 2095 of 2156

Claim Name                          Address Information
WILLIAMS, SHAQUILLE                 ADDRESS ON FILE
WILLIAMS, SHARON                    ADDRESS ON FILE
WILLIAMS, SHATARA                   ADDRESS ON FILE
WILLIAMS, SHAUN                     ADDRESS ON FILE
WILLIAMS, SHAUN                     ADDRESS ON FILE
WILLIAMS, SHAUN C                   ADDRESS ON FILE
WILLIAMS, SHAWN                     ADDRESS ON FILE
WILLIAMS, SHAWNNON                  ADDRESS ON FILE
WILLIAMS, SHAY                      ADDRESS ON FILE
WILLIAMS, SIMON H                   ADDRESS ON FILE
WILLIAMS, SIRHAVEN                  ADDRESS ON FILE
WILLIAMS, SIRHAVEN                  ADDRESS ON FILE
WILLIAMS, STEPHEN                   ADDRESS ON FILE
WILLIAMS, STEPHEN                   ADDRESS ON FILE
WILLIAMS, STEPHENIE                 ADDRESS ON FILE
WILLIAMS, STEVE                     ADDRESS ON FILE
WILLIAMS, STEVEN                    ADDRESS ON FILE
WILLIAMS, TARON                     ADDRESS ON FILE
WILLIAMS, TASHA                     ADDRESS ON FILE
WILLIAMS, TED                       ADDRESS ON FILE
WILLIAMS, TERRELL                   ADDRESS ON FILE
WILLIAMS, TERRELL                   ADDRESS ON FILE
WILLIAMS, TERRY                     ADDRESS ON FILE
WILLIAMS, TERRY                     ADDRESS ON FILE
WILLIAMS, THEOTIS                   ADDRESS ON FILE
WILLIAMS, THOMAS                    ADDRESS ON FILE
WILLIAMS, THOMAS                    ADDRESS ON FILE
WILLIAMS, TIARA                     ADDRESS ON FILE
WILLIAMS, TIMOTHY                   ADDRESS ON FILE
WILLIAMS, TODD                      ADDRESS ON FILE
WILLIAMS, TODD                      ADDRESS ON FILE
WILLIAMS, TOMMY                     ADDRESS ON FILE
WILLIAMS, TOMMY                     ADDRESS ON FILE
WILLIAMS, TONY                      ADDRESS ON FILE
WILLIAMS, TRAVIS                    ADDRESS ON FILE
WILLIAMS, TRAVIS                    ADDRESS ON FILE
WILLIAMS, TRENTON                   ADDRESS ON FILE
WILLIAMS, TRISTEN                   ADDRESS ON FILE
WILLIAMS, TROY                      ADDRESS ON FILE
WILLIAMS, TYRONE                    ADDRESS ON FILE
WILLIAMS, TYRONE                    ADDRESS ON FILE
WILLIAMS, TYVONNE                   ADDRESS ON FILE
WILLIAMS, VERNON                    ADDRESS ON FILE
WILLIAMS, VICKY                     ADDRESS ON FILE
WILLIAMS, VICTOR                    ADDRESS ON FILE
WILLIAMS, VICTOR                    ADDRESS ON FILE
WILLIAMS, VINCANT                   ADDRESS ON FILE
WILLIAMS, VIVIAN                    ADDRESS ON FILE
WILLIAMS, WILLIAM                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                   Page 2087 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 2096 of 2156

Claim Name                             Address Information
WILLIAMS, WILLIE                       ADDRESS ON FILE
WILLIAMS, WILLIE                       ADDRESS ON FILE
WILLIAMS, WILLIE                       ADDRESS ON FILE
WILLIAMS, WILLIE L                     ADDRESS ON FILE
WILLIAMS, WRIGHT                       ADDRESS ON FILE
WILLIAMS-HAYWARD PROTECTIVE COATINGS   7425 W 59TH ST SUMMIT IL 60501
INC
WILLIAMS-LANE, CLOTINE                 ADDRESS ON FILE
WILLIAMS-NATION, TARESA                ADDRESS ON FILE
WILLIAMSON COUNTY CIRCUIT CLERK        TRAFFIC DIVISION COURTHOUSE 200 W JEFFERSON ST SUITE 100 MARION IL 62959
WILLIAMSON EXPRESS LLC                 OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WILLIAMSON III, CHARLES                ADDRESS ON FILE
WILLIAMSON INDUSTRIES INC              DBA SUPPLY CHAIN SOLUTIONS 501 NORTH 5TH STREET MONROE LA 71201
WILLIAMSON UNITED LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WILLIAMSON, BRETT                      ADDRESS ON FILE
WILLIAMSON, BRUCE                      ADDRESS ON FILE
WILLIAMSON, CHARLES                    ADDRESS ON FILE
WILLIAMSON, COREY                      ADDRESS ON FILE
WILLIAMSON, CORTNEY                    ADDRESS ON FILE
WILLIAMSON, CURTIS                     ADDRESS ON FILE
WILLIAMSON, DANIEL                     ADDRESS ON FILE
WILLIAMSON, DANNY                      ADDRESS ON FILE
WILLIAMSON, DAVID                      ADDRESS ON FILE
WILLIAMSON, DAVID                      ADDRESS ON FILE
WILLIAMSON, DONALD                     ADDRESS ON FILE
WILLIAMSON, ERIC                       ADDRESS ON FILE
WILLIAMSON, GEORGE                     ADDRESS ON FILE
WILLIAMSON, JAMEKA                     ADDRESS ON FILE
WILLIAMSON, JARMARCUS                  ADDRESS ON FILE
WILLIAMSON, KENYATTA                   ADDRESS ON FILE
WILLIAMSON, MARK                       ADDRESS ON FILE
WILLIAMSON, MARY                       ADDRESS ON FILE
WILLIAMSON, MICHAEL                    ADDRESS ON FILE
WILLIAMSON, NATHANIEL                  ADDRESS ON FILE
WILLIAMSON, PHOENIX                    ADDRESS ON FILE
WILLIAMSON, QUENDARIAN                 ADDRESS ON FILE
WILLIAMSON, SHAVEEN                    ADDRESS ON FILE
WILLIAMSON, STEPHEN E                  ADDRESS ON FILE
WILLIAMSON, TAMMY                      ADDRESS ON FILE
WILLIAMSON, TEBAREAN                   ADDRESS ON FILE
WILLIAMSON, TERRY                      ADDRESS ON FILE
WILLIAMSON, TYLER                      ADDRESS ON FILE
WILLIAMSON, WESLEY                     ADDRESS ON FILE
WILLIAMSON, WILLIAM                    ADDRESS ON FILE
WILLIAMSONS AC CONTRACTING LP          8200 WHITE SETTLEMENT ROAD WHITE SETTLEMENT TX 76108
WILLIBY, MICHAEL L                     ADDRESS ON FILE
WILLIE B EILAND                        ADDRESS ON FILE
WILLIE C LAWSON                        ADDRESS ON FILE
WILLIE D BARNES                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2088 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2097 of 2156

Claim Name                           Address Information
WILLIE J ROBERSON                    ADDRESS ON FILE
WILLIE L URSERY                      ADDRESS ON FILE
WILLIE LEE LEACH                     ADDRESS ON FILE
WILLIE TOMASIK                       ADDRESS ON FILE
WILLIFORD, DAVID                     ADDRESS ON FILE
WILLIFORD, DEREK W                   ADDRESS ON FILE
WILLING TRUCKING INC.                19 WALKER ST EVANSVILLE WI 53536
WILLINGER, JAMES                     ADDRESS ON FILE
WILLINGHAM, DAVID                    ADDRESS ON FILE
WILLINGHAM, JEFFREY                  ADDRESS ON FILE
WILLINGHAM, SHELLY                   ADDRESS ON FILE
WILLINGHAM, TONY                     ADDRESS ON FILE
WILLIS (BERMUDA) LIMITED             WELLESLEY HOUSE 2ND FLOOR 90 PITTS BAY ROAD PEMBROKE 1995 BERMUDA
WILLIS ELECTRIC                      3116 CENTER ST. STE. E LAKE CHARLES LA 70601
WILLIS JR, STEVIE                    ADDRESS ON FILE
WILLIS JR, STEVIE                    ADDRESS ON FILE
WILLIS MECHANICAL                    1850 BEAVER RIDGE CIRCLE, SUITE E NORCROSS GA 30071
WILLIS TOWERS WATSON                 800 NORTH GLEBE ROAD, FLOOR 10 ARLINGTON VA 22203
WILLIS TOWERS WATSON                 C/O RSUI 945 EAST PACES FERRY ROAD NE SUITE 1800 ATLANTA GA 30326
WILLIS TOWERS WATSON MIDWEST INC     32059 COLLECTION CENTER DRIVE CHICAGO IL 60693
WILLIS TOWERS WATSON MIDWEST INC     5700 WEST 112TH STREET SUITE 100 OVERLAND PARK KS 66211
WILLIS TOWERS WATSON US LLC          LOCKBOX 741881 PO BOX 741881 ATLANTA GA 30374
WILLIS TOWERS WATSON US LLC          LOCKBOX 28025, 28025 NETWORK PLACE CHICAGO IL 60673
WILLIS TOWERS WATSON US LLC          1079 SOLUTIONS CENTER CHICAGO IL 60677
WILLIS, ANTHONY                      ADDRESS ON FILE
WILLIS, BERDELL                      ADDRESS ON FILE
WILLIS, BRIAN                        ADDRESS ON FILE
WILLIS, CAROLYN                      ADDRESS ON FILE
WILLIS, CASSANDRAE                   ADDRESS ON FILE
WILLIS, CHEYENNE                     ADDRESS ON FILE
WILLIS, CHRIS                        ADDRESS ON FILE
WILLIS, CHRISTOPHER                  ADDRESS ON FILE
WILLIS, CURTIS                       ADDRESS ON FILE
WILLIS, DANIEL L                     ADDRESS ON FILE
WILLIS, DANNY                        ADDRESS ON FILE
WILLIS, GEORGE                       ADDRESS ON FILE
WILLIS, GRACE                        ADDRESS ON FILE
WILLIS, HELEN                        ADDRESS ON FILE
WILLIS, JAMES                        ADDRESS ON FILE
WILLIS, JEHAN                        ADDRESS ON FILE
WILLIS, JOSEPH                       ADDRESS ON FILE
WILLIS, KENNETH                      ADDRESS ON FILE
WILLIS, LARRY E                      ADDRESS ON FILE
WILLIS, MATHEW                       ADDRESS ON FILE
WILLIS, RODNEY                       ADDRESS ON FILE
WILLIS, SHELTON                      ADDRESS ON FILE
WILLIS, TRACY                        ADDRESS ON FILE
WILLIS, TREVALE                      ADDRESS ON FILE
WILLIS, WILLIAM                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2089 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 2098 of 2156

Claim Name                             Address Information
WILLIS, WILLIAM                        ADDRESS ON FILE
WILLIS-AMRHEIN, PATRICIA               ADDRESS ON FILE
WILLKOM, THOMAS JOHN II                ADDRESS ON FILE
WILLMAN, JOHN                          ADDRESS ON FILE
WILLMON, HAROLD                        ADDRESS ON FILE
WILLMORE TRUCKING INC                  OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
WILLMX TRANSPORT LLC                   OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
WILLNER, FREDERICK                     ADDRESS ON FILE
WILLOUGHBY, KENNETH R                  ADDRESS ON FILE
WILLOW CREEK FARMS                     10270 RAPIDS RD. CLARENCE CENTER NY 14032
WILLOW PINES RETIREMENT COMMUNITY      17901 CROSS RD. TOWNSHIP OF NORTHVILLE MI 48168
WILLOW RAILYARD                        7600 SANTA FE DR HODGKINS IL 60525
WILLOWBROOK MEDICAL CENTER, LTD.       535 PLAINFIELD RD STE C WILLOWBROOK IL 60527
WILLOWS TRAVEL PLAZA LLC               PO BOX 67 WILLIAMS CA 95987
WILLS TRUCKING LLC                     OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WILLS, CAROL                           ADDRESS ON FILE
WILLS, CHRISTIAN                       ADDRESS ON FILE
WILLS, DAVID                           ADDRESS ON FILE
WILLS, JEFFERY                         ADDRESS ON FILE
WILLS, SAMUEL                          ADDRESS ON FILE
WILLSEY, PHILIP                        ADDRESS ON FILE
WILLY BS TRUCKING LLC                  OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
WILLYARD, STEVEN                       ADDRESS ON FILE
WILLYGOAT.COM                          ATTN: LEAH ANDREA IPIL 861A BUTLER DR MOBILE AL 36693
WILLYMAR CORPORATION                   8779 DARCY RD DISTRICT HEIGHTS MD 20747
WILLYN HERNANDEZ TRUCKING LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WILLYS PRECISION TOWING                100 SOUTH STREET JOHNSTON RI 02919
WILLYS PRECISION TOWING                PO BOX 765 RED BLUFF CA 96080
WILMAR CORP                            ATTN: BOB SACCO PO BOX 88259 TUKWILA WA 98138
WILMAR CORP                            PO BOX 88259 TUKWILA WA 98138
WILMER, CHRISTOPHER                    ADDRESS ON FILE
WILMINGTON TRUST COMPANY               FEES AND PAYMENTS UNIT, PO BOX 8955 WILMINGTON DE 19899
WILMORE, ALLEN                         ADDRESS ON FILE
WILMORE, DARRY                         ADDRESS ON FILE
WILMOT, GRANT                          ADDRESS ON FILE
WILMOTH ENTERPRISES INC.               PO BOX 391 MOUNT VERNON MO 65712
WILMOTH, SAMUEL                        ADDRESS ON FILE
WILRICK JOSEPH                         ADDRESS ON FILE
WILRICK, JOSEPH                        ADDRESS ON FILE
WILSON AUTO COLLISION, INC.- NIAGARA   750 HANSEN RD GREEN BAY WI 54304
WILSON AUTO COLLISION, INC.- NIAGARA   2160 AMERICAN DR. NEENAH WI 54956
WILSON BRYANT AIR CONDITIONING         PO BOX 934 MACON GA 31202
WILSON CARRIERS LLC                    OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WILSON ELECTRIC SERVICES CORP          600 E GILBERT DR TEMPE AZ 85281
WILSON ELSER MOSKOWITZ                 EDELMAN AND DICKER LLP 150 E 42ND ST NEW YORK NY 10017
WILSON F TRUCKING                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
WILSON HAULING, INC.                   PO BOX 28 ROSS OH 45061
WILSON III, AHART                      ADDRESS ON FILE
WILSON JR, CARLOS A                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                Page 2090 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 2099 of 2156

Claim Name                              Address Information
WILSON JR, CRAIG                        ADDRESS ON FILE
WILSON LANGUAGE TRAINING                ATTN: LUKE RUSSELL 430 MAIN ST OXFORD MA 01540
WILSON M MEIER                          ADDRESS ON FILE
WILSON RADIATOR SERVICE                 1612 LINCOLN AT W 17 VANCOUVER WA 98660
WILSON TRAILER SALES AND SERVICE, INC   PO BOX 3637 WILSON NC 27895
WILSON TRUCKING                         OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD SUITE 230 MORTON GROVE IL 60053
WILSON TRUCKING CORPORATION             PO BOX 200 FISHERSVILLE VA 22939
WILSON TRUCKING LLC                     PO BOX 4185 GYPSUM CO 81637
WILSON, ALBERT                          ADDRESS ON FILE
WILSON, ALEXANDER                       ADDRESS ON FILE
WILSON, ALEXANDER                       ADDRESS ON FILE
WILSON, ALFRED                          ADDRESS ON FILE
WILSON, AMANDA                          ADDRESS ON FILE
WILSON, ANDRE                           ADDRESS ON FILE
WILSON, ANTHONY                         ADDRESS ON FILE
WILSON, ANTONIO                         ADDRESS ON FILE
WILSON, ANTONIO                         ADDRESS ON FILE
WILSON, ARTHUR G                        ADDRESS ON FILE
WILSON, BABATUNDE                       ADDRESS ON FILE
WILSON, BAILEY                          ADDRESS ON FILE
WILSON, BARTH                           ADDRESS ON FILE
WILSON, BENNIE                          ADDRESS ON FILE
WILSON, BENNIE                          ADDRESS ON FILE
WILSON, BILLY                           ADDRESS ON FILE
WILSON, BRAD                            ADDRESS ON FILE
WILSON, BRANDON C                       ADDRESS ON FILE
WILSON, BRIAN                           ADDRESS ON FILE
WILSON, BRIAN                           ADDRESS ON FILE
WILSON, BRIAN                           ADDRESS ON FILE
WILSON, BRYCE                           ADDRESS ON FILE
WILSON, CALVIN                          ADDRESS ON FILE
WILSON, CEDRIC                          ADDRESS ON FILE
WILSON, CHAD                            ADDRESS ON FILE
WILSON, CHAUNCEY                        ADDRESS ON FILE
WILSON, CHRISTOPHER                     ADDRESS ON FILE
WILSON, COREY                           ADDRESS ON FILE
WILSON, CYNTHIA                         ADDRESS ON FILE
WILSON, DAMON                           ADDRESS ON FILE
WILSON, DANA                            ADDRESS ON FILE
WILSON, DANIEL                          ADDRESS ON FILE
WILSON, DANTHONY                        ADDRESS ON FILE
WILSON, DARRELL                         ADDRESS ON FILE
WILSON, DAVID                           ADDRESS ON FILE
WILSON, DAVID                           ADDRESS ON FILE
WILSON, DEMARCUS                        ADDRESS ON FILE
WILSON, DERRICK                         ADDRESS ON FILE
WILSON, DERRICK                         ADDRESS ON FILE
WILSON, DERRICK                         ADDRESS ON FILE
WILSON, DERRICK                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2091 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                    Page 2100 of 2156

Claim Name                         Address Information
WILSON, DOUGLAS                    ADDRESS ON FILE
WILSON, DOUGLAS                    ADDRESS ON FILE
WILSON, DREW                       ADDRESS ON FILE
WILSON, DREW                       ADDRESS ON FILE
WILSON, EARL                       ADDRESS ON FILE
WILSON, ELIJAH                     ADDRESS ON FILE
WILSON, ERIC                       ADDRESS ON FILE
WILSON, FARIN                      ADDRESS ON FILE
WILSON, FARRELL                    ADDRESS ON FILE
WILSON, FERDIE                     ADDRESS ON FILE
WILSON, FREDDIE                    ADDRESS ON FILE
WILSON, FREDRICK                   ADDRESS ON FILE
WILSON, GARY                       ADDRESS ON FILE
WILSON, GERALD                     ADDRESS ON FILE
WILSON, GERALD                     ADDRESS ON FILE
WILSON, GLENN                      ADDRESS ON FILE
WILSON, GREGORY                    ADDRESS ON FILE
WILSON, HERMAN                     ADDRESS ON FILE
WILSON, IKE                        ADDRESS ON FILE
WILSON, JAMAAL                     ADDRESS ON FILE
WILSON, JAMERSON                   ADDRESS ON FILE
WILSON, JAMES                      ADDRESS ON FILE
WILSON, JAMES                      ADDRESS ON FILE
WILSON, JAMES                      ADDRESS ON FILE
WILSON, JAMES R                    ADDRESS ON FILE
WILSON, JENNIFER                   ADDRESS ON FILE
WILSON, JENNIFER                   ADDRESS ON FILE
WILSON, JEREMY                     ADDRESS ON FILE
WILSON, JOHN                       ADDRESS ON FILE
WILSON, JONATHAN                   ADDRESS ON FILE
WILSON, JONATHAN                   ADDRESS ON FILE
WILSON, JOSHUA                     ADDRESS ON FILE
WILSON, JULIUS                     ADDRESS ON FILE
WILSON, JULIUS                     ADDRESS ON FILE
WILSON, KEIANDRE                   ADDRESS ON FILE
WILSON, KEITH                      ADDRESS ON FILE
WILSON, KESHANA                    ADDRESS ON FILE
WILSON, KEVIN                      ADDRESS ON FILE
WILSON, KEVIN                      ADDRESS ON FILE
WILSON, KRYSTAL                    ADDRESS ON FILE
WILSON, LAHTAYVIUS                 ADDRESS ON FILE
WILSON, LARRY                      ADDRESS ON FILE
WILSON, LARRY                      ADDRESS ON FILE
WILSON, LAVERN                     ADDRESS ON FILE
WILSON, LAWRENCE                   ADDRESS ON FILE
WILSON, LEON                       ADDRESS ON FILE
WILSON, LEONARD                    ADDRESS ON FILE
WILSON, LINDA                      ADDRESS ON FILE
WILSON, MARIO                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                  Page 2092 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 2101 of 2156

Claim Name                       Address Information
WILSON, MARK                     ADDRESS ON FILE
WILSON, MARVIN                   ADDRESS ON FILE
WILSON, MICHAEL                  ADDRESS ON FILE
WILSON, MICHAEL                  ADDRESS ON FILE
WILSON, MICHAEL                  ADDRESS ON FILE
WILSON, MICHELLE                 ADDRESS ON FILE
WILSON, NATHAN                   ADDRESS ON FILE
WILSON, NATHAN                   ADDRESS ON FILE
WILSON, NICHOLE                  ADDRESS ON FILE
WILSON, NIESHA                   ADDRESS ON FILE
WILSON, NORMAN                   ADDRESS ON FILE
WILSON, OTTIS                    ADDRESS ON FILE
WILSON, PATRICK                  ADDRESS ON FILE
WILSON, PAUL                     ADDRESS ON FILE
WILSON, PAULA                    ADDRESS ON FILE
WILSON, PETER                    ADDRESS ON FILE
WILSON, RALPH                    ADDRESS ON FILE
WILSON, RASHAAN                  ADDRESS ON FILE
WILSON, REUBEN                   ADDRESS ON FILE
WILSON, RICHARD                  ADDRESS ON FILE
WILSON, RICHARD                  ADDRESS ON FILE
WILSON, ROAUL                    ADDRESS ON FILE
WILSON, ROBERT                   ADDRESS ON FILE
WILSON, ROBERT                   ADDRESS ON FILE
WILSON, ROCKY                    ADDRESS ON FILE
WILSON, ROGER                    ADDRESS ON FILE
WILSON, RORY                     ADDRESS ON FILE
WILSON, ROY                      ADDRESS ON FILE
WILSON, RUDELL                   ADDRESS ON FILE
WILSON, RYNE                     ADDRESS ON FILE
WILSON, SADIE                    ADDRESS ON FILE
WILSON, SALIH                    ADDRESS ON FILE
WILSON, SAMUEL                   ADDRESS ON FILE
WILSON, SCOTT                    ADDRESS ON FILE
WILSON, SCOTT                    ADDRESS ON FILE
WILSON, SCOTTIE                  ADDRESS ON FILE
WILSON, SELII                    ADDRESS ON FILE
WILSON, SHARON                   ADDRESS ON FILE
WILSON, SHAWN                    ADDRESS ON FILE
WILSON, STANLEY                  ADDRESS ON FILE
WILSON, STANLEY                  ADDRESS ON FILE
WILSON, STEPHEN                  ADDRESS ON FILE
WILSON, STEPHEN                  ADDRESS ON FILE
WILSON, TEDDY R                  ADDRESS ON FILE
WILSON, TERENCE                  ADDRESS ON FILE
WILSON, TERRY L                  ADDRESS ON FILE
WILSON, THERESA                  ADDRESS ON FILE
WILSON, THOMAS                   ADDRESS ON FILE
WILSON, THOMAS                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 2093 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2102 of 2156

Claim Name                          Address Information
WILSON, TIMOTHY                     ADDRESS ON FILE
WILSON, TIMOTHY                     ADDRESS ON FILE
WILSON, TIMOTHY                     ADDRESS ON FILE
WILSON, TIMOTHY                     ADDRESS ON FILE
WILSON, TODD                        ADDRESS ON FILE
WILSON, TORIE                       ADDRESS ON FILE
WILSON, VALAUN                      ADDRESS ON FILE
WILSON, VONJAREE                    ADDRESS ON FILE
WILSON, WALEED                      ADDRESS ON FILE
WILSON, WILLIAM                     ADDRESS ON FILE
WILSON, WILLIAM                     ADDRESS ON FILE
WILSON, WILLIAM                     ADDRESS ON FILE
WILSON, WILLIAM                     ADDRESS ON FILE
WILSON, WILLIAM                     ADDRESS ON FILE
WILSON, WINSTON A                   ADDRESS ON FILE
WILSON, WINSTON A                   ADDRESS ON FILE
WILSON, ZACH                        ADDRESS ON FILE
WILSON-DAVIS & CO., INC (0283)      ATT BILL WALKER OR PROXY MGR 236 SOUTH MAIN ST SALT LAKE CITY UT 84101
WILSON-PEREZ, AARON                 ADDRESS ON FILE
WILSONLOTT TRANSPORTATION LLC       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WILSONS ELITE EXPRESS LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WILSONS ROADWAY SERVICES LLC        OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WILSONXPRESS, LLC                   OR INSIGHT TECHNOLOGY INC PO BOX 200399 DALLAS TX 75320-0399
WILSTEM RANCH                       4229 W. HIGHWAY 150 W. PAOLI IN 47454
WILTERMOOD, LYLE                    ADDRESS ON FILE
WILTY, SCOTT                        ADDRESS ON FILE
WILTZ, PAUL                         ADDRESS ON FILE
WILTZ, RODERICK                     ADDRESS ON FILE
WILVER, JACK                        ADDRESS ON FILE
WIM TRANSPORTATION LLC              OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
WIMBERLY ENTERPRISES LLC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
WIMBERLY, ALEXIS                    ADDRESS ON FILE
WIMBERLY, CHARLTON                  ADDRESS ON FILE
WIMBERLY, JAMES                     ADDRESS ON FILE
WIMBERLY, TEDDY                     ADDRESS ON FILE
WIMBISH ENTERPRISES LLC             2107 US 70 HWY E 12 GARNER NC 27529-9422
WIMBLEY, CHESTER                    ADDRESS ON FILE
WIMER, JERRY                        ADDRESS ON FILE
WIMES, LONNIE                       ADDRESS ON FILE
WIMMER, RYAN                        ADDRESS ON FILE
WIMMER, THOMAS                      ADDRESS ON FILE
WIMSATT, LOREN                      ADDRESS ON FILE
WIMSATT, LOREN                      ADDRESS ON FILE
WIMUNC, ALAN                        ADDRESS ON FILE
WIN011 EXPRESS INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WINACOTT EQUIPMENT GROUP            3002 FAITHFULL AVENUE SASKATOON SK S7K 0B1 CANADA
WINAMAC COIL SPRING                 512 N. SMITH ST. KEWANNA IN 46939
WINANS, MICHAEL                     ADDRESS ON FILE
WINBORN, BRIAN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2094 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 2103 of 2156

Claim Name                              Address Information
WINBORN, JEFF                           ADDRESS ON FILE
WINBORNE, KEVIN                         ADDRESS ON FILE
WINCEK, DOUGLAS                         ADDRESS ON FILE
WINCHESTER INTERCONNECT CM              349 LAKE RD DAYVILLE CT 06241
WINCHESTER TRUCKING AND LOGISTICS LLC   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WINCITY TRANSPORT LTD                   11 CARTESIAN GATE WINNIPEG MB R2P 1W9 CANADA
WINCO MANUFACTURING                     5516 SW 1ST LANE OCALA FL 34474
WIND RIVER ENVIRONMENTAL LLC            P.O. BOX 22074 NEW YORK NY 10087
WIND TRANSPORT INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WINDELL, JOSEPH                         ADDRESS ON FILE
WINDH, TOBIAS                           ADDRESS ON FILE
WINDH, TOBIAS                           ADDRESS ON FILE
WINDHAM PROFESSIONALS, INC.             380 MAIN STREET SALEM NH 03079
WINDHAM, CHRIS                          ADDRESS ON FILE
WINDHAM, CHRISTOPHER                    ADDRESS ON FILE
WINDHAM, DAVID                          ADDRESS ON FILE
WINDHORST, DUANE                        ADDRESS ON FILE
WINDINGSTAD, TODD                       ADDRESS ON FILE
WINDISH TRUCKING, INC.                  5610 N TOWNHOUSE RD BRIMFIELD IL 61517
WINDLE, ANGELA                          ADDRESS ON FILE
WINDOM, CAMERON                         ADDRESS ON FILE
WINDOW OF OPPORTUNITY ENTERPRISES LLC   OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WINDOW PRODUCTS DBA CASCADE WN          10507 E MONTGOMERY DR SPOKANE WA 99206
WINDS TRANSPORTATION INC                OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
WINDSOR DOOR SALES, INC.                3901 BOGAN AVE NE STE A ALBUQUERQUE NM 87109
WINDSOR FENCE COMPANY LTD.              1581 PARENT AVENUE RIVER CANARD ON N8X 4J8 CANADA
WINDSOR PLYWOOD                         4011 E FERRY SPOKANE WA 99202
WINDSOR TRANSIT INC                     OR THIRD COAST COMMERCIAL CAPITAL INC PO BOX 14910 DEPT 264 HUMBLE TX
                                        77347-4910
WINDSOR WELDING SERVICES                1695 WESTMINSTER BLVD. WINDSOR ON N8T 1X2 CANADA
WINDSOR, EVAN                           ADDRESS ON FILE
WINDSOR, JOSEPH                         ADDRESS ON FILE
WINDSOR, TODD                           ADDRESS ON FILE
WINDSTAR LINES INC                      PO BOX 7167 BUFFALO GROVE IL 60089-7167
WINDSTEAD ENTERPRISES, INC              3223 OLYMPIA DRIVE LAFAYETTE IN 47909
WINDSTREAM                              2 RIVERSIDE DRIVE CAZENOVIA NY 13035
WINDSTREAM                              C/O CMR PO BOX 60770 OKLAHOMA CITY OK 73146
WINDSTREAM                              C/O RANDALL S. FUDGE, PC PO BOX 60872 OKLAHOMA CITY OK 73146-0872
WINDSTREAM CORPORATION                  PO BOX 9001013 LOUISVILLE KY 40290
WINDSTREAM CORPORATION                  PO BOX 9001908 LOUISVILLE KY 40290
WINDSTREAM CORPORATION                  4002 RODNEY PARHAM RD LITTLE ROCK AR 72212-2442
WINDSTREAM CORPORATION                  PO BOX 660766 DALLAS TX 75266
WINDSURFING DIRECT LIMITED              598 NORRIS CT KINGSTON ON K7P 2R9 CANADA
WINDY CITY CARGO INC                    PO BOX 1160 PLAINFIELD IL 60544
WINDY CITY CARRIERS INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WINDY CITY CLEANING SOLUTIONS           2722 N NEVA AVE CHICAGO IL 60707
WINDY CITY EXPRESS FREIGHT INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
WINDY HILL FOLIAGE, INC.                P O BOX 839 MARSHFIELD WI 54449
WINE BARREL DESIGNS                     ATTN: CHRISTINE THOMAS CHRISTINE THOMAS 269 HARRISONVILLE LAKE RD PILESGROVE



Epiq Corporate Restructuring, LLC                                                               Page 2095 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2104 of 2156

Claim Name                           Address Information
WINE BARREL DESIGNS                  NJ 08098
WINE, JAMES E                        ADDRESS ON FILE
WINE, VICKIE                         ADDRESS ON FILE
WINEBERG, KEVIN                      ADDRESS ON FILE
WINEBERG, SHELDON                    ADDRESS ON FILE
WINEGAR, JEFFERY                     ADDRESS ON FILE
WINEGARDEN, GARY                     ADDRESS ON FILE
WINES, DOUGLAS                       ADDRESS ON FILE
WINFIELD UNITED                      MS 5610-C4, PO BOX 64101 SAINT PAUL MN 55164
WINFIELD, EVERETT                    ADDRESS ON FILE
WINFIELD, TYWAN                      ADDRESS ON FILE
WINFREY, TRACY                       ADDRESS ON FILE
WINFREYS LLC                         OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WING 7 TRUCKS HOUSTON                5850 SAN FELIPE SUITE 500 HOUSTON TX 77054
WING 7 TRUCKS HOUSTON                5850 SAN FELIPE ST SUITE 500 HOUSTON TX 77057
WING INFLATABLES INC                 3701 MT DIABLO BLVD STE 100 LAFAYETTE CA 94549
WING, DEREK                          ADDRESS ON FILE
WING, JEFF                           ADDRESS ON FILE
WINGARD, SKYLER                      ADDRESS ON FILE
WINGATE, ALAN                        ADDRESS ON FILE
WINGATE, CHARLES                     ADDRESS ON FILE
WINGATE, KENNETH                     ADDRESS ON FILE
WINGBERMUEHLE, PAUL                  ADDRESS ON FILE
WINGEIER, PAUL                       ADDRESS ON FILE
WINGEIER, PAUL W                     ADDRESS ON FILE
WINGEIER, STEVE                      ADDRESS ON FILE
WINGER, GERALD                       ADDRESS ON FILE
WINGER, ROBERT                       ADDRESS ON FILE
WINGERTER, MIKE                      ADDRESS ON FILE
WINGET TRUCKING LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WINGFIELD, JHONATHAN                 ADDRESS ON FILE
WINGFIELD, RYATT                     ADDRESS ON FILE
WINGLER, ANTHONY                     ADDRESS ON FILE
WINGS OF EAGLES TRANSPORT LLC        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WINGS REPAIR AND TOWNING             PO BOX 264 AVOCA IA 51521
WINGS WORLDWIDE                      210 SUMMIT AVE STE A1 MONTVALE NJ 07645
WININGS, MITCHELL                    ADDRESS ON FILE
WINIX AMERICA INC                    4224 DISTRICT BLVD VERNON CA 90058
WINK TRUCKING LLC                    OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
WINKLE, GARY                         ADDRESS ON FILE
WINKLE, WAYNE                        ADDRESS ON FILE
WINKLER, CHAD                        ADDRESS ON FILE
WINKLER, CYNTHIA L                   ADDRESS ON FILE
WINKLER, DUSTY                       ADDRESS ON FILE
WINKSTRUCKING LLC                    OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WINLAND, BRANDON                     ADDRESS ON FILE
WINMUIR INC.                         110 EQUESTRIAN DRIVE DALTON PA 18414
WINN CALBERT, KEYAN                  ADDRESS ON FILE
WINN STREET SERVICE                  25 WALL ST BURLINGTON MA 01803



Epiq Corporate Restructuring, LLC                                                               Page 2096 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2105 of 2156

Claim Name                            Address Information
WINNARD, LEIGH                        ADDRESS ON FILE
WINNEBAGO COUNTY TREASURER            PO BOX 1216 ROCKFORD IL 61105
WINNERS FREIGHT LLC                   OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
WINNERS TRANSPORTATION LLC            OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
WINNERS TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WINNEY, CHRISTOPHER                   ADDRESS ON FILE
WINNEY, JEFF                          ADDRESS ON FILE
WINNING MANAGEMENT GROUP LLC          OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
WINNINGHAM, KEVIN                     ADDRESS ON FILE
WINNINGHAM, RICHARD D                 ADDRESS ON FILE
WINNINGS, JEREMY                      ADDRESS ON FILE
WINNIPEG FLATBEDS LTD                 1241 MOLLARD RD WEST ST PAUL MB R2P 2T6 CANADA
WINSETT, JEFFREY                      ADDRESS ON FILE
WINSIGHT INTERNATIONAL                15578 HELLMAN AVE CHINO CA 91708
WINSLOW, CHARLES                      ADDRESS ON FILE
WINSLOW, JEFFREY L                    ADDRESS ON FILE
WINSTAR TOTAL LOGISTICS               OR FLAT RATE FUNDING GROUP LLC PO BOX 150581 OGDEN UT 84415-0581
WINSTEAD, KEITH                       ADDRESS ON FILE
WINSTEL TRANSPORT LLC                 56 SUNNYHILL AVE FRANKLINVILLE NJ 08322
WINSTON BOYS LOGISTICS LLC            OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WINSTON G CREIGHTON                   ADDRESS ON FILE
WINSTON JR., JOHNNY                   ADDRESS ON FILE
WINSTON PREMIER LOGISTICS LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WINSTON, ADRIAN                       ADDRESS ON FILE
WINSTON, BRANDON                      ADDRESS ON FILE
WINSTON, DANGELO                      ADDRESS ON FILE
WINSTON, EDDIE                        ADDRESS ON FILE
WINSTON, JAMES D.                     ADDRESS ON FILE
WINSTON, JOYCE A                      ADDRESS ON FILE
WINSTON, JOYCE A                      ADDRESS ON FILE
WINSTON, MARVIN                       ADDRESS ON FILE
WINSTON, SEAN                         ADDRESS ON FILE
WINSTON, SHAREE D                     ADDRESS ON FILE
WINSTON, SHAREE D                     ADDRESS ON FILE
WINSTON, STEVEN                       ADDRESS ON FILE
WINSTON, TERRANCE F                   ADDRESS ON FILE
WINSTON-TURNER, DARLENE               ADDRESS ON FILE
WINTA TRUCKING 1 LLC                  OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WINTA TRUCKING 1 LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WINTA TRUCKING 1 LLC                  11826 LONGWOOD GARDEN WAY HOUSTON TX 77047
WINTER ENGINE GENERATOR SERVICE INC   GENERATOR SERVICE INC 715 VOGELSONG ROAD YORK PA 17404
WINTER EQUIPMENT CORPORATION          614 FLORENCE STREET COLUMBIA PA 17512
WINTER QUARTER FARM                   15735 NW 165 STREET WILLISTON FL 32696
WINTER REPAIR LLC                     43322 165TH AVE HOLDINGFORD MN 56340
WINTER TRUCK LINE                     1485 230TH STREET MAHNOMEN MN 56557
WINTER, CHARLES R                     ADDRESS ON FILE
WINTER, JEFFREY                       ADDRESS ON FILE
WINTER, JOLENE L                      ADDRESS ON FILE
WINTERBERG OIL                        21909 HIGHWAY 40 287 LIMON CO 80828



Epiq Corporate Restructuring, LLC                                                                Page 2097 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 2106 of 2156

Claim Name                              Address Information
WINTERROWD, JASON                       ADDRESS ON FILE
WINTERS, BRITTINEY                      ADDRESS ON FILE
WINTERS, DANIEL                         ADDRESS ON FILE
WINTERS, DAVID                          ADDRESS ON FILE
WINTERS, JEFFREY                        ADDRESS ON FILE
WINTERS, KHAYMIE                        ADDRESS ON FILE
WINTERS, LUKE                           ADDRESS ON FILE
WINTERS, MELANIE                        ADDRESS ON FILE
WINTERS, TRAIT                          ADDRESS ON FILE
WINTERSMITH, BILL                       ADDRESS ON FILE
WINTERSTEEN, WILLIAM                    ADDRESS ON FILE
WINTIN, CINDY                           ADDRESS ON FILE
WINTRUCK INC                            OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WINTRUST EQUIPMENT FINANCE              3665 PARK PLACE W, 150 MISHAWAKA IN 46545
WINWARS EXPRESS, INC.                   PO BOX 597 ATKINSON NH 03811
WINWAY ENTERPRISES GROUP INC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WINWHOLESALE                            ODW LOGISTICS, 345 HIGH ST STE 600 HAMILTON OH 45011
WIPEOUT LOGISTICS LLC                   OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
WIPT INC                                18 W 8TH AVE REDFIELD SD 57469
WIPT, INC.                              ATTN: DANA WALDNER 18 W 8TH AVENUE REDFIELD SD 57469
WIRE CARGO INC                          OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
WIRELESS TRAINING & SOLUTIONS LLC       5921 HILDERBRAND DR SANDY SPRINGS GA 30328
WIRELESS USA INC                        PO BOX 775582 SAINT LOUIS MO 63177
WIREMOLD LEGRAND                        60 WOODLAWN ST WEST HARTFORD CT 06110
WIRTH, JAY                              ADDRESS ON FILE
WIRTH, JAY                              ADDRESS ON FILE
WIRTH, JOHN                             ADDRESS ON FILE
WIRTH, JOHN                             ADDRESS ON FILE
WIRTH, STEVE                            ADDRESS ON FILE
WIRTH, THOMAS                           ADDRESS ON FILE
WIRTHS, MICHAEL                         ADDRESS ON FILE
WIRTZ, JEFFREY H                        ADDRESS ON FILE
WIRTZ, SKYLER                           ADDRESS ON FILE
WISCHROPP, LAUREY                       ADDRESS ON FILE
WISCONSIN DEPARTMENT OF                 PO BOX 8900 MADISON WI 53708
WISCONSIN DEPARTMENT OF                 UNCLAIMED PROPERTY DIVISION, PO BOX 8982 MADISON WI 53708
WISCONSIN DEPARTMENT OF REVENUE         PO BOX 930208 MILWAUKEE WI 53293
WISCONSIN DEPARTMENTOF TRANSPORTATION   P.O. BOX 7915 MADISON WI 53707
WISCONSIN DEPT OF NATURAL RESOURCES     ENVIRONMENTAL FEES, PO BOX 93192 MILWAUKEE WI 53293
WISCONSIN DEPT OF NATURAL RESOURCES     NATURAL RESOURCES, PO BOX 93192 MILWAUKEE WI 53293-0192
WISCONSIN DEPT OF REVENUE               PO BOX 93208 MILWAUKEE WI 53293
WISCONSIN DEPT OF REVENUE               UNCLAIMED PROPERTY UNIT, PO BOX 8982 MADISON WI 53708
WISCONSIN DEPT. OF TRANSPORTATION       C/O WIDOT DAMAGE CLAIMS PO BOX 7915 MADISON WI 53707-7915
WISCONSIN HEALTH FUND                   6200 W. BLUEMOUND ROAD MILWAUKEE WI 53213
WISCONSIN HEALTH FUND                   BIN 88487 MILWAUKEE WI 53288
WISCONSIN HEALTH FUND                   BOX 88387 MILWAUKEE WI 53288
WISCONSIN KENWORTH                      BOX 689706 CHICAGO IL 60695-9706
WISCONSIN MOTOR CARRIERS ASSOCIATION    PO BOX 44849 MADISON WI 53744
WISCONSIN NATIONWIDE TRANSPORTATION     PO BOX 356 TWO RIVERS WI 54241



Epiq Corporate Restructuring, LLC                                                                  Page 2098 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2107 of 2156

Claim Name                           Address Information
WISCONSIN PUBLIC SERVICE CORP        2830 S ASHLAND AVE GREEN BAY WI 54307
WISCONSIN TRANSFER CO., INC.         13500 WATERTOWN PLANK RD, SUITE 203 ELM GROVE WI 53122
WISCONSIN TRUCKS INC                 OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
WISDOM, ELIOT                        ADDRESS ON FILE
WISDOM, KENRICK                      ADDRESS ON FILE
WISDOM, PAUL                         ADDRESS ON FILE
WISE CHOICE TRANS CORP               127 BRIDGEVIEW DR SAN FRANCISCO CA 94124
WISE CHOICE TRANS CORP               2228 JUNCTION AVE SAN JOSE CA 95131
WISE CHOICE TRANSPORTATION LLC       149 E MICHIGAN AVE JACKSON MI 49201
WISE LOGISTICS INC                   1502 LUMBARD ST FORT WAYNE IN 46803
WISE, BRIAN                          ADDRESS ON FILE
WISE, DEONTAE                        ADDRESS ON FILE
WISE, DONNELL                        ADDRESS ON FILE
WISE, GEORGE                         ADDRESS ON FILE
WISE, GEORGE H                       ADDRESS ON FILE
WISE, JANET                          ADDRESS ON FILE
WISE, KAVAHN                         ADDRESS ON FILE
WISE, KENNETH                        ADDRESS ON FILE
WISE, LYLE                           ADDRESS ON FILE
WISE, PAUL                           ADDRESS ON FILE
WISE, RANDY                          ADDRESS ON FILE
WISE, SHAUN                          ADDRESS ON FILE
WISE, STEVEN                         ADDRESS ON FILE
WISE, TIHEED                         ADDRESS ON FILE
WISEMAN, JAMES                       ADDRESS ON FILE
WISEMAN, RANDY                       ADDRESS ON FILE
WISENBAUGH, JAMES                    ADDRESS ON FILE
WISENBAUGH, JODY                     ADDRESS ON FILE
WISEZ CARRIER INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WISHAW, DAVID                        ADDRESS ON FILE
WISHBONE TRUCKING LLC                OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
WISHON, JACOB                        ADDRESS ON FILE
WISKIRCHEN, MIKE                     ADDRESS ON FILE
WISMAN, GEORGE                       ADDRESS ON FILE
WISMAN, JAMIE                        ADDRESS ON FILE
WISMAN, ROBERT                       ADDRESS ON FILE
WISMAN, SEAN                         ADDRESS ON FILE
WISNER, RODNEY                       ADDRESS ON FILE
WISNIEWSKI, ANDRZEJ                  ADDRESS ON FILE
WISNIEWSKI, CHRISTOPHER              ADDRESS ON FILE
WISNIEWSKI, MICHAEL                  ADDRESS ON FILE
WISS JANNEY ELSTNER ASSOCIATES INC   PO BOX 204645 DALLAS TX 75320
WISSER, DONNA                        ADDRESS ON FILE
WISSING, LEANNE                      ADDRESS ON FILE
WISSINGER, SYLVIE                    ADDRESS ON FILE
WISZ, JEROME                         ADDRESS ON FILE
WIT TRUCKING                         2601 S MINNESOTA AVE SUITE 105-249 SIOUX FALLS SD 57105
WIT TRUCKING                         OR SOURCE FUNDING INC, PO BOX 872632 KANSAS CITY MO 64187
WITBECK, JUSTIN                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2099 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2108 of 2156

Claim Name                           Address Information
WITCHETT, CHESTER                    ADDRESS ON FILE
WITCHLEY, AARON                      ADDRESS ON FILE
WITEK, JOSEPH                        ADDRESS ON FILE
WITHAM, JACOB                        ADDRESS ON FILE
WITHAM, KOREY                        ADDRESS ON FILE
WITHEROW, GORDON                     ADDRESS ON FILE
WITHERRITE, ANDREW                   ADDRESS ON FILE
WITHERS SUPPLY CO                    PO BOX 380144 KANSAS CITY MO 64138
WITHERS, ANTHONY                     ADDRESS ON FILE
WITHERS, JAMES                       ADDRESS ON FILE
WITHERS, MARK                        ADDRESS ON FILE
WITHERSPOON, CHRIS                   ADDRESS ON FILE
WITHERSPOON, DARYL                   ADDRESS ON FILE
WITHERSPOON, JIMMIE                  ADDRESS ON FILE
WITHERSPOON, KASTELLOMON             ADDRESS ON FILE
WITHERSPOON, ROY                     ADDRESS ON FILE
WITHERSPOON, TAVARUS                 ADDRESS ON FILE
WITHEY, SHEILA                       ADDRESS ON FILE
WITHROW, GEORGE                      ADDRESS ON FILE
WITKOWSKI, ANTHONY                   ADDRESS ON FILE
WITKOWSKI, DANIEL                    ADDRESS ON FILE
WITKOWSKI, MICHAEL                   ADDRESS ON FILE
WITMAN, AARON                        ADDRESS ON FILE
WITMER, PATRICK                      ADDRESS ON FILE
WITT, BAILEY                         ADDRESS ON FILE
WITT, DERIC                          ADDRESS ON FILE
WITT, DUDLEY                         ADDRESS ON FILE
WITT, FREDRICK                       ADDRESS ON FILE
WITT, HAROLD                         ADDRESS ON FILE
WITT, RAYMOND                        ADDRESS ON FILE
WITTBURN ENTERPRISES, INC.           ELLICOTT STATION, PO BOX 1122 BUFFALO NY 14205
WITTBURN ENTERPRISES, INC.           PO BOX 1122 ELLICOTT STATION BUFFALO NY 14205-1122
WITTENBERG, CHRISTINE                ADDRESS ON FILE
WITTER, KEITH                        ADDRESS ON FILE
WITTKAMP CONSTRUCTION                14 COVE COURT SAVANNAH GA 31419
WITTS, DAVID                         ADDRESS ON FILE
WITTSTRUCK, STEVE                    ADDRESS ON FILE
WITZKE, ROBERT                       ADDRESS ON FILE
WIVAG, BRANDON                       ADDRESS ON FILE
WIZARD INDUSTRIES                    ATTN: JOSEPH JONES 4263 PHILLIPS AVE BURNABY BC V5A 2X4 CANADA
WIZARD TRANSPORT INC                 OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
WIZZARD WAY INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WJ ENTERPRISE INC                    OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WJ TRANS INC                         OR ENGS COMMERCIAL CAPITAL LLC PO BOX 6745 CAROL STREAM IL 60197
WJ TRANSPORTATION                    OR LEE INVESTMENT GROUP, P.O BOX 893591 TEMECULA CA 92591
WJ TRANSPORTATION INC                OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WJHL TV                              ATTN: MICHAEL MOORE 338 N. MAIN ST. JOHNSON CITY TN 37601
WJS TRANSPORT LLC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
WK FOODS                             810 SOUTH BROADWAY HICKSVILLE NY 11801



Epiq Corporate Restructuring, LLC                                                            Page 2100 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2109 of 2156

Claim Name                           Address Information
WK TRANSPORT LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WKG ENTERPRISES LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WKS EXPRESS TRUCKING LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WL STAR INC                          OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
WL TRUCKING INC                      OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
WL TRUCKING INC                      12513 MISSISSIPPI DR EASTVALE CA 91752
WL TRUCKING LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WLADYKA, THOMAS                      ADDRESS ON FILE
WLX                                  PO BOX 72473 CLEVELAND OH 44192
WM LAMPTRACKER RYAN TRANSPOR         ATTN: DAN HUTCHESON 9350 METCALF AVE OVERLAND PARK KS 66212
WM LAMPTRACKER RYAN TRANSPOR         ATTN: KAYLIN BROOKS 9350 METCALF AVE OVERLAND PARK KS 66212
WM RECYCLE RYAN TR                   J ROUNDTREE CLMS DPT, 9350 METCALF AVE OVERLAND PARK KS 66212
WM S TRIMBLE CO INC                  PO BOX 154 KNOXVILLE TN 37901
WMC TRANSPORT EXPRESS LLC            OR ECAPITAL FREIGHT FACTORING INC. PO BOX 206773 DALLAS TX 75320-6773
WMK EXPRESS LLC                      OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WMK FREIGHTLINES INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WMK TRUCK LINE INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WMK TRUCKING INC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
WN LEASING LLC                       2834 FISHER RD COLUMBUS OH 43204
WOBO LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WODACK, THOMAS                       ADDRESS ON FILE
WODARSKI, RYAN                       ADDRESS ON FILE
WOEHLCKE, STACY                      ADDRESS ON FILE
WOELFEL, PATRICK                     ADDRESS ON FILE
WOEPSE, HOWARD                       ADDRESS ON FILE
WOEPSE, HOWARD                       ADDRESS ON FILE
WOERNER, STEVEN                      ADDRESS ON FILE
WOFFORD, FREDRICK                    ADDRESS ON FILE
WOFFORD, KELVIN                      ADDRESS ON FILE
WOFFORD, TROY                        ADDRESS ON FILE
WOFFORD, WAYLON                      ADDRESS ON FILE
WOGE, COLTON                         ADDRESS ON FILE
WOHLETZ, COLIN                       ADDRESS ON FILE
WOHLFORD, BENJAMIN J                 ADDRESS ON FILE
WOHLGEMUTH, RENEE M                  ADDRESS ON FILE
WOHLGEMUTH, RENEE M                  ADDRESS ON FILE
WOHLWENDER, ERIC                     ADDRESS ON FILE
WOHNHAS, CHRISTINE                   ADDRESS ON FILE
WOJAN TRANSPORTATION INC             217 STOVER RD CHARLEVOIX MI 49720
WOJCIK, CHRISTOPHER                  ADDRESS ON FILE
WOJCIK, JAMIE                        ADDRESS ON FILE
WOJCIK, RICK                         ADDRESS ON FILE
WOJCINSKI, JARED                     ADDRESS ON FILE
WOJDYLA, KRZYSZTOF                   ADDRESS ON FILE
WOJNOWSKI, MICHAEL                   ADDRESS ON FILE
WOJTAS, MICHAEL                      ADDRESS ON FILE
WOJTURSKI, MARK                      ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 2101 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2110 of 2156

Claim Name                           Address Information
WOJTYLKO, MICHAEL                    ADDRESS ON FILE
WOJTYLKO, MICHAEL J                  ADDRESS ON FILE
WOLAK, MARK                          ADDRESS ON FILE
WOLANSKY III, HARRY                  ADDRESS ON FILE
WOLD, BRADY                          ADDRESS ON FILE
WOLD, JESSE                          ADDRESS ON FILE
WOLF DIESEL LLC                      1410 W SENECA AVE TIFFIN OH 44883-2651
WOLF FREIGHT                         OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WOLF GANG TRUCKING LLC               OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
WOLF PACK TRUCKING LLC (MC1288743)   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WOLF PAK TRANSPORT LLC.              PO BOX 466 ELIZABETHTOWN PA 17022
WOLF TRANS INC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WOLF TRANS INC (MC876169)            7217 WIMBLEDON RD MACHESNEY PARK IL 61115
WOLF TRUCK LINES INC                 466 FOOTHILL BLVD 435 LA CANADA CA 91011
WOLF TRUCKING GROUP LLC              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
WOLF, CHRISTOPHER                    ADDRESS ON FILE
WOLF, DOMINIC                        ADDRESS ON FILE
WOLF, JOSEPH                         ADDRESS ON FILE
WOLF, KALEB J                        ADDRESS ON FILE
WOLF, KEANU                          ADDRESS ON FILE
WOLF, MARK                           ADDRESS ON FILE
WOLF, RICK                           ADDRESS ON FILE
WOLF, ROBERT                         ADDRESS ON FILE
WOLFE LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WOLFE, CAMERON                       ADDRESS ON FILE
WOLFE, CARY                          ADDRESS ON FILE
WOLFE, COREY                         ADDRESS ON FILE
WOLFE, CURTIS                        ADDRESS ON FILE
WOLFE, DARRYL                        ADDRESS ON FILE
WOLFE, DEVIN                         ADDRESS ON FILE
WOLFE, FRED                          ADDRESS ON FILE
WOLFE, JAKE                          ADDRESS ON FILE
WOLFE, JESSICA                       ADDRESS ON FILE
WOLFE, KENNETH                       ADDRESS ON FILE
WOLFE, SETH                          ADDRESS ON FILE
WOLFE, STEVEN                        ADDRESS ON FILE
WOLFE, THOMAS                        ADDRESS ON FILE
WOLFE, THOMAS                        ADDRESS ON FILE
WOLFE, TIFFANY                       ADDRESS ON FILE
WOLFE, WILBUR                        ADDRESS ON FILE
WOLFE, WILLIAM                       ADDRESS ON FILE
WOLFENHAUT, RONALD                   ADDRESS ON FILE
WOLFENHAUT, RONALD                   ADDRESS ON FILE
WOLFER, COREY                        ADDRESS ON FILE
WOLFER, MICHAEL                      ADDRESS ON FILE
WOLFF, LYNN                          ADDRESS ON FILE
WOLFF, NICHOLAS                      ADDRESS ON FILE
WOLFGRAM, JOHN                       ADDRESS ON FILE
WOLFGRAM, JOHN                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2102 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 2111 of 2156

Claim Name                             Address Information
WOLFORD, CHRISTOPHER                   ADDRESS ON FILE
WOLFORD, CRYSTAL                       ADDRESS ON FILE
WOLFORD, KRISTINA                      ADDRESS ON FILE
WOLKE, SABASTIAN S                     ADDRESS ON FILE
WOLKEY, TYLER                          ADDRESS ON FILE
WOLL, MICHAEL R                        ADDRESS ON FILE
WOLLE, CHARLES                         ADDRESS ON FILE
WOLLENBURG, ROBERT                     ADDRESS ON FILE
WOLLER, MARY                           ADDRESS ON FILE
WOLO, JAMES                            ADDRESS ON FILE
WOLOWIEC, MAREK                        ADDRESS ON FILE
WOLSIEFER, JAMES                       ADDRESS ON FILE
WOLSKI, JARED                          ADDRESS ON FILE
WOLTER INC                             2588 SOLUTIONS CENTER CHICAGO IL 60677
WOLTER INC                             KENSAR EQUIPMENT COMPANY 2588 SOLUTIONS CENTER CHICAGO IL 60677
WOLTERS KLUWER LEGAL & REGULATORY US   PO BOX 4307 CAROL STREAM IL 60197
WOLTERS, CHARISSE                      ADDRESS ON FILE
WOLTERS, LOUIS                         ADDRESS ON FILE
WOLTZ & WIND FORD                      2100 WASHINGTON PIKE HEIDELBERG PA 15106
WOLVE PAK ENTERPRISES, INC             OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
WOLVERINE FREIGHT SYSTEM               2500 AIRPORT RD WINDSOR ON N8W 5E7 CANADA
WOLVERINE FREIGHT SYSTEM               ATTN: CHRIS OR MIKE JOHN 2500 AIRPORT ROAD WINDSOR ON N8W 5E7 CANADA
WOLVERINE FREIGHTLINER                 WESTSIDE INC, 3000 WILLIAM AVE YPSILANTI MI 48198
WOLVERINE HAULERS LLC                  OR TCI BUSINESS CAPITAL, PO BOX 9149 MINNEAPOLIS MN 55480-9149
WOLVERINE HAULERS LLC                  OR TAB BANK, PO BOX 150623 OGDEN UT 84415-0623
WOLVERINE TRUCK SALES, INC.            3550 WYOMING DEARBORN MI 48120
WOLZ, CHARLES                          ADDRESS ON FILE
WOLZ, STEVEN                           ADDRESS ON FILE
WOMAC, GUNNAR                          ADDRESS ON FILE
WOMACK, DANNY                          ADDRESS ON FILE
WOMACK, DARIUS                         ADDRESS ON FILE
WOMACK, JEFFERY                        ADDRESS ON FILE
WOMACK, JOHN                           ADDRESS ON FILE
WOMACK, STEVEN                         ADDRESS ON FILE
WOMACK, THOMAS                         ADDRESS ON FILE
WOMBLE, ERIC                           ADDRESS ON FILE
WOMBLES, DAVID                         ADDRESS ON FILE
WOMELDORFF, ROBERT D                   ADDRESS ON FILE
WOMEN IN TRUCKING ASSOCIATION, INC.    5528 JACKS DRIVE, PO BOX 400 PLOVER WI 54467
WOMENS EMPLOYMENT NETWORK              4328 MADISON AVE KANSAS CITY MO 64111
WONDER EXPRESS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WONDER LINE INC                        OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WONDERFLEX WORLD                       7704 269TH ST. CHISAGO CITY MN 55013
WONDERFUL PISTACHIOS & ALMONDS         13646 HIGHWAY 33 LOST HILLS CA 93249
WONDERS, BERNARD R                     ADDRESS ON FILE
WONDY TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WONG, BRANDY                           ADDRESS ON FILE
WONG, BRIAN                            ADDRESS ON FILE
WONG, LESLIE                           ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 2103 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2112 of 2156

Claim Name                           Address Information
WONG, LESLIE                         ADDRESS ON FILE
WONG, PATRICK                        ADDRESS ON FILE
WOO, IN YUL                          ADDRESS ON FILE
WOOD COUNTY TREASURER                1 COURTHOUSE SQUARE BOWLING GREEN OH 43402-2452
WOOD COUNTY TREASURER                JILL ENGLE, 1 COURTHOUSE SQUARE BOWLING GREEN OH 43402-2452
WOOD IV, THOMAS                      ADDRESS ON FILE
WOOD JR., JOHN                       ADDRESS ON FILE
WOOD LOGISTICS LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
WOOD TRUCK LINES LLC                 OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
WOOD WYANT INC                       42, RUE DE LARTISAN VICTORIAVILLE QC G6P 7E3 CANADA
WOOD, AARON                          ADDRESS ON FILE
WOOD, ALICE                          ADDRESS ON FILE
WOOD, ANGEL                          ADDRESS ON FILE
WOOD, ANTHONY                        ADDRESS ON FILE
WOOD, BILLY                          ADDRESS ON FILE
WOOD, BILLY                          ADDRESS ON FILE
WOOD, CARLOS                         ADDRESS ON FILE
WOOD, CATHERINE                      ADDRESS ON FILE
WOOD, CHARLES                        ADDRESS ON FILE
WOOD, CLINTON                        ADDRESS ON FILE
WOOD, DANIEL                         ADDRESS ON FILE
WOOD, DANIEL                         ADDRESS ON FILE
WOOD, DARREN                         ADDRESS ON FILE
WOOD, DAVID                          ADDRESS ON FILE
WOOD, DEBRA                          ADDRESS ON FILE
WOOD, DONALD                         ADDRESS ON FILE
WOOD, EUGENE                         ADDRESS ON FILE
WOOD, GARY                           ADDRESS ON FILE
WOOD, GLEN                           ADDRESS ON FILE
WOOD, HEIDI                          ADDRESS ON FILE
WOOD, HEIDI MARIE                    ADDRESS ON FILE
WOOD, JAMES                          ADDRESS ON FILE
WOOD, JEFFREY                        ADDRESS ON FILE
WOOD, JEREMY T                       ADDRESS ON FILE
WOOD, JESSE                          ADDRESS ON FILE
WOOD, JIMMY                          ADDRESS ON FILE
WOOD, JOHN                           ADDRESS ON FILE
WOOD, JOSEPH                         ADDRESS ON FILE
WOOD, JOSEPH                         ADDRESS ON FILE
WOOD, MARIO                          ADDRESS ON FILE
WOOD, MARTIN                         ADDRESS ON FILE
WOOD, PAUL                           ADDRESS ON FILE
WOOD, RICKEY                         ADDRESS ON FILE
WOOD, ROBERT                         ADDRESS ON FILE
WOOD, RYAN                           ADDRESS ON FILE
WOOD, SARA A                         ADDRESS ON FILE
WOOD, SHANE                          ADDRESS ON FILE
WOOD, SHEILA R                       ADDRESS ON FILE
WOOD, SHIRLEY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 2104 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2113 of 2156

Claim Name                           Address Information
WOOD, STEVE                          ADDRESS ON FILE
WOOD, STEVEN                         ADDRESS ON FILE
WOOD, TAYLOR                         ADDRESS ON FILE
WOOD, TOM                            ADDRESS ON FILE
WOOD, TONI                           ADDRESS ON FILE
WOODALL JR, NORTH                    ADDRESS ON FILE
WOODALL, JAMES                       ADDRESS ON FILE
WOODALL, JEFFREY                     ADDRESS ON FILE
WOODALL, JENNIFER                    ADDRESS ON FILE
WOODALL, VICTOR                      ADDRESS ON FILE
WOODARD INCORPORATED                 ATTN: DARCIE SCHULTZ 210 S DELANEY ST OWOSSO MI 48867
WOODARD JR, WILLIAM                  ADDRESS ON FILE
WOODARD LLC                          210 S DELANEY RD OWOSSO MI 48867
WOODARD LLC                          ATTN: DARCIE SCHULTZ 210 S DELANEY ST OWOSSO MI 48867
WOODARD, BRUCE                       ADDRESS ON FILE
WOODARD, CLAVON                      ADDRESS ON FILE
WOODARD, COURTNEY                    ADDRESS ON FILE
WOODARD, HANNAH                      ADDRESS ON FILE
WOODARD, JAMES                       ADDRESS ON FILE
WOODARD, JEFFREY                     ADDRESS ON FILE
WOODARD, JOHN                        ADDRESS ON FILE
WOODARD, KIMBERLY                    ADDRESS ON FILE
WOODARD, NAPOLEON                    ADDRESS ON FILE
WOODARD, SIRUS                       ADDRESS ON FILE
WOODARD, STEVEN                      ADDRESS ON FILE
WOODBERRY PROPERTIESLLC              ATTN: LIZA SINGLETARY P O BOX 89188 TAMPA FL 33689
WOODBRIDGE, JUDY                     ADDRESS ON FILE
WOODBURY COMMONS INC.                ATTN: TED RYAN PO BOX 695 WOODBURY CT 06798-0695
WOODBURY COUNTY TAX COLLECTOR        620 DOUGLAS ST SIOUX CITY IA 51101
WOODBURY, PAIGE                      ADDRESS ON FILE
WOODCOCK, ADAM                       ADDRESS ON FILE
WOODCOCK, KEITH                      ADDRESS ON FILE
WOODDY, MIKE                         ADDRESS ON FILE
WOODELL, HARLEY W                    ADDRESS ON FILE
WOODEN SHOES TRUCKING INC.           295 WYTHE CREEK ROAD POQUOSON VA 23662
WOODEN, DARRYL                       ADDRESS ON FILE
WOODEN, TIMOTHY                      ADDRESS ON FILE
WOODFORK, CATINA                     ADDRESS ON FILE
WOODHALL, GAVIN                      ADDRESS ON FILE
WOODHOUSE, CINDY                     ADDRESS ON FILE
WOODHULL, ANDREW                     ADDRESS ON FILE
WOODIE S SHEPARD                     ADDRESS ON FILE
WOODIES INTERNATIONAL LLC            OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WOODLEY, DELBERT                     ADDRESS ON FILE
WOODLEY, MICHAEL                     ADDRESS ON FILE
WOODLEY, SHAMARIAH                   ADDRESS ON FILE
WOODMAN, KENNETH                     ADDRESS ON FILE
WOODPECKER TRUCK & EQUIP             PO BOX 1306 PENDLETON OR 97801
WOODRASKA, CATHY                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2105 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2114 of 2156

Claim Name                          Address Information
WOODRICH, THOMAS                    ADDRESS ON FILE
WOODRICK, BROCK A                   ADDRESS ON FILE
WOODRING, STEPHEN A                 ADDRESS ON FILE
WOODRING, TUCKER                    ADDRESS ON FILE
WOODROME, LARRY                     ADDRESS ON FILE
WOODRUFF, ASHLEY                    ADDRESS ON FILE
WOODRUFF, LISA                      ADDRESS ON FILE
WOODS BROTHERS TRUCKING LLC         8215 COUNTY ROAD 86 FINDLAY OH 45840
WOODS EXPRESS, INC.                 1904 E CR 1150 N BATESVILLE IN 47006
WOODS SERVICE CENTER INC            418 WASHINGTON AVENUE VINTON VA 24179
WOODS, AARON                        ADDRESS ON FILE
WOODS, BETTE                        ADDRESS ON FILE
WOODS, BRIAN R                      ADDRESS ON FILE
WOODS, CARL                         ADDRESS ON FILE
WOODS, CAROL                        ADDRESS ON FILE
WOODS, CHESTER                      ADDRESS ON FILE
WOODS, DELANGLEY                    ADDRESS ON FILE
WOODS, DENISE                       ADDRESS ON FILE
WOODS, DORIAN                       ADDRESS ON FILE
WOODS, GARY                         ADDRESS ON FILE
WOODS, HAROLD A                     ADDRESS ON FILE
WOODS, JAMES                        ADDRESS ON FILE
WOODS, JANEAR M                     ADDRESS ON FILE
WOODS, KIJUAN                       ADDRESS ON FILE
WOODS, LANCE T                      ADDRESS ON FILE
WOODS, LEONARD                      ADDRESS ON FILE
WOODS, LUDY                         ADDRESS ON FILE
WOODS, MCAUTHER                     ADDRESS ON FILE
WOODS, MIRABELA                     ADDRESS ON FILE
WOODS, PATRICK                      ADDRESS ON FILE
WOODS, PAUL                         ADDRESS ON FILE
WOODS, PHILLIP                      ADDRESS ON FILE
WOODS, RICHARD                      ADDRESS ON FILE
WOODS, RICK                         ADDRESS ON FILE
WOODS, ROBERT                       ADDRESS ON FILE
WOODS, ROBERT                       ADDRESS ON FILE
WOODS, ROBIN                        ADDRESS ON FILE
WOODS, RODERICK                     ADDRESS ON FILE
WOODS, TERA                         ADDRESS ON FILE
WOODS, TERRY                        ADDRESS ON FILE
WOODS, TIMOTHY                      ADDRESS ON FILE
WOODS, WAYNE                        ADDRESS ON FILE
WOODS, WESLEY                       ADDRESS ON FILE
WOODS, WILLIE                       ADDRESS ON FILE
WOODS, XAVIER                       ADDRESS ON FILE
WOODSON TRANSPORT, LLC              OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263-1627
WOODSON, DAVID                      ADDRESS ON FILE
WOODSON, ROBERT                     ADDRESS ON FILE
WOODSTREAM CORPORATION              ATTN: ASHLEY FOGLE 29 E KING ST LANCASTER PA 17602



Epiq Corporate Restructuring, LLC                                                           Page 2106 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2115 of 2156

Claim Name                           Address Information
WOODSTREAM CORPORATION               D/B/A: WOODSTREAM CORP DATA2LOGISTICS PO BOX 61050 FORT MYERS FL 33906
WOODWARD INDUSTRIES                  33 FILLMORE AVE ONAWANDA NY 14150
WOODWARD INDUSTRIES                  C/O GIBSON, MCASKILL & CROSBY , LLP ATTN: AARON GLAZER 69 DELEWARE AVENUE
                                     BUFFALO NY 14202
WOODWARD LLC                         ATTN: DARCIE SCHULTZ 210 S DELANEY RD OWOSSO MI 48867
WOODWARD MOBILE MECHANIC             P.O. BOX 43 BLUE LAKE CA 95525
WOODWARD, BLAKE                      ADDRESS ON FILE
WOODWARD, DAN                        ADDRESS ON FILE
WOODWARD, DAN                        ADDRESS ON FILE
WOODWARD, JEANETTE                   ADDRESS ON FILE
WOODWARD, JOEL                       ADDRESS ON FILE
WOODWARD, LEWIS                      ADDRESS ON FILE
WOODWARD, RICHARD                    ADDRESS ON FILE
WOODWARD, TIMOTHY                    ADDRESS ON FILE
WOODWORKSBYLEGRAND                   5214 MEADOW CREST LAPORTE TX 77571
WOODWYK, DAVID                       ADDRESS ON FILE
WOODY ASSOCIATES                     895 W BROADWAY RED LION PA 17356
WOODY BOGLER TRUCKING CO             300 PLAZA S. 3RD FLOOR JERSEY CITY NJ 07311
WOODY BOGLER TRUCKING COMPANY        PO BOX 195 GERALD MO 63037
WOODY, ELLIS                         ADDRESS ON FILE
WOODY, GREGORY                       ADDRESS ON FILE
WOODY, MILTON                        ADDRESS ON FILE
WOODY, STEVE                         ADDRESS ON FILE
WOODY, WILLIAM                       ADDRESS ON FILE
WOODYS GATES & OPENERS               144 WASHINGTON AVE NEW HOPE AL 35760
WOODYS WRECKERS                      PO BOX 1065 ALTOONA PA 16603
WOOF TRUCKING LLC                    OR BP FINANCIAL LLC 161 ROUTE 59 SUITE 203A MONSEY NY 10952
WOOKEE INC                           OR RTS FINANCIAL, PO BOX 840267 DALLAS TX 75284
WOOLBRIGHT, GENTRY K                 ADDRESS ON FILE
WOOLBRIGHT, KEITH                    ADDRESS ON FILE
WOOLDRIDGE, WILLIAM III              ADDRESS ON FILE
WOOLEN, KENDALL                      ADDRESS ON FILE
WOOLFOLK, BOBBY                      ADDRESS ON FILE
WOOLFOLK, KENNETH                    ADDRESS ON FILE
WOOLFOLK, TAMARA                     ADDRESS ON FILE
WOOLGATHERER CARDING MILL            610 S 11TH ST MONTAGUE CA 96064
WOOLLEMS, THOMAS                     ADDRESS ON FILE
WOOLLEY, THOMAS                      ADDRESS ON FILE
WOOLSEY, ARRON                       ADDRESS ON FILE
WOOLSEY, BILL                        ADDRESS ON FILE
WOOLSEY, CHRISTOPHER                 ADDRESS ON FILE
WOOLSEY, DAVID                       ADDRESS ON FILE
WOOLSEY, ERNEST                      ADDRESS ON FILE
WOOLSEY, JORDYN                      ADDRESS ON FILE
WOOLSEY, KERRY                       ADDRESS ON FILE
WOOLSEY, KERRY R                     ADDRESS ON FILE
WOOLSEY, TRACEY                      ADDRESS ON FILE
WOOLUM, STEVEN                       ADDRESS ON FILE
WOOLWAY, IAN                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2107 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 2116 of 2156

Claim Name                               Address Information
WOOMER, LORENZ                           ADDRESS ON FILE
WOOSTER BRUSH                            4960 JOULE ST RENO NV 89502
WOOSTER MOTOR WAYS, INC.                 3501 W OLD LINCOLN WAY WOOSTER OH 44691
WOOTEN & SONS TRANSPORTATION LLC         OR ITHRIVE FUNDING PO BOX 1000 DEPT 848 MEMPHIS TN 38148-1000
WOOTEN 4 TRUCKING LLC                    OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
WOOTEN, ALAN                             ADDRESS ON FILE
WOOTEN, ALLEN                            ADDRESS ON FILE
WOOTEN, ANTHONY                          ADDRESS ON FILE
WOOTEN, CAMERON                          ADDRESS ON FILE
WOOTEN, CHRISTOPHER                      ADDRESS ON FILE
WOOTEN, CHRISTOPHER M                    ADDRESS ON FILE
WOOTEN, RYANT                            ADDRESS ON FILE
WOOTEN, STEPHANIE                        ADDRESS ON FILE
WOOTEN, TERRY                            ADDRESS ON FILE
WOOTTON, PAUL                            ADDRESS ON FILE
WORD, GERALD                             ADDRESS ON FILE
WORDEN, BILLY                            ADDRESS ON FILE
WORDEN, ROBERT                           ADDRESS ON FILE
WORK AUTHORITY                           C/O T9619, PO BOX 9619 STN A TORONTO ON M5W 1P8 CANADA
WORK HEALTH & SAFETY SERVICES            PO BOX 951083 CLEVELAND OH 44193
WORK KARE OF WILLIS-KNIGHTON             2724 GREENWOOD RD, PO BOX 31600 SHREVEPORT LA 71130
WORK TOGETHER LLC                        OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
WORKCARE RESOURCES INC                   16 MURRAY GUARD DRIVE JACKSON TN 38305
WORKERS COMP REINSURANCE                 400 ROBERT ST NORTH, SUITE 1700 SAINT PAUL MN 55101
WORKERS COMP REINSURANCE                 PO BOX 860025 MINNEAPOLIS MN 55486
WORKERS COMPENSATION BOARD               OF INDIANA 402 WEST WASHINGTON STREET ROOM W196, DEPT OF LABOR INDIANAPOLIS IN
                                         46204
WORKERS COMPENSATION BOARD - ALBERTA     PO BOX 2323 EDMONTON AB T5J 3V3 CANADA
WORKERS COMPENSATION BOARD OF INDIANA    402 W WASHINGTON ST ROOM W196 INDIANAPOLIS IN 46204
WORKERS COMPENSATION BOARD OF MANITOBA   333 BROADWAY WINNIPEG MB R3C 4W3 CANADA
WORKFIT MEDICAL, LLC                     1160 CHILI AVE STE 200 ROCHESTER NY 14624
WORKFORCE SAFETY & INSURANCE             C/O BANK OF NORTH DAKOTA 1600 EAST CENTURY AVENUE STE 1, PO BOX 5550 BISMARCK
                                         ND 58506
WORKFORCE SOUTH                          PO BOX 884 SIOUX FALLS SD 57101
WORKHORSE GENERAL CONTRACTORS LLC        N168 W20379 MAIN ST 251 JACKSON WI 53037
WORKMAN TRANSPORTATION INC               2648 E WORKMAN AVE 3001-158 WEST COVINA CA 91791
WORKMAN, BEAU                            ADDRESS ON FILE
WORKMAN, BRYANT                          ADDRESS ON FILE
WORKMAN, CONRAD                          ADDRESS ON FILE
WORKMAN, DANIEL                          ADDRESS ON FILE
WORKMAN, MARTY                           ADDRESS ON FILE
WORKMAN, SAMMIE                          ADDRESS ON FILE
WORKMAN, STEPHEN                         ADDRESS ON FILE
WORKMAN, TIMOTHY                         ADDRESS ON FILE
WORKMED MIDWEST PA                       330 MAIN STREET WEST, UNIT C RICE MN 56367
WORKPLACE JANITORIAL SERVICES            3-212 HENDERSON HIGHWAY STE 308 WINNIPEG MB R2L 1L8 CANADA
WORKPLACE SAFETY & INSURANCE BOARD, THE PO BOX 4115 STATION A TORONTO ON M5W 2V3 CANADA
WORKS, REBECCA                           ADDRESS ON FILE
WORKSAFE BC                              BOX 9600 STN TERMINAL VANCOUVER BC V6B 5J5 CANADA



Epiq Corporate Restructuring, LLC                                                                 Page 2108 OF 2145
                                               Yellow Corporation
                      Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                   Service List
                                                                                Page 2117 of 2156

Claim Name                              Address Information
WORKSAFE BC                             PO BOX 5350 STN TERMINAL ATTN CASHIER VANCOUVER BC V6B 5L5 CANADA
WORLAND, JAMES                          ADDRESS ON FILE
WORLD CLASS TRANSPORT LLC               OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
WORLD FAMOUS SPORTS                     687 ANITA ST CHULA VISTA CA 91911
WORLD FI LLC                            OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WORLD FUEL SERVICES INC                 9800 NW 41 STREET SUITE 400 MIAMI FL 33178
WORLD OF SIGNS INC                      10302 N W S RIVER DR, B-2 MEDLEY FL 33178
WORLD OF WATER                          9 2230 MCPHILLIPS ST WINNIPEG MB R2V 3C8 CANADA
WORLD OPTIONS INC                       OR COMFREIGHT HAULPAY 65 PINE AVE STE 853 LONG BEACH CA 90802
WORLD ROUTE TRANSLINE INC.              OR TRANSAM FINANCIAL SERVICES INC. PO BOX 872632 KANSAS CITY MO 64187
WORLD SERVICE                           PO BOX 5451 CALEXICO CA 92231
WORLD TOUR TRUCKING LLC                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WORLD TRUCK TOWING AND RECOVERY, INC.   4970 PARK AVE W SEVILLE OH 44273
WORLD TRUCKING LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WORLD UNITED EXPRESS, LLC               OR CCT FACTORING LLC, PO BOX 116999 ATLANTA GA 30368
WORLD UNITED EXPRESS, LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WORLD VISION CANADA                     1 WORLD DRIVE MISSISSAUGA ON L5T 2Y4 CANADA
WORLD WIDE CARRIERS LTD                 124 COMMERCIAL RD BOLTON ON L7E 1K4 CANADA
WORLD WIDE SIGN SYSTEMS                 5071 SIGSTROM DR CARSON CITY NV 89706
WORLD WIDE TECHNOLOGY, INC.             P.O. BOX 957653 ST LOUIS MO 63195
WORLD WIDE TRANSPORT EXPRESS INC        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
WORLD, MICHAEL                          ADDRESS ON FILE
WORLDSTAR TRANS LLC                     OR CAPITAL DEPOT INC 8930 WAUKEGAN RD SUITE 230 MORTON GROVE IL 60053
WORLDWIDE ASSOCIATES INC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WORLDWIDE CARGO TRANSPORT LLC           OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WORLDWIDE DISTRIBUTION                  8211 S 194TH ST KENT WA 98032
WORLDWIDE DOOR COMPONENTS               19175 N DALE MABRY HWY LUTZ FL 33548
WORLDWIDE EQUIPMENT INC                 6614 WILBANKS RD KNOXVILLE TN 37912
WORLDWIDE EQUIPMENT INC                 C/O PRO BILLING CORP07, P.O. BOX 2222 DECATUR AL 35609
WORLDWIDE EQUIPMENT INC                 PRO BILLING CORP 01, P.O. BOX 2222 DECATUR AL 35609
WORLDWIDE EXPRESS                       2323 VICTORY AVE STE 1600 DALLAS TX 75219
WORLDWIDE EXPRESS                       WORLDWIDE EXPRESS 2323 VICTORY AVE STE 1600 DALLAS TX 75219
WORLDWIDE EXPRESS C/O MOUNTAIN          2323 VICTORY AVE 1600 DALLAS TX 75219
WORLDWIDE EXPRESS C/O SHAW              2323 VICTORY AVE 1600 DALLAS TX 75219
WORLDWIDE FREIGHT MANAGEMENT            ATTN: JENNA CZAJKOWSKI 20 S ELLERMAN RD LAKE ST LOUIS MO 63367
WORLDWIDE LOGISTICS                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WORLDWIDE SAFE AND VAULT INCOR          ATTN: FRANKLYN RICHARDS NEW SAFE SALES 3660 NW 115TH AVE MIAMI FL 33178
WORLDWIDE TRANSPORT LLC                 5350 W BELL RD STE C122 626 GLENDALE AZ 85308
WORLDWIDE TRANSPORT SOLUTIONS LLC       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WORLEE NATURAL PRODUCTS CANADA          ATTN: KEVIE SOUDS 750 RUE GOUGEON ST LAURENT QC H4T 4L5 CANADA
WORLEE NATURAL PRODUCTS CANADA          ATTN: KEVIE SOUSA 750 RUE GOUGEON ST LAURENT QC H4T 4L5 CANADA
WORLEWIDE MATERIAL HANDLING             32 FORESTWOOD DR ROMEOVILLE IL 60446
WORLEY ENTERPRISE                       OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
WORLEY TEXAS TRUCKING LLC               OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WORLEY, DANIEL                          ADDRESS ON FILE
WORLEY, DAVID                           ADDRESS ON FILE
WORLEY, JAMES                           ADDRESS ON FILE
WORLEY, JOSEPH                          ADDRESS ON FILE
WORLEY, PAUL                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 2109 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2118 of 2156

Claim Name                           Address Information
WORLEY, RACHEL                       ADDRESS ON FILE
WORLEY, TRACY                        ADDRESS ON FILE
WORLJOY CARE TRANSPORTATION INC      OR IFM, 2004 L DON DODSON SUITE 200 BEDFORD TX 76021
WORMINGTON, JOSEPH                   ADDRESS ON FILE
WORNCZYK, EDWARD                     ADDRESS ON FILE
WORNER, LAWRENCE                     ADDRESS ON FILE
WORRELL, ERYN                        ADDRESS ON FILE
WORRELL, JEFFREY                     ADDRESS ON FILE
WORRELL, JOSEPH                      ADDRESS ON FILE
WORRELL, MIKE                        ADDRESS ON FILE
WORRELLS, GUY                        ADDRESS ON FILE
WORRILL, ANDREW                      ADDRESS ON FILE
WORRILL, DAWN                        ADDRESS ON FILE
WORSDALE, JIM                        ADDRESS ON FILE
WORSEK AND VIHON                     180 N LA SALLE ST 3010 CHICAGO IL 60601
WORSHAM, CORNELL                     ADDRESS ON FILE
WORSHIP, MARVIN                      ADDRESS ON FILE
WORTH EXPRESS TRANSPORTATION LLC     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WORTH TRUCKING CORPORATIONS CORP     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
WORTH, TIM                           ADDRESS ON FILE
WORTHEN, JASON                       ADDRESS ON FILE
WORTHING, GARY                       ADDRESS ON FILE
WORTHINGTON, SHELLEY                 ADDRESS ON FILE
WORTHY, EUGENE                       ADDRESS ON FILE
WORTHY, RODERICK                     ADDRESS ON FILE
WOSKO, JAMES A                       ADDRESS ON FILE
WOSMALE INC                          OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
WOTCO INCORPORATED                   PO BOX 30502 CHARLOTTE NC 28230
WOTRING, RICKY                       ADDRESS ON FILE
WOTRING, RICKY                       ADDRESS ON FILE
WOULFE, DANIEL                       ADDRESS ON FILE
WOW BUSINESS                         PO BOX 4350 CAROL STREAM IL 60197
WOW BUSINESS                         7887 E BELLEVIEW AVE ENGLEWOOD CA 80111
WOW FLEET LLC                        OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
WOW TRANSPORT INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WOW TRUCKING LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WOXELL, AMBER                        ADDRESS ON FILE
WOY, DARRON                          ADDRESS ON FILE
WOYTKO, JOSEPH                       ADDRESS ON FILE
WOZNEY, MICHAEL                      ADDRESS ON FILE
WOZNIAK, JAMES                       ADDRESS ON FILE
WOZNIAK, PETER                       ADDRESS ON FILE
WOZNIAK, RICHARD                     ADDRESS ON FILE
WOZNICKI, THOMAS                     ADDRESS ON FILE
WOZNY, TINA                          ADDRESS ON FILE
WP LOGISTICS CORP                    OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
WP TRANSPORT LLC                     OR EAGLE CAPITAL CORPORATION PO BOX 4215 TUPELO MS 38803-4215
WP TRANSPORT LLC (MC1373363)         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WPC HOLDCO LLC                       ONE MANHATTAN WEST, 395 9TH AVE 58TH FL NEW YORK NY 10001



Epiq Corporate Restructuring, LLC                                                               Page 2110 OF 2145
                                                Yellow Corporation
                      Case 23-11069-CTG        Doc 655   Filed 09/25/23
                                                    Service List
                                                                                Page 2119 of 2156

Claim Name                               Address Information
WPI                                      ATTN: SHANNON BURNS 2399 US 41 SW CALHOUN GA 30701
WPIERRE ENTERPRISE LLC                   OR PARTNERS FUNDING INC, PO BOX 5431 CAROL STREAM IL 60197-5431
WPP ACQUISITION LLC                      ATTN: COLLEEN HUTCHINSON 35 MARTIN ST CUMBERLAND RI 02864
WPRO TRUCKING LLC                        OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
WPS SERVICES LLC                         OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
WPVIP INC.                               P.O. BOX 741577 LOS ANGELES CA 90074
WQL TRUCKING INC                         OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                         45263-9565
WR GRACE                                 ODYSSEY LOGISTICS PO BOX 19749 CHARLOTTE NC 28219
WRAHIAN, OVIDIO                          ADDRESS ON FILE
WRAY, CINCERE                            ADDRESS ON FILE
WRAY, DELORA                             ADDRESS ON FILE
WRAY, JEFFREY                            ADDRESS ON FILE
WRAY, REX                                ADDRESS ON FILE
WREATHS ACROSS AMERICA                   PO BOX 9514 VIRGINIA BEACH VA 23450
WREN, TIMOTHY                            ADDRESS ON FILE
WRENCHES & WRECKERS LLC                  1201 W WASHINGTON ST HAGERSTOWN MD 21740
WRICE, RICHARD                           ADDRESS ON FILE
WRIGHT AWAY FREIGHT LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
WRIGHT II, JOHN                          ADDRESS ON FILE
WRIGHT JR, TIMOTHY                       ADDRESS ON FILE
WRIGHT MANAGEMENT LOGISTICS              OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
WRIGHT NOW HOLDINGS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WRIGHT TIRE & AUTO LLC                   2025 VICTORY LANE BOWLING GREEN OH 43402
WRIGHT TRANSPORTATION CORP               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WRIGHT TRANSPORTATION, INC.              PO BOX 50317 MOBILE AL 36605
WRIGHT WAY TRANSPORTATION SERVICES LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WRIGHT WAY TRUCKING LLC                  OR GATEWAY COMMERCIAL FINANCE P.O BOX 1000. DEPT 996 MEMPHIS TN 38148
WRIGHT XPRESS LLC                        OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
WRIGHT, ABRAHAM                          ADDRESS ON FILE
WRIGHT, ALEX                             ADDRESS ON FILE
WRIGHT, AMY                              ADDRESS ON FILE
WRIGHT, ANDREW                           ADDRESS ON FILE
WRIGHT, ANTHONY                          ADDRESS ON FILE
WRIGHT, ANTHONY                          ADDRESS ON FILE
WRIGHT, ANTHONY                          ADDRESS ON FILE
WRIGHT, ARTHUR                           ADDRESS ON FILE
WRIGHT, ARTURO                           ADDRESS ON FILE
WRIGHT, ASMAR                            ADDRESS ON FILE
WRIGHT, AUSTIN                           ADDRESS ON FILE
WRIGHT, AUSTIN                           ADDRESS ON FILE
WRIGHT, AUSTIN D                         ADDRESS ON FILE
WRIGHT, BARBARA                          ADDRESS ON FILE
WRIGHT, BRADFORD                         ADDRESS ON FILE
WRIGHT, BRANDON                          ADDRESS ON FILE
WRIGHT, CAMERON                          ADDRESS ON FILE
WRIGHT, CARLTON                          ADDRESS ON FILE
WRIGHT, CHRISTOPHER                      ADDRESS ON FILE
WRIGHT, COURTNEY                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                   Page 2111 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 2120 of 2156

Claim Name                        Address Information
WRIGHT, CRAIG                     ADDRESS ON FILE
WRIGHT, DANIEL                    ADDRESS ON FILE
WRIGHT, DANIEL                    ADDRESS ON FILE
WRIGHT, DANIEL                    ADDRESS ON FILE
WRIGHT, DANNY                     ADDRESS ON FILE
WRIGHT, DARIUN                    ADDRESS ON FILE
WRIGHT, DAVID                     ADDRESS ON FILE
WRIGHT, DAVID                     ADDRESS ON FILE
WRIGHT, DAVID                     ADDRESS ON FILE
WRIGHT, DEBORAH                   ADDRESS ON FILE
WRIGHT, DELBERT                   ADDRESS ON FILE
WRIGHT, DELORES W                 ADDRESS ON FILE
WRIGHT, DELORES W                 ADDRESS ON FILE
WRIGHT, DENNIS                    ADDRESS ON FILE
WRIGHT, DERRICK                   ADDRESS ON FILE
WRIGHT, DEVONTE                   ADDRESS ON FILE
WRIGHT, DEVONTE                   ADDRESS ON FILE
WRIGHT, DONALD                    ADDRESS ON FILE
WRIGHT, DONTE                     ADDRESS ON FILE
WRIGHT, DUSTIN                    ADDRESS ON FILE
WRIGHT, FRANKLIN                  ADDRESS ON FILE
WRIGHT, FREDDIE                   ADDRESS ON FILE
WRIGHT, FREDERICK                 ADDRESS ON FILE
WRIGHT, GEORGE                    ADDRESS ON FILE
WRIGHT, GERARDO                   ADDRESS ON FILE
WRIGHT, GREGORY                   ADDRESS ON FILE
WRIGHT, HAMZA                     ADDRESS ON FILE
WRIGHT, HENRY                     ADDRESS ON FILE
WRIGHT, ISAYAS                    ADDRESS ON FILE
WRIGHT, JAMAL                     ADDRESS ON FILE
WRIGHT, JAMES                     ADDRESS ON FILE
WRIGHT, JAMES                     ADDRESS ON FILE
WRIGHT, JAMES                     ADDRESS ON FILE
WRIGHT, JAMES                     ADDRESS ON FILE
WRIGHT, JASON                     ADDRESS ON FILE
WRIGHT, JASON                     ADDRESS ON FILE
WRIGHT, JEFFERY                   ADDRESS ON FILE
WRIGHT, JEFFREY                   ADDRESS ON FILE
WRIGHT, JEFFREY                   ADDRESS ON FILE
WRIGHT, JIM                       ADDRESS ON FILE
WRIGHT, JOE                       ADDRESS ON FILE
WRIGHT, JOHN                      ADDRESS ON FILE
WRIGHT, JOHN                      ADDRESS ON FILE
WRIGHT, JOSEPH                    ADDRESS ON FILE
WRIGHT, JOSEPH                    ADDRESS ON FILE
WRIGHT, JOSEPH                    ADDRESS ON FILE
WRIGHT, JOSEPH                    ADDRESS ON FILE
WRIGHT, JOSHUA                    ADDRESS ON FILE
WRIGHT, JOSHUA                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 2112 OF 2145
                                         Yellow Corporation
                    Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                             Service List
                                                                   Page 2121 of 2156

Claim Name                        Address Information
WRIGHT, JURNEE                    ADDRESS ON FILE
WRIGHT, JUSTIN                    ADDRESS ON FILE
WRIGHT, KAITLIN                   ADDRESS ON FILE
WRIGHT, KATHRYN                   ADDRESS ON FILE
WRIGHT, KAYLIEANA                 ADDRESS ON FILE
WRIGHT, KEANDRE                   ADDRESS ON FILE
WRIGHT, KENDRA                    ADDRESS ON FILE
WRIGHT, KENNETH                   ADDRESS ON FILE
WRIGHT, KRIS                      ADDRESS ON FILE
WRIGHT, LARISA                    ADDRESS ON FILE
WRIGHT, LAVON                     ADDRESS ON FILE
WRIGHT, LEONARD                   ADDRESS ON FILE
WRIGHT, MARCUS                    ADDRESS ON FILE
WRIGHT, MARK                      ADDRESS ON FILE
WRIGHT, MARLYNN                   ADDRESS ON FILE
WRIGHT, MARTIN                    ADDRESS ON FILE
WRIGHT, MARY                      ADDRESS ON FILE
WRIGHT, MCARTHUR                  ADDRESS ON FILE
WRIGHT, MELANIE                   ADDRESS ON FILE
WRIGHT, MICHAEL                   ADDRESS ON FILE
WRIGHT, MITZI                     ADDRESS ON FILE
WRIGHT, NEIMAN                    ADDRESS ON FILE
WRIGHT, NICHOLAS                  ADDRESS ON FILE
WRIGHT, NOBLE                     ADDRESS ON FILE
WRIGHT, OMARR                     ADDRESS ON FILE
WRIGHT, PAT                       ADDRESS ON FILE
WRIGHT, PATRICK                   ADDRESS ON FILE
WRIGHT, PAUL                      ADDRESS ON FILE
WRIGHT, PAUL                      ADDRESS ON FILE
WRIGHT, RICHARD                   ADDRESS ON FILE
WRIGHT, RICHARD                   ADDRESS ON FILE
WRIGHT, ROBERT                    ADDRESS ON FILE
WRIGHT, RONALD                    ADDRESS ON FILE
WRIGHT, RONNIE                    ADDRESS ON FILE
WRIGHT, ROSS                      ADDRESS ON FILE
WRIGHT, SANEH                     ADDRESS ON FILE
WRIGHT, SCOTT                     ADDRESS ON FILE
WRIGHT, SHARA L                   ADDRESS ON FILE
WRIGHT, STACEY                    ADDRESS ON FILE
WRIGHT, STANLEY O                 ADDRESS ON FILE
WRIGHT, STEVE                     ADDRESS ON FILE
WRIGHT, STEVEN                    ADDRESS ON FILE
WRIGHT, STEVEN                    ADDRESS ON FILE
WRIGHT, STEVEN J                  ADDRESS ON FILE
WRIGHT, TANILLIA                  ADDRESS ON FILE
WRIGHT, TERRANCE                  ADDRESS ON FILE
WRIGHT, TIMOTHY                   ADDRESS ON FILE
WRIGHT, TIMOTHY                   ADDRESS ON FILE
WRIGHT, TIMOTHY R                 ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                 Page 2113 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2122 of 2156

Claim Name                           Address Information
WRIGHT, TSHOMBI                      ADDRESS ON FILE
WRIGHT, TYHEIM                       ADDRESS ON FILE
WRIGHT, VEDA                         ADDRESS ON FILE
WRIGHT, VESTER                       ADDRESS ON FILE
WRIGHT, VESTER L                     ADDRESS ON FILE
WRIGHT, WALTER                       ADDRESS ON FILE
WRIGHT, WARREN                       ADDRESS ON FILE
WRIGHT, WILLIAM                      ADDRESS ON FILE
WRIGHT, WILLIAM                      ADDRESS ON FILE
WRIGHT, ZACKARY                      ADDRESS ON FILE
WRIGHT-KNOX MOTOR LINES, INC.        P O BOX 79 ARMAGH PA 15920
WRIGHTS H SERVICE INC                19 BOSTON RD NORTH BILLERICA MA 01862
WRIGHTSELL, TAMMY                    ADDRESS ON FILE
WRIGLEY, KEITH                       ADDRESS ON FILE
WROBEL, SCOTT                        ADDRESS ON FILE
WROBLESKI, MICHAEL                   ADDRESS ON FILE
WROTEN, MICHAEL                      ADDRESS ON FILE
WRUCK, ELISABETH                     ADDRESS ON FILE
WRVES, MIGUEL                        ADDRESS ON FILE
WRZESINSKI, JONATHAN                 ADDRESS ON FILE
WS TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WS TRANSPORTATION                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
WS TRUCK DELIVERY LLC                OR FACTORTEK LLC P.O. BOX 1668 DEPT 330 HOUSTON TX 77251
WSD SERVICE ENTERPRISES, INC.        OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
WSI FREIGHT SOLUTIONS LLC            1160 NORTH MAYFLOWER DR APPLETON WI 54913
WSK MACHINE                          370 INDUSTRIAL DR ROSEBURG OR 97471
WSM EXPRESS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WSSC                                 14501 SWEITZER LN LAUREL MD 20707
WT & L TRUCKING LLC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WT EMPIRE INC                        2190 JORDAN COURT ELGIN IL 60123
WT LUCKY TRUCK INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WT TRANSPORT LLC                     OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
WTA TRANSPORT LLC                    26833 KINGSWOOD DR DEARBORN HEIGHTS MI 48127
WTS BRINKLEY LLC                     OR LOVES SOLUTIONS LLC, PO BOX 639565 CINCINNATI OH 45263-9565
WU, ANGIE                            ADDRESS ON FILE
WU, CHENXIANG                        ADDRESS ON FILE
WU, CHENXIANG                        ADDRESS ON FILE
WU, VICTOR                           ADDRESS ON FILE
WUCHERER, PAMELA J                   ADDRESS ON FILE
WUEST, MARK                          ADDRESS ON FILE
WULBIEN LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WULF, CLAUDIA                        ADDRESS ON FILE
WULF, VANESSA                        ADDRESS ON FILE
WULFE, SKYLAR                        ADDRESS ON FILE
WUNDER, ALBERT                       ADDRESS ON FILE
WUNDER, BRIAN                        ADDRESS ON FILE
WUNDERLE, BRIAN                      ADDRESS ON FILE
WUNDERLICH, DAVID                    ADDRESS ON FILE
WURTH USA INC                        PO BOX 415889 BOSTON MA 02241-5889



Epiq Corporate Restructuring, LLC                                                               Page 2114 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2123 of 2156

Claim Name                           Address Information
WURZER, LYLE                         ADDRESS ON FILE
WUXI ADVANCED THERAPIES              4701 LEAGUE ISLAND BLVD PHILADELPHIA PA 19112
WV DOT                               1900 KANAWHA BLVD E BUILDING 5 CHARLESTON 25305
WVC UTILITY BILLING                  2805 S 3600 W WEST VALLEY CITY UT 84119
WW BRIDGE TRANSPORT INC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WW TRUCKING INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
WW WILLIAMS                          ADDRESS ON FILE
WWE                                  2323 VICTORY AVE 1600 DALLAS TX 75219
WWE                                  ATTN: CHRISTOPHER FARRELL SPIRIT PHARMA 2323 VICTORY AVE STE 1600 DALLAS TX
                                     75219
WWE                                  C/O POLYMERSHAPES 2323 VICTORY AVE 1600 DALLAS TX 75219
WWE                                  C/O S & S SUPPLIES & SOLUTIONS 2323 VICTORY AVE 1600 DALLAS TX 75219
WWE                                  C/O THUNDERBIRD INDUSTRIES 2323 VICTORY AVE 1600 DALLAS TX 75219
WWE                                  ATTN: CHRISTOPHER FARRELL HR PHARMA INC 2700 COMMERCE STREET, STE 1500 DALLAS
                                     TX 75226
WWE                                  ATTN: ERCILIA CANTARERO C/O TRINITY INTL INDUSTRIES 2700 COMMERCE ST 1500
                                     DALLAS TX 75226
WWE                                  ATTN: ERCILIA CANTARERO SANDY NECK TRADERS 2700 COMMERCE STREET STE 1500
                                     DALLAS TX 75226
WWE C/O BART MANUFACTURING           2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O CATCH SURF                   2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O CENTURY SNACKS               2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O CENTURY SNACKS               2323 VICTORY AVE STE 1600 DALLAS TX 75219
WWE C/O CORE COVERS                  2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O DAVIDSON ARIZONA             2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O DAVIDSONS                    2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O HARTUNG GLASS IND            2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O KODIAK KOOLER                2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O MOTHERLODE CO-PACKING        2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O N2 PACKAGING                 ATTN: ERCILIA CANTARERO 2700 COMMERCE ST 1500 DALLAS TX 75226
WWE C/O ROMAN MENDOZA                2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O STENGEL BROS                 ATTN: CHRISTOPHER FARRELL 2700 COMMERCE ST 1500 DALLAS TX 75226
WWE C/O TIJUANA                      2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O TIJUANA CC                   2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O TOTAL SAFETY SUPPLIES        2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O TRIDENT RBR                  2323 VICTORY DR, SUITE 1600 DALLAS TX 75219
WWE C/O VOLTERRA                     2323 VICTORY AVE 1600 DALLAS TX 75219
WWE C/O ZEUS STRONG                  2323 VICTORY AVE 1600 DALLAS TX 75219
WWE HARMONY SECURI                   SUITE 1600, 2323 VICTORY AVE DALLAS TX 75219
WWEX AHT COOLING SYSTEMS             ATTN: ANNA DAVIDSON 2700 COMMERCE ST, 15TH FLOOR DALLAS TX 75226
WWEX ALPINE4U                        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX AMA CONTAINERS                  ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX AMERICAN ALUMINUM ACCES         ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX ASSOCIATED ENERGY SYSTE         ATTN: ANNA DAVIDSON 2700 COMMERCE ST, 15TH FLOOR DALLAS TX 75226
WWEX BEAM LITE INDUSTRIES            ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX BEGA US CURRENT                 ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX BELLS OF STEEL                  ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX BEST COB                        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX BETTER LIFE TECHNOLOGY          ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX BODE EQUIPMENT                  ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226


Epiq Corporate Restructuring, LLC                                                               Page 2115 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2124 of 2156

Claim Name                           Address Information
WWEX C/O ALEO LED LIGHTING           2323 VICTORY AVE 1600 DALLAS TX 75219
WWEX C/O ANY BREAKERS INC            ATTN: CLAIMS FILING L CLAIMS FILING 2700 COMMERCE ST STE 1500 DALLAS TX 75226
WWEX C/O CENTURY SNACKS              ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE ST STE 1500 DALLAS TX 75226
WWEX C/O CENTURY SNACKS              ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEX C/O DOVER MEI                   ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE ST STE 1500 DALLAS TX 75226
WWEX C/O DURHAM MANUFACTURING        ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE ST STE 1500 DALLAS TX 75226
WWEX C/O DURHAM MANUFACTURING        ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEX C/O GLEN-GERY                   MID-ATLANTIC STE1600, 2323 VICTORY AVE DALLAS TX 75219
WWEX C/O JOHNSON.HARDWOOD            ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE ST STE 1500 DALLAS TX 75226
WWEX C/O JSI CABINETRY               2323 VICTORY AVE STE 1600 DALLAS TX 75219
WWEX C/O MUNN WORK                   ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEX C/O TIJUANA                     ATTN: CLAIMS FILING CLAIMS FILING 2700 COMMERCE ST STE 1500 DALLAS TX 75226
WWEX CHANNEL MANUFACTURING           ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX CHOICE BOOKS                    ATTN: BREE DAVIDSON 2323 VICTORY AVE STE 1600 DALLAS TX 75219
WWEX CHOICE BOOKS                    ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX CORPESIGN                       ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX DELTA GLOVES                    ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX FRIANT - VA                     ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX GO POWERSPORTS                  ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX GREENCHEM INDUSTRIES            ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX GTM USA                         ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX HR PHARMA INC                   ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX ICERA USA                       ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX JDS INDUSTRIES, INC.            ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX JENRAY PRODUCTS                 ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX LAROSA                          ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX LTI SERVICES                    ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX MARQ ENTERPRISES                ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX MID-STATES SERVICES             ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX MIR MOSAIC                      ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX MONSMA MARKETING                ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX MR BULTS                        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX NOVILAND, INC.                  ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX NUVO H2O                        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX O.BERK COMPANY                  ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX OIL AIR PRODUCTS LLC            ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX OTC LOGISTICS LLC               ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX OVATION CABINETRY               ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75219
WWEX PAD DEPOT                       ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX PELICAN WORLDWIDE               ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX POWERBLOCK                      ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX PRIMARYSOURCE DISTRIBUT         ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX PRO FORM LABS - PO 3926         ATTN: ANNA DAVIDSON 2700 COMMERCE ST, 15TH FLOOR DALLAS TX 75226
WWEX RKM FIREWORKS COMPANY           ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX SHAH BROTHERS                   ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX SHOWCASE SOURCE                 ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX SONICA                          ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX SOUTHWESTERN                    ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX STONEBROOKE EQUIPMENT           ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226



Epiq Corporate Restructuring, LLC                                                             Page 2116 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 2125 of 2156

Claim Name                          Address Information
WWEX T T INDUSTRIES INC- ARI        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX TACOMA PARTS CORPORATIO        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX TEMETAL RECYCLING INVES        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX THERMOSERV                     ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX TIFFIN MOTORHOMES              ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX TKR TRANSMISSIONS              ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX TOOLOTS                        ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX TRINIC LLC-IML                 ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX VANAIR                         ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEX WINGARD CO INC                 ATTN: CHRISTOPHER FARRELL 2700 COMMERCE STREET, STE 1500 DALLAS TX 75226
WWEXACD DISTRIBUTION - CA           ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXADORE FLOORS                    ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXASC WAREHOUSE                   ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXCBS NUTS                        ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXCHEM BOYS                       ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXDAVID GOODING INC               ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXDRAWER CONNECTION, INC.         ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXEASTERN INDUSTRIAL AUTOMA       ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXFRIANT                          ATTN: ERCILIA CANTARERO 2700 COMMERCE ST STE 1500, DALLAS TX 75226
WWEXGILTNER INC.                    ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXILMOR MARINE                    ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXKAPER 2                         ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXKOBELCO WELDING CHICAGO         ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXNUVO H2O                        ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXOCTOTRIAD INDUSTRIES LLC        ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXRF AGRICULTURE                  ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWEXWILLIENT LLC                    ATTN: ERCILIA CANTARERO 2700 COMMERCE STREET 1500 DALLAS TX 75226
WWP TRANSPORTATION LLC              OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
WWW.INSULATION4LESS.COM             ATTN: KATHY BARBER 8801 WALLISVILLE RD STE C HOUSTON TX 77029
WYANDOTTE ELECTRIC                  961 FORD AVE, WYANDOTTE MI 48192
WYATT DOWLING INSURANCE             5 - 1353 MCPHILLIPS ST WINNIPEG MB R2X 3A6 CANADA
WYATT ELECTRICAL SERVICES, INC.     1149 BUTTERNUT ABILENE TX 79602
WYATT G SWANSON                     ADDRESS ON FILE
WYATT MOORE                         ADDRESS ON FILE
WYATT, BRADLEY                      ADDRESS ON FILE
WYATT, KEITH                        ADDRESS ON FILE
WYATT, KIRA                         ADDRESS ON FILE
WYATT, MELONEE                      ADDRESS ON FILE
WYATT, ROBERT                       ADDRESS ON FILE
WYATT, ROY                          ADDRESS ON FILE
WYATT, STEVEN A                     ADDRESS ON FILE
WYATT, WOODY                        ADDRESS ON FILE
WYATTS TOWING & RECOVERY INC        PO BOX 835 SULPHUR SPRINGS TX 75483
WYCHE TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
WYCHE, GLEN                         ADDRESS ON FILE
WYCHE, GREGORY                      ADDRESS ON FILE
WYCHE, LYRON                        ADDRESS ON FILE
WYCKOFF, CHARLES                    ADDRESS ON FILE
WYE ELECTRIC INC                    201 NEW NATCHITOCHES ROAD, PO BOX 215 WEST MONROE LA 71294



Epiq Corporate Restructuring, LLC                                                            Page 2117 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                          Page 2126 of 2156

Claim Name                          Address Information
WYGLE, FRED                         ADDRESS ON FILE
WYKANS EXPRESS LLC                  OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
WYKE, WILLIAM                       ADDRESS ON FILE
WYKOFF, MICHAEL                     ADDRESS ON FILE
WYLDES, TIMOTHY                     ADDRESS ON FILE
WYLEY, BERTHA                       ADDRESS ON FILE
WYLIE, JAMIE                        ADDRESS ON FILE
WYLIE, JEFFREY                      ADDRESS ON FILE
WYLUCKI, JOHN                       ADDRESS ON FILE
WYMAN, REENA                        ADDRESS ON FILE
WYMAN, ROBERT                       ADDRESS ON FILE
WYMER, JAMES                        ADDRESS ON FILE
WYMETALEK, ROBERT                   ADDRESS ON FILE
WYMONG DEPT OF TRANSPORTATION       PO BOX 60770 ATTN CMR OKLAHOMA CITY OK 73146
WYNDELL R JENKINS                   ADDRESS ON FILE
WYNDHAM COLLECTION                  1175 AVIATION PL SAN FERNANDO CA 91340
WYNDHAM COLLECTION                  ATTN: VIRGINIA CASTRO CLAIMS 1175 AVIATION PL SAN FERNANDO CA 91340
WYNDHAM COLLECTION                  ATTN: WYNDHAM COLLECTION CLAIMS 1175 AVIATION PL SAN FERNANDO CA 91340
WYNDHAM HOTEL                       2544 EXECUTIVE DRIVE INDIANAPOLIS IN 46241
WYNIA, TODD                         ADDRESS ON FILE
WYNKOOP, MARIA                      ADDRESS ON FILE
WYNN LOGISTICS                      OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
WYNN LOGISTICS INC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
WYNN TRANSPORTATION                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
WYNN, BRAD                          ADDRESS ON FILE
WYNN, CHASE                         ADDRESS ON FILE
WYNN, CHAYCE                        ADDRESS ON FILE
WYNN, DAKOTA                        ADDRESS ON FILE
WYNN, ERIC                          ADDRESS ON FILE
WYNN, JEREMY K                      ADDRESS ON FILE
WYNN, KENNETH                       ADDRESS ON FILE
WYNN, RON                           ADDRESS ON FILE
WYNN-BEY LLC                        1791 FOREST DR EUCLID OH 44117-2259
WYNNE, NORRIS                       ADDRESS ON FILE
WYNNS TRUCKING LLC                  OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
WYNTER XPRESS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
WYNTER, KASHIN                      ADDRESS ON FILE
WYOMING CITY TREASURER              1155 - 228TH STREET SW PO BOX 905 WYOMING MI 49509
WYOMING DEPARTMENT OF AGRICULTURE   ATTN: TECHNICAL SERVICES, 2219 CAREY AVE CHEYENNE WY 82002
WYOMING DEPARTMENT OF REVENUE       HERSCHLER BLDG, 122 25TH ST CHEYENNE WY 82002
WYOMING DEPARTMENT OF REVENUE       122 W 25TH ST, HERSCHLER BUILDING CHEYENNE WY 82002
WYOMING STATE TREASURER             UNCLAIMED PROPERTY DIVIDION 122 W 25TH ST SUITE E300 CHEYENNE WY 82002
WYOMING TRUCKING ASSOCIATION        555 N POPLAR ST, PO BOX 1175 CASPER WY 82602
WYPIJ, JAMES                        ADDRESS ON FILE
WYPIJ, JAMES D                      ADDRESS ON FILE
WYRICK, AUSTIN                      ADDRESS ON FILE
WYROSDICK, BEAU                     ADDRESS ON FILE
WYROSDICK, CHELSEY                  ADDRESS ON FILE
WYSE, DARRIN                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                           Page 2118 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                               Page 2127 of 2156

Claim Name                             Address Information
WYSZYNSKI, PAUL                        ADDRESS ON FILE
WYSZYNSKI, PAUL                        ADDRESS ON FILE
WYTHEVILLE AUTO & TRUCK REPAIR LLC     900 INDUSTRY RD WYTHEVILLE VA 24382
WYTTENBACH, JOHN D                     ADDRESS ON FILE
X & W EXPRESS INC                      7106 EVENING SUN CT EASTVALE CA 92880
X FACTOR EXPRESS, LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
X M TRUCKING CORP                      OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
X PLUS TRUCKING INC.                   9961 TROY LN N, N MAPLE GROVE MN 55311
X TRANS INC                            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
X TRANSPORT INC                        5 CHAPPARAL DR BRAMPTON ON L6R 3C5 CANADA
X&I LOGISTICS LLC                      OR QP CAPITAL LLC, PO BOX 1062 MIDDLETOWN OH 45042
X-CEL CHEMICAL LLC                     PO BOX 14 GRANDVILLE MI 49468-0014
X-GAMBLER, LLC                         OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
X-MAS COMPANY                          OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
X-MILE CARRIERS LLC                    C/O POST OFFICE BOX 88081 TUKWILA WA 98138
X-PEDITE CARGO INC                     OR CD CONSORTIUM 8930 WAUKEGAN RD STE 230 MORTON GROVE IL 60053
X-PLO / E-Z STO                        1080 MILITARY TPKE STE 1 PLATTSBURGH NY 12901
X-PRESS FREIGHT LLC                    OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
X-PRESS TRANSPORT SERVICES INC         OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
X-TRUX, INC.                           PO BOX 293 SIOUX FALLS SD 57104
X1 USA                                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XAT LOGISTICS LLC                      OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
XAVIER INC                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
XAVIER NORMAN                          ADDRESS ON FILE
XAVIER, JACK                           ADDRESS ON FILE
XAYASANE, LATH                         ADDRESS ON FILE
XAYAVONGSA, PHETH                      ADDRESS ON FILE
XC TRANSPORT                           7331 OXBRIDGE PLACE INDIANAPOLIS IN 46259
XCEL ENERGY                            414 NICOLLET MALL MINNEAPOLIS MN 55401
XCELERATED TRANSPORTATION GROUP, LLC   1888 EAST LOCKHEED CT STOCKTON CA 95206
XCELIGENT, INC.                        ATTN: GENERAL COUNSEL 103 SE MAGELLAN DR BLUE SPRINGS MO 64014
XCELLENT TRANSPORTATION LLC            OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
XCLUSIVE XPRESS INC                    P O BOX 112 SUN VALLEY CA 91352
XCOMET LOGISTICS LLC                   OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
XDL TRUCKING INC                       1112 N EUCLID AVE ONTARIO CA 91762
XELA EXPRESS INC                       OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
XELA TRANSPORT INC                     OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
XENOS, BENJAMIN                        ADDRESS ON FILE
XEROX CANADA INC                       PO BOX 4568 STN A TORONTO ON M5W 4T8 CANADA
XEROX CANADA INC                       PO BOX 4539 STN A TORONTO ON M5W4P5 CANADA
XEROX FINANCIAL SERVICES LLC           PO BOX 202882 DALLAS TX 75320-2882
XFINITY FREIGHT SYSTEMS INC            OR CARRIERNET GROUP FINANCIAL INC PO BOX 1130 SIOUX FALLS SD 57101
XIDES, NICK                            ADDRESS ON FILE
XIMA TRANSPORTATION CORP               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
XIONG, CHEC                            ADDRESS ON FILE
XIONG, ELVIS                           ADDRESS ON FILE
XIONG, JADE                            ADDRESS ON FILE
XIONG, KEE                             ADDRESS ON FILE
XIONG, NYAJ                            ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                 Page 2119 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                              Page 2128 of 2156

Claim Name                              Address Information
XIONG, THONG                           ADDRESS ON FILE
XIONG, TONG                            ADDRESS ON FILE
XIONG, TONY                            ADDRESS ON FILE
XJ TRANSPORTATION LLC                  OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
XKILLSWITCH LLC                        145 NIELSON ST APT 301 NEW BRUNSWICK NJ 08901
XL CONSTRUCTION                        851 BUCKEYE COURT MILPITAS CA 95035
XLIV CARRIERS, LLC                     OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
XLW TRANSPORTATION INC                 1015 ARCADIA AVE UNIT 15 ARCADIA CA 91007
XNR LOGISTICS CO                       1302 WYNCREST DR BALLWIN MO 63011-4414
XODUS MEDICAL                          ATTN: DAN EVANS 204 MYLES NEW KENSINGTON PA 15068
XODUS MEDICAL                          ATTN: DAN EVANS 702 PROMINENCE DR NEW KENSINGTON PA 15068
XOLOTLAN LOGISTICS, LLC.               OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
XOLOTLAN TRANSPORT LLC                 OR ATLAS FACTORING LLC 906 N. MESA STE 301 EL PASO TX 79902
XON LOGISTIC LLC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XP QUALITY LOGISTICS LLC               OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
XPAC                                   678 WINTHROP AVE ADDISON IL 60101
XPATH TRUCKING LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
XPEDITED TRUCKING INC                  OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
XPERT EXCAVATING                       C\O JACOB BROWN, 20264 ATLANTA ROAD BRIDGEVILLE DE 19933
XPL CARGO LLC                          OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
XPO                                    5 AMERICAN LN GREENWICH 06831
XPO INTERMODAL SOLUTIONS               D/B/A: STG INTERMODAL SOLUTIONS PO BOX 847210 LOS ANGELES CA 90084-7210
XPO LOGISTICS                          151 W JOHNSTOWN RD GAHANNA OH 43230
XPO LOGISTICS                          29559 NETWORK PLACE CHICAGO IL 60673
XPO LOGISTICS FREIGHT INC.             2211 OLD EARHART ROAD ANN ARBOR MI 48105
XPOLOGISTICS                           ATTN: DON SCHUTZ CARGO CLAIMS / MCG PO BOX 2688 PORTLAND OR 97208
XPORTER TRANSIT SERVICES LLC           OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
XPR FREIGHT LLC                        OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
XPRESS AUTO & TRUCK SERVICE, INC.      P.O. BOX 97 2320 WHITEHOUSE- SPENCER ROAD SWANTON OH 43558
XPRESS CARGO INC                       PO BOX 150214 OGDEN UT 84115-0214
XPRESS DELIVERY                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XPRESS DELIVERY INC                    OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
XPRESS ELITE CARRIERS LLC              OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
XPRESS FREIGHT INC.                    OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
XPRESS FREIGHT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XPRESS FREIGHT SOLUTION LLC            OR ITHRIVE FUNDING PO BOX 1000 DEPT 848 MEMPHIS TN 38148-1000
XPRESS IT TRANSPORT LLC                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
XPRESS LANE CARRIERS LLC               OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
XPRESS LANE TRUCKING LLC               OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
XPRESS LOGISTICS LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
XPRESS TRANS INC                       P O BOX 1178 CERES CA 95307
XPRESS TRANSPORT & EXPORT LOGISTICS LLC OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
XPRESS TRUCK LINES INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
XPRESS TRUCKING                        P.O. BOX 6274 KAHULUI HI 96733
XPRESS TRUCKING SERVICE INC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XPRESS WAY LLC                         OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
XPRESS WELLNESS URGENT CARE            701 CEDAR LAKE BLVD STE 120 OKLAHOMA CITY OK 73114
XPRESS WELLNESS URGENT CARE            2036 S MILLER LN STE F CATOOSA OK 74015
XPRIME LLC                             OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                                 Page 2120 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 2129 of 2156

Claim Name                            Address Information
XPRO EXPRESS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
XPRS                                  555 S RENTON VILLAGE PL 580 RENTON WA 98057
XPT LOGISTICS, INC.                   OR PRO FUNDING INC DEPT 3045 PO BOX 1000 MEMPHIS TN 38148
XPT LOGISTICS, INC.                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XR EXPRESS INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
XR TRUCKING LLC                       OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
XR XPRESS INC                         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
XROADS TRANSPORTATION LLC             OR YANKTON FACTORING, INC, PO BOX 217 YANKTON SD 57078
XRP TRUCKING INC                      OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
XRS TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XST LOGISTICS                         OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
XT TRANSPORT                          15 RUE DES MARGUERITES LA PRAIRIE QC J5R 4G6 CANADA
XTL, INC.                             3200 S 70TH ST PHILADELPHIA PA 19153
XTRA LEASE LLC                        PO BOX 99262 CHICAGO IL 60693
XTRA LEASE LLC                        PO BOX 219562 KANSAS CITY MO 64121
XTRA LEASE LLC                        PO BOX 219563 KANSAS CITY MO 64121
XTRA LEASE LLC                        PO BOX 219562 KANSAS CITY MO 64121-9562
XTRA XPRESS INC                       9257 S 51ST ST FRANKLIN WI 53132
XTREME FREIGHT SYSTEM INC             OR CRESTMARK PO BOX 3625 COMMERCE CT POSTAL STATION TORONTO ON M5L1K1 CANADA
XTREME SUPREME TRUCKING LLC           OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
XTREME TRANSPORTS INC                 OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
XTREME TRUCK AND TRAILER REPAIR LLC   5005 CANADIAN AVE MIDLAND TX 79707
XTREME TRUCKING LLC                   2401 PLYMOUTH ST NEW HOLSTEIN WI 53061
XTREME TRUCKING LLC (MC1132311)       OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
XTREME XPRESS LLC                     158 ALMA STREET SPARTA MI 49345
XXII CENTURY INC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
XXODUX TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
XXX EXPRESS INC                       OR J D FACTORS, LLC, PO BOX 687 WHEATON IL 60187
XXX XPRESS INC                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
XYL EXPRESS INC                       201 RITCHIE ROAD BLDG C CAPITOL HEIGHTS MD 20743
XYLEM                                 SUITE 300 CONDATA OAK BROOK IL 60523
XYLEM INC CASS                        1 GOULDS DR AUBURN NY 13021
XYLEM WATER SYSTEMS LLC USA           ATTN: DAVID WRIGHT 1 GOULDS DR AUBURN NY 13021
Y & A SUNSHINE INC                    OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
Y & A TRANSPORT INC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
Y & A TRANSPORT LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
Y & B TRANSPORTATION LLC              OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
Y & D DELIVERY EXPRESS INC            OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
Y & J EXPRESS LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415
Y & J EXPRESS TRANSPORT LLC           OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
Y & J TRANSPORT SERVICES LLC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
Y & R TRUCKING AND LOGISTICS LLC      OR INTERNET TRUCKSTOP PAYMENTS LLC PO BOX 7410411 CHICAGO IL 60674-0411
Y & T EXPRESS INC.                    12341 SEA BISCUIT CT JACKSONVILLE FL 32225
Y & Y                                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
Y & Y OJITO EXPRESS                   OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
Y ACOSTA BASULTO TRUCKING LLC         OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
Y AND H TRANSPORT LLC                 OR FREIGHT FUNDING LLC, PO BOX 16180 JONESBORO AR 72403
Y AND M TRUCKING LLC                  OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
Y B R TRANSPORT CORP                  OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773



Epiq Corporate Restructuring, LLC                                                                Page 2121 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2130 of 2156

Claim Name                           Address Information
Y C EXPRESS LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
Y E F TRANSPORTATION LLC             OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
Y F TRUCKING INC                     6776 ANNEBURY DR CORONA CA 92880
Y INTERNATIONAL                      11918 HUECO TANKS DRIVE SUGARLAND TX 77498
Y P M TRANSPORT CORP                 OR TAB BANK, PO BOX 150830 OGDEN UT 84415
Y PANDO TRUCKING INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
Y V TRUCKING, INC                    OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
Y Y J TRANSPORT CORP                 OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
Y&C FAMILY TRUCKING LLC              OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84415
Y&C LOGISTICS LLC                    OR FARWEST CAPITAL, PO BOX 961209 EL PASO TX 79996
Y&G TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
Y&L TRANSPORTATION LLC               73 RIVERSIDE AVE APT A NORWALK CT 06850
Y&Y LOAD SERVICES LLC                OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
Y&Y TRANSPORTATION SERVICES LLC      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
Y.M.D. LANES INC.                    421 ALPINE DR ALGONQUIN IL 60102
YAAK, GABRIEL                        ADDRESS ON FILE
YAARAME TRANSPORT LLC                OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
YAC SANCHEZ, DIEGO                   ADDRESS ON FILE
YACOB, YOUSEF                        ADDRESS ON FILE
YADA LOGISTICS INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
YAEGER, MICHAEL                      ADDRESS ON FILE
YAEL TRUCKING LLC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
YAFO TRANSPORT LLC                   OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
YAFU TRANSPORT LLC                   OR COMFREIGHT HAULPAY, PO BOX 200400 DALLAS TX 75320-0400
YAGHMA, SAEED                        ADDRESS ON FILE
YAGLE, JOEL                          ADDRESS ON FILE
YAHAMA MOTOR CORP/LOGISTICS          ATTN: ZVART NAHABEDIAN 6555 KATELLA AVE CYPRESS CA 90630
YAHAS                                308 PLUS PARK BLVD. APT. E15 NASHVILLE TN 37217-1013
YAHAYA, MUHAMMAD                     ADDRESS ON FILE
YAHYA TRUCKING LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YAKIMA C/O ECHO                      ATTN: JACQUELINE CARRUTHERS 600 W CHICAGO AVE CHICAGO IL 60654
YAKIMA C/O ECHO GLOBAL LOG           600 W CHICAGO AVE 725 CHICAGO IL 60654
YAKIMA CITY OF                       PUBLIC WORKS, 2301 FRUITVALE BLVD YAKIMA WA 98902
YAKIMA COUNTY TREASURER              PO BOX 22530 YAKIMA WA 98907
YAKIMA PRODUCTS                      ECHO GLOBAL LOGISTICS 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
YAKIMA WORKER CARE PLLC              DBA YAKIMA WORKER CARE 409 S 12TH AVE YAKIMA WA 98902
YAKUBICKA, PAUL                      ADDRESS ON FILE
YAKUBOV, VICTOR                      ADDRESS ON FILE
YALONG LLC                           OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
YAMADA NORTH AMERICA                 9000 COLUMBUS CINCINNATI ROAD S. CHARLESTON OH 45368
YAMADA, DEBBIE                       ADDRESS ON FILE
YAMAHA MOTOR CORP                    6555 KATELL AVE CYPRESS CA 90630
YAMAHA MOTOR CORP                    6555 KATELLA AVE CYPRESS CA 90630
YAMAHA MOTOR CORP                    ATTN: DANIELA CASTILLO 6555 KATELLA AVE CYPRESS CA 90630
YAMAHA MOTOR CORP                    ATTN: DANIELA CASTILLO LOGISTICS 6555 KATELLA AVE CYPRESS CA 90630
YAMAHA MOTOR CORP                    ATTN: ZVART NAHABEDIAN LOGISTICS 6555 KATELLA AVE CYPRESS CA 90630
YAMAHA MOTOR CORP                    LOGISTICS 6555 KATELLA AVE CYPRESS CA 90630
YAMAHA MOTOR CORP./LOGISTICS         ATTN: DANIELA CASTILLO 6555 KATELLA VE CYPRESS CA 90630
YAMAHA MOTOR CORPORATION             6555 KATELLA AVE CYPRESS CA 90630-5101



Epiq Corporate Restructuring, LLC                                                               Page 2122 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2131 of 2156

Claim Name                           Address Information
YAMAHA OF WARREN, INC.               ATTN: JIM IACOZILI 4867 MAHONING AVE NW WARREN OH 44483-1430
YAMAMURA, ROSON                      ADDRESS ON FILE
YAMAOKA, DALE                        ADDRESS ON FILE
YAMAUCHI, CHRISTOPHER                ADDRESS ON FILE
YAMBASU, SIA                         ADDRESS ON FILE
YAMBAY, MARIO                        ADDRESS ON FILE
YAMI TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YAN                                  1103 WESTWOOD AVE. ADDISON IL 60101
YANAVOK, STEPHEN                     ADDRESS ON FILE
YANCEY & CO TRANSPORT                OR G SQUARED FUNDING LLC 8215 ROSWELL RD BUILDING 600 SANDY SPRINGS GA 30350
YANCEY JR, PATRICK                   ADDRESS ON FILE
YANCEY, BRADLEY                      ADDRESS ON FILE
YANCEY, DOUGLAS                      ADDRESS ON FILE
YANCEY, ERIKA                        ADDRESS ON FILE
YANCEY, JEFFERY                      ADDRESS ON FILE
YANCEY, MICHAEL                      ADDRESS ON FILE
YANCEY, RONALD                       ADDRESS ON FILE
YANCEY, WESLEY                       ADDRESS ON FILE
YANCY                                PO BOX 10486 GLENDALE AZ 85318
YANCY, VERONICA                      ADDRESS ON FILE
YANCZER, DONALD                      ADDRESS ON FILE
YANEZ GOMEZ, JORGE                   ADDRESS ON FILE
YANEZ TRANSPORT                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
YANEZ, BENJAMIN                      ADDRESS ON FILE
YANEZ, MANUEL                        ADDRESS ON FILE
YANG, ALANGHA                        ADDRESS ON FILE
YANG, DAVID                          ADDRESS ON FILE
YANG, DONGXU                         ADDRESS ON FILE
YANG, GAOLEDA                        ADDRESS ON FILE
YANG, MARCELLA                       ADDRESS ON FILE
YANG, STEVE                          ADDRESS ON FILE
YANG, VINCENT                        ADDRESS ON FILE
YANG, ZYNO                           ADDRESS ON FILE
YANI TRANSPORT LLC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
YANI TRANSPORTATION INC              OR ASSIST FINANCIAL SERVICES INC PO BOX 347 MADISON SD 57042
YANKEE CANDLE CO                     ATTN: JESS WELLS 27 YANKEE CANDLE WAY S DEERFIELD MA 01373
YANKEE FREIGHT SYSTEMS LLC           OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
YANKEE, JOE                          ADDRESS ON FILE
YANNI, CHRISTOPHER                   ADDRESS ON FILE
YANT EQUIPMENT                       2309 N 15TH ST E OMAHA NE 68110
YANTO, CHARMANE                      ADDRESS ON FILE
YANTO, CHARMANE                      ADDRESS ON FILE
YANTZ, GRACE                         ADDRESS ON FILE
YANTZER, MARK                        ADDRESS ON FILE
YAPABANDARA, GIM                     ADDRESS ON FILE
YAPHET EXPRESS LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YARA FREIGHT LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
YARBROUGH INDUSTRIES                 514 N FREMONT SPRINGFIELD MO 65802
YARBROUGH, ANTONIO                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                            Page 2123 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2132 of 2156

Claim Name                          Address Information
YARBROUGH, CAROL                    ADDRESS ON FILE
YARBROUGH, DANNY                    ADDRESS ON FILE
YARBROUGH, GERALD                   ADDRESS ON FILE
YARBROUGH, JERRY                    ADDRESS ON FILE
YARBROUGH, RONNIE                   ADDRESS ON FILE
YARBROUGH, STERLING                 ADDRESS ON FILE
YARBROUGH, TAREQ                    ADDRESS ON FILE
YARD AND FACILITY MAINTENEANCE      21 RAILWAY ST WINDHAM CENTRE ON N0E 2A0 CANADA
YARD MULE SPECIALISTS, INC.         8325 BROADWAY STREET, SUITE 202 120 PEARLAND TX 77581
YARD TRUCK SPECIALISTS, INC.        1510 FORD RD BENSALEM PA 19020
YARD TRUCK SPECIALISTS, INC.        PARTS DEPARTMENT 1510 FORD ROAD, PO BOX 421 BENSALEM PA 19020
YARD TRUCK SPECIALISTS, INC.        RENTAL DEPARTMENT PO BOX 421 1510 FORD ROAD BENSALEM PA 19020
YARD TRUCK SPECIALISTS, INC.        SERVICE DEPARTMENT 1510 FORD ROAD, PO BOX 421 BENSALEM PA 19020
YARED TRUCKING LLC                  9516 N DWIGHT AVE PORTLAND OR 97203
YARGER, TIMOTHY                     ADDRESS ON FILE
YARIFRE EXPRESS INC                 OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
YARNELL, CARLA                      ADDRESS ON FILE
YAROS, JOHN                         ADDRESS ON FILE
YARRA EXPRESS LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
YARRINGTON, DANIEL                  ADDRESS ON FILE
YARRINGTON, PAUL                    ADDRESS ON FILE
YARRISON, SCOTT A                   ADDRESS ON FILE
YARULIN, VLADIMIR                   ADDRESS ON FILE
YARWICK, STEPHEN                    ADDRESS ON FILE
YASA EXPRESS LOADS INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
YASARLAR, OMER                      ADDRESS ON FILE
YASCO TRUCKING, LLC                 OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312
YASENCHAK, JOHN S                   ADDRESS ON FILE
YATES - ASTRO TERMITE AND           PEST CONTROL COMPANY 1030 LYNES AVE. P.O. BOX 23313 SAVANNAH GA 31403
YATES TRUCKING LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
YATES, DAVID C                      ADDRESS ON FILE
YATES, DIRK                         ADDRESS ON FILE
YATES, ERICA                        ADDRESS ON FILE
YATES, FREDERICK                    ADDRESS ON FILE
YATES, JAMES                        ADDRESS ON FILE
YATES, JAMES                        ADDRESS ON FILE
YATES, JOCELYN                      ADDRESS ON FILE
YATES, JONATHAN                     ADDRESS ON FILE
YATES, JOSHUA                       ADDRESS ON FILE
YATES, KENNY                        ADDRESS ON FILE
YATES, KYLE J                       ADDRESS ON FILE
YATES, MARK                         ADDRESS ON FILE
YATES, RODERICK                     ADDRESS ON FILE
YATES, SHAWN                        ADDRESS ON FILE
YATES, VIRGIL                       ADDRESS ON FILE
YATUMBA TRANSPORTATION              4192 NORTHVIEW PLAZA JACKSON MS 39206
YAVORSKYS TRUCK SERVICE INC         10960 ORANGE AVE FORT PIERCE FL 34945
YAYA TRUCKING INC                   7801 W 97TH ST HICKORY HILLS IL 60457
YAYA TRUCKING LLC                   OR TAFS, INC, PO BOX 872632 KANSAS CITY MO 64187



Epiq Corporate Restructuring, LLC                                                              Page 2124 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2133 of 2156

Claim Name                           Address Information
YAYA TRUCKING LLC (MC1116883)        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
YAYA, RASHEED                        ADDRESS ON FILE
YAZOO MILLS INCORPORATED             PO BOX 369, ATTN: RICHARD WAGAMAN NEW OXFORD PA 17350
YB LOGISTICS LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YBANEZ-OSORIO, JORGE                 ADDRESS ON FILE
YBARBO, RICHARD D                    ADDRESS ON FILE
YBARRA, ALEJANDRO                    ADDRESS ON FILE
YBARRA, BYRON                        ADDRESS ON FILE
YBARRA, DANIEL L                     ADDRESS ON FILE
YBARRA, DAVID                        ADDRESS ON FILE
YBARRA, FABIAN                       ADDRESS ON FILE
YBARRA, GILBERTO                     ADDRESS ON FILE
YBARRA, MARIALUISA                   ADDRESS ON FILE
YBARRA, MARIALUISA                   ADDRESS ON FILE
YBARROLA, PATRICK                    ADDRESS ON FILE
YBE TRUCKING INC                     OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
YBM LOGISTICS LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
YBM TRUCKING SERVICE LLC             OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
YCIANO, RUDY                         ADDRESS ON FILE
YCY EXPRESS INC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
YD TRUCKING, CORP                    OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
YDA EXPRESS INC                      OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
YDK LOGISTICS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YDOATE, EDWARD                       ADDRESS ON FILE
YDS LOGISTICS LLC                    OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
YDY TRANSPORT SERVICES INC           OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
YDY TRANSPORT, LLC                   OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
YEAGER, DAVID                        ADDRESS ON FILE
YEAGER, MELODY                       ADDRESS ON FILE
YEAGER, RENAE                        ADDRESS ON FILE
YEAGLE, TIM                          ADDRESS ON FILE
YEARGANS, JAMES                      ADDRESS ON FILE
YEARNS, DANIEL                       ADDRESS ON FILE
YEAROUT, TIMOTHY                     ADDRESS ON FILE
YEARWOOD, JOSEPH E                   ADDRESS ON FILE
YEARWOOD, LATRELL                    ADDRESS ON FILE
YEATER, MAX                          ADDRESS ON FILE
YEATES, GREGORY                      ADDRESS ON FILE
YEEND, JAMES                         ADDRESS ON FILE
YEGE AUTO                            6521 BELAIR RD BALTIMORE MD 21206
YEGONG, NORBERT                      ADDRESS ON FILE
YEH, KACEE                           ADDRESS ON FILE
YEH, NICHOLAS                        ADDRESS ON FILE
YEHA TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YEICH, BRYCE                         ADDRESS ON FILE
YEKICH, MICHAEL                      ADDRESS ON FILE
YELLIN, ROBERT                       ADDRESS ON FILE
YELLOW BLUE ECOTECH                  ATTN: MORGAN COX 1800 HIGHLAND SHORES BLVD HIGHLAND VILLAGE TX 75077
YELLOW BOX INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028



Epiq Corporate Restructuring, LLC                                                               Page 2125 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2134 of 2156

Claim Name                           Address Information
YELLOW BREECHES GROUP INC            OR ECAPITAL FREIGHT FACTORING INC PO BOX 206773 DALLAS TX 75320-6773
YELLOW FLAG TRUCKING LTD.            21167 80 AVE LANGLEY BC V2Y 0J4 CANADA
YELLOW LINE TRANSPORT                13235 MAMMOTH ST HESPERIA CA 92344
YELLOW LOGISTICS INC                 PO BOX 775556 CHICAGO IL 60677
YELLOW LOGISTICS INC                 PO BOX 775556 CHICAGO IL 60677-5556
YELLOW MEDICINE COUNTY PROPERTY &    PUBLIC SERVICES 180 8TH AVENUE GRANITE FALLS MN 56241
YELLOW PAGES UNITED                  PO BOX 50038 JACKSONVILLE FL 32240
YELLOW RIVER FARMS INC.              8535 E. STATE RD. 8 KNOX IN 46534
YELLOW TRANSPORTATION INC            2346 DONATELLO ST MANTECA CA 95337
YELLOWSTONE COUNTY TREASURER         PO BOX 35011 BILLINGS MT 59107
YELLOWSTONE LOGISTICS, LLC           319 ROAD 1400 MOOREVILLE MS 38857
YELLOWSTONE SEWER                    4421 MITCHELL AVE BILLINGS MT 59101
YELVERTON, JUSTIN                    ADDRESS ON FILE
YEMAYA7 TRANSPORT INC                OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
YEN BUCANERO TRUCK LLC               OR EWALL CAPITAL SOLUTIONS, PO BOX 33849 LAS VEGAS NV 89133
YEN, JACOB                           ADDRESS ON FILE
YENOM REGIONAL TRANSPORTATION LLC    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
YEPEZ, MIGUEL                        ADDRESS ON FILE
YERGES, SCOTT                        ADDRESS ON FILE
YERKINS, JOHN                        ADDRESS ON FILE
YERNYE, PAUL                         ADDRESS ON FILE
YERO EXPRESS INC                     OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD MORTON GROVE IL 60053
YERTA, RANDY                         ADDRESS ON FILE
YERTA, TREVIN                        ADDRESS ON FILE
YES TRANSPORT INC                    212 S EMERSON ST MT PROSPECT IL 60056
YES TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YESCO                                PO BOX 11676 TACOMA WA 98411
YESHI TRANSPORTATION, INC.           OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
YESHU LOGISTICS LLC                  OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
YESING INTERNATIONAL INC             5125 SCHAEFER AVE UNIT 102, 102 CHINO CA 91710
YETTER, MELVIN                       ADDRESS ON FILE
YETTER, MITCHELL                     ADDRESS ON FILE
YETTNER, LAWRENCE                    ADDRESS ON FILE
YEUBANKS, CLAY                       ADDRESS ON FILE
YEUNG, TING YE                       ADDRESS ON FILE
YEWITT, STEPHON                      ADDRESS ON FILE
YFF TRUCKING LLC                     OR TAB BANK, PO BOX 150830 OGDEN UT 84415-0830
YG LOGISTICS LLC LIMITED             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
YG TRUCKING LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
YG TRUCKING LLC (MC1030469)          851 81ST AVE, SUITE H1 OAKLAND CA 94621
YH TRUCK ENTERPRISE INC              13021 LEFFINGWELL RD SANTA FE SPRINGS CA 90670
YHAVE TRANSPORT LLC                  OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
YIDDISH TRUCKING                     PO BOX 321 HAZLETON PA 18201
YIDDISH TRUCKING                     OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
YIDDISH TRUCKING                     OR STEELHEAD FINANCE, 3518 HEATHROW WAY MEDFORD OR 97504
YIKES TRANSPORTATION INC             OR SOUND FINANCE CORPORATION PO BOX 679281 DALLAS TX 75267-9281
YIMIS TRUCKING LLC                   OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
YING CAI JIANG                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2126 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                              Page 2135 of 2156

Claim Name                            Address Information
YIREH TRANSPORT INC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
YISHENG LIU                           ADDRESS ON FILE
YISSAH LOGISTICS LLC                  OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
YL TRUCKS LLC                         OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
YLD TRANSPORT, INC                    2609 SE ELLIOTT DR GRESHAM OR 97080
YLE EXPRESS LLC                       OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING PO BOX 7410411 CHICAGO
                                      IL 60674-0411
YLM LOGISTICS AND DELIVERY INC        1423 MARION STREET SCHAUMBURG IL 60193
YLM LOGISTICS INC                     YLM LOGISTICS INC, PO BOX 72197 ROSELLE IL 60172
YLM LOGISTICS INC (MC071103)          OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
YLR EXPRESS, LLC                      PO BOX 16728 BOISE ID 83715
YM ARBITRATION & MEDIATION SERVICES   4062 BRIDLEPATH TRI MISSISSAUGA ON L5L 3E9 CANADA
YM TRUCKING LLC                       3030 N 35TH AVE APT 332 PHOENIX AZ 85017
YMC EXPRESS SERVICES INC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YMC TRANSPORT INC                     OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
YMG LOGISTICS INC                     OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
YMI TRUCKING LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YNA TRUCKING CORP                     11931 GLOBE ST ORLANDO FL 32832-6097
YNJ TRANSPORTATION                    OR TRANSWEST CAPITAL PO BOX 123381 DEPT 3381 DALLAS TX 75312-3381
YO TRANSPORT LLC                      OR CENTURY FINANCE LLC, PO BOX 589 MEMPHIS TN 38101
YOAB TRUCKING LLC                     OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YOAKUM, ANTHONY                       ADDRESS ON FILE
YOAN Y TRANSPORT LLC                  OR LORENZOS TRUCKING LLC 1667 E MONUMENT PLAZA CIRCLE CASA GRANDE AZ 85122
YOCIUS, ERIC                          ADDRESS ON FILE
YOCUM, ERIC                           ADDRESS ON FILE
YODER & SONS TRUCKING, LLC            64926 M66 STURGIS MI 49091
YODER LOGISTICS LLC                   601 OVERLYS GROVE RD NEW HOLLAND PA 17557
YODER OVERHEAD DOOR COMPANY           36318 SUSSEX HWY DELMAR DE 19940
YODER TRANSPORTATION LLC              1251 ST RT 7 NORTH PIERPONT OH 44082
YODER, BENJAMIN J                     ADDRESS ON FILE
YODER, MICHAEL                        ADDRESS ON FILE
YOFI TRUCKING LLC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
YOH EXPRESS LLC                       OR SAINT JOHN CAPITAL CORP PO BOX 74007671 CHICAGO IL 60674-7671
YOHANSON FREIGHT CORP                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
YOHE PLUMBING HEATING & AIR           1120 FRANKE PLACE CT AUGUSTA GA 30909
YOKEN                                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
YOKOHAMA TIRE CORP                    7859 SOLUTION CENTER CHICAGO IL 60677-7008
YOKSH, ANDREW                         ADDRESS ON FILE
YOLANDA Q MITCHELL                    ADDRESS ON FILE
YOLCH, STACY                          ADDRESS ON FILE
YOLI TRANSPORT LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YOLO COUNTY                           292 W BEAMER ST WOODLAND CA 95695
YOLO COUNTY                           ENVIRONMENTAL HEALTH, 292 W BEAMER ST WOODLAND CA 95695
YOLO COUNTY DEPT OF AGRICULTURE       DIVISION OF WEIGHTS & MEASURES 70 COTTONWOOD ST WOODLAND CA 95695
YOLO COUNTY TREASURER-TAX COLLECTOR   PO BOX 1995 WOODLAND CA 95776
YONAS LLC                             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
YONATHAN TRUCKING LLC                 OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YONEY, ALONGA                         ADDRESS ON FILE
YONG TRANSPORTATION LLC               OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305



Epiq Corporate Restructuring, LLC                                                                Page 2127 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                            Page 2136 of 2156

Claim Name                           Address Information
YONKERS TOWING & RECOVERY LLC        844 NEPPERHAN AVE YONKERS NY 10703
YONLEY, MARKELL                      ADDRESS ON FILE
YOP LOGISTICS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
YOPO EXPEDITE INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
YORDY TRANSPORT CORP                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
YORDY TRANSPORT LLC                  2000 S MAIN ST MORTON IL 61550
YORK / JOHNSON CONTROLS              7245 SW DURHAM RD STE 100 TIGARD OR 97224
YORK INTERNATIONAL CORP              UNITARY PRODUCTS GROUP, P.O. BOX 730747 DALLAS TX 75373
YORK MAHONING MECHANICAL             CONTRACTORS IN, 724 CANFIELD ROAD YOUNGSTOWN OH 44511-0077
YORK UNITARY PROD                    ATTN: SCOTT MARTIN 7245 SW DURHAM RD TIGARD OR 97224
YORK, ARTHUR                         ADDRESS ON FILE
YORK, BILLY                          ADDRESS ON FILE
YORK, CHARLES                        ADDRESS ON FILE
YORK, DANIEL                         ADDRESS ON FILE
YORK, DONALD                         ADDRESS ON FILE
YORK, DONALD                         ADDRESS ON FILE
YORK, ERNEST                         ADDRESS ON FILE
YORK, GERALD                         ADDRESS ON FILE
YORK, GERALD L                       ADDRESS ON FILE
YORK, JASON A                        ADDRESS ON FILE
YORK, JEREMY                         ADDRESS ON FILE
YORK, KELLY                          ADDRESS ON FILE
YORK, MARGARET                       ADDRESS ON FILE
YORK, MIKE                           ADDRESS ON FILE
YORK, NICHOLAS                       ADDRESS ON FILE
YORK, RAMAHUD                        ADDRESS ON FILE
YORK, RUSTY                          ADDRESS ON FILE
YORK, WILLIAM                        ADDRESS ON FILE
YORKE, RALPH                         ADDRESS ON FILE
YORKOWITZ, JANELL                    ADDRESS ON FILE
YORN TRUCKING                        OR INTERNET TRUCKSTOP PAYMENTS LLC P.O. BOX 7410411 CHICAGO IL 60674-0411
YOSAN TRANSPORT LLC                  OR MSP FUNDING LLC, P.O.BOX 461119 AURORA CO 80046
YOSHIDA, PAUL                        ADDRESS ON FILE
YOSIM TRUCKING LLC                   OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
YOSLEISY VILA GONZALEZ               ADDRESS ON FILE
YOST, DANIEL                         ADDRESS ON FILE
YOST, FRANCIS B                      ADDRESS ON FILE
YOST, GREGORY                        ADDRESS ON FILE
YOU AND ME TRUCKING LLC              OR BASICBLOCK INC, PO BOX 8697 OMAHA NE 68108
YOUARE LOGISTICS LTD                 OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
YOUMAN, JOSHUA                       ADDRESS ON FILE
YOUNAS, SOHAIL                       ADDRESS ON FILE
YOUNDER WAY EXPRESS LLC              OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
YOUNG AUTOMOTIVE                     4625 HALLMARK PKWY. UNIT B SAN BERNARDINO CA 92407
YOUNG BROTHERS, LIMITED              DEPARTMENT 8896 LOS ANGELES CA 90084
YOUNG BROTHERS, LIMITED              PO BOX 3288 HONOLULU HI 96801
YOUNG ELECTRIC INC                   3046 E 31ST ST S WICHITA KS 67216
YOUNG GUNS TRANSPORT                 3570 W SMITHVILLE WESTERN ROAD WOOSTER OH 44691
YOUNG JIN KO                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                              Page 2128 OF 2145
                                          Yellow Corporation
                     Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                              Service List
                                                                         Page 2137 of 2156

Claim Name                         Address Information
YOUNG KINGS TRUCKING LLC           OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
YOUNG LIFE LOST CANYON             ATTN: BENSON E. 1450 S PERKINSVILLE RD WILLIAMS AZ 86046
YOUNG NATION LLC                   6339 SKYLINE DR CHARLOTTE NC 28269-0614
YOUNG POWERSPORTS LOGAN            1903 S. 800 W. LOGAN UT 84321
YOUNG TRUCK SALES, INC.            4970 SOUTHWAY ST SW CANTON OH 44706
YOUNG TRUCK SALES, INC.            PO BOX 6118 CANTON OH 44706
YOUNG VOLVO TRUCKS                 PO BOX 6118 CANTON OH 44706
YOUNG, ALEXANDER                   ADDRESS ON FILE
YOUNG, ALFONZIA                    ADDRESS ON FILE
YOUNG, ANTHONY                     ADDRESS ON FILE
YOUNG, ANTHONY                     ADDRESS ON FILE
YOUNG, ANTONIO                     ADDRESS ON FILE
YOUNG, BARRON                      ADDRESS ON FILE
YOUNG, BLAKE                       ADDRESS ON FILE
YOUNG, BRADLEY                     ADDRESS ON FILE
YOUNG, BRENNAN                     ADDRESS ON FILE
YOUNG, BRENT                       ADDRESS ON FILE
YOUNG, BRUCE                       ADDRESS ON FILE
YOUNG, CALVIN                      ADDRESS ON FILE
YOUNG, CHRISTOPHER                 ADDRESS ON FILE
YOUNG, CRAIG                       ADDRESS ON FILE
YOUNG, DAMOND                      ADDRESS ON FILE
YOUNG, DANIEL                      ADDRESS ON FILE
YOUNG, DARWIN                      ADDRESS ON FILE
YOUNG, DARWIN                      ADDRESS ON FILE
YOUNG, DAVID                       ADDRESS ON FILE
YOUNG, DENNIS                      ADDRESS ON FILE
YOUNG, DERIK                       ADDRESS ON FILE
YOUNG, DERRICK                     ADDRESS ON FILE
YOUNG, DESAUNDRA                   ADDRESS ON FILE
YOUNG, DEVONA                      ADDRESS ON FILE
YOUNG, DOUGLAS                     ADDRESS ON FILE
YOUNG, DUSTIN                      ADDRESS ON FILE
YOUNG, DUWAYNE                     ADDRESS ON FILE
YOUNG, EDDIE                       ADDRESS ON FILE
YOUNG, EINEN                       ADDRESS ON FILE
YOUNG, ERNEST                      ADDRESS ON FILE
YOUNG, FRANK                       ADDRESS ON FILE
YOUNG, FREDRICK                    ADDRESS ON FILE
YOUNG, GLENN                       ADDRESS ON FILE
YOUNG, GROVER                      ADDRESS ON FILE
YOUNG, HARRISON                    ADDRESS ON FILE
YOUNG, JAMES                       ADDRESS ON FILE
YOUNG, JAMES                       ADDRESS ON FILE
YOUNG, JASON                       ADDRESS ON FILE
YOUNG, JERRY                       ADDRESS ON FILE
YOUNG, JESSE                       ADDRESS ON FILE
YOUNG, JESSE                       ADDRESS ON FILE
YOUNG, JESSICA                     ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                             Page 2129 OF 2145
                                        Yellow Corporation
                   Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                            Service List
                                                                  Page 2138 of 2156

Claim Name                       Address Information
YOUNG, JOHN F                    ADDRESS ON FILE
YOUNG, JONATHON                  ADDRESS ON FILE
YOUNG, JORDAN                    ADDRESS ON FILE
YOUNG, JOSEPH                    ADDRESS ON FILE
YOUNG, JOY                       ADDRESS ON FILE
YOUNG, JULIE                     ADDRESS ON FILE
YOUNG, KAHMISI                   ADDRESS ON FILE
YOUNG, KELLY                     ADDRESS ON FILE
YOUNG, KENYA                     ADDRESS ON FILE
YOUNG, KIERRA                    ADDRESS ON FILE
YOUNG, LAARON                    ADDRESS ON FILE
YOUNG, LEO                       ADDRESS ON FILE
YOUNG, LEON                      ADDRESS ON FILE
YOUNG, LEON                      ADDRESS ON FILE
YOUNG, LEROY                     ADDRESS ON FILE
YOUNG, LESLIE                    ADDRESS ON FILE
YOUNG, MARK                      ADDRESS ON FILE
YOUNG, MATTHEW                   ADDRESS ON FILE
YOUNG, MICHAEL                   ADDRESS ON FILE
YOUNG, MICHAEL                   ADDRESS ON FILE
YOUNG, NEALSON                   ADDRESS ON FILE
YOUNG, ODELL                     ADDRESS ON FILE
YOUNG, PARKER                    ADDRESS ON FILE
YOUNG, PAUL                      ADDRESS ON FILE
YOUNG, PAULA                     ADDRESS ON FILE
YOUNG, RICHARD                   ADDRESS ON FILE
YOUNG, RICHARD W                 ADDRESS ON FILE
YOUNG, RICK                      ADDRESS ON FILE
YOUNG, RICKEY                    ADDRESS ON FILE
YOUNG, ROBERT                    ADDRESS ON FILE
YOUNG, ROBERT                    ADDRESS ON FILE
YOUNG, ROBERT                    ADDRESS ON FILE
YOUNG, RONALD                    ADDRESS ON FILE
YOUNG, SAMUEL                    ADDRESS ON FILE
YOUNG, SONJA                     ADDRESS ON FILE
YOUNG, STEVE                     ADDRESS ON FILE
YOUNG, STORM                     ADDRESS ON FILE
YOUNG, SUSAN                     ADDRESS ON FILE
YOUNG, TAMMY                     ADDRESS ON FILE
YOUNG, TERRENCE                  ADDRESS ON FILE
YOUNG, THOMAS                    ADDRESS ON FILE
YOUNG, THOMAS                    ADDRESS ON FILE
YOUNG, TRAVIS                    ADDRESS ON FILE
YOUNG, TYLER                     ADDRESS ON FILE
YOUNG, TYZHON                    ADDRESS ON FILE
YOUNG, VICTOR                    ADDRESS ON FILE
YOUNG, VICTOR                    ADDRESS ON FILE
YOUNG, WILLIAM                   ADDRESS ON FILE
YOUNG, WILLIAM                   ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                Page 2130 OF 2145
                                             Yellow Corporation
                       Case 23-11069-CTG    Doc 655   Filed 09/25/23
                                                 Service List
                                                                             Page 2139 of 2156

Claim Name                            Address Information
YOUNG-HAGER TRANSPORTATION LLC        OR OPENROAD FINANCIAL SERVICES INC. PO BOX 484 DALLAS OR 97338
YOUNGBLOOD, COURTNEY                  ADDRESS ON FILE
YOUNGBLOOD, RICHARD                   ADDRESS ON FILE
YOUNGQUIST, BRANDON                   ADDRESS ON FILE
YOUNGS FASHION                        1411 GALLATIN RD. NASHVILLE TN 37206
YOUNGS LAWN SERVICE                   1577 TAMARACK RD WEST SACRAMENTO CA 95691
YOUNGS TRANSPORTATION                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
YOUNGS, DONNA                         ADDRESS ON FILE
YOUNGSTOWN-KENWORTH, INC.             7255 HUBBARD MASURY RD, PO BOX 339 HUBBARD OH 44425
YOUNGZ HAULIN LLC                     OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
YOUNKER MITSUBISHI                    3820 E VALLEY RD RENTON WA 98057
YOUNKIN, DANA                         ADDRESS ON FILE
YOUNT, JACK                           ADDRESS ON FILE
YOUNT, JACK                           ADDRESS ON FILE
YOUNT, SCOT                           ADDRESS ON FILE
YOUNT, ZACHERY                        ADDRESS ON FILE
YOUR CARE                             PO BOX 1870 REDMOND OR 97756
YOUR CHOICE TRANSPORT LLC             OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
YOUR FAVORITE TRANSPORTATION LLC      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YOUR MAJESTY TRUCKING LLC             OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
YOUR OTHER WAREHOUSE/HOME             D16 TRANSPORTATION CLAIMS DEPT 2455 PACES FERRY RD ATLANTA GA 30339
DEPO0060092737
YOUR SOURCE TRANSPORT LLC             OR OPERATION FINANCE INC 539 W COMMERCE ST 2400 DALLAS TX 75208
YOUR TOWN TRANSPORT, INC.             PO BOX 100, PO BOX 100 UNION CENTER WI 53962
YOUR WAY TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
YOUSIF, EVAN A                        ADDRESS ON FILE
YOUSSI, KEVIN                         ADDRESS ON FILE
YOUSSOUF AND SONS TRUCKING LLC        OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 316 FORT WORTH TX
                                      76116
YOUSUF TRUCKING LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
YOUTZY, BRYAN                         ADDRESS ON FILE
YOWELL TRANSPORTATION SERVICES INC.   PO BOX 9278 DAYTON OH 45409
YOYDENIS TRUCKING LLC                 OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
YOZAM TRANS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
YOZDEN TRANSPORTATION INC             OR CRESTMARK TPG LLC, PO BOX 682348 FRANKLIN TN 37068
YOZDEN TRANSPORTATION INC             OR TRANS FG, PO BOX 509141 DEPT 909 SAN DIEGO CA 92150
YP TRUCKING LLC                       OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
YPA LOGISTICS LLC                     937 S GRANTHAM AVE VAIL AZ 85641
YPM TRANSPORT INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YPZ TRANSPORT LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YRC                                   INDUSTRIAL TRANSPORTATION CONSULT 6140 CENTRAL CHURCH DOUGLASVILLE GA 30135
YRC CORP- HAWAII CARTAGE              PO BOX 100129 PASADENA CA 91189
YRC FREIGHT                           P.O. BOX 13573 NEWARK NJ 07188
YRC FREIGHT                           22239 NETWORK PLACE CHICAGO IL 60673
YRC FREIGHT                           PO BOX 93151 CHICAGO IL 60673
YRC FREIGHT                           CARGO CLAIM 849189, PO BOX 54135 ST LOUIS MO 63150
YRC FREIGHT                           CARGO CLM 845455, PO BOX 504135 ST LOUIS MO 63150
YRC FREIGHT                           CLM 35-841831, PO BOX 504135 ST LOUIS MO 63150
YRC FREIGHT                           PO BOX 730375 DALLAS TX 75373



Epiq Corporate Restructuring, LLC                                                              Page 2131 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2140 of 2156

Claim Name                           Address Information
YRC FREIGHT                          PO BOX 100129 PASADENA CA 91189
YRC FREIGHT - CARTAGE ONLY           2455 PACES FERRY RD NW ATLANTA GA 30339
YRC FREIGHT JIM MCCOY                22701 VAN BORN TAYLOR MI 48180
YRC INC                              PO BOX 93151 CHICAGO IL 60673
YRC INC                              10990 ROE AVE OVERLAND PARK KS 66211
YRC LOGISTICS INC                    DO NOT MAIL KANSAS CITY MO 64112
YRC REVERSE LOGISTICS                DO NOT MAIL KANSAS CITY MO 64112
YRC WORLDWIDE INC                    ATTN STEPHANIE FISHER 10990 ROE AVE OVERLAND PARK KS 66211-1213
YRR TRANSPORTATION CORP              OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
YRUEGAS, DANIEL                      ADDRESS ON FILE
YS TRANSPORT INC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674
YSC TRANSPORT LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
YSF LOGISTICS INC                    OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320
YSLAS, HENRY                         ADDRESS ON FILE
YSM LOGISTICS LLC                    OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
YSQ TRANSPORT LLC                    OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
YSS FOODS CORP                       ATTN: SONAL KHAKHAR 30 MAIN ST ASHLAND MA 01721
YTG CARGO LLC                        OR INTERNET TRUCKSTOP PAYMENTS DBA TRUCKSTOP FACTORING P.O. BOX 7410411
                                     CHICAGO IL 60674-0411
YTHEMAR, DAMON                       ADDRESS ON FILE
YTIMAI, JUNIOR                       ADDRESS ON FILE
YTRS LOGISTICS                       OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265-3076
YTURIAGA, JACK A                     ADDRESS ON FILE
YU EXPRESS                           5959 SHAWSON DR, UNIT 5 MISSISSAUGA ON L4W 3Z6 CANADA
YU SOLUTIONS INC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YU TRANSPORT                         10153 SQUIRE MEADOWS DR A ST LOUIS MO 63123
YU TRUCKING INC                      OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
YU TRUCKING LLC                      OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124-8920
YU, ZHOUYANG                         ADDRESS ON FILE
YUASA BATTERY INC                    2901 MONTROSE AVE LAURELDALE PA 19605
YUDKOFF, JEFFREY S                   ADDRESS ON FILE
YUFER, TIMOTHY                       ADDRESS ON FILE
YUGO EXPRESS INC                     OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
YUGO TRANS LTD                       OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508
YUGOS LOGISTICS LLC                  OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
YUHAS, MICHAEL                       ADDRESS ON FILE
YUHAS, PATRICK                       ADDRESS ON FILE
YUHASZ, JEFFREY S                    ADDRESS ON FILE
YUHNKE, LARRY J                      ADDRESS ON FILE
YUKNEVICH, PETER                     ADDRESS ON FILE
YUKON TRANSPORT LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
YUKOV EXPRESS INC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
YULDUZ TRUCKING GROUP LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
YULE TRANSPORT, INC.                 2957 NW 76TH ST MEDFORD MN 55049
YULIVAN CARRIERS INC                 OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
YULUANDA P RANGEL                    ADDRESS ON FILE
YUMA PROVING GROUND                  301 C ST. BLDG. 2660 YUMA AZ 85365
YUN HAI LLC C/O ECHO                 ATTN: JAZMIN GARCIA 600 W CHICAGO AVE STE 725 CHICAGO IL 60654
YUNAK CORP                           OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101



Epiq Corporate Restructuring, LLC                                                             Page 2132 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2141 of 2156

Claim Name                           Address Information
YUNIK FREIGHT INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
YUNKER, JOHN                         ADDRESS ON FILE
YURGAL, KENNETH                      ADDRESS ON FILE
YURIA TRUCKING LLC                   8513 WOODLAKE DR TAMPA FL 33615
YURICH, STEFAN                       ADDRESS ON FILE
YURIY Y OLIMPIYUK TRUCKING           OR FIRSTLINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
YURK, MICHELLE                       ADDRESS ON FILE
YURKOWSKI, FREDRICK                  ADDRESS ON FILE
YURKUT TRUCKING INC                  18565 BASELINE RD 618 BEAVERTON OR 97006
YURY EXPRESS LLC                     OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
YUSEN LOGISTICS                      PO BOX 847 ROGERS AR 72757
YUSEN LOGISTICS AMERICAS             ATTN: LISA GELVIN 300 LIGHTING WAY 5TH FLOOR SECAUCUS NJ 07094
YUSTEN, VINCENT                      ADDRESS ON FILE
YUSUF, YUSUF                         ADDRESS ON FILE
YUSUP INC                            OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
YUT ENTERPRISE LLC                   OR MATCH FACTORS, P.O. BOX 13259 FLORENCE SC 29504
YUU TRANSPORT LLC                    2421 36TH ST S APT 110 MOORHEAD MN 56560-8407
YVENSON RICHE                        ADDRESS ON FILE
YVENSON RICHE                        ADDRESS ON FILE
YVO ENTERPRISE SERVICES CORP         OR GH FACTOR LLC, 671 WEST 18TH STREET HIALEAH FL 33010
YVONNE BORELLI-CHACE                 ADDRESS ON FILE
YVONNE DANDRIDGE                     ADDRESS ON FILE
YY TRUCKING                          OR RIVIERA FINANCE OF TX, PO BOX 202487 DALLAS TX 75320
YZ TRANSPORT INC                     OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
Z & G TRUCKING LLC                   OR CCT FACTORING, LLC, PO BOX 116999 ATLANTA GA 30368
Z & K LOGISTICS, LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
Z & O LOGISTICS LLC                  OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
Z & X EXPRESS LLC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
Z - TWO EXPRESS LLC                  OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
Z AND J TRUCKING LLC                 OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
Z AND M TRUCKING LLC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
Z BEST LOGISTICS INC.                4632 N ORANGE AVE NORRIDGE IL 60706
Z BROTHERS EXPRESS INC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
Z BROTHERS EXPRESS INC (MC937295)    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
Z C ENTERPRISES LLC                  OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
Z COLLECTION                         6650 N BASIN AVE STE I PORTLAND OR 97217
Z EXCHANGE LLC                       OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
Z EXPRESS LLC                        OR ECAPITAL FREIGHT FACTORING CORP. PO BOX 206773 DALLAS TX 75320-6773
Z K B EXPRESS LLC                    2341 BERRYHILL ST APT A HARRISBURG PA 17104-2030
Z LINERS LLC                         OR PAY4FREIGHT.COM, PO BOX 1429 BELLEVUE NE 68005-1429
Z LOGISTIC TRANSPORTATION LLC        33858 RYAN RD STERLING HEIGHTS MI 48310
Z MARK EXPRESS INC.                  503-15 CANYON AVENUE NORTH YORK ON M3H4X9 CANADA
Z P TRANSPORT INC.                   8614 NE 55TH AVE VANCOUVER WA 98665
Z TECHNOLOGIES CORP                  26500 CAPITOL AVE REDFORD MI 48239
Z TOP LOGISTICS INC                  OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
Z&D LOGISTICS LLC                    OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                     45263-9565
Z&J EXPRESS INC                      OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
Z&L LOGISTICS                        1562 LODI AVE SAN NATEO CA 94401



Epiq Corporate Restructuring, LLC                                                              Page 2133 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2142 of 2156

Claim Name                           Address Information
Z&O TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
Z-BEST TRANSPORT INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
Z-MASTER TRANSPORTATION INC          OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
Z-RISE TRANSPORT INC                 OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
Z2 LOGISTICS INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
Z4 LOGISTICS INC                     OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
Z48 LOGISTICS TRANSPORTS LLC         OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
Z8W TRUCKING LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZAAK TRUCKING LLC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ZABALA, ROSEMARY                     ADDRESS ON FILE
ZAC LOGISTICS INC                    OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ZACHARIAS, LORI                      ADDRESS ON FILE
ZACHARY C MCCOPPIN                   ADDRESS ON FILE
ZACHARY G EARNEST                    ADDRESS ON FILE
ZACHARY G EARNEST                    ADDRESS ON FILE
ZACHARY J KOPPA                      ADDRESS ON FILE
ZACHARY S CAVANAUGH 14               ADDRESS ON FILE
ZACHARY T FOGG                       ADDRESS ON FILE
ZACHRICH TRANSPORT                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZACK EARNEST                         ADDRESS ON FILE
ZACK TEISHER                         ADDRESS ON FILE
ZACK TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZACK TRANSPORTATION LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZACLON                               ATTN: KELLY KUHAR 2981 INDEPENDENCE RD CLEVELAND OH 44115
ZADROGA, CHARLIE                     ADDRESS ON FILE
ZADS FREIGHT INC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
ZAFENATE LOGISTICS LLC               OR PAY4FREIGHT, PO BOX 1429 BELLEVUE NE 68005-1429
ZAFIROPOULOS, ANDREW                 ADDRESS ON FILE
ZAFIROPOULOS, ANDREW                 ADDRESS ON FILE
ZAFWAN TRANSPORTATION LLC            OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZAGELBAUM, WILLIAM                   ADDRESS ON FILE
ZAGELBAUM, WILLIAM J                 ADDRESS ON FILE
ZAGROS EXPRESS INCORPORATED          OR ECAPITAL FREIGHT FACTORING CORP PO BOX 206773 DALLAS TX 75320-6773
ZAGROS EXPRESS LLC                   2713 NOLENSVILLE PIKE NASHVILLE TN 37211
ZAHID TRANS INCORPORATED             OR ADFIN INC, PO BOX 474 LA GRANGE IL 60525
ZAHL-PETROLEUM MAINTENANCE CO.       3101 SPRING ST NE MINNEAPOLIS MN 55413
ZAHM, SCOTT                          ADDRESS ON FILE
ZAHM, TERRANCE A                     ADDRESS ON FILE
ZAHNER, JOSEPH                       ADDRESS ON FILE
ZAHNER, JOSEPH                       ADDRESS ON FILE
ZAHRIYA, HAMZA A                     ADDRESS ON FILE
ZAHURUDIN, MATTHEW                   ADDRESS ON FILE
ZAIDI, BOUDJEMAA                     ADDRESS ON FILE
ZAIOUD, ZEIN                         ADDRESS ON FILE
ZAITOV, FURKAT                       ADDRESS ON FILE
ZAJAC, JOHN                          ADDRESS ON FILE
ZAJAC, MICHAEL                       ADDRESS ON FILE
ZAJDEL, PHILLIP                      ADDRESS ON FILE
ZAJIC, ALEXA                         ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2134 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                          Page 2143 of 2156

Claim Name                           Address Information
ZAJICEK, STEPHEN                     ADDRESS ON FILE
ZAK TRUCKING LLC                     OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674-0633
ZAK TRUCKING LLC (MC885161)          OR ECAPITAL, LLC, PO BOX 206773 DALLAS TX 75320-6773
ZAK, CHAD                            ADDRESS ON FILE
ZAKAMWA LLC                          OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZAKARIA RHORBAL                      ADDRESS ON FILE
ZAKARIA RHORBAL                      ADDRESS ON FILE
ZAKARIAN, CURT                       ADDRESS ON FILE
ZAKAT EXPRESS INC                    OR CREDIT EXPRESS INC, PO BOX 4896 BUFFALO GROVE IL 60089
ZAKAY TRUCKING                       OR SUNBELT FINANCE, PO BOX 1000 DEPT 144 MEMPHIS TN 38148
ZAKEM, SCOTT                         ADDRESS ON FILE
ZAKIYYAH A MCCLOUD                   ADDRESS ON FILE
ZAKONTIME LLC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZAKRZEWSKI, MARTIN                   ADDRESS ON FILE
ZAKULA, ALISA                        ADDRESS ON FILE
ZALA TRANSPORTATION LLC              OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ZALAMAR, ANGEL R                     ADDRESS ON FILE
ZALDIVAR, JEFFREY                    ADDRESS ON FILE
ZALDIVAR, WILLIAM                    ADDRESS ON FILE
ZALEWSKI, JAMES                      ADDRESS ON FILE
ZALTZMAN, MARK                       ADDRESS ON FILE
ZAM TRANS INC                        4811 CHIPPENDALE DR SUITE 802 SACRAMENTO CA 95841
ZAM TRANSPORTATION LLC               OR PDM FINANCIAL, LLC, P.O.BOX 3336 DES MOINES IA 50316
ZAM TRUCKING LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZAM ZAM FREIGHT LLC                  OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZAMAGO, MANUEL                       ADDRESS ON FILE
ZAMALEK TRUCKING LLC                 OR EXPRESS FREIGHT FINANCE, PO BOX 6188 CAROL STREAM IL 60197-6188
ZAMARRIPA, LARRY                     ADDRESS ON FILE
ZAMBITO, PATRICK                     ADDRESS ON FILE
ZAMBON, JORDAN                       ADDRESS ON FILE
ZAMBRANA, JUAN                       ADDRESS ON FILE
ZAMBRANO TRUCKING LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZAMBRANO, ANTHONY                    ADDRESS ON FILE
ZAMIR TRUCKING INC                   OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ZAMMATARO, RICHARD                   ADDRESS ON FILE
ZAMORA JR, JESUS                     ADDRESS ON FILE
ZAMORA RODRIGUEZ, CESAR              ADDRESS ON FILE
ZAMORA, ALEXANDER                    ADDRESS ON FILE
ZAMORA, ANDREW                       ADDRESS ON FILE
ZAMORA, ANTHONY                      ADDRESS ON FILE
ZAMORA, DANIELLE                     ADDRESS ON FILE
ZAMORA, DAVID                        ADDRESS ON FILE
ZAMORA, ENRIQUE                      ADDRESS ON FILE
ZAMORA, FRANCISCO                    ADDRESS ON FILE
ZAMORA, GABRIEL                      ADDRESS ON FILE
ZAMORA, ISRAEL                       ADDRESS ON FILE
ZAMORA, JESUS                        ADDRESS ON FILE
ZAMORA, JOHN                         ADDRESS ON FILE
ZAMORA, JOSEPH                       ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2135 OF 2145
                                              Yellow Corporation
                       Case 23-11069-CTG     Doc 655   Filed 09/25/23
                                                  Service List
                                                                            Page 2144 of 2156

Claim Name                             Address Information
ZAMORA, JUAN                           ADDRESS ON FILE
ZAMORA, MARCOS                         ADDRESS ON FILE
ZAMORA, MARK                           ADDRESS ON FILE
ZAMORA, MICHELLE                       ADDRESS ON FILE
ZAMORA, MOSES                          ADDRESS ON FILE
ZAMORA, PEDRO                          ADDRESS ON FILE
ZAMORA, RAFAEL                         ADDRESS ON FILE
ZAMORA, ROSA                           ADDRESS ON FILE
ZAMORA, SAUL                           ADDRESS ON FILE
ZAMORA, VINCENZA                       ADDRESS ON FILE
ZAMORA-CHAVEZ, EDUARDO                 ADDRESS ON FILE
ZAMU TRUCKING LLC                      OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ZAMUDIO, JOE                           ADDRESS ON FILE
ZAMUDIO, RAUL                          ADDRESS ON FILE
ZAMUDIO, THOMAS                        ADDRESS ON FILE
ZAMZAM TRANSPORTATION INC              89 W LIDO PROMENADE LINDENHURST NY 11757
ZANDER, RONALD                         ADDRESS ON FILE
ZANDERS, TRACEY                        ADDRESS ON FILE
ZANDVLIET, LARRY                       ADDRESS ON FILE
ZANE R GRAHAM                          ADDRESS ON FILE
ZANER, JACK                            ADDRESS ON FILE
ZANGER EXCAVATING & GRADING            3620 KOCHS LANE QUINCY IL 62305
ZANY LOGISTICS LLC                     OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZAP SUPPLY LLC                         ATTN: JESSIKA 1800 N POWER LINE RD A RD STE 5 POMPANO BEACH FL 33069
ZAPATA & MARTINEZ TRANSPORTATION LLC   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZAPATA, JORGE                          ADDRESS ON FILE
ZAPATA, PAUL                           ADDRESS ON FILE
ZAPATA, RAUL                           ADDRESS ON FILE
ZAPATA, RONNY                          ADDRESS ON FILE
ZAPATA, WILMER                         ADDRESS ON FILE
ZAPPA, CHRISTOPHER                     ADDRESS ON FILE
ZAPPITELLA, FRANKLIN                   ADDRESS ON FILE
ZAR EXPRESS INC                        OR CD CONSORTIUM CORP. 8930 WAUKEGAN RD, SUITE 230 MORTON GROVE IL 60053
ZAR EXPRESS INC (CINCINNATI, OH)       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZARA LOGISTICS LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZARA LOGISTICS LLC (MC1192464)         OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ZARA TRUCKING EXPRESS LLC              OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZARA TRUCKING LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ZARA WATER TRUCKING LLC                OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZARAGOZA, BLANCA                       ADDRESS ON FILE
ZARAGOZA, GUSTAVO                      ADDRESS ON FILE
ZARAGOZA, JOSE                         ADDRESS ON FILE
ZARAGOZA, PHILLIP                      ADDRESS ON FILE
ZARAGOZA, RICHARD L                    ADDRESS ON FILE
ZARATE GARCIA, FERNANDO                ADDRESS ON FILE
ZARATE, GARY L                         ADDRESS ON FILE
ZARATE, OMAR                           ADDRESS ON FILE
ZARATE, RUBEN                          ADDRESS ON FILE
ZARCOS LOGISTICS                       OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                               Page 2136 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2145 of 2156

Claim Name                           Address Information
ZARCZYNSKI, FELIKS                   ADDRESS ON FILE
ZAREMBA EQUIPMENT                    1734 DICKERSON RD. GAYLORD MI 49735
ZAREMBA, DENNIS                      ADDRESS ON FILE
ZAREMBA, JASON                       ADDRESS ON FILE
ZARICK, JAMES                        ADDRESS ON FILE
ZARIZ TRANSPORT INC                  7601 N FEDERAL HWY STE B-205 BOCA RATON FL 33487
ZARK, FRANK                          ADDRESS ON FILE
ZARLENGA, CHRISTOPHER                ADDRESS ON FILE
ZAROKA, DARRELL                      ADDRESS ON FILE
ZARRELL, WILLIAM                     ADDRESS ON FILE
ZARROUK, ZAKARIA                     ADDRESS ON FILE
ZARSZYNSKI, JOHN                     ADDRESS ON FILE
ZARTUCHE, RICHARD                    ADDRESS ON FILE
ZASADA, WAYNE                        ADDRESS ON FILE
ZASTEZHKO, OLENA                     ADDRESS ON FILE
ZASTROW, DAWN                        ADDRESS ON FILE
ZAUSS, DONNA                         ADDRESS ON FILE
ZAV EXPRESS INC                      OR FLAT RATE FUNDING GROUP LLC P.O. BOX 150581 OGDEN UT 84415
ZAVALA, ANGELO                       ADDRESS ON FILE
ZAVALA, CLAUDIA                      ADDRESS ON FILE
ZAVALA, DAVID                        ADDRESS ON FILE
ZAVALA, DOMINGO                      ADDRESS ON FILE
ZAVALA, GONZALO                      ADDRESS ON FILE
ZAVALA, JOSE                         ADDRESS ON FILE
ZAVALA, JOSE I                       ADDRESS ON FILE
ZAVALA, MATIAS                       ADDRESS ON FILE
ZAVALA, MATTHEW                      ADDRESS ON FILE
ZAVALA, SERGIO                       ADDRESS ON FILE
ZAVALA, TRACI                        ADDRESS ON FILE
ZAVALAS TRUCKING                     25454 MOORLAND RD MORENO VALLEY CA 92551
ZAWACKI, DALE                        ADDRESS ON FILE
ZAWADI TRANSPORT INC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZAWADSKI HOMES                       4614 CHURCHHILL ST SHOREVIEW MN 55126
ZAWASKE, STEVEN                      ADDRESS ON FILE
ZAWATSKI, JANICE                     ADDRESS ON FILE
ZAYA, SEAVAN                         ADDRESS ON FILE
ZAYAS TRANSPORT INC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZAYDENS WAY TRANSPORT LLC            OR SUMMAR FINANCIAL LLC, PO BOX 748841 ATLANTA GA 30374-8841
ZAYMAR INC                           1119 WANDA WAY BLOOMINGTON IL 61704
ZAYN TRUCKING LLC                    OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
ZAYS TRANSPORT LLC                   OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZAZ TRANSPORT INC                    OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ZAZENSKOWSKI, STEVEN                 ADDRESS ON FILE
ZAZUETA, HECTOR                      ADDRESS ON FILE
ZAZUS LOGISTICS, LLC                 9100 KIRKLAND VALLEY RD, SPACE 33 KIRKLAND AZ 86332
ZBIEGNEW PATRALSKI                   ADDRESS ON FILE
ZBYLUT, ULA                          ADDRESS ON FILE
ZC TRANSPORT LLC                     OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZCLLZ TRANSPORTATION                 OR BOBTAIL, PO BOX 7410633 CHICAGO IL 60674



Epiq Corporate Restructuring, LLC                                                               Page 2137 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2146 of 2156

Claim Name                           Address Information
ZDOG TRUCK TOOL BOXES                1931 N LIGGETT RD UNIT C29 CASTLE ROCK CO 80109
ZE CREDO HOLDINGS INC                2408 PERDENALES DR ROYSE CITY TX 75189
ZEAL EXPRESS LOGISTICS INC           OR IPS INVOICE PAYMENT SYSTEM PO BOX 77226 MISSISSAUGA ON L5T 2P4 CANADA
ZEAL TRANSFOUR LLC                   OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677
ZEAL XPRESS INC                      61 LEGASCY GLEN VIEW SE CALGARY AB T2X 3E2 CANADA
ZEALAND TRANSPORTATION LLC           OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ZEARFOSS, RICHARD                    ADDRESS ON FILE
ZEB BOST                             ADDRESS ON FILE
ZEB BOST                             ADDRESS ON FILE
ZEBIT                                9530 TOWNE CENTER DRIVE, STE 200 SAN DIEGO CA 92121
ZEBRA CARRIERS INC                   OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ZEBRA EXPRESS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101
ZEBRA LOGISTIC LLC                   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZEBROWSKI, DONALD                    ADDRESS ON FILE
ZEBROWSKI, STEVEN                    ADDRESS ON FILE
ZEBUFAST TRANSPORT LLC               OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZECH, MICHAEL                        ADDRESS ON FILE
ZED EXPRESS LLC                      OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ZED PLUS TRANSPORT INC               OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZEDEK, RICHARD                       ADDRESS ON FILE
ZEE LOGISTICS INC                    OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZEE MEDICAL SERVICE                  P O BOX 45761, 3738 SOUTH 132ND STREET OMAHA NE 68145
ZEE MEDICAL SERVICE                  PO BOX 261835 SAN JUAN PR 00926
ZEE MEDICAL SERVICE - FAIR OAKS      PO BOX 22 FAIR OAKS CA 95628
ZEE MEDICAL SERVICE - GREENSBORO     117 LANDMARK DR GREENSBORO NC 27409
ZEE MEDICAL SERVICE - SEATTLE        PO BOX 58627 SEATTLE WA 98138
ZEE TRANSPORT INC                    OR ORANGE COMMERCIAL CREDIT PO BOX 11099 OLYMPIA WA 98508-1099
ZEE TRANSPORT LLC                    OR RDS FUNDING LLC 500 W. PLAINFIELD RD STE 200 COUNTRYSIDE IL 60525
ZEE TRANZ LLC                        OR PORTER BILLING SERVICES LLC PO BOX 440127 NASHVILLE TN 37244
ZEEB TRUCKING, INC.                  PO BOX 2216 KINGSFORD MI 49802
ZEENAT LOGISTICS                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZEEROG LLC                           OR TRANSAM FINANCIAL SERVICES INC PO BOX 872632 KANSAS CITY MO 64187
ZEGARELLI, MICHAEL                   ADDRESS ON FILE
ZEGARELLI, MICHAEL S                 ADDRESS ON FILE
ZEHNER, ADAM                         ADDRESS ON FILE
ZEHR, RANDY                          ADDRESS ON FILE
ZEHREN, MATT                         ADDRESS ON FILE
ZEID ENTERPRISES INTERNATIONAL INC   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZEIDERS, JORDAN                      ADDRESS ON FILE
ZEIGENBEIN, ROBERT                   ADDRESS ON FILE
ZEIGLER, ANTOINE                     ADDRESS ON FILE
ZEIGLER, KENNETH                     ADDRESS ON FILE
ZEIGLER, RHELDA                      ADDRESS ON FILE
ZEIGLER, TANYA T                     ADDRESS ON FILE
ZEIS, JEFFREY A                      ADDRESS ON FILE
ZEITERS, RAY                         ADDRESS ON FILE
ZEJER, CHRISTOPHER                   ADDRESS ON FILE
ZEKE EDGE                            ADDRESS ON FILE
ZELADA, JIMMY                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2138 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2147 of 2156

Claim Name                           Address Information
ZELADA, JIMMY                        ADDRESS ON FILE
ZELASKO, GEORGE                      ADDRESS ON FILE
ZELASKO, JOSEPH                      ADDRESS ON FILE
ZELAYA, ROBERT                       ADDRESS ON FILE
ZELL, JEREMY                         ADDRESS ON FILE
ZELL, RAYMOND                        ADDRESS ON FILE
ZELLER TRANSPORTATION, LLC           1615 INNOVATION WAY HARTFORD WI 53027
ZELLER TRANSPORTATION, LLC           ZELLER TRANSPORTATION LLC 1700 S SILVERBROOK DR SUITE 300 WEST BEND WI
                                     53095-0497
ZELLER, DAVID                        ADDRESS ON FILE
ZELLER, NICHOLAS                     ADDRESS ON FILE
ZELLERS, KERRY                       ADDRESS ON FILE
ZELLMANN, DAVID                      ADDRESS ON FILE
ZELLMER, DONALD                      ADDRESS ON FILE
ZELLNER, BRAD                        ADDRESS ON FILE
ZELLNER, MARK A                      ADDRESS ON FILE
ZELLNER, TRACY                       ADDRESS ON FILE
ZELLO INC.                           1717 W 6TH ST STE 450 AUSTIN TX 78703
ZELOVIC, RICHARD                     ADDRESS ON FILE
ZEM4 SERVICE SOLUTIONS LTD           P.O. BOX 21168 GROSVENOR PARK PO SASKATOON SK S7H 5N9 CANADA
ZEM4 SERVICE SOLUTIONS LTD           PO BOX 21168 SASKATOON SK S7H 5N9 CANADA
ZEMA LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZEMA TRANSPORTATION LLC              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZEMELKA, CHARLES                     ADDRESS ON FILE
ZEMEN TRUCKING LLC                   4201 E 27TH AVE SPOKANE WA 99223
ZEMIR TRUCKING INC                   OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284-0267
ZEMKE, RODNEY                        ADDRESS ON FILE
ZEMOS LOGISTICS LLC                  OR INTEGRA FUNDING SOLUTIONS LLC 6300 RIDGLEA PL, SUITE 1101 FORT WORTH TX
                                     76116
ZEMPEL, DAVID                        ADDRESS ON FILE
ZEMRUS, THOMAS R                     ADDRESS ON FILE
ZEMRUS, TOM                          ADDRESS ON FILE
ZEN CARRIERS LLC                     1116 SHADOW GLENN DR CONROE TX 77301
ZEN STAR LOGISTICS LLC               682 DELTONA BLVD DELTONA FL 32725-8020
ZENDE, STEPHEN                       ADDRESS ON FILE
ZENDEJAS, HOMERO                     ADDRESS ON FILE
ZENDERS TRUCK & EQUIPMENT            PARTS & SERVICE INC. PO BOX 698 DEMING WA 98244
ZENDRIVE LLC                         OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ZENESYS LOGISTICS INC                14438 CON JULIAN RD CITY OF INDUSTRY CA 91746
ZENITH ADVENTURES                    1116E OAKLAND AVE. LANSING MI 48906
ZENITH LOGISTICS LLC                 OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZENITH TRANS INC                     OR LVNV CAPITAL CORP, PO BOX 32107 LAS VEGAS NV 89173
ZENOBIA COMPANY, LLC.                ATTN: GENERAL COUNSEL 92 NEW MAIN ST YONKERS NY 10701
ZENTNER TRANSPORTATION, INC.         P.O. BOX 342 CEDAR RAPIDS NE 68627
ZENTZ, JAMES                         ADDRESS ON FILE
ZENZOLA, MICHAEL                     ADDRESS ON FILE
ZEON, FREDERICK                      ADDRESS ON FILE
ZEP MANUFACTURING CO.                13237 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ZEP SALES & SERVICE                  3330 CUMBERLAND BLVD, SUITE 700 ATLANTA GA 30339



Epiq Corporate Restructuring, LLC                                                            Page 2139 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2148 of 2156

Claim Name                          Address Information
ZEP SALES & SERVICE                 ACUITY SPECIALTY PRODUCTS INC 13237 COLLECTIONS CENTER DRIVE CHICAGO IL 60693
ZEP SALES & SERVICE                 FILE 50188 LOS ANGELES CA 90074
ZEPEDA, ABRAHAM                     ADDRESS ON FILE
ZEPEDA, BRIAN                       ADDRESS ON FILE
ZEPEDA, CESAR                       ADDRESS ON FILE
ZEPEDA, JOSE                        ADDRESS ON FILE
ZEPEDA, JOSE                        ADDRESS ON FILE
ZEPEDA, JOSUE                       ADDRESS ON FILE
ZEPEDA, JUAN                        ADDRESS ON FILE
ZEPEDA, JUAN                        ADDRESS ON FILE
ZEPEDA, JUAN                        ADDRESS ON FILE
ZEPEDA, JULIO                       ADDRESS ON FILE
ZEPEDA, VICENTE                     ADDRESS ON FILE
ZEPHIER, YULIANA                    ADDRESS ON FILE
ZEPHYR                              CTSI, 1 S PRESCOTT ST MEMPHIS TN 38111
ZEPHYR EXPEDITING LLC               OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ZEPHYR VENTILATION FULFILLMENT      2277 HARBOR BAY PKWY ALAMEDA CA 94502
ZEPHYR VENTILATION LLC              2277 HARBOR BAY PKWY ALAMEDA CA 94502
ZEPHYR VENTILATION LLC              ATTN: JASON LEE 2277 HARBOR PARKWAY ALAMEDA CA 94502
ZEPHYR VENTILATION LLC              ATTN: JONATHAN ZENG 2277 HARBOR BAY PKWY ALAMEDA CA 94502
ZEPTO LLC                           OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ZEPTO LOGISTICS SOLUTIONS, LLC      5212 AIRPORT FWY HALTOM CITY TX 76117
ZERARDA ALAMI TRUCKING LLC          OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154
ZERMENO GUZMAN, FRANCISCO           ADDRESS ON FILE
ZERMENO, GERMAN                     ADDRESS ON FILE
ZERO EXPRESS NC LLC                 OR SEVEN OAKS CAPITAL, PO BOX 669130 DALLAS TX 75266-9130
ZERO IN RACING                      777 HUTCHINSON ROAD CHIPLEY FL 32428
ZERO MAX INC                        OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZERO MAX INC                        OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZERO MAX XPRESS INC                 OR SAINT JOHN CAPITAL CORPORATION PO BOX 74007671 CHICAGO IL 60674
ZERO PRESSURE FREIGHT LLC           OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ZEROMAX MOTORS INC.                 OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161
ZEROUAL, MOUNIR                     ADDRESS ON FILE
ZESATI, ERNESTO                     ADDRESS ON FILE
ZESCO                               640 N CAPITAL AVE INDIANAPOLIS IN 46204
ZETA LOGISTICS LTD                  OR J D FACTORS CORPORATION 315 MATHESON BLVD EAST MISSISSAUGA ON L4Z 1X8
                                    CANADA
ZETA TRANS LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZETINOS TRANSPORT                   OR FREIGHT FACTORING SPECIALISTS LLC DEPT 10010 PO BOX 31792 TAMPA FL 33613
ZETO, ANDREW                        ADDRESS ON FILE
ZF TRANSPORT LLC                    PO BOX 978 BROWNSBURG IN 46112-0978
ZF TRANSPORTATION LLC               OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ZFX TRANSPORTATION INC              OR GENERAL BUSINESS CREDIT 110 E. 9THST, SUITE C-900 LOS ANGELES CA 90079
ZH EXPRESS INC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZHANG LLC                           OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ZHANG, KUN LUN                      ADDRESS ON FILE
ZHANG, SEAN                         ADDRESS ON FILE
ZHAO LE ZHI INC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZHAO LE ZHI LLC                     OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284



Epiq Corporate Restructuring, LLC                                                              Page 2140 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                               Page 2149 of 2156

Claim Name                              Address Information
ZHENG, TRACY                            ADDRESS ON FILE
ZHW TRUCKING INC                        OR TAFS INC, P.O. BOX 872632 KANSAS CITY MO 64187
ZI TRANSPORT LLC                        OR FIRST LINE FUNDING GROUP, PO BOX 328 MADISON SD 57042
ZIA, ANTTENH                            ADDRESS ON FILE
ZIA, MOSHE N                            ADDRESS ON FILE
ZIARKO, JAMES                           ADDRESS ON FILE
ZIBLUT, YVONNE                          ADDRESS ON FILE
ZICARO SERVICES, INC.                   2411 QUANTUM BOULEVARD BOYNTON BEACH FL 33426
ZICHA, ALANNA                           ADDRESS ON FILE
ZICKAFOOSE, JEFFREY                     ADDRESS ON FILE
ZICKEFOOSE, JAMES                       ADDRESS ON FILE
ZICKUHR, EDWARD                         ADDRESS ON FILE
ZIDANE & SONS INC                       OR OAK HILL CAPITAL CORP, PO BOX 744 RED BANK NJ 07701
ZIEBART, SIMON                          ADDRESS ON FILE
ZIEBELL, JIM                            ADDRESS ON FILE
ZIEGENBEIN, ALAN                        ADDRESS ON FILE
ZIEGLER FARMS LLC                       OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196
ZIEGLER TIRE & SUPPLY CO.               4150 MILLENNIUM BLVD MASSILLON OH 44646
ZIEGLER TIRE & SUPPLY CO.               PO BOX 678 MASSILLON OH 44648
ZIEGLER, BRENT                          ADDRESS ON FILE
ZIELIE, MEREDITH                        ADDRESS ON FILE
ZIELINSKI, ANTHONY                      ADDRESS ON FILE
ZIELINSKI, JAMES                        ADDRESS ON FILE
ZIELINSKI, KENNETH                      ADDRESS ON FILE
ZIELINSKI, RONALD                       ADDRESS ON FILE
ZIELKIEWICZ, KENNETH                    ADDRESS ON FILE
ZIEMAN, MATTHEW                         ADDRESS ON FILE
ZIEMAN, MATTHEW                         ADDRESS ON FILE
ZIEMKIEWICZ, IRENEUSZ                   ADDRESS ON FILE
ZIENTARA FLEET EQUIPMENT INC            231059 WELLBORN ROAD WAUSAU WI 54403
ZIERER, FRANK                           ADDRESS ON FILE
ZIERLEIN, DONALD                        ADDRESS ON FILE
ZIEZIULA, JOYCE                         ADDRESS ON FILE
ZIGE TRANSPORTATION AND LOGISTICS LLC   OR ENGLAND CARRIER SERVICES PO BOX 953086 ST LOUIS MO 63195-3086
ZIGGY TRUCKING LLC                      1906 SW FORT KING ST OCALA FL 34471
ZIGGY TRUCKING LLC                      OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZIGLER, DANIEL                          ADDRESS ON FILE
ZIHAN ZHAO                              ADDRESS ON FILE
ZIKA, JACKI                             ADDRESS ON FILE
ZIKO TRANSPORT LLC                      OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZILIC, BENJAMIN                         ADDRESS ON FILE
ZILLGITT, JUSTIN                        ADDRESS ON FILE
ZILLIGEN, ROBERT                        ADDRESS ON FILE
ZILLMER, JOEY                           ADDRESS ON FILE
ZIM INTERNATIONAL                       1828 S. COBB IND. BLVD. SE SMYRNA GA 30082
ZIM MOTORWAYS LLC                       OR FINANCIAL CARRIER SERVICES PO BOX 151052 OGDEN UT 84415
ZIMBRE, SANKET                          ADDRESS ON FILE
ZIMMER, ZACHARY                         ADDRESS ON FILE
ZIMMERLINE, SAVANNAH                    ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                                  Page 2141 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                             Page 2150 of 2156

Claim Name                           Address Information
ZIMMERMAN TRUCK LINES, INC.          PO BOX 130 MIFFLINTOWN PA 17059
ZIMMERMAN, BARBARA                   ADDRESS ON FILE
ZIMMERMAN, CHRISTI                   ADDRESS ON FILE
ZIMMERMAN, ISAIAH                    ADDRESS ON FILE
ZIMMERMAN, KURT                      ADDRESS ON FILE
ZIMMERMAN, RANDALL                   ADDRESS ON FILE
ZIMMERMAN, RICHARD                   ADDRESS ON FILE
ZIMMERMAN, SHANNON                   ADDRESS ON FILE
ZIMMERMAN, WALTER                    ADDRESS ON FILE
ZIMMERMAN, ZACHARY                   ADDRESS ON FILE
ZINGLER SIGN & DESIGN                6125 COUNTY HWY O TOMAH WI 54660
ZINKIEWICZ, GREG                     ADDRESS ON FILE
ZINKO, MICHAEL                       ADDRESS ON FILE
ZINMO TRANSPORTS LLC                 OR TREADSTONE US CAPITAL LLC PO BOX 631627 CINCINNATI OH 45263
ZINMO TRANSPORTS LLC                 PO BOX 161302 MOBILE AL 36616
ZINN, KEVIN M                        ADDRESS ON FILE
ZIOBROWSKI, ANDREW                   ADDRESS ON FILE
ZIOBROWSKI, BRIAN                    ADDRESS ON FILE
ZION EXPORT CORP                     OR SINGLE POINT CAPITAL, PO BOX 224379 DALLAS TX 75222
ZION EXPRESS LINE LLC                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZION LOGISTICS LLC                   OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZION TRANS LLC                       OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ZION TRANSPORT                       20401 NE 116TH CIRCLE BRUSH PRAIRIE WA 98606
ZION TRANSPORT LLC                   8710 SHERWOOD TERRACE 8710 SHERWOOD TERRACE SAN DIEGO CA 92154
ZION TRANSPORT LLC (MC1101350)       OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZION TRAVELLER LLC                   OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ZIP LINE TRUCKING LLC                440205 E HWY 10 WELCH OK 74369
ZIP LOGISTICS                        PO BOX 786, PO BOX 786 CONLEY GA 30288
ZIP PNEUMATICS, INCORPORATED         9815 E 56TH RAYTOWN MO 64133
ZIPLY FIBER                          PO BOX 740416 CINCINNATI OH 45274
ZIPLY FIBER                          1800 41ST ST, N101 EVERETT WA 98203
ZIPPE, LUCAS                         ADDRESS ON FILE
ZIPPER FREIGHT                       OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZIPPLINE EXPRESS LLC                 OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ZIPPO MFG CO                         ATTN: HEATHER WATSON 401 CONGRESS ST BRADFORD PA 16701
ZIPPY TRANSPORTATION SOLUTIONS LLC   OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZIRAKCON TRANSPORTATION LLC          OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576
ZIRKLE, WILLIAM                      ADDRESS ON FILE
ZIRPOLI, JOHN                        ADDRESS ON FILE
ZIRPOLI, ROBERT                      ADDRESS ON FILE
ZISHKA, PAULA                        ADDRESS ON FILE
ZITZMAN, RICHARD                     ADDRESS ON FILE
ZIX CORPORATION                      2355 SALZEDO STREET SUITE205 CORAL GABLES FL 33134
ZIYAR EXPRESS INC                    OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZKX LLC                              8526 ORCHARD AVE SAINT LOUIS MO 63132
ZL TRUCKING INC                      820 VIRGINIABRADFORD CT ERLANGER KY 41018
ZLM ONPOINT LLC                      OR ITHRIVE FUNDING LLC DEPT 848 PO BOX 1000 MEMPHIS TN 38148-1000
ZLM ONPOINT LLC                      OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ZM LOGISTICS INC                     OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320-5154



Epiq Corporate Restructuring, LLC                                                               Page 2142 OF 2145
                                                Yellow Corporation
                       Case 23-11069-CTG       Doc 655   Filed 09/25/23
                                                    Service List
                                                                              Page 2151 of 2156

Claim Name                               Address Information
ZM PLUS LLC                              PO BOX 977 WEST CHESTER OH 45071
ZM TRANSPORT LLC                         OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ZM TRUCKING LLC                          OR CAPITAL DEPOT 8930 N WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ZM TRUCKING LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZMAJ TRANS LLC                           OR TRU FUNDING LLC, PO BOX 151013 OGDEN UT 84415
ZMAX WORLDWIDE INC                       OR APEX CAPITAL CORP, PO BOX 961029 FT WORTH TX 76161-1029
ZMEXPRESS INC                            OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ZMG EXPRESS LLC                          3825 DORA DR WARREN MI 48091
ZMILE INC                                OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZMK EXPRESS LLC                          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZN BROTHERS INC                          OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZN TRUCKING LLC                          OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ZNA TRUCKING LLC                         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZNZ LOGISTICS LLC                        OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ZOBER, ALLAN                             ADDRESS ON FILE
ZOELLER, JAMES                           ADDRESS ON FILE
ZOERHOFF, JANICE                         ADDRESS ON FILE
ZOEY & NEVAEH TRUCKING LLC               OR NU-KO CAPITAL LLC, PO BOX 150884 OGDEN UT 84415
ZOEYZ LOGISTICS AND TRANSPORTATION LLC   OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ZOIFAGHARANG, TOKTAM                     ADDRESS ON FILE
ZOJ CARRIER SERVICES LLC                 OR LOVES SOLUTIONS LLC, PO BOX 96-0479 OKLAHOMA CITY OK 73196-0479
ZOKO FREIGHT INC                         OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ZOL LOGISTICS LLC                        OR OTR SOLUTIONS, PO BOX 1175760 ATLANTA GA 30368-7576
ZOLA TRANS                               ADDRESS ON FILE
ZOLECKI, SCOTT                           ADDRESS ON FILE
ZOLLA, MICHAEL                           ADDRESS ON FILE
ZOLLINGER COMMERCIAL WAREHOUSING         695 W 1700 SOUTH BLDG 7 LOGAN UT 84321
ZOLLINGER COMMERCIAL WAREHOUSING         ATTN: LANCE ZOLLINGER 695 W 1700 SOUTH LOGAN UT 84321
ZOLNER, RANDALL                          ADDRESS ON FILE
ZOLNOWSKI, STAN                          ADDRESS ON FILE
ZOLY TRANSPORTATION LLC                  158 WOODS RD PORTLAND TN 37148
ZOMETA TRUCKING                          OR CARRIERNET GROUP FINANCIAL PO BOX 1130 SIOUX FALLS SD 57101
ZONDERVAN RECOGNITION                    5693 18TH AVE HUDSONVILLE MI 49426
ZONE-OH LLC                              OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZONES INC                                PO BOX 34740 SEATTLE WA 98124
ZONTS, KEITH                             ADDRESS ON FILE
ZOOD TRANSPORT INC                       OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ZOOG, ROBERT                             ADDRESS ON FILE
ZOOK, KEVIN                              ADDRESS ON FILE
ZOOLU TRANSPORTATION INC                 OR TETRA CAPITAL, LLC, PO BOX 25297 SALT LAKE CITY UT 84125
ZOOM ENTERPRISE LLC                      ATTN: YISROEL RICHT 687 PROSPECT ST STE 445 LAKEWOOD NJ 08701
ZOOM EXPRESS LOGISTICS LTD               11712 49 AVENUE NW EDMONTON AB T6H 3H4 CANADA
ZOOM EXPRESS LOGISTICS LTD               931 JORDAN CRESCENT EDMONTON AB T6L 6X5 CANADA
ZOOM TRANSPORT, INC                      PO BOX 32188 CHARLESTON SC 29417
ZOOMINFO TECHNOLOGIES LLC                805 BROADWAY ST STE 900 VANCOUVER WA 98660
ZOOMINFO TECHNOLOGIES, LLC               DEPT LA 24789 PASADENA CA 91185
ZOQIO TRANS INC                          2563 FALCONER WAY ORANGE CA 92867
ZORA LOGISTICS INC                       OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZORA LOGISTICS LLC                       OR OTR CAPITAL DBA OTR SOLUTIONS PO BOX 1175760 ATLANTA GA 30368-7576



Epiq Corporate Restructuring, LLC                                                                   Page 2143 OF 2145
                                            Yellow Corporation
                       Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                                Service List
                                                                           Page 2152 of 2156

Claim Name                           Address Information
ZORES INC                            1300 N MICKLEY AVE INDIANAPOLIS IN 46224
ZORES INC                            1300 N MICKLEY RD INDIANAPOLIS IN 46224
ZORN COMPRESSOR & EQUIPMENT INC      1335 E WISCONSIN AVE PEWAUKEE WI 53072
ZORN, DAVID                          ADDRESS ON FILE
ZORNES, DAVID                        ADDRESS ON FILE
ZOROCO PACKAGING DRY FACILITY        14702 KARCHER RD CALDWELL ID 83607
ZORRILLA, OLIVER                     ADDRESS ON FILE
ZORTMAN, CHAD                        ADDRESS ON FILE
ZOST, GREGORY                        ADDRESS ON FILE
ZOUCHA, LYNN                         ADDRESS ON FILE
ZOUIN TRANSPORT LLC                  803 HARLAND CT SHELBYVILLE KY 40065
ZOWASKI, SCOTT                       ADDRESS ON FILE
ZOYA TRUCKING LLC                    OR THUNDER FUNDING DEPT 3003 P. O. BOX 1000 MEMPHIS TN 38148
ZPA TRUCKING CORPORATION             OR RTS FINANCIAL SERVICE INC PO BOX 840267 DALLAS TX 75284
ZPATCH TRUCKS LLC                    OR COMPASS FUNDING SOLUTIONS PO BOX 205154 DALLAS TX 75320
ZR TRANSPORTATION LLC                OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ZRX LOGISTICS LLC                    OR NU-KO CAPITAL, LLC, PO BOX 150884 OGDEN UT 84115
ZS CARGO TRUCKING INC                OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZS LOGISTICS INC                     OR CROSSROAD SERVICES LLC, PO BOX 653076 DALLAS TX 75265
ZS TRANSPORT LLC                     OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZSCHABER, GUSTAVUS                   ADDRESS ON FILE
ZUBA LOGISTICS LLC                   OR GREAT PLAINS TRANSPORTATION SVCS INC PO BOX 4539 CAROL STREAM IL 60197
ZUCCARELLI, CHARLES J                ADDRESS ON FILE
ZUCKETT, JOHN                        ADDRESS ON FILE
ZUCKETT, TIMOTHY                     ADDRESS ON FILE
ZUEHLSDORF, ALLAN                    ADDRESS ON FILE
ZUEHSOW, MARK                        ADDRESS ON FILE
ZUEMY FABIOLA TORRUOS                ADDRESS ON FILE
ZUES LLC                             OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZUES LLC                             OR PRO FUNDING INC PO BOX 1000 DEPT 3045 MEMPHIS TN 38148-3045
ZUITER, MOHAMMAD                     ADDRESS ON FILE
ZUKOWSKI, JAMES                      ADDRESS ON FILE
ZULA TRUCKING LLC                    OR PHOENIX CAPITAL GROUP, PO BOX 1415 DES MOINES IA 50305
ZULEM EXPRESS LLC                    OR WEX FLEET ONE, PO BOX 94565 CLEVELAND OH 44101-4565
ZUMA ROCK TRANSPORTATION LLC         OR OTR CAPITAL LLC, PO BOX 1175760 ATLANTA GA 30368-7576
ZUMAR INDUSTRIES INC                 12015 STEELE ST S TACOMA WA 98444
ZUMBRUNN, KELLY                      ADDRESS ON FILE
ZUMWALT, SEAN                        ADDRESS ON FILE
ZUNIGA TRUCKING LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZUNIGA, ABRAHAM                      ADDRESS ON FILE
ZUNIGA, ALEX                         ADDRESS ON FILE
ZUNIGA, ANDREW                       ADDRESS ON FILE
ZUNIGA, ANTHONY                      ADDRESS ON FILE
ZUNIGA, EVAN                         ADDRESS ON FILE
ZUNIGA, FRANK                        ADDRESS ON FILE
ZUNIGA, ISAIAH                       ADDRESS ON FILE
ZUNIGA, JONATHAN                     ADDRESS ON FILE
ZUNIGA, JOSHUA                       ADDRESS ON FILE
ZUNIGA, JOSUE                        ADDRESS ON FILE



Epiq Corporate Restructuring, LLC                                                               Page 2144 OF 2145
                                           Yellow Corporation
                      Case 23-11069-CTG   Doc 655   Filed 09/25/23
                                               Service List
                                                                            Page 2153 of 2156

Claim Name                          Address Information
ZUNIGA, LUCINDA                     ADDRESS ON FILE
ZUNIGA, MARIA                       ADDRESS ON FILE
ZUNIGA, YVONNE                      ADDRESS ON FILE
ZUNUN C TRANSPORTATION INC          OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261
ZUNY TRANSPORT INC                  OR GH FACTOR LLC, PO BOX 746847 ATLANTA GA 30374-6847
ZUPA GLOBAL INC                     OR JD FACTORS LLC, PO BOX 687 WHEATON IL 60187
ZUPANCIC, DANIEL                    ADDRESS ON FILE
ZUPANCIC, DENNIS                    ADDRESS ON FILE
ZUPANCIC, NANCY                     ADDRESS ON FILE
ZUR, JASON                          ADDRESS ON FILE
ZURALES, CHRISTINE                  ADDRESS ON FILE
ZURC EXPRESS LLC                    OR TAFS, INC, P.O. BOX 872632 KANSAS CITY MO 64187
ZUREK, ALVIN                        ADDRESS ON FILE
ZURI FURNITURE PRIORITY 1           PO BOX 398 NORTH LITTLE ROCK AR 72115
ZURI TRANSPORTATION LLC             OR TBS FACTORING SERVICE, PO BOX 248920 OKLAHOMA CITY OK 73124
ZURITA HERNANDEZ, JOSE              ADDRESS ON FILE
ZURN INDUSTRIES LLC                 511 W FRESHWATER WAY MILWAUKEE WI 53204
ZUU TRANSPORT LLC                   OR ALADDIN FINANCIAL, INC, PO BOX 1394 SIOUX FALLS SD 57101
ZUVIC, THOMAS                       ADDRESS ON FILE
ZV TRANSPORT INC                    OR CAPITAL DEPOT 8930 N. WAUKEGAN ROAD, SUITE 230 MORTON GROVE IL 60053
ZVECEVAC, ZELJKO                    ADDRESS ON FILE
ZVK TRANSPORTATION, LLC             OR ENGAGED FINANCIAL LLC, PO BOX 775553 CHICAGO IL 60677-5553
ZVONEK, RAYMOND                     ADDRESS ON FILE
ZW TRUCKING LLC                     7113 SANDY FORKS RD APT 3A RALEIGH NC 27615
ZWAN EXPRESS INC                    OR TRIUMPH FINANCIAL SERVICES LLC PO BOX 610028 DALLAS TX 75261-0028
ZWART, HAROLD                       ADDRESS ON FILE
ZWERK DOOR                          9716 BIRCH RUN RD BIRCH RUN MI 48415
ZWICK, BOB                          ADDRESS ON FILE
ZWICK, RALPH                        ADDRESS ON FILE
ZWIENER, DAVID                      ADDRESS ON FILE
ZWIER, ROBERT                       ADDRESS ON FILE
ZWIGART, ROBERT                     ADDRESS ON FILE
ZYCHOWSKI, JASON                    ADDRESS ON FILE
ZYCHOWSKI, JERRY                    ADDRESS ON FILE
ZYDONIC LOGISTICS LLC               OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZYG WORLD INC                       OR LOVES SOLUTIONS LLC DBA LOVES FINANCIAL PO BOX 639565 CINCINNATI OH
                                    45263-9565
ZYGMUND, MICHAEL A                  ADDRESS ON FILE
ZYGOWICZ, ROBERT                    ADDRESS ON FILE
ZYMANTAS, CHRISTOPHER P             ADDRESS ON FILE
ZYP TRUCKING INC                    7737 MEADOWCREST CT RANCHO CUCAMONGA CA 91730
ZZOO LOGISTICS LLC                  OR TRIUMPH BUSINESS CAPITAL PO BOX 610028 DALLAS TX 75261-0028
ZZS HOTSHOT TRANSPORT LLC           OR TBS FACTORING SERVICE LLC PO BOX 248920 OKLAHOMA CITY OK 73124-8920
ZZZZZS MOVING LLC                   5355 NORTHLAND DR NE C-133 GRAND RAPIDS MI 49525




                             Total Creditor count 103785




Epiq Corporate Restructuring, LLC                                                           Page 2145 OF 2145
                                               Yellow Corporation
                       Case 23-11069-CTG      Doc 655   Filed 09/25/23
                                                   Service List
                                                                             Page 2154 of 2156

Claim Name                              Address Information
BRIDGES, MARCUS                        11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
CYTEC DE MEXICO                        11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
EUBANKS, LEE                           11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
FIERRO, JONATHAN                       11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
GLOBAL 2 RR, TRL 249360                11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
GLOBAL TWO- UPRR                       11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
HEATH, ANDREW                          11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
HNRY INTRA SUP                         11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
HNRY LOGISTICS, D/B/A: YELLOW LOGISTICS 11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
HZM- JK MFG STRUCK FREIGHT             11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
KNOTT, MARK                            11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
MISHLER, JOSH                          11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
MUIR, EDWARD                           11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
NEW PENN MOTOR EXPRESS, INC            11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
PARKER, PARKER                         11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
POLITICAL ACTION COMMITTEE             11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
SCHUT, CHRISTOPHER                     11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
THRELFALL, KYLE                        11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
WHICH RR DID DAMAGE                    11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YELLOW LOGISTICS INC                   11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YELLOW LOGISTICS RESI                  11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YELLOW LOGISTICS, ATTN: LISA FINNIE    11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YELLOW, TERMINAL 880                   11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YRC FREIGHT - CARTAGE ONLY             11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YRC FREIGHT - INTERLINES               11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YRC FREIGHT - UPGRADES                 11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YRC INC                                11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YRC WORLDWIDE EMPLOYEES CLUB           11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
YRC WORLDWIDE INC, ATTN STEPHANIE      11500 OUTLOOK ST STE 400 OVERLAND PARK KS 66211
FISHER




                               Total Creditor count 29




Epiq Corporate Restructuring, LLC                                                                Page 1 OF 1
Case 23-11069-CTG   Doc 655   Filed 09/25/23   Page 2155 of 2156




                      EXHIBIT D
          Case 23-11069-CTG       Doc 655      Filed 09/25/23     Page 2156 of 2156
                       Yellow Corporation, et al. Case No. 23‐11069 (CTG)
                                  Electronic Mail Service List
NAME                          ATTN                            EMAIL
SEYFARTH SHAW LLP             ATTN JAMES B SOWKA              jsowka@seyfarth.com
                              ATTN SAMUEL C
KOHNER MANN & KAILAS SC       WISOTZKEY                       swisotzkey@kmksc.com
FAEGRE DRINKER BIDDLE &
REATH LLP                     ATTN BRETT D FALLON             brett.fallon@faegredrinker.com
MARICOPA COUNTY
ATTORNEY'S OFFICE             ATTN PETER MUTHIG               muthigk@mcao.maricopa.gov
TRAVIS COUNTY                 ATTN JASON A STARKS             jason.starks@traviscountytx.gov
                              ATTN MICHAEL J
                              JOESCHENTHALER;       mroeschenthaler@whitefordlaw.com;
                              DANIEL R SCHIMIZZI;   dschimizzi@whitefordlaw.com;
                              DAVID W GAFFEY; DAVID dgaffey@whitefordlaw.com;
WHITEFORD TAYLOR &            B STRATTON; RICHARD W dstratton@whitefordlaw.com;
PRESTON LLP                   RILEY                 rriley@whitefordlaw.com
                              ATTN KIMBERLY A
                              WALSH, ASST ATTORNEY
TEXAS COMPTROLLER             GENERAL               kimberly.walsh@oag.texas.gov
DILWORTH PAXSON LLP           ATTN MARTIN J WEIS    mweis@dilworthlaw.com

PULLMAN & COMLEY LLC          ATTN KRISTIN B MAYHEW kmayhew@pullman.com
                              ATTN AMY E VULPIO;    vulpioa@whiteandwilliams.com;
WHITE & WILLIAMS LLP          MICHAEL A INGRASSIA   ingrassiam@whiteandwilliams.com
WELTMAN WEINBERG & REIS CO
LPA                        ATTN SCOTT D FINK                  sfink@weltman.com
                           ATTN IAN CONNOR
BIFFERATO FIRM PA          BIFFERATO                          cbifferato@tbf.legal

                              ATTN JOSEPH G SAUDER;           jgs@sstriallawyers.com;
SAUDER SCHELKOPF LLC          JOSEPH B KENNEY                 jbk@sstriallawyers.com
STREUSAND LANDON OZBURN       ATTN SABRINA L
& LEMMON LLP                  STREUSAND                       streusand@slollp.com
DUANE MORRIS LLP              ATTN SOMMER L ROSS              slross@duanemorris.com
WILSON SONSINI GOODRICH &     ATTN ERIN R FAY;
ROSATI PC                     CATHERINE C LYONS               efay@wsgr.com; clyons@wsgr.com
BARLOW COUGHRAN MORALES       ATTN NOELLE E
& JOSEPHSONN PS               DWARZSKI                        noelled@bcmjlaw.com




                                          Page 1 of 1
